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  Plaintiffs’ Exhibit C-1
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 Customer ID         Customer first name           Customer last name   State   Account number
11111598461958   ROGER                     YAGER                        CA       90007625984
11111721357562   NATHAN                    FIERRO                       NM       90008477213
11113929361976   FRANCISCO                 VASQUEZ                      CA       90010199293
11114425172453   STACY                     WITTBECKER                   PA       90000584251
11115514672453   MELLISSA                  OERGEL                       PA       90006655146
11118847791263   JONETTE                   PEARSON                      GA       14571548477
11121661691263   TWIN                      KELLY                        GA       90014326616
11123614693745   DUANE                     VANCULIN                     OH       90014616146
11123739231687   STEVE                     DUNHAM                       KS       90009587392
11123827791263   GERTIE                    MELICK                       GA       90007568277
11124654161976   FRANK K.                  NADERMANN                    CA       90005236541
11126566561938   YOLANDA                   JONES                        CA       90014245665
11128255172453   SCOTT                     IVERY                        PA       51060542551
11128266661976   REBECCA                   SCAWTHORN                    CA       90010282666
11128319961938   MELISSA                   ALBANEZ                      CA       90011943199
11131292391569   HILDA                     ARTALEJO                     TX       90007012923
11132349257147   JOSE                      RAMIREZ                      VA       90010723492
11134217293745   DANIELLE                  PHILLIPPI                    OH       64591762172
11134984572453   DESMOND                   LIGHTFOOT                    PA       90014779845
11135938351337   EMILY                     FOLTZ                        OH       66096279383
11137211533699   CHRISTIE                  PARSONS                      NC       90010402115
11139674391569   YOLANDA                   NUNEZ DE YU                  TX       75085826743
11143223393745   MARY JANE                 HATFIELD                     OH       90011302233
11143451261976   MEGAN                     MUNOZ                        CA       90000494512
11143637561958   BENITO                    GONZALES                     CA       90014676375
11144711361938   APOLINAR                  BOTELLO                      CA       90012817113
11145247193745   MARIA                     BILLA                        OH       90012072471
11147846384375   CHARLES                   WILLIAMS                     SC       19017958463
11147892951337   ROBERT                    ADAMS                        OH       66008598929
11148851731476   JOE                       REED                         MO       27569718517
11149327961972   MARY                      DALIT                        CA       90013173279
11151445472453   RAYMOND C.                BURNS                        PA       90014934454
11153117172483   KIMBERLY                  SHAFFER                      PA       51033111171
11153261291263   KEMETRIA                  MEACHUM                      GA       14534832612
11153692661976   JUAN                      GARZA                        CA       90014416926
11155342861958   DALILA                    GARCIA                       CA       90007673428
11157452877539   SARAH                     JACK                         NV       90004394528
11158253157147   SHERRY                    CAMPBELL                     VA       90012662531
11159638233699   BLANESHA                  BAGANS                       NC       90005836382
11161934551337   MARKEISHA                 LAWRENCE                     OH       66036079345
11162271761958   TERRILL                   GRANT                        CA       90002812717
11162689333656   JESUS                     TREVINO                      NC       90012996893
11163344691569   GRACIELA                  VILLALOBOS                   TX       90013683446
11163891286445   MARIA                     PACHECO                      SC       90014128912
11164594272435   SARA                      GEIST                        PA       51039025942
11164881861938   VICTORIA                  ZETA                         CA       46067418818
11164888191569   RICARDO                   MANON                        TX       75087238881
11164997661958   MARIA TERESA              LEDESMA                      CA       90011459976
11165317591569   MAYRA                     REYES                        TX       90011053175
11166566561938   YOLANDA                   JONES                        CA       90014245665
11166763161958   LUIS                      SOSA                         CA       90013637631
11166918331687   ANTHONY                   BREWSTER                     KS       90014849183
11167325431635   WHITNEY                   CONWAY                       KS       22078113254
11171897591569   JUAN                      CASTANEDA                    TX       75096908975
11174778133699   TONY                      DIXON                        NC       90010147781
11176744857147   EDUARDO                   CORDERO                      VA       90013777448
11177342861976   DALILA                    GARCIA                       CA       90007673428
11178229457147   JOHN                      CORASMA                      VA       90012532294
11178259431687   CHRISTOPHE                CURRY                        KS       22084632594
11179498691569   MIKE                      HARTNETT                     TX       90014554986
11183723661972   OMAR                      CASTANEDA                    CA       90012887236
11184115691263   LATOSHA                   HALES                        GA       14576731156
11184835791569   IRMA                      CABRERA                      TX       90009738357
11185185472453   ANDREA                    RYAN                         PA       90014791854
11185421461976   LILIA                     MOJARO                       CA       90005094214
11185445461937   ROCHELLE                  ARCHIE                       CA       90012874454
11185445472453   RAYMOND C.                BURNS                        PA       90014934454
11185782461976   JULIO                     RODRIGUEZ                    CA       90015207824
11186185472453   ANDREA                    RYAN                         PA       90014791854
11188496131456   KENNETH                   PEARSON                      MO       90001384961
11188583991895   GUILLERMO                 LOPEZ                        OK       90010185839
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11189185472453   ANDREA        RYAN                     PA         90014791854
11191217572453   MICHAEL       CRIDGE                   PA         90015132175
11191438233699   CHRISTOPHER   SOUNDERS                 NC         90004984382
11192375461958   GREGORY       KENNINGHAM               CA         90005323754
11195795861976   PETER         WHEAT                    CA         90002827958
11196216993745   KATHY         COON                     OH         90010492169
11196868393745   KATHY         KOON                     OH         90008998683
11197691531949   ROBERT        ROLING                   IA         90015516915
11197965147956   CARLINA       LINCOLN                  AR         90011829651
11198238861972   ISLARDO       VILLA CARTEZ             CA         46099232388
11199328772453   DONALD        DELVECCHIO               PA         90014793287
11211441872453   FRANCIS       ROBEL                    PA         90014794418
11213396333699   DEDRICK       ALFORD                   NC         90005363963
11213552261958   DAVID         BROWN                    CA         90013785522
11213698193745   ARGAILIA      COOPER                   OH         64546386981
11213996861976   ROBIN         YOUNG                    CA         90013989968
11214128193756   MARK          WIENEKE                  OH         90004441281
11215141151337   SARAH G       GEORGE                   OH         66004711411
11215736661938   JAIME         FLORES                   CA         90010217366
11215745491895   KAYLA         HAMILTON                 OK         21053107454
11216549561972   JORGE         HARO                     CA         90015155495
11217441872453   FRANCIS       ROBEL                    PA         90014794418
11218445291895   KARAH         WEATHERFORD              OK         90013284452
11218447544353   FRED          HAHN JR                  VA         82046974475
11218636261958   LIBNI         HERNANDEZ                CA         90012176362
11219441872453   FRANCIS       ROBEL                    PA         90014794418
11219446547956   TAMELA        CUMMINGS                 AR         24084044465
11219862391895   LASHAUNDA     AVERY                    OK         90008558623
11221417157147   MARGARET      HATCHETT                 VA         90014724171
11223219585876   MUDIT         BHUSHAN                  CA         90001292195
11223751661976   NANCY         GARCIA                   CA         90014797516
11224181657147   FIREHIWOT     LIKA                     VA         90011461816
11226796472496   THOMAS        POTOSKY                  PA         90008817964
11228492193745   BARBARA       ABRAM                    OH         64539334921
11228495451337   REGINA        DELANEY                  OH         66096464954
11229932893745   ASHLEY        PITMAN                   OH         90014909328
11231277351337   BILLIE        THOMAS                   OH         90002552773
11232294691263   JEROD         JONES                    GA         90014852946
11233269161938   IVAN          VAZQUEZ                  CA         46079102691
11233752972435   MARY          FREEMAN                  PA         51090367529
11235111561976   OSCAR         GONZALESZ                CA         90010361115
11237445572483   CHRISTINE     PERKINS                  PA         51033884455
11238231661958   TIM           STEVENS                  CA         90015282316
11239458851337   KAREN         BURNS                    OH         90013994588
11241918461938   ELOIZA        JUARES                   CA         90004799184
11242833761972   WILLIE        HORN                     CA         46053668337
11243527333699   NASHAYSHIA    GREGG                    NC         90008815273
11244581172435   MARJORY       FOUSE                    PA         51063655811
11244771831687   SCOTT         SMITH                    KS         90015137718
11245673293745   KAIT          DENNIS                   OH         90007946732
11246343451337   DEBBIE        DONLEY                   OH         90010203434
11246633561972   AIOTEST1      DONOTTOUCH               CA         90015116335
11247123891569   ERIC          JIMENEZ                  TX         90012921238
11248456557124   ALBERTINA     ZEPEDA ALVAREZ           VA         90002144565
11249113451337   VERNEDA       OLIVER                   OH         66005501134
11249627991895   BEAU          BRYANT                   OK         21092256279
11249928961976   JONATHAN      LUNA                     CA         90013019289
11252297451337   TERI          JONES                    OH         66002472974
11252511341286   GEORGE        MASSIE                   PA         51016905113
11252628861976   JAMIE         MILLER                   CA         90014006288
11252637961948   BRAD          CRAMER                   CA         90004276379
11252639861972   ASHLEY        WAGHER                   CA         90008786398
11252772191257   TRICIA        WOODS                    GA         90014487721
11254828491895   AARON         OUTEN                    OK         90013828284
11255749271967   CHRIS         BROWN                    CO         90000257492
11258877833699   PAUL          STUDYVASTE               NC         90008848778
11261273891569   GARSA         AURA                     TX         90010892738
11265429557147   FREDY         ANTONIO RUIZ             VA         81070704295
11266636857147   FALIKSHER     ALFONSE                  VA         90011446368
11268563231687   LEWIS         CAPLAN                   KS         90007345632
11268631861958   AMERIKA       RAMIREZ                  CA         46035846318
11268912661938   JUAN JOSE     SALMORAN                 CA         90014169126
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11269328993745   HERBERT L    WINSTON                   OH         90003003289
11271744561976   MICHELLE     LYNCH                     CA         90014437445
11271758161972   JOHNATHAN    GARCIA                    CA         90011247581
11273936591895   WILKA        FOX                       OK         90008559365
11274256251337   JOYCE        BOZE                      OH         66093962562
11274589293745   DAVID        BURKE                     OH         90003115892
11275152161938   DARLENE      JOHNSON                   CA         46015691521
11276425161938   GUILLERMIN   RICE                      CA         46058944251
11277583161976   ANA          GUZMAN                    CA         90014545831
11281839131687   DENI         DOMINICK                  KS         22013538391
11282687661938   TYLISHA      MOORE                     CA         46083766876
11283126733699   PAULA        SKAGER                    NC         90012441267
11284118161938   ARACELY      ENRIQUEZ                  CA         90011601181
11284289361972   IRVING       HOLLINS                   CA         90001442893
11286827961938   LORENA       GARCIA                    CA         90007728279
11286891661976   NELLY        BELL                      CA         46041048916
11289148191895   JULIAN       DUQUE                     OK         90013321481
11289667191895   ERICA        CANNADY                   OK         90013046671
11291759461972   CATHERINE    SIMMONDS                  CA         46077007594
11292883991569   CARMEN       ORDONEZ                   TX         75081348839
11295426791569   DANIEL       DAVILA                    TX         90011734267
11295637791263   ALVIN        JENKINS                   GA         90012756377
11295877361958   MARIA        RAMIREZ                   CA         90012068773
11297199891569   UNIQUE       DE SANTIAGO               TX         90013421998
11297298961972   OMAR         HERNANDEZ                 CA         46011412989
11299196831687   CARLOS       ARAIZA                    KS         90013491968
11311595493745   CHELSEA      GOODNITE                  OH         90007835954
11312456157147   MARIBEL      RIVERA                    VA         90013154561
11312656747956   JACKY        THOMAS                    AR         24056766567
11313253433699   CARRIE       MCINTOSH                  NC         90011312534
11313276751337   ROBERT       HOVER                     OH         90013892767
11313423972453   PAMELA       MEIER                     PA         51079814239
11313636191569   VANESSA      LOPEZ                     TX         75027146361
11315624561976   HODGES       LUCAS                     CA         46088196245
11315891833634   EVANGELINA   PALOMINO                  NC         90012478918
11319374291569   MARILYN      EVANS                     TX         90013083742
11319688361997   STEVE        CAGLE                     CA         90003206883
11321615251337   PATRICE      FREDERICK                 OH         90008506152
11322411891263   SIRADIAN     KENNEDY                   GA         14588964118
11322537193767   WILLIAM      FOX                       OH         64508755371
11323453891263   TIFFANY      LAMB                      GA         90013874538
11325291957147   JOHN         SMITH                     VA         90015592919
11325818161958   JULISSA      HERNANDEZ                 CA         46043358181
11326312357147   EDGARDO      MARTINEZ                  VA         81072193123
11326345433699   ANNETTE      BROWN                     NC         90008403454
11326866593745   SARA         RUE                       OH         90014828665
11326899897124   FAVIOLA      OLIVARES                  OR         90007388998
11327212231687   DIANNA       GILKEY                    KS         22070342122
11327671751337   TONY         TELLO                     OH         90013526717
11329298851337   MILDRED      YETT                      OH         90014342988
11332966793745   ANTHONY      RAFFINGTON                OH         90011289667
11335111561972   MICHAEL      HILL                      CA         46013431115
11335516191263   TRAVIS       BARNELL                   GA         14592425161
11336852661972   JUAN         ZANAHURIA                 CA         46092568526
11336867491895   BRITTANY     CLAMPET                   OK         90014878674
11338894677539   OLGA         AVILA                     NV         90006178946
11342271961976   VALERIE      CARLSON                   CA         90011552719
11343314261976   DIANA        VARGAS                    CA         90006503142
11343382433699   CARLOS       MONTENEGRO                NC         90001303824
11343618761976   RALPH        UGALE                     CA         90015296187
11343678157147   SENAYITE     BEKELE                    VA         81071306781
11345748357147   WILMER       CORTEZ                    VA         90013307483
11346734293745   JOE          MCDEVITT                  OH         64583297342
11348442731943   KENNY        EJIM                      IA         90015044427
11349341733623   JUANA        GONZALEZ                  NC         90015133417
11351256672453   DOUGLAS      FRISBEE                   PA         51065722566
11351427691569   BRENDA       GONZALEZ                  TX         90010574276
11351437993745   RODNEY       FRANKLIN                  OH         64506554379
11351732461976   AMANDA       ECHAVES                   CA         90013357324
11352278491263   RODNEY       MUTTHERSON                GA         90015362784
11353888891895   DEBRA        STITIES                   OK         90001618888
11354621793745   HEATHER      HIRSCHFELD                OH         64585966217
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11355229351337   CAROLYN      RANDOLL                   OH         90013702293
11356786233699   MEGAN        LITTLE                    NC         90010697862
11357231661976   PETER        GARCIA                    CA         90012742316
11358155331687   CHARLES      CALHOUN                   KS         90013981553
11358433957147   EDGAR OMAR   RIVAS                     VA         90015034339
11358479761958   PABLO        AGUILAR                   CA         90012694797
11358538957147   AMANDA       THOMAS                    VA         90012965389
11358795741272   CORI         SHEPLER                   PA         51043197957
11362832957147   ANDERSON     GUTIERREZ                 VA         90014368329
11366621161972   CHRISTIAN    FISCHER                   CA         90013686211
11368113451337   TYSHA        CHATMAN                   OH         90012321134
11368659861976   NATASHA      STEWART                   CA         90003936598
11368834333699   EBONY        WILLIAMS                  NC         90014828343
11374293357147   JOSE         GARCIA                    VA         90015312933
11375161247956   DEBRA        CHAPMAN                   OK         24078391612
11375945472453   LARRY        THOMPSON                  PA         90002669454
11376632361958   AIOTEST1     DONOTTOUCH                CA         90015116323
11376796661976   ASHLIE       MARTONE                   CA         90015127966
11377821751337   MICHELLE     LAMBERT                   OH         66011268217
11377868361972   MARIA        HUIZAR                    CA         90009688683
11378114933699   JONATHAN     WATSON                    NC         90006321149
11379883661938   PEDRO        DE LA CRUZ                CA         90014678836
11382369461938   NOEMI        NATIVIDAD                 CA         90011603694
11383828872453   LORI         SEAMAN                    PA         51085808288
11384378631235   MICHAUN      MACK                      IL         90014803786
11384777931687   CHARLES      MOORE                     KS         22052637779
11385167661972   MARISABEL    MORALES                   CA         90011251676
11385946671966   KATHLENE     BRACKET                   CO         90011219466
11387152761958   RICARDO      MINGUER                   CA         90013601527
11387566561938   YOLANDA      JONES                     CA         90014245665
11389764461958   GARY         HOLMES                    CA         90012417644
11391256577539   KARLEE       GULLSTROM                 NV         90004532565
11391925557147   JAMIE        BECTON                    VA         81007589255
11392152761958   RICARDO      MINGUER                   CA         90013601527
11392537733699   MICHAEL      ZEALY                     NC         12083925377
11392723162324   STEVEN       CURRY                     AZ         90014087231
11393382272435   NORMA        HOWARD                    PA         51075903822
11394221451337   NATASHA      WILLIAMS                  OH         90013242214
11395114461972   JONATHAN     SILVA                     CA         90012991144
11395882851337   WENDY        GILBERT                   OH         90006238828
11395999231687   ADAM         THOMPSON                  KS         90013149992
11397865291895   CATHERINE    AVERY                     OK         90014508652
11398295473242   BERNARDO     LOPEZ                     NJ         90014252954
11398658891584   ELOISA       MARTINEZ                  TX         90002456588
11411563361976   ERICKA       VERGARA                   CA         90014685633
11415683351337   BILL         THAN                      OH         90005906833
11416692961938   ANASTASIA    SCOTT                     CA         90012856929
11419411381652   JAMES        TAYLOR                    MO         90001344113
11421497591569   GABRIEL      OAXACA                    TX         75073944975
11422118551337   BERNARDO     RAMOS                     OH         90012321185
11422333991569   LUIS         OROPEZA                   TX         90008923339
11425636761976   BEATRIZ      ESCARCEGA                 CA         90015036367
11425675847956   EVELIA       KING                      AR         24000656758
11426175457147   MARTHA       LEMUS                     VA         90013861754
11426334693745   ADAM         CHALMERS                  OH         90014953346
11426413857147   KHUSHDIL     ALFONSE                   VA         90014364138
11427355861976   VIRGIL       RANDLE                    CA         46067103558
11427591933699   JACKIE       GARRIS                    NC         12088575919
11427937777539   RAFAEL       CEBALLOS                  NV         90006359377
11428489172453   HAROLD       NEEDHAM                   PA         51041644891
11428779561938   ELIZABETH    BELTRAN                   CA         46083737795
11429227357147   PATRICIA     MOLINA                    VA         90002212273
11431195943584   KRIN         WATERSON                  UT         90005991959
11432478161938   TERESA       FLORES                    CA         90014824781
11434467993745   VICKY        LEDUC                     OH         90006564679
11434547391895   ESMAEL       RUBIO                     OK         90010705473
11435269161958   MARTIN       GONZALEZ                  CA         46008252691
11436592172435   KENNETH      LUCAS                     PA         51086065921
11437727451357   KIMBERLY     CLARY                     OH         90007687274
11438696291569   JUANA        TORRES                    TX         90001526962
11439387693745   JENNIFER     DELOYE                    OH         90014953876
11442596157147   LESLY        MORENO                    VA         90013415961
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11443619357147   CHRIS        SORCE                     VA         90010196193
11444436193745   CARL         BROWN                     OH         90012854361
11444623591263   KRISTIE      BANNK                     GA         90011586235
11445485591569   MONICA       RODRIGUEZ                 TX         75030734855
11446997861938   MARIA        BIBIANO                   CA         90012339978
11451568861938   SERGIO       LARES                     CA         90011615688
11451987893745   TY           BATTSON                   OH         64502789878
11452121591895   SHAMESTA     HOLLINS                   OK         90001671215
11452368633699   VENUSTE      TUYIKUNDE                 NC         90008943686
11453398961972   LORIE        ESKINE                    CA         46027833989
11454314293745   TAMMY        ROARK                     OH         90011423142
11454397631687   CONNIE       JOHNSON                   KS         22023143976
11456189972435   LOUIS        STEFANIK                  PA         51071491899
11457831191263   EBONY        WILLIAMS                  GA         90011568311
11458241551337   ADAM         HARMEYER                  OH         90015252415
11458683761972   HENRY        HODGES                    CA         90004916837
11461147472453   MARLA        SPIKER                    PA         51081121474
11461938161976   OSCAR        GONZALEZ                  CA         90013899381
11462429431458   SEAN         STANG                     MO         27571614294
11463112261972   NATALIE      DIAZ                      CA         90010421122
11465758461938   SIKORA       COLLINS                   CA         90015137584
11465771261938   KELIN        CASON                     CA         90012817712
11466119557147   YULI         REYES                     VA         90004491195
11466631161938   ELIZABETH    MAIER                     CA         90014186311
11467427651337   DARREN       YODER                     OH         90006454276
11469161861972   BRENDA       MACIAS                    CA         46092831618
11469849791895   SHATIQUA     MCHENRY                   OK         90011068497
11471618957147   DANIEL       WIGGINS                   VA         81007596189
11471991161958   MIGUEL       APARICIO                  CA         46057699911
11472873777539   JENNIFER     WILLSON                   NV         90011098737
11473687172435   STACIE       KOSAKOWSKI                PA         51026116871
11473724691524   YULIANA      ACOSTA                    TX         90007967246
11473874972453   DEBRYAH      HAWKINS                   PA         51040838749
11475979651337   ISAAC        RASOOL                    OH         90014519796
11478383393745   DEBRA        SEIPEL                    OH         90006573833
11478973761958   ANGEL        ARCEO                     CA         46029579737
11479747191263   LATESHA      ROBINSON                  GA         90003337471
11481671493745   JANET        DURHAN                    OH         90013206714
11482954893745   ADRIAN       BRUMBAUGH                 OH         90015199548
11485478461938   MARGO        HAVLIK                    CA         90009714784
11486741461972   CEDRIC       SMITH                     CA         90006857414
11488767961976   SANDRA       OSORIO                    CA         90007137679
11489635361958   LUCINA       GARCIA                    CA         90012626353
11491291861976   SHALYNN      MATINKA                   CA         90011352918
11494819993745   JESSICA      TUFTS                     OH         64500438199
11494968791895   JUDY         GRIGG                     OK         21039869687
11495661191895   JEANA        NEWMAN                    OK         90011186611
11496392357497   DOREEN       NEVICH                    IN         90014543923
11496669961938   MARIA        HERNANDEZ                 CA         90005706699
11496837191895   ROSALVA      CORTES                    OK         21086058371
11497217591573   DEBORAH      JACOBS                    TX         90007932175
11497897931687   OMAR         SOSA                      KS         22028208979
11499175833699   JUSTIN       BRODIE                    NC         90000561758
11511263331687   JENNIFER     BALL                      KS         90008252633
11511911533699   BAWI         NEIZING                   NC         90014259115
11512386357147   ELVA         LEIVA ORDONEZ             VA         90014843863
11512684161938   VINCENT      SAN NICOLAS               CA         90014186841
11514177361972   TERESITA     VALENCIA                  CA         90006181773
11515246561938   ESTRELLA     LUNA                      CA         46012532465
11516513161958   J.EXAIVER    KOTVAS                    CA         46003925131
11517297861958   JOSHUA       HENBRA                    CA         90014702978
11517782661938   MOHAMMED     SAAID                     CA         90010237826
11518781357147   KAREN        GUZMAN DIAZ               VA         81016167813
11521397661976   LENORE       WHITE                     CA         90013623976
11522975593745   AMANDA       GLENN                     OH         90010809755
11523555661958   ALEJANDRO    PEREZ                     CA         90007925556
11525631461976   MARISOL      HUERTA                    CA         46041696314
11525681457147   EDSON        VEIZAGA                   VA         90014056814
11525965791895   LEIDY        TORRES                    OK         90009829657
11526234691569   RAUL         MORALES                   TX         90013822346
11526298157147   LUCAS        GONZALEZ                  VA         90015312981
11526778961972   JESSICA      ARIANDA                   CA         90007427789
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11527116193745   KESHIA         BLAIR                   OH         90009291161
11527655933699   JOANN          TANNER                  NC         90014286559
11528823184329   DINO           LOWERY                  SC         19068608231
11529583977539   KATYA          NUNEZ                   NV         90001645839
11531334251337   EDY            GIRON                   OH         90001143342
11532463161938   CERDA          EFIGENIA                CA         90014034631
11533338961976   JUAN           DE LA ROSA              CA         90012193389
11534973533699   TRAVIS         JOHNSON                 NC         90009399735
11536764757147   JOHN           RAGLAND                 VA         90013217647
11537117631687   CARLA          SALAS                   KS         22087361176
11538478391956   ISHA           LYANS                   NC         90012654783
11538968491895   BRADLEY        SCMIDT                  OK         90014789684
11539329172435   TASHA          BELL-JAMES              PA         51029673291
11541247391263   ALISHA         BRAGG                   GA         90013162473
11541836561976   SEAN           HEGEDUS                 CA         90012848365
11542361131687   DEBBI          GOODRICH-ADAMS          KS         22089983611
11542899761938   RACHEL         KRALL                   CA         90014688997
11543144972483   EDWARD         PETROFF                 PA         51006951449
11544279357147   OSMAN          AMADOR                  VA         90011662793
11545385272453   ROBERT         HANNEN                  PA         51031593852
11545973261972   SOFIA          MONTANEZ                CA         90005989732
11546311391569   JUAN           GUTIERREZ               TX         90004253113
11547785257147   JOSE NOEL      PINEDA                  VA         90013997852
11552532491569   MELISSA        ZAMBRANO                TX         75060745324
11552654257147   TRISH          GORDON                  VA         90012456542
11553184772453   VINCE          KASYAN                  PA         51093741847
11553714651337   MAGNOLIO       RAMIREZ                 OH         90014957146
11553728491964   RUTH           NOEMI                   NC         90009237284
11556561877539   JAIME          DIAZ                    NV         43064355618
11556586757147   LUIS ENRIQUE   GONZALES                VA         90014395867
11559184761938   JOHNA          MOOREHEAD               CA         90014721847
11559337461972   MELISSA        MORELOS                 CA         90007383374
11561879661958   MELISSA        LEON                    CA         90011378796
11563344977539   JEFFERY        GREGG                   NV         43084203449
11564497231635   SANDY          WRIGHT                  KS         90005424972
11564739961958   D              PLACE                   CA         90012477399
11564935161958   CRISTINA       VASQUEZ                 CA         46070369351
11564961731687   MICHAL         WIELAND                 KS         90007509617
11564987261972   CHARMAINE      MEJOS                   CA         46094679872
11565379561938   ADAN           ORTIZ                   CA         90014773795
11566458572453   JEANNA         MAIN                    PA         51085384585
11566899491573   LUZ            GARCIA                  TX         75089898994
11567686193745   TATIANA        DEAN                    OH         90008176861
11568378693745   JEFFERY        MARTIN                  OH         90003183786
11568742991263   TIMMIKA        ARKWRIGHT               GA         90000387429
11569355891569   ROLAURA        DE ANDA                 TX         90012373558
11571397661976   LENORE         WHITE                   CA         90013623976
11571617493745   MARY           MULLEN                  OH         90009926174
11572265991895   ANA            RENDON                  OK         21081452659
11572974961976   RACHEL         CARDENAS                CA         90002289749
11575136661976   MARIANO        CURIEL                  CA         90014551366
11577133891885   BARBARA        WILLIAMS                OK         90014731338
11578638661938   ROSALBA        PACHECO                 CA         90013246386
11578945593745   KEITH          CURTNER                 OH         64534069455
11579168333699   JERMECHICAL    BETHEA                  NC         90014171683
11582991933699   LATISHA        DRAWHORN                NC         90014609919
11584353351337   CAPREASHA      MILLER                  OH         90005973533
11585915291569   EDGAR          MAGALLANES              TX         90014579152
11586525161958   JESSICA        FELARCA                 CA         90008735251
11587377191569   SERGIO         VASQUEZ                 TX         90013743771
11587436747956   CHERYL         KNAULS                  AR         24028834367
11591934861976   ANNABEL        CORONA                  CA         90012929348
11593113331687   LAQUISHIA      JOHNSON                 KS         90012011133
11593338231687   MARIA          FELISIANO               KS         90014973382
11593687661938   TYLISHA        MOORE                   CA         46083766876
11594181833699   JOSE           DEPAZ                   NC         90003571818
11595251793745   DAVID          WEST                    OH         90015122517
11595468791895   STEVEN         CULVER                  OK         90014724687
11595965677539   MOHAMMED       MOSHERF                 NV         43000709656
11596375693745   ASHLEE         TUCKER                  OH         90011233756
11597492761938   JESSICA        FLORES ESTRADAS         CA         90015124927
11599363891895   DALE           STEGALL                 OK         90007813638
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11611597151599   CRAIG         PETERSON                 IA         90011735971
11611781361938   ANGELA        CAIN                     CA         90010307813
11612188761976   JONATHAN      SMITH-COUSINS            CA         90009111887
11613366471932   ANGELA        LETICIA CARRILLO         CO         90001733664
11614479161976   ALEJANDRO     TORRES                   CA         46010524791
11616676557147   MARITZA       PEREZ                    VA         90012606765
11616942361958   JULIAN        GARCIA                   CA         46051079423
11617692493736   GIULIA        BRABGHIERI               OH         90012616924
11619633361958   AIOTEST1      DONOTTOUCH               CA         90015116333
11619746191569   MICHAEL       PEET                     TX         75013887461
11619845961972   MARTHA        KENDE                    CA         46054548459
11621184793745   BOBBY         COOTS                    OH         90013071847
11621495633699   JASBEER       SINGH                    NC         90013694956
11621497591569   GABRIEL       OAXACA                   TX         75073944975
11623154533699   KERTONIO      FISHER                   NC         90009451545
11624126891263   REGINALDO     SALINAS                  GA         90014171268
11624912991263   UNICE         YOUMANS                  GA         90013339129
11627919291569   ENRIUQUE      CARRILLO                 TX         90012639192
11628436591569   CHRISTEL      YLLARRAMENDI             NM         75087054365
11628834633699   TABATHA       FIELDS                   NC         90004208346
11629138277539   ELEAZAR       TRUJILLO                 NV         43088561382
11631579761958   JAMI          SHELLEY                  CA         46058615797
11631677751337   ANTTONETTE    WILLIAMS                 OH         90009726777
11631685447956   ROBERTA       PAINTER                  AR         90009736854
11632176793745   THOMAS        WENRICK                  OH         90013041767
11632655433699   ALFORD        ALFORD                   NC         90003156554
11633938341455   TRINA         PHILLIPS                 WI         90013699383
11634619261958   ALMA          ROCA                     CA         90008926192
11635643361972   ALMA ALICIA   ORTIZ                    CA         90011256433
11638354291895   PAULINA       ANGEL                    OK         90002693542
11642478161938   TERESA        FLORES                   CA         90014824781
11642538891895   JUSTIN        CARDOZA                  OK         90014935388
11642914877539   JUAN          MEJIA-MENDOZA            NV         43098659148
11644548672453   JESSIE        TRICKETT                 PA         51021115486
11645138557147   KULH          THAWNG                   VA         90013561385
11645398172435   JIM           PERRY                    PA         51031293981
11646552577539   SANDRA        ZAMORA                   NV         43051025525
11647863991263   DONALD        SCOTT                    GA         90010748639
11648392691996   LARRY         CHRISTIAN                NC         17025453926
11648751893745   KRISTINA      BRUMMITT                 OH         90013637518
11649354561958   ANTOINE       MCNEILL                  CA         90002643545
11651167993745   BRANDON       HUFFMAN                  OH         90012821679
11652894791263   EVELYN        WASHINGTON               GA         90014678947
11653488372435   JOHN          BERK                     PA         51008324883
11654369461938   IVAN          LOPEZ                    CA         90007143694
11654458493745   TRACY         TAYLOR                   OH         90014494584
11658252661972   ASHLEY        ZAMARRIPA                CA         90013522526
11659784361972   SAHRA         ABDINUR                  CA         90015517843
11662969561976   LAUREN        DUNLAP                   CA         46041799695
11663338231687   MARIA         FELISIANO                KS         90014973382
11663456857549   YANIQUE       WHYTE                    NM         75095664568
11666356241255   KIM           HILDEBRAND               PA         51036383562
11666672777539   ARMANDO       CHAVEZ                   NV         43006166727
11667347161958   CHRISTIAN     TIZAPANECO               CA         90014243471
11667533833699   ANDRE         MARTIN                   NC         90011165338
11672717457147   JULIA         RIVERA                   VA         81091697174
11674517961958   ELIZABETH     JARQUIN                  CA         90009405179
11676118691569   SILVIA        CUEVAS                   TX         90012631186
11676193857147   WILLIAM       BLAIR                    VA         90009281938
11676839661938   LEODAN        HERNANDEZ HERRERA        CA         90011618396
11677847591569   ESTELA        ESPINOZA                 TX         90014038475
11678937461976   GUSTAVO       MIRANDA                  CA         90008169374
11679128691895   ROSA          RODRIGUEZ                OK         21051151286
11683662191584   LOROAMA       CABRAL                   TX         90011286621
11684648561958   EBONY         BEARD                    CA         90014006485
11685645191569   MARIA         LOPEZ                    TX         90007976451
11686671247956   SHAMICKA      MCGEE                    AR         24048926712
11687285472435   ANGELIQUE     THOMPSON                 PA         51013732854
11687428191569   MARIO         ROCHA                    NM         75020584281
11689349261972   MERITH        SIMBRON                  CA         90010283492
11692775557147   JULIA         REYES                    VA         90003037755
11693547833699   JOE           DRAYTON                  NC         90014655478
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11693856891569   SONIA        LICERIO                   TX         90014178568
11694797357147   DRE          ROBERTS                   VA         90011867973
11695123431687   EARNEST      HEARD                     KS         90014571234
11698324331635   KAYLA        TORSKE                    KS         22016573243
11698516433699   BRANDON      NICK                      NC         90015075164
11699252591895   DEREK        SMITH                     OK         90013752525
11711349391569   SAMUEL       HERNANDEZ                 TX         75073383493
11713492661938   SUSANA       CRUZ VERANO               CA         46040064926
11713637351337   ADRIANNE     BELL                      OH         90005996373
11713866961972   ISRAEL       VILLA                     CA         46057688669
11714981693745   ELERY        SWARTS                    OH         90013929816
11715511161976   NANCY        RIVERA                    CA         90012245111
11716224857147   GREYSI       CORRALES AGUILERA         VA         90014382248
11717181931635   PAYGO        IVR ACTIVATION            KS         90006891819
11717781661958   SILVIA       TORRES                    CA         90014477816
11717917691569   ESTELA       SAENZ                     TX         90003249176
11721381151337   JAMIE        SOUTHERLAND               OH         66005173811
11722517933699   CARLOS       MARTINEZ                  NC         90014695179
11722997991569   DANIEL       CAMUNEZ                   TX         90010359979
11724697731635   AMY          WALTERS                   KS         22099606977
11725894861938   ALEX         RENEAUM                   CA         90011618948
11726281461972   LESLIE       TORRES                    CA         46005042814
11727749391569   PHILLIP      BOCCUTO                   TX         90001767493
11727826391263   JAMES        DUDLEY                    GA         90005958263
11728386844322   FELISIS      HARRISON                  MD         90014143868
11728558591569   JOSE         GARCIA                    TX         75044045585
11732365291569   MARIFER      RAMOS                     TX         90014213652
11733324693745   ELIZABETH    NEALIS                    OH         90008313246
11734648561958   EBONY        BEARD                     CA         90014006485
11736327872435   TERRI        MIKOLAY                   PA         51060113278
11737617693754   ANGELA       ELLER                     OH         90007786176
11739478131635   MARY         HERNANDEZ                 KS         22040164781
11741438181629   ALESA        SPENCER                   MO         90012234381
11742472344353   JACQUELINE   MCNEIL DAY                MD         90009074723
11745165291263   SABRINA      DUNBAR                    GA         90006011652
11745237461972   JAKE         GIBBENS                   CA         90015512374
11745323651337   ROBERT       SMITH                     OH         90011103236
11745492661938   TERESA       ORTIZ                     CA         90009634926
11745732147956   DENNIS       RIGGINS                   AR         24086047321
11746183261972   SAMUEL       VILLON                    CA         90006811832
11746273493745   BONNIE       DOOLIN                    OH         90013002734
11746778891263   SAMANTHA     GREEN                     GA         14511407788
11747434231687   NORMA        RAYMUNDO                  KS         22060874342
11747958991899   MARTIN       MARTINEZ                  OK         21069889589
11748547833699   JOE          DRAYTON                   NC         90014655478
11748699693745   SAMANTHA     GRAUMAN                   OH         90013696996
11751493251377   BRIAN        WILLIAMS                  OH         66094724932
11751525957147   RAMON        ALVORADO                  VA         90014715259
11752155561972   ANTONYIO     POWELL                    CA         90015311555
11752367391263   DIAMOND      BLAQUE                    GA         90014853673
11752541772453   CASEY        IVERY                     PA         90008445417
11753739772496   LOUIS        LONG                      PA         90005637397
11755124361972   HEN          DAWON                     CA         90014751243
11755879561976   LOURDES      LOPEZ                     CA         90004548795
11756558351333   SANDRO       IZQUIERDO                 OH         66068205583
11756597833699   ANDRES       ZAMARRON                  NC         90015435978
11756637561958   BENITO       GONZALES                  CA         90014676375
11756739772496   LOUIS        LONG                      PA         90005637397
11762174133699   BARBARA      MARTINEZ                  NC         90011311741
11763788193745   JULISSA      RAMIREZ                   OH         90013347881
11765857691263   RIGO         PEREZ                     GA         90013958576
11765941261938   LETICIA      OCAMPO                    CA         46001869412
11768117157147   EFRAIN       PORTILLO                  VA         90007291171
11768898793745   ROY          HILDEBRAND                OH         90013818987
11769514372435   THOMAS       PIERCE                    PA         51073795143
11771487671929   TASHINA      HAWK                      CO         90005684876
11773395957147   MARIA        BARKER                    VA         90000123959
11773485661938   TYREE        LAMAR                     CA         90012134856
11777277461976   TYANAE       MCCLAIN                   CA         90015132774
11778915351337   LISA         HENDERSON                 OH         90002239153
11779959972453   SHERRY       GLESK                     PA         51089479599
11781718591263   JARREL       ANDREWS                   GA         90007887185
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11782544657147   ROSARIO      DAVALOS                   VA          81014545446
11783622693725   RAMON        ANCRUM                    OH          90012386226
11785661791569   RENE         BACA                      TX          90009996617
11786167361972   NELSON       ORTIZ                     CA          90013891673
11787289593736   GRACE        GONZALEZ                  OH          90004022895
11787468831635   CRISTINA     DE LEON SMITH             KS          22006224688
11787573991569   ANGELA       DURAN                     TX          90014715739
11788148691263   BEVERLY      BERRY                     GA          14570631486
11788932661972   JASON        DAIGLE                    CA          90011259326
11789726257147   RICARDO      MOLENA                    VA          90012977262
11791297291263   TAKIA        GREENE                    SC          90014862972
11791916591569   LAURA        HERNANDEZ                 NM          75098969165
11792281433699   JEREMY       WILLIAMS                  NC          90015152814
11795955261972   JESUS        REYES                     CA          90011259552
11796511191895   JEANNI       BIBER                     OK          90012115111
11797795133699   KESHIA       HURT                      NC          90014897951
11798434591569   SERGIO       HUERTA                    TX          90013404345
11799626461958   WILLIE       TATE                      CA          90008026264
11811839861972   MELISSA      CISNEROS                  CA          90001658398
11811982191895   JOYCE        MCDANIEL                  OK          21058809821
11812861272435   GERRI        REITER                    PA          51060398612
11813772533699   RODRIGO      GARCIA                    NC          12080557725
11814166291569   SERGIO       FLORES                    TX          90010801662
11814289493745   JENNIFER     OBERSKI                   OH          64524602894
11814981761958   ROSA         NUNEZ                     CA          90006559817
11815617791569   KEVIN        DE LA TORRE               TX          90010346177
11817156891895   KENYA        WILSON                    OK          90002471568
11819585561976   LUZ          LARES                     CA          90012705855
11819842391569   OFELIA       ZAVALA-LEDEZMA            TX          75073178423
11822862172453   DAVID        HAYE                      PA          51048448621
11823357461976   CRUZ         KENDRICK                  CA          46091843574
11823435972477   KEVIN        LEMLEY                    PA          90009904359
11823612391869   RENEE        HEINERIKSON               OK          90007486123
11823894761958   FCS          FGJDGJKD                  CA          46072918947
11825339272453   JOHN         VERHOLTZ                  PA          51065503392
11825563161958   OLGA         SANTOS                    CA          46042185631
11827775991895   WENDY        MURRY                     OK          90006517759
11828311361958   MARTHA       LOPEZ                     CA          90014543113
11831394161938   DEL RIO      MARK                      CA          46060043941
11831437191895   TONYA        NICKLES                   OK          21031524371
11831525761958   YANHARI      LEYVA                     CA          90014475257
11832215691895   JOHN         PEWEWARDY                 OK          90014622156
11832435161958   ELVA         LIDRAZZAH                 CA          46008424351
11834751893745   KRISTINA     BRUMMITT                  OH          90013637518
11835243761948   MARIAL       MACHADO                   CA          90002552437
11835624491569   ELIZABETH    BURCIAGA                  TX          90010986244
11836364544353   ANDREW       GARTHE                    MD          90013893645
11836593157147   WENDY        ROJAS                     VA          90001755931
11838511661976   DAVID        LOFTIS                    CA          90014445116
11839318461938   BRANDEE      MOORE                     CA          90010083184
11839549991895   KELLY        WALKER                    OK          90013045499
11839648161958   JESUS        MORALES                   CA          90011176481
11842167993745   BRANDON      HUFFMAN                   OH          90012821679
11842948861976   TRINIDAD     ZAMBRANO MELENDEZ         CA          46065809488
11845373693745   DUSTIN       WARD                      OH          64522913736
11845637361976   AIOTEST1     DONOTTOUCH                CA          90015116373
11846259547956   JAMES        DRURY                     AR          90008042595
11847154661976   JOHN         LAGEMAN                   CA          46066931546
11847241393745   TIM          LUCAS                     OH          64506862413
11847978761972   IMALLY       HICKS                     CA          90002629787
11848618161938   JAMES        SCOFIELD                  CA          46017146181
11848633561972   AIOTEST1     DONOTTOUCH                CA          90015116335
11848637572483   RUTH         BYRNES                    PA          51047246375
11849534461972   DEBRA        NORDE                     CA          90014885344
11849684157147   MIRTILA      BARAHONA                  VA          81096236841
11851836991569   JUAN         ANGUIANO                  TX          90002828369
11852356891263   RAYMOND      MARSHALL                  GA          90012233568
11853672561976   CYNTHIA      SANDOVAL                  CA          90013716725
11854264593745   ASHLEY       EDGERLY                   OH          64598222645
11854568131635   JOHN         RINGER                    KS          22016525681
11855878891569   CHRISTINA    DE LA ROSA                TX          90015188788
11856476891263   ANGEL        COLON                     SC          90006814768
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11856731491569   MARIA               MUNOZ              TX          75020117314
11857351291569   LETICIA             REYES              TX          75045233512
11857494461938   HECTOR              LOPEZ              CA          46032444944
11857543133699   TIFFANY             TIMMS              NC          90009455431
11857919891895   ANTONIO             CALDREON           OK          21051159198
11858916561976   ANDREW              CATALETA           CA          90008689165
11859113331687   LAQUISHIA           JOHNSON            KS          90012011133
11861128951337   STEPHANIE           EVANS              OH          66071211289
11862115633699   CHARLES             GRAVES             NC          90003301156
11862373791895   AMY                 MATHIS             OK          90001563737
11862718531434   AISIA               DAVIS              MO          90004187185
11862831691263   ELAINE              BARNWELL           GA          14594968316
11863659593745   TYLER               HILE               OH          90011446595
11863667851337   VIDAL               CARDENAS           OH          90013796678
11863951591263   SHARI               COX                GA          90014379515
11864342972435   SAMANTHA            TWOMBLY            PA          90002453429
11864913461972   JOSHUA              ACHUTEGUI          CA          90014339134
11865818461938   LINDA               CANTLEY            CA          90014218184
11865963971923   RUBEN               INCERTO            CO          90009709639
11866725385922   RAQUEL              APARICIO           KY          67086637253
11867537651337   ERIC                SOLOMON            OH          90012065376
11872464531479   AMANDA              GRIFFITH           MO          90003044645
11872749461958   WALTER              DIAZ               CA          90011287494
11873319561958   JOSE                BELLO              CA          90012753195
11875419161958   MICHELE             GURCHIEK           CA          90013864191
11877341761958   ELIGIE              VILLARIN           CA          90012903417
11878424461958   THOMAS              GONZALES           CA          90015324244
11879442131687   CLINTON             HALL               KS          90011604421
11881154931687   CHRISTOPHE          JONES              KS          22052461549
11882594757147   JOSE                VELANDIA-SANCHEZ   VA          90001085947
11883156977539   CATHERINE           GATES              NV          90002921569
11884356661958   JOSHUA              VERHEY             CA          90013593566
11891114891569   LANCE               VARGO              TX          90015011148
11892588651337   JAMES               CARTER             OH          90012425886
11892842141285   JAMES               HUDAK              PA          51060408421
11894939155938   KATHY               KNIGHT             CA          90013199391
11895116633623   ERNESTO             TRINIDAD           NC          90005381166
11896547172453   SINGULLA            BUTLER             PA          51091195471
11896697972435   MELODY              DEKLEVA            PA          51007816979
11898412461972   ABBY                FEDERICO           CA          46022054124
11899562831635   BARBARA             NERO               KS          22059295628
11899915151337   BRANDI              POWERS             OH          66039099151
11911397191895   ALEXANDER           AIRRINGTON         OK          90013923971
11911637361976   AIOTEST1            DONOTTOUCH         CA          90015116373
11912176972453   SHERI               WALTERS            PA          90013151769
11916875691263   ERNEST              WILLIAMS           GA          14588448756
11917519861958   EDUARDO             RANGEL RODRIGUEZ   CA          46020985198
11917724157147   IMMAR               UMANZOR            VA          90014137241
11919456277539   MICHAEL             SMITH              NV          43054574562
11921354461938   AIRSBEL             RODRIGUEZ          CA          90015113544
11922519661938   ALEXIS              MORALES            CA          90011455196
11923977885962   PHILLIP             COOMER             KY          90007179778
11924793961976   KARL                BLAFIELD           CA          90012337939
11925481561938   GONZALES-TRINIDAD   JULIAN             CA          90007244815
11926251761958   DAVID               FOSTER             CA          90002882517
11926648491895   CHERYL              HARRIS             OK          90015106484
11926864191569   HELLEN              GUTIERREZ          TX          90010258641
11928216172435   ROBIN               GALLIPPI           PA          51012792161
11932488372435   JOHN                BERK               PA          51008324883
11932527144322   RICHARD             COCHRAN            DC          90007815271
11937575731494   KATHY               PRICE              MO          90005335757
11937944391895   PARYS               JOHNSON            OK          90013949443
11938121455973   VERONICA            ALMONTE            CA          90012421214
11941415757155   NOE                 MARTINEZ           VA          90013844157
11943723161938   GUS                 COTA               CA          46022997231
11944788161976   PATRICK             THAGGARD           CA          46004837881
11946142757147   PHYLLIS             ALEXANDER          VA          81020091427
11947463461972   SINDI               AMANONCE           CA          90012234634
11948866991547   PATRICIA            CARACENA           TX          75074938669
11949368491569   ERIKA               CORDERO            TX          90000923684
11951587193745   MELISSA             BIRT               OH          90014595871
11952224691895   RAYMOND             GAFNEY             OK          21087732246
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11955719461972   NATASHA          KENDRICK              CA          90012107194
11956637361976   AIOTEST1         DONOTTOUCH            CA          90015116373
11956886172453   MICHAEL          CAMPBELL              PA          51085818861
11957854191895   CHRISTINE        CURTIS                OK          90008588541
11958283761938   DA'NEIA          NEELEY                CA          90014722837
11958387761972   ANNA             ADRIAN                CA          90009003877
11958423933699   JEREME           CROWDER               NC          90011204239
11958625451337   JAMEL            MAYFIELD              OH          90015246254
11958646547956   WENDY            PEER                  AR          24083726465
11958659231687   ASHANTI          PEAL                  KS          90010976592
11959282461938   FABIAN           RAMOS                 CA          90014722824
11959661655933   DIANA            MORRIS                CA          49043586616
11962819957147   IVAN             ZAPOTECATL            VA          81091188199
11964287861958   SURANG           PUNTHUNA              CA          90014712878
11964529671982   NATHAN D         MAES                  CO          38006605296
11965254691263   TARSHA           PATTERSON             GA          90014822546
11966353791263   MIKE             JONES                 GA          90006113537
11966368257147   DAVID            CHAVEZ                VA          81044953682
11967913361976   MONICA           CHEE                  CA          90013729133
11969212961972   JOSE             CASTANEDA             CA          90014942129
11969714377539   REINA            REAL                  NV          43025067143
11969896791997   HOPE             COLEN                 NC          90011668967
11974133261958   MARIA            LPOPEZ                CA          90009551332
11977836731676   CLAUDIA          NARANJO               KS          22083358367
11979167993745   BRANDON          HUFFMAN               OH          90012821679
11981333291263   RASHEDA          GABRIEL               GA          90002013332
11983459161938   MARIA            MORALES               CA          46016014591
11984281977539   HIPOLITO         DE JESUS              NV          90002922819
11984421957147   WENDY            RIVAS                 VA          90015184219
11984467631687   DAWN             MURPHY                KS          90013434676
11985756161976   WALTER           SATTERWHITE           CA          90012047561
11987712561958   GLEN             MERRITT               CA          90006087125
11989877257147   DAIBY            RODRIGUEZ MARAVILLA   VA          81062758772
11992351891569   ROCIO            RODRIGUEZ             NM          75064973518
11992767131687   KIM              WILKINS               KS          22091587671
11993173491327   ISRAEL           FERNANDEZ             KS          90001651734
11993371961972   MOHAMED          BOSHARA               CA          90013753719
11994632151337   MARCUS           GREER                 OH          90009546321
11994864131635   REGINA           SELLERS               KS          22007368641
11995652861958   SABRINA          MEJIA                 CA          90014006528
11995698261938   DM               SIKORSKI              CA          90014016982
11996416691895   JAMES            AUTEN                 OK          90012724166
11997446993745   BRENDA           HENTZ                 OH          90014924469
11998382391895   DAVID            NEIMEWER              OK          90002623823
11998635957147   GLADIS           DEL CARMEN            VA          90013676359
11999257661958   VIVIANNE RENEE   ATKINS                CA          90013042576
11999361593745   DENA             LEON                  OH          64518223615
12111661961976   JORGE            PEREZ                 CA          46069986619
12112441751337   MARQUISTE        TROTTER               OH          90009454417
12113377593745   JESSICA          WORTH                 OH          64545803775
12116518861958   JAVIER           JIMENEZ PILLADO       CA          90010865188
12116547731635   ELIZABETH        SMITH                 KS          22016725477
12117983661938   TANIA            ROSENBERG             CA          46084879836
12118264151337   KAREN            TUCKER                OH          90013582641
12118275357147   REINA            RAMOS                 VA          90011922753
12119128793732   DEISREE          TURNER                OH          90004811287
12119554491569   RICARDO          LUNA                  TX          90011385544
12121749891263   JINCEY           DAVIS                 GA          14570647498
12122269261976   ALEJANDRO        ARCE                  CA          90012852692
12122755547956   SHAUNTA          WALDON                AR          24066707555
12122867391263   MICHELLE         BROWN                 GA          90014738673
12122962272458   ANITRA           JETER                 PA          90000549622
12123117191569   JOSHUA           ESCANDON              TX          90012581171
12123149431687   TY               PHIPPS                KS          22082541494
12126123985922   RICARDA          LOPEZ                 KY          90004401239
12126259161976   SELMA            BENITEZ               CA          46007292591
12128323231635   ELIZABETH        RILEY                 KS          22016733232
12128617791899   SONIA            CLADERON              OK          21063146177
12128783393745   MEKA             FREE                  OH          90000307833
12129764761972   GERARDO          RUVALCABA             CA          90009407647
12129923861976   KIM              TESORI                CA          90010639238
12129934184375   MAURILIA         TERAN                 SC          90005479341
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12132831231687   EDDY          BRYANT                   KS          90014278312
12132965761938   JESUS         MENDEZ                   CA          90008719657
12133954261972   MITZI         ITURBIDE                 CA          46025719542
12134344391569   JUAN          BOTELLO                  TX          90012273443
12134365991263   JAMIE         RIVERS                   GA          90010503659
12135721891569   ODALTYS       GUZMAN                   TX          90013457218
12136222293724   STEVEN        JAQUAY                   OH          90014262222
12136539757147   AUDRA         AGYEI                    VA          90008915397
12136624591895   CECILIO       VILLAVICENCIO            OK          90012306245
12136749884327   STEPHEN       CADE                     SC          90007737498
12137238755976   LISA          HIATT                    CA          49080932387
12137383555948   ROSEMARY      SALINAS                  CA          90014793835
12137544661976   CELENE        EMBERSON                 CA          90014585446
12138412455948   ROSALIA       BETANCOURT               CA          90014794124
12138465891263   JOHN          WILLIAMS                 GA          90014964658
12138967981629   JORGE         REYES                    MO          90001939679
12139378351337   ROBERT        WALALCE JR               OH          66034003783
12141457133699   LAMON         HARRIS                   NC          12096764571
12143743861972   JESSICA       MUNOZ                    CA          90012107438
12143926961958   JOSEPH        MACLANG                  CA          46043579269
12143953355948   FAUSTINO      LEON SIXTO               CA          90010539533
12144912531687   MARIA         CAMACHO                  KS          22043909125
12144917331456   DIANA         MUJKANOVIC               MO          90011509173
12145953751337   TAWANDA       LUCKEY                   OH          90012909537
12146137355976   JOSEPH        MORALES                  CA          90013211373
12147615555948   MARIA         MURILLO                  CA          90014796155
12147814136157   CYNTHIA       SILVAS                   TX          90004238141
12149359733699   ADRIANA       ESTRADA                  NC          90014863597
12149715755948   NATALIA       MARTINEZ                 CA          90014797157
12151631457147   JOSE          ORELLANA                 VA          81045806314
12153223191579   OLGA          ROMERO                   TX          90008592231
12153726655948   ALICIA        TREUINO                  CA          90014797266
12153867377539   LAURA         MADRID                   NV          43046148673
12154726655948   ALICIA        TREUINO                  CA          90014797266
12156321391263   REXAN         SMITH                    GA          90014683213
12156931647956   NIKKI         MAYS                     AR          90006239316
12157724255976   MARIA         MORALES                  CA          90007617242
12158699391895   GILBERTO      SAUCEDO                  OK          21015546993
12158726655948   ALICIA        TREUINO                  CA          90014797266
12162588133699   FRANKIE       BEAL                     NC          12005015881
12164642361958   JOE           MONTES                   CA          90004526423
12169787757147   MARIELA       LOPEZ                    VA          90010747877
12171742555948   JENNIFER      BOYCE                    CA          90014807425
12173877161938   KACIE         DESMOND                  CA          90015028771
12174277155976   SALUSTIA      MARTINEZ                 CA          49041622771
12174456855948   FRANCES       PUENTES                  CA          90000304568
12176298461972   JAMES         WILSON                   CA          90001882984
12178367691895   MICHELLE      CAPPAI                   OK          21052653676
12179174561938   DAVID         REYES                    CA          90013101745
12179599593745   EDWARD        BURGE                    OH          90013835995
12181153661972   EVA           SEWELL                   CA          46004421536
12181581461958   CHRIS         GARBER                   CA          90011155814
12183643591895   LAVERA        WILSON                   OK          90011536435
12183814361972   VERONICA      BARRAZA                  CA          90002098143
12184142161976   MARIA ELENA   DAMIAN                   CA          90011541421
12184146257147   AMY           URRUTIA FLORES           VA          90005441462
12184443561958   LOUIS         MOYA                     CA          90015204435
12184558591895   WILLIAM       EDWARDS                  OK          90014565585
12185372661972   ASCENCIO      PADILLA                  CA          90013623726
12186153772453   KID           WADE                     PA          90005801537
12187485555968   LAURA         NICKEL                   CA          90007084855
12188394693745   STEVE         SHELLABARGER             OH          64590043946
12188491533699   JOHN          LOFTIS                   NC          12045674915
12191389155976   MICHELLE      HERNANDEZ                CA          49015683891
12191862861976   REFUGIO       CASTRO                   CA          90008898628
12192739691569   CLAUDIA       ELIAS                    TX          90009957396
12192761551337   JACQUELINE    WOLFORD                  OH          90002407615
12192915257147   CRISTOVAL     DIAZ                     VA          90001439152
12192965247956   SARAH         CLEVELAND                AR          90009589652
12193932555948   DORA LEE      ZARCO                    CA          90014939325
12194396255948   JAVIER        HERNANDEZ                CA          90010563962
12194928961976   JONATHAN      LUNA                     CA          90013019289
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12196195547956   MAURICIO     GUZMAN                    AR          90010501955
12196312161976   LILIANA      BENITEZ                   CA          90013923121
12196643651337   CLAUDIA      CANO                      OH          90009446436
12197575261972   ESTHER       ASTORGA                   CA          46082325752
12199227993758   WILLIAM      WHITE                     OH          90013072279
12199923355976   ELIZABETHQ   MEDINA                    CA          90012619233
12211198755976   MARIA        FLORES                    CA          90012581987
12212381161972   ANGEL        FLORES                    NM          46091043811
12213197555948   ANGIE        ZERMENO                   CA          90014861975
12214658661976   MILTON       LINDSEY                   CA          90010186586
12214991255948   JOSE         RAMIREZ                   CA          90014839912
12215363861963   MARIO        CRUZ                      CA          90012293638
12215968855948   ROLANDO      REYNOSO                   CA          90014819688
12216517793745   LAURA        LEE                       OH          64594975177
12217523661976   JUAN         BARRON                    CA          90012495236
12218362431687   CHRIS        RONNFELDT                 KS          90014473624
12219475761938   JORDAN       MARTINEZ                  CA          90013624757
12221789833155   TCHIANA      OBBET                      IL         90015547898
12222293461958   ANDREA       MAY                       CA          90011482934
12223333891838   CYNTHIA      POYNER                    OK          90011843338
12223737391569   CHRISTIAN    CORTINAS                  TX          90012637373
12224156491569   LARRY        VAZQUEZ                   TX          90010281564
12224661361972   MONICA       HERNANDEZ                 CA          90014266613
12224857333699   CRISTY       MCQUEEN                   NC          90000858573
12225974255948   SHELIA       ARWOOD                    CA          49018379742
12226589431687   TESA         TURNER                    KS          90002895894
12226648555948   FLEMON       RAMOS                     CA          90014826485
12227899355948   ERNESTO      GOMEZ                     CA          90007498993
12228334393725   CHE          MOLEY                     OH          90012113343
12228572861958   MICAELA      LEYVA                     CA          46047495728
12231444551337   TINA         MCCLURE                   OH          66072364445
12231571777539   ALEXANNE     STONE                     NV          90003815717
12232938355948   FILIBERTO    PEREZ                     CA          90012859383
12234113161976   JORGE        HERRERA                   CA          46065941131
12234131761938   LARRY        WILLIAMS                  CA          90005511317
12235997281629   ASHLEY       KINSEY                    MO          90001649972
12236654461958   REBECA       NUNEZ                     CA          90012806544
12241127991569   ELIZABETH    SANCHEZ                   TX          90012581279
12241937357147   MARLON       GALVEZ                    VA          90010339373
12242214155948   GENE         TURNER                    CA          90014862141
12244673255948   ANGEL        ZURITA                    CA          90012716732
12245293261958   CARLOS       TACUBA                    CA          90012812932
12245314861936   ALAN         GOMEZ                     CA          90014723148
12245677655948   MARCELA      SANDOVAL DE OROZCO        CA          90014826776
12246996491569   ERENDIDA     ORTIZ FAVELA              TX          90013809964
12247296455948   ANA          LOPEZ                     CA          90014912964
12247517491895   ALISHA       NORMAN                    OK          90011295174
12248156833699   ANGELICA     BARRETO                   NC          12077881568
12248561361972   CARLOS       RAMIREZ                   CA          90011515613
12249158857147   THERESA      WASHINGTON                VA          90013181588
12252295755976   ANTHONY      ROSALEZ                   CA          90014762957
12252697691895   BRANDIE      MCNACK                    OK          90000806976
12252956493745   JENNIFER     SCHRICKER                 OH          90002719564
12253376761976   SUDO         SOFIA                     CA          90009713767
12254376831687   JASON        ISAACS                    KS          90014873768
12254531761972   LUIS         SANDOVAL                  CA          90013265317
12254642251337   TERRANCE     HOLDEN                    OH          90015056422
12254655857147   JORGE        ARIAS                     VA          90013866558
12255248457147   EBERT        VELASQUEZ                 VA          81021162484
12256126761972   ADRIANA      GARCIA                    CA          90007401267
12258374561976   JONATHAN     PAK                       CA          90012743745
12259331284375   PATRICK      MASTERSON                 SC          90005483312
12259611161938   DERRICK      BURSE                     CA          90007136111
12261529361976   TEDDY        HALL                      CA          90010875293
12261671531687   LINDA        BATY                      KS          22073476715
12263433461958   JUANITA      GARCIA                    CA          90011064334
12264165677539   CONNIE       RAMBEAU                   NV          90011061656
12264531677539   CONNIE       RAMBEAU                   NV          90014095316
12264982947956   MARIN        GARCIA                    AR          90013279829
12265176461972   ANTHONY      ESPINO                    CA          46025201764
12265782591895   ANGELA       VELASCO                   OK          21079747825
12268297131635   JOSEPH       ANDERSON                  KS          22026932971
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12268617761968   WAYMON       EDDINGTON                      CA     90008976177
12269147155976   WILLIAM      ADAMS JR                       CA     49017721471
12272154593745   STEVEN       FLORY                          OH     90010561545
12272366947956   RICHARD      LAWRENCE                       AR     90011133669
12274198591263   GERQUITA     DAVIS                          GA     90015501985
12274852961938   ANTHONY      BATEMAN                        CA     46075178529
12275198951337   KENNETH      SATTERWHITE                    OH     90013341989
12275628247956   TRAVIS       DALTON                         AR     90010516282
12276314831687   THOMAS       WHEELER                        KS     90015213148
12277437993745   RODNEY       FRANKLIN                       OH     64506554379
12278323291346   ROBBIE       DUNCAN                         KS     90013843232
12278752461972   FERNANDO     MORENO III                     CA     46053277524
12281819993745   JESSICA      TUFTS                          OH     64500438199
12282396655948   GABRIELA     DAZA                           CA     90004873966
12282932755976   SANDRA       RENTERIA-HOLT                  CA     90003499327
12283389391569   ANNA         HERNANDEZ                      TX     90012133893
12283594461976   MARIA        URIBE                          CA     46095365944
12283811391974   OTONIEL      RIVERA                         NC     90000928113
12284615361958   ZIYA         ARSLAN                         CA     90003946153
12285849461972   RAUL         PADILLA                        CA     46020228494
12286542491895   KYLE         WHITE                          OK     90012965424
12286588584375   RHODA        WHITE                          SC     90010255885
12287885871923   RICHARD      STRANDBERG                     CO     32000588858
12291246551337   NATHAN       HALL                           OH     90013342465
12291714255948   TAMARA       CRAWFORD                       CA     90006787142
12292183691263   DENVER       HOUSTON                        GA     90013811836
12294433461958   JUANITA      GARCIA                         CA     90011064334
12295913231676   EMILIO       NUNEZ-BRAVO                    KS     90010699132
12297134472453   SHELBY       MCCOWIN                        PA     90006491344
12297379991263   JOSEPH       SHEPPARD                       GA     90007993799
12298622261978   CECI         LOPEZ                          CA     90014266222
12299666661958   JESSICA      ROBLEDO-POWERS                 CA     90008046666
12311432761958   SCOTT        CARO                           CA     90012274327
12311839557147   NESTOR       MELENDEZ                       VA     90008788395
12313718572458   TOM          GIKAS                          PA     90007377185
12314272961958   MERRILL      LOVELACE                       CA     90014002729
12314862972435   LEAH         PIPER                          PA     51093598629
12315699355976   KAREN        NOU                            CA     90013456993
12317315361958   FERNANDO     DURAN                          CA     90009413153
12317768955948   ROMAN        DE LA ROSA                     CA     49004947689
12317785661976   EDGAR        URUETA                         CA     90013857856
12317987461938   DAO          YANG                           CA     46029079874
12319916191569   DEBORAH      NASH                           TX     75043929161
12321195941455   ARLENE       TRAWICK                        WI     90015611959
12321265761972   VICTOR       NUNEZ                          CA     90013852657
12322967657147   ASTER        ASFAW                          VA     90011319676
12323477761976   JOSE         HERNANDEZ                      CA     90013154777
12325396661976   JESSE        CHAVEZ                         CA     46030423966
12325613561958   JAKE         TORRENCE                       CA     90013786135
12325843391569   CARLOS       TORRES                         TX     75022378433
12327623661958   PHILLIP      RIVERA                         CA     90000156236
12328326361976   MARIA        DEL CONSUELO GALINDO CUELLAR   CA     90008013263
12328738355948   MARIA        ARZATE                         CA     90012717383
12329183361958   MARIBEL      COLMENARES                     CA     46006161833
12329831955976   RAQUEL       GARCIA                         CA     90004698319
12329844972483   CYNTHIA      CUNNINGHAM                     PA     51007448449
12329886791263   ALISSA       KELLY                          GA     90014888867
12332377593745   JESSICA      WORTH                          OH     64545803775
12332554891895   RUBEN        HURTADO                        OK     90012965548
12332642961958   BILL         JEFFLOTT                       CA     90002986429
12333423391244   DESMOND      DUVAL                          GA     90005384233
12334346491263   DALTON       SAXON                          GA     90011303464
12334399972435   GARY         NEGLEY                         PA     51012993999
12334781477343   SHAVON       GIBSON                         IL     20590777814
12334891891263   NICOLE       WALDEN                         GA     90014738918
12335292847956   TARA         REESE                          AR     90014152928
12335969991895   PATRICIA     RESS                           OK     21045219699
12336857361976   LISABETH     GUERARA                        CA     90005308573
12338367261958   TREVOR       HERMANN                        CA     90010853672
12339567231687   TRAVIS       MCGILL                         KS     90013995672
12341337161972   RICARDO      MACIAS                         CA     46042313371
12341745661938   PAT          JONES                          CA     46080327456
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12341833355976   CAROLINA     PACHECO                   CA          90013888333
12341886533699   LINDA        MCLEAN                    NC          90012938865
12343469355948   ALFONSO      ZAMORA                    CA          90005144693
12343813441455   DIANA        DEVONSHIRE                WI          90014158134
12344678891838   ROBERT       WARRINGTON                OK          21068496788
12346194177539   HECTOR       MARTIN                    NV          43015391941
12346453261958   LONNIE       HESTER                    CA          46054064532
12346511955938   LAURA        SHERRILL                  CA          48069455119
12349663572435   MICHAEL      LAMBERSON                 PA          51031146635
12349918926289   STEWART      RYAN                      WI          90014789189
12352836947956   TERRI        CRAIG                     AR          90008388369
12353276372453   PHILIP       SIMPSON                   PA          51011522763
12353695293745   HOLLI        BOOKER                    OH          64531306952
12353896561958   JOSE LUIS    MARTINEZ                  CA          46079728965
12354134472453   SHELBY       MCCOWIN                   PA          90006491344
12354819391895   ASHLEE       VAN FOSSEN                OK          90011298193
12354928361938   JAMES        WOHLBERG                  CA          90015249283
12355699461968   EDWARD       RAMOS                     CA          90009006994
12356613151337   ALEXANDRA    HEINRICH                  OH          90014396131
12356628491899   GILBERTO     ARANGO                    OK          21069476284
12356757791895   TAMMY        COOKS                     OK          90013457577
12358781361958   FRANSISCO    HERNANDEZ                 CA          46019157813
12359979461976   IVAN         VASQUEZ                   CA          90014769794
12362975361976   TERESA       GONZALEZ                  CA          90000489753
12363679331687   CHRISEY      OWEN                      KS          90015156793
12363816333699   DEBORAH      ALBERT                    NC          90010368163
12364128157147   STEPHANY     VENTURA                   VA          90012441281
12365437631635   CHUCK        FLETCHER                  KS          22066264376
12367598861972   RIOS         ISABELL                   CA          90004795988
12368746461976   CARMEN       CASTRO                    CA          46044027464
12369249191899   CHRISTOPHE   JACKSON                   OK          21020992491
12371794185836   JOSE         OCHOA                     CA          46010137941
12372848561958   GABRIEL      RIVERA                    CA          90012768485
12373486161976   DONOVAN      CEBALLOS                  CA          90006354861
12375379647956   BRANDON      PRATT                     AR          90014283796
12375445541255   CHRISTINE    SUNGALA                   PA          90001404455
12375747291569   EDUARDO      GUTIERREZ                 TX          75073607472
12375882491895   VIRGINIA     VALDEZ                    OK          90011298824
12376149161958   JUAN         ROMAN                     CA          46093131491
12378594493732   MICHAEL      BRITCHETT                 OH          90007505944
12378757533699   JULIO        REYES                     NC          12012127575
12379549393745   STACY        KING                      OH          90013565493
12379735361938   BEATRIZ      SAEZ                      CA          90011417353
12379781431687   JOSHUA       WOMACK                    KS          90003537814
12381433833699   JACK         KEROUAC                   NC          90010574338
12381596691569   CLAUDIA      ESPARZA                   TX          75081335966
12381978461972   BYRON        PEREZ                     CA          46047099784
12382345861976   DANIEL       RIVERA                    CA          90009703458
12382959555948   ADAN         ORTIZ                     CA          90001849595
12384387157147   MARIA        ESCOBAR                   VA          90009923871
12388191133699   CHARMIN      MONQUIE                   NC          90010991911
12388371677539   MARIA        ARIAS                     NV          90007283716
12388625433699   ORLANDO      ORTEGA                    NC          90009796254
12392194984375   CRYSTAL      RICHARDSON                SC          90005511949
12392691593745   ALAN         WILLIAMS                  OH          64528036915
12393665855948   ANNETT       LARIOS                    CA          49072356658
12393882261958   FELIPE       RAMIREZ                   CA          90012468822
12395956931687   KENA         POTTORFF                  KS          22062799569
12396678251337   ROSALYNN     RICHARDSON                OH          90001776782
12396712661958   MIRIAM       LOPEZ                     CA          90009117126
12397195791895   AMBER        MCBROOM                   OK          90003021957
12397529793745   ALYSSA       FRANCIS                   OH          90005075297
12398292757192   MA JUANA     VALLEJO DE MALDONADO      VA          90013672927
12398449191569   VICTOR       GUTIRREZ                  TX          75015074491
12399992491838   TAMMY        CURTIS                    OK          90005149924
12411754761976   SHAWNAE      JOHNSON                   CA          90014887547
12412272233699   MARISELA     TORRES                    NC          12005832722
12412412272435   KAZMIECZYK   DANA                      PA          51046224122
12413324193745   TIFFANY      GRAUMAN                   OH          90012283241
12413496931687   ASHLEE       ZINDEL                    KS          90013314969
12414795157147   LEO          GUZMAN                    VA          90012517951
12418578261976   YOLANDA      ROY                       CA          90001385782
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12418579761972   DAVID              WILSON              CA          90014845797
12419616891962   AMANDA             COOKE               NC          90006076168
12419953893745   STACY              CRUMPLER            OH          90013599538
12419989541455   AUSTIN             MICHALSKI           WI          90015489895
12421677893745   ASHLEY             WEBB                OH          90006286778
12422298755976   FERNANDO RICARDO   MEDINA              CA          90002342987
12425633561976   AIOTEST1           DONOTTOUCH          CA          90015116335
12425673361958   JUSTIN             MUSSER              CA          90012946733
12426191477539   ASHLEE             HAZEL               NV          43083201914
12426747493745   NICOLE             BURTON              OH          90000327474
12429222791895   CRISTY             LENTZ               OK          21004732227
12436478747956   JASON              MACDONALD           AR          24030524787
12438884191895   SAQUITA            BURELL              OK          90015018841
12439326661958   EFIGENIA           FERNANDO            CA          46073073266
12441797333697   CHLOE              MOORE               NC          90012917973
12442259847956   CLAUDIA            GARCIA              AR          90009862598
12442918561958   VINCENT            GONZALEZ            CA          90013469185
12443168455976   LUIS               MEDINA              CA          49073021684
12444772461938   NOBERTA            MORALEZ             CA          90013017724
12445275561976   NADINE             LINDO               CA          90012852755
12445523147956   STEVEN             SIBARY              AR          24006655231
12445766991569   SERGIO             ALTIERRA            TX          75083657669
12447146547956   JENNIFER           STARKEY             AR          90008801465
12447442255948   VALERIE            ATTINELLO           CA          90005164422
12448446355948   VIOLET             GUZMAN              CA          90014974463
12448725993732   CARLOS             JUAREZ              OH          90006497259
12448767491895   JAMES              DELANEY             OK          90011537674
12449248851337   JOSHUA             WHARTON             OH          66011752488
12451565131635   MARTIN             NIETO               KS          90009195651
12452176161972   REBECA             ESTRADA             CA          46006291761
12452233831635   JESSICA            NAVA                KS          22055232338
12453975231635   MARCUS             LANE                KS          22007369752
12455536457147   EDWIN              GUERRERO            VA          90013075364
12456386493745   LEON               GAYLE               OH          90005013864
12457973147956   JESUS              MEZA                AR          90003469731
12459492391569   JOSE               GORDILLO            TX          90012554923
12459939155948   JAVIER             CARRANZA            CA          49045379391
12461878691569   DAVID              MUNOZ               TX          90010788786
12462924391895   PENNY              DEATHERAGE          OK          21032289243
12465112555976   ERIKA              ZUNIGA              CA          49094951125
12465129861948   GILDARDO           PADILLA             CA          90007581298
12465369333699   ADRIANA            LOPEZ               NC          90012613693
12465977747956   ANGELA             BOOKER              AR          24048299777
12467124391569   ARIANA             MADONADO            TX          90004401243
12467429391263   VICTOR             ROSE                GA          90014924293
12467922172435   VICKIE             HARTMAN             PA          51079139221
12469237954133   CHERYL             DECKER              OR          90014282379
12471596251393   JULIE              DEFFREN             OH          90011965962
12471629657147   OSCAR              GAMEZ               VA          90013576296
12472718991569   JUAN               MENDEZ              TX          90008587189
12473448361938   CHANDLER           DESHAZO             CA          90011244483
12473961971923   DAISY              ARIOLA MARQUEZ      CO          90011749619
12474568191569   ABELARDO           ANTILLON            TX          90011145681
12475565555976   LISA               VIVEROS             CA          90003955655
12478517961958   JUDY               SMALLEN             CA          90015175179
12478675455948   FRANK              REYES               CA          90011426754
12478966961972   LILIA              CASTRO              CA          46013999669
12479155791569   DAVID              MCCARTHY            TX          90008041557
12479353355976   KRYSTAL            MARTINEZ            CA          90015163533
12479728791547   LESLIE             RODRRIGUEZ          TX          90008737287
12481184355976   ALEJANDRO          ROMERO              CA          90013121843
12481843291895   ELONDA             JONES               OK          90011538432
12482278872453   STANLEY            VARNER              PA          90006892788
12482671855948   MARK               BROWN               CA          90011686718
12482692361972   REBECA             DUARTE              CA          90007776923
12483299831687   TERRI              FARR                KS          90013162998
12483664761972   MONICA             LEON                CA          90012296647
12485367251337   STEVEN             SALYERS             OH          66057843672
12485819231687   MEAGAN             BLACKWELL           KS          90012358192
12486976755948   ARTHUR             BLAND               CA          90000629767
12488814393745   DESTINY            FLORES              OH          90009228143
12489124391569   ARIANA             MADONADO            TX          90004401243
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12491162555948   MARIANA      LLAMAS                    CA          90011411625
12491542533699   TAMEKA       LEWIS                     NC          90013685425
12491654661976   RODOLFO      CATEURA                   CA          90008136546
12492955993745   ABLE         EVANS                     OH          90007599559
12493193551599   MANUEL       GAMBOA                    IA          90015431935
12493633791895   CHRISTY      SHANNON                   OK          90014466337
12493998761972   CURIEL       ESTRELLA                  CA          90012159987
12494823961972   SHERN        SAMSON                    CA          90010138239
12495994461958   TERESA       GONZALEZ                  CA          90014839944
12496531191569   SERGIO       ONTIVEROS                 TX          90006315311
12497198491569   ROBERT       LOPEZ                     TX          90013551984
12497823251337   NANCY        WALTON                    OH          66012498232
12499263951337   WILLIAM      DOPF                      OH          66096912639
12511477155948   ESMERALDA    HERNANDEZ                 CA          90015054771
12511512233699   VASHON       WILSON                    NC          90014085122
12512161361976   DEYADIRA     MORENO                    CA          90007521613
12512666861972   RAUL         PALONERA                  CA          90003846668
12512732843588   IDALIA       LARSEN CASIANO            UT          90011797328
12512963891263   LISA         GREGORY                   GA          14503429638
12513287557147   LUIS         ABARCA                    VA          90009832875
12514477155948   ESMERALDA    HERNANDEZ                 CA          90015054771
12517985755948   MARTHA       TORRES                    CA          90003979857
12518916133699   ALECIA       SMITH                     NC          90012259161
12519184655948   RENE         VALDIVIA                  CA          90011701846
12521791561976   SERGIO       GARCIA                    CA          90014407915
12521941461972   HEIDI        GOMEZ                     CA          90007809414
12525485477539   JACOB        CAROLIN                   NV          43018124854
12525985533699   MARTHA       WITHERSPOON               NC          90014799855
12527395691895   EDWIN        HARRIS                    OK          21001803956
12527632247956   MARIA        VAZQUEZ                   AR          90006146322
12528722291826   DANIEL       COCHRAN                   OK          21075427222
12531698193745   SHAWN        FAIR                      OH          64551836981
12532121247956   JANAIA       WRIGHT                    AR          90014701212
12532376761938   BRIAN        SNELSON                   CA          90014053767
12532459991884   ROBERT       RATLIFF                   OK          21096914599
12534718157147   VICTOR       DIAZ                      VA          81022357181
12534934161938   CESAR        CAMPOS                    CA          46022379341
12535222891895   WILLIAM      PATTERSON                 OK          90013292228
12535838577539   RHONDA       TERAN                     NV          43098028385
12536624457147   NICOLE       MCCONNELL                 VA          90013266244
12538765772435   EDWARD       MARKUNAS                  PA          51048607657
12539945961972   MIKE         MOORE                     CA          90006369459
12541692461972   BRENDA       RAMIREZ                   CA          90012236924
12543352547956   VANESSA      PADILLA                   AR          90011603525
12543928391895   RALPH        MCLAUGHLIN                OK          21001489283
12543946793745   SIERRA       WILLIAMS                  OH          64541329467
12544293591569   CARLOS       SILVA                     TX          75041192935
12546285661958   ROBERTO      IBANEZ VIDAL              CA          90012812856
12546733947956   HEATHER      HORTON                    AR          24024327339
12548918491895   SOLIDA       NANEZ                     OK          90012999184
12549663661972   SARAHI       HERNANDEZ                 CA          90010406636
12551265125386   ALYSSA       RAMIREZ                   WA          90015422651
12551954251337   DANEEZSU     MCCLOUD                   OH          90012929542
12551987855976   CHRISTINA    GARZA                     CA          90014779878
12553516561976   ROSEANN      MESTA                     CA          90001665165
12553877657147   MORENA       AMAYA                     VA          90015308776
12554647457147   KAREN        VALDEZ                    VA          81059066474
12554913231676   EMILIO       NUNEZ-BRAVO               KS          90010699132
12555576247956   AUNJOLIE     COLEMAN                   AR          24031895762
12556238861938   NICK         OLIVIERI                  CA          90013242388
12556379361976   FLINT        FIELD                     CA          90009423793
12557196261972   PATRICIA     CRUZ                      CA          90000301962
12557384461938   SILAILAI     SAVALI                    CA          90010663844
12557691961976   JOANN        CEDILLO                   CA          90013716919
12558418561938   VALERIE      OSOBAMPO GERARDO          CA          90013794185
12559547791573   DANIEL       PONCE                     TX          75003635477
12559929591569   JOEL         WHITUS                    TX          90014389295
12561228761976   JADE         NAVA                      CA          90011482287
12561257261972   CARLOS       NORIEGA                   CA          90015162572
12561559933699   JOYCE        CLARK                     NC          90014815599
12561915151337   SUSANA       ARAUJO                    OH          90009969151
12562367233699   CUNG         KUK                       NC          90015153672
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12563869131687   JESSICA           OLSON                KS          22059218691
12565241985977   RAYNETTA          DAVIS                KY          90005382419
12566336361958   SHARON            MONDRAGON            CA          90002863363
12567294951337   ASHLY             BOHRER               OH          90014852949
12567892261938   CESILIA           SOLANO               CA          46089668922
12568361691263   JAMESMINE         DAVIS                GA          90013743616
12568372931687   CARLOS            AVILA                KS          90012653729
12569773255976   TERESA            JESSIE SANCHEZ       CA          90010837732
12569882657122   MAURICIO          DORIA MEDINA         VA          90011918826
12573528161976   BARBARA           CASTANEDA            CA          46070875281
12573969947956   LOUIS             PAXTON               AR          90007739699
12575252161972   FELIPE            VAZQUEZ              CA          90011962521
12576491551337   RENICUL           KELLEY               OH          66006314915
12576538157147   IVAN              RIVAS                VA          81010405381
12578464461958   BIANCA            POPPLEWELL           CA          90014484644
12581239491569   MARIA MAGDALENA   CASTILLO RANGEL      TX          90014742394
12581322451337   GREGORY           TIDWELL              OH          66069773224
12581846561972   LAURA             GONZALEZ             CA          46086058465
12585785293745   JAMES             MONDAY               OH          90012267852
12586579377539   MARICELA          RODRIGUEZ            NV          43073215793
12588219857147   ALEXANDER         ZANCHES              VA          90014012198
12591156191569   CRYSTAL           MINJAREZ             TX          75092411561
12591688961958   RYLEE             JOHNSON              CA          90012946889
12591877747956   BRANDY            LIEURANCE            AR          90005158777
12594195561976   ROSA              YZABAL-CONTRERRAS    CA          90009811955
12594321993745   DAVID             POTTS                OH          90012833219
12595931191399   CULTIVATE         KANSAS CITY          KS          90014649311
12596845561976   CELIA             DOMINGEZ             CA          90007228455
12596855641384   GLADIS            ORELLANA             MA          90011558556
12596873661938   TANYA             FUAD                 CA          46090118736
12597436691573   BLANCA            DELFIN               TX          90010114366
12597618771929   CONNIE            ARREOLA              CO          90001276187
12598412461938   ABBY              FEDERICO             CA          46022054124
12599735351337   THOMAS            SORRELL              OH          90011327353
12611514247956   MORENA            MACHADO              AR          90002065142
12611677291895   MARIA ROSARIO     SALAZAR              OK          90012966772
12611837431687   KEITH             MCGAUGH              KS          90011608374
12612356691895   BRYSON            HUNT                 OK          90008963566
12612481361976   JAZMIN            DE REAL              CA          90013294813
12613864293745   BRADLEY           STERLING             OH          64582308642
12615752661972   JUAN              LOPEZ                CA          46016537526
12616191933699   OBHAJIAJEMEN      EMIOHE               NC          90004521919
12616297931635   STEFANIE          MAZE                 KS          22050622979
12616478257147   BLANCA            ORELLANA             VA          90014004782
12616785691569   TERESA            MENDOZA              TX          90013137856
12616914847956   CASSANDRA         JEFFRIES             AR          90013919148
12617195461972   JESSIE            CHIUZ                CA          90001961954
12617275361972   ABRAHAM           CARRILLO             CA          90013122753
12617576291569   VERONICA          DE ROMO              TX          90013545762
12617971933699   LAURA             BERCIAN              NC          12044239719
12621653555948   DELIA             PIMENTEL             CA          49007726535
12623834933699   PAYGO             IVR ACTIVATION       NC          90010738349
12624135255976   CHRIS             FLORES               CA          90011601352
12624546147956   JOSEPH            ELKINS               AR          24011265461
12625221457147   ANTONIO           ARGUETA              VA          90014042214
12625288591263   VALENCIA          ALLEN                GA          90010562885
12626275161976   CLAUDIA           ROMO                 CA          90012752751
12628426451337   TERESA            GUEVARA              OH          66012114264
12628433557147   ATILIO            HERNANDEZ            VA          90012924335
12631651851337   JOHN              TORRES               OH          90011916518
12632466747956   LISA              VANBRUNT             AR          90014604667
12634227355976   JOHNTEI           BURTON               CA          90011302273
12634523191895   DANIEL            ALEJANDRO            OK          90013525231
12634673457147   GERSON            ALVARADO             VA          90009016734
12634995461958   DUNIA             MOBLEY               CA          46008479954
12635359291569   SANDRA            PEREZ                TX          75087923592
12636213691263   ALEJANDRO         RAMIREZ              GA          90013092136
12636223357147   SAMUELSON         PAPSOSESAY           VA          81023982233
12636529291895   DUSTIN            STIGALL              OK          90011545292
12636973955976   FLASH FEE         FEE                  CA          90013329739
12637545961976   WALDO             VALENZUELA           CA          46092885459
12638997393745   JUSTIN            CLARK                OH          90011069973
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12639326451337   JERMAYNNE     JACKSON                  OH          90014713264
12639799757147   OSCAR         RIVA                     VA          90011757997
12642598451337   MORGAN        CARTER                   OH          90013685984
12644514893745   NICOLE        MOTE                     OH          64574885148
12644657761958   ELAINE        MAGANA                   CA          90015326577
12646441377539   KEVIN         DONNELL GENERAL          NV          90003464413
12646912655948   MARIA         BELTRAN                  CA          90011729126
12647969993745   TAWNYA        EMRICK                   OH          64506999699
12648434171929   SANDRA        JURADO                   CO          32031624341
12648725691524   TOMMY         MARTINEZ                 TX          90011967256
12649638731635   CINDY         MUHAMMAD                 KS          90013756387
12649672791547   JOSE          PRADO                    TX          90010686727
12651655231687   JUAN MANUEL   BUSTOS                   KS          90002136552
12652359993745   JAVIER        BUSTAMANTE               OH          64559133599
12654158355948   PAULA         ALAMILLO                 CA          90008761583
12654174357147   CHARLES       KATOROOGO                VA          90011001743
12656494433699   MEGAN         BLACK                    NC          90013144944
12657193671923   SANDY         WILLIS                   CO          90009451936
12658871161938   ROBERT        WESLEY PARFITT           CA          90012668711
12659143161976   ENEDINA       CHUMACERA                CA          90011661431
12659146891895   RHONDA        BARNES                   OK          21055021468
12659936577539   FRANCISCO     DEL RIO                  NV          90012629365
12661721657147   LORRI         LANE                     VA          81001327216
12661827961958   CHARLES       RIESER                   CA          46008488279
12663781854152   KELSIE        ANDERSON                 OR          90013857818
12664317431687   APRIL         JONES-WILSON             KS          90009193174
12664735693745   TRENTON       FOSTER                   OH          90002437356
12664832561972   AIRAM         BELTRAN                  CA          90014928325
12664862961976   ESPERANZA     PINEDA                   CA          90013798629
12665261261972   JENNIE        HAYES                    CA          46044382612
12665338791549   BERTHA        AGUILAR                  TX          90003043387
12665663677539   JOALLEAN      HAWLEY                   NV          90003066636
12666481933699   NATASHA       MARSH                    NC          90012284819
12666576791569   YOLANDA       SIMENTAL                 TX          90002145767
12667157191895   MARLO         RAMIREZ                  OK          90014761571
12667336791547   OSCAR         GARCIA                   TX          90004363367
12667499657147   CHRISTINE     SMITH                    VA          90014554996
12667887791263   JAMES         GEIGER                   GA          90010318877
12668541791263   SARAH         DOZIER                   GA          90010365417
12672417751337   DAMON         ROBINSON                 OH          90012454177
12672623555948   FAVIAN        AMEZCUA                  CA          90011736235
12672882391895   KARRIE        COX                      OK          21036938823
12675141247956   DANNY         CONN                     AR          24077571412
12675511161958   CLAUDIA       RUELAS                   CA          46038045111
12675711951337   MELINDA       LYDIAN                   OH          90011057119
12676241985977   RAYNETTA      DAVIS                    KY          90005382419
12677577691895   RHONDA        FOSTER                   OK          21001045776
12681219131687   NICHOLAS      MARTINEZ                 KS          22023002191
12681578855976   LARRY         ROMERO                   CA          90001155788
12681871861972   FAITH         LOPEZ                    CA          90012088718
12682554661976   IAN           RUIZ                     CA          90013085546
12682639591895   ANGELIQUE     ANDERSON                 OK          21004366395
12687541457147   ISABELLA      ARABINAR                 VA          90007115414
12688733551337   MELIDA        RODAS                    OH          90011077335
12691242257147   CHEYLA        TORREZ                   VA          90010752422
12691323791895   KEVIN         PLATT                    OK          90004893237
12693733861938   CRYSTAL       FRENCH                   CA          90012887338
12694278184375   BRITTNEY      BUTLER                   SC          90003112781
12694671361958   CHESTER       COPPERPOT                CA          90010546713
12695258351337   GEORGE        DAVIS                    OH          90011032583
12696784561978   NISHA         PORRAS                   CA          90007687845
12697857633699   KIMBERLY      GRIFFIN                  NC          90014158576
12698939191263   LAVONDRA      OSBORNE                  GA          90014859391
12699335191573   IDALIA        VALDEZ                   TX          75089223351
12711484977522   LUCIA         IZQUIERDO                NV          90013424849
12712499951337   ERIN          TAYLOR                   OH          90013824999
12712937247956   DEREK         CREEKMORE                AR          90013219372
12716416891263   SHARON        PETREA                   GA          90014714168
12718419261972   JOSE          RIOS                     CA          90009914192
12719253747956   JIMMY         PARKER                   AR          24054812537
12721351755948   ALFONSO       HERNANDEZ                CA          90012743517
12721389991569   CLIFF         JACQUEZ                  TX          90005393899
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12721556991895   EASTER        HOLLAND                  OK          90015095569
12722428191526   CARLOS        MUNOZ                    TX          90011284281
12723262733699   REA           FULLER                   NC          12078652627
12724598961938   ALEX          GONZALES                 CA          90007945989
12725484561976   JAVIER        GARCIA                   CA          90014704845
12726334751337   GABRIELA      TRANQUILINO              OH          90005013347
12726752993745   TERESA        SCHWARTZ                 OH          90003907529
12728969991569   JOHNATHAN     NAVA                     TX          90010209699
12729249491569   KIMBERLY      MONTOYA                  TX          90010412494
12729582561938   VINCENT       CASTILLO                 CA          90002235825
12731677661938   NANCY         SANCHEZ                  CA          46093426776
12732182891263   PEARL         JONES                    GA          90015251828
12732483461976   RAQUEL        RAMIREZ                  CA          90000864834
12732826647956   ANDREA        RODIRGUEZ                AR          90014918266
12733284391569   SILVESTRE     RODRIGUEZ                TX          90012402843
12734197491263   LAURENTINE    WHITE                    GA          90013981974
12734299391895   DAVID-MARK    BERGMANN                 OK          90004922993
12734443757147   JUDITH        WHITE                    VA          81022984437
12736797291895   PHILLIPPS     THOMPSON                 OK          90009637972
12737546391263   GWEN          HARRIS                   GA          90014725463
12738251693745   ROGELIO       PANTOJA-RIVERA           OH          90011082516
12738985461976   ROBERT        CORMIER                  CA          90002759854
12739761891895   LEEANN        TALIAFERRO               OK          90014417618
12743214257147   MERCEDES      BEATTIE                  VA          90014572142
12743419761938   JORGE         PEREZ                    CA          90014974197
12744623361938   ERIKA         ROMERO                   CA          90003776233
12746246433699   CECILIO       CHAVEZ                   NC          90010372464
12747357961972   JOSE          HERRERA                  CA          90012493579
12747878161938   BERTHA        ALICIA ROMO              CA          46010478781
12748584591895   MARILYN       MCGEE                    OK          90005095845
12748598393744   CURT          HOSTELER                 OH          90012175983
12748998261958   GERALD        SMITH                    CA          90012899982
12752412272435   KAZMIECZYK    DANA                     PA          51046224122
12752521991263   ANTRESHON     WRIGHT                   GA          90013205219
12753726991263   BLANCHE       SPENCE                   GA          90013387269
12755241761938   MARTIN        MAYO                     CA          46098622417
12755555647956   RAYMUNDO      PEREZ                    AR          24030125556
12757727961938   FRANCISCO     LARA                     CA          90011247279
12761746691569   JOSE          BARRIENTOS               TX          90012027466
12762874161958   JOLIO         BORQUEZ                  CA          90013698741
12764616272435   MICHELLE      SALES                    PA          51007266162
12764915157147   JOSE          PEREZ                    VA          90006239151
12765211461938   GLENDALEE     CORTEZ                   CA          90005752114
12765595154152   JUAN          OSORIO HUESCA            OR          47006675951
12765876591569   FAITH         CABRALES                 TX          90014088765
12767415993745   KARA          FERGUSON                 OH          90002114159
12767557291895   CHRIS         YANDELL                  OK          21061695572
12768431461976   WESELY        LOVE                     CA          90012364314
12768813255976   MIGUEL        NUNEZ                    CA          90009328132
12769377455976   PAYTON        SWANSON                  CA          49083473774
12769572593745   CHRISTOPHER   LESLEY                   OH          90010715725
12769785261958   DANIEL        TROUT                    CA          90013867852
12771984657147   WILLIAM       ARGUETA                  VA          90007649846
12773211557147   JOSE          GOMEZ ARGUETA            VA          90015172115
12773674861972   CAROL ANN     WOLF                     CA          46067426748
12775228855976   KWELI         WATSON                   CA          49084022288
12776794661958   JOSE          ESTRADA                  CA          90009917946
12777576493745   DANIEL        TAMPLIN                  OH          90011085764
12777788757147   SERVELIO      MAGANA                   VA          90014717887
12778125161976   J             C                        CA          90012431251
12779845361972   DANIEL        GONZALES                 CA          90014928453
12782159633699   MARIA         SANCHEZ                  NC          90015131596
12783563333699   ASHLEY        MASHBURN                 NC          90013155633
12783693855948   HECTOR        PEREZ                    CA          49082506938
12784595191569   ROCIO         SOTO                     TX          90009005951
12784711661976   RUBEN         QUINTERO                 CA          90013717116
12784812691569   AMANDA        MOTA                     TX          90010698126
12786336191895   CASSANDRA     OPPERMAN                 OK          90015343361
12787453591573   RAUL          RIVERA                   TX          90014184535
12788537791569   CESAR         ENRIQUEZ                 TX          75040245377
12791337131687   JERRY         WILLIAMSON               KS          22098073371
12791362891569   LAURA         RODRIGUEZ                TX          90014903628
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12793566191895   GUYLA            SCHELLER              OK          21080545661
12794215661972   VIVIANA          MAGANA                CA          90015322156
12794611833699   GINGER           DIAZ                  NC          90014816118
12797817261976   ANNETTE          GUIDO                 CA          90004898172
12798296831687   ED               BENNETT               KS          90013812968
12799491161976   PERLA            PADILLA               CA          90011504911
12799912293745   DANIELLE         SULLENBERGER          OH          90014539122
12811711847956   KAREN            LAMBERT               AR          90013827118
12812696591569   JAVIER           GAMEROS               TX          90014626965
12812958291895   HOLLY            SHIMP                 OK          90011549582
12813447251337   CHARLES          KLEIN                 OH          90004904472
12815199561958   DELILA           SANCHEZ               CA          46065441995
12816696591569   JAVIER           GAMEROS               TX          90014626965
12816785593745   JEREMY           TOWE                  OH          90012367855
12817392831687   ARYENI           PAZ                   KS          90010923928
12818633561976   AIOTEST1         DONOTTOUCH            CA          90015116335
12818682957147   CHARLOTTE        UPRIGHT               VA          90013806829
12819315251337   MIKE             POWERS                OH          90010373152
12819665372435   MICHELE          BOLT                  PA          51037696653
12819675557555   CARA             FULLER                NM          90005426755
12823261831687   MIRANDA          DOVER                 KS          90014712618
12824368991263   MICHAEL          WEBB                  GA          90009513689
12824746561987   OSCAR            COVARRUBIAS           CA          46038227465
12825715257147   ORLANDO          VILLANUEVA            VA          81014487152
12826597651337   MARY             WHITLOW               OH          90012885976
12826987991895   CLAUDIA          ALVIZO                OK          90011549879
12827448551337   ANRMANDO         PENA-HUERTA           OH          66034274485
12827892277539   MARIA            GORDILLO              NV          90003838922
12829344651337   KENNETH          TROUTMAN              OH          66006953446
12831327891263   AMANDA           JOBIN                 GA          90010203278
12831391655976   MARIA            MONTEJANO             CA          90012353916
12834618661958   MARILYN M.       MCCASKEY              CA          90007196186
12835382261972   GALLEGO GARCIA   JORGE                 CA          90011533822
12835468857147   JOSE             PEREZ                 VA          81064154688
12835712855976   AMANDA           PALOMARES             CA          49038547128
12835857157192   JOSE             MERINO                VA          81046308571
12835977761976   LUIS             JUAREZ                CA          90003709777
12839928161976   MARY             NEWMAN                CA          90008689281
12841246531635   MICHAEL          GRACEY                KS          22027372465
12842156247956   SHANEN           TAYLOR                AR          90007821562
12842869477539   MARIA            CORREA QUINTERO       NV          43013008694
12843114961938   CESAR            AGUILAR               CA          90014981149
12843236485999   JOE              SPRATT                OH          90000102364
12844749661958   MICHAEL          BRUCE                 CA          90005797496
12845241455948   MARGARITO        MARTINEZ              CA          49072332414
12845866831687   TERESA           FITZGERALD            KS          90007518668
12848717631687   ALLEN            DICUS                 KS          22047427176
12851114831687   ALEJANDRA        SEGURA                KS          22000331148
12851923561958   ESMERALDA        MCCOMBS               CA          90013529235
12852584461976   ALEX             MEDINA                CA          90011195844
12854557291895   KELSEY           SMITH                 OK          90014475572
12856623693745   WILL             CISSNER               OH          90008566236
12856852361938   JUANA            CASTILLO              CA          46084958523
12856863731687   ROBERT           CRUZ                  KS          22089378637
12857719391895   ALEJANDRO        JIMENES               OK          90004907193
12858991231635   VICTORIA         BLISS                 KS          22017049912
12862212433699   RHONDA           PRATT                 NC          12061912124
12862982591263   CLANCEY          LLORENS               GA          14523989825
12863971193745   TYLER            NASH                  OH          64524729711
12863982391895   CHRISTOPHER      ROMERE                OK          90013009823
12864327891263   AMANDA           JOBIN                 GA          90010203278
12865357961972   JOSE             HERRERA               CA          90012493579
12865484791895   VICTORIA         HERNANDEZ             OK          90011664847
12867111847846   TASHA            MCGEE                 GA          90005811118
12867153877368   MOSES            DARKEY                 IL         90013331538
12868298161976   MARIA            DELOURDES             CA          90008372981
12868458493736   MARIBETH         GREENBERG             OH          90009634584
12869785455976   RICARDO          RUIZ                  CA          90013037854
12872425357147   JOSE             SANCHEZ               VA          90013924253
12872472791895   VALERIE          LINTHICUM             OK          90009194727
12872825991263   ASIA             WRIGHT                GA          90010878259
12873443993745   CASSIE           CURTIS                OH          90013944439
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12873773147956   CHRISTIE         SIGANOS               AR          24059577731
12876645257147   AZUCENA          GALLARDO              VA          90012936452
12877471661976   ASAPH            PIERRE                CA          90007414716
12879529561938   REYNA            SANCHEZ               CA          46082795295
12879624471976   NICOLE           ANSON                 CO          90007686244
12882159191895   ROBER            BIGPOND               OK          90011551591
12882333361972   LYNELLE          ANZALONE              CA          90013823333
12883492961958   OLIVERIO         AREVALO               CA          90013964929
12884238761937   JOSE             JAIME                 CA          90011552387
12884287855948   ALBERTO          CHAIDEZ               CA          49095422878
12884413461976   JOSE             ESQUIVER              CA          90011874134
12886357647956   VANESSA          MENDEZ                AR          90011223576
12886549557147   DANIEL           DIAZ                  VA          90014495495
12886817261938   JOSE             VANEGAS               CA          90000168172
12888273791895   ERIC             HARRIS                OK          90004912737
12888721793745   AMY              LOCKE                 OH          90014597217
12888781961976   YADIRA           TORRES                CA          90012047819
12889465147956   JUSTINA          JACKSON               AR          90014514651
12889813277539   JOSE             AGUILAR               NV          90003848132
12891198355976   CASSANDRA        NORMAN                CA          90013521983
12891219877539   KAREN            SILVERHARDT           NV          90000802198
12892261261972   SERGIO           MELGAREJO             CA          90014182612
12892683761958   LEONARDO         MARIAS                CA          90004236837
12892754461972   CARLOS           GALAN                 CA          90008797544
12893293531687   OSTINNER         MCCULLAR              KS          90014832935
12894113651337   KANDRA           RUFF                  OH          90014791136
12894793561976   EFREN            RUBIO                 CA          90013927935
12895691591569   ANA              MAYER                 TX          90012596915
12897199733699   SHONNELE         CAMPBELL              NC          90015331997
12897546355976   WYMAN            JOLLIFF               CA          90014525463
12898835191263   MACEO            WARNER                GA          90013148351
12898991457147   ADRIANA          APARICIO              VA          81054219914
12899154931635   CHRISTOPHE       JONES                 KS          22052461549
12899552191346   JOSE             ORTIZ                 KS          90007575521
12911825361976   ANGELICA         MONTES                CA          90007748253
12912716331687   ERIC             MANUEL                KS          90011457163
12912859433699   JOHN             SPENCER               NC          90014908594
12913711655976   LOURDES          FLOREZ                CA          49061627116
12915515291569   RICARDO JR       VASQUEZ               TX          90013765152
12915726161976   VALENTE MANUEL   CASTILLO              CA          90006827261
12918255455948   ESTELA           LOPEZ                 CA          90011812554
12918394857147   MILTON           HERRERA               VA          90013403948
12921248961972   KASSANDRA        MACIAS                CA          90010342489
12921486731687   DWIGHT           MEADOWS               KS          90011574867
12921596233699   KELLY            KNIGHT                NC          12092285962
12922637661938   BIBI             HERRERA               CA          46070656376
12922759191569   RAUL             HERNANDEZ             TX          75006027591
12923611661938   FINEST           SAMOAS                CA          90012926116
12923657951337   SHAY             DAVIS                 OH          90000476579
12924578133699   ASHLEY           RODRIGUEZ             NC          90013265781
12925176457147   JOSE             MAJANO                VA          90015141764
12925751361976   JUAN             GUEVARA               CA          90013057513
12926196161958   MARIA            SANCHEZ               CA          90014491961
12931967577539   ANDREA           WALSH                 NV          90003839675
12931999361976   MARGARITA        VILLANUEVA            CA          90002299993
12932358355948   MARIA            GUTIERREZ             CA          90011813583
12934591161976   JEFFERY          SMITH                 CA          90014415911
12935256557147   GILBERTO         ENAMORADO             VA          81091072565
12936338691569   CONCEPCION       NOE                   TX          90013803386
12937826391895   JOSEPH           SCARLATO              OK          90013018263
12941867191569   MARISOL          PUENTES               TX          90011938671
12943493855976   JENNA            BRANCO                CA          90015304938
12943667961958   JESSE            WEBB                  CA          90012416679
12943756693745   KIRSTINE         MURPHY                OH          90011967566
12944977155976   JESSI            GALIHER               CA          90011589771
12945627551337   RANDY            BRYSON                OH          90015226275
12948942655976   DELIA            ESQUEDA               CA          49019229426
12949542751337   BRENDA           VILLARREAL            OH          90004785427
12951889391895   BRAYDEN          FRENCH                OK          90015038893
12952511761958   CHAU             DUONG                 CA          90015155117
12952857831635   GEORGE           RAMEY                 KS          90009618578
12952967961938   SENGNY           CHEAN                 CA          90014719679
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12953583177539   YAJAIRA       MEDINA                   NV          90014425831
12954235831687   HENRY         KAPALATA                 KS          22003992358
12954361833699   BEVERLY       BARNES                   NC          12013813618
12954551661972   JOCELY        ARELLANO                 CA          90007665516
12955656491569   ERICKA        GRACIA                   TX          75091406564
12956596933699   ELIZABETH     HOLT                     NC          90011405969
12961976793745   GARY          SULLENBERGER             OH          90012649767
12962373731687   NATHAN        BLANCHARD                KS          90014463737
12962627355976   DORTANTES     LONA FRANCIA             CA          49085896273
12964395461976   BLANCA        ORTIZ                    CA          90003773954
12964411993745   AIMEE         HOWARD                   OH          90011154119
12964838755973   JUAN          CEJA                     CA          90011398387
12965511757147   KASSANDRA     RODAS VASQUEZ            VA          90012765117
12965561355948   RAY           MIXON                    CA          90011445613
12966843451337   MELODY        SOLOMON                  OH          90011128434
12968176633699   ELAINE        ANDERSON                 NC          90013281766
12968364155976   DARLENE       ZAPATA                   CA          90011063641
12968679951337   JORGE         BUGUENO                  OH          90013856799
12968967577539   ANDREA        WALSH                    NV          90003839675
12969483455948   LUCIA         GOMEZ                    CA          90005634834
12971229861972   ENEDINA       WADLEY                   CA          90012682298
12972321447956   JERRYL        MIMS                     AR          90014863214
12972837561976   MONICA        DUPLESSIS                CA          90007828375
12973458991569   CINDY         CHAVIRRA                 TX          90007894589
12974343855976   JEREMY        EDELBROCK                CA          49073713438
12976526357147   ELVIS         RIVERA                   VA          90005035263
12978183361958   MARIBEL       COLMENARES               CA          46006161833
12979961751337   LANDA         ELBAROSA                 OH          90004029617
12981365261972   MARIA         DE LEYVA                 CA          46005783652
12982276891899   ILENES        MURRAY                   OK          21066252768
12982344491569   ANTONIO       VALADEZ                  TX          90014413444
12982496261958   KIM           VOYLES                   CA          90010164962
12983699133699   CHRISTOPHER   HAWKS                    NC          90007666991
12983972131646   KRYSTAL       STUDYVIN                 KS          90012409721
12984778691895   KENT          YOUNG                    OK          21021347786
12984794751337   RIGOBERTO     RAYMUNDO                 OH          66065217947
12985237961972   MICHAEL       LOPEZ                    CA          46006332379
12985457731635   JOHNNY        HEIN                     KS          22017184577
12986256261968   ANGELICA      MOLINA                   CA          46094882562
12987946861938   VICTOR        SALGADO                  CA          90013039468
12988725731635   AMANDA J      AMALFITANO               KS          90005487257
12989183361958   MARIBEL       COLMENARES               CA          46006161833
12991466991569   JOEL          DIAZ                     TX          90009384669
12991822241455   SAVANNAH      ACOMGANATO               WI          90015598222
12991931261958   DENISE        QUARTERS                 CA          90013739312
12992166661958   JENNIFER      MILES                    CA          90012361666
12992439157147   ENRRIQUE      GOMEZ                    VA          90013924391
12992764633654   DAVARES       BURNETT                  NC          12011607646
12993458861958   ALEX          RODRIGUEZ                CA          46071504588
12993547433645   VEIDA         SMITH                    NC          12042585474
12995181885935   ANTHONY       TURNBOE                  KY          90000851818
12995797293745   PRESTON       STEPHENSON               OH          64567137972
12996291561958   ALBERTO       ALVAREZ                  CA          46064392915
12996713455948   EGAR          MAYA                     CA          90008827134
12997162655976   CHRISTINA     CONTRERAS                CA          49063321626
12997291257592   OREN          ROOT                     NM          90012882912
12997297293745   PAUL          STAFFORD                 OH          90008522972
12998489351337   RAE MONIQUE   DAVIS                    OH          90011034893
13112444891263   RAYMOND       MEDLOCK                  SC          14585074448
13114826157147   MAURICIO      HERNANDEZ                VA          81072118261
13116336631426   VINITA        MOORE                    MO          90008733366
13116811231687   TERRY         MARTIN                   KS          90006618112
13119164191263   JUSTO         REYES                    GA          90014821641
13119979331459   CYNTHIA       HAWKINS                  MO          27588129793
13121455793724   STEPHANIE     CONNER                   OH          90001544557
13123987361976   CHRISTIAN     BOJORQUEZ                CA          90012629873
13124918491263   LESLIE        LANGFORD                 GA          90012259184
13129858655948   PAO           GARCIA                   CA          90014478586
13131559455948   FERNANDO      VELASQUEZ                CA          49033785594
13132246161976   CRISTAL       CORONADO                 CA          90006332461
13132591151337   ELIJAH        BYNDON                   OH          90013505911
13134191891895   MIEYAKA       BLOCKER                  OK          90003411918
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13134444493783   MALIA          LEWIS                   OH          90007824444
13134738155976   SHER           VANG                    CA          90012907381
13136126351337   COREY TAYLOR   CONLEY                  OH          90013651263
13136787661958   AARON          LOPEZ                   CA          46009187876
13137689891895   DIANE          DAVIS                   OK          90008946898
13141857355948   SEFERINO       GUTIERREZ               CA          90000358573
13142794591895   EDGAR          VIERA                   OK          90014517945
13143418955948   CELSO          GONZALES                CA          90013954189
13143444457145   SANTOS         VILLANUEVA              VA          90000354444
13143559547956   HEATHER        CHATMAN                 AR          90013685595
13145592491895   ANDREA         MUSKRAT                 OK          90002115924
13147279191895   MARIA          ORTIZ                   OK          90013402791
13147622955948   VICTOR         PEREZ                   CA          90005046229
13152634861976   AIOTEST1       DONOTTOUCH              CA          90015116348
13153479191569   JESUS          SALAZAR                 TX          90013444791
13153939591569   JESUS          SALAZAR                 TX          90014329395
13154528984327   JASON          GRAY                    SC          19001345289
13157578491569   JUAN           MURO                    TX          75069285784
13158221751357   DESIREE        RODRIGUEZ               OH          66007902217
13162976191569   JESUS          GUILLEN                 TX          75037239761
13163324861976   DEVEN          MCCRAY                  CA          90013153248
13163388961958   MARTIN         RAMIREZ                 CA          46013823889
13166584247956   JESSICA        ESTES                   AR          24083635842
13171917161958   ERICK          ALANIZ                  CA          90013489171
13172716351337   TIMOTHY        HENSCHEN                OH          90009977163
13176132361976   CHRISTIAN      MORALES                 CA          90009161323
13176716351337   TIMOTHY        HENSCHEN                OH          90009977163
13177347691895   LEANNA         HAMMON                  OK          21006843476
13179754793725   NYISHA         HOLT                    OH          90008177547
13181745747832   ALETHA         HOOKS                   GA          90012917457
13181918991895   JASMINE        CARR                    OK          21004199189
13182126351337   COREY TAYLOR   CONLEY                  OH          90013651263
13182827591569   VILMA          MACIAS                  TX          90012808275
13183735561997   DONALD         ENGLISH                 CA          90014357355
13186644561938   KEKOA          HASLOP                  CA          90014826445
13186997947956   BRYAN          DAVIS                   AR          90002609979
13187371561976   PIMALY         VALENZUELA              CA          90013463715
13187618191569   LUZ            GUERRA                  TX          75050726181
13189715193758   CHARLES        CALDWELL                OH          90001677151
13189854661976   MARI           CAMARENA                CA          90011748546
13191273155948   DOLORES        RUVALCABA               CA          90011572731
13193534147956   LATOYA         FISHER                  AR          24055885341
13193558151337   CARL           CHARLES                 OH          66028295581
13193648857147   JASMINE        FRANCIA                 VA          90011066488
13196728757147   JOSEPH         BROWN                   VA          90013807287
13196985791895   STACEY         SANDERS                 OK          90010489857
13197133661958   ROBERT         TURNER                  CA          90014551336
13198577691263   LADERICK       GROOVER                 GA          14590535776
13214859555948   AGUILERA       JESSICA                 CA          90008458595
13214861241455   EVERETT        DEVORE                  WI          90013858612
13215177161976   OMAR           QUEZADA                 CA          46076991771
13215636461959   LUIS           LOPEZ                   CA          90014166364
13217282791586   REBECCA        CARDONA                 TX          90008442827
13218223671937   HEATHER        MUNDT                   CO          90011822236
13219342661938   JANETH         OJEDA                   CA          90014753426
13224434157147   TRANELL        JOHNSON                 DC          90006844341
13225998431967   JILVONE        WATTS                   IA          90014409984
13227948361958   BENJAMIN       CALDERON                CA          46008609483
13231415961938   EVA            ESTRADA                 CA          90000134159
13231518844353   ANTHONY        BROWN                   MD          90011105188
13232449455968   RALPH          GRAHAM III              CA          49086324494
13232695455948   VALERY         ARAGON                  CA          49041166954
13232857926266   BRYAN          HELGEART                WI          90015558579
13237585255948   MARISOL        GONZALEZ                CA          90013115852
13238191991524   MELISSA        CARDENAS                TX          90011591919
13238213955976   LILLIAN        JONES                   CA          49038642139
13238281397127   LISA           CRAWFORD                OR          44506002813
13238957672435   TERRIE         JOHNSTON                PA          51092289576
13239554461958   VANESSA        LORENZO                 CA          90014655544
13239959957147   BLANCA         RUIZ                    VA          81025059599
13241873571965   JAMES          GREEN                   CO          90007428735
13241878861938   DAVID          RODRIGUEZ               CA          90005568788
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13242472455976   VIDAL                  SANTOS           CA         90013844724
13244242161958   ARTURO GERARDO         HERNANDEZ        CA         90015312421
13244361257147   BRIE                   GRAY             VA         90014723612
13244875991895   TABITHA                LAPOINTE         OK         90002388759
13246483177535   GENENE                 DUCA             NV         90013234831
13248114861938   SERGIO                 HERNANDEZ        CA         90013011148
13248834455987   RAFAEL                 TIXTA            CA         90012818344
13248925561958   CINDY                  VICKERS          CA         90008909255
13251345455948   AZALIA                 SANTOS           CA         90014443454
13254972391977   BENNIE                 DUNLAP           NC         17030769723
13255746691895   CA                     HEALY            OK         90008727466
13256116661938   ROSEMARIE              CAROLINO         CA         90013011166
13256185447956   DARRICK                CHURCH           AR         90014081854
13256411847956   DEIDRA                 THOMAS           AR         90005604118
13256987755976   JOYCE                  LOPEZ            CA         90014659877
13257139957147   WALTER                 MORALES          VA         90002981399
13257738955976   MARGARET               MAM              CA         90012907389
13259149361958   KENDRA                 CARMICHAEL       CA         90013921493
13259683357122   ALICIA                 LLEWELLYN        VA         90003916833
13259787781665   JOHN                   HARNESS          KS         90014347877
13263984761976   SHANICE                EDWARDS          CA         90007569847
13264256651337   STEPHEN                LANHAM           OH         90013152566
13265177231635   GARY                   SKINNER          KS         22092211772
13265337726266   PAYGO                  IVR ACTIVATION   WI         90004533377
13268115147956   DENISE                 THOMPSON         AR         90014091151
13268525861958   MIROSLAVA              FUENTES          CA         90009885258
13269293955976   SHELLY                 SIMS             CA         90009662939
13271268661938   LAURA                  FLORES           CA         90010872686
13271413591569   MAYANIN                FLORES           TX         90015194135
13271642861958   ADRIANA                MACIAS           CA         90011886428
13272297791569   RAUL                   URENA            TX         75006562977
13273112455976   SARA                   SOTO             CA         49088011124
13273526557125   JANNETH                CASTELLON        VA         81036865265
13274486455948   JUAN E                 LOPEZ            CA         90010864864
13278677555948   JUAN                   RODRIGUEZ        CA         49009076775
13279393691263   DANNY                  FIELDS           GA         90015263936
13279863361976   MIGUEL                 SANCHEZ          CA         90014498633
13279969951337   BART                   SWIHART          OH         66005909699
13282732661976   GULLERMO               DIAZ             CA         90013047326
13283614961968   MANUEL                 RICO             CA         46013596149
13284644855976   ELIAS                  BARAJAS          CA         90014156448
13286113355976   MARICELA               VASQUEZ          CA         49083211133
13286528357147   RAFAEL                 SOSA             VA         90014875283
13287855455948   ANDREA                 CALDERON         CA         90011578554
13288415231635   JOHNNY AND KIMBERLEE   DEARING          KS         90012844152
13289363791263   FARETI                 SAVEA            GA         90008733637
13291381455987   LIBBY                  RIVERA           CA         49054173814
13292367557125   LISET                  MISQUERO         VA         90008773675
13294725891569   BRENDA                 SOLIS            TX         75085637258
13294844591967   HOLLIE                 ESTES            NC         90000958445
13295242291569   FRANCISCO              VALLEJO          TX         90012142422
13295328155948   CASSANDRA              PEREZ            CA         90014733281
13297279155948   CHRISTOPHER PAUL       DAVIS            CA         90014722791
13298427431635   BREANNA                ENGEL            KS         90005594274
13299876961976   GRACIELA               MUNOZ            CA         90014518769
13311914561976   GRACE                  REYES            CA         46022669145
13312826851337   MAUREEN                GREEN            OH         66064828268
13313368191569   KARINA                 DE SANTIAGO      TX         90013093681
13313448161976   JOSUE                  BARRADAS         CA         90013624481
13313465472435   JUSTIN                 MORELLI          PA         51064834654
13314246684375   MICHELLE               SPIRES           SC         90002292466
13318597391569   JOHNNIE                SANCHEZ          TX         90014855973
13321599691569   ANA                    ARMENDARIZ       TX         90014045996
13321669733699   LATOYA                 BAKER            NC         90001436697
13322717151337   CHIFFON                RACHEL           OH         90011607171
13326296191263   DENNIS                 LEGG             GA         90012842961
13326456551337   CHALANDA               MARSHALL         OH         66034254565
13326812255976   KEVIN                  GREEN            CA         90003918122
13328534847956   MARINA                 DOMINGUEZ        AR         90006045348
13331172147956   ROGELIO                SANCHEZ          AR         90014411721
13332333347956   OSCAR                  REVELES          AR         90009803333
13332935385836   BRIAN                  CUNNINGHAM       CA         90005089353
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13333115557562   NOE          CARRILLO                  NM          90012371155
13335877555976   ASHLIE       OCHOA                     CA          49097298775
13338798547956   SHELIA       SALAS                     AR          24051757985
13343245991263   LAKISHA      MIDDLETON                 GA          90009832459
13343714661958   DIANA        GUERRERO                  CA          90013827146
13344493847956   JOHN         MCMELLON                  AR          24010034938
13344542655976   ADAM         RUIZ                      CA          90008645426
13346963261958   DWIGHT       NORRIS                    CA          46054749632
13347628251337   KEYAJAH      MCCALL                    OH          90014886282
13348686451337   EARL         FOWER                     OH          66045546864
13348724161938   NOHELY       SANDOVAL                  CA          90010547241
13352619461938   JOSE         RODRIQUEZ                 CA          90005516194
13355233651337   NATASHA      BOWLING                   OH          90010942336
13355469661938   ROSA         ZELAYA                    CA          90000554696
13356922591263   JULIA        JOHNSON                   GA          90014809225
13358412661976   WALDINA      CLAROS                    CA          46022424126
13358465755976   MARIA GUAD   RAMOS                     CA          49075594657
13359399151337   THERSA       BOATRITE                  OH          90008533991
13361545191895   CAPTORIA     KING                      OK          90014155451
13361761344353   CYNTHIA      LENTZ                     MD          90010557613
13362463851337   ANNERYZ      PEREZ                     OH          90013784638
13362487355976   ERIC         MONTIJO                   CA          49097544873
13364934431635   DAMARIA      MURDOCK                   KS          22062059344
13368555857147   ALICIA       CABRERA                   VA          81057095558
13368558991927   JOSEPHINE    BARAUNI                   NC          90013515589
13371428261938   SONIA        VALENCIA                  CA          90014184282
13371633791526   MARGIE       LOPEZ                     TX          90011376337
13372967147956   PERRY        MATTHEW                   AR          90008549671
13375796747956   MARVIN       HAMILTON                  AR          24018507967
13376822291569   IRMA         LOPEZ                     TX          75051758222
13377115791263   ILSE         ABARCA                    GA          90014631157
13377225491895   LUCAS        DURRANCE                  OK          90014812254
13377693847956   DIAMOND      REDDEN                    AR          90008006938
13377851655976   REGINALD     JOHNSON                   CA          90012648516
13379329255948   VICTORIA     GONZALEZ                  CA          90015243292
13379481284375   TANYA        HOUSTON                   SC          90002074812
13382433461938   ELVIRA       SUAREZ                    CA          90013024334
13383176155976   LUCIANO      RODRIGUEZ                 CA          90012161761
13383595831687   MONICA       MARTINEZ                  KS          90010275958
13384257691569   VERONICA     HERNANDEZ                 TX          90008492576
13385348644353   RHUEL        GIBSON                    MD          90001643486
13385971155976   JOSH         MAYER                     CA          90011889711
13389533293732   ANTHONY      ANDREWS                   OH          90007645332
13389641731687   GARRETT      ROLAND                    KS          22064096417
13391359631635   BETTY        VINSON                    KS          90000913596
13391921954122   DEBI         DARCY                     OR          47093609219
13392169291569   DENNISE      ROSALES                   TX          90012131692
13392343947956   STEPHANIE    HEATH                     AR          90011073439
13394169291569   DENNISE      ROSALES                   TX          90012131692
13394991357147   GODWIN       ARKRAH                    VA          90000349913
13399261161976   CLAUDIA      MORALES                   CA          46001622611
13399971491895   NYREE        DAWN                      OK          90011009714
13413361855976   KENNETH      BORGES                    CA          90013963618
13413581793725   ANGEL        WRIGHT                    OH          90014985817
13415412955976   CYNTHIA      GOMEZ                     CA          90003444129
13415834961958   NATHALIE     MUNOZ                     CA          90014958349
13416719791899   ANGELA       ABEL                      OK          21040777197
13416873355948   ALBERTO      VEGA                      CA          90013388733
13423396161938   CESAR        LOPEZ                     CA          46078213961
13424875461992   GEORGINA     ORTEGA                    CA          90010548754
13425346855948   RUTILIO      ZARAGOZA                  CA          90010313468
13426621147956   ROCKY        REXWINKLE                 AR          90015156211
13429443557147   SABRINA      TRUSLOW                   VA          90004244435
13429938591895   NANG         MUNG                      OK          90015149385
13432133961958   RICARDO      MEDINA                    CA          90014551339
13432823291396   LAURA        RAMIREZ                   KS          90001928232
13433718555948   RAMON        FLORES                    CA          90013047185
13434183991263   MARHTA       NEWTON                    GA          14586411839
13435119855968   KONG         HAM                       CA          90011471198
13435339493727   LARRY        HAMLETT                   OH          90005823394
13436361261976   KALEE        RASMUSSEN                 CA          90013453612
13438244551357   SHANTE       HORNE                     OH          90013942445
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13439215151337   MILDRED            BYRD                OH          66001902151
13439326861958   MANUEL             GARCIA              CA          46008683268
13443286791569   CORONELL           ROBERT              TX          90008492867
13443891547956   ALEXANDRIA         FORD                OK          90012918915
13444176255948   HILDA              LOPEZ               CA          49019281762
13445361257147   BRIE               GRAY                VA          90014723612
13446977151337   LATOYA             TOMAS               OH          90010169771
13451824493724   DOMINIQUE          MINEAL              OH          90008668244
13452688755948   ADRIANA            SALAS               CA          90013286887
13453716657147   ABDUL              KARIM KAMARA        VA          81079837166
13454876891569   MIKE               GARCIA              TX          90012428768
13458476847956   JUSTIN             LIVINGSTON          AR          90013524768
13458639357147   ISAIS              ORTEGA              VA          90011966393
13458829591573   ROBERTO            ESCOBEDO            TX          90001258295
13461213261976   MONICA             IROZ                CA          90014892132
13462688791925   KEISHA             LEACH               NC          17097536887
13462714131646   JOSH               ANDERSON            KS          90013867141
13464245691569   RAUL               RAMIREZ             TX          90014672456
13465286231687   MICHELE            HARLAND             KS          90008012862
13465599755948   JOSE               CONTRERAS           CA          90008925997
13466613933649   KAITLIN            SHEPPARD            NC          90012936139
13466837657147   ERICK              MARTINEZ            VA          90012198376
13467783661958   ROCIO              BALLINAS UTRILLA    CA          90012027836
13468271755948   DAVID              JIMENEZ             CA          90012232717
13468571351337   ANGEL              GALLEGOS            OH          90014175713
13469519261958   NEAL               TUOMI               CA          90015325192
13469649161976   MARIA              DEL CARMEN          CA          90012246491
13469984757579   LEROY              SALINAS             NM          90015119847
13471537191549   ZELTZIN            TAPIA               TX          90011525371
13475161651337   JULIO              CRISTOBAL           OH          66004621616
13475346891895   MELISSA            ALCALA              OK          21055183468
13476941955948   BRYON              HAZELTON            CA          90015169419
13478561755948   MARVIN             ALFARO              CA          90003605617
13478882991569   VERONICA           CORONA              TX          90009578829
13479457747956   AVERY              CARTER              AR          24032094577
13481834861938   SAYSAMONE          NARONG              CA          46001088348
13482152755976   RHIANNON           ROSE                CA          90013111527
13482311861976   GELISA             STORY               CA          90012963118
13483382691578   JULIO              ARROYO              TX          90002683826
13484254847956   REVAE              BULLOCK             AR          24062422548
13485288691569   JESSICA            CARRILLO            NM          75079742886
13485587755933   AMANDA             HUGHES              CA          90004395877
13486632961938   BRANDELIA          BONILLA             CA          90013076329
13489659691263   JESSICA            HARRIS              GA          90014836596
13489673561925   TRAVIS             KETELSEN            CA          90013796735
13489951185823   DEANNA             MCGOUGH             CA          46015309511
13491525591895   SEBASTIAN          HAROS               OK          90012735255
13492294491895   AMBERLISA          TYLER               OK          90008112944
13493366655934   REINA              SALDANO             CA          90005343666
13494266131687   AVA                GAYDEN              KS          90014862661
13497444355948   DAVID              BROOKS              CA          49065854443
13498421355976   SILVIA             LOPEZ               CA          90015314213
13498455447956   ASHLEY             NICHOLE             AR          90011454554
13511991161938   MARIA DEL CARMEN   SERRANO             CA          90009729911
13514686991895   ERIC               FRANKS              OK          90009856869
13516399757147   CINDY              MCCOY               VA          81057313997
13516572555948   LUIS               FIERROS             CA          90013645725
13517288591895   TIFFANY            SMITH               OK          90013172885
13519319791895   KAY                ROBISON             OK          90010383197
13519448247956   JOSE               SALDANA             AR          90008864482
13519451347956   BEATRIZ            ROQUE               AR          90014944513
13519887561958   KEITH              YOUNG               CA          90010968875
13521357961938   JOHNEY             PINEDA              CA          90013893579
13522147447956   COETTA             FISHER              AR          90002201474
13524583731687   HELEN              BEASLEY             KS          90012515837
13525285443588   KHRISTINA          CHANROUN            UT          90001802854
13525835391895   LEYDIANA           GARCIA              OK          90011618353
13525965361958   JOSE               VAZQUEZ             CA          90012769653
13525968891895   SHIANNA            BLALOCK             OK          90013219688
13526256391398   JP                 CONSTRUCTION        KS          90010982563
13526733255976   LENG               VANG                CA          49005017332
13527471161938   SUMMER             SALOUFAKOS          CA          46065714711
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13527634561976   AIOTEST1      DONOTTOUCH               CA          90015116345
13529194791263   CHRISTINA     SANTIAGO                 GA          90011021947
13529659357147   TISHIA        RECTOR                   VA          90010846593
13532758955948   ISABEL        CORTES                   CA          90014467589
13533439191895   ELISHA        ALLEN                    OK          21058914391
13533455447956   ASHLEY        NICHOLE                  AR          90011454554
13534665291569   MANUEL        SALAS                    TX          75017936652
13537661961958   JORGE         PEREZ                    CA          46069986619
13538621455976   JOSE          JIMENEZ                  CA          90012126214
13541876351337   AMITY         WORLEY                   OH          90009568763
13542644855976   AIOTEST1      DONOTTOUCH               CA          90015116448
13542697561938   SEDRICK       NTWALI                   CA          90013076975
13544732761958   LUIS          TOLENTINO                CA          46006827327
13546214991569   FRANK         GOMEZ                    TX          90013332149
13547617771927   ALEXANDER     HILL                     CO          32014236177
13548715261938   JULIO         OROZCO                   CA          90013077152
13548777861976   ANIZA         MORGA                    CA          90005077778
13548787291573   RICHARD       KUNARD                   TX          90008027872
13548872755976   LUIS          SALAZAR                  CA          90006028727
13549543455974   ELIZABETH     VARGAS                   CA          90001175434
13551867561938   MARIA         GOMEZ                    CA          46041198675
13552774561958   AGUSTIN       AVILA                    CA          90013627745
13552793761976   VICTOR        HERNANDEZ                CA          90013097937
13552929761938   LUPEE         RAMIREZ                  CA          90008449297
13553349655948   REBECCA       RODRIGUEZ                CA          90011623496
13554128561976   CESAR         VAZCONES                 CA          90012131285
13557948155976   RICARDO       GONZALEZ                 CA          90011739481
13558726161938   ANTHONY       ALVAREZ                  CA          90013077261
13561596951337   JOE           FROST                    OH          90013605969
13562844561958   JESUS         ROMERO                   CA          46058658445
13562914847938   LELA          MACIAS                   AR          90012929148
13563975155976   GILBERT       TORRES                   CA          49004319751
13564934231967   ROBERT        THOMSON                  IA          90013869342
13565868461958   CAROLINA      ALVARADO                 CA          90007828684
13566433457147   AFAF          MORGAN                   VA          90010264334
13567776751337   ESTHER        ESEKWEN                  OH          90014717767
13567992131465   DENNIS        BOEHLE                   MO          27579349921
13568136555948   ISMAEL        VILLAGOMEZ               CA          90012481365
13568376651337   STEPHANIE     GREGORY                  OH          90012143766
13569724647956   CATHY         HUBBARD                  AR          24068017246
13569768431687   TODD          DEWEY                    KS          90010267684
13571872155948   TONI          RODRIGUEZ                CA          49001378721
13572572593754   CHRISTOPHER   LESLEY                   OH          90010715725
13573648491895   BRANDON       MCANALLY                 OK          90012146484
13573767257147   ROMEO         RAMOS                    VA          90009677672
13575525891263   NATHANIEL     WRIGHT                   SC          90011495258
13581146357147   KEVIN         MARTIN                   VA          81084811463
13581229547956   JAMES         DAY                      AR          24074602295
13582623255976   RIDDLE        MALISSA                  CA          49046546232
13583761461938   JULIO         AGUILERA                 CA          90013077614
13584148857147   ISABEL        FLORES                   VA          90007731488
13585326261976   FELIPE        OSORIO                   CA          90001973262
13586271355948   JOCELYN       IBANEZ                   CA          90014902713
13586519831687   ANA           MARIA RODRIGUEZ          KS          90008015198
13588417891569   MANDI         MARQUEZ                  TX          90013434178
13588522157147   ONE           KHAMPHILA                VA          90015125221
13589358791569   RAMON         LUJAN                    TX          90012613587
13591918461958   PEDRO         SANCHEZ                  CA          90005199184
13594779391569   IRENE         FLORES                   TX          75017597793
13595978961976   ELMER         MARTINEZ                 CA          90013169789
13596993161976   SHERRY        BORRAYO                  CA          90014949931
13597595393754   DAN           ALCORN                   OH          90008365953
13597942791952   MARK          KEZIAH                   NC          90012309427
13598279955948   JORGE         AVALOS                   CA          49050772799
13611969991569   ANA           HORTA                    TX          90013799699
13612567491895   THERESA       DAVIS                    OK          90009785674
13613814455948   GEORGE        BARRIGA                  CA          90014928144
13616664961976   SERGIO        GOMEZ                    CA          90009376649
13618648991838   FRANCISCO     BARBOSA                  OK          21024346489
13618736551337   JESSICA       BARTH                    OH          90000607365
13619162547956   CORENE        CLIFTON                  AR          90013271625
13619213761938   AIMEE         LYNN                     CA          90014672137
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13621398491984   JOEL         SOLIS                     NC          90007243984
13623264155948   RICK         GALVAN                    CA          49050022641
13623925947956   KENNETH      ROBINSON                  AR          90014359259
13624221261938   THEO         MCCLAIN                   CA          90001732212
13627414591569   LORENA       GARAY ACOSTA              TX          90001474145
13629938561958   GARCIA       ANAHI                     CA          90011769385
13632381761958   NANCY        BALCAZAR                  CA          90009743817
13633145491263   SHELIA       SMALLS                    GA          14582801454
13633832361976   JAVIER       VELAZQUEZ                 CA          90013358323
13634845861976   JONNY        SALAS                     CA          90001378458
13635528531635   ANNA         NEWPORT                   KS          22028935285
13637319491895   JACKIE       SVITAK                    OK          90011873194
13637748431635   MICHAEL      DICKENS                   KS          22028207484
13639117147956   ISRAEL       PALMA                     AR          24055011171
13641839261976   JOSEPHINE    ARVISO                    CA          90014628392
13641951661976   JUAN         CASTILLO                  CA          90012289516
13642921761993   LOUIS        THOMAS                    CA          90013429217
13643473661958   CHASE        HEIDEBUR                  CA          90011884736
13646244161938   CHARMAGNE    JONES                     CA          46065602441
13646572161976   DIANA        CERVANTES                 CA          90013055721
13647535271929   BARBARA      PEPPER                    CO          32020685352
13647835547956   MARTHA       MORENO                    AR          24092808355
13648597644353   FRANCES      SPEARS                    MD          90015485976
13648639755976   MARY         YOUNG                     CA          90013346397
13649566851357   BRANDON      SPICER                    OH          90013295668
13651725755976   SAMUEL       RAMIREZ                   CA          90014457257
13652416851337   CHARLES      DOUGHTY                   OH          90000364168
13655523761976   LAURA        COLLINS                   CA          90011655237
13655797491263   TKEYAH       HADLEY                    GA          90010947974
13656448661938   GLORIA       GANDARILLA                CA          46012464486
13656538961976   HEYDI        MARQUEZ                   CA          90014185389
13656682355948   BETSY        TORRERO                   CA          90014996823
13657682357147   MIRNA        ROMERO                    VA          90014476823
13658171461936   BERTHA       LEON                      CA          90014871714
13658743972459   RACHEL       KLINK                     PA          90011857439
13659813661958   CASEY        RAHUBA                    CA          90009918136
13661527791569   GREG         OGAZ                      TX          90013965277
13661657361976   CHRISTIAN    GARCIA                    CA          90014996573
13664835361976   JESSICA      RODRIGUEZ                 CA          90013358353
13665214491263   QUENTIN      BROWN                     GA          90014872144
13665388661938   MARIA        CASTRO                    CA          90013893886
13665778991569   EDGAR        MARTINEZ                  TX          90015097789
13666767985962   MARK         SEARS                     KY          67004727679
13669523397127   EVA          RAMIREZ CARDENAS          OR          90012585233
13672145561938   RENEE        FAUBION                   CA          46076721455
13672523255948   JAMES        BURCH                     CA          90010195232
13672938661976   DANIELLE     LOPEZ                     CA          90011619386
13672961461958   ELIAS        LEDEZMA                   CA          46077349614
13673936461979   BRIAN        POPE                      CA          90008219364
13674272961958   EVERTA       TOWNSEND                  CA          90012522729
13675448251337   IGNACIO      RAMIREZ-RODRIQUEZ         OH          90014034482
13677378147956   MARIA        CIFUENTES                 AR          90011003781
13678972391895   MICHELLE     KOSCHESKI                 OK          90014339723
13681747891569   RUBINA       MURTAZA                   TX          90014877478
13683391855948   ALEJANDRO    RUIZ                      CA          90014763918
13683488555948   JOSE         CASTRO                    CA          90014734885
13684587791569   LEONARDO     LUGO                      TX          75057255877
13684944447956   JAMES        CRIPPEN                   AR          90014069444
13685675647956   FRANCISCO    TRIGUERO                  AR          90012916756
13686448647956   DEMECA       LEWIS                     AR          90014294486
13688979555976   KULOW        RUBY                      CA          49093669795
13689415661976   ERNEWSTINA   STAPLETON                 CA          90014614156
13689597691569   CUEVAS       GISELA C                  TX          90004325976
13689848451337   KELLY        ELLIS                     OH          66037118484
13691878891569   CHRISTINA    DE LA ROSA                TX          90015188788
13693389491895   SHALANE      CURRY                     OK          21020823894
13694171857147   KALALE       GOBENA                    VA          90007341718
13694696595633   LUZ          ARGENTINA FRANCO          VA          79062796965
13695124791899   BRANDY       WILLIAMS                  OK          21082301247
13695857261958   LUZ          DIAZ                      CA          46081168572
13696281491263   DABNEY       SMALLS                    GA          90014862814
13698928491263   LYANNETTE    LINDSAY                   GA          90010879284
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13698976591263   JEANETTE     MINOR                     GA          90013689765
13699693755948   ARACCELI     SOLLIS                    CA          49003996937
13699833847956   JENNIFER     RELEFORD                  AR          90007408338
13713263855948   ROSA         RAMOS                     CA          90013342638
13713427461958   JUAN         MARTINEZ                  CA          46022754274
13718638351358   TROY         LINTON                    KY          90012286383
13721671247956   DANIELLE     RELEFORD                  AR          90008766712
13721841555976   MAI HLEE     VANG                      CA          90014898415
13722715461958   ANA          ARDUNA                    CA          90010107154
13722939886455   ALEX         ZAVALA                    SC          90015309398
13723439555976   JAMES        YANG                      CA          90007084395
13725773451337   KENDALL      STULTZ                    OH          90012127734
13726148191895   EDIE         SULLIVAN                  OK          90009351481
13727453857557   CARLOS       CARMONA-PALACIOS          NM          90009484538
13727888391569   MICHAEL      CHARTER                   TX          90000928883
13728679991263   KENNETH      PARKER                    GA          90012096799
13733283791895   KYLE         CAMBELL                   OK          90012952837
13734914391895   ANGELA       CHRISTIAN                 OK          90009249143
13735269955948   ESTHER       REYES                     CA          90015222699
13735823651337   MELVINA      POUNDS                    OH          66082158236
13738144855976   ZENON        CORONADO                  CA          49005411448
13738739191569   ARACELI      DELGADO                   TX          75041267391
13739424591895   AUDIE        GRAVES                    OK          90014694245
13739552761938   MIRIAM       RUELAS                    CA          90009925527
13739731891569   CIINDY       GOMEZ                     TX          75088737318
13741117961944   PAUL         PRUITT                    CA          90009031179
13745372991569   RUBEN        HERNANDEZ                 TX          75017993729
13745812661958   NANCY        RITTENBERG                CA          46008828126
13745865655976   MERIAH       CALERON                   CA          90013708656
13746667455976   LISA         GARCIA                    CA          90005366674
13746668261938   JESUS        CESAR                     CA          90002236682
13747663691569   WENDY        HERNANDEZ                 TX          90012176636
13748877191895   JOSIEL       JOHNATAN                  OK          21009098771
13749745655948   ADAN         CHAVEZ                    CA          90012877456
13752532555948   MARCELO      DELGADO                   CA          90013085325
13752869747956   EDUARDO      DIAZ                      AR          24073128697
13754457261976   SERGIO       LOPEZ                     CA          90011624572
13756986147956   CRAIG        MCBRIDE                   AR          24090539861
13761381161958   HELLO        KITTY                     CA          46041583811
13761627761976   LAURA        CUARENTA                  CA          90013646277
13763172457147   SALVADOR     SERRIDOS                  VA          90015271724
13766835131687   DAVID        MITCHELL                  KS          22001708351
13768926631687   MARTHA       HERNANDEZ                 KS          22031599266
13769255361976   EVELYN       LOPEZ                     CA          90014942553
13771979655976   JAZMIN       IRENE SOTO                CA          49049729796
13771993161976   SHERRY       BORRAYO                   CA          90014949931
13772129531943   JENNIFER     EVERETT                   IA          90014301295
13772656951337   YEDNI        MONTES                    OH          90011326569
13772989661958   GEBREHIWOT   BESTA HAIHU               CA          90007569896
13773391161958   YOISSE       SORIANO                   CA          46044293911
13774486491569   GEORGE       ESSENBERG                 TX          90008884864
13774888461938   MARIA        DEL PILAR                 CA          46065228884
13775934161976   ADOLFO       YEE                       CA          90008229341
13779979561976   OCTAVIO      LOAIZA                    CA          90012889795
13781334957147   TIMOTHY      PRICE                     VA          90003373349
13781486747956   OFNI         MORALES CANO              AR          90008764867
13781647691569   MICHAEL      ESCOBAR                   TX          90008786476
13782552558535   GABRIEL      GRANDERSON                NY          90003705525
13785435561958   OLYMPIA      SERRANO                   CA          90002324355
13785923851337   THOMAS       SOUTHARD                  OH          90010169238
13788684257122   ADELA        GOMEZ                     VA          81009666842
13791494547956   MATTHEW      LEPHIEW                   AR          90009734945
13791919555976   LISA         VASQUEZ                   CA          90014779195
13792138691263   SHAVELLA     MAXWELL                   GA          90012881386
13792489491569   JAVIER       HERNANDEZ                 TX          90012184894
13792618755976   ANABELL      BETANCURT                 CA          90000866187
13793476191263   WILLIAM      HUNT                      GA          90012774761
13794821357147   MAURA        LAZO                      VA          90014478213
13796299561968   GOMEZZ       DRODOLFO                  CA          46016412995
13796562361938   ELIZABETH    GUZMAN                    CA          46037615623
13797448191895   TINA         GARRETT                   OK          90011374481
13797675461938   JULIE        ROBERTS                   CA          90013206754
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13799813561938   JUAN         RODRIGUEZ                 CA          46059358135
13814191955976   ANTHONY      LOWRY                     CA          90014451919
13816911855948   MAYRA        CHIA                      CA          49012499118
13818367155976   MICHAEL      PARKS                     CA          49026453671
13821121491569   ISELA        WILLIAMS                  TX          75097131214
13823194161958   ROBYN        BROOKS                    CA          46096781941
13827866751337   BOBBIE       BOLEN                     OH          66039718667
13828518157147   MICHAEL H    NISSLEY                   VA          90012385181
13829778557147   ANA          NIETO                     VA          81027507785
13833934955948   MARIA        GRANDADOS                 CA          90012949349
13834967791895   BRENA        LEWIS                     OK          90009249677
13836263255948   MARIA        GUERRERO                  CA          49041312632
13837632357147   JAMAL        WALKER                    DC          90012336323
13837686657147   CRICKET      CRICKET                   VA          90012356866
13837811557147   MARIO        CARRANZA                  VA          90015208115
13838866147956   RANDY        REBRICK                   AR          24036748661
13839541461976   EDITH        VICTORIA                  CA          90000935414
13842353677522   JAIME        VIVAR                     NV          43009793536
13843863757147   DENNIS       WHEATON                   VA          90014478637
13844392791569   LAKESIA      JOHNSON                   TX          90014933927
13845698555976   RIMFA        SENGSIRI                  CA          90012686985
13846782751337   LITA         RETTINGER                 OH          90014877827
13847126257147   COCHE        THORNTON                  DC          90014811262
13847477651337   LYNN         JENSEN                    OH          66010984776
13847562491895   ERICA        GAHAGAN                   OK          21088135624
13847614551337   REBECCA      JENSEN                    OH          90013706145
13848229861938   ERIKA        RAMIREZ                   CA          90014672298
13852348361976   JERRY        CASTRO                    CA          90012853483
13853577491549   JOSE         GOMEZ                     TX          75009605774
13857764191263   JAMES        BROWN                     GA          14570627641
13861316561976   KARLA        BECERRA                   CA          90013083165
13862666891263   CHANDRA      BROWN                     GA          90014606668
13865757251337   SALLY        STEWART                   OH          90002697572
13865776861976   SILVIA       HERNANDEZ                 CA          46094317768
13869721855976   TONYA        SMILEY                    CA          90004387218
13871696457147   OSCAR        GOMEZ                     VA          90014846964
13874233451337   SASCHA       STARKEY                   OH          90014692334
13876383955948   FREDDY       CHAVEZ                    CA          90013503839
13878936351337   TIM          DAVIS                     OH          66000669363
13881844931687   ADRIAN       FLORES                    KS          90010088449
13882434631635   CODY         CUMMINGS                  KS          22008564346
13882766555976   FAUSTO       GALINDO                   CA          90014437665
13883147291895   RODOLFO      GARCIA                    OK          90011011472
13883191455976   DANIEL       LOPEZ                     CA          90014811914
13883269161958   MARTIN       GONZALEZ                  CA          46008252691
13884155661958   JERRICA G    LEE                       CA          90013981556
13884797155976   CESAR        JAIME                     CA          49006417971
13886129255976   MARIA        GASTELUM                  CA          49065231292
13887476691569   CHARLENE     MARTINEZ                  TX          75001724766
13888317957147   FREDY        LOPEZ                     VA          90009943179
13891973447956   ANDREW       KAELYIN                   AR          24097299734
13892811691899   ADRIANA      CEBALLOS                  OK          21063268116
13892836555948   FREDDY       MONTERO                   CA          90014348365
13895119447956   HALEY        NICHOLS                   AR          90012201194
13895414961938   MARTHA       CARMONA                   CA          46043804149
13896315793725   CAROLYN      MALLARD                   OH          90009503157
13897388861985   DOUGLAS      EVANS SR.                 CA          46026283888
13897535371967   SHAWNA       STEIR                     CO          90011145353
13912616791895   GREGORIO     GUTIERREZ                 OK          21070836167
13913135461958   JAVIER       GONZALEZ                  CA          90013971354
13914166551337   RICKY        BRITTIAN                  OH          90013611665
13914351191569   ALBERTO      MORENO                    TX          90013263511
13915347551337   JOYCE        VALDEZ                    OH          90009463475
13915531361938   LESLIE       FARRELL                   CA          90013095313
13917461347956   JOSEPH       MAYNER                    AR          24091984613
13917667261958   DAVID        PONZE                     CA          90013416672
13922324257549   LINDA        FRITZE                    NM          90006153242
13923635491569   CYNTHIA      GONZALEZ                  TX          75079386354
13925941855976   CLAUDIA      PORTIDA                   CA          90009839418
13926127791569   CYNTHIA      MAGALLANES                TX          75015081277
13926817355976   ARON         RIVERA                    CA          49055628173
13928524155976   ISHMAEL      GUERRERO                  CA          90008565241
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13928583391895   RAUL           CORTES                  OK          21012515833
13934321893737   DARYN          PHELPS                  OH          90012153218
13939542255948   MARIA          RAMIREZ                 CA          90011655422
13939834231635   REJENA         SMITH                   KS          22010398342
13939866961976   RUBEN          HERNANDEZ               CA          90014608669
13941569461976   SERGIO         MARTINEZ                CA          90013065694
13942513691569   SILVIA         URRUTIA                 TX          90010415136
13943662861958   ROBIN          GACUD                   CA          46039966628
13947689161938   MICHELLE       LYNCH                   CA          46000916891
13948154491895   SULMA          REYES                   OK          90003071544
13948445155976   RAMIRO         MARTINEZ                CA          90012264451
13948669191569   ERIKA          FERNANDEZ               TX          75027666691
13949349831687   SHELBY         MADISON                 KS          90009893498
13949845361976   GINA           CALIGARIS               CA          90014628453
13951862561958   SILVIA         CERVANTEZ               CA          90001818625
13952772684344   JANICE         GIVENS                  SC          90010357726
13954551361938   ARTURO         VILLEGA                 CA          90007685513
13954557757147   JOSE           MEDRANO                 VA          90013785577
13954896757147   MANUEL         FUENTES                 VA          90013658967
13954988691569   ELIZABETH      MEDINA                  TX          90001909886
13956648347956   SHANNON        POOL                    AR          90002416483
13961142291263   PATRICIA       KELLY                   GA          90005401422
13964691647956   JUDY           RODGERS                 AR          24012246916
13966191955976   ANTHONY        LOWRY                   CA          90014451919
13967643161924   CHRISTINE      KAISER                  CA          46053666431
13968179791569   VIRGINA        SOLANO                  TX          90012101797
13969751455948   RICHARD        NIRES                   CA          90011797514
13971223961958   DEEDEE         JENKINS                 CA          46016932239
13971623255976   RIDDLE         MALISSA                 CA          49046546232
13974272361958   MICHAEL        ALLEN                   CA          46008972723
13975286757147   ELMER          MEDINA                  VA          81016372867
13975685255948   MIRIAM         FLOREZ                  CA          49004726852
13976225447846   BRIDGETTE      TAYLOR                  GA          90009032254
13978243231635   DANIEL         REICHENBERGER           KS          22017472432
13979116661976   LEILA          WILSON                  CA          46061511166
13982986851337   NIKI           FAYE                    OH          90011069868
13984788655948   EDDIE          RODRIGEZ                CA          90013067886
13987657361976   CHRISTIAN      GARCIA                  CA          90014996573
13991728361958   CHRISTOPHE     POTTER                  CA          46006487283
13992426431428   KIARA          WILLIAMS- PIGRAM        MO          90013994264
13994537461976   ERIKA          VILLARREAL              CA          90014525374
13996365591895   ANGELA         MCDONALD                OK          90000913655
13996862355976   MARLON         HAYES                   CA          90012938623
14111348131676   CHRISTIE       LECHNER                 KS          22046743481
14112243661938   ROLANDO        ESPINOZA                CA          90012102436
14113277457147   HERMENEGIL     ORELLANA                VA          81028732774
14114848547956   LAUREN         GREEN                   AR          90012498485
14114942361958   GRAY           TAYLOR                  CA          46039329423
14116843157147   LISA           ARNOLD                  VA          81010198431
14118291557147   JOSE ABEL      LAINEZ HERNANDEZ        VA          90010982915
14118559455976   FRANCISCA      HERNANDEZ               CA          90015415594
14124134791569   NANCY          HAWKINS                 TX          90007581347
14125584561958   FERNANDO       JAUREGUI                CA          46009105845
14126222791263   KIRNSHA        MCKINE                  GA          90014772227
14131378161926   SARA           CHRISTENSEN             CA          90013123781
14133327355976   JULIE          MC CANN                 CA          90007703273
14135252351337   CELSO          CASANOVA                OH          90010782523
14136651955976   NANCY          LEE                     CA          90004656519
14139467447956   JULIA          WHITEHEAD               AR          90014534674
14141626851337   ANNE           REID                    OH          66028256268
14142545533699   ROSE           NICKELSON               NC          12065715455
14142572251337   PAUL           CROSS                   OH          66013655722
14143533691263   MIALANI        PAALAN                  GA          90012845336
14145632431687   DONNA          BRUCE                   KS          22034636324
14146313857147   VY             NGHIEM                  VA          90012063138
14152338347956   JANAN          JONES                   AR          90011003383
14155624131687   ANDREA         CRAMER                  KS          22000966241
14155687251337   HERMENEGILDO   VASQUEZ                 OH          90012536872
14156128291263   TEWANA         GLOVER                  GA          90005861282
14157271355976   ROSA           LOPEZ                   CA          49014142713
14157568531687   MICCA          TURNER                  KS          22087015685
14157765291569   DAISY          RUIZ                    TX          90013937652
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14157965691899   JOHNNY       TERRRY III                OK          21045109656
14158635647956   DYLAN        ODOM                      AR          90013096356
14159439655968   HECTOR       SOLORIO                   CA          90001834396
14162294933699   DAVID        WILLIAMSON                NC          90014652949
14163269847956   TREASURE     CARPENTER                 AR          90011622698
14164915691569   SONIA        GUZMAN                    TX          90010649156
14165321847956   JIMMY        DUKES                     AR          90011623218
14166985591263   SANDYBELL    MALAVE                    GA          14596229855
14168712755976   SANDRA       MCCULLAR                  CA          49007237127
14169877955976   VICTORIANO   ROJAS-MEZA                CA          90013058779
14172435791895   ANDREW       ALEXANDER                 OK          90014604357
14173157991263   KRISTEN      FERRELL                   GA          90012611579
14173545791895   CASSIE       SCHNEBLY                  OK          90008025457
14175223747956   JUAN         URIBE                     AR          24043662237
14175545791895   CASSIE       SCHNEBLY                  OK          90008025457
14175779391569   BRIANDA      LUNA                      TX          90013937793
14176696647956   JENNIFER     SHORT                     AR          90011376966
14176789791569   ELISA        AYALA                     TX          90013937897
14177292731646   AMY          FRANKLIN                  KS          90008152927
14177522851337   JOHN         CURLESS                   OH          90015285228
14178528691263   TIFFANY      BECTON                    GA          90008575286
14178639255924   JOHN-FIDEL   ROSALES                   CA          49093126392
14179789791569   ELISA        AYALA                     TX          90013937897
14181946561958   QUENTIN      SPONSELEE                 CA          46096079465
14183273491895   MONICA       WINSTEAD                  OK          90004952734
14183361491899   JEREMY       HAMILTON                  OK          90013493614
14185892291569   RONALDO      BERNAL                    TX          90014908922
14186888731687   ASHLEY       BLANCO                    KS          90005908887
14188291847956   SYRA         BAKER                     AR          90013332918
14189836491569   LORENA       MARTINEZ                  TX          90003838364
14193982361958   ORA LEE      HU                        CA          90003539823
14194712291569   LETICIA      SOLIS                     TX          75095277122
14195442991569   ALEJANDRA    VILLA                     TX          90005584429
14195745991263   ROBERT       HODGES                    GA          14501297459
14196484933699   DAVID        CELEDON                   NC          90002444849
14198276551337   ARTASIA      MACQUEEN                  OH          90002512765
14213132251337   DIANE        MINERVINI                 OH          90013811322
14213449791569   JOSEPH       SORIA                     TX          90014964497
14213978461958   LIZETH       FERREIRA                  CA          46087409784
14217967961938   SANDRA       MORAN                     CA          46092419679
14218237357147   WILBERT      ZELAYA                    VA          81091282373
14218648455976   BRIAN        DSIGGERS                  CA          90013846484
14218959961938   SCOTT        RIDDICK                   CA          90005879599
14219111591263   AL           BROOK                     GA          14583621115
14222576247956   AUNJOLIE     COLEMAN                   AR          24031895762
14224742361938   TONIA        HERNANDEZ                 CA          90014737423
14225772455976   CINDY        BRADLEY                   CA          49012107724
14226246833699   ADRIENNE     ARMENTA                   NC          90014252468
14226742361938   TONIA        HERNANDEZ                 CA          90014737423
14226965357147   ANOTHY       HUBBARD                   VA          90012919653
14227712591569   RENE         FRANCO                    TX          90014847125
14227733355976   JORGE        ROSALES DE LA CRUZ        CA          90014757333
14229628131687   REBECCA      MARTINEZ-AREVALO          KS          22034956281
14229963491263   TAKENNIA     CRAWFORD                  GA          90014979634
14232246184344   ARTURO       CASTELLANOS               SC          90014582461
14234589391899   LARRY        JOUBERT                   OK          21072065893
14237211333699   LESLEIGH     MORRIS                    NC          90009532113
14238378147956   MARIA        CIFUENTES                 AR          90011003781
14238864361958   ASHLEY       WASHINGTON                CA          90013438643
14239673991899   ROBERT       BROTHERS                  OK          90013496739
14239744491836   SAMUEL       AYUZO                     OK          90014347444
14242741661938   MARTHA       MARTINEZ                  CA          46093197416
14243688391899   MARQWAN      TRELEAVIN                 OK          90013496883
14244657591895   ROBERT       WORSLEY                   OK          90008996575
14246891391263   DONALD       LAMBERT                   GA          90010148913
14248399261938   ALEX         GARCIA                    CA          90014753992
14251442691895   JORDAN       CHYENNE                   OK          90007734426
14254358757147   DENNIS       BAUTISTA                  VA          81039983587
14255748661938   MICHAEL      BUZO                      CA          90014737486
14257721291895   LAVONA       ALWARD                    OK          90001917212
14259578861938   SEVERIANO    MEDINA                    CA          46058045788
14261169633699   JAMES        MACK                      NC          90010031696
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14261381561938   ANNA             PELMORE               CA          90013233815
14261529293775   ERIKA            PERRIN                OH          90010665292
14261942857147   DON              MIXON                 VA          90013869428
14262632361938   AIOTEST1         DONOTTOUCH            CA          90015116323
14264585461958   GLORIA YOLANDA   SANDOVAL              CA          90013375854
14264712377529   BLANCA R.        LOPEZ                 NV          43003047123
14265482761938   LEONARD          C                     CA          90014744827
14265878191895   JACKIE           ALLEN                 OK          21082858781
14266762461938   YOLANDA          MORENO                CA          90013937624
14266923761958   PHOULOM          NOVANG                CA          90013519237
14269633833699   SHAVONNA         RAY                   NC          90015136338
14273719491895   SHARLA           KINDLEY               OK          90009857194
14274425255976   CONSUELO         AMEZCUA               CA          49058684252
14275153333699   JASON            RODRIGUEZ             NC          90011001533
14277446261938   JULIO            SOTO                  CA          46000854462
14277464344356   SHONNESE         HAYES                 DC          90013554643
14278141555976   LUCY             GARCIA                CA          49022241415
14279728455976   CHRIS            BRYSON                CA          90013917284
14281947857147   CARLOS           ALBERTO               VA          90010879478
14283216347956   AARON            PENDLETON             AR          90013702163
14283639291263   SIRENA           ROBERSON              GA          14562066392
14284364561938   JAMANE           COLEMAN               CA          46010153645
14286363433699   SHAWNTIKA        DAVIS                 NC          90009153634
14286862591569   MARIO            ENRIQUEZ              TX          90007728625
14288457571927   BRENDA           CRESPIN               CO          90010414575
14291241631687   MARTHA           LOZANO                KS          90011032416
14292215255976   ANTHONY          MORALES               CA          49050332152
14294281655933   STEPHANIE        VARELA                CA          48025362816
14295141491569   JULIETA          PALMA                 TX          90004861414
14295378931635   EUGENE           RUHL                  KS          90012863789
14296484161938   MIGUEL ANGEL     BARRETO               CA          90014744841
14297381791895   MANUEL           LOPEZ                 OK          21012683817
14298133251337   TABITHA          MYRICK                OH          90015041332
14298285555976   ANTHONY          BOLTON                CA          90014702855
14298678291899   BRIAN            LOONEY                OK          90013506782
14298784591895   CHERYL           PRICE                 OK          21075487845
14299495791899   RONALD           JONES                 OK          21018504957
14299838291569   ANTHONY          APODACA               TX          90013938382
14311518651337   KAREN            FELTNER               OH          66071965186
14314564847956   BEATRIZ          DELGADO               AR          90015125648
14314662191569   ELIZABETH        RAMIREZ               TX          75084266621
14315593351337   JESSYCA          EHRHART               OH          90014305933
14316731133699   CHELLE           JILES                 NC          90004937311
14317578461958   JOVANI           TAPIA                 CA          90003375784
14318786951337   FAITH            MARTIN                OH          66093587869
14319291293758   MATT             SHOUGH                OH          90007702912
14321483457122   CESAR            LOPEZ                 VA          90001834834
14321665451337   JOE              HARRINGTON            OH          90015326654
14321965555976   TEAN             SILVA                 CA          90002299655
14327963791977   KENNY            CARR                  NC          17091939637
14328326333699   DANIELLA         PRESTON               NC          90014603263
14329145161938   JOSEPH           BLISSE                CA          90015111451
14332779591895   LUIS             PEREZ                 OK          90011827795
14333496355976   PRINCE           CAPOZZI               CA          90010754963
14335479691895   ANGELA           BRIDGES               OK          21055304796
14336764791895   ROBERT           HUTCHISON             OK          21069257647
14337627831635   NICOLE           CROW                  KS          90013866278
14338183151337   SIERRA           GILLISPIE             OH          90012761831
14338328157147   EDWIN            ZOMETA                VA          90007593281
14341433351337   ERIK JOSUE       AGUILAR HERNANDEZ     OH          90014424333
14341725491586   MARIA            QUESADA               TX          90001347254
14342632361938   AIOTEST1         DONOTTOUCH            CA          90015116323
14342763557147   JOSE             MARTIN MANDOZA        VA          90010847635
14344334131687   FABIAN           GONZALEZ              KS          90011033341
14345584957147   PATRICIA         ROJAS                 VA          90014785849
14346495455976   DAVID            MCELHAMEY             CA          49004994954
14346654791838   RETA             LOCKLEAR              OK          90012286547
14346815147956   YOLANDA          IBARRA                AR          24014818151
14351353891895   TERRI            GOTTHARDT             OK          90012323538
14353511761938   XELA             BALDUEZA              CA          90014745117
14355482491263   GENE             LOUDER                GA          90013194824
14356589591569   DORA             CONTRERAS             TX          90013965895
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14357881357199   RENE ARCIDES        GONZALES           VA          90004268813
14358434231687   NORMA               RAYMUNDO           KS          22060874342
14359484961938   CARLISSA            BIVONA             CA          90011394849
14362169361993   GALDINA             MENDEZ             CA          90013611693
14363584591895   ELIZABETH           STONER             OK          90014605845
14365622491569   VICTOR              VILLALOBOS         TX          75058736224
14365839261938   CHRISTINA LATRECE   HILL               CA          90013628392
14366854551337   RUSSELL             PHILLIPS           OH          90015178545
14367814351337   TAMEKA              PUGH               OH          66015698143
14367936747956   XAYSONGKHA          PHOUMIVOUNG        AR          24014519367
14368365261987   OMAR                RAMOS              CA          46062553652
14368957891895   GEORGE              ESPARZA            OK          90015159578
14369937561958   MARY                MONTALVO           CA          90012939375
14374138757147   JOSE                BAIRES             VA          90013951387
14374191692827   FERNAN              PEREZ              AZ          90014211916
14376556457147   YOLANDA             VILLALTA           VA          90012995564
14376587291895   KELLIE              BROWN              OK          90014605872
14376812357147   JAVIER              VENTURA            VA          90011108123
14376847451337   RODNEY              DOBSON             OH          66077938474
14378892491569   PRISCILLA           FLORES             TX          90009478924
14379541261938   ALEJANDRO           LOMAS              CA          90014745412
14381158355976   ROBERT H            GARCIA             CA          90012081583
14383414433699   PEARL               SIMMONS            NC          90014614144
14384152347956   WILLIAM             CROSSNO            AR          24027551523
14384234131687   NATH                SOEUN              KS          22039262341
14385125357147   ROSA                BETANCOURT         VA          81091061253
14385727391899   SHARENA             FULTON             OK          21018547273
14388698561958   ISAMAR              PEREZ              CA          90013196985
14388978633699   NAKISHA             HILL               NC          90004159786
14392557133699   TIFFANY             JOHNSON            NC          90014615571
14393684391263   WAYNE               GAINEY             GA          14570616843
14394972471927   KRISTEN             BARON              CO          90002269724
14395253355976   JUAN CARLOS         FELIX              CA          90013262533
14395893291569   EVELYN              MARTINEZ           TX          90014328932
14396299391263   NIKIRA              HATCHER            GA          90012162993
14396676661958   MARTINES            LEASLIE            CA          90004876766
14397572647956   PEGGY               BLAIR              AR          90007505726
14399229491895   AMY                 OWINGS             OK          21098202294
14411991847956   SHAUNELL            GUILBEAU           AR          90000289918
14412894747956   BERNARDO            LUNA               AR          90003178947
14413173657147   STEVEN              WATSON             VA          90002301736
14414514655976   WILMER              RODRIGUEZ          CA          90010755146
14415445391895   ROSELIA             VAZQUEZ            OK          90011294453
14416919157147   MANUEL              BELTRAN            VA          90011919191
14417221151337   PATTY               MORBACH            OH          66054722211
14423355747956   DAVID               JOHNSON            AR          90012093557
14424718691569   NORMA               GIBBONS            TX          90011947186
14425396247956   BERLIN              VANN               AR          90014873962
14425936891569   GLORIA              BONILLA            TX          90013939368
14425948491323   MARIA               CARMONA            KS          90001589484
14425974961938   MARITZA             WILSON             CA          90000579749
14426138891895   LOUIS               WESLER             OK          90011831388
14432394857125   MILTON              HERRERA            VA          90013403948
14435137993732   STEVEN              WILLIAMS           OH          90014111379
14435335181465   SIMORIA             WILLIAMS           PA          90011153351
14435959261938   JENNIFER            MCCANN             CA          90007559592
14438531657147   ELMER               PORTILLO           VA          90013135316
14442981555976   STEPHANIE           PRETZER            CA          90014649815
14443628661938   MELISSA             FARES              CA          46083996286
14444929161958   GLEN                DECKER             CA          46033049291
14445452761958   NELILITA            VALLES HILL        CA          90012244527
14446971531687   JESSICA             SILERIO            KS          22002339715
14447946291569   DELGADO             MARISELA           TX          90011359462
14448661461938   MARIA               PEREZ              CA          90004886614
14448717851337   PAYGO               IVR ACTIVATION     OH          90015557178
14449488785922   DARNETTA            ARGUELLO           KY          90003704887
14449978285836   MELISSA             LOWDER             CA          46073969782
14452258255976   KOU                 EKVIXAYSACK        CA          90006092582
14453185691993   STEPHANIE           COLEMAN            NC          90011281856
14453329933699   LLOYD               CHRISTOPHER        NC          90008623299
14453443661938   HIROMI              TROUBLEFIELD       CA          90014164436
14454577457147   KIA                 ESHTAB             VA          90010325774
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14455223155976   GUDALUPE     GARCIA                    CA          49081122231
14457464891346   GABE         HAMILTON                  KS          90013364648
14458744751337   ALISHA       POWELL                    OH          66001707447
14463228393724   RAY          TOWNSEND                  OH          90010912283
14463749951337   SOTHY        PRIM                      OH          90013427499
14464543831664   MIKE         HARBOUR                   KS          22035875438
14469518331687   MARQUAJZA    JOHNSON                   KS          90002505183
14469913691895   SANDRA       MITCHELL                  OK          90003929136
14469997847956   TIFFANY      MCDADE                    AR          24066259978
14471159433699   PAYGO        IVR ACTIVATION            NC          90014651594
14472545491263   EMMANUEL     MORILLA                   GA          90008545454
14472962984344   JASMINE      HEYWARD                   SC          90014379629
14473749391895   PAMELA       BROWN                     OK          21046617493
14474434533699   FERNANDO     RODRIGUEZ                 NC          90014664345
14475292991569   BERTHA       FLORES                    TX          90000432929
14477965547956   TUESDAY      WALKER                    AR          90015449655
14478424691895   MELANIE      SPRINGER                  OK          90014614246
14479272991263   CHINA        WHITE                     GA          90000102729
14481354257147   VALIRE       COKER                     VA          81044073542
14483751491263   KEYA         MAXWELL                   GA          14562097514
14484351661958   ANDY         ELIA                      CA          90010023516
14486693361938   KEISHA       JORDAN                    CA          90008396933
14488884433634   KAY          EVANS                     NC          90003308844
14491138591263   SANDRA       EARLY                     GA          90001611385
14491393841284   JOSEPH       WAGNER                    PA          51012623938
14494139831687   RODNEY       CLARK                     KS          22016661398
14494162291569   MARIA        CONCEPCION                TX          90014001622
14494187161958   JAY          KIM                       CA          90011471871
14495457384329   SOPHIA       SIMMONS                   SC          90012714573
14495612591569   HECTOR       ALCANTAR                  TX          90012716125
14496143155976   ALFREDO      GUILLEN                   CA          90014321431
14496443193723   GALE         KILBARGER                 OH          64554374431
14497443193723   GALE         KILBARGER                 OH          64554374431
14498561151337   TRACY        DEARINGER                 OH          90000305611
14499375491895   JAYTHAN      DALE                      OK          90011833754
14511337433647   AQUANDLYN    WHITTINGTON               NC          90013673374
14511434347956   PATRICIA     SAMPLEY                   AR          24070464343
14513822264183   FRANK        CANNON                    IA          90014468222
14515439191895   CHENOA       FRAZIER                   OK          90015204391
14515468355976   SOPHIA       GARCIA                    CA          90000434683
14516812771964   THEODORE     HAUSER                    CO          32071848127
14519357947956   AARON        PARHAM                    AR          90012723579
14523228891263   STACIE       HYATT                     GA          90011872288
14526159947956   ELISA        TREADAWAY                 AR          24071141599
14527643447956   MICHAEL      DUNCAN                    AR          90015456434
14527934757147   LUIS         ROSA                      VA          90012169347
14529854847956   STEPHANIE    NIETO                     AR          90015048548
14531913151337   ELIZABETH    BEBOUT                    OH          66081159131
14533933751337   JEFF         FERGUSON                  OH          90013079337
14536665155987   BARBARA      LAMATTINA                 CA          90011936651
14537314391895   DAVID        ANDERSON                  OK          90013033143
14537845951337   KATRINA      BRADLEY                   OH          66051128459
14538194522929   NICHOLAS     REDDING                   GA          90014541945
14542283854144   JAMES        ELIZONDO                  OR          90011552838
14543154955938   JOSE         NUNEZ                     CA          90009011549
14544484191895   SHAWN        DUNCANT                   OK          90014604841
14544717631635   STEPHANIE    SMITH                     KS          90005977176
14545429555976   STEPHANIE    JONES                     CA          90013004295
14545698891569   JAVIER       FAVELA                    TX          90014706988
14545857891569   MIRNA        MUNIZ                     TX          90011578578
14546676361958   JOSE         ANTONIO                   CA          90011376763
14546886757147   TILAHUN      MELAKU                    VA          90007838867
14547284761926   FRANK        KOVACS                    CA          46000072847
14548484191895   SHAWN        DUNCANT                   OK          90014604841
14549239691569   CHRISTEEN    MACIAS                    TX          75016972396
14549644361958   CORETTA      BUCKLEY                   CA          90001156443
14551183657147   JOSE         GARCIA                    VA          81094601836
14554718361958   JACKIE       DAVIS                     CA          46041917183
14554936831635   DONALD       PERKINS                   KS          22029009368
14556691391569   ERIKA        FALCON                    TX          75017426913
14556999391895   JAIME        RODRIGUEZ                 OK          21063539993
14557514733699   ANDREZ       MARTINEZ                  NC          90011015147
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14557688171967   RODNEY          TIDBALL JR             CO          90007536881
14558361361997   DESARA          JACKSON                CA          90008053613
14558935557147   ANDREA          RUANO                  VA          81095049355
14559276457147   MAXINE          ASAMOAH                VA          90006202764
14559671991899   JASON           SHAFFER                OK          21018646719
14561452851337   WILMAR MANUEL   BAUTISTA GABRIEL       OH          90015164528
14562589491569   ROSA            LOPEZ                  TX          90004655894
14562866355976   WANDA           CARRASCO               CA          90011148663
14564292555935   JOSE            MORENO                 CA          90008352925
14564385391573   SERGIO          CHACON                 TX          90001733853
14564463661958   BLANCA          VASQUEZ                CA          90014904636
14564679457147   VNS             CONSTRUCTION           VA          90007196794
14565436493725   ALICIA          STEWART                OH          90012914364
14566774631469   STEVEN          PUPILLO                MO          90008557746
14567637551337   HARLEY          NANCE                  KY          66084806375
14569121191263   NATHANIEL       SIBERT                 GA          90012251211
14572262257147   CARLOS          GANOZA                 VA          81011942622
14572726991569   HECTOR          JURADO                 TX          90006837269
14572758833699   WILLETTE        BOBBITT                NC          90011087588
14573841461958   PAOLA           NAJERA                 CA          90010728414
14575676857122   CARCAMO         CRUZ                   VA          90009326768
14576257761958   DORA            TORRES                 CA          46037812577
14576533391895   REGINA          LITTLETHUNDER          OK          90014615333
14578453633623   DAMON           STURDIVANT             NC          90001704536
14581121791569   MELISHA         TREJO                  TX          90009661217
14581461147956   KHAMPOY         KHANTHAVONG            AR          24089804611
14581551791895   RIGOBERTO       GARCIA                 OK          90014615517
14585277591524   CARLOS          REYES                  TX          90011152775
14585647957147   JOSE            PINEDA                 VA          90014906479
14587394347836   SHANITA         SLEDGE                 GA          14083553943
14587687131687   SMAJO           SULEJMANI              KS          22081556871
14589251661938   CHRIS           KELLY`                 CA          90002062516
14589313791263   HEAVENLEIGH     JOHNSON                GA          90009213137
14592283247956   SHAMICA         HOUSTON                AR          90000422832
14592476991569   URIAS           OCTAVIO                TX          75082884769
14592835391895   LEYDIANA        GARCIA                 OK          90011618353
14592884247956   JOSE            ROJAS                  AR          90015528842
14592981455976   LAWRENCE        YANEZ                  CA          90003369814
14597311191899   MICKEY          HARDMAN                OK          21058633111
14597638355976   GEORGE          COVARRUBIO             CA          49053456383
14611351533699   JAME            ELLIS                  NC          90011303515
14611828991895   CHRYSTAL        PENNGTON               OK          90011838289
14612122155976   CRYSTAL         COOK                   CA          49079871221
14612638457147   MARCO           MONROY                 VA          81054226384
14612957391895   AUDREY          MYKELOFF               OK          90014769573
14615178391586   JESUS           RODRIGUEZ              TX          75014861783
14615553891263   MITCHELL        LAWSON                 GA          14570635538
14615959191569   MONIQUE         FERNANDEZ              TX          90011359591
14618644855976   HELEN           HESS                   CA          49090456448
14619115747956   MONICA          THOMPSON               AR          90014811157
14622632691263   ZIKEA           PERRY                  GA          90014936326
14627517757122   ELIO            GONZALEZ               VA          90002785177
14629974991895   MARY            MENLENDEZ              OK          21091319749
14631557391263   DAVID           CAMBRON                GA          90003325573
14631583476224   TALIA           WIGGINS                GA          90007955834
14632141971982   DARYL           ROQUE                  CO          90007751419
14637542847956   LARRY           EVANS                  AR          90012585428
14642386861938   EUSEBIO         RAMIREZ                CA          90006873868
14642428661958   HERLINDA        OROZCO                 CA          90014734286
14645521161958   RODOLFO         FLORES                 CA          46043205211
14653861861938   FERMIN          DIAZ                   CA          90004258618
14655145155976   PAULA           PEREZ                  CA          49068701451
14655897891895   CRYSTAL         PEREZ                  OK          90011838978
14656132447956   MIRNA           VELASQUEZ              AR          90013491324
14656371593737   REX             THOMPSON               OH          64574683715
14656521391964   NICOLE          SHIELDS                NC          17042545213
14657462355976   CATHY           REYES                  CA          49081764623
14657753191569   JULIO           ALMANZA                TX          75077717531
14658155191584   JESSICA         VILLA                  TX          90013211551
14661959531687   MARIA           ORTEGA                 KS          22094389595
14662282161938   BRITTANY        POSEY                  CA          90008412821
14663219357147   EDIN            VEGA                   VA          90013922193
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14663596433699   AMBER        MESSER                    NC          90011025964
14664197133699   KARI         LAGOE                     NC          90011861971
14665125651337   MICHELLE     MITCHELL                  OH          90014711256
14666699461936   BRITTANY     SICKLER                   CA          90012226994
14669793561938   DANIEL       CARDONA                   CA          90014747935
14676454491263   DERRICK      WILLIAMS                  GA          90008804544
14676517933699   CARLOS       MARTINEZ                  NC          90014695179
14677142955976   LAURA        FERNANDEZ                 CA          49045771429
14677332757147   WILMER       SANCHEZ                   VA          90014433327
14677517933699   CARLOS       MARTINEZ                  NC          90014695179
14679742761958   KASSANDRA    MCCALL                    CA          90015317427
14679914691895   ANGELA       BRADLEY                   OK          90014169146
14681419851337   EUGENE       MOORE                     OH          66047224198
14681856357145   JUAN         CABRERA                   VA          81053598563
14682477261938   RICKY        THIEL                     CA          46016534772
14684774757147   ESTELA       PORTILLO                  VA          90010317747
14684864691569   VICTORIA     ARENIVAR                  TX          75027418646
14685894655976   LARRY        ROMERO                    CA          90015308946
14686569955976   ASHLEY       JOHNSON                   CA          90011325699
14688959951337   LINDA        INGLES                    OH          90011409599
14688987957562   OLGA         ARMENDARIZ                NM          35590959879
14689245757147   CESAR        VALDEZ                    VA          90014052457
14689595233699   AUSTRALIA    MCLENDON                  NC          90014695952
14691374261938   FANNIE       TAYLOR                    CA          90013363742
14692182191263   ROSEANN      HAYWOOD                   GA          90014581821
14692855191547   ADRIAN       SALINAS                   TX          90014818551
14693399191569   GILBERT      MACIAS                    TX          90006813991
14693791431635   KAREN        AYOTTE                    KS          90007087914
14694438791263   SHAREIKA     YOUNG                     GA          90014514387
14697141991569   JACOB        GALLEGOS                  TX          75006311419
14697896491895   ROBERTO      CORREA                    OK          21057978964
14711623991964   NAKIA        GREEN                     NC          90003456239
14712169791895   DENINA       GREEN                     OK          21012611697
14712741261938   ANDRE        JACKSON                   CA          90004117412
14719213891569   VERONICA     AGUILAR                   TX          90008602138
14719434351337   IRRAEL       MORENO                    OH          90014424343
14721419791895   BRITNEY      PRICE                     OK          90014624197
14723651291263   QUINN        HOLLINGSWORTH             GA          14590286512
14723959791569   VANESSA      ZAMBRANO                  TX          90011359597
14726314555976   ASHLEY       RIVERA                    CA          90014933145
14726647991569   VALERIE      ESCAMILLA                 TX          75023526479
14728731291895   AMY          CYPERT                    OK          90014617312
14729258691569   FELIPE       HERNANDEZ                 TX          90009902586
14729574461958   CARLOS       SANTANA                   CA          90000905744
14729579347956   PEGGY        BOSWELL                   AR          90014325793
14731866233699   JANET        CECIL                     NC          12051558662
14732524855976   SAUL         GULLEN                    CA          90012015248
14732844357147   ANGEL        LARA                      VA          90013238443
14733139931687   SHEILA       KOVACH                    KS          22015761399
14733688791263   JOYCE        MILLER                    GA          90001396887
14734874191327   JAMES        STEWART                   KS          29044968741
14735761455976   CALVIN       CHURCH                    CA          90015317614
14736826791263   TIFFANY      RAWLS                     GA          90014778267
14738866433699   TAMEKA       NICHOLS                   NC          90014708664
14741685884347   TURKESSA     PINCKNEY                  SC          90009126858
14741773491569   JOSE         LARA                      TX          90009997734
14741835933699   ISAAC        SANCHEZ                   NC          90009878359
14744519131687   DYRON        WASHINGTON                KS          22005405191
14747774991895   COREY        MURPHY                    OK          90014617749
14751826551337   KAIA         KHAMISI                   OH          90008438265
14752322355976   JILL         CLARK                     CA          90014063223
14754631971923   BRANDI       GARCIA                    CO          90015216319
14754738533699   JESSICA      DELGADO                   NC          90014717385
14754925991895   ERRIN        BAKER                     OK          90013879259
14755213891569   VERONICA     AGUILAR                   TX          90008602138
14755997657147   MIGUEL       MONJE                     VA          90012319976
14762639391836   LEVI         WOLSKI                    OK          90011606393
14763421791569   GERALD       WILLIAMS                  TX          90014814217
14763936747956   XAYSONGKHA   PHOUMIVOUNG               AR          24014519367
14765493551337   KATRINA      HAWKINS                   OH          90002834935
14765724961958   ALDO         CISNEROS                  CA          90013807249
14767324991584   SAMMY        AMENZAGA                  TX          90008843249
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14773377191895   RUTH           KIM                     OK          90010593771
14775841261938   ERIC           CORONADO                CA          46062458412
14777261361938   MARISELA       LOPEZ                   CA          90011412613
14782327551337   BECKY          WILLIAMS                OH          66003403275
14782576431447   ROBERT         SANDLER                 MO          90010895764
14782648191569   CARLOS         HOULGUIN                NM          75000766481
14784473891569   TTERESA        MORENO                  TX          90009974738
14787315733699   JOSE           REYES                   NC          90011623157
14787491261958   JEAN           RONALD                  CA          90012724912
14787692961938   MIRELLA        MACIAS                  CA          90013676929
14789268457147   DAVID          SANDERS                 VA          81091632684
14791311351337   ALANDO         BONNER                  OH          90003183113
14792123891569   JESUS          GUTIERREZ               TX          90013941238
14793342391263   ODETTA         HAMPTON                 GA          90012073423
14793424144356   MARLENE        HARRIS                  MD          90000594241
14794128657147   CHRISTIAN      RODRIGUEZ               VA          90012161286
14797818357147   ALBERTO        PIEDRA                  VA          81032968183
14797965651337   ARAMIS         JOHNSON                 OH          90011679656
14799786333699   REYNA          HERNANDEZ               NC          90014727863
14811249455976   IDELFONSO      MONDRAGON               CA          90015182494
14811453257147   PEDRO          SANCHEZ                 VA          90015044532
14811615661938   ERNESTINA      OROZCO                  CA          90012646156
14812137555976   KACHEY         WIMES                   CA          49084341375
14812291847956   SYRA           BAKER                   AR          90013332918
14813944361958   CRAIG          HEWITT                  CA          46009039443
14814846991895   TASHA          ARMSTRONG               OK          21041768469
14816356255968   ANGIE          MORALES                 CA          49056213562
14817286691895   SCOTT          GUNSELL                 OK          90003942866
14817535471964   ANTHONY        HAWKINS                 CO          90006515354
14817536147956   NELVA          WARREN                  AR          24048215361
14817866761938   JOSE MORALES   MALDONADO               CA          90014748667
14819351261997   ASHLEY         NEWMAN                  CA          90007433512
14819653491547   KARLA          PRIETO                  TX          90008056534
14821394357147   ANA            GARCIA                  VA          90009433943
14823583457147   AMY ROSE       WALLACE                 VA          90015155834
14823919986463   MICHELLE       GAMBRELL                SC          90014489199
14828946771927   VICKIE RON     GREENO                  CO          90009409467
14831423555976   THALIA         GONZALEZ                CA          90012814235
14831433291895   BOBBY          SISNEY                  OK          90012724332
14833421255976   RICHARD L      LAWSON                  CA          90004464212
14833665991895   TARA           RAINBOLT                OK          21094476659
14834396661958   MATTHEW        SOLANO                  CA          90015263966
14834826291895   JENNIFER       MINOR                   OK          90014618262
14835621147956   ROCKY          REXWINKLE               AR          90015156211
14835739433626   ANGEL          BAYNES                  NC          90001087394
14836694293758   MONICA         MANSON                  OH          90011686942
14837361447956   MATTHEW        WOOD                    AR          24057463614
14838875361938   SHANA          COOK                    CA          90012898753
14843536755976   JOAN           CAUDILLO                CA          49088785367
14843874491569   CARLOS JESUS   FERNANDEZ CONDE         TX          90013988744
14844874391263   WESLEY         ROBERTS                 GA          14508718743
14845211461958   GLENDALEE      CORTEZ                  CA          90005752114
14847174461958   JAHAZIEL       HERNANDEZ               CA          90013591744
14848741255976   ROCHE          JOSE                    CA          49097067412
14851385747956   THOMAS         ALLEN                   AR          90015513857
14853775947956   SHERRY         RELEFORD                AR          90014787759
14855343591569   RAYMOND        DIAZ                    TX          75016303435
14861836785942   LYNDEE         PHILLIPS                KY          67062238367
14862396891263   MAURICE        PRISTELL                GA          90013823968
14863865991895   MAURO          ORTIZ                   OK          90014618659
14864889691569   PATY           LUNA                    TX          75063158896
14865189655976   AMIRE          CRUZ                    CA          90013051896
14866424891263   ANDRE          DEBLOIS                 GA          14570634248
14866669691569   EMILY          BROOKER                 TX          75075976696
14868571461958   LEONARDO       LEON                    CA          90010215714
14871175961938   TYREE          OULDS                   CA          90012891759
14871392151337   SHARON         MCCANTS                 OH          66093773921
14871886157147   RKI CLAIMS     SPECIALIST              VA          90011818861
14872772761958   JUAN MIGUEL    BALTAZAR                CA          90012977727
14873367271967   PETE           BOLLANDER               CO          90004643672
14873865261938   ANGELA         BENITEZ-CAYETANO        CA          90015278652
14873984357147   RILMA          ZENTENO                 VA          90005799843
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14874161833699   BRANDON       WALLACE                  NC          90014741618
14874544757147   LUIS          CASTANEDA                VA          90013315447
14875939691569   JAVIER        ROMERO                   TX          75025019396
14879252293732   TIMOTHY       DEVOISE                  OH          90013352522
14881278457125   ANELSY        MONTES                   VA          90010672784
14881336861958   MARIA         FLORES                   CA          90013143368
14882522657147   CARLOS        RIVERA                   VA          81093935226
14885682951337   LILIA         RODRIGUEZ                OH          90013796829
14887989947956   JILL          WILLIAMS                 AR          90010299899
14889975861958   YOLANDA       TAPIA                    CA          90002299758
14891965691569   RICARDO       HERNANDEZ                TX          90011359656
14892925361958   GERARDO       DELGADO MADRID           CA          46071399253
14894395461958   CAROL         HASSLER                  CA          90012713954
14896392333699   ANTONIO       GARLAND                  NC          90014743923
14898166891263   DERRYL        GREEN                    GA          90011941668
14898875961938   HAYDEN        MCNEER                   CA          90014748759
14899635647956   DYLAN         ODOM                     AR          90013096356
14913216733699   EPHRAIM       GREEN                    NC          90014752167
14913258161938   ROBERTO       MARQUEZ                  CA          46023762581
14913333991895   WILLIAM       REDDELL                  OK          90012623339
14916442233699   BRANDON       BABER                    NC          90014754422
14917167791895   ROBERT        ROBLES                   OK          90001581677
14917591351337   DARLENE       LEMING                   OH          90012975913
14918472451337   KAITLIN       WARE                     OH          90005134724
14919746891569   NICHOLAS      OHARA                    TX          90009097468
14923813833699   SHEILA        BURTON                   NC          90014758138
14925423491895   GARY          STANPHILL                OK          90011974234
14927799891869   MICHAEL       LOBMEYER                 OK          21064397998
14932278691569   MARIA         PAYAN                    TX          90014802786
14932934157147   MARINA        ANARIBA                  VA          90012599341
14934216991569   MANUEL        YANEZ                    TX          75026952169
14935584891569   JESSICA       BELMONTE                 TX          90008375848
14937167261984   ELIZABETH     DIAZ                     CA          46041011672
14937695151337   DEREK         MOORE                    OH          66057506951
14942246461938   JOSHUA        DOZAL                    CA          90003152464
14943534357147   ANGELA        ZAPATA                   VA          90015305343
14943591531635   AMBER         PALMITIER                KS          22069865915
14948885561938   SUGIERY       MORALES                  CA          90014878855
14951182991569   OSCAR         CONTRERAS                TX          90013941829
14952313657147   JANNICE       DANIEL                   VA          90009813136
14954142255976   TRUDIE        MCDUFFY                  CA          90010761422
14957269391827   STEPHANIE     WILLIAMS                 OK          90007682693
14958161591569   ALBA          VILLELA                  TX          90003311615
14958264255976   ALONA         ANDERSON                 CA          90015392642
14958414161993   WES           STEWART                  CA          46090014141
14964494851337   KYLE          RICHARDSON               OH          66088184948
14965254591569   YVETTE        ADAME                    TX          90011182545
14966615591569   MONIQUE       BENDZUS                  TX          90012716155
14966627557147   ETHAN         FADLEY                   VA          81032646275
14966674147956   ELIZABETH     GUZMAN                   AR          24011316741
14967441991569   MARIELA       LOPEZ                    TX          90013084419
14968264257147   TINIKA        SHELLINGTON              VA          90002552642
14968375161938   ANA           CATALAN                  CA          46093203751
14971575691895   ANDREA        PIERSON                  OK          90012815756
14972783651337   SONYA         ERWIN                    OH          90013707836
14977553147956   AMBER         PADILLA                  AR          90014515531
14977925247956   KAMILAH       RELEFORD                 AR          90008429252
14985462861958   ANGELA        THUNSTROM                CA          46052364628
14985915661938   ROGELIO       PINA                     CA          90014749156
14986889891899   PATRICK       CONMY                    OK          21033568898
14988693591569   ROCIO         LUJAN                    TX          90011416935
14991539933699   PAMELA        AUTRY                    NC          12061995399
14994522151337   MATTHEW       URIAH                    OH          90014385221
14994864431635   LILIA         LOPEZ                    KS          90007178644
14995626557147   TESFAYE       BIRHANU                  VA          90010276265
14997517191927   DIRTY WORK    DIRTY WORK               NC          17083235171
14997541461958   RANDY         PERKINS                  CA          90006895414
14998243557147   AKPALOU       KUDIO                    VA          90000692435
14999995591578   MARIA ELENA   FELIX                    TX          90004119955
15113768955948   ROMAN         DE LA ROSA               CA          49004947689
15115665761958   SIRIS         TRAVETT                  CA          90005066657
15115776291569   GABRIELA      GOMEZ                    TX          90011957762
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15116691361958   MARIA        LOPEZ                     CA          90006906913
15117213833647   THOMAS       MYERS                     NC          90001112138
15117631655976   PATRICIA     GONZALES                  CA          49086256316
15118227291263   SHERICE      JACKSON                   GA          90006552272
15118317757147   ABANOUB      ABDEL SAYED               VA          90012483177
15118679247956   AMYE         GREENE                    AR          90005306792
15119325361938   TERERSA      KNIGHT                    CA          90005353253
15119769891895   PAUL         CALDERON                  OK          90003137698
15126558955976   RAMON        MEZA                      CA          90014805589
15126868555976   DULCE        DIAZ                      CA          90010828685
15126956861958   MAGGIE       ESTRADA                   CA          46081219568
15128771955976   AUBURAN      GREEN                     CA          90007407719
15129152686454   JIMMY        SISK                      SC          90015221526
15129711291263   ERIC         SALLES                    GA          14504017112
15131655151357   DR J TYLOR   THOMPSON                  OH          66070156551
15132192691399   ROBERT       MABRY                     KS          29007541926
15135547991895   KALYN        BURKHAM                   OK          90015085479
15135961191263   JOSHUA       MITCHELL                  GA          90013189611
15135972291569   MARIA        ORTIZ                     TX          75021329722
15137364755976   LINDA        SATOYO                    CA          90005773647
15138121861958   RENATO       CAYABYAB                  CA          90011061218
15138859357147   DELMER       RUBIO                     VA          81059678593
15141246261958   JENNIFER     RODRIGUEZ                 CA          90003802462
15141928991569   IRENE        RODRIGUEZ RAMIREZ         TX          90013029289
15141994291263   ANITA        SADDLER                   GA          90006949942
15145198361938   KYRA         PORTER                    CA          90006981983
15145426491895   JOSEPH       HEIDENREICH               OK          90009234264
15146397555976   TARA         BULK                      CA          90014623975
15148258691895   SHELLEY      ATCHLEY                   OK          90011022586
15152863631687   TERESA       SOTELO-RAMIREZ            KS          90014878636
15154198355976   GLORIA       RIVAS                     CA          90012501983
15155714391569   LAURA        MOSTYN                    TX          75027087143
15157892455976   LORENZO      MENDOZA                   CA          90010828924
15158925157147   ANA          MONTES                    VA          81086219251
15159451893725   WILLIE       WRIGHT JR                 OH          64515984518
15161314855948   LORALIE      ROUSEY                    CA          49017063148
15161622157147   ERNESTINA    QUINTANO                  VA          90010176221
15161727991263   TINA MARIE   WILSON                    GA          90010537279
15162358457147   ANABELLA     GUDIEL                    VA          81039373584
15163657291263   COOBY        SAUTHERFILLED             GA          90014936572
15164594844322   ABA          CUS                       MD          90015595948
15164896391524   SAMUEL       CAMPOS                    TX          90013248963
15165548391569   BREANAD      GONZALES                  TX          90013395483
15165614261958   ALEJANDRA    SOLEDA                    CA          90012556142
15166158991895   KAREEN       PERRY                     OK          90003681589
15166356591569   MARIA        DURAN                     TX          75035993565
15167164455976   MICHAEL      COOK                      CA          90010331644
15167211157147   JOSE         ARGETA                    VA          90012732111
15167616691895   ROBERT       JONES                     OK          90015326166
15168219991569   MARIA        OCONNER                   TX          90007822199
15169799255948   JEANETTE     BAUTISTA                  CA          90012277992
15172788491263   MAYFER       HERNANDEZ                 GA          90013967884
15174771957147   MODESTA      MENBRENO                  VA          90014407719
15176559531447   ANNETTE      GONZALEZ                  MO          90006205595
15176575191895   KEISHIA      MANORE                    OK          21006235751
15182715791263   KELLY        CUMMINGS                  GA          90005727157
15182943531687   CIERA        PHILLPS                   KS          90014879435
15185818491569   SANDRA       ZARAGOZA                  TX          75077378184
15188464355936   BEN          WOODS                     CA          48076524643
15189324855948   RON          MEEKER                    CA          90011333248
15191438191895   TYLER        ARCHER                    OK          90011884381
15191668355987   JESSIE       CONLEY                    CA          49083236683
15193899991895   WARDELL      BRADLEY                   OK          90015158999
15194593991569   CRUZ AIDE    ROMAN                     TX          90003435939
15197659761958   VENUSTIANO   GONZALEZ ORTIZ            CA          46074006597
15197869591895   ISOLINA      QUEME                     OK          90008088695
15197872355976   EDGAR        RUIZ-RIOS                 CA          90012528723
15199216561925   ALEJANDRO    ZAVALA                    CA          46019782165
15211147257147   GLORIA       GUADRON                   VA          90002861472
15216174957133   EVELIN       SANCHEZ                   VA          90008491749
15216182591895   CARLOS       GUERRERO                  OK          90001561825
15216447783288   DIMITRI      KOUADIO                   TX          90014124477
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15216843331676   MICHELLE      LANE                     KS          22060688433
15217127757147   AZEDDINA      ABOULHAJ                 VA          90014481277
15217173457147   ANDREW        ELLIS                    VA          90014521734
15218891833654   WYKEETA       HOLST                    NC          90014088918
15219759157147   JAMES         SMITH                    VA          90012787591
15221179791569   ISIDRO        MONTELONGO               TX          90010661797
15225134591895   SHERRY        MARTIN                   OK          90011051345
15226797691569   FELIX         VILLA                    TX          90006047976
15227778591263   ANDREA        BRITELL                  GA          90010907785
15228591431687   RAMON         RUIZ-LAVIN               KS          22067895914
15229854561958   JOHN          GANDY                    CA          90012268545
15231763157147   JOEL          ZELAYA                   VA          81038907631
15232888261958   AURORA        HERRERA                  CA          90008278882
15235796941255   LAYLA         FERBEY                   PA          90007467969
15236842255952   ANA           AVALOS                   CA          90005438422
15237238831687   CARISSA       VINCE                    KS          22018102388
15238179791569   ISIDRO        MONTELONGO               TX          90010661797
15239873991263   MARQUITA      SMALL                    GA          90014778739
15241967931687   SUSAN         STADTLANDER              KS          90014889679
15247436931687   AMPARO        LUERA                    KS          90014784369
15247873491569   GUILLERMINA   ROBERTS                  TX          90013408734
15248422131687   ALVIN L       HUBBARD                  KS          22048394221
15255767991844   AMEISHA       WAGNER                   OK          90013587679
15256638657147   MIRNA         MORALES                  VA          90013886386
15258693191554   LORENA        NATVIDAD                 TX          90010016931
15261987471935   CHERYL        CORRIEA                  CO          90001259874
15262316193724   BRANDEN       CALHOUN                  OH          64510463161
15262758561958   CHRISTIAN     PONCE                    CA          90010957585
15264754891895   SEAN          HATHCOCK                 OK          90000177548
15265721891895   TAMIRA        AUGUSTINE                OK          90014917218
15269421191895   EMILY         FREEMAN                  OK          21020164211
15269457791895   STEPHAN       JONES                    OK          90013304577
15271679391895   JEFFERY       HARRIS                   OK          90014096793
15274375731687   RAMON         HUERTA                   KS          90014903757
15275542791569   BEATRIZ       RODRIGUEZ                TX          90012275427
15276146455976   LILIA         AGUILAR                  CA          49057501464
15276175857562   MARIBEL       NUNEZ                    NM          90012661758
15276337857147   JUAN          BARROSO                  VA          90013223378
15277375731687   RAMON         HUERTA                   KS          90014903757
15278584131497   TAMIKA        RIVERS                   MO          90002955841
15279113757147   KYAW          AYE                      VA          90010771137
15281647455948   SANDRA        SARAVIA                  CA          90007076474
15284394857147   LUIS          BARILLAS                 VA          90012143948
15288948857147   JOHANNA       BONILLA                  VA          90013999488
15291428755999   MICHELLE      CELAYA                   CA          90001374287
15292872661938   ERNESTO       LUNA                     CA          90005118726
15295995791569   BLANCA        SANDOVAL                 TX          90014409957
15297825771966   SEAN          BURRITT                  CO          32016108257
15298681472435   RICARDO       CARTER                   PA          51010366814
15311241191895   BRITTANY      MITCHELL                 OK          90012012411
15312441891895   DEE           HENDRIX                  OK          90010914418
15318397991263   JAKEYA        PEASE                    GA          90012683979
15318748555976   BRYAN         WOODARD                  CA          90012817485
15319225557147   EDWIN         DELGADO                  VA          90002302255
15319615391895   TIANDRE       NICHOLS                  OK          90014956153
15321927447956   CHASITY       COX                      AR          90014599274
15323851457145   ELIZABETH     MONTANO                  VA          81063798514
15324134131687   PATRICIA      CRUZ                     KS          90003491341
15326691161938   ANDY          YANG                     CA          46086576911
15328494393725   ANGEL         FARORS                   OH          90001604943
15331165547956   KENNETH       WALTERS                  AR          24085131655
15331346961958   RUBEN         MEMIJE                   CA          46082273469
15331453491554   ROSA          URRUTIA                  TX          90003614534
15335475491569   JOSE          CONDE                    TX          90007654754
15336118447956   MARGARITO     JUAREZ                   AR          90002711184
15338962231687   RONALD        DAVILA                   KS          90014909622
15339711447956   STACY         BROOKS                   AR          24044567114
15339969391964   SESLY         CHAVIS                   NC          90011499693
15341457857147   JAVIER        SALAZAR                  VA          81073184578
15344692991569   LOURDES       ROJAS                    TX          90014526929
15345818893732   ERIC          LANDERS                  OH          64569068188
15345837131687   RONNIE        KINNAMON                 KS          22090678371
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15348391391895   GABRIEL      VAZQUE                    OK          90006333913
15352532847832   MICHAEL      RICE                      GA          90008545328
15352788191346   CHUCK        MORSS                     KS          29090557881
15354254454133   DREYLON      NELSON                    OR          90014492544
15355752857164   JAIME        ORELLANA                  VA          90001007528
15356814757147   DORA         CHAVEZ                    VA          90006558147
15357777991895   DONALD       SNELL                     OK          21096427779
15366939161958   JAIRO        SILLAS                    CA          90012619391
15371497991569   NATALIE      GUTIERREZ                 TX          90010984979
15372864791586   JOSE         GARCIA                    TX          90007098647
15373217791895   PAULA        GRADNEY                   OK          21001782177
15375427155976   JESUS        CALDERON QUEZADA          CA          90010024271
15378511891895   TIMOTHY      WHITE                     OK          90010795118
15378584557147   JERFERSON    BATEN                     VA          90009945845
15384735564183   M            A                         IA          90013857355
15384915655976   MARIA        CORRENTE                  CA          90013099156
15385277355976   JUSTINA      MARQUEZ                   CA          90013152773
15388195154152   RON          MOYE                      OR          90011891951
15397261761958   RON          ANDERSON                  CA          46006342617
15411376484347   DAVID        LARUSSA                   SC          90012463764
15411393491263   BEVERLY      HIEZELLEMAN               GA          90012843934
15411667561958   KINDRA       JAYSON                    CA          46031206675
15413855147956   STACEY       SISCO                     AR          24001478551
15414839957147   GLORIA       WILLIAMS                  VA          90010718399
15416491757147   WALTER       CORDERO                   VA          90014664917
15416613391569   LUIS         NUNEZ                     TX          90012016133
15418244357147   FAUSTINA     MOLINA                    VA          90015192443
15418284891569   HECTOR       PIEDRA                    TX          75099062848
15423676633668   RICK         MCLEAN                    NC          90009896766
15427455655976   ADELA        GONZALEZ                  CA          49035204556
15429486861958   SHANTRICE    POSEY                     CA          90012784868
15434575364183   ROB          SKOKAN                    IA          90010145753
15436418561958   OLNI         CALLAHAN                  CA          90003444185
15438437191895   TONYA        NICKLES                   OK          21031524371
15438777157147   ANDREA       SUAREZ                    VA          90010247771
15441148991895   JOSE         GUERRERO                  OK          90010901489
15441158957147   MARVIN       GRIFFIN                   VA          90012881589
15442223661938   RENZZO       RAMIREZ                   CA          90006012236
15444767255976   PATRICIA     CASILLA                   CA          90008277672
15447777791263   ASHLEY       WRIGHT                    GA          90011007777
15447972757147   DESEAN       JOSEPH                    VA          90014239727
15451349991836   MELLISE      ZACHARY                   OK          90005533499
15457624455976   MARIAH       MORENO                    CA          90015166244
15459813191895   TERRY        FUGATE                    OK          21060598131
15461322857147   MIRIAN       ALVERTO                   VA          81040033228
15462471257147   BENJAMIN     RAMIREZ                   VA          90001804712
15464126757199   MARCOS       REYES                     VA          90012231267
15464533561958   LAURA        BOZO                      CA          90012245335
15465263455976   ODULIA       GUTIERREZ                 CA          90005342634
15467155657147   CARMEL       JOHNSON                   VA          90012191556
15467856861958   PATRICIA     LONGUINES                 CA          90011518568
15468547431687   MARLENE      BROOKS                    KS          90014935474
15469843691569   ISABEL       LOPEZ                     TX          90013258436
15472146157147   JUAN         HERRERA                   VA          81005291461
15472392361938   MARIA        HERNANDEZ                 CA          46066753923
15473131591569   LUZ MARIA    REYES                     TX          90014161315
15477797761958   MELISSA      PAYAN                     CA          90010377977
15482664761938   ANNA         COTA                      CA          90000566647
15484889891569   DAVID        GOMEZ                     NM          90000418898
15491934131687   ASHLEY       MEYER                     KS          90009369341
15494759157147   JAMES        SMITH                     VA          90012787591
15494864961958   ARTURO       RAMIREZ                   CA          90012648649
15494988991944   KENISHA      TUNLEY                    NC          90001419889
15496116191838   MIGUEL       MARTINEZ                  OK          90009781161
15497364347956   JAMES        ROBB                      AR          90010393643
15498682991895   LEONEL       AVILA                     OK          90015136829
15499823631687   BRETT        MOORE                     KS          90002958236
15511712261958   LEILA        ROSALES                   CA          90008707122
15521756231676   CHANCE       HAINS                     KS          90007487562
15522181791573   ANGELICA     MARTINEZ                  TX          90011841817
15528619561958   GEOVANI      ARADILLAS MANTA           CA          90003806195
15528678631687   JEREMIAH     EDMISTON                  KS          90014946786
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15529916191573   IRASEMA      RAMIREZ                   NM          75088619161
15532469484375   DALE         BOOKER                    SC          90008194694
15533687661958   WILLIAM      RASMUS                    CA          90012416876
15533754691895   KERI         LYNCH                     OK          90011147546
15535814961958   ENES         PARRA                     CA          90013548149
15536151957147   DANIEL       MENDOZA                   VA          81040141519
15536337391895   DENNIS       WARFEL                    OK          90014503373
15536943461938   DAVID        ORTIZ                     CA          46091779434
15537456461958   MAX          SAMUELS                   CA          46065304564
15538566291569   MARIA        URIBE                     TX          90013435662
15539944691569   MARIA        GARDEA                    TX          90000229446
15545854591263   JIM          NOTE                      GA          90010688545
15545944691895   ANGEL        MORENO                    OK          90011299446
15546188257147   CARLOS       CABRERA                   VA          90012881882
15547892455976   BRIANA       WILLIAMS                  CA          90013728924
15548856357147   JUAN         CABRERA                   VA          81053598563
15549332961958   BARTOLO      TOLERO                    CA          90003203329
15551897531687   ROBERTA      DAVILA                    KS          90012708975
15552924761972   ERIC         JAGGARS                   CA          90005169247
15554756391263   XARIER       JACKSON                   GA          90007887563
15556945457147   MARLON       VASQUEZ                   VA          90011899454
15558315461958   LEANDRO      CAMPOS                    CA          90007613154
15563229991895   TONYA        MORRIS                    OK          90008122299
15563832947956   DARRA        RINGLEN                   AR          90013018329
15564337391895   JERRY        HAMILTON                  OK          90013363373
15567436291895   HERMAN       BURRELL                   OK          90009104362
15567595191569   ROCIO        SOTO                      TX          90009005951
15568769457147   MARIA        GARCIA                    VA          90010837694
15569653455976   JOSE         CORONADO                  CA          90006366534
15571142891569   DORA         ESPINO                    TX          90005031428
15571178361958   STEVEN       BLOCKER                   CA          90011041783
15572511491266   LESLIE       BOSTIC                    GA          90012455114
15572594391263   WILLIAM      MILES                     GA          90014945943
15573188457147   HEBER        REYES                     VA          90014961884
15575816757147   SILVIA       ADAIR                     VA          90014628167
15576425155976   KYLIE        LALYER                    CA          90003994251
15577263491569   MARIALUISA   ORTIZ                     NM          75014702634
15579841891569   FRANCES      GONZALEZ                  TX          90005538418
15581678391895   SUSAN        COOPER                    OK          21057866783
15584191657147   CARLOS       LINARES                   VA          90009161916
15585859891895   GEORGEANNA   ROOKS                     OK          90000838598
15587165857147   OSIA         OLDS                      VA          90014471658
15588536891993   MILTON       VEGA                      NC          90013405368
15591778391895   ANDREW       CARTER                    OK          90013167783
15592595591584   MIGUEL       BACIO                     TX          90012415955
15595278531687   CYNTHIA      BARRERA                   KS          90011072785
15595558257147   BETY         CHAVEZ                    VA          90010435582
15597798331687   MARCO        VILLARREAL-CORDERO        KS          90014987983
15599217831687   JOHNATHON    GREEN                     KS          90003402178
15599227961938   CYNTHIA      LANCASTER                 CA          46091352279
15614849747956   DANIEL       FREEMAN                   AR          90012978497
15615972461938   CRISTINA     ELLIS                     CA          46065119724
15624293255976   RICHARD      GONZALES                  CA          90014252932
15624834331687   TROY         DAVIS                     KS          90007028343
15627142157147   PEDRO        VILLATORO                 VA          90010841421
15629135691263   WALTER       OCHOA                     GA          90001311356
15629237257147   MAYRA        AGUILAR                   VA          90014362372
15629553561958   ROBERTO      HERNANDEZ                 CA          46006125535
15629582191549   ROBERTO      HERRERA                   TX          75017155821
15633596457147   JUAN         JUAREZ                    VA          90008655964
15634294557147   JOHN         GRAVES                    DC          90011782945
15634869461936   ADELINA      MONTEJO                   CA          46002088694
15635363457147   TRACEY       AUGUSTIN                  DC          90014163634
15638832455976   CRYSTAL      ALVARADO                  CA          90007808324
15641618955938   ROBERTO      NAVARRO                   CA          90008696189
15646292191569   ALEJANDRO    AVILA                     TX          90014972921
15646389161958   BARION       RAMIREZ                   CA          90012223891
15648326291569   ARTURO       CARRION                   TX          90014693262
15653362961925   EBONY        JOHNSON                   CA          90012043629
15655182457147   MEDARDO      ROJAS                     VA          90010841824
15656973461958   KENDRA       STRINGFELLA               CA          46091299734
15658492861938   HARRY        DREYER                    CA          46005934928
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15658965391927   JOHN            WILLIAMS               NC          90008989653
15665232391569   GEORGE          ROMAN                  TX          90010662323
15669543131687   MARICELA        RAMIREZ                KS          22041645431
15669592593725   CARL            DILLIAN                OH          90002725925
15669956884347   DANIELLE        FICKLING               SC          90014679568
15669972691263   CURTIS          ROBINSON               GA          90013929726
15675354957147   JOSE            LEON                   VA          90009893549
15676414361924   JOSE            CABEZAS                CA          90013774143
15676886657147   FRANCIS         QUAO                   VA          81093158866
15681197157562   JORDAN          CRAINE                 NM          90012611971
15681758491895   NATHAN          BALDEON                OK          90010017584
15682152761958   ROLANDO         ALFONSO                CA          46003811527
15684223757147   DIMAS           OROZCO                 VA          81064082237
15686354347836   MARITA          EVANS                  GA          14014653543
15686892957147   JULIO ALBERTO   MELENDREZ              VA          90011758929
15687316155976   SARINA          GARCIA                 CA          90013813161
15689526957145   LAURA           NAVARRO                VA          81007605269
15691564391263   FLORICEL        MORALES PEREZ          GA          90006445643
15692785491234   SARAH           HOLTON                 GA          14572047854
15694859491569   KARINA          PERALES                TX          90011178594
15697682591569   MIGUEL          GONZALEZ               TX          90014156825
15699364557147   ASHTYNE         REESE                  VA          90013703645
15699685133668   CARL            POTEAT                 NC          90014816851
15714852257147   IRIS            TORRES                 VA          90013468522
15714895291895   RUDY            PERAZA                 OK          90014098952
15717613361958   ESPERANZA       CASILLOS               CA          90013616133
15718141331687   OLGA            VALENZUELA             KS          90012771413
15722863555942   ALYCIA          OVALLE                 CA          90014168635
15723554461958   SSIETSE         BOERSMA                CA          46091555544
15724314431687   SHANNON         SIMONIN                KS          90008903144
15724343655976   MANUEL          TOREES                 CA          90008673436
15724763551545   JAUN            JUAREZ                 IA          90013787635
15724966857147   ROSA            MARIA                  VA          90014809668
15726438855976   ELVIS           SOLANO                 CA          90014714388
15729192171965   MERIBETH        CAMPAU                 CO          90008931921
15729771755976   JOHN            CEDILLO                CA          90014847717
15738426661957   SANDRA          BORRUEL                CA          46095644266
15739426661957   SANDRA          BORRUEL                CA          46095644266
15741348657147   KAMRAN          UDDIN                  VA          90011613486
15742578731687   ERIC            EXTON                  KS          90014995787
15743661441265   DAVID L         LUGAR                  PA          51017236614
15744754691569   GERARDO         GUTIERREZ              NM          75053417546
15745347791263   DAJUAN          BAUL                   GA          90014813477
15747139955976   PAUL            MEDINA                 CA          49090651399
15747491161958   ANTONIO         CORZO                  CA          46009214911
15748274991569   PEDRO           HERNANDEZ              TX          90006632749
15751314991569   BEATRIZ         ARGUELLES              TX          90014123149
15753427591895   EMILIO          TREJO                  OK          90015184275
15754168457147   ALEXY           RUBIO                  VA          90001441684
15756664541284   LINDSAY         JONES                  PA          51092186645
15757372991895   DWARNETTA       JOHNSON                OK          90014773729
15757889931687   PATTIE          SHUMATE                KS          90012988899
15761923591569   CESAR           MARTINEZ               TX          90013329235
15762585147956   ZORA            KENDALL                AR          24057625851
15768388991885   JOSE            MANUEL                 OK          90008763889
15768455255976   RAUL            DOMINGUEZ              CA          90014614552
15769923555976   MARTHA          GOSMAN                 CA          90001089235
15772363957147   JOSHUA          TYRE EDWARDS           VA          90009643639
15773257161938   MARCOS          CASAS                  CA          90012592571
15773837355933   OSCAR           BARRON                 CA          48009748373
15775526593725   YOLANDA         BOHANNON               OH          90011815265
15775883261987   EARL            HUEY                   CA          46065868832
15776413757147   MARIO           ORELLANA               VA          90013644137
15777288957147   BARBARIA        CRAFT                  VA          90001462889
15777742857147   ABIGAIL         GIRON                  VA          90015277428
15778832155976   ERIC            GUTIERREZ              CA          90012988321
15783421631687   JUSTIN          ARNETT                 KS          90010814216
15786758247956   ANN             DUGGER                 AR          24003157582
15788446791569   JOSE            CORONA                 TX          75043714467
15788849961938   EBONY           WARD                   CA          46052758499
15789237647956   AMANDA          WHITSETT               AR          24073462376
15789957331687   STEVI           NOVAK                  KS          90015009573
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15792712955976   BRITTNI      PELLUM                    CA          49073837129
15795455257147   MARICRUZ     QUINTEROS CABRERA         VA          90013614552
15812752791823   JORGE        RODRIGUEZ                 OK          90013977527
15812822391895   RAY          ELMORE                    OK          21086058223
15815628855932   JOSE         VEGA                      CA          90002436288
15819337461958   PAUL         VAZQUEZ                   CA          46031973374
15821383557147   JESUS        BACA                      VA          81002453835
15823929325395   JULIO        GARCIA                    WA          90015489293
15829934161958   JAMES        HODGES                    CA          90014299341
15833557761986   RAMIRO       LOPEZ                     CA          46001615577
15834756831687   HASSANI      MURILLO                   KS          90015007568
15835496591836   REBECCA A    GONZALEZ                  OK          90000814965
15837334891569   MEGHAN       MORAN                     TX          90006873348
15844637191569   KELLY        GONZALEZ                  TX          75007856371
15844797391895   DEVAIRON     GREY                      OK          90012767973
15846151761958   MARY         GRIMES                    CA          46072541517
15848645861938   JESUS        ARGUELLO                  CA          90002436458
15853274457147   CASTO        CAMACHO                   VA          81041722744
15853957331687   STEVI        NOVAK                     KS          90015009573
15855754691895   KERI         LYNCH                     OK          90011147546
15858636244353   DONNA        CAMPBELL                  MD          90014846362
15862957331687   STEVI        NOVAK                     KS          90015009573
15864435547956   JONATHAN     SEEGERS                   AR          24067924355
15866151854132   BRITTANY     TJELTVIET                 OR          90013221518
15866713757125   ANA          SANTAMARIA                VA          90007647137
15869363957147   JOSHUA       TYRE EDWARDS              VA          90009643639
15876392155976   LUIS         VARGAS                    CA          90009013921
15877745755976   MANUEL       ORTIZ                     CA          49006617457
15877773391895   RAYNEAR      HERRIN                    OK          90010457733
15878979891569   ODETTE       RUIZ                      TX          90006559798
15884568991895   RUBY         BLOTZER                   OK          21033955689
15886641291263   GAIL         ARMSTRONG                 GA          90014696412
15887178591569   NADIA        NEVAREZ                   TX          75033751785
15888558361958   VIRIDIANA    LARA                      CA          90015095583
15888574257147   JOSE         DIAZ                      VA          90012645742
15888929571923   GWENDOLYN    VALDEZ                    CO          90010249295
15889237961958   LEONOR       LOEZA                     CA          46023782379
15889956291569   VERONICA     CHAVEZ                    TX          90011949562
15895723157147   MARIA        CRUZ                      VA          90002757231
15895916555976   LU           XIONG                     CA          90013209165
15896178661958   RAY          SARABIA                   CA          90010961786
15897455957147   MICHAEL      LYNCH                     VA          90015614559
15898974355976   DMITRY       D PALMS                   CA          90015059743
15912242193732   JOSE         BAEZ                      OH          90009982421
15912599991263   GLORIA       JOHNSON                   GA          14573785999
15913172785823   NALLELA      RIVERA                    CA          90013141727
15913237791895   ANGELA       EDWARDS                   OK          90006962377
15913991931687   REBA         HINES                     KS          22003789919
15914289793763   REGINA       ADAMS                     OH          90007732897
15915988757147   KATIA        MENDEZ                    VA          90014629887
15916775791569   OSCAR        MARTINEZ                  TX          75030077757
15917396861958   EDDIE        RAMIREZ                   CA          90010333968
15919285841455   LUKE         HARTUNG                   WI          90013042858
15919494361938   LUIS         CRUZ                      CA          46017694943
15919912291569   SILVIA       HERNANDEZ                 NM          75027039122
15924916791263   DYSHANELL    PEEK                      GA          14558519167
15927172785823   NALLELA      RIVERA                    CA          90013141727
15928835355932   JULIA        URIVE                     CA          90014048353
15928969857147   CASSANDRA    FALLS                     VA          90012799698
15933466431687   DALE         MCLOUD JR                 KS          90012024664
15933926191263   WANDA        DUNN                      GA          90014139261
15934162157147   RANDY        DAVIS                     VA          81019751621
15934334591895   ESMERALDA    LOERA                     OK          90008123345
15935652685823   HOWARD       HOUGH                     CA          90005656526
15937177561958   CHRISTIAN    ALVAREZ                   CA          90014441775
15937352191895   BRANDON      BENNETT                   OK          90008573521
15937534491526   VERONICA     CRUZ                      TX          75018045344
15937949255976   KEFE         WILLIAMS                  CA          90012919492
15937975391895   FERNANDO     RODRIGUEZ                 OK          90014779753
15938868257147   ASUZENA      EZQUIVEL                  VA          90014948682
15939251857147   MARIA        VEGA                      VA          90014522518
15941496657147   BILAL        ABDAS SABUR               VA          90011704966
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15944178661958   RAY            SARABIA                 CA          90010961786
15945968191895   TIMOTHY        JOHNSON                 OK          21026829681
15947479555976   JOSE           GONZALEZ                CA          49016724795
15947895591895   NARCUS         MAURICE                 OK          90010478955
15948817257147   CORLISS        FERRIS                  VA          90012188172
15949937331687   GARY           NAIL                    KS          22065689373
15951745761958   LISETTE        CARRILLO                CA          46018127457
15952463991895   SAIRA          GARCIA                  OK          90009904639
15952534491526   VERONICA       CRUZ                    TX          75018045344
15952588661958   JOSE ANTONIO   GOMEZ-FAJARDO           CA          90012165886
15953266361958   BRIANA         JONES                   CA          90013952663
15953832361958   ROSIE          CASTELLANOS             CA          90012568323
15953935891569   ADOLFO         CHACON                  TX          90005409358
15955145561958   BRENDA         ORTIZ-GONZALEZ          CA          90014801455
15957917531687   JENNIFER       CEBALLOS                KS          22014879175
15958272631476   VERA           ROSS                    MO          90008852726
15961437455976   SHANIKA        LEE                     CA          90008354374
15961599591263   CHARLIE        CROWLEY                 GA          90011915995
15966924657147   CARLOS         ZEPEDA                  VA          90003479246
15969172891263   CHRIS          HARGROVE                GA          90010671728
15971979171959   GREG           ARGO                    CO          32007289791
15973291461958   LAURA          RODRIGUEZ               CA          90015062914
15974445961958   JOSE           SMITH                   CA          90013974459
15975965657147   ERIC           PARKER                  VA          90005659656
15976878193767   RYAN           BOYLES                  OH          90001728781
15982469961958   JULIANA        BERGARA                 CA          90010904699
15983116155976   ROBERT         THAO                    CA          90013111161
15984933455976   ALVARO         ZAPIEN                  CA          90012979334
15992197491569   DANIEL         CURTIS                  TX          90013861974
15997163257592   FREDERICK      SIMPSON                 NM          90011901632
15998163557192   CRISTIAN       TOBAR                   VA          90008521635
15998375391263   LATRELLE       BROWN                   GA          14509273753
16112652193732   DANIELLE       WALTERS                 OH          90012376521
16114665193767   LADONA         MCKINNEY                OH          90010246651
16116553561976   ISIAH          BUGGS                   CA          90013905535
16116978893745   MATTHEW        HICKS                   OH          90005769788
16118128755976   CHUE HUE       HER                     CA          49076371287
16119168955965   ANTONIO        SOSA                    CA          90008811689
16119738561976   PASQUAL        MENDOZA                 CA          46034787385
16122699451337   LARRY          COLE                    OH          66048926994
16123674751337   DANNY          MILLER                  OH          90012476747
16124312861976   REIKO          MUNOZ                   CA          90013203128
16124596357147   LESBIA         GOMEZ                   VA          81090595963
16124939761976   REIKO          MUNOZ                   CA          90001499397
16125981391867   RIA            PATINO                  OK          21000869813
16126899231687   JARDI          COMELLAS                KS          90010238992
16127252755965   PEDRO          BARAJAS                 CA          48037462527
16127413961958   RAMON          CAMPOS                  CA          46099204139
16127656661938   CINTHIA        PONCE CARRIZOZA         CA          90011756566
16128493757147   MARCELO        ARCE                    VA          90012734937
16129881161976   SEBASTIAN      SPIKES                  CA          90012668811
16131379933656   EULALIO        MARTINEZ                NC          90011143799
16132449461938   MIRIAM         WILLIAMS                CA          90003754494
16133224255976   MARIA          ORONA                   CA          49015412242
16134235555965   ALICIA         GOMEZ                   CA          90014012355
16134382455976   MELISSA        SANTILLANEZ             CA          90004193824
16134936157124   JUAN CARLOS    VARGAS                  VA          90005059361
16136712563628   KENNY          FETSCH                  MO          90014937125
16139129955976   JAMES          PATTERSON               CA          49086391299
16139844991569   ANDRES         OLIVARES                TX          90010138449
16141277976925   ZAQUARIA       WILLIAMS                MS          90014132779
16141531755976   MICHAEL        MABRY                   CA          49033735317
16142667591569   PAULINE        RUELAS                  TX          90010746675
16146241891244   LATOYA         WHITE                   GA          14517162418
16146463991569   ANDREA         RIOS                    TX          90002664639
16147582225386   BRIANNE        ESCOBAR                 WA          90013185822
16149919363628   STUART         SPAHN                   MO          90010299193
16151523257147   JOHANTA        INGLES                  VA          90014855232
16152526951337   JOSE           GARCIA ROSAS            OH          90013855269
16152611261938   IBRAHIMA       BA                      CA          90013806112
16153263861938   LAVELL         PAYNE                   CA          46038432638
16153611993745   JENNIFER       DYE                     OH          90008166119
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16153873461976   LAURA           LEDEZMA                CA          90012728734
16154198491569   AIDA            GRACIA                 TX          75045191984
16155621657147   HENRRI          PORTILLO               VA          81012326216
16155814791263   JACQUELINE      ECHOLS                 GA          90011258147
16156157261976   ORLANDO         RUVLACABA              CA          90011931572
16157527655976   ELLOA           CRUZ                   CA          90014155276
16157813231687   RONNIE          CURTIS                 KS          22013988132
16157919363628   STUART          SPAHN                  MO          90010299193
16158944161976   RENEE           ACEVEDO                CA          90004799441
16158985993725   THEODORE        DENSON                 OH          90011469859
16159629355965   ELIZABETH       GRIJALVA               CA          90014586293
16161145893745   SHERRY          KIESTER                OH          64587921458
16161719361976   JERSON          ABURTO                 CA          46088817193
16161936155965   NOEMI           VAZQUEZ                CA          90015269361
16164132361958   CHRISTIAN       MORALES                CA          90009161323
16164442591569   KEDRIC          WILLIAMS               TX          90010264425
16164543951337   TRECIA          ORTIZ                  OH          66003825439
16164929191962   EDMUND          BOYD                   NC          90005389291
16165841761958   YESENIA         BUSTAMANTE             CA          90015188417
16166568261976   CAROLINA        GONZALEZ               CA          90007015682
16167657547956   STEPHEN         HUGHES                 AR          90014586575
16169138193745   MICHAEL         FOGT                   OH          90005951381
16169757726758   JOLENE          LECK                   PA          90013207577
16169862251337   JENNIFER        EUBANKS                OH          66028378622
16171558157147   THAO            VU                     VA          90014675581
16173379947956   MELINDA         HAY                    AR          90014163799
16175337155965   MARIA           DE JESUS               CA          90000943371
16176927291526   RICARDO         MEDINA                 TX          90004229272
16177126157147   JOHN            WILLIAMS               DC          90012051261
16177891251337   BONIFACIO       JIMENEZ                OH          66008198912
16177948361976   LISA            BROOKS                 CA          46060559483
16181118591569   LANGLET         ELVA                   TX          90006911185
16182514355965   ADRIANNA        DORAME                 CA          48011955143
16182814461938   JOSE            MARQUEZ SR             CA          90010468144
16183278661958   JUAN            MUNGUIA                CA          46009422786
16185379947956   MELINDA         HAY                    AR          90014163799
16186914247956   STACY           WRIGHT                 AR          90006169142
16187369161958   ANGELICA        HERNANDEZ              CA          46061993691
16187883447956   KIMBERLY        SUTER                  OK          90006518834
16189242157147   ASSIE           NVODJO                 VA          90011262421
16189659271976   JO ANNASTACIA   GAGE                   CO          90013326592
16189954261976   ELIAS           LEYBA                  CA          90004529542
16189968151337   SIERRA          KLEINMANN              OH          66080829681
16193134661958   FRANK           VALENZUELA             CA          90012471346
16194541531687   LORENA          CHAVEZ                 KS          90014765415
16194872147956   DYLAN           YOUNG                  AR          90002568721
16195513791263   LUCY            GINN                   GA          90014175137
16195581293745   DARLA           WILLIAMS               OH          64563105812
16195846557147   JOSE            GONZALEZ               VA          90014888465
16196365757147   HERNAN          CUELLAR                VA          90003273657
16197969391895   DEVIN           BATES                  OK          90007429693
16198739291569   ELISEO          GALVAN                 TX          90014537392
16199681257147   MARICELY        GONZALEZ               VA          81042866812
16212193531687   LADASJA         SAUNDERS               KS          90014771935
16212692493745   OPAL            ARNETT                 OH          90014716924
16213113957147   CLAUDIA         PORTER                 VA          81094351139
16214433157147   ROGER           TAPIA                  VA          90014324331
16216183961958   IVAN            DODGE                  CA          90015521839
16216298255976   ANDREW          COTA                   CA          90013362982
16217629761976   ROSA            GALVAN                 CA          90001786297
16218463561976   GABRIELA        ORTEGA                 CA          90010884635
16219266855976   MANUEL          SERRANO                CA          49009262668
16221186691895   KRISTINA        GRISMORE               OK          90001611866
16221315571967   WILLIAM         TRUJILLO               CO          38066283155
16221669991263   SONIA           ELLIS                  GA          90014406699
16222186591569   LUIS            SARMIENTO              TX          75076251865
16222553555965   DOLORES         CONTRERAS              CA          90013715535
16224333647956   OLLIE           JONES                  AR          24040693336
16226154885999   BRENT           SCUDDER                KY          90003981548
16226329161976   MARCOS          RODARTE                CA          90004363291
16226446961958   PATRICIA        SAUCEDO                CA          90005054469
16226824955965   JOSE            REBOLLEDO              CA          90013788249
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16227212347956   JOSE                    OSVALDO         AR         90014182123
16228693291895   TANA                    DODD            OK         90014866932
16233678191569   JULIO                   LEDEZMA         NM         75047896781
16234146391895   ANGIE                   PITTS           OK         21075571463
16239639793768   REMONE                  PASINGER        OH         90008506397
16243737347956   RUBEN                   VARGAS          AR         24011227373
16243855591895   WENDY                   GRESSCORDERO    OK         90014728555
16244215961925   JESUS                   OCAMPO          CA         90012632159
16244748861938   BETTY                   WILSON          CA         90001537488
16245251657199   ALEJANDRO               NAVARRO         VA         90008172516
16245767691569   JUAN                    SALCEDO         TX         75095857676
16246291755965   ASHLEY                  LERMA           CA         90012832917
16246348291263   KATHERINE               JASMAN          GA         90014033482
16246547561976   CLYDE                   WILLIAMS        CA         90008005475
16247336931687   TINA                    WILSON          KS         90014773369
16247935751337   AVOANELL                HEUBER          OH         90015309357
16248364491895   CLAUDIA                 ANDASOLA        OK         90009293644
16249233247956   MIRTHA                  VELASQUEZ       AR         90011842332
16249838661958   FLOR                    RAMOS           CA         46004848386
16249994391569   JONATHAN                SAMANIEGO       TX         90012719943
16252476191895   SANTOS                  BANEGAS         OK         21088764761
16253186261958   DWAYNE                  CREWS JR        CA         46038361862
16253391791895   MAEJEAN                 MCGUIRE         OK         90015113917
16254556947956   CHRISTY                 MARTINEZ        AR         90014185569
16254748457199   CRYSTAL                 GRAY            VA         90005137484
16254819657147   DEYSI LORENA            LOPEZ           VA         90012798196
16254889391569   DORA                    ARMENDARIZ      TX         90002428893
16256853891584   LORENZO                 BACA            TX         75067668538
16259859161958   REX                     SHEPHERD        CA         46067968591
16259943191569   LETICIA                 RIVERA          TX         75026739431
16261353791569   PAULETTE                ZARAGOZA        TX         90012643537
16262332557147   GILMA                   LOPEZ           VA         90013263325
16262353755974   LUCY                    BANUELOS        CA         90002083537
16263618991952   CHARITY                 WASHINGTON      NC         90011996189
16265619957147   FANNY                   GARCIA NUNEZ    VA         90014996199
16266548243588   MARIA                   BATRES          UT         31014405482
16266548961976   VARINIA                 HAYNIE          CA         90009675489
16267444461976   CHRYSTIAN               RIOS            CA         90010904444
16268381933656   YOLANDA                 MINTER          NC         90014553819
16271259491569   LUPE                    RAMIREZ         TX         75088252594
16271451261938   LUCI                    SALGADO         CA         90011764512
16271591657147   ADAN                    VELASQUEZ       VA         81079625916
16272257991895   LORENA                  RUIZ-TAMAYO     OK         90010002579
16272279593725   QKEONNA AJJA DESPINNA   MCCAIN          OH         90013742795
16272382561992   ANNA                    CONTRERAS       CA         90005953825
16272513861976   LUCIO                   GUZMAN          CA         90014735138
16274517461976   EDGAR                   FLORES          CA         90014735174
16275481761976   LARON                   PORTER          CA         90013384817
16277567961976   JOYCE                   MOODY           CA         46006755679
16277828955965   JOANN                   FLORES          CA         90010378289
16278669761938   SEXTON                  LAKESHA         CA         46068906697
16281186191263   LINDA OR LESTER         HINTON          GA         90014691861
16281986154133   DREYLON                 NELSON          OR         90015389861
16282288647956   ROBERT                  MOSS            AR         90014852886
16283315155965   KARINA                  IBARRA          CA         90013893151
16283882861958   VIVIANA                 ROBLES          CA         90012768828
16284958561976   JEANETTE                RAMIREZ SMITH   CA         90012839585
16287229655965   LUIS                    GUTIERREZ       CA         48049982296
16288372461938   ARTURO                  MARTINEZ        CA         46007053724
16289685855965   DIANNE                  BILLGREN        CA         90014916858
16289722155976   TODD                    CORNELL         CA         49085517221
16291783355965   JAIMEN                  ROSALES         CA         90008677833
16292346355976   CHRISTINA               EVERHART        CA         90005233463
16293327351337   OBRIAN                  HARMON          OH         90014483273
16293343555976   JOSE                    MARTINEZ        CA         49057013435
16295783733647   MEGAN                   MCALLISTER      NC         90012787837
16297198657562   KRISTINA                STOLTENBERG     NM         90012631986
16297484561987   CHRISTOPHER             GASTELUM        CA         90006864845
16298371491263   WELL                    HOLMES          GA         90014273714
16311696855965   EDGAR                   MARTINEZ        CA         48059486968
16316258491895   SCOTT                   SMITH           OK         90001192584
16316435155965   ROBERT                  SANCHEZ         CA         90013184351
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16317975591895   MARIA            NUNEZ                 OK          90015309755
16318517461976   EDGAR            FLORES                CA          90014735174
16319993161958   MARIANA          GONZALEZ              CA          46064079931
16321379491895   STEVE            CRUZE                 OK          90009423794
16323928961976   ISAI ASCENCION   GARCIA RIVERA         CA          90012729289
16324151571966   SAMANTHA         DIAS                  CO          32001091515
16325346691263   ALVIN            WILLIS                GA          90012173466
16327296961934   LESLYE           QUIRINO               CA          90013982969
16327969557147   LUIS             LANDOS                VA          90005069695
16332885657147   RONY             CABRERA               VA          90008058856
16333678533668   WESLEY           MARTIN                NC          90013156785
16333811631687   NAKISHA          CARRASQUILLO          KS          90007588116
16335526361976   ISMAIL IBRAHIM   AHMED                 CA          90014735263
16336628161996   DAVID            OLIVEIRA              CA          46044046281
16338139957147   WALTER           MORALES               VA          90002981399
16338855547956   LESLIE           BIBLE                 AR          90006018555
16339932357147   CHOLI            SINDI                 VA          90009399323
16341578361976   FRANIA           CERVANTES             CA          90005585783
16341674357192   JULIO            ORTIZ                 VA          90011416743
16343629431687   ANDREA           BUSH                  KS          22086726294
16343981955976   GEORGINA         FERNANDEZ             CA          49014889819
16345759291895   ROSA             SALASZA               OK          90000967592
16346575431687   DANIELLE         DAVIS                 KS          90014785754
16346758857147   ROXANNE          AZMOUDEH              VA          90015317588
16347429661958   MICHAEL          FLORES                CA          46006674296
16347694261976   ISABEL           MARTINEZ              CA          90012736942
16349135961976   EMILIANO         HERNANDEZ             CA          90013971359
16349487657147   MAMANI           ROSANA                VA          90011274876
16349614455965   FERNANDO         NAVA                  CA          90014596144
16353352655933   DENISE           MENDOZA               CA          90014643526
16353577491895   CANDANCE         KELLER                OK          90010195774
16354423791569   TIFFANY          CANO                  TX          90014104237
16355845755965   ANGELINA         CANTU                 CA          90001118457
16356297441265   KELLY            SEDLAK                PA          90002682974
16357746561958   LATOYA           JOHNSON               CA          90014717465
16358131961938   BRENDA           GONZALEZ              CA          46025961319
16361961693783   MICHAEL          VENCILL               OH          64578369616
16362592561938   MARCEL           NAVALLEZ              CA          46010415925
16363464391569   LUCAS            ROCHA                 TX          75020594643
16364822347956   LIZET            IBARRA                AR          90015068223
16367197591569   MARIBEL          HERNANDEZ             TX          90014081975
16367759657147   AMUSCHETTE       BROOKS JR             VA          81041147596
16368971555965   ENRIQUE          RODRIGUEZ             CA          90012519715
16369734891569   DENIS            VIZCARRA              TX          90011477348
16369923555965   ISENIA           SOLIS                 CA          90007219235
16371353991569   ALBERTO          AMBRIZ                TX          90014943539
16372169633656   JAMES            MACK                  NC          90010031696
16372769157147   DANIEL           MORALES               VA          81097977691
16374237655976   VALERIE          FIERRO                CA          49095412376
16374295291569   ISABEL           VALDEZ                TX          75061422952
16374811755965   JUANA            SANCHEZ               CA          48065208117
16378365931426   SHAWNTELL        MILLER                MO          90006523659
16379723261976   GILDARDO         ANDRADE               CA          90011197232
16382555461976   KARLA            URBINA                CA          90014735554
16383333443588   HEIDIN           JENSEN                UT          90010193334
16383367555965   JESSICA          FINCH                 CA          90009773675
16383919551358   LEAH             MCCAFFREY             OH          90011899195
16384654391569   RICHARD          AGUILAR               TX          90008706543
16385265391895   MELODY           CONLEY                OK          90013692653
16386436461976   SONIA            MORENO                CA          46012394364
16387468591895   AMBER            SNODGRASS             OK          90014714685
16388385891569   MARIA            HERRERA               TX          90004963858
16388467961958   VICTORIA         CARMONA               CA          90011564679
16389652891569   ERIC             SIGALA                TX          90013096528
16392793761979   BIANCA           CAMPOS                CA          90006027937
16392843861938   AMALIA           URIBE PADILLA         CA          90011768438
16393592555965   JOSE             VALENCIA JR           CA          90009825925
16393977891827   SERGIO           VERAPALMA             OK          90014289778
16395999155976   JAVIER           RAYON-NAVA            CA          90012919991
16396853961976   ARMANDO          SOSA                  CA          46082728539
16396941691895   CHARLIE          CHILDS                OK          90008679416
16397925655965   LUIS             HERRERA               CA          90011869256
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16399499655965   CHRISTINE    AROCHA                    CA          90014414996
16399691255965   TERRI        ESPIRITO                  CA          90003366912
16399958561976   JEANETTE     RAMIREZ SMITH             CA          90012839585
16412866791569   ALEJANDRO    CARDENAS                  TX          90005028667
16412999157147   ARACELY      SALGUERO                  VA          81077999991
16415388884332   NICOLE       BANKS                     SC          90010263888
16418399361976   GERARDP      SALDANA                   CA          46001033993
16421377455976   HASMIK       SIMONYAN                  CA          90010713774
16422672161976   CRISTINA     GUERENA                   CA          90009676721
16424141555976   LUCY         GARCIA                    CA          49022241415
16424899791263   GALE         KIDD                      GA          90008498997
16425341347956   JEFFERY      NICHOLS                   AR          90011303413
16427368551337   CATHY        FARRIS                    OH          90011233685
16427655291895   ROSILAN      DEVERS                    OK          90009446552
16427777377567   PAULA        DAVIS                     NV          90006577773
16428425355976   JODY         TILLEY                    CA          49092614253
16428639391569   NOEMI        CEBALLOS                  TX          90009646393
16428833761938   LEEANN       VOCKEROTH                 CA          90004508337
16429568691263   QUARZELL     TAYOR                     GA          90014975686
16429715691569   ADRIAN       ULLOA                     TX          90011317156
16433493691547   SAMANTHA     HARPOON                   TX          90011204936
16433611491569   NOEMI        CHICO                     TX          90010396114
16433881393763   CYNTHIA      SCOTT                     OH          90012028813
16437764755965   TIFFANY      HILDEBRANT                CA          48078357647
16438485963628   FRANK        DUBAY                     MO          90011014859
16441191255976   GABRIEL      ENRIQUE                   CA          90013371912
16443561931687   DELILAH      SCHAUF                    KS          90002385619
16445264291569   CARDONA      GISELA                    TX          90007422642
16446177491227   MAURISE      WILLIAMS                  GA          90001001774
16446787931687   ABDILWALI    MAHOMED                   KS          90011747879
16448429661958   MICHAEL      FLORES                    CA          46006674296
16449471757147   JULIO        CARRILLO                  VA          90004864717
16449771847956   JUSTIN       TURNER                    AR          90014587718
16451135661958   JESSICA      MONTEBELLO                CA          90012161356
16451346455965   MARIA        ANDRADE                   CA          48063723464
16452492955976   REANNA       GALLYER                   CA          90015234929
16452554291569   LUIS         ORTEGA                    TX          75005425542
16453843961958   MARTINA      BENAVIDES                 CA          90002048439
16454958847956   JANE         CLEVELAND                 AR          24060539588
16455698893724   TARA         WALL                      OH          90006266988
16455799431687   LATISHIA     SCOTT                     KS          90014197994
16456519951337   DANIELLE     LETCHWORTH                OH          90013355199
16458584851337   BRUNO        BERTRAN                   OH          90013275848
16459156361938   ANA          GUZMAN                    CA          90012311563
16459867161958   LEON         FOLEY                     CA          46090888671
16461443857147   ALBA         RODRIGUEZ                 VA          90005914438
16461754847956   SHAWN        DAVIS                     AR          24019457548
16463847493723   TAMMY        BREWER                    OH          64576968474
16463863457147   EDWIN        RAMOS                     VA          90012938634
16464558947956   CATHY        WILSON                    AR          24088575589
16466498247846   ANGELA       ROZIER                    GA          90003504982
16468881672476   MILISSA      FLEISCHER                 PA          90014708816
16471989955965   EDDY         HERNANDEZ                 CA          90014779899
16472687451337   AMY          NAEGELE                   OH          66015766874
16474932361938   LETICIA      VEGA                      CA          46053189323
16475264984337   ISIDRO       GONZALEZ                  SC          19055112649
16475669261958   ANTHONY      JACKSON                   CA          90009046692
16475971955965   RACHEL       BINNING                   CA          48044669719
16476181455976   MINERVA      CHAVEZ                    CA          90014741814
16476725151337   TAPRICA      MOSLEY                    OH          66098287251
16477717791569   NOEMI        BARRAZA                   TX          90012427177
16478283961958   JACKELYNNE   ORTIZ                     CA          90014742839
16478985484375   KARMEN       MCCOMBS                   SC          90014719854
16481184657147   ADOLFO       MARADIAGA                 VA          90007011846
16484583231687   SETH         SHEPHARD                  KS          90003415832
16485351657147   EFRAIN       SAVALA                    VA          81091413516
16485649761938   LUPITA       BENITEZ                   CA          90012806497
16487234355976   PATRICIA     CORTEZ                    CA          90014572343
16487471757147   JULIO        CARRILLO                  VA          90004864717
16488939191895   MARY         ALLEN                     OK          21088259391
16489956455976   SYLVIA       CHATMAN                   CA          90013749564
16492656931687   MICHELLE     CARTER                    KS          22006156569
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16493654861976   FRANK           BARRETT                CA          46098596548
16494632591569   RENE            SEPULVEDA              TX          75093536325
16495783255965   MARIA           RIOS                   CA          90011227832
16496879955965   CHRIS           GOMEZ                  CA          48043658799
16497691361958   MANUEL          LUPIAN                 CA          90000626913
16498581791569   RAUL            GARCIA                 TX          90009565817
16511363655976   ALEXIS          ESQUIVEL               CA          90001203636
16512238791826   ELFIDO          GABRIEL                OK          21035772387
16512496661938   NORBERTO        LOPEZ                  CA          90011774966
16513553961976   TL              WILLIAMS               CA          46085795539
16513875457122   SONIA           REAVES                 DC          90012778754
16515371491569   MIGUEL          GARCIA                 NM          75007033714
16515562792826   ABRAHAM         CORTES                 AZ          90009565627
16516179661958   SERGIO          LOPEZ                  CA          46090891796
16517188491263   BRITTANY        KENNEDY                GA          90011891884
16517398591895   BETTE           LANKFORD               OK          90012493985
16517571155976   GRACIE          SABA                   CA          49070965711
16518381933656   YOLANDA         MINTER                 NC          90014553819
16518924391895   QUINTON         LAMBERT                OK          90013159243
16519818742559   JENI            SCOTT                  WA          90015398187
16519854591895   BRANDY          DUNCAN                 OK          90000518545
16521985591263   SANDYBELL       MALAVE                 GA          14596229855
16525799391895   KELLI           MCCALL                 OK          90007917993
16525882157147   JORGE           BAQUERO                VA          81001378821
16526518357147   CANDIDA         MUNGUIA                VA          90013395183
16527825555965   JUAN            CUEVAS                 CA          48043118255
16528135661958   JESSICA         MONTEBELLO             CA          90012161356
16531259961965   PAUL            MORALES                CA          90008602599
16531316561958   ISIS            PENA                   CA          90013983165
16532944955965   MARIA           PONCE                  CA          48076819449
16533731191569   DANIEL          GUERRERO               TX          75089167311
16535937731687   ROBERT          HOOD                   KS          22070779377
16536622761976   JOSEPH          BARCELON               CA          90005016227
16536882961938   SYLVIA          HUGGINS                CA          90013708829
16539549557147   JESUS           SANCHEZ                VA          90011575495
16541484861976   LUZ             PENA                   CA          90014894848
16543254457147   MIGUEL          MARTINEZ               VA          90006542544
16543478751337   DARLENE         MILLER                 OH          90014414787
16545843993778   DORA            OWENS                  OH          90000858439
16549136361976   LUIS            FLORES GODOY           CA          90012751363
16551621355976   FAVIOLA         LARA                   CA          90013976213
16551752393732   JACQUELINE      SCOTT                  OH          90009847523
16552298751337   JANICE          SCHAFER                OH          66097512987
16552552161976   GABRIELA        EZPARZA                CA          90013815521
16553791661976   KEITH           HARRIS                 CA          90012917916
16554769791895   DANIEL          DEO                    OK          90014557697
16555947555965   REYNA-JULIETA   GONZALES-LUNA          CA          90010139475
16556259231687   CYNTHIA         SHAW                   KS          90014802592
16556716771982   JUAN            ARIAS RIVERA           CO          90005777167
16557172261958   BRISA           GUTIERREZ              CA          46021431722
16557259231687   CYNTHIA         SHAW                   KS          90014802592
16558695455976   STEVE           HANES                  CA          90000396954
16561583731687   ANTHONY         TAYLOR                 KS          90014795837
16562989947956   JILL            WILLIAMS               AR          90010299899
16563589131687   KRISTOPHER      WALKER                 KS          90014795891
16564953371976   DUSTIN          BARRETT                CO          90011369533
16565637147956   ROSA            MONTERROSA             AR          90004886371
16565958542579   JOHN            HERDRICKSON            WA          90015389585
16569276461958   NORMA           ACEVEDO                CA          90001122764
16572162291263   NICOLE          LARRY                  GA          90011271622
16573778761976   NELLY           CANEDO                 CA          90013047787
16573927191895   JULIO           DE LA CRUZ             OK          90012589271
16574988451337   RADHA           SAPKOTA                OH          66077199884
16578272191569   ISMAEL          CEPEDA                 TX          90011202721
16578892447956   DONNIE          SANDERS                AR          90014638924
16579112591346   DIANA           HENNIGER               KS          90011481125
16581148147956   RICHARD         SMITH                  AR          90011321481
16581932357147   BLANCA          SORTO                  VA          81045519323
16581959491569   CARMEN          CALDERON               TX          90009709594
16581998151337   GERMANINE       HILLARD                OH          90013629981
16582137261958   ABRAHAN         CISNEROS               CA          90013231372
16583646647956   TAJUAN          JOHNSON                AR          90015186466
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16587291355976   ALEJANDRO    ULIBARRI                  CA          49066132913
16587933286463   BRANDON      FREMAN                    SC          90014029332
16588183661976   MARICELA     BOGARIN MENDEZ            CA          90013081836
16589179861938   DAVID        DUBIEL                    CA          46036701798
16592824455965   KRISTY       BALLARD                   CA          90008858244
16595263991569   ANGELA       MARQUEZ                   TX          75076282639
16595923955976   ROSIE        VERDUZCO                  CA          90003989239
16596954961938   OSWALDO      TRINIDAD                  CA          46092349549
16599424857147   MARISOL      LOPEZ                     VA          90011244248
16611381431687   AMBER        CALHOUN                   KS          90014803814
16612139355965   ROCIO        ROMAN                     CA          90002821393
16614745861976   JAIME        DIAZ                      CA          90007127458
16617361847956   NICOLE       GRAZIER                   AR          90014643618
16617563757147   ALI          SHAHZAD                   VA          90013005637
16617865661934   ALONDRA      RODRIGUEZ                 CA          90012348656
16618434691569   MIRIAM       OLIVAS                    TX          90004734346
16618873555976   PEARL        REYES                     CA          90012878735
16619823991895   JOANNE       HAMMONS                   OK          21083898239
16619999155976   JAVIER       RAYON-NAVA                CA          90012919991
16624769355976   RANDA        MCEWEN                    CA          90014937693
16625214161976   JUAN         SANCHEZ                   CA          90012572141
16625478651337   KEYNU        STRICKLAND                OH          90014724786
16625687591569   MARTHA       DOEING                    TX          90013206875
16631532551364   LAWRENCE     WALKER                    OH          90013005325
16632165847956   KRESHA       CRISP                     AR          90002121658
16632444791569   TROY         JOHNSON                   TX          90004974447
16637976455976   PRISCILLA    BAL                       CA          90009199764
16641732761976   FERNANDO     CACHO                     CA          90009887327
16641873461958   TERESA       SARDA                     CA          90009608734
16643452891569   ROSALVA      GUEREQUE                  TX          90012884528
16643648447956   REYES        FERNANDO                  AR          24049326484
16645831655976   SILVA        PIMENTEL                  CA          49097058316
16646769361938   TINA         CORD                      CA          46094057693
16647151791263   COURTNEY     DAVIS                     GA          90014931517
16648732761976   FERNANDO     CACHO                     CA          90009887327
16649448655976   FERNANDO     ESPINOZA                  CA          90015114486
16653876755976   RENE         MARTINEZ                  CA          90012878767
16654889391569   DORA         ARMENDARIZ                TX          90002428893
16655583391569   EILEEN       SAVEDRA                   TX          90010065833
16656817555976   KAREN        GILL                      CA          90013328175
16661847347956   REGINA       DAWS                      AR          90014658473
16663554161938   STEVEN       SAILORS                   CA          46042055541
16665471561976   SANI         MAROOKI                   CA          90004964715
16665757855965   ROXANNE      WILLIAMS                  CA          48010667578
16666276455976   RACHEL       OLNEY                     CA          49081292764
16666658955963   KRISTI       MOTTY                     CA          90011456589
16667814251337   DUSTIN       TUCKER                    OH          66038208142
16668417661958   MANUELA      JIMENEZ                   CA          46052554176
16668553851337   LEONEL       LOPEZ                     OH          90011235538
16669682661976   JAZMIN       HERNANDEZ                 CA          90014736826
16669756891569   ERIKA        VARGAS                    TX          90012867568
16673731151337   VASILIJUS    BORISAS                   OH          66003997311
16674574257147   RUTH         INGLES                    VA          90014855742
16675196471967   LIBRADA      CAMPOS                    CO          90011511964
16676222993758   KEVIN        HEDRICK                   OH          90014542229
16676747891895   FELICIA      DOUGLAS                   OK          90014627478
16678891131687   JOEL         BELL                      KS          90009698911
16678994991569   MICHELLE     VARELA                    TX          90009599949
16679259961976   ZANDRA       WARREN                    CA          90012752599
16679874761994   RAUL         ALFARO                    CA          90011148747
16679948147956   ELIZABETH    LINCKS                    AR          24000149481
16681744457147   MEKDES       ERKYINUN                  VA          90011587444
16682688991569   ROMEL        ROSALES                   TX          90013726889
16682865955965   ERIKA        GARCIA                    CA          48021718659
16683343291263   TANIKA       VANNOY                    GA          90013643432
16683759455965   DEYANIRA     MORENO                    CA          90010687594
16684231761938   LUKE         SHORT                     CA          90006872317
16685216461976   WILLIAM      ROBERTS                   CA          90013982164
16687969555965   CHERYL       MOSS                      CA          48017459695
16688746855976   LEWIS        CLYDE                     CA          90012477468
16688934257147   YAMIL        MACARIO                   VA          90014939342
16689538391569   MANUEL       CHAVEZ                    TX          75023745383
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16691744457147   MEKDES       ERKYINUN                  VA          90011587444
16692296961958   DEEDEE       CAMERON                   CA          90012112969
16692861291569   MARGARET     PATRICK                   TX          75058398612
16693289461976   JESUS        PALMA                     CA          90012752894
16693999455965   GABRIELA     COVARRUBIAS               CA          90007299994
16694656547956   SARAH        DEUSTER                   AR          90014666565
16695719591584   LUZ ELVIRA   CHAVEZ                    TX          90002297195
16697148661958   JIM          BAKER                     CA          90010001486
16697349651337   BRYAN        SCHOOLEY                  OH          90004083496
16697589955928   SHAWNDRA     LACY                      CA          49059685899
16698372291895   BLANCA       PICASSO                   OK          90006613722
16711655555965   HERBERT      OCON                      CA          90015166555
16711825441225   KENNETH      SAVILLE                   PA          51016178254
16712789886455   LATASHA      POLINTZ                   SC          90014347898
16714819151337   JENNIFER     NULLMEIER                 OH          66037798191
16717341861976   BENJAMIN     SUAREZ                    CA          90012753418
16717666491569   JORGE        MORALES                   TX          75028546664
16718292291263   MAGEN        GROOMS                    GA          14594692922
16719188961958   ROBERTO      PEREZ                     CA          46023931889
16719653551337   DEANNA       ALCORN                    OH          90014756535
16722657561958   EDUARDO      GONZALEZ                  CA          90015166575
16723157661958   ABEL         MARTINEZ                  CA          46009951576
16724557693736   TAMARA       BARBER                    OH          90003925576
16725459391263   SHAVITEQUE   HAYWARD                   GA          90011394593
16726353691569   ALEJANDRA    VARELA                    TX          90012903536
16727915155976   JERRY        GONZALEZ                  CA          49091759151
16728684191526   CARLOS       DELGADO                   TX          75080146841
16728865557147   AMY          LEHR                      VA          90002588655
16731867661958   IRMA         GUTIERREZ                 CA          90014928676
16732348661976   MERCEDES     CLARK                     CA          90014803486
16732968455965   CHRISTINA    WILBORN                   CA          48013059684
16733644391895   BRANDON      ROBERTS                   OK          90007826443
16734362855965   ANGEL        GARCIA                    CA          90014213628
16734736157557   CHET         CHAY                      NM          90012987361
16734854361976   VALERIA      MENDEZ                    CA          90010738543
16738237755965   SUSAN        WILLIAMS                  CA          90003902377
16739496991569   MIGUEL       GOMEZ                     TX          75044204969
16742225857199   ELIA         LOPEZ                     VA          90008452258
16742377847956   BRITTANY     LANGLEY                   AR          90014873778
16745411361938   GONZALO      ANAYA                     CA          90011784113
16745455741225   ALICIA       MCBRIDE                   PA          90008374557
16746963131687   DAMASO       LARA                      KS          90009549631
16747532961958   WAYNE        LITTLETON                 CA          46048965329
16747623461986   AMELIA       CALENS                    CA          90007606234
16748393491263   RALPH        BROWN                     GA          14585283934
16748577957147   SOPHIA       BROW                      VA          90014945779
16749295557147   ANGEL        ROSALES                   VA          90012822955
16753187655976   ALESIA       JOHNSON                   CA          49081021876
16755933491895   PATRICK      SCOTT                     OK          90011529334
16756498455976   OLGA         RODRIGUEZ                 CA          90005364984
16756694831687   MAURICE      MITCHELL                  KS          90014806948
16759329451337   HOWARD       MINCY                     OH          66054303294
16762982661938   ROBBIE       MACDONALD                 CA          90012179826
16763228857147   KEVIN        MARQUEZ                   VA          90013282288
16763496991569   MIGUEL       GOMEZ                     TX          75044204969
16764132591895   HEATHER      PIANTANIDA                OK          21019321325
16764178891263   GREG         YOUNG                     GA          90013121788
16767321155965   RUDY         BELTRAN                   CA          48067333211
16768682661976   RAQUEL       VIEGAS                    CA          90009006826
16769164257199   MARTIN       MENDIOLA                  VA          90008471642
16772239491547   BELEM        AVITIA                    TX          75090822394
16773457957133   KRISTINA     POLLACK                   VA          90014784579
16773571847956   EMILY        WILLIAMS                  AR          90014695718
16773589361958   RUBEN        GARCIA                    CA          90002735893
16774233691263   PHENIQUE     GREEN                     GA          90013992336
16774454361938   ALFONSO      HERNANDEZ                 CA          90011784543
16774552991895   TERRELL      JONES                     OK          21087035529
16777238661976   THOMAS       SZOTEK                    CA          90013522386
16778255755987   EDGAR        PAEZ                      CA          90012612557
16778717257147   MARCOS       RIVEROS                   VA          90012227172
16778726581665   GLORIA       HESS                      MO          90003797265
16778882385932   ELIZABETH    CARPENTER                 KY          90013508823
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16779642961958   BERTHA       MADRIGAL                  CA          90002806429
16781413255935   CAYETANO     BARBA                     CA          90010084132
16783199261938   TELVI        GONZALEZ                  CA          90008251992
16783343891263   WILLIAM      LINSKEY                   GA          90013713438
16783574957147   JOSE ROMEO   SANABRIA                  VA          90010425749
16783686491895   CHERI        GAGOSIAN                  OK          90013266864
16783746631687   ROBIN        BERGER                    KS          90014807466
16784261347956   SHAWN        HAYDEN                    AR          90002522613
16785412455965   PEDRO        HERNANDEZ                 CA          90012384124
16785425761938   ROCIO        GARCIA                    CA          46095514257
16786458991895   MARITZA      PONCE                     OK          90010154589
16787271791263   CHRISTY      MONTGOMERY                GA          90013932717
16787587647846   BRITTNEY     HART                      GA          90012015876
16787668255965   ROBERT       MUNOZ                     CA          90009566682
16787994591895   BENJAMIN     MULVANE                   OK          90013319945
16789393791263   WENDY        HUNTER                    GA          90010353937
16789538357147   ROSA         ESQUIVEL                  VA          90015175383
16789674947956   FELICIA      RICE                      AR          90014696749
16793152871638   JENNIFER     MARACLE                   NY          90015471528
16793262461976   VIVIANA      NAJERA                    CA          90004962624
16793592257124   OSCAR        OSEGUERA                  VA          90006585922
16794592761976   BARBARA      PASTEN                    CA          90011885927
16795768557147   CAMILLE      SAUNDERS                  DC          81087747685
16796593355965   JOANNA       ABRICA                    CA          48077225933
16797349261938   JESUS        REBELES                   CA          46082473492
16811486261976   SALVADOR     ESCAMILLA                 CA          90014324862
16812263451337   TAMMY        BANNIGAN                  OH          90011742634
16812398331494   MARCELLA     WARD                      MO          90005813983
16814767255965   GILBERTO     BANUELOS                  CA          90011387672
16815292261958   MARVIN       LANGINLUR                 CA          90013172922
16815925893758   ALLAN        BARBE JR                  OH          90009039258
16818414355965   ERIK         MUNOZ                     CA          90012384143
16819154491569   GALVAN       TREMILLO                  TX          75068971544
16819459261976   JUAN         MEZA                      CA          90014594592
16821148742579   KEISHA       MCINTOSH                  WA          90015431487
16821587247956   AYESHA       JALALIDDIN                AR          90002965872
16821689291569   MANUELA      NEVAREZ                   TX          90011096892
16822767691263   SHAUN        POTTS                     GA          90008427676
16823834991569   ROSARIO      OROZCO                    TX          75044198349
16825883951337   MICHAEL      TAYLOR                    OH          66049368839
16826389291895   LATERICE     BURLLEY                   OK          90001663892
16826555291895   BAYLEE       ALAM                      OK          90013745552
16827341891895   PAULA        JUDD                      OK          90010933418
16827817747956   JASON        NEEDHAM                   AR          24063358177
16829179891984   RHONDA       INGRAM                    NC          90013701798
16829478847956   CARLOS       GUZMAN                    AR          90012714788
16829647761976   JAMES        STRASBAUGH                CA          90010976477
16832172755965   CHRISTINE    ROSE                      CA          90009131727
16833481291895   CHELSEA      HOFFMAN                   OK          90013284812
16835689161976   CARLOS       FUENTES                   CA          46057146891
16835821191895   LASHELLE     BOXLEY                    OK          21072138211
16835855255965   ISAAC        REIS                      CA          48066758552
16835947791569   ESMERALDA    RIOS                      NM          75067279477
16835962891263   BRANDON      SALTER                    GA          90012099628
16837343961976   ANA MARIA    PICENO                    CA          90014763439
16838441741295   MICHAEL      KIRK                      PA          90000224417
16838849957147   MELVIN       ROMERO                    VA          90005578499
16843866657133   DEREK        UGWENDUM                  VA          90010958666
16844473391263   MADIA        ROBINSON                  GA          14512664733
16844792755965   ANASTACIA    NARVAEZ                   CA          90013327927
16847278631687   RUTH         PRESLEY                   KS          22019662786
16847845651337   JOHN         DUNHAM                    OH          90012318456
16848264357147   WALTER       RAMOS                     VA          90014902643
16848432191895   ROSALINDA    OROZCO                    OK          21009764321
16848963861972   ROXANNE      CUEVA                     CA          90000679638
16849112791895   MAURICE      ARBERTHA                  OK          21080541127
16849798555965   ROBERT       PORTER                    CA          48044167985
16851119655976   RACHEL       PRECIADO                  CA          90000911196
16851784331687   APRIL        POWELL                    KS          90005607843
16852325551337   ROGER        YOUNG                     OH          90009293255
16852965661976   PAUL         ROBINSON                  CA          90005419656
16855196891263   KHISTENA     WILLIAMS                  GA          90015211968
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16855343961976   ANA MARIA    PICENO                    CA          90014763439
16855923257592   RONNIE       PRICE                     NM          90008799232
16856265291895   VERONICA     LOEZA                     OK          90001162652
16856935691263   LACHE        BROWN                     GA          90006099356
16857487361976   JOHN         DOUGLAS                   CA          90012754873
16858989147956   JAMILLA      SMITH                     AR          90014719891
16859519791895   KAYLA        JENSEN                    OK          90009195197
16863249861976   JORGE        SANCHEZ                   CA          90004072498
16863591391569   DANIEL       GALAVIZ-RUIZ              TX          90013015913
16863952757147   ALFREDIA     BAWMAN                    VA          90012959527
16864654761938   KARINA       SOLIS                     CA          46060406547
16864944333699   WILLIAM      WOODS                     NC          12012399443
16865188155965   TOMAS        REYES                     CA          90011971881
16869139661958   FLORE        MBEMBA                    CA          90005451396
16872224861938   ROD          KOCH-BURRY                CA          90011212248
16874713357147   ZOILA        SALAZAR                   VA          90003127133
16875186957147   DEDRA        WOODING                   VA          90009581869
16875496761976   FRANCISCO    ORTIZ                     CA          90012754967
16876459261976   JUAN         MEZA                      CA          90014594592
16876596457557   ERIKA        GUZMAN                    NM          90001585964
16876625431687   MARK         WOHLGEMUTH                KS          90011186254
16879237147956   MERI         BRADLEY                   AR          24080542371
16881541731687   KAMMI        CHANGHOWONG               KS          90011105417
16881757161958   DEBORAH      GONZALEZ                  CA          46025437571
16881989891263   GUILLERMO    ROCA                      SC          90013029898
16882592291263   NATHANIEL    BATES                     GA          90013585922
16886159857557   JULIAN       RESENDIZ                  NM          90012091598
16886976147956   THOMAS       BIGHAM                    AR          24040119761
16887123155976   GENNIFER     PHILLIPS                  CA          49083451231
16888994291263   DAVID        STRANGE                   GA          90015029942
16889671861938   MIRNA        ZAVALA                    CA          90003776718
16889828433683   DEBRA N.     GAINES                    NC          90002398284
16889831655976   FABION       REYNAGA                   CA          49005318316
16893385261938   LUCILE       ROBINSON                  CA          46095363852
16896139861976   KRISTIE      ROGERS                    CA          90000321398
16896865455965   JAZMIN       GARCIA                    CA          48007698654
16899119861976   JORGE        GOMEZ                     CA          90013711198
16899778457147   MANUEL       VALLADARES                VA          90000867784
16912945391884   JUAN         SALDIVAR                  OK          90007669453
16914941451337   MATTHEW      COTTINGHAM                OH          90015009414
16914977391569   JAIME        SIFUENTES                 TX          75045549773
16916355957147   ALVARO       LOPEZ                     VA          90013923559
16916794131687   TIFFANY      OLSON                     KS          22075537941
16917437191569   ACOSTA       RUBE THOMAS               TX          75028714371
16917544455976   JAVIER       CRUZ                      CA          90014155444
16918191261976   ISRAEL       CHAVEZ                    CA          90000491912
16918279791263   TIMOTHY      JORDAN                    GA          90011852797
16918513261938   LINDA        MONTOYA                   CA          46087035132
16922864947956   JESSE        ALVERSON                  AR          90014728649
16924778961976   BEAT         MILLER                    CA          90010137789
16924897191263   ROBERT       MACKLEER                  GA          90007328971
16926754161958   BRENDA       MENDEZ                    CA          46030967541
16927229891578   RAMOS        IVETTE                    TX          90013272298
16927395271966   SYLVESTER    HOUSTON                   CO          90001913952
16928625291569   JOSE         CAZARES                   TX          75080176252
16929586391569   MARIA        ZAVALA                    TX          90015085863
16931661761958   LATOYA       SANCHEZ                   CA          90011856617
16931787931687   DELILHA      REYES                     KS          90014817879
16933767661976   MICHAEL      ALVAREZ                   CA          90002257676
16934891291569   GUADALUPE    POLANCO                   TX          75038698912
16935369991263   FELICIA      COLLINS                   GA          90000903699
16936717951337   FAWN         JAMES                     OH          90010497179
16936749961976   GABY         MERCED                    CA          90014737499
16939827291895   KIMBERLY     VISSER                    OK          90013348272
16941882657147   SANDRA       SORTO                     VA          90008068826
16941966391569   MARGARITA    LOPEZ                     TX          75016769663
16942438847956   ARINZECHUK   ANYASO                    AR          90000174388
16943379993727   CHAULITTA    WATERS                    OH          90008423799
16945828431687   THOMAS       DAVIS                     KS          90014818284
16946126761938   JR           ANGUIANO                  CA          90012431267
16946295661958   KIMBERLY     CUNNINHAM                 CA          46048592956
16946356555965   STEPHANIE    TRUJILLO                  CA          90013963565
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16948464855965   PERLA        REYES                     CA          90013184648
16948759161958   ALEJANDRA    ALONSO                    CA          90001967591
16953847761958   HECTOR       MORALES                   CA          46073218477
16954766255976   JANELLE      ROJAS                     CA          49069627662
16955968951337   JACOB        FLICK                     OH          90007349689
16956772685843   JEFFERY      MENARD                    CA          90009387726
16956899531687   FRANCISCO    MORALES                   KS          90014818995
16959213261976   JONATHAN     ALBARRAN                  CA          90014162132
16959386591569   LUIS         CAZARES                   TX          90004323865
16961247591895   MICHAEL      ADKINS                    OK          90012152475
16963579631637   DARRIN       WHITE                     KS          90001585796
16964757661976   LIZBETH      DE LA CRUZ                CA          90014737576
16964856357147   ELIAS        DE SANTANA                VA          81093138563
16964994555965   MANUEL       LOSA                      CA          90014779945
16966158361938   JUAN         DELGADO                   CA          90011791583
16966167791895   SHERRY       JOHNSON                   OK          90010731677
16967695491895   MARVIN       WALLIS                    OK          90014686954
16968916131687   RUFINO       VIELMAS- ROJAS            KS          22073149161
16968979591569   MELISSA      APODACA                   TX          90010529795
16969413991885   GEORGE       ALLEN                     OK          21001384139
16969489741233   MELISSA      CASTELVETER               PA          51080714897
16969726747956   MARTY        HAY                       AR          90012557267
16969819347956   MARTY        HAY                       AR          90005228193
16971478355976   MARK         FIELDS                    CA          49072604783
16972188155965   KAITLYN      LEDGERWOOD                CA          90007991881
16972243557147   AKPALOU      KUDIO                     VA          90000692435
16973134761976   ANNA         JONES                     CA          46022071347
16973674155976   JOANNE       ROBLES                    CA          90010396741
16974126791569   ALEX         GOMEZ                     TX          90011051267
16976746631687   DEAN         BAILEY                    KS          90009997466
16977991491895   JASON        WOKATY                    OK          90014399914
16979738991263   ELVANA       JEFF                      GA          90015427389
16982753855976   MARIA        FARIAS                    CA          90002767538
16983139991263   ANTHONY      GADSON                    GA          90015171399
16983229255976   SAMANTHA     WELTMER                   CA          90010352292
16984627491569   SARAH        KIRTLEY                   TX          90010836274
16984664391895   ERICA        TURNER                    OK          90009746643
16986862341455   DWAYNE       ARNOLD                    WI          90015348623
16987269147956   TAMERAH      REEDERS                   AR          90009762691
16996154561976   ANGIE        GARCIA                    CA          90001761545
16996242955965   RAFAEL       SANTILLAN                 CA          90014612429
16996498261958   ASHLEY       STALNAKER                 CA          90006834982
16998484731687   TONY         MCCLENDON                 KS          90006364847
16999187693725   JESSICA      MOORE                     OH          90013171876
16999514993725   JESSICA      MOORE                     OH          90010635149
16999846261976   JOSEPH       HIDALGO                   CA          90013698462
17117721761938   MARIA        ALMERAZ                   CA          46041777217
17119621861938   IRINA        TORRES                    CA          46064026218
17121262557147   JOEL         MODESTE                   DC          90004442625
17121321555976   DENA         MYERS                     CA          90004413215
17122364661972   DALE         FUGATE                    CA          90012713646
17123644531687   RICHARD      JOHNSTON                  KS          90005336445
17123996361938   ROGELIA      JIMENEZ                   CA          90006319963
17127562961938   ALEJANDRO    VAN HOLTEN                CA          46064025629
17129158777539   AMANDA       EISAMAN                   NV          90011801587
17129953231687   NATASHIA     GRAYSON                   KS          90008979532
17132545561958   CAMERON      INNIS                     CA          90013725455
17132669391569   CAMERINA     VALDEZ                    TX          75085526693
17133954651599   KAREN        ROBBINSON                 IA          90013809546
17134189731687   CARRIE       DAVIS                     KS          22069951897
17134635561976   AIOTEST1     DONOTTOUCH                CA          90015116355
17135156361958   KATHY        CRUZ                      CA          46063861563
17136391141455   DANIEL       MEDINA                    WI          23578953911
17137752191588   BEATRIZ      RIOJAS                    TX          75022807521
17139463491263   KARL         JACKSON                   GA          90000674634
17141952861938   JOSEPH       BROWN                     CA          46064269528
17142129257147   TIFFANNY     GREEN                     VA          90013471292
17144148291569   ALMA         RODRIGUEZ                 NM          90003111482
17144216391895   NECOLE       MIDGET                    OK          90009382163
17145137861958   ALICIA       CASAS                     CA          90014551378
17145466991952   RUBY         MARTINEZ                  NC          90011154669
17145891371943   ADAM         AVALOS                    CO          90010778913
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17146514461958   EDDIE          GRIFFIN                 CA          90015315144
17148147161976   ARANSAZU       MONTANO                 CA          90012471471
17149545855976   JUAN           CEBALLOS                CA          49029665458
17149839461958   BONIFACIO      VERGARA                 CA          90004408394
17153455371935   NAOMI          DUPRE                   CO          90012854553
17154974391569   ELADIO         JAUREGUI                TX          90004659743
17155869357147   JOSE ANTONIO   REYES                   VA          90009508693
17156614877539   DARNELL        CHARLES                 NV          43091756148
17158936291588   MICHELLE       LEVARIO                 TX          90007889362
17161876561958   MARIA          RODRIGUEZ               CA          90012688765
17162715761997   NORMA          GRAYBEAL                CA          90011057157
17162728931687   RAVEN          ESTRADA                 KS          22013097289
17163115861958   RODOLFO        RAGADIO                 CA          46010561158
17163294891569   ANDREW         FULLER                  TX          90005302948
17165792657124   YANIRA         ROXANA CALDERON         VA          81087157926
17166668691263   JAUNITA        SIMMONS                 GA          14500806686
17167129891895   JAMIE          KEHO                    OK          90013851298
17167851547956   SANDRA         MALONE                  AR          24025288515
17168454655976   LUIS MARIO     LEDEZMA                 CA          90014894546
17171851391569   MARIA          OROZCO                  TX          90014628513
17172764577539   LUCILA         CORREA                  NV          43001407645
17173853831684   RICHARD        KANE                    KS          22097438538
17174426661958   ANGELICA       RAYO                    CA          90011034266
17176592357147   SYLVIA         STEWARD                 VA          90013435923
17176939177539   KEVIN          HEAD                    NV          90011809391
17177742955976   CANDIE         VASQUEZ                 CA          90015317429
17184461155976   JORGE          EVANGELISTA             CA          49000914611
17184465561987   MONA           HARPER                  CA          90013414655
17185535361976   ANDREA         MATTHEWS                CA          90013665353
17186239191956   JAMILA         SANDERS                 NC          90012012391
17186435191895   BRANDON        HARRIS                  OK          90010654351
17187256491569   JOSE           PEREZ                   TX          75036482564
17188139861938   LIZ            PEREZ FIGUEROA          CA          46072761398
17188918557147   IBRAHIM        BAH                     VA          90010889185
17189149191895   TAMARA         LYONS                   OK          21071971491
17191556391588   CYNTHIA        SEPULVEDA               TX          90014625563
17192121361976   VICKY          RICE                    CA          90014791213
17193442693763   DAVID          FANNIN JR               OH          64515044426
17193695491569   BISHOP         ROCIO                   TX          90000946954
17193741457147   DINA           RAMIREZ                 VA          90010697414
17196947161958   MARVIN         GILLIA                  CA          90007369471
17197356655976   MONICA         BOMLLA                  CA          49055593566
17197917531687   JENNIFER       CEBALLOS                KS          22014879175
17199742361976   MARGARITA      PICENO                  CA          90012887423
17212173572426   HAYLEA         HARMAN                  PA          90015571735
17212814657147   FABRICIO       CRUZ                    VA          90014528146
17213931876224   ERICA          WADDELL                 GA          90011939318
17216985555933   JENIFFER       VEGA                    CA          90013039855
17218225191588   JESSE          VALLEJO                 TX          75052292251
17218693961938   LORENZO        BORJA                   CA          46023536939
17219136251357   KASEY          YOUNG                   OH          90002321362
17221139955976   ANA            REYNOSA                 CA          90010371399
17221182191263   KEVIN          ALEXANDER               GA          90007961821
17222193355976   SAMUEL         CASTRO                  CA          90005671933
17222871293724   LINDA          CAUDWELL                OH          90010038712
17224633231687   LEEAHNA        SMITH                   KS          90013486332
17224818547956   CHRISTY        FLOTA                   AR          24086878185
17226171955976   WENDY          HERNANDEZ               CA          90009941719
17226756891895   TERRY          OWENS                   OK          90015107568
17228145761938   HILDA          DURAN                   CA          46033141457
17228511361958   OSCAR          DIAZ                    CA          90014995113
17229635561976   AIOTEST1       DONOTTOUCH              CA          90015116355
17231651157147   REYNA          RIVAS MEJIA             VA          90010136511
17232148161958   ESTEBAN        IBARRA                  CA          90013221481
17233145191895   KASEY          ODELL                   OK          21032071451
17233495755976   RUBIA          FLORES                  CA          90002094957
17233559261976   VINCENT        JIMENEZ                 CA          90014765592
17238184757147   TERESA         GONZALEZ                VA          81079931847
17238498661938   OFELIA         GARCIA                  CA          46064194986
17238964661958   CHARLES        GALES                   CA          90014399646
17239883291588   JOSE           SALAS                   TX          75089888832
17241521857147   RICARDO        DIAZ                    VA          81034005218
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17242278277539   LUIS            MUNOZ                  NV          43095842782
17244311391569   MYRNA           CABALLERO              TX          75098903113
17244397261976   ALEXANDER       RODRIGUEZ              CA          90014873972
17244476961958   LUIS            MARTINEZ               CA          90012664769
17248432991895   YESENIA         GONZALEZ               OK          90012964329
17249396747956   ERIC            LUNO                   AR          90004123967
17251473461976   RIZALINA        EDANO                  CA          90014774734
17252262943584   ANGELA          PERCY                  UT          90010502629
17253556872468   HEATHER         STIFFY                 PA          90012535568
17255138491588   ALEJANDRA       CHAVEZ                 TX          90009981384
17257643591588   EFREN           BUSTAMANTE             TX          90014346435
17257762671976   ROBERT          FRIEND                 CO          90010977626
17259866957147   MARIA           LOPEZ                  VA          90010868669
17261823991569   ELSA            FRANCO                 TX          75010378239
17264248591588   YADIRA          LARA                   TX          90009982485
17264434372469   ANGEL           MEZA                   PA          90015264343
17264614847956   ALLISON         SMITH-LUMLEY           AR          24005186148
17264914261976   MARIA           NEVAREZ                CA          46031189142
17265827791569   MARTHA          CASAVANTES             TX          90006398277
17265916255935   CARMEN          MORLES                 CA          90003329162
17266645491895   GREG            POWERS                 OK          21078056454
17271696291895   BRENDA          WARREN                 OK          90011696962
17272742161958   CYNTHIA         GONZALEZ               CA          90009657421
17272821447956   WHITNEY         MARABLE                AR          90014878214
17276691991588   MARIA LUISA     HERNANDEZ              TX          90014366919
17278363457147   TRACEY          AUGUSTIN               DC          90014163634
17279855291588   JOSE            RIVERA                 NM          75099288552
17283595357147   JOSE            SANCHEZ                VA          81035075953
17284426291263   LATOYIA         HUMPHRIES              GA          90011564262
17285248291586   ANGELICA        SILVA                  TX          90008482482
17285635561976   AIOTEST1        DONOTTOUCH             CA          90015116355
17288219341284   CASSIE          SKINKIS                PA          90008622193
17289126277539   JOSE            ZARATE-PIMENTEL        NV          90011821262
17289484757147   KHAN            MAHEEN                 VA          90000184847
17291621891569   BLANCO          FELICIANO              TX          90009946218
17293595357147   JOSE            SANCHEZ                VA          81035075953
17293675561976   JOSE            TORRES                 CA          90008526755
17293963491263   SHANESE         PRICE                  GA          90011579634
17295438391547   JUAN            LOPEZ                  TX          90009284383
17295683961976   ZAIDA           MITRE                  CA          90013846839
17295976233625   JOSE            RAMOS ARELLANO         NC          90012239762
17312427893738   DARCY           WARREN                 OH          90004704278
17312678841225   ROBIN           JEFFERSON              PA          90000456788
17315834831687   LISA            MERCIER                KS          90014888348
17317932291569   PALACIOS        LIZETH                 TX          90009539322
17318512358535   FELIX           MORALES                NY          90013235123
17318926291588   JUAN            ALVAREZ                TX          75087009262
17319294631962   BOULAYE         GASSAMA                IA          90012082946
17319453861938   MARCO           TRASVINA               CA          46016044538
17321424355976   NANCY           HER                    CA          90002804243
17321565147895   STEVE           SUTTON                 GA          14004715651
17322662291588   JORDAN          NAVARRETE              TX          90013706622
17322924461958   PATRICIA        PERCY                  CA          46083049244
17322975531687   RAUL            AYALA                  KS          90007319755
17325414391569   ARACELY         GONZALES               TX          75041754143
17326916591895   BARBARA         MASSEY                 OK          90001189165
17332863391588   NANCY           LARA                   TX          75099288633
17334978257147   NIDIA FABIOLA   LANDAVERDE             VA          90012799782
17336724261958   NELLEY          REYES                  CA          46092747242
17337529757147   ALEX            MAGALHAES              VA          90012485297
17338471331687   MARCO           CARRILLO               KS          90010564713
17338556857147   LUCAS           AYALA                  VA          90000185568
17339224131687   TYSHAWN         JONES                  KS          90012142241
17339872791569   NELIE           ARROYO                 TX          75007318727
17339879991895   CODY            EDWARDS                OK          90014308799
17343134291569   JANET           ROJO                   TX          75039251342
17344383591569   NADIA           TREVIZO                TX          90014173835
17344455161938   SANDRA          KELLY                  CA          46067484551
17344717347956   JAIRO           HERNANDEZ              AR          90000427173
17345946591895   ROXANA          MERCADO                OK          90011789465
17346684291588   MERCY           VELASQUEZ              TX          90012046842
17347921547956   NATHANIEL       THIBODEAUX             AR          24038219215
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17348684591569   ELIZABETH    WHYTE                     TX          90015216845
17349118957199   ADRIANA      DANVERGNE                 VA          90007631189
17353476991569   JERUSHA      NASH                      TX          90009774769
17354156261958   ERIC         THOMAS                    CA          46043521562
17354816257147   KIM WESLER   VISSER                    VA          90010358162
17355365761958   JEREMY       ESQUEDA                   CA          46046673657
17356461861958   MICHELLE     GURROLA                   CA          46090794618
17357148361976   GUADALUPE    ALVAREZ                   CA          90011011483
17357654755976   CELINA       BARRIOS                   CA          90000686547
17359167591569   RAFAEL       FIERRO                    TX          90013271675
17361839357147   LILAN        AUDIO                     VA          90014858393
17364214991524   CESAR        AVALOS                    TX          90012382149
17365922991895   SHERINA      OWENS                     OK          21000669229
17366744291588   JENIA        NEREY                     TX          90009057442
17368889761976   DAREN        FOX                       CA          90014748897
17371738647956   LINDA        NGUYEN                    AR          90015047386
17372882761976   EVELYNN      MOORE                     CA          90001448827
17372921547956   NATHANIEL    THIBODEAUX                AR          24038219215
17373475291895   MELGRANITA   WILSON                    OK          21047404752
17373635561976   AIOTEST1     DONOTTOUCH                CA          90015116355
17374155891263   DANNY        JACKSON                   GA          14540021558
17374566655976   WENDY        BALANZAR                  CA          90012525666
17374736355945   MICHELLE     BURCIAGA                  CA          90011987363
17375214991524   CESAR        AVALOS                    TX          90012382149
17376759877539   AMY          ERNST                     NV          90003867598
17377362731676   ANTONIO      VIDAL                     KS          22011993627
17378857691588   JUAN         SALDIVAL                  TX          90015318576
17379549757147   MARGARET     BOWSER                    VA          90009995497
17382392861958   SAUL         RAMIREZ                   CA          90014213928
17382779831687   NEIL         KENNEDY                   KS          90014867798
17382837661976   JAVIER       RIVERA                    CA          90014748376
17384288691895   JUAN         SANDOVAL                  OK          21001782886
17384366957147   CHARLES      KYER                      VA          90014163669
17384546261958   RICARDO      GOMEZ                     CA          90012245462
17385157661958   ABEL         MARTINEZ                  CA          46009951576
17385366191573   SYLVIA       MENDEZ                    TX          75082783661
17388539291588   EDGAR        CHAPARRO                  TX          90009695392
17388593431687   ALBERTO      PALMA                     KS          90009195934
17388837555976   MAI          LEE                       CA          49077838375
17393421891895   DAHJ CETRA   PENNY                     OK          90014854218
17393656877344   ZENAIDA      SALGADO                    IL         90015556568
17394584891588   MARIA        LOPEZ                     TX          75095185848
17395698557147   ELMER        ALVAREZ VIERA             VA          90010846985
17396791447956   MARTHA JO    COLEMAN                   AR          24048947914
17396951797122   SHERRIE      WRIGHT                    OR          90002449517
17397579157147   JORGE        FLOR                      VA          81059845791
17398175591569   CINDY        ARAGON                    TX          90012971755
17412591961976   SAUL         CORONADA                  CA          46090745919
17414111947956   PEGGY        ADAMS                     AR          90015251119
17415333347956   OSCAR        REVELES                   AR          90009803333
17415877857147   MIGUEL       NUNEZ                     VA          90006808778
17415947161938   MARIA        BENITEZ                   CA          90002489471
17417714372484   AMANDA       FOLEY                     PA          90004757143
17419146277539   ALEJANDRO    DELGADILLO                NV          43003211462
17421834291573   CYNTHIA      LOYA                      NM          90013358342
17422181647956   WAYNE        JORDAN                    AR          90015251816
17424621261958   LUISA        INGLE                     CA          90011526212
17425499955928   DER          XIONG                     CA          90010644999
17426693391263   YOLONDA      WASHINGTON                GA          14570636933
17428591961976   SAUL         CORONADA                  CA          46090745919
17428628361958   JOSE         PAT-COUOH                 CA          90005146283
17429619691569   JESSICA      GONZALEZ JIMENEZ          TX          90012976196
17431166161958   RICARDO      CALLEJAS                  CA          46095521661
17431719857147   SHARAFAT     HUSSAIN                   VA          81076027198
17431794191895   MARVA        WILLIAMS                  OK          21054777941
17435695657147   DONELL       JENKINS                   VA          90009306956
17435997991895   MATT         CASTODIO                  OK          21004529979
17436743157147   LISSETH      DOMINGUEZ                 VA          81035127431
17437962455976   TIFFANY      MCGUIRE                   CA          90011329624
17438776291588   JOSE         NAJERA                    TX          90012627762
17442247957147   JOSEPH       OBENG-BAAH                VA          90007172479
17442375577539   ALVARO       ROMERO                    NV          90011843755
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17442431891895   AUNDRIA         COWEN                  OK          90014854318
17443467161993   MIGUEL          RINCON                 CA          90011674671
17445784591588   EVANGELINA      ZAVALA                 NM          75028687845
17446225647956   AMANDA          BONNER                 AR          24048762256
17449377955976   JOSE            OROZCO                 CA          90010703779
17449511561976   ERIKA           AGUNDEZ                CA          90010315115
17453412591588   JOE             GAMEZ                  TX          90013554125
17455546591569   IVAN            MONTES                 TX          90014425465
17459194155976   ZINA            VELA                   CA          90004011941
17459635561976   AIOTEST1        DONOTTOUCH             CA          90015116355
17459999561958   MA ISABEL       ESPINOZA               CA          46064839995
17461723777529   JAMES           JUNGEN                 NV          90011347237
17465279781629   TANISHA         GLADNEY                MO          90001262797
17467811291588   ELDA            AGUIRRE                TX          75033948112
17467917591588   CESAR           AQUIRRE                TX          90005479175
17467945161976   ENRIQUE         GONZALAZ               CA          90013779451
17469263931687   ROBERT          BLAIR                  KS          90008042639
17471258561958   GIOVANNI        LOEZA                  CA          90013662585
17472164291588   FRANCISCO       RODRIGUEZ              TX          90014731642
17472368231434   STEVE           TURNER                 MO          90009933682
17473264791588   CINDY           SANDOVAL               TX          75021432647
17474365657199   JEFF            TWOMEY                 VA          90009543656
17474875291573   LOUIS           JAMES                  TX          90007808752
17476958855976   SOPHIA          SCOTT                  CA          90011329588
17477193277567   KRISY           GARCIA                 NV          90008111932
17485485691588   FERNANDO        ORTIZ                  TX          75097164856
17485821491322   VERONICA        BENDERMAN              KS          90013978214
17485861361976   TAMIRA          CATLIN                 CA          90014748613
17486991955976   ANTHONY         CARROLL                CA          49091599919
17487133191588   VERONICA        WATKINS                TX          90006261331
17488933151542   TAYLOR          SAMPLE                 IA          90014579331
17491271861976   DAVID           MORA                   CA          46060542718
17492248361938   MARIE           BANCORUR               CA          90006642483
17495864661976   CRYSTAL         RAMIREZ                CA          90014748646
17497127193725   JADE            THORNTON               OH          90007101271
17497613693763   CHARLES         BLANKEN                OH          90006396136
17498479761976   MARIA           ALVAREZ                CA          46020694797
17512418991588   HECTOR          VELAZQUEZ              TX          90013554189
17513147961938   BRENDA          CASTRO                 CA          46016141479
17513433791588   RICK            MONTOYA                TX          75089804337
17513574157147   MARIA AUDELIA   AYALA                  VA          90014585741
17515161661958   BEN             HARRIS                 CA          90009501616
17517819691569   ROSA            RODRIGUEZ              TX          90014088196
17518393261958   COURTNEY        MCKOY                  CA          46088823932
17518684977539   GRACIELA        RAMIREZ                NV          90009276849
17518735655976   PARIS           WARD                   CA          90013207356
17521549347956   LYDIA           HARRIS                 AR          24011205493
17522557661938   QUIANA          SANCHEZ                CA          46096975576
17522799447956   SHANIQWA        THREATT                AR          90002247994
17523368273228   FRANCIS         OSEI                   NJ          90011083682
17523837351364   ROBERT          FOSTER                 OH          90012098373
17524347857147   DANIELA         ROMERO                 VA          90014763478
17527477457147   THERESA         DIXON                  VA          90013864774
17531783391588   RODOLFO         PUENTES                TX          90012627833
17532559591569   EDITH           RODRIGUEZ              TX          90007925595
17533167855976   JAVIER          DE LA TORRE            CA          90013801678
17533438391927   AMINA           TEKIL                  NC          17072184383
17534313791588   ISMAEL          FLORES                 TX          90011173137
17535479255976   DENISE          CORONADO               CA          49085654792
17537272161976   LEONARDO        COTA                   CA          46003232721
17537391955976   SOFIA           TORREZ                 CA          90012953919
17538724491895   TYFANY          SAYRE                  OK          21095097244
17538818791569   REYNOSA         ALFREDO                TX          75060068187
17539675391895   ANGELA          BROOMHALL              OK          90011796753
17541697661976   ISAAC           FLORES                 CA          90013346976
17544837555976   MAI             LEE                    CA          49077838375
17544899455976   ROSIE           VERDUZCO               CA          90014428994
17544935691895   MELVIN          TATUM                  OK          21090469356
17545166261976   ELIZABETH       SIPAQUE                CA          90011271662
17545546491895   WILLIAM         VIERRA                 OK          90004945464
17546863357147   MITCHELL        MILKOV                 VA          90009538633
17547674555976   CAROLINE        LOPEZ                  CA          49004246745
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17551493191549   REBECA       PORTILLO                  TX          75073594931
17551573657147   PAMELA       HITT                      VA          81052935736
17552787691569   DANIEL       GOMEZ                     TX          90011767876
17553164291588   FRANCISCO    RODRIGUEZ                 TX          90014731642
17553335955976   RICO         ONELAS                    CA          90010313359
17554272831687   ZACH         CREAMS                    KS          90014542728
17556966661976   RICARDO      GONZALEZ                  CA          90002529666
17558755457579   JULIE        DURON                     NM          90013827554
17562169891569   CLAUDIA      ARCHULETA                 TX          90012781698
17562376491584   MANUELITA    MIRAMONTES                TX          90013903764
17563113191895   TERESA       SANDOVAL                  OK          21051451131
17563945561958   ERIKA        RANGEL                    CA          90014419455
17564861857147   AMINATA      FOFANAH                   VA          81009158618
17565232591569   SAMANTHA     HERNANDEZ                 TX          75029702325
17565889755976   MIAH         CLERE                     CA          90014068897
17565993455976   TATIANA      SMITH                     CA          90011149934
17566434761945   AMANDA       SCOFIELD                  CA          90015114347
17567329291569   JAIME        PENA                      TX          90014043292
17568176461958   MERCEDES     ALMEIDA                   CA          90003261764
17569795131687   MARIA        ALCALA                    KS          90013207951
17571886791588   ELVA         AVILA                     TX          90010138867
17573392491588   ARTURO       RODRIGUEZ                 TX          90012353924
17577743457147   NELSON       SOLARZANO                 VA          81009287434
17578365931687   BRYANT W     MOOSE                     KS          22036633659
17578421777539   DANNY        KELLOGG                   NV          90012414217
17579753331687   DON          BLEDSOE                   KS          90009257533
17582742731687   JESUS        SPINOZA                   KS          90013197427
17583749461958   JESUS        LOMENLI                   CA          90010797494
17584636461976   AIOTEST1     DONOTTOUCH                CA          90015116364
17588951961976   MARGARITA    TRINIDAD                  CA          90014749519
17591759757147   JOSE         ALVARENGA                 VA          90012047597
17595364357147   SANDRA       ORELLANA                  VA          90011143643
17595737872453   TINA         CARR                      PA          51017787378
17595968591895   SYDNEY       PURVIS                    OK          90011799685
17596914661976   FERNANDO     GOMEZ GUZMAN              CA          90012059146
17598166161976   BETO         RAMIREZ                   CA          90006051661
17598591761958   MANUEL       MORADO                    CA          90015275917
17598693691895   VANESSA      MUKES                     OK          90011736936
17599526561976   STEVE        HOMOKI                    CA          90011275265
17611342655976   ERIKA        SORIA                     CA          90011063426
17616392541384   HOPE         DILLARD                   MA          90011413925
17616639791588   NAOMI        SCOTT                     TX          75010696397
17616822447956   NIYA         WILLIS                    AR          24028218224
17618993991588   GABRIEL      GONZALEZ                  TX          90008049939
17623146433645   JAMES        WYRICK                    NC          90013411464
17623718161948   RUBEN        ALVARADO                  CA          90008517181
17624171161976   CARLOS       LARIOS                    CA          90008361711
17628746747956   DERRICK      LONG                      AR          90010307467
17629437731687   LISA         DEAN                      KS          22095954377
17629867257147   GENET        WORKU                     VA          90013628672
17631248861958   JOHN         GOLLIE                    CA          90008382488
17632214491569   VICTOR       MOYERS                    TX          90012522144
17632753191569   WILFREDO     SOLIVAN                   TX          90010367531
17634623191895   SHELLY       BOGANS                    OK          21087896231
17635868161958   YANETTE      STUART                    CA          90012138681
17636552661976   SHERIE       JERRY                     CA          90010315526
17638434991569   RUBY         ORTEGA                    TX          90014154349
17641734261958   HEIDI        CHAIDEZ                   CA          46040827342
17642473291895   LINDA        EUBANKES                  OK          90014334732
17644644855976   AIOTEST1     DONOTTOUCH                CA          90015116448
17644817461976   CARMEN       OJEDA                     CA          90009338174
17645391457147   BRIAN        PUTT                      VA          90012713914
17646319261976   FERNANDO     TELLEZ                    CA          90008043192
17646683691588   ESPERANZA    HERNANDEZ                 TX          90006336836
17648698261976   JOHANN       AGUILAR                   CA          90008266982
17649873461938   EVY          ABURTO                    CA          46095558734
17651438161958   CASEY        FRITZSCHING               CA          46095334381
17655318361958   ACOZTA       RITEA                     CA          90001993183
17656884491588   LOURDES      ALVARADO                  TX          90008348844
17659563861958   ROBERT       ALSTEN                    CA          46090515638
17661875457147   VIOLETA      GARCIA                    VA          81025058754
17663383191956   KIRSTEN      TIPTON                    NC          90001443831
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17664486831687   KALI           MCKNIGHT                KS          90006664868
17665831791895   ESTANISLAO     GOMEZ                   OK          90015168317
17666271691588   DARLENE        AGUILAR                 TX          90014572716
17666791447956   MARTHA JO      COLEMAN                 AR          24048947914
17666867891569   HUMBERTO       CANO                    TX          90012098678
17667182791895   AMANDA         RICHARDSON              OK          90011801827
17667555361976   SARAH          CUEVAS                  CA          90010315553
17669624161976   JOSE           BERUMEN                 CA          90011276241
17671774457147   DANIELA        MADRIGAL                VA          90011307744
17673483955976   MARY           CARRILLO                CA          49098974839
17675761661938   DANETTE        MAJOR                   CA          46010047616
17677111461976   EFREN          ANGUIANO                CA          90014871114
17677719784337   LUIS           PEREZ                   SC          19062557197
17678334661976   CIPRANO        VILLALOBOS              CA          90009443346
17678971691569   KAREN          MARTINEZ                TX          90012659716
17679525861958   MIROSLAVA      FUENTES                 CA          90009885258
17685238461976   DANIEL         GUTIERREZ               CA          90014912384
17685798693763   DEBORAH        HEISTER                 OH          90003987986
17686292591895   YASMIN         JACKSON                 OK          21092622925
17686834731687   PAYGO          IVR ACTIVATION          KS          90008078347
17686985257147   ENIO           POLANCO AVILA           VA          81019999852
17687656755976   PAYGO          IVR ACTIVATION          CA          90014326567
17691956585966   CALVIN         MQUEEN                  KY          90004599565
17692171591588   ROCIO          GARCIA                  TX          75074261715
17692327931646   JOSEPH         VAUGHTERS               KS          90007493279
17693339491263   CANDICE        BRANUM                  GA          90000913394
17694644855976   AIOTEST1       DONOTTOUCH              CA          90015116448
17698363657147   ANTONIO        RIVERA                  VA          90008673636
17699281391895   ADILENE        BRAVO                   OK          21082542813
17711394957147   MARITZA        RODRIGUEZ               VA          90012943949
17712157561958   MIGUEL         MARTINEZ                CA          90010751575
17712288557147   JOICE          PADILLA                 VA          90011022885
17712653355935   SHEIKH         KAIUUM                  CA          90011656533
17713939761958   MARIA          ABREGO                  CA          90008059397
17716146861958   RANDALL        WEST                    CA          90013991468
17716473291547   ALBA           VAZQUEZ                 TX          75058104732
17716697661976   ISAAC          FLORES                  CA          90013346976
17716912491588   ELVIRA         OCHOA                   TX          75089769124
17718166443588   EVELYN         BURCH                   UT          90000291664
17718211391569   ERIKA          LIRA                    TX          90013872113
17718669931687   MATTHEW        REICH                   KS          90012086699
17721477191569   JUAN           JIMENEZ                 TX          90014224771
17723432791588   ELIZA          GUERRERO                TX          90013554327
17725839955976   HEATHER        LUJAN                   CA          49002828399
17726739191588   LAURA          VALENZUELA              TX          90012907391
17727616491895   STEVE          SIMMONS                 OK          90004586164
17729852991895   TONY           BENTON                  OK          21012768529
17729889161958   ANGELA         RIVERA                  CA          46034668891
17732726861938   OMAR           NAVARRETE               CA          46016337268
17733985761976   CRISTINA       ZARAGOZA                CA          90014279857
17735435591569   ALMA           CASTANEDA               TX          90014154355
17736158191569   PILAR          FLORES                  TX          90005611581
17736788391895   SHANTA         CLAYTON                 OK          90014587883
17738684391263   JAMELL         WRIGHT                  SC          90010936843
17739764557147   MARIO          FLORES                  VA          90013307645
17741288855976   MAI NENG       XIONG                   CA          49007402888
17741916761938   ELOINA         AGUILAR SOTO            CA          46038909167
17744696861958   HUNTER         MCCOMBS                 CA          90015556968
17745639291929   JUAN           MENDOZA                 NC          90006446392
17745977161976   MARTHA         HERNANDEZ               CA          46013699771
17748273457147   YESENIA        CONTRERAS               VA          90006312734
17753718291588   LETICIA        GONZALEZ                TX          90014627182
17754215791569   CONCEPCION     CARRASCO                TX          90001522157
17755765891569   MARIANA        SANCHEZ                 TX          90012107658
17756387661976   MARIA          GODOY CARRILLO          CA          46021273876
17756967747956   HERBERT E      HARPER JR               AR          90010169677
17757816185936   SCOTT          BODKIN                  SC          14592208161
17757977191588   DIANA          MORALES                 TX          90009159771
17758149891895   EDILSER        LOPEZ                   OK          90011941498
17759722293725   MICHELLE       SHINN                   OH          90004577222
17761395861958   ERIKA CARINA   ZUNIGA                  CA          90014093958
17762742851357   DOROTHY        PIERCE                  OH          90005027428
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17762795291588   MIREYA        LUCERO                   TX          75088147952
17763847661958   BARBARA       MITCHELL                 CA          90013968476
17765514631687   JAFER         ALESH                    KS          90006215146
17766146993725   FREDERICK T   CRUM                     OH          90013041469
17767374361976   CONTANCE      COLE                     CA          90010073743
17767577191569   RAYMUNDO      AGUIRRE                  TX          75067655771
17769463161938   DEVON         DEVEREOUX                CA          46093914631
17773175558535   PRISCA        ALEXANDER                CO          90012661755
17774947861976   KIMBERLY      DECASTRO                 CA          46057889478
17775626855976   MARDY         VALENTINE                CA          90014326268
17776393691569   STEVEN        COTTINGHAM               TX          90009633936
17776716257145   ERICK         ZUNIGA                   VA          90006587162
17776981491588   MARIA         RUBIO                    TX          90014119814
17778955255976   MONEY         GOOD                     CA          49009059552
17779696793727   JOSEPH M      LOVELACE                 OH          90002666967
17783363591588   HENRY         HYDER                    TX          90014713635
17784917761976   SHAUN         HENDERSON                CA          90011279177
17786393691895   MEE           LEE                      OK          90014353936
17787131291895   FRANK         FREEMAN                  OK          21025041312
17787532331459   KENOSHA       JOHNSON                  MO          90003135323
17788337455976   JULIO         MARTINEZ                 CA          49030333374
17789649591569   LUJAN         VANNE                    TX          75065566495
17791383761994   JULIO         SALAS                    CA          90012133837
17792871191569   ADRIAN        DE LA GALA               TX          90013738711
17795562661958   TED           LOGAN                    CA          90003585626
17795933361976   CLAUDIA       BONILLAS                 CA          90008979333
17798849991584   MARIA         PEREZ                    TX          90009988499
17799632255938   RAYMOND       HERNANDEZ                CA          90011306322
17799974791895   ERIN          BLACKFORD                OK          90006149747
17811742291895   LANCE         OLIVER                   OK          90011967422
17811844591588   JESSICA       ACKER                    TX          75021868445
17812579631687   DARRIN        WHITE                    KS          90001585796
17813162891569   TEARZA        CHAVEZ                   TX          90013331628
17814222955976   CRISTOPHER    FLORES                   CA          90014592229
17815132891588   NACHO         ESCANDON                 TX          90003571328
17818119493783   MARGARET      CRIST                    OH          90001461194
17818546991588   ARTURO        TAFOYA                   TX          75082235469
17819119493783   MARGARET      CRIST                    OH          90001461194
17822589161976   BRANDON       RAMIREZ                  CA          90014775891
17823647291588   LORENA        SIANEZ                   TX          90008926472
17824716791569   PERLA         CALDERA                  TX          90007327167
17825929161957   JORGE         VELAZQUEZ                CA          90012339291
17826529857147   VICTORIA      TARMOH                   VA          81043895298
17826865591263   KELLY         ADDISON                  GA          90004718655
17829553747956   DESHAWNONT    RHODES                   AR          24090365537
17833628547956   JOSUE         CABALLERO                AR          90008126285
17838477591895   ANDREA        WALKER                   OK          90014144775
17839369186455   JAMES         WILLIAMS                 SC          90014763691
17842363855976   KRYSTAL       ESPINO                   CA          90012643638
17842814991588   GOXZLES       ELISABBTH                TX          90003228149
17844353561958   PAUL          MBUGUA                   ID          90012573535
17844921777597   REYNA         URBINA-MONDRAGON         NV          90008909217
17845343455976   JENNIE        PENA                     CA          49036743434
17845437361958   CAROLINA      LOPEZ                    CA          90014034373
17845517461976   DANICA        MONTERO                  CA          90010565174
17846255857147   ALLAN         GUZMAN                   VA          90013472558
17849442861976   ANGEL         YOS                      CA          90007024428
17852136761958   LESSLEY       TORRES                   CA          90013511367
17852592331687   JOSHUA        COTTON                   KS          90013885923
17853316991569   LUIS          GONZALEZ                 TX          90013433169
17853397861976   BLAKE         VAN AMERONGEN            CA          90012743978
17854956293736   JEANIA        JOHNSON                  OH          90011199562
17855567455976   GLORIA        CUEVAS                   CA          90000825674
17858322255976   JAMES         FRANCIS                  CA          90007553222
17858638691588   MARCO         ALVARADO                 TX          90004866386
17859128961976   PERLA         BENAVIDES                CA          90013681289
17862949691838   MICHELLE      NORTH                    OK          90003989496
17863919761976   MARTHA        SEVILLA                  CA          90012769197
17864418591569   LUCY          GARCIA                   TX          75039484185
17866564491569   ANGELICA      ANGUIANO                 TX          90013695644
17869243357147   HENRY         MARTINEZ                 VA          90000212433
17871863991263   SONIA         PICAZO                   GA          90008908639
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17873719691263   TONY         SMITH                     GA          90015287196
17874297761958   JACKIE       ARGUETA                   CA          90013822977
17874553747956   DESHAWNONT   RHODES                    AR          24090365537
17874891193737   JUSTIN       CURRY                     OH          90005818911
17875194347956   FRANCISCO    GALINDO MARTINEZ          AR          90000471943
17881563371949   AARON        DUNHAN                    CO          90008335633
17884923355976   ALICIA       ROJAS                     CA          49023509233
17886377155976   BERTHA       RODRIGUEZ                 CA          49096863771
17887641357147   GILBERTO     MARTINEZ                  VA          90011846413
17889899855976   RAY          CELAYA                    CA          90008768998
17891812533623   TERSEA       CORTES TORRES             NC          90012258125
17892193161938   EUGENE       MARTINEZ                  CA          46016211931
17892514191569   LUIS         CONDE                     TX          90008745141
17892751455976   RICHARD      NIRES                     CA          90011797514
17893174131687   MICHAEL      ERWIN                     KS          90010651741
17894538521647   JACQULINE    GRAVES                    OH          90014915385
17895499291549   LUBIA        BANDA                     TX          90009644992
17895664961958   ANA          CORONADO                  CA          90015166649
17895686761938   ISRAEL       GUZMAN                    CA          90006086867
17895949891569   EDWARD       QUINN                     TX          75000089498
17896638691588   MARCO        ALVARADO                  TX          90004866386
17896819684765   RAFATH S     ALI                       IL          20563628196
17899863793783   ASHLY        CLAAR                     OH          90009588637
17911477361958   SANDRA       GRIFFIN                   CA          90008114773
17911523157147   OSCAR        BENITEZ                   VA          90014745231
17912412291569   LUIS         AGUILAR                   TX          90000904122
17912757661958   LIZBETH      DE LA CRUZ                CA          90014737576
17914791691569   JAVIER       MARTINEZ                  TX          90009727916
17916239591895   GLENDY       NAVARRO                   OK          90011812395
17917862391588   DUSTIN       NOROTHY                   TX          90012988623
17919279861548   AMANDA       MATTHEWS                  KY          90007662798
17919932461976   MARCO        FLORES                    CA          90010489324
17923545157147   MICHAEL      CLARK                     VA          81091245451
17925991491588   MELISSA      VALDEZ                    TX          90012159914
17928555191569   ANDREA       ROJERO                    TX          90001625551
17931582991895   GENE         SULLIVAN                  OK          21017745829
17931836691588   KARINA       RAMOS REYES               TX          90015148366
17932634261934   JUAN         BARRERA                   CA          90007126342
17934742661976   NANCY        NOPPE                     CA          90012707426
17935594161976   TERRA        MAYS                      CA          90002545941
17936625861958   WESLEY       SAGE                      CA          90012736258
17936933691569   WALTER       LEON                      TX          75008539336
17937933691569   WALTER       LEON                      TX          75008539336
17938159361958   GONZALO      NAYA                      CA          90013221593
17938222561938   RODNEY       DEMASTERS                 CA          90013952225
17938317755976   ERICA        DELAVARA                  CA          90015193177
17939394655976   GRACIELA     BERMUDEZ                  CA          90014663946
17941383291569   JAMES        LEE                       TX          90013203832
17941796791588   ANAMARIA     LOPEZ                     TX          75012967967
17941849191549   RAUL         VASQUEZ                   TX          75015378491
17941916891263   GEORGESTA    BOSTICK                   GA          90007019168
17941961257147   JUAN         MANDUJANO                 VA          90013989612
17944368161958   NORVELL      FREEMAN                   CA          90013453681
17947732857147   OSMIN        RUIZ                      VA          90007917328
17948739191588   LAURA        VALENZUELA                TX          90012907391
17949152291588   MARYBELL     PARADA                    TX          75080051522
17954151577539   CHARLES      NELSON                    NV          43047891515
17954468391588   PHILLIP      PANDY                     TX          75090884683
17954724191569   JOSE         AVITIA                    TX          75075387241
17955148591895   BRITTANY     BALL                      OK          90013021485
17955266957147   DENIS        HENRIQUEZ                 VA          90013092669
17962128461958   CECILIA      REYNOSO                   CA          90012911284
17962161261958   DANETTE      ALVAREZ                   CA          90013721612
17962254431687   MICHAEL      HURST                     KS          90013832544
17962748585853   KAREN        HERNANDEZ                 CA          90008017485
17963149357147   ESMERALDA    ROMERO                    VA          90000221493
17963229657133   ASHLEY       LESANE                    VA          90005332296
17965112461976   SHARONDA     TRAN                      CA          90008271124
17965525886455   HERIBERTO    ZAVALA                    SC          90015345258
17971169991588   DELFINO      CORDOBA                   TX          90011211699
17971239331687   RONALD       ZEHR                      KS          22036302393
17974192755976   DANIEL       RAZO                      CA          90012601927
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17974233851542   SHAWNICE       LAMAY                   IA          90015332338
17975962161958   DALIA          JIMENEZ                 CA          90004899621
17978562977362   CLARKE         CRIDDELL                 IL         90014805629
17981264793763   ADAMS          LEMASTER                OH          90005592647
17981978861958   ALLEN          ELDRIDGE                CA          46051929788
17984916491938   RYAN           POMEROY                 NC          90011469164
17989375961976   MELISSA        CARDENAS                CA          46058113759
17992665561958   LINDA          RUSSELL                 CA          90002716655
17999284861958   CARLOS         FERNANDEZ               CA          46007302848
18111426991569   ARACELI        SANDOVAL                TX          75019664269
18116875391263   ARMANDO        GARCIA ANDREDE          GA          90010218753
18117641351337   YOLANDA        MARTINEZ ORTINEZ        OH          90009856413
18117784891569   SEAN           RENTERIA                TX          90006997848
18118144261972   ALEJANDRO      VELARDE                 CA          90011491442
18118155851337   MARANDA        COOPER                  OH          66015291558
18118524451337   MARANDA        COOPER                  OH          90012705244
18119921761938   MIGUEL ANGEL   PEREZ                   CA          90014729217
18122384593724   BRITTANY       CAMPBELL                OH          90004913845
18122585561958   KRISTINA       RODRIGUEZ               CA          90010895855
18122738191263   BRITTANY       COLLINS                 GA          90001487381
18125954991523   DANIELA        FLOREZ                  TX          90013089549
18127227291569   MELISSA        CARRANZA                TX          90010162272
18127358391523   SILVA          NOELIA                  TX          90012953583
18127689557199   RODNEY         SCOTT                   VA          90001296895
18127742957147   AUGUSTIN       LOPEZ                   VA          90011737429
18128687585966   DILOY          ROBINSON                KY          90015426875
18129416785966   JAMES          SPICER                  KY          90014064167
18131461155976   JORGE          EVANGELISTA             CA          49000914611
18134984491523   CINDY          ESTRADA                 TX          90013089844
18139358361958   ESTEBAN        ESPINOZA                CA          90008363583
18141347555976   JOE            MARTINEZ                CA          90010403475
18141727281639   ANDRE          JONES                   MO          29077637272
18141971772456   WILLIAM        STAUFFER                PA          90009119717
18142244451355   MICHAEL        TRIBBLE                 OH          90014982444
18145282951359   MARCELA        SANCHEZ                 OH          90013062829
18147178291523   JORGE          GONZALEZ                TX          75009171782
18147551691895   LISA           SANDERS                 OK          90002675516
18151349851337   JENNIFER       WALLAR                  OH          90013873498
18151435557147   ZOILA          TEJADA                  VA          81006764355
18152542961938   BIANCA         ESTRADA                 CA          90014825429
18153348585966   JOTISHA        WEAVER                  KY          90012993485
18153963555976   BRITTANY       MALLONEE                CA          49016389635
18155159791523   DANA           LYLES                   TX          75029071597
18156922657147   OSCAR          LOPEZ                   VA          90009209226
18157378791523   VICTOR         SALAZAR                 TX          90012793787
18158243955976   ROSA HILDA     DIAZ                    CA          90012902439
18159569147956   ULISES         FLORES                  AR          24012535691
18159663391523   LETICIA        CARRILLO                TX          90009906633
18159747585966   DEXTER         PERRIN                  KY          90013967475
18159915981639   RUDY           AQUINO                  MO          29032229159
18161974991523   JAMES          BROWN                   TX          90013089749
18162323191523   CAESAR         ACOSTA                  NM          75032413231
18163295455976   MANUEL         RAMOS                   CA          90015262954
18163539391569   ANTONIO        MONTOYA                 TX          90003615393
18164632261938   GILMAN         TOBIN                   CA          46089036322
18169452791895   ASHLEY         ANDERSON                OK          90013864527
18173239191523   GABRIELA       VAZQUEZ                 TX          75041962391
18175499791523   INEZ           RUVALCABA               TX          90013104997
18175913591586   JULIAN         CERVANTES               TX          75037519135
18177274851337   TERRAH         MCCLODE                 OH          90003412748
18177455951355   LINDA          BERGER                  OH          90007544559
18177639361958   ELVA           LOZA                    CA          90013456393
18177942491569   CESAR          MARTINEZ                TX          90008119424
18178525651359   BRENDA         MCBEE                   OH          90011535256
18178748361938   JUAN           ESPITIA                 CA          46058037483
18178952731687   REGINA         WITCHER                 KS          22042939527
18179169751355   RICARDO        DUNKLIN                 OH          66007171697
18179238861934   FRASER         KEYS                    CA          46000392388
18181396141255   DOMINIQUE      TOMASSI                 PA          51014223961
18181885591569   DORA           CARDOZA                 TX          90013468855
18182234391569   SANDY          SALAS                   TX          75016932343
18183926171976   KELSEY         JOHANNES                CO          90002439261
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18187348361938   MARCOS       RAMIREZ                   CA          90014233483
18189192561938   PAMELA       LUERA                     CA          90011741925
18189832255976   ANNALISA     ARCINIEGA                 CA          90010398322
18192135157147   SAIF UR      REHMAN                    VA          90015051351
18192439561938   GUANG        PAPITE                    CA          90011484395
18192648691569   BRYAN        SAENZ                     TX          75040736486
18194139181692   BERENICE     MAGDALENA                 MO          90011051391
18194864361958   ASHLEY       WASHINGTON                CA          90013438643
18195652755934   JOHN         DIREDO                    CA          49016966527
18196532331459   KENOSHA      JOHNSON                   MO          90003135323
18196792951337   MISTUI       DUNCIL                    OH          90009277929
18199466391569   FELIPE       DE LOS RIOS               TX          90012024663
18211682785966   LINA         BRANDSHAW                 KY          90011396827
18212315285966   SHERRY       DICKERSON                 KY          67050453152
18212617691569   ANDRES       NARANJO                   TX          75079386176
18213156571965   DANIEL       ROBBINS                   CO          90010871565
18214752561958   TAYLOR       HARVILLE                  CA          90013217525
18217144285966   MARTHA       SPARKS                    KY          90006361442
18218575651355   SHANICEA     BENTON                    OH          66001855756
18219166561958   BEMY         CHARLTON                  CA          90004501665
18219313491569   JUAN         VARELA                    TX          90013773134
18221798477344   JESUS        CONTRERAS                  IL         90009867984
18221978647956   ANGELICA     MARTINEZ                  AR          24055719786
18222352191895   EDWARD       BURGESS                   OK          21034123521
18223175457147   TITO         POLANCO                   VA          81048231754
18224397761958   MARIA        ALVARADO                  CA          46023523977
18224435385966   LORI         HAZELWOOD                 KY          90011914353
18226548761976   OSIEL        PONCE                     CA          90006475487
18229999451355   AKILAH       BOYD                      OH          90015209994
18231376655976   CHESSARAY    NOVELLI                   CA          90002463766
18231714161958   SIRAKE       NEGATO                    CA          90013337141
18232736721933   DAWN         WILSON                    IN          90013767367
18235875593732   DOUGLAS      BALLARD                   OH          90004098755
18236183281639   THERESA      GARCIA                    MO          90013361832
18236648391569   RODOLFO      FERNANDEZ                 TX          75023556483
18238383551337   OVETTA       LEARY                     OH          90013263835
18241279981639   MELVIN       HERNANDEZ                 MO          90013622799
18242168455976   TONY         MASON                     CA          49008481684
18243586661938   ROBERT       HARRISON                  CA          90009485866
18245318391569   RAFAEL       SERRATOS                  TX          90015293183
18245772661938   HERLINDA     GUTIERREZ                 CA          90008667726
18246122691523   ELENA        ORTIZ                     TX          90008151226
18248244393756   CHERISH      HURSH                     OH          90008962443
18248324851359   ESSENCA      WASHINGHEN                OH          90012363248
18248872761958   CLARA        ARROYO                    CA          90003928727
18248916231687   JENNIFER     SIMERLY                   KS          90012439162
18249244393756   CHERISH      HURSH                     OH          90008962443
18249833391523   PEDRO        CAMUNEZ                   TX          90005268333
18252653491586   DIANA        LOPEZ                     TX          75036906534
18253775151359   DAVID        FOGELSON                  OH          66098367751
18255351785966   KATIE        SAMUEL                    KY          67027033517
18255856591586   SASHARY      ALKAABI                   TX          90010798565
18256168455976   TONY         MASON                     CA          49008481684
18256183454197   CIPRIANO     RODRIGUEZ                 OR          90011941834
18258312371932   VERONICA     URIAS GARCIA              CO          90011713123
18258713191523   RICARDO      FLORES                    NM          90010227131
18262469331687   ROGER        PEREZ                     KS          90012304693
18264931371933   MELISSA      STULL                     CO          90007669313
18266619691569   BYAN         ESCOBAR                   TX          90013716196
18266658661938   DION         SIMPSON                   CA          90014856586
18273683351337   BILL         THAN                      OH          90005906833
18275287651359   PLACIDO      ROBLERO                   OH          66061722876
18276249391584   HEDI         PLACENCIA                 TX          90010282493
18279861991897   SHALANDRA    RIJO                      OK          90008748619
18281673861938   JUAN         MALDONADO                 CA          46045336738
18281871255987   MIKE         CASTANEDA                 CA          90015028712
18282718591523   NICOLE       CANO                      NM          75036967185
18283539661938   MIKE         SKILLINGS                 CA          90015065396
18285236591523   KARINA       HERNANDEZ                 TX          90002982365
18286787551355   LISHA        CANNON                    OH          90012197875
18286849585966   LEAH         FOWLER                    KY          90012818495
18288122591578   HILDA        AYALA                     TX          90007711225
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18288637181639   MARVIN       HORN                      MO          90013826371
18289491891569   ELVA         MAGDALENO                 NM          75001794918
18291573251359   APRIL        MOORE                     OH          90010485732
18292464961938   BRYAN        GARDUNO                   CA          90015124649
18292525791263   STEVEN       BROWN`                    GA          14573825257
18294577191895   GERARDO      ROJAS                     OK          21052975771
18295753381639   AMY          BRYANT                    MO          90010437533
18296113831687   ERICA        FORD                      KS          90003701138
18296253191523   ARTHUR       FLORES                    TX          75087692531
18297452951355   JAMIE        SMALL                     OH          66028574529
18298123551359   JUSTIN       HORN                      OH          66016221235
18298995631687   MELVIN       MENDEZ                    KS          90011919956
18299134551355   MVONDO       ARNAUD                    OH          90011721345
18299583154122   AMELIA       PETERSON                  OR          47077475831
18299688785966   ANTWAUN      MITCHELL                  KY          90014506887
18312191651337   DAVINA       BRADSHAW                  OH          90014831916
18312473591569   GARY         GONZALEZ                  TX          90009654735
18312788731687   NICK         VASQUES                   CO          22087887887
18312884851359   MARVIN       NARED                     OH          90014798848
18314663731687   ANJANETTE    MONTANO                   KS          90007926637
18314944491523   VICTOR       CANALES                   TX          90001569444
18316759881639   TINA         MEYERS                    MO          90013237598
18318741581639   DARLA        IRVIN                     MO          90015097415
18319146891895   DENA         FINK                      OK          21078431468
18319558591569   ELSA         ESCOBAR                   TX          75099005585
18321633161938   ALEJANDRO    MELENDEZ                  CA          46061356331
18321653491586   DIANA        LOPEZ                     TX          75036906534
18325323157147   NOEL         HERNANDEZ                 VA          90012803231
18327372131687   CHAD         SMITH                     KS          22006463721
18328571731687   TASHIA       TOWNSLEY                  KS          90009075717
18329569551355   YVETTE       STEVENSON                 OH          66022295695
18332264181639   SARAH        ROBERT                    MO          29059382641
18333936251355   DAWN         INGRAM                    OH          66023069362
18334697691569   PANFILO      BERMUDEZ                  TX          75082486976
18337923385966   CHRISTY      SPARKS                    KY          90008579233
18338433784347   JACQUELINE   ONEAL                     SC          90004264337
18339267391569   SANDRA       RAMIREZ                   TX          90013752673
18339593257579   REBECCA      JONES                     NM          90014315932
18341751961932   ABBY         CLEMENT                   CA          90009377519
18342869557147   LORENZA      SUAREZ                    VA          81052128695
18343554951355   MELISSA      KEMPER                    OH          90003795549
18345988957147   MICHELLE     WOODSON                   VA          90013229889
18346459161958   MARICEL      MARTINEZ                  CA          90013794591
18346982571935   STEPHANIE    PERRY                     CO          90011679825
18349576791569   GARETT       BILLINGTON                TX          90005305767
18351311831687   JASON        CLARK                     KS          22000263118
18351457561958   ANGELICA     CEBRERO                   CA          90014114575
18352447255976   ANGEL        BLANCO                    CA          90009894472
18353314261976   DIANA        VARGAS                    CA          90006503142
18354143157147   NELSON       RODRIGUEZ                 VA          81076551431
18355696651359   JOYCE        BELL                      OH          90007986966
18355831355976   CHRISHONDA   SMITH                     CA          90011088313
18357213355976   JENNIE       SALINAS                   CA          90005752133
18357614261938   ALEJANDRA    ESTRADA                   CA          46050786142
18358796451355   CHRISTIAN    KINCAID                   OH          90015217964
18363117691399   JENNIFER     WILLIAMS                  KS          90011031176
18363523664135   THANG        MUNG                      IA          90014325236
18364244285966   SAMANTHA     GRANT                     KY          90013642442
18364546961993   CESAR        MENDEZ                    CA          90005735469
18365529457147   LUIS         MARQUEZ                   VA          90013275294
18368295455976   MANUEL       RAMOS                     CA          90015262954
18368565561938   WENDI        DOERR                     CA          90013775655
18369614991523   GABRIELA     FERRON                    TX          75004266149
18372786991569   CRYSTAL      REYES                     TX          90001307869
18373767931687   ERICKA       CARTER                    KS          90015377679
18373858361958   REFUGIA      PRADO MENDOZA             CA          46067748583
18374587551337   LAURA        HAMILTON                  OH          90006575875
18376672551355   TERRY        MANNS                     OH          90001876725
18377178291523   JORGE        GONZALEZ                  TX          75009171782
18377799961938   DON          WALLAR                    CA          90012327999
18378479655976   MICHAEL      NIJERA                    CA          90014984796
18379795493724   JACK         SMITH                     OH          90008497954
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18384256191569   LISA          HINOJOSA                 TX          90012342561
18386253455987   STEPHANY      RARCIA                   CA          90010602534
18387318391569   RAFAEL        SERRATOS                 TX          90015293183
18392757891569   MARIA         ALMEIDA                  TX          90011197578
18394458891578   JODY          HERRELSON                TX          90008824588
18394828951359   JOSE LUIS     SANDOVAL                 OH          90012998289
18396786761958   NOEMY         FLORES                   CA          90008887867
18398242985966   SHAUNA        ESTELL                   KY          90010772429
18398464191895   VICTOR        GRIMES                   OK          21035284641
18398677591569   GLORIA        PARRA                    TX          90008076775
18399187791569   ERICA         GARCIA                   TX          90013271877
18415774855976   CHRISTOPHER   STEMPIEN                 CA          90013167748
18415911931687   MILES         LEE                      KS          90012139119
18416621631468   JOYCE         SABINE                   MO          90002676216
18416752155976   SALVADOR      PEREZ                    CA          90013457521
18416775961938   SANTINO       YOUNGBLOOD               CA          90012137759
18418461351337   JALEESA       LEWIS                    OH          90013214613
18419363371967   MARY          BREWER                   CO          90013873633
18421757757147   SAMEH A       GHAREEB                  VA          90011807577
18422481491547   MARIA         DOMINGUEZ                TX          90005654814
18422924151355   DAVID         WILEY                    OH          90005189241
18424296355976   ELIZABETH     VERDUGO                  CA          90014052963
18425164461958   JUAN          ORTIZ                    CA          90008041644
18426941691575   SOFIA         ACOSTA                   TX          90013099416
18428844847956   BALDOMERO     HERNANDEZ                AR          24087548448
18429364451355   JOHN          DRUMMOND                 OH          90009703644
18429671661958   MARIA         QUEZADA                  CA          46079376716
18432462791569   JULIA         MORA                     TX          75044484627
18434492661958   LAMANCE       BURKS                    CA          46071244926
18436341555976   STEPHANIE     MOREYDA                  CA          90013693415
18441388785966   KEVIN         FELTNER                  KY          90012063887
18441856791523   PATRICIA      GARNICA                  TX          75042848567
18442875261938   MELILLO       FIKIRTE                  CA          90008458752
18443121857147   SALMA         SALGADO DE CAMPOS        VA          90011811218
18444523791523   OLGA          GARCIA                   TX          90013105237
18445527191569   ARACELI       GANBOA                   TX          75014365271
18446588291569   GUADALUPE     ACOSTA                   TX          90013945882
18448573571932   RAY           TARANGO                  CO          90010475735
18448598371929   STACY         BARNES                   CO          90007765983
18449312455976   JONATHON      VERA                     CA          90001033124
18449594185966   CARTER        PAUL                     KY          90001955941
18451287191569   VERONICA      ESCOBEDO                 TX          90013352871
18454492351359   JESSICA       GOFF                     OH          90014874923
18454755461938   LAURA         TAVIZON                  CA          90014437554
18455382991569   DALIA         RANGEL                   TX          90014573829
18455673551337   STEPHEN       MOORE                    OH          66021716735
18455891757147   ANTONIO       CRUZ                     VA          90004578917
18458296161938   JOSE          REYES                    CA          90010352961
18461244285966   SAMANTHA      GRANT                    KY          90013642442
18463379731687   SAMMIQUA      CANNON-WITHERSPOON       KS          90012903797
18464318985966   REBECCA       MARTIN                   KY          90012913189
18465195551355   NICK          CONNER                   OH          90012831955
18466615251337   PATRICE       FREDERICK                OH          90008506152
18467648455976   MARIA         BALLESTEROS              CA          90014816484
18468973191524   IRMA          CASTRO                   TX          75069769731
18472291657147   BLANCA        REYES                    VA          90010592916
18473479161938   BRADY         REDWINE                  CA          90013154791
18475726455976   ALMA          GARCIA                   CA          90005217264
18479185685966   MICHAEL       RICE                     KY          90014411856
18482351791569   GINNY         NAVAR                    TX          90010413517
18482468281639   PAYGO         IVR ACTIVATION           MO          90011694682
18485942791569   SAMUEL        ORTIZ                    TX          90010859427
18486753385966   RANE          SLOAW                    KY          90006507533
18488325855976   JULIE         CASTRO                   CA          90013973258
18489364991885   SARA          ARZU                     OK          21011363649
18489495691569   JUAN          LECHUGA                  TX          90002474956
18489886157147   RKI CLAIMS    SPECIALIST               VA          90011818861
18491281455976   ANTHONY       BOGOSIAN                 CA          90013612814
18493422563654   COURTNEY      HORNER                   MO          90015064225
18493575461938   VANNA         HIM                      CA          46097565754
18493886157147   RKI CLAIMS    SPECIALIST               VA          90011818861
18494886157147   RKI CLAIMS    SPECIALIST               VA          90011818861
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18496671457147   WHITE        LYNN                      VA          81006766714
18498376351355   MARTIN       WILSON                    OH          66007303763
18499625955976   PATRICIA     BARAJAS                   CA          49050086259
18512118951337   JOSE         RODRIGUEZ                 OH          90013891189
18513424261938   MARIA        VAZQUEZ                   CA          90014924242
18513527591523   CLAUDIA      DELEON                    TX          75050195275
18516899551337   TIM          FREDRICK                  OH          90008178995
18519934791523   MISLEYDI     RIVERO PEREZ              TX          90013099347
18523457561958   GILBERTO     TELLECHEA                 CA          90008364575
18523811291584   GABRIELA     FLORES                    TX          90009238112
18524329291524   STERLING     OUTRAM                    TX          90013453292
18525431593768   TINA         JACKSON                   OH          90003694315
18525983161938   PEDRO        MARTINEZ QUEZADA          CA          46078279831
18528556355976   THOOB        LEE                       CA          90012725563
18533429291895   SANDRA       SLANKER                   OK          21081614292
18533461861958   ELADIO       BURGOS                    CA          90013924618
18534412157147   NORBERTO     GALDAMEZ                  VA          90005394121
18534538351359   BRANDON      S. BARGER                 OH          66029135383
18534714955976   JOE          VALENCIA                  CA          49098727149
18535449351359   STEPHANIE    MCCOWAN                   OH          66016234493
18535948147956   ALEJANDRO    VASQUEZ                   AR          24094389481
18536824391569   STEVE        ONTIVEROS                 TX          90013228243
18538775991263   SCHENTERIA   BLAKE                     GA          14587287759
18539984491569   DAWN         LOVELL                    TX          90003389844
18541129831687   JOHN         ROETS                     KS          22006551298
18541847391523   ARMANDO      CONTRERAS                 TX          90010158473
18542485351337   COURTNEY     SORRELL                   OH          90003554853
18542612561938   NATASHA      GENDELMAN                 CA          46060596125
18543137891523   REBECCA      VIGIL                     TX          75028411378
18544543285966   RYAN         THOMPSON                  KY          90008755432
18545676861938   KATHERINE    HALLIGAN                  CA          46048216768
18546128761938   CARLOS       VAZQUEZ                   CA          90000591287
18548536655976   YOLANDA      VASQUEZ                   CA          90012855366
18548965357147   ROMULO       VENTURA                   VA          90013219653
18552351191569   ASHLEY       MORALES                   TX          90008963511
18552485691569   GUADALUPE    ESTRADA                   TX          90014834856
18553351191523   ROGELIO      CARRILLO                  TX          75068733511
18554366655976   MONICA       LEWIS                     CA          90002403666
18554665881639   CHANNING     HILL                      MO          90015206658
18557911161958   ALVARO       NEVAREZ                   CA          90011749111
18559718761938   ENRIQUE      MIRANDA                   CA          90001997187
18559959991523   JASMIN       HERNANDEZ                 TX          90014999599
18561335555976   ANDREA       MARTINEZ                  CA          90006263355
18563123555976   LINDA        VANG                      CA          90004871235
18564216457147   CHRISTINE    PANNELL                   VA          81098572164
18564974361958   HECTOR       GONZALEZ                  CA          90015139743
18566781951359   MARQUETTA    MASON                     OH          66071777819
18568693461958   LORENA       GAMEZ                     CA          90011396934
18572268661938   ANTONIO      BROWN                     CA          90014802686
18572329155976   ANDREW       MARTINEZ                  CA          90008523291
18572715951337   JOSE         HERNANDEZ                 OH          90014917159
18574912155942   MARIA        LUCIO                     CA          90014169121
18576591391263   EDGAR        PENA                      GA          14598265913
18577685831687   SEAN         HESS                      KS          90011876858
18579169781639   SHERE        TAYLOR                    MO          90010641697
18579245261976   LUZVIMEMOA   MONTERO                   CA          90006532452
18583961181639   ALONSO       PENA                      MO          29018159611
18584518751359   EDINSON      PACHECO                   OH          66029095187
18584536751337   GINA         WALKER                    OH          90004305367
18585244461938   DAVID        BURDELL                   CA          46032422444
18587765381639   KYLE         NORRIS                    MO          90014477653
18592376655976   CHESSARAY    NOVELLI                   CA          90002463766
18593228957147   MARTA        CALDERON                  VA          81086702289
18594649961938   ERNESTO      JIMENEZ                   CA          90003556499
18595112485966   RACHEAL      HARRINGTON                KY          67081391124
18598392257147   SEBASTIAN    ROJAS                     VA          90013143922
18598999261938   CRUZ         MENA                      CA          46024029992
18599343161958   NATHAN       CAMPBELL                  CA          90014593431
18611453351359   LETASHA      MCPHERSON                 OH          90011224533
18611476351359   LATASHA      MCPHERSON                 OH          90013394763
18612136357147   SACARIA      LOPEZ                     VA          81098591363
18612641161938   ARTEMIO      PEREZ                     CA          90012916411
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18617649955976   FABIAN          VELASQUEZ              CA          90007486499
18618411691569   ROSA            CHAVARRIA              TX          90002984116
18619694555976   ESMERALDA       VILLALOBOS             CA          90011496945
18619743891523   GRACIELA        CORREA                 TX          90010707438
18619883931687   ANNA            ORONA                  KS          90012168839
18621454285966   CLARENCE        SHOOK                  KY          90004694542
18622974551355   GERRI           WATKINS                OH          90013129745
18623495251337   LEVONDA         BEEKS                  OH          66093774952
18625698751359   ROLANDO         LOPEZ                  OH          90011536987
18627842281639   JESUS           GUEVARA                MO          29057978422
18629794691523   UBALDO          PEREZ                  TX          75071587946
18632155851337   MARANDA         COOPER                 OH          66015291558
18632487157147   TANYA           HARRISON               VA          90011844871
18632524451337   MARANDA         COOPER                 OH          90012705244
18633561151359   AMBER           HEIDER                 OH          66080225611
18634164191895   JEFFREY         LINAMEN                OK          21082531641
18634833757147   DAMARIS         MENLENDEZ              VA          90011848337
18634862561938   CONNIE          JACKSON                CA          90005028625
18637425536157   KIMBERLY        GARLEY                 TX          90006514255
18637987655976   DANIEL          BERA                   CA          90014889876
18638437377597   MARY            GAYTAN                 NV          90013764373
18638629755976   AMANDA          ARAMBULA               CA          49084146297
18639427291569   JIMMY           BALDWIN                TX          75078394272
18639467691897   SHERRELL        VESTER                 OK          90009504676
18641693361958   PILAR           SANTAMARIA             CA          90003916933
18643113931687   ARMIDA          MACIAS                 KS          90009021139
18643739651359   ALLISON         HEEG                   OH          90004517396
18645667461958   MELISSA         MARTINEZ               CA          90014416674
18647287491569   NICHOLAS        HERNANDEZ              TX          90009632874
18647866191523   SANDRA          HERNANDEZ              TX          90010908661
18647985485966   KENNETH         HAPPY                  KY          90014119854
18648181261938   JORDAN          GENTNER                CA          90010631812
18648497651359   NATALIE         REYES                  OH          90011904976
18651847155976   MARCUS          GARZA                  CA          49034748471
18652683257147   DOUGLAS         SANCHEZ                VA          90012636832
18653349251355   JAMES           SILVEIRA               OH          90014853492
18654674257147   LINDA           CARABEZ                VA          81009936742
18654887793725   REBECCA LYNN    RIVERA INESTROZA       OH          90011588877
18656234557147   TODD            WILLIAMS               VA          90013142345
18659478985966   CHRIS           LEACH                  KY          67082704789
18661361885966   SERENA          BERTOTTO               KY          90015303618
18661411591569   ERNESTO         REYES                  TX          90007524115
18663165251355   GERALDINE       MCQUITTY               OH          90009581652
18664244391263   LOTOYIA         GROOVER                GA          90009932443
18666373791523   SAUL            PEREZ                  TX          75082423737
18666815631687   CHRISTINA       GUERRERO               KS          22010838156
18667826831687   PRESTON         SAUER                  KS          90015108268
18667934391895   MARK            BURKS                  OK          21002639343
18668372451355   NICOLE          KENNEDY                OH          66004293724
18668818631687   KELLI           BRUBAKER               KS          90011018186
18671644955976   JOSE HUMBERTO   GORDILLO               CA          90008776449
18672554661958   OLYMPIA         SUAREZ                 CA          46050695546
18673626451337   FREDDIE         WILLIS SR              OH          66044816264
18675869251355   VERONICA        CASTRO                 OH          90012218692
18676112191573   VERONICA        ENRIQUEZ               TX          90001881121
18677542681672   GREGORY         SANDERS                MO          90013475426
18678481391569   MARIA           MARIATA                TX          90008474813
18679957591263   AARON           WEST                   GA          90008589575
18683267891569   ESTHER          NAVARRETE              TX          75046382678
18683981893724   BANDON          MANGOLD                OH          90006169818
18684755181639   AMETHYST        CAMPBELL               MO          90008957551
18685369981639   TIM             BEAM                   MO          90012853699
18688931791569   MONICA          JONES                  TX          90008339317
18691229391523   SYLVIA          CARDENAS               TX          75086652293
18691451791569   ROGERS          WIRELESS               TX          90014964517
18692578391523   MARK            BEATICE                TX          75048685783
18693297451359   SUSAN           SPENNEBERG             OH          90013362974
18694271561958   JOSIE           CASTRO                 CA          46082422715
18694443285966   TONI            JOHNSON                KY          90011634432
18695217151359   STEVEN          JOHNSON                OH          90015302171
18695571561958   RAY             CHAVEZ                 CA          90014675715
18698813651355   CAROLYNE        ANGEL                  OH          66018038136
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18698891361938   CANDELARIO    LIRA                     CA          90013248913
18699486371925   ABEL          ANDRADE                  CO          38036414863
18712353591569   ANTONIO       MANCINAS                 TX          90013933535
18712859485966   RICHARD       PARKS                    KY          90014598594
18714332961938   EDUARDO       VERDUGO                  CA          46046083329
18714383461976   IRIS          RIVERA                   CA          90006563834
18715347581639   WILLIAM       MONTERROSA               MO          90003633475
18715452231687   GREGORY       HILL JR                  KS          90014144522
18715756461958   JOHNNY        YUMA                     CA          90013887564
18715977891835   KANDICE       ANDERSON                 OK          90014479778
18717136151355   ADRIAN        MARTIN                   OH          90014831361
18717671176925   OQUARIUS      OATIS                    MS          90014566711
18719522891895   LESLEY        ELDER                    OK          21087825228
18721886591569   DAVID         CARRILLO                 TX          90003848865
18723582131687   SCOTT         SAINCLAIR                KS          90009275821
18725939955976   PETE          HANAMAIKAI               CA          90012299399
18726546491523   ANGELICA      GARAY                    TX          90008875464
18727424591263   MICHELLE      MCMASTER                 GA          14573994245
18732288591547   HILDA         RAMIREZ                  TX          90011132885
18735581461938   GERARDO       MAGALLANES               CA          90001295814
18737738655976   LISA          HERNANDEZ                CA          49034747386
18737924491523   ALBERT        PACHECO                  TX          90014099244
18741122461958   ANA           VELAZQUEZ                CA          90012001224
18741365291895   LEILANI       BARLOW                   OK          90010173652
18741913151355   ELIZABETH     BEBOUT                   OH          66081159131
18743496691523   LUIS          BUSTAMANTE               TX          90007904966
18744363831687   DAWN          WEHRLEY                  KS          90007933638
18745745281639   KEVIN         MEMBRENO                 MO          90010217452
18746313791895   BOYD          DAVID                    OK          90004363137
18748845785966   VALERY        WARD                     KY          90011328457
18752232851359   ROBERT        STEINER                  OH          66090162328
18752548955976   BERNABE       ALCALA                   CA          90001285489
18752932861976   JUDITH        GARCIA                   CA          90011209328
18752979681639   TUCKER        HARPER                   MO          90014849796
18753118861938   ELVIRA        LOPEZ                    CA          90000641188
18754445351355   ASHANTI       RIDDLE                   OH          90010704453
18754952591984   JA KEYA       SHERMAN                  NC          90001099525
18755359291895   AARON         BRIXEY                   OK          21088373592
18755639131426   DEMETRIUS     BLAIR                    MO          27557416391
18757417461958   ERNEST        DELGADO                  CA          90011054174
18758975685966   DUSTIN        HENSLEY                  KY          90014239756
18761454881639   BRIDGETTE     GOULETTE                 KS          90012014548
18761459271925   INGRID        NORMAN                   CO          90008204592
18763112691569   MINERVA       PARRA                    TX          75092661126
18763719191523   SANDRA        CANDELARIA               TX          90002177191
18764614672433   ROBIN         KIRKPATRICK              PA          90003186146
18765785551359   ERICA         MILLER                   OH          90011707855
18765988955976   BOBBY         GONZALES                 CA          49045359889
18766394591569   VIRGINIA      PROVENCIO                TX          90014443945
18766466851337   SHANNON       HINES                    OH          66052084668
18766939557124   JOSEPH        SILVERA                  VA          90013879395
18767991191573   MARIA         WARD                     TX          75073129911
18768522785966   MARK          COMBS                    KY          67004965227
18769713931687   RICARDO       MURO                     KS          90010467139
18771252981639   REGINALD      DAVIS                    MO          90009742529
18771433991523   LAURA         WILLIAMS                 TX          90003194339
18771924485966   SLIG          NAYESHA                  KY          90012139244
18773698155976   LADY          VUE                      CA          90013856981
18774518293732   MICHAEL       BANKS                    OH          64535425182
18774825791569   PACO          FERNANDEZ                TX          90014038257
18775561291569   EZEQUIEL      SOLTERO                  TX          90010275612
18777216481639   PAYGO         IVR ACTIVATION           MO          90013282164
18777433991523   LAURA         WILLIAMS                 TX          90003194339
18777439955976   CHESTER       BRINTLEY                 CA          90013094399
18777455571976   MEGAN         MCCABE                   CO          90011244555
18777538851337   ANTHONY       WILKERSON                OH          90005505388
18778433991523   LAURA         WILLIAMS                 TX          90003194339
18779165151337   SANDRA        WILLIAMS                 OH          90011491651
18779957591569   YARA          ARMENDARIZ               TX          90011859575
18781331855976   CODY          MALENDREZZ               CA          90014993318
18782939255976   JUAN CARLOS   BAUTISTA VARGAS          CA          90010079392
18783141891569   RAMOS         CECILIA                  TX          90012191418
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18784724831687   KYLEE        NIKKEL                    KS          90011497248
18785188981639   NATHAN       ROBINSON                  MO          90015261889
18785252191523   RUBEN        GUZMAN                    NM          75046862521
18785587351337   MICKELLA     FRANKLIN                  OH          90011015873
18785643451359   T            HINTON                    OH          90013986434
18788832791895   JERRY        MCDONALD                  OK          21070408327
18789196651337   KAITLYN      TUNNEY                    OH          90014611966
18789717351355   REBECCA      HALL                      OH          66032637173
18789971761985   DAMINAN      RESNDEZ                   CA          46015549717
18791375661938   SUCDI        HASSAN                    CA          90011853756
18791742581639   MATTHEW      BRADY                     MO          90013997425
18794137857147   LAURA        RAMIREZ                   VA          90013241378
18795137857147   LAURA        RAMIREZ                   VA          90013241378
18796745955976   DENNIS       LAUGHLIN                  CA          90012417459
18797844661996   GABRIELA     CANCHOLA                  CA          90000118446
18798678885966   JAMES        HARRISON                  KY          90001636788
18799357131687   JOY E        DOWNS                     KS          90002923571
18811217591835   REBECCA      MILSAPS                   OK          90010452175
18811912391523   JUAN         HERNANDEZ                 TX          75006589123
18812235355976   JEFFERY      CHENVERT                  CA          90014282353
18812414591523   YVONNA       SANCHEZ                   TX          90013934145
18813464461938   BIANCA       POPPLEWELL                CA          90014484644
18814154757147   JOSE         MARTINEZ                  VA          90014191547
18815496657147   PABLO        ROMERO                    VA          90013244966
18816359951337   LANAYE       PEEPLES                   OH          66093313599
18819712751337   ROGER        MCGUIRE                   OH          90009877127
18822996591569   GRACE        QUEZADA                   TX          90010729965
18823955355976   LY           VAN                       CA          90001569553
18824941181639   LEAH         PULLUAIM                  MO          29043389411
18825438591523   JEANETTE     MORALES                   TX          90007134385
18826914955976   LATOYA       LEWIS                     CA          90007989149
18827158985966   BRANDIE      ROBAR                     KY          90011201589
18827824791523   LAURA        SAUCEDO                   TX          90014528247
18832347361958   ROBERTO      QUIJAS                    CA          90013753473
18832615891569   ADRIANA      NAVARRO                   TX          90012126158
18833733291523   MARTIN       DELOLMO                   TX          90012247332
18833739391346   RICHARD      ALLEN                     KS          90006427393
18835412161938   T            HILL                      CA          46080344121
18836297431687   MONA         CROSS                     KS          22016282974
18839146191569   FRANKLIN     FREEMAN                   TX          75008301461
18841462181639   YOLANDA      WILLIAMS                  KS          29091314621
18841914491523   SKYLER       JONES                     TX          90015209144
18842195791523   LILIAN       PALACIOS                  TX          90011181957
18844168593756   VERNON       STACEY                    OH          90014821685
18846414951359   KIMBERLY     GARRETT                   OH          66056724149
18848516757125   EVER         ESTRADA                   DC          90000835167
18852154961958   RICHARD      HOSEA                     CA          46031141549
18852569861938   CINDY        GARCIA                    CA          90005795698
18852639581639   SOLIMAR      ENRIQUEZ                  MO          90013216395
18853712591578   ELSA         GOMEZ                     TX          90013317125
18858477551398   HELEN        NELSON                    OH          90009034775
18858978591523   IRIS         APARICIO                  TX          75086969785
18862256151355   MIKE         ERTEL                     OH          66025852561
18862911751337   KELLY        TOLIVER                   OH          66031499117
18865287851337   DEZERAY      BUTTS                     OH          90011372878
18866335757147   KAREN        REYES                     VA          90005583357
18866534455976   OLIVIA       MARQUEZ                   CA          90014685344
18867396751337   MEGAN        RIES                      OH          66017773967
18868768331687   NEAL         MEKANNA                   KS          22093177683
18868878155976   MELISSA      PUGA                      CA          49005278781
18872863991523   MELISSA      LUJAN                     TX          90010158639
18873596561938   JESSICA      FELARCA                   CA          90012905965
18874774851355   BRANDY       METCALFE                  OH          90009157748
18877242951355   JULIA        WYATT                     OH          90010632429
18877542985823   GAIL         WIEDMAN                   CA          90000245429
18878342955976   PRENTICE     THOMAS                    CA          90015143429
18878364191569   IRMA         SORIANO                   TX          90014963641
18879745281639   KEVIN        MEMBRENO                  MO          90010217452
18882519751355   JOSEPH       LACINAK                   OH          90015145197
18882916691569   CELSO        BARRON                    TX          90009459166
18885461154173   JULIE        FULLMER                   OR          90013264611
18886938761958   JENNY        PONCE                     CA          90009479387
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18887224691523   PABLO             OSANTE               TX          90005322246
18889336361994   JULIO CEASAR      ROMERO ROBLES        CA          90011643363
18891814961938   CRISTINA          VERGARA              CA          90013758149
18891832971932   FRANCES           BAPTISTE             CO          32013658329
18892242551337   AMANDA            WEBER                OH          90011132425
18893699491895   JANETTA           GROFF                OK          21092986994
18894838255976   TODD              GOODMON              CA          90007438382
18895759351337   KRISTINA          SINGLETON            OH          66094327593
18895979661938   CHANCE            ICAZEN               CA          90013169796
18896672655976   ELVIS             FRAUSTO              CA          49093166726
18896924357147   JAIRO             BONILLA              VA          90006349243
18896995497126   AMPARO            GARCIA               OR          90014889954
18897694991895   CAROL             MEADOWS              OK          90007406949
18898668885966   CORY              SHORT                KY          90012846688
18899857481639   ROSHANE           GRAVELY              MO          90014868574
18911375455976   LYNNE             BAIRD                CA          49045033754
18911791191569   MARTIN            LOPEZ                TX          75062347911
18912171985966   ANGILA            WALKER               KY          90014391719
18913618961958   MARTHA            ACOSTA               CA          46065186189
18914299357147   JOHN              NEWMAN               VA          90013352993
18914388191523   VALERIE           PEREZ                TX          75079943881
18915456481652   JAMES             KING                 MO          29003544564
18917485391569   SUSANA Y ANDRES   AREVALO              TX          90010854853
18918459291895   ALEXANDER         JOHNSON              OK          21038644592
18918674691569   JORGE             REYES                TX          90009336746
18918984957147   ALBERTO           TAPIA                VA          81008909849
18918987851359   HENRY             LANCASTER            OH          66010169878
18919992791569   JOSE              GARCIA               TX          90012159927
18921466391569   FELIPE            DE LOS RIOS          TX          90012024663
18921868993723   SAMUEL            JONES                OH          90008758689
18921982861958   MARIO             SANCHEZ              CA          90015139828
18922268161958   RENEE             SARDINA              CA          46051032681
18923687391569   EMMANUEL          CASTANEDA            TX          90010396873
18924929857147   ELAINE            ARDIS                VA          81053059298
18925453261938   KING              KARLA                CA          90008904532
18925574757147   OSCAR             MORALES              VA          90013355747
18926385655976   CELIA             OROSCO               CA          90013263856
18927356555976   ALBERTO           RAMIREZ              CA          90015143565
18928747261985   CHARLES           BRAUEL               CA          90009867472
18929763951343   RONALD            BAUER                OH          90004337639
18931349661958   EDWARD            PAURAZAS             CA          90012033496
18932356991573   YVONNE            PAZ                  TX          90002533569
18934159785966   BRANDY            BARRETT              KY          90014081597
18936797481639   D'ANDREA          FRAZIER              MO          90012877974
18936842161976   SERGIO            COLON VARGAS         CA          90014038421
18937157785966   JANICE            MONTES               KY          90014251577
18938411291569   VICTOR            IDALGO               TX          90004904112
18939965291569   NATHAN            MAY                  TX          90011859652
18939997851355   TAMAICA           LEE                  OH          90014609978
18946662991569   MARIXSA           CORRAL               TX          75046086629
18947554281639   BARBRA            EDWARDS              MO          90015235542
18948471531687   CJ                BROWN                KS          90007184715
18951976891523   RICARDO           SALAZAR              TX          90009929768
18952161891523   ROBERT            VALLADAREZ           TX          90010831618
18952172191569   DEBBIE            SORIANO              TX          90014451721
18953353351355   FELIZ             CUEVAS               OH          90013473533
18953576155976   JESUS             GONZALES             CA          49008485761
18954243251359   ERICA             STEINBECK            OH          90009742432
18954271885966   J SHANE           KAYS                 KY          90012872718
18955556547895   NATHANIEL         JORDAN               GA          90013455565
18955746391569   GEORGINA          ROSE                 TX          75046087463
18957175191569   DANIELA           GARCIA               TX          75085731751
18957711977577   LINDSEY           MEDINA               NV          90009367119
18958325885966   AMANDA            COTT                 KY          90013653258
18962145185966   TAMMY             COLE                 KY          90011051451
18963158685966   DEAN              HALE                 KY          90014711586
18963169791569   EDWARD            ORTEGA               TX          75086011697
18963675957147   UDELIA            GARCIA               VA          90008986759
18966964557147   MARIA             ORDONEZ              VA          90013369645
18968596191569   ROSEMARY          MONTELONGO           TX          90014525961
18969459481639   REBECCA           SUMMERFORD           MO          90013154594
18971786257147   ELVIS             AYALA                VA          90000587862
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18972315761958   MARIO            PINO                  CA          90015243157
18972854491569   MARIBEL          MARTINEZ              TX          75091158544
18975441761958   ROBERT           BRIGHT                CA          90010824417
18975568277375   CHAD             SAVOURE                IL         90005675682
18976284361958   VICTORINO        SOMERA                CA          46089662843
18977615151337   MICHAEL          ROSE                  OH          90011756151
18978939391523   LARA             ROSARIO               NM          90015609393
18979327551337   BECKY            WILLIAMS              OH          66003403275
18981265985966   LILLIAN          LAWSON                KY          67051292659
18981711855976   SAMUEL           SALAZAR               CA          90013037118
18982983555976   FOR              VANG                  CA          90004619835
18984372691569   IAN              MARTIN                TX          90013253726
18984567461958   PARROTT          FREDDI                CA          90010025674
18985831951355   RON              HATFIELD              OH          90004398319
18986539161958   DARRIAN          FERGUSON              CA          46081305391
18986911761938   ARACELI          TABLAS                CA          90010639117
18987392155976   TIA              YANG                  CA          49090823921
18987734761938   NELLY            CAZAREZ               CA          90014697347
18987773951355   SUSAN            WHARTON               OH          66006597739
18988842361938   ALICIA           MARTINEZ              CA          90007568423
18991375455976   ALEJANDRA        FERNANDEZ             CA          90014923754
18994569541255   STEVE            KRUGLE                PA          51075955695
18995323161976   EVA              VASQUEZZ              CA          90006713231
18996131557147   TONY             WILLIAMS              VA          90010541315
18996215561938   MARGARITA        APRESA                CA          46086892155
18997458255976   RENE             REYES                 CA          49078644582
18998349551337   JASON            SCHUMM                OH          90004043495
18999252455963   SERGIO           PLASCENCIA            CA          90014032524
19111277885966   BRIDGET          POPPLEWELL            KY          90013492778
19112277885966   BRIDGET          POPPLEWELL            KY          90013492778
19112933191569   ERIKA            DE LEON               TX          90014789331
19113181361938   JOHN             OLOYA                 CA          90002491813
19113983291346   FATOU            DIOUF                 KS          29083709832
19114434161963   CHRISTINA        BILLINGS              CA          90009814341
19114477751359   LISA             BECK                  OH          90001294777
19119322261938   MICHELLE         MARQUEZ               CA          90011393222
19119896251359   WESLEY           MILBURN               OH          66003908962
19122389391263   PAYGO            IVR ACTIVATION        GA          90012633893
19122463791569   SERPIL           KURNAZ                TX          75037454637
19122896357147   MARGARITA        AREVALO               VA          90004488963
19126586957147   ANGEL            GOMEZ                 VA          90014625869
19128645557147   MARIE            ABEL                  VA          90009566455
19129717161963   NANCY            TUCKER                CA          90014017171
19131195391979   MALEA            ANDREWS               NC          90000601953
19131216993745   KATHY            COON                  OH          90010492169
19132882357147   OSCAR            PAZ                   VA          90012208823
19134421291263   DEANNA           ALSTON                GA          90014524212
19135732791263   ERNEST           JONES                 GA          90013917327
19136725557147   KARA             BRATHWAITE            VA          90015027255
19136835961963   MARILYN          BENFORD               CA          46090568359
19137837185966   MARIO            GREGORI               KY          90010998371
19138114891569   ANDREA PAULINA   MACIAS                TX          90006371148
19139372291263   KAYLA            HENRY                 GA          90002903722
19141643985853   GLORIA           WALTERS               CA          90008176439
19141675391569   MONICA           SANCHEZ               NM          90011356753
19143747751355   JAIME            CONTRERAS             OH          90002047477
19144313261963   DANIEL           MORENO                CA          46098393132
19145232591569   RUTH             CUMMINGS              TX          90008932325
19147449561958   FRANCISCO        PINA                  CA          90010094495
19154763661938   GERARDO          MALDONADO             CA          90010027636
19154919455947   MARCO            VILLARREAL            CA          90012439194
19154923385966   CHRISTY          SPARKS                KY          90008579233
19156615157147   SERGIO           NANDO                 VA          90013926151
19157627857147   FANY             MARTINEZ              VA          90007226278
19159867191569   ROBERTO          INTRIAGO              TX          90005598671
19161111961963   BONNEY           GOTT                  CA          90011181119
19162288951359   RENEE            HAMBLIN               OH          66013852889
19162376491569   RUBEN            RAMIREZ               TX          75092753764
19162952657147   MIRNA            HERNANDEZ             VA          90009029526
19163228861963   ANA MARIA        HICKS                 CA          90013782288
19164496561958   JOHANNA          HERNANDEZ             CA          90010094965
19168733291569   ALESIA           GRISWOLD              TX          75015147332
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19169525161938   MICHAEL      BIELICKI                  CA          90012085251
19171488191569   MAGDALENA    MEJIA                     TX          90007384881
19173642457557   LISA         NUNEZ                     NM          90001766424
19174492661963   RHONDA       RHONNE                    CA          90014644926
19175231961924   CARLOS       CERVANTES                 CA          90014492319
19175283361963   JOHN         DOMINGUEZ                 CA          90012762833
19175394551337   LARONDA      THOMAS                    OH          90007183945
19176855442597   JEFFREY      MINDT                     WA          90015508554
19176955993745   PANNER       GATES                     OH          90010529559
19177239661938   ALEX         FIGUEROA                  CA          90004942396
19178311457147   DEMETRIUS    MALLISHAM                 VA          90014243114
19179129691885   TABATHA      WHITLEY                   OK          90002371296
19179249685966   RICKY        STAMPER                   KY          90014692496
19179664551355   RONDA        FARMER                    OH          90013736645
19181648493745   FELICIA      SULLIVAN                  OH          64568196484
19182564691263   JASMINE      HAYES                     GA          90015505646
19182953991569   MANNY        AMADOR                    TX          90004879539
19182996661958   ANGELICA     GONZALEZ                  CA          46046149966
19183198693745   COY          HUGHES                    OH          90003261986
19184246547956   JENNIFER     LAWS                      AR          24053252465
19184324433634   BRIAN        MARINO                    NC          90012073244
19185296561963   JENNIFER     SUMMEY                    CA          90001482965
19186667257147   MARIA        REYES                     VA          90008916672
19187125557147   JONATHAN     DIXON                     VA          90013931255
19187168491263   LUCHER       JOHNSON                   GA          90009381684
19192329491569   MOSES        VIRGEN                    TX          90003163294
19192541991263   JENNIFER     MORAN                     GA          90013975419
19192756791886   AMANDA       LONG                      OK          90013867567
19197558757147   TESHOME      LACHEBO                   DC          90012945587
19199647131444   KELLY        BAKER                     MO          90010696471
19211228684329   LEROY        GODFREY                   SC          90012382286
19213216457147   CHRISTINE    PANNELL                   VA          81098572164
19214347191569   MARIA        VELAZQUEZ                 TX          90010013471
19217876631687   HASHAWN      LOUDERMILK                KS          90001888766
19219681461938   FERNANDO     OCHOA                     CA          90010526814
19219985485966   KENNETH      HAPPY                     KY          90014119854
19222921585966   MONTANNA     KELLEY                    KY          90014139215
19224138491895   WALTER       JONES                     OK          90013901384
19224936891884   MICHAEL      MORGAN                    OK          90008649368
19225712425396   BRITTNY      GARBELMAN                 WA          90012517124
19226125893745   ERIC         CLAY                      OH          90010011258
19226815191263   KEITH        CHENEY                    GA          90003548151
19226979961938   LASHUNDRA    SCOTT                     CA          46052359799
19227435491263   LUIS         REYES                     GA          90013964354
19228468991263   TRONDA       CAMPBELL                  GA          90013164689
19228581891569   MARIA        RASCON                    TX          90007695818
19229296293745   JANIE        LAUB                      OH          90013152962
19231372261958   ARTURO       LEON                      CA          46072213722
19232875557147   JOEL         GOMEZ                     VA          90012968755
19233654861963   SHANTELLE    VANDENRIES                CA          90014646548
19233723457147   BLANCA       HERNANDEZ                 VA          90012737234
19233736185836   MARIA        PEREZ                     CA          90008827361
19237242651355   VICKIE       NUGENT                    OH          66076702426
19237739791263   ANTONIO      ROBBINS                   GA          90005697397
19238717551359   PRECIOUS     PRUITT                    OH          66057157175
19243996957147   ERNESTO      HERNANDEZ                 VA          90011989969
19244113757147   MARIA        ORELLANA                  VA          90012741137
19245293551337   CHRIS        HAMEL                     OH          90010762935
19245447133699   VIRGINIA     DIGGS                     NC          12071894471
19247738691263   LARHONDA     MORONTA                   GA          90013407386
19248235193745   BRITTANY     KENDALL                   OH          90014642351
19249765461963   PATRICIA     FLORES                    CA          46083717654
19251191147956   ERLIN        DODD                      AR          90011251911
19252486761938   BETTY        STEWART                   CA          90015334867
19252983433699   JUDITH       HERNANDEZ                 NC          12080799834
19253447861963   JEREMY       RIGDON                    CA          90013234478
19253481761963   HELEN        DAKHA                     CA          90011274817
19253726951355   LINDA        KIDD                      OH          66096647269
19254487171955   NOEMI        VICTORINO                 CO          90014824871
19254631561963   MARCO        SALGADO                   CA          90002666315
19255776757147   ROBERTO      MATOS                     VA          90011647767
19256264761963   PERLA        RIVERA                    CA          90009602647
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19258514661963   JOEL         ISSAC                     CA          90013245146
19262375693745   ASHLEE       TUCKER                    OH          90011233756
19262733661938   LASHUNDA     KING                      CA          46084747336
19262761757147   JOSE         COLINDRES                 VA          90013527617
19262818141249   BRANDI       RUKOVENA                  PA          90012628181
19265339757147   TORI         GREEN                     DC          90013973397
19265441257147   TORI         GREEN                     DC          90011214412
19265448357147   TORI         GREEN                     DC          90011994483
19266167185966   DOMINIQUE    WHITTLE                   KY          90014751671
19266432631687   NANCY        MARTINEZ                  KS          90009884326
19266484693745   LINDSEY      DIETRICH                  OH          90014654846
19266864281466   MATT         BURKETT                   PA          90014128642
19267462461963   BONNIE       THARSHER                  CA          46095024624
19267595991895   RUBENN       GONZALES                  OK          90006865959
19267611191263   DAVID        HERNANDEZ                 GA          90015446111
19268484693745   LINDSEY      DIETRICH                  OH          90014654846
19272924693727   BEAUTIFUL    STAR                      OH          90008839246
19273785891569   CYNTHIA      CRUZ                      TX          75004017858
19275224591569   CRYSTAL      BURCIAGA                  TX          90008122245
19275612691569   SHANTELL     EDGERTON                  TX          75093766126
19275683351337   JAMES        CARTER                    OH          90011856833
19277665447956   KASSINDRA    SMITH                     AR          24087246654
19277951151355   PHILLIP      HANCOCK                   OH          90006109511
19278135591549   MARISOL      ARMENDARIZ                TX          90010961355
19279681961963   SHAAKISHA    JUDKINS                   CA          90011016819
19279723485966   MICHEAL      CONN                      KY          90014857234
19281837191569   JAVIER       ROMERO                    TX          90010498371
19284178651337   PEGGY        CARROLL                   OH          66060041786
19286512451355   NATHANIEL    RIESELMAN                 KY          90013055124
19287935261958   JOSEPH       KEY                       CA          46010329352
19288513291578   ORQUIDIA     MARTOS                    TX          90014695132
19288642761938   JUSTIN       FIGURON                   CA          90013106427
19291615731459   WILLIAM      DIEPENBROCK               MO          27588656157
19292195861963   OLIVIA       GONZALEZ                  CA          46086581958
19292875591844   JUDY         MCCOY                     OK          90001668755
19293219257147   NELSON       VELIZ                     VA          90014842192
19299232861958   SARA         GARCIA                    CA          46039902328
19311161491263   ISAAC        GRIFFIN                   GA          14597521614
19311298161963   JESUS        VIZCAINO                  CA          46039902981
19311966741249   EMANUEL      PLATIKA                   PA          90008619667
19314738861963   MUDHAFFER    MUGHIR                    CA          46032677388
19322239757147   SHEHIN       ESKANDARY ZADEH           VA          90013182397
19323679955947   VIVIANA      VALDIVIA                  CA          90008586799
19323984247956   JAMES        MOTON 3RD                 AR          24036579842
19326329861938   AHIDA        BAZQUEZ                   CA          90014373298
19326581291583   SAUL         GARCIA                    TX          75091265812
19327377691569   BELL         JAQUEZ                    TX          90012373776
19328247193745   MARIA        BILLA                     OH          90012072471
19329147157147   JAMES        NEGRONI                   VA          90012761471
19331274791263   BRIAN        PAGANO                    GA          90013272747
19331771557199   GRISEYDA     MARTINEZ                  VA          90010357715
19333389291895   LATERICE     BURLLEY                   OK          90001663892
19333859563654   SARAH        THEOBALD                  MO          90007668595
19333954491838   MARTINEZ     ZULEYMA                   OK          90010129544
19334268691895   ROBERT       WILLIAMS II               OK          21005012686
19334273784344   MELISSA      WILSON                    SC          90013472737
19334329851337   JUNIOR       PASTORIZA                 OH          90014623298
19334572273228   RICHARD      APPLEGATE                 NJ          90015355722
19334977961963   BORATH       NOP                       CA          90014669779
19336483991569   MARISOL      RIBOTA                    TX          75018654839
19338225357147   KENDALL R    STUIT                     VA          90014922253
19341216151337   CARMENCITA   GERONIMO                  OH          90014172161
19342315651355   COY          MANNING                   OH          66007733156
19344145661963   ATHENA       MARIE                     CA          90014881456
19351775151355   CHASTIA      HINES                     OH          90006997751
19355349521654   LUIS         PEDRO                     OH          90014353495
19356356693745   DOYLE        FLORY                     OH          90012583566
19356727361963   MICKI        JACOBS                    CA          46088577273
19357989893754   SHELBY       BASIL                     OH          90012779898
19358686691569   CESAR        MARTINEZ                  TX          90011356866
19358918751359   KYLE         CLINGER                   OH          66062739187
19362129551355   DEAN         OSGOOD                    OH          90002631295
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19362395691263   ARKEEM       MITCHELL                  GA          90010883956
19364268257147   ISAIAS       MEDINA                    VA          90013932682
19365662355948   CLEMENTE     MOTO                      CA          90012116623
19366299357147   MARVIN       MENJIVAR                  VA          90004682993
19366336351359   DAVID        MARK                      OH          90012473363
19368133555948   LUIS         DUARTE                    CA          90012181335
19371221157147   DELMI        GONZALEZ                  VA          90007242211
19372413761938   KENNETH      GREATHOUSE                CA          90001974137
19374613151355   NICOLE       HENDERSON                 OH          66019996131
19374792691263   CHARISE      PERRY                     GA          90015237926
19375493851355   ERIC         DUSKIN                    OH          90007324938
19375813557147   NOHAWIT      BERMANE                   VA          90007948135
19376415457147   ULISSES      ALBERTO                   VA          90003604154
19377651461938   MARTINEK     WHITE                     CA          90010936514
19378144351359   SIYR         HAYGOOD                   OH          90012331443
19378449151337   SYMPHONY     WATTS                     OH          90006964491
19378596991263   JANICE       JELLY                     GA          90015455969
19379253931687   JEREMY       RUNYAN                    KS          22094652539
19379379861938   MARGARET     BROWN                     CA          46042023798
19379759161958   BERNADETE    BACAA                     CA          46066947591
19382182151355   PETE         STEINMETZ                 OH          90004291821
19383868793745   BONNIE       ASHER                     OH          90011758687
19384771991263   MELANIE      PARTAIN                   GA          14507167719
19385384493745   JAMI         BROWN                     OH          64556253844
19385839491263   ROBERT       OLLIFF                    GA          90009438394
19387864691569   MARCO        GUZMAN                    TX          75043288646
19387966457147   COSNTANCE    GILLETTE                  VA          90014179664
19389567393727   ANGELA       MILLER                    OH          90001265673
19391546151337   NOYLAN       DAVIS                     KY          66001065461
19391877191569   MARIA        MACIAS                    TX          90005878771
19391878933699   DAMON        BENNETT                   NC          12097998789
19392421293745   ORONDE       CLARK                     OH          90009374212
19392427857562   JUSTUS       CHEPSONGOL                NM          90013344278
19392535791895   PAUL         DOWNING                   OK          21004715357
19392912791569   ALEX         GUILLEN                   TX          90014039127
19393367691263   SHARON       PHIFER                    GA          14502913676
19395345431687   LAQUISHA     JONES                     KS          90011023454
19396253891895   JAMES        MICHAEL                   OK          21056842538
19397744161938   MARIA        MIJANGOS                  CA          46024537441
19411157331687   GARY         MOORE                     KS          90004211573
19411413993745   MARA         LAMBERT                   OH          90014834139
19411783291263   DIANE        DRAYTON                   GA          90012917832
19411934991569   YEDITH       CORTEZ                    TX          90014179349
19412175751337   HOMBERTO     CHACHA                    OH          90014021757
19413413993745   MARA         LAMBERT                   OH          90014834139
19415225547956   LISA         DRAXLER                   AR          24038582255
19415443833699   AMANDA       CLADNEY                   NC          12010324438
19416361793745   SIMON        DIXON                     OH          90004233617
19416421751359   ERIC         ALSTON                    OH          66077864217
19418138663622   SHANNON      BOWEN                     MO          90014181386
19418422191569   JANETH       RUIZ                      TX          75091264221
19418464157147   MARK         SHEETS                    VA          90012814641
19418513461938   ADEMAR       LOPEZ                     CA          90004415134
19419149661938   MONIQUE      PANGALIMAN                CA          90012871496
19419316247956   PAYGO        IVR ACTIVATION            AR          90004243162
19419829751337   JORDAN       JOINER                    OH          66088158297
19421912951337   MARK         KUYKENDOLL                OH          66016739129
19422683857147   LATIA        THOMAS                    DC          90014376838
19422747291263   NICOLETTE    ROBERTS                   GA          90008637472
19425215461963   EHH-OH       DESIGN                    CA          90014162154
19425269861979   FANON        PATTERSON                 CA          90002412698
19432155791549   STEVEN       MARTINEZ                  TX          90009851557
19432716191322   JOEL         DIAZ                      KS          90011727161
19432784191569   ESTHER       ROMERO                    TX          75082487841
19435835351337   SARAH        CATRON                    OH          90009748353
19436995651359   KANDACE      COLE                      OH          66093159956
19438993231494   ALFRED       CATCHING                  MO          90006509932
19439152451355   CECIL        BOYKINS                   OH          90013701524
19441836933699   RAVYN        LONG                      NC          90007258369
19443129791569   ARACELI      REY                       TX          90007491297
19443989461938   CAROLINA     MORENO                    CA          90009999894
19444615631687   CAMILLE      RECIO                     KS          90013656156
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19445498251337   JEFFERY         CLARK                  OH          90012764982
19446568161958   STEPHANIE       ALLRED                 CA          90003995681
19447158985966   BRANDIE         ROBAR                  KY          90011201589
19449938491263   LILLIAN         FISHBACK               GA          90014289384
19451153291569   JEROME          PEARSON                TX          90012541532
19452127561938   MARIA ELENA     GALVAN                 CA          90013411275
19453198531687   NICOLE          COMPTON                KS          90014041985
19454359457147   AGENOR          MENDEZ                 VA          90013383594
19455454151337   ANABEL          PACHECO                OH          66026544541
19456511191569   KARLA           RIOS                   TX          90002075111
19456637951359   JESSE           PLESSINGER             OH          90007506379
19457783291263   DIANE           DRAYTON                GA          90012917832
19457784757147   HUMBERTO        GOMEZ                  VA          90011147847
19461241661963   DARRYL          SCOTT                  CA          90012002416
19461782561963   DARRYL          SCOTT                  CA          90013457825
19463157251337   MESFIN          KORME                  OH          90006011572
19463623451355   MANUEL          MARTINEZ               OH          90013906234
19464467557147   KEVIN ANTONIO   ABARCA                 VA          90010184675
19465129931687   SANDY           STROUD                 KS          22016511299
19465891361963   MARCO           NUNEZ                  CA          90014108913
19469835161938   SAUL            SANCHEZ                CA          90012838351
19471279491895   MICHAEL         BAER                   OK          21096882794
19471936231687   WILLIAM         CALLISON               KS          22097509362
19472186857147   SIPHOSISO       MLAMBO                 VA          90010371868
19473646361958   MORALES         PETER                  CA          46034646463
19474815231687   TYLER           SIMLER                 KS          90013838152
19475112991263   ASHLEY          MILLER                 GA          90008281129
19475116891569   RICARDO         BECERRA                TX          75080751168
19476379247846   BETTY           CLARK                  GA          90003593792
19484151341265   MIKE            WARD                   PA          90011741513
19485634451355   RONALD          HOLT                   OH          90010656344
19486233751359   PEYTON          WEEMS                  OH          90013802337
19488639957147   HENRRY          PANIAGUA               VA          90012886399
19493223351359   SHARMELA        BARR                   OH          66006762233
19493512451355   NATHANIEL       RIESELMAN              KY          90013055124
19493988261963   LUIS            GASTELUM               CA          90005729882
19495857491263   KEITH           WHITE                  SC          90009168574
19495884791263   CINDY           PINCKNEY               GA          90008118847
19496177291895   BRENDA          RAMIREZ                OK          21011791772
19498285691263   SUNNIE          STAHL                  GA          14574402856
19511535361938   ANTHONY         STEELE                 CA          90014665353
19513394577535   JARED           WHITMORE               NV          90001653945
19513636261958   STEVE           HAWKS                  CA          46075796362
19516993393745   NICOLE          HOOVER                 OH          90011809933
19521279793745   TODD            FRANCIS                OH          90003242797
19521952951359   STEPHANIE       FARTHING               OH          90013919529
19522794793745   JASON           LEWIS                  OH          90001417947
19523788451355   JACKIE          KANE                   OH          90012787884
19524937191569   ESMERALDA       RODRIGUEZ              NM          75086719371
19525741557147   IMAN            HASSANI                VA          90010167415
19527138261963   BRETT           KOOPMAN                CA          90013011382
19529374347956   LYNETA          DEAN                   AR          24067013743
19531228691927   KENISHAA        MOODY                  NC          17016942286
19531968157147   CATALINA        PADILLA-ROMERO         VA          81055269681
19532278391569   ARCELIA         HERNANDEZ              TX          90013822783
19533255591263   LAPORSHA        MUMFORD                GA          90014712555
19533425891578   ANGEL           CHAIRES                TX          90011604258
19533436661958   ANA             TELLEZ                 CA          90006944366
19534586261986   MICHEL          SEECHRIST              CA          90010775862
19534933247956   JUANA           RAYA                   AR          24058839332
19537574993745   KATHRYN         ARNOLD                 OH          90011825749
19539252361958   CYNTHIA         BETANCOURT             CA          46041402523
19539484493745   PAMELA          COPPOCK                OH          64516794844
19541269451355   OUSMAN          HASSAN                 OH          66009582694
19541551391895   APRIL           ROBISON                OK          21052565513
19541827351337   DION            HARMON                 OH          90011748273
19542613891569   RAMONA          ADAME                  TX          75015616138
19543144393767   NOREEN          SHROPSHIRE             OH          90012401443
19543983751337   VALERIE         BRUNNER                OH          90005659837
19544417651359   THADDEUS        LAINHART               OH          90010264176
19546693761938   LETICIA         TRUJILLO               CA          90003026937
19547269257147   AUGUSTINA       AMPEH                  VA          90003562692
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19547798891569   RAQUEL          ZUNIGA                 TX          90000387988
19548572655935   LUIS            TORRES                 CA          49012865726
19552929591263   WINDY           LAWTON                 GA          90013719295
19553939593745   CHARLES         WILLIS                 OH          64582029395
19554542631687   TERRY           HENDRIX                KS          90012405426
19554654391569   AMANDA          DE LA CRUZ             TX          90014156543
19554861291263   DESTANIE        RILEY                  GA          90010118612
19556772151355   DEMETRIUS       WILCOX                 OH          90007617721
19557259691569   ARTURO          PUENTE                 TX          75079822596
19558889557147   VERONICA        TORREZ                 VA          90010798895
19559272191895   CHERYL          CHERRY                 OK          21085132721
19561824631687   DALE            KECK                   KS          22056798246
19562551761963   ENRIQUE         MENDOZA                CA          90014415517
19562955131687   LORI            PEREZ                  KS          90013599551
19564347993768   BEN             EASY                   OH          90007933479
19565798793745   CHANDA          FUSTON                 OH          64570337987
19568171151359   CHRIS           SCIPPIO                OH          90011901711
19568272661963   DAMIEN          FORTE                  CA          90014742726
19572627951337   BRYAN           JARBEAU                OH          90012326279
19573364731687   BLANCA          SAUCEDO                KS          90015113647
19573492761938   MARTIN          GODINEZ                CA          46051824927
19573963961958   MARTIN          VILLEGAS               CA          90010349639
19574884791569   JAIME           ESPINO                 TX          90008538847
19576651633699   JUMART          KELUBIA                NC          12011456516
19579733831687   VALERIE         HAMILTON               KS          22084757338
19582542363654   EMILY           SHIVLEY                MO          90011895423
19583818391569   MICHELLE        REYES                  TX          90010898183
19584265461963   JUSTIN          CORNWELL               CA          90014672654
19585584757147   RUTILIO         ANGEL                  VA          81060825847
19586648831687   JOHN            WERTH                  KS          90015366488
19586769191569   ELEAZAR         JABALERA               NM          75014957691
19587596591547   ALFREDO         SONORA                 TX          90008995965
19587973291852   JIMMIE          WALLER                 OK          21009039732
19591393451359   TRACY           FUGATE                 KY          90009883934
19591395251357   STEVE           LIGHTNER               OH          66038323952
19591577291569   ISELA           MUNOZ                  TX          75066335772
19592236161938   ROSA            DIOSDADO               CA          90010152361
19593418161963   JOHN            BATTAGLIA              CA          90015264181
19593499961938   JUAN GABRIEL    ACEVEDO                CA          90013244999
19596252251337   JASMINE         PEREZ                  OH          90013742522
19596875861963   JOSUE           GOROILLO               CA          46042048758
19597539891569   ARACELI         MIRANDA                TX          75021165398
19611559431687   BARBRA          SHUGART                KS          22073245594
19613563461938   LEAH            JULIANO                CA          90007965634
19614625151359   AMBER           HILL                   OH          90009856251
19614761161963   SONIA           LOPEZ                  CA          46025457611
19616197591569   PAULO ANTONIO   ALONSO                 TX          90014741975
19616345793745   KYLE            GRUNKEMEYER            OH          64515983457
19617327757147   HANH            CHAU                   VA          90014253277
19619792731687   LOGAN           KELLEY                 KS          90010897927
19621354333699   JENNIFER        NELSON                 NC          12019843543
19621417651355   THADDEUS        LAINHART               OH          90010264176
19621934691569   VICTOR          SANDOVAL               TX          90001019346
19623131461958   JOEL            RODRIGUEZ              CA          46004621314
19623578661963   YAHAIRA         FERNANDEZ              CA          90010545786
19624315647956   WILLIS          FISHER                 AR          24066823156
19624781251359   JOQUINA         BROOKS                 OH          66095967812
19625288961963   SEAN            AREVALO                CA          90014672889
19625698261938   ALMA            ALTAMIRANO             CA          90009646982
19626281557147   DANIEL          ADAMI                  VA          90014922815
19626341293745   RHONDA          SMITH                  OH          64555153412
19627776461963   MELISSA         ALMARO                 CA          90012817764
19628596391569   MARIA           MONCAYO                TX          75034005963
19633123261963   JAKE            BOROWSKI               CA          90014901232
19636294351359   KEITH           CLEAVER                OH          66009982943
19638737691569   GLORIA          CHAVEZ                 TX          75068617376
19641638661963   AURORA          DOMINGUEZ              CA          90013566386
19643214991569   PATRICIA        VIZCARRA               TX          90012542149
19643333351355   ALEJANDRO       PONCE                  OH          90015133333
19648499851337   ARNITRA         CRAWLEY                OH          66005994998
19648886451359   MICHELLE        GAINS                  OH          90006538864
19649548293745   TERESA          EMMONS                 OH          64527615482
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19649876457147   TRINIDAD          CINTRON              VA          90010168764
19649923451337   SHEILA            IRVIN                OH          90014499234
19651526391573   TERESA            RAMIREZ              TX          75028645263
19651743633647   PHYLLIS           KIRKPATRICK          NC          12009857436
19652817651337   NAHUN             ESAU                 OH          90014758176
19653932157147   PEDRO             CASTILLO             VA          90014419321
19654371591569   LAURA             MCCORD               TX          90013293715
19655545991263   ERIC              WASHINGTON           GA          90015025459
19656362161969   JODY              COOPER               CA          90006243621
19656753861938   ANGELA            CLARK                CA          90012317538
19658376551355   ALEXANDER         BARLAGE              OH          90013203765
19658484361963   TERESA            ROCHA                CA          90008644843
19663645857147   EMNET             AMENSHOWA            VA          90003186458
19666547491524   MARIA             GARDEA               TX          90012455474
19666625461958   STEVEN            SCHOW                CA          90010396254
19668568691855   LANCE             VEALES               OK          90010215686
19669491551337   BRITTANCY         WISICUP              OH          90014714915
19671736451359   NOEMI             PALOMARES            OH          66001447364
19672376751355   PAIGE             FULTON               OH          66046113767
19674276561963   RACHEL            FRANCO               CA          90014162765
19675858761963   JUAN              BRASCH               CA          90013888587
19676568551337   SAMEKA            STAFFORD             OH          90013825685
19677364351337   ITZAPLENWAY AVE   LORETO               OH          90008373643
19681525961958   YADIRA            MAZON                CA          46091845259
19681575651359   SHANICEA          BENTON               OH          66001855756
19682737151355   JOHN              CANNON               OH          66051787371
19683741261963   MEGAN             KETTMANN             CA          90001997412
19683845655938   CHRISTINA         EMERY                CA          90001508456
19685788957147   WILBER            PARIONA              VA          90003187889
19688862757147   STACIE            HENDERSON            VA          81004248627
19689374347956   LYNETA            DEAN                 AR          24067013743
19691497193745   SANDRA            RENYOLDS             OH          64525604971
19693735291263   TROY              AIKENS               GA          90012847352
19695346831687   GEORGINA          BRADFORD             KS          90011023468
19695439784344   MONIQUE           ROYAL                SC          90005724397
19695485771976   JESSICA           NANCE                CO          90008174857
19698917257147   JOSE ISAAC        HERRERA              VA          90012909172
19713644851359   JASON             YOUNG                OH          66015706448
19713673861958   CHRISTINA         DUNNAM               CA          90010396738
19714753351359   MIRANDA           HAMBLIN              OH          90012387533
19716443691569   CYNTHIA           FABIAN               TX          75096474436
19717136951355   TAMMY             MURRAY               OH          90014831369
19718288461938   AMADA             AGUILAR              CA          90014962884
19718599757147   JUAN              MEDRANO              VA          90008875997
19719163751337   JAMES             GOINS                OH          66026551637
19723511691569   RICHARD           BASS                 TX          90011895116
19725613891263   BRENDA            STEPHENS             GA          90015106138
19725687261938   GABRIELA          MUNOZ                CA          90007966872
19726727251355   BRITTNEY          HEHN                 OH          66074827272
19727217231687   VERONICA          MCGINNIS             KS          22073302172
19729343791895   CHRISTY           HAMMACK              OK          90003433437
19731842351359   DANIEL            BREEHNE              OH          90004308423
19734576251337   JOHNNY            COREY                OH          66086045762
19738136951355   TAMMY             MURRAY               OH          90014831369
19741257991895   EDWARD            OSTERHOUDT           OK          21026872579
19741359961993   LOURDES           LOZANO               CA          90012483599
19743778991569   EDGAR             MARTINEZ             TX          90015097789
19743821747956   BRENDA            MEGEHEE              AR          24069028217
19744532861985   JAINA             VASQUEZ              CA          46085395328
19744857757147   NAILA             NOREEN               VA          90012918577
19747118591569   JASON             JAMES                TX          90004041185
19747993591895   VANTISHA          GARY                 OK          90005969935
19748346261963   RICARDO           GARCIA               CA          46018843462
19748518591964   LYNDALE           COLEY                NC          90008605185
19749425161963   HENRY             MONTEJO              CA          46098574251
19752281261938   JENNIFER          AMAYA                CA          90012742812
19752318191569   BRENDA            GONZALEZ             TX          75047093181
19755492451337   CHRISTOPHE        KEYES                OH          66016604924
19762232957147   VICTOR            GUZMAN               VA          90014892329
19762765551355   PASTOR            PEREZ                OH          66097797655
19762824861938   JAMES JJ          JOHNSON              CA          90014868248
19763678661938   YENINE            GARCIA               CA          90012176786
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19764892593725   TRACI        CLEVENGER                 OH          90000998925
19765895461938   WANSON       DILIEU                    CA          90001548954
19767868861963   DEIDRA       WHITE                     CA          90014678688
19771951491569   SARENA       MINJAREZ                  TX          90014039514
19773241791263   KATINA       KING                      GA          90014712417
19773695191895   ARTURO       VAZQUEZ                   OK          21056006951
19774495531687   RICHARD      WISE                      KS          22076244955
19778255857147   ALLAN        GUZMAN                    VA          90013472558
19778553391569   BLANCA       CAMACHO                   NM          90001795533
19778928451355   JUAN         BRITO                     OH          90013509284
19779219151355   HEATHER      ELLERBUSCH                OH          66096582191
19781391291263   MICHAEL      MCILWAIN                  GA          90003593912
19782666551355   TIFFANY      MILLER                    OH          90010286665
19783678661938   YENINE       GARCIA                    CA          90012176786
19785598361963   ROBERT       GAYS                      CA          90010015983
19785762661963   AMANDA       GRAYS                     CA          90014037626
19787227551359   RUDOLPH      BROOKS                    OH          90014152275
19787757591569   ROSA         BENAVIDEZ                 TX          75067357575
19788731751337   ANTOINETTA   WILLIAMS                  OH          90015017317
19789281361958   JENNY        VARGAS                    CA          90005712813
19789285731687   ANGELA       WILKINS                   KS          22005562857
19789627261963   EBONY        HIGGINS                   CA          90014836272
19789738691263   LARHONDA     MORONTA                   GA          90013407386
19793661691263   SHAKEIDRA    GRAY                      GA          90010056616
19794298531687   BARBARA      STEIN                     KS          22022492985
19794592451359   JACK         POLLARD                   OH          90013425924
19796222151359   NATASHA      ASHER                     OH          90010242221
19797176657147   CARLOS       ALVARADO                  VA          90007911766
19797881591263   SHAKERA      ROLAND                    GA          90014858815
19798185591569   DAYNA        JUAREZ                    TX          75083831855
19799657251355   LINDA        WALKER                    OH          90011126572
19799839957147   GLORIA       WILLIAMS                  VA          90010718399
19812494891569   ANGIE        CONTRERAS                 TX          75047084948
19814883757147   RENE         CASTRO                    VA          81005218837
19814957751398   NIKI         REDMON                    OH          90008709577
19814997651355   KELLY        HEATON                    OH          90013519976
19816187851337   WANDA        WAGERS                    OH          90014021878
19823498893745   JESSE        KELLER                    OH          64545444988
19824811657147   JOSE         MOJICA                    VA          90005598116
19826296491895   A            WALKER                    OK          21001282964
19826898891979   MARIA        DEL CID VAZQUEZ           NC          17041128988
19827693761963   PEDRO        LOPEZ                     CA          90011896937
19828692133699   KIMBERLY     BAKER                     NC          90009916921
19831123131494   ALEX         SHAW                      MO          90007651231
19831258557147   BRIAN        REYNOLDS                  VA          90013162585
19833649493745   BOBBI        PIERCE                    OH          64537386494
19835579761938   ESTEBAN      TRUJILLO                  CA          90012115797
19838138591263   YICHAO       YANG                      GA          90014381385
19839197261958   ANABEL       AYALA                     CA          46041741972
19839463651337   HEATHER      DIEFENBACH                OH          90010804636
19842129451355   JASMINE      MIDDLETON                 OH          90009631294
19842251661938   YOLANDA      ZALDIVAR                  CA          90014912516
19842356561938   YOLANDA      ZALDIVAR                  CA          90014083565
19842528433645   DAVID        VACA-SALAZAR              NC          90010595284
19844246743553   ROSARIO      ARMENTA                   UT          90015522467
19844351791266   TARA         SANKS                     GA          90014713517
19846497451355   LAMONT       STEWARD                   OH          66091504974
19846647957147   JUAN         ROJAS                     VA          81005236479
19847516191263   TRAVIS       BARNELL                   GA          14592425161
19849221351359   EDITH        WILLIAMS                  OH          90013702213
19852719561938   ALMA         RUIZ                      CA          90008187195
19852961191263   JOSHUA       MITCHELL                  GA          90013189611
19859712357147   MARTHA       CASTELLANOS               VA          90010207123
19859712991569   ISAIAS       RODRIGUEZ                 TX          75015567129
19862614977577   GERSAM       FERENAL                   NV          90011056149
19865895957147   SYED         MUZAFFAR                  VA          90012948959
19869882761963   PAMELA       KELLOUGH                  CA          90011118827
19871357361958   DANIEL       LEON                      CA          90004823573
19871836861963   KARLA        LOPERENA                  CA          90014688368
19872269691569   GABRIELA E   DIAZ AVILA                TX          90010372696
19872287993745   AMY          FOGT                      OH          90008682879
19873726493745   JUSTIN       CROSBY                    OH          90003387264
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19873733751359   RYAN          MCBERRY                  OH          90013237337
19873882761963   PAMELA        KELLOUGH                 CA          90011118827
19874421161963   RAYMON        BELDEN                   CA          90012194211
19874444991263   TIM           HARDEN                   GA          90014354449
19877712761938   RAMON         GONZALEZ                 CA          46085527127
19877937861958   MICHELLE      ALVAREZ                  CA          46084009378
19878113141295   JOSEPH        BARRY                    PA          90001651131
19878299451355   CASSANDRA     KEYS                     OH          90005562994
19878968691263   GUDELIA       VELAZQUEZ                GA          90012929686
19879174464135   EDGAR         HERNANDEZ                IA          90015461744
19881359351355   DANIELLE      DUMAS                    OH          66004763593
19881571957125   RAMAFULAI     BAH                      VA          81098415719
19882385991263   LADY          SAPP                     GA          90015383859
19883136951355   TAMMY         MURRAY                   OH          90014831369
19883773791549   CHRISTOPHER   HALL                     TX          90010977737
19884367557147   ERICK         ROMERO                   VA          90014183675
19889567851337   JOHN          SIMPSON                  OH          90013325678
19889631491569   SANDRA        AGUIRRE                  TX          90014826314
19891387191263   DEANNA        DOUGLAS                  GA          90013773871
19891795191569   GERARDO       MUNIZ                    TX          90000877951
19894764147956   MICHAEL       BECK                     AR          24091517641
19896212861963   MARIA         RAMIREZ                  CA          90012322128
19897713785942   RAUL          RICO                     KY          90012837137
19897838591895   TENESHA       SMITH                    OK          90003378385
19897983133699   SHANTIA       HOWELL                   NC          12013679831
19899637991569   RICARDO       PEREZ                    TX          75069956379
19911136991578   ALEJANDRA     FONSECA                  TX          90007661369
19913139157147   GUSTAVO       TORRES                   VA          81009361391
19913142551337   ROSA          URENA                    OH          90012181425
19913424357147   NIKOLE        IRAHETA                  VA          90010374243
19914251591263   DENISETRIST   DIXON                    GA          90005362515
19914986651359   PAMALA        ASHER                    OH          90004819866
19915831561972   AURELIANO     ESTRADA                  CA          90013968315
19917564851355   TAUSHA        HOLLAND                  OH          66019315648
19921162493745   MELINDA       HATKE                    OH          64543301624
19922524391569   LAURA         DELGADO                  TX          90010945243
19922836751337   BRIAN         MERCER                   OH          90012718367
19922978351337   BRIAN         MERCER                   OH          90013849783
19924249661963   MIREYA        MARTINEZ                 CA          90007662496
19927518691569   ARIAS         ROXANNE                  TX          90008395186
19928292793727   MARIO         WILKS                    OH          90007512927
19931576891895   TIFFINI       WAGNER                   OK          90006975768
19933111761963   SALWAN        MALEKO                   CA          46075721117
19933839957147   GLORIA        WILLIAMS                 VA          90010718399
19934479351337   DANYELLE      JACKSON                  OH          66074214793
19936344361963   MARSHA        PERRON                   CA          90000433443
19936741785843   CECILIA       PALMER                   CA          90006167417
19937717361938   DANIEL        KARCHER                  CA          90009947173
19937982151337   NICOLE        AMREIN                   OH          90013929821
19938762491997   OSCAR         VAZQUEZ-TREJO            NC          90007517624
19942268451337   TIFFANY T     HEDGES                   OH          90013992684
19942673251359   CAROLYN       MONTGOMERY               OH          90002156732
19942765151337   CYNTHIA       GARCIA                   OH          90014977651
19945267151337   THOMAS        MARINICH                 OH          66094062671
19945823447956   THURETTA      ARNOLD                   AR          90005988234
19948639951337   JOE           HARRISON                 OH          90008166399
19949494631687   KELLY         CARSON                   KS          22084434946
19953326831687   LUIS          CARDIEL                  KS          90012363268
19954538561963   JOANNA        CASTRO                   CA          90003625385
19955421531687   JAMES         TURLEY                   KS          90014864215
19957323664135   MA REFUJIO    PEREZ                    IA          90014013236
19959291661963   JOVAN         MATHEW                   CA          46002162916
19962561851359   HERMIONE      MAPP                     OH          66048645618
19964338251337   INMAR         FLORES                   OH          90014433382
19969878161963   MARIA         HERNANDEZ-FLORES         CA          90014698781
19973156651359   JOE           SOUTHERLAND              OH          90012151566
19976215151355   STANISLAW     KASMER                   OH          90011082151
19977495461963   OFELIA        MARTINEZ                 CA          90002074954
19977673151355   AMBER         GOSSER                   OH          90014276731
19977882151359   TENISE        BLACKWELL                OH          66056678821
19978219331687   LAFAYETTE     STARR                    KS          90013912193
19979273391895   ARTISHA       UTTON                    OK          90010212733
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19981254357147   RENAN        BASILIO                   VA          90014212543
19982191531687   PATRICK      GOLDEN                    KS          22086881915
19983471591569   NUBIA        CERINO                    TX          75043654715
19984154681452   LISA         KARR                      PA          90015441546
19985271631687   MAURA        ORELLANA                  KS          90013612716
19987943357147   PATRICIA     ABELL                     VA          90012969433
19989783331422   JON          HOWARD                    MO          90015497833
19991671591263   SHANELL      SHELLMAN                  GA          90011186715
19991759761938   SALUME       NAVARRETE                 CA          90013157597
19992364691549   NICOLE       CHAVEZ                    TX          90007513646
19994231891263   JESSICA      HAMILTON                  GA          90013302318
19998268251359   KARLA        FIELDS                    OH          90008792682
19999987593754   RANDOLPH     PRITCHARD                 OH          90014159875
21116117181637   SAMANTHA     RICHIE                    MO          90010701171
21116876461921   JAQUELINE    ZACHAY                    CA          90006368764
21116912141245   BRANDY       BOROWSKI                  PA          90011239121
21117121491984   JOSE         CHAVEZ                    NC          90009561214
21119935184364   HILTON       WOODS                     SC          90001189351
21121517231453   ANNELLA      CROSS                     MO          90014625172
21121777281638   MICHAEL      WELSH                     MO          90010057772
21121928184364   DEIRDRE      BRODIE                    SC          90015139281
21122375491828   MIRIAM       BAENA                     OK          90010123754
21124349393724   JESSICA      LINDSAY                   OH          90001713493
21124449797941   JOSEPH       LOCKETT                   TX          90015014497
21124983191583   MARLO        BUILDING                  TX          75063889831
21128341331453   TAYLOR       WOOD                      MO          90014163413
21128388855957   MARY         MENDEZ                    CA          90001133888
21128687551343   JUAN         CALVARIO                  OH          90009156875
21128898291241   DONALD       GATES                     GA          90014868982
21129288291828   CHRISTIAN    THOMPSON                  OK          90005052882
21129846551343   AMBER        HODGES                    OH          90003998465
21129984481661   CRISTINA     HERNANDEZ                 KS          90015139844
21131257955957   DENNIS       LOWAS                     CA          48071832579
21131393984364   JOSHUA       FLOWERS                   SC          90013033939
21131561291833   ANGELA       WILLIAMS                  OK          90011705612
21132527891541   ALBERTO      CALLEJAS                  TX          90014705278
21133145191241   MONTRAESE    WILBORN                   GA          90014171451
21133346784364   MICHAEL      MATTHEWS                  SC          90013953467
21133543291541   RAYMUNDO     FERNANDEZ                 TX          75043245432
21133898247946   JAZZMENN     JOHNSON                   AR          90010058982
21134967641245   JOESPH       KANFOUSH JR               PA          51082959676
21136726251369   WILLIAM      SMYTH                     OH          66055607262
21136954381661   JAVIER       RAMIRO SONTAY             KS          90008129543
21137576255941   BRANDON      GARCIA                    CA          90012895762
21138346784364   MICHAEL      MATTHEWS                  SC          90013953467
21138652431453   KAMEKIA      KNIGHT                    MO          90013606524
21139956441245   HUSSEIN      ALGHURAIRI                PA          90009079564
21141561191828   BENJAMIN     RODRIGUEZ                 OK          90010825611
21141639147952   RYAN         ADAMS                     AR          24090886391
21142239991541   DANNY        GARCIA                    TX          90002872399
21142632255957   LUPE         AVILA                     CA          90005516322
21142747691528   ERIC         RAMIREZ                   TX          90003367476
21143891957157   ZIBOL        HUYAMH                    VA          90011898919
21144943391541   NANCY        SALMON                    NM          90010579433
21145278157157   LUIS         ASCENCIO                  VA          81000682781
21146627291984   MARIBEL      ABREGO                    NC          90005266272
21146674281638   CAITLYN      WISECUP                   MO          90001556742
21147196531631   RANDI        BECK                      KS          90010951965
21148683141245   PATRICIA     JHONSTON                  PA          90015136831
21149313891541   ISHAM        BURKS                     TX          75082413138
21151658557157   AWILDA       SOTOMAYOR                 VA          81097656585
21151784591528   MACIEL       GUADALUPE                 TX          90011617845
21152499193727   JACKIE       JOHNSON                   OH          90009104991
21152694591528   MARIA        MARTINEZ                  NM          90012916945
21152886455957   JOSEPH       HERNANDEZ                 CA          90013438864
21154228931631   SHYRELL      FISH                      KS          22065552289
21154713791542   PETE         VELASQUEZ                 TX          90002117137
21154957531453   ANDREA       JONES                     MO          90013439575
21155999491984   LASURE       TYSOR                     NC          17017089994
21157151657157   NODY         VALLECILLO                VA          90009141516
21158183391828   MISTY        LAME                      OK          90013181833
21158985981637   ELMER        LOPEZ                     MO          90011969859
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21161459191828   JEFF         GRAFTON                   OK          90011044591
21161515557157   MAKEBA       MOORE                     VA          90013395155
21162486991541   PEDRO        AGUIRRE                   TX          90009224869
21163728655923   SAMMY        CUEVAS                    CA          90011507286
21164169291828   RAMSEY       COMBS                     OK          90012151692
21166972431453   TAMMY        WATSON                    MO          27560959724
21167182261877   SHANA        MURRELL                    IL         90015331822
21167695984364   VINECIA      BROWN                     SC          90013956959
21167743693773   STACEY       CHANCE                    OH          90001077436
21168515791833   LAURA        BASLER                    OK          90001405157
21168793851343   JACK         CHARTS                    OH          90015267938
21169294791587   JAIME        MARTINEZ                  TX          90007452947
21169395731453   DIONA        HOLT                      MO          90014843957
21169533531453   MARY         KEENAN                    MO          90014815335
21171119957157   KELSEY       FISHER                    VA          90012831199
21172114891541   LAURA        SOLIS                     TX          75034761148
21172836681637   AMANDA       BOLES                     MO          90011068366
21173639684364   DARLENE      SHOKES                    SC          90013966396
21174212181661   ANTONIO      ALVARADO                  MO          29050502121
21175765981661   MONA         COE                       MO          29060677659
21176753241229   LISA         RUE                       PA          90002317532
21178864147952   DENIS        CRUZ                      AR          24055958641
21179734531453   ANTHONY      DICKENS                   MO          90011847345
21181592591243   MICHAEL      FARLEY                    GA          90000625925
21182523691828   AUSTIN       SHIRLEY                   OK          90013105236
21183113851343   BRANDON      ADAMS                     OH          66029581138
21184297931453   JOSE         DIAZ MENDEZ               MO          90012702979
21184763155941   ERICA        SEPULVEDA                 CA          90013497631
21184853191528   VICTOR       AVILA                     TX          75092418531
21184922255957   YOLANDA      LORETO                    CA          90001989222
21184997957157   JOSE         GARARARDO                 VA          90012649979
21185216184364   SCHONTAL     MCNEIL-JACKSON            SC          19071902161
21185553557531   SHAWNA       MONTGOMERY                NM          35569225535
21186888991541   RAFAEL       RAMIREZ                   TX          75065788889
21186991631453   WILLIA       YATES                     MO          27552869916
21187199785938   CASSANDRA    PRESTON                   KY          90008601997
21187431241245   SHAWN        CARMAN                    PA          51005074312
21187532991241   CHANELL      RICKS                     GA          90006195329
21189771361925   SHARON       COLLINS                   CA          90001407713
21189816755957   WILMA        HAYWOOD                   CA          90002548167
21192878355957   VERONICA     GARCIA                    CA          90004978783
21193253361558   KATHY        HANCOCK                   TN          90015392533
21193294955941   MELISSA      DUARTE                    CA          90015262949
21193781391541   MIGUEL       ARROYO                    TX          75048737813
21194525455957   JUSTAVO      GARCIA                    CA          90010865254
21195935391241   PAYGO        IVR ACTIVATION            GA          90013369353
21196168155957   LIZETTE      SALAZAR                   CA          90012681681
21196899591828   LESLIE       PAYNE                     OK          90009958995
21198168531453   OLATOKUNBO   ADAMU                     MO          90014301685
21198278157157   DONNELL      PARKER                    VA          90009682781
21199697241245   JOY          CALTAGIRONE               PA          51052666972
21199757357157   KEVIN        WILLIS                    VA          90003987573
21199937791984   BARBARA      WORTHY                    NC          17069569377
21212422555957   JACOB        SERVIN                    CA          90011514225
21214228631453   ANGELA       CATES                     MO          27559372286
21214429491528   ALBERTO      ORTIZ                     TX          90006524294
21214725481661   DAMITA       JONES                     MO          29005847254
21216465981637   AFRIKA       WALKER                    MO          29050604659
21216659151343   BRUCE        LOUALLEN                  OH          90015256591
21216875481661   MARY         DAVIS                     MO          90012538754
21218376981638   JOSHUA       VINCENT                   MO          90010953769
21219331647952   CRYSTAL      KESSLER                   AR          90013703316
21222334391541   AMANDA       RENTERIA                  TX          75030383343
21222642551343   AURELIA      BUSTOS                    OH          66016486425
21223552891541   EDGAR        GULLIEN                   TX          75050235528
21224438381661   MATTHEW      CREMEEN                   MO          29006464383
21224514751369   BRYAN        RICHARDSON                OH          90012475147
21226176177523   LORENA       QUINTANILLA               NV          90009021761
21226664931453   DEBORAH      WASHINGTON                MO          90013606649
21228562585938   DENNA        STAMPER                   KY          67094625625
21231645493773   CHRIS        WILLIAMS                  OH          90004966454
21232115357157   JIMMY        JENNINGS                  VA          90012901153
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21232411757157   CARLOS          CHIRINOS               VA          81033364117
21232618555941   ALBERT          WILLIS                 CA          90014666185
21233514681661   DONALD          HAWKINS                MO          90010025146
21234832751369   DIANA           CAMPBELL               OH          90006328327
21234937791984   BARBARA         WORTHY                 NC          17069569377
21236549581637   JESSE           NASH                   MO          29080795495
21236816181661   ANNE            TAYLOR                 MO          90003728161
21238348291541   VERONICA        MOLINA                 TX          90008723482
21239635891251   PHILLIP         LORD                   GA          90012586358
21239863781637   TRACY           VANN                   MO          90009688637
21243476755957   AIDA            RAMIREZ                CA          90013924767
21244646491528   CALVIN          FOLK                   TX          90003886464
21244778755941   EFRAIN MARTIN   GRACIA                 CA          90012867787
21244782931453   SHAWN           MAHLER                 MO          90013977829
21245876685938   KATIE           OTERO                  KY          90008068766
21246725651343   BEVERLY         VICKERS                OH          90015167256
21246849881661   DARRYL          MITCHELL               MO          29027678498
21247353384364   LORI            BRIZENDINE             SC          90015133533
21247897531631   ROBERTA         DAVILA                 KS          90012708975
21248342955957   TYLER           ZIGLER                 CA          90011803429
21249314461986   DONALD          OLIVER                 CA          46094463144
21249942891541   GERARDO         MERAZ                  TX          75034739428
21252134341245   THOMAS          HOWELL                 PA          90005411343
21252244741245   THOMAS          HOWELL                 PA          90014152447
21252959684364   DORA            LOPEZ                  SC          90013089596
21254217333122   CRISTY          BAKER                  IL          90003662173
21254434891833   DERICK          DAVIS                  OK          90011834348
21255372485639   MIKE            HARDEN                 NJ          90006723724
21256146381637   ROBERT          SHANKS                 MO          90013361463
21257517457157   LENNY           ZAMBRANO               VA          90007145174
21259826191541   ANA             GUERRERO               TX          75084698261
21261393291541   ANAPAOLA        DURAN                  TX          90008373932
21263741481637   LINDA           KING                   MO          29003417414
21265532191541   ADRIAN          LARA                   TX          90013175321
21265562651369   JAMEEL          NEVINS                 OH          90011425626
21267478291833   TINA            CUDJO                  OK          90002824782
21268356155957   JAMES           COLLLINS               CA          90013713561
21268666481638   JOSE            GARCIA                 MO          90011906664
21268861351343   SHARON          SHIELD                 OH          90005658613
21269183655957   RAMIRO          AGUINIGA               CA          48084081836
21269324931453   LATOSHIA        WILLIAMS               MO          90013683249
21269362685955   JULIUS          HIGGINS                KY          90011903626
21269613331453   ALBERTO         VALLECILLO             MO          90012696133
21269685184364   JULIA           TUTE-A                 SC          19043526851
21271795351343   VERMEICA        FRIERSON               OH          66032707953
21272224291541   PHILLIP         MADRID                 TX          75006032242
21275389681638   STEVEN          HERNANDEZ              MO          90010953896
21277969757157   ANGELINA M      CLARK                  VA          90014459697
21278824691828   TONYA           WISE                   OK          21039148246
21279348891828   BLAKE           DOLIN                  OK          90012693488
21283655141245   BRANDON         THORNTON               PA          90009066551
21286673657157   JUAN            CRUZ                   VA          90012176736
21286933691541   HERNANDEZ       ALEJANDRA              TX          90010849336
21287467684364   JANAY           HARLEY                 SC          90013114676
21288319147952   JEFF            JONES                  AR          90012313191
21288681977541   MARISSA         MARTINEZ-POTTER        NV          90000716819
21289599291828   JULIO           FERNANDEZ              OK          21006315992
21289827955941   JESSICA         NORIEGA                CA          90010248279
21292126551343   TRISTIAN        COMPBELL               OH          90015211265
21293632691541   OSVALDO         CARDENAS               TX          75034726326
21293863831453   CARLA           HYE                    MO          27586008638
21295155241245   BHIM            KADARIYA               PA          90011581552
21295722755941   RAMIRO          MIRELES                CA          49047827227
21296371991589   VIVIAN          BURGOS                 TX          75097913719
21296451433648   AMANDA          RAE                    NC          90007724514
21297266991984   BRENDA          ESCOBAR                NC          90014992669
21297279455941   CINDY           CARRILLO               CA          90006952794
21297951447952   MARKITA         BELL                   AR          90015449514
21299262957157   JOSE            JOSE                   VA          90011392629
21299294455941   JOHN            COSTA                  CA          90012972944
21299541547952   JOSE            GARCIA                 AR          90011465415
21299743341245   JACQUELINE      MURRAY                 PA          51012437433
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21299884841245   ETHAN        ANTHONY                   PA          90010288848
21311747731631   PERRY        ROBINSON                  KS          90013197477
21311812755957   SHERRIE      THOMAS                    CA          90004258127
21313315755941   SARA         WITE                      CA          90014283157
21313636955957   JOSE         LEON                      CA          90013846369
21319529457157   IVETTE       ALACHE                    VA          90010625294
21321412141245   REBECCA      ULLRICH                   PA          51048464121
21321878631492   CARL         WHITTENBURG               MO          27595688786
21322776381637   FELIX        HERNANDEZ                 MO          90015107763
21322797484364   LANEISHA     JOHNSON                   SC          90010697974
21323984191541   MAYRA        GONZALEZ                  TX          75075929841
21324674384364   SARA         ELMORE                    SC          90008846743
21324696572473   JOSEPH       GORDON                    PA          90003456965
21324872972445   LEONARD      ABBRUZZESE                PA          51007658729
21325455281638   MARCI        EIGENSCHENK               MO          29015244552
21326845391828   LASHONNA     GUNN                      OK          90014288453
21327345531453   ALICA        CRUMER                    MO          90011133455
21329831491833   ASHLEY       KIMBALL                   OK          90009748314
21331282431453   PAULA        HORTON                    MO          90011092824
21331727391241   SHANNON L    WASHINGTON                GA          90003647273
21331777951343   CARRIE       MCGOWAN                   OH          90008727779
21332145731453   ASHLEE       RENEA                     MO          90013291457
21332573331433   DALLAS       POWELL                    MO          27526855733
21333123155957   NICOLAS      ANDA                      CA          48092801231
21333925831631   JACKIE       LAWRENCE                  KS          22088289258
21334668941245   NICOLE       FORCINA                   PA          90011576689
21336568491522   SANDRA       SANCHEZ                   TX          90014455684
21336577641245   CAROLE       ELLISOR                   PA          51089245776
21338763491528   OLIVIA       PINEDA                    TX          75053507634
21338831491833   ASHLEY       KIMBALL                   OK          90009748314
21339691231453   JIMMY        JONES                     MO          90015436912
21341433755957   BENIGNO      GARCIA-LOPEZ              CA          90014814337
21341926757157   MARTIN       DIAZ-VILLALTA             VA          90015139267
21344163541245   RONNISHA     MASON                     PA          90006281635
21344878791833   RUSTY        LUDMAN                    OK          21035618787
21345159881661   MARCO        RODRIGUEZ-URQUIA          MO          90012951598
21345529931631   DANIEL       SPENCER                   KS          22097165299
21345985291241   ROBERT       BAKER II                  GA          90014409852
21346314455941   NORMA        MIRANDA                   CA          90006743144
21348643251343   TONY         SAMS                      OH          66079636432
21351126955941   MIGUEL       PENA                      CA          90014131269
21351197531453   SARA         WALLACE                   MO          90013281975
21353153751343   ROBERT       HARRISON                  OH          90011601537
21355224591541   ANGEL        ORTIZ                     TX          90014122245
21355644631453   RITA         POTTS                     MO          27583076446
21355874791828   BRIANNA      ROGERS                    OK          90009568747
21357818791241   BEBORAH      ROUSE                     GA          14576558187
21362481891541   JACOB        SALGADO                   TX          90003834818
21362972784364   CHARLES      DOVE                      SC          90014179727
21363272284364   LAQUETTA     SALLIE                    SC          90013132722
21365396455941   CARLOS       SALSIDO GOMEZ             CA          90012023964
21365747291833   MANDY        CLIMER                    OK          90006357472
21365752585938   ORVELL       REDD                      KY          67054197525
21365793191984   ELIDA        CRUZ                      NC          90013687931
21366437285938   EMIN         GOOSHI                    KY          90005884372
21367447391541   MARIA        VALADEZ                   TX          90010424473
21367685391828   YOLANDA      GALLEGOS                  OK          90010826853
21367959931453   RASHANUNDA   MANNING                   MO          90009839599
21369914681637   MANUEL       VENEGAS                   MO          29050609146
21371112181638   KENNETH      COX                       MO          90013581121
21372338691984   MAXIE        BREWINGTON                NC          90013703386
21372384347952   AARON        WHITE                     AR          90012313843
21373174191541   CONTRERAS    MARGARITA                 TX          75096661741
21373696891528   VERONICA     THOMAS                    TX          75092316968
21375113231631   DEMETRIA     MNTOGOMERY-WILSON         KS          90014841132
21375485684364   STEVEN       JONES                     SC          90014094856
21375878855957   VIOLETA      ZARAGOSA                  CA          90012058788
21375991981637   MILDRED      MACARIO                   MO          90006019919
21376361885938   JACKIE       RAYBURN                   KY          90013703618
21376471191541   RAUL         ESCOBEDO                  TX          75045964711
21378553681637   LINDSAY      BEAMER                    MO          29061565536
21379219531631   JOHN         PHILLIPPE                 KS          90008622195
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21379489331453   TYESHA         ROSE                    MO          90014564893
21381631655957   CELIA          ALVARADO                CA          90007816316
21383199684364   WYLA           SPANN                   SC          90013131996
21384199684364   WYLA           SPANN                   SC          90013131996
21384427331453   SHERICKA       TAYLOR                  MO          90014174273
21384811891833   KRISTINA       FORRESTER               OK          21070268118
21388779747952   LISANDRO       RIVAS                   AR          90013657797
21388954851369   ORLANDO        HUDSON                  KY          90014119548
21389326181661   REBEKAH        ALLISON                 MO          90003093261
21392622657157   ANA            PORTILLO                VA          81090266226
21392688584364   ERIC           SUMMERS                 SC          19038076885
21393159891828   JESUS          LOZA                    OK          90003481598
21396481157157   MARIAM         SAEED                   VA          81018604811
21396937355957   BRANDON        CHILES                  CA          90015139373
21397421955957   JOHN           NINO                    CA          90012304219
21399412731453   TIERRA KEITH   STRONG ASKEW            MO          90013484127
21411293155957   ROSE           ORDONEZ                 CA          90011072931
21413619481637   CHRISTINA      REYNOLDS                MO          90009576194
21413749751339   ANDRE          ROSS                    OH          90010347497
21414122471924   BERNADETTE     TORRES                  CO          90010491224
21414396591984   JESSICA        SKINNER                 NC          90013643965
21414622177584   STEPHEN        FLINT                   NV          90003566221
21414699591828   HURBANO        ESPARZA                 OK          90013856995
21416349891525   MIRIAM         ZUBIATE                 TX          90009113498
21416556857157   ELMER          HERNANDEZ               VA          90012305568
21417882251343   KIMBERLY       DEATON                  OH          66087218822
21418231541245   DENISE         THOMAS                  PA          51041382315
21418293655957   KAREN          WALDEN                  CA          48054842936
21418372547952   MICHAEL        DILLION                 AR          24074263725
21418561984364   NATHALIE       SCHREITEL               SC          90008285619
21418639991528   JAVIER         MENDOZA                 TX          75068126399
21421136347952   BERNERD        HASKINS                 AR          90004001363
21422437857157   MORGAN         TURNER                  VA          90014954378
21423935555957   BERNADETTE     PEARCE                  CA          90008729355
21425113891541   SAMANTHA       ZAPATA                  TX          90013801138
21425282557157   BRIAN          EDWARDS                 VA          90014622825
21425314381638   AJONA          BUSHNELL                MO          90008643143
21426959947952   ERICA          MURPHY                  AR          90011049599
21427523385938   GREGORY        BLACK                   KY          67093025233
21428517981638   TENEISHA       THOMAS                  KS          90010955179
21429764991541   JOSE           ALANIS                  TX          75067157649
21431459991541   MARILU         LOPEZ                   TX          75096284599
21431567491828   JASON          KITE                    OK          21000025674
21431599691984   PHYLLIS        LEAK                    NC          90013335996
21432759341245   AMYA           DEMUS                   PA          51017337593
21434718731453   ALEASHA        BROOKS                  MO          90015557187
21435136851337   JENNIFER       ELAM                    KY          90004091368
21436444585938   STEPHANIE      ALLEN                   KY          90011074445
21436449491541   MAYRA          ENRIQUEZ                TX          90013234494
21439363991241   ROBERT         KENNEDY                 GA          90002933639
21441625931453   ANGELIA        RAMSDELL                MO          27532766259
21442624991541   SILVIA         CORTEZ                  TX          90000896249
21443357893773   JESSICA        MAYNARD                 OH          64547693578
21443584131631   REBECKA        GARRISON                KS          90008045841
21444486291828   CARRIE         CULKINS                 OK          90013764862
21446669338525   RALPH          VINCENT                 UT          90013706693
21446944681661   RYAN           DUGAN                   MO          90012349446
21447896941245   GEORGE         LANGFORD                PA          51071338969
21447917955941   FELIX          IBARRA                  CA          90007639179
21448293131453   JEANNE         CRAWFORD                MO          27530012931
21448295691828   BRANDON        COWANS                  OK          21065262956
21448612591541   MARGIE         ROACHO                  TX          75047946125
21449561391828   ADELINA        ALVARADO                OK          90014255613
21451646747952   JONATHAN       TURNER                  AR          90012776467
21451699784364   REGINALD       HOSKINS                 SC          90014096997
21451877991241   BERNARD        MANGHAM                 GA          14597168779
21452142793773   ALISON         THOMPSON                OH          90003681427
21453643691828   CHRIS          REYNOLDS                OK          90004426436
21453983491541   RICARDO        CASAS                   TX          75014729834
21455619755985   JORGE          SANTOS                  CA          90013516197
21455659191241   PAM            HASLETT                 GA          90007906591
21456818291828   JUSTIN         MILLER                  OK          90013928182
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21458538691828   AUSTIN       SLEEPER                   OK          90008165386
21458855151343   JESSICA      BURCHFIELD                OH          90014828551
21459121457157   TINA         HARRIS                    VA          81018831214
21459472291541   MARISA       FLORES                    TX          75029714722
21459851733677   REGINOLD     NOLEN                     NC          90007978517
21461121457157   TINA         HARRIS                    VA          81018831214
21461485947952   MARIA        VALDEZ                    AR          24026634859
21461587591967   JOSE         GARCIA                    NC          90002235875
21462652491833   CRYSTAL      LEMMONS                   OK          90005446524
21462824955985   KONNIE       NEWTON                    CA          48087478249
21462953655941   ANA          CHAVEZ                    CA          90000869536
21465149391541   FREEMAN      WHITE                     TX          90000541493
21465283431631   ADRIANA      BACAHAR                   KS          90012832834
21467127191241   BRADLEY      MILLER                    GA          90015211271
21468126891828   SHANIKA      LURKS                     OK          90011451268
21471621681637   TRENTON      STREET                    MO          90013636216
21472466291541   JOSE         BRIONES                   TX          90013344662
21473337355957   TOMMY        SMITH                     CA          90009583373
21473339891528   MARGARITA    ESTRADA                   TX          75092383398
21473383491541   ROBERTO      VAZQUEZ                   TX          90014443834
21473973155941   MARCOS       RAMIREZ                   CA          90011499731
21474265481661   DREW         SYLVESTER                 MO          90013292654
21474724193773   ROXANNE      PARSHALL                  OH          64516177241
21475257791541   CHRISTINA    OLGUIN                    TX          90009922577
21475621851369   TYRONE       TOWNS                     OH          66039686218
21475985357157   DMETRIA      GORDIN                    VA          90014859853
21476619851343   WILLIAM      HUGHES                    OH          90010196198
21477243331453   DESTINY      CABLES                    MO          90013292433
21478391684364   MICHAEL      MCKELVEY                  SC          90014843916
21478943381661   CARMEN       BENAVIDEZ                 MO          29050689433
21478957281637   PATRICK      PRIDDY                    KS          29025999572
21479135181637   DONNELL      MORRIS                    MO          90013821351
21479672431453   TEIA         WEAVER                    MO          90013606724
21481437191984   DANIEL       HERNANDEZ                 NC          90001904371
21481867855957   ANTHONY      SALAZAR                   CA          90000798678
21482472684353   TANYA        BROWN                     SC          90012394726
21482485491984   TRENEE       FENNELL                   NC          90013524854
21482895581637   TRA          WILLIAMS                  MO          90015118955
21484192791541   FERNANDO     ALDAMA                    TX          90010711927
21484345881638   MONICA       GARRETT                   MO          29061133458
21485596491828   DERRICK      DUNN                      OK          90013555964
21485873285938   SHERRI       MEDINA                    KY          67064098732
21486558355957   STELLA       LOPEZ                     CA          90007695583
21486811184359   LAURA        ROBONSON                  SC          90010618111
21486825451343   EMILY        LENTZ                     OH          66043138254
21487916855941   PEDRO        SILVA                     CA          49082499168
21492859191541   JORGE        MACIAS                    TX          90012458591
21493668731453   KAYLA        MOORE                     MO          90001396687
21496611755941   SILVIA       TORRES                    CA          49015766117
21497757891541   LASHBA       HARRIS                    TX          90013197578
21499487355941   TIFFANY      CASARES                   CA          90012614873
21512379591984   KIM          LOVING                    NC          90010873795
21512834281661   CHRISTINA    QUEZADA                   MO          29005468342
21513856955957   ARMANDO      CEJA                      CA          90010638569
21514513793754   CHRIS        MORELAND                  OH          90000545137
21514584657157   MARY         PRIMOZIC                  VA          90011185846
21515761691541   MARIANA      FLORES                    TX          90015017616
21515952281637   MUNER        HENDERSON                 MO          29004889522
21517159581637   SHAUN        CAMPBELL                  MO          90007431595
21517678455941   ALLYCHIA     ALCORN                    CA          90014286784
21518259391541   ANGIE        CLADERA                   TX          75090262593
21519593931453   LASHELLE     EDWARDS                   MO          90011135939
21521524431631   DEANA        MCWILLIAMS                KS          90013495244
21522972841245   BARBARA      SMEYRES                   PA          90014779728
21523745555957   DEANN        KENNEDY                   CA          90004677455
21524666481637   BOBBY        BRIGGS                    MO          29001596664
21525475741274   HENRY        BAJWA                     PA          90010874757
21526379991828   THERESA      MCDOLE                    OK          90010983799
21529632291541   ADRIANA      RENTERIA                  TX          75032806322
21531322191828   LASHELL      THORN                     OK          90014313221
21531462991241   VERONICA     BROWN                     GA          90011504629
21532469691984   NORMA        CORONADO                  NC          90014684696
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21532731951343   TIFFANY       LEE                      OH          66095037319
21532836855941   MARY          HUESCA                   CA          90014848368
21535125491541   NAYA          CHAVEZ                   TX          75077631254
21535676291828   MARCO         CALLEJAS                 OK          90015316762
21536933251369   GUADALUPE     CORTEZ                   OH          66079379332
21537154657157   BILY          GUILLLEN                 VA          90009511546
21537289684364   CHRISTINE     TAYLOR                   SC          90005292896
21537454991828   YASMEEN       AGEIL                    OK          90008464549
21537738157157   ELAINE        PRYOR                    VA          90015327381
21538652847952   TOYA          CRISP                    AR          24087146528
21543125957157   ELDER         ESPINA                   VA          81081901259
21543748391984   RANDALL       WALSH                    NC          90012997483
21543881755957   WILFREDO      PIMENTEL                 CA          90014478817
21544321131453   CHIFFON       WILSON                   MO          27575693211
21545128231453   FREIDDIE      OWENS                    MO          90011031282
21548466281637   MICAH         ALLINDER                 MO          29067764662
21552468981637   ALONDA        BIGGS                    KS          90009404689
21553915647952   ARNULFO       MEJIA                    AR          24062309156
21555851693773   SAMEKA        SCOTT                    OH          90002048516
21556424131453   DIAMOND       JOHNSON                  MO          90014214241
21556469551343   LUIS          ANGEL                    OH          90014284695
21556552481661   BRIAN         MALTBIA                  MO          29053495524
21558985231453   JUSTIN        JACKSON                  MO          90014879852
21559237484364   JAMES         BARBOUR                  SC          90015172374
21561985991241   JOSE          RIOS                     GA          90009649859
21562468881661   LASHARNA      MOSS                     MO          90013434688
21562994955941   LETICIA       QUINTERO                 CA          90006919949
21563398451369   GABE          FOLMAR                   OH          66049013984
21565287891241   MAYFER        H                        GA          90013962878
21565434191984   CYNTHIA       OMERANI                  NC          17087934341
21565616891541   SHIDAVA       TILLMAN                  TX          90014176168
21566337947952   LETA          BARNETT                  AR          90014863379
21567589493773   THERESA       DOWNS                    OH          64527495894
21567748971925   ERIKA         RODRIGUEZ                CO          90000207489
21568135181661   RYAN          OATES                    MO          90013701351
21568194151343   STEPHANIE     ROBINSON                 OH          66040681941
21569871981638   CHRISTOPHER   FLOHR                    MO          90009848719
21572628731453   JAMES         JACKSON                  MO          90010976287
21572724877541   SUSANA        RAMIREZ                  NV          90008877248
21572998591828   KRYSTEL       KEEN                     OK          90014519985
21573564851343   APRIL         HUMPHREY                 OH          90014755648
21574439531453   CAMERON       MCGUIRE                  MO          90015314395
21574917841245   KELLY         BANNON                   PA          90000509178
21575462957157   KIRSTEN       MARTINEZ                 VA          90010784629
21575862955941   MAUREEN       WHITE                    CA          49024558629
21576182191984   CANDY         MENDEZ                   NC          90015111821
21576264955941   DEE           FOSTER                   CA          90013272649
21577511231453   FANISHA       HERNDON                  MO          90015385112
21578473891528   TTERESA       MORENO                   TX          90009974738
21579622257157   MAURICIO      PONCE                    VA          90006046222
21582468391828   LATONYA       PATTERSON                OK          90008974683
21584757131453   BOBBIE        STOLTZ                   MO          90000227571
21585291991528   EYBAR         VASQUEZ-NEVAREZ          NM          90003382919
21585944884364   MICHAEL       PLUNKETT                 SC          90009389448
21587298331699   WENDELL       DAUGHERTY                KS          22054882983
21587654455957   NADINE        BOBENRIETH               CA          48046386544
21587967947952   MICHELLE      BRIGGS                   AR          90012709679
21588193255957   ANA           TORRES                   CA          90013961932
21589654585938   BESSIE        RHINEHIMER               KY          90008806545
21589727891241   CHAVEZ        JONES                    GA          90013477278
21589816455957   CHARLIE       SANTIAGO                 CA          90015478164
21589848991984   SERGIO        GARCIA                   NC          90014908489
21591164491541   JACOB         QUINN                    TX          90010041644
21591293655957   KAREN         WALDEN                   CA          48054842936
21591297351369   BRIAN         GALLAGHER                OH          90013762973
21591492555941   FELIPE        MENA                     CA          49078264925
21591497154123   SHARI         FUNKHOUSER               OR          90013954971
21591943755941   LOUIE         ASANDA                   CA          90007989437
21592269891541   EDUARDO       WELCH                    TX          90010862698
21592938191589   GLORIA        PIMENTEL                 TX          75018999381
21594284241245   KAYLA         STEPANIK                 PA          90009232842
21595318155957   MONICA        REYES                    CA          48028073181
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21595349251369   MANUEL          SANTIAGO               OH          90003313492
21595875931631   RODNEY          KIRKENDALL             KS          90000408759
21596385957157   ROCHELLE        SPEIGHT                VA          90015273859
21597311831631   KENT            STUCKEY                KS          22008503118
21598652891984   CALANDRA        MCLEAN                 NC          90013706528
21599359857128   JOSE            LOPEZ                  VA          90008363598
21599622381637   JANICE          STRONG                 MO          90013636223
21611228841245   CHRISTOPHER     NAHAI                  PA          90014572288
21614366857157   CODY            HUGHES                 VA          90012053668
21615626291541   ASHLEY          RESENDEZ               TX          90012736262
21615711547952   BRANDON         HORTON                 AR          90012187115
21617213755941   CHRISTOPHER     FLAHERTY               CA          90014352137
21619239393773   JESSICA         BELCHER                OH          64572692393
21623431851369   RORY            SEEK                   OH          66017644318
21623646157157   RAQUEL          KING                   VA          90011126461
21623689193773   BRIANNE         DRURY                  OH          64597846891
21623772491984   GREGORY         WATSON                 NC          90003657724
21624539891984   RANJEL ARTURO   GOMEZ ALVAREZ          NC          90014105398
21624856291541   MOISES          LANDEROS               TX          90011328562
21626396255957   LOUIS           MARCIEL                CA          90013553962
21626857781661   TINA            KOVAL                  MO          90013598577
21628617657157   VICTOR          FUNES                  VA          90011996176
21629696847952   STANFORD        JONES                  AR          90015086968
21631658791241   KELSLEY         WHITEHEAD              GA          90012766587
21632918784374   JUAN            PRESSLEY               SC          90009529187
21635244891241   BEAUNERE        LOWMAN                 GA          90015282448
21635455831453   ALBERT          KEYS                   MO          27525694558
21637187131453   ALISA           JACKSON                MO          27503411871
21638187281661   BELLY           JOE                    MO          90012871872
21638843185999   BENJAMIN        NEVELS                 KY          90012378431
21639221384364   JANET           PENA                   SC          90007702213
21641164991541   JACOB           DELGADO                TX          75073481649
21642271641245   MARQUETTA       CLARK                  PA          90011242716
21643191631453   THOMAS O        MCLAUGHLIN             MO          90001841916
21644232991542   SOCORRO         MORENO                 TX          90010902329
21644417957157   JOSE            MORALES                VA          90006274179
21645324691828   TYLER           SLAIGHT                OK          90014873246
21645795241245   DENIESE         DELOACH                PA          51098387952
21646313281661   CAMILO          RAMIREZ                MO          90014983132
21647715181638   JOSE            MARTINEZ               MO          29013807151
21647812885955   ALEJANDRO       GARCIA                 KY          90014658128
21648429791528   PATRICIA        LOPEZ MONTENEGRO       TX          90003384297
21648741261957   ELIZABETH       ALVARADO               CA          90012057412
21651411757157   CARLOS          CHIRINOS               VA          81033364117
21651855584364   KEVIN           GRANT                  SC          90008788555
21652285457157   JOHNATHAN       VANS                   VA          90011082854
21652987193773   SHANNON         WAGNER                 OH          90011069871
21653286431453   MAURIE          FREEMAN                MO          90015032864
21654982491984   DENNA           LAIRMORE               NC          90014579824
21657573193757   LONDRA          BAGFORD                OH          90014105731
21658839841245   KEN             RUST                   PA          90013858398
21659515547952   PAUL            OLIVER                 AR          90013995155
21659528155941   RICARDO         GARCIA                 CA          49039885281
21659613581637   CARONDA         ARTT                   MO          90013336135
21659739851343   BRITTNEY        BOLDEN                 OH          90011007398
21662663631631   ANTHONY         NASH                   KS          22088386636
21662772791828   CHANDA          SPENCER                OK          90015327727
21663481791541   JULIAN          GALARRA                TX          90012994817
21665152255957   SEVENNA         REED                   CA          90015081522
21665258285821   JUAN            DELGADO                CA          90003512582
21665284155957   MELISSA         STILLFIELD             CA          48089582841
21665375147952   CHARLESE        BAKER                  AR          24042733751
21665965951343   KARL            GROSS                  OH          90015259659
21666455155941   FELICITAS       DIAZ                   CA          49008924551
21667829991241   KRISTINA        LOPP                   GA          90010118299
21668444391525   KEVIN           RAMIREZ                TX          90008254443
21668454281661   CESAR           DOMINGUEZ              MO          90014624542
21668552257157   EDRA            ESPINAL                VA          90002815522
21668788631453   VINCE           CLEMONS                MO          90011137886
21669737684364   RUBEN           CARDONA                SC          90014157376
21673829381661   EDDIE           ROBERTS                MO          90013648293
21674882491241   MATHEW          GREENE                 GA          90010998824
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21674938191833   SARAH            RAMIREZ               OK          21097039381
21675246451343   ANTHONY          BROOKINS              OH          90002962464
21676159151343   JEFF             JOURNELL              OH          90011001591
21677791555957   MICHAEL          CHAVEZ                CA          90003737915
21677851161996   ELENA            KAMPA                 CA          90014558511
21677932881637   KYANA            BOWERS                MO          29042699328
21678157557157   BLANCA           ZELAYA                VA          81029471575
21678366391528   MARIA            ROSALES               TX          75068043663
21679145181637   JOSEPH           GANT                  MO          90008581451
21679423555941   GLORIA           SOLIS CHACON          CA          90012714235
21682548341245   GEORGE           BABISH III            PA          51067545483
21684154361986   ARMANDO          OCHOA                 CA          46051891543
21684372851343   FRANCES          BROWN                 OH          90014873728
21684759691828   JORGE            SOTO                  OK          90008547596
21684821181661   TODD             VEBER                 MO          90012478211
21684843681637   SKYLER           ROBINSON              MO          90015508436
21684949131453   ASHA             ABDELA                MO          90013849491
21685237931631   SHELIA           LAPLANTE              KS          90002422379
21686118455957   REFUGIO          PEREZ                 CA          90013131184
21686741447952   FRANCISA         LOPEZ                 AR          90001457414
21689875931631   RODNEY           KIRKENDALL            KS          90000408759
21693933291541   RUBI             OLVERA                TX          90010749332
21694271681637   JONI             VARGAS                MO          90013692716
21696437341245   MARIA            GUY                   PA          51004634373
21711288955941   ANALISA          GARCIA                CA          49010152889
21712679547952   KARI             FENBY                 AR          24079936795
21713295591833   KANEKCO          GREEN                 OK          90008372955
21713427291323   CYNTHIA          SANTOS                KS          90012704272
21714226755957   INES             VIRRUETA              CA          48087582267
21715177991828   MARY             MCGEE                 OK          90014711779
21715431891833   RENAY            JONES                 OK          21058094318
21716625991541   FLORES           CYNTHIA               TX          75064226259
21716674955957   TYEKA            WHITFIELD             CA          48090566749
21718454347952   SONYA            WILLIAMS              AR          24006084543
21718679491984   TEONJ JAMELLE    ADAMNS                NC          90014156794
21718829184364   CEDRIC           GLOVER                SC          90014158291
21719637655941   KUE              XIONG                 CA          90012746376
21719821157157   WILBER           CALLES                VA          81007378211
21719987984364   JUSTIN           PHILLIPS              SC          19050659879
21721142581661   ANDREA           SALCEDO               MO          90010821425
21721613881661   ANDREA           SALCEDO               MO          29032876138
21721971131448   TAMI             GENTRY                MO          90000909711
21722181333644   JUAN MANUEL      FLORES                NC          90007201813
21722623155941   SAN              CRANFORD              CA          90013656231
21723461391984   LUISA            VARGAS                NC          90012604613
21724194391528   MARIA E          SCHEREN               TX          75050351943
21725889191583   HAYDE            ESPARZA ONTIVEROS     TX          90003338891
21725915395634   MIRIAM           ACEVEDO               TX          76507079153
21726142693773   SHANIQUA         BROWN                 OH          90008161426
21726371185938   BRENDA           MULLIGAN              KY          67094733711
21732154857157   TANISHA          PEARSON               VA          90013861548
21732982784364   CRYSTAL          POWELL                SC          90014179827
21733696847952   STANFORD         JONES                 AR          90015086968
21734353991241   KEINESHA         GORA                  GA          90015173539
21734698255941   BRITTANY         WASHINGTON            CA          90012946982
21734812547952   BRANDY           WAGGONER              AR          90013688125
21735411531453   JEAN             GRIMAUD               MO          27573314115
21735975951369   BETH             WEBSTER               OH          90001699759
21736598641245   JONATHAN         RIHN                  PA          51072365986
21736897431453   ADRIAN           MOBLEY                MO          90011138974
21738474355957   DENISE           HERNANDEZ             CA          90013194743
21738711531453   RENIECE          REEDER                MO          90007897115
21739345847952   TIFFANY          BOLLING               AR          90009873458
21742844991541   ANGEL DE JESUS   DUENAS                TX          90012858449
21743817555941   YOLANDA          MELLO                 CA          90006758175
21744539931453   JOHN             ORTWEIN               MO          90011475399
21744654785834   TEIXEIRA         LINDA                 CA          90012446547
21745533457123   KENIA A          ACOSTAS               VA          81032225334
21745834491541   ROCIO            TORRES                TX          75042698344
21746198984358   KATHLEEN         SHONTZ                SC          90011091989
21748366341245   TANIEKA          JAMES                 PA          51080093663
21748973891541   HECTOR           ROSSY                 TX          90013419738
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21749263291541   YESIKA        ESPINOZA                 TX          90013742632
21749441491241   TRINESHA      SOLOMON                  GA          90013044414
21749494141245   WILLIAM R     HILLEBRECHT              PA          90011244941
21751164255957   MONICA        RAMIREZ                  CA          90015281642
21751464581637   TYRONE        LONDON                   MO          90014734645
21751772377368   ELIZABETH     BENO                      IL         20571667723
21751821157157   WILBER        CALLES                   VA          81007378211
21753665391241   LEATICE       SEATON                   GA          90014916653
21756282557157   DARRYL        BOWDEN                   VA          90013592825
21758727331453   JEANETTA      JOHNSON                  MO          90015067273
21759482284364   ALLAN         JACKSON                  SC          19045564822
21759541491241   MORGAN        GAY                      GA          90014705414
21762151691828   HALELUYA      BROOKENS                 OK          90015211516
21764239557157   LUCAS         AHIABLE                  VA          81060662395
21765383191984   JOHN          OILMORE                  NC          90015113831
21767128784364   LEO           PEREZ                    SC          90014161287
21767312281661   TIM           GILIO                    MO          90007933122
21767532451369   GLORIA        MAKEPEARE                OH          90006335324
21768428831631   SAM           SOMERVILLE               KS          90014544288
21768549531453   CHRISTOPHER   EVELAND                  MO          90012625495
21769779291541   DELORES       LUCERO                   TX          75028767792
21771357451343   EVGHENII      BACANURSCHI              OH          90011013574
21771384947952   RAIANNON      SHAKIA                   AR          90015503849
21772755855941   RHONDA        WOODS                    CA          90014727558
21773763831631   BRITTANY      VINTHER                  KS          90013787638
21773793947952   FLAVIO        SANDOVAL                 AR          24052447939
21774943491522   LAURA         ALVARADO                 TX          90010769434
21775212891522   PATRICIA      HOLGUIN                  TX          90010482128
21777749491541   ANA           SILVA                    TX          75058227494
21777769281661   ERIC          PIPER                    MO          90015167692
21777795641245   TAMEEKA       COOK                     PA          90014137956
21778626791541   DANIEL        MATA                     TX          90013866267
21779125484353   WANDA         GADSDEN                  SC          90001121254
21783319751343   MICHELE       WINTER                   OH          66056253197
21783958455941   IRIS          MUNOZ                    CA          90004449584
21784428231453   TIARRA        BYAS                     MO          27568694282
21785712371925   BARB          REED                     CO          90013797123
21785814985938   OCTAVIA       BAKER                    KY          67031888149
21787277857157   COLT          DICKERSON                VA          90002732778
21788298881644   ISIDIRA       GARCIA                   MO          90004272988
21788344157157   METHIA        CARDERAS                 VA          90013273441
21789254751343   BRITTNEY      ALEXANDER                OH          90015032547
21789612381637   ANNA          VALENCIA                 MO          90007066123
21791416884364   PHILIP        JACKSON                  SC          90014164168
21793391547952   STEPHEN       SIMPSON                  AR          90010783915
21793824991984   CASSIE        GARY                     NC          90012698249
21795462447952   MICHAEL       SPENCER                  AR          24090794624
21796132993767   CODY          WIGGANS                  OH          90001561329
21796937291984   SHENNA        ATKINSON                 NC          90012499372
21798457191541   JASMIN        SUAREZ                   NM          90013624571
21799696957157   PAYGO         IVR ACTIVATION           VA          90012026969
21811592191828   ANTHONY       CLARK                    OK          90002445921
21812699481637   EUGENIO       DURAN                    MO          90015316994
21812974391528   GILBERT       QUEZADA                  TX          90014229743
21813178451369   JENNIFER      KENNEDY                  OH          66029951784
21814439931631   CATHY         CRAWFORD                 KS          90010954399
21814445731456   BRITTANY      BREELAND                 MO          90012414457
21815434191984   CYNTHIA       OMERANI                  NC          17087934341
21815494891241   CANDIE        ROBERT                   GA          90014614948
21815512584364   ALEJANDRA     CABRERA                  SC          19063545125
21815853391241   BARBARA       WILSON                   GA          90010948533
21816532691984   GENARO        CORONADO                 NC          90004145326
21816613657157   PAMELA        BROOKS                   VA          90004536136
21817389591541   ALEJANDRO     QUIROZ                   TX          75013473895
21817447381661   STEVEN        FORD                     MO          90014664473
21818162991542   FRANCISCO     PIZARRO                  TX          90008241629
21818441581661   KELLY         JENNINGS                 MO          90012154415
21821385791541   GUILLERMIN    ORDAZ                    TX          75025133857
21821433484364   DANA          SIMMONS                  SC          19042804334
21821462631453   FRED          SPEARS                   MO          90014714626
21821593341245   GAYNELL       KING                     PA          90009495933
21822489784364   JOSE          OTRERA                   SC          90010834897
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21823589947952   GRADY         FREEMAN                  AR          24003135899
21823632284364   SHUNADA       CURRY                    SC          90010416322
21824664284364   LAKQUIN       WILLIS                   SC          90014166642
21824894255957   LUZ           SILVA                    CA          90014328942
21824938291833   CRYSTAL       HAMILTON                 OK          21083109382
21824963391241   CALEB         BROWN                    GA          90014729633
21826373531631   ASHLEY        HAIGLER                  KS          22046583735
21826696851365   ANTHONY       THOMPSON                 OH          90007936968
21827275831453   SHAUNA        CANNON                   MO          90014352758
21827277755941   IRENE         CASTRO                   CA          49077632777
21827715984364   DAWNEISHA     CHISOLM                  SC          90014167159
21828165181661   WENDY         ANDINO                   MO          90012321651
21828627157564   ALMA          GARCIA                   NM          90001146271
21829837785938   GATHELE       SPICER                   KY          67040228377
21829917255941   GRISELDA      AMBROSIO                 CA          90012959172
21831125484353   WANDA         GADSDEN                  SC          90001121254
21831477257157   ALICIA        KANU                     VA          90011494772
21831511791984   CIRILO        MARQUEZ                  NC          90015235117
21834732685938   JAIRO         REVOLORIO                KY          90010187326
21834825581638   JOSE          QUEREVALU                MO          90006098255
21834853431631   JEFF          STRAIN                   KS          90015008534
21835833584364   DYMOND        HUDSON                   SC          90014168335
21836346381657   ERIC          BLACK                    MO          90012453463
21838165555941   JUAN          LEAL                     CA          49001721655
21838352955957   DAISY         YEPEZ                    CA          90002863529
21839881751348   NATALIE       BROWN                    OH          90007628817
21841427461999   MARICELA      OROZCO                   CA          90010944274
21841583781637   WESLEY        BRIM                     MO          29032425837
21841615191541   JESUS         SALCIDO                  TX          75075856151
21841693147952   SAMARAH       JOHNSON                  AR          90010956931
21841861881661   TIREESE       BROWN                    MO          90002108618
21842153455957   BERNADETTE    THOMPSON                 CA          48090781534
21842371491984   LILLIAM       MATOS-FRANCO             NC          90005413714
21843272991828   JAMES         HUHN                     OK          90013802729
21843615457157   JOSE          MEDINA                   VA          81028836154
21844682581638   BREE          MYERS                    MO          29059296825
21844918931453   LONNELL       HUNT                     MO          90012079189
21844944255957   NADIA         GARCIA                   CA          90012369442
21845394151343   MANUEL        BALLESTEROS              OH          66096703941
21845585591241   ANITA         ANDERSON                 GA          90014705855
21848924381637   ORALIA        ROMERO                   MO          29054839243
21851976555941   LUISA         SANTOS                   CA          90005899765
21852418981661   BASS          MAN                      MO          90013974189
21853388984364   VALMIRA       LOMBARDI                 SC          90014683889
21853444181637   JODY          COOLEY                   MO          90012894441
21854343955941   LINDSEY       HAYES                    CA          90009083439
21857249391241   SHARITA       JOHNSON                  GA          90013262493
21857256151343   LUCIO         TORRES                   OH          90010762561
21857377191828   ADAM          HAMMONDS                 OK          90011833771
21859152784364   CARLOS        MACIAS                   SC          90014181527
21859658655957   ELIZABETH     MENDOZA                  CA          90013936586
21861128655957   ELIZABETH     SOLORZANO                CA          90013851286
21863226985955   JIMMILLE      CMCMULLEN                KY          90005642269
21865457557157   DAISY         RUBIO                    VA          90000584575
21865829231631   MAHOGANY      SNEED                    KS          90009998292
21865955151343   BEVERLY       STEPHENS                 OH          90004559551
21866799881661   KARA          HUFF                     MO          90005177998
21867298955957   JOSE          GARCIA                   CA          90001922989
21868164451369   VICTORIA      GARDENER                 OH          90009051644
21868339691984   SHARISE       SMITH                    NC          90015033396
21868937231631   SUSAN         BREWER                   KS          22095269372
21868961855941   MARCELINA     HERNANDEZ                CA          49077039618
21869126155941   MICHELLE      MIRELES                  CA          49095351261
21871272784364   JOSE          VERDE                    SC          90014182727
21872923161936   ANA ROSARIO   ULIVARRIA                CA          90011499231
21873371491984   LILLIAM       MATOS-FRANCO             NC          90005413714
21873691931631   JESUS         PEREZ                    KS          22015106919
21873985631453   TRINA         MCKENNEY                 MO          90006679856
21874122731453   KEANTE        MILLER                   MO          90007901227
21875596281661   TRACEY        BOER                     MO          29069315962
21876281881638   ARLONA        SHERRILS                 MO          90014842818
21877441331453   SHERISE       COOPER                   MO          27559094413
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21878236257157   FREDY        CASTILLO                  VA          90013852362
21879651351343   GAUDENCIO    MANZANAREZ                OH          90014906513
21879676571923   MINA         HA                        CO          90014046765
21879753284364   JOSE         GARCIA                    SC          90007707532
21881116455941   KATHEE       WILKEY                    CA          90000641164
21881788941245   RICHARD      WASHINGTON                PA          51012447889
21884446493773   MARCUS       WILSON                    OH          64599134464
21884759181661   TONYA        GOODMAN                   MO          29008537591
21884869251343   IVA          WRITEBOL                  OH          90011008692
21885264381637   JEREMY       THURMAN                   MO          29012802643
21887471791984   TANASHA      DURHAM                    NC          90014724717
21889157181661   HEATHER      HARMAN                    MO          29085081571
21889979591984   ALEJANDRA    LOPEZ                     NC          90013659795
21891164991541   JACOB        DELGADO                   TX          75073481649
21891534385938   MEGHAN       LITTLE                    KY          90013985343
21893328391984   MARISELA     ESPINOZA                  NC          90012153283
21893627581661   DONNA        HYCHE                     MO          90002966275
21893842981637   THERESA      TAYLOR                    MO          90003328429
21894284631453   HEATHER      RANKIN                    MO          90008972846
21894686341245   ROBERT       WELCH                     PA          90012886863
21896224155941   SARA         ACKERMAN                  CA          90015482241
21896438757157   MARLON       ALVAREZ                   VA          90014104387
21896684561939   GEORGIA      RITZ                      CA          90008076845
21896832357157   EDGAR        TERCERO                   VA          90012408323
21896876491541   FRANCISCA    RAMOS                     TX          75028768764
21897547991541   BERTHA       CERVIN                    TX          75097805479
21897862791828   MARIA        VARGAS                    OK          90008838627
21898737981637   NICHOLE      GRAY                      MO          29050637379
21899312455957   ROSA         GARCIA                    CA          48018393124
21899772481637   SHALI        WARE                      MO          90014877724
21899986857157   OLIVIA       DOLLED                    VA          90014599868
21911831751365   THERESA      SELDON                    OH          90006028317
21912494741245   GWENDOLYN    BROWN                     PA          90014664947
21912799881661   KARA         HUFF                      MO          90005177998
21915399555957   STEVEN       JIMENEZ                   CA          90005883995
21916299481637   ROSHONDA     OLIVER                    MO          90004932994
21917161231453   SHIRLEY      SMITH                     MO          27589101612
21917469491828   WESLY        WALKER                    OK          90013124694
21918112981637   TABITHA      MORRIS                    MO          90012701129
21921192181639   JOSEPH       CARR                      KS          90001351921
21922221355957   ANTHONY      ANGEL                     CA          48043752213
21923365984364   TYREN        GAINES                    SC          19007593659
21923491891828   AUSTIN       BLAYLOCK                  OK          90008564918
21924425647952   PRESPON      SOUTHALL                  AR          90015584256
21926325957157   JOSE         DIAZ                      VA          90012313259
21928231957157   KESHAWNA     JONES                     VA          90014472319
21929168981637   DAVID        MAINES                    MO          90013271689
21929526755941   COTY         RECEK                     CA          90014525267
21933247391984   ADELSO       PEREZ                     NC          90012612473
21934631391984   AMBROSE      GREENE                    NC          90014866313
21934882755957   CATHERINE    VERISSIMO                 CA          90008738827
21934936951343   TRINA        HEARD                     OH          90011349369
21935159793754   RACHEL       MARTIN                    OH          90013441597
21941929941245   NICHOLE      GOYDA                     PA          90011249299
21943565731631   KIM          STRICKLIN                 KS          90013255657
21943789284364   TAMESHA      WIGFALO                   SC          90014197892
21944334781637   YAZMIN       MARQUEZ                   MO          90011073347
21945165557157   PHILIP       KING                      VA          90012341655
21945311631453   SHANICE      JOHNSON                   MO          90015543116
21945465155941   VICTORIA     BAUTISTA                  CA          49033764651
21945485391541   SIMENTAL     KARLA                     TX          90012804853
21946223351333   AMBER        HOUSTON                   OH          90001702233
21946938841245   DAVID        HUGHES                    PA          90011249388
21947578531453   ASHLEY       LAWSON                    MO          90014885785
21953518231441   VISNJA       MCCULLAR                  MO          27561175182
21953569384364   ARMANDO      HERNANDEZ                 SC          19080215693
21953695355941   ZORAYA       VALIENTE                  CA          49012466953
21954544941245   JOSE         ROMERO                    PA          90013335449
21955395871945   CASSSIE      BERNARD                   CO          90013333958
21956132233126   MARCUS       JOHNSON                   IL          90015611322
21956187891241   ALICIA       PATTERSON                 GA          90014761878
21957697457157   ANTHONY      MENNELLA                  VA          90012486974
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21958543331631   DAWNISHA         WILLIAMS              KS          90014005433
21958581781668   CATEISHA         LEE                   MO          90001835817
21958715785938   TIFFANY          HARRIS                KY          90011357157
21959139791984   DEANNA           ANDERSON              NC          90014161397
21959339247952   ARABELLA         THOMAS                AR          90005043392
21959349231453   JOWANA           JOHNSON               MO          90013743492
21959649247952   ALLEN            LANE                  AR          24007946492
21959742557157   TIA              RICHARDSON            VA          90014917425
21959912291828   CHEYENNE         PARKER                OK          90014289122
21964244855957   DANIEL           RAMIREZ               CA          48009192448
21964279347952   NORMA            HERRERA               AR          90011242793
21965813391984   JUAN             RODRIGUEZ             NC          90013138133
21966946384364   ELIZABETH        SLOSS                 SC          90014199463
21967946384364   ELIZABETH        SLOSS                 SC          90014199463
21969661391528   LILIA            MONDRAGON             NM          75084836613
21971488355957   ASHLEY           GONZALES              CA          90007714883
21971643781637   MANUEL           RAMIREZ               MO          29061496437
21972289781637   LACRISHA         GEORGE                KS          29011842897
21972475947952   BRANT            STILLWELL             AR          90014284759
21973318591828   ANTHONY          MEANS                 OK          90013323185
21974664281661   CLAUDIA          NUNEZ                 MO          29075286642
21975183131699   DARIA            BATHGATE              KS          22081651831
21975187755957   GEORGE           GARCIA                CA          48036511877
21975385255941   SALVADOR         ZUNIGA                CA          90012483852
21976374981661   JACKIE           MCAFEE                MO          90011023749
21978879891828   DWIGHT           JONES                 OK          90009928798
21979222181661   LORA             HANEY                 MO          90002682221
21979731451343   EMANUEL          STANBACK              OH          90005587314
21979859131437   BELINDA          ARMSTRONG             MO          90009628591
21979978931631   CLINTON          LEMOINE               KS          90005169789
21981873781638   ERICA            NELSON                MO          90010958737
21982464541245   KRYSTAL          KRIEGER               PA          90013014645
21982596657157   LETISHA          SCOTT                 VA          90011005966
21983381884364   DEMOND           LANCE                 SC          90011993818
21984164347952   CHAN             SAITANG               AR          90015171643
21985142331453   NICHOLE          CHICK                 MO          90012451423
21986678751333   JOSEPH           EHRMAN                OH          90014696787
21987778691541   DANIEL           TARIN                 TX          75006867786
21987868247952   QASIM            ABDUL-KHALIQ          AR          24023948682
21987873881661   BRIGITTE         EMERSON GREGG         MO          90010848738
21989323355957   JORGE            HERNANDEZ             CA          90013083233
21989378891984   MARIA            MUNOZ                 NC          90013803788
21989856447952   APRIL            HOUSTON               AR          90015178564
21989949455941   ALBERTO          BOJORQUEZ             CA          90015389494
21991315131453   ODIE             LACKEY                MO          90015543151
21991527955941   BERNADETTE       ESTRADA               CA          90014525279
21991531891541   BLANCA           SILVA                 TX          75088685318
21992448291241   JAMEEL           SHAMSIDDIN            GA          90015174482
21992774193773   RASHAWNDA        YOUNG                 OH          90005297741
21993447391828   TONY             JONES                 OK          90013974473
21993982141245   MICHAEL          WELSH                 PA          51029579821
21994948291541   MARCOS           RIOS                  TX          75051539482
21997292857157   GORE             MITCHELL L            VA          90014522928
21997858791241   DANNY            PATTERSON             GA          90003168587
21998182581661   MARIE            JOHNSON               MO          29059221825
21998576781637   MARIA            ROJAS                 MO          90015025767
21998868455957   IRENE            CERTA                 CA          90012898684
22111345277977   BRENDA           DOMINGUEZ              IL         90000883452
22112265885938   RASHA            BRYSON                KY          90014642658
22112352133644   ELIZABETH        CORNEJA               NC          90007963521
22112645691251   LADARION         FONSECA               GA          90015516456
22115822855957   KELLY            DOBBINS               CA          90001548228
22117654691241   EILEEN           BEASLEY               GA          90014866546
22117931591522   FABIOLA          SANTILLAN             TX          90012609315
22121546991522   MARIA            RAMIREZ               TX          90012615469
22123623993773   SAMMY            HOZE                  OH          90006336239
22125619591522   DANIEL           MEDRANO               TX          75035786195
22127589691541   MARIA DE JESUS   RIVERA                TX          90012025896
22127879491828   CHASITY          BATTLES               OK          90013748794
22128725385938   MICHAEL          JORDAN                KY          67061167253
22129487591522   GILBERTO         RIVERA                TX          90012864875
22132254291828   ANGELIQUE        MILLER                OK          21054262542
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22134155181637   JOSE         RODRIGUEZ                 MO          90011781551
22134361291541   FRANCISCO    ALVARADO                  TX          90010713612
22134685485938   OLIVER       PEREZ                     KY          67005286854
22134825791522   MARIO        VALENCIANA                TX          90007798257
22134934891251   ZACHARY      PAYNE                     GA          90015599348
22136299181661   MARY         BLAKE                     MO          90014292991
22136523855957   PATRICIA     MCGLORTHAN                CA          90012975238
22138899955957   JOSEPH       ALBERTSON                 CA          90010158999
22141782791828   VANNA        DORSEY                    OK          90013167827
22141798891241   JOCELYN      KNIGHT                    GA          90013007988
22141941231453   KEN          JONES                     MO          90013969412
22142479531453   JASON        HARPER                    MO          90007374795
22143372891241   TONYA        ORANGE                    GA          90011133728
22145871485938   ASHLEY       HUFNAGLE                  KY          90012888714
22147417231453   ADAM         KESHINOVER                MO          90010494172
22149938591541   AMY          JIMENEZ                   TX          90007769385
22151372131631   CHARLES      TOMLINSON JR              KS          22063473721
22151614654163   ERIC         HIESTAND                  OR          90000846146
22152252877576   EVA MARIE    SPEARS                    NV          90010162528
22152614654163   ERIC         HIESTAND                  OR          90000846146
22153813791251   WYATT        HUTCHISON                 GA          90012338137
22154798891241   JOCELYN      KNIGHT                    GA          90013007988
22154818581661   JAMIE        RUFF                      MO          90004778185
22156667931453   STEPHEN      JOSEPH                    MO          90013236679
22157131255957   DAHNE        FRAKER                    CA          90002381312
22158435691828   TONYA        RICHARDSON                OK          21013964356
22159333281637   GADOR        FLORIDO                   MO          90011783332
22161286885938   JOHN         FREELAND                  KY          90015302868
22161711393773   STACEY       HODGE                     OH          90006767113
22163617955957   GUADALUPE    ESPINOZA                  CA          90014066179
22164969855957   JUAN         QUINTERO                  CA          90004699698
22167967291241   DARNELL      SINGLETON                 GA          90014729672
22168865491241   EMILY        LOUDER                    GA          90011988654
22169827755957   JOSE         ALBERTO                   CA          90015318277
22171265391541   BERNIE       ESPARZA                   TX          75043552653
22172238831631   CARISSA      VINCE                     KS          22018102388
22172696455957   GILBERT      ESCALANTE                 CA          90010776964
22173845785938   JOHN         ASEERE                    KY          90005838457
22175415831631   BECCA        PHILLIPS                  KS          90014244158
22175457881637   RAUL         QUINAREZ                  MO          90001974578
22175935755957   BOBBY        BOX                       CA          48052429357
22177122284364   BRITTANY     MCNEIL                    SC          90010941222
22177343391251   JESSICA      IVEY                      GA          90015083433
22179148655936   JOSE         HERNANDEZ                 CA          90003601486
22182583831453   SHERELL      SWINK                     MO          90009855838
22183169155957   LUIS         LEMUS                     CA          48007121691
22184414151369   BREA         BULLOCK                   OH          66002614141
22185388155957   OSCAR        TORRES                    CA          48000043881
22188813251325   SHELI        MILLER                    OH          66087168132
22188921531631   DEBRAH       COOK                      KS          22059939215
22191528747952   CARISSA      MARTINEZ                  AR          90014465287
22192156791251   KASAUNDRA    BROWN                     GA          90013591567
22192329891251   TERESA       ALMARAZ                   GA          90015223298
22192793555957   THANIA       BENITEZ                   CA          48097857935
22193455331631   DESEREE      WHITAKER                  KS          90003424553
22194237885938   JOSE         GOMEZ                     KY          90014652378
22194468681633   JEREMY       BYRNE                     MO          90009594686
22196635455957   ADELFO       MARTINEZ                  CA          90012066354
22197398181661   SADIA        SIYAKE                    MO          90015023981
22197682591522   JOLYNN       GARCIA                    TX          90015116825
22197814355957   JUDITH       TORRES                    CA          90001578143
22198941791522   NANCY        LECHUGA                   TX          75019949417
22199385531453   JACKIE       GILMORE                   MO          90010883855
22199766291528   CELIA        NAVARRETE                 TX          90007387662
22212643585938   JESSICA      LAX                       KY          90010516435
22213357381658   BARRY        JACKSON                   MO          90013673573
22213429891241   CAROLYN      MILTON                    GA          14571424298
22213699391541   DOMINGUE     DIAN                      TX          90009856993
22216156651321   JOE          SOUTHERLAND               OH          90012151566
22216338285938   MITCHELL     VIZTORIN                  KY          90005773382
22216695691828   YUGI         ARASHIRO                  OK          90014486956
22216741791522   KARINA       HERNANDEZ                 TX          90011857417
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22217179281638   SHUNELL           STEWART              KS          90004441792
22217765191251   TIJUANA           MINOR                GA          90011887651
22218979755957   DUSTIN            REYNOLDS             CA          48012629797
22222339131631   RON               TIDWELL              KS          22031613391
22222546181637   MARY              DANIELS              MO          90011785461
22223595985938   JASMINE           HOUSTON              KY          90005965959
22224781185938   ALICIA            OWENS                KY          67036967811
22224821484364   STEPHINE          JOHNSON              SC          90008848214
22225342391828   BARBARA           TORRE                OK          90008953423
22227151833126   MIRRIAM           PINA                 IL          90015591518
22227214684364   NORISSIA          BONNEAU              SC          90008852146
22227298131453   STEPHANIE         HALL                 MO          90014712981
22227647591241   TOMOU             HARRIS               GA          90014696475
22229615581638   GILDA             RANGEL               MO          29088996155
22229969891541   EMMANUEL          VASQUEZ              TX          90003079698
22231691791522   HOCHMAN           VAZQUEZ              TX          75013056917
22232528491522   MAYRA             RIVERA               TX          90007855284
22233715691522   JHOANA            FRANCO               TX          90011477156
22233751291251   KATHY             YOUMING              GA          90014927512
22233781884364   JORGE             ORTIZ                SC          19068857818
22236225541245   JENNIFER          CANTU                PA          51085252255
22239314147952   FELCIA            KALYOR               AR          90014563141
22241296941245   BRITNEY           PELMON               PA          51086932969
22242359493773   MICHAEL           EBBING               OH          90006633594
22242534155957   MONICA            INGHAM               CA          48017665341
22243282991828   TABITHA           PARENTI              OK          90014852829
22243435691589   MARCO             BAEZA                TX          90010764356
22245386691828   CARMEN            PEREZ                OK          21006713866
22247165185938   LINDA             HAGGAED              KY          67062461651
22247455691251   TIFFANY           UTLEY                GA          90013354556
22247674691541   ELIZABETH         TOSTADO              TX          90012616746
22248368947952   DARA              LOGAN                AR          90000323689
22249889655957   CINDY             QUEZADA              CA          90011658896
22251161431453   MCINNIS           CATHLENE             MO          27502081614
22253887455997   DOMILTA           MARTINEZ             CA          90003928874
22254334171963   DAVID             VALLIER              CO          90013203341
22257947491528   PAULA             VARGAS               TX          75010419474
22261144791881   TAMELA            MILLER               OK          21093721447
22261267491241   ISRAEL            FLORES               GA          90010122674
22261729641245   CONRAD            MAYO SR              PA          51007277296
22263925985938   BILLIE            DEGARIS              KY          67046389259
22266114885938   SAMANTHA          LIGHTFOOT            KY          90010891148
22267127591828   SHELBY            MCMORRIS             OK          90012901275
22267842555957   GABRIEL           MAGEE                CA          90012598425
22268293361985   LISA              STENSVAD             CA          46086922933
22268326955957   MIGUEL            CONTRERAS            CA          90014363269
22269178191828   LISA              OCANAS               OK          90008821781
22269525451369   PHARON            CRUSBY               OH          66017305254
22271181691528   MARIA             MEDELES              TX          75018051816
22272497447952   SAUL ADULBERTO    BARDALES             AR          90002664974
22274913131453   MATTHEW           SHERMAN              MO          90014039131
22275338991522   ROBYN             SUZANNE              TX          90007283389
22276194585938   HALEY             WARD                 KY          90008951945
22281156181637   MARLON            CALLIER              MO          29063431561
22282285291522   KERMIT            GARRETT              TX          90010962852
22284557881661   MONICA            BUSH                 MO          90008525578
22284718631453   SAMANTHA          FIREBAUGH            MO          90003987186
22284769791541   LOPEZ             REGINA               TX          90013297697
22285265485938   DOUGLAS           TAYLOR               KY          90008502654
22287223271923   TEDOSHA ROCHELL   CUMMINGS             CO          90003812232
22287832985938   CRYSTAL           HAMMONS              KY          90014668329
22288337791541   EVELYN            NUNEZ                TX          75051383377
22288431891541   FERNANDA          MONSERAT DUARTE      TX          90014944318
22291211447952   SHAMEKA           MITCHELL             AR          90007602114
22293521785938   DESTINY           NANCE                KY          90015345217
22293524731453   ARNEL             BLAIR                MO          90014875247
22293532547952   MISTY             MILEY                AR          90000325325
22293967291522   RUBEN             ARMENDARIZ           TX          90003069672
22294585791828   JENNIFER          GARCIA               OK          90014945857
22295528431453   EBONY             FINNIE               MO          90014875284
22296241291541   ROBERTO           MAGANA               TX          90013962412
22296835555957   LEO               BONIFICA             CA          90012568355
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22298752755957   JOSE         CUEVAS                    CA         48076047527
22311491438525   CHASITY      MORTENSEN                 UT         90004394914
22311649231631   NATHANIEL    VINSON                    KS         90015046492
22312621741245   RILEY        BLAKE                     PA         90009976217
22313195641245   APRIL        FULLER                    PA         51094081956
22314259955957   JUAN         CORNEJO                   CA         48048642599
22314718157544   FRANK        ADLER                     NM         90014167181
22316488485938   MARY         BELLAMY                   KY         90009214884
22316534851369   SHEILE       GUENTHNER                 OH         90007205348
22318298891251   ANTWAN       ROBERTS                   GA         90014952988
22321121831453   PAUL         BROWN                     MO         27559491218
22321176631631   ERIC         FELKER                    KS         22006471766
22321866591241   WILLIAM      WEBB                      GA         90013008665
22322889591828   KIMBERLY     POLLACK                   OK         90009858895
22324681977523   MARISSA      MARTINEZ-POTTER           NV         90000716819
22325514131453   LAWRENCE     PARKS                     MO         27517125141
22326374855957   LAMBERTO     LARA                      CA         90011523748
22326685991828   RICK         HILL                      OK         90011966859
22327657193773   AMANDA       BUSH                      OH         64567896571
22328462891251   OMAR         VAZQUEZ                   GA         90013604628
22332716555957   LYLE         RITCHIE                   CA         90012157165
22333211941245   CARL         NEELY                     PA         90007082119
22333485291541   GLORIA       SALAS                     TX         75036634852
22333853191522   CARMEN       BEALL                     TX         75078168531
22334147293721   PETER        ANEI                      OH         90011841472
22335833791541   JOE          SALAZAR                   TX         90014858337
22337418241963   CATHERINE    BONNER                    OH         90012014182
22337479194984   JAMES        MULICK                    CA         90015094791
22339571391522   ALEJANDRA    CENICEROS                 TX         90011305713
22341959191541   NANCY        DE LA CRUZ                TX         90004209591
22342411691522   GUADALUPE    ARMINIO                   TX         90012064116
22343396891541   ERNESTO      ZAPIEN                    TX         75035083968
22345787791522   JAIME        URANGA                    TX         90013427877
22345887791241   JAMES        GEIGER                    GA         90010318877
22346198755957   PABLO        CABRERA                   CA         90015231987
22348512691251   ANGEL        COLLINS                   GA         90011105126
22348629261959   LISA         HUNTSMAN                  CA         90015176292
22351544185938   TROY         BLACK                     KY         67064465441
22352932447952   GENA         COOK                      AR         24085899324
22354444391522   MARIA        RODARTE                   TX         75016274443
22361233191241   JENNIFER     ESQUIRE                   GA         90013972331
22361616781637   LORI         DAVIS                     MO         29097436167
22361628485938   KANDRA       FERNANDEZ                 KY         90014716284
22361956491828   CESAR        VEGA                      OK         90014829564
22362932691525   CARLOS       ALVARADO                  TX         90003359326
22362964791541   GABRIELA     HERNANDEZ                 TX         75074019647
22364255131453   DWAYNE       THOMPSON                  MO         90012532551
22364455191241   DESMOND      HARVEY                    GA         90013474551
22365675591541   MARIA        PORRAS                    TX         90009956755
22365745547952   BOBBY        MANNING                   AR         90013947455
22365872791241   CHIFFON      LAVANT                    GA         90013948727
22365911391828   MICHELLE     WALKER                    OK         90010299113
22368697291251   BRAD         FREEMAN                   GA         90013126972
22371113336165   FERMINA      GARCIA                    TX         90007511133
22372397491541   MAYRA        NORIEGA                   TX         90010993974
22372632161877   JOE          BUCKINGHAM                 IL        90002036321
22373372581637   LATONYA      EVANS                     MO         29031533725
22373432661977   DIANE        GARAY                     CA         46090834326
22373593555957   YAIR         ORTIZ-LOPEZ               CA         48023555935
22373692584364   TAMMY        DOUGLAS                   SC         90010306925
22374524231453   ERIC         ANDERSON                  MO         90011575242
22375833831453   SHANNON      HAYES                     MO         90012718338
22376222584364   JULIE        JACKSON                   SC         90000222225
22376361381661   GARY         DUNFIELD                  MO         29006613613
22376617985938   ANNA         CHILDERS                  KY         90014706179
22381563331453   JEAN         REED                      MO         90013415633
22382421555957   JONES        DANA                      CA         90014804215
22382894691528   ARMANDO      TERCERO                   TX         75092908946
22383426391522   STEPHANIE    PHILLIPS                  TX         90010744263
22384721985938   RAYMOND      CANE                      KY         90014707219
22384786231631   SUSAN        SZYMKOWICZ                KS         90014627862
22387159385938   ASHLEY       BARGER                    KY         90006431593
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22387184591541   GREGORIO     ROSALES                   TX         90012801845
22387472947952   EDWARD       GRAHAM                    AR         90014024729
22387598891522   JOSE         ROGERS                    TX         75021265988
22389177681637   STEVE        EMBERTON                  MO         90008291776
22391333191522   ERNESTO      ROJAS                     TX         90004713331
22392846541245   NASTASSJA    REESE                     PA         51087078465
22393144461939   TRACY        TAPIA                     CA         90014021444
22393653941245   DEBRALYNN    FERRARO                   PA         51029026539
22394745291241   JIMMY        LEE                       GA         14579857452
22396744591828   JEROME       VERNON                    OK         90012157445
22397831131631   STEVE        LEE                       KS         90014628311
22398115381661   RYAN         BIGGS                     MO         90014331153
22398592685938   TAMARA       CARTER                    KY         90010715926
22399267751329   AMY          SCHAFFER                  OH         90013922677
22411656347952   JUAN         HERNANDEZ                 AR         90001566563
22411658691522   MIGUEL       ALDERETE                  TX         90014046586
22412437381661   RANDY        SPARKS                    MO         90012404373
22415173291828   JEREMY       PENDERGRAFT               OK         90014581732
22415941191522   DEBRA        MORRILL                   TX         90002609411
22417256891828   NICK         SCANLON                   OK         90004212568
22418986485938   ARIELL       HAYES                     KY         90014719864
22421189547952   ANDREW       MALOUF                    AR         90004451895
22422432591541   MICHAEL      KNIGHT                    TX         90008114325
22422526491522   JOSUE        BARBOSO                   TX         75016225264
22423437547952   CAYSEY       DUTTON                    AR         90014484375
22423684481637   REBECCA      WILLIS                    MO         29015586844
22423693885938   TANYAUA      OLIVER                    KY         90009386938
22424545431631   ROSA         RIVERA                    KS         90013995454
22424881691541   ANA          ROMERO                    TX         90009478816
22425719891251   SHENNA       PRINGLE                   GA         90009317198
22427565691251   PRECIOUS     ALLEN                     GA         90011105656
22428215181661   MIKELA       OLIVER                    MO         29010862151
22428722491541   MARTHA       HERRERA OLIVAS            TX         90015107224
22428835581661   CURTIS       RICKS                     MO         90014988355
22431689193773   DEBORAH      WENING                    OH         64568176891
22433324791522   SERGIO       TORRES                    TX         75005073247
22434283155957   ROBIN        CHRISTIANSEN              CA         48012092831
22437117531453   LADORIS      HARWELL                   MO         90013191175
22437136531453   LADORIS      HARWELL                   MO         90008381365
22437369141281   PHILIP       NORKEVICUS                PA         51007423691
22437874931453   LADORIS      HARWELL                   MO         90014538749
22438412285938   SONIA        GARCIA                    KY         67038224122
22439742555957   LAVONNE      HARRIS                    CA         48088057425
22442521121929   ALEX         KISZENIA                  IN         90015355211
22444271581638   GILLIAM      CLARK                     MO         90005822715
22445634655957   ANAMARIE     DELGADO                   CA         90009036346
22446296691541   ROXANNE      OAXACA                    TX         75051382966
22447793691522   WILLIAM      MARTINEZ                  TX         90007567936
22448669757144   PETER        VAZQUEZ                   VA         90006056697
22452523451369   FIDELIS      OGHOJAFOR                 OH         66054005234
22453273355957   CINTIA       GONZALEZ                  CA         90012142733
22453664691828   CRICKETT     JORDAN                    OK         90008096646
22455322791541   BRIDGET      BELLE                     TX         90009193227
22458484947952   SIDNEY       GARRETT                   AR         90013114849
22459287547952   TIFFANY      CHANDLER                  AR         90014782875
22462398991522   TODD         LOCASTRO                  TX         90012413989
22464852791827   NORMAN       TALLY                     OK         90009728527
22466876295637   ZAIDA        SILVA                     TX         90012668762
22467191155957   MATHEW       ROGER                     CA         48019641911
22468565191828   GABRIEL      BLAKE                     OK         21091015651
22468915493773   BRADLEY      WHEELER                   OH         90008979154
22471292531453   JOY          BISHOP                    MO         90006352925
22472741391522   ERIC         VELEZ                     TX         75057407413
22474462947952   ERASMO       SAN MARTIN                AR         24059084629
22475878947952   SAM          HARRIS                    AR         90009748789
22476384791522   MARIA        RAMOS                     TX         90003993847
22478238181661   SANDRA       DICKSON                   MO         29074202381
22481341585938   CHRIS        MANNING                   KY         90013653415
22481583431453   BRIDGET      WOODFORK                  MO         90010805834
22482227193773   BRANDON      THOMASSON                 OH         64530342271
22485686791828   DARREION     CLARK                     OK         90010836867
22485782155957   JESUS        VILLASENOR                CA         90012177821
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22486142691828   JENNIFER     ALEXANDER                 OK         90012141426
22488185591522   JOHNNY       MARTINEZ                  TX         90001481855
22489223285938   JASON        PARKER                    KY         67016112232
22491622991828   LAURA        GAROUTTE                  OK         90010226229
22492623447952   JESSICA      ARTHUR                    AR         90011276234
22492819277381   ENRIQUE      FLORES                    IL         20597158192
22493143591541   CONCHITA     ROBLES                    TX         90013561435
22493223285938   JASON        PARKER                    KY         67016112232
22494853921929   JUSTIN       ROEHR                     IN         90015348539
22497111184364   GRETA        MCCLARY                   SC         19059651111
22498346191828   CRYSTAL      SMITH                     OK         21091233461
22512859491522   ROBERTO      MONTOYA                   TX         90015048594
22512919891541   EMMANUEL     ALCAZAR                   TX         90006939198
22514953181661   PHILMORE     HAMILTON                  MO         29054279531
22516411261957   LAURA        GONZALES                  CA         46013064112
22516624291522   PILY         MOLINAR                   TX         90010976242
22517412291541   MARIA        MARQUEZ                   TX         90010994122
22518777493773   SEAN         MIDDLETON                 OH         64515187774
22522412291541   MARIA        MARQUEZ                   TX         90010994122
22522799191828   LAURA        GREGORY                   OK         21017977991
22523991591885   ANGELA       BLACKBURN                 OK         90007039915
22524224191528   CARMEN       CARDOZA                   TX         90013682241
22525162484364   RACHEL       BOWLES                    SC         90005881624
22525535955957   EVELYN       ESCARENO                  CA         48035135359
22525577191522   HERNANDEZ    YANETH                    TX         90011305771
22526345841245   RODNEY       DAVIS                     PA         51007063458
22526762855957   YVONNE       LUNA                      CA         90005797628
22527581731631   TANISHA      STARR                     KS         90011085817
22528472391522   ABEL         BARRIOS                   TX         90014874723
22528537593773   ALYSSA       LOWE                      OH         90005245375
22531261691528   ELSA         ARRIAGA                   TX         75096022616
22533689691528   TATIANA      BARRAZA                   TX         90003416896
22533918481661   JEFFERY      GEOGHEGAN                 MO         90014429184
22533935381661   TASHA        BEALS                     MO         90004769353
22534292991828   CRYSTAL      COX                       OK         90014152929
22535141955936   SERAFIN      ESPINOZA                  CA         90005271419
22535478951338   DAVE         CHASE                     OH         66087434789
22536835185991   JIM          BOYERS                    KY         66084038351
22537412291541   MARIA        MARQUEZ                   TX         90010994122
22538158751369   BECKY        MURPHY                    OH         90006901587
22539185947952   LESLIE       DOROTHY                   AR         24002941859
22542134291241   PAYGO        IVR ACTIVATION            GA         90012451342
22542439255957   MAYRA        RAMOS                     CA         48083044392
22544128581637   ISRAEL       GARCIA                    MO         90011801285
22544264485938   STEPHANIE    GONZALEZ                  KY         90014742644
22544439391828   MONICA       WALKER                    OK         90008894393
22547571455957   VERONICA     MALDONADO                 CA         90009595714
22548189185834   LORI         ROY                       CA         46068701891
22549532681637   JENNIFER     GUZMAN                    MO         29088055326
22549893385938   FRANK        CLOUD                     KY         90008798933
22553115247952   ASHTON       CARNEY                    AR         90011591152
22553268791828   TALICIA      RAESON                    OK         90009192687
22555423333126   JOSE         JUAREC                    IL         90013154233
22556455655957   MIGUEL       CORONA                    CA         90014804556
22556775947952   ROBERT       NUNNERY                   AR         24047507759
22559479381661   PATRICK      GEORGE                    MO         90013334793
22561169991522   EMMA         CARDOZA                   TX         90009281699
22562589441245   ELIZABETH    CAMERON                   PA         51000445894
22565497485938   KIMBERLY     WALKER                    KY         90004424974
22567825555957   EVERT        SAUSEDO                   CA         90006938255
22569432761963   FRANKLIN     OROZCO                    CA         46007614327
22569437985938   ANTOINE      JACKSON                   KY         90014744379
22571133991528   MARCO        SOSA                      TX         90006621339
22572288291241   TONNYA       BRADSHAW                  GA         90011952882
22572343191541   ROSA         VELEZ                     TX         90000513431
22573446385938   MARTHA       PEREZ                     KY         90014744463
22574127585938   CRYSTAL      DEERING                   KY         90014761275
22575174991541   HUMBERTO     AGUIRRE                   TX         90012371749
22575884155957   ERICA        LUPERCIO                  CA         90000448841
22575995184364   EARL         GRANT                     SC         19068419951
22576127585938   CRYSTAL      DEERING                   KY         90014761275
22576292991828   CRYSTAL      COX                       OK         90014152929
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22578383881637   JEREMY       WEST                      MO         29005333838
22579733391241   ASHLEY       BENTA                     GA         90014877333
22582468955957   TRISH        MARTINHO                  CA         48061054689
22582615555977   REBECCA      GOFORTH                   CA         90013646155
22585175885938   KASSONDRA    COBB                      KY         90014761758
22585732791541   MIRANDA      ARELLIN                   TX         90008127327
22586316481637   MARQELL      STINSON                   MO         29007233164
22587929585938   RIVERA       RICARDO                   KY         90006779295
22587985491541   RITA         ALMANZAR                  TX         75082549854
22588122441248   COURTNEY     EZZO                      PA         90008051224
22589154931631   CHRISTOPHE   JONES                     KS         22052461549
22589461391522   ANTONIO      SILVAS                    TX         75007474613
22589659155957   AMALIA       GUTIERREZ                 CA         48068446591
22589837461877   TIMOTHY      BENNETT                   MO         90011888374
22591978247952   MARYLIN      SIFUENTES                 AR         24007339782
22592494385938   STEPHANIE    TRAVIS                    KY         90014744943
22597848555957   PERLA        MORENO                    CA         48069198485
22611717291522   ISABEL       MENDOZA                   TX         90013567172
22611841747952   JAIME        MEJIA                     AR         90013138417
22612361191528   MARIA        CHAVEZ                    NM         75093003611
22612394591522   VERONICA     CRUZ                      TX         90010033945
22615964631631   ETHEL        MERCER                    KS         90014639646
22618323591522   BRISSA       SALAS                     TX         90014843235
22619521391241   JAMIE        BRIANS                    GA         90009575213
22622155831631   MICHAEL      PLANK                     KS         22077071558
22622157161921   MARIA        CALDERON                  CA         90010511571
22624195291541   JAMES        CHILDRESS                 TX         75034941952
22624928485938   MARICELA     MAST                      KY         90014719284
22625351291541   NORMA        PONCE                     TX         90001433512
22625432281637   DAVID        CATER                     MO         90011804322
22626664484364   ERICK        ALVA                      SC         90013166644
22628213447952   KIMBERLY     GRAHAM                    AR         90013942134
22632297585938   LATISHA      AUSTIN                    KY         90014762975
22632349947952   BRENDA       RUIZ                      AR         90014573499
22633185393773   MIKE         NALLS                     OH         64558831853
22633297585938   LATISHA      AUSTIN                    KY         90014762975
22634358171923   WILLIAM      HIGHTOWER                 CO         90014843581
22634487855957   IGNACIO      AGUILAR                   CA         90000694878
22634685185646   NORMA        ROBLERO                   NJ         90006016851
22635891485938   SHANNON      PIERCE                    KY         67034688914
22636848881661   TEASIA       CLARK                     MO         90014648488
22637315255957   CONSUELO     RAMIREZ                   CA         90014483152
22637538181661   RYAN         TAYLOR                    MO         90014885381
22639987991522   BRITNIE      COMER                     TX         90009829879
22641598281637   NICHOLE      ANDREWS                   MO         90011805982
22642333391241   APRIL        BROWN                     GA         90009763333
22642418991541   ARTURO       ORDOQUE                   TX         90012154189
22643211891241   REBA         CARTER                    GA         90013952118
22644513655957   FABIAN       ESTRADA                   CA         90014455136
22645369881661   JOHN         WENDLETON                 MO         90011153698
22648412685938   LACY         FERRELL                   KY         90014764126
22651236991251   AHMAD        JACKSON                   GA         90008252369
22651441691528   HILDA        ROMERO                    TX         75070444416
22651818247952   RANDALL      TRIPP                     AR         90014048182
22652763181637   MICELLE      TOOLE                     MO         90004617631
22653932291828   ROBERT       CONWELL                   OK         21055879322
22655396231453   DEMEKO       BECK                      MO         90009563962
22658868691241   TORRIS       SMITH                     GA         90005738686
22661794591522   MARIBEL      DE SANTIAGO               TX         75078337945
22666441231631   SHERRYL      HALFHILL                  KS         22083564412
22666759761925   ISAIAS       ANGULO                    CA         90001367597
22667828191241   XAVIER       BEAMON                    GA         90013688281
22668361281661   RUBI         ORTEGA                    MO         90015313612
22671465126249   NORA         GUSTAFSON                 WI         90010924651
22671742731453   SIDNEY       STEBLETON                 MO         90012557427
22672326691522   ABRAHAM      MEDINA                    TX         90014843266
22673444757564   EDWARD       HERRERA                   NM         90005704447
22674438591528   FUENTES      ALEJANDRA                 TX         90007294385
22675287455957   VANESSA      MUSQUIZ                   CA         90014522874
22676285731453   ASHLEE       JOHNSTON                  MO         27559412857
22676326651343   ERICA        CACAVIO                   OH         90012483266
22676378741245   REBECCA      CRAIG                     PA         90005193787
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22676869747952   NIKKI        LOPEZ                     AR         90014788697
22676968555957   LIDIA        AYALA                     CA         90012739685
22677815347952   RAFAEL       MANJARREZ                 AR         24038418153
22679184691522   ESTHELA      GALLARDO                  TX         90000411846
22679851591828   BETSY        MCCORD                    OK         21016878515
22682391491522   SIRENA       DONIGUEZ                  TX         75008733914
22682884931631   JAZMINE      BERNAL                    KS         90003968849
22682911393773   ADAM         COOLEY                    OH         90007209113
22682927747952   VALENTIN     NAVA                      AR         90013779277
22683252391541   CLAUDIA      ESMERALDA                 TX         90011882523
22683974991828   RAMONTRAY    LACY                      OK         90006099749
22685791381638   WANDA        GUNN                      MO         29015917913
22686597955957   MARISA       MONTANO                   CA         90007585979
22686721291528   MICHELLE     MARSHALL                  TX         75067317212
22686763791522   OSCAR        LUCERO                    TX         90014897637
22688943191522   DANIELLE     KRACH                     TX         90011949431
22689458191522   JOSHUA       LEDFORD                   TX         90009034581
22689796347952   CODY         COLLINGSWORTH             AR         90014087963
22691617247952   DARON        HEMPEL                    AR         24056906172
22693169241245   HEATHER      PETRO                     PA         90011631692
22693886291522   OLGA         CARRILLO                  TX         75047748862
22695515691525   BILL         NAVARRETTE                TX         75021285156
22697822785938   TILISIA      TAYLOR                    KY         67094558227
22697843751369   BOBBY        POSTON                    OH         90007838437
22698323485998   MARGARET     CORDRAY                   KY         90011863234
22698671491522   VICTOR       LUNA                      TX         90006686714
22711557491241   STARR        OLIVER                    GA         90010265574
22713275131453   ANTHONY      DICKERSON                 MO         90014162751
22713326831466   KATHERINE    LOVSEY                    MO         27527643268
22714125591522   NORMA        SANCHEZ                   TX         90006751255
22714329491828   MARIA        NIETO                     OK         90009783294
22714335793773   MEGAN        MOORE                     OH         90002393357
22714394391547   JERRY        CASTELLANOS               TX         75069943943
22714634231453   RICHARD      MOSHER                    MO         90015296342
22715543991241   LASHA        DEMPS                     SC         90014925439
22718742731453   SIDNEY       STEBLETON                 MO         90012557427
22721162785938   CHRISTINA    RUTHERFORD                KY         90014791627
22721352555957   MARLANA      BOWERS                    CA         90014463525
22721849431453   EDDIE        LEWIS                     MO         90014778494
22723215847952   JEFFREY      CROTZER                   AR         90011682158
22725129841245   DIANA        GARZA                     PA         51066761298
22725573455957   TIMOTHY      FREYHOF                   CA         48084965734
22727437991541   ERIKA        ESCONTRILLAS              TX         90013174379
22727662291528   ANA          FERNANDEZ                 TX         90011946622
22727991985938   KENYAL       ROBINSON                  KY         90013709919
22728833491828   TERESA       GILSTRAP                  OK         21063648334
22732535591541   RAUL         DIAZ                      TX         75089375355
22733434381637   BRITTANY     WILLIAMS                  MO         90003524343
22734266847952   JESSICA      REEVES                    AR         24005902668
22735869991828   REYNA        VALDEZ                    OK         90009958699
22736656891541   DELILA       VILLARREAL                TX         90010966568
22736722491541   ALISIA       VILLARREAL                TX         75012217224
22739746581638   LADONNA      HARPER                    MO         29005917465
22741377281661   ANDREW       BARKS                     MO         90012873772
22746173431453   SHANTAY      PHILLIPS                  MO         90011021734
22746195941245   SAM          MARTIN                    PA         90009561959
22746489133666   JAMIE        DAVIS                     NC         90014864891
22747897191251   MICHAEL      COX                       GA         14508678971
22751796347952   CODY         COLLINGSWORTH             AR         90014087963
22753348841245   MARINA       SOLOMON                   PA         90010533488
22754543784364   VALDIRENE    MARQUES                   SC         19083685437
22755339685938   CANEI        GUYN                      KY         90014093396
22755931431453   FATIMA       FISHER                    MO         90005229314
22756674291522   BRENDA       HOLGUIN                   TX         90013836742
22757555784364   RYAN         FELLER                    SC         90011585557
22757869981637   MICHAEL      REED                      MO         90011808699
22758937531453   JAY          MONEY                     MO         90013419375
22758978191522   THOMAS       STRALEY                   TX         90000639781
22759356491241   MICHAEL      GAUSE                     GA         90015133564
22759431555957   DANNY        RYAN                      CA         90002274315
22759972991522   LUIS         ONTIVEROS                 TX         90012329729
22761623381638   HVIS         GARCIA                    MO         29098106233
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22762194838524   JUANITA       DEVAUL                   UT         90012571948
22762442485938   MIRANDA       PURVIS                   KY         90014784424
22763476991541   DOMINIQUE     BENSON                   TX         90014814769
22763647355957   MARIA         GAMINO                   CA         48010316473
22763894291828   TAMMY         JONES                    OK         90001708942
22764442485938   MIRANDA       PURVIS                   KY         90014784424
22764479155957   SEYDA         LOPEZ                    CA         48019624791
22764745951321   TERESA        RAMIREZ                  OH         90012457459
22765169921929   ERICA         CLARK                    IN         90015421699
22766512285932   JILIAN        CRUZ                     KY         90004385122
22769853691828   JESSICA       GOURLEY                  OK         21005128536
22772189951326   KEVIN         LEISTNER                 OH         66031851899
22772455755957   REFUGIO       MARAVILLA                CA         90012274557
22772711291251   DESMOND       BROWN                    GA         14570357112
22774215391522   RAUL          CHAVIRA                  TX         75048732153
22774522391828   MARKITA       HARDY                    OK         90013045223
22774583931453   JOSEPH        LOVE                     MO         27559395839
22775291485938   KEITH         STRICKER                 KY         90014792914
22775424631453   BRITTANY      PATTERSON                MO         90014164246
22775554431631   LAUREN        COLLINS                  KS         22098845544
22775634791541   HECTOR        MERCADO                  TX         90012136347
22776311181661   CALVIN        JONES                    MO         90012063111
22776545991528   CARMEN        PEREZ                    TX         75096585459
22777898661992   MASHEILA      TAYLOR                   CA         46093198986
22781429491828   EDWARD        STATUM                   OK         21004894294
22782127581638   JENNIFER      BUSH                     MO         90005861275
22783653941245   DEBRALYNN     FERRARO                  PA         51029026539
22785484485938   KRISTIN       MATTINGLY                KY         90006294844
22785492771639   TONY          WILLIAMS                 OH         90015284927
22785515491828   AMBIA         JIMERSON                 OK         90005295154
22787254191522   ANA           CARRILLO                 TX         75030472541
22787373881661   JESSICA       LANE                     MO         29050483738
22787663691241   BEN           SCHWARTFIGURE            GA         90013086636
22788397755957   LINDSAY       STRYD                    CO         90012033977
22792733831631   VALERIE       HAMILTON                 KS         22084757338
22793447951369   STEVEN        RICHMOND                 OH         90003344479
22793548591522   JUANA         FERNANDEZ                TX         75049465485
22795981391522   ELIZABETH     CORTEZ                   NM         75065689813
22797446191227   ROBERT        MILLER                   GA         14587404461
22798144747952   KESHA         TRAVIS                   AR         24088211447
22799773491541   JOSE          LARA                     TX         90009997734
22811815347952   RAFAEL        MANJARREZ                AR         24038418153
22812375531453   BELIA         OLIVA                    MO         90001393755
22815176791828   SHEENA        RABBITT                  OK         21083931767
22815263884364   TAVONNA       WILSON                   SC         90010182638
22816621741245   RASHEDA       DAVIS-GORDON             PA         90009516217
22817397191528   LEAH          LOPEZ                    TX         75093093971
22817516585938   ANGEL         CARTER                   KY         90014795165
22818252191522   RUBEN         GUZMAN                   NM         75046862521
22821575881661   GRACIELA      RAMIREZ                  MO         90011175758
22822215391522   RAUL          CHAVIRA                  TX         75048732153
22822931491528   RAMON LOPEZ   MUNOZ                    TX         90006529314
22824621741245   RASHEDA       DAVIS-GORDON             PA         90009516217
22825476185938   TAMMARA       HALL                     KY         90006174761
22826786893773   JENIFER       BROWN                    OH         64521107868
22827411851365   MELISSA       GANDY                    OH         90012234118
22827417491251   ANTONEAL      MOODY                    GA         90002934174
22827815347952   RAFAEL        MANJARREZ                AR         24038418153
22829187581661   JASMINE       RICHARDSON               MO         90013271875
22829621591251   BRANDON       MONTFORD                 GA         90008656215
22832143381637   DENNIS        ESCAGNE                  MO         90011811433
22833422455957   OLIVIA        ARROYO                   CA         90004044224
22833837491522   ANNETTE       KOST                     TX         90004518374
22834577451369   CARTAYA       TALISON                  OH         66045115774
22835348997121   ADYSMILDA     CASTELLANES              OR         90008113489
22836233591522   EDNA          MARTINEZ                 TX         90012112335
22837363755957   ARTURO        REYES                    CA         90015123637
22837847131453   BARBARA       MAUNEL CROSSMAN          MO         27556618471
22838199785938   CASSANDRA     PRESTON                  KY         90008601997
22838964991828   BONNIE        PAUL                     OK         90007559649
22839663633651   GIOVANA       ZAYAS                    NC         90012786636
22841111791541   CLAUDIA       LARA                     NM         75032341117
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22841636855957   OSCAR        GARIBO                    CA         90007526368
22842522891522   MAGALY       ESCARENO                  TX         90013385228
22842761691828   SHERMAN      WASHINGTON                OK         90014757616
22843361555957   TIERRA       WILLIAMS                  CA         90012333615
22844364585938   GEORGE       GIBBINS                   KY         90009903645
22844466341245   DANIEL       MERRITT                   PA         51060404663
22849255991541   ALONSO       LOZANO                    TX         75096732559
22849875791959   DARNELL      WILSON                    NC         90011758757
22851374881638   KENNETH      BLEDSOE                   MO         90005863748
22851492891522   MARIA        SALDIVAR                  TX         90015024928
22851941155957   ROBERT       LAMBERT                   CA         90011309411
22853527461985   ALICIA       FIGUEROA                  CA         90011115274
22854979155957   ANTERO       MANGASER                  CA         90006039791
22855383131453   ELIZABETH    LIABLE                    MO         27551933831
22855512585938   TAJ          RICKETTS                  KY         90014805125
22856496757544   ANNA         ALCALA                    NM         90007344967
22857957741245   DONALD       LARGENT                   PA         51062159577
22858446333671   MAIR         MARTINEZ                  NC         12093834463
22858528491541   JOSEPH       MARTINEZ                  TX         90010995284
22859328331537   FT           FITZSIMMONS               NY         90011323283
22859963531453   ZACH         CHRISTOPHER               MO         90010459635
22859989255957   KENDRA       GEAR                      CA         90015159892
22862421391522   CESAR        HERNANDEZ                 TX         90012624213
22862461793773   MELISSA      PURVIS                    OH         90003434617
22863269891241   TAMASHA      GREEN                     SC         14516462698
22863932391541   ALEJANDRA    TOMLINSON                 TX         75002369323
22864669191828   MARY         HAVICE                    OK         90012816691
22865733291541   MICHELLE     THWEATT                   TX         90011797332
22866941291522   AMANDA       BOLASKI                   TX         75094989412
22868774491522   JORGE        GONZALEZ                  TX         90014897744
22868961947952   BECCA        SANCHEZ                   AR         90006079619
22871957991541   MARIA        HERRERA                   TX         90008129579
22874184357531   MARY         ESPINOZA                  NM         90002851843
22878834491541   DAVID        LANDEROS                  TX         75050028344
22881564241245   DEBORAH      DORSCH                    PA         51030235642
22881767985938   ADRIANA      GUTIERREZ                 KY         90014807679
22881878847952   NORMAN       TATE                      AR         90014788788
22882158281661   LYDIA        WAGNER                    MO         90014711582
22882318591522   YEHILA       VILLA                     TX         75068083185
22883449291251   LONON        LEON                      GA         90011094492
22884161651369   JULIO        CRISTOBAL                 OH         66004621616
22888382955936   DUANE        VRYHOF                    CA         90003593829
22889269891241   TAMASHA      GREEN                     SC         14516462698
22891524691828   ANABEL       CHAVEZ                    OK         21054295246
22891648881661   CARMEN       KENNEDY                   MO         90012886488
22892221991522   CYNTHIA      VASQUEZ                   TX         75089432219
22894456884364   JULIA        HENDRIX                   SC         19085644568
22894725461979   JOSE         ORTEGA                    CA         46007967254
22895548251369   SIMONE       KELSEY                    OH         90013725482
22896995685938   NAPOLEON     AYODELE                   KY         90014809956
22897745547952   BOBBY        MANNING                   AR         90013947455
22899493341245   SUZANNE      OWES                      PA         90010534933
22911684684364   SHAVON       HEYWARD                   SC         90014066846
22912738191541   AMNER        SANCHEZ                   TX         75050027381
22912832231631   JASON        MITCHEL                   KS         90008818322
22913916843551   TINA         BUTTARS                   UT         90013449168
22916479941245   IONA         LOFTON                    PA         51046014799
22916947491528   VIGINIA      TERRAZAS                  TX         90006529474
22918566991241   TREVOR       BOWERS                    GA         90014925669
22918968255957   JUANISHA     JONES                     CA         90013329682
22919899985938   JOHNNY       JOHNSON                   KY         90015238999
22922585491541   DAISY        BENCOMO                   TX         90013475854
22926485933636   FRANCISCO    CORTES                    NC         90006174859
22926767147952   SHENEL       WASHINGTON                AR         90012387671
22927589331631   MELISSA      SLATES                    KS         90010775893
22928671881637   AUTUMN       CURRIE                    MO         90011816718
22929473181637   STEVE        BRIDGES                   MO         29000814731
22929488191828   PATRICIA     PEOPLES                   OK         21084564881
22929681531453   RAMON        DODDS                     MO         27559646815
22933322851333   DANIELLE     CLARK                     OH         90008203228
22933785391241   JENNY        DONNELL                   GA         90014227853
22933822691541   JUAN         ORDAZ                     TX         90012628226
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22937191191522   MAYRA          CANO                    TX         75022301911
22937583881661   MATTHEW        CHOAT                   MO         90015465838
22937642131631   SANDRA         DAVIS                   KS         22007006421
22939544393773   CHRISTA        JONES                   OH         64539805443
22941258691541   REYNA          RAMIREZ                 TX         90014772586
22942527191541   KEILA          TOVAR                   TX         75010465271
22942714491828   NATISHA        TUCKER                  OK         21005027144
22943576485998   SHEENA         TERRELL                 KY         90009755764
22944365143523   CODY           PETERSEN                UT         90012073651
22945878191542   ARMANDO        CARILLO                 TX         90011028781
22946845591828   KENT           RIFE                    OK         21089538455
22948498431441   ROSANDA        MITCHELL                MO         90014744984
22949184384364   GALDINO        LEON                    SC         19072261843
22949343585938   LUCIANO        JACOME                  KY         90009683435
22949416955957   MIGUEL ANGEL   JUAREZ                  CA         90006884169
22951227481661   CHRISTINA      SAMPEL                  KS         90013602274
22954573681661   JASON          PEREZ                   MO         90014175736
22955225681661   MONTEL         WALKER                  MO         90003472256
22955333147952   ELIGIO         GARCIA                  AR         24014873331
22955631331453   NICOLE         TATE                    MO         90001576313
22956343351369   SAMUEL         MILLER                  OH         90003353433
22959431155957   EFRAIN         LEDESMA                 CA         48052604311
22962622991828   CHRISTOPHER    LEE                     OK         90009176229
22963943731453   HAROON         A-RASHID                MO         90007789437
22964596591828   SHELDON        SHATSWELL               OK         90012305965
22965742271681   MONICA         DAVIS                   NY         90015147422
22967735557133   ANDREW         JOHNSON                 VA         81084467355
22968394291241   MICHAEL        COAXUM                  GA         14594853942
22968418147952   CYLINDA        MERRILL                 AR         24043954181
22969379591541   ADRIAN         GRADO                   TX         90013573795
22972162291522   LUIS           ROJAS                   TX         75091301622
22973257291522   IRVING         GONZALEZ                TX         90002242572
22973728731453   KATHALEEN      SHAW                    MO         90005587287
22975369181638   MIKE           HARRELL                 MO         29040783691
22977548491522   GARY           GANDARA                 TX         75022245484
22977992851369   MARIE          MCDAY                   OH         66026039928
22978344841248   THOMAS         BURCH JR                PA         90012603448
22981419491541   MARIA          CARRASCO                NM         75087254194
22982132481637   KRIS           FABELA                  MO         29007251324
22982321131453   CHIFFON        WILSON                  MO         27575693211
22982431491522   CECILIA        MALDONADO               TX         90004164314
22982558131497   DAWN           VOELKER                 MO         90007825581
22983268831453   DANITA         GIBSON                  MO         90007622688
22988373891522   GOMEZ          VERONICA                TX         75089433738
22989511785938   AMY            DAVIDSON                KY         90014815117
22991352891241   ANGELA         WASHINGTON              GA         90014133528
22991767355957   KIM            ACEVEDO                 CA         90013047673
22992556451369   RONALD         SCHROEDER               OH         66048925564
22993598191522   LUPE           CORTEZ                  TX         75000875981
22993682261967   MARY           PASHBY                  CA         90006536822
22994379255957   JOSEPH         OJEDA                   CA         90001153792
22994751591522   MARISOL        CASTANEDA               TX         90002287515
22996666861921   SAAD           JABO                    CA         46017416668
22998174191522   IVONNE         SANCHEZ                 NM         75077831741
22998744847952   MALINDA        ALSTON                  AR         90007407448
23111244572447   PAUL           WINGATE SR              PA         51022822445
23112444797992   JUANICE        JONES                   TX         71090984447
23113329391522   DIANA          RAMOS                   TX         90001433293
23114366891828   KALEB          HOLDMAN                 OK         21009943668
23115849372447   KAREN          BURNSWORTH              PA         51049348493
23116449951369   ANGEL          OLIVER                  OH         90005834499
23117826641285   CHRISTY        SCHWEIGER               PA         51089038266
23119166291522   CYNTHIA        PARKS                   TX         75065761662
23123455785938   VANESSA        SPICER                  KY         67081614557
23123849331631   MICHAEL        KETCHUM                 KS         90009838493
23124337893773   KRIS           KOLLMEYER               OH         90005683378
23124866155957   JOSE           DURAN                   CA         90006588661
23124888757188   JERRY          LARNOR                  VA         90008178887
23126569391541   NOE            SORIA                   TX         90013345693
23127211484364   TRACY          ZOBEL                   SC         90010092114
23127385331453   JOHN           EVANS                   MO         90013743853
23127928991522   CYNTHIA        TERAN                   TX         90008979289
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23131764191828   TIMOTHY      SPARKS                    OK         90013477641
23135781455957   CATHARINA    FERGUSON                  CA         48095527814
23137737831453   SANDRA       KRAUSZ                    MO         90011307378
23138139591541   RAY          GRANADO                   TX         75066351395
23139451391541   ESPINOZA     SUSANA                    TX         90006314513
23139879491528   BRYAN        ESCAJEDA                  TX         75093208794
23141854985998   JOANNA       CORKWELL                  KY         66009688549
23151238291522   PABLO        MENDES                    NM         90000112382
23151924841245   DIANE        JACKSON                   PA         90008599248
23152121985938   RONALD       WALKER                    KY         67022571219
23153677855957   GUADALUPE    CASTILLO                  CA         90012726778
23154698785998   CRYSTAL      CLEMONS                   KY         90013446987
23154967391541   ISMAEL       IBARRA                    TX         75051969673
23155216891541   BERENICE     NAJERA                    TX         90014912168
23155835991828   TRACY        PARKER                    OK         90009558359
23156724561997   JOSE         GONZALEZ                  CA         46015717245
23156966285639   MARGARITA    LOPEZ                     NJ         90006539662
23157536491959   CAROLYN      SINGLETARY                NC         90012665364
23158574931453   QUINTON      BROWN                     MO         90014715749
23161765591828   JOSEPH       DAWSON                    OK         21068557655
23161842691528   IRMA         FLORES                    TX         90010348426
23163466391541   SERGIO       RUIZ                      TX         90014764663
23163795755957   IVAN         ECHAVARRIA                CA         90013717957
23165448491541   KASSANFRA    DIAZ                      TX         90013654484
23166649272447   BRAIN        LARUE                     PA         51002746492
23166879191522   NOVA         PENA                      TX         90001118791
23167289631631   TERESA       GONZALEZ                  KS         90013852896
23167756291541   FRANCISCO    RODRIGUEZ                 TX         75097077562
23168223772447   KRISTA       UPTEGRAPH                 PA         90013942237
23169755185938   RAUL         TORRES                    KY         67011697551
23171122931453   SHANE        CROSSNO                   MO         90009891229
23171465341245   MELINDA      WILCOX                    PA         90008604653
23171688472456   CARLA        ALDRICH                   PA         90007586884
23173187272447   NICOLE       KLUGH                     PA         90002311872
23174512451325   JAMES        FRANCIS                   OH         66020405124
23175169461931   ROSARIO      YILMAZ                    CA         90012511694
23179225191522   AURORA       FLORES                    TX         75017572251
23182474991541   BETTY        GUERRA                    TX         75028684749
23183864591541   MANUEL       BAEZA                     TX         75075808645
23185924931453   JAREL        WILLIAMS                  MO         90013529249
23186422891541   JEANETTE     JUDY                      TX         90003974228
23187467591541   VANESSA      BAILON                    TX         90009774675
23187667861982   PERRY        HUDGIES                   CA         90008726678
23187915331433   CRYSTAL      DELEE                     MO         90009569153
23188219491828   MARCIA       MASON                     OK         90012582194
23189932861989   CATHY        YAMASHIRO                 CA         90012639328
23193499691828   JOSHUA       STANLEY                   OK         21040774996
23193718141245   ANASTASIYA   LEVANDOSKY                PA         90014157181
23194325291541   ROMERO       ANTONIO                   TX         75097083252
23194597831453   LAWRENCE     COLEMAN                   MO         90005835978
23195466391828   ASHLEY       EVANS                     OK         90009114663
23196126272447   LEA          SLUSAR                    PA         90010621262
23196797291541   DONOVAN      JACKSON                   TX         90013007972
23197569681637   DIANNA       RIDINGER                  MO         90012415696
23199186784364   JOHN         BRITTON                   SC         19039431867
23199334485999   JAMES        KIPP                      KY         66060643344
23199918791541   JESUS        RAMOS                     TX         90009279187
23212382791522   MARIA        LUPERCIO                  TX         90009923827
23212742741245   SARAH        ROSS                      PA         51006987427
23213262291522   VICTOR       ARREOLA                   TX         90014942622
23213632484364   ROBERT       BEASLEY                   SC         90011696324
23214487155957   TINO         QUIR                      CA         90009744871
23215623661963   ROBERT       REYNOLODS                 CA         90007156236
23215639761932   CHRIS        FUNTALL                   CA         46065856397
23216169691522   GARCIA       TANYA                     TX         90010861696
23216246551366   JAMES        CORSO                     OH         90011672465
23216549155957   APRIL        COLOCADO                  CA         90007385491
23216553672447   CHERYL       WILLIAMS                  PA         51042655536
23217472891541   BRYAN        CAMACHO                   TX         75097794728
23217984172447   NYJEWEL      CARTER                    PA         90014759841
23218148655957   ALEX         REYNOSO                   CA         48024511486
23219244172447   PHIL         JACKSON                   PA         51092632441
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23219329881646   SAIMA        NADEEM                    MO         90010593298
23222195591828   MARQUA       JOHNSON                   OK         90011321955
23222822291522   IRMA         RUBIO-CAZAREZ             TX         90013538222
23224492997121   FELIPE       ARELLANO                  OR         90011154929
23226915855957   ADRIANA      DURAN                     CA         90010369158
23235739991541   RICHARD      DAVIS                     TX         90013397399
23238325793773   JASSMINE     MONGOMERY                 OH         90005703257
23238367555957   PHYLICIA     ATTLES                    CA         48016083675
23239714155957   DIANA        BOONE                     CA         48066487141
23241215391241   LEYBER       SUCHIAPA                  GA         90009192153
23241516591828   MICHELLE     WALLACE                   OK         90013315165
23241766272447   SUNNI        STEDRAK                   PA         90010087662
23242334491828   JAMES        INGLETT                   OK         21085883344
23243178531631   JOSH         STRICKLAND                KS         90000351785
23243419551369   BRITTNAY     STROTHER                  OH         90001264195
23244352591522   ELIZABETH    DE LA TORRE               TX         75002703525
23247363972447   STEVE        LYNCH                     PA         90007713639
23248892491541   ALICIA       SANCHEZ                   TX         90011208924
23249275631453   GREGORY      ACHE                      MO         27558192756
23249857931631   BRIAN        GLENN                     KS         90014118579
23251431191541   SERGIO       ROJAS                     TX         75072324311
23253478393773   SCOTT        STOLL                     OH         90005704783
23253573231453   BELINDA      SUMMERS                   MO         90000675732
23254769941245   JOES         STEVEN                    PA         90014157699
23255566184344   DAMION       KING                      SC         90005315661
23255697757531   EZEQUIEL     CARRILLO                  NM         90012616977
23255759931631   TINA FAYE    HOOVER                    KS         90014767599
23256591651369   GHANA        NEOPANEY                  OH         66000015916
23257452841245   SHAWN        ZUGAI                     PA         51038704528
23257465181661   MARIA        DE JESUS                  MO         29078124651
23263758931433   TAMMY        STANLEY                   MO         27588917589
23264831331453   JAMES        MCMULLIN                  MO         90012168313
23266412891828   CIN          TUNG                      OK         90014684128
23267876531453   REGINALD     GRIFFIN                   MO         90005268765
23268747991828   CARLOS       JUAREZ                    OK         90008457479
23269891891522   LORENA       GONZALES                  TX         75047728918
23271677791528   CONSTANCE    CORBETT                   TX         75093246777
23272652855957   MARCOS       CABALLERO                 CA         90010656528
23272653272447   ELISE        DWOREK                    PA         51054656532
23275966431433   DAVID        DOWNING                   MO         90004239664
23277224131453   NICOLE       HACKING                   MO         27505052241
23277326672447   MISHELLE     PELICONE                  PA         90012463266
23278916455957   MICHAEL      MADRID                    CA         90015579164
23278999955957   GLORIA       ALVAREZ                   CA         90000289999
23281692631631   PATIENCE     THOMAS                    KS         90012496926
23285263591522   GABRIEL      GARCIA                    TX         90014142635
23285322891541   TIFFANY      BURCIAGA                  TX         75043593228
23286539891541   DION         BENITEZ                   TX         90010525398
23286923971958   EDWARD       PARRIS                    CO         90006409239
23287429491522   CANDY        MENA                      TX         90015124294
23287773371923   MARY         PRUETZ                    CO         32060017733
23292195761558   IMARHIA      GAINES                    TN         90011951957
23292362184364   CHUNTE       GREEN                     SC         90011703621
23293377941245   RONDELL      WILLIAMS                  PA         90011923779
23294337991243   CONNIE       HODGE                     GA         90003063379
23296179547952   SUSAN        DIXON                     AR         24020121795
23298153291241   EMILIO       LOPEZ GONZALEZ            GA         90003331532
23298889391522   JESUS        CRUZ                      TX         75067658893
23299117355957   MARIA        MENDOZA                   CA         90007251173
23299725641245   SHELBY       DURNELL                   PA         90012567256
23299836893773   SASHA        GARVIN                    OH         90010998368
23311597391541   JUAN         CORREA                    NM         75071705973
23311996431433   MIRZETA      LUKAC                     MO         90004239964
23318154391541   JESSICA      LARA                      TX         75068731543
23319137785639   GLORIA       RUIZ                      NJ         90012951377
23319432191828   FARMAN       DURANI                    OK         90003084321
23321291147952   CORLISS      BUTLER                    AR         24015352911
23322327584364   VIVIAN       ELMORD                    SC         19088563275
23323687255941   JASON        LEE                       CA         90006536872
23325347751346   DOUGLAS      PORTER                    OH         90007643477
23328263291528   RUTH         REYES                     TX         75093262632
23328443891541   DEYDRA       LUNA                      TX         90014444438
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23329568591528   APRIL           REYES                  TX         75002175685
23332343191541   ROSA            VELEZ                  TX         90000513431
23333719784364   BRITTANY        CARLSON                SC         19040067197
23333986585998   TRIBBLE         ANN                    KY         90014249865
23334518691541   RAUL            GUERRERO               TX         90014815186
23335631941245   ASHLEY          PITTS                  PA         90009886319
23341475341245   EBONY           GRACE                  PA         51092304753
23342634131631   FRANK           WITT                   KS         90015136341
23342874891522   GLORIA          ESPINOZA               TX         90008518748
23343326431631   KATHRYN         WOFFORD                KS         90014883264
23344291191542   RAMIREZ         DAVID                  TX         75009292911
23344331685938   CAROLINE        BROWN                  KY         90002873316
23344812151325   PAPA            DIA                    OH         66097708121
23345368491541   ERIKA           CORDERO                TX         90000923684
23346652791828   WARFORD         LOGAN                  OK         21075846527
23348245291541   JESUS           POLANCO                TX         90009382452
23351174747952   CELIA           FLORES                 AR         24072821747
23351835391828   LEYDIANA        GARCIA                 OK         90011618353
23352261993773   PATRICIA        ORRENDER               OH         64538982619
23352924191541   IRMA            HERRERA                TX         90010249241
23353982781668   JANET           MCLAUGHLIN             MO         90000929827
23355274531433   JEFF            EVERETT                MO         90007152745
23356914755957   JOSE            RUIZ                   CA         90010649147
23358595531453   KARL            HOWARD                 MO         90011025955
23361234631453   JERAMEKA        BELL                   MO         27575142346
23362747241245   ERIC            KNOX                   PA         51072657472
23363949985938   WARREN          MOORE                  KY         67020829499
23366568391541   MARIA           GUTIERREZ              TX         90014655683
23366772155957   ATHENA          GARCIA                 CA         48070507721
23368559285938   LISA            JOHNSON                KY         67006505592
23371798291547   CARLOS          VILLALOBOS             TX         90001507982
23373833791541   DEBORAH         ELLIOTT                TX         90014558337
23374316191528   PATRICIA        MACIAS                 TX         75017063161
23375584791541   REYNA           COMPEAN                TX         90004915847
23375663851326   STEVEN          BLANTON                OH         90009736638
23375977191828   DARIOUS         DAWAYNE                OK         90013619771
23378515391541   HECTOR          PROSPERO               TX         90014745153
23381623591541   YSELA           MUNOZ                  TX         90010436235
23381822341245   JANET           ANDERSON               PA         90012418223
23381993985938   TERESA          COTTON                 KY         90001769939
23383121455957   JUANA           PARTIDA                CA         48012181214
23383161561932   MARIA DOLORES   BUENO                  CA         90014401615
23383549472447   CHRISTOPHER     SNELLGROVE             PA         90013945494
23385248391541   NANCY           DADILA                 TX         90012612483
23385492884364   JHANESS         DIXON                  SC         19023804928
23385738855957   MARK            WALKER                 CA         48073537388
23385924184364   SADE            SMALL                  SC         90013909241
23396879885847   JAMES           GOODALE                CA         90012668798
23397992971341   IRASEMA         SABAIZ                 TX         76514849929
23399574284364   LEONEL          GUTIERREZ              SC         90001915742
23411881531453   TIFANI          HOLIDAY                MO         90014488815
23411919791541   ELLOA           PEREZ                  NM         75016559197
23411971284364   DARA            ROTH                   SC         90012049712
23413269291323   ALDO            PEREZ                  KS         90008872692
23417159731453   MAC             PAYNE                  MO         90010321597
23417186247952   ANN             STOUT                  AR         90009861862
23423545155957   LORRIE          BLANKS                 CA         90014445451
23424228355957   GLORIA          MORENO                 CA         90013922283
23427576791541   YOLANDA         SIMENTAL               TX         90002145767
23429778977393   YVONNE          JOHNSON                 IL        90010167789
23431472491541   ASHLEY          TORRES                 NM         90011524724
23432822341245   JANET           ANDERSON               PA         90012418223
23432941251369   ANTHONY         TAYLOR                 OH         66023479412
23434115755989   CHRISTINA       SOTO                   CA         90001251157
23435296191241   PAYGO           IVR ACTIVATION         GA         90010962961
23435363641245   JOHN            DOLENO                 PA         90014173636
23435448672447   MICHAEL         BRELL                  PA         51035094486
23436231391522   SAMANTHA        GRAY                   TX         90011872313
23443261191541   ANA             CASTILLO               TX         90001212611
23446375991828   JAMES           FRANKLIN               OK         21036273759
23447112841245   KEVIN           PERRY                  PA         51096791128
23448278155957   ENRIQUE         CERVANTES              CA         48092172781
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23449721355957   JUDITH       FLETCHER                  CA         48085647213
23451341585938   CHRIS        MANNING                   KY         90013653415
23451565481661   HEAVEN       TAYLOR                    MO         29010495654
23451571261996   PRIER        SCOTT                     CA         46010085712
23451777672447   BRADLY       WALSH                     PA         90012037776
23452386291241   HEIDI        CELESTIN                  GA         90011083862
23453714955957   TOBIAS       OLOUGHLIN                 CA         48000937149
23455758531631   ERIKA        FLOWERS                   KS         90010027585
23457184691528   MELINDA      RAMIREZ                   TX         75093311846
23457692155957   JOHNNY       VALADEZ                   CA         90008416921
23458976755957   BRANDON      FURTADO                   CA         90003509767
23459594891541   RICHI        CAMPOS                    TX         90014885948
23461572791541   LAURA        GUTIERREZ                 TX         90012345727
23461926455957   KATHLEEN     CARNEY                    CA         90012789264
23464176231631   TREVOR       BAKER                     KS         22076411762
23464292155957   LINDA        MORALES                   CA         48093762921
23464966891241   ASIANNA      GRANT                     GA         90011039668
23465172785938   JEFFREY      HOOD                      KY         90007751727
23465855571932   BEN          ROMERO LLL                CO         90012878555
23466417991828   JUSTIN       PAUL                      OK         90013324179
23467731691241   MONICA       WILSON                    GA         90008957316
23467756455957   VICTOR       PUGA                      CA         90013927564
23472792341245   STEVE        FEKETY                    PA         51086507923
23472871191522   IGNACIA      BEJARANO                  TX         90007608711
23476639631433   JODI         WEBER                     MO         27513636396
23477169931433   AQUINDA      SCOTT                     MO         90004241699
23481281185938   ROBERT       STOUDT                    KY         67007002811
23481943251325   LILLIAN      CROOK                     OH         90009309432
23483335472447   SHARICE      WALKER                    PA         90012253354
23484795381644   NOE          TORRES-CALZADILLA         MO         90011667953
23485726557172   CLOTILDE     FLORES                    VA         90009917265
23486594831631   MICHAEL      TYSON SR                  KS         22019465948
23492945431453   COURTNEY     BOGAN                     MO         27595319454
23494457555957   LESETT       OCHOA                     CA         90010124575
23497141391541   IGNACIO      ULLOA                     TX         90013321413
23497468277534   JUAN         BARRERA                   NV         90012374682
23498584991828   SHAMIKA      GREEN                     OK         90004855849
23511558872447   PAYGO        IVR ACTIVATION            PA         90013705588
23512348591522   JESUS        RAMOS                     TX         90013463485
23513744491522   ROBERT       WIGGINS                   TX         90005377444
23514548931631   CAMERON      CARTER                    KS         90015555489
23515985191528   CRUZ         MARQUEZ                   TX         90000439851
23516619272447   ALYSSA       DANCA                     PA         90003936192
23519879355957   BETSABE      FIGUEROA                  CA         90012488793
23522154141245   DEBRA        STANTON                   PA         90011091541
23524791285938   ISIDRO       DE LA TORRE-LOPEZ         KY         67000627912
23525757233631   CRYSTAL      GRAVES                    NC         90012447572
23525788931631   BECKY        SAINTCALIR                KS         90012367889
23527256291828   HUNTER       NULL                      OK         90015192562
23527959191828   NOE          CORDOVA                   OK         21044499591
23528175677576   JOSEFINA     CARABBACAN                NV         43090901756
23529369941245   KATHY        MONTLABANO                PA         90014003699
23531416254185   TREVACCA     WINTERS                   OR         90008744162
23531964655957   SETH         COPELAND                  CA         90014409646
23532642947952   KATHY        RODRIGUEZ                 AR         24012376429
23535264531453   ERNEST       WALKER                    MO         90013992645
23538884391828   AMANDA       SANCHEZ                   OK         90001018843
23538983731453   KIM          FERREE                    MO         90005059837
23541135791522   JESUS        TORRES                    TX         75045321357
23541432131433   CHAD         KEUTILE                   MO         90003694321
23541444991541   RUBY         AVILA                     NM         90009944449
23542943131433   CHRISTINE    SCHONE                    MO         27577229431
23543236491525   RAY          HOLGUIN                   TX         75092432364
23544379193753   TONI         PENEWIT                   OH         64507993791
23545866831453   BERNADETTE   OUSLEY                    MO         90014838668
23545874531631   SAVANAH      SCHWARTZ                  KS         90013278745
23546779255957   JULIO        ZUNIGA                    CA         90015087792
23546976191522   GRACIELA     HERSILLO                  TX         75087159761
23549842491542   LILIAN       GONZALES                  TX         75043488424
23552121372447   EZRA         BRIGGS                    PA         51057981213
23553437191828   TINA         MORROW                    OK         90010124371
23556644691828   BLANCA       SANDOVAL                  OK         90008736446
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23558768841245   BARBARA       GAMRAT                   PA         51007187688
23562656991541   ERNIE         DIAZ                     TX         75083186569
23564562591541   STEPHANIE     HERNADEZ                 TX         90013105625
23565514747844   ALVIRA        BROWN                    GA         90006635147
23565594591522   SARAH         ROMERO                   TX         90014885945
23566654791541   THEODORE      NATION                   TX         75086486547
23566779231453   TOWONNA       ROBINSON                 MO         27582097792
23568748755957   SERGIO        ARROYO                   CA         90014847487
23573646291541   VICTOR        ALBA                     TX         90005376462
23573647991828   RITA          MORA                     OK         90014726479
23574478391541   JOSEFINA      VILLELA                  TX         90013064783
23578758931453   BUKATT        FOREVER                  MO         90011337589
23582711755957   JENNY         ROMAN                    CA         90013527117
23583393833677   BRIAN         SMITH                    NC         90000683938
23584928984342   TONY          BARRIOS                  SC         90014339289
23585459972447   ANGEL         REYES                    PA         90007784599
23585542591241   KEVIN         GARVIN                   GA         90011305425
23587895855957   NDIA          SEBRENOS                 CA         90013038958
23588929391522   ALEJANDRO     GARCIA                   TX         75002699293
23591318991828   TYLER         MASTIN                   OK         90011163189
23592121641245   STEVEN        JAMES                    PA         90014161216
23592514531453   GINGER        TRAVIS                   MO         27559595145
23593535155957   ROBERT        AVILA                    CA         48061005351
23593673731631   LUCIA         HERNANDEZ                KS         90012426737
23595232391522   ANDREA        SANDOVAL                 TX         90011872323
23596856555957   JESUS         PUGA                     CA         90000618565
23597436641245   SHAWNDA       MAHAFFEY                 PA         90002794366
23597772991959   MONIQUE       DOLBERRY                 NC         90011607729
23598974791528   ESPARZA       SOCORRO                  TX         90009599747
23599529331631   ROCHELLE      LESTER                   KS         22042085293
23599871191522   MONICA        CARRILLO                 TX         75047028711
23611772655957   JESSICA       AVALOS                   CA         48080237726
23611912291828   MELISSA       WILLIAMS                 OK         90013169122
23612153391828   ANTONE        RUDOLPHO                 OK         90011791533
23612645655957   MARIA         CRUZ                     CA         48095076456
23613396691541   KARLA         CHAVEZ                   TX         90008763966
23614496285938   RACHEL        CLARK                    KY         67009964962
23614863231631   HECTOR        BERUMEN                  KS         90009088632
23615344777371   BRIAN         DAVIS                     IL        90011833447
23615597791522   MICHAEL       LEE                      TX         75045315977
23615946391828   KAREN         BRYANT                   OK         90011389463
23617169491828   JAY           WEIBEL                   OK         90010911694
23617325247952   CHESTER       STARR                    AR         24083153252
23617779255957   JULIO         ZUNIGA                   CA         90015087792
23617838891241   RASHEDA       COMEY                    GA         90011508388
23618574191241   MOLICA        LEGREE                   GA         90008855741
23618878141245   TAMMI         DICK                     PA         51027708781
23621319191522   JOSE ANDRES   CASTILLO                 TX         90013873191
23621981991828   PHILLIP       STEWART II               OK         90009369819
23622332693727   CINDY         RAMSDAIL                 OH         90012713326
23622451631631   JENNIFER      CATRON                   KS         22091584516
23622573891541   MARISSELA     RAMOS                    TX         90010025738
23627112691828   SHANNON       WHITWORTH                OK         90010731126
23627871331453   MOLLY N       MONA                     MO         90011508713
23634186551369   GLENN         HARDESTY                 OH         90003231865
23634244355957   ROSA          CORIA                    CA         90005362443
23635311391522   MYRNA         CABALLERO                TX         75098903113
23636181491528   NOEMI         LOPEZ                    TX         90014901814
23636319481644   MARICELLA     PIZANO                   MO         90010093194
23637432372447   WILLIAM       KENNEDY III              PA         90012674323
23638221491585   ARACELI       FLORES                   TX         90011032214
23638743131631   JUSTIN        RORABAUGH                KS         22068237431
23642845491541   MARIO         TREVIZO                  TX         75016438454
23643432341245   JOHN          PHIRI                    PA         51024754323
23645246991522   DIANA         YANEZ                    NM         75003722469
23646721991522   MARIA         GALINDO                  TX         90004207219
23649218991589   GUSTAVO       ORTA                     TX         90003052189
23649362972447   AMANDA        BOWEN                    PA         90011623629
23652218491528   HUMBERTO      AGUIRRE                  TX         90005972184
23652441255957   JUAN          HUERTA                   CA         90013624412
23652823393742   TIFFANY       ALI-SHAW                 OH         90011718233
23653241691241   BROWN         MAE ALICE                GA         90003832416
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23655878391828   CANDY            BIRKHEAD              OK         90008088783
23658284493773   MARIA            LUNA-RASCON           OH         90005842844
23659873384364   LAWRENCE         TAYLOR                SC         90009088733
23661293193773   ASHLEY           GRANT                 OH         90005842931
23661337972447   MARCELLA         MRVAN                 PA         90014663379
23662322391541   ROSEMARY         NILO                  TX         90002513223
23662715833691   BRITTNEY         LITTLE                NC         90014917158
23665172891241   CHRIS            HARGROVE              GA         90010671728
23665575191828   VICTOR           ZABALA                OK         90010745751
23665774391528   IRVING           ROCHA                 TX         90012727743
23665992791522   CLAUDIA          DIAZ                  TX         90014909927
23667768491541   ALMA             MARTINEZ              TX         75035337684
23668735885938   ELIZABETH        OCONNELL              KY         90006997358
23672265955957   STACY            RENTERIA              CA         48079282659
23672355591541   DAVID            REICHLEY              TX         90015063555
23673981491522   JOSE             VAZQUEZ               TX         90012499814
23675917491952   ROBYN            MILLER                NC         90012409174
23677282791541   ARCELIA          HERNANDEZ             TX         90007992827
23677855191828   JON LUCAS        CARRILLO              OK         90014788551
23678414331453   HAWES            TIMOTHY               MO         27559584143
23678456191541   MONIQUE          HOLGUIN               TX         75035334561
23681322993724   SHACYTYRA        CHANNELS              OH         90012823229
23683518281661   ROBERT           HAGGET                MO         90006995182
23684295131453   CODY             CRAWFORD              MO         90015032951
23684646531453   ELIZABETH        COLEMAN               MO         90010236465
23684717191541   YARIXSA          AISPURO               TX         75087357171
23685163891541   DENISE           GARVIN                TX         75026701638
23686491272447   CHRISTOPHE       GEORGE                PA         51031354912
23686866831453   BERNADETTE       OUSLEY                MO         90014838668
23687732191522   SOCORRO          GAMBOA                TX         90006517321
23688184155957   BERNARD          BENSON                CA         90008871841
23691128631453   ASIA             BUTTLER               MO         90010381286
23692147131631   MELLY            RIVAS                 KS         90012671471
23692213372491   NIKKI            MCCARGO               PA         90014612133
23695721431631   RAYMOND          POMPA                 KS         90002117214
23695822231631   ROBIN            HAYS                  KS         90011048222
23697528855957   PATRICIA         HERNANDEZ             CA         48081525288
23712167872447   ALLEN            SMITH                 PA         90005531678
23712472131631   DEANNA           DAVIS                 KS         22093484721
23712478941245   LYNNETTE         LUCAS                 PA         51081904789
23712855747952   JUAN             GARCIA                AR         90005858557
23713722855957   GUADALUPE        SERRANO               CA         90007077228
23713836331453   ANGELA           REED                  MO         90005028363
23715838155957   PEDRO            LARA                  CA         90015548381
23718222761925   LETTICIA         VIDRIO                CA         46024622227
23718585941245   JOYCEANN         ROSE                  PA         51017975859
23719844181661   MICHELLE         NDIAYE                MO         90011888441
23721487791541   ALEX             NAVARRO               TX         90002714877
23721965591522   SYLVIA           GARCIA                TX         90004699655
23723344331631   BOYD             DUCKETT               KS         22006753443
23723547972447   ASHLEY           WALKER                PA         51033465479
23724853555957   ERIC             BEJAR                 CA         90012688535
23727662872447   WILLIAM          BAYLOR                PA         90010026628
23727669951369   ASHLEY           RUCKINGER             OH         90007406699
23727947247826   MARTIZA          PEARSON               GA         90011489472
23729422847952   PATRICK          MAYS                  AR         90005864228
23729752451561   LACEY            MCGRUDER              IA         90014847524
23731893991828   BRANDI           HODGE                 OK         90011918939
23732545941245   RICH             DEPASQUALE            PA         51068465459
23733839633636   CALVIN           JORDAN                NC         90014768396
23736939391828   DAVID            ROSE                  OK         21097449393
23737558241245   SHAUNTAY         BERRY                 PA         90012695582
23737985631453   RACHELLE         MOSS                  MO         90013829856
23741321691541   FABIOLA          CASTILLO              TX         75044873216
23741328991522   MELISSA          HERNANDEZ             TX         90012653289
23741592591828   ROCIO            GONZALES              OK         21077365925
23742547355957   ANGEL DE JESUS   ROBLEZ                CA         90013825473
23742612791828   THATAR           INOSKA                OK         90007036127
23742841391522   RAMON            VILLALOBOS            TX         90014308413
23743122681657   APRIL            SPILLMAN              MO         90001781226
23744499891881   KAYLA            STEWARD               OK         90010984998
23745575891828   NATALIE          GLASS                 OK         21020845758
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23746828891541   SANDOVAL      LOZOYA                   TX         90014308288
23748438591828   MICHELLE      ADAMS                    OK         90014684385
23748699891522   JESUS         MEDINA                   TX         90000196998
23749552191541   MARY          LUEVANO                  TX         75028515521
23751254841245   KELLY L       GILES                    PA         90014162548
23751829891241   ALEJANDRO     BARRERA                  GA         90011078298
23752556341274   SHAYLA        JNKINS                   PA         90011425563
23752581855957   KEVIN         KOCH                     CA         90009625818
23752779691828   BRANDI        CUMINS                   OK         21094717796
23753932355957   KEVIN         BADASCI                  CA         90011569323
23754369891522   CARLTON       BOYD                     TX         75079013698
23754438893727   THOMAS        DONAHUE                  OH         90004534388
23755348791528   MARIA         LOPEZ                    TX         90007443487
23755411255957   MARTHA        SOTO                     CA         90013444112
23755772361963   ABRAHAM       HERNANDEZ                CA         90014987723
23756252491541   MARIANNE      HERNANDEZ                TX         75012102524
23756298831631   ROBERT        HENDERSON                KS         90013432988
23759566255957   BRANDI        PHENNEGER                CA         90012345662
23763242231631   MICHELLE      REYES                    KS         90014742422
23763763331631   DORAL         GWYN                     KS         90014757633
23764115177534   GUADALUPE     CARRILLO                 NV         90010081151
23764221884364   ANDREA        MANDRY                   SC         19044092218
23764764531453   AMIT          KUMAR                    MO         90010337645
23767596891522   CYNTIA        CAZARES                  NM         90001335968
23767794855957   JUAN ANDRES   RAMIREZ                  CA         90013437948
23774786891522   SALVADOR      ANCHONDO                 TX         75076247868
23775624984341   ALLISON       RICE                     SC         90010516249
23775742531453   DUSTIN        AUSTELL                  MO         90007947425
23777849772447   MARY          DUNCAN                   PA         90001588497
23781158155957   CHRISTOPHER   MOORE                    CA         90011111581
23782345291541   MATHEW        FLORES                   TX         75087263452
23785528757144   DINORA        VASQUEZ                  VA         90009255287
23786326872447   JAMES         WEYANDT III              PA         90009933268
23786812741245   HOPE          GAMRET                   PA         90014538127
23789279891522   TANIAS        ST CYR                   TX         90010992798
23792466741245   JANELLA       PARKER                   PA         90014294667
23792983455957   MATTHEW       WEBER                    CA         90004539834
23793112691828   SHANNON       WHITWORTH                OK         90010731126
23793147591541   LYDIA         GONZALEZ                 TX         75035041475
23794525891522   NADIN/RUTH    MARTINEZ                 TX         75023225258
23794573391541   MARCELA       MURGA                    TX         75024485733
23794779941245   JARED         SCOTT                    PA         90012977799
23795349241245   CANDACE       ODONNELL                 PA         90014163492
23795653981657   AZUCENA       OZUNA                    MO         90012006539
23813547591828   LILLIE        FAULK                    OK         21005845475
23813772855957   TAMYRA        KAYAJANIAN               CA         90008157728
23814931541245   TORRIE        ROBINSON                 PA         90009399315
23816347151369   ANTHONY       ELEFANTE                 OH         66045683471
23817267991522   YADIRA        MURGA                    TX         75023432679
23822241391541   ROCIO         VILLALOBOS               TX         75000202413
23822418355957   RENE          RIOS                     CA         90013564183
23823886991522   ALEXA         POMPA                    TX         90007248869
23828877791541   ALONZO        BARAY                    TX         90014318777
23829374541245   JOHAN         DAVIS                    PA         90014163745
23832167391241   OCTAVIA       SMITH                    GA         90005541673
23833451772447   SHIRLEY       BETUSH                   PA         51050174517
23834375481661   KRIS          SEXTON                   MO         90014713754
23834592677541   MARIA         RICO                     NV         90002515926
23837787231453   ANNIE         HUBBARD                  MO         90003397872
23839388893773   KEEA          MELL                     OH         90005863888
23841281955957   NANCY         AMBRC                    CA         90015592819
23841523491522   GISELA        NAJERA-DELONGORIA        TX         90011965234
23842111347946   CHERYL        WILLIAMS                 AR         90013261113
23844985841245   LAMONT        WILLIAMS                 PA         90012849858
23845621531433   SHANNON       PAHLMANN                 MO         90004246215
23845639131631   AMBER         PALMITIER                KS         90012616391
23846622693773   WAYNE         STEVENS                  OH         90005866226
23848571591541   RAUL          ROMERO                   TX         90012235715
23848648325359   JAMES         MILLER                   WA         90013916483
23849441491541   JUAN          VEGA                     TX         90011404414
23856421991522   ERICA         SOTO                     TX         90009624219
23857653955957   GEORGE        CASARES                  CA         90011966539
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23857982791522   RUBY         GUITIERREZ                TX         75084769827
23859187272447   NICOLE       KLUGH                     PA         90002311872
23861378191828   PAUL         FROST                     OK         90012343781
23861526191541   ADRIAN       SOTO                      TX         90010185261
23862226984344   CRISTAL      RAPOSA                    SC         90014832269
23864287891828   NICOLAS      VANUELLOS                 OK         90005202878
23864924391522   ANTONIA      RODRIGUEZ                 TX         90008159243
23866456331453   LAURA        RODEBAUGH                 MO         90000134563
23867159691541   RIVERA       JESS                      TX         90010971596
23867195155957   DAVID        SPEARS                    CA         90013531951
23869199172447   RICHARD      BOOKER                    PA         90013601991
23869281391541   GISSELLE     PAGAN                     TX         90014772813
23869669491828   MARIA        ALFARO                    OK         90011946694
23869859355957   TERESA       YOCKEY                    CA         90010468593
23869874631631   VICI         WRIGHT                    KS         22007108746
23872653691828   PAMELA       COON                      OK         90010166536
23872774791528   YOLANDA      SOSA                      TX         90005977747
23872988272447   DEBORAH      CARTER                    PA         90009949882
23879351131631   LORI         SKAGGS                    KS         22083503511
23881648891828   TIFFANY      LEWIS                     OK         21036986488
23882292631631   HELEN        WILLIAMS                  KS         90014522926
23882664391522   ADOLFO       MORENO                    TX         75088856643
23882924691823   VERONICA     AGUILERA                  OK         90001559246
23883221391828   MONICA       CERVANTES                 OK         90010872213
23883635657531   ALEXANDRA    NUNEZ                     NM         90013986356
23883675431433   JAMIE        KUEHNER                   MO         90004246754
23883769493773   NOVA         SMITH                     OH         90005867694
23892881191522   YESICA       ORTEGA                    TX         90013188811
23893648391522   RODOLFO      FERNANDEZ                 TX         75023556483
23894499431631   JUSTIN       ROURKE                    KS         90001964994
23894883972447   ELIZABETH    BOGGS                     PA         90012698839
23896681663621   ELIZABETH    BLUMER                    MO         27510306816
23896859991522   LETY         VELASQUEZ                 TX         75093738599
23898815991528   SAMANTHA     TORRES                    TX         90005978159
23917118391828   HEATHER      HACKATHORN                OK         90015111183
23918715572447   EMILY        DRUM                      PA         90002957155
23921257151369   CRISTY       PONDER                    OH         66095912571
23924346491828   J            WESLEY                    OK         90012253464
23925245391541   ROBERTO      HERNANDEZ                 TX         75097802453
23926187772447   MINDY        NOVAK                     PA         51075711877
23926541991828   AIVARO       MARTINEZ                  OK         90009325419
23926591291541   JOSE         GUTIERREZ                 TX         75016845912
23928571641245   KATIE        SOBEK                     PA         90014165716
23929328355957   SYLVIA       MENDEZ                    CA         90014753283
23932945672447   ROBIN        PARADY                    PA         51002029456
23937231931433   BRENDA       HURSEY                    MO         27554942319
23938934731631   RANA         AHMAD                     KS         90014499347
23939366755957   OSCAR        BRAVO                     CA         90008413667
23942499531453   GARY         MILLER`                   MO         27587294995
23942656981661   YAKETHIA     BALL                      MO         29010216569
23946495391542   GERARDO      IBARRA                    TX         90011814953
23947245284364   ASHLEY       AYTES                     SC         19094722452
23947269491522   LIZETTE      MARQUEZ                   TX         75059962694
23953364291828   THOMAS       WRINKLE                   OK         90015123642
23956118391828   HEATHER      HACKATHORN                OK         90015111183
23958413791522   SARAH        COOPER                    TX         90014894137
23958534391828   KENNETH      SMILES                    OK         90014885343
23958746355957   HEATHER      DURAN                     CA         90015027463
23958785131453   JODIE        WELLNER                   MO         90014847851
23963429591828   JOE          SHELTON                   OK         90014684295
23965689272447   SHANNON      SWERTZER                  PA         90009046892
23966291672447   NICHOLAS     MCGUIRE                   PA         51075592916
23967666331631   CYLYNDA      MARTINEZ                  KS         90013986663
23971139891541   BRENDA       CARDENAS                  TX         90010851398
23971162991522   ROSA         LOPEZ                     TX         90006651629
23971354791828   STACY        PEEVY                     OK         90012053547
23971721447952   ANNIE        HENDRICKS                 AR         24043707214
23972135591522   ALBERTO      LARES                     TX         75027791355
23972868181657   MACOLE       MAYWEATHER                MO         90001958681
23974262131631   MICHELLE     GIBSON                    KS         90010962621
23975193255957   ANA          TORRES                    CA         90013961932
23976694461982   THEODORE     MASON                     CA         46097506944
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23977116377534   JOHN             HERRERA               NV         90010581163
23977772377534   JOHN             HERRERA               NV         90014127723
23978275261992   JOHN             DUVALL                CA         90002242752
23978349131453   KAY              JAY                   MO         27560293491
23982542931453   JASMINE          STAPLES               MO         90013305429
23985659681646   ANGIE            RICO                  MO         90014716596
23988458591522   HILLEARY         CRUZ                  TX         90011604585
23988611654123   JENNIFER         BELFI                 OR         90011316116
23991293361548   AMANDA           MATTHEWS              KY         90007662933
23994153555957   JOSEPHINA        BANUELOS              CA         48075521535
23994848991522   LARRY            DAWSON                TX         90010638489
23995563155957   NANCY            PHILLIPS              CA         90007525631
23998483631453   TRIXIE           LYNN                  MO         90015474836
24111784691241   ROMELL           MITCHELL              GA         90013747846
24114774591541   LUIS             MEJORADO              TX         75088157745
24114778691953   HONORATO         LECHUGA               NC         90004357786
24114991151369   LEON             MCGEORGE              OH         66058069911
24116942891828   SHANE            CANADY                OK         90010329428
24117574984364   TABETHA          JENKINS               SC         90007465749
24117887931433   JESSE            BARNETT               MO         90001718879
24118126991241   SERGIO           MORENO                GA         90010431269
24118262781687   MICHELLE         BROWN                 MO         29092102627
24119816691241   MARY             NAVA                  GA         90014388166
24121427871935   MICHAEL          ROGERS                CO         90003794278
24122193231453   SCALES           EDWARD                MO         90008421932
24123519191356   CANDACE          JENKINS               KS         90002585191
24123683591959   DJ               Q                     NC         90011476835
24124331891541   NORA             DURAN                 TX         90012733318
24125686391953   JOSE             SANTOS                NC         17038656863
24126319991541   EDGAR            RENTERIA              TX         90012033199
24126544491953   GREYSI           PAZ                   NC         90009045444
24127259631631   IRMA             GRANADOS              KS         90014442596
24127484471935   YULANDER         PEARSON               CO         90012874844
24127676155957   FRANK            JIMENEZ               CA         90010136761
24128533771935   STEVEN           BROWN                 CO         32048275337
24128932231453   DURRAND          SMITH                 MO         90014559322
24131832191356   JOSE ANTONIO     ORTEZ                 KS         90015188321
24131859731453   TENISHA          MCCLENTON             MO         27511438597
24132318131453   ALLEN            GREEN                 MO         27590113181
24132778171935   CHELSEA          TROTTIER              CO         90002607781
24133266991522   JOANNA           ARANDA                TX         75045222669
24134881791528   LAURA VICTORIA   SOROA                 TX         90009918817
24136668184364   ROSALIA          RODRIGUEZ             SC         19012786681
24136673691241   KENNETH          WRIGHT                GA         90009176736
24137178891828   DAVE             BICKLE                OK         21095701788
24137293191541   JIMMY            REVELES               TX         90001822931
24138739531631   KOBE             LAWSON-MOSTELLER      KS         90013487395
24139989191541   ELIZABETH        DEL TORO              TX         75009769891
24141468681644   DAVID            CANSINO               MO         29017674686
24142189491828   JOSICA           BROWN                 OK         90013421894
24142428791541   ARACELI          HERNANDEZ             TX         75058324287
24143441891828   AMPARO           CASTANEDA             OK         90010824418
24143699991831   SHORONDA         WILSON                OK         90012536999
24143933391542   ERIKA            CHAVEZ                TX         90009939333
24144639291241   EFFIE            MIDDLETOM             GA         90014706392
24144981791522   RICHARD          DOMINGUEZ             TX         90009829817
24148243491522   ERNEST           RAMIREZ               TX         75002692434
24148547455957   DEBBIE           RODRIGUEZ             CA         90009365474
24149633281644   KATHLEEN         KIRKHAM               MO         90007546332
24149928384364   MARCELLA         THOMASON              SC         90009549283
24151648591241   BLAKE            KNIGHT                GA         90014706485
24151675271935   BRITTANY         BUTLER                CO         90014306752
24152316771935   JOSE             GONZALEZ              CO         90013913167
24152752391541   ARCELA           LOZANO                TX         75089497523
24154149691541   LUIS             GOMEZ                 TX         75004621496
24154486531453   MARSHA           TRAVIS                MO         27506784865
24156439591953   ACEB             NEGASH                NC         90014214395
24156654271935   RICARDO          JASIEL                CO         90012876542
24161698731631   FELICIA          WOODIN                KS         90013406987
24161724431453   KAYE             PERKINS               MO         90009027244
24162415531453   MARIAH           HALL                  MO         90011444155
24162425331433   LILLIAN          HAWKINS               MO         27541394253
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24164237191541   LUIS         ZEPEDA                    TX         90014752371
24164722241245   KENDALL      KENNDY                    PA         90011807222
24164976331453   KERRY        WILSON                    MO         90013019763
24165731491541   BRISELDA     VARGAS                    TX         75054057314
24166718691522   HERIBERTO    SILVA                     TX         90014317186
24167959555957   ALICIA       GRIJALVA                  CA         90013459595
24169581891522   ANNA         PEREZ                     TX         90014915818
24171859871935   LUZ ELENA    VEGA DOZAL                CO         90010398598
24171932281644   TYIESHA      WILSON-HUNT               MO         90014109322
24172198631453   UNTREL       SMILEY                    MO         90010101986
24172235755957   DAVID        TAFOYA                    CA         90010322357
24172618391522   MARK         RODRIGUEZ                 TX         90013646183
24174451755957   LOUIS        VILLALVA                  CA         90012934517
24175379491356   ADRIANA      GUZMAN                    KS         29024063794
24175534147952   LATOYA       FISHER                    AR         24055885341
24175835531453   RAYMOND      HINES                     MO         27559998355
24176428791241   NATASHA      GREEN                     GA         90011104287
24176686647952   MELINDA      HOLDEN                    AR         90012146866
24177123384364   ROBIN        GIBBS                     SC         90013951233
24177627131453   TIFFANY      MOORE                     MO         90014636271
24178971855957   DAVID        CANTU                     CA         48017919718
24179546631442   DOMINICK     CACIOPP                   MO         27586825466
24179778841245   TYRONE       STAPLES                   PA         51088127788
24179889355957   GUADALUPE    RIVERA                    CA         90014578893
24181819155957   JOSH         DEBRIE                    CA         90008648191
24182454171935   JOE          LAMOUREU                  CO         32077244541
24183141184364   KIMBERLY     CHABOT                    SC         19063501411
24183697471935   ADAM         TRINIDAD                  CO         90012876974
24185669291828   EMMA         PROCTOR                   OK         90013916692
24185698271935   JASMINE      DUNCAN                    CO         90012876982
24185848991828   DARIN        ROLLINS                   OK         90014898489
24187296584364   KHARY        HUTEHINS                  SC         90012572965
24187358141245   JENNIFER     THOMPSON                  PA         90007933581
24188292947952   CYNTHIA      MOORE                     AR         24087632929
24188484871935   DOMINIC      TAFOYA                    CO         90013164848
24189691591828   KRIS         HACKBIRTH                 OK         21068056915
24191688185938   ESTEBAN      VALDES                    KY         90002896881
24191699191541   JOEL         MORENO                    TX         90013596991
24193489257157   ANTHONY      MORALES                   VA         90003074892
24194236591541   ILIANA       MORENO                    TX         90014762365
24194285791953   SHARON       MILLS                     NC         17009912857
24194412955957   CONSUELO     MENDOZA                   CA         48017324129
24194631861932   JORGE        VARGAS-VALENZUELA         CA         90007526318
24195996291828   RACHAEL      WORLEY                    OK         90001959962
24199352685639   FLOR         RODAS                     NJ         90014763526
24211485384364   SHARAE       SCOTT                     SC         90011414853
24213173631631   AMESHIA      MCCULLAR                  KS         90011421736
24214772531453   AMY          MCATEE                    MO         90013357725
24215862391541   VALERIE      ESCAMILLA                 TX         90011168623
24217964991356   KYLE         ALFRED                    KS         90010849649
24218629591522   ROSA         SALAS                     TX         75023296295
24218663771935   NANCY        WOODS                     CO         90012986637
24218961791356   DONG         NGUYEN                    KS         90012299617
24219598171935   ALVINO       SANCHEZ                   CO         32074505981
24222755671935   ALFRED       BANKS                     CO         90012877556
24222879561939   OLAYEMI      SANTOS                    CA         90013828795
24223874691828   ALLYSON      ALDRIDGE                  OK         21059658746
24224932281644   TYIESHA      WILSON-HUNT               MO         90014109322
24225757471935   MOSES        GONZALEZ                  CO         90012877574
24225928431433   JEREMY       ROBERSON                  MO         90011519284
24227115155997   HERIBERTO    MORALES                   CA         90007851151
24227281155957   LEIA         CHIN                      CA         48058702811
24227791331453   MICHAEL      FRANK                     MO         27524227913
24227863791528   OLGA         PENA                      TX         75093628637
24227977391522   NIXON        TRISHA                    TX         75085089773
24228114661974   JULIA        SLEDGE                    CA         90009721146
24228115155997   HERIBERTO    MORALES                   CA         90007851151
24228698491356   DONALD       DIXON                     KS         90015316984
24228726631453   CHERMEKA     WHITLOCK                  MO         90014087266
24229183871935   ALVIE        HENDERSON                 CO         90012941838
24229378891522   CYNTHIA      RODRIGUEZ                 TX         90010843788
24231793391241   JUSTIN       QUAID                     GA         90012637933
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24232886857188   WILLIAM          PINEDA                VA         90005768868
24233765771935   PATRICK          SNODGRASS             CO         90012877657
24233894555957   EDUARDO          PENA                  CA         90006928945
24235191131492   RACHELLE         RICHARDSON            MO         27583961911
24235963531453   BRICE            HAUGHTON              MO         90014799635
24236364191541   MARISELA         HERNANDEZ             TX         90008053641
24238834791828   EMILY            CLAUDIO               OK         90010228347
24239417891541   MARIA            BONILLA               TX         90014094178
24241153691356   LEON             CARTER                KS         29018421536
24242666331631   CYLYNDA          MARTINEZ              KS         90013986663
24244372555957   JESSICA          CORDOVA               CA         90005263725
24244488891953   TANGER           JAMES                 NC         90011974888
24244757151325   DANTE            COLEMAN               OH         90010097571
24248444891953   GRACE            FALCO                 NC         90006124448
24249613491356   BRIAN            FIELDS                KS         90010006134
24251192891522   JUAN             CASTRO                TX         90011411928
24251985371935   NELSON           MONTENEGRO            CO         90008619853
24252696255957   RUBEN            ACOSTA                CA         90014176962
24257139684364   JOSEPH           HOWARD                SC         90009401396
24257718571935   NICHOLAS         STAVE                 CO         90014307185
24258426991241   MARIELA          BICENTE               GA         90014364269
24258747891522   RUBINA           MURTAZA               TX         90014877478
24258989431453   TRUV             J                     MO         90015489894
24259419193767   DAVID            POLLOCK               OH         64514564191
24259771284364   MARK             COOPER                SC         90010307712
24262319891541   SALVADOR         MARQUEZ               TX         75008763198
24263579155923   MARIO            VASQUEZ               CA         90008725791
24264812371935   SHIMIKO          MCNABB                CO         90012878123
24264841591828   LOGAN            WEDDLE                OK         90014128415
24265339891522   OMAR             PEREZ                 TX         90014823398
24266796393753   MELINDA          PRITCHARD             OH         90012407963
24267143491828   MELISSA          WATKINS               OK         90013461434
24267295391241   ANDREW           LARKIN                GA         90013152953
24268145291356   DANIEL           HERNANDEZ             MO         29007061452
24269834241245   GERALD           SINGLETON             PA         90013878342
24271733131631   LORENA           CARTER                KS         90011117331
24271864791828   SAMANTHA         WHEATON               OK         90013388647
24272525191241   JEANETTE         BULLOCK               GA         90012215251
24273649838531   NOVA             CLINE                 UT         90010646498
24275548931453   DON              FRANKLIN              MO         90012885489
24277815971935   NOEMY            COLORADO              CO         90012878159
24277886981644   NELSON RICARDO   GAITAN                MO         90006218869
24277999193753   VALERIE          BLACKWELL-TRUITT      OH         90008869991
24278134991953   ZAHIRUL          SOHAG                 NC         90012791349
24279681281644   PALLET           TREE                  MO         29028786812
24281218781644   JOSE             MANCILLA              MO         90011192187
24282625591522   ITZEL            GOMEZ                 TX         90013646255
24283452491522   ANTONIO          APODACA               TX         90014154524
24284569271935   STEVEN           KRAFT                 CO         32013735692
24285374691953   RUBEN            LESSO                 NC         90009613746
24286519691528   YVONNE           LIRA                  TX         75020305196
24289362977574   AURORA           BOLES                 NV         90001733629
24289586381644   TIFFANY          WILSON                MO         90012355863
24291363484364   MARTIN           RUELAS-ASCECIO        SC         90015173634
24291848371935   AMANDA           TALEY                 CO         90012878483
24292583931453   ALEXIS           PALAZZOLO             MO         90015425839
24292672431631   T NEST           ARECOUN               KS         90013326724
24293627391953   ASHA             GASKINS               NC         90013166273
24293943491828   JAMIE            WALLING               OK         90014289434
24294128291953   TIMMY            HOOKER                NC         90011071282
24294183981644   KELLY            ROBINSON              MO         29072781839
24294848555957   JOSE             ZENDEJAS              CA         90012468485
24295765271935   ROSA             BUSTOS                CO         32066857652
24296281155957   LEIA             CHIN                  CA         48058702811
24298842191828   KAREN            PIACENTI              OK         21027068421
24299219277381   KIMBERLY         GREEN                 IL         20589342192
24299923171935   SHONA            MEDINA                CO         32009889231
24299945881644   JESSICA          ONTIVEROS             MO         90014099458
24311115631453   STEPHANIE        PAPIN                 MO         27581021156
24311618391522   MARK             RODRIGUEZ             TX         90013646183
24312898791522   JORGE            GUEVARA               TX         75062608987
24314735284359   SONYA            STEINMEYER            SC         90013507352
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24315941531453   VERA             BILLINGSLEY           MO         90013839415
24316783751369   LEONOR           GARCIA                OH         90008287837
24317111731453   ARTHUR           ALLEN                 MO         90010321117
24317392281644   ISAIAS           RODRIGUEZ             MO         90013953922
24319362431453   SCOTT            ARNOLD                MO         27560303624
24319518691522   ARIAS            ROXANNE               TX         90008395186
24321661891953   MARSHA           CONWAY                NC         90015306618
24322735281644   BRANDON          BEADLE                MO         90013407352
24323445891953   ELEANOR          SMALL                 NC         90011824458
24324888471935   ROBERT           MATTICE               CO         90012878884
24325138591241   SANDRA           EARLY                 GA         90001611385
24325698841245   CAVACINI         THOMAS                PA         90003706988
24325913791541   MAYRA            MEZA                  TX         90014859137
24326271284364   AQUILLA          PARKER                SC         90014712712
24326647171935   ERIK             KONIG                 CO         32055506471
24328262584364   KEVIN            BERTERAND             SC         90012502625
24331474391547   RIGOBERTO        ENRIQUEZ              TX         90004214743
24332177491953   ERICA            BALDERAS              NC         90013281774
24333993391582   JUAN CARLOS      CUELLAR               TX         90008999933
24334953371935   ROBERT           RIDER                 CO         90014909533
24337429691828   KEVIN            GONZALEZ              OK         90014894296
24337768155957   ILEEN            PARRA                 CA         90001117681
24337855991522   SANDRA           OLIVAREZ              TX         90014598559
24338461991828   MARK             COOPER                OK         90010354619
24339428991541   JULIO            GARCIA                TX         75087374289
24341458941281   ADRIENNE         MURRAY                PA         90011174589
24342433231631   ADAM             MAGNUM                KS         90000944332
24342957971935   WILLIAM          ZERINGUE              CO         90001529579
24343176771923   STEPHANIE        BROWN                 CO         90008311767
24343575391953   QUEEN            GENTRY                NC         90011625753
24345245851561   TRACY            MOORE                 IA         90014912458
24345493325138   RICHARD          BOSWELL               AL         90009714933
24346377391356   ANGELA           GUTIERREZ             KS         90014843773
24348478531631   JUDITH           REISINGER             KS         90014924785
24349146491541   DAVID            PAZ                   TX         90012361464
24349673991241   MICHELLE         HUNTER                GA         14565956739
24351258491828   CARLY            CHISUM                OK         90012322584
24351678555957   DOLORES          LOPEZ                 CA         48069876785
24352196255957   JOSE             MENDOZA               CA         48005581962
24352295954162   ASHLEY           CRESEY                OR         90015282959
24352542984364   JOSHUA           WILKINSON             SC         90012535429
24355895281644   ANGELA           PITTMAN               MO         29033518952
24358319881644   MANDY            WINFREE               MO         29088093198
24359262651369   JACK             BENNETT               OH         66025872626
24359446141245   DAVID            ROBERT ARLOTTA        PA         90010204461
24362864791953   MARTIE           WILLIAMS              NC         90012128647
24363557291953   PORTIA           MCCULLERS             NC         90012735572
24363631891541   ALEX             GONZALEZ              NM         90013556318
24366864991953   ANTOINE          LYONS                 NC         90006828649
24368799857157   JOSE             RUIZ                  VA         90001327998
24368886491522   JESSICA          QUEZADA               TX         90013988864
24369634191541   MARIBEL          SUSTAITA              TX         90013556341
24372982991356   LORENA           ANGUIANO              KS         29086789829
24373896731453   SCOTT            DICKENSON             MO         90013868967
24374295171935   LORENZO          ARCHULETA             CO         32008152951
24375176455957   FRANCISCO        ENRIQUEZ              CA         90010311764
24375197471935   MINERVA          RAYES                 CO         90010331974
24377125691541   MONICA           LUNA                  TX         90008591256
24377537584364   SABRINA          GREEN                 SC         90014705375
24377625491241   TANIESHALA       FUTCH                 GA         14573406254
24379523731453   SEAN             MCCLUSKUY             MO         90014245237
24383447871923   AARON            OMALEY                CO         90009454478
24383575855957   JOSE GUILLERMO   MUNOZ                 CA         90006195758
24384475831433   FLORENCE         HALBERT               MO         27589684758
24385112991828   TAJVANA          WINN                  OK         90013881129
24385439431453   JEANETTE         COX                   MO         90015274394
24386433691522   OA               FINANCIAL             TX         90012064336
24389698991525   LOURDES          IBARRA                TX         75052216989
24391558155957   MELISSA          CLAYTON               CA         90013775581
24392277791241   CHRYSTAL         BROOKS                GA         90014902777
24392548891541   MANUEL           FIGEROA               TX         90005565488
24394443184364   MATIAS           PINTOS                SC         90013924431
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24395947884364   CHRIS         HINDS                    SC         90012979478
24397911691356   JODY          PRICE                    KS         29007119116
24398513771935   LUIS          CARMONA                  CO         90004045137
24398982691356   LUCRETIA      YOUNG                    KS         29011229826
24414723991541   GABRIELA      TREJO                    TX         90012177239
24415315284364   PAUL          HERMAN                   SC         90014793152
24415739891541   GUILLERMIN    RODRIGUEZ                NM         75014697398
24416265591356   JACK          SANFORD                  MO         29063502655
24418755991828   BRENDY        OROZCO                   OK         90013757559
24418768871935   STEPHANIE     DAVIS                    CO         90014307688
24421497991953   CHRISTINE     JONES                    NC         90005464979
24421731691528   DAVID         DELAROSA                 TX         75093707316
24422345291541   MARIA         MARQUEZ                  TX         90012263452
24423157491356   NERY          ULLOA                    KS         90013401574
24423697591953   RAMIRO        RODRIGUEZ                NC         17001546975
24424382172432   SHEILA        HOOVER                   PA         90014153821
24424385841245   GABRIEL       NEGRON                   PA         51029353858
24424455731433   MICHELLE      KENT                     MO         27588294557
24424684331453   KENNETH       SKIPPER                  MO         90011946843
24426977691522   EDUARDO       GONZALEZ                 TX         90006399776
24427929661982   JUSTIN        MYERS                    CA         90001199296
24428186191541   GUSTAVO       RAMIREZ                  TX         90013241861
24428951971935   HOLLY         SMITH                    CO         90012899519
24429231131453   MARGARITA     AINLEY                   MO         90015052311
24431327991953   JOE           POTTS                    NC         90007823279
24432951971935   HOLLY         SMITH                    CO         90012899519
24434321284345   MARQUITA      MYERS                    SC         90013093212
24434646991953   ARTURO        LOPEZ                    NC         90006636469
24435614291541   ADRIANA       SZVETECZ                 TX         90014526142
24438376291953   CAMILLE       PERRY                    NC         90014923762
24438524181644   SERGIO        MELENDEZ                 MO         90013955241
24439242791522   EVELYN        GUZMAN                   TX         90012112427
24439991891953   ERICA         SMITH                    NC         90007549918
24441175731453   DWANYE        CLEMONS                  MO         90015161757
24444365391541   YOLANDA       OLGUIN                   TX         90004863653
24444566484364   ELMA          SIMMONS                  SC         90013385664
24444661891953   MARSHA        CONWAY                   NC         90015306618
24446531991241   JUAN          LOPEZ                    GA         90014015319
24447215931631   KRISTINE      SCHOEMAKER               KS         22091512159
24447618884364   JENNIFER      WOODALL                  SC         90014556188
24448662185646   ELEZAR        MIGUEL                   NJ         85009256621
24448927471924   BARBARAH      TAFOYA                   CO         90011309274
24449422857133   HASINTO       DE PLAN                  VA         90010124228
24452353955957   NORMA         CUEVA                    CA         90012993539
24452471391356   SABRINA       MANNING                  KS         90015554713
24454318291953   ESTHER        BASTARDO                 NC         90010303182
24454778591525   REY           MICHELLE                 TX         90008057785
24455959781644   JACQUELYN     CHAMBERS                 MO         90014109597
24455983671947   BRENNA        ABRAHAM                  CO         90014839836
24456245271935   ADAM          CRUMP                    CO         90013192452
24458813554162   DAVID         DOYLE                    OR         90015478135
24458843571924   GLORIA        SANTISTEVAN              CO         90014448435
24459578891828   CHRIS         REYNOLDS                 OK         90004105788
24461855941245   BRIAN         FLEMING                  PA         90003758559
24462174491828   TRISHA        THOMPSON                 OK         21015391744
24462664181644   DAMARRA       SMITH                    MO         90009936641
24463616591828   COLLEEN       DAVIS                    OK         90012146165
24463994991241   MORRILLA      SIMONS                   GA         90013789949
24465686631453   CANDICE       FENTON                   MO         90011336866
24465829391241   DEBRALEE      COBB                     GA         90014558293
24465993891356   STEVETTE      MCAFEE                   KS         90015079938
24466343191828   ANTHONY       MCINTIRE                 OK         90012763431
24466425491953   GUILLERMINA   CEDENO                   NC         90011484254
24466726991356   CARMEN        TORRES                   KS         29092797269
24467132491356   TASHA         HEARD                    KS         90015561324
24467588693767   MARCUS        STOKAS                   OH         90010035886
24469482484364   MARVA         HAYNES                   SC         19039124824
24471115681644   BRADLEY       DORSEY                   MO         90014881156
24471231647952   CHRISTOPHE    HERNANDEZ                AR         24080292316
24471236141245   BRECK         CRAIG                    PA         51036802361
24471825171935   ALEXANDER     ZEMOJTEL                 CO         32018048251
24472163991241   SANONIA       RUFUS                    GA         90013071639
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24472243191541   JAVIER          BORGARO                TX         90010092431
24473296847952   CASSAUNDRA      ANDREWS                AR         24005752968
24474779561999   KENNETH         RILEY                  CA         90007177795
24475432291828   AMANDA          ROGERS                 OK         90013394322
24475824291241   CHARLES         MOBLEY                 GA         90014708242
24476133391522   LEYRETH         GARCIA                 TX         75048801333
24476171241251   KRISTEN         TRACEY                 PA         90014841712
24477478141281   RICHARD         TEMAN                  PA         90010254781
24479848684364   MARIANA         PEREIRA                SC         19084258486
24481995831631   BOBBY           ROBINSON               KS         90013069958
24482542671935   MATHEW          YOUNG                  CO         90011245426
24484182691541   ADRIAN          ALVARADO               TX         90012271826
24484231591522   DOMINGO         NIEVES                 TX         90011522315
24484233571935   JENNIFER        MATHUES                CO         90012922335
24484351755957   BENJAMIN        CORDEIRO               CA         48005183517
24485296191828   MARILU          CAMINOREAL             OK         90013912961
24485895271935   STEPHANIE       ARELLANO               CO         90014248952
24486815347952   RUSSELL         HUFFSTETLER            AR         90013018153
24487682291522   BEATRIZ         ESPINOZA               TX         90012426822
24488377871935   COREY           PUGLISIS               CO         32014703778
24488613684364   SUSAN           CANNON                 SC         90014596136
24489398391356   DANNY           TORRES                 KS         90011853983
24492665191522   MINERVA         NAJERA                 TX         75060296651
24493819891541   DEBBIE          FLORES                 TX         90009318198
24494821797173   DAVID CALIXTO   PINEDA                 OR         90004688217
24495373591356   SAMANTHA        HOHIMER                KS         29063123735
24496824333658   TEE             GOTTI                  NC         90014768243
24497436631433   JERROD          SCOWDEN                MO         27558704366
24497694557157   FABIANA         VILLALBA               VA         81012186945
24499331531433   RICK            RIEHEMANN              MO         90002313315
24512292491356   DAISY           NOREZ                  KS         90010732924
24513584284364   FRANK           THOMSON                SC         90012945842
24514142691953   RAZAN           AHMED                  NC         90011911426
24515678654162   PAYGO           IVR ACTIVATION         OR         90014646786
24516481291828   PAU             THANG                  OK         90014084812
24517228491953   JAMES           GOULD                  NC         90014592284
24519966591881   SHANNON         DARBY                  OK         90014109665
24522198681644   QUENTIN         BOLLINGER              MO         90006591986
24524472791522   HENRY           ELORDUY                TX         75029594727
24524584284364   KELSEE          SIMPSON                SC         90011265842
24524957155957   JOHN            VALADEZ                CA         90010799571
24525728591828   DMARCO          ADAMS                  OK         90011967285
24526127491241   JORGE           ARIAS                  GA         90011931274
24526391357157   TERTIA          BALDWIN                VA         81092073913
24527154491959   DEVIN           PURCELL                NC         90007991544
24527719341248   LYNETTE         WASHINGTON             PA         90001767193
24528133191522   DAVID           GRANADOS               TX         90013801331
24528531591241   VERNON          GIBSON                 GA         90010765315
24529262181644   SABRINA         DUNCAN                 KS         29012332621
24531334191953   FAUSTO          HERNANDEZ-SALAS        NC         90006023341
24533695691356   LAJUANDA        WILSON                 KS         29007076956
24534487231631   JAMES           GICHURU                KS         90015104872
24534956891241   JAMIL           SINGLETON              GA         90001859568
24535692755957   RUBEN           VALDOVINOS             CA         90006556927
24536477671935   AMANDA          BOONE                  CO         90013864776
24538585341245   ANTHONY         VICKERS                PA         51038655853
24539411291953   NETASHA         HILL                   NC         90001144112
24539511185938   TIMOTHY         TOMPSON                KY         67036515111
24542535284364   NICOLE          HENDERSON              SC         90007335352
24542622241245   DAVID           TATAR                  PA         90010576222
24544531884364   VERNETTA        SUNKINS                SC         90011415318
24544978191534   PAZ             QUINTANA               TX         90010409781
24548572284364   ANTONIA         ALSTON                 SC         90013525722
24548848455957   CARI            MCELNOYL               CA         48033508484
24551934791953   JOSE            AGUILAR                NC         90008049347
24555213691541   JESSI           HERNANDEZ              TX         90012702136
24556125431433   ERIKA           FOX                    MO         27591421254
24556827831631   BARBARA         BANKS                  KS         90013028278
24557173593742   NICOLE          WARREN                 OH         90014791735
24557184471935   NATHAN          HERDLICKIA             CO         90002321844
24557353931453   TARA            WICKS                  MO         90013873539
24557727591828   LARHONDA        TREMBLE                OK         90013827275
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24558785631433   DAVID             BOELHAUF             MO         27591427856
24558932141235   NICHOLAS          YADRICK              PA         90010229321
24559141984364   KYANIA            HOWARD               SC         90014491419
24559797531453   MARCUS            BELL                 MO         90015017975
24559873191953   STEVEN            BECKWITH             NC         90011288731
24561897955997   DAMARIS           MORALES              CA         90000768979
24562862791522   ARACELY           MEJIA                TX         90015218627
24565335355957   MARIA             RAMOS                CA         48006173353
24565769841245   JOHN              WOLFORD              PA         90006907698
24566196671935   YVONNE            BROWN                CO         90012931966
24566426231631   MICHAEL           TEHRANI              KS         22034094262
24567335355957   MARIA             RAMOS                CA         48006173353
24568348481644   ALTAGRACIA        BATORSON             MO         90012323484
24568695391541   PETRA             BRICENO              TX         75061876953
24568916191241   CINTHIA           ROGERS               GA         90013239161
24569917191953   KATHY             PADILLA              NC         90010849171
24571196671935   YVONNE            BROWN                CO         90012931966
24571422791541   DANTE             VANCE                TX         90012564227
24571861471935   YVONNE            BROWN                CO         90013498614
24574788991541   ANNA M            AGUILAR              NM         90010297889
24574927991241   PATRICK           BROWN                SC         90013399279
24575457191522   FRANCISCO         CAZARES              TX         75014464571
24576866991541   OMAR              FLORES               TX         75004588669
24578372891541   EDNA              GARIBAL              TX         90012823728
24578753531631   CHAD              SCHOFIELD            KS         90002777535
24579228491953   JAMES             GOULD                NC         90014592284
24579716231453   BENNIE            GRAHAM               MO         27502207162
24579966291227   ARACELI           HARPER               GA         90007949662
24581635331631   STEVEN            DRISCOLL             KS         90013876353
24582958291953   QUANSHAUN         MORGAN               NC         90013849582
24584123491522   BRIANNA           MIRANDA              TX         90007981234
24584429691828   KEVIN             GONZALEZ             OK         90014894296
24584595955957   JASON             GUECHO               CA         90013915959
24585622157129   JESSE             D JOHNSON            VA         90000926221
24587144291241   DONETTE           HOUSTON              GA         90014561442
24589842691542   RAYMUNDO          GARCIA               TX         75096538426
24589844871935   NICKIE            FRANK                CO         90013788448
24589955791953   BRANDY            STRICKLAND           NC         90014289557
24591677961932   LADRITA           ROBINSON             CA         90007766779
24592541841245   ASHLEY            DEGOUNETTE           PA         51020175418
24592625791541   GUADALUPE         HERNANDEZ            TX         75004656257
24592644691522   ANTONIA           VALTIERRA CABADA     TX         90013646446
24593478291541   FERNANDO          LOPEZ                TX         90001414782
24593587391522   CYNTHIA           YOUNG                TX         75093585873
24595599131453   MEGAN             COOK                 MO         90013355991
24596488691953   LATOYA            CANNADY              NC         17043094886
24596635457531   ARMANDO           PENA                 NM         90008606354
24598465541245   PATRICIA          WOLFE                PA         51042034655
24598888271935   LIZ               DEPPE                CO         32099758882
24599211847952   LUIS              TAPIA                AR         24001832118
24599968584364   TRACI             MITCHUM              SC         90013409685
24611971584364   CHERYL            MEAD                 SC         90002809715
24612447691953   BRENDA            NYAMODI              NC         17033644476
24612736671935   AUBREY            TOUNZEN              CO         90011247366
24612844385938   SANDRA            THOMAS               KY         90000358443
24613589585938   CHRIS             BOWMAN               KY         67002515895
24614833691828   HARRY             STAFFORD             OK         90010668336
24615711671925   CHAD              LADUKE               CO         90009547116
24619544255957   ISAIAS            GARCIA               CA         90006995442
24621247291356   TIFFANY           KAINE                KS         90015392472
24621843471935   RUDY              SALAZAR              CO         90014728434
24622411791522   CODY              GWYN                 TX         90013654117
24622711591522   GUERRERO          JESUS                TX         90015017115
24622825391241   BYRON             LEGGETT              GA         90013518253
24622963991541   RACHEL            MARTINEZ             TX         90013329639
24624191291953   MOHAMED           DIRIYE               NC         90012791912
24628964191541   JOSE              OGAZ                 TX         75094219641
24629727271935   BARBRA            MARTINEZ             CO         90012147272
24631655591541   SERGIO            TREVINO              TX         90003776555
24632211591522   VIRGINIA          GUILLEN              TX         90014022115
24632549155957   APRIL             COLOCADO             CA         90007385491
24632673291828   MARIA DE LA LUZ   TORRES               OK         90009826732
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24632843361995   DORA         MARTINEZ                  CA         90002758433
24634156231453   JOHN         MORTON                    MO         90013081562
24634393291522   ANDREA       RODRIGUEZ                 TX         90006283932
24637226491522   VICTORIA     FRAIRE                    TX         90010702264
24637858271935   ANTONIO      MAY                       CO         90014718582
24637879731453   WILLIAM      MCGEHEE                   MO         90011328797
24641538691241   REBECCA      HUTCHENSON                GA         90013365386
24641951391356   VALERIE      SHAW                      KS         29016429513
24642268191541   SANTIAGO     GUTIERREZ                 NM         75004882681
24643588861939   DILERY       CAMPA                     CA         90008015888
24643963791828   MICHAEL      CASH                      OK         90009539637
24645299791522   CESAR        SIQUEIROS                 TX         75047982997
24647613571935   LUZMARIA     CASTANEDA                 CO         32025006135
24648138155957   JUAN         BARRANCO                  CA         90011041381
24651464591241   YASMIN       JACKSON                   GA         90013594645
24652126331453   SHANICE      HARPER                    MO         90014111263
24652213991356   EDGAR        GONZALEZ                  KS         90015322139
24653839133668   ANNETTE D    MILLER                    NC         90003988391
24654216681644   ELAINA       MARSHALL                  MO         90003832166
24655481684364   TERESA       GARCIA                    SC         90011494816
24657488181644   KAREN        FRANK                     KS         90009874881
24657496571935   YONI         GOMEZ                     CO         90011324965
24659471691522   ANDREA       CHAPARRO                  TX         90014154716
24663484455957   AVEL         PEREZ                     CA         90014534844
24666683431631   AMANDA       IVEY                      KS         90013496834
24669863791356   LAKISHA      BROWN                     KS         90014788637
24671344591828   VORCIE       HOWARD                    OK         21065863445
24672573841245   RIAN         HINDMAN                   PA         51083935738
24672594493742   MICHAEL      BRITCHETT                 OH         90007505944
24673717681644   PEGGY        LALLAVE                   MO         29054577176
24676697491953   LYNORA       DUSTON                    NC         17000386974
24678254191356   STEFANY      REEVES                    KS         29066062541
24678575584364   TIMOTHY V    PORTEE SR                 SC         90009735755
24681733591522   MIGUEL       SANCHEZ                   NM         75042927335
24683316131631   MICHAEL      BROOKS                    KS         22098773161
24683471557157   JEOVANY      GALDAMEZ                  VA         90002164715
24684999271935   MATHEW       FUENTEZ                   CO         90013789992
24685865131453   RON          SMITH                     MO         90014068651
24686134891828   CHRIS        LOWE                      OK         90012301348
24687799471935   VANESSA      CARROLL                   CO         90009317994
24688188931631   JESSICA      POPE                      KS         90013601889
24688231371935   GERLYN       JUSTUS                    CO         32018052313
24688279891356   BRETT        WARSON                    KS         90015392798
24689284191241   MONICA       HALL                      GA         90014902841
24689888891828   DEBRA        STITIES                   OK         90001618888
24693314231453   JAMIE        BROWN                     MO         90013373142
24693417291522   PERLA        ARAUJO                    TX         90013654172
24693774355957   LAEART       SPESSERT                  CA         90012567743
24694247431631   ANN          MEYER                     KS         90012342474
24695879931631   SHAWNTRICE   BEARD                     KS         90010908799
24714256481644   EDWARD       PADILLA                   KS         90008552564
24715733291522   NORMA        AGUILAR                   TX         75081597332
24716978184364   RICHARD      MOORE                     SC         90003459781
24717554191356   TAMIKA       YOUNG                     MO         90010985541
24718683591356   KACHAUNA     HARRISON                  KS         90014636835
24719565891522   LEONA        DANIEL                    TX         90012945658
24719816231631   MELVIN       PEARSON                   KS         22036858162
24721278355957   MARY         JEFFORSON                 CA         90006602783
24722878691953   JANNA        FULLER                    NC         17078878786
24725814691547   MELISSA      ECHAVARRIA                TX         90013058146
24726196131631   KATELYN      ROAT                      KS         90011421961
24726492791356   CLINT        SLATER                    KS         90015554927
24726922971935   LORENZO      RUIZ                      CO         90010059229
24734697231631   JOSH         KNACKSTEDT                KS         90011306972
24735682391541   ARACELI      MONTALVO                  TX         90003776823
24736157581644   ERIK         WADE                      MO         90014161575
24736329731453   ASHLEY       LANE                       IL        90015483297
24737824171935   DELLA        ARCHER                    CO         32020698241
24738852591241   CHRISTINA    CHANCE                    GA         90014058525
24742492191953   JOHNNY       SULLIVAN                  NC         90009534921
24742831955957   STEFANIE     FOUST                     CA         48043098319
24743367171935   BRAIN        BRANCH                    CO         90012963671
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24745135791356   JESSICA      WILLIAMS                  KS         90004411357
24745786181644   JOSE         HERNANDEZ                 MO         29039577861
24746112941248   LISA         BLANCHARD                 PA         90012591129
24747454591356   ETHEL        DOUGLAS                   KS         90014864545
24747863343551   DEENA        BALLS                     UT         90001248633
24749278355957   MARY         JEFFORSON                 CA         90006602783
24749899291828   ESAU         MARTINEZ                  OK         21074738992
24751169791953   REGINALD     LANGLEY                   NC         90013071697
24751997571935   JASON        YOCKEY                    CO         32015619975
24752163961957   RAFAEL JR    MAYA                      CA         90011941639
24752792491953   CHRISTIAN    REYES                     NC         90014877924
24753447671935   BARBARA      PALMER                    CO         90012994476
24754459855957   DEBRA        DART                      CA         48028134598
24755769291541   LIDIA        VARGAS                    TX         90001737692
24757637191828   DIONNE       SPICER                    OK         21021216371
24762558591522   MARTIN       CERECERES                 TX         90013965585
24764934191962   PAIGE        PERRY                     NC         17071009341
24767343191828   ANTHONY      MCINTIRE                  OK         90012763431
24767434371935   DEESHAAN     VENTURA                   CO         90015314343
24767544891541   VIRGINIA     MORALES                   TX         90008605448
24768572991356   TONY         TONE                      KS         90013305729
24768666191953   RANDY        BLAND                     NC         90015086661
24769316985938   IRENE        HERRING                   KY         90002313169
24771272991522   JUANITA      URIBE                     TX         90013362729
24771691431453   SUSIE        WILLIAMS                  MO         27574306914
24773761391241   SHANTEL      MCKITHEN                  GA         90014717613
24773953991828   VANESSA      ARMSTRONG                 OK         90013749539
24774514931453   CHARLES      SIMMONS                   MO         27593145149
24777219455957   ALFONSO      TORRES                    CA         48080042194
24782565591828   ROBERT       MASON                     OK         90012925655
24783863891356   RICK         PASSANTINO                KS         29052558638
24784194191541   ISMAEL       RENDON                    TX         90010941941
24784369681644   ESMERALDA    CHEDA                     MO         90014163696
24785513755957   JOHN         NEAL                      CA         90015035137
24786668684364   MICHELLE     BEAVEN                    SC         90012946686
24787174431433   JAZZMINE     HAMMOCK                   MO         27593631744
24787347731453   LASANDRA     EDWARDS                   MO         90011233477
24789215731631   KAY          BROWN                     KS         22012542157
24792336393742   JEFFREY      FAWELL                    OH         90010033363
24795322257157   NOIMA        FLORES                    VA         90002433222
24796228491541   CARLOS       RIOS                      TX         90013452284
24796428455957   ADRIANA      MONIQUE                   CA         90010754284
24796516891356   LEON         CROCKETT                  KS         90012785168
24796867191522   ROBERTO      DOMINGO CHASCO            TX         90013028671
24799196255957   MARIA        GUADULUPE                 CA         48055941962
24811713391541   GLORIA       DURAN                     TX         90008867133
24812152591828   MARIA        CORTINAS                  OK         90014831525
24813431591356   ROBERTO      MEZA                      KS         29006224315
24813648671935   BRIDGETTE    PICKRUHN                  CO         90011276486
24814954991356   DAVID        ROCHA                     KS         90012419549
24815666685938   KALISA       THOMPSON                  KY         90012356666
24815723491541   DAISY A      RAMIREZ GONZALEZ          TX         90012697234
24815741491541   JENNIFER     SAMUDIO                   TX         90014227414
24816143191953   SAMAD        LYNN                      NC         17087621431
24816977371935   ANNE         MULLER                    CO         32097809773
24818794571935   KIM          STEWART                   CO         90012567945
24821983191953   EVERARDO     CHIRILO                   NC         17034289831
24822143491828   MELISSA      WATKINS                   OK         90013461434
24824513491953   AMY-MARIA    ALEXANDER                 NC         90007145134
24825578184364   JULIUS       ROBINSON                  SC         19051275781
24827586141245   TERI         KETTER                    PA         51087855861
24829399791953   DOROTHY      BASDEN                    NC         90012793997
24829857584364   SHIRLEY      KELLEY                    SC         90013708575
24832543191522   AMAIRANI     TREVINO                   TX         75006865431
24832953371935   ROBERT       RIDER                     CO         90014909533
24833945691356   ARMANDO      VASQUEZ                   KS         90015229456
24834321771935   STACEY       PRUE                      CO         32096603217
24836284881644   ANTONIO      ALVARADO                  MO         90014162848
24836727491828   VERONICA     GONZALEZ                  OK         90015307274
24837147591828   APRIL        HANEY                     OK         90013401475
24837413891541   BEATIZ       GARAY                     TX         90012564138
24838188791953   JOSE         GARCIA                    NC         90015101887
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24842586557157   C.           SLIGER                    VA         81048345865
24842929891241   BRITTANY     BRANDYBURG                GA         90013459298
24842978291241   THERESHA     MCGEE                     GA         90014779782
24842997947895   JENNIFER     TRUSSELL                  GA         90014089979
24843468771935   JEFF         WHITESCARVER              CO         90007314687
24844553391953   TUIANA       SANDERS                   NC         90013945533
24844998991241   LORI         HOLTON                    GA         90014169989
24845469991522   JOSE         CORDERO                   TX         90013814699
24848325791525   JOSE         PADILLA                   TX         75006033257
24849274555957   NORMA        CASAS                     CA         48027572745
24851546255957   LEANDER      STEWART                   CA         90012095462
24852316791241   JASMONIQUE   FRANKLIN                  GA         90014903167
24852769541245   AMBER        RAU                       PA         90011817695
24852935555957   JOSE         MUNOZ                     CA         90015329355
24852973355957   LEANNA       DELACRUZ                  CA         90010949733
24853351271935   VIRGINIA     RAY                       CO         90011253512
24853367684364   ARIEL        GUERRA                    SC         19030773676
24853825691241   ALVENA       ROBINSON                  GA         14563118256
24853992381644   FRANCISCO    AGUILAR                   MO         90003459923
24854358951346   MATTHEW      SEHMIEG                   OH         90004993589
24854814291828   JESSE        BALLFOUR                  OK         90014898142
24855485791828   TARO         BRISENO                   OK         90009484857
24855855984364   ANDRE        DUNCAN                    SC         90014788559
24855856251353   TAMARA       HARRIS                    OH         90006368562
24856363991356   MOHAMMED     MAHMOOD                   KS         29029453639
24857673181644   DONOVAN      DIAL                      MO         29044106731
24857781491828   ANDREA       HOLMES                    OK         90011647814
24858363691953   TORRI        MCMILLIAN                 NC         17015153636
24858781281644   ED           BROWN                     MO         90008507812
24858943191828   MESHA        JONES                     OK         90010849431
24864318681644   CAROL        KASPUTIS                  MO         90014163186
24864816491828   LUCIDEL      AVALOS                    OK         90009638164
24865821931453   TAMIKA       PLUMMER                   MO         27561338219
24866284661554   MELISSA      BOSWELL                   TN         90015142846
24866763691541   ERIKA        TREVIZO                   TX         90011127636
24868411391356   OLMA         PORTILLO                  KS         90011854113
24868777955957   BEATRICE     RAMOS                     CA         90010557779
24869594191541   CARMEN       RIOS                      NM         90005475941
24871993531453   DONALD       REED                      MO         90015189935
24872327291356   PAUL         STAMP                     KS         90012423272
24873861291953   CARAYLA      MALEY                     NC         90009668612
24874693771935   ERIC         SCHROEDER                 CO         90002016937
24876518571935   DONALD       MCNEIL                    CO         32014485185
24876777491522   ELSA         ENCERRADO                 TX         75084467774
24879351291541   NORMA        PONCE                     TX         90001433512
24881388871935   JESSICA      DUGAN                     CO         90006263888
24882548755957   MARIA        GARCIA                    CA         90011255487
24882576931453   FELECIA      NEWBY                     MO         90013365769
24882748491875   BRITTANY     JONES                     OK         21011297484
24883629871935   MERRILY      WALDRON                   CO         90012966298
24884145491241   SHELIA       SMALLS                    GA         14582801454
24886269391522   MARTHA       POSADA                    TX         75044962693
24886782381644   TERRELL      LASKER                    MO         90014987823
24887344147952   KERRY        SCOTT                     AR         24048803441
24887737555957   LUZ          FUENTES                   CA         90013227375
24888929891953   ALISSA       GONZALEZ                  NC         90012799298
24891182391541   JOSE         GURROLA                   TX         75033751823
24891222991356   MAI          SALGADO                   KS         29017312229
24891566431453   JAMES        SANCHEZ                   MO         90013875664
24891661371935   BRADLY       CONN                      CO         90012966613
24891882191542   MANUEL       RIOS                      TX         90002848821
24894593391953   CLAUDIA      CASTRO                    NC         17044885933
24897195991356   VICTOR       PORRAZ                    KS         90002991959
24897471291828   NATANAEL     VERA-OLIVARES             OK         21069734712
24897492491542   PEDRO        MIRANDA                   TX         90002444924
24897848555957   JOSE         ZENDEJAS                  CA         90012468485
24898735291541   ERIKA        FRAIRE                    TX         75041477352
24898761331453   DAQUANA      SMITH                     MO         90014077613
24911396641245   CHILD        RUSSEL                    PA         51064353966
24911576691522   ARMANDO      BERNAL                    TX         90012015766
24914525255957   AMELIA       AVALOS                    CA         90014115252
24914853591949   MARGARITA    OLEA-PEREZ                NC         90013568535
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24915865891522   MARYLOU      MORRILL                   TX         90013248658
24917316184364   BEVERLY      HILZENDAGER               SC         19050983161
24919752984364   CAROLINE     PABON                     SC         90009247529
24921374691541   KENNY        GUTIERREZ                 TX         90014503746
24922214957157   TAIWO        OWOEYE                    VA         81077242149
24922868791828   JUSTIN       ELLIS                     OK         90013418687
24923869991828   REYNA        VALDEZ                    OK         90009958699
24923897471923   NORGE        ORAMA-CABALLERO           CO         90003268974
24924222891356   LARRY        GATLIN                    KS         29096992228
24925161391541   BRENDA       SILVA                     TX         90003801613
24925421581644   LETICIA      CHEDA                     MO         90014164215
24925712671935   ERIN         OGDEN                     CO         90012967126
24925782431699   AMY          COURTNEY                  KS         22012417824
24926917431699   CHRISTY      HANNON                    KS         22006759174
24927216391522   HUMBERTO     PANIAGUA                  TX         75014612163
24927692591541   KIMBERLY     NEVAREZ                   TX         90010986925
24929573891356   HUNTER       ZITTEL                    KS         90014255738
24931135191522   STEPHANIE    MENDOZA                   TX         90013081351
24932618791241   ALEXIS       BURKE                     GA         90009936187
24933273955957   LAURA        SHERWOOD                  CO         90013902739
24934612891953   ISRAEL       VELASQUEZ                 NC         90014376128
24935175881644   PAYGO        IVR ACTIVATION            MO         90012301758
24935521591828   AUDULIO      NAVARRO                   OK         90014175215
24935714931453   QUEENTELLA   JONES                     MO         90008307149
24936676247952   CHARLOTTE    RITCHIE                   AR         24082266762
24937299394984   LORETO       GUTIERREZ                 CA         90014752993
24937432681644   YAKIMA       IRVING                    KS         90014164326
24937755684364   EDWIN        PINTO                     SC         90013217556
24938151691522   FLORM        ORTIZ TENA                TX         90010501516
24939421791522   MONA         BARRAZA                   NM         75028114217
24939756681644   LV           RAINEY                    MO         90015047566
24939938681644   BOBBIE       WILLIAMS                  MO         90015019386
24942212991828   LEVY         MARROQUIN                 OK         90012122129
24943589191522   MIGUEL       ALCANTAR                  TX         75043485891
24943921251369   TIFFANY      TUCK                      OH         66023689212
24944213671935   EVELIA       ALVAREZ                   CO         32077782136
24944517755957   RAYMOND      MIRANDA                   CA         90008375177
24945588341245   SANDRA       MORRIS                    PA         90008585883
24945867185869   ELI          RINEK                     CA         90010888671
24947611441245   BRANDY       CISCO                     PA         90010586114
24948486693742   LASHAE       PIPPINS                   OH         90009094866
24948754981644   ERICA        WEBSTER                   MO         29016067549
24949766191828   MIKE         JONES                     OK         21095137661
24951552971935   SERIGO       RUELAS                    CO         90011325529
24952422655957   EPIFANIO     QUAIR JR                  CA         48007824226
24954259291522   EDWARDO      CAMACHO                   TX         90007552592
24956356891541   ADRIANA      BENCOMO                   TX         90014743568
24956716641251   DAIVA        MONROE                    PA         90008737166
24957361355957   DULCE        MARQUEZ                   CA         90011883613
24958339291541   NANCY        FUENTES                   TX         90012033392
24958572791241   ERVIN        TATE                      GA         90012315727
24958747371935   ANASTACIA    LOPEZ                     CO         90015007473
24959454881644   ROSEMARY     BORJAS                    MO         90014164548
24959644391356   AMADA        BRITO                     KS         90013096443
24961753891356   JESUS        LABRADO                   KS         90013837538
24962525791522   RAUL         DELGADO                   TX         90009385257
24962995691828   HELIODORO    MOLINA                    OK         21070069956
24963377531631   JACQUELINE   SKILLMAN                  KS         22009963775
24963475481644   MANUEL       MEDINA                    MO         90014164754
24963561191522   JESUS        PALACIOS JR               TX         90012565611
24963996355957   RUEBEN       BURNIAS                   CA         90013819963
24964475981644   JOE          RODRIGUEZ                 MO         90014164759
24964748191541   DANIEL       PALACIOS                  TX         75031367481
24965342531631   TERRY        HUBBER                    KS         90007603425
24965783185938   NORMA        MILES                     KY         67017557831
24966691131631   KEVIN        WILSON                    KS         22004196911
24966835991961   SENECA       MCALLISTER                NC         90001288359
24969546241245   DERRICK      MCCLINTON                 PA         51083755462
24971383255957   ASHLEIGH     THOMAS                    CA         90007303832
24971513991356   JAMES JOHN   ALSOBROOK                 KS         29010655139
24971654691828   TRINA        MARSHALL                  OK         90010986546
24972941141245   REGINA       HAMMONDS                  PA         90011819411
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24975791891828   MARTIN           MAR                   OK         90013637918
24976683231631   JANOS            TINDALL               KS         22085886832
24977472691953   NALIZA           CALDERON              NC         90015044726
24977931191241   ROBERT           FERGUSON              GA         90013219311
24978248755957   JOHN             ANDERSON              CA         90014802487
24978497381644   ANGEL            RODRIGUEZ             MO         90014164973
24978723281637   BARBARA          WOODSON               MO         90004657232
24979497591541   OSCAR            RANGEL                TX         75012944975
24981957971935   WILLIAM          ZERINGUE              CO         90001529579
24984959391356   AVINAL ALFREDO   AMAYA                 MO         90015229593
24985959491828   HUGO             MARTINEZ              OK         90010059594
24986443331453   BRIAN            HARRIS                MO         27536644433
24986516281644   STEVE            ANDERSON              MO         90014165162
24987248755957   JOHN             ANDERSON              CA         90014802487
24987326393742   JAMES            BAKER                 OH         90008373263
24992921984364   CYNTHIA          SCOTT                 SC         90014519219
24992987843551   CJ               ELLIOTT               UT         90002919878
24993447191522   LUZ MARIA        HERRERA               TX         90005354471
24993649247952   ALLEN            LANE                  AR         24007946492
24994326481644   VIVIAN           HOLLOPTER             MO         90004973264
24996127491356   HULL             JANICE                KS         90003161274
24997471391522   ARMIDA           PUGA                  TX         90010014713
24997921984364   CYNTHIA          SCOTT                 SC         90014519219
24998759771935   FANNCINA         COSTA                 CO         90005427597
25113331681698   JUDITH           GARCIA                MO         90011483316
25114774381633   JAMES            SNELL                 MO         90008967743
25114935141281   RICHARD          MARCHELETTA           PA         51011859351
25115215931433   GRACE            MUNDIN                MO         90012172159
25115234133669   YALENA           SMITH                 NC         90013392341
25116912291522   LETICIA          VALLES                TX         90011369122
25118569851328   JOHN             LAKE                  OH         90001055698
25118656791828   VASHAWN          BLAKE                 OK         90011026567
25118739357157   MELISSA          STULL GRIFFIN         VA         90005747393
25121298685938   SHERYL           PETERSON              KY         90011072986
25122162855957   LORENA           VILLA                 CA         90013411628
25122474171943   KORY             WYATT                 CO         90003504741
25123487591522   STEPHANIE        RAMOS                 TX         90013924875
25125848451328   DONALD           STEELE                OH         66095468484
25129114485844   BILLIE           MACUSE                CA         90010371144
25132715593731   ERICK            WILLIAMS              OH         90008707155
25132879171943   CECILIA          GRIMALDO              CO         32091918791
25133463993731   MICHAEL          LIDDY                 OH         90011254639
25134573551369   STEPHANIE        WATTS                 OH         90008315735
25134616685698   ELI              MENDOZA               NJ         84046896166
25134646831453   JOSEF            WHEELER               MO         90014886468
25135511271925   NATHAN           BELLOT                CO         90011915112
25137623191828   SUSAN            COCHRAN               OK         90015476231
25138791141245   WALLY            HODGE                 PA         90006347911
25139356491522   LEO              V                     TX         90009873564
25139989772447   KAREN            BRYAN                 PA         90007939897
25141159631631   RAQUEL           ORNELA                KS         90001631596
25142116572447   KALI             JONES                 PA         90012061165
25147891741245   RAMON            MORALES               PA         90007908917
25148384772447   MICHAEL          SHIRLEY               PA         90002413847
25148613655957   ERIC             BAEZ                  CA         90014816136
25151625731631   TOMASA           RUIZ                  KS         22038986257
25152176672447   MARQUIETTA       HALE                  PA         90013691766
25153578593731   LORETTA          RICHARDSON            OH         64560845785
25154319131631   ISMAEL           DOMINGUEZ             KS         90008903191
25154633281661   JENNIFER         CINCOTTA              MO         90010696332
25155264893757   WILLIAM          LILLY                 OH         90006042648
25155866157157   ALEJANDRO        SERRANO               VA         90010768661
25156869184364   TRACEY           SIMS                  SC         19093758691
25157133481637   ROBERT           JENSEN                MO         90015281334
25158631971943   GUADALUPE        HERNANDEZ             CO         90011396319
25158697557157   MAID             AMERICA               VA         81037116975
25159618981637   SASANA           PINO                  KS         90008626189
25159825231453   MARIA            LOEHR                 MO         90013928252
25162391571928   CHRISTY          ANELLA                CO         90011643915
25163415171943   ANGLE            WILLIAMS              CO         90009804151
25165298671928   RANDY            PRUIETT               CO         90011122986
25165339681637   LAURA            FOLEY                 MO         90009493396
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25165963881661   TIANDRA        BLAIR                   MO         29010269638
25166589455966   SERGIO         PEREZ                   CA         90014675894
25166661572447   ALEXANDER      BERTLES                 PA         90015096615
25167751781637   CHUCK          ROWELL                  MO         90014177517
25168699493743   DAVID          GLOVER                  OH         90012486994
25171356551328   CHELSEA        FORNSHELL               OH         90014913565
25171387191522   JUNIOR         URRUTIA                 TX         90014333871
25171681293743   TEBNISHA       ALFORD                  OH         90012556812
25172353855957   SERGIO         NOLASCO                 CA         90011963538
25172585985938   DANTE          WILSON                  KY         90010275859
25172781171928   TIM            STEVENS                 CO         90013697811
25172839881661   NORRIS         ROBINSON                MO         90015208398
25172896193731   YVONNE         GROOMS                  OH         64517898961
25174746271928   CASSIE         RHODES                  CO         90013247462
25175339171928   JOHN           MONTESANO               CO         32096183391
25176288931433   MULIMA         NAWA-HUNT               MO         90012382889
25178398957157   DAVID          OBIRI                   VA         81031253989
25179639257157   CHANTE         MCCLEARY                VA         90011146392
25179716685938   YAMISH         SANDERS                 KY         90015147166
25179862471928   DAYNE          SAUCEMAN                CO         90012918624
25183537755957   JOSE           GOMEZ                   CA         90015025377
25184182771928   CHAD           HOBSON                  CO         90014411827
25185954393731   TERRY          CHARLES                 OH         90014029543
25186929951328   KATELYN        MARSH                   OH         90015229299
25187525185998   BARB           DEATON                  KY         66057665251
25188737872447   NORA           ANDERSON                PA         90005957378
25188947755935   NATALI         MADRIGAL                CA         90012679477
25189114555957   ASHLEY         LOMBARD                 CA         48012041145
25189989151328   JAVON          ARNOLD                  OH         90014679891
25191535257157   MANUEL         HERNANDEZ               VA         90011535352
25191855591828   WILLIAM G      PRATT                   OK         90004158555
25192347891522   JESSICA        FLORES                  TX         90013593478
25192457571924   BRENDA         CRESPIN                 CO         90010414575
25192917951328   WAYNE          ALLEN                   OH         90012719179
25193381336165   LILLIAN MOYA   ARZAVE                  TX         90012993813
25193421151328   KIERSTEN       ROBINSON                OH         90014464211
25193639671943   BONNIE         SIPP                    CO         32094046396
25193755557157   INGRID         RIVERA                  VA         90013027555
25193788591522   CARMEN L       LOPEZ GRAHAM            TX         90010957885
25194165593731   JARREN         BROOKS                  OH         90013821655
25194674755957   DAVID          NUNES                   CA         90014736747
25195159271928   GERALD         SANDOVAL                CO         32089221592
25196843981633   ASHLIE         STEWART                 MO         90013728439
25196878491522   JULIAN         VEGA                    TX         90010388784
25197167855957   ANGELINA       RAYGOZA                 CA         90013871678
25198189781635   ELIZABETH      FITZSIMMONS             MO         90004161897
25198387557157   LILIANA        BANEGAS                 VA         90012093875
25199174884364   CANDICE        RIVERS                  SC         90005301748
25216863471928   KEVINS         ENCLRARDE               CO         90012568634
25218174972447   JESSICA        MEHALL                  PA         90014171749
25218236771943   CORA           REILLY                  CO         90014822367
25219731531453   KEANDRA        BEAL                    MO         90011377315
25221394271928   KENNY          RINCON                  CO         90014853942
25222421755957   ERIC           JOHNSON                 CA         90015324217
25223589884364   HERMELINDO     PEREZ                   SC         90006465898
25223837931453   KRIS           RANDALL                 MO         90005088379
25224955971943   ERIKKA         HARVEY                  CO         90014579559
25225384381661   KESSA          GINES                   MO         29010283843
25225896691828   YENNI          NOPAL LOPEZ             OK         90013528966
25226325447952   RICHARD        CALLAHAN                AR         90003633254
25226749871935   JOSE           GARCIA                  CO         32078467498
25228129281661   SHANA          HASKINS                 MO         29009601292
25228256855936   CLAIRE         FITIAYSI                CA         90011832568
25229219172447   PAULETTE       MCCARTHY                PA         90013262191
25231829291828   CHERYL         RITCHIE                 OK         90013928292
25232962257157   CYNTHIA        DANIELS                 VA         90009499622
25234196457157   WILLIAM        MANNING                 VA         90001781964
25235988371928   AUDENCIO       MEDINA                  CO         90014529883
25236176371928   ANGELICA       TOVAR                   CO         90011551763
25237878291522   PRECILLA       GUERRERO                TX         75083188782
25237916681661   DANIEL         INFRANCA                MO         90009039166
25238215771943   KIMBERLY       DUGAN                   CO         90006032157
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25241544493742   RUBY         COX                       OH         90011705444
25244268131631   DAVID        HOGAN                     KS         22038902681
25245252781633   RON          LOONEY                    MO         90011562527
25245298693731   DENISE       GREGORY                   OH         90014702986
25245966672447   JOSEPH       SABEEN                    PA         90015539666
25247181991828   CHRISTA      BULLINGER                 OK         90013121819
25247888372447   MICHAEL      DIALOISO                  PA         51081838883
25248332781637   CHRIS        ROBERSEN                  MO         29070173327
25251275357157   ALICIA       RODARTE                   VA         90001652753
25251524193731   DANA         SMITH                     OH         90011255241
25252377781637   WILLIE       WHITE                     MO         90008283777
25253771861932   TERRY        EWART                     CA         46071697718
25253877457157   JORGE        DIAZ                      VA         90015318774
25259922731453   ERIC         MATTINGLY                 MO         90014829227
25262239571943   LINDSEY      EDDY                      CO         90014332395
25263286693757   RONALD       BREWER                    OH         90008852866
25263348391522   JESUS        VALLES                    TX         90013593483
25263516681637   JORGE        RODRIGUEZ                 MO         90013405166
25263865655957   PAYGO        IVR ACTIVATION            CA         90012848656
25264872985998   AMBER        DANIEL                    KY         90001518729
25265931885938   WILLIAM      CARR                      KY         67036219318
25267877155957   MONICA       CHAVARIA                  CA         90009908771
25268552355957   CYNTHIA      CAMBELL                   CA         48064465523
25268639272447   PAUL         ACKLES                    PA         90014196392
25268856931433   GLENDA       KUMP                      MO         90009598569
25268957891828   JENNIFER     DECKER                    OK         90014549578
25271122771943   LENNY        INFANTE                   CO         32028411227
25272179472447   GEORGE       BISCEGLIA                 PA         51004511794
25272865431453   MONICA       MAGILL                    MO         90014018654
25274724771943   REBECCA      HUME                      CO         90005837247
25275499257531   TONI         BARELA                    NM         90001494992
25275618393731   TRINA        ANDERSON                  OH         90014866183
25276422391522   ALICIA       CISNEROS                  TX         75010224223
25276636281661   ANGELA       PALMER                    MO         90012666362
25277125631453   KATHY        ROUNDCREE                 MO         90013331256
25277644455957   TERESA       ARANDA                    CA         48031236444
25281655472447   NICOLE       HUGHES                    PA         90015516554
25282319672447   RAYMOND      LASH                      PA         90015483196
25283189131453   KELLY        KEELY                     MO         27579781891
25283615251328   JAMIE        MCELROY                   OH         90002886152
25284472561979   DAVID        SCHOEN                    CA         46091094725
25284737257157   JOSE         DIAZ                      VA         90014327372
25285213655957   GLORIA       PARRAL                    CA         90008552136
25285386981638   OMAR         PEREZ                     MO         90011163869
25286957191828   LUCY         SOUPHANTHONG              OK         21010809571
25287238757157   DORA         SMITH                     VA         90012122387
25287358881633   AMBER        SCOTT                     MO         29000973588
25287945881637   MARIE        VAUGHN                    MO         90014449458
25288437631433   KIANA        BAILYEY                   MO         27579654376
25288593251561   MAHMUD       SIED                      IA         90015035932
25288672381633   SADEE        DAVIS                     MO         90014876723
25292492372447   CODY         WOODSIDE                  PA         90009014923
25294156871928   MINNIE       RIVERA                    CO         90011921568
25294627531453   DUSTIN       BRABEC                    MO         27508356275
25294974191828   DEBBY        EWALDT                    OK         21066159741
25297449231433   PATRICK      SHELBY                    MO         90011714492
25297687671928   STEPHANIE    BETTS                     CO         90009006876
25298431884364   JUAN         RAMIREZ                   SC         90007084318
25298686341245   ELIZABETH    RODGERS                   PA         51055236863
25299818741245   DIANE        KROSTYNE                  PA         90000408187
25312136381637   JACOB        SMITH                     MO         90003521363
25312188231453   PAMELA       HATTEN                    MO         90012461882
25312467471928   CLEO         KELLAM                    CO         90012554674
25313458531453   JAMIE        WALLER                    MO         27511804585
25313782931631   NANCY        ORTIZ                     KS         22094977829
25313893655957   MARTHA       VIRRUETA                  CA         48042998936
25315969751328   JENNIFER     POYNTER                   KY         66069409697
25316289155957   ANDREW       GOMEZ                     CA         48029372891
25316617393731   JOHN         SCHAEFFER                 OH         90010766173
25316639191582   SERGIO       CHIU                      TX         90009946391
25317974181661   JESSICA      SAGASTUME                 MO         90014179741
25318151157157   SHONDA       WILLIAMS                  VA         90014721511
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25319186331631   PEARL         ERXLEBEN                 KS         90002351863
25321589431433   CHARITY       OKEKE                    MO         27591825894
25323219157133   JOSE          GOMEZ                    VA         90003302191
25324227291522   ANNE          TERAN                    TX         75047712272
25324679991828   BRYCE         FRANCIS                  OK         90014846799
25325454971943   GLENN         GIBSON                   CO         90014104549
25325659557157   JEFFERY       HONAKER                  VA         81003896595
25325732755957   VALERIE       MAGANA                   CA         90001207327
25326359593731   PAYGO         IVR ACTIVATION           OH         90010353595
25326772755957   NOLA          HORN                     CA         48008867727
25327991255957   REBECCA       MOLINA                   CA         48015419912
25332144841245   KEVIN         BROWN                    PA         51055601448
25332856293731   RORERT        LOWRY                    OH         90011398562
25332921193731   KISHA         ALSTORK                  OH         90014649211
25332968291528   ALEJANDRA     PRIETO                   TX         75093919682
25334144331631   VERONICA      STILLMAN                 KS         90008371443
25334729931453   ASHLEY        DELUNAS                  MO         90012237299
25335112351328   SHELLIE       DOLL                     OH         90013361123
25335134781661   ESTELLE       SHOCKLEY                 MO         90005711347
25335253333638   SHARIE        OTERO HERNANDEZ          NC         90010822533
25335599593731   EDBER         YOC                      OH         90011255995
25335775691828   WITTNEY       CHUMBLY                  OK         90015427756
25337138881637   KELLY         DEMINT                   MO         29041811388
25337448255957   MARIA         AVINA                    CA         90010354482
25337621791828   AMBER         MURRAY                   OK         90008506217
25339178881637   JAMES         HULEH                    MO         90001841788
25342337551328   BLAKE         CAUN                     OH         90012473375
25342363857157   BRUCE         MURRAY                   VA         90013093638
25342412171943   CHRISTINE     GONZALES                 CO         90005904121
25342725531453   JAMMIE        MASON                    MO         90014727255
25343366191542   SYLVIA        MENDEZ                   TX         75082783661
25343554751333   TONYA         HICKS                    OH         90008785547
25343662391828   IRMA          PERALES                  OK         21093316623
25344223781661   MICHAEL       DUMAS                    MO         90004252237
25344676381637   NIRVANA       LOBO                     MO         90013906763
25345128272447   ROBERT        MICENKO                  PA         90013931282
25346667172447   ALLISON       CAMPBELL                 PA         90013816671
25347979831631   RANDALL       WALKER                   KS         90013759798
25348117771928   LORA          WILLIAMS                 CO         90014461177
25348893391241   ERICA         BRYANT                   GA         14552208933
25349352871928   CHERA         MARTINEZ                 CO         90012273528
25349893291522   MAYRA         DOMINGUEZ                TX         75019598932
25351443693753   CHARISMA      TREVINO                  OH         90012464436
25351617957157   RULLEWELLYN   ELDER                    VA         90012936179
25351652191241   JEFFERY       SMALLS                   GA         90007176521
25352492181661   TERESA        GALINDO                  MO         90007404921
25353758785938   PRINA         ITULA                    KY         90012777587
25354584957157   JULIA         BARRIENTOS               VA         90011265849
25354985271943   SCHELAU       MCGUIRE                  CO         32053119852
25356588851328   PAYGO         IVR ACTIVATION           OH         90014845888
25356979971943   JUAN          LOPEZ                    CO         32004469799
25358648872447   EMMA          PARKER                   PA         51094456488
25361298151328   JUSTIN        FREEMAN                  OH         66048172981
25361785493731   JOE           RANDALL                  OH         90015097854
25363169393731   CARLYN        SMITH                    OH         64552361693
25365775931453   LAURIE        JONES                    MO         90011377759
25365917293731   CARNETTA      POUNDS                   OH         90003119172
25366528593731   ANTWANN       MARTIN                   OH         90013415285
25366933855957   SELESTE       NUNO                     CA         90005439338
25367531471928   NOREEN        ZINGALE                  CO         90015095314
25367576757133   RASHEEDA      GREGORY                  VA         90008475767
25368422731453   ALICIA        SPINKS                   MO         27582804227
25369752581633   DOUGLAS       WIGGINS                  MO         29094137525
25371647361967   SHAWN         DAVIDSON                 CA         46071246473
25371751355957   EDWARD        DURAN                    CA         90015407513
25371755291528   MARY          LOZOYA                   TX         75074507552
25373457681661   MAKISHA       LEWIS                    MO         90004994576
25373774351328   DELFINO       MENDOZA                  OH         90014177743
25374362571928   JADEN         MORGAN                   CO         90014793625
25375573972447   JENNIFER      CAMPBELL                 PA         51026415739
25376818657157   STEVEN        BURDETTE                 VA         90002778186
25377111951561   SERGIO        PERES                    IA         90015041119
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25377634972447   BECKY           ORRIS                  PA         90009686349
25378496451328   SEAN            REDMON                 OH         90013204964
25379523371943   ATHENA          MEYERS                 CO         90013235233
25382861471943   CHEVY           MARTIN                 CO         32017378614
25383531651328   LISA            DETHERAGE              OH         66070885316
25386857891522   MARGARITA       REYNA                  TX         75094228578
25387443791522   JAIME           CORREA                 TX         90014934437
25387521471928   GUILLERMINANA   LOPEZ                  CO         90007905214
25387679991828   BRYCE           FRANCIS                OK         90014846799
25388252185938   ANGELA          RICHARDSON             KY         67002262521
25389261791522   VALERIE         TOLEDO                 TX         90009972617
25391872784364   THOMAS          RAINWATER              SC         90014668727
25392657931453   JENNIFER        WILLIAMS               MO         90015016579
25393239891828   CAMEKA          BOYD                   OK         90014992398
25394579181661   LINDA           GOODRICH               MO         90012585791
25395141881661   CARL            DIGGS                  MO         90010991418
25395462371935   MICHAEL         RYAN                   CO         90010474623
25396495284364   OUSMANE         CAMARA                 SC         19006134952
25396874757157   CORY            TRAMELL                VA         81074958747
25397156371928   MICHELLE        SUMMERSON              CO         32085441563
25397632393731   LINAKA          HURT                   OH         90012656323
25398388855957   MARY            MENDEZ                 CA         90001133888
25411364691522   GLORIA          LUJAN                  TX         75068573646
25412321571928   JAMES           RILEY                  CO         90002693215
25412965691522   JENNY           COEN                   TX         75013039656
25413341251328   CLEMENTINO      LORENZO                OH         90009543412
25413342581661   FLORINA         HERNANDEZ              MO         90012113425
25413537331453   LETASHA         SAIN                   MO         90013475373
25413712147952   MISTY           BAILEY                 AR         24057117121
25413792291522   NORMA LETICIA   DELA CRUZ              TX         90004307922
25414187357157   VICTOR          TORRES                 VA         81026741873
25416221741245   JAMES           SILER                  PA         51016252217
25416912341272   ANGELA          MCKNIGHT               PA         90007529123
25417313225138   THOMAS          JACKSON                AL         90014023132
25417347857157   LITISIA         SHELLEY                VA         81023453478
25417412555957   CHRISTINE       KILLEBREW              CA         90010154125
25417884871928   JESUS           SOLIS                  CO         90013858848
25418183851328   CHAD            CHAMBERS               OH         90014571838
25418888371928   KINGTANA        JESALI                 CO         90009938883
25421444957157   NELLY           DIAZ                   VA         90000694449
25422954581633   EMMA            THURMAN                MO         90012409545
25423561471928   XIOMARA         SAMUELS                CO         90010535614
25424459131631   TIMOTHY         RISINGER               KS         22075034591
25425253391828   AUSTIN          RUSSELL                OK         90013392533
25425814731453   SHALLON         SNEED                  MO         90008178147
25426178971928   JACKSON         TINE                   CO         32092281789
25426942972447   LISA            DIXON                  PA         51067089429
25427451971943   CHERA           JARVIS                 CO         32023354519
25429313893731   MIRANDA         MYERS                  OH         90012613138
25431474781637   JOSE            ROMERO                 MO         90013644747
25432853141245   JACQUELINE      MOONGA                 PA         51060838531
25436195191828   ALISA           SHACKELFORD            OK         21039161951
25436354947952   ERIK            SKELTON                AR         24058213549
25436433791528   RICK            MONTOYA                TX         75089804337
25437623193731   YESENIA         HERNANDEZ              OH         90011786231
25438592291828   CAROLETTA       AVRIETT                OK         21084705922
25438886291522   DEL             HUNT                   TX         75019438862
25439898655957   JESUS           SOTO                   CA         90007498986
25441569791828   ELAINE          BROOKS                 OK         90014515697
25442669955957   YULI            GARIBAY                CA         90014816699
25442874254185   SARAH           WHITE                  OR         90008738742
25443379251369   VIKKI           PAINTER                OH         66070213792
25446117981637   REGEN           QUINN                  KS         29007211179
25448764451328   TIM             WILLIAMS               OH         66052607644
25451184371943   LEMUEL          DONALDSON              CO         32049681843
25451753471928   SHELISA         STAFFORD               CO         90013267534
25451799131453   WILLIAM         DAVID                  MO         90013177991
25451957885999   ANNA            BONHAM-WHITE           KY         90000319578
25453322657157   MARITZA         NOLASCO                VA         90014953226
25455282557157   PAULA           DEAN                   VA         90013382825
25456195257157   ARIEL           MENDEZ                 VA         90015081952
25456415881637   ALLYSSON        BAKER                  MO         90013744158
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25456579877584   DIANA               RIVERA             NV         90013955798
25457925555957   OLIVIA              RAMIREZ            CA         48003109255
25457943381633   REGINA              SITZMAN            MO         90015159433
25458831461921   AMY                 CASTILLO           CA         90007818314
25459312472447   REGGIS              JOHNSON            PA         90010033124
25461345172447   DONNA               GROSSI             PA         90014223451
25461414991828   MARIO               VASQUEZ            OK         90010864149
25461646991828   WAYNE               HOOVER             OK         90015166469
25461728181661   MONICA              TURNER             MO         90013157281
25461755455957   BEATRICE            CRANFORD           CA         90013007554
25461932771943   MIGUEL              ORANTES            CO         32000229327
25463617957157   GRISELDA            ZABALA             VA         90003606179
25463872431631   NICOLE              THOMAS             KS         90014108724
25465967357157   OSCAR               GARCIA             VA         90014899673
25466872431631   NICOLE              THOMAS             KS         90014108724
25467286481661   ANTHONY             SEXTON             MO         90012372864
25467742531433   TORSHA              PITTS              MO         27597337425
25468113881633   KYRA                TURNER             MO         29014871138
25471722381637   ANTHONY             MAYER              MO         29010607223
25472265772447   WENDY               HARRIS             PA         90013932657
25472471372447   SANDIE              GREENE             PA         51065964713
25473375471943   ANDREA              SELLERS            CO         90012193754
25473453931433   ELIJAH              STILESE            MO         90009544539
25474811157157   MARISSA             MCGINNIS           VA         81068518111
25475453571928   GOETZ               MELISZA            CO         90008294535
25475469741245   DONALD              WEBB               PA         90005544697
25475913891828   ANGELA              BRONSON            OK         21009129138
25477288781661   KIA                 OATES              MO         90003052887
25477592251328   LUIS                MOJICA             OH         66014585922
25477698455957   ERLINE              JOHNSON            CA         90014816984
25478517731631   JAMES               WILKINSON          KS         90010825177
25479245781633   TIM                 BUTT JR            MO         29048582457
25479678793731   BARBARA             ANDREWS            OH         90006856787
25481961731631   MICHAL              WIELAND            KS         90007509617
25482542371943   REBECCA SLAUGHTER   REAL STATE         CO         90007835423
25482735957157   JESSICA             MENTON             VA         90011347359
25484348991582   LUIS                SALAZAR            TX         90003473489
25484868671928   GABRIELA            RAMOS              CO         90013798686
25485573391522   SARAI               CHOCOTECO          TX         90014015733
25485923291522   ROSA                ADAME              TX         90010959232
25489623971643   BARBARA             RIGGS              NY         90012756239
25489846671943   ALEXIS              JOHNSON            CO         90013008466
25492233781661   RAYMOND             DELANEY            MO         90014182337
25492764451328   TIM                 WILLIAMS           OH         66052607644
25492782931453   TIMOTHY             FISHER             MO         90013207829
25494686957157   OMAR                TORRICO            VA         90005686869
25494955791241   BARBARA             WILKINS            GA         90001189557
25496883593762   JESSICA             GOINGS             OH         90011678835
25496937531631   VICTORIA            HILL               KS         90011049375
25497497381637   RAYE ANN            SHANE              MO         90013314973
25497736557157   AIDA                BRAVO              VA         90014927365
25497752571928   BRENDA              WOJTECKI           CO         32062617525
25499466771928   RYAN                SWANSON            CO         90009994667
25499688551328   STACEY              WEST               OH         90008636885
25499846272447   SANDRA              JONES              PA         90005008462
25512943591828   ANGEL               DIXON              OK         21024749435
25513338981661   JUAN                SALDANO            MO         90014203389
25513858371928   CHRISTOPHER         FRANKLIN           CO         90007908583
25514724657157   FEKADE              MERETO NIDA        VA         90001517246
25515198831631   PATY                CARONA             KS         90010001988
25515333331453   CHIQUITA            POPE               MO         27563453333
25515572371928   MICHAEL             ADER               CO         32007275723
25515964555957   KAREN               LAURANCE           CA         90012469645
25516224155957   ITZEL               ACOSTA             CA         90013182241
25516272991828   TRUMAN              KEPLINGER          OK         90013762729
25516914661974   JOHN                DELCASALE          CA         46059719146
25517284891528   JENNIFER            MARTINEZ           TX         75036442848
25517639755957   ANNISAH             VILLAGRAN          CA         90011606397
25517914661974   JOHN                DELCASALE          CA         46059719146
25518198772447   FERDINAND           STRIDINGER         PA         90011891987
25518566491522   SANDRA              JOHNSTON           TX         90002725664
25519192551328   BOBBIE              SCHOCK             OH         90013061925
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25521164131441   THOMAS       VOLTZ                     MO         27526691641
25521524591828   PEDRO        ALBARES                   OK         90013265245
25521932351358   FREEMAN      CHERYL                    OH         90012369323
25523329971928   BYRON        HARDAWAY                  CO         90007423299
25523751793731   TASHIA       BOSTOCK                   OH         90011257517
25524265147952   KAY          SHARON                    OK         24057152651
25525498581637   WILL         DANIEL                    MO         29089584985
25526265147952   KAY          SHARON                    OK         24057152651
25527299281637   JAANGEL      WILLIAMS                  MO         29022332992
25527376251328   KENNETH      COLE                      OH         66019503762
25529659171928   AMANDA       TABACCHI                  CO         90015296591
25529754485938   ROBIN        PRESTON                   KY         67042147544
25531549357157   ALYSHA       GREEN                     VA         90010895493
25532119881637   BROOKLYN     MAYWEATHER                MO         90008391198
25532244591828   JAMES        PLATT                     OK         90013302445
25534185957157   YISENIA      IDALGO                    VA         90014821859
25534643955957   MARTHA       LASTER                    CA         90013176439
25535242171928   STEPHANIE    MANZER                    CO         90010902421
25535443791522   JAIME        CORREA                    TX         90014934437
25537664381637   JESUS        FIERRO                    MO         29032566643
25537769355957   MELISSA      LUNA                      CA         90010457693
25537876941245   JESSICA      ANDERSON                  PA         90005638769
25538132241245   EDWARD       GANDY                     PA         51042311322
25539641981637   JAMES        WITT                      MO         90013616419
25539873151328   MICHELLE     WEBBER                    OH         66023178731
25542165393731   STEVEN       ISAACS                    OH         90014631653
25542428355957   DANIEL       MARTINEZ                  CA         90000674283
25542995351328   NATHAN       HEATHCOCK                 OH         90014079953
25542997481633   BRIANNE      SOWELL                    MO         29089819974
25543217571943   JANICE       STURLANGSON               CO         32003342175
25543328291522   GABRIELA     ZAVALA                    TX         90005793282
25543394657157   ROGER        WILKINS                   VA         90011543946
25544383681633   JESSICA      PAGELER                   MO         90014713836
25544832671928   JEREMY       FITZGERALD                CO         32089138326
25546386971928   LANI         BOWERS                    CO         90002803869
25547385251328   NICHOLAS     DRISCOLL                  OH         90014043852
25547472891522   ELVIA        LOGAN                     TX         75025164728
25548159831433   EBONY        STRONG                    MO         90008511598
25548874955957   BRENDA       CHAVARIN                  CA         90006778749
25549288584364   GINGER       ARIAS                     SC         19013052885
25549399981661   SAVANNAH     MILLS                     MO         90014183999
25549425872456   ERIC         WELLING                   PA         90011674258
25549552151369   LESVIA       DELEON                    OH         66024685521
25551483455957   ENRIQUE      ORTEGA                    CA         90014454834
25551493693731   JODY         WILLIAMS                  OH         64505994936
25551687991522   FRANCISCO    AGUILAR                   TX         75025166879
25552493693731   JODY         WILLIAMS                  OH         64505994936
25553512355957   DAVID        CARRANZA                  CA         48035985123
25554119131453   BRANDI       FOUGHTER                  MO         90009171191
25555122251328   RYAN         CARMACK                   OH         90010471222
25555833631631   LINDA        BOWEN                     KS         22035028336
25557452591828   MYESHA       CEASAR                    OK         21029404525
25558897555957   DORIS        JOHNSON                   CA         48074798975
25559575931433   ELIZABETH    ROBINSON                  MO         27574255759
25561896581661   KAYLA        WINKLER                   MO         90015018965
25561935281637   DONNA        JOHNSON                   MO         90013219352
25562857531453   TIARA        ROBINSON                  MO         90011328575
25563468581633   TONISHA      ALEXANDER                 KS         90015094685
25564827351328   STEPHANIE    MCINTOSH                  OH         66051298273
25565154931453   ANTOINETTE   KERNS                     MO         90014711549
25565258271943   ALEX         ROJO                      CO         90014122582
25567391891828   DHEZARAE     CHAPIRN                   OK         90012103918
25568345271928   DANA         MARTINEZ                  CO         90007733452
25569162493731   MIKE         JONES                     OH         90010441624
25571219291522   DAWN         SPENCER                   TX         90002712192
25571625433651   LASHON       HILL                      NC         90012316254
25571627571943   MYIA         PENNINGTON                CO         90015286275
25572733357157   JOSE         VASQUEZ                   VA         90010827333
25575361791522   MONICA       PARRA                     TX         90007883617
25575382631631   MICHELL      HILTON                    KS         22095513826
25575797555997   EDUARDO      HERRERA                   CA         90004297975
25575844871943   DOREE        HIGGINBOTHAM              CO         90008948448
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25578259771224   PEGGY          MARTINES CAMPBELL       IA         90015132597
25582294693731   SHEILA         SMITH                   OH         90015222946
25582549272447   DOUG           SALYERS                 PA         51081155492
25584152351328   LESLEY         LINGO                   OH         90010991523
25584431191528   GABRIELA       AGUILAR                 TX         75084874311
25586288557157   UBALDO         SANCHEZ                 VA         81052382885
25586574491828   DESIRAE        STURDIVANT              OK         21090745744
25588168971928   ALAN           KEARLEY                 CO         90013731689
25589142881637   ILIANA         READ PENA               MO         90014061428
25589385291522   LORENA         MERANCIO                TX         90013363852
25589876855957   CARMEN         CERDA                   CA         90010278768
25592587661987   TRINIDAD       AVILES                  CA         90005925876
25592686381661   OSCAR          HERNANDEZ               MO         90014186863
25592977981637   AMBREE         ADIEN                   MO         90001319779
25593275793724   BRANDON        JACKSON                 OH         90006152757
25593331857157   EVA            KIRSCHNER               VA         90013293318
25593414181633   WALTER         BOLDEN                  MO         90013894141
25594356893731   SHIANNE        NASH                    OH         90011343568
25594369985938   MARCUS         OWENS                   KY         90010533699
25594888951328   TIERRA         YOUNG                   OH         90014828889
25595551785838   TOM            STEFFY                  CA         46020005517
25596137621677   GERMAN         FERNANDEZ               OH         90015051376
25597128581637   CHRISTOPHER    ROBBINS                 MO         90014841285
25598273871943   MARC           PARRA                   CO         32001652738
25598757781661   AMBER          GEISINGER               MO         29058847577
25599235657531   WILLIAM        SKINNER                 NM         90009382356
25611573161979   PAM            BJORKMAN                CA         90012635731
25612257571928   MAYRA          DELGADO                 CO         32049962575
25612786493731   BRIAN          MOORE                   OH         90011617864
25613494771943   REBECCA        CLARK                   CO         32000264947
25614476281661   M              WILLIAMS                MO         90010284762
25616997691828   ABIGAIL        JENSEN                  OK         90001549976
25617116391528   DELEANA        BUENO                   TX         90006751163
25617499657157   ERIC           STEWART                 VA         81017394996
25619939781637   MICHAEL        KNIGHT                  MO         90014399397
25621132891522   MARIA          DOMINGUEZ               TX         75030351328
25623434181637   JOHN           RUSTMAN                 MO         29012284341
25625394971928   JOHN           NISEWANER               CO         90015153949
25626164881661   MARIELA        ROCHA                   MO         90000451648
25626887847952   MISTY          HOODENPYLE              AR         24005888878
25627213531433   IBRAHIM        JUSIC                   MO         90006812135
25627359955957   ERIKA          RODRIGUEZ               CA         48052483599
25627619791828   GARRY          RAMSEY                  OK         21005976197
25628551693731   LONNIE         SAWYER                  OH         90014415516
25629217571943   JANICE         STURLANGSON             CO         32003342175
25629693857157   SEAN           GANLEY                  VA         90011146938
25632368981661   JONES          BRYAN                   MO         90011953689
25634486255957   MARIA          VEGA                    CA         90006044862
25634664472447   LINDA          MUDRY                   PA         90003596644
25634878491522   JULIAN         VEGA                    TX         90010388784
25634965981633   KYLE           LADING                  MO         90013079659
25634996891885   ESPIDY         GONZALEZ                OK         90012659968
25635949291547   LUIS           ALMANZA                 TX         75058789492
25637614971943   LUIZ ANTONIO   ORTIZ                   CO         90013716149
25638224731453   CASSANDRA      HAMMONDS                MO         27592442247
25638996271943   VANESSA        MARTINEZ                CO         90002959962
25641792171943   TANYA          HAWKINS                 CO         90012847921
25641997993731   MICHAEL        GORE                    OH         90013739979
25642423591949   ROGER          PATTON                  NC         90011634235
25642966431453   ANGELA         ROSITZ                  MO         90010969664
25643417351328   PAM            HELTON                  OH         90012334173
25643847881633   OLGA           VASQUEZ                 MO         90006318478
25644534861936   MOISE          DURANDISSE              CA         90010115348
25646637131453   DARICUS        VAUGHN                  MO         27560066371
25648187381637   TEE            WEATHERS                MO         90014711873
25648763693731   JASON          HORNADAY                OH         90012517636
25649537257157   CARLOS         FLORES                  VA         90011085372
25651295691522   GLORIA         SANDOVAL                TX         90011402956
25652848155957   KATHY          DAVIS                   CA         90012868481
25652918541245   MARY           MCALLISTER              PA         51033899185
25655762385938   LASHONDA       COULTER                 KY         67001207623
25656794321677   WANDA          BROWN                   OH         90015377943
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25656823471943   MARIA        RAMIREZ ALMARAZ           CO         90013258234
25659489171928   LUCINA       MORENO                    CO         90009634891
25659947251328   KYLE         TODD                      OH         90014889472
25661244231453   EMMA         CENDEJAS                  MO         27503482442
25661885551328   DRU          JEWETT                    OH         90015088855
25662746131631   GERARDO      ARMENTA                   KS         22045517461
25662841771943   MIKE         GUNTER                    CO         90004998417
25663694451328   ANDREA       RITCHIE                   OH         90011586944
25664492391522   PATRICIA     MARTINEZ                  TX         90008604923
25664833581633   DWAIEN       ROBINSON                  MO         29000998335
25665645171928   DONNA        GRIMALDO                  CO         90001546451
25666132757128   RAMIRO       ARAUJO                    VA         90010321327
25666485791828   TARO         BRISENO                   OK         90009484857
25666824291828   JAMIE        BRYANT                    OK         90013358242
25666846181633   TIA          CLINTON                   MO         90013728461
25667852531453   KIAWAYNA     WRIGHT                    MO         90001568525
25667931151328   PHILIP       HENSON                    OH         66019749311
25669595431433   TROY         HEMP                      MO         90014065954
25669924971943   KRISTINE     GOODMAN                   CO         90011909249
25672342955957   CINDY        CORTEZ                    CA         90000303429
25673131951328   CAMRON       MOCKABEE                  OH         90010151319
25673156691828   BRITTNE      SANDERS                   OK         90001801566
25673218193731   ALINE        MUKASEKURU                OH         90013752181
25674716793731   ANTHONIE     BEGLEY                    OH         64588947167
25674824957157   GILMA        SARAVIA                   VA         81060418249
25675224555957   DANETTE      GAYTON                    CA         90009472245
25675837351889   TYRONNE      BENDERS                   NY         90015408373
25676831355957   ALEXI        RIVAS                     CA         90013248313
25677433793731   RENEE        HEYAS                     OH         90008364337
25677444141245   KEVIN        PATTERSON                 PA         51011144441
25678357131631   JOY E        DOWNS                     KS         90002923571
25678492461985   ALMA         RICO                      CA         90003744924
25678921391522   MARIA        VASQUEZ                   TX         75025459213
25678946391828   ISMAEL       TORRES                    OK         90013249463
25679677571943   GARY         CROSS                     CO         90013376775
25682545991522   ANTONIO      GONZALEZ                  TX         90010685459
25683288872446   TAMMIE       DILLA                     PA         90011092888
25685151281637   DANITA       PRESIDENT                 MO         90014711512
25685252671928   FRANKIE      CURA                      CO         32016432526
25685746731453   RACHAEL      MOORE                     MO         90002517467
25687276557157   EDWIN        PEREZ                     VA         90014992765
25687465431631   MICHAEL      MAPLES                    KS         90014164654
25688561171943   RICK         ANDERSON                  CO         90014925611
25692425531453   MICHKELL     AKIMS                     MO         90009634255
25692488971943   JESSICA      MELLARS                   CO         32069204889
25693185581661   THOMAS       WEBB                      MO         90005701855
25694736171928   MAYELA       SANCHEZ                   CO         32061197361
25695217557157   ADRIAN       MARTINEZ                  VA         90013722175
25696643857157   MARTA        GUEVARA                   VA         90010186438
25697134357564   HANSEN       SHELLEY                   NM         90003801343
25697942757157   ODIR LEON    PALMA                     VA         90006839427
25699212781637   TOYA         WHITLEY                   MO         90004452127
25699917281637   ERIC         STEFFAN                   MO         90010659172
25711696457157   RODNEY       HARRIS                    VA         90010896964
25711965691522   CYNTHIA      HOWETTH                   TX         90011519656
25711995331453   TERRENCE     JONES                     MO         27529589953
25712223957157   YADIRA       HERNANDEZ                 VA         90012372239
25712522291881   SHANNA       MCKNIGHT                  OK         90008305222
25713527193731   PAM          FAVORS                    OH         64505255271
25713816657157   ROSLYN       DESERRANO                 VA         90015038166
25715433691547   BELTRAN      LAURA                     TX         90010024336
25715811891582   JOSE         SEJA                      TX         75008188118
25718912571943   ALYSSA       MARTINEZ                  CO         90005879125
25719772631453   SKILYAR      CHRISTIAN                 MO         90011127726
25721141272447   KENNETH      HARRIS                    PA         90014741412
25721592272447   DOMINICK     PELINO                    PA         90005765922
25722438855957   ULYSSES      RUVALCABA                 CA         90014264388
25722792972447   THOMAS       TROUTNER                  PA         90011337929
25728541584353   SHAWNTE      HENDERSON                 SC         90004815415
25728564555957   JARED        HAMMOND                   CA         48043845645
25728647881661   EDIS         MURILLO                   MO         90011786478
25732325791828   KATHRYN      LINSKY                    OK         90014413257
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25733125851369   LUIS         MARTINEZ                  OH         66057811258
25736953972447   CHARLES      WHITEHAIR                 PA         90013659539
25739396291828   LISA         CASTELLANOS               OK         90014923962
25741458151561   ADJO         PASSAH                    IA         90015344581
25741823481633   BETER        BIRXLER                   MO         90011478234
25741936141245   MICHAEL      MADDY                     PA         51062739361
25743447855957   PAMELA       CORWIN                    CA         90010434478
25743981331631   CARL         SUTTON                    KS         90014179813
25744332471943   ANASTASIA    BIGGS                     CO         90008033324
25744526291522   ARLENE       MCKINNEY                  TX         90008585262
25744732781633   RACHEL       MARTINEZ                  MO         90014837327
25744948431453   LANCE        MORRIS                    MO         90011489484
25744991291241   LARRY        JOYNER                    GA         14549459912
25751898957157   CRAIG        COMBS                     VA         90015318989
25752583131631   DEBORAH      PLASNER                   KS         22076105831
25752619151369   JOSEPHINE    HLAISI                    OH         66057826191
25754133971943   JESSICA      SMITH                     CO         32071151339
25754988691528   ELIZABETH    MEDINA                    TX         90001909886
25755753251328   JEREMY       DAYTON                    OH         90011147532
25757348891828   BRITTANY     JONES                     OK         90012763488
25758362181633   BRANDON      JONES                     MO         90010023621
25759527181661   TAMMY        BIGGS                     MO         29036115271
25761135355957   RICARDO      PINEDA                    CA         48061161353
25765155991522   JULIAN       VALLE                     TX         75002301559
25765241271928   ARTORO       PENALOSA                  CO         90015172412
25765426531631   CHRISTAL     WALKER                    KS         22085104265
25766462381633   BRYAN        WHITE                     MO         29078814623
25767335355957   MARIA        RAMOS                     CA         48006173353
25767784471943   KEENAN       BENDER                    CO         32030757844
25767911691828   BEVERLY      COLWELL                   OK         90014839116
25768751191522   DAVID        RODRIGUEZ                 TX         90014887511
25768855572447   GARY         BOHATCH                   PA         90014648555
25769434693731   JEREMY       BRIGHTMAN                 OH         90013074346
25769975581633   HEIDI        REYES                     MO         90008459755
25771467981637   KIMBERLY     FERGUSON                  MO         90012824679
25772118971928   LISA         LOCKE                     CO         32070201189
25772973572447   JAMES        GEORGE                    PA         90011529735
25773424872447   SAMEUL       SMITH                     PA         90013964248
25775972291828   ANGELIA      GARRETT                   OK         90000549722
25776974131631   JONATHAN     FOSTER                    KS         22035159741
25778254491522   ANABEL       JAQUEZ                    TX         75071122544
25778269391528   ANDREA       CORRAL                    TX         75094772693
25779434391528   NORMA        PEREZ                     TX         75081634343
25782916191828   KATHLINE     KELLEY                    OK         90008479161
25783133371943   BRUCELEE     RODRIGUEZ                 CO         90011901333
25783461457157   BRANDI       DELLINGER                 VA         90014364614
25783989391522   FRANKIE      STEVENS                   TX         90010959893
25784396272447   MICHAEL      ALLEN                     PA         90014103962
25785894972447   JAMES        LANG                      PA         51016108949
25788124657157   SARAH        MANCINHO                  VA         90013341246
25791889381637   YOLANDA      AUGUILAR                  MO         90012128893
25792537771943   JESUS R      RODRIGUEZ                 CO         32003415377
25792556872447   HEATHER      STIFFY                    PA         90012535568
25793935881633   AL           GREEN                     MO         90001739358
25794186251328   BRIAN        FIELDS                    OH         90012711862
25795491981637   ERIKA        ABRAHAM                   MO         90013294919
25796749431631   JORDAN       DIAZ                      KS         90014167494
25798421791522   ASHLEY       VILLALOBOS                TX         90014684217
25799229291522   ROSA         ESCOBAR                   TX         75045512292
25799533481637   TAMARA       BRISCOE                   MO         90003455334
25811663571928   EFRIN        GARCIA-ALVAREZ            CO         90004106635
25812575591528   ALICIA       VALLE                     TX         90005695755
25812863671928   CONNIE       MCBROOM                   CO         32070478636
25812927591828   DAWN         MYERS                     OK         90015219275
25813977357157   LUCIA        ESTRADA                   VA         81024719773
25815445871943   JENNIFER     NADEAU                    CO         90013724458
25816941981637   CATHERINE    LUCAST                    KS         90013289419
25817582555957   OIDIA        PELAYO                    CA         90001645825
25817658991522   CANDACE      DOMINGUEZ                 TX         75000986589
25818367755957   CRYSTAL      CONTRERAS                 CA         90011463677
25819538931437   YOLANDA      LEE                       MO         90012455389
25823396531631   MICAH        TIPTON                    KS         90008203965
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25825263871928   SYLVIA       PHILLIPS                  CO         90014172638
25827769391522   VANAESSA     VENZOR                    TX         90012977693
25828511571943   ANASTASIA    CARNEAL                   CO         90006455115
25828531397949   MARIA        VILLANUEVA                TX         90013965313
25828557293731   MICHAEL      HAMILTON                  OH         90011625572
25828718557157   FRANCES      DAY                       VA         90010147185
25831174972447   CHEYENNE     FOX                       PA         90008991749
25831426171943   RAY          VALESQUEZ                 CO         90012974261
25831564791522   LORENZA      CARDENAS                  TX         75075165647
25833429251328   STEVEN       MAYNARD                   OH         90008914292
25835114155923   CRYSTAL      WIGGINS                   CA         90011441141
25836241757157   VERONICA     RUIDIAS                   VA         90013902417
25836784191522   ARLEME       GARCIA                    TX         90004907841
25837691981661   KINDEL       WRIGHT                    MO         29010476919
25838643493731   TAVAHRIS     JONES                     OH         90013356434
25838742851328   DEBRA        LOPEZ                     OH         90012627428
25842773557157   ODIN         LOPEZ                     VA         81025027735
25843444391522   FILIBERTO    GONZALEZ                  TX         90011404443
25844191571928   ADELINE      LIPPINCOTT                CO         32088611915
25844597893731   RICK         MORGAN                    OH         90011625978
25845764331631   BRIDGETT     BYRD                      KS         90009907643
25845844691828   MISTY        BROADAX                   OK         90010788446
25846517731433   GRACE        DUNBAR                    MO         27570695177
25846928161957   JAIME        OCAMPO                    CA         46033339281
25846946691828   AINSLEE      DUBBS                     OK         21061779466
25847112593753   KENDRA       ENGLE                     OH         90012961125
25847449555957   SHERRI       JONES                     CA         90006454495
25848685572447   LOGAN        ARNOLD                    PA         90013816855
25849162441245   LISA         SMITH                     PA         51033841624
25851276585698   EVELYN       WILLINGHAM                NJ         90011392765
25851981771943   NOEMI        CASTELLON                 CO         90010059817
25852942131631   DONNA        LAMPKY                    KS         22054079421
25853156793731   SHERYL       BLESSING                  OH         64522881567
25853162555957   NATHAN       LOONEY                    CA         90008151625
25854562893731   LISA         RHINEHART                 OH         64551255628
25854934161986   CARLOS       PARRA                     CA         90001829341
25855984641245   AMR          BIUMY                     PA         90010109846
25856566955957   JESSE        ZAMARRIPA                 CA         90010155669
25856832791522   MARIA        BUSTAMANTE                TX         90009248327
25857416141245   JUSTIN       PUTZLOCKER                PA         51079694161
25857975651328   ROBERT       DEARDORFF                 OH         66080119756
25858163184359   CRYSTAL      CUMMINGS                  SC         90011481631
25859566491522   SANDRA       JOHNSTON                  TX         90002725664
25859592257157   JUAN         PEREZ                     VA         90012995922
25859595872447   ZACHARY      DEISEROTH                 PA         90014285958
25864922771928   RICHARD      CASTRO                    CO         90012759227
25865445193731   JOHN         SCEARCE                   OH         64597524451
25865469581633   ALAINA       WEBB                      MO         90008164695
25865982131631   DANIEL       DOOM                      KS         22036499821
25867442131631   GERARDO      MONTANEZ                  KS         22045534421
25867556757157   JULIO        CASTILLO                  VA         90011885567
25867566631433   RONALD       MARTIN                    MO         27547115666
25869635741245   SARAH        FEHL                      PA         90008826357
25871969193731   STEPHEN      MULLINS                   OH         90010999691
25872379791828   JOELENE      PETERS                    OK         90008513797
25874384891828   CYNTHIA      CHOTINIKORN               OK         90008513848
25874387981661   ANGELA       GILLETTE                  MO         90012143879
25874899893731   GARRY        CORBIN                    OH         90000418998
25874989691522   MELISSA      GARCIA                    TX         90013809896
25875328761986   IVETTE       LOPEZ                     CA         90014253287
25875493184381   JEANNETTE    MARTIN                    SC         14576484931
25875587655957   ANDREA       ARNDT                     CA         90014955876
25876414772447   RENEE        PILLART                   PA         90000444147
25876562951328   SELDON       HOWARD                    OH         90014635629
25876588381637   DEBRA        HURLBURT                  MO         90009335883
25877696391828   TONYA        BROWN                     OK         90014836963
25878969457157   ADA          QUINTANILLA               VA         90006699694
25879138771943   MYRA         KIMBROUGH                 CO         90002641387
25879785993731   LINDSAY      TATUM                     OH         90011627859
25881846341245   JULIAN       GRAY                      PA         90011838463
25882317381635   TRACI        KIMBROUGH                 MO         90013013173
25883536131453   PAULLETTE    COX                       MO         27543155361
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25884421355957   SABRINA      REYES                     CA         90003584213
25885343757544   CHRISTINE    STANFELL                  NM         35579533437
25885733691522   CARMEN       BANDA DE ARCE             TX         90007697336
25887235371943   ERIC         LOPEZ                     CO         90013932353
25888151157157   SHONDA       WILLIAMS                  VA         90014721511
25888534877577   JESSICA      HUERTA                    NV         90012355348
25889562131453   STEPHANIE    WYATT                     MO         27597305621
25889698271943   JASON        YORK                      CO         90002046982
25893634371928   JASTER       TUIMALEALIIIFANO          CO         90013176343
25893911757531   ARACELY      PARRA                     NM         90013459117
25894767355957   BRANDIE      SMITH                     CA         90000837673
25895821971943   DANIEL       CITILAN                   CO         90011958219
25896262572447   MYRNA M      NEGLEY                    PA         90002302625
25896263731631   MARIA        CORDOVA                   KS         90014182637
25896971793731   PAUL         MILLER                    OH         90015079717
25898336191828   CASSANDRA    OPPERMAN                  OK         90015343361
25899885191522   ROSE         HERNANDEZ                 TX         90014848851
25911199893731   CORTNEY      ERISMAN                   OH         64520761998
25911776571928   VIRGINIA     VALOCCHI                  CO         32082667765
25913287481637   MAURICIO     ORTIZ                     MO         90013752874
25913439871928   SOCORRO      DURAN                     CO         32062814398
25913863343551   DEENA        BALLS                     UT         90001248633
25914466631453   CHO          BOY                       MO         90012474666
25915375381661   MELISSA      FOLK                      MO         90013123753
25917632451328   LEWIS E.     KIRK                      OH         90012456324
25917645541245   JAMEEL       DAVENPORT                 PA         51005076455
25918358571928   CARLA        LARA                      CO         90012103585
25919322684364   EVELYN       MIDDLETON                 SC         19013543226
25919662791522   ANTONIO      RAMOS                     TX         90011426627
25919686881633   ANDREA       KINSEY                    MO         29069346868
25921249172447   HOLLY        AHSMANN                   PA         51003852491
25921735671943   KALSEY       GRIER                     CO         32018237356
25922416631631   CAMILLE      STANDIFER                 KS         90014184166
25922768681661   KEITH        BRASHEAR                  MO         90014217686
25922867972447   LILLIAN      MORRIS                    PA         90012598679
25923246981637   CARMEN       TURNER                    MO         90007142469
25923416631631   CAMILLE      STANDIFER                 KS         90014184166
25923696381661   BRANDIE      EALEY                     MO         29008526963
25924845931631   BRADLEY      STERLING                  KS         22045608459
25925416631631   CAMILLE      STANDIFER                 KS         90014184166
25927538171943   COLLEEN      BJORK                     CO         90014515381
25927614493731   MIKE         AKEMON                    OH         64514146144
25927997691522   VALERIE      BELTRAN                   TX         75096349976
25928151185999   EDWIN        PAYNE                     KY         66030911511
25928996591522   IRENE        CERVANTES                 NM         90009119965
25929762781637   ROSE         SHIPP                     MO         29005477627
25929824991528   ROBERT       SANCHEZ                   TX         75017188249
25929934131453   NYESHA       WILLIAMS                  MO         90014759341
25931179371943   OLIVIA       JONES                     CO         90014531793
25932673881661   OLIVIA       CARTER                    MO         29002646738
25933358571928   CARLA        LARA                      CO         90012103585
25933767131433   JONATHAN     LAMBERT                   MO         27583277671
25933793791528   ASTRIA       RODRIGUEZ                 TX         90002317937
25934771331631   PAUL         GRIMM                     KS         90009687713
25934986571928   KERSTIN      APASTON                   CO         90009619865
25935113131433   DAVID        BURNS                     MO         90012241131
25936721431631   RAYMOND      POMPA                     KS         90002117214
25936953891828   JENNIFER     DOBSON                    OK         90014829538
25937937781637   FERNANDO     HERNANDEZ                 MO         29080139377
25942242891522   PABLO        FAVELA                    TX         75076762428
25942652471943   ARTEMIO      ALVARADO                  CO         90013556524
25943192657157   DUGLAS       PEREZ                     VA         90015161926
25943851781637   CARL         DORSETT                   MO         90007778517
25944171657157   MARGARET     SPANN                     VA         90010901716
25945564231631   JOSH         SCHROEDER                 KS         90000305642
25946546151369   REBECCA      BURTON                    OH         66058395461
25946849271943   JEAN         PARFAIT                   CO         90012418492
25947554791522   AMARIS       GARCIA                    TX         90009765547
25948114731453   KATELYN      FUCHS                     MO         90013321147
25948432357157   SARA         GORDON                    VA         90010914323
25948714681661   RASHANDA     MCMILLON                  MO         29072827146
25948881972447   BILL         ROSS                      PA         90007128819
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25949566955957   JESSE         ZAMARRIPA                CA         90010155669
25951632955957   ANTONIO       AREVALO                  CA         90005696329
25952285971943   ANGELA        AGUILAR                  CO         90014212859
25952354351328   TYLER         CRAIN                    OH         90012473543
25952614557128   KEITH         SMITH                    VA         90014816145
25952657331453   TONYA         DEDEAUX                  MO         27511666573
25953242271928   CARL          GIEM                     CO         90010312422
25953695881637   MARTA         LILIA MENJIVAR           MO         90008026958
25954943671943   HENRIETTA     JONES                    CO         90002959436
25955128672447   BETTY         ALLEN                    PA         90013441286
25955338831453   JACQUELINE    THOMAS                   MO         90013983388
25955912181661   ANJIE         WILLIAMS                 MO         29077409121
25957217557157   ADRIAN        MARTINEZ                 VA         90013722175
25957264231433   CHARLES       WHITE                    MO         90011872642
25957521371943   MATTHEW       MYERS                    CO         90014385213
25958286731453   LAVONDA       DAVIS                    MO         90012442867
25958981591828   SARAH         SNIDER                   OK         90014329815
25962697831433   BEVERLY       SHELBY                   MO         90011746978
25964821271928   JOSHUA        WIGGINS                  CO         90014088212
25965523691522   AGUSTIN       CHAIREZ                  TX         90007795236
25965656681661   SHERIHA       GANT                     MO         90009656566
25965723671943   MARRYANNE     PARRA                    CO         90014407236
25965748191828   DANA          WEATHERFORD              OK         21033947481
25966945181633   DAVID         VOHLAND                  MO         90006699451
25968595971943   ELIZABETH     HEY                      CO         90010965959
25971133871928   DANA          JOHNSON                  CO         90013651338
25971874491522   GLORIA        MORENO                   TX         90002088744
25973763141245   HELENA        DOMBROWSKI               PA         51083437631
25974641757121   DANIELLE      RODD                     VA         81010626417
25975849181637   KRISTINA      KEENE                    MO         29061778491
25976979251328   AMY           LAMB                     OH         90013079792
25978185331453   EBONY         MORELAND                 MO         90012071853
25978856972447   ASHLEY        ABBOTT                   PA         51085378569
25978882472456   NATHAN        DOOLEY                   PA         90012598824
25979346791828   JERIMIAH      SEALS                    OK         90011453467
25979359855957   MATHEW        MOORE                    CA         90015003598
25983291671943   GERARDO       MARTINEZ                 CO         32080362916
25983874891528   GLORIA        ESPINOZA                 TX         90008518748
25985653891522   VICTOR        GARCIA                   TX         75080066538
25985791555957   MICHAEL       CHAVEZ                   CA         90003737915
25987536293731   VERONICA      VOGE                     OH         64594075362
25988134271928   VICENTE       NATIVIDAD                CO         32065231342
25988544131433   LACEY         HOLLOWAY                 MO         90000435441
25988953855957   CHRISTOPHER   HART                     CA         90012769538
25989715361979   RENE          JONES                    CA         90010217153
25991848331433   TRAVIS        YOUNG                    MO         90011748483
25993585985938   TONY          SMITH                    KY         67002985859
25994673431453   TASHIKA       THOMPSON                 MO         27578826734
25995884971928   BELLA         RAMOS                    CO         90013148849
25996225891828   RENEE         JOHNSON                  OK         90014542258
25996273491828   RENEE         JOHNSON                  OK         90015132734
25996664671928   TRISTAN       COLSON                   CO         90015206646
25997583431453   BRIDGET       WOODFORK                 MO         90010805834
25998393871928   CESAR         FLORES                   CO         32025963938
25998548657157   LATOYA        HENSLEY                  VA         90003785486
25999612981633   SHANTEL       BROWN                    MO         90014976129
25999759472447   PATRICIA      YOUNG                    PA         90012187594
26111616684344   SUSAN         JAMES                    SC         90001446166
26113221293727   LINDA         MCCUTCHEON               OH         90009042212
26113881391953   ESSENCE       ALLEN                    NC         90009778813
26113935291522   NORMA         GONZALES                 TX         90012379352
26114153185938   PAULINO       CONTRERAS                KY         67085931531
26114782955977   NOE           TORRES                   CA         48077517829
26116165355957   JOSE LUIS     MUNOZ MONTALVO           CA         90009541653
26116562661979   KEITH         NORTON                   CA         90009285626
26116687171943   MAURA         CORDERO                  CO         90011726871
26117535531631   MICHAEL       SCOTT                    KS         90001395355
26118783781661   NANCY         LEGGIO                   MO         29003137837
26119472691828   GRISELDA      SIERRA                   OK         21000504726
26124163957157   YOUMAN        COLEMAN                  VA         90003461639
26125463591828   TEREZA        TOMAS                    OK         90014984635
26126935884364   ASHLEY        WIGGINS                  SC         90011889358
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26128187185938   CARRIE       RODRIGUEZ                 KY         90011091871
26129917755977   ROSA         LEMUS                     CA         90002759177
26131647191241   ELIZABETH    PARE                      GA         14587276471
26134688391953   JORGE        RAMOS CALIX               NC         90014956883
26135266991953   TYSON        MCDONALD                  NC         90013622669
26135325155957   RONALD       BRIGHTWELL                CA         48088533251
26137256457157   JEROME       AUSTRIE                   VA         90012512564
26137412755977   MELISSA      MARGARITA                 CA         90013984127
26141497154123   SHARI        FUNKHOUSER                OR         90013954971
26142619291582   MIGUEL       ARZATE                    TX         75093856192
26143747757157   ELMER        MELENDREZ                 VA         90014177477
26146516925144   CHRIS        HENDERSON                 AL         90015375169
26146888557157   KATHY        COLEMAN                   VA         90010958885
26146989531466   BELANCIA     BROWN                     MO         90013309895
26149616441245   HOLLY        TENNYSON                  PA         51096066164
26151122454123   ELIZABETH    COLLINGWOOD               OR         90012011224
26152399291953   BRYAN        HARRIS                    NC         90014523992
26154672691522   MARIA        ALMAGUER                  NM         90010216726
26159265691522   GILBERT      MARQUEZ                   TX         90012062656
26161354461936   CLAUDIA      CASILLAS                  CA         90014543544
26161529331631   RONALD       JONES                     KS         22063875293
26166129391828   STONEY       BOGGS                     OK         90008411293
26168197555957   KARA         LAMBERT                   CA         90006941975
26169262951369   BEVERLY      DUNN                      OH         66033702629
26171461191828   LETICIA      CORTES                    OK         90013774611
26171989784364   CASSANDRA    GOODYEAR                  SC         90013779897
26176672281661   ELVIRA       RODRIGUEZ                 MO         29024206722
26177592384364   SHAKARA      BLAKE                     SC         90014885923
26178623851369   ANGELA       BARGER                    OH         66011536238
26183187351333   DEBORAH      BEAMON                    OH         90008991873
26184863131453   BEVERLY HI   PHARMACY                  MO         27501088631
26185382255977   KAREN        GUTIERREZ                 CA         90012873822
26186729131631   ESTHER       RIVERA                    KS         90004867291
26187214255986   JUAN         RUIZ                      CA         90006562142
26188521655957   JOSEPHINE    VALADEZ                   CA         90005275216
26188551991828   CARLOS       PEREZ                     OK         21081145519
26189438291828   BRADLEY      WYRICK                    OK         90012834382
26189898581661   VILMA        MERINO                    MO         29087078985
26191272685938   JANNIFER     BUCHANAN                  KY         67085992726
26196326484364   NATERYA      GREENE                    SC         90012463264
26197163791522   MARIA        CRAWFORD                  TX         75094311637
26211831755977   ELVA         PEREZ                     CA         48032858317
26215459157157   JOSE         ROMERO                    VA         81026384591
26216225751333   RONISHA      HOBBS                     OH         90008852257
26218773655957   DANAE        WILLIAMS                  CA         90015297736
26221241791828   KRISTOPHER   GROVE                     OK         90014382417
26221334391953   TROY         GARNER                    NC         90013243343
26222136197132   CLYDE        VIRELL                    OR         44586381361
26223989784364   CASSANDRA    GOODYEAR                  SC         90013779897
26224465331631   JESSIKA      COOKS                     KS         22098074653
26226188557157   SONJA        STALLWORTH                VA         81067721885
26226669754123   LUCRETIA K   LAKE                      OR         90007376697
26227865391828   ASHLEY       CORONA                    OK         90012408653
26228917291828   JACOB        MCGUIRK                   OK         90014779172
26232291491828   REBECCA      BATTIEST                  OK         90005402914
26232369631631   RICK         SEARS                     KS         22065633696
26236286741245   JENNIFER     BLANK                     PA         51062282867
26236771991241   MELANIE      PARTAIN                   GA         14507167719
26237877355977   RAQUEL       RIOS                      CA         90015238773
26239321655977   JUANITA      RAMIREZ                   CA         90014833216
26241428291528   FRANCISCO    ORTIZ                     TX         75067794282
26242748755977   SERGIO       ARROYO                    CA         90014847487
26242842991522   MIGUEL       MURILLO                   TX         75024408429
26244364691828   TOMMY        MODLIN                    OK         90010963646
26244583591582   NOEL         PORTILLO                  TX         75095525835
26245713757157   COURTNEY     KIRKPATRICK               VA         90014217137
26247862931631   JOSE         TORRES                    KS         22043218629
26248132881661   BRIAN        BRATTON                   MO         29092741328
26248659291522   TERESA       REYES                     TX         75046386592
26251653981677   MICHAEL      LANDRY                    MO         90015006539
26254925457157   MIRNA        NUNEZ                     VA         81045269254
26256542891828   VICTOR       VALADEZ-MARTINEZ          OK         90014915428
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26257731255957   MARIA        TORRES                    CA         90011917312
26258538555957   BRANDY       MORADO                    CA         90014505385
26261915231631   TJ           TOMLIN                    KS         22013269152
26262424157157   ESBEIDY      LOPEZ                     VA         90008774241
26263599181661   MICHAEL      WOODFORK                  MO         29010665991
26264578591953   SHEENA       BODDIE                    NC         17092535785
26265285155923   TAMMY        ROSAS                     CA         49041802851
26265955555957   RUDY         MENDEZ                    CA         48062559555
26266354941245   DENISE       DECECCO                   PA         51094573549
26267293155977   ROSE         ORDONEZ                   CA         90011072931
26267499833686   JACKIE       WATSON                    NC         12005854998
26268475291522   MARYL LU     BUENO                     TX         90003664752
26268635791528   MARQUEZ      LETICIA                   TX         90011616357
26268785941245   ANITA        COATES                    PA         90013467859
26268868131453   RUTH         PAYNE                     MO         27508388681
26269469491953   MONIKAH      FISHER                    NC         90013634694
26271262955957   MABIL        FLORES                    CA         90010542629
26272412631453   THERESA      EVANS                     MO         27575324126
26278345391522   ADAM         REINBOLD                  TX         90013593453
26278523391953   IRIS         RAMOS                     NC         90010615233
26282294984364   LEO          ROSAS                     SC         90013422949
26282322291522   JOANN        MARTINEZ                  TX         75049983222
26282362191528   RAY          CASTILLO                  NM         75017533621
26282586951369   MICAH        MCMULLEN                  OH         90006785869
26283979391522   XAVIER       SANDATE                   TX         90012969793
26284365141245   BEVERLY      DIMOND                    PA         51054863651
26285286741245   JENNIFER     BLANK                     PA         51062282867
26285568855957   ANDRES       SEGURA                    CA         90003675688
26286786791828   RYAN         ARTERBERRY                OK         90013457867
26288919984364   LUIS         RIVERA                    SC         90012119199
26292934491828   SAMANTHA     DENT                      OK         90012369344
26293572791241   PEDRO        GASPAR LAZARO             GA         90011425727
26294482291241   GEORGE       AKINS                     GA         90002704822
26294593457157   ISHMAEL      GERMANY                   VA         90012525934
26295682491828   TABRIA       BROOKS                    OK         90007036824
26297444991241   SHELIA       SCOTT                     GA         90004224449
26297489455957   MCKINZIE     GRAY                      CA         90003444894
26298764491967   YESENIA      MENDOZA                   NC         90010747644
26299396991522   VALERIE      MIRANDA                   TX         90002233969
26313342955957   CINDY        CORTEZ                    CA         90000303429
26314664791953   KAYLA        SCOTT                     NC         90011176647
26316893491953   KEISHA       MANGUM                    NC         90012028934
26317438555957   ALAN         MENDOZA                   CA         90013794385
26317455655977   GEORGE       BURGOS                    CA         90004754556
26318671881635   ANGEE        HANEY                     MO         90008146718
26319723155957   MILDRED      RITCHIE                   CA         48070027231
26319846191227   SUSAN        PEEK                      GA         90009298461
26321528855977   PATRICIA     HERNANDEZ                 CA         48081525288
26322725391522   ROBERTO      ESCOBEDO                  TX         90014917253
26323197291522   ALEJANDRA    MUNOZ                     TX         90009441972
26323699731433   RONNICE      MOTTLEY                   MO         90013676997
26323778731433   RONNICE      MOTTLEY                   MO         90011767787
26324523391522   ARTURO       GUTIERREZ                 TX         90011515233
26324619684364   GEORGE       STEINBACK                 SC         90013986196
26324772691522   CARLOS       AIZ                       TX         90014437726
26328136855977   EDMUNDO      CASTANON                  CA         90014451368
26328549455957   PHILIP       DOUGLAS                   CA         48004515494
26328678491241   JERNICE      MCNEAL                    GA         90010276784
26333281691953   MELANIE      HARRIS                    NC         90009722816
26336221591528   GRICELDA     AMARO                     TX         75051182215
26336554131433   FELICIA      POPE                      MO         27507335541
26336764831631   RYAN         NULAN                     KS         90012147648
26337368655977   CLEOFAS      LUNA                      CA         90013503686
26337613991522   TONY         SPARKLZ                   TX         90013456139
26337818955977   ELAINE       GAYTAN                    CA         90008528189
26341162291953   JARMAR       NEAL                      NC         90014711622
26344276191953   URSULA       GOBBE NOKONOKO            NC         17002432761
26345925591828   AARON        OSTERLOH                  OK         90012099255
26347592457157   RUDY         CASTILLO                  VA         90010275924
26348332891953   WHITFIELD    WASHINGTON                NC         90014553328
26348449755957   JOAQUIN      MEDINA                    CA         90000304497
26349361531631   AIMEE        KONERT                    KS         22003923615
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26349784455977   OLIVER        BASS                     CA         90003927844
26353433731631   PETE          ALCAREZ                  KS         22075144337
26356752784364   ANTHONY       DAWSON                   SC         90011847527
26358436391241   NATALIE       THOMAS                   GA         90010704363
26359164591953   CHERREL       THORPE                   NC         90014711645
26359495191585   SAMUEL        MUNOZ                    TX         75084184951
26359582884364   JESSICA       HOLMES                   SC         90013885828
26361177491525   MIRIAM        FABELA                   TX         75027431774
26361194391953   JARED         BONILLA                  NC         17017321943
26361647755957   ROBERT        GONZALEZ                 CA         48062486477
26361898857157   TARSICIO      MONTENEGRO               VA         90013118988
26364381331433   LATIA         LEWIS                    MO         90008393813
26364913684364   EVODIO        HAYA                     SC         90005109136
26366675331433   MELISSA       STAMPS                   MO         27586436753
26367453631631   CHRIS         MENDOZA                  KS         22082424536
26369751355957   ALEJANDRO     ENRIQUEZ                 CA         90013987513
26369969651369   MARTIN        TARTER                   OH         66024919696
26371821855977   WILFREDO      RAMIREZ HERRERA          CA         90013378218
26374162555957   NATHAN        LOONEY                   CA         90008151625
26374595757157   RYAN          ANTWINE                  VA         90013635957
26375284181661   KAREN         HASS                     MO         29010692841
26376125691241   FREDDY        BURNSED                  GA         14591081256
26377752584364   OSMAN         VESQUEZ                  SC         90011297525
26381613491227   FELICIA       MCPHERSON                GA         90013076134
26386467655977   CAROLYN       WILLIAMS                 CA         48062644676
26386848157157   SALVADOR      GASCON MEJIA             VA         81097458481
26392647481661   KARENE        EDWARDS                  MO         29037186474
26393386591828   MATOYA        GARY                     OK         21057643865
26394858877977   PAYGO         IVR ACTIVATION            IL        90014608588
26396242481661   JERIANN       ROBERTS                  MO         90012712424
26396586191522   DARLENE       MARTINEZ                 TX         90008075861
26398589891953   JAQUAN        RAYNOR                   NC         90008255898
26399787857564   DOLORES       BACHICA                  NM         35513907878
26411611255957   JUANA         RODRIGUEZ                CA         90010786112
26412363557157   KEYOMIE       JENNINGS                 VA         90007973635
26413293191522   BOBBY         TOWE                     TX         90013432931
26415235491547   SAENZ         FRANCISCA                TX         90006962354
26422287791828   TASHA         HARRIS                   OK         90000792877
26422979891828   TASHA         HARRIS                   OK         90013099798
26423954391522   CRYSTAL       RODRIGUEZ                TX         75049979543
26424168857157   VIJAY         NAIR                     VA         90012531688
26426466891953   LACHOUNDA     WHITAKER                 NC         90008744668
26426881755957   WILFREDO      PIMENTEL                 CA         90014478817
26427547891522   ARTURO        MARTINEZ                 TX         90012335478
26427911555957   ROBERT        LOPEZ                    CA         90005099115
26432394855977   MARIA         SOLORIO                  CA         90010333948
26433142191953   GUSTAVO       B                        NC         90015261421
26433716691522   JULIAN        RONQUILLO                TX         90008017166
26433749131453   NEDRA         SMITH                    MO         27560487491
26441296891522   DIAMOND       ORTEGA                   TX         90012062968
26441885555957   YESENIA       HAMMOND                  CA         90014538855
26443519284364   DELLA         LEACH                    SC         90013835192
26444527591522   MICHAEL       POWELL                   TX         75079455275
26445146391522   MICHELLE      PALACIO                  TX         90013271463
26446815993742   CAROLYN       MARSHALL                 OH         90013258159
26447522131453   SERENA        MASON                    MO         27563805221
26449187441245   ALBERT        CHLYSTEK                 PA         51062291874
26457555231433   LYNN          SCHAFFNER                MO         27583125552
26457847991542   LORENA        HERNANDEZ                TX         90010848479
26458751161435   EMMANUEL      FLORES                   OH         90013897511
26459956691953   SHAREIKA A.   ORTIZ                    NC         90010969566
26463392855957   ENRIQUE       ALDACO                   CA         48056323928
26463442781683   RONALD        GARRISON                 MO         90012464427
26463965841245   MARSHA        CHAVIS                   PA         90008699658
26464674655957   ANGELA        BOX                      CA         90008376746
26465211831668   JUDY          HIGLEY                   KS         90000572118
26466282471935   ADRIAN        MADRIL                   CO         90012382824
26467319455977   ERIN          TURNER                   CA         90001313194
26467323157157   MATTHEW       CARROLL                  VA         90012603231
26469746591828   LORI          FOLEY                    OK         90011127465
26471359291522   JILLIAN       ESPARZA                  TX         90012823592
26471888861877   PAYGO         IVR ACTIVATION            IL        90004438888
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26472684155977   RAYMUNDO     ARIAS                     CA         48006066841
26472897557157   MERCY        ALBAN                     VA         90013508975
26475516455957   ANDREA       RYBURN                    CA         90007155164
26475881131433   KEIRRA       HITCHCOCK                 MO         27512628811
26478422891828   CHESTER      BURCHER                   OK         90007774228
26479978691241   TYWANA       ROYAL                     GA         90014449786
26482242555977   ROSA         RUANO                     CA         48077892425
26482767691522   CLAUDIA      CARREON                   TX         90014157676
26483471891953   KEVIN        ZEPEDA                    NC         90012454718
26484857391828   LISA         PENA                      OK         90014788573
26485331791522   ABIB         Z. PEREZ                  TX         75029013317
26485728691828   NICHOL       DAVIS                     OK         90011397286
26489116291522   JESSICA      RASCON                    TX         90014761162
26496322791241   DONALD       JONES                     GA         14592613227
26498436841245   ROBERT       DINKFELT                  PA         51000574368
26498681491953   ROBBIN       STREET                    NC         90013626814
26499685891953   SEQUOIA      SMALLWOOD                 NC         90013626858
26511182791522   EULALIO      HERNANDEZ                 TX         90010371827
26513744155986   MARIO        COVARRUBIAS               CA         49055437441
26515853881668   TAMIKA       MATTIC                    MO         90004188538
26515911457157   EDGAR        AMIREZ                    VA         90010219114
26517385591953   SABRINA      WHITE                     NC         90010433855
26518426791522   TORRES       ADRIAN T                  TX         90001434267
26518739781661   LATASHA      DAVENPORT                 MO         29035837397
26519586984364   CYNTHIA      HARRIS                    SC         90001805869
26523165884364   ROBERT       MALONE                    SC         90013961658
26524864591522   KAREN        HINOJOSA                  TX         90002418645
26524965131453   SARAH        MCVEY                     MO         27559739651
26525954631433   LADOMINIQU   NELSON                    MO         90004979546
26525967791953   LINDA        ALOMARI                   NC         17042989677
26526158184364   JUAN         LOMELI                    SC         90014051581
26527863851369   HERSTEL      COUCH                     OH         90003758638
26528114981661   DENNA        KENNEDY                   MO         29060511149
26528836241245   JAMES        PATRICK                   PA         90006458362
26532293155977   ROSE         ORDONEZ                   CA         90011072931
26533213255957   BILLY        BRYSON                    CA         90005522132
26534438891522   MAISIE       OLIVER                    TX         90013524388
26534872691953   JUSTIN       BAKERVILLE                NC         90002398726
26535723184364   HEATHER      THARPE                    SC         90014837231
26538468855957   RIGOBERTO    GARCIA                    CA         90009754688
26542553757157   ARA          DERBOGHOSSIAN             VA         90007715537
26542586891241   CINTHIA      ELLIOTT                   GA         90012725868
26545817955977   DANIEL       CANCHOLA                  CA         48003678179
26548937455977   SONYA        MARQUEZ                   CA         90006729374
26553372161939   LEONARDO     GUERRERO                  CA         90009383721
26554489791828   RAFAEL       MARRUFO                   OK         21003404897
26554863391935   YVETTE       ADAMS                     NC         90013928633
26555247291953   EDWIN        BRAME                     NC         17034762472
26555639355957   SAMUEL       MCMATH                    CA         48012286393
26561476691953   ERIKA        VILLAS                    NC         90006634766
26562183684364   JESUS        LLEVARINO                 SC         90013511836
26562442855977   IRMA         CANTILLANO                CA         90013984428
26565411255957   RAYMOND      LOYA                      CA         90011004112
26567529855977   KIMBERLY     KEY                       CA         90001375298
26567837761932   MEREDITH     TURNER                    CA         90006138377
26568331255957   FRANCISCO    ZARAGOZA                  CA         48093463312
26573113691522   EDGAR        BARRIENTOS                TX         75023931136
26573963271943   ELIANA       ACOSTA                    CO         90001449632
26576341333631   ROBERT       HEARTWELL                 NC         12010723413
26577246836158   WALTER       RENTERIA                  TX         90006482468
26577536557157   TONIE        EVANS                     DC         90004455365
26578435391828   EDWARD       MCDOWELL                  OK         90007774353
26578752484364   JIMMY        MARTIN                    SC         90006117524
26578771991953   TINA         TRICE                     NC         90011647719
26581287881661   PHILLIP      JOHNSON                   MO         29010752878
26581833857157   CHARLES      MENDS                     VA         90003268338
26584489391828   CEDRIC       WILEY                     OK         90015204893
26586129391522   VICTOR       SALAZAR                   TX         90013371293
26586854155977   JUDITH       FLETCHER                  CA         90010208541
26588824691522   LEE          MARQUEZ                   TX         90009998246
26591155381635   VICTORIA     HARRIS                    MO         90010941553
26591688181661   VICTOR       DAY                       MO         29013956881
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26592683141286   TONI         DOBRANSKY                 PA         51040756831
26595116255977   GUSTAVO      DIAZ                      CA         90002131162
26595173931433   RASHIDAH     MERRIWEATHER              MO         90000511739
26598475836165   DOMONIQUE    STALLWORTH                TX         73506494758
26599577191522   CYNTHIA      BERUMEN                   TX         90009285771
26612279851369   DARREN       COOK                      OH         66009172798
26612667361982   CARLOS       ORTIZ MENDEZ              CA         90000686673
26615186891522   JOSE         MARTINEZ                  TX         90003261868
26615246743586   KRISTON      PAYNE                     UT         90014612467
26616336291953   JOHN         DOE                       NC         90015023362
26618155255957   MARCELO      CARBAJAL                  CA         90012671552
26618862391953   MARIANO      FUENTES                   NC         90003448623
26621713391953   ANTHONY      STEWART                   NC         90004397133
26622393391231   TYRON        WRIGHT                    GA         90014683933
26622549257157   PAULA        ARCHIE                    VA         90011045492
26623558491828   NICHOLAS     TASSIN                    OK         90004795584
26623796385938   CARLA        DUNCAN                    KY         67011267963
26624449561921   JAMES        CLINKSCALES               CA         90004964495
26627485291828   ROY          NEEL                      OK         90009154852
26627516757157   DELMY        RIVAS                     VA         81043805167
26627891791522   DENISE       OLIVAREZ                  TX         75058898917
26628253731453   ERICHA       GILCHRIST                 MO         90009002537
26629438431453   RENEE        OTTS                      MO         27560224384
26633278655957   JOSE         MONTES                    CA         90014932786
26634926491828   TIA          RICHARDSON                OK         90014119264
26636733131631   FRED         SLAVIN                    KS         90013807331
26638257791953   DORIS        GREENE                    NC         17056642577
26641597984364   WILLIS       PAULK                     SC         90014635979
26641775991522   MARIA        MENA                      TX         75099137759
26642353655977   DANIEL       HERNANDEZ HUERTA          CA         90013733536
26643199391828   MARIBEL      PEREZ                     OK         90014441993
26643218241245   MELODY       YANCEY                    PA         90001812182
26644268897122   YARA         ALVAREZ                   OR         44574662688
26645599884364   DIKENA       MIDDLETON                 SC         90014685998
26647426655947   ALEX         ENRIQUEZ                  CA         90013024266
26647432285823   ARIEL        CRUZ                      CA         90005134322
26647526384364   JUANA        LETICIA                   SC         90011865263
26647781255957   GLORIA       GARCIA                    CA         48069677812
26648494941245   LISA         PRICE                     PA         51087824949
26648861355957   VIRGINIA     BARRAGAN                  CA         90010898613
26649471791528   RFAEL        RAMIREZ                   TX         90006864717
26652476491828   HOLLY        CARROLL                   OK         90012974764
26653492591528   VIRIDIANA    JAUREGUI                  TX         90005184925
26654785755957   HEAVANNA     SHERRILL                  CA         90013967857
26656889651369   TYANN        HARRIS                    OH         90009508896
26657962761974   JAVIER       CRUZ                      CA         90008999627
26658562291953   ADONICA      HARRIS                    NC         90009795622
26659617691528   VIRGINIA     CRUZ                      TX         75039076176
26665244155957   ELEUTERIO    LOPEZ                     CA         90014632441
26665615191828   LUIS         VASQUEZ                   OK         21053976151
26666399791241   STANLEY      WILLIAMS                  GA         90011083997
26667774591828   BRENTON      GUINN                     OK         90014727745
26669144455957   OSWALDO      SOLANO                    CA         90010481444
26669735955977   MIRANDA      BACKUS                    CA         48017147359
26671722184364   RONILCE      SANTOS                    SC         90013987221
26671822891828   LORI         WREST                     OK         90004648228
26672515557157   MAKEBA       MOORE                     VA         90013395155
26674341231631   WENDI        PHILLIPS                  KS         22091363412
26677396355977   KAYLA        DELGADO                   CA         48073833963
26677731171943   JARED        PROCTOR                   CO         32080177311
26678628955977   ANNA         RENTERIA                  CA         90011966289
26678681191828   DAMIAN       POWELL                    OK         90014516811
26678746891953   HALIMA       ALI                       NC         90015247468
26683788191522   JOSE         SANTIBANEZ                TX         75097867881
26683934751369   JANE         BOWMAN                    OH         66025149347
26683978931453   YOHANES      TEKLE                     MO         90007209789
26684336661935   DANIELA      GUTIERREZ                 CA         90010973366
26684342855977   SABINO       MORALES                   CA         90006053428
26684457455977   GUSTAVO      IBARRA                    CA         90013984574
26684623357531   IRMA         BORUNDA                   NM         90000216233
26685864355977   HECTOR       ENRIQUEZ                  CA         90014898643
26688464955977   CARMEN       VALDIVIA                  CA         48013364649
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26691737591522   JULIE          MORENO                  TX         90003357375
26692213791522   CORINA         MARTINEZ                TX         75042662137
26693293931453   RAMBO          BEMMING                 MO         90003012939
26695432981661   MICHAEL        CARDENAS                MO         90000444329
26696314591542   ERNESTO        PEREZ                   TX         90007983145
26696453331631   CRAIG          WATTS                   KS         90014554533
26696734291522   KRISTI         HARBEN                  TX         90012687342
26697778131433   CHARLOTTE      AUTTIN-HOLT             MO         27541247781
26699431391522   OSCAR CORPUS   CHURRO SPLIT            TX         90015024313
26711415791522   ALMA           CORDOVA                 TX         90005014157
26713224854136   TIFFANY        MERCHAIN                OR         90015062248
26713371191522   CLAUDIA        HERNANDEZ               TX         75012973711
26713986484364   MICHAEL        PHYALL                  SC         90008229864
26715986191522   ELIZABETH      HERNANDEZ               TX         90015229861
26719383255957   ASHLEIGH       THOMAS                  CA         90007303832
26719845491828   JUNE           ELLER                   OK         90010948454
26721946255977   SERGIO         GONZALEZ                CA         90006729462
26725131491828   ALYSON         SMITH                   OK         90011191314
26729645355977   SERINA         SOSA                    CA         90012336453
26734237291528   MARIA          ENRIQUEZ                TX         75095412372
26737389255957   MAETYCIE       JONES                   CA         48047843892
26738659691528   RICHARD        EDWARDS                 TX         90006866596
26738853891953   JENNY          EDWARDS                 NC         17038178538
26741872355957   MEGAN          MCINTIRE                CA         90014908723
26742293391953   ALICE          LACY                    NC         90006492933
26742918547826   YZAVIA         HARRIS                  GA         90010659185
26743383855957   JOSE GIBRAN    PINZON INZUNZA          CA         90012213838
26743436791828   DONNA          BARNES                  OK         90007584367
26745139391953   EBONY          JACKSON                 NC         90003001393
26745938685938   LAURENCE       HICKLING                KY         67086709386
26746633484364   VERONICA       FORREST                 SC         90012476334
26747256751365   STEPHANIE      BISHOP                  OH         90006912567
26747348257157   MYRA           BROWN                   VA         81028413482
26751477291828   SHELBY         OSBOURN                 OK         90013204772
26751652155977   JOHNNY         PEDRAZA                 CA         90012006521
26752285184364   DELORIS        YOUNG                   SC         90012212851
26753544155977   GABRIELA       REYNA                   CA         90012965441
26753931755957   SAVANNA        CARDOSO                 CA         48016299317
26754546551255   JEFFERY        DINICOLA                TX         90015065465
26755123731699   ANTONIO        MARTINEZ                KS         22039861237
26756279455977   OCTAVIO        GOMEZ                   CA         90015332794
26757327784364   MARLA          FIELDS                  SC         90011593277
26757735755977   ANTONIO        SUAREZ                  CA         90011347357
26759215141245   DAVID          BREITENBACH             PA         51098692151
26759459255957   STEPHANIE      CASTILLO                CA         90012854592
26761647257157   LISSETH        ABARCA                  VA         90012676472
26763975757157   SAU            LOPEZ                   VA         81040809757
26766274891828   JOHN           MUTANDA                 OK         90006912748
26766371831453   JOE            REISE                   MO         27583813718
26766393984364   JOSHUA         FLOWERS                 SC         90013033939
26766915991953   DONEIKA        DEMPSEY                 NC         90013839159
26767671955977   PATSY          PEREZ                   CA         90002916719
26768733431631   SHAKEITHA      SCALES                  KS         90008777334
26769626931433   TAMRA          CROSS                   MO         90006576269
26771286731631   DERRYL         GARCIA                  KS         90015432867
26772779591522   GRUMPY         P                       TX         90003557795
26774373323139   NELLA          THOMPSON                MI         90015273733
26775124291522   NICKIE         AHUMADA                 TX         75047951242
26775486957157   VERONICA       CHAVEZ                  VA         81029274869
26776149181661   ROSA           WILLIAMS                MO         29010811491
26777752791828   JORGE          RODRIGUEZ               OK         90013977527
26777771155977   JUDY           WESTGARCIA              CA         48022297711
26778955841245   WILLIAM        RAYYNOR                 PA         90005339558
26781566255977   BRANDI         PHENNEGER               CA         90012345662
26781684991828   SHELLY         TALLON                  OK         90013106849
26782728184364   JOSE           IGNACIO                 SC         90014337281
26783442991828   MARTHA         CHAVEZ                  OK         90001964429
26787189472421   GARY           SCHRAG                  PA         90006781894
26789353691241   KAMONA         GREEN                   GA         90014113536
26791756831631   JOE            BANI                    KS         90013527568
26792333257157   ANA            PATRICIA                VA         90009773332
26793193657157   MARIO          TRUJILLO                VA         81019411936
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26794252651369   TYLIN         HILL                     OH         90004052526
26794468284364   SUSAN         PICKENS                  SC         19014614682
26798263191547   LORRAINE      BELTRAN                  TX         90008982631
26798514131453   EDDIE         LOGWOOD                  MO         90003945141
26798555731631   DEVAUGHN      BROWN                    KS         22057275557
26798561155957   JUAN          GARCIA                   CA         90014415611
26798664751333   TALIKA        DENNIS                   OH         90012856647
26799216631631   KERRI         RICHARDSON               KS         22091932166
26811747691522   CORINA        ALVAREZ                  TX         90002567476
26811857155977   HOLIVER       GODINEZ                  CA         90013368571
26812569991542   ISABEL        SALAZAR                  TX         90011025699
26813395141245   DON           ROZAK                    PA         51049353951
26813683831433   JOSE          TERRAZAS                 MO         27541276838
26814982755977   MAYTE         VASQUEZ                  CA         90013909827
26816241655977   TAMMY         BRADFORD                 CA         90014392416
26816622581661   FALESHAE      ALLEN                    MO         90010516225
26817764631631   RAMARA        DEAN                     KS         22018927646
26821339191522   MANUELA       TREJO                    TX         75073283391
26822516591953   CHARLENE      RICHARDSON               NC         90013435165
26826538655957   ARACELI       JIMENEZ                  CA         90004195386
26828359555977   BLANCA        LOPEZ                    CA         90013943595
26831636855957   OSCAR         GARIBO                   CA         90007526368
26833349555977   LUCIA         FERNANDEZ                CA         90011843495
26833646455977   ALVARO        HURTADO                  CA         90014366464
26834348751353   LARRY         DELK                     OH         90010023487
26834512855977   JESSICA       GUTIERREZ                CA         48075735128
26835142291953   HUMBERTO      DEL CID PERAZA           NC         90001301422
26835442971933   MATTHEW       BAUMERT                  CO         90006054429
26835624257157   DANIELLE      PETERSON                 VA         81005186242
26836627455957   FRANCISCO     GAMBA                    CA         90001996274
26841946255977   SERGIO        GONZALEZ                 CA         90006729462
26843583491241   TONY          GARDNER                  GA         90012015834
26843923291833   JESSICA       MATTIX                   OK         90008759232
26844388784364   DAVID         THOMAS                   SC         90011923887
26844924155957   OMAR          RODRIGUEZ-MEDEL          CA         48068439241
26844977255977   LISA          PARKS                    CA         90009999772
26845815255977   SAUL          FRAJA                    CA         90006188152
26847454191528   RICK          CASILLAS                 TX         90011084541
26848585191522   BLANCA        RODRIGUEZ                TX         90014715851
26849949455977   YESSENIA      MARTINEZ                 CA         90003709494
26853197251369   IVAN          PACE                     OH         66095561972
26855483431631   JANIE         JOHNSON                  KS         22003304834
26856583457157   ELIO          OTTIZ                    VA         90007825834
26859373255957   RACHEL        SAUCEDA                  CA         90014583732
26859418291953   MARTHA        ALVAREZ                  NC         90012714182
26859551655977   CALEB         GUERRA                   CA         48079795516
26861517931631   LISA          SORSHEY                  KS         90008095179
26863431891828   RENAY         JONES                    OK         21058094318
26864196457157   MARVIN        ERNESTO GUERRERA         VA         90012741964
26864551781661   GERALDJERRY   SERGUSON                 MO         90004525517
26864827791241   JOHNNIE       MERCER                   GA         90002158277
26867538491953   YESICA        FLORES                   NC         17016545384
26867866155977   JOSE          DURAN                    CA         90006588661
26868265457157   WALTER        VALLEJOS                 VA         90012742654
26873122691241   SEAN          KANE                     GA         90011921226
26874773441281   TIMOTHY       ROBERTS                  PA         51083907734
26875353231433   KEITH         TOMPHSON                 MO         27585163532
26876179241245   DENISE        TERRELL                  PA         51074821792
26876186891953   CHISTINA      YATES                    NC         17000511868
26878461291522   DAVID         EDMONDS                  TX         75027774612
26878838355957   HEATHER       CUNNINGHAM               CA         90011418383
26879452557157   MARY          TORRES                   VA         90000134525
26881232291828   DESIREE       RANDLE                   OK         90008182322
26881589841245   STEPHEN       BODZINSKI                PA         90002675898
26882513655977   BRIANNA       FEAR                     CA         90014835136
26887696955977   MARILINDA     LUNA                     CA         90010106969
26888476957157   EMILIO        CHAVARIA                 VA         90010924769
26888499191241   VASILIY       RYBIN                    GA         90012994991
26888761791953   CHRISTINA     MIAL                     NC         90013617617
26889849755977   RODELLE       REED                     CA         48092658497
26891168785844   THOMAS        BAKER                    CA         90001761687
26891176284364   DONALD        ASHFIELD                 SC         90004901762
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26892253284364   DOMINIQUE        JOHNSON               SC         90013962532
26893517984364   GLENDA           MARSHALL              SC         19070125179
26894729591522   CONST            SPARTAN               NM         75058897295
26895884891528   SERGIO OSVALDO   ROMEO BARRIENTOS      TX         90006888848
26896627555957   DUSTIN           KINCAID               CA         90014326275
26897379891953   MARK             YOUNG                 NC         90013213798
26899229791828   RODOLFO          JUAREZ                OK         90012112297
26899588557157   RANDOLPH         CHENEVERT             VA         81030135885
26911223831631   RAY              SHUMAKER              KS         90009692238
26914965481661   MICHAEL          SUMBI                 MO         90010519654
26917833391953   STEVEN           TORRES                NC         90014378333
26918613781661   THOMAS           DOUGHERTY             MO         29002376137
26919283784364   BETH             BISHOP                SC         90005312837
26919623777523   CAREN            IDZINGA               NV         43050966237
26922641355957   ESMERALDA        LOPEZ                 CA         90004176413
26923797791828   BRITTAMY         HOUK                  OK         90006407977
26924277284364   ALFREDO          MERAZ                 SC         90011622772
26924446541245   MELISSA          KEENE                 PA         90013974465
26924476841245   KRIS             GAMBLE                PA         51085484768
26925583331453   PATRICIA         HENSLER               MO         27571025833
26927232855957   LADELLIA         SANDERS               CA         90011342328
26931333691831   ALONDRA          ESCOBEDO              OK         90011513336
26931554184364   AMANDA           DAQUINO               SC         90013945541
26931866291241   PAMELA           JOHNSON               GA         90001768662
26931886691227   ANGELA           HALL                  GA         90012268866
26933344555957   SLIVA            COVARRUBIAS           ID         48083323445
26935833391953   STEVEN           TORRES                NC         90014378333
26936153631433   JOANN            EWING                 MO         90001111536
26937126233644   DEWAYNE          LAMBERT               NC         12093451262
26938333455957   VERONICA         ARELLANO              CA         90011993334
26938612651369   JANET            WILLIAMS              OH         66033446126
26939754155957   RICARDO          CAMACHO               CA         90008737541
26942386484364   ANTONIO          HODO                  SC         90013963864
26943685284364   JAMI             JACKSON               SC         90013016852
26944546855977   REBECCA          URBINA                CA         48075305468
26944881655957   SUMMER           TERRELL               CA         90014528816
26945489397132   RICHARD          FLYNN                 OR         90011284893
26945498155977   CARLOS           DESOTO                CA         90001664981
26946552591582   MARIA            CARRERA               TX         75063755525
26947456691953   VELMA            SMITH                 NC         90004674566
26947725484364   SIMONE           PARKER                SC         90014937254
26952994491547   VERONICA         SILOS                 TX         90012539944
26953638157157   LISSY            RODRIGUEZ             VA         81004576381
26954319455977   SANDRA           RODRIGUEZ             CA         90002913194
26954762491953   JOHN             FISH                  NC         90012987624
26956129781661   PAYGO            IVR ACTIVATION        MO         90010521297
26956156957143   HEBER            FLORES RAMIREZ        VA         90010661569
26956787355977   JENNIFER         FAGUNDES              CA         48070937873
26957719184364   ROBERT           WELLS                 SC         90001487191
26958634684364   MONICA           MITCHELL              SC         19094586346
26959331391828   KEVIN            BENNING               OK         90014993313
26961137151369   VALENTIN         HERRERA               OH         66018091371
26961845391522   CRYSTAL          TARRANGO              TX         90000398453
26963316355957   ANGELICA         GONZALEZ              CA         90004753163
26964319691528   KAREN            APODACA               TX         90006893196
26965577957157   MILENA           GUARDADO              VA         90009615779
26965599491953   MABIALA          PHUATI                NC         17034325994
26967145555977   JOSE             OCHOA                 CA         48041051455
26967476841245   KRIS             GAMBLE                PA         51085484768
26971267957157   ZIYA             LANGFORD              VA         90009942679
26971837941245   LAXMI            KHATIWADA             PA         90002478379
26973254951365   SANDRA           JACOBS                OH         66061922549
26973475655957   YVETTE           RICKS                 CA         90009434756
26973755884364   ABDEL            UKASHEH               SC         90013987558
26974149591582   AIDE             AVILA                 TX         75063761495
26976839131631   TIFFANY          PAYNE                 KS         90014598391
26976962191828   VICTOR           VELAZQUEZ             OK         21033659621
26978621891828   DAVID            MARTIN                OK         90006666218
26979345685892   FELIPE           BAZA MORALES          CA         90013743456
26979831491828   DAWN             JOHNSON               OK         90015088314
26979837955931   GABRIELA         MEIJA                 CA         90000578379
26981364591828   KYEN             BURNS                 OK         90010983645
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26983315391953   PEACHIE      TURNER                    NC         90013693153
26983433584364   SHANNON      RUSSELL                   SC         90006314335
26984598855977   KIMBERLY     PHILLIPS                  CA         90013785988
26984843857157   DAMIANA      PORTILLO                  VA         90012748438
26985418755977   MARIO        QUIROZ                    CA         90013934187
26985978831433   TRICINA      FISHER                    MO         27541329788
26988146131433   VALARIE      HAYES                     MO         90005111461
26988288991953   ADAN         BARAHONA                  NC         90013122889
26988434331557   JOSETTA      DUFFUS                    NY         90012244343
26992112941245   MICHELE      FREEMAN                   PA         51036181129
26993528991953   PAULA        BEST                      NC         90002455289
26994129555957   STACY        MUSTIN                    CA         48096381295
26994591691323   TIFFANIE     CHEATOM                   KS         90014815916
26994642831433   LASHANON     NEAL                      MO         27592716428
26995846991522   ALONSO       HERNANDEZ                 TX         90013858469
26995929191828   STACY        QUEEN                     OK         90013899291
26996197731433   MERAJUDDIN   MERAJ                     MO         90011361977
26998865857157   MIGUEL       LOPEZ                     VA         90010268658
26999688891953   SANDY        JUDD                      NC         90012936888
26999746857157   BRYON        FELISKA                   VA         90012747468
27111749942565   BERNICE      SANDERS                   WA         90011307499
27113993631453   MOLLY        GREENBACH                 MO         90002239936
27117923191241   DEITRAI      QUIGLEY                   GA         90013229231
27118449991828   JAMES        PERRY                     OK         21019764499
27121273881637   KAREN        GRIGSBY                   MO         29055552738
27121823855957   DAVID        CABASOS                   CA         90011228238
27125281131453   PATTY        SIPES                     MO         27514332811
27127954381638   RELLY        RELL                      MO         90013519543
27128274491241   PATRICIA     LIBURD                    GA         90015432744
27128871391828   MELONY       PITTS                     OK         90013888713
27128932591542   LOURDES      PARADA                    TX         90001239325
27129986791356   JESSICA      PACHECO                   KS         90009349867
27131273655957   MARGARITA    GARCIA                    CA         90007942736
27132546993731   JEFFEREY     WASHINGTON                OH         64505625469
27133259391833   MICHAEL      MARRIOTT                  OK         90009032593
27134919331433   DAVID        GLENN                     MO         27517379193
27135748681637   KRYSTAL      PONCE                     MO         29015187486
27135854757157   SAJILA       KHAN                      VA         90012658547
27136545555957   ALEJANDRO    LARA                      CA         90009945455
27138551585822   JENNA        SPENCER                   CA         90014865515
27143773891592   JOSE         AVILA                     TX         90007767738
27144267377577   JAMES        COLLINS                   NV         90013302673
27145312985822   JENNILYN     ALANZALON                 CA         90001243129
27145443891356   MARCELA      AVALOS RAMIREZ            KS         90012174438
27145713191547   LUIS         ACOSTA                    TX         90009427131
27146291281638   KATIA        HERNANDEZ                 MO         90013252912
27147539291592   PATRICIA     QUIROGA                   TX         75014195392
27147551331453   LAURIE       MURPHY                    MO         27500045513
27147736181638   STANLEY      ECKERT                    MO         29070647361
27148381691592   JOSE         ALVAREZ                   TX         90013773816
27154537255957   DANETTE      GAYTON                    CA         90011645372
27155694857157   SANDRA       ORTIZ                     VA         81078836948
27155971581661   DANIEL       JONES                     MO         90012419715
27156495191547   DIANA        RUIZ                      TX         90010124951
27157148293731   KIM          COATES                    OH         64588841482
27159681591828   LESLIE       BACHNER                   OK         90002616815
27159782493723   REYNALDO     MARTINEZ                  OH         90002497824
27164463993731   DEBORAH      BULL                      OH         90010224639
27164524255957   JOANNA       RAMIREZ                   CA         90013875242
27165656455957   GUADALUPE    RIOS                      CA         90012056564
27166561585822   JOSEPHINE    ARCHULETA                 CA         46015015615
27166731841245   RANDOLPH     ADAMS                     PA         51076927318
27166837281638   KEVIN        RIGGLE                    MO         29090998372
27167239851338   DEBBIE       DERRISO                   OH         90010592398
27167249791828   JESSICA      BROUSSEAU                 OK         90000662497
27167736931453   KAENTH       MCCLAIN                   MO         90011837369
27168848351338   SHEILA       HANCOCK                   OH         90000698483
27168874693731   CHRISTINA    COMBS                     OH         90014728746
27169565943523   MICHELLE     RUSH                      UT         31038875659
27171888891356   NAKIWA       NORRIS                    MO         29074708888
27174753777338   TREVONNA     AUSTIN                    IL         90008377537
27175819985938   KRISTIN      BAKER                     KY         67087638199
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27177139291241   RAFAEL       CARRILLO                  GA         90004251392
27177287391828   MICHAEL      NORRIS                    OK         21050352873
27177525955957   AMBER        BRANHAM                   CA         90014265259
27177997481638   ANGELA       WALKER                    MO         90014239974
27179766585822   MIGUEL       GONZALEZ MEDINA           CA         90001387665
27181378731433   ALFREDIA     BONS                      MO         90005723787
27181383891356   ALEXANDIA    AREVALO                   MO         90015023838
27182496393731   FALLEN       KAYLA                     OH         90011024963
27183431591356   GAUDENCIO    RODRIGUEZ                 KS         29039024315
27183465191828   ROSHAWN      DALEY                     OK         21068894651
27184953385822   MARCELINO    ORNELAS                   CA         46001919533
27186699491828   ANDREW       FISCHER                   OK         21072116994
27187418491356   JOHN         VASQUEZ                   KS         29085404184
27188576785822   DINO         PALAVICINO                CA         90013785767
27188838791356   ADRIAN       TORRES                    KS         90000978387
27191445355957   JOANN        SORONDO                   CA         90013444453
27192461157157   JOSE         MARIN                     VA         90006994611
27194521391356   ADRIAN       GUERRA-DUARTE             KS         90013635213
27194623193743   DAVID        DENLINGER                 OH         90006316231
27195819791828   OSCAR        LOPEZ                     OK         90003788197
27197417691241   SHELIA       BARTLEY                   GA         14572714176
27198358831453   RICHARD      HAGAN                     MO         90011833588
27198693771923   ERIC         SCHROEDER                 CO         90002016937
27198937955957   ARMANDO      LULE                      CA         90006879379
27199253791241   MIKE         GREEN                     GA         90014102537
27199364157172   NELSON       GOMEZ                     VA         81013023641
27211389257133   KEVIN        DOMINGUEZ                 DC         90001203892
27211531281638   SHELLY       MATHEWS                   MO         90006815312
27212456261931   DANIELLE     PERRINE                   CA         90010844562
27212537381638   PAYGO        IVR ACTIVATION            MO         90013355373
27213935141245   BRIAN        FETZER                    PA         51007439351
27214616493731   JANEICIA     SMITH                     OH         90014616164
27214634691356   ANA          MENDOZA                   KS         90010156346
27215253355957   MICHAEL      WILLIAMS                  CA         90012282533
27216142561931   JOE          BATTOU                    CA         90013621425
27216242331631   RICHARD      LEWICK                    KS         22021322423
27218715891356   EFRAIN       PLANCARTE                 KS         90010157158
27218773355957   LAURA        RODRIGUEZ                 CA         90010187733
27219598391356   TABITHA      NORRIS                    KS         90013165983
27222717591592   ROSALINDA    MEDRANO                   TX         90011067175
27225735691833   ASHLEY       SANCHEZ                   OK         90009987356
27226943281638   KYLE         MERTZ                     KS         90005689432
27227441255957   MICHAEL      HALTOM                    CA         90009774412
27227817885822   ALEX         FERNANDEZ                 CA         90012258178
27228654793731   RONNESHA     MURPHY                    OH         90013256547
27231787291356   ARACELI      RODRIGUES                 KS         90007227872
27235722491241   KYLE         CONNERS                   GA         90009087224
27236299755936   DONNA        WOOD                      CA         90009122997
27237871785938   TIFFANY      BAILEY                    KY         90007278717
27241526741251   LYNN         STEINER                   PA         90002765267
27241826855957   HEATHER      FORTUNY                   CA         48009198268
27243423693731   JEFFERY      SMITH                     OH         90014604236
27243721291928   EMMANUEL     OYENEKAN                  NC         90003847212
27244713457143   MATIAS       TUFFA                     VA         90014927134
27247545791828   CASSIE       SCHNEBLY                  OK         90008025457
27247576891592   VALERIE      BARAY                     TX         90013295768
27248151391356   KRISTEN      BILLINGSLEY               KS         90014561513
27248217291828   PRECIOUS     ISAAC                     OK         90004262172
27248375355957   ALEX         DIAZ                      CA         90005703753
27249362631631   ADRIAN       TORRES                    KS         90013563626
27255946285822   ERIC         BOOTHE                    CA         90011539462
27256477191592   MONROY       ROSA                      TX         90010014771
27257363991356   MOHAMMED     MAHMOOD                   KS         29029453639
27259151681638   PATRICIA     WILLIAMS                  MO         29002221516
27259164191592   JAIME        MARQUEZ                   TX         75041111641
27262624977541   ANA BEL      JUAREZ AYALA              NV         90004226249
27263718691227   BRANDY       GLENN                     GA         90008937186
27266286391356   ALEJANDRO    CRUZ                      KS         90014602863
27267195291356   JALISA       POINTER                   KS         90011521952
27269976481638   EDDIE        THOMAS                    MO         90001639764
27271868181638   VANESSA      BETTS                     MO         90008928681
27272264591528   PEDRO        APODACA JR                TX         90000532645
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27274359551325   PHILLIP       NEEDHAM                  OH         90012933595
27274643155957   LOIS          MIRANDA                  CA         48083336431
27275614191356   JESUS         FLORES                   MO         90013866141
27275675654185   TYLER         TURNER                   OR         90002666756
27276619285822   LALINDA       WICKRAMASINGHE           CA         90002466192
27276898191828   JANELLE       BURTON                   OK         90014128981
27277828261931   CHARLES       CARRANCO                 CA         90009868282
27278699947952   TAMMY         SHAFFER                  AR         24087686999
27278872457123   DANIJELE      VUKOVIC                  VA         90001678724
27279449155957   MARY          GONZALEZ                 CA         48014974491
27279699947952   TAMMY         SHAFFER                  AR         24087686999
27281326957133   TODD          FRENCH                   VA         81008473269
27282665585822   BRADLEY       GUISE                    CA         90012386655
27283155991528   ROBERTO       MAYMI                    TX         90003281559
27283773281646   STEVEN        SIMON                    MO         90006307732
27285184331433   JONATHON      HARDWRICT                MO         27522731843
27285979891356   SANDRA        PEREZ                    KS         29044729798
27286939231631   DEBBY         SANROMAN                 KS         90005539392
27287222231433   ANNETTE       STEVENSON                MO         27568732222
27288326141245   ANTHONY       TURNER                   PA         90009693261
27289542791828   WAYLON        HUDSON                   OK         90013895427
27289938785822   JORGE         SILVA                    CA         46010989387
27294731281638   KATHLEEN      HAMLET                   MO         90013007312
27295622885822   NADER         SHAMMOUT                 CA         90013196228
27295642485938   MOHAMMED      QADIR                    KY         67087166424
27296685591241   TIMOTHY       HILL                     GA         90014916855
27298375591241   PATRICIA      ELLISON                  GA         90014693755
27298945231631   YOLANDA       JACKSON                  KS         22071689452
27299613781661   WILLIAM       BRADFORD                 MO         29018606137
27311573491356   KATIE         CARINES                  KS         90010275734
27312153281638   PAUL          EDWARDS                  MO         29045621532
27313151591528   MARIO         GONZALES                 TX         90011841515
27313275277541   CHARLEY       HANSEN                   NV         90006252752
27313416191356   TAMIKA        JOHNSON                  KS         29050734161
27313831381637   BONIDA        MCCOY                    MO         29076968313
27314547693731   SHAMAURI      BARNEY                   OH         90013385476
27315273655957   MARGARITA     GARCIA                   CA         90007942736
27315628757565   EDGAR         CEBREROS                 NM         90003766287
27315638891592   KARLA         VILLALOBOS               TX         90007786388
27316174181661   SHAWN         BERRY                    MO         90010431741
27317315691241   AGUSTIN       MORA                     GA         14579983156
27319831881648   ANTONIO       SMITH                    MO         29021888318
27323275591356   JASON         WILEY                    KS         29014452755
27325559591241   ANGEL         MACKLIN                  GA         90013375595
27326339841251   TIFFNY        DAVIS                    PA         90013703398
27326391581661   RICK          LACORE                   MO         90006563915
27327548231433   LEBROOKE      RODRIGUEZ                MO         90001575482
27328133241259   FRANK         JHON                     PA         90015331332
27328236993731   ALICE         ROBERTS                  OH         90010372369
27329127991592   LORI          TORRES                   TX         90014601279
27331326391356   LUIS          NAVARRO                  KS         90013963263
27331687931631   DIAMONTE      JEANS                    KS         90014206879
27331923581638   MARIAH        THOMAS                   KS         90014799235
27331956455957   VANESSA       LICON                    CA         90008649564
27332165784364   SCOTT         WHEELER                  SC         90006231657
27332167691927   PAIGE         HAGGETT                  NC         90005601676
27333797884364   JONATHAN      SMOAK                    SC         90010687978
27334781255957   YAZMIN        CORTEZ                   CA         90012057812
27335189491831   CARLA         WALKER                   OK         90009531894
27337765561997   JAMES         BYRNE                    CA         90004797655
27338556355957   JESSICA       LOPEZ                    CA         90014015563
27339972771923   CHRISTINA M   HERRERA                  CO         90011779727
27341268791833   SPENCER       FLETCHER                 OK         90003132687
27342576955957   CONNI E       STONE                    CA         90013655769
27343248391356   JORGE         REYES                    KS         90010752483
27344256355957   ALEJANDRO     ROJAS                    CA         90014672563
27344372891592   RODOLFO       MARTINEZ                 TX         90013393728
27344636185938   ANDRE         FRANKLIN                 KY         67061146361
27344723891828   RACHEAL       DEVILLE                  OK         90014037238
27345669755957   JASIVE        MEZA                     CA         48001906697
27346156881661   ALFRED        DAWKINS                  MO         29033091568
27347514891356   ANDREW        STUEVEN                  KS         90013555148
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27349383281637   TATIANA      SCHAFFER                  MO         29039373832
27349455455957   HELEN        VASQUEZ                   CA         48046374554
27351117781638   MILTON       BROWN                     MO         90014831177
27351128625144   TYIAMARTE    LINLEY                    AL         90015241286
27352126177523   MARITZA      HERRERA                   NV         90008971261
27352782291828   JAYE         MORRISON                  OK         90010747822
27352978385938   STACEY       WILSON                    KY         67013009783
27353634393731   MARYLOU      SMITH                     OH         64557646343
27353781255957   YAZMIN       CORTEZ                    CA         90012057812
27354333731631   CECILO       RODRIGUEZ                 KS         90013883337
27354876641245   DEBORAH      HOWZE                     PA         51011628766
27355743181661   THORNE       SPENCER                   MO         29016247431
27356964593731   TRISTAN      VEGEDES                   OH         90002589645
27358189581638   SUSAN        SEELEY                    MO         90013081895
27358725391528   ERIN         PORTILLLO                 TX         90005847253
27361123831441   WILLIAMS     TURNER                    MO         90014541238
27362352391241   FAITH        BENNETT                   GA         90012443523
27362873991828   SHANELL      MAYS                      OK         90011198739
27362963191356   VICTOR       MANSILLA                  MO         90002139631
27363487781638   KAT          EYES                      MO         90010074877
27364138893731   CASSANDRA    JOHNSON                   OH         90004641388
27364243485822   JARON        THOMAS                    CA         90014362434
27365376191241   TYRELL       JACKSON                   GA         90014923761
27369681154121   ESTHER       SIERRA                    OR         90014566811
27371343985872   KELLY        PHILLIPS                  CA         90010373439
27372666285938   KIM          RAY                       KY         90007366662
27372673755957   MARIA        MACIAS                    CA         90011246737
27373281157157   JENNIFER     WILKINSON                 VA         90002532811
27373383181638   ANGELA       PARKS                     MO         29026963831
27374698857157   FRANCISCO    MARTINEZ                  VA         90000916988
27377172785822   JOY          BINN                      CA         90008701727
27378197391592   ROBERT       MCCALL                    TX         75095051973
27378466991241   TOSHAINA     MELTON                    GA         90015004669
27379176991592   VERONICA     PALOMARES                 TX         90005671769
27381537391356   RENE         RUIZ                      KS         90014885373
27383889681638   JOSHUA       NIELSON                   MO         90012468896
27384382585938   IVAN         AGUILA                    KY         67071943825
27385561191547   ALMA         LUNA                      TX         90013365611
27386162781661   ANN          LANDOWN                   MO         29053731627
27386192931631   ROY          DARNALL                   KS         90000981929
27388165855936   EVA          NIGG                      CA         90007611658
27389391581661   RICK         LACORE                    MO         90006563915
27392487791592   MARLENE      CAMPA                     TX         90014854877
27392686355957   JOHNNY       RODRIGUEZ                 CA         90013326863
27393147785822   DIANA        NUNEZ                     CA         90014861477
27394262193731   DARRIELL     ROSS                      OH         64586482621
27394267685822   DUSTON       CRAWFORD                  CA         90014422676
27394861681648   LAURA        CASTILLO                  MO         90012788616
27395799351333   RAY          SMITH                     OH         90013377993
27395978791828   AGUSTIN      VARGAS                    OK         90014069787
27396224181638   MEGAN        BOND                      KS         90013662241
27397373433677   QUANSHELIA   TALLEY                    NC         90009163734
27398435991828   LEENAY       EASTLAND                  OK         90011304359
27398538155957   SOPHIA       CHISOM                    CA         90011655381
27412298885822   MIRA         WOO                       CA         90010462988
27412446991241   LACADIA      RANDOLPH                  GA         90013264469
27413279291528   LUNE         MAYRA LUNA                TX         90009072792
27413613991241   MICHELLE     LAW                       GA         90014836139
27413619691592   GRISELDA     MALACARA                  TX         90005796196
27413881931277   ALFREDO      JOFFERY                   IL         90015538819
27415229181638   SHONTRAY     GILBERT                   MO         29075122291
27418224133621   MONICA       FOWLER                    NC         90015222241
27419436555957   DULCE        MARQUEZ                   CA         90011254365
27419833591356   CHANEL       UNION                     KS         90012978335
27421451991592   BENNY        ONTIVEROS                 TX         90011314519
27423244191356   WALTER       MONTERROSO                KS         29091112441
27423416693731   MICHELLE     ALLEN                     OH         90011194166
27423483384364   EMUEL        GREEN                     SC         19027364833
27423958591828   MORGAN       GREENFIELD                OK         90010289585
27423997655957   SUSAN        OLSEN                     CA         90011559976
27424261891241   MARK         S CARPENTER               GA         14535102618
27425392231433   JASON        WALZ                      MO         90002643922
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27426964291525   ALBERTO      DELGADO                   TX         75096079642
27428692393742   ROBERT       EVANS                     OH         90012926923
27428755181648   VICKY        BURKE                     MO         29023127551
27429515491592   VIVIANA      GUEVARA                   TX         90009485154
27429694581648   JERRY        WRICE                     MO         29016146945
27431794455957   TABITHA      TOSTADO                   CA         90014757944
27432581491356   JEREMY       WILSON                    KS         29082315814
27433272591592   JUAN         GOMEZ                     TX         75072982725
27433613991241   HOPE         HOWARD                    GA         90009046139
27434626385822   ARACELI      SANCHEZ                   CA         90011966263
27435291691241   EMILIO       LOPEZ                     GA         90013652916
27436422251369   RYAN         NEAL                      OH         66046844222
27439757161986   JEFF         DECKER                    CA         90006357571
27439983991828   NECIA        WOLFE                     OK         21096929839
27441235655957   GARY         COTTON                    CA         90012772356
27441397591241   HARRY        HOPKINS                   GA         90007583975
27441615791356   JOSE         GARCIA                    KS         90011206157
27444752391592   VENNISE      DELGADO                   TX         90010767523
27447113593767   MEGHAN       MCFARLAND                 OH         90002141135
27448371341235   ALESIA       EVANS                     PA         90003473713
27449613881638   JULIUS       BRADLEY                   MO         90013936138
27452951593731   REGINALD     JACKSON                   OH         90014899515
27453989781661   CARLENE      MERRITT                   MO         29092959897
27454358391828   SHAKAUNYA    PIRTLE                    OK         90014023583
27454948151369   EDRESS       COLLIER                   OH         90001209481
27457379455957   REYNA        RODRIGUEZ                 CA         90002093794
27458472785961   CINJIN       HADLEY                    KY         90015274727
27458815147952   YOLANDA      IBARRA                    AR         24014818151
27459865181638   ANGELIC      WILLIAMS                  MO         29073848651
27461156991592   MARIA        PENA                      TX         75025201569
27461561691828   HARMANDO     CHAVEZ                    OK         21061265616
27462369561995   BASSAM       SHAMOON                   CA         46038913695
27463944477371   JEFFREY      GILMORE                   IL         90015029444
27465528372446   SHERRIE      DOMITROVICH               PA         51040335283
27466112785822   TRAVIS       STEFFENS                  CA         90010691127
27468552585822   MORGAN       JOHNSON                   CA         90011955525
27468655331433   SHERLANN     BELL                      MO         90012986553
27468762341245   YALONDA      SCOTT                     PA         51060817623
27468818261985   BEATRIZ      GARCIA                    CA         90001208182
27473568181638   PEGGY        RAMSEY                    MO         90002505681
27474374751369   MABLE        SANDERS                   OH         90007363747
27474826425144   MUJAHID      ASSAD                     AL         90015168264
27475974291528   MELISSA      HERNANDEZ                 TX         90013759742
27476191141245   CARMON       WILLIAMS                  PA         90003041911
27476193191241   BILLY        CREWS                     GA         90012811931
27476644981661   JAIME        MARTINEZ                  KS         90007686449
27477843981638   ASHLIE       STEWART                   MO         90013728439
27478129555957   MARCOS       MARTINEZ HERNANDEZ        CA         90008771295
27479193555957   KARANDA      PARKER                    CA         90013821935
27483556451326   RONALD       SCHROEDER                 OH         66048925564
27484635185822   AIOTEST1     DONOTTOUCH                CA         90015116351
27486514691356   MAMIE        SPRINGS                   KS         90014345146
27486974185822   JONNY        CASTANEDA                 CA         46010709741
27488593447952   MARIA        GUADALUPE                 AR         24072505934
27488777291356   EMMANUEL     GREEN                     KS         90013777772
27489139855957   VICENTE      BORGES                    CA         90013761398
27489556491592   DELIA        MARIN                     TX         75044165564
27491385691828   BENJAMIN     CALVILLO                  OK         90012533856
27491674181661   TAMEKA       SIMS                      MO         90007686741
27493438285822   HUMBERTO     SILLAS                    CA         90003724382
27496528791528   MICHAEL      GARCIA                    TX         90003285287
27496579481661   ASHLEY       DANIEL                    MO         90010955794
27496989341245   RAUL         LUCAS                     PA         90003979893
27497863393731   DAN          BUSSERT                   OH         90009938633
27511529581638   JOE          BOUL                      MO         90001245295
27513199255957   GABRIEL      VENEGAS                   CA         90014951992
27514618131631   PATRICIA     DANIELS                   KS         90013026181
27515686471924   VALERIE      VALDEZ                    CO         38095646864
27515842457157   JOEL         MARTINEZ                  VA         81043348424
27516124791356   AMBER        LINK                      KS         29023311247
27517125221688   DAVID        BLEIGH                    OH         90015331252
27519274481638   ALYSE        MIRANDA                   MO         29033902744
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27519853491241   DARNELL       STANBACK                 GA         90012228534
27521236185822   LAGUNAS       ELIDIA                   CA         46043242361
27521439993743   CHRISTOPHER   SCHLANGEN                OH         90011454399
27521687491592   HELLEN        MARTEN                   TX         75051646874
27522116441245   SHARON        WILEY                    PA         51039771164
27523228755957   SAMANTHA      PULLEY                   CA         90013822287
27523348941245   JERRY         MAY                      PA         51080173489
27524436381638   KORY          SNIDEN                   KS         90010474363
27525639641245   JESSICA       BRANDON                  PA         90009996396
27526523255957   JUANITA       MENDOZA                  CA         90015165232
27526843391241   DANIELLE      SALTER                   GA         90011108433
27527467591828   AMANDA        GARCIA                   OK         90015204675
27527656977534   HOLLY         STOUT                    NV         90001236569
27529289493731   RONDA         WILLIAMS                 OH         64561822894
27531753791241   TIMIKA        GOLDSMITH                GA         90015127537
27534984131631   ROBERT        DANIELS                  KS         90004339841
27536753291528   PALOMA        ULLOA                    TX         90005847532
27538628681638   PRINCESS      NUBIAN                   MO         29075066286
27539169651346   ERICA         SISCO                    OH         90008051696
27539612131631   GERGIAN       WEILERT                  KS         22004176121
27541347793767   LEONORAD      SHUMAN                   OH         64515403477
27541752791356   HAMDI         HOJIEV                   KS         90010967527
27543491381648   ANDRES        MARTINEZ                 MO         29064784913
27544278891952   QUESTON       WILDS                    NC         17011252788
27544278981638   JUAN          FRAUSTO                  MO         90004252789
27548388655957   WILLIAM       FREGOSO                  CA         90003393886
27548838241245   DONALD        CLEMENTS                 PA         51077208382
27551685355957   YOLANDA       ORNELAS                  CA         48095806853
27552525181648   GREG          GERING                   MO         29083835251
27553123355957   ROSEANA       ARRIOLA                  CA         90002531233
27553935155921   GUADALUPE     BRITO                    CA         90000499351
27555349691241   ROY           REAGAN                   GA         90014223496
27555475271221   TOM           BRUNKEN                  IA         90014624752
27556477491592   FRED          CAMACHO                  TX         75002754774
27556939231631   SANYALE       HOY                      KS         22080259392
27556969891241   RICHARD       FERYMUTH                 GA         90015179698
27558348993731   AMANDA        TERRELL                  OH         90007083489
27558512685938   DOUGLAS       BOND                     KY         67013025126
27558878391828   ELIZABETH     YARBER                   OK         21029388783
27559185391592   MANUEL        SAAVEDRA                 TX         75000631853
27561162941248   KEVIN         WESTFALL                 PA         90002301629
27561966491528   STEPHANIE     KLITZKA                  TX         75096639664
27562312657157   LUCILA        RUBIO                    VA         81016293126
27562388991828   ALICIA        MEYER                    OK         90013303889
27564281685875   BRIAN         LIVESAY                  CA         90010692816
27565749325142   WILTON        TERRY                    AL         90014837493
27566915991828   KELLY         DON                      OK         90012269159
27569489297121   SANTIAGO      GIL JORDAN               OR         90013784892
27572124555957   PABLO         FLORES                   CA         90013771245
27572889991356   CHANTEL       YOUNG                    KS         90010228899
27573517493731   CHERRI        KINDRED                  OH         90013345174
27574947731631   OSMAN         ABDENABI                 KS         90013959477
27575412985822   ABEL          GOMEZ                    CA         46039854129
27575482391592   EMMANUEL      DURAN                    TX         90014614823
27578671131453   LEIGH         THOMAS                   MO         27560396711
27579893531631   EDDIE         GIBSON                   KS         22066988935
27581928691356   ANTONIO       ROMERO                   KS         90012209286
27583361691592   MORALES       RAFAEL                   TX         75074493616
27584423885822   JOSE          SANCHEZ                  CA         90014324238
27584757891241   MEGAN         PROCTOR                  GA         14570627578
27585973441245   ANTHONY       ZUCCO                    PA         51066399734
27586223431631   RENEE         MORGAN                   KS         90011322234
27587611285822   MARTIN        BADES                    CA         90000866112
27591848481637   SHARON        MARTIN                   MO         29076118484
27593148291592   ALMA          RODRIGUEZ                NM         90003111482
27595723891592   ARMANDO       MONTEZ                   TX         90002107238
27595729181638   LATASHA       COOPER                   MO         90011537291
27596451531453   FRANKS        DARNELL                  MO         27535634515
27598749761997   OLIVIA        RODRIGUEZ                CA         90010917497
27598826581638   LETESHIA      JONES                    MO         90014318265
27611562354185   MAURICIO      BAEZ DUARTE              OR         90007675623
27612882541245   MICHAEL       REDMAN                   PA         51016328825
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27613662893731   YOLAND        PERSON                   OH         90014836628
27614136791241   SHIRLEY       HOWARD                   GA         90013721367
27614694131631   LEA           SORENSEN                 KS         90012496941
27616224241245   RENEE         STRIBLING                PA         51054522242
27616958391828   ROBERTO       ROMERO LEYVA             OK         90014969583
27616987191592   ROMIE         MACIAS                   TX         75016229871
27618322291542   LETICIA       RAMIREZ                  TX         75056283222
27621132731631   NUEMI         MENDOZA                  KS         90014521327
27621167491356   SHARON        SMITH                    KS         90012901674
27621497393731   SHARRON       HALL                     OH         90011204973
27622658593731   JAMAAL        HOLMAN                   OH         90011196585
27622672593731   CRIS          MOSS                     OH         90014606725
27624628691356   MARIA         MARQUEZ                  MO         90015096286
27632399985822   GUADALUPE     PEREZ                    CA         90012743999
27632918891592   AGUILAR       JUANA                    TX         90003969188
27634848593731   APRIL         KOPECKY                  OH         90007968485
27635135991525   DEBORAH       ZAMORA                   TX         90001081359
27635599691528   MARIO         RAMOS                    TX         90006275996
27635819791828   DIANA         GAYTAN                   OK         90009628197
27635852977371   ESTHER        ULMAN                    IL         90003878529
27637741931488   DELANCEY      PAYNE                    MO         27571867419
27638134955957   JHOVANY       MARTINEZ                 CA         90013771349
27638583231631   EDGAR         CONTRERAS                KS         90012845832
27639325691241   FRANKLIN      HENDRIX                  GA         90013653256
27639523555957   CINDY         PINON                    CA         90009775235
27641426391828   CONNIE        WOODS                    OK         90003244263
27641875272467   ANITA         LOJAS                    PA         90010868752
27642579891241   LILIANA       IBANEZ                   GA         90002125798
27642668633644   KAITE         HANSEN                   NC         90014816686
27644132891592   NACHO         ESCANDON                 TX         90003571328
27644842955957   CHANTILLEY    LEWIS                    CA         90009278429
27645892491828   FRANCISO      OSORNO                   OK         21033268924
27648364781661   ROXANNA       PENNINGTON               MO         29027723647
27648447785822   ANDREW        PRINGLE                  CA         90004424477
27651227991356   DORA          VERBENA                  KS         90007052279
27652449693731   AMERICA       GARCIA                   OH         90013894496
27653322693731   SHAWN         PAULEY                   OH         90011593226
27657368955957   ALICIA        MADRIGAL                 CA         90006103689
27657688257157   ELIESSER      MURILLO                  VA         90002876882
27658988385938   VICTORIA      PARKER                   KY         90009069883
27659366593731   MARK          WILLIAM                  OH         64555863665
27661893691356   REGGIE        HARRISON                 KS         90008568936
27663584191592   CESAR         GALVAN                   TX         90013295841
27663657291828   DAMESHA       ROSS                     OK         90010886572
27663726691592   NICK          HERNANDEZ                TX         90013267266
27664178791528   ADAN          SIERRA                   TX         75094241787
27665388191961   JENNIFER      PERRY                    NC         90006363881
27665427355957   CESAR         RAMIREZ                  CA         90014124273
27666333671943   REBEKAH       OLIVAS                   CO         90010833336
27666395331631   JANELL        SOELL                    KS         22061693953
27666976991592   ERNESTO       ANGUIANO                 TX         75035579769
27667354491356   JOSE          SANTIAGO                 KS         29006693544
27668387291828   DEBORAH       FAULK                    OK         21046433872
27668585951369   MONICA        MCGRAW                   OH         90007455859
27668645731453   CORTEZ        BROWN                    MO         27592486457
27671326961967   STEVEN        HARRIS                   CA         90004843269
27671516181661   WENDY         ANGUIANO                 MO         90000905161
27671755455923   KAREN         MENDOZA                  CA         90009767554
27674174691356   MAURA         GARCIA                   KS         90013861746
27675524231437   MYLES         HERVEY                   MO         90010395242
27679423193731   JASON         DURHAM                   OH         64597654231
27679661641245   VICTORIA      COCHRAN                  PA         51086596616
27681978191592   NORMA         OCHOA                    TX         90008739781
27686987861932   LAUREN        PICKARD                  CA         90011339878
27687855991356   AMIRA         KELLY                    KS         90004968559
27689227885822   CHRISTOPHER   CAMPOS                   CA         90013512278
27689321455957   RICARDO       GUARDAMUZ                CA         90014753214
27691147954129   GARRETT       RICHARDSON               OR         90010081479
27697552381661   PAUL          PROLAGO                  MO         29033485523
27699479491828   VIRIDIANA     GONZALES                 OK         90004264794
27711665391592   MARIA         LUCERO                   TX         75044136653
27712239555957   EVER          GUZMAN                   CA         90013022395
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27712333755997   MARIA        ARZATE                    CA         90000583337
27712482655923   JOSE         CAMILO                    CA         90013474826
27713635331631   SOLEDAD      IBARRA                    KS         90013386353
27713716581661   MARY         AKINS                     KS         90001527165
27713747491241   DYONE        YOUMANS                   GA         90014067474
27713866693731   JESSICA      SAUNDERS                  OH         90013728666
27715475791241   ROSHON       JOHNSON                   GA         14575554757
27715491681648   WILLIAM      WILSON                    MO         90001384916
27716814841245   MICHELLE     OSTRANDER                 PA         90010478148
27717984131631   ROBERT       DANIELS                   KS         90004339841
27718677691241   ENRIQUE      FUNES                     GA         90014876776
27722291791592   LYDIA        PINON                     NM         90009952917
27723375391592   CYNTHIA      MONTOYA                   TX         90002463753
27725181691828   MAY          BURNER                    OK         90004861816
27725333347952   KAREE        FULBRIGHT                 AR         24004113333
27726248891241   KENNITH      LADSON                    GA         90014852488
27728627781638   CHRIS        MENTZER                   MO         90013936277
27729593847952   ALICIA       PERRY                     AR         24063785938
27732637355921   MARTHA       RAMIREZ VARGAS            CA         48066356373
27732761855957   PABLO        MEDINA                    CA         90012617618
27732977881638   BRIEN        NEWTON                    MO         29089119778
27733129221688   DAVID        BLEIGH                    OH         90015331292
27734945391241   NJERI        JOSUE                     GA         90000089453
27735459584364   SAD'A        MILLER                    SC         19013184595
27738824781637   ANGELA       JONES                     MO         90005928247
27739275384364   HEATHER      CHINNES                   SC         90002322753
27739858781648   TRAVIS       STAPLETON                 MO         29097478587
27739976891356   ROSHUNDA     GARDNER                   KS         90011339768
27741321431453   KANE         DECKER                    MO         90004853214
27741423491241   MICHEAL      MORENO                    GA         90012814234
27741595781661   CLAUDATE     STEWART                   MO         90010735957
27741634981638   VANESSA      BRENSON                   MO         90004706349
27741848185822   CHARLIN      SENIGER                   CA         90013128481
27742463991542   POLANCO      DIANNA                    TX         90012864639
27743113431631   BREANA       CARTER                    KS         90013991134
27743167293731   JAMELLA      FLOYD                     OH         90009821672
27743371391241   JADYN        TAYLOR                    GA         90005543713
27743658791356   WENDY        BULNES                    KS         90013916587
27745826985822   JOAQUIN      CHIQUI TO ARELLANO        CA         46050238269
27746126557157   GERSON       DEPAZ                     VA         81034921265
27746836491241   MARICELA     FARIAS                    GA         90013608364
27746845181638   ROGER        MCCLAIN                   MO         90011538451
27747238431453   MONICA       DOUUBLE                   MO         90005582384
27747532251369   TOYAH        LEWIS                     OH         90008765322
27749781551338   DARRELL J    BOWLING                   OH         90002467815
27751461297128   JOHNSON      JOSHUA                    OR         90009774612
27752259355957   JENNIFER     PLOOY                     CA         90003882593
27755898193731   STEPHEN      MAINARD                   OH         90015148981
27761258541245   DOROTHY      WALLACE                   PA         51094792585
27762217385822   CURIE        NATUKUNDA                 CA         90012962173
27763438393731   CAROL        MOORE                     OH         90013654383
27766142881648   LINNEA       PLOWMEN                   MO         90005061428
27767133691828   RACHEL       HUGHES                    OK         90014391336
27767235781637   NIETA        CLAYTON                   KS         29074332357
27767435377562   JOSE         ZARAGOSA-HERNANDEZ        NV         90011224353
27769685855957   BILL         FLOSSY                    CA         90013906858
27772475693727   HERBERT      KILBURN                   OH         90013064756
27772843291241   BRENDA       RAMOS                     GA         90014778432
27773253293731   KHALIA       GRIFFIN                   OH         90011982532
27774765893731   JWON         PRESTON                   OH         90013647658
27774885891592   SOILA        MARTEL                    TX         75050888858
27775159681661   JAY          IKMAN                     MO         90009341596
27776673791592   RACHEL       ZARATE                    TX         75087596737
27776987693731   JENNIFER     SILVERS                   OH         90014759876
27778454957157   STELVIN      BAIRES                    VA         90002904549
27779117391352   ESSA         JALLOW                    KS         90001201173
27779337691356   HECTOR       MIRANDA                   KS         90008363376
27782526591828   JAVIER       ESPARZA                   OK         90009205265
27783192191844   MARANGELY    PEREZ                     OK         90012411921
27785939691528   VICTOR       LEAL                      TX         75010149396
27786178381648   KRISTEEN     JORDAN                    MO         90005551783
27788541991828   JENNIFER     SMITH                     OK         90013905419
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27788748491241   CALVIN        WILLIAMS                 GA         90012027484
27788957431453   YAG           GAY                      MO         27570649574
27789483791541   INES          REYES                    TX         90010054837
27791555631433   SANDRA        GRISBY                   MO         90014385556
27791584685938   TYRONDA       MOBERLY                  KY         67048385846
27791859991828   VICTOR        ALVARADO                 OK         90013388599
27794664584364   ROBER         CLEMENTE                 SC         19077406645
27794863861985   OSCAR         DIAZ                     CA         90014688638
27796445981648   CRYSTAL       CASTILLO                 MO         29033254459
27796755331437   LEAH          HOWARD                   MO         90002087553
27799166885822   GARCIA        ALVARO                   CA         46090201668
27812355491592   MARIA E       GAITAN                   TX         90009613554
27814157455957   CATHERINE     MORADO                   CA         90014541574
27814586661999   ELIEL         DIAZ                     CA         46009535866
27814734881638   NERVIN        DEDEAUX                  MO         90014077348
27816157455957   CATHERINE     MORADO                   CA         90014541574
27816669493731   SHATARA       CONNER                   OH         90014616694
27821798191589   FRANCISCO     CHAVIRA                  TX         90003907981
27822383381638   SOSA          ENTERPRISES              MO         90002373833
27824982955977   CHRISTOPHER   MARSHALL                 CA         90004159829
27825315991241   ANTHONY       CUTTER                   GA         90015443159
27826117291833   MARY          COOK                     OK         90002711172
27826974185639   MARCOS        ARAGON                   NJ         90010019741
27827363881661   JASON         RODRIGUEZ                MO         90011763638
27828214491356   ERICA         TYSON                    KS         90014172144
27828814785938   ROBERTA       WALKER                   KY         67088758147
27829292193731   KATIE         JONES                    OH         64514472921
27833159685822   ROSANNA       ZOLAYVAR                 CA         90012291596
27833894291356   AYDEE         PADILLA                  KS         90014478942
27837588771221   ADRIOUN       LARA                     IA         90014665887
27837744881638   BRENDA        OROZCO                   MO         90009267448
27837775881648   ROSELYNN      KUNTZ                    MO         90003437758
27841741455957   ELVIRA        TYLER                    CA         90009777414
27842375391356   ERIKA         FLORES                   KS         90012253753
27842543881638   SHANNON       STUVILLE                 MO         90011295438
27844985981637   SAMUEL        VARGAS JR.               MO         29024659859
27845183385822   ALFONSO       VALDEZ                   CA         90012631833
27845332885822   RANDALL       HOWARD                   CA         90011503328
27846142881648   TAMMY         MARTENS                  MO         90009571428
27846734391828   TERRELL       WASHINGTON               OK         90008727343
27847116181637   SHARON        OSAQIE                   MO         29020761161
27847561991828   KISHA         TATE                     OK         90014845619
27847998891592   ANTONIO       DOMINGUEZ                TX         75068009988
27848483291356   CESAR         GARZON                   KS         90010374832
27848564585822   JERRELL       YOUNG                    CA         46085045645
27848664671923   DANIEL        DAVIDSON                 CO         90005226646
27851581191592   ALMA          MERAZ                    TX         90009295811
27853694891592   JUAN          RODRIGUEZ                TX         90011526948
27854872631631   MAYA          MITCHELL                 KS         90010478726
27855218455957   SAUL          RUIZ                     CA         90013862184
27856134357157   CRYSTAL       BOLER                    VA         90004911343
27857265993731   TERRI         ASHMAN                   OH         64563922659
27863393691592   ISELA         GUZMAN                   NM         90013773936
27863845755957   ADELA         JACUINDE                 CA         90012588457
27864656955957   ANA           GARCIA                   CA         90004896569
27864721755921   FELIPE        VAZQUEZ                  CA         90002397217
27864913891927   MIGUEL        BALDERAS                 NC         90005099138
27865168791592   ALLEN         KIHARI                   TX         90014811687
27865479557157   ULISES        CRUZ                     VA         81016774795
27866822891828   KIMBERLY      WILLIAMS                 OK         90005788228
27868286693731   CRASE         DRILLON                  OH         90005832866
27869859791356   JESSICA       ROBERTS                  KS         90015138597
27871459291356   CATHERINE     AUDAS                    KS         90012154592
27872339791525   FERNANDO      BERNAL                   TX         90004413397
27872935784364   JOSE LUIS     HERNADEZ                 SC         19000209357
27873341891356   RICARDO       HERON                    KS         90009233418
27873592931453   JOHN          COURTNEY                 MO         27576755929
27873776885822   PAUL          HARBISON                 CA         90014877768
27875249891828   SHELEQUA      CALDWELL                 OK         90014812498
27876175655957   ARTHUR        GONZALEZ                 CA         90012651756
27876459691241   ZAMBIA        GEIGER                   GA         90012834596
27876583731453   JEANETTE      WILLIAMS                 MO         27574745837
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27876613131433   LUCRETIA      DOUGLAS                  MO         27510306131
27877847981661   MANUEL        ESPITIA                  MO         90009808479
27878681591592   CARLOS        GURROLA                  TX         75095416815
27879631291241   HUGO          PEREIRA                  GA         90013256312
27882413193731   TAMESHA       VAUGHN                   OH         64598054131
27883393861977   EFRAIN        PADILLA                  CA         46016533938
27885375331488   DOROTHY       DAVIS                    MO         90009303753
27886859191356   LILLIAN       JONES                    KS         29037208591
27887278585822   ERIK          DOMINGUEZ                CA         90012332785
27887995593731   JESSICA       MYERS                    OH         64598569955
27888252757121   MOHAMMAD      ANSAR                    VA         90003912527
27888795191592   GERARDO       MUNIZ                    TX         90000877951
27889867431453   CYNETRIA      WALKER                   MO         90001438674
27893472131631   GLADYS        MURRAY                   KS         90003934721
27893664891828   ADONIAS       LOPEZ                    OK         90012226648
27894172991592   GILBERT       ATILANO                  TX         90001771729
27899138491356   REMEISHA      BLAKNEY                  KS         90015311384
27912525191241   JEANETTE      BULLOCK                  GA         90012215251
27913472131631   GLADYS        MURRAY                   KS         90003934721
27913649691828   HECTOR        HERNANDES                OK         90012106496
27914227291592   BRENDA        SALAZAR                  TX         90008542272
27914685793731   EDGAR         QUEVEDO                  OH         64559136857
27915368391828   ANTHONY       HUMPHRIES                OK         90013253683
27915881555957   KATY          AMEZCUA                  CA         90007328815
27916658981661   CRYSTAL       PALMERIN                 MO         90010736589
27917322555957   PAUL          PERRY                    CA         90003923225
27918458131631   HARRINGTON    CHARMEY                  KS         22075874581
27918877855957   MICHELLE      HERNANDEZ                CA         90013008778
27922465191828   ROSHAWN       DALEY                    OK         21068894651
27922531991828   DESMAN PAUL   HICKS                    OK         90014835319
27927861785938   CELESTINO     PIEDRA                   KY         67057098617
27928421955957   RYAN          GREEN                    CA         90013084219
27928466681638   CHRIS         TURNER                   MO         90004884666
27928786791241   NICOLE        MACDANIELS               GA         90013837867
27929561591356   MONICA        SANDOVAL                 KS         90013445615
27931553955957   DAVID         STEPP                    CA         90012155539
27932111557129   JUAN          SERNA                    VA         90006871115
27932268691356   IDELISA       SOLIS                    KS         90009562686
27932652781648   ASHLEY        LUNN                     MO         29097076527
27934478791592   DIANA         ROQUE                    TX         90011314787
27935899991592   LAURA         RODRIGUEZ                TX         90003178999
27936541531631   DARYEL        NELOMS                   KS         90009735415
27937865591241   EMBER         HUNTER                   GA         90012988655
27938348581648   MARIA         ERLINDA                  MO         90006083485
27938716941245   JOYCE         FAYNOR                   PA         51096797169
27942623381661   TERENCE       ROSS                     MO         29068616233
27942674193731   WILLIAM       SMITH                    OH         90010386741
27943135855957   HEATHER       MANAION                  CA         90011581358
27943792391592   SALVADOR      MUNETON BANUELOS         TX         75010997923
27944163591356   JAQUELINE     SOLIS                    KS         90015311635
27945149441245   CHRISTOPHER   DONATO                   PA         90004211494
27945362191241   VALARIE       EDWARDS                  GA         90015123621
27945612731631   MARVIN        HICKS                    KS         90013206127
27947889391241   VICKIE        JOHNSON                  GA         90013588893
27949234391592   LORENA        MARTINEZ                 TX         75013842343
27949244155957   MIGUEL        MACHO                    CA         90014482441
27951419185822   RONAL         MONTOYA                  CA         90008934191
27954459193731   LAMARR        BYRD                     OH         64596474591
27956196431631   LATONJA       SHUGART                  KS         22007471964
27958589681638   TYLER         BOOTH                    MO         90015235896
27962198377534   GRISELDA      GOMEZ                    NV         90013121983
27963971191828   JACINDA       OAKLEY                   OK         90010999711
27966285781648   DANIEL        HEFTER                   MO         90009822857
27968742131631   JESSIE        PAYNE                    KS         22015407421
27969196131433   CHUCK         SNYDER                   MO         27593311961
27969558791356   KILEY         MILES                    KS         90012475587
27971794291828   MARIA         MALDONALDO               OK         21079717942
27971849731631   JESUS         HERNANDEZ                KS         90013288497
27974665731466   LILLIANOUS    SAMPLE                   MO         90004776657
27976289661986   IRANIA        VEGA                     CA         90007082896
27978146491828   MICHAEL       LUNSFORD                 OK         90007671464
27978845181638   ROGER         MCCLAIN                  MO         90011538451
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27983938391356   CYNTHIA       BROWN                    KS         90008739383
27987162685822   ANDREW        ENYOGHWERHO              CA         90007841626
27987973493731   BRENT         MCCLELLAN                OH         90013379734
27991893347952   ANDRES        GONZALEZ                 AR         24009588933
27992779591241   DEVONTE       HODGES                   GA         90015307795
27995152731433   DAVID         ROBINSON                 MO         90010071527
27995913591828   ORLANDO       GONZALEZ                 OK         90008619135
27997867857157   HRANT         TASHDJIAN                VA         81016908678
27997959691241   DUKE          MITCHELL                 GA         90013999596
27998681231453   ENRICO        HALL                     KY         27515816812
27998724141245   RICHARD       MCCAW                    PA         51006057241
28113471791828   TOSHA         COWANS                   OK         90013634717
28113585931453   KIMBERLI      HOLTS                    MO         90014665859
28113636281633   ANGELA        PALMER                   MO         90012666362
28115213785949   TERRY         SMALLWOOD                KY         90009702137
28117364391833   CALAB         DENTON                   OK         90012433643
28117657691928   JOSHUA        SPENCER                  NC         90013046576
28118421731631   ALEJANDRO     RUEDA                    KS         22006894217
28118452591356   ALESHIA       AMMONS                   KS         90014734525
28118654357157   JOSEPH        KERR                     VA         90014586543
28121599851328   DANIEL        SANTOS                   OH         90014315998
28121765157157   KEVIN M       HENDERSON                VA         81047347651
28124435581633   NYJEE         RICHMOND                 KS         90009454355
28124911391828   MICHELLE      WALKER                   OK         90010299113
28127311891547   CRISTOPHER    CADENA                   TX         90010753118
28127316561996   MARIA         SANDOVAL                 CA         90011633165
28127459491828   TRAVIS        BALL                     OK         90013094594
28129711781638   RONALD        WASHINGTON               MO         90003997117
28131534857157   CHRISTOPHER   BROWNE                   VA         90002865348
28131787581633   TIM           MCCLENTO                 MO         90014647875
28132673791356   MARIA         VELASCO-GARCIA           KS         90010636737
28132752791828   DONNA         BASHAM                   OK         90013167527
28132836491547   MIKE          SANCHEZ                  TX         90014848364
28133355391241   CHERYL        PRY                      GA         90014743553
28134622257157   NILA          CARDOZO                  VA         81030656222
28135856681638   MISTY         ESPANA                   MO         29016608566
28135912491528   ELVIRA        OCHOA                    TX         75089769124
28136741381633   SHANEQUEA     ROTHSCHILD               MO         90013717413
28143993891833   RANDALL       BRIXIE                   OK         90011919938
28148577957157   MILENA        GUARDADO                 VA         90009615779
28149165791241   CARRIE        MILLER                   GA         90014801657
28149186857157   JOEL          GONZALEZ                 VA         90001341868
28149358172481   JAMIE         CAHILL                   PA         51047833581
28149382192864   ESTELA        CARRENO                  AZ         90014243821
28149433491241   EUGENE        WRIGHT                   GA         90014744334
28153652157157   DAVID         NICHOLS                  VA         90013426521
28157795491828   MICHAEL       SINGLETON                OK         21064487954
28157861891547   VICTOR        VASQUEZ                  TX         90013918618
28158987691592   DANIEL        BARRAGAN                 TX         90015319876
28159555791241   JASMINE       ECHOLS                   GA         90014745557
28161329636149   GARY          GNUSCHKE                 TX         90003163296
28163526791592   RAUL          YANEZ                    TX         90013375267
28165129551328   DEAN          OSGOOD                   OH         90002631295
28165411591592   JIMMIE        JONES                    TX         90001094115
28167512651361   CANDICE       BLAIR                    OH         90011095126
28171161191356   GWEN          MCKOY                    KS         90009871611
28171233691833   DANICA        CAMPOS                   OK         21097802336
28171721251328   ANTONIO       RODRIGUEZ                OH         90013327212
28171894381637   DEREK         YATES                    MO         90006228943
28176138957143   CINDY         GALO                     VA         90013931389
28177538181633   CRYSTAL       PENNY                    MO         90014425381
28178856991833   RUSTEE        MONDAY                   OK         21015688569
28179434591547   ANDREA        CHAPARRO                 TX         90009344345
28179612591241   ROSALYN       WILSON                   GA         90014746125
28181275291949   NICOSIA       MERKERSON                NC         90011412752
28182612591241   ROSALYN       WILSON                   GA         90014746125
28182928491592   DOLORES       OCHOA                    TX         90005169284
28185133885991   MERRY         ELLIOTT                  KY         90006491338
28186133885991   MERRY         ELLIOTT                  KY         90006491338
28186445391547   PABLO         AVALOS                   TX         75086444453
28187133885991   MERRY         ELLIOTT                  KY         90006491338
28187231591241   WLINI         PRYCE                    GA         14530482315
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28188443591241   KIMBERLY       SMITH                   GA         90002274435
28191189291356   VICKI          JACKSON                 KS         29018651892
28191766491547   PEDRO          CARRASCO                TX         90010797664
28193426291241   LATOYIA        HUMPHRIES               GA         90011564262
28194156491833   CHRIS          BOND                    OK         90012461564
28194452181633   ROBERT         HATCH                   MO         90015214521
28194537771933   JESUS R        RODRIGUEZ               CO         32003415377
28195326781637   CARLOS         PONCE                   MO         29091843267
28195465951328   PHIL           DAVIS                   OH         66086884659
28197567491241   JENNIFER       WHITE                   GA         90005875674
28199217491241   PAYGO          IVR ACTIVATION          GA         90011992174
28199991781638   LAKINNA        GILL                    MO         29040609917
28211463961997   JORGE          GONZALEZ                CA         90003384639
28211499191833   SHAWN          TAYLOR                  OK         21016244991
28211877257157   KATY           MARTINEZ                VA         90014108772
28213187781633   KYSTINA        COWAN                   MO         90014711877
28214664591592   RUBEN          REYES                   TX         90007276645
28217324877523   ANGELA         RODNEY                  NV         90003813248
28217964451328   ALEX           HERNANDEZ               KY         66017499644
28222528131433   DERRICK        MINION                  MO         27593975281
28223673791356   MARIA          VELASCO-GARCIA          KS         90010636737
28224466651328   MATHEW         WRIGHT                  OH         90014684666
28224597291547   HECTOR         RODELA                  TX         75089095972
28225666291833   KRISTIN        SANCHEZ                 OK         90011306662
28226193155935   MARCO          GARCIA                  CA         49009101931
28227752591356   OMAR           CONTREGAS               KS         90014527525
28227848751351   TEDDY          BOOP                    OH         90010708487
28228671491356   EFRAIN         LANDAVERDE              KS         29056856714
28231119691241   RUBEN          MORENO                  GA         90015041196
28233121272481   ROBERT         JOSEPH                  PA         51048281212
28235238457157   GERMAN         CRUZ                    VA         90002542384
28236223881633   JOSE           SOTO                    MO         90013932238
28236627651328   OTHANIEL       PLATA                   OH         66057156276
28239138591241   SANDRA         EARLY                   GA         90001611385
28241235251328   DAVID          LYNCH                   OH         90005182352
28241555981633   TIFFANY        GREEN                   MO         90014035559
28241993972481   MATT           MCKENDRY                PA         90006329939
28242257385941   CRAIG          WOLTERING               KY         90012502573
28242987691592   DANIEL         BARRAGAN                TX         90015319876
28243257385941   CRAIG          WOLTERING               KY         90012502573
28243469284382   LUIS ANTONIO   LOPEZ                   SC         90003894692
28243584661939   ABBEY          GONZALEZ                CA         46060265846
28243911491241   LYNDA          KING                    GA         90014789114
28244252651328   AMANDA         COWGUILL                OH         90013422526
28244849791241   DEMETRIA       WASHINGTON              GA         90010168497
28245111131453   JENNIFER       WHITE                   MO         90014671111
28245438591547   LUIS           CASTRO                  TX         90001774385
28246161481638   DORTHY         HARRIS                  MO         29094641614
28247253391592   ROSA ELVA      MALDONADO               TX         90010582533
28247859331631   KAREN          WOODSON                 KS         22024468593
28251546251328   DANIEL         THOMPSON                OH         66000715462
28254466725144   LEKEITTA       CARTER                  AL         90014564667
28254691991356   ROSA           RICO                    KS         90014256919
28254787151328   NICHOLAS       SAMS                    OH         66008697871
28255329391241   ANNETTE        WILLIAMS                GA         90014783293
28256851291547   JESUS          GOMEZ                   TX         90014958512
28259899491833   MARQUIS        MAYHEW                  OK         21017788994
28259916585998   KRISTEN        MERMAN                  KY         90007719165
28261913561987   ESMERALDA      RUELAS                  CA         90010989135
28262435591592   RICARDO        SALAZAR                 TX         75096144355
28263267991828   PAUL           JENNINGS                OK         90007502679
28263331891356   AMBER          GERMAIN                 KS         90013783318
28263532451328   TONYA          MENDOZA                 OH         90011815324
28264538651328   JOAN           MENDOZA                 OH         90011815386
28267394291241   MICHAEL        COAXUM                  GA         14594853942
28268193491844   BRYTNE         DOWNING                 OK         90010701934
28268756791592   LUIS           SAUCEDO                 TX         90008757567
28273413657157   SAMUEL         RIVERA                  VA         81021094136
28276961157157   RAFAEL         VALENCIA                VA         90009299611
28278355181633   DAT            NIGGA                   KS         29018453551
28278771791547   AMANDA         MARTINEZ                TX         75080607717
28279294985965   GARY           VEST                    KY         66055792949
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28281856191547   JOANNE       MOLINA                    TX         90003648561
28283395191356   TAMIKA       JONES                     KS         29090173951
28284792255931   STEPHANIE    LOPEZ                     CA         90012137922
28287171791241   KIMBERLY     WHITE                     GA         90015041717
28287367751328   ANNA         DRAKE                     OH         90014853677
28289889491356   BLAKE        JONES                     KS         29063478894
28293927691547   KARINA       GUDINA                    TX         75001429276
28294455391592   JESSIE       INFANTE                   TX         90014504553
28294598593722   JOHN         POLAVICS                  OH         90007325985
28295744957128   MIRNA        BAUTISTA                  VA         90014107449
28297142691241   SABLE        BURTON                    GA         90014791426
28298528691241   TIFFANY      BECTON                    GA         90008575286
28311588291356   LINDSEY      HAYDEN                    KS         29005905882
28312444857157   GRISELDA     AREVALO                   VA         90015024448
28312734781638   SHAMEAL      TRICE                     MO         29017047347
28313281231453   C            MARTIN                    MO         27560702812
28313738851328   COURTNEY     WYNN                      OH         90014687388
28316928491828   KIM          EGLESTON                  OK         90005139284
28316933781633   KEITH        THOMPSON                  MO         29046399337
28317332541245   BRANDON      GIBSON                    PA         90007043325
28318465631453   MIKE         CLAYTON                   MO         90010964656
28321999731453   ALEXIA       BARNES                    MO         27515439997
28323889291528   LE TINIA     BEDELL                    TX         75094918892
28325183931453   RON          LAMONT                    MO         27500321839
28325984631631   ASA          SNITCHLER                 KS         22058419846
28326984591356   MYRKA        GONZALEZ                  KS         29003079845
28327419691241   NIKKI        BARRS                     GA         90014794196
28327444157157   MICHAEL      JONES                     VA         90008864441
28327446491828   AMANDA S     RUMFELT                   OK         90012634464
28332323191592   TIMOTHY      CHARBONNEAU               TX         90011463231
28333346757157   ELWIN        MEJIA                     VA         81017133467
28333651891525   AIDA         PARDO                     TX         90010556518
28337462991241   VERONICA     BROWN                     GA         90011504629
28337494957157   CARLA        RUPKER                    VA         90011244949
28338318681633   ASHLEY       GILLILAND                 MO         90009713186
28342594891592   JAZMIN       CHAVEZ                    TX         90014655948
28344825757157   ALBA         CEDILLO                   VA         81049038257
28345357731453   BRANDY       CLEMONS                   MO         90014673577
28346249391547   CARMEN       DELGADO                   TX         90009022493
28346529241245   DAWN         ROYSTER                   PA         90012015292
28349453781638   NAMOEE       WALKER                    MO         29052044537
28349784491592   JULIO        RAMOS                     TX         90012787844
28349911591547   MERCEDES     CASTORENA                 TX         75074659115
28351534491833   TOMASA       CARREL                    OK         90012055344
28351682357157   XAVIER       BATES                     VA         90014606823
28352476391592   ALICIA       DE LOS SANTOS             TX         75009574763
28352596436165   MARISOL      GOMEZ                     TX         90012475964
28354272591241   BERTENNIE    PATERSON                  GA         90014802725
28354967591592   ISAAC        ACOSTA                    TX         75012729675
28355339757157   JORGE        MOLINA-SANCHEZ            VA         90010243397
28356272591241   BERTENNIE    PATERSON                  GA         90014802725
28356952691828   JANET        SCROGGINS                 OK         90010669526
28357166391528   ROBERTO      QUINONES                  TX         75039751663
28357617791592   DIEGO        JIMENEZ                   TX         90011306177
28358235631433   KATIE        NARROW                    MO         90004612356
28358561281637   KENNETH      KIPPER                    MO         29089585612
28359732591547   SANDY        CASTILLO                  TX         90011177325
28359785191592   CARLOS       MORALES                   TX         90014547851
28361377891356   CARLOS       MEJIA                     KS         90001003778
28361641831453   ANTONIA      GOTOW                     MO         90013026418
28362317691592   BERTHA       MUNOZ                     NM         90007483176
28363424631453   JASMINE      MARIE KING                MO         90001144246
28364154391828   CLAUDIA      DOHN                      OK         21015691543
28364324951328   RACHEL       NORTHERN                  OH         90009673249
28365237431631   KENNETH      NELSON                    KS         22018092374
28366691672481   MARGO        HART                      PA         51057326916
28366783657157   IMPERIL      VAN                       VA         90013187836
28367578391528   VINCENT      RUIZ                      TX         90005735783
28368575491356   ALONSO       FUENTES                   KS         90005125754
28377927851328   CAMERON      HERRINGTON                OH         90014839278
28379297131433   LEROY        MILLER                    MO         90004612971
28379374891828   MICHELLE     HOLBERT                   OK         90012783748
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28379587391528   JANINE              JUAREZ              TX        90005735873
28379948391833   CHRISTINA           SANTOS              OK        90014729483
28382323291356   JOSH                BALDUCCI            KS        90011423232
28383154691828   STEVEN              RATHBUN             OK        90014961546
28383384291592   ROBERTO             CICERO              TX        90013013842
28384945751328   KASEE               HERRINGTON          OH        90014839457
28385221131433   WINNIE              THOMAS              MO        90004982211
28388123891547   CHRISTOPHER         WILLIAMS            TX        90007621238
28388234697128   JONATHAN AND MOON   OWENS-YODTHAISONG   OR        90009912346
28388731941245   ADAM                BUCKS               PA        51030017319
28391568391828   NICOLE              JOHNSON             OK        21029965683
28391589391528   LEONOR              AGUIRRE             TX        90005735893
28392577157157   OSCAR               ARIAS               VA        90009135771
28393917691833   LAUREN              TERRELL-GREEN       OK        90006689176
28393986651328   MARKAYLA            NARED               OH        90000839866
28394166757157   MONICA              GRAHAM              VA        81049631667
28395283285991   CLAUDIA             CRUZ                KY        90006622832
28395323991828   ANN                 MILLER              OK        90004903239
28395476991828   TAWANIA             LUMPKIN             OK        90013634769
28411517591828   JILLIAN             WARREN              OK        90004085175
28413369491547   JENNA               MARTIN              TX        90012403694
28416768643523   JACLYN              JONES               UT        90014727686
28417626685965   ANGELA              BROSSART            KY        66039296266
28422376591547   MARIA               GODINEZ             TX        75033833765
28422928491828   KIM                 EGLESTON            OK        90005139284
28423718331631   ALISON              HOFFMAN             KS        90001867183
28424178193724   JOHN                GARBER              OH        90006851781
28429714931433   ALYSSA              WESLEY              MO        90010577149
28431964991828   JESUS               MENDEZ              OK        90010669649
28433266991592   SERGIO              RUBIO               TX        90010832669
28434666391833   MIKE                RICHARDSON          OK        90015446663
28437424491828   PATRICIA            WHITE               OK        21009184244
28437495772481   JOHN                SWIFT               PA        90006334957
28438469957157   GERMAIN             GRANADOS GOMEZ      VA        81049484699
28441138581633   TYRONE              BLAED               MO        90013771385
28442988557157   DONNE               DAVIS               VA        90009399885
28444417857157   CLAIRE              FLOWERS             VA        90010414178
28444781191592   SERGIO              CORDERO             TX        75065467811
28445144491592   GREGORY             HOLLINGER           TX        90009811444
28447333991833   KIRSTEN             LEE                 OK        90011513339
28447489991547   MARIO               HERNANDEZ           TX        75009214899
28453318933679   CARLTON             BURSLEM             NC        90006163189
28454189291547   GLORIA              DURAN               TX        90014771892
28454688291241   JESSE               GAY                 GA        90015046882
28454898691547   SILVIA              FIERRO              TX        75030488986
28455153777541   GRACE               NDOLO               NV        90012031537
28456764291528   JUAN                RIVERA              TX        90003297642
28458417291528   SYLVIA              OLIVAS              TX        90001634172
28458512657138   RISTU               LAKEW               VA        90000175126
28458538461995   ALEJANDRO           ROJAS               CA        90007715384
28459366557157   YOLANDA             JOSEPH              VA        90011243665
28461324591889   CHARITY             TIMOTHY             OK        90006083245
28461948191592   ALMA                GONZALEZ            TX        75013269481
28462147985868   PETER               LEVEN               CA        46075301479
28462157891592   VALERIE             SOTO                TX        90004751578
28464724357157   NATALIE             DANIELS             VA        90012907243
28465161941245   ERIN                KERTING             PA        90013751619
28465241391833   STACY               WILSON              OK        90013082413
28465282231453   LATHERIAL           PHILLIPS            MO        90011022822
28466748891592   TATIANA             ESTRADA             TX        90014837488
28467272561932   ANGELA              RUIZ                CA        90002282725
28467973191592   MIGUEL              MUNIZ               TX        90003269731
28468185251328   CATHY               MARSHALL            OH        66009971852
28468211791547   YOLANDA             CORRAL              TX        90001532117
28472164672432   SAMANTHA            TEETS               PA        90015011646
28473711657157   DEE                 PARROTT             VA        90012067116
28474317591356   JEREMY              JOHNSON             KS        90011403175
28474674781638   HALEY               NORMAN              MO        29017976747
28475616977534   JOEL                RAMIREZ             NV        90004336169
28476199691589   MYRA                CARRILLO            TX        90009181996
28479982777534   ILODIA              BETTINGER           NV        90008219827
28481258591327   BECKY               ETNIER              IA        90014162585
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28481858891833   MICHAEL      THOMPSON                  OK         90014758588
28482374291833   SHAUNTE      WILLIAMS                  OK         90013223742
28486395793724   ROB          JOHNES                    OH         90009263957
28486744831433   CHASSIDY     HOWARD                    MO         90008357448
28487139191547   MELANIE      RAMIREZ                   TX         75071481391
28487472231453   JESSICA      MASSEY                    MO         90014914722
28488884472481   MELISSA      LOGAN                     PA         90009818844
28489325891547   RAUL         CISNEROS                  TX         75002153258
28492229157157   JAMES        HARRIS                    VA         81095802291
28492576222454   JAMES        MULLEN                    IL         90013915762
28492771191356   PATRICIA     CASTRO                    KS         90014157711
28495145291823   CAROLYN      WILSON                    OK         90008891452
28495392481633   ANDREA       HARRIS                    MO         90008883924
28496296581633   AS           BARUTI                    MO         90013872965
28497541791828   SUSAN        LASSITER                  OK         90012015417
28497884831453   SAMANTHA     ESTES                     MO         90014698848
28498926431453   SOEUM        NAY                       MO         90014699264
28499276457157   NICANOR      ESPINOZA                  VA         90010442764
28499832291833   MARKISHA     MILLER                    OK         90008698322
28511115791833   ANDRA        BRESHEARS                 OK         90010121157
28513474351351   ANGEL        MATIAS                    OH         90013204743
28513565572481   JASON        PRUTZ                     PA         90006495655
28513777792864   KATHY        DOMINGEZ                  AZ         90014517777
28514172191547   NATALIA      DURAN                     TX         90014131721
28514639631453   CORY         DANSLER                   MO         90009766396
28514877291528   NORMA        MENDEZ                    TX         75031278772
28521744657157   FRANCINE     COX                       VA         90013117446
28522951781633   TONISHA      COUSER                    KS         90012099517
28523727891833   JOEL         MONTIEL                   OK         90015217278
28523894561925   LILIAN       GONZALEZ                  CA         90009698945
28523978891592   CUAUHTEMOC   COSSIO                    TX         90012169788
28524124191828   OTIS         MOSELEY                   OK         90012461241
28524275191547   MARIA        PERALTA                   TX         75057942751
28524582157157   GARY         SHERROD                   VA         90010485821
28524768491592   CYNTHIA      LOPEZ                     TX         90000367684
28525815191356   DAWN         GINGRICH                  KS         29015398151
28527618791592   OLIVIA       KENT                      TX         75001296187
28531969157157   YOJANA       COLTEZ                    VA         81053359691
28533894561925   LILIAN       GONZALEZ                  CA         90009698945
28535139161939   LORI L       HOWELL                    CA         90002141391
28535491157157   SAMANTHA     ROBERTSON                 VA         81053364911
28537687181637   LASHONDA     MAGIC                     MO         29034936871
28541891391547   STREAMS      DATA                      TX         75023078913
28542921457157   MARGARITA    MELENDEZ                  VA         81055929214
28542993391828   KIMBERLY     ROBERTS                   OK         90015129933
28543436172432   JOSEPH       PITTS                     PA         90007684361
28543862231433   DEMETRIUS    CLARK                     MO         90005628622
28544241691356   ALMA         ORNATES                   MO         90014692416
28545192591592   ERIC         MARTINEZ                  TX         75090291925
28545233831453   TASHONNA     GROSS                     MO         90011282338
28545881791356   CHRISTIE     CLOINCH                   KS         90009298817
28546778661982   ANA          ARMS                      CA         46040537786
28547688391828   RONALD       DUKE                      OK         21023106883
28548155957157   DAWIT        TEKOLA                    VA         90011251559
28548389591828   JOSE         REBOLLAR                  OK         90008643895
28548575131439   TENESE       JEFFRIES                  MO         90000355751
28554742891547   ASIA         FLORES                    TX         90014837428
28557613291356   DARRYL       JOHNSON                   KS         90010146132
28558942991356   ELVIA        BRIZUELA                  MO         29024849429
28559233831453   TASHONNA     GROSS                     MO         90011282338
28563131825142   BERNITA      SPENCER                   AL         90014161318
28563229131453   EUGENE       CUFF                      MO         27549592291
28563872491547   JOE          LOPEZ                     TX         75090058724
28565935991833   AMBER        AGNEW                     OK         90014129359
28566957791592   ANDREA       MUNOZ                     TX         90010889577
28573315257157   CHARLENE     BRYANT                    VA         90014663152
28573795131453   SHAMIRA      RICE                      MO         90014707951
28576577491356   ELOISA       VENANCIO                  KS         90007115774
28577982757157   SHAWNTE      PORTER                    VA         81008349827
28578862431453   KELLY        SIMMONS                   MO         27508318624
28582178891828   DAVE         BICKLE                    OK         21095701788
28582554291528   MERARY       CARBAJAL                  TX         90009875542
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28583224441245   AARON        BURR                      PA         90004782244
28585199785998   CHRISTINA    BELEW                     KY         90007101997
28585522457157   FELICIA      WILSON                    VA         90005485224
28586372291547   YAMEL        VAZQUEZ                   TX         90015213722
28586775481633   OLBEN        MARTINEZ                  MO         90009957754
28586842731453   SHANTRICE    LITTLE                    MO         90014708427
28586912333639   YVONNE       RAY                       NC         12075089123
28587387191828   TRACY        PORTER                    OK         21004023871
28589514291547   HUGO         HERNANDEZ                 TX         75051205142
28589797191356   BLANCA       PASTRANA                  KS         90008007971
28592316891592   FLORENTINA   AGUILAR                   TX         90010983168
28593458551326   DENISE       WEMKEN                    OH         90006494585
28594788491592   ANA          GUTIERREZ                 TX         90004537884
28595412491547   JAVIER       MACIAS                    TX         75002194124
28595767241245   TAMMY        CARROLL                   PA         51002207672
28596141991833   MIKE         AGNEW                     OK         90014581419
28597525991833   LISA         SQUIRE                    OK         90010815259
28611859781633   CALEB        COSSAIRT                  MO         90010628597
28613653885965   KENNETH      MARDIS                    KY         66075256538
28613982391547   SAMUEL       TREJO                     TX         75092679823
28614436131453   CHRISTOPHE   RAYBURN                   MO         27557994361
28614853591547   SUSANA       CEPEDA                    TX         90014898535
28615293681638   KISHA        ROBINSON                  MO         29018522936
28616858191356   NIKKI        ROWE                      MO         90015058581
28617154431453   JAMES        FOXWORTH                  MO         27595681544
28617548257157   HAPPY        TIMO                      VA         81053575482
28617894993724   ANTHONY      HOLLEY                    OH         90012348949
28618392691547   CHRISTIAN    CADY                      TX         90009163926
28618514157157   PEDRO        BONILLA                   VA         81083805141
28621986491833   SHAWNA       DACYCZYN                  OK         90008669864
28623181891833   ELIZABETH    TATE                      OK         90012381818
28623876331453   NATE         HILL                      MO         90014708763
28624489591356   DEONDRA      JONES                     KS         90014914895
28624783391592   GLORIA       DOMINGUEZ                 TX         90014087833
28624897731453   TAMIKA       TURNBOW                   MO         90014708977
28627182931453   MICHAEL      HEUSCHOBER                MO         90001491829
28627568791528   ANGELA       NUNEZ                     TX         75084895687
28629341531453   CHARLES      ROBERSON                  MO         27560603415
28632814781633   BEATRICE     MORALES                   MO         90014288147
28632923831453   MARY         CARDER                    MO         90014709238
28634947585941   ANNE         RILEY                     KY         90013689475
28635858891833   MICHAEL      THOMPSON                  OK         90014758588
28638384291592   ROBERTO      CICERO                    TX         90013013842
28642862185698   GRISELDA     LOPEZ                     NJ         90013028621
28642996891828   KENNETH      WRIGHT                    OK         90008149968
28643894391547   SYLVIA       RODRIGUEZ                 TX         75016788943
28644516781633   CASSIE       JOHNSON                   MO         90009745167
28645122281638   RAUL         GONZALEZ                  MO         29011461222
28646559591828   KIM          ALLISON                   OK         90014725595
28647238891828   DAVID        MEHAFFEY                  OK         21008842388
28647945291547   MARGARITO    ARANDA                    TX         90002869452
28648362484523   CHLOE        MORLEY                    NY         90010993624
28649486491547   LIZET        CARRASCO                  TX         90009064864
28651894291356   AYDEE        PADILLA                   KS         90014478942
28651965791528   MARTIN       RODARTE                   TX         90003299657
28653149451333   JONTUE       WALKER                    OH         90013881494
28655345291592   MATHEW       FLORES                    TX         75087263452
28655616281637   CHRISTINA    DEGEARE                   MO         29029926162
28656932257157   DECOIA       WILLIAMS                  VA         90014859322
28659385257157   AURELIA      MENDOZA                   VA         81015393852
28661214751351   CODY         IVY                       OH         90012652147
28661284991828   COREY        JONES                     OK         90006612849
28664147781637   PATRICK      GILLINGHAM                MO         29089041477
28664214691833   CHASE        LABARR                    OK         90011442146
28666922991547   MICHELLE     VELAZQUEZ                 TX         90004909229
28667625781633   CANDICE      ALMENDAREZ                MO         29010726257
28669391891528   NORMA        RODRIGUEZ                 TX         90008553918
28671611791828   EVA          VILCHIS                   OK         90010636117
28672158691833   TIMOTHY      SEIGLER                   OK         90000361586
28674154831453   ADRIANA      GREEN                     MO         90014721548
28674281157157   JENNIFER     WILKINSON                 VA         90002532811
28675144991592   MAYRA        NAVA                      TX         75068571449
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28676561491592   KITTY         ARREOLA                  TX         75095525614
28676627191547   ELIZABETH     GONZALEZ                 TX         75050746271
28678264991592   MARIO         RODRIGUEZ                TX         75084752649
28679179131453   PARIS         LATIMORE                 MO         90014721791
28679417657157   SANDRA        PINEDA                   VA         90011464176
28679842991592   ALFREDO       ZAMBRANO                 TX         90010388429
28682584425144   CHARLES       LEWIS                    AL         90011555844
28684329891592   BILLY         SANDERS                  TX         90014763298
28685229154123   MICHELLE      STEWARD                  OR         90000842291
28686744381633   EDWARD        NEWSOME                  MO         90010857443
28687965791528   MARTIN        RODARTE                  TX         90003299657
28688214781633   CHANTAL       MALTBIA                  KS         90014712147
28688734491592   DANIEL        BENITEZ                  TX         75046847344
28689585691828   CIERA         HILLIARD                 OK         90014975856
28691723191592   CARMEN        REYES                    TX         90004417231
28692495281633   ANNIE         TAYLOR                   MO         90013974952
28694846391828   TERESA        WILSON                   OK         21056958463
28695581791592   MIREYA        GUZMAN                   TX         90013165817
28696425757157   MIGUEL        COFFER                   VA         90010524257
28697976231631   ANGELA        WILLIAMS                 KS         22037999762
28698637631631   LINDA         PAYNE                    KS         22037856376
28698815931453   MARK          BERRY                    MO         27559298159
28699567585965   STEPHANIE     WOOD                     KY         90001875675
28712357491356   SPARKLE       GUMANGAN                 KS         90014393574
28714472981633   JESSI         TORRES                   MO         29054224729
28715534391547   NANCY         RENTERIA                 TX         90002095343
28715982691828   ASHA          HARRIS                   OK         90015129826
28722357491828   ROBERTA       WATASHE                  OK         90007213574
28725242971943   FREDDY        FRANCO                   CO         90014252429
28725869991933   MIGUEL        ANGEL                    NC         90006738699
28726425381635   CHISSANDRIA   GIDDEN                   MO         90014004253
28726972591949   SARA          WHITE                    NC         90012169725
28727329591356   HUGO          MORALES                  MO         29010603295
28727358957172   REYNA         FUENTE                   VA         90012413589
28728328131631   BRANDON       WILLIT                   KS         22002943281
28729329951328   CHANCE        DONALDSON                OH         90004543299
28732464391833   RADONNA       ALLEN                    OK         21041804643
28733321331453   NAKONA        CLAY                     MO         90014723213
28733355893753   CLAUDETTE     ROUNTREE                 OH         90003413558
28733983891547   ROBERTA       MUNOZ                    TX         75015289838
28734219791356   STACEY        SIMMONS                  KS         90009032197
28734528881637   ANDREW        BUFFINGTON               MO         90005415288
28735887191528   LUIS          TORRES                   TX         75095078871
28736467551343   CAROLYN       MATTHEWS                 OH         66059384675
28736525191833   ANGELA        VICK                     OK         21089625251
28737822191241   JACKSON       RICHARD                  GA         14587008221
28739176991833   BONNIE        MANUEL                   OK         90001081769
28741853757157   IRMA          SIMS                     VA         90011628537
28743149981633   NICKOLE       GONZALEZ                 MO         90014451499
28743931255936   MARTHA        TORRES                   CA         90006649312
28745355891547   LIZETH        CHAIREZ                  TX         90012843558
28746958941245   DELLANET      PATTON                   PA         51054029589
28747331433621   JAMIE         CORBETT                  NC         90011343314
28747964585961   TONIA         HOPPER                   KY         90008989645
28749291357157   OSCAR         CERON                    VA         90013022913
28749521591528   YOLANDA       CANO                     TX         75095085215
28751627991241   TIFFANY       SMILEY                   GA         90011136279
28752518671933   KELLI         BIROU                    CO         90012135186
28752782677371   JOEL          MUNOZ                     IL        20512627826
28753832991547   BLANCA        VALENZUELA               NM         75029718329
28755425991833   KIMBERLY      COY                      OK         21064254259
28756175951353   ROBERTO       GARCIA                   OH         90000121759
28763785631453   ERIC          MCCAULEY                 MO         90014727856
28764163191547   JACOBO        TONCHE                   TX         90012471631
28764611491592   LEONOR        ESTRADA                  TX         90010296114
28765189791828   TAMIKA        TURNER                   OK         21077741897
28766131557157   TONY          WILLIAMS                 VA         90010541315
28767919681637   HAKEEM        SHABAZZ                  MO         29078929196
28768661891356   MARCY         VAUGHN                   KS         90015156618
28768793731453   VALENCIA      HUMPHREY                 MO         90014727937
28769929791828   GUSTAVO       GUZMAN                   OK         90013799297
28771399491828   FRANCISCO     LOZA-LARA                OK         90010253994
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28771577581638   ONOFRE       LANSANGAN JR.             MO         29084795775
28772737991828   ESTEFANIA    SANTOS                    OK         21082787379
28773924931453   CIERRA       ROBERSON                  MO         90014729249
28774864785965   PATRICIA     WATKINS                   KY         66032208647
28777172181633   RENE         CASTANEDA DE LEON         MO         90013911721
28777436341286   REBECCA      POLLICE                   PA         51083084363
28778127357157   SISAY        YACOB                     VA         90013091273
28778145391528   PATRICIA     TORRES                    TX         90014601453
28779539191592   RAUL         MORALES                   TX         90003755391
28781926691356   JESSIE       BAKER                     KS         29057629266
28782672791547   MARIA        GUTIERREZ                 TX         90014006727
28782679481638   JERRY        LONG                      MO         29027836794
28783127357157   SISAY        YACOB                     VA         90013091273
28783159391828   CANNE        HUNTER                    OK         90012441593
28783163191547   JACOBO       TONCHE                    TX         90012471631
28785853831453   JUANITA      LAWRENCE                  MO         90014238538
28788184391547   RUBEN        OROZCO                    TX         90013421843
28789115951328   DESTINY      BRANDENBURG               OH         90004731159
28789481691356   MARVIN       BURGOS                    KS         29051424816
28792597191828   MARIA        ROGEL                     OK         21097805971
28795812581637   MZ           GARRETT                   MO         29003048125
28798123691592   CECILIA      SERRANO                   TX         90014801236
28798567391547   JANIS        CARROLL                   TX         75013725673
28799872791356   ERICA        BOETTCHER                 KS         90012208727
28811579761982   ESTEBAN      TRUJILLO                  CA         90012115797
28813381581633   JUDY         MCCLARIN                  MO         90014583815
28814136291528   RAQUEL       FUENTES                   TX         90000601362
28814191455989   SAUL         RODRIGUEZ                 CA         90008311914
28814315255936   CONSUELO     RAMIREZ                   CA         90014483152
28815271431433   TYISHA       MALLORY                   MO         27555672714
28818376591547   KARINA       CHAVEZ                    TX         90013933765
28823446491592   OFELIA       ESPINOZA                  TX         90010374464
28825314872432   JAMIE        BROWN                     PA         51042333148
28826561685844   BRENT        WAMMACK                   CA         90008765616
28826576591592   RODRIGO      MONTANEZ                  TX         90014985765
28827188985991   LATASHA      BURT                      KY         90006061889
28827232591833   MARIAH       HENEBY                    OK         90013362325
28828672157157   ESAYAS       GESSESSE                  VA         81073346721
28828734131631   AHIDA        VELASCO                   KS         22081767341
28829487497942   TABITHA      BOONE                     TX         90010814874
28831175791542   MARIA        RAMIREZ                   TX         90000491757
28832799351328   CHRIS        SAUTHERLAND               OH         66017477993
28834218481633   BRENDA       GRANADOS                  MO         90013742184
28835227491828   HEATHER      IEZZI                     OK         21092052274
28836212831453   BOB          BARKER                    MO         90011642128
28837432691828   ADALY        LOPEZ                     OK         90013764326
28841282281633   CHRISTINE    RIVERA                    MO         29001082822
28843215385965   DAVID        ROBERTS                   KY         66032592153
28843786291356   MELVINA      BAYNARD                   KS         29018027862
28844173191547   MERCEDES     HACKETT                   TX         90014131731
28845464391592   LATONYA      HOUSTON                   TX         90013434643
28847121891828   RACHELLE     DENNIS                    OK         90011431218
28848144891528   ROGER        MONTELLANO                TX         90005741448
28848728791356   JOSEFINA     ALVAREZ                   KS         29019977287
28851956455957   VANESSA      LICON                     CA         90008649564
28852246131453   TIFFANY      MAXIE                     MO         90010632461
28852666891828   TANYA        TROUT                     OK         21033496668
28853169491356   JUANA        GONZALES                  KS         90009191694
28854336491592   ANETH        RAMIREZ                   TX         90010983364
28855131391356   MIGUEL       XOLOT                     MO         90015361313
28856113131453   SHARON       MULLINS                   MO         90006741131
28856711391833   JUBAL        NICHOLAS                  OK         90011337113
28859551691592   ALFREDO      ORNELAS                   TX         90014485516
28862978391547   ROSAURA      ROMERO                    TX         75019119783
28863294557157   RONDELL      BRIGGS                    VA         90013992945
28866443291547   ERICKA       GUILLEN                   TX         90012094432
28867899791241   GALE         KIDD                      GA         90008498997
28868363181633   JOEL         JACKSON                   MO         90014113631
28869195591828   SARA         BARKER                    OK         90013811955
28869969285991   MIKE         BROWN                     KY         90008739692
28869985991547   JUAN         HERNANDEZ                 TX         75093949859
28871318157157   CHARLES      SCHLICHT                  VA         90013123181
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28871511857157   JAMES          BYARS                   VA         90013175118
28873289491547   LILIA          ARGOMEDO                TX         90001642894
28874959531631   MARIA          ORTEGA                  KS         22094389595
28876677891356   DAVIS          JERMALE                 KS         90012846778
28879442291547   ANTILANO       BARAJAS                 TX         75004724422
28879482591833   JOHN           WILLIAMSON              OK         90008674825
28879489477541   KENDALL        MCGEE                   NV         90008034894
28879841657157   JOSE           ASCENCIO                VA         81029538416
28881293791833   CHELSE         REAGAN                  OK         90006452937
28881998385882   STEVE          SPAHR                   CA         46043409983
28882435991592   LAURA          MENDOZA                 TX         90012664359
28883318157157   CHARLES        SCHLICHT                VA         90013123181
28883885591547   DORA           CARDOZA                 TX         90013468855
28884762557157   MARIA          RIVAS                   VA         90010577625
28885661891828   JUSTIN         GARNER                  OK         90013826618
28886489457157   ILIANA         NUNEZ                   VA         90013454894
28888674291547   ANTHONY        ALVAREZ                 TX         75002316742
28889939891241   KRISTY         BIRCHFIELD              GA         14579139398
28891495831453   BILL           PURCELL                 MO         90013584958
28891661657157   REBECCA        SALAZAR                 VA         90011596616
28892617357157   HILARY         TORRES                  VA         90013106173
28892978591356   JOSHUA         BASHAM                  KS         90004399785
28893419963635   KIMBERLY       RUNYON                  MO         90012434199
28893786592864   DAVID          SPEER                   AZ         90014677865
28893955491547   DAVID          VILLEGAS                TX         90013939554
28894634531453   LILLIE         JACKSON                 MO         90012106345
28894692191547   JAMIE          CARDENAS                TX         90012526921
28895121481633   KELLY          YOUNG                   MO         90012531214
28895613457157   DILCIA         RAMIREZ                 VA         90010586134
28897449791592   JENNIFER       ERIVEZ                  TX         90010374497
28899111691828   MARIAH         SMITH                   OK         90014301116
28899326291592   CARILLO        NATALIE                 TX         90012453262
28899377857157   ROSIBEL        RIVAS GONZALEZ          VA         90013123778
28911169191828   MARTIN         LOPEZ                   OK         90010821691
28911215385965   CHRISTINA      WOLFE                   KY         66032812153
28914174391833   TERRELL        LAGRONE                 OK         90013911743
28914217155931   ISMAEL         QUINONEZ                CA         90001012171
28914816891241   ROBIN          SCOTT                   GA         90005528168
28915149891828   EDILSER        LOPEZ                   OK         90011941498
28917226957157   RAQUEL         FELTON                  VA         90014692269
28918226957157   RAQUEL         FELTON                  VA         90014692269
28918442691592   ANAKAREN       MORENO                  TX         90013854426
28919396581633   POOH           TAYLOR                  MO         90008883965
28919491431453   ROBERTO        INSO                    MO         90002124914
28928328355921   MARIA          ARREDONDO               CA         90014523283
28929663281637   GABY           OLALDE                  MO         29004196632
28932647491356   JUSTIN         SHARP                   KS         90012266474
28932686347826   QUANTERRIOUS   CALHOUN                 GA         90011346863
28934957291828   SORRELS        KAREN                   OK         90014739572
28934981481633   SHAWNA         SAUTER                  MO         90009169814
28937998751346   JOSEPH         GRIFFITH                OH         90012739987
28938514957157   ISAIAH         GRAHAM                  VA         90011285149
28938863331631   MARK           BACHMAN                 KS         22090518633
28939613231453   ROBIN          MASON                   MO         90014736132
28941157281633   TEREASA        BAKER                   MO         90012531572
28943714281637   LAVENE         BURRIS                  MO         90005417142
28945327251328   KAREN          HUGHES                  OH         90006083272
28947938391833   ANDREA         JESTER                  OK         90002319383
28949259854129   ALICIA         PAPPE                   OR         90015272598
28949348781633   ANTHONY        PERKINS                 MO         90008683487
28951799491828   PATRICK        YOUNGBLOOD              OK         90012087994
28951896341245   DARLENE        KENT                    PA         51090728963
28952164884395   SHIRLEY        SPANN                   SC         90001151648
28952198754123   LORI           FORD                    OR         47094541987
28952388885998   CARLOS         VILLIGRAM               KY         90011693888
28958117785991   SCOTT          PAULY                   KY         90007281177
28958646991592   LETICIA        RODRIGUEZ               TX         90010296469
28959324181633   QIANA          ROUNDS                  MO         90014903241
28963554685991   ERIK           NIEDERKORN              KY         90007195546
28966383491547   ROSALBA        CARRILLO                TX         75092693834
28968122881633   ANDREW         EIGENSCHENK             MO         29001091228
28968591673268   BARTIEZ        LEON                    NJ         90015345916
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28969258557157   MILTON        BELTRAN                  VA         90014692585
28972431491241   JOHN          BROWN                    GA         90000124314
28972567557157   RONALD        JAMES                    VA         90012125675
28974382891356   TERESA        MALDONADO                KS         90003833828
28975499381638   JENNISE       TURKS                    MO         90014624993
28976825991828   MICHAEL       BYRNE                    OK         21085378259
28977322491833   SHELLY        ROGERS                   OK         90007443224
28977939457157   JOHN          WAHAB                    VA         90003559394
28978866881638   STEPHANIE     GREGALUNAS               MO         29018658668
28979436591241   TONI          WASHINGTON               GA         90013294365
28979814781633   BEATRICE      MORALES                  MO         90014288147
28982256391833   STACY         MAUCK                    OK         21072622563
28982482391592   EMMANUEL      DURAN                    TX         90014614823
28983467385965   SIDNEY        TAYLOR                   KY         66025954673
28985224757157   CHRISSY       KELLER                   VA         90007382247
28986355231433   DAMON         COLEMAN                  MO         90007673552
28988311791547   DANIEL        HERNANDEZ                TX         90006393117
28989914571943   ELIZABETH     ALVARADO                 CO         32012259145
28993531691547   GLORIA        SALAZAR                  TX         75087065316
28995313781633   CAMESHA       ROWE                     MO         90014153137
28995782791356   ALFREDO       PEREZ                    KS         90013897827
28995933191828   HEATHER       BRADLEY                  OK         21042209331
28999189491833   DAVID         FRANK                    OK         90009111894
29111896951328   ADRIAN        GREGORY                  OH         90013958969
29112499531453   IMANI         JACKSON                  MO         90012334995
29113411791592   CYNTHIA       SANCHEZ                  TX         90010944117
29113596391522   CRISTINA      RUIZ                     TX         90013635963
29114751661897   DANELLE       PRESTON                  MO         27533837516
29115412955957   CONSUELO      MENDOZA                  CA         48017324129
29116272291828   TIM           NEIDHOLDT                OK         90012122722
29116882755941   MICHAEL       RENTERIA                 CA         90014068827
29116944185822   SHRUTI        DAGA                     CA         46001309441
29117111881633   MR            THOMPSON                 MO         29001101118
29118246281633   JAMIE         STUART                   MO         90014632462
29119583484364   TERRY         WELLS                    SC         19054855834
29122894391592   MARLON        BARRIOS                  TX         75082138943
29123497991522   MARIO         BILBAO                   TX         90012164979
29125313431453   MALIKA        FULTZ                    MO         90003813134
29126435685822   JOE           CROWE                    CA         46001314356
29126565991592   ANA TAPIA     ROSA                     TX         90003845659
29126878951336   DAWN          EWING                    OH         66041048789
29127518291589   ANNETTE       ARATA                    TX         90008465182
29128822977576   JOSEPH        ROBB                     NV         90005798229
29129441791828   JOSEPH        CORLEY                   OK         90014504417
29132295191522   PATRICIA      MAYNEZ                   TX         75002112951
29132676455957   MARIA         DONZE                    CA         90012436764
29133517951346   IVAN          SANCHEZ                  OH         90013405179
29134746991592   MARIA         GUEVARA                  TX         90011477469
29134748891522   EDMUNDO       VAZQUEZ                  TX         75040307488
29134911722971   FLORIBERTA    HERNANDEZ                GA         90015529117
29137536251328   SHAW          MATANIC                  OH         90013695362
29137798291525   ELIZABETH     VARGAS                   TX         75018027982
29138922291953   DALMAR        OMAR                     NC         90012009222
29139449391522   LUIS          GAITAN                   TX         75094814493
29142941651328   RUBEN         SANTANA                  OH         90015229416
29143884891522   ARMIDA        SALDIVAR                 TX         75081368848
29144646631453   ANN           WELLINGTON               MO         90007776466
29145475391828   ISABEL        GENAY                    OK         90013014753
29145562691522   YUNHUEN       JUAREZ                   TX         75081215626
29146477751336   TIARA         DOCKERY                  OH         66076054777
29147798551343   SHERMECA      LAMB                     OH         90009547985
29149635685822   AMY           GARCIA                   CA         46005046356
29154334591592   JOEL          GUZMAN                   TX         90000703345
29154645951336   CATHRYN       SECOR                    OH         90005816459
29155221354162   KEVIN         PROFFITT                 OR         90015252213
29156317791953   CHRISTOPHER   STEPHENS                 NC         90013963177
29157373291828   KYLEE         HEAPS                    OK         90013803732
29161353591522   LINDA         BECK                     TX         75003663535
29162583885822   KEVY          FIGUERA                  CA         46044945838
29165486531433   VICTOR        JOHNSON                  MO         90009574865
29167157591522   MICHAEL       MORALES                  TX         90013661575
29169972191828   RENE          CHAISSON                 OK         90005789721
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29171832497124   ERIN          THIELBAR                 OR         90008688324
29172159431453   JOHN          ARELLANO                 MO         27564481594
29172393155957   JAVIER        LLAMAS                   CA         90013253931
29172429381633   SONDRA        SMITH                    MO         90008584293
29173451791522   ROGERS        WIRELESS                 TX         90014964517
29175666191953   FRANCOIS      SERUSHYANA               NC         90013976661
29175824955957   KONNIE        NEWTON                   CA         48087478249
29177934141455   HEBER         ARMENDARIZ               TX         90002839341
29178882471935   TD            TILTON                   CO         90001578824
29179118991547   EVA           MARQUEZ                  TX         75042381189
29179568391592   LAURA         ALVAREZ                  NM         75086655683
29182963891241   LISA          WATERS                   GA         90011069638
29183376791953   JIMMIE        BLUE                     NC         90012943767
29185779391828   MELANIE       RAFFENSPERGER            OK         90010487793
29187358691881   LAVONDA       PRUITT                   OK         90012683586
29188142831631   DEBORAH       FARR                     KS         90012231428
29188845531453   DEWAYNE       DIGGS                    MO         90011428455
29189181455935   FRANCISCA     MARTINEZ                 CA         90007781814
29189462931453   LAMONT        ELLIS                    MO         90015114629
29189845881633   KAREN         NUNEZ                    MO         29080828458
29191183731631   DUSTIN        PERRY                    KS         90013001837
29191585191592   SANDRA        HERNANDEZ                TX         75080765851
29194859291522   VANESSA       SOLTERO                  TX         90012218592
29194917131671   TIFFANY       BRITTANY                 KS         90005889171
29195866291953   FERNANDO      DOMINGUEZ                NC         90002658662
29195995555957   VICTOR        SILVESTRE                CA         90004529955
29197285791592   CARMEN        VAGUHN                   TX         90013332857
29198656451336   DANNY R       WELLS                    OH         90015166564
29199294555957   SOCORO        RUIZ                     CA         90014792945
29199726351328   CATHY         BRANDENBURG              OH         90003447263
29212214857565   SARAHI        REYES                    NM         90009352148
29212783531631   EDWARD        BRADFORD                 KS         22069497835
29214364455957   FELICIA       GUTHRIE                  CA         90014793644
29214541784364   DANIELLE      LINGARD                  SC         90008465417
29217632884364   JULIO         CONCEPCION               SC         19013116328
29217758331453   DENISE        SMITH                    MO         90013747583
29218349251328   STAPHANY      JAMES                    OH         90014803492
29219943191522   JORGE         HERNANDEZ                TX         75089469431
29224415255957   MITSY         VILLAGRAN                CA         90013984152
29226312781633   EDWARD        HARRIS                   MO         90012453127
29226876751351   SHARLENE      KNOX                     OH         90006398767
29227791191528   MARTIN        LOPEZ                    TX         75062347911
29228125791592   RALPH         GAY                      TX         90010991257
29228698391528   LILIANA       GONZALEZ                 TX         90003246983
29229146255957   BEATRIZ       SOLIS                    CA         90015501462
29231638851328   JUSTICE       SCHNAP                   OH         90012776388
29232494431453   MEGAN         COBBS                    MO         90001804944
29232631971923   BRANDI        GARCIA                   CO         90015216319
29233252285822   ELISHA        PUGEL                    CA         90003952522
29233698391528   LILIANA       GONZALEZ                 TX         90003246983
29234574655957   DAINY         SMITH                    CA         90002365746
29235587355957   ADRIANA       RODRIGUEZ                CA         90013335873
29237369391522   ERICK         BETANCOURT               TX         90012823693
29237715761979   NAJVAN        OSMAN                    CA         90001327157
29238426491828   MARIA         HERNANDEZ                OK         21060514264
29239422655957   EPIFANIO      QUAIR JR                 CA         48007824226
29239468291953   MARSHARELLE   EVANS                    NC         90012234682
29241319331433   SAMKA         KRUHO                    MO         90004363193
29241348955957   SIERRA        TORRES                   CA         90004653489
29243793891391   HAROLD        BRENTS                   KS         90014997938
29244638791592   MANUEL        MOLINA                   TX         90009196387
29245315651336   KEITH         TEIPE                    OH         66020403156
29246885891592   LORENA        JACQUEZ                  TX         75044078858
29246998951336   LEONEL        CRUZ                     KY         90003289989
29248578455957   BREANNA       BALL                     CA         90013695784
29248935381633   TASHA         BEALS                    MO         90004769353
29249482931453   LAKEESHA      HILL                     MO         90013634829
29249927591953   LISANDRA      COURTNEY                 NC         90014809275
29251886751336   ELIZABETH     MANNING                  OH         90015138867
29254861191828   OLIVARES      ORAILA                   OK         90007738611
29255314822971   FLOR          MENDOZA                  GA         90015473148
29256215941455   LONISHA       DURHAM                   WI         23552672159
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29256596891953   ELIZABETH           HARCOURT           NC         90015015968
29257829555957   MARITZA             FARIAS             CA         48002818295
29261545751328   KAREM               DAVIS              OH         66006515457
29261651251348   WOLDE               DINBERU            OH         66097106512
29263615485822   SHAWN               ROYAL              CA         46022666154
29265615485822   SHAWN               ROYAL              CA         46022666154
29271123181633   AMBER               NICHOLS            MO         29061491231
29271419657128   CINDY               CLEMENTS           VA         90012344196
29271635291828   AMBER               ZORN               OK         90010516352
29271828491241   LINDA               JOHNSON            GA         14582378284
29272656661925   VERONICA            FERRAZ             CA         90002646566
29273771231453   TARA                BALDWIN            MO         27560937712
29273954191953   GONZALO             PEREZ              NC         17003959541
29276216731453   CAROLYN             MCCRAY             MO         90011172167
29276647991828   JOHN                BAKER              OK         90010516479
29277818481633   MICHAEL             HIGHTOWER          MO         29001318184
29278139191528   MELANIE             RAMIREZ            TX         75071481391
29278185251328   CATHY               MARSHALL           OH         66009971852
29278238355957   SUSANA              LOPEZ              CA         90007912383
29278534531453   BIRHANE             TESHAY             MO         90013435345
29279493571925   BARBARA L           MICKLICH           CO         90012624935
29281889657124   CARMELO             VASQUEZ            VA         81057418896
29282169751328   LISA                BROUGHTON          OH         90004041697
29282543855957   JAIME               JIMENEZ            CA         90015445438
29282758331453   DENISE              SMITH              MO         90013747583
29283738391522   JASMIN              FLORES             TX         90010687383
29287152331453   PHILLIP             HANCOCK            MO         90005641523
29287421591592   VIANETTE PATRICIA   CARREON            TX         90013604215
29287948325144   WHITLEY             SAFFORD            AL         90014579483
29288376831453   MAPLE               HARGROVE           MO         90011003768
29288657555957   ROBERT              GONZALES           CA         48081686575
29289716191953   LOISE               FDRKPAH            NC         17077207161
29289975651328   ROBERT              DEARDORFF          OH         66080119756
29292123151336   RUSHEMA             MADDOX             OH         90013501231
29292916351328   SKYE                BOLYARD            OH         90013959163
29293966691592   BLANCA              DELATORRE          TX         75060679666
29294655593742   CURTIS              PINKEY             OH         90001256555
29295315691953   GUADALUPE           PEREZ              NC         90004943156
29295578131453   ALONDA              LOVE               MO         90001735781
29296621491522   LAURA               CASTILLO           TX         90014006214
29298224731631   PAYGO               IVR ACTIVATION     KS         90013212247
29299363931453   MICHAEL             MARTIN             MO         90011163639
29299475791926   KEVIN               ARMOUR             NC         90005964757
29311229191828   STEPHEN             PFOHL              OK         90001082291
29311839981633   JASON               WOODS              MO         29050908399
29313331491953   TYEESE              CHANDLER           NC         90011383314
29314984131631   KIMBERLY            BYERLY             KS         90003649841
29317912391592   E                   ARREDONDO          TX         90015319123
29319236591953   APRIL               TORAIN             NC         17094912365
29321312691953   YADIRA              FLORES             NC         17037743126
29321718691953   JORGE               PONCE              NC         90001477186
29323552481633   BRIAN               MALTBIA            MO         29053495524
29325238291828   REINA               HERNANDEZ          OK         90013182382
29327152231433   KERRON              RHONE              MO         27594311522
29327264691953   SALENA              JASNOSZ            NC         90014952646
29328454431453   DORIS               PENDLETON          MO         90012784544
29331696391522   LUCILA              DIAZ               TX         90014856963
29332535291541   JESUS               MARTINEZ           TX         90011695352
29333129491953   ROSELYN             YAMBA              NC         90015161294
29333726651336   RALPH               LAWRENCE           OH         66016957266
29335389281633   R. KEVIN            PASLEY             MO         29011713892
29335852655957   DORTHEA             HAMILTON           CA         90013238526
29337211851336   KATHERINE           SWEARINGEN         OH         90011312118
29338695591592   GABRIEL             GONZALEZ           TX         75011886955
29339227891522   JUAN                MALDONADO          TX         90008172278
29341824397121   GLADYS              MORALES            OR         44534448243
29342475281633   AMANDA              KROENKE            MO         90010894752
29343334185991   KATHRYN             COLLINS            KY         66046883341
29343433831631   ANTHONY             PARKER             KS         22052854338
29343928581633   SUSAN               SOTTORIVA          MO         90001439285
29347723555957   FLAVIO              AGUILAR            CA         48010157235
29347946191592   DIEGO               RASCON             TX         75012469461
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29348423397173   AMANDA           HOLBROOK              OR         90004234233
29351591755957   MARIA            GARZA                 CA         90002025917
29351756651328   JAMES            SANDLIN               OH         90014207566
29352196255957   JOSE             MENDOZA               CA         48005581962
29356587355957   ADRIANA          RODRIGUEZ             CA         90013335873
29357825991522   JUANITA          VASQUEZ               TX         90014248259
29358333531453   SHANTAR          ALDRIDGE              MO         90005903335
29359523751336   CANDUS           WILLENBRINK           OH         90013045237
29361274291828   DIM              CING                  OK         90014962742
29362449691522   JENNIFER         ELIAS                 TX         90014524496
29362585781633   KASSANDRA        FRANCO                MO         90014095857
29362658631453   MICHELLE         JOHNSON               MO         90013486586
29363598491953   SHAWN            RAYBURN               NC         17005605984
29363639531631   DARYANNE         OTT                   KS         90012146395
29364286391953   KRYSTAL          DANIELS               NC         90010992863
29365835991522   MARCUS           BORUNDA               TX         90002528359
29367621738523   DEBRA            ISBELL                UT         90008586217
29369574951336   DELANIA          BIL-WARNER            OH         90000925749
29371434491241   JAMES            LUCAS                 GA         90006814344
29371852655957   DORTHEA          HAMILTON              CA         90013238526
29371883491522   ISRAEL           ESTORGA               TX         75002098834
29371934885822   RON              KENNEDY               CA         46023329348
29372153855957   KELLIE           BORGES                CA         48025661538
29372893931453   JACQUELINE       WILEY                 MO         27560918939
29373696641235   TERRANCE         JOHNSON               PA         90000996966
29374984951328   JESSICA A        SMITH                 OH         90001759849
29376711831453   JANNELL          STRONG                MO         90003207118
29377312291953   VIRGINIA         GONZALEZ              NC         17057323122
29378592851336   STEPHANIE        SNEED                 OH         90005855928
29379599691522   MARIO            RAMOS                 TX         90006275996
29381997481633   BRANDON          RIVERA                MO         90013789974
29383126291522   ERIC             ESTRADA               TX         90010531262
29386755391953   ERICA            STEWARD               NC         90008957553
29386778731433   JAHAD            OZIER                 MO         27563857787
29387879681633   ALONSO           ERASMO                KS         90006538796
29388756691953   DARVIN MAGDIEL   ROBLERO BARTOLON      NC         90012107566
29391182251336   CHIQUITA         TERRY                 OH         90014001822
29391922655957   CELINA           VALE                  CA         90013769226
29392585991828   ANGELA           SARTAIN               OK         21049525859
29393897591828   DANIEL           HERNANDEZ             OK         90006038975
29394898631453   KELLER           MCLAURIN              MO         90007438986
29395298491953   ERIC             BARNES                NC         90010992984
29395972851328   STEPHANIE        BROWN                 OH         90011519728
29396778955957   KARINA           GUEVARA               CA         90013277789
29397323731453   JOE              WHELPLEY              MO         90011243237
29397668651328   JENNIFER         MIRANDA               OH         90015536686
29399133931453   HARRIET          MEEKS                 MO         90013351339
29399499291953   JOEL             OMBASA                NC         90000274992
29411241391953   ROXANNE          BON                   NC         17067342413
29411827351328   STEPHANIE        MCINTOSH              OH         66051298273
29412599491522   MARTHA           GUTIERREZ             TX         75022585994
29413858851336   CHRISSY          COLLINS               OH         90011608588
29416675955957   SYLVIA           BOTELLO               CA         90007926759
29418963531453   LICOLE           MCKINNEY              MO         27586139635
29421272871923   OSCAR            RIOS                  CO         32008272728
29421352572431   NICOLE           GARUCCIO              PA         90008303525
29421987791592   TANIA            GOMEZ                 TX         90010719877
29422372851336   TERRI            CAHALL                OH         66006433728
29422591991592   ANA              GONZALEZ              TX         75095035919
29422686255957   GINA             ROBERTS               CA         90014456862
29422719291522   CLADIA           LOPEZ                 TX         75002127192
29423797255957   ANGEL            DELGADO               CA         90013937972
29424777591522   IDA              ALLEN                 TX         90002877775
29425986151336   KELLY            ANDRESEN              OH         90010869861
29426454855957   SERGIO           MANCILLA              CA         48011884548
29426757991828   TINA             BRIDGEWATER           OK         21043847579
29429485955957   JANET            ALAPISCO              CA         90013984859
29429736391592   CECILIA          FRAIRE IBARRA         TX         90013057363
29429782385865   IRENE            MCCONAUGHEY           CA         90012457823
29431798651336   LASHAWNA         MORRIS                OH         66013817986
29432376181633   LYNESSA          COOK                  MO         29013133761
29433151291953   RICKY            SNEAD                 NC         90012951512
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29433287357176   DELMY            HERNANDEZ             VA         90008242873
29433392351336   NATHAN           LAY                   OH         66082843923
29433418241961   CATHERINE        BONNER                OH         90012014182
29434443331453   DANIELLE         LAWRENCE              MO         90014954433
29439427781633   TRISHAL          DREW                  MO         29050734277
29439576531453   PHYLLIS          MOORE                 MO         90014025765
29442333284364   AISHA            MICHELL               SC         90011773332
29442398971945   QUENTIN          SHELTON               CO         90010003989
29442894951336   LAVERNE          COLWELL               OH         66073218949
29443421961986   MARTHA           ARAIZA                CA         90012534219
29443956291953   LASHONDA         TOGBE                 NC         90012049562
29444414791592   BONIFACIO        TREVIZO               TX         75012164147
29445417631631   RANDY            PAINTER               KS         90013314176
29445725551328   DARNELL          JEWETT                OH         90014927255
29446221391828   BRENDA           CRUMPTON              OK         90011152213
29447597855957   SUSANA           BARAJAS               CA         48004265978
29448451555957   CARYN            COLLINS               CA         48074104515
29449562281633   JESUS            ORTIZ                 MO         90013285622
29451839991953   SALLY            GONZALEZ              NC         90013608399
29452234991953   STEVEE           ALSTON                NC         90014872349
29452575951336   KELA             ROSE                  OH         90013685759
29453253691592   LESLIE           ORTEGA                NM         75066442536
29453591191953   OLIVER           SANCHEZ               NC         90009515911
29453837151328   PERRY            DUSKIN                OH         90010808371
29456253754123   JOEL             STEPHENS              OR         90007932537
29456789451328   DESIREE          BRYANT                OH         90012977894
29457448991828   CHARLES          HARREL                OK         90011404489
29463937751328   TRACI            FIELDS                OH         90009889377
29464513861995   CASSANDRA        CAVETTE               CA         90011125138
29465112655957   MARK             SERRANO               CA         90007371126
29465127681633   MARTHA           JASSO                 MO         29069021276
29466193591522   ALEJANDRO        ARIAS                 TX         90009091935
29468161191592   RICARDO          CASTRO                TX         90014831611
29468365391241   DARLA            COGHILL               GA         14570623653
29468457491953   TIFFANY CHERIE   ELDER                 NC         90002244574
29469167291592   BLANCA           ZUBIATE               TX         90014831672
29471834791522   RODRIGUEZ        JUAN                  TX         90014248347
29473112391953   WILLIE           COOK                  NC         17004831123
29473333291592   ENRIQUE          SALAZAR               TX         90010813332
29474759491953   WILFREDO         MARTINEZ              NC         90009127594
29475389651336   ISABEL           OVIEDO                OH         90014173896
29476654591953   MARY M           SIBENGE               NC         90002086545
29477369891592   YVONNE           GARCIA                TX         90010163698
29477627351328   KEVIN            MONTGOMERY            OH         90011066273
29478339191828   DONNA            MORAN                 OK         21060113391
29479436355957   JANETTER         MEDOZA                CA         90014794363
29483644851336   STEPHANIE        BRIGGS                OH         90014906448
29484362655957   YVETTE           VIDALES               CA         90009263626
29485322791592   JORGE            LUJAN                 TX         75041513227
29485412131631   AMBER            BRADLEY               KS         90013664121
29486957391592   AMANDA           GALLEGOS              TX         75063469573
29488636955957   ERIBERTO         CORNELIO              CA         90012426369
29489429991522   REY              RIVERA                TX         90011904299
29491144131453   INDIA            WILLIAMS              MO         90007661441
29491341155957   CHUCK            ALCALA                CA         48075443411
29494625181633   AARON            KELLY                 MO         29000976251
29495831891953   LE TRYSE         INGRAM                NC         90003088318
29496145651328   MARIA            STASSER               OH         90014041456
29499326151328   ROGER            ROETHELI              OH         90002813261
29499876991528   GLORIA           ESTRADA               TX         90012938769
29512232191592   MARIA            ORTIZ                 TX         75068772321
29515422291828   KYISHA           LENTZ                 OK         90009544222
29515477481633   CAROLYN          ISOM                  MO         90014684774
29515988191953   ISIAH            JENKINS               NC         90004159881
29516424185931   ALEJANDRO        RODRIGUEZ             KY         90013694241
29516672755957   DIANA            BARAJAS               CA         48059626727
29522161651336   JULIO            CRISTOBAL             OH         66004621616
29524491685865   KEITH            WILLIAMS              CA         90012914916
29524587631433   MERLIN           SMITH                 MO         90004415876
29524723591828   MILAN            OWENS                 OK         21064997235
29524734591522   MIGUEL           VASQUEZ               TX         90013737345
29525391951338   CANELA           PERSON                OH         90013773919
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29526294791828   KAREEM        BROWN                    OK         90014702947
29526395431631   DANNY         BRASHAR                  KS         90009403954
29528522581633   GWEN          MCGUIRE                  MO         90014675225
29528573661977   GABINO        RODRIGUEZ                CA         90002395736
29529532951336   ASHLEY        FREDERICK                OH         90009735329
29532867591942   MICHEAL       FENTON                   NC         90008088675
29532982331453   ANTIONETTE    SIMMONS                  MO         90015129823
29534253157173   SHERRY        CAMPBELL                 VA         90012662531
29534397455957   GUADALUPE     GARCIA                   CA         48076213974
29535832431453   CHERYL        MCROBERTS                MO         90010098324
29536648931433   LAR ANN       FELLOWS                  MO         90004416489
29536976391592   ISRAEL        VALDEZ                   TX         90004339763
29538764277338   ANNA          BRADSHAW                 IL         90014757642
29541673131453   TERESA        CAPPELLO                 MO         90012336731
29542799931453   KENEICKA      HARRELL                  MO         90011607999
29543657791592   JORGE         HERNANDEZ                TX         90007896577
29544546631631   JOSE          LOYA                     KS         90010135466
29545986455957   JUAN          CANO                     CA         48005659864
29548775751328   CHRIS         PLOWMAN                  OH         90012887757
29548966841255   LAUREN        DAY                      PA         90008689668
29551865991828   DESTINY       THOMAS                   OK         90011558659
29553361331631   APRIL         HUMBLE                   OK         90001533613
29554157585841   PATRICIA      CRUZ                     CA         90008491575
29556156491592   CLAUDIA       DOANE                    TX         75081281564
29556552491547   HECTOR        JURADO                   TX         90007565524
29556652881635   LAKESHIA      AVERY                    MO         90007146528
29558592151328   GUADALUPE     AGUIRRE                  OH         90015415921
29561559381633   JESSIE        GARRISON                 MO         90013325593
29563125351336   DONNA         SANDER                   OH         90001001253
29563226191828   JAMES         RUTH                     OK         21049882261
29563586291522   AIDE          GUSTAMANTE               TX         90014835862
29564171991592   JULIAN        LOPEZ                    TX         90007611719
29564788191828   SHANNON       HUNT                     OK         21098517881
29564882291953   DANIEL        ROMERO PONCE             NC         90013928822
29565123355957   ROSEANA       ARRIOLA                  CA         90002531233
29566695785822   PAUL          WEINER                   CA         46037966957
29567947151328   RAJESH        SELVARJ                  OH         90010339471
29568597731453   CHRISTOPHER   ROSE                     MO         90012925977
29571172991592   ANA           SHIRSAT                  TX         75096871729
29571333531453   SHANTAR       ALDRIDGE                 MO         90005903335
29573941991828   ANDREW        NEELEY                   OK         90012389419
29576379691953   JOHN          JOHNSON                  NC         90013193796
29577575691528   TANIA         RORIGUEZ                 TX         75094425756
29578294891953   JAIRO         ORTEGA                   NC         90013432948
29578679251336   SARAH         WILKING                  OH         90012436792
29578849391592   MELBA         CHAIREZ                  TX         90011108493
29579159991522   EDUARDO       LIRA                     TX         90003861599
29582462991528   CHAYNA J      RIMPLE                   TX         75097424629
29582676185822   OSCAR         CARMONA LUNA             CA         90004896761
29584957931453   TASHA         SWIFT                    MO         90012479579
29586793651336   STEVEN        AMBRUSTER                OH         90011517936
29587547231453   DELISA        THOMAS                   MO         90013225472
29587582685822   BOMI          KIM                      CA         90010505826
29589163555957   CINDY         CASTRO                   CA         90010771635
29592389771954   JAMES         BUSTAMANTE               CO         38075373897
29595939891522   MAGDALENA     SOLANO                   TX         75014089398
29596814491953   REMEDIO       NORITA                   NC         90011648144
29597915151348   SUSANA        ARAUJO                   OH         90009969151
29598143284353   MARION        GILL                     SC         19063711432
29598212131631   MATTHEW       CZECHOWSKI               KS         22090752121
29599261491953   JAMAAL        KELLY                    NC         90011392614
29611217971923   TRACY         GRAZIOSII                CO         90007502179
29611367355957   SUSAN         OTTO                     CA         48080323673
29611567951328   LINDSEY       PETTIT                   OH         90015325679
29611872871923   T             GRAZIOSI                 CO         90013848728
29612558455957   JESUS         VILLALOBOS               CA         90014795584
29613139884364   PAMELA        JONES                    SC         19028741398
29613772655957   CHRISTINA     SANCHEZ                  CA         48032707726
29619229691592   DEZARAY       MARTINEZ                 TX         90014812296
29621541291592   DENISE        SANCHEZ                  TX         90011325412
29624243831453   ANDREA        BUTLLER                  MO         90009402438
29626615351328   MICHELLE      KORTE                    OH         90012756153
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29629763231631   PHOEBE        VINCENT                  KS         22055037632
29631485691522   ALFREDO       PEREZ                    TX         75065834856
29632562591953   URCIA         MATSINNA                 NC         90014455625
29634715691522   CELESTE       APODACA                  TX         90002537156
29636454555957   MARTIN        MARTINEZ                 CA         48031044545
29638988391522   GERARDO       MEOUCHI                  TX         90012599883
29639715985895   AMBER         STRONG                   CA         90001307159
29643988191522   MARTHA        MENDEZ                   TX         75002629881
29644688991828   EBONY         TODD                     OK         90011506889
29645583155957   MAYRA         CEJA                     CA         90006075831
29645824751336   MISTY         JONES                    OH         90012708247
29645975622971   PAYGO         IVR ACTIVATION           GA         90015149756
29646484885822   MARGARITA     RAMIREZ                  CA         46064454848
29646756181635   JULIE         MOORE                    MO         29040507561
29648719355957   JOSEPHINE R   VAZQUEZ                  CA         90007827193
29648887381633   RENEE         SHERROD                  MO         29009258873
29649666391522   SUSANA        JUAREZ                   TX         75000186663
29651934591953   JOSEPH        SPOKES                   NC         90014809345
29652122877338   RYAN          MEGALE                   MO         90011391228
29652293391522   ELIZABETH     GUTIERREZ                TX         75086722933
29652546555957   GUSTAVO       RUIZ                     CA         90014605465
29652694391953   ISRAEL        TIQUET OSORIO            NC         90014436943
29652763331453   SHANIECE      MCCOY                    MO         90014877633
29653473991592   SANTIAGO      MUNOZ                    TX         90012604739
29654296851336   CODY          JOHNSON                  OH         90014362968
29656463991528   MANUEL        OROZCO                   TX         75095514639
29656468351336   CATHERINE     BENDER                   OH         66039284683
29656975531453   CHRISTINA     RENEE                    MO         90011649755
29657177891592   REYNA         GARCIA                   TX         90014441778
29657516491525   ELIZABETH     AKGUN                    TX         90000825164
29657943831453   BREAUNA       WILSON                   MO         90003429438
29661514493757   LYNN          CLEMANS                  OH         90003815144
29661962971923   JODI          VALDIVIA                 CO         90001559629
29662723785999   DOMINIC       CARLOTTA                 KY         66046237237
29667759497173   ARLETTA       QUADRO                   OR         90001297594
29668182251336   CHIQUITA      TERRY                    OH         90014001822
29668534597173   HENRY         SPAHN                    OR         90009225345
29668971491592   VIANEY        MARTINEZ                 TX         90014059714
29669565885822   CECILIA       DANGELO                  CA         90008075658
29673731891828   PAULA         DREW                     OK         21004737318
29676955555957   RUDY          MENDEZ                   CA         48062559555
29677985631631   ETHEL         ADAMS                    KS         22015279856
29678119591522   JOSE          PUENTES                  TX         90013401195
29679184631631   KATHY         POLACIOS                 KS         90008601846
29681452391522   SHAWN         WHITEHURST               TX         90014524523
29681735755957   LILIANA       GONSALEZ                 CA         90014157357
29682432391522   IVON          RENNDON                  TX         90010384323
29685223285822   KYLE          KRISTOFF                 CA         90006762232
29685553133631   JOAQUIN       NELSON                   NC         90007745531
29685681855957   AMANDA        NORRIS                   CA         48038756818
29686125891592   SALVADOR      HERRERA                  TX         90010171258
29688683255957   BLANCA        OSUNA                    CA         48034376832
29692629131453   QUEITA        BAILEY                   MO         27511726291
29692896931631   LAWRENCE      SANDERS                  KS         90014008969
29694547191592   ANN           TAPIA                    TX         90012135471
29698229851328   KELLY         BOWLING                  OH         90013212298
29711218742565   ALFONSO       PALAFOX                  WA         90015492187
29712759491953   LAURA         KING                     NC         17089097594
29713442951336   WILLIAM       HOWARD                   OH         90009144429
29713628891241   LINDSAY       HUNT                     GA         90003866288
29713986231453   SEPTEMBER     MILES                    MO         90001359862
29714118431631   NANCY         RUVALCABA-HERNANDEZ      KS         90009721184
29714413231433   DANA          STRAIN                   MO         27516564132
29717178451328   ROBIN         BOLIN                    OH         90013931784
29721928731631   LESTER        CARRELL                  KS         90010319287
29721934791828   TERRENCE      CHISHOLM                 OK         90010609347
29722568891542   VALENTIN      DIAZ                     TX         90012995688
29722934593762   KORI          BLESSING                 OH         90012509345
29725667691828   ASHLEY        WYNN                     OK         90014916676
29725768855957   CHRISTINE     HOUK                     CA         90014947688
29726591351336   ROXAN         BYRGE                    OH         66050975913
29726821355957   EDGAR         ALVARADO                 CA         90014998213
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29732289991528   SANDRA             MARTINEZ               TX      90010982899
29734568855957   ANDRES             SEGURA                 CA      90003675688
29734963385822   MYISHA             BARNHILL               CA      90011229633
29735842961994   CESAR              HERNANADEZ             CA      90006098429
29737419391522   JUAN               HINOJOSA               TX      90008174193
29739666391547   CINTHIA            MEZA                   TX      90010496663
29742655891522   LAURA              GUEVARA                TX      75068176558
29743974555957   GREGORIO           GAMBOA                 CA      48073719745
29744646291528   VICTOR             ALBA                   TX      90005376462
29744699681633   CURTIS             DRAFFEN                MO      90012156996
29745388985822   OMAR               GONZAGA                CA      46025273889
29745891755957   VALENTE            MEDINA                 CA      48003218917
29747544451328   BOBBI              ONDREKA                OH      90010345444
29748998484364   CLARENCE           BRYANT                 SC      90010409984
29749589851328   WILL               HAMM                   OH      90008805898
29751796931631   ANTOINETTE         WILLIAMS               KS      22078447969
29752539131631   A                  A                      KS      90007515391
29752541451328   JEREMY             CROWDER                OH      90009605414
29753451591952   LOUVENIA           PLATTS                 NC      90007934515
29754499854123   JASON              WILLIAMS               OR      47038334998
29754665631631   KRISTI             CALVIN                 KS      90012756656
29755141591953   STEPHANIE          YORK                   NC      90011011415
29755226891828   PATRICIA           GRAYSON                OK      90013832268
29756153331631   JESUS              LERMA                  KS      90014621533
29759128491522   KARINA             GARCIA                 TX      75047381284
29761318484343   JIM                BROWN                  SC      90015353184
29763687491828   CIIN               CING                   OK      90011856874
29765657897124   JOSE R             RAMIREZ                OR      44572716578
29766239891522   KENDY              WILLIAM                TX      90005152398
29767397491241   JAVON              SAMS                   GA      90015133974
29767798791592   CORINA             SANDOVAL               TX      90003707987
29767964955957   DANYUELL           BENNETT                CA      90012789649
29768627681633   RENE               TRITLITT               MO      90009276276
29771449191522   CHRISTOPHER        DIAZ                   TX      90008174491
29772438691592   DIANA              PALACIOS               TX      90010814386
29772857631631   CARLOS             CONDE                  KS      90010268576
29773475731631   MEGAN              STEPHEN                KS      90012354757
29775615491592   GABRIEL            CEBALLO                TX      90003826154
29776281431453   TIJUANA            SIMPSON                MO      27510822814
29781418481633   SMASH              A                      MO      90015134184
29784745891828   MARIAELENA         RUIZ-VALADEZ           OK      21084697458
29785949291592   LUIS               ALMANZA                TX      75058789492
29788981381633   ISAIAH             EDWARDS                MO      90014249813
29789697385822   ENRIQUETA          EVITA                  CA      90004316973
29791261551328   KATIE              SHEPHERD               OH      90010602615
29792345855957   JORGE              CERVANTES              CA      90013643458
29792573491828   AMANDA             HYATT                  OK      90006015734
29792865631631   BRADLEY            PILAND                 KS      90014298656
29793118384325   DARRNELL           HOUSTON                SC      90008991183
29793291131631   JANET              TORKELSON              KS      22033302911
29795794855957   GUILLERMIN         ACEVEDO                CA      90010777948
29795853931453   JIAN               HE                     MO      90012338539
29796174191828   TYRONE             PAYNE                  OK      90012261741
29797319991953   VALERIE            REID                   NC      90014843199
29797397591592   RAQUEL             GOMEZ                  TX      90013873975
29798961847826   BENITA             FIMNNEY                GA      90010919618
29799335581633   KRISTEN            ANDREWS                MO      29090243355
29811237191522   JORGE              CHAVEZ                 TX      90013722371
29811528291592   JOSE LUIS          VIDANA                 TX      90015235282
29811646477572   JARED              HYER                   NV      90013116464
29812239261982   ORALIA             GONZALEZ DE CARRASCO   CA      90013062392
29812342955957   KIETH              BILLINGS               CA      90005713429
29812629791828   TOMMY              RILEY                  OK      21085226297
29813183851328   LEAH               MEREDITH               OH      90015111838
29814732891953   STEVEN ALEXANDER   ESTRADA                NC      90007687328
29815237891953   SHAMIRA            PRIDGEN                NC      90011012378
29815285691592   JENISSA            LOI                    TX      90014692856
29816238393742   MARKITA            CARTER                 OH      90010622383
29816619881633   GUADALUPE          SANCHEZ                MO      90010406198
29818188151328   JORGE              SANTOS-RAMIREZ         OH      90014681881
29821526491828   ANGELINA           GILLMAN                OK      90010125264
29822837455957   CHRISTINA          GOMEZ                  CA      90000278374
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29823676331631   TIM            NEWTON                  KS         22024196763
29824388291592   MARIA ESTHER   VALDEZ                  TX         90009223882
29825183191522   CLAUDIA        ARCINIEGA               TX         90011741831
29825457291953   OSMAN          MENDOZA                 NC         90008664572
29826821591592   JASMINE        WILLIAMS                TX         90010258215
29828282484364   MARIA          HOLMES                  SC         19006602824
29828585151328   JORDAN         FIELDS                  OH         90013495851
29828976191828   KASHONIQUE     HOLT                    OK         90012849761
29829976391828   JOSEPH         GENTRY                  OK         90011919763
29831829151328   SHANNON        ALESHIRE                OH         90002288291
29836179191528   ALEJANDRO      CANALES                 TX         75068241791
29836611891592   HECTOR         RODELA                  TX         75070466118
29839665731453   LILLIANOUS     SAMPLE                  MO         90004776657
29839818791241   SONYYA         BENNETT                 GA         90009408187
29841291441455   GENA           GONZALEZ                WI         90015332914
29842436391828   KASEY          BANN                    OK         90014364363
29846139491828   BRIAN          SUSI                    OK         90014011394
29846255491241   MARCO          ALBORCA                 GA         90011532554
29846427761957   JESUS HECTOR   ANDRADE                 CA         90010674277
29846817951336   SHUNA          PITTS                   OH         90008298179
29847457991522   SAUL           RODRIQUEZ               TX         90010384579
29847625351328   BILLY          LITTLE                  OH         90014756253
29848334491828   KRYSTAL        SPEARS                  OK         90009493344
29853127655957   JUDY           SCHMELZER               CA         90013121276
29855516891592   JESUS          BARRIOS                 TX         75007115168
29856182391522   DIANA          FERNANDEZ               TX         75030221823
29856341685955   ANNA           CASE                    KY         67086443416
29856399755957   PEDRO          LUNA                    CA         90001413997
29857284591828   JAMES          ROBISON                 OK         21092202845
29857644791528   OSCAR          RAMIREZ                 TX         75094526447
29858627533621   SANDRA         THOMPSON                NC         90012196275
29859416791592   JOSEPH         MATA                    NM         90014594167
29861161791953   RICARDO        FERNANDEZ               NC         90008761617
29861447381633   ANTHONY        JOHNSON                 MO         90012524473
29862621251328   JULIE          COUCH                   OH         90007096212
29865539731453   MARCIA         RICHARDSON              MO         90010785397
29866279791828   HARVEY         IRON                    OK         90014962797
29866537791592   IRVING         WEISEL                  TX         90012485377
29868237551328   AMANDA         PERRY                   OH         90003532375
29868273131433   OLISHA         HARRIS                  MO         90013462731
29868654731631   CAIQUN         DOU                     KS         90013856547
29869424555957   FAVIAN         QUINTERO                CA         90007364245
29871221691953   JUDY           SPEIGHT                 NC         90002272216
29872298591828   SALVADOR       GARCIA                  OK         90012712985
29873558731433   RECORDIA       THOMAS                  MO         90010215587
29874688991953   JUAN CARLO     SANDOVAL                NC         17026416889
29875216551328   CHRIS          COOPER                  OH         90007622165
29876899831444   DEBBIE         WASHINGTON              MO         90009388998
29877183655957   RAMIRO         AGUINIGA                CA         48084081836
29882463391522   DELIA          M MUNOZ                 TX         90011954633
29882953991592   EDNA           GONZALEZ                TX         90013609539
29883432491953   MIRNA          REYES                   NC         17016554324
29883438985822   ORPEZQA        CI                      CA         46084214389
29883916893757   SCOTT          SHIVELY                 OH         90008469168
29883991255957   JOSE           NUNES                   CA         90006419912
29884325151328   CHRISTOPHE     GRAY                    OH         66069173251
29885938155957   JO ANN         GOMEZ                   CA         48088649381
29886369951328   KIMBERLY       FUGATE                  OH         90009983699
29887991391592   ALMA           HERNANDEZ               TX         90013209913
29889864191828   THELMESHA      EVANS                   OK         90001258641
29891699884343   QUENTIN        CHERRY                  SC         90014556998
29892515991828   MEREDITH       GOODVOICE               OK         90005815159
29892851651336   SARAH          SMITH                   OH         90015078516
29895247431631   PAULA          ABRAHAM                 KS         22039282474
29897987561932   JORDAN         MARTINEZ                CA         90000139875
29898446185822   TAMAYO         FABIAN                  CA         46018464461
29898692231485   KELLY          ROBINSON                MO         27516946922
29899592291828   BRENDA         HARGIS                  OK         90011425922
29899796955957   ANNE LORI      NANSTIEL                CA         90009147969
29911324991241   BOBBY          BLANTON                 GA         14571053249
29913184155957   ALBERT         VIDALES                 CA         90003051841
29914227591592   JAVIER         PUENTE                  TX         75043762275
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29914363651328   RICHARD       VOLZ                     OH         90013153636
29914865184364   CALVIN        STACEY                   SC         19024828651
29915284491522   ELVIRA        BARRAZA                  TX         90004962844
29916264191592   ANA           GOMEZ                    TX         90008922641
29916865184364   CALVIN        STACEY                   SC         19024828651
29918487191953   JOHN          MCBRYDE                  NC         90011914871
29918878355957   VERONICA      GARCIA                   CA         90004978783
29919665591828   MARI          HENDRIX                  OK         90009316655
29919993491953   JOSE          CAMARILLO                NC         90012729934
29921748155957   PERLA         PENUELAS ROMERO          CA         90013807481
29922419651328   TIMOTHY       TRAUT                    OH         90010874196
29923688291522   JESICA        GUROLA                   TX         90010916882
29923866697122   STEVEN        MCCALMONT                OR         90014388666
29924299985991   TRACY         ROBERTS                  KY         90012552999
29924738391522   JASMIN        FLORES                   TX         90010687383
29927563851336   EDDIE         MILNER                   KY         90014545638
29929666881633   TAUFAANUU     WARE                     MO         90013936668
29931383855957   RICHARD       LACEY                    CA         90015313838
29932931351336   JENNY         JONES                    OH         66094599313
29936817951328   ASHELY        SMITH                    OH         90014628179
29937323991522   GONZALES      ERIKA                    TX         75052893239
29939415691522   LAURA         ONTIVEROS                TX         90008904156
29942659981633   BRANDON       AMOS                     MO         90014086599
29943944285965   STEVE         FOSTER                   KY         90013479442
29944165891828   DORIS         BASS                     OK         21062721658
29945329291953   JAZMYNE       WHITE                    NC         90007403292
29945817784342   KAIA          LICEA                    SC         14509478177
29946148691522   GABRIEL       ACOSTA                   TX         90012261486
29946999155957   AMY           ROMAN                    CA         48030339991
29947727791528   CONSUELO      AYALA                    TX         75096557277
29951723481633   JAMES         WHARTON                  MO         90013647234
29952448681633   JODY          MCCAULEY                 MO         90012094486
29952712391828   STEVEN        ROUSH                    OK         90013987123
29953649491528   ROSANGELICA   NUNEZ                    TX         90005826494
29954332191522   EVA           VEGA                     TX         90012083321
29954969731631   SHERRY        MORRISSEY                KS         90014009697
29955373791522   MARYBEL       RUBIO                    TX         90002443737
29956759931631   TINA FAYE     HOOVER                   KS         90014767599
29957111851336   WINONA        JACKSON                  OH         90007631118
29958468951328   HANNAH        KUETHE                   OH         90012154689
29959519751328   CRYSTAL       LOWERY                   OH         66040625197
29959666791828   MUHAMMAD      ALMMANI                  OK         90010536667
29961955251328   BRITTANY      HOGAN                    OH         90013359552
29964369781633   DAVID         BANUELAS                 MO         90014643697
29966413191828   MEAGAN        HAGERDON                 OK         90008474131
29966992851336   ASIA          GRAY                     OH         90012979928
29967299791828   LORA          POLK                     OK         90009012997
29968447291522   CHRISTOPHE    BREAZEALE                TX         90000484472
29968815555957   TANEAL        MALLOY                   CA         90013758155
29968845131453   TONILLE       COX                      MO         27560758451
29972164681633   GINGER        HUNTER                   MO         90015161646
29972196551328   TRAVIS        BISHOP                   OH         90012731965
29972759855957   LYNETTE       MADRUGA                  CA         48017517598
29974139551336   TINA          BARNETTE                 OH         90003691395
29974694684364   KISHA         BRYAN                    SC         90000946946
29974711491828   REACONDA      WALKER                   OK         21021987114
29974718155957   CAMERON       SUMAYA                   CA         90003557181
29976439191522   BIANEY        ALARCON                  TX         90008184391
29978313291953   RUBEN         HERNANDEZ                NC         90013923132
29981911161935   JASMIN        RAMIREZ                  CA         90010399111
29983714431631   JOHNTRAIL     JOHNSON                  KS         90013917144
29984742991592   ESTHER        CARDENAS                 TX         90001457429
29986182491953   PHONG         TRANG                    NC         90014981824
29986219591522   MARA          NEVAREZ                  TX         90003602195
29986253651328   CHYRIE        HOWARD                   KY         90015132536
29986326151336   DERRICK       DAVIS                    OH         66080683261
29987285791828   STEVEN        GERHARD                  OK         90012402857
29988587191828   ENRIQUE       PADILLA                  OK         90013165871
29989816151328   DAVE          HENDERSON                OH         66033888161
29992231751328   PAGE          TAUCHERT                 OH         90007642317
29992992461558   ARNULFO       MESQUITIC                TN         90014869924
29993336351328   JERRY         PROFFITT                 OH         66064603363
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29993542891241   JAMEICA      ASHLEY                    GA         90011545428
29995269991522   IVETTE       ROLDAN                    TX         90006942699
29995477951336   CANDICE      WILLIAMS                  OH         90008194779
29995661191528   JAIME        RICO                      TX         90001736611
29996272651328   ADRIANA      MALDONADO                 OH         90014242726
29997956951336   JEROME       WALKER                    OH         66040559569
29998276255986   TERESA       ORTIZ                     CA         90012662762
29999175291828   JUAN         RODRIGUEZ TREJO           OK         90012261752
31111466572455   SHEMEKA      SMITH                     PA         51088674665
31111998161981   GONZALEZ     FABIAN                    CA         46014449981
31112812891831   NATASHA      NEWTON                    OK         90010948128
31113166384368   COURTNEY     SINGLETON                 SC         90002931663
31113221654165   TRAVIS       NAPIER                    OR         90013362216
31113439755972   ISMAEL       RIOS                      CA         90010914397
31115122591584   MARIA        RENTERIA                  TX         75074551225
31115812747931   VERONICA     PHILLIPS                  AR         90015518127
31115981155972   SALVADOR     LOPEZ                     CA         90013099811
31116418991584   VIRGINIA     ESTRADA                   TX         75087094189
31116646597131   JOYCE        OLIVO                     OR         90001636465
31117557784368   HILLARY      DRIGGERS                  GA         90012125577
31117812331424   MICHELLE     SMITH                     MO         90005128123
31117964181653   BREE         FORBES                    MO         29000319641
31118149891371   QUINTON      SCHNECK                   KS         90013301498
31118494751369   NAKIIMA      REID                      OH         66002574947
31118926536143   RICARDO      CISNEROS                  TX         90012129265
31119325272496   ANN          RUNKLES                   PA         51098963252
31123259891831   DORIS        LONG                      OK         90013832598
31123392947931   STEPHANIE    RAMIREZ                   AR         90015123929
31123866151339   DANA         PRUITT                    OH         90014308661
31125123591584   ALFRED       FLORES                    TX         75053351235
31126153854165   STEVEN       DUNN                      OR         90010611538
31127316372496   GOLDIE       KLINE                     PA         51093043163
31127845384368   ANTON        WATSON                    SC         90014108453
31128679155931   HARRY        BEDROSIAN                 CA         49040316791
31132331747931   ADEOLA       YUSUF                     AR         90002023317
31132768491831   ANGELIC      RANGEL                    OK         90010287684
31134443172496   MIKAYLA      HORNER                    PA         90010534431
31134659354165   MATTHEW      SINK                      OR         90010826593
31134719841258   MAYA         BOYD                      PA         90014067198
31135691191371   DAN          PETERS                    KS         90002836911
31136135651321   DANIEL       COFFEY                    OH         90010671356
31136237155972   ANGELA       BOCANEGRA                 CA         48095332371
31137463955972   ANTHONY      ENOS                      CA         48016634639
31137631941277   KAYLA        JAKOVAC                   PA         90013796319
31138657733642   TIMOTHY      DIXON                     NC         90010326577
31139314647931   BRIAN        CAMPBELL                  AR         90014073146
31141315651329   TIMOTHY      DANIELS                   OH         90002503156
31142327891232   LAKEN        CHATMAN                   GA         90012573278
31142741341285   COLLEEN      ROSKY                     PA         51055207413
31143182272496   JODELL       SCHOCH                    PA         90010971822
31145991384378   LUZ          JIMENEZ                   SC         90007009913
31146118791232   LINDA        HAUFT                     GA         14579411187
31146315841277   GERALDINE    CAFEO                     PA         51097663158
31148459772455   GINA         FUSTICH                   PA         51069704597
31149293291371   LYNN         EAGLE                     KS         90014102932
31149562231424   HILLARY      STUCKEY                   MO         27561455622
31152528477544   RAUL         MELENDEZ                  NV         90014865284
31153417551338   JENNIFER     DRAGISIC                  OH         90008384175
31154556772496   ASHLY        HULL                      PA         90014885567
31155463955972   ANTHONY      ENOS                      CA         48016634639
31155475477544   MAYRA        SALDANA                   NV         90011494754
31156139157128   GUSTAVO      TORRES                    VA         81009361391
31156619647931   JUDITH       LUGO                      AR         90012986196
31157732493772   GEORGE       WHITE                     OH         64506717324
31157778747931   JESSICA      WRIGHT                    AR         90010517787
31158494681642   NICHOLAS     CARTER                    MO         90006344946
31158958991831   JEFFERY      HARRIS                    OK         90010169589
31161463391531   SARAHI       LUJAN                     TX         90009584633
31162685454165   JESICA       RAMIREZ                   OR         90005626854
31163948855972   FRANSICO     MUNEZ                     CA         90007809488
31163963777544   JOSEPH       RAMIREZ                   NV         90011089637
31164538954165   JENNIFER     LAKE                      OR         90013375389
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31164557791537   ARTURO       JIMENEZ                   TX         90001005577
31164563677544   ANGELICA     VARGAS-MURILLO            NV         90012485636
31165771591232   MARY         ALVINO                    GA         90014577715
31165931291584   TIMOTHY      DENISON                   TX         90008549312
31166663291584   ASHLEY       PARRA                     TX         90011246632
31167398177544   DAISY        HERNANDEZ-FLORES          NV         90014823981
31167782691584   ROBERT       CHAVEZ                    TX         90014747826
31167876641277   NICK         SHEEHAN                   PA         90014828766
31168334741258   PAULA        DUMAS                     PA         51072033347
31168534991831   MARIA        MORRIS                    OK         21096345349
31168762347931   SUMMER       NELSON                    AR         90015597623
31168766136143   JACKELY      OLIVARES                  TX         90014707661
31169593491232   HASAMANTA    JOHNSON                   GA         90014855934
31171453191831   TAMARA       DANIEL                    OK         90011494531
31171668672496   THERESA      SOLTIS                    PA         90004306686
31172327884368   MANUEL       GARCIA                    SC         90014153278
31172349554165   SHELLY       SMITH                     OR         47001303495
31172396791831   JENNIFER     SOUTH                     OK         21052373967
31172663591584   LAURA        JOHNSON                   TX         90011246635
31172775855972   RICARDO      BRAN                      CA         90002757758
31172914691232   NOHEMI       ARREOLA                   GA         90015229146
31173417155972   MICHELLE D   TERRY                     CA         90007144171
31173779554165   REGECCA      FITZGERALD                OR         90005007795
31173969291584   GUILLERMO    FERNANDEZ                 TX         90013819692
31174951655949   ALMA         SARABIA                   CA         90000969516
31175743791584   SAENZ        BLANCA                    TX         90006017437
31176169891831   ROBERT       EVANS                     OK         21022131698
31176175131424   VALERIE      MACK                      MO         90011481751
31176254736143   GREGORY      RUEFF                     TX         90007652547
31176696955972   CRAWFORD     GUSMAN                    CA         90004296969
31177426384368   GABRIEL      PAZ                       SC         90014734263
31177548641285   KATHLEEN     RICHARDSON                PA         51010255486
31178288672496   TARA         NICHOLSON                 PA         90013382886
31178454184368   ELIAS        RODRIGUEZ LOPEZ           SC         90014154541
31178648591584   SAMUEL       SANCHEZ                   TX         90013946485
31178861854165   KATHERINE    YAOGO                     OR         90001178618
31181498491371   OSCEOLA      BENTLET                   KS         90013824984
31181586991893   JIMMIE       CRAFTON                   OK         21066135869
31182181385921   LAURA        WALLACE                   KY         90009861813
31182443855949   ESTABAN      ACEVEDO                   CA         90000444438
31182463141258   EILEEN       VINCENTI                  PA         51063114631
31182845991371   ALOISHIA     MARSHALL                  MO         90014648459
31183311791584   DANIEL       HERNANDEZ                 TX         90006393117
31183434547931   ALEXIS       SANCHEZ                   AR         90014994345
31184728241285   CORY         DEVAUGHN                  PA         90011677282
31185611854165   JOHNATHAN    HODGIN                    OR         90011616118
31185744831424   CHASSIDY     HOWARD                    MO         90008357448
31187313191549   JANET        COMENERO                  TX         90014903131
31187551277544   LINDSEY      CALVERY                   NV         43072275512
31187651291584   SUSANA       TERRAZAS                  TX         75020776512
31187753351369   JOE          HORNSBY                   OH         66032497533
31188371336143   PAYGO        IVR ACTIVATION            TX         90014893713
31188613791232   DONNA        FORKNER                   GA         90006616137
31188923755972   THONG LEE    PHOUNY                    CA         48010689237
31188994955921   CASEY        JAMES                     CA         90015319949
31189783831424   JOYCE        JONES                     MO         27515217838
31191264741277   RANAE        REIFMAN                   PA         51087442647
31191852947931   NATALIE      WELLS                     AR         90012978529
31192792555936   DORRINNE     SHARP                     CA         90005887925
31193491251369   NANCY        ADAMS                     OH         90014924912
31193769177544   JOSE         RUIZ-MERCADO              NV         43080877691
31193844591893   KEYANA       GRAHAM                    OK         21012818445
31194246451369   AMY          STANLEY                   OH         66012842464
31194515184368   TYSHENE      DOCTOR                    SC         90014925151
31195588577544   CHRISTY      BARDASHOV                 NV         43024495885
31196267941258   CARL         JONES                     PA         90014862679
31197662491584   HERMILA      DELGADO                   TX         90013946624
31197885477544   FILOMENA     SMOKEY                    NV         43088028854
31198735684368   SAMANTHE     WRIGHT                    SC         90013857356
31198998691525   JOHANA       MIRANDA                   TX         90002669986
31211881691831   CHRISTY      MARTIN                    OK         90001938816
31214158647931   TRUMAYNE     CUFFIE                    AR         90012901586
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31214559847931   ANGELA       SPARKS                    AR         90013755598
31215815991831   SAMANTHA     PERDON                    OK         90011548159
31216759284368   CESAR        BARTOLON                  SC         90012917592
31217475391584   MARIO        GABALDON                  TX         90009354753
31219474736143   ORLANDO      RODRIGUEZ                 TX         73517404747
31219672391584   MICHAEL      LUONG                     TX         90011246723
31219954291584   JANET        GARDEA                    TX         90013009542
31221474736143   ORLANDO      RODRIGUEZ                 TX         73517404747
31222125141285   ALAJUAN      MOSS                      PA         51062761251
31222441284368   LEONOR       LATTARO                   SC         90014884412
31223321657128   FAUSTINO     LOPEZ                     VA         81035273216
31224191251339   BECKY        COX                       OH         90011231912
31224541166134   PATRICIA     GALVAN                    CA         90015495411
31224579654165   WOLFSKILL    TRENTON                   OR         90006845796
31225126493744   ZACK         KESTING                   OH         90015111264
31225157831424   EBONY        FIELDS                    MO         27562531578
31225491755972   JOSE         VASQUEZ                   CA         90011174917
31226225751369   CARLA        GOINES                    OH         90008482257
31226415772496   CARMELA      PRICE                     PA         90013634157
31228674291584   BRYAN        PARRA                     TX         90011246742
31229331191831   EDWARD       LEDBETTER                 OK         21045393311
31231232751339   JESSICA      MEADOWS                   OH         90008562327
31232214577544   AIA          SEVE                      NV         43080952145
31232476491831   FYDIO        PLETCHER                  OK         90015394764
31233183391371   JEFFERY      WOOD                      KS         90015171833
31237911741285   RHETT        SPEARS                    PA         51074669117
31237933455972   JORGE        ROJAS                     CA         90015199334
31237972536143   MARIA        HERNADEZ                  TX         73573319725
31238676757124   ROBERT       WINTERS                   VA         90008526767
31238886954154   DARREN       JONES                     OR         90013738869
31239677755949   JOHN         FLETCHER                  CA         49092026777
31241927736143   GARRETT      BARHAM                    TX         90013009277
31243474136143   BRIAN        ARTERBERRY                TX         90009174741
31244359636143   TODD         OHLSON                    TX         90015143596
31244957491831   RODNEY       GIBSON                    OK         21051679574
31245554491831   CYNTHIA      GATES                     OK         90009435544
31245591141277   NINA         WILLIAMS                  PA         51087495911
31246373972496   CHAZ         WARDELL                   PA         90011613739
31246521591371   MAURICIO     MARTINEZ                  KS         90014915215
31248175877544   ASHLEE       COPE                      NV         90015211758
31249912555964   BENITO       GOMEZ                     CA         90004799125
31251532493761   RONDA        MITCHELL                  OH         90009315324
31251587141277   NICOLE       MCDOODLE                  PA         90009075871
31251973291831   DONALD       GIBSON                    OK         21071369732
31252364691371   LETICIA      HERRERA                   KS         90013043646
31253992177544   MANUELA      CHAVEZ                    NV         43003629921
31255169191584   JAQUELINE    BOUCHE                    TX         90010691691
31255957491831   RODNEY       GIBSON                    OK         21051679574
31256316155972   VALENTIN     MENDOZA                   CA         90013313161
31256894372496   NICOLE       SEMANS                    PA         51056078943
31261168455949   TONY         MASON                     CA         49008481684
31261477391584   LILIANA      GUTIERREZ                 TX         90013204773
31263254351339   VALETTA      WEEKS                     OH         90012992543
31263647691371   ROBERT       SMITH                     KS         90011156476
31263798241258   EARNEST      FRAZIER                   PA         51092217982
31266713691584   JORGE        ZAVALA                    TX         90013397136
31266785984368   SALVADOR     CARDONA MARTINEZ          SC         14592027859
31267785691371   TARA         PIMENTAL                  KS         90013407856
31269696654165   JOLENE       DOBBINS                   OR         47083986966
31271588855972   ESTEBEN      CERVANTES                 CA         90000485888
31272416955949   PHILLIP      MARTIN                    CA         49002484169
31273652941277   YVONNE       CURRY                     PA         51018236529
31274283451369   DOMINIQUE    BERKIL                    OH         90014682834
31276535761945   AURIEL       SEARCIE                   CA         90008695357
31277914691371   JOSE         BURGOA                    KS         90012119146
31279132831424   MICHELLE     BAILEY                    MO         90004811328
31279981936143   JOERICK      RODRIGUEZ                 TX         90011009819
31281947731424   CHRIS        BUTLER                    MO         90014509477
31282236136143   STEPHANIE    PENA                      TX         90013982361
31282683791584   YASMIN       ARANGO                    TX         90011246837
31282937991831   GAIL         BENJAMIN                  OK         90014019379
31283317172496   TRACY        FROWCZEK                  PA         90004783171
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31284265191584   MERCEDES       TOVAR                   TX         75061442651
31285571255949   DUBLAS IRAEL   BONILLA                 CA         90006895712
31285683691371   ARMANDO        GALVAN                  KS         90011626836
31286625391893   MARY           HAYES                   OK         21083806253
31287292936143   JESSIE         CADENA                  TX         90012722929
31287662954165   JOEY           WHITTAKER               OR         47061216629
31287692347931   STEPEN         HARRISON                AR         25048426923
31289647647931   JEREMIAH       HALE                    AR         90008146476
31292835597126   MYRA           ESQUIVEL                OR         90014528355
31293113891371   HECTOR         TEJADA                  KS         90014191138
31293524755949   CARMAN         RUBIO                   CA         49089785247
31294235791232   TYSON          BROWN                   GA         90013402357
31294467954165   SCOTT          O'NEIL                  OR         47085254679
31294817972496   TIKIA          BURTON                  PA         90009308179
31295653755972   PAULA          GAMA                    CA         90009426537
31296574291371   NORMA          SUAREZ                  KS         29098565742
31296695491584   MARIA          BETANCOURT              TX         90013946954
31297129831699   JOHN           ROETS                   KS         22006551298
31297828231424   MILES          ROBINSON                MO         90003138282
31297937657128   OSVALDO        BORDA                   VA         81053439376
31298366636143   CHASTITY       CASTILLO                TX         90013653666
31299443951369   PENNY          WEAVER                  OH         90013884439
31299562272496   EDWIN          LOWRY                   PA         90014865622
31299824291893   FONDRA         EDWARDS                 OK         21081078242
31299862647931   NOE            PACHECO                 AR         25084328626
31311287791584   GUADALUPE      MENDEZ                  TX         90008092877
31312381551339   BRIAN          CHILDERS                OH         66001683815
31313267872496   NICOLE         HOMER                   PA         90010202678
31313562555949   JOSE           FERNANDEZ               CA         90010455625
31314154755949   JESUS          LOPEZ                   CA         49044401547
31314213636143   MIGUEL         MARTINEZ                TX         90014152136
31314518884334   VICTOR         PAYED                   SC         90009175188
31314885947931   HEATHER        STAMPS                  AR         90006718859
31316373361981   ULISES         ORNELAS                 CA         46092483733
31317149155972   PAUL           MATA                    CA         90005911491
31317433731424   LAKITA         TAYLOR                  MO         90012954337
31318599191584   JASHUA         LUTAN                   TX         90003735991
31318658455964   EDWARD         MONTANO                 CA         90009216584
31319245791232   TIA            WILLIAMS                GA         90012712457
31322646955972   BRITNI         WILLIAMS                CA         48084756469
31323116872496   REBECCA        BREAKIRON               PA         51093861168
31324243991371   DAWN           PERRY                   KS         90003912439
31324894441285   BRANDIS        THOMPSON                PA         51037688944
31325257591584   SERAFIN        ADAME                   TX         75040412575
31325553636143   ALEX           PAZ                     TX         90013795536
31327734131424   XAVIER         BROWN                   MO         27573257341
31327897355949   MICHELLE       GALVIN                  CA         90014288973
31329681191831   MICHELLE       JONES                   OK         21067546811
31331215251339   ROBMEKA        MOORE                   OH         90014852152
31331248291893   RITA           OLMOS                   OK         21041002482
31332285855939   SKYE           DANCER                  CA         48017242858
31332353741285   ANTONIO        ALLEN                   PA         90011243537
31332586772496   EVELYN         HARRIS                  PA         90014835867
31332715141258   REGIS          CASE                    PA         90011187151
31333116291232   GLORIA         HARDEN                  GA         90013671162
31333849591893   JOLANTA        ALONSO                  OK         21088118495
31333966881681   MARIA          DAVIDSON                MO         90003789668
31335627191584   NICANDRO       MIJAREZ                 TX         75084906271
31338874341277   CARLA          STREET                  PA         90013838743
31339293541277   DEMETRIUS      DAVIS                   PA         90002832935
31341116391355   CLORISSA       SILVER                  KS         90010751163
31341684391549   LAURA A        CADENA                  TX         90007676843
31342121854165   MICHAEL        ESTORJA                 OR         90009401218
31342373191371   SEAN           NICKS                   KS         29057333731
31342849972496   TYSON          KESLAR                  PA         51004998499
31344266631472   DARYL          WEST                    MO         90015012666
31344328336143   KEVIN          BLACK                   TX         73577733283
31344527591584   CHANTAL        ARMENDARIZ              TX         90013095275
31345366577544   HEATHER        KENNY                   NV         90015593665
31345691391371   CARMEN         CONTRERAS               KS         90002876913
31347945641258   SAUNTIA        MCCLAIN                 PA         90002269456
31348513891584   BERTHA         HERRERA                 TX         90002065138
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31348733141277   SALLY        JAMES                     PA         90010907331
31349497936143   TINO         ALVAREZ                   TX         73507414979
31349567947931   SHAWNETTA    MARTIN                    AR         90014305679
31349576651369   ALFREDO      ANDERSON                  OH         90001675766
31349578791584   IGNACIO      VASQUEZ                   TX         75055945787
31349614831424   BRYAN        MCCLELLAND                MO         90011206148
31349732741277   MARY         SACCO                     PA         51089317327
31352457377544   MARTHA       DIAZ                      NV         90011844573
31353379684368   ROSALIO      MEJIA                     SC         90006353796
31353894572496   DOUGLAS      MORAN                     PA         90013188945
31353971641258   WIRELESS     CALLER                    PA         90015239716
31354424791371   ANGELA       SMITH                     KS         90011154247
31354726255949   JASON        RYAN                      CA         90003377262
31355235691881   IRENE        TRINIDAD                  OK         21009052356
31356249555949   JULIA        HAYNES                    CA         49062072495
31356319972496   SUZANNE      SAVAGE                    PA         51060923199
31358657377544   KAREN        DICKERSON                 NV         90014336573
31362244255949   ANTONIO      SANDOVAL                  CA         90004792442
31362342293754   MADALYN      KOPCZYNSKI                OH         90013003422
31362741172441   TROY         SMITH                     PA         90010747411
31363293891584   NINA         CORDOVA                   TX         75001382938
31363424151369   ASHLEY       MCCLUNG                   OH         66059054241
31363526991371   LACI         HUTTON                    KS         90007815269
31363763191584   MARIA        MIRANDA                   TX         90005707631
31363989554165   TANYA        HUFF                      OR         47039319895
31364364191371   JAMES        STALLINGS                 KS         90009733641
31364627441258   LINDSAY      NELSON                    PA         90011506274
31364839877544   KRISTINA     COOPER                    NV         90010138398
31366266631472   DARYL        WEST                      MO         90015012666
31366752836143   TAMMY        DAVIS                     TX         90014627528
31368696747931   RANDY        SAIRBANKS                 AR         90015596967
31369781972496   BARRY        PRADELLA JR               PA         51010877819
31371559336143   SABRINA      ZAMORA                    TX         90011705593
31372317531424   KYLA         LARDGE                    MO         90008783175
31372869951369   AMBER        FORREST                   OH         90012378699
31374151991831   LAURA        ROBLES                    OK         90009451519
31374368455949   LISA         BELTRAN                   CA         90015263684
31374956741277   AKBAR        MAKHKAMBAEV               PA         90012329567
31376296536143   DANIEL       GARICA                    TX         90005902965
31376868355949   GE           YANG VANG                 CA         49035648683
31377237391831   AMY          HILL                      OK         90013012373
31377912877544   REMI         HANSHEW                   NV         90014549128
31378498991584   THOMAS       GORDON                    TX         90010114989
31379547191831   ROBERT       POWELL                    OK         21025975471
31379775755949   CLAUDIA      HUITRON                   CA         49013757757
31382345255949   RONNIE       URAN                      CA         49070253452
31384466591232   MEGEAL       JORDAN                    SC         90014584665
31385171572496   JOSHUA       PERHUS                    PA         51085751715
31385379131424   KYESHA       HOWARD                    MO         90007813791
31385397755972   LINDSAY      STRYD                     CO         90012033977
31385527991831   RICKY        WILSON                    OK         90015275279
31385844681642   JANET        BRUNSON                   MO         29070038446
31385959491584   CARMEN       CALDERON                  TX         90009709594
31386817784368   KAIA         LICEA                     SC         14509478177
31387355851339   AMY          BALLINGER                 OH         90011693558
31387369272496   ALEXANDRIA   ALLEN                     PA         51091163692
31387838481642   JUAN         GARAY                     MO         29011818384
31388277651369   KELLY        WALKER                    OH         90013702776
31388894941258   SEAN         QUINLAN                   PA         90013518949
31391755291584   HORTENCIA    PEREZ                     TX         75091297552
31392687284368   ERIKA        SANDOVAL                  SC         90014926872
31393687284368   ERIKA        SANDOVAL                  SC         90014926872
31393817441285   JUDY         LINKES                    PA         90009858174
31394281351339   ISABEL       RIO                       KY         90014662813
31395687492886   PAUBLO       GAYOSSO                   AZ         90014796874
31396219593761   BRANDI       CARGLE                    OH         90011612195
31398566191584   MARTHA       MASCORRO                  TX         75087105661
31411613755972   ARMANDO      TIRADO                    CA         90001366137
31411962854165   DERRICK      KUPPER                    OR         90013949628
31411964554165   DERRICK      KUPPER                    OR         90007569645
31412797951369   BALENTINA    CRUZ                      OH         90009367979
31413618691831   VIRINGIA     OJEDA NIETO               OK         90009736186
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31414994591371   RODOLFO       RAMIREZ                  KS         90005569945
31415211172496   SUSAN         LEIGHLITER               PA         90015032111
31416156281642   ERIC          MAIR                     MO         29005101562
31418515941258   KEITH         ROSSER                   PA         51037325159
31418562284368   HILDA         NAVA                     SC         90014965622
31418586431424   MICHELLE      ASHLEY                   MO         90014885864
31419251555949   RUSSELL       DEATHERAGE               CA         90000412515
31419396254165   CASEY         ALLISON                  OR         47008413962
31419942147931   MEGAN         TUGGLE                   AR         90015129421
31422317654165   JAMES         MICHAUD                  OR         90015213176
31422866991893   KORI          SMITH                    OK         90014118669
31425743591584   VELIA         RINCON                   TX         90013097435
31426624493744   JESSICA       WARD                     OH         90005816244
31426757391584   GUADALUPE     ARAIZA                   TX         90013947573
31426947351339   BRITTNEY      FELTNER                  OH         90013829473
31428919431424   DANIELLE      HEISNER                  MO         90014019194
31429426172496   KENNETH       HOLT                     PA         51051304261
31429538691232   REBECCA       HUTCHENSON               GA         90013365386
31431958772496   CHRISTOPHER   CROMO                    PA         90014739587
31432592347931   VALERIE       QUINTANA                 AR         90007735923
31433924777544   PATRICK       TOWSLEY                  NV         43010939247
31434865291232   TONYA         JACKSON                  GA         14590668652
31435588451369   RAYMOND       JONES                    OH         90012235884
31435889641277   KIERA         JOHNSON                  PA         90006188896
31436446655972   ISABEL        MENDOZA                  CA         48051624466
31436743331424   JUSTIN        SCHUETTENBERG            MO         27567297433
31439944255972   INDERJIT      GHOTRA                   CA         90011549442
31443133991371   ZACKARY       SULLAVAN                 KS         90015471339
31443546331424   SARAH         PETERS                   MO         90011475463
31443547551339   LYNN          PERRY                    OH         66092225475
31444146772496   DARLA         CODE                     PA         51074291467
31444893254165   KIM           HOOGENDOORN              OR         47079858932
31445715441258   CHRISTOPHER   WILT                     PA         90004837154
31445956751369   DANIEL        HALL                     OH         90006649567
31446472436143   LYDIA         ARAGON                   TX         90014954724
31446953554165   HARRIET       ROBINSON                 OR         47088669535
31447376977544   LUCIO         NUNEZ-SANCHEZ            NV         90013173769
31447795391831   CRYSTAL       MERTZ                    OK         90006127953
31449246941277   LATISHA       IRVIN                    PA         90015132469
31449457377544   MARTHA        DIAZ                     NV         90011844573
31454673554165   KRISTA        SMEAD                    OR         90014346735
31456773291584   ELISA         MORALES                  TX         90013947732
31456979631424   AMELIA        HODGE                    MO         27575819796
31457445755972   TONYA         MORRIS                   CA         48086794457
31458218341277   SIMOM         AMDABLO                  PA         90011792183
31459483791371   RICARDO       MONROY                   KS         90011894837
31461115993744   ALEXANDRIA    VAN DYKE                 OH         90002551159
31461285491232   ANDRE         JACKSON                  GA         90015132854
31462459251339   ROBERT        IRVIN                    OH         90012324592
31463598751339   JULIA         MITCHELL                 OH         90005495987
31464392155972   JAVIER        HERMOSO                  CA         48083773921
31464457141285   AMY           YOUNG                    PA         51026194571
31464736785995   CHARELL       HOLMAN                   KY         90002427367
31466377936143   CHAD          HARDIN                   TX         90010863779
31466489491885   SHEILA        MIZE                     OK         21006874894
31467433141277   JEANNE        MAIMONE                  PA         51007964331
31468113177544   TEARA         VORIS                    NV         90004691131
31469253554165   PAYGO         IVR ACTIVATION           OR         90013312535
31471614585944   JEREMY        MCCULLAH                 KY         90013216145
31472622291584   ROSA          ALVARADO                 TX         90000496222
31473497772496   MARQUIS       BAILEY                   PA         90013014977
31474178547931   LUKAS         AHEARN                   AR         90013891785
31474667791232   ROY           DICKEY                   GA         90013936677
31474818651369   TORY          COLEMAN                  OH         90008228186
31476387672496   APRIL         RICHTER                  PA         90014073876
31476851272496   MAURICE       FITZGERALD               PA         90005128512
31477474351339   ASHLEY        TAYLOR                   OH         90014544743
31478946841285   CARLA         ELLIS                    PA         90013449468
31481344454165   MICOL         HOLMES                   OR         90011333444
31481459741277   JEFF          SMITH                    PA         90015234597
31481555491831   ROSA          CANTERO                  OK         90013885554
31483513951369   AUSTIN        FIELDS                   OH         90008375139
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31484111891587   CONAN            VALLES                NM         90003741118
31484256581642   RODRIGO          GARCIA                MO         90012172565
31484345751341   DARSHENEA        WILSON                OH         90010373457
31484732172496   CHAD             MILLS                 PA         90015167321
31484796551339   JANIE            ROSS                  OH         90014097965
31485274177544   ANDRES           VILLALOBOS            NV         90015162741
31485718251339   JARED            PITMAN                OH         90006497182
31486321781257   KIMBERLY         DIXIE                 IN         90012863217
31486479172496   KEVIN            BAKER                 PA         90014574791
31487194791831   KHAILA           VANG                  OK         90012701947
31487537231424   SIMA             SMITH                 MO         27508605372
31488131655972   VINCENT          MARTINEZ              CA         90012891316
31489152972496   DIANE PETERSON   DIANE PETERSON        PA         90013801529
31492173477544   DENNIS           BROWNS                NV         43027421734
31492186191371   MICHAEL          GARRETT               KS         90014711861
31492191641285   WAYNE            KELLEY                PA         51089351916
31494215754165   JAMIE            RAJKOVIC              OR         47023302157
31495192172496   JENNIFER         BUTLER                PA         90014781921
31495745441285   ROBIN            JENKINS               PA         51006277454
31497636391584   RAFAEL           ESPINOZA              TX         90001646363
31499327151369   RHODA            EDWARDS               OH         90012613271
31499529591831   ZAKIYA           BELL                  OK         90005635295
31511224151369   WILLIAM          STOVALL               OH         90015072241
31511556431472   BRITTANY         MARSHALL              MO         90005095564
31511744651339   DECEMBER         BRYANT                OH         66049577446
31513258541285   MATTHEW          KACIK                 PA         51097442585
31514124354165   VICTORIA         HUMMEL                OR         90012371243
31515832555949   CHRISTINA        GILBERTH              CA         90004688325
31518826277544   KIM              EWING                 NV         90015248262
31519174677544   MARK             DELA-FUENTE           NV         90005161746
31522445191831   WILLIAM          LAWSON                OK         21088214451
31523615391371   TYLER            DRUSSELL              KS         29079056153
31524897655972   MARY             PETTY                 CA         48024458976
31525159355972   WENDY            BRAVO                 CA         90013101593
31525413172496   MELISSA          JOSEPH                PA         51059054131
31526218391525   CORINA           SOLIS                 TX         90005752183
31526448681681   JODY             MCCAULEY              MO         90012094486
31527693941277   JOHN             SCHWARTZ              PA         51065896939
31529553851339   RHIANNON         BECKETT               OH         90003965538
31532246891371   MARY             ZAVALA                MO         90010972468
31532277255949   KIMBERLY         JOHNSON               CA         90012832772
31532349255949   ELEANOR          MARTINEZ              CA         90007583492
31532697736143   ALENA            BROWN                 TX         90002966977
31532879654165   GIOVANNI         ROJAS                 OR         47013908796
31532924177584   DUANE            DONRE                 NV         90009019241
31533734655972   THERESA          HARVEY                CA         90001807346
31534272591831   JERMAINE         MILLER                OK         90014402725
31534834136143   VERONICA         SENICEROS             TX         73588858341
31535327691587   NANCY            AGUILAR               TX         90012053276
31536511141277   FAITH            HANSEN                PA         90014835111
31536837955949   GABRIELA         MEIJA                 CA         90000578379
31538794451339   RYAN             LOVELY                OH         90006937944
31539114591531   MOISES           APODACA               NM         90015081145
31539578741285   JACKSON          CURTIS                PA         51037215787
31541744255972   MARCOS           RIVERA SR             CA         90014177442
31542559555949   GENOVEVA         SANCHEZ               CA         49048785595
31543811491584   JESUS            ORTIZ                 TX         75096388114
31544376141285   AHMAD            HANDAN                PA         90014883761
31544413172496   MELISSA          JOSEPH                PA         51059054131
31544436551339   KASEY            HENSLEY               OH         90009764365
31544474691371   LATASHA          TRAZIER               KS         90014724746
31545877541258   JERROD           BROWN                 PA         51019778775
31546139147873   JESSICA          HUGHES                GA         90001201391
31547751131424   COURTNEY         COOK                  MO         27575757511
31548965941285   MICHELLE         ADAMS                 PA         51042629659
31549115277544   REFUGIO          JIMENEZ               NV         43010281152
31553122754165   SARAH            FUGOK                 OR         47017341227
31554781551339   NICK             MILLER                OH         90008257815
31555771891584   AURORA           HERRERA               TX         75046607718
31556644691538   LORENA           GONZALEZ              TX         90012526446
31557953741258   BRITTANY         LOWER                 PA         90011609537
31558443841258   VERA             LOMAX                 PA         51042224438
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31558489855972   JOHANNA      CASTANEDA                 CA         90010344898
31559255954165   CHRIS        GREEN                     OR         90010622559
31561243161972   JOSE         GOMEZ JR                  CA         90009202431
31561919191584   RAMON        OLIVAS                    TX         75041749191
31564648172496   JOANN        SMITH                     PA         51064826481
31565298381642   ROCIO        MACIAS                    MO         29069942983
31565443777544   PAULA        GARCIA                    NV         90009044437
31566877936143   MIRANDA      ZUNIGA                    TX         90012938779
31567166836143   MIHAEL       MENDOZA                   TX         90012771668
31567297491584   RAYMUNDO     SIMENTAL                  TX         90012962974
31567487981642   CALVIN       CHILDRESS                 MO         29064754879
31567949147931   JESUS        VALENCIA                  AR         90015609491
31568296131424   KELLY        DUNCAN                    MO         27564622961
31568572791232   PEDRO        GASPAR LAZARO             GA         90011425727
31568739355949   VIANEY       GRANDA                    CA         90008377393
31569578251369   WYATT        TOLIVER                   OH         90010155782
31571134491584   LILIANA      ORTEGA                    TX         75086781344
31571253254165   RUSSEL       HOWARD                    OR         47043352532
31571528651369   MELISSA      MILLS                     OH         66098675286
31572175791371   MIGUEL       PEREZ                     KS         29001491757
31572267591584   ERNESTO      SIMENTAL                  TX         90009702675
31572553972496   ELIZABETH    WINGROVE                  PA         51051625539
31574281547931   JESSICA      MCLENNAN                  AR         90009512815
31576211291371   ABRAHAM      HERNANDEZ                 KS         90013302112
31576322751369   NATASHA      VANDERGRIFF               OH         90008483227
31576657247931   BONNIE       JORDAN                    AR         90012566572
31583487351339   LISA         SIZEMORE                  OH         90009164873
31584561755949   LEON         JONES                     CA         90012145617
31584738991371   GILBERT      OJONG                     KS         29060837389
31586449291371   DAWN         QUIRARTE                  KS         90009764492
31588448372496   WILLIAM      SIMON                     PA         51094744483
31591851677544   TRINITY      MATTHEWS                  NV         90013738516
31592275455972   LUIS         GUZMAN                    CA         90008072754
31593334451339   SABAH        IQBAL                     OH         90009543344
31593528291831   LEE          DAVIS                     OK         21062805282
31593847491232   MARK         BRANEGAN 2                GA         90014318474
31594684351339   THOMAS B     SORRELL                   OH         90015466843
31594764777544   LARISSA      FAULKNER                  NV         43090317647
31595595977544   RAELLE       MARQUIS                   NV         90015055959
31595675691584   ROBERT       SMITH                     TX         75030086756
31595878741277   CHRIS        GILES                     PA         51045228787
31596462154165   JESSICA      CAMPBELL                  OR         47040734621
31596589151369   FRANCES      MOORE                     OH         90011055891
31597199731424   TIJUANA      BARNETT                   MO         90005541997
31597742472496   ROBERT       JOHNSTON                  PA         90014487424
31598639741258   ALLAN        MARCELLE                  PA         51076926397
31599622855949   BRANDON      GIBSON                    CA         90009646228
31611739541277   RONALD       KILLEN                    PA         51061107395
31612316871921   JUDY         CLAY                      CO         90003103168
31612475572496   KELLY        HOLT                      PA         51001084755
31612532154165   JEFF         BEARDEN                   OR         47016795321
31613312854165   ALBA         LINDQUIST                 OR         90000703128
31614516251339   JAMIE        TINCHER                   OH         90008605162
31614753155972   RENE         GONZALES                  CA         90009837531
31615222651339   MICHAEL      SMITH                     OH         90013252226
31615225341285   WAYNE        TYREE                     PA         90012872253
31617581254165   JESUS        MUNGUIA                   OR         90012345812
31621741571923   DURAN        YOUNG                     CO         32008837415
31624378651369   ANTHONY      MANN                      OH         66045803786
31624547947931   SMANTHA      REDDING                   AR         90014255479
31626182647931   ANDREZ E     MENDEZ                    AR         90014151826
31626432747931   IRENE        TORRES                    NM         90006004327
31627639891584   GENEVA       FLORES                    TX         90011906398
31627656555972   LINDA        SOUSA                     CA         90014076565
31627912991584   JESSE        TORRES                    TX         90010349129
31627945851339   DERRICK      GEORGE                    OH         90007479458
31628552155972   SAMANTHA     RIOS                      CA         90014855521
31628752791232   ROSHELL      GLEESE                    GA         90011637527
31629544931424   WILLIAM      AMOS                      MO         90011525449
31629842991831   KEEVA        HARRIS                    OK         90014008429
31631249155972   AMY          PARKS                     CA         90015132491
31631335155972   DIANA        QUINTERO                  CA         48089183351
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31631881451369   GUSTAVO      MALDONADO                 OH         66079778814
31633136736143   MICHEAL      FREEMAN                   TX         90014121367
31633284955949   FRANCISCO    HERNANDEZ                 CA         49030972849
31633644561925   VERNON       FORBES                    CA         90013476445
31634468541285   SHANITA      CASH-DAVISTON             PA         90013114685
31634694891831   CONSUELO     ESCALANTE                 OK         90004266948
31634723631424   ROD          LINK                      MO         90011287236
31635485755921   JULITA       RODRIQUEZ                 CA         49013134857
31636351141285   CYNTHIA      MARTIN                    PA         51090923511
31636523941258   DANIEL       BRADWISCH                 PA         90013395239
31636616941277   ANGELA       BRUNDAGE                  PA         51025776169
31637687355972   JOY          FRAUSTO                   CA         48025536873
31637893291232   ROB          SEDLACK                   GA         90012498932
31638851431424   NORMAN       AKINS                     MO         90003738514
31639414936143   HECTOR       ZEPEDA                    TX         73586954149
31641367255972   ALEX         GARCIA                    CA         48082583672
31641836141285   ALICIA       DUNMIRE                   PA         51005248361
31642616941277   ANGELA       BRUNDAGE                  PA         51025776169
31644547641258   BRITTNEY     ARNOLD                    PA         51005205476
31645696991371   PATRICK      DIXON                     MO         90011176969
31647863791371   LAKISHA      BROWN                     KS         90014788637
31648442655949   ANGELILCA    GOMEZ                     CA         90014364426
31651458391584   MICHELLE     MENDOZA                   TX         75072234583
31653718391584   GEORGE       MC CUSTER                 TX         90014087183
31654454141277   ERIC         WILLIAMS                  PA         90014934541
31658795691232   GORGE        ROBINSON                  GA         90011637956
31658874754165   KASIE        SALLENG                   OR         47011558747
31659641655972   ANTHONY      SANCHEZ                   CA         90009166416
31659829141258   ALINA        BIVINS                    PA         90007558291
31661396372496   SHAYLON      SMITH                     PA         90013273963
31662468541285   SHANITA      CASH-DAVISTON             PA         90013114685
31664352891554   JOSEPH       PLOOF                     TX         90011333528
31664442655949   ANGELILCA    GOMEZ                     CA         90014364426
31666295351321   ERICA        SMITH                     OH         90008922953
31666461255949   JACQUELINE   MARTINEZ                  CA         90013784612
31666583436143   EMMANUEL     MCNICKLES                 TX         90012255834
31668498655949   JANIE        VASQUEZ                   CA         90009984986
31671529977544   AARON        KLAES                     NV         90013255299
31671672891584   IBARRA       ELECRICAL CONTR           TX         75029776728
31671773336143   JOSE         LOPEZ                     TX         90011917733
31672281541277   DUSTIN       JONES                     PA         51016902815
31672345791232   ROBERT       KENNEDY                   GA         14571503457
31672353141285   DEBORAH      SHEFFEY                   PA         51014283531
31673233672496   TIERRA       HALFKENNY                 PA         51055982336
31674193155972   ELISA        FLORES                    CA         90012321931
31674382455949   MELISSA      SANTILLANEZ               CA         90004193824
31674928341258   LAURA        FRONCZAK                  PA         90015199283
31674959841285   BARBARA      HARRIS                    PA         51070909598
31677192591371   ALEJANDRO    LOPEZ                     KS         29000091925
31678871591831   TIFFANY      SUMMEIS                   OK         90013638715
31682137191371   ALBERT       ROGERS                    KS         90007481371
31682832155949   KWASI        MALVOUX                   CA         90009318321
31683142636143   CATHY        GARCIA                    TX         90014131426
31683966151339   TERRY        COOK                      OH         90012269661
31684251754165   MATTHEW      NORRIS                    OR         90013642517
31685591841277   STEPHANIE    WADE                      PA         90002195918
31686437841258   NAJEENA      WALKER                    PA         90013764378
31686467151369   MICHELLE     BISCHOFF                  OH         66001124671
31686598455949   LIA          HER                       CA         90011035984
31686649947931   PAYGO        IVR ACTIVATION            AR         90014606499
31686864691371   CINTHYA      CLEMENTE HERNANDEZ        KS         90008118646
31688197372496   AMANDA       AUSTIN                    PA         51095571973
31689771991232   MELANIE      PARTAIN                   GA         14507167719
31691734491371   AMANDA       KLEINER                   MO         29016507344
31691837491584   JOCELYN      COTA                      TX         90013948374
31692694341285   JESSICA      ALEXANDER                 PA         90014906943
31693459491584   JOSE         OROZCO                    NM         75036984594
31697291536143   JOHN         LARA                      TX         73593372915
31697292372496   KELLY        OVERLY                    PA         51018032923
31697561854165   TRACY        JONK                      OR         90014575618
31698661984368   MONIQUE      COLLINS                   SC         90007186619
31699694791584   CHRISTOPHE   BOLAND                    TX         75075646947
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31712525684368   PLINEO       VELASQUEZ                 SC         90007195256
31715464291831   ROBERTA      WHITE                     OK         90015074642
31717422877544   RENE         AVILA                     NV         90002174228
31718358172496   JAMIE        CAHILL                    PA         51047833581
31718627284368   IVON         ACOSTA                    SC         90002676272
31718765272496   JAMES        CLARK                     PA         90007737652
31719587791232   SHONTERRIO   KINDER                    GA         90013225877
31721484936143   SERAFIN      MONTOYA                   TX         73509954849
31722311991371   ROSALBA      TORAL                     KS         90011873119
31723238531424   CECILIA      LORENSO                   MO         27569352385
31723929654165   JAMES        KASHUBA                   OR         90014989296
31725168677544   TIA          HEFLIN                    NV         43070971686
31725499572449   DONNALEE     FLEMING                   PA         51093214995
31726186261925   MARIA        GUERRA                    CA         46041861862
31726575154165   DANA         MORGAN                    OR         90014875751
31726819677544   HERIBERTO    RAMIREZ-CRUZ              NV         90013808196
31727515931424   ERICA        THOMPSON                  MO         90007735159
31727534991992   CAMELIA      LATTA                     NC         90008785349
31729652891371   ABDIEL       RODRIGUEZ                 KS         90014956528
31729937577544   LOURDES      LARA                      NV         90000709375
31731856777544   REMIGIO      HERNANDEZ CASTRO          NV         90012638567
31732588141277   DARLENE      BRUDER                    PA         51045035881
31732985455972   JONA         FORD                      CA         90006219854
31733127941258   HEIDI        LEYTRICK                  PA         90010641279
31734167691831   ERIC         GUERRERO                  OK         90009031676
31738565641277   ALEJANDRO    MARTINEZ                  PA         90014865656
31739366651369   APRIL        ROEMELEN                  KY         90013063666
31739634191371   DEBBIE       ROSS                      KS         29012666341
31739894641277   ROSANNA      OPFER                     PA         51020908946
31741113936143   AMY          DELOSSANTOS               TX         90013401139
31741845841258   GARRETT      STEFANIAK                 PA         51085258458
31743973291232   G            JENKINS                   GA         90014069732
31744172391232   NIASHA       SLOAN                     GA         90013081723
31745114236143   SUSAN        GOMEZ                     TX         90003791142
31745912791584   RAUL         VILLARREAL                TX         90013949127
31747836951363   LASHANDA     SIMMONS                   OH         90013998369
31747859891831   JOYCE        WILSON                    OK         21009968598
31748747636143   HENRIETTA    HUMPHREY                  TX         90006427476
31749146491584   CLAUDIA      LARA                      TX         90005121464
31751912255949   ARMANDO      ALVAREZ                   CA         90008239122
31752171741277   JACEN        MORRIS                    PA         90006881717
31752516372496   JANIS        MCGEE                     PA         90015015163
31753372454151   DARRELL      BASSETT                   OR         90010593724
31753423981642   TIRONDA      MOSBY                     MO         29001834239
31755286777544   KERRY        GEHLKEN                   NV         90007842867
31755445931424   JENNIFER     MARCOULIER                MO         90013964459
31755726355972   VINCENT      HERNANDEZ                 CA         90010907263
31755868491584   ARMANDO      ESTORGA                   TX         90013948684
31755898471931   SHERREE      SHANCHEZ                  CO         90013588984
31757156791584   RACHEL       GOMEZ                     TX         90012891567
31757247641277   PATRICIA     MORONEY                   PA         51083852476
31757357551369   TISHA        FLOURNOY                  OH         90014713575
31757591977544   ALLAN        FROMEYER                  NV         90014985919
31759674791232   RASHAD       MIKE                      GA         90004586747
31761432272496   RONALD       MARTRAY                   PA         51097734322
31761919141258   MELANIE      MUCKIVCH                  PA         90008759191
31762246655972   BRYAN        ROBINSON                  CA         90011332466
31762381281642   KENNETH      DAVIS                     MO         90004113812
31767431491831   MARQUIS      ROGERS                    OK         90013784314
31767728541285   JEANINE      CARTER                    PA         51064757285
31768116391232   HENRY        MITCHELL                  GA         90014751163
31769932772496   TAMMY        PRINKEY                   PA         51011109327
31772148191893   ORTEGON      VINCENT                   OK         90005031481
31772432631424   PAMELA       MABRY                     MO         90014494326
31772799172496   AGNES        HARRIS                    PA         51052127991
31772875691584   JOVANNE      ESPARZA                   TX         90013948756
31772935355972   MARIBEL      HELO ESQUEDA              CA         90007869353
31773568191232   JOSEPH       REECE II                  GA         14585405681
31773877491584   DIANA        SANCHEZ                   NM         90013948774
31774558241258   SUSAN        YNIGUEZ                   PA         90014865582
31774859891831   JOYCE        WILSON                    OK         21009968598
31774878491584   ADRIANNA     QUIZ                      TX         90013948784
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31775518436143   MISTY        GARZA                     TX         73584045184
31776689891831   LOIS         BIBBS                     OK         90008996898
31777594241277   WILLIAM      HABIAN                    PA         90004745942
31777874151339   MARCIE       JENNINGS                  OH         66006318741
31778147191371   MALAYNA      DOMINGUEZ                 KS         90014541471
31778154254165   KELLY        LONG                      OR         47091611542
31779762436143   MARCO        ORTIZ                     TX         90013377624
31781124991831   CRYSTAL      IRVIN                     OK         21089441249
31782434391371   JUAN         ALBERTO                   MO         90009614343
31782728436143   MANUEL       GARCIA                    TX         90014197284
31784752847931   RICARDO      CRUZ-LOPEZ                AR         90013627528
31786158647931   TRUMAYNE     CUFFIE                    AR         90012901586
31786237736143   JENNIFER     MARTINEZ                  TX         90012762377
31786243161972   JOSE         GOMEZ JR                  CA         90009202431
31786645155949   REGINALD     PHILLIPS                  CA         90011036451
31787155236143   KENNETH      AMAYA                     TX         90011091552
31787467651594   CRYSTAL      ALVAREZ                   IA         90013804676
31787953391371   IRVIN        LONGOLIA                  KS         90015549533
31787989891396   AJAY         SOOD                      KS         29023109898
31788264551594   DAYDAY       RAMIREZ                   IA         90014132645
31788672691584   CLAUDIA      JIMENEZ                   TX         90013836726
31789784541258   MIGUEL       REYMUNDO                  PA         90015187845
31791155641285   AWES         MUZHIMU                   PA         90009471556
31791926736143   CORY         WILLIAMS                  TX         90014139267
31791967151339   LA RONEE     BOARDS                    OH         66020289671
31794383151369   EVERTON      THOMAS                    OH         66001993831
31796118441277   RICHARD      HUGHES                    PA         90013901184
31796978155949   PEDRO        REYES                     CA         49080409781
31797133791371   ELIUD        AGUILERA-GONZALEZ         KS         29037281337
31797274691831   JUANA        MENDOZA                   OK         90003462746
31797716231586   WILLIAM      RENTAS                    NY         90015487162
31798151491232   ALICIA       WASHINGTON                GA         90015201514
31798246691831   GREG         MICHNO                    OK         21001462466
31799419747931   TREVOR       HUTTON                    AR         90013864197
31811768655949   VICTOR       MURILLO                   CA         90001707686
31813891141285   ASHLEY       HUNTER                    PA         90009168911
31814154254165   KELLY        LONG                      OR         47091611542
31814953741285   CHRISTY      WOLFF                     PA         90009759537
31815244431424   DEREK        WEEMS                     MO         90015042444
31815464455972   DARRIN       MCBRIDE                   CA         90014694644
31815814291538   ISABEL       CRUZ                      TX         90005798142
31816179891584   SUSANA       SANCHEZ                   TX         90012801798
31816181291232   JOSHUA       MUNNS                     GA         90012151812
31816332354165   TERESA       BEARDEN                   OR         90008363323
31817245941277   LINDA        KING                      PA         90012122459
31819392781681   RIC          MIDDLEKAMP                MO         90009533927
31819491985943   DJ           GOMEZ 1                   KY         90011314919
31819841251339   SARA         NAEGELEN                  OH         66090988412
31822339154165   CHARLES      MCCUNE                    OR         90014743391
31822564951369   ROBERT       LUNG                      OH         90009555649
31823465577544   KARISSA      RIVAS                     NV         90014484655
31824611572496   BRAD         BUTTS                     PA         51063196115
31825553491584   DANIEL       BARRAGAN                  TX         90012115534
31825982791584   DANIEL       BARRAGAN                  TX         90009839827
31826225455949   SEA          YANG                      CA         90003552254
31828165141258   MATHEW       MCHUGH                    PA         51050231651
31828299891893   ANGELA       HENDRIX                   OK         90005072998
31829612272496   MATTHEW      CIAMPANELLI               PA         51060856122
31833471741277   ROCCO        DERENZO                   PA         51007474717
31833484885858   AUDELIO      CALDERON HERNANDEZ        CA         46066954848
31833779591232   PAMELA       PERKINS                   GA         90013097795
31834242631663   AMANDA       LANDRY                    KS         90013532426
31835234436143   LILLIAN      ELLIS                     TX         90003862344
31835627391371   CARLOS       GALVEZ                    KS         29026186273
31837126951369   ANTOINE      BEIGHLE                   OH         90015271269
31837463277544   GLINDA       COOPER                    NV         90015514632
31838794591371   ZACHARY      WHALEN                    KS         90004647945
31838939391584   JESSICA      ZAMBORA                   TX         90013949393
31842344977544   MARTHA       HERNANDEZ                 NV         43018083449
31843476791371   CHRISTINA    CASTILLO                  KS         90012704767
31843754151339   JAMILAH      WAUGH                     OH         66025407541
31844114233647   RONALD       LOCKHART                  NC         90007331142
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31844187891232   JAMAR        LEE                       GA         90014831878
31844615151339   DAMIEN       STANDAFER                 OH         90010696151
31846434251339   JOHN         LEWIS                     OH         90014884342
31846514455949   IRIS         MOORE                     CA         49081865144
31846625931424   ANGELIA      RAMSDELL                  MO         27532766259
31846654491584   LAURA        CORDOVA                   TX         90005856544
31847285536143   PILAR        SOLIS                     TX         90012012855
31847514651369   BECKY        BOYLE                     OH         90012135146
31849866291831   WHITNEYY     SORTORE                   OK         90013648662
31849899191831   VINCENT      PRICE                     OK         90013638991
31851142954165   ELIZABETH    DE LA PAZ MARTINEZ        OR         90005541429
31851737772496   JONETTA      BOYD                      PA         90014767377
31852313251369   MAC          ROBINSON                  OH         90006493132
31855312791371   BYRON        PITTMAN                   KS         90013013127
31855354873221   TERESA       SANCHEZ                   NJ         90015083548
31856612151339   JONATHAN     THOMAS                    OH         90003476121
31856921741277   STEPHEN      MONGIOVI                  PA         90008399217
31857773491584   JORGE        CADENAS                   TX         90012067734
31858127254165   ANTHONY      WALLACE                   OR         90007711272
31858685847931   MANUEL       FRAIRE                    AR         90013756858
31861986191584   CARLOS       VARGAZ                    TX         90012429861
31862119777544   ROY          WRIGHT                    NV         43088031197
31863252831424   MIA          JONES                     MO         90007792528
31864224377544   ISABEL       RUIZ                      NV         43008702243
31864341255921   AWANA        JOHNSON                   CA         90011263412
31865239431424   BRENDA       YOUNG                     MO         90008872394
31867263461974   BRANDON      HOLMBERG                  CA         90011282634
31867437191584   ERIKA        ZAVALA                    TX         90010424371
31868851677544   TRINITY      MATTHEWS                  NV         90013738516
31871138651369   ALVIN        HALL                      OH         90015221386
31871288591232   VALENCIA     ALLEN                     GA         90010562885
31873339155972   MAYRA        HERNANDEZ                 CA         48005683391
31873825291584   MARY         PULIDO                    TX         90010498252
31875677991584   TROY         GAYTAN                    TX         90008626779
31875816155972   ELMER        CONTRERAS                 CA         90012788161
31879878677544   GRASIA       PIZANO                    NV         90011058786
31882769972496   ASHLEY       MAUSER                    PA         90009277699
31883644451339   TIMOTHY      HOGAN                     OH         66096066444
31884993891371   STEVETTE     MCAFEE                    KS         90015079938
31885178877544   AMANDA       WHITE                     NV         43088811788
31885258472496   AMY          DEAVER                    PA         51000202584
31886464831424   PHIL         BROWNLEE                  MO         27570154648
31888358991831   ALMA         MORENO                    OK         21054753589
31888587191587   GREGORIE     HEIDENESCHER              TX         75016455871
31889848951369   AREIONA      BROWN                     OH         90012128489
31891121541277   ELIO         JUAREZ                    PA         90015121215
31891576691232   TONI         WILL                      GA         90015015766
31891781154165   MAXWELL      MORRIS                    OR         47018177811
31893762354165   ASHLEY       THOMAS                    OR         47063237623
31894189236143   VICTORIA     VELASQUEZ                 TX         90009041892
31895272391831   JESSICA      RAMSEY                    OK         90013362723
31895435936143   MARCOS       MUNOZ                     TX         90012714359
31896574155972   LUZ          HERRERA                   CA         48041965741
31897119436143   TINA         SANCHEZ                   TX         90012781194
31897718221631   TERRELL      JOHNSON                   OH         90011977182
31898436247931   RANDALL      GAGE                      AR         90004094362
31898911891831   ENRIQUE      JARAMILLO                 OK         21094569118
31898941251339   MYRANDA      BIRCH                     OH         90013789412
31913346731683   JOHN         SCHARR                    KS         90008473467
31913753372496   ADRIENNE     EWING                     PA         90010057533
31914349491883   JOSH         MACIAS                    OK         90008403494
31915288336143   KIM          PAREDEZ                   TX         90013622883
31915532181685   LAURA        MILAM                     MO         90009295321
31916687447931   CHRIS        THARP                     AR         90013196874
31917451354165   AYLA         MCCORD                    OR         90004774513
31917461551339   ERIC         LAMB                      OH         90004764615
31917525291584   SANTIAGO     TERRAZAS                  TX         75030285252
31918615477544   KEVIN        SHERMAN                   NV         90004216154
31918946431424   DARLENE      SCOTINO                   MO         27561199464
31919167691584   SANDRA       ENCISO                    TX         90010321676
31919696836143   DANIEL       BELMARES                  TX         73574886968
31919713555936   JANET        HERRERA                   CA         49003997135
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31919853491831   MISTY              MURPHY              OK         90011108534
31921958172496   SELENA             SIMON               PA         51005399581
31921981547931   COURTNEY           STACY               AR         90013289815
31922153141277   BARBARA            BLACK               PA         90003021531
31922946431424   DARLENE            SCOTINO             MO         27561199464
31923433691544   MARIA              BROOKS              TX         90007724336
31923891572496   ELIZABETH          OCBORN              PA         90013878915
31924271291537   JOHN               PETERSON            TX         75094712712
31924366197131   JASON              JOHNSON             OR         90011373661
31924374681621   SILVIA             COPAS               MO         29012343746
31925264441277   DERRIAH            TOLBURT             PA         90015032644
31925828841258   PAM                GARDNER             PA         51095198288
31926376891584   PERLA              HERNANDEZ           TX         90011623768
31926939651339   KIMBERLY           CLAGGETT            OH         66018149396
31928277181642   EMMANUEL           THOMPSON            MO         90005642771
31931192691371   ROBERT             MABRY               KS         29007541926
31931345241258   MARIA              ZELIK               PA         90002623452
31932411291831   JESSE              FITZLOFF            OK         90004014112
31933546463629   AIDA               TZUH                MO         90006225464
31935635455972   ADRIANA            IBARRA              CA         90008356354
31936741541258   JAQUELINE          ROCHELLE LOVETT     PA         90012457415
31936794172496   SHAWN              ZGELA               PA         90011007941
31938274491893   JESSICA            SANCHEZ             OK         90004402744
31938478891549   LUIS               COTRERAS            TX         90010084788
31939162591831   SHANIKA            HOLLAND             OK         90009921625
31941641251339   CHRIS              RICHARDSON          OH         66060236412
31942243541285   ALONZO             GRIFFIN             PA         51008422435
31942978177544   BRYNT              ELMER               NV         90015109781
31945139261945   CARMEN             CAPERON             CA         90013171392
31945295747931   ERICK              GALO                AR         90010642957
31946392441277   ROCHELLE           HAZZARD             PA         51060693924
31946836777544   SHAWN              KADELL              NV         90012928367
31947576472496   BROOKE             GUTH                PA         51065935764
31948233181642   CARLA              RICE                MO         29011822331
31949213141258   ROBERT             REIBER              PA         51089352131
31952992672496   SAMANTHA           STEPANIK            PA         90013509926
31953246891232   SHADAYIA           RENOLDS             GA         90014242468
31954412354165   WANDA              STILLION            OR         47076714123
31955865955972   ERIKA              GARCIA              CA         48021718659
31956411855972   CELINA             FRAUSTO             CA         48065344118
31956688936143   NOEL               CHAPA               TX         90012816889
31956697951339   RAUL               CAMPA               OH         90002686979
31957196755972   JULIO              LOAIZA              CA         90009521967
31958556177544   MARIA DE LOURDES   VEGA                NV         90010215561
31959313851369   YULANDA            HALL                OH         90010083138
31959376241258   KATHERINE          CHASE               PA         51067903762
31962182173221   YOLANDA            FERNANDEZ           NJ         90014471821
31962952291584   MONIQUE            JOHNSON             TX         90013949522
31963969691584   MARY               ORTEGA              TX         90013949696
31964432291371   BEATRIZ            BARTOLON            KS         29091834322
31964483941277   PATRICIA           FULCOMER            PA         51085114839
31965217155949   VALENA             BENDER              CA         49081132171
31965955136143   JESSE              PENA                TX         90014779551
31966242336143   MELINDA            GARCIA              TX         90000512423
31967556693782   CHARLES            COATS               OH         90011355566
31967854251339   PARNELL            FOX                 OH         66041618542
31967923591531   LUZ                GUTIERREZ           TX         90001319235
31968621654165   ANNA               PEARSON             OR         47003516216
31968644631424   DIONNE             SPARKS              MO         90014866446
31968891236143   NICOLE             LISERIO             TX         90012818912
31969714441277   RAIONA             GAYDOS              PA         90014917144
31969793751347   PHILL              HART                OH         90005477937
31971187147931   HELLEN             PHELAN              AR         25054691871
31972164777544   KORY               GARVER              NV         90010971647
31972489591371   DEONDRA            JONES               KS         90014914895
31972969491584   JOSE               CORDOVA             TX         90013949694
31973483436143   CASSANDRA          REYES               TX         90014414834
31976262255972   DEISY              RODRIGUEZ           CA         90006862622
31977686347931   LILLYBETH          ALLENSON            AR         90009876863
31977794255927   PEDRO              RAMIREZ-CORTES      CA         90008647942
31978685151339   KATHY              KING                OH         90008926851
31978823254165   VALENTE            RODRIGUEZ           OR         90011838232
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31981362254165   MARK         WARREN                    OR         90004893622
31981843672496   JAMES        ISLER                     PA         90002468436
31982534441258   TENIECE      TONETTE                   PA         90009425344
31982551691584   OCTAVIO      SOLTERO                   TX         90012315516
31983237241285   MORGAN       STANSFIELD                PA         90014412372
31983723472496   RALPH        FALCO                     PA         51089457234
31984788672496   FRANK        BURTON                    PA         90002897886
31985712247931   EDGAR        HERRERA                   AR         90013767122
31986184831424   PATRECE      GRIFFIN                   MO         90011081848
31986647777544   ANNABELLA    LOPEZ                     NV         90014826477
31986894754165   TAHNIE       WEST                      OR         90008028947
31993417536143   MATTHEW      PEREZ                     TX         90014794175
31993422751339   KEISHLA      VALLES                    OH         90005154227
31994742341258   BIRENDRA     JHA                       PA         90014067423
31995488791584   ADELA        VAN RUITEN                TX         90003034887
31995853891371   ROSA         LEDEZMA                   KS         29083238538
31996935186597   MEGAN        PAINTER                   TN         90015579351
31997138651369   ALVIN        HALL                      OH         90015221386
31997667436143   BILLY        WATSON                    TX         90014906674
32111915672496   WILLIAM      FURNIER                   PA         90009409156
32112322891538   AMY          AVILA                     TX         90012003228
32113549191563   CYNTHIA      ACOSTA                    TX         90010825491
32114281436143   ANTHONY      OTTO                      TX         90003862814
32114373777544   ANTONIA      RODRIGUEZ                 NV         43093103737
32114687455972   ALEJANDRA    VALLE                     CA         90012546874
32115291291563   ESTRELLA     ARROYOS                   TX         90006122912
32115793451339   EDEN         JOHNSON                   OH         66006397934
32118955772496   ADRIENNE N   SISLER                    PA         90014679557
32119284791563   JUAN         CHAVEZ                    TX         90005362847
32119313791356   STEVE        URIBE                     KS         90015023137
32119414431424   RENATA       STEVENS                   MO         90015244144
32121251591531   KRISTI       GREENLEE                  TX         90006572515
32121579254165   MISTY        SHNEIDER                  OR         47089235792
32122283536143   YVONNE       MEDRANO                   TX         90009012835
32123932391563   CAROLYN      CALLOWAY                  TX         75068409323
32124226191356   TRACY        SAMS                      KS         90013962261
32126395236143   DERRICK      BUCKNER                   TX         90003433952
32126976291942   SHELIA       RAINEY                    NC         90001269762
32127968791563   DWAYNE       HILL                      TX         90009599687
32128854251369   PARNELL      FOX                       OH         66041618542
32129951491356   JOHN         ERB                       KS         29001359514
32131577754165   DAVID        OLEVERA                   OR         90013875777
32131765384368   LASONYA      EADY                      SC         90007427653
32134126651369   ROXANNE      ADAMS                     OH         90015601266
32135732947931   JOSE         FLORES                    AR         25095097329
32135856241258   DAESHAWN     LUCAS                     PA         51003438562
32136182791831   SHURRI       SHORTHAIR                 OK         90013361827
32136813555972   BREANNA      NEWMAN                    CA         90011858135
32137347955972   MARINA       TAPIA                     CA         90002033479
32137667447931   JILLTHA      MIELSON                   AR         90014756674
32137912451339   SHAYLYN      DAVIS                     OH         90013459124
32138254391537   EFRAIN       DOMINGUEZ                 NM         90001432543
32138836672496   TONJA        BRYNER                    PA         90014158366
32139562541277   MARGARET     BLUMLING                  PA         51065955625
32139829851369   GEOFFEREY    GOENS                     OH         90010568298
32139856191531   JESSIE       LUCERO                    TX         90014778561
32141223941285   YVONNE       ROBINSON                  PA         51077482239
32142448177544   JESUS        VAZQUEZ                   NV         90000504481
32143177591531   JESUS        SALCIDO                   TX         75050171775
32143754847931   LAURA        PARAGIOUDAKIS             AR         25010057548
32144427877544   ENRIQUE      AGUILAR                   NV         90010994278
32146253951339   JAMES        HOUNSHELL                 OH         90013362539
32151197291531   KARLA        MORA                      TX         75028211972
32152556251369   ROFINA       MARDINEZ                  OH         90014885562
32152817684368   ALEJANDRA    ADAME                     SC         90014638176
32155586955972   CRISTINA     RAMIREZ                   CA         90011605869
32155614847931   SCOTT        JANSSEN                   AR         90003726148
32156355336143   MARIECELLA   DELEON                    TX         90000943553
32156411391531   ALEJANDRO    LEGASPI                   TX         90009144113
32156966972496   CLARE        FARRAR                    PA         51012959669
32157684577544   JEANISE      ARM                       NV         90003956845
32158427751339   CHRISTIANA   RIEMANN                   OH         90011944277
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32158636254165   AMBER        STARK                     OR         90001096362
32159217891563   LUZ          BORUNDA                   TX         90012572178
32159599861925   MARTHA       ORTIZ                     CA         90009405998
32159892677544   KAYLA        DENBOER                   NV         90014218926
32162435991356   ALLYSSA      RAMOS                     KS         90013804359
32163199272496   JAMES        CAMPBELL                  PA         90014581992
32163366191563   EBER         ESPINOZA                  TX         90012263661
32164846755972   STEVEN       WOOLSEY                   CA         90012868467
32165855472451   DEANNA       LYNETTA                   PA         90012868554
32166426984368   MARIA        ISABEL                    SC         90015204269
32167356472496   TEANN        WINGROVE                  PA         90013933564
32168727791831   AUDREY       LEE                       OK         90014897277
32168985591356   AMANDA       WILLIAMS                  KS         90015319855
32172855751578   LANGSTON     HUGHES                    IA         90015428557
32172986591831   MEGAN        OLMSTEAD                  OK         90014799865
32173179285943   SYLVIA       BEACH                     KY         90012611792
32174291141277   DALE         CROWELL                   PA         90014532911
32174377872496   KRISTY       HIBBARD                   PA         90014793778
32174493293754   JULIA        DOWNS                     OH         90007364932
32174596491563   CYHTHIA      CORDOVA                   TX         75071795964
32175195691885   TERRI        TUCKER                    OK         90010161956
32175726951369   JACEY        SCHUNK                    OH         90011147269
32177318555972   EVA          RODRIGUEZ                 CA         90014623185
32177849541957   ANGELA       HALBEISEN                 OH         90015358495
32178382291831   NEWMAN       TARYOLE                   OK         21006913822
32178527491531   RAUL         AMEZQUITA                 TX         75016265274
32178853154165   EINSELE      AMANDA                    OR         47068518531
32179461991563   RICARDO      REYNA                     TX         75097384619
32181245877544   SIDNEY       JENKINS                   NV         90015062458
32182189747931   JASE         BURBANK                   AR         25091251897
32182612491356   CLAUDETTE    HARRELL                   MO         90002486124
32182811925655   VATINA       DAVIS                     AL         90013158119
32182961957128   DANTE        DURAND                    VA         90011639619
32183211977544   PATRICIA     CARMONA-OVOA              NV         43011372119
32183323951339   KIMBERLY     LANGLEY                   OH         66024563239
32186881851339   SAVAUN       HUTCHINSON                OH         90010888818
32186986191356   ROSA         VAZQUEZ                   KS         90007769861
32187358191531   GERARDO      PACHECO                   TX         75078513581
32188112855972   MASOU        SEE                       CA         48008261128
32188623541481   TINA         TOOMBS                    WI         90002886235
32188814641277   JOHN         STEPHENS                  PA         90010118146
32188936631424   BRANDON      JACKSON                   MO         90015319366
32189621991563   YOLANDA      TAPIA                     TX         75019846219
32189695691831   PEDRO        PUENTE                    OK         21045486956
32191158141285   WILLIAM      BANKS                     PA         51086421581
32191932747931   DANNY        LESTER                    AR         90011899327
32192128241277   DANIELLE     EPPS                      PA         90012221282
32192481591356   MESLI        LOPEZ                     KS         90012444815
32192575251339   MICHAEL      SMALL WOOD                OH         90005985752
32193725555972   JUVENAL      RODRIGUEZ                 CA         90012067255
32194653491531   JUAN         HERNANDEZ                 TX         90014676534
32198967491356   HARRY        HAWKINS                   MO         90012269674
32199347254165   JASON        WASSON                    OR         90014683472
32213495831424   MARYTRICE    BROWN                     MO         90002274958
32213588784368   LYDIA        GRANT                     SC         90013765887
32215153751369   ANGELA       NORTHGARD                 OH         90010301537
32217372955972   MARCO        SALAS-ROBLERO             CA         90013693729
32217621531424   KEVIN        HODGES                    MO         90011166215
32217625351369   MAURICE      FOSTER                    OH         90012596253
32218322857153   MIRIAN       ALVERTO                   VA         81040033228
32218555536143   GINO         CUELLAR                   TX         90007845555
32219179851321   JASON        SERMERSHEIM               OH         66019251798
32222162236143   THOMAS       GARZA                     TX         73589111622
32222227872496   DEBRA        EVANS                     PA         90002142278
32222574691232   BRENDA       JOHNSON                   GA         90009325746
32222579791587   ELSA         OCHOA                     TX         75028815797
32224238136143   SHAYLA       WYSONG                    TX         90014572381
32224438584368   TRENT        COBB                      SC         90013644385
32225119355972   REBEL        GALAZ                     CA         48084281193
32225183647931   MARIA        RAMIREZ VEGA              AR         90014501836
32225712857153   SAUL         SILVA                     VA         90006407128
32226915372496   RAYLIN       HARRIS                    PA         90014159153
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32227727547931   SAN JUANITA   SANCHEZ                  AR         90013017275
32228435272496   DEREK         ALLER                    PA         90012704352
32228847291531   KENNETH       COOPER                   TX         90012138472
32228954255972   RICHARD       HAMILTON                 CA         90002429542
32232338855972   FELICITAS     GARZA                    CA         90007423388
32232892251339   ISRAEL        GOMEZ                    OH         90015308922
32232948177544   RAMONA        MEDINA                   NV         43081469481
32233814597939   CLARISSA      BLACK                    TX         74058738145
32234229841277   KRYSTAL       VOELKER                  PA         90006332298
32234295331424   ANEESAH       BANKS                    MO         90008942953
32235923531938   ANONIMOUS     ANONIMOUS                IA         90015599235
32236869955972   AMBER         RAYO                     CA         90013638699
32238369372496   VIRGINIA      DENNIS                   PA         90013433693
32239827157153   AURORA        DURAND                   VA         90006408271
32241246884326   PAULET        DOBINE                   SC         90007402468
32241248754165   STANLEY       HIXSON                   OR         90003092487
32241926972496   JOSEPH        BASS                     PA         90014889269
32243212672496   LISA          RAY                      PA         51055382126
32245634691356   MONYAL        FRANKLIN                 KS         29012676346
32246493651339   BRITTNEY      PRATHER                  OH         90013114936
32246533491531   GORGE         LUQUE                    TX         90012425334
32246663854165   ROBERT        WOODRING                 OR         47081336638
32247871572496   RAYMOND       RUSH                     PA         90013938715
32247939591356   GREGORY       MORROW                   KS         90012959395
32248719531424   CHARKENA      JONES                    MO         90011567195
32249561991531   MAYRA         ORIBE                    TX         90011195619
32249642472496   SHALAN        THOMAS                   PA         51004346424
32251235231424   BRANDY        CLAY                     MO         90014332352
32252217155972   RAFAEL        SOLIS                    CA         90014012171
32253379691563   PICILLA       SANDOVAL                 TX         90012643796
32253435941277   MIA           TURNER                   PA         90012394359
32253729351369   CARLA         BACKSCHEIDER             OH         66040987293
32253871277544   RAMONA        RIVERA                   NV         90012928712
32254448191563   CARMEN        MARTINEZ                 TX         75095324481
32254545541285   JOYCE         PFEIL                    PA         51072255455
32254632285873   RUTH          SAMAD                    CA         46020346322
32255343136143   JOE           GARCIA                   TX         90001533431
32255369541277   DAKOTA        BUNDY                    PA         90012023695
32256431854165   GARY          MARTINDALE               OR         90013744318
32256721291531   VARVARA       RAMIRES                  TX         75016477212
32256931747931   CHARLES       CLARK                    AR         90002119317
32258436551339   AWILDA        VEGA                     OH         90015444365
32259253154165   CHRYSTYNA     HENSON                   OR         90014382531
32261119957153   ABU           SAKAR                    VA         90006421199
32261537241285   CHRISTINE     DURICA                   PA         90014305372
32261538841258   AMY           SIGAL                    PA         51003715388
32261927271656   ASHLEY        LUKE                     NY         90015519272
32262545361557   PAUL          STEWART                  TN         90015495453
32262741191831   TYSHAN        ACKERSON                 OK         90013797411
32263324541258   MAURICE       SAUNDERS                 PA         90010553245
32264732284368   DEYANIRA      BLOUNT                   SC         90011987322
32266375491831   CATALINA      GOWENS                   OK         90012493754
32266872791356   JOSEPH        MANIS                    KS         29011548727
32266873451339   CHRISTINA     WAVER                    OH         90013428734
32267635891538   BLANCA        GALINDO                  TX         90010456358
32267746141277   MICHAEL       LADIK                    PA         51088937461
32268377191356   LEONIDA       RIVERA                   KS         29090703771
32271126447931   DINA          PERLERA                  AR         90003391264
32271481472471   JOHN          MORGART                  PA         51043114814
32271813191531   VALENTIN      LOZANO                   TX         90002648131
32271891741285   BETTY         HOSZOWSKI                PA         90013548917
32272656691356   AMY           HANSON                   KS         90014906566
32273337441258   ALLEN         BENNETT                  PA         90010483374
32275147984368   ADRIANA       JAEN                     SC         90014051479
32275149191563   CRAIG         RIVERA                   TX         90014521491
32275245877544   SIDNEY        JENKINS                  NV         90015062458
32277179684368   ELEAZAR       JERVASIO                 SC         90010291796
32277197591537   LIZETH        BALTAZAR                 TX         90008721975
32277271441277   ROCKY         JONES                    PA         90012632714
32277648551339   DARRIN        FISHER                   OH         90003636485
32282353791831   JOHN          GARCIA                   OK         90009543537
32282841436143   EDNA          BUSTOS                   TX         90014868414
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32282913591563   JAIME        PADILLA                   TX         75040249135
32285867677544   YOLANDA      STATUM                    NV         43052688676
32286456551339   JENNIFER     CORNWALL                  OH         66016544565
32286875554165   JUSTIN       JENSEN                    OR         90014848755
32287129841277   AUDREY       ARDIS                     PA         90008581298
32288135891543   BRANDY       TAYLOR                    TX         90012131358
32288739336143   SHIRLEY      WEST                      TX         90001487393
32291141977544   HEMERY       RAMIREZ                   NV         43041291419
32293254872496   CAROL        CRAGGETTE                 PA         90013652548
32293921591531   OSCAR        MELENDEZ                  TX         90011749215
32294938791563   SARHA        QUIROZ                    TX         90003559387
32295172751339   STACEY       SANTOS                    OH         90010561727
32297368736143   JOHNNY       CORONA                    TX         90010903687
32298858551369   CHRISTINA    BRYANT                    OH         90010918585
32299877847931   CARLEE       HARRIS                    AR         90007908778
32311867191563   DIANA        MARQUEZ                   TX         90004918671
32312358147931   IRIS         VEGA                      AR         25030053581
32313155772441   DARRIN       PETTERSON                 PA         90001141557
32314184941277   JENNA        HUDSON                    PA         90014961849
32314722372496   BONNIE       SPIKER                    PA         51043897223
32315112872496   LISA         FOSBRINK                  PA         51061821128
32316544151369   SANDY        ROBERTSON                 OH         90014515441
32317379754165   SANDRA       PRENTISS                  OR         90014743797
32318887272496   VALERIE      CARTER                    PA         51044118872
32318954351339   MARIA        VALLE                     OH         66061049543
32319386391538   ASHLEY       SEPULVEDA                 TX         90000823863
32321237177544   ANITA        PARRA                     NV         43096112371
32322242336143   MELINDA      GARCIA                    TX         90000512423
32322581872496   JEREMY       KALAMETS                  PA         51030025818
32322731291356   KEVIN        WHITE                     KS         90013947312
32323826672496   DANNY        REDDING                   PA         90015188266
32324286777544   KERRY        GEHLKEN                   NV         90007842867
32324387736143   HOPE         GOMEZ                     TX         90013183877
32324675151339   DUSTIN       SANDERS                   OH         90010896751
32325268691356   MARIO        NINO                      KS         90009672686
32325477141285   ASHLEY       GODFREY                   PA         90004774771
32326365991356   WILVOR       GUILLER                   KS         90014113659
32326476625124   MARY         DRIVER                    AL         90014864766
32331883451369   SANDRA       COLE                      OH         66067748834
32332586997126   BRIANNA      COCHRAN                   OR         90008565869
32332692757153   CHRISTIAN    CHAVEZ                    VA         90010706927
32333193341277   JORDAN       PACKY                     PA         90014151933
32333554591363   MARIA        AGUSTIN                   KS         90004285545
32334867984368   FLORENTINO   PEREZ                     SC         90013218679
32335775484368   DAVID        STIR                      SC         14574817754
32336887851369   JUSTIN       LOVELACE                  OH         90013288878
32337183331424   AMY          JACKSON                   MO         90001771833
32337495577544   ROCIO        VILLAGRANA                NV         43039884955
32337589772496   AMY          CARRIGAN                  PA         51061945897
32337861791831   EPHRAIM      PRESTLEY                  OK         90008608617
32338529891531   JUDITH       VALADEZ                   TX         75052835298
32338767341258   LARONDA      PAGE                      PA         51086637673
32339826591831   LATARA       JEFERSON                  OK         90010268265
32341248377544   ASHELY       MCCAULEY                  NV         90010662483
32341278831424   KANTRELL     LEE                       MO         90014572788
32342261441277   MARIE        LOIDL                     PA         51091682614
32343518884368   EDGAR        LOPEZ MEDINA              SC         90012615188
32343977391563   JAIME        SIFUENTES                 TX         75045549773
32345168791356   DONTERRILL   FOWLER                    KS         29023381687
32346398251369   CRYSTAL      ROBINSON                  OH         90014703982
32347152591356   KAREESA      IKERD                     KS         90013871525
32347171641277   TASHAWNA     PATTERSON                 PA         51010821716
32347972851369   TOMMY        WITT                      OH         90011339728
32348134141258   FAUSTINE     GREEN                     PA         51008571341
32348761877544   MYERIEM      SHEVERNOGA                NV         90010827618
32348864354165   REBECCA      HILL                      OR         90005118643
32349147151339   JAY          WATSON                    OH         90012391471
32349269484368   JONATHAN     SOTO                      SC         90012142694
32349584491356   KIMBERLY     BUSH                      KS         90011175844
32352113641277   BRADLEY      IRWIN                     PA         90014371136
32352569591356   MIKEL        JOHNSON                   KS         90013095695
32352676651369   VERONICA     COLBERT                   OH         90000136766
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32352785254165   JULIE          CARTER                  OR         47094637852
32353261191531   ZULEMA R       CONTRERAS               TX         90002572611
32353274236143   KEVIN          TOLLE                   TX         73541442742
32354624577544   ELIZABETH      HARRISON                NV         90001686245
32355945151339   KONNEE         REXROAT                 OH         90010609451
32356896791356   KRISTINA       FERSTL                  KS         29077208967
32357995354165   LISA           FERRIS                  OR         90012039953
32358664155972   BERNARDO       OLIVEROS                CA         48000646641
32362533177544   BRENDA K       KROTSMER                NV         90011475331
32363213336143   DEREK          LUGARO                  TX         90012892133
32363298955972   CARLOS         MIRELES                 CA         90013262989
32363746284368   JUAN CARLOS    ALONSO                  SC         90014897462
32363983731424   SYLVESTER      HUFFMAN                 MO         27557619837
32364234841258   YVONNE         YARBOUGH                PA         51015972348
32365155977544   CASTULA        LOPEZ                   NV         90014951559
32366137141277   JESSICA ERIN   GRAF                    PA         90010521371
32367589651339   BARRY          MCDONALDS               OH         90002305896
32367685491563   LAURA          REY                     TX         90007146854
32368472641277   ANTHONY        CHIRICO                 PA         90011344726
32368532851339   REBECCA        CALHOUN                 OH         90013835328
32368537541285   GENNIE         SHELBY                  PA         90000255375
32369671877544   TIM            EWING                   NV         90015036718
32371561854165   TRACY          JONK                    OR         90014575618
32371821391831   CASEY          MAHONE                  OK         90014768213
32372227141277   JUDI           POND                    PA         51072092271
32372254272496   MICHELE        COOKE                   PA         90011382542
32372639191893   LARRY          ARMITAGE                OK         21079016391
32372932784368   MARLON         PINEDA                  SC         90006589327
32373952491531   VICKY          GASTELUM                TX         75082689524
32374915372496   RAYLIN         HARRIS                  PA         90014159153
32374931354165   JENNIFER       JONES                   OR         90005949313
32374957251339   KAYDEE         COMELY                  OH         66017739572
32375757172496   DARREN         HUDOCK                  PA         90009497571
32376143851369   TERESA         ROSEBERRY               OH         66049421438
32376711491831   REACONDA       WALKER                  OK         21021987114
32378454241258   MEGAN          NOLAN                   PA         90010554542
32378639191893   LARRY          ARMITAGE                OK         21079016391
32379632347931   PABLO          MOTA                    AR         90014916323
32381415751369   MELISSA        HATMAKER                OH         90004234157
32381871931424   SHELLY         HOLDER                  MO         27550118719
32382311477544   RAUL           ROJAS                   NV         90011093114
32382432491531   ADAM           LEYVA                   TX         75005844324
32382522236143   YOLANDA        MARTINEZ                TX         90014785222
32383619691531   PABLO          PAREDES                 TX         90013796196
32384731284368   SOFIA          DIAZ                    SC         90014907312
32384774555972   DANIEL         PADILLA                 CA         90006557745
32386359951369   ANDRES         ELASQUEZ                OH         90006583599
32386417236143   ROSALINDA      MARTINEZ                TX         90005044172
32386446391531   JOSE           MACIAS                  TX         75040544463
32386528972496   AMANDA         FULMER                  PA         90012235289
32387153131424   JOSEPHINE      JONES                   MO         90008711531
32387881947931   MANUEL         BAUTISTA-SANTIAGO       AR         90011548819
32388436931424   TYRON          CONLEY                  MO         90015134369
32391896151369   BELINDA        WASHINGTON              OH         66075068961
32393481172496   ANTHONY        BROWN                   PA         90014024811
32393765751369   TINA           HOFFMAN                 OH         90010077657
32393959591356   SHANNON        SMITH                   KS         29011199595
32394424357153   WILLIAM        CARL                    VA         90006474243
32395881947931   MANUEL         BAUTISTA-SANTIAGO       AR         90011548819
32396167147931   DERRICK        GARRETT                 AR         90013831671
32396737885939   JEREMY         WADE                    KY         90003707378
32397727954165   PAMELA         CABALLERO               OR         47089377279
32398496841277   TERESIA        COUCH                   PA         51052254968
32399145231424   YULONDA        CHAPPLE                 MO         90003231452
32411528377544   CRYSTAL        THOMPSON                NV         90014455283
32411824691543   LEE            MARQUEZ                 TX         90009998246
32413393141277   WESLEY         MOYLE                   PA         51045833931
32414248931424   JOSHUA         LEWIS                   MO         90007192489
32415767691893   DEREK          CHAMBERS                OK         90012077676
32415777677544   SAMUEL         DIXON                   NV         43074497776
32416471391531   ANDREA         FONG                    TX         90013974713
32416896241277   DONALD         MUTUSKY IV              PA         51058638962
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32418554347931   JOSE           PLATA                   AR         25096925543
32418846351369   LEON           SHAVERS                 OH         90012288463
32419987391356   CRISTINA       TREVINO                 KS         90005389873
32422112441258   SARAH          SOWA                    PA         51028421124
32422198684368   YUSMARI        HERNANDEZ               SC         90014991986
32422444377544   MARCELA        GUADALUPE               NV         90011834443
32422734541285   ANTHONY        LAIDELLA                PA         90006147345
32423293891356   BRAINNA        NOEL                    KS         90010822938
32423578391525   MARK           BEATICE                 TX         75048685783
32424566655972   SHANNON        GARCIA                  CA         48040085666
32425593884368   MARIA          VEGA                    SC         90015205938
32426127972496   PAUL           EVANS                   PA         90010311279
32426325391544   CARLOS         GRAJEDA                 TX         90011333253
32427875984368   YOLANDA        AVILA                   SC         14504538759
32428777355972   PEREZ          MIGUEL                  CA         90005387773
32428978872496   MEGAN          STEWART                 PA         90013119788
32429765841277   ANGELO         RUSSINI                 PA         90011067658
32429858555972   WENCESLAO      DE LA PAZ               CA         48091828585
32431193541277   JAMIE          MANGONE                 PA         51091331935
32432567155933   FAVIOLA        RODRIGUEZ               CA         90010165671
32432722391831   FA RANA        HOMAS                   OK         90014317223
32432841941277   WILLIE         WILLIAMS                PA         51092078419
32433734451339   MEGAN          ANTHONY                 OH         90013447344
32434242591831   TIMOTHY        ETTINGER                OK         90009092425
32434826691563   RITA           BENAVIDES               TX         75040588266
32438455291232   JESSICA        PATTERSON               GA         90006024552
32438874151339   MARCIE         JENNINGS                OH         66006318741
32438945984531   AWA            SHABAZZ                 NY         90015399459
32439774354165   JENNIFER       CERVANTES               OR         90007037743
32441338954165   DEVON          WALLACE                 OR         90011583389
32441889561984   MICHAEL        MAIS                    CA         46012718895
32443317191563   LUIS           MIEALES                 TX         90011183171
32444568691563   ROSALIA        FERNANDEZ               TX         75098165686
32444645277544   CONSUELA       ZAVALA-REYNOSO          NV         90003586452
32444982336143   DAVID          BANDA                   TX         90013759823
32445229336143   MARIA          OLIVIA                  TX         90010942293
32446557172496   CHRISTINA      ASHBY                   PA         90013095571
32446718391563   DANIEL         AVALOS                  TX         90011507183
32447266291356   JOSE           ORTEGA                  KS         90013532662
32447853791563   JACQUELINE     MILLER                  TX         90003668537
32448235231424   BRANDY         CLAY                    MO         90014332352
32448648151339   DANIELLE       CALHOUN                 OH         90011386481
32449242555972   CANDELARIO     BEDOLLA                 CA         48015972425
32449699247931   BERTHA         PEDROZA                 AR         25083626992
32451765341277   RAMOND         NELSON                  PA         90000677653
32452128991587   MELINDA        FIERRO                  TX         90012131289
32452247831699   MARISSA        SUTTER                  KS         90013332478
32453191842558   MOISES         CARPIO                  WA         90015021918
32453629655972   JOSE           CARDENAS                CA         48036616296
32454754847931   LAURA          PARAGIOUDAKIS           AR         25010057548
32454995755972   JOSE EDUARDO   ACERO                   CA         90012189957
32455337391831   DENNIS         WARFEL                  OK         90014503373
32456559284368   JORGE          DOMINGUEZ               SC         90005645592
32459974351339   STEVE          MONK JR                 OH         66009329743
32462585771931   ARICA          ADAMS                   CO         90003815857
32464463955972   ANTHONY        ENOS                    CA         48016634639
32464666191963   DOLLY          SWINSON                 NC         17084846661
32464821431458   FATIMA         FISHER                  MO         90009478214
32465624331424   FRANCHESKA     SANDFORD                MO         90014686243
32466533991531   KRYSTLE        HERNANDEZ               TX         75095415339
32469464291831   SHANEKA        BORENS                  OK         90004924642
32469755836143   CINDY          HOWE                    TX         73588857558
32474281584368   MAIKOL         ZARATE                  SC         90011072815
32475889155951   DIEGO          BETANCOURT              CA         49016018891
32476931191831   GLORIA         GAONA                   OK         90011929311
32477257291831   GUSTAVO        MORALES                 OK         90003562572
32477521884368   SAPORIAH       SIMS                    SC         90012255218
32478458641277   TYLOR          OCONNELL                PA         90011854586
32478817291563   JAIME          GONZALES                TX         75050648172
32479736891831   STEVEN         HIETT                   OK         90013867368
32481536455972   MARTINA        ASCECIO                 CA         48042255364
32482132484368   SERGIO         HUERTA                  SC         90014751324
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32482993872496   BLAKE         KNOPSNIDER               PA         90013949938
32483365791563   ANTONIO       PEREZ                    TX         90015053657
32484212991356   ANGEL         HIPOLITO                 KS         29075602129
32486684736143   JOHN          OROZCO                   TX         90012786847
32487548847931   PATRICIA      SHEPHERD                 AR         25094845488
32488439851339   AMANDA        COPHER                   OH         66046974398
32489598957153   JULIAN        FERRUFINO                VA         81091055989
32491858291563   LUIS          GIL                      TX         90010178582
32493258171939   JAMES         WILLIAMS                 CO         90006012581
32493395491831   WILLIE        KAUFFMAN                 OK         21096813954
32496387954165   AMANDA        BENITEZ                  OR         90015213879
32497983372496   JESSICA       BURLEY                   PA         90013839833
32498363441277   SHARITA       WYATT                    PA         90009853634
32511273772496   STEPHANIE     FABIAN                   PA         51051022737
32512685491563   LAURA         REY                      TX         90007146854
32514441641258   GEORGETTE     PELKOFER                 PA         90007404416
32514545941285   RICH          DEPASQUALE               PA         51068465459
32515673591563   YASMIN        KALUAKINI                TX         75070076735
32516714391563   LEON          ROQUE                    TX         90007517143
32516848891831   KEVIN         LEWIS                    OK         90012478488
32517815847931   DANIEL        COWLES                   AR         90012518158
32518455577544   ROBIN         DUNKEL                   NV         43045794555
32519179436143   MARIA         MEDINA                   TX         90006541794
32521113884368   JOSE          ALFREDO                  SC         14577391138
32524367651369   ROBIN         BRICE                    OH         90013053676
32524667331424   DENISE        BROWN                    MO         90009816673
32524889951339   JODI          QUICK                    OH         90011528899
32525826641277   LADONNA       HESTER                   PA         51060658266
32525885147931   GERMAN        MORAN                    AR         90009758851
32526448331428   FELICIA       KING                     MO         90010734483
32526618947931   MARTIN        SALAZAR                  AR         90013326189
32528728341258   MALIKA        YOUNG                    PA         51013987283
32529499172496   TRAVIS        GRADY                    PA         90015104991
32532653147873   ROBERT        POTTS                    GA         90014576531
32532658331424   ANIKA         LEE                      MO         90005906583
32532819291232   MICHELLE      WILMORE                  GA         90000238192
32533736391563   LINDA         GARZA                    TX         90014327363
32534562336143   JASON         BURNS                    TX         90014885623
32534593991563   MARIA         REYES                    TX         75080465939
32536982651337   FELECIA       NAPIER                   OH         66004549826
32538126872496   ADRIAN        BRYNER                   PA         51013081268
32538634755972   JOSE          LUPERCIO                 CA         90011956347
32541342251339   TIFFANY       GIBBS                    OH         90009463422
32541596272496   CHRIS         MILLER                   PA         90012285962
32542437155972   MARTHA        GARCIA                   CA         90012054371
32542613991563   CECY          DOMINGUEZ                TX         90014586139
32543749655972   MARIO         RODRIGUEZ                CA         48047897496
32543783891831   SUSANA        MERCADO                  OK         90008987838
32544423631424   SHAUNA        MILLER                   MO         90009634236
32544662255951   EUGENIO       LOPEZ                    CA         90002436622
32546193851339   TODD          CURRIER                  OH         90010541938
32547169454165   DAVE          GOLDMAN                  OR         47090111694
32548212447931   CLAUDIA       IRAHETA                  AR         90013942124
32548484191563   MARTIN        YANEZ                    TX         75089034841
32549658955972   VICTOR        BELTRAN                  CA         90010966589
32552694254165   JUAN          MEJIA CHAY               OR         90010216942
32553259955972   ANGEL         ESPINOZA                 CA         90014842599
32553323255951   ANDRES        VILLA                    CA         90005493232
32553719984368   OBET          ORTEGA                   SC         90012037199
32554148947931   MARISELA      ALBARRON                 AR         90002971489
32554313784368   QUINISHA      FREEMAN                  SC         14574993137
32555746991563   NAVARRETE     SYLVIA                   TX         90005817469
32555825255972   ANGELICA      ENRIQUEZ                 CA         48026268252
32556561854165   TRACY         JONK                     OR         90014575618
32556571171943   SARA          FOSTER                   CO         90010465711
32556764351369   GURINDERJIT   SANGHERA                 OH         90013827643
32556956251339   DENISE        KERR                     OH         90001539562
32557195872496   ANGEL         KNOPSNIDER               PA         90013951958
32558398651369   JAJUAN        WILLIAMS                 OH         66025163986
32558987691831   SALLY         WILLIAMS                 OK         90012129876
32561877847931   CARLEE        HARRIS                   AR         90007908778
32563833691356   PABLO         MARQUEZ                  KS         90011888336
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32564187591356   IRMA         ROSALES                   KS         90011581875
32564219531424   JUSTIN       RANSOM                    MO         90015562195
32566368291563   RAMON        MACIAS                    TX         90013963682
32566864831424   MARCO        LOMAT                     MO         90012268648
32567239951369   YAN          RAI                       OH         90012322399
32567591191587   PATRICIA     MARTINEZ                  TX         75083975911
32567631647931   MANUEL       GALLARDO                  AR         90012066316
32569878557153   MIRNA        GUTIERREZ                 VA         81016288785
32571147255972   ALMA         SPURLOCK                  CA         90013191472
32572897631433   CLIFLORE     PIERCE                    MO         90005258976
32573663141277   CHRISTY      FORCUCCI                  PA         51015966631
32573749884368   CARLOS       ARGUEDAS                  SC         90006747498
32574288191531   ANGEL        GRANADOS CAUDILLO         TX         90001702881
32575236336143   SHAY         KREMLING                  TX         90012452363
32579795651339   ROBERT       HUGHES                    OH         90008507956
32581165391356   DEBBIE       STEPHENS                  KS         90013871653
32581345451339   MIKE         SALLEE                    OH         66009713454
32584698955972   LAI          SAECHAO                   CA         90010936989
32585415151339   SHANNAN      LEE                       OH         90012394151
32587768791356   DONALD       BOUCHARD                  KS         90011087687
32589696455951   LUIS         LARA                      CA         90002736964
32589834941277   DYANE        DICK                      PA         51016408349
32592157883225   DEVON        GUIDRY                    TX         90014231578
32592225336143   MELVIN       SORIA                     TX         90013662253
32593162791831   RICKIE       CAVIN                     OK         90013111627
32593787131424   ELIZABETH    LOPEZ                     MO         90009577871
32594139554165   CHARLES      WELLS                     OR         90001651395
32595998355972   RAMIRO       TORRES                    CA         90010269983
32597685641258   LASONS       DUNCAN                    PA         51011266856
32598232455951   ERICA        DEOLGADO                  CA         90005492324
32612278831424   KANTRELL     LEE                       MO         90014572788
32612824691356   KARLA        MORROW                    KS         29007218246
32613387755972   CESAR        CASTRO                    CA         48037593877
32614159955972   JORGE        FUENTES                   CA         90000281599
32614782191356   SHAELAH      WALL                      KS         90011087821
32614863891537   EDUARDO      DIAZ                      TX         75075718638
32615242336143   MELINDA      GARCIA                    TX         90000512423
32615432241258   LESTER       WILLIAMS                  PA         51009234322
32615943391563   JUAN         CORONADO                  TX         90009879433
32616646851339   WILLIAM      HONCHUL                   OH         66057496468
32617321391563   LUIS         ARTURO BARRAZA            TX         90014833213
32617539284326   SINCERE      LAWNSCAPERS               SC         90007155392
32617686655972   CARRIE       VILLAREAL                 CA         48047166866
32618262584368   BRAYAN       VASQUEZ                   SC         90007592625
32618866277544   FRANCISCO    GARCIA                    NV         90003038662
32619317891851   MICHAEL      POSEY                     OK         21009683178
32619857541277   MARLANA      HUMPHRIES                 PA         51019878575
32621116855972   BLANCA       CHAVEZ                    CA         90013401168
32621411141285   WAYNE        ALTMAN                    PA         51065674111
32621583261551   HUMBERTO     MUNOZ                     TN         90014795832
32622182651369   LANCE        FINCH                     OH         90013621826
32623288255972   HECTOR       OSORIO                    CA         48068632882
32623311872451   JAMES        HOLSINGER                 PA         90008613118
32625728661972   ANTONIO      IDARZA OROZCO             CA         46078187286
32625928191531   YAZMIN       ANAYA                     NM         90015259281
32626539191531   ALEJANDRA    SANCHEZ                   TX         90014065391
32628728891356   CARRIE       GIBSON                    MO         90002957288
32629539484368   ROBERT       HARTWIG                   SC         90007195394
32631727991356   ANDRE        PORTER                    KS         90014977279
32632122291356   TIFFANY      COLBERT                   KS         90011071222
32632139131424   CRAIG        SNARZYK                   MO         90013681391
32632665691531   DENISSE      GOMEZQ                    TX         90012996656
32632827891831   SALES        TRAVIS                    OK         21082018278
32632959591356   NATASHA      NASH                      KS         90014599595
32633388131424   SHERRIEFF    SMITH                     MO         90014603881
32635113154165   RICARDO      GUINN                     OR         90006451131
32635213241277   SHERRIE      MCAULIFFE                 PA         51072242132
32635867355972   MIRNA        JIMENEZ                   CA         48013138673
32639528155951   RICARDO      GARCIA                    CA         49039885281
32643939841285   KAI          KAMANO                    PA         51028119398
32645954141277   LISA         CONLEY                    PA         51031049541
32646319141285   BARRY        LITCHEY                   PA         51068983191
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32647765531424   EDWARD       FAYNE                     MO         90015267655
32647932884368   JORGE        SARMIENTO                 SC         90011409328
32648236954165   PETER        BURGESS                   OR         90014732369
32649568631424   CHRISTY      LEWALLEN                  MO         90015135686
32651146841277   LAMONT       WRIGHT                    PA         51082301468
32652436591563   DIANA        PENA                      TX         90000244365
32652993251341   NIKKI        FITRAKIS                  OH         90008709932
32653181741285   SHANNON      STARR                     PA         90011621817
32653277555951   JOSE         GARCIA                    CA         49030512775
32654492155972   MARYANN      FRANCO                    CA         48011664921
32654739891563   GERARDO      PAZ                       TX         90010377398
32655756261957   MAGALY       VALLEJO                   CA         90012347562
32656336855972   TERRI        BECK                      CA         90014913368
32656459191531   DANIEL       MUNOZ                     TX         75074604591
32656655185998   QUINTIN      WINGATE                   KY         67072396551
32657336591356   JESSICA      SUSSE                     KS         90012213365
32657617361925   ALEJANDO     MARRUFO                   CA         46045586173
32657735851339   RYAN         SMITH                     OH         90002997358
32658414791831   HELMIN       LARA                      OK         90012564147
32658417484368   MICHAEL      WILLIAMS                  SC         90006304174
32661163777544   ARMANDO      MONTES                    NV         43098581637
32661289231424   GUAN         HEAD                      MO         90013962892
32661393231424   TIERRA       SILLS                     MO         90012923932
32661539991563   JOSE         CARRILLO                  TX         90014845399
32663416531424   WILLIAM      DUNN                      MO         27576054165
32663643941258   MICHAEL      SHAWVER                   PA         90011526439
32663923591531   PAULINE      PRINCE                    TX         75007099235
32664428772496   JOSEPH       JOHNSON                   PA         90012714287
32664485951339   LAURA        BOYER                     OH         90001164859
32664975154165   KATHLEEN     MILLER                    OR         90011729751
32666627572496   CHARLENE     MAUST                     PA         90010736275
32666739291538   ANDY         DIAZ                      TX         90011257392
32667583947873   DARRELL      SMITH                     GA         90001765839
32668591191544   YESENIA      PAGAN                     TX         90010805911
32668717336143   JESSE        HERNANDEZ                 TX         90011867173
32669413247931   RUFUS        MCCORMICK                 AR         90015134132
32669717954165   CORRIE       NORTON                    OR         90013397179
32671217436143   SAMANTHA     GARZA                     TX         90011072174
32671842847931   LACRETIA     TECH                      AR         90012258428
32672579691531   ALFREDO      RUBIO                     TX         90004835796
32672656891831   JOSEFINA     BADILLO                   OK         90010386568
32673929272496   BOBBY        BROWNFIELD                PA         90013499292
32674148136143   MICHAEL      HAZOURI                   TX         73594311481
32675483547931   KRISTEN      TUCKER                    AR         90008764835
32676797291356   CLAUDE       FANTROY                   KS         90012587972
32677218941277   BRIAN        GUROWSKI                  PA         90013432189
32677686191893   KELLY        ROSS                      OK         21036896861
32677744131683   JOEL         WEIHE                     KS         90000367441
32678185355972   ROMELIA      MATEO                     CA         90014321853
32679553655962   ADRIAN       RAMOS                     CA         90012635536
32681558531424   CHAD         SPILKER                   MO         90007935585
32681779154165   RIAN         GARBODEN                  OR         47003567791
32683498891563   MANUEL       LIZALDE                   TX         90005174988
32683537977544   MARCO        LOPEZ                     NV         43004355379
32686112636143   RUDOLPH      PADIERNA                  TX         90011971126
32686987791563   JOSE         SALDANA                   TX         75089019877
32687227754165   PATRICIA     HUFFORD                   OR         90008932277
32687738341285   JOSHUA       KRESS                     PA         90000877383
32689512736143   NORMA        VASQUEZ                   TX         73506845127
32691455584368   ADRIAN       NUNEZ                     SC         14561444555
32691647555972   AUSTIN       WALK                      CA         90012206475
32692564291356   ELIUD        TORRES                    KS         90015225642
32692595872496   CINDY        BROWN                     PA         90013155958
32693736372496   BARABRA      JONES                     PA         51041397363
32694743484368   CYNTHIA      HUNT                      SC         90014507434
32695752141285   JAMES        RUSSELL                   PA         90011207521
32696734151339   ABBY         ZACKER                    OH         90010067341
32696759636143   ANGELA       YBARRA                    TX         90007367596
32697485591831   JAYME        WARD                      OK         21090344855
32698946151339   CATHY        SPARKMAN                  OH         90008619461
32699661747931   DORIS        DUVAL                     AR         90012686617
32711155591356   DENISE       LEE                       KS         90014801555
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32711258291531   ROMEL         ROSALES                  TX         90013732582
32711532491531   MELISSA       ZAMBRANO                 TX         75060745324
32711595584368   DELORES       JOHNSON                  SC         90010635955
32711635554165   RANDY         TERREL                   OR         47063906355
32713624591563   JUAN          LOPEZ                    TX         75089906245
32714214941285   JOSE LUIS     GALDAMEZ                 PA         51088652149
32714815636143   BRANDON       GIRDY                    TX         90013288156
32716349331625   JODY          INSCHO                   KS         90011173493
32716893855972   ANDREA        DE LA CRUZ               CA         48082138938
32718169454165   STEVEN        BRUCE                    OR         90006571694
32721314891831   CRAIG         STILWELL                 OK         90015123148
32721681747931   KRISTINA      SALGADO                  AR         90013556817
32721713791831   JUSTIN        HOLT                     OK         90013987137
32721856491356   NARCISCO      GALVEZ                   KS         90014988564
32722589141258   MARK          GORDON                   PA         90004515891
32722872591831   EMILIANA      MUNIZ                    OK         90010738725
32724129841285   AUDREY        ARDIS                    PA         90008581298
32724652891356   GUADALUPE     GONZALEZ-CASTRO          KS         90015156528
32725117991531   MEDINAJESUS   ALFONSO                  TX         90010181179
32726776291531   VILCHIS       MARTHA                   TX         90013697762
32732188691831   MICHAEL       GRAVES                   OK         90006901886
32735624291563   TOMAS         RIOS                     TX         90005396242
32735885447931   ANTHONI       FLORES                   AR         90015568854
32737494472496   NIYA          FAIRFAX                  PA         51002834944
32739188991831   TAHER         SHOUBAKI                 OK         90013891889
32739284741481   DAVID         LAMIR                    WI         90015552847
32739296236143   ALLYSON       WISE                     TX         73592482962
32742939357126   IGNACIO       ESPINOZA                 VA         90009819393
32743326273269   MARIA         GARRADO                  NJ         90014183262
32743951291831   GENO          TRINIDAD                 OK         21066049512
32745152536143   CHRISTINA     SALAZAR                  TX         90010991525
32745721551339   CARL          SCHAFER                  OH         90013797215
32747296155972   MARIO         LUEVANOS                 CA         90011802961
32749273772496   DAMON         WALTERS                  PA         90013232737
32752113655972   ROBERT        YOUNG                    CA         90008341136
32752278772496   HENRY         SWOPE                    PA         90013932787
32753262684368   LARRY         WOOTEN                   GA         90010202626
32753389651369   LATORIA       SMITH                    OH         90014563896
32753893572496   SHERRI        KING                     PA         51020738935
32754253355972   MARCO         BECERRA                  CA         90009622533
32754756431424   ELIZABETH     WALTERS                  MO         90011447564
32755728691356   TIFFANY       GARRISON                 KS         90011307286
32757355647931   LINDA         WESTON                   AR         25063293556
32757666291563   EDUARDO       ITO                      TX         75081706662
32757676157153   CARLOS        OLMOS                    VA         90003926761
32757767641258   TAMIKA        PENN                     PA         90003767676
32758588491563   IPOLITO       RAMIREZ                  TX         90004075884
32758653157153   JOSE          LARIOS                   VA         90006816531
32762393655972   KENNETH       HALL                     CA         90005253936
32763952991531   RUTH          RIVAS                    TX         75002059529
32763954947931   TIMMY         BRONSON                  AR         90013189549
32764242741277   PETER         HESS                     PA         51045972427
32764574455972   SAMANTHA      CASTELLANOS              CA         90012055744
32765129647931   JASON         DEGONIA                  AR         90013421296
32765334351339   YOHAN         LOPEZ                    OH         90013553343
32768537891831   JEREMY        FREEMAN                  OK         21025395378
32769523754165   JACKIE        VILLARREAL               OR         90012245237
32771958772496   CHRISTOPHER   CROMO                    PA         90014739587
32772147551369   MAURICIO      BERRIOS                  OH         66083651475
32773687851369   JUAN CARLOS   PILAR MATINEZ            OH         90010936878
32774429322462   MOISES        REYES HERRERA            IL         90014044293
32775324451339   KAREN         BOWMAN                   OH         90008923244
32776168951339   SHIRLEY       WRIGHT                   OH         90004231689
32777428191563   EMMA          CAMARGO                  TX         75011784281
32778183341277   MARIO         LOPEZ                    PA         90011691833
32778856651339   EDWIN         TOVAR                    OH         90014958566
32779526754165   ELIZABETH     THOMAS                   OR         90014015267
32779938657153   JOSE          ROMERO                   VA         90006819386
32781797591356   ANITA         LOPEZ                    KS         90006217975
32782654354165   SHANNON       MYRAND                   OR         90012236543
32782857736143   KENTRAL       HOUSTON                  TX         90013818577
32782919991531   ROSAELENA     DEANDELIS                TX         75020359199
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32782949955972   JOSEPH       DAWSON                    CA         48040029499
32783488357153   ERICK        RODRIGUEZ                 VA         90006824883
32784417851339   MELISSA      WILSON                    OH         90008644178
32785155891563   DIANA        OZUNA                     TX         90015011558
32786122372496   KIMBERLY     DALEY                     PA         90014161223
32786665891531   JAMES        BAIRD                     TX         75090036658
32786885447931   DALE         NICHOLS                   AR         25096748854
32786958241277   SPENCER      MCKAIN                    PA         51076379582
32787968284368   MIKELL       WILLIAMS                  SC         14545109682
32788638547931   TIFFANY      LUCAS                     AR         25068336385
32788765791587   ESPERANZA    FLORES                    TX         90001587657
32788975761972   MANDANA      PIROUZAN                  CA         90011729757
32789235472496   DAVID        MILLER                    PA         90014162354
32793246372496   RAMONA       BURNEY                    PA         90014162463
32793519936143   ROSE         PARTIDA                   TX         73579725199
32794373391563   ANA          TORRES                    TX         90009083733
32796349636143   LAURA        CANTU                     TX         90010993496
32796691691356   DAVID        PERAZA-RAMOS              KS         90012126916
32797433191831   ELIZABETH    FLEWELLEN                 OK         21084814331
32797547154165   KRISTEL      GREFF                     OR         90009225471
32797713151369   STACEY       HUCKLEBY                  OH         66079607131
32798999947931   OMAR         LAGUNA                    AR         90012079999
32799413584368   KEVIN        LUCENA                    SC         90007934135
32799946991356   AMANDA       CHRISTIE                  KS         90010929469
32812216272496   LESLIE       FIKE                      PA         90014182162
32812465741277   ADRIENNE     THOMPSON                  PA         90015374657
32815387954165   AMANDA       BENITEZ                   OR         90015213879
32815516251339   FRANKLIN     ADKINS                    OH         90006165162
32815761831424   DANIELLE     TILLIS                    MO         90010387618
32817793691531   ROSE         DIAZ                      TX         90015057936
32817959872496   JAMES        HETTENSCHULLER            PA         90003789598
32818175431424   MIKE         WOODS                     MO         90003131754
32818741141277   JAMES        HOPKINS                   PA         90009347411
32822438791538   MARTA        ACOSTA                    TX         90001214387
32822631331424   ALISHA       LATHAM                    MO         90014686313
32823275491563   GLORIA       CANDELARIA                TX         90006152754
32823639884368   ALEJANDRO    RAGEL SARRATE             SC         90013496398
32823781855951   JOSE         DELGADILLO                CA         49075377818
32823959872496   JAMES        HETTENSCHULLER            PA         90003789598
32825558151369   KARIN        CAIRO PASTOR              OH         90014965581
32826744131683   JOEL         WEIHE                     KS         90000367441
32827735691356   JENNIFER     RUSK                      KS         90012977356
32827757181681   KAREN        PORTER                    MO         90006387571
32827797791831   VANESA       BENGOCHEA                 OK         90011607977
32828729351369   CARLA        BACKSCHEIDER              OH         66040987293
32829645284368   JACIVE       COLMENARES                SC         90012436452
32831854491531   MARIBEL      MARTINEZ                  TX         75091158544
32832474955972   RODOLFO      PINEDA                    CA         90009394749
32832497936143   TINO         ALVAREZ                   TX         73507414979
32832614691531   JOSE         GONZALEZ                  TX         90010656146
32833142472496   STEVEN       SMITH                     PA         90008501424
32835931691831   VALENTIN     VARGAS                    OK         90013039316
32836521972496   JOY          HOLCOMB                   PA         90010515219
32836693236143   ROSALINDA    GARCIA                    TX         90014256932
32836825651339   APRIL        ROBERTS                   OH         66024548256
32837496841285   TERESIA      COUCH                     PA         51052254968
32841296355972   ROCKY        CORTEZ                    CA         48079492963
32842683551339   JACOB        SALLIE                    OH         90012506835
32843823472455   WILLAM       BENSON                    PA         90007618234
32845552654165   ROSE M       BREITHAUPT                OR         90004865526
32846693491563   SAMANTHA     MARTINEZ                  TX         90015286934
32847683141277   LAURA        MEDIATE                   PA         51011066831
32848838441285   MARK         NAGY                      PA         51045588384
32851951931424   SUSAN        FINLEY                    MO         27593479519
32854123631424   CEEARA       PIERCE                    MO         90011601236
32855193593761   CHRISTINA    COLLIER                   OH         90006701935
32856152791563   GUADALUPE    COBOS                     TX         90014091527
32859555531424   ZACHARY      O CONNELL                 MO         90012615555
32861441284368   LEONOR       LATTARO                   SC         90014884412
32863244647931   TOSMA        THOMAS                    AR         90013952446
32863348531424   KELLIE       BLISS                     MO         90003953485
32863592491531   VERONICA     GALARZA                   TX         90001235924
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32866519791531   ARMANDO       ALVAREZ                  TX         75090015197
32866717541277   DERRICK       REED                     PA         51088107175
32869189454165   SHALISHA      JARVIS                   OR         90005081894
32871337491893   HILARIO       ROSALES                  OK         21072423374
32871679531424   NOREEN        CLARK                    MO         90012826795
32871773451369   MONTEZ        KIDD                     OH         90011957734
32872394757153   JENIFER       SANCHEZ                  VA         90006863947
32872446572496   TIM           LINHART                  PA         90010704465
32873593136143   TONEY         AGUILAR                  TX         90010345931
32874454672496   TANA          MCBETH                   PA         90014214546
32874498247931   LYNDON        NESBITT                  AR         90013544982
32874743784368   ADRIAN        CORREA                   SC         90013607437
32874983291563   ISABEL        VILLA                    TX         90011489832
32876743885655   RONALD        MASON                    NJ         90006947438
32877929791563   SILVIA        VIRAMONTES               TX         90003429297
32878828747931   MICHAEL       GARCIA                   AR         25049628287
32883145531424   MARGARET      RUFFIN                   MO         90013751455
32883418641285   DAMEON        RAY                      OH         90007334186
32886117941285   JOSHUA        MALLEY                   PA         51086961179
32889984251339   GINA          DUNSON                   OH         90011319842
32892292191831   NOEL          RUTHERFORD               OK         90010342921
32892869855951   EVELYN        GIL                      CA         49009978698
32895785755951   PEREZ         MARIA DE JESUS           CA         49057587857
32896238954165   MARNIE        MCCAMMON                 OR         47005872389
32897127955972   BURKE         RUSSELL                  CA         48029781279
32897489641277   PATRICIA      DUFFEY                   PA         90007554896
32897525177544   ALBERTO       ALONSO                   NV         43089035251
32898833231424   TRACY         TAYLOR                   MO         90014638332
32911235184368   SAMELYA       AIKEN                    SC         90011102351
32911777191831   JARED         NISSEN                   OK         21009567771
32912335391356   JOSEPH        SHAHAN                   KS         90006573353
32912624791531   GERARDO       PEREZ JR                 TX         90013836247
32913811155972   NORA          GUZMAN                   CA         90014758111
32913834841277   MARY          HOLZWARTH                PA         90002498348
32914289851369   LATRENA       WELLS                    OH         66000732898
32914562847931   LADONNA       MENISEE                  AR         90015515628
32915695551369   AURA          THOMAS                   OH         90007686955
32915857591356   LASHAUNDA     BROWN                    MO         90001058575
32916159191563   SANDRA        ACOSTA                   TX         75040311591
32916521541258   KIMBERLY      KOROPAL                  PA         51011085215
32916941451369   MATTHEW       COTTINGHAM               OH         90015009414
32917672351369   THERASHIA     JONES                    OH         90013636723
32918587531424   WILLIAM       KENDLE                   MO         90001125875
32921143951369   BRANDON       MONROE                   OH         90009031439
32921226191563   ALMA          RAMIREZ                  TX         90014002261
32921352154165   DANIEL        WALLACE                  OR         90008553521
32921445272496   REBECCA       ELLIOTT                  PA         90014304452
32922372691942   WACKIMA       WRIGHT                   NC         90010153726
32923227391531   MAYBLE        VILLA                    TX         90014682273
32924294684326   JAMES         SIMON                    SC         90003242946
32924558231424   BRENDA        JONES                    MO         27583135582
32924582336143   DAVID         YOUNG                    TX         90012245823
32925443872496   AMANDA        SHOWMAN                  PA         90015164438
32925876791356   JENNIFER      GRESTY                   KS         90007098767
32926239891531   KENDY         WILLIAM                  TX         90005152398
32926975351369   JORGE         LEON                     OH         66020199753
32928625991563   MICHELLE      BARON                    TX         90014306259
32928924941285   JERMAL        JACKSON                  PA         51082659249
32929369591531   GERALD        AGUIRRE                  TX         75089993695
32931283231433   CHRISTOPHE    MCREYNOLDS               MO         90001412832
32931977284368   FLAVIA        BALDEZ                   SC         90007669772
32932865791531   JOSE          AVITIA                   TX         90014378657
32933732536143   LETYCIA       JIMENEZ                  TX         90014127325
32933965954165   JENNIFER      YOST                     OR         47093899659
32935455691831   JAMES         WALKER JR.               OK         21059144556
32936335155972   MICHELLE      HEDGECOTH                CA         48048393351
32936862791531   JORGE         SANTOYO                  TX         75085928627
32937316736143   KEISHA        RINGLAND                 TX         73580073167
32937795855972   RUBEN         SOTO                     CA         48003977958
32937835191531   JUAN          FLORES                   TX         75009888351
32937882551339   JUSTIN        ROSE                     OH         90009948825
32942455391881   CHRISTOPHER   FALCK                    OK         90013264553
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32942871247931   JACKSON       ABERCROMBIE              AR         90012788712
32943827351339   GARCIA        MARCELO                  OH         90015298273
32943984277544   DAYL          ROACH                    NV         90007279842
32944352391831   NOYAH         DOWNING                  OK         90009333523
32945549972496   MICHAEL       CRAYTON                  PA         51001885499
32945715751339   JENLYN        PAXSON                   OH         90009467157
32945923247931   JOHNNI        GARCIA                   AR         25084019232
32948393155951   JOSEFA        RODRIGUEZ                CA         90005493931
32948624391531   JANET         NUNEZ                    TX         90011666243
32949294491356   ADELA         MONTUFAR                 KS         90012492944
32951933751339   MELANIE       CLAPP                    OH         66043479337
32952187731424   ANGELA        KENDALL                  MO         90010281877
32952546857335   WILLIAM       SINCLAIR                 MO         90013785468
32952631472496   LIVIA         COCHRANE                 PA         90010556314
32952693151369   DARLENE       FRITSCH                  OH         66002686931
32953185941258   LINDA         WEARING                  PA         90002521859
32953283784368   ARTURO        FRANCISCO HERNANDEZ      SC         14517462837
32955425984368   RUPERT        GOODEN                   SC         90009264259
32955599291356   AYANNA        LEWIS                    KS         29006375992
32958728731494   MATTHEW       BEALUE                   MO         90003897287
32958842491563   LOUIS         MORALES                  TX         75051918424
32962213733669   VENECHIA      MATTHEWS                 NC         90013182137
32962359451369   AIDA          LOZANO                   OH         66071383594
32962634891883   MARIETTA J    COWANS                   OK         90007716348
32963324941258   PATRICIA      HELD                     PA         90007183249
32964931491563   RAMON LOPEZ   MUNOZ                    TX         90006529314
32965275836143   VANESSA       RODRIGUEZ                TX         73535782758
32965354754165   RICHARD J     CHURCH                   OR         47003263547
32965558531424   LEONDRIA      DOGAN                    MO         90014435585
32965634291356   SARAH         YOUNG                    KS         90011126342
32965693147931   JEBEEL        JABJULAN                 AR         90011116931
32968575272496   KIM           HORMELL                  PA         90007455752
32969759284368   CESAR         BARTOLON                 SC         90012917592
32971294384368   ESMERALDA     PRECIADO                 SC         90001722943
32971583831424   SHERELL       SWINK                    MO         90009855838
32972125484368   ANGEL         HERNANDEZ                SC         90007681254
32973336591356   WENDY         HERNANDEZ                KS         90005583365
32973845191531   DIBIA         VILLALOBOS               TX         90013208451
32975157954165   EMILY         SVENDSEN MCLEAN          OR         90012521579
32975372972496   JACQUELINE    OGOOD                    PA         90010573729
32975568841277   JOHN          LEE SR                   PA         51097475688
32976366955933   HECTOR        AVALOS                   CA         90010323669
32976674854165   MATTHEW       MICKEL                   OR         90011626748
32977531591356   MARIA         GONZALES                 KS         29053245315
32978256891356   GUADALUPE     NAVARRO                  KS         29067002568
32983393655972   KENNETH       HALL                     CA         90005253936
32984419991831   STAKE         LINWOOD                  OK         90013704199
32986775651339   TYLER         HILL                     OH         90009307756
32987369441277   EZZARD        JAMES                    PA         51071653694
32988611572496   BRAD          BUTTS                    PA         51063196115
32989996291831   TED           POOLE                    OK         90010129962
32992752691831   SHELLEY       ELDREDGE                 OK         21092587526
32993821791831   ROBERT        ALLEN                    OK         90013688217
32995244684368   ANA           ELEUTERIO                SC         90009492446
32996566491531   RACHEL        ZAVALA                   TX         90002785664
32997335691531   MICHELLE      SILVA                    TX         90015153356
32998495577544   ROCIO         VILLAGRANA               NV         43039884955
32998864191531   OSCAR         RAMIREZ                  TX         75070888641
32999358184368   PHIL          JONES                    SC         14594843581
32999591251331   NICOLE        MURPHY                   OH         66071425912
33111875491563   RUPERTO       VALERO                   TX         90011408754
33112161191563   GLORIA        DURAN                    TX         75045091611
33112467591831   AMANDA        GARCIA                   OK         90015204675
33112622184378   FATIMA        SALAS                    SC         90012976221
33112693641277   KATHY         BRANDON                  PA         90002906936
33113573254165   DANIEL        HART                     OR         90012585732
33114758155955   BRYAN         SCHAPPER                 NV         90013867581
33114837641258   ERIC          JOHNS                    PA         51084318376
33117577654165   KIKI          SIBERT                   OR         90007165776
33118574854165   RENEE         CROSS                    OR         90012615748
33119935941285   CHARLOTTE     BUTLER                   PA         51071899359
33121873257172   NADIA         MAYORGA                  VA         90008168732
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33122164584378   ROSALINO     FRANCO                    SC         90011101645
33122447791232   DAVARIUS     GORE                      GA         90001364477
33124174691371   MAURA        GARCIA                    KS         90013861746
33124796251321   LASHAWNA     RAILEY                    OH         90006207962
33124818751369   GIRI         SAPKOTA                   OH         66077088187
33124894691831   KELLI        MASCARIN                  OK         90001688946
33127737584378   JASON        GREEN                     SC         90015417375
33131998977544   JUAN         VAZQUEZ                   NV         43098109989
33132363991371   KENISHA      JOHNSON                   MO         90013743639
33134451641285   ERIK         GENSLER                   PA         90012344516
33134641855972   SARAH        HENDERSON                 CA         90014106418
33135784851594   CARLOS       NABOR                     IA         90013917848
33136244551339   SHANTE       HORNE                     OH         90013942445
33136536154165   KATHERYN     FOSTER                    OR         90010115361
33136562684378   JOSE         LUIS                      SC         90009125626
33136934541285   DARREN       KIEFER                    PA         90014229345
33137756441277   SHARON       MILTON                    PA         90002907564
33138543751339   ERIN         PERCIFULL                 OH         66000255437
33139776841285   ASHLIE       CURCIO                    PA         90014747768
33141266851369   VANESSA      ARNOLD                    OH         90011302668
33141595741285   MONICA       PALMER                    PA         51061515957
33142622555927   CARLOS       JIMENEZ                   CA         49070206225
33142685891831   KARLA        MENDEZ-VASQUEZ            OK         90007186858
33144257184378   RICHARD      BROWN                     SC         90011382571
33145698291371   JESUS        PACHECO                   KS         90012726982
33145984141277   ELMA         PORTERFIELD               PA         90010479841
33146169391371   ROBERTO      FUENTES RODRIGUEZ         KS         29014211693
33149495884378   LAWRENCE     BURRISON                  SC         90014794958
33152469491371   VANESSA      QUICK                     MO         90014374694
33155627151339   DESTINY      PUCKETT                   OH         90011236271
33155632955972   LONNIE       VOSSLER                   CA         90013206329
33157228991563   MARNI        ABOUD                     TX         75096122289
33157717677544   JEFFERY      GRAEHL                    NV         90011247176
33158884654165   RICHARD      HERRON                    OR         90013528846
33159685672455   AL           SMITH                     PA         51007616856
33161241336143   LYDIA        SALINAS                   TX         90010202413
33161469691831   LATOSHIA     TURNER                    OK         21004074696
33162198641258   PEG          TRESSLER                  PA         90004441986
33162291991831   CRUZ         HERNANDEZ                 OK         21011342919
33162717651339   JAMILY       BUSH                      OH         90014497176
33165412931471   MARY         SHELTON                   MO         27561874129
33172117751369   SIDNEY       LOVE                      OH         90013121177
33173226651369   MISTY        ROWE                      OH         90010712266
33174153591232   BETTY        BARKER                    GA         90006981535
33174393847873   BENJAMIN     GRAHAM                    GA         90011613938
33174759747931   VIOLA        GUYTON                    AR         90011107597
33174892855978   GABRIEL      HOOKS                     CA         90014248928
33174893641258   KATE         FISCHER                   PA         90008138936
33176829991371   BOOK         FROST                     KS         90008888299
33177427591831   LUIS         RODRIGUEZ                 OK         90010464275
33177441155947   ERICA        FLORES                    CA         90010374411
33178123551369   TALEAH       MITCHELL                  OH         90013121235
33178444131424   JAMES        BOTTORFF                  MO         90014264441
33178587691831   DAVID        CAMP                      OK         90013765876
33179115141258   DEBBIE       MITCHELL                  PA         51005841151
33181761641258   MISTY        SCHANZ                    PA         51094447616
33182123551369   TALEAH       MITCHELL                  OH         90013121235
33182386891563   LAURA        RUIZ                      TX         90007563868
33183388554165   DANIEL       FISHER                    OR         90013583885
33186184291831   JON          FOWLER                    OK         90014581842
33186994291893   CARL         ROBERTS                   OK         90003319942
33191589455972   MARIA        RIVAS DE REYNOSO          CA         48056515894
33192515555972   ANITA        CUELLAR                   CA         48049875155
33192987691563   DAVID        ALVAREZ                   TX         75019199876
33194233881642   THOMAS       SORRENTINO                MO         90002882338
33194868655972   CINDY        HERNANDEZ                 CA         90015598686
33194921141285   CRAIG        GATES                     PA         51089809211
33195382651339   ARICA        ZEHE                      OH         66050523826
33195528991549   FRANK        KORIBANIC                 TX         90014935289
33196141184378   LUIS         MORENO                    SC         90014371411
33196933391371   IEISHA       SHELTON                   KS         29082729333
33198438341285   THOMAS       RAMOND                    PA         51018514383
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33211845651339   KRISTINA       BOOHER                  OH         90011258456
33213213751369   RUDY           MAREE                   OH         90013122137
33213433491563   REBECCA        LEONARD                 TX         75003934334
33213691891371   RUDY           PADILLA                 KS         29026356918
33215665851339   ERICA          GROSS                   OH         90014156658
33218611791563   IVONNE         ACOSTA                  TX         90006316117
33218655636163   ADRIANNA       LOPEZ                   TX         90013976556
33219376984378   RUDWIN         CARCAMO                 SC         90002023769
33221461861931   LILIA          RENDON                  CA         46003104618
33222332847931   JOSE           MORENO                  AR         25061803328
33223425255972   REINA          MARTINEZ                CA         48096294252
33223471341285   ASHLEY         MORRIS                  PA         90007364713
33224147791563   MICHAEL        PICKETT                 CO         75001031477
33225416741285   MARLO          BRYANT                  PA         51081314167
33227136554151   ROXANNE        PEW                     OR         90011791365
33227325541258   JASMINE        BAILEY                  PA         90011313255
33228426151339   SONJA          LAKES                   OH         90014794261
33229448291831   PATTON         LISA                    OK         90012684482
33229616391563   ISIDRO         TAPIA                   TX         90012116163
33233213191831   ARIEL          WILLAMS                 OK         90010622131
33234567291563   MELISSA        DUNN                    TX         90014075672
33236368151369   FREDERICK      WILLIAMS                OH         90014303681
33238742491563   LUIS           RIVERA                  TX         90015097424
33238938441258   TY             LEE                     PA         90013949384
33239424631424   SHAWL          BRIGGS                  MO         27511484246
33239755251339   SHAWN          LATTIMORE               OH         90011277552
33239771231424   SHAWL          BRIGGS                  MO         90014227712
33241248651339   KENDRA         VENTERS                 OH         90007702486
33241286951369   WILLIAM        NIXON                   OH         90013122869
33241314451369   JOY PAYTON     ROE                     OH         90014193144
33241325747931   REGINA         EDWARD                  AR         90014813257
33242739691563   RICARDO        SERRANO                 TX         90013457396
33243245391371   LETIZIA        WASHINGTON              KS         90013752453
33244934791371   ROBERT         SAALE                   KS         90011679347
33245268691371   IDELISA        SOLIS                   KS         90009562686
33246286951369   WILLIAM        NIXON                   OH         90013122869
33246711191584   ARCY           VELASCO                 TX         90007197111
33247755454165   BRYAN          CRUZ AGUILAR            OR         90006977554
33248112491563   KRYSTAL        GADDIS                  TX         90012241124
33248858991831   CHRISTINE      PASTRANA                OK         90014888589
33249274736143   JUAN           RAMIREZ                 TX         90011032747
33249731291563   VERONICA G     RAMIREZ                 TX         90005437312
33251688484378   HERBERT        PARKER                  SC         90013666884
33251791125234   ERNESTO        POLANCO                 NC         90012057911
33251874451369   TALIA          LEWIS                   OH         90014068744
33251894991371   LADONNE        ARREOLA                 MO         90005138949
33252234241258   RONALD         SIMMONS                 PA         90001402342
33253345577544   ALBA ROSA      SANCHEZ                 NV         43079593455
33254111231424   NICOLE         MERKSON                 MO         27514731112
33256139555972   BEVERLY        SWEREDOSKI              CA         90014851395
33258267941258   VALERIE        EBERHARDT               PA         51079502679
33258378255972   SYREETA        CLARK                   CA         48006843782
33258457491893   ANDREA         DENNIS                  OK         90001924574
33263557441285   MATTHEW        PETERS                  PA         90012165574
33265463351339   CHRIS          FRAZIER                 OH         90008194633
33266139691538   HERMINA        SOTODERIOS              TX         90003421396
33266212654165   FRANK          GORMAN                  OR         90006592126
33266668441277   KULBAHADUR     POUDEL                  PA         90009656684
33267294991831   MEONKA         IRONS                   OK         90014702949
33269327951369   ALEX           KASSOW                  OH         90014713279
33271875251369   CALVIN         ACERS                   OH         90003478752
33272822841297   TIMOTHY        ASHCRAFT                PA         90015088228
33274742431424   LETISHA        BENSON                  MO         27561977424
33275242693767   STEVEN         SALMONS                 OH         90011362426
33275629955972   JOSE           RAFEAL                  CA         90012736299
33276812547931   MIRIAM         CASTRO MARTINEZ         AR         90013678125
33277275747931   JOSE ALFREDO   GALVAN                  AR         90014892757
33277537491371   TRINITY        VASOS                   KS         90015105374
33277834391831   JOSEPH         HALL                    OK         90013848343
33283162436143   LIZETTE        CARRANZA                TX         73579871624
33284848454154   ARACELI        RODRIGUEZ               OR         90013328484
33286879291371   TONY           DIFOLCO                 KS         90014158792
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33287527484378   SOPHIA        MARTIN                   SC         90000765274
33288629155951   FRANCISCO     LUNA                     CA         90007306291
33292333784378   LOCKSLEY      BENNETT                  SC         90007603337
33294114454165   MICHAEL       WADLOW                   OR         90012911144
33294373591563   CARMEN        MARQUEZ                  TX         75037943735
33295139591563   ESTRA         CLAUDIA                  TX         90003791395
33298245861972   STFKA         DELI IVANOVA             CA         90009022458
33312136554151   ROXANNE       PEW                      OR         90011791365
33312932447931   JOHEL         PEREZ                    AR         25002389324
33313818755972   LIZ           GUTIERREZ                CA         90014458187
33314593477544   ROBERT        FROST                    NV         90008365934
33316578651369   LUTHERA       LEE                      OH         90002525786
33316785491831   APRIL         GRUNDEI                  OK         90000447854
33317433451369   STEPHANIE     HILL                     OH         66039364334
33317565651339   JOSEPH        MIRACLE                  OH         90005345656
33318911991831   RICHARD       KELLEY                   OK         90009509119
33321577955972   DANIEL        SANCHEZ                  CA         90009705779
33322614691831   IVET          LUEVANO GARCIA           OK         90009696146
33323265991893   CHRISTI       BUSH                     OK         90011582659
33324775647931   TIFFANY       MARTZ                    AR         25080527756
33325536136143   JUANA         SANTILLAN                TX         90011965361
33326967755927   BULMARO       ZANABRIA                 CA         90002189677
33326993836143   JUANITA       ORTIZ                    TX         73583039938
33327318184378   PATRICIA      SMITH                    SC         14502973181
33329511936143   SONYA         BAILEY                   TX         90006435119
33332193141277   EDWARD        JOHNSON                  PA         51089771931
33332253391371   SAMANTHA      HICKMAN                  KS         90001562533
33334597447931   CORY          TROY                     AR         90010195974
33334695486436   MARY          HARLOW                   SC         90015076954
33335649451339   DEANNA        SMITH                    OH         90014576494
33335952341285   BHARAT        KUMAR                    PA         90015309523
33337513551369   JAMES         BARNETT                  OH         90015215135
33339494191587   ANTHONY       HARVEY                   TX         90011254941
33341123336143   CHRISSY       ALVAREZ                  TX         90010451233
33343911477544   JUANA         ORNELAS                  NV         90003419114
33344523151339   DAVID         SMYTH                    OH         66039525231
33344694347931   DIANN         ROBINSON                 AR         25041406943
33345435541285   MARIE         YEAGER                   PA         90010534355
33345672654165   SEAN          DOWNING                  OR         90011706726
33346682341277   MARCI         BARIE                    PA         51016126823
33347856951339   BRIAN         TAULDEE                  OH         90011578569
33348385991893   WILLIAM       WOODS                    OK         21068543859
33348794736143   TOO           TRILL                    TX         90011477947
33352558293721   MICHAEL       PENNINGTON               OH         90002535582
33353519541285   ROBERT        JONES                    PA         51084345195
33353521291371   SERGIO        NAVARRO                  MO         90013075212
33354695151369   MELISSA       COMBS                    OH         66039356951
33354788251339   TIFFANY       INGRAM                   OH         90005387882
33355738241285   LATOYA        WILLIAMS                 PA         51051947382
33356479491831   CHRISTOPHER   WILLIAMS                 OK         90014564794
33357629591232   BARBARA       DANZI-SMITH              GA         14579106295
33358459591371   SHAKITA       ROBINSON                 KS         90013654595
33361719747931   SASA          CVJETKOVIC               AR         90010777197
33361731391831   MIGUEL        FLORES                   OK         90004927313
33361788155972   ROBERTO       DENIZ                    CA         48004137881
33362187741285   KELLY         MCDONALD                 PA         51058701877
33364385455972   JUAN          RAMOS                    CA         48092493854
33364939293746   HOLLIE        GIBSON                   OH         90008639392
33365288541285   JAMES         KOPP                     PA         51017552885
33367243291831   RAIMONDI      JOHN                     OK         21048892432
33367468147931   MEGAN         BYRD                     AR         90012864681
33367852347931   KACHIA        PHILLIPS                 AR         90014508523
33368692191893   LARRY         HAMILTON                 OK         90007976921
33371244236143   CRYSTAL       GARZA                    TX         90011062442
33372927841285   ANTHONY       FRAUENHOLTZ              PA         51073079278
33373684691831   LISA          RENTIE                   OK         90009646846
33374719747931   SASA          CVJETKOVIC               AR         90010777197
33375334241258   RAHUL         WILLIAM                  PA         90013473342
33376313591831   KIMBERLEE     TURNER                   OK         90009523135
33377131191371   DANIELLE      ADAMS                    KS         90007271311
33377131555972   RENO          CANTU                    CA         90011191315
33379721341285   JAWANNA       MILLER                   PA         90013637213
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33381661191538   MARIA        BOOTH                     TX         75025416611
33382683391563   JOSE         REYE                      TX         75059266833
33385723855955   YOLANDA      CAVASOS                   CA         90004147238
33385891354165   DANIEL       STRAWSER                  OR         90013158913
33386383691821   DOUGLES      JONES                     OK         90002533836
33387142455972   VICTORIA     PALACIO                   CA         90013971424
33387761251339   ASHLEY       TOMLINSON                 OH         90011597612
33388993891371   STEPHANIE    HALE                      KS         90014159938
33389282191371   ROSA         OSEGUERA                  KS         90013752821
33389481257126   ANA          MELGAR                    DC         90001084812
33389694291563   ROCIO        ARANA                     TX         90013766942
33392195754165   SAM          EARLE                     OR         90014531957
33393489941258   MARY         HARPSTER                  PA         51088444899
33395549991371   ERICA        CARRILLO                  KS         29078515499
33395976484378   ROMINA       MARTINEZ                  SC         90012419764
33397134991232   JAMES        WILLIAMS                  GA         90012881349
33398174247931   PEDRO        GARCIA                    AR         25085511742
33399574841285   ERIC         SHARPLES                  PA         90015535748
33399731155947   ALONSO       MERCADO                   CA         90008777311
33411512551339   MANUEL       BERROA                    OH         90012655125
33412731541285   KEVIN        ERNST                     PA         90013787315
33413879741258   OSVALDO      CARATTINI                 PA         90006898797
33415539151339   CAROL        MICHAEL                   OH         90011615391
33417356991563   IRASEMA      MADIAS                    TX         75078593569
33417569291584   MANUEL       CORDOVA                   TX         90006315692
33417779341258   DEBBI        CATON                     PA         90013457793
33418711784378   MERCED       GOMEZ                     SC         90012697117
33418986191584   JESSIE       ARAUJO                    TX         90007209861
33419536491544   ARLENE       MARISCAL                  TX         75089725364
33421736521578   JOSEPHINE    SCERE                     UT         90000967365
33421993691525   RUTH         GARCIA                    TX         90006809936
33424365351369   RAKESHA      THOMAS                    OH         90010863653
33425145941285   LAURA        HOCKENBERRY               PA         90013601459
33426531436143   PAUL         RESENDEZ                  TX         90011955314
33431867241258   STEVEN       SCOTTI                    PA         51009278672
33432521591831   DAVID        JOHNSON                   OK         21002725215
33432928391371   YAMILKA      PAREDES                   KS         90013799283
33434663191563   CARMEN       GONZALEZ                  TX         75089256631
33439328436143   ARIEL        ALLEN                     TX         90002813284
33439399755972   DARRELL      OVERSTREET                CA         90015173997
33439755641258   RAYNELLE     HURT                      PA         90014417556
33441846761921   JOE          BUSELT                    CA         90012248467
33442932281621   BEVERLY      DEWITTE                   MO         29027739322
33445984991821   JACK         ANDERSON                  OK         90015089849
33446284551339   LAURA        GRAY                      OH         90011632845
33446418291831   AUSTIN       CAIN                      OK         90015304182
33446787451594   KYIRON       BROWN                     IA         90013917874
33447729785655   HERNANDEZ    RUPERTO                   NJ         90008767297
33447792284378   CARL         TOENNESSEN                SC         90014707922
33448624991831   VANESSA      WESLEY                    OK         90003896249
33448656641277   DANIELLE     DINNING                   PA         51007586566
33449577791584   PAULA        POWELL                    TX         90003355777
33449867191831   CHRISTINA    PADDOCK                   OK         21077088671
33452377354165   STAS         WALLACE                   OR         90012053773
33453344991563   JOSE         MACIAS                    TX         75071573449
33453668193753   SYM          CORWIN                    OH         90006706681
33453699654165   JULIO        VELASQUEZ                 OR         90013846996
33454377941277   RALPH        BROWN                     PA         90014863779
33455431954165   JULIE        BUTCHER                   OR         47085934319
33456196572499   CHRISTINA    HELMICK                   PA         90010351965
33456486191563   LETICIA      CASTILLO                  TX         75004664861
33456994655972   LUPE         ARREDONDO                 CA         90007589946
33459393141277   WESLEY       MOYLE                     PA         51045833931
33461117591587   HELEN        AGOSTA                    TX         90005061175
33461282781678   ALLYNN       LEE                       MO         90005722827
33461443391893   ISREAL       OROZCO                    OK         90000124433
33461572161557   PAMELA       HAMILTON                  TN         90014305721
33462849351369   DOMONIQUE    JAMISON                   OH         90013408493
33467728947931   KARLA        MEJIA                     AR         90001727289
33468544191831   FLORA        CARLO                     OK         90003665441
33471795991563   DEBBIE       SOSA                      TX         75014697959
33473425536143   KIMBERLY     GARLEY                    TX         90006514255
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33473441391563   GUADALUPE     CARREON                  TX         75060004413
33474577941277   ROBERT        GALLOCHER                PA         90005315779
33474611184378   MARGARITA     BERDUO                   SC         90013876111
33476445691563   MELANIE       HERNANDEZ                TX         90010714456
33476531291371   BOO           REH                      KS         90014705312
33477883141258   HYSHEIA       SCOTT                    PA         51009878831
33478922347931   BRIANNA       MILLER                   AR         90010159223
33479596554165   JOSHUA        JOHNSON                  OR         90013195965
33481178291371   ERVING        ROMAN                    MO         90003101782
33482221851339   DOUG          HAMISCH                  OH         90011632218
33482297991371   ARGELIA       DE LA MORA               KS         90002142979
33484134255972   AMERICA       DELGADO                  CA         90014931342
33484643641258   DONALD        HARRIS                   PA         90008926436
33485516636143   PATRICIA      RAMOS                    TX         90011075166
33486285191831   GAIL          NELSON                   OK         90013462851
33486986291538   VERNICA       DAVILA                   TX         90010509862
33489597391525   CHRISTIAN     REYES                    TX         75098795973
33489699455972   BRENDA        FLORES                   CA         48040096994
33492553454165   AMIE          BRALEY                   OR         90012885534
33492748791584   SERGIO        BELMONTE                 TX         75074997487
33493248131424   MARIA         GONZALES                 MO         27504192481
33496622184378   FATIMA        SALAS                    SC         90012976221
33499616151339   SHAWN         GOMIA                    OH         90014666161
33499631791831   VICTOR        RADUALES                 OK         90009696317
33512249891371   STEPHANIE     STEVENSON                KS         90008362498
33512627184378   MARY          BLIGE                    SC         90010066271
33513457961986   GRACIEL       SALMERON                 CA         46005034579
33513595791563   MARCELA       VAZQUEZ                  TX         90009375957
33514578784374   MORQUITA      JENKINS                  SC         90002285787
33516657191563   JOSIE         MCCLEARY                 TX         75089246571
33517649291584   ALEJANDRA     TREJO                    TX         90010026492
33518898451339   AMIEE         TAYLOR                   OH         90014678984
33519139691831   LAURA         WATSON                   OK         90014361396
33519696851369   ASHLEY        VILLAR FELIX             OH         90014876968
33521263491831   MICHAEL       OVERACK                  OK         90012952634
33521538451339   KENDRA        BLANTON                  OH         90011235384
33523278851339   SHEILA        LINDSEY                  OH         90011722788
33523412554165   MERCEDES      FAHLMAN                  OR         90014654125
33524271391963   RICKY         HUNT                     NC         90009492713
33524428436143   ANASTACIA     CAVASOS                  TX         90005214284
33524666141285   MARK          ANDERSON                 PA         90015316661
33524751891831   JEREMY        GILBERT                  OK         90001457518
33525139491371   BRITANI       GONZALES                 KS         90005611394
33525581884378   ERNESTO       ALARCON                  SC         90014795818
33525944954165   JANEL         JOHNSON                  OR         90007139449
33526594291893   DANIELLE      MARSHALL                 OK         21036925942
33526743881621   NAJEME        NYOKI                    MO         29025627438
33528815161925   JAVIER        BELTRAN                  CA         90010548151
33532182254165   ROBIN         ANN CALLAWAY             OR         90010271822
33534312851339   TERESA        MURRAY                   OH         90006223128
33534422841258   LISA          SCHRADER                 PA         90008144228
33534956441285   DAMIAN        CUROTOLA                 PA         90004679564
33535229751339   NICHOLAS      MILLER                   OH         90014502297
33536378741285   REBECCA       CRAIG                    PA         90005193787
33536668391232   JAIME         SAGUILA                  GA         90005636683
33538631933642   JUSTINA       WILLIAMS                 NC         90012936319
33539881554165   WAKARA        MILLER                   OR         47003138815
33542328241277   JAIME         COSTELNIK                PA         90006873282
33544514341277   SHANGO        WALTERS                  PA         90011235143
33544866941277   WALTERS       SHANGO                   PA         90006458669
33545562831424   CHRISTOPHER   ELLISON                  MO         90001855628
33546937884378   JOAQUIN       MORENO                   SC         90009649378
33547182131424   TREMIEKO      DRAKE                    MO         27561891821
33547242984368   MAGDALENA     DELLE VALLE              SC         90002122429
33547754255972   JAIME         MENDEZ                   CA         48032477542
33548263391831   REGGIE        CHERRY                   OK         90013092633
33549479177367   FERMIN        ESPARZA                  IL         90015444791
33554819454165   JAROM         SMITH                    OR         90012708194
33557812441277   HEATHER       GOGARTY                  PA         51043278124
33557942441258   THOMAS W.     OWENS                    PA         90012499424
33558583577545   THOMAS        PARTON                   NV         90006075835
33559825451339   HEATHER       SIMMONS                  OH         66097288254
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33561988461921   RUTH A        SILVA                    CA         90013129884
33562943391831   MELVIN        MARTIN JR                OK         21079119433
33566575491893   JENNY         BARNETT                  OK         90001365754
33567295284378   JERRY         BACKER                   SC         90013132952
33567786991563   DIANA         HOFFMANN                 TX         90002767869
33571825777367   GEORGE        ELAM                     IL         20515358257
33574371661925   BARBARA       GASKIN                   CA         90001713716
33574768371937   ZHAKARY       LASTER                   CO         90013807683
33577157184378   BRIAN         ROBINSON                 SC         14586211571
33577384341285   SHAILA        ASHBY                    PA         90013223843
33577558355972   REBECCA       WINTERS                  CA         48070195583
33578416561937   DENISE        HOOD                     CA         90013834165
33578825531472   BEVERLY       DUNLAP                   MO         90008808255
33581628691563   ALEJANDRA     CHAVEZ                   TX         90011026286
33584753451339   ASHLEY        ROBERTS                  OH         90014727534
33586322731683   DEBRA         BLAINE                   KS         90003343227
33591573455972   BRENDA        SIMMONS                  CA         90011615734
33594934751339   DEDRA         MEADOWS                  OH         90010209347
33595257754165   MELISSA       MUSGRAVE                 OR         90005582577
33596628591963   DENNIS        AMEKA                    NC         90010846285
33598891941258   ILA           CASH                     PA         51053978919
33613238151325   TERAZZIA      RONE                     OH         66098812381
33615796341258   CRAIG         ADAM                     PA         90011657963
33616112951339   CHELSEA       JONES                    OH         90013331129
33616693284378   MICHELLE      TOOMER                   SC         90013776932
33617634651339   SAMANTHA      POWELL                   OH         90014796346
33618153141285   JAMIKA        JOHNSON                  PA         90010471531
33619515841277   JUSTIN        SMITH                    PA         90003805158
33621364541258   MARK          MICKMAN                  PA         90013963645
33621627455972   BRITTANY      VASQUEZ                  CA         90005936274
33622515591371   HANNAH        FRANKLIN                 KS         90013655155
33624691251369   APRIL         GOOLSBY                  OH         90013206912
33625114341258   RON           POLK                     PA         90008171143
33626351184378   DAWN          CALLAHAN                 SC         90009723511
33628131231424   ERIC          BERTUBIN                 MO         90006331312
33628195391563   JESSICA       GARCIA                   TX         90012791953
33628622791563   JESSICA       GARCIA                   TX         90014776227
33629777184378   HOLLY AMBER   LANIER07181991           SC         90006257771
33629943341285   DUWAYNE       WALKER                   PA         90013119433
33631147347931   LEONARDO      VILLALOBOS               AR         25021381473
33631372291563   IRVIN         CELIS                    TX         90012853722
33631434241285   JAYMIE        NELLIS                   PA         90013664342
33635692391538   JOSE LUIS     BAILON                   TX         90001586923
33637631391563   THOMAS        DOOLAN                   TX         90011106313
33638877436143   SYLVIA        LUNA                     TX         90002598774
33643235851339   ADAM          TAYLOR                   OH         90011782358
33643583355972   JOSE          ALATORRE                 CA         90015045833
33644523341258   PENNY         WILSON                   PA         51068475233
33646484855972   DARCY         PRINE                    CA         90012834848
33646796291371   SALVADOR      LIMON                    KS         90015167962
33646824436143   MARK          COPE                     TX         73505038244
33647726355972   ALMA          JOHNSON                  CA         90013627263
33648199661945   JOSE          GONZALES                 CO         90015071996
33648232455972   ALBERT        PEREZ                    CA         48048912324
33648771347931   TROY          HOSTLER                  AR         90013817713
33654993891371   STEPHANIE     HALE                     KS         90014159938
33655921851339   JUAN          DELGADO                  OH         90014869218
33657299951369   MELKEMU       LEMBESO                  OH         90013062999
33657865591584   RUBEN         RAMOS                    TX         90007268655
33658449391563   JOSE          SAUCEDO                  TX         90006044493
33661911251369   PATRICIA      SMITH                    KY         66030149112
33662954355972   JENNIFER      YOUNG                    CA         90005899543
33665379754165   SANDRA        PRENTISS                 OR         90014743797
33665383651369   LATRINA       DAVIS                    OH         90005223836
33665438933625   CORTTEA       JACKSON                  NC         90011654389
33666835291563   MARIA         MARES                    TX         90013128352
33668348951339   LINDA         HUFF                     OH         66056543489
33669381391563   GUADALUPE     HURTADO                  TX         90008433813
33671786751339   KATELLA       WILLIAMS                 OH         90014877867
33674439584378   ISRAEL        SEGUNDO                  SC         90008034395
33676713191232   SAMATHA       SHEPHERD                 GA         90007707131
33677832691371   IRMA          CARAVEO                  KS         90014228326
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33678425891563   IRMA                HURTADO            TX         75036944258
33678569391831   TAMMIE              DAVIS              OK         90008725693
33678845651369   FRANCISCO           FLORES             OH         66069138456
33679921851339   JUAN                DELGADO            OH         90014869218
33681665251369   RAFAEL              CHAVEZ             OH         90002256652
33683574191371   ALEJANDRO           GARCIA             KS         90013395741
33683954651339   BRADLEY             MULLINS            OH         90014879546
33684442661559   MYESHA              HATHAWAY           TN         90013734426
33686167336143   VERLIE              MCCONAHIE          TX         90003381673
33686422341258   JENNIFER            HOGAN              PA         51077704223
33688628655972   MARIA               PASION             CA         90010926286
33692912131464   EDDIE MAE           BROWN              MO         90004299121
33693623555972   RYAN                ISKENDERIAN        CA         90013226235
33694784191371   HECTOR              GALLEGOS           KS         90013387841
33695662391831   IRMA                PERALES            OK         21093316623
33695851741285   CYNTHIA             PORTER             PA         51014638517
33697917691563   JESSICA             BALDERAS           TX         75010719176
33698669951339   LORI                SHEALEY            OH         90006926699
33698792755972   ANASTACIA           NARVAEZ            CA         90013327927
33699484855972   DARCY               PRINE              CA         90012834848
33699883254165   LANDON              CHAPPELL           OR         90000158832
33711528991365   LOU                 RIVAS              KS         90013975289
33711764454165   NILESHNI            NARAYAN            OR         90014377644
33713462954165   JESSICA             OREILLY            OR         90010024629
33713573951339   JOSEPH              THIEL              OH         66020355739
33713683841258   ALESIA              HILL               PA         90014146838
33713772247931   CHRYL               HARDIN             AR         25054517722
33714414684378   MARIO               AVILA              SC         90004454146
33715675691563   MARIA               GAONA              TX         75016386756
33715781551369   FRANCISCO           RAMOS              OH         66072177815
33716158541258   JAMES               BROWN              PA         90013951585
33716255236143   YVONNE              ROJAS              TX         90006992552
33719922151369   EARNEST             GREGORY            OH         66001769221
33719924454165   TOMAS               HERNANDEZ          OR         47005019244
33724666236143   ROBERT              ELLIOTT            TX         90011116662
33729124641258   SHAWNA              MOOREFIELD         PA         51090381246
33729677454165   DAVENA              NEWELL             OR         90013696774
33732496691563   EMILY               MARQUEZ            NM         75015904966
33734326931468   JASMICIA            TOMPKINS           MO         90001503269
33737176791371   OSCAR               HERNANDEZ          MO         90015211767
33738318591371   FRANK               KRAFT              KS         90014993185
33741555931424   JESSICA             SCHNEIDER          MO         90013465559
33742487147931   MARITZA             FINO               AR         90003634871
33742836991371   HENRY               VELASQUEZ          KS         90012518369
33744918955972   CANDICE             SHROYER            CA         90013189189
33747531285965   KIMBERLY            WOLFE              KY         66071725312
33748559654165   MICHAEL             WEST               OR         47005115596
33748838941258   VERA                MAREK              PA         90013208389
33751124155972   LUPE                MARTINEZ           CA         90014971241
33751713291371   NESTOR              SALAZAR            KS         90013447132
33753747454165   SHANNON             LINGERFELT         OR         47089837474
33755456891371   JESSIE AND ROBERT   MORRISON           MO         90014714568
33755945551594   MIHRTI              KOSHI              IA         90013569455
33762322151369   ELIZABETH           KELLER             OH         90007813221
33763223755972   DELBERT             MILLER             CA         90012582237
33763583491584   MORA                GUADALUPE          TX         90008725834
33764564371931   MELISSA             JEWELL             CO         90006325643
33765678154165   APRIL               SMITH              OR         90012656781
33766471391831   CLAUDIA             AVALOS             OK         90011854713
33766716891587   PEST CONTROL        EXTREME            TX         90007727168
33767517354165   SUSAN               GOODWIN            OR         90006695173
33768265291831   VERONICA            LOEZA              OK         90001162652
33772151254165   ANDREW              FORBESS            OR         90011891512
33772263151339   MICHAEL             BURKE              OH         90004242631
33774532654165   MARIA ELENA         RODRIGUEZ PEREZ    OR         90005195326
33774934655972   MARIA               MENDOZA            CA         90004839346
33775241677367   JAMEL               DREW                IL        90014132416
33782678254165   SCOTT               SCHARN             OR         90002966782
33784388161925   ANGUS               PORTER             CA         46039043881
33785199491371   LUIS                ANTONIO            KS         90015101994
33786431155972   MICHAEL             MAY                CA         48027164311
33786685141225   SHATERA             LINNEN             PA         90010666851
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33786738791371   ADRIANA      CHAVEZ                    KS         29089287387
33787294351369   CARLITO      RODRIGUEZ                 OH         90014992943
33787947791371   DIGNA        GAMEZ                     KS         90010689477
33788278751339   KENNETH      BLANKENSHIP               OH         66029102787
33792954991563   PATRICIA     TORRES                    TX         75016969549
33794454251369   LINDSAY      MOSES                     OH         90010784542
33794962591563   ARTURO       MEDRANO                   TX         90010849625
33795365655972   AMELIA       CALDERON                  CA         90000123656
33796977554165   DEBRA        ASHDAUGH                  OR         47062559775
33798462884378   NATASHA      JOHNSON                   SC         14518074628
33798887154165   VERNON       RICE                      OR         47078118871
33799433654154   J            DAWSON                    OR         47090524336
33812433854165   JULIE        MORRIS                    OR         90013494338
33812963191563   RICARDO      MARTINEZ                  TX         75066419631
33813355541285   TIMOTHY      HILF                      PA         90014563555
33814276891563   ANDY         GOMEZ                     TX         90013792768
33814423591831   LIVIA        KISS                      OK         90000484235
33815825847931   JESUS        ROJO                      AR         25085608258
33817892955972   ALFREDO      MAYORGA                   CA         90014898929
33818579336143   SUSANA       GARCIA                    TX         90010685793
33818795854165   CAROLINA     ARAYA                     OR         90008077958
33818824141258   MIA          MCDANIELS                 PA         90005908241
33822283151369   VICTOR       ARELLANO                  OH         66056562831
33822763151369   VICTOR       ARELLANO                  OH         90014847631
33823338991584   ROBYN        SUZANNE                   TX         90007283389
33823517891831   CESAR        SALAZAR                   OK         21001825178
33823576777367   JORGE        AGUILAR                   IN         90015465767
33823845147931   CHRYSTAL     PEREZHERRE                AR         90014898451
33824228751321   SHANIECIA    GODWIN                    OH         90012532287
33824596741285   NICHOLE      PIERCE                    PA         90012505967
33825632255972   LUCIA        SANCHEZ                   CA         90013926322
33826525847931   BEATRIZ      GALVAN                    AR         25083085258
33827676436143   VERONICA     JONES                     TX         73597766764
33827826491831   HEATHER      WINTERS                   OK         90011438264
33828758691563   JORGE        MARTINEZ                  TX         90003367586
33829796691584   ANGELICA     MARQUEZ                   TX         90013987966
33831383647931   MARIA        ANDERSON                  AR         25070353836
33831459131472   STANLEY      WALLACE                   MO         90003734591
33833149341285   JAMES        NEWMAN                    PA         51056401493
33836624191831   GERARDO      GALVAN                    OK         90011026241
33842196591563   YOLANDA      ESTRADA                   NM         90013731965
33845758191831   JUENGER      MIRANDA                   OK         90008727581
33851965191563   IRMA         CHAVEZ                    TX         90008179651
33853278541277   VINCENT      BONIDIE                   PA         51012672785
33854143791584   ROSA MARIA   ALVAREZ                   TX         90010171437
33855315741258   LADARREL     TOM                       PA         90013953157
33856826554165   MORGAN       ELLIOTT                   OR         90008728265
33857154651369   ALEXANDER    COOPER                    OH         90009871546
33859327551369   BECKY        WILLIAMS                  OH         66003403275
33859698663629   MARY         PEPPERS                   MO         90006606986
33861542591831   JOSE         GUARDERAS                 OK         21063995425
33862174641285   ABBIE        HARVEY                    PA         90013891746
33863281441258   LINDA        CLARK                     PA         51076852814
33863771654165   EVARISTO     RUIZ                      OR         47059777716
33864396836143   REBECCA      REYES                     TX         73507383968
33866185454165   KRISTINA     JOHANSEN                  OR         90012921854
33866559841258   CARLOS       SANCHEZ                   PA         51071945598
33867348241258   NICOLE       PORTERFIELD               PA         90013953482
33868848284378   PAYGO        IVR ACTIVATION            SC         90010508482
33869727191831   SANDRA       HARBERT                   OK         21023187271
33869949941285   DENISE       TALMADGE                  PA         51041419499
33872367291563   CYNTHIA      ROBLES                    TX         90011863672
33872914441258   HAROLD       BREINING                  PA         90013209144
33873526191371   PHANMAHA     CHANTHAVONG               KS         90011305261
33875165254165   ORLANDO      CENTENO                   OR         90000161652
33875231791563   LETICIA      CHAVEZ                    TX         75014502317
33875599791893   TE'RIKA      NEAL                      OK         21017495997
33876975191232   PATRICIA     JOHNSON                   GA         90002199751
33878515291563   AMANDA       OLIVAREZ                  TX         90014075152
33879257151339   LISA         MOLLIS                    OH         90006342571
33879611591831   DUSTAN       MOSS                      OK         21092756115
33879699436143   SHONDA       SITTINGDOWN               TX         73527436994
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33881667591563   BRANDY       ROBINSON                  TX         90013686675
33883776841277   RICH         BUSZINSKI                 PA         51005107768
33883853184378   ERIKA        NAVA                      SC         90008668531
33884236741258   ASHLEY       HOWELL                    PA         90012242367
33885343455972   JENNIFER     RAYO                      CA         90014783434
33885741555972   JENNIFER     RAYO                      CA         90011167415
33886636591831   JOY          STEVENSON                 OK         21047096365
33889117273221   SANTOS       GARCIA                    NJ         90014451172
33891375141285   BRIANNA      RANDALL                   PA         90015373751
33891456541285   REENE        SNIPE                     PA         90014154565
33891567291563   IRENE        RIVERA                    TX         75008035672
33891829551369   ADRIEANNA    DAVIS                     OH         90011838295
33892939255972   MARIA        LOMAS                     CA         90015579392
33894189141285   GEORGE       BRICE                     PA         90012651891
33894836391893   ANIELKA      MENDOZA                   OK         90006608363
33895467455972   BELINDA      RODRIGUEZ                 CA         90011314674
33895989354165   ISAIAH       RUSSELL                   OR         90012279893
33896418491831   MAURINE      DEVONSHIRE                OK         21090464184
33896662447931   SCOTTY       CASSIDAY                  AR         90002286624
33897738155931   TANYA        BORJAS                    CA         90009607381
33898336455972   PAUL         FLORES                    CA         48064913364
33911819791893   LANA         MACK                      OK         21060298197
33912569141258   JAYKUMAR     PANDYA                    PA         90010485691
33914245691371   CHENCHO      ROMERO                    KS         90014122456
33916351822432   BRANDON      ISCHAR                    IL         90009723518
33918571831424   SHAIKH       ZAHIR ABBAS               MO         90005665718
33918851541277   MELISSA      LANE                      PA         90004168515
33919771654165   EVARISTO     RUIZ                      OR         47059777716
33921759355972   JUNE         CARINO                    CA         90012867593
33921793791563   FRANCISCO    CASTILLO MEDINA           TX         90004867937
33922363891831   SHANELLE     AGUNU                     OK         90014153638
33923665691563   BELINDA      FLORES                    TX         90008166656
33927727251369   CHRISTINA    CASTILLO                  OH         90012447272
33929877741258   RHIANNON     MARTIN                    PA         90006898777
33933151191893   STACY        COZART                    OK         21069571511
33935294547931   EDGAR        AMODOR                    AR         90014942945
33935726536143   ALONDRA      MARQUEZ                   TX         90000767265
33936918541285   ISRAEL       PEREZ                     PA         90015369185
33937414247931   JEN          DUNN                      AR         90012304142
33937669854165   HEATHER      ELLIOTT                   OR         90012586698
33938476784378   MATTHEW      ROUNTREE                  SC         90013354767
33938964341258   CALVIN       PETTY                     PA         90010729643
33939114241277   YOLONDA      GREENE                    PA         90010851142
33942737191371   MAGALI       CARDOZA-MIJARES           KS         90013867371
33944384991831   TIFFANY      PATRICK                   OK         90011123849
33945654691584   YACKELIN     TREVIZO                   TX         90007296546
33947378255972   SYREETA      CLARK                     CA         48006843782
33948383793761   RASHAAN      JONES                     OH         90011663837
33952619191831   MANUEL       ORTA                      OK         90011926191
33952771654165   EVARISTO     RUIZ                      OR         47059777716
33958267254165   JENNIFER     FICKE                     OR         90012382672
33959429191371   SALLY        BIALEK                    KS         90014694291
33959698291584   RACHEL       ELLIOTT                   TX         90002016982
33961883532573   MUGARURO     BOSCO                     TX         90015048835
33962683291584   RAFAEL       MARTINEZ                  TX         90007296832
33965569141258   JAYKUMAR     PANDYA                    PA         90010485691
33966674355972   ADELIEDA     ORTEGA                    CA         48006066743
33966885854165   HEATH        JAS                       OR         90014058858
33968825872426   BETH         WRIGHT                    PA         51004478258
33968866491831   NAKIA        DUNN                      OK         90008728664
33971586141258   ALAN         CUTIS                     PA         90003845861
33975143747931   ASHLEY       EAST                      AR         90009271437
33976371891371   ANTONIO      VEGA                      KS         90001563718
33978833754165   ANDREA       KACIN                     OR         90012428337
33981692155972   DANIEL       ESQUEDA                   CA         90002436921
33981846851369   JENNIFER     CALLIHAN                  OH         66030788468
33981989571921   PARAA        VERONICA                  CO         32061989895
33982285436143   ESPERANZA    PARKER                    TX         90005382854
33984838855928   JUCAB        BURTON                    CA         90014818388
33984857991563   RUBI         GOVEA                     TX         75098478579
33986417647931   JAMES        HAYES                     AR         90013414176
33987268155972   MICHELLE     UZZELL BETTENCOURT        CA         48008412681
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33991653291371   DAVID        ROBLES                    KS         90013326532
33992874291563   MELISSA      SOLIZ                     TX         75016648742
33993434891942   HERRERA      IRIS                      NC         90015244348
33993441691831   BIANCA       VARGAS                    OK         90013784416
33994318891831   JOHN         FISHER                    OK         90012563188
33995895191563   CHRIS        MORALES                   TX         75090128951
33997186155972   GAUDENCIO    VEGA                      CA         90012711861
33997261984378   TAMEIKA      FERGUSON                  SC         90004262619
33998261984378   TAMEIKA      FERGUSON                  SC         90004262619
33998643755972   SANDRA       HENDERSON                 CA         90010066437
33998678191893   JAMIE        TURLEY                    OK         21038626781
33998825941285   RICHARD      STRATEMEIER               PA         90014868259
34113171355972   DANIEL       WEST                      CA         90010791713
34113432451339   CAITLIN      YONKOSKY                  OH         90014224324
34114449441285   ELIZABETH    HARABAUGH                 PA         51007334494
34116237691831   INDICA       HOUGE                     OK         90014852376
34118146491563   ALVARO       RUIZ                      TX         75042381464
34121321541277   ANTHONY      FORD                      PA         51094083215
34124284463629   DEVIN        MAUS                      MO         90010762844
34125188891563   JOHN         HINOJOS                   TX         90012531888
34126118191563   NORMA        MENDOZA                   TX         75054551181
34126435851339   PEDRO        SANCHEZ                   OH         90013274358
34126715531497   SUSAN        DIPERT                    MO         27589287155
34128948341277   SCOTT        DAVIS                     PA         51007899483
34129832651339   AMY          JONES                     OH         90003558326
34134624155972   KELCIE       LOPEZ                     CA         48042796241
34134686191525   YVONNE       RODRIGUEZ                 TX         90011766861
34135575191831   SONYA        HAMILTON                  OK         21091645751
34137541354165   MELINDA      CHANDLER                  OR         90014215413
34137544855972   LIZEL        SANTIAGO                  CA         90004995448
34137769791563   LOURDES      CARBAJAL                  TX         75019127697
34139287251328   DARLENE      BROWN                     OH         66052072872
34143145141258   CAITLIN      GILBERT                   PA         90012581451
34146632261963   RANDEE       AKOOBI                    CA         90004156322
34146872981622   ANGELA       MORALES                   MO         90001008729
34147166361963   KRISTINA     RAZA                      CA         90006341663
34148167651339   KENNETH      CHRISTIAN                 OH         66059271676
34151756741258   WILLIAM      HARRIS JR                 PA         90013947567
34153923355972   OMAR         CERVANTES                 CA         48015429233
34155719641258   RACHAEL      SEGER                     PA         51090457196
34157887891563   JAVIER       CHAVARRIA                 TX         90003528878
34159215341258   LEAH         ERANTZ                    PA         90008152153
34159488961963   LAUREL       WETZEL                    CA         90014504889
34161462141285   TIMOTHY      GUMPHER                   PA         90007074621
34163825661963   ANDREW       KING                      CA         90013888256
34164158555972   MELISSA      SALINAS                   CA         90014771585
34168789941258   MARY         HAAS                      PA         51083097899
34168952855972   JESSICA      RODRIGUEZ                 CA         48064449528
34173555841285   TANISSHA     STEADMAN                  PA         51069865558
34173818831632   AARON        POWELL                    KS         90001938188
34174815941277   LAURIE       BALDAUF                   PA         51088408159
34174975351339   MARGERET     BURKS                     OH         66009919753
34175696161963   ADRIEN       SMITH                     CA         90007226961
34176334781621   CHARLES      SATTERWHITE               MO         90001683347
34178612151339   JONATHAN     THOMAS                    OH         90003476121
34182167151339   ASHLEY       TAYLOR                    OH         90008451671
34183374241285   JOHN         JEFFERY                   PA         90015393742
34183416951339   JAMES        MCINTOSH                  OH         90014584169
34187599141258   KENNETH      SIDBURY                   PA         90011145991
34189898761963   DIANA        CHURCHILL                 CA         90013548987
34196866691563   OCTAVIO      BORREGO                   TX         90008488666
34198435851339   PEDRO        SANCHEZ                   OH         90013274358
34213314993761   JAMES        BOLDEN                    OH         64557953149
34213695791563   JORGE        VIZCAINO                  TX         75044396957
34215361541258   ALBERTO      CASAS                     PA         90014523615
34215612491563   LIZBETH      LUCERO                    TX         90006926124
34215626391563   ANA          MARUFO                    TX         90011146263
34217681491563   PETRA        AVILA                     TX         75089686814
34218537741285   KEVIN        HUFF                      PA         51007005377
34219417241285   LISA         BELFIORE                  PA         90013964172
34223136341258   GARY         PAULL                     PA         51004681363
34224968231424   COURTNEY     THORPS                    MO         27512029682
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34229325856321   REBECCA       KAMM                     IA         90014703258
34231561841258   MICHELE       COLL                     PA         51065865618
34231927241455   SHEE          NAY                      WI         90015489272
34232261891563   BRIAN         PETERMAN                 TX         90014852618
34235158854165   JUAN          GARCIA                   OR         90014861588
34237565551339   RICKEY        ACREE                    OH         90001855655
34238539155972   LUIS          CORTEZ                   CA         90015155391
34242651741285   LINDA         MCCLUNG                  PA         90006036517
34244157231439   BRITTANY      CARTER                   MO         90001691572
34244296791563   ROSA ESTHER   MANRIQUEZ                NM         90013962967
34244581491831   TONYA         BROWN                    OK         21077795814
34246837663623   CVTE          LOBER                    MO         90012438376
34246873361963   MICHAEL       PRICE                    CA         90013098733
34247239561963   JACOB         HAVINS                   CA         90001802395
34251331861963   BRANDON       MACCARTHY                CA         90003193318
34251827547931   JEREMIAH      HIGH                     AR         90001018275
34252334561963   ANNETTE       BERGSCHNEIDER            CA         46016483345
34254219591543   ANABEL        NOYA                     TX         90010132195
34254952641285   MONTAY        KING                     PA         90000239526
34257956855972   KARLA         HERNANDEZ                CA         90002529568
34262297131424   SKYLRA        CHRISTON                 MO         90010152971
34264589641285   KRYSTAL       ALLEN                    PA         51032255896
34267916851347   VERONICA      ALBAVERA                 OH         66071479168
34269952541258   KATHLEEN      MARSHALL                 PA         90014029525
34273377355972   RUBY          CORTEZ                   CA         90010973773
34273438641285   SAM           JOHNSON                  PA         90013964386
34273528954165   RAMIRO        HERNANDEZ                OR         90002685289
34274599471921   CARMEN        QUEZADA                  CO         90012645994
34276614255951   ABIGAIL       RICO                     CA         90011376142
34277934691563   SANDRA        HERNANDEZ                TX         90002679346
34278718854165   JOSE          SANCHEZ                  OR         90010397188
34282161191232   STERONDIA     MCALLISTER               GA         90003591611
34282695591563   ALEJANDRA     PACHECO                  TX         90013196955
34282751191979   BETH          OCONNON                  NC         90006887511
34283711155972   DANIEL        COTTA                    CA         48042807111
34288332991831   REYNA         GERRA                    OK         90010193329
34291142691831   JENNIFER      ALEXANDER                OK         90012141426
34292784641258   KRISTINA      BRYER                    PA         90013917846
34296599451339   WILLIAM       TAULBEE                  OH         90013805994
34297272441258   LEO           HEFFERAN                 PA         51037442724
34297695261963   ALEJANDRO     SANDOVAL                 CA         90009096952
34311896461982   PHIL          CREPEAU                  CA         46089428964
34312326941285   ANGELA        STARK                    PA         51041023269
34312589755972   DENISE        CABRERA                  CA         90013185897
34314564433641   DONNA         JOYNER                   NC         90009105644
34315679591563   JOSE          BARRAZA                  TX         75003716795
34315985141258   DAMON         GREEN                    PA         90005329851
34316397154165   AMANDA        WARD                     OR         47040613971
34317164997131   MINDY         VANG                     OR         90007871649
34321568854165   JACKIE        BURKEL                   OR         90000525688
34322161541258   ANDREW        PRITCHETT                PA         90013581615
34324393754165   DARRELL       DRAPER                   OR         90012753937
34326419551339   APRIL         JAMES                    OH         90014784195
34327442791563   GONZALE       ANTON                    TX         90012884427
34328741955927   MARCO         ARONI                    CA         49043607419
34328873961999   RAQUEL        LOPEZ                    CA         90012388739
34329364791563   EDUARDO       MUNOZ                    TX         90015313647
34331232251339   DUSTIN        HOLLON                   OH         90013402322
34333715551341   JAVON         JORDAN                   OH         90011697155
34333875261963   JODI          SOTO                     CA         90014838752
34335291431439   DANA          FRAZIER                  MO         90005382914
34336611154165   GERALD        MOGENSEN                 OR         90002066111
34337176651339   TIVETTA       ALDRIDGE                 OH         66075051766
34338631793761   CLYDE         THOMASON                 OH         90010986317
34345446191563   FLORES        DIANA                    TX         90013214461
34345513855974   MARLYN        GUERRERO                 CA         90009625138
34347621251339   CHANELL       BOYD                     OH         90007996212
34348465955972   MARIA         HERNANDEZ                CA         90015144659
34349832847931   RUSTON        PERRY                    AR         25060958328
34352147431424   BRUCE         TIPTON                   MO         90009381474
34353651155972   FRANCISCA     PATINO                   CA         90014856511
34359226591831   GRECHANEL     WALLACE                  OK         21026462265
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34361367161963   CLIFFORD         FLANDREAU             CA         90010413671
34361482831424   NIGELL           JONES                 MO         90007954828
34362169191543   JAQUELINE        BOUCHE                TX         90010691691
34363689291352   CRISTI           MOONT                 KS         90000496892
34363695151339   SHAWN            GOMIA                 OH         66095516951
34364273891396   GEORGE           NJAU                  KS         90014142738
34365265941285   ADELE            PASLOW                PA         51055752659
34366666755972   RICHARD          CONTRERAS             CA         90015106667
34373248454165   AIMEE            MAKI                  OR         47083622484
34374246731424   ANDREA           STEINBRUEGGE          MO         90011642467
34374612161963   ODILIA           SANCHEZ               CA         90003196121
34374882141258   DENNIS           MASON                 PA         51030478821
34375978891563   ROXANNE          MARTINEZ              TX         90012849788
34376999655972   DIANNA           AVALOS                CA         90014139996
34378856461963   MARLENE          BLACK                 CA         90008608564
34379274341258   TINA             FRANK                 PA         90014102743
34383217591563   DEBORAH          JACOBS                TX         90007932175
34383699954151   MOISES           CHAVEZ                OR         90007296999
34384461641258   KIMBERLY         FRITZIUS              PA         90014234616
34389441354165   VEGA             BARKLEY               OR         90013474413
34391758351339   STEVE            DOWNS                 OH         66041827583
34393415855972   ERIKA            PANDURO               CA         90013084158
34394334441258   AMBYR            JONES                 PA         90013393344
34394575641285   AURORA           THOMPSON              PA         51003905756
34394945855972   DONALD           ESLINGER              CA         48023499458
34395136191831   CHRISTY          DRIVER                OK         21096711361
34397693791563   JULIO            QUINONES              TX         75089446937
34413378751321   JAY              MITCHELL              OH         90010093787
34413753851339   CLINTON          WILDER                OH         90008277538
34413876857126   VERONICA         GONSALES              VA         81047668768
34415378455972   LUPE             BERNAL                CA         90012563784
34415683991831   XIMENA           MARTINEZ              OK         90014046839
34422265791563   VERONICA         HAMBRICK              TX         75012232657
34425472161963   AARON            HILL                  CA         90009084721
34426663454165   MONIQUE          CRITCHETT             OR         90015196634
34428973961963   MICHAEL          WANSER                CA         46082489739
34433443291831   TERA             SAULKNER              OK         21005654432
34434381491563   MICHELLE         PEREGRINO             TX         90015313814
34435472161963   AARON            HILL                  CA         90009084721
34435826854165   MARIBEL          ELIZALDE              OR         90011768268
34436599451339   WILLIAM          TAULBEE               OH         90013805994
34438619561963   RAGIH            YOSSIF                CA         46047216195
34439263141277   THOMAS           DOUGHERTY             PA         51062692631
34439454241258   JOHN             JAMES                 PA         90013044542
34439854533696   JAYSON           DAVIS                 NC         90005858545
34441424841285   DEREK            SCOTT                 PA         90012114248
34441527854165   GARY             MILLER                OR         90009275278
34443949361963   MARCO ANTONIO    MELGARJERO-PIRITA     CA         90011549493
34444463555972   STEVEN           CEBALLOS              CA         90004044635
34444568891587   GARCIA           SUSANA                NM         90000135688
34445178651339   PEGGY            CARROLL               OH         66060041786
34445285954165   DOUGLAS          TREISCH               OR         47003882859
34446365691232   KEIL             BROWN                 GA         14515973656
34447855354165   LUIS             RODRIGUEZ             OR         47000868553
34451328551339   JACK             PROKOP                OH         66007343285
34455252647931   ELIZABETH        PERRY                 AR         25076012526
34455298241455   TERRY            JANNKE                WI         90015502982
34455319831424   CARLA            BARTON                MO         90004993198
34455371991587   VIVIAN           BURGOS                TX         75097913719
34455917255972   MARTIN           RODRIGUEZ             CA         90011329172
34456724654165   KATHY            HAMANN                OR         47012517246
34457168991831   MADISON          OWENS                 OK         90013941689
34462636455951   MARINA           ESCARENO              CA         90005626364
34463313641258   ARTHUR           ROLLAND               PA         90000773136
34464555591563   IDALI            ESTRADA               TX         90008695555
34465386291563   GEHU             CARMONA               TX         75082173862
34465765455951   MARIA REMEDIOS   CANCHOLA-HERNANDEZ    CA         90004537654
34466122855972   JESSICA          OLVERA                CA         90000661228
34466181991831   ROBERT           SMITH                 OK         90013941819
34467964941285   JEREMY           KIM                   PA         90013959649
34472551541258   AUTUMN           HENCHELL              PA         90011515515
34473694791563   JAIME            CORDERO               TX         90012866947
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34475527991563   FRANCISCO    MORALES                   TX         90012095279
34476244491831   SALONE       CATALAN                   OK         90012442444
34476425961963   RACHEL       FENTON                    CA         90013604259
34476454241258   JOHN         JAMES                     PA         90013044542
34477372291831   NOLAND       SMITH                     OK         90009563722
34481416141285   VANITA       MULDOW                    PA         51045224161
34481594754165   MARY         KING                      OR         90009275947
34481685361963   AMIE         RAMIREZ                   CA         90004066853
34484658141258   JOLYNN       GRUSZEWSKI                PA         90014836581
34485948455921   ANDRE        RAMIREZ                   CA         49006729484
34486454841285   CHARLES      SISK                      PA         90013674548
34486464761963   LUCIA        HERNANDEZ                 CA         90013604647
34487817361963   KIMYARTE     SMITH                     CA         90008388173
34491139654165   JESSICA      SMITH                     OR         90012321396
34493135244398   LUIS         BARRA                     MD         82004931352
34496142351339   WILBURT      JOHNSON                   OH         90006991423
34497287561981   EMILIANO     MENDOZA                   CA         46082832875
34497911841258   KEN          RUSSELL                   PA         90010809118
34511111655972   MARIA        DELGADO                   CA         90003741116
34511734451339   MEGAN        ANTHONY                   OH         90013447344
34512144161963   YENIFER      GARCIA                    CA         90006161441
34514466841285   RANDALL      SMITH                     PA         90013964668
34516152991563   GABRIEL      MORALES                   TX         90013931529
34521813291831   DENTON       DANNY                     OK         90012188132
34525311861963   MAMA         WOO                       CA         90003203118
34526935651321   CONSTANCE    GRAYSON                   OH         66074939356
34527624555972   DANNY        GILBERT                   CA         90008466245
34527721651339   STEVE        REPYNECK                  OH         90014347216
34527825551339   KEITH        HIGGINS                   OH         90014388255
34533981251339   LISA         WILLIAMS                  OH         90015129812
34535472661963   LONNIE       JACKSON                   CA         90012474726
34535981251339   LISA         WILLIAMS                  OH         90015129812
34537964941285   JEREMY       KIM                       PA         90013959649
34542374951339   KENNETH      SPIVEY                    OH         90014173749
34543732191563   ESPERANZA    ELORZA                    TX         90014227321
34544685791831   ELVIRA       VAZQUEZ                   OK         21049126857
34545288157123   MAURO        PORTILLO                  VA         90006332881
34546225354165   CLAYTON      WILLIAMS                  OR         90012922253
34548694255972   LARRY        GUZMAN                    CA         90014816942
34548975747931   VORYAGE      JACKSON                   AR         90002399757
34549183191563   CLAUDIA      ARCINIEGA                 TX         90011741831
34551221751339   DESIREE      RODRIGUEZ                 OH         66007902217
34554888561963   DALE         MAC EWEN                  CA         90013768885
34556514291544   LILIA        MARTINEZ                  TX         90010335142
34557322461963   NONEI        LARKIN                    CA         90015073224
34558928861963   FELECIA      CANTU                     CA         46079859288
34561479341285   UMAIR        MALIK                     PA         90013964793
34565216851339   DANIEL       COFFEY                    OH         90012882168
34565563291563   SANDRA       BADILLO                   TX         75089415632
34568316841285   STEVE        MARINI                    PA         51026763168
34571713555927   JANET        HERRERA                   CA         49003997135
34571858655972   ANDREA       BADILLO                   CA         48087098586
34574936355972   LETICIA      CASTILLO                  CA         48096379363
34575835791544   JORGE        ESPINOZA                  TX         90009848357
34576718431424   TAMIKA       FORD                      MO         90013187184
34577446251339   SABRINA      BYLKAS                    OH         90003814462
34578211591831   ROBERT       MORRISON                  OK         90013942115
34583369261972   LEE          BARKEN                    CA         90001133692
34586333185943   CHARLENE     BROOM                     KY         90009673331
34587894961963   RAYMOND      BEYTO                     CA         46081758949
34588281491563   CLAUDIA      SALAS                     TX         75024902814
34591189231424   MIKE         PILLA                     MO         90008011892
34591241554165   DAPHNE       STEPHENS                  OR         90014292415
34591521391831   PETER        KRAJIAN                   OK         90009145213
34591924941258   JERMAL       JACKSON                   PA         51082659249
34593299491563   JACKIE       ONTIVEROS                 TX         90011852994
34593395355927   JUICY        BABY                      CA         90000383953
34593395361963   ADRIANA      GONZALEZ                  CA         90007133953
34595557691563   ESMERALDA    ORNELAS                   TX         90013725576
34595622791831   CYNTHIA      LANDRUM                   OK         90009246227
34596487231424   NAIL         CARTER                    MO         27561364872
34596794391563   GREGORY      SMART                     TX         75022637943
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34599132855972   GLORIA       ARELLANO                  CA         90015511328
34599311754165   KARRIN       RADCLIFFE                 OR         47075863117
34616429941258   NICOLE       LUCCI                     PA         51057564299
34616739591831   SONYA        SONYA GRIMALDO            OK         90004957395
34617362451339   TONIA        SMITH                     OH         90013123624
34617865291831   DAN          BAXLEY                    OK         90009988652
34622268754165   BRIANNA      COLWELL                   OR         90006122687
34624253151339   CRYSTAL      WELLS                     OH         90015562531
34624642984334   CHELSEA      MUNDAY                    SC         90013516429
34625585191831   NICOLE       JONES                     OK         90009585851
34626685981557   MICHELLE     MCAFEE                    IL         20589846859
34627118751339   ALLISON      MYNHIER                   OH         90013591187
34627242855972   DAVID        ARZDIA                    CA         90013792428
34628455991831   ANGIE        HOOVER                    OK         90011054559
34631334191945   ELIZBETH     MARTINEZ                  NC         90006723341
34632211251339   KATIE        MANNS                     OH         90013932112
34632485941285   SHAMARA      WEST                      PA         90013674859
34634822854165   KATHY        RENFROW                   OR         90013538228
34636397541455   ERRICA       WARNER                    WI         90015363975
34638369131471   DAVID        HARTIG                    MO         27570113691
34643247831424   VENTURA      GUILLERMINA               MO         90010862478
34646912141285   TONYE        HOOPER                    PA         90005229121
34647793551339   DENNIS       WORKMAN                   OH         90013957935
34647879655972   LETICIA      RAMIREZ                   CA         90009728796
34653259657123   ALICIA       CARO                      VA         81057192596
34655143355972   MARIBEL      TRINIADAD                 CA         90003321433
34655317555921   MICHELI      SANTOYO                   CA         90010373175
34657266351339   SALUD        FISHER                    OH         90012372663
34661541491563   LUIS         DIAZ                      TX         90012825414
34662946355972   ROSA         VALADEZ                   CA         90010039463
34663195491831   ANTHONY      YOUNG                     OK         90009171954
34663322654165   ROBERT       HUGILL                    OR         47088753226
34665664361963   SAMANTHA     SALAS                     CA         46013666643
34665773641258   TINA         CLEGG                     PA         51044007736
34666318554165   NILESHNI     NARAYAN                   OR         90012513185
34666494384368   RICARDO      ROSAS                     SC         90007644943
34668687491563   HELLEN       MARTEN                    TX         75051646874
34669332391831   YOLANDA      HOWARD                    OK         90014223323
34669615871937   NICOLE       WESTLAKE                  CO         90011016158
34669766491563   MICHELLIE    CUELAR                    TX         90007537664
34671139654165   JESSICA      SMITH                     OR         90012321396
34671968691831   SUSAN        RODRIGUEZ                 OK         90006289686
34673382651339   ARICA        ZEHE                      OH         66050523826
34675511441285   KRISTAN      CIMINO                    PA         90013965114
34676179591563   PANCHO       SILVERTHORNE              TX         75027861795
34677368151339   BRIAN        CHILDERS                  OH         90004063681
34677645391563   NORMA        VALLES                    TX         75092426453
34677846955972   CANDYCE      GALVAN                    CA         48052048469
34678261691831   BILLY        HARDY                     OK         90013942616
34681261691831   BILLY        HARDY                     OK         90013942616
34685869741277   MICHELLE     CARYLL                    PA         90005788697
34686885451339   MICHAEL      BROWN                     OH         90013138854
34687147791525   CYNTHIA      SCHAFER                   TX         90002221477
34693193851339   MICHAEL      HUNTSBERGER               OH         90001171938
34694618991563   IDA          MANICNAS                  TX         90006306189
34695529441285   TARUNA       G                         PA         90013965294
34698773641285   CARLA        STREET                    PA         51084757736
34699363281667   CASHENA      SOLOMON                   MO         90015063632
34699424241258   CHRISTINA    SCOTT                     PA         51031934242
34711579141258   ELIZABETH    BRAZELL                   PA         90014815791
34713996331424   JESSICA      INGRAHAM                  MO         90011639963
34716894191563   IVETTE       MURILLO                   TX         90012688941
34717845455972   SOPHIA       NUNEZ                     CA         48077708454
34719481591831   TANISA       MARSHALL                  OK         90013204815
34721514991831   JOANNA       CHAIREZ                   OK         90013215149
34722733255972   SABRINA      SEDILLO                   CA         90004427332
34723136155951   VALERIE      SIFUENTES                 CA         49015211361
34723461554165   DONELLE      RUCKER                    OR         90000544615
34725754691537   BRENDA       CORONA                    TX         90007117546
34728394791563   APRIL        MORENO                    TX         90011103947
34728482541277   HEATHER      ROCK                      PA         90001274825
34729824455972   YESENIA      ALONZO                    CA         90013738244
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34731654351339   JOYCE         MASSIE                   OH         66076886543
34733895661963   JESSY         ORTIZ                    CA         90011568956
34735612855972   ROBERTO       FIGUEROA                 CA         90009896128
34735668951339   EDDIE         PRITCHARD                OH         90015036689
34735677431424   WENDELL       HERRON                   MO         27518576774
34736718641285   CHRISTOPHER   ALLEN                    PA         90006067186
34737866151339   RICHARD       REED                     OH         90013408661
34738811451594   ROY           MOORE                    IA         90014128114
34739249684334   PASIANO       NIETO-GONZALEZ           SC         90009012496
34744789191831   ROBERT        DAVIS                    OK         21092067891
34745198451339   RIGOBERTO     SERRANO                  OH         90011851984
34746599555972   MANUEL        HERNANDEZ                CA         90008205995
34747782741285   DANA          KUNF                     PA         90003547827
34752846157123   MARVIN        LOPEZ                    VA         81008268461
34752963691831   DESTINI       ULRICH                   OK         21010279636
34754679141258   FRANKLIN      HOLBY JR                 PA         90005686791
34755355955972   ELIZABETH     SHARP                    CA         90010803559
34755644554165   JOHNNY        WILSON                   OR         90014736445
34757114255962   LINDSAY       DENNEY                   CA         90006701142
34757678261963   RAFAAH        MCKHAA                   CA         90006866782
34758682655972   ELIZABETH     HERNADEZ                 CA         90011386826
34761465551339   KRYSTAL       MOLE                     OH         90015284655
34761788991831   DONALD        GRIFFIN                  OK         90012117889
34762327955951   DUSTEN        MUCKEY                   CA         90001463279
34763398891563   ESTRADA       ENARO                    TX         90010233988
34763851691563   MARTHA        PESINA                   TX         90011628516
34764437954165   ROSA          MUNGUIA                  OR         90009354379
34764548291831   AYANA         WILLIAMS                 OK         90014125482
34767557241258   SHAHIASTA     KHAEDAROVA               PA         90012645572
34768478555972   JANINE        SALISBURY                CA         48044574785
34769118961963   TROY          SWEDEEN                  CA         90014431189
34771322141258   JACOB         SNYDER                   PA         90013473221
34773197551339   ASHLEY        BENSON                   OH         90003241975
34777645491831   CHARMAINE     MACK                     OK         90012026454
34778266731494   GABRIELLE     JACKSON                  MO         90008522667
34782385941285   SARA          MEYERS                   PA         90013963859
34783519755972   MARIA         MADRIGAL                 CA         90010425197
34783857555927   OFELIA        WELCHOR                  CA         90000268575
34785573291538   MIRIAM        GONZALEZ                 TX         90012635732
34785674293773   LEANDERA      BURLESON                 OH         90007946742
34787163191563   LERMA         HERNANDEZ                TX         90005031631
34788719255972   STEPHANIE     TORRES                   CA         90012477192
34795213291563   DENISEE       VALTIERRA                TX         90004422132
34795366251339   JAMES         MOCKABEE                 OH         66045363662
34797586491563   MARIA         REYES                    TX         90012695864
34799861954165   MAJESTY       HESS                     OR         90000838619
34811576541285   ANJUM         KHAN                     PA         90013965765
34811628971921   JOSEPH        MONTOYA                  CO         90007636289
34813429851339   EMILY         SHEPARD                  OH         90010184298
34813564755951   MICHAEL       WATTS                    CA         90006055647
34814366251339   JAMES         MOCKABEE                 OH         66045363662
34814571991563   VANESSA       CARMONA                  TX         75039175719
34816866454195   JANAE         FOX                      OR         90011818664
34818566191831   GUYLA         SCHELLER                 OK         21080545661
34822174241258   DAVID         GONZALEZ                 PA         90013901742
34822935354165   GERALD        JOHNSON                  OR         90005139353
34823739991831   DIEDRA        FOSTER                   OK         90013837399
34824579491831   PAMELA        TREAT                    OK         90013265794
34824964754165   BRENDA        BEDOLLA                  OR         90001389647
34825137254165   STEPHANIE     IVERS                    OR         90009421372
34825149861963   ALYSSA        BARWIG                   CA         90011571498
34825192991831   JESSICA       HAMPTON                  OK         90013021929
34826637841258   SHAQUALLAH    BEY                      PA         90014726378
34827514231458   PATRICE       EVANS                    MO         90014005142
34827579491831   PAMELA        TREAT                    OK         90013265794
34829629954165   JOHN          MOSCONE                  OR         90013956299
34829923955972   MANUEL        LANIZ                    CA         90004989239
34831385755972   MARGARET      RODRIGUES                CA         48031773857
34831559891563   MICHAEL       VARELA                   TX         90004995598
34831843684334   DANIELLE      GROOM                    SC         90011608436
34832464851339   DIANA         SAMGADO                  OH         90006774648
34834826791831   KARA          LARGENT                  OK         90013258267
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34835782191563   MINERVA      WOJTKUN                   TX         90003377821
34836437891831   ALVARO       MENDOZA                   OK         90012624378
34837125661963   EDGAR        TERUEL                    CA         90000351256
34837669451339   EDDIE        PRICHARD                  OH         90015036694
34838163751339   ALDUTUS      TOMSTOCK                  OH         90015451637
34841117155972   MADELYN      SMITH                     CA         90015281171
34842549555972   MARIA        MEZA                      CA         90001145495
34844122941277   NORMA        DLESIC                    PA         51046291229
34847471841258   SHANNON      COLLINS                   PA         51023364718
34849496791831   TERI         CARVER                    OK         21089264967
34852562451339   SABRINA      SINGH                     OH         90009835624
34852785191232   THOMAS       STOKES                    GA         14571947851
34854743147931   JESSICA      KRAMMER                   AR         25047837431
34858334754165   WILLIAM      BRUMBACK IV               OR         90012803347
34858341541285   CAPRICE      ASSOULINE                 PA         51059923415
34859649155972   ESMERALDA    BARRON                    CA         90006656491
34859916191543   ROBERT       PIERCE                    TX         90009999161
34862994491563   JULIO        OLVERA                    NM         75091809944
34864156141258   STEPHANIE    LEWIS                     PA         90015161561
34864623741285   MICHAEL      YANKOVITCH                PA         90014116237
34865437351339   WILLIAM      HAVEN                     OH         90004814373
34866281255972   IDA          GARCIA                    CA         90014032812
34867358691563   KIMMBERLY    ALVAREZ                   TX         90013833586
34871285541258   DIANE        PALASHOFF                 PA         51014562855
34871541354165   ALLISON      PARMENTER                 OR         47070755413
34872139955972   SARAH        DE LOS SANTOS             CA         48066811399
34872638361963   YOLANDA      MALDONADO                 CA         90005196383
34873358691563   KIMMBERLY    ALVAREZ                   TX         90013833586
34873994161963   JOSE         MEZA                      CA         90002789941
34874256791831   DEBRECKE     FIELDS                    OK         90006962567
34875513555951   KELLY        PARKS                     CA         90013035135
34875735691563   ILSE         BRITO                     TX         90012927356
34875924851339   JAMES        ROBERT                    OH         90013419248
34878646851339   WILLIAM      HONCHUL                   OH         66057496468
34878981991563   BARRAZA      TERESA                    TX         90007139819
34879723991563   ERIKA        MARTINEZ                  TX         90007137239
34882315291563   RICK         GOMEZ                     TX         90014043152
34882478551339   NINA         RUFFIN                    OH         90009204785
34883678691831   JEFFREY      COX                       OK         21070926786
34886135141285   JUDY         DEANE                     PA         51024351351
34889134955939   BENITO       MORALES                   CA         90013881349
34889769431424   ARMITTA      DICKSON                   MO         90009667694
34892656161963   DONNA        HERNANDEZ                 CA         90010116561
34892887291831   KATHELEEN    LOWE                      OK         90008038872
34893668661993   STEPHAN      LAWRENCE                  CA         90002946686
34893944131424   SHANNON      VELASCO                   MO         27563209441
34894668661993   STEPHAN      LAWRENCE                  CA         90002946686
34894994541285   JOHN         PIRL                      PA         90014519945
34895231141258   LJ           BOLDEN                    PA         51017662311
34895797791563   ISABEL       LUNA                      TX         90012847977
34896174355951   MIGUEL       MADRIGAL                  CA         90005711743
34897646761963   ANTONIO      MARTINEZ                  CA         46066716467
34898881961963   ANNE         PETERSEN                  CA         90013868819
34911357131424   MELIA        ROWE                      MO         90011343571
34915382561963   ANNA         CONTRERAS                 CA         90005953825
34921283541277   KRISTEN      BLACKSTONE                PA         51069882835
34921346151339   HEATHER      FELTNER                   OH         90014103461
34924138454165   ALISHA       KELLER                    OR         90015091384
34924479855972   HORTENCIA    RAMIREZ                   CA         90008954798
34924918755972   HORTENCIA    RAMIREZ                   CA         90014639187
34925326641258   KRISTOPHER   KOHAN LANG                PA         90010403266
34926823854165   PAYGO        IVR ACTIVATION            OR         90010658238
34928497355972   MONSERRATO   SALAZAR                   CA         90013044973
34929239291563   JEFFREY      TREIBLE                   TX         75088202392
34931566931424   JOSEPH       DUCLERNE                  MO         27562125669
34932225851339   KENNETH      HENDERSON                 OH         90014512258
34932421991563   REBECCA      PALLERES                  TX         75065154219
34932492155927   WILLIAM      GILLILAND                 CA         49008254921
34933161554165   KATIE        BURNS                     OR         90013611615
34933266391563   JOSE         SOTO                      TX         75089422663
34935572341285   TRISHA       SCARANO                   PA         90001145723
34935926654165   ANDREA       SHIBLES                   OR         47075819266
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34935972791563   CORINA         MATA                    TX         90012389727
34937521251339   DAVID          KING                    OH         90015435212
34942673631424   PATRICIA       TOWNS                   MO         90012846736
34945579141285   LANELL MARIA   PENNINGTON              PA         90013675791
34946339755972   ALMA           TORRES                  CA         90001023397
34947262581686   VICTOR         SNOW                    MO         90001772625
34947787491563   ALBERTO        SANCHEZ                 TX         90009927874
34948556981686   LORI           SNOW                    MO         90001875569
34949681857126   ADELSO         DIAZ GARCIA             VA         90010046818
34949746361963   JACOBO         JACOBO                  CA         90013917463
34952564755951   MICHAEL        WATTS                   CA         90006055647
34953436191831   MARIA          BUSTOS                  OK         90013944361
34954247254165   SABRINA        RICH                    OR         90011812472
34954483761963   ARAEL          QUIROZ                  CA         90012754837
34954933691563   GRACIELA       PINA                    TX         75005889336
34956498954165   JAIME          SILVA                   OR         90007154989
34957278954165   JEREMIAS       MONTALVO                OR         90011012789
34959116955972   BREANNA        VALDEZ                  CA         90005941169
34961212991587   ANA            CORONADO                TX         90013872129
34962247254165   SABRINA        RICH                    OR         90011812472
34966178661963   LEROY          LEWIS                   CA         90012651786
34966523755933   WENDY          SANCHEZ                 CA         90010825237
34966875791831   RODERICK       ANDERSON                OK         21089098757
34968518791831   SUAN           THAWN                   OK         90013945187
34973817651331   ERIC           TOTTEN                  OH         90008158176
34975228161963   MARIA          DE LA CRUZ              CA         90014882281
34982788991563   JOSE           ONTIVEROS               TX         90012767889
34985937251339   EARNEST        MOSLEY II               OH         66045269372
34987182791563   JULIO          LUNA                    TX         90013071827
34988267641285   JANE           LAWRENCE                PA         90013922676
34991118554165   TEENA          BROWN                   OR         47016231185
34992699761963   LORRAINE       ESCUDERO                CA         90000526997
34992974641258   CYNTHIA        COOKE                   PA         90014029746
34993662391563   ZULMA          ROJAS                   TX         90012996623
34993732755972   TANYA          TRINIDAD                CA         90002907327
34994474291831   ROBIN          WHITE EAGLE             OK         90013944742
34994546154165   CHRISTINA      CHAPMAN                 OR         90014485461
34996918554165   WENDY          MCDONALD                OR         90010079185
34998469761963   MICHELLE       REGIS                   CA         90010884697
34998834154165   LAURA          LAVENDER                OR         90010538341
34999324261963   ASHLEY         THOMSEN                 CA         90013033242
35111813991891   PAYGO          IVR ACTIVATION          OK         90015428139
35112573791243   TERRI          REEDER- HOLMES          GA         90009385737
35113831561963   LINDA          LOPEZ                   CA         90009268315
35114646151339   CRAIG          RICHARDS                OH         90011136461
35114792291538   IRMA           REYES                   TX         90013507922
35115216991891   NATHAN         HENDRICKSON             OK         90015352169
35115511491831   JUAN           VILLAVICENCIO           OK         90011565114
35116454991563   ALEJANDRO      RAMIREZ                 TX         90014534549
35117432691891   CAROLYN        COMREY                  OK         90010964326
35119646291232   DUSTIN         BROAN                   GA         90011856462
35122861555972   CHRISTINA      CASTRO                  CA         90013238615
35122935854165   LISA           HANSON                  OR         47080999358
35123363491563   MONICA         CASTANEDA               TX         90007683634
35124127255972   EVENLYN        RENTERIA                CA         90013741272
35124139454165   SHAYNE         RUNGE                   OR         90009411394
35124588191891   STACY          AYERS                   OK         90008165881
35125933147931   RACHEL         ATIENZA                 AR         90015229331
35129198791584   NAHARA         PALMA                   TX         90002091987
35131266891371   SHARIANN       ESCOBEDO-RODRIGUEZ      KS         90014352668
35131582954165   FRANCISCO      DIAZ JIMENEZ            OR         90014745829
35132866243571   TAYLOR         SPACKMAN                UT         90010538662
35133594855972   BIBIANO        GARCIA                  CA         90005035948
35134211655936   VENEDIXA       RAMIREZ                 CA         49062142116
35135217591891   AMBER          ALEXANDER               OK         90010622175
35135447791232   DAVARIUS       GORE                    GA         90001364477
35135732447931   TIMOTHY        CARTER                  AR         90013057324
35136394555972   AURELIO        DIAZ                    CA         48014523945
35137571955972   MARIA          LOPEZ                   CA         90000935719
35138517891584   MARGARITA      CERON                   TX         75003585178
35139575531424   CARL           SUTTON                  MO         27501395755
35139672661963   OLIVIA         GAYTAN                  CA         90001186726
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35139732447931   TIMOTHY      CARTER                    AR         90013057324
35143688591563   IVONNE       VAZQUEZ                   TX         90013716885
35144315954165   CECELIA      CARDIEL                   OR         90014013159
35145637991371   JESSICA      SICKLER                   KS         29058136379
35145727655972   BRENDA       GOMEZ                     CA         90012917276
35147939591891   TALIA        FINLEY                    OK         90015369395
35148239254165   SARA         DEAN                      OR         90009412392
35151684655933   DOROTHY      ARELLANO                  CA         90001546846
35151863391891   DEVIN        MARTIN                    OK         90010238633
35153298391371   M            WILLIAMS                  KS         90005772983
35153315954165   CECELIA      CARDIEL                   OR         90014013159
35154289241258   ALEXANDRA    PATTON                    PA         90013402892
35154844855972   ELIZABETH    ACOSTA                    CA         90015508448
35154974561557   JOSH         ANDERSON                  TN         90015389745
35155545231424   KILWANA      JOHNSON                   MO         27549815452
35155611855972   MARIA        ARELLANO                  CA         90011906118
35155659591891   JOANNE       REYNOLDS                  OK         90013506595
35155984154165   DANYALE      WARMING                   OR         47003569841
35156398491563   ELISA        ORTIZ                     TX         90010783984
35157448491831   CHRISTINA    DOBBS                     OK         90005104484
35157531391891   KEITH        PIERCE                    OK         90015615313
35157547455939   JOSE A       GONZALEZ                  CA         90013235474
35158244491371   JACLYN       HOPKINS                   KS         90015572444
35158315954165   CECELIA      CARDIEL                   OR         90014013159
35159299791831   MARKQUIZE    FAVORS                    OK         90014362997
35161581155972   FLORINDA     ALEJANDRO                 CA         90007735811
35162627741258   ROBERT       VENURO                    PA         51093576277
35162894461963   MARTIN       TOSCANO                   CA         46059748944
35163283993753   MICHELLE     KEENER                    OH         90014902839
35163629391584   DAISY        DELGADO                   TX         90010606293
35164933447828   JARVIS       WALKER                    GA         90012749334
35165146841258   JESSCIA      NAGEL                     PA         90011021468
35166526955939   MARIA        ARREOLA                   CA         90013275269
35166597991243   ALYN         WOOLFORD                  GA         90010435979
35166765451382   BRITTANY     FLOWERS                   OH         66049587654
35169227855972   ANDRES       GARCIA                    CA         90010292278
35169239891891   MELANIE      BRUNER                    OK         90013752398
35172452355972   ANITA        PACHECO                   CA         48000404523
35172683591563   VICTOR       VILLA                     TX         75095606835
35173116991563   CLARA        GUTIERREZ                 TX         90011481169
35173892155972   KRISTIE      ROBERTSON                 CA         90014118921
35175595341285   MARK         SWAB                      PA         90014495953
35176595655972   NAEE EE      SEE                       CA         90012655956
35177367791543   JOSE         LAGUNAS                   TX         90013593677
35178493791891   BARBARA      QUALLS                    OK         90011994937
35179824141277   ANGELA       SELINGER                  PA         51015488241
35179879591371   LISA         MORREIRA                  KS         90010498795
35181592431424   BONNIE       HURSTON                   MO         27577245924
35182549741258   JULIO        AGUIRE                    PA         90013345497
35184522331424   KALA         SHACKELFORD               MO         90014605223
35186349461972   ROZLYN       CANNON                    CA         90004393494
35186549347931   GERARDO      CERVANTES                 AR         90014925493
35186981891563   ROSA         DOMINGUEZ                 TX         90015319818
35189511855972   DIANA        BAILEY                    CA         48012745118
35194466454165   JOHNNIE      CASE                      OR         90006284664
35194785955936   ANALEE       GONZALEZ                  CA         90013827859
35195635251339   JOSEPH       MULLINS JR                OH         66031546352
35196541483289   MELANIE      CLARK                     TX         90014505414
35199448491891   AARON        CRAIGER                   OK         90012844484
35211681931424   ARTICHER     THOMAS                    MO         90009316819
35211943941258   JENNIFER     TAYLOR                    PA         90012199439
35212697391587   CESAR        ROMO                      TX         90010626973
35212892484347   MELISSA K    PENNISTON                 SC         90005438924
35213978191563   ALMA         IBARRA                    TX         90014909781
35216867391584   KARINA       RUIZ                      TX         90011718673
35217281791371   EDMOND       RICHMOND                  KS         90014072817
35217733391891   ANNIKA       WILSON                    OK         90014777333
35218259331424   ROBIN        BRUNNER                   MO         27586262593
35218275255936   JOSE         RUIZ                      CA         90013552752
35218411291891   ROBYN        SWANSON                   OK         90013224112
35218885891563   ALAN         OJEDA                     TX         75073418858
35219475954165   SORCCIA      FORRESTER                 OR         47091714759
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35222186855972   AMELIA        AGUIRRE                  CA         90014061868
35222288891584   OMAR          JUAREZ                   TX         90011652888
35224668361963   ROWAID        BANYAMEEN                CA         90014786683
35226954361963   JAVIER        CARBAJAL                 CA         90006849543
35227217591563   ERIC          GAUCIN                   TX         90009232175
35227681631424   MARCEL        HARRIS                   MO         90013486816
35227759991232   PAYGO         IVR ACTIVATION           GA         90008807599
35228139654165   JESSICA       SMITH                    OR         90012321396
35228197991563   STEPHEN       BENTON                   TX         90010281979
35229454991371   ANUAR         LOPEZ                    KS         90015414549
35231142591371   JAGGER        VANDERPOOL               KS         29075621425
35232181241258   SHAWN         TOWNSEND                 PA         51007521812
35233289954165   STEVE         SOSKI                    OR         90014792899
35233567355972   JANET         WELCH                    CA         90015305673
35234721747931   LINDA         SAATHSY                  AR         90002487217
35235465741285   CHRISTOPHER   ANDREWS                  PA         90009294657
35236925391831   BRANDON       HESTER                   OK         21000999253
35237934891891   VANDEN        HANSHAW                  OK         21030939348
35237996755936   RECARDO       LOPEZ                    CA         90015169967
35239842341258   DORIS         BURKE                    PA         51049838423
35239936491831   HANG          LIAN                     OK         90013019364
35242833243571   KADEE         MARIE                    UT         90010798332
35244849554165   CHONTEL       PELKEY                   OR         90014708495
35244966491584   MARK          ANGON                    TX         75016019664
35245235355936   TANYA         MIRANDA                  CA         49080512353
35246166391831   SHOAIB        MUHAMMAD                 OK         90000481663
35246255291831   MARVA         STALLINGS                OK         90014712552
35246766341277   BRENDALE      BOWLES                   PA         51089467663
35248475941285   AUBREY        SANDERS                  PA         51024904759
35248597391891   KHALID        ALOTHMAN                 OK         90010625973
35249322225481   DUSTY L       WINKLER                  TX         90013033222
35249442841285   HERBET        YANKO                    PA         90010184428
35249946991891   JESSICA       DUTTON                   OK         90010859469
35251518354165   DONALD        SNIDER                   OR         90014795183
35252322225481   DUSTY L       WINKLER                  TX         90013033222
35252523255974   MARI CRUZ     CHAPA                    CA         90012815232
35252785155936   JUAN          GARCIA                   CA         90012377851
35253111747931   ASHLEY        WILBANKS                 AR         90013511117
35253517191891   ANGIE         HOUSTON                  OK         90001555171
35253679391831   ESTRELLA      RODRIGUEZ                OK         90013366793
35254548554165   TANA          KIGHTS                   OR         90011645485
35254785455972   ROY           BENAVIDES                CA         90012457854
35255212654165   AMBER         SHARPE                   OR         90011062126
35255241231586   KALYAN        RACHAPUDI                CO         90013642412
35255453841258   SHEILA        RANDALL                  PA         90010204538
35255469391881   SUSAN         BREDEMEYER               OK         90014414693
35256656331424   SHARLENA      STEPHENSON               MO         90014606563
35256881191831   RYSHANA       WEBB                     OK         90007858811
35257611861962   SANTOS        ROMERO                   CA         90008566118
35258211991563   HELEODORO     PEREZ                    TX         75038642119
35259189655947   JOSEPH        JIMENEZ                  CA         49075611896
35259233691881   DANICA        CAMPOS                   OK         21097802336
35261372191831   DIANA         OSORIO                   OK         90015023721
35261867391584   KARINA        RUIZ                     TX         90011718673
35261963291371   KATHY         DAVIS                    KS         29046589632
35262712254165   AMANDA        SWISHER                  OR         90010837122
35262777747931   RHEA          MURRAY                   AR         25027757777
35263233891831   JEREMY        DILEY                    OK         90012982338
35264143731424   HALF          JAMES                    MO         90015141437
35264698291831   CARDENUS      BOYLES                   OK         90013366982
35265823731424   MIR RAHEEM    ALI                      MO         27570068237
35266136591371   TIFFENY       MOZINGO                  KS         90002391365
35267337255972   ELIDA         LOPEZ                    CA         90010583372
35269743141285   NEVADA        BOWEN                    PA         90015097431
35269765891563   APRIL         PORTILLO                 TX         90013777658
35272426591563   MARIA         RODRIGUEZ                TX         75025074265
35274393155936   MARIBEL       MORALES                  CA         90014813931
35274859191891   MARTINA       NATASHA                  OK         90014598591
35276176561963   BERNARD       GROEFSEMA                CA         46091891765
35276685554165   CASSI         KRUEGER                  OR         90014796855
35277126891584   LORENA        OROZCO                   TX         90010061268
35277648591584   NIGUEL        OROSCO                   TX         90011286485
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35279259147931   CONSUELO     LUGO                      AR         25062222591
35279939155936   MARTHA       HERNANDEZ                 CA         49036119391
35281282291371   JOSE         BALDERAS                  KS         90010672822
35281427191584   LUIS         GALAVIZ                   TX         90012504271
35282327741285   JOSE         DIAZ                      PA         90015043277
35284354955951   JOSE         DURAN                     CA         90011043549
35286337161963   WILLIAM      MCKINSEY                  CA         46009893371
35287352261963   RUBY         GONZALEZ                  CA         90011503522
35287771141277   DIONELLE     AYERS                     PA         90008527711
35289986591831   LACRERTIA    KNOX                      OK         21006189865
35291174354165   SERGIO       FLORES MUNOZ              OR         90015231743
35292627491891   MELISSA      HILL                      OK         90012126274
35295318991371   TAKELA       ESTES                     KS         29023173189
35295516891891   LONNIE       MURPHY                    OK         90014435168
35295622755972   HILDA        GONZALEZ CEBALLOS         CA         90015176227
35295814641258   SHINETTA     PETERSON                  PA         90004718146
35296184591831   BRANDI       PESTEL                    OK         90011571845
35296568591831   ERIKA        RYAN                      OK         90014685685
35296722491584   MANUELA      GARCIA                    TX         90014757224
35311366791371   ELIZABETH    GONZALEZ                  MO         90006083667
35314925891831   ERIN         CHAFFIN                   OK         90014199258
35315246191831   SARA         HOOD                      OK         90014182461
35315272741258   ELIZAETH     LORESKY                   PA         90014382727
35315842591891   CARY         HERON                     OK         90011798425
35316321191563   VIRGINIA     MARTINEZ                  TX         75095833211
35316659785933   AIMEE        LYNNE-HIRSCHOWITZ         KY         90002196597
35316696391891   JIMMY        DALE                      OK         90014396963
35317611591371   DONALD       JENKINS                   MO         90014296115
35317646941285   MARISSA      PALERMO                   PA         90014496469
35317788654165   JAMIE        OTWELL                    OR         90014807886
35318965361963   QUMAR        AUSTIN-PINES              CA         90001459653
35321742291891   LESLIE       GIBSON                    OK         90012847422
35321819955936   BILL         FOSTER                    CA         49021558199
35322491755972   LUIS         MONTOYA RODRIGUEZ         CA         90014144917
35323573455972   PATRICIA     BRAVO                     CA         90014275734
35325532491563   MELISSA      ZAMBRANO                  TX         75060745324
35325843755972   ITAY DOV     MAYER                     CA         90015068437
35325989391831   TONYA        MCCOLLUM                  OK         21000309893
35326386241285   AMILY        BEATTY                    PA         90009653862
35327322491563   GLORIA       ZAVALA                    TX         90000143224
35328371391371   JUSTIN       DEMERS                    KS         90015383713
35329252755972   ARSENIA      ESPINDOLA                 CA         90014682527
35331134691371   LAURA        GUZMAN                    KS         90013941346
35335586455972   LUIS         BOLELLO                   CA         48049435864
35338652691371   KIEFER       RENFRO                    KS         90015126526
35339589331424   CHASTIDY     RICE                      MO         90010895893
35343142891563   DORA         ESPINO                    TX         90005031428
35344919291831   AZIA         BROWN                     OK         90011599192
35345349561963   RACHEL       RICK                      CA         90011503495
35346265391563   JULIO        OLIVAS                    TX         75098622653
35346523147931   YARILIZ      TORRES                    AR         25091955231
35347974191563   ROSA         ARRIOLA                   TX         75093359741
35349519585996   ANTHONY      KELLEY                    KY         90005505195
35349713991831   KALI         KELLER                    OK         21022097139
35351183641285   JOSEPH       ZORO                      PA         90011251836
35351741241277   ANTHONY      PAYNE                     PA         51084527412
35351871891584   ROSALIA      PONCE                     TX         75098888718
35351976691371   ANDREW       FARISH                    KS         90013749766
35353941172455   RHONDA       SCHEIDMANTLE              PA         51059339411
35355277731424   MARIAN       YARBROUGH                 MO         27586272777
35355579255936   MICHELE      MARTINEZ                  CA         49085185792
35355644554165   JOHNNY       WILSON                    OR         90014736445
35358714731424   GEORGE       PFEIFFER                  MO         27574417147
35358893661925   ANTONIA      MORENO                    CA         46042708936
35362516291371   HEATHER      MCELOROY                  KS         90002625162
35362572855972   ISABEL       MARTINEZ                  CA         90015105728
35362973851323   CINDY        FOSTER                    OH         90005389738
35364115641258   RHUMAUD      BROOKS                    PA         90013821156
35364849841227   WAYNE        MAZZA                     PA         90012598498
35367871291584   IRMA         RODRIGUEZ                 TX         90014668712
35368433755972   CONSUELO     DIAZ                      CA         48046454337
35369112455972   GABRIELA     MENDEZ                    CA         90012631124
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35369482554165   EMILY        MOORE                     OR         90012574825
35371821231424   JOHN         HARLY                     MO         90010898212
35371828754165   MICHEAL      HARLAND                   OR         90014818287
35372828754165   MICHEAL      HARLAND                   OR         90014818287
35372829155972   MONICA       BARNETT                   CA         90014438291
35375492155972   MARYANN      FRANCO                    CA         48011664921
35375937491831   ABDELHAMID   ISMAEIL                   OK         90014179374
35376815255936   GIOVANNI     RAMIREZ                   CA         90009768152
35377842491563   VICTOR       MURILLO                   TX         90007948424
35381121691371   ARON         BARKSDALE                 KS         90014411216
35381635691891   JANETTE      HOUSTON                   OK         90011206356
35381836491584   ELIZABETH    SAAVEDRA                  TX         75008758364
35381884354165   RENEE        STEWART                   OR         90014818843
35382498455972   STEVEN       VALVERDE                  CA         90015094984
35382945254165   SAMANTHA     HALE                      OR         90014819452
35383956754165   ALICIA       STARK                     OR         90014819567
35384843491563   CORA         MESTA                     TX         75029718434
35385219792853   ALEX         DEHERRERA                 AZ         90011952197
35385858455972   CRYSTAL      RIVERA                    CA         90009638584
35387347855936   MARIA        ZAMORA                    CA         90013053478
35388473991371   SAIRA        VILLA-SIMENTAL            KS         90011314739
35389635755936   GUADALUPE    RAMIREZ                   CA         49073406357
35392281791371   EDMOND       RICHMOND                  KS         90014072817
35393315157163   FABRICIO     GARAY                     VA         90005353151
35393885231424   GEE          RUM                       MO         27506568852
35394521541285   RAYMOND      WEIBLINGER                PA         90013885215
35394728991831   CESAR        SALAZAR                   OK         90011577289
35394996354165   JOLINDA      CHAMBERS                  OR         90014819963
35396379361963   TANGO        TEVERBAUGH                CA         90010113793
35396791991584   LORENZO      MENDOZA                   TX         75032357919
35397618691584   JAZZE        SANCHEZ                   TX         90006626186
35398887691563   LETICIA      GOMEZ                     TX         75029718876
35399232591232   NATASHA      JAMES                     GA         90003682325
35399426655972   JILLANA      WILSON                    CA         90012914266
35399428791584   JOSE         GARCIA                    TX         90012504287
35411128555928   PATRICIA     HARRIS                    CA         49091831285
35411156347931   LASHEENA     ALI                       AR         90011421563
35411664291371   JANET        FONDREN                   KS         90013706642
35412368285835   JUAN         ESCUDERO                  CA         90005903682
35412427551339   JOSHUA       BUCHANAN                  OH         66065074275
35414379554151   MCCRARY      PATRICIA                  OR         90002653795
35414413391371   JAMES        COLUNGA                   KS         90002964133
35415488341258   CARLOS       HAMLIN                    PA         90014934883
35417757991891   JAMES        WILLIAMS                  OK         90010287579
35418224491584   ADELINA      FRANCO                    TX         90010722244
35419152791563   MONICA       TORRES                    TX         75089641527
35419429744233   VIRGINIA     BOWEN                     CA         90012304297
35419694391371   LANIQUE      GILBERT                   KS         90015536943
35421578791584   CESAR        CONTRERAS                 TX         90011655787
35422366591584   SKY          MORIEL                    TX         90013573665
35422641591891   BRITTANY     BROWN                     OK         90010856415
35423823551339   KAREN        PARKER                    OH         90012838235
35425381891891   TAWANNA      SOAP                      OK         90014663818
35425578791584   CESAR        CONTRERAS                 TX         90011655787
35425669991563   ABRAHAM      TARIN                     TX         90015066699
35427998851382   RACHEL       HOLMES                    OH         90006499988
35431978391584   ROBERTO      CORTORREAL                TX         90005099783
35432938155972   LAURA        ESPINOZA                  CA         48045689381
35435415991371   BRIAN        WEBB                      KS         90007384159
35437648347931   HENRY        MADISON                   AR         90014156483
35438774177523   CINDI        JENKINS                   NV         43019897741
35438867554165   MARVELLA     GORDON                    OR         47028288675
35439612457554   MELINDA      HERNANDEZ                 NM         90009386124
35445517591891   DIONNE       TRIGGS                    OK         90011465175
35447165991891   TIFFANY      OLIVER                    OK         90005441659
35448479751321   APRIL        TRUE                      OH         90001114797
35449611191584   ARIEL        CARMONA                   TX         90011656111
35453392691584   MARISELA     GARCIA                    TX         90000223926
35454341855936   LEONARD      CLARK                     CA         49017563418
35454595173221   MEL          GALLINDO                  NJ         90015405951
35455175591584   CINDY        ARAGON                    TX         90012971755
35456259147931   CONSUELO     LUGO                      AR         25062222591
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35456746941258   DEANNA       MARPLE                    PA         90004027469
35456848231424   DEANDRE      HAYES                     MO         27562518482
35457632891371   MARIA        NAVARRO                   KS         90009406328
35458322791563   GUADALUPE    ESCALANTE                 TX         90010713227
35459621591831   MELISSA      DANIEL                    OK         90010306215
35459959191584   ARACELI      HERNANDEZ                 TX         90014669591
35461259391563   ANGIE        CLADERA                   TX         75090262593
35462219693761   DONNA        INGRAM                    OH         90005552196
35463416761963   JOSE         DESANTIAGO                CA         90010664167
35463961391584   JAVIER       AGUIRRE                   TX         90014669613
35465879591371   JULIANNE     GREEN                     KS         90012188795
35466983841258   LISA         BRUCE                     PA         51023359838
35467428755972   LUPITA       RICO                      CA         90011074287
35468152391563   DIANNA       BRIONES                   TX         90010271523
35468811931424   LOUTREECE    MILLER                    MO         27552038119
35471771844362   JENNIFER     WASHINGTON                MD         90004147718
35473839154165   LAURA        WHALEN                    OR         90009198391
35473966791584   ROBERT       RAMIREZ                   TX         90014669667
35474366254165   TAMATHA      NEELY                     OR         47011623662
35474662447931   SCOTTY       CASSIDAY                  AR         90002286624
35475756455936   PATRICA      CHONG                     CA         90015177564
35476165547931   JESUS        GALISIA                   AR         90012821655
35476443491831   ERIK         PINKERTON                 OK         90014184434
35476795591584   AUDREY       JUAREZ                    TX         90013067955
35476947461963   PAUL         GARCIA                    CA         90001939474
35477687491584   HERT         CORPORATION               TX         90010486874
35477945591891   CHRISTY      GRAY                      OK         90009969455
35479686961962   MICHELLE     NUNO                      CA         90008206869
35483812741285   MEL          WILSON                    PA         51082398127
35484582355972   GARCIA       LUCIA                     CA         90003695823
35484784731424   EARNESTINE   BRANOM                    MO         27596557847
35486724855936   IRENE        VALDEZ                    CA         49060377248
35489167341258   MICK         DIDOLCE                   PA         90011121673
35489625161963   LAURA        GIL                       CA         90001686251
35491386593761   WENDY        PERLTA                    OH         90009183865
35491464841285   CHRISTOPHE   DAVIS                     PA         51071504648
35493362691584   SERGIO       ORTEGA                    TX         90001183626
35493633155972   VICTORIA     MARTINEZ                  CA         90014936331
35494821871937   APRIL        KERBY                     CO         90010698218
35495117554165   LISA         FRYMAN                    OR         90014881175
35496631855972   STACY        HERNANDEZ                 CA         90001736318
35497626791584   JUAN         DE LA HOYA                TX         90013116267
35497941131424   DOMONIQUE    JOHNSON                   MO         27575769411
35498677955936   DIANA        CALDERON                  CA         90012746779
35512234391891   LESTER       PHILLIPS                  OK         90013342343
35512498947931   KEONIA       NICKERSON                 AR         90015284989
35512887291831   KATHELEEN    LOWE                      OK         90008038872
35513185841285   DANA         YEARMOSKI                 PA         90010471858
35514112141277   IRWIN        BANKS                     PA         51065011121
35514743331424   ANTHONY      LEE                       MO         27577017433
35514995891584   MARIO        CONTRERAS                 TX         90014669958
35517188472439   HEATHER      KOWALSKI                  PA         90012821884
35519746441285   FRED         HARMS                     PA         90014527464
35521578555972   VINCENT      MANDRELL                  CA         90015305785
35522831455972   FRANCISCO    LEON                      CA         48089598314
35523688991563   CARMEN       MEDRANO                   TX         90009726889
35523746991831   SANDRA       GARWOOD                   OK         90013047469
35523957554165   MARCI        WOODY                     OR         90007819575
35524135991371   ESTEBAN      CABRERA                   KS         90014441359
35524397955936   MATTHEW      HERNANDEZ                 CA         90013733979
35526199591587   ANDRES       GONZALEZ                  TX         90001701995
35527663931424   KEENA        CARR                      MO         90011216639
35527861454151   BREAN        ZARATE                    OR         90010348614
35527949554165   PHILLIP      WIDELL                    OR         90014929495
35528718691584   SUSANA       MONETON                   TX         75080397186
35529837341285   OMOBOLA      OLUWATUYI                 PA         51017438373
35531573961963   LUIS         CHAM                      CA         90011485739
35532229755972   JOSELUIS     RIVERA                    CA         90000292297
35536231541285   DENISE       THOMAS                    PA         51041382315
35537993931424   FRAZIER      PAMELA                    MO         90009769939
35538333331424   CHIQUITA     POPE                      MO         27563453333
35538919691563   JULISSA      MARDEN                    TX         90010469196
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35539437647931   ROSALYN       DAVIS                    AR         25009434376
35541546891563   EVA           BARRON                   TX         90013225468
35543499291584   LUBIA         BANDA                    TX         90009644992
35545522791563   CLAUDIA       LOZANO                   TX         90014405227
35547418491891   PAYGO         IVR ACTIVATION           OK         90012204184
35548837141455   ALLAIRE       LAGRONE                  WI         23512318371
35549677654165   GRACIE        QUATIER                  OR         90014936776
35551443491831   ERIK          PINKERTON                OK         90014184434
35551988355936   ALEJANDRINO   DURAN                    CA         90015269883
35552298255972   DALLAS        WRIGHT                   CA         90013492982
35554945591891   CHRISTY       GRAY                     OK         90009969455
35554995191563   LAURA         GOZALEZ                  TX         90013759951
35557738891831   TALESA        FANNIN                   OK         90014837388
35559153547931   VIRGINA       VIZUET                   AR         90015321535
35562543255936   NEFTALI       GARCIA                   CA         90009885432
35562583491891   MIKE          KAYS                     OK         90004025834
35564459655936   CHRIS         LOPEZ                    CA         90015334596
35565216891371   FLOR          ALVAREZ                  KS         90002032168
35565459331424   JANICA        LARUE                    MO         90007974593
35566858231424   BRIAN         DIXION                   MO         90014628582
35567857891563   ELSA          QUEZADA                  TX         75042358578
35568815955972   STELLA        GARMON                   CA         90011528159
35569287991584   JOEL          GUTIERREZ                TX         90006562879
35571383155972   RUDY          ACOSTA                   CA         90004503831
35572392755936   OCTAVIO       GARCIA                   CA         90013553927
35572699231424   SIMON         GOODEN                   MO         27502066992
35572748691891   CARA          THOMASON                 OK         90013737486
35573937491584   CHRISTINA     CAMPOS                   TX         75035829374
35574659155936   BLADIMIR      PASTOR                   CA         90002736591
35576848741258   JOE           MAZZOCCHETTI             PA         90012128487
35577481691371   MARVIN        BURGOS                   KS         29051424816
35578543661945   DENISE        BETTS                    CA         90005285436
35581181991537   RODOLFO       REYES                    TX         90012201819
35582386384326   ANGELETTE     CAPERS                   SC         90013343863
35582639954165   MICHAEL       NORRIS                   OR         90011656399
35583552891371   ZENIA         ACEDO-JURADO             KS         90010405528
35588677741277   KIMBERLY      BANDY                    PA         51064646777
35589342755936   VICTORINO     PEREZ                    CA         90013913427
35589414161925   WES           STEWART                  CA         46090014141
35589422733669   AMANDA        BAUGHN                   NC         90009544227
35591278961972   ERIKA         LOPEZ                    CA         90008662789
35592154754165   LINDA         BENNETT                  OR         90015021547
35594142291584   PAUL          VALENZUELA               TX         90011661422
35594824643571   JUAN          PACHECO                  UT         90004128246
35594951147928   JACQUELINE    CEBALLOS                 AR         90014149511
35595125393761   DEANNA        ABNEY                    OH         90008041253
35595262891831   ELIZABETH     ROACH                    OK         90013032628
35595731191584   CLAUDIA       RIVEROL                  TX         90011577311
35596458241277   BEN           BEYER                    PA         51079504582
35596815991371   CARLI         MCCONNAUGHY              KS         90011238159
35596958731424   T ARA         HURN                     MO         90014919587
35597484331424   JOSEPH        HOLT                     MO         90007974843
35598626131424   TREVON        BISHOP                   MO         90012696261
35598673391891   KEYONNIA      NOLEN                    OK         90013216733
35611518263629   CLAIRE        BOYLAN                   MO         90010625182
35611691141227   RENEE         HUDSON                   PA         51097536911
35612449761963   PAUL          THOMPSON                 CA         90003034497
35612957191831   MARICELA      HERNANDEZ                OK         90003539571
35613298961993   JESUS         DOMINGUEZ                CA         90003472989
35616581491371   ROSIE         GAONA                    KS         90014675814
35617652191891   PEGGY         HENNINGSEN               OK         90010666521
35621736354165   RUTH          PHILLIPS                 OR         90015047363
35622466591371   HEATHER       MATHEWS                  KS         90014844665
35622489491563   ARMANDO       LUNA                     TX         90010394894
35624263391891   NICHOLAS      BROWN                    OK         90010932633
35624379461963   MICHAEL       FRISHKORN                CA         90010503794
35628738761963   SALGADO       LUIS                     CA         90000537387
35631414455972   EVELYN        RIVERA                   CA         90014964144
35632648191563   JOE           GANDARA                  TX         75057346481
35632915951359   MELVIN        LARSON                   OH         66014579159
35637245791891   SHAMON        JONES                    OK         90007362457
35637652891563   ERIC          SIGALA                   TX         90013096528
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35638289891232   JULIAN       MOORE                     GA         90003052898
35638638155972   DUANE        DEAVER                    CA         90007006381
35641525455939   REYES        CORTEZ                    CA         90001775254
35641849333654   SHERRI       NORMAN                    NC         12001548493
35643127391584   SILVIA       AGUIRRE                   TX         90014271273
35643268491371   CRICKET      WIRELESS                  KS         90009982684
35644776241258   SONYA        RUTHERFORD                PA         90001177762
35645828247931   RANDALL      BLANTON                   AR         90013088282
35646798154165   SHAUNTEL     KRIMBOW                   OR         90013257981
35647526941258   AARON        MCCOULLUM                 PA         90014555269
35648139255936   VERONICA     PIMENTEL                  CA         90002021392
35648456491563   CRYSTAL      RUIZ                      TX         90012784564
35649773691538   CLEOFAS      SOTELO                    TX         90007777736
35651332555972   ARTURO       GONZALEZ                  CA         90002963325
35651869391891   BILLY        PERRY                     OK         90007618693
35652265491584   NORMA        OBREGON                   TX         90011662654
35655273847931   LUS          AGUILAR                   AR         90015112738
35656169454165   STEVEN       BRUCE                     OR         90006571694
35657341155972   KIMBERLY     FOGG                      CA         48031033411
35657878361963   MANUEL       CHICO                     CA         46079318783
35659257491563   DIANA        PADILLA                   TX         90014392574
35659935761437   JACOB        DECLOUET                  OH         90013969357
35659976547931   LAURA        MEDINA                    AR         90011449765
35661849547931   PAYGO        IVR ACTIVATION            AR         90009868495
35662711291891   PRECIOUS     GILBERT                   OK         90011107112
35663615647931   MARIA        PATINO                    AR         90009466156
35664538947931   BLANCA       HERNANDEZ                 AR         90005605389
35664778455959   JOSH         AMIS                      CA         90004207784
35665549691363   ANTONIO      LOVE                      KS         90002485496
35666332747931   KENIE        JUROUT                    AR         90010953327
35666785655972   BENITO       ORROSTIETA                CA         90010537856
35667761431424   QUYANA       MITCHELL                  MO         90012347614
35668943391831   MELISSA      NUNEZ                     OK         21033509433
35671717955972   JESSE        HARMON                    CA         90012337179
35672436993762   BARRY        MORELAND                  OH         64510934369
35674211641258   LEONARD      MUCKLE SR                 PA         51069732116
35674495191232   HERIBERTO    HOWARD                    GA         90004384951
35674646191831   DAVID        STONEBARGER               OK         21066126461
35674998855972   MICHELLE     GARCIA                    CA         48007059988
35677331991584   ANTONIO      ROSALES                   TX         90011663319
35681345991584   MARIA        GARCIA                    TX         90011663459
35683245591563   CLAUDIA      CAMILLE                   TX         90007412455
35684534241285   ANDREWE      ROSS-BRANDAU              PA         90014585342
35685425491371   RICHARD      SCOTT BISHOP              KS         90000774254
35687769441285   ERICA        WILLIAMS                  PA         90005097694
35688388791371   MEGAN        TREINEN                   KS         90014813887
35691113191584   AGUIRRE      LORENA                    TX         90014671131
35691374154165   JOSH         GAROUTTE                  OR         47084693741
35693441541258   KIMBERLY     BUJAK                     PA         51039904415
35694174254165   ANTHONY      ARAGON                    OR         90015091742
35695113191584   AGUIRRE      LORENA                    TX         90014671131
35695183854165   BRIAN        WEEKS                     OR         90015091838
35695612155936   BOBBY        URIBE                     CA         90015216121
35695797891563   JORGE        LOPEZ                     TX         75004817978
35697788861963   PEDRO        NAJERA                    CA         90001927888
35699612155936   BOBBY        URIBE                     CA         90015216121
35699688255936   ALBERTO      RAMIREZ                   CA         90012746882
35711859655972   JAIME        MENDOZA                   CA         48015388596
35713387755921   EVELIA       GUERRERO                  CA         90011193877
35713426155972   DARRIN       WALKER                    CA         90012204261
35714332355972   MANUEL       RAMIREZ                   CA         90007273323
35714741891563   SABRINA      LOPEZ                     TX         90013277418
35715955191831   KERRY        STANTON                   OK         90003829551
35716798177531   CARLOS       GARCIA                    NV         90010347981
35717774155972   JENIFFER     THOMPSON                  CA         48010177741
35718111155936   TIBURCIO     HERNANDEZ                 CA         90013581111
35718267291891   VIRGINIA     PIERCY                    OK         21030002672
35719217443536   NATALLIA     KUREK                     UT         90004262174
35719311455936   JORDAN       GROENEWEG                 CA         90008393114
35721672191584   ANTONIENTA   LUCAS                     TX         75077806721
35722651855936   JOMANUEL     TOLENTINO                 CA         90013636518
35722716285955   BRYAN        HUEBENER                  KY         90015357162
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35724556457537   ANTONIO      CHAVEZ                    NM         90012515564
35724965691371   MICHAEL      CHAVIRA                   KS         29039239656
35727353461963   SUMMER       ANDERSON                  CA         46097863534
35727755191831   NIKKI        NEUENDORF                 OK         21054577551
35728172151339   TIMOTHY      HINELINE                  OH         66058201721
35728342155972   JOSE         SALDANA                   CA         90001953421
35731139741285   DAN          LICHTEN                   PA         51019421397
35731195691891   TEQUILA      GRAYSON                   OK         90011331956
35731615355972   DOLORES      GARCIA                    CA         90005996153
35731697791831   RACHEL       BEAN                      OK         90015166977
35732138691584   JOSE         CERVANTES                 TX         90014671386
35733818291371   VANESSA      MCGEE                     KS         90000628182
35733979154165   MATT         HARDY                     OR         90011789791
35734153161962   CASIMIRO     GONZALEZ                  CA         90011421531
35734576491563   LIBIA        VERA                      TX         75047045764
35735928391563   ENRIQUE      SANCHEZ                   TX         90012139283
35738138691584   JOSE         CERVANTES                 TX         90014671386
35738268355972   ELIZABETH    CHAVEZ                    CA         90014272683
35739643255936   MARIA        RUEDA                     CA         49098206432
35744184891584   SARA         PEREA                     TX         75067871848
35744328271996   CARRIE       WATSON                    CO         32032803282
35744476291831   HOLLAND      MARTEN                    OK         90012954762
35744517391359   GEORGE       SCARLETT                  KS         29052295173
35744852491584   JOSE         PAYEZ                     TX         90006388524
35745272491831   ELIZABETH    VINAJA                    OK         21022352724
35747256455972   ROSA         GARCIA                    CA         48047282564
35747776991831   CARMEN       GIBNEY                    OK         90010757769
35751658391584   CARLOS       VELAZCO                   TX         90013116583
35753532541258   NICOLE       GRUBER                    PA         51052965325
35753996491891   ERICK        BROADNAX                  OK         90014969964
35754548341277   GEORGE       BABISH III                PA         51067545483
35756483291584   AMY          MULLIS                    TX         90011664832
35758223191563   PATRICIA     RODRIGUEZ                 TX         90013202231
35759464991537   MARISSA      REYES                     TX         90011224649
35765591354165   PAUL         FERNANDEZ                 OR         47097485913
35766652547931   BRANDI       MILLER                    AR         90013116525
35766941684381   ANDREA       RAMIREZ                   SC         90012349416
35769772455959   LORILEE      ROBINSON                  CA         90013807724
35774675441285   THERESA      OSBORNE                   PA         90013816754
35774836541258   KATHLEEN     FERRARI                   PA         51021088365
35775625991371   BONNIE       DROGE                     KS         90012376259
35776615343571   DENNIS       CONOVER                   UT         90010826153
35777868691891   CAROL        HARPER                    OK         90014768686
35778515455972   YESENIA      BARCENAS                  CA         90015595154
35779781451382   CESAR        RODRIGOES                 OH         90005857814
35781929391563   PRISCILLA    RODRIQUEZ                 TX         90011309293
35782952191371   BRIANA       KIESLING                  KS         90014029521
35783694291891   ANJANNETE    COOPER                    OK         21051076942
35786313155972   CLAUDIA      CONTRERAS                 CA         90013763131
35786355491584   MARIA E      GAITAN                    TX         90009613554
35786688241258   LINDSAY      VASKO                     PA         90009796882
35787974941258   ZULEMA       RUIZ                      PA         51006459749
35789133254165   DANIELLE     MACHUCA                   OR         90015131332
35792459847931   DARREN       DYE                       AR         90014594598
35792646661963   JOSUE        RAMOS                     CA         90010536466
35794789551362   ERIC         BROWN                     OH         90000997895
35794972491371   CAROLINA     PEREZ                     KS         90014359724
35795255454165   WILLIAM      GASS                      OR         90015132554
35795389561973   SCOT         KLUMPH                    CA         46001783895
35796141857367   BRIAN        WILLS                     MO         90014731418
35796554291271   JAMES        CONAWAY                   GA         90008495542
35797241381681   TASHA        FLESNER                   MO         29017382413
35797861547931   JESSICA      MIKIDOU                   AR         90006348615
35798476891371   ANTONIA      DUE?AS                    KS         29016224768
35811515255972   RAFAELA      PONCE                     CA         90009835152
35811734541285   TAD          THORPE                    PA         90014577345
35812626254165   ANNAH        CLARK                     OR         90011396262
35812918754165   ANNAH        CLARK                     OR         90012579187
35813391355936   OCTAVIO      MEJIA                     CA         90014943913
35813415147931   KELLY        JENDESKI                  AR         90012814151
35813464647931   GUSTAVO      GOMEZ                     AR         90014824646
35813812354165   SUSAN        COLLETT                   OR         47083668123
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35813983391563   DANIEL             RAMIREZ             TX         90002969833
35814924955972   EDIE               COMONFORT           CA         90007219249
35815199941285   DONALD             BRANTLEY            PA         90014601999
35815255292853   FRED               JOSWIAK             AZ         90014272552
35815734541285   TAD                THORPE              PA         90014577345
35816734541285   TAD                THORPE              PA         90014577345
35817547377584   KARLA              CORNEJO             NV         43082745473
35817734541285   TAD                THORPE              PA         90014577345
35817798191584   ZACK               RICKS               TX         75085157981
35817835855972   ALAN               CARRILLO            CA         90003698358
35819732491371   JESSICA            ACOSTA              KS         90014327324
35821869147931   ESTELA             JUAREZ              AR         25062348691
35822581991584   PATRICK            LOERA               TX         90011665819
35824213391891   AMANDA             GOAD                OK         90014142133
35824283755936   PETE               KING                CA         90014802837
35825957181621   JUDY               LEWIS               MO         29025519571
35826351131424   ADAM               HENSLER             MO         90014643511
35826424955936   YADIRA             GIRON               CA         90012914249
35826954555972   RODOLFO            ALCANTRA            CA         90010149545
35828453655972   MARIANA            VALDOVINOS          CA         90002034536
35828516731424   VERONICA           OWENS               MO         90009545167
35828681791232   AHMAD              ALI-SALAAM          GA         90012246817
35828754247931   STEFANIE           COOPER              AR         90008247542
35829749691891   LOGAN              BROWN               OK         90013757496
35831928691831   VERNON             GILL                OK         90012779286
35832217647931   MELVIN             JONES               AR         90013742176
35834916841285   WENDY              MCCUE               PA         51021439168
35835247161963   HUMBERTO           PEREZ               CA         90011532471
35835399691371   MARKUS             VANDAWALKER         KS         29084963996
35835533354165   CARLA              WHEELER             OR         90003735333
35835966631424   MARANDA            WILLIAMS            MO         90010899666
35835985691831   MARQUITA           TOLBERT             OK         90012039856
35836154631424   SANDRA             WILKES              MO         27550151546
35836168191563   JOSE LUIS          CRUZ                TX         90010271681
35836863547931   IAN                MOTES               AR         90013588635
35837382291371   JAIME              MONTOYA             KS         90011393822
35838398341258   DAMON              DIPAOLO             PA         90006333983
35839742555972   JAMES              PENA                CA         90012437425
35842133141277   CATHLEEN           LONG                PA         51086521331
35842778947931   ALTERIA            LEWIS               AR         90014707789
35843352191831   YOLANDA            GONZALEZ            OK         90014693521
35843527191959   LATAUSHA           TABRON              NC         17005835271
35844166291584   MANUEL             ERIVES              TX         90015181662
35845133191891   CHARLES            CLEM                OK         90002401331
35845134691371   LAURA              GUZMAN              KS         90013941346
35847176351339   JESSICA            PROPPS              OH         90008371763
35847624391584   JANET              NUNEZ               TX         90011666243
35851115261963   STEVEN             MANN                CA         90004331152
35852917831424   J                  TAYLOR              MO         90003659178
35853156141277   ERIC               BROOKS              PA         90006491561
35854382791371   PRABHASH KUMAR     PATRO               KS         90015123827
35856612751865   HILARIO            EABIN               NY         90015456127
35857225391891   MARINA             VILLARREAL          OK         90013292253
35858555285996   MARIO              PEREZ               KY         90000265552
35859319955936   LUIS               DURAN               CA         90001763199
35859477731424   PAUL               BALLARD             MO         27543914777
35861272955972   BEATRIZ            LIZAMA              CA         90010272729
35861668541285   RON                GRISER              PA         90010296685
35862711947931   CARL               LACKEY              AR         90005297119
35863684455936   GREGORY            RODRIGUEZ           CA         90012316844
35863948155936   GREGORY            RODRIGUEZ           CA         49053059481
35864694154165   LYN                NIX                 OR         90004676941
35864872754165   ARTHUR             LANE                OR         90015208727
35865487831424   DONNA              BINGHAM             MO         90014644878
35865969751594   JOAN               CREES               IA         90015519697
35868771531436   DEBORAH            GRAY                MO         90002137715
35871775591371   RAYMUNDO MARCIAL   DE HOYOS VERDUGO    KS         90010797755
35872169891994   CARLA              POSVIC              NC         90005531698
35872827431424   TEASHA             CUNNINGHAM          MO         90011458274
35872972991584   ERICK              EGURE               TX         90011669729
35874932291584   ANGELICA           PEREZ               NM         90006449322
35875283355936   JOAQUIN            JIMENEZ             CA         90001042833
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35875589491831   RUBI         QUINTANA                  OK         90014685894
35877527743571   TAWNEE       HANSEN                    UT         90011285277
35877754941285   ROBERTA      PAXON                     PA         90013637549
35878174891563   BRENDA       AGUILAR                   TX         90010271748
35878187661963   FRANCISCO    OLVERA                    CA         90006341876
35879187391563   EMANUEL      ESTUPINAN                 TX         90007951873
35879466591371   HEATHER      MATHEWS                   KS         90014844665
35881549691584   MONCERRAT    GRANADOS                  TX         90007685496
35881725941277   SHAWN        REINERTSON                PA         90009437259
35882236831657   CURTIS       KITCHEN                   KS         90008632368
35883293891525   MARIBEL      WOOD                      TX         90013142938
35883735891831   KAYLA        RIPPY                     OK         90005417358
35884212291584   HILDA        ASTORGA                   TX         90014132122
35884279955972   JOSH         RODRIGUEZ                 CA         48007752799
35884644341258   THOMAS       GILMER                    PA         51017546443
35886223991584   SOCORRO      PARRAZA                   TX         90014672239
35888481791891   CASEY        MARTIN                    OK         21005034817
35889586755972   STEPHANY     SERVIN                    CA         90015005867
35891223341258   MIKE         WILLIAMS                  PA         51094702233
35891678354165   STANLEY      WARREN                    OR         90001816783
35894774131424   MIRANDA      LAUGHLIN                  MO         27591997741
35895272431424   FRANSOTA     SWOPES                    MO         90011052724
35895638891891   LORI         WOOD                      OK         90006606388
35895661731424   FRANSOTA     SWOPES                    MO         90011806617
35896175391584   JOSHUA       DE SANTIAGO               TX         90014681753
35897676155972   FRANK        JIMENEZ                   CA         90010136761
35912136961963   FOXCY        SMITH                     CA         46054731369
35912339891891   JENNIFER     BRESHEARS                 OK         90007313398
35912526255936   NICONORA     HERNANDEZ                 CA         49040515262
35913847431424   SYLVIA       BLACK                     MO         90005958474
35914336431424   MELISSA      HARRSON                   MO         90014653364
35914523921936   JEFFERY      BROWN                     IN         90012695239
35915232991584   EDGAR        RENTERIA                  TX         90014672329
35915381555936   TEMPLE       VALENCIA                  CA         90013713815
35915643684347   BEVERLY      BROWN                     SC         90010496436
35917223755972   JOSE         VILLALOBOS                CA         90012192237
35917976191563   JESUS        GUILLEN                   TX         75037239761
35918854891831   BRANDON      EVANS                     OK         21079568548
35919612255936   ALICIA       HARNER                    CA         90014706122
35922865691563   NORAYVETTE   TORRES                    TX         75019468656
35925478891371   MARIA        ARAMBULA-CARRILLO         KS         90012914788
35925814991563   YVONNE       AGUILAR                   TX         90013698149
35926996141285   DONNA        COUSINS                   PA         51055499961
35928249131424   FLIEG        MICHAEL                   MO         27503422491
35933685255936   SARAH        COLE                      CA         90015216852
35935896191831   PATRICIO     GOMEZ                     OK         21027438961
35936245691584   RAUL         RAMIREZ                   TX         90014672456
35938245691584   RAUL         RAMIREZ                   TX         90014672456
35938633141258   WILLIAM      NAU                       PA         51007556331
35939646854165   TIMOTHY      RICE                      OR         90010576468
35941732141285   ALISHA       SMITH                     PA         90014587321
35943713655936   NELIDA       VASQUEZ                   CA         49013847136
35944137791891   PAYGO        IVR ACTIVATION            OK         90015001377
35944349141258   MICHELLE     NIEHL                     PA         51074123491
35944417331424   CRYSTAL      WATSON                    MO         90014654173
35945243841285   CHRIS        HOHMAN                    PA         90014602438
35945879291891   MAGHAN       WALKER                    OK         90014828792
35946252555936   APOILNAR     CRUZ                      CA         49042852525
35947592691891   TARA         ANDERSON                  OK         21068475926
35948317741258   MELISSA      GARRISON                  PA         90005883177
35948684891563   LEONILE      CRANADOS                  TX         90010886848
35949274591587   CHRISTY      SALAZAR                   TX         90011012745
35949411241258   WILLIAM      SMITH                     PA         90009464112
35949996354165   SETH         LANEY                     OR         90015159963
35952113991831   RYAN         HORTON                    OK         90014801139
35952215991891   CHRISTIAN    CALABAZA                  OK         90013292159
35953174954165   SHEILA       HAMMONS                   OR         90002281749
35953647141258   COLBY        WEAVER                    PA         90010286471
35956292151382   KRISTAL      EDMONDSON                 OH         66049512921
35957635891563   ANTHONY      TALAVERA                  NM         90004996358
35958292151382   KRISTAL      EDMONDSON                 OH         66049512921
35958334291831   FATIMA       GAETA                     OK         90010173342
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35959115855972   MAYRA          TINOCO                  CA         90005991158
35961249241277   ZINA           LOWE                    PA         90002222492
35962798855972   AGUILAR        GABRIEL                 CA         90006227988
35967271291584   OSCAR          MARTINEZ                TX         90014672712
35968258491584   HERNANDEZ      SYLVIA                  TX         90014672584
35968266441285   ARNELL         BARNETTE                PA         90014612664
35968733341277   PATRICK        OHARA                   PA         90008507333
35968813991587   XIAO           GUILLEN                 TX         90014888139
35971367191538   JUAN           LOPEZ                   TX         75069843671
35971753191584   WILFREDO       SOLIVAN                 TX         90010367531
35972297954165   LARRY          KENNETH                 OR         90015162979
35972397455972   VERONICA       SISNEROZ                CA         90011513974
35974673754165   LEANNA         HURST                   OR         47060686737
35974764191891   CRAIG          FARNELL                 OK         90014317641
35974896851382   ERIC           BEARD                   OH         90005868968
35976536761963   SABAH          TOMA                    CA         90011295367
35977258491584   HERNANDEZ      SYLVIA                  TX         90014672584
35977424954165   JOHN           AUBERT                  OR         90012534249
35978588455972   SOFIA          CRUZ                    CA         90004445884
35981424954165   JOHN           AUBERT                  OR         90012534249
35981952247931   JESSICA        FRASHER                 AR         90004029522
35982561551594   JOHNA          WADEL                   IA         90015415615
35983428755972   LUPITA         RICO                    CA         90011074287
35983641691891   CHRISTIAN      ALBABRO                 OK         90012036416
35983685255936   SARAH          COLE                    CA         90015216852
35984712455936   MARIANITA      LOPEZ                   CA         90013797124
35985476155936   ALEXIS         MOLINA                  CA         49095124761
35987592341285   CHELSEA        BUGIELSKI               PA         51068855923
35987647531424   PRESTON        DAVIS                   MO         90011256475
35987694432573   CASEY          BOWEN                   TX         90015216944
35987755654165   CHRISTINE      KELLY                   OR         90002907556
35988561941258   TRACY          SMITH                   PA         90012865619
35992267991584   TAYLOR AMBER   CORDOVA                 TX         90014672679
35992388655936   REBECCA        RODRIGUEZ               CA         90011353886
35995192691831   TOMIKA         VERSER                  OK         90014211926
35995276791563   PAUL           CHAVARIA                TX         90013642767
35995645531424   KEITH          WARE                    MO         27521616455
35995796141277   KARRIE         MUNZ                    PA         51002637961
35995925941258   JASON          THEYS                   PA         90007099259
35996938731424   LARRY          GLASSON                 MO         27512719387
35996964341258   STANLEY        HORVAT                  PA         51084289643
35997283154165   MARIO          CARLOS                  OR         47002282831
35998367454165   REMEDIOS       MARICHE CORTES          OR         90015163674
35999625941277   ANGIE          LEE                     PA         51064746259
36111376541258   LORI           ANN WERNER              PA         90010343765
36112843455972   RAUL           GUITERREZ               CA         90003008434
36114615951382   DAVID          ABNER                   OH         90015026159
36115345291831   DEIRO          WILLIS                  OK         90001893452
36115473451339   CURTIS         HAMILTON                OH         90009724734
36116883161962   RUBEN          BARRIOS                 CA         90004308831
36119264891831   TRACY L        CADDY                   OK         90014372648
36119644791891   JAMES          JOHNSON                 OK         90015106447
36121498431424   ROSANDA        MITCHELL                MO         90014744984
36121994691891   CAROLYNE       FALUCONER               OK         90004719946
36123439591584   JESSICA        RUIZ                    TX         75036004395
36125498431424   ROSANDA        MITCHELL                MO         90014744984
36125872251321   ERICA          ALLEN                   OH         90012558722
36126334741258   MICHELLE       MCCABE                  PA         51012723347
36126513531424   BRANDON        MCKNIGHT                MO         90014745135
36126519155972   ANDY           ANDRADE                 CA         90010505191
36127729255972   MARIA          HERNANDEZ               CA         48046447292
36127981191831   VINCENT        RAGLAND                 OK         90015139811
36128179991891   BOBBIE         MCDONALD                OK         90012601799
36128434791584   FRANCISCO      SANTIESTEBAN            TX         75036504347
36128873161963   MEREDITH       JOHNS                   CA         90005078731
36133494951382   LISA           MOORE                   OH         90008544949
36134111441258   MYAH           DAVIDSON                PA         90014211114
36135181957172   KARINA         PERALTA                 VA         90003421819
36137296451339   MIKE           MCFARLAND               OH         66062842964
36137476941258   ABDELKADER     TABETI                  PA         90007064769
36137799461963   LUIS           PULIDO                  CA         90013077994
36138652391584   LUIS           MENDOZA                 TX         75084156523
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36141234731424   MARK         HALBERT                   MO         27551052347
36143153591363   LUCINDA      SENDA                     MO         90004941535
36144754191891   JENNIFER     TAYLOR                    OK         90009787541
36145614741251   KATHERINE    MOSLEY-TURNER             PA         51045646147
36145855261963   RUDY         FRANCO                    CA         90002458552
36146266591891   BRANDY       CLOPTON                   OK         90011232665
36147846941285   CHRISTY      LOWRY                     PA         90002348469
36148319755951   MELINDA      GUTIERREZ                 CA         49055053197
36148442761963   WATHIK       YOUHANA                   CA         90014184427
36151526361963   BRANDON      CUMMINGS                  CA         90014775263
36151786741258   BRIAN        CLAYTON                   PA         51028337867
36151837855972   SILVA        TERAN                     CA         48066728378
36152484493785   MATTHEW      WRIGHT                    OH         90013524844
36153583741285   ANDREW       SMITH                     PA         90013205837
36153879761963   MIKE         CAGLE                     CA         90002888797
36154256791891   NATALIE      LEIPHARDT                 OK         90009392567
36155289891584   ISELA        MADRID                    TX         75002262898
36155824291831   FONDRA       EDWARDS                   OK         21081078242
36156452791584   CLAUDIA      VALENCIA                  TX         90014764527
36157262691584   VICKY        RAVELO                    TX         90010842626
36158156151339   DEBBIE       COX                       OH         90009441561
36158715555972   JOSE         GONZALEZ                  CA         90003037155
36161692151339   MALINDA      MESSER                    OH         90014586921
36165195932573   MIKE         ASHLEY                    TX         90011761959
36166183591891   DESHAUN      EDWARDS                   OK         90010271835
36166897777531   ROBERT       JOHNSON                   NV         90002368977
36167659891584   ELISA AIDE   RICO                      TX         90014746598
36168819755951   EDWARDO      LOPEZ                     CA         90012748197
36172268951339   LESLIE       DURBIN                    OH         66097482689
36173546231494   TAVON        BROOKS                    MO         90008475462
36174785791831   JESUS        RUIZ                      OK         90002647857
36175982391584   SAMUEL       TREJO                     TX         75092679823
36176462451339   ARIELE       HADDIX                    OH         90013064624
36178318361963   RAYMOND      JACQUES                   CA         90011583183
36178989151865   DAVID        WISE                      NY         90015459891
36179713851339   NICOLE       MASON                     OH         90003797138
36182399491831   MARILYN      COLLEY                    OK         90011703994
36182791255951   CODY LEE     ALLEN                     CA         90010587912
36183694991232   KISHA        ROYAL                     GA         90010306949
36184569441285   STACEY       TUNDER                    PA         51097875694
36185253191831   CORTNEY      BROWN                     OK         90011852531
36188795341258   KATRINA      TATE-WHITLOCK             PA         51005967953
36189295431424   MONICA       STEWART                   MO         90014762954
36189419851382   MARY         MITCHELL                  OH         90010294198
36189497691343   VANESSA      MOLINA                    MO         29003754976
36189857155951   DAWN         PORTER                    CA         49025898571
36189946891584   JESUSQ       RUIZ                      TX         90012909468
36194724541258   CINDY        CLYMIRE                   PA         90011597245
36196946891584   JESUSQ       RUIZ                      TX         90012909468
36197576551382   JENNIFER     POLLEY                    OH         90015035765
36198111551339   ASHLEY       REY                       OH         90013471115
36198717651382   NASHANA      GLOVER                    OH         90015027176
36199717651382   NASHANA      GLOVER                    OH         90015027176
36199921557126   MEDARDO      LOPEZ                     VA         90008609215
36211586655972   NENG         THAO                      CA         90011495866
36211621681557   PAUL         BALAS                      IL        90012336216
36212596761963   MIKE         STEVENS                   CA         90004785967
36217151361963   DONGLAS      DILLAY                    CA         90013941513
36217369591359   ESTELA       ORTIZ                     KS         90015323695
36217795555972   KIM          PARRA                     CA         90014137955
36219689191584   CRISTINA     GARCIA                    TX         90014746891
36221383772496   TRAVIS       NEIDERHISER               PA         90003873837
36221581155972   MARTIN       GUZMAN                    CA         48059885811
36221694691584   SANDRA       GASPAR                    NM         90014746946
36223222691831   MARIO        GARCIA                    OK         90015202226
36223625391943   JUAN         TECAN                     NC         90008856253
36223643391891   JAMIE D      FREEMAN                   OK         21045706433
36224494761986   EDMUNDO      ESPINOZA                  CA         90003484947
36229326985933   STEVE        KELLEY                    KY         90013093269
36229579541285   ANGELA       BETTS                     PA         51004305795
36229785751339   DIEGO        CASTRO                    OH         90010497857
36233877241285   JEWANA       DAVIS                     PA         51088268772
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36235459331424   LISA         WARE                      MO         90014764593
36235575691831   DARNELL      WALKER                    OK         90011705756
36236298541285   MYESHA       MCCLADON                  PA         90010142985
36236797161982   JOHN         CRUZ                      CA         90000867971
36236993855972   JEFFREY      VANHERREWEGHE             CA         90013559938
36238154955972   RACHEL       VELASQUEZ                 CA         90003061549
36239483761963   LAURIE       PEVETO                    CA         90010904837
36245633851339   ANGELA       ZINCK                     OH         66094206338
36248171551362   TAMARA       CORTES                    OH         66097651715
36249984761999   SHANICE      EDWARDS                   CA         90007569847
36252761891831   ROXANA       IBARRA                    OK         21073467618
36252793251339   TAMMY        BRADEN                    OH         90012247932
36252881851339   THEODORE     BLOCK                     OH         90015018818
36253332961963   TANYA        EVANS                     CA         90010673329
36255254861963   PATTY        GUTIERREZ                 CA         90002942548
36255466836143   REINALDO     DORTA                     TX         90011684668
36257213671943   NICOLE       GUERRA                    CO         90014332136
36257535661963   MARIA        ALDRETE                   CA         90014785356
36259166291561   SERGIO       FLORES                    TX         90010801662
36259185291584   HECTOR       RODRIGUEZ                 TX         90011811852
36263581141285   KELLEY       JOHOVIC                   PA         51043885811
36265651961963   FRANCISCO    BERNAL                    CA         90014826519
36266659736143   ADRIANA      GONZALES                  TX         73596026597
36266812991831   ESTEFANY     OLIVERA                   OK         21052068129
36268445461963   FAREED       DAWOOD                    CA         90001164454
36268466541285   JAIMIE       STYCHE                    PA         90010024665
36271456551339   TRAVIS       ALLEN                     OH         90013474565
36272193731424   DEEDEE       IULI                      MO         90014771937
36272345191271   STACY        SHABAZZ                   GA         90013003451
36275831331424   JAMES        MCMULLIN                  MO         90012168313
36277827851339   JOSEPH       REED                      OH         90014918278
36279235855972   VERONICA     GUTIERREZ                 CA         48004352358
36281285255972   ANTONIO      CONTRERAS                 CA         48014472852
36282117461963   HECTOR       ARROYO                    CA         90013091174
36283341257138   ELENA        ARBELAEZ                  VA         90008533412
36283856951339   BRIAN        TAULDEE                   OH         90011578569
36284611255972   GUADALUPE    IBARRA                    CA         90013616112
36284732751594   MARIO        ELA                       IA         90014457327
36287232261963   DASHAWN      FOX                       CA         90013942322
36289278991587   EDDIE        RIOS                      TX         90007472789
36292497555951   CASPER       NICHOLS                   CA         49010034975
36292931141285   AMBER        MASSEY                    PA         51008529311
36294484141246   JENNIFER     KUWICKI                   PA         90008644841
36294491591831   GEROGIA      NINO                      OK         90014814915
36294926455951   TAMMY        FREEMAN                   CA         90011109264
36295595855951   CANDACE      JOHNSON                   CA         90011655958
36295917241258   PONEBSHEK    SUN HEE                   PA         51085889172
36295925771921   LINDA        GREGG                     CO         32084369257
36313131141258   STEPHEN      FRISCO                    PA         51072711311
36314118991584   EVA          MARQUEZ                   TX         75042381189
36314757355951   MAYRA        BARRAGAN                  CA         90011877573
36315152641285   MORGAN       DAVIS                     PA         90007521526
36318118261963   JENNIFER     HURLEY                    CA         90013801182
36318856751339   ALISON       ROUSTER                   OH         90001008567
36318866941285   JOSEPH       JORDAN                    PA         90012098669
36319197941258   WENDY        DOBRANSKY                 PA         90014301979
36321618141297   SAMANTHA     SMAJDA                    PA         51091796181
36321928885996   MARIO        CORTEZ                    KY         90013879288
36322531231424   SAM          BOWMAN                    MO         90004635312
36323127351382   KAYLA        TURPIN                    OH         90009411273
36323454331424   RICKY        EMILY                     MO         90014774543
36323873951382   BRANDEN      HIBBITTS                  OH         90010968739
36325146436143   CRYSTAL      CHACON                    TX         90004771464
36328291655933   JUAN         CEBALLOS                  CA         90011882916
36332717972496   NICKIE       WHIPKEY                   PA         90010057179
36334225191891   BRADLEY      SOWELLS                   OK         90015192251
36334654255972   MONIQUE      HANNNAN                   CA         90011496542
36336226955951   RACHEL       ORDONEZ                   CA         90012902269
36336484591891   CYNTHIA      MARIANO                   OK         90014854845
36337217391891   TINA         THOMAS                    OK         90012262173
36337667855951   TERESA       MONTES                    CA         49057816678
36339646391891   HOLLIE       WOOD                      OK         90013446463
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36339958291831   GREEN        CHANDIS                   OK         90011709582
36341558131282   LAKISHA D    COLLINS                   IL         90012515581
36343373851339   JAE          RIVERA                    OH         90012943738
36343459591584   SULEMA       BUENO                     TX         90014764595
36344727641258   WILLIAM      ZIMMERMAN                 PA         51001457276
36344955655933   SILVIA       ALMANZA                   CA         90007059556
36347973351339   JESSE        WILLIAMS                  OH         66064659733
36348766455951   DOGG         DOGG                      CA         90009747664
36348946991584   MARIO        GONZALES                  TX         90014389469
36349442151339   JORGE        SALAZAR                   OH         90015324421
36351895841258   KATHY        COPPLE                    PA         90011748958
36352845555951   MARTHA       OROZCO                    CA         90008818455
36353348731424   KELLY        HUIGHE                    MO         27562873487
36353671955972   MARIA        IBARRA                    CA         90009966719
36353811241285   JOSPHE       BISHKOFF                  PA         90015388112
36354262691584   VICKY        RAVELO                    TX         90010842626
36354359657335   TYLER        JAMES                     MO         90015563596
36354816591525   SERGIO       RODRIGUEZ                 TX         90001068165
36357418231424   MIA          CONEY                     MO         90014844182
36358356291891   DEANNA       ADAIR                     OK         90009033562
36361395241258   DARLENE      STAYMATES                 PA         51002423952
36363945891831   TEQUILA      FRANKLIN                  OK         90014759458
36364392391891   SHANIKA      DEAN                      OK         90013583923
36364944891584   DAVID        JOHNSON                   TX         90010959448
36366785341285   LOYD         ROBERT                    PA         51075267853
36367489961963   AYMEN        KIRKUKI                   CA         90003324899
36369358691584   TOMAS        GONZALEZ                  TX         90014583586
36369914431424   CLYDE        HAYES                     MO         90014789144
36371111655972   MARIA        DELGADO                   CA         90003741116
36373724761963   JESSICA      DELL                      CA         90013117247
36374262351382   JOSE         ANDRADE                   OH         90011242623
36375964591891   ROSALYN      BROWN                     OK         90002619645
36376847841258   MICHAEL      TARBY                     PA         90011598478
36378697431424   GENE         RAYFORD                   MO         90014056974
36379164631424   LATISHA      JOHNSON                   MO         90014781646
36379392655951   ERICA        MARTINEZ                  CA         49057843926
36379931891232   JUSTIN       HINES                     GA         90011609318
36382531336143   EVA          GONE                      TX         73596525313
36382926231424   CRYSTAL      GLASS                     MO         90014789262
36383891455972   ALMA         ISAIS                     CA         90013818914
36384285391584   ROCIO        GARCIA                    TX         90013712853
36384312591891   SHANE        PITTS                     OK         90011863125
36384351841258   SHAWN        WRIGHT                    PA         90009673518
36384954131424   NAKISSIA     EVANS                     MO         90014789541
36385173361963   YESENIA      DURAN                     CA         90013101733
36385548341258   FELICIA      COLMAN                    PA         51060005483
36386233931424   AMANDA       COLBERT                   MO         90014782339
36388747541258   TIFFANY      JOHNSON                   PA         90002457475
36391327351339   ALEXANDER    RYAN                      OH         90010333273
36391374591831   RONNIE       FLICK                     OK         90013023745
36392281731424   NECHELL      ADAIL                     MO         90014782817
36394586751339   NATE         BOTTS                     OH         66001535867
36395668736143   BRIANNA      RODRIGUEZ                 TX         90011726687
36395796991525   GRACIELA     TERAN                     TX         75025157969
36398317231424   JOHNNY       DONELSON                  MO         90011123172
36399181161963   VALENCIA     JOHNSON                   CA         90015041811
36411285763625   KIM          KELLER                    MO         90010022857
36411965951382   FRANCISCO    VILLATORO                 OH         90006889659
36414149961963   ERIC         WHITAKER                  CA         90013951499
36414655255972   FELIPE       HOLGUIN                   CA         90004726552
36415573591891   DAVID        SWEARINGEN                OK         90012085735
36415643955947   LUIS         MEZA                      CA         90011156439
36415956251339   DENISE       KERR                      OH         90001539562
36416193161963   DAVID        GONZALES                  CA         90003331931
36417846491584   PHIL         BROWN                     TX         90014748464
36418645291584   REBECCA      PAEZ                      TX         90011816452
36418982451339   TERRY        GOODE                     OH         90015079824
36419344255972   KELLY        FERGUSON                  CA         90012323442
36419664651339   CINDY        ROTH                      OH         90013776646
36419846491584   PHIL         BROWN                     TX         90014748464
36422295855972   TAMY         ROBINSON                  CA         48016822958
36423887861963   IRVIN        MCFARLIN                  CA         90000378878
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36424153251392   DENNIS        TURNER                   OH         90012041532
36425125661474   AMONDAUX      DALTON                   OH         90014291256
36425569891891   CAROLYN       MAXWELL                  OK         90015315698
36426157361963   SAEED         WAAD                     CA         90013801573
36426231931424   BRENDA        HURSEY                   MO         27554942319
36426628451392   STACY         TURNER                   OH         90012146284
36426675791584   ADRIAN        LOERA                    TX         90011816757
36427519291232   LUQMAN        EL AMIN                  GA         14578755192
36427825991891   JIMMY         COOPER                   OK         21097928259
36428153251392   DENNIS        TURNER                   OH         90012041532
36428195691891   MORGAN        CLARK                    OK         90014661956
36429535931424   NEKEITA       FULTON                   MO         90013865359
36429672141285   STEVEN        JOHNSON                  PA         90009236721
36431792431424   RODERICK      HOLBROOK                 MO         27560587924
36434668591891   STACY         ALLRED                   OK         90008316685
36435229255951   YOUN          POK                      CA         49016202292
36435418561963   OLNI          CALLAHAN                 CA         90003444185
36435928655972   ALICE MARIE   MARTINEZ                 CA         90015119286
36437574236143   HILDA         TAVARES                  TX         73503545742
36438175131424   PATRICIA      RICE                     MO         90007771751
36438426241285   ANDREA        HANNER                   PA         90007974262
36438919391891   WATTS         KAMISHA                  OK         90012849193
36441436361981   GEORGINA      BAUTISTA                 CA         90007534363
36442959531424   ALISHA        TAYLOR                   MO         27597179595
36443939655972   BRANDON       MONROY                   CA         90013639396
36445289761963   CASEY         LONG                     CA         90013952897
36445392255951   CHRISTINE     JAMES                    CA         49016203922
36446294155972   EMILY         DOMINGUEZ                CA         90010922941
36446891755951   JONATHAN      ESPEJO                   CA         90011078917
36447169555939   DIEGO         CABRERA                  CA         90014951695
36448377991584   OMAR          JACABO                   TX         90006743779
36449544831424   EPIPHANI      DALE                     MO         90014785448
36449927861963   JONATHAN      SAN AGUSTIN              CA         90013649278
36452834531493   LATISHIA      BOLDEN                   MO         90012538345
36454333991584   LAURA         GINEZ                    TX         90013263339
36454752161963   ERIK          MORGAN                   CA         90012667521
36454971251382   JUAN          RIUZ                     OH         90005379712
36455443455972   ANGEL         REDONDO                  CA         90012524434
36456436855972   JESSICA       VALDEZ                   CA         90012204368
36457219261963   ANALEE        NARANJO                  CA         90008892192
36457977231424   MORGAN        JOHNSON                  MO         90014789772
36458181161963   VALENCIA      JOHNSON                  CA         90015041811
36458462155972   GRAMELIA      GARCIA                   CA         90013634621
36458735491584   MIGUEL        HERNANDEZ                TX         90011817354
36458755886436   CHALVALIER    MARQUEE                  SC         90011167558
36458778351392   IVY           CLARK                    OH         90006877783
36459237836143   ARKEIA        ALEYANDER                TX         90003622378
36461362961963   ALMA          CARRILLO                 CA         90013953629
36462283657138   ANA           ROLDAN                   VA         90008812836
36462363661963   GLORIA        OCEGUERA                 CA         90013953636
36464452155979   BRENDA        PINEDA                   CA         90005014521
36467589341285   STEVEN        ROSS                     PA         90013315893
36468253184368   CLAUDE        MCELVEEN                 SC         14582232531
36468797231629   BONNIE        AHLSTEDT                 KS         90006427972
36471717477584   MAXIMILIANO   FARIAS                   NV         90006267174
36472562657173   STEPHANIE     VERGARA                  VA         90012975626
36473286791584   CORONELL      ROBERT                   TX         90008492867
36473868591831   HARRY         SIMMONS                  OK         90013118685
36474657751339   JASON         LOVILL                   OH         90010666577
36474913155972   MISAEL        RAMIREZ                  CA         90012629131
36476198491584   JUAN          CARREON                  TX         75036171984
36476352351339   LISA          BROWN                    OH         90008103523
36477398455972   MAURA         CUELLAR                  CA         48060573984
36477619157569   BRYAN         WESTON                   NM         90015156191
36478371351339   JAMES         KNISLEY                  OH         90014573713
36478514791831   NA SASHA      MOORE                    OK         90011715147
36479168441258   ASHLEY        RUEA                     PA         90009941684
36479282155939   BLANCA        GUTIERREZ                CA         49059222821
36479361651339   ELIZABETH     INGRAM                   OH         90006663616
36479975791891   CYNTHIA       WILSON                   OK         90015209757
36481462191584   IVONNE        DIAZ                     TX         75064114621
36484861791584   EZEQUIEL      DELARIVA                 TX         90014748617
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36485984655951   RICHARD      GARCIA                    CA         90012269846
36486789291584   ESTHER       MONTOYA                   TX         90011817892
36486851991891   KERI         GIBSON                    OK         90014508519
36486877191232   RICARDO      PEREZ III                 GA         14591708771
36486957991232   RICARDO      PEREZ III                 GA         90014669579
36487345741258   RAYMOND      SCHRELLO                  PA         51011793457
36487438691891   LYNN         SOLBACH                   OK         90012584386
36487694541285   CRAIG        ROMAIN                    PA         90013606945
36488531131424   BERNARD      JOYNER                    MO         90015205311
36489522741285   SUNBEAR      COE                       PA         90010785227
36491243861984   JORGE        BARRIGA                   CA         90010602438
36492426491584   MARISOL      ARIAS                     TX         90000764264
36493544393761   ELONDA       DANCE                     OH         90006025443
36494438251382   JILL         BIERMAN                   OH         66097874382
36497438251382   JILL         BIERMAN                   OH         66097874382
36498972536143   MARIA        HERNADEZ                  TX         73573319725
36511779155972   LUIS         MARQUEZ                   CA         90007927791
36513249451339   JESSICA      CAMPBELL                  OH         90013012494
36513668941285   ELIZABETH    DOYLE                     PA         51025496689
36515853736143   JOE          GARCIA                    TX         73533328537
36515922291831   DARREN       JONES                     OK         90009789222
36517276691831   JEREMY       SMITH                     OK         90015182766
36517634155972   CHRISTINA    NUNEZ                     CA         48042946341
36517911236143   THERESA      GALLEGOS                  TX         90011789112
36518565751382   DIEGO        CEBALLOS                  OH         90006905657
36519832891584   RAMIREZ      AJ                        TX         90011818328
36524781161963   ALYSON       MCCREERY                  CA         46048987811
36525498691831   ORIELLE      WASHINGTON                OK         90014814986
36525785141285   JANAYA       PEOPLES                   PA         90013837851
36526536561963   MICHAEL      TACTAY                    CA         90013955365
36527749361963   OSCAR        AMADOR                    CA         90014187493
36528537655972   MARIA        DEORIJEL                  CA         90010255376
36529746691561   ELSA         SOLIS                     TX         90009907466
36531785841258   NATHAN       KISZER                    PA         90014247858
36534742991831   TIFFANI      GERMANY                   OK         90014417429
36535799991831   ALEJANDRO    GUAJANDRO                 OK         90000897999
36539319851339   MALLORY      BLAIR                     OH         90012743198
36539495231424   SHAYLA       BUCKLEY                   MO         90002614952
36539868686524   BARRY        GOSNELL                   TN         90014648686
36541545691831   MIGUEL       ARREOLA                   OK         90012905456
36541856951339   BRIAN        TAULDEE                   OH         90011578569
36541972551339   JUSTIN       CARTER                    OH         90014379725
36542114351359   JESUS        JACINTO                   OH         90013331143
36544298255972   VICTORIA     TORRES                    CA         90013302982
36545517955972   SAMANTHA     HINTZ                     CA         90013035179
36546127151339   ANDREA       LATIMORE                  OH         90014711271
36546421151339   ANDREA       LATIMORE                  OH         90002924211
36547538851347   DYLAN        CONN                      OH         66087475388
36548932161986   ROBERTO      CRUZ                      CA         46080849321
36549697391891   MICHEAL      YOUNG                     OK         21096126973
36553157285966   SHELLEY      JETT                      OH         90010671572
36554999761963   KORFO        LEMI                      CA         90002319997
36556585791831   BENJI        ROWE                      OK         90003215857
36557337241285   FRANK        LAGANA                    PA         90004693372
36557687491891   COLBY        ALEXANDER                 OK         90013826874
36558131691891   BREANNA      JONES                     OK         90003301316
36558972991584   ERNESTO      MORALES                   TX         90001149729
36559891236143   MIRIAM       RAMOS                     TX         73526318912
36562766691891   MAURICE      WHITE                     OK         90011307666
36563195631424   LATARI       HARROLD                   MO         90014791956
36565369755951   LOURDES      SALTO                     CA         90007303697
36565434291891   FRED         OLIVER                    OK         90013124342
36566465155972   ANGELA       RODRIGUEZ                 CA         48000304651
36567396191584   ROSARIO      LARA                      NM         90003193961
36568164651339   DEANNA       MICHELLE                  OH         90005981646
36568352755972   CHRISTINE    ROSADO                    CA         90013183527
36568787461963   ALEX         LOPEZ                     CA         90014187874
36568972341285   WILLIAM      KABLACH                   PA         51036299723
36569466361963   ANGELO       CAUDLE                    CA         90011654663
36571134984326   LESLIE       GANT                      SC         90006091349
36572791661963   ANNA         LOPEZ                     CA         90014187916
36573643751382   MELVIN       JONES                     OH         90002446437
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36574779391831   BLANCA          ARREOLA                OK         21081957793
36576132251339   DAVID           HELTON                 OH         90006331322
36576986155972   STEFANI         SHELER                 CA         90009679861
36577315655951   MARISELA        GUITERREZ              CA         90010593156
36577612485921   LATASHA         WRAY                   KY         90014986124
36578244131424   NICHOLAS        HOFFMEISTER            MO         90014792441
36578327491584   CESAR           GARCIA                 TX         90014773274
36579165161963   DOMINIC         CARRANZA               CA         90013161651
36579473255972   CYNTHIA         CONLIN                 CA         48089774732
36582198741258   VICTORIA        MCGINNIS               PA         51061971987
36582878441285   ERIC            LIPPERT                PA         51039458784
36585385377359   ARTURO          ARZATE BUSTOS          IL         90012503853
36585955761963   SHAWNA          GARCIA                 CA         46021849557
36586681936143   MANUEL          VALADEZ                TX         90006936819
36586889783288   ANGEL           PATTON                 TX         90014028897
36587678791891   JANE            MILLER                 OK         21056036787
36589132251339   DAVID           HELTON                 OH         90006331322
36589642261963   DANIELLE        DUNCAN                 CA         90011656422
36593225961963   EDEN            PONCE                  CA         90013682259
36594142931424   DONNA           CHAMBERS               MO         90011071429
36594332691584   MARTHA          CORREA                 TX         90014773326
36594884351339   RODNEY          MITCHELL               KY         66047448843
36595173161927   CLAUDIA         GOMEZ                  CA         90012041731
36597678184351   JOSE            CARREDANO              SC         90010956781
36598183731432   ZACHARY         KELPE                  MO         90004001837
36598256836143   AMANDA          ZUNIGA                 TX         73514462568
36599215391891   KARILYN         ROBBINS                OK         90011482153
36599446655951   FATIMA          GUTIERREZ              CA         90010554466
36611229751339   NICHOLAS        MILLER                 OH         90014502297
36611767651382   CARLA           COLE                   OH         90012687676
36612521491584   NIDIA           CALDERON               TX         90014765214
36612576481557   THOMAS          JONES                  IL         90012855764
36612887455951   SAUL            SERRANO                CA         49062698874
36613786991584   YULMA CORAL     ALVAREZ                TX         90013067869
36613853736143   JOE             GARCIA                 TX         73533328537
36614781925621   KENNY           WORTHEY                AL         90014517819
36616521591584   YANET           MONTOYA                TX         90014765215
36616876851382   TRACY           HENSLEY                OH         90009928768
36619352851339   CANDY           COLLINS                OH         66039993528
36619525191584   VICTOR          FARN                   TX         90014765251
36621558291975   DANIELA         OREA                   NC         90013305582
36622525191584   VICTOR          FARN                   TX         90014765251
36623224841285   DERRIAN         SLOAN                  PA         90014102248
36623525191584   VICTOR          FARN                   TX         90014765251
36623993661963   KENIA           CANTELLANO             CA         90013969936
36624455255972   EDITH           GONZALEZ               CA         90009924552
36624525191584   VICTOR          FARN                   TX         90014765251
36625525191584   VICTOR          FARN                   TX         90014765251
36628952393761   ANITA           HEMMING                OH         90003559523
36629218641258   BENJAMIN        MORALES                PA         90010562186
36629948855972   FRANSICO        MUNEZ                  CA         90007809488
36631111361963   GABRIELA        ARENAS                 CA         90013971113
36631796741285   CHRISTY         BLOOMER                PA         51068047967
36632561955972   ALJEANDRA       MARTINEZ               CA         90013965619
36634947855972   ALEJANDRA       PADILLA                CA         90015059478
36635177955951   DONALD          SANCHEZ                CA         49023221779
36635646591584   JOSE            RIVAS                  TX         90011826465
36636589341285   STEVEN          ROSS                   PA         90013315893
36636764257126   LOURDES IRENE   GARCIA                 VA         90003217642
36637375241285   JAMIE           SCHNEIDER              PA         90008723752
36637589591584   GUADALUPE       MARTINEZ               TX         90010735895
36644453631424   CARLA           JOHNSON                MO         90014794536
36645473991584   ROBERTO         RIVAS                  TX         90014624739
36648767961963   JOHN            BAILEY                 CA         90014947679
36651873761963   JENNIFER        MCINTOSH               CA         90010698737
36652575555972   HELEN           SALINAS                CA         90013965755
36652813351339   REBECCA         LEACH                  OH         90006708133
36653879831424   CASSANDRA       CLEMENT                MO         90014858798
36654833691831   CAMERON         HENDRICK               OK         90014598336
36655679361963   GINA            LERMAMATEO             CA         90008046793
36658118731424   EUYLAN          WELCH                  MO         27558551187
36663148891584   MARTIN          AVILA                  TX         90011821488
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36663414955957   BERTHA       HERNANDEZ                 CA         90010734149
36664928255972   ALOUNEE      SEE                       CA         90007389282
36665223851339   LATASHA      HOOKS                     OH         90013912238
36667918691831   BOOKER       HURTE                     OK         90014419186
36668236872441   CLAUDETTE    HOLIK                     PA         51015282368
36668526341258   ANGEL        ESCALONA                  PA         51030645263
36668936991891   CRYSTAL      RILEY                     OK         90014369369
36669626961963   TAYLOR       HUNT                      CA         90011666269
36669737641258   ETHEL        RICHIE                    PA         51084897376
36671452354195   JOHN         BREITMEYER                OR         90005684523
36674629161963   JEANETH      ECHON                     CA         90011666291
36676568351339   ILIANNY      RODRIGUEZ                 OH         90011355683
36678931155972   ANGELA       CHAVEZ                    CA         48087759311
36681298451594   MEBRAT       TADESE                    IA         90012462984
36682642931424   MONICA       HINDSMAN                  MO         90008356429
36683669941285   RONALD       ARLOTT                    PA         90010776699
36684477491831   ZELLAREE     VANN                      OK         90010264774
36685183731424   ZACHARY      KELPE                     MO         90004001837
36685512655951   LOPEZ        ADRIANA                   CA         90005785126
36685683991831   ANDREW       BROWN                     OK         90005316839
36685938555972   JUAN         MELENDEZ                  CA         48095469385
36685957591891   ANTONIA      CAMACHO                   OK         21057109575
36687411241258   DARLENE      JACKSON                   PA         51021924112
36687497155951   LORY         TORREZ                    CA         90004544971
36689344141285   ROB          MALONE                    PA         51064973441
36692773455972   ROGER        WHITFIELD                 CA         90012887734
36694296455972   JOSE         ZAPEDA                    CA         90014232964
36695651891584   AIDA         PARDO                     TX         90010556518
36695777631424   JESSICA      HOLMES                    MO         27578337776
36697524181667   MARTA        KIFLE                     MO         90006365241
36697992951382   SHIELAH      SMITH                     OH         90011279929
36699171355957   DANIEL       RODRIGUEZ                 CA         90010741713
36699889741285   BREANNE      MAZZA                     PA         90015228897
36711584251339   STEPHANIE    ADKINS                    OH         90013065842
36711842871996   BONNIE       MOON-WALKER               CO         90013628428
36712843355951   ANTONIO      HERNANDEZ                 CA         90011518433
36713217391891   TINA         THOMAS                    OK         90012262173
36713688861963   JORGE        HERNANDEZ                 CA         90010336888
36714579491891   WENDY        PENNEY                    OK         90011115794
36715637355951   RICARDO      ESCALERA                  CA         49077306373
36719117451339   MIRELYS      TORRES                    OH         90013371174
36721266331424   BRADLEY      AUBUCHON                  MO         90014362663
36723578191584   CARLOS       RAMIREZ                   TX         90014765781
36723643591891   JOSEPH       LINDSEY                   OK         21046996435
36724184341258   KEVIN        KEENAN                    PA         90005091843
36724582891584   STEPHANIE    JAZQUEZ                   TX         90014765828
36724676755972   SHANNON      JONES                     CA         90012116767
36724971941285   TILMON       MOYE                      PA         51039469719
36725245191891   DIANNA       MANNS                     OK         90014802451
36727432155972   YOLANDA      HARROUN                   CA         48061664321
36728526155972   MOISES       ZARAGOZA                  CA         90013565261
36729817341285   RAY          PATTERSON                 PA         90013628173
36733241591396   JEROD        JACKSON                   KS         29095982415
36734128371924   KIM          HHOWARD                   CO         32092411283
36734645855972   SERGIO       PALOMERA                  CA         90011726458
36736352654154   CARRIE       RICHARDSON                OR         90014093526
36737655431424   CARVELL      HOUSTON                   MO         90001106554
36739698491891   NATASHA      PERRY                     OK         90010516984
36741557291831   JESUS        MOLINA                    OK         90011725572
36742247133638   KATIE        ATTON                     NC         12020762471
36744113461963   EXXIEANN     CORTES                    CA         90014821134
36744387291891   ALAN         PERRY                     OK         90010523872
36748147251339   DOUG         MATHIS                    OH         90010481472
36749981861963   SAAD         MATTI                     CA         90014839818
36751383991891   TAMMY        GILLENWATER               OK         90010533839
36752217551382   AMANDA       LEECE                     OH         90012602175
36754275991584   LILIA        OCHOA                     TX         90011822759
36754342451382   LINSEY       PATTERSON                 KY         66096293424
36754429441285   MARY         HALL                      PA         51065894294
36756139555972   JAVIER       CHAVEZ                    CA         90014831395
36756782555972   HECTOR       MANZO                     CA         90012887825
36757198155972   JESSE R      GALEANA                   CA         90010691981
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36759362651339   LEAH         AGINS                     OH         90002913626
36761674255972   MARTHA       PEREZ                     CA         90000606742
36762732141285   TINA         JARACZ                    PA         90000227321
36763315491831   NORBERTO     BANOS                     OK         21008713154
36763339461963   LEAH         DURBIN                    CA         90011513394
36765523231424   DAVIDSON     MERRIWEATHER              MO         90014865232
36767532631424   SHARON       COLEMAN                   MO         90014865326
36768433991584   HEBER        SANCHEZ                   TX         90010424339
36769237541258   COREY        HAZELBECK                 PA         90014242375
36772311991584   NONIE        MENDEZ                    TX         90011823119
36772899961963   JESSICA      MCGRAW                    CA         90011688999
36773128371924   KIM          HHOWARD                   CO         32092411283
36773257492853   JULIAN       VILLA                     AZ         90015412574
36774346591584   VICTOR       OCHOA                     TX         90010453465
36776156741285   KEVIN        BARNETT                   PA         51084291567
36776477861963   RODRIGO      OCAPMO                    CA         90002324778
36776894851339   JAMES        FLETCHER                  OH         90008328948
36779566731424   ALENE        MARTIN                    MO         90014865667
36782935791891   MARISELA     YEBRA                     OK         21088679357
36784247441258   MARTIN       HARP                      PA         90014242474
36784828591587   IVAN         PUENTES                   TX         90007318285
36785665291831   NIANG        DOPMUI                    OK         90014466652
36786339291584   LLOANA       VIRRUETA                  TX         90011823392
36786714155951   CHEYENNE     VARELA                    CA         90011557141
36787675591584   ELIZABETH    HERNANDEZ                 TX         90014156755
36792962341285   BETTY        ROSE                      PA         90014529623
36793349991584   ADRIAN       RETANA SOLORIO            TX         90014773499
36793897731424   TAMIKA       TURNBOW                   MO         90014708977
36794352755972   CHRISTINE    ROSADO                    CA         90013183527
36794835655951   MAURICE      KELLY                     CA         90005428356
36795631161963   MAURICE      DELA                      CA         90004286311
36795865951339   TONYA        WILLIS                    OH         66010128659
36796211861963   HUGO         MARTINEZ HERRERA          CA         90002122118
36796523291831   MELISSA      ALBUS                     OK         21006205232
36797457151339   TYSON        SCHAUER                   OH         90014664571
36797647191232   ELIZABETH    PARE                      GA         14587276471
36798355336143   MARIECELLA   DELEON                    TX         90000943553
36799376951339   PRESTON      HAINES                    OH         90011543769
36799563391891   MEGAN        NEWTON                    OK         90014845633
36799766291831   KODY         HARRIS                    OK         90011727662
36799858151382   CHRISTINE    THOMAS                    OH         90009018581
36811367491831   AMANDA       JOHNSON                   OK         90008103674
36812431261925   SCOTT        SALUS                     CA         46002214312
36812798751382   RICHARD      ALLEN                     OH         90014827987
36813139955951   OMAR         VENEGAS                   CA         90003271399
36813395391584   MONICA       BURCIAGA                  TX         90014773953
36813785255962   JENNIFER     GUTIERREZ                 CA         48008837852
36814553891584   VICENTE      CRUZ                      TX         90005145538
36814616791831   MARIAH       SCRAPER                   OK         21079776167
36815318451382   MARTEZ       MARSHALL                  OH         66097933184
36817395751325   GAYLE        COLVIN                    OH         66052013957
36821872191831   ADRIAN       DIAZ                      OK         90011728721
36822862891584   ARMANDO      OCHOA                     TX         90015228628
36824762291831   CARLA        THOMAS                    OK         90014467622
36825298355972   ALFREDO      MENDOZA                   CA         90001862983
36825911991831   RICHARD      KELLEY                    OK         90009509119
36826188991891   SARAH        ARMSTRONG                 OK         90014791889
36827532141258   THOMAS       EICHERT                   PA         90011215321
36828627391891   JEAN         MARTIN                    OK         90012336273
36828875161963   MARIA        GRANDE                    CA         46001558751
36828958751339   MICHELLE     ALBERTSON                 OH         90012099587
36829173351382   KRISTIN      THOMAS                    OH         66049831733
36829581531424   RENNE        HOLMES                    MO         90009515815
36831688991584   CARMEN       MEDRANO                   TX         90009726889
36831849351339   SHERRY       FUGATE                    OH         90002288493
36833338951339   DONALD       ELAM                      OH         90012323389
36833813791831   KAYLA        BROWN                     OK         90012388137
36835152131424   CHRIS        BOWMAN                    MO         27594491521
36835675141285   ASHLEY       MATHIS                    PA         90011136751
36836762155927   ALICE        CANO                      CA         90011907621
36837596491584   CYHTHIA      CORDOVA                   TX         75071795964
36837989755972   BEATRICE     GARCIA                    CA         90003969897
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36838197961963   LUAY         KURKEES                   CA         90014891979
36838371791831   KALEE        CHRISTENSEN               OK         90008193717
36841498661963   DEBRA        GRAHAM                    CA         90009944986
36841747681681   JASON        BARTON                    MO         90004087476
36841888191584   REBECA       CALDERON                  TX         90010728881
36841937651339   ROBERT       WEIMER                    OH         66016009376
36843397491584   BOBBY        MORALES                   TX         75047813974
36843789238531   CHRISTIAN    YOUNG                     UT         90012317892
36846245491584   VIAHNEY      CHAVEZ                    TX         90013022454
36847493191584   JESUS        GURROLA                   TX         90014774931
36848142191584   VANESSA      CASTORENA                 TX         75023401421
36848541141258   JOHN         FINNEGAN                  PA         51013955411
36849857531424   BARREN       BOYCE                     MO         90014868575
36854211741258   WAYNE        GORDON                    PA         51007282117
36855259961963   ROBERT       FLANAGAN                  CA         46084762599
36855316355972   ANGELICA     GONZALEZ                  CA         90004753163
36856425991831   ANGELA       WILLIAMS                  OK         90009214259
36858426391584   JUSTIN       FIFER                     TX         90014774263
36858461551339   BILLY        RUSSELL                   OH         90010704615
36861157361963   SAEED        WAAD                      CA         90013801573
36861463461963   ALBERTO      PEREZ                     CA         90014904634
36861987831424   CHRITINA     RODGERS                   MO         90008959878
36862484555972   DIVINA       NAVARRETTE                CA         48076904845
36863463461963   ALBERTO      PEREZ                     CA         90014904634
36866426161963   AMILIA       RESENDEZ                  CA         90009674261
36867193851339   TODD         CURRIER                   OH         90010541938
36867745591537   BRIAN        REYES                     TX         75029297455
36869297477523   ELIZABETH    RUIZ                      NV         43024582974
36869697991831   SHAYLA       JACKSON                   OK         90007476979
36871656741258   LISA         ANTKIEWICZ                PA         90002846567
36872418355951   IVETTE       VARGAS                    CA         90003274183
36872913751363   VICKIE       SHEETS                    OH         90009639137
36873543751339   ERIN         PERCIFULL                 OH         66000255437
36873647593785   TESSIE       BECKNER                   OH         90011956475
36874351841258   SAMANTHA     BUCK                      PA         90014243518
36874975961963   MICHAEL      QUINN                     CA         90006839759
36875249855972   ISRAEL       CHAVEZ                    CA         90010692498
36875339385841   JAIME        RIVERA                    CA         90003873393
36876979131424   ARVELL       CONEY                     MO         90014869791
36877578641285   LATOIA       COLLIER                   PA         51060795786
36878949455972   DAVID        SANCHEZ                   CA         90015059494
36881267855927   LIZBET       PADRON                    CA         90010132678
36881445191891   COLLIN       SWANAGAN                  OK         90013234451
36883692155972   HOPE         URIAS                     CA         90013996921
36883967391584   DIANA        HOLGUIN                   TX         90006139673
36884983655951   ESTEBAN      ARCHAN                    CA         90005679836
36885744355972   SERENA       LEYVA                     CA         48079627443
36886637755951   RUBEN        MARQUEZ                   CA         90010426377
36886692961963   ROLANDO      ESPINOZA                  CA         90004406929
36887821391891   NELSON       HUNT                      OK         90011008213
36889138691891   CHRISTIAN    CALABAZA                  OK         90011011386
36891974391584   CLAUDIA      FELIX                     TX         90011079743
36894599655972   MICHELLE     SCHOETTGEN                CA         90012995996
36895257155972   ADELA        DELMASO                   CA         90013482571
36895457791891   CHARITY      CHRISTWELL                OK         90011034577
36896662751339   JUAN         FLORES                    OH         90015086627
36898272947931   DAVID        PUGH                      AR         25050132729
36898794791584   NORMA        MARTINEZ                  TX         90012447947
36899661591891   JAMES        STIMMEL                   OK         90011036615
36911841655972   JORGE        FERNANDEZ                 CA         90015218416
36912126855951   KELLIE       PAYNE                     CA         90010501268
36912138851339   BOBBY        CORNETT                   OH         90011531388
36912418691537   AMY          MUGG                      TX         90007724186
36915593191584   MARIA        ELIZALDE                  TX         90014775931
36916897751382   TERRY        MCNAMARA                  OH         66098328977
36919748231424   TORRY        WILLIAMS                  MO         90010027482
36921499391584   VIOLETA      VALDEZ                    TX         90014774993
36921736751329   ASHLEY       YOUNG                     OH         90013187367
36922977391584   JAIME        SIFUENTES                 TX         75045549773
36923218631424   PAYGO        IVR ACTIVATION            MO         90014872186
36924221741285   FELICIA      DEGREE                    PA         90012832217
36924247841285   JOSH         BOONE                     PA         90015522478
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36927499691831   CLAUDIA      JIMENEZ                   OK         90011734996
36932635391584   MARIA        DE LOS ANGELES            TX         90013606353
36932732641285   MYA          ARTHUR                    PA         90010777326
36933145241285   ARMANDO      GARCIA                    PA         90012111452
36934187357123   FIDEL        RODRIGUEZ                 VA         90006401873
36935942851339   DAVID        HATTON                    OH         90010729428
36936213155972   VICTOR       RODRIGUEZ                 CA         90001082131
36938734291584   LOURDES      RIOS                      TX         75053547342
36938973157172   SAMUEL       DOGBY                     VA         81074089731
36941397361963   MINDIE       LUNDY                     CA         90015043973
36941545731586   ZACHERY      MCACTIVATION              NY         90014825457
36943681455947   TRECHIA      HOUSER                    CA         90010886814
36944944141285   JAYMAH       HARTAGE                   PA         90015219441
36945362851339   GARY         THOMPSON                  OH         66088173628
36947958591584   OSCAR        CHAVEZ                    TX         90011829585
36948541281667   LORENA       JOHNSON                   MO         90006945412
36948733761963   MARTIN       RUIZ                      CA         90015047337
36949253391584   MAGDALENA    IGLESIAS                  TX         75072642533
36951869841258   TIFFANY      BARBER                    PA         90014248698
36952216691584   MANUEL       COHETO                    TX         90013912166
36953491861963   SIMON        HUBBLE                    CA         90004424918
36954766551339   SHERRY       BACKER                    OH         90004237665
36955189241285   JEFFREY      EDDER                     PA         51005451892
36955433351382   ALIYAH       HAWKINS                   OH         66090374333
36955848231424   EPONY        SNEED                     MO         90001028482
36956321191972   JENNY        PERRY ESTRADA             NC         90012983211
36957624531424   RAMANU       MOHAMMED                  MO         27518396245
36958774751339   ESTRADA      YESENIA                   OH         66052617747
36959221751339   BRITTANY     SMITH                     OH         90009692217
36959747561963   JUDITH       FIEDLER                   CA         90015047475
36962662355972   LUPITA       DE ANDA                   CA         90008976623
36963164471996   MICHAEL      SMITH                     CO         90014271644
36963164751339   JAMES        COBY                      OH         90013601647
36964537155972   MELISSA      GUTIERREZ                 CA         48021985371
36965232591831   MARK         WELLS                     OK         90015202325
36965255851339   CARLA        WEBB                      OH         90014642558
36967232491891   ASHLEY       BOYKINS                   OK         90014712324
36968294391584   DORA         ROBLES                    TX         90005392943
36969294391584   DORA         ROBLES                    TX         90005392943
36969656831424   KENNETH      COX                       MO         90011076568
36972164471996   MICHAEL      SMITH                     CO         90014271644
36972586251339   VICTORIA     SMITH                     OH         90014545862
36972617291891   BRIAN        JOHNSON                   OK         90011136172
36973577191584   JAIME        TORRES                    TX         75088475771
36973931831424   ANDREA       POWELL                    MO         90009579318
36974258941297   HAROLD       MICHAELS                  PA         90003652589
36974517751339   MARCUS       CASH                      OH         90014575177
36975471561963   SANI         MAROOKI                   CA         90004964715
36975645261986   GUILLERMO    DOMINGUEZ                 CA         90012166452
36975665291584   ESTELA       FLORES                    TX         90014076652
36977246851382   MERT         BECKER                    OH         90007102468
36977282491831   KIM          HURLEY                    OK         90003232824
36977338951339   DONALD       ELAM                      OH         90012323389
36977517491584   FRANCISCO    JARQUIN                   TX         90014775174
36978242741258   PETER        HESS                      PA         51045972427
36979282491831   KIM          HURLEY                    OK         90003232824
36979881941258   DENNIS       LAWSON                    PA         51067648819
36981424555972   CHERELLE     FINLEY                    CA         90009334245
36987758155972   BRYAN        SCHAPPER                  NV         90013867581
36987774751339   ESTRADA      YESENIA                   OH         66052617747
36988263151339   MICHAEL      BURKE                     OH         90004242631
36991294151339   BRITTANI     GENTRY                    OH         90004242941
36991424731424   NATASHA      JACKSON                   MO         90014874247
36992511991891   LISA         HANSON                    OK         90013535119
36996163751339   ASHLEY       EVERIDGE                  OH         90014391637
36997328841285   DONTE        WILLIAMSON                PA         90012523288
36997528891584   LUIS         TOVAR                     TX         90014775288
36999458851339   AMY          HITCHCOCK                 OH         90004244588
37111237655951   JOVITA       PRIDGEON                  CA         90012942376
37111726391395   BECKY        MANCHION                  KS         90007597263
37112336531424   MONTELL      GUNN                      MO         90014213365
37112751791831   KEVIN        SERNA                     OK         90012787517
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37114212741285   MAXINE          BEATTY                 PA         90011202127
37116272291578   LIZET           HERNANDEZ              TX         75013652722
37116283484334   SARAH           HOLMES                 SC         90004222834
37116642191584   JESUS           MALDONADO              TX         90013226421
37117361491584   ARMANDO         BETANCOURT             TX         75087703614
37119375391893   RUSSELL         BARNETT                OK         90013553753
37121257891584   WHITNEY         RIOS                   TX         90011222578
37122187941258   FRAN            WEAVER                 PA         51032351879
37122436255964   GONZALO         RIVERA                 CA         90012444362
37122862691893   MIGUEL          ROJO                   OK         90009608626
37124655755972   FELICIA         BROWN                  CA         90015156557
37126311673221   AILEEN          ACOSTA                 NJ         90014073116
37126377741285   CANDICE         PERCHMAN               PA         51076293777
37126521291893   AURTHER         DAVIS                  OK         21034655212
37126853555972   CHRIS           LOPEZ                  CA         90012928535
37129125191831   BRANDON         COAKLEY                OK         90015351251
37129632291584   ADRIANA         RENTERIA               TX         75032806322
37136231141285   CARMEN          JORDAN                 PA         51080782311
37136639455951   AMALIA          GRADY                  CA         90012446394
37136748531424   TIFFANY         WALLER                 MO         90004407485
37136852655972   KHAM            SEECHAN                CA         90013978526
37137596991584   EVELYN          GUERRA                 TX         75061845969
37138258685837   KEITH           QUARTERMAN             CA         90011842586
37138387655972   MARC            MILLS                  CA         90013833876
37138848741258   JOE             MAZZOCCHETTI           PA         90012128487
37141446991893   ASHLEY          WYNN                   OK         90013554469
37141746291584   EUGENIA         LONGORIA               TX         90012727462
37143711133682   CHRISTIAN       DUMAS                  NC         90014087111
37145552491584   HECTOR          JURADO                 TX         90007565524
37146472191893   KENDRA          THOMPSON               OK         90013554721
37148184891584   SONIA           CARRASCO               TX         90002391848
37149884691584   OMAR            ESCALONA               TX         90014838846
37151349541285   THOMAS          WRIGHT                 PA         51070083495
37152591755972   ALEXIS          TORRES                 CA         90013885917
37152837441285   ARDRETTA        SCOTT                  PA         90014568374
37152857561921   LEONEL          MARTINEZ               CA         90012048575
37154343291584   MARINA          DELGADO                TX         90011223432
37154522791893   HEATHER         HARTLEY                OK         90013555227
37156721891893   TAMIRA          AUGUSTINE              OK         90014917218
37156897691831   FRED            MCCOMBS                OK         21072788976
37158288155972   LORNA           FINDER-SHILTS          CA         48048952881
37161117984345   KEVIN           BRANHAM                SC         90014091179
37164576791584   YOLANDA         SIMENTAL               TX         90002145767
37165559591831   ANTHONY         TEYON                  OK         90013695595
37171493191831   FELICIA         GRAY                   OK         90013074931
37175332491232   HASAN           PROCTOR                GA         90011053324
37178934655972   ALONDRA         MARTINEZ               CA         48054759346
37179289155951   ANTONIO         PALESTINA              CA         49062892891
37179713291893   EVELYN          LANDAVERD              OK         90013557132
37182379891584   FIDEL           URIBE                  TX         90011223798
37182461455972   GUADALUPE       ORTEGA                 CA         90011624614
37183385557139   LEYDI BEATRIZ   MENDEZ                 VA         90011673855
37185339591831   CLAYTON         JOHNSON                OK         90011003395
37186963555951   CHRIS           ROBBINS                CA         49031229635
37187771431494   LAVERNE         ROBINSON               MO         90015017714
37187792891893   KELLI           BURCH                  OK         90013557928
37189344141285   ROB             MALONE                 PA         51064973441
37192661771955   TORIBIO         MARTINEZ               CO         90010956617
37195866291831   WHITNEYY        SORTORE                OK         90013648662
37197996931424   PAUL            OLSON                  MO         90012299969
37198958391893   LUCIANA         VEGA                   OK         90013559583
37199883731424   KATHERINE       VENTURA                MO         27596598837
37212935981557   DANIEL          LAFEVERS               IL         90013069359
37213135277357   MARC            BATES                  IL         90010191352
37213397472495   NICK            ROSA                   PA         51010423974
37215943655951   LORI            ZUNIGA                 CA         49039149436
37219291641258   SARAH           GOLEM                  PA         51096942916
37223314455972   AUGUSTIN        PENA                   CA         90013833144
37226675391831   ARNOLD          CORTEZ                 OK         90015106753
37227229891893   SHAINA          PENNINGTON             OK         90013562298
37227551751321   ANTHONY         JOHNSON                OH         66074155517
37227777451382   ALEXANDER       DECALUWE               OH         66094497774
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37228129741285   TAMMY        ADAMS                     PA         51040351297
37228791992853   MELLANIE     COMBEST                   AZ         90014017919
37232683757126   DEJA         BROWN                     VA         90001876837
37234795231424   BRITTANY     BRECKENRIDGE              MO         90013307952
37235416791893   VALACE       SANDERS                   OK         90015214167
37236151191831   STEPHANIE    TULSA                     OK         21075941511
37236276155951   OLIVIA       ABARCA                    CA         90012942761
37238667591893   MIKE         PRINCE                    OK         90014936675
37239489741258   JOHN         MAINOLFI                  PA         51036314897
37239853691584   JASON        PEREZ                     TX         90002918536
37242434741258   DEON         BENTON                    PA         90013554347
37242998155972   VANESSA      RODRIGUEZ                 CA         48005169981
37244861454151   BREAN        ZARATE                    OR         90010348614
37246885491584   NANCY        CARRERA                   TX         90014838854
37248885491584   NANCY        CARRERA                   TX         90014838854
37249429231424   CHARLES      ROBINSON                  MO         90011924292
37251287791935   ANYA         MCGILVEARY                NC         90014902877
37251484791584   REBBA        LEGE                      TX         90010484847
37251731841285   JERRI        JONES                     PA         51093937318
37251885491584   NANCY        CARRERA                   TX         90014838854
37252893991584   ADRIAN       ZAPIEN                    TX         90014838939
37254893991584   ADRIAN       ZAPIEN                    TX         90014838939
37255771741285   C WEBB       JACKSON                   PA         90013617717
37257331491584   MIRIAM       OLIVARES                  TX         90006393314
37258352991584   EDUARDO      ARRIETA                   TX         90005703529
37259549891584   MARTHA       MARTINEZ                  TX         75017795498
37262917791893   SAMANTHA     BELL                      OK         90014719177
37264813231424   JOANN        PIZZO                     MO         90013308132
37265437491831   AMBER        COLEY                     OK         90004204374
37265967391584   JESSICA      VARGAS                    TX         90014849673
37267763141258   DWAYNE       FREEMAN                   PA         51032597631
37267834531424   VERNTEZ      JONES                     MO         90011398345
37268287631424   MICHELLE     AUSTIN                    MO         90005222876
37271961391831   QUANTE       WILLIAMS                  OK         90010459613
37272162391893   WHITNEY      WINKLE                    OK         21030071623
37274622955951   KARLA        MORENO                    CA         90011656229
37274768393744   NICOLE       MARTIN                    OH         90012347683
37275533491893   APRIL        DOBYNS                    OK         90008055334
37277284241258   AMOS         JACKSON                   PA         90012882842
37277297755972   FRANCICA     RAMBEAU                   CA         90014902977
37278268891831   MARIAN       TURNER                    OK         21052102688
37278568184359   KEITH        PINCKNEY                  SC         90013735681
37279586491893   CARLA        VILLADA                   OK         90013565864
37279631755972   ARTURO       ASPEITIA                  CA         90006116317
37281876655972   VIRGINIA     DURAN                     CA         48018258766
37283355855972   SANDRA       HUERTA                    CA         90012053558
37284273531424   JAY          JENNINGS                  MO         90009022735
37284577455972   TIFFANY      COX/JOHNSON               CA         48024715774
37285287191587   LEONOR       VALDEZ                    TX         90004452871
37287361155972   JOSE         RODRIGUEZ                 CA         90012723611
37291628841258   JAMIE        MAZZA                     PA         51056746288
37292649791831   BEATRIZ      CRUZ                      OK         21073566497
37297913191584   NOEMI        TORRES                    TX         90014839131
37311789955972   ANGEL        LARA                      CA         90012907899
37311973791893   JODY         WHITE                     OK         90011569737
37312489391271   AUDREY       YOUNG                     GA         90001844893
37312652255951   KONG         LEE                       CA         90006526522
37313732131424   KESHEARA     ROSS                      MO         90011157321
37313892131424   KESHEARA     ROSS                      MO         90013008921
37315462793761   KAMIKA       WORKS                     OH         90011954627
37316285191584   XENIA        ROMERO                    TX         90000102851
37316817631424   STEAFON      PERRY                     MO         90014258176
37323934641258   CAITLYN      GALLAGHER                 PA         90014899346
37324975991584   NOSES        MORALES                   TX         90014849759
37325271991893   STEFANIE     BAZE                      OK         21083962719
37327576791584   YOLANDA      SIMENTAL                  TX         90002145767
37328157891232   ROXANNE      MARTINEZ                  GA         90001211578
37328185491584   AIDE         REYES                     TX         75006061854
37329422191584   KARLA        ESTRADA                   TX         90005704221
37331171291232   WIKENYA      MOBLEY                    GA         90014101712
37331272984334   KRYSTAL      SIMMONS                   SC         19090032729
37334975891881   RODNEISHA    SMITH                     OK         90012499758
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37336448555972   GENOVEVA        TORRES                 CA         48005994485
37339353841258   ZENIA           JACKSON                PA         90014383538
37339429891232   CAROLYN         MILTON                 GA         14571424298
37342863631424   STEVEN          HART                   MO         90003788636
37343564741258   SARAH           COYNE                  PA         90008865647
37343918291396   KAYLA           ANDREWS                KS         90011559182
37344198461973   BRIAN           WINANS                 CA         90007981984
37344929591584   STEPHANIE       TADEO                  TX         90014839295
37346543281686   ADAM            TRINIDAD               MO         90008835432
37354195241258   MARLESE         KELLY                  PA         90011001952
37354655241258   MIRANDA         CRUTHERS               PA         90012916552
37354689691831   PAULA           WILSON                 OK         90010096896
37354758691893   DAVID           SERNA                  OK         90015107586
37355256691584   BERENICE        TORRES                 TX         75062772566
37358672291893   CHRISSA         TIGER                  OK         90011696722
37359243454191   RHIANNA         GREENWOOD              OR         90007332434
37361316141258   NICHOLAS        BUZZELLI               PA         90014013161
37362487141285   SHARON          BLOUGH                 PA         90010234871
37364119991584   MARIANO         CHAIREZ                TX         90010271199
37365385557139   LEYDI BEATRIZ   MENDEZ                 VA         90011673855
37365395355972   CRISTINA        HOLGUIN                CA         48071293953
37366891355951   OMAR            DOLORES                CA         90011908913
37372212291831   KACY            BIGGS                  OK         90010992122
37372979291584   TALIA           HERMOSILLO             TX         90014849792
37373412731424   CANDIS          PETTIE                 MO         90014914127
37375487791992   DANYA           CENA-RAMOS             NC         90011824877
37376297591893   SHAYA           ZWITZ                  OK         90013572975
37377615491831   ALESHA          WILSON                 OK         90001286154
37378946191584   VANESSA         GONZALEZ               TX         90014839461
37379123391584   CAROLINE        ESCOBAR TREJO          TX         75074771233
37381331361945   JAIME           RIOS                   CA         90013953313
37384946191584   VANESSA         GONZALEZ               TX         90014839461
37386273551594   NURA            KUKU                   IA         90012482735
37386951991831   SARAH           ZUNIGA                 OK         90000859519
37387455454165   STEPHEN         MINNICK                OR         90006944554
37388683891831   MARY            WESTBAY                OK         90013136838
37388842141285   CHRISTINE       CAPRINO                PA         90014568421
37388846491584   MARIA           DURAN                  TX         75015008464
37389594655972   MONICA          IZQUIERDO              CA         48015405946
37394512251347   MICHAEL         MARTINO                OH         66022865122
37395916441285   MICHAEL         SWEENEY                PA         51043519164
37396392491831   CHARLES         JONES                  OK         90013623924
37399482391584   JUDY            DE ANDA                TX         90001624823
37399485931424   ROBIN           HELEM                  MO         27537454859
37412481331424   TEREMIAH        ELLISON                MO         90011194813
37416172331424   PAULETTE        ROEBUCK                MO         90012321723
37416198555951   EDUARDO         OCHOA                  CA         90011821985
37416454441285   KELLIE          TURNER                 PA         51065214544
37421111731424   ARTHUR          ALLEN                  MO         90010321117
37421188577367   CHERELLE        WILLIAMS               IL         90004881885
37423514291893   ARACELY         MONTOYA                OK         90008475142
37424255355951   JOHNATHON       FRANCO                 CA         90011822553
37424929651382   KURT            MURDEN                 OH         66030719296
37425716691584   LUCIA           NUNEZ                  TX         75035437166
37427138541258   KEVIN           WELTY                  PA         51017611385
37427523491831   HUAHONG         CLEVELAND              OK         21069305234
37428698991584   PABLO           GARCIA                 TX         90001416989
37429483341285   CHRISTINE       CARR                   PA         51097104833
37436843791544   OSWALDO         APODACA                TX         90009808437
37436952355972   LEONARD         LIZOYA                 CA         90013869523
37437267891831   ROSE            LYNCH                  OK         90003852678
37438272155951   MIGUEL          BAHENA                 CA         90011822721
37439742391584   ALEJANDRA P     RIDERA                 TX         90004357423
37439774191831   JOHN            APPLEGARTH             OK         90013167741
37443448255951   DONITA          PULIDO                 CA         90002184482
37445249831424   GIOYA           GOLDEN                 MO         90009782498
37447132955972   RAUL            SALAS                  CA         90012971329
37448456891831   CINDY           AVELAR                 OK         90013044568
37448815551382   RUTH            HERNADEZ               OH         66021268155
37452423891584   JOANNA          MUNOZ                  TX         90015204238
37456231831424   SHARON          JACKSON                MO         90011322318
37456388231424   MAGDALENA       POSAS                  MO         27535293882
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37457239191584   MARVIN           HERNANDEZ             TX         75035042391
37457931355972   KATHERINE        REYNOSO               CA         90012599313
37458344491831   JAMES            WATSON                OK         90011003444
37458744441285   BRITNY           OHARA                 PA         90014767444
37461379341455   TRACY            HOGAN                 WI         90014053793
37461745991232   ROBERT           HODGES                GA         14501297459
37463283941258   ISUA             REEDY                 PA         90009852839
37464335491831   ROSA             BAUTISTA              OK         90011973354
37466329591831   KELSEY           COOPER                OK         90011763295
37467844755972   OSCAR            BONALES               CA         48073718447
37469831391831   MELVIN           HENRY                 OK         90002378313
37472537191831   AMY              AMBRIZ                OK         90014285371
37473666391831   DAVID            CLARY                 OK         90012986663
37474935291584   ANGEL            HARRIS                TX         90014859352
37476979991831   MARIA            QUIROZ                OK         90012929799
37477218941258   ANNA             FILOTEI               PA         51001532189
37477282391963   LUHENGA          MUSHUNGAY             NC         90007922823
37478624355972   ALEJANDRO        GOMEZ                 CA         48089256243
37481748391584   BRENDA           SAPIEN-PACHECO        TX         90009047483
37482892991584   GUADALUPE        VILLATORO             TX         75017308929
37482995555972   JESSICA          RODRIGUEZ             CA         90013979955
37485536751369   GINA             WALKER                OH         90004305367
37487571891831   STACI            LEHMANN               OK         90014525718
37488181141285   MIKE             SMITH                 PA         90013301811
37489598241285   CHARLES          HINERMAN              PA         51070115982
37489848831424   RENIECE          REEDER                MO         90002748488
37492192351594   MCAYLA           FRISTL                IA         90014771923
37492268991861   SHAWNDA          SEILER                OK         90013002689
37494279491584   NAYELY           OLIVAS                TX         90014922794
37496243791893   JOANNA           MARSHALL              OK         90008832437
37499258841258   CHRIS            HAIRSTON              PA         90014152588
37499647991831   HAYLEY           SCHABERG              OK         90009026479
37499821125655   DAMION           MACON                 AL         90014588211
37512177541285   DEBORAH          KUNZ                  PA         90010331775
37513312931424   GREGORY          BUSHUR                MO         27512903129
37513473991831   SANDRA           GOMEZ                 OK         90013214739
37515548255951   MONIQUE          GARCIA                CA         90002185482
37516336571996   MARK             CLEMENTS              CO         90013333365
37518641691584   DAVID            JUAREZ                TX         90011246416
37518683555951   CHARLES          TEAL                  CA         90012956835
37521327755972   CARLOS           MARQUEZ               CA         48010033277
37522249141258   ANDREW MICHAEL   SHANE                 PA         90011002491
37522774155972   ANGELITA         GONZALEZ              CA         48086617741
37525524191525   LETICIA          GUILLEN               TX         75043805241
37525646571924   ROBERTO          RAMOS RIOS            CO         90004366465
37525951591584   BAUDELIO         VALDEZ                TX         90014859515
37527558541455   DEICY            ORTEGA                WI         90013415585
37528393231428   TIERRA           SILLS                 MO         90012923932
37529619891831   ALONZO           CALIXMACEDO           OK         90010296198
37533633591584   DANNY            LOMAS                 TX         90011226335
37534682591831   AMBER            CLARK                 OK         90013996825
37539124831424   CAROL            JACKSON               MO         90009171248
37541918355972   AURORA           SPAULDING             CA         48045499183
37542624157599   MAURO            GONZALEZ              NM         75047456241
37543624355972   LUCY             SIGALA                CA         48056456243
37543945391893   TIM              SNODGRASS             OK         21030609453
37545373791893   KIMBERLY         SOWELL                OK         90013583737
37545459555972   JENINE           OCHOA                 CA         90007894595
37547373791893   KIMBERLY         SOWELL                OK         90013583737
37547617993744   TOIKEYAH         WARD                  OH         90005496179
37549725191584   MANUEL           MONREAL               NM         75078317251
37553195591893   JACQUITA         ROTERT                OK         90012201955
37554429491893   FRANSHON         MAYS                  OK         90013584294
37554947784326   PHILLP           BEATY                 SC         14504919477
37555593793757   JULIE            GROSS                 OH         90000305937
37556293691831   THOMAS           MCCURRY               OK         21064922936
37556642191232   JAN              RHETT                 GA         90000326421
37558763191584   MARIA            MIRANDA               TX         90005707631
37559282591831   NALLELY          PACHECO               OK         21064032825
37561352191584   LAURA            MANRIQUEZ             TX         75012213521
37563729855972   JOEY             ALVES                 CA         90013887298
37563748951371   ANGELEE          DONDERS               OH         90014707489
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37565383731424   DAVID          REANDO                  MO         90014243837
37566536991831   MARK           TURNER                  OK         21028575369
37566637255972   VICTORIA       GERARDO                 CA         90011806372
37566961891893   PASCHE         BARNETT                 OK         90014729618
37568559391831   MISTY          HASKETT                 OK         90014065593
37569939192853   VANCE          HUTCHISON               AZ         90014039391
37572495191584   SAMUEL         MUNOZ                   TX         75084184951
37572589751594   FATUMA         NURI                    IA         90012485897
37574514491584   NORMA          CASTILLO                NM         75060815144
37588567341285   DERRICK        VIRE                    PA         51060305673
37591424691584   MARIA          LOZANO                  TX         90009524246
37594584493731   DONNA          REED                    OH         90012535844
37595564241258   DEBORAH        DORSCH                  PA         51030235642
37597351791584   ECTRADA        LUPE                    NM         90000823517
37597719855972   ALEX           RUIZ                    CA         48025487198
37598511291831   COURTNEY       BOYD                    OK         90006405112
37611498841258   TIMOTHY        NAMATH                  PA         90013264988
37612894291893   FRANKIE        JOHNSON                 OK         90013588942
37614919891893   ROSA           PLAZA                   OK         90004279198
37617718491831   BRENDA         SEALS                   OK         21062837184
37618116791967   DANIEL         RODRIGUEZ               NC         90014391167
37618782385837   IRENE          MCCONAUGHEY             CA         90012457823
37619473171921   SARAH          ROBINSON                CO         90005254731
37619521891584   DENISE         DIAZ                    TX         90009965218
37619983355972   GILBERT        SABIO                   CA         90005469833
37621798855951   FRANCISCO      ZUNIGA                  CA         49063167988
37622428691831   CARLOS         FLORES                  OK         90008004286
37626826131424   EARLINE        EARNEST                 MO         90014248261
37628129255951   WHITE          JARAMIE                 CA         49063171292
37632276791831   MARCO          WILLIS                  OK         21008432767
37632997691893   JEROME         PAYNE                   OK         90013589976
37633294551347   DANNY          HOLLAND                 OH         90002142945
37634964931586   BRIAN          WILLIAM                 NY         90015499649
37634999991893   DROSS          PENNY                   OK         90013589999
37635176991831   LINDA          OBRIEN                  OK         21031551769
37636923755951   ROBERT         RODRIGUEZ               CA         49086869237
37636985491831   VIVIAN         PETERSON                OK         21064589854
37638194155972   SARAH          LUCERO                  CA         48086781941
37638792191831   FANNIN         CARL                    OK         90007147921
37641567991831   KAYSHA         HESS                    OK         90010925679
37642759141285   ALISON         STUBENBORT              PA         90008967591
37642792355972   JOY LYNN       ROBINSON                CA         90012567923
37644711661987   JOEL           GARCIA                  CA         90006077116
37644792651367   GRACE          CARR                    OH         90001677926
37645322341258   PHYLLIS        RUCKER                  PA         51018463223
37647578341285   MELONIE        BURRISS                 PA         90013325783
37648429591831   HEAVEN LEIGH   HUGHES                  OK         90009344295
37649443455972   NORMAJEAN      RUIZ                    CA         48065414434
37649591941285   STEVEN         RANKER                  PA         51096585919
37652974291584   DINORAH        SOTO-MORALES            TX         90011549742
37653296791584   MARIA          RIVERA                  TX         75004242967
37656581191831   ALEXANDER      FLORES                  OK         21067555811
37659134841258   AELISSA        SPAN                    PA         90010481348
37659765241285   MIA            BARNES                  PA         90010327652
37662477191584   LAURA          RODRIGUEZ               TX         75043464771
37663113151382   GARY           GAMBLE                  OH         66060571131
37663673591893   TERRI          FAREBAS                 OK         90008846735
37663673691831   STEPHANIE      AKERS                   OK         21081036736
37664361691584   RAUL           RAMIREZ                 TX         75035103616
37667435731424   HELM           RONALD                  MO         90009544357
37667584155972   JAMES          RODRIGUEZ               CA         48022755841
37668418351321   ANTONIO        LARKIN                  OH         90002154183
37672173241285   TIMOTHY        SWARTZWELDER            PA         90014821732
37672977891831   JENNIFER       GIPSON                  OK         90012869778
37673217491893   ANGELA         COLBERT                 OK         90009072174
37676247155972   CHRISTOPHER    ENOS                    CA         90011412471
37677484291584   SABRINA        PORTILLO                TX         90009094842
37678949391831   JUSTIN         BAGGETT                 OK         90001059493
37679492791942   MARIO          CINTO                   NC         90004254927
37681477191584   LAURA          RODRIGUEZ               TX         75043464771
37681979431424   BRIAN          MURPHY                  MO         90014249794
37682237291584   ADRIANA        RAMIREZ                 TX         75082492372
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37682279891893   TIARA             HUNT                 OK         90013592798
37684697755951   JESUS             MELO                 CA         90012956977
37695353391893   MARIA DE LA LUZ   MUNOS                OK         90013593533
37695586738531   JOANA             RODRIGUEZ            UT         90011195867
37699152141285   STEPHEN           BUMBLIS              PA         90014131521
37715239841258   ANNA              FORRESTER            PA         51007742398
37715951455972   JESUS             DIAZ                 CA         90012929514
37717887191584   LUIS              TORRES               TX         75095078871
37717968491893   AMY               BEARDSLEY            OK         90015019684
37718429291831   SANDRA            SLANKER              OK         21081614292
37719826755972   JOHN              TORREZ               CA         48090688267
37723596155951   OMAR              SEGURA               CA         90000335961
37724659491584   VERONICA          MEDINA               TX         90006446594
37725319891538   MARIA             FERNANDEZ            TX         90006203198
37726297391831   MARSHALL          FLORENCE             OK         90009362973
37726426731988   QUENTIN           WILLIAMS             IA         90013944267
37726793786436   CAMILLA           ALEXANDER            SC         90015347937
37727995355972   EDUARDO           DIAZ                 CA         48082969953
37728779241285   ARDRETTA          SCOTT                PA         90008087792
37738153355972   ANITA             BLALACK              CA         48052511533
37739349591831   AMARYLIS          BOLTON               OK         90014953495
37739467791584   SAMANTHA          ROSALES              TX         90008124677
37741467141258   DAVID             SOUTHWOOD            PA         90011544671
37742777341285   BRANDON           FIELDS               PA         90015317773
37743512155951   ROSEANN           MARTINEZ             CA         90011835121
37745224155972   AARON             BLACKBURN            CA         48062902241
37745755291893   JOSH              HART                 OK         90013597552
37752187291584   CLAUDIA           HERNANDEZ            TX         90014491872
37755811991893   KELSEY            YOUNG                OK         90013598119
37756772631424   SKILYAR           CHRISTIAN            MO         90011127726
37757195357599   MARIBEL           VELAZQUEZ            NM         35548601953
37759177347829   BRANDT            LANCASTER            GA         90008361773
37761698491584   ALICIA            APODACA              TX         90010486984
37763317391831   PAYGO             IVR ACTIVATION       OK         90015393173
37763784841258   MBA               COMMUNICATIONS       PA         90010617848
37766991355972   KARLA             MARTINEZ             CA         90011909913
37767471655972   FLORES            JENNIE               CA         90013924716
37768394293782   MARCUS            BORTON               OH         90012833942
37769357531424   ANETTE            HAGEN                MO         90014273575
37769841591893   RICHARD           CRISEL               OK         90015248415
37771487591831   LARRIS            STEWARD              OK         90013204875
37771536855921   RICARDO           NUNEZ                CA         90007245368
37772566661993   ANGELICA          GARCIA               CA         90002915666
37773782141285   SHARON            BROWN                PA         90014827821
37775629455972   RAMON             GUTIEREZ             CA         48062056294
37778485291578   ART               GANDARA              TX         75006374852
37779464531497   AMANDA            GRIFFITH             MO         90003044645
37779814691831   NATHAN            WAHL                 OK         90015338146
37779947991893   TOMMY             SHIPLEY              OK         90013599479
37783692455951   ERIC              WOOD                 CA         90005226924
37784929857569   EUSTORGION        MOGICA               NM         90014209298
37786469291831   MICKEL            HARRIS               OK         90014844692
37789774191831   JOHN              APPLEGARTH           OK         90013167741
37789822777581   ERNESTO           PONCE                NV         90007298227
37792842455951   JAIME             AVINA                CA         90011838424
37794924155972   MARIA             MALGOZA              CA         90007729241
37795832155921   NORMA             LOPEZ                CA         90012108321
37796917455972   DIA               VUE                  CA         48082589174
37797157661435   MEDUIN            LEMUS                OH         90013791576
37811812354191   BRIAN             SAVAGE               OR         90001228123
37814916441285   MICHAEL           SWEENEY              PA         51043519164
37816287131424   JEANINE           OVERALL              MO         27563022871
37817127491893   NENGPI            TOUTHANG             OK         90013601274
37817869641258   LAMMAR            VALENTINE            PA         90013588696
37818147955951   KELLY             HOLMAN               CA         49072921479
37819338591232   BRANDY            PIKE                 GA         14519243385
37823344155972   MARICELA          DUARTE               CA         48037863441
37823955855951   ARCADIO           PEREZ                CA         90011839558
37826335341258   CHUCK             MOTTE                PA         90014943353
37827324891831   ROGER             CHERRY               OK         21030833248
37828842141285   CHRISTINE         CAPRINO              PA         90014568421
37829299255972   BALTAZAR          BACA                 CA         90003222992
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37834393191584   MARIA         ORNELAS DE GUERRERO      TX         90014843931
37836659491584   VERONICA      MEDINA                   TX         90006446594
37844258155951   ELENA         GOMEZ                    CA         49055692581
37844559755972   KENNETH       HAROLD                   CA         90015095597
37845212441285   RAMIREZ       DIEGO                    PA         90015292124
37846448155972   BRAYAN        REYES                    CA         90007904481
37849888531424   BRITTNEY      COLLINS                  MO         90008848885
37851924555972   LUZ           CARDENAS                 CA         90011179245
37854499331424   SIARA         ROBINSON                 MO         90014284993
37854517941285   KELCEE        ALDRIDGE                 PA         90008055179
37854625155951   CHOUA         YANG                     CA         90012966251
37855542441258   CHRISTOPHER   LEE                      PA         90013495424
37858783541285   SHOMARI       GERRIFTH                 PA         90014827835
37865128355972   LISA MARIE    DUNCAN                   CA         90013401283
37865191972451   ERIN          GLANZ                    PA         90014611919
37865284861962   LIONEL        LILLIARD                 CA         90013172848
37865777141258   MATTHEW       DISANTO                  PA         90000247771
37867514691831   LAWRENCE      HAWKINS                  OK         90010995146
37871378255951   MICHAELA      DEGORTARI                CA         90013143782
37873658691893   URIEL         ARELLANO                 OK         90013606586
37873859841285   SALENA        BAUER                    PA         90013848598
37874658691893   URIEL         ARELLANO                 OK         90013606586
37877956955951   LEDUC         STEVEN                   CA         49067589569
37878629655972   JOSE          CARDENAS                 CA         48036616296
37882386484368   DONNA         SHERRILL-DALY            SC         14570583864
37884718191893   MIRTHA        SOTO                     OK         90013607181
37884883391942   MICHAEL       ZEGEYE                   NC         90012958833
37887469281681   MARVIN        HUXTABLE                 MO         90004084692
37888249641285   AMY           MONGELLUZZO              PA         90008792496
37888312791232   RALPH         STAIR                    GA         14587653127
37888989441258   MIKE          SMITH                    PA         90013509894
37892594455972   GONZALO       VELIZ                    CA         90011855944
37892654855972   JOSE          LANDEROS                 CA         90013926548
37893251855972   ERIKA         SERVANTES                CA         90009382518
37896995631424   TERRIE        CASEY                    MO         90005809956
37897538191831   RITA          STENGEL                  OK         21082175381
37898661855972   ROSA          VELASCO                  CA         90013926618
37899346941251   JEREMY        PUCKETT                  PA         51067753469
37899411891584   DAVID         RAMOS                    TX         75035144118
37911969655972   BROOKE        ROBERTS                  CA         90012929696
37913755831424   RAKESHA S     BROWN                    MO         90011437558
37914951541285   SHAVON        PRATCHETT                PA         90005189515
37915485241258   MARLO         JONES                    PA         90015034852
37916271441258   AMANDA        ROYAL                    PA         90009402714
37917913741285   DEBORAH       SAIR                     PA         51069299137
37918824155951   CHRIS         FIERRO                   CA         90013598241
37919294731586   AMANDA        KNAPP                    NY         90015472947
37919382541258   MARK          ROBERTS                  PA         90001293825
37919825351382   SANDRA        MADIGAN                  OH         66059348253
37922258451347   DESPEANNE     ANDREWS                  OH         90006372584
37925244541258   PAUL          WINGATE SR               PA         51022822445
37929147191831   DEBBIE        LEE                      OK         90014941471
37929357655972   ORLANDO       GOMEZ                    CA         90014393576
37931472177368   RAUL          CRUZ                     IL         90015384721
37932436641285   AMY           DAVIS                    PA         90003854366
37933984255972   ANGIE         FUNEZ                    CA         90012929842
37935138991584   MARIA         ALONSO                   TX         90014861389
37935147191831   DEBBIE        LEE                      OK         90014941471
37935932991831   FERNANDO      PULIDO                   OK         90007469329
37937321731424   MONUETTE S    BURRELL                  MO         90014223217
37938276185821   PAULA         MURILLO                  CA         90011852761
37943958855972   DESTINY       NIETO                    CA         90006399588
37945723191584   GABRIELA      DURAN                    TX         90014357231
37945733555951   MARIELA       GARCIA                   CA         90011967335
37946723191584   GABRIELA      DURAN                    TX         90014357231
37947142791584   DAVID         ESPARZA                  TX         75095621427
37948578241258   KOYA          FRYE                     PA         51091675782
37949894755972   ERIC          HAWKING                  CA         90013938947
37951719755972   MIREYA        SUAREZ                   CA         90008387197
37953723191584   GABRIELA      DURAN                    TX         90014357231
37954996697126   ROBERT        DAVIDSON                 OR         90008769966
37956124391893   RAYMOND       BRADFIELD                OK         90013611243
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37956532661559   FELICIA      WILLIAMS                  TN         90013535326
37957124391893   RAYMOND      BRADFIELD                 OK         90013611243
37957253591831   MAKAILA      MCGONIGAL                 OK         90014812535
37957951597126   ESMERALDA    BARRANCA                  OR         90008769515
37961847655972   DENNIS       BOMSBURGER                CA         48084018476
37962187191893   JOSHUALIN    WADE                      OK         90013611871
37963527891831   OZETTA       TAYLOR                    OK         90007955278
37964246155972   JIMMY        WATSON                    CA         90014372461
37966156125123   CHAD         CAYLOR                    AL         90014751561
37966259923422   MICHEAL      SABOL                     OH         90011462599
37967149691584   LUIS         ESCAJEDA                  TX         90014861496
37967542655972   NYCOLE       BARRIER                   CA         90002525426
37968149691584   LUIS         ESCAJEDA                  TX         90014861496
37971238191893   TONY         NELSON                    OK         90013612381
37974297255972   PATRICIA     DE LA CRUZ                CA         90014972972
37974323691831   HENRY        BUECHLER                  OK         21027473236
37975225291232   JACKLYN      TANNER                    GA         14547782252
37975915651321   CHANEL       JONES                     OH         90014559156
37976622431424   DENNY        ROEDEL                    MO         27550366224
37977385291831   JANA         SHIRLEY                   OK         21090533852
37977679391544   ANA          FRANCO                    TX         90010746793
37978312291831   ANGEL        LATHAN                    OK         21016433122
37979796491584   EDGAR        RUIZ                      TX         90011227964
37981543141258   ROBERT       NETHERTON                 PA         90008915431
37982435455972   ALEX         VELASQUEZ                 CA         90015334354
37984316961956   FRANCISCO    HERNANDEZ                 CA         90005493169
37985183391584   JESUS        JIMENEZ                   TX         90001361833
37985491291831   KAYENG       YANG                      OK         90012634912
37988133471921   THERESA      LEGARSKI                  CO         90014931334
37989565455972   TAMI         BACKMAN                   CA         48096325654
37991626691893   MARIA        MEMBRILLA                 OK         90013616266
37992634291893   MARICELA     GUTIERREZ                 OK         90013616342
37994682231424   LORENZIA     FRANKLIN                  MO         90015086822
37996898341285   JHANEAY      NELSON                    PA         90002468983
37999167391232   BETO         AVILA                     GA         90005061673
37999656851329   SONDRA       ANDERSON                  OH         90005386568
37999919691979   DAVID        GONZALEZ                  NC         90010019196
37999959355951   KIMBERLY     MARTINEZ                  CA         49013659593
38113729136143   BRANDI       CARRERA                   TX         90014707291
38114592291831   MONIQUE      MCGEE                     OK         90012205922
38115636331424   MINYATTA     SIMMONS                   MO         90008606363
38116264231439   TYRONE       GARY                      MO         90001522642
38116338491831   JASON        HAWKINS                   OK         90011013384
38116549436143   DESIREE      GARCIA                    TX         90003375494
38124437361982   WILLIAM      GLASSOW                   CA         46016204373
38126313155972   DAVID        BROWN                     CA         48098223131
38127847941285   SANDRA       MOZES                     PA         51067208479
38129677993761   JOHN         DAVID                     OH         90012856779
38131556936143   RICKY        RIOJAS                    TX         90013885569
38131646141285   CRYSTAL      KINSEL                    PA         51017676461
38132178131424   AARON        JONES                     MO         90015031781
38132695536143   TANYA        TREVINO                   TX         90011356955
38135267744376   MANUEL       RENTERIA                  VA         82060012677
38137645972441   JENNA        EALY                      PA         90015426459
38137739455972   YAMILLETS    CHAVEZ                    CA         90010757394
38138571831424   LAUREN       COOPER                    MO         90013865718
38139131251335   KALIROU      MOUSSA                    OH         90013241312
38139193941285   ANTOINETTE   FLOT                      PA         51019251939
38139418891371   JUAN         RAMOS                     KS         90011714188
38141383341258   GARRETT      TURZAK                    PA         90012653833
38141789555972   AMANDA       JORDAN                    CA         48084567895
38142741951369   TAWANA       CRAWFORD WILLIAMS         OH         90014557419
38144935491831   TED          MANORE                    OK         90014059354
38145292441258   MCKENZIE     ZIEGLER                   PA         51087702924
38149554855972   RUDY         GUIDO III                 CA         48047965548
38151316891831   CHESTER      GREEN                     OK         21079883168
38151416936143   PATRICIA     RIVERA                    TX         73587514169
38155498942341   TRUDY        PORTER                    GA         90001514989
38155878755972   RUSSELL      POLES                     CA         48068828787
38156181251369   KENDALL      GAULT                     OH         66081531812
38156888191831   KIM          COLE                      OK         21093008881
38159756355972   JIMMY        THONGSENG                 CA         90014527563
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38162762631424   FARHAN       SEISAN                    OK         90000847626
38162851391371   ANA          GARCIA                    KS         29065898513
38163253671996   KRISTINA     LOPEZ                     CO         90003052536
38164539891893   JUDY         BILLINGS                  OK         90009575398
38164851454154   GABRIELLE    KOHNE                     OR         90003108514
38165991536143   MALLORY      MONROY                    TX         90010199915
38168748636143   NATHAN       VASQUEZ                   TX         90012067486
38169584455972   JONEZ        RODRIGUEZ                 CA         90006135844
38169692991831   MALISA       REEL                      OK         90009546929
38174646355972   E            SOTO                      CA         90009536463
38175579855972   AMANDA       ISAACS                    CA         90012775798
38175858491863   ARNOLD       CHAVEZ                    OK         90010768584
38176998191232   JERAMY       ROBERTS                   GA         90004759981
38178924891831   ELDER        AGUILAR                   OK         90010299248
38182683991831   AYE          THANG                     OK         90012656839
38183298191831   ROBIN        PIERCE                    OK         21048582981
38183521531632   RANDE        MEIS                      KS         90008625215
38184929736143   SAJID        FILLMORE                  TX         90012129297
38185463251382   TANYA        JENKINS                   OH         66056954632
38187897691356   ALBERTO      VELAZCO                   MO         90000108976
38194114236143   SUSAN        GOMEZ                     TX         90003791142
38194658255972   MARLENE      MORENO                    CA         90013546582
38195667531424   ASHLEY       TANTER                    MO         90015106675
38197471461943   MAYRA        CAMARGO                   CA         46097874714
38198482955939   JERRY        NEVES                     CA         90006094829
38199842841285   MITZY        BURKES                    PA         90011508428
38213935151335   ED           PETRE                     OH         90001049351
38221389655971   IVAN         VARGAS                    CA         90008573896
38221553841285   VICTOR       NICHOLS                   PA         90003125538
38222111626759   PATRICIA     HYMAN                     PA         90011371116
38222336991371   SUSANA       ZAVALA                    KS         90007603369
38223413191831   MARIO        SHAW                      OK         21051784131
38223546741258   PAMELA       YASKO                     PA         51012585467
38224359255972   SOR          SEE                       CA         90013453592
38226625533638   JULISA       MURPHY                    NC         90014066255
38227246536143   BRYAN        HOBGOOD                   TX         90008692465
38231748255972   VICTORIA     AVILES                    CA         90011437482
38232267761925   ELISEO       GUTIERREZ                 CA         90007952677
38232319944376   MEOSHA       BROWN                     NC         90001333199
38233853736143   JOE          GARCIA                    TX         73533328537
38233943441285   TERRA        CANNATA                   PA         90012939434
38235826591831   LATARA       JEFERSON                  OK         90010268265
38236431831657   JUAN         CALVILLO                  KS         90012874318
38237138136143   VANESSA      RODRIGUEZ                 TX         90010001381
38238393491941   MIRA         BAILEY                    NC         90010033934
38238972155972   SHANNON      JOHNSON                   CA         90014569721
38239622351382   AILEEN       WUENNEMANN-DIAZ           OH         66013346223
38239848341258   CAMEIYA      ELEM                      PA         51001748483
38241641972424   ALEXIS       FAUVIE                    PA         90009456419
38242246255972   JOE          DEVER                     CA         90012852462
38243558791831   SHERRY       WILLIAMS                  OK         21004625587
38244513731424   KECIA        COSTELLO                  MO         90006325137
38244519691371   ROBERT       LEWIS HICKS               KS         90009165196
38245134291356   LINDA        BELL                      KS         29045871342
38245267151369   TOM          FARMER                    OH         90006152671
38246367691831   KRISTEN      DEMENT                    OK         90009063676
38246938555972   JUAN         MELENDEZ                  CA         48095469385
38246965136143   EMILIO       BALADEZ                   TX         90014639651
38247543972424   VIRGINIA     PUGLIESI                  PA         90005345439
38251862191232   GREGORY      PINCKNEY                  GA         14506898621
38251964331657   ANGELA       WARD                      KS         90012239643
38253181861571   JAMES        JONES                     TN         90008441818
38253423341286   WILLIAM      BRADY                     PA         90012904233
38256441855972   ROSA         GARCIA                    CA         90015174418
38257614572424   SHAWN        DONNELLY                  PA         90006496145
38258246255972   JOE          DEVER                     CA         90012852462
38258451791356   TERRY        ZAURATSKY                 KS         90010064517
38258976736143   JEREMIAH     LOPEZ                     TX         90014889767
38259983336143   JOSH         LOPEZ                     TX         90013159833
38262924891232   MARQUITA     BROWN                     GA         14585249248
38263459991371   RYAN         HICKS                     KS         90003194599
38265535451382   JULIE        MOTTS                     OH         90005945354
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38266512355972   ANTOINE      JACOBS                    CA         90014425123
38268338141258   MARLON       MILES                     PA         90005053381
38268513531424   JUSTIN       WHITE                     MO         90010685135
38268855755972   LEANN        RODRIQUEZ                 CA         90002758557
38269438891831   BRADLEY      PARKER                    OK         90014924388
38271154491831   BROOKE       WASHINGTON                OK         90014741544
38272753391831   TEKINA       JONES                     OK         90006787533
38272826436143   RACHEL       SALAZAR                   TX         90010268264
38275126391371   IDANA        ORTIZ                     KS         90008971263
38275719155972   EDWARD       XAVIER                    CA         90013697191
38275844751323   ELIZABETH    KERR                      OH         66072068447
38275845431424   VALERIE      BROWN                     MO         90012208454
38276362791371   TAMMY        FULLER                    KS         29067953627
38277146541421   EVELYNN      MUBASA                    WI         90014731465
38277546141258   HOLLY        CARUSO                    PA         51021375461
38279246141285   MARC         PETERS                    PA         51078812461
38281271641251   SHEENA       STENHOUSE                 PA         51003172716
38281728751382   ERIC         MCGUIRE                   OH         90005947287
38282111541285   CARRIE       BURFEILD                  PA         90012851115
38282796341258   KARREN       LITTLE                    PA         90006087963
38283563531586   CAROLYN      GRANT                     VA         53086975635
38283777455972   CORINA       RIOS                      CA         90012707774
38283845491831   LARONICA     HICKS                     OK         90009218454
38286384372424   MARMIE       HAMILTON                  PA         51077623843
38287174436143   MICHEAL      ESTRADA                   TX         90014791744
38287723255972   VANESSA      ANGULO                    CA         90006347232
38291735431424   SHAYLA       SHERMAN                   MO         90013377354
38293244251382   JOESPH       FRITZ                     OH         90010142442
38293732591831   JUSTIN       MARTIN                    OK         90014077325
38298997372424   ARIANA       BENNETT                   PA         90006509973
38311725636143   MARILYN      CHOMOUT                   TX         90014657256
38312883377545   FERANDO      FERNANDO ORTIZ            NV         90012548833
38314543455979   JACOB        MURDOCK                   CA         90008515434
38316411241285   ARNOLFO      GOMEZ                     PA         90012814112
38316645355972   LIZETTE      LARA                      CA         90013646453
38319787441258   CHARMEL      GREEN                     PA         51037337874
38326774672424   SARA         HOUSEMAN                  PA         51034767746
38332616877581   JENNY        CHILDS                    NV         90013646168
38332731255972   MICHEAL      BROWN                     CA         48090587312
38334448361973   CARY         KANAVEL                   NV         90009424483
38334871191356   ASHLEY       HARMON                    KS         29044518711
38338412441227   MARGARET     TUGGLE                    PA         90008644124
38341295491371   MACY         SEARS                     KS         90011722954
38341356591831   LELAND       BENDER                    OK         21062473565
38342247961987   CARRIE       JORDAN                    CA         90013842479
38342515555972   ANITA        CUELLAR                   CA         48049875155
38344417191543   JESUS        SATARAIN                  TX         90014274171
38347248555972   LARISSA      DUTRO                     CA         90003042485
38348798851369   STEPHANIE    MULLINS                   OH         90001117988
38353423991243   JOHN         SUMMERVILLE               GA         90005124239
38354744936143   JOSHUA       YBARBO                    TX         90011237449
38355636141258   MARIA        HAWTHORNE                 PA         51029726361
38356475291831   MARIELA      GONZALES                  OK         90011014752
38357743141285   SANDRA       LANG                      PA         51039267431
38358349991831   CHRIS        BURGOON                   OK         21019243499
38359758431424   TRAVIS       MCCULLOUGH                MO         90001827584
38359761751382   SARAH        SWEET                     OH         90014927617
38362297191831   DASHAWNA     WATKINS                   OK         90014812971
38362625993731   TORRES       JORGE                     OH         90002316259
38362998691831   KIM          SINGLETERRY               OK         21090839986
38366378591831   CARLOS       TAYLOR                    OK         90013223785
38368257761973   COLONA       ERIC                      CA         46097672577
38369165431424   CAMERON      LAWRENCE                  MO         90013401654
38372665891371   JARROD       MORGAN                    KS         90009326658
38372787136143   VIRGINA      MOOSBAUER                 TX         73509917871
38376175655972   MARIA        REYNA                     CA         48075191756
38387617891881   ANTHONY S    TUCKER                    OK         21005476178
38389383855972   MEL          GARCIA                    CA         48021553838
38391175293767   CHARITY      DIX                       OH         90009991752
38392627341285   ALEXIS       MC BRYDE                  PA         90003186273
38393195831424   SHARNEICE    HASKIN                    MO         90009351958
38393361491831   JESSICA      COLLIER                   OK         21084473614
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38394126141285   ALONZO       SEAY                      PA         90012851261
38395617661437   REY          ALCANTARA-VALLADARES      OH         90014046176
38398743461925   ANA          PENA                      CA         90008747434
38399557691356   VALERIA      SANTOS                    KS         29003705576
38411432691979   SAMUEM       MBOYA                     NC         90012974326
38412338141285   JASON        KREY                      PA         90010653381
38412676336143   CHRISTIE     TREVINO                   TX         73540066763
38414268491831   TINA         CANDELAS                  OK         90013542684
38415348931424   ASHLEE       GULIFORD                  MO         90014313489
38417142731424   FELECIA      DRAPER                    MO         90012461427
38418452836143   SANDY        GONZALEZ                  TX         90010314528
38422119255949   EMMA         PEREZ                     CA         90005581192
38423112331424   THOMAS       PATTON                    MO         27501651123
38424564391356   AMANDA       CADENA                    KS         29067785643
38425292657172   MIGUEL       RIVERA                    VA         90008122926
38426548861972   RAFAEL       CAZARES                   CA         90012675488
38427165291371   TRACY        BRAUN                     KS         90010911652
38428195991371   VICTOR       PORRAZ                    KS         90002991959
38429377951369   TINA         O'NIELL                   OH         90006603779
38434972341285   DEONTE       ROBINSON                  PA         90013229723
38435849191831   GWEN         MAXWELL                   OK         21055678491
38438887141258   CAROL        PARTEE                    PA         51080728871
38438944955972   CARNELL      AUSTIN                    CA         48049319449
38439282391831   JERA         WHITE                     OK         90013542823
38439456355972   ARMANDO      VARGAS                    CA         90015174563
38439538491371   CASHANDRA    WALS                      KS         90013195384
38439822336143   BRITTANY     GOMEZ                     TX         90008268223
38444764455921   SAMANTHA     RODRIGUEZ                 CA         90004407644
38447363541258   HALEY        SANFORD                   PA         90012433635
38447676841258   CAMILLE      JOYCE                     PA         90010486768
38448565791831   ANIESHA      ALEXANDER                 OK         90002555657
38449581391356   MARIA        CASTRO-GAXIOLA            MO         90006125813
38456765741285   EDWARD       MARKUNAS                  PA         51048607657
38461292941455   ANTHONY      RIVERA                    WI         90014792929
38462681891356   MARIA        RAMIREZ                   KS         29039106818
38464533741258   DA'JUAN      WINDOM                    PA         51055365337
38464598991371   LAURA        TERRAZAS                  KS         90013205989
38467189191831   GINA         BRUMLEY                   OK         90009321891
38467316841285   JAMES        HEID                      PA         90012363168
38468292455972   FIDEL        SANDOVAL                  CA         48048722924
38468689891885   DIANE        DAVIS                     OK         90008946898
38471556591538   ADRIANA      HERNANDEZ                 TX         75008875565
38473569791232   MARCIA       PENNIE                    KY         14577025697
38473948191831   LADONNA      CLARK                     OK         90014909481
38474824831424   JACKIE       WILLIAMS                  MO         90012938248
38476461436143   NICK         GUERRERO                  TX         90013934614
38478129191959   JOSHUA       PAYNE                     NC         90001441291
38478995331629   KIMBERLY     JACKSON                   KS         90009749953
38481172655972   DAVID        MEDINA                    CA         90012951726
38484647551369   DEBORAH      HILL                      OH         66047426475
38486837441258   THOMAS       BRINBLE                   PA         51014808374
38487397131424   ALLEN        BUGGY                     MO         90001693971
38487935391525   GEORGINA     PINALES                   TX         90012439353
38489742241285   CANDICE      BRAZIL                    PA         90014907422
38489951536143   MICHELLE     BALDERAZ                  TX         73517859515
38491993236143   ZACHRY       RAMIREZ                   TX         90013939932
38494286636143   LOUIS        EDWARDS                   TX         90015052866
38494799661981   HENRY        MAES                      CA         90006587996
38497762455972   MARTHA       VALENTIN                  CA         90000297624
38498363536143   JONNATHAN    BLATON                    TX         90011253635
38511711236143   GREGORY      HOOK                      TX         90013947112
38512571836143   VANESSA      DELGADO                   TX         90010215718
38513116231424   DOUG         WALTERS                   MO         90007411162
38513154736143   CARLOS       MARTINEZ                  TX         90005731547
38515741531424   SIERRA       WALKER                    MO         90013127415
38516461655972   KRAUS        SAECHAO                   CA         90012054616
38519964331424   OSCAR        CRUZ                      MO         90014299643
38522911251382   LADONN       BOOKER                    OH         90006999112
38524837431424   VANITA       DULANEY                   MO         27592278374
38525561555921   TANYA        NEWSON                    CA         90004545615
38526471941285   JASON        MONTI                     PA         90006564719
38528418831424   MARNICE      JOHNSON                   MO         90004804188
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38528587191831   MARK         ELLIS                     OK         90011015871
38529816151363   RICK         EDWARDS                   OH         90002438161
38536266691959   EUDOCIA      BENITEZ                   NC         90011092666
38537279472424   BRYAN        RITTENBERRY               PA         51094052794
38538223236143   GENARO       GARCIA                    TX         73511832232
38538446655972   ROGELIO      CASTRO                    CA         48013594466
38538639541285   MICHAEL      VASIL                     PA         90002066395
38541282551369   JOSE         SANCHEZ                   OH         90007202825
38541494131424   MARCUS       COLLOR                    MO         90010934941
38542636831424   DELISA       BANKS                     MO         90015096368
38542973892853   JENNIFER     MILLS                     AZ         90014139738
38543551691831   CHARLES      INKELAAR                  OK         90010475516
38544369891356   GEORGIA      JONES                     KS         90006223698
38549413247828   KAMEIKA      DAVIS JOHNSON             GA         90007534132
38552411731424   SHIMMERNIK   HOLLEY                    MO         90005274117
38552785141285   GEORGE       MAGDICH                   PA         51056687851
38555579341285   ALEESHEA     COSBY                     PA         90006505793
38558559741285   ALICIA       MCDONALD                  PA         90014075597
38561667236143   CRISTINA     JIMENEZ                   TX         90008556672
38562417291321   TERESA       ENDSLEY                   KS         90013154172
38563484991881   KACIE        FRANCIS                   OK         21089384849
38564772755972   NOLA         HORN                      CA         48008867727
38565721136143   KATIE        FARIAS                    TX         90013957211
38565873531424   JAMES        BRENNER                   MO         90005078735
38567261951382   ROSIO        CEGOBIANO                 OH         90005822619
38568137591831   KRISTINA     ELKINS                    OK         90014361375
38571552236143   MONICA       KING                      TX         90001065522
38574215357335   TIGER        ELLSWORTH                 MO         90015242153
38577546631424   NINICHKA     SHAW                      MO         90014975466
38578363254154   TERRAH       DORRIS                    OR         47037453632
38578382191356   LINDA        BARBER                    KS         29085223821
38578465241258   DENISE       MURPHY                    PA         51097044652
38581763491371   GENIEVA      GARRISON                  MO         29014587634
38583174436143   MICHEAL      ESTRADA                   TX         90014791744
38583656591554   CORAL        PEREZ                     TX         90005486565
38585283391988   MIGUEL       CONTRERAS                 NC         90002552833
38588314391356   ANGELA       RODRIGUEZ                 KS         29015013143
38594718741258   LAJUAN       RICHARDSON                PA         90014917187
38595862841258   BRENLYNN     SMITH                     PA         90003858628
38598177431424   SAM          EVANS                     MO         90012651774
38612647736143   ALEXANDER    CASTILLO                  TX         90011266477
38615845131424   MAHTESA      FOWLER                    MO         90013188451
38616633451382   QUIANA       BENNETT                   OH         90006506334
38619131372424   RONALD       CURRAN                    PA         51094491313
38619154491831   BROOKE       WASHINGTON                OK         90014741544
38619341741285   TANK         LEAVY                     PA         90012313417
38622119241258   PHILIP       MARTINO                   PA         51012871192
38625636536143   MICHAEL      VALADEZ                   TX         90004146365
38628794191893   JOHNEISHA    TITUS                     OK         21015937941
38628882731424   BRIAN        CRAWLEY                   MO         90007878827
38631137151369   HEATHER      GEOPPINGER                OH         90008451371
38631561741285   SYLVIA       KELLY                     PA         90012155617
38632841136143   VALARIE      VALDEZ                    TX         73541278411
38634464255972   DEBBIE       CLAY                      CA         90008014642
38639346191831   GERMIRAH     GOUDEAU                   OK         90014813461
38641997277368   JOVITA       QUINTERO                  IL         90013659972
38644876251382   GEORGE       HOFFMAN                   OH         66098508762
38645963391829   WANDA        DOWDY                     OK         90008939633
38651169491831   AHISHA       SMITH                     OK         90015491694
38651575236143   JAIME        MCDOUGALL                 TX         90014085752
38653575236143   JAIME        MCDOUGALL                 TX         90014085752
38654266891371   PATRICIA     PRIETO                    KS         29093972668
38654337891232   LATARSHA     WARD                      GA         14593153378
38655622636143   KACEY        MENCILLAS                 TX         90014086226
38659584791861   LISA         MOSS                      OK         90010955847
38659682391831   FRANCISCA    MONGE                     OK         90011016823
38662225691831   LESLIE       SIMMONS                   OK         21062192256
38665127541285   TIFFANY      MICELLI                   PA         90007681275
38675217736143   AMY          ESTRADA                   TX         90014192177
38676482955972   MELISSA      AVINA                     CA         90014634829
38681827491371   DERRICK      WILLIAMS                  KS         90009388274
38684995291232   JAMAL        DAILEY                    GA         90006519952
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38685989191543   MAYELA       ANGEL                     TX         90007639891
38688532291831   LORNA        WILLIAMS                  OK         21084565322
38689468741285   PETER        SCHWAB                    PA         90009684687
38689844451369   PAMELA       CLINE                     KY         66011888444
38689844455972   GUILLERMO    GARZA                     CA         48057568444
38697375791356   ERNESTO      RESENDIZ-GALLEGOS         KS         90002573757
38699244291831   TOI          GARDNER                   OK         90004282442
38712848891371   CRYSTAL      SANDER                    KS         29016558488
38713146891959   MARIO        RODRIGUEZ                 NC         90009471468
38714823761945   THOMAS       WOOD                      CA         90010918237
38716375141285   JEANETTE     WRIGHT                    PA         51098783751
38716835691243   BETO         AVILLA                    GA         90001468356
38717523336143   MANUEL       BALADEZ                   TX         90014645233
38718329741285   DESIRAE      TAYLOR                    PA         90013273297
38719463551337   TERRY        MAY                       OH         90004294635
38725812141258   DERITA       PORTER                    PA         90014548121
38726258941258   KEVIN        EDUARDO SARATE            PA         51056622589
38728513984334   VERONICA     CARTER                    SC         90001905139
38732225341285   WAYNE        TYREE                     PA         90012872253
38743811791831   MISTY        MYRICK                    OK         90007408117
38744422191831   BRITTANY     WHITE                     OK         21044514221
38745871141285   ANDREW       BOWDEN                    PA         51029068711
38748355291831   CHARLIE      LIEATH                    OK         90015383552
38749119331424   RONALD       EASON                     MO         90009471193
38749219331424   RONALD       EASON                     MO         90014292193
38754281341285   VICTORIA     POCIASK                   PA         90013432813
38755475755972   PAULA        MAESTAZ                   CA         48031244757
38759118893761   CASSANDRA    MOORE                     OH         90004161188
38762976141285   DEIRDRE      BATTLE                    PA         51067359761
38763116941285   LLOYD        GERSTER                   PA         90013441169
38765489836143   FAWN         GOKEY                     TX         90011284898
38768925251382   ASHLEY       SCHULER                   OH         66004449252
38769386736143   NICOLAS      RUIZ                      TX         90014263867
38769472155972   CARMEN       LOPEZ                     CA         48078944721
38774169181681   BEVERLY      SWINNEY                   MO         29008351691
38774387155972   JORGE        MEDINA                    CA         48074453871
38777149751369   JAHMECA      OSBORNE                   OH         90006521497
38778121391356   DOYLE        BROWN                     KS         29027451213
38781753391831   TEKINA       JONES                     OK         90006787533
38781976755972   DRENDA       YBARRA                    CA         90008979767
38784647736143   ALEXANDER    CASTILLO                  TX         90011266477
38791627891831   ESTRELLA     KENOLY                    OK         90002786278
38792912455972   CYNTHIA      ESPINOZA                  CA         90014909124
38793325531424   JAQUECE      MASON                     MO         90013303255
38793627155972   ORLANDO      PADIILA                   CA         48066696271
38795279131424   VICKYE       ALLEN                     MO         90013702791
38797766855972   MELISSA      BAILON GOMEZ              CA         90013397668
38813843831424   STACY        KNEIP                     MO         27533758438
38814629491356   EDWIN        HARRIS                    KS         90011616294
38817319736143   JESSICA      BENAVIDES                 TX         73542603197
38818579191942   JUAN         JUAREZ                    NC         17089635791
38818639691831   ADAM         SMITH                     OK         90014456396
38819234641261   JEFFEREY     SENIOR                    PA         90007272346
38821914991831   MATILDE      BUENROSTRO                OK         90003369149
38822429936143   KIM          ROSALES                   TX         90003334299
38823933455972   ESMERALDA    CASTREJON                 CA         48032299334
38826244231424   SHARNA       PERKINS                   MO         27588042442
38826735691831   JAMIE        PLUAREZ                   OK         90012107356
38832872236143   DANIEL       YBARRA                    TX         90014728722
38833481841285   MARANDA      LONG                      PA         90014424818
38833571155972   TONG         SEE                       CA         48069105711
38833716893731   ERNEST       ARNOLD                    OH         90011377168
38834429691831   ASHLEY       BARLOW                    OK         90013774296
38836369191356   JORGE        ALBERTO                   KS         29019373691
38836938836143   MARK         NORMAM                    TX         90014729388
38841313151382   JASON        CROMER                    OH         66057913131
38842853936143   MARLENE      SACOBIE                   TX         90008648539
38844194136143   CRISTINA     HERRERA                   TX         90014731941
38844838941258   CHARLEENE    WILLIAMS                  PA         90014728389
38845764161999   CONNIE       FIGUEROA                  CA         90012887641
38846533263629   KATHERINE    SARGENT                   MO         90008835332
38847293491831   FRANCES      JUAREZ                    OK         90001592934
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38849697736143   ALENA        BROWN                     TX         90002966977
38851345372451   ANTHONY S    POLK                      PA         90002413453
38852322871958   MONICA       KLEINHEIM                 CO         38031863228
38853855391232   CARMEN       MOLINA                    GA         14555798553
38855676936143   CYNTHIA      DURHAM                    TX         90014596769
38856633251594   BOGO         MAN                       IA         90014556332
38857217436143   TYRESE       DURHAM                    TX         90014762174
38857258351329   CHRIS        KENNEDY                   OH         66011162583
38861861391232   RICHARD      ADAMS                     GA         90004698613
38862198236143   ROBERT       PARTIDA                   TX         90014791982
38863354785974   DEBBIE       BRICKING                  KY         90011123547
38863398591831   SHANNON      ALVIAR                    OK         90011243985
38865561331424   RICKSHA      CODY                      MO         90014635613
38866265961437   GARPAR       TUM                       OH         90014062659
38866431631424   DANIELLE     HENDERSON                 MO         90010864316
38867447384379   WILLIAM      BILLINGTON                SC         90010764473
38867974341285   SUE          KRETCHUN                  PA         51001299743
38869257136143   MONICA       SANCHEZ                   TX         90014792571
38873417536143   MATTHEW      PEREZ                     TX         90014794175
38873694563623   JACKLIN      OCTAVE                    MO         27515176945
38874471536143   RENE         JACKSON                   TX         90014794715
38876818141258   HELEN        LEININGER                 PA         90012398181
38881218732573   SANANIYE     BERNARD                   TX         90012762187
38881345636143   CYNTHIA      FUENTEZ                   TX         90007673456
38892781736143   JOSE         LIMON                     TX         90003257817
38894182361979   RICARDO      PAREDES                   CA         90003601823
38895834441258   SHAWNTAE     STEVENSON                 PA         90012398344
38896643241285   EDWARD       PATTERSON                 PA         90010686432
38911727441285   RANFIS       PEREZ                     PA         90014437274
38912198155972   CAMILA       CRUZ                      CA         48016611981
38913231536143   STACY        VERHAGE                   TX         90013332315
38914548991831   ALFREDO      ARIAGA                    OK         90012215489
38919959841285   BARBARA      HARRIS                    PA         51070909598
38921597955972   LATOYA       SANCHEZ                   CA         48089285979
38925261391831   BETHANY      REDDOUT                   OK         21038792613
38925387555947   ROBERT       CRUZ                      CA         90013483875
38927723455972   ALEXIS       STEWART                   CA         48088507234
38928587251369   DARLENE      LOWE                      OH         66081655872
38931389941258   LEELA        DAHAL                     PA         90013093899
38932193941258   JACOB        KEFFER                    PA         90014561939
38932394191356   AMBER        HARTSOOK                  KS         29042493941
38933125555972   RICK         ARTES                     CA         90013461255
38935182791371   KENIA        MCELROY                   MO         90009861827
38941169836143   CRYSTAL      CASTRO                    TX         90008991698
38942324541285   THOMAS       WILSON                    PA         90013493245
38946993841285   LISA         LANZA                     PA         90007759938
38952157941285   ROBERT       VAIL                      PA         51054331579
38952722991561   ERICK        BEJARANO                  TX         90011227229
38953117791371   MARI         REYES                     KS         29005441177
38954246255972   ELIZABETH    ALCARAZ                   CA         48077002462
38956278291356   ANNA         SANDOVAL                  KS         29028022782
38961759591885   RANDIE       CRAWFORD                  OK         90014987595
38965859391371   JAIME        RECINOS                   KS         90011978593
38965897755927   HECTOR       FELIX                     CA         90007508977
38971314871921   MIGUEL       ANGEL                     CO         90011293148
38971931951377   JUSTIN       HAFNER                    OH         90014829319
38976678472496   MELISSA      PORTERFIELD               PA         90010506784
38978723231424   RUTH         ASHER                     MO         90014157232
38981387641258   QUENCY       HEAD                      PA         90013033876
38982645891232   MIKE         BROCKETT                  GA         14577396458
38984564731424   PAMELA       BUTLER                    MO         90015015647
38984645891232   MIKE         BROCKETT                  GA         14577396458
38985429555972   MITCHELL     ZERMENL                   CA         48012434295
38985541191831   CHRIS        POINDEXTER                OK         21064005411
38985591491232   TYRONE       THOMAS                    GA         90000705914
38986161955972   RAYLENE      FLORES                    CA         90012321619
38986792191525   ALICIA       AYALA                     TX         75038397921
38988626331485   GAIL         BRASFIELD                 MO         90006226263
38993993291831   MICHAEL      CURTIS                    OK         90012039932
38995113741285   DANIEL       SEALS                     PA         90010991137
38995346794981   JULIO        FRANCISCO                 CA         90014703467
38995477455972   REGINA       DOMINGUEZ                 CA         90013084774
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38995531391356   DINO         GIANNIOS                  KS         90005135313
38995761991525   DALIA        PACHECO                   TX         90009487619
38996328661931   ELIZABETH    RAMOS                     CA         90007773286
38998899791831   IRENE        JOHNSON                   OK         21036918997
39112495854151   PATRICIA     FREEMAN                   OR         90009014958
39112697391525   LILIANA      SELF                      TX         90014426973
39113221155972   JOE          GONZALES                  CA         90010642211
39113413291831   SANDY        CLIMER                    OK         90012234132
39115147555972   NANCY        FALCON                    CA         48016791475
39115438771962   ARCIELIA     SMITH                     CO         90013094387
39115932833649   DIANA        ROSARIO                   NC         90013489328
39122131731424   AMBER        WEBB                      MO         90010721317
39122613391831   VANESSA      PAYNE                     OK         90011056133
39123554941258   BELINDA      WILSON                    PA         51072135549
39126548241258   ANGELA       LYLE                      PA         90013805482
39127554955949   ALBERT       OCHOA                     CA         49073225549
39128659177544   NICHOLE      WELLINGTON                NV         90011756591
39128977531424   MICHELLE     CLAYTON                   MO         90014889775
39129464791371   TODD         LESH                      KS         90010344647
39131411355972   JOSHUA       VAUGHN                    CA         48008364113
39131416455921   ASTRID       HERRERA                   CA         90013134164
39131543351578   MARTIN       GONZALES                  IA         90015515433
39135912791232   BERNARD      JONES                     GA         14516539127
39136367841285   BRENDON      SWIFT                     PA         90011463678
39136946855939   ERIKA        VEGA HERNENDEZ            CA         49016779468
39137241841277   LONI         VOLPE                     PA         51047792418
39137536141258   MARK         LEPPERD                   PA         90011705361
39137584941285   KRISTINA     NELSON                    PA         90010385849
39137859291371   JOSE         BARAHONA                  KS         90009228592
39138788591587   YESENIA      AGUIRRE                   TX         75016297885
39141177342365   LARRY        GOMEZ                     GA         90013081773
39144486457569   JANET        RASCON                    NM         90014134864
39152855255949   GERRY        VANG                      CA         49073148552
39153269351578   PRETOUSH     HARRIS                    IA         90015082693
39154343855972   BARBARA      VANHOEK                   CA         90013203438
39155222441285   CHENEA       ARINGTON                  PA         51029592224
39155478461925   CYNTHIA      ARECHIGA                  CA         46001194784
39157985377544   HECTOR       SANTOYO-RODARTE           NV         90011789853
39158399191371   DEANDRE      SEALS                     MO         90003683991
39158679491584   JOSEFINA     RODRIGUEZ                 TX         75077506794
39158736541277   DONALD       KAZMIERCZAK               PA         51060287365
39161397355972   SONIA        SALAZAR                   CA         90011113973
39161583585833   PRUDENCIO    VAQUIER                   CA         46004575835
39161865831424   MORGAN       TOWNSON                   MO         90013758658
39165972641277   JOSH         WEST                      PA         90008089726
39168929341285   EDWARD       SMITH                     PA         51026999293
39169585191885   BONNIE       WOODARD                   OK         90001045851
39169589155949   GUADALUPE    MIRANDA                   CA         90014345891
39173257591525   WENDY        ZEPEDA                    NM         75017032575
39173917891831   MARIA        MARRUFO                   OK         90012979178
39174495255972   TINA         FRIAS                     CA         48024084952
39174835771955   GILBERT      MUNOZ                     CO         90010318357
39176439291371   PEDRO        RAMIREZ                   MO         90007904392
39182582955949   JACOB        JEFF                      CA         90012575829
39182771492853   CINTHIA      MACIAS                    AZ         90011167714
39183579791371   MICAH        WALKER                    MO         90013715797
39186971755949   RACHEL       GALVAN                    CA         90012639717
39187117631424   KIONNA       MCCOY                     MO         90008491176
39187571491371   SAUL         MONREAL                   KS         90006745714
39189195141277   ROBERTA      WALLACE                   PA         90006631951
39189714831424   ALICIA       BERRY                     MO         90002867148
39189739431458   REBECCA      FANNINGS                  MO         27513017394
39189878291831   GINA         GRAHAM                    OK         90001658782
39192154691584   JESSICA      LIRA                      TX         90003161546
39195549141258   JASMINE      HOUSER                    PA         90003735491
39212398691831   GABRIELA     CRUZ                      OK         21003983986
39213485157131   CARLOS       AGUILERA                  VA         90008054851
39213963871955   HUMBERTO     PACHECO                   CO         90010769638
39214577277544   ADELA        CASTILLO                  NV         90003755772
39214789391543   GRACIELA     RODRIGUEZ                 TX         90000577893
39215767691831   AMA          DONSU                     OK         90015227676
39216133655972   JOHN         JONES                     CA         90012121336
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39218481655949   MARIA        MORENO                    CA         90013934816
39219342555949   ROSITA       BOU                       CA         49007933425
39221892991371   MARTHA       ABBOTT                    KS         29085408929
39222925691371   LILIANA      CAMPOS                    KS         90013839256
39224845231424   PRESTEN      PINNELL                   MO         27537508452
39226175891994   NICHOLAS     SYDOW                     NC         90000881758
39226939155949   WILLIAM      FANE                      CA         90014639391
39229768741297   TINA         SHAY                      PA         51089077687
39233584741258   CYNTHIA      CEPHAS                    PA         51033105847
39234263955949   CAROLINA     MONROY                    CA         90011572639
39234691691543   EDUARDO      CARRASCO                  TX         75038726916
39236529955949   KEVIN        PRIAULX                   CA         90007845299
39239251155972   HECTOR       RIOS                      CA         48091422511
39239748685833   KAREN        PINO                      CA         90006697486
39244854491371   JAMMIE       SADLER                    KS         29014318544
39245581185824   MELISSA      WALTER                    CA         90005135811
39246585785939   KENNY        LOWE                      KY         66078725857
39247879285833   BALDEMAR     GOMEZ                     CA         90003378792
39248284391831   TARAS        WYNNE                     OK         90014872843
39249168571945   ALEJANDRO    ALDAVE                    CO         32012621685
39249178291831   JAKOBE       YOUNG                     OK         90013271782
39249477591831   JAKOBE       YOUNG                     OK         90014174775
39249862555949   EMILY        CROUCH                    CA         90011428625
39253185641258   RICSHAWN     JACQUELINE                PA         51039531856
39255134855949   YOLANDA      BAEZ                      CA         49082881348
39256252741285   ROSA         DOMINGUEZ                 PA         90012212527
39256337855972   ASHLEY       DURAN                     CA         48073613378
39257351451341   TINA         AKERS                     OH         90012733514
39257352841258   AMINI        NERSON                    PA         90012303528
39257936841258   JAVIER       ESPARZA                   PA         90014119368
39258323455972   ANA          HERNANDEZ                 CA         90014613234
39261474331424   ROCHELLE     GATES                     MO         90010804743
39264365377544   MARLON       BANDIJA                   NV         43095103653
39264545455972   TANYA        PASILLAS                  CA         90004505454
39265993761986   OSCAR        OLGUIN                    CA         90013529937
39266117851322   DANNIELLE    POWELL                    OH         90008341178
39266685441277   NICHOLAS     BOYKO                     PA         51072666854
39272787991831   ALEJANDRO    SOLIS                     OK         21087027879
39273824931424   SHERITA      SANDERS                   MO         27594808249
39275929291831   CHARLES      JONES                     OK         21081139292
39276531655949   MARISKA      LOPEZ                     CA         49051315316
39276681261924   SERGIO       RODRIGUEZ                 CA         90002736812
39277736557131   REINA        MERCADO                   VA         81012647365
39278738771924   KATHERYN     TORRES                    CO         90011067387
39279214941277   JENNIFER     PESTOK                    PA         51069912149
39281231631424   JANAE        OWENS                     MO         90014612316
39282324885833   MICHAEL      HARRIS                    CA         90003403248
39283187355949   TRACY        GONZALEZ                  CA         49062661873
39283384191831   ERICA        MAKINS                    OK         90011953841
39283841291549   JOSE         AGOSTO                    TX         90013088412
39284268431424   TONY         ATKINS                    MO         90014712684
39285355155949   YADRIA       CERVANTES                 CA         49072003551
39285389131424   ALEXANDER    JOHNSON                   MO         90012943891
39291632541258   MOUREEN      PINDU                     PA         90012106325
39297129655949   CANDELARIO   QUINTERO                  CA         90015081296
39297498191831   GEORGINA     GARCIA                    OK         90014914981
39299188341258   KELLY        MICKMAN                   PA         90014771883
39311584655949   MARTHA       CASTALLENOS               CA         90008415846
39314129291831   KELLY        COYLE                     OK         90000901292
39316366755949   TERRENCE     SMITH                     CA         90011373667
39316411877544   OSCAR        VARGAS                    NV         43016004118
39316566691371   SILVIA       SIGUENAZ                  KS         29013555666
39319796884345   DRE          SMITH                     SC         90014587968
39322485191371   AUDREY       MITCHELL                  KS         29098784851
39323813755949   REYNA        HERNANDEZ                 CA         90013058137
39326669141277   SANDRA       MARTINEZ                  PA         51096296691
39326974491371   EMILY        SQUIRE                    KS         90012429744
39327332391371   ALMA         SAENZ                     KS         29086873323
39329918491543   MIGUEL       VILLA                     TX         90014879184
39331116155949   WAYNE        BERG                      CA         49052751161
39331435641285   VANESSA      WILLIAMS                  PA         90014814356
39332477491831   SAMUEL       TOTO                      OK         90013974774
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39335762685833   DOMINGO            RAFAEL              CA         90011787626
39337424955972   EVA                SORIA               CA         48038594249
39337752791831   VIOLETA            BECERRA             OK         90002147527
39338249772495   JERRY              MOFFA               PA         90010472497
39341116491587   NEYRA              ALCANTAR            TX         75098741164
39342754591371   TODD               PREATOR             KS         29043707545
39344437291584   ARACELI            CUEVAS              TX         75067484372
39345313841258   ANGELA             SINGLER             PA         90013923138
39347278441277   PAULA C            FERRIS              PA         51046372784
39347767654154   TIFFANY            SEXSON              OR         90000277676
39349466141258   RAHEEN             ALLEN               PA         90013784661
39351913241258   PAYGO              IVR ACTIVATION      PA         90013859132
39353288555972   MICHELLE           MORENO              CA         90007672885
39354624541258   RICHARD            TECK                PA         90003796245
39357654125655   JENNIFER           POINTER             AL         90015006541
39357863891371   RICK               PASSANTINO          KS         29052558638
39358123855972   TONY               PONCE               CA         90004781238
39359848577544   RUBEN FABI         TORRES              NV         43011688485
39361658355949   JESSE              FLORES              CA         90013296583
39364242941258   RICHARD            TUITE               PA         90014652429
39364898631424   MELODY             EDMOND              MO         27502048986
39366719547935   JOHNNIE            CRAWFORD            AR         90002837195
39369955641258   RICH               SIPKO               PA         51024579556
39372742971923   LARRY              EDWARDS             CO         90007087429
39376489155972   OLGA               CORONA              CA         48030424891
39378949577544   ANGEL              VAZQUEZ             NV         90006609495
39379574355972   JUSTIN             LOVELL              CA         48054395743
39379815477544   LEAH               MOORE               NV         43056278154
39383282291371   CINDY              GUERRERO            KS         90013962822
39384985961557   DERVIS             ALPIREZ             TN         90003329859
39385481277544   STACY              LOPEZ-ROSAS         NV         43014024812
39385585931424   CHARLOTTE          RICHIE              MO         90012765859
39386118255972   PEDRO              MACEDO              CA         48044681182
39386194655949   LUIS ALBERTO       ROSALES             CA         90012791946
39386984841258   SAMANTHA           MIRT                PA         51044199848
39387898855949   JUAN               LOPEZ               CA         90001568988
39389315555972   JOY                BAKER               CA         90013233155
39389654991584   WENDY              FLETCHER            TX         75007046549
39389777171921   LISA               HINTON              CO         32014317771
39389863541246   AMIR               MILLER              PA         90008788635
39393198972495   JENNIFER           CARTER              PA         90012641989
39393494141285   BARBARA            MULDROW             PA         51063974941
39393714255949   JESUS              SERATO              CA         90013867142
39395287455949   NOEMI              VILLANUEVA          CA         90012752874
39395386831424   THOMAS             WINGENBACH          MO         90013903868
39398935841258   BODIE              ESSIET              PA         51029979358
39411536191371   LEONEL             PALOMINO            KS         29074495361
39411968655972   BRENDA             VIRAMONTES          CA         90005999686
39412916285833   STEPHANIA          CAMBERO             CA         90013009162
39413515977544   SANDI              STUCHLIK            NV         43061915159
39415181231424   RYAN               BECK                MO         90013811812
39416211531424   CHENELLE           CHEFFEN             MO         90010912115
39417249541285   TIMOTHY            KALLAY              PA         51094882495
39418556741285   MARY               WIELGOLESKI         PA         90001395567
39418683255972   ALVEARN            HOWARD              CA         90008336832
39418958891232   TONYA              WILLIAMS            GA         14528049588
39419455191831   REBECA             SALDANA             OK         90003914551
39424185241285   AMBER              WHITAKER            PA         90011101852
39424296871955   TIFFANY            TRUJILLO            CO         90013082968
39427127891831   RACHEL             BOHANAN             OK         90010891278
39427147341258   RONNA              FREUND              PA         90011511473
39427488171962   STEPHANIE          DISPOTO             CO         32004454881
39428799941258   LEDDIE             BARNA               PA         90014847999
39429918655972   ISIDRO             OLEA                CA         48043059186
39431734155936   MARGARITA          ARREDONDO           CA         49084297341
39432825355972   YOANA              ESTRADA             CA         90004298253
39433196355972   JUANCARLOS         REYNOSO             CA         48055741963
39435382455949   EBELIA FARIAS DE   BARRAGAN            CA         90014013824
39435436941277   MICCHELE           GREEN               PA         90009154369
39435941831424   KENNY              BANKHEAD            MO         90014649418
39436528655949   NICOLE             SANCHEZ             CA         90010415286
39436964955972   CLAUDE             TOLBERT             CA         90004989649
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39437689641285   ROB              ROSE                  PA         90010386896
39438757791525   LUZ              FAVELA                TX         75089887577
39439423855972   DIANA            CASTRO                CA         90007674238
39441216355949   CHEE             YANG                  CA         49000802163
39441939655972   ALBER            CUCHILLA              CA         90004139396
39442153391371   KARINA           AMAYA RAYMUNDO        KS         90006171533
39442327455972   TIM              DUKES                 CA         90007823274
39442568831424   ELVIS            SMAJIS                MO         90013835688
39445723777544   JAMES            JUNGEN                NV         90011347237
39446271541285   ASIA             MILLENDER             PA         90013432715
39446917855972   ALLYRIANE        DIAZ                  CA         90011479178
39452914191967   BOBBY J          HORTON                NC         17037859141
39452962931424   KAYLA            CROY                  MO         90006039629
39453671377584   SHAWN            ROSSER                NV         90008476713
39455856941285   BERNICE          DILL                  PA         90014738569
39457934341285   TRAYVON          SNOE                  PA         51050609343
39462487231424   NAIL             CARTER                MO         27561364872
39463116155972   BERNADETTE       RODRIGUEZ             CA         90013771161
39463762591967   KENNETH          SCOTT                 NC         90015037625
39464741441258   LINDA            MCGINNIS              PA         90013687414
39465153685833   STEPHANIE        LOPEZ                 CA         90006951536
39466592955972   JOSE             CRISANTO              CA         90014865929
39469732141258   JACK             TARDD IV              PA         51067347321
39472193841258   SANDRA           ELLIS                 PA         90013181938
39472195891584   ALEJANDRA        DIAZ                  NM         90003891958
39476374455949   GUILLERMO        PEREZ                 CA         90010663744
39478926541258   JERRELL          HOSTON                PA         90012179265
39481754191831   EDWARD           MCKINNEY              OK         21011227541
39483777355972   PEREZ            MIGUEL                CA         90005387773
39484976491371   MARY             GROVES                KS         29066029764
39485851755972   ESTER            FLORES                CA         90013868517
39486728361982   EVANGELIO        RAMIREZ               CA         90008457283
39492237331629   STARLA           VANN                  KS         90013492373
39493795191831   JASMINE          BERRY                 OK         21078047951
39494544555949   STEPHEN          DIAZ                  CA         49082875445
39498162385833   ROSALVA          JUAREZ                CA         90011931623
39511123141285   EL CANIO         SMITH                 PA         51027431231
39511635491831   JOSE             ZARATE                OK         90010926354
39512127991831   WINDY            COBBS                 OK         90014811279
39512147431424   TRACEY           BENGAIES              MO         90005261474
39513695255949   OPAL             MAJOR                 CA         90014876952
39516759425365   PRE              HTOO                  WA         90015487594
39516846891371   CHRISTENSEN      MAXINE                KS         90007638468
39518952961489   JANET            WARTON                OH         90014809529
39519767757131   KASSAHUN         SHENKUTE              VA         90002837677
39521343925655   CLENTHIA         JONES                 AL         90015053439
39521691691831   MARGARET         MILLER                OK         90012746916
39521917391371   ROXANNE          EVANS                 KS         29083029173
39521932291371   ROXANNE          EVANS                 KS         90012579322
39523124755949   ANDREA           PILLUS                CA         90000671247
39524536431424   MARY             GRAY                  MO         90005015364
39524877341285   SAMSON           LEE                   PA         90013138773
39526186855949   MARIA            MARTINEZ              CA         90011691868
39526329691371   MICHAEL          BUSSONE               KS         90014093296
39527497291831   TRAVIS           RILEY                 OK         90009684972
39528443141258   AMY              DAVIS                 PA         90014704431
39529984641258   THOMAS           DUPESKO               PA         51078209846
39532753155949   RAYMUNDO         NAVARRO               CA         49081947531
39533546333625   GAIL             SUTTON                NC         12006775463
39533924591584   ALMA             CORTEZ                TX         75023999245
39535348591538   YVETTE           FLORES                TX         75009103485
39539474541285   AMBER            KOPRIVER              PA         90013314745
39543678491371   MARIA            CALDERA               KS         90015156784
39544286491831   TIANDRA          SWISHER               OK         90014692864
39544392141258   MARGARETT        HAYS                  PA         90003103921
39545636455972   CIRILA           ROBLEDO               CA         90013796364
39546557255949   MARIA            URIBE                 CA         49074895572
39552498955949   JOE              CAVAZOS               CA         90013034989
39553111741285   TONY             BARTKO                PA         90001021117
39556352541285   BRENDAN          HERRON                PA         90014833525
39556862877544   MICHAEL          BIRD                  NV         43083048628
39557599597126   CLAUDIA LORENA   LOPEZ AGULIAR         OR         90013115995
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39557892291371   COURTNEY     LESPERANCE                KS         90015008922
39559263141258   RYAN         GRIFFITH                  PA         90013742631
39561775831424   ANN          SMITH                     MO         90010247758
39562466755972   OMAR         GUDINO                    CA         90014854667
39563535785833   DIONICIO     HERNANDEZ                 CA         90005345357
39565868141285   DAVID        VELAZQUES                 PA         90013348681
39568221441258   JAMES        LUNN                      PA         90014402214
39568533685833   DAVID        JURISOO                   CA         90011025336
39569477891831   ROBERTO      VARELA                    OK         90006164778
39572375991371   ADRIAN       OLIVAS                    KS         90015303759
39572841441285   ROSEANNE     DEBRUYN                   PA         51073238414
39573593731424   KELLEN       BOST                      MO         90010675937
39573955851595   KELLY        WILSON                    IA         90010349558
39575559555949   GENOVEVA     SANCHEZ                   CA         49048785595
39577759741285   RONALD       RUSSELL                   PA         90002577597
39578831155949   FEAN         CHA                       CA         49015488311
39578855261999   JOSE SANTO   VALDEZ GONZALES           CA         90000388552
39578856941285   GREGORY      SHIELDS                   PA         90015178569
39578882991831   KRYSTAL      KIRBOW                    OK         90005188829
39579756191861   RENEE        NELSON                    OK         90007607561
39581271641258   TINA         TITUS                     PA         51068732716
39581886191371   CODY         GUMM                      KS         90014968861
39581923177544   DAWN         PAPLIA                    NV         43056279231
39582784955949   RICKY        NOVELLA                   CA         49011317849
39585996891831   STEPHANIE    BANGARD                   OK         90014739968
39586114555949   HUFFSTUTLE   CAROLYN                   CA         49096761145
39587715241285   SHELDON      BOYER                     NC         51001237152
39589721471923   HECTOR       VILLEDA                   CO         90006037214
39592991955972   JACK         DALOIAN                   CA         48010629919
39596744977584   JOSE         RODRIGUEZ                 NV         43000997449
39599781641285   PENNY        GHRIST                    PA         51005147816
39599889691371   AMBER        MENDOSA                   KS         90008408896
39611639941258   CHRISTOPHE   PERKINS                   PA         51000876399
39614555271937   JAIME        GENDOES                   CO         90012615552
39614933355949   ANA          BECERRA                   CA         90015039333
39615516185833   EMA          MEJIA                     CA         90007155161
39616613277544   TIFFANY      CASINO                    NV         90004246132
39616689991544   ALLEN        TIFFANY                   TX         90003536899
39618661655972   SHARON       RODRIGUEZ                 CA         48092276616
39619863755972   CRISTINA     IVARRA                    CA         48054398637
39622369291831   EDNA         CHERRY                    OK         90013203692
39626685441285   NICHOLAS     BOYKO                     PA         51072666854
39627266955972   JUANITA      MARTIN                    CA         48013722669
39628298691584   JESSICA      CHAVEZ                    TX         75036622986
39632188891584   MARGARET     TONCHE                    TX         75005011888
39632917955928   LUCIA        MENDEZ                    CA         90004999179
39632931731424   TRACY        ENLOW                     MO         90013009317
39632996891831   STEPHANIE    BANGARD                   OK         90014739968
39633778955949   JEMSON       CHASENGNOU                CA         90012707789
39635719441258   GARCIA       ZARAGOZA                  PA         90013257194
39636137391881   MACKENZIE    HYDE                      OK         90010361373
39639165255972   JOSE         GONZALEZ                  CA         90011491652
39641156731424   NAOMI        MCCALL                    MO         27563611567
39642976941258   PAIGE        MOODY                     PA         90008109769
39645513631424   JOE          WATHEN                    MO         90010785136
39647875491584   ANDREW       DOUGLAS                   TX         75017428754
39648863691371   KATHERINE    RICHTER                   KS         29080828636
39649211531424   CHENELLE     CHEFFEN                   MO         90010912115
39649512991371   AMY          MILLS                     KS         29012345129
39649962955972   NORA         ALVARADO                  CA         90011399629
39651732855972   GRACIELA     MARTINEZ                  CA         48043917328
39652623441258   JESSY        JONES                     PA         90014036234
39653953591371   KARLA        CASTRO                    KS         29095589535
39658499177544   PEDRO        ROMERO-GARCIA             NV         43015064991
39662453425655   RASHUN       CROOK                     AL         90015484534
39662625977544   JULIE        WEBB                      NV         43017546259
39664246441285   GLENN        HOFER                     PA         90001652464
39665229155949   RAFAEL       REYES                     CA         49057302291
39666749391537   AUDON        ROSALES                   TX         75065607493
39667777951347   JOSE         PADILLA                   OH         90008057779
39671883577544   DIANE        MORROW                    NV         43034808835
39672372941285   WILLIAM      ANSELMI                   PA         51040243729
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39673487931424   FALEENA      CRAPE                     MO         27558664879
39673936441258   LINDA        HARSHBARGER               PA         90003729364
39678821841277   JESSICA      LANZ-SALOMON              PA         51083468218
39682514291371   ERIC         NORMAN                    KS         90012215142
39684261757121   JAMES        BOHRER                    VA         90004902617
39685325485833   IRMA         MUNOZ                     CA         90011963254
39688542441285   JOHN         SMITH                     PA         90014885424
39691888991831   TERRY        MCGUIRE                   OK         21073858889
39692298891371   CHARLES      BALDREE                   KS         90011312988
39692513631475   ROXANNA      TREBUS                    MO         27548275136
39713921755972   ZEFERINO     BONIFACIO SALVADOR        CA         90012139217
39715447591831   ANGELA       WALLACE                   OK         90014344475
39716541191584   EVELENA      VEGA                      TX         75007265411
39717645591371   CRYSTAL      EVERIDGE                  KS         90012716455
39723491955972   DANIEL       ACEVES                    CA         48073394919
39726912455949   MICHELLE     MCKEE                     CA         90001729124
39727241185833   KEVIN        KELLY                     CA         46014972411
39729431861933   RICHARD      BROWN                     CA         90010874318
39735516955972   MIGUEL       DUARTE                    CA         90015045169
39735949585833   AGATA        EBONA                     CA         90008459495
39736784641258   SARA         OSBORNE                   PA         90013607846
39736932141277   LARRY        WILLIAMS JR               PA         51014499321
39737218191371   MARIA        ORTIZ                     KS         90001022181
39737585641258   KARRILEE     MCINTYRU                  PA         90012035856
39743319691831   TANIECESHA   WILLIAMS                  OK         90010893196
39745787955949   ROGER        BRANZUELA                 CA         49074497879
39746354931424   CHAD         HICKS                     MO         27511423549
39747619871691   MELINDA      RICHARDS                  NY         52037856198
39749812841277   ELIZABETH    MARRY BALKOVEC            PA         90010718128
39751289777544   WENDI        FOX                       NV         43033022897
39751411385833   JOSE         CORTESCRISPIN             CA         90011864113
39751485791371   TAMIE        BUCKLER                   KS         29007534857
39753982191584   MIRIAM       ORTIZ                     TX         75015439821
39754794322922   ROBERT       JOHNSON                   GA         90014107943
39755532941285   SABASTIAN    PERELLA                   PA         90015365329
39755951241258   CHRISTOPHE   WEBB                      PA         51096749512
39757448591831   SHELBY       MCADOO                    OK         90011854485
39759177441285   LEKESHA      PURTER                    PA         90011081774
39761656991584   ERNIE        DIAZ                      TX         75083186569
39762338841285   ANDREA       TURNER                    PA         51093783388
39763452255972   KENNETH      MYATT                     CA         90012874522
39764133755947   JOHNNEY      GUTIERREZ                 CA         90015151337
39764149831424   LEON         MACON                     MO         90012551498
39766294955949   DARIO        DOMINGUEZ                 CA         49051722949
39766358641285   CHIMERE      MOORE                     PA         90001563586
39769341291232   DEMETRIA     BREWTON                   GA         90003863412
39769573957131   MARIA EMMA   ERICK GONZALEZ            VA         90014925739
39769945755949   VALERIE      PALOMINO                  CA         90014639457
39773525441285   ANDRE        JOHNSON                   PA         51069275254
39775863977544   KERRY        HUMPHRIES                 NV         43067128639
39775956357135   ALEXANDER    CHAVEZ                    VA         90002489563
39776527157164   DENNIS       ROMERO                    VA         81015565271
39776652255949   PAUL         LARA                      CA         90014316522
39777457691952   IRIS         ULLOA                     NC         17089144576
39786623691584   LYNN MARIE   MARTINEZ                  TX         75080286236
39788782941285   EARL         DUNHOFF                   PA         51026707829
39794551391831   LIEN         KINGERY                   OK         90013435513
39795197891371   DUANE        BOHNERT                   KS         90011901978
39796147441285   RJ           SILAK                     PA         90002621474
39797173971924   ENOCH        VINING                    CO         90007891739
39797358591584   MARIA        NAVENAS                   TX         75062363585
39798573891356   MARCO        LOPEZ                     KS         90013265738
39799178385833   JOHN         LOPEZ                     CA         90006921783
39822871751578   JASON        MITCHEL                   IA         90013488717
39823338555949   RAYMOND      GARCIA                    CA         49097463385
39823399331424   JAMES        BOATRIGHT                 MO         27596743993
39823917855972   ALLYRIANE    DIAZ                      CA         90011479178
39825379991371   CHEVON       BLANKS                    KS         90010063799
39825465141258   GARY         STEIMER                   PA         90014464651
39827189191371   JAIME        PINTO                     KS         90013751891
39828534933665   MAYRA        VASQUEZ PEDROZA           NC         90001615349
39832446691584   GILBERTO     PAYAN                     TX         90006594466
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39837991191371   TEENA         HERRICK                  KS         29008419911
39839355791371   BHOLA         REGNIU                   KS         90013853557
39839649955949   ANGELA        LOZA                     CA         49057026499
39839828691831   JOSHUA        HOLLON                   OK         90011038286
39841599655972   ALEXANDRA     LEON                     CA         90014875996
39842724355949   MALINDA       YANG                     CA         90012667243
39843735841258   LAURA         BEALS                    PA         90013257358
39845725355972   MARIA         SANCHEZ                  CA         90010597253
39846656755949   STEPHANIE     COROANDO                 CA         90015346567
39852998277544   CHRISTOPHER   MARTINEZ                 NV         90003379982
39855464491371   LESLIE        SMITH                    KS         90013394644
39859441541285   ERIN          YOEST                    PA         90001864415
39859545477544   JULIE         CLEMENTS                 NV         43088205454
39863627841285   ULYSSES       CHURCH                   PA         90013456278
39864332371943   LINDA         WATKINS                  CO         90001583323
39868436431424   CHARLES       THOMAS                   MO         27517104364
39869247141285   AMY           LOWE                     PA         51094612471
39869863491584   ASCENCION     MENDOZA                  TX         75030288634
39872633491371   LISA          KIMBLE                   KS         90012876334
39872834851594   STEVE         DEGI                     IA         90014138348
39874317171955   LISA          PATE                     CO         90012373171
39876512477523   ROLANDO       RODRIGUEZ                NV         90002945124
39878956891831   KIM           WILLIAMS                 OK         21029589568
39881846531424   TAMEISHA      SIMMONS                  MO         90010668465
39882765391371   FLORENCIO     GOMEZ-MONTOYO            KS         90013177653
39885519741285   MALIKA        EPPERSON                 PA         90011185197
39885613355949   EDDIE         HUERTA                   CA         90013336133
39885995491371   JEHIELL       ARTETA                   KS         90010009954
39887282955921   SANTIAGO      CORTEZ                   CA         90014052829
39888399441285   KELLY         FRAZIER                  PA         90014463994
39888796591584   LAURA         SILVA                    TX         75036707965
39889123591371   DANA          GAGE                     KS         90015061235
39889461455964   STEPHANIE     GONZALEZ                 CA         90000694614
39891414755949   VANESSA       MOBLEY                   CA         90008634147
39892537731424   TIERA         BROWN                    MO         90014495377
39892677255972   BENI          SALGADO                  CA         90014656772
39892742291881   LEE           HENSON                   OK         90001827422
39895148761991   JESSICA       SANCHEZ                  CA         90010701487
39895431591371   SABRA         ROE                      KS         29023454315
39896418755972   CARRIE        MICHAELSON               CA         90003984187
39897512641258   ERICKA        WHITE                    PA         90013085126
39899588141258   RICHARD       MORAN                    PA         51088325881
39912769633751   AMANDA        WILLIAMS                 LA         90015337696
39912924455972   JOSE          TRUJILLO                 CA         48078439244
39913964891831   PENNY         MOORE                    OK         21022579648
39915829431485   MIKAL         JONES                    MO         90004188294
39916748241258   VINCENTI      RAYMUNDO                 PA         90013687482
39917554355972   JESUS         RAMOS                    CA         90015135543
39918472555949   PETE          SIERRA                   CA         49007864725
39918867972496   YVONNE        BROWN                    PA         90008598679
39924558255972   DANN          HARRASSON                CA         90015135582
39924688631424   DEANNA        WILLIAMS                 MO         90012356886
39926364291232   DENNIS        LISLE                    GA         14581203642
39926493577581   ANTONIA       HERNANDEZ-BAUTISTA       NV         90011164935
39926723791371   CHRISTINA     HUTCHERSON               MO         90014777237
39929113477368   PAYGO         IVR ACTIVATION           IL         90015021134
39931188791831   JOSEPH        WALSH                    OK         90013641887
39939294455972   JANETH        CHAVEZ                   CA         90011432944
39939383841258   ROBERT        SLAINSKY                 PA         90013543838
39942352131424   JAMIE         HERBERT                  MO         27557893521
39943237491831   BO            WHEELER                  OK         90014412374
39946445855949   IGNACIO       ROMERO                   CA         49010924458
39946927831424   ALESIA        FEATHERSTONE             MO         90011009278
39954792773221   ILSA          ABREU                    NJ         90015367927
39955384531424   RENIECE       RANDLE                   MO         90011123845
39957251531424   LAURA         LOVE                     MO         90006142515
39957989641277   MANUAL        MARTINEZ                 PA         51084449896
39958695941285   THERESA       RUNSKI                   PA         51036086959
39959759441285   ALESIA        MCFADDEN                 PA         90012527594
39962366291371   ARIF          JOARDER                  KS         90007613662
39963654254191   JAMES         DARROUGH                 OR         47051046542
39964831591371   MARIA         MOLINERO                 KS         90000658315
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39966961331639   JANAYA       PAYNE                     KS         90001689613
39966977441258   DEREK        BAUER                     PA         90013649774
39967711991831   MEIKA        ROBINSON                  OK         21076937119
39972678191371   JOANA        HERNANDEZ                 KS         90012766781
39978315241285   NICK         GIESE                     PA         90012683152
39979666141258   MARK         ANDERSON                  PA         90015316661
39981271655972   MARTHA       AGINAGA                   CA         90009762716
39981328255949   MONICA       VALDIVIA                  CA         90012673282
39982355855949   CAROLYN      BARSAMIAN                 CA         90010133558
39983179977523   JUSTIN       CONE                      NV         90012321799
39983189241285   JENNIFER     MANSON                    PA         90011101892
39984511641244   JASON        WASIELEWSKI               PA         90010605116
39984566585965   TERRA        SELLERS                   KY         90010735665
39985927851594   NASIR        KEMI                      IA         90015269278
39988647955949   MERCEDES     IBARRA                    CA         90012666479
39989266191831   PAM          NOBLE                     OK         90008552661
39994355691561   CARLOS       HERNANDEZ                 TX         90011523556
39995556591831   JULIE        MURRAY                    OK         90014065565
39997959141277   SHAWN        JOHNSON                   PA         51062669591
39997981555949   MARIA        ONZALEZ                   CA         90003839815
39998173241258   KIM          WILLIAMSON                PA         90007071732
39998963191371   VICTOR       MANSILLA                  MO         90002139631
41111587971999   DEBBIE       VALDEZ                    CO         90013705879
41111897491549   MARISA       SANTAMARIA                TX         75097588974
41113156991988   LOURDES      HERNANDEZ                 NC         90012791569
41113678755939   AMAIRANI     MAGALLANES                CA         90001286787
41114731951334   VONDALE      ELLERY                    OH         90005707319
41116195651334   LEE          LUX                       OH         90012701956
41116245184351   KEVIN        KUCH                      SC         19035652451
41117396886448   GINA         DUGUAY KNOP               SC         90014843968
41117576371999   MARY         ANTRIM                    CO         90007445763
41117741951334   ROSCOE       FIELDS                    OH         90011507419
41118176955939   GORGE        TINOCO                    CA         49053551769
41118387891569   ADAN         RENTERIA                  TX         75054243878
41118791641294   DESALLES     ROBBINS                   PA         90000697916
41121832755939   JUAN         CASTILLO                  CA         90014688327
41125856191873   TONYA        TACKETT                   OK         21064178561
41125913831649   JERRY        LEIS                      KS         90010999138
41128934993794   AMBER        LIMING                    OH         90012389349
41129277171999   SHANTEL      FRAZIER                   CO         38051692771
41131132571999   DAVID        MARMOLEJO                 CO         38095571325
41131356791988   KOURTINI     BRANDON                   NC         90009443567
41132966655939   OSCAR        CARRERA                   CA         90010349666
41133241451334   JONEA        ANDERSON                  OH         90015162414
41134291861967   ERNESTO      CRUZ                      CA         90011412918
41135726747954   TINA         ROBERTSON                 AR         25004117267
41135744191569   CECILIA      ANDREWS                   TX         75013917441
41138723171934   KENNETH      HARREL                    CO         32092417231
41139877591873   RICKY        PRICE                     OK         90003598775
41141927161967   DANIEL       LICON                     CA         90012929271
41142113955939   MARIA        AYALA                     CA         90014491139
41143529291394   JASMINE      GRANT                     KS         29003965292
41143745893794   TONYA        DAVIS                     OH         90005547458
41144261291569   WELLINGTON   FIGARO                    TX         75015282612
41146324747871   JOHNNITRE    PALMORE                   GA         90012113247
41146631491569   SANDRA       AGUIRRE                   TX         90014826314
41146832891394   DENEDRA      CALDWELL                  KS         90002338328
41148816793794   THIMOTHY     COLMS                     OH         90007468167
41149873691394   MATTHEW      JENKINS                   KS         90009368736
41151395661963   VIDAL        PATRICIO                  CA         46011093956
41152572751334   CLIFFORD     OLVERSON                  OH         66093275727
41153431891394   ELOY         AGUIRRE                   KS         90014034318
41154375661963   NATE         CURTIS                    CA         46003753756
41154544891394   TRACY        PARKS                     KS         90015305448
41154831771934   ANGEL        MATTHEWS                  CO         32008238317
41155148791569   NORMA        NAVARRO                   TX         90004591487
41156481691569   PRISCILLA    VARGAS                    TX         90011354816
41158395855939   APRIL        FANE-HARDEN               CA         49061763958
41161519771999   DONALD       PIKE                      CO         38075775197
41162937561933   LINDA        BOMAR                     CA         90012289375
41163268651334   NICK         YOUNGER                   OH         90004312686
41167791991873   MARK         COOLEY                    OK         90013817919
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41172461891988   CHANIECE     TABORN                    NC         90014574618
41172969271999   ANTHONY      DEVAN                     CO         38009959692
41173544991394   VICTOR       SEGURA                    KS         90015305449
41176853671999   NIKKI        JARAMILLO                 CO         38074748536
41176957261967   MARCO        REYES                     CA         90001309572
41177198885949   KEITH        BEVERLY                   KY         90007541988
41177493141294   JOSE         HERNANDEZ                 PA         90006404931
41179877591873   RICKY        PRICE                     OK         90003598775
41181126941294   KEVIN        CHAMBERS                  PA         90008561269
41181236993794   HAZEL        WASHINGTON                OH         66008462369
41181654261963   BARAKI       TEKLEHAIMANOT             CA         90013116542
41183566191873   MARGOT       WALL                      OK         90010745661
41186652191872   MEGAN        MCCONNAUGHEY              OK         90009096521
41188457393794   JENNIFER     COUCH                     OH         90012684573
41191739361967   MARCO        GARCIA                    CA         46031037393
41191916791988   CHISTINE     MCCLURE                   NC         90000399167
41191931792825   ANCELMO      RANCISCO                  AZ         90015299317
41192188761963   JAMES        DEY                       CA         46036701887
41192253191988   SHONTIA      DANIELS                   NC         90014272531
41193438393768   DONNA        MILLER                    OH         90001024383
41193883961967   CARLOS       VAZAN                     CA         90012648839
41194129593794   TAMI         TUPLIN                    OH         90015131295
41194192171999   JIMMY        KIEFER                    CO         38092651921
41198138251334   KIMBERLY     DAVIS                     OH         90013931382
41198514191569   MARTIN       ZAMARRIPA                 TX         75081535141
41199843461956   RAUL         RAMIREZ                   CA         90002328434
41199995471999   KATHLEEN     SHISLER                   CO         90014949954
41211291391569   MONICA       GUZMAN                    TX         75007052913
41212862891873   NICCARO      COLE                      OK         90014208628
41213928161967   ROBERTO      VARGAS                    CA         90012929281
41215465193784   HEIDR        OWINGS                    OH         90011304651
41215657555939   BIANCA       HER                       CA         90009036575
41216914761967   DAVID        GONZALEZ                  CA         90009699147
41217934993794   AMBER        LIMING                    OH         90012389349
41217938971934   FRANCISCO    ROSAS                     CO         32098539389
41218113371999   URIEL        BOGARIN                   CO         90012991133
41218686393794   TIFFANY      MYERS                     OH         66004736863
41221863171999   MADELINE     FIGUEROA                  CO         90013038631
41222362291394   GUADALUPE    ORTIZ                     KS         90013153622
41223213991569   JOSE         CORDERO                   TX         90011152139
41223243951334   ANGELA       BURCHETTE                 OH         66092342439
41224994591873   JESUS        DELGADO                   OK         90003599945
41225692547954   STEPHANIE    REYGADAS                  AR         25024576925
41226672257134   SAEEDA       SHARIF                    VA         90004296722
41227116791394   MARIO        ESPINOZA                  KS         90013341167
41228244693724   ANNE         EMMONS                    OH         64509362446
41229278961963   HUGO         SANCHEZ                   CA         90013842789
41232779161963   NELSON       LEON                      CA         46030517791
41233121355939   KENG         LOR                       CA         90013091213
41233647591547   ERIC IVAN    GARCIA                    TX         75015346475
41234967191569   JASMINE      HIDROGO                   TX         90013229671
41235563955939   MARIA        VALDOVINOS                CA         90015215639
41236829261967   ADRIANA      GILBERT                   CA         90009708292
41237683991873   PAUL         WALLACE                   OK         90014816839
41238377891988   GLADIS       FUNTES                    NC         90015133778
41238432691988   ASHLI        GREEN                     NC         90014274326
41239187293794   JOSHUA       PEREZ                     OH         90008251872
41241878391873   CANDY        BIRKHEAD                  OK         90008088783
41243315661967   MONICA       HINOJOS                   CA         90013373156
41243362186545   DEBORAA      CHASTAIN                  TN         90013943621
41243618351334   KARL         OVERTON                   OH         66007596183
41244995371999   ROSE         PINO                      CO         90003039953
41245775855939   BOBBY        GIPSON                    CA         90007937758
41246534371999   KRISTAL      PATTI                     CO         90005195343
41246787171934   JAMES        CLOWSER                   CO         32059727871
41247739531621   SANDRA       DUNN                      KS         90012117395
41248754191569   DONOVAN      BYERS                     TX         90015317541
41248819955939   ENRIQUE      CARDENAS                  CA         90012038199
41251145951383   MARIA        MARTINEZ                  OH         66069731459
41252476291988   JUVENAL      IBARRA                    NC         90014274762
41253816591394   PATRICIA     TORRES                    KS         90008008165
41254197451334   NATALIE      MCCREARY                  OH         66084631974
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41254429571999   AMADO        DIAZ                      CO         90014884295
41255958791394   AMANDA       EVANS                     KS         90006389587
41256145551334   BRENDA       CROLEY                    OH         66093291455
41258395585877   AMY          KATHEISER                 CA         90001573955
41259622691394   HERCULANO    SANTOYO                   KS         90007426226
41262622571999   JUSTIN       COOPER                    CO         90007956225
41264126555939   JORGE        GARCIA                    CA         90013091265
41265413351334   BRANDY       FLEMING-BROOKS            OH         90001984133
41265985342354   WINSTON      SHAVER                    GA         90008289853
41266798961963   MACARENA     HERNANDEZ                 CA         46050767989
41269714971934   MAURICE      MCCLAIN                   CO         90001677149
41269981955939   ROWDY        RUSCONI                   CA         90005089819
41271184793794   MARSHA       SHULTZ                    OH         90010881847
41271356955939   JESUS        GASPER                    CA         90006173569
41272291755939   JAY          GALLARDO                  CA         90006822917
41272989991394   TED          HAWJ                      KS         90013409899
41273183293794   ROBERT       GERRARD                   OH         90015011832
41273452755939   ALEJANDRO    CHAVEZ                    CA         90007874527
41273634161963   VICTOR       NEVAREZ                   CA         46015946341
41273699351334   JUAN         GAMEZ                     OH         90011906993
41273932447954   JOHEL        PEREZ                     AR         25002389324
41274582291873   DAVID        COOK                      OK         90012695822
41276982893794   CATHY        STEWART                   OH         90013539828
41281326185841   RICHARD      SWANSON                   CA         90005863261
41281425951383   KEN          PATRICK                   OH         90004624259
41282825261956   ROBERT       ELLERING                  CA         90006438252
41282861791569   PRISCILLA    FLORES                    TX         75086698617
41283487461963   LAWRENCE     SOMERS                    CA         90002214874
41283593461967   VIDA         MONTES                    CA         90013475934
41284319386478   JONATHON     WHITEFIELD                SC         90013353193
41285133555939   DANIEL       GARCIA                    CA         90013091335
41285929173264   CARLOS       SANCHEZ                   NJ         90015249291
41287888461963   MARIA        DEL PILAR                 CA         46065228884
41288385991394   LISA         BOYD                      MO         29086313859
41288816893794   ASHLEY       TURNER                    OH         90012988168
41292617491873   CR           BERENGUER                 OK         21005836174
41294485271999   JOSE         PALMA                     CO         38087854852
41295728255939   JORGE        OSEGUEDA                  CA         90014257282
41297793361967   MARIA D      SANCHEZ                   CA         90014067933
41299399941258   KHAIYA       ROSE                      PA         90006493999
41299671461967   MAGDALENA    AVILA                     CA         90015216714
41312388461963   MARIA        CERVANTES                 CA         90012413884
41314188491873   STEPHANIE    EMSPERITT                 OK         21040941884
41315516661967   HEYDY        HERNANDEZ                 CA         90014155166
41317517461963   DANIEL       ARCE                      CA         90015135174
41317862393794   GLENN        PHILLIPS                  OH         66012278623
41318458991873   RACHEL       FRITZ                     OK         21070704589
41318558861967   CODY         MELTON                    CA         90014155588
41319684555939   MARISELA     CEJA                      CA         90014826845
41319696771934   BRANDA       SCOTT                     CO         32083116967
41322199355939   CHARLES      MCMATH                    CA         90013101993
41323151151334   BRENDA       SUMNER                    KY         66039411511
41323785393794   RICKY        BOBBY                     OH         90015247853
41324758691569   MARIA        LOPEZ                     NM         90007497586
41325436251334   TAMI         WHITAKER                  OH         66006534362
41325625891988   ALFONSO      REYES                     NC         90014576258
41325983791569   JACKIE       REYES                     TX         90007849837
41329614961963   DINA         IBARRA                    CA         90014656149
41332853761963   MANUEL       LUGO                      CA         90013358537
41333416171999   PRIEN        TANYA                     CO         90012334161
41334212791394   ADAN         HERNANDEZ                 KS         90015462127
41336655891988   CHRISTINA    DECOSHA                   NC         90014576558
41339238193794   SCOTT        EMINGS                    OH         90012962381
41339398755939   RUBEN        SARAGOZA                  CA         90008963987
41342221431474   SHENEA       GARY                      MO         90007572214
41345146891569   ALEX         MARTINEZ                  TX         75074231468
41351293991873   DWAYNE       WEBSTER                   OK         21030712939
41351523355939   CRYSTAL      RAMIREZ                   CA         90010985233
41352748951334   DEIBRAN      SANTIAGO                  OH         90008947489
41353299291988   GABRIEL      MARTINES                  NC         90012962992
41353389355939   CYNTHIA      PRECIADO                  CA         90011553893
41353545771999   PAUL         BUENO                     CO         38008095457
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41355282551334   DANIELLE        GEORGE                 OH         90007362825
41355335693794   SHERRIE         CODY                   OH         90010023356
41355781671999   DANNY           ROCHESTER              CO         90013987816
41356956531448   HELEN           GUBO                   MO         27518019565
41359762251334   BRITTANY RAYE   DAVIS                  OH         90013167622
41364579555939   PABLO           AVILA                  CA         90015215795
41366345841241   LATAIJA         BARRON                 PA         90008853458
41366597771999   MICHAEL         GONZALES               CO         90011315977
41367427581639   DALE            LINDSEY                MO         90007834275
41368366291988   VERONICA        TUCKER                 NC         17079943662
41369433471999   CHRISTINE       YALOTZ                 CO         38064434334
41371389651334   LATORIA         SMITH                  OH         90014563896
41371559491988   YOLONDA         GUI                    NC         90014585594
41371573685941   KEVIN           LEEK                   KY         90014035736
41371838461967   TIMOTHY         FRANKLIN               CA         90014728384
41374143191988   CARLOS          GONZALES               NC         90013301431
41376313361967   CONNIE          WEHRER                 CA         90014623133
41376854291988   TAMARA          LEAK                   NC         90014568542
41377142471999   DARYL           WALLACE                CO         90010811424
41378748271934   EDDIE           BLACK                  CO         32001737482
41382594293794   TERA            GROW                   OH         66078315942
41384871991394   OCTAVIO         MARQUEZ                KS         29045378719
41384916191569   RUBEN           DAVILA                 TX         75050779161
41385364691394   LETICIA         HERRERA                KS         90013043646
41385773241265   SHAWN           OCONNOR                PA         90005007732
41385972155939   NORMA           CEJA                   CA         90000309721
41387186871999   ANTHONY         GALINDO                CO         38052361868
41387318281639   BRIANA          KENEFAKE               MO         90001063182
41388327791569   VIVECKA         VALDEZ                 TX         90014153277
41388592891394   TORI            SHIRK                  KS         90012515928
41389254893794   LARRY           GARRISON               OH         90013092548
41389258691569   MARIA           ESCARENO               TX         90010222586
41389312941294   SCOTT           O DONNELL              PA         90010543129
41391142471999   DARYL           WALLACE                CO         90010811424
41392772161963   JOHN            WIPF                   CA         90014557721
41392798985697   MICAELA         CHAVEZ                 NJ         90012717989
41392969293794   TOM             FORD                   OH         66009009692
41393745893794   TONYA           DAVIS                  OH         90005547458
41394492955939   GREGORY         COTTON                 CA         90013404929
41394838585931   DEBORAH         COLE                   KY         67014638385
41397912791348   PATRICK         MCGINNIS               KS         29041309127
41398466961967   ARTURO          NAVA                   CA         90013074669
41412311993794   WILLIAM         MYERS                  OH         66017793119
41413976161963   VINCENT         TOLAN                  CA         46034369761
41414826255939   CODY            XAYPANGNA              CA         90010488262
41419575191394   MEGAN           ANDERSON               KS         29076405751
41419618351334   KARL            OVERTON                OH         66007596183
41421362491569   ENRIQUE         ZARABIA                TX         75004473624
41421414991873   WILLIAM         WHITE                  OK         90012924149
41422785771934   JUAN CRUZ       GARCIA                 CO         32015687857
41422912491394   STACI           ZUEL                   KS         90012009124
41424639193794   BRITTA          SHAFFER                OH         66043556391
41425431593794   KAYLA           WAGNER                 OH         90009974315
41425547871933   LETICIA         ESCALANTE              CO         90002305478
41426632961967   RAMIL           BULATOV                CA         46044486329
41428437193767   KIMRII          PERRY                  OH         90012924371
41428531491873   JOHN            WASHINGTON             OK         21006335314
41428713255939   CHRISTOPHER     DAVENPORT              CA         90013117132
41429869791873   EDITH           B BÁEZ                 OK         90014188697
41432943191569   JORGE           HERNANDEZ              TX         75089469431
41434249351334   ANDREW          LETNER                 OH         90014812493
41435294961963   ASHLEY          CROSS                  CA         90013412949
41436865391394   ERICA           BOATMAN                MO         90012348653
41438297591988   MICHAEL         ROSS                   NC         90002222975
41438363755939   SUKHDEEP        SINGH                  CA         90005553637
41438478551361   KELLY           WAGNER                 OH         90005514785
41438621971999   BRANDON         CORDOVA                CO         90011316219
41438973393794   PAUL            ANDERSON               OH         90013239733
41439191293794   JEFF            HENSLEY                OH         90012801912
41442148993794   ROGER           BURTON                 OH         90014541489
41442891291569   GUADALUPE       POLANCO                TX         75038698912
41444661771999   STEPHANIE       QUINTERO               CO         90013326617
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41444998261963   RYAN          JUAREZ                   CA         90015139982
41445226861963   OCTAVIO       VALENZUELA               CA         90005182268
41445671661967   SHIELA        HOFILENA                 CA         90012716716
41446661891988   SHANETHA      ANDERSON                 NC         90010606618
41446991261967   JAIMI         MCGRAW                   CA         90001039912
41447659961965   VICENTE       MARROQUIN                CA         90012026599
41449334671934   KIM           GORMAN                   CO         32015553346
41449395855939   APRIL         FANE-HARDEN              CA         49061763958
41449576347954   SHELLY        WILSON                   AR         90004295763
41451489261963   RICHARD       EGAN                     CA         90014924892
41453989191881   LAWRENCE      HENSON                   OK         90005239891
41455332291873   MANGLEE       WEAY                     OK         90010243322
41458249451334   JULIA         NIKLAS                   OH         90014812494
41458279621622   JEFFERY       NEWELL                   OH         90014072796
41458897861967   PATRICIA      DUARTE                   CA         90009718978
41461219991988   KIARA         DAVIS                    NC         90011262199
41463792571934   FERNANDO      MARAVILLA                CO         32032047925
41464282161963   BRITTANY      POSEY                    CA         90008412821
41464717341258   TRICIA        CARTER                   PA         51085747173
41464892491569   PRISCILLA     FLORES                   TX         90009478924
41465832971934   FRANCES       BAPTISTE                 CO         32013658329
41466881591394   BILLY         WOODS                    KS         90010298815
41467977355939   GLORIA        VELAZQUEZ                CA         90010799773
41473267891394   CARMEN        JONES                    KS         90001582678
41475177891394   SAMIYYAH      EPPS                     KS         90014901778
41475961155939   ROBERT        JORDAN                   CA         90014859611
41478211441258   TATILA        BELL                     PA         51009502114
41478766261963   DARRYL        JONES                    CA         90015167662
41479528743576   MARIBEL       BRAVO                    UT         31002935287
41482762181639   BRANDY        MAYS                     MO         29080937621
41486336571934   JOHNATHAN     GRIFFITHS                CO         90003773365
41486358355999   ROGELIO       ESTRADA                  CA         90014693583
41486844591569   JESSICA       ACKER                    TX         75021868445
41486853191988   KENYATTA      BIGGENS                  NC         90013108531
41488988671999   GABRIEL       DEHERRERA                CO         90015089886
41489851861967   CARMEN        CASTILLO                 CA         90013018518
41491521871999   RICARDO       MARTINEZ                 CO         38036365218
41494653591988   PAMELA        HOLE                     NC         90008486535
41495147993794   JANICE        CRAMER                   OH         90012601479
41496257991873   CHRISTY       DEMERY                   OK         21001072579
41496727961967   JAN           HURTGEREN                CA         90014147279
41496991741294   TANESHIA      DEMUS                    PA         90003169917
41497526891988   TOM           BEAN                     NC         17008495268
41497768793794   CAROL         NOREN                    OH         90006067687
41498283791394   DRENNA        CAMPBELL                 KS         90004362837
41511167391394   TYLER         HUGHES                   KS         90012701673
41513347771231   WES           ARRICK                   IA         90006233477
41513571191873   MARIA         PETERSEN                 OK         90012915711
41514669191988   LATOYA        DAVIS                    NC         90014586691
41514742361973   TONIA         HERNANDEZ                CA         90014737423
41515815931432   ANGELA        CLIFFTON-HARPER          MO         90013438159
41517534942339   EDWARD        MULLINS                  GA         90011355349
41518423191569   JOSE DISMAS   ANAYA DISMAS             TX         90013764231
41519756191569   BRENDA        LEDEZMA                  TX         75037637561
41521332991988   CHRISTINO     HERNANDEZ                NC         90003273329
41522188654191   SCOTT         WALES                    OR         90002601886
41523421481639   KIMBERLEY     RUNYON                   MO         90011684214
41523899391873   MONNICA       LAWRENCE                 OK         90012148993
41524168193794   KIMBERLY      DALZELL                  OH         90011051681
41525375841294   PRUDENCE      NORMAN                   PA         90006793758
41527115191394   MALIA         GRAFF                    KS         29075261151
41528355291569   CAROLINA      GALINDO                  TX         90013083552
41528669961967   FRANCISCO     VARGAS                   CA         90002886699
41531374761967   STEVE         YOUNG                    CA         90003503747
41531919855939   ADALVERTO     ZUNIGA                   CA         90015119198
41535894291394   AYDEE         PADILLA                  KS         90014478942
41536147891873   CODY          FITZGERALD               OK         90008991478
41537417251334   KRISTINA      KOEBBE                   OH         90014564172
41537897491988   MIRIAN        MENDEZ                   NC         90013798974
41538683471999   BENJAMIN      BOND                     CO         38059336834
41541474361963   JERLENE       MASON                    CA         90001474743
41542637371999   MARK          HERNANDEZ                CO         90007706373
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41542767241258   DAVID          MORIS                   PA         90005647672
41542839385841   MICHAEL        MARASCO                 CA         46009318393
41544324861963   ARRON          LOPEZ                   CA         90013843248
41544638193755   MELANNE        WHEELER                 OH         90002446381
41544691571934   TAYLOR         GALLAGER                CO         90005446915
41545532291873   PAULINA        PEREZ                   OK         21008835322
41546939893794   FREDRICK       JACKSON                 OH         90013279398
41547762991988   SHAMIKA        LYONS                   NC         90013277629
41548129191873   SHERRY         CHANCE                  OK         21087531291
41548215291569   CECILIA        GONZALEZ                TX         90013402152
41548382291988   SEAN           BANNISTER               NC         90010343822
41551818391873   LASHAND        BUTLER                  OK         90008658183
41552787355939   HUAS           THAO                    CA         90015027873
41553349661963   PEDRO          ROMERO                  CA         90014233496
41553567133668   JUANITA        SANTOS                  NC         90014615671
41555343591569   MARIA          HERNANDEZ               TX         90014153435
41557714261963   ELENA          SANDOVAL                CA         90013117142
41558942371999   PAMELA         GERM                    CO         38054899423
41559317491569   SHANNON        MARTINEZ                TX         90013313174
41561497493794   SUMMER         DAVIS                   OH         90013584974
41564445541258   TIFFANY        THOMPSON                PA         51010254455
41566776381639   JEFF           GREGORY                 MO         29055867763
41567324391873   YHACOODAIL     REZZAQ                  OK         90014403243
41571635461956   MARIA          ELIZONDO                CA         90001786354
41572521655939   JUSTIN         BETTENCOURT             CA         90013125216
41573166191549   ADRIANA        MAESE                   TX         90007671661
41574623761967   LISBETH        SALGADO                 CA         90014156237
41574956791569   ELIZABETH      VILLALBA                TX         90014759567
41575269872491   FRANK          ADAMS                   PA         90012032698
41575979272491   FRANK          ADAMS                   PA         90006999792
41576296291988   JEANIE         LITTLE                  NC         90011272962
41576768391569   MANUEL         CRUZ                    TX         75030057683
41579634171999   ANDREA         PADILLA                 CO         90014846341
41581453961967   JAZMIN         ORTEGA                  CA         46008734539
41581489151383   CLIFFORD       VANOVER                 OH         90005624891
41581621771999   TRAVIS         ALLEN                   CO         90011366217
41585435161967   MIGUEL ANGEL   LOPEZ                   CA         90011644351
41585619271934   JONATHON       CRENSHAW                CO         32067446192
41585974761963   ETHAN          RUSSELL                 CA         90014249747
41586928661963   ROSARIO        RAMIREZ                 CA         46087809286
41587525451334   DOMINIQUE      ACREE                   OH         90011015254
41588576891569   BIANCA         RIVAS                   TX         90013195768
41588791385697   JUANA          MARTINEZ                NJ         90010577913
41591947161963   CRYSTAL        JOHNSON                 CA         90013899471
41592839891873   MONICA         KING                    OK         90012558398
41592993191569   JUAN ANGEL     PORTILLO                TX         90013319931
41594747471999   ERIC           KING                    CO         90008617474
41596392193794   LATASHA        MEDLEY                  OH         66030913921
41597148447954   KIRBY          BRIDGER                 AR         90006231484
41598628955939   LORENZO        ACEVES                  CA         90015046289
41599635291363   IVRON          ROBINSON                KS         90011196352
41611137871934   TAMMY L.       SOUTHARD                CO         90005451378
41611348291821   DEBORAH        SHARP                   OK         90011483482
41612723361963   ANTONIO        AVILA                   CA         46009927233
41612852641258   LINDSY         DODDS                   PA         90005648526
41613984861967   ROBERTO        LEON                    CA         90006419848
41614563251334   DENA           CURLESS                 OH         66056045632
41614636681639   RAMON          TABOR                   MO         29003186366
41616533861963   TUM            SANG                    CA         90011665338
41617723971999   BRIGIT         SCHROEDER               CO         38017117239
41617898991527   SULEMA         MARTINEZ                TX         90001348989
41618112191873   STEVEN         TAYLOR                  OK         90013701121
41618253193794   KATHY          MOORE                   OH         90009562531
41621211471934   EDUARDO        VEGA                    CO         90005912114
41622517391988   LATANYA        TANKSLEY                NC         17088995173
41623856193794   MICHELLE       PRIEST                  OH         90014728561
41623924755939   BRIANNA        ORNELAS                 CA         90013799247
41624453384369   RAY            PRYOR                   SC         90011944533
41624459861963   ARNOLDO        GUERRA                  CA         90013404598
41624829655939   LYNETTE        TUMOINE                 CA         49030908296
41625381691943   VONA           CUFFEE                  NC         90012943816
41628226291394   TONYA          LEWIS                   KS         29083012262
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41628466957569   SUSANA         MAJALCA                 NM         90009584669
41629375455939   LYNNE          BAIRD                   CA         49045033754
41629489491394   SEAN           DRUMRIGHT               KS         90011774894
41632585771999   BARBARA        HIGGS                   CO         38044085857
41633822991569   LESLEY         ROGERO                  TX         75024398229
41634916351334   RON            HARTLEY                 KY         90012529163
41635437491394   NATHANIEL      BRADY                   KS         90014814374
41635759755939   KARINA         RODRIGUEZ               CA         90004107597
41636698351334   BRYON          JONES                   OH         66033556983
41636833491873   TRENTON        MORRIS                  OK         90010148334
41637355541258   VERONICA       KRAUS                   PA         51066883555
41639223841294   JUDITH         KEENAN                  PA         51063842238
41639571755939   RAQUEL         AMBRIZ                  CA         90013125717
41641688791569   HERMILIA       HERRERA                 TX         75087196887
41644311191873   MICKEY         HARDMAN                 OK         21058633111
41648747557148   DELVONNO       BLACK                   VA         81076287475
41649661771999   STEPHANIE      QUINTERO                CO         90013326617
41651253291873   TERRY          ODONNELL                OK         90007962532
41651735391394   TAURUS         FOSTER                  KS         90013137353
41653837657549   GLORIA         OROZCO                  NM         90011328376
41654725861963   MANUEL         RAMOS                   CA         90013117258
41657381591873   MITCHELL       WHITNEY                 OK         90013413815
41657642961963   LIZETH         NOGAL                   CA         90011666429
41657896591394   JOSHUA         HUNT                    KS         90012848965
41657914661967   CRISTOBAL      LOZANO                  CA         90012699146
41658356581639   ANTHONY        EMANUELE                MO         29086643565
41662192561963   MARIA          GARCIA                  CA         90013941925
41663363771999   MAESTELA       BERNAL                  CO         90000193637
41663991591394   TERIE          FUNG                    MO         29053049915
41664148791924   EDDIE          HODGE                   NC         90014391487
41664672741265   DASHAWNA       TIGNEY                  PA         90012446727
41671283392825   VERONICA       ACUNA                   AZ         90014612833
41672312891394   CARMEN         GOMEZ                   KS         90012493128
41672651681656   LALO           MADERA                  MO         29017386516
41673551571934   CORREY         CLAUSSEN                CO         32033845515
41673751141294   TYLER          LOCKE                   PA         90005227511
41677186951334   CHRISTOPHER    DEMOSS                  OH         90013461869
41679978491988   PAMELA         LEWIS                   NC         90011289784
41681123291394   ADELAIDA       RIOS                    KS         29047061232
41681993191569   JUAN ANGEL     PORTILLO                TX         90013319931
41682899641258   TIA            LOPEZ                   PA         51005938996
41684661971999   DEENA          MONTOYA                 CO         90007686619
41687682293794   ASHLEY         KNOX                    OH         90014856822
41688129251555   GEBRETENSAYE   GEBREHIWOT              IA         90012731292
41688376191394   ANGELA         POWER                   KS         29071573761
41691149254151   JESSE          CLARK                   OR         90012561492
41691312981639   CATINA         TIMLEY                  MO         90010163129
41692429761967   AREATHA        HOLMES                  CA         90012854297
41693397891988   RODRIGO        ESCOTO                  NC         90011633978
41693568271999   REGINA         KOMORNIC                CO         90010815682
41695817493794   KATHY          MOORE                   OH         90009688174
41696242491873   ROY            BINGHAM                 OK         90003682424
41698311391873   MARY           HOWARD                  OK         21040273113
41711459841258   ANTHONY        SHROPSHIRE              PA         90006494598
41713349891569   MAYRA          CALZADILLA              TX         90009043498
41714322155924   MARIA          SANTOS                  CA         49060273221
41715383651334   MELONNA        RITCHIE                 OH         66015953836
41716661771999   STEPHANIE      QUINTERO                CO         90013326617
41717447761963   MELINDO        GALINDO                 CA         90008154477
41717731785968   JEAN           CRAVENS                 KY         90011277317
41718492291569   SALCIDO        MARISABEL               TX         90011404922
41718728255939   JORGE          OSEGUEDA                CA         90014257282
41719233931448   AMANDA         COLBERT                 MO         90014782339
41719996741294   LANCE          MACKLIN                 PA         90004229967
41722468172445   JOE            BECKINGER               PA         51068774681
41724192351334   KIM            MINCY                   OH         90006491923
41724414293794   NORMA          PANKO                   OH         90012534142
41725447251336   PHILIP         DILLINGHAM              OH         90015094472
41726899371934   JEANETTE       OCHOA                   CO         32097268993
41727486961963   RICK           BOYD                    CA         90014324869
41731188761967   FRANK          PRADO                   CA         90013521887
41732492291569   SALCIDO        MARISABEL               TX         90011404922
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41733164251334   JOSE         LUNA                      OH         90009231642
41733886386545   BRIAN        SILVEY                    TN         90014078863
41734184861963   SMITH        MARQUIS LAMAR             CA         90011671848
41735956371934   RENEE        ROMERO                    CO         90008749563
41737379371999   JAMES        ROMINES                   CO         90009443793
41737421491394   ROSA         RODRIGUEZ                 KS         90006714214
41737841293794   ALEXIS       MCKEE                     OH         90012988412
41738665841258   LANCE        LOGAN                     PA         90008616658
41738788191569   ANNETTE      CHAVEZ                    TX         90010277881
41741242661963   SIERRA       GILDON                    CA         90014762426
41743342455939   VANESSA      CASTRO                    CA         90010313424
41744519255939   ANA          HERNANDEZ                 CA         49030965192
41744998661967   JOSHUA       MCDANIEL                  CA         90011219986
41745298851334   CARLA        JOHNSON                   OH         90008942988
41746919191569   AUTUMN       SALGADO                   TX         90006029191
41747485761967   MARYCLAIRE   BILUNO                    CA         90012754857
41748268291988   OSHA         EDWARDS                   NC         90009182682
41749282491988   DERRICK      MACK                      NC         90014622824
41749666451334   REBECCA      HARRISON                  OH         66093506664
41753972991881   HUMBERTO     FRANCO                    OK         90014429729
41754283961963   JACKELYNNE   ORTIZ                     CA         90014742839
41754291291988   JOY          SPENCER                   NC         90014622912
41754421561938   JESSE        SOLIS                     CA         90013474215
41754958955939   MONE         PHANHTHOUKONE             CA         90001359589
41756341161967   AMADOR       MORALES                   CA         90009163411
41756682361963   MONSERRAT    MEZA                      CA         90013876823
41757752741258   BRUCE        ROMESBURG                 PA         90009847527
41758525181691   JASON        JONES                     KS         90007955251
41758755591988   AURELIANO    CANDELARIO                NC         90004677555
41759422291873   KYISHA       LENTZ                     OK         90009544222
41761239591988   LAJUANE      SOUTHERLAND               NC         90014622395
41761245893794   TENLEY       TAGHI                     OH         90014702458
41761862391394   INOCENCIA    DEL CRAMEN RAMIREZ        KS         90012888623
41762314136189   VERONICA     ESCALONA                  TX         90014393141
41762757693794   JEFF         BALLARD                   OH         90015297576
41764598491394   JOSUA        PATTERSON                 MO         90012505984
41765623791569   JOE          NUNEZ                     TX         90005006237
41766195371934   BUSTER       HANDLOS                   CO         90001201953
41766367293794   DIANNA       DARNELL                   OH         90003653672
41766784291988   JASMIN       GOLDSTON                  NC         90014627842
41766849171999   LISA         FAWKS                     CO         90007098491
41769697193794   KIMBERLY     PINKERTON                 OH         90015226971
41773847761967   VANESSA      BERMUDEZ                  CA         90009868477
41774314791394   CANDICE      COVINGTON                 KS         29091703147
41776372191873   ROY          HOWARDS                   OK         90006973721
41776388851334   STEVEN       TEDRICK                   OH         90014623888
41776615371934   STEPHANIE    VAN NESS                  CO         90000826153
41776671261963   GERARDO      MONTANEZ                  CA         46005816712
41779672991569   JASIEL       TOVAR                     TX         90011056729
41781514691873   KENDRICK     JOHNSON                   OK         90013695146
41781794871999   NORMAN       GONZALES                  CO         90015147948
41782762761967   PIERRE       SAVILLE                   CA         90013047627
41784634671996   CARRIE       MORTON                    CO         32098296346
41785935193794   KELLEY       LOVIN                     OH         66087519351
41786373161967   MARCOS       GURULE                    CA         90012553731
41786996271999   LORELEI      JIMENEZ                   CO         38044189962
41787429851334   KALLY        LIPPS                     OH         90008554298
41787675191569   TREVIZO      EDWIN                     TX         75095416751
41789426791569   MARIBEL      SOLANO                    TX         75058464267
41795923651334   DONNETTA     SMITH                     OH         90010519236
41797966891569   NICOLE       HERNANDEZ                 TX         90014759668
41811268461967   ELISA        VILLALOBOS                CA         90015212684
41815244955939   TRAVIS       RIOS                      CA         90013722449
41815695893794   RAYMOND      MOORE                     OH         90009496958
41816631693794   VIRGINIA     WEBB                      OH         66068936316
41817641393794   ERIC         MOORE                     OH         90012996413
41818125493794   LEA          JONES                     OH         90013331254
41819145793794   ZAKARY       MCMAHON                   OH         90012721457
41819495191547   DIANA        RUIZ                      TX         90010124951
41819972991569   MARCO        GONZALEZ                  TX         90003179729
41821553261963   JOSH         MIKE                      CA         90005245532
41821587555939   MARIA        RAMOS                     CA         90001475875
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41822674471999   BRANDY       MONTOYA                   CO         38006966744
41824254155939   LISA         ALVAREZ                   CA         90013132541
41824631691988   JOVANI       GONZALEZ                  NC         17082506316
41824757693794   JEFF         BALLARD                   OH         90015297576
41826451361963   CARLOS       GARCIA                    CA         90013124513
41827513291988   COURTNEY     THORPE                    NC         90009685132
41835236651334   LATEEFAH     SPENCER                   OH         66093372366
41835337591988   WILMER       CASTILLO                  NC         90011653375
41836737493794   DUSTIN       DRAKE                     OH         90012907374
41837538861963   DARLENE A.   WIGLEY                    CA         90013245388
41838258461967   JARED        GRADY                     CA         90015002584
41838514991394   RICHARD      COWAN                     KS         90014695149
41839176241294   PHIL         GEORGE                    PA         51010391762
41839478751334   CARLOS       MENDOZA                   OH         90008734787
41839753191569   JULIO        ALMANZA                   TX         75077717531
41841426891988   MAMIE        JONES                     NC         90014654268
41842292393794   CHRISTA      DUGGINS                   OH         90014572923
41843354391394   MISTY        DANIELS                   KS         90007993543
41844251455997   ANGEL        PEREZ-MONTIEL             CA         90013372514
41844267451334   EMILY        CORNELIUS                 OH         90013932674
41844898193794   DENISE       PRICHARD                  OH         90014158981
41845958291569   ANDRES       ARZATE                    TX         90010509582
41846585755999   KATRINA      MORALES                   CA         90010125857
41846693171999   KATRINA      KINGSTON                  CO         90011106931
41846945591569   OMAR         ESCALONA                  TX         90008179455
41847837393794   SARAH        HALCOMB                   OH         90005028373
41848969751334   JEFFREY      BAARLAER                  OH         66082299697
41851264691873   MILA         SAYLES                    OK         21072992646
41851356251334   WESLEY       KRAUS                     OH         90011563562
41851367391988   EDILZER      CASTANON                  NC         90012963673
41852383991569   ELVIA        MELENDEZ                  TX         75073173839
41852441991988   TANEQUIA     BRANCH                    NC         90014654419
41853276771999   CHRIS        MARTINEZ                  CO         38000822767
41857221661967   ANDRES       GASPAR                    CA         90009882216
41859389161967   SHEREE       MYLES                     CA         46056663891
41859466561963   TASSILI      TALAMANTES                CA         90013124665
41859799855939   MARIA        NUNEZ                     CA         49087867998
41861595261963   BRENDA       MOODY                     CA         46092495952
41865333161963   OMAR         ALTAMIRANO                CA         46094683331
41866716993794   CHARLES      PERRY                     OH         90012467169
41867298991394   VANESSA      BRIZUELA                  MO         90012132989
41871538797957   ERICK        MORENO-CENTENO            TX         90008025387
41871587561963   JULIET       PEREZ                     CA         90011675875
41872253691873   NOAH         ROGERS                    OK         90009222536
41872583151334   STEVE        TENDAM                    OH         66018095831
41873661891982   CLINTON      CENTRY                    NC         90012466618
41873785691569   VALERIA      PALMA                     TX         75014357856
41873974661963   BERTIN       GRANDA                    CA         46018189746
41875196391873   CHICO        OLVERA                    OK         90010181963
41875196955939   SARRINA      STAUB                     CA         90013431969
41875726661963   NEISI        GOMEZ                     CA         90013877266
41876582391988   ROBERTO      RODRIGUEZ                 NC         17077805823
41877475393794   AMANDA       MORETON                   OH         90014574753
41878438147954   TRUE         FARMAN                    AR         25091034381
41879126591873   RICHARD      LEWIS                     OK         90007101265
41879334761963   ROBYN        WEATHERBY                 CA         90000193347
41882371141294   JAINEIL      MATTOX                    PA         51075783711
41884767591394   NICOLE       MOORE                     KS         90014247675
41885355657159   CAROLINA     LOPEZ                     VA         90013563556
41885863661963   PAMOJA       DAWSON                    CA         90005438636
41888246661541   KANEITHA     NELSON                    TN         90015262466
41888528561963   JAZMIN       FRANCO                    CA         90013405285
41889995591394   BRETT        SMART                     KS         90014149955
41891583391988   NIKKI        FORD                      NC         90011815833
41891717791569   LORENA       QUEZADA                   TX         90012997177
41891952161967   MARIE        MARQUEZ                   CA         46003769521
41892893993728   BRANDY       WILSON                    OH         90010668939
41893694291988   JOSE         OROZCO                    NC         90014656942
41894728593794   SANDRA       DELAWDER                  OH         90014777285
41895922171934   ERIC         WATTS                     CO         32083209221
41897165161967   FREDI        DANIELS                   CA         46042691651
41897295971999   JEFFREY      CARRIER                   CO         38048722959
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41897386955939   IVIS               SANCHEZ             CA         90000313869
41898954671999   REGINA             STRONG              CO         90012769546
41899823993794   DEBRA              SCOTT               OH         90014128239
41911428591394   LAURA              IBARRA              KS         90014504285
41911522455999   SARAH              GUZMAN              CA         90004435224
41911853691569   LILIANA            GALLEGOS            TX         90011848536
41912957455939   ADRIANA            TOSCANO             CA         90014659574
41913181191988   JUAN               ESPINOSA            NC         90004941811
41913315455939   MARTHA             RODRIGUEZ           CA         90010503154
41913581491394   JEREMY             WILSON              KS         29082315814
41916737871999   AMANDA             SELLERS             CO         90013377378
41917628751334   GANTERIA           HEARST              OH         90001256287
41918145991241   GLENDA             ROJAS               GA         90008301459
41918146391873   SHARON K           IZETT               OK         90010421463
41919129591988   ASHLEY             RIGGAN              NC         90015081295
41919444951383   RASALYN            WILLIAMS            OH         90005674449
41919618738541   PATRICIA           HERNANDEZ           UT         90010356187
41921245761925   MITCHELL RALPH     ARANDA              CA         90006802457
41921416171999   SANDRA             NIVAL               CO         90007824161
41922372451334   DEMICO             TOLLIVER            OH         90012943724
41922566191873   GUYLA              SCHELLER            OK         21080545661
41923512391394   DAMONICA           THOMAS              MO         29086365123
41928372855939   ANDREA             SWIFT               CA         49013553728
41932153555939   ALICIA             WATTS               CA         90004751535
41932351191569   FEDERICO           ALVAREZ             TX         75094873511
41933566991569   KYMBERLY           AGUILAR             TX         90011885669
41934599555939   MARIO              MARTINEZ            CA         49043875995
41934927191988   WHITNEY            WHITE               NC         90013119271
41935372581639   RAHMAN             BRADLEY             MO         29043093725
41936257561963   ADRIANNE           GARCIA PRIETO       CA         46054452575
41936314791394   CANDICE            COVINGTON           KS         29091703147
41936664181639   DAMARRA            SMITH               MO         90009936641
41937363655939   EMILIE             CASTRO              CA         90010503636
41938422555939   PEDRO              TREJO               CA         90013134225
41942828151334   WILLIAM            HARRIS              OH         90014138281
41943729891873   CHARLES            HOLLIS              OK         21011737298
41944451291394   ALEX               CORDOVA             MO         90012164512
41944836893794   LAURA              MCCROBIE            OH         90003118368
41945367851334   DEVONIQUE          HERBERT             OH         90012973678
41946124341258   ERICKA             NICHEL              PA         90003411243
41946389591569   ALEJANDRO          QUIROZ              TX         75013473895
41947569593794   ANDREW             MURARESCU           OH         90015005695
41947619181639   JABON              TURNER              MO         90005116191
41949671661963   MELISSA            GILBERT             CA         90011676716
41951432955939   IRIS               VALLEZ              CA         90013134329
41953361457342   AMANDA             KOFMAN              MO         90014313614
41956298391569   MICHAEL            WILKERSON           TX         75040212983
41957557661967   ISRAEL             ORTIZ               CA         46015655576
41957738991394   DEYANIRA           ANDRADES            KS         90012337389
41958185871999   DEBBIE             CRESPO-TORRES       CO         90013271858
41958381691943   VONA               CUFFEE              NC         90012943816
41958822291988   ALEXIS             MITCHELL            NC         90013598222
41961576551334   WHITTIER           HEARD               OH         90012525765
41962387955939   ALANA              POWERS              CA         90010503879
41965895861963   JOSE               BARRAGAN            CA         90013088958
41967365271999   SYLVIA             GARCIA              CO         38071643652
41967874251334   T                  HONCHELL            OH         66057968742
41968882691873   APRIL              LEWIS               OK         90004118826
41971235891988   NICOSIA            MARSHALL            NC         90014662358
41971759561963   MANUELA CRISTINA   TORRES              CA         90012107595
41971843291569   MIKE               RIVERA              TX         90011128432
41972295447954   MELINDA            YEGGY               AR         90000422954
41975448851334   SAMANTHA           SMITH               OH         90011114488
41976467161963   JESSICA            CATANEDA            CA         90013234671
41976613493794   JERRY              WALKER              OH         90010326134
41977772771999   FRANSICO           CHISM               CO         90011947727
41981469741241   RICHARD            CELOVSKY            PA         51090754697
41981714371934   MIGUEL             ONTIVEROS           CO         32030097143
41985617791569   NORMA              ZUNIGA              TX         75080956177
41988334471999   BEVERLEE           FIX                 CO         90008553344
41992271991394   JOSE               VILLANUEVA-MENDEZ   KS         90014542719
41992913791988   DEITRA             LIPSCOMB            NC         17071869137
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41992915393794   SALINA       SELF                      OH         66074869153
41995161581639   NICK         CANON                     MO         29080711615
41997153371999   BERTHA       BARELA                    CO         90009851533
41998611171999   RICHARD      DEHERRERA                 CO         38092846111
41998982461967   ERIC         ESTRADA                   CA         90012829824
42112771171999   PEGGY        BACA                      CO         38004697711
42115761493794   DOUG         GIBSON                    OH         90008937614
42116724861963   PERCIVAL     VERAYO                    CA         90000147248
42118466893728   TAMMY        BOBB                      OH         90008674668
42118728291248   BROWN        WILLIAMS                  GA         90013447282
42122212761963   JOE          PEA                       CA         90000162127
42123986891873   SHANON       TYSON                     OK         90013839868
42124193191351   FREDRENIA    WALLACE                   KS         90013931931
42124485251383   PABLO        JIMENEZ                   OH         66005434852
42124785251382   JOSEPH       MINK                      OH         90011967852
42125182991569   CHRISTINA    TORRES                    TX         90007511829
42125565751334   CARLA        RICE                      OH         66002515657
42126467661967   MAURA        CARRERA                   CA         90010474676
42132327771999   SUSAN        KINTIGH                   CO         38046473277
42132737761967   CHANSE       A                         CA         90013947377
42133993391873   SHLYNDA      JAMISON                   OK         21002409933
42136192693794   REX          CORDY                     OH         90014661926
42136226257122   PETER        OCTHERE                   VA         81027212262
42136293571999   PABLO        MOLINA                    CO         90014392935
42137563561967   JACQUES      TJWREATT                  CA         90013235635
42142733571999   FRAUCISCO    LOZANO                    CO         90003617335
42144564951334   ROBERT       LUNG                      OH         90009555649
42144656847954   MICHAEL      CATES                     NM         25073116568
42145342391569   KARLA        SANCHEZ                   TX         90001843423
42145895397957   YULIANA      REYES                     TX         90012628953
42146125393794   KRISTINA     HAMM                      OH         66012031253
42148246451334   ANTHONY      BROOKINS                  OH         90002962464
42152573277349   CARMEN       GUEVARA                   CA         90009935732
42153464391351   LANCE        JONES                     KS         90012664643
42156585471999   ANGELA       FLORES                    CO         38050065854
42158241193794   JOSEPH       MANNING                   OH         90009162411
42158854171999   AIOTEST1     DONOTTOUCH                CO         90015128541
42159111391569   JOSE         GONZALES                  TX         75076911113
42162176271999   TRACY        SMITH                     CO         38023171762
42165617961963   SAMANTHAN    RINCON                    CA         90012916179
42167698355939   JUANCARLOS   ARVIZU                    CA         49080326983
42167928791351   T.           BROCKMAN                  KS         29027359287
42167988561963   SONIA        REUSCH                    CA         46018939885
42168358551326   MARY         RAMIREZ                   OH         90012903585
42169412751555   JESUS        SANDORA                   IA         90015404127
42172264951388   NICOLE       GRESHAM                   OH         66050682649
42172578944335   LEAH         PARKER                    NC         90014425789
42173429791873   MARY         MCKINNEY                  OK         90002824297
42173777691569   CARLOS       SANTIAGO                  TX         90003657776
42174728391569   ROBERT       CASARES                   TX         90010727283
42174847993794   RYAN         JONES                     OH         90014698479
42177548161967   HUMBERTO     VARA SOSA                 CA         90013245481
42177959671999   ROSEMARY     VEGA                      CO         90011079596
42179567691569   NEFERTITI    OJEDA DE ENRIQUEZ         TX         90015115676
42181619793794   CHAD         CRAYCRAFT                 OH         90014706197
42184247791569   VALDEZ       VALDEZ                    TX         90013442477
42185368661967   EMILIO       JIMENEZ                   CA         90002593686
42186424291569   EDUARDO      VILLANUEVA                TX         90014524242
42187931641229   ERIKA        SIMMONS                   PA         90008069316
42188476391873   MARIA        PATINO ESTRADA            OK         90013224763
42188796354132   PAYGO        IVR ACTIVATION            OR         90013387963
42193577991569   SERGIO       PEREZ                     TX         90012395779
42193669555939   LEONEL       MENDEZ                    CA         90008026695
42194778561967   EDGAR        RUIZ                      CA         90013947785
42195695391873   MAYTE        HERNANDEZ                 OK         21073516953
42196331191351   ESMERALDA    VILLARREAL                KS         90014823311
42196694147954   MARIA        ARCOSDECOLLADO            AR         25066726941
42196735151334   ROLENE       TAYLOR                    OH         66033757351
42197733593728   CYNTHIA      DUNCAN                    OH         90008757335
42197828893794   NATHANIEL    PERDUE                    OH         90009398288
42198391371999   ANTHONY      CASH                      CO         90014863913
42198455255951   LUPE         CORONA                    CA         90012364552
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42199119333626   JACQUELYN     HERBIN                   NC         90009541193
42199166171999   MARCI         COCHRAN                  CO         90015091661
42199828291351   DANIEL        RINARD                   KS         90013248282
42211314151383   MELISSA       WALTNER                  OH         66046323141
42212817261967   SILVIA        CORTEZ                   CA         90013948172
42213191893794   AMBER         ROBBINS                  OH         90011231918
42214588191569   CECILIA       COMPOS                   TX         75089255881
42215499691569   ISABEL        MAYNEZ                   TX         75022214996
42216918993794   SOPHIA        SINGLETON                OH         90014779189
42217444993794   STEVE         MEACHEM                  OH         66069164449
42218623471999   OSCAR         MORALES                  CO         90014996234
42218934993794   JASON         HICKS                    OH         90014779349
42219625991569   GABRIEL       GARCIA                   TX         90009376259
42221851161963   KRISTI        ALVES-HISCOCK            CA         46011328511
42222712561967   JESUS         PANTOJA                  CA         90013067125
42223735691351   JENNIFER      RUSK                     KS         90012977356
42224675755939   LAWRENCE      ORONA                    CA         90010546757
42225262191351   GINA          CHAPMAN                  KS         29061682621
42229365391569   YOLANDA       SOLORIO                  TX         75048233653
42231253361963   BENJAMIN      WEBER                    CA         46011842533
42231395161963   COREY         ALVAREZ                  CA         46088443951
42232892161963   RUBIDIO       JIMENEZ                  CA         90004818921
42235259171999   ROSALIO       RODRIQUEZ                CO         38071732591
42235839161963   SYLVIA        MARTINEZ                 CA         46012228391
42237332751361   MANNETTE      CRUTCHER                 OH         66075163327
42238812791569   SOL           JURADO                   TX         90007798127
42239462191873   VRIGINIA      CRAWFORD                 OK         90012344621
42242144671999   BARBARA       MAES                     CO         90013981446
42244346371999   OCTAVIO       BORJORQUEZ               CO         38081633463
42244539191873   AMIE          RADABAUGH                OK         90009845391
42244867591351   SARA          SALAZAR                  KS         90012808675
42245357271999   ROBERTA       J                        CO         90009173572
42246191471999   KATHIE        LUGO                     CO         90012581914
42246982491569   GABRIEL       TORRES                   TX         90008299824
42247479891569   LAURA         LUGO                     TX         90011854798
42248436591569   CHRISTEL      YLLARRAMENDI             NM         75087054365
42249445661945   SARAH         GARCIA                   CA         90012534456
42253423971999   DANEILLE      QUINTANA                 CO         90006734239
42255114455939   MELICIA       NANEZ                    CA         49090891144
42256177493728   ARLENA        CROCHRAN                 OH         90007941774
42258976291569   JASON         ALBRIGHT                 TX         90002599762
42259273391351   SELENA        MALDONADA                KS         90013752733
42264558691873   CHRISTOPHER   PHILLIPS                 OK         90009885586
42264997491873   GUISELA       OROZCO                   OK         90013839974
42265362441258   RHONDA        TRUAX                    PA         90001413624
42266484491351   DAVID         TIPTON                   KS         90015164844
42267288471999   SERGIO        MENDOZA                  CO         38003332884
42267978655939   SONIA         ROLDAN                   CA         49078259786
42268854161963   MARK          DOBIE                    CA         46050268541
42269224193794   KELLI         MOORE                    OH         90013202241
42269632893794   KELLI         MOORE                    OH         90003326328
42269694191569   CARLOS        RETANA                   TX         90006316941
42271997491873   GUISELA       OROZCO                   OK         90013839974
42276656293794   VICKI         HUTCHENS                 OH         90011536562
42281846955939   ERIN          EVANS                    CA         49082948469
42287213151334   DELIA         RUBIO                    OH         90010342131
42287472851383   STEVE         BURNS                    OH         66065344728
42288957593794   CATHY         TOWNSEND                 OH         90015049575
42291224761967   DG            MINNER                   CA         90012792247
42291281791351   ROYAL         WESTBROOK                KS         90006762817
42291295971999   LINDA         PONCE                    CO         38026452959
42291917361963   MICHAEL       AMARO                    CA         46011889173
42311173941258   JAMES         RANDOLPH                 PA         51067761739
42311383154132   EVERETT       SHELTON                  OR         90014803831
42323138991569   IRAN          ORTIZ                    TX         75014521389
42324183261967   JUANITA       VELASQUEZ                CA         90012921832
42328567191873   MARTIN        RAMOS                    OK         21021425671
42332987161967   ALMA          SILVA                    CA         90011629871
42335155251334   CHERYL        ILHARDT                  OH         90014831552
42335857147954   STEVEN        NEIL                     AR         25061398571
42336742555939   PAULA         MARTINEZ                 CA         90010547425
42337277491351   KAYLY         CORRELL                  KS         90011112774
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42339521561963   EMILY         GARCIA                   CA         90011425215
42345134691351   LAURA         GUZMAN                   KS         90013941346
42345366851348   RICHARD       BUSH                     OH         90008793668
42348931951383   LINDA         CAMPBELL                 OH         66059889319
42351445191569   DANIELA       VALVERDE                 TX         75027224451
42352553591351   CARLOS        RAMIREZ                  KS         29063825535
42353943171999   ARACELI       PEREGRINO                CO         90006309431
42354922861967   MARGARET      MILLER                   CA         90012239228
42361464271999   JAMES         GOLDEN                   CO         90013204642
42361796377522   BARBARA       VANDYKE                  NV         90002517963
42363381161963   CIPRIANO      CONTRERAS                CA         90014183811
42364115684322   LEE           BROWN                    SC         90014471156
42367277491351   KAYLY         CORRELL                  KS         90011112774
42367534341258   KEESHA        YAGER                    PA         51015675343
42368441171999   PAUL          MARQUEZ                  CO         38019564411
42369154261967   HIKS          NESHE                    CA         46078191542
42369231291569   FRANCISCO     MANRIQUEZ                TX         90012072312
42371464651334   NEFTALI       NOLASEO                  OH         90013464646
42372229291873   MISTY LIN     SCHRIMSHER               OK         90014102292
42374352991351   PRIYANG       BHATT                    KS         90013963529
42374536351334   RAEJEAN       WHITAKER                 OH         90009155363
42375432461941   LUDER         PALACIOS                 CA         46063954324
42375741771999   GENNY         DEANS                    CO         90012167417
42375889151383   SHERRY        JOHNSON                  OH         66066438891
42376357391873   KYERRA        ANDERSON                 OK         90011533573
42379589991569   TOMAS         BUENO                    NM         75056785899
42382989841258   KYLIE         BEAVER                   PA         90003979898
42384836461967   VICENTE       CORTES                   CA         90013058364
42386195661927   MARTHA        P DE SANTIAGO            CA         90008071956
42386256471999   GUILLERMO M   MOLINA                   CO         90012972564
42386399361963   MUKHTAR       ABDULLE                  CA         46011743993
42386662891873   SAMUEL        LYTLE                    OK         90013436628
42387145393751   MARK          BROWN                    OH         90011521453
42389449361967   KORAMA        LOZANO                   CA         90010214493
42391566861967   DONALD        WATKINS                  CA         46078555668
42395589671999   JUDY          SANTOS                   CO         38067965896
42395986961967   OLIVOR        SANDOVAL                 CA         90014189869
42396779291351   MICHELLE      RHODES                   KS         90008747792
42398765261967   JOSE          GUZMAN                   CA         90010217652
42416565171933   STEVEN        WRENN                    CO         90011455651
42416812261963   CARL          FREY                     CA         46031138122
42417875291828   SHERRY        LIDDY                    OK         90012768752
42419666591569   VANESSA       MOLINA                   TX         75071386665
42422841761967   LILI          JAIN                     CA         90000888417
42423535947954   ANA           GONZALEZ                 AR         90000245359
42425429691569   JUAN          RODRIGUEZ                NM         90005704296
42427223191873   SEPTEMBER     BEQUETTE                 OK         21092602231
42427484861967   DYLAN         SALGADO                  CA         90013124848
42427789555939   MARGARITA     ESTRADA                  CA         90010547895
42431559693794   DEVON         KNICELY                  OH         66079165596
42433453391351   AMANDA        MAHAN                    KS         90013374533
42434229671999   MATTHEW       HAMILTON                 CO         90013962296
42434794751334   APRIL         WHITEHEAD                OH         90010477947
42435454361995   JOSE          FLORES                   CA         90008114543
42435457661967   JESUS         ZELEDON                  CA         46088574576
42438664693767   NEFERTARI     BATTLE                   OH         90013626646
42439287355927   DAVE          SMITH                    CA         49055672873
42441562691873   ASHLY         LOVE                     OK         90008185626
42442161293794   KIMBERLY      MICHAELS                 OH         66029681612
42443413491569   BOBBY         GALLARDO                 TX         90002834134
42445924347954   ROSEMARIE     MACKEY                   AR         90001069243
42448725661967   ROGELIO       HERNANDEZ                CA         90013417256
42449138591873   WILLIE        HILL                     OK         21009071385
42449659791527   MARIE         BARRON                   TX         90010896597
42451177761967   ROMENDA       JAMES                    CA         46045181777
42452627361963   LUPE          LOMELI                   CA         46014796273
42453966193724   TRENTON       WALLACE                  OH         90012659661
42455124981665   MEGHAN        MEADE                    MO         90013231249
42455311651334   CRISANTA      RAMOS                    OH         66091293116
42455768491873   GLENDA        DAVIS                    OK         21035747684
42457386591351   DANE          COKE                     KS         90014583865
42458982291873   SHARI         DUNSON                   OK         90004209822
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42459688193794   ORLANDO      PAJAN                     OH         66039746881
42459722691351   NEYDY        LICET                     KS         90014727226
42462479691873   JOHN         BANKSTON                  OK         90013224796
42463142291873   LAURIE       GREGORY                   OK         21049691422
42464756261967   NORMA        CAMACHO                   CA         46049307562
42464859293794   MADELINE     ALLEN                     OH         90011828592
42466943391351   JOSE         MOLINA-GUZMAN             KS         90000129433
42472497441241   WILLIAM      INGOLD                    PA         51098264974
42472515561963   ANGELICA     SANCHEZ                   CA         90005585155
42472555191351   TREMONE      MITCHELL                  KS         90015185551
42473286171999   CHRIS        STEWART                   CO         90013352861
42473756591873   DANIELLE     DUNLAP                    OK         90004867565
42475732254165   LAURIE       JACKSON                   OR         90010527322
42476223141258   JOE          RUSH                      PA         51047042231
42477944391873   WHITNEY      SCHLIENZ                  OK         90014359443
42478448471999   JOETTA       COLLETT                   CO         90015334484
42482169241258   ROBIN        PHILLIPS                  PA         51037981692
42484968451334   MICHAEL      FRITZ                     OH         90014599684
42484975271999   JACOB        CORBETT                   CO         90014529752
42485449571999   NATASHA      CASON                     CO         90014044495
42488637457549   JOHANA       MAJALCA                   NM         90008856374
42492856831487   SHUNITA      OWENS                     MO         90001278568
42493495151383   DEBRA        MAYS                      OH         66015524951
42495434491351   LUCIA        ORTIZ                     MO         29013944344
42498362155939   CARISSA      GONZALEZ                  CA         49008673621
42498484491351   DAVID        TIPTON                    KS         90015164844
42511486391569   BLANCA       GRIEGO                    TX         90007834863
42511694361967   LORENZA      CHAIDEZ                   CA         46017086943
42512112161963   ALAN         LOPEZ                     CA         90015151121
42512785461967   JONNIE       BENAVENTE                 CA         90012967854
42514588471999   MARGARET     HOUSH                     CO         38080665884
42515165491873   KIRSTEN      FITCH                     OK         90009821654
42516294355939   YOLANDA      CARLOS                    CA         49032532943
42516624684321   LATOYA       FERONE                    SC         90009016246
42517596147954   RICHARD      STOUT                     AR         25076445961
42517642951334   KAYLABREE    CIOFFI                    OH         90014526429
42517658171992   CARLOS       CAZARES                   CO         90013026581
42519562491873   CESAR        SANCHEZ                   OK         90013685624
42521213161963   ESPERANZA    MORA                      CA         90012162131
42523227891351   TREVOR       STINNETT                  KS         90011892278
42523569671946   RICHARD      ALEXIS                    CO         90008875696
42523831261963   CRISTAL      MURILLO                   CA         90006758312
42525783651336   KEVIN        EDMERSON                  OH         66029017836
42526397961963   FERNANDO     CUNHA JR                  CA         90013703979
42526669671999   ANTHONY      ARELLANO                  CO         90008686696
42527188171999   LUIS         CHAVARRIA                 CO         90012161881
42527761593768   BRYANT       MCGOWAN                   OH         90012527615
42527965551383   ROSE         FREDERICK                 OH         66081839655
42528471251332   JEFFRY       BRADLEY                   OH         90006924712
42528761455939   AMY          AVELA                     CA         49076757614
42531995971999   RAY          ABEYTA                    CO         38067589959
42532374461967   SANTOS       ANGULO                    CA         90011633744
42535453391351   AMANDA       MAHAN                     KS         90013374533
42535534651334   SUSAN        SUPPLE                    OH         66076745346
42536161691569   JESSICA      CORAL                     TX         90014281616
42536391591569   JESSICA      CORAL                     TX         90012243915
42542759391873   RONNIE       MULLINS                   OK         21074987593
42542811255939   FELICIANO    FRIEGO                    CA         49049878112
42545186955939   RICKY        RODRIGUEZ                 CA         49013301869
42548236547954   GUILLERMO    MELCHOR                   AR         25058762365
42548723591351   ASHLEY       HOBBS                     KS         90006797235
42551243491873   MICHELLE     MURFIN                    OK         90015152434
42552389755927   SHONNON      MONTGOMERY                CA         90014923897
42552512491569   MARIA        CISNEROS                  TX         75086355124
42557867291873   DON          RAKE                      OK         21004238672
42559528991351   LOU          RIVAS                     KS         90013975289
42559661971933   DEENA        MONTOYA                   CO         90007686619
42561526391569   GABRIELA     RUIZ                      TX         90011245263
42562258941235   HAROLD       MICHAELS                  PA         90003652589
42565197591569   MARIBEL      HERNANDEZ                 TX         90014081975
42573857971999   ASHLEY       MALDONADO                 CO         90011188579
42573878691351   VICTOR       ALANIS                    KS         90015318786
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42574181855939   SANDY             DAKIN                CA         90007951818
42576296261963   MARIBEL           LOPEZ                CA         90015072962
42578438661967   CHARLES           LEFLET               CA         90011634386
42579549991569   SOLIS             MARIA                TX         90000715499
42583159572462   CHRYSTIAN         STONE                PA         90011391595
42587885555939   JANETTE           VASQUEZ              CA         90010548855
42588183691351   VENUSTIANO        PRIMERO              KS         90002971836
42588735871999   JEFF              SEARS                CO         38053317358
42589512191351   JEREMY            TOLBERT              KS         90005325121
42591885555939   JANETTE           VASQUEZ              CA         90010548855
42592271761963   GEORGIE           CRUZ                 CA         46082352717
42593468971999   RODNEY            MILLIGAN             CO         90015114689
42595219191569   CLAUDIA           PEREZ                TX         75087032191
42595676751383   KARL              WHITE                OH         66008436767
42596214571999   NATHAN            URENDA               CO         90007872145
42596913891873   TAMEKA            NELSON               OK         90008329138
42599113991873   EVELYN            WALLACE              OK         90013841139
42599124991873   TERRENCE          WILLIAMS             OK         90014701249
42599839651334   RAYMOND           COVINGTON            OH         66093978396
42611188461967   ANN               LEE                  CA         90012921884
42611293591873   EDILMA            AGUILAR              OK         90008552935
42612224471999   CAROL             KING                 CO         90012652244
42614178291351   MARLEN            GARCIA               KS         29094941782
42614516791873   LAKEISHA          SAMPSON              OK         21089305167
42616326561967   RUBY              SEMI                 CA         90013953265
42618838277398   JOSE              LOPEZ                 IL        20517388382
42625331361967   JAIME             RIOS                 CA         90013953313
42625384771999   RACHELLA          MARTINEZ             CO         90011153847
42628597491873   ANDREA            HILLHOUSE            OK         90014725974
42632215891873   WANERBEE          MCCALL               OK         90014652158
42633866151334   SHANNON           CARPENTER            OH         90003988661
42636982691873   JAGGER            RAZO                 OK         90011049826
42638328551383   JACK              PROKOP               OH         66007343285
42638948351334   DIOULDE           DEM                  OH         66091299483
42644832471999   DANA              BIGAM                CO         90014878324
42645656847954   MICHAEL           CATES                NM         25073116568
42646223581682   SHALANDRA         JOHNSON              MO         90003482235
42649342251334   TIFFANY           GIBBS                OH         90009463422
42651147261967   JAIME             PADILLA              CA         46088631472
42651953951334   JASON             DUNCANSON            OH         90011049539
42652943461967   JORGE             AYALA                CA         46079259434
42653696661963   JOSE              GONZLAEZ             CA         90012956966
42654739151334   CURTISS           HOWARD               OH         66071947391
42655243541258   TRACY             SCHULTZ              PA         51015822435
42657714572498   JAMIE             GRAHAM               PA         90007837145
42661291891569   MARIO             GONZALEZ             TX         90014392918
42661456347871   KAREN             WASHINGTON           GA         90012424563
42662459891569   MARTHA            SANCHEZ              TX         90004374598
42664773991351   HENRY ALEJANDRO   MEDA MARCOS          KS         90006417739
42666821861924   MICHELE           MAULUCCI             CA         90003168218
42669192555939   MAGDALENA         FERNANDEZ            CA         49060941925
42671248661963   JUAN              MONTOYA              CA         90006982486
42674226285939   STEPHEN           GINN                 KY         90008292262
42676394861967   MARICELA          QINTANILLA           CA         90013953948
42677869655939   ARIANNA           ZAVALA               CA         90001788696
42678196291351   TYMESHA           THOMPSON             KS         29042121962
42678394861967   MARICELA          QINTANILLA           CA         90013953948
42679162491873   DUSTYE            MONAHWEE             OK         90012761624
42679398151334   APRIL             BLUNT                OH         66093993981
42679437293767   DIOR              ISOME                OH         66095004372
42679514571999   MATTHEW           ROYBAL               CO         90008925145
42683516561956   ROSEANN           MESTA                CA         90001665165
42685499851334   JAMIE             BERNARD              OH         90009734998
42688996191569   CESAR             MARTA                TX         75000019961
42691149171999   DANIEL            DACE                 CO         38082801491
42692438561967   ERIC              STEWART              CA         90013954385
42692568991569   GLORIA            MANRIQUEZ            TX         90011925689
42692589691873   TIFFANY           JUSTICE              OK         90012345896
42696112671999   DOUGLAS           VIGIL                CO         38050891126
42696969971992   HEATHER           GOFORTH              CO         90011809699
42714294161963   ALAX              RAMIREZ              CA         90007792941
42714938391569   DOMINICK          ELIZONDO             TX         90012229383
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42714971551334   OMAR             WOOD                  OH         90001169715
42716182891351   DE ANGELO        THOMPSON              KS         90013271828
42716693461967   MARIE            WARD                  CA         90002556934
42718231291351   RYAN             GREER                 KS         90012632312
42719387391569   DANIEL           ESPARZA               TX         75098683873
42719827691873   DAVID            STEINBERG             OK         90009158276
42724157893794   NICHOLLE         FRANK                 OH         66047251578
42724723591351   ASHLEY           HOBBS                 KS         90006797235
42724866351334   DARLENE          LANG                  OH         90013718663
42726157893794   NICHOLLE         FRANK                 OH         66047251578
42728198691873   JERI             MCCAIG                OK         90010541986
42728385761963   JULIO            JULIO                 CA         90014393857
42729561671999   VICTOR           MENA                  CO         90011115616
42731783561967   MICAH            SANFORD               CA         46091437835
42732542351334   RONISHA          LONG                  OH         90012935423
42734781641241   MICHELE          SMYDA                 PA         51087497816
42734821391569   VERONICA         RINCON                TX         75019338213
42735485661963   TIJUANA          HARVEY                CA         46011664856
42737596391873   JOSE             PEREZ                 OK         21028375963
42739182761963   MANUEL           ACOSTA                CA         90013981827
42739234251334   CHRISTEL         LACINAK               OH         90008722342
42741534861963   ALEX             LEARY                 CA         90013205348
42744722251334   SELENA           ROBINSON              OH         90011747222
42747578491873   PHYLIS           SIMPSON               OK         90000205784
42752634991873   AMBER            RATHBUN               OK         90009576349
42754327391351   VICTOR           MANSILLA              KS         90002333273
42756719471999   MICHAEL          HOVRUD                CO         90011117194
42757426391873   LAURA            CARRANZA              OK         21033984263
42758476691351   MAGGIE           OGREN                 KS         90014974766
42759698591351   AMY              ELDER MONTOYA         KS         29040826985
42762641193797   MARY             TAYLOR                OH         90013526411
42763468891873   MILDRED          BLOCKER               OK         21069304688
42763637181669   MARVIN           HORN                  MO         90013826371
42767375391351   YOLANDA          MUNOZ                 KS         90012653753
42772313751346   ELONZO           HOBBS                 OH         90010613137
42772683491873   ADA              MORALES               OK         90002756834
42772949291892   DIM              TAUNG                 OK         90012909492
42775383761967   MARIO            GARCIA                CA         90007013837
42778179391351   ANTONIO          NETO                  KS         90012711793
42778949991873   DIANA            SMAIL                 OK         90006049499
42784959361967   VICTOR           ANGUIANO              CA         90014699593
42786329251383   DENISE           WHITE                 OH         90005133292
42787465151334   MISTY            LUNSFORD              OH         90005314651
42788126991351   JASON            ARAMBULA              KS         90014741269
42789157451334   KRISTIN          WHEELER               OH         90010571574
42791893991547   CRISTINA         HOLGUIN               TX         90009388939
42792625293741   TRACIE           WAX                   OH         90001696252
42795817481621   JERI OR DAMIEN   WOMACK                KS         90013908174
42796495191351   DEMONTE          HARRIS                KS         90013224951
42813834361963   GRACE            CARPIO                CA         46075678343
42815967461938   MARYANN          AUSTIN                CA         90011449674
42816975861967   HUMBERTINA       PITA                  CA         90014839758
42817919291351   GERGE JR         CONNER                KS         29024369192
42825224791351   ANTHONY          MARTIN                KS         90012402247
42825544391569   JOSE LUIS        RIVAS                 TX         75063625443
42826934491569   JOHN             RECKWELL              TX         90008389344
42828531171999   LATASHA          CERVANTES             CO         90012695311
42828941791351   JEREMY           JONES                 KS         90008309417
42831846341258   KURT             ACHESON               PA         51075368463
42832357791569   JEANNETTE        FELIX                 TX         90011593577
42832497861986   MARIA            GONZALEZ              CA         90013804978
42832636491569   MAYELA           JASSO                 TX         90012866364
42835647361925   GUILLERMO        TORRES                CA         90003846473
42835914861967   JOHN             WALKER                CA         90007979148
42837365161963   ARRU             OELKE                 CA         90009513651
42837391491873   CHRISTY          HITCHCOX              OK         90011223914
42838292861963   WAIL             ALBAKRI               CA         90008492928
42839682751339   WAYNE            BECKMAN               OH         90012686827
42841181951334   DANIEL           STURGIL               OH         90009561819
42842515561963   ANGELICA         SANCHEZ               CA         90005585155
42842744651382   KENNETH          ALEXANDER             OH         90014167446
42847382171999   KRYSTAL          MUSTARD               CO         90007803821
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42856924291873   JENNIFER     MALONE                    OK         90004829242
42857551891569   OLGA         TRIANA                    TX         90007265518
42862611391351   SHAWN        BOSWELL                   KS         90013216113
42863423151334   SCOTT        TERWILLIGER               OH         66016364231
42865882493794   DARRIS       WILLIAMS                  OH         90005648824
42868169291873   KAP          LIAN                      OK         90015321692
42872443291351   JUAN         GOMEZ                     KS         90011134432
42877356441258   BELINDA      ABBOTT                    PA         90004063564
42877382171999   KRYSTAL      MUSTARD                   CO         90007803821
42878827491569   LORENA       VEGA                      TX         75040368274
42879189491547   BLANCA       CORRAL                    TX         90009131894
42879712961963   CHRISTINA    LEE                       CA         90013797129
42881527351348   JERRY        DOUGLAS                   OH         66082015273
42881762761963   SERGIO       MONTES                    CA         46063887627
42881847391873   MATTHEW      TERRAL                    OK         90013928473
42882831371999   GINA         MEDINA                    CO         90011118313
42883466361963   GELACIO      MORALES                   CA         90013204663
42884953455939   PATRICIA     GONZALEZ                  CA         90007389534
42885528561967   TATIANA      WHIZAR                    CA         90013125285
42886566851334   BRANDON      SPICER                    OH         90013295668
42888531971999   LEXI         FOULK                     CO         90000645319
42888976351334   JOEL         BROOKS                    OH         90011319763
42889311651388   THOMAS       FARRIER                   OH         90014023116
42889473591351   KATRINA      FARAGE                    KS         90011134735
42893253555939   NORA         LOPEZ                     CA         49040502535
42893786791569   LUIS         VILLA                     TX         90006037867
42894196961963   MEGAN        PERDUE                    CA         46085721969
42895296171999   LYNETTE      REYES                     CO         90014262961
42895889191351   RAMON        ORTIZ                     KS         90014108891
42896524791351   ANTOLIN      JUAREZ                    KS         90012315247
42896992451334   ROBERT       LITMAN                    OH         66094139924
42898186571999   DANIEL       HOWELLS                   CO         90012851865
42899889461963   COURTNEY V   SWEPSTON, SR              CA         90012638894
42913132491351   AMBER        BOYLE                     KS         90011151324
42916896254151   NICHOLE      SWARTOUT                  OR         90013738962
42919554661963   TYRONE       WHITE                     CA         90011905546
42924266791873   MARIA        ESCOBEDO                  OK         90013012667
42924285851334   CHRISTINA    WILLIAMS                  OH         90013202858
42924468861963   VICTORIANO   CARDENAS                  CA         90010684688
42924677661967   KATHERINE    RODGERS                   CA         90013956776
42926724355966   REYNA        SOLANO                    CA         90010627243
42929711955939   GLORIA       DELGADO                   CA         90010557119
42931678861967   JORGE        RIVAS                     CA         90011866788
42931719755939   VICTOR       DELGADILLO                CA         90010557197
42932525571999   NICOLE       JASPER                    CO         90013485255
42933551671999   ANISHA       LUCERO                    CO         90000255516
42934847891569   CARLA        DE LOERA                  TX         75097478478
42935964791569   GABRIELA     HERNANDEZ                 TX         75074019647
42936899271999   ERNEST       FOX                       CO         90014778992
42938613951334   DEMETRIA     JONES                     OH         90008716139
42941122251383   JIMMY        SELVIDGE                  OH         90001641222
42944267891873   MARIANELA    DEL SANTISI DELGADO       OK         90013012678
42949552861967   HEIDI        PLUMMER                   CA         46007615528
42953828471999   JAMES        SIERRA                    CO         90014388284
42955212761963   TROY         PERRON                    CA         90014512127
42956286171999   CHRIS        STEWART                   CO         90013352861
42956294471999   FRANKIE      TRUJILLO                  CO         90010122944
42961392491873   SONIA        CHAMBERLAIN               OK         21081603924
42962357391569   OLICARPIO    DURAN                     TX         90009613573
42965127161967   JAZMINE      NAVARRO                   CA         90008551271
42968839991873   RORIE        MITCHELL                  OK         90002498399
42969822555939   CHEYANNE     JAMESON                   CA         90010558225
42973288691569   MARIA        VEGA                      TX         75051182886
42973945251383   VICTORIA     GNITKE                    OH         90001829452
42974463461995   ALMA         BRISENO                   CA         90011584634
42974689571999   FRANK        ANDAVERDE                 CO         38089966895
42977882491351   SONIA        SANDOVAL                  KS         90000248824
42978188991873   TAHER        SHOUBAKI                  OK         90013891889
42978568355928   SANDRA       WARD                      CA         49007755683
42984241155939   SUSIE        CASARES                   CA         49062662411
42984986961963   JOEL         DE LEON                   CA         46018169869
42985722151383   OCTAVIO      SANCHEZ                   OH         66065677221
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42986496261996   AIDA             REYES                 CA         90002984962
42986694655939   CAROLYN          CARRISOSA             CA         90008666946
42987496261996   AIDA             REYES                 CA         90002984962
42988212751334   LUIS             GONZALEZ              OH         90012532127
42993953191873   RON              GILTON                OK         90015089531
42999949571999   GABE             MARTINEZ              CO         90011929495
43111312361963   ROXANNE          LIANG                 CA         46085233123
43113112361963   ALBERTO          ALONSO                CA         46016631123
43113173572452   LARRY            DUNCAN                PA         90008311735
43113552791569   IVONNE           HOLGUIN               TX         90008435527
43113879251354   AMANDA           HOUSE                 OH         90001698792
43114182277595   MARIA            GARCIA                NV         90009971822
43114524691523   BLANCA           HERNANDEZ             TX         75055355246
43114834671999   IRENE            GARCIA                CO         90011238346
43115123461547   PAYGO            IVR ACTIVATION        TN         90015011234
43115173221981   MEGAN            BOGER                 IN         90015461732
43115737791569   CESAR            HERNANDEZ             TX         90014887377
43118918571999   REGINALD         BROADUS               CO         90012169185
43119396561963   DANIEL           NARVAEZ               CA         90007133965
43119932291523   ANGELICA         PEREZ                 NM         90006449322
43121358661967   ESTHER           AGUILUZ               CA         90012183586
43121383861963   MARTIN           DELGADO               CA         90000923838
43121753251383   JENNIFER         VAUGHN                OH         90009707532
43122597661963   PEDRO            ESPINOZA              CA         90012485976
43125211355939   JENNIFER         CISNEROS              CA         90006172113
43128294961967   ALEX             ALTAMIRANO            CA         90013032949
43129178461967   ERIC             WHITE                 CA         90015231784
43129523891873   MYKELL           HARRIS                OK         90014465238
43132643155939   CESAR            RODRIGUEZ             CA         49016606431
43133889651383   MIKE             DAVID                 OH         90006498896
43133912461963   ARIANA           GOMEZ                 CA         90014959124
43136578871999   HILDA            KNIGHT                CO         38008965788
43137869351334   MALLORY          BANKS                 OH         66009388693
43137889651383   MIKE             DAVID                 OH         90006498896
43138772851334   KEASIA           ROBERSON              OH         90013347728
43141721855939   TONYA            SMILEY                CA         90004387218
43142862491569   GUIRMO           LOPEZ                 TX         75037238624
43144986591569   BRENDA           MENDOZA               TX         90013159865
43145416461967   JOSUE            BATALLA               CA         90008654164
43145892671999   CRYSTAL          ZUNIGA                CO         90014788926
43146752172452   ROY K            MELCHERT              PA         90014147521
43146935577595   JOSE             RIVAS REYES           NV         43088159355
43147444491873   FLORENCE         SMITTICK              OK         90009674444
43147516672452   LAURA            JONES                 PA         90009465166
43151331971999   BROOKE           VIGIL                 CO         90013243319
43152813372452   DOUGLAS          SLAVIN                PA         90011038133
43152977291926   FRANK            ADAMEK                NC         90010969772
43153824372452   BRANDI           ZIMMERMAN             PA         90005638243
43153924877595   JESSICA          PRICE                 NV         43088999248
43157995361941   ANGELICA         VALENZUELA            CA         90009299953
43158719721981   CHRISTIAN        BIRKHOLZ              IN         90015357197
43158883871999   JOSH             GONZALES              CO         90001958838
43161834755939   MAGNOLIA         RAMIREZ               CA         90012918347
43162119984336   MARCUS           COLEMAN               SC         90012141199
43167115361967   ITZEL            MENDOZA               CA         90005091153
43167124491394   CHARLES          PENLAND               KS         90006111244
43167399477595   ARACELI          SILVA                 NV         90014203994
43168672951334   BRITTANY         BLEVINS               OH         66032176729
43169242372452   CHRISTINE        HEREDA                PA         90000962423
43171144461963   TRACY            TAPIA                 CA         90014021444
43171242361967   LEONOR           CASTANEDA- FRAIRE     CA         90014492423
43172297971934   JODY             VOLK                  CO         32005082979
43175764555939   ASHLEY           MONSON                CA         90012787645
43175955977595   DESIREE          JACKSON               NV         90010229559
43178372361963   DILIA            VASQUEZ               CA         90015333723
43181672791873   TERRY            MCNIEL                OK         90015406727
43183678455939   LAFAYETTE DION   WASHINGTON            CA         90012696784
43184588851334   HEATHER          SALZ                  OH         66006565888
43186614891873   SONYA            NWANKWO               OK         90010896148
43189716661963   JESENIA          CUEVAZ                CA         46078377166
43191998951334   DWAINE           HILL                  OH         66017939989
43193438271999   MICHAEL          LYONS                 CO         90003434382
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43193941291873   JAMIE           GUTHRIE                OK         90008229412
43194276321981   IDA             HENDERSON              IN         20500482763
43195221821981   VICTOR          PAGAN                  IN         90012462218
43196233155939   JESUS           MALDONADO              CA         90012102331
43197435861967   FABIAN          SEGOVIA                CA         90014994358
43199588572452   GINGER          MACLELLAN              PA         90013425885
43211663577595   JESUS           RODRIGUEZ              NV         43006546635
43211829251334   SARA            GONZALEZ               OH         90014488292
43212537651334   CHRISTOPHER D   BRADFORD               OH         90012505376
43213555477595   JOSE            NUNEZ                  NV         90012525554
43216162291569   DE-LA CRUZ      RAQUEL                 TX         90004501622
43217718371934   RICHA           GRUNDEN                CO         32069237183
43218874455939   TINA            VELA                   CA         90004318744
43219152255939   ZENAIDA         MACHUKA                CA         49084971522
43219718151383   TIL             SUBEDI                 OH         66013787181
43219945641222   MARKIA          FERGUSON               PA         51046789456
43221353451336   ERIC            LEATHERWOOD            OH         90011523534
43224958493728   DAWN            SHIRK                  OH         90010039584
43225353821981   FELICIA         GATHERS                IN         90014593538
43226116485697   MARIA           CONIGLIARO             NJ         90008801164
43226254558528   GARY            BURKETT                NY         90015602545
43226258491873   JACKLYN         ALVEREZ                OK         90010952584
43228234171999   ROSETTA         CAMPBELL               CO         38068022341
43229154571999   JOHN            COULTER JR             CO         38075121545
43229233991569   ALFREDO         GONZALES               TX         90009902339
43231479471999   ALICE           MONTANO                CO         90006964794
43232346491873   WAYNE           MILES                  OK         90010343464
43232982291873   BELSER          AGUILAR                OK         21064429822
43233199851383   LISHA           JONES                  OH         66065721998
43233278791873   SHAREIKA        PHILLIPS               OK         90013772787
43234138261967   ANTHONY         MACIAS                 CA         90011181382
43234467391873   RAMON           RODRIGUEZ              OK         90002564673
43234828972452   THERESA         SMITH                  PA         90011868289
43239113671999   RENEE           FASANO                 CO         90013381136
43241327455939   GARCIA          VRINEY                 CA         49072863274
43241573991569   ANGELA          DURAN                  TX         90014715739
43242979491873   MYLANIA         HAMILTON               OK         90014819794
43243352891569   EVELYN          RODRIGUEZ              TX         90004513528
43243795871934   JUSTIN          OLSEN                  CO         90003277958
43244396191873   JOHN            MOROSE                 OK         90010093961
43246721261963   WILMA           DURBIN                 CA         90011007212
43247933151383   KEVIN           NASH                   OH         90014629331
43249881191892   ALEXANDRIAN     ALLEN                  OK         90012838811
43252533177595   YVONNE          GONZALEZ               NV         90011075331
43252873355939   ROBERT          CERVANTES              CA         90011478733
43252933261963   JASON           TAYLOR                 CA         90014989332
43253969891523   C.D             WILBOR                 TX         75055169698
43254933591873   REBECCA         OMALLEY                OK         21088229335
43256952731437   MONTY           HAMPTON                MO         27561599527
43257644331437   GWEN            GORDON                 MO         90001206443
43258268661938   MELVIN          CASTELHANO             CA         46006602686
43261858191569   MANUEL          SALAZAR                NM         75030348581
43262226661963   JOHN            SIMMONS                CA         90012392266
43262345871999   JOSE            HERNANDEZ SOTO         CO         38084343458
43262493461967   CARINA          CASTRO                 CA         90006054934
43264768171999   ANDREW          ASBURY                 CO         90014147681
43265832851383   MARCUS          SAWYERS                OH         66006048328
43267789791527   MANUELA         MENDOZA                TX         75005407897
43269613261963   JORGE           LOPEZ                  CA         46041946132
43269937751334   JAIRO           FERNANDEZ              OH         90012309377
43271157271999   DORTHOY         FLAVIN                 CO         90002641572
43272539255939   ANNA            COCHRAN                CA         49054755392
43275147851332   TIMOTHY         TEAGUE                 OH         90010051478
43275937751334   JAIRO           FERNANDEZ              OH         90012309377
43277449561925   ANTONIO         GARCIA                 CA         90009624495
43278782751334   MINYA           GROODMAN               OH         90013477827
43279599861967   ESTHER          CARDONA                CA         90012205998
43282328261963   BROOKE          HENRY                  CA         46096703282
43282369977595   CHRISTINE       BOYD                   NV         90011243699
43282663971999   HILARY          GALLEGOS               CO         90002476639
43284692547954   STEPHANIE       REYGADAS               AR         25024576925
43285957391873   AUDREY          MYKELOFF               OK         90014769573
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43286783755939   LISA         STANTON                   CA         90006367837
43287271691873   JEFFERY      CUMMINGS                  OK         90013772716
43287825891569   ALBA         SOSA                      TX         90001228258
43289111591324   KHEN         TUNG                      KS         90001861115
43289761555939   MARO         ALPOONARIAN               CA         90007427615
43291319991892   LETICIA      GUILLEN                   OK         90009893199
43291853671999   DIANA        MERCARDO                  CO         90015188536
43292838361967   ISRAEL       TOVAR                     CA         90014558383
43293282391569   ERICA        DIAZ                      TX         90010372823
43293737561963   OBED         KING                      CA         90007097375
43294574793767   MARK         LOFTON                    OH         90013435747
43294791551334   DESHAWN      PHILLIPS                  OH         90013247915
43294948591873   GEORGE       DERBOVEN                  OK         90015269485
43295912755939   FABIOLA      LOPEZ                     CA         90006669127
43298144951334   EMMANUEL     MARTINEZ                  OH         90001581449
43298556971999   ANGELA       BREKKE                    CO         90014155569
43311189455939   ARMANDO      DUARTE                    CA         90011211894
43311315185931   CARRIE       PRESTON                   KY         90000943151
43313586361547   TONEE        HUDSON                    TN         90013415863
43316264291523   GEEGA        A                         TX         75042242642
43322184851334   KATHY        SMITH                     OH         66008911848
43323163491569   MARILYN      DEL RIO                   TX         90011981634
43326571355939   BRIAN        KIRBY                     CA         90013495713
43328463971999   BRIANNA      HOLDERNESS                CO         90013694639
43329842897134   TRISHA       HOSTETLER                 OR         90013228428
43331465271999   CHELSEA      ARAGON                    CO         38093114652
43336184491342   GERARDO      PENA                      KS         90002371844
43341744477595   MARK         STEVERMAN                 NV         90001817444
43342677655939   KEISHA       HOUFF                     CA         90009786776
43344374255999   CARLOS       ARONI                     CA         49059013742
43344396151334   KATIE        HOUSE                     OH         66050733961
43345942777522   ANGEL        HERNANDEZ                 NV         90009129427
43346517755928   ALFREDO      HERNANDEZ                 CA         90014955177
43346914371933   YVONNE       TRUJILLO                  CO         90012479143
43348869985944   RONALD       MALSI                     KY         90012408699
43352517791569   FRANCISCO    MORALES                   TX         90014665177
43355452761967   JOHN         GRONDONA                  CA         90013394527
43355725777595   JEROME       SANTIAGO                  NV         90007937257
43356777171956   MARGARET     CAMARGO                   CO         90015257771
43357349521981   SYDNEY       FORRESTER                 IN         90012143495
43357531171934   BUTCH        HILLEN                    CO         32095675311
43357767551383   PAULA        MITCHELL                  OH         66065777675
43359883571999   CRYSTAL      SOSA                      CO         90014578835
43361295761963   JUAREZ       JUANIT                    CA         90006522957
43361972691873   CHRISTINA    MCSPAREN                  OK         90011339726
43364824671934   BRIAN        BECKER                    CO         90000718246
43365158291873   JOSELUIS     FUENTES                   OK         90015301582
43366175261963   SARAH        BURNS                     CA         46084611752
43366731855939   JOHN         FAULKERNBERRY             CA         90010027318
43369469661967   ADRIANA      OSUNA                     CA         46084594696
43369569755939   ELVA         CHAIDEZ                   CA         49074255697
43371637655939   KUE          XIONG                     CA         90012746376
43371792891569   TELMA        RAMIREZ                   TX         90009857928
43372478151334   SALOME       PEREZ                     OH         66032844781
43372524251383   SARA         MUMFREY                   OH         90004235242
43372877151334   SHAUNTIA     PHILLIPS                  OH         90014568771
43373164961945   CUAUHTEMOC   VIZCARRA                  CA         90012541649
43373249641265   DANIELLE     TABB                      PA         90012092496
43373482221981   PAYGO        IVR ACTIVATION            IN         90006004822
43373564291982   MONICA       LONG                      NC         90006565642
43374914751334   MICHELLE     MCCAIN                    OH         66055399147
43375765791569   JONATHON     ARGANDONA                 TX         90012757657
43376889751336   VERONICA     SIFFEL                    OH         90005678897
43378192677595   JUAN         OJEDA                     NV         90013141926
43378569391569   NOE          SORIA                     TX         90013345693
43381979391523   MUNOZ        CHRIS                     TX         90010959793
43382125371999   JAMES        CARBAJAL                  CO         90014281253
43382299661967   ADRIAN       ARROYO                    CA         90013032996
43383564361963   PATTY        HERNANDEZ                 CA         46018185643
43384696491873   MARIE        LEMOINE                   OK         90015426964
43387643151383   TIMOTHY      CRAWFORD                  OH         90011596431
43392498577595   JORGE        URIDE                     NV         90014244985
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43393419591873   JAMES              SCOTT               OK         90014384195
43394466541265   CINTHIA            CRAIG               PA         90010534665
43394568577595   OMAR               RAMIREZ             NV         90000795685
43395498561967   BRANDI             MEZA                CA         90007164985
43396761851383   GARY               BRIDGEFORD          OH         66001947618
43398368591569   ANGELINA           ALMANZAR            TX         75086973685
43398731477595   FIDENCIO           AMADOR              NV         90009607314
43399557391569   CRISTINA           HERNANDEZ           TX         90014835573
43411788461967   JAMIE              MARTINEZ            CA         90014497884
43411835951326   TIFFANY            BALDWIN             OH         90001068359
43413167651383   KIMBERLY           SPAHR               OH         90014631676
43413464877595   GUILLERMINA        CASTILLO            NV         90003774648
43413515977595   BRITTNEY           OLEARY              NV         90014245159
43414167651383   KIMBERLY           SPAHR               OH         90014631676
43416167651383   KIMBERLY           SPAHR               OH         90014631676
43416884961941   MARIA DEL CARMEN   PENA                CA         90011948849
43417991771996   BERTA              CECILIA MUNOS       CO         90011329917
43418167651383   KIMBERLY           SPAHR               OH         90014631676
43418736561967   GRACIEL            RIVAS               CA         90001827365
43419352291394   ALFREDO            CATALAN-FELIX       KS         90003263522
43421965691394   MICHAEL            CHAVIRA             KS         29039239656
43424478491873   DANIEL             BROWN               OK         90009404784
43424553561963   ROBERTO            HERNANDEZ           CA         46006125535
43426237451344   ELI                SCHATZLE            OH         66060352374
43426864861963   LINDA              VEJAR               CA         90010828648
43426921854132   THOMAS             DIAZ                OR         90015269218
43427237451344   ELI                SCHATZLE            OH         66060352374
43429331651383   GINA               ABBOTT              OH         90014013316
43429348591569   JESUS              RAMOS               TX         90013463485
43432113871999   KARA               BRILL               CO         38070301138
43432458161963   GIOVANNY           GALVAN              CA         46010894581
43432593691873   DONZA              SETTLES             OK         90015185936
43433687461963   CLEMENTE           VEGA LEYVA          CA         90012896874
43433822261967   MELVIN             PRICE               CA         90005228222
43438257151334   KIMBERLY           LACEY               OH         66028652571
43438545421981   JULIE              LOSEY               IN         90013825454
43441919661963   JAMES              HUFF                CA         90014959196
43442731255939   TOU                VANG                CA         90012197312
43443278461963   OLIVIA             ORTIZ               CA         90002912784
43443689577595   ERICK              ESTRADA-CHAVEZ      NV         43031246895
43445731161967   MARIA              ESPARZA             CA         90011287311
43446759151383   ASHAWNTAY          COLLINS             OH         90005087591
43448568991569   YOLY               HERNANDEZ           TX         90003865689
43451447821981   KERRI              MARTIN              IN         20591314478
43453425891569   ANTHONY            CARRILLO            TX         90009414258
43453613161963   AMILCAR            LOPEZ               CA         90002316131
43454488161963   RUBY               PRECIADO            CA         46098724881
43455394491569   GLORIA             ROMAN               TX         75074313944
43458887351334   ASHLEY             CARDWELL            OH         90013658873
43461459755939   CARLOS             GOLLETTE            CA         90013104597
43462147861975   ILLIANA            AYALA               CA         90001291478
43463575477595   GERARDO            REYES-HERNANDEZ     NV         90010915754
43463648271999   ULISES             ANTILLON            CO         38007496482
43467552161967   ROBERTO            RAMIREZ             CA         46008045521
43467673933694   TONYA              GOINS               NC         90003556739
43468475442524   ROSIO              TOFELO              WA         90015364754
43468727361963   JUSTINO            FUENTES             CA         90010697273
43471335571999   CHRISTOPHER        ROBERTS             CO         90015213355
43472369871999   ROBERT             ROMERO              CO         90009423698
43474357751325   JUDY               HUGHES              OH         90014643577
43477161361963   REYNA              REYNOSA             CA         46098471613
43483833971968   KACY               COOPER              CO         32052428339
43484653251334   DE ASIA            BROCK               OH         90012796532
43484828461963   PERLA              ZAZUETA             CA         46007948284
43489355371934   JUAN               GARCIA MENDOZA      CO         90006493553
43489881361955   LOURDES            HERRERA             CA         90013298813
43491179661963   FLOYD              MAYWEATHER          CA         90010241796
43493315371999   KATLYN             CASTRO              CO         90013463153
43493544477595   RAFAEL             GONZALEZ            NV         43044945444
43494825851383   MONTIJAE           MARTIN              OH         90011808258
43495136891569   JOVANNA            RODRIGUEZ           TX         90004741368
43495737977595   MELODY             HERNANDEZ           NV         90007357379
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43496415157549   ANTONIO       JIMENEZ                  NM         90008724151
43496631171999   MARIAN        LERMA                    CO         90008266311
43497851151383   JEANNOT       NGALAMO                  OH         90011808511
43499141671999   JONATHAN      MACIAS                   CO         90013961416
43514413771999   CONNIE        NEWTON                   CO         38029324137
43515385277595   RANDY         SUBILLAGA                NV         90014253852
43516543151334   MARCO         GOMEZ                    OH         90011915431
43517574471999   JAMES         MEDINA                   CO         38004825744
43518553177595   SHANNON       BRISTOW                  NV         90014645531
43518745547954   VERONICA      DOMINGUEZ                AR         25095967455
43518947577595   SKYLA         HOYOPATUBBI              NV         90014669475
43521452561967   CYNTHIA       DRENSKY                  CA         90014924525
43523457177595   JULIO         PEDROZA                  NV         43040534571
43523478361963   LUKE          HASTINGS                 CA         90013304783
43524999861967   BENJAMIN      VALDEZ                   CA         90011159998
43525567471999   GLORIE        FALCON                   CO         38065005674
43526981791569   CHRISTOPHER   VASQUEZ                  TX         90011349817
43527445377595   MICHAEL       LABRIE                   NV         90012194453
43531849391926   MICKEY        LYCHN                    NC         90011208493
43532319471999   RENA          CANO                     CO         90011253194
43532686931481   KAREN         LEE                      MO         90001176869
43533714341229   MICHAEL       NAHAY                    PA         90015067143
43533725251334   BRANDON       FELIX                    OH         66014777252
43535267951334   JOSELINE      RODRIGUES                OH         90010722679
43535531291569   STEPHANIE     MANRIQUEZ                TX         90013365312
43538984161963   FLORENCIA     C                        CA         90002209841
43541179591569   STACEY        LUJAN                    TX         90014021795
43541498193768   PAIGE         SMITH                    OH         90012544981
43543311961967   TANNEESHA     TURNER                   CA         90013033119
43546197177595   ROLAND        BROOME                   NV         90009341971
43546789733673   GLADYS        VENTURA                  NC         90013107897
43548659777595   EVAUGHN       NICHOLE                  NV         90014646597
43551385177366   MELISSA       BLANCHARD                 IL        90014883851
43551934291873   CHARLIE       VUE                      OK         90013169342
43552313891523   ALFREDO       JAQUEZ                   TX         75055243138
43552522691569   VANESSA       TALAMANTES               TX         90013285226
43554445961941   ROBERTO       GOMEZCABRAL              CA         90010194459
43555251355939   SAULO         HERNANDEZ                CA         90011212513
43556351955939   AXEL          NINO                     CA         90013983519
43556835861967   VICTORIA      BOWERS                   CA         90006978358
43557142861963   AMBER         MARTINEZ                 CA         46060541428
43557711261963   AMBER         MARTINEZ                 CA         90014477112
43558287251334   NANCY         HINES                    OH         66001232872
43559529461963   BILLIEROSE    SCHNEIDER                CA         46044635294
43563233691569   BOGAR         ORTIZ                    TX         90012872336
43563971251383   PATRICIA      KING                     OH         90004209712
43568282951334   VICTOR        SANCHEL                  OH         90012682829
43569111961963   JESUS         DIAZ                     CA         46098291119
43571116991569   BLANCA        LOPEZ                    TX         90011341169
43571241551334   ROXANNE       LAU                      OH         90010862415
43571291251383   JOHN          MULCAHEY                 OH         90002462912
43572142861963   AMBER         MARTINEZ                 CA         46060541428
43572624151354   THOMASINA     SIMMONS                  OH         66017156241
43573579691873   CHRISTINA     CLARK                    OK         90013265796
43574997291873   BRIAN         SCHENCKS                 OK         90013719972
43575864591569   SHON          STEVENS                  TX         75010578645
43576547561967   COBBIE        DIXON                    CA         90014915475
43578319951383   JULIEN        WAGNER                   OH         90011803199
43579829951334   KESHA         FORD                     OH         90015048299
43582519755939   JOSH          BRANTLEY                 CA         90010145197
43582748877595   OSCAR         MURGA                    NV         43062397488
43585398877595   BRENDA        MAYNOR                   NV         90006793988
43587284377595   FRANCIS       CONTRERAS                NV         90006812843
43588215791873   SHELIA        CEARLEY                  OK         21038402157
43588579691873   CHRISTINA     CLARK                    OK         90013265796
43589858891523   EULALIO       GARCIA                   TX         90009048588
43592397555939   JESSIE        LEE                      CA         90005073975
43592441461967   CU            VO                       CA         90012444414
43593734377595   LUIS          RODRIGUEZ                NV         43008177343
43595196691569   AVLEN         GONZALEZ                 TX         75013931966
43595549271999   SHERRY        MCDONOVAN                CO         90013695492
43596251751383   ASHLIE        CHEATHAM                 OH         90014652517
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43597722391873   FA RANA          HOMAS                 OK         90014317223
43599812291569   KRYSTAL          BERRY                 TX         90010688122
43613727371924   HUGH             DOWNEY                CO         90001417273
43618629991569   PATRICIA         GUILLEN               TX         75003386299
43619772555939   SONYA            ZAVALA                CA         90001237725
43621174751383   TORI             GRANT                 OH         90014641747
43621292861924   JAKE             STEWART               CA         90013182928
43622883571999   CRYSTAL          SOSA                  CO         90014578835
43623191361963   ISIS             VERDUGO               CA         90013081913
43625314151383   MELISSA          WALTNER               OH         66046323141
43625756655939   ULISES           MONTES                CA         49066447566
43627484591881   ASHANTE          RICH                  OK         90010704845
43627679951334   EUFRANO          ANDRACA-FLORES        OH         90014396799
43628674971999   MATRINA          ARELLANO              CO         90010456749
43628954261963   MITZI            ITURBIDE              CA         46025719542
43629555433673   JAMES            SHORTER               NC         90009335554
43631519891982   BERTHA           GOMEZ                 NC         90006335198
43634968961967   MORGAN           UPCHURCH              CA         90013169689
43635366993768   MARK             BALLING               OH         90007073669
43636776655939   JANESSA          MORA                  CA         90014847766
43637966431491   CARL             GREER                 MO         90004539664
43638787871999   PRESTON          RODRIGUEZ             CO         90014437878
43641314391873   ROBERT           HAGGARD               OK         90015593143
43642439191873   LACYE            HUDSON                OK         21080404391
43643957157122   EMELY            ANAFI ACQUAH          VA         90003969571
43644571861967   ESTHER           MANZO                 CA         90001325718
43645185361963   ANTHONY          WIGGERS               CA         90003961853
43645834161967   HECTOR           BARRAZA               CA         46047878341
43647173651334   GREG             BETHEA                OH         90003031736
43647818861963   CARL             MELILIO               CA         90014378188
43649182777595   CARLOS ALBERTO   RAMIREZ-RIZO          NV         90003091827
43649483151326   DIANE            ADAMS                 OH         90001404831
43649659951334   MARISOL          RIVERA                OH         90009116599
43649683391394   ANISSA           FINGER                KS         90001926833
43651347491569   ROBERTO          GONZALEZ              TX         90013643474
43652776655939   JANESSA          MORA                  CA         90014847766
43653212755939   JUAN             ATKINSON              CA         90008432127
43653275291549   JOSEFINA         LOPEZ                 TX         90013322752
43654139591547   RAY              GRANADO               TX         75066351395
43654643193794   SCARLETT         HILTON                OH         90013516431
43656184891569   SARA             PEREA                 TX         75067871848
43657769555939   ARTHUR           CASTILLO              CA         49054387695
43658191871999   JANIE            DAY                   CO         90010421918
43659651771934   JEREMIAH         NEWMAN                CO         90003326517
43661535291873   ROSE             MCQUEEN               OK         90012785352
43661677861963   MARIA            PEREZ                 CA         90001186778
43663283871999   ALICIA           GALLEGOS              CO         38092302838
43663426251334   JEREMY           MEADORS               OH         90012954262
43663858455939   MAOMI MARIE      GALINDO               CA         90014888584
43665341877595   DAVID            GARCIA                NV         43078023418
43665972991873   KALYNN           MYERS                 OK         90002039729
43666961693755   MICHAEL          VENCILL               OH         64578369616
43667142655939   JOSE             HERNANDEZ             CA         90013321426
43668719951334   MONIQUE          KINKADE               OH         66035927199
43669557261963   AHSAKI           HUDSON                CA         90010935572
43671324647954   SANTIAGO         VASQUEZ-LOPEZ         AR         25095833246
43671718655939   MERCEDES         SANCHEZ               CA         90014857186
43673268851383   EDGAR            GABRIEL               OH         90014652688
43673872377595   JOSE             NUNEZ                 NV         90014318723
43674771955939   DEMAR            SMITH                 CA         49064917719
43674849261963   FLAVIO           CARLOS                CA         90012838492
43674941661967   GLENNA           RANKIN                CA         90004869416
43676452761967   JOHN             GRONDONA              CA         90013394527
43676533851383   SARAH            MCGINNIS              OH         90013085338
43676946191394   GISELLE          SLAUGHTER             KS         29047359461
43677221355939   CARLOS           QUINTERO              CA         90014572213
43681346371999   OCTAVIO          BORJORQUEZ            CO         38081633463
43681441891873   DEE              HENDRIX               OK         90010914418
43682312151334   DONNA            ASH                   OH         66014343121
43684283661963   HECTOR           COVARRUBIAS           CA         90000702836
43686241891523   MARIA            YOLANDA               TX         90010822418
43688362761967   BRIO             HURD                  CA         90003003627
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43688947461963   BIBINO             REA                 CA         90013569474
43689694377595   VERONICA           CHAVEZ              NV         43031726943
43691756977595   KASEY              HUENNEKENS          NV         90014707569
43692461691569   YVETTE             ORDAZ               TX         90009814616
43692615651334   KAREN              LOVELESS            OH         66001796156
43695839277595   RANDALL            BERG                NV         43050448392
43696994191569   CORINA             VILLANUEVA          NM         75001499941
43697516691569   SANTIAGO           CHAVEZ              TX         75029455166
43697644491873   ARACELI            MORENO              OK         90006366444
43711859455939   RAFAEL             SANTILLANES         CA         90007698594
43713617671999   BILLY              JONES               CO         90006866176
43714265491569   BRIAN              VALLE               TX         90014362654
43714645171934   GWEN               YARBROUGH           CO         90004206451
43715985861963   CORRINA            FITZQERALD          CA         46034089858
43717556777595   VINCENT            TRAN                NV         90006995567
43718356791881   MONICA             PIERCE              OK         90012563567
43721817861967   MICHAEL            DAVIS               CA         90006148178
43724684791569   ANGELES            GONZALEZ            TX         75047386847
43726927751334   LAQUANDA           JEMISON             OH         90008309277
43727281591569   ARMANDO            GRIEGO              TX         75071422815
43727377951383   DOUGLAS            BRANHAM             OH         90014913779
43727391355939   SANDRA             MORALES             CA         49010993913
43731269551383   HEATHER            SHOOK               OH         90014642695
43732836755939   SEAN               SEARLES             CA         49023908367
43733124131959   ISIAH              FURLOW              IA         90015421241
43733484555939   AMBER              FAIRBANKS           CA         90003854845
43734232261963   LAMONT             RUSSELL             CA         90002012322
43734552891873   KATIE              GOLDSMITH           OK         90014085528
43736512461967   CHRIS              WATSON              CA         46084825124
43736943377595   MARIA GUIADALUPE   JARAMILLO           NV         90014709433
43738936651334   MATHEW             BATES               OH         90015549366
43739787251383   NICOLE             JACKSON             OH         90011817872
43741837291569   LUIS               LASPRILLA           TX         75010678372
43745832747954   ANDREW             OLIVER              AR         25055488327
43746171451334   HENOK              CHERNET             OH         90012701714
43747593391873   ABEL               GOMEZ               OK         90009915933
43747732247954   TINA               BAKER               AR         25050597322
43749629177595   MICHAEL            SWART               NV         90010576291
43753533151326   CHARLES            CAUDILL             OH         90009695331
43754527891873   ALETA              THOMAS              OK         90014425278
43754528191549   NANCY              HERRERA             TX         90008965281
43755751551383   ALLISON            DIEM                OH         90002747515
43756613791569   JACOB              CORTEZ              TX         90015216137
43758443271999   LUCY               EZPINOSA            CO         90011874432
43759782261963   CHONA              MOSER               CA         90013627822
43761486577595   GUADALUPE          GOLDSMITH           NV         90014734865
43761671771999   ERNESTINA          CASTILLO            CO         90003576717
43761889651334   JAMES              DOLTHY              OH         90015588896
43762249491569   XAVIER             ESCOBEDO            TX         90001872494
43763663655939   JESSE              GALINDO             CA         90011936636
43764826191523   WILLIAM            KINCAD              TX         75067248261
43765118761963   LUIS               INIGUEZ             CA         90013381187
43767258991569   HEIDI              GUTIERREZ           TX         90014012589
43769635361967   SMILEY             GUARDEDO            CA         90014956353
43771752751383   RONALD             BAUER               OH         90004337527
43773977391569   CARRIE             LITTEN              TX         90002839773
43775556355939   THOOB              LEE                 CA         90012725563
43775979171999   LEANN              LEWANDOWSKI         CO         38048289791
43776296251383   LILLIAN            DOZER               OH         90014642962
43777958591873   JUANITO            BROOKFIELD          OK         90013159585
43778882321981   JOSE               CORONA              IN         90003448823
43783247177595   WESLEY             BOHANNON            NV         90014722471
43784314177595   JUAN               CHAVEZ              NV         90014723141
43785146991523   ANGELICA           RODRIGUEZ           TX         75055291469
43785354261967   JOI                JENKINS             CA         90004353542
43786615171934   MISTY              HUNT                CO         90003346151
43786684371999   SARAH              ALIRE               CO         90013626843
43788615171934   MISTY              HUNT                CO         90003346151
43788721691569   VICTOR             BRECEDA             TX         90000647216
43792129677595   JOSE               FIERROS             NV         43086781296
43792237451383   BARRY              REYNOLDS            OH         90006512374
43793712654121   LELIA              JOHNSON             OR         90014097126
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43796832851383   MARCUS       SAWYERS                   OH         66006048328
43796961551383   EFREM        CHARLES                   OH         90011819615
43797845361963   MELISSA      GALLEGOS                  CA         90009888453
43798373151383   ALFONSO      MAZARIEGOS                OH         90006663731
43811795191569   CESAR        BELTRAN                   TX         90011687951
43813193147954   BETZAIDA     VALENTIN                  AR         25018751931
43813975255939   GUADULUPE    PEREZ                     CA         49065029752
43815952871999   JAMES        TURNER III                CO         38091069528
43822754755939   JESSICA      GONZALEZ                  CA         90010897547
43824391761963   MARCY        WISE                      CA         90004903917
43824671971999   DEION        GARCIA                    CO         38036986719
43829214951334   LATASHA      EATON                     OH         90004292149
43833834877595   JUAN         SERAFIN                   NV         43066928348
43834572155939   YER          HER                       CA         90014085721
43836195657148   ELSY         BAIRES                    VA         90013931956
43838162891569   DORA         TORRES                    TX         75057621628
43839217961967   BELLADONNA   COX                       CA         46064342179
43839843491873   LADONNA      GARCIA                    OK         21093528434
43841221491394   RICHARD      GONZALEZ                  KS         90009592214
43842236571999   LATISHA      PACHECO                   CO         90008732365
43842238355939   DAVID        CHATWIN                   CA         90010862383
43843752977595   HENRY        GRAY                      NV         90014737529
43844924671934   STEPHANIE    GARCIA                    CO         32076099246
43845342677595   DELFINA      ALVAREZ                   NV         90007573426
43847478161963   JOSE         MARTINEZ                  CA         46012434781
43848125377595   MIKE         SALISBURY                 NV         90004271253
43848732351334   MONROE       BURNS                     OH         66031857323
43849547177595   PRINCE       CORDOVA                   NV         90007965471
43851924155939   MOISES       ANDREADE                  CA         90015139241
43852164277595   JESUS        DOMINGUEZ                 NV         90014341642
43852936271999   JONATHAN     LOPEZ                     CO         90012539362
43853373771999   GLORIA       VALDEZ                    CO         90010393737
43853731977595   ELIZABETH    WRIGHT                    NV         90014747319
43856983461967   NOEMI        RUEDA                     CA         90014069834
43859371371999   ALEXANDER    SERNA                     CO         90009843713
43862837291569   HORTENCIA    LOZANO                    TX         90012508372
43864878251383   VICTORIA     JAMISON                   OH         90013018782
43865375451383   DERRICK      JACKSON                   OH         90014643754
43866752577595   JAIME        CAMBELL                   NV         90006177525
43866775777595   JUAN         ACOSTA-ESCOBAR            NV         90014747757
43867375451383   DERRICK      JACKSON                   OH         90014643754
43868819651388   RANDALL      MCCLOUD                   OH         90008618196
43868987447954   ROSALINA     BOCHE                     AR         25018789874
43869142255939   ROBIN        BAULKMAN                  CA         90011961422
43869234171999   ROSETTA      CAMPBELL                  CO         38068022341
43869528561927   DANIELLE     VINZANT                   CA         90006705285
43869744577595   REBECA       VALENCIA-LARA             NV         43091737445
43871123991569   ROLANDO      GUSTAVO                   TX         90010131239
43871794751334   IFE          COX                       OH         90004697947
43872199971934   JAMES        LOVE                      CO         32020911999
43872699177595   ROBERT       DAWSON                    NV         90007176991
43873583891569   GLORIA       TRUJILLO                  TX         90009955838
43875191261963   NORA         CORIA                     CA         90012181912
43877559791873   PATTI        CARLSON                   OK         90012395597
43879473671999   CHRISTINA    CONTRERAS                 CO         90013294736
43879524161963   GENNY        URREA                     CA         46072775241
43881647691569   JORGE        CAZARES                   TX         75016616476
43882123461967   JUDEAN       LEWIS                     CA         46014141234
43882867577595   CLAY         SMITH                     NV         90014748675
43884749961955   ELISEO       ALVARADO                  CA         90012067499
43884872471999   JENNIFER     HOWELLS                   CO         90006778724
43884943651383   JAMES        FUGATE                    OH         90002159436
43885229351383   KIM          POWELL                    OH         90004212293
43888442961967   SAID         LAQLACH                   CA         46095444429
43888855771934   JERRY        D LANE                    CO         90003358557
43889646891873   BRIANNA      WARRIOR                   OK         90010216468
43889975255939   GUADULUPE    PEREZ                     CA         49065029752
43891397451383   BRIANNA      THOMPSON                  OH         90014643974
43891735171999   ANJA         ROSALES                   CO         38096907351
43892294993723   ABRAHALE     KETEMA                    OH         90008172949
43892397451383   BRIANNA      THOMPSON                  OH         90014643974
43892647691569   JORGE        CAZARES                   TX         75016616476
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43893824551383   JUAN          MONDIJO                  OH         66040358245
43894236151334   WILLIAM       VAUGHN                   OH         66094302361
43894654371999   BREANNE       ORTEGA                   CO         90013156543
43895865891569   AIDA          RODRIGUEZ                TX         90013568658
43896755191222   DELISA        MOCK                     GA         90011647551
43899371751383   DEANNA        CALHOUN                  OH         90014643717
43899752391873   ROGER         SCHAEFFER                OK         21045147523
43911436591834   MICHAEL       COMBS                    OK         90010294365
43913939791873   PATRICIA      LAY                      OK         90013449397
43915989677595   LEONEL        VALDEZ                   NV         90006219896
43919954277595   JUAN          DE SANTOS                NV         43074229542
43921246561963   KARA          HARMER                   CA         90015182465
43922832761963   ENRIQUE       VIZCARRA                 CA         90013128327
43924624361967   TERESA        ARREOLA                  CA         90013936243
43924833191873   RUBY          REA                      OK         21092378331
43924899651328   GARY          RESURRECCION             OH         90002118996
43925188471999   DEBBIE        CHAVIRA                  CO         38077281884
43925943361963   JINGXING      WAN                      CA         90009519433
43926295855939   SHEIKARA      MAYBERRY                 CA         90012252958
43927881985877   JOSE          ALVAREZ                  CA         90008308819
43929159151326   EBONIE        COLEMAN                  OH         90015131591
43929264377595   LUIS          LOPEZ SALINAS            NV         90014752643
43931139461967   ROBERT        CARBLAY                  CA         90012491394
43931487677595   BRITTANY      JOHNSON                  NV         43000944876
43932967951334   ASHLEY        TURNER                   OH         90010469679
43934425451383   LATITIA       MOORE                    OH         66027714254
43935724791873   FRANKLIN      HERERA                   OK         90009937247
43936377671999   TIMOTHY       AGUERO                   CO         90011753776
43938752261963   ALMEND        ENRIQUEZ                 CA         90012707522
43938797871934   JOHNNIEMAE    HAMPTON                  CO         90012287978
43939968961967   MORGAN        UPCHURCH                 CA         90013169689
43942438951383   STEPHEN       LAIRSON                  OH         90014644389
43944921451334   CHRISTOPHER   GRIFFIN                  OH         90014369214
43946941931472   ANTHONY       CARUTHERS                MO         27586569419
43949116461967   MARTHA        ITURRALDE                CA         90009471164
43951433361963   TSEDALE       RASHAW                   CA         46005404333
43954214151336   RASHUNDRA     SMITH                    OH         90004162141
43954222555939   JOSE          SANCHEZ                  CA         90014472225
43956531291569   STEPHANIE     MANRIQUEZ                TX         90013365312
43956536491524   SANDY         ROBLEDO                  TX         90010995364
43958258761967   MARIEL        COLON                    CA         90000932587
43959986585981   STUART        FREEMAN                  KY         90013339865
43959986861967   ISRAEL        NUNEZ                    CA         90011209868
43964997991394   SULMA         HERNANDEZ                KS         29098609979
43966473671999   CHRISTINA     CONTRERAS                CO         90013294736
43969734377595   LUIS          RODRIGUEZ                NV         43008177343
43971995371999   ROSE          PINO                     CO         90003039953
43972539671999   MICHAEL       AGUILERA                 CO         90011505396
43972715761967   MICHAEL       QUICK                    CA         46077987157
43973662377595   TED           SANFORD                  NV         90007966623
43976935155939   CHANNY        MEP                      CA         90012639351
43977195171934   BRYCE         CEJKA                    CO         32001521951
43979742377595   CLARA         CARRILLO                 NV         43037057423
43981643251383   DEBRA         HAYES                    OH         90014646432
43982369571999   MARLENE       CAMUS                    CO         38097923695
43982745651383   DEVINA        SCHUBERT                 OH         66030517456
43983599961986   VICTOR        ARAMBURO                 CA         90007675999
43984426255939   AUSENCIA      ROJAS                    CA         90002014262
43987187171999   NEISHA        LOPEZ                    CO         90015221871
43989353971999   ANTHONY       COPLEY                   CO         38058093539
43991926191873   ROSIE         MCQUARTERS               OK         90012189261
43992247151383   LEE           MILLER                   OH         90011892471
43992356291569   NADIA         HARCO                    TX         90002323562
43992766551334   DONNA         STOUT                    OH         90009717665
43993498571999   CHEVY         MONTOYA                  CO         90012364985
43994165381639   ROBERT        ROGHWELL                 MO         90013581653
43994522972434   BRIAN D       MILLER                   PA         90006985229
43994823851334   SHELLY        DENNIS                   OH         90013118238
43995112877595   GARY          LYNN                     NV         43040761128
43999637671999   ANTONIO       TREADWAY                 CO         90010396376
44111475731959   MARBELLA      PERDOMO                  IA         90009274757
44111616451334   JAZZMIN       ILLIAMS                  OH         90012856164
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44113727191869   KELLI              INMAN               OK         21096167271
44115533191873   VICKI              CARPENTER           OK         90011955331
44115871151334   BLAIR              COUCH               OH         90012838711
44118244151383   ADAM               MARTIN              OH         90006802441
44118363761963   JAZMIN MONSERRAT   GARCIA PEREYRA      CA         90014163637
44119596191873   MARIA              GUADALUPE           OK         90004955961
44119958772443   CHRISTOPHER        CROMO               PA         90014739587
44122846272443   JAMES              BURGOS              PA         51001428462
44122865747954   GONZALO            RODRIGUEZ SALINAS   AR         25005318657
44124688171934   ALBERT             YBANEZ              CO         32059486881
44124979361967   ELENA              PEREZ               CA         90007989793
44126214372443   SHANEE             BROOKS              PA         90014382143
44127321351334   HERSHEL            WHITE               OH         90009843213
44131663491351   KATI               BECK                KS         90013466634
44132986672443   SCOTT              VANSICKLE           PA         90000319866
44133254491569   YOLI               PARRA               TX         75059372544
44133932447954   JOHEL              PEREZ               AR         25002389324
44134271751334   STEPHEN            YOUNT               KY         66094352717
44135362655939   RONALD             HANSEN              CA         90004243626
44138548351383   MICHAEL            LOMBOY              OH         90006495483
44139747661963   ENRIQUE            CORONADO            CA         90006747476
44141333991569   ELIODORO           FERNANDEZ           TX         90015343339
44144486757136   COTHEIA            REYNOLDS            VA         90011314867
44146867561963   KARLA              ZAMORA              CA         46012188675
44147362755939   DIANE              CERCADO             CA         90013873627
44148199361963   ANNETTE            REYES               CA         90012921993
44149467991873   SHELIA             RASH                OK         21058424679
44149686147954   JOSE LUIS          MARTINEZ            AR         90014686861
44151743791569   CESAR              DURAN               TX         90014367437
44152154891941   LORRAINE           DOUTHIT             NC         90014191548
44153213161967   ABRAHAM            ALATORRE            CA         46089692131
44153651672443   SUZETTE            HOUGH               PA         90014846516
44159261672443   ERIC               VASQUES LOPEZ       PA         90014002616
44163242861967   ANNIE              DAVIS               CA         90007702428
44163383791569   VERONICA           CONTRERAS           TX         90010013837
44165144961967   REGINALD           LITTLETON           CA         46038071449
44166518771934   FELICIA            ORTEGA              CO         32045705187
44168133743575   CARLOS             MANZIA              UT         90013081337
44169554291569   MERARY             CARBAJAL            TX         90009875542
44171127771999   JUSTIN             RICHARDSON          CO         38047891277
44171134647954   JOLENE             WATKINS             AR         90012981346
44171543291569   MARY ESTHER        GALVAN              TX         90009535432
44171956955939   JACKIE             AVILA               CA         49062879569
44172642551382   LUCIUS             RICE III            OH         66000696425
44172968233631   ANTHONY            BARNES              NC         90002349682
44174128761963   ROSALIO            AGUILAR             CA         90012911287
44175347155939   JESUS              CARDENAS            CA         90014183471
44176987591523   JESUS              LOPEZ               TX         75089859875
44177147961963   NANCY              BURSEY              CA         46026411479
44178451591569   VERONICA           GOMEZ               TX         75064664515
44178848251334   ALA                KISHAWI             OH         90003658482
44182465651332   MARCEL             WALTON              OH         90010104656
44182772461963   CESAR              RODRIGUEZ           CA         90008827724
44183473691351   JEREMIAS           TOLEN               KS         90011204736
44185174591351   ARMANDO            GOMEZ               KS         90013361745
44186194451382   MELLANIE           BEGLEY              OH         90005611944
44187493355939   JACOB              RAMIREZ             CA         90000484933
44188558172443   MINA               DONATO              PA         51021405581
44191317491569   LORENA             GUARDADO            TX         90014383174
44193497154195   SHARI              FUNKHOUSER          OR         90013954971
44195954661967   PEDRO              BERNAL              CA         90011799546
44197113755939   MIRIAM             MARTINEZ            CA         90002791137
44197951691873   MEGAN              BOND                OK         90014069516
44198557172443   ROBERT             CALLEN              PA         90014755571
44212318151334   DAMETRIAS          DURETTE             OH         90002713181
44213499291351   MARIBEL            ENRIQUEZ            KS         90014654992
44215653591873   TOM                JOHNSON             OK         21092636535
44217749771968   ALEJANDRA          GONZALEZ            CO         90004247497
44218163647954   JUANCARLOS         LOPEZ               AR         90008871636
44218175851334   KEVIN              BROWN               OH         90012271758
44218618861963   TOMAS              PEREZ               CA         46059126188
44218849991351   TASHA              REED                KS         90012898499
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44219294351383   AVIA            VIERLING               OH         66036272943
44223284191523   FERNANDEZ       LINA                   TX         75012522841
44223671391873   OLIVER          OROZCO                 OK         21037816713
44224518761963   MARIANA         VELAZQUEZ              CA         90013555187
44225434991569   INSLEY          EVANS                  TX         90014594349
44225863891328   SHANTY          JOHNSON                KS         29006538638
44226934891569   BEATRIZ         MUNOZ                  TX         75009759348
44226973891523   ANA PATRICIA    FIGUEROA               TX         90006909738
44226977255939   BENITO          PEREZ                  CA         90013629772
44227477751334   MARIANNE        KOEDEL                 OH         66046124777
44228526941432   KATHERINE       FUCHS                  DC         81027815269
44232651254191   JONATHAN        HOLMES                 OR         90010066512
44237216751334   CLETUS          JARMON                 OH         66088922167
44237338491873   RENEKA          COTTON                 OK         90010393384
44237963291351   KATHY           DAVIS                  KS         29046589632
44238562591523   STEPHANIE       HERNADEZ               TX         90013105625
44238852672443   LISA            GISHNOCK               PA         90011058526
44239224355939   PAULA           ESPINO                 CA         49028352243
44239841491873   MIREYA          GARCIA                 OK         90006378414
44242221761963   RUBEN           CORONA                 CA         90009082217
44243244947954   MERYL           PETERSEN               AR         90007702449
44243452255939   JOSE            HUERTA                 CA         90012484522
44243911851334   ISRAEL          MORA                   OH         90014419118
44245184891569   PATRICIA        ACEVEDO                TX         75088671848
44246469391569   JACQUELINE      VASQUEZ                TX         90008464693
44246649341454   BRIANNA         WILLIAMS               WI         90015386493
44247112472443   TERENA          WALTERS                PA         90006331124
44247218551334   DAWNEISHA       PRUITT                 OH         90012142185
44249726391926   ANGELICA        RIMEREZ                NC         90012497263
44252515351334   MELINDA         BECK                   OH         90008565153
44252593891873   CARLOS          MARTINEZ               OK         21096645938
44253918447954   FRANCISCO       SALAZAR                AR         90014659184
44255154151334   KELSY           AMERSON                OH         66066371541
44255197491569   IRMA            SORIANO                TX         75087411974
44255298891523   OLIVIA          ROMAN                  TX         90012022988
44257992791569   BENITO          PADILLO                TX         75040619927
44258813491569   JANET FRANCO    FRANCO                 TX         90015538134
44262474255939   KENIA           SMITH                  CA         49028354742
44263912291523   GALTERIO        CAMARA                 TX         90006929122
44265786451334   BRITTANY        ROYER                  OH         90015317864
44265918572443   DAVID           RENZE                  PA         51055069185
44267937891569   MARIANO         MALAGON                TX         90014149378
44268533461994   ALBERTO         LOPEZ                  CA         90007685334
44269533461994   ALBERTO         LOPEZ                  CA         90007685334
44269685961967   COLLINS         LORENSZO               CA         90003466859
44269699791351   JOHN            FRED                   KS         29015906997
44271381761967   PATRICIA        CARTER                 CA         90011803817
44273531255939   JEREMY DWIGHT   DELVEAL                CA         90003775312
44275332947954   JUAN            AYALA                  AR         90012803329
44275634477562   LISA            OPENSHAW               NV         90008206344
44277617261967   DOUG            MEIDVIS                CA         46077226172
44277976655939   PATRICK         MCGINNIS               CA         49097799766
44278352571934   SABINE          ALVARADO               CO         32013073525
44279147691873   KATHY           SEALS                  OK         90010941476
44281531255939   JEREMY DWIGHT   DELVEAL                CA         90003775312
44281715772443   CHEIS           DELLO                  PA         90013757157
44289291547954   AMANDA          SPILLERS               AR         90014912915
44289755171934   RACQUEL         MARTINEZ               CO         32097497551
44289826355982   PAQUETTA        BRYANT                 CA         90012638263
44293347961967   CRYSTAL         GOODMAN                CA         90011803479
44295975347954   RIGO            BALLESTEROS            AR         25091489753
44296354661967   JOSEPH          HUMPHREY               CA         90011803546
44296655971946   JESSICA         CUMMINGS               CO         90007726559
44298966155939   JESSICA         LEDESMA                CA         90000449661
44311215961963   ANTHONY         SMITH                  CA         90012922159
44311817361963   SHAQUAN         MCDONALD               CA         90014608173
44312444855939   HECTOR          MOLINA                 CA         90014784448
44312989972443   POPPY           MCGEE                  PA         51003079899
44316358691351   REBEKAH         HOWELL                 KS         90008283586
44316778491527   LEOVARDO        CERDA RIVERA           TX         90006227784
44316886772443   LINDSAY         PRATT                  PA         90008448867
44317285951334   LESLIE          YOUNG                  OH         66017522859
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44318389261967   LUIS          LEYVA                    CA         90011803892
44319468861963   DALAS         NICHOLSON                CA         46067144688
44321389361967   JAMES         GROVER                   CA         90011803893
44324431161967   LEIDI         LOPEZ                    CA         46065014311
44324842351382   DARRYL        BROWN                    OH         90009788423
44325266191569   SILVIA        PEREZ                    TX         75059892661
44325583951383   ROBERT        WALLACE                  OH         66099265839
44329563691569   MARIA         SAENZ                    NM         75003025636
44331159151336   JEFF          JOURNELL                 OH         90011001591
44333139551325   NISCHI        PHILLIPS                 OH         66012181395
44335559191569   DAVID         MUNOZ                    TX         90009875591
44336335491351   TARESSA       SWYGERT                  KS         90014783354
44338992361967   DEANNA        DAVE                     CA         90013849923
44341353255939   ANGIE         MORENO                   CA         90014803532
44343423361963   ALBERTO       RUIZ                     CA         90014864233
44344682755939   KORINA        SIERRA                   CA         90014846827
44346319691569   EDUARDO       HERNANDEZ                TX         90012313196
44346962885697   FRANCISCO     RUIZ                     NJ         85016159628
44348113291351   JAMES         BOWSER                   KS         90010971132
44348373791523   ANABEL        ZAVALA                   TX         90011253737
44351967972443   JOSEPH        LESZCZYNSKI              PA         90014419679
44353848761967   MARGARITA     RAMIREZ                  CA         46044798487
44354452751334   HENRY         FOSTER                   OH         90015114527
44354471372443   ROSE          VISNOSKY                 PA         90000914713
44354614541258   JOHN          FREIBERGER               PA         51078186145
44354756471934   MAKAYLA       EDWAKDS                  CO         90009867564
44355665671934   CHARLES       COINE                    CO         90007506656
44356546271934   JOSEPH        MICHAEL                  CO         90010535462
44356627491351   CESAR         ALEMAN-BOLIVAR           KS         90004066274
44356967151334   MELISSA       SHERMAN                  OH         90010219671
44357558855992   SUSAN         DAMIANI                  CA         48086085588
44357758551328   MELINDA       GABBARD                  OH         90006337585
44357762872443   LINDSEY       WEIMER                   PA         90014857628
44358758455939   JANET         AHUMADA                  CA         49036007584
44359779547954   BRIDGET       PLANCARTE                AR         90004717795
44361622272443   FELICITY      BURGESS                  PA         90004986222
44361843571999   DANIEL        BISHOP                   CO         38039838435
44362696855939   NIKITA        TAYLOR                   CA         90013096968
44363525361963   RICARDO       LAZOS                    CA         46010405253
44363568471934   APRIL         ADAMS                    CO         90011685684
44365559491351   HELEODORO     ESTRADA                  KS         90012715594
44365915672445   BETTY JO      SWOPE                    PA         51017379156
44369255447954   JUDIT         SUAREZ                   AR         25067622554
44369256691328   ERIC          LARA                     KS         90014182566
44372117141294   THERESA       HINES                    PA         51078811171
44375593291873   BENITA        BECTON                   OK         21013475932
44376392451334   JESSICA       ADAMS                    OH         90014663924
44376978591351   JOSHUA        BASHAM                   KS         90004399785
44378617791569   DARRON        THOMAS                   TX         90003606177
44378647521622   ANNESE        WATSON                   OH         90015406475
44378745271924   IAN           WILSON                   CO         90002267452
44378984591351   KATHY         WICKOREN                 KS         90009559845
44379959751382   JESSICA       EDISON                   OH         66080069597
44381388261963   YANET         ROQUE                    CA         90014163882
44382914351334   CASEY         MINTON                   OH         90001889143
44383523391523   EDITH         LOPEZ                    NM         75055585233
44383722951334   ABY           GONZALEZ                 OH         66006587229
44384659451334   AMY           STAMPER                  OH         66026636594
44384853291351   LASHI         BROOKS                   KS         90012298532
44387557691524   ESMERALDA     ORNELAS                  TX         90013725576
44388486591569   ALVARO        PANTOJA                  TX         90006664865
44389898891569   BRYANT        OKELLY                   TX         75003028988
44392161451555   JESUS         SANDOVAL                 IA         90013561614
44392375271934   TONY          TIDWELL                  CO         32027203752
44394535791873   PAUL          DOWNING                  OK         21004715357
44395521651382   ANGELA        JONES                    OH         66010305216
44395961571999   ERIC          AYUNGUA                  CO         90005459615
44396497154195   SHARI         FUNKHOUSER               OR         90013954971
44396757591351   SANDRA        MEJIA                    KS         90006847575
44396923971934   CHRISTOPHER   OSWALD                   CO         90007319239
44397493355939   JACOB         RAMIREZ                  CA         90000484933
44397524191569   JAVI          MORLES                   TX         90000865241
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44413725677366   BIANCA       MILLER                    IL         90014357256
44414314491926   ADRIANNE     BROWN                     NC         90007603144
44414494191864   JUSTIN       WENNINGER                 OK         90011014941
44414599271968   MICHELLE     FREEMAN                   CO         90004705992
44417141741454   CHRISTA      HOOVER                    WI         90014561417
44417845985834   BELINDA      ROSS                      CA         90009868459
44419197455939   CHRISTIAN    CHANEY                    CA         90015091974
44419219661963   JENNIFER     BUSTOS                    CA         90012932196
44421253451361   JUAN         FLORS                     OH         90010232534
44422432361963   MOSES        REYES                     CA         90014244323
44422856271992   PATRICIA     RUDOLPH                   CO         38068418562
44423237271934   ROBERT       PROCTOR                   CO         90003252372
44424819581625   ACE          WHEELER                   MO         29014298195
44428774755939   MARIA        MACIAS                    CA         49082817747
44429416651334   PATRICIA     LAWRENCE                  OH         90011544166
44434641271934   JOSEPH       VERGA                     CO         90011686412
44434721251334   JENNIFER     JOHNSON                   OH         90007837212
44436478191873   STANFORD     HURT                      OK         21039844781
44438755191569   ANA ELISA    GUTIERREZ                 TX         75098817551
44439359355939   RIGOBERTO    SANCHEZ                   CA         90014803593
44439545477366   CHARLOTTE    SUTTON                    IL         90013555454
44439747491523   MARIA        RODRIGUEZ                 TX         75017357474
44443424151382   ASHLEY       MCCLUNG                   OH         66059054241
44443435761967   LOURDES      HONORATO                  CA         90008634357
44443621591569   LAURA        LOZANO                    TX         75000666215
44443718991873   STEPHANIE    MOHL                      OK         90013197189
44444582471934   ESTEFANITA   ALDAVA                    CO         90010535824
44445413351334   BRANDY       FLEMING-BROOKS            OH         90001984133
44445935661967   AARON        PRIOR                     CA         90011809356
44448556191569   CLAUDIA      ESPARZA                   TX         75091815561
44449211855939   MICAELA      LUNA                      CA         90002992118
44451718591351   JERRET       FRANKLIN                  MO         90013217185
44452891191873   MIGUEL       ZUNIGAJR                  OK         90014078911
44454435272443   BRENT        NICOLO                    PA         51074444352
44454741961963   CECILIA      MENDOZA                   CA         46035237419
44459323691873   DARLA        RODRIGUEZ                 OK         21030423236
44462828691857   AMBER        COMPTON                   OK         90005018286
44463586561925   MARRYANN     VIZINA                    CA         90011445865
44464524457148   JESUS        RIVERA                    VA         81017475244
44464573571999   JESUS        LOPEZ                     CO         90007195735
44465968891569   HECTOR       JURADO                    TX         90013419688
44469911651382   TIMOTHY      WATSON                    OH         66075139116
44471274472443   HELEN        BULLOCK                   PA         51095982744
44471941955939   CHARLES      ATKINS                    CA         90013989419
44472154261963   BERNY        ROSALES                   CA         90012941542
44473999761967   EDWARD       STARLARD                  CA         46003659997
44474278772443   HENRY        SWOPE                     PA         90013932787
44474692171934   MARLON       PHILLIPS                  CO         90011686921
44475792261967   NELSON       CRUZ                      CA         46038527922
44476823491873   REBECCA      SMITH                     OK         21010468234
44476874591569   ROSARIO      LUJAN                     TX         90010128745
44477752351334   LAURENCE     RIVERS                    OH         66047437523
44483132751382   ED           OTEY                      OH         66086411327
44484685471999   CHEREE       GUNTER                    CO         38055736854
44485131251334   REGINALD     WHIPPLE                   OH         90012861312
44486594286545   KAREN        KYLE                      TN         90015065942
44488828291351   DANIEL       RINARD                    KS         90013248282
44491549972443   MICHAEL      CRAYTON                   PA         51001885499
44494393855939   RODOLFO      RAIGOZA                   CA         90015133938
44496928972443   TERRI        MOLINARO                  PA         51037389289
44497862871934   DULCE        GALICIA                   CO         90008798628
44511679291873   TED          BROWN                     OK         21077766792
44512152791351   ERIKA        RAMIRES TIBURCIO          KS         29026171527
44512312961965   TIM          FRITZ                     CA         46085573129
44513187272443   CLARENCE     NICHOLSON                 PA         51048001872
44515245561955   OMAR         ALAHERI                   CA         90008602455
44518473351382   UUALDO       RAMIREZ                   OH         66049304733
44518479351334   DANYELLE     JACKSON                   OH         66074214793
44519531891873   MICHAEL      POND                      OK         90007905318
44522194191569   BRANDON      MONTANO                   TX         90004791941
44522467491523   ANTHONY      HARVEY                    TX         90011254674
44523163691569   RAMONA       PEREZ                     TX         90007361636
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44523967455939   GLENDA           VASQUEZ               CA         90001299674
44524169891351   CLAUDIA          GALLEGOS              KS         90013651698
44524777591569   LIDA SUE         JUAREZ                TX         75087577775
44525575972443   SAMUEL           HERNANDEZ             PA         90012705759
44525891161944   AUDREY           DAZZO-REYES           CA         90010178911
44526467491523   ANTHONY          HARVEY                TX         90011254674
44528156172443   STEVEN           SANDERS               PA         51055161561
44529369372443   VIRGINIA         DENNIS                PA         90013433693
44529757151383   KEISHA           WASHINGTON            OH         66096487571
44529778891523   NUBE             BARAZA                TX         90013217788
44529973751334   THOMAS           RICKETTA              OH         90010859737
44532892755939   SELINA           PEREZ                 CA         90013608927
44533363247954   BLANCA ESTHELA   GARCIA                AR         90002543632
44538211461967   TRINITY          COLES                 CA         90011812114
44539171571934   RICARDO          GUTIERREZ             CO         90011691715
44541896361945   PRIMO            LOTTA                 CA         90008618963
44543611557148   NAIM             MAHBUBI               VA         81092976115
44545762891873   BRADLEY          RICHARDS              OK         90010347628
44545787291569   BRIANDA          BAILON                TX         75071897872
44546174157126   NERE             FRANCO                VA         90002941741
44546861751383   BARRY            SCHUEBEL              OH         90003378617
44547762591328   ALEXIS           RAYFORD               MO         90011797625
44547922191873   OSPELI           LOPEZ                 OK         21007059221
44547954751383   EVA              LOPEZ                 OH         66056669547
44548364771644   NICOLE           CORRAINE              NY         90005933647
44548744661994   DANNIELLE        DE LARA               CA         90002277446
44548826872443   DONALD           PHIFER                PA         51009558268
44549293161963   MINERVA          MUNOZ                 CA         90010532931
44549861751383   BARRY            SCHUEBEL              OH         90003378617
44549881172443   RAY              WHITE                 PA         51013338811
44551462191523   BRENDA           CRUZ                  NM         90009604621
44551964351334   BRAD             KIHNIKE               OH         66094459643
44551964751382   CHARLES          PAGAN                 OH         90011369647
44553775655939   JUAN             GUTIERREZ             CA         49038437756
44554439447954   LILIA            ALMA                  AR         25064844394
44554999791523   JOEL             GARCIA                TX         90006969997
44555338771934   JOHN             SMITH                 CO         90011733387
44556394451334   GUARDADO         MENA                  OH         90014473944
44558619691569   JENNIE           GLOVER                TX         90008996196
44561864661963   CARLA            VALENCIA PALOMARES    CA         90013438646
44563491861967   PATRICIA         HALSELL               CA         46078454918
44564319191873   ERIC             DON                   OK         90012703191
44565786451334   BRITTANY         ROYER                 OH         90015317864
44567145371934   ANGELIQUE        CABRERA               CO         90007391453
44567265991523   GLORIA           CUETO                 TX         75074082659
44568317381682   VICTORIA         WINGATE               MO         90001033173
44568641251382   PAULA            DAVIS                 OH         66085376412
44568747661963   STACY            PRIOR                 CA         46098477476
44572446755939   DRYDEN           MANNON                CA         49033584467
44573564651334   MELANIE          WILLIAMS              OH         66078325646
44573976591873   MICHAEL          DUGAN                 OK         90014079765
44574366571999   JORDAN           MORRIS                CO         90011603665
44575864491527   CRYSTAL          CONTRERAS             TX         90008568644
44576815355939   FERNANDO         VARELA                CA         90013508153
44576976591873   MICHAEL          DUGAN                 OK         90014079765
44578432491873   BYRON            TRULOVE               OK         90000844324
44578885671934   SHERYL           KOSZALKA              CO         32067948856
44579636671934   FRANCES          GALE                  CO         32011756366
44581434972443   DESHAEN          DOUGLAS               PA         90012634349
44583154355939   LAURA            SANZ                  CA         90007441543
44585693691351   EDWARDO          MOTA                  KS         90012376936
44586345461967   JOSE             VALDERAMA             CA         90011813454
44586359171999   SHARON           GARCIA                CO         38098043591
44586552384386   DEMETRIA         JENKINS               SC         90009405523
44587222691351   DERIUS           HENDRICKS             MO         90014762226
44588116791351   ZOEUNDRA         MCCAINE               KS         90015131167
44588337861927   JOSE             MAGANA                CA         46002713378
44588351191569   ANGELINA         ANZURES               TX         90009663511
44591589772443   AMY              CARRIGAN              PA         51061945897
44592127361963   OMAR             SPRINGFIELD           CA         90013541273
44594869791569   ERNESTO          LOPEZ                 TX         90015218697
44595678691351   QUINIQUE         IVORY                 KS         90014846786
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44595949691569   DAVID        MORALES                   TX         75001849496
44598252551334   ALICE        EDMONDS                   OH         90014482525
44598721661967   ERNESTO      SALAZAR                   CA         90011817216
44613612491351   MARIA        HERNANDEZ                 KS         90013556124
44613657791569   JORGE        HERNANDEZ                 TX         90007896577
44614298551334   CELSO        HERNANDEZ                 OH         90012342985
44614764591873   HELEN        ESPINOSA                  OK         21069217645
44616155225637   PHILLIP      SHIRLEY                   AL         90014921552
44618863772443   KEITH        GANTNER                   PA         90007768637
44618984351334   PAYGO        IVR ACTIVATION            OH         90012749843
44619312872443   SHATIKA      FORD                      PA         90013073128
44622479755939   MARIA        ROCHA                     CA         90009514797
44622974947954   BRETT        ALLEN                     AR         25003069749
44623163551382   BRYAN        HILSON                    OH         66094911635
44623455691569   HECTOR       MURILLO                   TX         90012554556
44624463161953   JOSE         MACIAS                    CA         90001464631
44624634647954   FRANKIE      RODRIGUEZ                 AR         90010146346
44625268771934   SHARYL       BOSSEN                    CO         90007372687
44626812361458   JUAREZ       LOPEZ                     OH         90014398123
44629732771999   BETTY        LOPEZ                     CO         38030317327
44634164271999   CARLOS       ABEYTIA                   CO         38059581642
44635289847954   TIMOTHY      DO                        AR         90010642898
44639161961963   ERIKA        GONZALEZ                  CA         46006081619
44639692691873   JAMES        CARTER                    OK         90012776926
44641635851382   AARON        ANDRADE                   OH         66011346358
44642812272443   BRENDA       KONDRLA                   PA         90013928122
44644459551383   VALINDA      HALLUMS                   OH         66001574595
44645755655939   BERNADETTE   RODRIGUEZ                 CA         90003697556
44646764571999   LAJUNE       WHEELER                   CO         38018897645
44648438191873   JOHN         GRUENWALD                 OK         21064804381
44648742471999   TOMIE        RUSSOM                    CO         90011747424
44651897491362   LEISLIET     MARQUEZ-VICENTE           KS         90013748974
44652423347954   JUDITH       BAARS                     AR         25011734233
44652554861963   NATALIE      GUARDADO                  CA         46065385548
44652996972443   DANIELLE     CLEMENTS                  PA         51063099969
44653179551354   ARCHIE       MOBLEY                    OH         90005091795
44653352991873   MYNER        PEREZ                     OK         21019903529
44656137191569   RUTH         PORTILLO                  NM         75016711371
44657384191873   SHELLY       MCCLAIN                   OK         90005343841
44658992191351   ALANA        DIAZ                      KS         90013519921
44659438155939   THOMAS       JARAMILLO                 CA         49016784381
44662874891351   ROHNDA       EPSON                     KS         90000398748
44663182761963   TIMOTHY      BEDFORD                   CA         90013001827
44665996972443   DANIELLE     CLEMENTS                  PA         51063099969
44669677755939   SONIA        MONTANTO                  CA         90005926777
44671122591523   MARIA        RENTERIA                  TX         75074551225
44671828261963   CHRIS        BREWER                    CA         90012838282
44675892151326   ALICIA       SIERRA                    OH         90001768921
44675983451382   LATRINA      HIGHTOWER                 OH         66098019834
44676976655939   PATRICK      MCGINNIS                  CA         49097799766
44677636591941   JAHWID       AHMADI                    NC         17068436365
44677645861963   HERBERT      ASHLEY                    CA         90009196458
44678698455939   NELSIN       AGUIRRE                   CA         90012276984
44678872861967   DIANA        GARCIA                    CA         90006578728
44679269391569   LUZ          CARO                      TX         90011332693
44682233261963   CALHOUN      ERICA                     CA         90009652332
44684863461967   MALYSSA      TOPETE                    CA         46045468634
44685436381656   TAMARA       THOMPSON                  MO         29048534363
44688589791547   DIANNA       ALANIZ                    TX         90009915897
44688722691351   NEYDY        LICET                     KS         90014727226
44688891955939   VALERIE      PARKER                    CA         49010418919
44691382151382   DANIELLE     SAUJON                    OH         90011713821
44693837191873   TODD         BRANUM                    OK         21014948371
44696454971921   GINA         MALDONADO                 CO         90012914549
44698561855939   JORDON       BREWER                    CA         90014825618
44699853955939   EVONIVALDO   RODRIGUEZ                 CA         49050788539
44711476491873   DIEGO        OCHOA                     OK         90003694764
44711786655939   SAUL         PEREZ                     CA         49056907866
44717446671999   RUBEN        MARTINEZ                  CO         38056114466
44719465691351   TRENA        SMITH                     KS         29027384656
44723537451334   DERRICK      SANDERS                   OH         66048955374
44723678691351   QUINIQUE     IVORY                     KS         90014846786
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44725399451383   IRENE         CHAPARRO                 OH         66015773994
44729193457126   DAWN          TOWNES                   VA         90012641934
44731222171992   MICHAEL       CORONADO                 CO         90012602221
44732937891569   MARIANO       MALAGON                  TX         90014149378
44733571351334   DAVID         SIMPSON                  OH         90014085713
44734621991547   LUDOVICO      GRANILLO                 TX         75023826219
44735671191873   JUSTLEAN      SMITH                    OK         90009836711
44736698451382   JAMES         CARTER                   OH         66006626984
44737126757121   DAVID         PATTERSON                DC         90001761267
44737285391873   JACKIE        CAFFEY                   OK         21096652853
44741279571999   EFRIN         ROMERO                   CO         90005642795
44742294355939   YOLANDA       CARLOS                   CA         49032532943
44742994271999   RUDY          VAZQUEZ                  CO         38005819942
44744182561967   MICHAEL       TOSNEY                   CA         90011821825
44745399655939   ANITA         PEREZ                    CA         90008763996
44745661291351   CHRIS         KNIGHT                   KS         90013296612
44748797991523   BRIZA         HERNANDEZ                TX         75055677979
44752696851334   CECIL         YOUNG                    OH         66031406968
44754824671934   JENNA         FIGUEROA                 CO         32035008246
44754967391569   MARTHA        GUEVARA                  TX         75062389673
44758157161963   CAROL         HIAN                     CA         46081001571
44759547651334   NAKYA         CURY                     OH         90005185476
44761187861963   MARIA         BAUTISTA                 CA         46063521878
44762662571934   ANDREW        JOSEPH                   CO         32068226625
44762958791873   MAXINE        SMITH                    OK         90002369587
44764883491873   DESIREE       BROOKLN                  OK         90012398834
44766454991873   ERIC          PEREZ                    OK         90010214549
44768942891351   NORMAN        DAMM                     KS         90013899428
44773822371934   JONAE         HESLIP                   CO         90007458223
44773959651334   INFINITY      BEASLEY                  OH         90013689596
44774585891351   ISRAEL        RUIZ                     KS         90009205858
44775514651359   CARRIE        SOLEM                    OH         90004805146
44775581772443   BRENDA        TEMPLETON                PA         90014965817
44776277991523   JAIME         REYES                    TX         90004172779
44776296861967   SERGIO        MARTINEZ                 CA         90011822968
44776683691351   ARMANDO       GALVAN                   KS         90011626836
44777474755939   HAVEN         ALBRECHT                 CA         49012004747
44778716458528   EDIESER       MARTINEZ                 NY         90015487164
44778992591351   ALBERT        BOETTCHER                KS         29098219925
44779192151383   PEGGY         WELDON                   OH         66096791921
44779319261945   FERNANDO      TELLEZ                   CA         90008043192
44779941991569   MIGUEL        GALLEGOS                 TX         90011469419
44781363372443   ELIZABETH     DANKO                    PA         90014153633
44781998755939   ANGELICA      NOCHOLS                  CA         90012769987
44784861271934   LAURA         MONTANO                  CO         32079588612
44786189891873   LINN          REE                      OK         21042461898
44787269761963   BLANCA        GUTIERREZ                CA         90004962697
44789358555939   GABBY         MOLINA                   CA         49010523585
44789825672443   MARQUES       WILLIAMS                 PA         90006328256
44793862361967   SARAH         HILL                     CA         90011738623
44794978851354   JOSH          THATCHER                 OH         66016219788
44795484991881   KACIE         FRANCIS                  OK         21089384849
44796861255939   CHRISTINA     CHEDRICK                 CA         90011268612
44811236685825   JILL          CHENEY                   CA         90009592366
44811618291569   JOSEPH        FORBES                   TX         90012986182
44813694191873   JAY           YOUNG                    OK         90010496941
44817371151334   MONTEZ        WARE                     OH         90011863711
44817411191873   JASON         JOHNSON                  OK         90014144111
44818422191569   LAURA         KIDWILER                 TX         75011854221
44818481951383   NICOLE        OLVERSON                 OH         90012054819
44818525361963   JANUS         HIGHSMITH                CA         90013675253
44818835577522   NORMAN        PAULEY                   NV         90007968355
44821131371934   VALDOMERO     ESTEBAN                  CO         90011701313
44821723547954   JUAN CARLOS   SILVA                    AR         90010147235
44821842855939   MICHAEL       GARCIA SR                CA         49006158428
44822584791873   LISA          MOSS                     OK         90010955847
44822827655939   MARIA         RODRIGUEZ                CA         90008068276
44824452161963   ISRAEL        RAMIREZ                  CA         46059134521
44824516372443   JANIS         MCGEE                    PA         90015015163
44825276261963   JERICCA       THORPE                   CA         90004102762
44826155871934   KERI          VINYARD                  CO         90011701558
44827247591523   LUIS          CARLOS GARCIA            TX         90011582475
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44829326158528   RYAN         PYATT                     NY         90015503261
44831155772443   STEPHEN      MARTIN                    PA         51074201557
44833122672443   ASHLEY       JOHNSON                   PA         90014611226
44835827591569   VILMA        MACIAS                    TX         90012808275
44837192172443   JENNIFER     BUTLER                    PA         90014781921
44837297971934   JODY         VOLK                      CO         32005082979
44838419191569   VELIA        CHAVEZ                    TX         90014854191
44838839855939   JUYULISSA    GOMEZ                     CA         90011868398
44841554161963   JOSE         GUERECA                   CA         90012955541
44845459972443   ROY          BLACK                     PA         51096034599
44846746691873   SONIA        HERNANDEZ                 OK         90009457466
44847744461967   ARTEMIO      BASAVE-SALGADO            CA         90011827444
44849723791857   DEIDRA       MILLS                     OK         90009837237
44849759572443   DANIELLE     BOONE                     PA         90012927595
44851182755939   MACIAS       VALENTINA                 CA         90011951827
44852817891873   TOMAS        BECERRA                   OK         90014088178
44853138384321   CHAD         WESSINGER                 SC         90013491383
44855199171934   SARAH        VENZOR                    CO         90012301991
44856118191569   MANUELA      MORENO                    TX         90014071181
44857855461999   ROB          IRVING                    CA         46025828554
44858167391569   REYES        BERNANDIDO MIGUEL         TX         90007711673
44858331872443   TIFFANY      SAWYERS                   PA         90014613318
44861813791569   YVONNE       ZIEGLER                   TX         75023968137
44862298551382   GERONTA      TAUL                      OH         90011152985
44862638391523   MARIBEL A    RUEDA                     TX         75055706383
44863189891873   LINN         REE                       OK         21042461898
44864395672443   DYQUAN       SCOTT                     PA         90013963956
44864754991351   IVAN         MARTINEZ                  KS         90014397549
44865221184321   KRISTOPHER   BROWDER                   SC         90011782211
44869859461967   DEANNA       HAAS                      CA         90002458594
44872438172443   SAMANTHA     VAN SICKLE                PA         90013204381
44874752991982   DEBORAH      WILSON                    NC         90008177529
44874827591569   VILMA        MACIAS                    TX         90012808275
44876398791569   ROGELIO      ARREOLA                   TX         75021303987
44877329851334   JUNIOR       PASTORIZA                 OH         90014623298
44878867355939   SABRINA      SERVANTES                 CA         90001278673
44878917961999   MIREYA       SEAMAN                    CA         90013299179
44879869351334   RICHARD      BALLINGER                 KY         90012238693
44881431132586   ANTONIO      HERRERA                   TX         90015344311
44881444672443   AMANDA       HAIR                      PA         90013364446
44883299361967   JAY          JARJOSA                   CA         90013132993
44883792758528   BOBBI        JEFFRIS                   NY         90015357927
44884934561963   CARMEN       VELAZCO                   CA         90000659345
44885922955939   KAYLA        HICKS                     CA         90010249229
44886692961963   DANIEL       GARCIA                    CA         90010546929
44889281751334   BOBBIE       SMITH                     OH         66024832817
44889476272443   SHEA         MCLELLAN                  PA         90014524762
44891615591892   FRANKLIN     WHITE                     OK         90012116155
44896214161963   ERIC         GWALTNEY                  CA         46039392141
44897724161963   NOHELY       SANDOVAL                  CA         90010547241
44899912455939   NANCY        CUEVAS                    CA         90011269124
44912855591569   LIZETH       RODRIGUEZ                 TX         90012448555
44913171761967   DESIREE      VALDEZ                    CA         90008241717
44913696191351   ERICA        MORALES                   KS         90015256961
44914496881669   CHANELLE     GRIDDINE                  KS         90012334968
44914933272443   DAVID        BLACK                     PA         90013929332
44917287872443   JEFFERY      NICHOLSON                 PA         90013582878
44918263351382   SAMANTHA     KIRBY                     OH         66058432633
44918437791569   SIGIFREDO    DOMINGUEZ                 TX         90015204377
44918936255939   LETANYA      GAMEZ                     CA         90011269362
44919446171934   ARNOLDO      HERNANDEZ                 CO         32076784461
44923214891353   CINDI        XIONG                     KS         90012382148
44923519233655   PAYGO        IVR ACTIVATION            NC         90014225192
44924659471934   CHAZEL       CARTER                    CO         90007476594
44925427591569   MELCHOR      JAUREGUI                  TX         90013814275
44926818571934   SHARMAINE    MIRANDA                   CO         32000118185
44927422991351   RHIANNON     CARAWAY                   KS         29068424229
44927659471934   CHAZEL       CARTER                    CO         90007476594
44927887372443   TINA         LOWDERMILK                PA         90001398873
44927944455939   GABRIELA     VACA                      CA         90011269444
44928734372443   DEVON        CHAMBERS                  PA         90002827343
44933353491569   PIUS         SODIPE                    TX         75034603534
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44934419533631   KATHERN      SCOTT                     NC         90012164195
44934447161963   VICTOR       CANTERO                   CA         90014364471
44936466191351   PILLAR       BELTRAN                   KS         90011364661
44937983991351   MARIA        RODRIGUEZ                 KS         90009859839
44938978461963   FAYE         MALONE                    CA         46056009784
44939168155939   DEBORAH      WILLIAMS                  CA         90014561681
44948979761963   BRITTANY     MENDIOLA                  CA         90014619797
44951782255939   DORA         HIPOLITO                  CA         49009397822
44952869351334   RICHARD      BALLINGER                 KY         90012238693
44953654791569   JUDITH       MONTES                    TX         90012916547
44956111755939   PEDRO        TRUJILLO                  CA         90002571117
44957732191569   SOCORRO      GAMBOA                    TX         90006517321
44958183172443   CODY         SWINK                     PA         90010181831
44959723371933   ANTHONY      BEN                       CO         90007967233
44961599351383   EMMIT        SMITH                     OH         90006505993
44962482391523   JUDY         DE ANDA                   TX         90001624823
44968996731457   ED           MCNEIL                    MO         90008979967
44971334955939   RUBEN        GUEVARA                   CA         49046213349
44973196855939   CARLOS       LAZCANO                   CA         90013481968
44975918191569   DELFINA      CARRASCO                  TX         90014419181
44976769361967   DIANA        MORENO                    CA         90012617693
44976789451383   TERESSA      RISO                      OH         90006497894
44981367991569   VELMA        RODRIGUEZ                 TX         75092393679
44981769591351   KEITH        BAILEY                    KS         90014867695
44982778443576   HEIDI        TROLSON                   UT         31072477784
44983465191873   HAROLD       MENDENHALL                OK         90011204651
44983516971934   JUAN         ESPINOZA                  CO         90011385169
44983638991569   LUIS         GUZMAN                    TX         75056966389
44983648691351   VALERIE      GROGAN                    KS         90006786486
44984418991569   ALEXANDER    ESCARCEGA                 TX         75044354189
44985729772443   CHANTE       LEWIS                     PA         90014617297
44986534458528   VICTORIA     BRYANT                    NY         90015525344
44986897147954   MARINA       BOSLEY                    AR         25079378971
44986939691569   FELIPE       RODRIGUEZ                 TX         90012869396
44987729772443   CHANTE       LEWIS                     PA         90014617297
44988661591873   JEREMY       BAKER                     OK         90010956615
44989884672443   TIFFANY      BOYD                      PA         90014638846
44991562851334   COLLEEN      LILLIS                    OH         66016475628
44992661491569   PRISCILA     SAUCEDO                   TX         90004976614
44993414691569   JOSE         GARCIA                    TX         90009994146
44993488891881   LAKESHA      HUGHES                    OK         90005934888
44996553972443   ELIZABETH    WINGROVE                  PA         51051625539
44997612291569   OMAR         SANCHEZ                   TX         90003006122
44998115555939   NORA         CURIEL                    CA         49073281155
44999483861963   TINA         ESTRELLA                  CA         46009924838
45112459191988   MYRNA        WHITE                     NC         90007384591
45113954991547   ROGELIO      ROJAS                     TX         75004419549
45114482755939   ALMA         MENDIVIL                  CA         90013854827
45116867355939   KATHY        MILLER                    CA         90011148673
45118199447954   NORA         LOPEZ                     AR         90013111994
45121294391988   ANGEL        SANTOS                    NC         90015312943
45122832171999   JOHN         SANDERS                   CO         90012388321
45123984291523   TERESA       REYES                     TX         90009299842
45124763791569   ESMERALDA    MUNOZ                     TX         75009057637
45125547591938   JOSE         FERNANDEZ                 NC         90014615475
45125581251334   GLADIS       GONZALES                  OH         66034145812
45125862355939   TAMMY        ESPARZA                   CA         90012908623
45132477491527   FRED         CAMACHO                   TX         75002754774
45132641591873   ASHLEY       NAHMAHPEAH                OK         90013276415
45133141471999   HERNRY       HERRERA                   CO         38065751414
45133417491394   JAMES        MCDONALD                  KS         90014514174
45134686361963   SOCORRO C    BAUTISTA                  CA         46090406863
45135358961963   GUADALUPE    TORRES                    CA         90009903589
45136197591873   ROCHELLE     BUCKLEY                   OK         90011871975
45136585355939   ISMAEL       ZAMBARA                   CA         90013265853
45136768258528   STEPHANIE    ERVIN                     NY         90015457682
45136969947954   ANNABELLE    OLIVAREZ                  AR         25013479699
45139557361967   PETER        JURIC                     CA         90011835573
45141743391569   JESUS        MARTINEZ                  TX         90010217433
45145127661979   JOSE         GARCIA                    CA         90010761276
45146127661979   JOSE         GARCIA                    CA         90010761276
45148715971999   MONA         ORTEGA                    CO         38032417159
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45149159291988   KASEY        DILLARD                   NC         90008191592
45149869647954   JOHN         PHILLIBER                 AR         25077868696
45157838291523   DESTINY      TAPIA                     TX         90011258382
45159121691988   RACHELLE     BURTON                    NC         17036241216
45159455491569   YVONNE       OCON                      TX         90010024554
45161615891873   JEREMY       MOORE                     OK         90011466158
45162787391569   CRYSTAL      LUDDEN                    TX         90014317873
45164546191569   ROMAN        LOUCCYSHYN                TX         90012605461
45167654591873   WILLIAM      PELEP                     OK         90014156545
45168299271999   ADRIAN       MAES                      CO         38015172992
45169486191569   YOLANDA      MUNOZ                     TX         90009944861
45174746247954   HEATHER      DOE                       AR         90010907462
45175159691988   TIARRA       CLEMONS                   NC         90013191596
45175515691348   FREDERICK    HIGGINS                   KS         90014655156
45175619491523   SASHA        RODRIGUEZ                 TX         75075086194
45177774171999   TESS         HAMMONDS                  CO         38014427741
45181366271999   ZACH         MARTINEZ                  CO         90011903662
45182766291394   THANIA       SANTIAGO                  KS         90006137662
45183933491873   PATRICK      SCOTT                     OK         90011529334
45185534591569   ADRIAN       HERNANDEZ                 NM         75058155345
45186332861967   RANDALL      HOWARD                    CA         90011503328
45187326951334   JOESPH       HODGE                     OH         66033043269
45188419955927   EMME         MERCADO                   CA         49096404199
45188543691873   RAMONA       DRY                       OK         90007035436
45189319855939   DON          JONES                     CA         90001443198
45191456847954   NELLY        NOLASCO                   AR         25057964568
45192477255939   RAYMOND      RUBIO                     CA         90014894772
45193132991569   ANGEL        CHAVEZ                    TX         90015231329
45193312171999   LUCY         GARCIA                    CO         38036373121
45193616547954   CHRISTIAN    ALVERANGA                 AR         90014156165
45197224743576   ANNA         BURTON                    UT         90013982247
45211557151334   DAVID        INGRAM                    OH         90010495571
45211648261965   ROCIO        BUENROSTRO                CA         90008796482
45212431171999   MYRA         TRUJILLO                  CO         38023724311
45214464991988   NELA         BARJON                    NC         17074494649
45215291751334   JAMES        CLAY                      OH         90014462917
45217258655939   GILBERT      CRUZ                      CA         90012942586
45217743457135   NELSON       SOLARZANO                 VA         81009287434
45218736361953   JOSE         HERNANDEZ                 CA         46067467363
45219643591523   JUAN         MONTES                    TX         75056526435
45222923871999   JEFFERY      HASCH                     CO         90008839238
45223364451336   PEDRO        CASTELLANOS               OH         90011893644
45225749555955   MICHAEL      ROBESON                   CA         90013057495
45226394891873   JOSHUA       ALLEN                     OK         21018183948
45226881891569   NORMA        PIMENTEL                  TX         75021718818
45227475891873   TARA         HAVLICK                   OK         90015004758
45227759347954   SANDRA       GAMEZ                     AR         90012837593
45229868385825   DANIEL       OHALLORAN                 CA         46097518683
45231665771999   SEAN         MCCAIN                    CO         90012636657
45237484391524   LESLIE       CHAVEZ                    TX         90013234843
45241782891988   DAVID        JOHNSON                   NC         90009997828
45242132951334   RAYMOND      MURDOCK                   OH         66060611329
45242821191988   HUGO         ANGULO                    NC         90012218211
45243498855939   TOU          HER                       CA         49075694988
45245441261967   REGINALD     FOXWORTH                  CA         46030804412
45246841961963   BRIANA       MUNOS                     CA         90013048419
45249277847954   TERESA       CLARK                     AR         25091212778
45249862671999   BRETT        BOERNER                   CO         90014108626
45251267491988   UNA          BRONSON                   NC         90013742674
45251644451334   DARREL       WOODSON                   OH         90012826444
45253177961963   CAMILO       GONZALEZ                  CA         90013111779
45255435871999   RANDY        JONES                     CO         90006094358
45256499161963   JOANN        MURPHY                    CA         46026324991
45257743651361   DORETHA      HALL                      OH         90010037436
45257863661963   HERIBERTO    BRAVO                     CA         90012898636
45259343661986   MARIELENA    ALVAREZ                   CA         90011663436
45261861571999   EVY          VASQUEZ                   CO         90011848615
45261992655939   ELBA         ZUNIGA                    CA         49060509926
45262618191523   LASHAWNDRA   HARRIS                    TX         90009596181
45263117891569   ANA          VILLAREAL                 TX         90002091178
45263166491873   JIMMY        HILL                      OK         90013491664
45263363461967   IVAN         RODRIGUEZ                 CA         90011843634
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45263784191394   CHRISTIAN     STEPHENS                 KS         90007177841
45264895451334   LLUVIA        GUZMAN                   OH         90012168954
45268473261963   DOMINIQUE     SMITH                    PA         90013544732
45271156271999   LORRAINE      ALGIEN                   CO         90001891562
45272239691988   KIM           MCLILLAN                 NC         90001942396
45275897461967   RUBI          GRIEGO                   CA         90006668974
45279433461988   THALIA        ALVAREZ                  CA         90012804334
45282494161963   ROBIN         SPRINGER                 CA         90014504941
45284741271999   CINDY         VALENZUELA               CO         90012787412
45285378291873   KEN           JONES                    OK         90013653782
45287684371999   SHAUN         ROMERO                   CO         38077286843
45287965351334   BRIDGETT      BREWSTER                 OH         90010629653
45288353847954   JIMMY         HERRON                   AR         90004313538
45288484391524   LESLIE        CHAVEZ                   TX         90013234843
45291127947954   STEFANY       MORALES                  AR         90012071279
45292657761963   JAYSON        SALUS                    CA         46006406577
45293486947954   JONATHAN      ALVAREZ                  AR         90013804869
45293841155939   BERTHA        ARTEAGA                  CA         90013808411
45293886451334   MATT          STANKORB                 OH         66017948864
45294894391988   VICTOR        FINESSE                  NC         90010368943
45295155791569   SERGIO        SANTILLAN                TX         90012131557
45295858691873   KELVIN        BAIN                     OK         21028848586
45297123291394   ADELAIDA      RIOS                     KS         29047061232
45311628955939   DIEGO         RISUENO                  CA         90013066289
45311847255939   LEOBARDO      RAMOS                    CA         90014438472
45313154355939   BRITTNEY      THOMPSON                 CA         90002871543
45314877891569   ALBERTO       GERARDO                  TX         90013378778
45315691655939   ARTURO        GUZMAN                   CA         90014836916
45316552255939   JODY          SISOWANG                 CA         90014815522
45317645471999   JESUS         VALLES                   CO         90003796454
45318537871999   CHRISTOPHER   MICHAEL                  CO         90014935378
45318613991241   VICTOR        BROWN                    GA         90015396139
45318924291988   FRANCISCO     ESTRADA                  NC         90010219242
45319676491873   GERTRUDE      BROWN                    OK         90012696764
45321992791523   LUIS          ARROYO                   TX         90007089927
45323985291569   ALEJANDRO     VILLANUEVA               TX         90007979852
45324529991527   FELIPE        VEGA                     TX         90004995299
45325237154151   BRANDI        SORLING                  OR         90011892371
45328444271999   DANIEL        MILLER II                CO         38083784442
45328488955982   GABRIEL       FLORES                   CA         90001714889
45329845891394   AURORA        MOLINA                   KS         29005468458
45333715791569   ROSA          RACON                    TX         75096527157
45333842555939   TAMMY         ISAM                     CA         90011868425
45335485291873   SHAUNTAYA     MYERS                    OK         21083434852
45336525991873   LISA          SQUIRE                   OK         90010815259
45337427391882   KYRA          POOLE                    OK         90002834273
45338334691873   MONICA        BECERRA                  OK         90010813346
45339363461963   ERIKA         MARQUEZ                  CA         90013443634
45339611755939   SILVIA        TORRES                   CA         49015766117
45341264571999   MELISSA       WORMINTON                CO         38004762645
45342452491873   JEREMY        BETCE                    OK         21086374524
45342987691988   SANDRA        WILLIAMS                 NC         17044269876
45344284191988   TERRELL       WATSON                   NC         90012642841
45345516147954   DETRO         THOMKINS JR              AR         25060815161
45346119561967   YUSELI        LEON                     CA         46007491195
45346364755939   BENE          MOTTA                    CA         49035823647
45346988691873   KRISTY        MILLER                   OK         90015189886
45347431751334   CHRISTINA     LEWIS                    OH         90012234317
45348716891873   JONA          DOMINO                   OK         21004377168
45348788161963   DAVID         HERNANDEZ                CA         90011817881
45349725855939   MICHELE       GALVAN                   CA         90014717258
45353371286453   BEATRICE      SIMS                     SC         90014743712
45356122851325   JARED         FANNING                  OH         90009061228
45357564147954   JOHN          ROBINSON                 AR         25061625641
45358666361963   DONALD        JAQUEZ                   CA         90014416663
45359511754184   MICAELA       SANTIAGO LOPEZ           OR         47002035117
45359728561963   CHRISTOPHER   GILLETTE                 CA         90015287285
45361238397134   ANTHONY       MCDONALD                 OR         90011362383
45362188671999   MARTHA        RODRIGUEZ                CO         38081631886
45367435657126   LATISHA       CARTER                   VA         81063554356
45368339355939   MARIANO       BAUTISTA                 CA         90005363393
45368564851334   TAUSHA        HOLLAND                  OH         66019315648
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45371353581639   SHAUN        MOORE                     MO         90000403535
45373366271999   ZACH         MARTINEZ                  CO         90011903662
45376679671999   RACHEL       VANDEGRIFT                CO         90011126796
45376989691873   SHAWN        LINER                     OK         90008129896
45377629855939   CARMEN       RICO                      CA         49042566298
45377688947954   DEBORAH      SMITHHART                 AR         25083996889
45378255891988   TONYA Y      COLE                      NC         17008282558
45382558861963   MARTHA       KNAPP                     CA         46027295588
45383379891527   GLORIA       GUTIERREZ                 TX         75072743798
45383871491988   RON          REAMS                     NC         90012328714
45387256851334   CARLOS       NEELEY                    OH         90014792568
45389169455939   ROBERT       GARZA                     CA         90013821694
45391461391988   JEFFREY      VELET                     NC         90014864613
45391725855939   MICHELE      GALVAN                    CA         90014717258
45392418751334   PAT          MARTINI                   OH         66093514187
45393237291988   AMBER        PENICK                    NC         90008792372
45393718158528   ENRIQUE      MUNOZ                     NY         90015617181
45394917881639   ANDREA       PEARSON                   MO         29084489178
45395566891569   ISABELL      GALVEZ                    TX         75087155668
45396236391988   ERIKA        VANESSA                   NC         90010052363
45396473491569   MICHELLE     GARCIA                    TX         90004894734
45396966961963   BERENICE     INZUNZA                   CA         90012999669
45397554661963   RAY          TREJO                     CA         46052205546
45398958591988   DOMINIQUE    SINGLETARY                NC         90012359585
45411984761963   DION         JOHNSON                   CA         90013329847
45412712591988   MARY         BRANCH                    NC         90012477125
45414961191953   VIOLA        WEDEMAN                   NC         90001259611
45417282555939   JUANA        NARANJO                   CA         90012752825
45417515391523   CLAUDIA      GALARZA                   TX         75075485153
45423597461967   ALEX         MONTES                    CA         90012025974
45423862971999   DIANA        BARELA                    CO         38048138629
45426623371999   SHAWNA       VEGA                      CO         38082336233
45435125647954   ANDREW       ROLAND                    AR         90015171256
45435237161963   MARIANA      DOMINGUEZ                 CA         46076942371
45435743971999   RICHARD      VALDEZ                    CO         38015177439
45436715591988   MARIA        LOPES                     NC         90010757155
45437246771999   JULIE        FARMER                    CO         90003092467
45438833981639   SHARON       KEY                       MO         90011668339
45442479991873   BRIAN        KENSINGER                 OK         90007564799
45442967471999   DWIGHT       MOLINA                    CO         90002699674
45443443391569   DIANA        MARTINEZ                  TX         90010144433
45447398771999   JAMES D      EBERHART                  CO         38051173987
45449765947954   REBECCA      WATKINS                   AR         90001617659
45451486247954   ANA LIDIA    MIRA                      AR         90014014862
45459119151334   CRISTY       CRAIG                     OH         90014621191
45461375991523   ADRIAN       VILLALOBOS                TX         90007103759
45462788291873   ANDY         FISH                      OK         90004387882
45463667155939   EDNA         SANDOVAL                  CA         90011026671
45463766155931   ELISA        FLORES                    CA         90014057661
45466461791873   DAKNELL      LEATHERWOOD               OK         90011304617
45466626147954   CECILIA      GUTIERREZ                 AR         90007576261
45466898355939   JESUS        CASTILLO                  CA         90001578983
45467863951326   QUIANA       KING                      OH         90012758639
45468252791569   SALVADOR     MARTINEZ                  NM         75071872527
45468644991569   ERICA        GOMEZ                     TX         90013266449
45469231547954   SHANNON      RUSSOW                    AR         25070642315
45469752581639   KATHY        ROGERS                    MO         29003537525
45472287891222   SHAMARYL     BEST                      GA         90012612878
45473182191876   MOISES       LOPEZ                     OK         90012971821
45475864891873   ANA          SANCHEZ                   OK         90014158648
45478139333632   ASHLEY       HUFF                      NC         90001221393
45478771161963   OCTAVIANO    GARCIA                    CA         46064707711
45483114191569   LUZ          FELIX                     TX         75024131141
45484847391569   MARIA        ZAVALA                    TX         90013628473
45486691655939   ARTURO       GUZMAN                    CA         90014836916
45488762855939   ADAM         ALZAMZAMI                 CA         90013967628
45489967471999   DWIGHT       MOLINA                    CO         90002699674
45491486791523   ADRIAN       MARTINEZ                  TX         75009164867
45494549355939   LETICIA      FARIAS                    CA         90013815493
45494724671999   SAMUEL       RIVERA                    CO         90011417246
45511213347954   FRANSCISCO   MELKIADES                 AR         90015512133
45511565851334   TIFFANY      MASSEY                    OH         90014275658
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45512281147954   JAMIE           ABERNATHY              AR         90014472811
45513636561963   SARA            RAMIREZ                CA         46089146365
45513937361967   RONALD          WATSON                 CA         46091199373
45517192171999   JIMMY           KIEFER                 CO         38092651921
45517315191988   MARTHA          CRUZ                   NC         90011163151
45519798161967   DIONNE          TOWNSEN                CA         90003927981
45519846891569   FRANCISCO       SERRANO                TX         75052308468
45521899571999   MICHAEL         RIVERA                 CO         38011268995
45522376191988   XITLALIC        ROJAS                  NC         90014153761
45523966191988   ANGELINA        MALVAEZ                NC         17082699661
45526161151334   PAMELA          STAPLES                OH         90014291611
45528991291569   BRENDA          PASTRAN                TX         75093159912
45529563791569   HERERA          JUAN                   TX         75085065637
45531197571999   PAUL            CARABAJAL              CO         90015101975
45531555491547   SAYEG           IDAHIR                 TX         90007895554
45531748491569   CELIA           SAPIEN                 TX         75077257484
45532149677382   MAXIMINO        CASTILLO                IL        90011501496
45533854171999   EYDIE           RAMIREZ                CO         90007598541
45535968671999   SHEILA          SMITH                  CO         90004689686
45537632591569   MANUEL          SANCHEZ                TX         90013656325
45541324881639   LATASHA         WILLIAMSON             MO         29098773248
45541488991988   ANGEL           COUNCIL                NC         90012344889
45542986271999   ROBERT          MONTOYA                CO         38009299862
45543152161963   KESHA           PEARCE                 CA         46023131521
45543833491873   KYM             LAWRENCE               OK         21094278334
45544649791527   VERONICA        CASTRO                 TX         90008076497
45548521891873   JHOSELINE       LOPEZ                  OK         90010815218
45553837791873   NHIA            VANG                   OK         90013138377
45556684291988   DAMIEN          JONES                  NC         90007786842
45557236991857   MARIBEL         SANTELIZ               OK         90011032369
45558827141258   WOODROE         WILSON                 PA         51015608271
45561415961995   DWAYNE          GARCIA                 CA         90009594159
45561473261963   DOMINIQUE       SMITH                  PA         90013544732
45561925671999   JESSICA         TAFOYA                 CO         90006509256
45562759891569   ABIGAIL         REYES                  TX         90000247598
45563392171999   MILLER          RAY                    CO         90012583921
45568121151334   FELICIA         JEFFRIES               OH         90009011211
45568269771999   MICHEAL         WARK                   CO         90015192697
45568756561963   YOLANDA         MARTINEZ               CA         90010277565
45569124471999   SHARI           SISNERO                CO         90010991244
45571674191523   PRISCILLA       RAMIREZ                TX         90007106741
45571819942339   SHERRY          CLAYTON                GA         90009568199
45572892491857   TRACI           HEDRICK                OK         90009598924
45574439255939   KAYLYN          MELENDEZ               CA         90009134392
45575491571999   KIMBERLY ANNA   MARTINEZ               CO         90015334915
45576527991523   ALEXIS          DELGADO                TX         90007775279
45578119151334   CRISTY          CRAIG                  OH         90014621191
45578661758528   MICHELLE        TORRES                 NY         90015406617
45578779555939   VANESSA         CASTRO                 CA         90011477795
45578982747954   JACKELINE       MARTINEZ               AR         90003749827
45579934491569   VANESSA         DAVIS                  TX         75087139344
45581167661963   PRICILLA        VIRGEN                 CA         90014771676
45581978991569   ELIDIO          ARZOLA                 NM         75076779789
45582563791569   HERERA          JUAN                   TX         75085065637
45583491571999   KIMBERLY ANNA   MARTINEZ               CO         90015334915
45586175791527   MARIA           RAMIREZ                TX         90000491757
45586644291569   PINON           CHRISTOPHER            TX         75087026442
45587519951334   GREGORY         ANDERSON               OH         90005335199
45587545291873   CLEO            SMITH                  OK         21021575452
45588893391988   GEMILYA         WRIGHT                 NC         90010728933
45593612855939   CARMEN          LEAL                   CA         90001846128
45595935161955   ESTEFANIA       TAPIA                  CA         90010329351
45596518855939   JESSE           GARCIA                 CA         90006535188
45596542247954   AMANDA          POLLOCK                AR         25069595422
45596855791988   HERMILO         VELAZQUEZ              NC         90013228557
45597876791394   JENNIFER        GRESTY                 KS         90007098767
45598184191873   MARIA           GOMEZ                  OK         90010371841
45599718491523   JESUS           ALDERETE               TX         90007107184
45612491281639   WAHLIA          KING                   MO         29015544912
45615654691988   ERIKA           KELLY                  NC         90000536546
45616864691569   FELICIANO       HERNANDEZ              NM         75067288646
45619762591988   NICHOLE         RIVERS                 NC         17045677625
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45619764991523   FEDERICO     REYES                     TX         90007107649
45622123961963   JOSEFINA     MORENO                    CA         46075901239
45622839591873   BEATRICE     LEVELL                    OK         21073738395
45623451891873   SHAWNTAE     SLOAN                     OK         90010054518
45623856355939   PASTOR       BARRACA                   CA         90011848563
45623864691988   SONIA        AYALA                     NC         90008728646
45624373191873   RONALD       PERRY                     OK         21002973731
45625162991988   HARRY        NICKELSON                 NC         90005911629
45626111191988   MICHELLE     POWELL                    NC         90014611111
45626996171999   SALLY        BAKER                     CO         90012159961
45627611247954   RALPH        EVANS                     AR         90004986112
45628293691523   RUBIO        JOSE                      TX         90009302936
45629551591569   SANDRA       RODRIGUEZ                 TX         90008995515
45629643291988   EC           HAUT                      NC         90015016432
45629981171999   ANTANETT     SALAZAR                   CO         90011049811
45632281147954   JAMIE        ABERNATHY                 AR         90014472811
45632711761967   ROY          PETERS                    CA         46075657117
45632858691569   CYNTHIA      JIMENEZ                   TX         90011018586
45634949661967   FRED         GOMPE                     CA         46003229496
45636755855939   ROBERT       BARTON                    CA         49008537558
45637427371999   PHYLLIS      ROBINSON                  CO         38063924273
45639931191394   CULTIVATE    KANSAS CITY               KS         90014649311
45641521155939   MARTHA       GONZALEZ                  CA         90005075211
45642756955939   PAUL         HER                       CA         90006357569
45643295261967   CARMEN       SANCHEZ                   CA         46062652952
45645398861967   MIKE         RISSER                    CA         90006783988
45646529461963   KASSANDRA    KEZERIAN                  CA         90012985294
45647333457126   LORI         CARRICO                   VA         90004313334
45649863481639   TIM          DENSON                    MO         29097608634
45653311747954   WILLA        PRESSLER                  AR         25074543117
45653644891569   LAURA        VALERO                    TX         90013656448
45656388271999   MISTY        KASAN                     CO         90011103882
45656962161963   CHRISTINE    HAWKS                     CA         46030029621
45658435891988   URI          OROZCO                    NC         90014154358
45659868391569   ALMA         AGUERO                    NM         90009158683
45668859361967   JANET        MANY                      CA         90005648593
45669422171924   MARY         CARROLL                   CO         32012194221
45669424381639   JESSICA      LEUTY                     MO         29041624243
45669731661967   MONICA       ARREOLA                   CA         46078627316
45671347891873   MAGDALENA    SILVA                     OK         90009873478
45671835991569   EDGAR        BADEA                     TX         90005038359
45672858691569   CYNTHIA      JIMENEZ                   TX         90011018586
45674899571999   JULIE        EARP                      CO         38051138995
45674989155939   JESSICA      CASILLAS                  CA         90013909891
45675543551337   THOMAS       SANDERS                   OH         90007685435
45675975361967   KRISTINA     JONES                     CA         90007269753
45676373971999   CHERIE       LAFEBRE                   CO         38001413739
45676379247954   ELIZABETH    HARDY                     AR         90006583792
45677245791873   TRACY        ROYSTON                   OK         21097962457
45678278471999   TINA         GONZALES                  CO         90010992784
45681921561963   KARLA        PEREZ                     CA         46051509215
45681978891569   AMERICA      REYES                     TX         90011789788
45683833691873   TRACY        PUETT                     OK         21093178336
45685585491569   DE LA ROSA   SANDRA                    TX         90008525854
45685657655939   BLANCA       PADILLA                   CA         49030296576
45687568871999   DESIREE      GONZALES                  CO         38018075688
45688526791873   DANIEL       BAUTISTA                  OK         21019015267
45691739971999   EDGAR        MENDOZA                   CO         90014477399
45693825555939   MARCO        GONZALES                  CA         49091288255
45693888131621   MATTHEW      LOWE                      KS         22096208881
45693911651334   TIMOTHY      WATSON                    OH         66075139116
45694111884381   JACQUELINE   ROBINSON                  SC         90005821118
45712235851338   SAM          FULKAN                    KY         90003932358
45713989247954   ANGEL        MARTINEZ                  AR         90007519892
45716941691988   TERRENCE     HORNE                     NC         90012949416
45719429291873   JIM          MEDOR                     OK         21033314292
45722293561963   DENIS        CORTEZ                    CA         46095872935
45723358271999   MARK         OSTEEN                    CO         90009533582
45723882984342   CARLOTTA     MCCRAY                    SC         90014208829
45723957791873   JOSALYN      SCAIFE                    OK         90014329577
45724765991527   VERONICA     GARCIA                    TX         75086707659
45732528881639   HEATHER      NACHBAR                   MO         29036515288
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45733369171999   JANETTE      MONTOYA                   CO         90010993691
45734461551334   ERIC         LAMB                      OH         90004764615
45737122861966   ERIKA        GILBERT                   CA         90012931228
45739178591394   ROMAN        RODRIGUEZ                 KS         29055061785
45741856681639   LOUIS        WALKER                    MO         90000538566
45744619355939   STEPHANIE    CAUDILLO                  CA         90014876193
45746232347954   RONALD       RICKETTS                  AR         90012372323
45747251636148   CHRISTY      MCNARY                    TX         90014612516
45747567947954   SHAWNETTA    MARTIN                    AR         90014305679
45748886181639   SHAUN        MCGEE                     MO         29067068861
45749578891988   JULIO        DEL CID                   NC         90003115788
45752585355939   KATHY        MARQUEZ                   CA         90011005853
45753774171999   JUANITA      WHITAKER                  CO         38083177741
45754647761967   RICHARD      PLOMONDON                 CA         90003076477
45755261651334   STACEY       MCCLELLAN                 OH         90014262616
45756274361963   GEORGINA     VILLA                     CA         46085482743
45757923791569   JAIME        PERALES                   TX         90010299237
45757955961963   YOLANDA      DE ESTRADA                CA         90013619559
45757965591988   ERNESTINE    CHARLES                   NC         90008529655
45761851591988   JOSE         GARCIA                    NC         90012218515
45762257251334   LEAH         CHOMA-CANTON              OH         90014612572
45763985247954   ALESHA       ASKEW                     AR         25063879852
45764458691569   GEORGE       PEDROZA                   TX         90009454586
45765542854121   JACOB        MARINOVICH                OR         90013055428
45767628955939   SANDRA       SAMBUESO                  CA         90004936289
45768337671999   SABRINA      MAES                      CO         90014523376
45768858272423   RONALD       SEVCIK                    PA         90001258582
45771749791873   VIRGINIA     PEREZ                     OK         21063597497
45778837991569   OLGA         ROCHA                     TX         90012518379
45779828391523   LUS          MORALEZ                   TX         90009718283
45781393971999   CARL         MANZANARES                CO         90006963939
45782746255939   MARTY        ENGLISH                   CA         90013937462
45786632761963   LUZ ERANDY   SALDANA                   CA         90012226327
45788436471999   MARY         MELGARES                  CO         90012144364
45793356271999   STEVEN       WILSON                    CO         90011023562
45793925291569   MARISOL      WILLIAMS                  TX         90010299252
45794394591988   ANA          AVALOS                    NC         90006183945
45795383691523   MARIAN       PEDROZA                   TX         90012273836
45796267441241   TRENTON      JONES                     PA         90000902674
45796633471999   MARY         VELLAR                    CO         90001116334
45797952255939   ANA          MARTINEZ                  CA         49051389522
45811893391988   GEMILYA      WRIGHT                    NC         90010728933
45812439272455   LARRY L      BENNETT                   PA         90007234392
45813719833694   VERONICA     WILLIAMS                  NC         12010627198
45814449455939   YLERIBERTO   PEREZ                     CA         49005114494
45816298191523   CESAR        VARGAS-ORTIZ              TX         90007142981
45817682171999   FERNANDO     GUITERREZ                 CO         90004506821
45818576461967   BENNIE       TATE                      CA         46055565764
45818588851334   HEATHER      SALZ                      OH         66006565888
45818892291873   LUZ MARIA    MOLINA                    OK         90009688922
45819233641233   JENNIFER     ORWIG                     PA         90005502336
45819682491523   ADRIAN       BARRAZA                   TX         90005726824
45821836855939   EDITH        PENA                      CA         90004818368
45825326391569   JESSICA      ZIJLSTRA                  TX         90014933263
45826944191988   GABRIEL      CARDENAS                  NC         90011029441
45828341891857   ELISA        FRAIRE                    OK         90010793418
45828745391523   JUANA        SALAZAR                   TX         90011587453
45828863671931   YVETTE       WARFIELD                  CO         90010408636
45829328771999   TAHANI       CORDOVA                   CO         90010903287
45829969936189   JERRY        HEGGEM                    TX         90001189699
45831164291873   MAURO        IBANEZ                    OK         90014161642
45833978271999   ANNETTE      VILLEGAS                  CO         90008049782
45834365271999   LAURA        GONZALEZ                  CO         90015293652
45835135951334   LAKEITIA     ROSEMOND                  OH         90014841359
45835295991569   JORGE        MARQUEZ                   TX         90011982959
45837834891523   HECTOR       GORDILLO                  TX         90000468348
45838292347954   HERBERTO     SOTO                      AR         90012572923
45841344591873   VORCIE       HOWARD                    OK         21065863445
45841963671999   SAMANTHA     CERVANTES                 CO         38016319636
45843224558528   VERONICA     RONDAN                    NY         90015422245
45843631151336   THOMAS       STORER                    KY         90001256311
45845155851334   JOSEPH       SILER                     OH         90001091558
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45845891191988   LATORIA      WILKINS                   NC         90012188911
45846345855939   LESLIE       LANGDON                   CA         49098823458
45846641691569   AMY          QUEZADA                   TX         90013096416
45847782171999   CHRIS        WOLFE                     CO         38006197821
45848922961963   CRYSTAL      CERVANTES                 CA         90014859229
45852654961963   APRIL        AGE                       CA         46082166549
45853166455939   ALONDRA      VARGAS                    CA         90007261664
45853775347954   ANGELA       EBEERHARD                 AR         90007647753
45853948761963   MARIO        ORTIZ                     CA         90003249487
45855847447954   FERNIE       PLANCARTE                 AR         90009078474
45856114761963   SASHA        LIPPMAN                   CA         90013981147
45857319191523   RAUL         GURROLA                   TX         75072023191
45859393491569   JOSE         BORREGO                   TX         90006903934
45859478151334   RUBEN        MIZELL                    OH         66093624781
45862665884321   TODD         HAMPTON                   SC         90010826658
45863515561963   SALOME       RENTERIA                  CA         90011785155
45864125271999   GERALDINE    MACIAS                    CO         38078671252
45865459991569   PATRICIA     VIDALES                   TX         75011614599
45865464991523   MONTOYA      MARTHA                    TX         90007154649
45865959861963   ALICIA       DIXON                     CA         46014409598
45866422591873   SHELLY       WAGGONER                  OK         21068394225
45866912451334   JOSE         AGUILON-MIRANDA           OH         66025109124
45877324447954   JEREMY       MCGINNIS                  AR         90014863244
45878551147954   ANA          MORAN                     AR         90012915511
45882824291873   JAMIE        BRYANT                    OK         90013358242
45883793691354   IRMA         MARIN                     KS         90007337936
45885315771999   KRISTI       MARTINEZ                  CO         90013083157
45886673771999   CHRISTINA    ZAVALA                    CO         90013826737
45887481991873   ALAN         BRANNON                   OK         21003894819
45888864691569   ANGELA       GONZALEZ                  TX         90000248646
45889568191523   NUBIA        ARRAS                     TX         75056115681
45893523891547   BRENDA       COLLAZO                   TX         90011525238
45897749551334   ALEXIS       DELATORRE                 OH         90013997495
45912377851334   TYLER        ERKINS                    OH         90011883778
45913745547954   VERONICA     DOMINGUEZ                 AR         25095967455
45915823442331   TIMOTHY      BOUTON                    GA         90008838234
45916584691873   MONICA       NARON                     OK         90011885846
45918127947954   STEFANY      MORALES                   AR         90012071279
45918972991569   MARISELA     RAMOS                     TX         75063839729
45919537255939   SHADYNE      HENDERSON                 CA         90011485372
45919693681639   URIAS        DOLORES                   MO         90007296936
45921619755939   SOFIA        QUINTERO                  CA         49003426197
45921677647954   DINORA       DOMINGUEZ                 AR         90005406776
45921679933635   LEOPOLDO     NOYOLA                    NC         12016666799
45921732991549   FRANSICO     BALLENGER                 TX         90012667329
45921988671999   GABRIEL      DEHERRERA                 CO         90015089886
45923456255939   MARISELA     CHAVEZ                    CA         49073084562
45924692491873   PAU          NANG                      OK         90013786924
45925316991864   NINA         DIXON                     OK         90010783169
45926184191569   CHRISTINA    GALLEGOS                  TX         90015271841
45926211791873   RAFAEL       DURAN                     OK         90014162117
45926817991873   MARY         ADKINS                    OK         90014388179
45926861991328   MARTHA       CARDOZA                   KS         90010368619
45927542655939   MANUEL       LEMUS                     CA         90009345426
45931943591569   MARIO C      RAMIREZ                   TX         90010229435
45934379271999   SAMANTHA     TRUJILLO                  CO         90009723792
45934815891988   ADELINA      CABALLERO                 NC         90004448158
45935815291873   DIAMOND      FIELDS                    OK         90014648152
45936237255939   YING         YANG                      CA         90015012372
45936288491988   KACI         CLOUGH                    NC         90006792884
45937375591523   SEASSIEU     GON                       TX         90010113755
45937946591873   QUASHUNA     JONES                     OK         90011609465
45938152591988   MARIA        RAMIREZ                   NC         90001501525
45938232661963   CORINA       JAIME                     CA         90002852326
45938253851334   MEGAN        SPURLING                  OH         90010932538
45939692691873   BRIAN        HAGEDORN                  OK         90009926926
45943356271999   STEVEN       WILSON                    CO         90011023562
45944225751334   SANDRA       SAMS                      OH         90014982257
45944821591873   MICHAEL      CHILDRESS                 OK         90014388215
45946356791873   KETCY        ACEVEDO                   OK         90014943567
45946545991988   MAGDELENA    CORREA                    NC         17062275459
45948375891569   BRENT        CROCKETT                  TX         90014483758
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45949567191873   ABEL            NAJERA                 OK         21055695671
45951359961963   MARIO           VILLEGAS               CA         46045123599
45954525961963   ANTHONY         ROSE                   CA         90014795259
45955817491523   ZAIRA ANGIE     MALDONADO              TX         90011588174
45958925461967   LEWIS           JONES                  CA         90007189254
45966599591988   KEVIN           WARNER                 NC         90009735995
45967394971999   MARTIN          FRAIS                  CO         38070673949
45967943991988   ALEXANDRA       GALEAS                 NC         90007599439
45968923291523   MIREYA          REYNA                  TX         90009969232
45969351951334   CYNTHIA         WALTERS                OH         66093653519
45971434632586   ROBERT          WEIFORD                TX         90015444346
45972534581639   KIERRA          CASTON                 MO         29021045345
45972972555939   GABRIELA        BALTAZAR               CA         90008929725
45974257491873   JANETTA         WARD                   OK         90014162574
45975864571999   RACHEL          ALCON                  CO         90004258645
45978548391952   EVANGELINA      ROSALES                NC         17010625483
45978954983289   TIMOTHY         JOHNSON                TX         90012159549
45979217591527   DEBORAH         JACOBS                 TX         90007932175
45979727791569   JOSE            CAMPUZANO              TX         90014517277
45981451891873   SHAWNTAE        SLOAN                  OK         90010054518
45983542191569   MICHAEL         HINOJOSA               TX         75065765421
45985941291569   MARIA           MONTES                 TX         90010299412
45986661761963   ARACELI         JIMENEZ                CA         46067996617
45987215591988   CHOMPIS         ROJAS                  NC         90012362155
45991734491873   LOUIS           CONRADY                OK         21009817344
45991762191988   SHONGA          JONES                  NC         90007847621
45993388351334   LOUIS           PENLEY                 OH         90014723883
45993632747954   HEATHER         LONG                   AR         90007546327
45995532191523   FERNANDO        DIAZ                   TX         75056155321
45996818651334   TORY            COLEMAN                OH         90008228186
45998198351334   LUNA            PATINO                 OH         90011371983
45999534991523   JESUS           MEDINA                 TX         75063795349
45999661591569   YOLANDA         LEON                   TX         90009416615
46111397871999   CANDANCE        MONTOYA                CO         90011283978
46112397871999   CANDANCE        MONTOYA                CO         90011283978
46115346861963   EDWARD          BROWN                  CA         90013063468
46117599961963   BRYAN           MINNIGERODE            CA         90011105999
46118998691523   YVETTE          RAMIREZ                TX         75056189986
46124146891523   ADREA           ARELLANO               TX         75056191468
46129412661967   KALANI          MASON                  CA         90014324126
46129837351334   JENNIFER        RENEER                 OH         90015278373
46132514571999   JUAN            LIBERATO               CO         90015195145
46135444591523   ARTHUR          IBARRA                 TX         90010574445
46135556293724   JENNIFER        STEINER                OH         90007585562
46136126661963   STACUY          PIPPIN                 CA         90010041266
46139719947954   SANDRA          MIRA PINTO             AR         90005457199
46141648761963   MELISSA         HEFFERMAN              CA         90014956487
46143679751334   NATASHA         FRAZIER                OH         90013236797
46144925257126   JOSE FRANSICO   MARTINEZ               VA         90010509252
46147187155939   BIANCA          HELMS                  CA         90005791871
46147581573264   AIDEN           PALLOS                 NJ         90015215815
46148192655939   DANIEL          BELTRAN                CA         49010051926
46148556271999   CHERYL          VIGIL                  CO         38064935562
46149187155939   BIANCA          HELMS                  CA         90005791871
46153374771999   GARY            BROOKS                 CO         90001113747
46153383161967   MONICA          OCHOA                  CA         46067503831
46156414791523   MONSERRATH      GONZALEZ               TX         90009804147
46166445951334   CARMEN          BLACKWELL              OH         90010974459
46166619361967   GUSTAVO         HOLGUIN                CA         90012216193
46167392671999   DESTINIE        LEFEBRE                CO         90003563926
46169424251334   RAY             WILLIAMS               OH         90012824242
46176419271999   DAVID           CHAVEZ                 CO         90012014192
46176551671999   ANISHA          LUCERO                 CO         90000255516
46177723351334   RUTH            YOUNG                  OH         66038277233
46182317761945   ISRAEL          POLO                   CA         90009983177
46183466361963   VIANEY          VELASQUEZ              CA         90014654663
46183726191873   BRANDON         WHALEN                 OK         21043577261
46184627231655   MELISSA         ROBISON                KS         90013756272
46185856671999   AIOTEST1        DONOTTOUCH             CO         90015128566
46186731661547   LAKEISHA        SMITH                  TN         90015387316
46187489391523   GABRIELA        CASTELLANO             TX         75098514893
46191176455947   MARIA           URIBE                  CA         90011471764
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46192483861963   KAREN        PINEDA                    CA         46023074838
46197999971999   ED           GARZA                     CO         90012939999
46211314291873   GONZALO      CASTRO                    OK         90005863142
46213581761963   MARIANA      GOMES                     CA         90004365817
46216995584332   EILEEN       FRASIER                   SC         90008479955
46217836547954   EDUARDO      ROJAS- ACEVES             AR         25088738365
46218553471999   SILVIA       CHAVEZ                    CO         90013045534
46218864577595   SIMEAULI     SOFARA                    NV         90002118645
46219153271999   DENNIS       GILLEY                    CO         90012931532
46221485561967   MARIA        CAMPOS                    CA         90014184855
46221781991547   JAY          JAYS AUTOMOTIVE           TX         75039617819
46224666991569   JESUS        MEZA                      TX         90006536669
46225371291873   ROBERT       GOEBEL                    OK         21064503712
46226684684336   SHAVON       HEYWARD                   SC         90014066846
46236267691873   JORDAN       ASCENCIO                  OK         21009862676
46236492371999   KAYLA        GONZALES                  CO         38084064923
46237865351326   ASHLEY       LEWIS                     OH         90001038653
46238441171999   PAUL         MARQUEZ                   CO         38019564411
46239415661963   JORGE        RIVAS LIMA                CA         90012264156
46241564777595   ARACELI      CABRERA                   NV         90007595647
46243258251334   CARRISA      BENTON                    OH         90010882582
46244612561967   VIRGINIA     LOPEZ                     CA         90008806125
46244899271999   NICOLE       TORRES                    CO         38044338992
46245161877595   JESSICA      GIL                       NV         90011281618
46245568291569   STEPHANI     SOSA                      TX         90003625682
46246882961967   VERNITA      THORNTON                  CA         90014728829
46247721891523   EVELYN       CARDENAS                  TX         75005737218
46249218147954   ANAIY        HERNANDEZ                 AR         90007902181
46253111191569   ELENA        RODRIGUEZ                 TX         75087271111
46253136361963   MERRILL      HARVEY                    CA         90010021363
46259364336148   JUANITA      GARZA                     TX         90014603643
46261229591992   RODNEY       ALLEN                     NC         90005692295
46261367361967   JOSEPH       MANNINA                   CA         90006123673
46262884547954   CRYSTAL      STEFFENS                  AR         90005488845
46266485561967   MARIA        CAMPOS                    CA         90014184855
46269411991549   JOSE         GONZALEZ                  NM         90012794119
46272821991569   PIERRE       BLANCHARD                 TX         90010858219
46273612377595   MELISSA      MALAILUA                  NV         43097866123
46273619361963   ELIZABETH    WINDMILLER                CA         90014986193
46273632661963   DARREL       WHEELER                   CA         90013976326
46283361772466   CLINTON      WILLYARD                  PA         51087843617
46284248577595   RANDY        JONES                     NV         90013502485
46284723251334   KENNETH      TUCKER                    OH         66020847232
46285141291569   VERONICA     SMITH                     TX         90012921412
46287746651334   KELLIE       MCCARTER                  OH         90011477466
46287844961963   SHANNON      SHARP                     CA         46024798449
46291868671999   YESENIA      BALDERRAMA                CO         90014438686
46293365477595   FRANKYE      GONZALEZ                  NV         90010413654
46293578261967   ISAAC        JOHNSON                   CA         90000415782
46295447171999   MICHAEL      WILLIAMS                  CO         90008964471
46296447171999   MICHAEL      WILLIAMS                  CO         90008964471
46296737191992   EFRAIN       RODRIGUEZ                 NC         90005857371
46298131797134   AMY          BERNAL                    OR         90009101317
46298278661967   PHILLIP      SCHNEIDER                 CA         46055552786
46298458891523   ELIZABETH    CORRAL                    TX         90007364588
46298596391241   JAMES        WATERS                    GA         90002845963
46311779977595   JESSE LEE    CORNETT                   NV         43099117799
46312649391926   JOSE         MONTALVO                  NC         90003326493
46313932791569   ALEX         TAPIA                     TX         75072689327
46314715961967   EMILIO       MENDOZA                   CA         90013117159
46315476372499   JOSHUA       BAKER                     PA         90011074763
46315765591876   LORI         MAYNARD                   OK         90011357655
46318632993724   WILL         PFLEGER                   OH         90011456329
46323239451334   MELODIE      MARJSBURI                 OH         66076772394
46324519357122   JOSE         DIAZ VARGAS               VA         90013685193
46324573361967   JOHNY        BRUZEUS                   CA         90012295733
46324954977595   GILBERT      ACHOLA                    NV         90005299549
46325268961967   MARCOS       RADIATOR                  CA         90014162689
46326971591284   FELICIA      SCOTT                     GA         90003949715
46327322581639   DION         JACKSON                   MO         29064913225
46327997591569   SOCORRO      VALDEZ                    TX         90010909975
46328555471999   JEANINE      TURNER                    CO         90014595554
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46329312661967   BRENDA       SOTO                      CA         90012873126
46329723777595   PHIL         PRUNIER                   NV         43000027237
46329959191873   NOE          CORDOVA                   OK         21044499591
46331586591569   ORALIA       RAMOS                     TX         75054195865
46332237861967   ARNOLD       VILLACUSA                 CA         46011982378
46332689251334   MISAEL       PINASNO                   OH         90015396892
46332916171999   OSIL         LOVATOZ                   CO         90010309161
46332917671946   AMY C        RANDOLPH                  CO         90008649176
46333552461973   DILOVAN      DAWOOD                    CA         90007315524
46335783155939   ADAM         VALLADORES                CA         90005097831
46336642393769   LAQUINTA     HOWARD-SMITH              OH         90012756423
46337349691569   LUIS         MARQUEZ                   TX         90014903496
46337749391569   DELILIA      ORTIZ                     TX         90013257493
46337914291523   ALFONSO      VARGAS                    TX         75046299142
46345455951334   KIANA        CHAMPION                  OH         90008754559
46349269461967   FRANSISCO    HERNANDEZ                 CA         90014162694
46353617477595   JESSIE       BALDWIN                   NV         90000406174
46356966891873   SCOTT        SMITH                     OK         90010819668
46358248291873   BUDDY        KONS                      OK         90012802482
46359868447954   TRACIE       SEALS                     AR         90008338684
46361363171999   LYNN         BEAN                      CO         90006553631
46364486391569   KARINA       HERNANDEZ                 TX         75091734863
46366875361963   SHANA        COOK                      CA         90012898753
46367243291569   EDDIE        DIAZ                      TX         90014502432
46369896461969   PHIL         CREPEAU                   CA         46089428964
46371472171999   DIOSONE      GEONZALES                 CO         38064994721
46372926371999   THERESA      DAWSON                    CO         90012249263
46375229851334   CHERIE       HOCKL                     OH         90014442298
46375966461963   ANFIE        WESSEH                    CA         90011059664
46376176451334   ITHEA        DONKOR                    OH         66017431764
46381536691523   RYAN         LEURQUIN                  TX         90005115366
46381867891569   MICHELLE     MAYNEZ                    TX         75012378678
46382866391569   ALMA         ANDRADE                   TX         75036568663
46385445961967   JOSE         SMITH                     CA         90013974459
46391269151334   JEFFREY      AYERS                     OH         66096772691
46393911191569   JESUS        MORALES                   TX         75067949111
46395834691569   MARTHA       ARAGON                    TX         90010988346
46397246461498   JOHN         HARACHIS                  OH         90014362464
46397438771999   ANTHONY      CHAVEZ                    CO         90013234387
46398485561967   MARIA        CAMPOS                    CA         90014184855
46399898791523   LYAN         MENDOZA                   TX         90007368987
46411898791523   LYAN         MENDOZA                   TX         90007368987
46416136164195   RODNEY G     SKINNER                   IA         90014561361
46416937261963   KARINA       MORENO                    CA         90006669372
46417631351334   GARY         STAPLETON                 OH         90003496313
46418531241289   TERRI        DERKAS                    PA         90003925312
46421169391394   ROBERTO      FUENTES RODRIGUEZ         KS         29014211693
46421289747954   REBECCA      SHUPTRINE                 AR         90005912897
46421342851334   TRACY        HEINZ                     OH         90013523428
46421975491569   BERNICE      ALVAREZ                   TX         90005039754
46422686291569   ERNESTO      ROMO                      TX         75061066862
46422828461955   GERARDO      DELARIVA                  CA         90011488284
46426971291523   YOSIE        BAYASHI                   TX         90007369712
46429742691569   ART          MUELA                     TX         75004497426
46432971291523   YOSIE        BAYASHI                   TX         90007369712
46435589291569   ERNESTO      RAMIREZ                   TX         90015115892
46438551861963   JIM          ELLTON                    CA         90007425518
46439369691523   MARVIN       WILLIAMS                  TX         75003323696
46439827677595   MARIA        MEDINA                    NV         90003848276
46439845461963   ADELA        NAJERA                    CA         46028748454
46448584255982   JOSEPH       RODRIGUEZ                 CA         90006835842
46449165971999   BRANDON      SARMIENTO                 CO         90014761659
46452215277595   DUSTIN       CASTODIO                  NV         90010492152
46452828761967   JIMMY        HERNANDEZ                 CA         90010438287
46453789877595   JOSEPH       LAURIDSEN                 NV         90010027898
46454778981639   CRYSTAL      CROWLEY                   MO         90002817789
46456641355939   MIKE         AYERS                     CA         90003576413
46456981561967   VINICIO      QUINONEZ                  CA         90014949815
46457468661924   MARLENE      SANTOS                    CA         90001864686
46459191355939   KELLY        HER                       CA         90003461913
46462745261967   ANTONIO      LOPEZ                     CA         90014587452
46464161647954   YOLANDA      GOMEZ                     AR         90003101616
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46464191371999   RANDY        MATA                      CO         90012951913
46466893461967   ELIZABETH    CONTRERAS                 CA         90014728934
46467623471999   JED          CHRISTENSEN               CO         90015156234
46467894161963   REYNA        ALGANDAR                  CA         90013798941
46468836361967   MARBELLA     CHIN                      CA         46001618363
46468918291569   TANIA        SILVA                     TX         90000219182
46469994261963   ALFREDO      CORRAL                    CA         46064139942
46471853361967   ELIZABETH    AZHOCAR                   CA         46054408533
46472922461967   DEREK        DUFOUR                    CA         90011019224
46473677791873   BOBBY JR     GREEN                     OK         21068546777
46477922661967   WILLIE       HANNAH                    CA         90011019226
46478154191569   ROSARIO      FERNANDEZ                 TX         75026651541
46478314877595   TERESA       MCCOY                     NV         90004643148
46481162351334   EVELYN       THARP                     OH         90013201623
46483125461963   LIZBETH      MACHUCA                   CA         90010241254
46483599477595   JOSEPH       CONWAY                    NV         43085465994
46484114671999   ARMANDO      ALANIZ                    CO         90014381146
46484268984375   CHARLENE     CHMABERS                  SC         90013982689
46487549871999   CHARLIE      DREW                      CO         90009195498
46488285391527   IRLANDA      YON                       TX         90009332853
46488522955939   ROSA         PETRA                     CA         90006065229
46488821891569   MARIA        SOLEDAD                   TX         75069468218
46488888291523   VALERY       HERNANDEZ                 TX         90007178882
46489998361963   EDURADO      ARIZMENDI                 CA         90014399983
46491245651334   CHRISTINA    BASKERVILLE               OH         90011372456
46493394161963   HECTOR       ORTIZ                     CA         90010753941
46495272151334   HING         CHOI                      OH         90013922721
46495452861967   ANA          LOPEZ                     CA         90014334528
46496671761967   BESSIE       TURNER                    CA         90013906717
46497654891569   OSCAR        MACIAS                    TX         90009216548
46497816951334   CHARLOTTA    COOLER                    OH         90015138169
46511565591873   KELSEY       WILSON                    OK         21001105655
46512131661963   GARRY        HARDEN                    CA         90015511316
46513523743575   DAVID        SCHOFIELD                 UT         90012135237
46513711191873   CORBIN       WILSON                    OK         90011577111
46513849561963   JUDITH       WOODARD                   CA         90013418495
46517474181669   MARCUS       WATSON                    MO         29002804741
46518615858528   PAYGO        IVR ACTIVATION            NY         90011726158
46518854251348   THOMAS       BURROUGHS                 OH         90003988542
46519652955939   HNOU         LEE                       CA         90010706529
46522399571999   DUSTIN       MORTENSEN                 CO         90012963995
46522786677595   ZACHARY      VERESCHAGIN               NV         90007597866
46523898791569   SELENA       ROMERO                    TX         90010308987
46524917377595   REYNALDO     HERNANDEZ                 NV         43092059173
46525987451334   EMETT        MCFARLAND                 OH         90003449874
46527282191523   MANUEL       GUERRERO                  TX         90007372821
46527384491524   CLAUDIA      PENAFIEL                  TX         90011773844
46529179391569   ANTHONY      GALLEGOS                  TX         90014781793
46532966771999   BRIAN        HANNA                     CO         90005549667
46533232261967   MARLA        GUTIERREZ                 CA         90013552322
46535967291549   GERMAN       LOPEZ                     TX         90011009672
46538875871999   JOANN        BOYES                     CO         38053528758
46539839171999   MICHCEL      GONZALEZ                  CO         38053528391
46539951261967   HUGHES       CHARLERON                 CA         90011419512
46542685577595   KIRSTEN      OPENLANDER                NV         43095946855
46546644851334   JASON        YOUNG                     OH         66015706448
46546821891982   O TENICIA    WALL                      NC         90011518218
46548568571999   RAMON        YANEZ                     CO         90012955685
46549592371999   CHRISTY      ROMERO                    CO         90014565923
46549832881639   MANDE        ELLENBERGER               MO         29067648328
46551569291873   PAYGO        IVR ACTIVATION            OK         90006255692
46552437391547   SONIA        LEOS                      TX         90011974373
46552736861941   GUADALUPE    LICEA                     CA         90012627368
46553592871999   DONNITA      VIGIL                     CO         90012955928
46553738355939   JOHNNY       MARROQUIN                 CA         90011457383
46555564971999   LEON         TURNER                    CO         90014485649
46555691191873   GABRIELA     CASTRO                    OK         21076056911
46555966277366   BERTHA       VARGAS                    IL         90015149662
46556921777595   ALICE        WILLET                    NV         43004119217
46558276391569   JAMMIE       PEREA                     TX         75004372763
46558388855939   SARA         VILDOSOLA                 CA         90010643888
46561128561963   JOSE         ROSALES                   CA         90012891285
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46562953461963   ARMANDO       ZAVALA                   CA         90009329534
46564589191569   ERICA         TORRES                   TX         90004765891
46564661191523   CECILIA       GUEVARA                  TX         90006606611
46571732451334   SHERRY        CLOUSE                   OH         90011517324
46572255161963   MARIA         CHAVEZ                   CA         90014902551
46572875591394   JESSE         REED-SCHALL              MO         29067948755
46572897891873   ROBERT        HAMBER                   OK         21099038978
46573377877595   MELISA        SUTTON                   NV         90012103778
46578484171999   ABEL          MANZANARES               CO         90012584841
46578675977535   OSCAR         PARTIDA                  NV         90011456759
46579583761967   FERNANDO      MARTINEZ                 CA         90012735837
46579684951334   CLOVIS        NDIZEYI                  OH         90015116849
46582358451388   SARAH         BREWER                   KY         66012843584
46583361441297   LAURA         DIMUZIO                  PA         90011533614
46584141291569   VERONICA      SMITH                    TX         90012921412
46584552571999   CHRISTEAH     MONTOYA                  CO         90013405525
46586913961963   MARITZA       ROBLES                   CA         90007729139
46588446855939   KAREN         CHANSOMBAT               CA         90010624468
46589144591569   JOELDA        ESTRADA                  TX         75053511445
46591361261963   MIKE          FIEDLER                  CA         90004413612
46593168491569   GUADALUPE     GUERRA                   TX         75067061684
46593921161963   DENNIS        SHEA                     CA         46072429211
46596351677595   CATALINA      RIOS                     NV         43088863516
46596445961967   JOSE          SMITH                    CA         90013974459
46596952755939   MARISELA      CASAREZ                  CA         90012629527
46611515361967   IRMA          MORENO                   CA         46032505153
46613314661967   JASMIN        PERAZA                   CA         90014813146
46616392191569   LETICIA       ARELLANO                 TX         90006563921
46616885747954   IVAN          RODRIGUEZ                AR         25081938857
46617774771999   EDWIN         GONZALEZ                 CO         90011297747
46621771761963   RAQUEL        LOPEZ                    CA         90012637717
46622698191569   LAURA         AGUILAR                  TX         75084906981
46623457477595   DAVID         RODRIGUEZ-MONROY         NV         90009664574
46625448933625   BERENDA       SLADE                    NC         12065284489
46628157691873   LATONYA       MCWHIRT                  OK         21059421576
46628665151334   CLAY          STRASSER                 OH         66036176651
46631666361963   DONALD        JAQUEZ                   CA         90014416663
46632647871999   BYANCA        SMITH                    CO         90012966478
46635767772462   DAVID         DEMBROWSKI               PA         90001697677
46637787871999   JAMES         TRUJILLO                 CO         38040447878
46639484561963   CHRISTOPHER   GASTELUM                 CA         90006864845
46641461377595   JOSE          DOMINGUEZ-MENA           NV         90011294613
46646799851334   JAY           JOHNSON                  OH         66044087998
46647114977595   LACEE         ESCOVEDO                 NV         43046821149
46648927971999   MELANIE       MAURER                   CO         90008129279
46652739971999   JOSEPH        CORDILLO                 CO         38017747399
46655857577595   HENRIETTA     GAUDARD                  NV         43081948575
46657696851326   KISHA         PRYOR                    OH         90007216968
46657943291873   SHAWN         FLANAGAN                 OK         90006239432
46661155372466   JEREMY        REEDY                    PA         90010311553
46662673457126   JOSE          SANTOS                   VA         90008276734
46662699391873   DASAW         MONTGOMERY               OK         21032996993
46663122477595   LEONARDO      LOPEZ                    NV         90011581224
46666883371999   AMBER         ORTEGA                   CO         38054658833
46666919661963   ANGELICA      LUCAS                    CA         90010669196
46668294791394   GUELLERMINA   RIVERA                   KS         90006942947
46668295151334   CARRISSA      DAY                      OH         90011392951
46668917684353   BERNARDO      FELDER                   SC         90005409176
46669549471999   ADONIS        VIGIL                    CO         38097395494
46674135577595   SUSANA        SALINAS                  NV         90000101355
46678643491569   JASIEL        TOVAR                    TX         90012056434
46679954771999   BERNADETTE    SINTAS                   CO         90007119547
46681324647954   SANTIAGO      VASQUEZ-LOPEZ            AR         25095833246
46682457861924   STEPHEN       PADULA                   CA         90012584578
46682551191569   GRECIA        MARTINEZ                 TX         90012995511
46684964977595   MADELL        SARAH                    NV         90003769649
46684983461963   NOEMI         RUEDA                    CA         90014069834
46685172277595   DEVARIS       AREVALO ORDONEZ          NV         43039231722
46689824177595   ALEJANDRO     DURAN                    NV         90006848241
46695978491876   CHARLES       MILLS                    OK         90014799784
46697665471999   SOMINITA      VALDEZ                   CO         90015126654
46699129661963   ANA           CARRANSA                 CA         90003531296
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46711599191523   JASHUA       LUTAN                     TX         90003735991
46713464133632   JALA         HARDEN                    NC         90009134641
46718113391569   ANGELICA     CABRERA                   TX         90011951133
46719678571999   RUBY         LILE                      CO         90004106785
46723684157124   MIRTILA      BARAHONA                  VA         81096236841
46724762861963   ROSA         DOMINGUEZ                 CA         46017887628
46725956691569   ADRIAN       AGUILAR                   NM         75013679566
46727364491547   JEANETTE     GALVAN                    TX         75017583644
46729621654195   DONNA        DOOLITTLE                 OR         90000886216
46731383161963   MONICA       OCHOA                     CA         46067503831
46731846977595   JAIMIE       GUBBINI                   NV         90011298469
46732356491569   LILIANA      ANGEL                     TX         90014903564
46733386791394   MONICA       CONDE                     KS         90006033867
46733557277595   PAULA        ARZOIAN                   NV         90010315572
46734942391569   CESAR        RIOS                      TX         90014079423
46735527661963   JASON        SEXTON                    CA         90012675276
46736954861967   DOROTHY      MARTIN                    CA         46003349548
46737639181682   ROBERT       LYONS                     MO         90015426391
46737946171999   SONDRA       ANDREWS                   CO         38082999461
46744564451332   DONALD       WILSON                    OH         90006815644
46746146591569   JORGE        BRISENO                   TX         75045051465
46746261441287   COLLEEN      RAUSCHENBERG              PA         90003742614
46746351961967   JOLEONARD    BROWN                     CA         90002943519
46747215691569   LOPEZ        MYRNA                     TX         90014442156
46747491271999   MARIO        VALDEZ                    CO         90010214912
46751662877595   ENRIQUE      LOPEZ                     NV         90005016628
46751837471999   DELLA        COLLINS                   CO         38050638374
46752959561979   GREGORIO     GOMEZ                     CA         90012119595
46754185661963   MARIO        OCHOA                     CA         46012121856
46754198971999   ROBERTO      RAYA                      CO         38008341989
46754677791569   CONSTANCE    CORBETT                   TX         75093246777
46755793171999   CATHERINE    MILLER                    CO         90013057931
46755884961967   JOEL         MERAZ                     CA         90013698849
46756148471999   RONALD       PARKS                     CO         38088781484
46758632371999   ALEJANDRA    PEREZ                     CO         90011416323
46763959591873   LANASHA      CARTER                    OK         21054649595
46764627161967   FELICIA      HILLARD                   CA         46047776271
46764737471999   MALINDA      BIBBY                     CO         38050557374
46765635561967   JASON        PROTHRO                   CA         90009346355
46766135171999   JHONATHAN    RODRIGUEZ                 CO         38010041351
46769822747954   ROSA         RIOS                      AR         90014168227
46772168561963   ELISE        COLE                      CA         90007041685
46772293261963   ELISE        COLE                      CA         90014802932
46775588391569   IDALIA P     GONZALEZ SAENZ            TX         90010235883
46777782561967   ADRIANNA     ESPINOZA                  CA         90015027825
46778489691569   GUILLERMO    GOMEZ                     TX         90010224896
46782267691873   JORDAN       ASCENCIO                  OK         21009862676
46783559347954   NANCY        CAMPOS                    AR         90006085593
46784559347954   NANCY        CAMPOS                    AR         90006085593
46791789891569   ANA          PENA                      TX         90010167898
46792318655939   ALEJANDRA    ORTIZ                     CA         90007173186
46793398261963   MARIA        ALVAREZ                   CA         90004393982
46793666361967   MICHAEL      LUNA                      CA         46067016663
46793733291569   MELISSA      HUERTA                    TX         75027697332
46793887993721   ANGELA       SMITH                     OH         90002158879
46793937871999   JOSE         PACHECO                   CO         90010469378
46794986855939   JACKIE       KETTERING                 CA         90000859868
46796997471999   CHRIS        WALLACE                   CO         90008829974
46797165661988   NORMA        RODRIGUEZ                 CA         46086691656
46799814684321   HOWARD       SIMMONS                   SC         19023248146
46799972371999   JESSICA      BENSON                    CO         90008109723
46813313461967   SANFORD      NICHOLS                   CA         90005243134
46815187455939   STEVE        SHARP                     CA         90008161874
46817556991927   DESHAWNDA    WORSLEY                   NC         17067965569
46818865855939   EZEQUIEL     LOPEZ                     CA         90012668658
46822913538541   RAUL         MORENO-PICHARDO           UT         90002839135
46823243291569   EDDIE        DIAZ                      TX         90014502432
46823886661967   DIEGO        TORRES                    CA         90009018866
46825245751334   DOUGLAS      ALSIP                     OH         66077102457
46825372581639   LATONYA      EVANS                     MO         29031533725
46826617251334   ANNA         OHARA                     OH         66007316172
46826937261963   KARINA       MORENO                    CA         90006669372
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46829976177595   JESUS             ACOSTA               NV         43038749761
46831523951334   GONZALO           VILLAGAMEZ           OH         90012765239
46835578977595   DARYL             HUMPHREYS            NV         43023265789
46838776951334   CARLI             RANSICK              OH         90011277769
46842439991873   ROBIN             RICHARDSON           OK         21088804399
46845569561967   SAUSHA            PENN                 CA         90015115695
46845663391569   FERNIE            CARO                 TX         90010666633
46845868991523   MARIA             MIRANDA              TX         90007458689
46846924693734   KIM               DURAN                OH         90011749246
46847332261967   ROSA LIDIA        GONZALEZ             CA         90001733322
46847415157549   ANTONIO           JIMENEZ              NM         90008724151
46848353791394   RUBEN             ESCAMILLA            KS         90007873537
46848652993769   RANDALL           WILLIAMS             OH         64507666529
46849516155947   ALEJANDRO         PEREZ                CA         49062705161
46851578977595   DARYL             HUMPHREYS            NV         43023265789
46851847971999   NATALIA           CAZAREZ-OLVERA       CO         90014998479
46851915655939   MANUELA           VALDEZ               CA         90008589156
46852358551334   SHAYNA            BEDEL                OH         90010323585
46852456161967   LUIS              BARRAGAN             CA         90003114561
46855478651334   KEYNU             STRICKLAND           OH         90014724786
46863117171999   SHANNON           AVILA                CO         38058441171
46864755951334   IRIS              HUGHES               OH         90013617559
46865117791569   TERESA            TRINH                TX         90014241177
46865439991873   ROBIN             RICHARDSON           OK         21088804399
46866795571999   DENELDA           CORDOVA              CO         90013047955
46867835861924   WALTER            GOMEZ                CA         90008408358
46868148391569   MARTIN            CENTENO              TX         90004801483
46871261561963   HUGO              DE ALBA              CA         90012082615
46871339277595   GARY              SMITH                NV         90011583392
46872352161967   ELIZABETH         URRUTIA              CA         90013833521
46872439991873   ROBIN             RICHARDSON           OK         21088804399
46873664461967   BERNARDA          RODRIGUEZ            CA         90009916644
46874439991873   ROBIN             RICHARDSON           OK         21088804399
46875363891569   BERTHA            RIOS                 TX         75046523638
46875393661963   KEVIN             EWING                CA         90004413936
46878825671999   YOVANNE           MENDOZA              CO         90013048256
46879469591363   DORIENDA          JONES                KS         29020864695
46884813293747   MALISSA           WATKINS              OH         90001868132
46886364471999   RICHARD           MONTELONGO           CO         90012403644
46887174261963   KEN               MACARAEG             CA         90013611742
46888561661945   CHRISTIAN         VILLANUEVA           CA         90010485616
46889139271999   REBECA            BANUELOS             CO         38066341392
46891141761967   JOHNNY            PHILAVONG            CA         90012431417
46892789391569   MENDOZA           GRACIELA             TX         75089517893
46893644771999   ADAN              VALENTIN             CO         90001326447
46893884922476   ESPERANZA         VASQUEZ               IL        90013428849
46896216661963   AL                PISELLI              CA         46069172166
46899423771999   IAN               ANDERSON             CO         90013734237
46912543291569   ALEJANDRA         CHAVEZ               TX         90013705432
46913415191569   ROBERT            MAESE                TX         90009764151
46913478277595   IVAN              HERNANDEZ            NV         90011584782
46914356381639   YOLANDA           REYES                MO         90003463563
46914636791569   VIANNEY           HERNANDEZ            TX         90013926367
46915357555939   CAROLINA          TOVAR                CA         49005583575
46915363191569   BRISA             BRISENO              TX         90013303631
46916529155939   CORNELIO          VIRAMONTES           CA         49008325291
46926269191834   SERENA            ALLEN                OK         90011652691
46929833555939   LAURIE            AINSWORTH            CA         90010298335
46931897151334   ELIZABETH         COLE                 OH         66097378971
46932889661963   LISAELENA         ASTUDILLO            CA         90012898896
46938782261963   CHONA             MOSER                CA         90013627822
46939114151334   ALEASHA           MICHELLE             OH         90014681141
46945661191569   MELISSA           ALANIZ               TX         90013066611
46946167554121   ELIZABETH         SHERMAN              OR         90012501675
46946261661967   CYNTHIA           LOPEZ                CA         90000692616
46948724961963   MARIA             CHAVEZ               CA         90005997249
46951514577595   PEDRO             ALCARAZ              NV         43045815145
46952191861967   JADWIGA           WLOCZEWSKI           CA         90000721918
46952397491569   BOBBY             MORALES              TX         75047813974
46953116361967   CARLOS            HERNANDEZ            CA         90010671163
46955362471999   CHRISTOPHER       VALDEZ               CO         90013073624
46955754961963   RAYLENE ANNETTE   COBB                 CA         90013277549
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46956133161967   RAFAEL        GOMEZ                    CA         90013591331
46956999361967   NOE           GOMEZ                    CA         90011429993
46957332661963   GLENN         COUSINS                  CA         90013353326
46957868361967   NOEMI         O BRYANT                 CA         90014578683
46957968191873   TIMOTHY       JOHNSON                  OK         21026829681
46959121891569   ALFREDO       HERNANDEZ                TX         90012531218
46959746551334   THOMAS        ABNEY                    OH         66099447465
46962945191873   WILLIAM       KOZIK                    OK         90006239451
46963183761963   RAY W         EVERETT SR               CA         90011391837
46964772171999   RICHARD       TRUJILLO                 CO         38076707721
46968965161967   JESSICA       RODRIGUEZ                CA         90013329651
46969563251334   CARRIE        MOORE                    OH         90001965632
46971254791549   CHRISTOPHER   THOMAS                   TX         90004132547
46972984136148   DOMINIQUE     NUELLS                   TX         90009829841
46973367361967   PAPRICIO      APRICIO                  CA         90004043673
46973551671999   ANISHA        LUCERO                   CO         90000255516
46976199261967   SANTOS        MERCADO                  CA         46040791992
46976536991873   STEVEN        YORK                     OK         21096425369
46977632871931   JANEL         AMELLA                   CO         90011286328
46982433361963   ALMA          VALADEZ                  CA         46065484333
46982919251334   ASHLEY        GREENE                   OH         90015179192
46982973491569   GABRIEL       JASSO                    TX         90012639734
46985766361967   JEREMY        SMITH                    CA         90012207663
46988598461963   CHANTE        BROOKINS                 CA         90008775984
46991657457124   NELSON        MOLINA                   VA         90008676574
46992246291394   KELSEY        KIMBLE                   KS         90007072462
46996578281639   CRYSTAL       BEDWELL                  MO         29017625782
47112485851326   TRAVIS        SHACKELFORD              OH         90011884858
47113714861967   RONALD        WOMACK                   CA         90013627148
47115548191569   DANIEL        PUEBLA                   TX         90010385481
47117519891394   RAHA          HOSAINZADA               KS         90009545198
47117795561963   HAROLD        COLLIER                  CA         90010277955
47119659491569   VICKY         SANCHEZ                  TX         75051986594
47125996491569   SAILE         RODRIGUES                TX         90012919964
47127491191988   MECHELLE      MCKAY                    NC         90003904911
47127584651334   YUNIQUE       THOMAS                   OH         90011565846
47128597455939   GISELLE       VENEGAS                  CA         49098735974
47128823391569   MARIA         SAUCEDO                  TX         75036648233
47131992455966   BEN           MEDINA                   CA         90011499924
47137525461966   KELLY         RAMIREZ                  CA         90014735254
47137599191569   JUAN          BLANCO                   TX         90013825991
47138451555966   NICK          BABASOUCO                CA         90009284515
47138499171999   WENDY         KOCH                     CO         90012494991
47139863955939   JESSE         OSORNIO                  CA         90014868639
47141188991569   REYNALDO      VALDEZ                   TX         90011291889
47143149855966   CECILIA       ROMERO                   CA         90010961498
47144271991394   JOSE          VILLANUEVA-MENDEZ        KS         90014542719
47145743561967   CYNTIA        CARDONA                  CA         90004277435
47146914655939   GARY          GONZALEZ                 CA         49047439146
47148613761967   JUANA         BURCIAGA                 CA         90010596137
47149494191394   TERRY         LEMUS                    KS         29076314941
47151944191873   KATHRYN       FLORA                    OK         21039579441
47151965361967   KARLA         HAYES                    CA         90012949653
47153862155933   RUTH          HERRERA                  CA         90014618621
47155396761967   CORAL         SUMMERVILLE              CA         90014113967
47156597661963   LAKISHA       CANADY                   CA         90013205976
47156798355966   OLGA          CASTRO                   CA         90014617983
47159499361967   JOE           DURAN                    CA         90004264993
47163259351334   TIFFANY       FENTON                   KY         90007422593
47164723555966   CONRADO       RODRIGUEZ                CA         49056407235
47165831955966   GINA          TAYLOR                   CA         49093878319
47166417761967   ROSARIO       AVINA                    CA         90013004177
47167237284322   DONNA         DUCKWORTH                SC         90010382372
47167485951334   DOUG          LEMASTER                 OH         66094884859
47175418891394   JUAN          RAMOS                    KS         90011714188
47176177861963   ROBERT        BABAUTA                  CA         90013901778
47176435661963   TRAVIS        DURBIN                   CA         90012754356
47183553855939   REED          SIMPSON                  CA         49039805538
47184661955966   OBDULIA       ARZOLA                   CA         90005196619
47186486691394   SHAWNDRA      BANKS                    KS         90005034866
47186984951334   DERICK        WILKERSON                OH         66000019849
47187662251334   GAMEL         MUSAH                    OH         66057116622
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47188942461963   ALEX             FLORES                CA         46092549424
47189287291988   ALEXANDER        BOANOS                NC         90006432872
47189621951334   LYNN             SAUCEDA               OH         90000816219
47189892271999   JOHN             MARTINEZ              CO         90007808922
47196273255966   ADELINA          LUNA                  CA         90013622732
47196878593755   DANNY            BANTZ                 OH         64511868785
47211824771999   BERLINDA         BOBIAN                CO         90014888247
47212686451334   EARL             FOWER                 OH         66045546864
47212984155966   MOISES           SANCHEZ               CA         90014899841
47214596691982   TONNELL          LLOYD                 NC         90004415966
47214625455966   JOBANY           HERNANDEZ             CA         90013436254
47218518941265   BARBARA          GILES                 PA         90005605189
47218665791394   SHASHANA         OBERIE                KS         90012256657
47219763871996   WILLIAM          HEISING               CO         32057217638
47221359661963   GLENDOR          VEASEY                CA         46012043596
47222478671999   CRYSTAL          WETZ                  CO         38051334786
47223745347954   ANGEL            GUADARRAMA            AR         25015857453
47224222771999   JEANETTE         ENGLISH               CO         90008912227
47224458255966   TIM              SPRAGUE               CA         90000164582
47225985357126   NORMA            HERNANDEZ             VA         90005749853
47226958491945   TIFFANY          HARRIS                NC         90004389584
47229571255966   DUBLAS IRAEL     BONILLA               CA         90006895712
47229875955939   NIKKI            ROSE                  CA         49049438759
47234878247954   KATHY            BERTSCHY              AR         25009188782
47235944151334   CRISPIN          GONZALEZ              OH         90005819441
47238236561967   CLAUDIA          GARCIA                CA         46042182365
47239951357149   CINDY PATRICIA   ZELAYA                VA         90011609513
47241436871999   MONICA           CASTILLO              CO         90012734368
47242258891873   MATT             BERTWELL              OK         21040702588
47244858355997   BRIAN            CARROLL               CA         49077518583
47244922591873   LANDON           CARDWELL              OK         21074839225
47245654986443   TYQUONA          NESBITT               SC         90014566549
47246168157124   FLABIO           CADIMA CASTRO         VA         81056421681
47247986791394   KATIE            HARWICK               KS         90005629867
47249888371999   ANTHONY          VIGIL                 CO         90013858883
47251246161927   RUBEN            HOLGUIN               CA         90000302461
47252237151334   PEGGY            BAKER                 OH         66008672371
47253496391569   LARRY            TORLA                 TX         90000234963
47254634555966   ELISA            HERNANDEZ             CA         90009146345
47254857671999   AIOTEST1         DONOTTOUCH            CO         90015128576
47255857671999   AIOTEST1         DONOTTOUCH            CO         90015128576
47256858371999   AIOTEST1         DONOTTOUCH            CO         90015128583
47257456291569   MARIANA          DURAN                 TX         90013624562
47259427771999   GUILLERMO        JAIMES                CO         90010054277
47261673961963   JULIA            WOOCK                 CA         90003506739
47263865491569   ROGELIO          BARBOSA               TX         90009538654
47264242861967   ANDREIA          SOUSA                 CA         90014942428
47265867551334   YSIDRO           MEZA-RUIZ             OH         90015008675
47266196755939   SHALONDRA        CHATMON               CA         90009431967
47266539771999   KODDI            ENGLERIGE             CO         90011055397
47267922761967   MAUREEN          LANADA                CA         90013659227
47268811641241   DIANE M          KACSUTA               PA         51003628116
47269467371931   SONJA            LAMPERT               CO         32020114673
47269936957148   YUSSIF           ALHASSAN              VA         90006299369
47269998391569   ROSA             RIOS                  TX         90002009983
47272277271999   JENNIFER         JAQUES                CO         38065332772
47273585955966   RIGOBERTO        HERRERA               CA         90004105859
47276744355928   RENE             SALAS                 CA         90001637443
47277736171999   MONICA           DURAN                 CO         38006167361
47278726391569   MELISSA          MACIAS                TX         90013227263
47283699491569   RICH             PONCE                 TX         90000636994
47283875861963   JOSUE            GOROILLO              CA         46042048758
47284485761963   ERNESTO          PAYAN                 CA         90008084857
47284598155966   JOSE             BANUELOS              CA         90013405981
47285923891394   VICROR           PATRICIO              KS         90013099238
47286143655939   KATHLEEN         HANCOCK               CA         90012101436
47286287671999   MELISSA          LORENZO               CO         90011182876
47286622161963   DWAYNE           HOSEY                 CA         90009186221
47287473341229   JUDITH           YUHAS                 PA         90005044733
47289923891394   VICROR           PATRICIO              KS         90013099238
47291111971999   JENNIFER         MYERS                 CO         90006831119
47291578291873   ALICIA           HANEY                 OK         21040175782
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47291993251334   EMILIO       LOPEZ                     OH         90011839932
47295553851334   RHIANNON     BECKETT                   OH         90003965538
47295588855939   MARTHA       ALVAREZ                   CA         90008295888
47296164351334   SARAH        RAMSEY                    OH         90011521643
47296598155966   JOSE         BANUELOS                  CA         90013405981
47298178761963   TYLER        BUSBY                     CA         90012771787
47298854991394   NICOLE       HANEY                     KS         29009738549
47311838861967   RAFAEL       PLASCENCIA                CA         90013148388
47312684455966   GREGORY      RODRIGUEZ                 CA         90012316844
47313673755939   MICHELLE     HERNANDEZ                 CA         90010336737
47315485891569   EDUARDO      LOYA                      TX         90014114858
47316476361967   CLAUDIA      DIAZ                      CA         90013974763
47316731255966   ROSAURA      GARZA                     CA         90014977312
47318133857124   REBECCA      DONNELL                   VA         81056201338
47318769961963   SAMANTHA     CASARRUBIAS               CA         46023787699
47319195255966   GILBERTO     VENEGAS                   CA         90013791952
47319297455939   KAREN        RIOS                      CA         90011612974
47321212151334   LAWRENCE     GREENE                    OH         66073092121
47321369171999   AIDE         RIVERA                    CO         38077303691
47322824355939   RUDY         SILLER                    CA         49006678243
47323275555939   LISA         FARMER                    CA         49076042755
47323791384369   JAMILIA      JACKSON                   SC         90010107913
47331446771999   MELANIE      MARTINEZ                  CO         38078954467
47334833291988   INDIA        MACK                      NC         90005728332
47335627251334   MICHAEL      FORTUNA                   OH         90009216272
47336396755939   ARTHUR       FLORES                    CA         90015173967
47337437461967   MICHAEL      JACKSON                   CA         46044314374
47339272661967   BARBARA      PURNELL                   CA         46004582726
47341257761963   DORA         TORRES                    CA         46037812577
47342858371999   AIOTEST1     DONOTTOUCH                CO         90015128583
47343858361967   KRISTEN      ORONA                     CA         46084428583
47344851455939   MARIBEL      CARILLO                   CA         90003988514
47349586571999   LILLIAN      ROGERS                    CO         38089875865
47351254851334   GT           MONTANA                   OH         90008452548
47351928155966   VERO         ZAMORA                    CA         90002959281
47355182761967   LEONORILDA   CRUZ                      CA         90008611827
47356131491873   DONALD       SMITH                     OK         21062191314
47356837455939   JOHN         DOE                       CA         90015288374
47358753171999   DANIELLE     ANSELMO                   CO         90012927531
47358984191988   TERRA        MCGHEE                    NC         17013399841
47361979191873   GENARO       SALAS                     OK         90005699791
47365658755966   MARGARITA    HERRERA                   CA         90007056587
47368327761967   MELISSA      BORGNER                   CA         46019783277
47368799355939   LORENA       MOTA                      CA         90002747993
47372588851334   HEATHER      SALZ                      OH         66006565888
47374493961963   NICEFORO     ZUNIGA                    CA         46035044939
47376236491394   MARLON       BANDO                     KS         29050422364
47376889755939   DIANA        MARTINEZ                  CA         49060228897
47377262591569   NATALIE      RODRIGUEZ                 TX         75054992625
47379175851334   GENE         STATZER                   OH         66020531758
47379256561967   JOHN         MILLER WILKINS            CA         90013152565
47379568255939   JUAN JOSE    NAVARRO MARCILLAS         CA         90009035682
47379912871999   PAUL         TRUJILLO                  CO         90012849128
47382741971999   SHANE        EACKER                    CO         90014857419
47389858671999   AIOTEST1     DONOTTOUCH                CO         90015128586
47391787255939   ISABEL       DOMINGUEZ                 CA         90000367872
47393355191394   SELENA       MALDONADA                 KS         90013133551
47394242161967   SANDRA       DEL CAMPO                 CA         46017862421
47394464291394   STEVEN       WARREN                    KS         90008504642
47398619771999   GREG         CARBAJAL                  CO         90014186197
47412764955966   MARIA        JIMENEZ                   CA         90008107649
47414363951338   CHRISTINA    ROGERS                    OH         90005793639
47415641791395   LORNA        JARRETT                   KS         90014666417
47416211655966   RODOLFO      VASQUEZ                   CA         90014532116
47416576691394   JERARDO      SANTOS                    KS         90006385766
47416618161967   DARYL        MAGNUSON                  CA         90005296181
47417247861967   CINDIA       NUNEZ                     CA         90013042478
47421126971999   LUCAS        GAMMA                     CO         38084121269
47421577291873   RAE          FOLKERTS                  OK         90001785772
47423544761963   LANCE        DENESH                    CA         46008975447
47424898361967   RAYNE        R                         CA         90008628983
47426922961927   DIANA        AVILA                     CA         90009209229
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47427338271999   ASHLEY       ADRIAN                    CO         90012663382
47427339461963   GRISELDA     CAZARES                   CA         90002653394
47427844561955   MARIA        CHAVEZ                    CA         90012538445
47428427551334   CAROLYN      ANDREWS                   OH         90014724275
47428545161963   BRIAN        POWERS                    CA         90014325451
47428761571999   HERACLIO     AYUNGUA                   CO         90002497615
47429791151334   CYNTHIA      NELSON                    OH         66051357911
47431774491394   THERESA      LONG                      KS         90013027744
47432456691394   TINA         HESTAND                   KS         90006794566
47432664655966   JORGE        CHACON                    CA         90008486646
47432858671999   AIOTEST1     DONOTTOUCH                CO         90015128586
47433471561967   EDGAR        CASTRO                    CA         90009314715
47433767255966   MICHAEL      CASTANEDA                 CA         90013637672
47435652851334   DEBORAH      JONES                     OH         90004226528
47436334761967   FELIPE       ESPINDOLA                 CA         46081393347
47437318755966   JOSE         AVILA-ARGUELLO            CA         49014223187
47439176351334   LATEEFAH     RAGLAND                   OH         90008511763
47439176955939   MARIA        CRUZ                      CA         90013521769
47445712861963   MARK         STENZEL                   CA         90012687128
47445858971999   AIOTEST1     DONOTTOUCH                CO         90015128589
47448932351334   CHRISTY      CARTER                    OH         90012849323
47452883355966   CODEY        SPRADLEY                  CA         90009498833
47453277361963   DANIEL       MILLS                     CA         90014362773
47454616491569   MONTALVO     MARIA                     TX         75017386164
47454858971999   AIOTEST1     DONOTTOUCH                CO         90015128589
47455724654191   GABRIAL      ASHWORTH                  OR         90005827246
47457272455966   ANAHI        MENDOZA                   CA         90012852724
47457784951334   TOLLIVER     MICHAEL                   OH         90013767849
47458166471999   ADONIJAH     VIGIL                     CO         90006601664
47458558777535   LUCERO       ACOSTA                    NV         90012955587
47459449355966   LUV          LOPEZ                     CA         90008764493
47462281855966   SHAYLEEN     BRAND                     CA         49006202818
47465672161963   JOSE LUIS    MICHEL                    CA         90013546721
47466342591569   CECI         GONZALEZ                  TX         90011033425
47466859371999   AIOTEST1     DONOTTOUCH                CO         90015128593
47467254891569   JESSICA      BARAJAS                   TX         90012952548
47467447591959   NAJJUWAH     WALDEN                    NC         90001544475
47468874291569   MELISSA      SOLIZ                     TX         75016648742
47469717761963   MIGUEL       MARTINEZ                  CA         46028847177
47471968991569   EDUARDO      ESTRADA                   TX         75006369689
47472924161963   BLANCA       RODRIGUEZ                 CA         90013329241
47473767255966   MICHAEL      CASTANEDA                 CA         90013637672
47476447257124   SANDRA       BAUTISTA                  VA         90012604472
47478958555966   SUMMER       BROWN                     CA         90013529585
47479643791394   MICHAEL      MAROON                    KS         90010626437
47481392591394   CHARLE       DEAN                      KS         90006613925
47482554747954   DANIEL       ROGERS                    AR         25043005547
47484892255966   DAVID        MAGANA                    CA         90015298922
47485975391988   LINDA        HUNT                      NC         90003049753
47486413261967   ERIKA        TAYLOR                    CA         46017374132
47491275291873   BOBBY        ORTEGA                    OK         90005732752
47492225551359   GREGORY      PHILPOT                   OH         90000132255
47492486591945   RENATA       RODRIGUES                 NC         90010244865
47493859555939   AGUILERA     JESSICA                   CA         90008458595
47495317171921   LISA         PATE                      CO         90012373171
47495892771999   MALENY       GONZALEZ                  CO         90012948927
47499589455966   CAROL        CEJA                      CA         90009265894
47499691361963   ANA ROSA     RAMIREZ DE TAPIA          CA         90013056913
47499756671999   SAMANTHA     TRUJILLO                  CO         90012917566
47499877291394   KARA         GARROUTTE                 KS         90015258772
47512152351597   SONORA       SMITH                     IA         90014571523
47516192455966   VALENTINO    FALCON                    CA         90014991924
47518342591569   CECI         GONZALEZ                  TX         90011033425
47523996291569   JOSE         LOYA                      TX         90012139962
47524359861963   DARIO        MUNOZ                     CA         90014183598
47525712191569   JUANA        HERNANDEZ                 TX         75069007121
47527229351334   CAROLYN      RANDOLL                   OH         90013702293
47528311791569   DANIEL       HERNANDEZ                 TX         90006393117
47528741891394   VICTORIA     MARQUEZ                   KS         90015247418
47531311191873   TOMAS        PENA REYES                OK         21050943111
47533113151334   MICHAELINA   LISSAL                    OH         90000471131
47533184171954   DAVID        MARTINEZ                  CO         38071761841
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47534491291569   MARIA         MADRID                   TX         75011284912
47534729985939   AMANDA        CLEGG                    KY         90013747299
47535244391569   PATRICIA      CADENA                   TX         90006312443
47535929855939   CHRISTINE     NOETHER                  CA         49094899298
47536388455966   MARIO         TADEO                    CA         90006903884
47539997955939   SIERRA        PALMANTIEL               CA         90013299979
47541886361934   JUAN          AGUILAR RAMIREZ          CA         90010498863
47543567991959   JACQUELINE    BAKER                    NC         90013605679
47543653551334   SHARI         WINBUSH                  OH         90001336535
47543768261967   MICHAEL       TARICH                   CA         90014547682
47546859371999   AIOTEST1      DONOTTOUCH               CO         90015128593
47547215261967   STAN          BELL                     CA         90008632152
47548585791569   JANET         SCHICK                   TX         75008175857
47549327155966   GERARDO       PADILLA                  CA         90003043271
47549563291569   MARTHA        VALENZUELA               TX         90007965632
47551771751334   SHAWN         HERRON                   OH         66059707717
47553146655939   GLORIA        PEREZ                    CA         90012101466
47554487655939   BRENDELL      HURD                     CA         49012274876
47554842731482   SWEETASIA     THOMPSON                 MO         90013818427
47556528655966   DEISY         VALENCIA                 CA         90013585286
47556552691569   CLAUDIA       ALVAREZ                  TX         90005925526
47558891961963   MIGUEL        ROBLES                   CA         46064518919
47559379391569   GABRIEL       SERMENO                  NM         90000763793
47563156755966   DIANA         GARICIA                  CA         49000271567
47564312991569   G             ARTHUR                   TX         90015323129
47564783861967   ISMAEL        LOERA                    CA         90014917838
47564981251354   NEYONE        JOHNSON                  OH         90004569812
47566898151334   PAULA         UNROE                    OH         66046488981
47568313651334   GEORGE        STEVENSON                OH         66062913136
47569184855966   MARY          FUENTES                  CA         90010411848
47569324391988   LUIS          OLIVERA                  NC         17093673243
47572354171999   DAVINE        R RAMIREZ                CO         90005413541
47573947161963   IVONNE        LINOS                    CA         46003579471
47574613491394   JORGE         RAMIREZ                  KS         90012426134
47574862491569   GUIRMO        LOPEZ                    TX         75037238624
47581747855966   LONNIE RUDY   MARTINEZ                 CA         90014977478
47581882591394   BRITTANY      COLBERT                  KS         29096898825
47582157991394   IESHA         TOMLINSON                KS         90014021579
47585941155966   GONZALO       MAYA                     CA         49083149411
47587434784342   JESSICA       RUSHING                  SC         90013904347
47587624691873   JACQULINE     PARKER                   OK         21041346246
47587836861933   MIGUEL        RODRIGUEZ                CA         46061688368
47587853791342   DUSTIN        BALDWIN                  KS         29089398537
47588486251597   SANDRA        CORTEZ                   IA         90009524862
47588671261967   JOSE          TORRES                   CA         90014216712
47592126891394   SIXTA         ARCINIEGA                KS         90015081268
47595261391394   ANNE          HUNT                     KS         90014942613
47599454361963   ALFONSO       HERNANDEZ                CA         90011784543
47611635171999   ADRIANA       CHAVEZ                   CO         38061196351
47614285461963   ERNESTO       PULIDO                   CA         90015402854
47615447391547   DORA          MUNOZ                    TX         90001644473
47615953555939   ROSARIO       RODRIGUEZ                CA         49080939535
47618119161967   JUAN          RAMIREZ                  CA         46035921191
47622545655966   JESUS         HIPOLITO                 CA         90014565456
47622993755999   GABRIELA      MENDEZ                   CA         90009959937
47623776291569   PRISCILLA     MICHELLETTI              TX         90012927762
47624486551334   BEVERLY       SPURLOCK                 OH         90006584865
47624973155939   MARCOS        RAMIREZ                  CA         90011499731
47626811855939   GUILLERMO     VILLEGAS                 CA         90002158118
47633256293797   COREY         HESTER                   OH         90011682562
47633552851336   LAMAR         BERRY                    OH         90001135528
47636417551334   JENNIFER      APPLEGATE                OH         66079514175
47638762161963   NOE           CORREIA                  CA         46090717621
47639147991569   CRYSTAL       CRUZ                     TX         90015451479
47639881455939   MARIA         MORALES                  CA         49087488814
47641595191569   OSCAR         GARCIA                   TX         90014915951
47641768261967   MICHAEL       TARICH                   CA         90014547682
47642524955939   ADRIANA       DURAN                    CA         90015475249
47643721184336   PATTY K       KNAGGS                   SC         90004827211
47643966161963   ELOY          MEDINA                   CA         90013649661
47644526391524   GABRIELA      RUIZ                     TX         90011245263
47645536191523   ROBERTO       ROCHA                    TX         75075255361
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47646377491569   JOSE          MARTELL                  TX         75087673774
47649232771999   STEPHEN       GARCIA                   CO         90005342327
47649415951334   JEAN          BISHOP                   OH         90002314159
47652494585964   HUGO          QUIROZ                   KY         90006604945
47652635361967   SUSANA        RIOS                     CA         46017426353
47653256755966   MARIA         GUZMAN                   CA         49085572567
47654333255939   FRED          HEIZAM III               CA         90005113332
47655782451334   LEODAN        MARTINEZ                 OH         90005467824
47657948361967   LEZLEY        GREEN                    CA         46086399483
47658138555966   MARIA         RAMIREZ                  CA         90014401385
47659918491569   ARMANDO       ELIAS                    TX         90009369184
47659951461963   BERTA         HERRERA                  CA         90014189514
47661566761995   JOSE LUIS     EZPARZA                  CA         90010765667
47661872455939   MARCOS TONY   ALEMAN                   CA         90010288724
47664255371999   EGAR          DARDEN JR                CO         90010942553
47665196391549   TED           STRETMOYER               TX         75089741963
47665295771999   AUDREY        HUTTON                   CO         90009392957
47665324361963   ENRIQUE       NAVA                     CA         90014423243
47665855891394   EARL          MARSHALL                 KS         90009568558
47667468961967   SHANA         JAMCHI                   CA         90015134689
47668759293734   PAUL          AMEND                    OH         90008117592
47669729391569   DIANA         URENA                    TX         75039127293
47674381455966   LIBBY         RIVERA                   CA         49054173814
47677895155966   ALFREDO       GARCIA HERNANDEZ         CA         90012918951
47681972491394   CAROLINA      PEREZ                    KS         90014359724
47682267755966   FREDERICK     BARTLETT                 CA         90014962677
47683419291569   ANTONIO       CHAVEZ                   TX         90011034192
47683745291394   MISAEL        SANCHEZ                  KS         90015187452
47684185591569   VERONICA      CALDERON                 TX         90013901855
47688381455966   LIBBY         RIVERA                   CA         49054173814
47688583991569   AARON         HARRIS                   TX         90008995839
47688969561967   FRANCISCO     GUZMAN                   CA         90011169695
47689428791569   ARACELI       HERNANDEZ                TX         75058324287
47691232591569   TONY          PORTILLO                 TX         90008332325
47692216161963   HUSSAIN       HUSSAIN                  CA         90001512161
47695134991394   ADRIENNE      PRICE                    KS         29034491349
47695689591394   JORGE         SANCHEZ-PEREZ            KS         90003166895
47695814761963   ABIGAIL       VILLARREAL               CA         90007998147
47697536491988   CYNTHIA       LILES                    NC         17017605364
47698369871921   ROBERT        ROMERO                   CO         90009423698
47699122991394   RAQUEL        DELGADO                  KS         29074551229
47699777255939   KATIE         HERRERA                  CA         90011017772
47699976155939   KATIE         HERRERA                  CA         90012279761
47711217593755   ROGER         THOMPSON                 OH         90004312175
47712576391988   REBECA        FLORES                   NC         90007695763
47712839655939   SHIRLA        KEEN                     CA         90014178396
47713894222463   BEN           WINANDY                  IL         90002208942
47714949371999   CAROL         HANNA                    CO         90013609493
47717429654191   MISENGA       MAKAMBO                  OR         47077924296
47718986791394   KATIE         HARWICK                  KS         90005629867
47726936555966   MARCELA       DOMINGUEZ                CA         49048539365
47727436541241   ALAN          MUSKA                    PA         51095234365
47727634951334   CYNTHIA       MCDANIEL                 KY         66095076349
47727913891394   MARIA         CAZARES                  KS         90001819138
47729377691394   ANDREW        CHARMLEY                 KS         90014473776
47729764757149   JANICE        GOODLOW                  VA         90001657647
47729858291569   LUIS          GIL                      TX         90010178582
47731738184386   JANETTE       COLANTONIO               SC         19002637381
47733452191569   FATIMA        CEPEDA                   TX         75094864521
47733636155939   JOHN          YEM                      CA         49018596361
47733636971999   JESSICA       GARCIA                   CO         90014366369
47733981151334   FRAN          TORIBIO                  OH         90014769811
47734135157148   HELEN         ARGUETA                  VA         81098841351
47734162591394   RACHEL        GUERRA                   KS         90015291625
47734396455939   FERNADO       VASQUEZ                  CA         90012353964
47734464861967   MARIA         MCCLISH                  CA         90015324648
47735199151334   KEN           MERIDITH                 OH         90003501991
47735291961963   ASHLEY        PARTON                   CA         90012412919
47736165761963   ELDA          CORTEZ                   CA         90002781657
47736951355939   SAY           PHASAKDA                 CA         90015189513
47737334855966   GENOBEBA      VALENZUELA               CA         90013073348
47739471771999   DAVID         MADRID                   CO         38094254717
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47742378491988   MAURO         JERONIMO                 NC         90011373784
47743814251555   MARIA         VARGAS                   IA         90013898142
47745455355966   CARLOS        RABAGO LOPEZ             CA         49070964553
47749291991873   JOHN          PRINGLE                  OK         21093142919
47753126455939   ALEJANDRA     SAHAGUN                  CA         90015181264
47755536861967   LARRY         SMITH                    CA         90015145368
47758111351359   JAN           DENTON                   OH         90007241113
47758329655966   DAVID         JARAMAILLO               CA         90010753296
47759996171999   ROSEANNE      MARTINEZ                 CO         38040579961
47761492761963   CINDY         VILLAFANE                CA         46019314927
47762599571999   JATZIRI       JARACUARO                CO         90011725995
47763471355939   DANIEL        CASTILLO ALVAREZ         CA         49037164713
47766558991869   BETTINA       HILTON                   OK         90005725589
47766892461963   ROBERTO       ACOSTA                   CA         90010258924
47766965991569   DANNY         QUINTAN                  TX         75086759659
47767191655939   BILLY         SANDERS                  CA         90009851916
47771898461967   LORETO        FRANCISCO                CA         46021188984
47772125861938   RAMON         QUINONEZ                 CA         90005781258
47773546561967   SAMANTHA      LUANGVISETH              CA         46072525465
47773758551334   DANE          BRUCE                    OH         66037777585
47775199251336   KAMICA        JOHNSON                  OH         90004561992
47775391251334   EMMANUEL      ASEM                     OH         90009153912
47776163291569   ISABEL        GONZALEZ                 TX         75008321632
47776267755966   FREDERICK     BARTLETT                 CA         90014962677
47776579791988   LELISHA       COX                      NC         17050905797
47777866655929   JON           PIATT                    CA         90001848666
47779815991881   JIMMY         MCCASLIN                 OK         90011208159
47783425433695   JOSEPHINE     WILLIAMS                 NC         90011534254
47783631391569   THOMAS        DOOLAN                   TX         90011106313
47784245791569   JOE           LASSICH                  TX         90013702457
47784657971999   FELICIA       SACCOMANNO               CO         90012886579
47784792755966   SONIA SOFIA   GONZALEZ                 CA         90002757927
47786372433695   TIFFANY       BRICKLEY                 NC         90009073724
47788122791569   CHELSEA       HARP                     TX         75014951227
47788229161967   BEATRIZ       ARRIOLA                  CA         46042272291
47789298355966   DORAIN        BRAND                    CA         90014812983
47791481571999   DIEGO         MARQUEZ                  CO         90014424815
47791847291394   JAVIER        SANCHEZ                  KS         29077618472
47791978355939   JESUS         TORRES                   CA         90013349783
47792624661963   VALERIO       NARANJO                  CA         46091936246
47792969561967   FRANCISCO     GUZMAN                   CA         90011169695
47794143151334   JACKIE        WHITEHEAD                OH         90007291431
47795421561967   LATRICIA      PRICE                    CA         90008384215
47796632455966   ROBERT        FELIX                    CA         90014736324
47799838761967   JACINTO       LUNA                     CA         90008648387
47811223655939   ROCKY         NICHOLAS GONZALEZ        CA         90004752236
47811712273264   RIGOBERTO     GUERRERO                 NJ         90015387122
47811849391873   HOLLY         MASON                    OK         21050238493
47812277771999   SELENA        KELLY                    CO         90013482777
47813726291569   FERNANDO      CAMACHO                  TX         75027317262
47814676451334   MARV          BONNER                   OH         90013536764
47822212551334   RANDY         BROWN                    OH         90013622125
47822816655939   SAGE          ZENT                     CA         90013158166
47824768171999   JEFF          MADISON                  CO         90014367681
47826186255966   GENARO        ESCALANTE                CA         49002301862
47827656361994   FLOREDA       MARY                     CA         90001306563
47827818391569   RAY           GOMEZ                    TX         90015598183
47831276561967   SONIA         PASILLAS                 CA         46055342765
47834426855933   ELIJAH        AMMI                     CA         90006044268
47842495455966   MARIN         HERNANDEZ                CA         90010754954
47843334747828   APRIL         COUTTE                   GA         90001453347
47843521591873   DAVID         PALINSKEE                OK         90008195215
47843553591988   LONNIE        HOLLOWAY                 NC         17017515535
47844384671999   MERCEDES      MARTINEZ                 CO         90005283846
47845742491569   JACOB         GOMEZ                    TX         90013767424
47846229691547   IRENE         ESCALANTE                TX         75043532296
47846558951334   BONNIE        ROCKER                   OH         90013135589
47846643661967   GRACIELA      CALDERON                 CA         46001676436
47849344855966   EDUARDO       TIJERO                   CA         90014823448
47849878261967   ROSA          SALAZAR                  CA         90001348782
47852756355939   MELISSA       LOZA                     CA         90000847563
47855359191394   JOSE          GIRON                    KS         90015303591
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47858381255966   BERNABE        GALINDO                 CA         90002273812
47858468471999   AZALEA         MARTINEZ                CO         90010384684
47859634291926   BRADY          PRICE                   NC         90006046342
47861485941222   RAVEN          DUNCAN                  PA         90001364859
47863158161967   LADDAVANH      SOUKPASUETH             CA         46085951581
47864864471999   CASSANDRA      LUJAN                   CO         38004678644
47865738955966   SEBASTIANA     ACEVEDO                 CA         90012997389
47867559855966   ISIDRO         MARTINEZ                CA         90011105598
47867563155939   STACEY         JACKSON                 CA         90013475631
47867972971999   KIRSTEN        RIES                    CO         90008199729
47868464691569   JENNIFER       CASTRELLON              TX         90011034646
47868712655966   CHERI          PATTERSON, RN           CA         90013667126
47871548171999   CASSIE         GRADISAR                CO         90013055481
47872254791569   HILDA          BADILLO                 TX         90012672547
47872284791569   JONES          ROY                     TX         90014612847
47872483461967   RAQUEL         RAMIREZ                 CA         90000864834
47874495861967   CHARISE        LAMPERELLI              CA         46010734958
47874511691394   PATRICIA       KELSEY                  KS         29085465116
47875152771999   COLTON         MCGARVY                 CO         90012471527
47877116555966   YOLANDA        GARCIA                  CA         90013561165
47877642455939   ETHEL          JONES                   CA         90014356424
47877881161963   CHRISTINA      HERNANDEZ               CA         46018058811
47879524891569   MARLENE        NEGRETE                 TX         90013325248
47882127531621   ANGELA         CABRAL                  KS         90009541275
47882833655966   EDUARDO        LOPEZ                   CA         90005428336
47882981261967   JOSE           JUAREZ                  CA         90015329812
47885372961967   GLADYS         VELEZ                   CA         90007313729
47887397163639   JAMES          NICHOLS                 MO         27581203971
47887626155939   MICHELLE       MENA                    CA         90015156261
47887679257122   TRANCITO       FLORES                  VA         90003416792
47889191991569   AILED          TORRES                  TX         90013881919
47891144255966   HUGO           FERNANDEZ               CA         90010461442
47891975233683   DAVID          LUCERO                  NC         90012469752
47892221271999   KEVIN          HERNANDEZ               CO         90011152212
47892681791394   MIGUEL         GUZMAN                  MO         90007666817
47892856191873   TONYA          TACKETT                 OK         21064178561
47894949261967   EDUARDO        RUIZ                    CA         90011119492
47896551757149   JOSEPH         ASANTE                  VA         90012525517
47898692991394   JOHNELL        WILLIAMS                KS         90013656929
47899385677535   MYNOR          MILIAL                  NV         90013253856
47899725871999   EMMILE         BUGARIN                 CO         38058957258
47915779531437   KENDRA         SCHNEIDER               MO         27575967795
47917184691394   SALLY          QUINN                   KS         29080201846
47917311191873   MICKEY         HARDMAN                 OK         21058633111
47921338851334   MESSINA        NORRIS                  OH         66072883388
47923453561967   BILLY          GOSS                    CA         46074664535
47925661855966   HUGO           VAZQUEZ MUNOZ           CA         90014696618
47926518571999   ANNE           CABELLO                 CO         38025335185
47926835261963   MANUEL         VALDEZ                  CA         90012908352
47928246451334   AMY            STANLEY                 OH         66012842464
47931757436148   RUBEN          GARZA                   TX         90000977574
47934395891394   VERONICA       DIAZ                    KS         90014893958
47934715761967   ELIZABETH CT   VILLARREAL              CA         90011137157
47936451861967   OLIVIER        THOMPSON                CA         46075784518
47936654891394   ROSA           MUNOZ-PADILLA           KS         90014176548
47937265571999   AMBER          ROMERO                  CO         90014932655
47938618291569   JOSEPH         FORBES                  TX         90012986182
47943451461967   VIRIDIANA      SALGADO                 CA         46069114514
47945893155939   MICHELLE       BALZER-DOUGLAS          CA         90012058931
47946189851334   JOSEPH         ZIELONSKI               OH         90000161898
47947272661967   SAUL           ACEVES JR               CA         90001882726
47947272871999   MELISSA        BELTON                  CO         90007932728
47947771633653   SHARDA         LONG                    NC         90010637716
47949157755933   BERENICE       MENDOZA                 CA         90013911577
47949229161941   JESSICA        JOHNSON                 CA         46056222291
47953213255939   BRITTANY       MENDONCA                CA         90012622132
47953314961963   JOSEPH         RODRIGUEZ               CA         90000443149
47953369891394   SHERRON        GREEN                   KS         90000543698
47955991561925   GORGE          RESTO                   CA         46007859915
47958567891569   LUIS           LUCERO                  TX         90001685678
47959623171999   JOSE           CORDOVA                 CO         90003816231
47959917451334   JOSE           PEREZ                   OH         90012439174
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47964329255939   JASON        TURNBULL                  CA         49013963292
47964429261925   ZINEB        FEHRI                     CA         90000854292
47965592191394   JASON        JONES                     KS         29015315921
47967166661963   ROY          CULLINS                   CA         46013841666
47968318655966   FREDDY       CERVANTES                 CA         49006323186
47971878191569   JOHN         JACOBS                    TX         90012188781
47974755351334   ALEXANDER    BROWN                     OH         90011677553
47975418791873   OSVALDO      GONZALEZ                  AR         21088714187
47975556691569   JUAN         CARBAJAL                  TX         90000455566
47976273155939   MIGUEL       CONTRERAS                 CA         49062352731
47976483461967   RAQUEL       RAMIREZ                   CA         90000864834
47977434784342   JESSICA      RUSHING                   SC         90013904347
47977758841255   GEORGE       SHEARER                   PA         90003657588
47979168661963   DAVID        LOPEZ                     CA         90014741686
47981319761963   JAMIE        GRADY                     CA         90013173197
47981548491569   VANESSA      TORRES PRIMERO            TX         90011035484
47981713255966   ALEJANDRA    HERNANDEZ                 CA         90014737132
47982511631448   KIETH        DOTSON                    MO         90008705116
47984542191569   JAIME        SEGOVIA                   TX         90007685421
47986432991569   HENRY        GARCIA                    TX         75011104329
47986626791394   PAMELA       WILSON                    KS         29050746267
47987247951334   CHRIS        GASTON                    OH         90015022479
47989643257126   VICTOR       LEZAMA                    VA         81046496432
47992497761963   BRANDON      CUMMINGS                  CA         90014514977
47992811855966   SYLVIA       CANO                      CA         90013798118
47992991791569   AMANDA       CASTILLO                  TX         90010659917
47997716555966   PRISCILLA    CABALLERO                 CA         90014737165
48113856291569   MOISES       LANDEROS                  TX         90011328562
48114229291988   LATANYA      LANGSTON                  NC         17011312292
48119961357133   ROSA LINA    GUTIERREZ                 VA         90011529613
48123927991956   CESAR        GALDAMEZ                  NC         90008519279
48124499771999   THERESA      PEREZ                     CO         38010504997
48127556871999   ORLINDA      MARTINEZ                  CO         38045105568
48128963991569   LAURA        BURKS                     TX         75011289639
48129945571999   ELIZABETH    GARCIA                    CO         90015149455
48133989571946   NANCY        RODRIQUEZ                 CO         90012439895
48135348191988   RONALD       JOHNSON                   NC         90012483481
48136556577595   ALLAN        JACKSON                   NV         90000795565
48138141277554   MARIA        RIOS                      NV         43056901412
48141975751334   DORIS        LENOS                     OH         90002499757
48142585891873   CALYA        BUTLER                    OK         90004415858
48143153691394   KASEY        ROBINSON                  KS         90014791536
48143562471999   TAYLOR       DIONISIO                  CO         90013115624
48145129177595   ERIC         LAMBRIGHT                 NV         43028311291
48145297571999   CHALOTTE     SCHIERMEIER               CO         90008302975
48148469597134   ELIJAH       CLAY                      OR         90001494695
48148641777595   FERNANDO     TORRES                    NV         90010116417
48149472391394   PAUL         BRAKE                     KS         29079794723
48152446661963   MARIA        ROBINSON                  CA         46028724466
48153656777595   AMANDA       LINARES                   NV         90010116567
48154657271999   TIERRA       CARNES                    CO         90013116572
48154869791569   ERICK        MORALES                   TX         90010698697
48155957236148   VIRGINIA     PENA                      TX         73566819572
48156368391569   BERNABE      REYES                     TX         90014723683
48156411291988   BERTA        DIAZ                      NC         90002644112
48159198177595   MARIA        LOPEZ                     NV         90002431981
48164398771999   RICK         CHAPPELL                  CO         90013123987
48165192891988   DELMA        WOODSON                   NC         90010631928
48165241184336   OCTAVIO      PEREZ                     SC         90013052411
48166396871999   JESUS        ANGELMACIAS               CO         90006233968
48167178961963   ROSA         MARTINEZ                  CA         90004511789
48167398771999   RICK         CHAPPELL                  CO         90013123987
48168358791988   LARRY        BROWN                     NC         90008363587
48169872351361   TANYA        WILLIAMS                  OH         90008518723
48171398771999   RICK         CHAPPELL                  CO         90013123987
48171928891988   JESSICA      LIVERMAN                  NC         90001319288
48173398771999   RICK         CHAPPELL                  CO         90013123987
48173519184336   KATHYLEEN    JACKSON                   SC         19092425191
48173636491394   VUNTAYA      JOHNSON                   MO         90008806364
48175247261963   DARLENE      HARRIS                    CA         90012662472
48176233458528   JOE          BROWN                     NY         90015512334
48176297191569   EMILIO       GUERRERO                  TX         90007502971
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48184176991569   ARTURO        DIAZ                     TX         75014681769
48188268791873   TARA          HILL                     OK         21001462687
48188984357122   RILMA         ZENTENO                  VA         90005799843
48191513991394   JAMES JOHN    ALSOBROOK                KS         29010655139
48191644291988   SANDRA        ATKINS                   NC         90004586442
48192736491569   JOSE          YANEZ                    TX         90002627364
48196268291988   OSHA          EDWARDS                  NC         90009182682
48196299861967   CYNTHIA       HOGGATT                  CA         46089142998
48196694371999   ANTHONY       HERNANDEZ                CO         90014186943
48196923551334   ALICE         LAINHART                 OH         66077319235
48197121251334   KYLE          CANNON                   OH         66095231212
48197159891988   JACKQUELIN    HAMLETT                  NC         90005981598
48199215861541   MARIA         GOMEZ                    TN         90013672158
48214419491873   PAOLA         ALQUINO                  OK         21098524194
48216784691873   CHARLEY       WILSON                   OK         21098697846
48217842191988   TYONA         ROGERS                   NC         90014018421
48224247371999   IAN MICHAEL   RIVERA                   CO         90013132473
48226596591956   COREY         JACOBS                   NC         90003895965
48227785691569   PATRICIA      ROSALES                  TX         75031257856
48227922791956   JAQUELIN      RANGEL                   NC         90005139227
48228147691394   YADIRA        HERNANDEZ                KS         90012851476
48228235461967   EEVERLINE     WHITE                    CA         90010912354
48228252291889   ROBERT        DAGENDESH                OK         90012102522
48228489391569   RODOLFO       ZEPEDA                   TX         90011914893
48229252291889   ROBERT        DAGENDESH                OK         90012102522
48231158984322   MATHEUS       MUNIZ                    SC         90010591589
48232536571999   ERNEST        HOLMQUST                 CO         90001665365
48232554458528   RICARDO       VARGAS                   NY         90015595544
48233168771999   CHERIE        ORTIZ                    CO         90007441687
48233296161967   EDUARDO       SANDOVAL                 CA         46094422961
48237666561963   JESUS         PEREZ                    CA         90014446665
48237694251334   CRYSTAL       YOUNG                    OH         66026966942
48241298971999   JESSICA       WEIN                     CO         38011152989
48242469597134   ELIJAH        CLAY                     OR         90001494695
48245556391873   ANTWAN        MONTE                    OK         90005015563
48246217861963   ROSA          MARTINEZ                 CA         90004512178
48247561491569   MARIA         CASTRO                   TX         75085695614
48247619191988   SHARNITA      SMITH                    NC         90012526191
48254761351555   SERGIO        RAUL                     IA         90014377613
48254924293767   JAMES         WILLIFORD                OH         90011739242
48255964691569   RITA          MARMOLEJO                TX         75029999646
48256382451344   ANNA          LOVELY                   OH         90002723824
48257639677595   JOSE          ZARARTE                  NV         90010836396
48261877251334   JOHN          HILLIARD                 OH         90010568772
48263848177595   ANA           MARTINEZ                 NV         43010358481
48265761861963   AMBER         CALDWELL                 CA         90012757618
48269686561967   KEILA         GARCIA                   CA         90004186865
48272958491956   TIREICO       RYALS                    NC         90004279584
48273843461963   AURIEL        SEARCIE                  CA         90012488434
48276417657129   NORMA         VANEGAS                  VA         90000274176
48278464591952   TUNISIA       COOPER                   NC         90002304645
48279784191988   JOSE          GUADALUPE                NC         90013787841
48279868271999   ROSALIE       MAESTAS                  CO         90014188682
48281342691569   ALONDRA       PARRA                    TX         90012563426
48281914671999   KAYLA         MESTAS                   CO         90013739146
48283788191569   JOSE          SANTIBANEZ               TX         75097867881
48284527191569   KEILA         TOVAR                    TX         75010465271
48284653671999   ALEJANDRO     MORAN                    CO         90008586536
48287127471999   JOEY          ROLDAN                   CO         90013141274
48287279691988   SANTOS        ARROYO-ALEJANDRO         NC         90015012796
48287559971999   SIMON         PINO                     CO         90014215599
48287633791988   LUIS          MACARIO                  NC         90013656337
48289195591394   MAYRA         MORA                     KS         90002881955
48294135391523   WALKER        MAUNTEL                  TX         75057241353
48294694991569   VALERIE       ALVAREZ                  TX         90012236949
48299743591394   MISTY         FRANKLIN                 KS         90014807435
48311555961967   PAMELA        BISHOP                   CA         90015115559
48312522961995   JOSE          CASTANON                 CA         46056125229
48314313791394   REBECCA       JOLLY                    KS         29037873137
48316248661938   MAGDALENA     CABRERA                  CA         90013852486
48317442751367   DESIREE       MINCEY                   OH         90010614427
48318132491527   CARLOS        CORONA                   TX         90007431324
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48318881477595   MARIA            MALDONADO             NV         90001528814
48319776391394   ISABEL           VALENTIN              MO         90014807763
48322688651334   BRANDI           HANEY                 OH         66074236886
48324161491569   ALMA             RAMIREZ               TX         90014421614
48324276891284   KATINA           HOWARD                GA         90008522768
48325135861967   RAQUEL           CASTELLANOS           CA         90012871358
48327546136135   CHRIS            PIERCE                TX         90013495461
48328157771999   MARIO            MARTINEZ              CO         90010621577
48331653477595   LUIS             MOLINA                NV         90004366534
48332756391559   ROLLAND          AVEDICION             TX         90005027563
48332987631449   KELLY            UGALDE                MO         27563579876
48333243161963   YOSSI            SALDANA               CA         90004512431
48333987886443   BRIAN            HUMPHRIES             SC         90015089878
48334742861963   PATRICIA         PERCY                 CA         90013627428
48335298491331   CHARLES          WELDON                KS         90001662984
48337598371999   LONNIE           CHAVEZ JR             CO         90004095983
48337671191569   JAMIE            TORRES                TX         75029706711
48338141691569   MARIBEL          ARRUNADA              TX         75090301416
48339297658528   VICTORIA         PEREZ                 NY         90015552976
48342569884381   JAY              BOYER                 SC         90010985698
48343365561963   DAVID            LUQUIN                CA         90013013655
48349417291956   MECO             WHITAKER              NC         90001264172
48351725861963   ROSARIO          RODRIGUEZ             CA         46085837258
48351941251334   SELINA           WRIGHT                OH         90010619412
48352643758528   NAKARIE          HEARD                 NY         90015516437
48352831161965   CARMEN           LUGO                  CA         90010858311
48352941791394   JOSE             MELENDES              KS         29065009417
48353152851334   CRYSTAL          HAWKINS               OH         66002911528
48357561591956   CHAUNTIA         GILCHRIST             NC         17082475615
48363767891394   MITSY            PICKENS               KS         90014817678
48364525791569   OMAR             VELEZ                 TX         75018745257
48367399861963   MARY             HOSTON                CA         90007653998
48372129561963   KELLY            ALPERS                CA         46081221295
48372898591569   SOPHIA           DE LA GARZA           TX         90009648985
48374833885968   ERICA            BOND                  KY         67096298338
48374854471999   KEVIN            JIMINEZ               CO         90006568544
48377341361963   JOSE             CARILLO               CA         90009663413
48377828161994   JOSEPH           ROE                   CA         90009258281
48378828161994   JOSEPH           ROE                   CA         90009258281
48379788931491   BRETT            FLEIS                 MO         90008757889
48379975161967   EDUARDO          AYALA                 CA         90012839751
48383323861963   KENNETH          SWEET II              CA         46015193238
48383869191394   JENNY            ORTIZ CHIGUIL         KS         90014818691
48386895691988   ERIC             COVINGTON             NC         90004218956
48386896891394   ADRION           WEST                  MO         90014848968
48392625761967   ALMA             ILDEFONSO             CA         90013936257
48394896661963   JEREMIAH         WILLIAMS              CA         90000248966
48395994791943   SUAMYS YOVANNI   VELEZ MEJIA           NC         90007289947
48397884291988   ARMANDO          GUZMAN                NC         90008388842
48413122471999   CRISTINA         MARROQUIN             CO         90003981224
48417483261945   BRIAN            JONES                 CA         90001774832
48418318271999   SARA             ANTONIO               CO         90002653182
48418542891988   WENDI            WILLIAMS              NC         90010935428
48421312891988   DANIELLE         HEADEN                NC         90010663128
48421868191394   MARIA            CALDERA               KS         29073618681
48423128791569   PABLO            PAREDES               TX         90012901287
48424813761963   ROZELLE          GROFF                 CA         90010988137
48427743851334   TANEESHA         THOMAS                OH         90011347438
48428278661966   JOSE ANGEL       RAMIREZ               CA         90012752786
48429632461963   PEDRO            MARTINEZ              CA         90004826324
48431986177595   ANITRA           WILSON                NV         90005129861
48434987785941   ANDREW           MCCLANAHAN            KY         90011599877
48435539961967   LUIS             MORALES               CA         90007995399
48435851691569   MARTHA           PESINA                TX         90011628516
48437325261963   LUIS             LIOPEZ                CA         90013253252
48439269491988   NICOLE           BAINE                 NC         90012682694
48442669361963   DAMIAN           REYES                 CA         90013176693
48443441661967   JEREMY           QUINN                 CA         90014884416
48443939951334   LADONNA          ALLEN                 OH         90009039399
48444558391988   JESSICA          LIVERMAN              NC         90004245583
48444695486432   LONNIE           CHAMPION              SC         90012466954
48445163191394   JASON            WALKER                MO         29077431631
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48445796761963   MEDIA          BATTOU                  CA         46014127967
48446141561963   VERONICA       CALZADA                 CA         46008271415
48447577451334   GUSTAVO        PALOMINO                OH         66091685774
48448197691394   MAUREEN        HILL                    KS         90014731976
48451831661967   KRISTIN        HIDROBO                 CA         90013988316
48452199554121   BRITTANY       BABB                    OR         90014721995
48452653991873   DAKOTA         BEAR                    OK         90006836539
48452663261967   MICHELLE       CARTAGENA               CA         46017616632
48453461491873   LARHONDA       HUEY                    OK         90002634614
48454751461967   LANA           TABBS                   CA         90007887514
48455163191394   JASON          WALKER                  MO         29077431631
48455836191569   EDUARDO        PEREA                   TX         75009948361
48456387991569   ANGEL          URBINA                  TX         90012153879
48457452491394   JOSHUA         DAVILA                  KS         90011584524
48457859291394   SHANETTA       MOORE                   KS         90014858592
48458392151334   TIM            MOORE                   OH         66089663921
48458858761967   VERDELLE       PRICE                   CA         90003738587
48458964961963   KELLY          ROSALES                 CA         46027429649
48459887591988   SAKONYA        TRICE                   NC         90002838875
48465474593752   CHRISTOPHER    ADKINS                  OH         90006954745
48465822661967   NICHOLE        BRACKS                  CA         90013538226
48466268171999   MELLISA        AYALA                   CO         90013982681
48468112991569   SANDRA         ACOSTA                  TX         75087601129
48471958191956   MONIQUE        SAVAGE                  NC         17016359581
48472943751334   MICHAEL        PENNINGTON              OH         90015449437
48474289191569   MANUELA        GONZALEZ                TX         90002352891
48474761371999   LORETTA        ESCOBAR                 CO         90012207613
48479325161963   MILTON         MORENO                  CA         46014763251
48483429191988   GWENDA         CARR                    NC         17086624291
48485736561963   GRACIEL        RIVAS                   CA         90001827365
48491349861963   REBECCA        MACIAS                  CA         90009193498
48492831591873   VICTOR         GIL                     OK         90013728315
48493588955955   BRANDIE        BROWN                   CA         90014735889
48493884291394   SULMA          HERNANDEZ               KS         90014878842
48495251971999   CRYSTAL        LOPEZ CASTILLO          CO         90011632519
48495698161963   PAZ            BARRALES                CA         46063556981
48496846471999   MATT           SNYDER                  CO         90012488464
48511499151334   AIJA           ALFORD                  OH         90011524991
48514823491394   MELVA          THOMAS                  KS         90014888234
48516112333626   TONY           JENNINGS                NC         90006191123
48522262491569   ELVIA          MEDINA                  TX         90009502624
48522782461994   MANUEL         MARTINEZ                CA         46042927824
48522899961967   SAMANTHA       MOLINA                  CA         90014238999
48522934261967   SAMANTHA       MOLINA                  CA         90014239342
48523891291956   JESUS          FLORES                  NC         17012928912
48527253891569   PHIL           MARTINEZ III            TX         90011002538
48528386391569   FRANSISCO      CHAVUEZ                 TX         90011173863
48529218251334   JULIO          PEREZ                   OH         90006762182
48529869871999   SHAROL         KUTCHER                 CO         90014588698
48536611677595   CHRISTINA      KISER                   NV         43040756116
48543233661963   HADEE          EARLES                  CA         46090052336
48548867961967   YOSVANI        CEIDES                  CA         90015268679
48549293571999   PABLO          MOLINA                  CO         90014392935
48549478271999   AMY            MOLINA                  CO         90012054782
48551857651334   MARVIN         WEBBER                  OH         90013108576
48552632561967   NICOLE         BEARD                   CA         90004136325
48553233561967   ABAD           DELGADO                 CA         90004692335
48554373791394   ROSI           COLON                   KS         29000543737
48554382377595   CAROLYN JEAN   HARMON                  NV         90011313823
48555431551334   JORGE          GONZALES                OH         90009934315
48555539891569   ARACELI        MIRANDA                 TX         75021165398
48556457461963   JOSEPH         VICTORIAN               CA         90010934574
48558135291988   TOMMY          ATWATER                 NC         90013551352
48562736391569   LINDA          GARZA                   TX         90014327363
48562825361967   MARCO          GOMEZ                   CA         90013538253
48563964371999   JANELLE        ALMARAZ                 CO         38048619643
48564478191873   JOE            HARO                    OK         90010394781
48568914571999   SUSANNE        LINDSAY                 CO         38061799145
48569693491569   PETRA          JUAREZ                  TX         90011996934
48572325991394   ESTHER         ARVIZU                  KS         90014903259
48572452451332   KINDRA         NELSON                  OH         90012784524
48574325991394   ESTHER         ARVIZU                  KS         90014903259
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48574792261967   ALBERTO      ROJAS                     CA         46019457922
48579427391988   MARC         WALKER                    NC         90012544273
48579723351334   RUTH         YOUNG                     OH         66038277233
48584825277595   JOSEPH       KUDRYK                    NV         90010548252
48587882991394   DOROTHY      CHAVIS                    KS         29009288829
48588584371999   ROSEMARIE    GAONA                     CO         38097965843
48589483591988   ADRIENNE     STONE                     NC         90011104835
48592338191569   ABRAHAM      HERNANDEZ                 TX         90008343381
48593368177595   BRIAN        BEKOWSKY                  NV         90010553681
48593948191394   JAERRED      WILLIAMS                  KS         90010119481
48594346991988   NATALY       DIAZ-SORTO                NC         90009353469
48594671161967   JOHN         HIGHTOWER                 CA         90009516711
48595684571999   SHERRAN      AFOA                      CO         90013746845
48596844791956   ANGELA       WHITTED                   NC         17021208447
48597153677595   EHAB         ISHAK                     NV         90011081536
48598662461967   ERENDIRA     TIBURCIO                  CA         46036686624
48611385261963   LUCILE       ROBINSON                  CA         46095363852
48612541171946   RILEY        EHRLICH                   CO         90011235411
48612666591988   JAKSHA       BALDWIN                   NC         90010916665
48613616271999   AARON        REESE                     CO         90014606162
48614131761967   DOMINIQUE    WHITE                     CA         46072421317
48615616271999   AARON        REESE                     CO         90014606162
48615884961963   IDELMIRA     DIAZ                      CA         90012558849
48617184251334   LINDA        MILLER                    OH         90014711842
48618814191956   CHARLES      THOMPSON                  NC         90006068141
48619173951334   TY           RONE                      OH         90000131739
48619867861967   ALEJANDRA    ZAMORA                    CA         46048028678
48622441171999   PAUL         MARQUEZ                   CO         38019564411
48626292161967   LEELAND      WATT                      CA         46029522921
48627165391873   CHRISTINA    MORRIS                    OK         90009791653
48631332191569   LUIS         GONZALEZ                  TX         75096833321
48631374291248   TIWANDREA    CAPERS                    GA         90001333742
48633819591988   EULALIO      HERNANDEZ R               NC         90011758195
48634566691324   SALLY        FARRELL                   KS         90007055666
48634582251334   YACIR        JAOUHARI                  KY         66043095822
48635523691988   DEANDRE      CARTER                    NC         90010805236
48635955591956   CLAUDIA      GOMEZ                     NC         90004339555
48638753391873   BRITTANY     BROWN                     OK         90004127533
48639869461963   DEMETRIA     SILVA                     CA         90007588694
48641388961967   SCOTTIE      STRONG                    CA         46042283889
48642674191523   ROBERT       MEZA                      TX         75062026741
48643972591569   CRISTAL      RAMIREZ                   TX         90010699725
48644536791394   MIKE         BRADEN                    KS         90007965367
48645569451334   LAWANDA      BANKS                     OH         90010745694
48645586591988   LILLIAN      DIXON                     NC         90012455865
48646534961967   TERESA       AGUILAR                   CA         90013065349
48647262161967   JOSHROY      MAFFIN                    CA         90012172621
48649656991394   LETICIA      AGUIRRE                   KS         29081266569
48649866491988   SHARNA       JACKSON                   NC         90012618664
48653146891394   ARTURO       REYES                     KS         90009071468
48653318961963   STEVEN       JUSTICE                   CA         46093033189
48655664151334   NOAH         CRAWLEY                   OH         90013186641
48656829761967   ANA          VERA                      CA         90013548297
48657419661967   BETTY        DOMINGUEZ                 CA         46066914196
48657423377595   JOSE         VALENCIA-GALVEZ           NV         90003054233
48662134691394   ZEUS         GANNON                    KS         90012341346
48665519571999   BERNICE      MEDINA                    CO         38076875195
48665686873264   STEPHEN      FIORESE                   NJ         90015506868
48667926691394   JESSIE       BAKER                     KS         29057629266
48669591191569   MUNIZ        PERLA                     TX         90009325911
48674182291394   HUGO         RIVERA-MEDINA             KS         90014911822
48674783271999   SHYENNE      DURAN                     CO         90013317832
48676412851334   BRAD         HOLLANDER                 OH         90013564128
48677199891394   MAYRA        GUEVARA                   KS         90014911998
48677769161963   BRENDA       MORALES                   CA         90012537691
48683998771999   CHERRELL     MARTINEZ                  CO         90006999987
48684831871999   TONI         CLARK                     CO         90014608318
48684976851334   JEREMY       RANDALL                   OH         90010619768
48685832871999   TONI         CLARK                     CO         90014608328
48686796791873   MARY         WILHOIT                   OK         21045077967
48686948391988   JOSE         ROLANDO                   NC         90010819483
48687268651334   WEI          LEOW                      OH         90012182686
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48689735491988   MARIA        RAMIREZ                   NC         90013697354
48693356491569   MARTHA       LEMUS                     TX         90012813564
48694782893741   SHEILA       MELVIN                    OH         90004677828
48696572791569   SOPHIA       FIERRO                    TX         90012625727
48697469741241   RICHARD      CELOVSKY                  PA         51090754697
48697772472434   JONATHAN     MATTOZZI                  PA         90014007724
48699186271921   DONAVAN      BREWER                    CO         90013881862
48699431261967   RICKY        DELONEY                   CA         46065824312
48711574991988   CHRIS        BALLARD                   NC         17077615749
48711834292825   VERONICA     GONZALEZ                  AZ         90014428342
48712414361967   TOM          COOK                      CA         46060914143
48713186871999   ANTHONY      GALINDO                   CO         38052361868
48714814761963   JUAN         HERNANDEZ                 CA         90012338147
48716778891961   DAMIAN       JOHNSON                   NC         90013427788
48717352471999   JACLYN       MARTINEZ                  CO         90010903524
48718262251348   JOHN R       FUGATE                    OH         90005052622
48718617877595   COLUMBA      RUVALCABA                 NV         90008416178
48721813877595   RACHEL       SAUM                      NV         43075128138
48723964391988   ROLANDO      JERONIMO                  NC         90013779643
48727299393755   ROBERT       PATTERSON                 OH         90009262993
48727862791394   AMANDA       AGADO                     KS         90014928627
48728386671999   JACKLYNN     MARTINEZ                  CO         90010983866
48728769391988   OTTONIEL     LOPEZ DIAZ                NC         90004257693
48733496277595   MARIA        ROZYCZKA                  NV         43012554962
48733634957133   SEUNG        HONG                      VA         90014476349
48738965591959   ONYX         HARDY                     NC         90014019655
48741356361967   JOHN         SAHLIN                    CA         90010353563
48745449591569   TONY         GOMEZ                     TX         90015574495
48745681758528   JESSICA      GARCIA                    NY         90015566817
48745815161967   DENISE       MCNELTY                   CA         90014858151
48748456961963   JACKSON      EVERETT                   CA         90012924569
48749677861966   TRINIDAD     GALLIGAN                  CA         90004626778
48751157491988   AHDENAH      MCTIER                    NC         17087901574
48751452761967   JOHN         GRONDONA                  CA         90013394527
48756269761963   JAZMIN       ANDRADE                   CA         46008282697
48758849891988   VANESSA      GIRON                     NC         17038358498
48763761491988   VICKI        DUNN                      NC         90010207614
48764825361963   JASMINE      STEPHENS                  CA         90013818253
48768325172495   JANE         HEENAN                    PA         90012043251
48769781591549   JAIME        ARANDA                    TX         90009737815
48771419471999   SIERIA       MOLDONADO                 CO         90013744194
48771882591394   BRITTANY     COLBERT                   KS         29096898825
48772719771999   LOUIS        CHAVEZ                    CO         38005917197
48774421251334   TRICIA       DIETZ                     OH         90012974212
48775162477595   DIOSELINA    GONZALEZ                  NV         43077461624
48775764161967   ZACHARY      NATAL                     CA         90011937641
48776639161988   ALEJANDRA    LUDLOW                    CA         46004386391
48777517191956   MARISA       HEMBRICK                  NC         17075595171
48777959491988   RENAN        VELASQUEZ                 NC         90012619594
48779834291569   HILDA        HERNANDEZ                 TX         75050428342
48784392161963   REBECA       RUIZ                      CA         46081223921
48785298941222   JACKIE       FLETCHER                  PA         90001672989
48785892191569   JEANNINE     SOSA                      TX         75052528921
48786376461963   JASMIN       GONZALEZ                  CA         90014113764
48788575391988   QUEEN        GENTRY                    NC         90011625753
48788689591394   JASON        LANG                      KS         90014936895
48788758291956   CEETTA       SCOTT-COBB                NC         90005247582
48791514161967   ROSALINDA    GONZALES                  CA         90007845141
48794427584342   CRISTIE      VEREEN                    SC         90015204275
48794742751334   PABLO        CASTELLANOS-SANTIZ        OH         90012497427
48798287461967   OSCAR        SAN MARTIN                CA         46054062874
48798637571999   TOM          PENCIS                    CO         38092316375
48811454277595   VICTOR       PONCE                     NV         43031744542
48812722793762   LABONNA      SUNDAY                    OH         90012637227
48815378491988   JOSPEH       PARKER                    NC         90002353784
48816274191394   GAITAN       KATHLEEN                  KS         29055122741
48816746751334   SANDRA       BLOOMER                   OH         90014207467
48818951491394   JOHN         ERB                       KS         29001359514
48819391161967   CYNTHIA      GUTIERREZ                 CA         90006213911
48826372193767   ANGELA       ELZEY                     OH         90004073721
48838851191988   MARIO        MORALEZ                   NC         17018188511
48839432191394   MICHAEL      WISE                      KS         29008574321
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48844756691988   ANTOINE         BALDWIN                NC         17068327566
48847395851334   STACEY          BALDWIN                OH         66058103958
48848831861967   MONICA          NARANJO                CA         46019258318
48849741461967   DARLYNN ANGEL   GONZALEZ               CA         90002217414
48852283377595   YVONNE          MCMILLIAN              NV         90012582833
48854436591394   MICHAEL         MOUA                   KS         90014134365
48854522691569   BLANCA          GARZON                 TX         90012835226
48854672151334   MARIEA          DE LE ROSA             OH         66068676721
48855492691988   ROB             RHODES                 NC         90011104926
48856263151334   MICHAEL A       MILLER                 OH         90014982631
48857233351334   JACK            DAVENPORT              OH         90013012333
48858556361967   JOSEPH          ALLEN                  CA         90014315563
48861419171999   JOSEPH          VIGIL JR               CO         90014644191
48862789651334   TRAVIS          BURGAN                 OH         90003097896
48862867391394   STEPHANIE       WALKER                 KS         90004278673
48864841861967   VINCENT         NICKERSON              CA         46018948418
48865111451334   DAHMYNIQUW      CROMWELL               OH         90012861114
48865356491569   MARTHA          LEMUS                  TX         90012813564
48866422891569   JEANETTE        JUDY                   TX         90003974228
48866577391523   MARIA           PUENTES                TX         75062125773
48867712761963   IMANI           FULMER                 CA         90011327127
48868837555982   MAI             LEE                    CA         49077838375
48868965177595   JOSE            TORRES                 NV         43008849651
48872112761967   LORRY           BRADY                  CA         46077051127
48872572373264   MIGUEL          PACHEO                 NJ         90011845723
48873322177595   CRISTAL         ROLDAN                 NV         43077303221
48878358493769   JOSEPH          MAYES                  OH         90013423584
48881658891988   AQUARIUS        TABOR                  NC         90005816588
48882211761967   MARIANNE        GREENE                 CA         90003572117
48882571877595   MARIA           MUNGUIA                NV         43043395718
48886649393765   ANGELA          OMBEGO                 OH         64510276493
48892177591394   JOE             SCHOONOVER             KS         90004901775
48892386391569   FRANSISCO       CHAVUEZ                TX         90011173863
48894584371999   ROSEMARIE       GAONA                  CO         38097965843
48895281361967   LETICIA         RODRIGUEZ              CA         90011492813
48895727861963   SARAHY          DARCIA                 CA         90011907278
48897276171999   NICHOLAS        MARTINEZ               CO         38095092761
48911462961967   JASON           GIMENO                 CA         90012634629
48911542671999   JESUS           PACHECO                CO         90009955426
48912956571999   THERESA         LUCERO                 CO         90002629565
48913621371999   RENE            RUIZ                   CO         38046286213
48915854471999   KEVIN           JIMINEZ                CO         90006568544
48916151691988   REBEKAH         RUSHING                NC         90013351516
48916478391394   JANET           CRUZ                   KS         90004004783
48917556451334   TERRANCE        SCHOOLER               OH         90011855564
48922491361967   LUIS            CARDOZO                CA         90002884913
48925887291394   CRYSTAL         MARCUS                 KS         90004398872
48926498871999   JEREMY          MCDANIEL               CO         90014654988
48927499971999   KRISTINA        GONZALES               CO         90014654999
48927766891569   RAUL            MENDEZ                 TX         75091187668
48928499971999   KRISTINA        GONZALES               CO         90014654999
48929752191547   LINDA           APODATA                TX         75011857521
48931379551334   MEREDITH        ARNOLD                 OH         66014423795
48933439491569   ANDREA          JURADO                 TX         75081634394
48934754761967   MOHAMMED        ALQURAISHI             CA         90010337547
48935839591988   GREGORY         LUNGSFORD              NC         90013878395
48936518791988   DENISE          DICKINSON              NC         90014915187
48936629391988   TIMOTHY         PARKER                 NC         90014846293
48937386891959   EDRICK          DUNN                   NC         90012783868
48937852851334   CHRISTINA       EMMONS                 OH         90010878528
48938879291569   MARIA           LUNA                   NM         90014628792
48939916191569   OLGA            ORTIZ                  TX         75017109161
48942451985896   RANIA           SALMAN                 CA         90004194519
48944468961969   JESUS           MURGA                  CA         90007944689
48944755951334   IRIS            HUGHES                 OH         90013617559
48945233661967   LATOYA          SCOTT                  CA         90013242336
48947338785944   MANDY           MAXWELL                KY         90011233387
48949734185886   JANINE          WAGNER                 CA         46018897341
48951133677595   MIGUEL          ARMENTA                NV         90003291336
48951193955933   JEDIDIAH        BOSLEY                 CA         90001761939
48953716261963   GLENDA          CATALAN                CA         46014317162
48953892191988   CHRISTINA       WILLIAMS               NC         17012158921
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48958439491988   Y             LOVE                     NC         17083324394
48958563251334   MIGUEL        RIVERA                   OH         90014985632
48962653277595   RIGOBERTO     AMAYA                    NV         90002816532
48963784277595   KODY          HACKBUSCH                NV         90010857842
48968268555982   CATALINA      CID                      CA         49068992685
48968852961999   SHERYL ANN    ANDERSON                 CA         90007308529
48971216577595   EDGAR         SIERRA                   NV         90011172165
48971521591959   TAURIE        LORFILS                  NC         90004375215
48974568191569   ANTONIO       VARELA                   TX         90014975681
48974926291394   EDWIN         PORTILLO                 KS         90014949262
48978396761963   MIKE          IBRAHIM                  CA         90004873967
48979473291873   NICOLE        FRY                      OK         21055644732
48981881471999   MICHELLE      ACOSTA                   CO         90014658814
48983635391569   GILBERTO      DELGADO                  TX         90000276353
48983883971999   PAULETTE      VIGIL                    CO         90014658839
48987548991394   TRECIE        JONES                    MO         90007095489
48988217391569   CYNTHIA       CRUZ                     TX         75067332173
48989248951334   ADAM          PERKINS                  OH         90015162489
48989341872498   BROCK         VASBINDER                PA         90002293418
48991363771999   MAESTELA      BERNAL                   CO         90000193637
48992734161994   KEVIN         VOSHEL                   CA         46057737341
48994945191988   INDIA         HOLLOWAY                 NC         17096909451
49111229591523   ERIK          GUTIERREZ                TX         90013512295
49113655491394   BERTA         SANTIAGO                 KS         29056676554
49115467791394   ALONZO        DIAL                     KS         29051124677
49116654171999   ALICIA        VASQUEZ                  CO         90011946541
49116871931664   YSA           GALLARDO                 KS         90008098719
49117427691394   DEBBIE        WASHINGTON               KS         90008094276
49119724985834   MATHEW        KRAUSE                   CA         90008767249
49119789591394   SALVADOR      SANCHEZ                  KS         29056677895
49119991661967   MARIA         RAMOS                    CA         90014619916
49121258471947   SAVINA        GARCIA                   CO         90014592584
49121493271946   ELOY          EDWARDS                  CO         90014754932
49122671458528   MYEESHA       GREEN                    NY         90015556714
49125226591569   ERICA         MANSO                    TX         90010312265
49126972591583   JASMINE       VASQUEZ                  TX         90014579725
49129271791523   JAQUELIN      CARDENAS                 TX         90013512717
49129979661967   JOSE MIGUEL   CONTRERAS                CA         90007169796
49132467456355   BRUCE         REICHERT                 IA         90014884674
49133246157138   JOHN          WISLEY                   DC         90010772461
49133787191959   RUFUS         MILLIAM                  NC         90012987871
49133834771947   DERIA         SMITH                    CO         90013898347
49134564191569   JORGE         SAENZ                    TX         75002135641
49134716291959   LORETTA       AYSCUE                   NC         90013697162
49135155491873   BOBBI         TREJO                    OK         90014721554
49135289591569   EDWARD        SMITH                    TX         75089372895
49135466571946   ANA           ROBLES                   CO         90015204665
49135771551334   AMBER         CHAMBERS                 OH         66060447715
49136722636148   LAURA         SHANNON                  TX         90001377226
49139551771946   ISELA         GOMEZ                    CO         90011875517
49139718991583   JUAN          MENDEZ                   TX         90008587189
49141937371946   DAWN          LITTLEFIELD              CO         32067309373
49142156271947   ANTONIO       CLEMENTS                 CO         90013221562
49142255571946   MYRA          ARAGON                   CO         32017232555
49142316891523   NORMA         HINOJOS                  TX         90013513168
49143297791881   KEVIN         CASH                     OK         21073462977
49143316891523   NORMA         HINOJOS                  TX         90013513168
49144712191569   BLANCA        MONARREZ                 TX         90011417121
49145343991873   ISRAEL        RIOS                     OK         90014253439
49145648171999   GARY          SANKOT                   CO         38095426481
49147719491959   SHANE         BLADE                    NC         17007167194
49148231851335   THERESA       KOGER                    OH         66090452318
49148679561963   JUAN          ROMERO                   CA         46002446795
49148783491583   GABRIELA      LARA                     TX         90014677834
49149742191959   FRANCINE      CRAVEL                   NC         90015307421
49149931571947   ASHLEA        VAMPLE                   CO         90013319315
49151134261963   MYRA          CRUZ                     CA         90013041342
49152928691583   SARAI         SORIA                    TX         75089779286
49153121271947   ROSA          LOPEZ                    CO         90014971212
49153178761967   TERESA        HERNANDEZ                CA         46005351787
49153316761967   JOCELYN       HUERTA                   CA         90013753167
49153984291569   ORTIZ         CRYSTAL                  TX         90008739842
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49154788871946   REINA         LOPES                    CO         32078337888
49155444191523   ELIZABETH     ROEL                     TX         90010164441
49156655991583   MONI          SANCHEZ                  TX         90014586559
49158324151334   MICHELLE      MORRISON                 OH         90007143241
49158712393755   REBECCA       GIBSON                   OH         90012687123
49159156791873   MERLIN        ERNST                    OK         90010311567
49161249191583   ANTHONY       GURADO                   TX         90001612491
49162533391959   TIMOTHY       THOMOS                   NC         90011135333
49163444391569   FILIBERTO     GONZALEZ                 TX         90011404443
49165351791523   LUZ           URENO                    TX         90013513517
49166141791524   ROGELIO       RODRIGUEZ                TX         90004871417
49166339691583   REYNA         RODRIGUEZ                TX         75017863396
49166842461967   SERGIO        HERMOSILLO               CA         90012138424
49168972771946   CHRISTINA M   HERRERA                  CO         90011779727
49168976991569   JORGE         BAYONA                   TX         90013569769
49169464125334   TAWANNA       WHITEHEAD                WA         90015514641
49169876991583   CAROLINA      VALENZUELA               TX         90011098769
49172562391959   DONNA         BATCHELOR                NC         90014385623
49173556861963   BEN           AMEZCUA                  CA         90011525568
49173665572473   ORTEGRO       BENTZ                    PA         90014606655
49174464991569   GABRIEL       RODRIGUEZ                TX         75001974649
49174518571947   MATT          TORRELLI                 CO         32054025185
49174892791583   COREY         GONZALEZ                 TX         90007068927
49175598791873   SHERITA       MORRIS                   OK         90013835987
49175946791523   ROSA MARIA    DE ANDA                  TX         75073829467
49177763891394   BALTAZAR      BERMUDEZ                 KS         29015587638
49179532861967   JAINA         VASQUEZ                  CA         46085395328
49179747586436   TELISHA       WILLIAMS                 SC         90014657475
49181181271947   COREY         WINDLE                   CO         90010001812
49182585361967   KEVIN         RAMIREZ                  CA         46009435853
49182767251334   GREGORY       SIMMONS                  KY         66050297672
49183174271947   CHRIS         BREWTON                  CO         90013471742
49185664991583   DIANA         RUELAS                   TX         90014586649
49187573971947   CHRISTOPHE    RICHARDSON               CO         32031625739
49189313171999   CHADWICK      MCCLURE                  CO         90011593131
49191719481698   DAVID         PETERSON                 MO         90013157194
49191761871999   AUGUST        JAMES                    CO         90013947618
49194468271946   DAWN          SURBER-MILLER            CO         90012664682
49194749171999   IZAN          CORTEZ                   CO         38094737491
49195466161963   JASMINE       EADDY                    CA         46021534661
49198261284321   ZAHARE        BELLMAN                  SC         90011182612
49198576571999   DAVID         MARTINEZ                 CO         90014565765
49198615591959   TAYLOR        DUNN                     NC         90011136155
49199916171999   PUEBLO        COLORADO                 CO         38095499161
49211484871946   PHARIA        RICHARDSON               CO         90014764848
49212145931437   TRACI         MARTINEZ                 MO         27586521459
49212826251326   KYLE          GERDES                   OH         90013418262
49212826771999   ERIKA         DELACRUZ                 CO         90013948267
49213347271999   ADELINA       SISNEROZ                 CO         90010973472
49214438561963   ROBERT        ELRING                   CA         90014844385
49216155891873   ISIDRO        CAMPOSCAMPOS             OK         90014731558
49218448977554   DIEGO         MEDINA GUIJARRO          NV         43000914489
49219572433695   ERICKSON      PENA                     NC         90013605724
49221687491569   MAGDALENA     GOYTIA                   TX         75026536874
49223298971921   JESSICA       WEIN                     CO         38011152989
49223322351334   KENYA         LEWIS                    OH         66094203223
49224459651334   TONYA         RAMSEY                   OH         90014884596
49224874571999   EUGENE        AMES                     CO         90013948745
49227976781691   RAUL          CAUCHI                   MO         90013349767
49228342791959   RONALD        SOUTHERLAND              NC         17044243427
49228858391547   JOE           ALBA                     TX         75034638583
49229494571946   MARK          WORTHEN                  CO         90012664945
49231297791569   JASMINE       ALI                      TX         90007962977
49231755891959   DYSTANIE      RIGGINS                  NC         90015307558
49232454791394   VICTORIA      GILPIN                   KS         90003074547
49233994291394   GUADALUPE     RASCON                   KS         29036539942
49235317761967   GORDON        REYNOLDS                 CA         90012383177
49237459891569   CECILIA M     VILLAPANDO               TX         90013374598
49237545791569   JAVIER        DELGADO                  TX         90010825457
49238587151597   WYNTER        WILLIAMS                 IA         90014985871
49238731771946   SUGAR         ROBINSON                 CO         90011787317
49238759361963   ALTHEA        STEWART                  CA         46029457593
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49239975584322   DESTINIE        ELLISON                SC         90012389755
49241863171946   STEPHANIE       CHAPPEL                CO         90014678631
49242139971947   DAVID           BAERT                  CO         90005141399
49242521991583   VALERIA         LOPEZ                  NM         75000995219
49242851391569   GUADALUPE       CASTAÑEDA              TX         75004098513
49243554171999   ETHAN           GILL                   CO         38014565541
49244218371947   MARIA           OSUNA                  CO         90011062183
49244648771999   MICHEAL         QUINTANA               CO         90012936487
49245189291873   MARIA           HERNANDEZ              OK         90014731892
49246441171999   PAUL            MARQUEZ                CO         38019564411
49246842691569   NORMA           GALINDO                TX         75017388426
49246923361963   FREDERICK       BROWN                  CA         90012799233
49247677771999   SARAH           MONTOYA-VIGIL          CO         90013086777
49248677771999   SARAH           MONTOYA-VIGIL          CO         90013086777
49252463971946   INEZ            FALCON                 CO         90014104639
49253932684321   HOLLIE          SNORDEN                SC         90003089326
49255846471946   SANDRA          TORRES                 CO         90011788464
49256994955924   ERIC            MARTINEZ               CA         90008889949
49257478951334   HERTH           DARLENE                OH         66093694789
49257496291959   TANEISHA        THOMAS                 NC         90009924962
49261457791583   WILLIE          HOLGUIN                TX         90014604577
49261798961963   FRANKLIN        MENDOZA                CA         46088167989
49262856691873   TAWANA          WILLIAMS               OK         90010308566
49263659891959   WILLIE          JILES                  NC         90012266598
49264117861967   ANDREA          ISIDRA                 CA         46005191178
49265414271999   JEREMY          HERNANDEZ              CO         90007764142
49265919361967   MIGUEL          SANCHEZ                CA         90015299193
49266264771999   VERONICA        CHAVEZ                 CO         90008872647
49267814871999   RITA            DELACRUZ               CO         38049148148
49268297791569   JASMINE         ALI                    TX         90007962977
49269226891873   ITALY           HOUSTON                OK         90014732268
49269627371999   DARIN           RUSSELL                CO         90012696273
49271112171947   ELIAS           GONZALES               CO         90004741121
49271329891394   RAMIREZ STONE   TILE                   MO         90004803298
49272739971946   GABRIELLA       HERNANDEZ              CO         90014067399
49272939371946   GABRIELLA       SPRAGUE                CO         90011789393
49273953371946   LUCAS           ESQUIBEL               CO         90011789533
49274585391583   KARINA          CARO                   TX         90006445853
49275771691547   ARHMAND         JAIME                  TX         90004047716
49276679861963   EDEN            RODRIGUEZ              CA         90013616798
49276941661967   TERESA          MARMOLEJO              CA         90010249416
49277517158528   JOHNNY          RODRIGUEZ              NY         90015375171
49278758971946   DARLIN          CHAVEZ                 CO         90013357589
49281243271999   CORINA          MINJAREZ               CO         90001362432
49281556991569   VALERIA         VELASCO                TX         90010825569
49281889955928   JAMES           GONZALES               CA         90002798899
49282122571947   MARTA           BENTIVOGLIO            CO         90011351225
49282229391583   EMILY           PONCE                  TX         90010022293
49282244391873   JACQUELINE      DENICE                 OK         90014732443
49284242351334   SARAH           CHARLES                OH         66062582423
49284871671999   VALERIE         AMES                   CO         90002868716
49285611471947   MARIELA         TREVIZO                CO         90011886114
49285817191569   DIANE           WINGO                  TX         90012928171
49287392571946   JAIME           MARTINEZ               CO         90014783925
49288747171946   JOHN            TOUNZEN                CO         32090747471
49289885461967   CARLOS          CRUZ                   CA         90011268854
49291883357126   THELMA          NAVARRETE              VA         81095258833
49292688491583   RACHEL          REYES                  TX         90014586884
49293499871946   TREVOR          BARTOSHIK              CO         90005664998
49293736441222   DEVONNA         JOHNSON                PA         90005817364
49294257661963   RUSTY           PALMS                  CA         90010922576
49298747171946   JOHN            TOUNZEN                CO         32090747471
49299688891569   DIANA           MENDOZA                TX         75087656888
49311156261963   JULIO           GARCIA                 CA         90010221562
49311536371999   MARTIN          MENDEZ                 CO         90009925363
49314853381576   ANTONIA         PURDIMAN                IL        90008268533
49315839391583   CRUZ            ALVAREZ                TX         75001538393
49316234241222   PAYGO           IVR ACTIVATION         PA         90009812342
49321191571947   LORI            SHINER                 CO         32086771915
49322297977348   MALCOLMSAED     CUNNIGHHAM             KY         90008572979
49322473538522   MARIA           MENDIOLA               UT         90013724735
49322591371946   HOWARD          FAUTT                  CO         90011805913
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49323146961963   JERLAYNE       SIKORSKI                CA         90014031469
49324287171946   ROSE           TEAL                    CO         32092662871
49326176455947   MARIA          URIBE                   CA         90011471764
49326426351555   IRMA           ZIMIC                   IA         90012114263
49327633671947   TASHA          ARELLANO                CO         90012046336
49328499971946   KRISTINA       GARCIA                  CO         90014774999
49329257661963   RUSTY          PALMS                   CA         90010922576
49329744791583   ZULEMA         CANO                    TX         90015167447
49331647361963   ANTONIO        MONGUIA                 CA         46051366473
49331882991583   ERICK          MONTANEZ                TX         90011098829
49332355291873   THEDA          GARFIELD                OK         90008693552
49332853471946   ADRIANNA       SOOS                    CO         90010918534
49333266171946   NORMA          URBINA                  CO         32094782661
49333939171947   LIZBETH NAVA   ADAME                   CO         90003809391
49334815991394   JOSE           ESTRADA                 KS         90006058159
49335337791959   VICTOR         PEREZ                   NC         17044493377
49337154591523   CHRIS          PRANGNER                TX         90013521545
49337882825164   GREG           DANIELS                 AL         90012148828
49337989891959   SHANEALL       SATTERWHITE             NC         90013249898
49342172391523   STEPHANIE      SOLIZ                   TX         90013521723
49343174491959   ERIBERTO       BENTEZ                  NC         90008151744
49343884755928   ALEJANDRA      ONTIVEROS               CA         90014158847
49344297791569   JASMINE        ALI                     TX         90007962977
49345556171946   HEATHER        BUNN                    CO         32097505561
49345942371999   RAQUEL         RAYA                    CO         90011889423
49346977671999   STORMY         BALLOU                  CO         90005169776
49347788684381   MICHELLE       CROSS                   SC         90011087886
49348195886443   QUINZELLE      BAKER                   SC         90013941958
49351285961967   CHARLES        BURNS                   CA         90013242859
49351564171946   AARON          MATA                    CO         90014775641
49352653461967   MILAD          BEHNAM                  CA         46085666534
49353215691873   ANNA           MOWRY                   OK         90014742156
49354196471957   RICHARD        HILL                    CO         90014251964
49354528461963   LUZ            URIBE                   CA         46081485284
49354646571947   MATTHEW        QUICK                   CO         90014146465
49354736471999   JOSHUA         SANDERS                 CO         90013087364
49355562533443   BRIANNA        WILLIAMS                AL         90015025625
49356311191873   DUSTIN         PUGH                    OK         90014763111
49356372671999   CELINA         CHAVEZ                  CO         90010403726
49356592771946   ANTONIO        HERNANDEZ               CO         90014775927
49357981471999   CRYSTAL        SANCHEZ                 CO         90013519814
49358791871947   ARAM           SOLANO-ARAIZA           CO         32029337918
49359246571999   LATISHA        COX                     CO         90013952465
49359297791569   JASMINE        ALI                     TX         90007962977
49361263671999   MANUEL         ZEGARELLI               CO         90013952636
49363661891873   JUSTIN         GARNER                  OK         90013826618
49364468891873   CRISTIAN       PAREDES                 OK         90014734688
49365146891924   SUHAD          JARRAR                  NC         90011751468
49366434761967   MAXIMINO       HERNANDEZ               CA         90008514347
49367154571999   JOHN           COULTER JR              CO         38075121545
49368637271946   LARRY          SANCHEZ                 CO         90014776372
49368899631283   REBECCA        LOCKETT                 IL         90011958996
49371181593769   LYNTHIA        PUCKETT                 OH         90011611815
49372715791569   ROSA           RACON                   TX         75096527157
49373269691873   DOLORES        CERVANTES               OK         90011032696
49373499771933   THERESA        PEREZ                   CO         38010504997
49374139281698   EBONI          SPENCER                 MO         90015071392
49374354191394   TRISH          FRAZIER                 KS         29007203541
49375454461967   MELINA         O'LOUGHLIN              CA         46018504544
49377627291873   ANTHONY        COX                     OK         90014686272
49377892991583   HERRERA        CARLOS-ENRIQUE          TX         90004778929
49379438891523   MAISIE         OLIVER                  TX         90013524388
49379443271946   MATT           DYMOND                  CO         90014784432
49381447771946   VICKRY         KAYSER                  CO         90014784477
49381613591569   LUZ            COFFMAN                 TX         90014036135
49383515291583   VALERIE        ROJAS                   TX         90012785152
49383667171999   ERIC           ROSALES                 CO         90014716671
49385456771947   ROBERTO        CARMONA                 CO         90014824567
49386489691873   MARCUS         HENIGAN                 OK         90014734896
49387489691873   MARCUS         HENIGAN                 OK         90014734896
49388449991569   MARIA          MARTINEZ                TX         90012734499
49388454871946   SARAH          BERRY                   CO         90004434548
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49389472361966   MARTIN       ALVAREZ                   CA         90013424723
49389929191873   STACY        QUEEN                     OK         90013899291
49391133191569   GILBERT      FLORES                    TX         75087381331
49391534561967   ALEXANDRIA   ROLLAN                    CA         90002085345
49393677861963   ESTELA       ASCENCIO                  CA         90012076778
49394517191583   MARISSELA    RAMOS                     TX         90014455171
49394651671999   IVAN         JOHNSON                   CO         38065596516
49396973631664   JEREMY       BLITZ                     KS         90008609736
49397223761963   ARACELI      GARCIA                    CA         46066372237
49397248971947   ROBIN        GRIFFITH                  CO         90014832489
49397724391959   LAZARO       BONIFILIO                 NC         90007217243
49412294961967   JOSE         BELLO                     CA         90012762949
49412547591873   JEREMY       BALLARD                   OK         90014735475
49412748161963   MARIA        CORTES                    CA         90014137481
49413237271947   CHAD         VINK                      CO         90004632372
49413318761967   RAYLENE      BOGUS                     CA         46035083187
49415123391569   ANA          SILVA                     TX         90001861233
49418175191583   NORMA        IRIGOYEN                  TX         90013781751
49418459771999   ALVIN        MILLER                    CO         90013874597
49418668251361   WESLEY       GALLAHER                  OH         66012556682
49418997261967   PETER        OLIVARES SANCHEZ          CA         90011269972
49421461991569   HUGO         ESTRADA                   TX         90001984619
49422682371999   JOSEPHINE    RODRIGUEZ                 CO         90004546823
49425218391569   JAIME        GONZALEZ                  TX         75039502183
49426169271999   MITCHELL     DELGADO                   CO         90001871692
49426955971946   TERRI        BAHM                      CO         90011799559
49427256391583   DIANA        SALAS                     TX         90004362563
49427756671947   ASHLEY       ALTOP                     CO         90003207566
49428638491583   ALMA         TERRELL                   NM         75091806384
49429764991583   TOMAS        ALMANZA                   TX         90014587649
49433244571999   JESSICA      CARREIRO                  CO         90012872445
49433615857134   MAHDI        MOHAMED                   VA         90007726158
49433685771947   DANIELLE     HAMILTON                  CO         90014236857
49434486791569   BARAGAS      RICHARD                   TX         90011664867
49434781391583   MIGUEL       AGUILAR                   NM         90003927813
49435445991959   DANIELLE     BENJAMIN                  NC         90001194459
49435571491873   ALEJANDRA    MENDOZA                   OK         90014735714
49435914691583   JASON        AVILA                     TX         90011099146
49436731491583   ROY          MURILLO                   TX         75014737314
49436849591569   HELEN        POWELL                    TX         90011938495
49436916491583   ANA          RIOS                      TX         90011099164
49439776891873   ARACELY      HERNANDEZ                 OK         90010057768
49439787971946   JANE         FOSTER                    CO         90012817879
49441673271946   RICARDO      QUINTERO                  CO         90013116732
49443716691394   MAVEL        TORRES                    KS         90001267166
49444296141288   THOMAS       CLIBBENS                  PA         90008732961
49444427491583   ROBERT       ULLRICH                   TX         90007384274
49447492161963   JULIAN       AGUIRRE                   CA         46094534921
49447581191394   JOSE         GALDAMEZ                  KS         90013995811
49448542591583   CARMEN       PEREZ                     TX         90005195425
49448568255924   EDUARDO      MENA                      CA         90009205682
49451237261967   FLYNOIND     DEMERY                    CA         90009372372
49452527291959   GABRIELA     DURAZNNO                  NC         17016955272
49453598571946   ABRAHAM      MORENO                    CO         90014785985
49453892261967   EDITH F      ROGERS                    CA         90011488922
49453912191873   TASHA        WILLIAMS                  OK         90002989121
49454629991873   DEMARIO      FOWLER                    OK         90014736299
49457335691583   YASMIN       VIVAR                     TX         90013493356
49457492171999   SHANES       SMITH                     CO         38054864921
49457611861963   SHONTANE     LUCAS                     CA         90003916118
49457919491583   YASMIN       VIVAR                     TX         90011099194
49458113271946   GRACE        SANCHEZ                   CO         90011801132
49458179741265   BRANDYN      GOFF                      PA         90008391797
49462329691873   CHANIKA      ANDERSON                  OK         90011033296
49463215871999   RACHELLE     FINLEY                    CO         90003902158
49463281891873   MELODY O     BOECKMAN                  OK         90010332818
49463721841222   CATIE        PARRICH                   PA         90007317218
49464688757124   JOAQUINA     MONTES                    VA         90006966887
49465923361963   FREDERICK    BROWN                     CA         90012799233
49466478691569   MARINA       CRUZ                      TX         90007774786
49466968261967   COSETTA      FOSTER                    CA         46048249682
49467316591569   ARMIDA       ZAMORA                    TX         90010343165
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49467353291394   GLENNA       RAY                       KS         90005813532
49469854991583   JESSICA      URUETA                    TX         90012468549
49471597771999   MICHAEL      GONZALES                  CO         90011315977
49472468291394   JEAN         KEITH                     KS         90007184682
49473948571947   SARA         CODDINGTON                CO         32091199485
49474355271947   STEFFANIE    HERRING                   CO         90014613552
49474493171999   JENNIFER     SANCHEZ                   CO         90007894931
49475395391959   CAROL        JONES                     NC         90012903953
49477348341222   BRIAN        GRAVANTE                  PA         90007323483
49478642691959   ERIC         SLEE                      NC         90008056426
49478664651334   STEPHEN      PETERS                    OH         66025946646
49479187291873   PEARL        OFORIO                    OK         21062801872
49481136691873   RAMSEY       ASHLEY                    OK         90007181366
49483261891959   TRAVIS       HANKINS                   NC         90014832618
49483547871999   LETICIA      ESCALANTE                 CO         90002305478
49484434971999   CHRISTINA    OGRADY                    CO         90012564349
49485187791569   ERICA        GARCIA                    TX         90013271877
49486793991583   DAVID        MARTINEZ                  TX         90014587939
49487198371947   TINA         BELL                      CO         90013021983
49487635991569   ANABEL       ENRIQUEZ                  TX         75023716359
49488144891959   MARCUS       MCLEAN                    NC         90013151448
49488652161963   JUAN         PINEDA                    CA         46043086521
49489287284371   NAKIDA       GATHERS                   SC         90011232872
49489427571999   LANA         BISHOP                    CO         90006234275
49492931461963   ALLEN        TOOMEY                    CA         90011869314
49492997155997   AIMEE        LAFRENAYE                 CA         90004929971
49494114791873   POOH         WILSON                    OK         90006831147
49494921761967   MARIA        HAROS                     CA         90013389217
49494943777355   CHARLES      WILLIAMS                   IL        20597279437
49495411791959   PORTIA       WILLIAMS                  NC         90012464117
49495643991959   GERMAN       GAMONEDA                  NC         90014466439
49495685971946   AUBRY        ATMA                      CO         90014786859
49495973591549   LUIS         HINOJOS                   NM         90012589735
49498391271946   TANESHA      DOTTSON                   CO         90011803912
49499227561963   GABRIEL      CONTRERAS                 CA         90013502275
49511347361967   LATOSHA      LUCAS                     CA         90014633473
49511929257127   CIRA         JAIMES                    VA         90005679292
49512169491959   OLIVIA       HERNANDEZ                 NC         17076521694
49513536771999   REBECCA      RUYBOL                    CO         38016285367
49515298271946   BRIAN        MCCONNAUGHHAY             CO         90003232982
49516645471999   JESUS        VALLES                    CO         90003796454
49517567161967   MELODY       TIBBETS                   CA         46077735671
49518327171947   DIANA        HANCOCK                   CO         32033333271
49521311871946   JAKE         MCNEESE                   CO         90014793118
49521712791873   MARLENA      ROCOLE                    OK         21015057127
49521825857126   ANGELA       DIAZ                      VA         90009998258
49524748191569   ROSALIO      ROJAS                     TX         90009937481
49526316571946   CINTHIA      ROSARIO                   CO         90013293165
49528776591873   LURQUETTA    JAMES                     OK         21044107765
49529868851555   CYNTHA       HOBBS                     IA         90014568688
49531222591569   MAYRA        RUIZ                      TX         90008102225
49531566661963   JASMIN       MALDONADO                 CA         90011885666
49531666961967   MARTHA       PEREZ                     CA         90008206669
49531682871947   JOSE         OSORIO                    CO         90009246828
49534613391394   JOSE         MARTINEZ                  KS         29097456133
49534623841222   SEAN         JACKSON                   PA         51058386238
49535267691873   SHALEEN      WHEATLEY                  OK         90014742676
49536362571946   JADEN        MORGAN                    CO         90014793625
49538146791394   ANDY         MCGREGOR                  KS         29016001467
49539265291583   LUIS         DURAN                     TX         75003222652
49541754771999   JUSTIN       HORN                      CO         90001067547
49542471461967   MELANIE      FOOTE                     CA         46021894714
49543383391569   MARGARITA    DAVILA                    TX         90001363833
49545495491959   NABRICA      REAVES                    NC         90011154954
49545539391569   ANTONIO      MONTOYA                   TX         90003615393
49547289491583   XAVIER       VALENZUELA                TX         75030932894
49547657571999   ALISSA       SANCHEZ                   CO         90014996575
49548129291569   ROLANDO      MOTA                      TX         90000791292
49548332391873   MANGZO       MILUN                     OK         90014743323
49549842191583   SONIA        AVALOS                    TX         90014588421
49549921136189   ROBERT       WILLIAMS                  TX         90004599211
49551345391873   FERNANADO    GARCIA                    OK         90014743453
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49551921136189   ROBERT       WILLIAMS                  TX         90004599211
49552364991873   SARA         ARZU                      OK         21011363649
49552491891569   JULIO        MOLINA                    TX         90000184918
49554349491873   JERAMIAH     RATHFON                   OK         90014743494
49555114291569   CHRISTOFER   RIOS                      TX         90014611142
49556998271947   MELISSA      BALTIERRA                 CO         90012369982
49559666961967   MARTHA       PEREZ                     CA         90008206669
49562525461967   KELLY        RAMIREZ                   CA         90014735254
49565578361967   MICHELLE     SILVA                     CA         46017705783
49565784591959   DOUGLAS      LAPAN                     NC         90014427845
49566381891873   DIANNA       BOFFER                    OK         90014743818
49567127771999   JUSTIN       RICHARDSON                CO         38047891277
49569699391959   EVELYN       GARCIA                    NC         90014916993
49571397871999   JUANITA      JAQUEZ                    CO         38070443978
49572863191959   ALICIA       FLONARD                   NC         17016818631
49573656957126   ANA          MARROQUIN                 VA         90005946569
49574198371946   TINA         BELL                      CO         90013021983
49574573991583   ANGELA       DURAN                     TX         90014715739
49574736341222   PATTIE       JOHNSON                   PA         51016067363
49576322671947   MODESTO      REYES                     CO         90014693226
49579123461967   LISA         SUDA                      CA         90011271234
49579761571999   HERACLIO     AYUNGUA                   CO         90002497615
49581426791873   DOROTHY      BRITTO                    OK         90014744267
49581654771947   RENEE        HENRY                     CO         90012736547
49582218291889   ANGIE        NEWCOMER                  OK         90003832182
49582443371946   MICHAEL      NORMAN                    CO         90014794433
49583475291394   DAISHA       LEONARD                   KS         29000714752
49583833291569   ISABEL       ORTIZ LEVARIO             TX         90015138332
49584696371946   ERIKA        GARCIA                    CO         32073976963
49585137291569   TODD         MURRAY                    TX         75087341372
49585459191873   LISA         MCCLOUD                   OK         21092854591
49586135371999   JENNIFER     BUTCH                     CO         38072571353
49587846491583   VIRIDIANA    MALDONADO                 TX         90003958464
49588266341222   QUINETTE     BANTOMA                   PA         51016062663
49588324671999   GEORGE       YACCARINO                 CO         90012263246
49589511491959   ROBERT       DOCTOR                    NC         90000215114
49591483171946   BILL         MAIER                     CO         32090274831
49592227891569   LARRY        MORIN                     TX         75017902278
49592594991959   DANIELLE     SMITH                     NC         90015055949
49593772591583   EFFRAIN      CALDERON                  TX         90011567725
49594448391873   BRANDON      FOSTER                    OK         90014744483
49596495671946   TREVOR       MORARIE                   CO         90014794956
49597713591569   JUAN         LEANOS                    TX         75083047135
49599851671999   DONNY        GARRIS                    CO         90013088516
49611613571947   LUZMARIA     CASTANEDA                 CO         32025006135
49611713591569   JUAN         LEANOS                    TX         75083047135
49612544191959   JUAN         MURRILLO                  NC         90012425441
49612789436189   ROBERT       GARCIA                    TX         73516597894
49615174693724   EUGENE       DERANLEAU                 OH         90014581746
49615855591583   LIZETH       RODRIGUEZ                 TX         90012448555
49617969271947   TIZOC        RODRIGUEZ                 CO         90011489692
49618161471999   VICTOR       PEREZ                     CO         90012381614
49618722391583   CLUADIA      ORNELAS                   TX         90003667223
49619115561963   JOSEPHINE    FLORES                    CA         90014011155
49619515936189   TABATHA      CALZADA                   TX         73516615159
49621514191583   NANCY        BALDERAS                  TX         75089135141
49621713591569   JUAN         LEANOS                    TX         75083047135
49624715471946   JANICE       SPRINKLE                  CO         32072527154
49625383761967   CURTIS       PATTERSON                 CA         90014633837
49625484791873   VICTORIA     HERNANDEZ                 OK         90011664847
49627541991873   SHYANNA      CLARK                     OK         90014745419
49628568471999   JEFF         MARES                     CO         90001835684
49629521991959   TIAH         CASTELINE                 NC         90013855219
49631782671999   CHRIS        GARCIA                    CO         90014037826
49632474561965   DAVID        MIRELES                   CA         90001184745
49632535191394   BRETT        BURGESS                   KS         29064625351
49632648671946   ARLENE       ACOSTA                    CO         90011196486
49633173491583   NORMA        PALACIOS                  TX         90013321734
49633698491569   MARIA        RODRIGUEZ                 NM         90002086984
49633961671999   GERALD       RIVERA                    CO         90012889616
49636767271946   JASON        GULLIFORD                 CO         32097897672
49636825371947   JEFFREY      HOOCK                     CO         90014158253
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49638646191583   VERONICA         SOTO                  TX         90009116461
49642519186478   ALLEN            WARD                  SC         90015265191
49643316561967   ESMERALDA        GUZMAN                CA         90013073165
49643488171947   AUSTIN           UBALLE                CO         90015474881
49643543691873   JONATHAN         JAGGER                OK         90014745436
49643947991395   SHERRI           MCDONALD              KS         90014069479
49643959361963   NORMA            CASTRO                CA         90006529593
49644871861967   ISRAEL           CASTANEDA             CA         90012668718
49645822291569   EDGAR            POLANCO               TX         90013808222
49646314971947   TERRY            LOVE                  CO         90012963149
49648773361963   SHANQUETTA       BLACKMON              CA         90014537733
49649726391873   KHEDRICK         MIMS                  OK         90014777263
49651338591889   CYNTHIA          GILLEY                OK         90011983385
49653384891394   MARICELA         LARA CRUZ             KS         90000103848
49653389991873   CHARLENE         BALLARD               OK         21028613899
49654256391569   DIANA            SALAS                 TX         90004362563
49654669391523   JOSEPH           GUYE                  TX         75088176693
49655459491569   JOSE             OROZCO                NM         75036984594
49657336871999   FRANK            SANCHEZ               CO         90013793368
49658384991873   MATTHEW          NITCHALS              OK         90014763849
49658466991569   RAUL             RODRIGUEZ             TX         75003344669
49659514491569   APRIL            MACIAS                TX         75069535144
49659545371946   TINA             TARIN                 CO         90011815453
49659596691873   KAYLENE          HAIR                  OK         90014745966
49661868654155   TONI             MILLER                OR         90011118686
49663645271946   EVA              BERRYHILL             CO         90014796452
49663934191873   TERESA           MOTT                  OK         21016089341
49663947671999   JESALI           MARQUEZ               CO         90009299476
49664787191959   TIFFENEY         GENTLE                NC         90012147871
49666125471946   MARLA            CHRISTIANSEN          CO         90012941254
49666497591959   YOLANDA          SPRINGS               NC         90014614975
49667327171947   TAMMIE           CRAIG                 CO         90014693271
49668929591569   MONICA           OLIVAS                TX         90012949295
49669484491569   DANIEL           CERA                  TX         90006994844
49672945361963   NICK             LOPEZ                 CA         90010359453
49672964691583   JAVIER           TOREJO                TX         90011099646
49673947671999   JESALI           MARQUEZ               CO         90009299476
49674583491873   LEONOR           HERNANDEZ             OK         90014745834
49675657271946   HEATHER          GRAHAM                CO         90014796572
49677595891583   CYNTHIA          DE ANDA               NM         90008895958
49677888891873   DEBRA            STITIES               OK         90001618888
49677962691527   JOB              TERRAZAS              TX         90001369626
49678618651382   SHEILA           WILLIS                OH         90004546186
49679353258528   JIMMY            ROLDAN                NY         90015593532
49679779691873   BRANDI           CUMINS                OK         21094717796
49681692791959   RAFAEL RICARDO   GONZALEZ              NC         90012106927
49682666471946   SCOTT            SMITH                 CO         90014796664
49682788191394   CHUCK            MORSS                 KS         29090557881
49682835791583   CESAR            NAVARRETE             TX         90013548357
49684661771999   STEPHANIE        QUINTERO              CO         90013326617
49684678471947   JALENE           ARGUELLO              CO         90011226784
49684932991959   TIMOROW          DOBBINS               NC         90000269329
49684957371947   KENIA            THOMAS                CO         90012579573
49686255471947   MAHNAZ           BROWN                 CO         90012852554
49687613591873   LARRY            BENNER                OK         90014746135
49689676761963   TANYA            NEWGENT               CA         90012256767
49692247371999   GREGORY          GUERRA                CO         90015612473
49692571191569   ELIAZER          BUSTILLOS             TX         90013015711
49692633271999   GREGORY          GUERRA                CO         90010416332
49694398891569   MONICA           SANCHES               TX         75003723988
49694521891873   CHRISTINA        DONALDSON             OK         90010395218
49696227371947   SUSAN            SMITH                 CO         90002142273
49697115671947   ELEANOR          ARELLANO              CO         90012871156
49697249471947   CHARLES M        HECKERT II            CO         90006462494
49697621171946   ELOINA           GONZALEZ              CO         32029006211
49698183361967   MARLYN           CHAVARIN              CA         90011701833
49698884691583   SHIRLEY          RAZO                  TX         75067518846
49712941691873   CHARLIE          CHILDS                OK         90008679416
49713931791583   JORGE            ALVARADO              TX         90014589317
49714931791583   JORGE            ALVARADO              TX         90014589317
49715274291569   OSCAR            FLORES                TX         90013742742
49715389291959   LARRY            RICHARDS              NC         90014573892
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49716141171947   BRIAN AND MARINA   LONG                CO         90013461411
49717386591583   ELEAZAR            VARELA              TX         75087383865
49718741691873   WENDY              GONZALEZ            OK         90014747416
49722723291569   SERGIO             SALCIDO             TX         90015327232
49724481691569   MANUEL             JIMENEZ             TX         90000184816
49724931791583   JORGE              ALVARADO            TX         90014589317
49726823541222   AMBER              FITZROY             PA         51010928235
49727667261967   SHEENAE            WILLIAMS            CA         90002626672
49728296391959   GREGORY            MC CANELLEY         NC         90015092963
49728914761967   MAGDALENA          CORTES              CA         90013129147
49729432991873   AMY                GROSE               OK         90012154329
49734368691527   FLORENTINA         LUJAN               TX         90005033686
49734631455947   STEVEN             CHAMBERS            CA         90007806314
49735994191959   TERESA             HANNAH              NC         90014599941
49736251471946   JON                MORRIS              CO         90014912514
49736371461963   DAVID              CUBILLAS            CA         90013263714
49737496171999   JOSE               RODRIGUEZ           CO         90011654961
49738949486478   CRISTINA           ALTA MIRANO         SC         90013889494
49739462991597   ELIZABETH          LOPEZ               TX         90010974629
49739775591881   RUBEN              COLATO              OK         90011147755
49739813884381   CHRISTEN           TORNERO             SC         90013618138
49741191184368   JOSE               HRNANDEZ            SC         14571561911
49741542736189   BERTHA             DELAFUENTE          TX         73517005427
49741889591873   ROSA               CHAVEZ              OK         90014748895
49745427891583   FERNANDO           MORALES             TX         75096554278
49746461861963   VICTOR             LARROQUE            CA         46064104618
49746492891873   SONIA              VIRUETE             OK         90011034928
49746659691583   BEATRIZ            RODRIGUEZ           TX         90014516596
49747524184371   IASHA              SIMMONS             SC         90008905241
49749877271947   ANDREW             MCROY               CO         90014158772
49751996991959   DAVID              GONZALEZ            NC         90012999969
49753472691569   AARON              CARRILLO            TX         90010944726
49753594484332   LARRY              HAYNES              SC         90015045944
49754815791583   ARMANDO            GUAJARADO           TX         75029238157
49755252371946   KYALLAH            COOPER              CO         90014252523
49756592861963   JERALD             LOVE                CA         90013525928
49757399991873   RICHARD            MICHAEL             OK         90014763999
49757814371947   HAROLD             CATRELL             CO         90015328143
49758149461967   JAMES              GARCIA              CA         90013381494
49761421971999   ANTONIA            ZAMORA              CO         90014754219
49761862961967   JOHANNA            SANDERS             CA         90012428629
49762419491873   KANDICE            CRONE               OK         90014764194
49765645261967   PEDRO              OBRETADO TENORIO    CA         90009966452
49765798571999   SERGIO             MORALES-ORONA       CO         38064927985
49765921491959   CESAR ROLANDO      DE LEON GONZALEZ    NC         90013319214
49767565471999   TAMMY              SMITH               CO         38020565654
49767961736189   STEPHANIE          SUAREZ              TX         90005419617
49768183491959   JOSE               FLORES              NC         90014481834
49768437491873   STEPHANIE          BENNETT             OK         90014764374
49769695391959   EDUARDO            GARCIA              NC         90010256953
49769862971999   DIANA              BARELA              CO         38048138629
49771389436189   CATHERINE          GOMEZ               TX         90012653894
49772437491873   STEPHANIE          BENNETT             OK         90014764374
49773457791583   JUSTINE            RODRIGUEZ           TX         90007344577
49773665671946   TIMOTHY            THILL               CO         90014806656
49775452561963   MIREYA             CERVANTES           CA         90008944525
49775671971947   JAMES              BURKE               CO         32015316719
49776253671947   KRISTINA           LOPEZ               CO         90003052536
49777676471947   JUAN               DIAZ                CO         90011926764
49777676761963   TANYA              NEWGENT             CA         90012256767
49778837191569   MORLOCK            JENNY LEE           TX         90006048371
49781883291569   OSCAR              LOPEZ               TX         90013188832
49782368358528   PABLO              MARQUEZ             NY         90015593683
49782383161967   DANIEL             MANCINI             CA         46038253831
49783285671947   JAMES              WILSON              CO         90011232856
49784765591873   GINESSA            BLAKE               OK         90011107655
49786796171946   ROSENDO            RAMIREZ             CO         32091047961
49787636291873   DENA               MACK                OK         90008046362
49789419191569   MANUEL             AMADOR              TX         90013254191
49791456671947   GABRIEL            RAKEMEL             CO         90012794566
49792218161963   MARIBEL            ROMERO              CA         90009472181
49792527193751   AUDREY             HERALD              OH         90010155271
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49792772391888   MELISSA      GILTON                    OK         90010697723
49793768491569   ALMA         MARTINEZ                  TX         75035337684
49795366371999   HEATHER      BECKER                    CO         90014123663
49795549371946   MARIA        RODRIGUEZ                 CO         90004685493
49796556191569   SERGIO       ALMERAYA                  TX         75064205561
49797133891873   YESICA       GRISELDA                  OK         90015041338
49797175391873   CARLOS       JIMENEZ                   OK         90012791753
49797496671946   JULIO        FIGUEROA                  CO         90014844966
49799131971947   MARLENE      SMITH                     CO         90001661319
49811442585968   JOE          BROWN                     KY         90015164425
49815235461967   JESSE        CAMACHO                   CA         90006252354
49815433191569   ANA          RAMIREZ                   TX         90013094331
49815767891394   ALFREDO      MONTEZ                    KS         29067177678
49816578461967   JESSICA      ORTIZ                     CA         46093565784
49817389891569   ANA          VILLELA                   TX         90014193898
49818148961967   GABRIEL      LOPEZ                     CA         46024501489
49818859871947   LUZ ELENA    VEGA DOZAL                CO         90010398598
49821689991527   VERONICA     TORRES                    TX         90005846899
49822256891873   MARIA        GUTIERREZ                 OK         90014772568
49826885771947   JACKI        COWAN                     CO         90011838857
49827679991873   ALEJANDRO    GONZALEZ                  OK         90000626799
49828455891569   VIRGINIA     VILLANUEVA                TX         90014514558
49832927161963   ERIKA        CORONA                    CA         46090159271
49834198561547   JORGE        CORTEZ                    TN         90015041985
49836348891569   TEODORO      FRAGOSO                   TX         90008783488
49838126691873   MATTHEW      MYERS                     OK         90012871266
49838338971947   LYNNE        OSTWALD                   CO         32077143389
49843727571999   MARIA        CANTY                     CO         90002727275
49845435761963   CHERYL       SMITH                     CA         90012344357
49846844571949   MISTY        SABO                      CO         90012598445
49847784271999   ALEX         PEREZ                     CO         38016567842
49854665191569   ALAN         RODARTE                   TX         90010826651
49855615791583   MONICA       SEATON                    TX         90005506157
49856225291583   RAMON        DIAZ                      TX         90002392252
49857197371946   TAYLOR       FULKERSON                 CO         90012791973
49858535571947   MAJEEDA      MURPHY                    CO         32068305355
49858742361953   DEMETRIA     KIMBLE JOHNSON            CA         90010567423
49859217591569   JUAN         OLMOS                     TX         75014692175
49859991431472   BETTY        LANDERS                   MO         90001409914
49861626891569   PATRICIA     PEREZ                     TX         90007966268
49864375871947   CECILIA      MONTELONGO                CO         90010003758
49865351891873   CRYSTAL      HENDERSON                 OK         90014773518
49868357671946   THEA         SKINNER                   CO         90014883576
49868857761967   TANYA        FLORES                    CA         90010438577
49871835971946   VICTOR       CASTANEDA                 CO         90004498359
49872255171947   LALANA       WEIMER                    CO         90011342551
49876924561967   MARIA        PEREZ                     CA         90013639245
49877244371999   DUANE        WALLER                    CO         90010442443
49877448291569   JOHANNA      JARAMILLO                 TX         90012494482
49879872891569   ESDEINE      GUARDADO                  TX         90012978728
49881893691959   MARIA        VAZQUEZ                   NC         90011408936
49882198261963   ARIANNA      RAMIREZ                   CA         90011581982
49884674961967   ZAID         LUNA-ALVAREZ              CA         90014006749
49886413671946   MAGDA        JACQUEZ                   CO         90000944136
49886578791873   MCGEE        JAMAIL                    OK         90011035787
49887372871946   GEORGE       STEVENS                   CO         90012763728
49887689991394   MICAELA      PONCE                     KS         90009626899
49888489291394   CONCEPCION   CASTRO                    KS         90009024892
49889744547833   DE JA        THOMAS                    GA         90010127445
49891777261963   DONDRA       BARRON                    CA         90013647772
49892958191873   RALPH        HOFFMAN                   OK         21088909581
49893272271999   DUANE        WALLER                    CO         90010442722
49896351241222   KEVIN        BEATTY                    PA         51057533512
49897322991569   JOSE         GANDARA                   TX         90013743229
49897484871999   ANTHONY      CASADOS                   CO         38007754848
49897722391959   SIDHARTH     BHATIA                    NC         90011167223
49915267871999   SHANTELLE    ARGUELLO                  CO         90015072678
49915567161967   ALFONSO      MAZARI                    CA         46019075671
49916165591959   HOMAR        CASTILLO                  NC         90002861655
49917571891569   QUNONEZ      OCTAVIO                   TX         90004145718
49917761161925   FELICIA      HANSEN                    CA         90007797611
49918182486478   SUSAN        RODGERS                   SC         90015361824
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49919456951348   ANTHONY      ADAMS                     OH         90012154569
49919466361967   MARTIN       MORENO                    CA         90014934663
49919545971999   ODELIA       BACA                      CO         90014615459
49919855261498   DIAMOND      INGRAM                    OH         90013868552
49921479291873   HUGO         LOPEZ                     OK         90009884792
49921715771946   MIKE         MIDDLEBROOKS              CO         32017547157
49922617191394   SONDRA       RADCLIFF                  KS         29098056171
49927516691569   CLAUDIA      GARCIA                    NM         90014385166
49928966171999   LETISHA      ADAME                     CO         90012479661
49932662691569   ALICIA       PLACENCI                  TX         90007966626
49933251671947   CARLOS       SANTIAGO                  CO         90013882516
49934635271947   DILLON       MATTHEW                   CO         90004536352
49934919161963   NERI         JUAREZ                    CA         46003919191
49935667858528   CARLOS       AVELARDO                  NY         90015606678
49942474991583   CLARISSA     CORDOVA                   TX         75058944749
49943646791583   GILBERTO     LOYA                      TX         75096556467
49946461391873   CELIA        MALDONADO                 OK         90014774613
49946628771999   DONALD       GONZALEZ                  CO         90008496287
49947667891889   EDWIN        TORRES                    OK         90003786678
49948115371999   CASEY        BUNDY                     CO         90002051153
49957426471946   DANIELLE     GALICIA                   CO         90010994264
49958221861967   NORA         JOHNSON                   CA         46007372218
49959694171947   DAVID        WEBB                      CO         90013876941
49959794461995   LEONARDO     GARCIA                    CA         90011617944
49961865861967   RODRIGO      GARCIA                    CA         90005038658
49962634291583   MARTINEZ     HOMER                     TX         75007006342
49962937191873   CELIA        MARTIN                    OK         90010529371
49963989891959   SHANEALL     SATTERWHITE               NC         90013249898
49964634471946   JORGE        ARRIAGA                   CO         90014846344
49966193771947   RICKY        WILLIAMS                  CO         90011861937
49968237271946   ROBERT       PROCTOR                   CO         90003252372
49968513491873   LUIS         CUEVAS GARCIA             OK         90014775134
49968844571999   DESTINY      FIMBRES                   CO         90011668445
49971812791569   TEDDY        MILLER                    TX         75027058127
49972425271999   DAVID        DECESARO                  CO         38034044252
49972527791569   LISEL        FLECK                     TX         75089105277
49972627791873   ISMEAL       KING                      OK         90011036277
49974285225637   TRISTAEN     MATTHEWS                  AL         90015382852
49975731991569   ANGELICA     VAZQUEZ                   TX         90011417319
49977343441222   MONICA       TAYLOR                    PA         90013933434
49979296561963   TAMESHIA     WALLACE                   CA         90011012965
49981363991569   NICHOLAS     LOPEZ                     NM         75009213639
49981947371999   CRYSTAL      MCALPINE                  CO         90011669473
49982737991569   LLUVIA       JUAREZ                    TX         75087307379
49983634471946   JORGE        ARRIAGA                   CO         90014846344
49983952791583   MARISELA     OCHOA                     TX         75088379527
49984432156355   GABRIELLA    CARRILLO                  IA         90011514321
49984856391959   JOSE         BETANCOURT                NC         90010798563
49985516661945   LISA         MIGUEL                    CA         90005565166
49985798571947   CONSLYN      MURRY                     CO         90002607985
49986663991873   MEGAB        MAXWEL                    OK         90005986639
49987132171946   LATESHA      HALL                      CO         90004501321
49987632671947   COURTNEY     MICHELLE                  CO         90013396326
49989781271946   MELISSA      BALTIERRA                 CO         90014847812
49992666147968   RENE         MENDEZ                    AR         90008706661
49993887171946   KAELEI       KING                      CO         90013448871
49994534891873   DORA         SILVERIO                  OK         90014775348
49994624991569   JESUS        VILLALBA                  TX         90002766249
49997437371946   VICTORIA     WALKER                    CO         90009904373
49997571336135   KRISTI       SLAYTER                   TX         90013215713
49997992391946   ALVIN        HINES                     NC         90014279923
49999475386478   GLORIA       CERON                     SC         90013804753
49999664791959   KAYLA        SCOTT                     NC         90011176647
51112537391895   JUDY         HAYTER                    OK         90002615373
51113439533696   DARIUS       PRICE                     NC         12090734395
51114538361973   MAX          HOFSTETTER                CA         90012885383
51114723897123   TROY         MCMILLAN                  OR         90010437238
51114826761971   BOBBY        BAKER                     CA         90010768267
51116923584357   MICHAEL      OLESON                    SC         14570609235
51117695833699   JUAN         CONTERA                   NC         90014486958
51118545361975   RAY          JOHNSON                   CA         90005895453
51118946991576   MARIO        GONZALES                  TX         90014389469
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51119321861973   CAROLINA      DOZAL                    CA         90015323218
51121719357148   GERMAN        QUINTANILLA              VA         90013947193
51122122957157   EARL          WILLIAM                  VA         90014161229
51122574685862   DIEGO         VARGOSA                  CA         90014705746
51123854957148   DANIEL        BRAN                     VA         90013948549
51124546161973   BETTY         PETERSION                CA         46070165461
51125516151348   ANDREW        ADAMS                    OH         90013455161
51125885757148   GABRIEL       LIUZZI                   VA         90013948857
51126885757148   GABRIEL       LIUZZI                   VA         90013948857
51126896285862   MARIA         AGUILA                   CA         90014178962
51127965151348   CARRIE        STATON                   OH         90014809651
51128889357148   JOSE          HERNANDEZ                VA         90013948893
51128921191895   MARIO         CALIX                    OK         90011979211
51129985757143   DFSD          ASFDSA                   CA         90007319857
51132332561975   BLANCA        SANDOVAL                 CA         90014833325
51132465433699   STEPHANIE     BINNS                    NC         90012224654
51132644791989   ELMER         MONGE                    NC         90009666447
51132974784373   JOSHUA        ROBINSON                 SC         90006569747
51133142651348   SCOTT         BERGER                   OH         90003461426
51133826757148   DANIEL        GUZMAN                   VA         90003268267
51134343591576   AIME          MARTINEZ                 TX         90002233435
51134863957148   DOROL         KING JR                  VA         81094778639
51136547757157   JUAN          MARQUEZ                  VA         81050875477
51136774251348   LINDON        THOMPSON                 OH         66022367742
51138395357121   REYES         RODRIGUEZ                VA         81060243953
51139263133699   LESLIE        HARDY                    NC         12005332631
51139499384357   JEWELDAWN     JOHNSON                  SC         90013544993
51139643361973   JOPHNSOOM     CRISTEAL                 CA         90008056433
51139778591989   FLORENTINO    MARTINEZ                 NC         90014987785
51139862933696   MELISSA       LINEBERRY                NC         90014008629
51141427984373   LINDA         BREMENOUR                SC         90013984279
51141974431429   LATASHA       LYNCH                    MO         90005649744
51142596791884   DALLAS        COLLETT                  OK         90008825967
51143619891895   DEBRA         FREGARA                  OK         90012346198
51143857433696   RONALDLEE     SNIPES                   NC         90014778574
51146476733699   SEMORA        BITTLE                   NC         12091594767
51147974584357   SHEYTOREIA    RIVERS                   SC         90014699745
51148495861975   NOEMI         LOPEZ                    CA         90009354958
51151912891895   FRANCISCO     OCHOA                    OK         21097149128
51152361261973   KALEE         RASMUSSEN                CA         90013453612
51153319951348   JERMAINE      RUCKER                   OH         90010203199
51154333784357   BRYAN         BROWN                    SC         90011393337
51154672291576   LISET         REYES                    TX         90012746722
51155582931428   SHANNON       JONES                    MO         27582075829
51156138833696   TAMI          BROWN                    NC         90006241388
51156356861971   THOMAS        EDWARDS                  CA         90015213568
51157978591895   LISA          GONZALEZ                 OK         90015459785
51158628484373   CHRISTINA     MCCLAIR                  SC         90012336284
51159571384373   AVENLEN       CASELLA                  SC         90014915713
51159648561975   JOSE          AYON                     CA         90010056485
51159882191989   JESSIE        SECHRIST                 NC         90015148821
51161582861971   FARIS         QAWASMI                  CA         90001765828
51161595684357   CARRIBEAN     JAMES                    SC         90013155956
51163554861975   TANIA         GONZALEZ                 CA         46080775548
51164495184373   JORGE         MORALES                  SC         19014214951
51166936561973   TIA SHANICE   NIX                      CA         90013639365
51167347833696   LINDA         GANT                     NC         90009543478
51167632261975   JUDITH        ROBLES                   CA         90001676322
51167844157157   PATRICIA      FULLA                    VA         90000938441
51168197784357   MARK          SKONIECZENY              SC         90010811977
51168498357157   KENNETH       REDWOOD                  VA         90007514983
51169297157157   JOSE          PEREZ                    VA         81065662971
51172238885862   ALFREDO       RODRIGUEZ                CA         90009852388
51172641361975   SALVADOR      DURATE                   CA         90011316413
51172888484357   DAJAA         FIELDS                   SC         90013648884
51173512861971   ANNIE         BARNS                    CA         90007285128
51173652391934   MARILYN       COLES                    NC         90013946523
51174565761973   ANTHONY       HOARD                    CA         90014725657
51176932357148   BLANCA        SORTO                    VA         81045519323
51177531861973   PONZEO        NANCY                    CA         46004145318
51177627391576   ITZEL         CERECES                  TX         90010526273
51177752881678   ALEJANDRO     MELENDEZ                 KS         90001307528
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51178116285928   TONEKA          ANDERSON               KY         90011051162
51179296784373   GUADALUPE       VARGAS                 SC         19061592967
51182957291556   ROBERT          FERNANDEZ              TX         90006659572
51183342461971   CHRIS           JOHNSON                CA         46007863424
51184228561971   ISAEL           LEON                   CA         46017642285
51184395771964   MATTHEW         CARTER                 CO         90003153957
51184717457157   JESSICA         NOONE                  VA         90008307174
51186435491934   KAREN           DAVIS                  NC         90013204354
51187342584357   HERIBERTO       CRUZ                   SC         90014053425
51187544861971   TYLA            WILKS                  CA         90001895448
51188381561973   ZULEMA          BELTRAN                CA         46030913815
51188736533699   GLENDORA        PAYNE                  NC         90015537365
51189773951348   SUSAN           WHARTON                OH         66006597739
51191591961973   MARK            SULLIVAN               CA         90015045919
51192353833696   MANUEL          SOTO                   NC         12017183538
51192492161971   JORGE           ACUNA                  CA         90014164921
51193185961971   RICK            LEWIS                  CA         90014771859
51193616533699   ELAINE          SCALES                 NC         12074786165
51194715861971   PETTER          SERVANTES              CA         90006727158
51194772157157   EDWIN           TREJOS                 VA         81050767721
51194799661975   HENRY           MAES                   CA         90006587996
51197167757157   ELIAS           LOPEZ                  VA         90012111677
51199748233696   WANDA           PASS                   NC         90012477482
51213561684373   DAVIOUS         HUGULEY                SC         90011985616
51214621685862   SHAUNN ZAVIER   NASH                   CA         90015126216
51214811444363   SHENELL         STANSBURY              GA         90011308114
51214915785928   SHAWN           BEISLER                KY         90010339157
51215422663634   BEVERLY J       JONES                  MO         90010284226
51215785161973   RAQUEL          GRANADOS               CA         90008127851
51216384185928   ASHLEY          GIBSON                 KY         90001703841
51216538551348   CHRISTIAN       IDWELL                 OH         90013325385
51217147884357   CLIFF           PRUSSIA                SC         14524831478
51218155357157   YAMILET         GLEN                   VA         90011611553
51218857461973   INC             GREENEAGLE             CA         46064968574
51221399784357   CHARMAINE       WRIGHT                 SC         90012463997
51221961361975   SALVADOR        SANCHEZ                CA         90010919613
51223156985862   TAESERK         CHUNG                  CA         90013291569
51223347261973   JENNIFER        BAZZO                  CA         90004683472
51225846251348   CHARLOTTE       GUILFORD               OH         90013928462
51226743847968   CASSANDRA       RICHARDSON             AR         90013367438
51227159131551   TODD            MAHONEY                NY         53093051591
51227769991895   THELMA          JONES                  OK         90014717699
51228674561971   MARIA           CAMARENA               CA         90014006745
51229811185862   VANESSA         TREY                   CA         46039408111
51231371491989   LILLIAM         MATOS-FRANCO           NC         90005413714
51232259161975   SERGIO          CORONA                 CA         90010732591
51232552533696   NORA            OLIVAS                 NC         12079935525
51233854561975   AIOTEST1        DONOTTOUCH             CA         90015128545
51233988442335   TAMARA          MCGDE                  TN         90015369884
51234789457148   MARLENY         BELLOLI                VA         90004727894
51235299561975   LILIANA         GARCIA                 CA         90012192995
51236148333696   MEHDI           AGHILI                 NC         90001521483
51236444461971   DERRICK         WHITTY                 CA         90010274444
51244212785928   SHAWN           RILEY                  KY         67078362127
51245394685928   JENNIFER        DIXON                  KY         90005793946
51245789357148   FIDEL           REYES                  VA         81063427893
51246354457157   NELLY           RODRIGUEZ              VA         81034613544
51246462357124   FERNANDO        GARCIA                 VA         90002324623
51247432684357   JOSIE           MALDONADO              SC         14572964326
51247584433699   MICHELLE        BURGESS                NC         90005115844
51251279561973   LAURA           VILLA                  CA         90013362795
51252224891576   KENNY           WU                     TX         90015452248
51252955885928   VERONICA        VARGAS                 KY         90015139558
51254856184373   CHRIS           WATSON                 SC         19098288561
51254875285928   MICHAEL         WESLEY                 KY         67001668752
51256754751348   TIMOTHY         MCINTYRE               OH         66015937547
51257935451388   PATRICIA        IWALLS                 KY         90001649354
51261716385862   TAESUCK         SON                    CA         90012137163
51263321184373   CHARLES         VANCE                  SC         19015463211
51265748485862   TIFFANY         NAVARRETE              CA         90014077484
51266741861971   THOMAS          RHODES                 CA         90014367418
51267415157157   INGRID          GARCIA                 VA         90014164151
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51267893751348   ROBERT       SAHLIN                    OH         66011218937
51268995585862   JAMES        BRYANT                    CA         90013679955
51273863633696   ANGELA       REMORE                    NC         90010908636
51273924191895   TRACY        BARNETT                   OK         90011049241
51273972926222   DANIEL       HILL                      WI         90015609729
51274973785928   KIMBERLY     BUTLER                    KY         67011819737
51275825138522   JASON        EVES                      UT         90013218251
51275995861975   ANA          RIVERA                    CA         90005039958
51276259151348   NATASHA      SPENCER                   KY         90005242591
51276558561986   JOSE         NIXON                     CA         46018325585
51278311191323   JASON        STONE                     KS         90010233111
51278341484373   LASHELL      EVANS                     SC         90012523414
51278921761971   SHANE        GAGALIANO                 CA         90015099217
51281464491535   JOSE         MENDOZA                   TX         75037764644
51282169457157   SAMANTHA     WILKS                     VA         90012261694
51286129491576   RAUL         AISPURO                   TX         90015461294
51286222157157   DAVID        SPATES                    VA         90003082221
51286873961973   RAFAEL       MACIAS                    CA         90015328739
51287316333692   JOHN         DOE                       NC         90012063163
51287756433696   ASIA         SADLER                    NC         90002067564
51291952784357   ROGER        KELL                      SC         90012709527
51292169961973   GODOFREDO    PEREZ                     CA         90012541699
51292486385928   NICORA       DAVIS                     KY         90014074863
51292875584373   LESLIE       ELDRIGE                   SC         90013628755
51294152485862   MARIA        CEDILLO                   CA         90006711524
51294197491267   JUAN         DIAZ                      GA         90009561974
51294895661971   TONY         BENDER                    CA         90003248956
51295545684373   DOROTHY      BLACKBURN                 SC         90004865456
51295729785862   RENELL       HILL                      CA         90014787297
51313247433696   JATLEN       SILER                     NC         90013492474
51317781421623   BEVERLY      DAVIS                     OH         90011637814
51318136584373   REGINALD     SMITH                     SC         90010601365
51321137557157   JOHN         HUDSON                    VA         81034691375
51321491761971   ROBERT       CRANE                     CA         90014164917
51321634561973   AIOTEST1     DONOTTOUCH                CA         90015116345
51323797257157   MARLENE      FINK                      VA         90014177972
51324599891895   EUGINA       MARTORELLI                OK         90014555998
51325111761971   SALWAN       MALEKO                    CA         46075721117
51325137691989   JOVONDA      REAVES                    NC         90011801376
51325844933696   TAMEKA       PRITCHETT                 NC         90007818449
51326756433699   LORENDA      JACKSON                   NC         12012177564
51327137691989   JOVONDA      REAVES                    NC         90011801376
51328566161975   GENEVIEVE    VIGIL                     CA         90009515661
51329974971964   HERBERT      ROMAN                     CO         32090489749
51331973133696   TYRONE       HARSHAW                   NC         90009369731
51332764884373   BRANDON      BURROUGHS                 SC         19057557648
51334938784373   RASHAAD      RICHARDSON                SC         90014569387
51335718484334   ANGELINA     DOCTOR                    SC         90009667184
51335742861975   JUAN         BARRAGAN                  CA         90013317428
51336162657148   SAMUEL       GRANT II                  VA         81065101626
51336265657157   WILLIAM      SOLIS                     VA         81063132656
51337277481693   MIKE         CANTRELL                  MO         29025702774
51337291761971   JUAN         CARLOS                    CA         90003412917
51337579133696   RALPH        BARTLETT                  NC         12002125791
51337646757157   MARIAM       BANGURA                   VA         90002026467
51338849184357   JASMINE      POLITE                    SC         90014018491
51342495631449   TRENT        WOODRICK                  MO         27570114956
51343246157157   MUSSIE       WOLDAY                    VA         90014842461
51344924157157   PAULINA      MENDEZ                    VA         90012609241
51345233831429   TASHONNA     GROSS                     MO         90011282338
51345646791576   GERARDO      RAMIREZ                   TX         90012186467
51346881757148   HANNER       HERNANDEZ                 VA         81096398817
51348355684357   TISHA        ALLAN                     SC         90010853556
51348742691576   NICOLAS      FRAIRE                    TX         90015387426
51349483251348   SAVANNA      TURNER                    OH         90010574832
51349491661973   MONICA       CORTES                    CA         46061484916
51351477291895   STANLEY      WILLIS                    OK         90014814772
51351547833696   JOE          DRAYTON                   NC         90014655478
51352597951348   MITCHELL     SNYDER                    OH         90015095979
51353318731431   SHELLY       STRINGER                  MO         90010393187
51354256957157   RASHID       DUMBUYA                   VA         81001692569
51354685885928   AMANDO       LOPEZ                     KY         67081536858
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51356641361973   JOSE JESUS   CARMONA                   CA         90010036413
51357427485862   PRAVEEN      DUGYALA                   CA         90014154274
51358993233696   SUN          WALDEN                    NC         90007939932
51359286861973   INEZ         NAVARRETE                 CA         90013362868
51359468861971   KEVIN        CONNELY                   CA         90013044688
51359921784342   JENNIFER     DOSS                      SC         90011609217
51362356771964   KENNETH      LISTER                    CO         32096763567
51363126557157   GERSON       DEPAZ                     VA         81034921265
51363721761973   ALEJANERO    VALDEZ                    CA         90011887217
51364314461971   FARLEY       RONNA                     CA         90003413144
51364642661973   BRIAN        WOOD                      CA         46005976426
51365619785928   OMERO        GONZALES                  KY         90015206197
51365683485928   KIARA        JACKSON                   KY         90010886834
51369738757157   ALBERTO      ROSALES                   VA         81095927387
51371285391989   TRAVIS       HAITH                     NC         90003422853
51371367551348   KELLY        GAHERTY                   OH         90009513675
51371471757157   GRACIELA     ROMERO                    VA         90012994717
51371772231428   TILLONNI     HAMILTON                  MO         90009177722
51372839984373   FRANK        HOWELL                    SC         90015218399
51373665485928   JACKIE       OLNEY                     KY         90015206654
51373739291895   MIKE         EVANS                     OK         90012507392
51375255161973   JACOB        PAGE                      CA         90014162551
51375665485928   JACKIE       OLNEY                     KY         90015206654
51377383891576   IRENE        BALBUENA                  TX         90010643838
51377473561975   JUAN         GONZALEZ                  CA         90015024735
51377782157157   TREVINA      MCNEAR                    VA         90001297821
51378652891945   JUDY         WOOD                      NC         90013986528
51379356161971   MAKEHNA      THORNTON                  CA         90009793561
51379752491895   JEREMY       BEVINS                    OK         21001287524
51382491833696   CAROLYN      MCLEAN                    NC         12006564918
51384637391895   LISA         DENNIS                    OK         90012246373
51385274861973   JUAN         MORALES                   CA         90014162748
51386288733699   JONAH        GENT                      NC         90011422887
51386617461971   DAN          CASTLE                    CA         90014816174
51386991361975   JORDAN       JOSHUA                    CA         90012829913
51387115484373   EDGAR        RAMIREZ                   SC         90014541154
51387764161975   JUSTTIN      WOLF                      CA         90012867641
51389831661971   MARC         BOYKINS                   CA         90003708316
51391282931428   STEPHINE     ARNOLD                    MO         27579762829
51391654991895   LAURA        JAIMES                    OK         21095736549
51392235785862   FRANCISCA    LARA LOPEZ                CA         90006102357
51392947984373   JOAO         INACIO                    SC         19046769479
51392961484357   COURTNEY     SINGELTON                 SC         90006479614
51395549743522   CODY         HEBERT                    UT         90011725497
51395636561971   KEITH        STEWART                   CA         46010626365
51397529284357   HOLBROOK     SANDERS                   SC         90008775292
51397744191576   NICOLAS      AGUILAR                   TX         90015387441
51397791385824   THOMAS       LILLEY                    CA         90008257913
51398931885862   MARIA        MENDOZA                   CA         90007909318
51399351761973   FABIOLA      REMIGIO                   CA         90006683517
51411513661971   MICHAEL      CALDERON                  CA         46024495136
51412483384357   VICTORIA     WEED                      SC         90015544833
51413593433696   JASMINE      HILL                      NC         12042505934
51415495485928   NAKIESHA     TAYLOR                    KY         90015214954
51416233851348   STEVEN       GILLUM                    OH         66070872338
51416495485928   NAKIESHA     TAYLOR                    KY         90015214954
51417225691576   KARINA       GONZALEZ                  TX         90009082256
51417815385862   ALBERT       RAMIREZ                   CA         46083918153
51418383991895   NATHANIAL    BATSON                    OK         90010273839
51418631991576   ADRIANA      CASTOR                    TX         75090046319
51423471461971   GARY         BRINGINO                  CA         90014504714
51424659284373   TEVYA        MATTHEWS                  SC         90001036592
51425134861975   VIVIAN       RODRIGUEZ                 CA         90010411348
51425544457563   PATRICK      FERNANDEZ                 NM         90015165444
51428425184373   CAMEO        BROWN                     SC         19079554251
51428451342335   CHRISTINE    PICKARD                   GA         90014584513
51428812461973   WAFAA        SMITH                     CA         90001538124
51429658742335   JOHN         MOORE                     GA         90014596587
51431525961973   YADIRA       MAZON                     CA         46091845259
51431687784373   MARIBEL      OLIVERAS                  SC         90010086877
51432234284373   DONNA        FRYE                      SC         19053392342
51432278233699   NORRETHA     BROWN                     NC         90014842782
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51436242285928   ASHLEY       CORTEZ                    KY         90013432422
51436519233696   JASMINE      PHILLIPS                  NC         12063575192
51439265751348   NIKITA       HARRIS                    OH         90002382657
51442293957157   NICOLE       BENNETT                   VA         90010982939
51442478385928   RAMIRO       HERNANDEZ                 KY         67032224783
51445353251348   REGINA       PERRY                     OH         90004943532
51445477491576   OSCAR        STEPHENSON                TX         90013984774
51446352331428   LAPORSCHE    BICKLEY                   MO         90003793523
51447194833696   LATOYA       WHITAKER                  NC         90014461948
51449868857157   JOSE         SANCHEZ                   VA         90014888688
51452983191576   ANA          ROSALEZ                   TX         90012209831
51454378971235   KASIE        HAVEN                     IA         90013123789
51456233733699   ALMADELIA    PENALOZA                  NC         90010022337
51456897657157   JUAN         TORRES                    VA         90013418976
51456911384373   BRIAN        CANADY                    SC         90009779113
51457429133696   KEYASHA      INGRAM                    NC         90013564291
51458815757157   BREYONNA     WILLAMS                   VA         90013478157
51458816161971   SERRANO      MICHAEL                   CA         46082118161
51459667191895   JOSE         ARGOMANIZ                 OK         21075526671
51461931585862   ERMA         DUTTEN                    CA         90011589315
51462286491576   AIDA         ARVELO                    TX         90011262864
51463155457157   TAMEKA       FELTON                    VA         90011001554
51463659785862   SONIA        KAUR                      CA         90013146597
51463894185862   SONIA        KAUR                      CA         90014338941
51464371661971   MARISOL      ALTAMIRANO                CA         90014753716
51464591191895   JACOB        PETERSON                  OK         21037685911
51465834461971   KAREN        SMITH                     CA         90014038344
51466356161975   ANGELINA     SOTO                      CA         90009633561
51466647433696   SHAQUITA     CHAPMAN                   NC         90010046474
51467158326747   CHENILLE     BENNETT                   CO         33012061583
51467697985862   BRUCE        COLNESS                   CA         90012526979
51472428684357   JOEY         BRABHAM                   SC         90013164286
51472594361975   JORGE        NEGRON                    CA         90011145943
51473726157148   MARTA        BAUTISTA                  VA         81030307261
51476666857148   SELVIN       CARCAMO                   VA         81074506668
51476843585928   JESSICA      BURDEN                    KY         90010888435
51477332861975   BELCHERE     MONTESZ                   CA         90004043328
51478129661973   ANA          CARRANSA                  CA         90003531296
51481197991576   ROSEMARY     MARTINEZ                  TX         90003911979
51483962784852   SHAQWANA     DAVIS                     NJ         90013879627
51486525761973   JAVIER       GARCIA                    CA         90002055257
51486763884357   ANGELIQUE    BEULAH                    SC         90015087638
51487175333696   TARRELL      ROWE                      NC         12099471753
51487271333699   MICHELLE     HUGHES                    NC         90010962713
51487834391895   BRUCE        MADDEN                    OK         21000168343
51491111861971   PEARL        CHAPMAN                   CA         46008371118
51491692193724   JENIPHOR     COMPTON                   OH         90012736921
51492348433699   FRANCISCO    AVILA                     NC         12005023484
51492758261973   VINCENT      PROM                      CA         90010297582
51493634884357   RAYMOND      EUGENE                    SC         90013186348
51493641733699   JORGE        RODRIGUEZ                 NC         90011996417
51493992151348   TIMOTHY      PETERSON                  OH         90008329921
51495399261924   IRENE        EDNE                      CA         90006833992
51496159485928   NICOLA       WEST                      KY         90010951594
51496281684357   KATHLEEN     CLIFT                     SC         90012992816
51498361461975   ROSA         MEDINA                    CA         90009743614
51498642733699   JERRY        EVENS                     NC         12092776427
51498818331429   STACY        PAPPADLUOS                MO         90005698183
51499259433699   JOHN         STANELY                   NC         90009842594
51499738654152   MISTIE       MUNDELL-DITLEFSEN         OR         90002967386
51499868857157   JOSE         SANCHEZ                   VA         90014888688
51512587842335   STEPHEN      BRANDON                   GA         90014585878
51514247485862   GERARDO      NUNEZ                     CA         90012762474
51514525991576   SYLVIA       RODRIGUEZ                 TX         90004345259
51514937984373   JAMES        MOSKOW                    SC         90012569379
51515772491895   THERISA      CULLOM                    OK         90009057724
51516179151323   TRACEY       FAIRBANKS                 OH         90005551791
51516289691576   MARILYN      MIJARES                   TX         90015012896
51516828657153   CARLOS       GUERRA                    VA         90008018286
51517191941242   KIMBERLY     GODESKY                   PA         90003791919
51517478961975   CHRISTINA    CASTELLANOS               CA         90004304789
51517768985928   GUERIN       PHOTOGRAPHY               KY         67039077689
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51519433451348   LISA         SWAIN                     OH         90013114334
51519699385862   PATTY        CARNERIE                  CA         90014306993
51523143784373   ELDON        RITTER                    SC         90012151437
51523463997123   MAX          DAY-SMITH                 OR         90011984639
51525195291895   ANTOINETTE   COHEN                     OK         90010351952
51525566751348   MORIAH       LEBRETTON                 OH         90013435667
51527954633696   JUVENTINO    MENDOZA                   NC         90000649546
51528517154133   SHEILA       MOGSTAD                   OR         90001435171
51529551833696   KELVIN       LENARD                    NC         90013635518
51531888836165   MIROSLAVA    GONZALES                  TX         90007678888
51531979661973   ANA          FLORES                    CA         90000139796
51532245557124   RAFAEL       IZQUIERDO                 VA         90008912455
51532816751348   LAUREN       ANDERSON                  OH         90013648167
51533427484334   CARROLL      SANTOS                    SC         90005464274
51533435457157   ROXANA       LOPEZ                     VA         90010684354
51534285951348   YOUSSOUF     SILLAH                    OH         90003142859
51534459771964   THELMA       MONTES                    CO         90000494597
51535117833696   CECIL        SPENCER                   NC         12087841178
51535693461973   RAFAEL       OCHOA                     CA         90005796934
51536276261973   JERICCA      THORPE                    CA         90004102762
51536839157157   RINA         RAMIREZ                   VA         90008578391
51538283971964   RONALD       LEVASSEUR                 CO         90010052839
51539969985833   GUADALUPE    RAMIREZ                   CA         90014059699
51543124531429   DANIEL       NOVAK                     MO         90005701245
51543563961971   AMANDA       WALLER                    CA         90013565639
51543651391895   KRISTI       REPLOGLE                  OK         21009606513
51544416785928   ADRIANNE     NICHOLS                   KY         90001404167
51545197384373   NICOLE       LEWIS                     SC         90015461973
51551216157148   BADRA        RAJA                      VA         81077252161
51551654961999   APRIL        AGE                       CA         46082166549
51552315461971   JOSHUA       HAYES                     CA         46016713154
51552738385862   LADON        MOSES                     CA         90011197383
51552771484357   AIDA         MORENO                    SC         90014757714
51553649857157   LUIS         ALBERTO                   VA         90012056498
51553873231429   TAMARA       LOGAN                     MO         90009538732
51554646533696   EDSEL        WILLIAMS                  NC         12081046465
51556167157157   JUAN         ALVARENGA                 VA         90013621671
51557314331428   JAZZ         BAILEY                    MO         27561533143
51557931191895   DOROTHY      HALL                      OK         21063899311
51559891251348   MICAELA      STEVENSON                 OH         90012868912
51561637133623   DOMINIQUE    WATKINS                   NC         90001936371
51563727957157   ANA          MENA                      VA         90006057279
51564235951586   ZACH         WASHINGTON                IA         90014052359
51564756833696   WILLETTA     GREEN                     NC         90010107568
51566249961973   ELVA         KRAMER                    CA         46025102499
51567685361971   REYNA        HERNANDEZ                 CA         90014996853
51567726591895   SHIRLEY      THOMAS                    OK         90010647265
51568528333696   DALIA        CABALLERO                 NC         12011965283
51568732791895   RICKEY       ARTHUR                    OK         90012567327
51569562961975   JORGE        VAZQUEZ                   CA         90013955629
51571299161971   ADRIAN       MORAN                     CA         90013052991
51571925891895   MARITZA      EJIA                      OK         90007099258
51571986691521   EDGAR        HERNANDEZ                 TX         90012429866
51573275371964   AYLA         BARTLETT                  CO         32090722753
51573783633696   ALANO        JOHNSON                   NC         90013957836
51577439391576   OSCAR        CEBALLOS                  TX         90006604393
51577836933699   KIA          WAGNER                    NC         90000838369
51578133357157   ISAIAS       GOMEZ                     VA         81070021333
51579587191895   WILLIS       MCPHERSON                 OK         90014935871
51583477157157   AVALOS       ESCOBAR                   VA         81035464771
51583826791895   ANGELA       WALLS                     OK         90015228267
51585543733696   ZANTWOIN     DAWKINS                   NC         90013805437
51587149557157   FASIKA       MESHESHA                  VA         90014181495
51587736433699   REGINA       WEST                      NC         90010907364
51587792184373   KRISTEN      SMITH                     SC         19096007921
51588177751348   SUSAN        FOX                       OH         90005561777
51588386561975   CIRILDO      ALANIZ                    CA         46061193865
51588534461973   PATRICIA     GOMZALEZ                  CA         90015155344
51588785861971   GAY          GARRIS                    CA         90001407858
51589669385862   FERNANDEZ    CARLOS                    CA         90002806693
51589715857148   MARIA        OSPINA                    VA         90001707158
51589867457157   RENEE        POWELL                    VA         90010518674
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51591313691895   SARA         RAMIREZ                   OK         90009173136
51591452257157   APRIL        WALLACE                   VA         81095464522
51591668733696   TIFINE       PEGUES                    NC         90014326687
51592499661971   ALAN         WILLIAMS                  CA         46008494996
51593581658528   GERALD       HOAD                      NY         90015375816
51593856591895   AMANDA       SANTIAGO                  OK         90011048565
51594193984357   TERRANCE     ADDERLEY                  SC         90009401939
51594635561973   AIOTEST1     DONOTTOUCH                CA         90015116355
51595558557157   PEDRO        MARINERO                  VA         90014235585
51596113591895   KENDRA       CROCKER                   OK         90012361135
51597353433696   SHANNON      PERMAR                    NC         90012853534
51597358151348   BRANDON      JOHNSON                   OH         90014893581
51597374257131   RENE         DAGOBERTO LOPEZ           VA         90001483742
51597428933696   SHANNON      PERMAR                    NC         90011314289
51598223261971   LISSETH      LOPEZ                     CA         46074152232
51611519233696   VICTOR       GOMEZ                     NC         90010325192
51612214185862   KELLEEN      PORTER                    CA         46075782141
51612813761971   MARY         BECKUM                    CA         46058918137
51614116357157   JOSH         LEE                       VA         90011311163
51616113985862   DANIEL       OLFERT                    CA         90000801139
51616634171964   RAQUEL       TRUJILB                   CO         32056596341
51617386361973   WILLIAM      PORTER                    CA         90002003863
51618488391576   MARTHA       MORALES                   TX         90002734883
51618745661973   HERMAN       WRIGHT                    CA         46029187456
51619814891895   SARAH        PARRISH                   OK         90015018148
51621269791895   CRYSTAL      OLIVER                    OK         90013982697
51621592461973   ENRIQUE      FLORES                    CA         90012365924
51622275557153   CLEMENTO     SANTILLAN                 VA         90006182755
51623258233699   TENISHA      PRICE                     NC         90012072582
51624125961975   AMY          SHERBUNDY                 CA         46036371259
51626535926222   POLLY        BASSETT                   WI         90010725359
51626688591521   GLORIA       GARCIA                    TX         90013876885
51627184657157   EDWIN        DURAN                     VA         90014181846
51629137157157   TIFFANY      BOWEN                     VA         90004651371
51629795651348   REBECCA      BLANCHARD                 OH         66038177956
51632539991895   MICHAEL      GRAZIANO                  OK         90013775399
51633563284373   KARRIE       SANDERS                   SC         90014345632
51633827733699   BONNIE       DODD                      NC         12044608277
51634483961975   MITZY        ULLAND                    CA         46005054839
51634628957148   MARIA        HERNANDEZ                 VA         90002906289
51635257884373   EARNEST      DURDEN                    SC         19052722578
51636259157157   HENRY        MARTINEZ                  VA         90015162591
51636473233699   JESICA       MENDEZ                    NC         12023854732
51637653857157   JUNIOR       WALKER                    VA         90010716538
51638694261975   MARIANA      ESPARSA                   CA         46064006942
51642569733696   CHRISTINE    CRIDER                    NC         12015895697
51643718561973   BRANDON      BRAVOS                    CA         90012767185
51643854561975   AIOTEST1     DONOTTOUCH                CA         90015128545
51643894633696   RICHMON      HAIRSTON                  NC         90013348946
51645388184373   SHAWONNA     GILLIARD                  SC         90011023881
51645858161986   KEVIN        CHILDERS                  CA         90001808581
51646383491895   BRABARA      DEJEAR                    OK         90010223834
51646494285862   SRINIVAS     VUPPALA                   CA         90010844942
51647756857148   VICTOR       AYALA                     VA         81064697568
51649911133699   JONTHAN      MCNEILL                   NC         90011849111
51652213684373   NICOLE       MANIGAULT                 SC         90004502136
51653246157157   MUSSIE       WOLDAY                    VA         90014842461
51655944551348   REBECCA      IRWIN                     OH         66025939445
51657562633696   LINDA        MCLEAN                    NC         90007035626
51657859685862   FERNANDO     CARRILLO                  CA         46043848596
51658291161971   NICHOLAS     HOWARD                    CA         90013312911
51658564484357   DANIELLE     SIMMONS                   SC         90012945644
51659982251348   LUISA        LOPEZ                     OH         90011259822
51661252451348   JAMES        LIVELY                    KY         90014142524
51661353284357   SCOTT        MARCELE                   SC         90013893532
51661636584373   REGINALD     JOHNSON                   SC         90000456365
51663436484357   MONICA       BROWN                     SC         90014414364
51663574361975   JORGE        MEDRANO                   CA         46069525743
51664385761971   SAMIA        FELIX                     CA         90001643857
51665919442335   JENNIFER     GOINS                     GA         90014599194
51667882233696   MEBRHIT      HAGOS                     NC         12015768822
51667937584357   DONNA        CLEVELAND                 SC         90011029375
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51668159184373   VERONICA      STEWART                  SC         90009401591
51668383685862   FRANCISCO     JIMENEZ                  CA         90010253836
51668744961973   MOISES        OLIDEN IBARRA            CA         90010247449
51671352231428   KILE          GILREATH                 MO         27535533522
51671578661975   VICTOR        ACEVEDO                  CA         46092025786
51672654951388   GLENN         KINDELL                  OH         90007786549
51678414661971   MARK          KENNEL                   CA         90012194146
51681814284357   HASSAN        INABINETT                SC         90014398142
51682638855947   STOCKSTILL    LISA                     CA         49052196388
51684241861971   DANIAL        CONRAD                   CA         46076482418
51685171191895   TIFFANY       WHITE                    OK         90013311711
51685939484341   ANA           ERSKINE                  SC         90010909394
51685992361548   PAYGO         IVR ACTIVATION           TN         90015239923
51686531161975   LUIS          RAMIREZ JR               CA         90010175311
51686734991576   GONZALO       VELAZQUEZ                TX         75085347349
51688132984357   CALEB         HILL                     SC         90013051329
51688627871964   DIANA         MEDINA                   CO         90011496278
51689197533699   CHRISTOPHER   TRUESDALE                NC         90013011975
51689338351329   TRACEY        REESE                    OH         90010123383
51691595751348   EMILY         FLAVIN                   OH         66028535957
51693536391895   TIFFANY       MERRILL                  OK         90015155363
51694614361971   BETSAVE       CARJABAL                 CA         90013436143
51695444257157   CONNOR        MCGEHEE                  VA         90014184442
51697511233699   THOMAS        WILLIAMS                 NC         12033875112
51699136561971   MARIA         CASTNEDA                 CA         90003501365
51699189184357   JACQUELINE    MOULTRIE                 SC         14512571891
51711728755928   IDAMAE        GRACIA                   CA         49016887287
51712221333699   SMITH         JAMES                    NC         12042292213
51717474991895   CORTNEY       GRAY                     OK         90012454749
51718674731428   IRISHCA       NASH                     MO         90006146747
51722951233696   GLENDA        BROWN                    NC         90013029512
51722973833699   EDITH         CLARK                    NC         12064399738
51724851585862   AIOTEST1      DONOTTOUCH               CA         90015128515
51725235491895   TROY          BRANCHCOMB               OK         90013252354
51726156284373   LATOYA        JEFFERSON                SC         19056491562
51727689884373   FRANK         SIMMONS                  SC         19015206898
51728584251348   JAMES         ELLINGTON                OH         66018175842
51729166461975   ILIANA        MARTINEZ                 CA         90014201664
51729221461971   JAMES         BILODEAUX                CA         90013612214
51733599633696   STELLA        PENUELAS                 NC         90013775996
51734655961975   JESUS E       CRUZ                     CA         90013436559
51735687561975   GINA          RODRIGUEZ                CA         90011316875
51735829991895   JESSICA       MCGUIRE                  OK         90015228299
51736384351348   JENNIFER      LOVE                     OH         90008853843
51736619933699   RAMON         ESCAMILLA                NC         90010646199
51738855761975   LISA          ROMERO                   CA         90008978557
51741433951348   LOUIS         COOLEY                   OH         66046754339
51743243361975   JACQUELINE    HURTADO                  CA         90013342433
51743578184373   VICTORIA      FIELDS                   SC         19026495781
51744598771964   DELLA         MOORE                    CO         90000955987
51745948961971   LISA          IVORY                    CA         90009319489
51746366251348   STEPHANIE     CLARK                    OH         66022173662
51748386161973   MARCUS        ESTRADA                  CA         90011993861
51748543461973   JESUS         ALMARAZ                  CA         90014165434
51749467985862   KEIONDRA      BELCHER                  CA         90014754679
51751223761973   NICOLE        ROSALES                  CA         90002492237
51752467851333   AARON         RANDOLPH                 OH         90011774678
51753637784373   SAUL          MAYA-ARREGUIN            SC         90010706377
51753812361975   YESSICA       ATENCO                   CA         46055378123
51754438257153   SAMMANTHA     STEWART                  VA         90008894382
51755252933699   EDWIN         HAMLIN                   NC         12007252529
51757317961975   NICOLE        KERN                     CA         46060963179
51758392985862   JANETT        GUZMAN                   CA         90014253929
51758421351348   ANDREW        STEPP                    KY         90014824213
51761577657148   VICTOR        ORELLANA                 VA         90004545776
51761653861973   MARIBEL       HERMONSILLO              CA         90002546538
51763445557157   JO            COHEN                    VA         81035834455
51765117861975   GUILLERMO A   GONZALEZ                 CA         90009991178
51771316961971   DUSTIN        COOMBS                   CA         90014063169
51771755591895   KERI          MCCLARY                  OK         90009247555
51772393871964   CESAR         FLORES                   CO         32025963938
51773275154129   BEN           SOTELO                   OR         90006262751
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51774152757157   RONNIE       COLBERT                   VA         90014611527
51774282451354   LUELLA       MCKINNEY                  OH         90014522824
51775378761975   MIRNA        ARAMBULA                  CA         90002403787
51778413457157   KENNETH      OWUSU                     VA         90009204134
51779898361973   ESTEBAN      CAYETANO                  CA         90014418983
51781165171954   ANDREW       BACA                      CO         90009361651
51781556461971   SAUL         LOPEZ RAZO                CA         90001435564
51783134757157   JACINTO      SANCHEZ                   VA         90010701347
51783616193724   THEODORE     HEILIGENBERG              OH         64506506161
51784285261975   GERARDO      GUETIERES                 CA         90012392852
51786443685862   ANELLE       MISKOWISLZ                CA         46037624436
51788263791895   JUAN         HERNANDEZ                 OK         90012492637
51789658271964   ADALIA       SEGURA                    CO         90006696582
51792549961971   ANTOLIN      NEMECIO                   CA         90005335499
51793172857157   JUAN         GARMENDEZ                 VA         90013171728
51795183657148   PATRICIA     RIVAS                     VA         90000641836
51796133971964   TYLER        RIECSS                    CO         32017251339
51796136333699   JESUS        REQUEJO                   NC         90013041363
51796563557157   JOSE         DE LEON                   VA         90008385635
51811516685862   DAVID        JAURIGUE                  CA         90014075166
51812278457157   LINWOOD      WILLIAMS                  VA         90014712784
51812745431428   MONICA       LEGGETTE                  MO         27564637454
51812793233699   DEBRAH       TUCKER                    NC         90005527932
51813851585862   AIOTEST1     DONOTTOUCH                CA         90015128515
51814474661973   ESTHER       LOPEZ                     CA         90007284746
51814732791895   RICKEY       ARTHUR                    OK         90012567327
51815875384357   NICKIE       JENKINS                   SC         90001788753
51816511561971   HAKMT        TOMA                      CA         46081715115
51818723984357   IIESHA       CLATT                     SC         90004587239
51821311461971   ISABEL       ACEVEDO                   CA         90008083114
51821865261971   FERNANDO     CRUZ                      CA         90009888652
51821884161973   JESUS        RODRIGUEZ                 CA         90008688841
51822583285862   JUAN         BAUTISTA                  CA         90012925832
51823998861971   DANIEL       VARGAS                    CA         46068649988
51824653557157   MARCO        REYES                     VA         90007536535
51824896484357   MIKE         JONES                     SC         14570608964
51825336184357   TYRONE       MIDDLETON                 SC         14504633361
51826259591895   ALICIA       PATTERSON                 OK         21013072595
51826278285862   MICHAEL      CONTRERAS                 CA         46055692782
51826925357157   VILMA        FUENTES                   VA         81054709253
51827187461971   MELISSA      NAOMI                     CA         90015121874
51827961861975   RODNEY       LANE                      CA         46081959618
51829964185862   CIPRIANO     MARTINEZ-VALZZQUEZ        CA         46097509641
51829972733699   DIANE        BUNN                      NC         12042069727
51831434584357   JATIA        ALSTON                    SC         90012674345
51832451451348   SEAN         BURNS                     OH         90008334514
51832549761971   CHARISSE     PORTER                    CA         46052365497
51833514961971   CAROLINA     MALDONADO                 CA         46070065149
51833516691979   MITCHELL     MOHRMANN                  NC         17040355166
51834683584357   SHARON       BUSBY                     SC         90011406835
51834699361975   NADIA        MORENO                    CA         90013216993
51837172784373   CHARLES      HARRIS                    SC         90012391727
51837395761973   JAVIER       PALOMARES                 CA         90012373957
51837596961971   SANDRA       RAMOS                     CA         46034435969
51838799251348   ALISHA       HALL                      OH         90010917992
51841324685862   RUSSELL      PETE                      CA         46008343246
51841855261975   AIOTEST1     DONOTTOUCH                CA         90015128552
51843575461973   MIGUEL       VILLARESPE                CA         90014165754
51845221961975   RICARDO      RODRIGUEZ                 CA         46033532219
51845764351348   BRAD         BROOKS                    OH         90004967643
51846359961971   MARIO        VILLEGAS                  CA         46045123599
51847388161975   ROCHE        FLORE                     CA         46097613881
51848384461975   SILAILAI     SAVALI                    CA         90010663844
51848798284373   MALCOLME     CLARK                     SC         90011627982
51849452757157   SHERINA      BRUCE                     VA         90010794527
51849949191377   ROBERT       ROBINSON                  KS         90010999491
51851765433696   WILLIE       SANDERS                   NC         12018047654
51852836154151   AMY          TRAN                      OR         47090758361
51853846351348   MICHAEL      ADKINS                    OH         90014298463
51853851585862   AIOTEST1     DONOTTOUCH                CA         90015128515
51854196591321   TARA         JONES                     KS         90012611965
51854562585928   DENNA        STAMPER                   KY         67094625625
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51855128833696   SHAWNDA      LOWERY                    NC         90004991288
51857234231428   LISA         BISHOP                    MO         27579182342
51857883791895   EDWIN        WEBB                      OK         21070638837
51858364785862   LEANN        MEDSKER                   CA         90012653647
51858968857563   JESUS        ONTIVEROS                 NM         90006679688
51859596661971   PAULO        RINCON                    CA         90011545966
51864781657148   HERNAN       SANTOS                    VA         90013627816
51864929457157   AJ           MONTALVO                  VA         90011059294
51865389561975   CAROLYN      CLARK                     CA         90014813895
51865913891895   TAMEKA       NELSON                    OK         90008329138
51866718533696   DONOVAN      LAMONT                    NC         90013857185
51867951533696   RICKEY       BULLOCK                   NC         12066969515
51868267184373   JOVITO       TALUCOD                   SC         19056542671
51868764161973   VICENTE      BUSTOS                    CA         46087187641
51872443961975   MARTHA       RAMOS                     CA         90011164439
51873635991895   MARISA       WOOD                      OK         90014886359
51875182391895   TAMMY        WILSON                    OK         21056031823
51877495461973   ALMA         MOTA                      CA         90012814954
51879919793782   CASEY        SMITH                     OH         90002109197
51879971161973   ZAID         ALLOS                     CA         90015229711
51882135891895   COURTNEY     STOUT                     OK         21027491358
51882243384373   GERALDA      DE JESUS                  SC         90006132433
51882414657157   FRASPER      POWELL                    VA         90010434146
51882466242335   JOSEPH       MAYS                      GA         90012964662
51885534361966   BONNIE       DAVIS                     CA         90003005343
51886539251348   JOSEPH       WOODS                     OH         90008335392
51887758861975   TINA         JONES                     CA         90007697588
51887793461973   TRINIDAD     SILAHUA                   CA         46069677934
51888362391895   BRITTANY     TAYLOR                    OK         90011903623
51888826285862   MARJORIE     SAMAJAIO                  CA         90013198262
51889858557157   CARYN        LESSER                    VA         90011808585
51891495171964   REBECCA      GOFORTH                   CO         32066554951
51892965151348   CARRIE       STATON                    OH         90014809651
51894246784357   EASTON       BRASSON                   SC         90015422467
51894387961973   NEIL         GABRINTINA                CA         90010813879
51895674561971   MARIA        CAMARENA                  CA         90014006745
51896118261971   JENNIFER     HURLEY                    CA         90013801182
51897423233696   LASHANA      WALL                      NC         90005694232
51915511157157   JACKIE       BIGBY                     VA         81089975111
51916153584373   DARRELL      MCCROD                    SC         90013581535
51917179161971   SAMI         DAWUD                     CA         90008791791
51919495391576   PAUL         CORRALEJO                 TX         75074524953
51921754161975   MELQUIADES   BRIZUELA                  CA         90011487541
51923348784373   JEKEARA      GADSDEN                   SC         90012313487
51924166461975   ILIANA       MARTINEZ                  CA         90014201664
51924822161975   MARIO        FLORES                    CA         90014158221
51926526833696   BIONCA       HUNTLEY                   NC         90013785268
51929487884373   ANA          HERNANDEZ                 SC         90013984878
51931827451586   TSEGAY       GEBREKIDAN                IA         90013898274
51932336261924   ALBERTO      RODRIGUEZ                 CA         90007743362
51932341651348   TROY         GRIFFITH                  OH         66036873416
51932837491895   ADAM         TRACY                     OK         21051918374
51933652841279   DIANA        ROGOWSKI                  PA         51065816528
51933813991895   JONATHAN     KANTOLA                   OK         90007338139
51934344561971   ANA          QUANTIRO                  CA         90001603445
51935391184357   SHADREKA     PERRY                     SC         90012693911
51935718131429   EBONY        FOSTER                    MO         90001257181
51935744357157   JANA         TILLER                    VA         90014187443
51937357931428   TONYA        WILLIAMS                  MO         27589143579
51937669961936   RAYMOND      SULLIVAN                  CA         90010046699
51938129171964   ALEX         GRAJEDA                   CO         32052541291
51938574461973   CARLOS       SANTANA                   CA         90000905744
51938758591521   EDWARD       LARK                      TX         90010987585
51939519184357   TIFFANI      MORRISON                  SC         90009845191
51941221791895   RONNIE       ATKINS                    OK         90013672217
51942431351348   JULYO        GUDIER                    OH         90009524313
51944242157157   DAVY E       CHAWU                     VA         81012722421
51944575961971   BRENDA       GUADARRAMA                CA         46052205759
51945465733699   YESENIA      SOLORIO                   NC         12003324657
51945735557148   ANDREW       JOHNSON                   VA         81084467355
51946711461973   JOY          ALVA                      CA         90010427114
51946883284357   LATASHIA     SMALLS                    SC         90014028832
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51949696651348   CATALINA     VILLADA JAIMES            OH         90013976966
51951247861971   MARY         PARKER                    CA         90002672478
51951986184373   JOHNNY       TAYLOR                    SC         90008449861
51952921961971   DAVID        GARD                      CA         90006769219
51953375857157   YOLANDA      MURCIA                    VA         81073363758
51953549161975   GEORGE       HACKER                    CA         90014845491
51953614685862   JODI         JEFFS                     CA         90012816146
51957114151348   SOHNA        TOURE                     OH         66067821141
51957167633696   LAMAR        MCILWAIN                  NC         12020481676
51957487931429   HEZEKIAH     WILLIAMS                  MO         90010754879
51961335961975   EVENY        REYES                     CA         90012333359
51962779261971   BRIDGETT     WILDS                     CA         46008867792
51962794184357   RONALD       MIDDLETON                 SC         90014397941
51963927591895   RICHARD      REECE                     OK         90013289275
51965579661973   JAMES        ANDERSON                  CA         90012095796
51967386161973   MARCUS       ESTRADA                   CA         90011993861
51968124561975   MELANIE      CAMACHO                   CA         90014401245
51971591961973   SAUL         CORONADA                  CA         46090745919
51971619361975   JOE          ROBERTSON                 CA         90012716193
51973431433699   WILLIAM      BELL                      NC         90001074314
51974344333699   YVONNE       CALLEJA                   NC         90012523443
51977397357148   AMANUEL      MEKURIA                   VA         81051303973
51979154584373   SHANNON      MOORE                     SC         90014481545
51981417591521   BLANCA       LUNA                      TX         90003104175
51981868261971   VICENTE      GARCIA                    CA         90004878682
51983185233699   AYESHA       HAWKINS                   NC         90013431852
51983784161941   RICARDO      LOPEZ                     CA         46010297841
51983954171964   IRMA         GARCIA                    CO         32098649541
51984182731426   ESMIR        DEUMIC                    MO         90010281827
51985511991895   ALONZO       KELLY                     OK         90010705119
51985546161973   BETTY        PETERSION                 CA         46070165461
51989528361971   MARCELA      ESPINOZA                  CA         90014115283
51991128861971   EDITH        YATES                     CA         90010781288
51992561685928   LUIS         GONZALEZ                  KY         67040895616
51995583885862   KEVY         FIGUERA                   CA         46044945838
51998262785928   PHILLIS      MINLEY                    KY         67033752627
51999533733696   HAPTESLASE   YHEDOGO                   NC         90014725337
51999871991895   JUAN         HERNANDEZ                 OK         90008898719
51999897384357   TONI         GREEN                     SC         90014828973
52111179661971   MARIA        MORALES                   CA         46007431796
52112546857157   JOSE         RIVERA                    VA         81043345468
52112599361973   MICHELLE     SLANE                     CA         90008645993
52113437651348   CHRIS        MARTIN                    OH         66085804376
52113881761965   FARIDA       BEDAHI                    CA         46075828817
52115284471964   PAIGE        NELSON                    CO         90003172844
52116173791895   CHELSEA      LEWIS                     OK         90008101737
52118154861973   ALEXANDER    GUTIERREZ                 CA         90011631548
52118379157157   JOSE         PEREZ                     VA         90014843791
52118433861965   DAVID        HERNANDEZ                 CA         46039774338
52118666891587   CHRISTIAN    PATATUCHI                 TX         75042436668
52121967484357   TRE          AUSTIN                    SC         90007839674
52122242333699   DOROTHY      THOMAS                    NC         12037662423
52123987155951   LINDA        CHAVEZ                    CA         49092299871
52124733993724   RICK         JAMES                     OH         64540767339
52124759271964   SONIA        DUMON                     CO         32038867592
52126433284357   SHANIQUE     STEVENSON                 SC         90015534332
52129469761973   BRAULIO      CRUZ                      CA         90012574697
52129769371964   FLOR         MONTOYA                   CO         90008997693
52133627251348   JUAN         MENDOZA                   OH         90008506272
52134732157591   AARON        QUEZADA                   NM         90009257321
52135933161973   BERNICE      TORRES                    CA         90010089331
52136417533696   LEONARD      BROWN                     NC         90005114175
52136657833699   WILLA        ROBINSON                  NC         12025686578
52136897361971   JUAN         GUTIERREZ                 CA         90013168973
52137462751348   MADALINE     GOODWIN                   OH         90003914627
52139398555951   HELEN        RIVERS                    CA         49010323985
52141431161965   JENNIFER     ELIAS                     CA         90012534311
52141825633699   JOSEFA       PRUDENTE ALBERTO          NC         90013928256
52143415744352   CLAUDIA      BOULWARE                  MD         82014104157
52143492893724   ADAM         ROHRER                    OH         90009804928
52143821261975   FRANCISCA    FLORES                    CA         90012238212
52143961931428   YASHICA      STEWART                   MO         90012009619
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52144132191895   CRYSTAL      HANG                      OK         90011151321
52145591661965   RUTH         GONZALEZ-LOZANO           CA         90014005916
52145755133699   MICHELLE     KINSEY                    NC         90014767551
52148634684357   NICOLE       SHARP                     SC         90008886346
52148798731428   JESSICA      ELLISON                   MO         90010537987
52149763691587   MARIA        ESTRADA                   TX         90003167636
52151212691895   BRAD         PETTY                     OK         90003762126
52151441757157   MARIA        FLORES                    VA         90003844417
52151933961975   IRMA         ROWLAND                   CA         46070249339
52152348641296   NICOLLE      PALMER                    PA         90015033486
52152518761965   HOLLEE       ROMANICK                  CA         90014575187
52152611191391   LUIS         RODRIGUEZ                 KS         90000636111
52152873161975   VALERIA      BARRERA                   CA         90011308731
52153467371964   EDWARD       VIGIL                     CO         90003894673
52154582255936   PERYNA       WASHINGTON                CA         90012605822
52155223961973   DEEDEE       JENKINS                   CA         46016932239
52157417661973   NANCY        HERNANDEZ                 CA         90014344176
52157616284373   GLORIA       NORRIS                    SC         19069466162
52157897957157   GERALD       LOCKWOOD                  VA         81053778979
52161163391895   DENISE       PHILLIPS                  OK         90011151633
52161927731426   LINDSAY      MCDOUGALL                 MO         27571449277
52162464833696   VERTAISHA    WOMACK                    NC         90012034648
52163215293724   SHATANA      ARNOLD                    OH         90010852152
52166351391895   RUFINO       DELGADO                   OK         90005693513
52166988971964   COREY        SAUNDERS                  CO         90014109889
52167177191587   JOSE         SEGOVIANO                 TX         90012851771
52167468693724   MELISSA      TRAUFLLER                 OH         90010964686
52167962791521   CYNTHIA      LOPEZ                     TX         90012839627
52169357484373   WILLIAM      INFINGER                  SC         90013893574
52169413161965   ANGEL        ABITION                   CA         46095254131
52169431833699   WILLIAM      PRINGLE                   NC         90013334318
52169473761975   AURORA       ACOSTA                    CA         90007584737
52171679893724   AMBER        MCGUIRE                   OH         64510006798
52171715471964   SELSO        LEAL MOJICA               CO         32012667154
52171884857157   DIANE        JONES                     VA         90012258848
52172167991895   SARAH        WATKINS                   OK         90011151679
52172361451336   KYM          DAVIS                     OH         90006793614
52172675691587   JEANETTE     PEREZ                     TX         90012206756
52173148457157   JOSELINA     FUENTES                   VA         81060471484
52173197861975   JANET        DIAZ                      CA         90013281978
52173513893724   KELLY        PARKER                    OH         64537515138
52174165333696   PEDRO        GRANADOS                  NC         90009511653
52174481161975   ROCIO        MALDONADO                 CA         46017784811
52174714391895   JOSE         ENRIQUEZ                  OK         90014217143
52176273791587   PAMELA       NIETO                     TX         75087492737
52176632133657   OLANDO       SPEAS                     NC         90011616321
52177477785928   J.DANIEL     WILLEY                    KY         67007814777
52177782893724   NATAY        JOHNSON                   OH         64558747828
52178549291587   EDNA         HEREDIA                   TX         75093735492
52182436484357   MONICA       BROWN                     SC         90014414364
52182847557124   ROBERT       FIELDS                    VA         90014958475
52183199393724   DARREN       WARE                      OH         90011321993
52183216361971   TERESA       MARTINES                  CA         46069442163
52183899461975   MARTHA       VALDEZ                    CA         90014618994
52184686993724   LEE          MCGURIE                   OH         90005876869
52185462561971   PETRA        BAHENA                    CA         46091034625
52186267784373   TIFFANY      CAMERON                   SC         90012492677
52186274733699   MARCELIO     MEDINA                    NC         90014472747
52187119833696   LAVONDA      LEDWELL                   NC         90010191198
52191536533699   WALTER       HOLLINGSWORTH             NC         90013565365
52193211491587   RODRIGO      LARA                      TX         90013992114
52193463433699   NEFATERIA    KNIGHT                    NC         90013764634
52193641791895   MICAELA      PEREZ                     OK         90010066417
52195596231428   EBONY        PHILIPS                   MO         90013055962
52196341393724   DAVID        WHITE                     OH         64510923413
52197155625424   ELIZABETH    SANDERS                   UT         90011961556
52198753584373   MONT         MITCHELL                  SC         19014547535
52199992351348   CAMERON      HUSTON                    OH         66077439923
52211946984373   ROBERT       LINCOLN                   SC         90012949469
52213578261965   DENNIS       SONNER                    CA         90012605782
52213772493724   NICK         RUCKER                    OH         90009037724
52214775691587   ARMANDO      APODACA                   TX         90013367756
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52214781961971   TOBY         GANNUSO                   CA         46001317819
52215533461971   JIMENEZ      CHRISTIAN                 CA         90007945334
52216742985928   BIANCA       WATES                     KY         90010297429
52217626833696   ASHLEY       SMITH                     NC         90005296268
52217745161971   ANTHONY      YOUNGBLOOD                CA         90013327451
52217827491895   NYTESHIA     PALMER                    OK         90003498274
52219371133696   LILLIAN      MANNING                   NC         12084873711
52219898761965   FARTUN       OSMAN                     CA         90010148987
52219949661975   ELENA        MARTINEZ                  CA         46094379496
52221675891587   SANDRA       MERCADO                   TX         90013296758
52223999481658   STACY        EACRET                    MO         90009759994
52225551771964   MICAELA      SANCHEZ                   CO         90009545517
52225571461975   LEONARDO     LEON                      CA         90010215714
52226296961975   LEON         JACO                      CA         90004502969
52227931491587   BRENDA       HERNANDEZ                 TX         75080469314
52227971984357   RONALD       HACKLER                   SC         14588649719
52228146977583   CAMERON      PEEK                      NV         90010871469
52228218555951   SUZANNE      ORTEGA                    CA         90006002185
52228328393724   ROGER        DUDLEY                    OH         90009343283
52229442861971   CARLOS       BAZAN                     CA         90012574428
52229981361973   JOHN         COY                       CA         90011839813
52233354955964   LETISCIA     MURO                      CA         90008943549
52233395361971   ADRIANA      GONZALEZ                  CA         90007133953
52233399555951   CHRISTINA    ANN MARBERRY              CA         49016983995
52235182641222   JEFFREY      SANDERS JR                PA         51016661826
52235325591895   BAIRO        FUENTES                   OK         90013253255
52235963684357   PERRYMAN     MICHAEL                   SC         90012179636
52236871661975   ELVIRA       MAURIN                    CA         46083628716
52239585371964   DON          TAPLIN                    CO         32091505853
52239695233699   TIFFANY      JOHNSON                   NC         90008556952
52239923684373   CAROL-ANN    ROPER                     SC         90011639236
52242414361965   JOSE         CABEZAS                   CA         90013774143
52243468857157   MITSY        GOMEZ                     VA         81071554688
52244724451336   BRANDON      MOHN                      OH         66047027244
52245595684357   CARRIBEAN    JAMES                     SC         90013155956
52246489391587   OMAR         RAMIREZ                   TX         90012754893
52247712633696   JAIRO        CAMPOS                    NC         90011787126
52248381184357   MELISSA      KOON                      SC         90012823811
52248591431428   CARLA        MCCLENDON                 MO         27505895914
52249299355951   BARBARA      ARREDONDO                 CA         90006002993
52249332657157   SILVIO       LOPEZ                     VA         81008203326
52249919661973   NANCY        MENDEZ-VALDEZ             CA         46029769196
52249972384357   ANDREA       BONEPARTE                 SC         90003159723
52251534361965   MONICA       CEVALLOS                  CA         90001355343
52251979661973   ERIC         HILL                      CA         90013009796
52253888833699   FREDDY       GONZALEZ                  NC         90014908888
52253923191587   ROGELIO      SEPULVEDA                 TX         90012479231
52254785884357   CEILISHA     JONES-CHAPLIN             SC         90010957858
52254975733696   ERICA        DAVIS                     NC         90011869757
52256454831426   JONATHAN     BUTLER                    MO         90013264548
52256461171964   FERMIN       TORRES                    CO         32071114611
52256465984357   ALLEENA      BRYAN                     SC         90014284659
52258434833699   LAMONTE      HAWKINS                   NC         90012964348
52259267784373   TIFFANY      CAMERON                   SC         90012492677
52268636444363   ANTHONY      LEWIS                     MD         82063036364
52268682191895   BRENDA       BAKER                     OK         21009566821
52269283157157   STEFANI      MASON                     VA         90014152831
52272519371964   MOSES        VARGAS                    CO         90000495193
52272572761975   MOISES       GARCIA                    CA         90013095727
52272958291587   BERTHA       TRILLO                    TX         90010739582
52273536384373   JULIAN       HILL JR                   SC         19008525363
52273628191587   PATRICIA     MOLINA                    TX         90015126281
52273632391895   RANDI        DELAO                     OK         21066626323
52274125284373   DANIEL       BROWN                     SC         90014121252
52276214393724   JEFFREY      AMMON                     OH         90009692143
52276299451348   MARTIN       REYNOSO                   OH         90013792994
52277881951348   SHIEKQULIA   TAYLOR                    OH         90007138819
52278225271964   EDGAR        ELIZONDO                  CO         32091542252
52278725551348   SCHERINA     THOMAS                    OH         90005437255
52279213957157   LUIS         ALFARO                    VA         90003872139
52281638161965   JULIAN       FLORES                    CA         90000946381
52282678193724   JAZMIN       MENDIOLA CERVANTES        OH         64509136781
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52282761333696   LAKIA         RHODES                   NC         90015077613
52283318191535   JULIAN        GUTIERREZ                TX         90009473181
52283684281666   ORAEL         MAY                      MO         90014986842
52284298891587   JOSE          SUSTAITA                 TX         90011902988
52284339633696   CANDICE       MILLER                   NC         12004893396
52284679561975   PRICILLA      ACEVES                   CA         90010276795
52285287233699   SHAMEKA       FRANCE                   NC         90011092872
52285675361965   LUIS          CRUZ-GONZALEZ            CA         90009276753
52288671761973   MARK          CALVARIO                 CA         90013956717
52288798861975   SAMUEL        CORONADO                 CA         90011437988
52289675584357   NYASHIA       GRIFFIN                  SC         90013456755
52289754491895   HAZEL         PALMER                   OK         90001457544
52291199393724   DARREN        WARE                     OH         90011321993
52291787561971   PAULO         SALAS                    CA         90013897875
52292297661965   MICHAEL       FRISHKORN                CA         90010002976
52294171491587   ANA           CARVANTES                NM         75012431714
52295911531429   TONYA         LOWE                     MO         27514669115
52296184755926   SAMANTHA      GALLYER                  CA         49015241847
52297658461973   SABRINA       GONGORA                  CA         90009946584
52298531433696   BRITTANY      BROWN                    NC         90002335314
52311859693776   TIFANY        FOX                      OH         90001648596
52314321761965   LETICIA       NUNEZ                    CA         46009053217
52314779393772   KYLE          FRANCIS                  KY         90004557793
52317997461971   SARA          FIERRO                   CA         90013459974
52318468184357   JAKIA         SINGLETON                SC         90010784681
52318477693724   BRANDON       COTTON                   OH         90014274776
52321393184373   KOWALSKI      CATHERINE                SC         90015003931
52321665461971   MARIA         PEREZ MEZA               CA         46077926654
52322216851348   SUSANA        ARAUJO                   OH         90014152168
52322291657133   RACHEL        RODRIGUEZ                VA         90014872916
52323581333699   PATRICIA      BRUNER-HOOVER            NC         90011825813
52323966291895   JUSTIN        WHITE                    OK         90014829662
52324849831428   MICHAEL       THOMAS                   MO         27576848498
52325519655951   JOE CARMELO   RODRIGUEZ                CA         90006005196
52331755533157   ARTURO        SANCHES                   IL        90000187555
52331918881693   ROSALYN       ARRINGTON                MO         29079739188
52332158984357   SAVONDA       SMALLS                   SC         90012571589
52332687251348   JACKI         COX-LOVINS               OH         90002436872
52332934961971   TONI          SOALABLAI                CA         90015349349
52333289931429   JAMAL         COLE                     MO         90005852899
52338513461965   ANTONIO       TEJEDA                   CA         90013405134
52338611791892   EVA           VILCHIS                  OK         90010636117
52338673633699   RUTH          CALDWELL                 NC         90014806736
52339572655951   MICHAEL       AVILES                   CA         90009355726
52341676384357   IDA           WIGGS                    SC         90012476763
52342339984373   TRAVIS        GORDON                   SC         90014763399
52346294351348   AVIA          VIERLING                 OH         66036272943
52346464361965   IRENE         FARIAS                   CA         46076344643
52346859991587   ANOTHY        HALL                     TX         90013748599
52346986361473   ABDI          DIRIE                    OH         90013889863
52347872491895   CHRIS         BOONE                    OK         90014238724
52348641257157   LORENA        PONCE                    VA         90009976412
52349739684373   LATASHA       SMALLS                   SC         90015137396
52349783571964   ESPERANZA     SIMS                     CO         90008747835
52352469933696   HEATHER       GLENN                    NC         90007494699
52353179161973   JULIETTA      BECERRA                  CA         90013031791
52354864857157   PATRICIA      OCHOA                    VA         90004228648
52354955351348   DALLAS        HINES                    OH         90005109553
52354963684357   PERRYMAN      MICHAEL                  SC         90012179636
52355351133696   MERRICK       MARION                   NC         90009733511
52356494593724   JEREMY        RIFE                     OH         64526154945
52356628161965   SONIA         YOUNUS                   CA         90013986281
52357666361973   CAMI          KELLEY                   CA         46030096663
52357886151348   CASSANDRA     BLAND                    OH         66092918861
52358863251348   SAMANTHA      PAULEY                   OH         66032728632
52361231961995   ARLENE        LUGO                     CA         90013772319
52361279161973   LAURA         OROZCO                   CA         90008842791
52361815133696   VANECIA       GAINEY                   NC         12041898151
52363581291535   SAUL          GARCIA                   TX         75091265812
52364725461965   JOSE          ORTEGA                   CA         46007967254
52366178891587   SAMUEL        GARCIA                   TX         90013951788
52366193751348   DESTINY       RAYBOURNE                OH         90014511937
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52367561761973   ANA KARINA    ASCENCIO                 CA         90011445617
52367986561971   TETO          FIERRO                   CA         90007829865
52368281591587   GABRIEL       HERNANDEZ                TX         90013992815
52368588484373   MARITE        SOSOL                    SC         19070485884
52369297893724   TAUNA         FLOYD                    CO         64579952978
52369453291587   JESSICA       MARTINEZ                 TX         90013784532
52369713291895   EFRAIN        VASQUEZ                  OK         21085237132
52371557684357   MAURICE       HUNT                     SC         90012935576
52372748661975   LETICIA       LIRA                     CA         46050187486
52372764751348   KIMBERLY      PHILLIPS                 KY         90013667647
52373511233696   TIFFANY       FARM                     NC         90013275112
52374896457157   MARIA         MENDOZA                  VA         90014758964
52374977333699   AMANDA        FOSTER                   NC         90013319773
52377227233696   ALPHONSO      CHAMBERS                 NC         90011932272
52377367161965   RODNEY        JORDAN                   CA         90010323671
52377617384357   PRISCILLA     MARTINEZ                 SC         90004116173
52381145491895   JUSTIN        NEWPORT                  OK         90013131454
52382749871964   DUANE         BACK                     CO         90008467498
52383341451379   ANGEL         PUFALL                   OH         90012923414
52383573951348   CHRISTOPHER   RUTLEDGE                 OH         90012065739
52383639433699   CERVANDO      PINEDA                   NC         90013926394
52384547484373   KEOSHA        THORNE                   SC         19056395474
52384751461973   CESAR         GRACIANO                 CA         90005037514
52385553384373   ERSHIE        MCNIEL                   SC         19031685533
52386646671964   THOMAS        MOUSAW                   CO         90006866466
52387538161975   RALPHY        COTA                     CA         90012085381
52391179591587   JESUS         ALPANZA                  TX         90013951795
52393291561975   JASMINE       SANTOS                   CA         90007742915
52393327551348   GAITHER       HARRIS                   OH         90012983275
52394499993724   REBECCA       ARDEN                    OH         90002874999
52394594761973   DIANA         TUTTLE                   CA         46067555947
52394754961973   VICTOR        ESTRADA                  CA         46065457549
52394818391348   ANTRINA       KING                     KS         90009538183
52395313691895   ALISSA        GROGAN                   OK         90014233136
52395317961965   VU            TRAN                     CA         90007633179
52396444857157   JERARDO       VALLE                    VA         90010904448
52396464333699   BETTY         WILLIAMS                 NC         90011074643
52396847157157   OTIS          JACKSON                  VA         81083448471
52397339371964   SEAN          PORTER                   CO         90010083393
52399183584357   STACI         HEYWARD                  SC         90002981835
52411324841244   GAIL          LOOKER                   PA         90004253248
52412284293724   TINA          WALTERS                  OH         90010362842
52416423984852   MIGUEL        ANAYA                    NJ         90015064239
52416899891999   KRYSTAL       CORNISH                  NC         90010408998
52416957957157   JOSE          REYES                    VA         90011329579
52417151357123   PEDRO         HERNANDEZ                VA         90002501513
52418284231429   LASHONDA      THURMAN                  MO         90005012842
52418785861973   WILLIAM       MORAN                    CA         90012627858
52419121685928   FELIPE        GARCIA                   KY         67051521216
52419358891587   BRENDA        RINCON                   TX         90010393588
52419655142335   SHELBY        HAMILTON                 GA         90013596551
52419835257157   TYRONE        STEWART                  VA         90012838352
52421574155951   MARIA         GONZALEZ-PEREZ           CA         49091555741
52421843491856   GAIL          NELSON                   OK         90008868434
52422632257157   ANTHONY       EDWARDS                  VA         90008316322
52423368951348   ISHA          CHAM                     OH         90008643689
52423437555947   ANGELA        GALLOWAY                 CA         90009954375
52423478457124   GENAR         PADILLA                  VA         90008364784
52424919561973   GRICELDA      RIVERA`                  CA         46090609195
52425194561973   BERNANRDO     RUIZ                     CA         90012741945
52426332833689   CHUKI         MARTIN                   NC         90012823328
52427175133696   CHAZ          WRIGHT                   NC         12064001751
52428664784373   LAKENYEA      ROYAL                    SC         90014036647
52429865957157   RUT           AGUILAR                  VA         90007618659
52432115633699   JENNIFER      DUNCAN                   NC         90013891156
52432616861975   GUILLERMO     MARTINEZ                 CA         46017556168
52433142591968   DONNA         HOLLOWAY                 NC         17067781425
52434261884357   SHANTA        BOLES                    SC         90012442618
52434383951348   GERALDINE     HARRIS                   OH         90010983839
52434418333696   TERRANCE      LOTT                     NC         90014284183
52436312593724   LATOYA        SCANDIRICK               OH         90012033125
52437736357157   CERICK        GRIFFIN                  VA         90012847363
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52441372351348   DAWANA        RISTON                   OH         90014623723
52441595384357   SHANTEL       WILLIAMS                 SC         90009175953
52442142833699   TERESA        MURPHY                   NC         12032971428
52442186191587   ROSA          CORTEZ                   TX         75095001861
52442412661975   ISRAEL        SANDOVAL                 CA         90010094126
52444299361975   MICHEAL       SMITH                    CA         90015332993
52445662784373   CARRIE        BROWN                    SC         90010246627
52447772757131   DAVID         RODRIGUEZ                VA         90006067727
52447942961965   SUSANA        RODRIGUEZ                CA         90015179429
52448224293724   MELINDA       WELLS                    OH         90010982242
52448538733699   ADRIAN        MARTIN                   NC         90004745387
52449613131428   INASS         ELOUERRASSI              MO         27500586131
52449779561965   YVONNE        SERVIS                   CA         90008837795
52451981771964   DARRON        HOWARD                   CO         90006879817
52452875877522   MARIO         WILLIAMS                 NV         90014128758
52453197684373   MARIANA       GARCIA                   SC         90008361976
52454494157157   VERONICA      MORENO                   VA         90011904941
52455981757157   BRIAN         JHONSON                  VA         90012849817
52457649291895   IMAD          SAFA                     OK         21074606492
52457798733696   MARILYN       GAITHER                  NC         12015537987
52458378833699   LATOYEA       FINNEY                   NC         90014923788
52461299733696   EARL          ARTIS                    NC         12094762997
52462612561973   ROSA          MUNOZ                    CA         90009776125
52462748361965   VITALII       PUKAS                    CA         90009297483
52462865484357   NICHLAS       BLAZEWICZ                SC         90014268654
52463236361975   ALEJANDROO    ESPINOZA                 CA         46034042363
52463429731428   EDRAR         SOSA                     MO         90010554297
52463519333699   JENNIFER      CAUDLE                   NC         90012335193
52464923591587   CAMILA J      BATRES                   TX         75070019235
52465422593724   LAURA         TERRELL                  OH         90014964225
52465533661971   JOSEPH        LUTERO                   CA         46094305336
52469987251348   THORNBERRY    JAMES                    OH         90003449872
52471511233699   JAMIKA        WATTS                    NC         90015155112
52472172961965   NORMA         GONZALEZ                 CA         46087721729
52472292533696   RASHETTA      ARCHER                   NC         90012922925
52472333736165   VERA          MARTINEZ                 TX         73512223337
52473299291895   ELIDA         HELER                    OK         90005542992
52476484361975   JAVIER        CARDENAS                 CA         90011424843
52477172391895   NIKI          DAVIS                    OK         90011181723
52477293761965   RUTH          CALLIHAN                 CA         46008992937
52477586186427   FIDEL         CRUZ                     SC         90014375861
52477774451331   DAVID         EALY                     OH         66018097744
52478954693724   BRIAN         TELL                     OH         90009179546
52479198291587   MARIA         MARTINEZ                 TX         90013951982
52479268961965   LUIS          QUEVEDO                  CA         90011332689
52479695593724   BILLIE        BUCK                     OH         64530776955
52481198291587   MARIA         MARTINEZ                 TX         90013951982
52482297591895   PRISCILLA     BERRYHILL                OK         90013132975
52482685433699   KAREN         WILLIAMS                 NC         90013836854
52485144551348   SHERRY        GRIFFIN                  OH         90013871445
52485422961965   REYNA         MANJARREZ                CA         46015914229
52485874133696   CLESHAY       BREECE                   NC         90013678741
52486944784373   GORGONIO      MORENO                   SC         19041239447
52487127861973   NEPH          HH                       CA         90008001278
52488861761971   REYNALDO      SANDOVAL                 CA         46017798617
52489692991521   SIMON         LOBBAN                   TX         90012006929
52489843651348   JEFFREY       TURNER                   OH         90011888436
52489948884373   JOSE          HERNANDEZ LOPEZ          SC         90014589488
52491673861971   DAISY         ROJAS                    CA         90012886738
52492221591895   FREDRICK      MEEKS                    OK         90014462215
52494427493724   ERICA         TOLIVER                  OH         90011174274
52495192693724   JACOB         MACKEY                   OH         90013581926
52496944291587   GLORIA        VIDAL                    TX         90014649442
52498121961971   ANN MARIE     GOFFENEY                 CA         90010871219
52511461133696   DAYNEZ        ORDONEZ                  NC         90010984611
52511566755947   ANGEL         VALENCIA                 CA         90015135667
52512377371964   SHILOH        LILLEY                   CO         90011613773
52512514231428   AISHA         WILKES                   MO         90011185142
52512931191895   PATRICK       BRIGGS                   OK         21084919311
52513141391534   AMANCIO       GONZALEZ                 NM         90011431413
52513678661975   CHRISTOPHER   SCHILAWSKI               CA         90011876786
52514628161965   SONIA         YOUNUS                   CA         90013986281
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52515147193724   VERA                  PEPPER           OH         64572091471
52515583491587   MARTHA                MADRIZ           TX         75007555834
52515628331428   JANICE                JAMES            MO         90010556283
52517223171964   KALEB                 ALLEN            CO         90011312231
52518896391535   SAMUEL                CAMPOS           TX         90013248963
52519211633699   JONATHAN              MAUDIEL-MIRON    NC         90014272116
52519428271964   ARTHUR                GALLEGOS         CO         90011614282
52521755161971   WILL                  MOOG             CA         90010747551
52523215591587   NANCY                 MUNGUIA          NM         75042372155
52524167357157   MARINA                MONTERROSA       VA         90007931673
52524197171964   ROBERT                SANFORD          CO         32092091971
52525943431428   VICTORIA              SMITH            MO         90009399434
52526646731429   MARCUS                NOLEN            MO         90005866467
52526689593724   JAMES                 RICE             OH         90012466895
52527149391535   LETICIA               DURAN            TX         90011401493
52528378571964   DENNIS                SHENK            CO         90006893785
52528887193724   JAMES                 VANHOOSE         OH         90011068871
52534532691587   SAMMY                 CHAVEZ           TX         90012495326
52534667561971   AYLIN                 RIVERA           CA         90013826675
52535442731428   HARRY                 WILLIAMS         MO         27595844427
52536635361965   AIOTEST1 DONOTTOUCH   DONOTTOUCH       CA         90015116353
52536918933696   KIMBERLY              MINOR            NC         90004649189
52537592361971   KHOSROW               EFTEKHARI        CA         90014285923
52538179791895   KAREN                 PAYNE            OK         21078601797
52541755961949   MARIA                 VILLALVAZO       CA         90014167559
52545997691895   JENNIFER              LUGO             OK         21079859976
52546811491895   MARY                  HYNES            OK         90009478114
52548155284373   WILLIAM               TARTER           SC         90012831552
52548217251348   OCIEL                 CASTRO           OH         90014152172
52548787284373   WILLIAM               TARTER           SC         90011657872
52549223857157   MILTON                TURCIOS          VA         81040872238
52549298357157   ELSA                  VALLADARES       VA         90014172983
52549723897127   TROY                  MCMILLAN         OR         90010437238
52551245791587   ELVIA                 CABRAL           TX         90012722457
52551961761975   DAWB                  LURVEY           CA         90013449617
52552137457157   HENRY                 BAUTISTA         VA         90011911374
52552334833696   DARREN                GOINS            NC         90009973348
52552452557157   TENINA                DAVIS            VA         90014694525
52552759593724   BRANDI                GUY              OH         90010137595
52553274471964   JONATHAN              MENDEZ           CO         90000692744
52553726361975   RUBY                  ARELLANO         CA         90000127263
52553754961975   LIZBETH               CANELA           CA         90013857549
52554551371964   STEPHANIE             TRUJILLO         CO         90011615513
52557413884373   ANTON                 SMALL            SC         90014914138
52557683161975   CHRISTIAN             HERNANDEZ        CA         90007806831
52557765691895   TIYANKA               WASHINGTON       OK         90004327656
52558582331692   CARLOS                MARROQUIN        KS         90012455823
52561743861548   ARISTEO               TORRES           TN         90014837438
52563428591587   DEBBIE                ROJAS            TX         90011354285
52563555461975   EVERARDO              HERNANDEZ        CA         46034715554
52564223684852   ESMERALDA             CUITERREZ        NJ         90013842236
52564538661973   MARQUEEN              MECASIEB         CA         90005165386
52564949891587   THEODORE              PERRY            TX         90011959498
52565546891587   EVA                   BARRON           TX         90013225468
52566178451348   JENNIFER              KENNEDY          OH         66029951784
52567583491587   MARTHA                MADRIZ           TX         75007555834
52568285561973   GUADALUPE             MARQUEZ          CA         46030112855
52569742833699   GREGORY               LIPSCOMB         NC         90014127428
52571694855939   EDUARDO               RUIZ             CA         90004196948
52574599461975   IVAN                  MARTINEZ         CA         90010115994
52575952561971   RAYMOND               MARQUEZ          CA         90013509525
52576195671923   DOMINIQUE             MARTINEZ         CO         90006071956
52576237761973   KENYA                 SANCHEZ          CA         90012922377
52577476261973   RAY                   RAMOS            CA         46078194762
52578832284357   HOWARD                ALLEN            SC         14548138322
52581763358528   MONIQUE               NORMAN           NY         90009217633
52582691761975   KAREN                 URREA            CA         90015156917
52584953233696   FREDDIE               CORNELIUS        NC         90001629532
52587787291587   EVA                   SIANEZ           TX         90001917872
52588249731428   PHIL                  BROWNLEE         MO         27589372497
52588548961975   ADRIANA               SPICUZZA         CA         90013975489
52592545861973   JORGE                 OCHOA            CA         90004855458
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52593413657157   SAMUEL       RIVERA                    VA         81021094136
52593478191587   ANGELA       GONZALEZ                  TX         90014434781
52595546333699   BERENICE     SALINAS                   NC         90013305463
52596441251348   ANGELA       PARKER                    OH         66068314412
52597982633696   CHERYL       DIAZ-RAMIREZ              NC         90014689826
52599781984357   TRAE         EVERETT                   SC         14594037819
52599857433696   JADA         HUNTER                    NC         90006168574
52599977584357   TRAE         EVERETT                   SC         14594739775
52613514491587   VANESSA      LORENZO                   TX         75082205144
52613622561973   CONSUELO     MENDOZA                   CA         46042066225
52613935133696   DARLENE      KITCHEN                   NC         12043389351
52614729291587   NAYELI       SOLIS                     TX         90010977292
52615193585928   PAUL         HUFF                      KY         90001641935
52617883591895   MARCUS       HENSINGER                 OK         90014738835
52618168861965   BIANCA       MALDONADO                 CA         46088031688
52619383131429   DAYZHA       CURR                      MO         90005913831
52622271481683   STEVEN       DYE                       MO         90011802714
52622371761971   MANUEL       FUENTES                   CA         46022243717
52622512951348   DESHANAE     LEWIS                     OH         90013535129
52622759361973   ALTHEA       STEWART                   CA         46029457593
52623239791587   RAYMUNDO     CARRILLLO                 TX         90013952397
52624522671388   AMBER        PHILLIPS                  CO         90010335226
52625342891265   ALICIA       BRENNAN                   GA         14505503428
52625982184373   LABINIA      MEDINA                    SC         90014829821
52627753991587   JESSICA      MACIAS                    TX         90009947539
52633824461973   JEAN         MICHEL                    CA         90003458244
52635344884357   PHILICIA     WING                      SC         90009173448
52635653751351   JESSICA      MARCUM                    OH         90003736537
52637989991587   CRYSTAL      HERNANDEZ                 TX         90006839899
52638836154151   AMY          TRAN                      OR         47090758361
52639323891895   SOLOMON      TARIAH                    OK         90014933238
52639375893724   JENNIFER     COURTNEY                  OH         90007113758
52639863491587   CODY         CLIFTON                   TX         90004148634
52641462291895   JANE         ESTES                     OK         90014824622
52641581293724   DARLA        WILLIAMS                  OH         64563105812
52642285157157   RENEE        LILLY- HOLMES             VA         81072262851
52642596784373   HENRY        MORRISON                  SC         90013965967
52642598966186   CALEN        EVERETT                   CA         90015175989
52642849461971   MARTIN       CISNEROS                  CA         46012238494
52643575484373   LEANDRO      FORTADO                   SC         90012045754
52643576961965   AMBER        CASTRO                    CA         90014985769
52644182654151   MARIAH       RAMSEY                    OR         90007951826
52644689561965   KRIS         BRUCE                     CA         46057576895
52645447484357   DANIA        NUNZIE                    SC         90010184474
52648281261975   DENNIS       VENEZIA                   CA         46034562812
52651393761971   MEGAN        PERKINS                   CA         90010713937
52651693661965   MICHAEL      JOHNSON                   CA         90015286936
52652718191895   RITA         FANNIN                    OK         21003157181
52653161885928   RODNEY       LIGHTFOOT                 KY         90005501618
52653399861975   MATTHEW      SMITH                     CA         90013283998
52653541761965   OLGA         DIAZ                      CA         46037865417
52653988851348   KIMBERLY     ALLEN                     OH         66025629888
52656529757157   JUNIOR       ECHEGARAY                 VA         90010355297
52656741557157   ALIEU        KAMARA                    VA         90012867415
52657171751348   DOLORES      UNGERBUEHLER              OH         90001991717
52657436657157   ZEESHAN      KHALID                    VA         90008204366
52657819361973   DIANA        CASTRO                    CA         90005818193
52662613884357   AMBER        STIBITZ                   SC         90011406138
52663366861971   SANDRA       MONDRAGON                 CA         90005283668
52663789957157   PEDRO        INAJA                     VA         90010937899
52664685891535   HILDA        PONCE                     TX         90011236858
52664842561975   DANTER       ELIZALDE                  CA         46017788425
52665549733699   LATASHA      FINNEY                    NC         90014885497
52666245591587   DULCE        LOERA                     TX         90013952455
52666625442335   LACEY        SHARKEY                   TN         90015506254
52666828861965   ALBA         PINEDA                    CA         90006838288
52667677184373   LELAND       WARING                    SC         19072996771
52667864161973   RUFINO       QUEZADA                   CA         46085868641
52669321791587   ALEJANDRO    ORTEGA                    TX         90004493217
52669638391587   JORGE        GOMEZ                     TX         90015206383
52669727451348   ANTONIO      PEREZ MENA                OH         90015127274
52669866871964   JOSEPH       FISH                      CO         90011618668
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52671225161975   LUZ                   MARTINEZ             CA     90009732251
52672523184357   DOMINIQUE             EUGENE               SC     90015465231
52672546291587   LUZ                   VASQUEZ              TX     90014085462
52672991261965   ALICIA                VELLEGE DE SANCHEZ   CA     90010929912
52673123391895   MARIA                 DIAZ                 OK     90014241233
52673622151348   MONICA                BRIDGES              OH     66007596221
52673683531429   THEODIS               WATTS                MO     90005916835
52674265991587   SANDRA                SIGALA               TX     90013952659
52674611333699   HUMBERTO              JUAREZ               NC     90011466113
52674726784357   JEREA                 HAYES                SC     90013227267
52677278733696   RADOVAN               BANOVIC              NC     12083412787
52678276661975   DAVID                 JACKSON              CA     90000952766
52678698561973   ANA                   MORALES              CA     46073576985
52679391171964   RYAN                  RICHARDSON           CO     90001703911
52683265991587   SANDRA                SIGALA               TX     90013952659
52684258731479   AMELIA                HILL                 MO     27553612587
52684589651348   TIMOTHY               JACKSON              OH     66022765896
52686642871964   TIM                   LEWIS                CO     32091986428
52687192333696   GARRY                 LOWERY               NC     90013771923
52689829831429   NICHOLAS              NADEAU               MO     90005918298
52691548893724   WANETTA               PETERSON             OH     90008355488
52692184491521   JUDITH                MEDINA               TX     90009981844
52693396493724   BRETT                 WOOLERY              OH     90011933964
52695186391895   SHALEIGH              MCLAIN               OK     90010321863
52695234233696   ERIC                  AMOS                 NC     90011162342
52695275991587   NANCY                 AGUILAR              TX     90013952759
52695912491895   SHALEIGH              MCLAIN               OK     90014659124
52696427484357   LATOYA                ROYSTER              SC     90008744274
52696833671964   BRIAN                 TABAR                CO     90006878336
52699938351348   DEBRA                 HEBEL                OH     90014869383
52711894271964   ROBERT                ROMO                 CO     90012458942
52712819961965   EMMETT                MARTIN               CA     46010208199
52714477271964   SEAN                  MCCONWILL            CO     32092014772
52715627942335   YVETTE                SHARKEY              TN     90015506279
52716753661965   BRIAN                 SULLIVAN             CA     46095507536
52716948693724   LESLI                 MARTINEZ             OH     90013609486
52717827257157   STELLA                ESQUIVEL             VA     81072068272
52722182671964   JAMES                 TAYLOR               CO     90011621826
52723316341233   SAMANTHA              MICHAEL              PA     90001393163
52723367784373   TESSCIA               SIENNINGSEN          SC     19034693677
52724115184357   SHARON                LING                 SC     90015571151
52724639831428   WILLIAM               DESPAGNI             MO     90000656398
52724768661965   AMY                   TODD                 CA     90000947686
52726554261965   VIRIDIANA             MENDEZ               CA     90012975542
52727267657157   JONATHAN              MUNIZ                VA     90002362676
52728617571964   TIARIA                MAJORS               CO     90009286175
52729127757157   SADE                  HARRIS               VA     90015081277
52729327533699   TASHA                 SAMUELS              NC     90010373275
52731465261973   JEREMY                POWELL               CA     90011224652
52732334591587   JOEL                  GUZMAN               TX     90000703345
52732785451348   SHYLAH                MASON                OH     90010317854
52733348231428   MASONE                NASH                 MO     90007943482
52735549233157   CLAUDIA               HERNANDEZ            IL     20597755492
52737153661975   SHAWN                 FULLER               CA     46035381536
52742593357157   ADA                   QUINTANILLA          VA     81028475933
52743273533699   REYNA                 OCAMPO               NC     90012662735
52743579251348   JAMES                 LUEHRMAN             OH     90000425792
52743848991895   TERRELL               GERMAN               OK     90011208489
52744625791587   BEATRIZ               RAMIREZ              TX     90002076257
52745449791587   AARON                 TERAN                TX     90014454497
52745787561971   JASON                 SANDERS              CA     46058937875
52748227533699   MARLENE               THOMAS               NC     90012882275
52748322731429   ASHLEY                THOMPSON             MO     90005923227
52748931585928   ANTONIO               FLORES               KY     90000559315
52749423991587   ARMANDO               CASTRO               TX     90014424239
52751857261971   ANTHONY               NATALLEZ             CA     90012198572
52751877757157   LUIS                  RIVAS                VA     90014868777
52751972733696   JULIE                 JORDAN               NC     90011389727
52752666861975   RAUL                  PALONERA             CA     90003846668
52754635361965   AIOTEST1 DONOTTOUCH   DONOTTOUCH           CA     90015116353
52754742891587   VICTOR                FALCON               TX     75061417428
52756584961965   ESMERALDA             PRECIADO             CA     90013585849
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52756637971964   MANUEL       SMITH                     CO         32092076379
52758546661975   ELI          CAVAZOS                   CA         90012085466
52758944684357   JAMIE        HANNAH                    SC         90014089446
52759746731428   JOHNNY       HOLT                      MO         90000287467
52761481184373   NATALIE      BONDURANT                 SC         90014934811
52761484657157   TERRIE       MULLINS                   VA         90000474846
52761752633696   JAMES        DULA                      NC         90010627526
52763593357157   ADA          QUINTANILLA               VA         81028475933
52764188333699   NYKIAAH      CURRY                     NC         90004381883
52765591291587   JOSE         GUTIERREZ                 TX         75016845912
52765795893724   ALYCIA       WELLZ                     OH         90003037958
52767248684373   JHOANA       MOLLINEDO                 SC         90013112486
52768193833696   SAMUEL       CHAVIS                    NC         90009441938
52769464757157   ALFRED       BLAKE                     VA         90000654647
52769769133699   SHELAINE     WHITLOCK                  NC         90006887691
52771281171964   DARRYL       ABERNATHY                 CO         90011622811
52772217661975   ERIKA        SECENAS                   CA         90005352176
52773578184342   CHARSETTA    GRAHAM                    SC         90013315781
52773587371964   HUMBERTO     GALLEGO                   CO         90012415873
52774324991587   FRANSCICO    CHAVIRA                   TX         90013953249
52774652293724   DEBRA        BROWN                     OH         90012626522
52775355561973   ERICK        GOODALL                   CA         90011963555
52775679591587   JOSE         BARRAZA                   TX         75003716795
52776329991587   ADOLFO       MELENDEZ                  TX         90013953299
52776343357157   ALEXIS       WHITE                     VA         90013323433
52776766533696   FLOYD        AYDELELLE                 NC         90013247665
52776889133699   RAQUEL       OLMEDO                    NC         90012038891
52776892461975   LIDIA        LOPEZ                     CA         46004928924
52782717591587   JESSICA      REYES                     TX         90011877175
52783431991587   HECTOR       RAMIREZ                   TX         90014864319
52783679361975   JOSUE        EMMANUEL                  CA         90008356793
52783816161973   LUCIA        BROWN                     CA         90013078161
52783838184357   BRAD         MCCOLLOCH                 SC         90010388381
52784275391895   DULCE        BECERRA                   OK         90013142753
52785329991587   ADOLFO       MELENDEZ                  TX         90013953299
52786669961973   MARIA        OLAGUE                    CA         46055696699
52788366191895   ERICA        MAGEE                     OK         21019283661
52788447757157   DAGOBERTO    POSADA                    VA         90005454477
52788625533696   JAMES        JAMESON                   NC         90013686255
52789982557157   JHON         TOMAS                     VA         90009859825
52791587984373   EMILY        SMITH                     SC         19077095879
52792969871964   ELDER        DELGADO                   CO         32015689698
52793151471964   JAMES        BOYER                     CO         90011771514
52793284184373   BRUCE        KASTENMEIER               SC         90013932841
52794984991895   DIGENE       MISHION                   OK         90011209849
52795167951348   ASA          MC NEIL                   OH         90001781679
52798892293724   JASON        JOHNSON                   OH         90012918922
52799763751348   MARLAN       LEARY                     OH         66062677637
52811637191348   SCOTT        GLOEB                     KS         29032356371
52812783257157   CARLA        GARCIA                    VA         90014727832
52813323861973   BLANCA       CAMBEROS                  CA         46046153238
52813968533696   WILLIE       JEFFRIES                  NC         12067349685
52815562461965   ISABEL       RUBIO                     CA         90006015624
52815797297125   SHALONTE     CRAWFORD                  OR         90012527972
52817829961971   CESY         GARZA                     CA         46046268299
52817831661965   PARKER       TRAMMELL                  CA         90012708316
52818248761971   AGUILAR      ANGEL & MANDI             CA         46013132487
52818695393724   IVR          ACTIVATION                OH         90008336953
52818731161975   TORREZ       ELISA                     CA         90010217311
52818739284357   ZION         HOLMES                    SC         90010407392
52819287471671   MATTHEW      LABARGE                   NY         90009272874
52821134985928   JANET        LOWE                      KY         67030411349
52821157691587   CLAUDIA      DELGADO                   TX         90002071576
52821481284357   SAMERIA      MUHAMMAD                  SC         90015094812
52821576493724   JACK         SIMMS                     OH         90012265764
52824659557157   WILMER       FLORES                    VA         90006156595
52824982461971   JOHN         HICKS                     CA         90012849824
52824991351348   JESSICA      LOWRY                     OH         90013689913
52825245757157   BLANCA       CARABANTES                VA         90014392457
52825595951348   PUNKIN       HICKSON                   OH         90004225959
52826411461975   JANNET       FERNANDEZ                 CA         90011334114
52828444591895   TILDA        SIMMONS                   OK         21051554445
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52829696171964   NATHAN        BRESCI                   CO         90004036961
52831696171964   NATHAN        BRESCI                   CO         90004036961
52834248691895   JANELLE       WHITE                    OK         21088162486
52835312791895   PATRICIA      BEHN                     OK         90014243127
52835468861548   DERRICK       STEWART                  TN         90014094688
52835711891587   DYLAN         BAIRD                    TX         90007307118
52835982633696   AVA           WHITWORTH                NC         90014129826
52837854684357   JAVASSIA      ROBINSON                 SC         90015238546
52838151651343   JAY           WINSTON                  OH         90007171516
52838193761973   JAVIER        RAMIREZ                  CA         90011491937
52839743133699   WILLIE        GWYN                     NC         12083647431
52841144261971   LUCY          ALVARADO                 CA         90012781442
52841399961965   ANDREW        DENNY                    CA         90010663999
52841589161975   JAQUELIN      GARCIA                   CA         46035035891
52841991391895   THOMAS        MENCHACA                 OK         21004169913
52842365391895   AARON         HUMPHREYS                OK         90014243653
52842994133699   BENJAMIN      GARIBAY                  NC         12085109941
52843483184373   MALIK         HARDIMAN                 SC         90014704831
52843811491587   DESIDERIO     NAVA                     TX         75082878114
52844263733696   CRYSTAL       PRICE                    NC         90011302637
52844951433699   MIKEYA        GADSON                   NC         90009459514
52845378584357   CARLOS        ALVAREZ                  SC         90004633785
52845938893724   CIERRA        MALLORY                  OH         90014229388
52848625393724   PAUL          MACK                     OH         90010306253
52848938351348   RICHARD       HALL                     OH         90002059383
52849756933696   JENNIE        KONOSKI                  NC         90015137569
52851315361939   FERNANDO      DURAN                    CA         90009413153
52851581884334   JOSHUA        HASELDEN                 SC         90014845818
52853524784373   CHRISTOPHER   CONNELLY                 SC         90015045247
52853638291895   CANDACE       WOOD                     OK         90008066382
52854234661548   WILL          BENEFIEL                 TN         90015592346
52854251161975   YOLANDA       ADKINS                   CA         90012562511
52854632184357   JONATHAN      PATRICK                  SC         90015586321
52854715551348   JORJE         PEREZ                    OH         90012347155
52855149593724   MICHELLE      HEINLEIN                 OH         90013601495
52855536985928   JENNIFER      GUNN                     KY         67091705369
52855977391587   JOSE          HOLGUIN                  TX         90013329773
52858396161965   DEBRA         ROBINSON                 CA         90001873961
52859824391587   JOSE          ACOSTA                   TX         90014758243
52862185193724   JAMES         CLARK                    OH         90014711851
52862435661971   LARRY         SLINGERLAND              CA         90013534356
52862996484357   LISA          MOULTRIE                 SC         90013069964
52864631861975   GUADALUPE     COLADO                   CA         90008576318
52865885284357   ADRIANA       RODRIGUEZ                SC         90013408852
52865939261971   JUSTINE       BATTS                    CA         46048219392
52866775357124   RAUL          BENITEZ                  VA         90010027753
52866973693724   MARIA         COOPER                   OH         90011929736
52867999684373   MALIK         TAYLOR                   SC         90013669996
52868529531428   LINDA         STREICHER                MO         90010575295
52868911761965   TIARE         CORRAL                   CA         90010029117
52868939891587   KARLA         CARDONA                  TX         90011429398
52871822177581   CASSANDRA     KIMBROUGH                NV         90008238221
52872368793724   STEVEN        WILSON                   OH         64594603687
52874198533699   MEGAN         COLLINS                  NC         90014301985
52874275461986   LIDA          WOODARD                  CA         90006682754
52878399785824   CURTIS        JENNINGS                 CA         90008653997
52879752361965   JUANA         BONILLA                  CA         90010667523
52883334661973   KATRINA       QUEZADA                  CA         90010373346
52884213633699   SELAMAWIT     TEKLEMICAEL              NC         90012602136
52886693533696   JAMES         GILMORE                  NC         90013046935
52886871784373   TIMOTHY       BROWN                    SC         90013768717
52887193751348   DESTINY       RAYBOURNE                OH         90014511937
52887363471964   KARISSA       CRUMP                    CO         90003193634
52887596861949   CRISANTO      VENTO                    CA         90000315968
52888117861971   MARIBEL       RODRIGUEZ                CA         90008091178
52888318333696   KIMBERLY      OLIVER                   NC         12003863183
52888496593724   DOROTHY       BROWN                    OH         90011084965
52888631384357   BERNARD       ROBINSON                 SC         90012236313
52889336333696   JAMES         BOND                     NC         90010063363
52891562361944   EVELYN        KUEPPERS                 CA         90007795623
52891675384357   KIWANA        DONEISE                  SC         90014126753
52892975663623   PAYGO         IVR ACTIVATION           MO         90014279756
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52893663461965   LARRY        PINNICK                   CA         90011566634
52894538961936   ELVIRA       DELGADO                   CA         90011665389
52899377333696   TIWANNA      TAYLOR                    NC         90013393773
52914167451348   LADE         AEYEMI                    OH         90014041674
52914462761965   ERICA        PARRIS                    CA         90013174627
52914799861975   DIANA        DE DIOS GAYTAN            CA         90010227998
52914897833699   JENNIFER     HERNANDEZ                 NC         90012938978
52915465891895   KARIN        CAUDLE                    OK         90014244658
52916628161975   GLORIA       TRASVINA                  CA         90014646281
52918748184373   GEOVANI      LOPEZ                     SC         19087827481
52923113591587   VICTOR       PALACIOS                  TX         75026011135
52923728491895   MELISSA      JORGENSEN                 OK         90011217284
52924382161975   MARISELA     RAMIREZ                   CA         90014843821
52924839757157   PATRICK      DYSON                     VA         90013758397
52925329891925   SHERRY       ALSTON                    NC         90003433298
52925917585928   SHARON       MORRIS                    KY         67036169175
52926684861973   DIANE        BLACKWELL                 CA         46055706848
52927241493724   LARISHA      SPEAR                     OH         90011782414
52927288733699   JONAH        GENT                      NC         90011422887
52928868961971   GENOVEVA     CHAVEZ                    CA         90013248689
52929157561965   PATRICIA     BELLING                   CA         90012031575
52929815633696   SHERETA      SMITH                     NC         90006208156
52931518791895   JOSEPH       GIBSON                    OK         90011215187
52931761561975   NOEMI        HERNANDEZ                 CA         46073967615
52932161591587   ALBA         VILLELA                   TX         90003311615
52933253691587   JOHN         NUNEZ                     TX         90004802536
52933745431428   CASS         SHEWBART                  MO         90008757454
52935214884373   CONNETTAR    GREEN                     SC         90013682148
52936277731428   DAVID        LEE                       MO         90011302777
52938892654152   KAITLYN      SMITH                     OR         90012918926
52941213591587   VANESSA      CASTRO                    TX         75050942135
52941853761973   ANDRES       TELLO                     CA         90009428537
52942241685928   ASHLEY       MARTIN                    KY         90006262416
52946946761971   GREG         SULLIVAN                  CA         46035229467
52947528331666   SAMANTHA     GUIRINO                   KS         90005205283
52947572551348   ENJOLI       BETTS                     OH         90013335725
52948948191587   JENNIFER     SAUCEDO                   TX         90011019481
52949713284373   LATASHA      FIELDS                    SC         90013527132
52949963351348   MIKE         WATHEW                    OH         90009139633
52951323257157   ADALID       MALDONADO                 VA         90006693232
52951436461975   MONICA       CRUZ                      CA         90008204364
52951579131428   DANIELLE     BOWE                      MO         90011525791
52953498961971   LAUREN       PENA                      CA         90011054989
52953963861965   MARIE        CHAVEZ                    CA         90012639638
52956289757131   JESUS        PEREZ                     VA         90008172897
52956713455951   LEANNA       CORANDO                   CA         90007007134
52957146384357   DAREL        JENKINS                   SC         90014001463
52957322531462   SHANAE       WALKER                    MO         27576863225
52957437957157   CARLOS       OSEGUERA                  VA         90014284379
52965627333699   ANTONIA      VALENZUELA                NC         90015166273
52965629691895   NANCY        ORTIZ                     OK         90006116296
52968679361971   ARDITH       GESTRA                    CA         90012076793
52971273161975   GABRIELA     BANALES                   CA         90005082731
52973495133699   DEANDRE      ALLEN                     NC         90009274951
52974666161971   STEVEN       ESTRADA                   CA         90000326661
52974949293724   SONIA        POLING                    OH         64527759492
52975382884373   MALCOM       GARRETT                   SC         90013933828
52975547651348   AGUSTIN      MEDINA                    OH         90013495476
52975882361975   GABRIELA     SANCHEZ                   CA         90007198823
52975948861548   ABIMAEL      VILLEGAS                  TN         90015539488
52977825731428   LAMARO       MARTIN                    MO         90010878257
52977857491587   DANIEL       CAZARES                   TX         90010308574
52978449857157   SANDRA       CHAVEZ                    VA         90011154498
52978593891587   SIRIA        PURCELL                   TX         90005645938
52979159684357   JESSICA      NECESSARY                 SC         90014601596
52979172761973   BERTHA       ROMERO                    CA         90011971727
52981546391895   JIMMY        CHILDS                    OK         90015085463
52982159981683   MICHELLE     TOLIVER                   MO         90000971599
52982892458577   ARDELIA      CORRES                    NY         90015538924
52983323161975   GOCHEZ       GEORGE                    CA         90007593231
52985575833699   JASMINE      WILLIAMSON                NC         90013085758
52986567371964   JENNIFER     WALLACE                   CO         32008005673
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52986774291895   RITA         BELLO                     OK         21034357742
52987861961975   MAYNARD      LEE                       CA         90010678619
52987959285983   ANDREA       LANGEFELD                 KY         90008969592
52988346391895   ALEAHA       JONES                     OK         90011323463
52989924761965   AURIEL       POOLE                     CA         90014859247
52992214233696   ISRAEL       ESQUIVEL                  NC         12077302142
52992261861975   LUIS         MENDOZA                   CA         90011912618
52992329885928   SAMPSON      WUO                       KY         67080613298
52993492633696   MELISSA      JAMES                     NC         90001234926
52993827161971   YOLANDA      MEJIA                     CA         90012038271
52994591257157   MAURICE      REID                      VA         90010375912
52995776791895   ASHLEY       RAYMOND                   OK         21098187767
52996244791587   ISRAEL       LOPEZ                     TX         75088932447
52997159684357   JESSICA      NECESSARY                 SC         90014601596
52997312184357   TINA         WILLIAMS                  SC         14548473121
52997353333696   KHALIL       VANCE                     NC         90011143533
52998379461975   MARIA        MARTIN                    CA         90014823794
52998599661965   IRENE        DEAVITT                   CA         90010905996
53112218261971   GUADALUPE    SANCHEZ                   CA         46061262182
53113185371964   BRIAN        BAETZ                     CO         90014731853
53113335971964   JUANA        PALAFOX                   CO         90012763359
53113964151348   ERIC         YOUNG                     OH         66092339641
53115519371964   MIGUEL       MENDOZA                   CO         32066245193
53118458131428   SHANNA       HAWKINS                   MO         27547064581
53118927193724   BRAD         BROWNING                  OH         90015019271
53119658971964   NATHANIEL    BENSON                    CO         32076146589
53125349891587   ALONSO       RUIZ                      NM         90013483498
53125526161933   VIVIAN       CHEE                      CA         46040665261
53125824961971   BRADLEY      PASSEHL                   CA         90013698249
53126677857157   SERGIO       SORTO                     VA         81008816778
53126965191895   STEVEN       AUSTEN                    OK         90012659651
53126982491895   CLAUDIA      SHELLEY                   OK         90001619824
53128257493724   TINA         CUNNINGHAM                OH         90011242574
53128434861971   RONALD       SCHWARTZ                  CA         46073284348
53129365385928   LAURISSA     VARGAS                    KY         67002033653
53129529191587   JOSE LUIS    DE LA CRUZ                TX         90009405291
53129563791834   SHERRONDA    PHILLIPS                  OK         90012465637
53129687655959   BEKY         GONZALES                  CA         90013686876
53131197291534   REBECCA      REYNOLDS                  TX         90001061972
53131368271964   INGRID       MEISER                    CO         90011633682
53131819351348   MICHAEL      MCHALE                    OH         90012538193
53132185471964   DARREN       SALAZAR                   CO         90010441854
53137686591534   ANGELICA     MORALES                   TX         75028796865
53138982261971   LOUIS        AQUINO                    CA         90005019822
53139665561975   RAUL         OBESO                     CA         90014616655
53141265757157   TONY         BROOKS                    VA         90013142657
53141414791534   FRANK        RIZO                      TX         90015154147
53141745555959   ERIK         SANCHEZ                   CA         90015237455
53142118361971   JEREMY       BROWN                     CA         90015121183
53143239861975   ANTHONY      ALLISON                   CA         90013922398
53143952343569   HYMMIE       BOWEN                     UT         90014709523
53144834543569   GLADE        BRYANT                    UT         90004678345
53144971193782   ASHLEY       FINN                      OH         64506999711
53145643451348   CORNELIA     WHITE                     OH         66075446434
53145663991895   DANIEL       MOSLEY                    OK         90013926639
53146526291534   WENDY        MELERO                    TX         90014575262
53146762761973   OMAR         GANDARA                   CA         90012747627
53148298851348   MELVINA      REEVES                    OH         66033992988
53148663484357   CRYSTAL      GREEN                     SC         90014706634
53149391184357   SHADREKA     PERRY                     SC         90012693911
53149433657157   MONICA       PETERSON                  VA         90013144336
53151219793724   ANN          MASTERS                   OH         90008952197
53151428457157   IVIE         MEDRANO                   VA         90013214284
53151561351348   IRIS         HENDERSON                 OH         90012995613
53152897757157   JASMINE      BELIZ                     VA         90014728977
53154361733696   CHRIS        HOCKADAY                  NC         12010263617
53154734157157   LAURENA      VARMAL                    VA         90003937341
53156667491534   MIGUEL       LIRA                      TX         90014816674
53156757155959   TERESA       CABRERA                   CA         90007687571
53158267361975   EDGAR        GALARZA                   CA         90014192673
53158337685928   KEIARA       BURDETTE                  KY         90014153376
53158995761975   BUNTHA       CHHUON                    CA         46091339957
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53159382951348   THOMAS       DEWALD                    OH         90014533829
53161581481698   PAUL         ANDES                     MO         90014815814
53162591484357   KELLY        COLHER                    SC         90011175914
53163265764145   ONKEL        DIDE                      IA         90012412657
53163779184357   KATRECE      RIVERS                    SC         90014627791
53163973571964   MICHAEL      SCHLEIKER                 CO         90014589735
53164224357157   TARA         HOLLIS                    VA         90006792243
53164234733696   HORTENCI     RAMIRO                    NC         90013592347
53165271655959   ANA          CORTEZ                    CA         90012522716
53165287591895   JEANNETTE    FOSTER                    OK         21061142875
53165681961971   SHAAKISHA    JUDKINS                   CA         90011016819
53165929384357   BONITA       MARLOW                    SC         90013879293
53166416833696   TAVE         JOHNSON                   NC         90015204168
53167925391895   ROBERT       COOPER                    OK         21048889253
53168993161973   STEVE        RAMBO                     CA         90012879931
53169484833699   MARILYNN     FLIPPEN                   NC         90014354848
53169638884357   JOHNNY       PEASE                     SC         90014716388
53169879957157   PRISCILLA    ANUM                      VA         81090408799
53169884971964   MATTHEW      NIMKE                     CO         90011768849
53169942343569   DEBORAH      SNOW                      UT         31096639423
53171351181688   LENEIL       JOHNSON                   MO         90014813511
53171843461949   RAUL         RAMIREZ                   CA         90002328434
53172698561973   ANA          MORALES                   CA         46073576985
53173287591895   JEANNETTE    FOSTER                    OK         21061142875
53173389657157   JASMIN       CALIXTO                   VA         90013233896
53173712133699   SOPHIA       JAMES                     NC         90002237121
53173889351348   MARK         WOODS                     OH         90013448893
53175428533696   ANTON        HARPER                    NC         90014574285
53175815484357   AUDREA       LOWE                      SC         90014718154
53176542284357   SHANTE       GREEN                     SC         90014725422
53176636461975   AIOTEST1     DONOTTOUCH                CA         90015116364
53179289851348   JENNIFER     WILSON                    OH         90007582898
53179729161975   RICHARD      BECKER                    CA         90001867291
53179751961973   RICHIE       QUINTANA                  CA         90014367519
53181289191534   CRYSTAL      AVILA                     TX         75002672891
53181296943569   JACCI        MCDONALD                  UT         31010952969
53183365861973   HELDA        LOPEZ                     CA         90014813658
53183776285928   TRAVIS       SMITH                     KY         90014637762
53185548633696   CRYSTAL      CHAVIS                    NC         90011155486
53186651391534   ADRIANA      CACERES                   TX         90010846513
53186725185941   MANDY        DYE                       KY         90011807251
53188436661975   ANGELICA     CAMARENA                  CA         90013434366
53188841391534   MONICA       CORONA                    TX         90011238413
53189249791895   KEVIN        DALE                      OK         90014402497
53192136243569   HYMMIE       BOWEN                     UT         90014841362
53192581133696   OSCAR        TATE                      NC         90014815811
53194167671964   FERMIN       RAMOS                     CO         90012101676
53195913961975   ABRAHAM D    VIZCARRA                  CA         90012459139
53196374384357   HOWARD       WILSON                    SC         14592803743
53196476771964   CAROLINE     LEFEBVRE                  CO         32059854767
53211479771964   LUIS         CALDERON                  CO         90014384797
53213555485928   SHAWN        SWICKARD                  KY         90013195554
53217234733696   HORTENCI     RAMIRO                    NC         90013592347
53217269991534   NOEL         JIMENEZ                   TX         90010992699
53218639261973   AIOTEST1     DONOTTOUCH                CA         90015116392
53219774543569   CARL         LA ROSE                   UT         90015157745
53219792171964   MICHELLE     MIKEL                     CO         90013057921
53223191161971   AMANDA       AKIKI                     CA         90012331911
53224911855959   YADIRA       JIMENEZ                   CA         90010959118
53225952171964   ERIN         BORDELON                  CO         90014739521
53226242433699   LASHUNDA     CROWDER                   NC         90012792424
53226413551348   NINA         SMITH                     OH         66056054135
53227296943569   JACCI        MCDONALD                  UT         31010952969
53227432684357   JOSIE        MALDONADO                 SC         14572964326
53228991293724   MIKE         RUNIONS                   OH         90009939912
53229723857157   FILEMENA     OTERO                     VA         90008687238
53229763191587   ROSA         ESQUEDA                   TX         90013487631
53231856955959   MARIA        PEREZ                     CA         90014498569
53232354551348   ALEX         RENKEN                    OH         90014073545
53233147484357   COLE         BOLTIN                    SC         90014771474
53233676757157   NERSA        JOHNSON                   VA         90008346767
53235786633646   JOSHUA       HERNDON                   NC         90011977866
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53235923684852   JENNIFER     PEREZ                     NJ         90013959236
53236922491895   KATHRYN      ALVAREZ                   OK         90007749224
53237239257157   JORDAN       HOGAN                     VA         90013172392
53237335885928   RAI          DIL                       KY         90012693358
53237887571964   MASHAYLA     OPOKU BERKO               CO         90012678875
53238237757157   CLAUDIA      CERRATO                   VA         90006432377
53239781791587   JORGE        TORRES                    TX         90013487817
53239842684357   DWAIN        MILLIDGE                  SC         90010018426
53241345684357   RENESSIA     PRYOR                     SC         90014773456
53243727784373   MARCUS       EDWARDS                   SC         19089627277
53244795991587   JAHIR        MORENO                    TX         90013487959
53245712743569   CHRIS        GREEN                     UT         90014857127
53245945291534   GLORIA       CHAVEZ                    TX         75076009452
53246699291895   JESSICA      REYNA                     OK         90013926992
53247336943569   SARAH        WILLIAMS                  UT         90010813369
53249242691895   CATHY        SANCHEZ                   OK         90010652426
53249639161973   AIOTEST1     DONOTTOUCH                CA         90015116391
53249657255959   PATSY L      SIMPSON                   CA         90014046572
53251326885928   DORIS        WALKER                    KY         90010373268
53251499151348   NATHAN       ALLEN                     OH         66073484991
53252121425398   KEIRI        HARTNETT                  WA         90015361214
53253739384357   PAYGO        IVR ACTIVATION            SC         90014787393
53256224971922   VALERIE      GALLEGOS                  CO         90010342249
53256639161973   AIOTEST1     DONOTTOUCH                CA         90015116391
53261368484357   DEMON        MITCHELL                  SC         90006263684
53261676561971   ALICIA       CISNEROS                  CA         90012666765
53262977484357   DEIDRE       COAXUM                    SC         90014789774
53263259891587   ESTELA       MORALES                   TX         90012612598
53263436951348   MERRILL      DURHAM                    OH         90002704369
53263914771964   JONATHAN     STREICH                   CO         90012859147
53264669384357   NANN         SEARLES                   SC         14581556693
53265622657157   HECTORIA     BANGURA                   VA         81043876226
53267444757157   JOHN         CAMPUSANO                 VA         90013174447
53267786361973   VICENTE      AMEZCUA                   CA         46080987863
53267829391587   JOSE         DE SANTIAGO               TX         90013488293
53267955571964   ALLEN        BRADLEY                   CO         90014659555
53268549685928   GARY         NEWMAN                    KY         67027435496
53271593661975   ERICKA       CORDERO                   CA         90012685936
53271639261973   AIOTEST1     DONOTTOUCH                CA         90015116392
53273484391587   ADAN         HERNANDEZ                 TX         90007474843
53273565551348   DEBORAH      REINDAL                   OH         90001525655
53274439455959   MARIA        ISARRARAS                 CA         90012254394
53274712951348   MICHELLE     DOCKERY                   OH         90006547129
53275684151348   MARTINE      IRAKOZE                   OH         90015116841
53277456331428   ROSE         HARRIS                    MO         27589834563
53278567933699   PATRICE      EDWARDS                   NC         12062355679
53279615761973   AARON        CARRIGAN                  CA         90012786157
53281423171964   EMILIANO     LOPEZ                     CO         32073874231
53282456331428   ROSE         HARRIS                    MO         27589834563
53283579491895   JAZZ         PIERCE                    OK         90006475794
53283856933699   JOSE         FOMPEROSA                 NC         12006978569
53284694761975   JOSE         RODRIGUEZ                 CA         90014996947
53286798833699   ERNISTA      MIRENERA                  NC         90007777988
53286865133622   THOMAS       INSCOE                    NC         90011658651
53288515893724   JAYME        WOODY                     OH         90014975158
53291869691587   OLGA         CALDERON                  TX         90013488696
53292936491895   BARNETT      RUSSELL                   OK         90007749364
53292974957157   MARIA        CAMPOS                    VA         90015269749
53293349785928   ANTHONY      FRAZIER                   KY         90014873497
53293616671964   VERONICA     ESTRADA                   CO         90012446166
53294892861975   JOY          EDWARDS                   CA         90013088928
53296729261975   BETTY        LOPEZ                     CA         46053667292
53296957891895   KEVIN        GIFFIN                    OK         90013929578
53297924291895   JENNIFER     MALONE                    OK         90004829242
53298526561973   DONNA        STAMMEN                   CA         90012995265
53298558561975   ARTURO       VALADEZ                   CA         90013165585
53299915591587   ANN          FIERRO                    TX         75012569155
53299929484357   CLARENCE     SIMMONS                   SC         90014869294
53311286385928   LOEN         KEERPS                    KY         90012742863
53313131261971   JORGE        BORDON                    CA         46067201312
53313869351332   GWENDOLYN    BARNES                    OH         90012568693
53315332191895   ASHLEY       HERNANDEZ                 OK         21058903321
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53315652442335   LLOYD          COPPINGER               GA         90006646524
53316582861975   MARTHA         VALLE                   CA         90014895828
53317521543569   PAUL           STURM                   UT         31079405215
53318346684357   PAULESE        HARRISON                SC         90014923466
53319289233699   MILRED         GAFFNEY                 NC         90013572892
53321595893724   LISA           LINTON DAVIS            OH         64515585958
53322236491587   JULIO          RINCON                  TX         90013492364
53322681361973   REBECA         POPOFF                  CA         90011756813
53322886485928   DESIREE        JACKSON                 KY         67081878864
53325897833699   JENNIFER       HERNANDEZ               NC         90012938978
53326118561975   ANA            LOPEZ                   CA         90013281185
53326483743569   JORIE          NICHOLAS                UT         90013064837
53327557843569   FABILOA        RODRIGUEZ               UT         90014155578
53328169561971   LAURA          GONZALEZ                CA         46079981695
53328492984357   ISMEALEA       GONZALEZ                SC         90014924929
53331398271964   ARMANDO        DE LEON PONCE           CO         90012183982
53335922877574   HERIBERTO      LEDEZMA-OLMEDO          NV         90014149228
53336214833696   RICHELLE       DAVIS                   NC         12012522148
53336256191534   SYLVIA         LOPEZ                   TX         75026792561
53341196984357   GEORGE         STIBITZ                 SC         14589131969
53341471971964   NATHAN         PETTIT                  CO         90001894719
53341516791587   JOSE LUIS      SANCHEZ                 TX         90011685167
53341893451329   MARILYN        FRIERSON                OH         90012188934
53342776321631   REANELLE       SCHACHNER               OH         90015117763
53343814371963   ADELITA        AGUILERA                CO         90008038143
53343827885928   ALI            HUSSAN                  KY         90015338278
53344421361973   GAITAN         FRANSISCO               CA         46043404213
53344687151348   ERICA          REEDER                  OH         66002986871
53345253157157   GERBER         APARICIO                VA         81042752531
53346121961971   ANN MARIE      GOFFENEY                CA         90010871219
53347336233699   JOHNNY         CROSBY                  NC         90012903362
53349334791587   LUIS ARMANDO   URIBE                   TX         90013493347
53353639261973   AIOTEST1       DONOTTOUCH              CA         90015116392
53355165433696   PATRICKA       HOPKINS                 NC         90001531654
53355399961971   CRYSTAL        ROBLES                  CA         90014923999
53355565293724   DREAMA         BALL                    OH         64575915652
53355777155959   ALYSHA         HERNANDEZ               CA         90014697771
53356149161971   WILBUR         ROPER                   CA         46046211491
53356285971964   LEVI           JACKSON                 CO         90011642859
53356296943569   JACCI          MCDONALD                UT         31010952969
53357762985928   DAZURAE        BLANKENSHIP             KY         90014887629
53357772343569   VIVIANA        NUNEZ                   ID         90015237723
53358666761975   BLANCA         TEC                     CA         46059326667
53359397893724   CHRISTOPHE     FLOWERS                 OH         64572053978
53359431891587   GARZA          FELIPE J                TX         75097844318
53361698761971   SUZAN          BUTRUS                  CA         90003276987
53362642151343   JENNIFER       LITTLE                  OH         90008726421
53363214493724   IDA            MAZE                    OH         64579602144
53363333485928   CLAUDIA        EMOUNGUE                KY         90013773334
53363892861975   JOY            EDWARDS                 CA         90013088928
53364393591587   MARTIN         RENTERIA                TX         90013493935
53365595391895   JOSE           MONTES                  OK         90012045953
53368913455959   JOSE           MORENO                  CA         90012409134
53376619361975   LETICIA        BRAVO                   CA         90009096193
53377165393724   MIKALA         DUNKLIN                 OH         90015041653
53377444191587   ELIZABETH      ROEL                    TX         90010164441
53377817661973   JACOB          RODRIGUEZ               CA         90001198176
53378595533699   MICHAEL        WESLEY                  NC         12075955955
53379572857157   JIMMY          LOVATO                  VA         90013205728
53382592557157   NORDIA         SMITH                   VA         90009645925
53384989685928   DAMIAN         CLEMONS                 KY         67013609896
53386531871964   JAZMIN         CUEVAS                  CO         90013245318
53386666357157   EUGENIO        MARTINEZ                VA         81002986663
53387754991535   HECTOR         M MIRELES               TX         90007077549
53388137851337   ANDREA         SMITH                   OH         90008531378
53388686985928   ANDREW         DRURY                   KY         90000486869
53389636461975   AIOTEST1       DONOTTOUCH              CA         90015116364
53391136685928   ELZABETH       RICHADSON               KY         67047471366
53391852843569   MICHAEL LEE    BROWN                   UT         90014458528
53392315531428   NEAL           STAPF                   MO         27500283155
53392995355959   CHRIS          CABRERA                 CA         90008439953
53393492891587   KIMBERLY       SOSA                    TX         90013494928
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53393884161975   KIARA        JONES                     CA         90004708841
53395335291895   ERENDIRA     CARRANZA                  OK         90011863352
53395557233696   DOMINIQUE    AVERETT                   NC         90013605572
53395628591895   ERENDIRA     CARRANZA                  OK         90014406285
53399499691587   JAIME        PENA                      TX         90013494996
53411499871964   NOHEMI       VASQUEZ                   CO         90010024998
53414284391895   IVAN         GARCIA                    OK         90011902843
53414742461973   IVAN         PEREZ                     CA         90015157424
53414987791939   RICHARD      UDEAGHA                   NC         17096489877
53415415533699   LATONYA      JACKSON                   NC         90010684155
53415727361971   DAN          GARRET                    CA         46014767273
53416535455959   MARIA        CASAREZ                   CA         90010415354
53416824961971   BRADLEY      PASSEHL                   CA         90013698249
53417571691587   CLAUDIA      CERENIL                   TX         90013495716
53417639684357   TOYA         FERGUSON                  SC         14505156396
53418277193724   THELMA       SIGMON                    OH         64545752771
53418584943569   AARON        CLEAPOR                   UT         90009855849
53418713861975   KENNETH      EATON                     CA         90001987138
53418743785928   DEBORAH      KESNER                    KY         90004097437
53418955733696   VANETTA      AGEGEE                    NC         90009029557
53419171191895   JESUS        HERNANDEZ                 OK         21059951711
53419628161975   MICHELLE     TORRES                    CA         90004306281
53419892891587   MELISSA      MORALES                   TX         75039118928
53419974391534   ELADIO       JAUREGUI                  TX         90004659743
53424463385928   JOHN         HUDDLESTON                KY         67089314633
53424492261973   MARGARITA    RAMIREZ                   CA         90008694922
53425162761973   ANA          ALCARAZ                   CA         90012691627
53425173233699   TALYA        EDMONDS                   NC         90011081732
53428761843569   DEBORAH      WILBUR                    UT         90006007618
53431594291587   ROSA         VELAZQUEZ                 TX         90013495942
53431631885928   EDNA         TAYLOR                    KY         67006156318
53432652761973   FLORES       PABLO                     CA         90004496527
53433526184357   TERRA        BRINGLE                   SC         90001825261
53434187533696   TABITHA      MATHIS                    NC         90004381875
53435135591885   PEDRO        ARROYO                    OK         21095171355
53436862561973   MARIA        VERA                      CA         90009908625
53437214291534   OSCAR        OTERO                     TX         90013292142
53438218791587   MARIA        BRECEDA                   TX         75008732187
53438333391534   YANETT       GONZALES                  TX         90011973333
53438615861971   DERRICK      HARHAUSEN                 CA         46074066158
53439178391587   CESAR        GALLEGOS                  TX         90008021783
53441591161971   ALAN         ANTHONIS                  CA         46018095911
53441964857157   LARRY        MYRICK                    VA         90013789648
53442135633696   ALEX         STOREY                    NC         90013971356
53443842757157   BERTILA      VASQUEZ                   VA         90013218427
53444815461971   SEAN         ADAMS                     CA         90013708154
53445347133699   KELLY        KING                      NC         90010633471
53445378757157   ROBERTO      ZEPEDA                    VA         90014463787
53445461891534   NATALY       RODRIGUEZ                 TX         75079654618
53445586293724   AMANDA       MANNING                   OH         90010435862
53445663584373   LECHAE       HYES                      SC         19053146635
53446225691895   KRISTEN      PECK                      OK         90011852256
53446773833696   DAVID        RUNION                    NC         12056467738
53447958157157   ROGELIO E    ALVAREZ                   VA         81044259581
53449453871964   SAMANTHA     DOBSON                    CO         90011284538
53451262251348   JIBRI        MCKINNIE                  OH         90014082622
53451316633696   JENNIFER     SMITH                     NC         90010143166
53452392161971   CORY         RICHARD                   CA         46091803921
53454992733699   ASHLEY       IVERSON                   NC         90015099927
53455145171964   ROZALIND     RAMIREZ                   CO         32009571451
53455168985928   ELIZABETH    SANCHEZ                   KY         90012221689
53455474431428   JENNIFER     STINSON                   MO         90001734744
53457282771964   DALILA       CAZARES                   CO         90010472827
53458781651348   SANDRA       BEGLEY                    OH         90014057816
53461182893724   STEPHANIE    FUGATE                    OH         64589331828
53461887957157   JOSEFINA     ANDRADE                   VA         90013558879
53462235791895   TOMAS        MENDOZA                   OK         90013232357
53462973561971   BRIAN        NORIEGA                   CA         90012679735
53463636461975   AIOTEST1     DONOTTOUCH                CA         90015116364
53463894355959   CARMEN       ECHEVESTE                 CA         90009838943
53463915861973   JULIA        RIVERA                    CA         90014449158
53465111955959   BRENDA       CUEVAS                    CA         90013091119
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53465571631428   CHARITY       VAUGHN                   MO         90002395716
53465655871964   ELIZABETH     CRONGEYER                CO         90008806558
53466145955959   LUCERO        SANTOIO                  CA         48093331459
53466515793724   TRACEY        WILCOX                   OH         90001655157
53466678261975   VALERIA       REAL                     CA         90012636782
53467424561971   WALAA         ELIA                     CA         90012044245
53467775157157   OBED          MOLINA                   VA         90008817751
53468147284357   RANDY         AVERY                    SC         14528171472
53471384561975   VIRGINIA      BENITES                  CA         46035523845
53472166261973   GUADALUPE     MEDINA                   CA         90011431662
53472523233699   PAULA         TOCHTROP                 NC         12033355232
53472731991587   DAVID         CRUZ HERNANDEZ           TX         90013497319
53473359971964   TODD          SWAN                     CO         32093393599
53473664184373   JEFFERY       PIERCE                   SC         90002836641
53474996785928   LARA          FRALEY                   KY         90013889967
53476763361975   CHRISTINA     PRECIADO                 CA         90012967633
53477175557157   MARIA         GUEVARA                  VA         90002681755
53477315333699   STEPHANI      SUMMERS                  NC         90012793153
53478226451348   MISSY         FREE                     OH         90002332264
53479673133696   DEVANTE       SMITH                    NC         12014316731
53479866761973   JOE           KAZANYA                  CA         90013308667
53481143555959   CRISTIAN      SOTO                     CA         90010461435
53481213343569   CHRISTINA     CHURCH                   UT         31092582133
53481433933699   FARRAH DAWN   WOLFORD                  NC         90011194339
53481718631429   SAMANTHA      FIREBAUGH                MO         90003987186
53481896743569   LISA          BIRD                     UT         90014658967
53482458255947   ALBERTA       LOPEZ                    CA         90011034582
53482787661973   LETICIA       MORENO                   CA         90012177876
53483174371964   KALEB         BRYANT                   CO         90014271743
53483977951348   CHRIS         JONES                    OH         90012969779
53484478891895   SHERRY        SMITH                    OK         90005454788
53485555491534   SAYEG         IDAHIR                   TX         90007895554
53485983457157   JOSE          JOVEL                    VA         90013219834
53486239651348   BONNIE        TEMPLE                   OH         66073942396
53486468284341   CHRISTOPHER   MATHE                    SC         90010494682
53486647691534   JASON         LEE KUHIO                TX         90011386476
53488189791535   OLIVIA        DELGADO                  TX         75018171897
53489219193724   DEVONNA       HENDRIX                  OH         64580722191
53491715961973   ADRIANA       GAETA                    CA         90011307159
53491946957157   MIGUEL        RIVAS                    VA         81015269469
53492414591587   THOMAS GLEN   GOODWIN                  TX         90013054145
53493839785928   MISTY         SWEAT                    KY         90010998397
53494281955959   FATIMA        CASILLAS                 CA         48089732819
53494662157157   RYAN          BOYD                     VA         81075346621
53495761331429   JONNIE        SANDFORD                 MO         27568477613
53496427671964   BRANDI        TODD                     CO         90012334276
53496469361971   VLADAMIR      VERA                     CA         90012474693
53496875185928   DEBORAH       STONE                    KY         90012098751
53497966791895   JOE           SLOAN                    OK         90006779667
53498293931443   ADAM          BARNSTEAD                MO         27595072939
53498365861973   HELDA         LOPEZ                    CA         90014813658
53498398933696   TONIA         WOMACK                   NC         12083543989
53498766191895   MIKE          JONES                    OK         21095137661
53512394261971   CHARLES       SMITH                    CA         90011973942
53512987157157   LUIS          RIVERA                   VA         90007519871
53514114891895   SANDRA        CUEVAS                   OK         21077471148
53515694761975   JOSE          RODRIGUEZ                CA         90014996947
53516789561973   JOSE          URENA                    CA         90014107895
53516932261975   SHERRIE       BROWN                    CA         46035569322
53517457457157   MARINA        HERNANDEZ                VA         81086794574
53519427933696   AARON         ALSTON                   NC         90013104279
53519446143569   DONOVAN       BUSBY                    UT         31006324461
53519591181678   EUGENIA       MORALES                  MO         90008595911
53521695191869   JAMIE         BOHANNON                 OK         21094496951
53521952161921   MARIA         SANCHEZ                  CA         90010779521
53522717831429   BECKY         WILLIAMS                 MO         27537997178
53522855585928   ADRIANA       GONZALEZ                 KY         90013608555
53523269931429   ROBERT        LAWRENCE                 MO         90005952699
53524347461973   ABRAHAM       VIZCARRA                 CA         90012493474
53524417833699   SHENIKA       MASHORE                  NC         90014924178
53528653485928   TABATHA       DRY                      KY         90014916534
53529935161973   DARRELL       JHONES                   CA         90012459351
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53531234893724   LINDSAY         JUSAKE                 OH         64511812348
53531276455959   MIRNA1          ALVAREZ                CA         48046702764
53531411185928   SAMANTHA        BROWN                  KY         90015334111
53533514943569   JEREMIAH        EGBERT                 UT         90002515149
53533886261971   CIRILO          JUAREZ                 CA         90013738862
53534249585928   DARLENE         BROWN                  KY         90013482495
53537588157157   JOSE            FLORES                 VA         90008765881
53537831633645   CLAUDETTE       WILLIAMS               NC         90000448316
53538322157157   MARIA           GONZALEZ               VA         81051393221
53539153555959   AMANDA          AMBRIZ                 CA         90010061535
53541532661973   VANESSA         GONZALEZ FLORES        CA         90012845326
53541967661975   EVONY           FRAZIER                CA         46066439676
53542437157157   EDWIN           PINEDA                 VA         90010334371
53542674984357   BARBARA         JOHNSON                SC         90009326749
53544327243569   TERESA          MACIAS                 UT         31023323272
53544457491895   ASHLEY          EPPS                   OK         21098464574
53544858391587   JOE             ALBA                   TX         75034638583
53545515357157   MARLON JAVIER   POLIO                  VA         90013245153
53545578385928   DEANGELO        WILLIAMS               KY         90014865783
53546826284357   DALLAS          MAJOR                  SC         90011748262
53548352555959   MARTIN          TORRES                 CA         90013113525
53548578731428   LARRY           PENTON                 MO         90003045787
53549818291895   PATRICK         OHAVER                 OK         90013958182
53549925693724   JOSH            LUNSFORD               OH         90011249256
53551925693724   JOSH            LUNSFORD               OH         90011249256
53552365671964   JENNIFER        CANTRELL               CO         90013403656
53552852491895   KRISTIE         CARVER                 OK         90004298524
53553411661973   MARISSA         CANTERO                CA         90013904116
53558428761971   MICHEAL         OWENS                  CA         46072334287
53559123633696   SARAH           WILLARD                NC         90014081236
53559551991534   DEBRA           LOPEZ                  TX         90014305519
53559751951348   SHARYN          SHERMAN                OH         66041447519
53563161461973   LORENA          ROMERO                 CA         90012511614
53563475884357   DARIELLE        KINLOCK                SC         14586324758
53563947533699   CHYNEICE        CURRY                  NC         90013799475
53564848533699   JENNIFER        BROWN                  NC         90013738485
53565739161973   NIA             BLACKBURN              CA         90004497391
53565759855959   VANESSA         GARCIA                 CA         48008167598
53566979891534   LUZ             MENDOZA                TX         75062409798
53571598251348   JOSEPH          WANNINGER              OH         90013175982
53572575251348   HEATHER         THOMPSON               OH         90013785752
53572641491587   CARLOS          CENICEROS              TX         90013506414
53572711861967   THOMAS          LOGAN                  CA         46085287118
53573214455959   PEDRO           MENEGAS                CA         90008862144
53573439885928   KEELLA          DUKES                  KY         90003964398
53574677843569   LESTER          MILBURN                UT         90006896778
53576615771964   DESTINEE        JOYNER                 CO         90014706157
53577215791534   ERENDIDA        GALVAN                 TX         90013632157
53577529284373   PATSY           BARNHILL               SC         19019865292
53578736455959   LEO             HERNANDEZ              CA         90008667364
53578838771964   SHASTA          JACKSON                CO         90005638387
53578988191895   RAYNA           PEREA                  OK         90009259881
53579712493724   DAN             WALKER                 OH         90007957124
53581554655935   GEORGE          GARCIA                 CA         90008575546
53582665855959   STELLA          VARGAS                 CA         90013116658
53583583351337   DEBRA           MILLER                 OH         66032625833
53583588191895   TANIA           BLEDSAW                OK         21002845881
53584293691534   RYAN            GIANNI                 TX         90008152936
53584418861975   MARIA D         TORRES                 CA         46080614188
53586636461975   AIOTEST1        DONOTTOUCH             CA         90015116364
53586942693724   CATALINA        PADILLA                OH         90011249426
53587561684357   CAROL           WOODS                  SC         14511085616
53587648355959   TARCICIO        VASQUEZ                CA         90011856483
53588178785928   SHAWNEE         YOUNG                  KY         90009671787
53588646293724   ARLISSA         JACKSON                OH         90014906462
53589622971964   FOOSHEE         LORNA                  CO         32092696229
53589818161973   BELEN           PEREZ                  CA         90010758181
53589818851348   TONI            VICKERS                OH         66040958188
53592331242335   ROBIN           MINES                  GA         90009903312
53592552561971   DAVID           SIPES                  CA         90014885525
53592988291895   JOSEPH          THOMPSON               OK         90014649882
53593198871964   CHRIS           DIPENTINO              CO         90011651988
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53593224251348   AMANDA       MAAS                      OH         90013912242
53593313343569   SALPAPORET   MALTESE                   UT         90014913133
53594956731428   YAKIMA       DONALD                    MO         90006339567
53596117533696   TIFFANY      HERBIN                    NC         90014691175
53597567755959   BRENDA       GUZMAN                    CA         90000865677
53598227791534   CELIA        SANCHEZ                   TX         75012182277
53599534531429   NATASHA      JONES                     MO         90004985345
53599714461975   MINOR        RODRIGUEZ                 CA         46027527144
53599866361973   JESSICA      GONZALEZ                  CA         90012688663
53599933791534   MIRIAM       MORALES                   NM         90011509337
53612748485928   DEBBIE       POWELL                    KY         90006487484
53615542961975   JESSICA      SERVIN                    CA         90000455429
53617374991895   HECTOR       RESENDIZ                  OK         21033693749
53617991985928   ROGER        HAYNES                    KY         67098959919
53618169391869   TONYA        NOWLIN                    OK         90011421693
53619312161973   RAUL         FLORES                    CA         46066213121
53621856657157   EVER         CASTILLO                  VA         90011488566
53623734951348   JILLIAN      HOWARD                    OH         90011397349
53623815481693   VALENCIA     SIMPSON                   MO         90009088154
53624344451348   PAMELA       GIPSON                    OH         66015053444
53624783985928   KITTRANE     RICHARDSON                KY         90014127839
53626175233699   EDUVIGES     ROMERO                    NC         12042101752
53626176943569   ABBY         GOFF                      UT         31035891769
53626179391587   CRYSTAL      CENICEROS                 NM         75062871793
53628179391587   CRYSTAL      CENICEROS                 NM         75062871793
53632986461975   DANIEL       BADGETT                   CA         90013479864
53634795661971   ANGELA       KEETER                    CA         46060967956
53635186284373   KAY          DAVIDSON                  SC         19035211862
53635884361973   JACKIE       PHILLIPS                  CA         46079438843
53637291157157   DAVID        RYALS                     VA         90002812911
53637429185928   KRISTIN      MEAL                      KY         67091524291
53637492461973   DIANA        BARRAGAM                  CA         90014984924
53638426733699   WANDA        GREENE                    NC         90011154267
53638794561971   MARTIN       MENDOZA                   CA         90009517945
53639932843569   PAYGO        IVR ACTIVATION            UT         90011759328
53643714457157   ISAE         GOMEZ                     VA         81045117144
53645421885928   PAMELA       DERRY                     KY         67013994218
53645437393721   CHARLES      HAYDEN                    OH         90010014373
53645913891275   CARLTON      HALL                      GA         90010989138
53646699731429   CHERYL       RAPERT                    MO         27511846997
53649279691895   MICHAEL      WITHROW                   OK         90012872796
53651267631428   SIEGLINDA    FOX                       MO         90006722676
53651654155959   MARGARITA    MENDOZA                   CA         90014736541
53652148855959   MARTHA       IZQUIERDO                 CA         90004501488
53652468555939   STEVEN       TOPPING                   CA         90009294685
53652859184357   RAE          HOLMES                    SC         90008688591
53653774171964   DEVIN        COGDILL                   CO         90014907741
53654155155959   FERNANDO     BANDA                     CA         48003641551
53654781891895   JAMES        MAYNARD                   OK         21015677818
53655258261973   ARMANDO      RIOS                      CA         46005982582
53655364991895   KERI         CHASTEEN                  OK         90011463649
53658187985852   BENJAMIN     PRICE                     CA         90013111879
53659224961975   ROSAURA      ALLUP                     CA         90009602249
53659263791534   EVAN         BURRIS                    TX         90013392637
53659437157157   EDWIN        PINEDA                    VA         90010334371
53662291133699   SCOTT        VINCENT                   NC         12098772911
53663552185928   SAMANTHA     NEAL                      KY         90014435521
53664535761973   RICARDO      OCHOA                     CA         46016175357
53666192861971   SAFARDON     JABO                      CA         90000931928
53666269285928   BRITTANIE    DUDLEY                    KY         67040452692
53667336293724   ANTHONY      SMITH                     OH         64587943362
53673449361973   HECTOR       IBARRA                    CA         46086364493
53673756661975   ROCIO        ESPINDOLA                 CA         90006437566
53674117791895   MONTE        BROWN                     OK         21072751177
53674245771964   DAVID        HAISE                     CO         90014732457
53675134691895   TALEISHA     DASHAY                    OK         90013931346
53675481151348   PEGGY        ANGEL                     OH         90013884811
53676137491895   DASHA        BRADLEY                   OK         90013931374
53676878461971   CLAUDIA      MENDOZA                   CA         90013608784
53677825857157   SANTOS       MEMBRENO                  VA         90002658258
53678245761924   MARISSA      MURANA                    CA         90011072457
53678355243569   MONIKA       MANN                      UT         90000363552
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53678894861971   TIM            LARSON                  CA         90012578948
53678937655959   LETICIA        TRUJILLO                CA         90014179376
53679232291321   CYNTHIA        ELMER                   KS         29020292322
53679377885928   DONNA          HODGE                   KY         67019203778
53679641831428   ANTONIA        GOTOW                   MO         90013026418
53682419961971   EVA            CASTILLO                CA         46072354199
53682623471964   GARY           LOVELACE                CO         90000196234
53687283961971   DAKOTA         POE                     CA         90012902839
53688127933696   FRED           FRED                    NC         90006531279
53689125755959   IRALDA         LOPEZ                   CA         90005931257
53691367557157   CYNTHIA        HERNANDEZ               VA         90014503675
53691495291391   DON            SECREST                 MO         90001054952
53692647455959   MARTHA         FRANCISCO               CA         90008866474
53694339893724   HELEN          BLANKINSHIP             OH         64556343398
53694419533696   JUDY           HORNE                   NC         90004154195
53694522251348   LATANYA        DAVIS                   OH         90005475222
53696217433699   JULIAN         HERNANDES               NC         90013042174
53696715561975   JOE            SANCHEZ                 CA         46035687155
53696939685983   BRETT          MORENO                  KY         90010309396
53697148561975   BRIAN          SPREWELL                CA         90013101485
53697182233696   MURIEL         HILLIARD                NC         90013181822
53697861191988   NORMA          CABRERA                 NC         17011348611
53698238342335   CODY           LAMONT                  GA         90011322383
53711112791895   ANDREA         STUDEBAKER              OK         90014691127
53711671585928   DAWSON         SHANTA                  KY         67062406715
53715164161975   JASMINE        HERNANDEZ               CA         90013101641
53715347233699   CHUKEIMA       LEGRANDE                NC         12054053472
53715687691534   STEPHANIE      ACOSTA                  TX         90013136876
53718321961921   JOSE ANTONIO   BARAJAS                 CA         90010293219
53718954171964   MARCELINO      PARRA                   CO         90014719541
53719819133696   YARILIS        GRANT                   NC         90012508191
53719914151348   TABITHA        HELTON                  OH         90001669141
53722188261975   FERNANDO       CASTRO                  CA         46025081882
53722516571964   LISA           SMITH                   CO         90012405165
53722917257157   CHUCK          MIRELES                 VA         90014919172
53723171533696   KORMORRIUS     OUSLEY                  NC         90014171715
53725975671964   SENCENA        CASEASTAS               CO         90014719756
53726142933699   JOSEPH         PAYNE                   NC         12042711429
53727464661975   ANA            DE LA ROCHA             CA         90010654646
53729171791895   ANGEL          MENDOZA                 OK         90013931717
53729222885928   JAMES          MORROW                  KY         90010392228
53732137533699   KEONICA        WORTHY                  NC         90014941375
53732955661975   JESUS          JIMENEZ                 CA         46005739556
53735119685928   TELEEIKA       WEBB                    KY         90014351196
53735141291534   KARLA          KLEINERT                TX         75095701412
53735494655959   LOURDES        LIRA                    CA         90009614946
53735621557157   DANIS          REYES                   VA         81074886215
53736255171964   STEVEN         COLEMAN                 CO         90014732551
53737165791895   KRISTIN        HARRIS                  OK         21083391657
53737777255959   JESSICA        RUIZ                    CA         48079797772
53739348271964   MICHAEL        STITES                  CO         90013883482
53739617561975   PATRICK        KAUWOH                  CA         90013476175
53739658161971   BRANDON        SMITH                   CA         46051536581
53741248661971   DOMINQUE       ROBINSON                CA         46050222486
53741252157157   MARIA          AREVALO                 VA         81034702521
53742338531422   VERONICA       CLARK                   MO         90011583385
53742435285928   FELICIA        EVANS                   KY         90008074352
53742779157157   SANDRA         MURILLO                 VA         90010707791
53742991493724   LAURA          COMBS                   OH         90013559914
53742993161973   STEVE          RAMBO                   CA         90012879931
53743174561971   DAWN           SHULTS                  CA         90007301745
53743496384357   NORMA          SANDERS                 SC         90008774963
53743995771964   KERRY          KILLEN                  CO         90014719957
53745526491534   IRAM           GARFIAS                 TX         90013965264
53746297957157   SUSANA         MEDINA                  VA         81055132979
53746761733699   TARA           HARDY                   NC         12002157617
53747733785928   RICARDO        ALMARAZ                 KY         90014537337
53753544551361   EASTER         SEALS WRC               OH         66056025445
53753646461975   JOHN           FRANCO                  CA         46060036464
53754572291939   CHRIS          TRUITT                  NC         17047905722
53755154484357   EBONY          KAISERHYAE              SC         90013531544
53755391951348   ERIN           LEIGH                   OH         90009213919
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53757552561971   DAVID         SIPES                    CA         90014885525
53757697285928   EDWARD        JONES                    KY         90012246972
53758363451348   ROBERT        PLAVSIC                  OH         90012663634
53758591491534   ITZEL         LOPEZ                    TX         90010885914
53758759855959   VANESSA       GARCIA                   CA         48008167598
53759668571964   ALMA          SALAS                    CO         90010026685
53759846791895   ROSA          GUZMAN                   OK         90010418467
53761183761971   RICO          GALES                    CA         90013111837
53761491861975   NATALIE       LABORDE                  CA         90007854918
53762911654151   ISAAC         JOHNSON                  OR         90012509116
53763497151348   WILLIAM       WINN                     OH         66059904971
53765427285928   WILLIAM       OLSEN                    KY         90014174272
53765621961973   MIGUEL        GARCIA                   CA         90013476219
53765682855959   ERIK          RAYA                     CA         48082536828
53766371961975   DEREK         GRIFFIN                  CA         90013383719
53766379555959   DAVID         RANGEL                   CA         90013923795
53766398561971   BRANDEE       DECKARD                  CA         90014623985
53766825833699   DESHAYLA      JACKSON                  NC         90010108258
53767657451348   DESTINY       BUELL                    OH         66073606574
53768232871964   JOSH          CASEY                    CO         90008752328
53768329784329   JOSHUA        ROBERTS                  SC         90013033297
53768659557157   JEFFERY       HONAKER                  VA         81003896595
53769453233699   JESSICA       SMITH                    NC         90012814532
53769732161971   SUZANNE       EVANS                    CA         46011937321
53771222191895   SUQUANA       FOX                      OK         90013932221
53771395451333   CHELSEA       WEISS                    OH         90010493954
53771497833699   TINA          GENTRY                   NC         90015094978
53771533455959   MARIO         NARANJO                  CA         48034365334
53772757357157   KEVIN         WILLIS                   VA         90003987573
53774986533699   HENRY L       WHITE                    NC         90014819865
53775277761975   MICHELLE      OLSEN                    CA         90015202777
53778117271964   SONIA         NOYES                    CO         32014281172
53781372591895   STEPHEN       ROGERS                   OK         90003933725
53781533555959   EMMA          GARCIA                   CA         48071605335
53783586391895   PATRICIA      LOZANO                   OK         90000915863
53783898833696   UNEDA         FOUST                    NC         12088968988
53784165757157   PATRICIA      ABANTO                   VA         90011031657
53784526493724   MARTY         GISEWITE                 OH         90010965264
53785166861975   BETZUA        GARDUNO                  CA         90013101668
53786391171964   CHRIS         BRONSON                  CO         90014193911
53786535833699   HILDA         HERNANDEZ                NC         12095975358
53786798891534   RAQUEL        ZUNIGA                   TX         90000387988
53787923591323   PHILIP        MIRAMONTES               KS         90013349235
53789814133699   VAL           SMITH                    NC         12022148141
53791864561975   MARICELLA     ARANDA                   CA         90015208645
53793666651348   PAUL          TRIANCE                  OH         90009726666
53793777171964   ARTURO        GALAVIZ JR               CO         32007707771
53794233191534   JOSE          RAMIREZ JR.              NM         75055912331
53794356591895   MARIO         PANIAGUA                 OK         90013933565
53794444971964   EDY           RIVEROS LEON             CO         90012214449
53794611931436   WILLIAMS      GLENDA                   MO         90002506119
53795118657157   JONATHAN      MADUAKOR                 VA         81045601186
53796526951348   TIMOTHY       HISER                    OH         66062105269
53797585955959   JAIME         JIMENEZ                  CA         48009405859
53797828261973   LORENA        OSUNA                    CA         90002618282
53798228651348   MICHAEL       ODENBECK                 KY         90012702286
53799839884373   SUSAN         HOGAN                    SC         90012598398
53811152491895   THOMAS        MCENTIRE                 OK         90003581524
53811649357157   PHYLLIS       AWAP                     VA         90002476493
53812227741221   MALANI        KEEFE                    PA         51071862277
53813287851348   MEGAN         RIES                     OH         90011852878
53813295171964   CHRITINE      NAGLE                    CO         90011662951
53813388351348   LOUIS         PENLEY                   OH         90014723883
53814653361973   CAMERON       FIELDER                  CA         90011446533
53816226784357   KELYNDA       FREEMAN                  SC         90003702267
53817216793782   CHRIS         LANNERD                  OH         90014592167
53817222231428   CHRISTOPHER   PAYNE                    MO         90010982222
53818197533696   ASHLEY        VARELA                   NC         90010761975
53818299893724   LACI          LESTER                   OH         64553972998
53819219771964   KAYLA         JOHNSON                  CO         90014722197
53821257561973   JONATHAN      OCHOA                    CA         90009302575
53823377533699   LOLETTA       WILLIAMS                 NC         12022523775
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53823546761971   DAWN         COMO                      CA         46029525467
53823558593724   AUSTIN       MILLER                    OH         90011345585
53823854791981   RICHARD      EVANS                     NC         90008088547
53824383551348   BOBBY        TRENT                     OH         90012663835
53825599761973   PATRICK      PEREA                     CA         90000505997
53826616361971   RICARDO      HERNANDEZ                 CA         46037446163
53826711791534   EDUARDO      DURAN                     TX         90008617117
53827218761973   MARIA        ALVARADO                  CA         90012732187
53827263933699   YTANG        KSOR                      NC         90010112639
53829486171964   LOPEZ        LUZ                       CO         32020924861
53829755491534   LUIS         GONZALEZ                  TX         90010717554
53831475661971   ROCKY        SMITH                     CA         90006194756
53831854791981   RICHARD      EVANS                     NC         90008088547
53832817561973   MARTHA       VILLALOBOS                CA         46023518175
53833335761921   HUGO         BALTAZAR                  CA         90006613357
53835747185928   HUMBERTO     TAPIA                     KY         90006717471
53838257736145   TAQUANA      HOUSTON                   TX         90004902577
53838784333699   LINDSAY      WILLIAMS                  NC         90012997843
53838845691885   VICTORIA     SLAGLE                    OK         90009638456
53838958585928   KRISTEN      RAYBOURN                  KY         90010689585
53841987661921   EVAN         WILLIAMS                  CA         46016859876
53843633791895   PAU          KHIA                      OK         90014756337
53844639685839   HEIDI        SWANSON                   CA         90007126396
53845685461966   REBECCA      BRAMBILA                  CA         90010416854
53846127655959   NORMA        ESPINOZA                  CA         90008061276
53846668571964   ALMA         SALAS                     CO         90010026685
53847785291587   NANCY ANN    CARR                      TX         75053337852
53848415491895   RODNEY       FUDGE                     OK         90010914154
53849723957157   VICTOR       CONTRERAS                 VA         90011037239
53849731691895   NEPHTALI     VINAJA                    OK         90003967316
53849939591534   MARCELA      TELLEZ                    TX         75046129395
53853965691895   ALLIE        HUDSON                    OK         90012519656
53854391651348   STEFFANIE    POPE                      OH         90013303916
53854594361971   MATT         WHITE                     CA         90002705943
53854771461975   HARIM        ROBLES                    CA         46036347714
53855312385928   KELLY        WEBB                      KY         90014883123
53857519161973   FLORES       MARIA DEL ROCIO           CA         46071115191
53861227661975   ELENA        GUIZA                     CA         46092762276
53862311957157   JESUS        MARTINEZ                  VA         90014763119
53863253391895   HUGO         HURTADO                   OK         90013932533
53863781933699   ANDRIL       CHESTNUT                  NC         90011517819
53865316691895   LETITIA      MANN                      OK         90013933166
53866194885928   CHERYL       BABB                      KY         90013001948
53869796785928   BRIAN        HARM                      KY         90013097967
53871661761975   RUBEN        PEREZ                     CA         90013116617
53872296943569   JACCI        MCDONALD                  UT         31010952969
53874118661975   LESLIE       OJEDA                     CA         90003601186
53874521857157   ROBERT       FRAZIER                   VA         90013425218
53874763991895   NATESHIA     DELONIA                   OK         90012997639
53875396571964   GARY         HARTASG                   CO         90010183965
53877594833699   CATINA       HEATH                     NC         12059775948
53877784284373   MICHAEL      KINARD                    SC         90005007842
53878534557157   MIRIAM       HERNANDEZ                 VA         81074435345
53882351461971   AISHA        MUHAMMED                  CA         46031083514
53882465557157   VIRGINIA     PAUCCAR                   VA         90014854655
53882611984373   APRYL        WRIGHT                    SC         19089066119
53884124155959   TAMMI        SMITH                     CA         90013171241
53884151261941   ANDREW       VOLPER                    CA         90007661512
53884214991587   LUZ          SALOME                    NM         75063102149
53887456561971   SONIA        MONTOYA                   CA         90013264565
53887723261973   RONALD T     GARLAND                   CA         90002327232
53887792833699   JASMINE      WARREN                    NC         90014787928
53888437391895   JOSHUA       DAY                       OK         90007204373
53889284191558   WILLIAM      FENNEL                    TX         75088372841
53889441771964   GERSON       ALMICAR                   CO         32086864417
53891459833699   SHADAE       PENDERGRASS               NC         90015154598
53891495757157   MARIE        COOK                      VA         90014094957
53892711484357   RANDALL      LEWIS                     SC         90006627114
53893282585928   KISHA        LEWIS                     KY         90013662825
53893295191895   ISAU         BAUTISTA                  OK         90013932951
53893443133696   JERRY        POTEAT                    NC         90011214431
53893621591534   PATRICIA     TORRES                    TX         75001806215
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53894231666186   SERGIO              ALVAREZ            CA         90015202316
53894287255959   GILBERT             MARTINEZ JR        CA         48078972872
53894698861975   EDITH               CERVANTES          CA         90014826988
53895487291895   ELLEN               EUBANKS            OK         90014724872
53897212891534   JESSICA             DOMINGUEZ          TX         75017642128
53898244385928   ANNA                THOMPSON           KY         90012052443
53899541191534   CHRIS               CANALES            NM         75083985411
53911718261973   JOSH                CORNELL            CA         90012757182
53911732561971   SHERI               PARSONS            CA         90011937325
53912132461971   GUSTAVO             GONZALES           CA         90013581324
53912529271964   STEVEN AND NIKITA   JACKSON            CO         90012405292
53914642193724   JEREMY              STEPHEN            OH         64587736421
53914739531429   ADRIAN              MITCHELL           MO         27596197395
53915963285928   JOSEPH              JOHNSON            KY         67005619632
53916721371964   ROY                 ROSS               CO         90010077213
53916878791534   MONICA              IANNI              TX         90010328787
53921271557157   AVELINO             MALAQUIAS          VA         81063232715
53921488233696   JENE                STILES             NC         90011214882
53922278831429   KIMBERLY            MCDANIEL           MO         27576392788
53922366557157   FRANK               SCHIAVONE          VA         90001963665
53923462371964   MARIA               CUEVAS             CO         32009634623
53923879691895   ANDREW              BROAD              OK         21009718796
53924513961973   ORTIZ               VICENTE            CA         90010865139
53924754357157   SORIE               KONNEH             VA         81031057543
53924848751348   JOHN                DURHAM             OH         90004018487
53925297785928   JEFF                NOE                KY         90002042977
53925728157157   COURTNEY            WILSON             VA         90014767281
53925743991534   ANABEL              CERVANTES          TX         75026647439
53926341561971   ABRAHAM             FLORES             CA         90008713415
53926689757157   LUIS                VALENCIA           VA         90011116897
53927591785928   CLADIA              OSORIO             KY         67054385917
53927678261975   LISA                SEXTON             CA         90015166782
53931161284357   MOSES               YOUNG              SC         14587651612
53931422491534   MIGUEL              HERNANDEZ          TX         90015154224
53932231533696   BOBBY               HIGHTOWER          NC         90002152315
53933714391534   ROCIO               LANDEROS           TX         90008617143
53934224791895   EMERY               PHILLIPS           OK         90009332247
53934557333696   WILLIAM             FRALIN             NC         12089045573
53934731261975   MARCOS              HERNANDEZ          CA         90013117312
53934815757157   BREYONNA            WILLAMS            VA         90013478157
53935275461973   JOAN                FRAZIER            CA         46068752754
53935958585928   KRISTEN             RAYBOURN           KY         90010689585
53936731185928   LESLIE              WICKHAM            KY         90014917311
53936921251348   CHERYL              WILSON             OH         66012499212
53937545671964   MONICA              CAIN               CO         90007195456
53937722961973   GABINO              GUADALUPE          CA         90005017229
53937855551348   MYRON               HAMPTON            OH         66043778555
53938545671964   CHARLOTTE           WILEY              CO         90011665456
53939164257157   MOHAMED             TRAAD              VA         90011631642
53941883491534   JUAN                CARRILLO           TX         90005998834
53943565791534   JOSE                MARMOLEJO          TX         75001835657
53943761733696   ARCHIE              BABCOCK            NC         12030027617
53944195391895   CAMERON             JARRETT            OK         90010821953
53946415491895   RODNEY              FUDGE              OK         90010914154
53946446961973   SANDRA              OROZCO             CA         46007324469
53946812151348   RICHARD             JOHNSON            OH         90012988121
53947488233696   JENE                STILES             NC         90011214882
53948286461975   CHRISTENE           TERESA             CA         90013122864
53948646271964   JORDAN              CRUZ               CO         90007196462
53952451691534   SILVIA              ADAME              TX         90010194516
53952666433699   KIYHREA             ROBBINS            NC         90013606664
53953573161971   FATIMA              GOMEZ              CA         90000445731
53954175433696   LISA                LITTLE             NC         12081311754
53954527155959   NANCY               MENDOZA            CA         90013815271
53957146661975   CANDELARIO          HERNANDEZ          CA         46044571466
53958356791534   ISABEL              ROJAS              TX         75040823567
53959224451348   CRYSTAL             HOSKINS            OH         90003102244
53959373591534   SERGIO              REYES              TX         90006433735
53961695161973   JESSICA             SEGURA             CA         90013716951
53961977861973   JESSICA             SEGURA             CA         90014779778
53962661781696   SUSANA              FARIAS             MO         90013716617
53963587555959   JESUS               COSSIO             CA         90010945875
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53966277884357   PAULETTE     MCKEE                     SC         90002922778
53966523291534   KEVIN        VILLANUEVA                TX         90015395232
53966766551348   SHERRY       BACKER                    OH         90004237665
53967364591895   EDUWIGES     HERNANDEZ                 OK         90013933645
53971617971964   FAVIOLA      SANCHEZ                   CO         32021346179
53971975851348   DARRYL       ASHCRAFT                  KY         66012089758
53972414643569   RICHARD      VADNAIS                   UT         90009724146
53972758133696   KENETH       STACY                     NC         90005107581
53973751655959   CARLOS       BALLADAREZ                CA         90015157516
53974672571964   GABE         VTEC                      CO         90014736725
53975497485928   MO           BROWN                     KY         90013864974
53975745851348   MALIKAH      COFFEY                    OH         90011957458
53979249455959   GABY         TRUJILLO                  CA         90014632494
53979272233696   JULIO        GOMEZ                     NC         90012992722
53981959884373   CRAIG        PERRY                     SC         90010669598
53982768771964   MARIA        PLEWNIAK                  CO         90013587687
53983216781666   DWAYNE       JONES                     MO         90008052167
53983991161971   DUANE        ROBERTS                   CA         90013149911
53984439693782   LATEENA      ROBINSON                  OH         90004234396
53984543333696   MONIQUE      MCQUEEN                   NC         90011215433
53985174185928   MIOEKA       MORSE                     KY         67014621741
53985859833699   RACHELL      GALLOWAY                  NC         90011318598
53987112461973   EDUARDO      ESPINO                    CA         90014541124
53988277733696   CLIFTON      ILLS                      NC         90012992777
53988844133699   ANTONIO      JACKSON                   NC         90014188441
53989377933699   ELADIA       GUTIEREZ                  NC         90014483779
53989467457157   SKYE         COSNER                    VA         90013484674
53989741871964   STEPHANIE    ONTIVEROS                 CO         90014737418
53991463361971   JOVANNA      SMITH                     CA         90015204633
53992588861975   KYLE         SWIM                      CA         46051335888
53992635763667   DIETRICH     CLEMMONS                  MO         90007266357
53992635984357   DEBRA        JONES                     SC         14506416359
53993653385928   ADRIANA      GAYTAN                    KY         90012936533
53993654555959   MARIO        BAUTISTA                  CA         90014876545
53997179255959   MELISSA      GONZALEZ                  CA         48028441792
53997427691895   LOUIS        CAMPBELL                  OK         90007564276
53997694961971   CARISSA      OSTEEN                    CA         90009926949
53997924133699   BUTTER       FIELD                     NC         12037469241
53998717851336   MONICA       BLACKWELL                 OH         66097527178
53998966243569   DENILEIGH    NEVILLE                   UT         90002519662
53999147784357   NATASHA      PRINGLE                   SC         90010211477
53999152261971   ALICIA       RENTERIA                  CA         90010861522
54112813631428   IVORY        MOBLEY JR                 MO         27506038136
54114896731468   MAURICE      PARKER                    MO         90008748967
54117616284373   LEONARDO     HARNANDAZ                 SC         90015096162
54117783161973   ADAM         MOORE                     CA         46007617831
54118442151348   COLLEEN      RIPLEY                    OH         66040084421
54119185785928   ASIANNA      FORD                      KY         90014591857
54122663331429   ALECIA       DENT                      MO         90007086633
54125732385928   ALLISON      HARDIN                    KY         67032427323
54125859884373   RANGER       SEGUNDO-TIBURCIO          SC         90010968598
54127795261975   ARASELI      VARGAS                    CA         90012847952
54128783561975   ROSANA       MORA                      CA         90007977835
54128823555959   MAURICIO     BELMONT                   CA         90013638235
54129795661975   MARLENE      HERNANDEZ                 CA         90007977956
54131912961971   JAMES        JACOBS                    CA         90015259129
54133863831428   ANDREW       ALLSUP                    MO         27506048638
54133921961971   DAVID        GARD                      CA         90006769219
54134866193724   AMANDA       ROUTT                     OH         90013948661
54137484291895   SABRINA      VAN HANYNING              OK         90007124842
54137828833696   BRANDON      MCNEIL                    NC         90015008288
54141112961973   MARIA        ABARCA                    CA         90010821129
54143884893724   MICHAEL      BURKE                     OH         90013948848
54143942451348   RYKIEL       CULBRETHY                 OH         90010999424
54145421751388   STEVEN       WILCOXSON                 OH         90007384217
54146249493724   TAJUAN       HOUSTON                   OH         64576122494
54148388161971   MYNOR        HERNANDEZ                 CA         46073723881
54148987633696   GAIL         HALL                      NC         90009089876
54149224684373   TERRELL      SLATER                    SC         90008962246
54149325891587   RUBY         SILVA                     TX         90001693258
54149743133699   EBONY        HOUSER                    NC         90009587431
54152125233699   MARIA        SANTOS                    NC         90015221252
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54153824233696   MICHAEL       SKIPPER                  NC         90014738242
54154388533696   ALISHA        LANE                     NC         90014063885
54154422291895   MARIA         NUNEZ                    OK         90012574222
54154684433696   YALONDA       BETHEA                   NC         90011066844
54155191951348   LATOYA        BROWN                    OH         90012001919
54155612761975   KEVIN         GRIFFITHS                CA         90015016127
54155781191587   BRANDIE       CASSIO                   NM         75004467811
54156341333696   ROBERT        HEARTWELL                NC         12010723413
54156664633699   DONNIE        FORD                     NC         90013216646
54156858261975   LANETTE       FOSTER                   CA         90007958582
54156976793724   ANGELA        WOODS                    OH         90013949767
54158475631429   AARON         GILBERT                  MO         90010174756
54159761191895   SHERRY        GARRISON                 OK         21057787611
54161438641229   RONDA         KELLY                    PA         90011754386
54161749291895   THERESA       WILLIAMS                 OK         90009467492
54164124455959   ROSA MARTHA   ESPARZA                  CA         90015091244
54164727133696   PATRICIA      HICKS                    NC         12092357271
54165627651348   MELISSA       MOYER                    OH         90015156276
54166139155959   MARTHA        CARDENAS                 CA         48091541391
54167353484334   HEIDY         ANGELITA                 SC         90010453534
54168283233696   TYKERIA       DEBERRY                  NC         90007082832
54169465691895   MATTHEW       SPEIGHT                  OK         90014554656
54169743784357   PATRICIA      MULLINS                  SC         90006547437
54169976891587   NELIA         NAVARRETE                TX         90014469768
54171357285928   GERARDO       LUNA                     KY         67009023572
54173345991587   LUIS          GUERRA                   TX         90002883459
54175526755959   JOANN         RUIZ                     CA         90014815267
54177381151348   KIM           ROBBINS                  OH         90013373811
54177518161971   COLTON        KELLEY                   CA         90012305181
54179445693724   JOSHUA        MATTHEWS                 OH         90003144456
54184374273268   MELISSA       CARTER                   NJ         90013283742
54187738591587   WILLIAM       SNIDER                   TX         90010747385
54188637833699   FRANK         JONES                    NC         12061206378
54189192185928   CRYSTAL       TRINIDAD                 KY         90007521921
54189625961975   CASSANDRA     TORRES                   CA         90011176259
54191715661971   RYAN          BRADLEY                  CA         90011327156
54195278993782   KELLI         WAGNER                   OH         90008862789
54195946591895   ALANA         BERRY                    OK         90009399465
54199465761975   PEDRO         LABRA                    CA         90009664657
54211894693724   SARENA M      SMITH                    OH         90006218946
54212655651348   MARIE         LEWIS                    OH         66091716556
54213792361973   LUIS          ALVAREZ                  CA         90014917923
54214843484373   KIMBERLY      WALKER                   SC         90013788434
54218427284373   DARNITA       WORTHAM                  SC         90011494272
54221131757157   VICTOR        DE LEON                  VA         81007211317
54225145393724   MELISSA       TAYLOR                   OH         64574021453
54225432561975   CLAUDIA       WILLIAMS                 CA         90013884325
54226392193724   CHRISTOPHE    EVERETT                  OH         64556043921
54231628433699   NUBIA         TRINIDAD                 NC         90011156284
54231762161975   GARY          STEPHENSON               CA         46053697621
54231862785928   TERESA        BLOT                     KY         90008178627
54232944484373   JAMAAL        GADSDEN                  SC         90013029444
54233299457157   THOMAS        HENDERSON                VA         90012042994
54233926257131   UNALDO        AYALA                    VA         81024029262
54234138931429   KEVIN         VOISEY                   MO         90007101389
54234541755959   VIOLET        PELOYAN                  CA         90012925417
54235155531429   ALONZO        ZALLOWAY                 MO         90007101555
54235197261975   ANABEL        AYALA                    CA         46041741972
54235872477534   YOLANDA       LOPEZ                    NV         90000428724
54236849351348   JULIE         HIMM                     OH         90009968493
54237382684373   MYRNA         WARREN                   SC         90003703826
54242438951348   NICOLE        HALLORAN                 OH         90014714389
54242837161973   DIANA         GOMEZ                    CA         90013538371
54243182161973   JORGE         ROSAS                    CA         90012871821
54244514161973   MARY          HERNANDEZ                CA         90012625141
54245196951348   MEGAN         HUGHES                   OH         90014291969
54246427743569   MARSH         JACLYN                   UT         90008674277
54247197491535   JESSICA       ROBLES                   TX         90005491974
54248173693724   GILBERTO      CASTILLO                 OH         90011641736
54248871884373   TAMEKA        EDWARDS                  SC         90012318718
54251269255959   JOSHUA        LOPEZ                    CA         90015292692
54251399661975   RODRIGO       AGUILAR                  CA         90012863996
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54252627784373   KENDRICK     MAYS                      SC         90009406277
54253775591895   GILBERT      MOORE                     OK         21024737755
54255445133696   DONALD       ASHLEY                    NC         90008354451
54255538493724   RONALD       SHELTON                   OH         64530545384
54256224733699   MARILYN      MCRAE                     NC         90013082247
54257941133696   OTIS         ROBINSON                  NC         12043859411
54258292385928   MARY         GREEN                     KY         67009882923
54259971191895   JUAN         URTIA                     OK         21075609711
54262516661975   BRYAN        MALDONADO LOPEZ           CA         90012705166
54263164133696   ALICIA       HANNAH                    NC         90012871641
54265473961975   ROBERTA      EDWARDS                   CA         90014384739
54265962893772   TIMOTHY      FRAZIER                   OH         90008529628
54267728761971   RICKEY       DAVIS                     CA         46031017287
54273327491587   SHAWN        GREER                     TX         90010153274
54274469755959   BLANCA       SANTANA                   CA         48002334697
54274776631428   RASHONDA     NORTHCROSS                MO         27564017766
54274845961973   MARTIN       JUAREZ                    CA         46084698459
54275833133645   RONNA        GIBBS                     NC         12097728331
54276666991587   ARTURO       DIAZ                      TX         75061746669
54276728261973   ISABEL       MORENO                    CA         90002317282
54278139484357   COLIN        EADY                      SC         90006481394
54278219661975   ALMA         CHAVEZ                    CA         90007982196
54279121881669   DENISE       DAMERON                   MO         29052551218
54282562561975   FELIPE       CONTRERAS                 CA         90004365625
54282711561971   BRIAN        MILLER                    CA         46016017115
54282894691895   LAKIN        N HAMILTON                OK         90011318946
54283264533696   SANDRA       ABARCA TAPIA              NC         90000662645
54284387661973   HANAH        SATTLER                   CA         90009253876
54286547691587   JOSE LUIS    GAYTAN                    TX         90014385476
54289636161973   VALLES       MIKE                      CA         46096116361
54292817651348   MERCEDES     ARAUJO                    OH         90015168176
54295465491587   ERICKA       ESCANDON                  NM         90012374654
54297385377522   HEATHER      SANCHEZ                   NV         43016733853
54297922685928   HEATHER      WETHINGTON                KY         67003359226
54298333491587   DANIEL       GONZALEZ                  TX         90008453334
54298556284373   JENNIFER     LUCAS                     SC         90013095562
54298929784357   TREMAINE     MILLEDGE                  SC         90006519297
54311122851348   PABON        MORALES                   OH         66072971228
54311187961971   JENISE       ROGERS                    CA         90011131879
54311293785928   NAITAI       TILLMAN                   KY         67099572937
54311399661975   DESMOND      MOTT                      CA         46010333996
54317671331428   ROBERT       JACKSON                   MO         90005396713
54319587961973   MS           DANIELS                   CA         90012945879
54321621993724   JACQUELINE   FINCH                     OH         64574816219
54325972591587   ANGEL        TELLEZ                    TX         90010259725
54326394561975   FRANCIS      NICHOLS                   CA         90013043945
54327821785928   NOAH         HARMON                    KY         90010998217
54328171151348   AVA          KING                      OH         66013931711
54328678661973   LISA         HOUSTON                   CA         90012716786
54332597391895   CHRIS        LITTLEJOHN                OK         90013755973
54332736933696   ASHLEY       TEEL                      NC         90013477369
54333513984373   VERONICA     CARTER                    SC         90001905139
54333863261971   RICHARD      KNOX                      CA         46012958632
54334989855959   LUCERO       DE DIOS                   CA         90003689898
54335952343569   NICOLE       PLATT                     UT         31057309523
54337695361971   ROSARIO      FELIZ                     CA         90013066953
54338728891587   RUBISELL     BARRAZA                   TX         90014417288
54339945184373   JULIE        LANCASTER                 SC         19075959451
54341625893724   KRISTINE     CLAXTON                   OH         90013216258
54342216555935   JUAN         MEDINA                    CA         49096592165
54342256191895   PAULA        SHARP                     OK         90008192561
54342369141247   SHAITISHA    CAMPBELL                  PA         51029473691
54345314931428   LAURA        FIELDS                    MO         27515193149
54345541785928   EMMMETT      MANLEY                    KY         90012385417
54346224133699   ANDREYA      CHURCHILL                 NC         90007702241
54346341461971   LORENA       BELANDER                  CA         90014363414
54347117991534   MICHAEL      ROBLEDO                   TX         90010601179
54347431261973   LUZ          FEREZ                     CA         90014754312
54348636884373   ALICIA       RAMOS                     SC         19087856368
54349624391895   CARRIE       SNEED                     OK         21006126243
54349851893724   GEORGE       CORE                      OH         90014818518
54351561161971   ROSLYN       CASH                      CA         90012055611
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54351623651336   NAKESHA       FRAZIER                  OH         90011196236
54351752855959   RUBIEL        CIRILO                   CA         90012637528
54354176493724   CURTIS        BECKETT                  OH         90015001764
54354789391895   DELISE        ESPARZA                  OK         90004717893
54357974333699   DEBORAH       RAPHAEL                  NC         12065699743
54359331493724   KELLY         JUDY BAILEY              OH         64556053314
54362194193724   CHRISTOPHER   WILLIAMS                 OH         90012591941
54363153391587   JULIAN        TINAJERO                 TX         90015121533
54363154951348   CHRISTINA     PEREZ GUTIERREZ          OH         90012761549
54364567291587   ALESHA        WOLOSZYN                 TX         90014045672
54364642791587   RUBY          VARGAS                   TX         90009446427
54365371185928   DACOMA        WALKER                   KY         90009373711
54367338157157   HAROLD        STRICKLAND               VA         81056313381
54369494884373   DAVIDA        SIMMONS                  SC         90013684948
54371178484373   JASON         NICHOLS                  SC         90012711784
54371719261975   ESPERANZA     GONZALEZ                 CA         90012427192
54371852661973   ALMA          ALCANTARA                CA         46078648526
54374414661973   JESUS         RIVERA                   CA         90013354146
54375594561971   BRICE         BARNEY                   CA         90010745945
54377822593724   NICOLE        BERRY                    OH         90014858225
54378373891587   ALMA          MAGERS                   TX         75092273738
54379146185928   LIONER        BRANNON                  KY         90005911461
54379713185928   STEVEN        SMITH                    KY         90014767131
54382368191267   CHRIS         MARTIN                   GA         90009463681
54382778693724   JOSEPH        SHEPHERD                 OH         90005237786
54383158643569   TINA          MILEWSKI                 UT         31014111586
54383613584373   MARIO         FERMIN TURCIOS           SC         90012046135
54384819361973   JONATHAN      YOCHUM                   CA         90007208193
54386127891895   EVELYN        CARTER                   OK         90003681278
54388325755959   ARNULFO       LOPEZ                    CA         90013233257
54389584161973   MARIA         NUNEZ                    CA         90014325841
54392342991587   RAMON         CHAIREZ                  TX         90013083429
54392696261973   ALEX          CRESPO                   CA         90011466962
54394133641271   FRANK         REOLA                    PA         90009361336
54394153393782   AMANDA        LECKEY                   OH         90010951533
54395122733696   JACQUELINE    MICKEL                   NC         12097071227
54395638451348   CARRIE        CARTER                   OH         90015126384
54397866961973   ISRAEL        VILLA                    CA         46057688669
54398283157124   PEDRO         FLORES                   VA         90003142831
54398636733696   CRYSTAL       LANGFORD                 NC         12016816367
54411495361973   ISRAEL        MOYEDA                   CA         90014294953
54411814361971   JOSEPH        OSBORNE                  CA         46082188143
54412161355947   KARLA         DELORBE                  CA         90012711613
54414689451348   ANGELA        SPEARS                   OH         90012456894
54415184133696   LEE           GORDON                   NC         90010931841
54417965593724   ROGER         BOOARDO                  OH         90014729655
54419758333696   ANTHONY       JULIUS                   NC         90014877583
54419836851348   RAMIRO        HERNANDEZ-RAMIRO         OH         90015018368
54421858893724   GUY           WILSON                   OH         90010768588
54422635233696   THIAGO        KIDD                     NC         90012266352
54423576655947   LAURA         DIAZ                     CA         49092325766
54429514142335   JAMES         HANCOCK                  GA         90002135141
54431333691587   VASQUEZ       NANETT                   TX         75016923336
54431669791895   SARAH         KUNIHIRA                 OK         21077586697
54432176855959   BARBARA       ORDAZ                    CA         90005321768
54433351484373   DANIELLE      LOWERY                   SC         90006973514
54433527855959   RUBEN         SANDOVAL                 CA         90012475278
54435763961939   RICARDO       R HERNANDEZ              CA         90012607639
54435767493724   LAJUANA       MASTON                   OH         90003717674
54436262293772   EDDIE         BOSIER-SHOLLER           OH         66038602622
54436498555959   JUAN          SUAREZ                   CA         48069614985
54436828461973   PERLA         ZAZUETA                  CA         46007948284
54437281584373   KRISTOPHER    VERRETT                  SC         90012822815
54438353261971   TRACI         PAULSON                  CA         90011533532
54438677484373   RASHEMA       PAYTON                   SC         90015156774
54441817143569   LISIATE       POMEE                    UT         90008868171
54442933691895   CAROL         SHOULDERS                OK         90013159336
54442997884373   MARIA         NESBIT                   SC         90013569978
54444322691895   LINDA         WILLIAMS                 OK         90014303226
54444987861975   MAYRA         JIMENEZ                  CA         46011199878
54445621791895   BENNY         LONGORIA                 OK         90014116217
54445797991587   EDGAR         BAEZ                     TX         75089397979
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54447954133699   SHEREKA      THOMAS                    NC         90013449541
54448249391895   BONNIE       GALLOWAY                  OK         90009292493
54448583361971   MARIA        CASTRO                    CA         90015105833
54449315431428   MICHEL       HENDERSON                 MO         90009633154
54449479333699   LUIS         OLAGUE                    NC         90014344793
54452481461971   NICOLE       RESSLER                   CA         90008434814
54452767793724   YOLANDA      MURRAY                    OH         64590657677
54455319793724   ANIYAH       LILLARD                   OH         90013953197
54455833251348   KEVIN        KOMBRINCK                 OH         90013998332
54456355433699   LEANDREA     MCNAIR                    NC         90007433554
54456885693724   MILIKA       HAMPTON                   OH         90014758856
54457236491587   JULIO        RINCON                    TX         90013492364
54458245791587   JOANNA       GUERRA                    TX         90004012457
54461517384373   JERALD       BENNETT                   SC         90013645173
54461834385928   JEFFERY      HIGGINS                   KY         90003538343
54462256461971   JUSTIN       RIMOLDI                   CA         90012752564
54462683893724   RHONDA       BROOKS                    OH         90012816838
54462854961971   IVY          SOLATO                    CA         90014188549
54463697684373   YERIKA       RIVERA                    SC         90005296976
54464563361973   ERICKA       VERGARA                   CA         90014685633
54467687231428   SANTRELL     DUFF                      MO         90011116872
54468547833645   TAMARA       CUTHBERTSON               NC         90012225478
54468957255959   JUAN         DIAZ                      CA         90012149572
54471199691587   GLORIA       ZAVALA                    TX         75059771996
54471731261975   LAURA        ALVAREZ                   CA         90011557312
54471848733696   KATRINA      MORRISON                  NC         90008078487
54472696761971   MICHAEL      BULICK                    CA         90010916967
54474352655959   MIGUEL       ROJAS                     CA         48060903526
54475432584373   MARIA        LOERA                     SC         19037774325
54475466755959   MARIBEL      GOMEZ                     CA         48043224667
54476265357157   MURIEL       RIAZ                      VA         90003662653
54479869355959   MARIA        LOPEZ                     CA         90015278693
54481922733699   JACQUELYN    OKAFOR                    NC         90013929227
54481941684373   ANDREA       RAMIREZ                   SC         90012349416
54482195755959   PABLO        RANGEL                    CA         90000111957
54482339693724   DARLA        BROWN                     OH         90013953396
54483843291587   CHRISTINA    GRAU                      TX         75031928432
54486469833696   PAMELA       MCCLURKIN                 NC         90013194698
54487131155959   GENEVE       MARES                     CA         90011211311
54487189561975   CHRISTINE    HEARD                     CA         90014181895
54488878361971   GARY         JOHNSON                   CA         46013278783
54489113143569   RYAN         REDDISH                   UT         31058221131
54492245891895   BRANDON      BUFFINGTON                OK         90003702458
54495125291895   SHAREEFAH    MESTAD                    OK         21030151252
54495349433699   GERALD       ATWATER                   NC         90010273494
54499615593724   DENISE       PATRICK                   OH         64573146155
54512458261973   CARMEN       GUTIERREZ                 CA         90013344582
54513715658577   VANE         ANDERSON                  NY         90001597156
54514385693724   ROBIN        PULLIAM                   OH         90000603856
54515453357379   JOHNNY       COX                       MO         90015234533
54515756591895   AMY          DARNELL                   OK         21077667565
54517461393754   RICK         KRAMER                    OH         90011894613
54517659157127   ALEMAYEHU    MESHESHA                  VA         81011696591
54517974391587   JANINE       RAMIREZ                   TX         90010259743
54519318461975   ROBERTO      CHAVEZ                    CA         90001433184
54519413191895   FRANCES      ROBERTS                   OK         90013314131
54524389855959   GOVANI       ZARCO                     CA         90013083898
54524981491895   KASHEDRA     CALHOUN                   OK         90013069814
54525322785928   APRICA       HOOTEN                    KY         90014383227
54526879333699   PATRICK      PERRIN                    NC         12073148793
54527496361975   MERCADO      JOEL                      CA         46071894963
54527525233699   CYDNEY       MARTIN                    NC         12064615252
54528151191895   STEPHANIE    TULSA                     OK         21075941511
54528527684357   SHANNIKA     WILSON                    SC         90008705276
54528977761975   LUIS         JUAREZ                    CA         90003709777
54529823261975   LOGAN        BUTLER                    CA         90010458232
54531874161973   GABRIELA V   BERMUDEZ                  CA         90012378741
54532575584373   JENNIFER     CRUSINBERRY               SC         90015125755
54533466191895   ANGELA       BUTLER                    OK         21007144661
54535213433696   SHELETHA     PARKER                    NC         90013772134
54535916793724   JAVIER       REBOLLO                   OH         64500249167
54536488661975   RAY          VASQUEZ                   CA         90011154886
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54536736155959   FRANCISCO       MELENDEZ               CA         48026027361
54537131184373   TWANNA L.       DAVIS                  SC         90011121311
54542427293782   HEATHER         HILL                   OH         90010524272
54542879161973   VARINIA         HAYNIE                 CA         90014248791
54543156885928   LATOYIA         BUTTS                  KY         90004131568
54543662984373   DONNA           RIVERA-RENTAS          SC         90012196629
54545142261975   EDITH           HERNANDEZ              CA         90010621422
54546687493724   JENA            WILSON                 OH         90013046874
54546841733696   KENNETH         GIBSON                 NC         90011998417
54547481161973   PATRICIA        TRINIDAD               CA         46086664811
54548661661975   HIGUERA         MARIA ISABEL           CA         46015006616
54548758757121   JESUS ANTONIO   CHAVEZ                 VA         90012217587
54548861491895   APRIL           WYTCH                  OK         90012248614
54549133885928   JESSICA         TRAUTWEIN              KY         90011891338
54555741993782   CHEYENNE        DAWES                  OH         90013797419
54555754157157   JOSE            CEDILLOS               VA         81075117541
54556871393724   MARK            NEYMAN                 OH         64562498713
54558993651348   JEFFERY         SHELLEY                OH         90010869936
54559849461971   JERRY           MCGRATH                CA         90013048494
54559985491587   DAVID           BUSTER                 TX         90014309854
54561433661971   MARLENE         NUNEZ                  CA         90006214336
54564521361971   MANUEL A        ESTRADA                CA         90014345213
54565165493724   KIMBERLY        DEER                   OH         64502631654
54565778761971   ROBERT D        BARR                   CA         46031537787
54566129591587   CESAR           CHAVARRIA              TX         90007571295
54566643181622   TRACIE          RICE                   MO         90014676431
54567121485928   BARBARA         MILLER                 KY         90010621214
54567528391895   ELICIA          HAUSMANN               OK         90014885283
54569282933696   ROBENA          GRIFFIN                NC         90010572829
54569597561971   RODNEY          NETTLES                CA         90006355975
54569863561975   CHRIS           FRANCO                 CA         90006568635
54571135785928   RICKY           COBB                   KY         67076241357
54571296491895   AMEER           BOWLDS                 OK         90013012964
54571514161971   KARINA          IBARRA                 CA         46089535141
54572939691587   SIOBHAN         MATA                   TX         90013859396
54574598263679   DENNIS          PRUITT                 MO         90000285982
54576975761971   SUSAN           ALLNUTT                CA         90012899757
54577176733699   ARIANA          SERRANO-SANTIAGO       NC         90014171767
54577187651348   STEFANY         FLORES                 OH         90015201876
54577241661973   JOSE            ALVARADO               CA         90009482416
54578798551346   MARTIN          ARY JR                 OH         90001157985
54581635191895   KURT            MILLER                 OK         21004436351
54582324761971   ARISTEO         QUIROGA                CA         90004393247
54583424757379   KIMBERLY        HICKMAN                MO         90015084247
54583528233699   MALAIKA         PENNINGTON             NC         12022475282
54584392893724   STAFFORD        MOLDEN                 OH         90014493928
54585566855959   ANTHONY         GARCIA                 CA         90011465668
54586434551348   ALEJANDRA       RAMIREZ                OH         90014264345
54587442151348   COLLEEN         RIPLEY                 OH         66040084421
54588227955959   WYATT           COPE                   CA         90015202279
54588972791587   JEANNETTE       VENTURA                TX         75071789727
54593356895677   ERIKA           SALDIVIA               UT         90006213568
54593544655959   JUAN            FLORES                 CA         90010335446
54593875661973   JAIME           ZARATE                 CA         90014188756
54595492293724   PAMELA          BUTTS                  OH         90011804922
54595595291587   ROZXANA         GARCIA                 TX         90012005952
54596374433696   ANTONIO         FERNANDEZ              NC         90011103744
54597741651586   AMANDA          SEGENT                 IA         90015247416
54597855357157   KEVIN           STRONG                 VA         81008348553
54598867955963   JOSEFINA        RAMIREZ                CA         90012228679
54599215833699   LUNA            WILLIAMS               NC         90005812158
54599911561973   LETICIA         HURTADO                CA         90011859115
54599969161975   ELIAS           GALDAMEZ               CA         90014159691
54611758491587   MORENO          YMARIE                 TX         90008737584
54612521131429   LOREN           SCHWENT                MO         90006885211
54613279751348   MARIA           MARTINEZ               OH         90003522797
54615323261973   COSME           SANCHEZ                CA         46084833232
54617665855959   MARYLOU         LOPEZ                  CA         48076826658
54617986861971   ZULY            NUNEZ                  CA         90011329868
54618291861973   JULIO           HERNANDEZ              CA         90012612918
54619728833696   LAKEIA          HERBIN                 NC         90008427288
54619932191267   DANIEL          BROWN                  GA         90011819321
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54623776161973   JESUS             PEREZ                CA         90012977761
54625516561975   ROSEANN           MESTA                CA         90001665165
54626273385928   MONTERIO          BURNETT              KY         90015022733
54627445184373   GLORIA            COOPER               SC         90013674451
54627996733696   JACKIE            FULP                 NC         90014679967
54628433133696   TRACY             MCINNIS              NC         12004284331
54628785193724   MARILYN           DIXON                OH         64516577851
54629215693724   HEATHER           PERRY                OH         90013792156
54629659261973   ELIZABETH         BOWMAN               CA         90013046592
54629994491587   VERONICA          SILOS                TX         90012539944
54632481155959   VICTOR            PENA                 CA         90010004811
54633742633645   TAMISHIA          LEATH                NC         12083487426
54637739861975   MARIA GUADALUPE   REYNOSO ESPARSA      CA         90012107398
54639676693724   SAMANTHA          BREWER               OH         90003926766
54639869351348   TAMI              COYLE                OH         90008448693
54643363955959   MIGUEL            ZARAGOZA             CA         90014753639
54643414291895   SYLVIA            DAVIS                OK         90014924142
54644154585928   FERMIN            HERNANDEZ            KY         90011901545
54644297831429   NICK              PRICE                MO         90007212978
54644491361971   CARLA             VIRGEN               CA         90007944913
54644854884373   RYAN              WOOD                 SC         90006008548
54645337684373   DAVON             PRIOLEAU             SC         90015033376
54647224951348   DAN               SIEFERT              OH         90015202249
54647342661975   ADRIANA           GUTIERREZ            CA         90005903426
54648711855959   VICTORIA          MEDINA               CA         90013557118
54648841161973   XOCHILT           GONZALEZ             CA         46073938411
54649784984373   STEVEN            SKIPPER              SC         19053027849
54652612161971   ODILIA            SANCHEZ              CA         90003196121
54654263255959   JOSEPH            SANCHEZ              CA         90013822632
54654761851348   JESSE             WALLER               OH         90014877618
54655724191587   NATALY            ORTIZ                TX         90011087241
54656375384373   RENEE             SIMMONS              SC         90011213753
54656754833699   ROMULUS           SIMPSON JR           NC         12011367548
54656774451348   AISHA             WADE                 OH         66088447744
54657386761975   YESENIA           ORTA                 CA         90014853867
54658478561973   CARLOS            PADILLA              CA         46023044785
54659377761975   GRISELDA          NIETO DE SALCIDO     CA         90014713777
54661164733645   GWENDOLYN         CARTWRIGHT           NC         90007231647
54662567291587   ALESHA            WOLOSZYN             TX         90014045672
54663859255959   MICAELA           IBARRA               CA         90012868592
54665322131428   TOM               GLENN                MO         27563623221
54665369731429   DOUGLAS           HANSON               MO         90012583697
54665687255959   JUAN              GUZMAN               CA         90008836872
54665778891587   RICHARDO          HIDALGO              TX         90014107788
54666239884373   AMANDA            POSEY                SC         90013592398
54666433933696   NICOLE            RICKARD              NC         90014424339
54667536655959   ERICA             SOLIS                CA         90014705366
54671139184373   FRANCOIS          JEAN                 SC         90013751391
54671973797957   JESUS             VILLARREAL           TX         90004789737
54673584257131   TAKEYA            UMANZOR              VA         81018055842
54674126993724   MARIVIC           RICHARDS             OH         64578731269
54674532961973   KARLA             CASTANEDA            CA         90005185329
54674835751348   RICKY             BARNETT              OH         90013028357
54675481831428   CALVIN            SHAW                 MO         90004344818
54675868451348   ROBERT            JAMES                OH         90002218684
54676231191587   MARINA            DURAN                TX         75092372311
54677324361975   GABRIEL           DUARTE               CA         46087763243
54677345381622   FELIPE            JIMENEZ              MO         29054733453
54678178493724   DARELL            THOMPSON             OH         90014771784
54678513961973   NATHAN            VAIFALE              CA         90010785139
54678543855959   LINDA             ARCHULETA            CA         90004735438
54678753955959   LINDA             ARCHULETA            CA         90014947539
54681356455959   MALLORY           ESTRADA              CA         48008303564
54681998661971   MARK              MATHISON             CA         90002499986
54683734291895   NICOLE NOEL       SINKINSON            OK         90014537342
54684347661975   JORGE             MORALES              CA         90013643476
54684769461973   LORENA            AGUIRRE              CA         46008517694
54685388984373   ANTHONY           BURKE                SC         90015603889
54685472191587   MARIA             DURAN                TX         90012404721
54686675491587   JESSICA           MAGALDE              TX         90010736754
54686747331429   CANDICE           SIMMONS              MO         90011407473
54691363151348   JAY               SHIPLEY              OH         66035723631
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54691432485928   CRISTINO     JAVIER                    KY         90007534324
54693275155959   VIANEY       CORTES                    CA         90012042751
54694953433699   JAMEKA       MARTIN                    NC         90011279534
54695189784373   GARY         RICKS                     SC         90012241897
54696946161995   ROBERT       LINDAHL                   CA         90012249461
54698124291587   MIKE         MARTINEZ                  TX         75048211242
54698577643569   AMBRIZ       ARTURO                    UT         90006005776
54698752161973   BRYAN        GABRIEL                   CA         46028987521
54699318142359   SHANNON      PUTMAN                    GA         90009263181
54699322791895   WILLIAM      HIGGINS                   OK         90012013227
54711492185928   JULIO        SANCHEZ                   KY         67024844921
54711776431429   CAMMILE      YOUNG                     MO         90012517764
54712426391895   CHRISTY      JACKSON                   OK         90010304263
54714274657554   MATTHEW      SCHIPPER                  NM         90008712746
54714625855959   RENE         OROZCO                    CA         90014716258
54715444621631   JUSTIN       WEATHERSPOON              OH         90014354446
54715795233699   LASHELL      ANTHONY                   NC         90012237952
54715889161975   JOSE         VALLES                    CA         90012058891
54716185961973   MONICA       QUEZADA                   CA         46001761859
54722264693724   TIMOTHY      SHOPE                     OH         64586242646
54723935461973   ISAAC        QUEVEDO                   CA         90015149354
54725358655959   JESUS        VEJAR                     CA         90013593586
54727672951348   BRITTANY     BLEVINS                   OH         66032176729
54729528543569   ROBERT       GARDER                    UT         90007935285
54731776291587   DANIA        MEDRANO                   TX         90014097762
54732551991587   ELSA         SANCHEZ                   TX         90012805519
54732725151348   SUSAN        MILLS                     OH         90009647251
54733351661975   ENRIQUETA    MARTINEZ                  CA         90004503516
54735148961975   KAREN        HALL                      CA         90011881489
54737729891587   ISMAEL       ZUBIA                     TX         75092427298
54741847961975   AIOTEST1     DONOTTOUCH                CA         90015128479
54744744184373   TWANNISHA    DYLEY                     SC         19079127441
54744754161975   MARINA       KLASNO                    CA         90012837541
54747185661973   EMILIA       DIGHERO                   CA         90012721856
54748892884373   LORETTA      COOK                      SC         19070408928
54749233593724   HADIYAH      WASHINGTON                OH         64557872335
54749319131436   SAM          POSTON                    MO         27560773191
54751588255959   ENEDINA      CISNEROS                  CA         48083495882
54752599257157   MIREILLE     DIALLO                    VA         81076775992
54753216861971   LUIS         RICO                      CA         90013382168
54753229661989   MICHAEL      JOHNSTON                  CA         90014122296
54753519161973   ANGELICA     MACHAIN                   CA         90010635191
54754186851348   SYLIVIA      SMITH                     OH         90009971868
54754697131428   ANTOINETTE   CORRELL                   MO         90005446971
54755776785928   CAROLYN      WOODS                     KY         90014907767
54756313833696   NATASHA      WRIGHT                    NC         90012853138
54756518957131   ELSA         TORRES                    VA         90004245189
54756871755959   VICTOR       MARTINEZ                  CA         48084088717
54757444361973   JOSE         ARAMBULA                  CA         90010224443
54757745985928   ERIC         YOUNG                     KY         90003957459
54757858361971   KRISTEN      ORONA                     CA         46084428583
54758376984373   JULIE        WEINBURG                  SC         19032253769
54759144991587   MARTHA       GARCIA                    TX         75092431449
54759885661971   DALIA        BALBUENA                  CA         90011468856
54759896151348   BELINDA      WASHINGTON                OH         66075068961
54761483291587   VALDEZ       MANUELA                   TX         90012404832
54761566433699   OMEGA        BAUTISTA                  NC         90015205664
54761652851348   TYNATA       CARTER                    OH         90015126528
54761876391535   RICARDO      GAUCIN                    TX         75064168763
54762748331428   DOMINIQUE    RICE                      MO         90005447483
54762767291587   BENJAMIN     DOMINGUEZ                 TX         90002047672
54765491257157   BERNITA      NEAL                      VA         90014344912
54765666257157   BERNITA      NEAL                      VA         90008986662
54766962893772   TIMOTHY      FRAZIER                   OH         90008529628
54767839761975   MIGUEL       LOPEZ                     CA         90015288397
54767933161973   BERNICE      TORRES                    CA         90010089331
54768713533157   BEVERLY      PETERSEN                   IL        90011027135
54769853784373   SHAMBELE     LOAFF                     SC         90008428537
54771231477322   MANUEL       MENDOZA                    IL        90015602314
54771592984373   ANETRIA      EVANS                     SC         19073605929
54772178243569   CARLI        ORE                       UT         90009111782
54772812461998   WAFAA        SMITH                     CA         90001538124
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54773713391895   LUIS         BURSOS                    OK         90014147133
54776947491587   TIARA        LITTLEJOHN                TX         90014869474
54778226991895   ROWENNA      GAINES                    OK         90012882269
54778624361973   TERESA       PEREZ                     CA         90012096243
54781423351346   KIM          COON                      OH         90000684233
54783375733699   ALICA        BLANCO                    NC         90011523757
54784212931429   STEVEN       LAMAR                     MO         90007282129
54784423351346   KIM          COON                      OH         90000684233
54784477961973   VERONICA     MONAY                     CA         46061334779
54785893151348   TARISSA      EVERIDGE                  OH         90013828931
54786168733645   JAE          HILLIARD                  NC         12002171687
54786819933696   TIANA        TROTMAN                   NC         90014348199
54791198933699   BRIANA       ROCKETTE                  NC         12023191989
54792836561975   SEAN         HEGEDUS                   CA         90012848365
54793189155959   FIDEL        MARTINEZ                  CA         90015361891
54794163761971   ISRAEL       LOPEZ                     CA         90011471637
54798735291895   LINDSEY      SCHULTZ                   OK         90014147352
54799435155959   DANIEL       NAVA                      CA         90000824351
54812511691895   ALFONSO      BARRIOS                   OK         90013445116
54812523855959   ALEJANDRA    TORRES                    CA         90002125238
54813429461975   JOSEPH       NIETO                     CA         90013334294
54813776191535   GILBERTO     GARCIA                    TX         75001097761
54814677961973   MARI         VALDOVINOS                CA         90007866779
54815524784373   TONY         ANDERS                    SC         19037475247
54815545485928   TERRY        CARTER                    KY         90012925454
54816525233699   CYDNEY       MARTIN                    NC         12064615252
54819179861975   ADRIANNA     PADILLA                   CA         46037951798
54819386333696   TRAVIS       REDWINE                   NC         90014293863
54819673161971   DAWN         PHILIPS                   CA         46074866731
54821279784373   CHRIS        FULTZ                     SC         90001962797
54823847961975   AIOTEST1     DONOTTOUCH                CA         90015128479
54824517885928   TONIA        CARTER                    KY         90006955178
54825647991895   JOHN         BAKER                     OK         90010516479
54827279384373   KIMBERLY     SIMMONS                   SC         90011362793
54828322933696   GREGORY      BOYKINS                   NC         90012283229
54828515833699   MILLER       LADONNA                   NC         90010825158
54828868661971   AMMAR        SHAFIK                    CA         90008798686
54829845291587   JAVIER       RODRIGUEZ                 TX         90012808452
54831144555959   TISHA        SOTO                      CA         90010391445
54831592133696   SHAQUAE      GIBSON                    NC         90013645921
54832382433696   FELTON       ADAMS                     NC         90013983824
54832518291895   DUSTIN       COLT                      OK         90014875182
54832917461973   MARIA        FELIX                     CA         46081709174
54833658161971   MARSHA       ADAMS                     CA         90003676581
54835672161975   SOFIA        BARRERAS                  CA         90013016721
54837552557157   MARCUS       TOWNES                    VA         90006145525
54838164855959   DANIEL       TAPIA                     CA         90012741648
54838258891895   BRAD         SCOTT                     OK         90010262588
54839146833699   INFINITI     PENN                      NC         90013581468
54839464333696   BRITTANY     LAWRENCE                  NC         90013454643
54841318385928   ABBY         BOONE                     KY         67090463183
54841519691587   JASMINE      ENRIQUEZ                  TX         90012585196
54842161955947   GEORGE       ACAJABON                  CA         90004581619
54842389251348   FLORA        DIAZ                      OH         90010303892
54842745491895   TRACY        SUMLAR                    OK         90014147454
54842788733699   JEFFERY      BROOKS                    NC         12008077887
54844987391558   ANTONIA      NAVARRO                   TX         75097919873
54845268561975   SUZANNE      SCOTT                     CA         46036732685
54845286484373   PERRY        BOWERS                    SC         90013072864
54848638993724   BERNISHA     MAXWELL                   OH         90014046389
54849873191895   JAY          CLAPP                     OK         90014538731
54851933355959   RAFA         MEDINA                    CA         90014629333
54852627751348   MARY         HACKER                    OH         90001616277
54854713484852   ESTEBAN      RODRIGUEZ                 NJ         90013927134
54854734755959   MATTHEW      COCHRAN                   CA         48036027347
54854754391895   ELIAS        MENDEZ                    OK         90014147543
54854933185928   BLAKE        BROOKS                    KY         90010179331
54856298161921   GERARDO      MORENO                    CA         90010522981
54858673791351   KELLY        DUNN                      KS         29015656737
54861311361973   ALBA         AGUAYO                    CA         90014563113
54862877291587   ALMA         VASQUEZ                   TX         75033008772
54863489257157   REYNA        RAMIREZ                   VA         90002334892
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54863776591895   KIMBERLY     BAILEY                    OK         90014637765
54864625561971   JOSE         HERNANDEZ                 CA         46014866255
54864675661975   ABRAHAM      GARATE                    CA         90014626756
54866785491895   VICTOR       GONZALES                  OK         90010237854
54866883361973   OSVALDO      ENRIQUEZ                  CA         90010808833
54867435271927   ANDREW L     WEAVER                    CO         32039924352
54868691251348   BRITTNEY     JOHNSON                   OH         90011506912
54868794784373   TIFFANY      WRIGHT                    SC         90013327947
54869163985928   MARCHEAL     RUSSELL                   KY         90011021639
54869813131428   CORY         CARLISLE                  MO         90014388131
54873696761973   ROBERT       NIEBLAS                   CA         90013006967
54874178491587   GILBERTO     LOPEZ                     TX         90009751784
54874839761975   MIGUEL       LOPEZ                     CA         90015288397
54875317191587   LUIS         MIEALES                   TX         90011183171
54875478561973   CARLOS       PADILLA                   CA         46023044785
54876854385928   EBONY        DAVIS                     KY         90010818543
54878886751367   DAVID        DUBOIS                    OH         90010568867
54881163761971   ISRAEL       LOPEZ                     CA         90011471637
54881914751348   ANTHONY      NIEDERHELMAN              OH         90011949147
54882638555959   JUANITA      FRANCO                    CA         90003426385
54885784431429   CHANITA      VASSER                    MO         90007567844
54886941833696   SCOTT        HANBACK                   NC         12040799418
54886963161971   SAFAA        GORGEES                   CA         46081459631
54886981593724   BLACK        HORSE                     OH         90014629815
54887752385928   PEDRO        RIVA                      KY         90014387523
54889352651348   SANJUANA     SANTOS                    OH         90013923526
54889845561975   ELIZABETH    RULLODA                   CA         90015288455
54892941891895   SANDRA       FIGUEROA                  OK         90014849418
54894661991895   CHARLENE     KEMPER                    OK         90014276619
54895136257157   ROCIO        COMAYAGUA                 VA         81068971362
54895772933699   CARLA        DANIELS                   NC         90011457729
54897765591587   SONIA        MEZA                      TX         75093917655
54898526755959   JOANN        RUIZ                      CA         90014815267
54899178185928   VIRGINIA     CRUZ                      KY         90012801781
54911335655959   NORMA        RAMOS                     CA         90009003356
54913122661971   KESHAWN      WATKINS                   CA         90015181226
54913487633696   SONIA        LOCKLEAR                  NC         12035164876
54913949751348   KIMBERLY     FIORESI                   OH         66077609497
54914141551348   BECKY        DRYER                     OH         66013941415
54916662985928   DENISE       HULETT                    KY         90011156629
54917339991587   LISSETTE     ORTIZ                     TX         90012563399
54921661551348   EMMA         HICKSON                   OH         66024446615
54922215491895   OPAL         DELANCY                   OK         90013462154
54922259685928   RANDALL      NEWSOME                   KY         90007792596
54922991631628   THOMAS       GAULTNEY                  KS         22006709916
54924613455959   GILBERT      MAGANA                    CA         90001206134
54924673561973   JUAN         VEGA                      CA         90011796735
54925984493724   SHANHA       ARMSTRONG                 OH         90014629844
54926216485928   BRIAN        ENGLISH                   KY         90010012164
54927475185928   RENAY        SAWYERS                   KY         67097164751
54929171384373   HUBERTA      RODRIGUEZ                 SC         90012731713
54929212786427   PAIZ         GUILLERMO                 SC         90015152127
54929449993782   NIKI         ROSS                      OH         64561514499
54929567855959   LETICIA      PENA                      CA         48014685678
54931524133696   EMMA         HUNTER                    NC         90014535241
54931544557157   ASHLEE       REYNOLDS                  VA         81098165445
54934173693724   HEATHER      GRIMES                    OH         90013131736
54934851777522   VANDETTA     BAKER                     NV         90003088517
54935158991587   VANESSA      BATTLE                    TX         90014771589
54936143261975   ANGELINA     GARCIA                    CA         90013191432
54936346191587   SANTANA      RUBI                      TX         90009423461
54937168191895   BRANDON      CURCIO                    OK         90010871681
54937741261973   CESAR        GARZA                     CA         46036127412
54938981791535   OSVALDO      PERALTA                   TX         90007689817
54939548191587   RODOLFO      GUTIERREZ                 TX         75092095481
54941171161975   NORMA        ESQUIVEL                  CA         90014701711
54944196633699   GERALD       ROSEBORO                  NC         90001281966
54944364461975   CYNTHIA      BARNES                    CA         46037223644
54944454191587   MARIO        TORRES                    TX         90012244541
54944826285928   RICHARD      CAMPBELL                  KY         67021288262
54945676661971   STEPHANIE    NICHOLS                   CA         90011396766
54946111133696   HOWARD       WASHINGTON JR             NC         12011041111
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54946519585928   ANTHONY      KELLEY                    KY         90005505195
54948872891587   ADRIANA      MALDONADO                 TX         90013318728
54948921761971   DIANA        LOPEZ                     CA         90013269217
54956243761971   LANCE        DARINGER                  CA         90001482437
54956526185628   ELLEN        WILLIAMS                  NJ         90000525261
54956578184373   ANNETTE      THOMAS                    SC         90007035781
54958585361975   ANDREW       DIFFENBAUGH               CA         90001665853
54961472984373   RENITA       JACKSON                   SC         19037324729
54961719191895   VIRGINIA     EVANS                     OK         21090887191
54961912281631   MATTHEW      SAUCEDO                   MO         90013469122
54961934381631   JUAN         DOE                       MO         90007589343
54962454733699   JOSEPH       HARVEY                    NC         12098164547
54963122133645   DARIEN       LEVINE                    NC         90004421221
54963211833696   ANGELA       MCCRAY                    NC         90000312118
54963483955935   SHALON       BESS                      CA         90011644839
54964419461975   GUADALUPE    GARCIA                    CA         90008834194
54964431591587   FLORES       RITA                      TX         75081004315
54965156991895   MICHELLE     HITES                     OK         90010081569
54965418784373   CHERYL       THOMPSON                  SC         90009024187
54965445761971   DEBORAH      HILL                      CA         90014404457
54965951643569   VALENTINO    FOOTRACER                 UT         31070769516
54967781361973   FRANSISCO    HERNANDEZ                 CA         46019157813
54968914457157   JUAN         DIAZ                      VA         90000129144
54969862191895   CHRISTIE     PEREZ                     OK         90010938621
54971996533645   ADAM         JONES                     NC         90009679965
54972255877322   CEDRIC       PEOPLES                    IL        90015552558
54972821991587   SOFIA        ALONSO                    TX         90007888219
54973739133699   CHARLOTTE    PETERSON                  NC         90014207391
54973776191939   ELENA        SAN AGUSTIN               NC         90002127761
54974539833645   CHERELLE     ROPER                     NC         90004845398
54975134384373   SHANTEL      LEE                       SC         90012461343
54975711551336   MICHELLE     LEWIS                     OH         90010557115
54976649833699   TAKARA       WATSON                    NC         12023096498
54977459391895   ADAM         BUTLER                    OK         90014424593
54978986833699   LEONARD      BAILEY                    NC         90014689868
54979224885928   ORA EILEEN   DEERING                   KY         90008432248
54981479491587   MELISSA      ROMERO                    TX         90011174794
54983585861973   ALFREDO      BOGORIN                   CA         46006115858
54984223661971   ASA          BARGER                    CA         90012762236
54985457655959   ROMINA       GARZA                     CA         48067954576
54986538157127   DELTON       BRODIE                    VA         81065035381
54987175861975   JOSHUA       KAUWOH                    CA         90013801758
54989474255959   THEODORO     MATA                      CA         90007114742
54989686933699   KISHA        DEWITT                    NC         90015206869
54989942661975   ANTONIO      MAGALLON-CABEZAS          CA         90014969426
54993295791895   JESSICA      AYUB                      OK         90009182957
54993934884373   MARVIN       BUTLER                    SC         19095019348
54994161661971   JASON        CRIM                      CA         46055021616
54994427755959   YARELI       GARCIA                    CA         90011484277
54996196193724   DUSTIN       PARSONS                   OH         90004041961
54996316257157   DIGNA        MELENDEZ                  VA         81020243162
54999935857157   FABRICIO     GARCIA                    VA         81066869358
55111764191587   SARA         SHORES                    TX         90013537641
55113899491587   ADRIANA      MARQUEZ                   NM         90010508994
55115394251348   LUIS         CARDENAS                  OH         90012213942
55119377891356   CARMEN       BORJA                     KS         90014703778
55122617581698   NAKIA        LEWIS                     MO         29011956175
55122913133699   MARISOL      LOLA                      NC         90014199131
55126111561975   ANGELICA     CUEVAS                    CA         90011541115
55126454185928   DORA         RODRIGUEZ                 KY         90013684541
55128852391356   KATLYNN      DAVIS                     MO         29074408523
55129494984357   JOANNE       YOUNG                     SC         90003764949
55131333684357   INABINETT    GENINE                    SC         90013413336
55134687684357   DEAZHANE     GATSON                    SC         90003766876
55134695857124   MARIBEL      ORELLANA                  VA         90013036958
55135897281265   CANBIDA      HANEY                     IN         90015558972
55136144757157   ROSA         MOLINA                    VA         81057861447
55137665933645   MARTIN       GARCIA                    NC         12065006659
55141328891525   YVETTE       LUELLMAN                  TX         90006063288
55141797657541   JOANNA       SEITZ                     NM         90012137976
55143675961971   MICHEAL      RODRIGUEZ                 CA         90012046759
55143962691587   ELIZABETH    RAMIREZ                   TX         75058269626
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55144827985928   VERONICA       ALFARO                  KY         90012978279
55145657261975   TATIANA        BRANCH                  CA         90014626572
55145665651348   OLLIE          TURNER                  OH         90014106656
55146372591587   JOSE           VASQUEZ                 TX         90008203725
55147376561975   ALESHA         FLORES                  CA         46069923765
55148547233699   CHRISTINE      MOSS                    NC         90008865472
55151551761973   ROBERT         PESEBRE                 CA         90014435517
55152537361971   JOANNA         MOJICA                  CA         90015155373
55153767291925   SHANIQUA       JULLY                   NC         90002357672
55156343861975   MICHAEL        PACK                    CA         90014263438
55156685761975   MICHAEL        PACK                    CA         90012556857
55156817191587   NOHEMI         ACOSTA                  TX         75093588171
55157218933696   BYRUM          GILBERT                 NC         90001302189
55157731684357   PAMELA         GRAY                    SC         90000307316
55159317785928   EBONY          ELLISA                  KY         90014883177
55159413361975   TIMOTHY        HARPER                  CA         90013304133
55159513391587   LUIS ROBERTO   MARTINEZ                TX         90011015133
55159839331491   HARLEY         MITCHELL                MO         90015388393
55162289681265   SIERRA         HELD                    IN         90015592896
55162421991587   ARTURO         GALLEGOS                TX         90008244219
55162797684357   SHAUMA         ELEESE                  SC         90003767976
55162985741288   TAMRA          MCKENNA                 PA         90007329857
55164122684357   TIFFANY        BROWN                   SC         90012151226
55165735955951   ANGLICA        GONZALEZ                CA         49001777359
55165857991587   PRISCILLLA     REINA                   TX         90002178579
55167177577533   DEVON          BREEN                   NV         90012721775
55169126291356   JOHN           LIPP                    KS         90015101262
55169127733696   BRYCE          MORGAN                  NC         90011681277
55171138733699   GLORIA         BOSTON                  NC         12054081387
55171717284357   PAYGO          IVR ACTIVATION          SC         90015247172
55171895381265   JULIA          DYER                    OH         90005148953
55172514961975   DULCE          CANIZALES               CA         90013525149
55172743851348   ALISHA         DAVIS                   OH         90014097438
55173396691895   GARY           COLBERT                 OK         21018113966
55175727291895   THOMAS         WIGGS                   OK         90010127272
55178988991356   HEATHER        CONNERY                 KS         29069249889
55182146551351   DIANA          KLEIN                   OH         66002071465
55184263361971   SUSANA         CHAVEZ                  CA         90007582633
55185638661971   TONIO          MALDONADO               CA         46044666386
55186532591356   MARVIN         HOWARD                  KS         90014935325
55188189261971   KRISTINE       HOWARD                  CA         46051481892
55188353991895   MARKEIT        WILLIAMS                OK         90013193539
55189919391356   BENNY          LANDRUM                 KS         90015219193
55191319591356   SHALEISHA      PHOX                    MO         29014113195
55191742791895   UNIQUE         MOORE                   OK         90013267427
55191928684357   DAVID          TAYLOR                  SC         90013349286
55193925543569   KOLOMALU       VAIOLETI                UT         90006629255
55195148761971   BALDEMAR       MEJIA                   CA         90013931487
55195824685928   AUDREY         PATTERSON               KY         67011238246
55197289491587   ENRIQUE        DELAROSA                TX         75032002894
55197579977534   MANUEL         VILLAREAL               NV         90006625799
55199436485928   GUILLERMO      SANTIAGO                KY         67096124364
55211746557157   FABRICIO       DURAN                   VA         90013937465
55214683433696   TIA            SIMPSON                 NC         90014306834
55217771691356   KRYSTALE       PETERSON                KS         90012167716
55218164151348   STEPHANIE      PARROTT                 OH         90011391641
55218585791895   RITA           PLENGE                  OK         90003495857
55219595361973   KARLA          LEIVA                   CA         90013065953
55221226391356   PAYGO          CANDILLO                KS         90013962263
55221714951348   ENEREIDA       JUAN                    OH         66056087149
55223233791895   RICHARD        SAMPLEY                 OK         90009862337
55225899291895   ERENA          MOYNIHAN                OK         90009988992
55227386457157   LISSETH        HERNANDEZ               VA         90013853864
55227762884357   ALVIN          BLACK                   SC         90009727628
55228583661973   SUSIE          MORENO                  CA         90012325836
55229889933696   STEPHANINE     ARTIS                   NC         90010728899
55233773833645   REBECCA        BOSIER                  NC         12001727738
55234922755951   ALBERTO        HUERTA                  CA         49079649227
55235516733645   YORDANO        ZEREZGI                 NC         12093595167
55236372655951   DIANA          SOTO                    CA         90010763726
55237246961971   DELIA          PANTOJA                 CA         46024062469
55238572657157   JUAN           BARRIOS                 VA         90005845726
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55239493733696   SIMONA       STUBS                     NC         12089564937
55241336591587   JESSICA      MENDOZA                   TX         75043973365
55241587231428   KENAG        TYISKA                    MO         90005745872
55242378185928   AUGUSTIN     DIA                       KY         67082793781
55243484185928   NAJAH        THOMAS                    KY         90009264841
55243534791587   RODOLFO      CHAVEZ                    TX         90011015347
55245332261971   JESSICA      ROBERTS                   CA         90009223322
55245333231428   JOSHUA       RICE                      MO         27516933332
55246765561971   FE           TAYLOR                    CA         46012577655
55247782861975   CINTHYA      ATENCO                    CA         90009777828
55248378591356   GENETTA      BOLTON                    KS         90012603785
55248535385928   PAYGO        IVR ACTIVATION            KY         90010295353
55251253461975   RICHARD      AZHOCAR                   CA         90013132534
55252356261973   MARIA        ISAIS                     CA         46031243562
55252598161975   JAQUELINE    SANCHEZ                   CA         46064705981
55253781281265   JOQUINA      BROOKS                    OH         66095967812
55253783391356   DEBORAH      MORRIS                    KS         29013987833
55255281184357   MICHELLE     WASHINGTON                SC         90008642811
55255913161975   JOHANNA      FLORES                    CA         90006989131
55256315761971   BRYAN        ALEMAN                    CA         90013923157
55256552561973   MARRIETTA    MOSLEY                    CA         90000645525
55258586831429   CLAYTON      VANCE                     MO         27516095868
55258778561973   CARLOS       HERNANDEZ                 CA         90011207785
55258945291356   RANDALL      FIELDS                    KS         90008399452
55259516885928   TAMARA       SMITH                     KY         67008765168
55259722881265   TODD         PIPKIN                    OH         90012837228
55262441161971   RICHARD      DOBBS                     CA         46028844411
55265946391895   JINA         KILLOUGH                  OK         90015159463
55267841491895   MARIK        MAXVILLE                  OK         90014648414
55268635161971   KRIS         GRIFFING                  CA         46071926351
55269823991587   JACKIE       CASTRO                    TX         90013828239
55271558591587   JOSEFINA     SANCHEZ                   TX         90013785585
55272786157157   MARY         DOFF                      VA         81076937861
55273619891895   DEZARAE      BEAVER                    OK         90014756198
55274287131428   JEANINE      OVERALL                   MO         27563022871
55274456761975   HARRIS       RODERICK                  CA         90006264567
55275214391356   CRAIG        LORD                      KS         90008192143
55275452191587   FATIMA       CEPEDA                    TX         75094864521
55275515951348   KIM          BIRKENHAUER               OH         90008715159
55276243933645   WANDA        HARIRI                    NC         90007362439
55277987691895   TIFFANY      GENSEL                    OK         90013349876
55278875161975   HECTOR       ARMENTA                   CA         90012648751
55278965457123   EMMA         ZELAYA                    VA         90009889654
55281157251348   MESFIN       KORME                     OH         90006011572
55284586484357   WILLIE       MORGAN                    SC         90013415864
55284712491587   JOSE         GUILLEN                   TX         90013537124
55285129591356   REBECCA      EBBE                      KS         90014731295
55286177161973   GLORIA       SANDOVAL                  CA         90000151771
55287787833699   TRACY        WILLIS                    NC         12067327878
55291324285928   BRYAN        GREEN                     KY         90012843242
55293493485928   TABITHA      STAMPER                   KY         90014874934
55293558561973   NLARISA      RAMIREZ                   CA         90005585585
55295485231436   LAKISHA      DAY                       MO         90001254852
55296942961971   LEAH         CLEGG                     CA         90013189429
55311727161975   ADRIAN       OJEDA                     CA         90011287271
55312192633625   PEDRO        SANCHEZ                   NC         90013841926
55312555461975   ANGELO       BUTLER                    CA         90004595554
55313435733696   RAHEINE      REID                      NC         90003664357
55315773791945   EMAD         MAGDY                     NC         90012447737
55317156991587   ALBERTO      SILVA                     TX         90014491569
55317317157157   WALTER       CAMACHO                   VA         90013943171
55321799761973   JAIME        LOPEZ                     CA         90010787997
55322123461973   JUDEAN       LEWIS                     CA         46014141234
55322177561975   FRANCISCO    SIERRA                    CA         90012451775
55324833557157   ENRIQUE      BARRAZA                   VA         81023248335
55325175961975   SARA         GONZALES                  CA         90011541759
55325525885928   JANICE       COULTER                   KY         67071045258
55327759557122   MEGGAN       DAVIS                     VA         90010397595
55328881384357   FRANK        WASHINGTON                SC         90013648813
55328895451348   NICOLE       ASHER                     OH         90006328954
55329526585983   CRYSTAL      MCKNIGHT                  KY         90008095265
55329919633699   SHAYNA       STEVENSON                 NC         90009229196
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55329937581265   SARA           MEISTER                 KY         90015269375
55334672661971   ESMERALDA      EL CANTERRA             CA         90000636726
55334714757157   JOSE           BONILLA                 VA         90013947147
55336728757157   DALILA         CASAS                   VA         90013947287
55337159391587   MARINA         LOPEZ                   TX         90012761593
55338386651348   DECNISA        CHANEY                  OH         66023403866
55338556661975   GENOA          CHAPMAN                 CA         46052615566
55342141491587   OTILIO         ORNELAS                 TX         75027231414
55342562385928   MOLLY          BURDETTE                KY         67081005623
55343682791356   ANNA           DUSSAULT                KS         90014226827
55343854857157   JOSE LUIS      CRUZ                    VA         90013948548
55343969861548   JADE           THOMAS                  TN         90013189698
55346131581265   MARK           HINRICHS                KY         90013231315
55346132557157   CECILIA        OSEI                    VA         90013951325
55347287957157   SABA           ABRAJ                   VA         90013952879
55347734291356   PAULA          PAVLICH                 KS         90014227342
55348177461975   JONATHAN       SALMERON                CA         90013841774
55348798685928   ANDREA         NORFLEET                KY         67053337986
55349177161973   GLORIA         SANDOVAL                CA         90000151771
55349331761971   ALONDRA        MADRIGAL                CA         90012723317
55349446184357   AVA            TORMAN                  SC         90014174461
55351442391895   REBECCA        BROOKS                  OK         90008594423
55353854561971   MICHELLE       SHERMAN                 CA         90009928545
55357169661973   JOSEPH         CLEMENTS                CA         90004381696
55357574133696   LOUKISHA       DAWKINS                 NC         90013095741
55361556951348   HASHEEM        RASHEED                 OH         90012785569
55362189461975   LATOYA         COOPER                  CA         90011541894
55362299255951   ANDY           SINARONG                CA         90008902992
55364226561975   LINDSEY        SMITH                   CA         90012382265
55368231985928   GERARDO        TEJEDA LANDA            KY         90011382319
55368482791356   KATRINA        ANDERSON                MO         29045444827
55369464191587   ANGELICA       SORRELL                 TX         75072314641
55371484491587   LAURA          GARCIA                  NM         90014914844
55371484561973   ERICK          JAIMES                  CA         90011984845
55371741133699   RAY            WHALEY                  NC         12089397411
55371862343569   DANIEL         ROMERO                  UT         90006818623
55372134591356   CORTNEY        BRILEY                  KS         90011671345
55373191891356   ASHLEY         WARD                    MO         29011301918
55373345291587   MATHEW         FLORES                  TX         75087263452
55373615455951   ROBERT         THOMAS                  CA         90005526154
55374865281265   KIRSTEN        GENTRY                  OH         66047238652
55375634861973   AIOTEST1       DONOTTOUCH              CA         90015116348
55376481561973   MIGUEL         AVINAT                  CA         90008934815
55376868861971   BASEEMAH       ADYON                   CA         46087348688
55378196357157   EDDIE          FITZGERALD              VA         90013151963
55379379661971   ANTHONY        HARVIN                  CA         90013543796
55379476791356   LISA           FELDER                  KS         29014144767
55381388884357   NICOLE         BANKS                   SC         90010263888
55383185358528   JURONE         HARRIS                  NY         90012021853
55383597184329   TIANNA         CLEVELAND               SC         90011335971
55383642391895   CASSANDRA      COLE                    OK         21045006423
55389166885928   ARON           BRYAN                   KY         90013551668
55389754985928   DIONNEANDREA   ROBERTS                 KY         90015137549
55392548333699   JESSICA        ROBINSON                NC         90010935483
55394287391895   TANYA          STAUSS                  OK         90012112873
55394617484357   LESLIE         SMALLS                  SC         14552516174
55394693133699   LATONYA        YOUNG                   NC         90014706931
55395693133699   LATONYA        YOUNG                   NC         90014706931
55396864733696   HBRIN          BUONYA                  NC         90013018647
55396962981265   ZULLY          ESCAJADILLO             OH         90009189629
55397778191895   PEGGY          MARTIN                  OK         21081417781
55399688384357   MARYANN        OLAR-SIMMS              SC         90004096883
55412682185928   SYREETA        LACY                    KY         90015296821
55413985661971   LARRY          GRANT                   CA         90010069856
55414288351354   KENNETH        SEALS                   OH         90012592883
55414798551348   JEFFREY        HOLT                    OH         66023737985
55416713944352   EBONY          RAINEY                  MD         90015597139
55417346861973   MICHELL        HENRY                   CA         90002013468
55417622557122   JOSE           ZAPATA                  VA         90012616225
55419545285928   GABRIELLE      RICHARDSON              KY         90013215452
55419778861975   DARINEL        MOLINA                  CA         46070067788
55423581551348   JOHSUA         RAIDER                  OH         90013545815
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55423664961973   SERGIO       GOMEZ                     CA         90009376649
55423833491895   JUSTIN       PHILIPS                   OK         90011328334
55424195133699   SHARI        PERRY                     NC         90014711951
55424533991356   K            THE REAL DEAL             KS         90011575339
55425493485928   TABITHA      STAMPER                   KY         90014874934
55426426684357   DEVORIA      DELOACH                   SC         90014854266
55426974685928   DEVON        MOORE                     KY         90012779746
55428475661971   MARALEE      WAINESCOTT                CA         90010314756
55428825885928   BENITO       PERALTA                   KY         90014338258
55428844261975   JUAN         SAENZ                     CA         90005038442
55429327451333   HEATHER      GEBHARDT                  OH         90014573274
55432967131429   ANNETTE      GLOVER                    MO         27586879671
55433494933696   MARISELA     CERVANTES                 NC         90014554949
55434421691587   MIKE         MORENO                    TX         75077314216
55435672151348   ODETTE       SAMS                      OH         90005156721
55436387191895   TRACY        PORTER                    OK         21004023871
55438775991587   SHIAN        CUTTITTA                  TX         90009477759
55439119761975   BRANDIE      BURCIAGA                  CA         90009761197
55439396184357   THELMA       BLANDING                  SC         90014163961
55439545625349   MARCUS       CURTINDALE                WA         90015425456
55441228533699   SUSANA       ARELLANES                 NC         90014712285
55441333891895   REBECCA      OROZCO                    OK         90005433338
55441621584357   HENRY        WRIGHT                    SC         90013486215
55445574133696   LOUKISHA     DAWKINS                   NC         90013095741
55446686391895   MITCHELL     ULLRICH                   OK         90014396863
55447716655941   VICENTE      CAMPOS                    CA         90006447166
55448335191587   LUIS         ORTIZ                     TX         75069563351
55452976733696   KARA         ROGEL                     NC         90014689767
55453981585928   JASON        TREXLER                   KY         90012319815
55454316633696   HAZEL        FORNEY                    NC         12088623166
55454875341222   ALLISON      ADAMS                     PA         90010568753
55455655281265   CHANTEL      CRAULEY                   OH         90006166552
55456296491587   MELLISSA     GIRON                     TX         90000942964
55456471557563   KARI         LEE                       NM         35547684715
55456521161973   MONICA       SILVA                     CA         46007035211
55457588761973   NORMA        RODRIGUEZ                 CA         90014325887
55457869161973   YADIRA       AYALA                     CA         90010378691
55459676491895   NATALIE      PECK                      OK         21028906764
55459846384357   CHALESA      MERCER                    SC         90011178463
55461663251348   DAVID        HUGHES                    OH         66024136632
55463928591356   ASHLEY       HERSKIND                  KS         90014939285
55464393985928   MUSTAFA      AL YASRI                  KY         67064393939
55465481584357   YOLANDA      HOLMES                    SC         90014854815
55467729541242   DIANA        MONKELIS                  PA         90008847295
55468536884357   ANDRE        SIMMONS                   SC         90012125368
55469631491895   SAMANTHA     ARMSTRONG                 OK         90015146314
55469896133699   JESSE        DUGENSKE                  NC         12062138961
55472844261975   JUAN         SAENZ                     CA         90005038442
55473577791356   JESSICA      BARLOW                    KS         29003405777
55473764961971   ANA          TAPIAMIJARES              CA         90001857649
55475866161973   ARLEEN       SALCIDO                   CA         90003878661
55478433391895   EDNA         SMITH                     OK         21015444333
55479439461975   RUDY         BUSTILLOS                 CA         90010484394
55479946391587   GUSTAVO      GARCIA                    TX         75004319463
55481397891587   CAROLINE     ESCOBAR                   TX         90015613978
55483242377581   OLIVER       GARRISON                  NV         43098532423
55483381761971   KYLEE        ALBRIGHT                  CA         90013733817
55483854761552   LISA         CLINTON                   OH         90000338547
55484119761973   ALANA        MAFUD                     CA         90010751197
55484242691587   MIGUEL       RODRIGUEZ                 TX         90001972426
55484952761973   WENDY        ARAIZA                    CA         90014849527
55485627233699   NICOLE       NIANG                     NC         90014716272
55488669131428   JEREMY       IVY                       MO         90006606691
55488975291587   LIZETTE      LUNA                      TX         75042029752
55489265454152   TAD          MORRIS                    OR         90001712654
55496178461975   TINO         PEREZ                     CA         90013381784
55496534391552   CARLOS       RIVERA                    TX         90003995343
55498121391587   CORTEZ       JOEL                      TX         90014331213
55498353161973   SAMUEL       LOAIZA                    CA         90011353531
55498372185928   LORETTA      JENKINS                   KY         90010823721
55499288691356   SUSAN        LINDQUIST                 KS         90008742886
55499445191928   MARJORIE     BUCKINGHAM                NC         90007754451
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55499595191587   ROSALINA     ORTEGA                    TX         75055585951
55499597261973   DANIEL       GACIA                     CA         90013895972
55512128885928   ROBERT       JONES                     KY         67077571288
55512877491356   TIFFANY      ROHDE                     KS         90014098774
55513171891587   CYNTHIA      CABALLERO                 TX         75048401718
55513845961975   LIZA         GRAY                      CA         46010998459
55515882133645   JASON        LLOYD                     NC         12085548821
55516234491587   HAYDE        GUTIERREZ                 TX         90014652344
55516882133645   JASON        LLOYD                     NC         12085548821
55517431661971   JESSICA      HERNANDEZ                 CA         90014844316
55521245361975   ARACELI      RAMIREZ                   CA         90011942453
55521372285928   SAULO        ARREOLLA                  KY         90006653722
55522272261975   LAWRENCE     RUEDEN                    CA         46011682722
55522576981265   BRISKA       YCHOKWAN                  KY         90014865769
55523946785928   BRANDON      HOWARD                    KY         67052989467
55524892885928   LISA         ANDERSON                  KY         90008868928
55525943161975   ADRIANA      GARCIA                    CA         90014779431
55526735861971   TORI         HOLBROOK                  CA         90012837358
55527318733696   SHIRLEY      SADLER                    NC         90012843187
55527681585928   ELENA        POPOVA                    KY         90010966815
55527925291587   GABRIEL      RODRIGUEZ                 TX         90011539252
55528694984357   JESSICA      DESANTIS                  SC         90014066949
55528721751348   FARMESHA     AMISON                    OH         66094897217
55531438333696   HELEN        GRAY                      NC         90002104383
55532115985983   OBDULIO      RENOSO                    KY         90009441159
55532515691356   LAHANA       BAILEY-MORRIS             KS         90011615156
55533933257157   JOSE         BATRES                    VA         81015169332
55536791451348   MONICA       CRANDALL                  OH         90014097914
55536849461971   MARTIN       CISNEROS                  CA         46012238494
55537838991895   KIMBERLY     WISE                      OK         90004038389
55537844451348   ROSE         BEITLY                    OH         90012848444
55539359491587   STEVEN       TISCARENO                 TX         90013053594
55541262891587   GABRIEL      CARDOZA                   TX         90011612628
55542939143569   MATTHEW      GREEN                     UT         90011489391
55544419751348   MIRANDA      MORELAND                  OH         90004724197
55544735633696   AMBER        TAYLOR                    NC         90007647356
55545282884357   JAMON        GRAHAM                    SC         90013952828
55547247661975   EDDIE        KING                      CA         90013822476
55548715633699   DUAN         CARTER                    NC         90014487156
55553633472456   JIMMIE       CARRIER                   PA         90012686334
55555388591356   BRENT        PARR                      KS         29035183885
55556193285928   CHRISTY      RIGGS                     KY         90010721932
55556718461975   BRIAN        THOMAS                    CA         90013167184
55558371761975   DARWIN       BEN                       CA         90014903717
55558885761973   CAESAR       ESTRADA                   CA         90013048857
55562147161971   DENI         MONTIEL                   CA         46015151471
55567184891895   SARAH        STEELE                    OK         90009661848
55567921585928   MORRIS       LAGRONE                   KY         90013959215
55571178861973   DAVID        DIDDON                    CA         90011701788
55572253355951   ANGEL        VASQUEZ                   CA         90000652533
55572773361975   MODESTA      DANIELS                   CA         46039387733
55574128333699   NEON         JOHNSON                   NC         90014731283
55576499384357   JEWELDAWN    JOHNSON                   SC         90013544993
55577947861971   GEORGE       HERMEZ                    CA         46065769478
55579214661973   MARIO        QUINTERO                  CA         90004992146
55579265251348   ABDEL        RAS                       OH         90013042652
55579893861975   OLIVIER      WENSESSE                  CA         90009898938
55581232881265   RACHELLE     STARNES                   KY         66067222328
55582885161973   HUGO         CASTILLO                  CA         90012068851
55583749851348   KATHY        STUBBERS                  OH         90013637498
55583796557126   RAHEL        WELDEYESUS                VA         90009097965
55584416461975   CECIA        BELTRAN                   CA         90007254164
55584882233696   KAYLAH       PATTERSON                 NC         90014488822
55586782761975   DENYSSE      VELAZQUEZ                 CA         90012967827
55587378731429   MARKEITA     SMITH                     MO         27521933787
55587423391356   THOMAS       KING                      KS         29083074233
55587882233696   KAYLAH       PATTERSON                 NC         90014488822
55589245133699   RHONDA       REAVES                    NC         90014732451
55593852233699   DOMINIGUL    CLAYBURN                  NC         90012768522
55595121161975   PEGGY        RICE                      CA         46017421211
55595942631422   KATHERINE    LINDSEY                   MO         90005889426
55596229861973   ENEDINA      WADLEY                    CA         90012682298
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55596565991356   KEVIN        SIEG                      KS         90000965659
55596894557157   AMBAR        VAZQUEZ                   VA         81020998945
55597716184357   ASHLEY       ZIMMERMAN                 SC         90013597161
55598386785928   CIPRIANO     SANTIANGO                 KY         90002153867
55599536251348   RYAN         HALE                      OH         66023515362
55611497961975   JOSE         GARCIA                    CA         90003794979
55611514941286   MELISSA      HALLIGAN                  PA         90014885149
55612589361975   VANESSA      CASTRO                    CA         90014675893
55613817991587   KARINA       SALAZAR                   TX         75042358179
55614524291587   CRUZ         URBINA                    TX         90012565242
55615595351348   STEPHANIE    SMITH                     OH         90013545953
55615821791356   STEVEN       ROBERTSON                 KS         29079528217
55615924657157   MARIA        TORRES                    VA         81061579246
55616422333699   SHARRIKA     YOUNG                     NC         90014734223
55619256751348   STEPHANIE    BISHOP                    OH         90006912567
55622522585928   ANGEL        KING                      KY         90014875225
55623821491895   JAMES        KAMAI                     OK         90012458214
55624228484357   NAKIA        BROWN                     SC         90013602284
55627969361975   HECTOR       PRECIADO                  CA         90004859693
55628563961975   JOSE         AYALA                     CA         90008245639
55631391733696   ALVARO       MARTINEZ VILLANUEVA       NC         12088703917
55632876661971   ERVIN        POWELL JR                 CA         46015318766
55633322591356   LATOSHIA     KILLOUGH                  KS         90011723225
55633426861975   NOHEMI       GUTIERREZ                 CA         46068294268
55634358661971   PRICILA      CERVANTES                 CA         90013443586
55634687984357   DEMETRIA     MULLIGAN                  SC         90013416879
55634881891895   WHITNEY      LANDRUM                   OK         21091268818
55634916391587   ELIZABETH    E AGUILAR                 TX         90007039163
55638486733699   LASHAWNDRA   BLACK                     NC         90014744867
55638768661971   AMY          TODD                      CA         90000947686
55638996691587   JACQUELINE   CHAGRA                    TX         90007909966
55642269484357   FRANK        MAJOR                     SC         90013652694
55646355985928   SABRINA      STORIE                    KY         67008163559
55646368261971   CLARA        DELACRUZ                  CA         90012343682
55646539884357   JUDITH       SMITH                     SC         90009405398
55647615361975   SAYED        KAGHAZI                   CA         90014496153
55647616861924   JANE         HOPKINS                   CA         90014266168
55647756961971   TATIANA      MAGRUDER                  CA         46012967569
55648368431428   MATHEW       COX                       MO         27517063684
55649229138598   BUSHMAN      JENNIFER                  UT         90010112291
55651882291934   MELONY       MANGUM                    NC         90010278822
55652166133164   SHAWNA       ANDERSON                  IL         90013051661
55653333161973   ROSE         SOTO                      CA         46007433331
55654481891895   TRAVIS       COCHRAN                   OK         90008594818
55655852791587   MIGUEL       RODRIGUEZ                 TX         90012928527
55656643551348   KIMBERLEE    SHIELDS                   OH         90004226435
55656875261975   VICENTE      MONDRAGON                 CA         46006178752
55664388351348   LESLIE       HUGHES                    OH         90006223883
55664427457157   SAHIED       MENSARAY                  VA         81085144274
55664553384357   ERIC         JENKINS                   SC         90011615533
55665195791587   LILIAN       PALACIOS                  TX         90011181957
55667422191356   DARVIN       THOMAS                    KS         90002794221
55671411651348   DINA         SHEPARD                   OH         66052204116
55673121531425   SHALANDA     LONGMIRE                  MO         27559761215
55674775951348   JAIME        TODT                      OH         90012857759
55678559951348   DAVID        HARDY                     OH         66077385599
55679324185928   JEANENA      BATES                     KY         67031053241
55679974191587   ANGELINA     HUIZAR                    TX         75021829741
55683189933699   MONIQUE      WASHIGTON                 NC         90004371899
55683682933696   COURTNEY     MOSLEY-JONES              NC         90005076829
55686164833699   HENRY        TORRENCE                  NC         90014761648
55686825157157   DAMIEN       COMFORT                   VA         81012308251
55687856561975   ISMAEL       RODRIGEZ RAMIREZ          CA         46038698565
55688115533696   LATIF        NEAL                      NC         90013361155
55691595351348   STEPHANIE    SMITH                     OH         90013545953
55692767161966   ANDRES       CASTREJON                 CA         90000627671
55693196161973   DIANA        KANE                      CA         90013481961
55694587284357   JASPER       MARLOW                    SC         90014105872
55694696591356   DOLORES      RIDLEY                    KS         29071486965
55695328884357   WOODROW      DANIELS JR                SC         14570603288
55695654491587   JOSUE        CASTILLO                  TX         90011016544
55696429133699   GEORGE       PULP III                  NC         12000344291
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55697228293782   BARBARA                BECKLEY         OH         90010922282
55698399891864   MELVIN                 MONDAY          OK         90002213998
55698975591895   JAMES                  KEMP            OK         21006529755
55711763961971   SUSAN                  MARS            CA         90014637639
55715343961971   MIKE                   FLYNN           CA         46012243439
55717517555951   ISREAL                 R REYNAGA       CA         49017725175
55717758485928   CURTIS                 SEXTON          KY         90009147584
55718338433699   TOMMIE                 BARKER          NC         90014763384
55718459391351   SUNNY                  SNODERLY        KS         90013154593
55721778161971   KIM                    FORD            CA         46023977781
55722258957157   NANCY                  SERRANO         VA         81061962589
55723499561975   MARCOS                 MURILLO         CA         90008974995
55724558191895   JONATHAN               PIERCE          OK         21026555581
55724939333699   KENDRA                 SIMMONS         NC         90014769393
55733245161975   RAYMOND                REBAYA          CA         90012172451
55733358261971   SAMANTHA               TATE            CA         90011413582
55733559533699   ODESSA                 WOODRUFF        NC         12095865595
55733891561548   MAGG                   CRONIN          TN         90015348915
55734159591895   DEANA                  BARROWS         OK         90007341595
55734888661975   DANIEL                 ENRIQUEZ        CA         90009708886
55737748784342   SYRENIA                JOHNSON         SC         90013747487
55737842385928   DEBRA                  MORROW          KY         90012778423
55739874991895   MAYRA                  AGUINAGA        OK         90010018749
55742288761971   SARAH                  DRISCOLL        CA         90013902887
55743624861971   RUDRA                  THAPA           CA         46051116248
55744421431491   CHARLES                MARTIN          MO         90010344214
55746621951348   LYNN                   SAUCEDA         OH         90000816219
55746747351348   ADANE                  MARKOS          OH         90013377473
55747639991356   CLAYTON                SPEARS          KS         29082186399
55748659561971   NANCY                  AVILA           CA         46082396595
55751378457157   MICHAEL                ST CLAIR        VA         90000503784
55751778691895   KA-LEE                 WILLIS          OK         90005467786
55752752633696   ZANE                   CHEEK           NC         90003057526
55753165361973   STAYSHA                LEA             CA         90011611653
55753829751348   TAMARA                 BURTON          OH         90001868297
55754932261971   CEMERINA               LOPEZ           CA         90010259322
55755222161971   KRISTINA               YORGIN          CA         46006682221
55755984933696   BRITTNEY               HARRISON        NC         90014549849
55757399433699   NAKANZA                BAINES          NC         90003953994
55757851886452   GLORIA                 WANG            SC         90014488518
55758682497128   MARSHALL               HARTMAN         OR         90009836824
55758772391356   DEBORAH                MORRIS          KS         29028977723
55758788133696   IRIS                   LOPEZ           NC         12013737881
55758859391587   YOLANDA                ALBIDREZ        TX         90015238593
55759665933696   MARTIN                 GARCIA          NC         12065006659
55759812261973   ARMANDO                GUERRERO        CA         90012758122
55761245261973   LUZVIMEMOA             MONTERO         CA         90006532452
55762987985928   LASHANDA               GARY            KY         90015219879
55763194291587   MARIA                  GARCIA          TX         90009651942
55768178333699   EBONY                  JORDAN          NC         90014771783
55768635491988   BRITTANY               BATES           NC         90015066354
55768826661975   BOBBY                  CAMACHO         CA         90002258266
55769222161971   KRISTINA               YORGIN          CA         46006682221
55772794157127   MARIA DE LOS ANGELES   MELENDEZ        VA         90013737941
55773398461975   MARY                   OKELLO          CA         90006063984
55773514533699   FERNANDO               HOWARD          NC         12022425145
55774697161973   ELEODORO               OJEDA           CA         90007116971
55775866633696   ANGEL                  HOOPER          NC         12076228666
55777184591587   GREGORIO               ROSALES         TX         90012801845
55779966691587   VICTOR                 GARCIA          TX         90013169666
55781546371922   ELIZEBETH              MATA            CO         90001525463
55782317157157   DAYSI                  IRAHETA         VA         90004903171
55782564391587   BAETRIZ                MARTINEZ        NM         75080865643
55784378833699   SHAMEKA                HILLIAN         NC         90014773788
55785362891895   KATHLEEN               SHEPHERD        OK         21040493628
55785965961971   JENNIFER               SCIACCA         CA         90010369659
55785973785928   KIMBERLY               BUTLER          KY         67011819737
55786381233699   NEKESHA                HAWKINS         NC         90014773812
55787166491525   DATIA                  CASILLAS        TX         90014781664
55788497391587   ANTONIA                VELAZQUEZ       TX         90006364973
55789934361971   CHRISTINA              NICELER         CA         46064239343
55792352791864   JULIE                  FULTZ           OK         90005383527
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55792955391895   ANDY          RAINES                   OK         90012689553
55794293591895   STEPHANIE     BROWN                    OK         21082832935
55794459451354   MARISOL       GUTIERREZ                OH         90011124594
55794759633699   MARY          BASS                     NC         90014777596
55795529261975   CIERRA        MICHAEL                  CA         90013095292
55796362751348   THONG         DANG                     OH         90008663627
55798668655951   VICTOR        VILLAREAL                CA         90010606686
55798719951348   JODI          COBB                     OH         90012447199
55811948185928   STEPHANIE     CLARK                    KY         90001179481
55812445191587   EMILIO        MACIAS                   TX         75020344451
55813364291895   ERICA         GULLICK                  OK         90011393642
55813377585928   JASMINE       HARDIN                   KY         90013563775
55813575933696   MONICA        HEMINGWAY                NC         12089645759
55814617161973   JEANETTE      ARMIJO                   CA         90002916171
55814719791587   GILBERT       ZAVALA                   TX         90011867197
55815512561971   INDRA         AGUILAR                  CA         46036105125
55816244491922   CHASYAW       WORTHAM                  NC         90003092444
55819287457157   NICHAEL       FREEMAN                  VA         81058832874
55819332384357   PATRICIA      MOORE                    SC         90003683323
55821136331426   KADIR         POLJAREVIC               MO         90015221363
55822685791587   CRUZ          MIRANDA                  TX         90011016857
55826792791895   FELICIA       WILSON                   OK         90012387927
55827996391535   DAVID         BURROLA                  TX         90010699963
55828121833699   TERRY         DAVIS                    NC         90014781218
55828126891587   MARIA         PALACIOS                 TX         90014331268
55828521661971   PATRICK       KNADLER                  CA         90015205216
55828998151348   GERMANINE     HILLARD                  OH         90013629981
55831979985928   PAYNE         LYNN                     KY         90014789799
55834837684357   BRYANT        BLACK                    SC         90015248376
55834995733699   MICHELLE      SELLERS                  NC         12062519957
55835513284357   JENITA        PERRYMAN                 SC         90010015132
55835555461975   RUDY          ENCISO                   CA         90010245554
55839993285928   MARCOS        DELGADO                  KY         90011909932
55841575361975   DANIEL        ALMARAZ                  CA         90013815753
55842334133699   JAMI          MORNING                  NC         90014783341
55849356161971   MAKEHNA       THORNTON                 CA         90009793561
55852366433699   DWAYNE        PENN                     NC         90014783664
55853287361973   TARA          COOMES                   CA         90014802873
55854326561971   GREGORY       EDDY                     CA         90012153265
55854727251348   CHRISTINA     CASTILLO                 OH         90012447272
55854972333696   LEOLA         MCADOO                   NC         12075669723
55855483961931   JAMES         MARCUM                   CA         90011164839
55856257885928   JAMES         GUEST                    KY         67003102578
55856393333699   RONNIE        ISON                     NC         90014783933
55857724161975   MARIAH        SALAZAR                  CA         90014537241
55858212761971   CRYSTAL       LOPEZ                    CA         90014532127
55858444233699   NAKIA         BRIDGES                  NC         90014784442
55858488355941   APRIL         PARRA                    CA         90012754883
55859195784357   AMANDA        COX                      SC         14570611957
55861448261971   MONICA        KAMOSS                   CA         90015024482
55862748591895   SAMUEL        NGARDU                   OK         21059537485
55862753784357   KELLI         RICHARD                  SC         90007607537
55864323861971   CHARLES       NESS                     CA         90012433238
55864558491895   NICHOLAS      TASSIN                   OK         90004795584
55864699585928   JORGE         OCAMPO                   KY         67090936995
55864953455941   ANA           VALADEZ                  CA         90006469534
55866274761971   JUAN          CARRVAJAL                CA         46099072747
55866393284357   CHRISTY       ELAINE                   SC         90014403932
55867384161971   OLIVIA        WHITE                    CA         90014583841
55868979533696   CHARMAIN      SMITH                    NC         90014559795
55873118784852   MARK          MILLIGAN                 NJ         90010751187
55875529991895   MICHAEL       LINSKY                   OK         90000985299
55875552733699   ANGELA        WILDS                    NC         90014785527
55876142231477   CHRISTOPHER   FORD                     MO         90014881422
55876214391356   CRAIG         LORD                     KS         90008192143
55876265961975   CARLA M       ALVARADO                 CA         90010282659
55876824833699   MONIQUE       MILLER                   NC         90014788248
55879179661973   SALVADOR      SANCHEZ                  CA         90013231796
55879585291535   BERTHA        YRIGOYEN                 TX         90011225852
55881521185928   SERGIO        DIAZ                     KY         90014835211
55881884561971   ROBERT        WILHELM                  CA         46038798845
55882458261975   MARIA         CONTRERAS                CA         90006014582
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55882489836193   FAWN             GOKEY                 TX         90011284898
55883474585928   SYLGA            OSSETE                KY         90012984745
55883836733699   ANTOINETTE       BISHOP                NC         90014788367
55884983561971   AMALIA           VINOLE                CA         90002009835
55885634861973   AIOTEST1         DONOTTOUCH            CA         90015116348
55886147891895   ROBERT           TYLER                 OK         90004301478
55886246191587   JOSE             CHAIREZ               TX         90012092461
55887487491895   JUWON            MATTHEWS              OK         90014144874
55887951384357   JESUS            LOPEZ                 SC         90014209513
55892895791895   BRIAN            FOUNTAINE             OK         21011398957
55895555233696   ERICA            BROWN                 NC         90014855552
55895894447929   KRYSTAL          KEITH                 AR         90007118944
55897574531429   K                RAINY                 MO         90004235745
55898699685928   ASHLEY           RISON                 KY         90001106996
55911613151348   STAR             WAGERS                OH         66093556131
55911725433696   LEONARDO         GUZMAN                NC         90014807254
55911765691895   DANNY            GREEN                 OK         21092877656
55912977891895   CHRISTINE        BOWMAN                OK         90014179778
55914133591587   MARTHA           MEDINA                TX         75017001335
55914811325154   PREPAID          CUSTOMER              AL         90014138113
55916224885928   PATRICIA         COLLINS               KY         67063872248
55917365333696   RAY              HILL                  NC         90014163653
55918476661973   ROSALBA          RENDON                CA         90011454766
55919323861971   BLANCA           CAMBEROS              CA         46046153238
55919499691587   RIKI JOE         LONGORIA              TX         90013214996
55919835333699   PATTERS0N        AUDREY                NC         12020728353
55921429285928   RAKEEMA          FACEY                 KY         90011124292
55921677361971   DELIA            SHRADER               CA         46018556773
55922461584357   JALESSA          SIMMONS               SC         90004144615
55923151833699   JAERIKA          GAMBLE                NC         90014791518
55923589851354   JUAN             MIRANDA               OH         90013165898
55924172233699   KENDRA           FLOYD                 NC         90014791722
55924266284357   TEISHA           ROPER                 SC         90010952662
55924385591587   JOSHEPH          FUENTES               NM         75015483855
55924395191895   ADAM             HENDICKS              OK         21064633951
55925899691587   GLORIA           PAZ DE PACHECO        TX         90015158996
55927553561975   ROBERTO          HERNANDEZ             CA         46006125535
55927883861973   MARY             CASTANEDA             CA         90013938838
55928111361973   HENRY            GARIBAY               CA         90014761113
55932385661973   CRISTIAN         MARQUEZ               CA         46011143856
55933258761971   ARORAE           LUCE                  CA         46028282587
55933536291999   ZAC              DUFFY                 NC         90013685362
55933947293747   SAMICO           SMITH                 OH         90011689472
55934435233699   KIM              KIM                   NC         90014314352
55935372461975   ARLENE           MOOKINI               CA         90012483724
55937778133696   JAMAL            BOWERS                NC         90013047781
55937914861973   KIMBERLY         SHOUP                 CA         90013329148
55938146161975   ELIAS            PEREZ                 CA         90002491461
55941769461975   DALTON           PETERSON              CA         90012317694
55942468184357   ALLICIA          WIGGS                 SC         90014224681
55943244691587   RUDY             OLIVAS                TX         90015082446
55945653391535   MARIBEL          TALAMANTES            TX         90012336533
55947367384357   MICHAEL          HOLDEN                SC         14514633673
55951524891356   NEKEYA           OWEN                  KS         29016805248
55953493633696   SASHA            MONIQUE               NC         90014564936
55954622261971   YVETTE DELFENE   YOUNG                 CA         90014996222
55956252985928   COREY            EDDY                  KY         90013822529
55957992261971   ANDREW           WHEATBREAD            CA         90002649922
55958348591895   BRITTNEY         LITTAU                OK         90014883485
55959651733699   BREANNA          WALL                  NC         90014796517
55961949551348   TANIKA           ISOM                  OH         66071499495
55962113285928   ARNITE           SHELTON               KY         90014681132
55962692933699   DANIEL           RICE                  NC         90014796929
55962998151348   GERMANINE        HILLARD               OH         90013629981
55964661557157   EUCLIDES         HERNANDEZ             VA         90012146615
55964724841292   CARLA            NOLAN                 PA         90004597248
55965869591587   HARO             MARTHA                TX         75014458695
55967836861971   KAYLA            LEE                   CA         90013608368
55969247557126   FATMATA          KAMARA                VA         90007582475
55973666491895   CHASSIE          WILLIAMS              OK         90011986664
55976662991587   KALEAH           AGUIRRE               TX         75053266629
55979397461971   SIMON            HUBBLE                CA         90013543974
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55979619221685   ASHLEY       REESE                     OH         90014836192
55979865751326   WENDALL      RUSSELL                   OH         66050948657
55981367491895   AMANDA       JOHNSON                   OK         90008103674
55983562691587   ANAIS        ALVAREZ                   TX         90010215626
55984348257124   DELCAR       JUAREZ                    VA         81017663482
55985853785928   MARIE        BATES                     KY         90012028537
55986136191895   KELLY        SAPPINGTON                OK         21087361361
55986927261975   DANIEL       LIERA JR.                 CA         46060599272
55987126891587   ROGELIO      TORRES                    TX         90013801268
55991123861973   JEFFREY      MITCHELL                  CA         90012761238
55991935533699   LASHAE       BASKIN                    NC         90014799355
55993892285928   BENA         MABSON                    KY         90009358922
55994218284357   COURTNEY     WIILSON                   SC         90003942182
55995528333696   DALIA        CABALLERO                 NC         12011965283
55995672431429   BRUCE        LENHARDT                  MO         90004236724
55995677761975   LAFRAYE      HILL                      CA         46075076777
55997883533699   KIMBERLY     CUNNINGHAM                NC         90010628835
55999644451348   CRYSTAL      BURTON                    OH         90013546444
55999774291251   SHELIA       ROBINSON                  GA         90013107742
56111481272442   MARK         ARTHUR                    PA         90014714812
56112316791895   CONNOR       WHITE                     OK         21004033167
56112519455939   GLORIA       PEREZ                     CA         49096275194
56112897355997   RUBEN        HERNANDEZ                 CA         90013498973
56113113591587   NOE          PICHARDO                  TX         90001101135
56114132691895   SARAH        PLEASANT                  OK         90012871326
56115411333696   LANARD       JAMES                     NC         12088664113
56115781355997   MARTIN       MAGDALENO                 CA         90014517813
56118922357157   CHARLES      EDWARD                    VA         90003549223
56119572261965   LESLEY       TORES                     CA         90001205722
56121519951354   MIRANDA      LOVINS                    OH         90008885199
56121852886545   VERONICA     CASTANETA                 TN         90015478528
56122899751348   JUANA        LUNA                      OH         90001338997
56123276684357   JULI-ANNA    MULLINS WARREN            SC         90006992766
56124346972442   MELANIE      LUCKEY                    PA         90011683469
56125745336165   BRITTANY     HENRY                     TX         90000857453
56125881191895   RYSHANA      WEBB                      OK         90007858811
56125965285928   BREANNA      WEBB                      KY         90013779652
56126836391939   SHANTA       CREECH                    NC         90005338363
56128773855997   LUIS         MORENO                    CA         90012947738
56129263684346   BRAZIL       BRAZIL                    SC         90015072636
56129678172442   ROSCOE       COOPER                    PA         90014716781
56131171385928   MICHAEL      LEWIS                     KY         90011731713
56131375857157   YOLANDA      MURCIA                    VA         81073363758
56132361833699   PHYLICIA     TWITTY                    NC         12088433618
56132482257134   ABDELRRIM    ELMOVHIB                  VA         81087104822
56134473631428   SHALONDA N   HOPGOOD                   MO         27550694736
56135953833157   MICHEAL      HUERTA                    IL         90012749538
56137453322925   GRAHAM       JACKMAN                   GA         90014014533
56137678172442   ROSCOE       COOPER                    PA         90014716781
56138597186545   MANUELA      DUARTE                    TN         90015535971
56138719951348   ZACK         BALLEW                    OH         90012387199
56139216357148   JOSE         CEA                       VA         90005912163
56144439961973   DANIEL       VILLEDA                   CA         90001414399
56144795631468   NEICEY       WILLIAMS                  MO         90010587956
56145375857157   YOLANDA      MURCIA                    VA         81073363758
56146671955997   GENEVIEVE    SOTO                      CA         90014556719
56147359855997   SHANNON      MEEKER                    CA         90006953598
56147616761965   JORGE        ALONZO                    CA         46021296167
56149713655939   NELIDA       VASQUEZ                   CA         49013847136
56151122855939   BARBARA      GIL                       CA         90011931228
56152247555997   ERIC         REY                       CA         90012782475
56153627685928   CECIL        LEWIS                     KY         90009326276
56155329361971   CHEDLIA      OUIDIANI                  CA         46010403293
56158139455997   ALEXI        VAZQUEZ                   CA         90013241394
56159358391895   CIRILO       JUAREZ                    OK         21089933583
56161718551348   LAWRENCE     SMITH                     OH         90002767185
56162969561965   FELIX        DELEON                    CA         90011179695
56164146233699   RHONDA       BARNES                    NC         12074061462
56164355285928   MAX          DHEMBY                    KY         90014943552
56165953455939   ANGEL        BRUNE                     CA         90004749534
56166666161965   STEVEN       ESTRADA                   CA         90000326661
56167873191587   VICTOR       IBARRA                    TX         75052558731
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56169686761965   JERRY         JONES                    CA         90013196867
56171353461965   SUMMER        ANDERSON                 CA         46097863534
56172464655939   MARIA         GONSALEZ                 CA         49060444646
56172567457157   ATENTCION     JESUS                    VA         90012655674
56173229557134   ZAINABU       SESSAY                   VA         90011912295
56174262555997   DANIEL        POORE                    CA         49080502625
56174319255939   ANA           CORDOVA                  CA         49090553192
56174488757157   CARMEN        MENDEZ                   VA         90006174887
56175567785928   CEDRIC        BOAZ                     KY         67034675677
56176148961971   GABRIEL       LOPEZ                    CA         46024501489
56177493331428   BORI          DOMINGUEZ                MO         90011754933
56178256641292   EVON          ALEXANDER                PA         90009392566
56181363557157   MARIA         MARAVILLA                VA         90004923635
56181419255939   ZEFERINA      DOMINGUEZ                CA         90010664192
56182162151348   GLENN         WYATT                    OH         66086561621
56183382851348   THERSA        SPRINGER                 OH         90014573828
56184547391587   MANUEL        REYES                    TX         90004685473
56189591957157   SERGIO        HERNANDEZ                VA         21591235919
56191888661965   CORAL         ASTRONG                  CA         46020468886
56193373661965   SEDRICK       GATES                    CA         90014803736
56194844161965   CARSON        CHRISTOPHER              CA         90007748441
56195755955939   PAULA         PAGE                     CA         90008617559
56198777757126   GRISELDA      HERERA                   VA         90006837777
56199299884357   LINDA         WILSON                   SC         90011802998
56199894251348   SHAWNA        PARKS                    OH         90014638942
56199994355939   VICTORIA      MAYA                     CA         90010459943
56211463661965   BRITTANY      WHITTAKER                CA         90014894636
56211616891895   KENDALL       BONNER                   OK         21081826168
56211846661971   STEPHANIE     SANTOS                   CA         46079998466
56213736755997   STEVEN        RODRIGUEZ                CA         90013197367
56213764933696   BRANDON       FREEMAN                  NC         12025837649
56213972257127   ANA           DIAZ                     VA         90009209722
56215234885928   TENISHA       HARRIS                   KY         67032202348
56219422461971   ALMA GLORIA   RIVAS-TORRES             CA         90013834224
56223954955939   LUIS          RODRIGUEZ                CA         90006549549
56224257561971   STEVE         WELCH                    CA         90010572575
56224415555997   LEROY         ESPARZA                  CA         90014814155
56227331331429   SHARLISE      BOND                     MO         27517353313
56227391285928   BLANDINE      OLUNGU                   KY         90014723912
56228495451348   JACQUELYN     GRESHAM                  OH         90013214954
56228782657157   BLANCA        VALLADARES               VA         81082497826
56231878243553   SHANNON       ASHBY                    UT         90000888782
56233243861956   JORGE         VARGAS                   CA         90003732438
56233932955997   GUILLERMIN    FIGUEROA                 CA         49045149329
56234138272442   JESSIE        WILSON                   PA         90014771382
56234993761971   CATHERINE     KALMAN                   CA         90002879937
56235192191895   STEPHANIE     BRUNNER                  OK         21051871921
56235367891587   ELIDA         MAESE                    TX         90011063678
56236159357379   HEATHER       QUISENBERRY              MO         90014471593
56236435555939   ROSA          DAZA                     CA         90012794355
56237128133696   ANGEL         CHAVE                    NC         90013841281
56238563672442   DOROTHY       PREMUS                   PA         51001045636
56239357872442   ROBERT        LUCKEY                   PA         90009163578
56241125857157   GIFTY         ASARE NKANSAH            VA         90004291258
56241394391587   JESUS         YANEZ                    TX         90014923943
56243776657148   PHILIP        CLISHAM                  VA         90005987766
56244563672442   DOROTHY       PREMUS                   PA         51001045636
56244739151348   MARCUS        MANLEY                   OH         66093557391
56245346772442   JOHN          CAMPBELL                 PA         90011093467
56246346772442   JOHN          CAMPBELL                 PA         90011093467
56246482555997   CHRISTOPHER   TRUJILLO                 CA         90012914825
56247563672442   DOROTHY       PREMUS                   PA         51001045636
56247762191587   DIANA         ESCAMILLA                TX         90009877621
56247959231428   ASHLEY        BAILEY                   MO         90006449592
56248646861971   SYDNE         REA                      CA         90014726468
56248851891587   CLAUDIA       GARAY                    TX         90009128518
56251722155997   KATHERINE     PENA                     CA         49080457221
56251936555939   MARCELA       DOMINGUEZ                CA         49048539365
56252141491895   SARA          ADAIR                    OK         90013871414
56252719333696   SHEREE        BENTON                   NC         90003337193
56255829255939   ADAN          GARCIA                   CA         90015188292
56256571957157   WALTER        RIVAS                    VA         81025415719
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56256798555939   SOCORRO      RUIZ                      CA         90015087985
56258187961965   JOSHUA       SANDOVAL                  CA         90009651879
56259113591587   NOE          PICHARDO                  TX         90001101135
56264687191895   BRITTANY     WASSON                    OK         90010436871
56267779991895   HOLLY        BROWN                     OK         90014637799
56268321985928   JOLENE       DAVIS                     KY         90011753219
56268698891587   SARA         GALINDO                   TX         75007316988
56269442972442   NANCY        NEAL                      PA         90014804429
56269621597123   LRAE         ANDERSON                  OR         44517306215
56269821651348   ALES         SMITH                     OH         90014868216
56271196755939   LOUIS        HARDESTY                  CA         90014581967
56274487655997   BIBIANA      COVARRUBIAS               CA         90013204876
56274628161965   SONIA        YOUNUS                    CA         90013986281
56275137433645   DAVIS        LAKISHA                   NC         90005591374
56275789633696   CHRISTINE    SIMPSON                   NC         12001657896
56275935355939   HONEY        WHEELOCK                  CA         90010989353
56276864291895   STEPHANIE    ROTERT                    OK         90010958642
56277339385928   BREEVEL      WHITE                     KY         90014013393
56277936133696   TERRI        CLIFFORD                  NC         12079429361
56279561955939   VICKY        VELA                      CA         90009435619
56279564157135   LACY         TAYLOR                    VA         90004505641
56279658572442   TRACY        SCHOMER                   PA         90012866585
56283461391895   HAVANNA      FLETCHALL                 OK         90015154613
56286272781625   DONALD       SCHROER                   MO         29091352727
56286469757157   VICTOR       SOTO                      VA         90010734697
56287651985928   PAMELA       LEEPER                    KY         67065346519
56289986491895   CIERA        PARRISH                   OK         90011049864
56291252661548   KEVIN        NUNLEY                    TN         90008962526
56291974884357   ANNIE        GARNON                    SC         90009849748
56295698984357   JOSEPHUS     ATKINS                    SC         14518016989
56296752391895   MARIA        RODRIGUEZ                 OK         90002067523
56299521361971   MANUEL A     ESTRADA                   CA         90014345213
56299991291895   TIFFANY      RODRIGUEZ                 OK         90000959912
56311551857157   FRANSISCO    CONTRERAS                 VA         90012725518
56312192531429   SHAKHARA     HUGHES                    MO         90007231925
56314398151348   KAMI         KELLEY                    OH         90014933981
56315237491587   JOSEFINA     HERNANDEZ                 TX         75013432374
56316155772442   STEPHEN      MARTIN                    PA         51074201557
56317562561965   TERRY        HOLSTEIN                  CA         90014765625
56318727663639   BRIAN        CHILDRESS                 MO         90007097276
56321215655939   GURPREET     KAUR                      CA         90010132156
56321561391895   BILLY        VENTRIS                   OK         21034695613
56321929533699   LOUISE       PINO                      NC         90001539295
56321964591535   MARCELA      LICERIO                   TX         90011469645
56322862685928   QUEONTE      HOWARD                    KY         90013948626
56323469133696   JOSEPH       PERRY                     NC         12009874691
56323716161965   DYONNA       BACA                      CA         90013357161
56325346391587   RICKY        MUSGROVE                  TX         90015143463
56326836854128   ELIZABETH    HANCOCK                   OR         90013748368
56331272155939   BRENDA       DEARING                   CA         49080262721
56331649791881   SCOTT        GREEN                     OK         90012016497
56333926351348   ELIDA        JIMENEZ                   OH         66049419263
56334578755939   JAIME        ZEPADA                    CA         90013295787
56335751361965   RAYMOND      MAUSER                    CA         90014307513
56336459931429   KEYSHA       MOSBY                     MO         90006924599
56341933691587   MIGUEL       ORTIZ                     TX         75053639336
56343619285928   VALERIE      SCOTT                     KY         67060906192
56347111885928   RICARDO      SANDRES                   KY         90013931118
56349111885928   RICARDO      SANDRES                   KY         90013931118
56349728561965   MARTIN P     BUNCH                     CA         90013367285
56351975857157   ARMANDINA    CABANILLAS                VA         90014799758
56352127661926   MARIA        OCEGEDA                   CA         90010631276
56352435985928   SIBONA       HALI                      KY         90013914359
56352551361971   BENNY        UNTALAN                   CA         90010955513
56352669861971   BENNY        UNTALAN                   CA         90013206698
56353438361971   DIANA        WILEY                     CA         90006114383
56353538457128   EDWIN        RODRIGUEZ                 VA         90007745384
56356873391895   ANITA        MOSLEY                    OK         90009188733
56357977391895   CANDIDO      SANTACRUZ                 OK         90012109773
56358196755939   LOUIS        HARDESTY                  CA         90014581967
56358259961965   SHANNON      FRANCIS                   CA         46057592599
56359367361971   JOSEPH       MANNINA                   CA         90006123673
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56359527557121   DESALEGN        MENGIE                 VA         81017835275
56361157585928   KRISTY          SOBLESKI               KY         90013931575
56361177951348   GINA            GUNN                   OH         66016431779
56361527557121   DESALEGN        MENGIE                 VA         81017835275
56361739891587   SONIA           HERNANDEZ              TX         90009787398
56363157585928   KRISTY          SOBLESKI               KY         90013931575
56366116571922   PATTI J         BROWN                  CO         90013261165
56366344533667   JAMES           JACKSON                NC         18010763445
56367992757157   YONI            ALVARES                VA         90012749927
56368192861965   SAFARDON        JABO                   CA         90000931928
56368529157157   ALIANGEUIS      DAVILA                 VA         90001865291
56368656391895   JERRY           MARTIN                 OK         21070116563
56368718785941   MORGAN          BARNS                  KY         90008977187
56368871533696   GRICELDA        LIMONES                NC         12072058715
56371173161971   FADI            SARO                   CA         90014671731
56374562557157   ANTONINO        ROSAS HERNANDEZ        VA         90006175625
56375154857157   TANISHA         PEARSON                VA         90013861548
56376964151348   CINDY           PENNINGTON             OH         90008299641
56377358933699   MARCELO         BERNAL                 NC         90006283589
56378932461965   STEVEN          MURIEL                 CA         90011399324
56379351791525   ECTRADA         LUPE                   NM         90000823517
56382558331428   MARTEZ          HOLLEY                 MO         90006535583
56386123131428   MONIKA          HENDERSON              MO         90001171231
56387861885928   CRYSTAL         BURKS                  KY         90011308618
56388344761965   JOSE            BALLON                 CA         90012653447
56391358833696   RODNEY          ROBERTSON              NC         90006563588
56394992757157   VICKI           MCCORMICK              VA         81085939927
56397797961971   MISTY           LANGMEYER              CA         46012147979
56411573851348   DIANA           MCGUIRE                OH         66041465738
56412184751348   FRANKIE         WILLINGHAM             OH         90006881847
56412199961971   CHRISTINE       BLAISDELL              CA         90011541999
56412348955939   ANTHONY         FAILLA                 CA         49086963489
56413936957157   YANETSY         TORRES                 VA         90008059369
56414991791587   ELIZABETH       FLORES                 TX         75009649917
56415378585928   JEROME          DAWSON                 KY         67015943785
56418638651348   TRINA           SCOTT                  OH         90001566386
56419345741224   LAUREL          MC CALLISTER           PA         90012983457
56419989185928   EMMA            CASTILLO               KY         67005959891
56421259286545   JENNY           ELLENBURG              TN         90015532592
56424831157157   MICHAEL         SAINTZ                 VA         90013218311
56426228561971   ISAEL           LEON                   CA         46017642285
56429782185928   MARIA           RODRIGUEZ              KY         67035097821
56433514755997   EDUARDO BAEZA   BAEZA                  CA         90013065147
56433746555997   FRANCISCO       IBANEZ                 CA         90014737465
56434253133696   GASPAR          ARROYO                 NC         12034502531
56434341191895   DON             WEAVER                 OK         21064393411
56434523833625   CHRIS           THACKER                NC         90000945238
56434819957157   SANDRA          EVANS                  VA         90010228199
56435533657157   JAY             JHONSON                VA         90014785336
56435555491895   CARLOS          AMBRIZ                 OK         90013845554
56435625955997   JUAN            VELAZQUEZ              CA         90014896259
56439329155939   MILDRED         LAMATTINA              CA         49080963291
56439758361971   DEVOL           SAMANTHA               CA         90012387583
56441264155997   RICK            GALVAN                 CA         49050022641
56441729461971   LUIS            BARAJAS                CA         90013717294
56442315555939   ALEJANDRO       SANTIAGO               CA         90013033155
56442789651348   PHILLIP         JENKINS                OH         90014877896
56444477455939   JESUS           VALDEZ                 CA         90014634774
56444623251348   AARON           GALLIHER               OH         66055626232
56444675861965   KENNETH         CLAY                   CA         90014536758
56445917961971   STEVEN          BINGHAM                CA         90001329179
56447154351348   KRISTI          WEBER                  OH         90010991543
56447666657157   JOSE            AMAYA                  VA         90009416666
56448759557122   MEGGAN          DAVIS                  VA         90010397595
56448989655939   MISTY           SINKS                  CA         49089109896
56449882691895   NICHOLE         TONEY                  OK         90015148826
56452766385928   JEAN            CASTLE                 KY         90013937663
56452944433669   TASHICKA        HICKMAN                NC         90011679444
56454299455997   ALEJANDRA       CERVANTES              CA         90014772994
56454646391881   ERNESTINE       MOTLEY                 OK         90011526463
56455116991587   CLARA           GUTIERREZ              TX         90011481169
56455685191269   HEATHER         ROGERS                 GA         90007746851
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56456514855997   ETEL          PEREZ                    CA         49087795148
56457657351348   AMY           DE-NISE                  OH         90014226573
56462438361971   DIANA         WILEY                    CA         90006114383
56462863661965   JAMAL         BANKS                    CA         90007748636
56463176333465   DEEANN        ADAY                     AL         90014641763
56463375957157   CLAUDIA       ABREGO                   VA         90012253759
56463498855939   BENJAMAN      OWEN                     CA         90012154988
56463713872442   TABATHA       ASHTON                   PA         51094927138
56464426285928   GARY          BARR                     KY         90014944262
56465633257157   DONNA         MOORE                    VA         90012106332
56467557161971   ARRON SHAWN   PRIDDY                   CA         90013345571
56467824255939   FLORENTINO    MENDOZA                  CA         90001008242
56467983761965   KIMBERLY      NOBLE                    CA         90012979837
56469512891895   SHERRA        WOODS                    OK         90010065128
56469595761971   CARY          TURRISE                  CA         90014625957
56472186433465   KRISTAL       ADAY                     AL         90014641864
56472221361986   SERGIO        SANCHEZ                  CA         90013522213
56473537791895   ERICKA        SAUCEDO                  OK         90012695377
56473894861965   FRANCISCO     MEZA                     CA         90010388948
56474158655939   FRANK         RUACHO                   CA         49000001586
56474913351348   BRANDON       STOREY                   OH         90013189133
56475243691523   SALVADOR      OLIVARES                 TX         90011652436
56481527733696   MICHEAL       GARRISON SR              NC         12092995277
56481924157157   PAULINA       MENDEZ                   VA         90012609241
56482582761971   SUSAN         MARS                     CA         90007525827
56485925661965   SUSAN         BONNE                    CA         90006299256
56486426285928   GARY          BARR                     KY         90014944262
56486996861971   HONEY         MCDONALD                 CA         46010519968
56487156561971   BROOKLYN      GEBUR                    CA         90012281565
56488358961971   R.ANGELICA    O.MUNOZ                  CA         46083993589
56488442757157   HERLINDA      WILSON                   VA         90014204427
56488561291895   JENNIFER      BODWELL                  OK         90002425612
56489529991587   JOSE          DIAZ                     TX         90012215299
56491271133699   VANESSA       CAMPBELL                 NC         90008742711
56491923991587   ARMANDO       ARANDA                   TX         90012919239
56494667961936   MARIA         PEREZ                    CA         90013896679
56495525855997   MARY          RODRIGUEZ                CA         90012355258
56496167955939   KELLI         CANADY                   CA         90003941679
56497439991587   GABRIELA      ESCARZAGA                TX         90000504399
56498217851361   GWENDOLYN     BASKIN                   OH         90008642178
56499192185928   CRYSTAL       TRINIDAD                 KY         90007521921
56511388233699   TAMEKA        WALKER                   NC         90010373882
56511931891552   CHRISTOPHE    GARCIA                   TX         75047229318
56512179672442   JEREMY        BOYER                    PA         51034591796
56512695661965   SEROR         MIKHA                    CA         46074066956
56513181691587   EMILY         RODRIGUEZ                TX         90013171816
56513559991587   EDUARDO       FLORES                   TX         90015085599
56514556461965   SAUL          LOPEZ RAZO               CA         90001435564
56514781991895   STEPHEN       NEWBY                    OK         90013787819
56515458433699   JEFFREY       COOK                     NC         90011944584
56515592791895   RONALD        MCMORRIS                 OK         90014875927
56515842655997   VERONICA      MARQUEZ                  CA         90014158426
56517623285928   FRED          FAUST                    KY         67015956232
56517739161971   JAMI          PRADFUTE                 CA         90012317391
56518122291988   YEKIA         HITE                     NC         90014861222
56519784961965   ADELLA        SWEET                    CA         90008377849
56521754891895   RAVEN         GREER                    OK         90007647548
56522426657127   FREEDOM       AFEBOH                   VA         90008034266
56522555157591   PAYGO         IVR ACTIVATION           NM         90011855551
56524319255939   KARINA        ALAVARADO                CA         90015293192
56524543555939   PABLO         RODRIGUEZ                CA         90013235435
56524655161965   CINTHIA       CASTELLON                CA         90014956551
56524898231468   KATIE         DAVID                    MO         90003518982
56526577855997   ROXANNE       MUCHA                    CA         49015425778
56527661233699   KHADIJAH      SHABAZZ                  NC         12033926612
56527859131428   TYNISHA       HALE                     MO         27581868591
56528784433699   ELMER         HERRERA                  NC         12015917844
56534195891587   ROBBIE        RIVAS                    TX         75000901958
56534261572442   CRYSTAL       SMITH                    PA         51063062615
56535537761971   LISBETH       TELLEZ                   CA         90014065377
56536771991587   JOSELIN       ARIAS                    TX         90014907719
56536846357157   BRIDGETTE     SPANT                    VA         90014148463
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56539199947877   BRITTNEY      DUMAS                    GA         90014751999
56539636361971   HILARIA       ROJAS                    CA         46029026363
56541178747877   TERRI         SHAW                     GA         90014751787
56543542155997   MARIA         CORTEZ                   CA         90013925421
56544154791895   ROBERTO       JUAREZ                   OK         90012101547
56544948251348   ANGELA        THOMPSON                 OH         90010959482
56545335333634   LETITIA       HINES                    NC         90004333353
56545415357124   IRIS          RAMOS                    VA         90006694153
56545489555939   LISSET        VARGAS                   CA         90010564895
56546327961971   NARANJO       SYD                      CA         46038453279
56546931455937   ANA           HERNANDEZ                CA         90009879314
56547135131429   BRYTLYNNE     KEETON                   MO         90005511351
56549459661971   LUIS FELIPE   JAIME                    CA         90011444596
56552453472442   ANTHONY       NATIVIO                  PA         51098414534
56554881855939   ARTURO        VASQUEZ                  CA         90009438818
56557122685928   LEONEL        AGUILAR                  KY         90013941226
56557311257157   NILSA         GUERRERO                 VA         90012873112
56559668991587   ANDREW        MEDRANO                  TX         90009766689
56561415755997   EDGARDO       HERRERA                  CA         90013104157
56562131272442   MICHAEL       HUFFER                   PA         51098041312
56562553555997   JUAN          PALACIOS                 CA         90013925535
56564824461971   MINERVA       CORTEZ                   CA         90011398244
56565584485928   KIMBERLY      STREJAN                  KY         67001485844
56569612857148   HENRY         MOLINA                   VA         81072096128
56571813461971   AYAD          SAADEDEEN                CA         46098178134
56574435272442   BRENT         NICOLO                   PA         51074444352
56574821651348   ALES          SMITH                    OH         90014868216
56574938533696   RONALD        HERMES                   NC         90005659385
56578134533699   CISNEROS      JANET                    NC         90003811345
56578668257157   LASHONDA      DAY                      VA         90013166682
56582557391587   JAVIER        GONZALEZ                 TX         90007455573
56583242661965   MICHAEL       CONWAY                   CA         90013882426
56584582255997   BEATRICE      RAMIREZ                  CA         49023265822
56588985931428   ANTWON        BALLWIN                  MO         90011769859
56591424457157   CANDELARIO    TENAZ RAMIREZ            VA         90014794244
56592498386452   STANLEY       MONTGOMERY               SC         90015274983
56592781285928   JAVIER        PARKS                    KY         67015217812
56592861955997   PATRICIA      CARREON                  CA         90007488619
56593447951348   STEVEN        RICHMOND                 OH         90003344479
56594644961971   BEATRIZ       GAMEZ                    CA         90014456449
56595625955997   JUAN          VELAZQUEZ                CA         90014896259
56597267591587   MECHELLE      GARDNER                  TX         90014572675
56597477372442   MICHELLE      VOLEK                    PA         90001224773
56597816551348   JULIO         GUTI                     KY         90011148165
56598315555997   ELIZABETH     OSUNA                    CA         90012563155
56598361957157   EVELYN        ALVAREZ                  VA         90013853619
56598656257148   ZULMA         MELGARES                 VA         90007166562
56599647391587   HILDA         GOMEZ                    TX         90002356473
56599778161971   KIM           FORD                     CA         46023977781
56611385747877   JESSE         LATTIMORE                GA         90013923857
56612516957157   KENDRA        CHAPMAN                  VA         90014795169
56612651355997   MANUEL        IBARRA                   CA         90014236513
56613596191895   MELISSA       RODRIGUEZ                OK         90013395961
56613945891895   TEQUILA       FRANKLIN                 OK         90014759458
56617755891535   YOLANDA       HERNANDEZ                TX         90010017558
56619999651348   CARLA         WILLIAMS                 OH         90014859996
56621814971946   SANTOS        BARAHONA                 CO         90010938149
56621894955997   HENRY         RIOS                     CA         90011228949
56624727155997   MATHEW        ELISALDE                 CA         90013927271
56625528685928   CHASE         BAIRD                    KY         90013945286
56627165757563   REBECCA       PAZ                      NM         35591211657
56627263533699   TANJA         BROWN                    NC         90003812635
56628573331628   BRITTANY      MYERS                    KS         90003035733
56628828357148   JOSE          CASTILLO SANTOS          VA         90014548283
56631288233699   ARTHUR        GENE DIXON JR            NC         12093312882
56634254551348   MICHAEL       HOWARD                   OH         66041302545
56635252351348   ALESHA        DURHAM                   OH         90010992523
56635391155939   VIRGINIA      CISNEROS                 CA         90013033911
56636526561941   GLORIA        ROBLES                   CA         90010675265
56636642891587   MARIA INES    ALVAREZ                  TX         75060856428
56636662885928   TINA          SUMPTER                  KY         90013156628
56637267491895   KYLAH         CRISP                    OK         90010012674
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56638426361965   JOSE                    LUNA ARENAS    CA         90013514263
56643159991587   ALICIA                  ORTEGA         TX         75047921599
56643316886545   BRANDY                  TAYLOR         TN         90015503168
56644697961971   BERNICE                 SPARKS         CA         90002306979
56645213751348   RUDY                    MAREE          OH         90013122137
56645316491523   JUANA                   ALDAZ          TX         90010883164
56645832741221   MARLA                   CHARNESKY      PA         51098198327
56645847685928   MICHAEL                 BARNES         KY         90011818476
56645921461965   DOLORES                 BENITEZ        CA         90014129214
56646937657157   KENNETH                 HALL           VA         90000859376
56646999161965   CRUZITA                 RODRIQUEZ      CA         46056309991
56647877661965   SAMANTHA                PEREZ          CA         90012018776
56648534557157   MIRIAM                  HERNANDEZ      VA         81074435345
56648599233699   RICHARD                 CLAYTOR        NC         90008965992
56648829491895   SANTA TERESA DE JESUS   ALVAREZ        OK         90013788294
56649355855997   DONSHY                  WARREN         CA         90007223558
56654659491587   JOE                     GOMEZ          TX         90015136594
56655871357148   JULIO                   CEVALLOS       VA         90007278713
56655999357157   REINA                   PONCE          VA         90008639993
56656318861971   KENNETH                 DYNES          CA         46038853188
56658822786545   ANNE                    GORDON         TN         90015448227
56658964791523   PERLA                   DOMINGUEZ      TX         90008769647
56661225251348   TERRI                   ARNOLD         OH         90009472252
56661348751348   ALLEN                   HIGGINS        OH         90015313487
56666391561966   CECENIA                 VICTOR         CA         46017533915
56669995151348   JAMES                   BELTRAN        OH         90013619951
56671589457157   TESSA                   ICHITT         VA         90014815894
56671843661971   RYAN                    DARBY          CA         90006998436
56673621861965   EDUARDO                 VERONICA       CA         90002946218
56674542355939   ERIC                    BELTRAN        CA         49007505423
56676563291587   GERALDINE               GARCIA         TX         90012015632
56677285791895   JEREMIAH                KAYIZA         OK         90008562857
56681229155939   CONCEPCION              VALDEZ         CA         49042302291
56682179833699   JUAN                    PINEDA REYES   NC         12014181798
56682721455997   TANIA                   RIVERA         CA         90013937214
56684295861971   DAWN                    FENNEY         CA         90002652958
56684988457157   MOISES                  INTERIANO      VA         90013649884
56685327431428   ERIC                    BOWMAN         MO         90012823274
56685471561931   CARLOS                  SANTIAGO       CA         90005304715
56686632785928   YADIRA                  SOTO           KY         90014066327
56693337891895   DIANA                   SANCHEZ        OK         90012323378
56695536955939   ANITA                   MAYA           CA         90013415369
56695993761971   CATHERINE               KALMAN         CA         90002879937
56696234641221   JEFFEREY                SENIOR         PA         90007272346
56697156933677   SANDRA                  GREEN          NC         12047861569
56697754255997   DOLORES                 ALVARADO       CA         90013937542
56699581884357   MARK                    EDWARDS        SC         90005195818
56712522591587   ZINNIA                  HALL           TX         90008405225
56713526161971   HAROLD                  NICELER        CA         90004615261
56713842255997   RIGOBERTO               VILLAFAN       CA         90013938422
56714215385928   NOEL                    MARTINEZ       KY         90012412153
56714741191895   ROBERT                  HILL           OK         21023597411
56715739661936   CESAR                   CORTEZ         CA         90008047396
56716761155997   JESUS                   PEDRAZA        CA         90013037611
56716957533645   CEDRO                   CHIGO          NC         90005739575
56717338861965   TAMARA                  CRAWFORD       CA         90014423388
56717861755997   JOAN                    LEE            CA         90013938617
56717919133696   SINDA                   LEWIS          NC         12034759191
56722211757157   CHRISTINA               SHANLEY        VA         90010312117
56723417585928   WILLIAM                 BUSTER         KY         90014674175
56724879857131   ROSENDO                 CEBALLOS       VA         90011468798
56726541857157   FELIPE                  IBARRA         VA         90008775418
56726668257157   LASHONDA                DAY            VA         90013166682
56731944133699   DAMIEN                  ROMINGER       NC         12014199441
56732637236165   FRANK                   KASSNER        TX         90004316372
56733345157157   KEITH                   BURKS          VA         90002503451
56733557591895   LYNNDI                  ATKINS         OK         21093305575
56734951257157   FERNANDO                VARGAS         VA         90014819512
56735787131428   ELIZABETH               LOPEZ          MO         90009577871
56736411285928   SHAUNETTA               THOMAS         KY         90000334112
56738753155997   GUILLERMO               N BERNARD      CA         49005337531
56741171686545   TEONIA                  RUSSELL        TN         90015531716
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56741741291587   VICTOR         TERRAZAS                TX         75030077412
56742614155997   DIANA          GUTIERREZ               CA         49043946141
56743779991895   HOLLY          BROWN                   OK         90014637799
56744775561971   SANTIAGO       MARQUEZ                 CA         90014177755
56744778591587   ADRIAN         ESCOBAR                 TX         90013097785
56745535931428   NEKEITA        FULTON                  MO         90013865359
56745951257157   FERNANDO       VARGAS                  VA         90014819512
56746437561965   RANIA          SHORIS                  CA         90014904375
56749422755939   ELIA           GALARZA                 CA         90011444227
56749951257157   FERNANDO       VARGAS                  VA         90014819512
56751224385928   BRANDON        GREEN                   KY         90013042243
56752786251348   ROGER          PIERCE                  OH         66035757862
56752837191895   ROSALVA        CORTES                  OK         21086058371
56754944572442   LUTHER         LEE                     PA         51080089445
56756945885928   BETH           GACHUKI                 KY         67088199458
56756956455997   JEANNETTE      ZAVALA                  CA         49018929564
56757365684329   MATTHEW        HOLLAND                 SC         90011893656
56757965755997   FIDEL          VASQUEZ                 CA         90013939657
56758265151348   BRIAN          RILEY                   OH         90011052651
56759376757157   TORKORNOO      & ASSOCIATES            VA         81002993767
56761495391587   JAVIER         TORRES                  TX         90013084953
56761881122925   DONALD         LOOD                    GA         90014218811
56766498591587   JOSE           ORNELAS                 TX         90005424985
56768525355939   FRANCISO       LOPEZ                   CA         90012355253
56769996855939   PATRICIA       MONTOYA                 CA         90012939968
56771229551348   KYLE           SMITH                   KY         90011602295
56771429891895   JOSEHUMBERTO   DELGADO                 OK         90014034298
56772694861971   LISA           BERMUDEZ                CA         90014416948
56782959461965   CARSON         MARRIES                 CA         90009209594
56785536651348   ANDREA         MARSHALL                KY         90009605366
56786327191895   TERESA         WILLIAMS                OK         21057113271
56786714555939   JOSEPH         CALZADO                 CA         90014727145
56789141291525   JESUS          DEL VAL                 TX         90003181412
56792752855997   ZANDRA         COSTA                   CA         90014047528
56793548461971   REGGIE         WILLIAMS                CA         46036835484
56795437891535   BRENDA         INZURRIAGA              TX         90011634378
56795696891587   BRIANA         DELGADO                 TX         90009506968
56796884685928   STEVEN         WIMSATT                 KY         90015078846
56798214455997   DINORA         LOPEZ                   CA         90015042144
56799254891587   JESSICA        BARAJAS                 TX         90012952548
56814139155939   JOSE           CEJA ALVAREZ            CA         49037491391
56816943857157   CONNIE         WASHINGTON              VA         90015379438
56822818555997   JOSE           GARCIA                  CA         90013338185
56823769591895   ROSA           FLORES                  OK         21078107695
56824688433696   KUBWAYO        GERVAIS                 NC         12017066884
56824979385928   ANGEL          AGUIRRE                 KY         90006509793
56826182555997   ROLANDO        ROMUALDO                CA         90013941825
56827847157157   BROOKER        TAYLOR JR               VA         81088288471
56828492561971   ELIZABETH      JOHNSTON                CA         90010754925
56832245961965   ASSEEL         SALIH                   CA         90011502459
56833432385928   AMBER          DENNIS                  KY         90000794323
56834679185839   JOERG          VOLLNER                 CA         90006666791
56835189957127   BARTOLO        VASQUEZ ORTEGA          VA         90009271899
56837553891587   VICENTE        CRUZ                    TX         90005145538
56838682661971   MICHAEL        SPANN                   CA         90003846826
56839142861965   TRACIE         RODGERS                 CA         90012431428
56839182721696   TIFFANY        FORD                    OH         90014711827
56839979991587   MARISELA       MARINES                 TX         90002089799
56843442955997   NATALY         SANDOVAL                CA         90014604429
56843913591895   SHARON         PHILLIPS                OK         90013789135
56844986491895   CIERA          PARRISH                 OK         90011049864
56847469257157   JOSE           VARGAS                  VA         90010024692
56849899685983   BRANDON        LEWIS                   KY         90008198996
56849917761971   CAROLINA       GALVAN                  CA         90012989177
56851569884329   TIGRA IYESHA   ZEIGLER                 SC         90012835698
56852269555939   SAMANTHA       FLORES                  CA         90009792695
56852836361986   PORFIRIO       ELVIRA                  CA         46096668363
56854846861965   BRAYDEN        DUZAN                   CA         90011698468
56854874257157   OLVIN          GARCIA                  VA         90001128742
56855152655997   LUIS           SANCHEZ                 CA         90011971526
56856595191587   XAVIER         PLASENCIA               TX         75075245951
56858262761965   JESUS          VACA                    CA         90004342627
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56861331633645   TIFFANY      GOMES                     NC         90009293316
56861689133699   MELODY       HAIRSTON                  NC         90000316891
56861943431428   CATHI        BRANNON                   MO         90011779434
56864378851348   SHAE         LINDER                    OH         90010993788
56864599161965   SHANE        MUNDA                     CA         90012685991
56865755151348   NATASHA      ALLEN                     OH         90003247551
56866111761971   SALWAN       MALEKO                    CA         46075721117
56866949661998   FRED         GOMPE                     CA         46003229496
56869219155939   JUAN         ZUNIGA                    CA         90015162191
56869699791895   JOSE         MARTINEZ                  OK         90013836997
56871462191587   DAVID        CARRASCO                  TX         90013784621
56876319185928   GARY         LILLY                     KY         67003983191
56876599372442   DELPHIA      MILLS                     PA         51049405993
56876853733645   AKEEM        HARDEN                    NC         90014788537
56878166491587   MARIA        HERNANDEZ                 TX         90014461664
56878483761971   LAURIE       PEVETO                    CA         90010904837
56885521961965   ESTHER       MELGAR                    CA         90013235219
56885861455939   SABRINA      JIMENEZ                   CA         90010008614
56886913185928   ELIZABETH    EVANS                     KY         90015139131
56887229791895   CHELSEA      MARSH                     OK         21046722297
56888538851348   ANTHONY      WILKERSON                 OH         90005505388
56889967671922   LINDA        OLGUIN                    CO         90008159676
56894441351348   SHON         ADDIS                     OH         90006474413
56895337997125   JESUS        GUTIERREZ                 OR         44559923379
56897144385928   SERGEI       SARGAEV                   KY         90014061443
56897581661971   LORIA        CHANNELL                  CA         90013365816
56898641633699   TIA          DALTON                    NC         90011806416
56899618684357   AMELIA       PORTER                    SC         14507936186
56911663457157   LUKE         ENGELKING                 VA         90008266634
56912523855939   CRISTINA     TORRES                    CA         90013965238
56916915841221   MIK          JHONSON                   PA         90015339158
56917845691587   YOLANDA      TORRE                     TX         90008188456
56918925184346   TATEYANNA    JACKSON                   SC         90015519251
56921181833674   BRANDI       POPE                      NC         90006231818
56921465184357   TASHA        SCANTLING                 SC         14506144651
56923982457157   MONIQUE      MOSLEY                    VA         81002879824
56924593857157   GUSTAVO      GONZALES                  VA         81069255938
56924844151348   ROBERT       LEDBETTER                 OH         90005998441
56925569284357   COTASHA      WASHINGTON                SC         90005775692
56925945891895   TEQUILA      FRANKLIN                  OK         90014759458
56925949861975   ERICA        RIOS                      CA         90011849498
56926129761965   JACQULYN     GAITER                    CA         90010661297
56926548291968   BRIDGET      ARRINGTON                 NC         90015365482
56927578661965   JOSE         DELACRUZ                  CA         46091655786
56928983861971   GERARDO      CAMACHO                   CA         90014329838
56928997972442   RICHARD      GRANT                     PA         90006549979
56929921891895   JAIME        RODRIGUEZ                 OK         21065619218
56931218231428   AYESHA       GORDON                    MO         90009692182
56931593133696   INDIA        NELSON                    NC         90010715931
56931822961956   MARIA        RUIZ                      CA         90009448229
56932122391895   CHARLES      OATES                     OK         90010971223
56932718185928   CASSANDRA    MCCARTY                   KY         90002487181
56934257957157   GORDON       ANKOMAH                   VA         81067772579
56934953455939   ANGEL        BRUNE                     CA         90004749534
56935464661965   SALVADOR     ZAPIEN                    CA         90009894646
56937871161971   SASHA        JONES                     CA         90013298711
56939399831429   KAREN        THOMPSON                  MO         27559513998
56943766651348   OLABISI      FAULKNER                  OH         90012777666
56944472251348   JOHN         MEADOWS                   OH         66035514722
56945558655997   LARRY        FLORES                    CA         49082015586
56945695191587   SYLVIA       MARTINEZ                  TX         75078086951
56947334361965   JORDAN       WILSON                    CA         90011133343
56947785451348   JEFF         HOLT                      KY         90014977854
56951223185928   HUGO         ESCOBEDO                  KY         90004232231
56952782684357   KATIE        BOGARDUS                  SC         90013687826
56952793533699   JONETTA      HAWKINS                   NC         12095367935
56953426285928   GARY         BARR                      KY         90014944262
56953428457157   IVIE         MEDRANO                   VA         90013214284
56954539761965   MARICELA     RICO TAMAYO               CA         90014895397
56955165461976   ARTEMIO      TRUJILLO                  CA         90006721654
56956141955939   ADAM         YOCKEY                    CA         90011571419
56957212691587   GUS          HADDAD                    TX         90006622126
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56959588533699   TECARRA      BYRD                      NC         90007985885
56959824851348   CHARLES      ALLEN                     OH         90015118248
56959875561965   SHERI        SANCHEZ                   CA         90013268755
56962893651348   MIKE         ROYSE                     OH         66040648936
56965363355939   BLANCA       JIMENEZ                   CA         49070313633
56965732291587   SANDRA       GARZA                     TX         75026407322
56966635991587   ANABEL       ENRIQUEZ                  TX         75023716359
56967121485928   PRISHA       GREEN                     KY         90014071214
56967522551348   LARRY        EDWARDS                   OH         66081925225
56968312151348   KIMBERLY     JENKINS                   OH         90009843121
56969539791535   LISA         MARTINEZ                  TX         75038735397
56972486385928   NICORA       DAVIS                     KY         90014074863
56973938131428   RICARDO      TORRES                    MO         90006789381
56975124757157   TAHRIE       BREVARD                   VA         90007931247
56975264991587   YADIRA       CHAIDEZ                   TX         90012042649
56977368491895   MARIA        GARCIA                    OK         90007093684
56978942551351   JAMES        MAGEE                     OH         90001199425
56979997951348   JULIE        VAZQUEZ                   OH         66040399979
56981412171942   CHRISTINE    GONZALES                  CO         90005904121
56982282991587   ALEJANDRO    CARBAJAL                  TX         75019922829
56984144331665   BRAD         KUMPF                     KS         90014251443
56984678933645   LEROY        COOPER                    NC         90008786789
56985738791587   ROBERTO      VALENZUELA                TX         90014057387
56985988985928   BEN          SPEIGLE                   KY         90006599889
56986428791587   YVETTE       VILCHIS                   TX         90010004287
56986636351348   ANDREA       CANNAVINO                 OH         90014886363
56987638961971   TONY         CONNERS                   CA         46013766389
56988531991895   PENNY        STANLEY                   OK         90002955319
56991224661971   ANA          REYES                     CA         90013222246
56991433757157   LISA         TERRANCE                  VA         90006384337
56991466961965   AMY          HAMES                     CA         90010944669
56992277255997   ISABLE       CHILDS                    CA         49084382772
56993329161965   MARCOS       RODARTE                   CA         90004363291
56993435455997   FILEMON      CALVILLO                  CA         90012644354
56996359457157   JACKELIN     SEGURA                    VA         90013663594
56996635761967   JOSEPH       ARANJO                    CA         90013556357
56997147972442   JEROME       DEAN                      PA         90001421479
56997573955939   GLORIA       LUENGAS                   CA         90014695739
56997715561965   SOPHIA       DYJAK                     CA         90008607155
56998158377533   GONZALO      VALENCIA                  NV         43012721583
56999147972442   JEROME       DEAN                      PA         90001421479
56999642991391   PAULA        ROSAS                     KS         90015106429
57111183655997   DANIEL       RODRIGUEZ                 CA         49080161836
57112244755997   JAMIE        DAVIS                     CA         90006392447
57112777291895   THOMAS       LANEY                     OK         21091137772
57114675955997   DEBORAH      BLYTHE                    CA         49098056759
57116333661965   SYLVIA       MILLER                    CA         90003493336
57116543633699   KENDALL      JOHNSON                   NC         90004695436
57119398355997   GENOVEVA     SANCHEZ                   CA         90014893983
57121672191552   ANTONIENTA   LUCAS                     TX         75077806721
57121811933699   MELODY       COUTHEN                   NC         12010408119
57124157791535   MIGUEL       LUNA                      TX         90013681577
57124959651348   VALENTINA    FOLEY                     OH         90014879596
57126458531426   ANGELA       PRETE                     MO         90007934585
57126515351348   MELINDA      BECK                      OH         90008565153
57128376561965   ALESHA       FLORES                    CA         46069923765
57128755791587   CARLOS       MERCADO JR.               TX         75079647557
57129141151348   KISHA        PRYOR                     OH         90010481411
57132825555997   CAROL ANN    AGUERO                    CA         90014718255
57134854151348   MARJORIE     WILLIAMS                  OH         90014888541
57136992491587   EVA          NAVARRO                   TX         75082489924
57137363461965   D EE         HUBBLE                    CA         90013623634
57139615154152   JOSE         VICTORIANO PELAYO         OR         47037566151
57141359291982   DONALD       BRIGGS                    NC         90008953592
57143828291856   AMANDA       CORTEZ                    OK         90015018282
57143858751348   JULIE        STEPHENSON                OH         90014888587
57144492151322   ED           LANGDON                   OH         66082004921
57144495755997   ORALIA       MAYA                      CA         49001084957
57147929391587   ALEJANDRO    GARCIA                    TX         75002699293
57148339431428   CHARLES      JOHNSON                   MO         27514933394
57148517355997   RAMON        FLORES                    CA         90014885173
57151497547928   KENNETH      MASSEY                    AR         90011824975
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57151569851348   ANTHONY      DOAKS                     OH         90005475698
57153652455997   DANIEL       VALDEZ                    CA         49048896524
57153748361965   VITALII      PUKAS                     CA         90009297483
57154667254152   ANGELICA     GONZALEZ                  OR         90015216672
57155619851383   CELESTINE    STRAYHORN                 OH         66085526198
57156414651348   RICHARD      KALB                      OH         90014904146
57156971391587   CLAUDIA      INOJOSA                   TX         90011239713
57158169454152   STEVEN       BRUCE                     OR         90006571694
57158362361971   ROBERT       MICHAEL                   CA         90003923623
57159835361965   CORIN        JONES                     CA         90008518353
57159928551348   DOMINICK     FINNELL                   OH         90014209285
57161999333696   DEVIN        HOLLAND                   NC         90006429993
57162889755997   MARTHA       RAMIREZ                   CA         49025068897
57164785991895   DEBBIE       DIXON                     OK         21043947859
57165589161971   TINISHIA     OWENS                     CA         46095755891
57165822691587   MARIA        MORENO                    TX         90003338226
57166624655997   LUZ MARIA    DAVILA                    CA         90011486246
57166692261965   ELVIA        MORENO                    CA         90006316922
57167922231429   D            SCHEITER                  MO         27505359222
57168663633699   JEFFREY      NIVENS                    NC         12016086636
57169241151354   LONNIE       GRAY                      OH         90004322411
57172156791587   KARLA        GUERRERO                  TX         75015771567
57175632451348   KIANNA       HILSON                    OH         66009886324
57176213291587   RUDY         HERNANDEZ                 TX         75012302132
57177414651348   RICHARD      KALB                      OH         90014904146
57177439957157   JAMES        COX                       VA         81094294399
57178768291587   MARTIN       TRIANA                    TX         75031067682
57182974191587   MIRIAM       TREJO                     TX         90011359741
57184176591535   EDGAR        VILLA                     TX         90002621765
57188137855997   JULIUS       TORRES                    CA         90010221378
57191412257157   EBONY        SEWARD                    VA         90002864122
57192366891587   VALDEZ       JENNIFER                  TX         90010003668
57192986957157   JUSTIN       MOWRY                     VA         81094329869
57194439491895   JAMES        AUTEN                     OK         90012724394
57197729161971   ALLEN        ZIEBER                    CA         90009157291
57212574291895   BRIAN        ENGLISH                   OK         90002725742
57213336261971   KEVIN        KITCHEN                   CA         90014813362
57215466661971   DESTINY      THOMAS                    CA         46095994666
57216337155997   LORA         GRIGGS                    CA         49008123371
57216941291587   MARGIE       ALARCON                   TX         75072169412
57222854225666   ALBERTO      SIXTO                     AL         90015388542
57224798561971   JOHN         REYNARD                   CA         90013437985
57226864431462   JEANETTE     BREW                      MO         90008858644
57227215391895   LAURA        STRONG                    OK         90004442153
57231587751348   REDDEN       GARFIELD                  OH         90005835877
57233126191587   ROSY         CONTRERAS                 TX         90013881261
57233145655997   YVONNE       GONZALEZ                  CA         90014341456
57233831151348   JONATHON     WILLIAMS                  OH         90007568311
57235428961965   CYNTHIA      RENTERIA                  CA         46083454289
57236385251348   MICHAEL      NORFLEET                  OH         90005073852
57237652191895   ASHLEY       GREEN                     OK         90011096521
57241518861965   GRISELDA     MORALES                   CA         46060485188
57243246691893   KAMEISHA     HAWK                      OK         21014602466
57243658361971   MARIANA      HIGUERA                   CA         90013056583
57245147591587   ALFIA        CHACON                    TX         90009541475
57247118691947   ALLAN        JOYNER                    NC         90013941186
57247441254152   NANCY        STARKS                    OR         90011834412
57247776461971   MAEEK        BUTRUS                    CA         90008077764
57249635361971   JACINTO      HERNANDEZ                 CA         90014846353
57249976561971   JOEL         CRISOSTOMO                CA         90005339765
57251937155997   GREGORY      PENA                      CA         49043549371
57253731433699   JOYCE        MILLER                    NC         90001547314
57254998391587   BARBARA      DOMINGUEZ                 TX         90011539983
57255776461971   MAEEK        BUTRUS                    CA         90008077764
57259742161965   SULIEMAN     ALI                       CA         46004817421
57259775591895   CLAUDETT     BROWN                     OK         21014247755
57262288191895   JOHNSON      JANETTE                   OK         90014402881
57263552455997   NOE          CATALAN                   CA         90012935524
57264479461971   GREG         RUFFIN                    CA         46037014794
57268998151348   LUIS         TOMAS                     OH         90014909981
57271145855997   BRANDON      MCKAY                     CA         49009241458
57271268254152   MICHAEL      BAIRD                     OR         90013242682
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57272235891587   MARISOL      CORTINAS                  TX         75098322358
57273482891524   ERIKA        GOMEZ                     TX         90015094828
57274756161965   KIMBERLY     GONZALEZ                  CA         90010547561
57274965591895   NICHOLAS     SCHWARTZ                  OK         90011149655
57275722361965   MARIA        RODRIGUEZ                 CA         90002447223
57275896555997   ZULEYMA      DAZA                      CA         90012688965
57276869661971   FRANK        NEESE                     CA         90012488696
57281592291895   CAROLETTA    AVRIETT                   OK         21084705922
57282513261971   PHILLIP      KEEHAN                    CA         90001605132
57282761854152   ROBERT III   HOWELL                    OR         90004337618
57282781931429   BETH         REIFSTECK                 MO         90004747819
57288384791895   CALEB        HUNT                      OK         90013233847
57289544961971   SYLVIA       CASTANEDA                 CA         90012325449
57296314533696   CIERRA       POTTS                     NC         12090773145
57296761451348   INEQUA       HARRIS                    OH         66049427614
57297444336165   SAMUEL       HERNANDEZ                 TX         90010234443
57297819591999   TARQUEENIA   WILKERSON                 NC         90010918195
57298842151348   CHRIS        WASHINGTON                OH         90010688421
57299333857157   JOSE         VILLALTA                  VA         81064243338
57299845391895   GERMAN       VAZQUEZ                   OK         90010968453
57299976991587   EDGAR        CHAVEZ                    TX         90011359769
57311572491895   KANDIS       BLAIR                     OK         90010195724
57313597691895   MICHAEL      CAMPBELL                  OK         90012075976
57314117791587   RAQUEL       HERNANDEZ                 NM         75015241177
57319427961971   TIMOTHY      DEVON                     CA         90013334279
57322272654152   JASON        STOUDER                   OR         90011842726
57322641433696   KIONNA       EVANS                     NC         12061936414
57322758551586   AMANDA       SERGENT                   IA         90015247585
57323381931429   BRITTANY     OATS                      MO         27529113819
57328359561965   JURY         BYRD                      CA         46056453595
57331244761971   TED          APOSTOLIDIS               CA         90010742447
57331472291587   ESDRAS       RUIZ                      TX         90011154722
57332576655997   JESUS        CARRILLO                  CA         90014615766
57339933681631   VICTORIA     VAUGHT                    MO         90002239336
57342159254152   TISA         MILLER                    OR         90000581592
57342575261971   BILL         CARDINAL                  CA         90012255752
57343831231428   JANICE       BERNARD                   MO         27508608312
57344299855997   MARISA       RODRIGUEZ                 CA         90013982998
57344439391895   ALICE        BERRY                     OK         21005964393
57344579661965   NAJEEB       ARABO                     CA         90011855796
57344633533696   LATORIA      CHAVIS                    NC         12004656335
57346572261965   YAREN        PLAYAS                    CA         90014045722
57347511191587   KARLA        RIOS                      TX         90002075111
57348893191895   STEVEN       EASTHAM                   OK         90014358931
57351992757157   VICKI        MCCORMICK                 VA         81085939927
57352682855997   MIGUEL       ZEPEDA                    CA         90010776828
57354868851348   CHANDRA      MILLS                     KY         90014918688
57356627651348   JACOB        SHEPHERD                  OH         90013326276
57356787331428   AMY          BRANAM                    MO         90006167873
57356793891552   ERIK         GARCIA                    TX         90014427938
57357386891895   JASMIN       PETE                      OK         90013233868
57359432261965   TIM          WADE                      CA         90014004322
57359897991587   ROGELIO      TARANGO                   TX         90005728979
57362392141224   VANESSA      SECRIST                   PA         51095913921
57362427685873   WENDY        CHMIELNIK                 CA         46062444276
57363353291587   DAVID        MARQUEZ                   TX         90004843532
57364552671942   JUSTIN       OWENS                     CO         90009585526
57368662451348   JANAE        JACKSON                   OH         90001336624
57371143591587   ERICA        PUGA                      TX         90012301435
57372274254152   ANGELA       CLARK                     OR         47033572742
57373278691895   DONESHA      DAVIS                     OK         90010372786
57373912491587   LUISA        FLORES                    TX         90015299124
57374558231429   AMBER        COBB                      MO         90001895582
57375834291895   PALLOP       CHIVALUKSNA               OK         90012948342
57377139931429   CURTIS       MUSE SR                   MO         90002691399
57379165291895   ELVA         HERNANDEZ                 OK         90013951652
57379837931431   CODY         AARON                     MO         27593518379
57382149191862   SUSAN        MARTIN                    OK         90012181491
57382216961971   NANCY        HERRERA                   CA         90012492169
57382931361965   PAYGO        IVR ACTIVATION            CA         90014969313
57383234833699   MARIA        GARIBO                    NC         90007822348
57384183154152   DANIELLE     LOVINGER                  OR         47015231831
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57386187661971   FRANCISCO         OLVERA               CA         90006341876
57387553455997   ALEXA             LEON                 CA         90015345534
57388344454152   SHANA             G WRIGHT             OR         47018013444
57393927851348   MARKUS            SULLEN               OH         90014919278
57396979155997   PABLO             MANZO                CA         49000359791
57397819491895   THOMAS            DOYLE                OK         90014888194
57398737761971   RAYMON            RAMIREZ              CA         90009937377
57398863772482   WOODROW           PRENTICE             PA         90002158637
57411485391587   SUSANA Y ANDRES   AREVALO              TX         90010854853
57411615851336   JOYCE             GAITHER              OH         66035556158
57412399661998   TRINIDAD          HERNANDEZ            CA         90008423996
57412762431429   ANDREA            GULLY                MO         90013237624
57413125261971   TAINA             ROZIER               CA         90008541252
57413514391535   JISSA             RAMIREZ              TX         90005435143
57413775191587   RUTH              ZEPEDA               TX         90001307751
57414829654152   MATTHIAS          CRANDALL             OR         90002748296
57416882291587   MARGIE            HERNANDEZ            TX         75052378822
57418589391587   VICTOR            ALVARADO             TX         90014145893
57422218281683   MEKEYA            WILSON               MO         29026152182
57422597691895   MICHAEL           CAMPBELL             OK         90012075976
57428344855997   HAMILTON          HYATT                CA         90002463448
57429141554152   SAMUEL            GIBSON               OR         90006401415
57433173791895   SUMMER            MCCLELLAN            OK         21064521737
57434148261971   TOMI              STIDGER              CA         90015531482
57444869561956   DANIEL            CONTRERAS            CA         90002888695
57446147551348   MAURICIO          BERRIOS              OH         66083651475
57449194691895   KEANDRE           WALTON               OK         90013951946
57451648391587   MA                ALMARAZ              TX         90012036483
57452594781688   JOY               JOHNSTON             MO         90009495947
57453467655997   BELEN             CHAVEZ               CA         49035674676
57454219491587   BRISSA            CASTELLANOS          TX         90012222194
57455914351348   CASEY             MINTON               OH         90001889143
57456286157379   SCHLAN            MATTOX               MO         90015352861
57458152755997   ROMAN             AVILA                CA         49092731527
57459346861965   VICTOR            BRAVO                CA         90012963468
57461193691895   LAWANA            OSBORNE              OK         90001621936
57463188155997   EDUARDO           TORRES               CA         49060051881
57463861391587   DONNA             COGANN               TX         75016708613
57465425151348   JESSICA           ASBURY               OH         90003364251
57466154933661   DESIREE           SANDERS              NC         90006611549
57467182661931   BEATRIZ           AVILA                CA         90003331826
57468194791895   LATOYA JUANETTE   MCVAY                OK         90013951947
57468591655997   SUZANNE           MONTOYA              CA         90009815916
57471761651348   HEATHER           ROBERTS              OH         66089667616
57476638436165   SHANIQUA          WILLIAMS             TX         90013876384
57482278854152   ANDREA            PETLEY               OR         47030432788
57483823354152   NURAN             ARAS                 OR         90000838233
57484684491922   CIERA             PHELMETTA            NC         90008486844
57486495931429   ALI               WILLIAMS             MO         27596124959
57488938181265   DESHAUNAT         ROBB                 OH         66023349381
57489866291576   BRENDA            SOLORZANO            TX         90004458662
57497584857157   DAVID             MENDEGILA            VA         81080505848
57497952591587   MARTHA            SANCHEZ              TX         90014409525
57499979861965   DIEGO             CARRASCO             CA         46000469798
57511692377574   SIDNEY            BROWN                NV         43080756923
57511912951348   CARLA             CLIETT               OH         90006339129
57512252161971   YOBANY            ALTAMIRANO           CA         90013362521
57512796333699   VICTORIA          HOOSIER              NC         12010227963
57513398851348   GEORGE            HARMON               OH         66052153988
57517529655997   CANDICE           SCHWARTZ             CA         90004275296
57518849561965   ANDRES            ROSSAINZ             CA         90012858495
57519258831428   GARY              BURGESS              MO         27598872588
57519489791895   KITTY             EZELL                OK         21020194897
57519717955935   DALIA             MONTIVEROS           CA         90014027179
57522326241244   GEORGEANN         PISTELLA             PA         90013653262
57524957185947   DANIEL            MARESCA              KY         90008819571
57525214151336   JANICE            MITCHELL             OH         90010672141
57525935391895   DONNA             GRIFFITH             OK         90014739353
57534662691895   LIVIER            HERNANDEZ            OK         90008826626
57534735161965   OBDULIA           MAGDALENO            CA         90006757351
57534926261971   YOUNUS            HANNA                CA         90008109262
57541919154152   DAVID             LOCKHART             OR         90009329191
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57542351655997   MAYANIN      VALLE SALAS               CA         90013453516
57543379355997   HENRY        WIENS                     CA         90014413793
57544734191895   SHANNON      MOSS                      OK         21002657341
57546874855997   JOSHUA       REYES                     CA         90011478748
57548342451348   ANGELA       PERDUE                    OH         66028333424
57549265691587   CARLOS       MIJARES                   TX         90013832656
57549863772482   WOODROW      PRENTICE                  PA         90002158637
57552875181621   ANTHONY      STOWELL                   MO         90012798751
57554458466186   SONYA        GOMEZ                     CA         90012044584
57555157361965   SAEED        WAAD                      CA         90013801573
57555522291895   CONNIE       CRABB                     OK         90005225222
57555611951348   NICOLE       MARSHALL                  OH         66075286119
57555918961971   JACQUELIN    OREA                      CA         90000219189
57556126633699   PATRICIA     MARTIN                    NC         90006771266
57557494131428   DEVONTE      FAIR                      MO         27508614941
57557963761971   YANNICK      NGAMUYEKA                 CA         46032689637
57558272631429   TONYA        MULL                      MO         90001592726
57562445161965   KIMBERELY    BRADEEN                   CA         90014854451
57562476155997   ALEXIS       MOLINA                    CA         49095124761
57562694157157   MELANIE      BUSHROD                   VA         81001686941
57565941271671   PAMELA       BROWN                     NC         52038099412
57566192261965   GRETCHEN     REGENAUER                 CA         46070331922
57566238391895   SHAWN        WILLIAMS                  OK         21088592383
57567357461971   RUSSEL       ALEXANDER                 CA         90012743574
57568378491587   FABIOLA      RODRIGUEZ                 TX         90004893784
57569199461971   SHANNON      PINKHAM                   CA         90014631994
57573433857157   AUGUSTA      M-BANGURA                 VA         81001704338
57574439431428   RACHEL       BIECK                     MO         27542004394
57576173461965   ANGELA       ANGELETTA                 CA         90011111734
57584587255997   HUGO         MARTINEZ                  CA         90000505872
57586843791895   EDWARDS      WILLIAMS III              OK         90011698437
57586862191535   EUNICE       ROMERO                    TX         90012528621
57593729655997   JULIO        SANCHEZ                   CA         49000567296
57593839951348   MICHELLE     HUDSON                    OH         90011348399
57595318655997   FREDDY       CERVANTES                 CA         49006323186
57599287855997   ALBERTO      CHAIDEZ                   CA         49095422878
57611383491895   MARGIE       BRAY                      OK         21092223834
57611388686443   KIRSTON      EPPS                      SC         90014163886
57611569391895   MARTEEZA     STIGGER                   OK         90012975693
57612363991895   KIMBERLY     MAYES                     OK         21091173639
57614285891895   STEPHANIE    BRYANT                    OK         90013952858
57615292861965   JOANNE       YARD                      CA         90013132928
57615588351348   JAMES        WILLIAMS                  OH         90002915883
57618454691895   JOSE         GONZALEZ                  OK         21047654546
57619244261971   RAYMOND      HENNECART                 CA         46098642442
57622467491587   ADRIANA      DIAZ                      TX         90013894674
57622543951348   TRECIA       ORTIZ                     OH         66003825439
57623362854152   STEPHEN      EASTMAN                   OR         90007443628
57625822755997   JOSIE        CARRILLO                  CA         90014758227
57632641861971   LITH         QARYAQOS                  CA         90010686418
57633421561965   MANUEL       SOTO                      CA         90003094215
57635414533696   KEENAN       JONES                     NC         90006654145
57638212555997   EVA          DE LA CRUZ                CA         49071952125
57638356391856   LAKISHA      CYRUS                     OK         90009173563
57638629431444   SHANE        MCCOMISH                  MO         27503376294
57639319642335   CHELSEA      ERNST                     GA         90013583196
57639597355997   JORGE        LOPEZ                     CA         90014255973
57641674555997   SARA         HERNANDEZ                 CA         90012946745
57643445161965   KIMBERELY    BRADEEN                   CA         90014854451
57644395955997   BERTHA       VARGAS                    CA         90013183959
57645254961965   SARAH        HENRY                     CA         90014392549
57645852661965   NATALIE      WOODS                     CA         90012848526
57647316391895   DANA         RILEY                     OK         90014823163
57647398461965   MARY         OKELLO                    CA         90006063984
57648297791895   JANET        FEELEY                    OK         21071622977
57648838661971   KELLI        HOLBROOK                  CA         46012728386
57649175591895   CAROL        WILIAMS                   OK         90009241755
57649775551383   NUVIA        YANEZ                     OH         90004417755
57649892757157   JOSE         PORTILLO                  VA         81082658927
57651487191587   MARYSOL      MOLINA                    TX         90013894871
57651984784357   DAMIEN       COHEN                     SC         90010479847
57655256151348   LUCIO        TORRES                    OH         90010762561
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57657899325428   TERESA                JOHNSON          GA         90001988993
57661261697164   MIRIAM                CHAN             OR         44579492616
57661635361965   AIOTEST1 DONOTTOUCH   DONOTTOUCH       CA         90015116353
57661816861971   JITA                  JONES            CA         90005368168
57662956691552   ADRIAN                AGUILAR          NM         75013679566
57666975755997   VICTOR                HERNANDEZ        CA         90006059757
57667125591587   SERGIO                RAMOS            TX         75015401255
57667924331428   MARIO                 SMITH            MO         27510689243
57667977833699   LUKE                  ROBERTSON        NC         90009169778
57668275355997   ESPERANZA             RIOS             CA         49059102753
57674997231429   ANNA                  SCHNEIDER        MO         90002129972
57676268855997   MARIA                 DALGADO          CA         90009242688
57676342991895   KIMBERLY              DOWNING          OK         21082653429
57679316161965   YONNATAN              YOHANNES         CA         46024243161
57684844151348   DALE                  PHILLIPS         OH         90012448441
57685115261971   STEVEN                MANN             CA         90004331152
57685119791895   IRAN                  CARRASCO ORTIZ   OK         90010921197
57687156491587   ILUSION               MONCADA          TX         75076381564
57687969257123   EMILIO                RODRIGUEZ        VA         90009879692
57691195271942   JOSEPH                COOK             CO         90010801952
57691349955997   REGINA                JACKSON          CA         90014513499
57692666691587   LAURA                 BRYANT           TX         90009716666
57692975291895   JENNIFER              LINDSEY          OK         21097949752
57693394651348   ASHLEY                CLEMMONS         OH         90010693946
57693424355997   VERNON                CHILDERS         CA         90001404243
57693773557153   ODIN                  LOPEZ            VA         81025027735
57694854155997   AHMED                 ALHOMEDI         CA         90013008541
57697712291587   CYNTHIA               RAMIREZ          TX         75092957122
57698626591587   BEATRIZ               RODRIGUEZ        TX         90006666265
57699561161965   EVA                   CHAVEZ           CA         90003955611
57711693981265   RYAN                  HOLLINGSWORTH    OH         90008676939
57712489591587   JOSEAH                MELENDEZ         TX         90005274895
57713828261965   MARTHA                ROMERO           CA         46079768282
57713888191587   AMABILIA              PAYEN            TX         90012268881
57714962761971   JAVIER                CRUZ             CA         90008999627
57721677191895   JENNIFER              WEARSTLER        OK         90003786771
57721756257157   TESJAYJU              DAQNEW           VA         90006587562
57724139155997   PEGGY                 ASTON            CA         49026871391
57729522161965   JESUS                 PARRA            CA         90011405221
57731545391587   MIKE                  JIMENEZ          TX         90013895453
57733736433696   HERBERT               PURCELL III      NC         12092457364
57735448957157   REINA                 RODRIGUEZ        VA         81010454489
57736624161965   SHARON                KEMP             CA         46094796241
57736627755997   ANGIE                 MUNOZ            CA         49032196277
57737375161971   CLEMENTE              SOLIS            CA         46056753751
57738527191587   MARTIN                ROSALES          TX         90013865271
57738635791587   MARTIN                ROSALES          TX         90012166357
57741316161965   GEORGE                MILLSPAUGH       CA         90008873161
57741719393782   EDWINA                SWANN            OH         90008357193
57741968957157   ROSA                  RAMIREZ          VA         81011789689
57745675584852   FRANSISCO             ANDRADE          NJ         90015216755
57748756351348   CESAR                 VIRUET           OH         90014957563
57751266161965   EVELYN                LINDGREN         CA         90006942661
57751923191535   RUTH                  RAMIREZ          TX         90000859231
57751955261971   BRANDON               CONNER           CA         90013219552
57752618784346   GEORGE                STOKES           SC         90013876187
57753494791587   TERE                  HERRERA          NM         75025014947
57758111355997   LETICIA               HERNANDES        CA         90012851113
57758544457131   JULLIANO              ALVARADO         VA         90011465444
57758699861965   EMMILLEE              TEC              CA         90013356998
57759688161971   SILVIA                QUEVEDO AVALOS   CA         90013516881
57759719393782   EDWINA                SWANN            OH         90008357193
57759756791895   AMANDA                LONG             OK         90013867567
57761235191576   JAIME                 TREJO            TX         90009572351
57761277855997   HUGO                  FLORES           CA         90013842778
57762346891895   MANUEL                MONTOYA          OK         90013953468
57763277191895   BETTY                 DENNEY           OK         90015092771
57763347291895   TOMMY                 EDMUNDSON        OK         90013953472
57764165291265   TARA                  JONES            GA         90009011652
57765393751348   ERICA                 RUFFIN           OH         66056053937
57765763991982   LEIGH                 KHELIFI          NC         17063837639
57766496857157   SAADAT                RANA             VA         90013884968
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57771182151348   COURTNEY      WAHOFF                   OH         90014961821
57771554155997   CELIA         RAMIREZ                  CA         49091875541
57775677151348   LATOYA        THOMPSON                 OH         90011426771
57775914391895   KEWANNA       THOMPSON                 OK         90012939143
57777887961971   RITA          JABBO                    CA         90014158879
57779541131429   ANTOINETTE    WASHINGTON               MO         27555765411
57783883991587   BRIAN         HERRERA                  TX         90011208839
57785715655997   LAURA         MOSS                     CA         49085457156
57785834633699   ELEANOR       BRADY                    NC         12063268346
57785898731428   BRANDY        JOHNSON                  MO         27538508987
57788246485657   GIL           GARCIA                   NJ         90012662464
57791187161965   DANIEL        GUERRERO                 CA         90007141871
57794466991587   MARIA         CRUZ                     TX         75000694669
57795715655997   LAURA         MOSS                     CA         49085457156
57798159561971   KAELIN        HEDRICK                  CA         90010531595
57798174355997   MATTHEW       CORONADO                 CA         90015211743
57798379641247   NICOLE        WILLIAM                  PA         90011303796
57798428663634   TONYA         WALKENHORST              MO         90005834286
57813177433699   BECKY         SEDIG                    NC         12006581774
57815258531429   CINDY         MOORE                    MO         90006472585
57817571761971   BRENDEN       COCHRAN                  CA         90012575717
57818716984342   DENNIS        DOLKANI                  SC         90008057169
57822347561965   GIOVANNA      SOTO                     CA         90012043475
57825152451348   KEVIN         GREEN                    OH         90000981524
57826413291587   IRMA          LOPEZ                    TX         75088004132
57827956151348   JOHN          LYNCH                    OH         90010509561
57828174233699   NEANA         GLENN                    NC         12034731742
57828527761971   JESSELYN      SMITH                    CA         46030775277
57831237591895   MERLIN        VELAZQUEZ                OK         90008872375
57835914251383   WILLIE        POMPEY                   OH         66089459142
57836123151348   AMANDA        REECE                    OH         90000511231
57836458161965   BUSHRA        DALLI                    CA         90010764581
57836521791323   ANDREA        BELL                     MO         90005485217
57837744861971   RONI          MAROOKI                  CA         46088787448
57843431661965   JESSICA       HERNANDEZ                CA         90014844316
57847386391895   CHRISTOPHER   CHRONISTER               OK         90013953863
57848732691587   JOSE A.       QUINTANA                 NM         90013927326
57851917891587   OSCAR         FLORES                   TX         90003859178
57853411161971   JASON         ENRIQUEZ                 CA         90011994111
57855113391587   CHARLES       EDWARDS                  TX         90010921133
57858429261971   ZINEB         FEHRI                    CA         90000854292
57862781691524   MICHELLE      FLORES                   TX         90012027816
57862941491881   ROCKY         BALLARD                  OK         90010389414
57863115261971   BASHAR        QANBAR                   CA         90009601152
57863535691895   GARVIS        COLLINS                  OK         90012835356
57865261191587   ZULEMA R      CONTRERAS                TX         90002572611
57866795151383   ELIZABETH     MUSIC                    OH         90009517951
57867894151348   TODD          NICHOLAS                 OH         90014958941
57868894151348   TODD          NICHOLAS                 OH         90014958941
57872792761971   LAWRENCE      HAPP                     CA         90013447927
57873894151348   TODD          NICHOLAS                 OH         90014958941
57878156851329   TIFFANY       STEWART                  OH         90001681568
57878982451348   AMBER         CALVIN                   OH         90001959824
57878998151294   CATHERINE     HOTT                     PA         90011739981
57879759657157   AMUSCHETTE    BROOKS JR                VA         81041147596
57882429191587   ANTONIO       REYES                    NM         75079814291
57883383357157   DUSTIN        CUTLIP                   VA         81003113833
57885472155997   JENNIFER      CORTEZ                   CA         90013204721
57886565955997   MARIA         JAURIQUI                 CA         90013915659
57889276155997   ALISON        BEAVERS                  CA         90014742761
57889688761965   JOHN          RWIYAZA                  CA         90013096887
57891694842335   CRISTOPHER    FIELDS                   GA         90003326948
57893837991587   STEPHANIE     SAENZ                    TX         90011858379
57893998151294   CATHERINE     HOTT                     PA         90011739981
57896343854152   TANYA         POWELL                   OR         90005683438
57896372651383   PATRICIA      TUBBS                    OH         90002093726
57899856454152   NYDIA         ESCOBAR                  OR         47004938564
57912333533699   SHARON        MCCRAE                   NC         12046893335
57912919661965   DIANE         SPAGNUOLO                CA         90013389196
57913985591587   RUBEN         VALLES                   TX         90014019855
57914678961971   SANAA         JIBOO                    CA         90009006789
57918718557157   EDWIN         GARCIA                   VA         90000827185
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57919782455997   ISMAEL          GUZMAN                 CA         90013517824
57923562891895   SHANNON         PERKINS                OK         90010545628
57924912125154   JANE            BREWER                 AL         90011149121
57925469161965   TIM             BURNS                  CA         46088284691
57926678454152   JONIE           STINER                 OR         47049776784
57928433291895   VANESSA         STEVENSON              OK         90013954332
57931356151348   ERIKA           JONES                  OH         90010513561
57931934591587   MCDANIEL        IRENE                  TX         90003029345
57932516155997   JUAN            ORTIZ                  CA         90014835161
57933962531443   JOHNSON         LARRY LEE              MO         90007479625
57934147691587   VALERIA         ORTEGA                 TX         90010921476
57934743457157   RUDIDIA         NUNEZ                  VA         90002747434
57937797691895   LILA            OSCEOLA-HEARD          OK         21010897976
57938469577583   JOHN            WHITE                  NV         90012404695
57938857661965   LIZBETH         MORALES                CA         90009978576
57939539855997   AMANDA          VELASCO                CA         90014385398
57941166261971   MANUEL          VUSILLOS               CA         46032721662
57946319591535   MIGUEL          BONILLA                TX         90007973195
57946371161949   ERIKA           NEGRETE-SUBIAS         CA         46086743711
57946384891895   LEO             CALLAHAN               OK         90011753848
57947457961965   MEKO            BOWDEN                 CA         90011794579
57949247555997   ERIC            REY                    CA         90012782475
57949985661941   JOANNE D        PEAKE                  CA         90004329856
57951433584784   ROY             ROSALES                IL         90012494335
57955581251348   ROBERT          ROBINSON               OH         90014555812
57955624561965   HODGES          LUCAS                  CA         46088196245
57956968661971   LUCKY           ANGAYEN                CA         90013429686
57957151591587   GIOVANNI        BLANCO                 TX         90010921515
57958848951348   TONYA           MCCLURE                OH         90014968489
57958958697164   FLAVIANA        TELLO-ARZOLA           OR         90012699586
57963368751348   DONALD          BACHMAN                OH         66058463687
57964953951348   WILLIE          DANIELS                KY         66042609539
57965387361965   ERIKA           HERNANDEZ              CA         90007733873
57965643451354   AMY             GRUBB                  OH         90013636434
57969476655997   ROSA            MAPICORO               CA         90009874766
57971226891587   LUZ             CALANCHE               TX         90001652268
57971673757123   ALBERTO         SALGADO                VA         81084586737
57973462784852   LASZLONE        KISS                   NJ         90014374627
57974379761965   MICHELLE        BENJAMIN               CA         46082313797
57976763751331   ISIDRA          JIMENEZ                OH         90001037637
57978337161971   MARIA           SANTOS                 CA         90003053371
57978539191895   AMIE            RADABAUGH              OK         90009845391
57981438991587   TABETHA         TREME                  TX         90010954389
57983764771956   JEFFREY         MAYFIELD               CO         90013377647
57984152855997   YESSICA         BAUTISTA               CA         90013761528
57985121855997   IRMA            FERNANDEZ              CA         90015191218
57985371861971   SIMER           JERJIS                 CA         90000813718
57988995691587   CLETO           ESPARZA                TX         90005889956
57994125191587   MARGARITA       ROCHA                  TX         90013371251
57994188861971   JOSE DE JESUS   GOMEZ                  CA         90014641888
57994416691895   TERRY           FLORES                 OK         21083244166
57995172261971   JAMES           HOOD                   CA         90012211722
57997995631429   TERRIE          CASEY                  MO         90005809956
58113632261971   RANDEE          AKOOBI                 CA         90004156322
58113643591895   TROY            MILES                  OK         90014766435
58122415625666   JAKE            SEATON                 AL         90009514156
58124256461965   VALENTINA       CAAMANO                CA         46082042564
58125687333696   DAVID           ESCOBAR                NC         90008686873
58125813761971   ROZELLE         GROFF                  CA         90010988137
58128727884342   TWANGIA         VINSON                 SC         90014417278
58128978861971   ROBERTA         LERMA                  CA         46056859788
58136343933699   KEYIA           WRIGHT                 NC         90013383439
58141465733699   YESENIA         SOLORIO                NC         12003324657
58141964151348   CINDY           PENNINGTON             OH         90008299641
58142952333696   AAA             COMM                   NC         90013969523
58145344623171   FELICIA         MORGAN                 MI         90015533446
58147328133696   NADEZSHA        HERBERT                NC         12091393281
58149798285833   JESUS           PENA                   CA         90006777982
58153867354152   SIERRA          WOOD                   OR         47062268673
58156427661971   IBRAHIM         ABDALLAH               CA         46034354276
58156774633699   JULIAN          RENTERIA               NC         90004747746
58158849185824   NARCISIO        OJEDA                  CA         90006308491
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58163113857153   WILLIAM           LITATES                VA       90010751138
58166142433699   ANNASTASHIA       LEE                    NC       90014051424
58166212157541   ABIGAIL           MATURINO               NM       90013352121
58168781857541   VERONICA          TAVE                   NM       90010127818
58169221491895   ANDREA            FRYE                   OK       90012672214
58169498251348   DANNIELLE         FUQUA                  OH       90012894982
58169558854152   ELIZABETH         CARR                   OR       90005065588
58172169391895   AOB               ENT                    OK       90007671693
58172447561971   APRIL             AGE                    CA       90012934475
58173511251322   DERRICK           WELTON                 OH       90003705112
58174811561965   CASSANDRA         WHITLEY                CA       90013788115
58175677451348   AUSTIN            NELSON                 OH       90015126774
58177197133696   AMANDA            CALVIN                 NC       12063501971
58179483751348   DEBORAH           WEST                   OH       90004224837
58181489451383   CHRIS             MOORE                  OH       90007964894
58182115991895   SHAMICA           ESCOE                  OK       90011491159
58182845861965   JENNIFER          VEGA                   CA       90014578458
58183617861965   JAMES             AVITIA                 CA       90014486178
58183692493754   SILVIA            RAMOS-RATLIFF          OH       90013836924
58187313433696   RITA              LAWRENCE               NC       12041273134
58189795351348   REGGIE            CASELLAS               OH       90003587953
58191917531428   QANI              BUSHO                  MO       90009279175
58192222961971   JOANNA MICHELLE   ROMERO                 CA       90014912229
58193749161971   CRYSTAL           JENKINS                CA       46014137491
58193836733699   JARMICA           JOHNSON                NC       90014198367
58194594831477   KENDRA            WILLIAMS               MO       90007815948
58196119233699   ANAYELI           CHAVEZ                 NC       90009631192
58196414691895   CONCEPCION        MONDRAGON DE MERCADO   OK       90009114146
58212636561965   CHRISTINA         KORALCHECK             CA       46087416365
58213522161965   ELVIS             CANSECO                CA       90012095221
58213574557541   CHRISTAL          RODRIGUEZ              NM       90003165745
58215324593721   JOEL              LINO                   OH       90013693245
58215985761965   AMEER             JAJU                   CA       90010799857
58218281157541   JENNIFER          MOTE                   NM       90010182811
58219217454152   DAVID             SMITH                  OR       47052882174
58219357551383   KIMBERLY          KELLY                  OH       90008893575
58226642233699   SONYA             ALLEN                  NC       90010026422
58226814442363   JENNIFER          BROCK                  GA       90003828144
58227271391895   BOBBY             HITCHCOCK              OK       90014692713
58227652161971   RUGINA            BELL                   CA       90014516521
58228212157541   ABIGAIL           MATURINO               NM       90013352121
58229181754152   SHEILA            OSBURN                 OR       47007281817
58231715451348   SHANNON           VEHR                   OH       66010637154
58232987877568   JANET             KEMP                   NV       43091769878
58234891633696   CHARLENE          CHEEK                  NC       90014848916
58239948457541   PATRICIA          RIOS                   NM       90006039484
58243621891895   DAVID             MARTIN                 OK       90006666218
58245157158528   JOHNATHON         VASUTHEVAN             NY       90015461571
58249138533696   EMILY             CRANE                  NC       90013971385
58251926533696   YVONNE            PEEBLES                NC       90014909265
58254178161971   GLORIA            SARABIA                CA       90014341781
58255178161971   GLORIA            SARABIA                CA       90014341781
58255435151383   LEEROY            LARKINS                OH       66069844351
58256311885657   RAFAEL            OTERO                  NJ       90008383118
58257399361971   MUKHTAR           ABDULLE                CA       46011743993
58262632971922   VERA              SCHERMERHORN           CO       90009986329
58262693771922   TONY              GRICE                  CO       90010606937
58266797657541   JOANNA            SEITZ                  NM       90012137976
58267476633699   TEKIA             SCALES                 NC       90001724766
58267485791895   DERRAI            HUFF                   OK       90005474857
58267655561971   ALEXANDREA        ABERBOM                CA       90014816555
58269564233696   ELVIA             TAPIA                  NC       90003125642
58271819631429   NATALYA           JOHNSON                MO       27535728196
58274383851348   JEFF              SHORTH                 OH       90014403838
58275611533699   STEVEN            MCLAURIN               NC       90012336115
58278492361949   JUSTIN            HEIAN                  CA       90011134923
58278814442363   JENNIFER          BROCK                  GA       90003828144
58282447561971   APRIL             AGE                    CA       90012934475
58283572593747   JEROME            DENMARK                OH       90001085725
58286642857541   AMBER             COLDWELL               NM       90011366428
58288213457541   TRICIA            SAUCEDO                NM       90011612134
58293834391895   ISABEL            CASTANEDA              OK       90010588343
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58293866361971   CASSANDRA     CARR                     CA         90013468663
58295231777581   MARTA         GARCIA                   NV         90012232317
58297621157541   RICHARD       GUILEZ                   NM         90012836211
58297843841229   ASHLEY        DELLICARPINI             PA         90001118438
58298791581621   ARTIE         COOPER                   MO         29063707915
58311889733696   TREVAR        ROGERS                   NC         90009658897
58312692257541   MARCOS        RODRIGUEZ                NM         90013376922
58313318351348   KAY           MCCANTS                  OH         90014173183
58313676354152   GARY          GAUDETTE                 OR         90003286763
58313897491895   GABRIELLE     TWEEDY                   OK         90010588974
58314874361965   ROSS          WILSON                   CA         90013158743
58315183657541   VALARIE       REISNER                  NM         90012411836
58317391157541   CYNTHIA       DRISOLL                  NM         35526733911
58317422333699   SHARRIKA      YOUNG                    NC         90014734223
58318851291895   HILDA         HOLLOWAY                 OK         90005388512
58318925661939   ARASELI       RUIZ FARIAR              CA         90011619256
58319431861965   BARBRA        BARKER                   CA         90000884318
58321592233696   ANGELA        EDWARDS                  NC         12068375922
58322651851348   TRACY         STEAGALL                 OH         90015206518
58324285485877   SHAHROKH      PARVINI                  CA         90003732854
58325914557541   MARY          KEITH                    NM         90013469145
58328265151348   YA-MIAH       DAVIS                    OH         90013002651
58329189261971   DANIEL        CORTEZ                   CA         90013861892
58329563861971   DANIEL        CORTEZ                   CA         90013015638
58331746661965   DIANA         TELLO LINARES            CA         90012677466
58334217661965   CHRISTOPHER   KIRCHNER                 CA         90008102176
58334285954152   DOUGLAS       TREISCH                  OR         47003882859
58336297191895   DASHAWNA      WATKINS                  OK         90014812971
58336884533696   VIVEON        JOHNSON                  NC         90015188845
58337843561971   AUSTIN        ALDRICH                  CA         90014588435
58342756291895   BRANDON       DAVIS                    OK         90014727562
58343412433699   APRIL         HARRIS                   NC         90003004124
58344863991895   FABIAN        GODOY                    OK         90013918639
58345499191895   SHAWN         TAYLOR                   OK         21016244991
58346243557541   JARED         BROWN                    NM         90005162435
58346825754152   DANA          BEN                      OR         90007268257
58347858757541   WILLIAM       LATHAM                   NM         90012628587
58348475931428   JETTAQUA      JOHNSON                  MO         90013424759
58348767791895   JAMES         WATSON                   OK         90014197677
58351726833699   ROBIN         DAVIS                    NC         12016967268
58357784161971   CHRISTIAN     THOMAS                   CA         90015167841
58358183961965   HANEEN        HAMAD                    CA         90010791839
58362667251348   KAREN         CARSON                   OH         66031256672
58363513651332   TATIANA       CORCORAN                 OH         90009155136
58363781657541   BENJAMIN      CALDERON                 NM         90013667816
58368781657541   BENJAMIN      CALDERON                 NM         90013667816
58369125851348   DERISSA       WALKER                   OH         90014801258
58371531377568   MANUEL        HERNANDEZ                NV         90001155313
58371898161965   JUANA         GODINEZ                  CA         46042698981
58372393661998   CARLY         JOSEPH                   CA         90001343936
58375416361965   DUSTIN        NICHOLAS                 CA         90006384163
58376179657541   ROBERTA       KAULAITY                 NM         90011311796
58376686451348   SHARONDA      MASTER                   OH         90009876864
58376975231428   MARICRUZ      JARAMILLO                MO         90011799752
58377427391895   DANIELLE      BUTLER                   OK         90012884273
58378126477568   MARTHA        FRAUSTO GALVAN           NV         43073371264
58378389857541   GERALD        CRAWFORD                 NM         35507623898
58378872931428   KAMILHA       PARKER                   MO         90010208729
58379279721653   SAMMIE        DAVIS                    OH         90014042797
58379867291895   TERESA        DAWN                     OK         90013918672
58381487357541   TORIE         MCCASLIM                 NM         90010964873
58385331891895   SHANON        MAUPIN                   OK         21052383318
58385432131429   CHAD          KEUTILE                  MO         90003694321
58389433431429   MARSELL       BOYD                     MO         90003694334
58389875591895   FLORENTINA    PALAFOX                  OK         90013918755
58391874361965   GORDON        PERKINS                  CA         90013768743
58393647154152   SANDRA        LINKENBACK               OR         90005036471
58393958433699   BEATRIZ       JIMENEZ                  NC         12058469584
58394329851348   JUNIOR        PASTORIZA                OH         90014623298
58394422333696   ZAQUAIL       RUSSELL                  NC         90005124223
58395332991895   MARY          RAMSEY                   OK         21034623329
58395624461971   EUGENIA       GUERRERO                 CA         90008156244
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58395997954152   ANNA         DUNLAP                    OR         47058779979
58396388177568   ANEL         RIVERA                    NV         90004123881
58399363933699   NICOLE       KELLER                    NC         90012943639
58399654357126   NELSON       UMANA                     VA         90001026543
58399713131428   ANGELA       FORD                      MO         90004237131
58411827891895   MELISSA      HUGHES                    OK         90011608278
58414973877568   DESIREE      WORSCHE                   NV         90011329738
58417979261965   LISA         LANE                      CA         90009769792
58422595741231   TIESHA       BOLES                     PA         90007905957
58427834761971   CONSUELO     RODRIGUEZ-LANDINO         CA         90010688347
58427856557541   JOHN         EGBERT                    NM         90010498565
58432261561956   SABRINA      CARROLL                   CA         90005872615
58432466154152   MICAH        SPROSTON                  OR         47053614661
58432724761971   MARILYN      DILL                      CA         46060747247
58432982491895   CLAUDIA      SHELLEY                   OK         90001619824
58436148651348   CRYSTAL      TAYLOR                    OH         90000521486
58436493191895   PATRICIO     AGUAYO                    OK         21002714931
58439941861971   RHONA        WILLIAMS                  CA         90014939418
58442378333696   ZURAMA       BARRERA                   NC         90014113783
58442835161971   LILIA        ENRIQUEZ                  CA         90010688351
58443424131428   DARLENE      MCKINNEY                  MO         90006154241
58446374157127   ROSMARY      DORADO                    VA         81024493741
58447393761965   MARY         CARRIZOSA                 CA         90012853937
58448951461971   MISTY        STEELE                    CA         90003079514
58452226257541   PRUDENCE     PUERTO                    NM         35555132262
58452655251348   POLLY        WASHINGTON                OH         66071976552
58453779261965   FRANCISCO    MILLAN                    CA         90008367792
58454598557541   DOMINIQUE    THOMPSON                  NM         90008365985
58454685861965   LUIS         MORALES                   CA         90014156858
58457925877568   GABRIEL      GARCIA                    NV         90006129258
58459881933699   TAMIKA       LINDSAY                   NC         90010428819
58464514431429   DAVIDA       NEAL                      MO         90002535144
58466372571956   ALVIN        WALTERS                   CO         90012323725
58466559657541   JADE         HICKS                     NM         90000935596
58466736461971   FRANCISCO    MENDEZ                    CA         46034357364
58471677554152   TIMOTHY      OVERLANDMILLER            OR         47009776775
58471795791895   SARAH        HARRELL                   OK         90013547957
58472365791895   ALVARO       GOMEZ                     OK         90010593657
58472447451348   KARLA        THOMAS                    OH         90014934474
58474199633699   CECILIA      HAYNES-SHORE              NC         90012841996
58475575661965   JUAN         CHAN                      CA         46030975756
58481514131428   DANIEL       KURTH                     MO         90006895141
58481916857541   VERA         MARRERO                   NM         90006249168
58482694691925   DEANNE       CARDENAS                  NC         90005346946
58487146457541   SONYA        MCKINLEY                  NM         90013121464
58487848991895   SHAYLA       MARSHALL                  OK         90012928489
58492867761965   COURTNEY     MENTZER                   CA         46044328677
58493138761965   SARA         SYBERSON                  CA         90008451387
58493291377582   DUBIA        DE LA TORRE               NV         43068202913
58495269954152   AARON        NADEAU                    OR         90010702699
58495475491895   DAVID        VASQUEZ                   OK         90011454754
58496148661965   ROSS         TAKASUGI                  CA         90013211486
58496448951348   BLANCA       ARDON                     OH         66025224489
58496723591895   MILAN        OWENS                     OK         21064997235
58498774177568   ADELAIDA     MEDINA                    NV         90001277741
58498893861924   ANDY         BEERS                     CA         90006348938
58499125377568   MIKE         SALISBURY                 NV         90004271253
58499495861971   CHRISTINA    SARFF                     CA         46006314958
58512419833699   RICK         HINNANT                   NC         90006924198
58522379933699   DESHAUNA     NAPPER                    NC         12000523799
58523446433696   BO           BLACK                     NC         90011154464
58525119133699   MONICA       TIMMONS                   NC         12006351191
58525356791895   MONICA       PIERCE                    OK         90012563567
58529239161971   HASHIM       KHAIRO                    CA         46088032391
58543933233696   LARRY        HARRIS JR                 NC         12006129332
58545845851348   RONNIE       JORDAN                    OH         90014868458
58546767161965   LUIS         MORALES                   CA         90014157671
58547234551365   SHANICA      FRAZIER                   OH         90014182345
58548152931483   DAVID J      HEDIGER                   MO         90002451529
58549595161971   LATIFU       SAMS                      CA         46058345951
58551228761971   WES          HOWARD                    CA         46097532287
58553826131428   JERRICA      SLATE                     MO         90009428261
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58555278591979   LESLIE        RICHARDSON               NC         90014872785
58555422591895   ROSCOE        PARNELL                  OK         90012904225
58555941361965   JHON          CASWELL                  CA         90014039413
58555943357541   COURTNEY      SPIKES                   NM         90011009433
58558325277568   LESTER        DUENAS                   NV         90007293252
58559667761965   TOMAS         HERNANDEZ                CA         90013716677
58561818351348   JAENNIE       TURICH                   OH         90013418183
58564338991895   SHERATON      JAMES                    OK         90014713389
58564726531428   NAVONNE       BILLS                    MO         90009327265
58564884231429   MARIE         HUGHES                   MO         90003478842
58567237831429   CHELESEE      COOPER                   MO         90011152378
58567633257541   AUGUSTUS JR   ROBEDEAUX                NM         90012876332
58571141691552   ERICA         SILVA                    TX         90007791416
58572562451383   MATT          BICKEL                   OH         90001105624
58573859851348   CLAUDE        MORRIS                   OH         66006118598
58574623931428   WILLIAM       ARNOLD                   MO         90011806239
58575337661971   PAULA         MOURA                    CA         90013063376
58575529151348   OBDULIA       GOMEZ                    OH         66009175291
58576621654152   JESSICA       CHANDLER                 OR         90013956216
58578659157127   ALEMAYEHU     MESHESHA                 VA         81011696591
58583275861965   TOM           KNIGHT                   CA         90000532758
58583399357541   KRISTINA      KENNEDY                  NM         90010023993
58584346957541   DE ANNA       PITT                     NM         35506033469
58589977233699   GWEN          HUNTER                   NC         90012519772
58591644131428   GEORGE        WALKER                   MO         90011806441
58594581161971   BRENT         BOSCH                    CA         46076495811
58595237877568   VICTOR        SOSA                     NV         90001432378
58596866333696   DINAE         THOMAS                   NC         90006998663
58597576131428   KAREN         RUFFIN PAYNES            MO         27557325761
58612472255949   SIMON         CASTRO                   CA         90008174722
58613355171956   ESTHER        GONZALEZ                 CO         90007113551
58615272984334   FRANCISCO     GONZALEZ                 SC         90005842729
58618399151348   THERSA        BOATRITE                 OH         90008533991
58618424591895   OLETA         WHIBBEY                  OK         21034534245
58622148661965   ROSS          TAKASUGI                 CA         90013211486
58622334351383   DAVID         MYERS                    OH         90004243343
58622917191934   OLADOYIN      IRANLOYE                 NC         90006069171
58624652331428   KRISTINE      GERLING                  MO         90010586523
58625631181669   CRYSTAL       SHOTWELL                 MO         90006846311
58626795358528   CANDIDO       JUAREZ                   NY         90015567953
58632167133699   REGINALD      C00PER                   NC         12042761671
58634744161965   DANIEL        ORTIZ                    CA         90014407441
58636772351348   JEREMIE       WHEELER                  OH         90000877723
58637228177574   JUAN          GUERRERO                 NV         43013812281
58638196191895   KELSEY        HOLMES                   OK         90014501961
58638716791895   TERI          GRAVES                   OK         21064877167
58638955851348   JANUARI       BROWN                    OH         66007619558
58641598561965   GUADALOPE     GOMEZ                    CA         46014885985
58641837791895   KARLA         NIETO                    OK         90008998377
58642283457122   FRED K        FORSON                   VA         90000832834
58643839161971   PRISCILLA     DELEON                   CA         90015098391
58644546891534   DANIEL        ROSALES                  NM         90006625468
58646141691895   TRAVIS        YORK                     OK         90013221416
58647386151383   NAUTIKA       BROWN                    OH         90004243861
58647881931428   KAI           WARFIELD1                MO         90001988819
58652159633696   BRITTANY      MILTON                   NC         90013621596
58652442861965   JENNIFER      PEREZ                    CA         90013344428
58657584957541   MELISSA       MANCHA                   NM         35557085849
58657774931428   SABINA        SMITH                    MO         90011807749
58658559331465   CARLA         SMITH                    MO         90007075593
58659763761971   ARLETTE       RUIZ                     CA         90009917637
58661861991895   PAUL          THOMPSON                 OK         90009568619
58663286885873   MIRIAM        FAIRBOURN                CA         90009732868
58663875261965   JODI          SOTO                     CA         90014838752
58664638161971   DANIEL        SCOTT                    CA         46033596381
58665992133696   EDITH         SLOAN                    NC         90007979921
58667657391524   SARA          OCHOA                    TX         90010526573
58668444451348   SHANA         SPITZNAGEL               OH         90014154444
58669213133699   CHRISTOPHE    GODFREY                  NC         90001422131
58669882251383   KIMBERLY      DEATON                   OH         66087218822
58672539877568   ANA MARIA     MONTALVO                 NV         90006605398
58675739754152   LAURA         JAMEISON                 OR         47015557397
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58676758758528   CARLA            DOZIER                NY         90015497587
58676853157131   SUYAPA           PAZ                   VA         81059048531
58678396131428   KATY             SMITH                 MO         90010113961
58681265933696   JOYCE            TULLOCH               NC         12002062659
58682474433696   SHATIERA         GAINYARD              NC         90014194744
58683262461929   SANDOR           CARDENAS              CA         90003052624
58683275961965   BOBB             MARLEEY               CA         90007042759
58683465361971   BRIAN            RUNGE                 CA         90013104653
58684418657541   TERRY            GREEN                 NM         90004064186
58685686861965   KILIS            MATAITUSI             CA         90008896868
58686229157541   JOSE             ESCARPITA             NM         90008602291
58691976833696   WILLIAM          CARTER                NC         90014069768
58693849591895   WILFRED          CASE                  OK         90011468495
58694728957541   MICHELLE         MIRABAL               NM         90009487289
58695823861965   BRIAN            KISSEL                CA         90011508238
58696438977568   KEOLA            HAGAN                 NV         90003264389
58697686861965   KILIS            MATAITUSI             CA         90008896868
58699587633699   JOSE GUADALUPE   PUGA                  NC         90014305876
58713758361971   DEVOL            SAMANTHA              CA         90012387583
58718175561949   CRISTINA         ROMAN                 CA         90012631755
58719237191534   VICENTE          DURAN                 TX         75071152371
58722311357541   MARRIYA          SHELLAND              NM         90010493113
58723839191895   TIMOTHY          ROUTT                 OK         90005298391
58724519833699   LOUISE           WRIGHT                NC         90002105198
58724882757541   TARA             MOHAMED               NM         90014578827
58726953657541   JOSIE            GURVITZ               NM         90011979536
58728991785657   AVERY            BURTON                NJ         90012489917
58729362554152   KENNETH          RESCHERT              OR         47017153625
58731332961448   ALLENDE          HINOJOSA              OH         90013793329
58731599844352   DAWIT            NEGASH                MD         90015345998
58736686861965   KILIS            MATAITUSI             CA         90008896868
58738475661971   MARALEE          WAINESCOTT            CA         90010314756
58739237133657   FELIX            REYES                 NC         12096812371
58739382633699   SHANIQUE         MARSHALL              NC         90012983826
58739944861965   JOHNI            AZIZ                  CA         90013599448
58753654861971   PAULA            MORENO                CA         90015156548
58753934891895   VANDEN           HANSHAW               OK         21030939348
58757632993782   GRETCHEN         MILLER                OH         90012286329
58758631185928   SIFA             MBIDA                 KY         90014426311
58759294461971   ZACHARY          BERCEGEAH             CA         90012572944
58762354761971   VANESSA          CHRISTOPHERSON        CA         90007143547
58765152136165   CYNTHIA          TORRES                TX         73541451521
58765616291895   SUMEKO           REX                   OK         90006206162
58765924561965   TAREQ            ELIAS                 CA         46045259245
58771956777357   MARK             A MAZZONE              IL        90004509567
58771996457541   CARLOS           VARGAS                NM         35545889964
58773656857541   DORI             HORTON                NM         90014426568
58773924561965   TAREQ            ELIAS                 CA         46045259245
58777395184852   LISA             SMART                 NJ         90011643951
58778572461971   RAY              EVANS                 CA         90007395724
58778899451574   AMY              WINTERS               IA         90014768994
58781142451383   DEBORAH          MILLER                OH         90010881424
58781745233699   ASHANTA          BYRD                  NC         12046087452
58783197951348   DIANE            PARTEE                OH         66039741979
58784528633699   ASTERIA          BURNS                 NC         90012835286
58787292361971   PETITE           HADLEY                CA         46064172923
58794271131428   VONN             ROGERS                MO         90011812711
58794924561965   TAREQ            ELIAS                 CA         46045259245
58796215657541   LUIS             RAMOS                 NM         35575982156
58799223491895   ELIZABETH        ROJAS                 OK         90004942234
58812655433699   CATALINA         CATANA                NC         90011386554
58815435631428   NEVA             GARRISON              MO         27565294356
58815525561988   ALEJANDRO        VALENZUELA            CA         46038895255
58816921954152   JEFFREY          STRICKLAND            OR         47016739219
58817437151348   OUSMANE          SINE                  OH         90007814371
58819628757541   ANGEL            SHUMAN                NM         90011226287
58821967971956   MELISSA          RIVERA                CO         90010899679
58826753661971   BRIAN            SULLIVAN              CA         46095507536
58828393457541   SHENICKA         TURNER                NM         90005783934
58832579461965   ERIN             GRAY                  CA         90014215794
58832598557541   DOMINIQUE        THOMPSON              NM         90008365985
58833845461965   BUCKLEY          THOMAS                CA         46073958454
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58833895621653   JOI          YARBROUGH                 OH         90014048956
58834415133696   SHIRLEY      MILLER                    NC         12008274151
58835865633674   DELOIS       MCCLURE                   NC         90013568656
58841315861971   JOSE         MARTINEZ                  CA         46065793158
58845984333699   DENAAL       HASKINS                   NC         90004869843
58846289361971   TIM          MERKEL                    CA         90014212893
58846383151383   BECCA        GRUBBS                    OH         66006503831
58847158457541   JAMES        ROBINSON                  NM         90014471584
58851652442363   LLOYD        COPPINGER                 GA         90006646524
58855855591895   ELIZABETH    QUILLMAN                  OK         90009188555
58858214861965   GILVER       MAZARIEGOS GOMEZ          CA         46045352148
58859771661965   JOSEPH       GONZALEZ                  CA         90012027716
58861215357123   AREYA        FRANCE                    VA         90012142153
58865612654152   STARK        CODY                      OR         90004106126
58873894291895   BRENDA       BOLDEN                    OK         90010608942
58878495555945   ROBERT       ROMERO                    CA         90009564955
58879236433699   MORNEKIA     BLAKE                     NC         90014922364
58881722961971   KEISHA       JONES                     CA         90015017229
58883587161971   CHERYL       ORE                       CA         90012805871
58883724731449   KIMBERLY     JONES                     MO         27561777247
58885279957541   MICHAEL      HOWARD                    NM         90003412799
58886575661965   JUAN         CHAN                      CA         46030975756
58887414257541   THERESA      ROMERO                    NM         90003414142
58887474131429   REGINA       JOHNSON                   MO         27587224741
58887896391895   SHATOYA      DUDLEY                    OK         90012638963
58891298633699   LAKRISHA     DAVIS                     NC         90012552986
58892282591895   VIVIAN       MCCOY                     OK         90014692825
58896831457541   WILLIAMS     JOHNS                     NM         90002958314
58898288261975   NADISHA      MCCALLA-FRANK             CA         90010802882
58898831457541   WILLIAMS     JOHNS                     NM         90002958314
58899993561965   STEFAN       TURNER                    CA         90014039935
58911698173268   LAUREANO     GONZALEZ                  NJ         90015486981
58911834391895   REBECCA      LEEPER                    OK         90001718343
58912922161971   MARIA        NUNEZ                     CA         46066539221
58913213351348   LAWERENCE    JONES                     OH         90011122133
58915731657541   AMBER        WATTERS                   NM         90011257316
58917575161965   DAWN         HOUSEMAN                  CA         90001815751
58918437561971   JESSICA      SHROUDER                  CA         90013794375
58919148457541   EDWARD       GORE                      NM         90010481484
58921189333696   TAMMY        TATUM                     NC         12099031893
58922343561965   SUSANA       FRAIREABARCA              CA         90014063435
58923439261965   JESSIE       ROJAS                     CA         46058744392
58924948651348   DONALD       CREW                      OH         90015049486
58925622757541   PHILIP       ACUNA                     NM         90010486227
58925964233699   SPONG BOB    SQUAREPANTS               NC         90015269642
58927195633699   EBONY        HAYES                     NC         90001671956
58927851233699   GONZALO      MERINO                    NC         90014968512
58931736257541   GEOFFROI     STEINAUER                 NM         90005037362
58933354957541   IMELDA       FRANCO                    NM         90014593549
58933884461971   ROBERT       VILLEGAS                  CA         90014588844
58933967755937   BULMARO      ZANABRIA                  CA         90002189677
58934552654152   ROSE M       BREITHAUPT                OR         90004865526
58936431261971   RICKY        DELONEY                   CA         46065824312
58936719691895   SHARYN       THORNTON                  OK         21096637196
58936897157541   LUIS         GUZMAN                    NM         90005038971
58937211454152   MICHAEL      CUNDIFF                   OR         90005952114
58937896291895   DEREK        SIMPSON                   OK         90013928962
58938491455937   MARIA        RAMOS                     CA         90002794914
58938591661971   RUTH         GONZALEZ-LOZANO           CA         90014005916
58941333851348   MICHAEL      MOORE                     OH         90015033338
58941419331465   DJUANIA      ARMSTRONG                 MO         27576244193
58944122191895   ROSA         RABANALES                 OK         21044931221
58944262157541   ROBERT       STEVENS                   NM         90014802621
58946171831429   PHIL         MEIER                     MO         90003481718
58948896291895   DEREK        SIMPSON                   OK         90013928962
58948946657541   CLARENCE     CHASE                     NM         90011349466
58949424333699   CIERRA       CLYBURN                   NC         90013964243
58949661757541   BARBARA      KIRK                      NM         90014606617
58951243557541   JARED        BROWN                     NM         90005162435
58952591691525   MARIA        MADRID                    TX         75098505916
58953555991895   LUIS         CARVAJAL                  OK         90013925559
58953832561971   HANSEN       DANA                      CA         90007048325
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58955891551383   RODRIGO        CABELLO                 OH         66093228915
58957899651383   ERICA          CENTERS                 KY         66037058996
58958271191895   CLAUDIA        MUNOZ                   OK         90008822711
58959558491895   MARCELO        HERNANDEZ               OK         90013925584
58961635261971   ERIC           HERNANDEZ               CA         90011776352
58962194191895   ALLIE          WILSON                  OK         90010611941
58963561691895   ALEX           JOVANNI                 OK         90013925616
58964484133696   SEAN           EGAN                    NC         12089404841
58965679433696   POLLY          ERVIN                   NC         12087506794
58966947361971   MARC           ALVARES                 CA         90003959473
58969774161965   ADRIAN         MARTINEZ                CA         90005617741
58971356357541   SHANE          CURRY                   NM         90005283563
58971453761971   APRILL         CADOTE                  CA         90006784537
58973188331429   THOMAS         LOVIS                   MO         90003481883
58973616333699   RAYMOND        JONES                   NC         90008546163
58975325961971   RACHEL         DARBY                   CA         46042133259
58975571433696   NAKEYA         HAIRSTON                NC         90012945714
58979971161971   VANESA         GARCIA                  CA         90014889711
58981827857541   ERIC           DENNIS                  NM         90005318278
58981989441244   MICHAEL        CHAMBERS                PA         90001099894
58982214185944   KENNY          MILLS                   KY         90012012141
58982453933699   ARELY          LUCERO SILVA            NC         90013964539
58984567791895   PATRICIA       KANTAL                  OK         90013925677
58985757291266   ELMER          RODRIGUEZ               SC         90013007572
58987125133657   MELISSA        CASTILLO                NC         90007741251
58987417754152   CHRYSTAL       OTTO                    OR         90004884177
58989267331428   MONIC          HENDERSON               MO         90008152673
58992911751354   KRISTY         CHILDERS                OH         90011239117
58994558431428   SUMMER         AUSTELL                 MO         90009405584
58994762761971   ALLIENE        PARKS                   CA         46009657627
58995424851348   GWENDOLYN      HUNTER                  OH         90011084248
58996769151348   RODRIGUEZ      WYATT                   OH         66064617691
58998914551348   JAIME          RUIZ                    OH         90010209145
59111378957541   MARKUS         TESSMER                 NM         90014783789
59112662731429   TANYA          ALDRIDGE                MO         27501666627
59113282461965   LYANNE         LUNA                    CA         46062512824
59114262157541   ROBERT         STEVENS                 NM         90014802621
59114771361965   ANDY           CHAVARRIA               CA         46080397713
59115262157541   ROBERT         STEVENS                 NM         90014802621
59116262157541   ROBERT         STEVENS                 NM         90014802621
59117262157541   ROBERT         STEVENS                 NM         90014802621
59119393891895   ANDRE          POOLE                   OK         90009763938
59121298355971   DORAIN         BRAND                   CA         90014812983
59122367257541   ARIEL          LOWE                    NM         90014803672
59122975991895   FRANCISCO      SANCHEZ                 OK         90010009759
59125367257541   ARIEL          LOWE                    NM         90014803672
59128139657541   ELEANORA       THORNTON                NM         90005891396
59128715591587   ALEJANDRO      ARAIZA                  TX         90013467155
59134138591895   MEOSHA         MCGEE                   OK         90009131385
59134319655971   TIMOTHY        MATLOCK                 CA         90009673196
59134849557541   SHASTA-MARIE   ANCHONDO                NM         90014818495
59136913891895   SANDRA         GONZALEZ                OK         90007639138
59137453561965   TD             MARTINEZ                CA         90014014535
59138175331428   LAMARR         ROBINSON                MO         27535521753
59141916391587   ALBERTO        GUZMAN                  TX         90012129163
59142234197129   MIRIAM         GARCIA                  OR         90008092341
59142626231449   JOE ANN        ALLEN                   MO         27569916262
59143829251348   SARA           GONZALEZ                OH         90014488292
59144432761965   BEN            BADAL                   CA         90010854327
59144643357541   NICHOLETTE     BAKER                   NM         90014826433
59147575491587   DANIEL         HERNANDEZ               TX         75039785754
59149939551348   ROBERT         GUSTIN                  OH         90001729395
59151575491587   DANIEL         HERNANDEZ               TX         75039785754
59153165255971   JESSICA        LAYTON                  CA         90013171652
59153333961971   JENNIFER       SMITH                   CA         90014823339
59154323557157   MERCEDES       RODRIGUEZ               VA         81074613235
59154329357541   SHELLEIY       RIEGERT                 NM         90008823293
59157634261971   OSCAR          PEREZ                   CA         90014156342
59159569757126   ARTURO         AGUIRRE                 VA         81028945697
59164621191587   ENRIQUEZ       HILDA                   TX         90009236211
59165713591587   JUAN           LEANOS                  TX         75083047135
59167275861965   APRIL          SHIVERS                 CA         46062652758
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59171551191856   AMANDA       MURRAY                    OK         90009265511
59175293191587   PATCHINA     MC COY                    TX         75059842931
59175375761971   KIMBERLY     SKARYAK                   CA         90014823757
59176376157157   CATHERINE    REVERON                   VA         81067863761
59177462761965   ERICA        PARRIS                    CA         90013174627
59177626561965   MARY         MCPHERON                  CA         90014706265
59177889181693   SHANTE       MORRIS                    MO         29013368891
59178317257541   ANGELA       GONZALES                  NM         90013703172
59179373161965   MARIA        CEDILLO                   CA         46067093731
59179461757541   JOAN         MARQUEZ                   NM         90014504617
59182464391587   ISELA        BALDERAS                  TX         90013634643
59183366133699   DECARLOS     WILLIAMS                  NC         90011293661
59183863351348   ASHLEY       HUDDLESTON                OH         90013008633
59184745957541   APRIL        STILES                    NM         90014877459
59184962561971   RAMI         TOMA                      CA         90001229625
59185333951348   PAMELA       WEBSTER                   OH         66050323339
59185364861965   MARK         TURNER                    CA         90001203648
59187353691895   KATHRINE     TYNES                     OK         90010233536
59187792451348   ANDREA       GARCIA                    OH         90007287924
59189795491587   KARLA        HERRERA                   TX         90013077954
59191875191587   GUSTAVO      CAMPOS                    TX         75055158751
59192318391587   ESTRADA      GENARO                    TX         90010233183
59194783461971   LORENZO      LEARNED                   CA         90004437834
59197419633699   LARRY        ROBERTS                   NC         90011294196
59198294361971   JAKOIA       DALLY                     CA         90004732943
59198743933699   CATALINA     GONZALEZ                  NC         90008867439
59199331261473   DANI         HERNADEZ                  OH         90015383312
59211153751348   ANGELA       NORTHGARD                 OH         90010301537
59212436957591   NAOMI        MONGE                     NM         90005304369
59215332351348   ANGEL        RAMIREZ                   OH         90012713323
59216658661971   SALA         HANNA                     CA         90013206586
59217194755971   MAYRA        GONZALEZ                  CA         90012801947
59222378151383   ANGIE        FERNANDEZ                 OH         90008783781
59222934431428   APRIL        ANDERSON                  MO         27540919344
59223427193724   ANDREW       EASTRLANG                 OH         90002754271
59225154951294   JANIE        MORRIS                    KS         72016161549
59226985357135   NELLY        TERRAZAS                  VA         90006119853
59227884357541   AZARINA      LAVOIE                    NM         90011728843
59228162661971   WILLIE       WILSON-SMITH              CA         90011371626
59228314461965   JAMES        WATKINS                   CA         90014753144
59228979391895   ERIC         FOSTER                    OK         90002829793
59229127851348   CASTO        CORRALAS                  OH         66016111278
59229792161971   MARIA        GONZALEZ                  CA         46072307921
59232874661965   YESENIA      MORALES                   CA         90011098746
59235277731429   MARIAN       YARBROUGH                 MO         27586272777
59236686457541   ASA          HOFFMAN                   NM         90011736864
59236982461971   JOHN         HICKS                     CA         90012849824
59237164161965   ARIKA        TIMMINS                   CA         90007931641
59237876757541   KIMBERLY     MENEFEE                   NM         90014938767
59238452457591   DANIEL       FELIX                     NM         35596144524
59241121155971   CONNIE       BRANDT                    CA         90005241211
59241219191895   SHANDLE      GOFF                      OK         90014582191
59241234961986   JAMES        PATINO                    CA         90003262349
59241598233696   MARCUS       BROWN                     NC         90005435982
59242863191587   NATALIE      RIOS                      TX         90010978631
59243429993724   CHRIS        GEETING                   OH         90011734299
59243888855971   ALFREDO      SIFUENTES                 CA         90011088888
59244889791895   AUNDREA      DAVIS                     OK         90014788897
59245358155971   SHELLY       CLINTON                   CA         90013983581
59245735161965   LOLA         VERDUGO                   CA         46034037351
59245948961971   LISA         IVORY                     CA         90009319489
59247212951348   DONNA        SIMPSON                   OH         90013402129
59248276251586   JARED        PACE                      IA         90014802762
59251898661971   DAVID        GRIPON                    CA         46022808986
59253797741229   EDMUND       OPOKU                     PA         90006627977
59253927754151   WRETHA       BRECKENRIDGE              OR         90004519277
59255974861965   CODY         BOGLE                     CA         90007739748
59257714491895   LUCINDA      NEW                       OK         21088187144
59257777361965   THOMAS       OWEN                      CA         90015287773
59258348491895   NOEL         MATA                      OK         90009813484
59258685857541   JOSE         MENDOZA                   NM         90011756858
59259159561971   PATRICK      BRANNON                   CA         46085851595
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59267569151323   JULIE C       PELK                     OH         66082605691
59271545561965   CHRISTINA     CROWE                    CA         90012805455
59271842433699   JAMAL         BLAKNEY                  NC         90014918424
59272924791534   CALVIN        KEARNEY                  TX         75007839247
59274627961965   MACASOSI      LOLOTA                   CA         90010296279
59275614851348   VICTORIA      WADE-TONEY               OH         66095376148
59276555241231   CHERISH       HARRIS                   PA         90010575552
59277327251348   SHAWN         STEPHENS                 OH         66049283272
59277523491587   CECILIA       GARCIA                   TX         75098125234
59277688361971   EDGAR         CASTRO                   CA         46023006883
59277815855971   AMYLOIS       WEST                     CA         90007018158
59281145361965   LEASA         BARBEE                   CA         90005311453
59283814131456   ANGELA        EWHAREKUKO               MO         27557458141
59284356657541   CRISTINA      GARCILAZO                NM         90011813566
59285394755971   MARIA         OROZCO                   CA         90012753947
59288151893724   DWAIN         ANDERSON                 OH         90014641518
59288297851383   CHARLES       TAYLOR                   OH         66087662978
59291838193724   KEVIN         SIMS                     OH         64508798381
59292286661965   VALERIE       CALOCA                   CA         46048022866
59295324161965   ALVIN         HEARD                    CA         90007933241
59295689351348   NICHOLAS      GRIFFITH                 OH         90010326893
59295721257591   ANTELMA       DIAZ                     NM         35587877212
59295978161965   ALVIN         HEARD                    CA         90012129781
59296493933696   ROBBI         BOWMAN                   NC         12005964939
59297855522424   ANA           CHADWELL                  IL        90015318555
59298248393724   EZPERANZA     ALVAREZ                  OH         90013742483
59298556331433   CASSIE        HANSON                   MO         90004545563
59311993931429   FRAZIER       PAMELA                   MO         90009769939
59314197593724   JASON         BROWN                    OH         90014641975
59315116885944   COREY         LYNCH                    KY         90011101168
59319888461971   BRANDON       TONECK                   CA         90014778884
59321695931428   LINDA         POSS                     MO         90003226959
59321811464145   MIRETEAB      BERHE                    IA         90015398114
59322711192831   CHRISTOPHER   PETERSON                 AZ         90014307111
59322718361965   CHRISTOPHE    NOAKES                   CA         46015007183
59322839157135   TRACY         TEJADA                   VA         90011558391
59323434451348   JASMEN        LARKIN                   OH         90013274344
59325494251348   JAMES         RANDALL                  OH         90011154942
59328848191587   ANTONIO       SALCEDO                  TX         75039778481
59329818931482   LEROY         HAMILTON                 MO         90003328189
59332912231433   JENNIFER      BOSTON                   MO         90005149122
59333552155971   JASMIN        SIERRA                   CA         90011445521
59333763933696   DONNA         MCCOMBS                  NC         12035627639
59335484251348   ERNEST        WESTFALL                 OH         90011154842
59337177761965   FERNANDO      HERRERA                  CA         90004061777
59338326557157   JESSE         BURGESS                  VA         81088683265
59339197133699   YOLANDA       CHAVEZ-GRACIA            NC         90013141971
59344548557591   THERESE       SHAKRA                   NM         35519995485
59345497757157   ROBERTO       MENDOZA                  VA         90004694977
59345917693724   KAYLA         POURBAIX                 OH         90011939176
59347187961971   BENJAMIN      PRICE                    CA         90013111879
59347558133699   GLORIA        MENDOZA                  NC         90011565581
59348825657157   MAURICIO      CANO                     VA         81068308256
59354659491895   JACE          WILLIAMSON               OK         90004086594
59356937391962   MANUEL        MONZON                   NC         90003179373
59357118957591   DANIEL        JACQUEZ                  NM         35597911189
59358127161965   SHERI         GARCIA                   CA         90013971271
59361849233696   ARGENTINE     JOHNSON                  NC         90014408492
59364126851348   JOHN          CHALFANT                 OH         90015301268
59364446561965   JOANNA        RAMOS                    CA         90013384465
59365746461965   ABEL          VASQUEZ                  CA         90015097464
59366784561971   RACHELL       HERNDON                  CA         46053777845
59366922891525   JAVIER        PEREZ                    TX         90006139228
59366995871922   SOPHIA        ATENCIO                  CO         38006569958
59369768661971   AMY           TODD                     CA         90000947686
59372252291587   BEN           MUNRILLO                 TX         90008832522
59373228291587   MARGARTITA    OCHOA                    TX         90003442282
59373741633699   CRYSTAL       THOMPSON                 NC         90014597416
59374315751348   TERRENCE      HENDRICKS                OH         66062683157
59374446751348   ADA           MILLER                   OH         90012884467
59376719391895   FRANCIS       TAYLOR                   OK         90012527193
59377161551348   NICOLE        ADKINS                   OH         90001691615
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59377713361971   DORTHY       GURRA                     CA         90003077133
59378767693724   MALYNDA      MORONES                   OH         64589967676
59378839691934   ADEWUMI      IRANLOYE                  NC         90006068396
59379135261965   LUIS         MARTINEZ                  CA         46005881352
59379389757126   LONNIE       ELLIS                     DC         90008693897
59381414331428   DEBRA        COLLIER                   MO         90009384143
59381965855997   JEFF         MYERS                     CA         90003489658
59382226461965   LYDIA        VALDEZ                    CA         90014012264
59382451261971   CYNTHIA      THOMAS                    CA         46055454512
59384577791895   MACAYLA      SLEY                      OK         90014625777
59384692461971   ESMERALDA    SALDIVAR                  CA         90010156924
59387442633699   MARIAH       GALLOWAY                  NC         90014284426
59394928155971   VERO         ZAMORA                    CA         90002959281
59395687657157   KAY          SAK JR.                   VA         81091856876
59396387633699   ADA          HERNANDEZ NOYOLA          NC         90013933876
59396738451348   LINN         ABNEY                     OH         66016837384
59397144161965   YENIFER      GARCIA                    CA         90006161441
59399274391895   BECKI        HOPPE                     OK         21089042743
59411171531429   CYNTHIA      DODSON                    MO         90004891715
59411429771547   PAYGO        IVR ACTIVATION            WI         90015144297
59416645491587   VICTOR       MATA                      TX         90008376454
59416815541222   CRISSY       BROWN                     PA         90001828155
59419593491587   NANCY        FIERRO                    TX         90001615934
59421271957128   SALVADOR     RAMIREZ                   VA         90012882719
59422592355971   ALLAN        WILSON                    CA         90001885923
59424895784347   ZOILA        MENDEZ                    SC         90011878957
59424977393724   DEEDEE       RASH                      OH         64565689773
59426251255971   JACOB        HAIR                      CA         90010642512
59428147561971   KIMBERLEE    BLOOD                     CA         90014241475
59428756157591   NICK         TELLES                    NM         90005387561
59433444251348   AMANDA       GRIMES                    OH         90013274442
59435637761971   THOMAS       GOCHE                     CA         90014156377
59435838451348   WILSON       TWENEBOAH                 OH         66023988384
59436362861965   SUSANNA      REYES                     CA         46040503628
59436488391587   JAIME        CUELLAR                   TX         75073554883
59438594161971   RAUED        ALNAJAR                   CA         46013615941
59443484251348   ERNEST       WESTFALL                  OH         90011154842
59444782281664   TIMOTHY      SYLVESTER                 MO         29007117822
59444825491895   LAKISHA      HENDERSON                 OK         21099778254
59446712991895   GEORGINA     FUENTES                   OK         90012517129
59447598433699   ANJEL        DOMINGUEZ                 NC         90013935984
59451114791561   MYRIAM       GUERRERO                  TX         90012711147
59452357131428   WILLIAM      MCHANEY                   MO         90006453571
59455144655971   ASHLEY       KOUKLIS                   CA         90013751446
59455565761965   CHERYL       DUBOIS                    CA         46031195657
59455696693724   LEANDRA      GREEN                     OH         90009126966
59456889491895   JAMES        PITT                      OK         90012948894
59463693133699   TERRY        RICE                      NC         90013936931
59465948961965   KALIB        DOYAL                     CA         90010959489
59465959191895   NOE          CORDOVA                   OK         21044499591
59466544833696   CAELISA      JONES                     NC         90006925448
59466588933699   ORBELIN      JARAMILLO                 NC         90012295889
59469426791895   CHERYL       STALLINGS                 OK         90012434267
59469737661971   CAMERON      WALKER                    CA         90009697376
59471939933699   MICKIA       BYRD                      NC         12004009399
59473318461965   MARTHA       MELENDEZ                  CA         90000123184
59474759755971   SHAMIKA      MADDEN                    CA         90007707597
59475552191895   LINDA        RUSHING                   OK         90014685521
59476796431429   LOGAN        CHEATHAM                  MO         27584417964
59477389891587   LUISA        HERNANDEZ                 TX         90014163898
59478297361965   EVAN         AZEEZ                     CA         90001892973
59479765855971   RAMIRO       SANCHEZ                   CA         90013077658
59481678651348   MAGON        MORE                      OH         90012246786
59482554161965   YULIANA      ISLAS                     CA         90011165541
59487154557591   NEVAREZ      EDGAR O                   NM         90006041545
59488727461971   MATTHEW      STRANDBERG                CA         46094417274
59489865351348   MARCUS       SMITH                     OH         90012938653
59492498955976   BOBBI        BLANTON                   CA         90003254989
59496556851378   AMANDA       DALTON                    OH         90010685568
59497719591587   GABRIELA     RODRIGUEZ                 TX         90011877195
59498634461971   AIOTEST1     DONOTTOUCH                CA         90015116344
59499378951348   CLAUDIA      SEGOVIANO-ESTRADA         OH         90012583789
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59499627693724   AMANDA         CLAYTON                 OH         90011746276
59513222491587   GLORIA         NAVARRO                 TX         75059992224
59513978151329   FATIMA         HASAN                   OH         90013849781
59516189242335   MOSE           ADAMS                   GA         90013981892
59516739991587   GISELA         LEYVA                   TX         75057787399
59517286393724   CHANTILLY      COLQUITT                OH         90012302863
59518646255971   MELISSA        GRIFFIN                 CA         90012026462
59519346861971   VICTOR         BRAVO                   CA         90012963468
59519556891587   NORMA          GARZA                   TX         75071855568
59521236381622   ELICIA         REDMOND                 MO         90001052363
59521541491895   MARGARITA      LOPEZ                   OK         90008445414
59522198891587   VICTYOR        GAETA                   TX         90014801988
59523632491895   AMBER          RIDEOUT                 OK         90009466324
59523939861965   FABIAN         ABRAHAMS                CA         90012889398
59525631655951   CRISTIAN       URENA                   CA         90009746316
59526728451348   AMY            RAWLINGS                OH         66099057284
59527641197164   LAURA LYNNE    REYES                   OR         90003966411
59528157961965   ESTEBAN        REYES                   CA         90013311579
59529433433699   WANDA          SPRINKLE                NC         90011994334
59529535657591   MEGAN          HALL                    NM         90001945356
59529982861965   COREY          HAGUE                   CA         90012859828
59531441691895   GUSTAVO        RAMIREZ                 OK         90014424416
59533352861971   ISMAEL         RIVERA                  CA         90012593528
59535375761971   KIMBERLY       SKARYAK                 CA         90014823757
59535985233699   FELICIA        HOWARD                  NC         12013469852
59538229661971   CHARLES        HILLEY                  CA         90006552296
59538257451348   ARLAXES        KELSOR                  OH         90012402574
59538275691587   MARIA          ARAIZA                  TX         90011902756
59538336993721   CHELSEA        HODSON                  OH         90008523369
59538722951348   RYNELL         HAMPTON                 OH         90011157229
59547214993724   HEATHER        JARVIS                  OH         90013422149
59547785161965   PATRICIA       CESENA                  CA         90013247851
59549263597129   AMANDA         ACKERMAN                OR         90011012635
59551222591895   JOHNATHAN      MORGAN                  OK         90013822225
59553791433696   BETH           ACKWOOD                 NC         90002597914
59553866231429   DAVID          WESTBROOK               MO         90002778662
59556148257591   ELI            CORTEZ DIAZ             NM         35597731482
59556217191895   COURTNEY       PURIFOY                 OK         21023692171
59557822261971   ISMAEL         OLANDA                  CA         90007438222
59561351731428   CALVIN         THOMPSON                MO         27593613517
59562338391895   DYLAN          BROWN                   OK         21042073383
59564268161971   VALENTINA      BOSS                    CA         46054362681
59564313155971   NELLY          PIZARRO                 CA         90013513131
59566815591587   GUADALUPE      VILLANUEVA              TX         90011588155
59567816161965   KYLE           MCDANIEL                CA         90007948161
59568255593724   TANESHIA       LINDSAY                 OH         90013422555
59571828861965   ALBA           PINEDA                  CA         90006838288
59573442957591   JOSE           RAMIREZ                 NM         35596734429
59574988191587   SANDRA         IBARRA                  TX         90012659881
59575617291587   MARIA          MACK                    TX         75098266172
59575878761965   RODRIGO RIES   DOS SANTOS              CA         90002148787
59578777657591   GENEVIEVEB     TREVINO                 NM         90001237776
59582819551348   AMANDA         WARNER                  OH         66080808195
59587292661965   ELEAZAR        VALENZUELA              CA         90010472926
59588319467861   CYNTHIA        BENNETT                 GA         90015333194
59592527491587   WILFREDO       GUERRERO                TX         90006875274
59594777493724   STACIE         GRIDER                  OH         90013987774
59597571691587   JONATHAN       LUTHER                  TX         90014565716
59597892755971   PRISCILLA      RAMOS                   CA         90005988927
59597972191895   KAREN          MANNS-YOUNGER           OK         21029059721
59598419833699   RICK           HINNANT                 NC         90006924198
59598446561965   JOANNA         RAMOS                   CA         90013384465
59599371591587   NORMA          GUTIERREZ               TX         75029543715
59611614161965   TAISHA         GAINES                  CA         90014856141
59612457481631   BRIAN          PETTIT                  MO         90015254574
59613571331444   BERNARD        HILL                    MO         90001335713
59614916251348   CHRISTINA      SMITH                   OH         90011549162
59616147561971   KIMBERLEE      BLOOD                   CA         90014241475
59616857961965   JAY            LOMBARDI                CA         90012878579
59618215533699   FLORINDA       MORGAN                  NC         12077292155
59618951131429   LESLIC         JEFFERSON               MO         27510139511
59619458433699   SAMUEL         RAMOS                   NC         90013944584
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59621168991587   AJ           TRUJILLO                  TX         75016981689
59621323761971   ROBERT       NAFFA                     CA         90013153237
59621424291895   ISAIAH       JOHNSON                   OK         90014754242
59624852693724   KELLSIE      BROOKS                    OH         90014088526
59625285193724   TIARRA       BROWN                     OH         90014642851
59628246351348   KATIE        BOLTON                    OH         66064252463
59628733955971   MARIA        CASTILLO                  CA         90013947339
59632152793724   BLANCHE      WRIGHT                    OH         90005561527
59632273984329   JOHN         MAYS                      SC         90010572739
59633789254151   ROCKY        BELL                      OR         90013267892
59635994655971   CATHERINE    IBARRA                    CA         90014339946
59638561933699   EDWIN        PINEDA                    NC         90013945619
59638969851348   DAVID L      HENSLEY                   OH         90011159698
59641297193724   JASON        HANKS                     OH         90014642971
59641561933699   EDWIN        PINEDA                    NC         90013945619
59642395257591   LUCERO       JUDY                      NM         90003233952
59642483291895   ROBERT       WARTSON                   OK         21004644832
59643439161971   AISH MUSA    RIOS                      CA         90014124391
59644625833699   ROLANDO      PENALOZA                  NC         12068606258
59647559151348   ANDREA       GADD                      OH         66010795591
59652585291587   AMANDA       AVILA                     TX         75015915852
59654228193724   LEAH         FRAZEE                    OH         64532242281
59656883491535   LONEL        MEDELLIN                  TX         90006168834
59657852855971   MIKEA        ARNOLD                    CA         90008438528
59659426993724   FREDERICK    ALLEN                     OH         90011234269
59662267631429   RICHARD      BRADY                     MO         27563992676
59662591833699   HUGO         LOPEZ HERNANDEZ           NC         90013945918
59662718933699   HUGO         LOPEZ HERNANDEZ           NC         90014937189
59662984581632   DANEKA       PONDS                     KS         90013979845
59663345933621   JOSEPH       MOORE                     NC         12013873459
59665254961965   SARAH        HENRY                     CA         90014392549
59669582461965   DENISE       CERVANTES                 CA         90011405824
59673181193724   EDWARD       DI FLORIO                 OH         64522501811
59674918561965   BRITTANI     RIVORD                    CA         90012879185
59676684754133   ZOEY         REEVES                    OR         90004856847
59677215931428   DARRYL       HEAROD                    MO         27532492159
59677768293724   KATIE        HICKMAN                   OH         64506767682
59677963761965   MARY         GLOVER                    CA         90000859637
59677996961965   CARLOS       MENDOZA                   CA         90012889969
59678832955971   YOLANDA      RODRIGUEZ                 CA         90012668329
59681813391587   ERIKA        PALMA                     TX         75077158133
59684715385822   FRANCIS      BACANI                    CA         90012077153
59687699491561   SYLIVIA      VASQUEZ                   TX         90012736994
59688784461971   GALVEZ       SYLVIA                    CA         90015227844
59689734691895   NOE          DURAN                     OK         21041377346
59692249891895   GABERIAL     JONES                     OK         90012512498
59692537491895   GABERIAL     JONES                     OK         90011315374
59693477991587   FABIOLA      LARA                      TX         90014844779
59694385491587   MARTHA       ELIZALDE                  TX         90004783854
59698984393724   PANNIE       DOWNEY                    OH         64555469843
59712318561965   CHRIS        BRASUELL                  CA         46062653185
59715598991587   FRANCISCO    DE LA CRUZ                TX         90014665989
59716742831429   DENISE       MINOR                     MO         27555137428
59717756851348   KATHY        HALL                      OH         90010527568
59718768591233   INELL        GADSON                    GA         90013957685
59718827733699   AIDA         NOYOLA                    NC         90013948277
59722111233699   ERIKA        SIMON                     NC         12095911112
59722861731428   MONICA       WRIGHT                    MO         90013208617
59724438757591   MARIA        ACOSTA                    NM         90006554387
59726153251348   JAVIER       QUEZADA                   OH         90012611532
59726178533696   MARIA        GUEBARA                   NC         12022951785
59727123757157   ANTHONY      MORRIS                    VA         90000461237
59729568831457   OVERERE      EWHAREKUKO                MO         27530415688
59729855261971   RUDY         FRANCO                    CA         90002458552
59731132233699   SALLY        MERES                     NC         90013231322
59734234533699   WILLIAMS     TIEF                      NC         12011442345
59734253691587   MARTHA       KRILING                   TX         75075792536
59736334851348   DEMACHEA     RUFF                      OH         90014603348
59736758361971   MANI         QUIDIANI                  CA         90010187583
59737795333699   CYNTHIA      MARTIN                    NC         90005157953
59739124881625   MAZETTA      JOHNSON                   MO         90011761248
59741481761965   HELEN        DAKHA                     CA         90011274817
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59743321591587   ANTONIO      MUNOZ                     TX         90012913215
59743614161965   TAISHA       GAINES                    CA         90014856141
59744226991895   ROWENNA      GAINES                    OK         90012882269
59745542357157   MIGUELINA    CAMACHO                   VA         81060535423
59746665751348   PATRICIA     GIBBS                     OH         66092826657
59747614861949   ANTONIO      ARELLANO                  CA         90005996148
59751332961971   TANYA        EVANS                     CA         90010673329
59752133231428   DARLA        ROWAN                     MO         27596291332
59753672591885   ANGELIC      URQUIZA-ROJO              OK         90014836725
59754334961965   ELISE        LOGAN                     CA         90012893349
59757586951348   BETHANY      TAXIS                     OH         90009685869
59758845751348   CAROL        STUCKEY                   OH         90010148457
59759519191885   RYAN         LOVE                      OK         90014775191
59759681561965   DANIEL       BRITTAIN                  CA         90013966815
59761676561965   ALICIA       CISNEROS                  CA         90012666765
59761713151348   ALYCIA       COX                       OH         90013067131
59762137961965   ALMA         MALDONADO                 CA         90012931379
59762337133699   ANNIE        DALTON                    NC         12007343371
59763275191895   CHARON       POWELL                    OK         21000672751
59763929691993   NIKKI        FORGET                    NC         90010219296
59766168391895   VALERIE      OGLE                      OK         90009021683
59766875361998   VICTOR       COCA                      CA         90011098753
59767755491895   RANDY        CRANMER                   OK         21002437554
59774586461965   ALPHONSINE   JONES                     CA         90009375864
59774892391587   JAMES        THOMAS                    TX         75016378923
59775366591864   ALICIA       BARBER                    OK         21093603665
59775694291587   ISRAEL       CISNEROS                  TX         90010656942
59776383961971   KEITH        BOLEY                     CA         46041493839
59776558393724   LATASHA      HOWARD                    OH         90015005583
59781361561971   CHRIS        BOOTH                     CA         46022913615
59783848491584   RITA         SALASAR                   TX         75062578484
59784575791521   RUDY         MELENDEZ                  TX         90010815757
59785985491587   RITA         ALMANZAR                  TX         75082549854
59787119793724   LINDA        HARDIN                    OH         90001861197
59787583977574   KATYA        NUNEZ                     NV         90001645839
59788975457157   NAYRA        ACOSTA                    VA         90005269754
59789765793724   STEVEN       CHAMPION                  OH         64517277657
59791386757591   STEPHANIE    RIVERA                    NM         35512273867
59792786331428   VICTOR       JACOBS                    MO         27593577863
59794169461965   GABRIELA     MENDEZ                    CA         90012931694
59796818933699   DONOVAN      HOLMES                    NC         90013968189
59797374284342   FAYE         HOLMES                    SC         90013413742
59799315433696   CYNTHIA      AMARO                     NC         90004363154
59815936491521   MONICA       CARRISAL                  TX         90013489364
59816212633696   HERMINIA     TAMARIZ                   NC         90002822126
59816325333623   CATHERINE    MCCOLLUM                  NC         90005953253
59816414651348   AARON        HOLLINGSWORTH             KY         90011854146
59816936491521   MONICA       CARRISAL                  TX         90013489364
59817238861965   MARTHA       RODRIGUEZ                 CA         90012932388
59817862455971   SHY          G                         CA         90009968624
59818469551348   MICHAEL      KING                      OH         66036494695
59822892461965   BIBICHE      KUTI                      CA         90015298924
59825343693724   ERIC         CLEMANS                   OH         90013423436
59826251651348   DENZEL       JOHNSON                   OH         90001692516
59826551191856   AMANDA       MURRAY                    OK         90009265511
59826552261956   BELINDA      GOBBLE                    CA         90005895522
59828523991587   RAYMUNDO     CHAVEZ                    TX         90002565239
59828599851348   JAIRO        VASQUEZ                   OH         90013745998
59832763691981   LINDA        JONES                     NC         17088257636
59832895191587   MARIA        INCHAURRIGA               TX         75091928951
59833911891587   MARIA        GURROLA                   TX         75027009118
59834932133699   SHAREINA     MILLER                    NC         90013969321
59835364933699   FRANUEL      ESPINOZA BUENO            NC         90013953649
59835652391895   CRYSTAL      CLARK                     OK         90008666523
59837522655971   ERIC         MARTINEZ                  CA         90010115226
59838567851348   EDBON        SWITCHER                  OH         90015565678
59838948433699   BISMAR       MORGA                     NC         90013969484
59839842891561   FRANCIZCO    LOZANO                    TX         90007428428
59841732257591   RAUL         ENRIQUE                   NM         35507027322
59841892391587   JAMES        THOMAS                    TX         75016378923
59841972293724   FLOYD        COCHRANE                  OH         64547429722
59842231691895   EVANGELINE   NEWTON                    OK         90007882316
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59843654493724   MIKE         BREWER                    OH         90014816544
59845588391895   CINDY        LATHENA                   OK         90011315883
59846745481664   CRYSTAL      HERDINA                   KS         90013807454
59846794333699   BRITTANY     HARDY                     NC         90014847943
59847512957591   DIANA        ORTIZ                     NM         90003265129
59848385291895   DIEGO        AVILA                     OK         90004453852
59849149531629   LEONARD      TRILLO                    KS         90002391495
59852228133699   LAMARETTE    PITTS                     NC         90013972281
59855588591587   GRISELDA     SANTOS                    TX         90009295885
59855595291895   LORI         TALLENT                   OK         90011315952
59858638993724   JIM          JONES                     OH         90014176389
59859841161971   MICHAEL      ZOUMARS                   CA         46017998411
59862217991895   PAUL         RAGSDALE                  OK         90011512179
59862424293724   MELISSA      FEWLASS                   OH         64508844242
59862896561965   ALEXIA       JOHNSON                   CA         90014238965
59864162451348   CHRISTI      MCVEY                     OH         90013591624
59864217393724   COURTNEY     JOHNSTON                  OH         90014252173
59868294793754   JOYCE M      HOLLOWAY                  OH         90010352947
59872565761965   CHERRI       BOSSERMAN                 CA         46092415657
59872771333699   SOLEDAD      ESIQUIO                   NC         90011667713
59875632661971   DELVIN       SULEIMAN                  CA         90009546326
59875719191895   SETH         ARREDONDO                 OK         90001467191
59876811533699   DEREK        GLENN                     NC         90014848115
59878834761965   VICTOR       ACOSTA                    CA         90008658347
59879888151348   MAISHA       DENNIS                    OH         90013008881
59884261451348   ANDREW       PHILLIPS                  OH         90014842614
59885561631428   ERIC         SIMSON                    MO         90006435616
59886595691895   DEMARELL     SPEED                     OK         90014785956
59887641991587   DANIEL       NEVAREZ                   TX         90014826419
59894886133699   ZENON        CRUZ                      NC         12077258861
59896842991587   OSCAR        BALLESTEROS               TX         75021318429
59897227361965   DESIREE      JOHNSON                   CA         90005572273
59899388391895   NICOLE       CASSARES                  OK         90000903883
59899956691587   ADRIAN       AGUILAR                   NM         75013679566
59912841891587   FRANCES      GONZALEZ                  TX         90005538418
59913372438533   BERNARDO     ALPIZAR                   UT         90014433724
59914147291895   RODOLFO      GARCIA                    OK         90011011472
59915915357591   TAISA        ROSBAUGH                  NM         35511849153
59916453561965   TD           MARTINEZ                  CA         90014014535
59916463993724   MONTGOMERY   MALIKA                    OH         90004934639
59919358493724   JOSEPH       MAYES                     OH         90013423584
59921359593724   MARCUI       PAOLIELLO                 OH         90014643595
59923526191895   DWAYNE       ARMSTRONG                 OK         21093775261
59923567451348   PATRICIA     BUTLER                    OH         90011195674
59924518451348   LAURA        TRUJILLO                  OH         66053445184
59924988357591   DAVID        CHAVEZ                    NM         35569559883
59931191191895   TEKEYA       SCOTT                     OK         90012721911
59931735857129   EBER         AGUILAR                   VA         90003927358
59932238951348   JOSH         CURLESS                   OH         90011612389
59933211931429   ROBERTO      PEREZ                     MO         90005902119
59934154951348   HEATHER      MURRAY                    OH         90008511549
59936693761971   JOSHUA       LOWE                      CA         90010656937
59936727333699   NICOLE       CLARK                     NC         90007867273
59936847331428   LAKISHA      MONIQUE                   MO         90012908473
59943448751348   CHARLENE     NEAL                      OH         90013054487
59943775584329   ANTHONY      BARONE                    SC         90008807755
59945478861965   TERESA       RIVERA                    CA         90009344788
59946343661965   ROCIO        GUTIERREZ                 CA         90012953436
59947216861965   TANYAH       KEWARAKIES                CA         90015142168
59948641251348   KRISTY       EHRHARDT                  OH         90009296412
59948842261971   ANGENEA      MOBY                      CA         90012778422
59949482591587   YESSENIA     GUADALUPE                 TX         90013634825
59949531651379   ANGELA       THOMIN                    OH         90011625316
59953776531429   GERALD       DANIELS                   MO         90008447765
59954171261971   KUPID        DAVIS                     CA         46087761712
59956738133699   DENISE       GALLOWAY                  NC         12025547381
59957554261971   VIRIDIANA    MENDEZ                    CA         90012975542
59957883991269   BRIELLE      THOMAS                    GA         90001438839
59959512157591   BERNADETTE   POTTS                     NM         35556055121
59959935861971   MIKE         OSBORNE                   CA         90011739358
59964522657124   JOSE         REVELO                    VA         90007125226
59964535791895   PAUL         DOWNING                   OK         21004715357
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59972319751348   MICHAEL       CARPENTER                OH         90011543197
59972433991895   JEREMY        FORD                     OK         90013474339
59972724661965   WILLIAM       ODOM                     CA         90001127246
59973937491584   RUBI          LUJAN                    TX         75098889374
59973957191895   MARICELA      HERNANDEZ                OK         90003539571
59974925161965   MARIA         RODRIGUEZ                CA         46010559251
59974991933699   KHADYDRA      JOHN                     NC         90009569919
59975683557591   MARISELA      GARCIA                   NM         35545046835
59981233591895   ANGELA        HEARN                    OK         90014422335
59983924891587   OFELIA        HIDALGO                  TX         75088739248
59984211151348   ASHLEY        MACHUCA CRUZ             OH         90013572111
59985891691895   BRANDON       MARION                   OK         90006208916
59985922191587   JESSE         ESTRADA                  TX         90011319221
59986153661971   JOSE          DE SANTIAGO              CA         90014991536
59988223291895   OSCAR         ESCOGIDO REYES           OK         21060412232
59989141951586   HILDA         GARCIA                   IA         90015031419
59989198593724   KRISTINE      LAWWILL                  OH         64536671985
59991166731428   FRANK         BROWN                    MO         27558771667
59994227747968   LAURELLE      PRUNCE-XAVIER            AR         90013642277
59996478451348   SANDRA TODD   MC CLINTON               OH         90002124784
59997244733696   MONIQUE       JARRIS                   NC         90012642447
59998548393724   BRANDON       WIGGINTON                OH         90011765483
61111136957538   ROMAN         GARCIA                   NM         90013031369
61112176391352   ANTHONY       WOODS                    KS         90012051763
61112531991894   PENNY         STANLEY                  OK         90002955319
61113547861936   TONY          MORALES                  CA         46081205478
61116924657538   TERESA        GALINDO                  NM         90013389246
61116962331445   BRENDA        JONES                    MO         90000859623
61118392533698   YOLALYNN      MAES                     NC         90014153925
61118462663646   WANDA         WALKER                   MO         90009864626
61119296657538   THOMAS        JOHN                     NM         90004972966
61119637761964   AIOTEST1      DONOTTOUCH               CA         90015116377
61121163455973   CHEYENNE      LILES                    CA         90004421634
61121438163646   ALICE         VINCENC                  MO         27585174381
61122267631453   RICHARD       BRADY                    MO         27563992676
61122349791522   JAIR          ZAPATA                   TX         90000883497
61123272355973   GEORGE        RODRIGUEZ                CA         90005972723
61124244991894   YANG          YAO                      OK         90014662449
61124294755973   RAMIRO        VALLEJO                  CA         48074892947
61126435691894   JACK          FRAZIER                  OK         90005724356
61126487491975   DAVID         HOWARD                   NC         90011214874
61127591833698   JONATHAN      ROSS                     NC         90014155918
61127828731453   MICHAEL       NEWTON                   MO         90012208287
61128282191975   MARTA         SANCHEZ                  NC         17011792821
61131375761964   ISABEL        AVALOS                   CA         90012453757
61131449557538   MONIQUE       GARCIA                   NM         90014574495
61134289163646   RENEE         WHITWORTH                MO         27565802891
61134465986593   AVIMILEC      HERNANDEZ                TN         90015594659
61134637361964   AIOTEST1      DONOTTOUCH               CA         90015116373
61135431857538   MARIA         ACOSTA                   NM         90011374318
61136932891894   LEON          MOODY                    OK         90014769328
61137538263646   DANEIL        BECKARD                  MO         90012475382
61141286657538   DEBORA        TRYON                    NM         90013072866
61141466157538   KRISTOPHER    HAMMONDS                 NM         90014684661
61142624971921   TRISH         GARRET                   CO         90013386249
61142696163646   MARK          PETTIG                   MO         90011026961
61143422557538   RYLEE         WOODS                    NM         90013074225
61143688431453   KIMBERLY      WILLIAMS                 MO         90012986884
61143697391521   LILIANA       SELF                     TX         90014426973
61144117455975   MIRIAM        CAMPOS                   CA         90008301174
61146565861964   EDNA          ALVAREZ                  CA         90014895658
61146658491522   JESUS         RINCON                   TX         90006986584
61146737333698   LINDA         LOPEZ MARICHE            NC         90014157373
61148422561964   SHELBY        KOMADINA                 CA         46089644225
61148648931453   LAR ANN       FELLOWS                  MO         90004416489
61149517171921   MARCUS        TOREE                    CO         90015555171
61149954754128   JENNIFER      MACKLIN                  OR         47066259547
61153168471921   WILLIAM       SMITH                    CO         90009231684
61155492855975   PEDRO         GUTIERREZ                CA         90001484928
61156637761964   AIOTEST1      DONOTTOUCH               CA         90015116377
61157823961936   BERNARD       PUNGI                    CA         90007968239
61158125357538   ROMANA        RIOS                     NM         90014551253
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61158177661936   KIFFINIE       GARY                    CA         46079651776
61158721351354   MANUEL         BERROA                  OH         90012627213
61159565431453   JONATHAN       COVERT                  MO         90015385654
61159891954128   KATHY          LINCOLN                 OR         47069538919
61162315961964   TONY           RODRIGUEZ               CA         46052233159
61162558457538   GRACIELA       GRAJEDA                 NM         35594515584
61163573857432   ANTONIO        CAMPOS                  IN         90015355738
61165323533698   SHAWN          SAWYER                  NC         90000233235
61166564941299   MARISSA        SANDERS                 PA         90010025649
61167169691975   ANDREA         WHITE                   NC         17013941696
61171447457538   HEATHER        WINSLETT                NM         90014754474
61171483563646   ANGELA         PEARL                   MO         90009874835
61173537855935   CYNTHIA        PENA                    CA         90003585378
61173945163646   AMY            WOOD                    MO         90015219451
61173978361964   CARLOS         ARGUELLO                CA         90014489783
61174616855975   KAILA          CLIFTON                 CA         90012126168
61175239461558   CONEY          ROSE                    TN         90015482394
61175464755975   SIMA           EDSELL                  CA         48081724647
61175758461931   CLAUDIA        CRUZ                    CA         46030437584
61176698655973   FELICIA        ORTIZ                   CA         90012246986
61177963493753   VICTORIA       CHANNELS                OH         90014289634
61178193772482   JUSTIN         CRISSMAN                PA         51057241937
61178278631453   LYNDAIA        TAYLOR                  MO         27559232786
61178823761964   MARIA          QUIROZ                  CA         90004798237
61179636231468   NICK           STADLER                 MO         90014796362
61179724157538   VICTOR         DURAN                   NM         90011617241
61181359191975   LAVETA         JACKSON                 NC         17039453591
61183443131453   TEWANNA        VERNER                  MO         27520594431
61183519255975   ALICIA         ALDACO                  CA         90013265192
61184422557538   RYLEE          WOODS                   NM         90013074225
61184455361964   DIANA          CAMPOS                  CA         90015064553
61186278231453   TORI           BRANCH                  MO         90004122782
61186961251374   JONATHAN       HAY                     OH         90010319612
61186988897125   NATALIE A      CONSTANCE               OR         90006999888
61187944857538   JOANN          GUTIERREZ               NM         35557149448
61191238471921   ELDON          HICKMAN                 CO         90012672384
61191414891894   JUSTIN         NEAL                    OK         21084124148
61192852457538   VALERIE        HORNBEAK                NM         90014438524
61193474751354   FRANK          VONER JR                OH         66000614747
61193759147821   ANGELECK       BROWN                   GA         14016097591
61194897255975   ALMA LETICIA   BACA ORTIZ              CA         90014538972
61195637761964   AIOTEST1       DONOTTOUCH              CA         90015116377
61195761291975   CALITA         MCLAURIN                NC         90014277612
61196385563646   GARY           MUELLER                 MO         90010363855
61196956757538   STELLA         MATTA                   NM         90013389567
61197196691522   AVLEN          GONZALEZ                TX         75013931966
61197448251354   AMBER          CONERLY                 OH         90014644482
61198534271921   DOMINIC        MARRS                   CO         90000235342
61199751891975   RASHID         HURST                   NC         17004627518
61199828371921   ERICA          ROMERO NEWELL           CO         90002258283
61211777351354   JAIME          CAUDILL                 OH         90007867773
61212827955973   VANESSA        WILLIAMS                CA         90004088279
61213298557432   BRANDI         SMITH                   IN         90015442985
61213433755973   CONSUELO       DIAZ                    CA         48046454337
61214341461964   PATRICIA       OLEA                    CA         90008183414
61216382271921   RICARDO        AGUIAR                  CO         90015023822
61217775163646   HENRY          REPROGLE                MO         90011447751
61219234263646   JESSICA        LECRONE                 MO         90013442342
61224852391998   ANA            PEREZ                   NC         90002028523
61224991791522   ELIZABETH      FLORES                  TX         75009649917
61225159361964   GLORIA         CASE                    CA         90013961593
61226433991894   ARIEL          THOMPSPON               OK         90014164339
61228355997125   RENEE          SPRAGUE                 OR         90007003559
61229489133698   PEDRO          ZAMORA                  NC         90014164891
61229494857432   EMILY          BUTRICK                 IN         90015374948
61229572261936   LUZ            BESARES ROSADA          CA         90012005722
61231731231453   CONNIE         BIVENS                  MO         90010797312
61231815891894   LAEAVEN        JACKSON                 OK         90012998158
61232337351354   VICTOR         BREAZELL                OH         90010633373
61233633251354   KATHERINE      DEANGELIS               OH         90014076332
61233638261964   AIOTEST1       DONOTTOUCH              CA         90015116382
61234196171921   AUTUMN         KRAMER                  CO         32091221961
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61236659331434   DIANE          IKEMAN                  MO         27564426593
61238146657538   ARTURO         AVILA                   NM         90013031466
61238424971946   EMILY          HUFF                    CO         90011594249
61241673861936   SCOTT          WALKER                  CA         46091246738
61242323485957   XIURONG        CHENG                   KY         90012683234
61243827391975   AMARYLLIAS     DIXON                   NC         90000678273
61244561791894   MATTHEW        LONG                    OK         21010005617
61245125961934   JASON          BRAZEL                  CA         90013781259
61245922791527   RAUL           OLIVAS                  TX         90005859227
61246125961934   JASON          BRAZEL                  CA         90013781259
61247152833698   BILLY          CARTER                  NC         12085381528
61247437757538   CYNTHIA        RODRIGUEZ-RODRIGUEZ     NM         90013074377
61247889291534   GUILLERMO      ORDAZ                   TX         75025488892
61248117272482   DEBORAH        CARNEY                  PA         51058841172
61248476491362   PHIL           PETERSON                KS         90013824764
61248678755973   SALUSTIA       CASAS                   CA         90001096787
61251739455975   ROXANNE        SILLER                  CA         48092897394
61252245431453   NIERA          MAYS                    MO         90012732454
61252871851354   DAN            PENIFF                  OH         90014858718
61252913771921   ANTHONY        ROVEDO                  CO         32026429137
61253396731453   LADONA         HOPPER                  MO         90010893967
61254331955975   MISTY          GRAY                    CA         48001093319
61254694663646   ADAM           ESCHBACHER              MO         90015546946
61256193291894   CHANDA         WELLS-KIDDY             OK         21050481932
61258643461964   BERENIS        LARIOS                  CA         90000636434
61261147455975   MELISSA        HERNANDEZ               CA         90014331474
61261592463646   D              GRAHAM                  MO         27577135924
61262179955975   CONSUELO       NAJERA                  CA         90008971799
61262292255973   PEDRO          HERNANDEZ               CA         90013982922
61262934891975   MARY KAYE      WILLIAMS                NC         17083279348
61263515291894   TRISTA         GOULD                   OK         90014165152
61263661171921   HENRY          HAAG                    CO         90013166611
61265132691894   DAVID          MCADAMS                 OK         21036901326
61269195155973   JACOB          MORAIDO                 CA         48032581951
61271133291525   OLGA           HERNANDEZ               TX         75014401332
61271291793728   STEVEN         WIWI                    OH         90013892917
61271923255975   SARAH          GARCIA                  CA         48025569232
61272928351354   MARIE          BREHIM                  OH         90015259283
61273777991894   MARCIA         STARKS                  OK         90014177779
61274473351354   JEFF           ANDI                    OH         90013874733
61274744661936   MIA            STEWART                 CA         90012857446
61282929391894   ANDRES         SANTIAGO                OK         21015919293
61283195191894   CONY           DIAZ                    OK         90005151951
61283868491522   JUDITH         GUERRERO                TX         75009168684
61284179433698   PETER          WILSON                  NC         12053491794
61284636861936   JOSE           PORTILLO                CA         90014266368
61286633431453   KRYSTAL        REESE                   MO         90008316334
61287142471921   COURTNEY       CASWELL                 CO         90013271424
61287183531256   D-ANTHONY      SMITH                   IA         90014081835
61288638261964   AIOTEST1       DONOTTOUCH              CA         90015116382
61288779461936   RENE           DUBON                   CA         90012857794
61289282491975   SHELENCIA      HOLMES                  NC         90014352824
61289611863646   CHARLES        BLACKWELL               MO         90015166118
61289638261964   AIOTEST1       DONOTTOUCH              CA         90015116382
61289995131453   DERICK         LEWIS                   MO         90003379951
61291949455975   ANDREW         TAYLOR                  CA         90014199494
61292291984392   EXAEL          ALVAREZ-LOPEZ           SC         19054692919
61292352755975   ALMA           LOPEZ                   CA         90008633527
61292384861936   RAMON          CABAL                   CA         46019603848
61293452191975   KATRINA        WRIGHT                  NC         90014574521
61294253551354   YJOHNEA        TIPTON                  OH         90014832535
61295722161936   VERONICA       NIEVES                  CA         46083957221
61297139271921   LEROY          MAESTAS                 CO         90009501392
61297583455975   ERASMO         SANCHEZ                 CA         90013755834
61311452191975   KATRINA        WRIGHT                  NC         90014574521
61315279455973   YESENIA        ARREGANDO               CA         90007042794
61315367855975   LAURA          GUTIERREZ               CA         48006533678
61316181891975   SHERN          ROBERTS                 NC         90014171818
61316534491975   QUANZANEYSHA   ROBERSON                NC         90013295344
61316849171921   ALICIA         MORGAN                  CO         90015538491
61317249357432   JEREMY         WIREMAN                 IN         90015412493
61317419361936   MONICA         RUBALCAVA               CA         46016164193
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61319947563646   SHERRI       HAMMOND                   MO         27538869475
61321256151354   MIKE         ERTEL                     OH         66025852561
61321638661964   AIOTEST1     DONOTTOUCH                CA         90015116386
61328213833698   DONALD       STOWE III                 NC         90009572138
61328638661964   AIOTEST1     DONOTTOUCH                CA         90015116386
61329471891894   NEISHA       DUMAS                     OK         90014604718
61331738171921   RAMESES      ALVAROD                   CO         90006327381
61332142157538   DONNA        MENDOZA                   NM         90002531421
61332763925236   SHARITA      EVANS                     NC         90005797639
61332886786593   LETICIA      ZAVALA                    TN         90014368867
61332933233698   JAMES        WRIGHT                    NC         90014179332
61333381457538   SANCHEZ      HELEN                     NM         90000373814
61335963891894   LAZABIAR     MARION                    OK         90014679638
61336812657538   BONNIE       BARNES                    NM         90000288126
61337563963646   BRAD         WALTERS                   MO         90003215639
61338316931453   MELISSA      STAFFORD                  MO         90013723169
61338946991881   JESSICA      DUTTON                    OK         90010859469
61339841861936   JOANNA       MALDONADO                 CA         90012858418
61339883533698   ANTHONY      SHEPHERD                  NC         90011068835
61339888171921   AUBRA        SAVAGE                    CO         32012238881
61341391755973   ALEXIS       AVINA                     CA         90003023917
61341617255975   RACHEL       BROCK                     CA         90014436172
61341996591975   DANA         CRUMPLER                  NC         90014689965
61342147871976   GAIL         COOK                      CO         90000231478
61343957361936   MARK         AZHOCAR II                CA         46030979573
61344298261964   REYNALDO     VEHENA                    CA         90011802982
61344837841272   TARA         CLANAGAN                  PA         51017208378
61345936291894   D            HARGRAVE                  OK         90004599362
61348211863646   HEIDEE       WAGNER                    MO         90015362118
61349211571921   BRANDON      SPROUSE                   CO         90013572115
61351752972482   MARY         FREEMAN                   PA         51090367529
61352191563646   STEPHEN      WILSON                    MO         90006331915
61354332691894   TERI         GRAVES                    OK         90014343326
61354682951354   STEPHANIE    FRICKE                    OH         90013186829
61356119261936   MICHELLE     CHABOLLA                  CA         46063281192
61356317881678   SEAN         PRICE                     MO         29074833178
61357526255973   ROSIE        DAVIS                     CA         48075395262
61358612771921   LORRI        RAMOS                     CO         90008606127
61358619586593   ROGER        TERUEL                    TN         90015616195
61359296955975   MARTIN       GOMEZ                     CA         90004302969
61361514471921   ANDRZEJ      HAIG                      CO         32024025144
61361569931453   ALYSSA       MABINS                    MO         27546925699
61362665191894   RACHEL       MELTON                    OK         90014106651
61362889851354   KIA          BYRD                      OH         90008878898
61363549161964   LUZ MARIA    ARISTA                    CA         90010945491
61363741655973   CHRIS        MORENO                    CA         90012537416
61365213661964   JAMES        FEKETE                    CA         90011422136
61366316155975   CORINA       MURGUIA                   CA         90003003161
61366493855973   JAIME        GATES                     CA         48004904938
61367149663646   ALVIN        SEGAL                     MO         90014411496
61367174933698   JOSE         REGULES                   NC         90014181749
61368225147996   TOVAR        MANUEL                    AR         25096062251
61372193733698   ALLAQUA      HOWELL                    NC         90014181937
61372366155975   ESTELA       ESQUIVEL                  CA         48026453661
61372455347821   JANEY        MORGAN                    GA         90005544553
61375113471921   LAWRENCE     NIBERT                    CO         90010741134
61375187463646   ELCID        STRICKLAND                MO         27563331874
61375327133698   CHASITY      RACHEL                    NC         12006693271
61375726555975   SAMUEL       CASTILLO                  CA         90014077265
61376691157538   JEAN         CAMACHO                   NM         90014566911
61377827291975   ANTOINETTE   HARRINGTON                NC         90014578272
61378577961936   MUHUBO       DIRIYE                    CA         90014815779
61378852671969   PAULINE      ROMERO                    CO         90011258526
61381147455975   MELISSA      HERNANDEZ                 CA         90014331474
61382874455975   ANGELICA     JOVEN                     CA         48066218744
61383424551354   ROBERT       ARMENTROUT                OH         90009584245
61384454263646   MELIISA      MCKAY                     MO         90010594542
61386298697125   ASHLEY       LACKSTROM                 OR         90007062986
61386836733698   JARMICA      JOHNSON                   NC         90014198367
61388138471921   ROBERT       REINHARD                  CO         90010221384
61388396451354   ALEX         SWANGO                    OH         90013213964
61392873371921   KAYLA        TERRY                     CO         90010768733
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61394451457142   YOHANNES     MENGISTU                  VA         90013394514
61395559661936   MERARY       ROMAN                     CA         46060395596
61395979161964   KEVIN        MASSEY                    CA         90012889791
61397152547996   MARVIN       MAGANA                    AR         25078741525
61397973554128   JOHN         MCCOARD                   OR         90005459735
61398274161964   RICHARD      OROZCO                    CA         90011862741
61398575657432   SYLVIA       CAMPOS                    IN         90015355756
61398711991527   STEPHANIE    KITRIDGE                  TX         90012377119
61399772631453   SKILYAR      CHRISTIAN                 MO         90011127726
61411174361964   JAQUELINE    GONZALEZ                  CA         90010991743
61411388781691   SHANNLON C   MARQUEZ                   MO         90009933887
61411867361558   BILLY        MILLER                    TN         90015518673
61412111163646   DONALD       ANGLES                    MO         90012021111
61412433563646   DONALD       ANGLES                    MO         90013564335
61413435571921   CATHIA       BELL                      CO         90012344355
61413923633698   LATOYA       FULLER                    NC         90005799236
61415174357538   ROSA         ZAMARRIPA                 NM         90013881743
61416481691894   VANESSA      VANN                      OK         90011674816
61417962863646   ANTONIO      ESCAMILLA ROGUE           MO         90015309628
61418886961936   FRED         APOCADA                   CA         90012858869
61419786754128   JAMIE        KLOTZ                     OR         47079387867
61419886961936   FRED         APOCADA                   CA         90012858869
61424584461936   RAUL         YANEZ                     CA         90013545844
61424751951354   JOHN         PHILLIPS                  OH         90003437519
61426328231453   MICHEAL      MILLER                    MO         90011693282
61427287981624   BETH         HARTZLER                  MO         29010882879
61427656171921   CHRISTIAN    HERMOSA                   CO         90014926561
61428676955975   MELISSA      BEAN                      CA         48082766769
61428715451354   DEBORAH      GREENE                    OH         90013237154
61428894386593   BRIANNA      GILMORE                   TN         90015518943
61429297561964   IVETT        GODOY                     CA         46057892975
61429495355973   JAIME        CRUZ                      CA         48073104953
61429935871921   TIFFANY      MATTHEWS                  CO         90014369358
61432254831453   PAMELA       DAVENPORT                 MO         27578172548
61432396955975   FERNANDO     SALDIVAR                  CA         90012123969
61432685161936   ALONZO       V ARELLANO                CA         90013616851
61432997991975   SYLVIA B     HEIN                      NC         90015079979
61433134257538   SONNY        MATA                      NM         90005611342
61433959863646   MATTTHEW     AHOLT                     MO         27559979598
61434195481687   LARRY        WILBER                    MO         29060931954
61435355784392   CARLOS       AGUILAR                   SC         90011073557
61435683691975   ALBERTO      HERNANDEZ                 NC         90012036836
61437521351354   STEVEN       KLEIN                     OH         90013875213
61437841897125   ANDREW       BEAL                      OR         90007228418
61437895163646   SOON IL      BAEK                      MO         90010848951
61438243633698   JANNET       BLUE                      NC         90014202436
61439323655975   SUSAN        INTHAVONGSA               CA         90002123236
61441954747996   PENNY        PATTON                    AR         25019689547
61441972157538   MARYLOU      LASCANO                   NM         35541209721
61441986357538   JOSE         ROMERO                    NM         90013989863
61442217547996   ANITA        SANDLIN                   AR         90013432175
61444749155973   KRISTEN      FOWLER                    CA         90013867491
61445735251354   MITZI        RANGEL                    OH         66052537352
61446543691894   TYLER        BELL                      OK         90011675436
61447288885953   VICTOR       CASTILLO                  KY         90010032888
61449644955975   NATHAN       CORDOVA                   CA         48094066449
61452595157538   DAENA        PAISANO                   NM         90011815951
61453617955973   LILIA        CERVANTES                 CA         90014916179
61453673291894   MARSHA       GRIMES                    OK         21008316732
61453947271921   SAM          MERCADO                   CO         90012369472
61454637491894   JASMINE      FLETCHER                  OK         90014166374
61455322961936   GLORIA       GARRIDO                   CA         90010663229
61455638961964   AIOTEST1     DONOTTOUCH                CA         90015116389
61457192661936   BENJAMIN     HART                      CA         90008161926
61459445871921   JASMINE      WARREN                    CO         90015124458
61461535991975   CINSEASON    MCNEILL                   NC         90004815359
61461866285939   AMY          HILL                      KY         90013138662
61462953161936   JUAN         TORRES                    CA         46052169531
61463313691522   ADRIAN       CHAVEZ                    TX         75048793136
61464136691975   JEANIE       HOLEMAN                   NC         17005431366
61464228157538   FATIMA       PEREZ                     NM         90006652281
61464738563646   JOE          WILLIAMS                  MO         90015387385
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61464938951354   JOSE         HENRIQUEZ                 OH         90015579389
61465195351376   SHARA        WOOSTER                   OH         66017491953
61465841791894   MARIA        MUNOZ                     OK         90011678417
61465982384392   NORBERTO     GARCIA                    SC         90011699823
61466827431453   TEASHA       CUNNINGHAM                MO         90011458274
61466932633698   CHICHA       TRAVIS                    NC         90014209326
61467597584392   LAURA        GEE                       SC         90005005975
61468638961964   AIOTEST1     DONOTTOUCH                CA         90015116389
61469254231453   RICHARD      JOPLIN                    MO         27590352542
61471522371921   STEPHEN      DAVIS                     CO         90011435223
61471592991894   AUDREY       SEELEY                    OK         90012975929
61471982351354   SANDY        ARGUETA DE LUNA           OH         90013619823
61474913141226   DAVID        GRIFFIN                   PA         51059789131
61475252791522   JULIE        MILLER                    TX         75010872527
61477157555975   LUCIANO      VILLAR                    CA         90003511575
61479432591894   YOLANDA      SANTIAGO                  OK         21061574325
61481523655975   ANGELICA     RAMIREZ                   CA         48006475236
61483358551354   BARBARA      CALDERA                   OH         66014373585
61484229761936   DAVID        SHAVER                    CA         46060212297
61485135861936   RAQUEL       CASTELLANOS               CA         90012871358
61489587191894   YAMILEZ      NAVARRO                   OK         90014165871
61489736555973   MARIBEL      SUAREZ                    CA         90010737365
61491171755973   DOUG         WELCH                     CA         48091251717
61494188463646   JESSICA      LIVERAR                   MO         27596721884
61495379531455   AMER         HAMDEH                    MO         90013523795
61496288451354   LLENA        MALTA                     OH         90012052884
61496567161964   ARTURO       GIL                       CA         90005535671
61497876957538   V HUGO       GONZALEZ                  NM         90008268769
61498662447821   TERRELL      MCCLENDON                 GA         90005616624
61498718271921   MARK         WHITE                     CO         32040727182
61499754755973   JEREMY       LYNN                      CA         48097257547
61511372691975   SHAINA       HORTON                    NC         17097083726
61511854631453   TAMMY        PALKO                     MO         27574168546
61512134357538   HANSEN       SHELLEY                   NM         90003801343
61512467591975   GARREN       WASHINGTON                NC         17015924675
61514179984392   ASHLEY       LUKE                      SC         19076861799
61517347621626   BRANDON      LUCAS                     OH         90014033476
61517349455973   MARIA        MERAZ                     CA         48096643494
61517735551354   BONNIE       CALDWELL                  OH         66076157355
61518531471921   MARIA        CASTANEDA                 CO         32092425314
61519238657538   DOMONIQUE    GONZALES                  NM         90013792386
61521954561936   DANIEL       PORET                     CA         90012859545
61522642451354   DANTE        LANDER                    OH         90012376424
61523619784392   THOMASINA    BELL                      SC         90011826197
61524567757538   CLAUD        BIRD                      NM         90003055677
61527136671921   LISA         GUTERRIZ                  CO         90007971366
61527498171921   ANDREA       BUZO                      CO         90015354981
61529268155973   EVA          GOMEZ                     CA         90010862681
61529648771976   MICHEAL      QUINTANA                  CO         90012936487
61531495791894   ISAEL        TORRES                    OK         90012724957
61531737251354   MAUUEL       BERROA                    OH         90012627372
61532258761936   FERNANDO     CAJICA                    CA         46085712587
61532593671921   JESSICA      GARCIA                    CO         90012175936
61532869691894   JENNIFER     TUFTS                     OK         90010988696
61536369891894   JORDAN       CHRIST                    OK         90014833698
61536912457432   RYAN         EGAN                      IN         90015359124
61537394457538   ARTURO       CASTILLO                  NM         90011693944
61538495233698   ERICA        CAGLE                     NC         90004694952
61538827263646   CHARLOTTE    GREEN                     MO         90009978272
61539321571921   ROBERT       GUTIERREZ                 CO         32040353215
61541287355975   OFELIA       RANGEL                    CA         90015402873
61541892184392   TERESA       GARNER                    SC         19001828921
61542232961936   ANGEL        ROMAN                     CA         90015082329
61542327771921   MORAN        ELDAR                     CO         90004323277
61542739357538   GONZALEZ     MARTIN                    NM         90002997393
61544123591894   CLYDE        MCCALL                    OK         90013421235
61544533955993   MARTHA       MOLINA                    CA         48096055339
61548568771921   TRE          VAUGHN                    CO         90013705687
61548686491527   ZAIRA        FRAIRE                    TX         90014146864
61549486855973   RUSSELL      SIMMONS                   CA         90011684868
61552126431453   SHATONYA     QUALLS                    MO         90015171264
61552544833698   MICHELLE     BROOKS                    NC         90014215448
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61553123691527   JEANNIE       MEZA                     TX         75017731236
61553258691923   SAYE          SENDOLO                  NC         90005632586
61553645191894   MORRIS        WILLIS                   OK         90014166451
61553811263646   JAUN          RANGEL-ACOSTA            MO         27592538112
61554194555975   JUAN          MEZA                     CA         90013311945
61554276391975   TINA          WILLIAMSON               NC         90013282763
61554592433698   KNEEKA        BROWN                    NC         90014215924
61555144261936   LUIS          LOPEZ                    CA         90008101442
61555618291522   ELVIA         SILVA                    TX         90009926182
61556892184392   TERESA        GARNER                   SC         19001828921
61557662561936   PRISCILLA     MARTINEZ                 CA         90007896625
61559642861936   PERLA         HERNANDEZ                CA         90012876428
61561754131453   LAVONDA       GRAY                     MO         90011697541
61562546844335   PAYGO         IVR ACTIVATION           MD         90012765468
61563245486593   BERTHA        HERNANDEZ                TN         90013852454
61563471731453   JOE           BOXER                    MO         27578424717
61563569171921   MELINDA       BAEZ                     CO         32070355691
61565467371921   SONJA         LAMPERT                  CO         32020114673
61566235663646   JENNIFER      BROOKS                   MO         90013922356
61566613457538   NICHOLSON     DEBORAH                  NM         90013116134
61566686455973   FRANKIE       DIAZ                     CA         90008026864
61566855191894   JON LUCAS     CARRILLO                 OK         90014788551
61566869851354   JENNIFER      EVANS                    OH         90011318698
61567544361936   JOSEPH        LOPEZ                    CA         90003815443
61567722191894   TERESA        BASQUEZ                  OK         90012147221
61567738755973   OTONIEL       LEANOS                   CA         48030337387
61568257661936   KAREN         MILLER                   CA         90011432576
61568914355975   SHANNON       GENTRY                   CA         90001579143
61569691272498   CAMERON       MCCLURE                  PA         90001586912
61569784431453   FAITH         CULLEN                   MO         90011697844
61573123855973   EDDIE         MARTINEZ                 CA         90012871238
61573212457538   LIZ           HERNANDEZ                NM         90011702124
61573735357538   LAUREN        SPILSBURY                NM         90015097353
61574858661966   JULIE         CHAVEZ                   CA         90005608586
61575675391522   SILVA         MARTHA                   TX         90003656753
61575887691923   YESENIA       MENDOZA                  NC         90001348876
61578582757538   JUAREZ        VALERIE                  NM         35575665827
61578956191975   SANDRA        WALL                     NC         90013829561
61579435271921   CHAROLLETTE   CLARK                    CO         90013964352
61579933191894   HEATHER       BRADLEY                  OK         21042209331
61582489731453   FELICIA       JOHNSON                  MO         90014884897
61584199151354   GILMAR        MONASTERIO               OH         66094261991
61584321257432   PAYGO         IVR ACTIVATION           IN         90014263212
61586547691975   JACINDA       JOHNSON                  NC         90013265476
61586566655973   STEPHANIE     TORRES                   CA         90011425666
61586775161964   SANDY         LEMONI                   CA         90014707751
61587526561964   GLORIA        ROBLES                   CA         90010675265
61589638961964   AIOTEST1      DONOTTOUCH               CA         90015116389
61591484457135   ARMANDO       CHAPAS                   VA         90010804844
61593779591522   LETICIA       FUENTES                  TX         90002167795
61595639161964   AIOTEST1      DONOTTOUCH               CA         90015116391
61596641361964   JOSE JESUS    CARMONA                  CA         90010036413
61597249131453   KIMBERLY      HAMILTON                 MO         27574692491
61597437551354   DEBORAH       SLAYBACK                 OH         66010174375
61599922557538   SANDRA        CASILLAS                 NM         90011709225
61612256855975   MARISELA      RODRIGUEZ                CA         48034662568
61614383661964   JOSE ABEL     AGUAYO                   CA         90005743836
61614576863646   CRYSTAL       HANLEY                   MO         90013185768
61615568271921   ANTHONY       DEACON                   CO         32061445682
61615597157538   CAMBREY       JOHNSON                  NM         90013585971
61616429291522   ANGELA        HERNANDEZ                TX         75024434292
61616491651354   CARRIE        RICHARDSON               OH         66098844916
61616656257538   CARMEN        RIVAS                    NM         90013176562
61616723691975   JERELL        PRINGLEY                 NC         90015177236
61617259961964   ERNEST        SILVA                    CA         90004722599
61617619631453   SUNSHINE      CALDWELL                 MO         90014506196
61617754571921   JOE           NIEMAN                   CO         90010967545
61618484531453   TAMARA        DUROSO                   MO         90003574845
61622179833692   ZULMA         GOMEZ                    NC         90011461798
61622295455975   PHILLIP       BERNAL                   CA         48040712954
61622297641229   JAMES         INKS                     PA         51042262976
61622579857538   JOHN          LANDRUM                  NM         90012735798
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61623745891975   TANYA        ALSTON                    NC         90008767458
61625925257538   PABLO        HORCASITAS                NM         90014819252
61625938163646   RICARDO      TORRES                    MO         90006789381
61626276584347   NAAJIYA      COAXUM                    SC         90005502765
61627258391894   EDDIE        WATSON                    OK         90010992583
61628687131453   KITCHEN      ERIC                      MO         90012386871
61629223591362   VELIA        HURTADO                   KS         90009132235
61629836991975   JONATAN      RUANO                     NC         90012958369
61632145757538   LUIS         ROSALES                   NM         90004981457
61633225963646   JENNIFER     CALLAWAY                  MO         90014372259
61633295671921   BRANDON      SMITH                     CO         32023752956
61633365961964   JULIO        DIAZ                      CA         90012833659
61633639691894   JOSHUA       STACY                     OK         90012676396
61635354731453   ANTOINETTE   OSBY                      MO         90012673547
61635514263646   MELISSA      COWIN                     MO         27564215142
61635569755973   CARMEN       UBIEDO                    CA         90002665697
61635799855975   VANESSA      CERVANTES                 CA         90011967998
61636343691894   RUBEN        REYNOLDS                  OK         90007543436
61636926857538   CHELSIE      STEWART                   NM         90013629268
61637783871921   JOHN         VENEGAS JR                CO         90013457838
61638651155973   FRANCISCA    PATINO                    CA         90014856511
61639154871921   LINDA        RIDGES                    CO         90013611548
61639594771921   SCOTT        NICKEL                    CO         90011525947
61641181363646   JAIMIE       ESCUDERO                  MO         27550921813
61641783393792   JAIME        WATSON                    OH         90011727833
61643853455973   MARY         GRUBERT                   CA         90013788534
61644735263646   JACKIE       MCKINNEY                  MO         90003217352
61645628361936   LUIS         GALINDO                   CA         90002626283
61645697363646   PETER        ANDERSON                  MO         90015136973
61645712451354   PEARL        ANDERSON                  OH         90011487124
61645719491894   PEMIGIO      PERALTA                   OK         90014167194
61645745393741   CARL         BALLACHINO                OH         90007287453
61645756591894   CHER         THAO                      OK         90000487565
61649563471921   VINCE        CAFARCHIA                 CO         32084915634
61651569555975   RUBEN        ESPONIZA                  CA         48001125695
61651976992844   CHRIS        PALACIO                   AZ         90015259769
61653374697122   GERARDO      RUIZ                      OR         44510953746
61654471557538   KARI         LEE                       NM         35547684715
61654639161964   AIOTEST1     DONOTTOUCH                CA         90015116391
61657128384347   ALEXYS       BROWN                     SC         90006841283
61658249471921   JANICE       TRUJILLO                  CO         90000852494
61661199631459   SHANNON      FOSTER                    MO         90008831996
61661724955975   JAVIER       MEZA                      CA         90011917249
61661766497125   JOSHUA       CASTILLO                  OR         90015117664
61662851251354   JOSE         BERRIOS                   OH         90010818512
61663321133698   KIMBERLY     BYERS                     NC         12008423211
61665666691527   COSME        ALVARADO                  TX         75017726666
61666362933698   JAPUAN       HARDIAL                   NC         90014743629
61667298333698   JESSE        MCKINNEY                  NC         90014242983
61667494531453   RANDY        ROBINSON                  MO         90011004945
61668426161964   ARACELI      LOPEZ                     CA         46008934261
61669331855973   DANIEL       CEBALLOS                  CA         90012903318
61671765555975   ANGELO       SANCHES                   CA         48021887655
61671948257538   PALMIRA      PACHECO                   NM         90013709482
61672127361964   TAMARA       CADE                      CA         46090781273
61673836947958   ELIZABETH    GARIBALDI                 AR         25088048369
61674217957538   ESMERALDA    GARDEA                    NM         90013232179
61674871454128   MATT         HINER                     OR         47042888714
61675725491975   JACQUELINE   LITTLE                    NC         90005327254
61676159863646   JESSICA      WINFORD                   MO         90013751598
61676697763634   CHIRS        REINEKE                   MO         27558516977
61678616333698   RAYMOND      JONES                     NC         90008546163
61679135561964   SHERI        MERCADO                   CA         90001051355
61681583855975   LUIS         VENTURA                   CA         48053265838
61682249561964   BERTHA       RAMOS                     CA         90013532495
61684893163646   KEITH        HENON                     MO         90008438931
61686132857538   IVAN         CARRILLO                  NM         90001861328
61686513957432   PAYGO        IVR ACTIVATION            IN         90011465139
61686639161964   AIOTEST1     DONOTTOUCH                CA         90015116391
61688881691975   FAUSTINA     ORONO                     NC         17067578816
61689658331423   GINA         BODEN                     MO         27553746583
61692131891975   JOE          ROGERS                    NC         90003031318
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61692299757538   LUISA         MADRID                   NM         35559562997
61692585831453   ORA           GRANT                    MO         90013155858
61693262857538   MELISSA       WALKER                   NM         90013232628
61693932161964   ALVARADO      GUSTAVO                  CA         46074039321
61694185547996   JOSHUA        FARRIS                   AR         25093771855
61694498331453   KENEITHIA     WATSON                   MO         90014744983
61695531555975   JOSE          CISNEROS                 CA         90012495315
61696135455975   VERONICA      GARCIA                   CA         90010341354
61696482963646   KAYLA         BORDERS                  MO         90014734829
61697862871942   DULCE         GALICIA                  CO         90008798628
61698727751354   JANISE        TIPTON                   OH         90011437277
61698786754128   JAMIE         KLOTZ                    OR         47079387867
61698929361936   FRANCISCO     VASQUEZ                  CA         90010199293
61716235755975   BRENDA        LAMB                     CA         48017472357
61717371463646   TAMMY         JUNGE                    MO         90001893714
61722262451354   ANGELA        SMITH                    OH         90008202624
61722712563646   KENNY         FETSCH                   MO         90014937125
61722866163646   PAYGO         IVR ACTIVATION           MO         90014948661
61724238133698   OCTAVIO       AGUILAR                  NC         90015042381
61724995463646   TIMOTHY       JANDA                    MO         27568119954
61725684571921   GAIL          ROSADO                   CO         32039746845
61727331791522   CARMEN        MUNOZ                    TX         75086993317
61729425821731   TYLER         ROSENKOETTER              IL        90015504258
61729947361954   MARC          ALVARES                  CA         90003959473
61731123555975   JOSE          GARCIA                   CA         90008001235
61732298255975   GAUDENCIO     BERNAL                   CA         90007372982
61736413857538   ORLANDO       NEGRON                   NM         90015324138
61736683155973   CHRISTOPHER   MITCHELL                 CA         90007416831
61736837255928   EVA           LUNA                     CA         90005188372
61737776155975   ROSA          ROQUE                    CA         90007607761
61737833791894   MICHAEL       RAMBY                    OK         21049678337
61737969361936   MOHAMED       HASSAN                   CA         90014819693
61739471791521   BERTA         ZARZOZA                  TX         90012144717
61741124571921   VITORIA       REYES                    CO         90014531245
61743535155973   DANIEL        SANCHEZ                  CA         90012555351
61744122633698   ROZELIAMI     MILLER                   NC         90011341226
61745188261964   COURTNEY      LEWIS                    CA         90011791882
61746476471921   YVETTE        LEMUEL                   CO         90010034764
61746729731453   MICHELLE      DAVIS                    MO         27574897297
61747626851354   ANNE          REID                     OH         66028256268
61748188563646   TERESA        EVOLA                    MO         90011161885
61749916161936   BENJAMIN      BARNETT                  CA         90012869161
61751613791894   JOSE          GARCIA                   OK         90014256137
61752668857538   MARIA         ESCUDERO                 NM         90013416688
61752785991522   GUADALUPE     VILLALOBOS               TX         90002167859
61753865763646   DIANE         MCGLYNN                  MO         90009788657
61754168733698   MARTIN        SALAZAR                  NC         12092621687
61754399255973   DREW          VANDEMARK                CA         90013543992
61755317633698   ANTWANNIA     ROBERS                   NC         12093453176
61757563433698   JOSEPH        ROBERTS JR.              NC         12090185634
61758268147821   GARY          RICHARDSON               GA         90005732681
61759623163646   FRANK         FINOCCHIARO              MO         27506716231
61761936855973   CINDY         ONSUREZ                  CA         48051129368
61762323191894   JOAQUIN       RUIZ                     OK         90013423231
61762868855941   BALDOMERO     PINEDA                   CA         90008458688
61762952471921   ASHLEY        GOODE                    CO         90013419524
61763392371921   JONATHAN      PEARSON                  CO         90013433923
61763839391942   ROBERT        ARRINGTON                NC         90013928393
61765657971921   COSME         GOMEZ                    CO         90004156579
61765665571921   ROSARIO       RUIZ                     CO         90014276655
61766456371921   MONICA        SAUCIER                  CO         90013404563
61766573291975   WANDA         POSEY                    NC         90003225732
61767119491975   CATHY         MERIDETH                 NC         90013501194
61769622755975   MARCOS        CANABA                   CA         90012126227
61769914255975   ELOI          MARIN                    CA         90009259142
61776168731453   JAMES         LOEFFLER                 MO         27516481687
61776235884392   NICOLE        SIMMONS                  SC         90008362358
61776994751354   CYNTHIA       PELIOTES                 OH         66014099947
61778745557538   DEVAN         NIETO                    NM         35583327455
61779421931453   DWAN          MEEKS                    MO         27590354219
61781283571921   ANDREA        LEHL                     CO         32004852835
61782558186593   JONNATHAN     FIGUEROA                 TN         90015515581
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61783786791894   MILTON           MARQUEZ               OK         90012347867
61784864831453   JOSEPH           FONVILLE              MO         90010608648
61785474391522   JUNIOR           SAENZ                 TX         75011304743
61785941661964   NORMA            MEDINA                CA         90013749416
61786298391527   MIGUEL           GUZMAN                TX         90010732983
61786926231453   ANTIONETTE       HARRIS                MO         90004069262
61788344671921   DANIELLE         RUNGE                 CO         32034903446
61788384691958   NATALIE          BASS                  NC         90007093846
61791645361964   GILBERTO         BELTRAN               CA         90013176453
61791793991857   ANGELA           WALD                  OK         90014267939
61792134791894   ANGELICA         BERNAL                OK         90015181347
61792271291552   JOHN             PETERSON              TX         75094712712
61792311361936   CAREN            LUKE                  CA         90013703113
61795442131453   LIONEL           COLLINS               MO         27590354421
61796311991975   MARGARITA        GARCIA                NC         90003973119
61799835861936   JOSEPHINE        THOMAS                CA         90012878358
61812496571921   HEATHER          BOLES                 CO         90015594965
61813458433698   ANA MARIA        BERNARDINO            NC         90013084584
61816485791534   MYRNA            SANCHEZ               TX         90008644857
61816679461936   RYAN             FULKERSON             CA         90003426794
61819131651354   PAUL             GOHMAN                OH         90013551316
61819333771921   LIZEBETH         BUSTILLOS             CO         90003533337
61819541425236   DECKY            WARREN                NC         17097755414
61821356771921   KENNETH          LISTER                CO         32096763567
61821726161966   LIZBETH          GUERRERO              CA         90013397261
61821854961964   MARCOS           CLAROS                CA         90014278549
61823842584347   EBONY            GREEN                 SC         90013468425
61825351657538   JUAN             JIMENEZ               NM         90013233516
61826427261936   SHELDON          MILLER                CA         46014834272
61827759655975   KIM              RUIZ                  CA         90012977596
61829249991894   JAMES            CAMPBELL              OK         90011692499
61831895861964   TINAMARIE        HERRERA               CA         90011358958
61833231557538   STEPHEN          SWAIN                 NM         90013632315
61834191784392   JESSICA          PYE                   SC         90010051917
61835282855973   LUIS             CONTRERAS             CA         90009442828
61835639161964   AIOTEST1         DONOTTOUCH            CA         90015116391
61836228455973   ASHLEY           MARTIN                CA         90014782284
61836856491894   RICHELLE         KELLEY                OK         90014168564
61837533263646   KATHERINE        SARGENT               MO         90008835332
61838359391894   FLORE DE MARIA   ESCALERA VICENCIO     OK         90013423593
61838494157538   JANET            CAMPBELL              NM         90013664941
61841534431453   DAVID            LEE                   MO         90015125344
61843883691894   RAYMUNDO         RODRIGUEZ             OK         90014168836
61844513831453   MAURICE          JONES                 MO         27584395138
61845775161964   SANDY            LEMONI                CA         90014707751
61846361391894   MAURO            CASTILLO              OK         90013423613
61847651871921   WALTER           PAYTON                CO         32009026518
61852223955973   CHASTITY         BURLESON              CA         90013892239
61852385971921   JOSE             RIVERA                CO         90013603859
61854296361936   JOEL             CAMACHO               CA         90009772963
61855593477351   DIANE            ROBERSON               IL        20514805934
61855665691522   JAVIER           HERNANDEZ             TX         90005516656
61855868633698   HOLLIIE          STEVENS               NC         90013108686
61856471161964   SIV              SWAY                  CA         46004384711
61859958963623   RON              RALEIGH               MO         27595709589
61859968786593   KHRYSTYNE        NESBITT               TN         90015519687
61861193361936   JESUS            ALVARADO              CA         46027791933
61861318554155   NILESHNI         NARAYAN               OR         90012513185
61861732831453   LAMIKA           BOXX                  MO         90013147328
61861887355973   RACHEL           HARLOS                CA         48058278873
61862368993753   MIKE             BELLENGER             OH         90003573689
61864194257538   MANUEL           VALANDRAN             NM         90011761942
61864335731455   TONY             DUKES                 MO         90001313357
61864825891894   CIERA L          MILLER                OK         90015038258
61865175663646   HELEN            JONES                 MO         90014991756
61865246957538   YOLANDA          GONZALES              NM         90008462469
61868629597125   MIGUEL           MARTINEZ              OR         90007196295
61869383271921   NICOLE           SANDOVAL              CO         90012933832
61869659531453   FAUSTINO         GODOY                 MO         90015376595
61869868561936   MARCEL           WILLIAMS              CA         90012728685
61872617955973   LILIA            CERVANTES             CA         90014916179
61872945451354   BEONCA           HOWELL                OH         90013749454
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61874951971921   HOLLY        SMITH                     CO         90012899519
61875157551354   STEPHANIE    ADAMS                     OH         90003301575
61875263661936   ALMA         GUTIERREZ                 CA         90013672636
61875744161936   ALMA         GUTIERREZ                 CA         46034697441
61876522771921   JOHN         TADDY                     CO         90012555227
61877531961964   TIMOTHY      JOHNSON                   CA         90011105319
61878413955973   BRITTENY     RICHEY                    CA         90013364139
61878634655973   RON          ROCHA                     CA         90014866346
61881235584392   HECTOR       SANTES                    SC         19052352355
61881497531453   DUAN         BROOKS                    MO         90014014975
61881635391894   JERMAINE     GUNN                      OK         21005416353
61882333233698   RENEE        GIBBS                     NC         90011353332
61884937333698   DANIELLE     WILLIAMS                  NC         90002469373
61885888961936   ROOSEVELT    DELANS                    CA         90012878889
61886616757538   NARTHA       CONTRERAS                 NM         90013656167
61887639961936   CYNTHIA      MACKEY-MACKWRIGHT         CA         90014586399
61888281661964   SEAN         WEBER                     CA         90013292816
61888857771232   SARA         HARTMANN                  IA         90011088577
61889561191894   STACEY       GOAD                      OK         21030315611
61891639161964   AIOTEST1     DONOTTOUCH                CA         90015116391
61892133961936   EQUIHUA      BENICIO                   CA         46017171339
61892678157538   SANTA        GARCIA                    NM         35583446781
61894933855975   ALEJANDRA    SAAVEDRA                  CA         90014899338
61895336731453   SHAWN        PREWITT                   MO         90012243367
61895491272482   DARLYN       GUNTER                    PA         51013974912
61895626855975   JEFF         ADNEY                     CA         48060946268
61896335491975   WENDY        HARDIE                    NC         90008063354
61896642861964   MIGUEL       PEREZ                     CA         90010996428
61898175663646   HELEN        JONES                     MO         90014991756
61899118684347   RONIQUE      PARKER                    SC         90006891186
61899474463646   DAWN         WRIGHT                    MO         90011044744
61913696831453   ANTONIO      TOWNSELL                  MO         90013706968
61913737355973   JOEY         MORA                      CA         90011867373
61914999155975   ANDREA       STEELMAN                  CA         90012299991
61916757655975   ANABELL      BRAMBILLA                 CA         90008157576
61919397157538   MARK         MENDOZA                   NM         35526753971
61919748263646   KALEE        SCHELL                    MO         90013197482
61922384191989   MALIKA       DUHART                    NC         90004043841
61922388291894   TARIKA       MARKHAM                   OK         90014833882
61925668271921   FRANCHESA    BARGER                    CO         90004346682
61926974191894   DEBBY        EWALDT                    OK         21066159741
61927745855973   JOSE         RAMIREZ                   CA         48063647458
61927922361936   ANDRES       CASTANEDA                 CA         90012879223
61928956255973   SANTA        VILLAGOMEZ                CA         48014679562
61931371661936   LESLIE       CASTRO                    CA         90010663716
61932572961964   JUAN JOSE    LEON                      CA         46009155729
61933323157538   JOSEPH       NIETO                     NM         90013723231
61933924671921   LANCE        MELLEM                    CO         90011299246
61933926961936   SANDRA       RICHMOND                  CA         90012879269
61934349291522   CARLA        MUNOZ                     TX         75053703492
61935248563646   TRACI        STEWART                   MO         90011322485
61935759133698   CYNTHIA      JOLLY                     NC         90014277591
61935822857538   ESTHER       LOPEZ                     NM         90011768228
61936817563646   DANA         THORNBURGH                MO         90013018175
61937464755975   SIMA         EDSELL                    CA         48081724647
61937824833698   RAKEMA       WILLIAMSON                NC         90013108248
61938669661936   JUAN         RAMIREZ                   CA         90007646696
61939293725236   KIMBERLIN    HUMPHREY                  NC         17028742937
61939887357538   GREGORY      DAVIS                     NM         90011768873
61941215751354   WILLIAM      BROCK                     OH         90012602157
61941561157538   JOSE         CHAVEZ                    NM         90013665611
61943119972482   EDWARD       HETRICK                   PA         51039881199
61943298951354   DONNA        RUDD                      OH         90015002989
61945488691894   RAQUEL       LANE                      OK         90011074886
61946849457538   JAKKI        TURRIETA                  NM         90013088494
61947145847821   ISRAEL       FINCH                     GA         90005411458
61947541555973   DANIEL       ROSALES                   CA         90012675415
61949713661961   RONALD       COCA                      CA         90004117136
61951559871921   DOMINIQUE    MARSHALL                  CO         90010885598
61952478771921   ERNESTINE    GOMEZ                     CO         90010564787
61952813855975   GABBY        GODOY                     CA         90005868138
61953275571921   ELIZABETH    GANN                      CO         90015112755
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61954671971921   JAMES        BURKE                     CO         32015316719
61956356455973   TEODORO      CAMPOS                    CA         90011453564
61956849457538   JAKKI        TURRIETA                  NM         90013088494
61957325547821   NANCY        CHIPPS                    GA         90000343255
61957988357538   DAVID        CHAVEZ                    NM         35569559883
61958331161936   JAMES        MORAN                     CA         90005753311
61959372761936   SUSAN        PHELAN                    CA         46091933727
61959648531453   CAROL        HINKLE                    MO         27513306485
61961812571921   BROOKLYN     RUSH                      CO         90014638125
61963188161964   LEO          LOWE                      CA         90013961881
61963294355975   MARIA        CRUZ                      CA         90014702943
61963851357538   KRISTY       GONZALEZ                  NM         90013088513
61966182691894   STANLEY      BUFORD                    OK         90006071826
61966732155973   DAWN         DUGGER                    CA         90008397321
61967581447821   RONTAVIOUS   WILLIAMS                  GA         90005015814
61967752663646   DAKOTA       FRANKEBBURG               MO         90015287526
61968864991894   HENRIETTA    OWENS                     OK         90014178649
61969414355973   ISAMAR       GUTIERREZ                 CA         90013724143
61969925991894   LARRY        AVEY                      OK         90014179259
61972664661936   VIVIAN       XAYABUNH                  CA         90010346646
61973884391894   MARY         LIMA                      OK         90014178843
61973898571921   DAVID        MARTIN                    CO         90001498985
61975118547821   SHANTA       BRISCOE                   GA         90010071185
61975234651354   BETTY        LITTLE                    OH         66006042346
61975912657538   PARRA        STEPHANIE                 NM         90006689126
61976789291522   LETICIA      GODINEZ                   TX         90006967892
61978747284392   SHAWN        GRIMM                     SC         19086557472
61979943947821   JAMIE        THOMAS                    GA         14035299439
61981748971921   GUILLERMO    ESCOBAR                   CO         90005467489
61981867555973   DANIEL       SWAFFORD                  CA         48000808675
61982212361964   OLGANIDIA    VILLA                     CA         46039572123
61982245555975   LUCILA       GUZMAN                    CA         90013992455
61983593651354   JACOB        FLOWERS                   OH         90012515936
61983796183227   NORMA        VEGA                      VA         81023327961
61984219151374   ROBERT       PARROTT                   OH         66047692191
61984569471921   NATASHA      EDWARDS                   CO         90012165694
61984628791894   MELISSA      ROE                       OK         90011696287
61984699961964   OLGA         SKUBSKI                   CA         90012856999
61985623861964   MARVIN       FLORES                    CA         90012896238
61986912561936   TAIT         GUTHRIE                   CA         90009919125
61986989355975   ISAAC        SANCHEZ                   CA         48057849893
61987826957538   VICTOR       PINON                     NM         90011778269
61989228533692   TREASURE     BROWN                     NC         90014802285
61993168757538   MARIA        DE LA ROSA                NM         35560701687
61993389771921   AMBER        HIIESALU                  CO         90007813897
61996141133698   DIAMOND      VALENTINE                 NC         90014301411
61997468485949   SHARON       APPLEGATE                 KY         90014094684
61997497591894   AERIAL       ALBERTY                   OK         21029184975
61998193251354   RANDALL      DEANGELIS                 OH         66088991932
61998954857538   ALBERTO      LINO                      NM         90011779548
61999466131453   JUDY         SMITH                     MO         90015234661
62112274251354   CHARLES      MILLER                    OH         90014832742
62112996455977   RICHARD      BUNTIN                    CA         90014289964
62113458963646   JOSUE        MURILLO-COLON             MO         90013804589
62114121361964   VICKY        RICE                      CA         90014791213
62114775161964   SANDY        LEMONI                    CA         90014707751
62115612455977   LONDA        ORNDUFF                   CA         49093206124
62116113755977   BOUALAY      PHETXOUMPHONE             CA         49001381137
62116666784392   SARAH        BROWN                     SC         19061956667
62117347857538   JESUS        GOMEZ                     NM         90005423478
62117788354121   EFREN        AVILES                    OR         90013197883
62117951163646   DAWNA        KUNZ                      MO         90011799511
62118588354121   CORY         THODE                     ID         90012815883
62121131697121   TOM          LEMOX                     OR         90005391316
62122223761964   JOSE         GONZALES                  CA         90009342237
62122365284392   SIDNEY       GOVAN                     SC         90012113652
62122732681621   LARON        TAYLOR                    MO         90011727326
62122836197121   PEDRO        LOPEZ                     OR         90008588361
62124399457538   LUIS         GRANADOS                  NM         90014483994
62125741181621   LUIS         SANTOS                    MO         90011727411
62125833155975   BREANNA      GARICA                    CA         90011328331
62126623597121   GABRIEL      HERNANDEZ ORTIZ           OR         90011916235
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62126834263646   WILLIAM      GORDON                    MO         90007358342
62127375854121   CINTHIA      ROMERO                    OR         90010083758
62127869255973   SHAWNA       RUTLEDGE                  CA         90007518692
62128423354121   ROSEMARY     WHEELER                   OR         90010084233
62129489455975   RICHARD      VIRRUETA                  CA         48043514894
62131257257544   ANETTE       DUNN                      NM         90013752572
62131272261964   TONY         JUMAQUIO                  CA         90014102722
62131523954121   FERNANDO     VILLAS                    OR         90012365239
62131552355977   JAMIE        WARREN                    CA         90009635523
62133738251354   DAVID        RUCKER                    OH         66074157382
62134792463646   PAYGO        IVR ACTIVATION            MO         90013427924
62135244697121   SETH         HARRIS                    OR         90006902446
62136858955973   JULIO        BARAJAS                   CA         48061868589
62136967855977   THOMAS       WIGGIN                    CA         90009209678
62137785697125   TRACI        KARGE                     OR         90001917856
62137821155973   MORMA        MERAZ                     CA         90004058211
62141257257544   ANETTE       DUNN                      NM         90013752572
62141353697125   MR BRIAN     CEK                       OR         90011343536
62142151155975   ESAUL        CEBALLOS                  CA         48006261511
62142837954121   MOSES        HERNANDEZ                 OR         90013328379
62143271454121   VICTORIA     ROBINSON                  OR         90010212714
62143766297121   MANUEL       CASTRO JIMENEZ            OR         44037957662
62144667184392   COURTNEY     IRIZARRY                  SC         90013736671
62145831957544   MARIA        SOLIS                     NM         90001488319
62146586933698   CATHY        HOPKINS                   NC         90014545869
62146859481644   JERI         WATSON                    MO         90014898594
62147219461936   CONCEPCION   PEREZ                     CA         90014572194
62147479425236   DENIRO       WILSON                    NC         90014714794
62149198655977   NICOLE       WILLIAMS                  CA         90014301986
62149756651384   EMMA         BAKER                     OH         90012467566
62153636351361   DAN          HORNSBY                   OH         90013706363
62155967551354   TAMARA       MCINTOSH                  OH         90012959675
62156931755973   BETTY        BEJAR                     CA         90000109317
62156961561936   SEBASTIAN    QUINIONES                 CA         90008149615
62157678254121   STEPHEN      MEEKS                     ID         90015296782
62158979657538   LORI         VALLES                    NM         90010889796
62159638855977   JUSTIN       DOWNS                     CA         90008366388
62159992554121   MARK         WILLIAMS                  OR         90013879925
62161313455973   LUCINA       LARA                      CA         90007773134
62163243954121   RAQUEL       GARZA                     OR         90010572439
62163496681644   JOSHUA       SULLIVAN                  MO         90013584966
62163788354121   EFREN        AVILES                    OR         90013197883
62164741633698   ELVIA        NOYOLA                    NC         90011977416
62165225557538   JIMMY        GIRON                     NM         90013702255
62165228197121   FLORENCIO    RAMIREZ                   OR         90015082281
62165699654121   ROBERTO      PARRA                     OR         90015106996
62166187957538   LUIS         MUNOZ                     NM         90013781879
62166393154121   ELIANA       RAMIREZ                   OR         90010593931
62166686155975   DAVID        TAPIA                     CA         90013826861
62166856697121   MARTHA       PEREZ                     OR         90003348566
62167758861936   MARIA        RODRIGUEZ                 CA         90014837588
62168391455973   KATHERINE    LYNCH                     CA         90006543914
62168742961936   CUAYHTEMOC   ASCENCIO                  CA         90013317429
62169223263646   SHEILA       SAVISKY                   MO         90013982232
62169226357538   IVAN         ARAMBULA                  NM         90011802263
62172387133698   NAUTICA      BUTTERFIRLD               NC         90010373871
62172614954121   RANDALL      COSTNER                   ID         90011146149
62173484861936   RUTH         TADEO                     CA         46058304848
62173579397121   MARIA        RIESTRA                   OR         90015115793
62174385257544   SANTIAGO     MIRABAL                   NM         90015163852
62174416557538   SYLVIA       ORTIZ                     NM         35550144165
62174577961936   JACQUELINE   ANAYA                     CA         90011865779
62174835761964   AMELIA       ESCOBAR                   CA         90011868357
62175429291363   EVERARDO     GONZALEZ                  KS         90005974292
62176651755975   KRIS         LINDLEY                   CA         48060686517
62176812781621   DARRIELLE    BROWN                     MO         90011728127
62177154897121   MARIA        RAMIREZ                   OR         90015151548
62178315684327   STANLEY      MACDOUGALL                SC         90008183156
62178865954121   MARIA        RUIZ                      ID         42003908659
62179774757544   JOHN         QUINN                     NM         35523647747
62181244161964   VERONICA     VILLAFANA                 CA         90013452441
62181755863646   BRANDI       WREN                      MO         27512027558
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62183381291522   ORTENICA      GARCIA                   TX         90014473812
62183414457544   JOSH          HERNANDEZ                NM         90009084144
62183478881678   VONDA         MAIDEN                   KS         90009094788
62184413154121   LYNN          WROBLEWSKI               OR         90011344131
62186286297121   CHRISTOPHER   STEDMAN                  OR         90005672862
62187154361936   ROSA          ARROYO                   CA         90002061543
62187263491525   JOSE          LOZANO                   TX         90006632634
62187612457544   PEDRO         GALINDO                  NM         90015146124
62187854454121   MAYRA         ESTRADA                  ID         90013948544
62189431257538   DORA          VALDEZ                   NM         90015014312
62189611554121   TOMASA        TRINIDAD                 OR         90013966115
62189788354121   EFREN         AVILES                   OR         90013197883
62191182391522   MELISSA       LOPEZ                    TX         75072041823
62191326154121   MARIA         CASTLLAS                 ID         42007483261
62193161755973   DANIEL        JONES                    CA         90013401617
62193173755973   BERTHA        DURAN                    CA         90014251737
62193275454121   LAUREN        WOOD                     OR         90013132754
62193715657544   HEATHER       VELEZ                    NM         90014727156
62195849454121   ESTANISLAO    DIAZ                     OR         90011698494
62195865555975   ADRIANA       CISNEROS                 CA         48008638655
62196538533698   CURTIS        INGRAM                   NC         90015165385
62197218761936   JATZIVE       PEDRAZA                  CA         46087862187
62197354797121   SPENCER       WATTS                    OR         90005703547
62197548255973   ELIZABETH     GUTIERREZ                CA         49087575482
62197676554121   ADRIAN        ZAPATA                   ID         90015196765
62198461254121   SHAWNTELLE    KASPER                   OR         90011794612
62198462857544   MATTHEW       HALL                     NM         90015404628
62198538557544   BARBARA       GONZALES                 NM         35508745385
62199528655975   CINDY         LUTZ                     CA         48090505286
62211499321781   LETICIA       SANCHEZ ESPINOSA          IL        90015534993
62211697284392   TYSHEIKA      WRIGHT                   SC         19007296972
62212156261964   ROD           CHARLES                  CA         90010071562
62214245657544   NATHAN        TICKNER                  NM         90015582456
62214485655975   MARISELA      GUZMAN                   CA         90012914856
62215332891861   SHERRY        SALLIS                   OK         90011873328
62215795855973   CELENA        CUELLAR                  CA         90010637958
62216936754121   MARIBEL       CARBAJAL                 OR         90013199367
62218472454121   JUAN JOSE     ALMARAZ                  OR         90010114724
62219297997125   BRANDON       STAGL                    OR         90007372979
62221157184392   PATRICIA      JONES-VANGUNDY           SC         19076041571
62222348297121   MICHAEL       SMITH                    OR         90015243482
62222536577376   MARIA         VIDES                     IL        90014705365
62223967491522   LORENA        CORRAL                   TX         90012819674
62226178781644   TIMOTHY       MCLOUGHLIN               MO         90006861787
62228873981621   KATHY         BOND                     MO         29049138739
62228944786593   ISSAC         SPEARS                   TN         90015379447
62229132991522   MARIA         DIXON                    TX         75083161329
62229652391958   MARILYN       COLES                    NC         90013946523
62231247786426   PEGGY         HUDGINS                  SC         90014152477
62232731561964   FABIOLA       AGUAYO                   CA         90011527315
62232883354121   FRANK         BASHON                   OR         90014178833
62233917733698   TIFFANY       WOODBURY                 NC         90014059177
62234475455977   SHANE         PELKEY                   CA         49070994754
62234925433698   JUDY          HALE                     NC         90013629254
62234943191522   LETICIA       RIVERA                   TX         75026739431
62235642381621   LARRY         BURD                     MO         90012676423
62237138557538   THERESA       PADILLA                  NM         90015021385
62237169961936   GUADALUPE     CHAVARRIA                CA         90014741699
62237236857544   PAYGO         IVR ACTIVATION           NM         90015032368
62237287625236   JOHN          FERRELL                  NC         90014802876
62237616531476   LORETTA       CARTER                   MO         90000716165
62238218585833   VANCE         HIVORAL                  CA         46086352185
62238345563646   TONY          BELLAGAMBA               MO         90008463455
62238392754121   GERALDO       TRUJILLO                 OR         90014183927
62238784455977   LEE           LEE                      CA         90007517844
62239445391522   FRANCISCO     CARDENAS                 TX         90013414453
62239454555973   MARTIN        MARTINEZ                 CA         48031044545
62239877781644   ARACELI       MARTINEZ                 MO         90013948777
62239991591243   KRAIEA        WESLEY                   GA         90015119915
62241135355973   ALFONSO       FRANCO                   CA         90012121353
62241582754121   POWELL        TRENT                    OR         90014565827
62244644181691   KYNA          SATTERWHITE              MO         29064706441
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62244899457538   ABEL         MARQUEZ                   NM         35595078994
62244969491522   ADRIANA      CALLEROS                  TX         90012819694
62245298233698   FELICIA      GIBSON                    NC         90014982982
62246584161936   ALEXANDER    HENRIQUEZ                 CA         90015015841
62247549957135   TIFFANY      DARNELL                   VA         90003375499
62247552261964   ANTONIA      BARAJAS DE ZATARAIN       CA         90012155522
62247873981621   KATHY        BOND                      MO         29049138739
62249739161936   LYDIA        OWEN                      CA         46053267391
62252423755973   ALFRED       ZAMUDIO                   CA         48092084237
62253582161936   MARIZOL      PALOMINO                  CA         90015115821
62254463597125   KIMBERLY     DENNIS                    OR         90007374635
62254492663646   DAVID        BLAKE                     MO         27570324926
62255478354121   WANDA        TALBOT                    OR         90014844783
62255967193762   TERESA       MILLER                    OH         90001809671
62256811861964   NOEMI        FLORES                    CA         90009808118
62256816157538   TERESA       DE LA ROSA                NM         35586478161
62257125684392   AIMEE        MORTERO                   SC         90011551256
62258611884392   LEE          HUMPHREY                  SC         90013026118
62259146786435   DAWN         CARTEE                    SC         90015041467
62259544825236   KATHY        STONER                    NC         90014875448
62259865555975   ADRIANA      CISNEROS                  CA         48008638655
62259894461936   JAIME        DENTON                    CA         90012288944
62261647255977   IRENE        LARA                      CA         49090016472
62261794554121   ANTHONY      CASTRO                    OR         90014847945
62262451563646   IAN          WINBER                    MO         27552864515
62264279991863   CHERYL       VANWINKLE                 OK         90004362799
62264578891522   VALERIE      LOPEZ                     TX         90012875788
62264733397121   TYSON        WALLACE                   OR         90010657333
62265852261964   NORMA        RIVERA                    CA         90010888522
62266535955975   SHAUNA       NEEDHAM                   CA         48029755359
62267528997125   JULIA        JOHNSON                   OR         90007375289
62268822291522   ALEJANDRA    MATA                      TX         90014518222
62271162555973   ELIZABETH    CASTANEDA                 CA         90012491625
62271634691963   HEATHER      MARSHBURN                 NC         90003906346
62272689454121   SONIA        MONREAL                   OR         90014976894
62274476691522   ANDY         HERNANDEZ                 TX         90008164766
62275179251354   JOANNNA      SONDERMAN                 OH         90013931792
62275456831453   SARAH        NOBLE                     MO         27578634568
62276489191522   MAYRA        NAVARRO                   TX         90012214891
62279555391363   CHRISTOPHE   KITAVI                    KS         90000795553
62279661855973   ROBERT       SANCHEZ                   CA         90006086618
62281475961964   CLAUDIA      VAZQUEZ                   CA         46081244759
62282879631434   JEFFREY      SPEARS                    MO         90010738796
62283596961936   ELIZABETH    SANCHEZ                   CA         90010985969
62283846261964   BLANCA       SANZ                      CA         46009348462
62283971891522   ERIC         SILEX                     TX         90014179718
62284441333698   SHARON       FRAZIER                   NC         12029024413
62284887881621   MARIA        CORRAL LAOERA             MO         90009518878
62285353157538   ANGEL        BARRIO                    NM         90015043531
62285524584392   EARL         REYNOLDS                  SC         90011325245
62286281555973   ROSALVA      HERNANDEZ                 CA         90012642815
62286346391525   LUIS         RAMOS                     TX         90011243463
62286661433698   PERCILLA     FARMER                    NC         90015136614
62286995381621   JEFF         JULIAN                    MO         90012799953
62291421781644   MICHEAL      BROWN                     MO         90013894217
62291699654121   ROBERTO      PARRA                     OR         90015106996
62292523261936   BRAD         KENNEDT                   CA         90012135232
62292591757538   SOTERO       SOTO                      NM         90004855917
62293273555973   KATHERINE    COWELL                    CA         90014282735
62293753561936   LETICIA      OVIEDO                    CA         46075057535
62293811261936   LETICIA      OVIEDO                    CA         90013318112
62297715255973   BEVERLY      ROHRENBACK                CA         90006557152
62297992891522   GREGORY      PLOTT                     TX         90007189928
62298649961964   MARTHA       SALISBURY                 CA         90005546499
62298714341262   MICHAEL      NAHAY                     PA         90015067143
62299454961964   ANTONIO      MENDEZ                    CA         90014154549
62311264893741   WILLIAM      LILLY                     OH         90006042648
62311749463646   BRANDY       ANDERSON                  MO         27586407494
62311964855977   MARIA        SERNA                     CA         90007459648
62312275157538   MICHAEL      ESPANA                    NM         90015052751
62313148955975   VIRGINIA     PULIDO                    CA         90014481489
62314825257544   MAICHEAL     TERRAZAS                  NM         90011958252
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62314934491522   HUGO         NAVARRO                   TX         90015059344
62316174455977   LETICIA      AMARILLO                  CA         90012431744
62317218751354   CIERRA       ISOME                     OH         66008822187
62319265263646   DAVID        AHRENS                    MO         90014312652
62319292663646   DAVID        AHRENS                    MO         27568682926
62322831163646   STANLEY      COLE                      MO         90013278311
62323326555977   STEPHANIE    MCDONALD                  CA         90009783265
62323725897121   MARIBEL      FERNANDEZ                 OR         90013717258
62326561861936   DALE         JHONSON                   CA         90012915618
62327563433698   LUIS         PULIDO                    NC         12066875634
62327967551354   TAMARA       MCINTOSH                  OH         90012959675
62328822125236   CYNDLE       BOWMAN                    NC         90011278221
62333529555977   HECTOR       GUTIERREZ                 CA         90015165295
62334766955983   NICOLAS      MOROLES                   CA         90006727669
62335315561964   PRISCILLA    HERNANDEZ                 CA         46046443155
62336456633698   ROSA         CARTER                    NC         90011494566
62337293291522   MICHELLE     JIMENEZ                   TX         90005142932
62337595531422   TIERRA       WINDSOR                   MO         90010695955
62337862881644   RYAN         GRAVES                    MO         90006768628
62338424355975   GERARDO      LICEA                     CA         90015184243
62339766655975   GEORGIA      HARNESS                   CA         90013517666
62341187657544   HERMAN       GOERDELLO                 NM         90010981876
62342391361936   DULCE        MARISCAL                  CA         90003203913
62343359255975   GILBER       SANCHEZ                   CA         90013853592
62343534381644   KARRAH       KITTERMAN                 MO         90006925343
62343623633698   JOYCE        PYRTLE                    NC         90014286236
62343819561964   ROSANA       DAVILA                    CA         46014798195
62344199281644   CARLOS       DE LA CRUZ                MO         90007511992
62344798861964   DANIELLE     SEYMOUR                   CA         46048387988
62345196461936   ANGELICA     SANCHEZ                   CA         90009791964
62345682257544   SOSHANA      TREAF                     NM         90015566822
62346226761964   ALBERTO      CARDENAS                  CA         90011532267
62346276855977   ELEAZAR      CUEVAS                    CA         49066972768
62346551455975   VERNON       CLOWER                    CA         90013335514
62346572981621   JOHN         NEWSOM                    MO         90005205729
62347954557544   ESTHER       OAKLEY                    NM         90012569545
62351226633698   LATONYA      GIST                      NC         90014172266
62351241955973   AMAMDA       WILLIAMS                  CA         90013872419
62353455351354   KEONTE       SLOCUM                    OH         90013324553
62353679157544   MAX          PRESLEY                   NM         35567416791
62356366257544   IRENE        HARRIS                    NM         35592233662
62356512391969   JENID        LOPEZ                     NC         90013575123
62359977581644   DAVID        TRUMPS                    MO         90013829775
62361214481644   JESSICA      CAIN                      MO         90012962144
62362276757538   FREDDY       VASQUEZ                   NM         35595292767
62362377861964   LEAH         DOKTOR                    CA         90009973778
62365384633698   LATOYA       FRIESON                   NC         90013543846
62365864755975   FELIPE       SERVIN                    CA         48067358647
62365953355977   TANIA        LOPEZ                     CA         90012139533
62366845397121   LARISSA      GONZALES                  OR         90009588453
62368895355977   CHRISTIAN    SALCEDO                   CA         90011398953
62368943555973   LYDIA        RITCHIE                   CA         48037969435
62372491861936   NATALIE      LABORDE                   CA         90007854918
62372641657544   GILBERT      GUILEZ                    NM         90012926416
62372979363646   DIMARCO      GARCIA                    MO         90014259793
62373171363646   GREG         BARROW                    MO         27572251713
62373756861964   MICHELLE     OLMOS                     CA         46033747568
62375192591522   LILIA        LOZOYA                    TX         75055901925
62377725251354   ELIZABETH    KNAPP                     OH         66017097252
62378989955975   GUADALUPE    HUANACO                   CA         48049429899
62379635457544   LAURA        WHITE                     NM         90012996354
62381124157544   KAREN        WOOD                      NM         90012251241
62381255481621   AMANDA       MADDOX                    MO         29056682554
62383369433667   DERICK       SUTTON                    NC         90005443694
62388389161936   JOAN         LINDEN                    CA         46069253891
62389548361984   ESPINOSA     ELIA NAOMI                CA         90001635483
62389753655977   KEITH        JEROME                    CA         90012157536
62389871491522   KARLA        SANCHEZ                   VI         90014158714
62391375561936   ALICIA       AGUILAR                   CA         90014893755
62392284861964   DANILO       MEGIA                     CA         90014002848
62392391657544   MARIA        MONTES                    NM         90009823916
62393262584392   JASON        HODGE                     SC         19040632625
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62393318763646   ELISABETH    PHELPS                    MO         90014923187
62393696997121   SHANNON      SCOTT                     OR         90012166969
62393926391362   DJUANA       STALLING                  KS         90012569263
62394614957544   LEIGH        DELEON                    NM         90010916149
62395583261936   JUAN         BAUTISTA                  CA         90012925832
62397165455975   JANET        MARTINEZ                  CA         90014691654
62398554261964   ANEL         CORTI                     CA         90010845542
62412216255973   BRANDY       DEAN                      CA         48012362162
62412327291863   ILIANA       MEDINA                    OK         90012333272
62413331955975   MISTY        GRAY                      CA         48001093319
62414184533648   MICHAEL      HANNAH                    NC         90014681845
62415489863646   MONICA       SCOTT                     MO         90004704898
62416841163646   SHERRY       CARTER                    MO         27593708411
62417157661964   ABEL         MARTINEZ                  CA         46009951576
62417625433698   CARMELA      GARCIA                    NC         90007506254
62418597955981   CAROLINE     GARCIA                    CA         48017645979
62418874484347   WILLIAM      GREEN                     SC         90002138744
62419273541291   MICHELLE     PHIFER                    PA         90012332735
62422352155975   MONICA       HUERTA                    CA         90002873521
62422854333698   TRINA        KIRBY                     NC         12067888543
62426389857544   GERALD       CRAWFORD                  NM         35507623898
62427635457544   LAURA        WHITE                     NM         90012996354
62427965261964   MARTHA       LUZ                       CA         90004269652
62428336897121   HEIDI        FLORENTINO                OR         90007143368
62428969561936   TARAEMI      BUTLER                    CA         46089139695
62429642863646   CARRIE       JULIN                     MO         90011836428
62431726355973   VINCENT      HERNANDEZ                 CA         90010907263
62432485297121   BROWN        STEPHANIE ANNE            OR         90007154852
62433746457544   DEREK        CURTIS                    NM         90013037464
62433854455975   MARCO        ESTRADA                   CA         90002988544
62434891291522   TIFFANI      JORDAN                    TX         90014158912
62436256997121   JUANITA      OHARA                     OR         90011822569
62436822261964   MELVIN       PRICE                     CA         90005228222
62438231455975   SYLVIA       RODRIGUEZ                 CA         90015302314
62439245363646   LIZ          THOMAS                    MO         90014152453
62439519925236   ARTURO       PERALTA GOMEZ             NC         90010475199
62441649184392   SAMUEL       CAPERS                    SC         90012626491
62441892991522   JOSE         PENA                      TX         90014158929
62444668357544   JOSIE        SIDA                      NM         90012306683
62446564984392   VICTORIA     HARGROVE                  SC         90013295649
62448229661972   CHARLES      HILLEY                    CA         90006552296
62448327657544   DANIEL       WHITE                     NM         90006873276
62448925191522   ARMIDA       HERNANDEZ                 TX         75077999251
62449338785944   MANDY        MAXWELL                   KY         90011233387
62449994755975   NANCY        MENA                      CA         90014769947
62456276981644   PAMELA       BRYANT                    KS         90008832769
62457868155973   FRANK        PEREZ                     CA         90014748681
62458289757538   LIYA         ASGHEDOM                  NM         35588512897
62458532481644   KEY          JOHNSON                   MO         90013425324
62458561261936   XOCHITL      AYALA                     CA         90009895612
62459125484392   WANDA        GADSDEN                   SC         90001121254
62459653981644   AZUCENA      OZUNA                     MO         90012006539
62461673657538   MARIA        MADRID                    NM         35508666736
62464783833698   RUN          PUIH                      NC         90012377838
62465915897121   ANIKA        ROMERO                    OR         90011859158
62466346161964   MIGUEL       ZAPIEN                    CA         90012773461
62466386561966   OVET         FELIX                     CA         90004263865
62467579957544   DELILAH      BORUNDA                   NM         90013295799
62468646357538   MARIA        OLIVAS                    NM         35509906463
62468772861964   RAMON        LOPEZ                     CA         90012597728
62469389797121   KIRSTEN      MARTIN                    OR         90011873897
62471353455973   ZACH         VISCARRA                  CA         90012323534
62471489391522   HEBER        LUIS                      TX         90014164893
62472966991522   THIAGO       FIALA                     TX         90011599669
62473248855975   BEATRICE     ARELLANO                  CA         90014672488
62473376181644   ASHLEY       GREENFIELD                MO         90014793761
62474112257544   JACOB        HOVEY                     NM         90013301122
62474492255975   LUZ MARIA    ESPINOZA                  CA         48093834922
62477519184392   LORENZO      BENNETT                   SC         19040535191
62477673551354   STEPHEN      MOORE                     OH         66021716735
62477876255973   SERGIO       CANTU                     CA         90002898762
62481986733698   SHAWN        ALLEN                     NC         90012759867
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62483281797121   JUAN DE DIOS     ANDRADE               OR         90009002817
62483617781644   KIAUNA           WHITNEY               MO         90007176177
62483824484392   WENDELL          MANIGAULT             SC         90008888244
62484414231453   WD               HARRIS                MO         90007484142
62485991841259   JOHN             PETRARULO             PA         90012129918
62486689284392   CANDIS           MACK                  SC         90009856892
62487225991522   JOSHUA           MONAREZ               TX         90014772259
62487835231422   TAMMIE           NEWHOUSE              MO         90013418352
62488247355977   ADRIANA          NAVARRO               CA         90000392473
62488996457544   ALBERTO          BONILLA               NM         90004069964
62491655791522   AMANDA           TOUCHY                TX         75008846557
62492143384392   JOHN             GAINEY                SC         90015181433
62492588397121   BRITTANY         BRIGHT                OR         90012185883
62493615133698   NAKESHA          BECOAT                NC         90014106151
62494211531453   IGNATIOUS        GATEWOOD              MO         90000722115
62495125484392   WANDA            GADSDEN               SC         90001121254
62496165991522   WEABER           MARIA                 TX         90008851659
62496913855975   ALESSANDRA       PASKWIETZ             CA         90013699138
62497982661964   MELISSA          CERVAR                CA         46077659826
62498195333698   NICOLE           MOSBY                 NC         90014851953
62498432761936   ASENACA          MOANA RAKANACE        CA         90001264327
62498468651354   DOUGLAS          ALLEN                 OH         66043214686
62498628351354   AMANDA           HILL                  OH         90015166283
62512277561964   VICTORIA         PHILLIPS              CA         90007372775
62513595233698   CURTISHA MCCOY   YOUNG                 NC         90014445952
62514366861936   ALEX             MORENO                CA         90009623668
62514717541257   NICOLE           STRIBLING             PA         90003787175
62515198285944   STEVEN           HERZOG                KY         90010631982
62515297597121   ROBERTO          CASTRO                OR         90014912975
62516198285944   STEVEN           HERZOG                KY         90010631982
62516353561964   KENDALL          JONES                 CA         90010353535
62516796393725   AMY              BALLACHINO            OH         64534207963
62518131963646   ELIZABETH        LEE                   MO         90014721319
62519417791522   ALMA             GONZALEZ              TX         75008854177
62519636955977   ALEJANDRO        GARCIA                CA         90013276369
62524312981621   RACHEL           ALLISON               MO         90007703129
62525819151354   JENNIFER         NULLMEIER             OH         66037798191
62528453957544   TARA             BOSTON                NM         90004114539
62529456781644   CARLOS           DIAZ                  KS         90014314567
62529761891965   CHARLENE         GRZYBOWSKI            NC         90009997618
62531119733698   AMBERLENE        BENTON                NC         90014811197
62532896761964   MARIA ELENA      REYES                 CA         90014878967
62535441961936   LEONARDO         MORLES                CA         90012984419
62536441781644   PATRICIA         WILLIAMS              MO         29043214417
62539986157549   BRENDA           AVALON                NM         90006289861
62541751297121   CASEY            LAGONI                OR         90012007512
62541873284392   MICHAEL          HAMILTON              SC         90013348732
62545743884392   BRANDON          BROWN                 SC         90013347438
62546323633698   TAMI             STEWART               NC         90012083236
62546862261966   OLIVIA           JUAREZ                CA         90014688622
62547465661936   JONATHAN         PIERCE                CA         46009404656
62548398663646   DOROTHY          HINKLE                MO         90010113986
62551149493753   KELLI            SHAKE                 OH         90009031494
62551995984392   LORENZO          GUZMAN                SC         90011609959
62552186961964   ALEJANDRO        MONZON                CA         90002441869
62553959791522   CLAUDIA          ARROYO                TX         90014159597
62554611184392   KYLE             BUSCH                 SC         90014846111
62555333457544   FERNANDO         PENA                  NM         90013193334
62558467351354   TERI             LOTHES                OH         66056364673
62559944757544   RUBEN            LOZANO                CO         35572519447
62561323655975   SUSAN            INTHAVONGSA           CA         90002123236
62561599655973   ALEXANDRA        LEON                  CA         90014875996
62561832851354   MARCUS           SAWYERS               OH         66006048328
62562336857544   CLINT            CORINUS               NM         90010763368
62562886791522   ERIKA            AGUIRRE               TX         90013058867
62563181791522   JOSE             FLORES                NM         90000891817
62563863857538   OMNI             MONTOYA               NM         35589248638
62565213555975   HELEN            GARCIA                CA         90010842135
62565862791321   AMANDA           AGADO                 KS         90014928627
62567547855973   VIOLANDA         GONZALEZ              CA         90007625478
62568344163646   ROBERT           GRINSTEAD             MO         27568883441
62568644281621   CHARLA           ESTILL                MO         90011736442
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62572818861936   CESAR            ALVARADO              CA         90011558188
62572981697121   CARRI            AHI                   OR         90012089816
62573388263646   BECKY            SANDBERG              MO         27586243882
62573579651322   BRANDY           ROUSH                 OH         90000375796
62573775333698   SARAB            HUSSIN                NC         12009507753
62575582655973   SARA             DEPRADA               CA         90013075826
62576364757538   OSCAR            DOMINQUEZ             NM         35512183647
62576612433698   KARISHA          WHITAKER              NC         90003226124
62576684231453   WARNER           COLEMAN               MO         90002236842
62577956657544   ROBIN            DOSSEY                NM         35516239566
62579279997121   JULIETA          RODRIGUEZ             OR         90012122799
62579287984736   LUIS             MARTINEZ               IL        90000112879
62579657561936   MARLENI          BAZA                  CA         46082646575
62581149457127   FERNANDO         SANCHEZ               VA         90008471494
62581611191522   MANUEL           MELENDEZ              TX         75008876111
62581614957544   DENATA           THOMAS                NM         90007816149
62582144884392   ZACHARY          STANSELL              SC         19082721448
62582989991522   MANUEL           FAVELA                TX         90014159899
62584218863646   ARNOLD           HUMBLE II             MO         90011872188
62584636561936   DAVID            SIGUENZA              CA         46017176365
62586972272431   CARRIE           SCHWIZER              PA         90011639722
62587267655977   MARLEN           AMBRIZ                CA         90015082676
62587483291522   VANESSA          GONZALEZ              TX         90004894832
62588438755991   CAROLYN SUSANE   BARSAMIAN             CA         90005354387
62588527861964   PATRICIA         GOCHICOA              CA         90014225278
62589915584392   TIMOTHY          DICKENS               SC         90006599155
62591568957544   J BAR            ENETERPRISES          NM         90012025689
62591889563646   JAMIE            LABONDE               MO         90014848895
62592829361964   RENE             MONTOYA               CA         90014898293
62593452691522   ALBERTO T.       MORAN                 TX         90006924526
62593613933698   KEONNA           ROBERSON              NC         90012976139
62593941761936   YVETTE           BROWN                 CA         90014509417
62595172231587   TYRONE           BACON                 NY         90015491722
62596559884392   JOHN             DOE                   SC         90014215598
62599847381621   RIGOBERTO        VEGA                  MO         90009088473
62611676155977   JORGE            JUAREZ                CA         49048346761
62612629363646   JUSTIN           HEMBROCK              MO         90012606293
62612984951354   STEPHEN          WATT                  OH         90015199849
62613772863646   JESSE            VAUGHN                MO         27586607728
62615877533698   DENA             RAINWATER             NC         90013928775
62616215555945   FRANCISCA        GOMEZ                 CA         90005972155
62617284261936   VIVIANA          LUNA                  CA         90009982842
62618313891522   VICTORIA         SOTO                  TX         90013173138
62618573384392   RUTH             WHEELER               SC         19077085733
62618997481621   ERICA            ROBINSON              MO         90008169974
62621354361964   BERNARD          CHIA                  CA         90014763543
62621439631948   KLEVAR           LAWRENCE              IA         90015344396
62622984951354   STEPHEN          WATT                  OH         90015199849
62623179655977   JOE              TAMAYO                CA         90014041796
62623985991522   ROGELIO          VASQUEZ               TX         90014179859
62626446581644   IVORY            TRIPP                 MO         90011384465
62627951991522   DESANTIAGO       MIGUEL C              TX         90010769519
62631616555973   CARRIE           MATTOX                CA         90013196165
62633294255975   KATINA           BENAVIDEZ             CA         90013022942
62635527891522   ALBERTO          CALLEJAS              TX         90014705278
62635587781621   ROCHELLE         WILLIAMS              MO         90008405877
62635769755977   MARLON           MARTINEZ              CA         90011907697
62636425255975   JONAH E          WILSON                CA         48015084252
62639228355975   NOEMI            MUNOZ                 CA         90006242283
62641223961936   DEEDEE           JENKINS               CA         46016932239
62641688851354   JAMES            RUTHEMEYER            OH         90013126888
62642252551354   LARRY            SANDERS               OH         90013802525
62642881355973   NATALIE          URIBE                 CA         90015118813
62643394955975   LAST CHANCE      ENTERPRISES           CA         90012753949
62643431551354   THOMAS           ROTH A JR             OH         90013264315
62643815584392   ROGENIA          JONES                 SC         90012748155
62643994591522   ANGEL            SALAZAR               TX         90014179945
62644365581644   ROBERT           GARDNER               MO         90014293655
62645221755975   SARAH            COVARRUBIAS           CA         48075492217
62645695955977   ROBERT           MUNOZ                 CA         90007546959
62645944761964   KIRBAN           KELLER                CA         90013849447
62646525791961   JOHN             DUNCAN                NC         17092925257
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62647587651354   LEONEL         LOPEZ                   OH         90015455876
62651897981644   BETHANY        DILLEY                  MO         90014598979
62653651131453   ASHLEY         JONES                   MO         90004966511
62653674733698   ANTHONY        WALLINGTON              NC         90013776747
62653755751354   JASMIN         HERNANDEZ               OH         90012907557
62654241533698   KATRICE        RUSSEL-MILLER           NC         90014172415
62655883781621   MARIA          MARTIN                  MO         90007178837
62656634561964   AIOTEST1       DONOTTOUCH              CA         90015116345
62656886255975   ANASTASIA      CAMARGO                 CA         48029208862
62657337761964   COSME          HERNANDEZ               CA         46069433377
62658625631453   LARRY          CRUMP                   MO         27571106256
62658675181644   JESUS          CRUZ                    KS         90002756751
62658796555977   JOSE           RIOS                    CA         90000357965
62659733657544   PRISCILLA      MORENO                  NM         35517307336
62662646655973   GUADALUPE      MARIN                   CA         48041626466
62663413755977   ANNA LAURA     JUAREZ SANCHEZ          CA         90015114137
62665992591522   JUAN           URBINA                  TX         90012819925
62666458355975   CARLENE        TORRES                  CA         90014164583
62666473981644   JESSICA        EVANS                   MO         29097334739
62666737955973   LORAINE        GARZA                   CA         48001217379
62667499755973   VANESSA        COLLINS                 CA         90000114997
62667796755977   BIANCA         GALINDO                 CA         90009047967
62667844655975   TEODORO        CONEJO                  CA         90004998446
62669889584392   NANCY          ENCARNACION             SC         90012488895
62671824555973   JACK           CORTEZ                  CA         90013058245
62676529461936   GINA           NAVARRO                 CA         90012075294
62676917951354   ROSEMARIE      BAILEY                  OH         90006209179
62677123533698   VIRGINIA       MALLEY                  NC         90014691235
62677442961936   SAID           LAQLACH                 CA         46095444429
62681288157544   TIM            AMODEO                  NM         90013932881
62682226761936   BLANCA         BLANCA                  CA         90015072267
62682561855977   DIANE          HOLL                    CA         90012095618
62684764757544   JASON          ROCHA                   NM         90012127647
62686491363646   ALEXIS         GRASHEL                 MO         27594554913
62687673491522   CESAR          DUARTE                  NM         90015006734
62687693461936   LORENA         GAMEZ                   CA         90011396934
62688972657544   YEVALDA        LYNCH                   NM         90013939726
62688982755975   ALFREDO        ROBLES                  CA         48094099827
62691473361964   JUAN           CARDENAS                CA         90008524733
62694237961936   SOPHATH        CHAN                    CA         90009892379
62694839961964   MIGUEL JR      RUIZ                    CA         90011868399
62695847657538   JESSE          RODRIGUEZ               NM         35539328476
62695882955975   DOMINGUEZ      PATRICIA                CA         90013358829
62696623655973   VICTORIA       MARTINEZ                CA         90008126236
62697556486593   DANIELLE       JIMENEZ                 TN         90015365564
62697693461936   LORENA         GAMEZ                   CA         90011396934
62699232591522   RUTH           CUMMINGS                TX         90008932325
62699991784392   ASHLEY         HIOTT                   SC         90013809917
62711462584392   JOSHUA         BRAITHWAITE             SC         90011184625
62712139731453   AUDREY         SCOTT                   MO         90013511397
62713348533698   KIYUNTA        WILSON                  NC         90010423485
62713484255973   MAIRA          ROBLES                  CA         90010584842
62715611457544   KYLE           MILLER                  NM         35500386114
62715987384392   KATHRYN        BOLES                   SC         90010129873
62716256855975   MARISELA       RODRIGUEZ               CA         48034662568
62716469284327   LUIS ANTONIO   LOPEZ                   SC         90003894692
62717857391525   JESSICA        NAVARRO                 TX         90004188573
62719115855975   ALFONSO        ZARAGOSA                CA         90014911158
62719381355977   BALTAZAR       DIAZ                    CA         90015313813
62721912551354   HAROLD         LANTER                  OH         90014799125
62722658433698   ANGELICA       HERNANDEZ               NC         90013176584
62724126561936   IRMA           ESTRADA                 CA         90012271265
62725247191534   JORGE          MENDOZA                 NM         90011672471
62725425855973   ANDRE          KERSBERGEN              CA         90012104258
62726928455973   IRENE          SMITH                   CA         90013169284
62727277255975   AMY            MAHAM                   CA         48009042772
62727421155973   NICK           SAENZ                   CA         90009594211
62727796281644   ANTHONY        PINKERMAN               MO         90014457962
62728158161936   ANGEL          ALEXANDER               CA         46051461581
62728521291522   EDUARDO        VAZQUEZ                 TX         90011615212
62729336955973   ARTURO         FARIAS                  CA         90010733369
62731399357544   KRISTINA       KENNEDY                 NM         90010023993
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62732536857544   MORGAN        FOOR                     NM         90007635368
62734643757538   MARTINEZ      MARIA                    NM         90000716437
62735412351354   DONALD        HARVEY                   OH         90013384123
62737419755973   ERIN          BALES                    CA         48075364197
62737563491522   MAYRA         THURMAN                  TX         90013075634
62737848133698   SHAYTOYA      FLETCHER                 NC         90015158481
62741429991522   MARISOL       CARRASCO                 TX         90014694299
62742495984392   CHRISTOPHE    GAILLARD                 SC         19003624959
62746326761936   LUPITA        RIOS                     CA         46008883267
62747491455975   CESAR         LEMUS                    CA         90015274914
62749978163646   MALACHI       CROWDER                  MO         27524819781
62751398851354   GEORGE        HARMON                   OH         66052153988
62751465355977   LOUIS         PRITCHETT                CA         49060534653
62751816461936   MARIA         RUBIO                    CA         90008798164
62752278961964   NATASSJA      PATMON                   CA         90015302789
62752521655977   JASON         BEITER                   CA         49089755216
62753596251354   DIANA         BARNETT                  OH         90013025962
62755599463646   PATRICIA      TRARES                   MO         90010015994
62756344857538   JAZMIN        CENICEROS                NM         35552613448
62756989184392   QUANTELLA     PERRY                    SC         19016449891
62756997557544   WESLEY        WALKER                   NM         90006229975
62757932461936   MARCO         FLORES                   CA         90010489324
62758323661936   NANCY         RUVALCABA                CA         90000643236
62758825561964   ANA           GUERRERO                 CA         46006158255
62759652533698   CHARLES       ABERNATHY                NC         12061066525
62761629755973   LARRY         THOMAS                   CA         90011496297
62763864481644   ALEX          BARAJAS                  KS         90013268644
62765634957544   DELBERT       BAADE                    NM         90012596349
62766287555975   ANTONIO       PASTRANA                 CA         90014822875
62766614957544   LEIGH         DELEON                   NM         90010916149
62768258761936   LARRITA       COWNAS                   CA         46004942587
62768633255977   DONYALE       KINGSBY                  CA         90015336332
62771217533698   LINDA         MACFARLANE               NC         90007522175
62773537563646   CHRIS         DIERKES                  MO         90013805375
62775725663646   DAVE          SMITH                    MO         90011407256
62775946991522   ALEJANDRO     ESTRADA                  TX         90009589469
62776788633698   MELISSA       SHREWSBURY               NC         90012867886
62778313461964   VICTORIA      DESMOND                  CA         90012643134
62778587557544   ANAMARIA      VILLA                    NM         90014845875
62781341855975   MARINA        HUERTA                   CA         90012793418
62781442181644   JESSICA       WASHAM                   MO         90012664421
62781926257538   CHRIS         MORENO                   NM         35543919262
62782572655973   DANIEL        MARTINEZ                 CA         48064535726
62783736257544   GEOFFROI      STEINAUER                NM         90005037362
62783799961964   DAVID         MENDOZA                  CA         46086147999
62784328491522   MARISOL       MUNOZ                    TX         90012153284
62784627761936   SEAN          MONROE                   CA         90014456277
62786145661964   RAUL          SEPULVEDA                CA         90006441456
62786864351354   DESIREE       WALKER                   OH         90014778643
62787769663646   MIRENA        HILEMAN                  MO         27553217696
62788336861936   KEVIN         SPELMON                  CA         46019603368
62788591457544   CHRISTOPHER   WOLFE                    NM         90010775914
62789357555973   TERE          AVILA                    CA         48046393575
62789573181621   EVERETT       FOX                      MO         90007195731
62791343155973   GONZALO       PADILLA                  CA         48005283431
62791371225236   TYNEQUA       FARMER                   NC         90006233712
62792696184392   ASHFORD       NELSON                   SC         19079076961
62793783561936   VICTOR        GUMERREZ                 CA         90003047835
62795217355977   JUSTIN        LEDESMA                  CA         90014912173
62798258761964   RODOLFO       TOSCANO                  CA         90013662587
62798763291522   OLIVIA        SALGADO                  TX         90015127632
62799422684392   ARCHIE        GADNER                   SC         90010634226
62811531531422   MARC          WELCH                    MO         90002395315
62813698661936   MI SHAN       PERRY                    CA         90011396986
62813984331453   STEVE         MATTHEWS                 MO         27555079843
62816697884392   OSTAVIA       SIMMONS                  SC         90014936978
62816981961936   OLIVIA        MARTINEZ                 CA         46087509819
62817647425236   IVANNA        LYONS                    NC         90008306474
62819434155975   JESTINA       MARTINEZ                 CA         90013154341
62821426361936   PATRICIA      ARCINEGA                 CA         90013734263
62821436891522   ERIK          DELPALACIO               TX         90014694368
62821538651354   CELINE        BRAY                     OH         90003815386
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62821711161988   NATASHA      SIERRA                    CA         90004737111
62822477457538   JESSICA      RAMIREZ                   NM         35510984774
62824194691522   VICTORIA     BUSTILLOS                 TX         90014781946
62824347433668   CYNTHIA      CHAPMAN                   NC         90013233474
62825131591522   LUZ MARIA    REYES                     TX         90014161315
62826821833698   CASTOR       TROY                      NC         90013568218
62829443157544   STACY        TURNER                    NM         90009034431
62829776863646   CRAIG        ROSS                      MO         27508097768
62831162591522   SYLVIA       LECHUGA                   TX         90003101625
62831694751354   HASSAN       CAIRO                     OH         90015326947
62833136991522   RAMONA       FEDERICO                  TX         90014161369
62833799461964   ANNA         MEDINA                    CA         90003037994
62835521861936   JACKELYNNE   ORTIZ                     CA         90012865218
62836389761964   MANUEL       VARGAS                    CA         46005833897
62836431891522   VARGAS       MARTHA DOLORES            TX         75068284318
62845473184392   DOROTHY      HARRIS                    SC         90009314731
62846743651354   DORETHA      HALL                      OH         90010037436
62847373981644   JOSE         BERRIOS                   MO         90015193739
62847484463646   KRYSTAL      BRODERICK                 MO         90013054844
62848237655975   JEANETTE     HENDERSON                 CA         48054092376
62848296331473   CHAMPAGNE    BROWN                     MO         90013632963
62848989357544   AMANDA       SNAPP                     NM         90013409893
62849472451354   KAITLIN      WARE                      OH         90005134724
62849491155973   ROSA         MENDOZA                   CA         48077664911
62849623761964   RODOLFO      GALLARDO                  CA         90012396237
62851288863646   AMY          WYCKHOUSE                 MO         90011912888
62851877955977   CELINA       GONZALEZ                  CA         90002238779
62854443857544   CRAIG        STRINGER                  NM         90013594438
62854572384392   GINA         CAMACHO                   SC         19073805723
62855327584392   ROBERT       MORRIS                    SC         90013383275
62855795263646   PAUL         HILGERT                   MO         27563867952
62856741157538   OMAR         GARDEA                    NM         35563407411
62859372151354   MARILYN      WASHINGTON                OH         66000753721
62861959781644   JIM          CONAWAY                   MO         29009099597
62863151851354   KELLY        PENNINGTON                OH         90014121518
62863751491522   ERIKA        CASAS                     TX         90005857514
62865521455975   MIGUEL       ALMANZA                   CA         90012215214
62865697284392   TYSHEIKA     WRIGHT                    SC         19007296972
62866469261964   VERONICA     RUIZ                      CA         90002184692
62868564233698   DEMARKO      DEGRAPHENREED             NC         90007715642
62869765161936   EDGAR        RODRIGUEZ                 CA         90011107651
62871548981621   TRECIE       JONES                     MO         90007095489
62872728957544   MICHELLE     MIRABAL                   NM         90009487289
62874315755975   SHERI        ST CLAIR                  CA         90014333157
62875613461964   TANIA        MEJIA                     CA         90004336134
62876327584392   ROBERT       MORRIS                    SC         90013383275
62877565657544   MARIKA       WOLFE                     NM         90010955656
62878153555975   JOSEPHINA    BANUELOS                  CA         48075521535
62878637663646   MATTHEW      WINKLEMAN                 MO         90013256376
62879792591522   ISELA        ORTIZ                     TX         90011617925
62881121531476   SHALANDA     LONGMIRE                  MO         27559761215
62881526155977   SYNTHIA      LOPEZ                     CA         49092455261
62882442951354   LAKESHA      HALEY                     OH         66092024429
62884424561936   LAUREN       SPOUNIAS                  CA         90014074245
62886262961936   MARK         BRASH                     CA         90013982629
62887445725236   KENYA        PERRY                     NC         17001924457
62888534355977   JAMES        MOORE                     CA         49088075343
62889449255973   RUSSELL      CORTEZ                    CA         48037854492
62891664355973   DIANA        FIGUEROA                  CA         90013866643
62893151333698   TARJI        CORNELL                   NC         90011121513
62893585663646   BREEANN      HAWKS                     MO         90014655856
62893663191522   ERIKA        MARTINEZ                  TX         90015016631
62894194461936   JAMES        NORWOOD                   CA         46089661944
62894982257544   SANDRA       HITA                      NM         90012829822
62898497955977   SARA         MARTINEZ                  CA         49094854979
62898923355975   SARA         VALDEZ                    CA         90001029233
62898979857544   VERONICA     GONZALEZ                  NM         90011009798
62913755263646   JOSHUA       AL-HAMEED                 MO         90005877552
62914515555977   MARDLENE     ROJAS                     CA         90008995155
62917727255964   LILIANA      CORONA                    CA         90014057272
62917974841221   MARI         ROLEWICZ                  PA         51011449748
62918738861964   PRISCILLA    MARTINEZ                  CA         90010477388
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62918874391522   JESUS                 FERRER              TX      90011618743
62919227855975   SILVIA                HERNANDEZ           CA      90011412278
62919381457544   JOHN                  OSTENDORF           NM      35517273814
62921274551354   NANCY                 LEMKE               OH      90015592745
62925588851354   CORNELIA              REYNOLDS            KY      90007315888
62925788933698   SANDRA                VERGARA             NC      12014597889
62927658591522   YESENIA               OCHOA               TX      90014716585
62927742561936   ADRIANA               ORTEGA              CA      46075727425
62928736555973   ROBERT                CONTRERAS           CA      90010107365
62929314355975   LETICIA               BROWN               CA      90013533143
62929913655973   LETICIA               LUPERCIO            CA      48092959136
62931234661964   YADIRA                RUBIO               CA      90010322346
62933714263646   CRAVYN                FALLON              MO      27594197142
62935162557544   LUBIA                 GWAK                NM      90014051625
62935647581644   KATRINA               THOMPSON            MO      29081716475
62936767481621   BEN                   KNEPP               MO      90009277674
62937285651361   JAMES                 PIPER               KY      66028102856
62938289733698   TRINIDAD              CORTEZ              NC      90003162897
62939724955977   EDUARDO               MARTINEZ            CA      49006497249
62942135391522   DEREK                 PALEY               TX      75046271353
62944274661964   AARON                 SCHMID              CA      90000102746
62945195757544   VICTORIA              ALGARD              NM      90007571957
62946624851354   LUIS                  CRUZ                OH      66039476248
62946746955973   NATALIE               MALDONADO           CA      48055387469
62947323257544   MATTHEW               MIRABAL             NM      90009813232
62948126581644   KEYONIA               HUDSON              MO      29088251265
62951388161936   ANGUS                 PORTER              CA      46039043881
62955558957544   LARISA                JIMENEZ             NM      90012185589
62956939261964   PEPE                  REYES               CA      46053889392
62957414461964   JOHN                  RATLFIF             CA      90004004144
62957939791522   RUAL                  OCHOA               TX      90014249397
62958311455977   JORDAN                GROENEWEG           CA      90008393114
62958368791572   PATRICIA              HERNANDEZ           TX      75089113687
62959228751354   LAUREN                CHAMBERS            OH      90003932287
62959597633698   TAMMY                 BROOKS              NC      90011465976
62961519284392   DELLA                 LEACH               SC      90013835192
62962167751354   SAMANTHA              HOSKINS             OH      90014151677
62963546281644   GEORGE                MCGAUGH             MO      90015185462
62963885555973   ALYSSA                HERNANDEZ           CA      48085408855
62964814891522   SANDRA                BLANCO              TX      75073398148
62964912481644   VANESSA               VENZOR              MO      29035429124
62965199384392   MIGUEL                GUZMAN              SC      90011611993
62965311861936   ISABEL                LOPEZ               CA      90014933118
62965425763646   NORMA                 BARBER              MO      27529284257
62966413955973   EVANGELINA            GARCIA              CA      90012904139
62968258131453   CHRISTY               MARTIN              MO      90002122581
62968297791522   JASMINE               ALI                 TX      90007962977
62968314891525   RENE                  VASQUEZ             TX      75071813148
62968619363646   DARREN                CARTER              MO      90011906193
62968846755973   MICHAEL               MARSHALL            CA      90013548467
62968922533698   MIGUEL                OLMEDO              NC      90002409225
62971218955977   MIGUEL                VILLEGAS            CA      90006412189
62971685255975   PEDRO                 ESPINO              CA      48077746852
62972179157544   ANGELA                DE LA ROSA          NM      90014281791
62972323255977   EVELYN                CORTES              CA      90005423232
62972439155975   SOVEDA                RAMIREZ             CA      90012734391
62972817181671   LACHUNDRA             JONES               MO      29005448171
62973596855977   MIRIAM                QUINTERO            CA      90012935968
62974283531651   CHRISTIAN             NELSON              KS      90002672835
62975117861936   EMMA                  RAMIREZ             CA      46009421178
62975256433698   MIREYA                SANCHEZ             NC      12052412564
62977519863646   SARAH                 HARRISON            MO      90007225198
62977841161964   JOHN                  ADCOCK              CA      90000458411
62978575361964   BEATRIZ               PULIDO              CA      90002155753
62979155661964   JARED                 NADERMANN           CA      90006551556
62981437691522   ABEL                  SANCHEZ             TX      90005144376
62981514684392   VELLANEY              ZALAZAR             SC      90012305146
62983276771924   CHRISTINA AND SCOTT   MISNER AND HARRIS   CO      90009472767
62983838481644   ANA                   MALDONADO           MO      90015108384
62984293733698   JAMILIA               JOHSON              NC      12010002937
62987931855975   FRANCISCO             HERRERA             CA      48083249318
62988358161936   JESSICA               RICHARDSON          CA      90014833581
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62989416555973   JOSE LUIS    MOLINA                    CA         48079104165
62993147484392   RICO         SINGLETON                 SC         90015131474
62993517261964   KARINA       TORRES                    CA         90014155172
62994933391534   ERIKA        CHAVEZ                    TX         90009939333
62997332581644   JESSICA      ALCORN                    MO         90003643325
62997697155975   MARIA        LUPIAN                    CA         48061856971
62997813363646   KARIE        JEWELL                    MO         90009438133
63111164561964   ANTONIO      MARQUEZ                   CA         90006071645
63113786863646   DUANA        JONES                     MO         90014847868
63116149255975   RIGOBERTO    RAMOS                     CA         90015121492
63118182833698   ANTONIO      SEASE                     NC         12028351828
63118567981644   EARL         MACK                      MO         90003505679
63122317351354   SHERRY       CLIFFORD                  OH         66068423173
63122976655975   SANDRA       PEREZ                     CA         90011399766
63123898991522   GRACE        ARROYO                    TX         90009878989
63124417791549   ALMA         GONZALEZ                  TX         75008854177
63124484171968   ORAINE       CROOKS                    CO         90012604841
63124991391522   ROSA         LIMON                     TX         90014959913
63125885891522   FRANCISCA    HERNANDEZ                 TX         75033438858
63125934241263   HEATHER      BLAKE                     PA         90009939342
63125941891549   MARK         JEFFERSON                 TX         75002049418
63126185555977   GABRIELA     PALOMAR                   CA         90014001855
63127181191522   LAURA        MELENDEZ                  TX         75065441811
63128447191522   LUZ MARIA    HERRERA                   TX         90005354471
63128558355973   JORGE        FERNANDEZ                 CA         90015535583
63128679671976   RACHEL       VANDEGRIFT                CO         90011126796
63129375951354   LAFREDA      SIMMONS                   OH         90008763759
63129992191522   CRUZ         TORRES                    TX         75045539921
63131281591522   AYLIN        CHAIREZ                   TX         90008742815
63131799291549   JESSICA      BARBA                     TX         90014677992
63132315255975   JOSE         PALACIOS                  CA         90000293152
63133721733698   SAMUEL       ALLEN                     NC         90012767217
63133745371976   EDWARD       THOMAS                    CO         38088247453
63135237461964   RICHARD      FLORES                    CA         90013962374
63135496355975   MARIA        ANAYA                     CA         90002624963
63136337191549   VANESSA      RIVERA                    NM         90012063371
63136994891522   IRMA         OROPEZA                   TX         90014959948
63137131755973   MARLIN       JACOVO                    CA         90002181317
63137649131453   SHEIRIE      REYNOLDS                  MO         90000966491
63138266971976   GABRIEL      ASQUEZ                    CO         38079102669
63138529871968   ULEXUS       SHEPPARD                  CO         90014455298
63138994891522   IRMA         OROPEZA                   TX         90014959948
63139169591549   JESUS        DOMINGUEZ                 TX         90005701695
63139994891522   IRMA         OROPEZA                   TX         90014959948
63141657561964   DIANE        FAVALE                    CA         46036736575
63141763191522   MARIA        RIVERA                    TX         75068757631
63142137851354   ANDREA       SMITH                     OH         90008531378
63142713771976   LEILANI      AGUERO                    CO         38055597137
63143134561936   PERLA        ORTIZ                     CA         46070551345
63144221155973   JOE          GONZALES                  CA         90010642211
63145266971976   GABRIEL      ASQUEZ                    CO         38079102669
63146697951354   KANDICE      FLORES                    OH         90013626979
63146819655975   MICHELLE     BAILEY                    CA         48093488196
63147981933698   KEI'AUNDRE   LOVE                      NC         90014399819
63149164791549   JAZMIN       NUTTER                    TX         90013151647
63149319855941   ROBERT       SALAS                     CA         90010493198
63149512355977   MICHELLE     CALHOUN                   CA         90013385123
63151439191549   BIANEY       ALARCON                   TX         90008184391
63151924451354   KARRIE       DUNN                      OH         90013219244
63154362657538   ADEL         DAVIS                     NM         90005743626
63156649131453   SHEIRIE      REYNOLDS                  MO         90000966491
63156845884392   RACHAEL      SPEARS                    SC         90009848458
63156923133698   MICHELLE     DOBBS                     NC         90011099231
63158364431453   JASMINE      POWELL                    MO         90010243644
63158418661988   MARIO        PADILLA                   CA         90002374186
63162717963646   TAMITHA      TROMBLEY                  MO         90012827179
63165186355977   AMANDA       HENDERSHOT                CA         49074621863
63169165161936   VICTOR       TREJO                     CA         46043391651
63171427484392   JALISA       SMALLS                    SC         90013204274
63171913555973   ERICA        MCKINNEY                  CA         90014249135
63173185551354   DAVIS        LOMBRE                    OH         66089111855
63173932971968   LAURA        MERZ                      CO         90015089329
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63174194261964   CLARISSA     PENA                      CA         90011921942
63174977755983   ARMANDO      HARRIS                    CA         90014759777
63175253633698   BERNARD      SMITH                     NC         90008562536
63175554455975   SALVADOR     PEREZ                     CA         90014135544
63175991751354   RON          ANDERSON                  OH         66040669917
63176238155973   SERGIO       COTA                      CA         90013452381
63177545557538   SOFIA        PARRA-JUAREZ              NM         90003595455
63178579655977   KRYSTLE      PERALTA                   CA         90015245796
63178876561964   ELOINA       CARRILLO                  CA         46059178765
63179979663646   AMELIA       HODGE                     MO         27575819796
63182442971968   MATTHEW      BAUMERT                   CO         90006054429
63182511725236   CARLOS       SOTO                      NC         90015465117
63182666255973   AMANDA       STEELMAN                  CA         90010126662
63182712761964   JOE C        MONTES                    CA         90012987127
63184294651354   YANETTE      DIAZ                      OH         90014472946
63185348663646   FRANKIE      SUTTON                    MO         90008393486
63185929461936   ANTONIA      VIZCARRA                  CA         90014849294
63185936857538   CRISTOPHER   OLSEN                     NM         90002629368
63186499171976   SHERRY       SCHERMERHORN              CO         90011754991
63186919291863   AZIA         BROWN                     OK         90011599192
63187212791549   GLORIA       ROSALES                   TX         90007742127
63187275163646   JOEY         DONNELLY                  MO         90013362751
63189524961936   NATHAN       DARDEN                    CA         90008005249
63192178451364   PATRICK      CLOKE                     OH         66047111784
63194469871968   NATHAN       ESPINOZA                  CO         90014524698
63195393384392   SHELVA       ANDERSON                  SC         90009463933
63198512561964   POWELL       GERALD                    CA         90011385125
63213194871968   JOE          FOSTER                    CO         90013391948
63213882525236   KIMBERLY     MCCRAE                    NC         90014358825
63215566171968   GABRIEL      LIBRADO                   CO         90011505661
63215759555977   BENITO       VACA                      CA         90005197595
63217399455975   MARYSOL      FUENTES                   CA         90012063994
63217949933698   GUADALUPE    DURATE                    NC         12057079499
63218369361964   SERGIO       PERALTA                   CA         90013853693
63218389977582   SANDRAMARI   HERNANDEZ-PLASCENCIA      NV         43012123899
63219863555973   NORMA        PEREZ                     CA         90005298635
63221536891549   OFELIA       BANUELOS                  TX         75029945368
63223966191549   ROSALBA      BOGGS                     TX         90013639661
63225979663646   AMELIA       HODGE                     MO         27575819796
63226174351354   ERIKA        WOODS                     OH         90014691743
63226532681644   JENNIFER     GUZMAN                    MO         29088055326
63227513755975   MARIBEL      MORENO                    CA         90011175137
63233348771976   DEREK        HOGUE                     CO         90001433487
63234238155973   SERGIO       COTA                      CA         90013452381
63234536271968   SCOTT        THOMPSON                  CO         90002665362
63235331171968   MARISELA     GUILLEN                   CO         32090123311
63237161881631   RICHARD      LOPEZ                     MO         90002921618
63237418471976   ENRIQUE      CHAVEZ                    CO         90008744184
63237443191549   YVETTE       CASTILLO                  TX         90013424431
63237838155977   MIGUEL       GONZALEZ                  CA         49044428381
63238252184392   ANTHONY      BROWN                     SC         19021512521
63238521555973   DEANDRE      MAXWELL                   CA         90007525215
63239281551354   SHARON       STONE                     OH         90010012815
63239811791549   HECTOR       PALACIOS                  TX         90012878117
63239963891527   BLANCA       ESPITIA                   TX         90007289638
63242246855977   VANG         YENG                      CA         49013012468
63242346161964   MIGUEL       ZAPIEN                    CA         90012773461
63242537355973   ELIDA        MEDINA                    CA         90013155373
63243618291522   SILVIA       WHITE                     TX         90014966182
63244785933698   JESSICA      ALBRIGHT                  NC         90011107859
63248377671976   ELIZABETH    ROMERO                    CO         38088023776
63253624355973   LUCY         SIGALA                    CA         48056456243
63253717171968   JOEY         MAES                      CO         90012917171
63254868433698   YURIDIA      ROJAS VILLALVA            NC         12073178684
63255297871976   TRACI        AARAGON                   CO         38047972978
63258683781644   KYLE         STARR                     MO         90006956837
63262266355973   CARLOS       FALCON                    CA         90014382663
63262328255975   YAMMI        MARTINEZ                  CA         90014903282
63262627193762   TOCCARRA     HENLEY                    OH         90001386271
63262819161936   GABRIEL      ORONA                     CA         90010788191
63264664651354   STEPHEN      PETERS                    OH         66025946646
63264928561936   MARLIN       CASTANEDA                 CA         46068719285
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63265319355975   MANUEL       KELLY                     CA         48005183193
63265589791549   ROBERT       HARBER                    TX         90013195897
63265652471968   DAVID        COONTZ                    CO         90013626524
63265775671976   SHAWN        ARAGON                    CO         90004347756
63266158581644   KIMBERLY     SINCLAIR                  MO         29045001585
63266628291522   MONICA       VALENCIA                  TX         90014966282
63267858751354   KAYLA        ROBERTSON                 OH         90013818587
63268522471968   SARAH        BURKE                     CO         90014395224
63268653391522   RODDAM       JUSTIN                    TX         75075396533
63269214971968   TINA         TRUJILLO                  CO         90014642149
63271979225236   ANTONIO      RENTERIA GONZALES         NC         90015219792
63275429155973   MELINDA      BERMUDEZ                  CA         90013864291
63276412671968   ABRAHAM      AVILA                     CO         32049264126
63277452133698   ABRAHAM      MARICHE-CANDELA           NC         90012184521
63278855791549   EDMUNDO      AVILA                     TX         75000108557
63281339171968   ERIN         CRAFT                     CO         90014603391
63281838171968   MATTHEW      BEAVER                    CO         90010668381
63282564555975   CAROLYN      SOLIS                     CA         90007505645
63283893355975   CHELSEY      OLMOS                     CA         90001288933
63284296861964   SERAFIN      MIRANDA                   CA         90011172968
63284379157538   SONIA        TORRES                    NM         90002273791
63285214391863   DERICK       BARDELL                   OK         90011922143
63285772491522   CYNTHIA      TORRES                    TX         75082207724
63286626961936   JULIO        VIELMA                    CA         90010496269
63287478577321   INEZ         GABINO                     IL        90012474785
63287979891549   TAMMECHA     JOHNSON                   TX         90010409798
63288469271968   JOHN         MCCREREY                  CO         90013714692
63289461661936   KARAH        TIFELE                    CA         90013274616
63289688761964   LISA         SNYDER                    CA         46028236887
63289955491549   DAVID        VILLEGAS                  TX         90013939554
63293768861964   JOSE         RINCON                    CA         90011997688
63294496371976   ANTHONY      CARBAJAL                  CO         38056134963
63294739261964   MANUEL       GOMEZ                     CA         46060467392
63295546371976   DEANNA       GALVAN                    CO         90012905463
63295715955973   MARIA        BARBOZA                   CA         90002997159
63296799291549   JESSICA      BARBA                     TX         90014677992
63298112177568   REYNALDO     JIMENEZ VARGAS            NV         90011701121
63299284484392   SUYAPA       RUIZ                      SC         90013742844
63299694231453   JOHN         WILLIAMS                  MO         90010646942
63311165984392   BRENDA       KNOWLES                   SC         19006291659
63311656433698   CAROL        GAINEY                    NC         12080496564
63312294651354   YANETTE      DIAZ                      OH         90014472946
63312938655973   KHAMVILAY    PHETHVILAY                CA         90013379386
63313893263646   PAYGO        IVR ACTIVATION            MO         90012248932
63314182391549   MIGUEL       MONTEZ                    TX         90012101823
63314758184392   DELLA        STEPHENS                  SC         90008977581
63315411825236   LESLI        LUIS                      NC         90013244118
63315922455973   ARMANDO      CORTEZ                    CA         90001659224
63318155671976   BRANDY       REITER                    CO         38070801556
63319268355973   ELIZABETH    CHAVEZ                    CA         90014272683
63319325771976   LORENA       MERCADO                   CO         90015253257
63319436791549   JUAN LUIS    GARCIA                    TX         75092324367
63319723684392   DORETHA      CHAVIS                    SC         90012987236
63319725363646   JORGE        ALBERTO                   MO         27568507253
63321219263646   JESUS        ESCAMILLA GIL             MO         90012612192
63321538255975   JEANETTE     KEEL                      CA         48055655382
63322249761964   ANGELA       DRAWHORN                  CA         46011772497
63322735355977   RACHEL       MOUKA                     CA         90002587353
63322999555983   ANNETTE      ATTILANO                  CA         90014769995
63323417871968   DEBRA        REN                       CO         32064674178
63326613486438   RICARDO      ASCENICON                 SC         90014156134
63328587355975   ISABEL       HERNANDEZ                 CA         90015305873
63328657855977   ARTURO       CASTRO                    CA         90013286578
63329326855975   JUANITA      SERNA                     CA         48012623268
63329818751354   GIRI         SAPKOTA                   OH         66077088187
63333161555973   MARIBEL      HORCASITAS                CA         48014941615
63333419861936   FRANCES      ESTRADA                   CA         90010734198
63333737871968   NICHOLAS     RHAMY                     CO         32095777378
63333875391549   ARACELY      SALCIDO                   TX         90010158753
63335197871976   YOLANDA      ATENCIO                   CO         38019251978
63335777261964   DONDRA       BARRON                    CA         90013647772
63335784855977   ANGELICA     BRAVO                     CA         90010247848
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63336681381631   MARIA         MCGRONE                  MO         90002936813
63336996281644   KIMBERLY      EILAND                   MO         90006739962
63338989191522   MAYELA        ANGEL                    TX         90007639891
63339983561964   AMALIA        VINOLE                   CA         90002009835
63341238361964   CAROLINA      SERRANO                  CA         90015172383
63345212377537   FLOYD         CARPENTER                NV         90012522123
63345651951354   JEFFREY       KNAB                     OH         66088556519
63345666591522   JUAN          IBARRA                   TX         90014946665
63347621471968   DIANE         WADE                     CO         90010936214
63347665761936   ADRIAN        RUVALCABA                CA         90015176657
63351243284392   JESLER        LOPEZ                    SC         90010672432
63351443155975   STEPHANIE     LISENBERRY               CA         90013804431
63352379563646   AMOS          HERNANDEZ                MO         90012323795
63353341855975   ROSA          ALCANTAR                 CA         48067613418
63353983961936   CARLOS        SIGARROA                 CA         90005399839
63354122591522   DIANA         ESTRADA                  TX         75045321225
63354725891549   RICARDO       DOMINGUEZ                TX         90010227258
63355673355973   MARIA         GOMEZ                    CA         90000366733
63355776161936   LOTTIE        OLITHANT                 CA         46067537761
63356654455975   DAVID         GONZALEZ                 CA         90010636544
63357161691522   ROBERT        BENITEZ                  TX         75045321616
63358835881644   FELIX         CHACON                   MO         90008748358
63359595355973   DENISE        WHITFIELD                CA         90010045953
63361877433698   CASSANDRA     THOMAS                   NC         90011008774
63361993125236   KATINA        WINSTEAD                 NC         90014689931
63362243891522   EDDIE         GONZALEZ                 TX         90009852438
63362341984392   LINDA         POOSER                   SC         90009643419
63362378161964   BRITTANY      GUEVARA                  CA         90014583781
63362598163646   TREVOR        FROSCH                   MO         90012875981
63363629791522   MARIA         GUADARRAMA               TX         90011096297
63364293184392   CATHERINE     FRIERSON                 SC         90013042931
63364844533698   DANIELLE      GRAY                     NC         90014188445
63365471755977   JOSE          REMERIZE                 CA         90013054717
63365494531453   REBECCA       BROWN                    MO         27526094945
63366353884392   DAVID         HUGGINS                  SC         90012033538
63367378961936   FRANK         FANUA                    CA         90013743789
63367978261964   ANA           SMITH                    CA         90011189782
63368472463646   CHRISTOPHER   MASSEN                   MO         90010684724
63368539961964   JOSE          MIRAMONTES               CA         90010825399
63373498461964   ANTONIO       HUARCAS                  CA         90010454984
63374653455977   GUSTAVO       HERNANDEZ                CA         90013906534
63375682455977   SOPHEA        MAK                      CA         90010826824
63375821991522   ANGELICA      LOPEZ                    TX         75004588219
63376572291549   ANDRES        MONREAL                  NM         90014595722
63378438733698   JAMAL         SMITH                    NC         90015454387
63379271684392   MIGUEL        RIOS                     SC         90014102716
63379327455975   MARINA        GARZA                    CA         90010253274
63379722157538   TINA          VASQUEZ                  NM         90005977221
63382341555975   ELENA         CEBALLOS                 CA         48068803415
63382576651344   AMANDA        STICKROD                 OH         90001005766
63382728155977   RHONDA        ABENIDO                  CA         90014577281
63384445261964   MARILYN       CERVANTES                CA         90014894452
63384518263646   CLAIRE        BOYLAN                   MO         90010625182
63386337251354   JARED         MORRIS                   OH         90014143372
63387545761964   PATRICIA      ESCAMILLA                CA         90012805457
63388159455973   JONATHAN      MARTINEZ                 CA         90015031594
63389114461936   MARIA         YORK                     CA         90009261144
63389677855973   DANIEL        PYLE                     CA         90014746778
63389985871968   RICKEY        BAEZ                     CO         90012089858
63391722157538   TINA          VASQUEZ                  NM         90005977221
63392179371976   CAROL         JONES                    CO         38024231793
63392865884392   PATRICIA      PARKER                   SC         90008878658
63393479171968   TAMRA         CRIM                     CO         32095824791
63393527557538   MARISELA      AGUILERA                 NM         90011675275
63393818993189   SONJA         HILL                     KY         90002448189
63394383784392   KEVIN         JOHNSON                  SC         90006283837
63394796451354   CHRISTIAN     KINCAID                  OH         90015217964
63394825291549   PRIETO        JOSEE                    TX         90012878252
63394898633698   JEDDA         ADAMS                    NC         90014238986
63397357384392   MICHEAL       JAMES                    SC         90002823573
63397556163646   FRANKLIN      EVANS                    MO         27537675561
63398571361936   OCTAVIO       DUARTE                   CA         90013895713
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63399311155973   WENDY          SANDOVAL                CA         90009373111
63399611184392   KYLE           BUSCH                   SC         90014846111
63399734391549   MARCO          CASTRELLON              TX         90014957343
63411935261936   RANDY          PITTMAN                 CA         90008029352
63412484361964   SCOTT          OLIVER                  CA         90011114843
63412934481631   CORDIA         MILLER                  MO         29096299344
63415228251354   NIKOLE         TAYLOR                  OH         90014422282
63415573661975   RICHARD        GORMAN                  CA         90009225736
63415814141261   LUCHIA         YANOTTI                 PA         90007238141
63417391584392   YASMINE        SIRIS                   SC         90000783915
63417897355977   ERICA          DIAZ                    CA         90004698973
63418216384392   DANIEL         SERRANO VERA            SC         90013592163
63418345763646   JOHN           CASEY                   MO         90013393457
63418457361964   JD             EVANS                   CA         46004214573
63418477255977   VALERIE        GUTIERREZ               CA         49085354772
63418598861936   JOSE           PAZ                     CA         90015155988
63418742755973   MARINA         BELL                    CA         90008467427
63418946481644   RONALD         GARRISON                MO         90008749464
63419246685944   OSCAR          CASTRO-ENCINA           KY         66051832466
63419543461936   ANA LADY       RESENDIZ                CA         90013105434
63423655555975   MAGALI         ESTRADA                 CA         90010456555
63423814961936   LANCE          CAMERON                 CA         46085618149
63426113755977   MAGNOLIA       SERIOS                  CA         90010831137
63426899461936   AGUSTIN        CARRASCO                CA         46072728994
63427415491534   MARIO          GARCIA                  TX         75041264154
63428874555973   RAQUEL         MORALES                 CA         90009338745
63429459755973   MARIA          MADRIGAL-BEDOLLA        CA         90012084597
63433319661936   BECKY          GAY                     CA         90013473196
63433674391522   DIANA          ESPINOZA                TX         75073166743
63434445125236   ROCIO          VERNAL                  NC         90012624451
63434567955993   ALVARO         SANCHEZ                 CA         90008075679
63437373761964   MIGUEL         DAMIAN                  CA         46014333737
63437694771968   GLENN          HARMON                  CO         90009876947
63437943244351   PRISCILLA      NKIE NGWA               MD         90011899432
63438113833698   RUBEN          COLMENARES              NC         90013831138
63438584561936   JOOK           GARANG                  CA         90014355845
63439351671976   DOREEN         CHAVEZ                  CO         90006503516
63439571861964   ROBERTO        RUVALCABA               CA         90011315718
63444214991522   LUZ            SALOME                  NM         75063102149
63445131481644   TYLER          ELLIOT                  MO         90010961314
63445378261964   STEPHANIE      CABRERA                 CA         90014583782
63445717371968   JOEL           REYES                   CO         90013257173
63446496963646   JOSEPH         HOFMEISTER              MO         27522024969
63446895381631   JENNIFER       JACKSON                 MO         29096378953
63449934151354   ADRIANE        BROWN                   OH         90011879341
63451356733698   CHRIS          SMITH                   NC         12091063567
63452987861964   KATRINA        ESTRADA                 CA         46093439878
63454947855973   JERRY EDWARD   WALLACE                 CA         90007649478
63457769384392   TAYLOR         BAKER                   SC         19081957693
63458394671976   CECILIA        JAQUEZ                  CO         38065273946
63461442155973   STANLEY        OWSLEY                  CA         48001094421
63461735563646   EFREN          HEREDIA                 MO         90000237355
63461976957538   MARIO          CABRAL                  NM         35513219769
63462522451354   TAHNIA         BUTLER                  OH         90011435224
63462728825236   QUAMAINE       CURTIS                  NC         90014127288
63463667933698   CRYSTAL        CRAVEN                  NC         90012946679
63463921171968   RAY            LANNIGAN                CO         90012539211
63466289155977   ANGELICA       CRAWFORD                CA         49061182891
63467434225236   JAY            RUFFIN                  NC         90014854342
63467443471968   RACHEL         CASAREZ                 CO         32045324434
63469421671976   SUAL           GONZALES                CO         90011784216
63473426255975   MELISSA        CARRANZA                CA         90013934262
63474314451354   CLARA          STODGHILL               OH         90006583144
63474473841261   PATRICIA       MAUND                   PA         90000314738
63474884961936   NOHEMI         GARCIA                  CA         90012438849
63475721184392   KIMBERLY       SMITH                   SC         90011587211
63475741925236   WILLAIM        GARLICK                 NC         90011137419
63476124171968   CAITLIN        DEYOUNG                 CO         32059661241
63477748241257   SUSAN          POLLACK                 PA         90008167482
63478462661924   ARNOLD         AVALOS                  CA         46049154626
63479563271968   MARK           BRADLEY                 CO         90009975632
63479683191522   ARTURO         RODRIGUEZ               TX         90009336831
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63481135191549   ROGELIO       DELGADO                  TX         90001521351
63481188971968   CAROLINA      FLORES                   CO         32074521889
63482248171968   WALTER        BURKHOLDER               CO         90007612481
63482269385948   TRISHA        FOWLER                   KY         90006552693
63482624361964   PASCUALA      RUIZ                     CA         90010256243
63483499955975   CELESTE       ZUNIGA                   CA         48075664999
63485577961964   JAZMIN        GAYTAN                   CA         90011315779
63487478761964   ARROLLO       LEOX                     CA         90004934787
63487498184392   JAMES         CLARK                    SC         90014864981
63488766825236   JANELL        KOOHESTANI               NC         90001357668
63488816491527   SELENE        ACOSTA                   TX         90013068164
63492175655975   DEANNA        JARAMILLO                CA         90011191756
63492975663646   CARL          BELL                     MO         90002589756
63493193763646   VICKI         THOMAS                   MO         90011961937
63493374191522   BALTAZAR      HERNANDEZ                TX         90014973741
63495986555975   EVA           GARFIELD                 CA         48032189865
63496143455973   YOLANDA       ROBLEDO                  CA         48063221434
63496573571968   CODY          STONE                    CO         90012675735
63498651333698   VERDELLIZ     MCMURTRY                 NC         12050896513
63499651155973   FRANCISCA     PATINO                   CA         90014856511
63511383161972   MONICA        OCHOA                    CA         46067503831
63511723151354   CHRISTOPHER   PLUMMER                  OH         90012647231
63512119591549   ROCIO         GARCIA                   TX         75006921195
63513385255977   CARLITA       GARCIA                   CA         90009563852
63514248261954   CHAVELA       MCMURRAY                 CA         90000892482
63514288771976   ISRAEL        LOPEZ-ALONSO             CO         90011792887
63514544961936   BRENDA        AULT                     CA         90010205449
63514653391522   JOSE          RAMOS                    TX         90005396533
63514952461964   ESTELA        VASQUEZ                  CA         90007539524
63514965855973   JOSE          HINOJOSA                 CA         48090989658
63516912455973   CYNTHIA       ESPINOZA                 CA         90014909124
63517167325236   JANA          ARMSTRONG                NC         90014551673
63517355655977   VANESSA       GOMEZ                    CA         90011043556
63517756384392   GABRIELLE     MACK                     SC         90012997563
63519225741272   SUSAN         PAWARSKI                 PA         51096262257
63519398391522   DIANA         TREJO                    TX         90014973983
63519525255975   PHANH         SAENGKO                  CA         90008435252
63521216281645   TINETRA       POUNAL                   MO         90004212162
63521822961966   MARIA         RUIZ                     CA         90009448229
63523283691522   ELIZABETH     PRADO                    TX         75013722836
63524121941261   KOKO          JOHNSON                  PA         90013741219
63525445181631   MARGARET      MARTIN                   MO         29093924451
63527767151354   CHRIS         SAVAGE                   OH         90009267671
63528296155973   MARIO         LUEVANOS                 CA         90011802961
63531429251354   STEVEN        MAYNARD                  OH         90008914292
63532958361964   ANNNA         LOUISA ALVAREZ           CA         46052629583
63533939455977   JOSE          ROSALES                  CA         90013329394
63534616733698   NES BITT      LORRAINE                 NC         12004366167
63535498251354   DENNIS        DOANE                    OH         90012154982
63536437855975   ANDRES        ATRISCO                  CA         90015474378
63536787651354   LEAH          SAVAGE                   OH         90009267876
63537849955975   JORGE         MUNOZ                    CA         90011428499
63538458455977   SANDRA        PARRA                    CA         90002084584
63538995581631   CAROL         BARTFIELD                MO         90002939955
63541115184392   SCOTT         WILDER                   SC         19027181151
63541522171968   TEKPASSAGA    SIMTAYA                  CO         90014155221
63543635561936   JASON         PROTHRO                  CA         90009346355
63543693455975   AVEDELIA      BERNABE                  CA         48053766934
63544667541261   KRISTYN       KELLY                    PA         51000456675
63545425671976   NANCY         ARMIJO                   CO         38009564256
63545628863646   BRIAN         DIAL                     MO         27587936288
63549428557549   ERIC          TALAMANTES               NM         90014324285
63549534163646   JEANNETTE     COLEMAN                  MO         90004265341
63551852561936   GLORIA        CEJA                     CA         46059448525
63552932163646   ANDREA        ESTRADA                  MO         90011869321
63553321671976   CHELSEY       CARDENAS                 CO         90009763216
63555279191549   RIVERINO      ESTRADA VARGAS           TX         90010332791
63555728155977   RHONDA        ABENIDO                  CA         90014577281
63557658485953   NIETTA        FRAZIER                  KY         67009676584
63557751457538   DAVID         RIOS                     NM         90007307514
63558197563646   NANCY         LOUCKS                   MO         90002571975
63559516384392   OLIVIA        RUIZ                     SC         90009455163
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63562472351354   DARLENE      WILSON                    OH         90013544723
63563972184392   CAITLIN      BRINTON                   SC         19013879721
63566811171976   AUDESIA      CHERRY                    CO         38017868111
63568196641261   MARKEYA      WILLIAMS                  PA         90011421966
63568553563646   LYNN         WERNER                    MO         90014805535
63568565355973   RUDY         JIMENEZ                   CA         90004565653
63569356361936   JOHN         SAHLIN                    CA         90010353563
63571521955941   ARAGON       RAMIREZ                   CA         90012375219
63572149263646   MARIE        DEES                      MO         90014891492
63572683584392   REGINA       BUTTER                    SC         90012596835
63572961181631   ALONSO       PENA                      MO         29018159611
63573884171976   ESPERANZA    GONZALES                  CO         38013428841
63573943961558   DEZIN        MORRIS                    TN         90015449439
63574154763646   WILLIAM      BRITT                     MO         90013931547
63574853784392   LASHAWNDA    BROWN                     SC         19092238537
63574884391522   ABRAHAM      MEDINA                    TX         90000558843
63574918731453   TERRY        MOORE                     MO         90009989187
63575175963646   RAUL         RAMIREZ                   MO         90014381759
63577641355977   AIOTEST1     DONOTTOUCH                CA         90015116413
63578111591549   DOLORES      OJEDA                     TX         90009471115
63578348284392   MELVIN       BOWENS                    SC         90014603482
63578543461936   ANA LADY     RESENDIZ                  CA         90013105434
63578721451354   JUAN         MONTALVO                  OH         90011577214
63579826961936   NANCY        SANDOVAL                  CA         46069228269
63581658181631   KAITLYN      BARANEZ                   MO         29035606581
63581949271976   JAMES        BUENO                     CO         90003339492
63583799525236   LAKHDAR      BENLERNEB                 NC         90012187995
63584316263646   KEVIN        DEBRECHT                  MO         90014133162
63584698651354   HAYLEE       COUSINO                   OH         66005966986
63584761255973   RHONDA       BAGBY                     CA         90013627612
63585681681645   DEBRA        MECLAIRE                  MO         90003286816
63588154955975   LUIS         SOLIS                     CA         90015141549
63591676855977   RANDELL      HELSEY                    CA         90012896768
63592229991957   COLETTE      LOPEZ                     NC         90006392299
63593377691857   GORGIE       MCNAC                     OK         90012363776
63593546757538   ASHLIE       HERNANDEZ                 NM         35506485467
63594467155973   JUAN         GARZA                     CA         90010764671
63595265761964   OSVALDO      DIAMANO                   CA         46056862657
63595587471968   MICHAEL      BALDWIN                   CO         90005445874
63597884155973   HERBERT      MYLES                     CA         90007398841
63598114781644   DONNA        HOWE                      MO         29064811147
63598621331453   BIRDIE       GROSS                     MO         27582846213
63598884171976   JOSEPH       CHAVEZ                    CO         90011808841
63599822551354   JAMIE        PERRY                     OH         66050218225
63611451233698   RICARDO      ENCISO                    NC         90014484512
63611831271921   CHRIS        HORN                      CO         32007988312
63612411661964   JOSE         LUNA                      CA         90014584116
63613376961924   LELAND       LITTLETON                 CA         90010663769
63614773155975   ZULEMA       ANDRADE                   CA         90010137731
63615184361964   MARI         TORRES                    CA         90008431843
63615218181644   MISS         CLEO                      MO         29060242181
63615985491522   YESSICA      MORALES                   TX         75000199854
63616651655975   CLEMENTE     DIAZ                      CA         90004836516
63616772755973   ADAN         SANCHEZ                   CA         48087577727
63616977561964   VILLAR       JACK                      CA         46030039775
63618817555977   KAREN        GILL                      CA         90013328175
63619928331453   KIERRA       VAUGHN                    MO         90014259283
63621277771968   MELISSA      GREENLEAF                 CO         32043942777
63622376341261   SAMANTHA     WITHEROW                  PA         51096493763
63622553563646   LYNN         WERNER                    MO         90014805535
63623631933698   JUSTINA      WILLIAMS                  NC         90012936319
63624973891549   MANUELA      VALDEZ                    TX         90014419738
63625551591522   RICARDO      DELGADO                   TX         90014265515
63627195333698   PORSCHE      JETER                     NC         12010031953
63627524271968   CRYSTAL      JACK                      CO         90002265242
63628344191522   CESAR        DIAZ-GUILLEN              TX         90007243441
63631619355977   OCIEL        ESCOBAR                   CA         90002756193
63634679131453   CAROL        BECKER                    MO         27527176791
63634995581631   CAROL        BARTFIELD                 MO         90002939955
63636938191549   YVETTE       OCHOA                     TX         75077739381
63637167555973   ROSHANDA     SMITH                     CA         90007781675
63639378951354   CLAUDIA      SEGOVIANO-ESTRADA         OH         90012583789
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63639617961936   VICTORIA     LLAMAS                    CA         90010786179
63641261363646   DAVID        HAMMACK                   MO         90010052613
63643797131453   MARGARET     AKINS                     MO         27550787971
63643813771968   MARVIN       HOSTETLER                 CO         90013258137
63644486255975   NANCY        GONZALEZ                  CA         90015324862
63644667584392   STACEY       FAVORS                    SC         19045976675
63644769391599   MARIA        PALOMINO                  TX         90012177693
63645423825236   ANGELINA     LARA                      NC         90000284238
63647665863646   CORY         FETSCH                    MO         90011236658
63647897481644   TANEISHA     BRICE                     KS         29088268974
63648284871968   ZACH         POSIK                     CO         32007492848
63648318991525   ALMA         VALADEZ                   TX         90011823189
63648576371976   KIM          HAMLIN                    CO         90010795763
63648979161964   KEVIN        MASSEY                    CA         90012889791
63652224155973   MARCO        SPINDOLA                  CA         90015142241
63652328571968   NICHOLE      DORN                      CO         32069893285
63652492884392   PATRICK      FLOWERS                   SC         90014734928
63652634981631   ANGEL        PAREDES                   MO         29021096349
63653568791522   MELINDA      AHORTALEJO                TX         90010025687
63657315784392   SHERRY       KNIGHT                    SC         90014373157
63657717155977   MARTAIN      JORDAN                    CA         90012567171
63658814855977   HERMAN       STOUT                     CA         90015268148
63659573861936   ALEXIS       WARD                      CA         90014005738
63662679271968   TOYAN        WILLIAMS                  CO         32009236792
63663664741257   YOLANDA      WYCHE                     PA         90009706647
63664142471968   MELINDA      SAUNDERS                  CO         90014501424
63664537655973   MARIA        DEORIJEL                  CA         90010255376
63665783163646   JILL         BRUNE                     MO         90000817831
63665879831453   NATHAN       DUNCAN                    MO         90011178798
63667242684392   DANIELLE     CHARTRAND                 SC         90014892426
63667392661964   KETTELIE     SAINTELIASLAVOILE         CA         46061883926
63668712563646   KENNY        FETSCH                    MO         90014937125
63669912455977   NORA         HERRERA                   CA         49076549124
63671318433698   TOMEKA       PRICE                     NC         90014113184
63671744831453   BERNITA      BOLDEM                    MO         90001877448
63672327161964   KAREN        MONTOYA                   CA         90012883271
63674132181631   LYNN         VOLK                      MO         90002941321
63675133141292   FRANCIS      DICKERSON                 PA         90008421331
63675479155977   DARLENE      HOLLAND                   CA         90013104791
63676336591522   JESSICA      MENDOZA                   TX         75043973365
63676719955973   VANESSA      ACOSTA                    CA         90014067199
63676755955975   JULIE        VASQUEZ                   CA         90015027559
63677174155977   LEMUEL       MORALES                   CA         49023141741
63677874993728   JOE          KREITZ                    OH         90010078749
63679334761987   FELIPE       ESPINDOLA                 CA         46081393347
63682511391549   REBECCA      MARRUFO                   TX         90000125113
63683228184392   TAMMY        PRINGLE                   SC         90006662281
63683796771968   ANTHONY      JONES                     CO         90009147967
63683963261422   DARCHAE      BURLEY                    OH         90014249632
63684727155973   VICTOR       GONZALEZ                  CA         90010337271
63684877384392   MICHELL      PANGBURN                  SC         19072558773
63684877961987   DINAH        PURCELL                   CA         90010938779
63685454861964   DAVID        ERDMAN                    CA         90013564548
63685917271976   VALERIE      LIRA                      CO         38009579172
63686622255977   MARY         GARCIA                    CA         49034396222
63686869184392   TRACEY       SIMS                      SC         19093758691
63687931257538   CORINA       HURSEY                    NM         90005729312
63688257255977   MANUEL       GARCIA                    CA         90007782572
63688543871968   ROBERT       ROCHA                     CO         32096105438
63688737555977   MIKE         GARZA                     CA         90013907375
63689951771968   KRISTA       KELLY                     CO         32099479517
63691553171968   PAUL         GILLBERT                  CO         90014225531
63692482155977   PAULA        OVERSON                   CA         90013054821
63693739531468   JUSTIN       PATTON                    MO         90009917395
63694566331461   TERIKA       WORTHY                    MO         90014845663
63695972163646   KIM          SCHMIDT                   MO         90014179721
63696641631587   DANIEL       NAGY                      NY         53090636416
63698487255975   JAIME        MACIEL                    CA         90010684872
63699325155973   GEORGIA      GUTIERREZ                 CA         48038833251
63699664957538   DAVID        IGNACIO                   NM         90005016649
63711949851354   ASHLYN       EDELMAN                   OH         90010479498
63713327751354   MARIA        CREECH                    OH         66084213277
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63713555163646   ELIAZER      RAMIREZ                   MO         27500605551
63714313391549   MAYELA       REYNA                     TX         75075683133
63714534761936   MARIA        NEVAREZ                   CA         90011315347
63714884463646   CHACE        THIES                     MO         90012338844
63715724971968   MIKEL        SHANE                     CO         90013687249
63715873991522   MARTHA       RAYMOND                   TX         90008798739
63717443491549   PAMELA       IBARRA                    TX         90012294434
63719189161936   RAMON        REYES                     CA         90009911891
63719456191522   ANA          HUGHES                    TX         75075294561
63721279555973   MARIA        ACEVES                    CA         90007782795
63721415233698   GREGORIO     AGAMA                     NC         90014974152
63722969291549   ANGELICA     MARQUEZ                   TX         90010939692
63723567971968   YESICA       PRIETO                    CO         90013785679
63723775671976   DARNELL      JONES                     CO         38088927756
63723919791549   JOSE         ESPARZA                   TX         90012929197
63724742991549   ESTHER       CARDENAS                  TX         90001457429
63725315655924   ELIJAH       WILKINS                   CA         90012463156
63726458761964   RODRIGO      AYALA                     CA         90005614587
63727972155975   ISIDRO       MARTINEZ                  CA         48012869721
63729965951354   FRANCISCO    VILLATORO                 OH         90006889659
63732915741261   SAMANTHA     UTLEY                     PA         51000469157
63735418855973   FAVIOLA      RUIZ                      CA         90009814188
63735642955973   JENNY        RAMIREZ                   CA         90010956429
63735758971968   NEILA        ZANGANEH                  CO         90011917589
63736572291549   ROSA         LOZANO                    NM         75043825722
63737341481631   LUIS         SANCHEZ                   MO         29004673414
63737433257538   JUAN         PRIETO                    NM         90010334332
63738966271968   TOBICS       DIXON                     CO         90010659662
63739567981644   EARL         MACK                      MO         90003505679
63741748655935   RAMIRO       SANDOVAL                  CA         90003227486
63741853871968   RAMON        CHAVEZ                    CO         32073218538
63744139884392   PAMELA       JONES                     SC         19028741398
63744565372498   JESSE        YOCUM                     PA         90008145653
63744719425236   LETISIA      MUNOZ CANO                NC         90012037194
63746914731453   JUAN         MIJANGOS                  MO         90011179147
63747943584392   MARIA        SWEET                     SC         90004999435
63748988831453   LAKEISHA     DAY                       MO         90010939888
63749624151354   ROBERT       BATES                     OH         90013006241
63753146957538   MARICELA     RODRIGUEZ                 NM         35548571469
63753486661936   MIREYA       COVARRUBIAS               CA         46068174866
63753795191549   JOSE         SEGOVIA                   TX         75092527951
63753924955981   MARCHELL     MOORE                     CA         48089179249
63754346684392   ANIBAL       RIVERA                    SC         90014373466
63754489961964   MARGARITA    SANDOVAL                  CA         46044464899
63754849291522   EMMANUEL     PENA                      TX         75012108492
63755334791522   THANIA       QUINONES                  TX         90011803347
63755552884392   JOSE         RAMIREZ                   SC         90011485528
63758268984392   CHARLENE     CHMABERS                  SC         90013982689
63759957255977   ESTHER       RODRIGUEZ                 CA         90013869572
63762964155977   ARMANDO      BALBOA                    CA         90008009641
63763447861964   LEVI         UELI                      CA         90015144478
63763761757563   DONALD       BROWN                     TX         35513527617
63763963985946   TIA          MORGAN                    KY         66039389639
63764121851354   CAMERON      COLEMAN                   OH         90014351218
63766173893792   DAVID        HOUSER                    OH         90009531738
63766888491549   JOSE         RIETO                     TX         90011188884
63768573861936   ALEXIS       WARD                      CA         90014005738
63769134881631   RICK         VANDEVEER                 MO         90001711348
63769633951354   DOMINIC      PEDIGO                    OH         90005316339
63772126571968   PERDRO       PACHECO                   CO         90006461265
63772294133698   SHAKITA      HAIRSTON                  NC         90013152941
63774842361964   YESENIA      CAMACHO                   CA         46036708423
63775313591525   MIRIAM       GARCIA                    TX         90010763135
63777558684392   POOH         BEAR                      SC         90012425586
63777611963646   LAUREN       MITCHELL                  MO         27539206119
63777817571976   RICK         CARLYLE                   CO         38090738175
63778827225236   JESSICA      THORPE                    NC         90012778272
63779137981644   JERONIMO     GOMEZ                     MO         29093551379
63782256331453   SHANIKA      SIMMONS                   MO         90000332563
63784898271976   SAMUEL       HAMMOCK                   CO         90011838982
63786542871968   MICHELLE     NEMEC                     CO         90005235428
63787149671968   AMBER        LANZA                     CO         90012371496
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63787176371976   ABEL         GUERIN III                CO         90014691763
63789424861964   OMAR         BARROSO                   CA         90012634248
63792161955975   FRANCES      BEARDSLEY                 CA         90015331619
63792956884327   TED          DUBS                      SC         90007439568
63793548955975   JOSE         ROBLES                    CA         90014155489
63794674291522   ANTHONY      ALVAREZ                   TX         75002316742
63795614761936   ANTONIA      LARA                      CA         90012616147
63795677357538   VINCENT      MARTINEZ                  NM         90002906773
63795846263646   FOREST       HENRY                     MO         90014668462
63795885761964   EDUARDO      MORALES                   CA         90013698857
63796928891988   TYKEYAH      BREEDEN                   NC         90006869288
63798322591522   DEANNA       STEWART                   TX         75014413225
63811144363646   DAWN         HOWERY                    MO         27540311443
63811642171968   REBECCA      LAWRENCE                  CO         32028266421
63812527391549   SILVIA       SANDOVAL                  TX         75013265273
63814556655977   JOSEPHINA    ZAVALA                    CA         90015205566
63815114591549   LLUVIA       MARTINEZ                  TX         90012661145
63815633261964   AIOTEST1     DONOTTOUCH                CA         90015116332
63816784972446   DIANE        HUNTER                    PA         90002067849
63816971161964   ROSENDA      PEREZ                     CA         90011979711
63816982391549   JAVIER       ARANDA                    TX         75039369823
63817633261964   AIOTEST1     DONOTTOUCH                CA         90015116332
63817849871968   JEREMY       BUHRINGER                 CO         32068278498
63821986855977   CASEY        CASARES                   CA         90001619868
63822378561936   JORGE        FIGUEROA                  CA         90006873785
63822698561936   EDDER        ROBLES                    CA         90011086985
63824337361936   MARIO        MARCIAL                   CA         46050363373
63824586891522   PAUL         JUAREZ                    TX         75087715868
63824757884392   BERSA        DELEON                    SC         90014437578
63824795581671   SCOTT        FIELDS                    MO         29050617955
63825277284392   LUIS         HERNANDEZ                 SC         90012372772
63825872855977   ANDREA       CLAY                      CA         90014938728
63826622791549   EDITH        REYES                     TX         90013216227
63827657341261   ANGELA       GRACE                     PA         90013456573
63829768384392   ALDEN        SHERRILL                  SC         90012867683
63831853255973   MARIA        CERVANTES                 CA         48066238532
63833116751327   LYNDSEY      STEPHENS                  OH         66004981167
63833189155973   SONIA        RODRIGUEZ                 CA         48010411891
63833739255975   MICHAEL      BATES                     CA         90007977392
63837721231453   JASON        FRIEHS                    MO         27585227212
63837961361966   JESUS        MARTINEZ                  CA         90011229613
63837983491549   RICARDO      CASAS                     TX         75014729834
63838646485935   BARBARA      MCDANIEL                  KY         90010716464
63842626881644   BRITTNEY     GADDY                     MO         29041416268
63843876991549   TERESA       RODRIGUEZ                 NM         75040948769
63844126657538   JIMENEZ      OSCAR                     NM         90004261266
63844939471968   SUNDAY       BRODRICK                  CO         90015139394
63847428171968   JEREMY       INGO                      CO         90013584281
63847478851354   CHRISTOPHE   WALLEN                    OH         66043204788
63847932555975   VICTORIA     LOPEZ                     CA         90014849325
63849128331453   JUDITH       HUNTER                    MO         90001311283
63849289255975   XINOG        VANG                      CA         90003272892
63849778955977   LILI         MARTINEZ                  CA         90010227789
63851393663646   MICHELLE     HUGHES                    MO         90006773936
63851713733698   DOMINGUEZ    RICARDO                   NC         12015297137
63853274257538   CRYSTAL      GUZMAN                    NM         90002942742
63853966125236   ADAIRA       ADAMS                     NC         17017369661
63854516755975   VANESSA      MARTINEZ                  CA         90013385167
63854632833698   YESENIA      CHANELO                   NC         90014416328
63855515455975   RENE         CERVANTES                 CA         90008165154
63855562791522   JUAN         DIAZ                      TX         75045705627
63857274257538   CRYSTAL      GUZMAN                    NM         90002942742
63857475871968   DENISE       ESTERGARD                 CO         90013064758
63857495463646   CHRIS        HANNERS                   MO         27589064954
63857496563646   TIMOTHY      REILY                     MO         90014374965
63857613784392   LASHAWNDIA   WAITERS                   SC         19041436137
63858896841261   BRANDI       DESAVAGE                  PA         90007238968
63859316255975   MARICELA     GALLEGOS                  CA         90013963162
63859649371968   SCOTT        KAUFMAN                   CO         90010076493
63863865591522   TITO         PUENTE                    TX         75046948655
63863875255973   JOSELYN      CASAS                     CA         90011978752
63864692455981   IRMA         LOPEZ                     CA         90009786924
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63868686881631   BERNER              MARCARIO           MO         29096406868
63871359391522   MAESE               MARICELA           TX         90012733593
63871578955977   MICHAEL             PAREDES            CA         90011105789
63872146825236   LEONDRO             PEREZ              NC         90015201468
63872463971968   SILVESTRE           AGUIRRE            CO         32095134639
63873273984392   MELESIO             SANCHEZ            SC         90012722739
63874643961964   EDGAR               GARCIA             CA         90015326439
63875174284392   SANTANA             TODD               SC         90012651742
63875195771968   ROBERT              MARTINEZ           CO         90009401957
63875593455977   MELODY              HATCHETT           CA         90010985934
63875722561936   ROBERTO             NAVARRETE          CA         90012887225
63876692371968   ELVIA               LOPEZ-NUNEZ        CO         32055776923
63876856831453   TERRIONA            STARKS             MO         90009828568
63877495391522   BERTHA              CARVALLO           TX         90014994953
63877689871968   STACY               GALVEZ             CO         32042406898
63881877684392   LESLIE              FLOWERS            SC         90013828776
63882424891522   ANDERA              RAMIREZ            TX         90010314248
63882773755975   LEANNA              PHELPS             CA         90012067737
63882794133698   SHMICKA             MCQUEEN            NC         90005147941
63883541255973   ADAN                REGOLLAR           CA         48092215412
63883662461936   ERIKA               HERNANDEZ          CA         46073796624
63884936461964   RODNEY              JERRY              CA         46033049364
63885355391549   ALEJANDRA           GARCIA             TX         75032383553
63886915633698   DENISHA             GALLOWAY           NC         90012329156
63888961961975   JEMMA               RICHMOND           CA         90013249619
63889351591549   IRMA                MARRUFO            TX         90007673515
63889399257549   NORMAND R           PAQUETTE           NM         90012263992
63892229647825   ANTONIO             JACKSON            GA         90002052296
63899653463646   JESSIE              MILLS              MO         90013076534
63899868757538   ONTIVEROS-HERRERA   LIBIA J            NM         90011068687
63911168757538   MARIA               DE LA ROSA         NM         35560701687
63911275461936   LESLIE              MARTIN             CA         46065222754
63912125763646   JUAN                ZARATE             MO         27514391257
63912413261936   OSWALDO             PEREZ              CA         46074914132
63912817255975   BERLINDA            MACIAS             CA         48075398172
63913641355977   AIOTEST1            DONOTTOUCH         CA         90015116413
63913676261964   REID                TABORN             CA         46086456762
63914938671968   PAYGO               IVR ACTIVATION     CO         90015299386
63915244825236   GRAHAM              SMITH              NC         90011862448
63915812181631   TIFFANY             EIDSON             MO         29080828121
63915936533698   EBONY               PETTERS            NC         90009119365
63916156191522   MARIA               FRANCO             TX         75077771561
63916676271968   TAQUIVIA            JOINER             CO         90011396762
63917756461936   MIKE                CARDENAS           CA         90008087564
63917783791549   LOURDES             ALVARADO           TX         90001567837
63917974961964   TANISHA             FLANAGAN           CA         90013049749
63918351784392   NIKITA              MANIGAULT          SC         90014933517
63918779291522   GRACIELA            PADILLA            TX         75071477792
63919489951354   GENE                MACKEY             OH         90015444899
63919968284392   ANTHONY             CORTES             SC         19064829682
63921356157538   MARIA               HERRERA            NM         90004263561
63922165961964   MICHELLE            CARTER             CA         90008421659
63922714291599   ELVIA               ROSALES            TX         90009377142
63922987951326   IAN                 BURTON             OH         90011159879
63924114984392   SHANIKA             EASTER             SC         90015161149
63924614991549   JAMES               HORNER             TX         90013206149
63924989455973   JESSICA             JIMENEZ            CA         90013129894
63925926691549   TITO                SANCHEZ            TX         90012819266
63926164991549   ALBERTO             ESTRADA            TX         90010741649
63926531951354   TIERRA              SANDERS            OH         90012785319
63926927171976   STEPHANIE           AMBRIZ             CO         38046729271
63926945755932   TERRON              NOLAN              CA         90007209457
63927214471976   MELISSA             CASAREZ            CO         90000542144
63927394791534   JULIO               GUAVARA            TX         90008283947
63928985961936   AUSTIN              OTOOLE             CA         90013899859
63931388493726   LARONDA             GREEN              OH         90001283884
63931924561964   JUAN                DONATO             CA         90007499245
63932567391522   LILIANA             GARCIA             TX         90014995673
63935373125236   JAQUEZ              HARGETT            NC         90013343731
63935468461936   DIANA               RIVER              CA         90005084684
63935537355975   MONICA              CORONA             CA         90015175373
63936493955977   ALBERTO             ORTIZ              CA         90012054939
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63937452733698   JACKIE             HALLETT               NC       12057954527
63937778855973   MARCELLA           JIMENEZ               CA       90010137788
63938652291522   DELIA              GUERRERO              TX       90003456522
63939697991534   MARIA              GUDINO                TX       90008196979
63942569271968   STEVEN             KRAFT                 CO       32013735692
63944277155977   SALUSTIA           MARTINEZ              CA       49041622771
63944995463646   TIMOTHY            JANDA                 MO       27568119954
63945582263646   BRENT              FERRILL               MO       90008635822
63945938684392   NECOLETTE          GRANT                 SC       19053649386
63947332481644   LATOYA             GOODWIN               MO       90011563324
63948372825236   MARIA DEL CARMEN   LEZAMA MEDEL          NC       90012873728
63948571151354   ELISA              VASQUEZ               OH       90009275711
63948829351354   CONSUELO           REYES                 OH       66024758293
63948914161936   JASON              FRANCO                CA       46096399141
63949714931453   NICOLE             ROBINSON              MO       27508337149
63949841471968   KIMBERLY           CONNOLLY              CO       90008858414
63949845884392   VERNON             TOWNSEND              SC       90000928458
63951571371968   KATHY              MAU                   CO       90012485713
63952114363646   DAVID              RUFKAHR               MO       90009171143
63954316691549   ANIVAL             ONTIVEROS             TX       90015013166
63955141255973   JOSE               SANTILLAN             CA       48015241412
63955249491527   IRMA               CARRASCO              TX       90013262494
63955392255975   MARIA              ESCALERA              CA       90009133922
63956663455975   MARIO              CISNEROS              CA       90004686634
63957584171968   JAMES              WOODRING              CO       32049635841
63958261881631   BRIAN              DENNIS                MO       90001652618
63958358386435   LARRY              RANDOLPH              SC       90014113583
63958671581644   DONNA              WEIR                  MO       90006766715
63958831661964   MARI               GARCIA                CA       46072528316
63958954725236   BERNARD            ROBERTS               NC       90013659547
63959392991549   EDUARDO            GARCIA                TX       90002073929
63961432163646   ROBERT             MILBERG               MO       27503374321
63963596571968   BRENNAN            TRASS                 CO       90014665965
63963857851354   BENJAMIN           PETERSON              OH       90013088578
63964716651354   CHARLIE            SHEEN                 OH       90000947166
63965697171968   ANGEL              SANCHEZ-TORRES        CO       32058346971
63967261955977   CHELSIE            DCHINEN               CA       49066732619
63968456961936   KARLA              WOO                   CA       90014814569
63969649963646   BARBARA            DISHMAN               MO       90014816499
63971288571968   SIUSAN             FRENCH                CO       32017862885
63973373655977   RACHEL             VALDIVIA              CA       90014823736
63974813251354   TONY               POWELL                OH       90011258132
63975427184392   ROSA               ROBINSON              SC       90013764271
63975624363646   KATHY              STEELE                MO       90011276243
63976759971968   ZINNAH             DOWAH                 CO       90013787599
63978923355975   SARA               VALDEZ                CA       90001029233
63979921757549   SAMANTHA           BORUNDA               NM       90012149217
63982542555977   GARY               CROSS                 CA       90007935425
63983361331453   KELSEY             READ                  MO       27579783613
63983473563646   ALEXANDER          SCHAPER               MO       90012924735
63985266563646   PAYGO              IVR ACTIVATION        MO       90012522665
63985786961936   WILLIAM            COLGATE               CA       90005097869
63985857971976   IDA                CASIAS                CO       38022218579
63986879381644   TARENCE            MADDOX                KS       29040868793
63987257851354   SALVADOR           PEREZ                 OH       90008572578
63988575255977   EDWARD             GONZALES              CA       90012455752
63991626184392   SHANTA             GREEN                 SC       90002346261
63991928655977   KOLTEN             KEENEY                CA       49049059286
63992195155973   CHANTAL            GONZALES              CA       48096781951
63992492955977   KHU                YANG                  CA       49032954929
63993133461936   JOHN               QUINN                 CA       90014211334
63994178851354   MICHAEL            TURNER                OH       90012751788
63994294555975   ROSALBA            LOPEZ DE VILLAGOMEZ   CA       90015162945
63994641355977   AIOTEST1           DONOTTOUCH            CA       90015116413
63995747955973   MARIANA            CHIMEO                CA       90012007479
63996818291522   YVETTE             AGULLAR               TX       90003118182
63997251555975   SORIDA             MACARIO               CA       90009922515
63997676271968   TAQUIVIA           JOINER                CO       90011396762
63998248633698   MALCOLM            HINTON                NC       90013122486
63998641955977   AIOTEST1           DONOTTOUCH            CA       90015116419
63999479592836   ADOLPH             KLATT                 AZ       90014014795
63999719663646   EDWARD             SANDERS               MO       90013097196
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64111297555973   BLANCA       FLORES                    CA         90002232975
64112519371968   BIVINS       WALTER                    CO         32086895193
64113328355973   ANGEL        ARTEAGA                   CA         90009553283
64115193257555   JUDITH       CHAVEZ                    NM         90011941932
64115324181675   DREW         BRYAN                     MO         90013863241
64116431155977   MATHEW       DART                      CA         90013384311
64116536691522   JORGE        JUAREZ                    TX         90001575366
64118986257555   MARLO        FLORES                    NM         35591479862
64119164455975   ROCIO        CHAVEZ                    CA         90013461644
64119275385689   BRAULIO      FRIAS                     NJ         90011162753
64119867191562   ROBERTO      DOMINGO CHASCO            TX         90013028671
64121174491562   IVONNE       MENDOZA                   TX         90010781744
64121363461964   IVAN         RODRIGUEZ                 CA         90011843634
64121849891562   MAGDALENA    RODRIGUEZ                 TX         75045248498
64121915351338   LAUREN       HUTCHINS                  OH         66035479153
64125182557555   JOSUE        PONCE                     NM         90013781825
64125979251338   LARRY        MORGAN                    OH         90015569792
64126467755975   ABRAHAM      MARTINEZ                  CA         90014584677
64126619861964   DENNIS       VEGA                      CA         46085856198
64126914781644   RAMON        WILLIAMS                  MO         29055229147
64127492551338   AMY          PLEIMAN                   OH         90013194925
64127967255973   ERICK        QUEZADA                   CA         90010839672
64128434485886   DAVID        ARROYO                    CA         46017244344
64129381131453   MAMADEE      SHERIFF                   MO         90001333811
64129931163646   LINDA        VOLPE                     MO         90013479311
64132142884392   SHONE        GREEN                     SC         90014651428
64132699985886   JESSENIA     AREVALO                   CA         90004826999
64132742691998   EDUARDO      PALACIOS                  NC         90007797426
64132941171968   CHERISHA     GALLEGOS                  CO         90014849411
64134527691998   KORY         BYRD                      NC         90002875276
64135479691998   BRITNEY      BROWN                     NC         90012144796
64135634963646   VIRGINIA     PITSCHNER                 MO         90004816349
64136331771968   BILL         NANCE                     CO         90004683317
64136528881675   CHRIS        ICENOGLE                  MO         90007125288
64136753855973   SARA         PITTS                     CA         90008887538
64138536363646   ASHLEY       LAUTH                     MO         90015485363
64141558351384   ELIZABETH    TOWNSLEY                  OH         90010445583
64142213661964   MATHEW       EARLE                     CA         90004362136
64142626955977   JUAN         MEDINA                    CA         90002166269
64143467985689   JOHNNY       VELASQUEZ                 NJ         85021314679
64144385981644   SHERL        LEWIS                     MO         90014713859
64144491557555   JESUS        DELGADO HERRERA           NM         90014354915
64144764331453   ANDREW       FOAST                     MO         90009587643
64145399751337   DEVIN        BALES                     OH         90015093997
64145828391998   STACEY       AGUIRRE                   NC         90012868283
64146257691522   MARGARITA    GUTIERRES                 TX         75026292576
64146431361964   VERA         CARILLO                   CA         46055354313
64146783184392   TUNISIA      BRYANT                    SC         90013017831
64147195984392   SUSAN        BENJAMIN                  SC         90014691959
64147461385886   PAYGO        IVR ACTIVATION            CA         90012544613
64148277555973   ALEJANDRO    ZAMORA                    CA         90010812775
64148923491522   MONICA       AGUILAR                   TX         90002039234
64148956391998   NATISHA      HALL                      NC         90005499563
64148964491562   MOISES       GONZALEZ                  TX         90010199644
64149496261936   OMAR         MENESES                   CA         46067234962
64152498751337   EMILY        FARTHING                  OH         90007744987
64152697461931   ARMANDO      MACIAS                    CA         90012326974
64156525671968   ARIAYANNA    WILSON                    CO         90012945256
64156568863646   DARREN       MCGILL                    MO         27517855688
64157443291522   CARMEN       CERECERES                 TX         90008764432
64157843561936   DORA         CANO                      CA         90004528435
64159741261961   NEQUEY       CASTRO                    CA         90009347412
64161454191363   CAROLINA     BERROA-CARRASCO           KS         90011624541
64161718255975   CHRISTINA    TORRES                    CA         90015447182
64161938885689   JUSTINA      VARGAS                    NJ         90015029388
64162178481675   PAUL         BLISS                     MO         90003521784
64162427691599   YAMILI       REYES                     TX         90010124276
64162431271968   TIMOTHY      GRAND                     CO         90014604312
64162467755975   ABRAHAM      MARTINEZ                  CA         90014584677
64162834561961   TEO          CORTES                    CA         90009418345
64162992355973   SYLVESTER    GOMEZ                     CA         90010839923
64162995185689   SHARON       BARBAR                    NJ         90014809951
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64163252255973   KRISTA       MACARENO                  CA         90002092522
64163261757555   ISELA        JAQUEZ                    NM         90003442617
64163699284392   MARIA        SANTANA                   SC         90013216992
64164112891998   KIMBERLY     WISE                      NC         90009381128
64164267857555   JUAN         MUNOZ                     NM         35550492678
64164342381675   MARK         QUINN                     KS         90005883423
64164722155975   JUAN         MORENO                    CA         90015487221
64165268181644   LACINDA      REESE                     MO         29053252681
64165995784392   CHEROKEE     DEWEY                     SC         19025159957
64167112557555   STEPHANIE    AVITIA                    NM         90001811125
64167922681675   MARCUS       ROBINSON                  MO         90008209226
64168122161936   RUSSELL      WILHELM                   CA         90014861221
64168761261961   KHALIDA      KARAAK                    CA         90013007612
64168773825236   WYLLIE       CUMMINGS                  VA         90007807738
64169168861936   VICENTE      HARA                      CA         90012161688
64169931341261   ALEXANDRA    ZEPIC                     PA         51001929313
64171449657555   ESTEBAN      CORRAL                    NM         90008394496
64172792485886   NICK         NANNA                     CA         90012857924
64173824261964   JORGE        RODRIGUEZ SANTOS          CA         90008898242
64174185155973   MARTIN       AGUILERA                  CA         90004061851
64175115363646   ERIC         STREET                    MO         90010971153
64175125855973   DANNY        VALENCIA                  CA         90010001258
64175199691572   MYRA         CARRILLO                  TX         90009181996
64177128131456   CHARLES T    HIGGINS                   MO         27551391281
64177849784392   CHALONDA     GOSS                      SC         90011538497
64178279955973   JOSH         RODRIGUEZ                 CA         48007752799
64179239955975   ANGEL        SUCCAW                    CA         90002972399
64179433171968   ISIDRO       GONZALES                  CO         90015274331
64181173971968   ENOCH        VINING                    CO         90007891739
64181328781644   ERIONNA      KELLY                     MO         90011833287
64181942491562   GABRIEL      REYES                     TX         90012129424
64182196361964   JANELLE      GARELA                    CA         90012301963
64182973884392   ENRIQUE      SOLANO-LARIOS             SC         90013139738
64182997371968   LOURDES      HERRERA                   CO         90012089973
64183963361964   IRENE        LOPEZ                     CA         90003909633
64184364855975   EDGAR        GUERRA                    CA         90001033648
64185247391562   BRIAN        BANDA                     TX         90013302473
64185775685689   URIEL        VELASQUEZ                 NJ         90010937756
64187245481644   CHRYSTAL     BURTRUM                   MO         90006632454
64187537161964   LAFS         ONE                       CA         46035185371
64188688491522   IRIZ         MICHELLETTI               TX         75024076884
64188822485886   DANIEL       RIOS CHAVARRIA            CA         90014158224
64188838484392   LATOYA N     GREER                     SC         19050108384
64189227961964   SARRARIO     HERRRERA                  CA         90010672279
64189233763646   DONTE        STEELE                    MO         90012642337
64191163181675   KESHA        EVANS                     MO         29059391631
64191658355975   ISELDA       GARCIA                    CA         90013856583
64192444657555   RUBEN        BUSTILLOS                 NM         90014804446
64193433391998   LAKEISHA     LAWRENCE                  NC         90004254333
64193483255977   DALILA       GONZALEZ                  CA         90007024832
64194583955975   KELLY        HOPKINS                   CA         90009665839
64195479961936   JOHANNA      DIAZ                      CA         90014764799
64195935457555   LETICIA      ENRIQUEZ                  NM         35535219354
64196247855977   EMILINDA     WILSON                    CA         90014002478
64196561685689   STEVEN       ALVAREZ                   NJ         90014235616
64197122851338   PABON        MORALES                   OH         66072971228
64197283591562   RAUL         CAMPOS                    TX         75087952835
64197485371968   NICOLE       MINER                     CO         32016944853
64197973581644   MELISSA      WEST                      MO         29000879735
64198215231453   SHARAYE      TERRELL                   MO         27575862152
64198283491522   MANUELA      GONZALEZ                  TX         90001662834
64198356691527   CLAUDIA      REYES                     TX         90011593566
64198674341261   DANNISE      GARNY                     PA         90006146743
64211579151338   LIDA         REDDEN                    OH         90009645791
64211764161936   EMANUEL      CORTEZ-ROBLES             CA         90013857641
64211945857142   THIERRY      AKINOTCHO                 VA         81005269458
64213478881675   RYAN         ALLEN                     MO         90011924788
64213748785886   ELLIE        EDELMIRA                  CA         46036947487
64214122555975   ADRIAN       MONTGOMERY                CA         90010991225
64214664381675   JESUS        FIERRO                    MO         29032566643
64215489255973   KARINA       FLORES                    CA         90012264892
64215879655975   PATRICIA     SERVANTEZ                 CA         90008468796
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64216728261936   HOMERO       VILLA                     CA         90014167282
64217359661936   MARIA        ABREGO                    CA         90006873596
64217863251338   HICKS        J                         OH         90011178632
64219146651338   BRITTANY     STEVENS                   OH         90015071466
64219985684392   ALTHEA       BROWN                     SC         19022209856
64221778381644   DAN          MAJORS                    MO         90014897783
64222124833698   ANTHONY      WILLIAMS                  NC         90013591248
64223639684392   VALDOMIRO    PRUDENCIO                 SC         90012066396
64224655761964   PABLO        CHAN                      CA         90007386557
64225555755977   YOLANDA      CRUZ MANZANO              CA         49027205557
64225969451338   MISTIN       FINK                      OH         90014569694
64226113331453   ELIZABETH    BROWN                     MO         27583161133
64227626557555   WILLIAM      ROBINSON                  NM         35563726265
64228321984392   MARY         SMITH                     SC         90014613219
64228477871968   NICK         GARY                      CO         90011304778
64228832954124   SARAH        YOUNGER                   OR         90013788329
64228996163646   LYNNETTE     SHELTON                   MO         90013619961
64231497791861   JODI         BECHTOLD                  OK         90014804977
64231554381675   JOELL        GARRETT                   MO         90013415543
64231941485886   CORINA       CASTILLO                  CA         90010399414
64232258971968   CHANDRA      WHETLEY                   CO         90014292589
64233774985886   BAILI        ZHANG                     CA         90014727749
64234339233648   ROBERT       DAWNEY                    NC         90011763392
64235451931453   MIKE         SMITH                     MO         90002454519
64236218155977   ALEXANDER    JAVIER                    CA         90012302181
64236234285886   CRISPINA     ASID                      CA         90012972342
64238163451337   LONNIE       JACKSON                   OH         90013831634
64239232555977   AIOTEST1     DONOTTOUCH                CA         90015122325
64239311651337   JANET        SCHNECKER                 OH         90013933116
64239419455977   DUSTIN       HAYES                     CA         90014744194
64239639957555   ADOLFO       FAVELA                    NM         35583866399
64241252163646   CHASTITY     BRELSFORD                 MO         27587612521
64241743481644   RENEE        STOVALL                   MO         29039717434
64243149285886   JULIAN       CHAVEZ                    CA         46004521492
64244659985689   ALBERTO      SANJUAN                   NJ         90015336599
64244826271968   SEAN         BULLARD                   CO         90014448262
64244995485886   CESAR        TORRES                    CA         90013009954
64246434291998   PAUL         VANNOORT                  NC         90014774342
64246753855978   MICHELLE     MONTOYA                   CA         90003507538
64247484955935   JULIE        LAFLEUR                   CA         90006404849
64248795961961   TABRIZ       RAIMEY                    CA         90006047959
64249222461964   ROBIN        VICKERY                   CA         46064102224
64249982855973   CARLOS       PINTO                     CA         90012429828
64251192561964   DANA         ADDERLEY                  CA         90014811925
64252298263646   JESSICA      MALIN                     MO         90014722982
64252413931456   TERRANCE     CARTER                    MO         90008394139
64252571877538   MARLA        GREENE                    NV         90014435718
64253678871968   PETER        MAISEL                    CO         90014666788
64255365581644   JANAESIA     WRIGHT                    MO         90011083655
64255444857555   RASHAWN      GARCIA                    NM         90010944448
64255492463646   MATTHEW      BAUER                     MO         90013494924
64256874784392   DOMINICK     GRAHAM                    SC         90000718747
64257282161936   CARLOS       MUNGUIA                   CA         46039182821
64257744861936   LUZ          MEDINA                    CA         90013307448
64259872355977   KAM          SRIMALA                   CA         90013768723
64262351671968   SHANELLE     MONTEZ                    CO         90010663516
64264752291998   LAKENYA      CAMPBELL                  NC         90008157522
64266821551337   HARRY        FIELDS                    OH         90012528215
64266862371968   DAVID        WHITCOMB                  CO         32067208623
64267312661964   FALINA       ZEPEDA                    CA         46020833126
64268186391998   REINAI       SOTO                      NC         90011731863
64269112485689   PEDRO        CRUZ                      NJ         90011021124
64271179585886   ALMEZ        ROOZBAHAN                 CA         90014181795
64271757191998   MARICELA     VARGAS                    NC         17055437571
64271835155975   PAYGO        IVR ACTIVATION            CA         90007638351
64272377385886   ELBER        ZATARAIN                  CA         90014393773
64272426451338   TERESA       GUEVARA                   OH         66012114264
64272757751337   TAVON        BEASLEY                   OH         90013667577
64273247791522   TANIA        FLORES                    TX         90010952477
64273498961936   BARBARA      SUMMY                     CA         90013814989
64273551891998   MICHAEL      PERSON                    NC         90012305518
64275917561936   URIEL        FRUTOS                    CA         90014889175
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64276156955973   TYLER        SHIPMAN                   CA         90014641569
64276511361936   SAENGTHANG   VANGSA                    CA         90014765113
64277934891522   PRISCILLA    JENNINGS                  TX         75046649348
64278911455975   AGEDA        PEREZ                     CA         90008629114
64279124963646   DARRIS       SPILKER                   MO         90015051249
64279578791562   ANA          PEREZ                     TX         90013385787
64283233951338   JAIRO        LOPEZ                     OH         90014772339
64283766451337   BRANDON      SCOTT                     OH         90004647664
64283851385886   LEIDY        GONZALEZ                  CA         90012338513
64284285951337   OLIVARES     TOMAS                     OH         90014292859
64284595955975   ANDREA       LOPEZ                     CA         90014615959
64285797851338   KEIN         KIDD                      OH         90014857978
64286999231453   KERMIT       SUMMERS                   MO         90008529992
64287349351337   JOSEPH       HARTMANN                  OH         90014353493
64287921984392   JOHN         MCCONNELL                 SC         90012659219
64288245485886   TIARA        BELCHER                   CA         90014732454
64289474184392   CHRISTINA    MCCONNELL                 SC         19049224741
64291457191998   LEKISHAN     BATEMAN                   NC         90012884571
64293653541261   BRANDON      WHITE                     PA         51018306535
64294252981644   REGINALD     DAVIS                     MO         90009742529
64294767157555   CHARLOTTE    MAYNES                    NM         90008887671
64295255481675   AMANDA       MADDOX                    MO         29056682554
64295755451331   ANTHONY      QUINN                     OH         90004227554
64295836785689   TOMAS        LOPEZ                     NJ         90005168367
64297783881644   NICK         LAUCK                     MO         29049867838
64299326981644   SEAN         MCINTOSH                  MO         90014153269
64299485355975   ANQELICA     RAMOS                     CA         48096674853
64311546561964   MIRIAM       LOPEZ                     CA         90011515465
64313155151338   DARREN       CRIPE                     OH         90009871551
64313879757123   JOSE         AMAYA                     VA         90009218797
64314659157555   LEXI         PARRA                     NM         90007236591
64315198461964   MANUEL       RUIZ                      CA         90012321984
64316593291522   NLEMCHUKWU   OSITA                     TX         90002905932
64316832257555   ANGELICA     LEDEZMA                   NM         90011138322
64317657331453   TONYA        DEDEAUX                   MO         27511666573
64318544457555   LUCILLE      BENAVIDEZ                 NM         35540365444
64319296355977   PRISCILLA    GARCIA                    CA         90011502963
64321653271968   THOMAS       FITZPATRICK               CO         90015096532
64323741251337   HALEY        PRUITT                    OH         90014227412
64323972591562   JORGE        CANO                      TX         75077819725
64324397472439   NICK         ROSA                      PA         51010423974
64324542251337   BARBETT      CLARK                     OH         90002675422
64324842261936   MICHAEL      ILANO                     CA         90007638422
64326994131453   LAUREN       WHITE                     MO         27562479941
64327251961961   ROBERT       VAZQUEZ                   CA         90011822519
64327562851338   JESUS        LOPEZ                     OH         90014015628
64327591657563   LILLIANA     HERNANDEZ                 NM         35588035916
64327797581675   ANTHONY      BOSTIC                    MO         90013187975
64328935871968   TIFFANY      MATTHEWS                  CO         90014369358
64329234351338   ALEX         GOODRICH                  OH         90014772343
64329687257555   SAGARNAGA    EVELYN                    NM         90008436872
64329798263646   MONICA       EVANS                     MO         27561047982
64331137971968   THOMAS       COSTANDINE                CO         90013991379
64331481751338   SANDY        BENNIE                    OH         66089234817
64332293971968   TEENA        WHITSO                    CO         32005472939
64332948985886   TOMASZ       WOJCIECHOWSKI             CA         90007749489
64333831491562   JAQUELINE    SOLIS                     TX         90011858314
64333889184392   STEPHEN      CASE                      SC         19049608891
64334142457192   ARIA         DRAYTON                   VA         90009981424
64334927985957   JUDY         BAILEY                    KY         90011069279
64335493985886   ELBER        ZATARAIN                  CA         90012874939
64337422755973   MIRIAM       PEREZ                     CA         90004504227
64337569461936   JORGE        GATICA                    CA         90014765694
64337642891562   MARIA INES   ALVAREZ                   TX         75060856428
64337867671968   JEREMIAH     WILLARD                   CO         90000148676
64338419261964   RACHEL       KELLIE                    CA         90015154192
64338992384392   RAVEN        HARLEY                    SC         90012129923
64339253655977   DOUGLAS      RIOS                      CA         90014132536
64339311885689   RAFAEL       OTERO                     NJ         90008383118
64341252351337   ALESHA       DURHAM                    OH         90010992523
64341995891998   QUWON        MIAL                      NC         90011989958
64342272761936   GWEN         WEISCHEDEL                CA         90013482727
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64342358491562   HUGO          CAMARILLO                TX         75097643584
64342916491998   MARY          KITTERLL                 NC         90015019164
64343316951338   DANNY         BANKS                    OH         90004763169
64344346291979   WILLIAM       BLOW                     NC         90005983462
64344355557555   TERESA        SPEDALIERI               NM         35523643555
64345216285689   THOMAS        MOLYANEUX                NJ         90014872162
64345856385886   DANIEL        VASQUEZ DDS. PC.         CA         90014038563
64346995485689   CRESENCIANO   AGUILAR                  NJ         90005789954
64347595751338   TAMMARIAH     ZINK                     OH         90013675957
64348169751338   RANDALL       SHERMAN                  OH         90015321697
64348811191522   CELIA         HERNANDEZ                TX         90002728111
64349261161964   CLAUDIA       MORALES                  CA         46001622611
64351611871968   LUCAS         SARGENT                  CO         90010806118
64351944455973   MINERVA       MARQUEZ                  CA         48084379444
64352978131453   MARIAH        TINYAN                   MO         27584789781
64353147351338   DIAMOND       BRIDGES                  OH         90015071473
64353397585886   ANGELICA      OROZCO                   CA         90014733975
64354274833698   LATIA         BROWN                    NC         12065892748
64354299861964   MARIBEL       RODRIGUEZ                CA         46014412998
64354466357555   CAROLE        BRANDT                   NM         35593584663
64354593971968   JACQUELYN     RAYE                     CO         90005885939
64355282755973   BENJI         MENDEZ                   CA         90010842827
64356325781675   ROBERT        BOURQUE                  MO         90012323257
64356477861936   CHRISTOPHER   RODRIGUEZ                CA         90012264778
64358262761961   HUGUES        BELLEVUE                 CA         90012722627
64358345161936   LYNNETTE      CHASE                    CA         90010443451
64359488531453   CHRISTY       CHAMBLY                  MO         90009514885
64361526151337   YVETTE        WATSON                   OH         90007985261
64362186781675   MARENDA       EASLEY                   MO         29035861867
64362641585689   HEPAFRODITO   CAMPOSECO ABARCA         NJ         90013236415
64363165551337   SCOTT         GRUBBS                   OH         90013251655
64363166785689   JOHNNY        PEREZ                    NJ         90014611667
64363282584392   SHELTON       JACKSON                  SC         90009212825
64364844455973   CHASSITY      KIRKLAND                 CA         90011208444
64367684241261   CHARNEKA      JACKSON                  PA         51088046842
64367687651337   TRACIE        WARMAN                   OH         90011126876
64367883491562   ISRAEL        ESTORGA                  TX         75002098834
64368926561961   EMILIO        SANCHEZ                  CA         90014179265
64368946685886   RAUL EFREN    ESPINOZA ORDUNO          CA         46090579466
64369376791965   CARLYSE       JORDAN                   NC         90013663767
64371739991522   ALICE         GUTIERREZ                TX         90013607399
64372982451337   AMBER         CALVIN                   OH         90001959824
64373384561961   CESAR         ZAMORA                   CA         90010293845
64373523591562   MARIA         ACOSTA                   TX         75077785235
64373574985886   SERVANDO      CARRILLO                 CA         46067695749
64374273155975   ANTHONY       CONTRERAS                CA         90013972731
64375586557555   GUADALUPE     LOPEZ                    NM         90012625865
64375947291562   LUIS          REYES                    TX         90014999472
64375971655975   CLAUDE        ALITEN                   CA         90014969716
64376125584392   STEVE         KAUFMANN                 SC         90009661255
64377455281675   SAMUEL        MARTIN                   MO         90014934552
64377574655973   BAUDELIA      LOPEZ                    CA         48038145746
64377591951338   JESSICA       POWELL                   OH         90014725919
64377645733698   RAYSHAUNA     ROLLINS                  NC         90005276457
64378357951338   CHEALSEA      MARTIN                   OH         90012443579
64378792641261   BRUCE         MONSOUR                  PA         51084837926
64379345455975   ALNA          SOLIS                    CA         90008573454
64381783985886   KENDRA        SQUAZZO                  CA         90014187839
64384996631453   CATINA        LEE                      MO         90009169966
64385727484392   CRAIG         KEELING                  SC         90014847274
64386391455977   JILLIAN       ORNDUFF                  CA         49079483914
64387274685886   KIRK          OSEO                     CA         90006922746
64388912585886   AUTUMN        JANKS                    CA         90008569125
64391391155977   MA DE JESUS   MAGANA CASTANEDA         CA         90013643911
64391647391522   REYNA         APODACA                  NM         90010416473
64393321991522   JUDY          VARGAS                   TX         90005323219
64393967591562   ERIKA         ROMERO                   TX         90013739675
64394922191522   EFRIN         GAYTAN                   TX         75013329221
64395346341261   MALLORY       HERGENROEDER             PA         90005393463
64395386471968   ALETA         HENRY                    CO         90007783864
64395591555973   ALEX          SALAZAR                  CA         90011675915
64396152351338   TIFFANIE      STAMPER                  OH         90011201523
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64396673685689   CRYSTAL L.        SIRFI                NJ         90013186736
64397185271968   HOWARD            PUDDER               CO         32023091852
64397528455973   ELIANA            CARASCO              CA         90013845284
64398237484392   JAMES             BARBOUR              SC         90015172374
64398723455977   RIP               WASHINGTON           CA         90010037234
64398969133698   TANAISHA          BUTTLER              NC         90005279691
64399885861964   JUDITH            ENRIQUEZ             CA         90012168858
64411973191998   HEATHER           TOMCZYK              NC         90011849731
64413287185946   ROBERT            KELLY                KY         90013882871
64414339555975   JOSE              JIMENEZ              CA         90013673395
64414457684392   RYNELL            GREEN                SC         90013524576
64414522185946   BRIAN             MEADOWS              OH         90013995221
64416575491998   JALEEL            LILES                NC         90012025754
64416677155975   LAURA             PATTON               CA         48059906771
64417199125236   MICAELA           MIRANDA              NC         90010401991
64417398471226   ERAV              SHLTU                IA         90015343984
64417626161961   ERICA             TORRES               CA         90007776261
64417891855977   PANG              YANG                 CA         90013898918
64418525181675   GREG              GERING               MO         29083835251
64419392461961   LAURA             VELAZQUEZ            CA         46040713924
64422195485689   JHONNY            MENJIVAR             NJ         90000401954
64423264255977   JASON             SURABIAN             CA         90011352642
64424321991522   JUDY              VARGAS               TX         90005323219
64425329851337   JEFF              KOCHERSPERGER        OH         90013933298
64428331351337   STEPHEN           ELLIOTT              OH         90013933313
64428672691998   OLGA              GUTIERREZ            NC         90009626726
64429487263646   MELVA             WOODSON              MO         90002804872
64429587761961   LUIS              G. MUÑOZ             CA         46040635877
64429781991998   LACRISHA          BRINKLEY             NC         90008057819
64429797357555   CHASTITY          VOCALE               NM         35585947973
64431184591562   MIRNA CHRISTINA   ACOSTA               TX         90013191845
64432598757555   GERARD            GUTIERREZ            NM         90001985987
64433319261961   RAMONA            DIAZ                 CA         90011723192
64433593963646   TERRY             BLATZ                MO         90013525939
64433753984392   CHRISTOPHE        MCGEE                SC         19002957539
64435234461936   JUDY              HOLMES               CA         90011912344
64435762625236   AUDREY            BATTLE               NC         90010807626
64435782181644   ANGELA            ADKINS               MO         90012907821
64436193771968   AURORA            VENZOR               CO         90014541937
64437526471968   LISA              DEIGO                CO         90015005264
64438543891562   KIMBERLY          ANDRADE              TX         75079365438
64438745761936   ROSAMARIA         ZAVALA               CA         90014167457
64438945955975   BRYAN             GODOY                CA         48019429459
64439392491562   JASMINE           AGUIRRE              NM         75033443924
64439514961936   ERIKA             POMPA                CA         90013585149
64441436541221   MICHELLE          JONES                PA         90005134365
64441464571968   KRISTA            WISE                 CO         90008434645
64442668191522   MELISSA           MENDEZ               TX         90010416681
64442685555977   SOUTHERN          JACOB                CA         90002976855
64442961363623   NATALIE           WRIGHT               MO         90008679613
64443911755959   JOSE              CUEVAS               CA         90013899117
64444535871968   ROBERT            PESANTE              CO         90011885358
64444899355978   SANDY             BARRAGAN             CA         48055218993
64445452291562   RANGEL            SOFIA                NM         90008364522
64446212491998   MARLON            GAITAN               NC         90005792124
64446325755977   DEVONA            GARCIA               CA         49093093257
64447615481644   DEVIN             DEFORD               MO         90015446154
64448261981644   CARL              JOHNSON              MO         29009632619
64448682351338   CARL              COOK                 OH         66087296823
64449877191998   JAMES             WILLIAMS             NC         90011538771
64451355771968   SANDRA            FRIEDA               CO         90006793557
64451667661936   MARIA             SHAKSHINA            CA         90013196676
64451829991562   MARCOS            RAMOS                TX         90011308299
64454357551337   MATT              BRUNS                OH         90011893575
64454768863646   DESTINY           COKE                 MO         90011017688
64455594557555   ROBERTA           MARQUEZ              NM         90013805945
64456292761961   VERONICA          SANCHEZ              CA         90010022927
64456436755977   PAULA             LANDIN               CA         90014854367
64456975651338   EVERETTE          HOWARD               OH         66039579756
64457218585886   STEVE             SOUTHERLAND          CA         90013082185
64457511351338   TABETHA           BROWN                OH         90013795113
64459233285886   JOSE              BANTUM               CA         46037542332
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64459388785689   OVIDIO       GOMEZ                     NJ         90003603887
64461248781675   LILLOYD      WATSON                    MO         90004992487
64461985671968   ERIN         SHELBY                    CO         90014769856
64462263151337   CINDY        RIVERA                    OH         90002552631
64462778163646   CHRISTINA    KOENIG                    MO         27537247781
64463361884392   KRISTEN      MCGEE                     SC         90011003618
64463829791562   MIKE         RAMIREZ                   TX         75030458297
64464513391998   JUAN         ORELLANA                  NC         90012725133
64465862955964   YOLANDA      VILLEGAS                  CA         90013858629
64466129155975   BRENDA       CONNELY                   CA         48063061291
64466363263646   PHILLIP      MACKEY                    MO         27574253632
64466586791998   SHERRY       NEAL                      NC         90009045867
64467247585886   BRANDON      VOYER                     CA         46005172475
64467261591998   TAMMY        HUDDLESTON                NC         90008232615
64467583451337   TIMOTHY      SCHAFFNER                 OH         90015145834
64467656991998   NED          STANJEVIC                 NC         90015156569
64468794185886   JOSE         OCHOA                     CA         46010137941
64468912255973   JASON        DELGADO                   CA         48015969122
64468921863646   JORDAN       SCHEPP                    MO         90006089218
64471111655975   MARIA        DELGADO                   CA         90003741116
64472781991562   MARGARITA    JAUREGUI                  TX         90009987819
64472911971226   BRYAN        DECK                      IA         90009599119
64472983771968   FRANKLIN     RUSSELL                   CO         90010659837
64474351657555   JUAN         JIMENEZ                   NM         90013233516
64474477384392   PERCY        JONES                     SC         90011234773
64474527863646   CLAYTON      DUNNERMAN                 MO         90013515278
64475394585689   DANIEL       MORALES                   NJ         90014173945
64475648851337   EMI          PARROTT                   OH         90013596488
64475868661964   AHTZIRI      AGUILAR                   CA         90010268686
64476969461961   JOSE         GARDUÑO CARMONA           CA         46078809694
64477195685886   ANGELICA     HERRERA                   CA         90011541956
64478665855977   EMA          MANRIQUEZ                 CA         90013806658
64478679191562   JESSICA      SORIA                     TX         90011366791
64478949963646   MERSADIES    LINSON                    MO         90013239499
64479118291522   MARIA        PRUEVA                    TX         75013341182
64479412584392   LOIS         JENKINS                   SC         90008794125
64479978361936   MAYRA        GARCIA                    CA         90002679783
64481395591522   RAQUEL       VALENZUELA                TX         90005323955
64482797761961   ALBERTO      GARAYZAR                  CA         90010677977
64484163855973   GARY         PIETROFORTE               CA         48084771638
64484273684392   TAMMIE       TURNER                    SC         90014602736
64485268271968   MARCUS       JOHNSON                   CO         90003562682
64485348251337   LAIWAH       PENNINGTON                OH         90008013482
64485734955975   GUADALUPE    RODRIGUEZ                 CA         48007497349
64485836261936   OSCAR        CAMBEROS                  CA         90011918362
64486132857555   IVAN         CARRILLO                  NM         90001861328
64486512463646   NATALIE      FRAZIER                   MO         90008545124
64487164661936   ANASTACIA    SHIMASAKI                 CA         90014681646
64487212871968   VERONICA     BANDA                     CO         32034272128
64487618285886   PATRICIA     HEGEMEYER                 CA         90014806182
64487946361961   ANNA         PEDROSO                   CA         90011429463
64488683491562   JUAN         RAMOS                     TX         90010106834
64489298791562   ROBERTO      GARCIA                    TX         90011102987
64489531271968   JAMES        HODGE                     CO         90012785312
64489629785886   GABRIEL      PAEZ                      CA         90012896297
64489641971968   DANIELLE     SEILEY                    CO         90010496419
64491392363646   CASSAUNDRA   EVENS                     MO         27578313923
64491672981675   ARMAN        KALIYAN                   MO         90015466729
64491838991562   CHRISTY      NEVAREZ                   TX         90013858389
64492161891562   LINDA        VILLA                     TX         75040101618
64492736871968   TERRY        JACKSON                   CO         90013567368
64493243163646   WADE         BAKER                     MO         90014752431
64493916763646   JESSICA      GONZALES                  MO         90015589167
64493966241261   MICHELLE     WALKER                    PA         90012069662
64494175363646   SARAH        LINSON                    MO         90015531753
64494745991588   APOLONIA     TORRES                    TX         90000297459
64495759691522   YURIKO       BARRERA                   TX         90006057596
64496477871968   NICK         GARY                      CO         90011304778
64496617455975   SERGIO       RAMIREZ                   CA         90013426174
64497446751338   ADA          MILLER                    OH         90012884467
64497597761964   ELIZABETH    GONZALEZ                  CA         46054315977
64498275291998   MARIANO      FLORES                    NC         90012432752
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64511354671968   ABEL          ORTIZ                    CO         32088673546
64511893291957   KELLY         JOHNSON                  NC         90008808932
64512688855977   BRANDY        LEE                      CA         90012896888
64514494691998   CHRISTOPHER   SMITH                    NC         90012054946
64514668755975   FREDRICK      ZAPANTA                  CA         90014156687
64514875285886   AURELIO       AGPAOA                   CA         90014808752
64515494441261   TORIANO       THOMAS                   PA         51042374944
64515656661964   NATALIA       CORTEZ                   CA         90003536566
64515924557555   SARAH         SORIA                    NM         90011009245
64516243285689   MARCOS        ORTIZ                    NJ         90014152432
64516822581644   SHAUN         CLAYTON                  MO         90014788225
64516875285886   AURELIO       AGPAOA                   CA         90014808752
64517215591562   NANCY         MUNGUIA                  NM         75042372155
64518141391998   TANEKA        WYNN                     NC         90014611413
64518719155973   ANTONIO       MENDOZA                  CA         90002157191
64519527663646   IDELLA        BROWN                    MO         90014065276
64519892191998   PATRISHA      RUCKER                   NC         17020168921
64521225161961   VERONICA      TOSTADO                  CA         90013462251
64521336355973   DIANA         BOND                     CA         90012883363
64521439691998   NORRIS        HARRIS                   NC         17004544396
64521873955975   RACHEL        FLORES                   CA         90002018739
64521879461936   BRENDA        CASTELLANOS              CA         90014928794
64522819191562   RUBEN         AVILA                    TX         90008598191
64523423457131   JOSE          ALVARADO                 VA         90003604234
64523461281644   JACQUELYN     EVANS                    MO         29008514612
64523499451338   OUMAR         SIDIBE                   OH         66065444994
64525172685886   MERCEDES      GIESE                    CA         90014861726
64525689791562   LUCIA         GUERRERO                 TX         90006966897
64526877392844   PETE          CARRENO                  AZ         90015488773
64527218155975   PATRICIA      ROMERO                   CA         90006962181
64528354555973   PEDRO         OLEA                     CA         90013923545
64528691155975   DONNA         MARTINEZ                 CA         90014626911
64528883261964   SAMUEL        DE LOS RIOS              CA         90013508832
64529198461961   JOSE          GONZALEZ                 CA         90015311984
64531391251338   ANGELIQUE     BERRY                    OH         90010123912
64531647751337   THOMAS        CANTRELL                 KY         90004956477
64532475263646   PAYGO         IVR ACTIVATION           MO         90010604752
64532741751338   REAGAN        SWEAT                    OH         90004137417
64533251855975   ERIKA         SERVANTES                CA         90009382518
64533372291998   ROBIN         OAKLEY                   NC         90015093722
64536349657555   SALVADOR      GONZALEZ                 NM         90010823496
64537472391562   JOE           DAVILA                   TX         75072334723
64537598961964   MARTHA        GALINDO                  CA         90011385989
64537757984392   ZACHARY       MORRIS                   SC         90010357579
64538564481675   MATTHEW       MORRIS                   MO         90011945644
64539131881644   JOY           EDWARDS                  MO         90000191318
64541168755977   CORRINA       MALDANADO                CA         90004921687
64541514381675   TYESHA        OLDEN                    KS         90013375143
64541575361964   OSVALDO       JIMENEZ                  CA         90014455753
64541979857555   VERONICA      GONZALEZ                 NM         90011009798
64543631191998   RACHEL        REED                     NC         90007736311
64544351755975   DANIELLA      BLUMENTHAL               CA         90012013517
64545159561964   PATRICIA      MARTINEZ                 CA         46077531595
64545171185689   JAIRO         VAZQUEZ                  NJ         90012191711
64547481141261   TIFFANY       SABATELLO                PA         90007274811
64547835285689   MELISSA       BELTRAN                  NJ         90012758352
64547927951337   LASHAWN       BUTLER                   OH         90013419279
64548839655975   QUENTIN       STROLL                   CA         90012768396
64548937985689   UBAGO         VELASQUEZ                NJ         90010819379
64549622561936   CONSUELO      MENDOZA                  CA         46042066225
64552798363646   MARSHALL      CLEMONS                  MO         90006367983
64552865561964   PATRICIA      DE LA CRUZ               CA         90005858655
64552913357555   NORMA         MEZA                     NM         35530179133
64554957661964   CARLOS        RODRIGUEZ                CA         90014599576
64556321161936   ADOLFO        MARIN                    CA         90015163211
64556732257555   RAUL          ENRIQUE                  NM         35507027322
64558956755973   ANGELICA      YANEZ                    CA         90010079567
64562746161964   SARA          MENDEZ                   CA         90009587461
64563132384392   MELISSA       PILL                     SC         90014711323
64564292991998   TRAVONION     MCFARLAND                NC         90014932929
64564638391562   GREGORY       MEJIA                    TX         75095796383
64564979857555   VERONICA      GONZALEZ                 NM         90011009798
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64565425191562   ALBERT       SALAZAR                   TX         75038094251
64566299655977   IVAN         SANCHEZ                   CA         90013642996
64566634191998   ETHAN        BANKS                     NC         90004906341
64566924481644   LYNNETTE     SHELBY                    MO         90013009244
64567397957549   CYNTHIA      CHAVEZ                    NM         90015343979
64567455793754   KIMBERLY     RUSSELL                   OH         90001194557
64567482163646   JASEN        DENISTON                  MO         90011034821
64568782251338   HORTENCIA    MARTINZEZ                 OH         90008607822
64569622384392   ANDREW       SITES                     SC         90013866223
64569637271968   LORI         JOHNSON                   CO         32061966372
64569745555975   GERARDO      NAVARRO                   CA         90013357455
64572961155977   JOSHUA       ROGERS                    CA         90004509611
64573151361936   SONIA        TORRES                    CA         90001131513
64573389751337   MARK         JOHNSON                   OH         90015093897
64573459455973   PEDRO        RODRIGUEZ                 CA         49023874594
64574883251338   BRIAN        ADAMS                     OH         90009308832
64574886651337   JUAN         GONZALEZ                  OH         90003288866
64575524257555   FERNANDO     GAMEZ                     NM         90013815242
64575668891998   JOSHUA       SLOOP                     NC         90015156688
64576781355975   BRITTANY     PENA                      CA         90015067813
64578456455973   IVAN         VILLAGRAN                 CA         90012574564
64578493761964   MARK         D.WIGHTMAN                CA         46078844937
64579356984392   BRANDEE      KEIFER                    SC         90005293569
64579994493771   CARMEN       BROWN                     OH         90005539944
64583792661964   JOSEFINA     ZAMORA                    CA         46046157926
64584277961964   IRENE        BERNAL                    CA         90012042779
64584746425236   JERVAI       BODDIE                    NC         90010127464
64584822655983   RACHEL       ORTIZ                     CA         90000258226
64584871255973   LEANDRO      FERREIRA                  CA         90011868712
64585228891522   MARTHA       ORTEGA                    TX         75006202288
64585757961936   RICARDO      VASQUEZ                   CA         90014167579
64586898261964   RODRIGO      CRUZ                      CA         46094698982
64587782461961   JULIO        RODRIGUEZ                 CA         90015207824
64588524257555   FERNANDO     GAMEZ                     NM         90013815242
64589239751338   JOANNAHA     COPELAND                  OH         90015342397
64589762985689   RAMON        AROCHO                    NJ         90014777629
64591393291562   ANAPAOLA     DURAN                     TX         90008373932
64591687461936   ALVARO       GUZMAN                    CA         90015176874
64591925555977   ROSA         GARCIA                    CA         49066479255
64592273757555   SERGIO       MELENDEZ                  NM         90012772737
64592493561964   JORGE        LOPEZ                     CA         90014674935
64593943355975   LETECIA      OROZCO                    CA         90010229433
64596935461961   YOLANDA      MURILLO                   CA         90014179354
64598385761936   SAMUEL       FALAISE                   CA         90009753857
64612119133698   DIANNE       SMITH                     NC         12042871191
64612284161961   LAURA        CARRILLO                  CA         46014232841
64612699284392   MARIA        SANTANA                   SC         90013216992
64613433257555   LORENZA      FLORES                    NM         90002344332
64613471255975   BRANDY       REAVES                    CA         90014854712
64616335663646   MADIE        GRACE                      IL        90015423356
64619641355977   MIKE         AYERS                     CA         90003576413
64619717457555   MARIA        VAZQUEZ                   NM         90012517174
64619744391998   ADRIAN       WILLIAMS                  NC         17062387443
64621949455975   PEARL        CEBALLOS                  CA         90010689494
64622213255975   ANTHONY      SANDOVAL                  CA         90014512132
64622338141261   JEREMIAH     CALANDROS                 PA         90000603381
64623491461964   DEVORA       FRYER                     CA         90006104914
64624846957555   EMILY        WEAVER                    NM         90010248469
64624882355975   MARCO        ANAYA                     CA         90009738823
64625832561964   MONICA       RODRIGUEZ                 CA         90014128325
64626572451337   CHARLES      GAMBLE                    OH         66088425724
64627264251337   JASON        BALDOCK                   OH         90012462642
64627438655977   MIRNA        GARCIA                    CA         90013934386
64627768391522   ERIKA        HERNANDEZ                 TX         75038297683
64628367561964   DANIEL       RATHBUN                   CA         46015973675
64628726955973   BONITA       DANIELS                   CA         48013007269
64629196751338   ROBERT       KRAFT                     OH         90011171967
64629738755975   LIGHTNER     STEPHANIE                 CA         90001007387
64631152561964   ELVIA        DIAZ                      CA         90003621525
64631799551338   ANTHONY      BERGMANN                  OH         90008107995
64631883257555   ERIKA        LOPEZ                     NM         90012368832
64632216557555   GEORGE       TORRES                    NM         90013622165
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64632241961964   ONESIMA      GOMEZ                     CA         90012222419
64632456761964   HARRIS       RODERICK                  CA         90006264567
64632758581644   JOSE         FUENTES                   MO         90010077585
64635139191998   YORDANOS     HABTEMICHAEL              NC         17057541391
64635973963646   JOSHUA       ESTES                     MO         27593239739
64636438555973   RAMON        RODRIGUEZ                 CA         48089024385
64636838681675   DANIEL       QUINN                     MI         90001538386
64637352161964   TELESENO     LEGROEE                   CA         90006073521
64638637141221   WILL         CAMPPELL                  PA         90012596371
64638673385689   SHEILA       WARNER                    NJ         90012516733
64638871155977   RUBY         GARZA                     CA         90011438711
64641152255977   ZENAIDA      MACHUKA                   CA         49084971522
64641896451338   JENNIFER     WASHINGTON                OH         66081958964
64642663385689   CARMEN       SALDIVAR                  NJ         90011106633
64643126171968   TREAUNA      CARTER                    CO         90010371261
64644291261964   KAREN        ROWLANDS                  CA         46053032912
64644294251331   TRAVIS       SEBREE                    OH         90012862942
64644625885689   ROMAN        COBIX                     NJ         90010286258
64645121155975   PAMELA       LOPEZ                     CA         48004441211
64645196161961   DIANA        KANE                      CA         90013481961
64645277651337   TEARLE       LUMAS                     KY         90001512776
64646776271968   ROBERT       BEEBE                     CO         90010017762
64646894285689   RENE         ANTONIO                   NJ         90014488942
64647398885689   NESTOR       NEGRON                    NJ         90000903988
64647734181675   HALEY        JARMAN                    MO         90015577341
64648353951337   URIEL        ROBLERO                   OH         90013933539
64648675391998   TONYA        WADE                      NC         17083216753
64649485491522   SAMANTHA     MIRANDA                   TX         75092744854
64649731981675   OCTAVIA      BENSON                    MO         29043547319
64649899461964   SERGIO       PENA                      CA         46005248994
64651142881644   ERIC         DIAZ                      MO         29036621428
64653423891562   ROGELIO      GUEVARA                   TX         75095144238
64653791751337   ANDREW       CRAWFORD                  OH         66056627917
64653859261422   STACEY       WICKE                     OH         90014798592
64654397631453   RITA         HESSE                     MO         27510253976
64656114291998   MIRIAM       SARMIENTO                 NC         17010931142
64656137981644   JERONIMO     GOMEZ                     MO         29093551379
64656577257555   EFREN        ALEMAN                    NM         90013495772
64657299757555   LUISA        MADRID                    NM         35559562997
64657435585689   ARACELIA     SANTIAGO                  NJ         90006344355
64657617471968   SALLY        RODRIQUEZ                 CO         90013656174
64657631661936   JOHANA       LOMELI                    CA         90012716316
64658251261936   MARILYN      CUBILLAS                  CA         90014252512
64658345841261   JESSICA      JOHNSTON                  PA         90007043458
64658498361936   CESAR        OREJEL                    CA         90014774983
64659454661961   VINCENT      RAMOS                     CA         90011564546
64664385893728   MOHAMED      REDHA                     OH         90008013858
64664489561961   DANIEL       MARTINEZ                  CA         90014904895
64664591291998   KIM          TRUSDALL                  NC         90010485912
64665337371968   LUIS         PEREZ                     CO         90010343373
64665577761964   ALEJANDRO    DE LEON                   CA         90015225777
64666277161936   LESSLY       LOPEZ                     CA         46063182771
64666387255977   ALEJANDRO    MUNOZ                     CA         90013963872
64666491491522   SILVIA       VALENZUELA                TX         90003674914
64666565257555   ERIKA        BARRIOS                   NM         90012425652
64667585771968   ARICA        ADAMS                     CO         90003815857
64667663455975   MARIO        CISNEROS                  CA         90004686634
64668417551337   CECELIA      COOK                      OH         66018074175
64668897757555   CHRISTINA    NEVAREZ                   NM         90011138977
64669133555975   JAMES        CAHANT                    CA         90011001335
64669782461961   JULIO        RODRIGUEZ                 CA         90015207824
64669892233698   RANULFO      JOFFRE-ARENAS             NC         90005338922
64671267155975   GEANIE       HOSLER                    CA         90013462671
64671867861961   ALEJANDRA    ZAMORA                    CA         46048028678
64671927451338   WINTON       RAY                       OH         66005379274
64672129491522   ROBERTO      RAMOS                     TX         75013371294
64673279391522   STEVE        WAGES                     TX         90003162793
64673618257549   TIDDLE       KRIS                      NM         35596156182
64673919955977   PAULA        VINDILOA                  CA         49052599199
64674539561961   ISRAEL       ORTIZ                     CA         90013405395
64675138963646   MARIA        LIMA                      MO         90015141389
64677393461559   ROGER        VALER SUCRE               TN         90014423934
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64677916663646   RACHEL       SEYBOLD                   MO         90014879166
64678255263646   KAREN        ASHLEY                    MO         90010222552
64678673751338   SARA         HARRISON                  OH         90008136737
64679412151338   REBECCA      HACKER                    OH         90015464121
64679469591562   JOSE JUAN    MENDOZA                   TX         90014004695
64679632257555   RAMON        CARRILLO                  NM         90008486322
64679685391998   QOQISHA      CHAVIS                    NC         90011266853
64681115863646   TREVOR       REESE                     MO         90015431158
64681213881644   OSCAR        VALASQUEZ                 MO         90014632138
64681225371968   DAVID        HULL                      CO         90007712253
64681458691998   CYNTHIA      SEWARD                    NC         90006144586
64682638181661   LAKEDRA      FREEMAN                   MO         29021646381
64684475655975   REBECCA      CAMARENA                  CA         90004524756
64684717851338   AXEL         AGUSTIN                   OH         90009087178
64686165385886   EDUARDO      ORTEGA                    CA         90003901653
64686525261936   MITCHELL     NEEDHAM                   CA         46052645252
64687335751337   TONY         CARPENTER                 OH         66081103357
64687549661559   CAMERON      FAGAN                     TN         90015345496
64687571591259   MARRIAH      KELLEY                    GA         14574185715
64688164881644   ANDREW       PAHOPIN                   MO         90013871648
64688865581675   GEORGE       MOSLEY                    MO         90012598655
64689134755977   PAYGO        IVR ACTIVATION            CA         90013651347
64689487191522   ALEJANDRA    REYES                     TX         90010984871
64689572863646   KERRY        HENRY                     MO         27563585728
64689634357555   ARIANA       GARCIA                    NM         90010816343
64691271555973   JORGE        GARCIA                    CA         90014832715
64691618991998   JUAN         CARLOS                    NC         90008256189
64692916657555   DELIA        JIMENEZ                   NM         90014639166
64694619485689   ABIMAEL      VELAZQUEZ                 NJ         90009636194
64694635363646   SHARON       MARTIN                    MO         90011056353
64695677581675   LATOYA       JORDAN                    MO         90010146775
64695929961964   CESAR        MARTINEZ                  CA         90012169299
64698284784392   RASHAD       RUTLEDGE                  SC         90010242847
64698528685689   DONALD       HIBBERT                   NJ         90014885286
64698712563646   KENNY        FETSCH                    MO         90014937125
64698894631453   SARA         MILLER                    MO         90011398946
64699331531453   BRIAN        CAMPBELL                  MO         90013343315
64699826151338   JENNIFER     JOHNSON                   OH         90014858261
64712431191562   GABRIELA     AGUILAR                   TX         75084874311
64713194491562   TAMARA       VARGAS                    TX         90013191944
64713227561936   MARIA        ULLOA                     CA         90013032275
64715174155973   ABRAHAM      RIANO                     CA         48086351741
64715567161961   CODY R       MARTINEZ                  CA         46038235671
64717369651338   SARAH        ADKINS                    OH         66082893696
64717429184392   TIFFANY      HANAKEE                   SC         90014094291
64717679455977   ERICA        MALDONADO                 CA         90014716794
64718427755975   ENRIQUE      ORTIZ                     CA         90014904277
64719156571968   LILIANA      DAVILA                    CO         90011391565
64719239151337   ONARAE       HEATH                     OH         66095782391
64719291285689   RAVEN        MARSHALL                  NJ         90001932912
64719349155973   MARY         LEBUS                     CA         48089603491
64719581181675   K'LA         REVELS                    MO         29081445811
64721375381644   MELISSA      FOLK                      MO         90013123753
64722564581675   JOSEPH       FUENTES                   MO         90008565645
64723279491562   THELMA LYN   MALLARD                   TX         75007602794
64723886791525   CHRISTIAN    REYES                     TX         75093428867
64724156485689   JOSE         GALINDO                   NJ         90014661564
64724262141261   SARA         GREEN                     PA         90005262621
64724696761961   CHRISTINE    VERGARA                   CA         90014356967
64725467484392   JACQUELINE   SZABRIES                  SC         90014874674
64725559651338   ANITA        CHANDLER                  OH         90011295596
64725977661936   LESLIE       GREEN                     CA         90014079776
64726764255975   NATALIE      ROSALES                   CA         90014847642
64727291851337   MICHELLE     FOPPE                     OH         66097252918
64727592851338   JENNIFER     SHIDLER                   OH         66095585928
64727723455975   ANDREA       SANCHEZ                   CA         90010927234
64728259261961   VALERIE      ROBINSON                  CA         90012232592
64728264355977   RAMIRO       CARVANTES                 CA         90014832643
64729288351335   COREY        SMITH                     OH         90012672883
64729611281644   PHILLIP      WESLEY                    MO         90001236112
64729629651338   RAPHEAL      DAVIS                     OH         90001166296
64731685751338   STACY        WADGERS                   OH         90011786857
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64731922171968   ERIC           WATTS                   CO         32083209221
64733222191562   ROSA           PADILLA                 TX         90012462221
64733384455973   DIANE          DAVIS                   CA         90013253844
64733433155977   KYAIRSHALIA    WILLIAMS                CA         90010454331
64733437557555   ERIKA          CARRILLO                NM         90011494375
64733517126267   EYTASHA        REED                    WI         90014925171
64733569551338   MICHELLE       WILLIAMS                OH         90013205695
64734417291998   FADUMA         MUSSE                   NC         90012414172
64734542155973   WILLIAM        LOFTIS                  CA         90008455421
64734552855977   CARLITA        PERALTA                 CA         90008415528
64734922661961   RODOLFO        LOPEZ                   CA         90002699226
64735256661961   MARIA          OROZCO                  CA         90012082566
64735669655975   STEVE          ROSS                    CA         90006666696
64736522884392   SHAWNA         HARRINGTON              SC         90013075228
64737856485689   ELIZABETH      HORNES                  NJ         90013398564
64737871891998   DIAMANTINA     DIXON                   NC         90005658718
64738523961964   MATTHEW        LOVETT                  CA         90013165239
64738844581675   PERLA          ASTORGA                 MO         29037138445
64739481881644   MALCOLM        HAMILTON                MO         90013554818
64741247791522   CHRISTINA      CHAVEZ                  TX         90010892477
64741625671968   MARTIN         HERNANDEZ               CO         32064886256
64742338125236   ANTHONY        RICKS                   NC         90006993381
64743255155975   ROSEMARY       HERRERA                 CA         48045652551
64743443771968   LONNY          HERZOG                  CO         90014584437
64744141185886   JOSE           CARDENAS                CA         46071421411
64744428251322   TROY           JACKSON                 OH         90004674282
64745418691562   AMY            MUGG                    TX         90007724186
64745692761961   ULISES         MEJIA                   CA         90012846927
64745756281675   TENIA          BUTLER                  MO         90014897562
64746292791562   GUILLERMO      CHAVEZ                  TX         75031912927
64747292131453   CLEVELAND      SIMS                    MO         90009172921
64747694885689   LEOPOLDO       RICARDO BAUTIZTA        NJ         90014956948
64748672191998   JAMES          SINGLETON               NC         90014206721
64749356791562   ISABEL         ROJAS                   TX         75040823567
64749818663646   AMANDA         MERTENS                 MO         90015488186
64751292985689   OSCAR          JIMENEZ                 NJ         90012482929
64752492385689   OMAR           ARIAS                   NJ         90007914923
64753394661961   ALESIA         BLACKINGTON             CA         90012703946
64753529361936   VANESSA        GONZALEZ                CA         90014775293
64754622655973   SAE            CHANG                   CA         90014516226
64755615551337   CARRIE         HATFIELD                OH         90013046155
64755885461961   GUSTAVO        MENDOZA                 CA         90014518854
64756142455928   ROSA           CHILENO                 CA         49015741424
64756145891998   CHARLOTTE      GRIMES                  NC         90004041458
64756561341261   JESSICA        HODDER                  PA         90005415613
64757324961964   VERONIKA       CHAVEZ                  CA         46069513249
64757551455973   LORENA         VALENZUELA              CA         48033265514
64758691963646   PAYGO          IVR ACTIVATION          MO         90014236919
64758726571968   BRETT          MATHENY                 CO         90014677265
64759499457555   LESLIE         GREEN                   NM         35549284994
64759727681644   MASRSHEIONNA   SANDERS                 MO         90011627276
64761628771968   JOSH           RUSHDOONY               CO         90013646287
64761647755964   LEO            RUELAS                  CA         90014036477
64761969255973   ALICIA         LARIOS                  CA         48002089692
64762932771968   MIGUEL         ORANTES                 CO         32000229327
64763194557555   JOSE           HURTADO                 NM         35557401945
64763367791562   ZULEMA         GUERRERO                TX         75013093677
64763628391998   HUGO           JONATHAN DURAN          NC         90012606283
64763677184392   LELAND         WARING                  SC         19072996771
64764973291562   JUAN           ROSALES                 TX         90012399732
64765432157555   MARCO          CHAPA                   NM         35594874321
64765512861964   CHRISTOPER     MARQUEZ                 CA         46050195128
64765618461961   RICARDO        MARTINEZ                CA         90015006184
64768375561936   JENNIFER       TORRES                  CA         90011623755
64768498961964   CHRIS          MARROQUIN               CA         90014894989
64768647251337   PHYCEE         WRIGHT                  OH         90013366472
64768896163646   VAIN           MC                      MO         90015438961
64771168684392   DENISE         SHAW                    SC         90013351686
64772198385689   ALBERTO        MARTINEZ                NJ         90008051983
64772394784392   DANA           LEGREE                  SC         90013553947
64774673681644   KIM            MARTIN                  MO         29013796736
64775233491525   CIPRIANO       RAMIREZ                 TX         90002472334
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64775277161936   LESSLY       LOPEZ                     CA         46063182771
64776321485886   JOSE         PEREZ                     CA         90012383214
64776838971968   LORENA       HERNANDEZ                 CO         90014848389
64777117581675   MICHAEL      MANNERING                 MO         29084551175
64777891951338   ALISA        NIMMO                     OH         90011178919
64778324555978   LAWRENCE     MARTINEZ                  CA         90011423245
64778754351337   ELLEN        TITVINIDZE                OH         90014647543
64779379491998   JOSE         MARTINEZ                  NC         90010233794
64781125861936   OLGA         BON DA RENKO              CA         46025381258
64781668291562   RICK         RIVERA                    TX         90008356682
64782916663646   RACHEL       SEYBOLD                   MO         90014879166
64783282281644   CHRISTINE    RIVERA                    MO         29001082822
64783353284392   ALEXIS       SMALLS                    SC         90009593532
64785982361936   ANDY         CORCOVELOS                CA         46023119823
64786746261964   ANGEL        RUBEN CAMPOS              CA         90006227462
64787437631453   LAQESHA      DOYLE                     MO         90013374376
64787587781675   ROCHELLE     WILLIAMS                  MO         90008405877
64788511133698   DWIGHT       HILL                      NC         12029985111
64788768661961   LIZETTE      RIVERA                    CA         90013927686
64789116881644   SUGAR        ANDERSON                  MO         90001511168
64789695261961   ALEJANDRO    SANDOVAL                  CA         90009096952
64789725955977   ALEX         GARCIA                    CA         90012707259
64791331871968   MAURICE      SANFORD                   CO         32083213318
64791526791562   MARISELA     INIGUEZ                   TX         90014885267
64792478891562   LORENZO      SILVA                     TX         90014874788
64793476691998   WALTER       COLEMAN                   NC         90012724766
64793549291522   HECTOR       OLIVAS                    TX         75067925492
64793599781675   BRANDON      THOMPSON                  MO         90014035997
64794214591562   JAIME        ORTEGA                    TX         90012362145
64795413481671   JUAN M       CUEVAS                    KS         90003554134
64795746961936   LEILA        PAUGH                     CA         46079537469
64796115151338   ADAM         HOLLIMAN                  OH         90014691151
64796272571968   KIMBERLY     MYERS                     CO         90009902725
64797994157555   TONA         LUCERO                    NM         35575989941
64798347151338   CHRISTY      BOWER                     OH         90012743471
64798519463646   ROBERT       WEST                      MO         27511775194
64798689661961   MICHEAL      ANTELO                    CA         90012996896
64798918181675   ROGER        SIMMS                     MO         29056959181
64799183163646   MATTHEW      ESMAR                     MO         90007681831
64799226851337   EVELIA       PEREZ HERNANDEZ           OH         90014272268
64799318885689   RAFAEL       OSORIO                    NJ         90012833188
64811387481644   RODNEY       TAYLOR                    MO         90010273874
64811897771968   GEORGE       WILLIAMS                  CO         90006628977
64814114661961   CELIA        AVINA                     CA         90012381146
64815253355977   ANGEL        VASQUEZ                   CA         90000652533
64815816931453   MCQUITTA     ANDERSON                  MO         90014248169
64817684391562   VERONICA     FAVELA                    TX         90012976843
64817972491522   CLADUDIA     GAYTAN                    TX         90009019724
64818148561964   ROCIO        PADILLA                   CA         90011091485
64818211961936   DARICK       DUBOSE                    CA         90008742119
64818541471968   JIMMIE       REESE                     CO         90013445414
64819223861961   EDWIN        QUIAMBAO                  CA         90014912238
64819973481644   EVA MAE      LONGMORE                  MO         29077429734
64821829461964   SOTELO       LIVIER MARIA              CA         90001758294
64822791551338   CHRIS        PERKINS                   KY         90013477915
64823186391998   MARTHA       ABARCA                    NC         90009391863
64823591761961   YESLIE       CRUZ                      CA         90011905917
64824131761964   VERONICA     SANCHEZ                   CA         46050371317
64824318761961   RAYLENE      BOGUS                     CA         46035083187
64824381955975   KENDRA       YORBA                     CA         90008693819
64825467985689   SHANEKA      JENKINS                   NJ         90014424679
64827141955973   EILEEN       MOLINA                    CA         90010851419
64828129171968   ANNA B       HARRIS                    CO         32001481291
64828828781675   KEITH        SMITH                     MO         90011988287
64829269751338   JENNA        THOMAS                    OH         90010052697
64829925763646   JACLYN       BROWN                     MO         90006269257
64831372651337   KARON        COX                       OH         90013933726
64831591561936   IVANNA       SANCHEZ                   CA         90014955915
64831678971968   STEPHANIE    TANIS                     CO         32058226789
64831752755975   JOSE         RAMOS                     CA         90015137527
64831994657555   LIZETH       MATA                      NM         90013829946
64834353571968   VENETTA      MIRANDASA                 CO         90011103535
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64834577784392   STEVEN       SMITH                     SC         90013315777
64834584351337   RHONIE       MCLEOD                    OH         90003805843
64835464381675   DAMIN        BICKERSTAFF               MO         90012094643
64835779555975   SAULO        JIMENEZ GONZALEZ          CA         90011917795
64836751557555   BRINDA       LYDICK                    NM         90004657515
64836799584392   CATHY        GETMAN                    SC         19056627995
64837583463646   KRYSTAL      MATHENY                   MO         90011145834
64837672591522   ARLEEN       BROWN                     TX         90011176725
64837934871968   MANUAL       CHACON                    CO         90015279348
64839244531651   REX          MURPHY                    KS         90009952445
64839693291522   JENNIFER     STROUD                    TX         75041896932
64841164881644   ANDREW       PAHOPIN                   MO         90013871648
64841711191562   RODRIGUEZ    VIRGINIA                  TX         90008657111
64842847591998   VICTOR       TORRES                    NC         90013928475
64844179685689   MARVIN       SARMIENTO                 NJ         85029391796
64844747855973   MARITZA      LOPEZ                     CA         90014697478
64845521971968   THERESA      CARMONEY                  CO         32098095219
64846356191562   ELOY         LIRA                      TX         75014783561
64846429184392   TIFFANY      HANAKEE                   SC         90014094291
64846646171968   SONJA        JOHNSON                   CO         32098096461
64846989955975   GUADALUPE    HUANACO                   CA         48049429899
64848468771968   DOLORES      CISNEROS                  CO         32099524687
64851838361972   ADAN         OCANA                     CA         90001458383
64852375691522   ELISABETH    PARADA                    TX         90010093756
64852385155975   TANIA        LEWIS                     CA         90002243851
64852731791998   JOHN         CORDEIRO                  NC         90012047317
64853671785689   ANSELMA      ALAVEZ                    NJ         90015146717
64855469791562   KARINA       ALVAREZ                   TX         90011864697
64856167731453   DANIELLE     PROSISE                   MO         27587051677
64856486785689   MIGUEL       LOPEZ                     NJ         90012604867
64857421626267   KRISTIN      TENHAGEN                  WI         90009294216
64857513263646   RYAN         SMITH                     MO         90015055132
64858719455977   DAVID        CANSECO                   CA         90010497194
64858859185689   MARCOS       JIMINEZ                   NJ         90014628591
64859129557555   SAMANIEGO    BRANDY                    NM         90008641295
64859372481644   BOBBY        JUDIE                     MO         90006883724
64859529371968   RANDI        KIETE                     CO         32005635293
64859969591562   NANCY        BARRAZA                   TX         75097259695
64862586261936   ALEJANDRA    AGUIRRE                   CA         90007505862
64862772861964   PATRICIA     BELMONT JUAREZ            CA         90011967728
64863836171968   WILLIAM      WARNER                    CO         90014488361
64864782357555   GRISELDA     LEVARIO                   NM         90010897823
64864871285689   ROSAURA      OLARTE                    NJ         90013928712
64864957351338   TIMOTHY      ESTES                     OH         90014199573
64867127457555   MARIA        AGUIRRE                   NM         90000721274
64867596271968   MANUEL       BARCENAS                  CO         32050465962
64867943181644   DORIS        WHITE                     MO         29007609431
64869211584392   DARWIN       CRESPO                    SC         90014482115
64871173971968   SANDRA       HINOJOSA                  CO         32063621739
64871673681644   ROSE         THOMAS                    MO         29007096736
64871947285886   ALMA         RODRIQUEZ                 CA         90005739472
64872861371968   THOMAS       HENRY                     CO         90002528613
64873558831455   PAULA        BUSHH                     MO         90008375588
64873661151337   LOWANDA      WOODS                     KY         66091076611
64873942161964   MELISSA      LOPEZ                     CA         46049979421
64874841661964   PRATT        SUSAN                     CA         46049978416
64878167891998   RAVEN        STEVEN                    NC         90014691678
64881612485689   ORLANDO      GERONIMO                  NJ         90015016124
64882314284392   MALAYSHIA    BENNETT                   SC         90014603142
64882814557555   KAREN        ESPINOZA                  NM         90011918145
64883784884392   BRANDON      THOMPSON                  SC         90014487848
64884852361961   MAYELINA     VILLAESCUZA               CA         90014518523
64884955391562   ELENA        DORADO                    TX         75059299553
64885318591998   ANGELA       WADE                      NC         90014863185
64886592355975   SERAFIN      JIMENEZ                   CA         90000175923
64887542651338   JODI         WORTHINGTON               OH         90013435426
64887712491522   RAUL         VALDEZ                    TX         90008657124
64888218841291   CHRISTINA    TRKULA                    PA         51057832188
64888332131453   KHANEETAH    MILLER                    MO         27566793321
64888652155975   SIDNEY       JONES                     CA         90010556521
64889828485689   MAGDALENA    BELTRAN                   NJ         90015198284
64891241891562   IRMA         MUNOZ                     TX         90008152418
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64895947291885   JESSI        ELLINGTON                 OK         90008569472
64896473363646   DAVID C      MCFARLAND                 MO         90011974733
64896639571968   CRYSTAL      LOPEZ                     CO         90004546395
64897539385689   JACOBO       PEREZ                     NJ         90014375393
64897728451338   ERSLER       JOHNSON                   OH         90013217284
64898154891998   KATHLEEN     RATCLIFF                  NC         90013301548
64898317161964   CODY         BARROWCLOUGH              CA         90013103171
64898568861936   DIANA        LARES                     CA         90014775688
64899572181644   SHERRY       HUDSON                    MO         90015315721
64899953131453   RENNEL       PARKER                    MO         90011589531
64912241971968   TRACY        BALDWIN                   CO         32087332419
64912339457555   DESTINEY     GRANILLO                  NM         90012113394
64912462155975   JOEL         NUNEZ                     CA         90014474621
64912587955975   CARLOS       ESTRELLA                  CA         90008785879
64912735763646   SHONDA       SHEAR                     MO         90011127357
64913288555975   FORTUNATA    MURILLO DE VALDEZ         CA         90013312885
64913372555973   MICHAEL      OBRIEN                    CA         90010853725
64914398651337   DERRICK      BOYD                      OH         90013443986
64914973955975   HERLINDA     GONZALEZ                  CA         90012219739
64915186855977   MARIA        MARTINEZ                  CA         90011691868
64915266751352   MICHAELA     DANIELS                   OH         90012732667
64915452763646   EPIFANIO     GARCIA                    MO         90013744527
64916273155975   ANTHONY      CONTRERAS                 CA         90013972731
64916485991562   ARMANDO      LOPEZ                     TX         75044104859
64917195571968   TAMMI        EISENBRAUN                CO         32098161955
64917927941261   RUFUS        SHERILL                   PA         90010569279
64918353263646   DAVID        DAVIS                     MO         90013413532
64918546141261   GLORIA       COLLON                    PA         90003945461
64918837785886   JASON        DEAL                      CA         90012968377
64918988357555   DAVID        CHAVEZ                    NM         35569559883
64919798141261   ROBERT       HEELEY                    OH         51020977981
64919861271968   LAURA        MONTANO                   CO         32079588612
64921185184392   BERTHA       MEJIA                     SC         90015131851
64921746931453   CARLOS       SANCHEZ                   MO         27568897469
64923292761961   VERONICA     SANCHEZ                   CA         90010022927
64923417261964   DANIEL       CALDERON                  CA         46049854172
64924287661936   LAURA        ANSELMO                   CA         46023252876
64924717763646   ELLEN        SHAW                      MO         90015447177
64925142963646   MINDY        RABY                      MO         90013961429
64925148851338   ASHLEY       SCHUSPER                  OH         90015561488
64925923761961   PHOULOM      NOVANG                    CA         90013519237
64927126484392   GREGORY      PATRICK                   SC         19025171264
64927176157555   KATHY        TORRES                    NM         90011031761
64927685361964   JOSE         SALAZAR                   CA         90009976853
64927854351337   JENNELL      MERRILL                   OH         90012948543
64927929161936   GABRIEL      MENDOZA                   CA         90013329291
64928155581644   ALI          ALMAWALI                  MO         90013791555
64928399155973   MARGARET     COLLINS                   CA         48083853991
64928626871968   CHARLOTTE    STAFFORD                  CO         90012966268
64929418291525   KARLA        HERNANDEZ                 TX         90009894182
64929535361961   HOAN         TRAN                      CA         46033325353
64929626855975   JEFF         ADNEY                     CA         48060946268
64929713541261   GREGORY      ROSSMILLER JR             PA         90002727135
64929784357555   DESIREE      MARTINEZ                  NM         90008127843
64931197561972   MICHELE      LUCAS DELLINGER           CA         46075631975
64931298681644   GARY         HARTMAN                   MO         90013982986
64932851677355   LATAVIA      FREEMAN                    IL        90011398516
64933144151337   DERON        HOLMES                    OH         90012531441
64933417555935   LAZARO       VALERO                    CA         90008364175
64934464571968   KRISTA       WISE                      CO         90008434645
64936426291998   VICTTOR      GARCIIA                   NC         90009004262
64936683181675   STEVE        CINCOTTA                  MO         90012256831
64937613857555   DAVID        BRISTOW                   NM         35502936138
64937994561936   TUATAU       FA AI UTAUSAGA            CA         90014079945
64938354785689   HEATHER      DIPAOLO                   NJ         90013323547
64939314691998   SANDRA       POWELL                    NC         90011883146
64939413891522   YASMIN       SEGOVIA                   TX         90011404138
64939672284392   HEATHER      CAUGHILL                  SC         90012886722
64941472131453   THOMAS       SAWDY                     MO         27501644721
64941572655977   MICHAEL      GUTIERREZ                 CA         49097975726
64942571191562   ORALIA       DIVERA                    TX         75009415711
64943413257555   ASHLEY       GOINS                     NM         90004834132
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64943759261924   KETH         STOUT                     CA         46092907592
64945417985689   MIGUEL       HERNANDEZ                 NJ         90013784179
64945428663646   TONYA        WALKENHORST               MO         90005834286
64945649581644   JAMI         CHAPA                     MO         90013136495
64946427491562   RICARDO      GONZALEZ                  TX         90008664274
64946772961961   RONALD       MARCUS                    CA         46001847729
64947927891562   ISABEL       HERNANDEZ                 TX         75016229278
64953333555973   ALFORD       OVERACKER                 CA         48049203335
64954844391998   JASMINE      MORRIS                    NC         90004788443
64955644285689   YAJAIRA      TORRES                    NJ         90011896442
64955733191562   CHRISTIAN    AGUIRRE                   TX         75004487331
64957286471968   LEONARD      JAMES                     CO         32063232864
64957992541261   GLORIA       TAYLOR                    PA         51021479925
64958382463646   RACHEL       ABSHIER                   MO         90007653824
64959328255975   JUAN         RODRIGUEZ                 CA         90001043282
64961179685689   MARVIN       SARMIENTO                 NJ         85029391796
64961315991998   MIGUEL       CORREA                    NC         90007503159
64961839851337   TRACY        HUMPHREY                  OH         66007468398
64962731991522   KAREN        ORTEGA                    TX         90009707319
64963813585689   SALVADOR     MARTINEZ                  NJ         90013038135
64964478655975   CHRISTIAN    GOMEZ                     CA         90013974786
64965445851338   PAMELA       BATISTA                   OH         90010424458
64965887585953   ANTHONY      MORTON                    KY         90000688875
64966287661936   LAURA        ANSELMO                   CA         46023252876
64966295791562   MARIA        DOZAL                     TX         90012192957
64966961551338   RASHAE       AUSTIN                    OH         90015209615
64968717461961   ADRIAN       COVARRUBIAS               CA         90013197174
64969292185689   CHARLES      HAINES                    NJ         90010412921
64971132791998   ROBERT       COOPER                    NC         90012751327
64971252261964   IVETTE       MARSHALL                  CA         90012492522
64972957384392   CLARENCE     SCOTT                     SC         90013319573
64974461971968   ALAN TROY    BEEBE                     CO         32049034619
64975345455975   MARIA        GONZALEZ                  CA         48066223454
64975641281644   EAN          KELLY                     MO         90011876412
64977958393777   JOSEPH       CLARKE                    OH         90002329583
64978518151338   DUSTIN       PLATT                     OH         66094505181
64979596181675   WILSON       BROWN                     KS         90015075961
64979679557549   BRANDY       GONZALEZ                  NM         90011076795
64979892363646   HEATHER      OELLERMANN                MO         90012798923
64979912491562   LUISA        FLORES                    TX         90015299124
64982179391998   SHERITA      SPENCER                   NC         90011131793
64982763561961   VICTOR       CRUZ                      CA         90009977635
64982911363646   LOUIS        RETZLER                   MO         90003559113
64983833961964   IVETTE       GARCIA                    CA         90012468339
64984392955977   CRUZ         GONZALEZ                  CA         90000213929
64985959485689   JESUS        RAMIREZ                   NJ         90009169594
64986731181644   HEATHER      FIRTH                     MO         90009937311
64987293191998   JONATHAN     FAIRCLOTH                 NC         90012722931
64988619285689   JOSE         GUADALUPE                 NJ         90012686192
64988826361961   EVERADO      TOVAR                     CA         46014588263
64989187185886   JOHNSTON     CHRISTINE                 CA         90001421871
64989288461964   SHERLONDA    ALLEN                     CA         90004182884
64991246755973   JOSE         MARTINEZ                  CA         48096062467
64991484857555   TONY         SCOTT                     NM         90001664848
64991651555975   SANTOS       BARAJAS                   CA         90000336515
64991767281644   FRANCISCO    ENRIQUEZ                  MO         90013567672
64992346771968   CLAUDIA      HERNANDEZ                 CO         90001613467
64994944763646   JEFFREY      BECKMAN                   MO         90009189447
64995155161936   VANH         VONGPHACHANH              CA         46061481551
64995528891522   BLANCA       VARGAS                    TX         90009175288
64995636191998   MIRIAN       MONTOYA                   NC         90007746361
64995742391998   JAYLAH       BRYANT                    NC         90014757423
64996566651337   PATRICIA     WILSON                    OH         66060555666
64996686661964   SUSAN        PUCKETT                   CA         46067966866
64999225381675   HALSHO       AHMED                     MO         90015152253
65113818355973   CINDY        RAMIREZ                   CA         90009828183
65114283225236   PATRICIO     VARGAR                    NC         90015572832
65114291255975   NELLY        BARRIENTOS                CA         90006112912
65115946455977   CONRADO      FLORES                    CA         49015009464
65115995791549   ALBERTO      ARELLANES                 TX         90010889957
65116916555977   JEFFREY      WEBB                      CA         90014879165
65117357861964   LAKESHIA     MCVAY                     CA         90004293578
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65118995191522   MARIA          SALDES                  TX         75015599951
65119711155975   HECTOR         ROBLES                  CA         90013397111
65121995191522   MARIA          SALDES                  TX         75015599951
65122371184392   JAMIE          MITCHELL                SC         90002803711
65122627691998   STEPHANIE      RANDALL                 NC         90009756276
65123447181644   JESSICA        BETZ                    MO         90014244471
65124161761961   JOSE ALFREDO   VALENCIA                CA         90012491617
65125348484392   JACQUELINE     CROSBY                  SC         90009633484
65125793661964   ANTONIO        ISAIS                   CA         46092767936
65127725461964   CHRIS          CONWAY                  CA         46000977254
65128258985689   JORGE          HERNANDEZ               NJ         90012732589
65129771763646   ANDREW         ALDRIDGE                MO         90013817717
65132372661964   ESPERANZA      PAREDES                 CA         90008443726
65132491951354   RANDALL        GILLESPE                OH         90013214919
65137937791549   ELISA          SANCHEZ                 TX         75075869377
65138586571976   LILLIAN        ROGERS                  CO         38089875865
65141896555975   SHARON         MOYA                    CA         90013258965
65142119261961   OLGA           GUERRERO                CA         46079951192
65142826291894   HERIBERTO      LORENZO                 OK         90011968262
65144183384392   MORRIS         HODGES                  SC         90014801833
65144753391549   JUAN           ALVAREZ                 TX         75069437533
65146652654124   MARIA          IZUCAR                  OR         90005146526
65146654755977   ALEXUS         WATKINS                 CA         90012126547
65147187284392   BROOKS         JONHSON                 SC         90014801872
65149325584392   ASHLEY         GRAHAM                  SC         90003833255
65151587491549   JACQUELINE     OPDYKE                  TX         90014825874
65151863851354   KIMBERLY       TRENT                   OH         90012638638
65153274484392   VERONICA       YOUNG                   SC         90014802744
65153929391522   ANA            ROMERO                  TX         90012999293
65155858891923   MARIA          ESCOBAR                 NC         90001378588
65156419261964   JUAN           GARCIA                  CA         46008154192
65158223455975   ANNABEL        VALDEZ                  CA         90014742234
65158851151323   CHRIS          SCHWAB                  OH         90006748511
65159885957131   MILTON         CAMPOS                  VA         90013918859
65162548955977   BERNABE        ALCALA                  CA         90001285489
65162594181644   WILL           CRAWLFORD               MO         29057545941
65162997555973   GABRIEL        SAHAGUN                 CA         90011229975
65163394261961   GILLBER        PALACIOS                CA         90013833942
65164279861961   ALEJANDRA      ROSALES                 CA         90010502798
65165247451354   ASHLEY         HOLT                    OH         90005642474
65165357825236   IRIS           AMAYA                   NC         90014943578
65165488484392   JAMES          DRIGGERS                SC         90014804884
65165859755973   ERICA          RUIZ                    CA         90010848597
65166374691549   ARACELY        APODACA                 TX         90014473746
65167151391998   SHAWN          WILLIAMSON              NC         90012391513
65168413291522   IRMA           LOPEZ                   TX         75088004132
65168436725236   PEARL          TORRES                  NC         90014424367
65172157381644   ERIKA          MARURI                  MO         29073341573
65173982642587   CARMEN         CHAVEZ                  WA         90015419826
65175482355973   RACHEL         LARA                    CA         90014464823
65176348491549   GLORIA         GANDARA                 TX         75050943484
65177246391522   JASON          BUZBEE                  TX         90014722463
65177356161964   ANGELINA       SOTO                    CA         90009633561
65178246391522   JASON          BUZBEE                  TX         90014722463
65179817481644   RAQUELL        HAWKINS                 MO         90002608174
65181246691522   DEBBIE         HERRERA                 TX         90014722466
65186395155973   JULISSA        CHAVEZ                  CA         48015953951
65187429555975   FIDEL          SERRANO                 CA         90008394295
65187959885939   LINDIN         LAIRSON                 KY         90010899598
65188757851354   NEDRA          WALKER                  KY         90013407578
65192264791522   STEPHANIE      LEON                    TX         90014722647
65192427191522   JOE            LASSICH                 TX         90011734271
65192491284392   PATRICE        STEVENS                 SC         90003934912
65192796825236   FELICIA        SMITH                   NC         90008377968
65192877533648   DENA           RAINWATER               NC         90013928775
65193642381644   LARRY          BURD                    MO         90012676423
65193878255975   ZACHARY        COLES                   CA         90011368782
65194348585981   EMILE          MUNANGA                 OH         66013393485
65194584991522   MAYRA          RAMIREZ                 TX         90010725849
65195443391522   LEONOR IRENE   MORALES                 TX         90011734433
65195718263646   KIRK           DANBROUGH               MO         90015377182
65197128255975   JOSE           VASQUEZ                 CA         90013471282
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65199112251354   SCHMAIYA      TRAVIS                   OH         90011001122
65213134231454   STEPHANIE     BROWN                    MO         90001611342
65214975763646   DANIEL        MANNING                  MO         90013159757
65215215191549   LUIS M        MEZA                     NM         75042382151
65215236991522   ROSA          GALINDO                  TX         75085352369
65215262655973   STEPHANIE     BUSTAMANTE               CA         90014702626
65216516755977   JOHN          ALATORRE                 CA         49000905167
65217175555973   CESAR         TAFOYA                   CA         90012081755
65217427931225   MANUELA       SANCHEZ                   IL        20587674279
65217778161964   CESAR         RIVERA                   CA         46052107781
65218839391998   ROBERT        ARRINGTON                NC         90013928393
65219218451354   DAVID L       AMOS                     OH         90013772184
65219377291998   SARENA        MCCULLERS                NC         17041653772
65219528981644   TIA           TILLMAN                  MO         29094225289
65219927851354   VICKIE        ADKINS                   OH         90011189278
65221552561961   DANIEL        PURSEL                   CA         46059865525
65222294555975   ROSALBA       LOPEZ DE VILLAGOMEZ      CA         90015162945
65222747555977   FERESA        FERNANDEZ                CA         90010157475
65223431751354   CHRISTINA     LEWIS                    OH         90012234317
65223671284392   SHANNON       EADY                     SC         90009396712
65224261391998   EDELMAN       OROZCO                   NC         90004822613
65228482491522   ABEL          QUINONEZ                 TX         90012794824
65232142284392   DAVID         CAMPBELL                 SC         90006661422
65232461791362   KEVIN         MCCOSH                   KS         29007804617
65232598455973   FONSECA       SAMUEL                   CA         90005955984
65232633261964   ANTONIO       MENDEZ                   CA         90014156332
65234987491535   VIRIDIANA     BARAJAS                  NM         90006409874
65236394484392   DENEANE       MATTHEWS                 SC         90000983944
65237597591522   DARLYN        MORALES                  TX         90011735975
65237744761972   MOSES         GOLLAZ                   CA         90010427447
65238693361964   FRANKY        TERZOLI                  CA         90012036933
65239581691549   JR            CERVANTES                TX         90011915816
65239941681644   ANTHONY       GERACI                   MO         90000319416
65241261555928   JASON         MEDSKER                  CA         49082632615
65241543461961   JUAN          LUQUIN                   CA         90014715434
65241921191998   MAXIMILIANO   CLAVEL                   NC         90010669211
65243223455975   ANNABEL       VALDEZ                   CA         90014742234
65243312161961   JOSE          GUZMAN                   CA         90011983121
65244684291998   JAQUALA       SURLES                   NC         90011786842
65245633631225   ELIA          ZUNIGA                    IL        90010836336
65247799184392   ROSANIO       LOPEZ                    SC         19054907991
65248136561964   MARIA         CASTNEDA                 CA         90003501365
65251149591522   EFREN         PEREZ                    TX         90014731495
65251255684392   ERNEST        SNOW                     SC         19057312556
65252529655977   FRANK         LOPEZ                    CA         90012585296
65253891381644   ROSETTA       MCFADDEN                 MO         90014658913
65254886591998   DENISE        HARRIS                   NC         90012838865
65255693825236   ALNEISA       RAY                      NC         90011486938
65256275491522   PAOLA         VALLE                    TX         90011512754
65257375584392   CHARLIE       SNYDER                   SC         90008833755
65257894681644   JEREMY        ARNDT                    MO         90014658946
65258775491998   MAKESHIA      WOODS                    NC         90014767754
65261483563646   ANGELA        PEARL                    MO         90009874835
65262135755975   ROSIE         ALMENGOR                 CA         48083291357
65262164291522   FRANCISCO     RODRIGUEZ                TX         90014731642
65262432151354   JANE          BUSCHARD                 OH         66057524321
65262695791549   SANDRA        CHAVEZ                   TX         75043806957
65263143963646   JEFFREY       DUNKIN                   MO         27509131439
65263331371976   ANTHONY       MARCELLO                 CO         90011063313
65264281361961   DANIEL        SANCHEZ                  CA         90012872813
65267779325236   JOSUA         GARICA                   NC         90011937793
65269495233698   ERICA         CAGLE                    NC         90004694952
65271377463646   GREGORY       OTTINGER                 MO         90010343774
65272661181644   ANGELA        HEWITT                   MO         90014666611
65272749984392   CHERRELLE     WHITE                    SC         90012977499
65273122291549   GUILLERMINA   RODRIGUEZ                TX         90010861222
65274169791998   TONYA         SMITH                    NC         90014461697
65274888755977   JAMES         STEVEN KING JR.          CA         49000108887
65276218691549   JUAN          LOPEZ                    TX         90014972186
65276388255975   AARON         GILLIT                   CA         90000183882
65276675525236   CHARLES       CAUDLE                   NC         90010716755
65276911284392   ANNETTE       HAWKINS                  SC         90013509112
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65277322191549   ROGELIO      SAVALA                    TX         75087663221
65278667461961   MARIA        SEVILLA                   CA         90011726674
65278731361964   BERNARD      SOUFFRANT                 CA         90008267313
65281182251354   ELENA        CRUZ                      OH         66097471822
65282992355973   MONICA       OVIEDO                    CA         48001639923
65283585771976   BARBARA      HIGGS                     CO         38044085857
65283874257124   OLVIN        GARCIA                    VA         90001128742
65284796651354   ASHLEY       JUSBASIC                  OH         90015117966
65284969241232   LATEKA       WASHINGTON                PA         90006209692
65285384754124   CHERI        MCCLAIN                   OR         47033923847
65286286181644   WILLIAM      BAUM                      MO         90015142861
65287153491549   ROBERT       IRIGOYEN                  TX         90013801534
65287444241272   SHANNON      BLACKWELL                 PA         90004494442
65287681361494   KEENYA       ROGERS                    OH         90014506813
65287743491998   MIKE         WILLIAS                   NC         90006197434
65287843251354   ASHLEY       CANNON                    OH         90014568432
65288683861961   IRENE        IBARRA                    CA         46013406838
65289228555977   MINDY        PADILLA                   CA         49031172285
65289923654124   ASSITAN      SYLLA                     OR         90007339236
65291294784392   CARLY        BOWMAN                    SC         90014902947
65291684455977   TERRY        ORTEGA                    CA         90003696844
65292692491923   JUSTIN       REYNOLDS                  NC         90001106924
65294294784392   CARLY        BOWMAN                    SC         90014902947
65296593755973   ALYSSA       TIENDA                    CA         48058565937
65296786161936   DEL          GAINES                    CA         46023057861
65298184425236   JERMECO      LOWERY                    NC         90014391844
65299846225236   ROGELIO      GOMEZ                     NC         90015508462
65311962251331   COURTNEY     MORROW                    OH         66094579622
65312267255973   ARISTEO      MENDEZ                    CA         48041052672
65313559663646   CAMELIA      AL BUSAIDY                MO         27580715596
65316233855975   BARBA        SMOTHERS                  CA         90003282338
65316353161936   JAY          MEDLAM                    CA         46080763531
65317322561961   ANGELIA      NAVARRO                   CA         46081103225
65317359491549   STEVEN       TISCARENO                 TX         90013053594
65317543391522   HECTOR       RODRIGUEZ                 TX         90010645433
65319381557142   ANTHONY      JOY                       VA         90009453815
65321939184392   KEVIN        TOBIN                     SC         90014919391
65322811791549   MARIA        CHAVEZ                    TX         75012148117
65323446233692   NOE          PELAGIO                   NC         90001564462
65323478591549   PABLO        DE LA PAZ HERNANDEZ       TX         90000174785
65324654863646   CHARLES      HENRY                     MO         27512126548
65325277491522   BLANCA       CAMPOS                    TX         90011732774
65326446355973   NANCY        GARCIA                    CA         90004164463
65326531191522   RICHARD      LUJAN                     TX         75048655311
65326995361961   ANGELA       AVILA                     CA         46007869953
65328557355973   DINORA       CONTRERAS                 CA         90006945573
65329332425236   GUADALUPE    VILLANUEVA                NC         90015583324
65331461277584   MICHAEL      HEUBERGER                 NV         90007024612
65333117263646   KEITH        IMFELD                    MO         27509411172
65333452797122   EMAULIA      ESCOBAR                   OR         90008174527
65334287855973   SUZY         FUNK                      CA         90010702878
65334867581644   LOIS         RUMANS                    MO         90012528675
65335448155973   VALERIE      GONZALES                  CA         48047714481
65335849663646   SANDRA       HINDERLITER               MO         27591318496
65336149851388   MYESHA       WILLIAMS                  OH         90004351498
65336575963646   STEVEN       MAYOR                     MO         90013555759
65338128471976   LINDA        WERTZ                     CO         90005951284
65338773755975   ERIK         VASQUEZ                   CA         90013197737
65338955163646   TOMMY        SEEGERS                   MO         27523789551
65339652791522   AGUSTIN      SANCHEZ SOLIS             NM         90014696527
65339883925236   OSCAR        VILLALANTE                NC         90015558839
65341287291549   MARIA        RODRIGUEZ                 TX         90000552872
65341419561961   ANABEL       CASTREJON                 CA         90015154195
65341685454124   JESICA       RAMIREZ                   OR         90005626854
65341729981644   EMANI        CLEMENT                   MO         90012217299
65342167761961   PERLA        GARCIA                    CA         46083921677
65343568855975   DERRICK      ORTIZ                     CA         90013235688
65343846771976   VELMA        MONTOYA                   CO         90006978467
65344643891998   ARACELI      SANCHEZ                   NC         90013256438
65344846771976   VELMA        MONTOYA                   CO         90006978467
65346526155977   CRYSTAL      MARTINEZ                  CA         49051775261
65351364861964   VICTOR       MOLINA                    CA         90001423648
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65352331154124   JERRY        HEUNSTEIN                 OR         90005653311
65355218455977   JOSE         HERNANDEZ                 CA         90014452184
65355228751354   LAUREN       CHAMBERS                  OH         90003932287
65355666355973   ANA          VALENZUELA                CA         48016466663
65356633555977   TALIA        VASQUEZ                   CA         90013646335
65356652984392   LAVONA       SAWYER                    SC         90003836529
65357477291998   ARTHUR       WAMBAA                    NC         90007704772
65359291133698   SCOTT        VINCENT                   NC         12098772911
65359918761961   MIGUEL       NAVARRETE                 CA         90010589187
65362288861961   LARRY        LOVE                      CA         90015322888
65362858285866   TAKAHIRO     KUROSE                    CA         90013098582
65364943991522   MARGARITA    FIERRA                    TX         90014649439
65365371455973   RAVEOLLA     VIEZA                     CA         48057883714
65366591155977   ADRIAN       CHAIDEZ                   CA         49079475911
65366967661961   EVONY        FRAZIER                   CA         46066439676
65367588561936   IRYNA        VUL                       CA         46016005885
65368446355973   NANCY        GARCIA                    CA         90004164463
65369367955973   LORENA       MIRANDA                   CA         90015023679
65371311691522   BRISSA       GARCIA                    TX         90014733116
65371362181644   BRANDON      JONES                     MO         90010023621
65371432891549   ELIZABETH    ANGUIANO                  TX         75008904328
65372895791522   JESUS        HERNANDEZ                 TX         90011738957
65373377255973   MARIA        GALAVIZ                   CA         48092143772
65375393861964   LILIA        QUINTANA                  CA         90004293938
65376854391527   JOSE         AVILA                     TX         90013068543
65377675725236   JOSE ANGEL   CASTENDA LOPEZ            NC         90015556757
65378494191522   CLAUDIA      RUIZ                      TX         75081294941
65379216191998   LISA         SMITH                     NC         17066402161
65381196681644   SHANE        HILL                      MO         90013451966
65383897161964   OMAR         ALCALA                    CA         46037628971
65385591991522   ROGELI       RUEDA                     TX         90013115919
65386936985948   ROYCE        MILNER                    KY         66001159369
65388372591522   BEATRIZ      CHAVEZ BAQUERA            TX         75024543725
65389583833698   DONALD       SMITH                     NC         90009575838
65389975851354   HAMMA        FAYA                      OH         66080269758
65391428991549   CRISTINA     ORTIZ                     TX         90007594289
65393142461964   BLANCA       RAZO                      CA         90014481424
65394174355977   MIGUEL       MADRIGAL                  CA         90005711743
65394255925357   MICHAEL      FAIRMAN                   WA         90015372559
65397212733698   JOSEPH       BOLES                     NC         12082332127
65397383861961   PATRICIA     REAL                      CA         90009923838
65398355491522   FRANCISCO    GALLEGOS                  TX         90014733554
65398545855975   RICHARD      MONTOYA                   CA         90013085458
65398559361964   DEANNA       DOUGLAS                   CA         90013535593
65398872891535   PHILIP       PEDREGON                  TX         75082698728
65412157755975   MARIA        OROZCO                    CA         90004911577
65412193591549   ROSIO        GALLO                     TX         90015231935
65412614155977   LETY         HERRERA                   CA         49076636141
65413353391549   ANGELLEAH    CAYLOR                    TX         90014173533
65414982591525   ALICIA       VASQUEZ                   TX         75031169825
65415172563646   DEBBIE       DAY                       MO         90002961725
65415361561961   VENESSA      GARCIA                    CA         90012873615
65416437761961   LAURISSA     HERRERA                   CA         46017314377
65417388263646   BECKY        SANDBERG                  MO         27586243882
65419597691549   JENNIFER     CORRALES                  TX         90011575976
65421919891234   HUGO         GONZALEZ                  GA         90008809198
65422538255975   JEANETTE     KEEL                      CA         48055655382
65423688251354   BIRTTIANIE   BERING                    OH         90008836882
65423964931453   YANA         NELSON                    MO         27513039649
65424315155973   ROBERT       RAMIREZ                   CA         48041943151
65424783391998   ALFREDA      HEGGIE                    NC         90014397833
65425768363646   ANDREW       JACKSON                   MO         90011067683
65427322761964   OSCAR        TAPIA                     CA         90010843227
65427855655973   SYLVIA       RAMERIZ-SOLIZ             CA         90004548556
65429262861961   HUMBERTO     BARRAZA                   CA         46032982628
65431622491998   CINDY        SOLA                      NC         90013666224
65432552151331   LETICIA      LOPEZ                     OH         90009805521
65433125691522   MONICA       LUNA                      TX         90008591256
65434414451354   DARMISCHIA   LEACH                     OH         90012524144
65436367561961   ANDRES       LORENZO                   CA         46090123675
65436488361936   MATT         FINLEY                    CA         90006534883
65438743255975   GARDUNO      MOISES                    CA         90013677432
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65441827881644   GARY                BROWN              MO         90010408278
65442733391549   MARISELA            SALINAS            TX         90013297333
65445677991549   LOURDES             GUZMAN             TX         90005456779
65446188691998   DIEGO               VAZQUEZ            NC         90014751886
65447563955975   MIGUEL              TAPIA              CA         90013895639
65448327684392   MARIBEL             LOPEZ              SC         19021403276
65449271785981   NATASHA             CARMICHAEL         KY         90010652717
65449427791522   JESUS               GARAY              TX         90014734277
65452232933698   KENNETH             CHANDLER JR        NC         90011252329
65454226161961   ARISTEO             CRUZ               CA         90013842261
65454488325236   LUICO               CLELO              NC         90015584883
65454555355973   ADRIANA             VASQUEZ            CA         48014335553
65461435151347   BRENT               MUSGRAVE           OH         66002444351
65461857555977   OFELIA              WELCHOR            CA         90000268575
65463383855973   MEL                 GARCIA             CA         48021553838
65463782161961   MARIA               GALINDO            CA         90013047821
65464315125236   MARIA               HERNANDEZ          NC         90014753151
65465673641232   GEORGE              MARTIN             PA         90001616736
65467449255973   RUSSELL             CORTEZ             CA         48037854492
65469181691522   MARIA               MEDELES            TX         75018051816
65469286363646   MIGUEL              MARTINEZ           MO         27586542863
65471252954124   CASH                REYNOLDS           OR         47084022529
65471637471976   JOHNN               SANTISTEVAN        CO         90005996374
65472129991549   KARINA              FLORES             TX         75060081299
65474528563646   TORRIE              THONE              MO         27579475285
65475728655975   COLLEEN             GRAY               CA         90009447286
65477215561964   ZACHARY             SKINNER            CA         90013832155
65477943355977   PETE                SANCHEZ            CA         90010369433
65481354255977   MELANIE             FISHER             CA         90015303542
65482174391549   ORALIA              VIESCA             TX         75083141743
65483773181644   RAMIRO              DAMIAN             MO         29034357731
65484211891522   MELISSA             HERNANDEZ          TX         90006702118
65484862261964   FRANSISCO           AVENDANO           CA         90012188622
65484977561961   JORGE               ROCHA              CA         46009489775
65485628863646   LISA                CHANDLER           MO         90011986288
65486682181644   GERARDO             PLATA              MO         90014666821
65487228151374   MICHELLE            COOPER             OH         66093072281
65488211891522   MARIA DEL ROSARIO   CARRANZA           NM         90011742118
65489678155975   KENNETH             JONES              CA         90014986781
65492186551354   FARRAH              GATTS              OH         90009991865
65493141955977   RAYMOND             COLMENERO          CA         49046211419
65493897271976   GINO                KASAN              CO         90005998972
65494374384392   VICTOR              FLORES             SC         90011143743
65494443725236   LEROY               MCQUIRE            NC         90004124437
65494486861936   THEODORE            KENNEDY            CA         90010614868
65495693155977   ALEJANDRA           VILLAGOMEZ         CA         90014606931
65497987155977   ROSALINDA           SANZON             CA         90011909871
65498154855977   JAMES               WALTON             CA         90003341548
65498391763646   ASHLEY              SPIKER             MO         90004013917
65498644351354   MELINA              NUGENT             OH         90009756443
65512172884392   HAYDEE              LOPEZ              SC         90010001728
65512383391522   MILDRED             VENEGAS            NM         75091753833
65512441661961   NIZA                GARCIA             CA         90011114416
65512874755977   OLGA                CHAIDEZ            CA         90009918747
65514144291998   HEIDI               HOLLOWAY           NC         90012891442
65514783661961   ANTONIO             RIOS               CA         46013667836
65515341761961   RAMON               RODRIGUEZ          CA         46086813417
65518215561964   ZACHARY             SKINNER            CA         90013832155
65519899881644   ANGELICA            VIELMA             KS         90010418998
65526597491522   EMILIO              AVENDANO           TX         90011465974
65527613191998   KEREFA              WATKINS            NC         90008496131
65529145691998   MORRIS              EVANS              NC         90015131456
65529625691522   MARISELA            CAMUNEZ            TX         90000796256
65529835381644   MEGAN               YOCAM              MO         90008738353
65529925751354   CRIM                LESLIE             OH         90006049257
65532597641272   JOHN                CUNNINGHAM JR      PA         90000215976
65532675333698   GINGER              MCCALL             NC         90011256753
65533515391522   FELIPE              PADILLA            TX         90014735153
65533652333698   ALVINA              PORTER             NC         12006426523
65534515391522   FELIPE              PADILLA            TX         90014735153
65537152233698   EBONIE              COLBERT            NC         12095421522
65537597491522   EMILIO              AVENDANO           TX         90011465974
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65537772663646   PAYGO           IVR ACTIVATION         MO         90014637726
65538489591572   MARIA           MARTINEZ               TX         75029784895
65538813855975   GABBY           GODOY                  CA         90005868138
65538929691522   ROMAN           SAMBRANO               TX         75073369296
65539195291234   KEITH           WILLIAMS               GA         90009231952
65542652763646   TRENT           RENO                   MO         90006746527
65542777261964   BETTY           CRACKER                CA         90010457772
65544959261961   ANA             CORNEJO                CA         46012779592
65546964633698   KENNETH         EATON                  NC         12093899646
65547268661964   SANDRA          HERNADEZ               CA         46095142686
65548141581644   JESSICA         MARTINEZ               MO         90014061415
65548235255973   LYDIA           HUERTA                 CA         48084742352
65548573891549   ALEJANDRA       TURRUBIATE             TX         75011115738
65548999955975   ADRIAN          RODRIGUEZ              CA         90008989999
65549684791522   ANGELES         GONZALEZ               TX         75047386847
65549866484392   EMILY           BURNSED                SC         90009368664
65552662361975   JESSICA         HERNANDEZ              CA         90009616623
65552684791522   ANGELES         GONZALEZ               TX         75047386847
65553235291522   LISA            RODELA                 TX         90006432352
65553599555977   MARIO           MARTINEZ               CA         49043875995
65553677963646   CLIFFORD        MORRIS                 MO         90010246779
65554256855975   MARISELA        RODRIGUEZ              CA         48034662568
65555684791522   ANGELES         GONZALEZ               TX         75047386847
65555849255973   DEBRA           GOLDSMITH              CA         48080998492
65556353661961   HIGINIO         VALADEZ                CA         90004773536
65557221355977   GUAFALUPE       DICKERSON              CA         49094022213
65557419691522   PETE            ESPARZA                TX         90007074196
65558583984392   ANGIE           PARKER                 SC         19089045839
65558728861961   LORNE           HAMPTON                CA         46032287288
65558733154124   DANA            STUCKY                 OR         90005997331
65559367655973   RAYMUNDO        LOPEZ                  CA         90010613676
65559655961964   JON             KRENZ                  CA         90013616559
65561331591552   JOSE            SALVATIERRA            TX         90010903315
65562175255973   TAMMY           HUDSPETH               CA         48016611752
65563372591522   BEATRIZ         CHAVEZ BAQUERA         TX         75024543725
65565383784392   DEVONA          KINLOCK                SC         19023353837
65565631361961   GABRIELA        SANORA                 CA         46079956313
65566834484392   JONES MICHAEL   JAMES                  SC         90009398344
65567831355977   JAVIER          TORRES                 CA         49076638313
65568125861961   RAMON           QUINONEZ               CA         90005781258
65568318691998   LASHANDA        JOHHNSON               NC         17009893186
65568719925236   BARBARA         WYCHE                  NC         90015517199
65569367955973   LORENA          MIRANDA                CA         90015023679
65569399891998   KENDREKA        JENKINS                NC         90014623998
65569898391549   RUTH            LABRADO                NM         90002798983
65571547955973   CORINA          HERNANDEZ              CA         90014205479
65573662755977   RAMIRO          MARTINEZ               CA         90013646627
65574887891998   LARISHA         JOHNSON                NC         90009638878
65575814955973   YESICA          CORONA                 CA         90009528149
65576178191549   REBECCA         MALDONADO              TX         75076941781
65577146261964   VALERIE         STEWART                CA         90014011462
65577235725236   JONEKA          ALSTON                 NC         90013102357
65577362451325   SCOTT           BURNS                  OH         66098583624
65578529291549   MARIBEL         CABADA                 TX         90012515292
65579552991522   ROSA            SALDANA                TX         90014735529
65582552191234   RANDI           WHITFIELD              GA         90007325521
65583281555975   ROSEMARY        HERNANDEZ              CA         90014832815
65584562891522   ALMA            ACOSTA                 TX         90014735628
65586184391998   KELLIE          WESTER                 NC         17029921843
65588475754124   ARNOLD          COLETTE                OR         90006004757
65588563181644   JOHN            ROBERTSON              MO         29076505631
65588718355977   BONNIE          GONZALES               CA         90002407183
65588767291522   ROCIO           IBARRA                 TX         90012567672
65589475754124   ARNOLD          COLETTE                OR         90006004757
65591898881644   ELICIA          ROBINSON               MO         90014668988
65592753755977   ANTONIO         VALENCIA               CA         90014477537
65592835341231   KRISTINA        WILLIAMS               PA         90010498353
65592865561961   PATRICIA        DE LA CRUZ             CA         90005858655
65593315591522   CHRISTINA       FIGUEROA               TX         75016093155
65593475754124   ARNOLD          COLETTE                OR         90006004757
65594321463646   SHEILA          DOBBS                  MO         90000393214
65594718691998   DIANA           ARIAS                  NC         90008597186
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65594756155975   ELENA         SANCHEZ                  CA         48042257561
65595664361936   LETICIA       LOPEZ                    CA         46016536643
65596154955973   RACHEL        VELASQUEZ                CA         90003061549
65597222155973   RYAN          BAKER                    CA         90000212221
65597911981644   KEN           DANIELS                  MO         90014669119
65612929681644   CHRISTOPHER   HILL                     MO         90014669296
65612997591265   ANDREA        BROWN                    GA         90013709975
65614847261558   ASHLEY        STEELE                   TN         90011158472
65615177933698   DECOBE        PETTUS                   NC         90011261779
65615321791998   FELICIANO     CERRANZA                 NC         90015333217
65615452925236   ERICSON       ESCALANTE                NC         90013114529
65615514455928   FIDEL         SALMERON                 CA         90005905144
65616273261964   SERGIO        RODRIGUEZ                CA         46083252732
65616651163646   ASHLEY        JONES                    MO         90004966511
65616832691525   DINA          NAJERA                   TX         90006818326
65618831761961   SILVIA        MEDINA                   CA         46049718317
65619191591998   LYDIA         JOSEPH                   NC         17023611915
65619533763646   STEVEN        BOYD                     MO         90000915337
65622518281644   MARILYN       BENNETT                  MO         90013355182
65622538391998   LYNDA         MORGAN                   NC         90005855383
65623978591549   IRIS          APARICIO                 TX         75086969785
65624881455975   JESUSL        LOPEZ                    CA         90005018814
65625328855977   KHRESTA       DUNCAN                   CA         90012863288
65625453691998   SHAGUANNA     DOTSON                   NC         90002854536
65625765391522   MARIA         GUEREQUE                 TX         75060967653
65627213591965   OLGA          ZEFAZ                    NC         90008652135
65627877691998   AQLFREDO      VALDEZ JIMENEZ           NC         90005328776
65628152791522   CINDY         DE LEON                  TX         75055591527
65632863955973   ESTRADA       JOHANA                   CA         48068718639
65633744755975   LEWIS         FOWLER                   CA         90001097447
65633941181644   HOPE          GREEN                    MO         90014669411
65635986491998   FRANK         CHRISP                   NC         17093189864
65636665491522   ANTONIO       MONTANA                  TX         90007046654
65639538191998   LETEBRABRAN   ABRHA                    NC         90007215381
65643195191522   WALTER        PELLICANO                TX         90011871951
65643725561964   BALTAZAR      CRUZ                     CA         90011097255
65646243455975   JESSICA       SANCHEZ                  CA         90013842434
65647626191522   CORINA        SEPULVEDA                TX         90014736261
65649399291522   LORENZO       CASTILLO                 TX         90013033992
65652281363646   MATTHEW A     GIERER                   MO         27596612813
65652513525236   KYLE          WILLIAMS                 NC         90015615135
65653815791998   TAMIKA        WILLIAMS                 NC         90010218157
65653996361964   LEE           CAIN                     CA         46086619963
65654698791549   PAULINA       ADELAIDA                 TX         90011526987
65654857261961   MIGUEL        ARELLANO                 CA         90014168572
65655923591522   MIGUEL        HERNANDEZ                TX         90013869235
65656695355973   SARAH         JERCICH                  CA         90015266953
65656844255975   MIRNA         JIMENEZ                  CA         90012918442
65657613233698   SARAH         BYERS                    NC         90002616132
65658228361936   HARRIS        KELLY                    CA         46016242283
65658274584392   NAKITIA       GADSDEN                  SC         90013342745
65661617361964   JILL          JORGENSEN                CA         46068776173
65662795891998   CAROLYN       GUPTON                   NC         90012947958
65663953361961   CARMEN        LABORDE                  CA         90014689533
65663978355973   CRYSTAL LEN   PYLE                     CA         90014639783
65664982625236   JOSE          BAUTISTA                 NC         90013119826
65665448961964   ISAMAR        CARRILLO                 CA         90015284489
65667777491522   FLORA         ROJAS                    TX         90011747774
65669631361936   JAIME         ESTRADA                  CA         46016566313
65674982691998   DONTRELL      EVANS                    NC         90014899826
65676682291522   ROOT          METRICS                  TX         90011846822
65677939561961   IRMA          GRANADOS                 CA         90004389395
65678253391552   MAGDALENA     IGLESIAS                 TX         75072642533
65678596955977   JUANITA       FLOREZ                   CA         49076855969
65679125381644   JESSICA       NICHOLS                  MO         90006111253
65682447391549   ANTONIA       ACOSTA                   TX         75020594473
65682741663646   TRENT         HAUSMANN                 MO         90014167416
65683719663646   KELLY         ROACH                    MO         90014167196
65684221655975   NICOLAS       VENEGAS                  CA         90011642216
65684254561964   CRISTINA      HURTADO                  CA         90012612545
65684298261964   CALYIN        MALKELL                  CA         90014552982
65684648263646   ANDREA        HENSON                   MO         90002636482
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65684765991522   RAMONA       CENICEROS                 TX         90010397659
65685165761964   JESSICA      AVITIA                    CA         90014011657
65685924891527   PERFECTA     VARGAS                    TX         90011419248
65687287191535   LEONOR       VALDEZ                    TX         90004452871
65689868851354   TONYA        HUNT                      OH         66059478688
65691844863646   KELLY        MESLE                     MO         90012888448
65693138663646   SHANNON      BOWEN                     MO         90014181386
65693256281644   K            KUTII                     MO         90011712562
65694866461961   JANNET       PALAFOX                   CA         90006788664
65695458641292   JENNIFER     L DEARTH                  PA         90009704586
65697482155975   SANDRA       IBARRA                    CA         90009074821
65698642461961   HILDA        RAMOS                     CA         46025816424
65698799891522   VERONICA     MORALES                   TX         90005137998
65699582591522   OSCAR        SOLIS CHAVEZ              NM         75058155825
65699677291998   RICARDO      LEAL                      NC         90000566772
65711848555977   APRIL        SUMMERLIN                 CA         90012858485
65713917284392   LAKESHA      CLEMENT                   SC         90007939172
65714474355975   MARILYN      DURAN                     CA         90004964743
65715387151354   SHAMAR       ALLEN                     OH         90010963871
65715734655973   THERESA      HARVEY                    CA         90001807346
65716219891998   CLARA        SANTOS                    NC         90010122198
65718876361961   ALICIA       PEREZ                     CA         90014168763
65721521455975   MIGUEL       ALMANZA                   CA         90012215214
65723187484392   GONZALO      VELASQUEZ                 SC         90002681874
65723193251354   TONY         CALLAHAN                  OH         90014471932
65723472381644   ALICIA       NONATO                    MO         29076374723
65725453191549   MICHELLE     OVIEDO                    TX         75032654531
65726565991552   SERGIO       MAGALLANEZ                TX         90009245659
65727242661961   LOURDES      ROMO                      CA         90013842426
65727998361964   STEVE        SPAHR                     CA         46043409983
65728397161964   RANDY        MAGBANUA                  CA         90001533971
65728474481644   JAMI         MORRIS                    MO         90011694744
65729785761964   DIEGO        GONZALEZ                  CA         46019397857
65732779955975   HZONGCHUA    VANG                      CA         48097287799
65733474161964   LOPEZ        PAMELA                    CA         90001634741
65739529985946   ANGELA       ROBERTS                   KY         90013495299
65742179891522   ARTURO       GAMEZ                     TX         75018571798
65742447555977   SABRINA      RAMOS                     CA         90014784475
65742532261961   LILIA        BEASON                    CA         46008185322
65743624591549   SANDRA       CARDOZA                   TX         90013746245
65744745233698   ASHANTA      BYRD                      NC         12046087452
65744994751354   LEE          STIVER                    OH         66014429947
65745652291522   AMANDA       MACIAS                    TX         90000626522
65747319892844   NATALIE      PEREYRA                   AZ         90014823198
65748233554124   VILLA        LUCERO                    OR         90006892335
65749142936139   WALTER       RUIZ LOPEZ                TX         90003881429
65749888661961   MONDO        MARTINEZ                  CA         90014168886
65749949661964   ALFONSO      PEREZ BAUTISTO            CA         90014949496
65751568455973   ANA          GONZALEZ                  CA         90010725684
65751844725236   ANGELA       WHITTED                   NC         17021208447
65752853784392   ALEXANDREA   MARSTON                   SC         90009218537
65753833225236   GEORGE       FUNDERBURK                NC         90013928332
65754492271976   DEE          TRUJILLO                  CO         38050654922
65756364284392   BRANDI       MAZYCK                    SC         90011463642
65756612791525   BERTHA       WARNER                    TX         90008036127
65757511161964   VIVIAN       SHARP                     CA         46045555111
65759623755975   DEBORAH      HERNANDEZ                 CA         90014346237
65759762261961   SOFIA        GONZALES                  CA         90010047622
65761168861964   JOHNATHAN    LOPEZ                     CA         90009471688
65761525155973   DANIELA      BOURNE                    CA         90015155251
65761542455973   JOSE         GUERRERO                  CA         90013575424
65761844355975   MARIO        MUNOZ                     CA         48002698443
65762553555975   CECILIA      ATRICO                    CA         90015115535
65762616355973   LYDIA        ECHEVERRIA                CA         90010896163
65763751392844   JULIO        MACEDONIO                 AZ         90014367513
65764369555977   JOSE         VAZQUEZ                   CA         90014303695
65764636455973   YULI         MARQUINA                  CA         90004436364
65766348491522   MARTHA       TORRES                    TX         90009553484
65766627825236   ROLANDO      GARCIA                    NC         90015536278
65766775357142   EDWIN        MACHADO                   VA         90008897753
65767214231455   VELLY        DUVERNY                   MO         90006002142
65767756381644   CHRIS        RAGSDALE                  MO         90004097563
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65768781755977   GLADYS       GONZALEZ                  CA         90012927817
65772121291522   ANGEL        RODARTE                   TX         90011811212
65772313291998   MICHELLE     YORK                      NC         90011103132
65772365685986   RICHARD      NEAVES                    KY         90004283656
65772939561961   IRMA         GRANADOS                  CA         90004389395
65773492661936   ALVARO       GONGORA                   CA         46042674926
65774539655975   GRACIE       SUMMERS                   CA         90014845396
65775711891522   KAITLYN      RODARTE                   TX         90014737118
65775939561961   IRMA         GRANADOS                  CA         90004389395
65776156961961   JUAN         GALAVIZ                   CA         90011441569
65777224661961   CESAR        JULIO                     CA         90008202246
65777863684369   MELONY       MULLIGAN                  SC         90011368636
65778628155977   REUK         SOM                       CA         49052416281
65779268555973   JASON        GARRETT                   CA         90006262685
65782181563646   ALETHA       BARKER                    MO         90015031815
65782576991572   JOSE         RODRIGUEZ                 TX         75029325769
65784995281644   CHRISTIAN    HALL                      MO         29048249952
65787778155977   NICHOLE      STEIN                     CA         49038657781
65787896951337   LISA         CRISP                     OH         90013418969
65788278191549   PATRICIA     HERNANDEZ                 TX         75035352781
65788445891535   MARIA        GARCIA                    TX         90008784458
65788619455973   ADRIEL       RUELAS                    CA         90011866194
65792392763646   NICHOLAS     JOHNSON                   MO         90010813927
65793562384347   MAGGIE       MITCHELL MCKAY            SC         90010735623
65794543255975   ANTONIO      CEBALLOS                  CA         90006205432
65796318591549   JOHN P       SCHRIVER                  TX         90012133185
65797563361961   RENE         LERMAN                    CA         90014185633
65797844725236   ANGELA       WHITTED                   NC         17021208447
65798934891522   BEATRIZ      MUNOZ                     TX         75009759348
65811853355935   LAURA        DIAZ                      CA         90013798533
65811999755975   MARIA        VILLA                     CA         90010669997
65815717761961   JHON         PUENTE                    CA         46021307177
65816838961964   JOVANNA      RAMIREZ                   CA         90007338389
65817374625236   QUE          PITTMAN                   NC         90014083746
65817693991549   FRANCISCO    PEREZ                     TX         90012176939
65819171291522   JESUS        GOMEZ                     TX         75033301712
65821625151354   JOY          HOWARD                    OH         66016956251
65822528333698   AMBER        MABE                      NC         90010685283
65822737781644   DUANE        DOOLIN                    MO         90014677377
65823114163646   ANA          GUTIERREZ                 MO         27562581141
65823266361964   RICHARD      EGBERT                    CA         46092792663
65823298825236   KEPAULA      SOMUAH                    NC         17016962988
65823565561961   GABRIEL      PADILLA                   CA         90011595655
65824679155973   ABEL         AYALA                     CA         48022316791
65826186455975   ADAN         ESPINOZA                  CA         90011981864
65826334781644   RANDY        MULL                      MO         29012563347
65828864451354   VALERIE      NELSON                    OH         66038108644
65829326855975   JUANITA      SERNA                     CA         48012623268
65831236655973   JESSICA      MENDOZA                   CA         90015562366
65835399355975   HEATHER      DOTSON                    CA         90014373993
65836619461961   GIANNI       SIMMS                     CA         90011876194
65836994891522   ENRIQUE      MERAZ                     TX         75088719948
65837745154155   BENJAMIN     BEKKER                    OR         47015977451
65837757455969   STAR         DIAZ                      CA         90013077574
65839819481644   JELISA       BERNARDO                  MO         90014678194
65841344161936   FERNANDO     ESTRADA SAZUETA           CA         46062903441
65844279981644   GLENN        BOLTON                    MO         90014392799
65844746291549   DIANA        SALAZAR                   TX         90014557462
65845681355975   LAURA        ALCANTAR                  CA         90010276813
65845928963646   JOSHUA       FORD                      MO         90011049289
65846281555973   SOCORRO      ARIAS                     CA         90013842815
65846964255975   MANUEL       MARTINEZ                  CA         90009449642
65849144691363   FELIX        VEGA NUNEZ                KS         90014321446
65849182851354   ERIN         MARTIN                    OH         90014751828
65851623755975   DEBORAH      HERNANDEZ                 CA         90014346237
65852485451354   KATIE        GRIFFIN                   OH         90014144854
65852893755977   VERLENDRA    RUFF                      CA         90011808937
65854897461961   HARRIET      MARTINEZ                  CA         90014168974
65854928581644   SAMANTHA     OCHOA                     MO         90010229285
65855929555973   NICHOLAS     SMITH                     CA         48060039295
65858277455975   EDITH        OROZ                      CA         90006532774
65863335885689   MARY         BORDEAUX                  NJ         90001993358
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65863739455977   STACY         ANDERSON                 CA         49006107394
65864444461961   KERVIN        ANDERSON                 CA         90015024444
65864521951354   GARY          POUNDS                   OH         90008315219
65865472963646   KENNETH       CRAWFORD                 MO         27515004729
65866543955973   ANITA         FRAUSTO                  CA         48021495439
65867135491549   JESUS         HERRADA                  TX         90013871354
65867466125236   ZAIDA         MUNIZ                    NC         90015114661
65867564591998   MICHAEL       GILCREST                 NC         90015075645
65869765551354   PASTOR        PEREZ                    OH         66097797655
65871211391522   ALFREDO       CAZARES                  TX         90014752113
65871621551337   CHRISTINE     SAMSONE                  OH         66017576215
65871715491525   SAUL          AMBRIZ                   TX         75010767154
65872217591998   JERRI         JONES                    NC         90011512175
65875469555975   GUSTAVO       BACA                     CA         90002834695
65876622961964   ROBERT        BANA                     CA         90011916229
65878165891549   ANGELICA      RAMOS                    TX         90013791658
65878878555973   JUAN          MORALES                  CA         90006718785
65883722425236   IESHA         ARRINGTON                NC         90001257224
65884461451337   AMBER         BLAND                    OH         90000124614
65885767891549   ROBERT        FRESCAS                  TX         90012367678
65886327491522   RILEY         MORALES                  TX         90013743274
65886782855977   JAIME         BERMUDEZ                 CA         49040777828
65888567681628   KELLEY        SCHMITZ                  MO         90010105676
65889579655975   ROBERT        BACA                     CA         90013475796
65892528672451   JACOB         CRIPPEN                  PA         90009985286
65892827863646   KAYLEIGH      MARSHALL                 MO         90014658278
65893317461961   SEAN          SHERIDAN                 CA         90011333174
65894366957142   JUANA         RODRIGUEZ                VA         90008903669
65894923851354   AMBER         WALLACE                  OH         90011319238
65895724591998   CLAUDETTE     ISANGWA                  NC         90013147245
65895871455975   ENRIQUE       CONTRERAS                CA         48097608714
65896579825236   NETTA         BROWN                    NC         90014155798
65896692461961   WILLIAM       BOWLES                   CA         90012066924
65896874463646   CHARLES       CROWDER                  MO         90014658744
65911451925236   GRISELDA      DELGADO                  NC         90010034519
65912562955973   SUANNA        RENTERIA                 CA         48012005629
65912668461964   RAQUELLE      TAYLOR                   CA         46008066684
65915252291549   PIXII         STAR                     TX         90010912522
65915341191522   VIRGINIA      GARCIA                   TX         90014123411
65915846263646   FOREST        HENRY                    MO         90014668462
65917455763646   DOUGLAS       PROCTOR                  MO         90002034557
65917826955975   LUZ           MAGANA                   CA         48086748269
65918612555973   MICHEAL       TRUJILLO                 CA         90013546125
65921572361964   DAMON         KRANKKALA                CA         90006755723
65921989991549   CRYSTAL       HERNANDEZ                TX         90006839899
65922863163646   DIANE         OBRIEN                   MO         90014668631
65925124163646   ANGELA        CARPENTER                MO         90013041241
65925549471232   CHRIS         HUMPAL                   IA         90008685494
65926337255973   ELIDA         LOPEZ                    CA         90010583372
65926454455975   FELISHA       RIVERA                   CA         48082524544
65926961591998   YAVANDER      MELVIN                   NC         90013229615
65928129163646   NORA          PETERS                   MO         90014671291
65929453891998   CARLOS        LESSO                    NC         90013094538
65929624155975   GABY          RAZO                     CA         90014896241
65931722391994   JOHN DANIEL   POSADA                   NC         90003477223
65932396181644   MARIO         GARCIA                   MO         29009163961
65933528184392   DAUNA         MOLTON                   SC         19065495281
65935449191522   ESTELLA       BARAJAS                  TX         90004854491
65935731393777   LINDA         CONNORS                  OH         90003647313
65935979633698   TIMOTHY       FLEMMING                 NC         90013809796
65936762855975   NATALIE       DUNLAP                   CA         90014087628
65937514155975   MELISSA       OJINAGA                  CA         48051105141
65942321261961   FABIAN        ZEPEDA                   CA         90007723212
65942437255975   NACASIA       SOTO                     CA         90001704372
65943172161936   SILVANO       VALLE                    CA         90006801721
65944183161936   CYNTHIA       CAMACHO                  CA         90006801831
65944572863646   KERRY         HENRY                    MO         27563585728
65944848191549   TERESA        BLAKE                    TX         90013268481
65947758255973   VIANEY        MORENO                   CA         90014177582
65948461891549   JOSE          GERMAN                   TX         90011484618
65948762855993   MARIO         DIAZ                     CA         90005437628
65949427161964   ASHLEY        STEEL                    CA         90000704271
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65951695525236   CHAVONTE        BLACKMAN               NC         90015616955
65951731733698   RANSOM          REDM0N                 NC         90013147317
65952674391522   BELEN           VEGA                   TX         75076916743
65955488491522   CLAUDIA         LOZANO                 TX         90014744884
65955492755975   DAVENA          VILLALBA               CA         90014864927
65956573691522   BERENICE        CABRIALES              TX         90004795736
65957488491522   CLAUDIA         LOZANO                 TX         90014744884
65958268163646   ROLDEN          IMMANUEL               MO         90014692681
65958381284392   TRACY           DICKINSON              SC         19017793812
65958857255973   FRANK           ORTEGA                 CA         90013738572
65959937161961   JOSE            MORALES                CA         90014169371
65961488955973   JESSIE          DAVENPORT              CA         90010984889
65961996751354   JAEDIN          DEAN                   OH         90013349967
65962524461964   ALICIA          SANCHEZ                CA         90006455244
65963573361961   TAWNA           GRISHAM                CA         90014715733
65963713961964   SANDRA          WEST                   CA         90013447139
65965535761964   RICARDO         OCHOA                  CA         46016175357
65965976784322   WHITNEY         RYAN                   SC         90014639767
65966117461961   CECILIA         PINEDA                 CA         90001041174
65966612655973   VIVIANA         ORTIZ                  CA         48015146126
65966818163646   ANASTACIO       GARCIA                 MO         90014708181
65969548555973   AKEVA           RICHARDSON             CA         90014625485
65971446555973   VICTORIA        PEREZ                  CA         90012754465
65971586961961   HERIBERTO       VILLAFANE              CA         90014715869
65971793291522   RAUL            FRANCO                 TX         75014147932
65972282861964   EUGENIO         DUSCUSIN               CA         90014892828
65974697491923   NAKEISHA        TAYLOR                 NC         90007516974
65976754951323   JOHN            JANSON                 OH         90007547549
65979796584392   JAMES           DAVIS                  SC         19022567965
65979853655977   ESTHER S        MONTES                 CA         90004398536
65981288291549   MICHAEL         MITCHELL               TX         90005202882
65981421561936   GLORIA          AVILEZ                 CA         46016824215
65981629955975   RENNE           GIN                    CA         90011896299
65982421561936   GLORIA          AVILEZ                 CA         46016824215
65983317881653   JENELL          CLARK                  MO         90010623178
65984364933698   ANGELA          JOYNER                 NC         12010313649
65984688493762   SUSANA          BANEGAS                OH         90011396884
65985228355977   VERONICA        QUEZADA                CA         49061502283
65986259855973   AMANDA          PALMER                 CA         90007732598
65987945561961   HECTOR          BALANZAR               CA         46072919455
65988447191522   LUZ MARIA       HERRERA                TX         90005354471
65988459381644   CINDY           KAPLANIS               MO         90014684593
65989491991522   MARIA           ARRIETA                TX         90014744919
65991159581644   ALISHA          WALKER                 MO         90011701595
65991326955975   BLANCA          CHAVEZ                 CA         90013953269
65991491891522   JOSE            CENICEROS              TX         90014744918
65991826591525   GRISELDA        TORRES                 TX         90010548265
65991883585953   TIFFANY         CAISE                  KY         67039548835
65992224984561   MARIO           LOPEZ                  NY         90015522249
65995225281644   WILLIAM         GREENE                 MO         90009802252
65996161755973   SAUL            CAMACHO                CA         90005641617
65996416863646   GLYNNIS         ANDERSON               MO         27569044168
65997699725236   TIA             KNIGHT                 NC         90014616997
65998186255975   SALVADOR        ROCHA                  CA         90008511862
65998939854124   GINA            NEAL                   OR         90007279398
65999319955977   DORA PATRICIA   AGUILAR                CA         90013883199
66111259161964   SELMA           BENITEZ                CA         46007292591
66111286855973   JONATHAN        HINES                  CA         90014972868
66111698191522   MARIE           ROBLES                 TX         75042666981
66113967491522   HILDA           GUERRERO               TX         90013159674
66113969871964   EULALIO         CHAVEZ                 CO         90003019698
66116954955973   SERGIO          HERNANDEZ              CA         48063519549
66117396955975   VERONICA        MUNOZ                  CA         90010853969
66117794191562   APRIL           LOERA                  TX         75011297941
66117852555973   BRENDA          MARTINEZ               CA         90014888525
66121413971964   DAVID           OCHOA                  CO         90009884139
66122852781644   CLEMENTINA      MARTINEZ LOPEZ         MO         90013968527
66123319951354   PAMELA          SPARNALL               OH         90014463199
66123429155977   CHRISTA         HER                    CA         90015094291
66125665655973   ANA             RAMIREZ                CA         90012206656
66125729291562   MIKE            RAMOS                  TX         90009937292
66125765391998   SALUSTIO        MENDOZA                NC         17008647653
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66126123463646   RANDY          CROWLEY                 MO         27560051234
66126365371964   MICHAEL        GIANNI                  CO         90014253653
66127664584392   ROBER          CLEMENTE                SC         19077406645
66128651555975   SANTOS         BARAJAS                 CA         90000336515
66132678691522   ADRIANA        ALVAREZ                 TX         75011246786
66133932761936   MARIE          CASH                    CA         90012899327
66134473955975   SERGIO         LOPEZ                   CA         90008964739
66135823481644   DONNA          BLACKSERE               MO         29065708234
66136587393729   CHANTEL        PIKE                    OH         64561085873
66137966371964   JAMES          HAMER                   CO         90001569663
66138295171964   FAITH          LOPEZ                   CO         32020782951
66138934591998   JOSEPH         SPOKES                  NC         90014809345
66139122191562   SANDRA         SALAZAR                 TX         75038591221
66139316861964   ESTELA         OJEDA                   CA         46017643168
66141551861936   AALIYAH        KIMBLE                  CA         90012375518
66142649361936   EDWARD         ODELL                   CA         90012736493
66142991871964   THOMAS         WEBSTER                 CO         90010099918
66143751391998   DWAYNE         JOHNSON                 NC         90014867513
66143942161936   MELISSA        LOPEZ                   CA         46049979421
66144213955973   STEPHANIE      TORRES                  CA         90011442139
66145476155977   ALBERTO        CRUZ                    CA         49093484761
66145516151354   TED            DEREMER                 OH         90013825161
66146163291998   JOSEPH         BLEDSOE                 NC         90011641632
66146283391592   CINDY          KIO                     TX         90013462833
66146358555975   JUAN           VALDEZ                  CA         90012333585
66146634571964   MICHAEL        BROWN                   CO         90009776345
66146744361936   CINDY          ESPINDOLA               CA         90013037443
66147154891562   JOEL           GONZALEZ                TX         90015231548
66147754855977   DYLAN          NEWBILL                 CA         90009957548
66147929393729   BRANDI         SHANKS                  OH         64597239293
66148371271964   REGIANA        STAFFORD                CO         90012263712
66149249271976   THOMAS         MONTEZ                  CO         90007282492
66152141691562   MARIBEL        ARRUNADA                TX         75090301416
66153989655975   MARTIZA        HERNANDEZ               CA         48094249896
66153999191562   JOSEFINA       SANCHEZ                 TX         90010749991
66154623871964   MELANIE        CLARK                   CO         90014366238
66155623871964   MELANIE        CLARK                   CO         90014366238
66155755455935   MARISELA       RAMIREZ                 CA         90001607554
66156143761936   MARIA          SERRANO                 CA         90009061437
66156236541292   CARMEN         JORDAN                  PA         90001572365
66158941261964   LETICIA        OCAMPO                  CA         46001869412
66159436991522   JOHN           RONQUILLO               TX         90010984369
66162415691592   LAURA          ONTIVEROS               TX         90008904156
66163944955973   CARNELL        AUSTIN                  CA         48049319449
66166241681644   AIKIELA        WILSON                  MO         90013652416
66167148781675   JASON          KEIGHTLEY               MO         29057641487
66167739855977   ZENIA          ARENAS                  CA         90002647398
66168137655973   MARYELLEN      MAZON                   CA         90013681376
66176343271964   JUDITH         DAHLBERG                CO         90013233432
66178732991998   EDWIN          MELENDEZ                NC         90004147329
66181323655973   CARLOS         BECERRA                 CA         48062933236
66183246155975   ROSALVA        VILLAGOMEZ              CA         90014912461
66184535151354   RHONDA         EADS                    OH         66064995351
66184869693729   SAM            COOK                    OH         90014588696
66185332755975   DANNY          SANCHEZ                 CA         90009503327
66185431491592   CARLOS         OREPEZA                 TX         90000394314
66185852781644   CLEMENTINA     MARTINEZ LOPEZ          MO         90013968527
66186723593729   BRYCE          CURRY                   OH         64503627235
66188213755975   DAISY          TORRES                  CA         90014542137
66191175655935   MIGUEL         DIAZ                    CA         90007881756
66191176171964   DERECK         SAUNDERS                CO         90001151761
66191332655975   DONTAIE        HUNTER                  CA         90005133326
66191594161964   DEBORAH        HEDRICK                 CA         90014845941
66192283391592   CINDY          KIO                     TX         90013462833
66193848655975   SALVADOR       GONZALEZ                CA         90005308486
66194325991522   SUSANA         LUJAN                   TX         90010153259
66194597691525   LUIS CARAVEO   GONZALEZ                TX         90013885976
66195152491522   NAOMI          BARRAZA                 TX         90010801524
66195728591592   MARIA          DE LA HOYA              TX         75043987285
66196143661964   AZUSENA        ARROYO                  CA         90014351436
66196412591562   ERIC           THOMPSON                TX         90011544125
66196596355975   ROBERTO        VELASQUEZ               CA         90013565963
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66196968455973   CHRISTINA    WILBORN                   CA         48013059684
66197469781631   WILLIE RAY   WILLIAMS                  MO         29042624697
66197486751354   JON          WALKER                    OH         66012864867
66197918791522   JESUS        RAMOS                     TX         90009279187
66198467791562   VALPAR       ENTERPRISES               TX         75097034677
66211624391998   DENISE       LULL                      NC         90001936243
66212414693729   WILLIAM      SHEPHERD                  OH         64537874146
66212836391592   JOSE         VILLARREAL                TX         75080568363
66214433691562   BELTRAN      LAURA                     TX         90010024336
66216428661936   JAZMIN       DIAZ                      CA         90013664286
66216555591998   AMRAN        HUSEEN                    NC         90013115555
66219395151354   COURTNEY     MOORE                     OH         90014513951
66221515191592   MANNUEL      MORENO                    TX         75015235151
66221629955975   AURORA       COVARRUBIAS               CA         90012976299
66221791991562   LORENZO      MENDOZA                   TX         75032357919
66223776255977   JOHN         SAMPLES                   CA         90011337762
66224182785877   THOMAS       RYAN                      CA         90013111827
66224213393726   FRANK        REESE                     OH         90013912133
66224879263646   KAREN        HUDSON                    MO         90002498792
66226234391998   CARLOS       HERNANDEZ                 NC         90013832343
66228874491998   KENNY        MARTINEZ                  NC         90013928744
66229265655973   SIERRA       DYKES                     CA         48091302656
66232163651354   FRANCISCO    HERNANDEZ                 OH         90009491636
66233917771964   HUMBERTO     OLIVARES                  CO         90014829177
66233982393729   TAYLOR       JARVIS                    OH         90013789823
66234182981644   ERICA        WALTON                    MO         29008351829
66234873831225   TONY         GAGLIARDI                  IL        90005898738
66234981255975   ROJELIO      MARTINEZ                  CA         90013969812
66235642491522   PATRICIA     HUGHES                    TX         90014686424
66237753251354   JENNIFER     VAUGHN                    OH         90009707532
66238452161936   EVELYN       PADILLA                   CA         90011614521
66238521155975   NORMA        NAVARRO                   CA         90014585211
66241329657593   ABRAHAM      HERNANDEZ                 NM         90010373296
66242478691998   DOMIQUE      MCCULERS                  NC         90015114786
66244384491592   EDITH        VELOZ                     TX         75060523844
66244712791998   XIOMARA      FELICIANO                 NC         90012747127
66245628391998   KATRICE      WILLIAMS                  NC         90013746283
66246147755977   NICOLE       LOPEZ                     CA         90012841477
66246378855975   KRISTINA     PLUMLEE                   CA         90012813788
66246564371964   CONSULO      GONZALEZ                  CO         90007815643
66246741155975   KRISTINA     PLUMLEE                   CA         90011207411
66247288691562   LINDA        TORRES                    TX         90004622886
66247939955977   PETE         HANAMAIKAI                CA         90012299399
66249888791998   TONIE        MACK                      NC         17091298887
66251448861964   JOAN         DEAN                      CA         90002454488
66251558655973   JAY          MATTIOLI                  CA         90012275586
66251712591592   RENE         FRANCO                    TX         90014847125
66251771671964   RUBEN        CHAVEZ                    CO         32018867716
66252131555973   RIGOBERTO    SANTILLA                  CA         90014021315
66253554293789   JUANITA      KEMP                      OH         90012335542
66257679191998   KATHLEEN     MCDONALD                  NC         90013636791
66257951933698   GONSALEZ     EDUARDO                   NC         12049599519
66261139861964   LIZ          PEREZ FIGUEROA            CA         46072761398
66262136791522   PATRICIA     VALDEZ                    TX         90002461367
66262661793729   AYISHA       WALKER                    OH         90005316617
66265342691562   PAEZ         YESENIA                   TX         90004743426
66265423191522   EDWARD       GOMEZ                     TX         90014774231
66265792193729   DONALD       MOON                      OH         64514547921
66267326891522   SANDRA       VASQUEZ                   TX         75021263268
66267532471964   ROSA         VELASCO                   CO         90011865324
66268677455973   JUSTIN       WILSON                    CA         90012556774
66269849661996   DAISY        ROSAS                     CA         90011898496
66272495755973   MAGANA       MARIA                     CA         48016194957
66277287361964   TESFAYE      SAHLE                     CA         90013432873
66278995155975   JOEL         LARIOS                    CA         90001549951
66279354891522   PATRICIA     MACIAS                    TX         90013123548
66282649881644   CHIP         TOOLEY                    MO         90006906498
66283853291527   LYDIA        BANUELOS                  TX         90010968532
66284399493729   ALEX         HADDIX                    OH         90003963994
66284874961936   JOHN         SHEPARD                   CA         90011358749
66285184755973   LIZA         WHEELER                   CA         90007401847
66285221355977   RICHARD      NIETO                     CA         49093652213
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66285611455975   MA ERNESTINA   ZAVALA DE MORENO        CA         90013586114
66286713451354   JANEY          KESSEL                  OH         90014497134
66288978955975   MATT           CRAMER                  CA         90013029789
66289734881644   DENNISE        WILSON                  MO         90013807348
66291499593729   PAUL           MCDANIEL                OH         90011254995
66291729391592   DIANA          URENA                   TX         75039127293
66292941481644   ASHLEY         PRICE                   MO         29087659414
66293521655975   BERTHA         MAGANA                  CA         90003835216
66293557161964   ROBERT         BRACKEN                 CA         90013915571
66293832184392   AMANDA         RYAN                    SC         19007188321
66294168991998   JAMIE          MORENO                  NC         90014811689
66295692191562   CYNTHIA        TIJERINA                TX         90005006921
66297257371964   LILIANA        DAVILA                  CO         90009112573
66297756455975   CHERYL         CHAMBERS                CA         90012017564
66312215591998   EBONY          CLAY                    NC         90013662155
66312835871964   TAVIA          BURNS                   CO         90008438358
66313176691592   JOSHUA         MEANEY                  TX         90013961766
66313422751354   ALEMNESH       ASFAW                   OH         66099294227
66313896791522   DAVID          MORALES                 TX         90011888967
66317446371964   SORAYA         VELEZ-CRUZ              CO         90013234463
66317878155977   GRACE          GOMEZ                   CA         90005128781
66322263491592   VALERIE        GOMEZ                   TX         90014582634
66322321985986   DOMICILIO      CONOCIDO                KY         90009103219
66322944691592   BERTHA         LAVRADO                 TX         90010439446
66324539771964   MELISSA        GREGORY                 CO         90007205397
66326884293729   ANTHONY        COLE-YOUNG              OH         90008398842
66327671751354   NISHA          JOHNSON                 OH         90009546717
66328962191522   APRIL          MONTANEZ                TX         90013839621
66329679191998   KATHLEEN       MCDONALD                NC         90013636791
66332579833698   DONALD         ELLIS                   NC         90007085798
66332936491562   CHRISTINE      GOUGIS                  TX         90008959364
66333622161964   ZACHARY        YOUNG                   CA         46004286221
66334163821731   SONNY          RUPERT                  IL         90009951638
66334441455973   YUBI           CORTEZ                  CA         90013964414
66335158455975   LISA           HERNANDEZ               CA         48090761584
66335611255993   LISA           BARNES                  CA         90000666112
66336213251347   NUTAN          SHAH                    OH         90012702132
66336814991998   KARINA         CORONA                  NC         90015108149
66337293761936   CHRISTIAN      RAGGIO                  CA         90011962937
66338522161936   FREDERICK      PEREGOY                 CA         90013205221
66339262361964   MATTHEW        LIVINGSTON              CA         90013992623
66342186291562   ALEJANDRA      SANCHEZ                 TX         75087931862
66342343455977   DANIEL         MONTEZ                  CA         90009183434
66342765481631   AARIEL         LOWE                    MO         90005947654
66342849871964   ROSEMARIE      REDMOND                 CO         90006708498
66343774255975   BRENDA         AMBRIZ                  CA         90011377742
66344487455973   DANIEL         DIAZ                    CA         90007794874
66345481191562   JOSE           DIAZ                    TX         90007624811
66345756561936   YOLANDA        MARTINEZ                CA         90010277565
66346482455975   SANDRA         CAMPOS                  CA         90014204824
66346974771964   JOSE           IGNACIO                 CO         90009049747
66347197851354   ROSETTA        MCDOWELL                OH         90005561978
66347552481675   BRIAN          MALTBIA                 MO         29053495524
66347851655973   KATHLEEN       TAUSSIG                 CA         48022688516
66349156171964   TINA           LAYGHLIN                CO         90002921561
66351356891592   ARTURO         AGUILAR                 TX         90013233568
66353623191522   IVAN           MARTINEZ                TX         90005346231
66353691755977   JOSHUA         HOLMES                  CA         90001386917
66353814891998   WILLIAM        MCEACHIN                NC         17061138148
66354622961936   IVETTE         SANCHEZ                 CA         46062246229
66356197861936   JANET          DIAZ                    CA         90013281978
66356922691592   BRISEIDA       LOPEZ                   TX         90009989226
66357447981675   TELINA         SMITH                   MO         90009134479
66358411355973   JOSHUA         VAUGHN                  CA         48008364113
66358812691592   GUILLERMO      ALVAREZ-CHAVEZ          TX         75031348126
66359312291998   VIRGINIA       GONZALEZ                NC         17057323122
66359759155975   DAVED          SALGADO                 CA         90012017591
66362523655975   ANGELICA       RAMIREZ                 CA         48006475236
66363629291522   ZURIZAMAR      CHAVEZ                  TX         90011766292
66364348581644   SARAH          MCINTIRE                MO         90012263485
66365379561964   LINDA          SHAW                    CA         90003423795
66365469155975   VICTORIA       LOPEZ                   CA         90013244691
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66365569391562   MARK         ESCAJEDA                  TX         90013955693
66367268955975   TOMAS        GUTIEREZ                  CA         90011212689
66367626661936   JEANNE       JENNINY                   CA         46049676266
66368564555975   SARMIENTO    SANCHEZ                   CA         90013655645
66369449591562   NICKOLAS     QUINONEZ                  TX         90013934495
66371283591998   MARCIAL      RODRIGUEZ                 NC         90013542835
66372443955977   FERNANDO     GARCIA                    CA         90007624439
66374356271964   REYNA GARC   VALDEG                    CO         32082493562
66376913191998   JHONELLE     GUION                     NC         90005019131
66377921491998   JAVON        DANCE                     NC         90014779214
66378423281644   JOSH         MASON                     MO         90013784232
66378458991562   SANCHEZ      LUCIA                     TX         90013934589
66378918321927   TABITHA      HAYES                     IN         90014909183
66381359291562   SANDRA       PEREZ                     TX         75087923592
66382629891592   ELIZABETH    SANCHEZ                   TX         90010406298
66382951271964   TRISHA       DALE                      CO         90009609512
66384477781644   YOLANDA      GARCIA                    MO         90001904777
66385622891522   EDGAR        MARTINEZ                  TX         90011766228
66386138261559   DEZTANEE     SUMRALL                   TN         90015561382
66391665393729   JEFFERY      BOSTWICK                  OH         90014156653
66391853491562   MAYRA        MATA                      TX         90012748534
66392585771964   JAMIE        BERTHIAUME                CO         90007395857
66393453193729   ACACIA       MUNDY                     OH         90010054531
66395233155977   AIOTEST1     DONOTTOUCH                CA         90015122331
66395244291998   ANTHONY      JACOBS                    NC         90014572442
66396143581631   FLORA        GONZALES                  MO         90005951435
66397254555973   MASHELLE     RHODES                    CA         90011292545
66398144761964   AYLEEN       NUNEZ                     CA         46088281447
66398292851354   LORIA        CLARK                     OH         90014712928
66399545585843   CAROLINE     GONZALEZ                  CA         90012005455
66411637555973   MARIA        ROSALES                   CA         90000436375
66412482991562   RICHARD      HART                      TX         90013934829
66415584491562   LILIA        ZAMORA                    TX         90011225844
66415945491998   MARIO        MENENDEZ                  NC         90014859454
66416457461936   JOSEPH       VICTORIAN                 CA         90010934574
66416668691522   JULIA        MONTANO                   TX         90011766686
66416968691998   STEPHEN      MOMOANYI                  NC         90004649686
66417321155975   RUDY         BELTRAN                   CA         48067333211
66417491491562   JANETH       VENEGAS                   TX         90013934914
66418926671964   AGUSTIN      PRADO-RUIZ                CO         90010989266
66419467586426   RYAN         WALKER                    SC         90015044675
66422831151354   JONATHON     WILLIAMS                  OH         90007568311
66423359791998   NERI         LOPEZ VELAZQUEZ           NC         90013793597
66423825384392   WILLIAM      TOPPING II                SC         90005148253
66425855151354   MARK         GOVIG                     OH         66073828551
66426531281644   SHELLY       MATHEWS                   MO         90006815312
66428265191265   LARRY        HURT                      GA         14574272651
66428429855973   JONATHAN     TORRES                    CA         90014664298
66429622863646   MIRANDA      HILL                      MO         90010546228
66429798591998   SANDRA       LOCKLEAR                  NC         90013917985
66429943491592   ANGEL        RIOS                      TX         90014599434
66431256791592   SERGIO       MORA                      TX         75042362567
66431473291522   CRISTIAN     TOVAR                     TX         75012824732
66431681771964   MONTGOMARY   MICHAEL                   CO         90012316817
66432224763646   GLEN         KILLBREATH                MO         27516382247
66433446391998   AKOKO        DOSSAH                    NC         90011674463
66434181591522   ANBREA       CISNEROS                  TX         75002901815
66434962191592   ALFONSO      ARRAS                     TX         75062149621
66435473993729   CHANDA       REESE                     OH         64505384739
66436271655973   MARTHA       AGINAGA                   CA         90009762716
66437586193729   RHONDA       HUBER                     OH         64579515861
66438959191522   ARACELI      HERNANDEZ                 TX         90014669591
66439522491562   LIVYER       HOLGUINVARELA             TX         90003285224
66439828951354   STEFANIE     FELTS                     OH         66099458289
66441673681644   KIM          MARTIN                    MO         29013796736
66441828951354   STEFANIE     FELTS                     OH         66099458289
66442471591592   JAVIER       CERDA PADILLA             TX         75077924715
66445115655975   JILLIAN      SMITH                     CA         48081091156
66445788663646   KIMBERLY     MENNEMEIER                MO         90010547886
66446872691592   MICHAEL      RAMIREZ                   TX         90011088726
66447353951354   STEPHANIE    MOORE                     OH         66029453539
66447717171964   MARIA        MORALES                   CO         32095167171
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66447991455977   JOSE LUIS    VILLALOBOS                CA         90012439914
66448318491562   GLORIA       BARRAZA                   TX         75097183184
66448644855977   PHILLIP      YORK                      CA         49026506448
66449319193729   STEPHANIE    RUSSELL                   OH         90002803191
66452178891998   ASHLEY       HART                      NC         90013411788
66453291451354   JUAN         ORTIZ                     OH         90009582914
66453881691998   LORENA       NOYOLA                    NC         90014738816
66455114961995   JOSH         ALEGR                     CA         90013371149
66455735581644   CALE         MAHAN                     MO         90007827355
66458171381644   JOYCIE       BARNETT                   MO         90011251713
66458324661964   JULIETA      GOMEZ                     CA         90010423246
66458651261964   ROBERTO      CASTERENCE                CA         90012156512
66459148391562   GRACIELA     RAMOS                     TX         90015161483
66461184755973   LIZA         WHEELER                   CA         90007401847
66461655191562   SONIA        MELENDEZ                  TX         90013116551
66461967491592   VIANNEY      ZATARAIN                  TX         90002489674
66462381591562   LORENA       HERNANDEZ                 TX         90004493815
66463112255975   MARICELA     CHAVEZ                    CA         90011991122
66463279651354   COURTNEY     JACKSON                   OH         66067592796
66464199171964   COUNTRY      CAT                       CO         32016641991
66465563991592   LAURA        TORRES                    TX         75073215639
66467645293729   SARAH        BROWN                     OH         90014876452
66467646155973   SYDNEY       OWENS                     CA         48007726461
66467813293729   TENISE       ROSE                      OH         90007998132
66469193191998   BRANDY       ETCHENSON                 NC         90013411931
66471379455973   STEFFANY     RENEE                     CA         90015063794
66472388261936   RICARDO      GOMEZ                     CA         46062243882
66472546881644   CRYSTAL      CHAPPLE                   MO         90013575468
66473138991998   SHIQUITA     TAYLOR                    NC         90004871389
66473637391522   MARIA        CARDOZA                   TX         75072896373
66475394981631   CRYTAL       COLLIER                   MO         90000963949
66476133991562   SANDRA       RAMIREZ                   TX         75082831339
66477523193729   PAMELA       MCCLELLAN                 OH         64580895231
66478637855973   JORGE        MORA                      CA         90005156378
66483177791998   MICHAEL      LEACH                     NC         90011681777
66483364855973   NATHAN       CORRALES                  CA         90003683648
66485518991562   ALICIA       ZAVAL                     TX         90013935189
66485712361936   DANIEL       ROJAS                     CA         90007957123
66486844491998   RIEGINALE    BARNES                    NC         90009568444
66487188581644   ARIEL        RANEY                     MO         90011251885
66488219393729   WILLIAM      DAVIDSON                  OH         64593812193
66491277891592   SANDRA       TREJO                     TX         90011962778
66492228791592   JORGE        PEREZ                     TX         90012122287
66492758181644   TERRY        RILEY                     MO         90008657581
66493347771653   NEVAEH       SMITH                     NY         90015443477
66496865171964   JOHN         JACKSON                   CO         90014788651
66497798591998   SANDRA       LOCKLEAR                  NC         90013917985
66498269561964   CHRISTIAN    HERRERA                   CA         46039092695
66511713751354   ANGELO       DEVINE                    OH         90010167137
66513138693729   COURTNEY     BROWN                     OH         90014601386
66513293991998   OHINI        SODJI                     NC         90013412939
66513514591592   CLAUDIA      PACHECO                   TX         75009915145
66513844755977   JEANNIE      LOUISE                    CA         90013508447
66514848655975   SALVADOR     GONZALEZ                  CA         90005308486
66515365961936   BRENDA       HERNANDEZ                 CA         46090893659
66516355563646   VALERIE      SHELLEY                   MO         90012303555
66526393391592   ALEJANDRA    PULE                      TX         90014353933
66527169991522   DELFINO      CORDOBA                   TX         90011211699
66527365191562   ELIZABETH    MENDOZA                   TX         75047583651
66529225491535   PRISCILLA    HERNANDEZ                 TX         75043332254
66531282361936   DEALFRED     PERKINS                   CA         90012612823
66532196455973   CINDY        WHITLOCK                  CA         48047221964
66532915891562   NORMA        ZUNIGA                    TX         90014999158
66533752155975   CUCA AUTO    REPAIR                    CA         90005817521
66534664593729   ALEX         SCHROLL                   OH         90013086645
66534682261964   ODETTE       MOYAL                     CA         46088636822
66535563491562   LUIS         ROSALES                   TX         90013935634
66535769471964   JESSIE       JONES                     CO         90002297694
66535886491562   REGINA       GONZALEZ                  TX         90011518864
66536141661964   LUCY         GARCIA                    CA         46046101416
66536163651354   FRANCISCO    HERNANDEZ                 OH         90009491636
66536271461936   MARIA        AGUINIGA                  CA         46000822714
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66538291581644   LEAEISA      GOODWIN                   MO         90011252915
66538776855973   ASHLEY       SMITH                     CA         48045277768
66538778591562   JUAN         CAMPOS                    TX         90013257785
66539924863646   ASHLEY       NELSON                    MO         27582319248
66539991451354   RACHEL       MATHIS                    OH         90014569914
66543589991592   DIRK         DIGLER                    TX         90014395899
66543732261964   THOMAS       WARSAW                    CA         90014477322
66544284191522   FERNANDEZ    LINA                      TX         75012522841
66545875891562   JERRY        JARVIS                    TX         75096438758
66545956461936   LUCIA        PERRIEDO                  CA         90009099564
66546385391998   JAMELA       ATWATER                   NC         90013413853
66546475263646   PAYGO        IVR ACTIVATION            MO         90010604752
66547857155973   DIANA        MARTINEZ                  CA         48079958571
66548347471964   STEVEN       PADDACK                   CO         90013333474
66548655361936   ANGELICA     HERNANDEZ                 CA         90011046553
66548911663646   TRACY        COLLINS                   MO         90006339116
66548976761964   JENNIFER     SAURER                    CA         46054809767
66549752155975   CUCA AUTO    REPAIR                    CA         90005817521
66549878147992   DARRELL      GORDEY                    AR         90005338781
66551322981644   CHARLES      SCOTT                     MO         90015153229
66552988771964   ANTHONY      TRUYILLO                  CO         32054039887
66553514961964   PABLO        RIOS-GRACIANO             CA         90011085149
66553939361936   TIAN         MCCUBBIN                  CA         90008009393
66554863963646   OSIAS        TOTO                      MO         90001728639
66555366255977   NOE          RODRIGUEZ                 CA         90014373662
66555545755973   TIMOTHY      TAYLOR                    CA         90014835457
66556882863646   ZACK         GRANT                     MO         27516948828
66558265555977   PETE         TUMOLINE                  CA         90011312655
66558728191562   GILBERTO     RAMIREZ                   TX         75076707281
66559267861936   MARK         VILLAVICENCIO             CA         46044522678
66561362955975   VIVIANA      SOLTERO                   CA         90000873629
66562529951354   CHRIS        HARRIS                    OH         90013825299
66565475541259   KATE         SCALZITTI                 PA         90009934755
66565722755977   INES         PORRAS                    CA         90002307227
66565884681644   UBIER        SOTO                      MO         90013988846
66567427381675   MAHOGANY     BOSTIC                    MO         29036844273
66567487291552   CESAR        ARMENDARIZ                TX         75007154872
66572548755975   ANTHONY      BRAVO                     CA         90012405487
66572689155973   T            BELLA-MENDOZA             CA         48000216891
66573491691592   JOSE         RODRIGUEZ                 TX         90013984916
66573535271964   BARBARA      PEPPER                    CO         32020685352
66573571855975   PATRICIA     MANZO                     CA         90012405718
66573996593762   KELLEY       HUGUELY                   OH         64509629965
66574954791522   VALERIE      FERNANDEZ                 TX         90014909547
66575618181631   HEIDI        LECK                      MO         29016516181
66575778551354   OLGA         GUERRERO                  OH         66069777785
66575898991562   GRACE        ARROYO                    TX         90009878989
66576583391562   ROSA ISELA   ROJAS                     TX         90013935833
66576784293729   JOI          WHITING                   OH         64517587842
66578538651331   CELINE       BRAY                      OH         90003815386
66579935981644   BRANDAN      BENNETT                   MO         29030619359
66581152155973   NATALIE      MENDIVIL                  CA         90012071521
66582177291562   SERGIO       BUSTAMANTE                TX         90006561772
66582339991562   GONZALO      MONREAL                   NM         90015523399
66584168561964   JOANNA       RODRIGUEZ                 CA         90013591685
66584694761936   HEIDI        PASTORE                   CA         46043526947
66585942691522   ROBERTO      RODRIGUEZ                 TX         90011769426
66586881151347   MICHAEL      MCCUTCHEON                OH         90001538811
66587452161936   EVELYN       PADILLA                   CA         90011614521
66587774991562   VALENTIN     GRANA                     TX         90007967749
66588474155975   INDIRA       TRONCOSO                  CA         90013194741
66589248991998   OBINNA       FRANK                     NC         90005832489
66589642955973   JENNY        RAMIREZ                   CA         90010956429
66589788371964   JONATHAN     SANTANA                   CO         90007557883
66589878571964   JONATHAN     SANTANA                   CO         90014278785
66591684661936   LUIS         FLORES                    CA         90012296846
66592141661964   RANDOLPH     PACHECO                   CA         90013011416
66592794971964   ANA          GARCIA                    CO         90008797949
66592878147992   DARRELL      GORDEY                    AR         90005338781
66593319191998   SHANAN       COX                       NC         90011693191
66593588591562   CRYATAL      ALVAREZ                   TX         90013935885
66594455981631   SHARON       BARR                      MO         29069424559
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66595591491562   JESSICA         RODRIGUEZ              TX         90013935914
66596138691522   JOSE            CERVANTES              TX         90014671386
66597855891522   MIRIAN          LUNA                   TX         90014688558
66598725655977   ESTELLA         ZAVALA F               CA         90011437256
66598727991863   LYNDELL         POWELL                 OK         90010407279
66599193991522   PRICILLA        PEREZ                  TX         90014701939
66599329191998   YANET           LAZO                   NC         90011543291
66599524655975   BILLIE          SOTO                   CA         90014475246
66611366751354   DANIELLE E      FELBLINGER             OH         90014523667
66611524161964   VERICA          SORIANO                CA         90003485241
66614768351354   JAMEE           CALLAWAY               OH         66090227683
66614889433656   LORI            JOHNSON                NC         90013858894
66615679255977   MARGARITA       LEAL                   CA         49064136792
66618143471964   NIDYAWATI       SUSANTO                CO         90001801434
66621943881644   JOSE            MARTINEZ               MO         90008579438
66625148255973   ROBERT          FRENCH                 CA         90010531482
66627696791562   GUADALUPE       GONZALEZ               TX         75039536967
66628744391592   FRANCISCO       VALENZUELA             TX         75084477443
66631457691592   ANAHI           CARMONA                TX         90007384576
66631868291522   BLANCA          GONZALEZ               TX         90014688682
66632478893729   GABRIELA        MIRAND                 OH         90012934788
66632931581644   CHRISTOPHE      LOBATO                 MO         29002619315
66633866191522   JOSE            DE LA TORRE            TX         90004138661
66634173791562   ALMA            FLOREZ                 TX         90011831737
66634469361936   TRAVIS          LONG                   CA         90012654693
66635773655973   JAMES           GUERRERO               CA         90004607736
66637832755975   NANCY           CASTANEDA              CA         90013448327
66637852463646   MARK            LARUE                  MO         27590908524
66639357155973   TAMMIE          SNOW                   CA         48046623571
66641652991998   JUAN            SANTIAGO               NC         90011696529
66642249691998   HEATHERY        DUNN                   NC         90013122496
66642576561964   MAYTEE          GOMEZ                  CA         90013675765
66643366751354   DANIELLE E      FELBLINGER             OH         90014523667
66645623655973   VICTORIA        MARTINEZ               CA         90008126236
66645868881631   GRIA            ELLISON                MO         29035198688
66648263555973   YESENIA         HERRERA                CA         90011922635
66649336591998   DONALD          SNELL                  NC         90013123365
66649758891592   ANA             FRANCO                 TX         90007307588
66652113891522   ROBER           GARCIA                 TX         90004821138
66652599961936   HEATHER         DURAN                  CA         90011035999
66652911893729   DARIA           CARTER                 OH         90001089118
66654223455975   ANNABEL         VALDEZ                 CA         90014742234
66654721171964   JENNIFER        MCINTYRE               CO         32048287211
66654975381631   ALEXANDRIA      VARGAS                 MO         29047229753
66655156742587   MAMIE           TOURAY                 WA         90011151567
66656377671964   HOWARD          SMITH                  CO         90011133776
66656542891562   JAQUELINE       RIVAS                  TX         90011105428
66658247691592   GIA             MICELI                 TX         90008382476
66658284161964   ANA             ISABEL BARRIOS         CA         46014872841
66659352391592   CLAUDIA         ANGUIANO               TX         90012723523
66659352855975   TONY            RODRIGUEZ              CA         90013813528
66661673681644   KIM             MARTIN                 MO         29013796736
66662848371964   JENNIFER        RABELL                 CO         90014498483
66663393391592   CRYSTAL MARIE   GOMEZ                  TX         90014043933
66663788391998   FRANCISCO       JUAREZ                 NC         90015097883
66666431891562   NICOLE          ARMENDARIZ             TX         90012434318
66666467755991   LEEROY          HOLLEY                 CA         49024504677
66667174391998   MARIA           AGUILAR                NC         90010821743
66667252755977   CLIFFORD        MCILLWARN              CA         90012582527
66668922591998   WENDY           ALEMAN                 NC         17064009225
66669376855977   JOE             GOMEZ                  CA         90011333768
66671363591562   ISELA           LEON                   TX         75077313635
66671842471964   DANTE           BUTCHER                CO         90014518424
66673424591522   NOE             RODRIGUEZ              TX         90011774245
66676883691562   VICTOR          PEREZ                  TX         75065528836
66678175791998   JAVIER          ROBLERO                NC         90008651757
66678295691592   GLORIA          SANDOVAL               TX         90011402956
66678457731422   DENISE          FLYNN                  MO         90004104577
66678774254173   ALBERT          JAYMA                  OR         90002477742
66679757255983   JESSICA         CORONA                 CA         90013017572
66681313551354   MIGUEL          ALCOIN                 OH         90014883135
66682639651354   JILL            STIDHAM                OH         66000276396
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66682787981644   EH                MOO                  MO         90014777879
66683156691998   ANGELA            IMENEZ               NC         90013131566
66685381261961   ALEJANDRA         CAMPBELL             CA         46076903812
66685645281644   GUADALUPE         NAJERA               MO         90007836452
66686342461936   ESTHER            PENA                 CA         90013183424
66687691151374   MICHELLE          R.SESTER             OH         66027946911
66687833355973   REYNA             RENDON               CA         48086458333
66688334793729   TAMMI             EVENS                OH         90013933347
66688544255975   ANDREINA          SALINAS              CA         90012185442
66688695451354   ROBERT            GILREATH             OH         90014756954
66689217451354   RITA              STAPLETON            OH         90014842174
66689734791562   JOE               DE LA PAZ            TX         75020737347
66691519371964   MOSES             VARGAS               CO         90000495193
66692425377584   REBECCA           HARVEY               NV         43088094253
66693438691998   DAVID             HENCE                NC         90015174386
66693467655975   ELIZABETH         VILLA                CA         90013244676
66693565691998   SEBRELLE          JENKINS              NC         90013575656
66694515871964   MICHAELA          GRHAM                CO         90012515158
66694878861936   DAVID             RODRIGUEZ            CA         90005568788
66694942291998   BRITTAINEY        DUNN                 NC         90011149422
66695511991562   SILVIA            GONZALEZ             TX         75095765119
66697381291522   SALAZAR ARNULFO   PARRA                TX         90011803812
66698911755973   MARINA            SOUSA                CA         90009809117
66699843691998   ITALY             LANDRY               NC         90007238436
66699936181644   SHANTEL           BRITTON              MO         29042589361
66712396993729   NATHAN            CANNON               OH         90013933969
66714636384392   TIERRA            TOWNSEND             SC         90009996363
66714774171964   MICHAEL           WADSWORTH            CO         90013047741
66715487261995   FRANCOIS          KOVAKOU              CA         46011004872
66715846671964   ALEXIS            JOHNSON              CO         90013008466
66716215255975   OVIEL             LUNA                 CA         90011242152
66716614691562   YADIRA            AMBRIZ               TX         90013936146
66716752455977   HON               SOLO                 CA         90012777524
66716942861964   JORGE             SECUNDIN             CA         90013629428
66717411691592   GUADALUPE         ARMINIO              TX         90012064116
66717513791522   THOMAS            WICKENBERG           TX         90011775137
66718513791522   THOMAS            WICKENBERG           TX         90011775137
66718536871964   CARLOS            ZEPEDA               CO         32051585368
66718817891562   ALMA              ALVARADO             TX         90013228178
66718983471964   DERRIN            SIMMONS              CO         90014589834
66719591791592   ERICA             JAQUEZ               TX         90014675917
66722341855975   ROSA              ALCANTAR             CA         48067613418
66723756491998   RUDY              HALE                 NC         90011707564
66724584463646   STACI             JOKELA               MO         90005485844
66725231891998   VIRGINIA          AGUILAR DOUTHAT      NC         90013132318
66725365371964   SANTOS            ARELLANO             CO         32076163653
66726483661964   GUADALUPE         MERRELL              CA         90012174836
66726584463646   STACI             JOKELA               MO         90005485844
66729458681675   WANDA             GIVEN                MO         29009734586
66734185361936   JORGE             VAZQUEZ              CA         90000321853
66735992455975   LIZ               GOMEZ                CA         90008739924
66737384955977   EMELITO           SANTIAGO             CA         49011653849
66737531484392   TONY              REEVE                SC         19018945314
66739468191562   ANA               GUZMAN               TX         75087874681
66744119855975   RAUL              RAMIREZ              CA         90006251198
66746139557549   ANDREW            BRAINARD             NM         90013031395
66746434151354   TROY              POWELL               OH         90010794341
66748347161964   CLEMENTINE        MUNYAGA              CA         90012033471
66748613955973   GABRIEL           GARCIA               CA         90014156139
66752426461936   TERA              MONTELEON            CA         90014454264
66752663161996   KARLA             RAMIREZ              CA         90011226631
66752722791522   MARISELA          RIVAS                TX         90014697227
66753449491522   XAVIER            CARRANZA             TX         75061374494
66754211855973   MICHAEL           OYELAKIN             CA         90003782118
66754773371964   MARY              PRUETZ               CO         32060017733
66755515391592   JOSE              MONTOYA              TX         90011015153
66756139261964   ENRIQUE           ESPINOZA             CA         90008551392
66756776891522   FERNANDO          HUITRON              TX         90001727768
66757156663669   BRENT             LABONDE              MO         90010371566
66757489691998   SHAWANDA          VALDIVA              NC         90011714896
66758328561964   NICHOLAS          NORTH                CA         90015153285
66759249691522   NORA              SIERRA               TX         90012762496
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66759523371964   ATHENA        MEYERS                   CO         90013235233
66759578271964   TAYLOR        SIMPSON                  CO         90015585782
66763724191522   ISRAEL        HARDEN                   TX         90014697241
66766988285944   CHRISTOPHER   MUGHES                   KY         90007609882
66767584791998   LACIE         WOOTEN                   NC         90013415847
66768235751354   NANCY         METCALF                  OH         90001532357
66768583481631   MICHEAL       HURLEY                   MO         90005985834
66771426391522   JESENIA       GARFIO                   TX         90000964263
66772234661936   MARTHA        MACIAS                   CA         90012762346
66772974855975   MARIA         HERRERA                  CA         90012899748
66781289381644   KIESHA        JEFFRY                   MO         90012592893
66781677661936   SEAN          MURPHY                   CA         90013016776
66782645293729   TYRONE        OODY                     OH         90013096452
66782685161936   ISOJXELA      AICLEAV                  CA         90015206851
66783547261964   MOLINA        IRMA                     CA         90012555472
66783639355977   SCOTT         CLARK                    CA         90013226393
66784626291592   ASHLEY        RESENDEZ                 TX         90012736262
66786663355975   ROBERT        URBANEK                  CA         90013076633
66786983391522   SUSANA        ARANDA                   TX         75025789833
66787725891522   BRENDA        SOLIS                    TX         75085637258
66791186191562   GUS           RAMIREZ                  TX         90010981861
66791657891522   CRUZ          ACEVEDO                  TX         90011776578
66792654161964   FRANK K.      NADERMANN                CA         90005236541
66794555691562   ESTELA        MURILLO                  TX         90010575556
66794574291592   MARLINA       CARRILLO                 TX         90003295742
66796642451354   CIAIRAH       MARSHALL                 OH         90011066424
66797785555973   HONORATO      LOPEZ                    CA         48032647855
66797858655977   JOHN          ESPINOZA                 CA         49038298586
66797877991562   JOSE          CASTEDA-ELIZALDE         NM         90012288779
66798766461964   WILLIAM       HAYNES                   CA         90010667664
66811643791562   ALEXSIS       YUDICO                   TX         90013936437
66815421455973   JOE           RUIZ                     CA         90014404214
66815627391998   PAUL          TOLE                     NC         90014976273
66815635891562   SAUL          RAMIREZ                  TX         75098426358
66816264571964   CLARISA       MARTINEZ                 CO         90014522645
66816664451354   EDITH         WASHINGTON               OH         66074136644
66817718591522   IRMA          ESPINOZA                 TX         90015067185
66818347591998   CATALINA      MONTOYA                  NC         17077203475
66819674281644   CAITLYN       WISECUP                  MO         90001556742
66819746691562   MELISSA       CONTRERAS                TX         75000207466
66819781291562   ROSIO         YANEZ                    TX         90009147812
66821479691522   MARIE         LOPEZ                    TX         90013214796
66822292651354   CHERISH       MARCUM                   OH         90010932926
66822298657131   EMILY         JACKSON                  VA         90005292986
66822697351354   CHERISH       MARCUM                   OH         90012586973
66822771481644   DANIEL        KEIL                     MO         90010287714
66829191991998   ANASTASIA     RICHARDSON               NC         90015291919
66829427361936   JOSE          PEREZ                    CA         46090804273
66829537531448   MATHEW        LINDSAY                  MO         90011515375
66832415761964   LUISANA       REYES                    CA         90004244157
66835997361964   ROSA          PAVON                    CA         90009299973
66837476261936   BLAS          VAQUEZ                   CA         90005174762
66839168551354   BETHANI       NOLAN                    OH         66020641685
66841568451354   CHRISTY       MATHIS                   OH         66077635684
66841833955975   MARIA         LUNA                     CA         90014308339
66843537951354   JOSE          TREJO QUINTANA           OH         90004925379
66844984155975   OSCAR         CARRILLO                 CA         90000979841
66845238161964   JOSE          CARLOS                   CA         90015032381
66846737291998   KYONTA        ANSBURY                  NC         90015337372
66846928991522   BRENDA        ESCAJEDA                 TX         75079349289
66847981291937   FRANCISCA     DURAZNO                  NC         90003119812
66848499981644   TRAVIS        REILEY                   MO         90014864999
66849268455977   NANCY         LOPES                    CA         90000292684
66851444881644   CHAUNTAE      HUGHES                   MO         29034554448
66852112461964   SHARONDA      TRAN                     CA         90008271124
66852645691522   FENIX         CALDERON                 TX         75073636456
66855478861964   LISA A        HOSKINS                  CA         46039114788
66856345481631   TIFFANY       TAYLOR                   MO         29016613454
66856546791592   AGUSTIN       OLVERA                   TX         90009055467
66856899455973   JON           RAINS                    CA         48028398994
66857295691522   GLORIA        SANDOVAL                 TX         90011402956
66857654191562   VANESSA       ALVARADO                 TX         90013936541
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66857951791998   DIANA          CORBETT                 NC         90013159517
66858812651354   MARY           TURNER                  OH         66005738126
66859165161964   JULIO          LINARES                 CA         90011201651
66859419261936   REYES          MARTINEZ                CA         46073134192
66862654391562   LUIS           MONTERO                 TX         90013936543
66862749155975   JOSHUA         ESURRECCION             CA         90014147491
66863788861988   RODRIGGUEZ     FRANCICCO               CA         90003317888
66864419161964   STELLA         DELGADILLO              CA         90007514191
66864666155975   JAMES          MATHEWS                 CA         48065076661
66865344761936   ROCIO          CHAVEZ                  CA         46006643447
66865975751354   REBEKAH        HORNSBY                 OH         90011169757
66867162391592   MARIA          HERRERA                 TX         90012761623
66867912261936   FRANKIE        KELCHNER                CA         90011649122
66868461291592   CAROLINA       GONZALES                TX         90012304612
66869658291562   LINDA          AGUIRRE                 TX         90013936582
66871186255975   SALVADOR       ROCHA                   CA         90008511862
66872459891592   VICTOR         ALMAGUER                TX         90012754598
66872482857549   DESTINIE       FLORES                  NM         90012604828
66872521391562   ALICIA         GARCIA                  TX         90014015213
66873594971964   ADELICIA       KARAFFA                 CO         32086195949
66873618991522   ANGEL          DIAZ                    TX         75012196189
66873787191562   LISA MARIE     BROWN                   TX         90013937871
66873827791592   MARIBEL        ALBA                    TX         90000948277
66874456161964   LUIS           BARRAGAN                CA         90003114561
66875455181644   PEDRO          ALFONSO                 MO         29047544551
66875546191592   ARTURO         AZCARATE                TX         90006265461
66876656591562   MATEO          JIMENEZ                 TX         90013936565
66877656591562   MATEO          JIMENEZ                 TX         90013936565
66877698891522   SALVADOR       MARTINEZ                TX         90002566988
66877821371964   MATTHEW        SHAVER                  CO         90014618213
66879458191592   RODOLFO        MUNIZ                   TX         90012454581
66879821371964   MATTHEW        SHAVER                  CO         90014618213
66881179191522   ELISEO         VELARDE                 TX         90012781791
66881353661964   ROSA           DURAN                   CA         90015143536
66881529355977   JAMES          HOOVER                  CA         49088985293
66883352761936   GERARDO        GASPAR                  CA         46068873527
66884457455975   OMAR           AESTRELLA               CA         90015264574
66886572491562   ALFRED         GALLARDO                TX         90013365724
66887649271964   TARA           BUDESHEFSKY             CO         32040206492
66887662991562   CLAUDIA        ROBLES                  NM         90013936629
66888432791998   JAMES          DALLAIRD                NC         90015004327
66892345551354   ARMONDO        THOMAS                  OH         90015093455
66892784391562   ARACELI        CARLOS                  TX         90011977843
66893181461936   NOE            MORALES                 CA         46010961814
66893233761964   MARISSA        MENDOZA                 CA         90012932337
66893647155977   SHAWNA         FICKLE                  CA         49082536471
66894259551354   TAMMY          ISOME                   OH         90011642595
66894262681678   SHERITA        MLOINZEY                MO         90011662626
66895269455975   RUDY           GARCIA                  CA         90014912694
66896144455977   GLORIA         SAYLES                  CA         90010921444
66896899591592   NORMA          GARDEA                  TX         75009188995
66897329891592   TIMOTHY        MALONE                  TX         90013603298
66897557181644   APRIL          MERCER                  MO         90010975571
66897891155975   STACY          CHASSAR                 CA         90012458911
66898148591998   DONNA LITTLE   LITTLE                  NC         90006611485
66911823871964   JASMIN         MCCOY                   CO         90014088238
66912121941291   WILLIAM        ZOLLNER                 PA         51015621219
66912571355973   BERNARDINO     VILLAREAL               CA         90009635713
66912939691562   NICOLE         BENCOMO                 TX         75028659396
66913593591522   ANGEL          CABRRERA                TX         75030355935
66914414393729   CHRISTY        SMITH                   OH         90013934143
66914764181644   ROBERT         KING                    MO         90003717641
66915185261936   MARCELLA       PHILEMON                CA         46078961852
66915588255977   DOMINIQUE      NOVELLA                 CA         90013975882
66916166791998   SHIRLEY ANN    LUZZIE                  NC         90006481667
66917255655977   RIYADH         MUTHANNA                CA         49094202556
66917488491592   JOSE           ZEPEDA                  TX         75045484884
66917524671964   ROLANDO        LOPEZ                   CO         90012455246
66917612491562   LEYLA          ZEIDAN                  TX         75002576124
66918178791998   RASHONDIA      YOUNG                   NC         90013421787
66918254591592   SALVADOR       VELASCO                 TX         90010392545
66919874291522   MELISSA        SOLIZ                   TX         75016648742
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66921535661936   SHERRELL     KINSLER                   CA         90012855356
66923277351354   TERRY        WHITED                    OH         90013212773
66923639191522   KIMBERLY     GONZALEZ                  TX         90012176391
66924183261936   JESSICA      CROWELL                   CA         90010551832
66926663161964   RICHARD      DEGRAFFENREID             CA         46073226631
66927121591998   COREY        BYNUM                     NC         90013451215
66927392761936   PEDRO        GONZALEZ                  CA         90000323927
66927462761964   ROSLEEN      LEON                      CA         90010744627
66929489693729   DANETTE      ZURFACE                   OH         64504814896
66932514751354   ADAM         GIBBS                     OH         90014515147
66933147561964   PURISIMA     PALADA                    CA         46088801475
66933417155973   MICHELLE D   TERRY                     CA         90007144171
66933554393777   AMANDA       HOWERTON                  OH         90011295543
66934876281631   JAMES        BROWN                     MO         90005368762
66935857261964   NORLAN       CAMPOS                    CA         46025758572
66936433151354   JANET        PUCKETT                   OH         66068074331
66936491191592   MARIBEL      SIERRA                    TX         75006234911
66937162991522   ROSA         LOPEZ                     TX         90006651629
66938239891522   MARIA        ARRELLANO                 TX         90000192398
66938688491562   CHAVEZ       REBECA                    TX         90013936884
66939983491592   RICARDO      CASAS                     TX         75014729834
66941439961936   DANIEL       VILLEDA                   CA         90001414399
66941588981644   ELIZABETH    MENDEZ BENAVIDES          MO         90014175889
66942233381644   ISIDIO       GARCIA                    MO         90012242333
66942877955975   JOSE         REYES                     CA         90000358779
66944469693729   SHERYL       MANNING                   OH         64575964696
66944523171964   JACKIE       PITONES                   CO         90012885231
66944581293729   JANINE       THOMAS                    OH         90014615812
66946325751354   DANIEL       REEVES                    OH         66012383257
66946359555973   DAVID        RUTLEDGE                  CA         48014263595
66946553733681   ANTWAN       STEELE                    NC         90012465537
66947879391998   SIERRA       WILLIAMS                  NC         90013928793
66953529391592   BOBBY        PADILLA                   TX         90012615293
66953694155977   FRANK        SIERRAS                   CA         49032576941
66954378791522   CARLOS       BALLI                     TX         90003123787
66954436791592   JOVITA       ARMENDARIZ                TX         75047884367
66956572581661   TERESA       HALE                      MO         29004085725
66957994871964   MONICA       DOUGLAS                   CO         32043759948
66958252885695   ABISAI       HERNANDEZ                 NJ         90007962528
66958752155973   ROMIE        CARRASCO                  CA         90014847521
66959637355975   CONSTANZA    TOPETE                    CA         90013016373
66961367633698   JOSEPH       ASHE                      NC         12006503676
66961533361964   GUADALUPE    GIBSON                    CA         90006325333
66963851361964   RICARDO      DE LEON                   CA         46058778513
66966917791522   LESLYE       GARCIA                    TX         90014699177
66967446461936   EULALIA      PULIDO                    CA         46054164464
66969513591562   JAIME        CISNEROS                  TX         90013935135
66971366251354   STEPHANIE    CLARK                     OH         66022173662
66971462891592   DEANNA       MAXWELL                   TX         75031584628
66973827951354   KASSANDRA    NEDVED                    OH         90010338279
66974749551354   SHAWN        UBREY                     OH         66039487495
66976788255975   MARISELA     SANCHEZ                   CA         48052477882
66976971955973   RACHEL       BINNING                   CA         48044669719
66977274993729   TINA         EBBING                    OH         90011302749
66977482691998   SAM          GARDNER                   NC         90015214826
66977785861936   JUSTIN       DEAN                      CA         46092607858
66977865991562   JOSE         SOTO                      TX         90014368659
66977966381644   RACHELLE     BYRD                      MO         29067639663
66978833355973   REYNA        RENDON                    CA         48086458333
66979237391535   DIAZ         NORMA                     TX         75094292373
66981295655973   MONICA       HOUSER                    CA         90011352956
66981537891592   JANI         MEDINA                    TX         75054765378
66981831291998   MAYRA        RAMOS                     NC         90006278312
66982288871964   MICHELLE     LAUDONE                   CO         90014602888
66983162293729   JESSICA      HALL                      OH         90009261622
66983244891998   GRAHAM       SMITH                     NC         90011862448
66983332931256   BRENDA       DAMIAN                    IA         20535473329
66984543893753   LAWRENCE     LITTLE                    OH         90000965438
66985513591522   CYNTHIA      ESPARZA                   TX         90001835135
66985674171964   TANIA        VALDES                    CO         32065396741
66987573393729   EBONI        TURNER                    OH         90015045733
66988297593729   BRANDON      BRZOZIWSKI                OH         90014602975
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66989249155977   BEN          LUCERO                    CA         90014012491
66989435991592   JORGE        DURAN                     TX         75086064359
66991467255977   WILSON       ZUNIGA                    CA         49059924672
66992543584392   STACIA       MURRAY                    SC         19014215435
66992997155941   AIMEE        LAFRENAYE                 CA         90004929971
66993259961964   GRACIELA     GUERRERO                  CA         90008582599
66993524491998   JANSY        ABREGO                    NC         90014695244
66994726771964   TEGAN        BREHM                     CO         90013097267
66995472991562   JUAN         RUIZ                      TX         75038874729
66997821355975   ALEXIS       ALEXANDER                 CA         90013178213
66998161841271   STEPHANIE    WITTLER                   PA         90013731618
67111326151354   WAYNETH      PHELPS                    OH         66094413261
67112257255977   LISA         CASTILLO                  CA         49072702572
67114111321633   LATIA        DOWD                      OH         90014241113
67114981671921   TABITHA      DEKREY                    CO         32066729816
67116737391522   URIEL        OROZCO                    TX         75046177373
67117245791562   LETTY        SANDOVAL                  TX         90013332457
67117586351354   TRACY        MCFARLAND                 OH         90011865863
67119288651354   KEISHLA      ABREU                     OH         90009242886
67119976785689   FREDDY       LORENZO                   NJ         90011919767
67121785555973   HONORATO     LOPEZ                     CA         48032647855
67123632961964   ALEXANDER    REYES                     CA         90010916329
67124763455977   ELSA         MARTINEZ                  CA         49058797634
67125423371921   MARA         O'SULLIVAN                CO         90013334233
67126416691572   ELIZABETH    GONZALEZ                  TX         90008624166
67126875281675   AYLA         LOUISE                    MO         90003718752
67126895984392   LUCILLE      VEGA                      SC         90011408959
67126999555973   ANNETTE      ATTILANO                  CA         90014769995
67128189971921   SOFIA        APODACA                   CO         90014531899
67128959191522   MARLON       FRIAS                     NM         90014699591
67129195684392   PRISCILLA    DUGGINS                   SC         90013621956
67129372671921   JENNIFER     ANSELMO                   CO         90012243726
67131867191534   JORGE        SANCHEZ                   TX         75046928671
67133138955973   TEVITA       TONGA                     CA         48050871389
67133458755969   LAURA        MURILLO                   CA         90014704587
67134778631455   LATARA       FRANKS                    MO         90002677786
67134968951354   CAROL        JACKSON                   OH         90012009689
67135936591549   GUADALUPE    GARCIA                    TX         75090519365
67136528693762   DONNA        ROSS                      OH         64577935286
67136559991522   LUZ          MARTINEZ                  TX         75069525599
67136719891562   LOPES        ALEXIS                    TX         90007827198
67137686584392   YUMILA       LOPEZ                     SC         90014376865
67138367261936   SHAWN        PORTER                    CA         46065173672
67138857491522   ESMERALDA    VILLAPANDO                TX         90011108574
67139338891522   DAVID        MORALES                   TX         90013483388
67141832671921   JANELLE      MIELBECK                  CO         90013768326
67141853691522   JASON        PEREZ                     TX         90002918536
67143725461964   CHRIS        CONWAY                    CA         46000977254
67145635584392   JASON        BOOTS                     SC         90014886355
67145755591998   DWAYNE       CARRIGO                   NC         17065727555
67146378855977   PAMELA       RICHMOND                  CA         90001673788
67146887755973   LEWIS        WILLIAMS                  CA         90009748877
67149553581675   MERIAH       HIGGINS                   MO         90010165535
67149846957595   LUCY         CHAVEZ                    NM         90014678469
67151991661936   MICHAEL      BOJORQUEZ                 CA         90008789916
67153244772449   CARA         THOMPSON                  PA         90001662447
67153634861964   AIOTEST1     DONOTTOUCH                CA         90015116348
67154811555977   XOB          VANG                      CA         90010258115
67157693561964   JOHNNY       RIVERA                    CA         90013256935
67158589755977   STEVEN       KILLIAN                   CA         90013925897
67158834491522   JOSE         MARTINEZ                  TX         90011788344
67159817191522   JOSE         CRUZ                      TX         90011788171
67159895485689   JUAN         RODRIGUEZ                 NJ         90010798954
67163933855973   MARLENA      TALAMANTEZ                CA         90001299338
67164117561964   LETICIA      REYES                     CA         90013641175
67164345661936   RAPHAEL      BELL                      CA         90014333456
67165435991562   VILLANUEVA   RAMIREZ                   TX         90014654359
67165852151354   ROBIN        RETHERFORD                OH         90012118521
67167582981644   LORITA       DAVIS                     MO         90014835829
67168159385689   EDGAR        GABRIEL                   NJ         90014251593
67168346661964   NOEMI        CHAVEZ                    CA         90009973466
67169255161964   ELISA        FERNANDEZ                 CA         90012602551
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67169284254163   ANTONIO        SALGADO                 OR         90013952842
67169434155973   CLAUDIA        PINEDO                  CA         48075274341
67169945691998   FELECIA        HARRIS                  NC         17050869456
67172637261936   LEE VIRT       QUILLAR JR.             CA         90004736372
67173227791522   CELIA          SANCHEZ                 TX         75012182277
67173526361936   ADAN           GONZALEZ PENA           CA         90012695263
67173786384327   TERRI          DANTZLER                SC         90010507863
67175149655977   DELORES        HILL                    CA         90014711496
67175529385689   TAMIKA         STOKES                  NJ         90010965293
67175996655993   SALVADOR       ORTEGA                  CA         90011489966
67176136393762   IESHA          BARRETT                 OH         90013251363
67176567971964   KAREN          MADRILL                 CO         32082125679
67176682931661   JEFFREY        MERRY                   KS         90001596829
67177333891562   JULIAN         TORRES                  TX         90013773338
67177515771921   JENNIFER       MANDEVILLE              CO         90014085157
67177714881675   MELISSA        MITCHELL                MO         90014807148
67177721151354   ALEJANDRO      CORTEZ-HERNANDEZ        OH         90013607211
67179521171921   ADAM           BURDGE                  CO         90013845211
67182267991562   GLORIA         MENDEZ                  TX         90014772679
67182623555977   ANTONIO        OLIVERA                 CA         90014446235
67183836691562   JOSEFINA       REYES VELASCO           TX         90005598366
67183932971964   JOHN           DAVID                   CO         90011969329
67184523391562   JULIO          LOPEZ                   TX         75040495233
67189251461936   REBECCA        MCCARREN                CA         90009912514
67189289791562   LUIS           ROSALES                 TX         75040162897
67189885751352   KRYSTAL        LEWIS                   OH         90010838857
67191114691562   BRIAN          PETERMAN                TX         90011431146
67193826661936   MARIA          VEGA                    CA         46077598266
67194351581644   MRS            EVETTE                  MO         90004623515
67194374371921   STEVEN         SETOLA                  CO         32050893743
67194425455977   MARTHA         RAMOS                   CA         49009724254
67195577655977   KALEB          WITHERSPOON             CA         90009915776
67195745281675   ALEXISIS       SLATES                  MO         90010937452
67197299161936   MICAELA        SANCHEZ                 CA         46016092991
67197679291552   MARIA          BUJANDA                 TX         90000246792
67198484891562   HECTOR         HOLGUIN                 TX         90009684848
67199152141272   PHYLLIS        REILLY                  PA         90009171521
67199548161964   DEBRA          RODRIGUEZ               CA         90001775481
67211628261936   VICTOR         MENDOZA                 CA         90012016282
67211995581644   JESSANN        HAHNER                  MO         90006109955
67212765251354   RITA           JOHNSON                 OH         66073407652
67212874191522   SAUL           JAGUAR                  NM         90011788741
67213691691522   MAIRA          RORALEJO                TX         75024776916
67213741991527   LISA           SANCHEZ                 TX         75099237419
67214139385689   PEGGY          JONES                   NJ         90001561393
67214238961964   FRANK          FEREDONI                CA         46009572389
67214923591998   SYLVIA         PERSON                  NC         90010579235
67215298591998   RIQUERIA       BARREIRO                NC         90014902985
67219598455973   CARLOS         PEREZ                   CA         48006505984
67219763791562   JESSIE         LUNA                    TX         90012797637
67222674771964   MIA            REEDER                  CO         90012486747
67222727755973   TIM            THOMAS                  CA         90003737277
67223848581661   JOE            PACE                    MO         29021398485
67224793784392   CHARLES        BOLGER                  SC         90003547937
67228191571921   JOSHUA ALLEN   TERRELL                 CO         90011341915
67228623191522   MIGUEL         VALDEZ                  TX         90007456231
67228771591998   ERIIC          WIINSTEAD               NC         90008327715
67229445291522   JESSY          GONZALEZ                TX         90012804452
67232358655973   FAYETH         LIPPS                   CA         48069643586
67232933761954   RICHARD        BENEDICT                CA         90011719337
67233757455973   MARCOS         LEYBA                   CA         90007027574
67233766871921   DAVID          MYERS                   CO         90005507668
67234292261936   JORGE          RAMIREZ                 CA         90013832922
67235499755977   TERESA         BRITOGILES              CA         90012914997
67235872163646   LISA           DUKE                    MO         90003528721
67237288171921   YAQUELIN       PRIETO                  CO         32005342881
67237479591562   JAVIER         MARRUFO                 TX         75031754795
67238213291522   DENISEE        VALTIERRA               TX         90004422132
67242314761981   CLAUDIO        ARZILLO                 CA         90004643147
67243138591943   NATASHA        WALKER                  NC         90011041385
67243438991552   ALMA           RINARD                  TX         90015214389
67244979351354   WILBUR         HAMILTON                OH         90011179793
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67248786671964   JOSEPH             GRAVES              CO         90011857866
67249986681675   COEN               CARR                MO         90010889866
67251573971921   CHRISTOPHE         RICHARDSON          CO         32031625739
67252426671921   DAN                COLLINS             CO         32089574266
67253441861936   JOHANNA            ESTRADA             CA         90014814418
67253729561964   FRED               GENHART             CA         46014447295
67253935691522   MARISELA           DELGADO             TX         90011789356
67254437561945   RANIA              SHORIS              CA         90014904375
67255535671964   COLORADO BBQ       OUTFITTERS          CO         90005815356
67255788191562   MARCO              SOSA                TX         75088517881
67256194291522   MARCELA            TREJO               TX         75032841942
67257856771964   MILDRED            CRUZ                CO         32032968567
67258263281644   VICKIE             ANDERSON            MO         90012552632
67258679384392   BRITTANY           FRAZIER             SC         90014866793
67259696191522   MARIA DEL CARMEN   FIERRO              TX         90014706961
67261417885689   FIDEL              VELASQUEZ           NJ         90002434178
67261439351354   BRENDA             DAY                 OH         66030314393
67261696191522   MARIA DEL CARMEN   FIERRO              TX         90014706961
67263299991562   GERARDO            ACOSTA              TX         90010912999
67263528557595   DAVID              PALOMAREZ           NM         90014335285
67264136584392   REGINALD           SMITH               SC         90010601365
67265132191998   ADEBUKOLA          ADEKEMI             NC         17071621321
67265433491562   NORMA              BETANCOURT          TX         90010984334
67266698891522   JAVIER             FAVELA              TX         90014706988
67266816455977   ELIZABETH          LEON                CA         90010678164
67267661884392   HOPE               QUARLES             SC         90003946618
67268228761936   ROMEO              BUNDOC              CA         90014322287
67271525291562   PERRY              JACQUELIN           TX         90008575252
67274136851354   ISMAEL             BARRERA             OH         90009591368
67274237181675   JASMINE            HERNANDEZ           MO         90015172371
67274749791998   JORDAN             MCCARTY             NC         17046357497
67274877291562   ROBERT             HOLGUIN             TX         90002298772
67276351591562   IRMA               MARRUFO             TX         90007673515
67276442857595   LESLIE             ROMO                NM         90015344428
67277371691998   JAZMIN RENEA       CLEVERSON           NC         90014903716
67281948884392   SIERRA             SANDERS             SC         90015329488
67281984691522   VANESSA            MONJE               TX         90011789846
67284591257135   MARCELINO          PEREZ               VA         90012665912
67286137671964   MIRANDA            CHAMBERLAYNE        CO         90011191376
67286557551354   MONICA             FOUNTAIN            OH         90014635575
67286746455973   RON                SANDERS             CA         48014607464
67287674186498   DEVON              CORNELIUS           SC         90011076741
67289258884392   KALIEFA            WHITE               SC         90014682588
67289917985689   ROSALINO           GARCIA              NJ         90011429179
67289923661964   JULIE              VILLANUEVA          CA         46071819236
67291263191522   LORRAINE           BELTRAN             TX         90008982631
67291683291998   LAMONT             HINTON              NC         17081556832
67292734591522   MIRIAM             GARCIA              TX         90014707345
67292943385689   DAVID              PEREZ               NJ         90007899433
67293533261936   AMANDA             GREENE              CA         90010955332
67295212371921   CHERIE             GUADAGNO            CO         90015082123
67295735691522   RUBY               GUTIERREZ           TX         90014707356
67296986161964   ANTHONY            ALVE                CA         90013049861
67298735691522   RUBY               GUTIERREZ           TX         90014707356
67311422361964   VIRI               CAMPOS              CA         46025734223
67312622191562   KARLA              ARRAS               TX         90002306221
67313178161936   JESSICA            LUGO                CA         90014741781
67313667955973   CINTHIA            FIGUEROA            CA         90009866679
67315716551354   MARQUELL           DAWSON              OH         66018937165
67316528226758   PAUL D             PRECOPIA            PA         90013035282
67318997561936   KENNETH            RORABAUGH           CA         46021139975
67321127355973   MARIA              MADRIGAL            CA         90013211273
67321254151354   MARCELA            DZURKOVA            OH         90009592541
67324274555973   JUAN               REYES               CA         90008942745
67324893391522   LUIS               GARCIA              TX         75045978933
67325254151354   MARCELA            DZURKOVA            OH         90009592541
67325575141272   KELLY              DURRETT             PA         51013285751
67326181651354   ANGELO             LUCKEY              OH         90013641816
67327434961964   MARIA TERESA       VILLA               CA         90014854349
67327629681675   LIPETI             MOE                 MO         29078416296
67327935571921   KIALONDOH          PABAI               CO         90013179355
67329656655973   BRISA              MARKES              CA         90007756566
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67331313151354   TIYOTA               SMITH             OH         66097453131
67331833255973   ANGELA               MARTINEZ          CA         90013708332
67331968591562   VALERIA              DAVILA            TX         90007349685
67333689171964   SHERRY               SEEVER            CO         90006136891
67333712231661   SPENCER              HOCH              KS         90008307122
67333846255973   REBECCA              ANDREAS           CA         48076128462
67333856261964   HENRY                CASTRO            CA         46012028562
67334868951354   KEVIN                BROWN             OH         90015078689
67335219855973   JANEY                MEDINA            CA         90000432198
67336451984392   WHITNEY              WHITE             SC         90013044519
67336546161936   LIZBET               ZAMOA             CA         90007675461
67338416355973   LILIA                DUARTE            CA         48042914163
67338989531455   BELANCIA             BROWN             MO         90013309895
67341399691998   JASMINE              ALFORD            NC         90013053996
67343452981644   TISHA                REDDEN            MO         90000664529
67345537491998   TERESA               GOLDSON           NC         90011235374
67345544961936   EARLE                BANKSTON          CA         90012785449
67345845155977   LISA                 DOMBROSKI         CA         90014058451
67346414561964   TRACY                LAWRENCE          CA         90013804145
67347392191562   RAFAEL               HERNANDEZ         TX         75052673921
67348538491998   YESICA               FLORES            NC         17016545384
67351713785689   CHIME                TERRASA           NJ         90011997137
67351897981675   NICOLE               MULMORE           MO         29087998979
67352212285877   VINETTE              COLE              CA         46044672122
67352246161936   NOE                  MENDOZA           CA         90013392461
67352576651354   AMANDA               STICKROD          OH         90001005766
67353776155973   ANDREW               PARRIERA          CA         90015127761
67354772181675   VINCENT              DISTEFANO         MO         90014297721
67355451551354   DEVONTE              CANNON            OH         90012514515
67357241891562   ANA                  ARREDONDO         TX         75015942418
67357841891522   FAUSTINO ALEJANDRO   FLORES            TX         90014708418
67358786291562   MONICA               TRESSET           TX         90008817862
67358939781644   BRANDI               KINDRED           MO         29004599397
67359557471964   JOHN                 PETER             CO         90011095574
67359613361936   JOSEPHINE            VELAZQUEZ         CA         90014996133
67361139551354   NAOMI                STREAKER          OH         66078111395
67363165881675   MARISA               VANN              MO         90008371658
67363468591525   GERARDO              GARCES            TX         75088784685
67363516471921   OLIVIA               GRIEGO            CO         90008715164
67365679681661   PAT                  MARTIN            MO         29019226796
67365978991998   DONTE                ANDERSON          NC         90013149789
67368215461936   KEYANN               MARTINEZ          CA         90009652154
67368356155977   MARY                 BROWN             CA         49046233561
67368666991998   MOHAMMAD             ISLAM             NC         90012176669
67372147655973   JUAN                 LOPEZ             CA         90012011476
67373171361936   GABRIE               PEREZ GONZALES    CA         90000721713
67373622351354   CAROL                WEST              OH         90013926223
67374397291522   SOCORRO              HERNANDEZ         TX         75050833972
67374582561964   VICKY                TOSCANO           CA         90013965825
67375717761964   JULIA                MELENDEZ          CA         90014127177
67377539891522   ERICK                RAMIREZ           TX         90008465398
67379739155973   JERRY                NOE               CA         48030237391
67381653355977   RICHARD              BOYLES            CA         49085586533
67381892291522   FRAIRE               LUIS              TX         90008668922
67383511984392   DAVID                SIMMONS           SC         19069325119
67384161881644   RICHARD              LOPEZ             MO         90002921618
67384897181675   SCOTT                BLATTMAN          MO         29062018971
67385199381644   RICARDO              QUIROZ            MO         90014531993
67385531491522   PATRICIA             ESCOBEDO          TX         75052495314
67385917291562   MARIA                SANTANA           TX         90014119172
67386126455973   ABEL                 VILLA             CA         90014121264
67386634961964   LEO                  SIMPSER           CA         90008996349
67387233661964   ALBERTO              OCAMPO            CA         90009782336
67388132391525   DIANA                GUERRERO          TX         90013321323
67388566351354   JENA                 PACKER            OH         90013515663
67389915891998   ASHIYA               FOWER             NC         90013819158
67391841585689   OMAR                 SANTOS            NJ         90012978415
67393623185953   MOHAMMAD             FELWA             KY         90001296231
67394368271921   SONJA                NEVERS            CO         32087343682
67394712581644   SHANNAH              TAYLOR            MO         90007547125
67395452981644   TISHA                REDDEN            MO         90000664529
67395769884392   LIZBETH              RIVERA            SC         90013947698
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67395859855973   LYDIA             SANCHEZ ESTRADA      CA         90014848598
67396218761936   JATZIVE           PEDRAZA              CA         46087862187
67396532891998   MARIA             SCHOEN               NC         90014615328
67397182151354   ALLISON           AICHELE              OH         90014811821
67412481961964   LESLEY            JIMENEZ              CA         90014934819
67413877284392   TAVIUS            ROBINSON             SC         90015198772
67414668791522   YVONNE            ARROGO               TX         90013716687
67415172985689   SARAI             ROSARIO              NJ         85011211729
67417634171921   AUTUMN            MARQUES              CO         90008326341
67417874193726   MISSY             DANIEL               OH         90012218741
67419847291522   ORTIZ             ZULEMA               TX         75054068472
67424498857595   LILLIAN           SALAS                NM         90014964988
67426421984392   CARLOS            JUNIOR               SC         90010624219
67426456685689   ELISEO            LOPEZ                NJ         90006634566
67426763651354   TEKIQUIA          BAILEY               OH         90010717636
67427174555973   FRANCISCO         PEREZ                CA         90003991745
67427768585689   SAUL              LOPEZ                NJ         90011467685
67427936285953   KYSHA             NANCE                KY         90010799362
67428676455973   NATHANIEL         INONG                CA         48093086764
67429186255977   PEDRO             RAMILEZ              CA         49096321862
67429928991562   ARTURO            MUNOZ                TX         90011329289
67432319371964   ERIC              BAILEY               CO         90008853193
67432321885689   CARLOS            MARTINEZ             NJ         90010723218
67432678971921   STEPHANIE         TANIS                CO         32058226789
67434211781675   KINESHA           COLE                 MO         90013812117
67434822785689   RACHEL            HOOVER               NJ         85011218227
67435828755977   ANTHONY           LOWE                 CA         90004628287
67435988171921   VICTOR            BECERRA              CO         90013029881
67436619784392   RANDY             MOSELEY              SC         90004936197
67436845791998   JESSICA           SMITH                NC         90013118457
67439471685689   MARTIN            MARTINEZ ORTIZ       NJ         90006424716
67443793971921   MELISSA           TYLER                CO         90014237939
67445327481675   AMBER             PRITCHETT            MO         90005403274
67446732471921   LUCAS             STEELE               CO         90014197324
67446954691998   DIAMOND           AUSTIN               NC         17050889546
67447816985689   ESLEBAN           JUSTO                NJ         90010808169
67449988385689   ELIZABETH         RODRIGUEZ            NJ         90013019883
67451133481675   JASON             HUTSON               MO         90010911334
67453545671964   NDAYIZEYE         ALSON                CO         32010115456
67458461151354   JAMES             BAKER                OH         90013104611
67458487641259   BARBARA           VOJTECKY             PA         90007394876
67459154291998   BRADLEY           DECKER               NC         90014571542
67462722151354   JONATHAN          BOLMER               OH         90013807221
67462787784392   TYE               COLSTON              SC         19097537877
67463652355977   VINCENT           APODACA              CA         49085546523
67463697291998   TARA              BROOKS               NC         90013596972
67464153555973   MARIA             BENAVIDES            CA         48017391535
67465981361422   ALEXANDRO         GARCIA               OH         90015399813
67466427191562   BLANCA            FUENTES              TX         90012994271
67466481961964   LESLEY            JIMENEZ              CA         90014934819
67467633491894   LORI              INMAN                OK         90012726334
67467668261964   RICHARD           GRADY                CA         46034606682
67467773684392   CURTIS            BROWN                SC         90013377736
67469355491522   SANDRA            ORTEGA               TX         90011793554
67469528585689   LEWIS             DUTTON               NJ         90013035285
67472635861936   BAGO              RAMIREZ              CA         90015176358
67473948155973   OFELIA            PENA                 CA         90001529481
67474655261964   ANA               NIEVES               CA         90014916552
67476473891998   NANCY             KING                 NC         90010614738
67476762171964   DAVID AND ANNA    DUMPSON              CO         90011877621
67478841581675   AMBER             CALTON               MO         90013678415
67479168171964   LORIE             DE PAULA             CO         32096181681
67479838591522   PEDRO             INFANTE              TX         75068278385
67481184791562   JOSE              HERNANDEZ            TX         90013531847
67481283441259   JUDI              DENAULT              PA         90002612834
67481347661964   JORGE             MORALES              CA         90013643476
67481367591522   CASANDRA JAZMIN   GARCIA JUAREZ        TX         90011793675
67481922591522   RITA              VELASQUEZ            TX         90014709225
67482115891522   TERESA            LOZANO               NM         90002921158
67482259571921   JIMMY             BUSHA                CO         32088662595
67482697277533   SANTOS            ORTIZ                NV         90010376972
67482829671964   KIMBERLY          OSBORNE              CO         90011458296
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67482991381675   LARRY         BASSETT                  KS         90014509913
67485394584392   DELESNIE      THROPOLIS                SC         90011203945
67485713355977   LYDIA         MENDOZA                  CA         90012607133
67486814391522   ISABEL        RIVAS                    TX         75057868143
67487466985689   KHIRY         CISROW                   NJ         90013254669
67487635971964   KENNETH       HALSEY                   CO         32081906359
67488334485948   JAMES         KIPP                     KY         66060643344
67488374491522   MANUEL        CASTILLO                 TX         90011793744
67489253184392   MICHELLE      BRUNSON                  SC         90014162531
67489271191998   ROILAN        ESQUIVEL                 NC         90013552711
67489454981644   LEON          AKINS                    MO         90015024549
67491338491562   JUAN          IBARRA                   TX         90012683384
67493261251352   ARSELIE       OLVERA                   OH         90010402612
67493369281644   CHANELLE      HOWARD                   MO         90014953692
67494435451354   CLARISSA      STEVENS                  OH         90003554354
67494986655973   TANAJA        ANDREWS                  CA         48059189866
67495397371921   IRVING        HALIBURTON               CO         32089453973
67497735281675   BRANDON       BEADLE                   MO         90013407352
67498128671964   STEPHANY      BOS                      CO         90008491286
67498291785689   CYNTHIA       COOK                     NJ         85065702917
67498424381675   WALTER        HILL                     MO         90013374243
67498922455973   ARMANDO       CORTEZ                   CA         90001659224
67512332255973   ESAUL         JIMENEZ                  CA         90011183322
67512551471921   MATT          POST                     CO         90008045514
67514441281644   MELISSA       REILLY                   MO         90012634412
67524252491562   MARIANNE      HERNANDEZ                TX         75012102524
67524586991549   JAVIER        PEDROZA                  TX         90002275869
67525656191998   DELMY         ALVARADO                 NC         90010606561
67526939791522   GARCIA        PEDRO                    TX         90014709397
67527137571921   JOHN          EDWARD                   CO         90012741375
67527491691998   KUJAYJI       KABBA                    NC         90011944916
67533439291522   CARMEN        CEPELLANO                TX         90011794392
67533517891572   ERNESTO       CORONADO                 TX         75048385178
67535454381644   JAMES         BENNETT                  MO         90013774543
67536929461936   SAL           GELORMINI                CA         46026919294
67537558551388   KENYA         DAVIS                    OH         90008095585
67537594284392   WILLIAM       THOMPSON                 SC         90014305942
67537769991562   RUEL          SHAFFER                  TX         90013177699
67537938671964   MELISSA       MOZEY                    CO         90011099386
67538348131651   EBONY         JOHNSON                  KS         22012893481
67539855355973   AMY           KUNZE                    CA         90014158553
67542425851354   CASSIE        MARINICH                 OH         90009674258
67542483191562   MARIBEL       DE LEON                  TX         75037544831
67544231371964   STEVEN        MAESTAS                  CO         90010042313
67544954955973   NOE           SANTOYO                  CA         48093119549
67546486871921   JUSTIN        JONES                    CO         90015034868
67547361171964   MISTY         GODFREY                  CO         32078133611
67547755791998   WILLIE        JORDAN                   NC         17022587557
67547858751354   DONYELLE      WORKMAN                  OH         90014508587
67548149655977   DELORES       HILL                     CA         90014711496
67548443691562   JOEL          HUERECA                  TX         75081054436
67548844555973   NICOLE        CADENA                   CA         48061898445
67549468571921   KATHLEEN      WILLIAMS                 CO         90013244685
67552228861936   ROBERT        SORRELL                  CA         90009972288
67553625251354   KELLY         WILSON                   OH         90013046252
67554672455977   JOE           PHANHNOUVANG             CA         90014446724
67554835251354   DEBRA         GRAU                     OH         90001828352
67555957281675   ALGI          PUJOLS                   MO         29070879572
67556731155977   RALPH         TOPALIAN                 CA         90012817311
67557984933634   ERIN          STIMPSON                 NC         90008389849
67558738751354   MATT          RONE                     OH         90000767387
67558969991522   SELENE        NELSON                   TX         90014709699
67559259355977   VALENCIA      PERKINS                  CA         90015082593
67561823151354   DONALD        BROCK                    OH         66075428231
67562215584392   ANNETTE       ROLERSON WATSON          SC         19073032155
67563847291522   ROSARIO       MOTA BANDA               TX         90014718472
67564377691522   BELL          JAQUEZ                   TX         90012373776
67565561451354   ALEXANDER     WHITE                    OH         90014635614
67566579371964   ISAIAS        ACOSTA                   CO         32013925793
67566847291522   ROSARIO       MOTA BANDA               TX         90014718472
67571186161964   SHONDETEENA   NILLAGA                  CA         90014351861
67572728891522   LAURA         SALINAS                  TX         90002907288
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67572747284392   MELVIN       MOYD                      SC         90013007472
67572814561936   MARTINA      GARCIA                    CA         90013248145
67573433755973   ALEX         CHAVEZ                    CA         48085074337
67574813581675   SHANAE       DUNMORE                   MO         90006588135
67576286385948   LORETTA      BRICKER                   KY         90011202863
67576298691998   JESUS        PEREZ                     NC         90011452986
67576527961964   MARIA        HUERTA                    CA         90001845279
67577394885986   CHRISTOPH    ROTHFUSS                  KY         90001003948
67578434991562   ESTEBAN      HERNANDEZ                 TX         75002714349
67582321191522   LINDA        RAMOS                     TX         75017383211
67582519681675   STACY        LARK                      MO         29005605196
67583381977342   GEORGE       ROBINSON                  IL         90015153819
67583624684392   LATOYA       FERONE                    SC         90009016246
67584228555977   MINDY        PADILLA                   CA         49031172285
67584663581644   TREMAYNE     UMBLES                    MO         90011806635
67584943461936   JORGE        AYALA                     CA         46079259434
67584962991522   ELIZABETH    CRUZ                      TX         90014709629
67585677651354   CHRISTOPHE   KINNEY                    OH         66039746776
67587688655977   EBELIA       TORRES                    CA         90004936886
67589845291998   SYLVIA       MASSENBURG                NC         17044008452
67591375171964   GUADALUPE    MACIEL                    CO         32000183751
67591964791522   ISMAEL       MADRID                    TX         90014709647
67592112161964   TIM          BURTON                    CA         46003671121
67592775561964   TERESA       ROJAS                     CA         90014627755
67593217991998   EUDENCIO     URBANO MORALES            NC         90010612179
67593444481675   RICHARD      KENT                      MO         90013784444
67594247771921   ROSE         ROSE                      CO         90012142477
67594485351354   COURTNEY     SORRELL                   OH         90003554853
67594952355977   ANNETTE      NICHOLS                   CA         90007339523
67594965191522   GUADALUPE    ONTIVEROS                 TX         90014709651
67595121355977   KARLA        CAMPOS                    CA         90011511213
67595373691572   NOCOLE       MARTINEZ                  TX         90002753736
67595672491562   TOMASA       RABELO TORRES             TX         75093866724
67598561181675   ANGELA       HOWARD                    MO         29044305611
67611333951354   KEN          DAUGHERTY                 OH         90014283339
67611972991522   JOSHUA       NEVAREZ                   TX         90014709729
67613157761964   FERNANDEZ    CHAVEZ                    CA         90009951577
67613186191522   GLORIA       SMITH                     TX         90002921861
67613266261936   LISA         CASAS                     CA         90003502662
67614274681675   DESTINY      PEARSON                   MO         90011672746
67614398591998   ADRIAN       FACIO                     NC         90014173985
67615289557143   TONY         BELLAMY                   VA         90001242895
67616987855973   DOLORES      MALDONADO                 CA         90004139878
67617176361964   MARIA        SALGADO                   CA         90008921763
67617468271921   ABENI        CLAYBROOKS                CO         90001334682
67623255261964   GREGORIO     AVALOS                    CA         90012392552
67623732291522   LUISA        MONTELONGO                TX         75021257322
67625651984392   PAYGO        IVR ACTIVATION            SC         90009996519
67626269381675   MICHAEL      ROSS                      MO         90014622693
67626433661936   MARLENE      NUNEZ                     CA         90006214336
67628245481675   CHRYSTAL     BURTRUM                   MO         90006632454
67628474191527   JESSICA      HERNANDEZ                 TX         90014804741
67628692784392   JOHNNY       WALTON                    SC         90013336927
67628699361964   DERRIK       HARRELL                   CA         90013256993
67628744191522   BERTHA       MARTINEZ                  TX         90012427441
67629529455977   MARIA        GONZALEZ                  CA         90013975294
67629986691522   IRIS         VILLANUEVA                TX         90014709866
67631189281644   TERRY        DRONE                     MO         90008431892
67631597991534   SOCCORRO     HERRERA                   TX         90014485979
67632241671964   CLAUIDA      SANCHEZ DYER              CO         90003542416
67633345691522   DANIEL       DURAN                     TX         90013653456
67633398791998   SARENA       MCCULLERS                 NC         90014173987
67634839661936   JUAN         PEREZ                     CA         46008458396
67636573991998   TONYA        LAWS                      NC         17013705739
67639112161936   VARGOS       LOURDES                   CA         46082491121
67642119581644   TERRA        SPAULDING                 MO         90014741195
67643213991522   JOSE         CORDERO                   TX         90011152139
67644143861936   SOCORRO      VAZQUEZ                   CA         90013131438
67645322384392   JASMINE      MANIGAULT                 SC         90013553223
67645679491522   GABRIELA     LOPEZ                     TX         75040476794
67647266555973   RUBEN        OLGUIN                    CA         90001152665
67647476771964   CAROLINE     LEFEBVRE                  CO         32059854767
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67649244891522   SANDRA       AGUIRRE                   TX         75046032448
67651759377538   ERIKA        CONNER                    NV         90013937593
67652236884392   DANGNE       CRUZ                      SC         90008182368
67653197481644   SERGIO       GONZALEZ                  MO         90010271974
67653989891522   VERONICA     GOMEZ                     TX         90014709898
67654394784392   JAMES        SARVIS                    SC         90013073947
67655412651354   JETERA       BRYANT                    OH         90009854126
67655532784392   SAMUEL       STEELE                    SC         19063815327
67655594671921   NAKIA        JONES                     CO         90013115946
67655989891522   VERONICA     GOMEZ                     TX         90014709898
67656997861964   OFELIA       TAVARES                   CA         90010169978
67657989891522   VERONICA     GOMEZ                     TX         90014709898
67661244561964   ANTHONY      ALLISON                   CA         90013922445
67661671631587   LUIS         ANTOLA                    NY         90009626716
67663535671921   DANIEL       CHAVEZ                    CO         32096305356
67664564881675   PAYGO        IVR ACTIVATION            MO         90015215648
67664923591522   DEVAN        LOISELLE                  TX         90014719235
67666967271921   ALEJANDRO    BARCENAS                  CO         32058449672
67667145191562   HECTOR       VEGA                      TX         75086931451
67667224961964   KILEE        PETERSEN                  CA         90006952249
67672112981644   KELLEY       DAY LEWIS                 MO         90008531129
67672377891522   MARCO        ROMERO                    TX         75016923778
67672639685689   ANTONIO      SILMAR                    NJ         90013026396
67672886461964   SERGIO       GARDUNO                   CA         90002038864
67673819221692   PEGGY        BLACKMAN                  OH         90014708192
67674232451352   MICHAEL      RUCKES                    OH         90003942324
67674382191259   ROBERT       PHILLIPS                  GA         14503523821
67674599481644   MARVIN       PIPER                     KS         90014835994
67674814771964   HEATHER      ROBER                     CO         32095708147
67676174361964   JESSICA      ZAZUETA                   CA         90015141743
67676311751354   ACQUE        YOUNG                     OH         90014173117
67677329591562   BRENDA       NIETO                     TX         90012483295
67677433991522   RACHEL       CONTRERAS                 TX         90011924339
67677493291522   LOURDES      RODRIGUEZ                 TX         75087674932
67681178161936   JESSICA      LUGO                      CA         90014741781
67684464961964   SHILOH       MULLER                    CA         90002434649
67684616355977   LINDA        SANTILLAN                 CA         90002906163
67684967151354   MARIA        ROBLERO                   OH         66091889671
67686696884392   TONY         ARENSDORF                 SC         90000886968
67691695161936   MINERVA      MENDOZA                   CA         90010626951
67692125371964   YVONNE       VIGIL                     CO         90011951253
67692342461964   NICOLASA     RIVERA                    CA         90013283424
67693156555977   MEISHA       MACILLAS                  CA         49067301565
67693363461559   ESUBIO       TORRES                    TN         90013893634
67694436361964   MATHEW       WINSLOW                   CA         90010784363
67694978861964   PATRICIA     VALENZUELA                CA         90012749788
67695329655973   DAVID        WHEAT                     CA         90006833296
67695916984392   OLAJUWON     EDWARDS                   SC         90011609169
67696839981675   JASON        WOODS                     MO         29050908399
67697387581672   CHARLENE     SMITH                     KS         90012423875
67697497671964   RENALDO      MARTINEZ                  CO         90013334976
67698313581675   JARRAE       WELLS                     MO         90013353135
67699548271921   MICHAEL      ALFARO                    CO         90010205482
67699584881675   VICTORIA     WILLIAMS                  MO         90013505848
67712798491562   LORENA       REYES                     TX         75098027984
67712991955973   BOYCE        CERVANTES                 CA         90009079919
67713331761936   MARTIN       ALEJOS                    CA         46021083317
67713976855977   HERIBERTO    ROBLES                    CA         49028519768
67714222981675   ERIC         POTTS                     MO         90013432229
67714515361936   CARLTON      JOHNSON                   CA         90013815153
67714845981675   MELISSA      SCHEITER                  MO         90014828459
67715353971921   SANDRA       VIGIL                     CO         90009093539
67716957991998   RICO         SCOTT                     NC         17018009579
67716984261964   GABRIELA     MORALES                   CA         90013839842
67717118685689   JUAN         CARLOS                    NJ         90007871186
67717994191522   OSCAR        JIMENEZ                   TX         90006409941
67721749551354   ALEXIS       DELATORRE                 OH         90013997495
67722422261964   KHADAR       MOHAMED                   CA         90007374222
67722462391562   PETE         SANCHEZ                   TX         90004354623
67723954461936   JOSE         HERNANDEZ                 CA         90000659544
67724634561964   AIOTEST1     DONOTTOUCH                CA         90015116345
67724736481644   ITTY         BETTY                     MO         90011607364
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67724838155977   MARK         DENSMORE                  CA         49067088381
67726334291522   FLOR         OLIVAS                    TX         90014633342
67726632255977   NICOLAS      TORRES                    CA         49029886322
67727291681675   JOSE         DE LA CRUZ HERNANDEZ      MO         29034642916
67728334291522   FLOR         OLIVAS                    TX         90014633342
67728478581644   SABRINA      SHEPHERD                  MO         90014734785
67728897855973   APOLINAR     NUNEZ-HERNANDEZ           CA         90014628978
67729652491998   IGNACIO      IBARRA                    NC         90007126524
67732228284392   TONI         ALLSBROOK                 SC         90014102282
67732494261991   BRONTE       GALLOWAY                  CA         90001644942
67732635861936   BAGO         RAMIREZ                   CA         90015176358
67734679761964   RUBEN        HERNANDEZ                 CA         46002156797
67734979355973   MARISSA      ROMO                      CA         48010489793
67735525391562   JESUS        LEGARRETA                 TX         90014175253
67737981991998   TONYA        GREGORY                   NC         90013349819
67743158855978   OSCAR        SANTOS                    CA         90008091588
67745516171921   ELICK        CORTEZ                    CO         90013665161
67748351784392   ANGELINA     HUGGINS                   SC         90014153517
67748792261936   SANDRA       VIEYRA                    CA         90011877922
67749277561964   JESUSITA     CASTILLO                  CA         46021552775
67752462981675   BARBRA       MORROW                    MO         90012324629
67753253191522   ARTHUR       FLORES                    TX         75087692531
67754266555973   RUBEN        OLGUIN                    CA         90001152665
67754945386438   JOSE         ESPINOSA                  SC         90013779453
67754955571921   LEIONNA      YAZZIE                    CO         32093969555
67755221431476   TRACEY       GIBSON                    MO         27508872214
67755623351354   MARGARETT    STIVER                    OH         66068346233
67757978371921   MAGIC        SALEH                     CO         90001089783
67758783391549   IVETTE       VALLES                    TX         90013067833
67758789891998   JE'QUAN      DAVIS                     NC         90003237898
67758855251354   TRUDY        STOWERS                   OH         66024978552
67759121881644   BIANCA       MARIE GASTON              MO         90014941218
67759526755973   STEPHEN      EDWARDS                   CA         48015965267
67761511391562   ANA          ZAPATA                    TX         90010965113
67761573571921   CODY         STONE                     CO         90012675735
67761875585689   IRIS         RODRIGUEZ                 NJ         90009778755
67762621551354   MARK         SIMMON                    OH         90015126215
67762715555973   MAYRA        ALVARADO                  CA         90004067155
67762793961936   BETHANY      BEACHAM                   CA         90009857939
67766867581644   JUAN         GERMOZEN                  MO         90007718675
67767492184392   ANGELA       PHILLIPS                  SC         90011874921
67771483355977   JONATHAN     NAJERA                    CA         90010864833
67776483251354   TALYA        RICHARD                   OH         90013884832
67776619281675   EVANGELINA   CORADO                    MO         29072536192
67777457857595   BETTY        ANAYA                     NM         90014144578
67777631855977   HELEN        JACKSON                   CA         90010976318
67777687361964   MARCHALY     RICHARDSON                CA         90000656873
67777994491572   VERONICA     SILOS                     TX         90012539944
67783225984392   LIGIANE      ANDRADE                   SC         90003992259
67783391191562   MINERVA      ORTIZ                     TX         75008893911
67785924871921   RYAN         MCCAFFERTY                CO         90012829248
67786593991562   KARLA        ALVAREZ                   TX         75098535939
67786628155977   ENEDINA      HERNANDEZ                 CA         90010976281
67787262961964   MARTHA       MARTINEZ                  CA         90013532629
67788368881675   LUCIANO      GARCIA                    MO         90009433688
67788968751354   LORAN        RUSSEL                    OH         90009689687
67789215284392   JEFFREY      HOLLAND                   SC         90014692152
67789352391562   CLAUDIA      ANGUIANO                  TX         90012723523
67791179191562   ALEJANDRO    CANALES                   TX         75068241791
67791497955973   THOMAS       DENNIS                    CA         90013244979
67791831391522   MICHAEL      FRAUSTO                   TX         90009398313
67794362755973   TYLER        SANDERSON                 CA         90014963627
67795462691534   MARK         MARTINEZ                  TX         75028924626
67795673984392   ADRIANA      RODRIGUEZ                 SC         90014916739
67795977891522   ELIZANDRO    VENTURA                   TX         90014719778
67796381391522   VERONICA     GARCIA                    TX         75046243813
67796974481675   JANEAN       GARRETT                   MO         29080529744
67811952891998   WANDA        SPRINGS                   NC         90011249528
67814335471964   ANDREW       SULLIVAN                  CO         90008373354
67814377391562   SUSANA       GAMEZ                     TX         90010793773
67816543555977   AYSI         VALDES                    CA         90015045435
67821828993726   SANDRA       CURTIS                    OH         90006328289
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67823948955977   BACON        DAVID-BRIAN               CA         49082559489
67824233561964   WILFRIDO     LOPEZ                     CA         46052882335
67824443731423   LAPARISH     PRIMUS                    MO         90011594437
67824659351354   JAMES        BINGHAM                   OH         66016126593
67824987191522   ROBERT       AVALOS                    TX         90013159871
67825521985689   ASPEN        JONES                     NJ         90011855219
67826318771921   LAURA        BERGER                    CO         90010223187
67826332681644   RICHARD      ROBERSON                  MO         90014403326
67826361884392   JOHN         PITKO                     SC         90001333618
67826657972439   DEANNA       BUNDY                     PA         90012336579
67827272955973   ROBERT       DERR                      CA         90014232729
67828211361936   VICTOR       MORALES                   CA         90010192113
67828876331948   ANA          VILLACORTA                IA         90011168763
67829639155973   JOHN         FOWLKES                   CA         90013676391
67831362984392   PAYGO        IVR ACTIVATION            SC         90007593629
67832326751352   GARY         BURT                      OH         66033663267
67833179241291   JEFFERY      HODDER                    PA         90008421792
67835112571921   LUIS         BUSTAMANTE                CO         32024741125
67835273684392   KELSEY       ALVES                     SC         19064312736
67835461691562   JESUS        HERNANDEZ                 TX         75088414616
67835798955973   INEZ         VILLALBA                  CA         90012447989
67836399257549   NORMAND R    PAQUETTE                  NM         90012263992
67836519984392   JOECEPHUS    GREEN                     SC         90014725199
67837444684392   WILLETTE     HAMILTON                  SC         90014624446
67837461691562   JESUS        HERNANDEZ                 TX         75088414616
67841286251354   MAX          TRANTMAN                  OH         66019042862
67841675255977   DEFI         AZALI                     CA         90010976752
67842418971921   DAVE         LLOYD                     CO         90013244189
67842686455973   MICHAEL      CITI                      CA         90005016864
67844257591998   MARTIN       ROBBINS                   NC         90012752575
67845269661964   LEONARDO     VALDEZ                    CA         90014942696
67846458557595   PAYGO        IVR ACTIVATION            NM         90013614585
67848412771964   MILES        LUPER                     CO         32003014127
67849379885689   LIZMARIE     GARCIA                    NJ         90010923798
67851227691998   STEPHANIE    TOLLIVER                  NC         90011252276
67852998551354   KAYLA        JOHNSON                   OH         90010639985
67853734255973   BRENDA       ROJAS                     CA         90013877342
67854266791998   MICHELL      MULDROW                   NC         90012752667
67855326561936   RUBY         SEMI                      CA         90013953265
67857423391562   ZEPHRAH      MAULDIN                   TX         90007184233
67858592455973   JONATHON     RIOS                      CA         90014615924
67861128857595   FELICITY     DOMINGUEZ                 NM         90014541288
67861985855973   AMANDA       FOLLOWILL                 CA         90014319858
67862381871921   MARIA        NEGRETE                   CO         90011463818
67862852581675   DILLARD      DELL                      MO         90011518525
67863358891522   ALEJANDRO    GUTIERREZ                 TX         75041733588
67864631791998   RADISHA      SMITH                     NC         17083226317
67868984471964   KRISTI       FARMER                    CO         90008969844
67871741981644   TERRY        CLASS                     MO         90015437419
67872375671964   DELLANA      TAFOYA                    CO         32062223756
67874263355977   MARIE        ARMIGO                    CA         90014622633
67876343581644   SELENE       REY                       MO         90013853435
67879667551354   LISA         WRIGHT                    OH         90011136675
67881458471921   LOE          CHAVEZ                    CO         32008364584
67882432191522   HEIDI        GARCIA                    TX         90002944321
67884147491562   HILDA        DOMINGUEZ                 TX         90013301474
67884148791522   JUAN         GONZALES                  TX         90012101487
67884435555977   SARA         BOYD                      CA         90012354355
67884852485689   FREDDY       LOPEZ                     NJ         90010838524
67885246671964   JUN          SUH                       CO         90008592466
67885694681675   MARISELA     BALDERRAMA                MO         90008416946
67887213191562   ALMA         PALACIOS                  TX         90012882131
67887392991863   RICH         KEELEY                    OK         90001543929
67887758981675   AMANDA       MOORE                     MO         90012637589
67889358691998   CLAY         FAULKNER                  NC         90013643586
67891384191998   MALIKA       DUHART                    NC         90004043841
67891591655977   SUZANNE      MONTOYA                   CA         90009815916
67892476381675   DAMON        DANIELLS                  MO         90011124763
67892939561936   IRMA         GRANADOS                  CA         90004389395
67893977561936   SASHA        MILITSHA                  CA         90014139775
67894775285689   CLAUDIO      PASTRANA                  NJ         90006767752
67896183161964   CYNTHIA      CAMACHO                   CA         90006801831
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67897338171964   KEVIN           MACDONALD              CO         90004043381
67898172855977   TIFFANY         OROSCO                 CA         49061691728
67899728361936   BRYAN           BAUTISTA               CA         90002797283
67913844255977   PHAYTHOON       PONSANOUPHIT           CA         90014388442
67914331797943   CHERMECE        WHITE                  TX         90014943317
67914791381644   ROCKY           BRADLEY                MO         90013617913
67915972955977   ANGELICA        DELGADILLO             CA         49026539729
67916368661936   KENNETH         JOHNSON                CA         90013623686
67917752684392   IESHA           LINEN                  SC         90003447526
67919363761936   CARLOS          QUEZADA                CA         46054033637
67921261291562   BRANDON         WARD                   TX         90014972612
67922346584392   CHERYL          GAYNOR                 SC         90005243465
67922378255973   SYREETA         CLARK                  CA         48006843782
67922775755973   CRISTINA        OSORIA                 CA         48064287757
67923112984392   MICHELLE        MONROY                 SC         90007771129
67924651491525   EDDIE           ALCALA                 TX         75030316514
67925749591522   LILLIANA        SORIANO                TX         90004167495
67928235491522   CYNTHIA         RODRIGUEZ              TX         90012232354
67933551591998   JOSE            RIVERA                 NC         17046445515
67933873561936   OMAHAR          CLARIDAY               CA         90015168735
67934549455973   ANGELICA        GONZALES               CA         48056055494
67934845261936   ALFONSO ROMAN   LOPEZ                  CA         90009678452
67936576771921   JULIA CESAR     VALLADARES             CO         90007685767
67936936293753   BRENT           APPLIN                 OH         90008399362
67936989971964   PAULA           HAYES                  CO         32080479899
67937875671921   STEPHANIE       JORDAN                 CO         90014628756
67938431355977   YER             THAO                   CA         49001804313
67938864155973   MARCOS          PEREZ                  CA         90013158641
67939791181644   TERESA          THOMAS                 MO         29080967911
67941746161936   IRMA            PEREZ                  CA         90015157461
67941782286438   ANTONIA         PETERSON               SC         90015367822
67942725291998   ELSIE           ANGEL                  NC         17072667252
67942879355977   RUBEN           CAMACHO                CA         49032988793
67943251491998   TRACEY          TOBIAS                 NC         17062602514
67944955171921   JUSTIN          JOSLIN                 CO         90012469551
67945174371921   TERRELL         DALTON                 CO         32089271743
67945195955977   VERONICA        MARTINEZ               CA         49084371959
67945751661936   JESUS           LUIS                   CA         90005217516
67946812355977   KRISTOPHER      KIRCHNER               CA         90013098123
67947666191998   FRANCOIS        SERUSHYANA             NC         90013976661
67948184426758   JAMAL           MARKS                  PA         90013101844
67949862581644   MELISSA         SHINN                  MO         90015118625
67949886255973   JESSICA         KEARNEY                CA         90007528862
67952445291562   TANIA           LARA                   NM         90000484452
67952548491522   CELIA           ORTIZ                  TX         90005565484
67953473381675   PATRICIA        MILLS                  MO         90013444733
67954684391562   JESUS           JAQUEZ                 TX         90012136843
67957251171964   LORI            GERDIS                 CO         32087672511
67957557691522   ESMERALDA       ORNELAS                TX         90013725576
67959334791522   THANIA          QUINONES               TX         90011803347
67962753761936   SANDRA          AMARO                  CA         90014077537
67963156191562   AVELINO         VELEZ                  TX         75043061561
67965147191522   YVONNE          MOJICA                 TX         90013861471
67965543991562   MARGARITA       SALAZAR                TX         90004775439
67966426591522   MARIA           RODRIGUEZ              TX         75025074265
67966573691562   JUAN            LEYVA                  TX         90012175736
67967996281644   ROBERT          EVANS                  MO         90002049962
67969399271921   BRANDON J       BALLIETT               CO         90009833992
67972468291522   SAMUEL          BISHOP                 TX         90014884682
67973851991522   SORIA           MARIA                  TX         90009618519
67973975291522   BREANNA         CERVANTES              TX         90012819752
67975119271964   FABIAN          BACA RAMOS             CO         32069211192
67976135555977   EDGAR           LOPEZ                  CA         90001591355
67976547551354   YEHIRI          YANEZ                  OH         66034755475
67976919561936   KRYSTAL         BROWER                 CA         90001659195
67977425555977   NANCY           LOPEZ                  CA         90013734255
67978221571921   CHELSEA         WHITE                  CO         90013962215
67978256681644   ROBIN           MOORE                  MO         90008232566
67982644651354   CRAIG           SPARAGAS               OH         66068456446
67982851755977   JUANA           VEGA                   CA         49000308517
67983186591998   ANDREY          SUDIRO                 NC         90012071865
67983455284392   SHARNIQUE       BROWN                  SC         90014724552
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67983486871921   JUSTIN        JONES                    CO         90015034868
67986314881675   CARISSA       WARFIELD                 MO         29086273148
67989578561936   MEHARI        GEBREMESKEL              CA         90002185785
67991461584392   NORMA         ABADIA                   SC         90014834615
67991961191522   MARIA         WILLIAMS                 TX         75057869611
67992653585646   ELISEO        REYES                    NJ         90011556535
67992885191998   GARY          MOORE                    NC         17075388851
67992944231423   PAMELA        ROBINSON                 MO         90006289442
67993775561964   TERESA        ROJAS                    CA         90014627755
67995449651331   MATHEW        BATES                    OH         90013324496
67995491931445   STEPHANIQU    MEREDITH                 MO         27592614919
67998542371964   YAMAI         LIMA                     CO         32080395423
67998898191522   CLAUDIA       RAMIREZ                  TX         75095928981
68112792161964   SALVADOR      SANTIAGO                 CA         90010407921
68112895555975   JOSE          FARIAS                   CA         90014458955
68114728591923   YOLANDA       BONILLS                  NC         90004327285
68114867571964   COLE          JOHNSON                  CO         90014688675
68116119755975   ALONZO        JOHNSON                  CA         90013011197
68117337771964   NALLELY       OROS                     CO         90004503377
68118278291998   BREON         SCARBOROUGH              NC         90006022782
68119654991562   ANDREA        GOMEZ                    TX         90012846549
68119684855975   ANDREA        CORNEJO                  CA         48010426848
68121178261936   EMMANUEL      KINGSAM                  CA         90009641782
68121241891562   GUADALUPE     MOORE                    TX         90013202418
68121528271964   DEANDRE       SULLIVAN                 CO         90010215282
68121578855973   JOHN          MOORE                    CA         90009385788
68122771561964   JOSE RAMIRO   CASTRO GARCIA            CA         90011127715
68122895555975   JOSE          FARIAS                   CA         90014458955
68123461671964   KAZI SUMS     ZUBAIR                   CO         90013174616
68123464891562   MARIA         HERNANDES                TX         90000604648
68126231591562   AURELIO       GOMEZ                    TX         90011962315
68128955491562   AURORA        MEDINA                   TX         75054279554
68129739791562   EDNA          GARCIA                   TX         75009007397
68129996371964   SHANNON       MYERS                    CO         90002359963
68131775681644   CHRISTOPHER   DAYBERRY                 MO         90012787756
68133574455973   SAMANTHA      CASTELLANOS              CA         90012055744
68133662555975   MARISOL       RANGEL                   CA         90014786625
68134227391562   SANDRA        MARTINEZ                 TX         75088742273
68134358971964   THOMAS        TRUAX                    CO         90013033589
68139611755973   MONICA        MALDONADO                CA         90014826117
68139692155975   JAMES         LAYMAN                   CA         90014786921
68141457993728   MONICA        BEACH                    OH         90000184579
68142218871921   MICHAEL       DELEON                   CO         90013762188
68142651361964   JAZMIN        GARCIA                   CA         90014456513
68142863671964   CONNIE        MCBROOM                  CO         32070478636
68146379591562   ADRIAN        GRADO                    TX         90013573795
68147813651354   DARRYL        JOHNSON                  OH         90013828136
68149714971964   MAURICE       MCCLAIN                  CO         90001677149
68153466991562   LILIANA       RODARTE                  TX         90001484669
68154151341273   KYLIE         LINK                     PA         90002351513
68155541891562   AURORA        KROLL                    TX         75050245418
68156283171921   VYNNESSA      ODOM                     CO         90009532831
68156378171964   JOSE          BETANCOURT               CO         32081183781
68156991555975   JOSE          MORALES                  CA         48070079915
68157451371964   KEYRO         SALAZAR                  CO         90013034513
68157721671921   DONNA         SCHMIER                  CO         32065397216
68158696771964   KIMBERLY      BLAKLEY                  CO         90014406967
68159528271964   DEANDRE       SULLIVAN                 CO         90010215282
68161989455975   ISAIAH        MARTINEZ                 CA         90011099894
68162388181644   LISA          BOGGS                    MO         90013643881
68163936991522   MICHAEL       COLON                    TX         90011139369
68164726851354   NICHOLAS      SIMMONS                  OH         66073877268
68165446791522   ROSALINDA     FLORES                   TX         90003144467
68166482461964   VERONICA      LORA                     CA         90000344824
68166567951354   JOHN          BEDELL                   OH         90013165679
68169266155975   CLARA         CARBAJAL                 CA         90014792661
68169466861964   ANA           PEREZ                    CA         90014694668
68169612971964   SANDRA        MOORE                    CO         90007266129
68171342991562   ELIZABETH     AGUIRRE                  TX         90004933429
68173876584392   KIA           HOWARD                   SC         90009968765
68174255461964   JESSICA       BELTRAN                  CA         90011992554
68177461781675   DORA          SANDERS                  MO         29056584617
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68177668881644   DEIDRA L             CHATMAN            MO        90013006688
68177699191522   ARACELI              CASTANEDA          TX        75057996991
68177822391562   JANETH               HERRERA            TX        90012788223
68178513291522   AURELIA              PAEZ               NM        90012735132
68178528271964   DEANDRE              SULLIVAN           CO        90010215282
68178666355973   ANA                  VALENZUELA         CA        48016466663
68181138471921   VANESSA              LOPEZ              CO        90011931384
68181651755975   KRIS                 LINDLEY            CA        48060686517
68181669447992   KRYSTALINE           HOFER              AR        90012026694
68182289261984   SEAN                 SALINAS            CA        90013072892
68183667461964   JAIME                CASTILLO           CA        46066596674
68183969271964   TIZOC                RODRIGUEZ          CO        90011489692
68184392255975   MARIA                ESCALERA           CA        90009133922
68184771771964   BRITNEY              HOFFPAUIR          CO        90009157717
68185737384392   ANGELA               LEE                SC        19088137373
68188666563622   LINDSEY              PIRTLE             MO        27583146665
68189786755973   MAYRA                NIETO              CA        90013307867
68192486351388   SANTANA              HURT               OH        90005444863
68192776886435   AZHAN                GAMBRELL           SC        90014147768
68193746855975   ROGELIO              RESENDIZ           CA        90005547468
68195529555975   AURORA               TERRIQUEZ ZAMORA   CA        90014795295
68195671281644   ANTONIO              HERNANDEZ          MO        29079016712
68196834261936   JESUS                GONZALEZ           CA        46017198342
68196943771964   MYRIAH               AMSDEN             CO        90010409437
68198499555973   JULIA                MARTINEZ           CA        90009324995
68199113291522   PEDRO                AVILA              TX        90015211132
68212925671921   SALVADOR             CHAVEZ             CO        90013289256
68213257455975   JAMIE                BRANNON            CA        48010622574
68213726471921   CECEE                GUTIERREZ          CO        90011917264
68216572561964   EMILIA               RODRIGUEZ          CA        90015135725
68217633455975   JESUS                VILLAGOMEZ         CA        90014796334
68218763791562   OSCAR                LUCERO             TX        90014897637
68219945584327   TYRONE               VANISH             SC        19070909455
68222791271964   LEO                  DAUGHERTY          CO        90013637912
68223557481644   MARIO                REED               MO        29087195574
68223731555975   FEDERICO             REYES              CA        90014797315
68225654591522   ROSARIO              TALAMANTES         TX        75047276545
68226395655973   JERONIMO             MALDONADO          CA        48047493956
68227492461964   ALMA                 RICO               CA        90003744924
68227951751354   LEMMA                BEDADA             OH        90013409517
68229174161964   CHRISTIAN            PAUL               CA        90002201741
68229271755973   DANIEL               HERNANDEZ          CA        90012672717
68231369471921   EREDIRA AND ALEXIS   OSUNA              CO        90012633694
68231964871964   PEACHES              MCENNIS            CO        32078659648
68232981171964   JASON                CARREON            CO        90013039811
68233281181644   MAURICE              DAVIS              MO        90013262811
68233678381644   MORRIS               DAVIS              MO        90008076783
68235264855973   GERARDO              FLORES             CA        48005962648
68235755181644   CANTIS               WILLIAMS           MO        90007667551
68239435261964   SHIRL                BARTLETT           CA        46031054352
68239462955975   HAYLEY               SWEENEY            CA        90013124629
68239677571964   GARY                 CROSS              CO        90013376775
68241596971964   MICHELE              TOMORWITZ          CO        32073795969
68241632285949   DEBRA                MURDOCH            KY        90007866322
68241673284392   BRYAN                AGUILAR            SC        90010346732
68243283655975   LAURA                GUTIRREZ           CA        90011182836
68244916133698   MIGUEL               NUNEZ              NC        12079879161
68246189397122   VIRGILIO             CRUZ ALONSO        OR        90010611893
68247556571921   CHET                 ROANE              CO        32075315565
68247644291562   MIGUEL               MARTINEZ           TX        75057756442
68247668155973   KHAM                 KHAMSOUK           CA        90014816681
68247694571964   DEREK                JONES              CO        90011876945
68248914355973   SHANNON              GENTRY             CA        90001579143
68249681355975   LAURA                ALCANTAR           CA        90010276813
68249784271921   TONYA                DIEHL              CO        90011067842
68249932461964   GUIL                 MURRIETA           CA        46018709324
68251212471921   ARWORN               HAMILTON           CO        90014612124
68251213277533   SARAH                BRADLEY            NV        90002132132
68251961771964   ROMEO                ROMERO             CO        90013049617
68252649171964   CESAR                CHAVEZ             CO        90012256491
68253876171921   JAMES                HARRELSON          CO        90013478761
68254332255973   ZACHARY              LULWITZKY          CA        90010113322
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68257181271921   JASHUA         WINNEY                  CO         90012451812
68258542861964   GLADYS         CRUZ                    CA         90001715428
68258641561936   RANDY          LEWIS                   CA         90003696415
68259357881644   MARKEES        JACKSON                 MO         90008993578
68263317571964   LORENA         RODRIGUEZ               CO         32058713175
68264548755993   VICTOR         RODRIGUEZ               CA         90008795487
68267439381644   TERRY          MARCUS                  MO         90014844393
68269258357595   KOURTNEY       MADRID                  NM         90015062583
68269282871964   MARIA          BAEZA                   CO         90008242828
68271171751352   DOLORES        UNGERBUEHLER            OH         90001991717
68271788961936   TINA           DARROW                  CA         46088217889
68272281261964   MITZI          MARTINEZ                CA         90000782812
68273986477375   BECKY          JAMES                    IL        90008059864
68274491861964   OSIRIS         COLIN                   CA         90010124918
68274817171964   MICHAEL        CLARK                   CO         90011008171
68275785161558   COLINA         BAKER                   TN         90014537851
68277693351374   RICKIE         WEST                    OH         90012646933
68282336471921   MARIE          MENDOZA                 CO         32035583364
68284169555973   MANUAL         ALCARAZ                 CA         90013181695
68285891951354   COURTNEY       DRAKE                   OH         90007658919
68286122855975   MARK           HENRY                   CA         90014861228
68286841855973   ALEJANDRA      CARREON                 CA         90010918418
68287739971964   MARCUS         MARK                    CO         90009577399
68288179181474   TREVOR         FRENCH                  PA         90014121791
68288771391943   ALICIA         HYMAN                   NC         90015077713
68289427281644   MARVENA        JONES                   MO         90014834272
68289991491894   KATRINA        CRICK                   OK         90001589914
68292581471964   JOHN WILLIAM   VANDERVERE              CO         90011665814
68293433555975   FRANCISCO      MENDEZ                  CA         90013034335
68294262155975   PATRICIA       CHOLNOP                 CA         90001882621
68294521751354   SIDNEY         SHAUNTEE                OH         90005585217
68294853271964   BARBARA        HENDERSHOT              CO         90013098532
68296257691562   SANDRA         VERDIER                 TX         90009272576
68298472855975   TELLE          MECUISTIOS              CA         90011244728
68312919871964   JOHNNY         RALSTON                 CO         32015939198
68313555155973   PATRICIA       CRUZ                    CA         48030915551
68313732255975   DOLORES        CORTEZ DE VEGA          CA         90014927322
68313955941258   RAM            HARI                    PA         90010269559
68314251791522   MATTHEW        ALMANZAR                TX         90005522517
68321344361964   CUAHTEMOC      ORNELAS                 CA         90014463443
68327219155975   JOSE           VALDAVINO               CA         90011532191
68327887671964   JAMIE          CHAVEZ                  CO         90002878876
68332891281644   RACHEL         SMITH                   MO         90013518912
68334398791562   ROGELIO        ARREOLA                 TX         75021303987
68337445725226   KENYA          PERRY                   NC         17001924457
68339666155975   JAMES          MATHEWS                 CA         48065076661
68342672557538   TOMAS          CLARK                   NM         90005136725
68342689461964   IRMA           QUEZADA                 CA         46084286894
68342814971964   AISHA          CHAMBERS                CO         90013068149
68344376255975   NANCY          VANKHAM                 CA         48023553762
68344575891562   ROBERTO        PEREZ                   TX         75008465758
68345775481644   WILLIAM        WIGGS                   MO         29053677754
68346164471964   MICHAEL        SMITH                   CO         90014271644
68347154361936   ARMANDO        OCHOA                   CA         46051891543
68347567355975   LAURA          MACHUCA                 CA         90014935673
68349372661964   ASCENCIO       PADILLA                 CA         90013623726
68351726591535   DAILA          SALINAS                 TX         90014957265
68354269671921   LEROY          ATENCIO                 CO         90008932696
68354297521652   JAMES          WELCH                   OH         90013942975
68357127655973   STEVEN         SMITH                   CA         90013991276
68357611691562   RAMON          VASQUEZ                 TX         90015186116
68357619355975   MARICELA       SANCHEZ                 CA         90014936193
68358154671964   JAMI           THOMAS                  CO         90014251546
68359311391562   JUAN           GUTIERREZ               TX         90004253113
68362975391363   SUSAN          EICKHOFF                KS         29061259753
68363619355975   MARICELA       SANCHEZ                 CA         90014936193
68363859871964   JERRY          BEAN III                CO         90013098598
68363975391363   SUSAN          EICKHOFF                KS         29061259753
68364327871964   WILLIAM        SMITH                   CO         32040433278
68366367355975   GLORIA         MENDEZ                  CA         90012353673
68366741791562   ROSA           ZUBIA                   TX         90011467417
68369519957124   EDWIN          TEJADA                  VA         81015985199
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68369582555973   OIDIA          PELAYO                  CA         90001645825
68369872571964   HARRY          HOLTON                  CO         90006908725
68372885891562   TRACY          STANWICK                TX         90014208858
68374218371921   VERNELL        BROWN                   CO         32019572183
68374642271964   BIANCA         MENDOZA                 CO         90013076422
68376738857538   MAESTAS        ELIZABETH               NM         90004597388
68376849355975   ELISABET       GARCIA                  CA         90002298493
68378471281644   HEATHER        HASSLER                 MO         90014834712
68378869381644   ARNULFO        GOMEZ                   MO         90003858693
68379837955975   NOEMI          ORTIZ                   CA         90014938379
68382216181644   RYONITA        BYERS                   MO         29040302161
68384964955973   CINDY          MARTINEZ                CA         90013909649
68385228855975   MARIA          OROZCO                  CA         90004342288
68386353751354   JAMES          KING                    OH         90014153537
68386775491562   EDGAR          DEVORA                  TX         90012927754
68386799661964   JULIO          SALDANA                 CA         90014447996
68387894884392   JENNIFER       FORDYCE                 SC         19025828948
68388883655975   MARIA          TEJEDA                  CA         90014938836
68391664751354   TALIKA         DENNIS                  OH         90012856647
68393151261936   GUSTAVO        CRUZ                    CA         90006511512
68393829151354   SHANNON        ALESHIRE                OH         90002288291
68395727855973   JUAN           GARCIA                  CA         90010457278
68396693571921   ELIZABETH      PERKINS                 CO         90011056935
68396844161964   MELISSA        RANDALL                 CA         46013558441
68399652681644   ASHLEY         BYRED                   MO         90015096526
68411148561944   DESTINY        PANGANIBAN              CA         90012811485
68411951971921   HOLLY          SMITH                   CO         90012899519
68413398561964   NATALIE        NOCHCHALAD              CA         90008963985
68413561591562   LORENZO        ARROYO                  TX         75008845615
68414352871921   DARIONE        COLE                    CO         90014613528
68417711471964   MARK           BELL                    CO         90013077114
68418639455975   MIGUEL ANGEL   GUZMAN LARA             CA         90010996394
68421467155973   JUAN           GARZA                   CA         90010764671
68421495671921   SUSAN          THOREN                  CO         90013924956
68422522581644   JAMES          WILLIAMS                MO         90011495225
68423271881644   JASON          ROLL                    MO         90008802718
68424632255973   GABRIELA       SANCHEZ                 CA         48048756322
68424688661936   SHANDA         WILSON                  CA         90013466886
68425999351354   KIRK           BURNETT                 OH         90000969993
68426819757595   PAYGO          IVR ACTIVATION          NM         90010978197
68429927391521   NELLY          FIGUEROA                TX         75026179273
68433169351354   COLLEEN        ROESCH                  OH         66094561693
68433795471921   LAUREN         BERKBUEGLER             CO         90012247954
68435244591562   MICHELLE       TARANGO                 TX         75057822445
68435754351354   DELORIS        CLARK                   OH         90013197543
68436825291562   JOSEPH         DELGADO                 TX         90015198252
68437588261964   AARON          GONZALEZ                CA         90015195882
68441962655973   BERNARDO       VASQUEZ                 CA         48081039626
68442761191562   ANGELICA       RIVERA                  TX         75065897611
68442926651354   DAVID          HILL                    OH         90010659266
68443436981644   RAMON          MARTINEZ                MO         29088854369
68444895581675   BRIANNE        MILLIGAN                MO         29079738955
68446726971921   TINA           COULTER                 CO         90001327269
68448628971921   YOLANDA        PINA                    CO         90010676289
68454556491562   ROBERT         SANCHEZ                 TX         90015425564
68458429751354   SHANNON        MURPHY                  OH         90014964297
68458841755975   TERESA         FACIO                   CA         90002118417
68459116785667   ALFREDO        HERNANDEZ               NJ         90014841167
68462189755973   LUIS           HERNANDEZ               CA         90005951897
68462466271964   CHERYL         MASTERS                 CO         90013084662
68462533184392   NEYOKO         WHITAKER                SC         90007975331
68463796257538   BEATRICE       RAMIREZ                 NM         90005157962
68465628355973   RAFAEL         GONZALEZ                CA         90013176283
68465855771964   GARY           LUCERO                  CO         90013078557
68469681941299   CAROL          STARKE                  PA         90002136819
68471316291562   RICARDO        MENDEZ                  TX         75009773162
68471631971921   BRANDI         GARCIA                  CO         90015216319
68472631971921   BRANDI         GARCIA                  CO         90015216319
68472695991994   JAMES          WASHINGTON              NC         90011336959
68474466271964   CHERYL         MASTERS                 CO         90013084662
68474923157538   EDIT           TORRES                  NM         35579539231
68475698438522   SARA           BARNEY                  UT         90011356984
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68475744351354   LAURA         WILLIAMS                 OH         90013627443
68479489981644   CHRISTINA     APPLEGATE                MO         90012644899
68479686161964   SEAN          GORDON                   CA         46030836861
68481714471964   MICHAEL       PACHECO                  CO         90014557144
68483395257538   LUCERO        JUDY                     NM         90003233952
68483457481644   STEPHANIE     CONLEN                   MO         90014834574
68485937881644   KATELUND      HOUGAS                   MO         29038149378
68487382861964   SALINA        DELARGE                  CA         46017683828
68487747961934   VERNON        FISHER                   CA         90011577479
68487975171921   MARK          FREUND                   CO         32087859751
68489866991923   LEKISHA       TORAIN                   NC         90005648669
68491644361559   PAYGO         IVR ACTIVATION           TN         90010946443
68493135771964   BRIAN         GRANT                    CO         90009571357
68496323855975   DE JESUS      JOSE                     CA         90003083238
68496443271964   ESPERANZA     GONZALEZ                 CO         90014524432
68497554561936   ENRIQUE       IBARRA                   CA         46017355545
68499853455973   MARIA         SANTANA                  CA         90010498534
68499965271921   A             VELASQUEZ                CO         90011969652
68511727755975   ERNESTO       LEMUS                    CA         90002357277
68512334861558   KENDRICK      DAVIS                    TN         90015363348
68513713855973   GUADALUPE     IBARRA                   CA         90004807138
68514627961964   ELVIA         PADILLA                  CA         46019186279
68515381161994   JAIME         CAMARENA                 CA         90007993811
68518313471921   JESSICA       RAMSEY                   CO         90007843134
68519925661964   LAURA         AVILEZ                   CA         46061959256
68521618871964   KAYLA         BOWERS                   CO         90013086188
68523613991522   JULIAN        VELAQUEZ                 TX         90004256139
68525315251354   SHARON        BLUNT                    OH         90013533152
68525435255973   ANTHONY       VARGAS                   CA         90012604352
68525884271921   DANA          IKENER                   CO         32040188842
68526677851354   WILLIAM       BAKER                    OH         90000626778
68527724855977   EMELIA        DIEGO                    CA         90004157248
68528417333659   OFELIA        RIVERA                   NC         90015214173
68529716855973   MARIBEL       LOPEZ                    CA         90014527168
68529751755975   MARIA         GONZALEZ                 CA         90002727517
68529832455973   JACI          HERNANDEZ                CA         90015328324
68532264361964   STEPHANIE M   BARCENAS                 CA         90013052643
68533633671921   HANNAH        HALE                     CO         90014406336
68535492161924   VICKI         COOPER-MURPHY            CA         46055144921
68535585971964   CRYSTAL       BERNHART                 CO         32034965859
68536335551354   CHANDRA       FAIRBANKS                OH         90010003355
68542113655975   ALBERT        DURAN                    CA         90011961136
68544515963634   PAYGO         IVR ACTIVATION           MO         90013495159
68544875151354   SANDRA        SCHULER                  OH         66084608751
68548797761964   LUIS FELIPE   GONZALEZ                 CA         90011307977
68548975951354   BETH          WEBSTER                  OH         90001699759
68553654655975   CHRISTINE     AUGUSTINE                CA         90011036546
68554229155993   CECILIA       LARES                    CA         48010992291
68554425191969   TANIKA        BYRD                     NC         90010614251
68556758771964   ESTEVAN       CANO                     CO         90014097587
68557797361964   JESUS         CRUZ                     CA         46036577973
68563892191562   ENRIQUE       ESPINO                   TX         75044518921
68564757951322   ELLEN         WOOD                     OH         66097017579
68564944484322   SHONTAE       WEBB                     SC         90013999444
68566539433656   CORY          BYRD                     NC         90013975394
68566937191535   ELVIRA        HERNANDEZ                TX         75094799371
68567498655973   ALEJANDRA     LOPEZ                    CA         90009384986
68569492891562   PAULINA       ALMADA                   TX         90012174928
68569782451354   VALESSIA      WISE                     OH         90005277824
68571429761964   JOSE          GALLARDO                 CA         46046454297
68571486747825   DAAIYAH       SALEEM                   GA         90012454867
68571722291359   SOLEDAD       CHAVIRA                  KS         29013787222
68573448971964   SOYIN         PETPRADITH               CO         90002024489
68573889684392   TIFONEE       EPPS                     SC         19016028896
68574344371964   AVERY         LEE                      CO         32067203443
68574374661936   CHRISTOPHER   VALMA                    CA         90006513746
68574618491522   GILBERTO      TORRES                   TX         75010146184
68574962171921   DONNA         WAGNER                   CO         32059899621
68575113655973   ROBERT        YOUNG                    CA         90008341136
68575344371964   AVERY         LEE                      CO         32067203443
68575421671921   KELLY         HICKS                    CO         90013154216
68576229455975   JACKY         CORTEZ                   CA         90009652294
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68577341871921   ANGEL        PARKS-MATTHEWS            CO         90011003418
68577824191986   JEANINE      NGANGOLA                  NC         17070408241
68578412671964   ABRAHAM      AVILA                     CO         32049264126
68579647981644   KAREN        BLONG                     MO         90012116479
68585382151354   CODY         BOLDEN                    OH         90013813821
68585517271921   TULLY        STUFFELBEAM               CO         32076195172
68585642461964   HILDA        RAMOS                     CA         46025816424
68585688877568   MICAELA      ZEPEDA                    NV         90012606888
68587757391562   LUPE         HERRERA                   TX         75088667573
68589619281644   MISTY        BECHTOLD                  MO         29002186192
68589624271964   JOSEVELYN    MORALES                   CO         90014466242
68591528991259   BEVERLY      BENNETT                   GA         90002505289
68591547991522   RUBEN        GOMEZ                     TX         90005525479
68591798255973   ASHLEY       YOUNG                     CA         90013487982
68591839671964   JOSEPH       ABSHIRE                   CO         90013088396
68591981181675   ROGELIO      RAMOS                     MO         29002049811
68593371557124   JUAN         CRUCES                    VA         90007683715
68593421871964   MELISSA      ARMSTEAD                  CO         90009594218
68593798461964   CARMEN       MENDOZA                   CA         46003947984
68594341655975   MARIA        CABRERA                   CA         90002683416
68594524891562   ALMA         HERNANDEZ                 TX         75082125248
68594547991522   RUBEN        GOMEZ                     TX         90005525479
68595817691527   MELISSA      VELASQUEZ                 TX         90009338176
68596748271964   EDDIE        BLACK                     CO         32001737482
68597346491562   JULISSA      GUILLEN                   TX         75071663464
68598458691562   DOMINIQUE    MONTEROS                  TX         90014094586
68598538381226   LOUIS        SMITH                     IN         90014785383
68611287951354   BEVERLEY     DEBRUSE                   OH         90011322879
68611936371921   KATHY        TAYLOR                    CO         90009629363
68612285371964   TINA         GETTMAN                   CO         90006372853
68612567655975   OLIVER       MARTINEZ                  CA         90009445676
68612692757595   DEBBIE       BACA                      NM         90014216927
68613855551354   MYRON        HAMPTON                   OH         66043778555
68614872971964   VANESSA      MONTES                    CO         90010928729
68615369255973   DAVID        SPIER                     CA         90010313692
68617472471964   VINCENT      LOVATO                    CO         90015134724
68618527155973   DENNIS       DORADO                    CA         90007895271
68622966785939   TIFFANY      DAGETTE                   KY         90001629667
68622993851354   LIBERTY      BURNS                     OH         90003979938
68623365381644   TYE-LEKA     MILLER                    MO         90014303653
68626152181675   KARINA       BERNAL                    MO         29011601521
68626853271964   BARBARA      HENDERSHOT                CO         90013098532
68632566184392   CAROL        KARESH                    SC         19072595661
68634862371964   DAVID        WHITCOMB                  CO         32067208623
68635398571921   LISA         TAFOYA                    CO         32019403985
68635635155973   ANTONIO      GARZA JR                  CA         48043356351
68636343855973   BARBARA      VANHOEK                   CA         90013203438
68637157955973   RUDY         CAVAZOS                   CA         48033721579
68638894861964   RON          SMITH                     CA         46074778948
68643369461936   RICARDO      FERNANDEZ                 CA         46062313694
68644677393762   TREMAYNE     ADAMS                     OH         90012356773
68646211861964   CELESTE      DELGADO                   CA         90015232118
68646628755969   DENNIS       ELIA                      CA         90012776287
68656474955981   OSCAR        RAMIREZ                   CA         90014074749
68656593161991   AUSTIN       LOVETT                    CA         90011285931
68657635571964   MARK         LUCAS                     CO         90015006355
68657784761964   NIKI         TORRES                    CA         90010537847
68659511455973   BRANDEN      CARTER                    CA         90005525114
68659996171964   PATRICIA     PARKER                    CO         90010809961
68661487691562   ABRAHAM      SEGURA                    TX         90010564876
68662318955973   JUAN         GRANADOS                  CA         48048773189
68665791161936   MANUEL       PRADO                     CA         46017447911
68667663584392   JAMES        CARRIGG                   SC         19038086635
68667979851354   FELICIA      TOWE                      OH         66052669798
68669214551354   VINESIA      BREWER                    OH         90014002145
68669236371964   JAVIER       DOMINGO                   CO         32051902363
68676687155973   ATONIO       TONGA                     CA         90012016871
68677653491834   TRISTA       GOULD                     OK         90009896534
68678653381644   DANIEL       LAKE                      MO         90012906533
68679942571921   MICHAELA     GOEBEL                    CO         90014949425
68681849855975   MARIELA      ESTRELLA                  CA         90005738498
68681982351354   MICHAEL      MARTIN                    OH         90013599823
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68682252971921   RACHEL       HAZEL                     CO         90011952529
68683167761964   PERLA        GARCIA                    CA         46083921677
68683892471964   HENRY        COTHRAN                   CO         90008278924
68685317571964   MARIA        REYES                     CO         32006513175
68694268891562   SORAYA       MARISCAL                  TX         75003462688
68699627871964   DAMIAN       CHARLES                   CO         32095306278
68699988851354   TABATHA      WOLFE                     OH         90014579888
68711284191562   NOHEMI       OSTOS                     TX         75036962841
68711683691359   ARMANDO      GALVAN                    KS         90011626836
68711831751354   LISA         PADGET                    OH         90011408317
68712769441258   ERICA        WILLIAMS                  PA         90005097694
68714743955975   MELISSA      RAMIREZ                   CA         48016317439
68716862851354   LISA         RATLIFF                   OH         66035568628
68718815961964   EDWARD       DANOW                     CA         90011968159
68719611681644   NICOLE       DONATO                    MO         90014136116
68719842591562   CESAR        SERRANO                   TX         75088638425
68719949161964   ANTHONY      OPESKY                    CA         90014759491
68719964357595   MARGARITA    ROBINSON                  NM         90012349643
68721798161936   MICHAEL      HALFORD                   CA         46015427981
68724472471964   VINCENT      LOVATO                    CO         90015134724
68725192861964   VANCE        HIVORAL                   CA         90012321928
68727435255973   ADANARY      GONSALEZ                  CA         90012024352
68728457481644   STEPHANIE    CONLEN                    MO         90014834574
68728935871921   LUCRETIA     COLPITTS                  CO         32006769358
68729481571964   KATHLEEN     KOTTKE                    CO         90010794815
68729947151354   MITCHELL     DEGLER                    OH         90014509471
68732786155973   KEVIN        VASQUEZ                   CA         48041387861
68733675991562   DIEGO        MARTINEZ                  TX         75016886759
68733695455973   MAIRA        MENDOZA                   CA         90012936954
68734544571921   CRISTIANA    LYNN                      CO         90012305445
68735692491522   GRISELDA     ROSAS                     NM         75081766924
68735899691562   GLORIA       PAZ DE PACHECO            TX         90015158996
68737453655973   LUIS         GARCIA                    CA         90013304536
68748666281687   LARRY        HARRIS                    MO         90012986662
68748944681687   IDA          COLE                      MO         90014099446
68748992271964   DORIS        RAMOS                     CO         32067229922
68752492951354   STEPHANY     STALLWORTH                OH         90013764929
68753355861964   VIRGIL       RANDLE                    CA         46067103558
68753793191562   SANDRA       GARCIA                    TX         75035127931
68755224355973   LLUVIA       CHAVEZ                    CA         48076782243
68756592251354   EDWARD       LAHAM                     OH         90005085922
68756755155973   MICHAEL      DILLON                    CA         48041167551
68757227555973   TISA         FORD                      CA         90015102275
68757321891998   ARACELIS     CABRERAS                  NC         90005863218
68757798891562   RAQUEL       ZUNIGA                    TX         90000387988
68759862955983   KRISTINE     SANCHEZ                   CA         90011568629
68762612171921   JAMES        CARPENTER                 CO         32063796121
68762658361964   JASON        YOCHUM                    CA         90014126583
68763146171964   CEASER       PEREZ                     CO         90008291461
68763639471964   GEREMIAS     HERNANDEZ                 CO         90012346394
68766611985949   ROBERT       MATTHIS                   KY         90010736119
68767427155975   JOE          ANTONIO                   CA         48016504271
68767942371921   MICHAELINE   WHITNEY                   CO         90012169423
68771778484392   JACQUELINE   DANTZLER                  SC         19038187784
68771857961944   JEAN         LCATULA                   CA         90001708579
68772777571921   BRADLEY      MITCHELL                  CO         90014397775
68772971871964   REBECCA      RAY                       CO         90014309718
68773315155973   MIGUEL       MIRANDA                   CA         90009113151
68774918461964   ELOIZA       JUARES                    CA         90004799184
68777187755975   ROSA         LEDESMA                   CA         90005821877
68777363651354   BRITNEY      HOBBS                     OH         90011163636
68779871191942   HOSAM        SHIGLAWI                  NC         90012758711
68781165171921   DAVID        ABEYTA                    CO         90000241651
68783489491998   BRIDGETTE    WILSON                    NC         90004974894
68786744171921   AMI          MCQUILLIAMS               CO         90005587441
68787636651354   RUDY         GALVAN                    OH         90011076366
68787834355975   HERIBERTO    SOTO                      CA         48082268343
68788157861964   MELISSA      GONZALEZ                  CA         90009201578
68788315155973   MIGUEL       MIRANDA                   CA         90009113151
68789537255973   ROSALINDA    ONATE                     CA         90002385372
68789637551354   RAY          BASTIN                    OH         90010686375
68792549681644   TONY         MAC                       MO         90010865496
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68793279481644   EBONY        ROBINSON                  MO         90010912794
68796258191562   ROSA ISELA   SEGURA                    TX         75066102581
68811333261964   GLORIA       MORFIN OCHOA              CA         90014143332
68813442551354   TYAIR        HODGE                     OH         90012154425
68816976422925   THOMAS       MATHIS                    GA         90014019764
68817488957131   SOFIA        HERNANDEZ                 VA         90002544889
68819486671964   SELMA        HALLS                     CO         90013104866
68821166991552   IRENE        GARCIA                    TX         90007061669
68822389757538   EDUARDO      QUEZADA                   NM         35503263897
68823883461988   RODRIGO      SEWELL                    CA         90002478834
68824454671964   LACIANA      HARDING                   CO         90007404546
68825492891562   PAULINA      ALMADA                    TX         90012174928
68825632171921   FLORENTINO   LOPEZ- PLANCARTE          CO         90012136321
68825846155973   ADRIANA      RIOS                      CA         48015088461
68825914971964   JOSHUA       SANDERS                   CO         90014099149
68827273771921   RYAN         HAYES                     CO         90012432737
68827541651354   ENRIQUE      AIDAR                     OH         90003855416
68827651461964   RAUL         CALIMAG                   CA         90004776514
68828263371921   JENN         SPIELMAN                  CO         90003502633
68831536655975   JOSE         CARDENAS                  CA         90010475366
68832665591562   KIMBERLY     GARCIA                    TX         90014196655
68833869771964   JOHN         FORD                      CO         90007228697
68834227955975   MARIA        BARAJAS                   CA         48042642279
68834447751354   RANDY        LYNCH                     OH         66078374477
68834623591599   LOURDES      MOLINAR                   TX         90011716235
68834987871964   SONIA        ORTEGA                    CO         90014909878
68835343955975   DAVIANNA     MARTINEZ                  CA         90001273439
68835862371964   DAVID        WHITCOMB                  CO         32067208623
68837653971964   STEVEN       CAUDILL                   CO         90011196539
68839136755973   VICTORIA     ESTRADA                   CA         48037531367
68839977861975   RAYMUNDO     GARCIA                    CA         90006749778
68841524171964   KARINA       FRAGOSO                   CO         90013105241
68843531171964   BUTCH        HILLEN                    CO         32095675311
68843671171921   JOHN         ARAGON                    CO         32043356711
68843881191522   MARIA        GANDARA                   TX         75054378811
68844365771964   CRYSTAL      TETIK                     CO         90002153657
68844928471921   ROBERT       ZECHA                     CO         32099629284
68845698777533   KEITH        HERMANN                   NV         43063296987
68846465955973   MARIA        HERNANDEZ                 CA         90015144659
68847167284392   LINDA        WILLIS                    SC         19056481672
68847263157595   ESPERANZA    MEDRAN                    NM         90013822631
68847768191525   ARTURO       CADENA                    TX         90009907681
68848393661964   PAULA        MUNOZ                     CA         90013183936
68848846391535   LLUVIA       CARNERA                   TX         90012038463
68849317491522   MAGDA        GONZALES                  TX         75085143174
68851271571921   AMANDA       SULIVIN                   CO         90014792715
68851318251354   JESSIE       BURTON                    OH         90014593182
68851423881675   DELANA       ROACH                     MO         90005544238
68851495391562   MARIANA      GANDARA                   TX         75002334953
68853621581644   JUSTIN       MILLER                    MO         90014926215
68853738871921   CHRISTINA    DAME                      CO         32089777388
68854738871921   CHRISTINA    DAME                      CO         32089777388
68856551881644   DAVID        CARPENTER                 MO         29041645518
68858775391562   DANIEL       LUNA                      TX         75096037753
68859326281644   AMY          SNYDER                    MO         90014623262
68861978671921   MARK         KEEL                      CO         90013719786
68863142471964   MELINDA      SAUNDERS                  CO         90014501424
68863972831432   CHEERELL     MILLER                    MO         90014659728
68864168351354   AYDIN        ELIEYIOGLU                OH         90010761683
68864185757538   JAMES        ALEMAN                    NM         90005551857
68865519655975   JILLYNE      ROWELL                    CA         48017075196
68865639571964   CRYSTAL      LOPEZ                     CO         90004546395
68866524955973   RENE         SANCHEZ                   CA         48023805249
68868159791562   KAREN        JACOBO                    TX         90006181597
68869689781644   SHEENA       JACKSON                   MO         90012456897
68873859471921   RANDALL      KUBIN                     CO         90009548594
68875777181644   JULIE        PFISTER                   MO         29012667771
68876778455973   JOHNNY       DELACRUZ                  CA         90014397784
68878167591522   GUSTAVO      CONTRERAS                 TX         90006571675
68878245571964   KENNETH      COLEMAN                   CO         32051632455
68885299861936   CYNTHIA      HOGGATT                   CA         46089142998
68886251355975   SHELLIE      LITTLEJOHN                CA         90005352513
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68886579833626   RONALD        CLAPP                    NC         90007885798
68891158457135   EDWIN         SIGUENZA                 VA         90011021584
68892188191522   JORGE         HERNANDEZ                TX         75000691881
68893754471921   JENNIFER      ZEE                      CO         32090547544
68895694961936   KRISTA        PRICE                    CA         46093926949
68895743751354   MOHAMED       YEHDHIH                  OH         90004707437
68895991371921   WINFREDO      SILVA                    CO         90013369913
68897845991923   SOCORRO       CORTES                   NC         90004508459
68898654351354   MARY          WARDEN                   OH         90014306543
68899167255973   JUAN MANUEL   RODRIGUEZ                CA         90013271672
68899867571921   JANET         DAVIDSON                 CO         32045508675
68911117151354   JAMES         WACHTER                  OH         66090991171
68912718661964   SALATIEL      OCAMPO                   CA         90012897186
68912758861936   CRISTINA      HERNANDEZ                CA         46017517588
68915424591562   ALFREDO       ALVARADO                 TX         90001984245
68916187755973   VIANCA        FARIAS                   CA         90013611877
68917499155969   DAYSI         MORENO                   CA         90012214991
68917766461964   MICHAEL       SAH                      CA         90015007664
68918811151354   DANNY         PELCHA                   OH         90012098111
68919671971964   JAMES         BURKE                    CO         32015316719
68924673271964   RICARDO       QUINTERO                 CO         90013116732
68925244561586   ANTHONY       HOWSE                    TN         90014412445
68925491971921   LUIS          GARCIA                   CO         90010014919
68929417181675   KEVIN         VAUGHN                   MO         90010214171
68929626685953   ROBERT        CANTER                   KY         90014106266
68931529591522   AMY           TORRES                   TX         90002805295
68933492957595   TOBY          ALLISON                  NM         90014594929
68934483581644   IRENE         GATES                    MO         90009384835
68936796671921   MARKISHA      BRYANT                   CO         90014897966
68938849881644   DARRYL        MITCHELL                 MO         29027678498
68939135985986   JAIME         LANDERO                  CO         90009651359
68939422461964   GAILE         TURNER                   CA         90007794224
68941371681691   ANNA          ORTIZ                    MO         29000883716
68941925991998   TERRI         BYRD                     NC         90005949259
68942657155975   BARBARA       LACY                     CA         48047806571
68943372571921   KARAH         BAZZY                    CO         90003503725
68945574393762   SONYA         WILLIAMS                 OH         90006095743
68949731381644   SHATATA       JOHNSON                  MO         90014867313
68949875657595   TREGOR        DOLE                     NM         90014618756
68949893455975   DANIEL        LEMUS JR                 CA         90000268934
68954621655973   ALEXANDRIA    M                        CA         90009746216
68955663891562   JAQUELINE     GALVAN                   TX         90010286638
68957575271964   JOSEPH        QUINONES                 CO         90008305752
68958284871921   ZACH          POSIK                    CO         32007492848
68959422684392   ARCHIE        GADNER                   SC         90010634226
68962311291572   JOSE          LEOS                     TX         90001273112
68964865457131   LISA          MOBLEY                   VA         90007888654
68965214471964   MARIO         KURRY                    CO         90013732144
68965719255973   MICHAEL       LIMA                     CA         90009547192
68966797851354   MARY          KOGER                    OH         90013527978
68966827861936   EILEEN        CASTRO                   CA         46017488278
68967269771921   JASON         LAMOUREY                 CO         90015152697
68968899461964   ROBERT        HUSTON                   CA         46010808994
68968982971964   SEAN          VITERA                   CO         90013109829
68971345661936   WONDIMA       KASSA                    CA         90006523456
68971834281644   JEFF          JOHNSON                  MO         90014128342
68971863171964   STEPHANIE     CHAPPEL                  CO         90014678631
68974745551354   LEON          MCGUIRE                  OH         66019557455
68975954771921   LANCE         PETERSEN                 CO         90005569547
68976582751354   DAVID         DAWKINS                  OH         90003855827
68976891271964   MARIA         RODRIQUEZ                CO         90005138912
68976922291234   HECTOR        LOPEZ                    GA         90012409222
68981581171921   ANGELINA      SHUMAKER                 CO         32089715811
68981968684392   KIP           CARLSON                  SC         90007989686
68982439355973   VALENTINO     JIMENEZ                  CA         48006634393
68982624471964   NICOLE        ANSON                    CO         90007686244
68983822191562   CARLOS        GAYTAN                   TX         90011108221
68985463361964   DANIEL        FELIX                    CA         46088084633
68987267255973   ARISTEO       MENDEZ                   CA         48041052672
68991821455973   SUE           STRICKLAND               CA         90014888214
68993438155983   JOSE          SANCHEZ                  CA         90012744381
68994728951354   JAMES         PRYOR                    OH         90013227289
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68998552651354   SHANE              BACZYK              OH         90014585526
68998723255973   BENJAMIN           ESTRADA             CA         90013877232
69111473755975   JESSICA            LOPEZ               CA         90010584737
69112443491592   RAMON              HERRERA             TX         90008084434
69113286855975   OLGA               ALCANTAR            CA         90014572868
69113358971921   JACK               SAMPLE              CO         90013193589
69114948492824   NATALIA            RESENDES            AZ         90014269484
69116649655975   MONICA             ROJAS               CA         90013956496
69124883955975   KRISTINE           LOOMIS              CA         90007388839
69126367961964   JAVONNA            ROBINETT            CA         90015273679
69129649655975   MONICA             ROJAS               CA         90013956496
69135424591562   ALFREDO            ALVARADO            TX         90001984245
69136257621977   KEITH              MOELLER             IN         90013582576
69137484291525   MARTHA             CASTRO              TX         75043224842
69138656691562   ROMELIA            DAVIES              TX         75018366566
69138769455975   JESSICA            GIBBS               CA         90013457694
69141169191592   ITZEL              RAMOS               TX         75042101691
69142297651352   KIMBERLY           MCDONALD            OH         66005492976
69142876555975   RBECCA ANN         JONES               CA         90003308765
69145988491522   DESIRAE            SANCHEZ             TX         90011659884
69149543291522   IVAN               ORTIZ               TX         75044825432
69152418255966   MICHAEL            MUNIZ               CA         90010484182
69153149591592   HIPOLITO           GARCIA              TX         90001211495
69153158871921   ERIN               DUTCHER             CO         32047701588
69157154691522   SUE                MIRANDA             TX         75060991546
69157763391592   MARIO              HERRERA             TX         90011897633
69158596655975   PAMELA             HUNTER              CA         90013475966
69159515955975   GEORGINA           NAVARRO             CA         49005725159
69163945255975   ANDREW             RIVERA              CA         90014789452
69164445191998   JIMMY              JOHNSON             NC         17086014451
69166685491592   LAURA              REY                 TX         90007146854
69167118755975   JESUS              GONZALEZ            CA         90015181187
69167379591592   MARISELA           VARGAS              TX         90008103795
69168847993739   BRIDGET            CONNER              OH         90007788479
69171736455975   ROSAURA            GONZALEZ            CA         90005397364
69173288961964   YOLANDA            CONTRERAS           CA         90015082889
69174176991522   RIOS               OSCAR               TX         90003151769
69175366591592   ELISA              PEREZ DEL REAL      TX         90003723665
69176611681675   NOLAND ROAD 2903   PHONE BAR           MO         90010026116
69177495291592   JOSIE              BADILLO             TX         75077374952
69182282457563   DANIEL             PAYAN               NM         90013602824
69182759891522   LORRAINE           FRIAS               TX         75076957598
69183346191592   LETICIA            BURUATO             TX         90008083461
69186491891562   JULIO              MOLINA              TX         90000184918
69187819961964   ALEJANDRO          CHAVEZ              CA         90007298199
69188896131499   TIFFANI            TAYLOR              MO         90012208961
69192343991894   JOSE               LUNA                OK         21016463439
69192832655981   SELINA             VALLES              CA         90011688326
69193287555975   GYSSELLE           JIMENEZ             CA         90011572875
69195531491522   JOSE               RAMOS               TX         75017005314
69195814361964   RODRIGO            ARCE                CA         90012278143
69195818855975   MARGARITA          SANCHEZ             CA         90013088188
69195818991894   JOSE               CASTILLO            OK         21078258189
69197929171921   LUCIA              HERNANDEZ           CO         32072299291
69198371155975   ROXAN              NAVARRO             CA         90011893711
69199419631461   KRISTIN            RHODES              MO         90007884196
69199861855975   BRIANA             COCHRAN             CA         90014038618
69211163281675   ROSIE              HUNTER              MO         29017481632
69212716771921   AMANDA             JACKSON             CO         90005187167
69216697661937   ISAAC              FLORES              CA         90013346976
69221186571921   JUAN               ALDAVA              CO         32000661865
69221535793787   SUMAR              RUSSELL             OH         90010225357
69221987591572   MANUEL             RAMIREZ             TX         90007779875
69222227657131   FAUSTINA           BLANCO              VA         90003322276
69222546591522   EMA                MIRAMONTES          TX         90011835465
69222629657131   OSCAR              GAMEZ               VA         90013576296
69223452555943   MARIO              VEJAR               CA         90011534525
69227439891562   ANA                ELICERIO            TX         90007034398
69227947491522   PAULA              VARGAS              TX         75010419474
69233713691259   ANGELICA           ALFONSO             GA         90006547136
69239732956367   NICOLE             SKELLEY             IA         90009987329
69243951491522   DENISE             PRIEVE              TX         75081839514
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69244883591562   JUANITA            YEPEZ               TX         90010608835
69247514371921   LOUIS              CASTLE              CO         90009935143
69248992561964   TAI                QUACH               CA         90010829925
69249996461964   ADRIAN             VILLALPANDO         CA         46003479964
69252444381675   GEOFFORY           HALE                MO         90008674443
69252936191894   RUTH               ARCHER              OK         21088709361
69253841991522   CLAUDIA            CAZARES             TX         90011838419
69254526271921   JESSE              RANALS              CO         90014695262
69254629561964   AIOTEST1           DONOTTOUCH          CA         90015116295
69257675191592   MARIA              GARCIA              TX         90014966751
69257755691562   DIANA              DIAZ                TX         90014287556
69259343461559   CONDA              POLK                TN         90015443434
69262822291562   ROSALIA            MARISCAL            TX         90010278222
69264342555948   SHANNA             BATLEY              CA         90013663425
69264556491562   ALFONSO            LOPEZ               TX         75018025564
69268775991592   ANA                DURAN               TX         75097627759
69268913971921   EVELYN             REVELLO             CO         90012149139
69269597291522   ELIZABETH          APODACA             TX         75082215972
69272437271921   DAVID              VILLA               CO         90012484372
69275889591522   FRANCISCO          MALDONADO           TX         90011838895
69279274491986   YUMAXI             ROJAS-RODRIGUEZ     NC         90010032744
69279278361936   PATRICA            FLORES              CA         46047282783
69281593561964   MICHAEL            MALVEAUX            CA         90008835935
69282412455975   ANDREY             AGUIRRE             CA         90014254124
69286341855975   MARINA             HUERTA              CA         90012793418
69289847961964   AIOTEST1           DONOTTOUCH          CA         90015128479
69291193191562   CARLOS             SIMENTAL            TX         75040861931
69291445291592   JESUS              CASTANON            TX         75020824452
69293834155975   YESINA             RAMOS               CA         90013078341
69294696891893   ASHLEY             NICHOLS             OK         90008436968
69296945591562   PEDRO              GARCIA              TX         75091459455
69297312191562   MARIA              MORENO              TX         90009443121
69298231391525   MANUEL             GUTIERREZ           TX         75092542313
69299383855977   SERINA             HERNANDEZ           CA         90012013838
69299723471921   FRANK              WILLIAMS            CO         90014257234
69299914771921   FRANK              WILLIAMS            CO         90013619147
69312336671921   JULIA              FAITH               CO         90014113366
69313626661964   BALVINA            CUELLAR             CA         90014236266
69318713371921   TONI               MONTEZ              CO         90002277133
69321627761936   CORALS             MARBEL              CA         46009426277
69323284855975   LOUIE              ESPINOZA            CA         48046982848
69325326831651   LUIS               CARDIEL             KS         90012363268
69327166861964   ISELA              CASTANEDA           CA         90011401668
69327758591562   EMMA               MARTINEZ            TX         90010647585
69332683481675   MICHAEL            MOORE               MO         90010026834
69334953671921   MARIA              MURILLO             CO         90005519536
69339238691592   MARGARITA          MARTINEZ            TX         90012372386
69339346391592   BERNICE            ESTRADA             NM         90013963463
69342762391592   ALEJANDRO          NAVARRETE           TX         90011897623
69344868591592   GILBERT            CANALES             TX         75065918685
69349848561964   AIOTEST1           DONOTTOUCH          CA         90015128485
69352336551352   EBONY              SMITH               OH         90009643365
69353391281527   JOSE               PRADO                IL        90014113912
69354147161964   OSCAR              BELLOZO             CA         46007491471
69356682755975   SALVADOR ATILANO   TRINIDAD            CA         90014986827
69356756672436   RONALD             HOAR                PA         90004957566
69357724371921   ELIZABETH          DOMINGUEZ           CO         32085997243
69362713391562   MIRIAM             QUINTANILLA         TX         75028627133
69363694391522   LUZ                OLAVE               TX         90001226943
69364451271921   MICHAEL            DALE                CO         32039554512
69364744561964   MICHELLE           LYNCH               CA         90014437445
69371832384324   MONICA             HUNT                SC         90012148323
69372581861937   JACOB              APPELL              CA         90012905818
69372727771924   RON                FILKOSKI            CO         90005847277
69373442855975   LINDA              LARA                CA         90012924428
69373477261964   SILVIA             GONZALEZ            CA         46040614772
69374238961964   CLAUDIA            JACKSON             CA         90014582389
69374426355942   JERRY              MARTINEZ            CA         90013834263
69374688691943   EVELIA             MATEOS              NC         90007776886
69375131491562   ALMA               RODRIGUEZ           TX         75005781314
69377159485953   SHERRETA           HENDERSON           KY         67051651594
69377265391562   URBINA             PEREZ ALEJANDRO     TX         90005882653
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69378367791522   PATRICK        JOSEPH KIDMAN           TX         90000983677
69378815661936   ROCIO          RODRIGUEZ               CA         90010718156
69381889181675   CHARLES        BEEGHLEY                MO         29017508891
69382156391363   SERGIO         FALCON                  KS         90012791563
69382241261964   CARLOS         COTA                    CA         90014772412
69383632791894   SYLVIA         SCOTT                   OK         21038616327
69384648691522   BRYAN          SAENZ                   TX         75040736486
69388915897121   ANIKA          ROMERO                  OR         90011859158
69391985861964   JESSE          MORALES                 CA         46068139858
69393186271921   AREIL          ROBINSON                CO         90005771862
69394214971921   NELLIE         STROUGHTER              CO         90013052149
69395446131454   JENNIFER       COLEMAN                 MO         27506464461
69396486391562   KARINA         HERNANDEZ               TX         75091734863
69399625371921   KEVIN          ARVIZU                  CO         90014176253
69413385191522   HECTOR         SOSA                    TX         75054003851
69413989161936   GRANDVILLE     JONES                   CA         90011739891
69417337391592   JESUS          BORREGO                 TX         90009443373
69417921855975   ANITA          NAVARRO                 CA         90014109218
69418125871921   JOSE           ALVARADO                CO         90001691258
69418229961964   ESLIE          BUGARIN                 CA         90012162299
69419825391562   JJ             KOMP                    TX         90010668253
69421449761964   JEAN           SMALL                   CA         90014844497
69422353391572   DEXTER         BUSTOS                  TX         90004913533
69424347361964   ROBERTO        QUIJAS                  CA         90013753473
69426816855975   BRENDA         VARGAS                  CA         90005598168
69426857261964   MIGUEL         ARELLANO                CA         90014168572
69429831691592   CHRISTIAN      RODRIGUEZ               TX         90010368316
69431462171921   DAVID          WOMBLE                  CO         90014584621
69433962591522   RAMON          ALVARADO                NM         75013119625
69435696155975   ARLENE         ALVAREZ                 CA         90014966961
69436254293787   BRITTANI       ELLARS                  OH         90012792542
69436476455975   ALYSSA         CRUZ                    CA         90011654764
69436756591894   AMY            DARNELL                 OK         21077667565
69437836191562   LUIS ARMANDO   CADENA                  TX         90012408361
69438693891562   JESSICA        AGUILAR                 TX         90008916938
69443996155975   NICHOLAS       MILLAN                  CA         90008009961
69446371155975   ROXAN          NAVARRO                 CA         90011893711
69448912461964   CARRILLO       ROBERTO                 CA         90008679124
69455782391592   CARLOS         CHAVEZ                  TX         75005377823
69457314263634   PHILLIP        FAIRBRIDGE              MO         90014733142
69459838491931   JOSE           OROZCO                  NC         90004678384
69461831491562   GUADALUPE      RUELAS                  TX         90010938314
69462363657134   ANTONIO        RIVERA                  VA         90008673636
69462756561964   CARLOS         VELASCO                 CA         90006227565
69464467377345   THERESA        BIRCH                    IL        90010024673
69464494671921   CAROLYN        MAYO                    CO         32067424946
69466482161964   BERTHA         RAVER                   CA         46047884821
69467489991562   DIANA          CASTANEDA               TX         90007694899
69468139791285   RONALD         HARDY                   GA         90004891397
69469221161964   COLMAN         ELIZABETH               CA         46072742211
69469968291562   MARCO          LOPEZ                   NM         75043669682
69471167391522   SANDY          RODRIGUEZ               TX         90011841673
69473512381698   ANGELLA        GILL                    MO         90008795123
69475525761924   ANGELA         DAMECKI- CORDERO        CA         46005805257
69479625861936   SAM            ARMSTEAL                CA         90011956258
69483879171921   JOSHUA         STANNARD                CO         90014458791
69491788655975   ERIKA          CEBALLOS                CA         90012527886
69493443355975   GAVINA         PAZ                     CA         90005804433
69495162991592   LOURDES        REYES                   TX         75004521629
69496224161984   MARSHALL       HINOJOSA                CA         90006542241
69497422161964   CHARLES        MYERS                   CA         46090654221
69498465891592   DAVID          MADRID                  TX         90010784658
69512126371921   ANH            NUGYEN                  CO         90007961263
69514171261964   JOSE           JUAREZ                  CA         46006331712
69514428191592   OMAR           COLON                   TX         90005054281
69514635671921   DEILBER        FUENTES                 CO         90010776356
69515324871921   BEVERLY        PERRY                   CO         90012453248
69516613891592   RICARDO        GARSIA                  TX         90004366138
69516924993754   ALICIA         DAY                     OH         90005259249
69518119391986   NICOLE         SMITH                   NC         90010821193
69518416591894   SHONNA         CHECOTAH                OK         21070964165
69519192291522   DAVID          GARCIA                  TX         75060521922
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69521826697127   CANDY        CAUICH                    OR         90010638266
69523928691234   MARQUITA     SHELTON                   GA         90009759286
69524717661964   ALFREDO      LAGUNAS                   CA         90004027176
69525771591522   NINFA        CASTILLO                  TX         90007707715
69526741891562   CRYSTAL      OROZCO                    TX         75081367418
69531849261964   JENNIFER     GUERRERO                  CA         90004888492
69532757655975   REYNA        MENDOZA                   CA         90014857576
69534942591522   ANN          RIDINGS                   TX         90006409425
69538384855975   CHRISTINA    ANDRADE                   CA         90014763848
69539582155975   ALICIA       GUILLEN                   CA         90014165821
69541423291562   SUSIE        MOSS                      TX         90009494232
69543883355975   FERNANDO     HERRERA                   CA         90013218833
69545934251354   RENEE        MASON                     OH         90008519342
69545934455975   JOSE         LOPEZ                     CA         90011709344
69546268691522   DIEGO        GAMEZ                     TX         90011842686
69547378571921   ROBERT       BUTTLE                    CO         32086543785
69548475181675   CARLA        PALMER                    MO         29008604751
69549493191592   REBECA       PORTILLO                  TX         75073594931
69552526161936   CARMENE      LAFATA                    CA         46006645261
69553938591562   MARTHA       VONILLA                   TX         75015899385
69554745191562   ADRIAN       AVITIA                    TX         90013337451
69555732291592   DANIEL       ORONEZ                    TX         90014117322
69557244891562   GLORIA       GUTIERREZ                 TX         90008412448
69557764991592   CESAR        NAVARRO                   TX         90013137649
69559462955975   HAYLEY       SWEENEY                   CA         90013124629
69561732161964   TIMOTHY      DAVIS                     CA         90012887321
69563362291535   LISA         MEDINA                    TX         75087153622
69564475371921   NATE         JUVERA                    CO         90014584753
69565696555973   SANDRA       HIDALGO                   CA         90004736965
69567356971921   TODD         HENSON                    CO         90001703569
69569214981675   BRIANNA      TOLSTON                   KS         90001962149
69569424591562   PERLA        ENRIQUEZ                  TX         90009474245
69571528755973   MONICA       RAMIREZ                   CA         90014245287
69572546761936   MARLENE      VASQUEZ                   CA         46039575467
69575784286426   ABRAHAM      MONTELEON                 SC         90015367842
69575873971921   ELIZABETH    FLORES                    CO         90012468739
69576294891522   ANDREW       FULLER                    TX         90005302948
69577854581675   KIM          FIELDS                    MO         29002778545
69577924555975   LUZ          CARDENAS                  CA         90011179245
69582564955975   SARAI        NIETO                     CA         90014805649
69584642891592   MARIA INES   ALVAREZ                   TX         75060856428
69585498891522   MANUEL       LIZALDE                   TX         90005174988
69585718191592   ALBERTO      CERVANTEZ                 TX         90002197181
69587568271921   ANTHONY      DEACON                    CO         32061445682
69588286381675   DAKOTA       FERGUSON                  MO         90010092863
69588363161964   LATIONA D    SIMPSON-JAMES             CA         90010803631
69591363361964   JOSE         BOMBADILLA                CA         90012283633
69593276861964   VERONICA     FIGUEROA                  CA         46097112768
69593861791592   MARTIN       MARMOLEJO                 TX         90011858617
69595999757134   MARISSA      HERNANDEZ                 VA         90014859997
69597735155973   EMILIA       ROCHA                     CA         48056797351
69599678455975   TERESA       LOPEZ                     CA         90013176784
69611773857127   MAIHUONG     PARHAM                    VA         90006247738
69613316891552   ARELI        OLIVARES                  TX         90000273168
69615825191522   MARIA D      TORRES                    TX         75077568251
69617915591562   ANN          FIERRO                    TX         75012569155
69622242691592   ROSA         DUARTE                    TX         90012412426
69624559661936   MERARY       ROMAN                     CA         46060395596
69629476691562   JULIETA      MURGA                     TX         75090704766
69629677455943   JUAN         GUZMAN                    CA         90012116774
69631727291592   ESTRADA      WENDY                     TX         90013987272
69631983763669   ASHLEY       KIRK                      MO         90009779837
69633629561964   AIOTEST1     DONOTTOUCH                CA         90015116295
69634387191592   PRISCILLA    CARROLL                   TX         90014693871
69635169881675   PAYGO        IVR ACTIVATION            MO         90009251698
69635271571921   HENRY        RIVAS                     CO         90012702715
69636487291562   SALAR        LETY                      TX         90009974872
69637156491562   LARRY        VAZQUEZ                   TX         90010281564
69638859991562   ISAAC        CEDILLO                   TX         90013628599
69639186191592   GUS          RAMIREZ                   TX         90010981861
69639873685833   EDGER        GONZALEZ                  CA         90003598736
69641931691562   RICARDO      BECERRA                   TX         90012279316
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69642224861936   AMANDA          AMAZQUITE              CA         90013052248
69642669791234   WADE            GARVIN                 GA         90014936697
69643365355973   JESSICA         GARCIA                 CA         48044273653
69645645161964   LYDIA           MADRID                 CA         46043806451
69651364271921   SCOTT           CLAY                   CO         32039653642
69651752861964   CASSANDRA       GIROUX                 CA         46053687528
69652773871921   ROBERT          RUSHWORTH              CO         90011747738
69654629961964   AIOTEST1        DONOTTOUCH             CA         90015116299
69656844355975   JESUS           GOMEZ                  CA         90014558443
69656919833656   JOSE            VALLEJO                NC         90014159198
69659627991522   ELIZABETH       GARCIA MARTINEZ        TX         75031066279
69659772581675   WILLIAM         POWELL                 MO         90006877725
69659853357123   CAROLYN         CHAPPELL               VA         81005398533
69662127285944   PHIL            BLACK                  KY         90009531272
69662888271921   DARCY           BARNES                 CO         90010988882
69663138961964   JOVITA          GALEANA                CA         90013741389
69664111391592   GABRIEL         ESTRADA                TX         90014171113
69667285455975   SALVADOR        GARCIA                 CA         90006132854
69668288691592   CHRISTINE       SANDERS                TX         90012862886
69673492891592   CHRISTINA       ALONSO                 TX         90013314928
69674992155975   ISMEAL          PEREZ                  CA         90011879921
69675422891592   MARY            HOSENDOVE              TX         90013984228
69675551891562   MARIBEL         CHAVEZ                 TX         90005715518
69678511591522   JOSE            HERNANDEZ              TX         90011845115
69679526791522   DEIS            ARTALJO                TX         90011845267
69682759377533   JUAN CARLOS     ALBA-VALENCIA          NV         90012897593
69684242991592   USULA           SILVERSTEIN            TX         90013032429
69686792655943   SUSANA          SUA                    CA         90014557926
69689129871921   JUAN            CARLOS                 CO         90002071298
69689686955973   DARRYL          JONES                  CA         48061696869
69689927761964   NIKITA          HAWKINS                CA         46075569277
69691569261964   BORISHLAV       BOAISSOV               CA         46073075692
69692692661964   JUAN            GARZA                  CA         90014416926
69693469181675   CHARMIN         PATTON                 MO         90010094691
69694475651555   VALERIE         MCPHEE                 IA         90015354756
69711334771921   AVILD           ENRIQUE                CO         32005523347
69711771391562   ANTHONY         SIFUENTES              TX         75007777713
69712516755975   FELICIA         ARIAS                  CA         90007175167
69714816481672   JNAI            RUBIN                  MO         90002518164
69716572355973   MANUEL          JIMENEZ                CA         90005395723
69718243297126   OLIVIA          JAMES                  OR         90011812432
69718585361964   LUANNI          REYES                  CA         46014995853
69718949155983   MIKE            VALDEZ                 CA         48094659491
69719277861964   ERICA           RODRIGUEZ              CA         90000622778
69722597755969   DORIS           FREEMAN                CA         49008455977
69723719371921   PORTIA          DUNLAP                 CO         32086727193
69724439161936   MAYRA           MARQUEZ                CA         46046834391
69725878571921   HARLEY          CAUGHLIN               CO         90015238785
69726688491522   GARCIA          MARIA                  TX         90002166884
69727342691592   ISELA           ROJAS                  TX         75075883426
69727556581675   CRUZ DE JESUS   MELENDEZ               MO         90002295565
69727772355973   GUILLERMO       MENDOZA                CA         90013077723
69731919491592   MARIA           CASTRO                 TX         90006959194
69733831591522   BRIANA          FAVELA                 TX         90000418315
69734199891534   IVONNE          MARROQUIN              TX         90006561998
69734875291894   MALLORY         BAIN                   OK         21015408752
69741352555973   CYNTHIA         RODRIGUEZ              CA         90003343525
69741368791522   ARTURO          PONCE                  TX         90004213687
69743856971921   AMILCAR         ESPINOSA               CO         90000448569
69745136191592   ALEX            ESCUDERO               TX         75022491361
69745288961964   YOLANDA         CONTRERAS              CA         90015082889
69746212751352   LUIS            GONZALEZ               OH         90012532127
69747422955975   SARAH           ANDERSEN               CA         90013304229
69747827671921   TERRY           DECKARD                CO         32038328276
69749664741273   BIVINS          EDWARD                 PA         51070726647
69761232891562   ZELINA          BEJARANO               TX         90013152328
69761715455978   MARIA           CORTEZ                 CA         48082897154
69764759255975   VICTOR          ACUNA                  CA         90003677592
69766334255973   PATRICIA        GUZMAN                 CA         48070943342
69767735657123   HUGO            GOCHEZ                 VA         90006757356
69767932641249   GREGORY         MAYO                   PA         90006329326
69769349255975   MIGUEL          MEZA                   CA         90011783492
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69769698361943   FORTINO      TEPEXPA                   CA         90013416983
69771911755975   MARIA        MURILLO                   CA         90011189117
69772665691562   DE           SHEPHERD                  TX         90010136656
69773562891562   MARIBEL      AGUILERA                  TX         75052355628
69787651561936   DON          CURTIS                    CA         90003156515
69794882681675   CHARLENE     MATHEWS                   MO         90010108826
69795123555975   JOSE         GARCIA                    CA         90008001235
69812228191562   SERGIO       TREVIZO                   TX         90010422281
69813319261936   RAFAEL       GARCIA                    CA         90010583192
69814622191534   CARLOS       DIAZ                      TX         75052036221
69814967371921   JOSE         MENJIUAR                  CO         90011859673
69816989691592   RAFAEL       MONARREZ                  TX         75006139896
69818155961964   ROGER        MIRET                     CA         90013741559
69818556191592   CLAUDIA      ESPARZA                   TX         75091815561
69819944861964   DEENITA      GONZALEZ                  CA         46085199448
69821161291572   ELIAS        REYES                     TX         90008061612
69821931755975   SHAWNY       BLEDSAW                   CA         90014659317
69822975191522   MOISES       TOVANCHE                  TX         75025879751
69825137271921   TERESA       MCLAUGHLIN                CO         90002561372
69825476691527   ANDY         HERNANDEZ                 TX         90008164766
69825844755935   DOLORES      VARGAS                    CA         90011498447
69826837555975   JOSEPHINE    MOISA                     CA         48073518375
69826981891562   LAKITA       SMITH                     TX         90003619818
69827291391592   KEVIN        CAMARENA                  TX         75030432913
69829734371921   LUIS         MERCADO                   CO         90011477343
69829837555975   JOSEPHINE    MOISA                     CA         48073518375
69832153691562   RICARDO      CONTRERAS                 TX         90013611536
69833381491562   NANCY        CANO                      TX         90012243814
69833659291592   VANESSA      LOPEZ                     TX         90011316592
69835294957142   MARIA        SERRANO                   VA         90013782949
69841888271921   DARCY        BARNES                    CO         90010988882
69843265671921   MIKE         ROMERO                    CO         90005282656
69844999793741   BRIAN        HEIS                      OH         64520619997
69846458591562   LUPITA       MONSIVAIS                 TX         75005674585
69848739455975   OSCAR        ESPINOZA                  CA         90006557394
69849443861964   MARCELIN     SATURNE                   CA         90014504438
69852347455975   JODEE        MALLETT                   CA         90012893474
69852721591522   BRENDA       SANTILLAN                 TX         75025887215
69854325785957   BENITA       INGRAM                    KY         90010763257
69854687291592   JOSE         PARRA                     TX         75015416872
69854814855975   NOLAND       LEMAE                     CA         90014668148
69856695655975   MIGUEL       MEDINA                    CA         90013116956
69857597172498   BETH         HOMER                     PA         90013365971
69858819193728   MARK         PHEANIS                   OH         90010488191
69859127661936   MARIA        OCEGEDA                   CA         90010631276
69864488171921   MICHAEL      GIST                      CO         32018864881
69864488761964   JOE          PORRAS                    CA         90013784887
69865712591572   KARINA       HOGGAN                    TX         75086537125
69866899791562   JAVIER       TOVAR                     NM         90013128997
69867285991562   MARIA        DE LA PENA                TX         75077732859
69871893393735   ANTONYO      BELL                      OH         90009508933
69873187961964   BRENDA       JAIME                     CA         90008241879
69873944261936   MELISSA      DE LA CRUZ                CA         46090969442
69874492555973   GRISELDA     IBARRA                    CA         48094594925
69876579655975   ROSALWA      ARRLAGA                   CA         90006625796
69877376793735   SHAWN        TAYLOR                    OH         90008923767
69877692591522   GERARDO      ARANDA                    NM         75024576925
69877765161936   JORGE        GARCIA                    CA         90000667651
69881832255975   JEREMY       SALAZAR                   CA         90006638322
69882496971921   LUZ          MERCADO                   CO         32082954969
69884275555975   ALEJANDRA    CORONA CORONA             CA         90014672755
69884844961936   LETICIA      TIZNADO                   CA         90010458449
69885414161936   SILVIA       CONTRERAS                 CA         46078504141
69886629961964   AIOTEST1     DONOTTOUCH                CA         90015116299
69888275555975   ALEJANDRA    CORONA CORONA             CA         90014672755
69888715971921   JOHN         URBAN                     CO         90014857159
69889439671921   KAYLUNA      QUILALES                  CO         90008954396
69891462361964   MARTIN       MUEGUIA                   CA         90004164623
69896432891562   ANGELICA     LUEVANO                   TX         90014514328
69899975191894   RICKY        BLEIER                    OK         21001959751
69913941291562   ANAHI        PEREZ                     TX         90002919412
69914258155975   ROSA         CASTILLO LEON             CA         90011822581
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69914866461964   CARLOS       AVILA                     CA         90010008664
69915312291592   MARISA       SANCHEZ                   TX         75097893122
69915617791562   DIEGO        JIMENEZ                   TX         90011306177
69922658955942   INOCENCIO    RODRIGUEZ                 CA         90010426589
69924751655991   JOSHUA       MORRISSEAU                CA         49076077516
69925229661936   MARTHA       DAVALOS                   CA         46084962296
69925353591562   CLAUDIA      SIFUENTES                 TX         90014833535
69925626591592   BEATRIZ      RODRIGUEZ                 TX         90006666265
69927163591562   MAYRA        VELOZ                     TX         90003501635
69927268761961   CINDY        MUENNICH                  CA         90011432687
69928453785981   LISA         MITCHELLE                 KY         90006664537
69929619761964   KARLA        JUAREZ                    CA         90014276197
69929685781675   ANDRE        JONES                     MO         90006906857
69934268955975   EVANGLINA    LUCIA                     CA         90011832689
69934521991562   VILLEGAS     MICHELE                   TX         90009965219
69935143991562   MARIO        RIVERA                    TX         90014351439
69938414371921   RANDY        AKMENKALNS                CO         90013014143
69942577155975   ALEX         TAPIA                     CA         90013265771
69944462261936   MONICA       CASTLEBERRY               CA         90010584622
69946746991592   CRUZ         CHAVEZ                    TX         75055667469
69946837157142   FLORENSIO    BORHOQUEZ                 VA         81063308371
69946851661964   RIKKI        MITCHELL                  CA         90015268516
69947842461936   GUADALUPE    CONTRERAS                 CA         46079138424
69948465461936   RICARDO      CORTEZ                    CA         90010584654
69949254455975   ESPERANZA    HERRERA                   CA         90006802544
69956423561936   DIANA        LOPEZ                     CA         90006074235
69956952855975   JOSE         HERNANDEZ                 CA         90014709528
69958187461964   JOHN         CLANCY                    CA         90013541874
69958848561964   AIOTEST1     DONOTTOUCH                CA         90015128485
69958884791522   LAURA        MARQUEZ                   TX         75069048847
69959946861964   JESSICA      OROZCO                    CA         90014449468
69962496481621   ADELE        SOSA                      MO         90014034964
69963177855975   TAMMY        MCFARLAND                 CA         90014721778
69967198991527   ALMA         DOMINGUEZ                 NM         90010691989
69972439451555   CHARLES      GRAZIER                   IA         90015304394
69974173455975   JOSE         MORALES                   CA         90009951734
69975858933641   MINNAY       EDUCATION                 NC         12083598589
69979892871921   TAYLER       SAPPINGTON                CO         32062558928
69981488961964   VALENTIN     CRUZ                      CA         90013724889
69981723361936   ANTONIO      AVILA                     CA         46009927233
69982696655975   VERONICA     FABELA                    CA         90014736966
69984315991562   YOLANDA      FABELA                    TX         75038223159
69985386771921   GERARDO      CRUZ                      CO         90011983867
69988596891562   CYNTIA       CAZARES                   NM         90001335968
69989844991592   JOHNY        GARCIA                    TX         90004348449
69989859355975   MELVIN       FANNING                   CA         48087958593
69991784571921   MICHELLE     STEELE                    CO         90000577845
69993572855975   DANNY        TAFF                      CA         90006985728
69993931461936   LORENA       ZATARAIN                  CA         46072679314
69994154691592   BEATRIZ      AGUIRRE                   NM         90011411546
69995717577585   EDGAR        GRANILLO                  NV         90014877175
69996974561936   CHAVONNA     FRAZIER                   CA         90012869745
69998848191592   SANDRA       PEREZ                     TX         75021068481
69999752491592   MONTSERRAT   DOMINGUEZ                 TX         90013457524
71111296951586   JACK         CARR                      IA         90014112969
71111459431433   DEWAYNE      CLAIBORNE                 MO         90013964594
71112784857157   EDGAR        CLAROS                    VA         90004517848
71113157572479   AMBER        GISHNOCK                  PA         51014271575
71114265685937   KRISTINA     JOHNSON                   KY         90012942656
71114746872441   DAYNA        TANTALO                   PA         90005577468
71115172185937   KAYLA-ANN    PIROZZI                   KY         90014641721
71115468557157   YOVANIS      MARTINEZ                  VA         90012654685
71116127255939   WILFRED      CACAYORIN                 CA         90004871272
71116437391548   SONIA        LEOS                      TX         90011974373
71117766884322   DAVALTE      FROST                     SC         90015527668
71118153785937   JAIME        HERNANDEZ                 KY         90013071537
71118325555931   RAENISHA     JEFFERSON                 CA         90009673255
71119441655939   PERSCILLA    CARRANZA                  CA         90012624416
71119658981633   JEREMY       STILL                     MO         90013766589
71122269531443   LETONYA      BELL                      MO         27512992695
71123245833699   BRIAN        MOSSES                    NC         90009382458
71123282284373   KAITLIN      BROWN                     SC         90008502822
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71123665341237   JESSE            BOOKER                PA         51013916653
71124975184322   THOMAS           ALLEN                 SC         90007599751
71126683655966   BRIAN            ADNEY                 CA         90014006836
71126721233699   CHERRON          GILMORE               NC         90010607212
71129127355969   JOSE RICKI       PASEA                 CA         48070971273
71129283891981   COFFEE           BROWN                 NC         90010992838
71129335331443   PAMELA           LOCKETT               MO         90012803353
71131424255966   MARIA            VILLALVAZO            CA         90008484242
71132892271921   GARY             MCDANIELS             CO         90011408922
71134922672441   SARA             NAIRN                 PA         90001649226
71137726357157   MILTON           FUENTES               VA         81093537263
71138565472441   OMAR             RIVERA                PA         90010555654
71138792281633   LUCIA            SCOTT                 KS         90014587922
71139263257157   ALBERTO          VILLANUEVA            VA         81082482632
71141576172421   SHAREN           MICHAEL               PA         51006715761
71141792281633   LUCIA            SCOTT                 KS         90014587922
71142457185937   ERIC             MILLER                KY         90002154571
71143172784322   MICHELLE         SANDERS               SC         90013271727
71143341533698   PATRICAA         HARRIS                NC         90010573415
71143448433657   SHERIKA NICOLE   HENRY                 NC         90006414484
71144791291855   KATHERYN         OLMSTEAD              OK         90012487912
71145198484322   MOISES           GAMBOA                SC         90009131984
71146762255939   GRISELDA         GONSALEZ              CA         90011497622
71147317571921   LORENA           RODRIGUEZ             CO         32058713175
71147792433698   CHERLY           YOUNG                 NC         90010037924
71147874893739   DONNA            JOHNSON               OH         90012008748
71148551457474   PAYGO            IVR ACTIVATION        IN         90013885514
71149418931433   RYAN             SETLICH               MO         90006464189
71149928131443   DANIELLE         RENFROW               MO         27551269281
71151823241237   RONNISHA         YATES                 PA         90014908232
71152228755939   DIANE            BEALS                 CA         48011792287
71152563631443   ALTHEA           SHERMAN               MO         90011145636
71153828131433   LISA             LOWE                  MO         90010918281
71153859591588   COLIN            MCCORMICK             TX         90012588595
71154386931433   FELICIA          BUFFINGTON            MO         90007623869
71155233293767   ANTHONY          BROWN                 OH         64513822332
71155727872421   JETT             FULLER                PA         90004547278
71156862791991   SHERRELLE        CASEY                 NC         90000838627
71158116641237   ED               HORN                  PA         51007051166
71159136881643   JENNIFER         KURTZ                 MO         90009401368
71159149555934   SHIRLEY          XIONG                 CA         90000711495
71159559931443   ALEX             SODIPO                MO         90003545599
71159844555969   NICOLE           CADENA                CA         48061898445
71161735133698   BABARA           DINKINS               NC         12013207351
71161836355996   LAURA            HUIPIO-GUZMAN         CA         48096738363
71161873141227   JOSEPH           CRIVARO               PA         51087828731
71162977155969   NORBERTO         CALDERON              CA         90012779771
71163781955939   CORA             VERA                  CA         90011067819
71163944581643   ANGLA            BAILEY                MO         90010549445
71164212581643   HERBERT          GUTIERREZ             MO         29036352125
71167563155966   CARLOS           FERNADEZ LEAL         CA         90011565631
71167739871921   OMAR             THORNE SR.            CO         32053817398
71167911141253   ROBERT           ZYNOSKY               PA         90001029111
71167948555969   DAVID            LUMPKIN               CA         90008609485
71168521771921   RALPH            CRONK                 CO         90006415217
71169492155921   ANTONIO          SILVA                 CA         90001624921
71169629343424   JOSE GUADALUPE   MARTINEZ              VA         90015466293
71171541761997   MARTIN           RAMIREZ               CA         46059695417
71172798972441   PHYLLIS          MARTIN                PA         90014787989
71175373993767   ASHLEY           DOCKERY               OH         90010713739
71175418991993   AN'JANAE         LANIER                NC         17048544189
71175644355969   JORGE            LOPEZ                 CA         90013116443
71176189285937   EUNICE           REYES                 KY         67017991892
71176484255969   MAIRA            ROBLES                CA         90010584842
71177642841227   PATRICK          WILSON                PA         51044516428
71178493431433   K                DILLOW                MO         90007814934
71179188593739   BRANDON          CRIDLIN               OH         90013841885
71181486931443   STEPHANIE        SHELTON-MONTEZ        MO         90008304869
71184189891549   ANA              SANCHEZ               TX         90012161898
71184475141237   EMELENE          MANLEY                PA         90011214751
71184748955966   ANGELA           SIMS                  CA         48074977489
71185351133698   UNKNOWN          UNKNOWN               NC         12001703511
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71185959281643   RITA         VONGKHAMCHANH             MO         29098309592
71186458261964   YVONNE       MARTINEZ                  CA         90012104582
71186468972441   MERLE        LOVE                      PA         90011994689
71186918884363   IAN          WALTS                     SC         90012209188
71187947791959   EMMA         ARMSTRONG                 NC         90006239477
71188751655939   CARLOS       BALLADAREZ                CA         90015157516
71189275531433   ASHIA        THOMAS                    MO         90010902755
71189741341237   LORREECE     FULTZ                     PA         90005407413
71191828431482   WAYNE        BUIE                      MO         27588278284
71195525441237   BHARAT       RAI                       PA         90012125254
71195718393739   MARY         MARK                      OH         90011007183
71196892641227   PAIVA        BARACUHY                  PA         90010588926
71197232181643   NATASHA      HEDGES                    MO         29042082321
71197371155966   AMIE         POOLE                     CA         90013953711
71198823361935   DEENA        MARIERAYNIESHA FORD       CA         90008108233
71211437191522   ACOSTA       RUBE THOMAS               TX         75028714371
71211474451349   KEVIN        MCBRIDE                   OH         90012604744
71211482655966   MISAEL       MENDEZ                    CA         90007204826
71211837733447   FERNISA      MILLS                     AL         90014478377
71212159884322   ROMAN        UDVORNOCKY                SC         90012451598
71214196841253   ANGEL        POWELL                    PA         90003651968
71214477241227   BONNIE       TUCKER                    PA         90013704772
71215195191991   RAYMOND      HARRIS                    NC         90005321951
71215429631433   JESSICA      SMITH                     MO         90014714296
71215951384322   JUAN         RODRIGUEZ                 SC         14500319513
71217368555969   JOSE         MUNOZ                     CA         90014653685
71218161793739   WANDA        LAI                       OH         90012451617
71218598681633   JORGE        SALAZAR                   MO         90014105986
71221182971921   LARRY        WISMER                    CO         90011511829
71222413841237   JOSEPH       RUSSELL                   PA         90006334138
71222697431443   GARDELL      WAYNE                     MO         90003296974
71225371155966   AMIE         POOLE                     CA         90013953711
71226275157157   ROSA         GOMEZ                     VA         81030602751
71226873384322   KIM          GOODMAN                   SC         90005658733
71226886655939   ALUCIANA     VALDOVINOS                CA         90009988866
71227525981633   LISA         HEDGES                    MO         90011085259
71231615791993   JAMES        THOMAS                    NC         90003386157
71231628331482   KIMBERLY     BRANNEKY                  MO         90012166283
71232135141253   ASIA         TYUS                      PA         90012731351
71233788933699   JENNIFER     KELLEY                    NC         90010287889
71234342672441   JOSEPH       BATTALINI                 PA         90013333426
71234412933699   STEVEN       WELLS                     NC         90009714129
71235377357157   SOPHEARA     YIM                       VA         90013163773
71235379971921   KRISTAN      HOFFPAUIR                 CO         90009223799
71235674731438   LASHA        DEFRANCE                  MO         90008446747
71236499155969   JOANNA       MARTINEZ                  CA         90013854991
71238529155966   MARIA        CAMPOS                    CA         48082345291
71239271531433   DAMIEN       ROSS                      MO         90002382715
71239458181255   BRETT W      MILLER                    KY         90015164581
71239729384322   VALERIE      SINGLETON                 SC         90008467293
71239915933698   STARLYN      LITTLE                    NC         12053059159
71241482755966   GUILLERMO    PEREZ                     CA         90008424827
71241625631443   LARRY        CRUMP                     MO         27571106256
71242538193739   LAKIESHA     GREEN                     OH         90009145381
71242674961986   ZAID         LUNA-ALVAREZ              CA         90014006749
71243148757157   ATTILA       FRIWALD                   VA         81060201487
71244698655969   KAREN        BREWER                    CA         90013826986
71245276655969   SAMANTHA     GAMEZ                     CA         48067542766
71247216391991   AHKEE        MMANN                     NC         90005342163
71247793833699   BARBARA      LOPEZ                     NC         90012197938
71248544733699   NADRE        BARRON                    NC         90009745447
71248971555939   NAIROVY      GUERRERO                  CA         48090059715
71251444841227   CONCEPCION   SEGUNDO                   PA         90004164448
71251795933699   JESUS        ALEGRIA MENDOZA           NC         12008937959
71252656972479   CHARLES      HEATH                     PA         90010946569
71253262893739   STACY        FERRENCE                  OH         90014032628
71253369985937   ANNA         MONTGOMERY                KY         67045273699
71253793455939   ANA          RODRIGUEZ                 CA         90010747934
71254557433698   DARRIUS      MASSEY                    NC         90009745574
71254976657157   JAQUELIN     DELCID                    VA         90006619766
71255665455966   MATTHEW      KUHN                      CA         90002576654
71255672141237   DERWIN       HARTON                    PA         90010906721
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71256698155939   SANDRA       MEDINA                    CA         48014516981
71259249861924   JORGE        SANCHEZ                   CA         90004072498
71259469584322   SELAIR       MELBOURNE                 SC         90002824695
71259551581633   PAUL         RICHARDSON                MO         90002175515
71261194755969   HECTOR       SOTO                      CA         90013831947
71261299755939   ALEJANDRO    REYNA                     CA         90007532997
71261628331482   KIMBERLY     BRANNEKY                  MO         90012166283
71262423193739   ERICA        HARTWICK                  OH         90009724231
71262894385937   LACHRISHA    DENNY                     KY         90006078943
71262933172479   JASON        TROY                      PA         51046419331
71264223341253   MIKE         WILLIAMS                  PA         51094702233
71265381354121   JULIA        JACKSON                   OR         90015003813
71266588381633   CRYSTAL      SNOW                      MO         90013355883
71267448941253   CHELSEA      PROVIANO                  PA         90012344489
71269458533699   MARIA        DE LOS ANGELES MORENO     NC         90010374585
71271311991548   JOANNE       GOMEZ                     TX         90011283119
71272546831443   ROBERDIA     IRVING                    MO         90011885468
71272719431433   CARMEN       BOURE                     MO         27569327194
71272892641227   PAIVA        BARACUHY                  PA         90010588926
71273619455939   JORDAN       HERNANDEZ                 CA         90006826194
71274244431451   CHASITY      PARKER                    MO         90010342444
71274594184322   TEARIKKA     PAYNE                     SC         90014075941
71275426493739   KARLA        FLEMING                   OH         90001234264
71276123551331   TERRI        DAVIS                     OH         90010121235
71278419281643   LAUL         LAUL                      MO         90009074192
71278463672479   CAROL        COOPER                    PA         51016494636
71278961493739   MITZI        DANIELS                   OH         64516189614
71278999791827   AKPO         ORURU                     OK         21032989997
71279261661998   JERRYLEE     RAUCH                     CA         90012832616
71279847257157   JOSE         MAJANO                    VA         81056758472
71281344771937   LAVERNE      ARCHULETA                 CO         90011553447
71281746233698   ALLEN        MOORE                     NC         90010847462
71282334755939   JACQUELINE   AVALOS                    CA         90013253347
71283132757157   MCKYNZE      FERGUSON                  VA         90013801327
71283918555939   ORALIA       LEAL                      CA         90004379185
71283918655969   ISIDRO       OLEA                      CA         48043059186
71285724133699   MEL          YOUNG                     NC         90009367241
71285993584322   NATALI       SAWAYA                    SC         90014179935
71287492531433   JOSEPH       MAYFIELD 3                MO         90014804925
71289242641253   KIRKE        BRINK                     PA         90013212426
71291926481633   JIANYICIA    MEGGERSON                 MO         90010099264
71292253941237   SHEILA       TAYLOR                    PA         90001612539
71292383657144   SULEMA       ZELAYA DE DIAZ            VA         90011923836
71292729855966   JOEY         ALVES                     CA         90013887298
71293454155966   NATHANIAL    ISAACSON                  CA         90012954541
71294531681633   SYLVIA       SERRATO                   MO         29058525316
71295157772441   STAR         RICHARDSON                PA         51088121577
71295456831433   SARAH        NOBLE                     MO         27578634568
71295555431443   CARRIA       WINFREY                   MO         90012155554
71295784761935   LORNA        LEONTI                    CA         90005857847
71296784761935   LORNA        LEONTI                    CA         90005857847
71296958841253   JACQUELINE   HERNANDEZ                 PA         90008929588
71298878131443   KELLIE       MANNING                   MO         27589638781
71299611141237   DWAYNE E     ANDERSON                  PA         51063886111
71311489477565   KENDALL      MCGEE                     NV         90008034894
71312146891991   BEVERLY      HOLSTON                   NC         90005351468
71312429972441   NICOLE       LUCCI                     PA         51057564299
71313677655966   WENDY        JOHNSON                   CA         48059916776
71316799533698   DEXTER       VINES                     NC         12051397995
71316863971921   FELIPE       TENORIO                   CO         32095458639
71317842581633   IJHANAI      COLLINS                   MO         90014588425
71317993631443   MOLLY        GREENBACH                 MO         90002239936
71318332581633   TONI         CARROZZI                  OK         29004453325
71318488372441   KELLY        COLELLA                   PA         51085524883
71322869271921   LILIANA      SOTO-MURILLO              CO         90012388692
71326481555939   VANESSA      GRANADOS                  CA         90000174815
71326541841237   PATRICIA     WASHINGTON                PA         51063465418
71326563961935   GARRETT      GRAY                      CA         90006905639
71327112571921   CAVIN        EDNA                      CO         90014261125
71327363772479   PAULA        LEECH                     PA         90013613637
71327755293739   JEREMY       HAYS                      OH         90009217552
71328359331433   BRUCE        HOLMES                    MO         90009363593
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71328459341227   GODAWARI      CHHETRI                  PA         51076474593
71328768184322   WADE          SMITH                    SC         14546377681
71329367631433   ROCHELLE      CUMMINGS                 MO         90011303676
71329661331433   ROCHELLE      CUMMINGS                 MO         90012846613
71329686272479   NICOLE        WITT                     PA         90011946862
71329776291522   HECTOR        CANO                     TX         90006577762
71329841255939   ANA           DAMASO                   CA         90011928412
71329991455966   DESTINY       DILLIHUNT                CA         90013649914
71331559855939   LEONARDO      RAFAEL                   CA         90011385598
71332517231433   LINDA         BROWN                    MO         90014805172
71333177131482   BRENDA        TRAPP                    MO         90006511771
71333484855969   TONY          DELAHZ                   CA         48015634848
71333893693739   DENISE M      STRINGER                 OH         90010318936
71334359131433   CECILE        MOORE                    MO         90014003591
71334594277528   CARLOS        HERNANDEZ                NV         43065675942
71336865841253   CHRISTOPHER   MCCLOSKEY                PA         90008848658
71337318355969   ANDREA        ACOSTA                   CA         90008633183
71338442731482   HARRY         WILLIAMS                 MO         27595844427
71338631551361   DOUG          STEPHENS                 OH         66092666315
71338729233698   YANET         SANCHEZ                  NC         12048297292
71339395393739   DANNY         BROWN                    OH         90015543953
71339453355966   DIANA         ROMO                     CA         90011984533
71342666231428   CHRIS         DWIGGINS                 MO         90011176662
71343765741237   EDWARD        MARKUNAS                 PA         51048607657
71347735457563   STEPAHNIE     MARTINEZ                 NM         90014187354
71348952655996   BELMA         PADILLA                  CA         90008169526
71351488472421   MARY          SILVASY                  PA         51001794884
71351762831432   LAKEUA        BROWN                    MO         90012907628
71352166471921   HONG          KIM                      CO         90008131664
71352827781633   SUE           HOGAN                    MO         29058528277
71355616291993   JODY          SIKATWE                  NC         17087436162
71356823557563   WHITNEY       SURRETT                  NM         90014108235
71357886841237   GERALD        LEE                      PA         90014568868
71359162193739   SHANNON       MINIARD                  OH         90014741621
71359691861997   JOHNNY        TRAYNOR                  CA         90007526918
71362495255966   TINA          FRIAS                    CA         48024084952
71362559855939   SANDRA        GARCIA                   CA         90002745598
71363643431433   EMANUEL       FREEMAN                  MO         90014446434
71363659855939   ELEANOR       GALAVIZ                  CA         90012926598
71363781184322   SANTIAGO      SANTOS                   SC         90014177811
71364334761935   ROBYN         WEATHERBY                CA         90000193347
71364463981643   MARQUITA      MASON                    MO         29072574639
71365168755966   RYAN          NIX                      CA         90013391687
71366413593739   AMY LYNN      BILLOTO                  OH         90012394135
71366442381633   MICHELLE      HAYES-WHINERY            MO         90012464423
71367244855966   RUBEN         CAMPOS                   CA         90009782448
71367332231443   SARITA        JACKSON                  MO         27567293322
71368517171921   JEANETTE      DELOACH                  CO         90005365171
71368731755939   JAVIER        MURILLO                  CA         48079637317
71371343957157   JORGE         CASTRO                   VA         90010693439
71371399672479   REBECCA       ROBERTS                  PA         90003393996
71371433672479   ANDREW        KOHLER                   PA         90014504336
71372524757157   FLOR          QUINTANILLA              VA         90008285247
71373592433699   QUIMIA        HINES                    NC         12052185924
71373598757157   VICTOR        GUTIERREZ                DC         90012205987
71373966993739   MARY          MCCANDLESS               OH         90005329669
71374341286523   DOMINIQUE     BILLINGSLEY              TN         90015613412
71374548871921   CLAUDIO       RODRIQUEZ PEREZ          CO         90009995488
71375352531433   ANTON         LOGAN                    MO         90015453525
71376448191323   KIMBERLY      ALFARO                   KS         90008294481
71381258855939   TED           ROBERTS                  CA         90011682588
71381435155939   DANIEL        NAVA                     CA         90000824351
71381485455966   MARIA         JIMENEZ                  CA         90012754854
71382986133698   MARTHA        CUACUA                   NC         12040089861
71383559831433   JANISHA       JOHNSON                  MO         90013945598
71385256372479   VANESSA       JOHNSTON                 PA         90013922563
71386357655966   ORLANDO       GOMEZ                    CA         90014393576
71386556731443   TYNTARICA     WHITE                    MO         90005265567
71386685733447   JESSICAN      BURTON                   AL         90011706857
71386796972421   ROBERT        OHALEK                   PA         51054247969
71387864331433   ANDREW        GRANT                    MO         90012298643
71389526151323   JOSEPH        BUTLER                   OH         90012425261
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71393446193739   TONIE        PACKNET                   OH         90013874461
71393861272479   MARIBETH     SMITH                     PA         90009928612
71394195985937   DAVID        MONTGOMERY                KY         90014561959
71394687981255   TETRA        BRIGGS                    KY         68006476879
71395811355966   VERONICA     ONTIVENOS                 CA         48067188113
71398414533698   CHARLENE     COOPER                    NC         90002314145
71398499255939   LUPE         QUINTERO                  CA         90013774992
71399615393739   RUDIMBA      MUNEZERO                  OH         90010856153
71412979457157   ANGELIGA     TORRES                    VA         90010179794
71413239731443   AIESHA       PRICE                     MO         90005262397
71413328881633   KIANA        BAKER                     MO         29001383288
71413548131443   TAMARA       TYSON                     MO         90014125481
71413811272441   JOSEPH       SCHISSLER                 PA         90015088112
71414889572441   JOSHEPH      CHARLES                   PA         90014508895
71416493291586   LOURDES      RODRIGUEZ                 TX         75087674932
71417679631432   DANIELLE     BELL                      MO         90007056796
71417863672421   MICHAEL      MOFFE                     PA         90006238636
71419164672421   LACINDA      WRIGHT                    PA         51062861646
71419756555969   WILLIE       DEHOWARD                  CA         90013457565
71421423991991   ALLISON      MILLER                    NC         17024514239
71421562793739   MATHEW       PHILLIPS                  OH         90011305627
71421837381633   MISTY        KEETON                    MO         90010918373
71422413455966   KRISSY       VELASQUEZ                 CA         48063174134
71423295872421   JOHN         PORINCHAK                 PA         90003262958
71423371171921   ADAM         ROBERTSON                 CO         90014523711
71423414533698   CHARLENE     COOPER                    NC         90002314145
71425373631432   SEVELLA      BALDWIN                   MO         27564563736
71425465691991   ANTHONY      TUCKER                    NC         17010054656
71425999393739   DAWNN        CAPORALE                  OH         90012969993
71427945157157   ELIAS        HAILE                     VA         90013679451
71431182857157   NORMAN       PARHAM                    VA         90011731828
71433319541253   CHERLYN      JENNINGS                  PA         51031723195
71433747457157   LUQMAN       ABDUL-SALAAM              VA         90000507474
71434582855997   KARINA       FIERO                     CA         90011975828
71434869271921   LILIANA      SOTO-MURILLO              CO         90012388692
71435432755966   DIVA         LAREZ                     CA         48081904327
71435958285937   RODNA        JOHNSON                   KY         67084579582
71436253571921   ADAN         CORTEZ                    CO         90015082535
71436346684336   ALFORD       JOHNSON                   SC         90009263466
71436485955966   SARAH        BRINKLAY                  CA         90012754859
71436944633698   SEQUOIA      PRESTON                   NC         90013839446
71436987981643   FIRE         SAPHIRE                   MO         90009929879
71439881841237   ANDREW       SCHNUPP                   PA         51044548818
71441568655939   ALMA         ROSAS                     CA         90010345686
71442653655966   JANET        ROBLES                    CA         90012296536
71442974857157   JOSE         HERNANDEZ                 VA         90008309748
71443449241237   MILLIE       MURPHY                    PA         90002454492
71443955555969   WENDY        BECERRA                   CA         48084499555
71444828655966   OLGA         JIMENEZ                   CA         90013048286
71445258341227   MICHAEL      HOFFMAN                   PA         90006742583
71446382241227   LARHONDA     EROADUS                   PA         51029553822
71446542871921   LUCERO       GOROSTIATE                CO         90007605428
71446564341237   GANICE       ALLEN                     PA         90012035643
71447914555969   JAMIE        SLATE                     CA         90014109145
71448192941237   NYEISHE      HARRIS                    PA         90015331929
71448517933699   DAVID        FRYE                      NC         90011085179
71448615833698   RONNA        MOREHEAD                  NC         90012866158
71449147471921   SERENITY     MARQUES                   CO         90009541474
71449833161935   LANE         HUTCHINSON                CA         90005998331
71451162372421   ROBERT       ROBERTSON                 PA         51048361623
71452336231433   HUGH         WEST                      MO         90013053362
71452763355969   NIKKI        CREE                      CA         48027837633
71454643657157   LUIS         GOMEZ                     VA         90003976436
71455175961995   THERESA      GONZALES                  CA         46001041759
71455272731443   PATRICK      DORNBACH                  MO         90010032727
71455453157157   GLENDA       MARROQUIN                 VA         90008684531
71455691991993   ESTER        BELTRAN                   NC         17094486919
71456928841237   ALAIN        JOHNSON                   PA         51044219288
71457419555939   EDDIE        RAMIREZ                   CA         48028934195
71457968172441   SHAWN        BAZMORE                   PA         51002479681
71459317272479   RICHARD      LESSMAN                   PA         51080473172
71459822755969   MARCOS       MORA                      CA         48054558227
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71459835455966   FRANCISCO    GARCIA                    CA         90014038354
71461168755966   RYAN         NIX                       CA         90013391687
71461582181643   BENJAMIN     HEUWINKEL                 MO         29007905821
71463313893739   KYLE         DITTY                     OH         90011853138
71463897481633   RONALD       HOWELL                    MO         90010918974
71463967433699   LATOYA       ZIGLAR                    NC         12034379674
71465122757157   ANNE         DIXON                     VA         90010321227
71465429785833   MATHEW       WILLETT                   CA         90008674297
71466147755969   LYNZIE       MIRAMONTEZ                CA         90015141477
71466595655966   LINDA        COMBS                     CA         48059105956
71467756233624   TAMMIE       PRITCHETT                 NC         90012567562
71469487633698   BRIDGET      JONES                     NC         90015004876
71469526255969   ADRIANA      RAMIREZ                   CA         90014785262
71471122731482   ANTWAUN      MCLEMORE                  MO         90006681227
71471198193739   THERESA      SPURLING                  OH         64594921981
71471933472441   JUSTIN       SMITH                     PA         90012539334
71472719331482   KARLA        ANDERSON                  MO         27556607193
71474443455969   ANGEL        REDONDO                   CA         90012524434
71474557493739   GARRY        WATSON                    OH         90010325574
71475116855969   TONY         HERNANDEZ                 CA         90013161168
71475848733447   NICHOLAS     BOUTWELL                  AL         90014778487
71476459141253   KEVIN        REED                      PA         90011864591
71477828331475   MELITA       ROBINSON                  MO         90011418283
71477912155966   MICHELLE     SYLVESTER                 CA         90014689121
71478113757157   THOMAS       HICK                      VA         90013201137
71478281472441   ANDREW       HOMICK                    PA         90009572814
71478334955969   CASSANDRA    VELASQUEZ                 CA         90006253349
71479354831433   YVONNE       HAZE                      MO         90014883548
71479981631432   CHASTITY     HEUER                     MO         27567019816
71481265671921   TINESHA      SAMUELS                   CO         90008462656
71482456381643   DAMON        WOODARD                   MO         29005584563
71483186457157   MIRELLA      QUIROZ                    VA         90014081864
71483319941483   ERNESTINA    CORREA                    WI         90009213199
71483922331443   KRIS         WEBB                      MO         90015389223
71484231657157   CESARR       LOPEZ                     VA         90013672316
71484726131443   JUSTIN       DICKERSON                 MO         90013167261
71485259855966   BENJAMIN     JUSTUS                    CA         48036842598
71486792772441   TERRENCE     ELLISON                   PA         90012497927
71487681755966   JANETTE      AVILA                     CA         90010616817
71487921381643   DONALD       SHELTON                   MO         29072649213
71488172371921   THOMAS       SCHNERDER                 CO         90012901723
71488742784322   JERMAINE     STROBERT                  SC         90015327427
71488793833699   EDGAR        HERNANDEZ                 NC         90000407938
71488883955966   JAIME        AGUILAR                   CA         90014038839
71489575561994   MARCO        FERNANDEZ                 CA         90013515755
71491421384322   ANTHONY      GRANT                     SC         90015234213
71492771457157   ANA          GONZALEZ                  VA         81000777714
71492775955966   ROBERT       DOW                       CA         90013747759
71492786355939   JOSE         GONZALES                  CA         90011277863
71494516171921   ELICK        CORTEZ                    CO         90013665161
71494594733699   TAMIKO       ALLEN                     NC         12013925947
71494981184322   WILLIAM      ROOKER                    SC         90015119811
71495938372421   MELISSA      MASSARI                   PA         51077199383
71497243172441   GLEN         DAVIS                     PA         90014082431
71497635141253   PAUL         COPELIN                   PA         51018186351
71498376772421   CAMERON      SCHADE                    PA         90003313767
71499392772479   AARON        BELL                      PA         90014313927
71499847131482   BARBARA      MAUNEL CROSSMAN           MO         27556618471
71511317593739   DANIEL       FRADY                     OH         90014003175
71511629431433   MARIA        JONES                     MO         27543466294
71511745331433   AKELIA       HOLMES                    MO         90013947453
71512997572441   CYNTHIA      CONNER                    PA         90001669975
71514541931482   LATOYA       JOHNSON                   MO         27588635419
71514934241253   TOM          OTOOLE                    PA         51043299342
71515178561935   RAGHDA       ZAYA                      CA         90006711785
71515511957157   BILAL        MOHAMMED                  VA         90011775119
71516871531433   JERRY        PORTER                    MO         90012488715
71517462272421   LORI         WRIGHT                    PA         90005434622
71518436233698   KEITH        DEFREITAS                 NC         12001244362
71518788772421   MALLORIE     LINDEN                    PA         51014907887
71519669541253   ALLIE        WLIAMSON                  PA         90011926695
71521798671921   SHELBY       GONZALES                  CO         90011987986
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71524782341227   JHON         SMITH                     PA         90009197823
71525214493739   HOPE         HUMAN                     OH         64506492144
71525854331433   RICKEETA     BROOKS                    MO         90007378543
71525981771921   NOEMI        CASTELLON                 CO         90010059817
71526127493739   JIEMA        SHULAR                    OH         90013251274
71527875361964   SHEILA       GARIBAY                   CA         90010588753
71529189184322   JOSE         ALISEA                    SC         90013591891
71532374161999   ALICIA       HERNANDEZ                 CA         90011173741
71534295584343   MARIA        MORALES                   SC         90007992955
71534575372421   DAVID        FRANK                     PA         90003325753
71535415881633   NOLAN        PINKNEY                   KS         29001394158
71535643584322   JOSE         CARLIS                    SC         90001286435
71535716355966   DAMARY       JIMENEZ                   CA         90011287163
71535789355939   BRENDA       LOZANO                    CA         90012217893
71535936131433   DERRICK      WALKER                    MO         90004649361
71536534555969   JERMI        WESTBROOK                 CA         90011155345
71538372957157   CEOMARA      ARRERE                    VA         90013673729
71539729672421   LISA         THORNTON                  PA         90002707296
71541131272479   LINDSAY      SANTORI                   PA         90011241312
71541225284322   DARCY        BLACKSHEAR                SC         90014982252
71541281733699   RAMONA       JAMES                     NC         90008462817
71542836771921   RAYMOND      LILLEY                    CO         32075808367
71544539155939   TERESITA     DE JESUS CALDERON         CA         48046195391
71544796431482   ALYCIA       MCGOWAN                   MO         90014057964
71544871572479   WILLIAM      BROWN                     PA         51043288715
71544964441242   TIM          BARTELS                   PA         90010439644
71545871572479   WILLIAM      BROWN                     PA         51043288715
71547493155969   PAULINE      RUIZ                      CA         90012124931
71547676826257   JULIA        THOMPSON                  WI         90004846768
71547754461995   TINA         CUFF                      CA         90014797544
71549913455921   AMY          CHANG                     CA         90005319134
71549913581633   RUBI         SALAZAR                   KS         90011489135
71551284433698   VICTOR       MILLER                    NC         90014682844
71551515593739   AMY          ZAVACKY                   OH         64562975155
71552348481654   DORIAN       FERGUSON                  MO         90008473484
71553618255966   TONYA        THOMPSON                  CA         90014216182
71553757155966   JOSEPH       BLEZKOSKI                 CA         90013427571
71553765855966   ARMANDO      VALENZUELA                CA         90011287658
71555478571921   RICHARDS     MICCOY                    CO         90012134785
71555865661978   ALLISON      SALDANA                   CA         46009838656
71556717255966   LISA         SANCHEZ                   CA         90012737172
71556941741262   ARRON        GAINES                    PA         90013149417
71557131731482   SHARON       EWING                     MO         27571721317
71557654754121   RANDI        GIBSON                    OR         90014376547
71559142172479   SCOTT        THOMAS                    PA         90004491421
71559225655939   LUPE         BONDS                     CA         48054502256
71559259233699   CHRISTIAN    FIELDS                    NC         90014572592
71559929757157   LUIS         ROJAS                     VA         81095959297
71562164141237   RICHARD      RHINES                    PA         51014991641
71562218993739   ROSIE        SIMON                     OH         90006802189
71562498172441   PATRICIA     MCCUSKER                  PA         90011464981
71564281131443   JASMINE      WILLIAMS                  MO         90005522811
71564739955969   DOLORES      BEAM                      CA         90010377399
71565287884322   SHANTELL     FIELDS                    SC         90012412878
71565517381643   JANINA       CHEFFEN                   MO         90010975173
71565921833698   LASHAWNDA    KELLY                     NC         90007869218
71566988171921   VICTOR       BECERRA                   CO         90013029881
71567431431443   N            MCCOY                     MO         90003854314
71567572933698   MARK         SIMPSON                   NC         90014915729
71568415155966   ERICA        OLIVARES                  CA         90013324151
71571145871921   CRUZ         ROJAS                     CO         90000201458
71572147771921   NANCY        DAVIS                     CO         32096471477
71573112272479   STANLEY      NEDZESKY                  PA         90002651122
71573563931432   DANIEL       HAYES                     MO         27558245639
71576223684346   ENRICO       CANTILLO                  SC         90012262236
71576422355939   ARMANDO      SALAZAR                   CA         90009794223
71579285681627   PATRCIA      MILES                     MO         90008372856
71579462272421   LORI         WRIGHT                    PA         90005434622
71579497833699   ASSYRIA      GREEN                     NC         90014574978
71581633831443   DANIELLE     TAYLOR                    MO         90012006338
71583574161935   JUAN         ANGELES                   CA         90006515741
71583953633698   KETERINA     ANDREWS                   NC         90009299536
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71586362131482   VONDINA         WASHINGTON             MO         27547463621
71589338733698   AMANDA          FLEMMING               NC         90003143387
71589376241289   BRIAN           PLYLER                 PA         90009553762
71591415733698   DANA            DAWSON                 NC         90012664157
71591438255969   SONIA           LEON                   CA         90012184382
71592529131433   LAKENYA         DANIELS                MO         27506525291
71593216741237   KATHLEEN        TIMLIN                 PA         90010962167
71594112984322   SHAWIE          CROMARTIE              SC         90005851129
71595278755939   SYLVIA          PAYAN                  CA         90014292787
71595888843424   SERGIO          VELASQUEZ              VA         90015518888
71596187233698   TAMEKA          SETTLE                 NC         90012751872
71596193571921   KENISHA         SMITH                  CO         90015121935
71596575672441   JOE             LEASHA                 PA         51006335756
71596943941253   COURTNEY        MOSLEY                 PA         51017869439
71597821533698   KENY            MURPHY                 NC         90014908215
71598214372441   PATRICIA        PERKINS                PA         51076972143
71598945231482   KEN             LOCKETT                MO         27508579452
71611778355966   MANUEL          CONTRERAS              CA         90003877783
71612365355997   SARAH           COOK                   CA         49010533653
71612698984322   OSCAR           FIGUEROA               SC         90011266989
71613384841237   MELISSA         PORTIS                 PA         90011033848
71613523581633   ALLY            PATTON                 MO         90014025235
71613553591993   LONNIE          HOLLOWAY               NC         17017515535
71614965993739   MIRANDA         WAITUKAITIS            OH         90003469659
71616548472479   JAMES           SHASHURA               PA         90006455484
71616584281643   CANDIDO         LARA                   MO         90012995842
71617174933698   JORGE           ESTRADA                NC         90010681749
71617453157157   GLENDA          MARROQUIN              VA         90008684531
71617966772421   JONATHAN        LYNN                   PA         90003379667
71619868491991   FERNANDO        FINELO                 NC         90005478684
71626624191993   CATRISHA        BLAKE                  NC         17007196241
71626713591522   ANNA            MALDONADO              TX         90007477135
71628888357474   DANIEL          BERMUDES               IN         90014878883
71629764241253   CHARLEY         PARKS                  PA         90010887642
71629923957157   JAMZ            MORRISON               VA         81015029239
71632579933698   ANTONIA         MEJIA                  NC         90013705799
71634531333699   TALMADGE        VERNON                 NC         12084745313
71634961857157   CLAUDIA         MALDONADO              VA         90015119618
71635423231443   TIERRA          FOOTE                  MO         27513094232
71635454755939   JUAN            HINOJOSA               CA         90011884547
71635624893739   CHARLES         REED                   OH         90004136248
71635661861997   VIVIAN          MITCHELL               CA         90014816618
71638331231433   FELICIA         ROBERTSON              MO         90007633312
71638496872441   SHANNON         BAUCAN                 PA         90015164968
71638814755966   MARIA           PASILLAS               CA         90011298147
71638998284322   LUIS ALFREDRO   CHAMUL S               SC         90012489982
71639631331443   NICOLE          TATE                   MO         90001576313
71639734833698   TEMIKA          HOKETTE                NC         90008587348
71641691572441   JONATHAN        KOPRIVA                PA         51080576915
71641727131443   MERCEDES        HODGES                 MO         90015137271
71642537481633   DAMEON          WATTREE                MO         90013875374
71642662284381   CHRISTOPHER     BUESING                SC         90002546622
71643146741227   STEPHANIE       BLAKEMORE              PA         90011481467
71643286131443   DOMNIQUE        WINSTON                MO         90014692861
71645875833699   JESSICA         ROBINSON               NC         90014598758
71647163872479   MICHELLE        FALBO                  PA         90008801638
71647329881633   DAJUAN          MCCLANAHAN             MO         90014293298
71647427771921   FLORA           SIMBENGA               CO         32090744277
71648372355939   KATHY           TRINIDAD               CA         90012263723
71649229155982   CECILIA         LARES                  CA         48010992291
71649558431482   STORMEE         PENROD                 MO         90006995584
71651198693739   FIDA            SEEH                   OH         90011161986
71652351141227   CYNTHIA         MARTIN                 PA         51090923511
71653229481644   JOSE            FLORES                 MO         90001682294
71653842631672   LEAH            HANSON                 KS         22011158426
71654332772479   MATTHEW         HUWEART                PA         90005373327
71654419591993   DEYANIRA        MEJIA                  NC         17087344195
71655786941237   SHANE           MELE                   PA         90015137869
71655881255969   ANTHONY         RUIZ                   CA         90008558812
71656283991991   EDGAR           MOLINA                 NC         17098522839
71656948455969   AMALIA          GODINEZ                CA         90002789484
71658761693739   EMMANUEL        TUYISHIME              OH         64586637616
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71659648655939   VALERIE      RODRIGUEZ                 CA         90007816486
71661794172479   FANNIE       WALKER                    PA         51081927941
71663287261986   SHAUTE       MILNER-HAJI               CA         90015002872
71663838141253   BRANDI       NOCK                      PA         51022538381
71663853455966   ANITA        GARCIA                    CA         90014588534
71664382641237   DAVID        MILLER                    PA         90012733826
71666452872421   JACK         FERGUSON                  PA         51008554528
71668677755939   LUPE         NUNEZ                     CA         90010126777
71669595272441   KEVIN        BURNS                     PA         51075915952
71669822255969   MONICA       WERNER                    CA         90000468222
71672243841237   TODD         CARROLL                   PA         90013562438
71673784491863   STEPHEN      BORENS                    OK         21025437844
71673911355966   LOERA        RAMON                     CA         48088179113
71674385255939   VERONICA     RUIZ                      CA         90014523852
71674391581633   RICK         LACORE                    MO         90006563915
71675465331432   SHAUNTA      BUSBEY                    MO         90002474653
71675714381633   WILLIAM      ROSS                      MO         90003117143
71676246893747   GREG         WALLER                    OH         90009602468
71676644455939   SHYENNE      BABB                      CA         90001906444
71676863357157   MITCHELL     MILKOV                    VA         90009538633
71679376755977   RAQUEL       FLORES                    CA         90010753767
71679947972479   TIMOTHY      EDWARD                    PA         51035409479
71682196631433   LASHAY       JONES                     MO         27542371966
71682314931443   VICKIE       JACKSON                   MO         90011313149
71682489871921   JERED        KEITH                     CO         90012934898
71682976231482   RONNIE       DAVIS                     MO         90003769762
71683589955966   ITZEL        RODRIGUEZ                 CA         90012965899
71684343461935   DUANE        PRESTON                   CA         90006533434
71685463991827   KERRY        GARRISON                  OK         90011014639
71685987155966   YAHAIRA      CANO                      CA         90012909871
71686224655966   FELIPE       SANCHEZ                   CA         90009702246
71686681491991   INGRID       MUHAMBI                   NC         90012856814
71686711461935   DANIELA      CARRILLO                  CA         90001977114
71687757884322   CHARYSE      PALMER                    SC         90011487578
71688368781633   MECHINZA     SAM                       MO         90013933687
71688428457157   STEFANIE     ALLEN                     VA         90014844284
71688636741237   BONNIE       ASKEW                     PA         51042866367
71689584633698   KASIV        SALAM                     NC         90013505846
71689761955966   PRISCILLA    MARTINEZ                  CA         90014547619
71692623493739   JADE         GLOVER                    OH         90001726234
71693193571921   KENISHA      SMITH                     CO         90015121935
71693346133699   SHAREE       BURKS                     NC         12012063461
71693819831443   NICHOLAS     FOSTER                    MO         27567208198
71693961831433   KELVIN       FORD                      MO         90010289618
71694142191993   STACY        FIEDLER                   NC         17078451421
71694244772441   JASON        HOUGH                     PA         90012592447
71694414581643   TONIA        THOMPSON                  MO         29082614145
71695413533626   JUAN         MARTINEZ LOPEZ            NC         90015184135
71695697555966   NATHANIEL    TOMAS                     CA         90013776975
71695869841227   MICHAEL      CERVONE                   PA         90011798698
71695889781633   WILLIAM      THOMPSON                  KS         90013168897
71696855581633   HILDA        HILL                      MO         90007068555
71697394357157   YOLANDA      HERNADEZ                  VA         90010233943
71698587133698   RAQUEAL      LOGAN                     NC         90012995871
71698683784322   ANGELICA     OCHOA                     SC         90001716837
71711252455939   JOSE         ALEJANDRO-URBINA          CA         90007672524
71711915843424   CRECENCIO    HERNANDEZ                 VA         90015569158
71712866172441   GERALD       CORDES                    PA         90013448661
71712963455939   ANA          CORTEZ                    CA         48034429634
71714566257157   FELICIA      DAVIS                     VA         81000715662
71714662971921   QUIZZIE      SHELTON                   CO         90012656629
71715453155939   YESENIA      ALVARADO                  CA         90011004531
71715458181255   BRETT W      MILLER                    KY         90015164581
71715529457157   DAVID        CRUZ                      VA         81035385294
71716342231433   ASIA         WINSTON                   MO         27546883422
71716557181643   APRIL        MERCER                    MO         90010975571
71716612631482   TERRENCE     GOLLIDAY                  MO         27593086126
71716765551349   RETHA        SWAFFORD                  OH         66069597655
71719969871921   ELDER        DELGADO                   CO         32015689698
71723199171921   COUNTRY      CAT                       CO         32016641991
71723364984322   JOSE         MARTINEZ                  SC         90013523649
71723699355969   TOM          CHAMBERS                  CA         48081086993
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71725653957157   MARVIN       ALBERTO                   VA         81035396539
71726459191993   MYRNA        WHITE                     NC         90007384591
71726947271921   FAVIOLA      BALTAZAR                  CO         32097829472
71727112591991   CHRISTINA    FLOWERS                   NC         90005511125
71727169557157   ELIANA       SANTILLANO                VA         81065691695
71727249591563   ANGIE        CRUZ                      TX         90010082495
71727396655966   CLARA        CASAS                     CA         90012763966
71727728731433   KATHALEEN    SHAW                      MO         90005587287
71727794255969   CARLOS       MARTINEZ                  CA         90015097942
71728448672441   ADAM         GALLETTA                  PA         90012324486
71728487555939   MARIA        LEMUS                     CA         48088694875
71731213684322   ALFREDO      GALINDO                   SC         90011282136
71731911431443   JAWANNA R    WILKINS                   MO         90012979114
71731988831433   LAKEISHA     DAY                       MO         90010939888
71732136855966   BRENDA       PAULIMO                   CA         90011811368
71732225741237   SUSAN        PAWARSKI                  PA         51096262257
71732461971921   BRENDA       WILLY                     CO         32045244619
71733228655969   JUAN         OWEN                      CA         90012722286
71733732361935   MIGUEL       THOMPSON                  CA         90006537323
71735427584322   FANNY        BAUTISTA                  SC         90014024275
71737286757157   ELMER        MEDINA                    VA         81016372867
71737368691993   JAIME        LOPEZ                     NC         90004603686
71737677581633   SAMANTHA     SMITH                     MO         29084876775
71739342793739   LEOTA        HARRIS                    OH         64505153427
71739639641253   LINDA        DAVIS                     PA         51012926396
71739726791925   LA'TOSHA     DALE                      NC         17010117267
71741155193739   MOLENGI      MBOMA                     OH         64541551551
71741211931443   CHAMILL      HINES                     MO         27563402119
71741945831433   JEROME       GRAY                      MO         90013399458
71742884372441   DARRYL       HARDY                     PA         51032678843
71743892172479   LANCE        LEWIS                     PA         90008928921
71745348731482   REGINA       SMITH                     MO         90000493487
71745486471921   CYNTHIA      MONEYMAKER                CO         32016124864
71746131772441   CHRIS        ZEDAK                     PA         51038281317
71746523341237   KHIA         REED                      PA         51010755233
71747139491939   JIMMIE       ROBINSON                  NC         90009191394
71747188657157   ERIKA        MARROQUIN                 VA         81012451886
71748327431433   ERIC         BOWMAN                    MO         90012823274
71748336971921   LACEY        LILLEY                    CO         90013303369
71748914431443   HOWARD       TATE                      MO         90011979144
71748994757157   EVELIN       AMAYA                     VA         90015119947
71751317971921   DEE          GRAYAM                    CO         90014393179
71752288733699   JONAH        GENT                      NC         90011422887
71753855591924   JUAN         AVALOS                    NC         90009278555
71754659957157   ESTEFANY     ALVARADO                  VA         90013876599
71755564141253   JASON        YOUNS                     PA         90009285641
71756396655966   CLARA        CASAS                     CA         90012763966
71757468193739   JAMES        ALLEN                     OH         64553754681
71758155772479   ANTHONY      STAROPOLI                 PA         90010451557
71758346991993   JAMES        CAMP JR                   NC         17086263469
71758571133641   WILLIS       BRIGGS                    NC         90002895711
71759365333698   LAVANCE      BURNETT                   NC         12085073653
71761457657157   GLENDA       VENTURA                   VA         90014304576
71762116731433   MARIO        NAVAROS                   MO         90013951167
71763144781643   LUIS         PIETANESI                 MO         29083291447
71763432557157   ADEN         HAJI-MUMIN                VA         90013904325
71765632581633   STEPHEN      HENKE                     MO         29001386325
71766291555939   SERGIO       MORALES                   CA         90011052915
71766671831482   STEPHANIE    ROBINSON                  MO         27508586718
71768813871921   ROY          JAMES                     CO         90011718138
71769316455969   PATRICIA     MONTOJA                   CA         48051763164
71771357655977   RICHARD      AMARO                     CA         90013073576
71771432361597   EDGAR        LOPEZ                     TN         90015504323
71772622655969   ARTURO       FARIAS                    CA         90012066226
71773553161935   JESSE        SULLIEAN                  CA         90006595531
71774361757157   KAREN        FLORES                    VA         90004733617
71776968684322   CLAUDETTE    WRIGHT                    SC         90011979686
71777466991852   VESTER       FINCH                     OK         90011314669
71777711631443   MARY         THORNTON                  MO         90011587116
71779183955939   RAMON        VEGA RABAGO               CA         90012771839
71781293472441   JESSE        BURROUGHS                 PA         90011922934
71781437355969   DUSTIN       MORRIS                    CA         90008694373
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71781539133699   KATRINA      LESLIE                    NC         90014605391
71781715177528   STEVEN       WINTERS                   NV         90004817151
71781758331443   DENISE       SMITH                     MO         90013747583
71782715584322   STEVEN       WOODS                     SC         90012997155
71785561833699   AJANNE       SMITH                     NC         90014605618
71785577355969   JULIO        HERNANDEZ                 CA         90006965773
71786261571921   LINDA        SALINAS                   CO         32025122615
71787117333698   LATRINA      TORRENCE                  NC         12029721173
71788596333699   BONITA       TAYLOR                    NC         90014605963
71789139631433   JENNIFER     DAVIS                     MO         90013951396
71789898857157   CARLOS       GONZALO                   VA         90005788988
71791383961994   KATIE        RHOTON                    CA         46024703839
71791559233698   CALEB        RAMOS                     NC         90012845592
71793144231433   RACHEL       LAY                       MO         90012651442
71793146855966   CESAR        ALVAREZ                   CA         90011581468
71795435157157   MARIA        RODRIGUEZ                 VA         81079884351
71795712184322   KRISTINA     PHILLIPS                  SC         90014767121
71795818172441   RACHEL       BARTOLINI                 PA         90006328181
71797775731433   DONALD       JOHNSON                   MO         27596097757
71798782955939   LEONEL       SERRANO                   CA         90013737829
71812193257157   GRACIELA     HERNANDEZ                 DC         90014001932
71814131655969   MARTHA       HERNANDEZ                 CA         90008681316
71815265731443   TIFFANY      ROBINSON                  MO         90013362657
71816886793739   TERRY        HOLT                      OH         90011408867
71817248431432   ANDREA       TERRELL                   MO         27510092484
71817262871921   HEIDE K      RETTIG                    CO         90013162628
71817488431433   DAJA         GRAHAM                    MO         90014004884
71817672631443   SARA         MALONE                    MO         90001926726
71817738633698   MJ           JONES                     NC         90002687386
71819465655966   CYNTHIA      MARES                     CA         90010724656
71819913984322   NORMA        RIVAS                     SC         90010179139
71821687571921   JOSE         BENITEZ                   CO         32088866875
71822815471921   SYLVIA       DURAN                     CO         32074888154
71822981261972   VERONICA     RAMOS                     CA         46060059812
71823214155969   LUZELENA     CAOILE                    CA         48064992141
71824762731432   GALE         LANDERS                   MO         27588147627
71826898833699   ANGELA       CAIN                      NC         90012718988
71826976491993   CHARLENE     GILL                      NC         90009879764
71827343761984   ROQUE        ALFREDO                   CA         90008143437
71829277457157   MARIO        MAJANO                    VA         90007882774
71831242891993   APRIL        BLOUNT                    NC         90008502428
71831431855966   AMPARO       LARA                      CA         90011584318
71831557881633   ASHLEY       OVERSTREET                MO         29027415578
71832198231443   BAPOLEON     NORWOOD                   MO         90010881982
71833259531433   SARAH        LASHER                    MO         90003022595
71833439372479   TIM          BRESSLER                  PA         51007914393
71833958155969   ARTEMIO      PEREZ                     CA         90014819581
71834397155969   TANIA        HERRERA                   CA         90012343971
71834525157157   JUAN         HERNANDEZ                 VA         81063255251
71834594333698   KELLY        SHEFFIELD                 NC         90014065943
71835391741227   LORETTA      CLARK                     PA         51082763917
71835893755969   ADRIANNA     ALVARADO                  CA         48079608937
71838213361972   MARIA        BURRELL                   CA         90010292133
71839166633698   BRANDON      SMITH                     NC         12074701666
71839249881643   EBONEY       JOHNSON                   MO         29022042498
71842194255939   MELINDA      GARCIA                    CA         48032781942
71842619131433   KEYOA        JOAEN                     MO         90010406191
71843298657157   CHRISTINA    RAMIREZ                   VA         90014762986
71844771855939   ANEL         HERNANDEZ                 CA         90009917718
71845187141253   SYLVIA       LANIOUS                   PA         51087261871
71846188784322   DEE          COMELLI                   SC         90012491887
71846572781255   TINA         ACRES                     KY         90008735727
71847119893739   ALLEN        DAVIS                     OH         64514461198
71847218857157   BERTHA       GUTIEREZ                  VA         81036152188
71847926872479   RICHARD      BOORD                     PA         51072779268
71848236893739   BRYON        PRIEST                    OH         64541822368
71849731555966   JENNIFER     KING                      CA         90011947315
71852618972479   SHALONDA     COTTON                    PA         90014756189
71852971655966   GREGORY      FLORES                    CA         90014109716
71854949755966   ALTA         NEIL                      CA         90011589497
71856362572441   ERIN         BARDALL                   PA         90010493625
71856418481633   EVELYN       SANTOS                    MO         90009414184
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71856666541253   DAVONTE      HUNTER                    PA         90011926665
71857931271921   EVELYN       SIERRA                    CO         90010709312
71858128793739   MICHAEL      HOGANS                    OH         64500731287
71858144231433   STEVEN       ARMSTRONG                 MO         90015531442
71858213241237   SHEILA       RANKIN                    PA         90014662132
71859593841253   KOROPAL      SANDRA                    PA         51048345938
71859666471955   BRIA         MORENO                    CO         90013226664
71861873872479   JAMIE        TRIMNAL                   PA         90012608738
71864761941227   AMY          MCCORKLE                  PA         51017417619
71871675455931   JASMIN       ROSALES                   CA         90014216754
71872234693739   DAVID        BECKETT                   OH         90007512346
71872323655969   RICKY        NAVARIEZ                  CA         90013503236
71873382271921   CONNIE       ANAYA                     CO         32030313822
71874144781643   LUIS         PIETANESI                 MO         29083291447
71874295557157   JAIRON       GRAMAJO                   VA         90010452955
71874556731433   TYLISHA      WHIPFIELD                 MO         90015555567
71875456361935   SERGIO       AVALOS                    CA         90006714563
71875995355969   EDUARDO      DIAZ                      CA         48082969953
71876459255966   MARIA        CONTRERA                  CA         90013054592
71876757555969   ARNULFO      VALENCIA                  CA         90002747575
71877165872441   CRAIG        WALKER                    PA         51015561658
71877191951327   P            MURPHY                    OH         90004321919
71878439241253   MONICA       LONG                      PA         90007464392
71882717472479   MIKE         TIRPAK                    PA         51050467174
71883184555966   FELICIA      BAKER                     CA         48097901845
71883477255966   EMILIY       PARTON                    CA         90014884772
71883768231432   CHARLES      SMITH                     MO         90007187682
71885116131443   ABEL         HUNT                      MO         90008201161
71886684241237   CHARNEKA     JACKSON                   PA         51088046842
71887185181643   KENNEY       GOODWIN                   MO         29006911851
71887698841253   DENNISE      WILLIAMS                  PA         90005666988
71888562581633   LARRY        ALLNUTT                   MO         90010195625
71891646931443   DONETTA      BOND                      MO         90013526469
71891742391586   SANDRA       SANCHEZ                   TX         75038927423
71892391155939   DIANA        LOPEZ                     CA         90012373911
71892883731433   LASHA        THOMAS-JONES              MO         90009588837
71892943361958   BICHELE      RODICH                    CA         90008899433
71893159431482   JOHN         ARELLANO                  MO         27564481594
71893456355966   KARINA       GONZALEZ                  CA         90002334563
71893622793739   GARY         DENNIS                    OH         90011306227
71894911161922   LOREEN       OREILLY                   CA         46061179111
71894996572441   DAN          FORSYTHE                  PA         90003459965
71896119355969   SAMMY        HERNANDEZ                 CA         90011101193
71896388457157   MARIA        BARAHONA                  VA         90010783884
71896837981643   PHILLIP      PARKS                     MO         29055648379
71897113931443   JENNIFER     STARNS                    MO         90008601139
71899612793739   BRANDI       SNIDER                    OH         90012896127
71913747331443   JONMALET     BENNETT                   MO         90010097473
71915951571921   NELSINA      COOL                      CO         32096019515
71917682331433   ITHAMAR      FENERSON                  MO         90007636823
71917951581643   KELVIN       TURNER                    MO         29070259515
71917984333698   DENAAL       HASKINS                   NC         90004869843
71918468657157   OMAR         VILLEGAS                  VA         90012804686
71918493155969   MARIA        ROCHA                     CA         48047484931
71919841241227   MARTIN       NICHOLAS                  PA         90010608412
71921311433698   FRANCISCO    RODRIGUEZ                 NC         90014483114
71921428155966   JESUS        GALVAN                    CA         90012764281
71921782491869   JAKINAH      SMITH                     OK         90007987824
71923264141253   MICHELLE     LEIGHTY                   PA         51062272641
71923356233699   ALEXCUS      BAILEY                    NC         90014653562
71923598572441   DESHAWNDE    WEST                      PA         90012435985
71923999655939   JERRY        NEVES                     CA         48065629996
71924153341253   DAVID        POWELL                    PA         51068771533
71924159755966   KARLA        GAETA                     CA         90001621597
71925992655966   RHONDA       CARDER                    CA         90010689926
71929987171921   SHANNON      WELLS                     CO         32024699871
71932231541237   DENISE       THOMAS                    PA         51041382315
71934564384322   MATTHEW      SCARRETT                  SC         90014905643
71935765872479   THOMAS       DAVIN III                 PA         90010887658
71936625455969   NATALIE      MARTIN                    CA         90009816254
71937197141253   DERIC        SNOOKS                    PA         51090691971
71939395255939   JOSE         CARRANZA ALCARAZ          CA         48061443952
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71941526131443   TAMMY        TUGGLE                    MO         27567735261
71941649984322   RYAN         STACY                     SC         90007056499
71941736772441   BILL         STAMM                     PA         90015227367
71942318772441   CRYSTAL      DELOUIS                   PA         90010143187
71942845941253   RHONDA       NELSON                    PA         51050638459
71943526131443   TAMMY        TUGGLE                    MO         27567735261
71944113341227   JONATHAN     RUBY                      PA         51018281133
71944151941253   TENEASHA     PATTERSON                 PA         51061381519
71944413372421   JAMES        DAVIS                     PA         51058834133
71944516884322   MARIELA      OLGUIBN                   SC         14522545168
71944866871921   SUZANNA      PHILLIPS                  CO         90002098668
71945954181643   TIFFANY      METCALF                   MO         29048939541
71946441741237   RICARDO      COTTRELL                  PA         51075034417
71946795531443   LOPEZ        SIMMS                     MO         27514047955
71947496541227   SUGAR        BROWN                     PA         90007614965
71948265731443   TIFFANY      ROBINSON                  MO         90013362657
71949321531443   LETTIMA      FIGGERS                   MO         90010653215
71951644357127   MOHAMED      OMAR                      VA         90003176443
71952253141227   CASONDRA     CLEMONS                   PA         90002462531
71952897172479   HARRY        TUMAN                     PA         51027038971
71953544541237   RHONDA       LITTLE                    PA         90009345445
71954266572441   TOM          WOLBERT                   PA         90006922665
71955531733699   DEBORAH      BANKS                     NC         90014655317
71956276681643   KEVIN        STANLEY                   MO         29000782766
71956357171921   TERRELL      TAYLOR                    CO         90009643571
71956572771921   DARREN       DODGE                     CO         90012425727
71957237781633   RANEKKA      DICKERSON                 MO         90013652377
71957345833698   KRISTEN      HOWARD                    NC         90001223458
71957473693739   SAMANTHA     SPARKS                    OH         90013874736
71957865186523   ADAM         STENFORD                  TN         90015538651
71962596772479   TONYA        LESNIAK                   PA         90010075967
71962998557157   JAVIER       RAMIREZ                   VA         90013079985
71964364271921   SCOTT        CLAY                      CO         32039653642
71965519191869   RYAN         LOVE                      OK         90014775191
71965889991993   HTOON        LIAN                      NC         90005788899
71966326341253   MARY         GAERTNER                  PA         51061333263
71966576471921   ARMANDO      GRACIA ESTEBAN            CO         90009175764
71967447384322   SHAWN        BRYAN                     SC         90014914473
71968569655966   PRISCILLA    LOPEZ                     CA         90014785696
71968618241237   BRITTANY     MITCHELL                  PA         90011056182
71969115357157   CARIN        MUNOZ                     VA         90014981153
71973786531443   YOLANDA      BUCHANAN                  MO         90004007865
71974247872421   JASON        FERRARO                   PA         51079032478
71975182481633   LARRY        BALMER                    MO         29001921824
71976693455969   BOBBY        LARA                      CA         90013656934
71977368255966   REBEKAH      DIAL                      CA         48009103682
71977869855969   AARON        THOMAS                    CA         90011118698
71978323431443   OCTAVIA      YOUNG                     MO         90008003234
71979689681255   JESSICA      BANTA                     KY         90006856896
71979961684322   CHARITY      RIVERS                    SC         14507099616
71981351171921   AMPARA       DIAZ                      CO         90014343511
71981448241253   BISWA        PRADHAN                   PA         90009234482
71981782491869   JAKINAH      SMITH                     OK         90007987824
71982869855969   AARON        THOMAS                    CA         90011118698
71983142751347   VICKIE       COOPER                    OH         90009271427
71986932772479   TAMMY        PRINKEY                   PA         51011109327
71987165693739   PATRICK      WOOLARD                   OH         90003441656
71989172181643   MARIA        VELALQUEZ                 MO         29026481721
71989329133698   DEANA        RICE                      NC         90014303291
71992511531433   WESLEY       WILLIAMS                  MO         90013955115
71992712455969   IRMA         ARIAS                     CA         90008547124
71994115533698   EDRA         COLBERT                   NC         90012691155
71994131255939   LUISA        FLORES                    CA         90015121312
71994165693739   PATRICK      WOOLARD                   OH         90003441656
71994579672479   MICHAEL      BERDAR                    PA         90014545796
71995463472479   LYNNE        FLEMING                   PA         90006014634
71996231771921   MIKE         DYKHOFF                   CO         32017762317
71996518831433   MARVIN       GOMEZ                     MO         90012065188
71996989181633   PATRICIA     AYALA MALA                MO         90012109891
71997436371921   STORM        TAYLOR                    CO         90009984363
71998692631432   RONALD       HAMILTON                  MO         27548466926
71998941884322   LUDIER       ORTEGA                    SC         90000289418
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72112682955966   GLORIA         MARTINEZ                CA         90014166829
72113721871921   NADINE         ROBINSON                CO         32088297218
72113727441237   SHEILA         ROEHRIG                 PA         51036167274
72114181655966   TIMOTHY        KLEIN                   CA         48047441816
72117752555939   VERONICA       BELL                    CA         90014617525
72118221172441   DONNA          ADAMS                   PA         51095942211
72118249793767   SHAKIRA        GARY                    OH         90011662497
72118799357157   JOSE ALFREDO   AMAYA                   VA         90006207993
72119641771955   CHRIS          MORA                    CO         90006136417
72119735333657   HIDE ALFONSO   CARMONA-HERNANDEZ       NC         90012757353
72119988681633   FREDRICA       ROSS                    MO         90013309886
72122369772421   FRANK          KOLAR JR.               PA         51029703697
72123144555939   IDA            SEPULVEDA               CA         90005601445
72123788441237   RICHARD        SMITH                   PA         90013097884
72125473972479   WILBUR         WOODALL                 PA         51081814739
72125852672441   MALCOLM        BELL                    PA         51002438526
72126916671921   OLGA           PENA                    CO         90008549166
72128514641265   MELANIE        MOORE                   PA         90010195146
72128781855947   JOSE           DELGADILLO              CA         49075377818
72129216584322   BRANDON        SPANN                   SC         14505782165
72129988457157   FATIMA         VALDEZ                  VA         90015279884
72133386655939   JUAN           TREVINO                 CA         90012193866
72134859271921   C DAVE         CROOK                   CO         90014848592
72135221257157   SEROULO        YASABA                  VA         90013452212
72135563141253   RICHARD        ADAMS                   PA         90014455631
72135936693739   MEAGAN         WHITE                   OH         64551629366
72136452857157   MICHELLE       LAWRENCE                VA         90014764528
72136932133698   KADEEJAH       MILLER                  NC         90011359321
72138983831433   KRISTINA       PENLY                   MO         90015289838
72139228155966   ANTONIO        RANGEL                  CA         90014322281
72139984755966   RAFAEL         PEREZ                   CA         90004579847
72141324572479   BRYAN          ASBURY                  PA         51066773245
72141883255939   PATRICIA       GARCIA                  CA         90006598832
72143163193739   IDA            MOBLEY-HUMMONS          OH         64581201631
72144433557157   VENKATRAM      SUNKARA                 VA         90010324335
72145899893739   GARRY          CORBIN                  OH         90000418998
72147183657157   JOSE           LOPEZ                   VA         81037281836
72148769155966   HUGO           FLORES                  CA         90014167691
72148874484322   SUSANA         MACIAS                  SC         14504728744
72152851793739   SAFFIYAH       RAJHUN                  OH         90010998517
72153857671921   MICHAEL        WASHINGTON              CO         90010248576
72155386786434   THELMA         JACKSON                 SC         90014733867
72156164641253   JAMES          MCCLAREN                PA         51084361646
72157297431684   SANESHA        PEDEN                   KS         22083652974
72157371755966   MARIA          CHAVEZ-BRAVO            CA         90013113717
72157786471921   KEN            MARTINEZ                CO         32041587864
72159237572479   NATHAN         ROSENSTEEL              PA         90011452375
72159457255969   RAFAEL         SEBASTIAN               CA         90013794572
72161642841253   PATRICK        WILSON                  PA         51044516428
72163324241227   MARTIN         TORRES                  PA         51094253242
72165413231432   TARA           DECKER                  MO         90009184132
72165675555939   JESSICA        GARCIA                  CA         90010386755
72166427584322   FANNY          BAUTISTA                SC         90014024275
72166573733699   TYWANA         JONES                   NC         12024185737
72166682741227   LA SHAWN       VINCENT                 PA         51061856827
72166772731433   TINA           HENDERSON               MO         90014677727
72167399771921   CHRISTINA      BLOOM                   CO         32073603997
72168564531433   KEMARA         RANDOLPH                MO         90009995645
72168763171921   RODNEY         DODSON                  CO         90014427631
72169348531432   JEN            MINNIS                  MO         27541483485
72171195155969   ROBERTO        PARGAS-ESPINOZA         CA         90002671951
72171496872441   SHANNON        BAUCAN                  PA         90015164968
72171651955947   NANCY          LEE                     CA         90004656519
72171826641237   TIFFANY        FERRY                   PA         51071408266
72171992671921   CASSANDRA      ROUT                    CO         32054389926
72172816655939   OCTAVIO        CANO                    CA         90005048166
72173823831433   JESIKA         SOHNREY                 MO         90009468238
72173841355969   LAURA          CELA                    CA         90013548413
72173932457157   JULIO          GONZALES                VA         81081069324
72174413231432   TARA           DECKER                  MO         90009184132
72175335433684   TABOTHIA       DAWKINS                 NC         90005503354
72178816372421   JAMES          NICOLETTE               PA         90001558163
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72182146855969   TIARA         SHACKLEFORD              CA         90009731468
72182359755966   HAZEL         CORLEY                   CA         90011633597
72184763155969   FAUSTINO      CASTRO                   CA         48067887631
72184794271921   EMMETT        LARSEN                   CO         90012027942
72185787361935   APRIL         ZIMMERMAN                CA         90006967873
72187599672441   ALEXIS        WALKER                   PA         51015085996
72189446572421   JAMES         TRAY                     PA         51057154465
72192291731433   NAIMAH        ABDULLAH-GALES           MO         27572532917
72193851455966   MEGEANE       LOPEZ                    CA         90014188514
72194682493739   TIFFANY       NEWTON                   OH         90008786824
72195272871921   THOMAS        SCHREPEL                 CO         32091512728
72195338791991   ANTHONY       YATES                    NC         17057343387
72195745281633   VYLINDA       MATTERN                  MO         29064757452
72196331433698   CHOWAN        GREEN                    NC         90014023314
72196756841227   SABRINA       JACKSON                  PA         51088147568
72196849172441   CRAIG         FADELEY                  PA         51060578491
72196938972421   HEATHER       BURK                     PA         90009439389
72198465657124   JAMIE         HANSON                   VA         90004084656
72198775872421   JENNIFER      CECCONELLO               PA         51037387758
72199221861935   NORA          JOHNSON                  CA         46007372218
72199385455973   SAMUEL        PRESTON JR               CA         48072943854
72199499393739   TERRY         MURPHY                   OH         90003534993
72211561391991   GLORIA JEAN   MASSENBURG               NC         90008715613
72213731672477   CARA          VALLECORSA               PA         90006087316
72214165855939   CHRISTINA     GALANG                   CA         48034161658
72214394931433   JAMES         GERLING                  MO         27568463949
72215785131433   SHYLIYAH      COTTON                   IL         90015427851
72217434672421   JOHN          DNEASTER                 PA         90011104346
72217624141237   KIMBERLY      MAZZOLENI                PA         51054056241
72218288331432   GREGORY       RUSSELL                  MO         90011122883
72219311655939   SARA          DEL BOSQUE               CA         90006043116
72219816472441   JOSEPH        BARNHOUSE III            PA         51051978164
72219826433698   SHARON        COOPER                   NC         90013758264
72219829855969   GERMAN        LOPEZ                    CA         90012058298
72221561193739   ANGELA        SPENCER                  OH         64544755611
72222574357157   SANDRA        ORTUÑO                   VA         81039365743
72223985366255   BRENDA        FITTS                    MS         90010989853
72224673493739   JOLENE        DILLON                   OH         64552936734
72225745731443   THOMAS        ANDERSON                 MO         90012027457
72226513831433   MAURICE       JONES                    MO         27584395138
72228521641227   BRUCE         MILLER                   PA         90001275216
72228787841253   MICHAEL       TRAUTMANN                PA         51039587878
72229633771921   JAKE          KEHRET                   CO         90011916337
72229697557157   ROSEMARY      MONERROSO                VA         90008436975
72231938633698   JAKWA         TURNER                   NC         90014339386
72233276957157   MARIA         SORTO                    VA         90001392769
72233867636182   ROY           ALLEN                    TX         90001498676
72235389655939   JESUS         REYNOSO                  CA         90010663896
72235512381633   KEITH         BYERS                    MO         90004975123
72235848455939   LEOPOLDO      NAVARRO                  CA         90012778484
72236963455939   BASILIO       CARRANZA                 CA         90012999634
72237926455939   JUAN          MENDEZ                   CA         90013229264
72238942155966   SARAH         CASO                     CA         90014169421
72239287831443   KAREN         VINSON                   MO         27587272878
72241398693739   GEOEGINA      LISO                     OH         90006493986
72242665172421   BETTY         BOHONIS                  PA         51060686651
72242674891939   HAZEL         MONTGOMERY               NC         90008716748
72243136441237   CRYSTAL       DELANCEY                 PA         90014781364
72243679457157   VNS           CONSTRUCTION             VA         90007196794
72245411541227   MATTHEW       HACKERT                  PA         51009684115
72247163355947   DAISY         MENDEZ                   CA         90001241633
72247395733699   KASEY         HAUSER                   NC         12086253957
72248585355939   ANA           DE LEON                  CA         90012605853
72249359133699   ROSA          CHEFF                    NC         90005123591
72249381261935   ESTELA        TREJO                    CA         90009863812
72249671772441   ROLAND        DELANEY                  PA         51062236717
72251429672421   DENNIS        BACKUS                   PA         90012474296
72253721741237   GARY          HOLMAN                   PA         51079497217
72253789172441   KATHLEEN      LEGGE                    PA         51077757891
72254451633698   TONYA         RHODES                   NC         12046924516
72257611471921   ABRAHAM       BRITO                    CO         32091576114
72258293441253   JORDAN        CUMMINGS                 PA         90009922934
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72258861993736   LAURA           SINGER                 OH         90008238619
72259572231433   KENYA           HAMILTON               MO         90014365722
72263421272479   DEBBIE          MIMIDIS                PA         51085084212
72264172741237   JOANN           VANARD                 PA         90011861727
72264819381633   IVY             LEE                    MO         90014768193
72264922557157   ZOILA           MARTINEZ               VA         90014789225
72266814272479   DARRIN          COLEMAN                PA         90014788142
72269477741237   ANDREA          JOHNSON                PA         90009214777
72269616871921   TODD            BOURDELAIS             CO         90011596168
72272415772441   WILLIAM         PALMIERI               PA         90013164157
72272552372479   AMY             ALTEMARA               PA         51038135523
72276186555966   ALFRED          HERNANDEZ              CA         90014881865
72276268381633   GARY            JONES                  MO         29004752683
72277114555939   RYAN            ANDERSON               CA         48007251145
72278664366181   JIMMI           VANCUREN               CA         90012706643
72279572955966   NOE             CISNEROS PEREZ         CA         90014575729
72279769993739   AARON           ROSE                   OH         90014997699
72279963733699   EDNA            PETATAN                NC         12019219637
72281269472421   NICOLE          MORRIS                 PA         90001032694
72281385972479   TIFFANY         RIMSEK                 PA         90013373859
72281425581633   JAMES           MURPHY                 MO         90009304255
72281518855939   BLANCA          CISNEROS               CA         90013985188
72284122855966   LISA            GUTIERREZ              CA         90014881228
72284549481255   REBEECA         COLBERT                KY         90003825494
72284767855969   CHERLY          LUNA                   CA         48042497678
72284844681687   ERIC            MCCLAIN                MO         90011368446
72286836572474   HARRY           ROSS                   PA         90000718365
72287484441253   ANTHONY         JACKSON                PA         90008304844
72288445436182   CELESTE         GARCIA                 TX         90008914454
72288587857157   NORMA           AVILA MOZ              VA         90006945878
72288884972421   GARY            EARHART                PA         90009188849
72292542755969   CHRISTOPHER     DEROZA                 CA         90012865427
72293165855966   KASSANDRA       DUARTE                 CA         90014341658
72293627761981   JUAN CARLOS     MARQUEZ                CA         90011626277
72294187691991   ROBERT          GOLD                   NC         90003321876
72294613293739   CHRISTOPHER     LEIGHTY                OH         90009016132
72294785281633   HARLAN          OGUIN                  MO         90012747852
72295497472441   TRAMANE         JOHNSON                PA         90015084974
72295791533698   BERTHA          THOMAS                 NC         90015187915
72296369384322   JASON           BATEMAN                SC         90012023693
72297126833698   KYLE            POTTER                 NC         90008151268
72298294471928   JANEL           OHAYRE                 CO         32099322944
72299294557157   ARMANDO         ALVARADO               VA         90009042945
72299357972441   BRANDI          ELLIS                  PA         90011223579
72311165933698   STEPHANIE       MITCHELL               NC         12085911659
72311258731443   CANDICE         BECK                   MO         27508622587
72312295491586   EDWARD          ROHRER                 TX         75010842954
72312318341227   ANGELIC         LEWIS                  PA         90001813183
72312614355966   ROBERT          RIOS                   CA         90002946143
72313625855966   DEZIRAE         VELAZCO                CA         48001306258
72313862772441   TIMOTHY         BIRGE                  PA         90013418627
72314819872479   GREGORY JAMES   DUNLAP                 PA         90014128198
72315912384322   LORENZO         GONZALES               SC         90009189123
72317254431432   JOSEPH          BRADFORD               MO         90014852544
72317398341237   PAUL            DANNHARDT              PA         51029543983
72317898231433   VICTORY         WORTHY                 MO         90013588982
72318713755969   NORBERTO        CALDERON               CA         90011227137
72321627833699   SAMIYA          STOVER                 NC         90012066278
72321982455966   ROCIO           PERALTA                CA         90000639824
72322946655947   ALEXANDRA       GARZA                  CA         90012829466
72322982355966   NORMA           PARGA-ESPARZA          CA         90002359823
72323288772479   CHARLES         HILLEN                 PA         90011002887
72323545891991   DARLENE         NADIEUL                NC         90006445458
72323677555966   DANIEL          ROSAS                  CA         90012966775
72324319855969   FRANK           CHAVEZ                 CA         48046073198
72324484571921   ROBERT          SIMMONS SR             CO         90014684845
72324864157157   CARLOS          GONZALEZ               VA         81040158641
72325513671921   NINA            GETMAN                 CO         32077145136
72326217671921   ROCCO           DEPAOLO                CO         32086962176
72326695955969   CINDY           MCLAINE                CA         90013196959
72327343955966   DAVIANNA        MARTINEZ               CA         90001273439
72327652131432   EDWARD          ROBERTS                MO         27545916521
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72328319857157   THORPHAK     KITIROT                   VA         90005813198
72328325231433   KEVIN        LESTER                    MO         27516733252
72328498684322   YAZMIN       BENITES                   SC         90013464986
72329777933698   MELISSA      CAPPS                     NC         12084407779
72331589331433   CHASTIDY     RICE                      MO         90010895893
72332557381633   REDONDA      COLEMAN                   MO         90013415573
72334946671921   TAMI         NEWBY                     CO         32095039466
72335167955939   ESTELA       CLEMENTE                  CA         90014731679
72335813155969   DANIEL       PINEDO                    CA         48082068131
72337665972441   ANGELA       MILLER                    PA         90013596659
72337697671921   DEBORAH      JACKSON                   CO         90011166976
72338297771921   BRANDY       LIAS                      CO         32035962977
72339886791577   ANALY        CASTILLO                  TX         90012228867
72341137155966   CHRISTY      JONES                     CA         90012931371
72341171633699   STARICE      SAMUELS                   NC         12074341716
72341275833698   MYA          JONES                     NC         90010992758
72341726372479   SEAN         OBRIEN                    PA         51033237263
72342265733699   LARITA       JOHNSON                   NC         90013242657
72342844541253   AGNES        TAULTON                   PA         90007958445
72343295572441   CATHY        LUNT                      PA         90012552955
72345554755947   DIEGO        SANCHEZ                   CA         90011565547
72345663371921   SHANE        MARSHALL                  CO         90012696633
72345693191572   CARLOS       CHAVEZ                    TX         90007366931
72345716733698   JAMES        BRADLEY                   NC         12073327167
72346359831453   BARBARA      BRAXTON                   MO         90011753598
72346772631433   YOLANDA      COLE                      MO         90013767726
72347179157144   YESENIA      VILLALOBOS                VA         90011451791
72347435872479   MARCUS       ASKERNEESE                PA         90014384358
72348358557157   DELMI        BONILLA                   VA         81032513585
72348895555947   DESIREE      MOLINERO                  CA         90004388955
72349368355966   GUILLERMO    GARCIA                    CA         90014523683
72352296251322   DEREK        SNOW                      OH         66020652962
72352361131432   KEESHA       ROBINSON                  MO         90012253611
72352574455966   SEASON       ELLIS                     CA         90006705744
72353985671921   ERIN         SHELBY                    CO         90014769856
72355285371921   ANASTASIA    HARRISON                  CO         90011512853
72356455255939   JOSEPH       MORALES                   CA         90015124552
72356592572479   ROSEMARIE    LAMBERT                   PA         90007015925
72356944991827   JO           LOWE                      OK         90009639449
72356981757157   DUSLEY       CALDERON                  VA         90012729817
72361124972421   BRANDY       COGDELL                   PA         51020971249
72362433733698   TRACY        DEARMON                   NC         90009704337
72362756984322   ROBERTO      GOMEZ                     SC         14575647569
72363433893739   TAMMY        PALMER                    OH         90015044338
72363682255939   OMAR         ALBA                      CA         90012646822
72364845855969   NANCY        ALVARADO                  CA         90010978458
72365634357157   DARWIN       SANTOS                    VA         90015086343
72365642433698   BETHZAIDA    SOLLA                     NC         90009296424
72365828731433   CAMERON      THORLA                    MO         90014998287
72366271755947   CARL         CLAY                      CA         90004582717
72367517655939   DOMINGA      GONZALEZ                  CA         90007415176
72368154155969   LESLY        GONZALEZ                  CA         48018711541
72369785957157   ANTONIO      SANCHEZ                   VA         90013007859
72371779357157   ANA          ARTEAGA                   VA         90013487793
72371891481633   MICHELLE     ALEXANDER                 MO         29071868914
72372166855966   ALEJANDRO    FUENTES                   CA         90011651668
72373655671921   NIKKI        GRUBBS                    CO         90013006556
72373763755966   ASHLEY       PEREZ                     CA         48092897637
72374259733699   DAVID        DICK                      NC         90005432597
72375371441227   ROBERT       NOVENDSTERNN              PA         51015213714
72375831772479   SHERRY       ERNST                     PA         90014068317
72378444833698   DANIELLE     BLACK                     NC         90013204448
72382357257157   CHRISTELLA   UWERA                     VA         90012093572
72382752472441   JONATHAN     DURANEY                   PA         51041487524
72383499171921   JENNIE       ROMERO                    CO         32007224991
72383562357157   ROGER        GONZALEZ                  VA         90012895623
72383759141253   BRIDGETT     SMITH                     PA         51042407591
72383821755969   SANDRA       GARCIA                    CA         90008158217
72384738372479   PAUL         GALLA                     PA         90014937383
72384854455969   NANCY        ALVARADO                  CA         90010978544
72385171591991   FREDY        MARTINEZ                  NC         90011551715
72385218841237   CLARENCE     JOHNSON                   PA         51092002188
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72385353655966   CAROL           BROWN                  CA         90007983536
72385849257157   ALEJANDRA       ESPINOZA               VA         90012638492
72387116555969   RALPH           PADILLA                CA         90011801165
72387538493739   RONALD          SHELTON                OH         64530545384
72387634955966   JUAN            LEMUS                  CA         90000696349
72388428655939   GLENDA          RAMIREZ                CA         48082984286
72388443181687   THOMAS          UPTON                  MO         90005634431
72388637893756   RONNEE          TINGLE                 OH         90007826378
72389479781255   SYDNEY          TREAT                  KY         90002144797
72389714455939   NONE            NONE                   CA         90008907144
72392641441253   MARVA           BRYANT                 PA         90013326414
72393177133699   SAM             HOOD                   NC         90004651771
72393859884322   MARTIN          GERONIMO               SC         90008638598
72394758331433   JONATHN         HOLMES                 MO         90003387583
72395679533698   MICHEAL         ROBERTS                NC         90009836795
72396837641253   ERIC            JOHNS                  PA         51084318376
72397333772421   DANYELLE        COOPER                 PA         51008813337
72397488255939   KARINA          TORRES                 CA         90014594882
72398298855966   RICARDO         TORRES                 CA         90012402988
72398463233698   HOLLEY          BELL                   NC         12022544632
72398583455939   RAUL            MARTINEZ               CA         90000855834
72399783841237   ROSALINDA       MCHLER                 PA         51001807838
72411516781644   SANDRA          ZAMORA                 MO         90010315167
72413235531433   JAMES           CURRIE                 MO         27557452355
72413378372421   RUSSELL         ESHMAN                 PA         90013923783
72413755672479   JOSH            VEDDER                 PA         90012137556
72414139841237   KORIE           BRUCE                  PA         51023971398
72414894555939   CESAR           VARGAS                 CA         90011388945
72417344871921   TRACEY          KERCHEVAL              CO         90014083448
72418191955966   JOSE            GARCIA                 CA         90014201919
72419494393756   ROCHELLE        WASHINGTON             OH         90006494943
72421142471921   OSCAR           GALLEGOS RIOS          CO         90010451424
72421147441253   TALAYA          MONTGOMERY             PA         51089141474
72421413972421   CRYSTAL         CLARK                  PA         51044124139
72421869255939   DANIEL          ROMERO                 CA         90012058692
72423157133699   PAULA           SMITH                  NC         90013491571
72423512955966   ALMA            MUNIZ                  CA         48014755129
72423571391991   ZAKKEE          HILL                   NC         17057715713
72424339655969   MAYRA           VELASCO                CA         90005643396
72426578433698   TOMESHA         RORIE                  NC         90011455784
72427934255956   MARIO           IRAHETA                CA         90013859342
72428894755969   RADAY           BOCANEGRA              CA         90014548947
72428962531433   BRIAN           MILLER                 MO         90012929625
72429141855939   ADELINA         TAPIA                  CA         48060131418
72429418172421   JOSEPH          SCHRECENGOST           PA         51016604181
72431272933698   GREGORY         ALBA                   NC         90013742729
72431637384322   PARISH          WRICE                  SC         90013856373
72432744841253   ROBERT SAMUEL   OSHEA                  PA         90009647448
72433235455966   GRISELDA        VARGAS                 CA         90014202354
72433625331433   TIFFANIE        WILLIAMS               MO         90012506253
72435954272479   JOSHUA          BRIDGE                 PA         90011529542
72436588933699   ORBELIN         JARAMILLO              NC         90012295889
72437794793739   LORI            MORRIS                 OH         90013147947
72438762781633   HANNAH          SHATTO                 MO         90011867627
72441385781633   JASON           KNIGHT                 MO         90013963857
72441656291827   MICHELLE        HICKS                  OK         90013856562
72443478972421   SHAWN           SMAIL                  PA         51013944789
72444887133698   KATRINA         SUMMERS                NC         12004208871
72445175891354   SHERRI          HARRISON               KS         90012311758
72445822572421   SUZANNE         CHAMBERLAIN            PA         51041298225
72446636133699   WILLIAM         SOLOMON-HYNES          NC         90014926361
72447138671921   DAVID           WARREN                 CO         32042281386
72447816555969   RICHARD         FIERRO                 CA         90009908165
72448264555966   NALLELI         TORRES                 CA         90013872645
72448286841227   RONSENDO        PAEZ                   PA         90003762868
72448477933699   STEVENSON       WHITE 2                NC         90012334779
72449712757157   EDGAR           ZUASNABAR              VA         81085627127
72449956861935   MANUEL          QUINONEZ DIAZ          CA         90007169568
72451636133699   WILLIAM         SOLOMON-HYNES          NC         90014926361
72452539155939   ANA             CANCHOLA               CA         48071655391
72453169484322   JESSICA         ELGARTE                SC         90011871694
72453197751378   MIKE            JONES                  OH         90010991977
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72455156793739   SHERYL           BLESSING              OH         64522881567
72455877955966   JOSE             REYES                 CA         90000358779
72456574255947   STEPHANIE        MELENDEZ              CA         90011115742
72458834772441   KATHY            BUCHANAN              PA         90015008347
72458869257157   LINDA            VALLEJO               VA         81083138692
72459128581633   CHRISTOPHER      ROBBINS               MO         90014841285
72462333684322   LASHONDA         SINGLETON             SC         90014773336
72462424993739   BRAD             SPENCER               OH         90009354249
72463531172479   MARCY            CAPICOTTO             PA         51027185311
72463694671921   CODY             NORTON                CO         90011086946
72466262184322   AALYAN           JACKSON               SC         90009642621
72466343172441   ROBERT           MITCHELL              PA         90008733431
72466625293739   ISAIAH           LEWIS                 OH         90009146252
72466667491548   JESUS            IBARRA                TX         90012616674
72467157555969   ZUSANA           LOPEZ                 CA         90012981575
72467215431432   TEYONDA          MURPHY                MO         90011462154
72467928672441   BRIAN            MCCOY                 PA         51083899286
72469838972479   MICHAEL          RODDEN                PA         90000228389
72471756472421   AMBER            PATTON                PA         51004977564
72472296981633   JUAN             CORDERO               MO         90010622969
72473888431433   KIRK             DOUGLAS               MO         90011448884
72476473171921   DUANE            BROWN                 CO         32096704731
72476648955939   JUAN             HERNANDEZ             CA         90014456489
72478312481633   JOAN             PERKINS               MO         90013473124
72478841484322   SANTOS           NAZARIO               SC         14565758414
72479259491924   CLARRISSA        FARRAR-HINES          NC         90011922594
72479439461986   OSCAR            MUNOZ                 CA         90014194394
72483186171921   KING             ALEX                  CO         32038971861
72483565836182   ANGELICA         AYALA                 TX         90002645658
72484364755939   CORINA           AMBRIS                CA         90006183647
72485357933698   VERSHON          WARD                  NC         90009073579
72486181833698   DISHAE LADARIS   WORKMAM               NC         90014271818
72488665855947   LARRY            FRANKLIN              CA         90011566658
72489845955947   PENNY INEZ       ARRIOLA               CA         90009388459
72491877291586   RIGOBERTO        NAVARRO               TX         90014328772
72492175755939   RAYMOND          ARELLANO              CA         90013101757
72493617284322   DANA             PINCKNEY              SC         90014416172
72493626155969   FABIOLA          HERNANDEZ             CA         90010276261
72493837531433   JAIRO            TEMORES-DE ROJAS      MO         90014238375
72495646555966   MARIA            ZUNIGA                CA         90013116465
72496111884322   USIEL            SANCHEZ               SC         90014831118
72496429631433   JESSICA          SMITH                 MO         90014714296
72496823933699   SOLOMON          V. REID               NC         12044598239
72498841833699   MARISA           GEVARA                NC         90013878418
72498975931433   KEVIN            RUFUS                 MO         90012979759
72499423855939   JORGE            GARCIA                CA         48004594238
72499695872441   WILLIE           ROBINSON              PA         90008966958
72499957133699   MARY             RIWDY                 NC         12097209571
72511373681633   RASHONDA         PORTER                MO         90013083736
72512192655939   PEDRO            CHARLES               CA         48002411926
72512391733698   ALVIN            WADDELL               NC         90013473917
72514356231433   ANGELA           DAVENPORT             MO         90008623562
72515154557157   LORENA           CONZOLEZ              VA         90015281545
72515974577524   KEITH            COMSTOCK              NV         90001279745
72516672684322   ALLAN            MORALES               SC         14591336726
72516991793739   AMILILANA        ROBINSIN              OH         90010449917
72517462372479   LORI             ESSEY                 PA         51064474623
72517856357157   JUAN             CABRERA               VA         81053598563
72518664381633   JESUS            FIERRO                MO         29032566643
72518732655969   MIREYA           MENDOZA               CA         90011987326
72521261391572   CLAUDIA          RODRIGUEZ             TX         90013362613
72521639241253   JONATHAN         BALL                  PA         90013196392
72522785141252   LINDSAY          STAUFFER              PA         51017427851
72524616572421   JOSCELYN         CHACKO                PA         90014306165
72525369455969   JOSEPH           TORRES                CA         90008713694
72525769691991   RAYAN            EL-ATTAFI             NC         90013507696
72525858131433   JASON            PORTER                MO         27511168581
72526341831432   SAKIESHA         PHILLI10PS            MO         90014413418
72526446955969   ISIDRO           GUZMAN                CA         90001714469
72526999231432   SAKIESHA         PHILLI10PS            MO         90009679992
72527869955966   AMBER            RAYO                  CA         90013638699
72528361484322   KARINA           MARTINEZ              SC         90013453614
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72528639155966   JOSE          ISASI                    CA         90011666391
72529253972421   ANDREW        MELLON                   PA         51018062539
72529574391572   DAVID         MARINES                  TX         75013665743
72532216766255   BARBARA       MOORE                    MS         90014862167
72533178672474   CHUNG-CHEN    CHAO                     PA         90003271786
72533888341237   PAYGO         IVR ACTIVATION           PA         90014558883
72535241457157   ISAIC         ROQUE                    VA         90007592414
72536887441227   MICHAEL       AARON                    PA         90005388874
72536925361991   GERARDO       DELGADO MADRID           CA         46071399253
72537191484322   SALAMANTA     CERVANTES                SC         90014171914
72537393591991   BAYE          SECK                     NC         17010933935
72542252355939   ROBERTO       GONZALEZ                 CA         90011912523
72542374872421   REBECCA       TALAMANTES               PA         90005383748
72542624172441   DESMON        CLEMENTS                 PA         90014696241
72542657884322   JAHIEM        WILLIAMS                 SC         90014856578
72543344891577   MARGO         LEAL                     TX         90014123448
72544219341237   BROWN         MARJORIE                 PA         51065762193
72545287631433   THOMAS        BROOKS                   MO         90013442876
72545433371921   STEPHANIE     COLEMAN                  CO         90000664333
72547983172441   NATHANIEL     GREEN                    PA         90014729831
72549436941237   JERRY         MELLOVICH                PA         90006034369
72551379472479   BRANDI        HILLEN                   PA         90011003794
72552378333698   TONY          ISLEY                    NC         90015173783
72552889633699   MAYRENE       SMITH                    NC         90014818896
72553948391991   CINDY         MUNGUI                   NC         90003339483
72554626193739   ALONZO        DIGGS                    OH         90010906261
72554983684322   BRIDGET       LOPEZ                    SC         14593409836
72556423171921   CHRISTOPHER   GOODING                  CO         90015154231
72556728672421   JENNIFER      BROOKS                   PA         90001237286
72556888431433   KIRK          DOUGLAS                  MO         90011448884
72557299341265   MICHAEL       DAVIS                    PA         90014822993
72558676133699   MARCUS        DORSEY                   NC         90013536761
72558854955939   VALERIA       CARREON                  CA         90008918549
72561355241237   STERLING      FONDREN                  PA         51087733552
72561523541253   INDIA         WALKER                   PA         90011225235
72562725772421   JOAN          HERNLEY                  PA         51088787257
72563286655969   JUAN          ROSALES                  CA         90007362866
72563414481633   PAULA         GARCIA                   MO         90014984144
72565116272421   NICOLE        COLEMAN                  PA         90005961162
72565316272479   KIMBERLY      DODATO                   PA         90005223162
72565451741227   MICHELLE      MANNS                    PA         90002784517
72565557571921   SAGE          SANCHEZ                  CO         32048955575
72566549757144   JOSE          MARTEL                   VA         90009895497
72566985731433   JACQUELINE    BAKER                    MO         27563299857
72567195872421   JOLEEN        LUEHM                    PA         51020641958
72567914757121   KECIA         HONESTY                  VA         90001669147
72568153372441   DAVID         POWELL                   PA         51068771533
72568313591991   KAREEM        RAHMAN                   NC         17014463135
72568591541253   KEYISHA       PRINGLE                  PA         90014985915
72568664555969   COURTNEY      SHORT                    CA         48077536645
72571574572421   LINDA         BLOSE                    PA         51081745745
72571613255939   ANA           MURO                     CA         90007646132
72571758733698   ALEXIS        REID                     NC         90013257587
72572153372441   DAVID         POWELL                   PA         51068771533
72572186693739   JENNIFER      WEIL                     OH         90013071866
72572447955947   TANZANIA      EASLEY                   CA         90009814479
72572716284322   JUAN          CARLOS                   SC         90014037162
72573486393739   JESSICA       JONES                    OH         90010294863
72573981372479   KIMBERLY      DOYLE                    PA         90014559813
72574894891963   MARY          MOORE                    NC         90001038948
72576215431432   TEYONDA       MURPHY                   MO         90011462154
72577459855969   PEDRO         ELIZALDE                 CA         90001714598
72577827872479   COLTON        KISNER                   PA         90011008278
72578616255947   CRYSTAL       MARTINEZ                 CA         49074476162
72578626672479   SCOTT         KNIGHT                   PA         51053426266
72579692857157   AMBER         CARY                     VA         90014256928
72579999833699   MARINA        CAMARGO                  NC         90009599998
72582167891991   TAMEKA        NEWKIRK                  NC         90005411678
72584177655939   JOSE          HERNANDEZ                CA         90008401776
72584963457157   REMY          CHAMPAGNE                VA         90010009634
72586194741265   TORRE         MOLLETT                  PA         90010101947
72586271655939   ANGEL         FARIAS PENA              CA         90015282716
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72586339484322   ATREYU       UZZLE                     SC         90014583394
72592163757157   SANTOS       NOLASCA                   VA         90013501637
72593793833698   CYNTHIA      ROBINSON                  NC         12082837938
72594588691931   ALMONTE      MARSHALL                  NC         90008155886
72594817572479   TERI         BRUNDEGE                  PA         90009598175
72594986657157   JOSUE        MARTINEZ                  VA         90014669866
72595394755969   RICHARD      ST CLAIR                  CA         90011453947
72596579657157   CARLOS       BARRERA                   VA         81064185796
72596884693739   LISA         COLLIER-REDIC             OH         90012598846
72597126761935   JOSE         AGUIRRE                   CA         46084231267
72597444672441   VALERIE      BRISCO                    PA         90010374446
72598344241237   DONALD       MARKS                     PA         90013863442
72598384357157   GLORIA       MILES                     VA         90013073843
72598396361935   MARIA        RAZO                      CA         90003043963
72599683255966   YERALDIN     AMBIRZ                    CA         90014216832
72599766631443   GEORGE       CALMESE                   MO         90001767666
72599976272479   MARIE        KEFFER                    PA         51008789762
72611157241253   ALISHA       FRYE                      PA         90014691572
72612598333698   KRISTIAN     WILLIAMS                  NC         90011485983
72612913184322   CARMEN       FIGUEROA                  SC         90014899131
72613171141237   RAYMOND      BROWN                     PA         90011341711
72613578772441   GLEN         HUTTON                    PA         90013355787
72614395372479   ANDY         MCWILLIAMS                PA         90014083953
72614649284322   SHAY         DAVIS                     SC         90012506492
72614786455966   JOHANNA      AGUILAR                   CA         90009097864
72615425384322   ERIKA        BUSH                      SC         90007934253
72615686272479   NICOLE       WITT                      PA         90011946862
72616129457157   JOHN         RECTOR                    VA         90014691294
72616791333698   AMELIA       JONES                     NC         90010907913
72617217684322   DAEYONNA     ANDERSON                  SC         90014472176
72617581155939   RAMON        GODINEZ                   CA         90015125811
72619678241227   AUDRICA      MCKEITHEN                 PA         90014346782
72621391981633   SHEKA        NEWSOME                   MO         90002043919
72622656657157   RUDI         CARDENAS                  VA         81062736566
72622667731443   TIFFANY      DAY                       MO         27505986677
72623239271921   GAIL         EDWARDS                   CO         32057742392
72623477471659   GRACIE       JACKSON                   NY         90002294774
72624751891577   MARK         POER                      TX         90014837518
72626637671921   MICHEAL      CHRISTENSEN               CO         90006616376
72627181833698   TIFANIE      RUDD                      NC         12092041818
72627397331433   ANGELA       PURNELL                   MO         90011423973
72628489472441   SHAWN        DANIEL                    PA         90006164894
72629312931443   KELLEY       FAIRLEY                   MO         90010843129
72631421284322   BARBARA      NEWTON                    SC         90014804212
72631483257157   ABDULLAHI    ISMAIL                    VA         90014694832
72632419784322   RONGERA      LAWYER                    SC         90010354197
72632848772479   JASON        CHACKO                    PA         90009928487
72633428191991   CRAIG        CHERRY                    NC         17024424281
72633439972479   LUCAS        ROSE                      PA         51043344399
72633975461984   MARIA        CHAVEZ                    CA         90008909754
72635172731432   IYANNA       MOSLEY                    MO         90014211727
72635575331433   NURIJA       MRSIC                     MO         90005365753
72636293155969   CHRISTINA    ESTRADA                   CA         90013912931
72637526591991   JOSE         SOLORZANO                 NC         90003345265
72638925155969   RITO         HERNANDEZ                 CA         90012339251
72639224893739   THOMAS       ENSCOE                    OH         90001592248
72641925155969   RITO         HERNANDEZ                 CA         90012339251
72642347781633   TRISHA       DAVIS                     MO         90013473477
72644418855939   GRICELDA     MENDEZ                    CA         90011354188
72644792955947   REYNA        GOMEZ                     CA         49059077929
72645653172479   MARIAH       BOBBS                     PA         90008356531
72645891484322   ADRIANA      CALLEJAS                  SC         90010938914
72646184233698   ENARI        MITCHELL                  NC         90013921842
72646699741237   LEIGH        FURMAN                    PA         90012756997
72647885584322   HERNANDEZ    MANUEL                    SC         90011188855
72648249855969   ELISA        PACHECO                   CA         48095942498
72648354271921   TAMMY        LOWERY                    CO         32013863542
72649255155966   CODY         RODRIGUEZ                 CA         90012932551
72649279455969   DOLORES      MARTINEZ                  CA         90003722794
72651468433698   IVONE        RIVAS                     NC         12083124684
72652791591855   MICHAEL      ANGELO                    OK         90007907915
72652877257157   DAIBY        RODRIGUEZ MARAVILLA       VA         81062758772
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72653485133698   PRISCILLA    ALSTON                    NC         12019534851
72653989784322   JUAN         CANO                      SC         90007829897
72653992431433   BOBBY        WELCH                     MO         90014369924
72654936341237   DARLA        CALFO                     PA         51018179363
72655899157157   WILSON       PONCE                     VA         90013778991
72656538372479   AMANDA       WANHOOVER                 PA         90013965383
72661135972479   MICHAEL      HARMON                    PA         51039291359
72661797861935   WILLIAM      BOWMAN                    CA         90007297978
72663315133698   VERNON       BYERS                     NC         12035123151
72663475357157   BRIAN        MARTINEZ                  VA         90014764753
72664483241253   AALIYH       BELL                      PA         90013544832
72665413333699   SHEREKA      THOMPSON                  NC         12008344133
72665615661984   ERNESTINA    OROZCO                    CA         90012646156
72665732561984   ERNESTINA    OROZCO                    CA         90008447325
72666219757157   JOEL         RIVERA                    VA         90006292197
72666275555947   LISA         FARMER                    CA         49076042755
72666325555939   JOSE         MARTINEZ                  CA         90012733255
72666487255973   MARIA        OROZCO                    CA         48088194872
72666863255969   GUADALUPE    PAZ                       CA         90011418632
72667159471921   BOBBI        PENA                      CO         90009161594
72668373193739   NANCY        CALDWELL                  OH         64568953731
72669723255969   BENJAMIN     ESTRADA                   CA         90013877232
72671185355969   SILVIANO     URIETA                    CA         90009541853
72671894841253   OWUNAROI     ROEUBEN                   PA         90014268948
72671925155969   RITO         HERNANDEZ                 CA         90012339251
72672172533699   DENISE       VASQUEZ                   NC         90013491725
72672213972421   LATOSHA      KEENE                     PA         90014572139
72672226872479   TIFFANY      KUHAR                     PA         51040552268
72672284584322   AMERICA      CASTILLO                  SC         90010292845
72672287191991   CAROLINA     HERRERA                   NC         90011422871
72672984555939   DOMINGO      PEREZ                     CA         90013209845
72673644633699   ANTONIO      DUNLAP                    NC         12093206446
72674759372441   CHARLES      HUMPHRIES                 PA         51059817593
72675552755969   JOSHUA       BRUTLON                   CA         90011335527
72676518333699   STEVEN       WILSON                    NC         90014825183
72676596261982   JASMINE      TOBA                      CA         90006545962
72677621161459   CEDRICK      FILES                     OH         90013986211
72678913833698   NSOH         RLAYANG                   NC         90015359138
72679597355939   SANDRA       HOWELL                    CA         48071755973
72681351741237   RIECHELLE    GRIFFITH                  PA         90013553517
72682655772421   MARILYN      WILLIAMS                  PA         51084546557
72682756155947   MONIQUE      CHAVEZ                    CA         49084167561
72685261972421   CASEY        HANKS                     PA         90014872619
72687331531443   RICK         RIEHEMANN                 MO         90002313315
72689713955966   EDWARD       CANELA                    CA         90008037139
72691391155969   ANDREA       AVILES                    CA         90014183911
72693326433699   SHANEE       KARRIEM                   NC         12014613264
72695494757157   ELIAS        MORALES                   VA         90011864947
72695539955941   PATRICIA     LAICHOUR                  CA         90000775399
72696374531433   YASMEN       SMITH                     MO         90013693745
72696744641227   ETHEL        MCFADDEN                  PA         90010187446
72696993371921   BRITTANY     RODRIGUEZ                 CO         32047409933
72697861672421   MICHAEL      LILLEY                    PA         51015818616
72698733355969   LUIS         PEREZ                     CA         90013877333
72711254455969   MARIA        GUTIERREZ                 CA         48085782544
72711437972441   XIOMARA      RIVERA                    PA         90015544379
72712412593739   SHAWN        GRIGLEY                   OH         64548304125
72712542641253   RICKY        PIETROBONI                PA         90014875426
72712754371921   MARIE        FAIREY                    CO         32035487543
72713153371955   LEAN         PACHECO                   CO         90011331533
72714637533699   JOSH         WILLIAMSON                NC         90014926375
72714877793739   TANYA        ROBISON                   OH         90010998777
72715733831433   SCOTT        JANSSEN                   MO         90012917338
72716168771921   RAMONA       BEGAY                     CO         90013721687
72716733493767   JESSICA      MOSS                      OH         90011647334
72717786233699   TRACY        MORRISON                  NC         12032307862
72718634272421   AMY          LEONARD                   PA         51029136342
72719166955969   ALICE        FERRAZ                    CA         90007371669
72719355641253   THOMAS       PODGORSKI                 PA         51017023556
72719975891991   ANNETTE      SMITH                     NC         17063789758
72723192172479   ADAM         GREENLIEF                 PA         51092901921
72723398872441   KEITH        BUTCHER                   PA         90004233988
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72723996481633   CHARLES       SHURN                    MO         90009619964
72724381355939   TANIA         TINOCO MARQUEZ           CA         90014123813
72725186457157   BALBINO       PEREZ DIAZ               VA         90002051864
72725822233699   TIMOTHY       BROWN                    NC         90007738222
72726124855939   STACIE        SMITH                    CA         90003901248
72726125341237   BRIAN         HAWKINS                  PA         90014111253
72726263141253   ROBERT        CULPEPPER                PA         90012722631
72727184555969   TERRY         O DANIEL                 CA         90003281845
72727556633698   LATANYA       PLATT                    NC         90007155566
72728143241253   LEWIS         EDWARDS                  PA         90012601432
72728972431443   TAMMY         WATSON                   MO         27560959724
72731769957157   HUGO          EDGARDO ORTIZ            VA         81005297699
72732491991991   KIESE         MPONGO                   NC         90003354919
72732545155966   DAVID         MEDINA                   CA         90012955451
72732639293739   JENNIFER      BUSH                     OH         90011416392
72734335833698   TOCORA        MAYNARD                  NC         90014863358
72734549533698   LAZARO        JONES                    NC         90013675495
72734657684322   KARLA         VALERIA                  SC         90014586576
72735622871921   SHAUNA        HECKMAN                  CO         90007946228
72735985755966   CELENE        MACIEL                   CA         90013449857
72737294431443   LAMONICA      BILLUPS                  MO         27578992944
72738992284322   CLEMEMTE      CASIQUE                  SC         90014789922
72739179172421   TINA          LEONE                    PA         51072061791
72741785957157   ANTONIO       SANCHEZ                  VA         90013007859
72741878333699   ALICIA        WIKES                    NC         90014768783
72741932833698   DIANA         ROSARIO                  NC         90013489328
72741952984322   KATHERYN L    GREGGO                   SC         14504599529
72742446881633   ELISA         GILLILAND                MO         90011904468
72745748133698   RICHARD       BOGART                   NC         90010267481
72746839272421   LISA          REYNOLDS                 PA         90008298392
72747179472441   GEORGE        BISCEGLIA                PA         51004511794
72747216241253   TARA          MALONE                   PA         90011082162
72747576955966   LETICIA       CARRISALEZ               CA         90014245769
72747748555939   YUVANY        CORTEZ                   CA         90012607485
72748611141227   ALYSSIA       HOEY                     PA         90005116111
72748843493739   VIRGINIA      WARD                     OH         64592348434
72748963633698   KATONDRA      WILSON                   NC         90013759636
72749113671921   ARTURO        GIL                      CO         90011931136
72749468441237   SONYA         SIMPSON                  PA         90011084684
72749985755966   CELENE        MACIEL                   CA         90013449857
72752681755947   SHARON        LUDWIG                   CA         49090776817
72753829472441   RON           HANNAH                   PA         51012328294
72755632971921   GLADYS        BASANTE                  CO         32003996329
72756154593739   BRIDGETTE M   WRIGHT                   OH         90014691545
72757315571921   JONATHAN      FLORES                   CO         90012803155
72758644584322   JOSE          ABRAJAN                  SC         90015086445
72759346772479   JOHN          CAMPBELL                 PA         90011093467
72759866981633   DAVID         COOPER                   MO         90010958669
72761475933624   JOHN          HOLT                     NC         90006344759
72761767131432   GLENN         CAMPBELL                 MO         27509497671
72761998281633   ALBARO        ALBANIL                  MO         90010669982
72762112971921   DAIJAH        SMITH                    CO         90013231129
72762754355966   ADOLFO        MENERA                   CA         48093607543
72762921672479   DANNY         BREWER                   PA         51093779216
72763687733699   DOMINIQUE     GRAY                     NC         90014676877
72763715281633   MICHELLE      ROBINSON                 MO         90013337152
72763832255969   CHARLES       SERRANO                  CA         90009938322
72763887855969   BRENDA        LOPEZ                    CA         90013208878
72764748133699   TRIVY         WESTBURY                 NC         90006067481
72764874785883   MEGAN         MORIARTY                 CA         90001338747
72765561457157   BRYAN         RUMUALDO                 VA         90015155614
72766324984322   RUTH          CAPONE                   SC         90012483249
72767411641253   STEVE         TONETTI                  PA         51011844116
72768362441253   MARY          CALDWELL                 PA         51063933624
72771672391522   VICTOR        ARELLANO                 TX         90000236723
72772759636182   ANGELA        YBARRA                   TX         90007367596
72773536681633   MATTHEW       DUNN                     MO         90014675366
72774397991586   JOSE          CORTEZ                   TX         90014173979
72774495931443   JOSEPH        CLEVELAND                MO         27587324959
72776413941253   ASHLEY        KLEMZ-BUCKLAD            PA         51018974139
72776816155969   SONYA         ALAFA                    CA         90012538161
72776866372421   BOB           DOROHOVICH               PA         51036538663
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72776983951322   JESSICA       VALENTINE                OH         90013779839
72777441371921   COLIN         BROWN                    CO         90009804413
72779146931443   SHERRI        RANDALL                  MO         27567711469
72781178831433   RODNEY        WILLIAMS                 MO         27503971788
72781211271921   PAT           CALDWELL                 CO         32088042112
72781629355969   MARIA         RAYO                     CA         90008676293
72783472155969   MONICA        SANTOS                   CA         48080974721
72784448557157   JORGE         SANCHEZ                  VA         90013934485
72784847884322   SABRINA       MANOA                    SC         90013618478
72785784672479   THOMAS        MARREE                   PA         51085117846
72786323684322   APRIL         GROGAN                   SC         14584093236
72786861555936   JOSEFINA      GOMEZ                    CA         90014998615
72787235984322   SHIRLETTE     BENTLEY                  SC         14551082359
72787855533699   ROBERTO       GUILLEN                  NC         90012478555
72788342871921   TERESA        GUTIERREZ-CHAVEZ         CO         90011723428
72789482284322   TONY          WILLIAMS                 SC         90008954822
72791437372421   MICHAEL       PAVLIK                   PA         51085404373
72791513771921   LUIS          CARMONA                  CO         90004045137
72792889841237   SHAINA        MURRAY                   PA         51014938898
72793857431433   MARQUETTA     JENNINGS                 MO         27501468574
72794632941237   ANDREW        MONDINE                  PA         51053606329
72794779257157   GUSTAVO       GOMEZ                    VA         90013937792
72794845481633   TERITA        WOODS                    MO         90006218454
72795372833625   JALEA         MARLEY                   NC         90010733728
72795538461994   MERY          NEDEDOG                  CA         90006935384
72797498241253   LINDA         GRINAGE                  PA         51096204982
72798254772479   RAVEN         RANDALL                  PA         90013352547
72798364755969   ANNE          GREENE                   CA         90012013647
72799669761991   DIANA         ANDRADE                  CA         90009806697
72799671641253   JUDY          WILLIAM                  PA         90013196716
72811442441252   LISA          KLAVORA                  PA         51077074424
72811689191522   JUAN MANUEL   ARANDA                   TX         90004816891
72812365584359   VARNITTA      BEST                     SC         90006213655
72813546193739   GWENDOLYN     UNDERWOOD                OH         90007235461
72813838831443   WALTER        SCHULTHEIS               MO         27567728388
72814524957157   THOMAS        FORD                     DC         90014785249
72814775941237   ALEXANDRIA    BOWMAN                   PA         90008597759
72815827733698   PHYLLIS       OWENS                    NC         12006688277
72815899257157   LAZARO        CARBAJAL                 VA         90007368992
72816195793739   JIM           BEAM                     OH         90011171957
72816672741237   THOMAS        TOWNSEND                 PA         51024136727
72816746255966   DAWN          TWING                    CA         90014287462
72817952555969   VERONICA      DELATORRES               CA         48040169525
72819514355969   ADRIANNA      DORAME                   CA         48011955143
72821217633447   SHANTENI      WOMACK                   AL         90014582176
72822284555969   EBONI         GONZALES                 CA         90012362845
72822352372479   LORENZO       GARDNER                  PA         90001223523
72822624957157   SAIF          ALSHEHRI                 VA         90014786249
72822997271921   TIMOTHY       ROBINSON                 CO         90011049972
72824448571921   JERRY         DICK                     CO         32082544485
72825748741253   DAVID         ALLEN                    PA         90011647487
72825839772479   DONNA         WNEK                     PA         90014928397
72827742671921   DEVI          ROGERS                   CO         90014237426
72828316272479   KIMBERLY      DODATO                   PA         90005223162
72831839461493   LISA          WILSON                   OH         90015498394
72831874991962   ERIN          CAMPBELL                 NC         90008928749
72832426472421   JERMAINE      WOMACK                   PA         90014414264
72833399631463   BRENDA        TENSHLER                 MO         90001213996
72833967193739   JESSICA       OBRYAN                   OH         64577149671
72834583941227   PAUL          PC                       PA         51092375839
72835386271921   MARGARITA     JIMENEZ                  CO         32085653862
72835492931433   BRADLEY       BOWLING                  MO         27596664929
72837286755941   DONYEL        TITUS                    CA         49017682867
72838627541253   ERIC          MATHEWS                  PA         90006166275
72839236484322   GERARDO       VELAZQUEZ                SC         90014152364
72839549333698   CHRIS         WEAVER                   NC         90007885493
72841185271921   HOWARD        PUDDER                   CO         32023091852
72841963684322   CARLOS        LOPEZ                    SC         90014469636
72843876431443   DELORES       BLUE                     MO         90001358764
72846787881633   DIANNA        OSIECKI                  MO         90012477878
72847221872421   ROBERT        KUJAWA II                PA         51036042218
72847358955966   DEGNA         CASTRO                   CA         90014253589
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72847544833699   ANDREA          MYERS                  NC         90001565448
72851327772421   OMAR            LEON                   PA         90014353277
72852338533698   DENISE          HENDERSON              NC         90014883385
72853126893739   DAWN            BRYANT                 OH         64528351268
72854584255969   NADIER          BATSHON                CA         90004895842
72856197955939   ODIR            ZELAYA                 CA         90005621979
72857582686456   SJ              GREENE                 SC         90014075826
72857586793739   ANTONIO         PEREZ                  OH         90012285867
72857597871921   MARGUERITE      BANISTER               CO         32088025978
72858965333698   TONY            LOWE                   NC         12044109653
72859855131433   KENNETH         CROSSLAND              MO         90012718551
72863377184322   IVONNE          GUEVARA                SC         90009953771
72863665541227   DAVE            MARTI                  PA         51028826655
72864693681633   URIAS           DOLORES                MO         90007296936
72864865671921   BRITTANY        STEPHENSON             CO         90014488656
72866197191962   DEMISHA         TURRENTINE             NC         90014821971
72866265755969   MADRID          ERNEST                 CA         90012732657
72866332484322   PAYGO           IVR ACTIVATION         SC         90011873324
72866454141227   SALEM           TRAI                   PA         90009954541
72866573771921   JASON           CONNER                 CO         90006975737
72866658872479   SAMANTHA        GRIFFITH               PA         51010216588
72866748255969   VICTORIA        AVILES                 CA         90011437482
72867498355947   DALENE          BASH                   CA         90004244983
72867629455966   ROSA            YANEZ                  CA         90012956294
72868147641237   WHITNEY         HATCHER                PA         51040151476
72868257572479   LAURA           LENHART                PA         51075352575
72868336371921   JORDAN          PRIETO-PEREZ           CO         90010973363
72868753371921   ANGEL           MOORE                  CO         90013897533
72868788555969   DAUNELLE        OJADA                  CA         90013297885
72869172484322   RASHEEN         DUPONT                 SC         90014011724
72871234484322   EMILY           MURO                   SC         90012172344
72871967981633   DONNA           VANMETER               MO         29030549679
72873139491857   VIRGIL          ROSE                   OK         90008461394
72873259641237   DIANE           CLARK                  PA         90012252596
72873342693756   RHONDA          LUDWICK                OH         90001483426
72873472684322   NOE             BERNAL                 SC         90010914726
72873845481633   IKECHI          HIGH                   MO         90014758454
72874249272441   JONATHAN        BRICKNER               PA         90001392492
72874374531433   YASMEN          SMITH                  MO         90013693745
72875997355947   ADAM            DUREN                  CA         49017059973
72876976731433   AMANDA          CARMI                  MO         90015189767
72877232955966   RAE DAWN        SALDIVAR               CA         90012872329
72878497472479   MARK            DEMCHAK                PA         90011994974
72879547255939   GERARDO         VELASCO                CA         48064915472
72881137531432   JUDITH          ALVEY                  MO         90003241375
72881327933699   EMETERIO        CASTILLO GONZALES      NC         90012833279
72881381172421   AMY             GIRON                  PA         90014513811
72881867957157   NUBIA TERESA    PALMA                  VA         90014898679
72882362672479   JOYCE           WINKLER                PA         51066733626
72883131772441   CHRIS           ZEDAK                  PA         51038281317
72884384631433   JEFF            DAVIDSON               MO         27502743846
72884386755939   RUBEN           ALVARADO               CA         48035933867
72884853333699   TERRY           DENNISON JR            NC         90001118533
72885525157157   JUAN            HERNANDEZ              VA         81063255251
72885632355939   VICTOR          ROMO                   CA         90001646323
72885913871921   ALANA AND AKI   BROOKS AND MOSE        CO         90011479138
72886999393739   MARK            EWRY                   OH         64596189993
72888675541227   KARLA           WOOD                   PA         51017476755
72889114833698   SHERRIE         COLE                   NC         12090121148
72889881855939   EDITH           RAMIREZ                CA         90000508818
72891499755947   LINDA           GUDINO                 CA         90003434997
72894225993739   SHERTENA        FERGUS                 OH         90008432259
72894359457157   DANIEL EVIN     PINEDA                 VA         90011483594
72895183784322   JOSE            LOPEZ                  SC         90009601837
72896741455966   VALARIE         GARCIA                 CA         90014367414
72897344733698   STEPHANIE       KINNEY                 NC         90014453447
72897743833699   SHAKEITA        SMITH                  NC         90010947438
72899286755969   DAVID           GALLO                  CA         90003362867
72899372184322   JABON           WILLIAM                SC         90014553721
72899967172479   JOHN            MARKS                  PA         90013389671
72911713331433   JASMINE         ELLIS                  MO         90012797133
72912242257157   JOSE            BLANCO                 VA         90008732422
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72913391181651   NICOLE       SNELL                     MO         29059853911
72913616481633   CHESTER      GASKIN                    MO         90011786164
72913843684322   ARMANDO      GUTIERREZ                 SC         90013518436
72914233241237   ARIEL        GREENE                    PA         51064702332
72914318193739   WILLIAM      BRUNDON                   OH         90007223181
72914375461984   AARON        SAIZAN                    CA         90008753754
72915659355969   JOSH         TAYLOR                    CA         90010996593
72915698884322   JOHN         TAYLOR                    SC         90000996988
72916186757157   LAMANTHIA    ROBERTS                   VA         90014901867
72916692671921   JENNIFER     STICKLER                  CO         90011996926
72918211872441   CHRIS        GALLAGHER                 PA         90005232118
72918738372479   PAUL         GALLA                     PA         90014937383
72918763833699   LACQUEENNA   CASTON                    NC         90011297638
72919286631433   SARAH        LEWIS                     MO         90011732866
72919626541227   DAVID        HICKMAN JR                PA         51033526265
72919919984322   ELMER        LOPEZ                     SC         90007839199
72921238981633   LANDAN       MEIXUEIRO                 MO         29070372389
72922152255939   MITZAIL      ARCIGA                    CA         48057161522
72923965655939   ALEJANDRO    MENDOZA                   CA         48070519656
72924226533698   MARK         HENDERSON                 NC         90008492265
72924972157157   DINORA       REYES                     VA         90014479721
72925261272479   LEONA        DEUELL                    PA         90011112612
72925669255966   VERO         BURGOS                    CA         90012956692
72925789772479   JESSICA      BURRIS                    PA         51098477897
72926772272421   DIANE        WHEELUS                   PA         51034057722
72926839955966   SALINA       SANCHEZ                   CA         90011718399
72931335972421   ANGELINA     OJEDA                     PA         90010883359
72932496872421   RAYMOND      POWELL                    PA         51035574968
72933531941237   CHRISTINE    JOHNSON                   PA         51017075319
72933794684322   JULIE        PITTS                     SC         90012487946
72934412331433   AIMEE        MARSH                     MO         90012394123
72935319833699   METOYER      CLAYTON                   NC         90014883198
72935591784322   PATRICIA     PELAEZ                    SC         90010965917
72936672855966   YVETTE       HERNANDEZ                 CA         90012956728
72937779341227   ILENE        HELMS                     PA         90007977793
72938842433699   JAMAL        BLAKNEY                   NC         90014918424
72939323171921   RACHEAL      BLUNCK                    CO         90013773231
72941383841237   ROBERT       SLAINSKY                  PA         90013543838
72941516633699   KIM          HAYES                     NC         12072995166
72941717657157   CARLOS       NUNEZ                     VA         81065817176
72942999733699   MARK         BRADY                     NC         90008849997
72943123757157   PAOLA        FERNANDEZ                 VA         90014911237
72943219371921   URSULA       MCPHAIL                   CO         32062212193
72943959692881   CHRISTIAN    CASTRO                    AZ         90014579596
72944383831433   HARVEY       MASSEY                    MO         90014583838
72944886733698   LATOYA       GREEN                     NC         90015158867
72945391457157   JOSE         ZAUALA                    VA         81019673914
72946362377552   CHARLES      SOUTH                     NV         90001543623
72946628141237   MAVIS        THOSTON                   PA         90015186281
72947383531432   BRANDON      RUCKER                    MO         90010963835
72947599757157   MILLIE       RODRIGUEZ                 VA         90013325997
72947614872441   DOMINIC      SAYSON                    PA         90014416148
72948879955969   BRENDA       RENTERIA                  CA         48087758799
72949499231432   JASMINE      LUCAS                     MO         90009264992
72951411591522   JIMMIE       JONES                     TX         90001094115
72951859833698   ROLAND L     COLE                      NC         90011468598
72954169631432   CHANTEA      HARRIS                    MO         90015171696
72954365991982   CYNTHIA      RICHARDSON                NC         90001553659
72955738141237   BONNIE       SPADARP                   PA         51011947381
72956321233699   SHAENICE     TEAL                      NC         90014663212
72957556372441   TICARA       BOARD                     PA         51088325563
72958771733698   ANITRA       PATRICK                   NC         90013147717
72959123757157   PAOLA        FERNANDEZ                 VA         90014911237
72961665472421   DIANE        SHOFF                     PA         51049386654
72961856257157   KIMBERLY     TAVARES                   VA         90015178562
72962686757157   JAMIEL       BROWN                     DC         81087526867
72962739541237   TERIKA       MEGGETT                   PA         90014647395
72963238957157   MANFREDIS    PORTILLO                  VA         90004772389
72963621755947   JAIME        DURAN                     CA         90006186217
72964375993739   HARRY        BAILEY                    OH         90011523759
72965262172479   MATTHEW      SCIORE                    PA         51086762621
72967567555939   RITA         BLANCO                    CA         90008175675
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72967678241253   WALTER       WRIGHT                    PA         51017536782
72971643831433   ALICHIA      ROWAN                     MO         90010716438
72971865493739   PAUL         MOUNTS                    OH         64558858654
72972123757157   PAOLA        FERNANDEZ                 VA         90014911237
72972541655966   RONDY        MARTIN                    CA         90005325416
72972936455969   SUSIE        RUSSELL                   CA         90002599364
72974124484322   IVON         MCPHERSEN                 SC         90014901244
72975717233447   JACKIE       FOSHE                     AL         90009617172
72976156491931   STAR         GANDY                     NC         90012541564
72976344441237   HEATHER      JUBIC                     PA         90007433444
72976661472441   ALDA         BOGOLEA                   PA         90015116614
72976772684322   ADA          PEREZ                     SC         90014697726
72978293655966   SHAYE        HISTO                     CA         90000812936
72978345257157   RIOSS        HERNANDEZZ                VA         90012433452
72978863255939   DANILLE      DELACERDA                 CA         90013438632
72979133333698   LARONDA      EURY                      NC         90013071333
72979312372421   LINDA        TOMPKO                    PA         51058713123
72979436831432   KIMBERLY     MULLEN                    MO         90010964368
72981242172479   SHANE        HARRISON                  PA         90013932421
72983767272441   THOMAS       BISHOP                    PA         51043437672
72983994341253   THERESA      FIELDS                    PA         51074529943
72984563655947   LEANDRO      GONZALEZ                  CA         90000595636
72985216541229   TAILYN       HOWARD                    PA         90011102165
72985231281633   PHILIP       MURDICK                   MO         90013642312
72985687191572   MAT          GUERRERO                  TX         90007796871
72985798584322   ORESSER      YOUNG                     SC         90012937985
72986116285945   ELPIDIO      GOMEZ                     KY         90011291162
72986436831432   KIMBERLY     MULLEN                    MO         90010964368
72986452893739   RICK         HALL                      OH         64589614528
72986533581633   NATASHA      MICHEALS                  MO         90012875335
72987123757157   PAOLA        FERNANDEZ                 VA         90014911237
72987125672421   RACHEL       HEASLEY                   PA         90009831256
72987163655969   GABBY        VILLA                     CA         90008941636
72987549993739   SAMANTHA     GILLIS                    OH         90012235499
72988544871921   JAMES        PARHAM                    CO         90014835448
72988955831443   SEAN         KELTING                   MO         90009879558
72989329557157   BRANDON      FITZGERALD                VA         90013643295
72989966781633   STACY        BLUNT                     KS         90012959667
72991279755966   ELI          DIAZ                      CA         90011722797
72991552855947   PAUL         MORALES                   CA         90000235528
72991868457157   JUAN         AGUILAR                   VA         90013218684
72992453993767   AIRIYELLE    COSBY                     OH         90009744539
72992888655947   RANDY        CIAVAGLIA                 CA         49080378886
72993165333699   TERTIA       MARSHALL                  NC         90014571653
72993522957157   YENIS        SALMERAN                  VA         90014955229
72994111281633   CASSANDRA    KELLER                    MO         29031241112
72995289357157   WENDY        DUENAS                    VA         90014182893
72995312355947   SALVADOR     VARGAS                    CA         49009113123
72995456455939   DANIEL       GUZMAN                    CA         48008274564
72995855857157   NIKITA       MCKENZIE                  VA         90013228558
72996583572441   DARLANN      STARR                     PA         90014585835
72997475355947   ANNISSA      FLORES                    CA         90001654753
72998244291982   AMANDA       EASTON                    NC         90011682442
72999234855969   GINA         GARCIA                    CA         48083352348
72999526857157   FROYLAN      PEREZ                     VA         81095535268
73111827233698   AMETTE       HARRIS                    NC         12084708272
73112299571947   DARREN       BURNETT                   CO         90012442995
73113953271947   LATISHA      JONES                     CO         32015709532
73113956441253   CARRIE       JACKSON                   PA         90014429564
73114925241227   MIKE         JAMES                     PA         90014359252
73115423531432   MARSHON      ASHLEY                    MO         90012874235
73115766571921   YANILYN      VARELA DE DIOS            CO         90006297665
73115867831433   LOLA         LUTZ                      MO         90008408678
73116489931433   SEMAJ        PORTER                    MO         90013584899
73118645771947   RACHEL       SCHOENBERNER              CO         90008926457
73121846671921   ALEXIS       JOHNSON                   CO         90013008466
73122774741253   JASON        COLEMAN                   PA         90013957747
73123545655973   VANESSA      LUPIO                     CA         90008425456
73123957333698   HUINH        RAMAH                     NC         90000839573
73125538472478   DIANE        REPKA                     PA         90006815384
73125544772421   KEVIN        GENARD                    PA         51012725447
73126953831443   DAVE         CHAPMAN                   MO         27520759538
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73127254855947   MARIA           LEDESMA                CA         90002412548
73127413955974   KRISTY          BANKS                  CA         90013874139
73127576585945   KATHY           LOCKHART               KY         67049965765
73128336793739   SANDRA          BRANDT                 OH         90013523367
73128769372421   KEITH           CONNELLY               PA         90014437693
73129514755947   DORA PATRICIA   AGUILAR                CA         90008425147
73131385733699   RON             DAVIS                  NC         90012973857
73132267533699   LATAYA          GLENN                  NC         90007262675
73134342541253   DARLENE         DOMER                  PA         51090233425
73137699272441   CHARLENE        SIMMONS                PA         51061656992
73138352571947   VALERI          SPENCER                CO         90013723525
73138358533699   DETICIA         RUCKER                 NC         90011133585
73139517531433   KIMBERLY        EDWARDS                MO         90014085175
73141421972479   JEFF            MILLER                 PA         90000214219
73142489871921   DOLLY           LANDIN                 CO         32087924898
73143348531433   DANIELLE        POWELL                 MO         90014703485
73146428955939   SUSANA          GARCILAZO              CA         90015194289
73147279457157   HENRY           LEONARD                VA         90003232794
73147573671947   ANNETTE         GAITHER                CO         90006445736
73148624691549   LUIS            VALLES                 TX         90012176246
73148687671947   STEFANIE        WATKINS                CO         90014056876
73149172433699   MARIO           MADRID                 NC         12085091724
73149623791933   SHAQUANA        HARRISON               NC         90007796237
73149644633698   HATTIE          HAMMOND                NC         90011376446
73152131772441   CHRIS           ZEDAK                  PA         51038281317
73152172633699   MIGUEL          CASTILLEJOS            NC         12037381726
73157435455966   VERONICA        MUNOZ                  CA         48012864354
73158153471947   NORA            HERNANDEZ              CO         90008251534
73158179541253   FRANCES         FISHER                 PA         51018041795
73158281284322   ROQUE           HERNANDEZ              SC         90014112812
73158787455966   JAIME           RAMIREZ                CA         90014427874
73158889941237   JAMES           STEEB                  PA         51022838899
73159357355966   DAWN M          TWING                  CA         90012253573
73161228155947   GUILLERMO       ALVARADO               CA         49014062281
73161638671947   MARICA          NOVAK                  CO         90005986386
73163145555966   CHERRI          CARMON                 CA         48089711455
73163241351378   LATISHA         TUCKER                 OH         66007282413
73163382641253   RICHARD         BUTLER                 PA         90012143826
73163665571921   ROSARIO         RUIZ                   CO         90014276655
73164227941237   GEORGE          DIAZ                   PA         90001112279
73164321855989   MARIA           MARQUEZ                CA         90008243218
73164532557474   PAYGO           IVR ACTIVATION         IN         90007195325
73164615471947   GAR             MOORE                  CO         90002806154
73164669855947   ANTHONY         CHAVEZ                 CA         49048656698
73164733384322   RAY             GAYOSSO                SC         90012657333
73164817293739   CARLOS          BARAJAS                OH         90015088172
73165269772441   SCOTT           REYNOLDS               PA         51064782697
73167381871947   MARIA           NEGRETE                CO         90011463818
73168489691572   MONICA          HERNANDEZ              TX         75047074896
73168839455966   JOSHUA          RODRIGUEZ              CA         90014428394
73168982655939   CESAR           CORONA                 CA         90013779826
73171114733699   BRIANA          HOLLINGSWORTH          NC         90012451147
73172787155939   JUANA           FERNANDEZ              CA         90011317871
73172844933699   VELICIA         GADDY                  NC         12033788449
73172887871947   DUSTIN          FADDIS                 CO         32012998878
73174113841253   CHARLES         DENNISON               PA         90004221138
73175279555966   GLENDA          UVEGA                  CA         90012772795
73175498561985   SCOTT           ANTHONY                CA         46089974985
73177537433699   FELICIA         JOHNSON                NC         90005815374
73178674255947   RAMON           RAMIRES                CA         49096366742
73178763541237   APRIL           BROWN                  PA         51054087635
73181373231432   TAMMISHA        SPRATT                 MO         90011953732
73181385655966   LORENA          MADRIGAL               CA         90005803856
73181635355939   JOSE            DOMINGUEZ              CA         48009066353
73182763871947   TAMU            TUCKER                 CO         90004017638
73184575972421   SAMUEL          HERNANDEZ              PA         90012705759
73185174731432   CHRISTOPHER     THOMPSON               MO         90009971747
73187262584322   BRAYAN          VASQUEZ                SC         90007592625
73187445893739   CHARLES         COMBS                  OH         64534164458
73188682241237   CHRISTOPHE      BROWN                  PA         51053546822
73191515872441   ZELIZABETH      NEWMAN                 PA         90001255158
73191943455947   ANDRE           SMILEY                 CA         49079969434
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73192339393767   MARCUS       MITCHEL                   OH         90011773393
73192757593739   JANDI        BIRT                      OH         64511187575
73193261755973   STEPHANIE    GARCIA                    CA         90009652617
73193423533699   JANET        ROBINSON                  NC         12013014235
73194687641227   HASSAUNDRA   BURTON                    PA         90014506876
73194715531432   JUSTICE      ENTERPRISE                MO         27510877155
73195433731443   LAKITA       TAYLOR                    MO         90012954337
73195536555939   MARIA        FLORES                    CA         90015495365
73196914133699   ELIE         CANDELA                   NC         12095759141
73197284871947   ZACH         POSIK                     CO         32007492848
73197319131432   ERIKEYA      MOORE                     MO         90012373191
73197574772479   JOSE         PEREZ                     PA         90014585747
73197976193739   HOLLY        WEBB                      OH         64562189761
73199588971947   VICTOR       GARCIA                    CO         90012255889
73213341971921   DANNY        WILSON                    CO         90011223419
73213973993739   JAMES        MOORE                     OH         64537779739
73214446331433   BARBARA      HERRERA                   MO         90015344463
73214495572441   BOBBIE JO    YOST                      PA         90005914955
73215331533699   CANDICE      LEMON                     NC         90011323315
73215351471921   DANIEL       COUILLARD                 CO         90013053514
73215895581255   LUIS ANGEL   CASTRO                    KY         90014448955
73216397241253   GINO         SANTONI                   PA         90013843972
73217349841237   WENDI        GARZA                     PA         90012783498
73218633355939   GERWARD      MONTOYA                   CA         90006756333
73221349884322   TYQUAN       BRAYBOY                   SC         90014883498
73222378541237   JOHN         KNOX                      PA         90014813785
73222556833699   JOSE         GONZALEZ                  NC         90012355568
73224451941227   NGOZIE       OBIAKU                    PA         90011844519
73225619671947   MARIA        ABSHIRE                   CO         90010016196
73227959193739   MICHAEL      WOODRICK                  OH         64575199591
73228169941253   BABBIE       CASH                      OH         90004871699
73228339655947   VERONICA     CAYETANO                  CA         49046353396
73228487655939   ELIA         PEREZ                     CA         90012424876
73229114993739   JIM          SLACK                     OH         90010381149
73231199233699   SHIRLEY      BRANTLEY                  NC         90013771992
73231341984322   JULIO        DIAZ                      SC         90013383419
73231489941237   MARY         HARPSTER                  PA         51088444899
73233971672441   MATT         LOMBARDO                  PA         90011319716
73234281341253   LAMAND       TAVIS                     PA         90009212813
73235811955947   SHARRON      ROWLAND                   CA         90013608119
73236172455966   MARY         QUINTERO                  CA         90011721724
73239235184322   KEWAN        EADY                      SC         90007872351
73241834471947   JOSHUA       LEMUEL                    CO         90012848344
73242271941253   CHANESSA     SCHULER                   PA         90013012719
73242273555928   JENNIFER     KRAMER                    CA         90010482735
73245579672479   MICHAEL      BERDAR                    PA         90014545796
73247352871947   BERLIN       MARTINEZ                  CO         32048873528
73247468331433   MICHAEL      HEMBROUGH                 MO         27510024683
73247876757157   JOSE         COREA                     VA         90003268767
73249436581255   BRITTANY     WARREN                    KY         90012074365
73249756272479   KIMBERLEE    TELEGRAPHIS               PA         90002757562
73251347772421   BRIAN        JOHNSON                   PA         90003623477
73251736171921   MAYELA       SANCHEZ                   CO         32061197361
73252169633699   SAUL         ROMERO MAYO               NC         90012461696
73252476771947   NANCY        WORTKOETTER               CO         32066484767
73253987384322   JOSE         CERON                     SC         90013229873
73254855972479   CLIFFORD     SMUTNEY                   PA         51089238559
73255893455947   LEAH         CORREO                    CA         90011228934
73256349761935   LISA         DENNISON                  CA         90013953497
73256733471947   FRANSISCO    CERVIN                    CO         90012787334
73259988572479   DARLA        HALL                      PA         51040289885
73261395171921   JASON        SPINAS                    CO         90005943951
73262273555947   JANET        HERNANDEZ                 CA         90015202735
73263187172421   MICHAEL      MORGAN                    PA         51039951871
73263344531432   DANIEL       PHELAN                    MO         90015023445
73263839193739   CASSANDRA    PRESSLEY                  OH         90014088391
73263924972441   SHERRY       JONES                     PA         90012039249
73268436757157   MAXWELL      VELLELIZ                  VA         90002074367
73268632955939   MIGUEL       MORENO                    CA         90012446329
73268736171921   MAYELA       SANCHEZ                   CO         32061197361
73269524672479   BRITTNEY     HARMON                    PA         51038535246
73269988941237   KRYSTAL      RIES                      PA         51093379889
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73271654833698   JASON        BROWN                     NC         90013276548
73271687384322   EYMI         MARTINEZ                  SC         90012726873
73271858855947   JOSE LUIS    ESQUIVEL SEGUNDO          CA         90011358588
73272841272421   JOANN        RHOME                     PA         51058798412
73273397341253   MONFQUE      PAYNE                     PA         90013843973
73273722371921   ROBERT       RODRIGUEZ                 CO         90010257223
73273765155966   OLGA         MARTINEZ                  CA         48066697651
73274643431432   KIMBERLY     KOPF                      MO         27525746434
73275745471947   ROCIO        MENDOZA                   CO         32000077454
73276493971921   TERRY        RAY                       CO         32086954939
73276961944346   JOSEPH       ANTHONY                   MD         90015429619
73277134531433   TIMMONS      CLARK                     MO         90004451345
73279472572441   DONELL       BOOTH                     PA         51010094725
73281513861951   CASSANDRA    CAVETTE                   CA         90011125138
73281578172479   RACHELL      NUTT                      PA         90009555781
73281987957157   BRENT        CRANT                     VA         81091279879
73285264257147   TONY         RANDLE                    VA         90005992642
73286239433658   KYM          PERRY                     NC         90006662394
73286868172421   SONJA        ECKELBERRY                PA         51093768681
73288516131433   PENNY        SIMPSON                   MO         27557735161
73288556271947   LASHUANTE    HALL                      CO         90007975562
73288564655947   TONY         SIMPSON                   CA         49032655646
73288668155991   ELIZABETH    HERNANDEZ                 CA         90009286681
73288841671921   OSCAR        ESTRADA                   CO         32085808416
73289142784322   JARIEL       VELAZQUEZ                 SC         90013651427
73291173972441   JOSEPHINE    GALVAN                    PA         51079541739
73292241591885   KATERRA      MEACHEM                   OK         90011132415
73295651331433   JERECE       DAVIS                     MO         90014596513
73297483284322   HECTOR       PENA                      SC         90012714832
73299945633658   JUNGHO       KANG                      NC         90005169456
73312677572441   CHRIS        GLASS                     PA         90000606775
73314877541253   JERROD       BROWN                     PA         51019778775
73315416141227   ANNETTE      LAMIA                     PA         51087684161
73315475372421   LORRAINE     STEBAN                    PA         51047314753
73316946141237   MIA          GIUNTA                    PA         90015139461
73317572641253   RAYLANE      MITCHELL                  PA         90014975726
73317636841227   STACEY       DAVIS                     PA         90000876368
73318717484322   MOISES       APARICIO                  SC         14513537174
73318899731432   JAMES        JONES                     MO         90015088997
73319335184322   JESSICA      RUSHING                   SC         90014883351
73321421731433   JAMIKA       HUNTER                    MO         90014704217
73324162931432   LYNNSY       LENARD                    MO         90013781629
73324946133699   TIFFANY      TURBEVILLE                NC         90015109461
73327397157127   VIBOL        HUYNH                     VA         81085093971
73331194191549   TONY         GARCIA                    TX         90011661941
73331324833698   MIRACLE      SCHOFIELD                 NC         90014153248
73331888393739   JASON        KELLEY                    OH         90015268883
73332692971921   MIGUEL       GARCIA                    CO         90004536929
73333156472479   WILLIAM      LEACH                     PA         51084011564
73333317761956   ISRAEL       POLO                      CA         90009983177
73335519831432   JANELLE      WARNER                    MO         90011055198
73336467171921   KUHN         MICHELLE                  CO         32015064671
73337284331433   JORDAN       THOMAS                    MO         90014142843
73339668371947   MICHAEL      GARCIA                    CO         90012996683
73342272884322   VICTOR       VILLITORO                 SC         14505822728
73343511771921   JEREMY       EGGLESTON                 CO         90007225117
73343624755939   BREANNA      CERVANTES                 CA         90014036247
73344431741237   ANWAR        HASAN                     PA         90008384317
73345612731432   KIMBERLY     ALEXANDER                 MO         90001396127
73346314672479   ADAM         KRISE                     PA         51051423146
73347478872441   RICHARD      KASPER                    PA         51071614788
73348572372441   DAVID        BREWER                    PA         90001055723
73349514455941   TOMASITA     RODRIGUEZ                 CA         90006395144
73349717861986   DONALD       LEWIS                     CA         90013417178
73351596731443   CHANDRA      HAWKINS                   MO         27568555967
73352552293739   SCOTT        NEELD                     OH         64571285522
73354837341253   OMOBOLA      OLUWATUYI                 PA         51017438373
73355272333698   CRYSTAL      ALLEN                     NC         90014152723
73355721184322   BLANCA       HERNANDEZ                 SC         90008307211
73356689941253   DAVID        BROWN                     PA         51063136899
73357356257157   FRANCISCO    ADAN                      VA         81071983562
73357774172479   SHELLY       DEROSA                    PA         51060587741
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73358343831433   NATHANIEL      SMITH                   MO         90002383438
73362856955939   MARIA          PEREZ                   CA         90014498569
73363257572421   KATINA         STEWART                 PA         51006142575
73364328141237   CHRIS          FORNEY                  PA         51003553281
73364982357531   CLARA          CISNEROS                NM         90011629823
73365524571921   LUCIO          VELAZQUEZ               CO         90014825245
73365956555939   BLANCA         ROMO                    CA         90009259565
73366232685945   ALEXANDER      WATKINS                 KY         90001832326
73366743655939   MANUEL         SILVA                   CA         90012017436
73367142433699   ANNASTASHIA    LEE                     NC         90014051424
73368595571947   LOGAN          ASBURY                  CO         90014555955
73369868355939   JORGE LUIS     MARTINEZ                CA         90015378683
73371854851278   ZARIA          LOPEZ                   NE         90014748548
73371883971947   RENE           BUSTILLOS               CO         32011938839
73371959531432   ALISHA         TAYLOR                  MO         27597179595
73373127231432   ANNA           MORUZZI                 MO         90012601272
73373189955947   MARIO          MARAVILLA               CA         90012961899
73373238581255   WALTER         LOPEZ                   KY         90007102385
73373778733699   DESIREE        RENDER                  NC         90013677787
73376249433699   MARAGRITA      MEDINA CASTRO           NC         90013932494
73377623484322   EMILY          HEATH                   SC         90001336234
73378546172479   SEAN           GANOE                   PA         90002195461
73378832984322   JOSUE          ACOSTA                  SC         90013498329
73378932555947   TERRANCE       HEBRON                  CA         90011229325
73379572771947   ROBERT         TANNER                  CO         90010185727
73382454384322   JANET          AZUARA                  SC         90014994543
73383181633698   JENKINS        DOMINIQUE               NC         90012331816
73384591372441   LEAH           STRINGERT               PA         90009485913
73387473657157   JOSEFA         CAMPOS                  VA         90001144736
73387843231432   SPECIAL        JACKSON                 MO         90011518432
73387955755939   ANGELA         ANIAG                   CA         90013759557
73388473657157   JOSEFA         CAMPOS                  VA         90001144736
73391714191225   CESAR          LASTRA                  GA         14517457141
73396742993739   DELOREAN       DORSEY                  OH         90009917429
73396977684322   ESTEBAN        RAMIREZ                 SC         90011979776
73397475531433   LAVONZE        STOMER                  MO         90015344755
73397877655939   FELICIANO      RODRIGUEZ               CA         90013728776
73398142255966   MARIA          PACHECO                 CA         48030781422
73398788471921   EDWARD         FRANK                   CO         32039307884
73411783755939   MARCIELA       JIMENEZ                 CA         48051787837
73411881693739   TRACY          FLETCHER                OH         64500808816
73412854293739   ALEX           BAUGHN                  OH         90000988542
73413774393739   BEVERLY        ELY                     OH         90001487743
73414685471947   YONI           AGUILERA                CO         32060866854
73415677141253   ANTWAN         MOOREFIELD              PA         90012746771
73416579672479   MICHAEL        BERDAR                  PA         90014545796
73416763633699   SANDRA         MURILLO                 NC         90015287636
73417472484322   VALERIA        ALCAZAR                 SC         90013554724
73417753133698   THOMAS         BRANDT                  NC         90014147531
73418274741227   KYM            SMITH                   PA         51068432747
73422454155966   NATHANIAL      ISAACSON                CA         90012954541
73424936441237   LINDA          HARSHBARGER             PA         90003729364
73427564384322   FRANSISCO      REYNOSO                 SC         90009685643
73429721355947   SHARON         MCKINLEY                CA         49070097213
73433552857147   CAROLINA       MORALES                 VA         90007225528
73436149755947   CRISTAL        LIRA                    CA         49082571497
73438517971947   SIR CHEARLES   WATTERS                 CO         90014845179
73438982231433   FORREST        JOHNSON                 MO         90013709822
73442123984322   SITIERA        JENKINS                 SC         90010291239
73442659533698   NAOMI          HILL                    NC         90009086595
73444451755939   GERARDO        VASQUEZ                 CA         48077564517
73444652871921   DENNIS         NOESKE                  CO         90015106528
73444831372479   KIMBERLY       FARKAS                  PA         51030418313
73444834857147   ALEXANDER      SANDOVAL                VA         90007228348
73445473171947   MARIAH         COULTRIP                CO         90015184731
73446445372479   DEANNA         BROWN                   PA         90007524453
73446491755947   VERONICA       DELGADO                 CA         90001204917
73447454455947   VICTORIA       HOMAN                   CA         90009144544
73447615771947   JOHN           MAGOUIRK                CO         90012386157
73448211372441   MELISSA        WOLF                    PA         90010772113
73448848633698   DEYAN          DAVIS                   NC         90013838486
73452197731433   ADA            SAMUEL                  MO         90011031977
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73453621593739   DARYL        ROBINSON                  OH         90013936215
73454115141253   DEBBIE       MITCHELL                  PA         51005841151
73455175484322   NELLY        HAMMET                    SC         90011701754
73461673793739   CYNTHIA      COLLINS                   OH         90013766737
73464475355939   MIKE         LOPEZ                     CA         90014654753
73465725972441   JOHN         LASKY                     PA         51092807259
73465779133698   YEON HWA     JUN                       NC         12049037791
73466922855947   MARISA       MONK                      CA         90012799228
73467329857157   MARWIN       MEDRANO                   VA         81077013298
73467688431443   KEVIN        MCGLYNN                   MO         27587006884
73468813231433   MATE         ZUBCIC                    MO         90008498132
73471697393739   MELISSA      DAVIS                     OH         90011066973
73471763171921   ERICA        TAFOYA                    CO         32087447631
73473154533698   KERTONIO     FISHER                    NC         90009451545
73474161333698   CHAYANE      MCKINNEY                  NC         90012551613
73474661855947   ELSA         ROJA                      CA         90011986618
73475879372479   DENISE       BRISTOL                   PA         51001418793
73476889193739   JEFFEREY     NICELY                    OH         90009008891
73476935672441   KAREN        CARR                      PA         90011529356
73477723255939   STEVEN       VERA                      CA         90015527232
73481312672441   ROBERT       MALACKANICH               PA         51059473126
73482684655939   ERIK         GUZMAN                    CA         90010046846
73482835172441   JEFF         LININGER                  PA         51008498351
73483333591863   HOLLY        FAIRCHILD                 OK         21045773335
73483334171947   TINA         MARIA                     CO         32033253341
73483856755939   TERESA       SANDOVAL                  CA         48010138567
73484225284322   JUAN         GOMEZ                     SC         90013662252
73484259655991   JESSE        JIMENEZ                   CA         90014732596
73486933341253   SUSAN        PODZON                    PA         51096729333
73487237541227   YVETTE       HARRIS                    PA         51050092375
73487265141237   CHRISTINA    VIVOLA                    PA         51070962651
73487417936168   KATHLEEN     MOORE                     TX         90013154179
73488645155947   KACIE        BAIS                      CA         90010216451
73489289584322   BENNIE       MITCHELL                  SC         90011222895
73489776791969   MARIA        REYNA                     NC         90010807767
73489791671921   JEANNETTE    VALDEZ                    CO         90014437916
73489939755966   MARIA        GUERRA                    CA         48067019397
73491849831433   DARRYN       BROWN                     MO         90014908498
73492366371921   SHAUN        GILL                      CO         90013963663
73495117855939   FRANCISCO    MARTINEZ                  CA         48005481178
73495141855966   ROSALIE      SEARS                     CA         90012891418
73495293272441   ROBERT P     PROPST                    PA         51005462932
73495455171947   ALEXANDER    CORRALES                  CO         90002584551
73496425655947   YOLANDA      RAMOS                     CA         90011254256
73498496472441   JAMES        CONNER III                PA         51097964964
73498665355947   MICHELLE     TEJEDA                    CA         49071226653
73511939433698   CYNTHIA      CLARK                     NC         90007919394
73512219755939   REYNA        HERNANDEZ                 CA         90008522197
73512567741253   KIMBERLY     WILSON                    PA         90012425677
73512776372479   JILL         FULTON                    PA         51072597763
73512861971921   NINA         ADAME                     CO         90013028619
73513528272479   DOROTHY      LENZI                     PA         90013675282
73515275255966   MALINDA      FRANKLIN                  CA         90014562752
73515354172479   COURTNEY     RISHUR                    PA         90015603541
73516341351378   KARRIE       PAYNE                     OH         90014813413
73516913355966   RUBEN        MUNOZ                     CA         90011779133
73521291831432   GRACIA       DE REYES                  MO         90007942918
73522182155939   MARIA        RAMIREZ                   CA         90010751821
73522918333624   CRYSTAL      ALSTON                    NC         90011449183
73523325655939   ALMA         DUENAS                    CA         90011453256
73523418871947   SHANNA       MANN                      CO         90009384188
73523882355966   DIANA        GARCIA                    CA         90014588823
73524582133699   SAMUEL       LITTLE                    NC         90014525821
73526298171947   ANAIRIS      SANTOS                    CO         32074612981
73528175194925   ROSA         MEDINA                    CA         90014951751
73528676855939   MONSERRAT    MEZA                      CA         90001786768
73529453572421   MATT         SOISSON                   PA         90013484535
73531159184322   ERIKA        AGUILAR                   SC         90013681591
73531587772479   MELINDA      HEINLEN                   PA         51055825877
73532337641237   KAYLA        MCCASKEY                  PA         90015133376
73533681771921   REBECCA      MORGAN                    CO         90003746817
73533837331433   TERRILL      GIVENS                    MO         90011958373
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73535189833699   MBOLUWO      MATTEWS                   NC         90009261898
73535696531433   STEPHANIE    CRAIG                     MO         90014556965
73536179684322   ELEAZAR      JERVASIO                  SC         90010291796
73536257955947   DELPHIA      ROBINSON                  CA         49000322579
73537235255936   ALLEN        DOWNS                     CA         49082332352
73538414993739   VERONICA     MELTON                    OH         90014694149
73539635855966   JOE L.       TORRES                    CA         90012966358
73541697241237   THOMASINA    GILBERT                   PA         51080976972
73542867577397   CANDYCE      HINES                     IL         20536658675
73543285433699   RASHEKA      TERRY                     NC         90004052854
73543416472421   JASON        MCBRIDE                   PA         90010194164
73544784855939   LINDA        RODEROS                   CA         90010837848
73545247655939   CARLA        TRINIDAD                  CA         48096852476
73546731472441   HEATHER      BRANDON                   PA         90010707314
73547195781255   DANIELLE     PHILLIPS                  KY         90008171957
73547639471947   ISAIAH       WALTERS                   CO         90013696394
73547639941237   BRITTANY     SWARTZWELDER              PA         51089886399
73548998155939   VANESSA      RODRIGUEZ                 CA         48005169981
73549622655939   ALMA         ARTEAGA                   CA         48083056226
73549679731433   KAREN        BARBET                    MO         27566576797
73549947784322   DUSTIN       PAYNE                     SC         14517839477
73551591172479   KEVIN        ROSSINI                   PA         51036655911
73553495333699   KCMARIE      MESSER                    NC         12060414953
73554148133698   DOUGLAS      JOHNSON                   NC         90013241481
73555432755939   DIVA         LAREZ                     CA         48081904327
73556357555939   OSCAR        SANCHEZ                   CA         90013623575
73556534671947   CHARLES      ADANS                     CO         90009805346
73556539384322   EVAN         SANCHEZ                   SC         90011185393
73558399391982   MONICA       CHEEK                     NC         90010743993
73558889672421   TOM          DEMATTY                   PA         90004908896
73558915431433   LAUREN       RABBITT                   MO         90008469154
73559341371947   GILBERTO     MARTIN CUMES              CO         90006163413
73561389755947   LINA         SANDOVAL                  CA         49051793897
73562559161971   MARIA        AGUISSE                   CA         46056295591
73564242233625   PAUL         FOLEY                     NC         90008492422
73564318655966   MICHAEL      MAXWELL                   CA         90008473186
73564685641237   SHAWN        BARNETT JR                PA         90002086856
73565579691563   ALFREDO      RUBIO                     TX         90004835796
73566257761971   CHRISTIAN    CARMONA                   CA         90012402577
73566688255939   JORGE        VERDUZCO                  CA         90009946882
73567318141237   EMILY        SMITH                     PA         51039493181
73567833333699   QWAMAINE     LAFORD                    NC         90010068333
73568561333698   TRISHA       SMITH                     NC         90012335613
73569349684322   ABDEL        MARTINEZ                  SC         90014103496
73569544955966   NORA         GONZALEZ                  CA         48096815449
73569577872421   EDITH        BAINBRIDGE                PA         51035685778
73571516633699   KIM          HAYES                     NC         12072995166
73572165971947   JAVIER       GONSALEZ                  CO         32054841659
73572542771921   JOHNATHAN    GARCIA                    CO         90012665427
73574133741253   GINA         BARBER-CASTELVETER        PA         51020071337
73574314133699   SULI         GARCIA                    NC         12010273141
73575469872421   CHRIS        ROBERTS                   PA         51001134698
73576759271921   RAYMOND      GRIEGO                    CO         90014097592
73577281455966   JOE          RODRIGUEZ                 CA         90010592814
73578392871947   MOSES        GILDER                    CO         90009043928
73581485593739   WAYNE        KINGSOLVER                OH         64520284855
73583188655966   GERALD       URIBE                     CA         90014491886
73583243333699   LAWANDA      LYLES                     NC         90015132433
73583522455947   CANDY        DELFIN                    CA         90013055224
73583784455939   RAMON        LONGORIA                  CA         90014947844
73585254331432   BRITANY      HILL                      MO         90014332543
73585412691572   CESAR        CARREON                   TX         90012504126
73585787955939   REYNALDO     GONZALEZ                  CA         48032037879
73586149472441   JODIE        BYRD                      PA         51029251494
73586292761971   JACKLEYN     TRUJILLO                  CA         46000712927
73586584184322   ISRAEL       BALTIZAR                  SC         90007055841
73586726131432   KENNETH      GRIFFITH                  MO         90014237261
73587223531432   BRIAN        HARRIS                    MO         90012292235
73587413872421   JULIE        JOYNER                    PA         90002884138
73588367984322   ROAN         HARVEY                    SC         90007413679
73588776355928   BILL         JACKSON                   CA         90012877763
73588873531432   JAMES        BRENNER                   MO         90005078735
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73588887555928   BILL         JACKSON                   CA         90011348875
73593361772479   DENNIS       VACCARO                   PA         51000453617
73593861391566   MAYRA        VELAZCO                   TX         75054078613
73594636886436   JEREMY       LEWTER                    SC         90015046368
73594986433698   BILLIE       SCOTT                     NC         90014169864
73596254193739   ERIKA        CRAWFORD                  OH         90009962541
73596515333698   REGINALD     MONTGOMERY                NC         90014155153
73597334672441   JOHN         KUTTER                    PA         90013643346
73598237455966   BRADLEY      PRICE                     CA         90000992374
73599252357157   SANDRA       BERIOS                    VA         90012752523
73599448484322   VIVIAN       NICOLE                    SC         90014934484
73599465657124   JAMIE        HANSON                    VA         90004084656
73599935772479   STANLEY      CAIN                      PA         90000459357
73612277731433   PATRICIA     FOREMAN                   MO         90009372777
73612733355939   GILBERT      GONSALEZ                  CA         90007967333
73612733981637   JAMES        LOWRY                     MO         90008777339
73613687571947   LINDA        MONTOYA                   CO         90005836875
73613845284322   JOSELUIS     VELASQUEZ                 SC         90011658452
73614485433699   KEVIN        MCRAE                     NC         90012164854
73615995572441   JOHN         LEASHA                    PA         51083299955
73616282455939   ERICA        LOPEZ                     CA         90007012824
73616557855966   APRIL        LUSK                      CA         48098485578
73617396441227   JAMES        GERHART                   PA         90006233964
73618481233698   BRIAN        MCNEILL                   NC         12013894812
73618773155966   ANDREW       RODRIGUEZ                 CA         90002217731
73619481431443   LUTHER       WATKINS                   MO         90010644814
73623391655947   NANCY        REYES                     CA         49095283916
73623637633699   MARY         LEE                       NC         90010556376
73624796255939   ADELA        GONZALEZ                  CA         90007847962
73625358455939   ARMANDO      LOPEZ                     CA         90014753584
73626386155939   MONICA       RODRIGUEZ                 CA         90014563861
73626444741227   JULIE        CORCORAN                  PA         51001344447
73627862261891   KIMBERLY     JOHNSON                   MO         90013778622
73628952272441   JOSEPH       MAJEWSKI                  PA         90010839522
73631132372479   BELINDA      YAGER                     PA         90006701323
73631289531432   VIVIAN       JONES                     MO         27565462895
73632347831661   DAWN         YODER                     KS         22059433478
73632656571947   SEAN         ADAMS                     CO         90012176565
73632778831432   EBONIE       TURNER                    MO         90014527788
73633583471947   DORIS        GALLEGOS                  CO         90004225834
73633857933699   TEGBA        HUNTER                    NC         12004848579
73634656231433   PROSPER      MENGE                     MO         90015136562
73635241355966   VICTOR       GARCIA                    CA         90014492413
73635313641253   SURENU       FRANK                     PA         90004223136
73635356455947   BRYON        PELLEY                    CA         90009383564
73635514541253   JASON        MCCONNELL                 PA         90014185145
73636487131433   JOSEPH       POKORNY                   MO         27506284871
73636549933699   MIGUEL       NEGRETE                   NC         90012945499
73636635131432   AMANDA       THOMPSON                  MO         27565466351
73638755972479   DESIREE      ALLEN                     PA         51091297559
73638781685833   JEFFREY      WOLF                      CA         46057797816
73639541593739   KRISTA       DICKERSON                 OH         90012515415
73639563533698   ANDRE        BOWLES                    NC         90014345635
73641539571921   KIRK         FERGUSON                  CO         90014345395
73642398631432   TRINITY      THOMPSON                  MO         90011003986
73642981455947   SHERRY       LONG                      CA         90012399814
73647352891586   SALVADOR     VARELA                    TX         75074073528
73647583472441   THERESA      BOOHER                    PA         51009255834
73648757331432   NATHAN       SHORT                     MO         90015097573
73648995485945   SHAKIA       WILLIAMS                  KY         67017259954
73649644755939   JOSE         HERNANDEZ                 CA         90013936447
73649718233698   SHAREE       HENDRIX                   NC         90014157182
73651242433698   SHON         HUTTON                    NC         90012922424
73652656191979   ANN          DOW                       NC         90014716561
73653176355928   MICHAEL      BLATHERS                  CA         49084501763
73653335584322   ADOLFO       LOPEZ                     SC         90013943355
73653415393739   ROBERT       GARNER                    OH         90010964153
73653639755939   EDUARDO      ALVARADO                  CA         90010436397
73654215472479   PATRICK      STOCK                     PA         90015032154
73656235271947   FERNANDA     ESTRADA                   CO         32078492352
73657147655957   ELSA         GONZALEZ                  CA         49077351476
73658993633699   BARBARA      KLUTTZ                    NC         12001749936
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73659719272479   ERNEST       LEEZER                    PA         51034307192
73661122171921   HUGO         GONZALEZ                  CO         90013981221
73661279893739   WILLIAM      THOMAS                    OH         64594202798
73663447291521   CHRISTOPHE   BREAZEALE                 TX         90000484472
73663741171921   KOLONDUS     BROADNAX                  CO         90009657411
73664189941237   SHALA        TAYLOR                    PA         90011481899
73666224597123   HEATHER      RODRIQUEZ                 OR         90005442245
73666453484322   KIM          GOODMAN                   SC         90004584534
73668321541227   ANTHONY      FORD                      PA         51094083215
73668431584322   ABU          BARK                      SC         90014664315
73668754331432   SABRINA      MINNERS                   MO         90014887543
73669218272421   DENNIS       OHR                       PA         90012302182
73669532584322   CLEOTILDE    PEREZ                     SC         90013985325
73669641155966   DAISY        GALINDO                   CA         90008396411
73671463155947   MARIA        PIMENTEL                  CA         90013204631
73671644784322   NOELIA       LEIVA                     SC         90013986447
73672461231433   TAVACEAU     WAGNER                    MO         90003454612
73677593984322   TOSHA        MITCHELL                  SC         90013205939
73678736133698   KENDALL      CROMARTIE                 NC         90014157361
73679346871921   ALIZE        MACK                      CO         90015133468
73679784331432   TERRY        SILLS                     MO         90008007843
73681832655966   MARCEL       BARTON-SABO               CA         90014498326
73681971991572   SUSANA       FLORES                    TX         90001849719
73682636255947   CHIA         VANG                      CA         90011956362
73682917933699   JANEE        COCKERHAM                 NC         90015149179
73684216855939   ANGELICA     GARCIA                    CA         90009372168
73685129955966   ANA          BARRETO                   CA         90011591299
73688497871947   LEONA        MCFEE                     CO         90015084978
73688884651323   SONJA        PHILLIPS-ANDERSON         OH         66013238846
73689658447873   MICHAEL      PURCELL                   GA         90011726584
73689683171947   CHARLES      SUDDETH                   CO         90014906831
73691592672479   DANA         BLOCK                     PA         90011065926
73691758931433   DELNITA      LOWE                      MO         90015107589
73692254241229   ERIKA        SCHULTZ                   PA         90008922542
73692665541237   DAVE         MARTI                     PA         51028826655
73692716993739   KELLY        HUFFMAN                   OH         90006037169
73692866471947   DAISY        COPLEN                    CO         90012988664
73693191472441   TIANA        GIBSON                    PA         90007791914
73693211455939   ALMA         AYUNGUA                   CA         90010282114
73693434833698   SHAQUITA     STRICKLAND                NC         90005464348
73693734184322   SOFIA        CASTILLO                  SC         90013987341
73696157191572   REY          ALONSO                    TX         90012411571
73696273833699   DARLENE      WILLIAMS                  NC         90015132738
73697659355947   BREANNA      SENGPACHANH               CA         90012836593
73697945972479   BRENDA       WHEELER                   PA         90012189459
73697973484322   DANIEL       HERNANDEZ                 SC         90013989734
73698769671947   JACOB        SCHALLER                  CO         90007137696
73699212731433   CHRISTINA    RAMANU                    MO         90008912127
73699417671947   EMILY        ZELL                      CO         90014704176
73699537171921   JENNIFER     AMES                      CO         90011465371
73699768171921   CYNTHIA      ARAGON                    CO         90014817681
73699793333698   ROSEMARIE    PRESNELL                  NC         90014287933
73711134741237   BRIAN        SPLANE                    PA         51002841347
73711549757157   NOEL         RIVERA                    VA         90006825497
73712592731433   ELVIS        SMAJLS                    MO         90013835927
73713656655939   BRISA        MARKES                    CA         90007756566
73716684471921   MARYANN      GILMERE                   CO         90012836844
73719143293739   JOELLE       MOBLEY-EPPS               OH         90013791432
73723325484322   SHANTA       MATTIS                    SC         90002833254
73723376255966   JORGE        MAGANA                    CA         90005553762
73723594671947   NAKIA        JONES                     CO         90013115946
73724492331432   BRANDI       GREEN                     MO         90011004923
73724985731433   JACQUELINE   BAKER                     MO         27563299857
73725255593739   LISA         CARLISLE                  OH         90014622555
73725528955947   MARTIN       LOPEZ                     CA         49014375289
73725956857127   VERONICA     CRUZ                      VA         90001319568
73726362893739   ALVIN        JACKSON                   OH         64550173628
73726646991827   LUCIA        SUAREZ                    OK         90013616469
73727898333699   MARK         SMITH                     NC         90013948983
73731725772479   IAN          TOMASIAK                  PA         90002987257
73732867972479   RACHEL       FOSTER                    PA         51027128679
73733739331432   HELEN        PERSON                    MO         90015117393
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73735524672441   HELEN          MILLIGAN                PA         90013995246
73735836355966   TERRY          COX                     CA         90011798363
73736216755947   JOSE           TENIZA                  CA         90014092167
73736442133698   GRAEME         PRUE                    NC         90006334421
73736536855982   CELESTE        MONTEJANO               CA         90014325368
73737627971921   SAVANNAH       JOHNSON                 CO         32047796279
73737838831433   DENISE         VEHAUS                  MO         90014438388
73738192655947   DANIEL         BELTRAN                 CA         49010051926
73738555593739   DANIELLE       GRINSTEAD               OH         64597635555
73738686672441   DONALD         SESSIE III              PA         51091266866
73739217533698   RANDALL        DARROW                  NC         90012802175
73739279455966   YESENIA        ARREGANDO               CA         90007042794
73739399755939   HAYDEE         ALMAGUER                CA         90012713997
73741492955939   JOSE           MACA                    CA         90007994929
73742827684322   JULIE          BULGER                  SC         90011998276
73744158455947   ISIDRO LEAL    ORTEGA                  CA         90008071584
73746367672421   JENNIFER R     MAFFIT                  PA         51007113676
73746424693739   JOHN           BREWER                  OH         90015204246
73746598671947   CHARLES        IHEKWOABA               CO         32016935986
73746751155966   SUHEY          SANCHEZ                 CA         90014567511
73748556772479   MARY E         SHIPERS                 PA         90002485567
73748714357157   JONATHAN       ZUNIGA                  VA         81004747143
73749131655966   VINCENT        MARTINEZ                CA         90012891316
73749332272479   MANDY          RUSSO                   PA         90001893322
73751123571947   LUCY           MARTINEZ                CO         90013151235
73752796133699   EDSON          GARCIA                  NC         90009707961
73754495284322   EBONY          FRIPP                   SC         90014274952
73754713755947   STEVEN         GAYTAN                  CA         90001457137
73754767533699   KINA           ARBER                   NC         90005787675
73755934271947   JORGE          SAMANIEGO               CO         90010269342
73756175341253   HARI           RIJAL                   PA         90010351753
73757126272479   ERICA          ROWE                    PA         90005001262
73757348784322   MAXHAYANE      INSANTE                 SC         90002903487
73757468371947   NICHOLAS       STECK                   CO         90014854683
73759416772441   RYAN           WOLZ                    PA         90013924167
73759976971921   YADIRA         RICO                    CO         32061779769
73761345933698   MISA           CROSSON                 NC         90014023459
73764747555947   FERESA         FERNANDEZ               CA         90010157475
73765619185945   NIELEN         MARGALLO                KY         67013616191
73765683261984   VICENTE        CASTANEDA               CA         90009596832
73765986672441   GREG           MILLER                  PA         90010089866
73766552455947   JUANA ISABEL   GOMEZ                   CA         90011235524
73769242761971   YVONNE         MORENO                  CA         46092262427
73769737972479   GREG           ADAMS                   PA         90011127379
73771596533699   KEANA          CAPERS                  NC         90011505965
73772527384322   CESAR          GASPAR                  SC         90014275273
73773475855939   TERESA         MANZO                   CA         90000844758
73774525372421   MICHELLE       MILLER                  PA         51014845253
73774541155947   ARA            KELLY                   CA         90009955411
73774918555966   DAVID          MADURO                  CA         90014579185
73775634471921   DEBRA          WOODRUFF                CO         32060306344
73776111361978   GEORGE         BELTRAN                 CA         90000681113
73776262931468   JOSHUA         LAUER                   MO         90003842629
73776531771947   VICTORIA       HUNTER                  CO         32016975317
73777192133698   KEYANDA        ARMSTRONG               NC         90014161921
73777195872421   CONSTANCE      STEVENSON               PA         90012501958
73777415355947   ROBERT         RAMOS                   CA         49040574153
73777549671921   KIRK           FERGUSON                CO         90014345496
73778395171947   DANIEL         LOBATO                  CO         32005233951
73778582872479   DESTINY        JOHNSTON                PA         90009505828
73779248161972   SANDRA         FERNANDEZ               CA         90008072481
73779881531432   TIFANI         HOLIDAY                 MO         90014488815
73781127941237   HEIDI          LEYTRICK                PA         90010641279
73781447631433   JAMELA         LOVE                    MO         90010384476
73782729572479   STACEY         CAIN                    PA         90008177295
73783892641253   LINDSAY        HALL                    PA         90006168926
73784944841227   KARLETHA       BELL                    PA         51034019448
73785197333698   MELISA         HAMM                    NC         90014161973
73785795955939   CARLOS         CISNEROS                CA         90014987959
73786198231432   DAMORIA        IZEMAN                  MO         90014471982
73786639744346   RICKY          FOREMAN                 MD         90012846397
73787213393739   MARIE          JENKINS                 OH         90013892133
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73788452157128   LOUIS          GAVOR                   VA         81036284521
73788687331432   PATRICIA       DAVIS                   MO         90013786873
73789874572421   MARK           SCHAFER                 PA         51049148745
73792694141253   TRACIE         WRIGHT                  PA         51097196941
73794346355947   YOLANDA        AVINA                   CA         90001563463
73794797655939   JOSHUA         HUERTA                  CA         90012917976
73794968341237   DENISE         BUDZINSKI               PA         90007119683
73795193155939   DOMINGO        COSTILLA                CA         90009321931
73795834671921   CHELSIE        GILLHAM                 CO         90002188346
73796488491548   JOSE           ZEPEDA                  TX         75045484884
73796969155966   BENJAMIN       ALCALA                  CA         90014579691
73796979671921   JAMES          PUGH                    CO         90013999796
73797769833699   EVIE           MCAFEE                  NC         90012637698
73798571871921   FRANCISO       CHAVEZ                  CO         90014345718
73798822493739   KELSIE         BRYANT                  OH         90014538224
73799539672421   JOHN           DONALDSON               PA         90010645396
73811542871921   MICHELLE       NEMEC                   CO         90005235428
73811856771947   MILDRED        CRUZ                    CO         32032968567
73812975131433   DIANE          HARDEN                  MO         27515789751
73813232472479   LETTIE         AXTON                   PA         90009582324
73813719731432   FATIMA         FLEMINA                 MO         90014437197
73814159241253   MARIA          ESTRADA                 PA         90011611592
73814747541227   SHERY          THOMAS                  PA         90002487475
73814926961986   MARISOL        BUENO                   CA         90012859269
73815318833699   ANDREA         HERNANDEZ               NC         90013983188
73815874155939   GABRIEL        VASQUEZ                 CA         48060178741
73815922984322   SCHERRIE       BRYAN                   SC         90014639229
73816998184322   MARTIN         CRUZ                    SC         90008759981
73817533472479   BENJAMIN       LIGHTOWLER              PA         51080635334
73818964872479   SHERMAN        ALDERICH                PA         90013949648
73822298671921   RANDY          PRUIETT                 CO         90011122986
73823145755939   MARGARITA      ORTIZ                   CA         48041751457
73823376941237   JO SIA         DAVIS                   PA         51039513769
73823485193739   TIFFANY        WARD                    OH         64551054851
73823929271947   PATRICK        TAYLOR                  CO         90014759292
73824318142382   SHANNON        PUTMAN                  GA         90009263181
73824656161964   DONNA          HERNANDEZ               CA         90010116561
73824679131433   STEPHANIE      GIPSON                  MO         90011416791
73826634372421   LYNDSEY        BEATTY                  PA         90000616343
73828933231432   AMANDA         LANTRIP                 MO         90012299332
73829499733698   LAQUITA        RAGIN                   NC         90005004997
73831447671921   BARBARA        PALMER                  CO         90012994476
73831691941227   DOMINIQUE      MILLSAPP                PA         90002506919
73832239772479   LAKISHA        DIGGS                   PA         90009592397
73833568731433   KIRK           BLAKES                  MO         90013465687
73834631851347   BRENTON        ZUCH                    OH         90008606318
73835537171947   TYNA           DAVIS                   CO         90010035371
73836194891979   ERICA BAINES   BAINES                  NC         90013011948
73836589733698   KRISTY         MCGEE                   NC         12094065897
73838319871947   JEANET         RICHARDSON              CO         90014753198
73839614831432   BRYAN          MCCLELLAND              MO         90011206148
73842682955966   JESUS          PACHECO                 CA         90005736829
73843471371921   RICARDO        CORTEZ                  CO         90011864713
73843733272479   SARAFINA       PACE                    PA         90006767332
73843742831433   DREW           TAYLOR                  MO         90011037428
73844747155939   LEO            TREVINO                 CA         48025337471
73845252231433   MICHAEL        LANG                    MO         90010302522
73845613571947   ISELA          ADKINS                  CO         90010186135
73846455472441   AMANDA         SARAKOWSKI              PA         51094814554
73846539831449   BRYAN          GRZINA                  MO         90011175398
73848193833698   LAMARR         SHEILDS                 NC         90010981938
73849633671947   HANNAH         HALE                    CO         90014406336
73856274631432   KEARRA         WESTBROOK               MO         90014622746
73857573833698   HUYEN          TRAN                    NC         12025785738
73858311384322   JOSE           HUERTA                  SC         90014603113
73859911241237   MONICA         LOWE                    PA         90015189112
73862848772479   JASON          CHACKO                  PA         90009928487
73863358231468   TAMELA         HUDSON                  MO         90001723582
73865377341227   STACEY         LEE                     PA         51005603773
73865486471947   CYNTHIA        MONEYMAKER              CO         32016124864
73866643631433   CARON          BURRESS                 MO         27557556436
73866719941237   SUSAN          SALMEN                  PA         51011807199
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73867436233698   KATAUI       LOWE                      NC         12005034362
73867553531433   LYNN         WERNER                    MO         90014805535
73867988171947   VANESSA      CHOWING                   CO         90013769881
73868799843523   EDWARD       BOGUE                     UT         90012097998
73869562471921   SAMANTHA     TIRADO                    CO         90012985624
73869862872441   JODI         MCCUTCHEON                PA         51044688628
73869928155939   ANTHONY      OCANAS                    CA         48038429281
73869973541227   MADIA        HALL                      PA         51020589735
73871333872441   BILL         ODELL                     PA         90013983338
73871793491993   FRANCISCO    ANDRADE                   NC         90010787934
73872882241253   WAYNE        CARNEY                    PA         51031988822
73872989955939   CESAR        CAZAREZ                   CA         48004079899
73873499693747   MELODY       AMOS                      OH         90013314996
73873814684322   LORI         PEDDIE                    SC         90012308146
73874387971921   QUINN        SALES                     CO         90013053879
73874558841227   ANDREW       SIKORA                    PA         51090535588
73875184691586   CHRIS        SHINDO                    TX         75088301846
73876216971947   MARC         HUNTSMAN                  CO         90007992169
73876413451326   KREAN        GROSS                     OH         90006334134
73877114641237   SEQUOYA      HALL                      PA         51008221146
73877578484322   LAKISHIA     SMITH                     SC         90014895784
73878199731433   TIJUANA      BARNETT                   MO         90005541997
73878515141253   JOAN         HALL                      PA         51065585151
73879123533698   CHRISTOL     DRAUGHN                   NC         12001761235
73879153372441   PETER        DALE                      PA         51097011533
73879727255939   LILIANA      CORONA                    CA         90014057272
73882463961999   JORGE        GONZALEZ                  CA         90003384639
73883735872421   CARLA        POWELL                    PA         51091707358
73886768731433   TINA         BOLTON                    MO         90015107687
73887815355966   JENNIFER     ZACARIAS                  CA         90012818153
73891446533699   TENISHA      FULLER                    NC         90012434465
73891817233698   BRIAN        THOMPSON                  NC         90014448172
73892215771947   ALYCIA       BROOKS                    CO         90002252157
73892462131433   DEBORAH      KLASEK                    MO         90005614621
73892757855947   BRET         TAYLOR                    CA         49011567578
73893424333699   AGUSTINA     SANTOS                    NC         12027184243
73895917141253   TAMIKA       TERRY                     PA         51093399171
73896215541237   ERICK        WASHINGTON                PA         51072602155
73896571971947   STACIE       ROGERS                    CO         90013655719
73896689455947   JOSE         M                         CA         90005616894
73897117431432   MONICA       WILLIAMS                  MO         90008921174
73897369855947   DONALD       HATTER                    CA         49075583698
73898222831432   TEON         BROWN                     MO         90014002228
73898268957133   WILLIAM      SIERRA                    VA         90014682689
73898437593739   ROBERT       HENN                      OH         90005224375
73912145384322   DONNA        MARSHALL                  SC         90014761453
73912572471921   LAURA        RODRIGUEZ                 CO         32083575724
73913458571947   ANITA        ALENZUELA                 CO         90001544585
73913668255966   GASPAR       AGUILAR                   CA         90011816682
73914222284322   JALEN        TURNER                    SC         90014772222
73914797155966   DAISY        RUIZ                      CA         90014617971
73915748771947   JAMIE        COOK                      CO         90009557487
73918447833698   JULIE        JORDAN                    NC         90008314478
73919198231432   DAMORIA      IZEMAN                    MO         90014471982
73919567133698   LEIGH ANNE   SMITH                     NC         12043895671
73919876755939   REYNA        HERNANDEZ                 CA         90005738767
73921333684322   LASHONDA     SINGLETON                 SC         90014773336
73921536372479   CECIL        TARTT                     PA         51047635363
73921794141227   GILBERT      SMITH                     PA         90003797941
73922474733631   LAVERNE      DAVIS                     NC         90001524747
73923399977524   MARIA        SALAS-JIMENEZ             NV         90008693999
73924281361982   LILIA        ODGERS                    CA         90014082813
73927971472441   ADRANA       GORDON                    PA         90014159714
73927972172421   DAVID        TARR                      PA         90013929721
73928368241253   ROBIN        ANGELO                    PA         90014133682
73929471371921   TYLER        FREDERICK                 CO         90012384713
73929518154149   TREENA       SANDERS                   OR         47074145181
73932279831433   TEE          ALLEN                     MO         90009182798
73933571341237   MELVIN       PAYNE                     PA         90011505713
73933586641253   RICHARD      HIROSHI                   PA         90015055866
73934137155966   MICHEAL      MARTINEZ                  CA         90000681371
73934386571921   EFRAIN       GONZALEZ                  CO         90002953865
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73935587741253   LAVIDA       WARDEN                    PA         51021885877
73936288284322   TRACY        SCOTT                     SC         90014782882
73937288284322   TRACY        SCOTT                     SC         90014782882
73939332672421   AMY          NECHEFF                   PA         51081283326
73941493871921   NUVIA        MARQUEZ                   CO         90014084938
73941787585945   JUDY         TAYLOR                    KY         90008707875
73942257285945   JEAN PAUL    MUJAWAYEZU                KY         67017372572
73945487272479   MARCUS       POPELAS                   PA         90014084872
73947358141237   LORIE        MEBANE                    PA         51068763581
73947554661964   SHERI        SANCHEZ                   CA         90011035546
73949668971947   ILONKA       CASTANEDA                 CO         32057356689
73949774171921   JEFF         MCCLEARY                  CO         90004897741
73951297191827   JANICE       CHILDRES                  OK         90005662971
73951394655947   JESSICA      RAMIREZ                   CA         90009413946
73953893291982   YANSHA       LEAK                      NC         90001828932
73954286851391   JENELL       BLEVINS                   OH         66006902868
73954654771947   ROSA         SERRANO                   CO         90003696547
73955149631433   MICHEAL      DRIVER                    MO         90012501496
73955296771921   TEYONDRE     WILLAMS                   CO         90010702967
73955588991566   DAVID        MADRID                    TX         90007755889
73955764472479   GREGORY      WOODDELL                  PA         90015177644
73957227633699   JACKSON      MAUREEN                   NC         12086472276
73958216855939   MARIA        VEGA                      CA         48053272168
73958527784322   JESUS        SILVA                     SC         90014885277
73959385131443   KATHLEEN     MARTIN                    MO         27587133851
73959577372479   TINA         WILSON                    PA         51070305773
73959625884322   JADI         RHODES                    SC         90014886258
73959654541237   SHELLAY      WASHINGTEN                PA         90007556545
73961328971947   RONALD       MARACLE                   CO         90013703289
73961388484322   FRAY         QUESADA                   SC         14504653884
73963642555947   ENID         MCHORSE                   CA         49072386425
73963875271921   DAMIAN       PARKS                     CO         90013178752
73965226871921   JAMES        KELLEY                    CO         32035192268
73965454293739   DAWN         MANEY                     OH         90014464542
73969258384322   SERGIO       GARCIA                    SC         90014942583
73969346771947   SARA         PATE                      CO         90014563467
73969377941237   NANCY        GRANT                     PA         90011433779
73969837493767   TAFFY        MOSS                      OH         64512708374
73971528271947   RONNEY       SATCHELL                  CO         90012915282
73972119271947   FABIAN       BACA RAMOS                CO         32069211192
73972599855939   OSBALDO      QUIROZ                    CA         90015495998
73973211571921   BRANDON      SPROUSE                   CO         90013572115
73973254331432   BRITANY      HILL                      MO         90014332543
73974557772441   NICOLE       LUTON                     PA         90014635577
73974772841253   CHARLES      FINNIGEN                  PA         51001377728
73974859285945   SHANELL      PERKINS                   KY         67017388592
73974962531443   BRANDON      JACKSON                   MO         27506249625
73975445233699   VICTOR       OLIVA                     NC         90011614452
73976394755939   ESBEIDY      DELGADO                   CA         90009493947
73976458372441   STEPHANIE    HALEY                     PA         51013044583
73976648431443   BRANDACE     COLEMAN                   MO         90007986484
73976879484336   JUAN         GARCIA                    SC         90013528794
73977195655947   PEREYRA      AZUL                      CA         90009821956
73977336572421   ANDREA       DANIELS                   PA         51066473365
73978264333698   DARRYL       HOOPER                    NC         90013412643
73979433371921   MARIA        BARRERA                   CO         32014394333
73979793541253   BRYAN        PROPHY                    PA         90008987935
73981232355947   ELAINA       GOMEZ                     CA         90013882323
73981711684322   DANIELLA     ALVAREZ                   SC         90014987116
73982346971947   STEPHANIE    DAVIS                     CO         90014813469
73982391255939   PATRICIA     RIOS                      CA         48019273912
73982998181255   RODIGO       FRANCO                    ID         68001159981
73983499672441   BRANDI       MOORE                     PA         90010024996
73984484133698   NICOLE       MACK                      NC         90014174841
73985257941227   DAVID        PAXON                     PA         51061922579
73985562471921   SAMANTHA     TIRADO                    CO         90012985624
73986549884322   DUNIA        MARTINEZ                  SC         90013495498
73986864131433   MARCO        SIMMONS                   MO         90015138641
73991195455939   VANESA       MEZA                      CA         90012771954
73991481793739   NINA         WASHINGTON                OH         64547694817
73993466172441   ANGIE        ANZUR                     PA         51071644661
73993593991827   ANGELLA      GURARD                    OK         90009285939
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73993914372421   JESSICA      STEELE                    PA         90004909143
73994129855939   ANGEL        ROMO                      CA         90015371298
73994187184322   AJI          ADEYEMI                   SC         90015011871
73994381371921   ERIKA        ONTIVEROS                 CO         32087313813
73996456671921   LANE         TURREL                    CO         90011904566
73996521391827   ELENA        PEREZ-BERRY               OK         21005005213
73997952661597   CARMEN       CARRANZA                  TN         90015479526
73998126231432   JELIZA       JOHNSON                   MO         90014831262
73998143355966   MARIBEL      TRINIADAD                 CA         90003321433
73998386531443   HEATHER      SMITH                     MO         90003933865
73998515231433   ROBIN        WILLIAMS                  MO         90012255152
73998546855991   JOHN         WALLIS                    CA         49014835468
73999613571921   LUZMARIA     CASTANEDA                 CO         32025006135
74111412241227   NEDZAD       PEZEROVIC                 PA         90013654122
74111814731433   SHALLON      SNEED                     MO         90008178147
74112657591354   SHARRON      ANDERSON                  KS         90015246575
74114196393726   DEREK        MEFFORD                   OH         90013231963
74114955655939   RONDA        ARNOLD                    CA         90003599556
74115892872479   WILLIAM      BAISDEN                   PA         90011188928
74116471972479   TERRY        BOBIN                     PA         51071794719
74116726391566   BRENDA       GUERRERO                  TX         90001707263
74116963151391   CATHERINE    BYERS                     OH         66094819631
74116977671921   SHERRY       HENDERSON                 CO         90015099776
74117762441227   SHAWNTAYA    COASTON                   PA         51067277624
74118147941227   AMY          BALESTRA                  PA         51064651479
74119133572479   AMANDA       WOLFE                     PA         90011571335
74119215331443   CATHAREAN    BALL                      MO         90002202153
74121554461927   JUAN         VARGAS                    CA         90005505544
74122729893739   YVETTE       MORGAN                    OH         64539927298
74123963633699   MICHELLE     PARKS                     NC         12069999636
74124829593739   NICOLE       ADKINS                    OH         90008448295
74127473393726   ANGELA       ADKINS                    OH         90015114733
74127512193739   JAIME        CARSON                    OH         90010995121
74127544741237   TOYA         PRYOR                     PA         51094635447
74128435631432   NEVA         GARRISON                  MO         27565294356
74129643941253   MICHAEL      SHAWVER                   PA         90011526439
74131543455939   ALEJANDRO    GONZALEZ                  CA         48099215434
74132451355939   ADAM         SERNA                     CA         48020794513
74132685531433   KAYLENA      BLANKS                    MO         90010296855
74134946741253   CARLA        ROBERTS                   PA         90014289467
74135187172441   JAMYRA       HARRELL                   PA         90006441871
74137127231443   LAVON        TAYLOR                    MO         90013051272
74137846431433   TALANYE      KARTER                    MO         90012638464
74138749131443   HENRY        GUILBEAUX                 MO         90001397491
74141737155939   NICOLAS      ZAPOTECO                  CA         90010407371
74143147272421   JAMES        MORENCY                   PA         51007191472
74143235272479   JUSTINA      MINNIE                    PA         90014152352
74143966572479   LISA         MEEHAN                    PA         90012739665
74147435733698   RAHEINE      REID                      NC         90003664357
74151969371948   JUAN         ADAME                     CO         32072689693
74152179341253   ANDREA       ZACK                      PA         90011571793
74154644155939   MARIA        VELASCO                   CA         48064306441
74154773471921   AIMEE        GONZALES                  CO         32046777734
74154824972421   PAMELA       BROOKS                    PA         51034388249
74155776571921   BRIAN        LINN                      CO         90012937765
74158215741227   JENNIFER     SPROWLS                   PA         90012442157
74159523731433   SHERYL       FOSTER                    MO         90012605237
74161222261984   ARELI        LOPEZ MOLLEDA             CA         46047272222
74162121585945   CHABLIS      MURRAY                    KY         67004561215
74162483631433   RICHARD      SHIELDS                   MO         27576814836
74164391891522   ALEXANDRA    MUNOZ                     TX         90008783918
74165655931433   DAWN         WISE                      MO         27550436559
74165874461984   CRENSHELLA   CROFT                     CA         90010488744
74166514993726   JASON        SCHROEDER                 OH         90010975149
74168278557147   WAYNE        MCKENZIE                  VA         90004522785
74168714471921   JERMEY       WILLAIMS                  CO         90013577144
74169113941227   MICHAEL      ANDREWS                   PA         90005141139
74169672831443   LYDIA        RODENBERG                 MO         90014676728
74171843372421   JAMIE        NANGLE                    PA         90013878433
74174142773233   DAN          FLAGG                     NJ         90015121427
74175169831433   SHAWNA       FRANKLIN                  MO         90007891698
74175594833699   CATINA       HEATH                     NC         12059775948
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74176542133698   ANITA            DEHART                NC         90012395421
74176544272479   BRANDON          HENDERSON             PA         90010285442
74176993472441   SHEKELA          FORD                  PA         90003619934
74177423555939   MIRTHALA         MARTINEZ              CA         90009744235
74178966572479   LISA             MEEHAN                PA         90012739665
74179128693726   KAREN            MILLER                OH         90014351286
74179298691549   EDUARDO          FRANCO                TX         75051462986
74181938172479   IRIZARRY         MEGAN                 PA         51056579381
74181988285945   MARIA            DUARTE                KY         67095179882
74183372455939   JESSIE           VALENCIA              CA         48030173724
74184458833698   TRACEY B         JONES                 NC         12008114588
74184626841237   DESIREE          BAILEY                PA         90012256268
74185966371921   JAMES            HAMER                 CO         90001569663
74186219631443   ASCALE           NEBIAT                MO         90013662196
74186275371948   CRISTINA         RENDON                CO         90010072753
74186372241237   LAQUALA          MIDDLEBROOK           PA         90014313722
74186439972479   TIFFANY          RIMSEK                PA         90013374399
74187421972421   DAVID            KNOPP                 PA         90003934219
74187735371921   CHRISTOPHER      KENDALL               CO         90012457353
74188199493726   NEWPORT          RONDA                 OH         64597471994
74188854841237   LOENIDAS         LOPEZ                 PA         90014448548
74188937393739   MARVA            CLEMONS               OH         90001109373
74191495893739   WALTER           BRAWLEY               OH         90014564958
74192574841227   RACHEAL          SCHON                 PA         90004025748
74192995572441   JOHN             LEASHA                PA         51083299955
74194111531433   JASON            HALL                  MO         90004271115
74194137541253   GARY             ISHENBAUGH            PA         51006711375
74194746971948   LOU              SANCHEZ               CO         32087717469
74194766191852   MICHAEL          NACKE                 OK         21081077661
74194989185945   SHAUNETTE        WILLINGER             KY         90001859891
74195472941253   BARBARA          GARNER                PA         51054714729
74195559131432   VIVIAN           HOLTS                 MO         27513335591
74196289131432   LYNDA            ALEXANDER             MO         27595752891
74197257872479   CHARLENE         POVRZENICH            PA         51005612578
74197569941227   EDWARD           HICKS                 PA         90007585699
74198365444344   DOLORES          BROWN                 MD         82008553654
74198617481643   BRANDON          HARRIS                MO         90008416174
74198976431433   VINCENT          MILLS                 MO         90011339764
74199762441227   SHAWNTAYA        COASTON               PA         51067277624
74213155355939   ANTHONY          ALVARADO              CA         90010671553
74213312555939   ARECELI          SAUCEDA               CA         90014603125
74213914933624   UNAJI            MORGAN                NC         90011569149
74215749431432   MARGARET         FURLOW                MO         90015117494
74215796293739   PAYGO            IVR ACTIVATION        OH         90010067962
74216219933698   ZANDRA           MASSEY                NC         90005482199
74216299585833   PAUL             CURRIE                CA         90000562995
74218126933698   BRENDA           HANSEN                NC         90008601269
74218175372421   NICOLE           MOORHEAD              PA         90011111753
74219129333698   JORDAN           JAMES                 NC         90010741293
74223398372421   JEFFREY          FRASER                PA         90010283983
74224551191566   ANDRES LAGUNAS   ERIKA MACIAS          TX         90011115511
74225518172421   TED              HONICK                PA         90012705181
74226734993739   CASSANDRA        EVANS                 OH         90013987349
74226924971921   CHUONG           TRUONG                CO         32098429249
74229897671921   JEOUNG           OH                    CO         90004978976
74231495893739   WALTER           BRAWLEY               OH         90014564958
74231656272479   JIM              MILLER                PA         90013626562
74231753441237   ROSALIND         ROBERSON              PA         90014397534
74232395985945   MAURO            MORENO                KY         90002323959
74233333672479   ROY              FRYE                  PA         90000793336
74234966172421   CINDY            CONWAY                PA         51038419661
74235311157147   LUISA            BONILLA               VA         81011993111
74237315655939   ROSA             ESTRADA               CA         48098183156
74237557433643   ALICE            WISE                  NC         90011705574
74237787831433   TIFFHANY         OWENS                 MO         90009347878
74238435931443   RAPHAEL          CARTER                MO         90009804359
74238684741237   DAVID            LUPINE                PA         90004716847
74241611141227   MICHAEL          WICOBRODA             PA         51017976111
74241999455939   DAVID            LOPEZ                 CA         48020129994
74242662331433   CRYSTAL          SPENCE                MO         90013566623
74245282631433   REVA             NELSON                MO         90014662826
74245673933698   TONYA            GOINS                 NC         90003556739
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74246521133698   AMANDA        BLAKE                    NC         90000495211
74246569741253   NICOLLE       TIMBERS                  PA         90007645697
74247273455934   ISMAEL        QUINONEZ                 CA         90001012734
74247823193739   AUNDREA       MARTIN                   OH         90006128231
74248524193726   DANA          SMITH                    OH         90011255241
74248896131433   SAMATHA       DECKER                   MO         90007998961
74252168741237   NICK          JONNET                   PA         90010151687
74253325641237   JAMIE         CRYTZER                  PA         90010193256
74253642172479   JASON         MINNIE                   PA         51095986421
74254363641253   SULEMAN       CHAPMAN                  PA         51055803636
74254831331443   JAMES         MCMULLIN                 MO         90012168313
74254939171921   INNES         HINES                    CO         32028379391
74257437531432   QUINTEZ       TAYLOR                   MO         90014664375
74257738831433   LEON          MINNER                   MO         90007987388
74258357651586   VICTOR        ROBLEDO                  IA         90014193576
74259133441253   SYLVESTER     TAYLOR                   PA         90012441334
74261213672479   TRAVIS        COTTRELL                 PA         90012842136
74262586831443   OCTAVIA       BARR                     MO         27506045868
74262747581643   ANDREW        FALCO                    MO         90007387475
74262878271921   ZACHARIAH     HANGARTNER               CO         90013168782
74262894593739   BRANDI        WHITE                    OH         90010208945
74263327755939   MIGUEL        SANCHEZ SEGUNDO          CA         90013733277
74265855991962   MAIGUA        LOPE                     NC         90015158559
74269544793726   SEAN          KNIGHT                   OH         90014135447
74269892131433   CELESTINE     CARROLL                  MO         90014368921
74271432193739   CHRISTOPHER   WALDEN                   OH         90011004321
74273258841253   MARTA         HERNANDEZ CORTEZ         PA         51083772588
74273269572441   ERIC          DICKSON                  PA         90005012695
74273422531432   MARIA         UTRERA                   MO         27512414225
74274519931443   BELINDA       ANDERSON                 MO         90014695199
74274722193739   JOSE          RAMIREZ                  OH         90012537221
74275163872421   TODD          HOOK                     PA         51079901638
74275929593726   AMBER         SMITH                    OH         90010759295
74276381191323   LUIS          RIOS                     KS         90010643811
74276544785953   MIGUEL        GOMEZ                    KY         90014145447
74277231772479   KRYSTAL       PANDULLO                 PA         90013062317
74281522293726   OMAR          HILL                     OH         90007915222
74282859193726   RICHARD       STEINWAY                 OH         64500958591
74283249433698   SHAMAINE      BRIGHT                   NC         12086522494
74286693841262   JENNIFER      MILES                    PA         90011366938
74287639171921   ALICIA        MONTOYA                  CO         90007726391
74289218741253   DANIELLE      MEYERS                   PA         51094702187
74289878271921   ZACHARIAH     HANGARTNER               CO         90013168782
74292218333699   BOBBY         LOVE                     NC         12008602183
74292378841252   LAURA         GAETANO                  PA         51067003788
74293695431432   JASMINE       COLEMAN                  MO         90002866954
74293833791563   LUIS          ROMERO                   TX         90009308337
74294143231432   TANISHA       BROWN                    MO         90008871432
74294842241253   LORETTA       RETSCH                   PA         90013928422
74295897393739   CIARA         TURNER                   OH         64506018973
74296649541253   OMAR          FORBES                   PA         90014416495
74312334833698   WILLIAM       JESSUP                   NC         12026013348
74313661671921   ISRAEL        LOPEZ                    CO         32096626616
74313727372479   DEBBIE        HAKOS                    PA         90013527273
74313946141253   JOHN          SMITH                    PA         90013579461
74314119533699   LASECA        PANKEY                   NC         90002291195
74315328993726   COREY         JOHNSON                  OH         90014583289
74315775141253   JOCELYN       HUGHES                   PA         90007557751
74316534733698   JOHN          ALLEN                    NC         90013865347
74317179331432   PEDRO         DENNIS                   MO         90012761793
74317644881643   SARAH         WEAVER                   MO         29051836448
74318863331443   ORLANDO       MACK                     MO         90014768633
74319491681643   WILLIAM       WILSON                   MO         90001384916
74319722357147   ELSY          CEDILLAS                 VA         90004417223
74322198555939   CRYSTAL       CASTRO                   CA         90010451985
74323465872479   LARRY         ROSE                     PA         90013914658
74323595571921   MICHELLE      MEAD                     CO         90014135955
74325331361985   TIMOTHY       DVORAK                   CA         90014113313
74325771771921   RAFAEL        CHAGOYA                  CO         90014427717
74325842931432   LATONYA       FARMER                   MO         90005608429
74326262331433   PATTIE        WEBB                     MO         27538402623
74327788944346   GREGORIO      SIERRAS                  NC         90001767889
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74327935733698   EMILY          SMITH                   NC         90010309357
74328563993726   ALICIA         WASHABAUGH              OH         64588125639
74329197351391   ANDREAH        HILL                    OH         90011811973
74331864172479   BOBBI          BIRD                    PA         90013608641
74332735193739   MARXUS         SMITH                   OH         90010997351
74332842793726   STELLA         ROWLAND                 OH         64509348427
74333866631433   LISA           AUBUCHON                MO         90009368666
74336816685945   SAMANTHA       BROWN                   KY         90011288166
74339697241253   DEANNE         WILLIS                  PA         51011656972
74341982593739   CHARLES        JONES                   OH         90013539825
74342888133699   LISA           HICKMAN                 NC         90014548881
74343461493726   ANN            PHILLIPS                OH         90013874614
74344682872479   JAMEY          SUMMERS                 PA         90011036828
74344861931661   JAY            MCLAURIAN               KS         22040088619
74345287272474   MICHAEL        KOZAR                   PA         90002642872
74345318331443   CARMEN         STOCK                   MO         90014893183
74346725241237   MARY           LOWREY                  PA         51093147252
74347354272421   SANDY          BLACK                   PA         90004533542
74347479572479   VALERIE        JOHNSON                 PA         90009284795
74349697331433   HERMAN         GORDAN                  MO         90014046973
74351548891521   PERLA          CORRALEJO               TX         90001285488
74353447771921   CHRISTINA      MCNABB                  CO         90014694477
74354143471948   NIDYAWATI      SUSANTO                 CO         90001801434
74358546557147   WILMER         HENRIQUEZ               VA         90007115465
74364663485945   DAVID          ROSS                    KY         90011786634
74364854441237   SHAWN          REESE                   PA         90009808544
74364865171921   LAHELA         TEIXEIRA                CO         90012988651
74365425672421   JASON          SHERMAN                 PA         90011184256
74365868181643   STACY          HOLLOWAY                MO         90005778681
74365951755939   JAIRO          AMBRIZ                  CA         48008869517
74366618531443   PATRICIA       IVES                    MO         90013326185
74366899931433   SOPHIA         JONES                   MO         27546028999
74367779593726   DUSTIN         FUGATE                  OH         64515397795
74369145971921   CHAVEZ         AMBER                   CO         32048901459
74369961193726   ELICIA         TUDOR                   OH         90008509611
74374179272441   KEITH          COPE                    PA         51056781792
74375642831433   CARRIE         JULIN                   MO         90011836428
74375942372421   JACOB          SHOEMAKER               PA         90013349423
74376443531432   SHERI          CARTHAN                 MO         90013694435
74382336233698   BEVERLY        NEAL                    NC         12048573362
74382524841253   JERRY          CARDONA                 PA         90012175248
74382937372479   CARLOS         DAVIS                   PA         90013139373
74386297755939   ALFREDO        SANCHEZ BASURTO         CA         90014582977
74386524641253   YVETTE         OLANDO                  PA         90010205246
74386929433698   LATOIA         THOMAS                  NC         90010999294
74388162141237   RYAN           STRANKO                 PA         90014121621
74389833557147   JOSE AGUSTIN   SORTO                   VA         90003368335
74391869341237   RAYMOND        MCCORKLE                PA         90010748693
74391891593726   MICHAEL        MOOREFIELD              OH         64574108915
74391958572479   REYNOL         MANRIQUE-MANRIGUE       PA         51006089585
74392617771921   THOMAS         ALLEN                   CO         90006286177
74393454593767   NIQUEESHIA     HORTON                  OH         90005104545
74393785444344   LARRY          REED                    MD         90013627854
74396855941237   DANIEL         SULLIVAN                PA         90010748559
74397329231432   AARON          FRANCIS                 MO         90015173292
74398184131432   MARK           CHARBONEAU              MO         90014371841
74399392133698   SHAYLA         WALKER                  NC         12022673921
74399686172479   ANDREW         MCPARTLAND              PA         51044426861
74411477193739   EBONY          DARDEN                  OH         64537574771
74411518471921   DARWIN         RODRIGUEZ               CO         90009705184
74412462933698   LESLEY         RILEY                   NC         90010824629
74413515833698   SHERMENA       INGRAM                  NC         90013045158
74413911657132   NERY           AMAYA                   VA         90007719116
74415333672479   ROY            FRYE                    PA         90000793336
74416437638522   ELI            ALAMOS                  UT         90010434376
74417888541253   AARON          GIBSON                  PA         90011198885
74418114591563   MOISES         APODACA                 NM         90015081145
74418725855939   RAMIRO         SALADAR                 CA         90015507258
74419858493726   BRIAN          KEDANIS                 OH         90006978584
74421277871921   ROBERT         WALKER                  CO         90001952778
74423114993739   LISA           JONES                   OH         90014601149
74423314633624   LIKAH          MCNEAIR                 NC         90011673146
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74424752831432   WILLIAM       FANT                     MO         90014417528
74424874433698   RAMONA        GYEKYEWAH                NC         90012598744
74425756931432   JARRED        VINYARD                  MO         90014417569
74427281441253   LINDA         CLARK                    PA         51076852814
74431582261971   ERIQUE        VICTORIA                 CA         46001165822
74431814453977   DANA          ROSS                     OK         90010438144
74432522141253   JONATHAN      PETITTA                  PA         51052805221
74433549681651   TONY          MAC                      MO         90010865496
74436114731443   VERALEE       HOWARD                   MO         27551181147
74436942755939   CHRISTOPHER   ALANIZ                   CA         90013219427
74436976872421   DIANE         BAACKE                   PA         51090459768
74439196993739   ANNIE         ARMSTRONG                OH         90006431969
74439225533699   APRIL         POUNCEY                  NC         90000292255
74441887871948   DUSTIN        FADDIS                   CO         32012998878
74443194431443   DESTINY       WALLCE                   MO         90014941944
74443331293726   EUGENIA       MOORE                    OH         90012053312
74443679572421   ASHLEY        BARKLEY                  PA         90009996795
74444814455939   KATHERINE     RODRIGUEZ                CA         90015278144
74445514293739   DANA          MOSCHETTI                OH         64508535142
74446345672479   ZACHARY       COURTLEY                 PA         90014003456
74448179641237   BRITTNEE      THOMPSON                 PA         90012861796
74451461341262   SHEREE        REYNOLDS                 PA         90011414613
74454397357127   ABRAHAM       TEWODROS                 VA         81016803973
74457355831432   DESUIREA      HARRIS                   MO         90015173558
74459371131443   LAWANDA       THIGPEN                  MO         90003333711
74459648431432   MEGHAN        THOMAS                   MO         90007546484
74461872681637   ANTHONY       WALKER                   MO         29062478726
74464856131432   JASON         DECLUE                   MO         90012948561
74466956991572   KARLA         RAMIREZ                  TX         90010069569
74467352372479   LORENZO       GARDNER                  PA         90001223523
74467452272479   HEATHER       DEVAULT                  PA         90015094522
74468112272479   STANLEY       NEDZESKY                 PA         90002651122
74469981693726   ABDUL         CLEMENTS                 OH         90015139816
74471895461982   MARTIN        OSUNA                    CA         90010748954
74473291831433   GRACIA        DE REYES                 MO         90007942918
74474668172421   JOEY          KEFFER                   PA         90013186681
74475278666181   JERRY         PEDRO                    CA         90014992786
74475576631432   GNISHA        BALDWIN                  MO         90010735766
74475798841253   ISIAH         BROOKS                   PA         90002657988
74475911266137   PENNY         ELLIS                    CA         90015369112
74476542185945   FRANKIE       GALLEGOS                 KY         90009785421
74477113131432   SHARON        MULLINS                  MO         90006741131
74483126272479   JAMIE         FERRARI                  PA         90011041262
74484297231443   KANDI         BARNES                   MO         90013622972
74484726941253   ROAMELL       EDWARDS                  PA         90015267269
74484845171921   SANDY         SIESSER                  CO         32059928451
74487493531449   JARVIS        GAMBLIN                  MO         90006584935
74487739641237   NICHOLAS      SLATTERY                 PA         90014867396
74487842731432   KEITH         VERSIE                   MO         90015118427
74489277493726   ALAINA        TOTO XALA                OH         90012202774
74492898772479   JAMES         WILLIAMS                 PA         90006328987
74493825641253   LOUISE        PHELPS                   PA         51098018256
74494175955939   MARCOS        LEONOR                   CA         90009601759
74498582941237   ARDELE        DULL                     PA         51083425829
74498975855939   MICHELLE      EKIZIAN                  CA         48097929758
74511285755939   JULIANA       MENDOZA                  CA         90012722857
74511536871921   CARLOS        ZEPEDA                   CO         32051585368
74512591341237   AMY           GREGRIS                  PA         90009585913
74513126271921   ANTONIO       RIVAS                    CO         32020341262
74513358491852   ROBERT        STEPHENS                 OK         90006083584
74514899355939   ELENA         SANCHEZ                  CA         90013108993
74518929931432   MONEY         GET                      MO         27583569299
74519348972421   BEN           COLFLESH                 PA         90003943489
74519673531443   STEPHEN       HOWARD                   MO         90009936735
74521172433698   KATHY         RICHARDS                 NC         90000861724
74521218185945   DEIDRE        INGRAM                   KY         67081762181
74521221293726   JAWANE        GILLIS                   OH         90011342212
74522358331433   JENNIFER      CERUTTI                  MO         90013233583
74523848531432   COOBY         HORNER                   MO         90015118485
74525197331432   CRISTINA      JENKINS                  MO         90005611973
74525826831433   MALEANA       BELL                     MO         90011048268
74526164472479   THERION       NELSON                   PA         90015211644
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74526846184332   MICHELLE     GRANT                     SC         90010958461
74527151391521   JOSE         JASSO                     TX         90001481513
74527613655939   EDUARDO      IBARRA                    CA         48050786136
74533142393739   NADINE       SCOTT                     OH         64567931423
74533586157147   MICHELLE     GRYLIK                    VA         90005725861
74536774671921   TRIS         BABCOCK                   CO         90013857746
74538211255939   XOCHITL      JAUREGUI                  CA         90010672112
74538865641253   PAULA        KALB                      PA         90012618656
74539221531443   JUVENTINO    CRUZ                      MO         90014612215
74539724955931   BRENDA       CHAVEZ                    CA         90012697249
74542328741237   GAVAN        JOHNS                     PA         90012423287
74542379333698   MARY         LEGETTE                   NC         90012003793
74542828641253   MARTIN       LUCAS                     PA         90013958286
74542944593726   DANIELLE     BREEDEN                   OH         90013379445
74543938871921   BRAULIO      CARRERA                   CO         32011789388
74544232772479   DYLAN        PATCH                     PA         90012502327
74544712591855   KENNETHA     GILLESPIE                 OK         90004857125
74544827671921   SANDRA       GREEN-GOOD                CO         90014668276
74546169772479   ANGEL        NETH                      PA         90014011697
74547365341253   JAY          MASON                     PA         51022693653
74548317541237   JEREMIAH     SEGAN                     PA         90010963175
74549887471948   HEATHER      PETTY                     CO         32018328874
74551615841237   GREGORY      STARKS                    PA         90011506158
74552118672421   KANDIS       MILLER                    PA         51024691186
74552587741253   LAVIDA       WARDEN                    PA         51021885877
74552683871921   NIKKI        NOBLE                     CO         90012696838
74553314371921   ROBERT       ALLEN JR                  CO         32074753143
74553824172479   KELLEY       SADLER                    PA         90012528241
74554151971948   THERESSA     QUARLS                    CO         90005151519
74554896833698   SHEMA        GAITHER                   NC         90005508968
74554952755939   JOSE         HERRERA                   CA         48085229527
74555974131432   BRITTANY     JOYNER                    MO         27529169741
74557525972479   LAUREN       EVANS                     PA         90008615259
74557612761971   JESSY        VALENZUELA                CA         46022496127
74557752555939   VERONICA     BELL                      CA         90014617525
74558516293726   GENEVA       WEAVER                    OH         90011085162
74558815133698   TOMMIE       MOORE                     NC         90010098151
74559114193739   THOMAS       MCDONALD                  OH         90013571141
74559576841237   YOLANDA      PETTWAY                   PA         51007335768
74559734993726   JOHN         MCGUFFIE                  OH         64514997349
74559786772479   WAYNE        STASKO                    PA         90001327867
74559885871928   RICHARD      STRANDBERG                CO         32000588858
74565813231433   JOANN        PIZZO                     MO         90013308132
74567287671948   PABLO        VALENCIA                  CO         90001672876
74568119131433   BRITTNEY     CHILDS                    MO         90013581191
74568316872421   TATILA       BELL                      PA         90014363168
74569334741253   MICHELLE     MCCABE                    PA         51012723347
74569647657147   JUAN         AGUILAR                   VA         90007126476
74569674741237   MONTE        WELLS                     PA         90010756747
74572486471921   CYNTHIA      MONEYMAKER                CO         32016124864
74572815931432   ANGELA       CLIFFTON-HARPER           MO         90013438159
74573572371921   DEREK        HARRISON                  CO         90008795723
74574276293739   MARVIN       SAMS                      OH         90014022762
74574719272479   ERNEST       LEEZER                    PA         51034307192
74575476172421   TINA         SMOREY                    PA         51083064761
74575683393739   ELAINE       STRANGE                   OH         90007736833
74575835431432   MARSHA       PRIZE                     MO         90013438354
74581746541253   ARUNA        CHHETRI                   PA         90010477465
74581953133699   JOSEPHINE    WEST                      NC         12022519531
74583592931443   SAMANTHA     NELSON                    MO         90008885929
74584742631443   MONIQE       JONES                     MO         90011517426
74585615841237   GREGORY      STARKS                    PA         90011506158
74585842393739   DANIEL       EVANS                     OH         90008548423
74585916331432   SHANNON      PETTY                     MO         90013929163
74586112272479   STANLEY      NEDZESKY                  PA         90002651122
74586149693726   DESIREE      SIMONIS                   OH         90012721496
74586822133699   CRYSTAL      CALDWELL                  NC         12059268221
74587495141253   GEORGE       COLEMAN III               PA         51000954951
74588121161971   TOMMIE       L. JACKSON JR             CA         46011771211
74592138272441   ADRIENNE     WEATHERS                  PA         90011201382
74593914771921   HUGO         GARCIA-NUNEZ              CO         90013239147
74594396872479   RANDY        EARLEY                    PA         90002543968
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74595543285945   SERGIO         COXAC                   KY         90011295432
74595769372479   SHARON         HALL                    PA         90001687693
74596483233698   STEPHANIE      M ANDERSON              NC         12042544832
74596685731432   CALVIN         HARPER                  MO         90015326857
74598761733699   VERONICA       FERNANDEZ SERRANO       NC         12057997617
74598863693726   HANADI         HUSSIEN                 OH         90010468636
74599237341227   ASHLEY         BERKICH                 PA         90001562373
74611768772479   ANGELEQUE      MCWILLIAMS              PA         90013767687
74612171755939   ANGIE          VEGA                    CA         48097321717
74618355133698   HEATHER        WOMACK                  NC         12001443551
74621624693739   KAYLAN         POLAND                  OH         90011006246
74622865893739   MICHAEL        GALLOWAY                OH         64563728658
74622974185945   FERNANDO       LUCAS                   KY         90010579741
74623623955939   DELFINA        ORTIZ                   CA         90012156239
74625342431433   SENITA         ROBINSON                MO         27550463424
74625926972441   EDWARD         MOORE                   PA         51015149269
74626826372421   MAGGIE         BARRETT                 PA         51078228263
74627663971921   SHANTEYLA      RUSSELL                 CO         90013816639
74628773631433   PATRICIA       LARDGE                  MO         27504037736
74631255372421   CHRIS          BELLA                   PA         90001422553
74632234272421   JAIME          EDMUNDS                 PA         90008732342
74634214331443   DEMETRIUS      MILOU                   MO         90013052143
74634329431432   EYONNA         JOHNSON                 MO         27565933294
74636612785945   DESEAN         HENDERSON               KY         90011296127
74637153833698   NATASHA        DAVIS                   NC         90008041538
74637252391566   GEORGINA       AVILA                   TX         90004032523
74638641641227   JASON          HEIL                    PA         51059636416
74641126372421   MATT           HUTCHISON               PA         90013141263
74641797655939   JUAN           FRAUSTO                 CA         48011457976
74641941672441   ADRIENNE       WEATHERS                PA         90011209416
74643517733698   EVITA          FREEMAN                 NC         90002895177
74646127855939   MARIA          ROMERO                  CA         48014781278
74646423533698   JAY            BROWN                   NC         90014334235
74648112531443   LEETOYA        GRANT                   MO         90001411125
74648586431432   MICHELLE       ASHLEY                  MO         90014885864
74648757372479   MICHAEL        TABRON                  PA         90010947573
74648815672441   JOHN           CLOVER                  PA         51098838156
74651117155939   LORENZO        CENDEJAS                CA         48058901171
74651583793726   RITA           CONLEY                  OH         90013855837
74651593172421   JEAN           SULLIVAN                PA         51054665931
74652593172421   JEAN           SULLIVAN                PA         51054665931
74653541133698   LAFAYETTE      CLARY                   NC         90012245411
74655525684359   CHASSITY       SMALLS                  SC         90005305256
74656245755939   RITA           CASAREZ                 CA         90011242457
74657649831433   LETERICE       SCURLOCK                MO         90014466498
74658776331443   MARITA         TURNER                  MO         90012487763
74661692897121   MARK           IMEL                    OR         90001586928
74662462893739   MASON          MOSLEY                  OH         90001874628
74662558872479   FRANKLIN       PANCOAST                PA         51075035588
74666791171948   DEMETRIA       MORENO                  CO         90002187911
74667822593726   NICOLE         ADKINS                  OH         64501278225
74671569733698   CHRISTINE      CRIDER                  NC         12015895697
74671673761999   JEANINE        GALEANA                 CA         90003576737
74672184641253   LISA           GOSHAY                  PA         90013041846
74673226531443   KELLY          JONES                   MO         90012862265
74676996593739   KELLEY         HUGUELY                 OH         64509629965
74677294541237   SAHARA         BANKS                   PA         90010642945
74681588986523   SAMANTHA       MITCHELL                TN         90013565889
74684173255939   ANA            RIVERA                  CA         90011161732
74684219831432   RANER          COLLINS                 MO         90013002198
74685955971921   ERIKKA         HARVEY                  CO         90014579559
74686966733699   ROBERTO        MENDEZ                  NC         12000349667
74689536931433   LYNN           MONDAINE                MO         90012145369
74689623193726   JAMES          LEAK                    OH         64501186231
74689632161951   CYNTHIA        RODRIGUEZ               CA         90011646321
74691793871921   KALLEY         NELSON                  CO         32081367938
74693138841253   TONYA          DEAN                    PA         90013901388
74693557233631   ANYTHONY       RIVERA                  NC         90015085572
74698199533698   CAMILLA        BURWELL                 NC         90015061995
74712939131443   WILLIE         LEE                     MO         90014759391
74713228771921   ROSALIO JUAN   BARAJAS-TORRES RAMOS    CO         90010322287
74714278831433   DANIELLE       REGANS                  MO         90010982788
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74714947857531   CODY         JEFFRIES                  NM         90014389478
74715211871921   SAMUEL       SUTLIFF                   CO         90011132118
74716451493739   ROCHELLE     WALKER                    OH         90007954514
74716915672421   BETTY JO     SWOPE                     PA         51017379156
74717954341253   PARLA        BOYD                      PA         90008469543
74718637251366   EDDIE        JELKS                     OH         90012766372
74718928971928   KHALED       ABDELWAHED                CO         90012539289
74719637251366   EDDIE        JELKS                     OH         90012766372
74719732197126   TIMOTHY      CLAYTON                   OR         44591607321
74721246872479   KAREN        NEIL                      PA         90014402468
74721325531433   TYKEISHA     THOMAS                    MO         90014093255
74722824141227   HARRY        CARLINO                   PA         51072038241
74722882361984   GABRIELA     SANCHEZ                   CA         90007198823
74722949351325   ANTHONY      MALLORY                   OH         90006289493
74723654631443   JASMINE      MITHCELL                  MO         90004906546
74725264241253   JOSEPH       BROWN                     PA         90013012642
74725465641253   JOSE         VAZQUEZ                   PA         90014964656
74726973941237   KRISTAL      HOLLIS                    PA         90010979739
74727467972421   MELISSA      MOORE                     PA         51082834679
74729425131453   DANA         HANEY                     MO         90001734251
74732363331433   NIKKI        DAVIS                     MO         90010813633
74732413951382   LATOYA       COLLINS                   OH         90014734139
74732624693739   KAYLAN       POLAND                    OH         90011006246
74732769951378   CHRISTINA    HEGER                     OH         90011117699
74732921855939   JOANNA       LARA                      CA         90000829218
74732955431433   MARK         EDWARDS                   MO         90013379554
74732963731432   NYESHIA      HAYMORE                   MO         90014819637
74734124685945   JUAN         SANCHEZ                   KY         90013831246
74734285771921   TASHA        ASHER                     CO         90011132857
74734666831432   JANEST       HALE                      MO         90013026668
74737881855996   FRANCISCO    VERA                      CA         48014478818
74738713441253   NICHOLAS     SARAFIS                   PA         51098087134
74739649655939   MATTHEW      MEJORADO                  CA         48007616496
74741452672479   PAM          CARSON                    PA         90005944526
74742938171921   MARKETA      TAYLOR                    CO         32080179381
74743825593726   CHANDRA      DUNIGAN                   OH         64570058255
74744233531432   GARRY        JOHNSON                   MO         90014552335
74744449531433   MARISSA      HAMMONDS                  MO         90013404495
74745669171921   TARA         WORLEY                    CO         32088416691
74745684431443   SUZANA       SUSKIC                    MO         27595386844
74746991555939   PRISCILLA    DUARTEZ                   CA         90002819915
74747241972421   LISA         WALKER                    PA         90010122419
74747335631443   ELSI         REYES                     MO         90014153356
74747651185945   JAMES        WATSON                    KY         67070196511
74748345272479   JAMES        LANGFORD                  PA         90013883452
74748918531433   JAY          MASSEY                    MO         90014739185
74751316293739   TAMIKO       JOHNSON                   OH         90013783162
74752864841253   GORDON       AUSTIN                    PA         51095938648
74752937172479   DANIEL       HELMANTOLER               PA         90003169371
74752945831443   JEROME       GRAY                      MO         90013399458
74755417441227   JENNIFER     ZIEFEL                    PA         90007214174
74755979385945   ANGEL        AGUIRRE                   KY         90006509793
74756158485996   DEWAN        MILLER                    KY         90014561584
74756517633698   SANDRA       WHITENER                  NC         90012285176
74758437433698   RUMONDA      BRIDGES                   NC         90011204374
74758694293726   MARANDA      NUCKLES                   OH         90004906942
74761399955939   QIN          AMBRIZ                    CA         90014223999
74762722557147   BRIAN        LEONARD                   VA         90005487225
74762978733698   CARLOS       LEMUS                     NC         90010469787
74763712671921   JAYSON       GOUKER                    CO         90010897126
74764657993726   FRED         LANGSTON                  OH         64505696579
74765549155939   BALDEMIRO    ORTIZ                     CA         90012545491
74765866691586   MARIO        TORRES                    TX         90008758666
74766184241253   ALYSSA       SNYDER                    PA         51005911842
74766993355939   ALBERTA      VALLE                     CA         48056859933
74767551831433   ADRIAN       JESSIE                    MO         90013865518
74767865741237   JASON        MILLER                    PA         90002978657
74769361231672   KRISTEN      SPILLER                   KS         90010123612
74771344272421   KERRIE       ANDERSON                  PA         51085573442
74772346271921   REUBEN       THOMPSON                  CO         90002663462
74772482931433   NIQUITA      BLANTON                   MO         90013584829
74773146171921   ALINS        PEREZ                     CO         90014211461
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74774556341237   DANA L       ANDERSON                  PA         90012435563
74775236141237   BRITANEE     GUTA                      PA         90014902361
74776322855996   FRANCISCO    ESPINOZA                  CA         73054383228
74776664541237   JEREMY       SEICH                     PA         90013426645
74776827931432   OPAL         PARTEE                    MO         90011518279
74777254441237   JEFREY       DEBORAH                   PA         51008502544
74777832393739   LAMICHAE     YOUNG                     OH         64539798323
74778829172441   BENJAMIN     KIRK                      PA         51071758291
74778928531447   PHYLLIS      GREER                     MO         27522889285
74779534772479   MATT         MATT                      PA         90015455347
74779621141227   SAMUEL       HUGHES                    PA         90005156211
74781274841253   RANDY        BOTTORFF                  PA         90012482748
74783375633698   VANESSA      MEZA                      NC         90013623756
74783594193726   WILLIAM      COMBS                     OH         64509455941
74785214793726   MARIO        SOSA                      OH         90010172147
74785582133698   ASHELY       BURTON                    NC         12062975821
74785674272479   FELICIA      MULL                      PA         90008846742
74787448971921   SOYIN        PETPRADITH                CO         90002024489
74788487555939   MARIA        LEMUS                     CA         48088694875
74789517631443   NICOLE       CARTER                    MO         90014715176
74791137325128   JUMA         HARON                     AL         90014371373
74791312285945   LASHONDA     GAY                       KY         67057323122
74791762555964   KIMBERLY     COX                       CA         90001377625
74794627741237   ERICKA       BACCUS                    PA         90014876277
74794923693739   PAMELA       JONES                     OH         90010869236
74795193941237   MICHAEL      SOKOLOWSKI                PA         90014121939
74796498631432   ELLA         JONES                     MO         27598024986
74797573472479   TARA         KELEMEN                   PA         51076785734
74797786493739   KIMBERLY     HELTON                    OH         90012227864
74798559793739   SEAN         SOUDERS                   OH         64592245597
74811935533698   AZINATH      DONALDSON                 NC         90015179355
74813212471921   KRYSTALE     SHAW                      CO         90013922124
74813581193726   BRANDON      MUSICK                    OH         90013295811
74814556141253   MARSHA       JOHNSTON                  PA         51075035561
74814558921664   DEMETRIUS    WHITE                     OH         90014715589
74814887272421   ROSEMARY     ELLINGTON                 PA         90013198872
74815186391963   KIARA        CUMMINGS                  NC         90006791863
74815589993739   DAVID        SHORTT                    OH         64576595899
74816292793739   MARIO        WILKS                     OH         90007512927
74816516741237   MARVIN       CORLEY                    PA         51027055167
74817152141253   WILLIAM      LOVELL                    PA         51091191521
74817564431443   SHAWN        NANCE                     MO         90010465644
74818616755939   IRENE        GARCIA                    CA         48015876167
74819219671921   GARY         CLARKSON                  CO         32070042196
74824429691548   CLAUDIA      HERRERA                   TX         75085294296
74825399291827   MARIA        CHAIREZ                   OK         90012893992
74825473993726   TIMOTHY      MIGLOTHIN                 OH         90013884739
74825965431432   OMEGA        MORRIS                    MO         90014819654
74826994931433   MUNA         FARAH                     MO         90010279949
74829437155939   MAYRA        BARRIENTOS                CA         90005034371
74831411331443   MARIE        PATTERSON                 MO         27569074113
74831789441253   DWIGHT       JONES                     PA         90015037894
74832717141227   LAMONA       MCFADDEN                  PA         90010487171
74833636471921   MARGARITA    MARQUEZ                   CO         32054786364
74833772841253   CHARLES      FINNIGEN                  PA         51001377728
74834981972421   PATRICK      MORAN                     PA         90011239819
74836455631433   XAVIER       ANDERSON                  MO         90013304556
74836485971921   JEDD         PROCTOR                   CO         32040154859
74836694193739   NELLA        HILL                      OH         64560016941
74837185181643   KENNEY       GOODWIN                   MO         29006911851
74837457651323   LYNAY        STRAUGHN                  OH         90012034576
74837561741253   AKIA         OVERTON                   PA         90014315617
74838697684359   STANLEY      AUSTIN                    SC         90007776976
74841323193726   CARRIE       STEELE                    OH         90014983231
74841863841237   SABRINA      MOBLEY                    PA         51073078638
74842198555939   CRYSTAL      CASTRO                    CA         90010451985
74842699171948   PAVEL        OROS                      CO         90003076991
74842964631433   DORCAS       REDD                      MO         27521189646
74846539572421   TARA         DAVIS                     PA         90004985395
74848976971921   YADIRA       RICO                      CO         32061779769
74851616433698   TRINA        THORPE                    NC         90001106164
74851818593739   LATASHA      STEVENS                   OH         90012708185
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74852886431433   JAMILLIA              LARDGE            MO        90015338864
74853812471921   CASONDRA              TAVARES           CO        90013138124
74853896831433   TERRION               WILLIAMS          MO        90015338968
74854628955951   SANDRA                SAMBUESO          CA        90004936289
74855233831443   TASHONNA              GROSS             MO        90011282338
74855359441253   THOMAS                LUBANOVIC         PA        51020973594
74858591893739   MILLIE                BILLS             OH        90001025918
74858948655939   GABRIEL               LOEZA             CA        90003539486
74859357741237   KIMBERLY              CORDELL           PA        51089863577
74859738993726   NAKIA                 STEED             OH        90015147389
74861746172479   LOLA                  DUNCAN            PA        51098637461
74862748671948   JULIO                 HERNANDEZ         CO        32063957486
74863651772421   DESIREE               BOATRIGHT         PA        90006456517
74864393141237   EILEEN                KARRAS            PA        51040333931
74864491972479   NICOLE                SALVINO           PA        90012434919
74864935472441   KASONGO               KABESHA           PA        51080379354
74866981141237   JERMAINE              SMITH             PA        90014389811
74867978241237   JOHN                  HOGAN             PA        90012379782
74868156641253   TIFFANY               HOLMAN            PA        51052061566
74868598931443   JASMINE               RODRIGUEZ         MO        90009795989
74869265931443   MR POLO               THECEO            MO        90012212659
74872915355939   NEREIDA               OCHOA             CA        48049389153
74873147371948   DIANA                 LANDEROS          CO        90010491473
74873569933698   KAHLIL                STOCKTON          NC        90013385699
74874216831433   WENSHA                JOORE             MO        90015252168
74874259293739   LATOYIA               HARDING           OH        90003092592
74874556485945   ALFREDO               ESCAMILLA         KY        67060105564
74877619131433   PRISCA                NWAMBA            MO        27597056191
74878314641237   GANGA                 MAINALI           PA        90012623146
74878471557147   ERID                  MARTINEZ RIVERA   VA        81031514715
74881189293726   KILLIAN               THOMAS            OH        90014021892
74882423831433   MICHELLE              BONDS             MO        90009714238
74885626171921   AARON                 VALDIDAVES        CO        90012166261
74887686293739   CARA                  SMITH             OH        90011006862
74888398331443   SHANTE                BRYANT            MO        27561843983
74888411333698   GERALD                GORDON            NC        90004494113
74891965681643   MARIE                 TOWNSEND          MO        29000039656
74892376172421   ROBERT                WILLIAMS          PA        51048043761
74892722157147   ABU BAKARR SULAIMAN   KABBA             VA        90006137221
74892889172479   BILLIE                LENHART           PA        51066228891
74894263893726   AMBER                 MARTIN            OH        90010122638
74895251561465   GASPAR                TUM               OH        90014062515
74895481733698   SANDRA                ZIMMERMAN         NC        90014934817
74896377472479   PAYGO                 IVR ACTIVATION    PA        90014663774
74896556431432   SABRINA               SMITH             MO        90014455564
74897963855939   JUAN                  AREVALO           CA        48004359638
74898745971921   KEITH                 DAY               CO        90015217459
74911168533658   ERIC                  CHAMBERS          NC        90012201685
74911171855939   SILVIA                SANCHEZ           CA        90015071718
74912558372441   MINDY                 DEVALKENEER       PA        51094885583
74912798693739   HEIDI                 BAKER             OH        90014777986
74913342641237   TOM                   GRAY              PA        90012463426
74913459993726   KIM                   BROOKS            OH        64577364599
74915865731432   TIFFANY               POWELL            MO        90014578657
74915975672421   SALLY                 EVERETT           PA        90004369756
74916685831443   JUSTIN                CERULO            MO        90013896858
74917158133628   DEREIKA               STONE             NC        12065931581
74918591331432   DANIEL                HILL              MO        27581605913
74919883393726   MARJORIE              HULL              OH        64591978833
74921376631433   JESNETTA              KLACK             MO        90006843766
74922882891563   ERNESTO               GONZALEZ          TX        75043148828
74924129193726   HEIDI                 HUNSBARGER        OH        90014761291
74926124793726   SHAWN                 SCHULER           OH        64515221247
74926184772441   STEPHEN               ROEBUCK           PA        51068191847
74926356433698   GREGORY               TATUM             NC        90008783564
74927169593739   CELINA                YOUNKER           OH        90006741695
74927378331433   DEWAYNE               RICHTSON          MO        27500503783
74927619455939   SERGIO                ZAVALA            CA        90014716194
74927756841237   SABRINA               JACKSON           PA        51088147568
74929241171921   JENNIFER              CUNNINGHAMM       CO        90011872411
74929678533698   MELISSA               MARSHALL          NC        90011146785
74931975431443   MADISON               WHITE             MO        90013319754
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74933274341253   SALLY         GALLOS                   PA         51032792743
74933697833698   CIARRA        TALFORD                  NC         90014886978
74933991133698   ANTOINETTE    ARMSTRONG                NC         12024539911
74935269593739   ASHLEY        SCHULTE                  OH         90007172695
74935517731432   CANDACE       PORTER                   MO         90012905177
74935691291572   SILVIA        CASTRO                   TX         90012586912
74935763171948   ERICA         TAFOYA                   CO         32087447631
74935918241253   LARA          CHENSNY                  PA         51089719182
74936237655951   GLADYS        LOPEZ                    CA         90011502376
74936594293739   TAMMY         ISAACS                   OH         64567515942
74937811961958   ALMA          BACA                     CA         90009578119
74942796393726   NIA           TAYLOR                   OH         90012697963
74943225193726   MATTHEW       CLARY                    OH         64552002251
74943815672441   JOSE          HERNANDEZ                PA         90006148156
74945691471921   JOSE          REYES                    CO         90011766914
74948119571921   KATHY         NOEL                     CO         32033931195
74948381631433   JOSEPH        MOORE                    MO         90012443816
74948952241227   MITCHELL      ROSE                     PA         90006479522
74951619441253   THERESA       SPEZZANO                 PA         90008456194
74953836691572   LUIS          SANTOS                   NM         75004348366
74956291331433   RICHARD       GREEN                    MO         90015482913
74957255141253   ELEANOR       ROBERTS                  PA         51081892551
74958642833624   HAYLEY        ADKINS                   NC         90012456428
74961993972479   BERNADETTE    ZETKA                    PA         51056459939
74963133293739   XITLALLI      CHAVEZ                   OH         90012901332
74963279541461   ASHLEY        JONES                    WI         90014582795
74964226751325   SAMANTHA      BLACK                    OH         90002392267
74966533641253   STEPHANIE     WATSON                   PA         90015315336
74967297193739   BEN           MONTEZ III               OH         64575252971
74967376455939   ALFREDO       MONTOYA                  CA         90012083764
74967553193728   TRENAY        CAMPBELL                 OH         90005465531
74967973955921   HELEN         CANEL                    CA         49093179739
74968111155996   ANA           BARAJAS                  CA         48055221111
74969766493739   JESSE         MARSDEN                  OH         90014887664
74971117571948   PENNY         MCSHERRY                 CO         32062641175
74971284731432   CHRISTOPHER   WALKER                   MO         90015232847
74972485261971   OSCAR         RENTERIA                 CA         90010214852
74974937231432   COTTRELL      WARD                     MO         90001109372
74976541855939   VIVIANA       ARIAS                    CA         90013845418
74976625271948   JORDAN        MUMPER                   CO         32062636252
74976824141237   ANITA         BROWN                    PA         90010478241
74976871331433   MOLLY N       MONA                     MO         90011508713
74977468755939   MARY          CERVANTES                CA         48032114687
74981495155939   MARAGRET      OCHOA                    CA         90009404951
74983396293739   CHRISTOPHER   BOWLING                  OH         90012093962
74984474441237   KRISTEN       BAKER                    PA         90001124744
74985468841237   CORNEL        OLIVER                   PA         90007204688
74985849831432   MARK          SIMPSON                  MO         90013458498
74987688881643   DANIELA       INIGUEZ                  MO         90003286888
74987729363657   KRISTEN       REEL                     MO         27509287293
74987983671921   GENA          COMBS                    CO         90012159836
74988633831443   DANIELLE      TAYLOR                   MO         90012006338
74989682531443   D             BENFORD                  MO         27548606825
74993114993739   LISA          JONES                    OH         90014601149
74993538672421   MARJORIE      BARNHART                 PA         90009485386
74994827272421   JAMIE LEE     PLASSIO                  PA         51049568272
74996269172421   CATHY         BESTERCI                 PA         90011252691
74996935893765   GARY          BATES                    OH         90007879358
74997721641237   DAWNAROW      SIMMONS                  PA         90009587216
74997892872421   JENNIFER      PRAVLIK                  PA         51014498928
74999767933698   SUSAN         MARTINEZ                 NC         12051877679
75111764451533   SAUL          VARGAS                   IA         90013747644
75111836633698   JESSIE        JACKSON                  NC         90008698366
75113422657157   CHARLES       TIMBERS III              VA         81000644226
75113482291572   ROSA          SANMIGUEL                TX         75080914822
75113533155966   BRENDA        NAJERA                   CA         90003395331
75117262672479   LAURA         NEIL                     PA         51050422626
75118844955947   LETICIA       MARTINEZ                 CA         49046238449
75119348531433   JEN           MINNIS                   MO         27541483485
75121552871921   SANDRA        SANCHEZ-ANDRADE          CO         90007945528
75122318291563   MIKE          TORRES                   TX         90007683182
75123416661938   EZEQUIEL      PONCE                    CA         90010664166
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75123453231433   JAMIL                   ABDELJABBAR      MO       90013054532
75123821257474   PAYGO                   IVR ACTIVATION   IN       90013398212
75126798572421   JOSEPH                  PLATANIA         PA       90011777985
75128426155939   JOSE                    RODRIGUEZ        CA       90011454261
75132438157157   RICHARD                 RUMMINGS         VA       81081394381
75132493931443   AMEENAH                 GORDON           MO       90008104939
75132538733699   BETTY                   LEAK             NC       12026425387
75134545861935   REYNA                   CHAMBERS         CA       90008525458
75135148193739   SANDY                   CLARK            OH       64548401481
75135992271921   CASSY                   JENSEN           CO       90014979922
75137667455947   RAMON                   CASTRO           CA       90009106674
75139648433624   MANNY                   HIDALGO          NC       90012466484
75142345381627   BRANDEE                 BUSHMANN         MO       90003263453
75142814657157   CLARISSA                PRIEST           VA       90009978146
75143972341253   JONATHON                FORRESTER        PA       51034019723
75144518685945   DARLA                   BLEVINS          KY       90007745186
75144522331432   LISA                    LEWIS            MO       90010865223
75144625455939   ERNESTO                 FRANCO           CA       90007626254
75144813985871   ALVARO                  SOLIS            CA       90003628139
75145654971921   MARGARET                PELLOW           CO       90007176549
75145758881645   ASHLEY                  DANIELS          MO       90011857588
75148941931443   JARON                   FISHER           MO       90009879419
75149585955939   CLAUDIA                 SANCHEZ          CA       90009355859
75154233471921   DAN                     ISAACSON         CO       90013382334
75154893433698   JACKIE                  WHITWORTH        NC       12057178934
75155622255939   AMPARO                  RENTERIA         CA       90014836222
75155634381643   ROBERT                  THOMPSON         MO       29056056343
75155769933624   SALVADOR                CASTENEDA        NC       90014987699
75156134151378   MARCO                   DEGANTE          OH       90007751341
75156267171921   JAMES                   FERNANDEZ        CO       32071612671
75156291657123   A P WINDOWS AND DOORS   INC              VA       90008682916
75156815293739   DELECCA                 STEPHENS         OH       90014418152
75157466871921   JOSE                    CASTRO           CO       90015334668
75157569431433   JOHN                    MELSON           MO       90012475694
75158166155947   MAI                     CHANG            CA       90013921661
75158565631433   CHAUNCIA                MEEKINS          MO       90013135656
75158714172441   JESSICA                 EVANS            PA       51086947141
75159998471921   RICHARD                 HAYS             CO       90014289984
75161493772441   PAUL                    CERNANSKY JR     PA       90003424937
75161735857157   IVAN                    MARTINEZ         VA       90008607358
75161998671921   ADRIANA                 CHAPARRO         CO       90014709986
75162338971921   MARY                    TOUSSAINT        CO       32094923389
75162378233698   EVAINNA                 ROSS             NC       90003843782
75164297555939   SAMANTHA                GALLARDO         CA       90012772975
75164462355947   CATHY                   REYES            CA       49081764623
75165429172479   CHRIS                   PELZER           PA       90011664291
75165465681645   TRENA                   SMITH            KS       29027384656
75167475593739   CURTIS                  CORNWELL         OH       64586374755
75167864861985   MARCOS                  RADIATOR         CA       90007848648
75167926855947   MARCELA                 SANCHEZ          CA       90010849268
75167997755947   JESSICA                 PUENTES          CA       90014669977
75168948571921   SARA                    CODDINGTON       CO       32091199485
75169238551347   DREW                    MARCUM           OH       90005222385
75169684544346   MUBANGA                 KALIMAMUKWENTU   MD       90014846845
75171341831432   SANDRA                  NEWSON           MO       90008683418
75172357681645   JENNIFER                REDE             MO       90013853576
75172758261459   GABRIEL                 RAMIREZ          OH       90014467582
75173641172479   THOMAS                  HORNER           PA       51017496411
75174235393739   CURTIS                  CORNWELL         OH       90007462353
75177367755947   AARON                   WILLIAMS         CA       90015143677
75178731372441   TRACY                   HILL             PA       51043367313
75179526961951   HOLLY                   BIANCO           CA       90005185269
75181532671921   TAYLOR                  MADE             CO       90015035326
75181733272421   TABITHA                 MCBETH           PA       51097797332
75182184771921   STEPHEN                 TURSA            CO       32001541847
75182682472421   JAMES                   BECKWITH         PA       90004886824
75183387681633   ALFREDO CARLOS          LOPEZ            MO       90002623876
75183949193739   PAMELA                  JONES            OH       90014499491
75184684455947   YESENIA                 FRIAS            CA       49071436844
75184768293739   CHRISTOPHER             SEEGER           OH       90014307682
75186247741253   JAMERY                  POLITO           PA       90010412477
75186419231432   VITO                    CASTELL          MO       90010164192
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75187947472421   ERIC           FALLECKER               PA         51093989474
75189518671921   MARSHALL       ZAKOPYKO                CO         90000915186
75191345672479   KIMBERLY       ROBERTS                 PA         51006873456
75191365671921   TWYLA          ESPINOZA                CO         90007713656
75191737957157   JAIME          MARTINEZ                VA         81020097379
75193554841253   DENAI          WILLIAMS                PA         90011145548
75194134455939   MONICA         PEREZ                   CA         90011211344
75195172571921   BOX            CARMEN                  CO         90011341725
75196479781645   ASHLEY         CARR                    KS         90014474797
75196629933698   TINA           BETTERSON               NC         90010516299
75196983857157   YULIANA        SOLORNAZO               VA         90012149838
75197247691991   JANINE         NDOSSOKA                NC         90011232476
75197266631432   KEIA           MOORE                   MO         90011602666
75197534841227   JOSHUA         MARSHALL                PA         51046955348
75197684291572   CLAUDIA        PEREZ                   TX         75074676842
75198653772441   ELWYN          STOCK                   PA         51081156537
75211396455947   TANISHA        BROOKS                  CA         90013353964
75212283185945   REBEL          RALEIGH                 KY         90008552831
75215494972441   JOSH           KUTTESCH                PA         51042804949
75216878285945   SENOVIA        DE LEON                 KY         90012528782
75217115181645   TIFFANY        MYERS                   MO         29017241151
75219354731433   CYNTHIA        BIGHAM                  MO         90014843547
75221552351331   KEVIN          SANDUSKY                OH         66098005523
75221766355939   EMMANUEL       MARTINEZ                CA         90013587663
75222436757157   JAMEELA        AL-HASSAN               VA         90014154367
75222858641242   REV CARL       DENSON                  PA         90008698586
75222972185945   TIM            O'CONNOR                KY         67068219721
75224426741253   TOMMY          JENKINS                 PA         90013294267
75225825931433   SHANITA        BUNETT                  MO         90013318259
75228871355939   JOE            GARZA                   CA         90015278713
75233456157157   MARIBEL        RIVERA                  VA         90013154561
75233926281633   SUKARNO        GRANT                   MO         29005019262
75234484781645   JONATHAN       IMLER                   MO         90013564847
75235727761994   MARIA          CASTILLEJO              CA         90004467277
75236593193739   ANTONIO        GATES                   OH         90014195931
75237194893739   VICTORIA       RANGEL                  OH         64514411948
75243744855947   PACO           IBARRA                  CA         90013157448
75244592641237   AARON          NOLFI                   PA         51085595926
75244682881645   TOM            SMITH                   MO         90013876828
75246715872479   JAMES          GRIMES                  PA         51082677158
75247122172479   STEVE          SIRIANNI                PA         90010551221
75248976355947   THOMAS         JACKSON                 CA         90003359763
75249193655966   KELSEY         HAY                     CA         90003421936
75249478641237   DAVID          BRADLEY                 PA         90009344786
75249793193739   LAKEISHA       RAMEY                   OH         90010127931
75251517181645   SEBIRNA        WILLIAMES               MO         29004925171
75252257172441   EBONY          CARTER                  PA         51035732571
75253167455939   LUIS ALBERTO   RODRIGUEZ CANO          CA         90012781674
75253731555939   RICARDO        VARGAS                  CA         90013707315
75253974341227   SCOTT          GALLO                   PA         51031779743
75254158993739   MICHAEL        DIXON                   OH         90013891589
75255738472421   NANCY          SPALLONE                PA         51084787384
75255975285945   LATISHIA       TAYLOR                  KY         90008419752
75256334241237   HEIDI          WELCH                   PA         51066993342
75256424255939   RICHARD        RODRIGUEZ               CA         90014514242
75256722831433   TAYONA         FOWLER                  MO         90014667228
75258871381643   BETSY          GRAHAM                  MO         90011428713
75261179155939   MIGUEL         CARILLO                 CA         90004981791
75261466357157   BARTON         WEBSTER                 VA         90010024663
75263339172479   CARRIE         GALLAGHER               PA         90014613391
75267755431432   TRACEY         STAMMER                 MO         27523577554
75268475181645   CARLA          PALMER                  MO         29008604751
75269177185945   BLAISE         MANGIANDA               KY         90012531771
75269262431433   TIFFANY        NICHOLS                 MO         90014882624
75271971493739   HENRY          LEDBETTER JR            OH         64579089714
75273896472421   TONYA          DICKANT                 PA         90011788964
75274524157157   LUIZ           RUBLES                  VA         90010545241
75275692841253   SHARON         LEWIS                   PA         90015086928
75281815872441   FRANCIS        XAVIER                  PA         51066888158
75283223341253   MIKE           WILLIAMS                PA         51094702233
75283335833699   QUENSHETA      JACKSON                 NC         90009883358
75283721891572   EVELYN         CARDENAS                TX         75005737218
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75283722155947   RICHARD LEE      MEANS                 CA         90014077221
75288173871921   ERNESTO          GOMEZ                 CO         90014411738
75289297131433   KELLEY           YAHL                  MO         27571732971
75291362961997   ELBA             CEDENO                CA         90007103629
75291765255947   DOLORES          ROMO                  CA         90010637652
75292819371921   DAMIEN           PORTER                CO         32032438193
75295849872441   KAREN            BADER                 PA         51037778498
75296456551349   CHALANDA         MARSHALL              OH         66034254565
75313189721664   MATTHEW          ONEIL                 OH         90014661897
75313222871921   SASHA-KAYE       GRAHAM                CO         90012742228
75313733572479   JOSHUA           DRAGONE               PA         90014627335
75314118581643   JASON            WHITE                 MO         29056061185
75314188333699   NYKIAAH          CURRY                 NC         90004381883
75315838581645   JEFF             TRUMP                 MO         90014978385
75317926833699   NIKOLE           FRYER                 NC         90009549268
75318834255947   LISA             RICHARDSON            CA         90004028342
75318978772441   ALESHA           MCKENZIE              PA         51053739787
75319127833698   PARIS            HAIZLIP               NC         12014681278
75321216457474   PATRICIA         SMITH                 IN         90015492164
75321341781645   MELVETTA         WALTER                MO         90013163417
75322361771921   SUSANNA          GARAY                 CO         90014593617
75322784933683   YVETTE           SQUIRES               NC         90007737849
75322983455947   LISA             LOPEZ                 CA         49047669834
75324145771921   JOSH             FISHER                CO         90008451457
75324215772441   MATT             SMITH                 PA         90012902157
75325293433698   JOSHUA           GRAHAM                NC         90012852934
75325949371948   MIGUEL           CARRERA               CO         90010869493
75325959981621   CLARENCE         BROWN                 MO         90000559599
75327279755939   EMANNUEL         MARTINEZ              CA         90012612797
75328428372479   JOSEPH           FEELY                 PA         90011824283
75333528555947   LUIS             VASQUEZ               CA         90013605285
75334733533698   MONICA           STURDIVANT            NC         90013307335
75335362533698   CHARNELLE        WASHINGTON            NC         90014843625
75336247755939   TAMMY            CHAMBERS              CA         90011842477
75336734572479   SARAH            SMITH                 PA         90014637345
75338321555947   NADYNE           EWING                 CA         90005473215
75338733272421   TABITHA          MCBETH                PA         51097797332
75339664255947   SAMANTHA         CARILLO               CA         90012826642
75341597655947   SAMANTHA         DAVIS                 CA         90006385976
75341721557157   BESSY CAROLINA   ALAS                  VA         90002237215
75343777941237   LAUREAN          KILE                  PA         51039547779
75344417455939   ESTRELLA         RAMOS                 CA         90008504174
75345297431433   ANTHONY          JOHNS                 MO         90014832974
75345944955939   CLISERIO         GALLEGOS              CA         90015179449
75346359355947   KO               VUE                   CA         90013043593
75347914672421   EUGENE           DUGAN                 PA         51062329146
75348216241227   RACQUEL          REED                  PA         90006872162
75348827272421   DAWN             SOPHER                PA         90008208272
75352495531432   TINA             LACHANCE              MO         90001974955
75354565455947   ROSENDO          SANCHEZ               CA         90009105654
75355167181643   OMAR             ENRIQUEZ              MO         29015431671
75355335333698   TINA             LEE                   NC         12052753353
75357437281645   MONICA           TAYLOR                MO         90014744372
75357551972441   MARIA            BRANDERHORST          PA         90011325519
75357729755939   CRISTINA         ARIAS                 CA         48068267297
75358761741253   BRENDA           STAR                  PA         51082247617
75359487785945   ALLISON          PRESTON               KY         67006624877
75361943541237   REGINA           COOK                  PA         90006229435
75362337591969   WILMER           CASTILLO              NC         90011653375
75363761184326   DANIEL           HERNANDEZ             SC         90015467611
75363812172479   ANGELA           BELTRAM               PA         90014668121
75366174461958   JAHAZIEL         HERNANDEZ             CA         90013591744
75367183285945   MIRACLE          RISON                 KY         90009581832
75367564681645   GABRIELA         VILLA                 MO         90011865646
75368618181645   BONNIE           CROWDER               MO         90002886181
75371441333698   DAVID            JETER                 NC         12087484413
75371468471921   MYECHA           TAYLOR                CO         90012654684
75371488555939   MISTY            LOPEZ                 CA         90014864885
75372884155939   MARIA            SOLORZANO             CA         90011118841
75373246971921   GREG             RAY                   CO         32062942469
75373497955947   KIM              RAINWATER             CA         90003014979
75373498231433   CHARLES          CROSS                 MO         90013764982
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75373792333698   AUNDREA            NEWKIRK             NC         90011097923
75374712872441   CARRIE             NEWMAN              PA         51056527128
75375292155939   REBECCA            KOEHLER             CA         90013062921
75376541441237   COLLEEN            DRAGOSIN            PA         51013575414
75381358685945   CAROLYN            MASTERS             KY         90011653586
75382798772421   SHATOYA            SEWELL              PA         51050827987
75386249641253   KATRINA            BASSETT             PA         51052422496
75386985133698   ELIN               ELORAZ RIOS         NC         90006279851
75387139736123   JEANNIE            DECKER              TX         90002691397
75387858281645   MARIA ESTELA       MORALES             MO         90013518582
75388554841253   DENAI              WILLIAMS            PA         90011145548
75389646655966   GUADALUPE          MARIN               CA         48041626466
75389943681645   STEVEN             MARSHALL            MO         90014879436
75391195271921   GARRETT            THORPE              CO         90012661952
75392789855947   JUAN               ANGEL               CA         90014557898
75393591155947   RANDY              HOLLIDAY            CA         90001605911
75393666955939   NONE               NONE                CA         90009466669
75394462155966   JOHN               MENCHACA            CA         90005524621
75395177457157   LILIANE            ASOLO               VA         90002601774
75395462155966   JOHN               MENCHACA            CA         90005524621
75398384433698   CHRISTOPHER        ZACHERY             NC         90013293844
75399662633683   SONIA              BEDOLLA             NC         90005186626
75399677933698   PEDRO              MARTINEZ            NC         90007996779
75413421555947   THELMA             DRONES              CA         49080054215
75413622357157   TEREEN             JONES               VA         90012056223
75414987293736   KELLEY             GRUBBS              OH         64593269872
75417173557157   GLADYS             TAPIA               VA         90003461735
75418926833698   CYNTHIA            WATSON              NC         90011099268
75419328655947   MARIA              SILVA               CA         90014903286
75421467431433   JOANNAH            KELLY               MO         90013774674
75423358241253   JUSTIN             COX                 PA         90001593582
75424123461922   JUDEAN             LEWIS               CA         46014141234
75424244541237   BRIAN              DAETWYLER           PA         90013812445
75425248281645   KEYION             WARREN              MO         90015012482
75425295757157   DONNA              PRINCE              VA         90012062957
75426118431433   PAYGO              IVR ACTIVATION      MO         90014941184
75426366657474   TESLA              HAYES               IN         90015463666
75427427141227   JUDY               KARMANN             PA         51004954271
75428749431432   BYRON              POTTS               MO         27564687494
75428947572479   BETHANY            ALTOMORE            PA         90014759475
75434349855939   FRANCISCO JAVIER   JUAREZ              CA         90015163498
75435157981645   LORI               LAWRENCE            MO         90006991579
75435215555966   JENNIFER           TORRES              CA         90005552155
75435932841253   TRISTAN            ROYAL               PA         90013629328
75436453857157   DAVID              PONSE               VA         90003924538
75437474172479   DOTI               HEADY               PA         51084104741
75438125972479   DAWN               EVANS               PA         90014741259
75438732381645   MAY                TAUTU               MO         90014757323
75439489571921   ROSA               RODRIGUEZ           CO         32056024895
75439998757474   SARAH              DROCKIE             IN         90015409987
75441237733698   SONIA              MONCADA             NC         90013002377
75441469141237   FRANK              MISITIS             PA         51043144691
75441815955966   DAVID              CAMPOS              CA         90007318159
75442158755939   ROSLINA            QUEZADA             CA         48031111587
75442219555947   ALAN               PEREZ               CA         90007972195
75443218531433   CHARLENE           EDWARDS             MO         27592832185
75443617471921   KATHY              FIELD               CO         90015096174
75443716541253   TONY               NATALE              PA         51017347165
75444321872441   ELIZABETH          SEERY               PA         51017163218
75444581841237   THOMAS             WEBER               PA         90004765818
75444842172421   CURT               BURKHOLDER          PA         90010588421
75445616471921   BRANDIE            MCDANIEL            CO         90009606164
75446533891572   NEREIDA            FLORES              TX         90010915338
75447365881644   DAN                FORS                MO         90006453658
75449871872421   BRITTANY           BALES               PA         51051118718
75451632355939   VICTOR             ROMO                CA         90001646323
75451892471921   RAFAEL             FLORES              CO         32065458924
75452397693739   TOYCE              HUTTON              OH         64548483976
75452426155939   CLYDDETTE          VALLE               CA         90006384261
75452677455947   JESSICA            HEIMANN             CA         90011966774
75453867233698   ANTHONY            PINNIX              NC         90011108672
75455686172479   ANDREW             MCPARTLAND          PA         51044426861
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75456217671921   JEROMY        MORAN                    CO         90008182176
75456295472479   BROOKLYN      LINNEMAN                 PA         90014742954
75456437893739   LAURA         HORN                     OH         64561024378
75457539381633   LEON          WILLIAMS                 MO         90009295393
75458363393739   LINDA         THARP                    OH         64571353633
75458521553977   CYNTHIA       BAGGETT                  OK         90014455215
75461589281633   JOSE          GONZALEZ                 MO         90009425892
75464387955966   FERNANDO      SERRATO                  CA         90005593879
75465186855947   CARLOS        DIAZ                     CA         90015101868
75466524581645   REOLA         HAMLEPP                  MO         90006235245
75466752472441   JONATHAN      DURANEY                  PA         51041487524
75466944781643   DENISE        JONES                    MO         90013749447
75469992131443   DENNIS        BOEHLE                   MO         27579349921
75471335855939   RUDY          MENDOZA                  CA         90013033358
75471467257157   JACK          HENRY                    VA         90005654672
75471565771921   TIFFANIE      WHEELER                  CO         90008935657
75472158585945   DEANTHONY     HONAKER                  KY         90008101585
75472587955947   ALBERT        DELUNA                   CA         49070105879
75473686955947   DEMETRIO      GARCIA                   CA         49083286869
75473858761998   ANDREAS       GLUCK                    CA         46009808587
75475334931432   RICKER        BROOKS                   MO         27566373349
75475657793739   SEAN          MORELAND                 OH         90008056577
75475865541253   NICOLE        ROACH                    PA         51036098655
75478748555966   JENNIFER      MORALES                  CA         90005597485
75478791331443   MICHAEL       FRANK                    MO         27524227913
75479632371921   ADIN          ADINRAMIRE               CO         90001976323
75481721755939   NICOLAS       DE LA CRUZ               CA         90013897217
75481791331443   MICHAEL       FRANK                    MO         27524227913
75482354971921   HECTOR        MARTINEZ                 CO         90000763549
75482736633698   TEASHIA       SPRINGER                 NC         12073427366
75483655457474   ALBERTO       SANTANA                  IN         90015496554
75486383431433   CHARLES       BONDS                    MO         90014573834
75486393881645   RIGOBERTO     DE JESUSVEGE             MO         90014373938
75486481371921   ARLENE        CHAVARRIA                CO         32023634813
75487283181643   MIKILIA       TURNER                   MO         90004612831
75487615355939   GUADALUPE     SANCHEZ                  CA         90004836153
75488918131433   KIARA         BROWN                    MO         90013209181
75489278185945   MARTY         PERKINS                  KY         67067762781
75489329255947   JAMILI        CRUZ                     CA         90013983292
75489336533698   ANNABELLA     HARRIS                   NC         90014173365
75489741531443   SIERRA        BURNS                    MO         90011087415
75489839941237   MELISSA       MELVIN                   PA         51017968399
75491525871921   RYAN          KAZAN                    CO         32005575258
75492115472421   BERNADETTE    TRISOLINE                PA         51057331154
75492181555947   CRISTOPHER    REYNOLDS                 CA         90012091815
75492279171921   PATRICK       SMITH                    CO         90012532791
75492992981633   SAREAH        BROWN                    MO         90004799929
75493332241237   RICHARD       FITZGIBBONS              PA         90007473322
75493561633698   JORGE         ALONSO                   NC         90015175616
75495432191378   MICHAEL       WISE                     KS         29008574321
75496589372479   JOANNE        HULL                     PA         90006955893
75498223661597   LISA          MCHOLLAND                TN         90015542236
75513582281645   MARISOL       VIDANA                   MO         90015215822
75514387741253   ROBERT        COLLINS                  PA         90013353877
75515929871921   KRYSTAL       MARTIN                   CO         90003189298
75515957741237   DONALD        LARGENT                  PA         51062159577
75517422172441   LAUREN        DERZIPILSKI              PA         90012914221
75518765557157   WILLIAM       LEZAMA                   VA         81045697655
75522311981633   HEIDI         TORAN                    MO         29001723119
75522899572479   WILLIAM       ROSE                     PA         51015968995
75523129881633   DEB           LOOMIS                   MO         90013331298
75523215531432   SHAULAWN      BELL                     MO         90008832155
75524455541237   NICKOLE       FORD                     PA         51007034555
75525598255928   TONY          VALLEJO                  CA         49077275982
75525931991548   DANIELA       GUERRERO                 TX         90011019319
75526355572479   MEGHAN        FOGLIA                   PA         51019833555
75529626781645   DENISE        GRIFFIN                  MO         29021076267
75533925841237   ROBIN         SHEFFEY                  PA         90002559258
75535439663666   CHRISTOPHER   WHEAT                    MO         90007484396
75535463571921   ROBERTO       BOOHER                   CO         90012404635
75536894133699   TEVIN         WITHERS                  NC         12069688941
75537381941253   JILLIAN       CANASTRARO               PA         51058333819
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75537776933698   SHAMIRA      DESSASAU                  NC         90012997769
75538278872421   AMANDA       BAKER                     PA         51042772788
75538834971921   KERRI        HUSTAD                    CO         32070288349
75539784281633   LEOPALDO     NIEVES                    MO         29049237842
75542631281643   KAREN        DAHMAN                    MO         29075426312
75544421872479   CEAN         BRITT                     PA         51094554218
75545864181643   MICHAEL      STODDARD                  MO         29083858641
75546872755947   ISAAC        SCHOOLEY                  CA         49046848727
75547284372441   ANGELA       MASSIE                    PA         51023502843
75547591455939   DENISE       MEJIA                     CA         90002085914
75547782484322   SHARYN       TAYLOR COX                SC         14549427824
75548444285975   AMANDA       CRUISE                    KY         90006354442
75549465231443   TAMARA       GALBREATH                 MO         90007644652
75552476493739   SEAN         MALONE                    OH         90013574764
75552866855947   KENT         SMELTZER                  CA         49057938668
75553299541253   JESSICA      MURDY                     PA         90013542995
75553676831433   MIROSLAVA    JUAREZ                    MO         90004976768
75555581281643   QUEEN        OYBG                      MO         90004615812
75555929941237   DOMINIOUE    KAMPELL                   PA         90013929299
75556617571921   JENNIFER     DAY                       CO         90011326175
75556989955947   PERLA        GUERRERO                  CA         90012959899
75558826481645   LORI         COLLINS                   MO         90001718264
75559389272479   JARED        ALTAMARE                  PA         51067533892
75559789293739   JENNIFER L   WASHINGTON                OH         64564727892
75561424941253   RYAN         OOSZEWSKI                 PA         90013354249
75561887431443   ERIC         WILLIAMS                  MO         27508088874
75561917355947   CHRIS        MORENO                    CA         90010409173
75562527285945   SHARON       ALEXANEER                 KY         67011585272
75563684781643   SANTIAGO     BARRIENTOS                MO         29001586847
75564119772479   TERRY        HUWEART                   PA         90014911197
75564717541253   DERRICK      REED                      PA         51088107175
75566534585945   NADIA        TAYLOR                    KY         67011585345
75566872271921   CLOVER       BAKER                     CO         90013458722
75567185381645   CAROLYN      ROACH                     MO         90013461853
75567889931443   SHIRLEY      JOHNSON                   MO         27590698899
75569567555947   MARTIN       QUEZADA                   CA         90012135675
75571891955947   VALERIE      PARKER                    CA         49010418919
75572152455939   ELIA         MICHEL                    CA         48045861524
75573156741253   SHONA        BATES                     PA         90014841567
75573843193739   BILLY        CLAYPOOL                  OH         90005878431
75574257341253   LAUREN       GREEN JR                  PA         51074942573
75578226831432   DIANE        TAYON                     MO         90003102268
75578884633698   PRINCESS     SMITH                     NC         12043468846
75578899155947   SANDRA       GUZMAN                    CA         90003748991
75579233341253   ISHMAIL      AYI                       PA         90014852333
75589124893739   CIARA        QUISENBERRY               OH         90008521248
75589132881645   BRIAN        BRATTON                   MO         29092741328
75589686355947   ASHLEY       ROSE                      CA         49040316863
75589749171921   HERBERT      RUSSELL                   CO         90013317491
75591134572441   TAMMY        SANGEMINO                 PA         90006491345
75591452672479   PAM          CARSON                    PA         90005944526
75592957433698   LEROY        HENRY                     NC         90011999574
75594953455966   NANCY        BERMUDEZ                  CA         90002849534
75596246533624   JOSE AMAYA   BORREGO                   NC         90012582465
75597888241237   GREGORY      NOVICH                    PA         90000668882
75598342781645   ISABELLA     SANCHEZ                   MO         90012573427
75598622255939   AMPARO       RENTERIA                  CA         90014836222
75611251931433   CHARLENE     DONOHOUE                  MO         90013532519
75612224141253   JADA         WILLIAMS                  PA         90014982241
75612668891869   TANYA        JEFFERSON                 OK         90010036688
75613638231443   CANO         MARTIN                    MO         90000246382
75614323241237   JANIN        GIANT                     PA         90007703232
75614961471921   CHAROL       COUSETT                   CO         90010299614
75615573555939   ESMERALDA    VELASQUEZ                 CA         90004775735
75615633241227   MATT         DETTLINGER                PA         51062526332
75617824571921   KATHRINE     KANE                      CO         90008818245
75618769731433   RICKEY       BRANSCOMB                 MO         90015257697
75619136631432   KAWANA       AKINS                     MO         27575251366
75625593255939   JOSE         GARCIA                    CA         90014715932
75625796191563   IVONNE       RODRIGUEZ                 TX         90005697961
75627255231433   DAVION       CHRISTON                  MO         90012512552
75628548955939   DAVID        MEZA                      CA         90012575489
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75628587193739   GABRIEL      SCANDRICK                 OH         90011795871
75628849741237   URBAN        HOUSING                   PA         90011508497
75628952371921   ANTONIO      NERO                      CO         90014389523
75629397672421   JAMES        WAITE                     PA         90003943976
75629647341253   VERONICA     STANTON                   PA         51075906473
75629965233698   ERIC         COLEMAN                   NC         12079169652
75632762455939   JOSE JUAN    MARTINEZ                  CA         90013837624
75636535431443   DAEMTRUS     JOHNSON                   MO         90007645354
75636626971921   DESIREE      RUIZ                      CO         32060316269
75637946833698   LYNNE        ROWLAND                   NC         12065919468
75639569731433   KAYLA        CROFT                     MO         90013795697
75639684691572   CARLOS       DELGADILLO                NM         90005916846
75641852785945   LAKOXTA      DIVENS                    KY         90009508527
75642199172441   KATHLEEN     PARONE                    PA         51024871991
75642232581633   SARA         STEWART                   MO         90009752325
75642431681255   JASHUA       DUNFORD                   KY         90009784316
75645483471921   JOSE         HERNANDEZ                 CO         32019534834
75646342555939   JUSTIN       ETHERIDGE                 CA         90013693425
75646827585945   WILLIAM      WEAVER                    KY         90011678275
75646844431433   GEORGE       DUNN                      MO         90007668444
75647534855939   MARIANA      RIOS                      CA         90013185348
75648219855966   JANEY        MEDINA                    CA         90000432198
75648547555947   MELODY       GREER                     CA         90009515475
75649375857129   YOLANDA      MURCIA                    VA         81073363758
75649833355966   OLGA         ALVARADO                  CA         48044418333
75651477355947   MARIO        SOTO                      CA         90000904773
75652345172431   VIRGINIA     LAWSON                    PA         90008623451
75652758757474   ALEX         ROMERO                    IN         90015507587
75653182541253   WILLIAM      CHAPMAN                   PA         90008191825
75653515341237   MARGARET     SCHAEFER                  PA         90007435153
75653662671921   KACEE        COLEMAN                   CO         90010736626
75653988681645   TIESHA       PIPPEN                    MO         90012689886
75656746255939   ESTELA       LEMAS                     CA         90007637462
75657541131443   JENNIFER     NOLAN                     MO         90010315411
75658262672479   LAURA        NEIL                      PA         51050422626
75658313681645   SANTANA      GONZALES                  MO         90000113136
75661836631443   MAURICE      JOHNSON                   MO         27505578366
75663426871921   ELISE        NIELSEN                   CO         32009214268
75663455433698   DEAN         SHAW                      NC         12001804554
75663581193739   CARL         HOWELL                    OH         90014565811
75664126131432   ANNETTE      JONES                     MO         27521271261
75665271755966   CARMEN       BORJA                     CA         90005742717
75665482855939   MARY JANE    CANALES                   CA         90014694828
75666628271921   RUBY         GARDNER                   CO         32016516282
75667921181633   CATHY        COX                       MO         29053079211
75668124131433   JAMES        HOSSMAN                   MO         90015491241
75671659933683   KOLE         METZ                      NC         90008316599
75672153933698   JAMES        HARRIS                    NC         90010621539
75672722481645   KRISTY       HOEGLER                   MO         90013127224
75673161591855   CAMERON      O BRYAN                   OK         90010241615
75673345493739   JUSTIN       BROWN                     OH         64510003454
75673952371921   ANTONIO      NERO                      CO         90014389523
75674785286523   ALLEN        MACINTYRE                 TN         90015487852
75675434241253   KELCIE       PARADA                    PA         90003334342
75676966971921   FERNANDO     BALTIERRA                 CO         32025639669
75677282771921   PATRICIA     LADZINSKI                 CO         90001402827
75677732186443   TIFFANY      ABRAMS                    SC         90014657321
75678343957157   GREGORY      FINNEY                    VA         90003333439
75678796393739   KENNETH      SCHOEBE                   OH         90010947963
75682182391586   JOSE         GURROLA                   TX         75033751823
75682533541253   DANIEL       PAINTER                   PA         90013365335
75682981272441   TINA         GIBBS                     PA         51083129812
75685415593739   PENNY        ERWIN                     OH         90011104155
75686573293739   CHRISHANA    WALKER                    OH         90014575732
75687843471921   RUDY         SALAZAR                   CO         90014728434
75688427593739   TRENT        JOHNSON                   OH         90014874275
75693595993739   TAMERA       WALLACE                   OH         90011325959
75695255981645   ASHLEY       JONES                     MO         90004412559
75695696731433   LAKESHA      MOORE                     MO         90010036967
75697265181645   NICHOLAS     HIGGENBOTHAM              MO         90010572651
75698382561982   CONSUELO     MAGANA                    CA         90007753825
75711236672478   DONNA        BURNS                     PA         51018442366
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75713638531443   ERNESTINE    RANKINS                   MO         27587276385
75713658131433   JULIUS       UNDERWOOD                 MO         27506986581
75714361772479   DENNIS       VACCARO                   PA         51000453617
75714452141237   SOLOMON      VAN GIESON                PA         51040244521
75714459633699   BLANCA       GONZALEZ                  NC         12049784596
75715322881633   SARAH        PHILLIPS                  MO         90013523228
75718459193739   MINDY        BISHOP                    OH         64526034591
75722797757474   INOSENCIO    SAUCEDO                   IN         90015527977
75723389955947   MARVIN       PORTILLO                  CA         90011153899
75724655671921   NIKKI        GRUBBS                    CO         90013006556
75729664655947   JOHN         GALVAN                    CA         49043376646
75729684355947   JEFFREY      NELMS                     CA         90012146843
75731465161975   ANAYA        TRINIDAD                  CA         90010844651
75731789193739   CHRISTINA    FISHER                    OH         90013597891
75732726257129   DARIO        JIMENEZ CASTRO            VA         90008537262
75733243844346   BRANDI       TALIASERRO                MD         90015572438
75733882433698   DONALD       KELLY                     NC         90011128824
75733937285896   KARINA       MORENO                    CA         90006669372
75734674641237   MICHELLE     PASSARO                   PA         90004976746
75734734831433   ADELINA      GINES                     MO         90013997348
75739528841237   HALEY        ENGLEMAN                  PA         51077685288
75742941541237   MARLYCE      WERTENBACH                PA         90013379415
75745251931433   CHARLENE     DONOHOUE                  MO         90013532519
75751777771921   JODY         LOPEZ                     CO         90012667777
75752581855996   JAIME        SANDOVAL                  CA         90007625818
75752858451331   JERMAINE     CALDWELL                  OH         90006398584
75753533451366   ZACH         ZHOBA                     OH         90012655334
75754515872441   ZELIZABETH   NEWMAN                    PA         90001255158
75755247355947   TABITHA      CHAVEZ                    CA         90009952473
75759878833698   ANDREW       POLLARD                   NC         90013408788
75761158255947   BOBBY        MUNIZ                     CA         90012461582
75761563655947   JANNETTA     LANE                      CA         90011735636
75761773181633   ZEE          SMITH                     MO         90007417731
75762314431433   LUIDBIN      MIRANDO                   MO         90012683144
75762783181643   MARIA        MENJIVAR                  MO         29073567831
75763855141237   WILLIAM      MAXWELL                   PA         51000048551
75764534533651   JENNIFER     INGRAM                    NC         90007745345
75765714655947   REYNALDO     VILLAGRANA                CA         90014877146
75767277257157   JOSE         VANEGAS                   VA         81048242772
75769148181645   PEGGY        WEST                      MO         29000061481
75773161841227   SARENE       FOSKEY                    PA         51000971618
75773821933628   NICOLE       PARKER                    NC         90013128219
75774431771921   LINDSEY      TAFOYA                    CO         90012154317
75775511655939   ADRIANA      GOMEZ                     CA         90012755116
75777237772479   RAYMOND      DICKERSON                 PA         51003852377
75778295193739   JEFF         COOPER                    OH         90015272951
75778626333699   RICARDO      HERNANDEZ                 NC         90002276263
75778882755966   EDUARDO      ROJAS                     CA         90005858827
75779454141253   JUDITH       VIETMEIER                 PA         51021144541
75783328531433   CHERYL       NOACK                     MO         90008683285
75785114533698   SAMRETH      KEM                       NC         90008621145
75787569433699   SABLE        WITHERSPOON               NC         12008325694
75788138455966   RAMON        BEDOYA                    CA         90005861384
75788358333698   RAISHA       MERCER                    NC         90014483583
75788721655939   ERIC         MEDINA                    CA         48013847216
75789135755939   MARCALA      LUJAN                     CA         90012561357
75792755655947   MIKE         JOHNSON                   CA         90003467556
75793817571921   MEGHANNE     DIAZ                      CO         90014338175
75793957531433   ANDREA       JONES                     MO         90013439575
75794318951323   BOCAR        DIA                       OH         90008943189
75794589493739   WILLY        JENNINGS                  OH         90002515894
75794868685945   PAYGO        IVR ACTIVATION            KY         90011698686
75795695355939   MARISELA     MACEDO                    CA         90009886953
75796133741253   SONNY        RIPPEE                    PA         90014441337
75796558355939   ABEL         SALAZAR                   CA         90013445583
75796567481645   LASHAE       SHAW                      MO         90012775674
75797143941253   TINA         PASQUALE                  PA         90011891439
75797342655966   MAYRA        URIBE                     CA         90005863426
75797619255939   MARTIN       RODRIGUEZ                 CA         90000666192
75798111257474   JORGE        LEYVA                     IN         90015561112
75799957831433   JAMI         HINTON                    MO         90013209578
75812238372421   BOBBI        ROBINSON                  PA         51064152383
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75813137955947   ROBIN            BRYANT                CA         90006041379
75813458431443   SAM              MCDONALD              MO         27569834584
75813749771921   ALEJANDRA        GONZALEZ              CO         90004247497
75817152333698   TEDDI SHAUNICE   HOUSTON               NC         90011131523
75817229255966   VALERIA          SEPULVEDA             CA         90011342292
75817934897123   HEATHER          BRODEN                OR         90007389348
75818195481645   FERNANDO         GONZALEZ              KS         29015061954
75818512631433   QUINTIN          TOBIAS                MO         90007365126
75819238171921   CATHERINE        ROWLAND               CO         90012602381
75819718381645   ALEJANDRO        NORIEGA               MO         90012937183
75821262433699   JEMICEO          GRAHAM                NC         12096632624
75822344871921   MARVIN           BARRERA               CO         90010783448
75823843371921   JESUS            GARCIA                CO         90013798433
75825245293767   ALLISTER         THORPE                OH         90010912452
75825934885945   APRIL            RAGLIN                KY         67059969348
75827535271921   BARBARA          PEPPER                CO         32020685352
75829158581633   JENNIFER         GANT                  MO         29003071585
75829175831433   MARK             JHOW                  MO         90012411758
75829461881645   CONNIE           BROWN                 MO         90010434618
75831927171921   RODERICK         OWENS                 CO         90013199271
75832166893739   COURTNEY         LUNSFORD              OH         90013621668
75832358771921   MICHELLE         MEAD                  CO         90013623587
75832985533698   JAMES            KEMP                  NC         90011349855
75833968681645   KHALIL           WARE                  MO         90014879686
75835556981645   JONATHAN         RODRIGUEZ             KS         90014935569
75841139593739   NANCY            CARROLL               OH         64595071395
75841413333699   SHEREKA          THOMPSON              NC         12008344133
75842417481633   NALLEY           ROSARIO               MO         90000114174
75842468733698   EMMANUEL         ALVARAZ               NC         90001174687
75844374271921   RAYMUNDO         MORALES               CO         90010333742
75844833441227   CLAY             SCHOEDEL              PA         90007278334
75846453471921   DERRICK          BOSCH                 CO         90014744534
75846824972421   PAMELA           BROOKS                PA         51034388249
75847455593739   AMANDA           WIESEMAN              OH         90012724555
75848252231443   MICHAEL          LANG                  MO         90010302522
75848338181643   RENE             FLORES                MO         90005083381
75849572641253   JOHN             MCKEEVER              PA         51032905726
75852456431468   RONALD           TOWNS                 MO         90010894564
75853273955939   SHAWN            DEPRIEST              CA         90005322739
75853939891962   MARY             BARNES                NC         90010389398
75854496955947   SONIA            HERNEANDEZ            CA         49063854969
75855752371921   ZACHARY          MUNCH                 CO         32057677523
75856853557157   MARK             TIMBERLAKE            VA         90001708535
75857236133698   RENEE            STATON                NC         90001942361
75861363541237   CHRISTOPHER      DEPAOLO               PA         90011103635
75862167386433   ELIZABETH        OLPADE                SC         90015091673
75864572893739   SAMANTHA         SWANEY                OH         90013465728
75865793341237   GLADYS           ROWSER                PA         90010687933
75868141393739   STEPHEN          FORBES                OH         64535791413
75868743155947   AIOTEST1         DONOTTOUCH            CA         90015117431
75869713555939   DAVID            MARTINEZ              CA         90012987135
75871755955939   MIGUEL           RAYA                  CA         90015607559
75873346881645   TODD             BEHR                  MO         90012573468
75873683986443   DENISE           STARKS                SC         90014686839
75873689131443   BARBARA          MULLER                MO         27524366891
75875392693739   RYANE            WILLIAMS              OH         64583773926
75876757155939   RYKER            RODRIGUEZ             CA         90010397571
75877316155947   JOHNNY           HOLLINGSWORTH         CA         90009863161
75878491731433   MONYA            RIDEOUT               MO         90005434917
75881988971921   JONATHAN         RODRIGUEZ             CO         90010889889
75882539131433   VANITYE          BRADFORD              MO         90011425391
75882572184336   SELINA           TURNER                SC         90004675721
75883533972421   EMMY             DEPOLO                PA         51069575339
75886581355947   BRANDY           HICKS                 CA         49050635813
75886664131433   MATIKA           KELLY                 MO         27507916641
75888563155939   EDUVINA          BARAJAS               CA         48066125631
75892195472479   FRED             MILLER                PA         51075411954
75892782971921   JOHNATHAN        DIAZ                  CO         90015287829
75894146957474   JONATHAN         MILLER                IN         90015601469
75894862755947   BRISEYDA         ENRIQUEZ              CA         90012278627
75896895355947   JAMES            ROMLEY                CA         90012418953
75897115441253   GEORGE           BRICE                 PA         90013411154
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75897866955991   CHIA         YANG                      CA         90006528669
75897921241253   JOY          JOHNSON                   PA         90014499212
75899435781645   ANTHONY      ROWDEN                    MO         90004414357
75911924871921   PATRICK      ANOSIKE                   CO         32064579248
75912531431447   MICHELE      ROBERTS                   MO         90002515314
75914516451325   TANIA        REYES                     OH         90012395164
75915549641253   BRIAN        GRIFFIN                   PA         90001055496
75915969355966   ANNABELL     MENDOZA                   CA         90006489693
75916617731432   SHANNON      FOSTER                    MO         90000116177
75916654731433   MATT         LACKEY                    MO         90012426547
75918285441253   MELISSA      GIL                       PA         51059562854
75919522833699   DEHAVELYN    WILSON                    NC         90004525228
75919745861927   DANIEL       ESCOTO                    CA         90014357458
75922787293739   SUE          WATSON                    OH         64561117872
75922916441253   MICHAEL      SWEENEY                   PA         51043519164
75923291372421   JEREMY       NEIDIGH                   PA         51075752913
75923947731433   JULIA        ALLEN                     MO         90004229477
75924123881645   LARRY        CROUSE                    MO         90013071238
75924147655957   ELSA         GONZALEZ                  CA         49077351476
75924171991572   JULIAN       LOPEZ                     TX         90007611719
75924693533698   ASHLEY       HENDERSON                 NC         90005206935
75925263371921   JENN         SPIELMAN                  CO         90003502633
75925381433698   JAMEL        WILLIAMS                  NC         90011133814
75925687133698   KRYSTAL      ROSSER                    NC         90014856871
75926735372479   TRAVIS       PETTY                     PA         51098377353
75927772441237   JEFF         SCOPEL                    PA         90003017724
75928252381633   ADRIANE      BROWN                     MO         90007742523
75928432793739   BRUCE        MATHENY                   OH         90010954327
75934571941253   MARGARET     WALKER                    PA         51034325719
75934998455947   AVER         MOREHEAD                  CA         90014669984
75935343241237   QUILA        SULLEN                    PA         51096613432
75935455641253   LASHAWN      ABRAHM                    PA         90014544556
75936463355947   ADEL         ABDULLA                   CA         90000234633
75936597721771   MARTINEZ     RAMOS                     IL         90015445977
75936834771921   MARIO        VALLEJO                   CO         90013038347
75937438181643   KEVIN        FOLAND                    MO         29071714381
75938342951323   FILEMON      MARTINEZ                  OH         66073203429
75939128331443   JUDITH       HUNTER                    MO         90001311283
75939224351533   CINDY        COX                       IA         90006902243
75941628755947   ARACELI      PIMENTEL                  CA         90014386287
75942995281645   THOMAS       WALLACE                   MO         90013289952
75943854493739   JAMES        WEISGARBER                OH         64532588544
75944437881645   MARVIN       MEYER                     MO         29014184378
75944716693739   AUNDREY      CARTER                    OH         64543247166
75945292633631   CAROLYN      CALE                      NC         90008152926
75945569371921   ELOY         CHAVEZ                    CO         90012115693
75945964472421   SUSAN        GRIMM                     PA         51027539644
75946216181645   BLANCA       REYES                     MO         90013942161
75946958172441   JOHN         SPROTT                    PA         51015449581
75947386931433   VINCENT      DITCH                     MO         90014843869
75947671533699   ANNIE        WITHERSPOON               NC         12070276715
75949649431443   JASPER       GRIPPI                    MO         27580806494
75949653971921   MASADONIO    SANDAVOL                  CO         90007266539
75951899557474   ISRAEL       LUNA                      IN         20596008995
75952319941237   JESSICA      COBBS                     PA         51028413199
75953283541253   ENID         GREEN                     PA         90013432835
75954873281633   TERESA       HUBERT                    MO         29025658732
75954891455947   VERONICA     ZAVALA                    CA         90005538914
75956158955966   DESIREE      PONCE                     CA         48096161589
75956177633698   REGINA       COLE                      NC         90014091776
75963269741237   TIFFANY      GARRETT                   PA         90014852697
75963679841253   MARSHALL     JARRETT JR                PA         51039416798
75964248785945   ERNST        HALE                      KY         90011712487
75964463372478   HEATHER      NOVOTNY                   PA         90012684633
75965639731432   HEATHER      DECKER                    MO         90000116397
75967557893739   DALE         KING                      OH         90013755578
75967842381633   CORA         FAYNE                     MO         29087708423
75968791741227   DAVID        LIPPERT                   PA         51074327917
75969785593728   JOHN         HIMES                     OH         90011987855
75969844671921   FREE         THROWER                   CO         90009098446
75971773972479   AMY          HILPERT                   PA         51040827739
75972845541237   DENA         CHEATHAM                  PA         51077648455
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75972985157157   CINDY           LOMBARDI               VA         81057549851
75975374281645   HUGO FERNANDO   CASTANEDA DE LEON      MO         90013433742
75976573833698   DEVEELE         ASHBY                  NC         90011135738
75976618655939   FIDEL           GOMEZ                  CA         90015396186
75978242972479   ASHLEY          CHEW                   PA         51078702429
75978753241227   KENNETH         POLLARD                PA         51013397532
75981835555947   MONIQUE         RODRIGUEZ              CA         90014718355
75982613957474   OSCAR           HERNANDEZ              IN         90015606139
75985167786433   ELIZABETH       OPLED                  SC         90015091677
75985481433698   DARON           DAVIS                  NC         90012334814
75988153131432   FELICIA         KING                   MO         90007661531
75989625641227   JOYCE           KELLY                  PA         51013406256
75991861731451   FELICIA         WOOLENS                MO         90014818617
75992197744344   RONALD          EDMONDSON              MD         82087531977
75992317571921   LORENA          RODRIGUEZ              CO         32058713175
75993214872421   SHAWN           COLEMAN                PA         51063602148
75995388455947   JERRY           PRICE                  CA         90007483884
75996269257474   WALTER          BERMUDEZ               IN         90011352692
75998118833699   JOSE            GRANADOS               NC         12086961188
75998397631432   RITA            HESSE                  MO         27510253976
75998579171921   DON             POMELEO                CO         32043355791
75999976741253   CLARENCE        MCCALLISTER            PA         51048209767
76111213941253   PASCAL          ETRIPLET               PA         90011982139
76111387971921   LUCITA          TURNER                 CO         90014493879
76111666755966   ANGEL           GOMEZ                  CA         90002906667
76112291755966   SARA            TAPIA                  CA         90014682917
76112863772479   JEREMY          THEAKSTON              PA         90014068637
76113685455966   SHERELLE        JOHNSON                CA         90012756854
76113952971921   JOSHUA          TERRELL                CO         90014139529
76115494881633   FRANK           MORALES                MO         90009114948
76115866871921   KEVIN           MCCURLEY               CO         32027928668
76115875951355   KIMBERLY        POWELL                 OH         90014858759
76119274831432   SANDRA          CLANTON                MO         27546632748
76119695372479   AMANDA          VANHOOSER              PA         90014106953
76125157571921   MARK            WALLIS                 CO         90011431575
76125487633698   SONIA           LOCKLEAR               NC         12035164876
76126253631443   JENNIFER        FALL                   MO         27569732536
76126254241229   ERIKA           SCHULTZ                PA         90008922542
76128315355939   ULISES          CORTEZ                 CA         48083253153
76129231355947   MARTHA          LOPEZ                  CA         90011192313
76129458151355   ANTHONY         KREIDENWEIS            OH         66070974581
76129541371921   JOSE            CHAVEZ                 CO         90011165413
76132324533699   ROBIN           STANLEY                NC         12085273245
76134582671921   LORI            TAYLOR                 CO         32018365826
76137615431433   JESSICA         EVERETT                MO         27585726154
76139692755966   BRITTNEY        APPLING                CA         48075946927
76143436772479   PAMELA          YANKEL                 PA         90012064367
76144426955966   SUZIE           MEDINA                 CA         90008474269
76144775171921   CAROL           ROONEY                 CO         32061527751
76145895541237   MARCI           VASQUEZ                PA         90011148955
76146196591993   MAYLIN          ELIZABETH MAYAS        NC         90010821965
76146438477585   VICTORIA        SEELE                  NV         90012634384
76146524231433   PAUL            JONES                  MO         90004915242
76146592341233   JILL            GUY                    PA         90010745923
76146894841253   DIONNE          DAVIS                  PA         51065308948
76148962751355   GEORGE          SCALF                  OH         90013079627
76149337381633   FRED            TALTON                 MO         90013493373
76151888155939   CINDY           TORRES                 CA         48004328881
76152971455947   CARLOS          MORALES                CA         90008059714
76153226161984   PABLO           OLIVA                  CA         46096502261
76153229255947   RICHARD         GAMEZ                  CA         90012462292
76153566325144   ANDREW          HARMON JR              AL         90013805663
76153974755966   JIMMY           SHILTS                 CA         90011299747
76154382661973   ANGELICA        PRETTY                 CA         90001223826
76155117151355   CHARLES         WYNN                   OH         66095261171
76156684672479   JACOB           TRICKETT               PA         51010966846
76156769781633   MARIO           AGUILAR                MO         90012087697
76157334781633   YAZMIN          MARQUEZ                MO         90011073347
76157472531432   ELIZABETH       LARUE                  MO         90012354725
76161118255966   RAYMOND         MCELWAIN               CA         90014861182
76161423491993   ATAI            RUIZ                   NC         90006174234
76163788633699   ABEL            ARRIAZA                NC         12077487886
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76163955541237   DEVIN        MORRIS                    PA         90014019555
76165883841253   ERIC         MCDONALD                  PA         51082218838
76165891772479   SHAUN        LENZI                     PA         90014848917
76166418241237   JANICE       CLAYTON                   PA         90013714182
76166696131443   DAEIN        KANG                      MO         27569746961
76167585655939   EFRAIN       CALDERON                  CA         90011675856
76168665831432   KELTON       JENKINS                   MO         90013006658
76168752541227   VERNON       SALTERS                   PA         90012567525
76171119881633   ELIZABETH    SOLIS                     MO         90013471198
76171941541253   STARLENE M   BELP                      PA         90002079415
76172447957144   ISRAEL       VEIZAGA                   VA         90010874479
76172532551355   ANA          GOMES                     OH         66095055325
76172634391572   MARIA        MORALES                   TX         90008356343
76174385633698   SHEILA       DUGGINS                   NC         12073143856
76174914441227   JAMES        WELSH                     PA         90002889144
76175977457563   CLARA        CISNEROS                  NM         90011629774
76177234855966   GINA         GARCIA                    CA         48083352348
76177958455947   IRIS         MUNOZ                     CA         90004449584
76179243171921   LISA         GONZALES                  CO         32045982431
76179617655966   MARLEN       GARCIA                    CA         90014786176
76181989691266   EMMA         GRAHAM                    GA         14592839896
76182423981633   TIRONDA      MOSBY                     MO         29001834239
76182825255947   PANTALEON    MORALES                   CA         49095348252
76182975433698   KING         WONDA                     NC         12040619754
76183831355939   MONICA       CARREON                   CA         90011368313
76184314591993   VANESSA      SHORT                     NC         90007753145
76184819871921   ELIZABETH    ZARAGOZA                  CO         90015518198
76185134993739   NOEL         RODRIGUEZ                 OH         90014631349
76187652971921   NAHIMANA     PROSPER                   CO         32053156529
76187665251322   RAFAEL       CHAVEZ                    OH         90002256652
76187874131432   CHRISTINA    ROBERSON                  MO         90011238741
76188214293739   ANGELA       TURNER                    OH         90012872142
76188266133699   GUILLERMO    GARCIA GUTIERREZ          NC         90005542661
76189639355966   MARIA        CISNEROS                  CA         90014786393
76191452671921   EDWARD       HONG                      CO         90009634526
76193666355966   MELISSA      MEJIA                     CA         90014786663
76194531593739   SARGENT      ENGLE III                 OH         90013935315
76195681655966   CHERRY       TERRY                     CA         90014786816
76196681655966   CHERRY       TERRY                     CA         90014786816
76197674181621   MELANIE      GROOMS                    MO         90000716741
76198161793739   WANDA        LAI                       OH         90012451617
76199527171921   CLESA        JOHN                      CO         90009995271
76212144931621   KRYSTAL      SOLORIO                   KS         90006391449
76212448571921   ISIDOR       WILLIAMS                  CO         90012364485
76213126633698   MARVIN       WILLIAMS                  NC         12069451266
76213876281633   MEGAN        HELE                      MO         90010168762
76213968931443   STEWART      MICHAEL                   MO         90007039689
76215827231432   CHARLOTTE    GREEN                     MO         90009978272
76216187341237   JEJUAN       FLUNORY                   PA         90012061873
76217894871921   JOSHUA       GUTIERREZ                 CO         90007998948
76217896191993   MICHAEL      HELMS                     NC         90006478961
76218157271921   EDMUND       GRIME                     CO         90012901572
76218857555947   OFELIA       WELCHOR                   CA         90000268575
76219691171921   ARMANDO      RAMIREZ                   CO         32089636911
76219895581633   BRIANNE      MILLIGAN                  MO         29079738955
76221452831433   JAMES        WALLS                     MO         27592394528
76222316741237   JUSTINE      SHAFFER                   PA         90006073167
76223272541237   ANTHONY      FASULO ROBERT             PA         51005362725
76224224181633   MEGAN        BOND                      KS         90013662241
76224262871921   GABRIELA     FELIZ-GAXOILA             CO         32065752628
76226313572479   BRADLEY      MASON                     PA         90012973135
76226374541253   MICHAEL      SCHACHT                   PA         90010263745
76228266841237   MAURICE      WARREN                    PA         51092332668
76228736172479   BRANDYN      BROWN                     PA         51086357361
76231179971921   JOSEPH       SMITH                     CO         90015211799
76231963493739   ERIC         PATTERSON                 OH         90010899634
76232873972479   CRIS         MARTIN                    PA         90013718739
76233223441227   PATRICK      SMITH                     PA         51051102234
76233724755966   ELVIA        VILLARREAL                CA         90014807247
76233853331432   JOHN         SMITH                     MO         90003538533
76234468255939   KARINA       CAMPOS                    CA         48026744682
76234753966142   CARLOS       DAVIS                     CA         90013667539
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76234917431432   KATRINA      MCCRAY                    MO         90012669174
76236611891849   MONICA       MILLER                    OK         90011176118
76237373961973   ROBERT E     ROAHRIG                   CA         90006373739
76237547855966   LETICIA      DEGUZMAN                  CA         90013255478
76237894851355   DIONNA       MOORE                     OH         90005448948
76241375891935   CARLOS       MORALES CIFUENTES         NC         90008203758
76241659933698   ESTEBAN      GUILLEN                   NC         90001636599
76242172433698   KATHY        RICHARDS                  NC         90000861724
76242447871921   BRITTANY     STEPHENSON                CO         90003244478
76242817741253   SHYLA        MITCHELL                  PA         90011998177
76242957471921   GLORIA       LESSO                     CO         32098299574
76243482555939   JOSEFINA     ALEJANDRE                 CA         90013744825
76245674691993   CHRIS        ALLEN                     NC         17049656746
76245886471921   CAMERINO     ARZATE                    CO         90000218864
76246795881633   DANIELLE     RIPPLE                    MO         90012797958
76247946871921   HENRY        WAFER                     CO         90010149468
76251663281633   GABY         OLALDE                    MO         29004196632
76251789155947   WILLIAM      YBANEZ                    CA         49098617891
76254534355966   ERIKA        TEJEDA                    CA         90014795343
76254974141237   ANDREA       KISH                      PA         90012989741
76255517855947   JODYANN      OSBOURNE                  CA         90009355178
76256941341227   VICTOR       NOEL                      PA         51017889413
76257264455928   NORMA        HUNTER                    CA         90000452644
76257675351368   EARLIENE     MADISON                   OH         90011056753
76259331351391   MARQUIA      WILSON                    OH         90008413313
76262829241253   BEDFORD      TRANSPORTATION            PA         90010088292
76262883455947   EL           BLUE                      CA         90012858834
76263454441253   JAMIE        WHISENHUNT                PA         90005734544
76263754155966   STEPHANIE    SWONGER                   CA         90014807541
76264853941253   MYAH         LOWRY                     PA         90006328539
76264949441253   CHARLES      SPENCER                   PA         90014679494
76265584281633   HAJAH        HAJAH KAMARA              MO         90014155842
76265614755966   JENNA        REED                      CA         90014796147
76265871651355   SHANNON      VEHR                      OH         90012118716
76271466191941   MYSHAUN      FOGG                      NC         90008884661
76272322691522   ALONSO       RIVAS                     TX         90010823226
76272486951355   MARC         MINTER                    OH         90010794869
76273165372479   JOANNA       ZELINSKY                  PA         90009901653
76273414355947   MICHELLE     REA                       CA         49070024143
76273683333698   SHAWN        HENRY                     NC         90010176833
76274117131432   TIN          JONES                     MO         90013121171
76275312381633   TIMOTHY      MCHUDSON                  MO         90013623123
76277857381633   MOLLY        JONES                     MO         90012388573
76278669591993   ARENA        RAMSEY                    NC         90010026695
76279356972479   ROBERT       LAATU                     PA         90014603569
76279893331432   RHONDA       WEBER                     MO         90000578933
76284778393739   TAMEIKA      JONES                     OH         90013287783
76284998572479   GREG         BARR                      PA         51026759985
76286117955947   SAMANTHA     GLENN                     CA         49000771179
76286333472479   JOHN         GOOD                      PA         90013583334
76286741841237   DALE         MOORE                     PA         51086707418
76287365391572   MAYRA        ALVARADO                  TX         90010003653
76288235193739   DAVID        STROHOFER                 OH         64539812351
76288798241237   EARNEST      FRAZIER                   PA         51092217982
76288952955966   GARBIL       GARCIA                    CA         90014419529
76291741181633   FRED         HARRIS                    MO         90011437411
76292987691993   SANDRA       WILLIAMS                  NC         17044269876
76294884781255   MS KENGELA   BAKER                     KY         90002638847
76294898741253   JOHN         ARLET                     PA         90013908987
76295463491993   ARMIDA       JIMENEZ                   NC         90006494634
76295853931432   ROSEMARY     GARTH                     MO         90013608539
76296716255966   JESSE        RODRIGUEZ                 CA         90014797162
76296853931432   ROSEMARY     GARTH                     MO         90013608539
76297948231432   DONNELLA     FUTRELL                   MO         90014739482
76298491641227   SEAN         JONES                     PA         51055874916
76298632255939   CHRISTIAN    RODRIGUEZ                 CA         90009776322
76299491641227   SEAN         JONES                     PA         51055874916
76299733255966   LEANDRO      NUNEZ-RODRIGUEZ           CA         90014797332
76299864255939   PABLO        JIMENEZ                   CA         48018258642
76313286171921   ALEJANDRO    GARCIA                    CO         90015172861
76313587581255   KATHY        MAERTZ                    CA         68064885875
76313683855966   FRANCISCO    AVALOS                    CA         90006806838
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76315191893739   REGINALD     WILLIAMS                  OH         90008971918
76316514541227   LAMAR        PHILLIPS                  PA         90002355145
76317651655966   IAN          WOCUM                     CA         48003016516
76317672955939   TOMAS        PIZANA                    CA         90006606729
76318425641227   WESLYNN      JONES                     PA         90004334256
76318624855939   RAFAELA      LOZANO                    CA         90005196248
76319728255966   CARLOS       ZEPEDA FLORES             CA         90006807282
76323176755947   YESSICA      RODRIGUEZ                 CA         90013831767
76323834141227   KARRI        THREETS                   PA         90006378341
76324457555966   SANDRA       ORTEGA                    CA         48034034575
76324683393739   HELENA       SHEPHARD                  OH         90001956833
76324997891993   SHELICIA     DIXON                     NC         90006499978
76325187655939   YULIANA      GARCIA                    CA         90010711876
76326989291993   CONSWELLA    PLEASANTS                 NC         90011129892
76327625855957   APRIL        JAURIQUE                  CA         90007756258
76327844471921   DWAIN        DAILY                     CO         90015268444
76331277855956   GABRIEL      A ALVARADO                CA         49096612778
76332178771921   MONICA       MYRICK                    CO         90003761787
76333897131432   ANJANETTE    SPIKES                    MO         90014648971
76338166131432   JANNICE      BARTEE                    MO         27501831661
76339194155939   GREG         TORRES                    CA         90006921941
76339336571921   LAURA        DUFF                      CO         32076943365
76339863851355   NEISHA       SCHIBLEY                  OH         66004318638
76344339572479   CECIL        GROW                      PA         90013233395
76344694771921   MARIA        RAMIREZ                   CO         90013376947
76345253231432   NATARRA      TRIPLETT                  MO         90014702532
76346746693739   MICHAEL      GARRISON                  OH         64592427466
76347287351355   BRITTANY     HOLLANDSWORTH             OH         90013042873
76348985461938   TALAL        JABBO                     CA         90003529854
76351353555939   CONNIE       JURADO                    CA         90008083535
76353961371921   VANESSA      RODRIGUEZ                 CO         90013839613
76355183872421   JAMES M      IAPALUCCI                 PA         51028191838
76358334672441   TRIKYNA      TURNER                    PA         51097813346
76358522991993   AMIE         LLOYD                     NC         90008405229
76361446241237   ALEXIS       YOUNGER                   PA         90011114462
76361561841237   ALEXIS       YOUNGER                   PA         90013335618
76361842951355   LINDA        FANTETTI                  OH         90008228429
76362288172479   COURTNEY     HALL                      PA         51067592881
76362899855947   SANDEEP      KAUR                      CA         90015588998
76363632155947   MELVIN       BARRIENTOS                CA         90014396321
76364586691993   SHIRLEY      RUTLEDGE                  NC         90009785866
76365698841227   CAVACINI     THOMAS                    PA         90003706988
76366958741237   MELISSA      STALEY                    PA         90012029587
76368388231432   IESHIA       LOMAX                     MO         27581313882
76369161271921   SANDRA       ORTEGA                    CO         32049421612
76369252921664   BARBARA      DICKINSON                 OH         90014112529
76369623255982   JUAN         MORALES                   CA         90011666232
76371735241227   CRYSTAL      GATCHIE                   PA         90000397352
76371779351355   TRAMELL      JACKSON                   OH         90012067793
76372154955966   RACHEL       VELASQUEZ                 CA         90003061549
76374287571921   LUKE         BALDWIN                   CO         90009092875
76375162455966   CHARLES      HERRINGTON                CA         90014861624
76377191591993   LYDIA        JOSEPH                    NC         17023611915
76377236871921   DARIUS       COX                       CO         90014572368
76379513655966   LINDA        GEORGE                    CA         90008425136
76381479172479   MARSHA       KARLOWSKY                 PA         90004444791
76382363231634   EDWIN        MANDELA                   KS         90013873632
76383393371921   STORMI       EATHERTON                 CO         90009603933
76384925541237   WALEAH       GRIFFIN                   PA         90003549255
76385632493739   ROSEMARY     WITMARSH                  OH         64549596324
76385638493739   KEENAN       BROWN                     OH         90013936384
76386517141253   TINA         KREIL                     PA         51096495171
76388211741227   JOHN         MASON                     PA         90006342117
76389121572479   RENEE        ANDERKOVITCH              PA         51089461215
76391938455947   MICHELLE     URENA                     CA         49051879384
76392862871921   DERRICK      NORMAN                    CO         90000248628
76392922341237   TARTHAN      JACKSON                   PA         90014739223
76395196931443   JOYCE        SMITH                     MO         27568271969
76395383441237   KEVIN        YOUNG                     PA         90010013834
76395826781633   KYRAH        NYAZE                     MO         90012978267
76396871293739   JAVION       HILL                      OH         90014848712
76399472731443   MELVIN       WEA                       MO         90000714727
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76414496951355   ANGELA       CLIFTON                   OH         90011084969
76414658293739   MARCIA       LIVINGSTON                OH         90000536582
76415417861453   JOHN         CITIZEN                   OH         90013884178
76417152641227   ELIZABETH    ZMITRAVICH                PA         90002051526
76418217255939   ROSITA       GONZALEZ                  CA         90010112172
76419543941237   FRANK        WHITE                     PA         90014535439
76421228241237   CHRISTINE    ROCK                      PA         51023502282
76422347671921   JOSHUA       COOK                      CO         90015343476
76423689581633   MICHAEL      SMITH                     MO         90010296895
76425696981633   EMERITA      ORTEGA                    MO         29054336969
76426292171921   RICHARD      CONNELL                   CO         90012692921
76426333831443   YAUNAH       HAIRSTON                  MO         90003313338
76427284331447   GREGORY      MOORE                     MO         90010022843
76427547193728   DEDRUIA      REESE                     OH         90012585471
76428963151355   TISHA        ROCKER                    OH         90013799631
76433392281633   JEAN         THOMS                     MO         90001663922
76433828681633   RANDY        THOMAS                    MO         90012978286
76434159155966   RAQUEL       REYES FLORES              CA         90014871591
76434255881633   COURTNEY     SIMPSON                   KS         90002042558
76435253355957   VICTORIA     DE LA CRUZ                CA         90014492533
76435942641253   AMANDA       BOWLING                   PA         90014609426
76437796133699   BARRY        PARRISH                   NC         12005377961
76438567131432   TRENIECE     SUTHERLIN                 MO         90012725671
76442849855947   JACOB        BISTO                     CA         90015098498
76443225741253   SUSAN        PAWARSKI                  PA         51096262257
76443643931432   DAVID        JOHNSON                   MO         90014876439
76443784555939   CARLOS       VALENCIA                  CA         90002957845
76443887571921   MASHAYLA     OPOKU BERKO               CO         90012678875
76445125241227   KIMBERLY     MAINS                     PA         51088311252
76446191393726   DAVID        CHAFFIN                   OH         90009691913
76447425351355   LINDA        BOSTON RICHTER            KY         90003314253
76451219641237   DEANNA       GARNER                    PA         51078852196
76454323655966   CARLOS       BECERRA                   CA         48062933236
76454585971921   CRYSTAL      BERNHART                  CO         32034965859
76455468955966   OCTAVIO      GUERRA                    CA         90011284689
76457524255939   YURIDIA      GUTIERREZ                 CA         48051315242
76457823793739   VIRGINIA     HUGHES                    OH         64540968237
76458268851355   EDGAR        GABRIEL                   OH         90014652688
76458566393739   PHILIP       LOGES                     OH         64590375663
76458741341253   BYRON        DAVIS                     PA         90006427413
76459458533698   ERICA        MATIER                    NC         90014284585
76459592433698   ERICA        MATIER                    NC         90011305924
76459638572479   ALEASA       WARD                      PA         51054246385
76461142561973   JOE          BATTOU                    CA         90013621425
76463531471921   MARIA        CASTANEDA                 CO         32092425314
76463615693739   MELISSA      STONE                     OH         90010856156
76463916531433   JULIAN       JENKINS                   MO         27554629165
76464737972477   TRACY        BRYSON                    PA         90003557379
76466339355939   ERIC         AMBRIZ                    CA         90011313393
76468367972479   JEFFREY      KENDERS                   PA         51040493679
76469253271921   CLEMENTE     LOPEZ-VIBANCO             CO         90012122532
76469944255966   JONATHAN     SOLTERO                   CA         90012639442
76472291255939   BIANCA       MOLINA                    CA         90011962912
76472572393739   ELIZABETH    SHUPERT                   OH         90009925723
76474221191982   RAKILLI      WASHINGTON                NC         90011592211
76476139931432   RYAN         BLANCHARD                 MO         90010381399
76476298493739   JAMES        BARBOSA                   OH         90007132984
76477294155966   EMILY        DOMINGUEZ                 CA         90010922941
76477926593739   LLOYD        MCGHEE                    OH         64589609265
76478381536123   DONNA        CASTOR                    TX         90008783815
76478394172479   LAMONT       CLARK                     PA         90014623941
76481425431443   STEPHANIE    BYRD                      MO         27539384254
76482288341253   CASHEY       RIENHART                  PA         90006112883
76484342541237   DARLENE      DOMER                     PA         51090233425
76484835155939   JAMES        THOMAS                    CA         48002068351
76484898641253   MATTHEW      PAWLAK                    PA         90012518986
76485261855939   BLANCA       HERNANDEZ                 CA         90013952618
76486233993739   THERESA      DAVIS                     OH         90014802339
76487117131432   DECARLOS     LOMAX                     MO         90011241171
76489144755966   MARIBEL      LOPEZ                     CA         90014891447
76489677791993   CHERYL       HARRIS                    NC         90005356777
76491134655966   JORGE        MELENDEZ                  CA         90014891346
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76492288571921   SIUSAN          FRENCH                 CO         32017862885
76493465241237   DENISE          MURPHY                 PA         51097044652
76494978361924   MAYRA           GARCIA                 CA         90002679783
76495374731432   ALONA           COTTON                 MO         27558033747
76496241972479   LISA            WALKER                 PA         90010122419
76496568471921   KENNETH         BOYKIN                 CO         90014525684
76496675951355   KAREN           BUCIO                  OH         90012466759
76496684871921   REBECCA         VANBUSKIRK             CO         32040916848
76496898651544   DUSTIN          GURWELL                IA         90014298986
76496939751349   CHRISTINA       HIGHTOWER              OH         90003979397
76497462972479   HEATHER         MOCK                   PA         90009184629
76497763251355   SHAUNTA         HOLSINGER              OH         90012427632
76498853331432   JOHN            SMITH                  MO         90003538533
76499629555939   ROSARIO         GRANADOS               CA         90015156295
76511491741253   JON             GOLASHEWSKI            PA         51078314917
76512188755947   SONIA           HERRERA                CA         90010991887
76512814831432   VINTRELL        RUFF                   MO         90013938148
76515155551355   ANTHONY         NOLEN                  OH         66093681555
76515484671921   DAVID           AGUILAR                CO         90014434846
76516359941237   DAVID           CURTIS                 PA         90012713599
76516431381633   CANAA           JONES                  MO         90013204313
76517147155947   CHARLIE         VANG                   CA         90003561471
76517894781633   JASON           RIDENHOUR              MO         29087178947
76519149981633   SARAH           ROBERTS                MO         90014521499
76519524172479   MICHAEL         LEAVER                 PA         51082155241
76521989291521   RAUL            CAMPOS                 TX         90009439892
76522125621942   DIONE           LANE                   IN         90012941256
76522688255939   JORGE           VERDUZCO               CA         90009946882
76523479641237   GREGORY         GIACOMINO              PA         51053794796
76523749933698   SEPTIMIO        FLORES                 NC         12052317499
76523843872479   RACHEL          JASZEMSKI              PA         90005148438
76526288291993   ROCHELLE        PADEN                  NC         90011552882
76527815471921   DOMOTILA        VIDAL GARCIA           CO         32090868154
76528416631433   CHRISTOPHE      EZELL                  MO         27512534166
76529417284784   JENNIFER        JURKOWSKI              IL         90004594172
76531172244346   TAYVON          BRANCH                 MD         90015371722
76531572872479   JOSHUA          POPULAS                PA         90012085728
76532394351355   KISSHIYAH       ISRAEL                 OH         90007343943
76534893691993   MARTIN          GOMEZ                  NC         90011548936
76534977871921   GEORGE          GIBSON                 CO         90014849778
76535123155947   DIANNA          ORTEGA                 CA         49025101231
76535977355939   MARISOL         GARCIA                 CA         48056459773
76536361891993   SHANNA          CLAXTON                NC         90007903618
76536397177599   MARISOL         DUENEZ                 NV         43016393971
76537242133699   WHITLOCK        DREAMA                 NC         12040462421
76537538155947   XAI             YANG                   CA         49054785381
76539774755997   ERICA           AVINA                  CA         90000307747
76544497131432   GABRIELLE       KELLOGG                MO         27574984971
76545747755966   JOSE            AGUILAR                CA         90014947477
76546154755947   ERICA           VALENZUELA             CA         49044511547
76546915581633   EUGENE          STROTHER               MO         29069179155
76546928555966   MARIA LORENZA   URSULO CUARAO          CA         90014929285
76549871381633   BETSY           GRAHAM                 MO         90011428713
76553861681255   JACKIE          CODY                   KY         68075318616
76553881155939   MATTHEW         MARTINEZ               CA         48088918811
76554294461998   RUBEN           SOLANO                 CA         90010532944
76556119381633   ODETE           BELTRAN                MO         90000291193
76557646881633   CHRISTINE       GARGIA                 MO         90012246468
76557886972479   DARLYN          PRINKEY                PA         51082468869
76557939871921   JACQUELINE      EVANS                  CO         90012649398
76558876172479   JOE             TIMKO                  PA         51084508761
76559744391993   JACOB           MCINTYRE               NC         90011207443
76559886972479   DARLYN          PRINKEY                PA         51082468869
76561273191993   FELICIA         HOWELL                 NC         17008382731
76562986771921   AMY             BRYAN                  CO         90011429867
76564329355947   MAY LEE         XIONG                  CA         90003023293
76564517893786   GREG            LANDER                 OH         90007235178
76564811293739   AMANDA          SMITH                  OH         90013938112
76565165731432   DORIS           DEE                    MO         90014811657
76565899357152   JAMA            MOHAMUD                VA         90000858993
76566295793739   MICHAEL         KRIEGER                OH         64503762957
76567882355939   ANGEL           FRIAS                  CA         90013498823
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76568161193728   ASHLEY        ANTHONY                  OH         64574821611
76568483941237   JACLYN        SEDLAK                   PA         90013394839
76571538671921   CLARENCE      RUFFIN                   CO         32065905386
76574635786436   GILBERT       WELLS                    SC         90014236357
76575337336123   JESSICA       LOZANO                   TX         90001643373
76577643255939   NELY          HERNANDEZ                CA         90011396432
76578142671921   KATHRYN       MCAN                     CO         90015121426
76582815955966   ALMA          MENDIOLA                 CA         90014948159
76583192741237   SANDY         NIGGH                    PA         90014841927
76583423361982   REBECCA       LOPEZ                    CA         90011644233
76584346741253   ZECHARIAH     WHITE                    PA         90014453467
76584728233698   LISA          HOSKINS                  NC         12063977282
76585797555921   EDUARDO       HERRERA                  CA         90004297975
76586144855947   GRISELDA      GARCIA ESCAMILLA         CA         49038211448
76587614155939   B             PEREZ-ALVAREZ            CA         90003986141
76588286455964   ANTONIO       TAMAYO                   CA         90008752864
76594331655947   LUCINA        HERRERA                  CA         90014823316
76595715151355   ANTRIA        MCGHEE                   OH         66008217151
76595915141237   SHENEENA      WILMER                   PA         51054479151
76596855531443   KAHDEJA       HAWKINS                  MO         27551658555
76611547554133   ROBERT        HARP                     OR         90013405475
76612556631432   KARNIESHIA    BARRETT                  MO         90007705566
76613771171921   THOMAS        RUSSELL                  CO         90014477711
76613832731432   AMANDA        FISH                     MO         90014968327
76614754441237   JENNIFER      FISHER                   PA         90000447544
76616751472479   DARLA         BALMER                   PA         90004837514
76616943831432   BREAUNA       WILSON                   MO         90003429438
76617966255947   JAIME         GARCIA-ABAD              CA         49083709662
76618882641227   DIANA         TORRES                   PA         51081438826
76622738181627   TAJUANE       LISTER                   MO         90000957381
76624662131432   VANESSA       WOODS                    MO         90002026621
76626333351355   JEROMY        FRY                      OH         90013643333
76626795372479   DIANA         EISEL                    PA         51049847953
76627288293739   SAMANTHA      SHILL                    OH         90012872882
76628372972479   BRANDON       KALBAUGH                 PA         90010053729
76631761793739   MICHAEL       MILLS                    OH         90013937617
76631993441237   LASHELLE      BROWN                    PA         90012709934
76632482561938   DIANA         SEMAK                    CA         90013184825
76633955741253   KENNETH       KALOZ                    PA         51011569557
76636268772421   ANDREW        TRAY                     PA         51082232687
76638437491993   MICHELLE      JONES                    NC         90011154374
76639451771921   MARTIN        PADILLA                  CO         32008144517
76639964872479   SHERMAN       ALDERICH                 PA         90013949648
76641352381623   TITUS         LAUDERDALE               MO         90003943523
76642471131433   DEROND        JACKSON                  MO         90010184711
76642619251355   MILTON        BROWN                    OH         90008866192
76642647131432   JASMINA       DZAFIC                   MO         90002106471
76644993841237   BRANDA        BURRELL                  PA         90006769938
76645956655939   PETRA         REYES                    CA         90013969566
76647419441227   SHARON        BONNER                   PA         90002404194
76648478341237   QUALA         PARKS                    PA         90008064783
76649419441227   SHARON        BONNER                   PA         90002404194
76652213772479   L BYRON       WEST                     PA         90006332137
76652813751355   RAFAEL        SOLIS                    OH         90012088137
76655265651349   AJEKOIYA      ADIGUN                   OH         90009762656
76656287931433   DARREN        EDMONDS                  MO         27558722879
76657645531432   KEITH         WARE                     MO         27521616455
76658666155947   ASHLEE        VARELA                   CA         49008306661
76658996741253   MYAISHA       ROBINSON                 PA         90008849967
76659133741253   BERTRAND      CARUTHERS                PA         51020951337
76659522255947   TERRELL       THOMPSON                 CA         90013785222
76661241993739   CHEYENNA      WHITEHEAD                OH         90012952419
76663488355939   JUAN MANUEL   ARAUJO                   CA         90014324883
76663988131433   CAROL         BRUMGARD                 MO         90002639881
76664997641253   ALEX          DROGOWSKI                PA         90012519976
76665347755947   ALEX          MIRAMONTEZ               CA         90008973477
76665682355939   TERRY         WILLIAMS                 CA         90014026823
76666159741253   JOSEPH        HUDYMA                   PA         51093431597
76667824171921   JOSE          ALCONTAR                 CO         32003228241
76668122351355   ZACHARY       STEVENS                  OH         90015141223
76669131881644   JOY           EDWARDS                  MO         90000191318
76669556751355   RENEE         POWELL                   OH         90015205567
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76672377755947   GABRIELA      ARRIAGA                  CA         49064903777
76672787472479   JAIME         HUDACHEK                 PA         51086227874
76673377655939   MANUEL        VALLE                    CA         90011313776
76674364551355   NICOLE        DUNCAN                   OH         90013283645
76674989471921   CONNIE        YOUNG                    CO         90012959894
76676895872479   MICHELLE R    MAVILLA                  PA         90003838958
76677354393739   BRIAN         SMITH                    OH         90011033543
76678287171921   FELIPE        PALACIO                  CO         90012122871
76678326133698   DEWAYNE       MORGAN                   NC         12088673261
76678679291563   MARIA         BUJANDA                  TX         90000246792
76678856355939   CRISTIAN      ORTIZ                    CA         90003598563
76678898651355   JARED         PERRY                    OH         66037018986
76679177193739   ALBERTO       ARENAS                   OH         90013681771
76681343531432   CHERISE       MCKNIGHT                 MO         90011243435
76681951171921   MONEKE        FRY                      CO         90000979511
76682851255939   ART           CERVANTEZ                CA         90012398512
76683613393739   JOHN          MARTIN                   OH         64568676133
76685276155966   SHERYL        JONES                    CA         48003572761
76688354931433   CHAD          HICKS                    MO         27511423549
76688937681633   LASHONDRA     JOHNSON                  MO         90014799376
76692972941227   TIARA         MCCOLLUM                 PA         90007039729
76693439191586   JUANITA       CORTEZ                   TX         75009944391
76696418593739   DESTINY       HUBBARD                  OH         90011034185
76697375931432   MELVIN        WALKER                   MO         90013253759
76697539955947   CARLOS        HUMBERTO                 CA         90013975399
76699624861984   LOVELYN       ALBANO                   CA         46095216248
76699854671921   LANCE         HANKS                    CO         90015268546
76713587781633   DELILIAH      CURRIE                   KS         90013635877
76714778171921   JON           ELLIOTT                  CO         90004387781
76715227141227   KAYLA         TROVY                    PA         51065022271
76716236933698   SHANDERLEAR   TATE                     NC         90009192369
76717646191892   BECKY         PORTER                   OK         90013256461
76717749455947   CYNTHIA       HERNANDEZ                CA         90014757494
76717776993739   THOMAS        ADAMS                    OH         90013937769
76718281791586   MARTHA        TORRELOZA                TX         90010662817
76718486591563   ADRIANA       HOLGUIN                  TX         90006384865
76719983455939   BELINDA       AVILA                    CA         48088369834
76721192841237   MARCUS        MULDROW                  PA         90013471928
76722359141253   ROBERT        WRIGLEY                  PA         90014243591
76723537341253   RAYMOND       CONEY                    PA         90010455373
76724288981633   NOTRE         WILSON                   MO         90004272889
76724372331249   VINCENT       HENRY                    IL         90015273723
76726199851368   SARAH         WEIGLE                   OH         66070401998
76727622255947   JAIR          CHAVEZ                   CA         49085236222
76727856881633   KHASHEME      STOTHER                  MO         29001778568
76728151951355   JAMES         ISABEL                   OH         66034881519
76732379555939   VERONICA      RODRIGUEZ                CA         48063383795
76732497493739   ANTHONY       DUHART                   OH         90005054974
76732615241253   JAME          CHOUNAEM                 PA         51082586152
76733173631432   JEREMY        PATTERSON                MO         90014811736
76734682881633   TOM           SMITH                    MO         90013876828
76735437677524   MICHAL        BEST                     NV         90005064376
76735854451323   GLENNA        BORCHELLT                OH         66046918544
76737163951349   JOSE          GARCIA-CARMONA           OH         90003531639
76737862281633   JONEA         CHARLES                  MO         90006648622
76738186255947   LUIS          RAIZ                     CA         90013121862
76738355133698   HEATHER       WOMACK                   NC         12001443551
76741213891586   ERICA         ESTRADA                  TX         90002512138
76741376391993   JOSE          MARTINES                 NC         90007073763
76741478457364   PAYGO         IVR ACTIVATION           MO         90009284784
76742362851355   PATRITA       BRYANT                   OH         90013493628
76742513255947   MIGUEL        CORDOVA                  CA         90014895132
76742688631433   NASSUMA       JABATEH                  MO         27565986886
76743396955947   CARLOS        GARCIA                   CA         90012213969
76744797371921   DARLENE       BOHATCH                  CO         32094567973
76745471181255   JEFFERY       PARKS                    KY         68077234711
76746693193739   DARRELL       ELAM                     OH         64540866931
76749121455947   PEDRO         LOPEZ                    CA         90010131214
76749464255966   DEBBIE        CLAY                     CA         90008014642
76751537771921   KARL          FRONDA                   CO         32002935377
76752179541253   THOMAS        MILLER                   PA         90013661795
76752444672479   AMANDA        LOCY                     PA         90014794446
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76754488855939   LORENA        ALCAZAR                  CA         48076574888
76755181371921   JOVANY        CRUZ                     CO         90012411813
76755793531432   THOMAS        PHEGLEY                  MO         90006627935
76755937355939   MARIA         VASQUEZ                  CA         90007639373
76756768631432   SHAYLA        VERGES                   MO         90001757686
76757288571921   BRITTANY      FISHER                   CO         90015162885
76757814655982   LILLIAN       GARZA                    CA         90006408146
76758985493739   JAMES         WEBER                    OH         90014639854
76762379193739   JESSE         ORR                      OH         64579613791
76762433881633   JASMIN        DONAHUE                  MO         90010784338
76764592491521   EDWARD        RUIZ                     TX         90010735924
76766293193739   THOMAS        GUNN                     OH         90012682931
76768273731432   AHMED         LEWIS                    MO         90014682737
76768644771921   PATRICK       CAGLE                    CO         32079086447
76769754231443   MEHEDIN       SALIHU                   MO         27557437542
76772723547987   JUAN CARLOS   SILVA                    AR         90010147235
76773353941237   MARTEL        SISCO                    PA         90014113539
76776274141253   PEGGY         CLARK                    PA         51022262741
76776943881633   LISA          FULTE                    MO         90005829438
76777184836123   MARY          RODRIGUEZ                TX         90013891848
76781194931432   KEYUANA       RICHARDSON               MO         27591681949
76782423355939   PAMELA        JUAREZ                   CA         90013794233
76783789293786   SHAY          PENNINGTON               OH         90013417892
76786454531443   BRANDY        DUNHAM                   MO         27506964545
76787746571921   NATASHA       FLORES                   CO         90007017465
76788641181633   ROBERT        JORDAN                   KS         90013776411
76789478571921   RICHARDS      MICCOY                   CO         90012134785
76793122393786   JOSELYN       WELLMAN                  OH         90004591223
76793886833698   CLAUDIA       MONZON                   NC         90012528868
76795186555939   GUADALUPE     LEON                     CA         48060181865
76795527351355   YULIYA        BUI                      OH         90012595273
76797194631432   CARTER        BLUE                     MO         90009701946
76797779831433   KALVIN        DAVIS                    MO         90007237798
76798775741237   DANYETTE      HARRIS                   PA         51046607757
76812276281633   LETITIA       ENGLISH                  MO         90010392762
76812325271921   CRISTIAN      LOPEZ                    CO         90012083252
76812983841237   MICHEAL       SMITH                    PA         90000159838
76813946851391   TERRENCEL     WALKER                   OH         90013979468
76814385384381   TARLOWSKI     LAUREN                   SC         19066643853
76814849391225   CHARLES       HAMILTON                 GA         90001828493
76815972651355   OLANDAS       JOHNSON                  OH         90006479726
76816172641237   THOMAS        YOCUM                    PA         90013441726
76816869855947   EVELYN        GIL                      CA         49009978698
76817856131432   TRACY         SMITH                    MO         27511618561
76818127171921   BRANDON       LEE                      CO         90015141271
76818578955947   CHRISTINA     LARSEN                   CA         90010795789
76819299141253   RANDY         THOMPSON                 PA         90013262991
76819336693739   MAC           WARD                     OH         90010543366
76819389793739   NATURE        ROSS                     OH         90013243897
76822374241227   FRED          FRICKS                   PA         51094113742
76824125871921   JOSE          ALVARADO                 CO         90001691258
76829313693746   KYLE          SCANTLAND                OH         90015343136
76829521955947   VALENTINO     AGUERO                   CA         90014665219
76831195841253   CONSTANCE     STEVENSON                PA         90012501958
76832924833698   ANDREA        TYSON                    NC         12036929248
76833385341227   JOSEPH        LINDAHL                  PA         51069453853
76835549144344   CARLOS        MURILLO                  VA         82038935491
76835818472479   SUSAN         CALDWELL                 PA         90010168184
76836257355939   DIANA         RUIZ                     CA         48086142573
76841497271921   SANDY         HUGHES                   CO         90010044972
76842396872479   RANDY         EARLEY                   PA         90002543968
76842619541253   SHANA         SCHILLER                 PA         90013026195
76844897331432   CHERON        WALLACE                  MO         90011238973
76845795655939   JOSE          MENDOZA                  CA         90012547956
76847278633699   SHAKIRA       CAMPBELL                 NC         90005842786
76847677951355   JAMES         BRANTLEY                 OH         90000186779
76847719491993   JAQUELINE     MIDENCE                  NC         90011237194
76847963331453   TONITA        EDLEY                    MO         90008669633
76855212731432   RYAN          KAVANAGH                 MO         90014802127
76856971933698   LINDA         LEE                      NC         12008269719
76857699955939   SIOMARA       MENDOZA                  CA         90014076999
76857814641237   JOSH          MARLING                  PA         51006068146
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76858646793767   DERION       JOLLY                     OH         90004386467
76859325555939   MYRA         ONTIVEROS                 CA         90012093255
76861272871921   THOMAS       SCHREPEL                  CO         32091512728
76862398155947   JESSE        GUTIERREZ                 CA         90013803981
76862811233626   HFHHH        HNJ                       NC         90015438112
76862998541253   JASON        DEMMIE                    PA         90014559985
76864535451355   RICCA        PETTIJOHN                 OH         90012505354
76864598833698   NATICOLE     SURGEON                   NC         12012415988
76865999255947   ALYSSA       GARZA                     CA         90015389992
76866389793739   ROBIN        COATNEY                   OH         64522463897
76866898581633   MARY         MESTETH                   MO         90007328985
76867593851355   SHAMIER      CARPENTER                 OH         90015195938
76868897355939   ALBERTO      GOMEZ                     CA         90003148973
76869112171921   ELIAS        GONZALES                  CO         90004741121
76871738161997   GEORGE       LEWIS                     CA         46084827381
76872714655947   LETICIA      ZAMARRIPA                 CA         90003847146
76873569555964   LETY         SAUCEDO                   CA         90001145695
76873711155947   TAMEKA       CROCKETTS                 CA         90014337111
76874147933643   ARISTIDA     TORREZ                    NC         90011661479
76874955955947   JUAN JOSE    GONZALEZ-CRUZ             CA         90009409559
76875177893739   SARAH        MATHENY                   OH         64500791778
76876863284336   TANEEKA      WRIGHT                    SC         90008628632
76877529431426   TIMOTHY      NORATH                    MO         90010685294
76877631451355   GIOVANI      SALGADO                   OH         90012946314
76878684472479   ROBERT       NICHOLS                   PA         90009586844
76878974255939   MARIA        MADUENA                   CA         90008639742
76879972341227   MICHELLE     MURRAY                    PA         51095459723
76879997571921   STEVEN       GURALE                    CO         90007689975
76881591372479   AMY          GREGRIS                   PA         90009585913
76882446141227   DOROTHY      HARPER                    PA         51085694461
76882937871921   JOSLIN       SCANNELL                  CO         90012229378
76883276841253   MICHAEL      VIDNIC                    PA         90011982768
76883462191924   ELVIRA       ALVAREZ                   NC         17096724621
76884214471921   CHARLES      MAIER                     CO         32092842144
76884884481633   REITA        ROE                       MO         90003328844
76886169572479   PRESCOTT     PRANKE                    PA         90012231695
76886495371921   KURT         TIPTON                    CO         32092844953
76886518341237   ASHLEY       MUSTIN                    PA         90001765183
76887852241253   MONIQUE      KINSEL                    PA         51027168522
76888166955966   ALICE        FERRAZ                    CA         90007371669
76888535341253   CHARLES      MCDONALD                  PA         51082095353
76888796755947   JESSICA      PADROSA                   CA         90012197967
76891381473233   VIVEN        SHAW                      NJ         90014773814
76892233155966   LEONARD      GARCIA                    CA         90011242331
76892514191522   LUIS         CONDE                     TX         90008745141
76893735755947   SHAWNTEE     WHITFORD                  CA         90011167357
76894495972478   JEFFREY      HOUSER                    PA         90007814959
76894658881633   LANELL       DONALDSON                 MO         90009816588
76894966451355   LISA         STIDHAM                   KY         90013799664
76896495341253   FRED         SHORT                     PA         51012134953
76896569155946   MARIO        COLUNGA                   CA         90012095691
76912679293739   ANGIE        GIBSON                    OH         90010546792
76916366851337   PATRICIA     EDWARDS                   OH         90011773668
76919545684329   DOROTHY      BLACKBURN                 SC         90004865456
76924675951355   KEYASHA      SPIKES                    OH         90009706759
76927215631432   DARONTE      JOHNSON                   MO         90014802156
76927371263669   DIANA        MANN                      MO         90013413712
76927785451326   MATT         STEWART                   OH         90002677854
76928743655947   GUADALUPE    VILLANUEBA                CA         49085447436
76929121355947   DIANA P      FELIX                     CA         49048581213
76929298171921   GUADALUPE    PEREZ                     CO         90015352981
76931877441227   NATALIE      WAGNER                    PA         51046598774
76933425631443   LAURA        DUDLEY                    MO         90012574256
76936199171921   COUNTRY      CAT                       CO         32016641991
76936874641237   KIRK         DUVE                      PA         90008018746
76937462561981   REYNA        REBOLLEDO                 CA         90008424625
76937487551355   MARY         JORDAN                    OH         90010794875
76937913691993   TENISHA      JORDAN                    NC         90007309136
76939777777382   ADAMA        LOVE                      IL         90008227777
76941193931432   VAUGHN       SPIVEY                    MO         90013941939
76941519655939   PRICILLA     NARVAEZ                   CA         90014915196
76943566593739   JOHN         VANDERPOOL                OH         90012605665
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76945178931443   E            WHITE                     MO         90011791789
76945927241237   JOANNE       TRUSCHINGER               PA         90012759272
76949548131432   RAI          MONI                      MO         90012465481
76949718641253   JEREMY       SONNER                    PA         90014777186
76955237641227   BRITTANY     JONES                     PA         51029342376
76955516931432   INDIA        HATCHER                   MO         90006935169
76958959472479   MARLA        SILLINGS                  PA         51093359594
76961789693728   SHAYLA       SHEARER                   OH         90001077896
76962785972479   HEATHER      BUCH                      PA         51006507859
76963955751355   SARRA        ZIMMERMAN                 OH         66065839557
76964787991566   RAMIRO       OZAETA                    TX         90001597879
76965776651355   TONYA        MOBLEY                    OH         66020467766
76969486755939   ALMA         ROSA CASTELLANOS          CA         48011684867
76969644731243   THERESA      MATHEUS                   IL         90007546447
76971755872479   JEFFREY      BITTINGER                 PA         90014187558
76972198531458   GILBERT      LLOYD                     MO         90001111985
76972533872479   LOU          MARINOS                   PA         90001375338
76973919951355   EMILY        CAIN                      OH         90014859199
76974446255947   CONRAD       DELMVNDO                  CA         90007114462
76975584781633   ROBERT       JACOBS                    MO         90008485847
76978536755947   MEGAN        BONMAN                    CA         49091625367
76978784271921   TONYA        DIEHL                     CO         90011067842
76982341793739   BARBARA      TRENT                     OH         90012423417
76983548155947   TERESA       MARTINEZ                  CA         49021055481
76984457255939   RAFAEL       SEBASTIAN                 CA         90013794572
76985924693739   DEANA        MYERS                     OH         90005909246
76987842641227   NIKKI        SIMON                     PA         51034038426
76988821191969   HUGO         ANGULO                    NC         90012218211
76989318291563   MIKE         TORRES                    TX         90007683182
76989466471921   TANYA        BRYANT                    CO         90012474664
76989483955939   ESPETACION   QUINONEZ                  CA         90014494839
76992491141253   IMOGENE      JOHNSON                   PA         51013734911
76992967655947   LYNETTE      SANDOVAL                  CA         90012589676
76993487157144   SONYA        WATKINS                   VA         90013144871
76995765193739   ROBYN        ROBERSON                  OH         64519637651
76995811591993   MONICA       AGUIRRE                   NC         90011248115
76996896791549   SERGIO       LARA                      TX         90012458967
76997197372479   AMANDA       AUSTIN                    PA         51095571973
76997447891578   MELISSA      MARTINEZ                  TX         90012964478
76997949161964   GEORGE       SNYDER                    CA         46085899491
76998345951355   KEYANA       BROWN                     OH         90012863459
76999122855939   YADIRA       RODRIGUEZ                 CA         90003601228
77111378131443   BRIANNA      LEE                       MO         90012923781
77111811341253   ISRAEL       HILL                      PA         90011188113
77111864955969   TARA         WILDER                    CA         90007568649
77112954551368   RENY         GRAY                      OH         90004389545
77114653651391   RONDA        TUSSEY                    OH         90001566536
77115833381633   DAVID        WILLETT                   MO         90014538333
77116156931443   AMBER        DANCER                    MO         90011251569
77117174431432   TERINE       LAMB                      MO         90014831744
77117932671921   AMY          DUTCHER                   CO         90014279326
77118518891588   RODLFO       LOPEZ                     TX         90010805188
77119779791588   DARIO        RODRIGUEZ                 TX         90002817797
77122357881633   YOLANDA      WALKER                    MO         90013443578
77127572144344   MARIA        CONDO                     MD         90015475721
77128166555951   JONI         STEINAUER                 CA         90007691665
77128318872477   GWENDOLYN    MOORE                     PA         90003563188
77128978691588   MARIA        RODRIGUEZ                 TX         90007889786
77128987491522   ESMERALDA    CASILLAS                  TX         75064039874
77131432791588   JUAN         MARTINEZ                  TX         90000334327
77132368371933   RICK         GRIEGO                    CO         90002683683
77134617971937   KAYLA        COLE                      CO         90010036179
77135557755947   HUBER        MEDRANO                   CA         90013875577
77135828731433   CHRISTY      HUNT                      MO         90006968287
77138372955969   CARMEN       DIAZ                      CA         48047423729
77141332433699   CLAUDE       GOODWIN                   NC         90005973324
77142566141227   DONNA        SCOTT                     PA         90002045661
77143229133698   CHARMYA      THORNTON                  NC         90014012291
77143369272479   ALEXANDRIA   ALLEN                     PA         51091163692
77143426971921   CAROLANN     VIGIL                     CO         32091004269
77143589193739   KIYA         TESS                      OH         90009335891
77145865121759   TAIA         WILLIAMS                  IL         90013288651
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77148544491588   HUGO         JARAMILLO                 TX         90001615444
77149175241227   MICHELLE     HANLIN                    PA         51043921752
77149445581633   FIDEL        BRITO                     MO         90014464455
77151828831432   SHANRQUIK    SHAW                      MO         90014008288
77152793671921   MELISSA      REDMAN                    CO         90013477936
77153199731432   TIJUANA      BARNETT                   MO         90005541997
77153612193739   WILLIAM      SEAL JR                   OH         64531106121
77154478633698   MONICA       LEDEZMA                   NC         90013544786
77155562472479   GINA         DENITTI                   PA         51055115624
77157211155969   PEGY         HENSON                    CA         48095412111
77157944431443   ANTHONY      BROTHERS                  MO         90014179444
77161653591588   BRENDA       CEBALLOS                  TX         75097486535
77162173433698   BARRINGTON   MILLNER                   NC         90013151734
77162381171921   KRISTINE     HERSELIUS                 CO         32029673811
77162515655969   ASHLEY       CLINE                     CA         90014615156
77164942371921   JERRY        JONES                     CO         90010619423
77166149344344   KAREN        GONZALEZ                  MD         90013251493
77166264547956   DAISY        ALVARADO                  AR         90015582645
77166756355921   ERINE        MORENO                    CA         90007837563
77167299255947   SOURITH      THENBOUAPHA               CA         90009232992
77168317331432   HALL         CARLE                     MO         90009843173
77168984231443   ANNETTE      COLE                      MO         90014179842
77169621557152   JORGE        MORDI                     VA         90013876215
77169995371921   CONRADO      VILLEGAS                  CO         90006369953
77171645431432   STEPHANIE    KELLY                     MO         90007036454
77175311833698   NIKI         SHULER                    NC         90008203118
77177476341241   MARY         ANN DEAN                  PA         90012224763
77177477331482   JAMECIA      GILCREASE                 MO         90013124773
77179415531443   STEPHANIE    RATLIFF                   MO         27570164155
77182167141286   JACQUELINE   HARRIS                    PA         90003141671
77184389493739   DAVID        HARVEY                    OH         90002553894
77185678491588   MARIA        MELENDEZ                  TX         90013576784
77187648731433   CHRIS        BROWN                     MO         90011986487
77188266791588   ABRAHAM      MORALES                   TX         90010422667
77188445333698   PATRICIA     MOORE                     NC         12062614453
77192996531443   SHONTAY      BAKER                     MO         90014179965
77193316871921   ABBEGAIL     TALAIN                    CO         90015353168
77197155181633   JOY          JONES                     MO         29087391551
77197547655947   LILY         GARCIA                    CA         90001415476
77199499271921   PATRICIA     BEATRIS                   CO         90007764992
77211139571921   LUCIA        MALDONADO                 CO         32053161395
77212722757143   SANTOS       AREVALO                   VA         90013897227
77215392591588   GINA         GOMEZ                     TX         75067953925
77217258672479   JOSEPH       KOVAL                     PA         90002482586
77217991741253   MICHAEL      DOBRANSKY                 PA         90008159917
77218974791588   MANDY        FUENTES                   TX         90004209747
77221895891588   FRANK        DOMINGUEZ                 TX         90001108958
77222448731432   KAYLA        LEVENBERRY                MO         90014534487
77222887493739   TIMOTHY      HAWKINS                   OH         64515218874
77227781238522   BRITTANY     KINDER                    UT         90006357812
77228474671921   NIKKITA      WOMACK                    CO         90009654746
77228773491588   MARTIN       ALCANTAR                  TX         75092737734
77228917133698   MICHELLE     VANHERPEN                 NC         90010899171
77232573277339   AIDA         BURGOS                    IL         20590375732
77232986591588   BRENDA       MENDOZA                   TX         90013159865
77234264331433   DWAYNE       KENNELL                   MO         90013192643
77235139593767   LEBRISSKA    PWERS                     OH         90001571395
77235197254121   RANDY        PITTMAN                   OR         90015021972
77235876733698   KRISTY       GALVAN                    NC         90005538767
77237189271921   MICHAEL      FORSTROM                  CO         90013871892
77238326271921   JUAN         SANCHEZ-SAAVEDRA          CO         90014543262
77238518391588   RAMON        RAMIREZ                   TX         75033235183
77238726893739   ANTANIQUE    WATTS                     OH         90012507268
77239116491588   BEATRIZ      SANCHEZ                   TX         90014321164
77241397655969   TINIDAD      VERONICA MORENO           CA         90013233976
77241512961985   CHRIS        HIGGINBOTTOM              CA         90009595129
77241567655982   ALVARO       ARIAS NAVARRO             CA         90001365676
77241575941237   CHRISTINA    LEONARD                   PA         90015055759
77244889991849   ALEJANDRA    VALENCIA                  OK         90010328899
77245418193739   JANET        POWELL                    OH         90013194181
77246451531433   TAMARA       GIBSON                    MO         90008744515
77246885831432   SANNI        DALIPI                    MO         27512728858
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77247245155947   JAIME          FLORES                  CA         90013842451
77247525493739   DANA           HAIRSTON                OH         64568315254
77247945855969   TEODORO        GOMEZ                   CA         90014159458
77248578733698   GAIL           HENRY                   NC         12059905787
77249773433698   JOEY           JONES                   NC         90014127734
77252127441227   RAYMOND        KOCAK                   PA         51077021274
77252912551378   CHARMAINE      JONES                   OH         90001499125
77253293241253   JIM            ZEITLMAN                PA         90005752932
77253473631432   SHALONDA N     HOPGOOD                 MO         27550694736
77254677133698   LAQUIS         COBBS                   NC         90012946771
77254815741227   JAMIE          GRABOWSKI               PA         51065398157
77255352855969   ERICA          DENNIS                  CA         90015033528
77256578831433   JIMMY          DEMIERRE                MO         90012585788
77257751371921   JENNIFER       MOON                    CO         90010627513
77257982391588   SAMUEL         TREJO                   TX         75092679823
77258316131432   ERROL          MORUZZI                 MO         90010973161
77258372641237   ANNITHRA       SALTER                  PA         90014263726
77258425321676   GLORIA         VAUGHN                  OH         90014344253
77263558131443   HOLLY          LOEHR                   MO         90013405581
77265877531433   PA DAI         DAI                     MO         90014758775
77267452991588   MIGUEL         SEGOVIA                 TX         90010654529
77271234386523   CALVIN         MCMAHAN                 TN         90015472343
77271771393739   GARY           ZIMMER                  OH         90010357713
77272343171921   LAVONNA        SLATER                  CO         90010213431
77272732761985   LEWIS          LEARY                   CA         90011987327
77273594751331   CYNTHIS        STONE                   OH         90009445947
77275426633698   BEATRIZ        ORTIZ                   NC         12010174266
77276313791588   ALBERTO        MORENO                  TX         90005333137
77277117891588   MIRIAM         CASTRUITA               TX         90014321178
77277329333698   KIMMERLY       WALDEN                  NC         90009653293
77277377441227   KRISTIE        TONDOLO                 PA         90005453774
77278366933698   ANA GABRIELA   LOPEZ GUERRERO          NC         90010643669
77279164555969   JESSICA        RODRIGUEZ               CA         90013911645
77279413671921   MAGDA          JACQUEZ                 CO         90000944136
77279696851382   ANTHONY        THOMPSON                OH         90007936968
77281381693739   DEMARRION      SMITH                   OH         90013063816
77281734541227   ASHLEY         ANKROM                  PA         51088327345
77282285631433   TAIWON         OLIPHANT                MO         90012322856
77282899741227   TASHA          SPENCER                 PA         51085258997
77283175193739   AMY            JACKSON                 OH         64541801751
77283428755969   DAVID          TOUJILLO                CA         90014904287
77283569981633   AERIELL        CHRISTENSEN             MO         90002635699
77283793571921   ROCKY          ARMIJO                  CO         90001847935
77284399793739   AARON          ROBINSON                OH         90014843997
77285787391588   ZAIRA          SALINAZ                 TX         90010167873
77286544931433   IVONNIE        MARSHALL                MO         90012665449
77291283931443   STACCIE        BELL                    MO         27570422839
77291587231432   KEYLA          SMITH                   MO         90008945872
77292781991588   ALMA           RAMIREZ                 TX         75043487819
77293512841253   MARIA          LOPEZ RENOJ             PA         51047235128
77293579271921   CONSTANCE      AVALOS                  CO         32003415792
77294918831432   JAMES          STIDHAM                 MO         27515269188
77296134971921   ROBERTA        VIGIL                   CO         32026641349
77296736231443   TRICIA         CROSS                   MO         90012467362
77297332355969   LUIS           SALCIDO                 CA         90010363323
77297355431443   CROWS          SEVEN                   MO         90008553554
77311625271921   JORDAN         MUMPER                  CO         32062636252
77313688541253   LORI           BRELL                   PA         51011146885
77313878691932   STACEY         SMITH                   NC         90014998786
77314245155947   JAIME          FLORES                  CA         90013842451
77316374291588   BRENDA         SALAS                   TX         75045583742
77317122833698   MARIA          DIBUT                   NC         90010431228
77317271331443   STEPHAN        CANO                    MO         90014182713
77317624671921   STEVEN         BENAVIDEZ               CO         90004906246
77321862891588   LETICIA        RODRIGUEZ               TX         90015018628
77323369833698   LAKEENA        FRAZIER                 NC         90012883698
77326385531443   TANEISHA       WHEELER                 MO         90012773855
77326434981633   MARIA          CASTRO                  MO         90015034349
77326683131433   OCTAVIA        WALKER                  MO         27567616831
77327398481633   TARA           HUTCHINSON              MO         90000683984
77331324131443   TAIWU          KIM                     MO         90014183241
77331571455969   SELINA         QUIHUIZ                 CA         90015115714
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77331711341253   SARA         DUNNETT                   PA         90011327113
77332935191588   IVAN         GARDEA                    TX         90004969351
77333828331475   MELITA       ROBINSON                  MO         90011418283
77333917371921   STEPHANIE    WHITTEMORE                CO         32006299173
77334925455921   ALBERTO      CASTILLO                  CA         49086119254
77335395571921   TINA         SPIELMAN                  CO         90009683955
77335417531443   WARDELL      MORGAN                    MO         27505044175
77338558955969   KASANDRA     WALKER                    CA         90012915589
77338639141253   SHARON       ORBIN                     PA         51008386391
77342429451376   CHRIS        FITZGERALD                OH         66009504294
77343763291588   VERONICA     BENAVENTE                 TX         75066937632
77345456671921   TERESINA     AVILEZ                    CO         90006094566
77345727831433   SHELIA       HARVEY                    MO         27559007278
77348191391966   DESSENA      HILL                      NC         90010451913
77349951991932   PETRA        HERNANDEZ AGUILAR         NC         90006799519
77353531233698   SARA         WEEKS                     NC         90013205312
77353847981633   MANUEL       ESPITIA                   MO         90009808479
77353982355969   NORMA        PARGA-ESPARZA             CA         90002359823
77354213191588   JOSE         CARBAJAL                  TX         90003812131
77355455731432   DOUGLAS      PROCTOR                   MO         90002034557
77355625491966   PHRELANKA    WOODS                     NC         17031066254
77355626291863   BRENDA       LARK                      OK         90000686262
77355719231432   ASHLY        LOREN                     MO         27509867192
77356594155969   CHRISTINA    GOMEZ                     CA         48097305941
77358874341253   CARLA        STREET                    PA         90013838743
77359525171921   CLAUDIA      GONZALEZ                  CO         32028385251
77359874255947   AUDONMARO    MONTES                    CA         90011218742
77364534393739   CHEROKEE     PERKINS                   OH         90010355343
77364819931433   STEPHANIE    MOORE                     MO         90011098199
77365873431433   TIFFANY      SCHOONOVER                MO         90000708734
77365897291588   GUALBERTO    CASTRUITA                 TX         90010718972
77367785971921   YOLANDA      LOPEZ-CHAVEZ              CO         90012127859
77368313431432   MALIKA       FULTZ                     MO         90003813134
77368861733698   JENNIFER     GUARINO                   NC         12066108617
77371887741227   NINA         RANDOLPH                  PA         51044878877
77372723141237   SHANITA      SMALL                     PA         90010987231
77373622171921   SAMANTHA     SHRIVER                   CO         32044016221
77376999231433   GERARD       WILLIAMS                  MO         90013269992
77377432961997   LINDA        MURRAY                    CA         90003574329
77377643931443   MARCUS       CASIMERE                  MO         90011256439
77377763931432   ELEA         JONES                     MO         90008997639
77378842555969   SOCORRO      MARTINEZ                  CA         90004128425
77379418171921   CORY         HARVISON                  CO         90015174181
77379793631432   EARLENE      HURD                      MO         90000467936
77381443331432   JOHNNY       DAMES                     MO         90015414433
77381862131433   RAYMOND      FIELDS                    MO         90013868621
77382555791588   ESTEBAN      RELIVASQUEZ               NM         90013235557
77383929131433   SHERREECE    MCINTYRE                  MO         90013609291
77384688371921   LAUREN       THOMAS                    CO         90006746883
77385642672479   HANNA        RUDOVSKY                  PA         51045066426
77385939141237   QUINTON      WRIGHT                    PA         90003749391
77386219855947   VIRGINIA     SANTOS                    CA         49099202198
77386623241227   BRENDA       PARKS                     PA         90000566232
77387733291588   BRENDA       GOMEZ                     TX         75026227332
77389181155969   AMALIA       ZARAGOZA                  CA         48091941811
77392466247956   MARCOS       VILLALOBOS                AR         90015464662
77392475272479   TABATHA      MALONEY                   PA         51028554752
77392542931433   JACQUELINE   HURVEY                    MO         90015105429
77394221955969   KEVIN        FOSTER                    CA         90009412219
77395544955947   ANTONIO      SANDOVAL                  CA         90014355449
77396954861964   SHERRY       SUMMERS                   CA         46053709548
77397321371921   JAMES        FRAZIER                   CO         90007803213
77398964371921   ALEJANDRO    ZAMORA                    CO         90014999643
77399952741227   DANIEL       FORRESTER                 PA         51025289527
77412226691588   RICHARD      MORENO                    TX         75084972266
77414944341237   SHELTON      GREEN                     PA         90013579443
77417677131433   MICHAEL      CLEMONS                   MO         27509036771
77418195691588   ERIC         PRIETO                    TX         90011321956
77418879291588   VIRGINIA     LUPERCIO                  TX         90011678792
77421856331432   LASHAWNDA    COLEMAN                   MO         90010028563
77423314171921   MARZELL      CARTER                    CO         90012343141
77424295631443   SHARHONDA    MOORE                     MO         90008832956
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77425197541253   CHAD         GRIFFITH                  PA         90014551975
77425752531432   DAVID        TOMPSETT                  MO         90013817525
77426455631443   EDMOND       LILLARD                   MO         90015304556
77427514231432   JAVIER       RODRIGUEZ                 MO         90001915142
77428152455969   PASCUAL      IBARRA                    CA         90013021524
77428283531443   RYAN         RISK                      MO         27578252835
77428592631432   MELVIN       BRADLEY JR                MO         90012595926
77429381433698   JAMEL        WILLIAMS                  NC         90011133814
77429873431433   TIFFANY      SCHOONOVER                MO         90000708734
77431553731432   SAILY        VAZQUAZ                   MO         27572175537
77431578755947   LUK          SOCHERTRA                 CA         90005755787
77432298631432   JAIME        COWLEY                    MO         90001512986
77432695971921   MARION       JACKSON                   CO         32005216959
77433793272421   LANNY        DETORE                    PA         51030757932
77434125781633   JOSE         ALVARADO                  MO         90013451257
77434387671921   SHARICE      MELVIN                    CO         32064973876
77434828791549   GUADALUPE    MENDEZ                    TX         90011688287
77437464441237   YVONNE       GARNER                    PA         90000764644
77437861233698   GEORGIA      JOHNSON                   NC         90002278612
77438619755947   VICTOR       CABREREA                  CA         90011646197
77439435581633   JULIE        SMITH                     MO         29083804355
77439927861465   ABEDOM       ZEDINGLE                  OH         90014429278
77442962731433   TERRANCE     WADLEY                    MO         90005739627
77443373291588   NANCY        HERNANDEZ                 TX         90012583732
77445415547956   JALON        FALCONER                  AR         90015484155
77445937241253   CHRISTINA    FITZGERALD                PA         90014379372
77446754241237   TERIANN      FIFE                      PA         90010987542
77447344655947   CECILIA      MORENO                    CA         90013283446
77447476431453   BENJAMIN     AYRES                     MO         90011234764
77447717172479   JORDAN       MARISH                    PA         90006787171
77447989931433   PATRICIA     A RASPONI                 MO         90012509899
77448343891588   RAYMOND      CELAYA                    TX         90002983438
77449629191588   MANNY        MARTINEZ                  TX         90010696291
77449891131433   DAWN         PYATT                     MO         90000908911
77452342631432   TWANAE       DULANEY                   MO         90013773426
77454346531433   QUINCHAE     ROBERSON                  MO         90013263465
77457146233699   JAMES        ALLISON                   NC         90006151462
77457263993739   DAVID        EKBERG                    OH         90000492639
77457858231443   DANIEL       DOHERTY                   MO         27516998582
77458652971921   NAHIMANA     PROSPER                   CO         32053156529
77462391431432   RICH         TAYLOR                    MO         90010973914
77463944291522   LOREANA      BRAVO                     TX         90011159442
77464279631443   ORLANDO      LUCKETT                   MO         27584382796
77464815491933   MICHAEL      JOHNSON                   NC         90006898154
77464866571937   ROSE         WOMERSLEY                 CO         90011748665
77465239271921   GAIL         EDWARDS                   CO         32057742392
77465862791548   OSCAR IVAN   GARCIA                    TX         90011628627
77467756571921   MARION       SCOTT                     CO         90012757565
77469383341253   SHANNON      VISCONTI                  PA         90002923833
77473817672479   WILLIAM      FABBRI                    PA         51095938176
77473962771921   JAMES        LOVE                      CO         32069979627
77475576171921   EUNICE       ODRIGUEZ                  CO         90011325761
77477268333698   NEKEIA       ANDERSON                  NC         90012832683
77481426855969   MARIA        ESPARZA                   CA         90013234268
77481659241253   KERRY        MARTIN                    PA         90003236592
77484186541237   JEFFREY      POLITO JR                 PA         51088111865
77485847981633   MANUEL       ESPITIA                   MO         90009808479
77487821241237   DENISE       PERKINS                   PA         90014538212
77488125871921   MANUEL       GONZALEZESANCHEZE         CO         90002641258
77489281441253   LINDA        CLARK                     PA         51076852814
77491438641237   RONDA        KELLY                     PA         90011754386
77491662871921   MICHELLE     COOK                      CO         90013576628
77491997855969   ANTHONY      SANDERS                   CA         90012849978
77492475391572   MARIO        GABALDON                  TX         90009354753
77493765831432   CAPRI        GARRETT                   MO         90013817658
77494962731432   MARY         SHEROD                    MO         90000849627
77495883541227   CHARLES      LEE                       PA         90007438835
77496546441253   RONALD       HARPER                    PA         90013455464
77497123131427   STEPHANIE    HUNTER                    MO         90005551231
77498348533698   MAHOGANY     BLAKE                     NC         90014773485
77498872471921   JESSIE       SEARLES                   CO         90013428724
77499978231433   LANEZE       DOOM                      MO         27594879782
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77513417155969   VICTORIA      RAYO                     CA         90013854171
77514771651368   LISA          WEST                     OH         90008497716
77516636793728   MARSHA        HICKS                    OH         90006996367
77517169431432   LASANDRA      EDWARDS                  MO         90014991694
77518967171921   PAULINE       COBB                     CO         90014969671
77519353381633   SYDNEY        PRECHT                   MO         90014623533
77519953771921   PATRICIA      ETHERTON                 CO         90014329537
77521787991586   RAMIRO        OZAETA                   TX         90001597879
77521867255947   JOSE          MUNOZ                    CA         90009978672
77522445985833   DAVID         SANDERFER                CA         90003974459
77522787991586   RAMIRO        OZAETA                   TX         90001597879
77523279455973   DOLORES       MARTINEZ                 CA         90003722794
77523639971921   ALICIA        HANSEN                   CO         90014376399
77523734372479   MARY          SISLEY                   PA         90014137343
77523926877528   JUANA         MARTINEZ                 NV         90006099268
77531474133699   BEATRIZ       ORTIZ CRUZ               NC         90004084741
77532293955996   HUBERT        MOORE SCOTT JR           CA         48007522939
77532397331443   RICHARD       BLUNT II                 MO         27570273973
77532441755969   RHODA         HILL                     CA         48048824417
77532455155947   MINNIE        TAYLOR                   CA         49080184551
77535512631433   STACEY        MOSMAN                   MO         27593775126
77535633281633   JENNIFER      CINCOTTA                 MO         90010696332
77536287671921   PATRICK       QUICKBEAR                CO         90004802876
77538224955947   CANDACE       MONTES                   CA         90014182249
77538462841237   LASHAUNA      BROWN                    PA         90014414628
77538482431443   TOMMIE        JONES                    MO         90002744824
77538589555969   JUANA         LOPEZ                    CA         90003425895
77542382631443   COURTNEY      BOBO                     MO         90015303826
77542486631433   ANTONIO       GREEN                    MO         90011534866
77543831781633   DARWIN        SMITH                    KS         90013978317
77545315241227   KAROL         ROSENGARTH               PA         51037353152
77545663531621   WILLIAM       KESSINGER                KS         90014796635
77546456572479   TINA          O'DELL                   PA         51041094565
77548237541253   BRITT         MIZIA                    PA         90012152375
77548957431433   CHRISTOPHE    SANDERS                  MO         27594979574
77552627355947   SOPHIA        BOTELLO                  CA         90013986273
77552984241237   ALICIA        OROURKE                  PA         90014809842
77554526155969   BONNIE        MOLINARA                 CA         90009825261
77554974655947   CHRISTOPHER   HAYS                     CA         90012999746
77555295691588   GLORIA        SANDOVAL                 TX         90011402956
77555948955969   JESSICA       MIEJIA                   CA         90011019489
77556325641253   BRIDGET       MALONE                   PA         90014323256
77557977241237   JUANITA       MILLSAP                  PA         51006769772
77559643372479   RICKI         ROBERTS                  PA         51010516433
77561333755969   ENRIQUE       VAZQUEZ                  CA         48000653337
77561414591863   RICHARD       WILLIAMS                 OK         90013274145
77561853855982   DANIEL        BELTRAN                  CA         46019898538
77563415191588   MARIA         MUNIZ                    TX         75084934151
77563733555969   TONY          WILDEY                   CA         90010217335
77565638641253   BRIAN         DIGGINS                  PA         51083056386
77566897331432   CHERON        WALLACE                  MO         90011238973
77567796671921   KENYON        ROBINSON                 CO         32082257966
77568711141237   WILLIAM       KING                     PA         51046167111
77569485381633   SHAQUESE      GREENE                   MO         90014874853
77571254755947   SYLVIA        DURAN                    CA         49025302547
77571533691823   DAWN          SEDERSTEN                OK         90001215336
77572398551382   KYLE          HAGGARD                  OH         90011423985
77572533691823   DAWN          SEDERSTEN                OK         90001215336
77573398551382   KYLE          HAGGARD                  OH         90011423985
77573854855947   JOSE          ARELLANO                 CA         49029378548
77578158333699   RAQUEL        DOUTHIT                  NC         90006471583
77578328131432   KURT          SULLIVAN                 MO         90012143281
77578951971921   JONATHAN      WICKHAM                  CO         32008149519
77579482871921   MARA          TOKALIJA                 CO         90010994828
77581399531432   WILLIAM       LICKLIDER                MO         90015413995
77581566141253   MARY          PIPER                    PA         90015255661
77581712281633   SARAH         GUETTERMAN               MO         29071197122
77582553355957   NATYSHJA      ALVEREZ                  CA         90012085533
77583962191588   ALFONSO       ARRAS                    TX         75062149621
77584793141237   MIMI          PRINCE                   PA         90001667931
77584883855947   DIEGO         TZOC                     CA         90010938838
77585221933699   TONY          DENOFRIO                 NC         90003832219
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77587284881633   NATALIE      SEARS                     MO         29005622848
77587853771921   PAYGO        IVR ACTIVATION            CO         90009778537
77587896691588   DANIEL       MENDOZA                   TX         90011568966
77589658871921   LUIS         OROZCO                    CO         32074836588
77591533731432   LEOBARDO     CASTORENA                 MO         90015475337
77593156355947   YULIANA      MADRIGAL                  CA         90012771563
77593447933698   LETARRICA    BIRGS                     NC         90013904479
77594186341253   PATRICK      GARRITY                   PA         90010881863
77594462231432   TRENAY       WILLIAMS                  MO         90010974622
77594666141237   HECTOR       GAONA                     PA         51072416661
77594985993739   ALDO         MEDINA                    OH         90012729859
77595747381633   MANUEL       ALVAREZ                   MO         90014787473
77596164931432   RICHARD      GALE                      MO         90004291649
77596849481633   ANGELA       S WEST                    MO         90006228494
77597791131443   MAHMOUD      NAQI                      MO         90012467911
77599638631432   KYLE         HARVEY                    MO         90011896386
77612561972479   JOHN         MORRIS                    PA         51010595619
77613952355969   JENNIFER     KIMBER                    CA         90005879523
77614122857143   UVALDO       MADRID                    VA         90012681228
77615612893739   DAVID        NORMAN                    OH         90013686128
77616623171921   RWAYNE       THOMAS                    CO         90011066231
77617854471921   MARCO        LOPEZ                     CO         90013908544
77619479555969   YOLANDA      ROMO                      CA         48038684795
77619837433698   ZARED        JONES                     NC         12031908374
77624512855969   LINDSAY      ISAM                      CA         48096205128
77626173851341   TOM          VARGA                     OH         90009361738
77627968941253   JAEL         GREENLEAF                 PA         90011759689
77628913541253   MELISSA      GEORGE                    PA         90013399135
77632294581633   HECTOR       PEREZ                     MO         90014472945
77632579955969   ERIK         LOGDON                    CA         90002775799
77634899541227   DIANE        HUNTER                    PA         90006378995
77635522541237   FRANCIS      PUSKARIE                  PA         51012155225
77636975431443   TIFFANY      SONFORD                   MO         90011259754
77637647233631   ALEXIS       ROBBS                     NC         90011996472
77638562471921   ACKEEM       SIMPSON                   CO         90015435624
77639643693728   TERRY        PERDUE                    OH         90014706436
77641141533698   GABRIELLE    HILLIARD                  NC         90003441415
77641199941227   EDWARD       HARGROVE                  PA         90011391999
77644494872423   KRISTIN      KELLER                    PA         90012334948
77647312971921   MICHAEL      OROSCO                    CO         90002513129
77647754355969   LORENA       ORTIZ                     CA         90010217543
77647984831432   PAULA        JACKSON                   MO         90013149848
77648815155969   JUANMANUEL   SERRATO                   CA         48006748151
77649475171921   KATHINE      CHACON                    CO         32043224751
77651247555969   ALEJANDRO    LEMUS                     CA         90013842475
77653988131433   DAISY        LATHAM                    MO         90002439881
77654486491588   LIZET        CARRASCO                  TX         90009064864
77654837955947   ADRIANA      VARGAS                    CA         90011548379
77656413161967   CATRINA      HAMER                     CA         90011874131
77656454731433   STEPHANIE    HESSLING                  MO         90010114547
77656843831432   CHRIS        PRETZ                     MO         27586988438
77657924491588   JEREMY       PERKINS                   TX         75013159244
77658519591588   JUAN         MACHADO                   TX         75023155195
77658747981633   TAMMY        LAWRENCE                  MO         29078597479
77662214261941   ADOLFO       VALENCIA                  CA         90009202142
77662367991588   ILIANA       DAVILA JANETTE            TX         90013683679
77662524355947   ELIZABETH    YBARRA                    CA         90013855243
77663743641237   MEGAN        QUINN                     PA         90012387436
77664173955969   AMANDA       DEAN                      CA         48012001739
77664222531433   LANESIA      HALL                      MO         90013642225
77664224531435   TERRELL      NICHOLSON                 MO         90011592245
77664374991588   JONATHAN     VASQUEZ                   TX         90013303749
77666378255969   SYREETA      CLARK                     CA         48006843782
77667713233698   PORFIRIO     TORRES ZAMORAN            NC         90011177132
77671148391588   MARTIN       CENTENO                   TX         90004801483
77671594431432   KIARA        GREEN                     MO         90013745944
77673564981633   IANTHA       RAMSEY                    MO         90013715649
77674497547956   WRANGLER     DAVIS                     AR         90015544975
77674534593739   KRISTLE      HARVEY                    OH         64562395345
77674749271921   KEITH        CARTER                    CO         32090757492
77675665231432   HILLARY      CLAMPETT                  MO         27508786652
77678172781633   ONESIMO      MARQUEZ                   MO         29033691727
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77678224861972   BELISA       VASQUEZ                   CA         90013652248
77678671755969   VANESSA      TORRES                    CA         90010336717
77678831347938   DERRICK      PORTER                    AR         90014768313
77682819271921   DAWN         WILLIS                    CO         90013798192
77684999855931   MICHAEL      MARTINEZ                  CA         90007829998
77685758733698   DAVID        ALSTON                    NC         90014897587
77686292255947   JAMES        VANG                      CA         90014472922
77689552871921   STEVE        HARTMAN                   CO         90012825528
77689574231443   I'TASKA      GIVANS                    MO         27509645742
77693554181633   TIMOTHY      CARROLL                   MO         90014975541
77698379655969   JULIA        GOMEZ                     CA         90005283796
77699329231432   CHRISTY      JAROS                     MO         90005633292
77712243691588   LAZARO       CASTANEDA                 TX         90001372436
77712251931432   NISHIKE      URSERY                    MO         90001372519
77713555933699   TARIG        COLEMAN                   NC         90006495559
77714697331433   MICHELLE     SMITH                     MO         90013106973
77715871761988   FERNANDO     HERNANDEZ                 CA         90012048717
77715991555969   MAUREEN      SIFUENTES                 CA         90008689915
77717428733698   EVELYN       WASHINGTON                NC         12054924287
77717864431432   KENISHA      CANNON                    MO         90013108644
77718848433698   NIYOKA       JONES                     NC         90013128484
77719169941237   REBECCA      ROBERTS-MCPHERSON         PA         51032751699
77719598371921   STACY        BARNES                    CO         90007765983
77721569131433   SHAMEKA      BRICE                     MO         90002015691
77721623991566   MARIA        OCHOA                     TX         90011466239
77722777431432   JESSICA      SHIREMAN                  MO         90006847774
77723121681633   COREY        PHILLIPS                  MO         90009571216
77724322691588   JUAN         NAVARRETTE                TX         90012733226
77725138191588   IVAN         DEL RIO                   TX         90014321381
77727194555947   JOEY         GOMEZ                     CA         90014321945
77728212371921   LEAH         CHAPMAN                   CO         90010252123
77728492455947   JENNEQUA     GREEN                     CA         49075814924
77729721171921   MARGARITO    RODRIGUEZ                 CO         90010627211
77731853733698   IRLEN        MENDOZA                   NC         90001098537
77732884971921   BELLA        RAMOS                     CO         90013148849
77733189391588   AMPARO       VELAZQUEZ                 TX         75005391893
77733212581633   KANITA       AVIS                      MO         90015162125
77733758655947   AMY          LOCASTRO                  CA         49018117586
77736953741253   CHRISTY      WOLFF                     PA         90009759537
77737389771921   AMBER        HIIESALU                  CO         90007813897
77738229191588   FABIAN       ARCIGA                    TX         90003812291
77739356731443   VALENTIN     CONTRERAS                 MO         90015363567
77739746833698   YAVEL        SIMPSON                   NC         90014347468
77741352155969   SANDRA       LUNA                      CA         90014183521
77741834671921   CHELSIE      GILLHAM                   CO         90002188346
77741927841227   ANTHONY      FRAUENHOLTZ               PA         51073079278
77744253391588   ISAAC        PAYNE                     TX         90013242533
77745484671921   JAMES        PIERCE                    CO         90013064846
77747326286436   APRIL        SMITH                     SC         90015223262
77747377881627   LISA         SHELTON                   MO         90007533778
77751846651337   RENI         GRAY                      OH         90014908466
77752911655947   KAYTE        VAN DE MARK               CA         49080199116
77753455531433   CYNITRA      GARDNER                   MO         90011114555
77753592931432   SHANEIKA     MITCHELL                  MO         90004805929
77753688631443   NASSUMA      JABATEH                   MO         27565986886
77754436631433   KIMBERLY     BADOLATO                  MO         90012134366
77756349441237   TUESDAY      STEVENS                   PA         51071313494
77758832881627   CURTIS       FULLER                    MO         90001558328
77759477231433   TIFFANY      SMITH                     MO         90011114772
77759662691588   AL           JOHNSON                   TX         90000886626
77763193491588   ARACELI      GALLEGOS                  TX         90014231934
77764281931443   DOMINIC      BLOUNT                    MO         90010792819
77765287931432   JALISSA      HALKMON                   MO         90013202879
77765368141253   KAYLA        HOYLE                     PA         51082723681
77767443731443   CARI         MULVHILL                  MO         90008584437
77767537541227   GENNIE       SHELBY                    PA         90000255375
77768279733698   YOLANDA      JACKSON                   NC         90013922797
77773733272479   SARAFINA     PACE                      PA         90006767332
77773927493739   PATRICIA     MILLER                    OH         64588379274
77774171191588   MARYLYN      SANCHEZ                   TX         75077031711
77774878981633   TIMOTHY      BUSH                      MO         90013938789
77776936241237   BOBBIE       CUPP                      PA         51098119362
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77777243631433   JOSHUA        DENNIS                   MO         90009912436
77777649855968   GLADYS        DIAZ                     CA         90011766498
77778649855968   GLADYS        DIAZ                     CA         90011766498
77782363693739   LAURA         ABRAMS                   OH         90014553636
77782491133698   JOWAN         SMITH                    NC         90013534911
77783747371921   WILLIAM       BLUE                     CO         90011347473
77784835855969   RAYMOND       FIERRO                   CA         90002728358
77786238931443   VANESSA       WHITEHEAD                MO         90011262389
77787914555969   MARIA         RIOS                     CA         48035989145
77792283491588   CLAUDIA       ACEVEDO                  TX         90014472834
77792831761975   STEPHEN       HERNANDEZ                CA         46066068317
77793781231433   CATHERINE     KNOX                     MO         90011677812
77794957433698   HAYLE         HALL                     NC         90008549574
77796667171921   DENISE        GRECO                    CO         90013576671
77797348181633   YOLANDA       WILLIAMS                 MO         90011543481
77798434455969   MIRAMONTES    RAQUEL                   CA         90008884344
77798647333698   CARRIE        STAFFORD                 NC         12081156473
77799455355947   CARLOS        RABAGO LOPEZ             CA         49070964553
77799825793739   LORI          LEMING                   OH         90013868257
77812265191588   MERCEDES      TOVAR                    TX         75061442651
77814347571921   MARY          OKETUNMBI                CO         90012643475
77815257393739   ERICA         MITCHELL                 OH         90014152573
77815879471921   LASHANDA      HARRISON                 CO         90014768794
77818447931443   PATRICE       HAYMON                   MO         90012524479
77818746833698   YAVEL         SIMPSON                  NC         90014347468
77819911291588   LUIS          GUADERRAMA               TX         90012279112
77821157184329   VEDA          RICHARDSON               SC         90002931571
77822871281633   NORINE        CHRISTIAN                MO         29006288712
77822966977339   VERLEAN       NOBLE                    IL         90012619669
77824866255947   DANIEL        THURSTON                 CA         90009378662
77825256655947   KARLA         FELIX                    CA         90014562566
77827562731443   EBONY         ABRAMS                   MO         90011915627
77828634431432   KAYLA         MAYABB                   MO         90014516344
77831111655969   GERARDO       RIOS                     CA         90013861116
77833952233698   ENDIAH        CORPENING                NC         90001509522
77834653333698   SYLVIA        BEASON                   NC         12034006533
77834751291588   ALEJANDRO C   P SAENZ                  TX         90009587512
77835392331433   ROBIN         COLBERT                  MO         27583433923
77835831571921   GUSTAVO       MONTANO                  CO         90011498315
77836133741273   JACQUELINE    NICHOLS                  PA         90001661337
77837596271921   MITCHELL      MANALAKOS                CO         90008925962
77838189893739   JAMES         CAMPBELL                 OH         90008961898
77839557886523   SHYANN        GARDNER                  TN         90015235578
77839956855934   JUAN          RODRIGUEZ                CA         49094959568
77841827751326   TIMOTHY       MOTLEY                   OH         90013958277
77842341993739   TIMOTHY       ZIEGLER                  OH         90008413419
77843776777528   ORLANDO       MACHADO                  NV         43066377767
77843871693739   TAMIE         NORMAN                   OH         90000268716
77844226772474   ZACHARY       MYCYK                    PA         51023962267
77846156461951   AURORA        HERNANDEZ                CA         90002091564
77846299593739   MACY          OINOS                    OH         90013322995
77846377955947   JAVIER        VEGA                     CA         90012113779
77846675455947   JAVIER        VEGA                     CA         90014576754
77847856872479   SHA-NIKKA     DICKERSON                PA         51010408568
77848139181633   SHEANTE       TAYLOR                   MO         90015301391
77848167371921   JAMIE         MAINE                    CO         90014451673
77848537951368   ALLISON       SMITH                    OH         90006785379
77849268631432   HEATHER       HORTON                   MO         27578242686
77852528272479   MARCY         BAKAITUS                 PA         51013145282
77852973833698   MEGAN         RUSH                     NC         90013529738
77854676531432   MINNIE        JONES                    MO         90010976765
77854979931432   SUSAN         BRAIS                    MO         90015219799
77855919331433   DANA          MAYS                     MO         90012239193
77856827691378   NEAHMIAH      WILSON                   KS         90001558276
77858122591566   MISTY         HERNANDEZ                TX         75091561225
77859612891395   CANDICE       POTTS                    KS         90015126128
77859871181633   DETRICIA      PATRICK                  MO         90014088711
77859974871921   GWEN          MARTINEZ                 CO         90009609748
77863966591588   GENOVEVA      SANTILLANA               TX         90003899665
77863999981621   JANET         FRIEDRICH                MO         90009969999
77864499191932   HERBERT       BARBER                   NC         90003084991
77865165972474   MICHAEL       RICH                     PA         90010631659
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77865678172479   COLLUS       SMITH                     PA         90006336781
77866259791588   ALEX         RODRIGUEZ                 TX         90013242597
77868995591588   JAQUELINE    GARCIA                    TX         90005789955
77869491972479   NICOLE       SALVINO                   PA         90012434919
77871319941253   JEFF         BEERS                     PA         90012473199
77871679531433   NOREEN       CLARK                     MO         90012826795
77874469493739   SEAN         WELSH                     OH         64584614694
77875184672479   MANDY        GERESHENSKI               PA         90004021846
77875353855947   DANIEL       MORALES                   CA         90007203538
77875633161924   EDWARD       CASHMAN                   CA         90013056331
77876425131432   RAKIN        ALLEN                     MO         27506944251
77876743993739   WILLIAM      SERENO                    OH         90014777439
77877113761973   JANISSE      RAMOS                     CA         90003711137
77877594191588   ELENA        BARRON                    TX         90006435941
77882724431443   APRIL        LONGMEYER                 MO         27557627244
77883151893739   BRANDY       BUTTS                     OH         90006341518
77883888931433   DIANNE       ELLIS                     MO         27583148889
77884311671921   FRED         SALAZAR                   CO         90014593116
77889273355969   PETER        QUINTANA                  CA         90000542733
77889842641227   OLGA         AGAFONOVA                 PA         90001268426
77896781331443   TRACI        HAINES                    MO         90004057813
77898113355969   GUADALUPE    GUTIERREZ                 CA         90013861133
77899255133698   LORENZO      CALLAHAN                  NC         12097772551
77911212255947   JESSICA      HUGHES                    CA         90015232122
77911746493739   DORIAN       NEVINS                    OH         90014507464
77912348855931   GABRIEL      PRINE                     CA         90011813488
77916344871921   SHAWN H      CRAWFORD                  CO         90007233448
77919931281633   GERALD       WASHINGTON                MO         90011829312
77919949331432   KENNESE      STEWART                   MO         90001719493
77922278781633   SOHN         CARTER                    KS         29039532787
77922313431443   MALIKA       FULTZ                     MO         90003813134
77923495455947   DANIELA      RODRIQUEZ                 CA         90010024954
77924741231433   LUMPKINS     CHRISTINA NICOLE          MO         90008977412
77924829733698   TYRONE       HAMPTON                   NC         90013918297
77925246581633   ERIC         JOHNS                     MO         90008682465
77926368841227   NINA         GREER                     PA         51038703688
77927316831432   VICKI        THOMAS                    MO         27578533168
77927829733698   TYRONE       HAMPTON                   NC         90013918297
77931472931432   RUSSELL      HANDY JR.                 MO         27566724729
77932553155969   CARLOS       ALEMAN                    CA         48068455531
77935219372477   BROWN        MARJORIE                  PA         51065762193
77935438791588   PEDRO        NAVARRO                   TX         90001834387
77936346171921   THOMAS       PETERSON                  CO         90014923461
77939223381633   WILLIAM      JOLLIFF                   MO         90009352233
77941534341237   KEESHA       YAGER                     PA         51015675343
77941624841253   DYLAN        REDNER                    PA         90014476248
77942288141227   REBEKAH      MURPHY                    PA         90000572881
77942973941237   JAMIE        ROBINSON                  PA         51093779739
77943317355996   CORINA       RODRIGUEZ                 CA         90014653173
77943333541253   STEPHEN      NIKITHSER                 PA         90011953335
77943337431432   VINNIE       FROHLICH                  MO         27579753374
77944634993728   CRYSTAL      LAUGHMAN                  OH         64514476349
77945344355947   ANTIONETTE   JOHNSON                   CA         90015213443
77945574841253   ANGELA       SCOTT                     PA         51057505748
77948811171921   JUDY         GARICIA                   CO         90012088111
77949427181633   ALAN D       BROWN                     MO         90005364271
77949889471921   DANIEL       TRAMEL                    CO         32007658894
77951124741237   CORDELLA     MILLER                    PA         90014121247
77952493381633   CANDIDO      MILLAN                    MO         90008174933
77954553155969   CARLOS       ALEMAN                    CA         48068455531
77957611333698   WILLIAM      ADAMS                     NC         12045866113
77957933555969   DAISY        FERNANDEZ                 CA         48014279335
77959394531432   TORRIANAH    FOWLER                    MO         90013823945
77961439772479   PATRICK      LEE                       PA         51095284397
77961988185853   RAYMUNDO     DALIGDIG                  CA         46015659881
77963357985629   LATASHA      BYRD                      NJ         90001593579
77964612541273   CAROLYN      SLOAN                     PA         90007366125
77964718431438   TAMIKA       FORD                      MO         90013187184
77965125593739   DARLENE      BEDINGER-PARKER           OH         90007271255
77966539131433   SUSAN        BAUMANN                   MO         90003965391
77968436291588   ERICKA       ORTEGA                    TX         90014814362
77968817293739   DAINE        GALVAN                    OH         64598908172
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77973244971921   OLIVIA        VILLALBA                 CO         32003922449
77973482172479   CHUCK         BAMFORD                  PA         51055624821
77975282793739   JACQUELINE    BERRY                    OH         64507592827
77976426591588   LESLEY        GARCIA                   TX         90010344265
77977454555947   SMOKEYS       GRILL                    CA         49095554545
77977579391588   DELIA         IGLESIAS                 TX         90001965793
77978567941253   GIA           WESLEY                   PA         51091165679
77981742433631   BRANDIE       BRIDGERS                 NC         90008657424
77982536141483   ISENIA        MARTINEZ                 WI         23598085361
77983817631433   ANGELA        REID                     MO         90015198176
77985798141253   KEIRSTON      PARHAM                   PA         51092417981
77987483593739   JOHNNETTA     CORE                     OH         64529144835
77988355841237   ALBERT        FRANK                    PA         51073023558
77988577581633   DANIELLE      DIXON                    MO         90015105775
77988933741227   RAMIRO        CARRILLO                 PA         90006679337
77994757331433   CHRISTOPHER   TOWNSEND                 MO         90014847573
77994877541286   JOHN          CONSTANTINO              PA         90012308775
77997796655947   MARTHIN       GARCIA                   CA         90013057966
77998936841253   SHANNON       BASTIAN                  PA         90014829368
78111646955939   FRANCES       AVILA                    CA         90013036469
78112491341237   MICHAEL       TURNER                   PA         90011004913
78114379455969   CHRISTINA     VILLEGAS                 CA         90011223794
78114624985969   EDDIE         SNOWDEN                  KY         90014606249
78114827155939   HERMINIO      GONZALEZ                 CA         90006688271
78115533551355   SHEILA        COLLOPY                  OH         90013805335
78117171151355   TRACY         SHERICK                  OH         90013991711
78117562755947   KEVIN         WEST                     CA         49080235627
78118133941253   JOANNE        LINDSEY                  PA         90013471339
78119514355969   CINDY         TOPETE                   CA         90013105143
78121689881633   DESTINY       HOLCOMB                  MO         90015546898
78121859955939   MELISSA       RENTERIA                 CA         90015088599
78124362993739   DAVID         CRIDER                   OH         90012753629
78125262291588   VICTOR        ARREOLA                  TX         90014942622
78125752955939   CLAUDIA       VENEGAS                  CA         90008857529
78126217285945   JOHN          LEGGE                    KY         90006022172
78126813531433   JACOB         BAUMANN                  MO         27553728135
78126833171921   YEISY         TRUJILLO GONZALEZ        CO         32033638331
78127588681651   MELISSA       STRUTTON                 MO         90001515886
78127635891588   LORENA        DURON                    TX         90008586358
78128527541237   TIERANEY      MOHOSKA                  PA         90014815275
78131811193739   MELISSA       GAU                      OH         64593478111
78136721171921   SHAE          DUNCAN                   CO         90008657211
78138122951348   BRANDI        GARRETT                  OH         66010191229
78138834661994   ALONSO        LOPEZ                    CA         90010678346
78139562391588   LUIS JOSE     LEDEZMA                  TX         90001145623
78139743341253   JESSICA       SCHELL                   PA         90014387433
78145196633699   SONYA         FLETCHER                 NC         90002721966
78148145355969   RAFAEL        GARCIA                   CA         90015191453
78148388191522   VALERIE       PEREZ                    TX         75079943881
78148611871921   LUCAS         SARGENT                  CO         90010806118
78149456681633   BECKY         VAUGHN                   MO         90004514566
78151768393739   NICOLE        MARTIN                   OH         90012347683
78153239951355   JENNIFER      LAY                      OH         90013452399
78153336871921   MARIA         HERNANDEZ TORRERO        CO         90005853368
78153565341237   MARY          GOODMAN                  PA         51078955653
78153662591979   BRYAN         MOORE                    NC         90008586625
78154217155947   VALENA        BENDER                   CA         49081132171
78155475131433   ANDREW        JOHANNINGMEIER           MO         27558584751
78156122861924   DIANE         REYES                    CA         90010061228
78157752881633   PHILLIP       BASURTO                  MO         90014567528
78157963391588   DIANA         ZAMORA                   NM         75067709633
78161914891863   RANDY         STOALABARGER             OK         21091049148
78163313471921   LORI          BALLARD                  CO         32008393134
78163421293739   ORONDE        CLARK                    OH         90009374212
78163524233698   TAMMY         HUGHES                   NC         12090165242
78165118685975   JENNIFER      JORDRE                   KY         66095421186
78165696581679   TAMARA        BATES                    MO         90008426965
78166526255969   ADRIANA       RAMIREZ                  CA         90014785262
78169413933699   TAMMY         MITCHELL                 NC         90002724139
78169781171928   TIM           STEVENS                  CO         90013697811
78174177791588   ANTHONY       LOPEZ                    TX         90014601777
78174525381633   CARL          CARTER                   MO         90014075253
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78175292851391   NISHAY        HOLLOMAN                 OH         90009982928
78175622655939   ALMA          ARTEAGA                  CA         48083056226
78176776755939   CITLALI       GARCIA                   CA         90014197767
78176821593739   AATAYA        MOLETTE                  OH         90011558215
78176933491588   JOSE          DELGADO                  TX         90012969334
78179292441227   AMBER         PETERSON                 PA         51042572924
78179499884322   LAMONT        FIELD                    SC         90004544998
78179745191522   LAWRENCE      PETERSON                 TX         75017877451
78181442155969   STANLEY       OWSLEY                   CA         48001094421
78181834381633   MARTINA       FERNANDEZ                MO         90002438343
78182534657127   CHRIS         PATTERSON                VA         90002345346
78182872271921   CLOVER        BAKER                    CO         90013458722
78184142497123   CARMEN        MARTINEZ                 OR         90013131424
78184844551348   JAMES         BENDER                   OH         90011328445
78184919133698   LIZET         HERNANDEZ                NC         12019569191
78185456641253   DARLENE       KENNY                    PA         51060074566
78185789171921   ERIN          DUTCHER                  CO         32018907891
78185983791588   VERONICA      RODRIGUEZ                TX         90007379837
78188517731432   JOHN          HENRY                    MO         90011285177
78188643684322   CLAUDIA       FLORES                   SC         90006796436
78188957551355   AARON         HADDIX                   OH         90012869575
78189283361459   JEREMIAH      DAWSON                   OH         90015182833
78189995951355   CHANTAL       LUTETE                   OH         90013959959
78192698651348   HAYLEE        COUSINO                  OH         66005966986
78192754793746   JARED         MENDENHALL               OH         90012217547
78194462841237   TOM           BISCHOFF                 PA         51014324628
78194471555969   DESTINY       KEENEY                   CA         90012104715
78194696581633   PATRICK       FALES                    MO         90015256965
78195463591588   JESSICA       ORTEGO                   TX         90001484635
78196195151355   KASIYA        COLEMAN                  OH         90011441951
78197761941237   ATHENA        BEY                      PA         51027027619
78198142581633   KURTIS        BIDONDO                  MO         90003831425
78198872731428   NARK          FRIED                    MO         90011628727
78199346231433   LILLIAN       BROASTER                 MO         90004273462
78199975655969   ARTURO        MARISCAL                 CA         48001809756
78211419441227   BRIDGET       LANDER                   PA         90014724194
78211833451355   SASHA         ESTEP                    OH         90007678334
78212192633624   KELLY         BUCHANAN                 NC         90013261926
78213935541227   BENITA        MORRIS                   PA         90000539355
78215311671921   FRED          SALAZAR                  CO         90014593116
78216245755969   MIA           MEEKS                    CA         90013392457
78217227871921   JODY HOPE     SARINAS                  CO         90013992278
78217629555947   CIARA         CASTILLO                 CA         90001816295
78218835871921   SEAN          MORRIS                   CO         90014418358
78221117593739   SCOTTY        SLY                      OH         90011221175
78223314671921   ANTONIO       MENDOZA                  CO         90011513146
78224456141237   SUZETTE       KEEFER                   PA         51090564561
78225249855969   ELISA         PACHECO                  CA         48095942498
78225269691588   JOANNA        MORALES                  NM         90011872696
78225659951348   ANGELA        YOUNG                    OH         90006126599
78225926247874   STEPHANIE     JOHNSON                  GA         90013349262
78226112655969   LAIZA         BECERRA                  CA         90002131126
78226848451355   DEVIN         KINNEY                   OH         90013378484
78226944851348   APRIL         WOOFE                    OH         90015219448
78227225471921   SANTOS        SATIER                   CO         90009352254
78227875155969   FELIPE        HUATO                    CA         90014708751
78228477441253   ADAM          MONDINE                  PA         90014694774
78231256872479   BRIAN         OGLETREE                 PA         51064842568
78233169671921   MARISELA      SANCHEZ                  CO         90009851696
78233855381633   CANDICE       LOVINGS                  MO         90013798553
78234136371921   STEPHEN       RHOADES                  CO         90007581363
78235214655969   PATRICIA      BANDA                    CA         48000472146
78235919681633   MARINA        ROJAS                    MO         90013689196
78236315941237   STEPHEN       SORTMAN                  PA         90013903159
78237312851348   TERESA        MURRAY                   OH         90006223128
78237913784355   SANTONIO      MILLER                   SC         90010589137
78237925271921   MARK          WATKINS                  CO         32031809252
78238865531443   LARRY         BECKETT JR.              MO         27571708655
78243552333699   TESHA         THACKER                  NC         12085385523
78243983693739   PATRICIA      POLING                   OH         90005129836
78244928655969   ALICE MARIE   MARTINEZ                 CA         90015119286
78247175471921   JUAN          HERNANDEZ                CO         90015361754
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78248464251348   JEANN        JORDAN                    OH         90011364642
78248466393739   EBONY        AVERY                     OH         90012854663
78249818555939   ROBERTO      GONZALEZ                  CA         90013308185
78251292584384   JAIME        MORALES                   SC         90001422925
78251671455984   VERONICA     GARCIA                    CA         90009446714
78251779571921   SHANNON      HARTT                     CO         90012897795
78252366131433   JESSICA      FOSS                      MO         90013353661
78253723631432   ROD          LINK                      MO         90011287236
78255673986456   DIEGO        DIAZ DIAS                 SC         90015066739
78255829191588   MARTIN       BANDA                     NM         90013618291
78256162455947   RUBY         BREAZEALE                 CA         49016011624
78258197791588   MARGARITA    SAMORA                    TX         90008621977
78258879633699   LEKEI        CARPENTER                 NC         12019418796
78259471591588   SERGIO       LUNA                      TX         90012974715
78261592755969   VANESSA      MADRID                    CA         90013065927
78263277731432   PATRICIA     FOREMAN                   MO         90009372777
78263318931433   PHILLIP      JOHNSON                   MO         90014583189
78263611193739   PARRIS       PITSTICK                  OH         64555616111
78265689951348   LENA         PIERCE                    OH         90013856899
78267432471921   TREVOR       JACOBSON                  CO         90010984324
78267882141237   JULIE        MCNALLEY                  PA         51097458821
78269325555939   JOSE         MARTINEZ                  CA         90012733255
78269549731443   KEYONNA      CRAWFORD                  MO         27515915497
78273175355939   ADRIANA      MORADO                    CA         48028191753
78276515793739   TRACEY       WILCOX                    OH         90001655157
78277768855947   NOAH         MUNSEY                    CA         90014077688
78278767893739   AIMEE        NICHOLE                   OH         90012437678
78278942451355   STEPHANIE    PELCHA                    OH         90014739424
78279434693765   MICHAEL      THOMAS                    OH         90012824346
78281673384322   MELANIE      HOBLER                    SC         14575996733
78282272533699   ANABEL       NOYOLA                    NC         12060712725
78282896855969   FELIX        LOPEZ                     CA         90014958968
78283354655969   MAKAYLA      SALAZAR                   CA         90012553546
78283554933699   BETTY        ROBERSON                  NC         12055765549
78284836731433   STACEY       RAINBOLT                  MO         27581768367
78286529541237   PYSHAIA      KELLY                     PA         90013725295
78286711333699   BRANDY       BASS                      NC         12000927113
78287781257599   KENDRA       SHAHAN                    NM         90015107812
78289338555947   RAYMOND      GARCIA                    CA         49097463385
78291613691577   ARACELI      SERRANO                   TX         90004936136
78294124971921   JACQUELINE   JOHNSON                   CO         32002801249
78294427851355   JUANA        BURGOS                    OH         66073894278
78294773655969   NAYOR        SAESEE                    CA         90015127736
78296624491588   LORENZA      ROQUE                     TX         75051166244
78296777441253   MARGARET     CULLIVER                  PA         90012937774
78297787431432   KETRA        FUTRELL                   MO         90013087874
78297941655939   JUANA        ZAVALA                    CA         90008549416
78299283341253   ANNA         RYLAND                    PA         51091092833
78311419891588   MARIO        CONTRERAS                 TX         90009774198
78313286485945   ELIZABETH    HISEL                     KY         90005862864
78313686151348   CRYSTAL      PREUSS                    OH         90010766861
78313691671921   ANASTASIYA   BOBRINEVA                 CO         90001666916
78316668941227   HELEN        JOHNSON                   PA         90004816689
78318265471921   JOSH         KIRBY                     CO         90014702654
78318383531433   ASHEY        MOORE                     MO         90014853835
78319949981633   JOSEPH       KING                      MO         29010189499
78321578472479   ALEXANDRA    JONES                     PA         51082805784
78323894831433   KATHERINE    MCMEANS                   MO         90014568948
78328491455969   ZANAIDA      SAUCADO                   CA         90002564914
78329222231433   ANNETTE      STEVENSON                 MO         27568732222
78329634433698   RUBEN        ALCOMENDAS                NC         90011746344
78333257231432   TRUEMYER     STALLINGS                 MO         90009582572
78334329555939   RENE         VASQUEZ                   CA         90002603295
78335561555969   ADRIANA      PILAR                     CA         90008795615
78337271385945   TORREY       PHILON                    KY         90011622713
78337722884322   TAMIKA       SINGLETARY                SC         90005487228
78338189281633   SANJUANA     CABRAL-CONTRERAS          MO         90013421892
78338332855939   MARIA        ARREZOLA                  CA         48049223328
78338858251348   NAOMI        BOEDICKER                 OH         90011328582
78339459855969   PEDRO        ELIZALDE                  CA         90001714598
78339679993739   REED         RONALD W                  OH         90005376799
78341354555939   ALEJANDRO    NARCISO                   CA         90013983545
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78341992255947   ESPINOZA      NANCY                    CA         49050049922
78342426193739   AMOS          HARRIS                   OH         90009424261
78343441755969   RENNIE        PROVENCHER               CA         90000404417
78343527255947   SIMORA        RODRIGUEZ                CA         90014935272
78343869333658   LETICIA       TSHIPAMBA                NC         90001708693
78344287971921   ARGENTINA     GARCIA                   CO         32098122879
78344357741232   A. SANDRA     KELLEY                   PA         51003943577
78344926291588   JOSE          RICO II                  TX         90012129262
78345324341237   ALAN          SMITH                    PA         51013723243
78345765531433   DANNEN        CLARK                    MO         90014117655
78346379655947   JESUS         GARCIA                   CA         90014793796
78346725891588   BRENDA        VASQUEZ                  TX         75017787258
78346796331443   LEE           LEWIS                    MO         90002637963
78347698441237   CHRISTOPHE    BARTON                   PA         51082236984
78348356531432   VIRGINIA      THOMPSON                 MO         90013603565
78348874455939   RODRIGO       HERRERA                  CA         90012358744
78351877751355   ANTONIO       CORTEZ SOLAND            OH         90015348777
78351922155969   OLIVIA        ARREDONDO                CA         90012999221
78354548651348   STEPHANIE     LATHAM                   OH         90010965486
78354838951348   STEPHANIE     LATHAM                   OH         90011348389
78355233755934   HECTOR        RODRIGUEZ                CA         90010452337
78355623741237   MICHAEL       YANKOVITCH               PA         90014116237
78358515231432   ROBIN         WILLIAMS                 MO         90012255152
78358699784322   JORDAN        CLIFTON                  SC         90005516997
78359494371921   BLAINE        SPRATLEY                 CO         90012424943
78359613533698   CRYSTAL       MILES                    NC         12010026135
78361946871921   KELLY         DEMARTINE                CO         32089149468
78362545981633   KARLA         PORTILLO                 MO         29072725459
78363472684322   NOE           BERNAL                   SC         90010914726
78364877831433   JERMAINE      DANIELS                  MO         90014268778
78365752141253   EVELINA       KOELSOCH                 PA         90012427521
78366127257147   WILLIAM       GUILLEN                  VA         90008801272
78367811193739   MELISSA       GAU                      OH         64593478111
78368223555969   RODRIGUEZ     PATRICIA                 CA         48012252235
78368412341253   ANTONEIETTE   ROUSE                    PA         90014774123
78369263191588   ELIZABETH     RODELA                   TX         75045602631
78369695355969   MEGAN         ROBINSON                 CA         90010196953
78371645855969   RYAN          JONES                    CA         90009276458
78373149971921   CAROL ANN     BATES                    CO         90011471499
78373614551348   REBECCA       JENSEN                   OH         90013706145
78374718641237   SHAWN         GROOMES                  PA         90000857186
78375187455947   STEVE         SHARP                    CA         90008161874
78375452984322   MARIO         RIDRIGUEZ                SC         14534124529
78375712372479   NICOLE        CUSMANO                  PA         90006587123
78377253481633   ANGELA        CARVER                   MO         29017762534
78377913955939   THOMAS        PEREZ                    CA         48011369139
78377964651337   TEKI          FOGGIE                   OH         90010599646
78378157291588   VERONICA      GABALDON                 TX         75022231572
78378655355969   CASSANDRA     SALINAS                  CA         90013596553
78378699631432   KELSEY        AMOROSO                  MO         90003776996
78379327185945   DAVID         GONZALEZ                 KY         90008853271
78381555655969   MORIANA       VALENZUELA               CA         90014785556
78381718431433   ROSETTA       GIBBS                    MO         90006857184
78382174971921   TERRELL       ALLEN                    CO         90010101749
78382331141227   JOSEPH        BORZACCHIELLO            PA         90001113311
78382441355947   DANIEL        GONZALEZ                 CA         90013034413
78383252833698   LOVIE         WOOD                     NC         12090582528
78383425893739   KIESHA        EDWARDS                  OH         90012734258
78383791741227   ELAINE        RUSSELL                  PA         51068727917
78384555951348   DEMETRIUS     DALLAS                   OH         90010455559
78385424841253   DAMBER        NEPAL                    PA         90013534248
78385982755939   MATTHEW       DREW                     CA         48064609827
78387815471921   SYLVIA        DURAN                    CO         32074888154
78388582451355   AUSTIN        MARTIN                   OH         90015495824
78392537761975   SETHI         KMWR                     CA         90007605377
78394854972479   DOUG          HAYDEN                   PA         90002828549
78395134271921   VICENTE       NATIVIDAD                CO         32065231342
78395924955947   STELLA        ZAPATA                   CA         90012829249
78396593171921   KENDY         ARRIOLA                  CO         90011375931
78397333172479   MELVIN        HALL                     PA         51044203331
78397735493739   CYNTHIA       CAMPBELL                 OH         90006647354
78399179293739   TEIA          BANKSTON                 OH         64567821792
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78411786551355   PAYGO         IVR ACTIVATION           OH         90015167865
78411934231466   ALBETTHA      BOND                     MO         90013219342
78413997251355   BRANDI        CANNON                   OH         66080899972
78414222741286   JIM           SCOT                     PA         90010882227
78414352771921   DELON         RANDON                   CO         90013193527
78414524493739   FLICIA        LOGGINS                  OH         90014575244
78414538655947   ROBERT        ESQUIBEL                 CA         49074345386
78416796191572   JOAQUIN       LABRADO                  TX         90007727961
78417954655969   GONZALES      ENRIQUE                  CA         90011229546
78418367455969   MONICA        RODRIGUEZ                CA         48001523674
78418399591959   JEFF          RILEY                    NC         90012363995
78419276733699   SUSAN         MULLINS                  NC         12082412767
78419838631433   ARTHUR        JACKSON                  MO         90014768386
78422744784322   SHARON        STANLEY                  SC         90006097447
78424556155947   MARISOL       TORRES                   CA         49039235561
78427368471921   JUAN          ALVARADO                 CO         90015273684
78427517141237   TINA          KREIL                    PA         51096495171
78427567293739   DEBRA         WILES                    OH         64579785672
78428387171921   SURAE         BERNED                   CO         90009663871
78428734491588   DANIEL        MARQUEZ                  TX         90010137344
78432216681633   ELAINA        MARSHALL                 MO         90003832166
78436229155969   ALICE         REYES                    CA         48082082291
78438392741227   CARLA         HORTON                   PA         90006153927
78438411431433   MARK          SMITH                    MO         90004214114
78438889841237   TORI          KAZEW                    PA         90013758898
78439284891588   MARIA         GUTIERREZ                TX         75014832848
78441628841237   LATONYA       WHITE                    PA         90012256288
78442497172479   JULIE         BARTOLOZZI               PA         51087874971
78443465281633   MARCUS        JONES                    MO         90007834652
78443467831432   DANIELLE      WILLIAMS                 MO         90014604678
78444617593739   VICTORIA      ELY                      OH         90006496175
78445341355947   ROGELIO       DUARTE                   CA         90010983413
78445393251355   RYAN          PASTOR                   OH         90011993932
78445662633699   RASHUNDA      DOWNEY                   NC         12001176626
78446477471921   AMY           MARTINEZ                 CO         90010654774
78446613941253   SARA          BOTTOMS                  PA         51096926139
78448138777528   SHELLY        MIKES                    NV         90014011387
78448992655947   SANTIAGO      SERVIN                   CA         90000869926
78449384255969   LOVINIA       CALDERA                  CA         90011973842
78449956971921   DANIEL        TELLEZ                   CO         90001489569
78451231451348   JESSICA       BUSSIE                   OH         90012022314
78451542881633   MARIA         LEYVA                    KS         90014835428
78451593361958   LAURA         RINCON                   CA         90011695933
78451858655947   KAREN         JAUREGUI                 CA         90013168586
78452217391588   CYNTHIA       CRUZ                     TX         75067332173
78453825141237   FRANK         CARUSO                   PA         51066898251
78454224531432   CORA          NICHOLS                  MO         90014172245
78455161333624   CHAYANE       MCKINNEY                 NC         90012551613
78455625855969   DEZIRAE       VELAZCO                  CA         48001306258
78456222441227   CHENEA        ARINGTON                 PA         51029592224
78457516341253   JEFFREY       EATON                    PA         51007095163
78457596955947   JUANITA       FLOREZ                   CA         49076855969
78458388655969   SALVADOE      ORTEGA                   CA         90009573886
78458689471921   ROBERTA       O'GILVIE                 CO         32079356894
78462277841237   DOROTHY       DANCY                    PA         90014622778
78463482333698   EVELENA       CARTER                   NC         12052794823
78463882181633   MERCEDES      RAUCHLE                  MO         90004838821
78464278881633   INA           CASTRO                   MO         29016582788
78464816751348   LAUREN        ANDERSON                 OH         90013648167
78464936941247   NICOLE        DUNCAN                   PA         90001399369
78465582155969   CHRISTOPHER   MORGAN                   CA         90012915821
78466276991588   TANYA         DENSON-MOORE             TX         75063542769
78466675981633   WILSON        NIC                      MO         29078836759
78466774672479   SARA          HOUSEMAN                 PA         51034767746
78466837671921   MARISELA      HOLGUIN-SOTO             CO         90004988376
78471455441227   DONALD        COLES JR                 PA         51045044554
78474382651355   BRINA         MEDELLIN                 OH         90009533826
78474846441237   TONYA         DANIELS                  PA         51090228464
78474964972479   RICHARD       MAGLET                   PA         51088969649
78479625155939   DEBORAH       HUNTER                   CA         48001586251
78479836481633   LILIAN        SALDANA                  MO         90013528364
78481398372479   CHRIS         RUNK                     PA         90001943983
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78481727331433   JEANETTA        JOHNSON                MO         90015067273
78482278531432   CRYSTAL         GREGORY                MO         90002532785
78482624355947   BONNIE          LEDGER                 CA         90014616243
78483172371921   THOMAS          SCHNERDER              CO         90012901723
78483269831432   LAUREN          WRIGHT                 MO         90009262698
78484374855939   LAMBERTO        LARA                   CA         90011523748
78484642755947   JESUS           ALVARENGA              CA         90010996427
78484917473233   JAMES           ZELLER                 NJ         90014209174
78485686855969   MARIA           ZAMORA                 CA         90013376868
78485993655939   MICHAEL         MEAVE                  CA         90014509936
78486269931432   DAHMEN          LEE                    MO         90011872699
78488667155939   DOLORES         SANDOVAL               CA         90006236671
78488766351348   MATTHEW         ANDERSON               OH         90015327663
78492133391225   MARCUS          LUCKY                  GA         90009671333
78492563333699   JESUS           CRUZ                   NC         12066305633
78493627371921   MICHELLE        MARTINEZ               CO         90015516273
78494354371921   ANTONIO         GONZALEZ               CO         90014833543
78494451691588   SILVIA          ADAME                  TX         90010194516
78494461655969   SANDRA          ROMERO                 CA         48003024616
78494494741253   ROBERT          HARRIS                 PA         90014874947
78496463355947   LENORA          MORALES                CA         90014854633
78496738871921   CHARLES         HOPPER                 CO         32038057388
78497153551348   STEVE           CHARLES                OH         90013421535
78513181455969   AMY             MESSERLY               CA         90008451814
78514246593739   FELICIA         FORTHOFER              OH         64557172465
78514457885945   LANNY           TURNER                 KY         90002194578
78514584551586   JESSICA         CASHMAN                IA         90014015845
78516385631433   MARQUIS         PAYNE                  MO         90009223856
78517345255939   JOSE            VILLA                  CA         90010943452
78517464591586   CYNTHIA         ESTRADA                TX         90006214645
78517693951348   ARIC            EVANS                  OH         90015286939
78518185555939   MARGO           ORTIZ                  CA         48057081855
78518263141237   CHRISTINA       DAVIS                  PA         90012332631
78521513661958   MARIA           OROZCO                 CA         90011895136
78521539651355   TARA            HUSSONG                OH         66045435396
78521767133698   PRINCESS        JONES                  NC         12091787671
78522248293739   BRITNEY         ELOFSKEY               OH         90004222482
78522685555947   ANGELA          HENRY                  CA         90009696855
78523139751355   BARBIE          KIDDER                 OH         66078371397
78523915641267   JAMES           OSHEA                  PA         90009229156
78524169841237   JOHN            MEYER                  PA         90012261698
78524523691588   AGUSTIN         CHAIREZ                TX         90007795236
78525167341227   MATTHEW         DURRANT                PA         90002041673
78525243631443   MELONIE         GEORGE                 MO         27571922436
78525255233698   MISTY           PARKS                  NC         12062822552
78525445951355   JOSHUA          CAUSEY                 OH         90013824459
78525464693739   SHAWNA          DAVIS                  OH         90014714646
78526693671921   TRACY           KLOEFKORN              CO         90007276936
78529661786435   CHRISTOPHER     CARSON                 SC         90015506617
78531777855947   STACI           HUDGENS                CA         49040587778
78531796251378   SARAH           AKERS                  OH         90013007962
78531811993739   MARY            ROWLAND                OH         90014788119
78532779955939   GARY            RODRIGUEZ              CA         90012327799
78532821241253   FRANK           WOODSON                PA         51020728212
78533262651348   GREG            RILEY                  OH         90010912626
78533374451355   KARI            TAYLOR                 OH         90010883744
78534734593739   AARON           CRUSHON                OH         90014077345
78535633371921   PAUL            RUCHALSKI              CO         90007936333
78535779931433   DORRELL         YOUNG                  MO         90012047799
78538814855939   LUIS FERNANDO   CARDENAS               CA         90008918148
78538993651355   SANDRA          BOWLING                OH         90001149936
78539228331432   YESENIA         ROJAS-MARTINEZ         MO         90011292283
78539228585972   JAMES           ACREE                  KY         90011092285
78539567831433   HENRY           HAYES                  MO         90012775678
78539813591588   MARISELA        ESTRADA                TX         90011168135
78541161833698   TINIKA          TRIPLIN                NC         90002471618
78541672655969   DALY            SYPRASERT              CA         90011526726
78543653751348   ALBERTO         ARAMILLO               OH         90013966537
78543746431433   FREDRICK        HIGGS                  MO         90010937464
78543946133699   CESAR           ROSALES GONZALEZ       NC         12002609461
78545285984322   YESENIA         GUZMAN                 SC         90006782859
78546125791588   MIRNA           ARRAS                  TX         75041251257
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78546894855939   ALFONSO         RAMIREZ                CA         48006118948
78548754355939   MARISOL         CONTRERAS              CA         48045747543
78549197355947   JACQUELIN       ESTREDA                CA         49030291973
78551827141237   CHRISTINE       WAGNER                 PA         51020818271
78552299191588   ROBERT          RIVAS                  TX         75097982991
78556229641237   DARLA           RUSSELL                PA         51075052296
78556547151348   GABRIELLE       SHERIDAN               OH         90014205471
78557137451348   PAUL            LALONDE                OH         66020511374
78558569533698   KANDICE         COLLIER                NC         12090775695
78558766791588   LISBETH         RESENDIZ               TX         90015117667
78559354491588   CITHIA          CARRANZA               TX         90014833544
78561814855939   LUIS FERNANDO   CARDENAS               CA         90008918148
78562323955947   JOHN            OJEDA                  CA         90002123239
78562654131432   RICK            SCHWEIZER              MO         90010376541
78565115351348   TOM             ROELL                  OH         90012951153
78565219855939   KARLA           CHAVIRA                CA         90012982198
78565715685995   CASSANDRA       WASHINGTON             KY         90010107156
78566279931443   TIERRA          GILL                   MO         27531542799
78566415431433   CHRISTOPHR      SIMMONS                MO         27547534154
78566481493767   GERALDINE       ARMOUR                 OH         90010524814
78567584355969   KERRY           ALVES                  CA         90003585843
78569231851348   THERESA         KOGER                  OH         66090452318
78569678455969   CESAR           PARRA                  CA         90011526784
78569936172479   CHUCK           STEINER                PA         51009339361
78571816455947   MEGA            FALE                   CA         90013228164
78572145555939   VICTORIA        REYES DE BARRAGAN      CA         90013561455
78572995855947   ERICA           CARDENAS               CA         90013049958
78573152571921   PAYGO           IVR ACTIVATION         CO         90012591525
78573575891588   ROBERTO         PEREZ                  TX         75008465758
78573969131433   SHEILA          OWENS                  MO         90014759691
78578112431443   MILTON          DAVIS                  MO         27500091124
78578261555939   JESUS           SANCHEZ                CA         90014832615
78578729571928   NAYTRESE        WHITE                  CO         90012777295
78581777141227   KRISTINA        LAURENCE               PA         51010987771
78582279451355   BRITTNEY        JOHSON                 OH         66014212794
78583588181633   MALIKA          LANE                   MO         90003395881
78583675955947   SHANICE         NGOV                   CA         90005506759
78583851555969   SARA            PALOMINO               CA         90011418515
78585114191588   LUZ             FELIX                  TX         75024131141
78586215941237   ROSS            BURTNER                PA         90012262159
78586834293767   ANTONIO         MCCOY                  OH         90001258342
78586911161951   FRANKIE         ARAGON                 CA         90011629111
78586941655956   ANTONIO         RODRIGUEZ              CA         90014699416
78587323191588   CAESAR          ACOSTA                 NM         75032413231
78588996941227   KAREN           LEWIS                  PA         51046859969
78589413241253   JEFFREY         HUTCHISON              PA         90014584132
78592784241237   JOSEPH          COOK                   PA         90014887842
78593466555939   JONNY           JIMENEZ                CA         90014884665
78594298871921   STEPHEN         PEARCY                 CO         32067682988
78594663455947   LORETTA         NIETO                  CA         90012946634
78595722655939   KARLA           ARAUJO                 CA         90011987226
78597541272479   RONNIE          GRIFFIN                PA         51083225412
78598681155969   MAYRA           OLEA                   CA         90012066811
78611187455947   STEVE           SHARP                  CA         90008161874
78611758455939   GUADALUPE       VILLEGAS               CA         48059657584
78612797655939   ELIZABETH       ORTIZ                  CA         48030527976
78613314131433   ELIZABETH       MACK                   MO         27586613141
78613344755947   MARTIN          GUITIERREZ             CA         90014443447
78613396751355   JUANA           BURGOS                 OH         90014453967
78613475781633   RONNY           BRITAIN                MO         90003094757
78613624491588   LORENZA         ROQUE                  TX         75051166244
78614493471921   ANNETTE         MCMANUS                CO         90002134934
78615241184355   OCTAVIO         PEREZ                  SC         90013052411
78615475271921   MICHAEL         MEDLOCK                CO         90010484752
78615726751355   ASHLEY          SNOWDEN                OH         90000967267
78616345351348   SYLVAN          CARR                   OH         66008773453
78617385991588   IVAN            MARTINEZ               TX         90013653859
78617918671921   MARTIN          ARAGON                 CO         32081209186
78621686831433   EDWARD          STARR                  MO         90001426868
78622598133698   ERIC            MOORE                  NC         12087995981
78624732141253   TINA            JARACZ                 PA         90000227321
78626393186451   TAMARA          RICE                   SC         90011163931
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78626449293739   RYAN         GRUBER                    OH         90005134492
78626863141227   JUSTIN       LEVY                      PA         51095738631
78627242193739   JENNIFER     BARNES                    OH         64556652421
78627521631433   LAKEESHA     BORDEN                    MO         27598835216
78628148151355   CARLOS       ELMENGOR                  OH         66050701481
78629676771921   TARA         BRIENZA                   CO         90012946767
78631271131433   JASONNA      HUNLEY                    MO         90011042711
78632693355947   DONALD       HADLAND                   CA         90010996933
78633369941253   ROBERT       PULSON                    PA         90013913699
78634711355939   JESSICA      GUERRA                    CA         90004917113
78634934855947   KELLIE       PAYNE                     CA         90011029348
78636391272479   RICHARD      MORGART                   PA         51098343912
78637693355947   DONALD       HADLAND                   CA         90010996933
78638325591963   BINIAM       KELATI                    NC         90013923255
78638644541237   THENICA      CARMICHAEL                PA         90004966445
78638952672479   JAMIE        GAREIS                    PA         51003109526
78639215941237   ROSS         BURTNER                   PA         90012262159
78641137955969   MAXIMINO     VILLAREAL                 CA         48056681379
78641935155947   CHANNY       MEP                       CA         90012639351
78642235555939   SANDY        HERNANDEZ                 CA         90009472355
78644158441237   FANNIE       MARSHALL                  PA         51003211584
78644236555947   AEJANDRINA   REYES                     CA         90008312365
78644381981633   DANIEL       LUNA                      MO         90014573819
78645153477524   HERMINIA     NUNEZ                     NV         90009481534
78645731172479   LAURI        THOMPSON                  PA         51029737311
78646172991939   ISAAC        YORK                      NC         90010561729
78646998755947   JUANITA      VENEGAS                   CA         90009819987
78647179391588   SERGIO       VASQUEZ                   TX         90013931793
78651395293739   ANGEL        LOPEZ                     OH         90013503952
78652284755939   ROSAURA      GONZALEZ                  CA         90014932847
78652334341237   MARDIS       ETHRIDGE                  PA         51040293343
78652727851355   DEBORAH      HAYES                     OH         66011997278
78653661277552   DAVID        BROOKS                    NV         90013886612
78653824571921   IAN          SMITH                     CO         32008368245
78654513751355   MIGUEL       ANGEL                     OH         90014125137
78656612691952   DEDE         JONES                     NC         90014796126
78658891144277   MARIO        GALLEGOS                  CA         90013698911
78659159593739   LONNI        ROWE                      OH         90009231595
78659169831433   SHAWNA       FRANKLIN                  MO         90007891698
78661351571921   YOUNG        SAVAGE                    CO         32085993515
78664165281633   IGNACIO      CASTILL                   MO         90013021652
78664277841237   DOROTHY      DANCY                     PA         90014622778
78664482755947   ALMA         MENDIVIL                  CA         90013854827
78666147951355   SIXTO        CORONADO                  OH         90014521479
78667852441237   JAMAICA      RAMSEY                    PA         51066928524
78667915651348   BLOSSOM      WARD                      OH         90010459156
78668275571921   ELIZABETH    GANN                      CO         90015112755
78671837655939   OSCAR        GOMEZ                     CA         90008918376
78671921451348   ASHLYN       BAKER                     OH         66015959214
78672377355969   KRYSTAL      RAMIREZ                   CA         90006873773
78673555293739   DARELL       MAY                       OH         90015085552
78675158493739   JAMES        KYNE                      OH         64560271584
78675237355939   JUAN         JIMENEZ                   CA         48014712373
78675293955996   HUBERT       MOORE SCOTT JR            CA         48007522939
78675661391588   BRENDA       RAMIREZ                   TX         90013536613
78675757981633   AGUSTIN      TREJO-CRUZ                MO         29045857579
78675843255969   ROSE         RENTERIA                  CA         90008828432
78676989741237   BRIAN        ALLEN                     PA         51007819897
78677888131433   GERALDINE    WHITAKER                  MO         90014268881
78678969731433   SHERMIKA     WARD                      MO         90013879697
78679335331432   PAMELA       LOCKETT                   MO         90012803353
78679897841237   TYRONE       WILLIAMS                  PA         51060608978
78681396555939   JESSICA      REYES                     CA         90009713965
78683623551368   HEATHER      DEES                      OH         66069416235
78684653131443   MARIANNE     MUEHLENBROCK              MO         27503786531
78685695451337   EDWIN        GERDES                    OH         66010706954
78686235661967   NICOLE       DOMKE                     CA         90008992356
78686861655947   MAI          THAO                      CA         90014138616
78687827431432   HAROLD       BLANCHARD                 MO         90011598274
78687868391588   LUIS         BARRAZ                    TX         90014438683
78689611691323   DANIEL       SEPULVEDA                 KS         90014776116
78689655355939   CASSANDRA    SALINAS                   CA         90013596553
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78689739891588   JUAN            ESTRADA                TX         90010137398
78691719551355   PAYGO           IVR ACTIVATION         OH         90015557195
78692168231463   TYRONE          MOORE                  MO         90013551682
78693656155939   DIEGO           BORUNDA                CA         90010226561
78694939955939   ANTHONY         PADILLA                CA         49077859399
78694945641253   NINI            HLAING                 PA         90012289456
78695585844346   DAMARIS         GRANER                 MD         90012565858
78695732955947   ROSALIO         ESTRADA                CA         90005697329
78696412555969   SHEENA          LUNA                   CA         90008984125
78696468171921   BRENT           DAMRON                 CO         90013164681
78696681531433   JENNIFER        NOLAN                  MO         90009446815
78697678155947   JOAQUIN         CONTRERAS              CA         49080276781
78697827661973   GRISELDA        MONDRAGON              CA         46070758276
78698211451355   CLADUIA         CLAUDIA                OH         90003582114
78698351551348   KELLY           CAUDILL                OH         90007403515
78698495593739   MELINDA         ESTEP                  OH         64539554955
78698844493739   CHRISTINA       LONG                   OH         90008378444
78699221455947   ALMA            HERNANDEZ              CA         49073682214
78711733755939   MANUEL          AREVALO                CA         48048757337
78712365841253   VESHIA          GUICE                  PA         51031373658
78713293341227   SHAUNAY         WOODRUFF               PA         51083052933
78713343151355   NICOLE          RUNIONS                OH         66033303431
78714622871921   SHAUNA          HECKMAN                CO         90007946228
78714732931443   DAGNA           LONG                   MO         27572217329
78715791655947   NORMA           NAVARRETE              CA         90014727916
78716629651391   RAPHEAL         DAVIS                  OH         90001166296
78718351941237   MARYJEAN        CONTE                  PA         51046703519
78718537651348   CHRISTOPHER D   BRADFORD               OH         90012505376
78719355451355   WILLIAM         RAPIER                 OH         66046333554
78724541751355   NELSON          CASTRO                 OH         90015285417
78724946531432   LATOYA          CHATMAN                MO         90013159465
78725496893739   ALICIA          BLOUNT                 OH         64507884968
78725865581633   JESSICA         BATTON                 MO         90013768655
78727256144346   PODD            COOLHAN                MD         90015542561
78727774155947   SOUA            LEE                    CA         90013987741
78727918781633   BRIONES         MANUEL                 MO         90001729187
78728248171921   DEBBIE          MERCER                 CO         32034532481
78729175731432   CHRIS           DAVIS                  MO         90014781757
78732442441227   DANIELLE        DAVINPORT              PA         90005124424
78733187955969   ANGELA          GONZALEZ               CA         90010171879
78733353951348   MONT            NORMAN                 OH         90003163539
78733373391588   RIVERO          ROSENDO                TX         90012183733
78733612771921   KAYLA           INNESS                 CO         90014176127
78735452251355   BRAXTON         PRATT                  OH         90014534522
78735789293739   SHALYNNE        ROOKARD-MILLS          OH         90011227892
78735866851355   TERENCE         COLEMAN                OH         90013208668
78738543231433   CLARA           MCCOMBS                MO         27505415432
78738746291588   LAURA           DELGADO                TX         90009937462
78743448531433   TANISHA         WEBB                   MO         90013544485
78743575151348   MELANIE         FORNEY                 OH         90010085751
78745484531432   SHAWN           NEARLY                 MO         27572274845
78746692155969   GERARDO         RUIZ                   CA         90012066921
78749872893739   MARIE JOSIANE   DUSABE                 OH         90013778728
78753963372479   ANGELA          GLOVER                 PA         51047359633
78755572855947   ELISE           MARIE BANDY            CA         90000845728
78756744793739   APRIL           MOORE                  OH         64593177447
78758199991979   SHAMIRE         TUCKER                 NC         90013251999
78758591281633   JENNIFER        MARTINEZ               MO         90009455912
78758937951348   MAURICIA        ANDRE                  OH         90006919379
78759463255947   HORTENCIA       COVARRUDIAS            CA         49047104632
78761184933698   JESUS           ARELLANO               NC         90005351849
78762524991588   CARINA          CHAVIRA                TX         90007995249
78763881855969   JOSE            CASTRO                 CA         90012728818
78764259891588   LETICIA         FLORES                 NM         90001082598
78764273791368   SAMANTHA        MOORE                  KS         90005052737
78764912855969   SHANDRA         SMITH                  CA         90000169128
78766456291588   JONATHAN        BELTRAN                TX         90010984562
78767417951355   LINDA           GENTRY                 OH         90006244179
78767812541253   SANDY           REYNOLDS               PA         90007158125
78769961772479   JIMMY           DORA                   PA         90001419617
78771767781633   VONZELL         SWAN                   MO         90015307677
78773428686436   GEORGE          FOY                    SC         90013864286
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78775273151348   RICO            ASBERY                 OH         66002462731
78775372331433   RONZELL         MCPETERS               MO         90014583723
78775424841237   GEORGE          SMITH                  PA         90014944248
78775681271921   LEROY           PHILLIPS               CO         90000606812
78775923151355   WADE            ROBERTSON              OH         66009589231
78776271391588   LILIANA         MUNOZ                  TX         90012272713
78777856141237   MELINDA         ERNY                   PA         51039618561
78777934781679   CONNIE          LAMKIN                 MO         29083109347
78782572155969   ISABEL          CARDENAS               CA         48033585721
78782798931433   TIMOTHY         SIMS                   MO         27572817989
78786237141253   SA              HOANG                  PA         90008282371
78789521851355   SANDRA          GARCIA                 OH         90014385218
78789912871921   CHRYSTAL        SANCHEZ                CO         90012679128
78791444533698   ROSANNE         DOWDY                  NC         12004264445
78791659661984   MARTH           LOPEZ                  CA         90011686596
78792242531443   PATRICK         AKERS                  MO         27511452425
78792372641237   JAMMIE          CLEMANTE               PA         90011913726
78792976971921   YADIRA          RICO                   CO         32061779769
78793481855969   TINA            PENA                   CA         90004964818
78793813893739   MARK            GIBSON                 OH         90014788138
78794551193739   JUAN            GOMEZ                  OH         90012065511
78798423273267   SHAY            MAGIDOV                NJ         90013844232
78799239733699   NELSON          ECHEVERRIA             NC         90002802397
78811152155921   CHRIS           BEASTON                CA         49035051521
78811956593739   LISA            JENNINGS               OH         90011229565
78812836233698   CHAUNCEY        HALL                   NC         90005588362
78813195751348   TERSIA          MARKSBERRY             OH         66064731957
78816394755947   HEATHER         HUGHES                 CA         90011343947
78818424772479   JOAN            KOVALCHUK              PA         90004604247
78818622871921   JENNIE          AQUINO                 CO         90013226228
78819663471921   MARTHA          CERVANTES              CO         90014816634
78821166836123   MIHAEL          MENDOZA                TX         90012771668
78821599551348   VALENTIN        GARCIA                 OH         90011965995
78824265651348   DAVID           BUNNER                 OH         90014812656
78825112533698   JASMIN          BURRELL                NC         90012591125
78826928155939   ANTHONY         OCANAS                 CA         48038429281
78827434255947   DIANA           HUBBLE                 CA         90013744342
78828288893739   SCOTT           DAVIS                  OH         90013612888
78828654131432   RICK            SCHWEIZER              MO         90010376541
78828715755947   ROBERT          ESTRADA                CA         49048697157
78828959191588   NANCY           DE LA CRUZ             TX         90004209591
78829585981633   BROOKLYN        VAUGHAN                MO         90013075859
78831167541227   ALIYYA          LEE                    PA         90000521675
78833766155939   ANA             MARTINEZ               CA         48057167661
78834127897123   TRACEY          HIGGINBOTHAM           OR         90014811278
78834678855969   RAYMOND         WITTMAN                CA         90001646788
78834994581633   DEWAYNE         COOPER                 MO         90011759945
78835352493739   KALI            COLLIER                OH         90013903524
78835434181633   ANDREW          ADEN                   MO         29015724341
78835882455969   ANA             HERNANDEZ              CA         90008558824
78836434181633   ANDREW          ADEN                   MO         29015724341
78836481871921   STAN            MEEKS                  CO         32098684818
78836528393739   TERRI           JONES                  OH         90002045283
78837577981633   ANGELA          DALE                   MO         90010945779
78837615141237   SUSAN           WOODWARD               PA         51096186151
78837931231432   DALFRED         TAYLOR                 MO         90010229312
78838735157126   GLADIS CELINA   HERRERA                VA         90003047351
78839165551355   ANTHONY         GREEN                  OH         90012541655
78839594955939   JOSE            SERRANO                CA         90014265949
78839952485954   TRAVIS          BOSWELL                KY         90013149524
78841139185896   CHRIS           JASAK                  CA         46048981391
78842829191588   CLAUDIA         DEL LA SIERRA          TX         90014488291
78843675593767   JULIA           MATTHEWS               OH         90004766755
78845424991572   BRENDA          CEBALLOS               TX         90007374249
78846767141289   JAMES           BROWN                  PA         90000307671
78846844791588   CESAR           PONCE                  TX         90013238447
78847423984336   RUBINSTEIN      BROWN                  SC         90002534239
78848669286433   VERNON          CARTER                 SC         90015166692
78849288893739   SCOTT           DAVIS                  OH         90013612888
78851248431432   SONIA           STRINGER               MO         90015132484
78851581341265   SUSMITA         GURUNG                 PA         90008945813
78851976555947   FERNANDO        BELTRAN                CA         90012619765
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78852278371921   DAVID        HENDRICKSON               CO         90012482783
78853545757531   NANCY        PEREZ                     NM         90009355457
78854541491588   STEPHANIE    TORRES                    TX         90013565414
78854773451355   SERGIO       PEREZ VELASCO             OH         66087707734
78854861855947   MARIA        GARCIA                    CA         49021848618
78854956841253   ASHLEY       MATHESON                  PA         90013149568
78856471141253   JORDAN       WILDER                    PA         90012584711
78858515455982   BRANDON      GONZALEZ                  CA         90003095154
78859248431432   SONIA        STRINGER                  MO         90015132484
78861463351355   BRANDON      STURGEON                  OH         90011734633
78862263541253   ERIC         BROWN                     PA         51030562635
78862797155939   EMMA         HERNANDEZ                 CA         48007577971
78862827571921   RHIANNA      GAVIN                     CO         32087638275
78862999931432   ANTHONY      CASSADAY                  MO         27538999999
78864824551368   WANDA        WOODARD                   OH         90008298245
78865836233698   CHAUNCEY     HALL                      NC         90005588362
78865917455969   JEREMIAH     VELA                      CA         90013909174
78866582251391   YACIR        JAOUHARI                  KY         66043095822
78867499731433   ROSALIND     VAUGHN                    MO         90009224997
78869149941237   RUBY         MUNSEY                    PA         90005151499
78869481551355   ASHLEY       WILSON                    OH         66047264815
78871445931433   LETITIA      MOORE                     MO         90014704459
78871717971921   DEZARAY      ZOCARRO                   CO         90014457179
78872271393739   CAMERON      STORM                     OH         90015152713
78872429951348   JACQUELINE   BREWER                    OH         90013344299
78873777755969   GUSTAVO      CEBALLOS                  CA         90009297777
78874272171921   SACHAE       HAIGLER                   CO         32023392721
78875369655939   TOMASA       PEREZ                     CA         90014553696
78875635231466   DEBORAH      NORMAN                    MO         27512036352
78876797141257   QUINNESHA    ALVEREZ                   PA         51010797971
78881232693739   RONALD       NARED                     OH         64530762326
78884392555947   SOUK         POLSENA                   CA         90014553925
78885419693739   LORETTA      HALCOMB                   OH         90004974196
78887187455947   STEVE        SHARP                     CA         90008161874
78887293541237   RICHARD      PLISH                     PA         90012482935
78889614571921   RUTILO       LUNA                      CO         32087626145
78891656481633   AURIOS       PERZO                     NE         29005986564
78892158151355   JAY          WHYLE                     OH         66064821581
78892262433698   JEMICEO      GRAHAM                    NC         12096632624
78893248481633   KELLY        DILLARD                   MO         90008912484
78893665333625   AMANDA       CASSINELL                 NC         90011876653
78894328751348   JOSHUA       DILBERT                   OH         90003263287
78894525541253   LAVONNE      JOHNSON                   PA         51043235255
78895449481633   DAMIAN       MAYS                      MO         29062214494
78895521591963   HORACE       BROWN                     NC         90005875215
78897233933698   MELISSA      JOHNSON                   NC         90002692339
78897462755947   ROQUE        CARRILLO                  CA         90011384627
78898266155997   CANDANCE     RAMIREZ                   CA         49005882661
78899553863669   TIM          DICKHERBER                MO         90011345538
78911128331432   JUDITH       HUNTER                    MO         90001311283
78911457481633   LESLIE       ELLISON                   MO         29034104574
78912161655946   HEIDI        PORCHIA                   CA         90011491616
78914677731432   VICTORIA     RODGERS                   MO         90010376777
78916666255939   OMAR         DUARTE                    CA         90013786662
78921126444346   STEVE        FUNK                      MD         90015381264
78921697651355   TAMARA       SCRATCH                   OH         90012796976
78921995793739   KRISTEN      KWASNY                    OH         64565919957
78923229851355   CHERIE       HOCKL                     OH         90014442298
78923581155969   FLORINDA     ALEJANDRO                 CA         90007735811
78924685291588   MELISSA      JASSO                     TX         75043756852
78924748255969   VICTORIA     AVILES                    CA         90011437482
78924751431439   JANELLE      JONES                     MO         90001137514
78925145281633   COLTON       JACKSON                   MO         90015171452
78926313641227   ALI          ABDULLAH                  PA         90005213136
78928347631433   SHANON       LEE                       MO         27568883476
78928676455939   CARLOS       MENDOZA                   CA         90010036764
78928943431432   VICTORIA     SMITH                     MO         90009399434
78929275581633   JENNIFER     GAULTER                   MO         90013852755
78931246993739   ROYAL        CURRY                     OH         90010652469
78931296193739   CATHERINE    HEDGES                    OH         90009762961
78931318193747   SAMANTHA     WITT                      OH         64562303181
78934844493739   CHRISTINA    LONG                      OH         90008378444
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78935128451355   LINA            LGWAL                  OH         90011091284
78935592455939   CLAUDIA         RIVERA                 CA         90004285924
78936353591368   ROCIO           FERNANDEZ              KS         90012333535
78937862171921   KAYLA           COX                    CO         90010088621
78938119944346   MALCOM          OWENS                  CO         90011141199
78938227741237   MARC            JACOB                  PA         90013852277
78938311655939   AMANDA          DELACRUZ               CA         90014683116
78939419357531   FRANCISCO       RUBIO                  NM         90014764193
78941354691588   SILVIA          ALAMO                  TX         90013103546
78941597651348   MARY            WHITLOW                OH         90012885976
78942428571921   AARON           LOCHER                 CO         90014824285
78943621171921   SARA            ANGELINE               CO         90011056211
78944543161939   MONICA          ESPINOZA               CA         90012315431
78946343951355   SHAWN P         CARDWELL               OH         90013943439
78947647891588   VERONICA        PEREZ                  TX         75091576478
78949965333624   YVONNE          MARIE                  NC         90010699653
78951471893739   KELLY           RIGGS                  OH         64567204718
78953154455969   MARICELA        MONTENEGRO             CA         90012381544
78955169531433   SHIRELL         HENRY                  MO         90013961695
78958615672479   RYAN            TURIN                  PA         51016876156
78962786871921   CHRISTOPHER     GRONHAGEN              CO         90013027868
78963325555939   JOSE            MARTINEZ               CA         90012733255
78965416241253   CYNTHIA         DINI                   PA         90011364162
78967542871921   CARLOS          PACHECO                CO         90010235428
78967736141227   JUAN            CEDILLO                PA         90002887361
78968528155939   JHOVANI         SEGURA                 CA         48037845281
78968684493739   MICHAEL         ORTH                   OH         90013926844
78968796433698   SHAWANDA        JOYCE                  NC         12036747964
78969187991566   FRANSISCO       SAPIEN                 TX         90001761879
78969399893739   RICHARD         CRON                   OH         90013413998
78969661891588   GABRIELA        RODRIGUEZ              TX         90005916618
78972768431433   RICHARD         CONREY                 MO         90003887684
78973214655969   PATRICIA        BANDA                  CA         48000472146
78973741641227   SARAH           ROSS                   PA         90002887416
78974818693739   DENISE          MORGAN-HARMELING       OH         64537918186
78975336355947   JUAN            MERCADO                CA         49054713363
78976399191588   APRIL           GALVAN                 TX         75090323991
78976741751348   LINDA           HARRISON               OH         66016787417
78976749197126   JOAQUIN         FLORES                 OR         90015157491
78977324571921   TERRY           WOODS                  CO         90014583245
78981466591588   LORENZO         MENA                   TX         90014374665
78982793731556   TANYA           CONKLIN                NY         90009257937
78983843733698   PHIL            SOUTHARD               AR         12068018437
78984686191588   CHERYL          MARTINEZ               TX         90011526861
78985366171921   NORMA           FUENTES                CO         90011513661
78986435731433   JAMELL          MCBRIDE                MO         90012834357
78988723893739   CHRIS           BROWN                  OH         90013927238
78991359391924   SANDRA BOMOLO   NGADIENE               NC         90004183593
78991529541237   SHAUNA          MCKOWN                 PA         90012785295
78991549272479   DANIELLE        PATTON                 PA         51087995492
78991995533698   ALEJANDRO       DEL ANGEL MARTIN       NC         12082249955
78992773531433   KENNETH         BROWN                  MO         90014347735
78992898655969   ANNETTE         GARRETSON              CA         90006518986
78994624151355   AARON           MILASSO                KY         90012476241
78994882193739   ANTHONIQUA      TERRY                  OH         90013778821
78995999755969   ZELEIDA         HERNANDEZ              CA         48054459997
78996839551348   ALENA           ANSBERGS               KY         90003788395
78999661741241   CHRISTINE       HYATT                  PA         90002986617
78999886171921   JAN             GASTER                 CO         90011208861
79111546955969   CINDY           MCGUIRE                CA         48041715469
79111917371921   STEPHANIE       WHITTEMORE             CO         32006299173
79114344441253   GUALBERTO       CARHUASLLA             PA         90006013444
79114514455969   MARCOS          SOUSA                  CA         90013235144
79115951641253   DONNA           CONNOR                 PA         51027839516
79117973355969   SUSANA          PALMA                  CA         90013789733
79118676181633   XOCHITL         CASIQUE-BALBUENA       MO         90008906761
79122328357132   DORIS           JAICO                  VA         90002953283
79122575933698   MONICA          HEMINGWAY              NC         12089645759
79125675977524   NOE             ESPANA                 NV         43011336759
79126163191588   SERGIO          VENEGAS                TX         90014811631
79127278955947   CAROL           SPENCER                CA         90014572789
79129854851348   GREENWOOD       RUSSELL                KY         66067908548
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79132174144346   LATONYA      BRANDON                   MD         82080401741
79133414293728   DANTE        WOODLEY                   OH         90000254142
79133564691588   ANA          NAVARRO                   TX         90010845646
79134227841253   DUSTIN       OLIVIER                   PA         90014702278
79135711151348   STEVENS      CATHERINE                 OH         66095947111
79135779241253   ARDRETTA     SCOTT                     PA         90008087792
79138965491577   OKANEE       PATINO                    TX         90015199654
79139664555939   DANIEL       SMITH                     CA         90014866645
79139837991588   OLGA         ROCHA                     TX         90012518379
79141737471921   JOSE         GUADALUPE                 CO         90013887374
79142432155969   YOLANDA      HARROUN                   CA         48061664321
79143525941237   APRIL        HAYDEN                    PA         51082155259
79145635655969   MONICA       FIELDS                    CA         48086216356
79146159431433   JOHN         ARELLANO                  MO         27564481594
79147794841237   ALICE M      PANARO                    PA         51021567948
79147915441237   MUENSTER     DOUGLAS                   PA         51085409154
79148112191969   KEILA        SALINAS                   NC         90013631121
79148359251325   SENEBA       MAME                      OH         90007403592
79148648293739   ANGEL        BURTON                    OH         90003476482
79151389891588   LUIS         BARRAZA                   TX         90009623898
79151527341237   TANAIA       KURKA                     PA         90010075273
79154749755939   CESAR        ALEMAN JR                 CA         90012947497
79154852341227   BRENDAN      GAMBRELL                  PA         90006908523
79155278833698   TERRANCE     CARTWRIGHT                NC         90003662788
79155742893739   GERALD       OVERHOLTZ                 OH         90010317428
79159135855939   ANA          GUTIERREZ                 CA         90011741358
79159423233698   LASHANA      WALL                      NC         90005694232
79159425241253   CLAIRE       RODRIGUEZ                 PA         90010494252
79159655331433   DEANDREAL    HERRON                    MO         90005596553
79162424655939   JOSE         MARIN                     CA         48076784246
79163847233651   ISRAEL       RODRIGUEZ                 NC         90013418472
79164658891588   ALMA         DOMINGUEZ                 TX         90014386588
79164854851348   GREENWOOD    RUSSELL                   KY         66067908548
79164953781633   LINDA        LOWERY                    MO         90014639537
79166327455997   TIFFANY      TULTON                    CA         90006893274
79166898991588   SANDRA       FIERO                     TX         75076598989
79167332193739   ALISON       PERRY                     OH         64590603321
79167336551348   JENNIFER     KAVEN                     OH         90012983365
79171367981633   DAVID        HEMBREE                   MO         90011383679
79171839377524   ALEXANDREA   WURTHMANN                 NV         90001078393
79174229381633   LYNNETTE     HASKINS                   MO         29067942293
79175139551348   NAOMI        STREAKER                  OH         66078111395
79176567455939   GILBERTO     NARANJO                   CA         48090555674
79176693481633   JOSHUA       HOOVER                    MO         90008906934
79178927951355   DESTIN       LUMUMBA                   OH         90013179279
79178968761967   JOHN         BRAY                      CA         90014129687
79179168747956   BAKODA       DREAK                     AR         90015531687
79179729641237   CONRAD       MAYO SR                   PA         51007277296
79179768951355   TAWNYA       COLE                      OH         66087507689
79181459241227   ELIZABETH    COOK                      PA         51049944592
79181699941253   BEVERLY      SNOW                      PA         51024576999
79182411455939   ALEJANDRO    HERNANDEZ                 CA         48006434114
79182574957126   JOSE ROMEO   SANABRIA                  VA         90010425749
79182746333698   DONNA        WHITE                     NC         12082997463
79185944341237   SHELTON      GREEN                     PA         90013579443
79186542455969   FERNANDO     RODRIGUEZ                 CA         90013945424
79186686655939   REYNOLDO     VILLALOBOS                CA         90010426866
79186715451348   WILLIAM      FERRY                     OH         66069167154
79189531933698   JO           SAWNEY                    NC         90011365319
79191477671921   BARBARA      LAINEZ                    CO         90012344776
79192337284384   DERRICK      NELSON                    SC         90014113372
79193132755969   ROBIN        SCOTT                     CA         90015121327
79195691941237   UNKNOWN      UNKNOWN                   PA         90014526919
79197371571921   JESUS        VASQUEZ                   CO         90010763715
79198945641253   MARKIA       FERGUSON                  PA         51046789456
79199317861967   JESSE        BUSO                      CA         90008453178
79199847191588   CRISTINA     DE LEON                   TX         90010228471
79211259655947   GABRIEL      RODRIGUEZ                 CA         90014632596
79211956371921   RENEE        ROMERO                    CO         90008749563
79212351191942   ROGELIO      MALDONALO                 NC         90011403511
79214122461967   ANA          VELAZQUEZ                 CA         90012001224
79214954755969   SERVANDO     LOPEZ                     CA         48042679547
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79215759455947   ALICIA       MYCETT                    CA         90010427594
79216285371921   ANASTASIA    HARRISON                  CO         90011512853
79217526241237   STACEY       MILLER                    PA         90011395262
79217948655939   JUAN         PACHECO                   CA         48086969486
79219497581633   ROCHELLE     DYE                       MO         90001184975
79221272633657   MINDY        TUCKER                    NC         90012492726
79222433291588   ROSA         GARCIA                    TX         75089374332
79222714971921   MAURICE      MCCLAIN                   CO         90001677149
79224836351348   CHRISTINA    SCHLEEHAUF                OH         90001398363
79226391155939   MARIA        PEREZ                     CA         90004153911
79226396877524   DANA         WOOD                      NV         90002183968
79228422357531   CARLOS       RUBIO                     NM         90013954223
79228589897126   JESSE        HICKERSON                 OR         90002835898
79228942877524   MARILYN      LOUISE MCCAN              NV         90006499428
79229647971921   JOSE         REYES                     CO         90013096479
79229665531432   ELLIOTT      VAUGHAN                   MO         27580236655
79232317241237   LINDA        ROSS                      PA         90012653172
79232387971921   LAURA        SANCHEZ                   CO         90011113879
79233464493767   LEONIA       JONES                     OH         90006194644
79233649361967   THOMAS       RIOS                      CA         90013896493
79233671271921   JUDY         SLAUGHTER                 CO         32085086712
79233674955947   ERICKA       RIVAS                     CA         90007416749
79235363531443   TITO         BROWN                     MO         27562973635
79235632355969   MEGAN        SWEENEY                   CA         90009816323
79236173692828   BERNARDINO   FABIAN                    AZ         90014431736
79236294755939   BLANCA       PENA                      CA         90015182947
79238671571921   PAYGO        IVR ACTIVATION            CO         90006436715
79239332555947   OZIEGBE      IDONI                     CA         90012803325
79239499855939   MARIO        COLIN                     CA         90015114998
79239584841253   NIKKIA       JACKSON                   PA         90010715848
79241189231487   RAY          THOMAS                    MO         90011641892
79241218555947   ZANE         JURY                      CA         90012392185
79241524855939   JUAN         LOZANO                    CA         90013235248
79241924391588   ALEJANDRA    MORALES                   TX         90013179243
79242572941246   BRITTNEY     HAST                      PA         90001615729
79242638751355   TESS         SHARKEY                   OH         90012386387
79243538391588   JENNY        GOMEZ                     TX         90014265383
79243698393739   LAKEISHA     WILSON                    OH         90011816983
79244783941253   LORI         HUBBARD                   PA         51096217839
79244833551348   STEVE        UMEL                      OH         66031578335
79244912533698   STEADY       ROCK                      NC         90014789125
79245444561967   DANIEL       NYAGGAH                   CA         90010184445
79245533155969   BRENDA       NAJERA                    CA         90003395331
79245731177524   OSCAR        VAZQUEZ-COPADO            NV         90005517311
79246568871921   JESSICA      SIMONDS                   CO         32067635688
79246656254121   HERIBERTO    RODRIGEZ                  OR         90015196562
79247235331432   NICK         MUCHITELLO                MO         27580242353
79247484171921   ANNDREA      CLARK                     CO         90014854841
79247917181633   CINNEMON     CORNWIN                   MO         29011019171
79253497571921   JAMES        LANGER                    CO         32009064975
79253934455969   MARIA        GONZALEZ                  CA         90012679344
79254989181633   PATRICIA     AYALA MALA                MO         90012109891
79255564941246   JANET        THOMASON                  PA         90006495649
79255868291588   JORGE        HERNANDEZ                 TX         75012078682
79256124971921   JACQUELINE   JOHNSON                   CO         32002801249
79256754441253   CARTRELA     TATE                      PA         51092847544
79256767855946   GLORIA       MAGALLANES                CA         48000457678
79257228851348   KATRINA      DRAPER                    OH         90014422288
79257443881633   SHAVON       ADAMS                     MO         90013074438
79258615455969   ANDRES       VALADEZ                   CA         90015116154
79259218251348   TONYA        K EISNER ELLIOT           OH         66006442182
79259925771921   MARION       SIRE                      CO         32001869257
79261588791588   RAYMUNDA     SILVA                     TX         90012185887
79264652386436   ANGELA       DARRITY                   SC         90013996523
79264712633698   REYNALDO     ARTEAGA                   NC         90000427126
79265755461967   MARIA        DURAN                     CA         90011197554
79265943991588   CRISTINA     MOLINA                    TX         90013849439
79266111155969   ANA          BARAJAS                   CA         48055221111
79266243371921   KACHONNE     WILLIAMS                  CO         32049262433
79266698181633   PHYLLIS      MOORE                     MO         90013246981
79267791471921   EDGAR        ZUNIGA                    CO         90013267914
79268781371921   RICARDO      VALVERDE H                CO         90014887813
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79273483451348   MARTEIA         POELLNITZ              KY         90013774834
79273972561459   CONNIE          FAIRCHILD              OH         90014119725
79274357777524   CHAYA           FEBBAG                 NV         90002193577
79274743581633   JAMES           POLFER                 MO         90014467435
79276547555969   YVETTE          PEREZ                  CA         48095495475
79277427151348   LADON           JOHNSON                OH         66076734271
79278249641273   SARA            GERWIG                 PA         90013282496
79281186831433   JEFFREY         RIGGS                  MO         90011271868
79281716455939   MARTHA          ALATORRE               CA         48086727164
79281797633698   LATASHA         MILLER                 NC         90012247976
79282398831432   CHELSA          WOODALL                MO         27517983988
79282772955969   KATHRYN         ROBERTS                CA         90006887729
79283641451355   DANIELLE        ROGERS                 OH         90012386414
79284178377524   JOHN            HOLTSHOUSER            NV         90010221783
79285876933698   TRACHELLE       WALINGTON              NC         90009728769
79285974351348   REBECCA         REID                   OH         90013449743
79287658351348   TIFFINEY        MCGHEE                 OH         66037986583
79288151755969   DAVID           ARRIAGA                CA         48085091517
79288496961967   ERICK           VELASQUEZ              CA         90003954969
79289124771677   ZHANE           JEADER-JONES           PA         90014151247
79289271981633   YARITZA         CACERES                MO         90010332719
79289519731443   JACOB           CHRIST                 MO         90009955197
79289786193739   TANIA           BAXTER                 OH         64512917861
79291513151348   LAKESHA         KELLY                  OH         90013775131
79291986693739   REDA            ELIDRISSI              OH         90009979866
79293515181633   LISA            WHITE                  MO         29088505151
79294476771921   LACEY           ALBONICO               CO         90009774767
79294916141237   KELLY           BROWN                  PA         51060029161
79295658891588   ALMA            DOMINGUEZ              TX         90014386588
79295977291563   VITERBO         URQUIDI                TX         75033749772
79296842191585   ARMANDO         CRUZ                   TX         75086718421
79311995891588   ERICK           ZAMBRANO               TX         90013739958
79312158181633   ZAYRA           GONZALEZ               MO         90003541581
79312491933698   ASHLEY          FREEMAN                NC         90014774919
79313983931432   CONTINA         FRAZIER                MO         90007529839
79314895555947   AARON           DELGADO                CA         90013088955
79314926493739   GENRY ALBERTO   MONTERROSO             OH         90011819264
79315852936123   EMILY           REAGAN                 TX         90002928529
79315957271921   GILMAR          LUSH                   CO         90014899572
79315978333698   ANGELA          MCCLURKIN              NC         90011029783
79316332255969   ZACHARY         LULWITZKY              CA         90010113322
79316492361967   ISAEL           ORTIZ                  CA         90014934923
79317289831432   ELAINE          GIBBS                  MO         90006602898
79317467655947   STEPHANIE       MORAN                  CA         90014654676
79318578741246   JACKSON         CURTIS                 PA         51037215787
79319183771921   ROBERTA         MONDRAGON              CO         90013401837
79319262491588   NOEMI           HERNANDEZ              TX         90014682624
79321846455939   SUSANA          DIAZ                   CA         90011168464
79322166981633   TIM             HOWE                   MO         90010311669
79322425751348   STEVE           ROSE                   OH         66065144257
79322647141237   COLBY           WEAVER                 PA         90010286471
79323172891588   MARIA           TARANGO                TX         90013551728
79323189251348   ALISHA          MIMES                  OH         66045881892
79323296461967   JOSE            QUINTERO               CA         90008992964
79323358355969   KEITH           WEMMER                 CA         90012513583
79323488341237   CARLOS          HAMLIN                 PA         90014934883
79323711381633   DONALD          DOLES                  MO         90013817113
79324134281633   GLENN           JONES                  MO         90014371342
79326439971921   AHBREYONNA      STURLAUGSON            CO         90014404399
79326648541253   RICHARD         SIMMONS                PA         90013696485
79327297586436   APRIL           SMITH                  SC         90015182975
79327359391563   MARLEN          MEDINA                 TX         90001313593
79327865681633   BRITTANIE       GOMEZ                  MO         90014848656
79328833955939   TFFANY          WARD                   CA         90014468339
79329122971921   JADON           DOUGLAS                CO         90015211229
79329618161967   DARYL           MAGNUSON               CA         90005296181
79333452661967   LACY            DONAHOE                CA         90013354526
79334376133698   KERA            BELL                   NC         90013553761
79334447441237   RIKKI           SMALLEY                PA         90002674474
79335593333698   JAMES           JORDAN                 NC         90005155933
79336579855947   MELISSA         NORMART                CA         90014885798
79337668655969   MICAELA         CARRILLO               CA         90014466686
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79337821151348   BRYAN         WOOD                     OH         66091108211
79337959133698   MICHAEL       SELLERS                  NC         90014789591
79342477781633   ANDRES        SANDOVAL                 KS         90014104777
79344686361967   MARIA         LOPEZ VERA               CA         90014886863
79347521891588   TODD          MURPHY                   TX         90014115218
79348388171921   CHARLES       HARVELL                  CO         90014093881
79349994157132   CHARLES       KATO                     VA         81089339941
79351564555939   GABRIEL       ESPINOZA                 CA         90014205645
79351781493728   RYAN          GABBARD                  OH         90010657814
79352139555939   SYLVIA        CASTILLO                 CA         90004691395
79352397755947   FRANKIE       CONTRERAS                CA         90014633977
79352634591588   MARIA         NEVAREZ                  TX         90013546345
79352668893786   AARON         KEGLEY                   OH         90009236688
79352721971921   DAVID         WEBSTER                  CO         90008067219
79354562651331   MYLA          GYARMATI                 OH         90009935626
79354638671921   MCKINLEY      MOSS                     CO         90007846386
79355174357531   OMAR          QUEZADA                  NM         90015081743
79355934141253   HEIDI         BLINN                    PA         51038469341
79357514781633   JULIV         MARTINEZ                 MO         90014175147
79359528591588   ASHLEY        GALINDO                  TX         90014115285
79359788851348   DOUG          MOSS                     OH         90009097888
79359973361972   HEATHER       SANDY                    CA         90011579733
79362352691578   SANDRA        RAMOS                    TX         90004363526
79362842571921   JENNIFER      JONES                    CO         90014008425
79362878551368   MALIKAH       HALL                     OH         90000788785
79363156441253   JAMES         NICKOLLS                 PA         51042191564
79363346381633   JENNIFER      SHADDOX                  MO         90011123463
79363984184788   KATHERINE     SALAVARRIETA              IL        90014049841
79364376955939   LORENA        MORFIN                   CA         48030103769
79364866441253   BERNADETTE    DEVAULT                  PA         51016788664
79365119755969   BLANCA        FARIAS                   CA         90000711197
79366168431443   GINA          STEWART                  MO         90008031684
79366169391588   MARINA        PEREZ                    NM         90000121693
79366338355947   JESSICA       SALAZAR                  CA         90012743383
79369334741253   MICHELLE      MCCABE                   PA         51012723347
79369415655947   CRYSTAL       SMITH                    CA         90014634156
79369438381633   MATTHEW       CREMEEN                  MO         29006464383
79369983191588   ALEJANDRO     HERNANDEZ                TX         75011779831
79372683672478   JOHN          URSIC                    PA         51089886836
79374278571921   JOSE          ARCHULETA                CO         32012872785
79375538193728   TANYA         ROHRBACK                 OH         90005015381
79376781531443   DWIGHT        DAVIS                    MO         27573097815
79377224593739   BRIDGITTE     GAMBLE                   OH         90011822245
79378111881633   MR            THOMPSON                 MO         29001101118
79382531655939   CHRISTOPHER   JUAREZ                   CA         90014445316
79383694731231   IGNACIO       GARCIA                    IL        90015176947
79384198651348   ELIAS         ORTIZ                    OH         66064831986
79385283341237   MELISSA       MARTINEZ                 PA         90012422833
79387861584346   DONAVAN       MCMANUS                  SC         90015448615
79388289977524   MARIA         SORIANO                  NV         90005522899
79392236655969   NORMA         LOPEZ                    CA         48069472366
79393396641253   NICOLE        TRENT                    PA         90010303966
79393697255939   JESSICA       RODRIGUEZ                CA         90012066972
79394143455969   YOLANDA       ROBLEDO                  CA         48063221434
79395187251348   COURDNEY      BENTLEY                  OH         66065021872
79395431155947   MICHELLE      SALWASSER                CA         90014634311
79396118851348   DANIEL        YOUNG                    OH         90009341188
79398868981633   KEVIN         WILLIS                   MO         90014308689
79411856755939   ELIVETH       MANCILLA                 CA         90014698567
79412878355947   ANGELINA      TRUJILLO                 CA         49077528783
79412925371921   ANDREA        JOHNSON                  CO         90013319253
79416414241253   YARDLEY       KING                     PA         51036694142
79419666493739   LATASHA       MULLINS                  OH         64513606664
79421121293739   ANDY          SMITH                    OH         64519781212
79421311651355   YONAS         TEW                      OH         90013923116
79424768151355   BLAKE         CARPENTER                OH         90015137681
79425821857147   MARCUS        GRANT                    VA         90012568218
79426765431443   LISA          KAESHAMER                MO         90009537654
79427596441227   THOMAS        PASTORES                 PA         90013465964
79428238751355   JESSIE        WRIGHT                   OH         66058752387
79431457491588   GRACIELA      QUINTANA                 TX         90014874574
79431549841237   JESSICA       POLOWSKY                 PA         90013205498
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79432684771921   TYRONE             NELSON              CO         90013906847
79433489451348   GINO               BERNAL              OH         90013934894
79434513151348   LAKESHA            KELLY               OH         90013775131
79438619341237   ANGEL              MILLS               PA         90010326193
79441144155969   EVERARDO           LOZA                CA         90015121441
79441661191563   RAQUEL             VILLALOBOS          TX         75050856611
79444426633658   BEATRIZ            ORTIZ               NC         12010174266
79444719861978   LYDIA              CAMPOS              CA         90005217198
79447498172423   ANDREA             CECCONELLO          PA         90009114981
79447592433624   MARCO              ANTONY              NC         90010515924
79448639591588   RANDY              MACIAS              TX         90004866395
79449618855939   BEATRIZ            LEDEZMA             CA         90015196188
79451744341253   MADGE              MITCHELL            PA         51095417443
79453474641237   WYATT              ROBINSON            PA         90014834746
79454851941253   KIMBERLY           HUGHES              PA         90007958519
79455132755969   ROBIN              SCOTT               CA         90015121327
79455759791588   JOSE               ORTEGA              TX         90013737597
79455956171921   HELEN              COLANGELO           CO         90011499561
79456435233698   KIM                KIM                 NC         90014314352
79456595441253   JAMIL              POSEY               PA         90008185954
79456731381633   DERON              DAWKINS             MO         90015017313
79458623791588   JACKIE             VASQUEZ             TX         90011026237
79458829251355   SARA               GONZALEZ            OH         90014488292
79458882471955   BRANDON            DIAZ                CO         90011458824
79461436941237   ANNAJEAN           ARTHRELL            PA         90015234369
79463293357133   NELSON ALEXANDER   CABEZAS             VA         90007922933
79464998871921   ANAHI              DIAZ                CO         90015069988
79465515933698   BRYANT             COWAN               NC         90014795159
79465589771921   SHAUNA             MATTHEWS            CO         90011525897
79466151181633   LEONARD            DWAYNE              MO         90003991511
79466231533698   LEOLA              WHITAKER            NC         12045702315
79466765331487   ROSALIND           MOORE               MO         27558257653
79469179641227   JULIE              LUDOVICI            PA         90012441796
79469624581633   CYNTHI             TYSON               MO         90013736245
79473245833698   JACINTO            VARGAS              NC         90001702458
79473262571921   ANTHONY            QUINTANA            CO         90009472625
79473558933698   RUBY               MARSHALL            NC         90014795589
79473592491588   ANGELICA           GONZALEZ            TX         90013225924
79474269593739   LESLIE             BLAKES              OH         64548282695
79475153872431   HAZEL              BOYD                PA         90005421538
79475957555939   BLANCA             RIVERA              CA         90004789575
79477346241237   CINDY              WHITE               PA         90011703462
79477398161967   KRISTINA M         KRUTOP              CA         46057143981
79478814781633   CINTHIA            REW                 MO         29064608147
79479319693747   MICHAEL            HAMMEL              OH         64578673196
79481182491588   KARINA             MEDRANO             TX         75045881824
79481285455939   EDWARD             DOMINGUEZ           CA         90006182854
79482191771921   PARTICK            SMITH               CO         90002271917
79482385691322   ROBERT             RAMSEY              KS         29095053856
79482433981633   KIASA              CLEMENTS            MO         90014564339
79483294655969   BRANDON            ANDRES              CA         90014182946
79483469155939   LUIS               ACEVEDO             CA         90013964691
79483681166143   KHAMPHASONG        DONGDILATH          CA         90014276811
79484241471921   JACKIE             THARPE              CO         32034662414
79484488251325   STEVE              SMITH               OH         90009384882
79486194655939   RAFAEL             DOMINGUEZ           CA         90014891946
79486474341237   VINCENT            CZACHOWSKI          PA         90010724743
79486555881633   FERNANDO           HERNANDEZ           MO         90013315558
79486899551348   AMBER              BICE                OH         90011088995
79486977791588   JESSICA            ESQUIVEL            NM         90001809777
79487237233698   TWANNA             WHYTE               NC         90014902372
79488228955939   PEDRO              MORALES             CA         90012382289
79488754871921   JAMES              HOBDY               CO         32069747548
79489551961967   JOLENE             FRAKER              CA         90011755519
79489714671921   LUIS               HERNANDEZ-DIAZ      CO         90014557146
79492585791588   MARTHA             SIDA                TX         90009805857
79493159355969   DAVID              MUNOZ               CA         90014731593
79493179371921   GRECIA             DELEON              CO         90011971793
79493493251355   JACQUELYN          FRIDLEY             OH         90010644932
79494699141228   ICB                INC                 PA         90007066991
79495222681633   DERIUS             HENDRICKS           MO         90014762226
79498248392825   ROSE               NELSON              AZ         90014392483
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79498315933698   ALEXA           CHERRY                 NC         90014803159
79499748191588   DANIEL          PALACIOS               TX         75031367481
79511164791588   YOLANDA         HOLGUIN                TX         90013641647
79512556655939   HECTOR          LOPEZ                  CA         90008955566
79512899357152   JAMA            MOHAMUD                VA         90000858993
79512942141246   FLACK           ANNE BRITTANY          PA         51097189421
79513659271921   MONTE           SUDBRACK               CO         32094086592
79514634555939   DANIELA         VILLEGAS               CA         90013286345
79515198755947   PA              VANG                   CA         90001851987
79515339391588   CRISTIAN        LOPEZ                  TX         90010783393
79518154361967   SALVADOR        CASTILLO               CA         90014151543
79518354981621   ANNA            CRUM                   MO         90004053549
79518589455969   HERMELINDA      BARAJAS                CA         90001515894
79519225351355   YOLANDA         COLLIER                OH         90014242253
79519594381633   DALIA           QUIROZ                 MO         90005815943
79521849181633   STEPHONNE       JONES                  MO         29013808491
79522579933698   JERMAINE        JARVIS                 NC         90014805799
79522721151326   MICHELLE        SORRELL                OH         90010737211
79525954955939   JAIME           HERNANDEZ              CA         48077029549
79527986541253   CHRISTOPHER     IOCCA                  PA         90012609865
79529317541237   CARRIE          FIKE                   PA         90015483175
79531415761967   STEPHANIE       SHIPLEY                CA         90005874157
79533132971921   JUAN            ANTONIO                CO         90012101329
79533526541237   JOSH            WISNICK                PA         90015215265
79533662791588   LORENZO         CHACON                 TX         75066146627
79534747155939   LEO             TREVINO                CA         48025337471
79534953631443   FREDRICK        WATSON                 MO         90000119536
79535869351355   RUBY            BUMPERS                OH         66034388693
79536131191588   PATRICIA        SIERRA                 TX         75077801311
79538859993736   DEVANTE         WALTER                 OH         90001048599
79539674333698   SILVERIO        VILLALOBOS             NC         12015976743
79541355755964   GLADIS          TAPIA                  CA         90007903557
79541448491549   CRYSTAL         SPRUCE                 TX         90012584484
79542743655947   CHRISTOPHER     CRISP                  CA         90013307436
79544338281633   LORI AND DAVE   BOTTOMS                MO         90014153382
79544661141253   TORI            BREGON                 PA         90008466611
79547122571921   MARTA           BENTIVOGLIO            CO         90011351225
79547229855939   DANIELLE        GOMEZ                  CA         90013412298
79548992693739   NICOLE          KERSHNER               OH         90013549926
79552156493739   MELODY          JONES                  OH         64518181564
79552392571921   SHALISHA        JACKSON                CO         32082303925
79552593741237   LAMONT          BARKLEY                PA         90005185937
79553669751355   BETTY           HOWARD                 OH         66029516697
79553863957132   DOROL           KING JR                VA         81094778639
79554912555939   MANUEL          RAMOS                  CA         90006349125
79555938541253   DAVID           CASIMIRI               PA         51000559385
79556482833698   KENDRA          WINSTON-MOORE          NC         12006654828
79557948961967   JOHN            HITCHINGS              CA         90002459489
79562721591588   ALEJANDRO       MALDONADO              TX         90002867215
79564931371921   JUAN            OCASIO                 CO         90014789313
79565741951355   ROSCOE          FIELDS                 OH         90011507419
79566519155947   SHALA           SILVEIRS               CA         90014645191
79567522361967   CAROLINA        ESTREMERA              CA         46026735223
79567561291588   GUADALUPE       LEGARRETA              TX         90014175612
79568177655939   JOEL            MORENO                 CA         90014861776
79568187261967   ANGEL           LYTLE                  CA         90011961872
79568837355969   OSCAR           BARRON                 CA         48009748373
79569723541237   KAYLIE          MEININGER              PA         90002637235
79572546155939   VICTOR          VELASQUEZ              CA         90008675461
79573495151355   ASHLEY          CRESS                  OH         90012934951
79573549255969   JOSE            CHAVEZ                 CA         90010095492
79574239255939   MARIA           RANGEL                 CA         90007702392
79575766281633   SHONTE          WODDS                  MO         90014037662
79575772655969   CHRISTINA       SANCHEZ                CA         48032707726
79575973433632   ANTHON          WEBB                   NC         12009279734
79576731241237   JOSEPH          FLORIOLLI              PA         90006237312
79577552491588   HECTOR          JURADO                 TX         90007565524
79578364791588   GREG            MORENTIN               TX         90015153647
79581459655939   ALEJANDRO       PORRES                 CA         90013854596
79581766561967   ANALI           ROMERO                 CA         90011897665
79584394293786   LASHIRA         JONES                  OH         90012693942
79585793833698   CYNTHIA         ROBINSON               NC         12082837938
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79586552133698   JENNY        SMITH                     NC         90004255521
79589773651355   GENA         SANTILLAN                 OH         90014267736
79591726433698   SOKNY        KONG                      NC         90014927264
79592853655947   VICTOR       PICHARDO                  CA         90013048536
79592867791566   MIRIAM       VIRAMONTES                TX         90000198677
79593395984324   PAYGO IVR    ACTIVATION                GA         90011573959
79595811281633   TOY          ROBERTSON                 MO         90014878112
79595961361967   PEDRO        FAUSTO                    CA         90008959613
79596865771921   MELINDA      GARCIA                    CO         90011518657
79597425971921   VICTORIA     OLMEDO                    CO         90013004259
79598495381651   ANDREA       JOHNSON                   MO         90002104953
79598756871921   NICHOLAS     FINCH                     CO         32045497568
79599356651348   RANDALL      MARTIN                    OH         90014063566
79599792561967   EDDY         AYALA                     CA         90012987925
79611185855939   EVELINA      RAMOS                     CA         90011501858
79611427181633   CESAR        NAJERA                    MO         29030824271
79613375551355   MANFREDO     TRUJILLO                  OH         90010373755
79613447591588   ROCIO        ESPINO                    TX         90014294475
79616466681633   JADA         BLEIVINS                  MO         29019214666
79616612191563   GUILLERMO    VIESCAS                   TX         90008596121
79617154157123   LUIS         GONZALEZ                  VA         81013701541
79618316141253   WILLIAM      LUFT                      PA         90010893161
79618936471921   ALFREDO      CAAMALMAY                 CO         32052969364
79619482455939   ANGELA       ELIZONDO                  CA         90013964824
79621816355969   OMAR         RUIZ                      CA         90014478163
79621936455957   IGNACIO      BUENROSTRO                CA         90013529364
79623579861922   DALILA       MENDEZ                    CA         90010255798
79623983891588   ROBERTA      MUNOZ                     TX         75015289838
79624519541246   JENNIFER     MURRAY                    PA         90010805195
79626189955947   CORINNA      MUNGUIA                   CA         49011251899
79627186671921   REBECCA      MASON                     CO         90012701866
79631583933447   BRITTANY     HARTZELL                  AL         90012485839
79632736361967   JOSE         HERNANDEZ                 CA         46067467363
79632882293739   ANGELA       PATTERSON                 OH         64514278822
79633739955939   JUANA        CRUZ                      CA         48055447399
79635163981633   DONNELL      COKER                     MO         90015221639
79635519941253   JENNIFER     HOLIDAY                   PA         51081885199
79637893155939   ARTURO       CERRITENO                 CA         48011388931
79639333561967   ANITA        COOPER                    CA         90011533335
79639638541253   JAMAR        HAMMOND                   PA         90014356385
79639965741237   MARY         MAY                       PA         90014969657
79641335471921   ALBERTO      ZARATE                    CO         90009553354
79642289493739   BRANDON      HOWARD                    OH         64573602894
79642679531443   DEBBIE       PERRY                     MO         27573056795
79643267751236   TOBE         LERONE                    TX         90014602677
79644426991588   JOSE         GURROLA                   TX         75088434269
79644473433698   BRYAN        VIGUE                     NC         90011484734
79644585151323   JEANNETTE    COLLINS                   OH         66094675851
79645871691531   MONIQUE      ANGUIANO                  TX         90012258716
79648427341253   JAY          RIVERO                    PA         90015094273
79648524771921   DARRIE       BALLARO                   CO         90013935247
79649757133698   RINEKIA      HAYES                     NC         90014937571
79651625855969   DEZIRAE      VELAZCO                   CA         48001306258
79653412171921   CHRISTINE    GONZALES                  CO         90005904121
79653536155969   JOSEFINA     DIAZ                      CA         90014295361
79653757133698   RINEKIA      HAYES                     NC         90014937571
79653797151348   RANDY        BARRETT                   OH         66007947971
79654266855969   LORIE        LAVENDER                  CA         90012532668
79654996741237   MIKE         THOMAS                    PA         90007049967
79657575651348   ISRAEL       CERCERO-MORA              OH         66026115756
79657842191588   MARIO        MUNIZ                     TX         75087308421
79658382451348   FELICIA      DRAKE                     OH         90012633824
79659218155969   LUIS         CISNEROS                  CA         90013322181
79663519391588   OMAR         MORALES                   TX         75020685193
79663656781633   DAVID        VAUGHN                    MO         90012266567
79663818741253   WILLIAM      ALLEN                     PA         90011048187
79667878855947   RITA         GUERRERO                  CA         90000838788
79668344155947   DESIREY      REYES                     CA         90012743441
79668739431443   REBECCA      FANNINGS                  MO         27513017394
79669666341237   PATTIE       PAUL                      PA         51052136663
79669946271921   TRISTAN      FOSTER                    CO         90009249462
79671144955969   DEVON        FOWLER                    CA         48003831449
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79671392961967   REZGAR       BEDUHI                    CA         90011873929
79671991755947   RUBY         LOPEZ                     CA         49020289917
79676355133698   MELVA        FLORANCE                  NC         12090623551
79676748841237   LEROY        CHISCO                    PA         51091777488
79676955655947   JESUS        HERNADEZ                  CA         90012829556
79677458361967   RUTH         ACA                       CA         90005164583
79677462555947   DESIREE      VALDEZ                    CA         90014834625
79677752551355   EDWARD       ROSS                      OH         66077077525
79678426141253   STEPHANIE    GOLYA                     PA         51017174261
79679523833698   CHRIS        THACKER                   NC         90000945238
79682229541253   EDWARD       REILLY                    PA         90014702295
79682477993772   THOMAS       GREER                     OH         64512174779
79682694684332   MICHELLE     FRAZIER                   SC         90009216946
79683359591563   YVETTE       GARCIA                    TX         90004873595
79683571681633   BRANDY       WATSON                    MO         90014365716
79683769251355   LAUREN       CASH                      OH         90011547692
79687344871921   MARVIN       BARRERA                   CO         90010783448
79688732771921   TERESA       PHILLIPS                  CO         32054657327
79691345133698   SHAMEKA      HUFF                      NC         90010763451
79693979531443   NATHAN       WINTERER                  MO         90009089795
79694295531443   DEBORAH      SIMMONS                   MO         90013932955
79695653871921   MAIRELYS     MOREJON                   CO         32035026538
79695813833698   CATHY        VINSON                    NC         12095468138
79697713691588   SHERYL       MOTTER                    TX         75074377136
79698269531443   SHAWN        CARTER                    MO         90007762695
79698383655936   MICHELLE     DUNCAN                    CA         49016373836
79698518455939   JESUS        PEREZ JR                  CA         90009605184
79712743133698   PLACIDO      RODRIGUEZ                 NC         90013457431
79714132841237   MARY         MBEWE                     PA         51093931328
79715771941253   MICHEAL      NORCOTT                   PA         90012407719
79716394141237   STEPHANIE    ROCKWELL                  PA         90013193941
79717345393739   ANDREW       ROLLINS                   OH         90011953453
79719531641237   NICOLE       SNEE                      PA         90008165316
79722731655969   CHRISTINA    HANDEL                    CA         90012307316
79724636255947   JOHNNY       HERNANDEZ                 CA         90014646362
79724639441253   VICTORIA     VARGO                     PA         51074586394
79725359691588   MARIBEL      GAYTAN                    TX         90011093596
79726561791522   RAMON        ALBA                      TX         90014995617
79727381781633   XAVIERE      WHITLEY                   MO         90013433817
79727514491588   JAVIER       BETANCOURT                TX         75043475144
79727697133698   KEISHA       AJETUNMOBI                NC         90014946971
79728913155947   GRACIELA     VELAZQUEZ                 CA         90014879131
79731421655969   JEANNA       HUSS                      CA         90013734216
79731563155939   JOSEFINA     SANCHEZ                   CA         48089445631
79731719471921   DAVION       PINK                      CO         90009017194
79732343241253   DEANNE       FERRAGONIO                PA         51024533432
79732521633698   DONNA        REED                      NC         12002945216
79733498451322   LADONNA      WASHINGTON                OH         90012294984
79735637255947   EDDIE        MARTINEZ                  CA         90014646372
79738156531443   TERRIE       ONEAL                     MO         90011431565
79738612355969   FRANK        STOVER                    CA         90010826123
79739188155969   ALYSSA       EDWARDS                   CA         90013861881
79739268241237   AUDREY       BOWMAN                    PA         51028012682
79741422141237   TAMIKA       BATTLE                    PA         90014694221
79741988471921   SILYNTHIA    CRAWFORD                  CO         32084349884
79742186955939   ROXANNE      HERNANDEZ                 CA         48052051869
79742291731443   NAIMAH       ABDULLAH-GALES            MO         27572532917
79743265641253   JENNIFER     FRIDAY                    PA         51036732656
79743728161967   MARTIN       ONTIVEROS                 CA         90000537281
79744796993739   TASHA        CARROLL                   OH         64535797969
79745994277524   VANESSA      SCANLAN                   NV         90003169942
79749462833698   MOHAMED      AHMED                     NC         90014964628
79752749141237   PAT          TESSARO                   PA         51008747491
79753998655969   ALICIA       ARELLANES                 CA         48049829986
79754847491588   ROGER        FONTENETTE                TX         90014758474
79756274577552   VANESSA      GARCIA                    NV         43091952745
79756447291588   VALENTE      ARELLANES                 TX         90011304472
79757714991572   ALFREDO      VALADEZ                   TX         90010697149
79757829371921   SONYA        FOX                       CO         90011658293
79758463755947   MARGARET     TEJADA                    CA         90014834637
79761368255947   AUDRI        GARZA                     CA         90012173682
79761744155969   CHALA        SAESEE                    CA         48074547441
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79763835451348   MARIA ANN    NYMAN                     OH         90012398354
79764191261964   DAMIEN       WEICKS                    CA         90010621912
79764523831443   PATRICIA     FLETCHER                  MO         90003965238
79764997491377   MEGAN        EUBANKS                   MO         90011069974
79765488461967   ABEL         LOPEZ                     CA         90013934884
79766384691588   RICARDO      ESPARZA                   TX         90010743846
79767134151355   ORLANDO      LOVE                      OH         90013531341
79768493955939   HECTOR       GIL                       CA         90013634939
79769495755947   RUBIA        FLORES                    CA         90002094957
79771313155969   ARACELI      REYES                     CA         48067683131
79771635861946   EDNA         FIGUEROA                  CA         90009446358
79772112855969   MASOU        SEE                       CA         48008261128
79772345855947   MARIA        VENEGAS                   CA         90007723458
79772571641253   KIMBERLY     BOGUS                     PA         51009155716
79772831893739   KELLY        COX                       OH         64524438318
79773364457132   MARINA       ALVARENGA                 VA         90011603644
79773632355969   CHRISTINA    ARELLANO                  CA         90010416323
79774951991588   EDDER        PALMA                     TX         90014059519
79774991584326   JAMAR        GARDNER                   SC         90014999915
79775378761967   LUIS         SAAVEDRA                  CA         90013093787
79775739755947   JAVIER       RAMIREZ                   CA         90012207397
79775775881633   MAIRA        PLAZOLA                   MO         90005157758
79777824751358   KATHY        OSIE                      OH         90006338247
79778124741262   COSMO        PAREDES                   PA         90014811247
79778253691863   DARRELL      OLIVER                    OK         90013262536
79779672671921   GEOFFREY     HENDRICKSON               CO         32038046726
79781135171921   CURTIS       WILSON                    CO         90008861351
79782499855939   MARIO        COLIN                     CA         90015114998
79782857551348   ALEX         TESSOFF                   OH         90001448575
79783172651355   JAMILA       KINEBREW                  OH         66027581726
79783755955947   JUANITA      YBARRA                    CA         90007137559
79784289281623   SANDY        DEAN                      MO         29007652892
79784369391588   DANIEL       PINEDA                    TX         90010553693
79784378755939   ROBERTO      LUJANO                    CA         48039963787
79784478761967   DELAINE      ROLAND WARREN             CA         90010384787
79788736951348   MARISOL      PEREZ                     OH         66046127369
79788893233698   KEN          KSOR                      NC         90003988932
79795137933698   PRINCESS     COUSER                    NC         90007911379
79795168893739   ALEX         JOHNES                    OH         90011201688
79797243341237   MICHAEL      VANO                      PA         51006762433
79797485251355   PABLO        JIMENEZ                   OH         66005434852
79797976455969   LYDIA        RESENDEE                  CA         90014239764
79799391461967   ENDORA       FALACE                    CA         90011973914
79812412171921   CHRISTINE    GONZALES                  CO         90005904121
79815111851348   EVAN         CHRUSCTEL                 OH         66026631118
79819576461967   BENNIE       TATE                      CA         46055565764
79829477471921   ROSSIE       UPTON                     CO         90012884774
79829812591254   TAKIERA      FORD                      GA         90008898125
79832139241237   KEVIN        GIANVITO                  PA         90015271392
79832539733624   SHERRELL     FATE                      NC         90013835397
79832559755969   JOSE         GALEANA                   CA         90001735597
79833489451348   STEPHEN      JETER                     OH         90004384894
79834686655969   REYNOLDO     VILLALOBOS                CA         90010426866
79834713561982   ALFRED       ADAMS                     CA         90009407135
79834743751348   NATONIA      MCCOY                     OH         66045437437
79834839655939   RYAN         TAYLOR                    CA         90014868396
79837377251355   CHRIS        GEIER                     OH         90010493772
79838783631443   CRYSTAL      BUTLER                    MO         90010787836
79839879151347   CHARLES      ROSS                      OH         90013098791
79842122971921   JADON        DOUGLAS                   CO         90015211229
79842483455939   RENE         MERINO                    CA         90012064834
79842983181633   DAWON        LACEY                     MO         90011079831
79843281593739   TERRI        MELSON                    OH         64516862815
79843455491588   DEMARQUES    JOHNSON                   TX         90009744554
79843793641253   KRISTEN      VATTER                    PA         90008347936
79844231255969   KIMBERLY     NAJERA                    CA         90015232312
79847519655939   IGNACIO      LOPEZ NAVA                CA         90013965196
79848813671921   MARLEANA     NELSON                    CO         90009518136
79849177255969   CHARLEE      MORRELLI                  CA         90013561772
79851675951355   MARCUS       HOUSETON                  OH         90004936759
79852126961967   LINDSEY      WILSON                    CA         90011281269
79852489355939   MIKE         ECHEVERRIA                CA         48003734893
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79853428961967   RUTH         JIMENEZ                   CA         90014504289
79854936655947   YOLANDA      SUAREZ                    CA         90013449366
79855598771921   DELLA        MOORE                     CO         90000955987
79856848251348   KALA         SINGH                     OH         90008708482
79857111681633   TERIESHA     FREEMAN                   MO         90015481116
79858518233698   ALEJANDRO    MERLIN                    NC         12049615182
79858727771921   OTEIKO       FRANCIS                   CO         90013937277
79862334741253   DEIDRE       PORCH                     PA         90013923347
79862518191922   NATE         NORRIS                    NC         90001905181
79863463391588   SONIA        ROBLES                    TX         75058504633
79863969631443   DENNIS       MOORE                     MO         90003729696
79864366951355   MELINDA      DRINNEN                   OH         90006633669
79866961481633   JAIME        MARQUEZ GARCIA            MO         90012299614
79867543451378   TANESHA      WASHINGTON                OH         66014805434
79868217755964   JESUS        ZAVALA                    CA         90012922177
79869256751348   SARAH        FAECHER                   OH         66015942567
79871395955969   VERA         GONZALEZ                  CA         90015213959
79872127155947   THY          DUNCAN                    CA         90012241271
79872729241237   MONIQUE      WILLIAMS                  PA         90015217292
79874288777524   MARIO        RUBI                      NV         90005872887
79875916855969   SHEENA       PENSOTTI                  CA         90010459168
79877395661967   BARBARA      HARRIS                    CA         46029163956
79878775181633   JOSHUA       DEBURGER                  MO         29071197751
79879249491892   LEEANNA      DODSON                    OK         90013872494
79879561451348   RYAN         BROWN                     OH         90013935614
79881598771921   DELLA        MOORE                     CO         90000955987
79882959671921   ELISA        AGUIRRE                   CO         90012319596
79883573481633   JANEE        REED                      MO         90011495734
79884373941237   STACEY       DARKOWSKI                 PA         90009463739
79886745931466   SYREETA      MYERS                     MO         90001847459
79887384751355   JENNIFER     HAFLEY                    OH         90012773847
79888169755969   HECTOR       ARELLANO                  CA         90015121697
79888459571921   LUIS         ZARATE                    CO         90012214595
79888475151348   GREG         POINTER                   OH         66049014751
79888616671921   GLORIA       ESTELA VASQUEZ RAMIREZ    CO         90012626166
79889453655939   HUGO         VELEZ                     CA         90008934536
79892859831443   W            GILLESPIE                 MO         90004208598
79893998871921   ANAHI        DIAZ                      CO         90015069988
79894141291588   SONIA        BATISTA                   TX         75028111412
79895381591588   GRACE        HINOJOSA                  NM         75081553815
79895412151348   RAMON        GARCIA                    OH         66067104121
79896276793739   JONATHAN     CHAMBERS                  OH         64514652767
79896379341253   EUGENE       BUTLER                    PA         51001123793
79898434155939   MARIA        BELLO                     CA         90012684341
79898988161967   HYO JIN      SON                       CA         46000129881
79899376955939   URIEL        JERONIMO                  CA         90011533769
79899838357531   ASHLEY       SILVA                     NM         90014468383
79911642581654   TIFFANY      HARRIS                    MO         90004956425
79912129855969   DANIEL       SANCHEZ                   CA         90010461298
79912215551348   KEISHA       LARKIN                    OH         90009492155
79913541541237   AMBER        WADE                      PA         51016025415
79914772357137   ROQUE        LOPEZ                     VA         81010627723
79916887251348   SUMMER       PENNEKAMP                 OH         90012628872
79916989955964   LUIS         AMADOR                    CA         90014839899
79917925155969   CHRISTOPHE   PADILLA                   CA         48015909251
79918143381621   JOSEPH       FUENTES                   KS         90009231433
79919568271921   TERI         MAZZAGATTI                CO         90012925682
79919796261951   CELIA        GARCIA                    CA         90009947962
79925158655939   MAYRA        TREVINO                   CA         48090911586
79925641151347   DEBORH       GARCIA                    OH         66043626411
79927632591566   VANESSA      HERNANDEZ                 TX         75007096325
79927656151348   NADINE       NDAYA                     OH         66011146561
79927851271921   CASSIE       GRAY                      CO         90014598512
79928765455969   DAISY        SALGADO                   CA         90014417654
79929163151355   JASON        ROBINSON                  OH         90014321631
79931876571921   CHEYENNE     KELLY                     CO         90013938765
79933511333698   CHRISTY      HINES                     NC         90013955113
79933864881633   KATIE        BOTLEY                    MO         90013808648
79933926655947   JESSIE       TREVINO                   CA         49093599266
79934421141246   JUSTIN       PEOPLES                   PA         51015574211
79934567255947   PATRICIA     VASQUEZ                   CA         90007945672
79936561451348   RYAN         BROWN                     OH         90013935614
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79941895171921   LAURA            ZORNES                CO         90013298951
79942368661967   JOE LUIS         LOPEZ                 CA         90013923686
79943812755939   ANA              LUA                   CA         90014408127
79943949271921   FELICIA          ABILA                 CO         32015229492
79944726531443   DANIELLE         BUTLER                MO         27540467265
79945645493739   LINDA            BLAKES                OH         64542456454
79948136597122   JORGE            LOPEZ                 OR         90010691365
79948392591572   ALBERT           TORRES                TX         90009943925
79949192361967   SHEILA           GREEN                 CA         90013591923
79949635455939   ADELFO           MARTINEZ              CA         90012066354
79951821955969   NICOLE           GONZALES              CA         48056728219
79952744361967   CINDY            ESPINDOLA             CA         90013037443
79952928941237   ANTHONY          BARTELLO              PA         90014489289
79953415141253   BLAIR            OTOLLE                PA         51036034151
79953721655939   ELIAS            ARROYO                CA         90013697216
79954519141246   MICHAEL          SEITZ                 PA         51068485191
79955184531443   DIANE            MENDEZ                MO         27573391845
79955315355969   GINA             DENIZ                 CA         48085313153
79955968831432   PAULETTE         DOUGLAS               MO         90004379688
79957216451355   ASHLEY           ALTER                 OH         90012682164
79957595855969   ELIZABETH        JAVAUX                CA         48085945958
79958716191368   JOEL             DIAZ                  KS         90011727161
79958742555969   SHELLY           ALEPON                CA         90013947425
79959249471921   CHARLES M        HECKERT II            CO         90006462494
79959774641253   TONYA            DILLERD               PA         90014547746
79961565733698   LAWONDA          CORNS                 NC         90014985657
79962652355939   RENE             GARCIA                CA         90015196523
79963712255939   KARINA           GODINEZ               CA         90012067122
79964431177585   YOLANDA          DIOSDADO              NV         90006104311
79965221281633   ERICA            WELLS                 MO         90011092212
79966663271921   HAVILAND         ANDREW                CO         32015856632
79967222141237   LORRAINE         KLINGE                PA         90015282221
79968158755947   VIGINIA          LOGORIA               CA         90008751587
79968544455939   AIDA             FARIAS                CA         90014595444
79968565733698   LAWONDA          CORNS                 NC         90014985657
79968988751348   KAMESHA          DUKE                  OH         90002779887
79972145555969   ANGELA           GOMEZ                 CA         90004771455
79972328181633   DAVID            CHRISTAIN             MO         90014023281
79972648531458   CAROL            HINKLE                MO         27513306485
79973112855969   MASOU            SEE                   CA         48008261128
79975251531443   SEAN             SCHAEFER              MO         27591762515
79975349655947   FRANKY           VILLAGRANA            CA         90012743496
79975354441237   TYRA             PERKINS               PA         90014573544
79975665591588   SANDRA           MORALES               TX         75086546655
79975681861967   VEN JAVIER       GUERRERO              CA         90012556818
79977242731432   SETH             VELKERDING            MO         90001782427
79978169355969   MARILYN          POWELL                CA         48056821693
79978385561967   ISAEL            ORTIZ                 CA         90013923855
79979682961967   LEON             WALKER                CA         90012556829
79979759351348   KRISTINA         SINGLETON             OH         66094327593
79982424471921   VICKY AND HANS   IGOU                  CO         90010634244
79982499855939   MARIO            COLIN                 CA         90015114998
79983699661967   TERRANCE         NELSON                CA         46014036996
79983718291588   LUIS             ARROYO                TX         90011117182
79984593855969   MERCY            DIAZ                  CA         90006985938
79986344161967   LILIANA          SALGADO-LOPEZ         CA         46056443441
79987649751355   LATASHA          THOMPSON              OH         90005576497
79991344161967   LILIANA          SALGADO-LOPEZ         CA         46056443441
79991864271921   PAUL             KARAFFA               CO         90013938642
79992538991885   TERMIRA          JACKSON               OK         21009915389
79992557461967   REBEKAH          CHESTER               CA         90008175574
79994811241246   JAMELLA          WOODY                 PA         51091058112
79996199241253   SUSAN            EICHLER               PA         51001281992
79996391861967   VICTORIA         RAMIREZ               CA         90013923918
79996818191588   ALEXA            PENA                  TX         90010638181
79997848671921   KARLA            AGUILAR-MORALES       CO         90006148486
79997961155947   EVE              OCHOA                 CA         49021879611
79998364451348   JOHN             DRUMMOND              OH         90009703644
79999618754133   EMILY            DOWNING               OR         90009176187
79999795791588   JESSE            SANCHEZ               TX         75020367957
81111267751362   LINDSAY L JR     KNIGHT                OH         90014642677
81112668341275   MALISSA          HARRIS                PA         51066936683
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81113414647822   CORY             NESTER                GA         90015464146
81113547441275   AMANDA           DANZIGER              PA         90014575474
81114125641262   DORCINA          CASH                  PA         51013771256
81116169871956   JACOB            PACHECO               CO         90001711698
81116287871977   MICHELLE         ROBINSON              CO         90015262878
81116357285936   GERARDO          LUNA                  KY         67009023572
81116633491975   SAM AND CHERYL   KING                  NC         90005536334
81117991171977   CAROLYN          CALDERON              CO         38096169911
81118343972432   KODI             MOONEY                PA         90014223439
81118445193127   JAHAIDA          JOHNSON               TN         90014714451
81119885497138   ADALBERTO        HERNANDEZ             OR         44074938854
81122622381672   RICK             SMITH                 MO         29030846223
81123441741275   AITA             GURUNG                PA         90011484417
81124938233698   JESSICA          WILLIAMWS             NC         12040899382
81126547461928   ANA              PEREZ                 CA         46052555474
81126961851362   JOSEPH           LINDHORST             OH         90015139618
81127247591242   CHRIS            HUNTER                GA         90015122475
81127614747822   CHANELLE         HAMPTOM               GA         90014336147
81127657991837   MARISELA         GAYTAN RODRIGUEZ      OK         21039126579
81129425172432   STACY            WITTBECKER            PA         90000584251
81129797255945   LINA             CALLISON              CA         90009507972
81129924885856   ANTONIO          SERRANO               CA         90006599248
81131629261924   KRISTYNE         HAIMAN                CA         90011356292
81131919933698   DEQUISE          MAXWELL               NC         90010179199
81132491851362   LESLIE           WILLIAMS              OH         90014834918
81132579255945   RUBY             TELLO                 CA         49031805792
81133692691975   NICOLAS          CARVAJAL              NC         17097996926
81134147471977   NATHAN           GIBBS                 CO         90013071474
81134974851362   MEDINA           LEOPODO               OH         90013129748
81135938797138   SHAWN            SPANIOL               OR         44071919387
81136716761928   ANGELA           REDDIX                CA         90003577167
81137192847897   PATRICIA         SMITH                 GA         14031871928
81138642541262   KYESHAWN         HALL                  PA         90014606425
81138771685936   KIRK             BOLLES                KY         67040677716
81141333191975   FAUSTINO         GALINO                NC         90012343331
81141791871977   RYAN             KENDALL               CO         38074757918
81141793941275   JOSEPH           FITMAN                PA         90015017939
81142333891242   TAKRI            BRYANT                GA         90011663338
81143583685856   EDDIE            MATSUEDA              CA         46013395836
81143923191525   RAMON            RAMIREZ               TX         75090589231
81144834991242   DANIEL           STEPHENS              GA         90014828349
81145224441262   MALIKA           EVINS                 PA         90011752244
81146425351367   GREG             OSIE                  OH         66081044253
81146879947822   TOMMY            PATTERSON             GA         90009948799
81147937977537   ZULMA            SHINGLETON            NV         90010469379
81148658585936   TIMOTHY          KIMBLE                KY         90014846585
81148711971977   MARY             GOSCINSKI             CO         38090607119
81149152141262   WILLIAM          LOVELL                PA         51091191521
81149446647822   QUENTORIA        GIBBS                 GA         90015044466
81151634691979   NOE              CASTRO                NC         90000776346
81151824993771   KENNETH          WEAVER                OH         90010908249
81152726491975   AMANDA           HOLLAND               NC         90014107264
81155512497138   KASEY            THOMPSON              OR         90011035124
81156892191525   ENRIQUE          ESPINO                TX         75044518921
81157714251362   DAN              DUHME                 OH         90005447142
81157878651362   BRITTNEY         SHORT                 OH         90010338786
81159545691837   RANDALL          GARRIS                OK         90013945456
81162382297121   ENRIQUETA        SARMIENTO             OR         90015163822
81163374333698   DAVID            SHERPERT              NC         90013353743
81163628771977   JOSEFINA         HERNANDEZ             CO         90004796287
81163834441262   FELICIA          BENJAMIN              PA         90002088344
81164448641275   GEORGE           JOHNSON               PA         90013454486
81164998191837   KASSANDRA        GILDAY                OK         90013079981
81165428772432   PAUL             MCCLAIN               PA         90011944287
81165981691242   CHIKE            HILL                  GA         90013609816
81166472297121   JUAN             MARTINEZ              OR         90001264722
81166864672432   HOLLY            ZARICKI               PA         51074108646
81166898391975   MIKE             WILLS                 NC         90011428983
81167182497133   ANNA             TREVINO               OR         90010661824
81167946293771   ROSEMARY         GIBSON                OH         64555399462
81168518571977   CARLOS           RIOS                  CO         90010755185
81168664897138   SERAFIN          ROSAS                 OR         90014886648
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81168718293771   LUCAS              HICKMAN             OH         64536507182
81169825261928   BREELL             ENOVIJAS            CA         90001978252
81171147197133   RODNEY             SCHANTIN            OR         44085121471
81173433177537   GEORGETTE          FERRERA             NV         43078204331
81173924597133   JORGE              CAMPOS              OR         90010579245
81174242661928   PATTY              ALEJOS              CA         46021082426
81174734197133   APOLONIA           MUNOZ               OR         44087597341
81177183797121   MILAGROS           GARIBAY             OR         90010711837
81177676151362   JOHN               HOWARD              OH         90014216761
81177779191525   ANGEL              RODRIGUEZ           TX         75063247791
81177829641262   GERALD             LEE                 PA         90014308296
81178563341275   JOSEPH             DEUSANIO            PA         90000875633
81178781991242   ALVIN              BLACK               GA         90015047819
81179149355945   GENO               PALOMINO            CA         90003691493
81179561761983   CORINNE            PEARSON             CA         90011865617
81179897997121   AGUSTIN            MARTINEZ            OR         90012538979
81181115591975   MOLLY              CONYERS             NC         90013341155
81183339393771   REGINA             HALL                OH         64551423393
81183612591525   BERVERLY           MARQUEZ             TX         75028436125
81186476633698   TIFFANY            CHEEK               NC         90011024766
81186579797138   ELIZABETH          CERVANTES           OR         90015165797
81187333791922   MIGUEL             PEREZ               NC         90007733337
81187536441262   DAMIA              DAWKINS             PA         90014905364
81187932285856   NIELS              CHRISTENSEN         CA         90009739322
81188374591975   ALYSHA             STURDIVANT          NC         90013543745
81191468161928   CLAUDE             TAMBWE              CA         46062844681
81192487177537   MICHELLE           CARVER              NV         43091314871
81193525391837   NALAN              BEAR                OK         90014895253
81195439447822   LUCAS              CUMACHO             GA         90013764394
81195457547897   KENNARD            ROYAL               GA         90014864575
81195611591837   JESUS              VALDOVINOS          OK         90010766115
81196172797138   HOPKINS BAUTISTA   MARTINEZ            OR         90012741727
81196498572432   JOANN              KEKKEY              PA         90007864985
81196695497121   STEPHANIE          STINSON             OR         90013086954
81197834672432   JAMES              ALLEN               PA         90013228346
81198249593127   ROBERT             NOBLE               KY         90002202495
81198399891975   KENDREKA           JENKINS             NC         90014623998
81211719271977   MORAYMA            RIOS                CO         90009217192
81212348291242   AMANDA             LEE                 GA         90002663482
81213442497133   ELIDIA             BENANCIO            OR         90009954424
81213596541262   TINA               FEATHERMAN          PA         90010935965
81213661793771   JAVIER             HERNANDEZ           OH         90011276617
81213852991979   MOSTAFA            AMIN                NC         17085648529
81213887685936   ELENA              ROLDAN              KY         90008308876
81215112391975   JENNIFER           QUIGLEY             NC         90008571123
81215569391979   TEENA              BALLARD             NC         90014155693
81216975441275   IMMANUEL           MURIN               PA         90008519754
81217573171977   JESSICA            RUIZ                CO         38050505731
81217612331433   ANTONIO            BURNETT             MO         90008836123
81218719385936   MATTHEW            MCDOWELL            KY         90014777193
81219464747822   JACYNTHIA          DENNARD             GA         14089054647
81219528641275   JOE                BROWN               PA         90015175286
81219757691242   TYREEK             GREEN               GA         90011667576
81221745172432   JOHN               ROSENBERGER         PA         90014597451
81222141971977   DANIEL             ANDERS              CO         90014271419
81222595251362   RYAN               LARISON             OH         90011735952
81223238831433   ELIZABETH          BLACKWOOD           MO         27512172388
81223362741262   MICHAEL            WATSON              PA         90005663627
81223617897133   ROSARIO            SANCHEZ             OR         90009816178
81224868561928   MANUEL             YACTAYO             CA         90007868685
81225335147897   NATHANIEL          SMALL               GA         90015153351
81225937997133   TIMOTHY            HIGGINS             OR         90013739379
81226111851357   WINONA             JACKSON             OH         90007631118
81226144551362   CHARLES            VICK                OH         66036701445
81226776191939   ELENA              SAN AGUSTIN         NC         90002127761
81226782791837   JOHN               VAUGHN              OK         21054427827
81228162951325   SHIRLEY            HERNANDEZ           OH         90006891629
81228814172432   KAREN              GAINES              PA         90014588141
81229594291837   DANIELLE           MARSHALL            OK         21036925942
81229817872432   JOSH               STONE               PA         90014738178
81231162772432   CHRISTOPHE         WRIGHT              PA         51039091627
81231487697138   ROBYN              NELSON              OR         90013974876
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81233933841247   SALIM        BAMIRA                    PA         90014769338
81237482447897   ASHLEY       JOHNSON                   GA         90014844824
81237491291975   KEONAH       LUCAS                     NC         17031124912
81238372991525   JOSHUA       MACIAS                    TX         75090633729
81238452897133   BORBONIO     ERNESTO                   OR         90010404528
81238498697138   DAN          DEWOODY                   OR         90012904986
81238754791944   JESSIE       MCDOUGALD                 NC         90005607547
81239969397138   DAVID        SLAGLE                    OR         90014999693
81241628485936   KANDRA       FERNANDEZ                 KY         90014716284
81242478561936   STEVEN       SCHRADER                  CA         90003234785
81242925593771   MICHELLE     ORRENDER                  OH         90012039255
81243111851357   WINONA       JACKSON                   OH         90007631118
81243494385936   DANIEL       FLORES                    KY         90009704943
81243877747897   JAVARIOUS    KNIGHT                    GA         90013218777
81245584431433   ROSE         PAGE                      MO         27511225844
81246937877537   JORGE        ESCOTO CEJA               NV         43087819378
81247811991979   NOORYA       PAKTIAWAL                 NC         90002048119
81249323451531   MARIA        ROSAS                     IA         90014543234
81249823491975   SARAH        KADATE                    NC         90015038234
81251773191837   RUSTY        COOK                      OK         90010647731
81252448641262   NICOLE       GETZ                      PA         90005934486
81252535541275   JOSHUA       HOWCROFT                  PA         90013995355
81253421351362   SONYA        MCDONALD                  OH         90011674213
81253566655945   PATRICIA     ZIONG                     CA         49093955666
81255569993771   STERLING     LUNSFORD                  OH         64526225699
81256442841275   JANET        HAMILTON                  PA         51067434428
81258189597121   STEVEN       PERRINE                   OR         44098111895
81258998991242   LORI         HOLTON                    GA         90014169989
81259817847897   ELISA        ROUTT                     GA         90013658178
81263555385936   DANIEL       FOLEY                     KY         90002985553
81264162991975   RAFAEL       GARCIA                    NC         90012181629
81264715397121   DANIAL       GARCIA                    OR         90010807153
81266424833698   YOLANDA      JARRETT                   NC         12094764248
81266527577537   PATRICIA     STANDEN                   NV         90002745275
81266886485856   BRUCE        MARKEY                    CA         46097798864
81267222677537   GUADALUPE    NORIEGA                   NV         90007212226
81268396947897   DEMITRA      JACOBS                    GA         90011383969
81268786561467   ROSETTA      FREEMAN                   OH         90015367865
81269894271977   TORRI        SHAFFER                   CO         90013748942
81271722471977   TROY         BUCKHOLZ                  CO         90012247224
81271933641262   SARAH        BYLER                     PA         90014619336
81271934477537   WILLIAM      HACKNEY                   NV         90010719344
81273352891525   CONCEPTION   SILLER                    TX         90005843528
81273614691242   CHRISTINA    FEAL                      GA         90014166146
81277156851382   STEFANIE     BODE                      OH         66080861568
81278618191979   ELIAS        SORIA                     NC         90009516181
81279142971977   MARQUITA     RINGLERO                  CO         38098141429
81279398155945   MANUEL       VALENZUELA                CA         49006243981
81279533177537   BRENDA K     KROTSMER                  NV         90011475331
81282539147897   ALETHIA      ELLIOTT                   GA         90013805391
81283617897121   CALVIN       RUSSELL                   OR         90015176178
81285514785856   CINNAMEN     KUBRICKY                  CA         46078265147
81286369471977   GABRIELA     BURCIAGA                  CO         90012133694
81287729397121   MICHELLE     SWIGER                    OR         44054097293
81288195497133   CHANTEL      LARSON                    OR         90014471954
81289246733698   CHANISHA     BURNEY                    NC         90014602467
81289341185936   ROBERTO      HERRERA                   KY         67027603411
81289636997121   KELLY        ALLEN                     OR         90014496369
81291696572432   STEPHANIE    LINDLEY                   PA         90014896965
81293145241275   JEANETTE     BLUE                      PA         90015471452
81293591841262   ZAVAUGHN     LILLY                     PA         90014625918
81294724697138   THERESA      BRYSON                    OR         44088447246
81295146297121   JUDITH       LOPEZ                     OR         44067501462
81295235591975   YVONNE       KNOBELOCH                 NC         90013362355
81295742191979   VICTOR       SOLIS                     NC         90014147421
81295836961928   MARTHA       PASCENCIA                 CA         46008728369
81296865541262   BRITTANEY    WILLIAMS                  PA         51072178655
81297698384325   ALFREDA      MIKELL                    SC         90011046983
81297871591975   KEVIN        HERNADEZ                  NC         90007488715
81297924277537   MELVIN       SANDOVAL                  NV         90000629242
81298643872432   RANDA        PATTERSON                 PA         51086926438
81298792693747   GERALD       STAATS                    OH         90011467926
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81299214655928   KRISTEN       RICE                     CA         90014612146
81299551391837   LORENA        DURAN                    OK         90009895513
81299921397133   MANUEL        NIEVES HERNANDEZ         OR         90015179213
81312466591975   BERNARDO      BUSTOS ALFARO            NC         90014834665
81312819493771   JONIL         KOGER                    OH         90008788194
81313224197121   KACEE         SINMS                    OR         90010532241
81314887677537   ALICIA        TAU                      NV         90000188876
81316112263632   JUSTIN        DALTON                   MO         90006091122
81316764572488   CRYSTAL       BARNETTE                 PA         90012457645
81317438297138   MARK          SHOOP                    OR         90009364382
81317933841247   SALIM         BAMIRA                   PA         90014769338
81318355477537   ALEXANDRA     SMITH                    NV         90001173554
81318531397133   JUAN          CONTRERAS                OR         90010755313
81318779791242   AARON         SCOTT                    GA         90010287797
81318979991979   ROSALBA       AGUILAR                  NC         90004169799
81319159697121   JAMES         KLOCK                    OR         90014731596
81319389493771   QURRIALLACE   TUCKER                   OH         90009903894
81319654885856   MIREYA        GONZALEZ                 CA         90012766548
81319834647897   BETTY         BARNES                   GA         90013678346
81322624897133   SOCORRO       MARTINEZ                 OR         44015736248
81323369347822   JULIA         MOSS                     GA         14090863693
81323497791525   MARGIE        MELENDEZ                 TX         90003314977
81323685493771   KYLE          WILLIAMS                 OH         90007796854
81324332985936   EPIGMENIO     RODRIGUEZ                KY         67077903329
81325227647897   SHATERA       LESTER                   GA         90013042276
81327222347822   KEVIN         MCCAIN                   GA         90003112223
81327393755945   GENISE        HOLMES                   CA         49041123937
81328463171977   LORI ANN      BAILEY                   CO         90014154631
81328634477537   GUADALUPE     NERI                     NV         90011646344
81328668497133   REGENA        RUTHEFORD                OR         90013386684
81328692985936   AMANDA        BUSTER                   KY         67042546929
81328998991242   LORI          HOLTON                   GA         90014169989
81329527897133   PAUL          JOHNSON                  OR         90010205278
81331146931433   ORLANDO       CLAYTON                  MO         90010811469
81331565991975   KHALEEAH      YOUNG                    NC         90011205659
81332253393771   JO ELLEN      STUMP                    OH         64522982533
81333379147897   SHERECA       KING                     GA         14072823791
81335744472432   KAUFMAN       PAUL                     PA         51006237444
81336375555945   SUSAN         LARKIN                   CA         49029843755
81336916777537   FREDERICK     IGLESIAS                 NV         90014669167
81337353247822   CLARENCE      DAVIS                    GA         14082883532
81337486197121   CHASE         DARIN                    OR         44064634861
81337758391979   MELINDA       BONANO                   NC         17063527583
81338694671977   FELICA        ORTEGA                   CO         90003476946
81338845977537   TAVANA        TALBERT                  NV         90014308459
81341698441275   CHRISTOPHE    BARTON                   PA         51082236984
81342691291837   FRANCISCO     RODRIGUEZ                OK         90010156912
81343492661928   DAWN          TAYLOR                   CA         90010004926
81343732277537   STACEY        MORRIS                   NV         90012707322
81344166991837   LYNDA         JOHNSON                  OK         90011871669
81344547555945   ROSALBA       BARRIGA                  CA         49020415475
81345575351362   DONNA         LACINAK                  OH         90000765753
81345742491242   SHARICE       HOOPER                   GA         90014627424
81346817977537   BRENDA        BELL                     NV         90009138179
81347544191975   NYLLA         HICKS                    NC         90008585441
81348182577537   DAMIEN        LAMBERT                  NV         90014641825
81348191861928   DONALD        FERRUSCO                 CA         90010641918
81349117993771   JOHNETTA      BRIGHT                   OH         90013071179
81351348377537   JUAN          ESTRADA                  NV         90015023483
81351366197138   KARI          GRIMES                   OR         44080853661
81351399791979   BRAD          CROSBY                   NC         90010493997
81352456651362   TIMOTHY       RENOLDS                  OH         90004234566
81353514651332   GRISELDA      GUTIERREZ                OH         90012975146
81354449797138   MARIANA       MOREHEAD                 OR         90012924497
81357266677537   RHONDA        BERREMAN                 NV         43003272666
81357492377537   NAKESHA       BERREMAN                 NV         90014584923
81358828491532   RAUL          MARTINEZ                 TX         90006668284
81359291997133   NAHUM         ASCENCIO                 OR         90002582919
81359543772432   JEANNETTE     FEDD                     PA         90003845437
81359595541262   ANTHONY       FORTE                    PA         90014625955
81359613591837   TERRY         MOORE                    OK         90010766135
81361527585856   JOEL          SOLIS                    CA         46054185275
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81361969391979   CHANTE         MCCULLERS               NC         90014689693
81362583741275   ANDREW         SMITH                   PA         90013205837
81364514291975   GLENDA         DEL SID                 NC         90013255142
81365377671977   SONIA          CORNEJO                 CO         38049733776
81365411333698   MARKUS         CLARK                   NC         90013354113
81366145341275   MARIAH         BULGER                  PA         90006111453
81366518691242   LAQUILLA       JAMES                   GA         90011675186
81366719491979   KENNETH        POWELL                  NC         90004077194
81367762891837   JENIFER        HERNANDEZ               OK         90009447628
81369685491525   JASON          MORALES                 TX         75093386854
81369716193771   AYLIN          CELIK                   OH         90009027161
81369726951362   MAGETTE        ANTHONY D               OH         66013597269
81372963147822   RANDALL        CLEVELAND               GA         90013479631
81374187497138   VALERIE        M DENNIS                OR         90005021874
81375522397121   KATELIN        MALO                    OR         44038995223
81375636633698   JONETTA        SHEELEY                 NC         90012766366
81375645497138   FELIZA         VYHNAL                  OR         44014346454
81376249397133   CHANTEL MARE   FLESHMAN                OR         90006152493
81376291393771   TIFFANY        DUNCAN                  OH         90014952913
81377421591979   CLARYS         FELIZ                   NC         90010764215
81378298172432   LISA           WEST                    PA         51052582981
81378611397121   AIDEE          GUDINO                  OR         44072996113
81378724777537   HAILEY         GERBEL                  NV         43082417247
81379282347897   ANGELICA       BALDWIN                 GA         90014662823
81381342291837   FRANK          LAMB                    OK         90008583422
81381612291525   DANIEL         GONZALEZ                TX         90003316122
81382811185856   CUPPY          ARNOLD                  CA         46024668111
81384564755928   SABRINA        BARRERA                 CA         90010625647
81384592241262   DOMINICK       PELINO                  PA         90005765922
81386763947897   ASIA           REESE                   GA         90013087639
81388425697138   GRIZELDA       LORD                    OR         44012814256
81389136151362   MARIA          GUTIERREZ-YERENA        OH         90011741361
81389284985856   JEFFREY        BADUA                   CA         90010702849
81389558141266   DEBRA          GIST                    PA         90005265581
81392183851362   MARSHALL       RUSNAK                  OH         90014241838
81392487997133   JOSEPH         SUIRE                   OR         90012834879
81392715285936   FRANCISCO      LOPEZ                   KY         90010487152
81393665493723   JEREMY         HAMIEL                  OH         90007996654
81393686597121   AUSTIN         REMILY                  OR         90012816865
81394136791242   SHAWN          BARNES                  GA         14576031367
81395637255945   BEN            LERON                   CA         90012226372
81396223191979   JOANNA         ADCOCK                  NC         90009682231
81396444593771   DIANA          DEBORD                  OH         90014434445
81397683285856   LEONEL         ALEJANDRO RODRIGUEZ     CA         90010056832
81397885641275   WESLEY         WOODS                   PA         90013938856
81398477191837   DARRLYN        WOODSON                 OK         21086304771
81399114641275   SEQUOYA        HALL                    PA         51008221146
81399191151362   BERHE          ABRAHA                  OH         90014241911
81411168461943   LANI           HERNANDEZ               CA         90002181684
81411761497138   PATRICE        GARCIA                  OR         44069237614
81412419261994   JUAN           GARCIA                  CA         46008154192
81414381171977   SARA           RODRIQUEZ-CASIAS        CO         90011053811
81414858991242   MAURICE        TYSON                   SC         90015268589
81417381291975   ROSALIO        VARGAS ALDABA           NC         90013103812
81417931533698   CHRISTIAN      ALATORRE                NC         90013169315
81418316972432   ANTONIO        DAVIS                   PA         90014603169
81418837991975   CARLO          QUAGLIAROLI             NC         90003928379
81419315571977   WILLIAM        TRUJILLO                CO         38066283155
81419466891975   MICHAEL        BUTTLER                 NC         90011104668
81421184197121   ENRIQUE        OLIVARES                OR         90002581841
81421699197133   KRISTEN        CHASTEEN                OR         44078726991
81422259833698   HECTOR         CARDONA                 NC         90013402598
81422733955945   LESLIE         BELMONTES               CA         49084307339
81423736191975   TIAL           SUNG                    NC         90014977361
81424296191975   ROBIN          MILLS                   NC         17093702961
81425336641262   ADREA          SIMPSON                 PA         90014703366
81427326285856   ALEJANDRO E    ROMO                    CA         90010353262
81428432571964   TIRZAH         STUCK                   CO         32001914325
81428938661928   CARLOS         RODRIGUEZ               CA         90010479386
81429666471977   BRIA           MORENO                  CO         90013226664
81431276971977   JASMINE        SANTISTEVAN             CO         90014812769
81431725447897   CHAKEVA        HARRIS                  GA         90012517254
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81431834441275   PAUL           BROWN                   PA         51085408344
81431967472432   TRACY          BUNRIDGE                PA         90001509674
81433457997138   TAVIN          WILLIAMS                OR         90010974579
81433818191975   MARGARITA      AGUILAR                 NC         17058098181
81434579691837   SHANE          CREWS                   OK         90012395796
81436226891242   EDDIE          BENNIEFIELD             GA         90014182268
81436412997133   SUSAN          COOK                    OR         90014394129
81436553185856   AJIBOLA        BOLARINWA               CA         46045765531
81436668291837   PATRICIA       ESCOBEDO                OK         90013946682
81436787397138   ROYCE          MAILOLO                 OR         90010987873
81437679141262   TERRA          BRIETIC                 PA         51004526791
81437911997138   BETTY          STURM                   OR         44005989119
81437956897121   ELIZABETH      ZAMBRANO                OR         90014839568
81441351433698   BO             RMAH                    NC         90015323514
81442923385936   MARCIA         GROSS                   KY         67077589233
81442973441262   ANTHONY        ZUCCO                   PA         51066399734
81443147891837   JONNA          HILTON                  OK         21081201478
81443552191239   RANDI          WHITFIELD               GA         90007325521
81444942685924   AMANDA         SPALDING                KY         90007449426
81445124471977   SHARI          SISNERO                 CO         90010991244
81445177591979   ISRAEL         SOLIS                   NC         90004331775
81445711397138   NANETTE        BROWNING                OR         90011477113
81447346541262   DEPREE         HOPKINS                 PA         90014913465
81447385272432   ROBERT         HANNEN                  PA         51031593852
81451588493771   MEARLE         NEAL                    OH         90011475884
81451622177537   KIMBERLY       WISEMAN                 NV         43086696221
81451716551362   MARQUELL       DAWSON                  OH         66018937165
81452154497138   KRYSTAL        JORDAN                  OR         44057581544
81452879947897   JERICA         DEFORE                  GA         14080628799
81453318371977   KENYETTA       BOND                    CO         90013273183
81453486555945   JORDAN         LEDGER                  CA         90014934865
81453561797121   GELACIO        ARTEGA                  OR         90013115617
81453579241275   CAROL          KLEIN                   PA         51027215792
81455227561981   ENRIQUE        J RODRIGUEZ             CA         90009232275
81456663297133   SAUL           CECILIO                 OR         90011096632
81457259481667   TOYA           SINGLETON               MO         90001402594
81458422351328   JODY           GABBARD                 OH         90002034223
81458894391975   TIA            HINES                   NC         90010658943
81459575231433   OG             JOE                     MO         27556075752
81461272891934   DOLORES        LAWSON                  NC         90012502728
81461726741262   SAUTEE         CARRINGTON              PA         90014627267
81462295233698   JOY            PINNIX                  NC         90005342952
81462764472432   JESSICA        GIRARD                  PA         90006397644
81462948991374   NATALIE        MYERS                   KS         90011269489
81464259197121   NANCY          MORENO                  OR         90001382591
81464575971977   DENIESE        SIERRA                  CO         38076715759
81464647484329   JESSICA        MARVIN                  SC         90006396474
81465845433698   ESTE           STOKES                  NC         90003128454
81466153685856   STEPHANIE      LOPEZ                   CA         90006951536
81466277391837   MISTIE         HUBER                   OK         21094612773
81466474591242   AUDIEL         PEREZ-VELAZQUEZ         GA         90014184745
81466755851362   RONDREZ        STEELE                  OH         90015107558
81468711333698   DIANNE         NELSON                  NC         12030197113
81468879251362   BRIAN          GANS                    OH         90007148792
81468892791525   MARIA          TREVINO                 TX         90003958927
81469699191837   KENNETH        ENCHEFF                 OK         90013946991
81471552133698   CHRISTINE      REID                    NC         90012035521
81472172485936   JEREMY         WHALEN                  KY         90000521724
81472695772432   DANIELLE       LEBLANC                 PA         90007246957
81473179797121   ANITA          ESPINO                  OR         90014861797
81473182191242   KEVIN          ALEXANDER               GA         90007961821
81473354793771   SHANNA         MOSLEY                  OH         90012823547
81473598633698   EDWARD         WILLIAMS                NC         12095975986
81474548891242   TANYA          DIXON                   GA         90014185488
81474832941275   DARCELL        CLECKLEY                PA         90014508329
81474975597133   TAMMIE LEIGH   BERRETH                 OR         90003659755
81475236897138   GRISELDA       SALINAS HERNANDEZ       OR         90010332368
81475639331433   HOLLY          CASKANETT               MO         90003936393
81475764371657   NEVAEH         SMITH                   NY         90015507643
81475793485946   JOSEPH         GREGORY                 KY         90003427934
81476321491975   BRENDA         GILMORE                 NC         90012873214
81476583371956   CONNI          TAFOYA                  CO         38020365833
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81476922441275   DENNIS       MOLYNEAUX                 PA         51015329224
81478461472432   BRANDON      MCCULLOUGH                PA         90013084614
81478478441262   TERRANCE     BANKS                     PA         90013464784
81479851991242   KAMILLIA     CAMPBELL                  GA         90014628519
81481681651362   CODY         GENTRY                    OH         90013066816
81481788497133   MELISSA      BERRY                     OR         90003607884
81482212691979   PJ           RUDD                      NC         90014162126
81482773441262   JOHN         MORRELL                   PA         51029347734
81483983585856   SHAH         REZA                      CA         90007709835
81485125393771   DEANNA       ABNEY                     OH         90008041253
81485289591979   CLARKE       KIM                       NC         90010892895
81485369693137   EDIE         ADAMS                     TN         90015553696
81485587847897   CHASE        JONES                     GA         90009795878
81485792151374   ALEXIS       OLIVER                    OH         90013017921
81487928697138   JAMIE        ROBINSON                  OR         44079859286
81488899461922   ALICIA       JULIAN                    CA         46028768994
81489318585962   CLIFF        WEBSTER                   KY         90010373185
81489749672432   JOSE         MOLINA                    PA         90014907496
81489867285936   MIRANDA      BURTON                    KY         90005388672
81491212897121   LICHO        SALAZAR                   OR         44072702128
81493272591979   ANA          BAQUIS                    NC         90012492725
81495541971977   DVN8         TATTOO                    CO         90015225419
81496538493771   BRENDA       HOWARD                    OH         64504075384
81497314551362   IESHA        BROOKS                    OH         90014243145
81498699191525   SERGIO       QUEZADA                   TX         75016346991
81499235397121   VALENCIA     REED                      OR         90011662353
81499331471977   MICHAEL      THORLEY                   CO         90012053314
81513133891979   AMANDA       ROSE MORTON               NC         90007211338
81513347771977   VIVIAN       SANCHEZ                   CO         90011533477
81513565291222   JANETTE      VARITAN                   SC         90013735652
81513892997138   MELISSA      CROSS                     OR         90014518929
81514112885856   LUIS         ANAYA                     CA         46041291128
81514374251362   RODNEY       CLAYTON                   OH         66056313742
81514592691975   MICHELE      ZUMATTO                   NC         90001555926
81514613541275   TRACEY       JOHNSON                   PA         51006176135
81514739191894   AMEL         TUCKER                    OK         90012997391
81514986271977   ROBERT       MONTOYA                   CO         38009299862
81515326851362   MAQUELLA     WILLIAM                   OH         90014243268
81515565491894   LAURICE      PROVOST                   OK         90004375654
81516993691975   ALVARO       RUCH                      NC         90012159936
81517293671977   ROSA         GRANILLO                  CO         90002382936
81518399847822   KENNETH      LEE                       GA         90013183998
81518515191975   AMI          CARRILLO                  NC         17045255151
81519326371977   SHAWNA       VALLEJOS                  CO         90012173263
81521366291837   COREJON      BALLARD                   OK         90014853662
81522146291922   ROBERTO      TORRES                    NC         90001301462
81522463697121   ANTONIO      DELGADO ORTIZ             OR         44062894636
81523155455945   KATHERINE    CABRAL                    CA         90002601554
81523275461928   FRANCO       TRESA                     CA         46086792754
81523365947822   NICHOLE      STUBBS                    GA         90012773659
81523777151337   DAVONNA      WARD                      OH         90011267771
81524437557128   WILLIAM      GONZALEZ                  VA         90007894375
81525316571977   MARGO        PAULETICH                 CO         38006023165
81525661951362   MICHELLE     GONZALES                  KY         90012696619
81526719551362   DAVID        SEXTON                    OH         90011997195
81526792347822   TONY         WARD                      GA         14059937923
81528459691979   EBADULLAH    NASERY                    NC         90014164596
81528643391837   CALLIE       CHILDRESS                 OK         90013216433
81528729693771   GRACE        COLLINS                   OH         90009537296
81532179861928   NIKITA       KORCHNOY                  CA         46082061798
81532765947897   JENIFER      WYSOCKEY                  GA         90011747659
81533223397121   MARIBEL      SANCHEZ LUCERO            OR         44072702233
81533746397133   KAREN        CHONG                     OR         90004567463
81535283784356   TIFFANY      DOUGLAS                   SC         90014292837
81536889397138   GAIL         MESSINA                   OR         90014888893
81536972477537   RANDY        MADAYAG                   NV         90002429724
81539385697121   ROSARIO      VAZQUEZ                   OR         44073873856
81539968972432   BRANDON      MCCONNELL                 PA         90014159689
81541529355945   JAMES        HOOVER                    CA         49088985293
81541618485936   JOSE         CAMBRAY                   KY         90006876184
81543716293771   HEATHER      STUART                    OH         90008587162
81544244733698   ANGELA       STERLING                  NC         90008472447
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81545252177537   LARRY        KUCHER                    NV         90010472521
81545563991528   DANIEL       STUMPF                    TX         90004685639
81545575547822   DEBRA        WARD                      GA         14084375755
81545912697138   ABILIO       SOSA                      OR         44031009126
81546256385936   KIMBERELY    RIGGS                     KY         67043162563
81547261772444   DANIEL       WITHERUP                  PA         90008562617
81547312597138   CHRISTINA    VISUANO                   OR         90014613125
81547536772432   RICHARD      GALLO                     PA         90009295367
81549473433698   WILLIAM      HURLEY                    NC         90013824734
81549718485936   CAMREN       ELDRIGE                   KY         90010497184
81551381585856   STEVE        CARPINELLI                CA         46069563815
81551766997133   JUAN         MIRAMONTES                OR         44091667669
81551781185936   NITA         BARBOZA                   KY         67080377811
81551939591242   SONATIRREA   MARTINEZ                  GA         90012429395
81552472785856   MARGARET     BANAS                     CA         46017684727
81552565791525   JAIME        SMITH                     TX         90008085657
81554274391975   KIARA        NEALE                     NC         90014652743
81554652577537   JAVIER       VILLAGRAN                 NV         43017636525
81554846293771   JAMIE        VENTERS                   OH         90014568462
81555724591525   MARTHA       SANCHEZ                   TX         75000647245
81556757591979   BRYAN        SMITH                     NC         90014167575
81558197591242   QUARZELL     TAYLOR                    GA         90010381975
81558369461928   RICARDO      FERNANDEZ                 CA         46062313694
81559377497121   ROCIO        HERNANDEZ                 OR         90006593774
81559925377537   IGNACIO      ALEJO                     NV         43081399253
81561718947897   LINDA        HARVARD                   GA         90013587189
81561727693137   DANITRA      LEWIS                     TN         90015517276
81561971897133   HERIBERTO    OLAYA                     OR         90014989718
81562258191992   JANESSA      CALDERON                  NC         90009502581
81562454372432   HENRY        COHEN                     PA         51034674543
81564355941275   JANICE       HOLLAMAN                  PA         90012443559
81565942361928   LEIGH        PARCEL                    CA         46035319423
81567186431242   ELIJAH       HAJBAZZ                   IL         90015371864
81567637797133   XOCHIL       MARTINEZ                  OR         90012116377
81567757591979   BRYAN        SMITH                     NC         90014167575
81571599591975   SHARNELL     FORDHAM                   NC         17041415995
81571817997133   CHARLIE      GALVEZ                    OR         90014638179
81575978691558   YOLANDA      THOMPSON                  TX         90000929786
81576742197121   BROOKE       MULL                      OR         90013977421
81577258891979   TOSHA        PATTERSON                 NC         90004092588
81578369991979   ISABEL       SANCHEZ                   NC         17039123699
81578751891837   BROOKLYNN    SMITH                     OK         90013947518
81579228977537   CARVIN       RICHARDSON                NV         90008272289
81579573955945   ERIC         DAVIS                     CA         90014175739
81581282885936   MARCELA      NAJERA                    KY         90013232828
81581689291525   ERIKA        AVINA                     TX         75084376892
81581894791242   RONALD       WILLIAMS                  GA         90014218947
81582347797121   SOKSAN       KORM                      OR         90013203477
81582544151362   TIANA        WILLIAMS                  OH         90001705441
81583366197138   JORGE        ANGULO                    OR         44016243661
81583645297121   DIANE        MERCADO                   OR         90014136452
81584816177537   ADAM         VANBROCKLIN               NV         43092448161
81586126551362   ANDREA       CARLOCK                   OH         90011691265
81586432597121   STEPHANIE    RANDALL                   OR         90000514325
81587394571977   MICHAEL      DRAPER                    CO         90013493945
81587824697121   CENTENO      ADRIANA                   OR         90002308246
81588243647897   HARRY        WALKER                    GA         90013162436
81589244747822   KECIA        WRIGHT                    GA         14025342447
81589466291837   MAYRA        YANEZ                     OK         21065204662
81589933797133   FRANSISCO    SORIANNO                  OR         90011149337
81591647961928   JESUS        CRUZ                      CA         90010616479
81591656797121   JACQUELINE   INGLETT                   OR         90013116567
81592332872432   JESSICA      CHRONISTER                PA         90014983328
81593774897121   DIANNE       CONDOS                    OR         90013557748
81594264433698   TYIQUAN      TUCKER                    NC         90013292644
81594577747822   RODNEY       NORWOOD                   GA         14089315777
81594759897133   TANYA        DE LOS RIOS               OR         90008107598
81595321885856   JOSE DE      JESUS OLVERA              CA         90000453218
81595752141262   TRACI        WAGNER                    PA         90008817521
81596163593771   JOHN         GREGORY                   OH         90001801635
81596443147897   VERLIRA      BROOKS                    GA         90005864431
81597133141262   RAYNELL      SMITH                     PA         90003551331
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81597625572432   KELLY           HORNE                  PA         90011036255
81599279741275   TYRONE          ROBINSON               PA         90014682797
81599489541262   ROBIN           DANIEL                 PA         51039914895
81599782391242   ELVIS           LANGSTON               GA         14573267823
81611399191837   EZEQUIEL        RODRIGUEZ              OK         90005023991
81611761255945   SERENA          CHOM                   CA         90013777612
81612613957133   TRAVIS          NEIL CHRISTENSON       VA         81095346139
81613825747897   KYESTER         PITTS                  GA         90009498257
81615396185856   KEVIN           MOREFIELD              CA         46033503961
81615983841262   JODIE           WILSON                 PA         90014629838
81616229891837   RAGAN           BROWN                  OK         90014152298
81616716947822   SHAWN           SMITH                  GA         90013707169
81617977777537   LUIS            RAMIREZ                NV         90012279777
81619618597138   RAMOS           DANIELA                OR         90011046185
81621389933698   THOMAS          EYRING                 NC         12044243899
81621722191979   SHONICA         GOSS                   NC         17017707221
81622315497133   JUAN            LOPEZ                  OR         90008393154
81623169251363   JONATHON        CHARLES                OH         90001211692
81623172341275   HANI            ISSA                   PA         90013291723
81623681441275   HANI            ISSA                   PA         90012346814
81623756147897   ASHLEY          GREGORY                GA         14037217561
81623772877537   JOSEPH          JARRATT                NV         90011207728
81623938697133   ASHLEY ANN      DAVIDSON               OR         90014639386
81624791691837   FAITH           WILLIAMS               OK         90013947916
81625271991975   AMANDA          JOHNSON                NC         90015132719
81627488291975   XIOMARA         GONZALEZ               NC         90007124882
81627533491975   LATITIA         JOHNSON                NC         90013575334
81627847285856   AIOTEST1        DONOTTOUCH             CA         90015128472
81628182991837   RAMON           ORTIZ                  OK         21067011829
81628333293771   RACHAEL         CELIA                  OH         90012633332
81628469947822   JAMES           RITCH                  GA         90014064699
81628546791242   YAISHA          COBURN                 GA         90014125467
81629534797121   JOSEPH          HOWE                   OR         90012025347
81629673733698   EVELEEN         COMAS                  NC         90013966737
81629693385856   YURIDIA         HERNANDEZ              CA         90007606933
81629756397133   JOSE            SORIANO SOLANO         OR         44005597563
81631258172432   RICHARD         MCEWEN                 PA         90004362581
81631393791242   JASMINE         ROBINSON               GA         90010203937
81631633485936   TAMIKA          HAYDEN                 KY         90009606334
81633142677537   MICHELLE        GALLARDO               NV         90014651426
81633189333698   TAMMY           TATUM                  NC         12099031893
81633259685936   SONIA           SOLOZANO               KY         90013742596
81633712597133   MARIA           CHAVEZ                 OR         44010247125
81634185872432   ALEJANDRO       VIVEROS                PA         90011511858
81634482841244   STACY           PITTMAN                PA         90001704828
81634772751362   MICHELLE        HALBERT                OH         90008317727
81635861541284   KATHLEEN        OCONNOR                PA         90009928615
81635877691975   MARIA           ESCOBAR                NC         90011468776
81637199621628   JEREMY          GREENFIELD             OH         90012071996
81637274991979   JEREMY          DONALDSON              NC         90014182749
81637586871977   JOHANNA         ARAGON                 CO         38072675868
81639592185936   TONY            GILPIN                 KY         67000245921
81639599241262   NIBIANGAGA      KERENI                 PA         90011345992
81639814147822   CHARLES         JONES                  GA         14060688141
81639865297121   LAWRENCE        SACHS                  OR         44080268652
81641778755945   EFRAIN MARTIN   GRACIA                 CA         90012867787
81641946447822   ARIANNA         DEFRANK                GA         90010189464
81642296171977   LYNETTE         REYES                  CO         90014262961
81642333691837   ALONDRA         ESCOBEDO               OK         90011513336
81642992291242   ANTONIO         DAVIS                  GA         90012379922
81643527641262   JEROME          CANE                   PA         51015135276
81644644197138   ROBERT          LAWRENCE               OR         90012926441
81644791947897   EVERETT         ISAIAH                 GA         14089397919
81645411147822   LATASHA         BOYD                   GA         90014674111
81646193747831   CANDACE         ROBERSON               GA         14002551937
81646336791975   SCOTT           SPENCER                NC         90013043367
81649668391922   BELISARIO       OSORIO                 NC         90004136683
81655183793771   ALEXANDER       SHAYLYSSA              OH         90011841837
81655681547822   AUTRENITA       MEREDITH               GA         90014146815
81656138441262   NICOLE          CHAMBERS               PA         90014631384
81656212493771   BRUNO           NAVERRO                OH         90007202124
81656311897121   KISCA           MERRYMAN               OR         44003973118
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81657491547822   NIKOSHA      CLARINGTON                GA         90013114915
81657852397121   VICTORIA     CLARK                     OR         90014348523
81658566755945   ERIC         FERGUSON                  CA         90012775667
81661779747822   LAGUESHIA    SMITH                     GA         90014967797
81662216541262   MARK         KEARNEY                   PA         90014632165
81662819347897   COROVON      COBB                      GA         90013768193
81663376933698   JW           BROWN                     NC         90014133769
81663446891975   JERRY        HEYWARD                   NC         90014854468
81663611897121   ERICKA       CHACON                    OR         90014386118
81663672297138   CHRISTINE    FULFER                    OR         44018706722
81664236361928   PHIL         PK                        CA         46049902363
81664481791979   DEMETRIS     COMACO                    NC         90014184817
81667719885936   SHALAYA      HALE                      KY         90014717198
81668463891979   PERLA        AGUILAR-GONZALEZ          NC         90014184638
81669573293771   JOE          MARTIN                    OH         90013615732
81669769391979   BESAI        MORALES                   NC         90005517693
81671611371977   DALILA       ARMIJO                    CO         38061066113
81671752497133   CARLOTA      MEDINA                    OR         90002827524
81672854885856   ROCHELLE     HOBBS                     CA         90013588548
81673131151362   ANDREA       SHABAZZ                   OH         66013361311
81673185641262   MICHAELYN    MCARDLE                   PA         51060851856
81673646391242   BAYRO        PEREZ                     GA         90012476463
81673791685936   MILTON       CANAS                     KY         90011257916
81675298585856   KEVIN        SCHWEITZER                CA         46018652985
81676285791975   SHARON       MILLS                     NC         17009912857
81676535851362   EDMUNDO      ROSALES                   OH         90009955358
81677963193771   Y            T                         OH         64575789631
81678153185936   CARRIE       BUCKNER                   KY         67076381531
81679614685856   KASHA        DAGGINS                   CA         46084476146
81681538455945   ANDREA       NAVARRO TOPETE            CA         90013015384
81681588791979   LILLIAN      RODRIGUEZ                 NC         90014185887
81682436372432   CHRISTINA    JENNINGS                  PA         90014614363
81683441691975   KANIKA       DAVID                     NC         90014864416
81683537472432   TAHAIRA      PARKS                     PA         90014615374
81683646991979   ARTURO       LOPEZ                     NC         90006636469
81684696141262   THOMAS       PLUNKETT                  PA         90007936961
81684954872432   DEBORA       SKOLNEKOVICH              PA         51008709548
81685158597138   NEIL         YOUNG                     OR         90013451585
81686114597138   OMAR         DURAN BIRRUETE            OR         44077571145
81687222241275   ANTHONY      NELSON                    PA         90014172222
81687726785856   MARKELL      HUNTER                    CA         90015147267
81688673547897   NINA         WILLIAMS                  GA         90007036735
81689226647822   CLARA        BOOKER                    GA         14009742266
81689381597133   LUIS         GARCIA                    OR         90013833815
81689617291242   BETTY        JEAN                      GA         90013026172
81691462341262   JAQUAN       WILLIAMS                  PA         90014634623
81692359455945   JUANA        RIOS                      CA         49074963594
81692854685936   MILTON       SUNIGA                    KY         90014228546
81693455897121   LINDA        CHOATE                    OR         44001734558
81693957893771   DANIEL       LEIGHTON                  OH         90000409578
81693964877537   ERICK        PINEDA                    NV         90012699648
81694384291242   REMEDIOS     RODRIGUEZ                 GA         14508243842
81694537472432   TAHAIRA      PARKS                     PA         90014615374
81695328491532   MARISOL      MUNOZ                     TX         90012153284
81695637141262   RICHARD      GERE                      PA         90013696371
81698271497121   AUBREY       SIMON                     OR         90015252714
81698395161928   MARSHALL     BARKER                    CA         46081893951
81699915497121   STEVE        SMITH                     OR         90004959154
81711111141275   SISCO        THOMAS                    PA         51022801111
81711989431434   KALLY        THARP                     MO         90006429894
81712145197138   LEO          RIVAS                     OR         90013541451
81712363747822   MEKO         LAWERY                    GA         90001213637
81712555291979   MARKEE       JOHNSON                   NC         17015695552
81712585472432   PHILLIP      HEMDERSON                 PA         51088925854
81712619297133   AMANDA       KINGSBERRY                OR         90004816192
81713279661928   WILSON       FUENTES                   CA         46014472796
81713672281683   ALYRA        RADILLO                   MO         90013766722
81714298551347   PEGGY        SHIRK                     OH         90011032985
81714728731433   KATHALEEN    SHAW                      MO         90005587287
81715794425664   GINILYS      PEREZ                     AL         90014477944
81715957633698   STEPHANIE    PERE                      NC         90010389576
81716532591837   ASHLEY       LOWREY                    OK         90014035325
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81716857491837   VICTOR       HURSH                     OK         90012298574
81717157141262   MARK         MALETTA                   PA         51009731571
81717967751372   ANDRE        RODRIGS                   OH         90007609677
81718239351362   MISAEL       DE LEON                   OH         90011762393
81718788497133   MELISSA      BERRY                     OR         90003607884
81719241951362   DEREK        TAYLOR                    OH         90011762419
81719724855945   EDUARDO      HERNANDEZ                 CA         90009047248
81721182391355   MELANIE      GLYNN                     KS         29018831823
81722114491975   MA AMPARO    MONTANO                   NC         90007311144
81722769891242   BRYAN        QUIGLEY                   GA         90012857698
81723157171977   JAMES        MASON                     CO         90008041571
81724446661928   MARIA        ROBINSON                  CA         46028724466
81725239457126   MARVIN       BONILLA                   VA         90001542394
81725484861928   ELSA         LOPEZ                     CA         90010504848
81726813177537   JUNE         MILLIGAN                  NV         43026408131
81727372993771   EMILY        SMITH                     OH         90013263729
81727977747897   RUBEN        DE SANTIAGO               GA         14023159777
81728941697121   ANGELIA      GLAFIRA VAZQUEZ           OR         44048409416
81729528497138   MARIA        TORRES                    OR         90005165284
81729625977537   JULIE        WEBB                      NV         43017546259
81729881193771   ALLEN        NELSON                    OH         64579978811
81731713897138   MELANIE      PARMER                    OR         44068947138
81732259191975   KATRINA      HARRELL                   NC         90013692591
81732945151366   GARY         GROLLMUS                  OH         90004379451
81733116991837   QUINTON      BILLEY                    OK         90013351169
81733552541275   DEBORAH      BLOOMER                   PA         51090895525
81733598855945   ERICA        VILLA                     CA         90011475988
81733687997133   IVAN         SKOROHODOV                OR         90014946879
81735611841262   ROBERT       SHAFFER                   PA         90011996118
81736365733698   DINETA       RAWLS                     NC         12025073657
81737979247822   WILLIE       GRIFFIN                   GA         90009729792
81738946985856   MARK         ODELL                     CA         90015389469
81739575797138   ANGELA       BROWN                     OR         44071165757
81741545497121   AMANDA       BALES                     OR         44070115454
81742764351362   BONITA       MERZ                      OH         66023577643
81742885593771   IESHA        HANKINS                   OH         64508088855
81743277647897   BRENDY       BARNES                    GA         90009272776
81743838941262   KRYSTAL      SANTIAGO                  PA         90014648389
81744271893771   OTIS         CARR                      OH         64573412718
81745625247897   KEISHA       KEMP                      GA         90015266252
81746878791837   GUADALUPE    SALSIDO                   OK         90014898787
81747982241262   PATRICIA     LEONI                     PA         90008499822
81751284971977   MANUEL       CASARES                   CO         90003412849
81752497485856   MARTIN       CRUZ                      CA         90012924974
81753468791837   STEVEN       CULVER                    OK         90014724687
81753553471977   TYLER        BOND                      CO         90015055534
81754861572432   MS TRUE      LASTER                    PA         90013448615
81755851791837   SETH         ZACHARY                   OK         90013948517
81755861197121   JANELLE      WEST                      OR         90014348611
81756619285936   TERRY        TERRT                     KY         90013876192
81757177197133   CARLOS       ORTIZ                     OR         44094521771
81757926997138   CHRISTIE     HOLBROOK                  OR         90011089269
81758339541272   JASON        FLEMING                   PA         90012803395
81759332461928   BECHELER     ROSEME                    CA         46005853324
81759429597138   TRAVIS       FERGUSON                  OR         90014814295
81761375472432   ERIC         KELLEY                    PA         90014733754
81762589993771   PAUL         LAPSINS                   OH         64524175899
81763195991242   AMBER        WILLIAMS                  GA         90010471959
81763259247897   ADRIANNA     BEST                      GA         90014872592
81763549541262   VENECIA      KERTLEY                   PA         90005385495
81764175677537   JOSEFINA     CARABBACAN                NV         43090901756
81764433451362   STEPHANIE    HILL                      OH         66039364334
81764447491975   GEORGE       HART                      NC         90008624474
81764453447822   DANIELLE     PEARSON                   GA         90014604534
81766318991979   KAREN        TATE                      NC         17082373189
81766473791894   ANITA        WEBSTER                   OK         90010944737
81766618197133   EMMA         FROST                     OR         90015176181
81768568991975   CARMEN       RAND                      NC         90013875689
81771895171977   MICHELLE     BRISCOE                   CO         38088918951
81772111341262   BRIAN        WISNIEWSKI                PA         90014641113
81773745691837   ROBIN        QUEEN                     OK         21042067456
81774366231449   ANGELA       WATSON                    MO         27562813662
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81774383851362   MICHAEL        ELLISON                 OH         66067423838
81774756185856   ABRAHAM        ALVAREZ                 CA         90003457561
81775365141262   ROBERT         DUNMIRE                 PA         51037063651
81776675161928   BENJAMIN       BRADLEY                 CA         46055436751
81776746285936   BENTLEY        PHILLIPS                KY         90011577462
81776866291979   FAUSTINO       RAMIREZ                 NC         17018358662
81776942641262   KAYLA          ROSKY                   PA         51055359426
81776989177537   MONICA         VAZQUEZ                 NV         43088209891
81777136733698   SHENA          HOLLIDAY                NC         90010011367
81778997947897   JENNIFER       TRUSSELL                GA         90014089979
81779151691242   JAKIA          MITCHELL                GA         90007391516
81779268861977   GLADY          WACHOT                  CA         90012802688
81781215847822   DANA           LEE                     GA         90010762158
81781341993724   TIMOTHY        ZIEGLER                 OH         90008413419
81781476733698   RYNESHA        GRAVES                  NC         90013824767
81781743997121   KENDRA         OLVERA                  OR         90011867439
81783811385936   SHARON         MIDKIFF                 KY         90001448113
81784352793127   DAPHNE         FAISON                  KY         90006263527
81784366293771   ANTHONY        BONES                   OH         90013383662
81784459533698   MONIQ          STEPHENS                NC         90013434595
81785493685936   JACKMON        DIONA                   KY         90015204936
81788663447897   WHITNEY        LOWDER                  GA         14027966634
81789179141262   PIERRE         KIRKSEY                 PA         90014641791
81789219171977   PATRICIA       FERNANDEZ               CO         38063522191
81789858241275   PAULINE        PERRY                   PA         90010618582
81789991191975   ILSA           BARRIOS                 NC         17045549911
81791624691975   ANGELA         PEARS                   NC         90011196246
81794648997121   ADRIANA        SHERMAN                 OR         90013986489
81795744191837   TALLYSSIA      HARDIMON                OK         90009747441
81796965385936   KELLY          SMITH                   KY         90012819653
81797168733698   PAUL           HOBERT GRIFFIE          NC         12084301687
81797428747822   RANDYLYN       JACKSON                 GA         90011354287
81797579177537   KAYLA          SNELL                   NV         90000195791
81799661477537   DEIDRA         QUIMAYOUSIE             NV         90008126614
81799739347897   SCOTT          DUMAS                   GA         90012547393
81811297785936   JEFF           NOE                     KY         90002042977
81811962147822   ERNEST         MALLARD                 GA         14060089621
81811987951362   LORIN          ADAMS                   OH         66005069879
81812264841275   DALE           MOSSBERG                PA         90012842648
81813143691242   SABRINA        WILSON                  GA         90010811436
81813184425151   JASMINE        BRACEY                  AL         90015081844
81813458691975   JONATHAN       EVANS                   NC         90009624586
81813777285936   ERIKA          DUNCAN                  KY         90009877772
81813894793771   TAMETHA        DIVVELEON               OH         90014488947
81814244297133   MARRIE         PRICKETT                OR         90006462442
81814253441275   SAMUEL         SMITHSON                PA         51074472534
81815586141262   GINA           LLOYD                   PA         51000265861
81816452397121   CHEA           HAKEEM                  OR         90006074523
81816598771964   CHRISTROPHER   BROWN                   CO         90010885987
81817573297133   TERESA         ZARATE                  OR         90011595732
81818245197133   DOUG           SMALLEY                 OR         90014232451
81819766741275   NATHANIEL      PHILLIPS                PA         90000527667
81819867793783   SHERRY         PURVIS                  OH         90005148677
81821652697138   ELIZABETH      WILLIS                  OR         90014976526
81822424797121   MINDY          HENDRIX                 OR         90008294247
81822633433698   SHAWN          HARRIS                  NC         90012786334
81824542385856   SHANE          JOHNSTON                CA         46047105423
81825237591975   RACHEL         HALEY                   NC         90008292375
81825345847897   KIMBERLY       CHARLES                 GA         90008603458
81825662561924   JEANNETTA      KRAMER                  CA         90007326625
81826755133698   YVONNE         WHITE                   NC         12090287551
81828459185856   STUART         HUMPHREY                CA         46019894591
81828687391975   CHRISTY        MORRIS                  NC         90014666873
81829483541275   JOSHUA         MORRIS                  PA         90015244835
81831712197138   MA             GARCIA CEJA             OR         44033467121
81832728391975   MICHAEL        MARTINEZ                NC         90001707283
81833784155945   ANGEL          PERALTA                 CA         90012947841
81834537591837   SHERITAH       WILLIAMS                OK         90013795375
81834563672432   TRACEY         SMITH                   PA         90015145636
81834628955945   SANDRA         SAMBUESO                CA         90004936289
81835888177537   OLGA           IBARRA                  NV         90010658881
81836183191525   JOAQUIN        ALVAREZ                 TX         75090831831
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81836533491975   PRISCILLA        SMITH                 NC         90014655334
81836681341275   DEANNA           WRIGHT                PA         51038466813
81836819797121   MARIA            AGUIRRE GUTIERREZ     OR         90014748197
81837452172432   MICHAEL          ALLEN                 PA         51006114521
81838284147897   JOYCE            GRIFFIN               GA         90011102841
81838414997133   LISA             RACHELLE              OR         90008414149
81838647247822   TRAVIS           ROBERTSON             GA         90011986472
81838655285936   NICHOLAS         HOLDEN                KY         90012026552
81839177647897   KENTERA          JOHNSON               GA         14091111776
81841643872432   RANDA            PATTERSON             PA         51086926438
81842884477537   JACOB            OCHOA                 NV         90014098844
81842952447897   EMMANUEL         BAILEY                GA         90003629524
81843177991979   DEVORIA          DAVENPORT             NC         90014901779
81843399491837   ROSA             ISELA                 OK         90011793994
81843424651323   TARCHA           LAWSON                OH         66034674246
81844886351349   SHEENA           PHILLIPS              OH         90002728863
81845154391979   MARTINA          SANTIAGO              NC         90012791543
81845895472432   DEANNE           HOLLIDAY              PA         90014018954
81846565731433   ALISHA           MCCLENDON             MO         27512895657
81847911741232   MATTEW           SAUNDERS              PA         90006109117
81847941272432   MICHELLE         MAZON                 PA         90002989412
81848564547897   TELMA            HOWARD                GA         90010875645
81848697541275   REGIS            CURTIN                PA         51028866975
81848849285856   LY               DO                    CA         46017788492
81848963297138   GEORGIA          KING                  OR         44033219632
81849553191837   FELECIA          FOSTER                OK         21027365531
81851319541262   FON              NANJI                 PA         51053223195
81851643533698   ROBERTSON        ROBERT                NC         12066306435
81851762997121   CHERRI           HARP                  OR         44000467629
81852341597133   BONNIE           SNIDER                OR         90014563415
81852353147822   TREY             HOLT                  GA         90007813531
81853558185856   DANIEL SANGHAK   LEE                   CA         90014985581
81853582172432   NICOLE           BROWN                 PA         90014625821
81854258747897   EBONIE           RAZOR                 GA         90013532587
81855115151338   TAMECIA          DERRICKSON            OH         90000801151
81855439197121   GABRIEL          GALINDO               OR         90014994391
81855446791242   RAY              WILSON                GA         90014664467
81855616997121   LINDA            DIAZ                  OR         90010566169
81857362391979   LATASHA          HARRIS                NC         90009823623
81858529285856   BEVERLY          GRIMES                CA         90007835292
81858623555945   NORMA            AMADOR                CA         90012546235
81859281671977   TRACY            MARTINEZ              CO         90013892816
81859284593137   HARRY            MEULLION              KY         90011232845
81859346541275   ATHALIAH         ISRAEL                PA         90002493465
81859425691837   JAY              HAYNES                OK         90008664256
81862311797121   STEVEN           NAZAROFF              OR         90004283117
81863487991242   BRITTANY         STEVENSON             SC         90014664879
81863545197138   LEOPOLDO         ALVAREZ ORTIZ         OR         90013105451
81866486593753   AMY              PERKINS               OH         90010644865
81866614841275   KIMBERLY         LAW                   PA         51001236148
81866634685936   SHAQUANNA        JONES                 KY         90013486346
81866677771977   RUBEN            TRUJILLO              CO         90014676777
81866885633698   MARQUIS          FRAZIER               NC         90010658856
81867159831433   EBONY            STRONG                MO         90008511598
81868128491242   MENATI           KHATMA                GA         90014841284
81868572555945   JOHNNY           HERNANDEZ             CA         90011315725
81871161277537   HOLLY            MITCHELL              NV         90014931612
81871524991975   LATISHA          BENTHALL              NC         90006315249
81871965441275   RACHAEL          RADERMACHER           PA         90015099654
81874786847897   CHRIS            THOMPSON              GA         14060807868
81875123497138   LORENA           MARTINEZ              OR         90008441234
81875224997138   ROBERT           PADUA                 OR         44005272249
81876258551362   ANEESHA          BANKHEAD              OH         90011512585
81876379333698   MARY             LEGETTE               NC         90012003793
81877247971977   FERNANDO         CHAVEZ                CO         38059252479
81877822391975   ALDRICH          HARRIS                NC         90005198223
81878184391837   DONESHA          SMITTICK              OK         21090681843
81878545477537   TERESA           BARONE                NV         90014635454
81878971947822   TANGEE           SHINHOLSTER           GA         90014999719
81881458285962   JOHN             RODEN                 KY         90012784582
81882767472432   PAMELA           MCKITTRICK            PA         51014687674
81883719197121   WILLIAM          GHIORSO               OR         44078637191
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81885145691837   ROGER        QUINN                     OK         90013351456
81885258191979   CARNATION    PHILLIPS                  NC         17060852581
81886226255945   OLIVIA       PALAFOX                   CA         49008642262
81886291193771   DELORES      BEATTY                    OH         90012712911
81886565691975   SEBRELLE     JENKINS                   NC         90013575656
81886911591525   ALFREDO      VELOZ                     TX         90003979115
81887135171977   BENJAMIN     MARTINEZ                  CO         90010781351
81887176551362   LAURA        HANCOCK                   OH         90014251765
81887411147822   ALISHA       BROWN                     GA         14068924111
81887761491979   BARRY        BEAVERS                   NC         90010077614
81888238691525   JUSTIN       STERLING                  TX         90003622386
81888697251362   ALICIA       ESCOBEDO                  OH         90015096972
81889632497133   GERMAN       GARCIA                    OR         90004286324
81892268951362   EMILIO       BORALLES                  OH         90012962689
81892436385856   ANGELICA     HERRERA                   CA         90013974363
81892888197121   SARA         ALFREY                    OR         90012088881
81893181651362   VENESSA      TOOLES                    OH         66056611816
81893627491837   RAITTIA      ROGERS                    OK         90012746274
81893882571977   MIRELLLA     GUARDA                    CO         90000448825
81893942161928   ALMA         DOWNING                   CA         90011259421
81894662585936   KI-INDIA     GLOVER                    KY         90014106625
81895594847822   CASHANDRA    BASS                      GA         90013525948
81897285793771   KAREN        FAVORS                    OH         64514232857
81897958691975   NERI         BUSTOS ARELLANES          NC         90011029586
81898183297138   TONY         BENAVIDEZ                 OR         90014761832
81898424147822   KRISTEN      LEE                       GA         90015404241
81899516185856   EMA          MEJIA                     CA         90007155161
81911589993771   PAUL         LAPSINS                   OH         64524175899
81913132591837   WALTER       ARCE                      OK         90000471325
81913769397121   SUZANNE      CRUZ                      OR         90011937693
81914282672432   JOHN         YOUNG JR                  PA         51001762826
81914366291979   BIG SAMS     CARPET                    NC         90010023662
81915144293771   MICHELLE     FELLERS                   OH         90013111442
81915199447897   SHUNDY       BAGLEY                    GA         90009131994
81916426791837   IVAN         DONIZ                     OK         90003354267
81916488797133   MIRIAM       SANCHEZ                   OR         90002004887
81916752877537   GREGG        SKINNER                   NV         90008387528
81917362697121   MIGUEL       BAUTISTA                  OR         90015243626
81917439655945   DIANA        RUIZ                      CA         49034654396
81917564271977   PAYGO        IVR ACTIVATION            CO         90013005642
81918363797138   ANNE         WATSON                    OR         44039123637
81918966551591   KARA         KRUSE                     IA         90011029665
81924424391242   KAREN        MALLORY                   GA         90008164243
81924747291532   LUIS         CARDENAS                  TX         90004417472
81925754141262   EBONEY       THOMAS                    PA         90009667541
81926199551362   AMIR         CARRENANDEZ               OH         90006811995
81928376491525   LORENA       CORONA                    TX         90005393764
81928591697121   SHELLEY      BLAKE                     OR         44012165916
81929858685936   YAMINI       RAY                       KY         90010508586
81931462897121   ALISHA       ALFARO                    OR         90014994628
81931784481677   VICKIE       CARULLO                   MO         90007337844
81932374897133   MOHAMED      SHEIKHSHUEB               OR         90010523748
81933466191975   MYSHAUN      FOGG                      NC         90008884661
81934488497138   WENDY        WELSH                     OR         44048704884
81935391272432   ASHLEY       YETER                     PA         90007443912
81935558841275   CHRITOPHER   GILMORE                   PA         90011385588
81935659951362   CHRISTINE    HARTMAN                   OH         66046726599
81935768971977   SAMANTHA     DANIELS                   CO         90014127689
81936352355945   TERESA       SALINAS                   CA         90014003523
81937494755945   PERRY        F. NOVAK                  CA         90012134947
81939714391525   LAURA        MOSTYN                    TX         75027087143
81939756747897   MARYELLEN    CHANCEY                   GA         90012827567
81942893641262   MARIA        SUPPA                     PA         51087828936
81942981551362   TRACY        LEE                       OH         90013019815
81943541691242   SARAH        FLOYD                     GA         90011705416
81943697155945   SELINA       SALAZAR                   CA         90013986971
81944141385856   ALETHEA      RUSSELL                   CA         90009161413
81944629733698   RONALD       HARRIS                    NC         90012786297
81945161385856   JESSYCA      HENMAN                    CA         90012061613
81945674761931   JOLEEN       HORN                      CA         90005646747
81945879155945   WILLIAM      JONES                     CA         90015098791
81946557877537   MICHAEL      MCTAW                     NV         90013315578
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81946845797121   CHRIS          OWENS                   OR         44063018457
81947144397133   JENNA          COLLINS                 OR         90013981443
81947518651362   RAQUEL         CAMACHO                 OH         90012875186
81951355691242   JERMAINE       MILTON                  GA         90015083556
81952143555945   RUBY           GUTIERREZ               CA         90015121435
81952287241262   ROBERT         WILLIAMS                PA         90005192872
81952476733698   RYNESHA        GRAVES                  NC         90013824767
81952796993724   SUBLETT        RONALD                  OH         90000657969
81954514785856   ROXANNE        INDIONGCO               CA         90013565147
81956294297121   MICHAELA       PETERS                  OR         90001722942
81957177547897   CURRY          ALEXANDRA               GA         90011081775
81957452897121   BORBONIO       ERNESTO                 OR         90010404528
81957762197133   MRS ROSEMARY   MARTINEZ                OR         90004507621
81958349433698   DONNA          OUTLAW                  NC         12050603494
81959251672432   KIM            ASBURY                  PA         51087682516
81959458447822   WYKESHA        DUNN                    GA         90010894584
81959793884325   AMARIE         NOLAN                   SC         14594597938
81959956891837   SHELONNDA      BRADFORD                OK         90013949568
81959973197133   LESHA          CLARK                   OR         90011959731
81961192771977   BRANDIE        STULTZ                  CO         90010821927
81962741841262   DALE           MOORE                   PA         51086707418
81962911791979   MAUREEN        METCALFE                NC         90014209117
81963494755945   PERRY          F. NOVAK                CA         90012134947
81963788897121   LIZETH         PONCE                   OR         44032027888
81963844347822   EVERETT        HARRIS                  GA         90014758443
81964788897121   LIZETH         PONCE                   OR         44032027888
81965355341275   JOSEPH         HOYLE                   PA         51022633553
81967862891837   NICCARO        COLE                    OK         90014208628
81968316284325   CRAIG          KING-PROCTOR            SC         14592833162
81968864285856   JOSEPH         HERNANDEZ               CA         46041238642
81968995855945   REY            MORONES                 CA         90012409958
81969891161928   EVELYN         MARTINEZ                CA         46076908911
81971954385936   CORY           HIGNITE                 KY         90010269543
81972143797121   MONSERRATH     LEYVA MENDEZ            OR         90013991437
81972789891963   CLARA          ARELLANO                NC         90012497898
81973133771977   RACHEL         DAVILA                  CO         90014521337
81974266897138   JASON          HOGAN                   OR         90009132668
81974567141262   JOSE           GALEANA                 PA         51009565671
81976249693771   NOOK           JENNIFER                OH         90004422496
81976784255945   TORRES         MONDOZA                 CA         90012657842
81977521147897   SHEILA         HARDNETT                GA         14097415211
81977771397121   GARY           TAYLOR                  OR         90012237713
81977795277584   NATALIA        BUCHANAN                NV         90009167952
81978673597138   FRANCISCO      ESPINOZA                OR         44073626735
81978771885856   RAUL           HERNANDEZ               CA         90014127718
81978821297121   RICARDO        CRUZ                    OR         90008548212
81979164277537   JESUS          DOMINGUEZ               NV         90014341642
81981498691975   MARIA          CENTENO                 NC         17033324986
81982151585936   CHIFFON        ROBINSON                KY         67007941515
81983161591525   EUGENEIA       MARTINEZ                TX         75012501615
81987689647897   STEVEN         ROBINSON                GA         90011406896
81988745593723   ANDREA         VANZANT                 OH         90008527455
81988958391837   HECTOR         LUNA                    OK         90013949583
81989355697138   MELISSA        QUESADA                 OR         44054073556
81989359531433   CHRIS          AMERSON                 MO         90013373595
81989462485856   ITZAYANA       HERNANDEZ               CA         90008634624
81991275755945   JAIME          LOPEZ-CARBAJAL          CA         90010562757
81991419885856   DOMINGO        PEREZ                   CA         46081684198
81992171471956   TRACY          MILLS                   CO         90013591714
81992731151323   HANNAH         ISRAEL                  OH         66036597311
81995235793771   ELIZABETH      DOYLE                   OH         90007422357
81995457351531   KARLA          RODRIGUEZ               IA         90014184573
81995894291963   GREGORY        WEBB                    NC         90009618942
81996598841262   RIOL           LOPEZ                   PA         90007135988
81998281491837   ARMANDO        ALVARES                 OK         90002462814
81999567661467   MALIKA         CLIFTON                 OH         90014125676
82112252177537   SERGIO         ORNELAS                 NV         43016532521
82113346281677   DARREN         HERSHEY                 MO         90014703462
82114752781677   FLAMENCO       OLGA                    MO         29070727527
82116262361928   AMY            LEE                     CA         90013112623
82118181581627   FREDDIE        GREGG                   MO         90008491815
82118544481677   JACOB          SCHMITT                 MO         29034665444
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82118824293771   ADAN         CUETO ANTONIO             OH         90012108242
82119466681627   JADA         BLEIVINS                  MO         29019214666
82119649372496   KHADIJAH     TOWNSEND                  PA         90014886493
82119787841275   SAMANTHA     PROBST                    PA         51001637878
82122162691242   TESS         OUTLAND                   GA         14511681626
82122815633698   SHERETA      SMITH                     NC         90006208156
82122931241275   KELLY        KLEIN                     PA         51073549312
82125692797138   KIMBERLY     WOO                       OR         44001226927
82126828441262   NOREEN       TREESE                    PA         90014848284
82127149297138   KRISTOPHER   STANGEBY                  OR         44025801492
82127752484325   CONELL       JOHNSON                   SC         14534487524
82127957691979   KIRIA        MATEO                     NC         17084949576
82127979961928   ANTONIO      LOPEZ                     CA         90014579799
82129486272432   JULIA        MONROE                    PA         90013074862
82129737791979   NATASHA      HOLLAND                   NC         90005877377
82131518947822   JACQUELINE   COOPER                    GA         90012065189
82133776341262   ROBERT       RAY                       PA         90015147763
82134967781677   CHERIECE     REYNOLDS                  MO         90011669677
82136342791979   ADELE        BANAR                     NC         17015013427
82136545885936   DIANE        SULLIVAN                  KY         67052535458
82136753941262   ANTHONY      ISASKY                    PA         90014247539
82136884651336   SONJA        PHILLIPS-ANDERSON         OH         66013238846
82137351877537   CARLOS       MEZA                      NV         43059563518
82137666193771   NIKKI        REHERMAN                  OH         64572376661
82138285861983   GREG         MOE                       CA         46016912858
82138364891975   IAN          DULIN                     NC         90013923648
82138633491837   LUIS         MENDOZA                   OK         21059726334
82138835633698   JESSICA      WILLIAMS                  NC         90014758356
82139468671977   SCOTT        GOMEZ                     CO         90013274686
82139714893771   MARSHA       DAVIS                     OH         64584327148
82141928981677   STEPHANIE    ARMES                     MO         90014299289
82143535161983   DETRA        HOLLIDAY                  CA         90007245351
82144517693771   WILLIAM      BURKLOW                   OH         90003475176
82146112881677   LUCY         MAYS                      MO         90012221128
82146268447822   ALDRIA       FREEMAN                   GA         90014602684
82146297371977   DAESHA       ACEVEDO                   CO         90012952973
82147486272432   JULIA        MONROE                    PA         90013074862
82147828441262   NOREEN       TREESE                    PA         90014848284
82148745551362   CIJI         BARNES                    OH         90014267455
82148896484325   SABRINA      FADDEN                    SC         90011318964
82149816785936   SARAH        THOMAS                    KY         67016868167
82151264541275   BRANDEN      KUCICH                    PA         51039652645
82151435772432   PAM          SCHNEIDER                 PA         51039384357
82151833281627   AMANDA       WEST                      MO         90002618332
82152571341275   JAMES        ADAMS                     PA         90005225713
82154222841275   JAY          ROCCO                     PA         90013852228
82154685477366   MARTINI      MACKEY                    IL         90008726854
82155654132551   NORMA        VILLAREAL                 TX         90015096541
82155813485936   SHARON       RICHMOND                  KY         67032558134
82156449697138   ANNA         APARICIO                  OR         90015484496
82156967491837   JACQUE       ST CLAIR                  OK         90011899674
82158182261928   MARBELLA     CORREA                    CA         90011901822
82158253472432   ANGEL        FIGUEROA                  PA         90015132534
82158442671977   NICK         LUCERO                    CO         90008514426
82158872191525   GARDEA       JORGE                     TX         90009688721
82161378991837   KATHRYN      VABERBER                  OK         21086313789
82163317261928   YUVONNE      WILSON                    CA         90008543172
82164236185856   LAGUNAS      ELIDIA                    CA         46043242361
82165194851362   KRTISTA      HOLLAND                   OH         90006741948
82167454593137   CHASITY      WANNINGER                 KY         90011284545
82167867391975   FRANCINE     BRYANT                    NC         90011318673
82167889447822   INDIA        DAVIS                     GA         14092698894
82168265741275   CHRISTINA    ORWIG                     PA         90014862657
82169677481627   TAMMY        COSGROVE                  MO         90009126774
82171482291242   WILLAIMS     WAUEDY                    GA         14517374822
82174389681677   MANSFIELD    HOLMES                    MO         29003913896
82175257255931   MANUEL       GARCIA                    CA         90007782572
82176228177537   DIANA        WEBB                      NV         90008112281
82176268591979   ROBERTO      GONZALEZ MARCIAL          NC         90012482685
82176352991837   DAKOTA       GOWDY                     OK         90014813529
82176476493771   JASON        LYLE                      OH         90015104764
82177143472496   SONYA        THOMAS                    PA         90008111434
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82178765672432   DARCIE       WORK                      PA         51026427656
82179944451362   REGINA       DUNCIL                    OH         66061119444
82181247333698   BRITTANY     JOHNSON                   NC         90013802473
82181485484333   HILARY       FRAZIER                   SC         90013964854
82183462885856   GUILLERMO    ARELLANO                  CA         90015094628
82183797281677   LUIS         RIVERA                    MO         90004237972
82184145684325   MARVIN       MALPHRUS                  SC         14570621456
82185145684325   MARVIN       MALPHRUS                  SC         14570621456
82185996872432   LORRIE       GALLO                     PA         51093449968
82187945961928   JESSICA      MARTINEZ                  CA         46059339459
82191179451362   SHAUNA       BROOKS                    OH         90011691794
82191797281677   LUIS         RIVERA                    MO         90004237972
82192215777537   KEYCHELL     COOKE                     NV         43052722157
82192584991837   ZANE         TRISLER                   OK         21026295849
82193847172496   RICHARD      DITTMAN JR                PA         90003048471
82196527581677   ANTHONY      ANDERSON                  MO         90011495275
82196539377537   NATALIE      CONTRERAS                 NV         90014865393
82197312331444   STEFANIE     MYLES                     MO         90001113123
82197657985936   MARQUIS      WASHINGTON                KY         67088996579
82197742691975   BONITA       WILSON                    NC         90013327426
82197757877537   ANGELIA      STARR                     NV         90014357578
82198574884329   ROSALIO      RESENDIZ                  SC         90013775748
82198793291837   JENNIFER     HILL                      OK         90015037932
82211835491979   JAMES        STANLEY                   NC         90006238354
82213439581677   TAHKEEYAH    GORDON                    MO         90013404395
82216879725129   DESTINY      THOMAS                    AL         90014178797
82217455897138   SONYA        OLSON                     OR         44046314558
82222495831459   DANA         JOHNSON                   MO         90007664958
82222553151362   AMANDA       PRASSE                    OH         66039615531
82222752155956   CUCA AUTO    REPAIR                    CA         90005817521
82222857441262   REGINA       HERGENROEDER              PA         51082228574
82226653171977   PAUL         GALLEGOS                  CO         90007276531
82227584841275   MARY         WALTER                    PA         51004445848
82228899385936   BRITTANY     THOMAS                    KY         90014368993
82233348677537   DANIEL       DE JESUS                  NV         90010283486
82234699872432   CHRISTY      SHUMAN                    PA         90009296998
82235369371977   AMANDA       KOSEK                     CO         90014843693
82235751681677   NANCY        RODRIGUEZ                 MO         90014607516
82237636793771   SEAN         HUFFMAN                   OH         64502956367
82237761131489   GENEVA       MILES                     MO         90012587611
82238719877537   PAMALA       HUNT                      NV         43051397198
82238774981627   CALINA       STARNES                   MO         90006357749
82239254141262   LYDA         WARE                      PA         51085642541
82241553485856   DONNIE       MAGAN                     CA         46078735534
82242633191525   EMILY        BUENO                     TX         90007316331
82242681572496   JACOB        KARENBAUER                PA         90012246815
82243953233698   FREDDIE      CORNELIUS                 NC         90001629532
82243975671977   HURLEY       SAMMON 3RD                CO         90009949756
82246793681627   PAYGO        IVR ACTIVATION            MO         90014767936
82247352951362   ASHLEY       GALLENTINE                OH         90011693529
82248476347822   NICKIE       SIMMONS                   GA         90005944763
82249818677537   SAMUEL       AMANKWAH                  NV         90012608186
82252154791837   ROBERTO      JUAREZ                    OK         90012101547
82252394833698   SARAH        BULLOCK                   NC         90007413948
82254413697138   KODEY RAY    HAUGHT                    OR         90014844136
82254663747822   TIA          LATTIMORE                 GA         90014616637
82255823381677   DENISE       VAUGHN-BEY                MO         90009918233
82256663447822   WHITNEY      LOWDER                    GA         14027966634
82257161841262   SARENE       FOSKEY                    PA         51000971618
82257261691975   CHRISTINA    HARDIN                    NC         17060642616
82257845791979   VICTOR       ZACARIAS                  NC         90010508457
82258484781677   LAQUANTA     ROSS                      MO         90013744847
82258689791868   RODERIC      JEFFERIES                 OK         90013596897
82259868772432   BOBBI JO     TURNER                    PA         90012688687
82259992851362   CESAR        ZAMORA                    OH         90014179928
82261159241262   TANIS        KANISH                    PA         51036121592
82263175572432   CINDY        HARRISON                  PA         90010931755
82267828447822   MARTINA      SMITH                     GA         90014618284
82271451885856   TREVORE      HUMTHREY                  CA         46021854518
82272467885936   LELAND       HOLLIS                    KY         90001894678
82272823381677   DENISE       VAUGHN-BEY                MO         90009918233
82273375472432   CHARLES      HANNING                   PA         51081053754
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82273973631621   JEREMY           BLITZ                 KS         90008609736
82275947533698   JAYSON           NOWLIN                NC         12090239475
82276284741275   DEBRA            NIXON                 PA         90012702847
82276999271977   SHAYLEA          BACHICHA              CO         90012409992
82277258791975   GALINDO          MORALEZ               NC         90006172587
82277429681627   ANGELA           GUY                   MO         90010274296
82278758691975   STEPHANIE        MILLER                NC         90003987586
82278785191893   BILLIE           ENSCOE                OK         21004727851
82278992485936   ADRIAN           SMITH                 KY         67057559924
82279114441262   QUIANA           KEARNEY               PA         90004811144
82279629597138   LISA             ASHTON                OR         90014976295
82279714481677   MICHAEL          CLEMONS               MO         90013347144
82281246747822   TRACEY           ELLEN                 GA         90014622467
82282175277537   GINA             CABELLO               NV         90014341752
82282234381627   JAMES            MCDANIEL              MO         90014402343
82284123451334   CRYSTAL          LUKE                  OH         90006031234
82284458481666   CANDACE          RUFFIN                MO         90013524584
82284697733698   DANIEL           YOUNTS                NC         90013136977
82285354241262   LONZO            BOYCE JR              PA         90014113542
82285469893771   BENJAMIN         BOYD                  OH         90012994698
82286129672496   LORENA           DEJESUS               PA         51070261296
82286345881627   CATHENIE         THOMPSON              KS         90011073458
82286478555931   MARIA            SALAS                 CA         90006514785
82286676193137   KENNETH          STERLING              KY         90014316761
82286736985936   MANUEL           BERNARDINO            KY         90002447369
82287724381627   GEORGE           DOHERTY               MO         29092817243
82288489971977   HEATHER          VANBUSKIRK            CO         90014824899
82288748793783   SHANNON          MCNARY                OH         90010327487
82288824293766   LACY             WALKER                OH         90006938242
82289357672432   SONNY            HECKATHORNE           PA         90011713576
82289599181677   LISA             WHITE                 MO         90009095991
82292265571977   AMBER            ROMERO                CO         90014932655
82292445851362   NICHELLE         FRAZIER               OH         90012874458
82293539247822   GREG             MOORE                 GA         90014625392
82293617184325   AUNDREA          WATSON                SC         14526406171
82293663877537   GREGORY          GRANADOS              NV         43081526638
82293849771977   DERRICK          ESQUIBEL              CO         90009468497
82293939193771   ANDREA           ISHAM                 OH         64524789391
82294889671977   MARISOL          STEWART               CO         90010928896
82295347691975   ANGEL            MUNDO                 NC         17024323476
82296977851362   DONALD           PACK                  OH         90003409778
82298323351362   LATOSHA          BLACK                 OH         90009103233
82298798477537   CAROLINE         AZCARATE              NV         90014177984
82299397691979   DENISE           WILSON                NC         90008593976
82311318372432   RACHAEL          FOLEY                 PA         90014763183
82311466685936   BRYAN            ALCARAZ               KY         67066084666
82311552997138   RYAN             VANDERBECK            OR         90012345529
82311958941275   BEVERLY          FREEMAN               PA         90013189589
82312545181627   MARGARITA        HERRERA               KS         90011455451
82313619733698   CHERRIE          ROBINSON              NC         12087976197
82313764291242   JOHNETTA         OUCKY                 GA         90009017642
82315196591837   SLVESTRE         SERRANO               OK         90014751965
82315236671977   STACY            MARQUEZ               CO         38073782366
82315592341275   STACI            HUSAK                 PA         90012565923
82315619281627   MISTY            BECHTOLD              MO         29002186192
82316299933698   SONYA LAWSHAWN   BURGIN                NC         90006712999
82318191191979   LAKEESHA         CULBRETH              NC         90010651911
82319988391242   AURORA           SARINANA              GA         14578709883
82321541472432   DENISE           ELLIS                 PA         90014395414
82321614536121   SHUMURA          JOHNSON               TX         73501376145
82322189241262   JENNIFER         MANSON                PA         90011101892
82322367741275   MINDEL           ST JOHN               PA         90007503677
82323643172496   CHRIS            WINGO                 PA         90011416431
82323828285936   ANTHONY          HUMBER                KY         67085128282
82324522781677   CYNTHIA          CABALLERO             MO         90007995227
82324784481627   LIEETH           MUNGUIA               MO         90012167844
82325867481627   DAMIOND          CARR                  MO         29050138674
82326131433698   EMEST            FOX                   NC         90000731314
82326185777537   FLOYD            STEWART               NV         90012281857
82326546361928   IRMA             AGUSTIN               CA         90012185463
82326561461928   SERGIO           GUIDO                 CA         90012715614
82326585472432   KIMBERLY         JOHNSON               PA         51085505854
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82327934641275   CHANDRA      THAPA                     PA         90013839346
82328166261557   PAYGO        IVR ACTIVATION            TN         90014151662
82329276977537   EVERARDO     GONZALEZ PRECIADO         NV         43076282769
82329632161928   GUADALUPE    LEANO                     CA         90010726321
82331399872432   ROBERT       SKEEN                     PA         51089213998
82332161961928   ERIKA        GONZALEZ                  CA         46006081619
82333155897138   JOHN         BURNS                     OR         90013561558
82337482697138   SIXTO        GONZALEZ                  OR         90012404826
82337824747822   TIA          CUMMINGS                  GA         90014628247
82338574785936   DONNA        COTTINGHAM                KY         67076985747
82338659781627   RONDA        LUTHER                    MO         90005416597
82339257841275   MICHAEL      CAHILL                    PA         51080312578
82339334561928   JUAN         OCHOA                     CA         46084773345
82339341391975   CHERYL       DAVIS                     NC         90013383413
82339698672432   MARY         GLENDENNING               PA         51023666986
82342627947897   MARVIN       WELLS                     GA         14088656279
82342863941262   JETTERA      WADE                      PA         51011728639
82343257533698   RONALD       HAYES                     NC         90014482575
82343435491975   KAREN        DAVIS                     NC         90013204354
82343832771977   BRANDON      NELON                     CO         90005988327
82343878741262   SHEILA       STENHOUSE                 PA         90011048787
82346113491242   SHEENA       COUNTS                    GA         90013981134
82346473177537   DANIEL       GONZALEZ                  NV         90014594731
82346587541262   DONOVAN      ADAMS                     PA         90011815875
82348589725151   ZACH         CRUIT                     AL         90015355897
82348796785962   DAVID        MURPHY                    KY         90004177967
82349192741275   SANDY        NIGGH                     PA         90014841927
82349795391975   MOUHAMADOU   BEYE                      NC         90008437953
82352316633698   HAZEL        FORNEY                    NC         12088623166
82353363191979   ROY          SHEALEY                   NC         90012113631
82353366872496   PAYGO        IVR ACTIVATION            PA         90014133668
82353564772496   TIMOTHY      FOLLSTAEDT                PA         90013925647
82354134851362   CYNTIA       RAMIREZ                   OH         90014181348
82354952641262   LISA         DAVIS                     PA         51072869526
82354992771977   MARIA        LUCERO                    CO         38092539927
82355134851362   CYNTIA       RAMIREZ                   OH         90014181348
82355852681627   KAMM         WURTZ                     MO         90011108526
82356751233698   SHAVONNA     WILLIAMSON                NC         12033507512
82357222333655   NICK         ABUKHALAF                 NC         12063242223
82357833684325   KIMBERLY     WEST                      SC         90010568336
82358866772432   RANDY W      HAUGHT                    PA         90012528667
82363324485856   GABRIELA     JAMES                     CA         90009173244
82364388281677   DONOVAN      LATHON                    MO         90002963882
82364726591979   CLARENCE     BURNETT                   NC         90010287265
82366661181677   SAMUEL       INMAN                     MO         90007996611
82366935651362   ELIZABETH    DUNCAN                    OH         66039669356
82367981461928   ROSALVA      GUERRERO                  CA         90014589814
82368112641275   WILLIAM R    HILLEBRECHT               PA         90013631126
82368289191837   CARLA        GABRIEL                   OK         21022522891
82368488193771   DANEIL       FUESTON                   OH         64551284881
82368964547822   CATRINA      EVANS                     GA         90012949645
82371696977537   JONATHAN     KOSKOVICH                 NV         90014516969
82372546991525   IMELDA       REVELES                   TX         90001365469
82373246177537   ERVIN        TAYLOR                    NV         90012372461
82374859272496   SAMANTHA     GOEPFERT                  PA         51063858592
82376475785856   CRYSTAL      HYLES                     CA         90013054757
82376929872496   NICOLE       ADAMS                     PA         51096569298
82377444891242   RAYMOND      MEDLOCK                   SC         14585074448
82378224771977   MARY         MARTINEZ                  CO         90007862247
82378548885856   SERGIO       PINA                      CA         46061695488
82381329584325   DAVID        GOMEZ                     SC         14544443295
82381483291837   DAVID        WALLIS                    OK         90009334832
82381753877537   ALICIA       RUBIO                     NV         90009167538
82383259485936   CHRIS        CRUMBAKER                 KY         90012642594
82383885641262   CASSANDRA    WALKER                    PA         90011048856
82383971641262   STEPHANIE    RESSLER                   PA         90014599716
82384165281627   KRISTI       ARNDT                     MO         90007931652
82384555297138   HOPE         BUNDY                     OR         44092405552
82385618847822   RACHEL       JACKSON                   GA         90014406188
82385838781627   LILLIAN      MANS                      MO         29070268387
82387412685936   TERRENCE     DALTON                    KY         90005004126
82387598951362   ANGEL        MENDOZA                   OH         90014945989
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82387599472432   JEFF         TRYBEND                   PA         90012905994
82388142277537   CODY         ROGERS                    NV         90012651422
82388151991547   BETO         REYES                     TX         75040171519
82388291672432   JEFFREY      CELLA                     PA         51061752916
82388953291837   LASHONDA     RANDOLPH                  OK         90012569532
82389494972496   ROCHELLE     GOETZ                     PA         51092284949
82391672691975   JUANITA      BELLAMY                   NC         90000616726
82392264541275   TOMMIE       PRICE                     PA         51083062645
82393184961928   SALLY        KING                      CA         90014881849
82393232771977   JANET        VASQUEZ                   CO         38079382327
82393615733698   ONEIL        FRANCIS                   NC         90011146157
82394979885936   DARRELL      CHAPMAN                   KY         90010599798
82396662561928   CHERA        DAVIS                     CA         90011296625
82398255181677   ADAM         EVINGER                   MO         90007442551
82398518551362   SHAUN        SEYMORE                   OH         66045695185
82398713872496   SHIRLEY      MCMANUS                   PA         90010107138
82411121897138   CALLAVINNA   SIMONS                    OR         90000401218
82411135885856   JOHN         DEROVEN                   CA         90012691358
82411512941262   KIMBERLY     HICKS                     PA         90013925129
82412133947822   JAMES        LAWRENCE JR               GA         90014631339
82412435984325   DONTAE       DAVIS                     SC         90011214359
82412816197138   ROMAN        CANO                      OR         90014898161
82416435561928   OLYMPIA      SERRANO                   CA         90002324355
82417332841262   LAWRENCE     JACKSON                   PA         90014373328
82417826293771   JULIE        COLEMAN                   OH         64559868262
82423497447897   KEYSHA       HARRIS                    GA         90010794974
82423573481627   KATIE        COONS                     MO         90013205734
82424639185856   JESSE        MORRIS                    CA         90004406391
82426466647822   BRANDON      JOHNSON                   GA         90014634666
82426635551362   BEN          GREEN                     OH         90013156355
82427224377537   KARINA       ORELLANA                  NV         90012982243
82427324572432   BRYAN        ASBURY                    PA         51066773245
82427438861928   MARTIN       ARREDONDO                 CA         46016234388
82427685693776   MELANIE      RILEY                     OH         66068736856
82429643991979   HUGO         SANCHEZ                   NC         90012706439
82431858351362   BRANDON      KLEIN                     OH         90008078583
82432751981627   AMBAR        LARA                      MO         90007297519
82433158941262   KARL         JOHNSON                   PA         51007431589
82433635551362   BEN          GREEN                     OH         90013156355
82433736741222   DELICIOUS    JONES                     PA         90012287367
82433842881677   DEBRA        MORGAN                    MO         90012238428
82434592471977   TAYLOR       SANDOVAL                  CO         90013265924
82434736741222   DELICIOUS    JONES                     PA         90012287367
82435817891837   TOMAS        BECERRA                   OK         90014088178
82437356481643   KRISTY       BRUNSON                   MO         90010123564
82437427181677   DANIEL       IVAN                      MO         90011674271
82438275597138   SHERRY       FLORES                    OR         90008862755
82438413591525   LUCIA        OLIVAS                    TX         75012744135
82438623781677   GLADYS       HAMILTON                  MO         90014236237
82439183671977   NANETTE      MONTANO                   CO         90008741836
82439637981677   TIMOTHY      LEBERMANN                 MO         90010086379
82442184341275   DAVID        SWIECH                    PA         90002451843
82442384493771   AL-LMARRIA   COLLINS                   OH         90015463844
82442949177537   ODAYE        RAMONA                    NV         90004899491
82443721571977   REBECCA      MONTEZ                    CO         90006807215
82443734781677   JEREMY       BARNETT                   MO         90014957347
82445317284325   MELLISSA     CARMICHAEL                SC         90011113172
82447924941241   BILL         SINAGRA                   PA         90001379249
82448671841262   NICOLE       MARSHALL                  PA         51098696718
82451831793771   NICOLETTE    PURCELL                   OH         64595578317
82453276791975   QUINCY       M ADOU                    NC         90015092767
82453899177537   VIOLETTA     RABORN                    NV         43071478991
82454964851357   CARI         IVES                      OH         90008359648
82455336181627   DAVID        HERNANDEZ                 MO         90012493361
82456562185856   JEFF         LEGGITT                   CA         46034465621
82456788133698   IRIS         LOPEZ                     NC         12013737881
82459381681627   MARIA        TREVINO                   MO         90014843816
82461872981627   ANGELA       MORALES                   MO         90001008729
82462154441275   CELESTE      BLACK                     PA         51058341544
82462485571977   KAY          JAMISON                   CO         38070874855
82464775272432   ZAYVRE       ACEL                      PA         90012907752
82465377972432   ELIJAH       YARBROUGH                 PA         90014893779
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82466639291242   SELINA         DAVIS                   GA         14575976392
82466847393771   NATHANIEL      SHINGLETON              OH         90006388473
82466932281677   MYNESHA        MYERS                   MO         90014639322
82473654691837   TRINA          MARSHALL                OK         90010986546
82475385533698   IAN            BLACKWELL               NC         12090243855
82475463991837   NIANG          DIM                     OK         90012944639
82475937797138   BRITTNYE       DAWN                    OR         90008909377
82476183781627   STEVE          STONE                   MO         90015461837
82477784791975   SHEA           BETHEA                  NC         90013257847
82478439685936   WILLIE         JOHNSON                 KY         90011604396
82478533985856   MARIA EDITH    HERNANDEZ               CA         90012485339
82479712771977   TONI           WODIUK                  CO         38042417127
82479782291242   PAUL           ARKWRIGHT               GA         90003707822
82479914541249   MEGAN          WERNER                  PA         51092569145
82481378781677   JAVON          JONES                   MO         29052723787
82485329281627   ESHDA          BEAST                   MO         90013963292
82486629285856   SPANKY         MUNOZ                   CA         90015076292
82486884491523   JOSE           TREVINO                 TX         90011078844
82487182257128   LUCRETIA       BOYD                    VA         90008861822
82488334551362   COLLEEN        SWEENEY                 OH         90012803345
82488559541275   TIFFANY        SMITH                   PA         51079355595
82491211561928   BEATRIZ        CARRANZA                CA         46060012115
82491338641262   TRACI          HELFRICK                PA         51063483386
82491569641275   PATRIC         HUMMEL                  PA         90009315696
82492236272432   KRISTOPHER     HARTLEY                 PA         90000522362
82492589184333   EDUARDO        DE LA VEGA              SC         14576215891
82493281397138   JESUS          ROLDAN                  OR         44011432813
82493465741262   KRYSTA         YUHASCHEK               PA         90002524657
82493889961928   JOEL           MERAZ                   CA         90013698899
82494352841275   JOSHUA         THORNTON                PA         90010013528
82495192747822   BRANDY         ROBINSON                GA         90012271927
82495248591979   DACIA          THOMPSON                NC         90011382485
82496455351362   SANDRA JANET   CHACON                  OH         90015154553
82496534647822   ALEXIA         JOHNSON                 GA         90011535346
82496554891525   BRENDA         BETANCE                 TX         90001705548
82498128685856   JUAN           GUERRERO                CA         46013241286
82498326551362   ELSA           CHAVEZ FIGUEROA         OH         90014183265
82498998991525   ITZEL          TORRES                  TX         75091079989
82499391885856   ANDRE          MORENO                  CA         90006373918
82499552991979   KIMBERLY       POWELL                  NC         17068505529
82499985141262   CHERYL         PASKEVICH               PA         51021569851
82512591172432   CARRIE         SHOEMAKER               PA         90012995911
82513164877537   GABRIELA       CORDOVA                 NV         90011931648
82513334172496   NICHOLAS       PAPPAS                  PA         90014623341
82513663947822   ANGELA         MULVEY                  GA         90011046639
82514872741275   JAMIE          BOWER                   PA         51070648727
82514894471977   JESSICA        MAXWELL                 CO         38033648944
82515151471977   KELLIE         GOAD                    CO         90015471514
82515793551362   JOSE           GALAN                   OH         66057037935
82515933491242   KENNETH        CARR                    GA         90003579334
82516429677537   JOSHUA         WILCOX                  NV         90014824296
82517154477537   HERMINIO       ACADEMIA                NV         90010921544
82518785341237   LANA           RANDALL                 PA         90012257853
82519426691979   WILSON         ROMERO                  NC         90001124266
82521219391975   VICKI          SANDERS                 NC         90014042193
82521234193771   ASHLY          COIFFORD                OH         90010092341
82521661391837   MICHELLE       BARNETT                 OK         90010986613
82521939184325   CEDRIC         BUSH                    SC         90011299391
82521991963628   ANDREW         JEPSEN                  MO         90013069919
82522248685936   GREG           FLORA                   KY         90009172486
82522833572432   DARLENE        DARRALL                 PA         90012998335
82523561961928   OFELIA         VARGAS                  CA         90000675619
82524892191975   BIANCA         SMITH                   NC         17048818921
82525265381677   RICHARD        GILBERT                 MO         90007442653
82528329771977   MANDY          LEYBA                   CO         90013503297
82528342791979   ADELE          BANAR                   NC         17015013427
82528455351362   MISTY          FISCHER                 OH         90008594553
82528772891975   THOMAS         ALLEN                   NC         90014317728
82528921171956   JOSEPH         NAVARA                  CO         90006919211
82529915797138   JOSE           ISIORDIA                OR         90015119157
82531347751362   ANGELIA        PERNELL                 OH         90014183477
82531888985936   ANGELA         MASSIE                  KY         67006038889
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82532253691525   MARTHA       KRILING                   TX         75075792536
82533767541275   TEJON        PAGLIALONGA               PA         51045227675
82534346733698   JESUS        NARANJO                   NC         90007073467
82535122671977   BRIAN        JOHNSON                   CO         90012001226
82535369851362   DOVIE        HICKMAN                   OH         90014183698
82536189372496   CHARMAIGNE   TACK                      PA         90011871893
82536312791242   RALPH        STAIR                     GA         14587653127
82537972751362   JAY          TRAMMELL                  OH         90014539727
82538472771977   ANTHONY      LUCERO                    CO         90015564727
82538732147822   TIERRA       STARLING                  GA         90005837321
82538984841275   ANTONIO      HIPPS                     PA         90010659848
82539711491242   KIMBERLY     WILLIAMS                  GA         90002777114
82541613493771   SARA         SMITH                     OH         90008166134
82541724372432   JEFFREY      HAMILTON                  PA         90001877243
82542385751362   LOWES        MIAMORE                   OH         90014183857
82543229693771   DUSTIN       ADAMS                     OH         64509772296
82543265733698   JAMES        ALSTON                    NC         90011382657
82547441577382   SHARON       LIGGINS                   IL         90014694415
82549447347822   LADOVIE      BOWER                     GA         90013034473
82549536777537   JONATHON     WIEDERHOLD                NV         90013895367
82551369851362   DOVIE        HICKMAN                   OH         90014183698
82551878691979   ARACELI      RIVERA                    NC         90012698786
82552147197138   JAIME        GARIBAY                   OR         90008991471
82552746491525   PATRICIA     PORTILLO                  TX         90007917464
82552829185936   LEESA        TACKETT                   KY         67021588291
82553325872432   LAUREN       LAWTON                    PA         90012553258
82553653481677   JARED        GOULDSMITH                MO         90014626534
82554359493771   CRAIG        REED                      OH         90012313594
82554793291975   TERWUAN      MOORE                     NC         90010947932
82555771751362   SHAWN        HERRON                    OH         66059707717
82556697791979   CHARLES      PARKER                    NC         17072746977
82557248461928   RACHEL       UGARTE                    CA         90007242484
82557368591979   SHAMIA       KING                      NC         90012283685
82562721971977   JACKIE       BURROWS                   CO         90014887219
82563297991837   VALERIAN     RILEY                     OK         90009132979
82565367741262   DWON         HATCHER                   PA         90012913677
82567298961928   OFELIA       AGUILAR                   CA         46053012989
82567732847822   J            JOHNSON                   GA         14085597328
82568423371977   IRENE        MARTINEZ URBINA           CO         90013204233
82568664561928   HECTOR       GONZALEZ                  CA         46072536645
82568993491979   KIMBERLY     HOLLY                     NC         90011389934
82569547551362   LAURI        RAMIREZ                   OH         66005635475
82569792172432   JENNIFER     WALLACE                   PA         51065867921
82573313591979   KAREEM       RAHMAN                    NC         17014463135
82573679677537   ANA SILVIA   RODRIGUEZ                 NV         43010186796
82573777291242   PATRICIA     SWAN                      GA         14571547772
82574523747822   VANZETTA     BEARD                     GA         90014655237
82574554591837   PAMELA       MARTINEZ                  OK         21007295545
82574628447897   VONDA        REYNOLD                   GA         90001316284
82574732997138   MARISELA     GARCIA GARCIA             OR         90001197329
82575149485936   TYLER        ADAMS                     KY         90013981494
82576834985936   FRANK        HENSON                    KY         90012948349
82577177271977   HEIDI        PRICE                     CO         90009601772
82577291561928   JASMINE      SANTOS                    CA         90007742915
82577659272496   KRISTY       PETERMAN                  PA         51043046592
82578822951357   TIFFANY      METTS                     OH         90012628229
82579344291837   EDIEL        AGUILAR                   OK         90006333442
82579764785936   CAITLYN      SHELTON                   KY         90013697647
82579955591893   JUAN         ANTUNEZ                   OK         90006389555
82581316372432   VIRGINIA     STOCK                     PA         51059243163
82583117871977   BRUCE        BURTON                    CO         38026061178
82583835191837   JASMINE      YOUNGER                   OK         90009078351
82583859947822   ALISH        GORDON                    GA         90001418599
82584756677537   MARIA        ALVARADO                  NV         43052617566
82585412551531   KAREN        WEBBER                    IA         90015374125
82585414472496   ASHLEY       GEORGE                    PA         90008444144
82585543151362   DOLORES      TURNER                    OH         90014185431
82585859884325   AMY          WADE                      SC         90010778598
82586875871977   JOANN        BOYES                     CO         38053528758
82587339281669   DEAUN        HOPKINS                   MO         90014853392
82587972171977   JOSEPH       ALLIE                     CO         38056639721
82589454791975   AVIAUNCE     HOLLOWAY                  NC         90012594547
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82591456291837   BRENT         SLOAN                    OK         90014834562
82591865572496   DAVID         YOUNG                    PA         90013948655
82592175291837   MELINDA       BROWN                    OK         90011381752
82595571961934   MANUEL        SERRANO                  CA         90012455719
82595841781677   ELIZABETH     KING                     MO         90015158417
82595967951362   PHILIP        MCDONALD                 OH         66095509679
82596137797138   ARIADNA       MENDEZ                   OR         90013811377
82596148391975   JOEL          MORALES                  NC         90013841483
82599635185856   AIOTEST1      DONOTTOUCH               CA         90015116351
82612698151348   ISIAH         BINES                    OH         90010596981
82612814881627   CAROL         BRITT                    MO         29032858148
82612964871977   KERENSA       MATHEWS                  CO         90015469648
82612999181677   STEVEN        RAY                      MO         90014359991
82613848872432   MICHAEL       ALLAN                    PA         51029858488
82614852847897   AMBA          BAXTER                   GA         90009248528
82614982233633   TERRANCE      GAITHER                  NC         90007079822
82615211385936   MIRANDA       CUNNINGHAM               KY         90013002113
82616831593771   AARON         WESTFALL                 OH         90009458315
82617156393771   RAYMOND       COLLIER                  OH         90004951563
82617683484325   ROBERTO       RAMIREZ                  SC         90001056834
82619251591979   MARVIN        RIVERA                   NC         90009592515
82619594347822   DANESSA       ALSTON                   GA         90006445943
82619741485924   LISA          HISLE                    KY         67087977414
82621866291979   LASHONDA      TUCK                     NC         90010868662
82622833641262   MELANIE       RILEY                    PA         90014848336
82623931691979   TIFFANY       CLIFTON                  NC         90013419316
82625465961943   PAMELA        MORGAN                   CA         90004944659
82626525471977   WILLIAM       SMITH                    CO         90011605254
82626965491837   SERGIO        LANDEROS                 OK         21050959654
82627334347822   EDNA          COLEY                    GA         14089813343
82628847491837   VICKY         JOHNSON                  OK         90001798474
82631993991975   SHARLETTA     WHITAKER                 NC         90012649939
82632196341275   THOMAS        PEZZANO                  PA         51094281963
82633982947822   MELANCE       FOWLERS                  GA         90007899829
82636449685936   DARION        WAITE                    KY         90014534496
82637129141262   RYAN          MASSIE                   PA         51097471291
82637552447822   LATREY        JOHNSON                  GA         90014675524
82637695951362   CHRISTOPHER   PRESTON                  OH         90013156959
82638119585856   AERIAL        BOURGEOIS                CA         90014951195
82638817993771   CORNEIL       ATKINS                   OH         90012308179
82641142672496   LISA          HARRIS                   PA         51048521426
82641653972432   PAULA         WARNICK                  PA         51005246539
82642655433698   JERMAINE      A. EVANS                 NC         12097166554
82643825781677   STEVE         BOCKSHAMMER              MO         90011678257
82644617181627   JAMILA        GEORGIS                  MO         29070906171
82645116191975   LEYDA         MONTOYA                  NC         90014481161
82646469991979   HENRI         BALITZKI                 NC         90015044699
82646794441251   SUSAN         EHMER                    PA         51036467944
82647123791979   SHONDA        DIVA                     NC         90005361237
82647159647897   LAWANDA       MCCOY                    GA         14024361596
82648396791837   DOMINIC       CHEEK                    OK         90013963967
82648742433698   ALLEN         MCCRAY                   NC         12082197424
82649292841275   ROBERT        REESE                    PA         90007112928
82649861833698   BRODRICK      WAGNER                   NC         90010468618
82651547661928   RAYRANDA      JEFFERSON                CA         90014005476
82651676191837   JIMMIE        GRODEN                   OK         90014636761
82651722341275   KENNETH       RHODES                   PA         90012187223
82653459891837   ADAM          UNDERWOOD                OK         90014834598
82653888772432   JUSTIN        PHILLIPS                 PA         90000538887
82654442685856   ARMANDO       CABRERA                  CA         90014924426
82654462691975   TAYA          HOLDER                   NC         90008464626
82656211185936   TERRI         TIMBERMAN                KY         90013962111
82656338447897   FELECIA       JAMES                    GA         90010123384
82656653291975   KASSANDRA     GUZMAN                   NC         90014066532
82657249541262   KAYLA         WALLACE                  PA         90014692495
82657462691975   TAYA          HOLDER                   NC         90008464626
82657619171977   JULIE         HOBGOOD                  CO         90005346191
82658543685936   DAISY         CAMPBELL                 KY         90001215436
82658573291837   CORINICE      WILSON                   OK         21085215732
82658934733698   KEISHA        MILLER                   NC         12052949347
82659421891979   CHAD          ASHBY                    NC         90014884218
82659525747822   MARTIA        LEE                      GA         90012665257
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82661154851362   LESLIE           THOMPSON              OH         90013031548
82661448461928   KUMIKO           WARNER                CA         90009304484
82662734171977   JESSE            RODRIGUEZ             CO         90015587341
82663187271977   JOE              ESQUIBEL              CO         90003121872
82665463171977   CIRLIA           GALLARDO              CO         90008604631
82665545372432   ELIZABETH        KLAUS                 PA         90014835453
82666516585936   ROBERT           BRANNON               KY         90009655165
82666768497138   LIBRADO          AGUILAR FLORES        OR         90002767684
82667255741275   TERRY            BOHNER                PA         90003742557
82667583284336   CHRIS            SATURDAY              SC         90010585832
82667639172496   ANGELA           ROBISON               PA         51093466391
82667673372432   KATIE            SPARA                 PA         51027186733
82667697491975   ROSA             CRUZ                  NC         17059686974
82668114984325   HERLEN           MALBONABO             SC         90011471149
82669627385936   VANESA           MARTINES              KY         90006996273
82669897881627   DEHUIZ           MARTINEZ              MO         90012048978
82671973285856   LUIS             HERNANDEZ             CA         90002759732
82672225261928   DAVID            MAGANA                CA         90006232252
82672542247822   RICKY            WALLDEN JR            GA         90012655422
82672993891979   CESAR            VAZQUEZ-CASTILLO      NC         90011369938
82674581472496   NOELLA           LITTLEJOHN            PA         51060095814
82675412485856   OYA              GUNAYDIN              CA         90015024124
82675554477537   DANYAL           WICKER                NV         90014715544
82675723541247   LOUIS            MILAN                 PA         90011867235
82676758672496   ARAMI            SWEENEY               PA         51096617586
82677362585936   CYNTHIA          ISAACS                KY         90012883625
82677372951362   SAMANTHA         IRWIN                 OH         90011713729
82677433281627   EBONY            GARRISON              MO         29067464332
82678216785936   CLAUDIA          AYALA                 KY         90010412167
82678264825151   RANDOLPH         THOMAS                AL         90015082648
82678323941275   THERESA          CIPICCHIO             PA         90004783239
82678346593771   MILESHA          GILLIAM               OH         90008123465
82678477681627   MARIA            IBARRA                MO         90012524776
82678632371977   ALEJANDRA        PEREZ                 CO         90011416323
82679276661928   SARATH           MARCUS                CA         46084592766
82679326333655   OLIVIA           DICKENS               NC         90009143263
82679527547897   DARRELL          GREENE                GA         90010305275
82681432791837   DAVE             ABUEL                 OK         90000184327
82681547881677   APRIL            STONE                 MO         90013515478
82684823391525   BRENDA           SILVA                 TX         75091578233
82684887777537   YERENIA          RODRIGUEZ             NV         90001508877
82684943893771   DONNECHIA        LLOYD                 OH         90013719438
82685112191242   JOHNY            WILLIAMS              GA         90004401121
82686168884325   SHIRLEY          STEWART               SC         90008781688
82686219141275   ARTHUR           PHIRI                 PA         90008502191
82687224133698   SAMUEL           TEMICH URIETA         NC         90013012241
82687645447822   ARIEL            MCCLINTON             GA         90014696454
82688414831471   FUCC NALL        KNO DAT               MO         90008584148
82688489272496   MARK             IARRRAPINO            PA         90008444892
82688759985856   RACHAEL          MURRAY                CA         90014927599
82688944391242   JUSTIN           SHEFFIELD             GA         90003619443
82689345961928   HUSSEIN          ABDIKADIR             CA         46006283459
82689414891837   JUSTIN           NEAL                  OK         21084124148
82689977671977   STORMY           BALLOU                CO         90005169776
82691149851362   KEVIN            MCFERRON              OH         90013031498
82691368191837   ROY              KRAUSE                OK         21095773681
82691381447822   CARLTON          JONES                 GA         90014883814
82691825581677   MIKE             SMITH                 MO         90014688255
82692521191979   JAQUELINE        COX                   NC         90013435211
82692832841262   MARLENE          THROWER               PA         51025878328
82693251484325   RUTH SHAQUETTA   LEE                   SC         90009992514
82693272951362   ASAEL            CRUZ                  OH         66042232729
82693393591975   CRYSTAL          RICHARDSON            NC         90008483935
82693673693771   SHANNON          WALDRON               OH         90013936736
82694327281627   FRANKLIN         BARAHONA              MO         90015333272
82696623781677   GLADYS           HAMILTON              MO         90014236237
82696655693783   BRITTNET         CHAFIN                OH         90008886556
82696782333698   HEATHER          SMITH                 NC         90009037823
82697928785936   BARBARA          SMITHSON              KY         90005959287
82698712941262   DIANNNA          PATTERSON             PA         90005207129
82698929651362   RANDALL          TRISEL                OH         90012069296
82698957185856   WAYNE            PEIRCE                CA         90015199571
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82699545351362   KRYSTAL       COLLINS                  OH         66049395453
82699898247822   JESSICA       TOOMER                   GA         90014698982
82699922281677   JASON         HOWERY                   MO         90013439222
82711396185856   KEVIN         MOREFIELD                CA         46033503961
82711791141275   JUSTIN        EDWARDS                  PA         90013347911
82712482751362   MICHELLE      HENDERSON                OH         90011714827
82713987985856   MELISSA       RODRIGUEZ                CA         90012699879
82715547681677   ALFREDO       LUIS                     MO         90012675476
82715597393771   LINDA G       HOWARD                   OH         90009475973
82715968341262   AMRIT PAL     SINGH                    PA         90014789683
82716743285936   GINA          TOLLER                   KY         90013227432
82717337341247   TRUDI         SANFORD                  PA         90005983373
82717989385856   JONATHAN      COOK                     CA         90012699893
82719131933698   KEVIN         THOMAS                   NC         90009941319
82719475447897   OLLIE         DUNCAN                   GA         90005104754
82719525391837   MONICA        RODRIGUEZ                OK         90005125253
82719814177537   CHRISTOPHER   WILLEY                   NV         90014468141
82721698877537   YESENIA       ALVARADO                 NV         90014716988
82722426171977   JEREMY        DENOGEAN                 CO         38077134261
82722579593771   PAYGO         IVR ACTIVATION           OH         90013145795
82723132161928   CARLA         SILVA                    CA         90013321321
82723898491525   ROBERTO       VILLALOBOS               TX         90001928984
82725173741275   SHANNON       YOUNG                    PA         90014731737
82725285741275   SHANNON       YOUNG                    PA         90013872857
82727734661928   RINA          WILEY                    CA         90006947346
82732459797138   DANIEL        PEREZ                    OR         44065854597
82732648461928   ALICIA        REYINOSO                 CA         46084996484
82732883947822   JANECIA       MAHONE                   GA         90014708839
82732931371977   LARRY         ROMERO                   CO         90011309313
82732957561556   JOSEPH        KETCHUM                  TN         90015389575
82735343585936   CLAUDIA       KING                     KY         90014603435
82738148371977   JACKIE        GUTIERREZ                CO         90012681483
82739681141275   DANIEL        WALKOWSKI                PA         90013056811
82739739285936   LILIANA       AYALA                    KY         90010227392
82739761491523   RICARDO       MAESE                    TX         90007787614
82742887161928   JORGE         SANTANA                  CA         46006298871
82743218472432   ERIN          FOGARTY                  PA         90014142184
82744164271977   DANIEL        COBB                     CO         90014741642
82744565561928   JASMAINE      EVANS                    CA         90005175655
82745799785856   ADEOLA        LAPITE                   CA         46018147997
82746138793771   BART          KENT                     OH         90006491387
82747566471977   EDWARD        GARCIA                   CO         38075125664
82749171547822   UNTRANEKA     STALLINGS                GA         14092651715
82751167961928   DEAN          NICHOLS                  CA         90014791679
82751325191837   DAVID         MILLER                   OK         21048343251
82752641891979   MIRIAM        RAMOS                    NC         90013986418
82754181391837   JENNIFER      CHASTAIN                 OK         90011341813
82754361133698   SHANA         MCKINNEY                 NC         90011493611
82755443485936   MASON         GRODES                   KY         90015484434
82756132185856   GUADALUPE     GARCIA                   CA         90012721321
82756211891975   JED           ORTON                    NC         17040832118
82756397585936   JAMES         LANE                     KY         90014853975
82757185372432   DREW          MCNICHOLAS               PA         51038331853
82757278733698   RADOVAN       BANOVIC                  NC         12083412787
82757457285936   JOSE          LUIS                     KY         90011854572
82758785191242   ASONTE        HARRISON                 GA         90001897851
82759871177537   JOSE          MOLINA                   NV         90010388711
82759927593771   ASHLEY        HICKS                    OH         90014719275
82759936741275   HOWARD        JONES                    PA         90013839367
82761351547822   MARY          LYONS                    GA         90002133515
82763266585856   CESAR         GARCIA                   CA         46061652665
82763825485933   KARI          JARVIS                   KY         90002508254
82764869785856   REGINO        CRUZ                     CA         46085418697
82766364886447   DEMETRIUS     JOHNSON                  SC         90014573648
82766421585936   SAQUEO        VAZQUEZ                  KY         90010634215
82767247547822   ALICIA        SMITH                    GA         90010422475
82768298191975   PEDRO         CRISTOLBAL               NC         90012682981
82771835851362   TIFFANY       HAMMOND                  OH         66083808358
82772247677537   KASHAE        FELIX                    NV         90001082476
82772445271977   ISAAC         FRANCO                   CO         90015124452
82773685873276   PATTY         FARRELL                  NJ         90013516858
82773858561928   JESUS         CHACON                   CA         90010268585
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82774324497138   BRIAN         BENNETT                  OR         90012043244
82774632391242   FELECIA       RICHARDSON               GA         90005896323
82774893441275   MICHAEL       THOMAS                   PA         90011318934
82775483997138   ASHLEY        GEARY                    OR         44051994839
82775654385936   VICKIE        WOODRUM                  KY         90010306543
82777835577537   NORMAN        PAULEY                   NV         90007968355
82779323863669   BUDDY         ALSOP                    MO         90001893238
82781377471977   RICHARD       BINGAMAN                 CO         90013773774
82782564893771   TANISHA       JAMES                    OH         64545735648
82782735291523   VIVIAN        LOPEZ                    TX         90013087352
82782739133698   ROBIN         REID                     NC         12074017391
82783114247822   TERANCE       THORPE                   GA         90014721142
82784315591975   SARAH         DE LOS SANTOS            NC         90013303155
82786973181677   JEFF          KEYS                     MO         90015209731
82788299761963   HUGO JAVIER   JIMENEZ                  CA         90012042997
82789111577537   PABLO         SANCHEZ                  NV         43052001115
82789132972496   GINGER        KILROY                   PA         51085411329
82789145991242   CYNTHIA       MARES                    GA         14524881459
82794974881677   JOSE          DE JESUS                 KS         29017689748
82795275641275   BRITTANY      PIKE                     PA         90005912756
82795316633698   HAZEL         FORNEY                   NC         12088623166
82796168485936   TIFFNEY       TURNER                   KY         90014701684
82797369533698   TARYN         HAWKINS                  NC         90013313695
82798296261928   FIDEL         TRUJILLO                 CA         90012802962
82798796785936   BRIAN         HARM                     KY         90013097967
82798797581627   LUVIA         MANUEL                   MO         29085557975
82799216341249   TIMOTHY       BUSSE                    PA         51060822163
82799793791979   EMILY         SLEE                     NC         90010277937
82811138893771   CASSANDRA     JOHNSON                  OH         90004641388
82811148585856   VIKKI         HENRY                    CA         46011941485
82811699872432   CHRISTY       SHUMAN                   PA         90009296998
82811993347822   KIMBERLY      DAWSON                   GA         90014729933
82816553693771   LAKISHA       MATHEWS                  OH         64577695536
82817275541262   STEPHANIE     ROZIER                   PA         90013402755
82817459291975   GARY          JOHNSON                  NC         90014974592
82817637781677   JOHNATHAN     MCCOY                    MO         29094176377
82818171557127   MARIO         MONTE                    VA         90013851715
82818916185868   JOSE          RODRIGUEZ                CA         90013819161
82821245886447   JEFFREY       NORRIS                   SC         90014132458
82821433585936   JANE          HIGNITE                  KY         90000924335
82822549847897   CHARLES       KNOWLES                  GA         14080075498
82824686793771   DEJA          SURLES                   OH         90007096867
82824811772432   ALBERT        DAMI JR                  PA         51021248117
82825338185856   DONNA         MORAN                    CA         46012113381
82825387791525   MARIA         VASQUEZ                  TX         75091223877
82826143247822   CHRISTY       CLARK                    GA         90014731432
82827656885936   NOBERTO       BAUTISTA                 KY         67053966568
82827757981627   AGUSTIN       TREJO-CRUZ               MO         29045857579
82828499691979   MANUEL        MADONADO                 NC         90008274996
82828589885936   RENAE         GREEN                    KY         67036955898
82829145847822   KENDRA        MARSHALL                 GA         90014731458
82829232157126   MARCELA       ANTEZANA                 VA         90013032321
82829577561981   DAVID         DAOUD                    CA         90004505775
82831252141275   ALEX          FRITS                    PA         90011392521
82831677161943   KYENTIE       OMARI                    CA         90012326771
82832113151362   KATELYN       MCFERRON                 OH         90011721131
82833829661928   BERTHA        HERNANDEZ                CA         90013808296
82833894785856   FCS           FGJDGJKD                 CA         46072918947
82833937971956   JOHN          TREECE                   CO         90012449379
82833948263624   REBECCA       SCHNEIDER                MO         27596319482
82834565793771   TERRY         ROSE                     OH         90015165657
82835716471977   DANIEL        BARELA                   CO         90005267164
82836296191837   MARILYN       MOORE                    OK         21025882961
82837332291975   ALDAR         HERNANDEZ                NC         90006093322
82837516591979   CHARLENE      RICHARDSON               NC         90013435165
82837564391837   LORI          GRUMBLES                 OK         21073875643
82837673372432   WILLLIAM      RIZOR                    PA         90013156733
82838165385856   EDUARDO       ORTEGA                   CA         90003901653
82838488985856   AIKEN         T                        CA         90012374889
82838565171977   STEVEN        WRENN                    CO         90011455651
82839874691975   YESEL         GARCIA ROJAS             NC         90009778746
82839963893137   MARCIA        POYSER                   KY         90011809638
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82841384497138   JERED         HENDERSON                OR         90000293844
82841419147822   ALEXIS        JOLLY                    GA         90014734191
82841673372432   WILLLIAM      RIZOR                    PA         90013156733
82842714491979   DEBRA         KISER                    NC         90010467144
82842756391979   VERNON        DRAKE                    NC         90013647563
82844396147822   JULIE         ROBERTS                  GA         90013223961
82844684561928   VALENTIN      RIVERA                   CA         46072106845
82845372291837   KALLIE        COBERLY                  OK         90013733722
82845411872432   TERESA        CURTIN                   PA         90014544118
82845748291975   BISHOY        SHARKAWY                 NC         90009057482
82845955172496   GARY          ANGEL                    PA         90014789551
82846293981627   HERIBERTO     MARTINEZ                 MO         90012302939
82846838497138   MELISSA       JEFFERS                  OR         44037208384
82848172197138   YOLANDA       BENAVIDES                OR         90011281721
82848571871977   MARKEITVEON   BATTLE                   CO         90003665718
82851448347897   MARILYN       COLEY                    GA         14094794483
82852343871977   SONYA         YAZZIE                   CO         90005733438
82852631247822   MICHAEL       LISTER                   GA         90014736312
82854463761928   MIGUEL        SILVA NIETO              CA         90012744637
82855338185856   DONNA         MORAN                    CA         46012113381
82855429961928   JOSE          CRUZ                     CA         46077674299
82855436847822   NICOLE        BUTLER                   GA         14031914368
82856562891837   ANGELIQUE     REDEAU                   OK         90009425628
82857244591975   HAKEEM        RICHARDSON               NC         90014852445
82859328585856   MARIA         AVILA                    CA         46050163285
82859357972432   KATHERINE     JAMERSON                 PA         51055303579
82859782597138   LISA          SHELL                    OR         90013537825
82861134385856   JAYMES        DAVIDSON                 CA         90011271343
82861435161928   LARISSA       WIMBERLY                 CA         46016634351
82861986591837   SHANE         FIELDS                   OK         90014399865
82862329893771   ARTURO        DAVILA DELEON            OH         90014413298
82862854781677   MIGUEL        ARENALO                  MO         90010368547
82863352391975   PRICILLE      MAYENGO                  NC         90008473523
82863926181677   ELZORA        HILL                     MO         29080359261
82864915433698   SHANE         CHRISTY                  NC         90009369154
82865932491332   NICOLE        LADESICH                 KS         90009459324
82866222731449   ROSETTA       CHRISTIAN                MO         90010722227
82866261947822   JEREMY        DAVIS                    GA         90014862619
82866651133698   LARANE        HASKINS                  NC         90013996511
82867536861978   SARIF         MOHAMED                  CA         90012455368
82868176681627   FERMIN        LOPEZ                    KS         90015101766
82868252851365   PATRICA       PHELPS                   OH         66069182528
82868562241262   GRACE         VENTURA                  PA         90012765622
82868566691242   TAMMY         STONE                    GA         14586565666
82868578171977   VINCENT       SANCHEZ                  CO         38089705781
82868622691975   DAVID         ROSE                     NC         90013966226
82869476247822   TAWONDA       SOLOMON                  GA         90011074762
82869821785936   SHELEIKA      SIMMONS                  KY         90009688217
82872556393771   ALEXANDER     WHITE                    OH         90013315563
82872861291979   MARILIN       MOROY                    NC         17013008612
82874412985936   RAYMOND       JONES                    KY         90000104129
82874466477537   ANTHONY       ROY                      NV         90013284664
82874715191979   MANUEL        HUERTA                   NC         90013897151
82875128581677   CARLOS        SAGE                     MO         90006811285
82876442993771   JAMIE         GILVIN                   OH         90001024429
82876458572432   JEANNA        MAIN                     PA         51085384585
82876693133698   BILLY         HIATT                    NC         12009536931
82876915684325   DELIA         CASKEY                   SC         90011649156
82877274325151   RANDOLPH      THOMAS                   AL         90015082743
82877374485936   GRISELDA      MONTIEL GALICIA          KY         90013063744
82877768247822   THERESA       RODRIGUEZ                GA         14086817682
82879753191532   JULIO         ALMANZA                  TX         75077717531
82881639385936   ASHLEY        PEREZ                    KY         90013146393
82882251391979   KRISTIE       RICHARDSON               NC         90015032513
82884731172432   LAURI         THOMPSON                 PA         51029737311
82885612191837   CHERYL        GUTIERREZ                OK         21092586121
82885714871956   SEAN          WAGERS                   CO         90005037148
82887252984331   ROBERT        BOYD                     SC         90014342529
82888553677537   KAREN         MOULLET                  NV         43027995536
82889629285856   RYAN          WATERS                   CA         90014076292
82889748491837   ABIGAIL       ROMERO                   OK         90011327484
82891688151362   JEFFERY       NICHOLS                  OH         90013236881
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82893421891979   CHAD          ASHBY                    NC         90014884218
82893761291979   MUMTAZ        JAMAL                    NC         90013957612
82894744577537   SHANE         SMITH                    NV         90014027445
82895132733698   HEATHER       CORRIHER                 NC         90010721327
82896838747822   SHARONDA      BLOUNT                   GA         90010878387
82897446285936   MASON         GROVES                   KY         90015484462
82897849272432   PHILLIP       FOEKS                    PA         90013288492
82898458281627   STEVEN        BYRD                     MO         90012464582
82899143247822   CHRISTY       CLARK                    GA         90014731432
82899422647822   ANTHONY       WIGGINS                  GA         90014114226
82911363433698   SHAWNTIKA     DAVIS                    NC         90009153634
82911491341275   LISA          RUCKER                   PA         90012984913
82912147471977   NATHAN        GIBBS                    CO         90013071474
82912253261963   ARIEL         DE LA TORRE              CA         90007982532
82913932481627   ROBERTO       MENDEZ                   MO         90012819324
82915288972496   KRISTOPHER    FAIR                     PA         51046972889
82915534871977   RAYMOND       LAFEBRE                  CO         90010155348
82916229197138   ANNA          HOUSE                    OR         90015572291
82916887391837   REBEKAH       DENNIS                   OK         90010758873
82918548891979   RHEA          REED                     NC         90013745488
82919186441262   BARBRA        FANCHER                  PA         90012841864
82919632651362   STEVE         HAMER                    OH         90002386326
82921164691975   CONSTANTINE   LOPES                    NC         90012431646
82921843971977   TERA          LUCERO                   CO         38094078439
82921943141275   TARA          PELLECCHIA               PA         90001319431
82922241597138   AMY           SHUTZ                    OR         44089272415
82922664284325   ANDREA        CHANEYFIELD              SC         90009516642
82923256991975   DAMARIO       CORTES                   NC         90013252569
82923389691837   SHAUNDELL     HARVEY                   OK         90009573896
82924538547822   PHOEBE        GRIGGS                   GA         90014745385
82925286391979   REYNINA       BALTIERRA                NC         90012352863
82927525791979   SHAKISHA      WITHERSPOON              NC         90002255257
82928526391525   CRYSTAL       CHAVEZ                   TX         90005895263
82929324384347   CYNTHIA       SPRIGGS                  SC         90009573243
82931241441262   ARNISHA       TAYLOR                   PA         51010682414
82932628141275   CAREN         BAKER                    PA         90011146281
82933687191532   MARIA         MURILLO                  TX         90006896871
82933877485936   HERBERT       LARGE                    KY         90000708774
82934425447822   TINA          PITTS                    GA         90008734254
82934742491979   RUBY          CHASE                    NC         90012157424
82935139491837   FRANCIS       LONGORIA                 OK         90003061394
82935444561928   DANIEL        NYAGGAH                  CA         90010184445
82935666485856   RAMIN         SEDIQI                   CA         90012906664
82936426985936   LUANNE        HOWARD                   KY         90013534269
82937243791525   ELISA         TORRES                   TX         90003212437
82937249251362   CASEY         MOLLOY                   OH         66074402492
82937937397138   MISTY         LOVELADY                 OR         90004779373
82938719972432   BENJAMIN      VANCE                    PA         90013207199
82939687447822   CHRISTOPHER   GRAY                     GA         90011076874
82942375491837   CATALINA      GOWENS                   OK         90012493754
82943564991979   SERGIO        LUNA                     NC         90008275649
82944889872496   CYNTHIA       SCOTT                    PA         90008598898
82944987171977   NIYA          BOONE                    CO         90009419871
82947129285936   DEANNA        CAMPBELL                 KY         90014931292
82947791577537   FRACISCA      HERNANDEZ                NV         43027857915
82948417585936   JEMAINE       BURGESS                  KY         90012784175
82951459851362   ADELA         ESPANA                   OH         90012604598
82952257891837   MARY          REED                     OK         90014582578
82953192447822   JAMIESHA      DAVIS                    GA         90014751924
82953437747897   TAURUS        STEPHENS                 GA         14083584377
82953842281677   BRIDGETTE     ATKINSON                 MO         90005888422
82954329891979   SHERRY        ALSTON                   NC         90003433298
82954995961928   JEFF          MCNICHOLL                CA         90009609959
82955872291558   MEGAN         MARSH-OSLUND             NM         75016568722
82955949891975   EDNA          DUNKLEY                  NC         90008549498
82956996261928   DARSELL       CALDWELL                 CA         90012439962
82957591391975   JESSICA       FUENTES                  NC         90014905913
82958132771977   RON           VALDEZ                   CO         38042051327
82958183391242   DUKE          MITCHELL                 GA         90010881833
82958595885856   ANGELICA      MARTINEZ                 CA         46015415958
82959149891525   LESLIE        VEGA                     TX         90000371498
82959274497138   ED            COVINGTON                OR         44069562744
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82959323451362   JACOB           SIKES                  OH         66005393234
82961278733698   RADOVAN         BANOVIC                NC         12083412787
82961617385936   TOI             DEAN                   KY         90014626173
82962673597138   PEDRO           CONTRERAS              OR         90002316735
82963336697138   FIDEL           GINEZ                  OR         90013923366
82965882172432   THOMAS          MURRAY                 PA         90013218821
82967338297138   MARICELA        CEJA                   OR         44072143382
82967556391979   PEDRO           MENDEZ                 NC         17011635563
82967648325164   DEVON           RICHARDSON             AL         90009306483
82968251791979   MYESHIA         LAWSON                 NC         90002662517
82968622461928   ALEJANDRINA     BARAJAS                CA         90014736224
82969923771977   JEREMY          MARTINEZ               CO         38000859237
82971479285856   AI              BANE                   CA         46012494792
82971814491837   AMANDA          ANDREWS                OK         90008158144
82971857441262   CAROL           MAVILLA                PA         90014848574
82972114181627   ELENA           HERNANDEZ              MO         29078861141
82972224571933   RACHEL          DICKERSON              CO         90006612245
82972765384325   SHERITA         SIMMONS                SC         90011907653
82972778597138   SONJA           LIBRANDE               OR         90012567785
82973942971977   RICKY           PACHECO                CO         38086019429
82974534697138   LINDA           BOGLE                  OR         44031545346
82974874351362   JESSE           CAMPBELL               OH         90014208743
82974958181677   LATASHA         BROWN                  MO         29081079581
82975667397138   COREY           THRONE                 OR         90012146673
82977879293771   ASHLEY          MANNING                OH         90013978792
82977881372432   MICHAEL         NEASON                 PA         51044228813
82978421372444   ANITA           REDA                   PA         90014284213
82978459161928   MARIA           MORALES                CA         46016014591
82982287477537   MARK            GOLLIHER               NV         43068512874
82983569741262   DIAMONTE        HAMLETT                PA         51069405697
82985882172432   THOMAS          MURRAY                 PA         90013218821
82985959291979   TREMAYNE        HAMPTON                NC         90010019592
82987519941275   ETHEL           PATRICK                PA         90010145199
82989891891975   EDDIE           WINSLOW                NC         90000108918
82991215284351   AJEENAH         SAFA                   SC         90013922152
82992241761928   JOSUE           GONZALEZ               CA         90013632417
82993492271977   DEE             TRUJILLO               CO         38050654922
82995176133698   RUDY            SPENCER                NC         12072931761
82995862172432   MICHAEL         HEALY                  PA         51044878621
82996259791975   TINISHA         DUNN                   NC         17077522597
82996494441262   TAMIKA          JOHNSON                PA         90002784944
82997575191837   KEISHIA         MANORE                 OK         21006235751
82998989181639   ROBERT          SCHWIN                 MO         29059959891
82999274891975   FRANCIS         MATTHIADIS             NC         17063952748
82999437441275   KIMBERLY        ADAMS                  PA         90004814374
82999564677537   OLIVIA          RUSSELL                NV         90013555646
83111268691558   LUZ             ANCHONDO               TX         75097882686
83111482261928   LUIS            ESPINOZA               CA         90014904822
83112392277537   OCTAVIO         ALEJANDRE              NV         43066353922
83113167385856   JO JO           RIGHT                  CA         46084871673
83113215461928   ELIZABETH       CECENA                 CA         46037542154
83113325155945   MICHAEL         ESTRADA                CA         90002973251
83115493171938   BILL            CARROLL                CO         32057344931
83116262571938   ANTHONY         QUINTANA               CO         90009472625
83116476261928   SALVADOR        MULLALY                CA         90007874762
83116551277537   HENRI GOUGLAS   ROSALES-GARCIA         NV         90015175512
83116931141275   AMBER           MASSEY                 PA         51008529311
83117275597138   FAWN            ABERSON                OR         44066862755
83119472893771   LINDSY          ROBERTS                OH         90002764728
83121927551341   TOMEKA          JOHNES                 OH         90009219275
83122132991979   NAUTICA         DEVINE                 NC         90014811329
83122861171938   VANESA          ALVARADO               CO         90015208611
83122944872432   BRITTNEY        PETERSON               PA         90014499448
83123155951362   NATHAN          ALSIP                  OH         90014161559
83123467597138   CHELSIE         GARCIA                 OR         90015124675
83124275385856   WILLIAM         MUCK                   CA         46062882753
83127395861928   JEMESHA         PHILLIPS               CA         90013923958
83131126672432   STACEY          BOOKER                 PA         51079191266
83131763571977   LACHELLE        ARMENTA                CO         90014457635
83132168997138   DIANNA          ROLLINS                OR         90011581689
83133689147822   ELDORA          JACKSON                GA         90003586891
83134295547897   INDIA           LESHOURE               GA         90012112955
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83134954291975   LAQUAISHA    LAWSON                    NC         90010949542
83135587741275   MATTHEW      MILTON                    PA         90011065877
83135973185936   BAZDEZAR     VAZQUEZ                   KY         67095759731
83137783447897   NATASHA      HOLDEN                    GA         90013937834
83138697497138   CRISPIN      CUATRA CUAHUA             OR         90012736974
83138951171977   J            ROY                       CO         38046209511
83141357341275   MICHAEL      TOTTERDALE                PA         51044213573
83141855833698   MUSA         OSMAN                     NC         90011998558
83141868772432   BOBBI JO     TURNER                    PA         90012688687
83142341161934   SAM          DEABENDERFER              CA         90011403411
83142755347897   BELINDA      FARMS                     GA         90013937553
83143228151336   MICHELLE     COOPER                    OH         66093072281
83143536271938   SCOTT        THOMPSON                  CO         90002665362
83143632933471   PARKER       CRUZ                      AL         90015416329
83143735191975   CHARITY      CHEGE                     NC         17042227351
83144562672432   MELISSA      YOUNG                     PA         90011855626
83144962171938   DONNA        WAGNER                    CO         32059899621
83145355991837   APRIL        CULBERTSON                OK         21025293559
83145598893127   PAYGO        IVR ACTIVATION            TN         90014185988
83145733651336   TORDASHA     WYNN                      OH         90011447336
83145844761928   MELISSA      DIMAYUGA                  CA         90010448447
83145994472432   WILLIAM      KUPSTAS                   PA         90014679944
83146317655945   FATIMAH      ALLEN                     CA         49012763176
83146895447822   LASHONDA     WEST                      GA         90014098954
83147342141262   DONALD J.    KELLER                    PA         90013923421
83148288751334   CAROLYN      TUCKER                    OH         90008872887
83148345341262   SHELBY       ROST                      PA         90010433453
83148496891979   CHRISTA      MICHEAL                   NC         17043114968
83148755347897   BELINDA      FARMS                     GA         90013937553
83149998551341   THREASA      ALSIP                     OH         90008149985
83151142541262   MATTHEW      PRUSS                     PA         51039151425
83151264851362   CODY         BOWER                     OH         90013082648
83151353993127   CAROLYN      SMITH                     KY         90005323539
83151494172432   TAMMY        KLAUS                     PA         90002454941
83152142355945   BRITTANY     SIMPSON                   CA         90013271423
83152827891837   MARTIE       PETTY                     OK         90008808278
83152842872432   CHARLES      PARKS                     PA         90012568428
83153625155945   MICHELLE     STRAND                    CA         49079956251
83153999641275   TIMOTHY      MARTIN                    PA         90015099996
83154146571938   SHEENA       DEBLASIO                  CO         90012071465
83155767197138   MARK         WEATHERS                  OR         44031247671
83155944261928   TIMOTHY      BROOKS                    CA         46067699442
83156572772432   SHIRLEY      VASKO                     PA         51083435727
83156973693771   MIKE         JONES                     OH         90003429736
83157347491934   MARCUS       WOODS                     NC         90012333474
83157365791975   YRACY        MCGUIRE                   NC         90011423657
83157624747897   YOLANDA      PRICE                     GA         14022236247
83158259551362   TAMMY        ISOME                     OH         90011642595
83158325761928   RIGOBERTO    COBA                      CA         90011963257
83158572591837   ANTHONEY     CAREY                     OK         90014495725
83159231791979   SYDNEY       CHANDLER                  NC         90013962317
83159325351362   JAYSON       GRABP                     OH         90012873253
83159819651362   VENESSA      MITTLER                   OH         90014848196
83161585191979   WAMUNGANI    MUNGANI                   NC         90013945851
83164772991975   LAURA        OLIVARES                  NC         90012797729
83165819391863   MELISSA      CASEY                     OK         90014278193
83166287861928   LETICA       QUIROZ                    CA         46036982878
83166964991979   ANGELA       SANTOS                    NC         90010499649
83167415441262   BRINNANY     HILLINGER                 PA         90001404154
83167521541275   MANUEL       ENRIQUEZ                  PA         90014855215
83167533885936   NSABIMANA    FRIEDA                    KY         67076065338
83167535861928   KARLA        RAMIREZ                   CA         90007135358
83168367161928   PAULA        PEREZ-SOTELO              CA         46006323671
83168479693771   LYNN         CATLIN                    OH         90013144796
83168759577537   SHELLIE      EREVIA                    NV         90009077595
83169543455945   DOUGLAS      DAILEY                    CA         49004915434
83169614951341   RUBY         YEAKLE                    OH         90015036149
83169723591837   DEREK        GONZALAZE                 OK         90014527235
83171847761928   SAMANTHA     RIVERA                    CA         90013598477
83171851261936   BRUCE        STEINER                   CA         46044698512
83172291297138   ANGEL        SOTO                      OR         90013932912
83172854793127   TASHA        CLARK                     TN         90008168547
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83173675191837   SHARNE       BOYD                      OK         90011746751
83173742471977   TOMIE        RUSSOM                    CO         90011747424
83175124961928   PAUL         MONROE                    CA         46043401249
83175547751362   RICKY        GOSS                      OH         66071685477
83177113893771   TRACY        GAINS                     OH         90008851138
83178115377537   MELISSA      AKANA                     NV         90004681153
83178493693771   JODY         WILLIAMS                  OH         64505994936
83181185585856   AGNES        SZAKACS                   CA         90013221855
83181533741275   DA'JUAN      WINDOM                    PA         51055365337
83182112271977   TYLER        DAVENPORT                 CO         90014971122
83182862171977   JUAN M       CASTILLO                  CO         90012708621
83183198785856   AGNES        KRATKY                    CA         90013221987
83183323171938   DELILAH      COLON                     CO         90011353231
83183915797138   JOSE         ISIORDIA                  OR         90015119157
83184579393771   ALIJIA       WHITNER                   OH         90013445793
83185536691837   EMMA         ROBLES                    OK         21040045366
83185717693771   DAVID        PARKER                    OH         64589337176
83185843471938   ELISA        BOSLEY                    CO         90002818434
83186692397138   LALO         CASTELLANOS               OR         90012986923
83186894991975   KARI         THOMPSON                  NC         90011048949
83187378547897   LASHUNNA     BURRAGE                   GA         90011093785
83187886241262   MARTIN       PEFFER                    PA         90011858862
83188586297138   BRANDY       BUNSEMEYER                OR         90010645862
83188732791979   TAUREAN      FAIRLEY                   NC         90010667327
83189145533698   DARIUS       HARPER                    NC         90013931455
83189941233668   EVELYN       VARGAS                    NC         90002069412
83189949371938   JOSE         JAQUEZ                    CO         32003029493
83191532891975   RAVEE        SELBY                     NC         17079115328
83192351891837   CARMEN       BALTIERRA                 OK         21042453518
83194144785856   ESTEBAN      LUCAS                     CA         90004531447
83194314747897   DONALD       WALKER                    GA         90012973147
83195894785856   FCS          FGJDGJKD                  CA         46072918947
83198434447897   LATAILA      HUTCHINGS                 GA         90011174344
83199348891242   ELNARDO      FERRON                    GA         90002123488
83212121147822   DEBRA        QUARTERMAN                GA         90009561211
83212742661928   FELIX        MENDEZ                    CA         90012317426
83213972151341   ROBERT       NEELY                     OH         66028149721
83214185331449   PRESCILLA    CUMMINS                   MO         90012861853
83214866347822   LATRICE      THOMAS                    GA         90006098663
83216496355945   YER          VUE                       CA         90009964963
83217175233698   EDUVIGES     ROMERO                    NC         12042101752
83217261551341   LESTER       WALKER                    OH         66062262615
83217546572432   MACK         MATTHEWS                  PA         90010125465
83217823141262   TIMOTHY      DRISCOLL                  PA         51066068231
83223366293771   BRITTANY     BOGAN                     OH         90015203662
83223557472432   SHAWN        COLEMAN                   PA         90011215574
83223574561928   JACQUIE      LEE                       CA         46045125745
83224465577537   BRENDA       GOMEZ-ESTRADA             NV         90012174655
83224586247897   LAQUANDRIA   SHELLY                    GA         90011095862
83227626347822   ANTHONY      WILLIAMS                  GA         90014166263
83229743133698   PLACIDO      RODRIGUEZ                 NC         90013457431
83229945377537   STEVEN       SALKELD                   NV         43007959453
83231325271938   NAJUA        BELL                      CO         90014713252
83231411941262   ROBERT       TORRES                    PA         90012644119
83231886561928   JERRY        AKREN                     CA         46066858865
83232216251362   DAVID        MIKLES                    OH         90014162162
83233367655945   MANUEL       JIMENEZ                   CA         90014383676
83234326491975   RONALD       TULLEY                    NC         90015553264
83234485847897   SANDY        ADAMS                     GA         90011304858
83234575991979   NAZAR        ALKURAIZI                 NC         90011535759
83234816593771   TAMARA       TONER                     OH         90007668165
83235784577537   MARIA        LOPEZ                     NV         90012837845
83236864591979   SHAKIERA     PRINCE                    NC         90014768645
83236881891979   SARAH        KEELEY                    NC         90015608818
83237223851325   LISA         DEVERS                    OH         66005392238
83237318972432   GERALD       COMEDY                    PA         90001503189
83237376133698   KERA         BELL                      NC         90013553761
83238435161928   LARISSA      WIMBERLY                  CA         46016634351
83239216251362   DAVID        MIKLES                    OH         90014162162
83239494571977   DIANA        TORRES                    CO         90011564945
83239816941275   GLENN        BARRIE                    PA         51013498169
83239933491975   JESSICA      SANDERS                   NC         90014589334
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83241795341262   SUSAN        RIEMENSCHNEIDER           PA         90012987953
83241922585856   BRYAN        LUNA                      CA         90013259225
83242314755945   FAUSTINO     JOSE LORENZO              CA         90015143147
83242933497138   AMANDA       FAZZIO                    OR         90011399334
83244184185856   RICHARD      KRAUS                     CA         46035281841
83245747393771   TONY         TAYLOR                    OH         90013817473
83246188933698   DOROTHY      STIMPSON                  NC         90012961889
83246396451341   RYAN         DALTON                    OH         90013313964
83247422397138   ROMELIA      RAMON                     OR         90012714223
83247813291979   STEPHANIE    AIKENS                    NC         17086998132
83249261991979   JOCE         SANTOS                    NC         90012062619
83249547651362   ROMMIKO      EDWIN                     OH         90014805476
83249656247897   SCOTT        CROWE                     GA         90015226562
83249697277537   SANTOS       ORTIZ                     NV         90010376972
83251731997138   MARIA        GONZALEZ                  OR         90012767319
83251831547822   KIERRA       JONES                     GA         90014168315
83254117171977   SHANNON      AVILA                     CO         38058441171
83254755855945   RHONDA       WOODS                     CA         90014727558
83255782947897   STACIE       DUMAS                     GA         90002937829
83256311497138   DAVID        FORD                      OR         90015083114
83256922891979   MICHAEL      SMITH                     NC         90002789228
83257195361928   CELIA        HIDALGO                   CA         46044441953
83258147151325   MARISOL      AGOSTO                    OH         90008641471
83258533691975   DAISY        AVALOZ                    NC         90007165336
83258992277537   MICHELE      PENROSE                   NV         43019239922
83259131261928   JOSE         ESPINOZA                  CA         46017831312
83259594741262   BARRY        STARCHER                  PA         90014405947
83259966191837   MOISES       MENDOZA                   OK         21059309661
83261276397138   YOOKYUNG     UM                        OR         90014842763
83261687785856   DAVID        JIMENEZ                   CA         46051906877
83262722151362   RODNEY       SLONE                     OH         66073577221
83266325877537   CONNIE       PARTICK                   NV         90010723258
83267141571977   ALISIA       ADAME                     CO         90010911415
83267678171938   JOSEPH       THOMAS                    CO         90013036781
83268478291975   CASSIE       NOBLE                     NC         17055064782
83269337597138   JACKIE       BRISTER                   OR         90014303375
83269446871977   MANUEL       AMARO                     CO         90013104468
83271559277537   MD ABDUL     MATIN                     NV         90014495592
83272258791975   TESFAY       TESFAMEHRET               NC         90009182587
83272441772432   JOSHUA       WISE                      PA         90013494417
83273598997138   SARA         WILLIAMS                  OR         90013375989
83274529433698   CORLEENER    COMER                     NC         90009515294
83274781472432   ROBERT       JONES JR                  PA         51004627814
83275245291979   NELSON       CABRERA                   NC         90014092452
83275758241229   LEONARD      BELTON                    PA         51022287582
83276166985856   RUBY         MITCHELL                  CA         90001641669
83278582497138   ESTHELA      CAZARES                   OR         90012945824
83279833451362   SASHA        ESTEP                     OH         90007678334
83279989691242   EMMA         GRAHAM                    GA         14592839896
83282246855945   VANG         YENG                      CA         49013012468
83282531747897   KRISTINA     LELLIOTT                  GA         90012605317
83283915797138   JOSE         ISIORDIA                  OR         90015119157
83283928951362   JERY         SALLER                    OH         90014979289
83284312551531   HEIDY        MURILLO                   IA         90014233125
83284448171938   FELISIA      BROWN                     CO         32026834481
83284625751341   QUICO        SANTOS                    OH         90013146257
83285167441275   TANYA        HENRY                     PA         90000101674
83285798372432   ALEXANDRA    SCHULTZ                   PA         90005247983
83286871791979   MICHAEL      MCDONALD                  NC         90010508717
83287572251337   TEMESGEN     AURE                      OH         90000685722
83287572471938   MARIA        BOYD                      CO         90003975724
83287818371977   BRANDIE      MARTINEZ                  CO         38091328183
83288317141275   JAMARR       MARTIN                    PA         90014863171
83288357377537   JENNIFER     RICKETTS                  NV         43017773573
83288528655947   SARA         NAVARRO                   CA         90008695286
83288641355945   AIOTEST1     DONOTTOUCH                CA         90015116413
83289745651341   DEVINA       SCHUBERT                  OH         66030517456
83289769651362   MONA         OLDEN                     OH         90013137696
83291751791837   ELIZABETH    LOPEZ                     OK         90014497517
83293519733698   ELIZABETH    MORALES                   NC         90013555197
83294185585856   AGNES        SZAKACS                   CA         90013221855
83295753691837   RICARDO      FLORES                    OK         90014497536
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83296252285649   JOHN              COLVIN               NJ         90003682522
83297329651333   MIKE              JHONSON              OH         90012313296
83298758591837   SARMAD            AL SHAMMAT           OK         90014497585
83311188791988   PUSCHA            WILLIAMS             NC         90011241887
83311253941262   SHEILA            TAYLOR               PA         90001612539
83311674491979   MARGARITA         ROSENDO              NC         17002646744
83311759147897   ANGELECK          BROWN                GA         14016097591
83312458377537   RODRIGO           LECHUGA              NV         43057984583
83313194677367   ANTHONY           SANCHEZ              IL         90000781946
83313556977537   ALBERTO           CORDOVA              NV         90002745569
83315123947822   TIMOTHY           KYSER                GA         90014181239
83318759391837   JAMES             MILES                OK         90014597593
83319578897138   JOSE              SALAZAR              OR         90005195788
83321444971938   STEVEN            SPITZ                CO         90013764449
83321994377537   MANUEL            GUZMAN               NV         90001469943
83322781391837   JAMES             HARBOUR              OK         90014497813
83323717171938   JOSEPH            BRITO                CO         32098367171
83325283955945   MARY              DURAN                CA         90009072839
83325339347822   SHASHEEN          WALKER               GA         14058393393
83325438733698   HEATHER           STEPHENS             NC         90013934387
83328951771938   JOHN              WALSER               CO         90005089517
83329724391837   JANET             SPENCER              OK         90014527243
83331765672432   DARCIE            WORK                 PA         51026427656
83332244291837   TOI               GARDNER              OK         90004282442
83333653671977   CONNIE            ARMENTA              CO         90007406536
83336557985856   STACIE LYNNANNE   CRUZ                 CA         90003245579
83336999891979   ELLERBEE          LATONYA              NC         17086819998
83338219591975   SHAQUIA VALISA    GLOVER               NC         90013602195
83338288831271   VANESSA           MOORE                IL         90014762888
83338993977537   DOLORES           ELIGIO-DEK           NV         43057119939
83339119871977   CARA              ASHTON               CO         90013401198
83339346397138   MELISSA           BOREN                OR         90007503463
83341663651362   DANIEL            YANKEY               OH         90011796636
83342497172496   PATRICIA          LACHOPPA             PA         51054654971
83342544971938   MARIA             SCUDDER              CO         90010245449
83344636233471   PARKER            CRUZ                 AL         90015416362
83345148597138   SALVADOR          GARIBAY              OR         90013071485
83346679441275   SHARON            SENG                 PA         90013266794
83347596985856   WILEY             JONES                CA         46057405969
83347879371938   DION              ROMERO               CO         32027348793
83349521191961   BRIAN             LOW                  NC         90014865211
83351471255945   JENNIFER          LINN                 CA         90006384712
83352639947897   RODNEY            LESTER               GA         90009956399
83352962847822   NATASHA           MILLER               GA         90010759628
83353177272432   ASHLEY            WADSWORTH            PA         90014711772
83354416655945   DEREK             HAYDON               CA         90013624166
83354944241262   MICHAEL           CREESE               PA         90004279442
83355151172496   JOSEPH            GRUZINSKI            PA         90014001511
83355372891979   SHAWNA            EVANS                NC         90010513728
83355879485856   MIGUEL            SERAFIN              CA         90010748794
83355954877537   JOSEPH            HUDDLESTON           NV         90012829548
83356438591979   GUSTAVO           MENDOZA              NC         90012804385
83356557651362   ROBERT            CLAYTON              OH         90012615576
83357427791975   MARY              MILES                NC         17091674277
83357683172432   STAZSIK           ANTHONY              PA         51027956831
83357953893771   MARCELL           WOODS                OH         90012069538
83359373377537   PAUL              COOMER               NV         90013063733
83361182261928   AMANDA            CHILDS               CA         90013741822
83361299371977   ADAM              ROMAN                CO         38074682993
83361726991979   TONYA             SNEED                NC         90014927269
83362385951362   MARILYN           HOWARD               OH         90014463859
83363295771977   AUDREY            HUTTON               CO         90009392957
83363651971938   JUAN              ANTONIO              CO         90014126519
83364687571938   LINDA             MONTOYA              CO         90005836875
83365381477537   FAHAD             RAZZAQ               NV         90010903814
83366364861928   TAYLOR            COLLINS              CA         90012533648
83367391541275   JASMINE           MENEFEE              PA         90011773915
83367431971977   ALFONSO           PEREZ                CO         90005284319
83367586747822   NABIL             AL-TOUSY             GA         90014185867
83368133633698   CONNIE            TORRES               NC         90012441336
83368912955945   DUAPRESHIA        JACKSON              CA         90015309129
83368971491975   TRAMAYNE          WILCOX               NC         90014589714
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83369288733698   JONAH              GENT                NC         90011422887
83369416661922   TOMMY              RANDLE              CA         46050124166
83369635497138   NICOLE             BUCKMAN             OR         44015976354
83369725447897   CHAKEVA            HARRIS              GA         90012517254
83372524647897   BRENDA             COLLINS             GA         90007605246
83373587861928   JOSE               ARELLANO            CA         90009875878
83373879777537   SHERRIE            SCARBRO-            NV         90000678797
83373883672432   BRADLEY            BENSON              PA         51088028836
83373935751362   AMY                GERWE               OH         90009819357
83374527971977   SENAIDA            PEREZ               CO         90014075279
83374684441275   LUIS               PICADO              PA         90012096844
83376234291975   LISA               SAROTTE             NC         90007972342
83376245791837   SAVANTE            PICKENS             OK         90011752457
83377185293771   JASON              NEWSOME             OH         90014621852
83377758755945   SANDRA             ROMERO              CA         90003277587
83378586691979   ALEJANDRO          BUSTAMANTE          NC         90004035866
83379846981689   LASHONDA           MCCULLEY            MO         90006508469
83379858547897   JALISA             GREEN               GA         90012198585
83381326371977   SHAWNA             VALLEJOS            CO         90012173263
83381469397138   MELISSA            OLFERT              OR         90006104693
83382141633698   DONNA              TISDALE             NC         90011491416
83382882685856   MARIA DEL CARMEN   WHITE               CA         90013298826
83383915441241   WILLIAM            SARVER              PA         51053749154
83385781491837   JANNIFER           ROBINSON            OK         90014527814
83386886191979   ANGIER             HARRIS              NC         90014798861
83387464957131   JOSE               AYALA               VA         90007854649
83387775397138   JOSE               MANZO               OR         90011027753
83387778151362   CLARINDA           PENN                OH         66050707781
83388872272432   DAWN               MCELHANEY           PA         51003728722
83389246233698   ROBIN              MOORE               NC         90009622462
83391411171977   PAUL               ODELL               CO         90010674111
83391897991979   CALEBE             BUNA                NC         17087928979
83392275184336   LUIS               RODRIGUEZ           SC         90011472751
83393471151341   VANESSA            KANE                OH         90012054711
83393625691975   MITZI              COLSON              NC         17049946256
83394131951341   INESHA             GAINES              KY         90014711319
83394488955945   ARTEMIO            SALAZAR             CA         49076904889
83395515471938   SCOTT              ZINOLLI             CO         32047145154
83396438141275   RAJEN              KHANAL              PA         90011774381
83396899471938   KEVIN              HUMPHREY            CO         90012158994
83397748851341   BRADLEY            PUCKETT             OH         90007927488
83398443793771   SIXTO              ORTEGA              OH         64570584437
83411221151341   MICHAEL            FEARS               OH         66047652211
83411398261928   NALANI ROSE        SCITAR              CA         90013923982
83411771533698   LARRY              WRIGHT              NC         90013907715
83412411671977   ANITA              AGUSTIN             CO         90009594116
83412591481643   RAYDEL             ACOSTA-LOPEZ        MO         90012705914
83412744772432   CHARLES            ELLIS               PA         51057467447
83414267833698   DEVIN              MILES               NC         90013962678
83414773297138   ELIZABETH          FENTON              OR         44055057732
83414966851362   JUDITH             ALBERS              OH         66069859668
83415916761928   TOMAS              ALCANTAR            CA         46071679167
83416885151341   EVELYN             ROBINSON            OH         66016358851
83417886355945   CYNTHIA            MONTES              CA         90014778863
83421626972496   JOSEPH             AGUGLIA             PA         90004266269
83422559841262   ZUKOWSKI           SANDRA              PA         51052765598
83423335441262   BEATRICE           WOODING             PA         51020693354
83423637791979   RASHAWA            JORDAN              NC         17016756377
83423639185856   HILARIO            MATIAS              CA         90010236391
83423723551341   IRMA               MEJIA               OH         90002587235
83424315441262   CRYSTAL            DUNMEYER            PA         90013653154
83424629497138   DAN                HOGELAND            OR         90003736294
83425769547822   TAMARA             CHAPPELL            GA         90004207695
83426422197199   EVELIA             ALFONSO-HERNANDEZ   OR         90000434221
83427626972496   JOSEPH             AGUGLIA             PA         90004266269
83427999472432   TRACY              LAWRENCE            PA         51067679994
83428458191979   AKIN T             SEZENOL             NC         90010854581
83429372172432   KAITLYN            SASSO               PA         90011143721
83429834651362   MONIQUE            GILLIAM             OH         66012788346
83432853491837   ROSA               BEJARANO            OK         90011888534
83433358891975   SILVESTRE          SALINAS             NC         90014893588
83433874193127   AMI                SMITH               TN         90014628741
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83435711151362   STEVENS        CATHERINE               OH         66095947111
83436299672432   KELLY          HAMILTON                PA         51019072996
83437191251362   MELISSA        HANKINS                 OH         90011611912
83437412777537   BRANDI         WOFFORD                 NV         90008854127
83437469747897   NESRIN         ALI                     GA         90015334697
83437483241275   AALIYH         BELL                    PA         90013544832
83437493747897   WANDA          SHEDRICK                GA         90013944937
83437597133698   LATORIA        COUSINS                 NC         90013935971
83438374961928   MARIO          GOMEZ                   CA         90012043749
83442566672432   AMANDA         JOHNSON                 PA         90012765666
83442699151362   EDUARDO        MARRQUIN                OH         90008966991
83442744493771   ROBIN          HARVEY                  OH         64546397444
83442759797138   ANNA           SMITH                   OR         90014527597
83443273671977   GABRIELLE      TRUJILLO                CO         90014372736
83443733241262   FRANCIS        WALYICK                 PA         90006717332
83444352691837   STEFAN         BENALLY                 OK         90014573526
83444636333698   JEWEL          SANDERS                 NC         90013216363
83444763791975   PAUL           LYNCH                   NC         17086327637
83444894677537   FRANCES        BENSINGER               NV         90010738946
83445183551341   ANGELA         CHARLESTON              OH         90012551835
83447655951341   CAREY          COMBS                   OH         90009656559
83448541391979   LEWIS          HILLARD                 NC         90012525413
83451575277537   JUAN           COLLAZO-LOPEZ           NV         90013205752
83451838533698   TYMESHIA       CAMPBELL                NC         90014738385
83452334941262   JAMES          NAGY                    PA         51093423349
83452723891837   JESSICA        FOLDS                   OK         21098887238
83452731155945   RALPH          TOPALIAN                CA         90012817311
83454314977537   ELIZABETH      DURLER                  NV         43091313149
83454611491975   CHANTE         SMITH                   NC         17046046114
83454853371938   DARRYL         DANIEL                  CO         90008758533
83457223191979   ROGER          MONGOY                  NC         90014462231
83457254147897   DORTHEA        DENNARD                 GA         90009682541
83457883341275   AMANDA         PESCHIRER               PA         51059398833
83458194961928   STEPHEN        SHEVLIN                 CA         90014641949
83461529341275   JOSHUA         HATHAWAY                PA         90011775293
83461928791558   JUAN           ALARCON                 TX         90001809287
83464232741262   BERMADETTE     COLLINS                 PA         90011042327
83464772255945   RENEE          LOPEZ                   CA         90000147722
83465199747822   MICHEAL        BEASLEY                 GA         90014201997
83466349771938   SABRINA        ADAMS                   CO         90003363497
83468121551598   NUGUSSI        LIGA                    IA         90013791215
83468516572432   MEGAN          GARDNER                 PA         51064675165
83469529691979   FEDERICO       LANDEROS                NC         90015105296
83472195672432   KAREN          CUBBAGE                 PA         90014311956
83472511491975   ROBERT         DOCTOR                  NC         90000215114
83472954651334   DARYL          METZGER                 OH         66074139546
83473416891265   SHARON         PETREA                  GA         90014714168
83475145133698   ITZEL          JOACHIN-GARCIA          NC         90011151451
83475621641275   DIAMOND        MOORE                   PA         90015356216
83476135155945   MARTIE         ARELLANO                CA         90010701351
83478265451362   CORY           PHILLIPS                OH         66088352654
83478556161928   MAXIMILIAN V   HUPERTZ                 CA         90012695561
83479179561928   KEELO          JAMES                   CA         90011521795
83479878233698   STEVEN         KIRSH                   NC         12082658782
83482227547897   JESSICA        CLARK                   GA         90014142275
83482873733698   CAROLYN        KEARNEY                 NC         90013168737
83486877455945   LULA           THUES                   CA         90012948774
83487458693771   PATRICIA       SHIELD                  OH         90014724586
83487675751341   JOHN           MIHAILOFF               OH         90014896757
83489196391979   SEAMUOS        PADRIAG                 NC         90010521963
83489735893771   EDWARDO        GALVIAN                 OH         64592807358
83489862151362   JORDAN         ANDERSON                OH         66098488621
83492575991979   NAZAR          ALKURAIZI               NC         90011535759
83493429455945   DANIELLE       THORNBURG               CA         90005274294
83494762393771   LAURA          WILLIAMS                OH         90001667623
83497857161928   BENYAMEEN      BENYAMEEN               CA         90013758571
83499388377365   ESISHAKIA      ABDELRAHIM              IL         20507913883
83499759971938   RENATE         JOHNSON                 CO         32053077599
83511667197138   RODRIGO        ORTIZ                   OR         90009526671
83511913785868   CHARLES        DERR                    CA         90000949137
83512884241275   KIM            SPENCER                 PA         51028018842
83518334441275   KAYLA          ORLIC                   PA         90013543344
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83518685551362   RICHARD      KENNARD                   OH         66072146855
83519216393771   LA KEISHA    SHEETS                    OH         90001512163
83521726961928   MAYRA        AGUERO                    CA         90011157269
83521977891975   SARALENA     GRESHAM                   NC         90010099778
83522574371938   STEVEN       YODER                     CO         32008825743
83522722847897   JASON        REESE                     GA         90011197228
83523114971977   JOSE         NARANJO                   CO         38035971149
83523296272451   WANDA        FLOWERS                   PA         90003662962
83523597291837   KRISTIN      HIGNITE                   OK         90011755972
83523699255945   ESPERANZA    SOLANO                    CA         90012206992
83524471877537   LUIGI        PARSI                     NV         90008634718
83524828247822   JERRY        BILLUE                    GA         90010898282
83525175547822   RACHANNA     EVANS                     GA         90012141755
83526971947822   TANGEE       SHINHOLSTER               GA         90014999719
83527236751341   JOHN         WHITE                     OH         90013182367
83527319733698   STARR        STALLINGS                 NC         90006023197
83527362577533   MELISSA      RUSSELL                   NV         90012673625
83527735591975   AMANDA       SHANNON                   NC         90014867355
83529441233698   STEPHANIE    THOMAS                    NC         90005374412
83529651471977   GABE         GALLEGOS                  CO         90003176514
83531149947822   WILLIAM      SMITH                     GA         14095191499
83531436893723   NAKIA        RAKESTRAW                 OH         64587594368
83532161141262   CHARLES      WISE JR.                  PA         51034751611
83532272472432   THOMESINA    SONSON                    PA         90013932724
83533517291975   JULIE        TAYLOR                    NC         90012095172
83533589241262   PAUL         JACKSON                   PA         90013155892
83533745591393   CINDY        MORRAN                    KS         90011927455
83534555791975   ALDO         GONZALEZ                  NC         90010235557
83534634851341   DALE         THOMAS                    OH         66064316348
83535595977537   JOSE         RIVERA                    NV         90014075959
83536278677537   DAVID        SMITH                     NV         43085212786
83536672591975   VEENA        GULATI                    NC         90011516725
83536869541275   GINA         HIMEL                     PA         51040678695
83537289377537   PABLO        SANCHEZ                   NV         90014172893
83538361993771   RONNESHA     JONES                     OH         90011083619
83538419955945   ASHLEY       GONZALEZ                  CA         90014954199
83538459241275   ERIC         SMITH                     PA         90015254592
83539145541262   LEILANI      MITCHELL                  PA         51070861455
83539584777537   PABLO        GARZA                     NV         90011425847
83541129941262   WANDALYN     MIDDLEBROOK               PA         90011121299
83541286141262   DENNIS       CARINI                    PA         90007562861
83541339291979   DONALD       BURNETT                   NC         17073153392
83543386677537   ROSVELT      WILSON                    NV         90012523866
83543531651362   LISA         DETHERAGE                 OH         66070885316
83544397891979   MARIBEL      RAMIREZ                   NC         90013333978
83544451897138   CRISTINA     SOLORIO                   OR         90010154518
83544567341275   TAMIE        MYERS                     PA         90006195673
83547266897138   JASON        HOGAN                     OR         90009132668
83547477985856   MARGARET     CALHOUN                   CA         46035854779
83548586551341   ALEXANDER    DISTEF                    OH         90015495865
83549417961928   STEVEN       ARNQUIST                  CA         90010324179
83551214991837   PRESTON      TATRO                     OK         90010492149
83551443772432   CHAD         POLITAN                   PA         90011874437
83551446791979   VELMA        MACK                      NC         17080014467
83551517291975   JULIE        TAYLOR                    NC         90012095172
83552161871938   KEITH        ROBERSON                  CO         32094421618
83555462372432   OLANIYAN     SAMBA                     PA         90013934623
83556433885856   ADONIS       JOSE                      CA         46096764338
83558289747822   MARQUEZ      TUKES                     GA         90014452897
83558584755945   MIGUEL       ESCOBEDO                  CA         90002155847
83559182533698   CASSANDRA    HILL                      NC         12014781825
83559392691979   JASON        PRETTY                    NC         90012833926
83559824133698   CASSANDRA    HILL                      NC         90015168241
83562429455945   DANIELLE     THORNBURG                 CA         90005274294
83562466147897   LATHASA      GREENE                    GA         90011114661
83565144397138   LEAH         BLUM                      OR         90011451443
83565161871938   NATALIE      MORENO                    CO         32047261618
83566182777537   YASMEEN      PUGH                      NV         90010331827
83566551191837   DAVID        TEMPLETON                 OK         90014575511
83568392351362   NATHAN       LAY                       OH         66082843923
83568468791837   STEVEN       CULVER                    OK         90014724687
83568754397138   OBDULIA      CORNEJO                   OR         44040457543
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83569946671933   TAMI         NEWBY                     CO         32095039466
83572167147897   WILLIE       REEVES                    GA         14012441671
83574367121633   SHANDALYN    WOODS                     OH         90013833671
83575839471977   CHRISTINA    SMITH                     CO         90015218394
83575978897138   BENTTI       NED                       OR         90008009788
83576177561928   CECILIA      IBARRA                    CA         90010141775
83576518451362   KENESHA      KENNY                     OH         66038825184
83577727355945   ELOY         MORALES                   CA         90013797273
83577771497138   SHANNON      SMITH                     OR         90005247714
83577984847897   ANTOINE      WATLINGTON                GA         90012979848
83578897772432   TRACEY       WARD                      PA         90011288977
83579154491558   MARTHA       RAMIREZ                   TX         75025901544
83579921441262   LAVEE        SLOAN                     PA         90007099214
83581138771938   ANDREY       WILLIAMS                  CO         90013591387
83581446491947   VILMA        DAVIS                     NC         90013224464
83581642672496   JAMES        JACKSON                   PA         51075766426
83581661493771   ROBIN        LAMB                      OH         90013186614
83582232155945   LEONARDO     GUTIERREZ                 CA         90014812321
83582926733698   ASHAIYA      MOODY                     NC         90013939267
83583556977537   ALBERTO      CORDOVA                   NV         90002745569
83584325997138   GRACE        PORRAS                    OR         44035323259
83584934233698   ANAYELI      ROJAS                     NC         90013939342
83585522333698   DONNA        SCALES                    NC         90014195223
83586243755945   RONDA        GRAY                      CA         90010862437
83586414997138   PETER        HAVGETT                   OR         90014924149
83587379672432   JENNA        WORRY                     PA         90014933796
83588638171933   SHANON       BRIZAL                    CO         32063586381
83588799171977   ILDE         DIAZ                      CO         38047527991
83589482391355   SERGIO       VAZQUEZ                   MO         90007454823
83589532693766   AMY          WALLACE                   OH         90008575326
83589941941275   REGINALD     FRANKLIN                  PA         90013869419
83591698871977   FRANCISCO    LOPEZ                     CO         38086406988
83592612555945   FRANCISCO    LOPEZ                     CA         49083506125
83592922197138   MELODY       TISON                     OR         44056109221
83593189951577   TIECHBOR     RIK                       IA         90013931899
83593331871938   LAQUAN       MICKENS                   CO         90007573318
83594678133698   JEFFREY      BEAL                      NC         90013066781
83594843177537   JUAN         MEJIA                     NV         43023298431
83595155985856   SUSAN        LANCE                     CA         46070901559
83596286991975   EBONNE       MARSHALL                  NC         90003482869
83596582451362   MELISSA      HAYS                      OH         66083665824
83597141447822   JOSE LUIS    GOMEZ                     GA         90014211414
83597635441262   FIONNA       BARNES                    PA         90013156354
83598696171938   NATHAN       BRESCI                    CO         90004036961
83599592177537   SARENA       WEBSTER                   NV         43097345921
83611772841275   DEBBIE       LAVRICK                   PA         90005227728
83612862551362   MOLLY        ANGEL                     OH         90010088625
83613373197138   SHELDON      WILSON                    OR         90014603731
83614161691837   BARVELL      PATRICK                   OK         90014851616
83614224141262   WILLIAM      REBEL                     PA         51023102241
83616177272432   ASHLEY       WADSWORTH                 PA         90014711772
83617149271977   CRYSTAL      GONZALES                  CO         90013871492
83618683541262   DANIEL       VOITH                     PA         90013156835
83618738141275   BONNIE       SPADARP                   PA         51011947381
83619447672432   SAMUEL       JURKOVICH                 PA         90013114476
83621322755945   OLIVER       ULLOA                     CA         90014563227
83621482651362   WILLIAM      YATES                     OH         90014164826
83621739191837   MIA          LAO                       OK         90014577391
83622347861928   ROSHANDA     PRICE                     CA         90012993478
83622514241262   SYLVIA       COFFEY-BREWER             PA         51076535142
83622711371977   SEBASTIAN    ERNESTO SENA              CO         38016817113
83624387885936   CLARICE      LANG                      KY         90005373878
83624656547897   TRACEY       THARPE                    GA         14095676565
83624719971938   STEPHANIE    HARRIS                    CO         90010047199
83625493251362   OLGA         PALAFOX                   OH         90014164932
83626122291837   TAMIRRA      JEFFERSON                 OK         90011761222
83626196471938   JORGE        LUNA TRUJILLO             CO         90015181964
83626233641275   TIERRA       HALFKENNY                 PA         51055982336
83627133141262   JASON        GARASICH                  PA         51027581331
83628757897138   GONDINEZ     DANIEL                    OR         90003277578
83629168697138   ALEJANDRO    ORTIZ                     OR         44046321686
83629681451362   STEPHANIE    FLARIDA                   OH         66077006814
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83632361347822   KESHIA       LESTER                    GA         90014213613
83632751191979   IVAN         HERNANDEZ                 NC         90015617511
83634652551363   MELISSA      LANE                      OH         66012866525
83635752885936   JAMES        BEACH-ASHBY               KY         90002507528
83636326491975   EDITH        LUVUMINA                  NC         90003853264
83636571993771   CINDY        SPIVEY                    OH         64592525719
83636915797138   JOSE         ISIORDIA                  OR         90015119157
83637925571977   KODY         VANMATRE                  CO         90012329255
83638229572496   ADAM         HILLIARD                  PA         90004542295
83638285997138   CATHLYN      THIESSEN                  OR         90013882859
83638871951362   JACK         THOMPSON                  OH         66093518719
83639968977537   LETICIA      JIMENEZ                   NV         90013259689
83641667791975   TYRONE       PRESTON                   NC         90015616677
83643169691837   SERGIO       RAMOS                     OK         90011761696
83645668991975   SONYA        LONGMIRE                  NC         90003166689
83645869285936   BEVERLY      KEESECKER                 KY         90005938692
83645931755945   DYNEEKA      MULLIN                    CA         90011019317
83647265591975   MATTHEW      SUMMERVILL                NC         90014602655
83648196785856   SEBASTIAN    SILVESTRE                 CA         90001021967
83648573485936   MARK         JOHNSON                   KY         90001965734
83649158371977   RICKY        LOPEZ                     CO         90012411583
83649646861977   SYDNE        REA                       CA         90014726468
83651192651333   TAMEKA       DOZIER                    OH         66003261926
83651797291837   JOSHUA       RUSSEL                    OK         90014577972
83652263951341   CHARITY      JONES                     OH         90014042639
83652964393771   ASHLEY       ISBEL                     OH         64537419643
83653832297138   MILLIE       YOUNG                     OR         90014948322
83653894777537   THOMAS       DANCER                    NV         43006308947
83654342372432   LISA         MORGAN                    PA         51080473423
83655722431435   BARRY        SMITH                     MO         90011527224
83656335561928   DELAWRANCE   WILLIAMS                  CA         90012543355
83657119833698   PEGGYE       BAKER                     NC         90001511198
83657734771938   MARIA        NORIEGA                   CO         90011497347
83657757391979   KENDAL       HINTON                    NC         90014857573
83658894393771   SHERI        WILLIS                    OH         64534208943
83661518971938   TRUJILLO     KATHRYN                   CO         32026345189
83662223555945   MARCOS       RAYA                      CA         49014952235
83662735633698   AMBER        TAYLOR                    NC         90007647356
83663752233698   RAYMUNDO     MONZON                    NC         90015597522
83665514391979   CHANELLE     SINGLETARY                NC         90010535143
83665929697138   JOSEPH       MICHAEL-JUNG              OR         90002919296
83666188497138   BRANDE       BRACKEN                   OR         44010621884
83666718241262   SONYA        WORLDS                    PA         90013137182
83669855147822   KAQUELINE    HALL                      GA         90010838551
83671473891981   NANCY        KING                      NC         90010614738
83671891271938   JONATHAN     SHELLSTROM                CO         90015338912
83672494171938   PEDRO        CASTRO                    CO         32057934941
83673416571977   IESHA        VARELA                    CO         90002404165
83673716277537   MICHAEL      GHIGLIERI                 NV         90007337162
83674181533698   DETAVAIUS    MILLER                    NC         90012951815
83675613493771   DANIEL       SCHROYER                  OH         64518336134
83676132651362   CHARMAINE    RAYFORD-DAY               OH         66067761326
83677447833698   KECIA        MCAULEY COUCH             NC         12005694478
83677727491979   FELICIA      BEANE                     NC         90015087274
83678737472432   ANGEL        CHANEY                    PA         90015017374
83679356297138   DOKOTA       HEUBERGER                 OR         90014293562
83681312151577   REBECCA      GALE                      IA         90014443121
83681799671977   DAVID        BACA JR                   CO         38009397996
83682251593771   MELISSA      BURNEKA                   OH         90013952515
83682832855945   FRANK        WARE                      CA         49064118328
83685629497138   GILBERTO     FRANCO                    OR         90012326294
83686264571938   JOSELO       MORALES                   CO         90000142645
83689238591979   STARLETTA    MUSUNGAY                  NC         90014922385
83689938691975   MADELEINE    NDALA                     NC         90014859386
83691163471977   ERIC         RIVERA                    CO         38006131634
83691559191979   JUAN         TORRES                    NC         90009405591
83691747833698   SARITA       WILLIAMSON                NC         90012257478
83693716293771   JUSTIN       SCHIEWETZ                 OH         64506167162
83693894777537   VERINDER     SINGH                     NV         90015108947
83695532197138   ELSA         CIBRIAN                   OR         44071435321
83696913891975   BRUNO        ASOBO                     NC         17077189138
83696934447897   ALLISTER     ROBINSON                  GA         90008079344
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83697446191837   DANIEL         WHISENHUNT              OK         90011764461
83698916841262   WENDY          MCCUE                   PA         51021439168
83699365841275   JILLIAN        LEWANDOWSKI             PA         90014713658
83712148391979   NATHAM         MASSENBURG              NC         90012531483
83713276133698   EFREN          HERNANDEZ-CRUZ          NC         90013942761
83713398451328   JUNE ANN       GESNER                  OH         66095803984
83713875851362   ASHLEY         ESTRIDGE                OH         90002498758
83714732584351   EMILY          SALLEE                  SC         19077777325
83715183671938   JAMES          MILLER                  CO         90006591836
83715916572496   JOSHUA         BOSSINGER               PA         51078179165
83717917472496   CHALEA         PERRI                   PA         51016609174
83718358841275   ALEXZANDRA     FISHER                  PA         51011443588
83719317597138   MARISELA       ZAMORA                  OR         44089193175
83719549171938   BONNIE         CARVEY                  CO         90015225491
83724844797138   GEORGE ALLEN   ZERKEL                  OR         90006408447
83724899771938   EVELYN         UVALLE                  CO         90003598997
83725821297138   ANGELA         GISH                    OR         44066938212
83726377271938   RAMIRO         GODINEZ-DIAZ            CO         90014753772
83726751761928   BRENDA         STEWART                 CA         90012237517
83727916391837   JAMES          GALLOUP                 OK         90013919163
83729286361928   MOHAMMED       SHAARAN                 CA         90012822863
83729784241281   JOE            KINGSTON                PA         90015327842
83731968157128   SHANNON        DAVIS                   VA         90008449681
83732578897138   JOSE           SALAZAR                 OR         90005195788
83733291433698   REBECCA        MABE                    NC         90010012914
83733478391837   DRUE           JOHNSON                 OK         90014584783
83734336371938   JORDAN         PRIETO-PEREZ            CO         90010973363
83734478391837   DRUE           JOHNSON                 OK         90014584783
83736295671938   ROSA           VIGIL                   CO         32090462956
83736619477537   ANDREW         ALVARADO                NV         43082196194
83737482391355   SERGIO         VAZQUEZ                 MO         90007454823
83737658241275   KEITH          KELEMEN                 PA         90014046582
83738152272496   JERRI          MILLER                  PA         51071111522
83738364691975   DEBRA          BARBOUR                 NC         90015093646
83739362641275   JONATHAN       MENEFEE SR              PA         90013403626
83741238591979   STARLETTA      MUSUNGAY                NC         90014922385
83741263151341   MICHAEL A      MILLER                  OH         90014982631
83742655497138   DUANE          RUTHERFORD              OR         90012276554
83743537297138   STANLEY        FORD                    OR         90008705372
83744236633698   RUSSEL         CALNAN                  NC         90014082366
83744318477537   ROSHELL        SUMMERVILLE             NV         90014583184
83747329233698   ISAYANA        BORGES                  NC         90013943292
83748534271938   STEVE          HOLCOMB                 CO         32093425342
83751175193771   ARMANDO        MENDEZ ALARCON          OH         90012281751
83751589877537   VANESSA        GRANADOS                NV         43072345898
83752298791975   DEICY          ALVAREZ                 NC         17092012987
83752952591837   JAMIE          HALL                    OK         90005639525
83753596861928   PAULA          GANT                    CA         90010875968
83754216191837   SHANNON        POGUE                   OK         90012792161
83754992993771   DARNELLE       SHACKLEFORD             OH         90012549929
83755218291837   ANGIENATTA     AYERS                   OK         90012792182
83755453371938   BETTY          CHACON                  CO         32014404533
83755741172432   TAMMY          SHAW                    PA         51096837411
83757176651341   GORDON A       FERGUSON                OH         90011511766
83758125147822   LASHONDA       HAMMOCK                 GA         90014231251
83759497751341   PEGGY          BASS                    OH         90001324977
83759766551362   DONNA          STOUT                   OH         90009717665
83761488391837   MARLAINA       PERKINS                 OK         90014584883
83763248493771   JAKE           WILLIAMS                OH         90007672484
83763531361983   STEVEN         HUFFMAN                 CA         46036255313
83763775451341   RONANDO        YATES                   OH         90010737754
83764873672496   BONNIE         OLIVER                  PA         51063158736
83765488391837   MARLAINA       PERKINS                 OK         90014584883
83765491572496   HARRY          TRAUTMANN               PA         51036564915
83765571151341   AESHYA         COMBS                   OH         90011125711
83766522391975   COMBS          MIRANDA                 NC         17004775223
83766673372432   STEPHANIE      BENACK                  PA         90013966733
83767152741275   JONNIE         WHITNEY                 PA         90014511527
83767985151341   STACY          WALTER                  OH         66011529851
83768176285856   MARIA          SANCHEZ                 CA         90010131762
83768774661928   VANESSA        ENRIQUE                 CA         90012657746
83768913333698   JULIA          SERRANO                 NC         12071999133
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83769588533698   TEKOAH        BELL                     NC         90011055885
83769831585856   MIRIAM        LEO                      CA         46020528315
83769836771977   THOMAS        STEVENS                  CO         90006298367
83769953161928   ABEL          BELLO                    CA         46066559531
83772278291979   RODNEY        MOORE                    NC         17039032782
83772522771977   RICHARD       OWENS                    CO         38044815227
83773969497138   RANDI         CLIFFORD                 OR         44059889694
83774641355945   AIOTEST1      DONOTTOUCH               CA         90015116413
83774789797138   KRISTIAN      MOGSTER                  OR         90014427897
83775196655945   DEBORAH       GEORGESON                CA         90007381966
83775956693771   KEN           MILLS                    OH         90008959566
83777625141275   WILLIAMS      MAURICE                  PA         90006506251
83779194155945   ZINA          VELA                     CA         90004011941
83779254791837   CHRISTOPHER   FISHER                   OK         90014592547
83779419191975   ONEAL LATAY   TONYA                    NC         90013714191
83781364197138   ALESHA        FORSYTHE                 OR         90013903641
83783784672432   THOMAS        MARREE                   PA         51085117846
83784412247897   ANGIE         HALL                     GA         90014894122
83784974591979   FRANCISCO     BELLO-CATALAN            NC         90003989745
83785211151362   TAHMISKA      GROSS                    OH         66001872111
83787446351341   JAMES         PAGGETT                  OH         90014824463
83789382141275   ANTONIO       BROWN                    PA         90013963821
83789669391837   MICHEAL       HAMPTON                  OK         90011766693
83789835751332   LAWRENCE      MALCOM                   OH         90008848357
83791217561976   SAFAA         ALHANNO                  CA         90010962175
83791235561928   MARIA         TAMAYO                   CA         46093752355
83791325172432   SHAWN         NAJOWICZ                 PA         51016463251
83791645471977   JESUS         VALLES                   CO         90003796454
83792733171938   CYNTHIA       AREVALO                  CO         32097867331
83793155197138   ICLE          DUNCAN                   OR         44043921551
83793847877537   MELVIN        HOLT                     NV         43032288478
83794788491934   TONI          GEORGEVICH               NC         90013797884
83794937351341   GABRIELLA     BELMONT                  OH         90010369373
83795671161928   HOTSHA        WEAVER                   CA         90009366711
83796574171938   RUBEN         GUZMAN                   CO         32022375741
83797661271977   FELIX         CORDOVA                  CO         90010146612
83797955955945   CONCEPCION    DEESCOBAR                CA         90014279559
83798685493747   KYLE          WILLIAMS                 OH         90007796854
83799444993127   ELIZABETH     DELAGADO                 KY         90005994449
83799466791242   ROGER         VASQUEZ                  GA         14589814667
83799622391979   TRUDY         LIGHTBOURNE              NC         17055256223
83814175171938   WILLIAM       GREEN                    CO         90013421751
83814199561928   RUTH          ACEVEDO                  CA         46004551995
83814535697138   NOE           HERNANDEZ DOMINGUEZ      OR         90013785356
83814668155945   GILBERTO      CHAVEZ                   CA         49017496681
83815268691837   ADOLFO        LOPEZ                    OK         90014592686
83815746671938   JONQUIL       HAYWARD                  CO         90015167466
83816173291837   JEREMY        PENDERGRAFT              OK         90014581732
83822334597138   HILDA         LOPEZ BRAVO              OR         90011093345
83823856591979   MARIA         MENDOZA                  NC         17039598565
83823861251341   BRIAN         DAVIS                    OH         90014448612
83824158385856   ADRIENNE      MCFEDDEN                 CA         46047301583
83824186633698   DEANN         COLLIN                   NC         90010931866
83824243271938   LEONEL        ESTEBAN                  CO         90013592432
83824394691532   LUZ           GARCIA D                 TX         90007993946
83825589661928   CARLOS        SALCEDA                  CA         90009625896
83825748577537   ANGELIK       PILLIAS                  NV         90013977485
83825828591837   OCEAN         MIZELL                   OK         90011768285
83827535633698   DAVID         CRAWFORD                 NC         90013975356
83827564991979   LAURA         OVALLES                  NC         17089225649
83827777271938   JULIE         GAGNON                   CO         32017777772
83828345347822   ARDARRYUS     HARPER                   GA         90011133453
83829824997138   AZUCENA       HERNANDEZ                OR         90013988249
83832357677537   DAN           OLSON                    NV         43006753576
83832796347897   MARCHELL      MAXWELL                  GA         90009067963
83833815847897   SHEKIERA      BATTLE                   GA         90013968158
83834228433698   OMAR          CRUZ                     NC         90010452284
83834364761928   SERGIO        LOPEZ                    CA         90007593647
83835389372432   VALERIE       BROWN                    PA         51039573893
83835447833698   KECIA         MCAULEY COUCH            NC         12005694478
83836876141275   HEATHER       HARRINGTON               PA         90007568761
83837578333698   SOURINH       SOMRASMY                 NC         90013945783
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83838661585856   HALEY        HOBBS                     CA         90008526615
83838976581629   CARMEN       JURADO                    KS         90013379765
83839562591975   JOSE         MARIO                     NC         90013675625
83839843947822   ANN          COLEY                     GA         90011448439
83843746841262   CRISTINA     FORTINO                   PA         90013167468
83845199593127   JOSHUA       GARZA                     TN         90008891995
83845514355945   KATIE        FIFE                      CA         90006395143
83845852181673   ROBERT       STANTON                   MO         29001238521
83846319451362   MARTINA      WARD                      OH         90014553194
83846832377537   DEBRA        CLEMENT                   NV         43089498323
83848113172432   MICHAEL      RICHIE CO MHA             PA         90008431131
83851257261928   JOSE         BAHENA                    CA         46038852572
83851754771977   JUSTIN       HORN                      CO         90001067547
83851856572432   BROOKE       SCHWEITZER                PA         90012198565
83851916397138   FABIOLA      MARTINEZ JUAREZ           OR         90014349163
83852214671938   BALTAZAR     JAIME                     CO         32067112146
83852416277537   ESTELA       SERRANO                   NV         43009674162
83852422255945   NICK         ALVARDAO                  CA         90008864222
83854229291975   LATANYA      LANGSTON                  NC         17011312292
83854383393771   KIM          CLAY                      OH         64538813833
83855317441275   PAULA        CARMAN                    PA         51012443174
83855332971977   MELISSA      ACEQUIA                   CO         90014563329
83855637971977   ISAIAH       VIALPANDO                 CO         90013706379
83856251451362   TORI         MILLER                    KY         90015032514
83856724297138   ISAR         RAMIREZ                   OR         90009527242
83857577955945   RITA         PARRA                     CA         49055205779
83858717997138   CHRIS        EGGEN                     OR         90014717179
83859923871977   BRIAN        FLORES                    CO         90014319238
83861651891979   JONATHAN     GREENE                    NC         90015066518
83862215985936   WILLIAM      HOWARD                    KY         67091852159
83862254151362   TIMOTHY      MALONEY                   OH         90009582541
83862315451351   HENRY        REED                      OH         90009523154
83862589372432   TRICIA       CHURCH                    PA         90014095893
83862746341262   ROBERT       WALSH                     PA         90004007463
83863727891837   BRENDA       CALDWELL                  OK         90014587278
83863983272496   CHRISHELLE   MCCANDLESS                PA         51073929832
83864242884336   BELVA        JAMES                     SC         90012492428
83864255871938   THOMAS       QUICK                     CO         32007792558
83864262933698   JAMES        DONEGAN                   NC         90012952629
83864726961928   MAYRA        AGUERO                    CA         90011157269
83865147993771   DONALD       KELLY                     OH         90014611479
83867516555971   MARIA        SANTOS RUIZ               CA         90001675165
83868769355945   GREGORY      PEREZ                     CA         90011897693
83869283377537   YVONNE       MCMILLIAN                 NV         90012582833
83869713191837   RAUL         TEJEDA                    OK         90009827131
83871455493771   JASHANNA     BRYANT                    OH         90011854554
83871587541275   TRAVIS       COURTEMANSHA              PA         51059795875
83871981391979   IBRAHIM      HOPE                      NC         90004679813
83872244461957   SERGIO       REYES                     CA         46044422444
83872864372432   JACQUELYNN   SANDERS                   PA         90000538643
83872873733698   CAROLYN      KEARNEY                   NC         90013168737
83872983261928   ARNULFO      MENDIVIL                  CA         46044929832
83875992372432   JEANNETTE    ROSS                      PA         90013169923
83876773651362   SHANNON      STARKS                    OH         66010297736
83877513572496   JESSIE       BAILEY                    PA         90011865135
83877756655945   ERIC         HOOKS                     CA         49083677566
83877884793783   ABDALLAH     QAQA                      OH         90013768847
83879686191242   LAWRENCE     BOYD                      GA         90003136861
83879835861928   MARIA        GONZALEZ                  CA         46067608358
83879839277537   RANDALL      BERG                      NV         43050448392
83881394671977   BILLY        DAVIS III                 CO         90009163946
83882422371956   JAMES        ORTEGA                    CO         38009054223
83882439147822   PATTY        HICKMAN                   GA         14093684391
83882678661928   IHSAN        SEIFULLA                  CA         90009546786
83883698391975   BETHANY      LADOUX                    NC         90013136983
83884427672432   MICHAEL      RODIA                     PA         90014144276
83884647871977   HUGO         LIZANDRO                  CO         90012116478
83884675677537   JOSE         IZQUIERDO                 NV         90014076756
83884737891979   JORGE LUIS   DOMINGUEZ CHONTAL         NC         90004967378
83885692451341   GLORIA       SILAS                     OH         66047836924
83886236171977   ANTHONY      MUNIZ                     CO         90006512361
83888323393724   REBECCA      BEZICH                    OH         90009513233
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83888388877537   LYNN         BUFFMIRE                  NV         43064263888
83888833985623   PAULA        MARTINEZ                  NJ         90012768339
83891792172432   JENNIFER     WALLACE                   PA         51065867921
83892173391979   RHONDA       HORTON                    NC         90015451733
83892518493771   OLIVIA       REINE                     OH         64502225184
83892673947822   TIA          HALL                      GA         90013986739
83892765491979   REBECA       GASPAR                    NC         90009387654
83893926791975   SANTOS       HERNANDEZ                 NC         90011049267
83894623291837   ANGELES      MUNOZ                     OK         90006706232
83894718347897   LVETIUS      WEDLOW                    GA         14027267183
83895684391837   CAROLINA     BOLANOS                   OK         90014586843
83896411172432   JAMES        CHANEY                    PA         90008714111
83896956271938   KEVIN        ROSAS                     CO         90014649562
83896977271977   LUCY         WHEELER                   CO         38090899772
83897326471977   IRENE        VIGIL                     CO         90014353264
83897699193763   KRISTIE      WORLEY                    OH         64554306991
83898573991975   TONYA        LAWS                      NC         17013705739
83898754297138   ANTIOCO      DIAZ                      OR         90009207542
83899112671977   DOUGLAS      VIGIL                     CO         38050891126
83899513471938   GABRIEL A    CEBALLES                  CO         90014345134
83899911172496   ANDREW       MCCUE                     PA         90007059111
83911215433698   MYQUAN       ARANT                     NC         90013992154
83912183891979   EUGENIA      CLAYBORNE                 NC         90014031838
83912895591975   AYANA        EADDY                     NC         17006558955
83913831372432   CHRIS        SMITH                     PA         90014148313
83914779147897   JESSICA      LATTIMORE                 GA         90015027791
83914836572432   BOBBY        JONES                     PA         90014148365
83916411771938   CASSIE       GARCIA                    CO         90014954117
83917637647897   JASON        WHALA                     GA         90013586376
83918192447822   KIERRK       OLIVER                    GA         90003741924
83919578697138   VALERIE      YOUNG                     OR         90013805786
83919866147822   LATASHA      SPENCER                   GA         14041668661
83921476755971   MIKE         SLAYTON                   CA         90003594767
83921579572432   JAMIE        STUDT                     PA         90014155795
83922224791837   BROOK        JANE                      OK         90006522247
83923453761928   ROSA         TORRES                    CA         90007594537
83924112433698   LAKISH       CARTER                    NC         12095551124
83924655951362   JOAQUIN      DUENAS                    OH         90014176559
83925817391979   KASIB        SALAAM                    NC         90013418173
83926845272432   ALEX         CROSS                     PA         90014148452
83927942151362   WILLIAM      BRANDENBURG               OH         90011679421
83928598761928   REBECCA      FARLEY                    CA         90012665987
83933329971938   BRYAN        LOVE                      CO         90009383299
83933342471977   GIO          LAVE                      CO         90014383424
83933661991979   DARRYL       CURLETT                   NC         90012396619
83934934877537   ASHLEY       OLSEN                     NV         90006799348
83935165871977   ROSE         MARTINEZ                  CO         90009621658
83937487871938   DONNA        BENTLEY                   CO         90000144878
83939271571938   ROVERT       ARTHUR                    CO         32077162715
83939367961928   SILVIA       LOPEZ                     CA         46065863679
83939475891837   JERRI        LOVE                      OK         21087284758
83939679333698   RYAN         HAGA                      NC         90013096793
83944153641275   STEPHANIE    JOHNSON                   PA         90013511536
83944369171977   ANDREA       HIGGINS                   CO         38066093691
83944614793771   BRIANNA      RIGDON                    OH         90015316147
83944819891979   ALICIA       SPRINGER                  NC         17063068198
83945135193771   ROBERT       WINSTON                   OH         90014701351
83945186472432   NOAH         HILVERDING                PA         90014181864
83945943733698   KIMBERLY     SOUTHERLAND               NC         90011069437
83946251591979   MARVIN       RIVERA                    NC         90009592515
83947657471938   CARLA        HUMPHREY                  CO         32036246574
83947694297138   NOLAN        WALLING                   OR         90008946942
83949673655928   MARIA        RODRIGUEZ                 CA         90010526736
83951628997138   JAZ          MARTINSON                 OR         90006236289
83951865991979   BENSON       OLOWOMUKE                 NC         90011198659
83952819191979   MAGDALENA    RIVERA                    NC         90014858191
83953112241262   PAUL         FAYE                      PA         90013961122
83953158241275   TERRI        BALTIMORE                 PA         51091451582
83954953833698   CYNTHIA      ORTEGA                    NC         90015119538
83955148397138   REX          SHELDON                   OR         44020961483
83956334761928   FAREN        MEIR                      CA         90014543347
83956581571938   CHRIS        HARTMAN                   CO         32081335815
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83957149197138   RANDY          FLOYD                   OR         44013231491
83958125251341   JAQMES         WOCHER                  OH         90013051252
83958228451341   ROSA MARIA     RIVERA                  OH         90006662284
83958364347822   KEYONNA        LITTLE                  GA         90011043643
83958422455945   BRUCE          LEE                     CA         90014704224
83958443451374   TIMOTHY        LEHMKUHL                OH         90013644434
83958521672496   CHARLES        WHEELER                 PA         90008315216
83959282436121   ROXANNA        SANCHEZ                 TX         90004772824
83959422691837   JUAN DE DIOS   HERNANDEZ               OK         90011774226
83961783391837   CRYSTAL        WARFORD                 OK         90014587833
83961965871977   LUCIO          MEDINA                  CO         90010699658
83962264693771   RICHARD        ADKINS                  OH         90015152646
83962797633698   LATASHA        MILLER                  NC         90012247976
83962933581691   SANDRA         MANN                    MO         90006449335
83963456391979   DONNA          WELLS                   NC         90012864563
83963481591837   SOLANGEL       LOPEZ                   OK         90011774815
83964213591242   LOLITA         MOORE                   GA         14514132135
83964777985856   ANTHONY        ALCANTAR                CA         46062277779
83964933581691   SANDRA         MANN                    MO         90006449335
83965921891975   DEREK          WATKINS                 NC         90013679218
83966462191975   ELVIRA         ALVAREZ                 NC         17096724621
83966721691837   RAQUEL         TRUJILLO                OK         21026577216
83967975497138   KELLI          RODRIGUEZ               OR         90013559754
83968745391837   VALERIE        JACKSON                 OK         90006427453
83969425272432   LINDA          COMFORT                 PA         90014164252
83973368647921   LASANDRA       PERRY                   AR         90011673686
83974977591975   FAWZIA         SALAHUDDIN              NC         90012239775
83975472241262   NEYJU          RONDON                  PA         90009784722
83975767533698   MIRIAM         HERNANDEZ               NC         90013127675
83976238851362   SKYLAR         HUGHES                  OH         90013072388
83977386272432   LAURA          LEE                     PA         51088653862
83977648693771   BARBARA        DODRIDGE                OH         90012086486
83978741371938   SCOTT          BRUMMETT                CO         90011897413
83979377851341   GUSTAVO        VERAZA                  OH         90007933778
83981765693771   MAUREEN        CHARTRAND               OH         90001317656
83982972171977   EMMANUEL       RATHELL                 CO         90012119721
83983351277537   BRANDIE        WEST                    NV         90012723512
83983519751341   TIM            CURRIN                  OH         66068415197
83984888891532   EMMANUEL       MAGANA                  TX         90007568888
83986117551333   MONESHA        HARRIS                  OH         90008881175
83986583161977   SHEILA         DAVIS                   CA         46076885831
83987283993771   MATTHEW        PARRIS                  OH         90012422839
83987767291975   SHANIQUA       JULLY                   NC         90002357672
83988927851362   VICKIE         ADKINS                  OH         90011189278
83989741993771   DIANNA         ROMINE                  OH         64595817419
83992118751362   RANDALL        BARRETT                 KY         90006431187
83993337461928   DAVID          GARCIA                  CA         46040443374
83993992271977   APOLONIO       FIERRO                  CO         90002739922
83994278261957   PETRA          CANDELARIA              CA         46003602782
83995138955945   JUAN           SANCHEZ                 CA         90014751389
83996219555945   DIANE          JIMENEZ                 CA         49083682195
83996219851341   KIMBERLY       CHENAULT                OH         90014652198
83996447471977   JUSTINE        GARCIA                  CO         90002714474
83996847391837   TANESHIA       JONES                   OK         90014588473
83998543751362   ERIC           WUNDER                  OH         90002275437
83999711897138   VICKY          MERCADO                 OR         90010347118
84112328685936   SATYN          YOUNG                   KY         90011883286
84112857491837   JORGE          LOPEZ SANCHEZ           OK         90013688574
84113361577537   MICHELLE       BARCENAS                NV         43059673615
84114682761934   TERESA         NIEBLA                  CA         90012336827
84115664677537   LUIS           CABALLERO               NV         43009146646
84115769871977   RAINA          HART                    CO         38047617698
84116766593771   JEFF           SNIDER                  OH         64528357665
84119318291975   PEDRO          CHAVEZ                  NC         90011163182
84119332251531   MARIA          RODRIGUEZ               IA         90014573322
84119738151362   JONTE          JANETTE                 OH         90010517381
84121659691583   DENISSE        MOLINA                  TX         90004296596
84123458151333   PETEY          GREER                   OH         66033424581
84123844391975   ANA KARINA     JUAREZ ORTIZ            NC         90013648443
84124839991837   ROGER          ANDERSON                OK         90014138399
84124864591975   PABLO          FLORES                  NC         17051768645
84128481661928   JORGE          ESCALANTE               CA         46064734816
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84128849983142   AARON        JOHNSON                   CA         90014458499
84129237191837   JOSE         GAYTAN                    OK         90010972371
84132389293771   BRAD         LEWIS                     OH         90012443892
84132579385946   CHASITY      WILLOUGHLAY               KY         90007795793
84132785991975   DARWIN       AMADOR                    NC         90004907859
84132859261934   ROSA         ERDING                    CA         90007488592
84133927691975   SEIFU        BABOTA                    NC         90007449276
84137258941262   HAROLD       MICHAELS                  PA         90003652589
84139693241262   VICTORIA     HAYES                     PA         90013256932
84141664991979   ROLANDO      MATOS                     NC         17014026649
84141729991837   ARELIZ       ESPARZA                   OK         90012267299
84141972647897   LAKEITHA     DARTA                     GA         90014849726
84142532357143   CARLOS       GONZALEZ                  VA         90005765323
84142892361928   CARLOS       GARCIA                    CA         90012668923
84143227291523   ZAMORA       NUBIA                     TX         75013552272
84143594372432   AMANDA       CLOSE                     PA         90000585943
84146483961943   JULIE        CAIVANO                   CA         90002074839
84146512497138   KASEY        THOMPSON                  OR         90011035124
84146693571977   ROCKY        MONTEZ                    CO         90003826935
84146965977537   MARIA        SALAS                     NV         43082349659
84148511793766   JOSEPH       HENNIG                    OH         90002315117
84149568985936   NYANDWI      ISSA                      KY         90010695689
84149894291935   JASMINE      SMITH                     NC         90004228942
84151248985936   YVONNE       JACKSON                   KY         90008612489
84153146291837   DENISE       GONZALEZ                  OK         21008731462
84153164193771   NATHAN       HUMERICK                  OH         64569691641
84153786291837   GERALDI      SONES                     OK         90013447862
84155415271977   LASHEA       LOPEZ                     CO         90010234152
84155944691979   KHAMORAH     SELBY                     NC         90012369446
84156875571977   MARCELA      ROCHA                     CO         90004148755
84157437491979   CATHERINE    COCKRELL                  NC         90011304374
84159115247897   SHANDRICA    ROLAND                    GA         90013511152
84163377791981   COMALITHA    TAYLOR                    NC         90000473777
84163642977537   CALLISTA     FULLER                    NV         43056716429
84163673941275   REBECCA      GIBSON                    PA         90011606739
84164281885936   MACEY        RICE                      KY         90014352818
84167377641262   VICTORIA     LEE                       PA         90014933776
84167442185936   PAYGO        IVR ACTIVATION            KY         90008754421
84168381191837   RONY         RODIGUEZ                  OK         90006573811
84168429541275   LATASHA      ROILTON                   PA         90013074295
84169354897138   BELINDA      ANGELICA                  OR         44093463548
84171196151362   ERICA        WEST                      OH         90014741961
84171814461928   JIM          LUSK                      CA         90013668144
84173661191975   WILLARD      HOWARD                    NC         90015146611
84174163285856   JOSE         CARBAJAL                  CA         90011651632
84174232951333   JALEESA      CARMON                    OH         90007932329
84174233285856   JOSE         CARBAJAL                  CA         46000402332
84174388631471   ANDREA       JACKSON                   CO         90010373886
84175743991975   SYLVIA       TEEL                      NC         90014377439
84177795493771   SHAMIA       QUALLS                    OH         90013917954
84178413891975   MARTHA       CASTILLO                  NC         17076744138
84179334885936   REGINA       VEGA                      KY         90011103348
84179851861928   CARMEN       CASTILLO                  CA         90013018518
84182524481677   MAYA         COLON                     MO         90006975244
84182832991975   CHEYENNE     SCHEETZ                   NC         90011908329
84183497331449   MITCHELL     TANYSHIA MICHELLE E       MO         90011284973
84184973172432   WARREN       MOORHOUSE                 PA         51017889731
84186813471977   ANGEL        MARTINEZ                  CO         90015318134
84187155161928   KAREN        BEDFORD                   CA         46006571551
84189688991975   MARIA        LUNA                      NC         90000996889
84191658233698   CALDERON     MARIO                     NC         12009296582
84192645991837   GENIEL       COLBERT                   OK         90009976459
84193552647897   ALEXANDRA    FINNEY                    GA         90009535526
84194228177537   SAMANTHA     RUPF                      NV         90013982281
84196637391979   NERI         LOPEZ                     NC         90001896373
84196762891975   JOHN         BOWDOE                    NC         90012697628
84198129861928   JUAN         ROMO                      CA         90013781298
84198163285856   SUZANNE      BOND                      CA         90008431632
84198377893771   KOA          LLACUNA                   OH         90012663778
84198411291837   JESSE        FITZLOFF                  OK         90004014112
84198652961934   ANNA         ACOSTA                    CA         90013476529
84211352185856   LUDI         BILLINGS                  CA         46052743521
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84211935972432   CHRISTOPHER   GOOCH                    PA         90012519359
84212893861928   RAUL          MARQUEZ                  CA         90012668938
84212978197138   RHEA          ROGERS                   OR         44015419781
84213971671977   GABRIEL       MARTINEZ JR              CO         38008969716
84214664785856   ROSENDO       LUCERO                   CA         46080566647
84215545951362   DESIREE       CARPENTER                OH         66022755459
84215912471977   AHLONKO       COMLAN-K                 CO         38046419124
84216413941275   JHON          ADKINS                   PA         90013934139
84217349891837   TIMOTHY       WEDEL                    OK         90010053498
84218276941262   SENTHEA       QUARLES                  PA         90013982769
84219681777537   ERICK         SELF                     NV         90004896817
84221728361928   MANUEL        TORRES                   CA         46011167283
84221846857126   AMANDA        CRUZ                     VA         90008128468
84221979285936   OMAR          SHALASH                  KY         90011809792
84225149793739   DESARAE       SMITH                    OH         90011711497
84226432771977   BEN           GUERRA                   CO         90008914327
84226973685936   TRAVIS        KELLEY                   KY         90012369736
84227815297138   THAMOS        STANING                  OR         90004128152
84228425491975   KATRINA       SMITH                    NC         90003134254
84228597141275   DUNYA         HASSIM                   PA         51041465971
84229161641262   ABRAMM        KELLY                    PA         90010451616
84229475941275   PAULINE       PARKER                   PA         90013514759
84229732485936   ZAXH          GROUNDS                  KY         90013087324
84232976591583   CARLA         TABOADA                  TX         90008949765
84234131977537   FANY          TOLEDO                   NV         90014741319
84235884591941   MICHAEL       ROGERS                   NC         17016728845
84236152757128   TEAHNE        ROBINSON                 VA         90005351527
84237389185856   MEDINA        DANIEL                   CA         46031283891
84237693333698   MORELIA       GARCIA                   NC         12080046933
84237762391242   STEVEN        MCMILLON                 GA         14586507623
84237858651362   ROBERT        ERTLE                    OH         66024298586
84238736351362   SEAN          DOWNING                  OH         90006487363
84241512541262   MICHAEL       COLES                    PA         90013305125
84242336561928   LINDA         FLOYD                    CA         90011863365
84242343151333   DANIELLE      MACK                     OH         90007383431
84242527585856   JOEL          SOLIS                    CA         46054185275
84243297661928   NOEL          FULBRIGHT                CA         90013122976
84245255985936   HAVEN         STANFIELD                KY         90013962559
84245422171977   BERTHA        MARTINEZ                 CO         38056814221
84246177551362   DARRELL       ALLEN JR                 OH         90003021775
84246384961951   JOSE          LEDEZMA                  CA         90012903849
84247224971977   VALERIE       GALLEGOS                 CO         90010342249
84247258461934   SHIRISH       VILLASENOR               CA         90009202584
84247422361928   SARAH         BOGHASHA                 CA         90012764223
84248442691975   AVERY         GORDON                   NC         90010824426
84248824785856   FRANCES       PEPPARD                  CA         46052618247
84252863285936   RITA          WOLFF                    KY         67028948632
84252947871977   BRIAN         TURNER                   CO         90006919478
84254251693771   AARON         KRAUSE                   OH         90014812516
84256177233698   ANGELA        JACKSON                  NC         90012451772
84256791291837   MIKEL         PEUGH                    OK         90005407912
84256883755931   JESUS         BERNAGA                  CA         90006098837
84257612341262   SHANA         MAXWELL                  PA         90010256123
84258172761928   SEBASTIAN     ANGUIANO                 CA         46006581727
84259418351362   TAMMY         MCQUAID                  OH         90014744183
84259925993771   LEIGHANM      DONALDSON                OH         90013649259
84259982361928   ANDY          CORCOVELOS               CA         46023119823
84261426361934   FRANCISCO     LIZARRAGA                CA         90011664263
84261815957133   MMANUEL       MONTALVO                 VA         81064078159
84262437351362   JERI          CLEGG                    OH         90009714373
84262496177537   EDNA          LOPEZ                    NV         90011054961
84263117485856   NICK          HANNA                    CA         90013451174
84263782491979   DR            PEREZ                    NC         90013957824
84263796291975   WEYNI         TESFAYOHANS              NC         90009387962
84264572547897   TAMEKA        KING                     GA         90014535725
84265419991523   BELINDA       GONZALES                 TX         90011404199
84266144993771   CHRIS         SCHERMPECK               OH         90013361449
84266448941275   CHELSEA       PROVIANO                 PA         90012344489
84266665777537   ANTELMO       SOTO                     NV         90013136657
84267754222933   APRIL         EVANS                    GA         90010387542
84267848651362   NATASHIA      CONNER                   OH         90005688486
84268368681677   MONIQUA       PEREZ                    MO         29002613686
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84268652285856   LINDA        MULLIN                    CA         46053046522
84269272691837   GUADALUPE    ROBLEZ                    OK         90014822726
84269463285962   JIMMY        POPE                      KY         90000944632
84271178191975   ANISE        GADDY                     NC         90009091781
84271837785856   ROGELIO      ROJAS                     CA         90008948377
84272717897138   JAQUETTA     HARRIS                    OR         90006967178
84273575577537   TERESA       LOPEZ                     NV         90014045755
84273848291837   CLARANCE     EDWARDS                   OK         90005298482
84274257991837   CHRISTY      DEMERY                    OK         21001072579
84275558961934   ABEL         ALEJANDRE                 CA         90010595589
84281248591523   YADIRA       LARA                      TX         90009982485
84282179177537   SALVADOR     CARDENAS                  NV         43002331791
84282394131278   MARCO        TORRES                    WI         90015503941
84282616293771   DEBBIE       EVANS                     OH         64573126162
84283123833698   APRIL        HICKS                     NC         90011391238
84283579461928   MARIA        FELIX                     CA         46044825794
84284249591837   GUILLERMO    SANCHEZ                   OK         90014892495
84285569857131   ABDIKARIM    MOHAMED                   VA         90000535698
84286286291523   ZYNA         VILLESCAS                 TX         75060702862
84287446791975   SERGIO       CARRANZA                  NC         17000274467
84287449641275   DESI         WILLIAMS                  PA         51089174496
84288164261928   CASSANDRA    TORRES                    CA         90012991642
84288867285856   RITA         LOPEZ                     CA         46005168672
84289575547897   CIERA        KING                      GA         14086435755
84289983771977   JOLIYAH      NEAL                      CO         90013319837
84292195381538   PAYGO        IVR ACTIVATION            IL         90010781953
84292675491975   KEVIN        RUIZ SIMON                NC         90012096754
84293663791975   GODOFREDO    PASRANA                   NC         90006516637
84294496231439   SHALONDA     CARD                      MO         90001234962
84294854241262   DEBROAH      COLE                      PA         90006328542
84297672651362   ALEXANDER    HOWE                      OH         90007556726
84298357791979   JEROME       MERITT                    NC         17027933577
84299184793771   MARION       YOUNG                     OH         64566971847
84299224971977   VALERIE      GALLEGOS                  CO         90010342249
84315721577537   AUSTIN       WESTWOOD                  NV         90013477215
84315874171977   DONNA        MONTEC                    CO         90009498741
84315964347897   MAURICE      MCBRIDE                   GA         90007569643
84317218585856   STEVE        SOUTHERLAND               CA         90013082185
84317313251362   MATT         DENNLER                   OH         90010523132
84318259331439   MISTRET      VOKSHI                    MO         90005362593
84319859871977   YVETTE       VIGIL                     CO         38049258598
84321937761928   CHRISTIAN    VILLEGAS                  CA         46037159377
84322692285936   JAMES        CUSHINGBERRY              KY         90013456922
84323471277537   TAYLOR       RUSSELL                   NV         90014504712
84323496961928   ERICK        VELASQUEZ                 CA         90003954969
84324139671977   PEDRO        LOPEZ                     CO         38008731396
84325438241275   DESIREE      JHONSON                   PA         90013934382
84327273191979   MAUREEN      MCGANN                    NC         90008122731
84327291371977   LISA         HERRERA                   CO         90009252913
84327733485856   GARY         BENSON                    CA         90015177334
84328367291979   SHENEIKA     BEST                      NC         90012453672
84328553551362   SHEYLA       BROWN                     OH         90014745535
84328717785936   KAMEO        FOSTER                    KY         90014487177
84329271541262   LINDA        WILLS                     PA         51051232715
84329553551362   SHEYLA       BROWN                     OH         90014745535
84331298851336   PAGGY        CAMPBELL                  OH         90005862988
84333427761934   ERNESTO      TREVINO                   CA         46055064277
84333522391975   AMENA        JABBI                     NC         90011945223
84334844391975   JASMINE      MORRIS                    NC         90004788443
84335637941262   MALCOLM      DAVIS                     PA         90014856379
84335952641275   MONICA       YOUNGER                   PA         90012299526
84338392493771   ARTEMIO      CASTILLO                  OH         64556783924
84338575851362   COLLEEN      LAMBERT                   OH         90014745758
84339316184347   BEVERLY      HILZENDAGER               SC         19050983161
84341164177537   LUZ          AYALA-LEMUS               NV         90013291641
84342151391532   JOSE         JASSO                     TX         90001481513
84342425447897   TINA         PITTS                     GA         90008734254
84342489141262   JEAN         WORTHY                    PA         90008834891
84342928531428   VINCENT      MORROW                    MO         90008219285
84343118891979   ANGELA       BROWN                     NC         90004001188
84343886991979   TIFFANY      MARTIN                    NC         90015178869
84344353571977   MARIA        ANTILLON                  CO         90003833535
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84344865585856   PRIMITIVO    BARACEROS                 CA         90014608655
84345634191837   SARAH        MARTIN                    OK         21059046341
84345688397138   DANIEL       CHICO                     OR         90010566883
84345865585856   PRIMITIVO    BARACEROS                 CA         90014608655
84348365147897   COURTNEY     WILDER                    GA         14031813651
84348396697138   MURIAH       WALKER                    OR         44045663966
84348914933655   SHEMEKA      SALTERS                   NC         90012979149
84351752491242   BRIAN        EDWARDS                   SC         90013467524
84352442381677   JULIO        MORAN SOTELO              KS         90011164423
84352614851362   EBONIE       HARRIS                    OH         90014746148
84354618851362   AL           CALDWELL                  OH         90014746188
84356191881666   MARLOM       MOLINA                    MO         90007881918
84357112591242   SARABETH     STEVENS                   GA         90006991125
84358849493771   CYNTHIA      RUSSELL                   OH         90011308494
84358865585856   PRIMITIVO    BARACEROS                 CA         90014608655
84359757533698   JULIO        REYES                     NC         12012127575
84361469891837   CHRISTY      FIELDS                    OK         90004024698
84361819685856   JESUS        LOPEZ                     CA         46009918196
84361949193771   JOE          DUNLAP                    OH         64596179491
84362484341275   CAROL        VISK                      PA         90009764843
84362571991837   LINDA        PIENTA                    OK         90004985719
84364534651362   TODD         GRIFFITH                  OH         66017035346
84366917761928   DANIEL       CASTRILLO                 CA         90012669177
84366951393771   KELLY        CONLON                    OH         64504329513
84367212641262   MITCHELL     GRAHAM                    PA         90012002126
84368355171977   ALEX         MONTOYA                   CO         38093393551
84368881861928   GISELLE      MCNEAL                    CA         90011418818
84369269361928   PANI         WESLEY                    CA         46055582693
84373436151362   JACQUELINE   RINGER                    OH         66012884361
84375178193771   LAKESHA      HERRON                    OH         90014851781
84375513936121   AUBREY       SEPEDA                    TX         90005065139
84377376177537   ALICIA       VALDIVIA                  NV         43008223761
84378666133698   JAYMES       RHODIE                    NC         90003636661
84379288961928   ROSA         BRAVO                     CA         46011352889
84381891151362   LYNN         STROTMAN                  OH         66079868911
84382873841275   NORRIS       RYAN                      PA         90003758738
84384762161928   CHARLOTTRE   HARRISON                  CA         90014087621
84385511861928   MELISSA      FISHER                    CA         90013035118
84386592861934   GLORIA       CEBALLOS                  CA         90011665928
84386827677537   STACY        IBARRA                    NV         90005818276
84388777997138   TYLER        WILLIAMS-BELGARDE         OR         90011037779
84394763771977   TAWNY        MC BEAIN                  CO         38062197637
84394933372432   SHALYNNE     ANGELL                    PA         51018389333
84396991991979   PAMELA       HARRIS                    NC         17055009919
84399211151362   TAHMISKA     GROSS                     OH         66001872111
84399437285936   EMIN         GOOSHI                    KY         90005884372
84412392891837   ZAMUEL       BIRRUETA                  OK         90010973928
84416229271977   JESSICA      MONTOYA                   CO         38080172292
84416879241275   FREDDY       KRUGER                    PA         90014918792
84417766341275   BRENDALE     BOWLES                    PA         51089467663
84419124691837   ANTONIO      JOHNSON                   OK         90009161246
84419455541275   LORI         MOOREY                    PA         90013934555
84421794151362   MARK         VESTRING                  OH         90014747941
84422938771977   JESSE        JARAMILLO                 CO         90014759387
84424844193771   MELINDA      LAM                       OH         64591498441
84425538491975   HECTOR       TORRES                    NC         90013095384
84427466385856   EDUARDO      CASTILLEJO                CA         90013624663
84428232791979   ANTONIO      BRAVO                     NC         90001282327
84429141541275   MELINDA      SMITH                     PA         51016691415
84429261491837   ELLINGTON    BENSON                    OK         90014152614
84431955993771   DARRELL      GLENN                     OH         90014479559
84432187451362   DEANNA       RAMSEY                    OH         66094951874
84433719831651   TIMOTHY      HOUSER                    KS         22026967198
84434786497138   FRANCISCO    GAY                       OR         90011037864
84434794441229   JENNA        LEE                       PA         90015317944
84435555951325   DEMETRIUS    DALLAS                    OH         90010455559
84435841691979   BANITA       PAXTON                    NC         90014968416
84436956951531   KELLEESHA    BURKS                     IA         90015479569
84437835351362   AMANDA       GRAY                      OH         90014748353
84438733297138   MICHELLE     DOW                       OR         90009677332
84441372171977   ARTURO       PACHECO                   CO         38087113721
84441812841275   DANIELLE     WAGNER                    PA         51089298128
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84442841177537   DIANA           BALLESTEROS            NV         43000578411
84444192191834   NICK            MADEWELL               OK         90010651921
84444236671977   STACY           MARQUEZ                CO         38073782366
84444319777537   MARCELL         WILKERSON              NV         90010193197
84444859285936   VICENTE         CAC SAQUIJ             KY         90013318592
84445279585936   MARCUS          AVERA                  KY         90012322795
84445849891975   VANESSA         GIRON                  NC         17038358498
84445943585936   MARCUS          AVERA                  KY         90011069435
84447777985856   JESSICA         KOHLBECK               CA         90010197779
84447978941262   FREDERICK       MYERS                  PA         51005259789
84449196141275   LORI            FREUDEN                PA         90015031961
84449348361928   MIGUEL          ANGEL                  CA         90014903483
84449559985856   ISMAEL          CASTILLEJO             CA         90010615599
84452958385856   JAIME MUNRIAL   TORRES                 CA         90012149583
84453285471977   DAKOTA          NARANJO                CO         90012762854
84454628141262   KIM             BROWN                  PA         90013586281
84455988997138   RUPERTO         MORENO TAPIA           OR         44040419889
84457676791979   KENNETH         OFFEI                  NC         90012486767
84458162891837   LINDA           LEWIS                  OK         90014711628
84461439585936   AMBER           STANSBERRY             KY         67055694395
84461981297138   JENNIFER        ARNETT                 OR         90000969812
84463997171977   ROBERT          TRUJILLO               CO         90011309971
84464886881677   VIRGINIA        WILLIAMS               MO         90003198868
84465379891837   LEANN           WITWER                 OK         21050223798
84465569761928   MARIA           URIAS                  CA         90014275697
84465781185936   MICHELLE        GANTT                  KY         90013957811
84466388941262   SCOTT           SHETTER                PA         90012183889
84466565985936   PEDRO           MEDINA                 KY         90014685659
84466711193771   GABIELLE        BATTLES                OH         90013217111
84466867141275   TAYLOR          WALKER                 PA         90013088671
84467743683246   MICHAEL         DEWEES                 TX         71098527436
84469161485856   RAMIRO          CORTES                 CA         90013101614
84469615985856   KATHERINE       SCOTT                  CA         90014656159
84472892177537   VICTOR          ARTEGEA                NV         90012278921
84473375785856   JEFFREY         CHILDS                 CA         90012573757
84474434991837   ANN             BONNER                 OK         90010974349
84474494751349   KAMILLE         HILL                   OH         90010014947
84475833591975   KISHA           CURRY                  NC         90014908335
84476152441262   JOSEPH          NICKELSON              PA         90011441524
84476811185856   TOM             WAITS                  CA         90004328111
84477429185856   MONICA          PEREZ                  CA         90013104291
84477524361934   FERNANDO        SALGADO                CA         90006865243
84477555191242   ZACHARY         SCHOONOVER             GA         90011595551
84478378161928   REBEKAH         FERRANTI               CA         90008963781
84479445285936   MARIO           WEBB                   KY         90011924452
84479764285856   MARIA           LOPEZ                  CA         90003637642
84481212285856   CARMEN          CEDILLO                CA         46073132122
84486372247897   AUDREY          MCGOWAN                GA         14093383722
84487588277537   BRENDA          REYES-DIOSDADO         NV         90013565882
84488723971977   ALICIA          TRUJILLO               CO         90013327239
84491933251325   GILDARDO        SALINAS                OH         66017899332
84493232371977   ASHLEY          MALDONADO              CO         90015442323
84494557333698   COURTNEY        GADDY                  NC         12073805573
84495686751347   TONI            JEFFRIES               OH         90012576867
84496362793771   RONALD          AUGUSTUS               OH         90015103627
84497144647897   TEYONN          BROWN                  GA         14006831446
84497285551362   KIM             HENDRIX                OH         90014772855
84498211841237   CATRICE         COSBY                  PA         90009472118
84498828761934   ANNA            ARELLANO               CA         90013738287
84499743861928   KELLY           BRIGEFORTH             CA         90008517438
84511112547897   MARIAN          ROBINSON               GA         90008621125
84513611285936   GERARDO         TREJO                  KY         90007606112
84514682791837   JESUS           SERRITOS               OK         90000196827
84516779931651   VIVIAN          ADAMS                  KS         90013817799
84517379791837   MISTY           GILBERT                OK         90007463797
84517394791975   GERMAN          LOPEZ                  NC         90009883947
84517754797138   LUCIA           RIOS MUNOZ             OR         44089457547
84518285551362   KIM             HENDRIX                OH         90014772855
84518346191837   WALTER          HALL                   OK         90013243461
84519926547897   KISA            TINSLEY                GA         90014139265
84521181291837   ANTHONY         CARPENTER              OK         21029241812
84521516991242   SEAN            KEACHER                GA         90010365169
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84521564741275   CASEY        OCONNELL                  PA         51043585647
84523115177537   MAYELA       SALINAS                   NV         43058021151
84523726181677   DANA         STEVENS                   MO         29097237261
84524491891837   JEFF         MCCLAIN                   OK         90010974918
84524581871977   KYLIE        REYNOLDS                  CO         90014785818
84525894177537   LUIS         CUNA-LUNA                 NV         43001568941
84526868885936   ERICA        BARAHONA                  KY         67089828688
84528248977537   TERESA       BUNKER                    NV         90013082489
84529617341275   PETER        JACKSON                   PA         90009476173
84531885271977   ELIJAH       WISTHOFF                  CO         38050818852
84532242691975   MARIA        GOMEZ                     NC         17055332426
84532373691837   KATOYA       MACKEY                    OK         90012733736
84532438771977   ANTHONY      CHAVEZ                    CO         90013234387
84533526591837   SHANEE       RICHARD                   OK         90010975265
84534329547897   PAYGO        IVR ACTIVATION            GA         90009573295
84535265677537   ADELA        MONTANO-VALDEZ            NV         90015112656
84535359485936   MICHAEL      ROLAND                    KY         67000973594
84536666541262   RUSSELL      MILLIKEN                  PA         90012396665
84537478541275   MATTIE       HAYNES                    PA         90013934785
84537894991975   THEODORE     ANELONE                   NC         90014398949
84539225984336   FRANKLYN     RODRIGUEZ                 SC         90014162259
84541481791975   BRENDA       YOUNG                     NC         17051044817
84542484397138   JESSE        BROST LYLE                OR         44023494843
84542719777537   JANET        PRECIADO                  NV         43036977197
84543737747897   JERRELL      FAULKNER                  GA         14092847377
84544299151362   CHARLES      SMITH                     OH         90014772991
84545689393771   CHYNEE       EVANS                     OH         90013386893
84546129851362   LOWRENCE     WINSLOW 3                 OH         90014761298
84547145191837   JUSTIN       MATHIS                    OK         90013851451
84547161461928   STEVEN       SIMPSON                   CA         90006891614
84547396485856   REBECCA      CHESTER                   CA         90008913964
84547577761934   CARLOS       ESPINOZA                  CA         46084235777
84547712393771   REBECCA      GIBSON                    OH         90012687123
84548287471977   ALYYSA       TINLING                   CO         90014922874
84549617391975   CARGINA      TAYLOR                    NC         17011296173
84549951891837   DONOVAN      KIRWIN                    OK         21032559518
84551195697138   ANDY         YANG                      OR         90011061956
84551521941275   PATRICK      MORGAN                    PA         51083465219
84552232291975   KEVIN        BRANDON                   NC         90011082322
84552353991525   ALEXANDER    ANCHONDO                  TX         90010483539
84552497991975   SHERBY       ARCHIBALD                 NC         90011004979
84552761485963   RICK         MCCORMICK                 KY         90012467614
84553722571977   ERIK         SUTTON                    CO         90001227225
84554161191837   GAYLYNN      BURROWS                   OK         21053621611
84555344371977   ALEXA        DAVIS                     CO         90006663443
84557715772428   RUTH         KOONTZ                    PA         51001447157
84558515491837   ANGELA       DOWELL                    OK         90004255154
84558729385936   SUSAN        MARTIN                    KY         67090997293
84564122177537   ARLENE       TAUTOLO                   NV         43044361221
84564252261928   RUBEN        CISNEROS                  CA         90013942522
84564481541275   TIM          BELL                      PA         90013934815
84564824361934   RAUL         CONTRERAS                 CA         90008798243
84564826391837   JOSEPH       SCARLATO                  OK         90013018263
84566139693771   ANDRA        SANFORD                   OH         90015231396
84566349293771   LORI         MCCLANAHAN                OH         90007653492
84566858191837   SUAN         DAL                       OK         90013298581
84566934291975   ALFREDO      ESTRADA                   NC         90001099342
84567283791979   CHARLES      JOHNSON                   NC         90012702837
84569777641262   COLEMAN      VINCENT                   PA         90003047776
84571566181677   TAM          ETIER                     KS         29051485661
84571668761924   IRMA         FLORES                    CA         90013286687
84573349541262   MAURICE      FORTE                     PA         51034993495
84573691881677   LA SHANU     WALKER                    MO         90010966918
84574359541262   STEPHEN      DANIEL                    PA         90010063595
84578213951362   LINDA        BOLIN                     OH         90010532139
84579989577537   JOSE         SALAS                     NV         90012039895
84581179391837   FRANCISCO    CORDOVA                   OK         90008111793
84584172785936   JEFFREY      HOOD                      KY         90007751727
84585958577537   GUILLERMO    JUAREZ                    NV         90010679585
84586656761928   ANA          VAZQUEZ                   CA         46043366567
84586795472432   TRACEY       ELLIOTT                   PA         51003157954
84588958793771   CLAUDE       WILLIAMS                  OH         90007989587
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84589489691975   MICHAEL        THORNTON                NC         90014254896
84589856371977   ERNEST         MAES                    CO         90012788563
84589965361928   ROBERT W       DEGEN                   CA         90013159653
84591484751362   TANESHA        ABERNATHY               OH         90012654847
84591491241275   SHATERIA       COLLIER                 PA         90013934912
84591674241262   MAURICE        WILLIAMS                PA         90013706742
84592756291242   QWINTASHA      SMITH                   GA         90010267562
84592974997138   HEIDI          SAUCEDLO                OR         90004259749
84593187751362   CASANDRA       LENZLEY                 OH         90014761877
84594211451362   MISTY          RICHMOND                OH         90014762114
84594881185856   MICHAEL        KUMPIS                  CA         90013138811
84594989961934   MARTI          BATES                   CA         90010609899
84595659747822   QUIYAWNA       BROWN                   GA         90009906597
84598744161934   RICARDO        PEREZ                   CA         90011417441
84599378191525   VALERIA        ANCHONDO                TX         90010483781
84612965177537   JOSE           TORRES                  NV         43008849651
84613144591242   AM             HUNT                    GA         90010661445
84613148677537   PATRICIA       BARTEL                  NV         90003991486
84615166947897   JACQUELYN      RAINES                  GA         90009871669
84615269951598   ABDELLA        ADAM                    IA         90015092699
84617977341262   CHRISTINE      WARNEKE                 PA         90013129773
84618186885936   MICHAEL        GIBBS                   KY         90014081868
84621246441275   DARCELLE       CARTER                  PA         90013122464
84622217361983   JACQUELINE     MEZA                    CA         46088222173
84623336861928   KEVIN          SPELMON                 CA         46019603368
84623823985856   MARTIN         SANTIAGO                CA         90010208239
84624541391837   KHUP           MUNG                    OK         90012675413
84624649272432   BRAIN          LARUE                   PA         51002746492
84627542671977   JESUS          PACHECO                 CO         90009955426
84627693485856   DONNA          DESPRIS                 CA         46075306934
84627734285655   LESLIE         JANEY                   NJ         90002067342
84628456751362   AMBER          COLEMAN                 OH         90005764567
84629991171977   AMANDA         ATENCIO                 CO         90009419911
84631299191837   HOWARD         PENN                    OK         90015172991
84633193277537   JUVENAL        SANTIAGO                NV         90014641932
84635426571977   ELIAS          MARQUEZ                 CO         90014424265
84636641771977   CHRIS          MORA                    CO         90006136417
84637362181677   BRANDON        JONES                   MO         90010023621
84637438585856   DESIREE        CHAVEZ                  CA         90006994385
84637656977537   HOLLY          STOUT                   NV         90001236569
84637818493739   SAMANTHA       DORNON                  OH         90007608184
84638254351362   LATASHA        GEORGE                  OH         90014762543
84638448651362   DWAYNE         DURBIN                  KY         90010534486
84639876641262   WILLIAM        HOLSING                 PA         90010308766
84641556947897   LAKEISHA       BRASWELL                GA         90012525569
84641989191986   LUIS           CARDENAS                NC         90011029891
84642493785868   JUAN           SALINAS                 CA         90001674937
84642515291979   WILLIAM        WOMBLE                  NC         90013505152
84642614781683   BARBARA        VANDENBERG              MO         90005196147
84643418191837   KEYSHA         PHILLIPS                OK         21062534181
84644241571977   TRACY          KABER                   CO         90013572415
84645723533698   KIERRA         WILLIAMS                NC         90008987235
84646183551362   ROMONA         TAYLOR                  OH         66008921835
84646455691979   JAMOL          BLOW                    NC         90015284556
84646594961928   JOEL           MORALES                 CA         46064835949
84646632477537   ELIZABETH      ORDEONEZ                NV         43086156324
84647149785936   CAMERON        HOOTEN                  KY         67019691497
84647223385856   CHARLOTTE      MACERA                  CA         90014952233
84648956785936   JOSE           MEDINA                  KY         90015209567
84649461661978   KARAH          TIFELE                  CA         90013274616
84649663761928   SKYE           NEWTON                  CA         90009506637
84651167547897   EILEEE         GREEN                   GA         90010261675
84651812261928   BOBBIE J       FALLON                  CA         46081278122
84651991247897   VEVIAN         FREEMAN                 GA         90013639912
84652577541275   WILLIAM        BAUER JR                PA         51098355775
84652689393771   CHYNEE         EVANS                   OH         90013386893
84653428277331   LUIS GERARDO   PLASCENCIA              IL         90014154282
84654117785936   JESSICA        BARNES                  KY         90012551177
84654299951362   KATHLEEN       HARTLEY                 OH         90014762999
84654743847897   SHARONDA       MILLER                  GA         90013167438
84655666581671   CANDACE        MUTCHERSON              MO         90008116665
84656299951362   KATHLEEN       HARTLEY                 OH         90014762999
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84657494585936   HUGO             QUIROZ                KY         90006604945
84657734191979   MICHAEL          WILLIAMS              NC         90012937341
84658613591975   ISAAC            KING                  NC         90011086135
84663369961934   SAHRA            HOSTEN                CA         90009253699
84664428487222   DINA             LASALLE               IL         90005074284
84665684571977   ZEKE             GONZALES              CO         90012896845
84666337791979   JESSE            WELLS                 NC         90013013377
84666457961934   ALEX             CRUZ                  CA         46033564579
84667341351362   SARA             WOERNER               OH         90014763413
84667699291837   ERON             HOLBERT               OK         90014256992
84667797891975   SANDY            FERRERA               NC         90012827978
84668622685936   DONALD           MOORE                 KY         90010366226
84671955651362   THOMAS           SCHULZ                OH         66055329556
84671972891979   CARLOS           MATUTE                NC         90013559728
84672974191837   DIANA            AGUILAR               OK         90008149741
84673664585856   NAZIH            JAMALEDDINE           CA         90013946645
84674332551362   FRANCISCO        GONZALES              OH         66094193325
84675267861928   MARTHA MARIBEL   ROBLES-SOLIS          CA         90014132678
84675449191837   LAQUITA          CARTER                OK         90009994491
84675542181677   KING BLUE        DE FOO                MO         90010825421
84676488641275   DARRYL           KEEN                  PA         90014494886
84676964141247   ALISON           MCDONOUGH             PA         90000109641
84678728781677   CELESTINE        ANTU                  MO         90004047287
84679457884347   CHERYL           DRIGGERS              SC         90001244578
84681333747897   VAKIA            ALLEN                 GA         90014053337
84682265251362   KERRI            WAGLAND               OH         90013362652
84682371533698   ANA              LIRA                  NC         12011203715
84683458771977   MICHELLE         MARTINEZ              CO         90013784587
84684298693771   DENISE           GREGORY               OH         90014702986
84684564191242   KEITH            SAXON                 GA         14547525641
84685113493783   TERSIA           JOHNSON               OH         90007971134
84685846261934   AARON            LANARY                CA         90006928462
84688351181677   MICHELE          FLUKER                MO         29033883511
84689719691943   MARTIN           BALTAZAR              NC         90001137196
84691556651362   AMBER            SMITH                 OH         90010535566
84691685493771   SHANE            DOSS                  OH         64524326854
84693344141275   MELINDA          BRUNGER               PA         51081853441
84693841261934   REYNA            GONZALES              CA         90011978412
84693962451362   JENIFER          ROWE                  OH         90005639624
84695883671977   STEPHEN          DERUDDER              CO         90012368836
84697674151333   JENNIFER         DONNELLON             OH         66030366741
84698962451362   JENIFER          ROWE                  OH         90005639624
84699183777537   DARREN           WHITTAKER             NV         90015181837
84712115957127   CYRENA           SALLEY                VA         81007401159
84712226761934   MARCELA          INIGUES               CA         46061012267
84712474185936   MARILYN          JENKINS               KY         90008094741
84712819841275   SUSAN            J JAMES               PA         90000938198
84714359593772   JEREMY           HARDIN                OH         90011543595
84715745771977   ANTHONY          FRIEND                CO         90012837457
84716431761928   TERESA           ZAMARRON              CA         90009664317
84718353941262   JIM              YOGLING               PA         90013723539
84719146791975   MICHAEL          STRONG                NC         90003821467
84721427171977   CARLA            GIRRATANO             CO         90012254271
84721641391242   TONJA            DAVIS                 GA         14522396413
84721837361934   LASHELLE         DENISE                CA         90009338373
84722158991523   PATRICIA         ZAVALA                TX         75073911589
84722538247897   EDGARDO          DELGADO               GA         90010295382
84723619285936   JODI             HALL                  KY         90009046192
84727691671977   DEANNA           ORTIZ                 CO         38086526916
84729186885936   MICHAEL          GIBBS                 KY         90014081868
84729312485856   STEPHEN          PHILIPP               CA         90015253124
84731536791837   MALISA           KIRKPATRICK           OK         90013925367
84732897171977   BARBARA          LANE                  CO         38053568971
84734191485856   CEDRIC           WASHINGTON            CA         90013521914
84734318751362   RANDALL          DARNELL               OH         66002503187
84735962591837   CHARLES          FUGERSON              OK         90014559625
84736127591979   JOSE             ANDRADE               NC         90011621275
84736155985856   SUSAN            LANCE                 CA         46070901559
84736585947822   CHRISTINA        WALKER                GA         90013775859
84738923377537   EDWARD           KLOSTERMAN            NV         90015139233
84739284491979   LAUREN           BLUE                  NC         90013772844
84741877985856   ANNE             GLASSEY               CA         90013948779
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84741914741275   FABIAN             HENRY               PA         90014919147
84742276341262   GINGER             WAUGH               PA         90014122763
84744516241275   LINDSAY            PARRILLA            PA         90014495162
84745513291975   SHERRY             ONEAL               NC         90015095132
84745655891979   TANISHA            BOWIE               NC         90013816558
84745761733661   COREY              MCILWAINE           NC         90011587617
84746826981677   LUIS               CEDRES              MO         29014978269
84747298641262   DANA               KING                PA         90007892986
84747383371977   OLIVIA             GUTIERREZ           CO         90014313833
84747435261988   DHIA               IBRAHIM             CA         90003484352
84747843172432   DAVID              TUROCY              PA         51035538431
84748523371977   BRANDON            JARAMILLO           CO         90009615233
84749696485856   STEVE              BYERS               CA         90010216964
84752728593771   JOHNNY             TRVELOVE            OH         90014767285
84755691485936   LINDA              WHITTLE             KY         67001506914
84755728791979   CHARLENE           HARRIS              NC         17081137287
84756256241275   RANDY              ELKO                PA         51019952562
84757182593763   CAROL              LENHART             OH         90006311825
84757494661928   MARIA DEL CARMEN   PAVAN               CA         90009604946
84758943847822   DIANNA             HOLLINS             GA         14081849438
84759171241272   KRISTEN            TRACEY              PA         90014841712
84759264733698   MICHELLE           WHITING             NC         90005252647
84761299685856   JOSE               HIDRER              CA         46057992996
84762275885936   ARNATHAN           CLARK               KY         90014172758
84763278671977   CATHERINE          NIGHTINGALE         CO         90014712786
84763387993771   AMIE               PUTERBAUGH          OH         64569943879
84764617761928   WAYMON             EDDINGTON           CA         90008976177
84765633681677   TERRANCE           SCOTT               MO         90011126336
84766287471977   ALYYSA             TINLING             CO         90014922874
84766599661934   EZEQUIEL           GUERRERO            CA         90010615996
84767131485856   CRISTINA           OCAMPO              CA         90013951314
84767457161935   LUIS               SANTOS              CA         90010174571
84769415891837   MARIA              DURAN               OK         21075364158
84769743885936   PAULA              DUNN                KY         67060607438
84772188191975   CEJAE              BRISCOE             NC         90001821881
84772451572432   ROBERT             MILAN               PA         51066694515
84772575591979   AHMED              ABDEN               NC         90011895755
84774434941262   JOSHUA             COVINGTON           PA         90013004349
84774777251349   AARON              JONES               OH         90015217772
84778194861928   BETHSABELT         MARTINEZ            CA         90011591948
84779458941262   ADRIENNE           MURRAY              PA         90011174589
84781163691979   ANGEL              GARCIA              NC         90011531636
84781251141262   BOBBIE             GIRSON              PA         51077862511
84782921777537   ALICE              WILLET              NV         43004119217
84783967377537   SALVADOR           CORONADO MEZA       NV         43076819673
84784221691975   JUDY               SPEIGHT             NC         90002272216
84786448872451   BONNIE             OVERLY-BIAGINI      PA         51059464488
84787169141275   STACEY             GREEN               PA         90005261691
84787238591979   STARLETTA          MUSUNGAY            NC         90014922385
84788965991837   MARIA              WEST                OK         21006549659
84794194941262   GERRY              VERNTURA            PA         90001831949
84794358441275   EUNICE             SAYLES              PA         90010723584
84795991741275   TAMMIE             KREPP               PA         51055859917
84796235291979   TIFFANY            KING                NC         90011532352
84796293793771   KYMYA              BLACKMON            OH         64591632937
84796747972432   THOMAS             KING SR             PA         51005317479
84813429191242   CAROLYN            REEDY               GA         14589904291
84813781161928   ALYSON             MCCREERY            CA         46048987811
84814452551362   DAMARIS            MERCADO             OH         90009924525
84815427247897   JORDAN             HAYLES              GA         90014564272
84815491591525   ANA                ESTRADA             TX         90007584915
84815885541275   RUSSELL            CONNORS             PA         51005478855
84817834193771   EMILY              CHRISTIAN           OH         64565958341
84819812591837   MICHAEL            GREGG               OK         90014828125
84819947697138   RYAN               KLOCK               OR         90009549476
84822213141262   JIM                BRONSON             PA         90011442131
84822624393771   BRITTANY           POWE                OH         90013826243
84823224184336   MANEL              GARCIA              SC         90012052241
84823526985856   CELIDA             JIMENEZ             CA         46049985269
84829422191837   BRITTANY           WHITE               OK         21044514221
84831193585936   PAUL               HUFF                KY         90001641935
84831562485856   MIGUEL             GARCIA              CA         90013955624
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84833258791975   TESFAY           TESFAMEHRET           NC         90009182587
84833328641262   BRIAN            COLON                 PA         51067433286
84833449591242   LYANNETTE        LINDSAY               GA         90010784495
84833923597138   JAIME            PICKERING             OR         44021369235
84834113391837   PATRICK          SIDNEY                OK         21065111133
84834457777537   KAREN            HART                  NV         90012054577
84835151193771   KEITH            TRUESDALE             OH         90014291511
84836451885963   REGINA           FURLOW                KY         90013364518
84837181861928   LORENA           JERONIMO              CA         90011261818
84837368391975   HASSAN IBRAHIM   ALI                   NC         90012473683
84837652141262   KEITH            GOLLING               PA         90014846521
84838577391837   PHILLIP          HARRIS                OK         90010065773
84838991493771   LAURA            COMBS                 OH         90013559914
84839497381677   ANGELA           MCCORD                MO         90012204973
84839596393771   JAMES            TAYLOR                OH         90012055963
84839665177537   JOSE             HERNANDEZ             NV         43056446651
84841567885856   EPIGMENIO        BURGOS                CA         46006185678
84844235871977   CRYSTAL          WEST                  CO         90010622358
84848562371977   TEENA            DODSON                CO         38003855623
84849726185936   RANDALL          JOHNSON               KY         67035777261
84851992551362   RENAY            LAMB                  OH         66039889925
84852639485856   YOLANDA          PERALTA               CA         90013956394
84852822333698   KARY             PACHECO               NC         12048448223
84854416141262   VANITA           MULDOW                PA         51045224161
84855554391837   SANDRA           DANIELS               OK         90014545543
84856663791837   ERIKA            FERGUSON              OK         90011206637
84857396891975   CANDI            SANDERS               NC         90011113968
84858578872451   MAKAYLAHMARIE    EXUME                 PA         90012505788
84858934291979   ALFREDO          ESTRADA               NC         90001099342
84858954171977   CHRIS            GILLESPIE             CO         90014879541
84859783797138   MARCELA          PIMENTEL              OR         44076787837
84861484685936   LUSAMBO          MUDERHWA              KY         67087034846
84861692261928   ELIZABETH        MALDONDO              CA         90010426922
84861771641262   JAMES            CLOONAN               PA         90012097716
84861859591975   DAYMON           HUGHES                NC         90015068595
84862692391837   ASHLEY           WILLIAMS              OK         90010976923
84864883677537   LELESIA          PEREZ                 NV         43088428836
84867837351362   ROBERT           FOSTER                OH         90012098373
84867874471977   ROXANN           ORTEGA                CO         38088378744
84868425277537   KAY              OWEN                  NV         90004324252
84871989185936   SHAWNNEE         JONES                 KY         67021719891
84872229991837   TONYA            MORRIS                OK         90008122299
84872526985856   CELIDA           JIMENEZ               CA         46049985269
84872917741262   LUCRETIA         LIGHTFOOT             PA         51092179177
84873518197138   TAMARA           L ASHER               OR         90005715181
84873649291975   ROBERT           TICKLE                NC         17049266492
84873868177537   ANDREW           SELOVER               NV         43005998681
84874784891979   LEE              HARRIS                NC         90013377848
84874893681672   JACQUELYN        FOX                   MO         29040698936
84875841161934   MARIA            GARCIA                CA         90008608411
84875892372451   DESIREE          EXUM                  PA         90012358923
84878247461951   JOSE             ORTIZ                 CA         46066922474
84878464791979   EDNA             HINTON                NC         90014874647
84878743391975   NELSON           HERRERA               NC         90008427433
84879577733698   KATRINA          WILSON                NC         12003985777
84881364661934   FABIAN           URISTA                CA         90013343646
84881729585856   SHEILA           SERRANO               CA         46052477295
84882855991242   BRIGITTE         WILLIAMS              GA         90010058559
84882964185649   TOYA ANN         EDMEADS               NJ         90004209641
84884765241262   MARSHA           SEATON                PA         51001977652
84884833191837   KIJUAN           NELSON                OK         90008498331
84884835377537   SHALEAH          COOK                  NV         90014288353
84885886291837   CODY             SOWERS                OK         90014738862
84885918385936   ALFONZO          ATTAWAY               KY         67085939183
84886131691975   AMBER            HUDSON                NC         90013021316
84888312293771   PAULINE          ROBERSON              OH         64595983122
84888935477537   SEAN             BODINE                NV         90010229354
84891524471977   CARA             DAKE                  CO         90007885244
84892121361928   ROGELIO          MARTIN                CA         90014951213
84894581471924   DEREK            SALAZAR               CO         90008285814
84895424491975   LEIDY            MEJIAS                NC         90013234244
84896322693771   SHAWN            PAULEY                OH         90011593226
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84896975885936   DENISE         WATKINS                 KY         90011149758
84897472271977   ANGANETTE      MARTINEZ                CO         90013104722
84897521547897   KAYANNA        BANKS                   GA         14098305215
84897843491837   DONNA          SANOGUET                OK         90009938434
84911162451362   HOLLY          BURMAN                  OH         90014781624
84911542141275   ICESS          WILLIAMS                PA         90008095421
84912168751362   JULIETTE       COLEMAN                 OH         90014781687
84912459161928   JOHN           MERTZ                   CA         90011594591
84912715885936   RACHAEL        WHITE                   KY         90007717158
84913425261934   CHRISTIAN      RAMOS                   CA         90009264252
84913996197138   KELLY          CHAREST                 OR         44062269961
84914164291979   KETH           GRAHAM                  NC         17000631642
84914639677537   JOSE           ZARARTE                 NV         90010836396
84915717791837   TROY           DRIVER                  OK         90012177177
84917126791975   YOLANDA        BOWMAN                  NC         90014711267
84917917961928   ANDREA         SOLIS                   CA         90000519179
84918888247897   MARIE          GILBERT                 GA         90008098882
84919336981677   ANNJANETTE     SANDERS                 MO         90002453369
84925147285856   YVONNE         LUCAS                   CA         90013161472
84925354891583   BENITO         REYES                   TX         90001693548
84925796197138   JUSTIN         PHILIPPS                OR         90011357961
84926558991975   KIMBERLY       MEDLEY                  NC         17090875589
84927179951362   TIFFANY        SIMPSON                 OH         90014781799
84927361177537   LEONEL         CARPIO                  NV         43084353611
84931536591979   JULIUS         EXUM                    NC         90012605365
84932126391979   CHARLIE        RUSSELL                 NC         90014171263
84932236932551   PATRICIA       ARRIOLA                 TX         90014762369
84932744377537   AMANDA         CHRISTIAN               NV         90011397443
84932764633698   DAVARES        BURNETT                 NC         12011607646
84933212451362   ERIC           OVERFIELD               OH         90014782124
84933787397138   CHRISTINA      BRAVO                   OR         90011357873
84934511161928   CASHARIA       MOORE                   CA         90012025111
84934518691975   VINCE          ROCHO                   NC         90013285186
84934637691979   RUTH           SMITH                   NC         90012676376
84934638433698   MELISSA        SCALES                  NC         12057076384
84937452247897   SHAWN          GAINES                  GA         90009344522
84937659571977   ROSALIE        MAESTAS                 CO         38057466595
84938138591979   SHARON         DUNN                    NC         90015171385
84938435541262   MARIE          YEAGER                  PA         90010534355
84939549377537   ULISES         ADAME                   NV         90010345493
84939835877537   YESENIA        RIOS                    NV         90011548358
84941546485856   MARCELINO      GASPAR                  CA         90006595464
84942473761934   ARACELI        GALVAN                  CA         90011684737
84943228251362   AMBER NICOLE   DAWSON                  OH         90014782282
84945228251362   AMBER NICOLE   DAWSON                  OH         90014782282
84946282761928   ROSALINDA      CORDERO                 CA         90014472827
84947259951362   EDWARD         COLLINS                 OH         90011272599
84947435541262   MARIE          YEAGER                  PA         90010534355
84948939191975   GIANNA         VELLETTA                NC         90014569391
84949513891975   ALEX           MERCHANT                NC         90008095138
84951165185936   RAHIM          HALL                    KY         90014661651
84952214361928   KARL           FREDELYN                CA         90008932143
84952293781538   PAYGO          IVR ACTIVATION          IL         90014692937
84952388191979   MICHELLE       INGRAM                  NC         90011193881
84952735641275   ANDRE          SMITH                   PA         51000187356
84953793891979   RACHELLE       SIMPSON                 NC         90015117938
84953817391837   JOSEPH         MOTISI                  OK         90014828173
84954851861928   MARISA         STOCK                   CA         90002218518
84954857971977   ASHLEY         MALDONADO               CO         90011188579
84955878341275   MARY           WESTIN                  PA         90000238783
84958922261928   MONICA         SOLIS                   CA         90013549222
84959453841275   JANICE         NAYLOR                  PA         90014704538
84961551185936   SOFIA          GARCIA                  KY         90014225511
84961648385856   JEREMIAS       PALACIOS                CA         90011676483
84961694891979   MARK           ADAMS                   NC         90007516948
84961785291837   JESUS          MIGUEL                  OK         90001787852
84962549861934   ENRIQUE        MAZA                    CA         90011685498
84963577985856   OLGA           AYALA                   CA         46006705779
84963629872432   LYNN           HENDERSON               PA         51020016298
84963992641262   STEPHANIE      COOPER                  PA         90013129926
84964144491979   CARMELLA       CAMPBELL                NC         90012871444
84966662472432   BRIAN          LAWTON                  PA         51055416624
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84968154185962   LEKEYSHA     TUCKER                    KY         90009031541
84968271441275   AMANDA       ROYAL                     PA         90009402714
84968877447897   CANDYE       SMITH                     GA         90011498774
84969944391837   NIRE         ZETINA                    OK         21064839443
84971139641275   MONTE        MILLER                    PA         51092591396
84972877291523   BERTHA       VALADEZ                   TX         75087048772
84975139993771   BRYAN        BUTTS                     OH         90014741399
84975272451598   OZETT        SPENCER                   IA         90013262724
84975826161934   ARTURO       PANELO                    CA         90007008261
84977279972451   WYATT        GREEN                     PA         51096432799
84978824461994   JESSICA      RODRIGUEZ                 CA         46045158244
84979657971977   CINNAMON     HELLER                    CO         38037146579
84979891593771   CANDACE      ISBLE                     OH         64504308915
84983223191979   WILLIAM      SESSIONS                  NC         90013472231
84984234271977   ERNEST       DELONG                    CO         90012202342
84984694251333   TIFFANY      HOWARD                    OH         90003136942
84984955281677   NAWL         BIK                       MO         90011429552
84986625191837   AMANDA       DAVIS                     OK         90008736251
84986946481677   KAREN        PUCKHABER                 MO         29046189464
84991124347871   SHEKINA      HARRIS                    GA         90011641243
84991514291837   KIMBERLY     WATKINS                   OK         90013395142
84993753741272   APRIL        GRYBEL                    PA         90012097537
84995713493771   ALENA        DODSON                    OH         90009577134
84995812591979   MARISSA      THOMAS                    NC         90011918125
84995841861935   JOSE         PLAZA                     CA         90008798418
84996823781677   GILBERTO     AMPARAN                   MO         90014818237
84998134641262   ROBIN        HLAVAY                    PA         51097101346
84998785385936   ANNA         FRANCIS                   KY         67094987853
85111299891324   MICHAEL      SANDATE                   KS         29053522998
85111647571977   CATHLEEN     VASQUEZ                   CO         90015256475
85111944161928   TYRONE       JOHNSON                   CA         90014699441
85111947291837   GUY          BULLTAIL                  OK         90012759472
85113116741262   GORDON       BRYANT                    PA         90010121167
85113378277537   ROSIO        OROZCO MARQUEZ            NV         90012343782
85113796755945   JORDAN       MARTIN                    CA         90010977967
85113852755971   MARIA        AGUIRRE                   CA         90013178527
85114413255971   JENEPHER     SANCHEZ                   CA         90014184132
85114433391324   JAMES        JONES                     KS         90014694333
85114462433698   MANASHA      GUY                       NC         90012714624
85115659671977   KRYSTAL      AUSTIN                    CO         90008736596
85116549685856   CLINT        LATHROP                   CA         90009625496
85116624661928   APRIL        CAMBUNGA                  CA         46068446246
85118217133698   GEROME       GOMEZ                     NC         90014182171
85118856391975   JOSE         BETANCOURT                NC         90010798563
85119865133698   JOHN         MIDDLE                    NC         90014178651
85121266555945   PATRICK      MCCARTHY                  CA         90000612665
85121734385856   JAQUELINE    SORIANO                   CA         90008627343
85121759147897   ANGELECK     BROWN                     GA         14016097591
85122331641275   MELISSA      KANDCER                   PA         51030733316
85122558371977   KATEY        LOPEZ                     CO         90013725583
85122875185856   AMBER        FALLS                     CA         90008628751
85123991591324   MIRNA        BONILLA                   KS         90010959915
85124539891975   ADRIANA      ZAMBRANO                  NC         90006175398
85125474791837   JULIO        ALVARADO                  OK         21009984747
85126449671977   SARA         PICCO                     CO         90007714496
85127999655971   ANITA        RODRIGUEZ                 CA         90007039996
85128196897138   REBECCA      JONES                     OR         44055921968
85128271541262   WILLIAM      LEMON                     PA         51062642715
85128893133698   KEEONDRA     BARRETT                   NC         90014178931
85128894355971   MICHELLE     CHAVIRA                   CA         90012878943
85129846577537   CARLOS       VASQUEZ                   NV         90014218465
85131315891979   SCOTT        LYNCH                     NC         90011103158
85131458693771   PATRICIA     SHIELD                    OH         90014724586
85133787455971   JENNY        DE LA CRUZ                CA         49083857874
85134187961928   ANGELA       GARCIA                    CA         46092331879
85136118391837   ASHLEY       WHITEHEAD                 OK         90014691183
85138782541262   SYLVIA       KING                      PA         90008177825
85139611491324   ROSA         HERNANDEZ                 KS         90013076114
85141724191837   BRENDA       LONG                      OK         90012747241
85141929591975   EBONY        BRISTOW                   NC         90013929295
85144522647897   ANTHONY      COLLINS                   GA         90012025226
85144967291941   TORRY        PERRY                     NC         90011829672
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85145291397138   KENNETH       HOSKINSON                OR         90011192913
85147929693771   MICHAEL       MOORE                    OH         64500409296
85147997881677   TOSHIBA       GREEN                    MO         90002919978
85148467191242   CHARLOTTE     PERKINS                  GA         14580114671
85149786755971   ANDREW        GONZALEZ                 CA         90011037867
85151189655945   TERRI         CHAMBERLAIN              CA         49061001896
85151223681677   TORRI         HUBBARD                  MO         90012512236
85151671371977   VANESSA       MONTANO                  CO         90014276713
85151696693771   NANNETTE      KING                     OH         64593236966
85151783797138   ROGER         WILDER                   OR         44076127837
85152841855971   ALMA          HERRERA                  CA         90013668418
85153544277537   SIBYL         BOLENDER                 NV         43089375442
85154339491975   EMILY         HOBAN                    NC         90014483394
85155284861963   FERNANDO      AGUIRRE                  CA         90010042848
85155825361928   ADRIANA       BENITEZ                  CA         90008728253
85155857991525   ROCIO         HERNANDEZ                TX         90012248579
85156413247897   KAMEIKA       DAVIS JOHNSON            GA         90007534132
85156449633698   ERICA         SHUBERT                  NC         90012954496
85156572861928   JOE           NESON                    CA         90013535728
85157431397138   ASHLEY        GREEN                    OR         90006024313
85159126261983   REANA         KEY                      CA         90010631262
85159194381677   RONALD        ANDERS                   MO         29002301943
85159526533698   MARSHALLIA    MILLER                   NC         12015165265
85159864571977   RACHEL        ALCON                    CO         90004258645
85159953271977   MICHELLE      DURAN                    CO         90014909532
85161258271977   LEONARDO      PALMA                    CO         90010322582
85162659755971   FRANCISCO     LUNA                     CA         90005756597
85165563555971   SALVADOR      ROBLES                   CA         90001235635
85166141291324   ALFREDO       RAMIREZ                  KS         90004201412
85166283893771   PEDRO         GARCIA                   OH         90003732838
85167161997138   VANG          YANG                     OR         90011971619
85167952181677   MARGARITA     PARRA-DIAZ               MO         90014129521
85168396333698   MIRANDA       BROWN                    NC         90011083963
85169441555945   ISRAEL        GARCIA                   CA         49055394415
85169555197138   BRANDON       LOVEALL                  OR         90012385551
85171369861928   JUSTIN        OGANS                    CA         90002803698
85171484784333   ROMAN         LARIONOV                 SC         90009524847
85172265361928   ALLEBEL       BAYOUH                   CA         46083292653
85173121155945   SERVILLE      NEWCHURCH                CA         90013691211
85174835771977   GILBERT       MUNOZ                    CO         90010318357
85176121597138   ELIZABETH     ROMERO                   OR         90015191215
85176213291975   KARINA        SOSA                     NC         90012642132
85177245685856   TODD          GROSS                    CA         90006392456
85177546591979   CYNTHIA       ANTHONY                  NC         90000155465
85179437741262   KRISTINA      JACKSON                  PA         51096344377
85181472785856   WAYNY         ESCALERA                 CA         90008634727
85181573755945   LUIS          RAMIREZ                  CA         90011715737
85182364361928   JORDAN        KAUFENBERG               CA         90014763643
85182463391837   DAVID         HAYNES                   OK         90008524633
85183738955971   SEBASTIANA    ACEVEDO                  CA         90012997389
85183997833698   MIKE          WILLIAMS                 NC         90014179978
85185832155945   MARIA         GOMEZ                    CA         90013968321
85188158597138   KRISTY        VALENCIA                 OR         90007681585
85188217355945   HERACLIO      REYES VILLEGAS           CA         90013632173
85189426591324   ANDREA        SHORTER                  KS         90013724265
85191765361928   VIRGINA       MOYA                     CA         90014617653
85192599647897   ASHLEY        STANLEY                  GA         90013315996
85193771791975   EMMIT         SMITH                    NC         90004257717
85193948291324   SERGIO        ROJAS                    KS         90015189482
85194814751362   JENNIFER      NICE                     OH         90005748147
85196273885946   LIDIA         DOMINGO                  KY         90012502738
85196762171977   STEPHANIE     LUCERO                   CO         38034807621
85196883355971   ALFONSO       JACME                    CA         90013668833
85198214491979   CHRISTOPHER   BOONE                    NC         90013402144
85199613361928   THERESA       EDWARDS                  CA         46074436133
85199972641275   SKITTLEZ      WILSON                   PA         90008429726
85199979693783   CARMEL        NORRIS                   OH         64584239796
85211785255971   MADERA        CALI                     CA         90014187852
85212888177537   SIERRA        LEGG                     NV         43000088881
85213985177537   TANDRA        WALKER                   NV         43041389851
85215221993771   RANDY         HEDRICK                  OH         90014152219
85215518947897   JACQUELINE    COOPER                   GA         90012065189
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85216919166177   PATRICIA     MUNOZ                     CA         90015359191
85216954597138   TYRA         GONZALEZ                  OR         90014059545
85217794655971   ARMANDO      AYALA                     CA         90014187946
85219246755945   HERIBERTO    CORTES                    CA         90013732467
85219639391324   MEGAN        FASCHING                  KS         90013556393
85219766357531   RAECHELLE    TERCERO                   NM         90013857663
85223958391975   SAUL         CUEVAS                    NC         90013929583
85224994971977   MARK         ALGIEN                    CO         38055879949
85225441691979   VAULDEMAR    BAUTISTA                  NC         90013724416
85226614455945   DEBORAH      HAGAN                     CA         49021756144
85229279191979   JOSE         GOLANZES                  NC         90008702791
85229732677537   JONATHAN     RAGONESE                  NV         90013797326
85231426691979   KIMBERLY     COOK                      NC         17076664266
85231816391975   ERIN E       REJHOLEC                  NC         17049918163
85232444655945   STEPHANIE    ROMERO                    CA         90014834446
85232711141275   KATRINA      BLYE                      PA         51042927111
85232711181677   MONICA       SEYAM                     MO         90013757111
85232853551362   ROSE         TODD-STANFORD             OH         66027388535
85233267841275   STEPHANIE    CLAWSON                   PA         90014762678
85233583447897   ALEIAS       JOHNSON                   GA         90005085834
85233881133631   DUSTIN       PUCKET                    NC         90001638811
85234123591979   FRITZ        DYER                      NC         90003081235
85234636155971   SILVIA       GALVAN                    CA         49073086361
85235374377537   CARL         PAGNI                     NV         90014443743
85237423141275   JOHN         THERINGTON                PA         90013614231
85238152251362   MICHELE      HAGER                     OH         90003151522
85238541271977   SHEM         MARTINEZ                  CO         90012845412
85238699941262   NICOLE       WILLIAMS                  PA         90002596999
85242159477537   DENNIS       PAINTER                   NV         90013361594
85242222147897   MIKE         WEST                      GA         14028992221
85244227971977   JOE          RODRIGUEZ                 CO         38010432279
85244484541275   RONDA        ANGERMERER                PA         90006754845
85245875241262   KIMEA        KARAM                     PA         90007468752
85248182185856   DION         NAUARRETTE                CA         46018171821
85248224961943   ALEJANDRO    SALMAN                    CA         90011212249
85248363655945   RICK         HERRERA                   CA         90013713636
85248919241275   LISA         DASCHE                    PA         90015129192
85249139871977   TAMELA       SANCHEZ                   CO         38015511398
85249224961943   ALEJANDRO    SALMAN                    CA         90011212249
85249823993771   JOSHUA       JOHNSON                   OH         90012438239
85251417341275   GERALD       TERRY                     PA         90009054173
85251867555971   SANTIAGO     FRIAS                     CA         49001708675
85252578971977   KARLY        KATSUMOTO                 CO         90012815789
85253346251349   JOHNAY       MOORE                     OH         66013913462
85253481141275   TIFFANY      ROLLERT                   PA         90010154811
85253519951357   BEN          BURNHIMER                 OH         90004525199
85254225681621   MARIA        GABARRETE                 KS         29068102256
85254647233698   SUSIE        CORREL                    NC         12089376472
85254765161928   ERIC         WRIGHT                    CA         46005537651
85255112155971   CRUZ         GARCIA                    CA         90011081121
85255312781677   NORMA        SAENZ                     MO         90014023127
85255426877537   STEPHEN      SHIPMAN                   NV         90013254268
85256636231445   XLAOMIN      NING                      MO         90014946362
85257319181677   AISHA        MILES                     MO         29044603191
85257398191979   DANLETTE     WAH                       NC         17042713981
85261424491975   LEIDY        MEJIAS                    NC         90013234244
85261864391837   AMY          JONES                     OK         90010458643
85262457291975   OSMAN        MENDOZA                   NC         90008664572
85263467691324   JANIS        BROADDUS                  MO         29069284676
85264632297138   JOANNE       MIRANDA                   OR         90010936322
85265877777537   CHAYSE       MUNOZ                     NV         90012238777
85266312891324   VONACIA      JOHNSON                   MO         90004783128
85266885251366   BENJAMIN     GINGRICH                  OH         90010408852
85267186955945   CRISTILDE    GUTIRREZ                  CA         90011031869
85269347433698   CYNTHIA      CHAPMAN                   NC         90013233474
85269683541275   NICHOLOS     DEBUCCI                   PA         90015476835
85271277171977   NEISA        HINTON                    CO         38004532771
85271299685856   KAREN        SHEPHARD                  CA         46086232996
85272839851372   ADETTE       GORDON-CRADDOCK           OH         66092878398
85272945855971   ANA          ESPINO                    CA         90008949458
85273551397138   JOSE         MARCANO                   OR         90013165513
85275245433471   MARKEESE     DAVIS                     AL         90011662454
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85275378161928   REBEKAH       FERRANTI                 CA         90008963781
85277362591979   TARRYN        GRAVES                   NC         90014613625
85281762984347   GUY           WEST                     SC         19074947629
85282321791975   CHARLES       BURKE                    NC         90012833217
85284632391837   JACQUELINE    RINNE                    OK         90014636323
85285729755971   MICHAEL       SUAREZ                   CA         90013297297
85286544677365   ANTHONY       BADEJO                   OH         20557435446
85286761193771   ADAM          ALEXANDER                OH         90007467611
85286963281677   DARNIECE      JOHNSON                  MO         29001019632
85287245191837   SONYA         MCCANN                   OK         21080142451
85288222533698   SAMUEL        SOX                      NC         90014182225
85289713451362   TOM           DELANEY                  OH         66018027134
85291825591837   PAYGO         IVR ACTIVATION           OK         90011508255
85291993577537   LISA          HARDWICK                 NV         90000799935
85292372555971   LUZ ELENA     OROZCO                   CA         49033923725
85292513377537   JENNIFER      HUBLER                   NV         90014815133
85292643893771   MICHAEL       WASIHUN                  OH         90001596438
85293886291837   GERARDO       MORALES                  OK         21065978862
85295186791837   JOSE          GUERRERO                 OK         90014041867
85295237451362   BARRY         REYNOLDS                 OH         90006512374
85295267755971   RODOLFO       RAMIREZ                  CA         90013052677
85295489841262   DENNIS        GAZATI                   PA         90006444898
85295645277537   MARIAH        CHESS                    NV         90014456452
85295819391979   ERIC          SANCHEZ AGUILERA         NC         90006338193
85296614191975   BOBBY         JONES                    NC         17096906141
85298756354194   JOSE          CASILLANOS               OR         90015407563
85311897471977   SHANNON       WELDON                   CO         90012748974
85312394677537   JOSE ARISTE   ARIAS                    NV         90014893946
85312939471977   CARRISSA      CROSBY                   CO         38030039394
85313298341262   L WILLIAMS    ROCHELLE                 PA         51027952983
85313449197138   HOLLIS        MCCLURE                  OR         44012204491
85316248933698   JESSICA       MARTINEZ                 NC         90014182489
85316862291975   NORA          MESA                     NC         90013918622
85318382891324   TERESA        MALDONADO                KS         90003833828
85318869941275   CHANELE       IANDIORIO                PA         90014898699
85319524691837   ANABEL        CHAVEZ                   OK         21054295246
85319917255945   TAMBRA        ASHER                    CA         90008309172
85321613233698   ELIZABETH A   LEE                      NC         90004896132
85322466497138   ALONSO        ALVAREZ                  OR         90014894664
85324228941275   THOMAS        NAYLOR                   PA         90014022289
85325249633698   LOLY          POLY                     NC         90014182496
85326319591979   TIA           DAVIS                    NC         90011103195
85326328977537   CHRISTOPHER   NEWHOUSER                NV         90015203289
85326573441262   STEFON        DIXON                    PA         90012395734
85328262233698   LOLY          FLOLY                    NC         90014182622
85331262533698   MICHELLE      OBAMA                    NC         90014182625
85331736141262   JUAN          CEDILLO                  PA         90002887361
85333385747897   JAMES         KING                     GA         14067853857
85334248991975   TANIKA        ZACHARY                  NC         90005132489
85336433191532   JOSUE         RIVAS                    TX         90010814331
85336533477537   JUANA         CRUZ                     NV         43027945334
85337278133698   ASHLEY        DIAZ                     NC         90014182781
85337338591242   EDDIE         ROBERTSON                GA         90013783385
85338489581677   ISAIAS        CAMACHO OLMEDO           MO         90015134895
85338742271977   MONIQUE       RODRIQUEZ                CO         90012557422
85339278233698   ANGELINA      JOLIE                    NC         90014182782
85339982177537   CHRIS         KLEBBA                   NV         43022219821
85342587355945   MICAYLA       WESSON                   CA         90014005873
85342595971977   JACQUELINE    GARCIA                   CO         90013085959
85345491741275   KATRINA       DUNCAN                   PA         90011994917
85345951797138   MARIA         ROBLES                   OR         90014939517
85346259197138   STEPHANIE     NICHOLES                 OR         90012272591
85347398641262   ALLISON       BRIDGETT                 PA         51015323986
85348462733698   NATASHA       WALL                     NC         90012974627
85349996297138   JULIETA       LARIOS                   OR         90014399962
85351232777537   FERNANDO      RIVERA                   NV         90009482327
85353748291979   WENDY         MARTINEZ                 NC         17089067482
85354196177537   TERI          EARL                     NV         43027691961
85356413447897   RAHEEM        WILSON                   GA         90014324134
85357114851337   KEISHA        GRIFFIN                  OH         90005631148
85357339791975   PANZO         MABIALA                  NC         90005133397
85357528191583   ARTHUR        TURZA                    TX         90011675281
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85358322851347   REAGAN       SWEAT                     OH         90004043228
85358339177537   JOSHUA       MCGRATH                   NV         90002893391
85358357233698   ANGELO       JOHN                      NC         90014183572
85361321491975   BRENDA       GILMORE                   NC         90012873214
85361367833698   SONYA        LUNG                      NC         90014183678
85361561197138   FRANCISCA    LARIOS GARCIA             OR         44091475611
85364322555971   ANA          ESTRADA                   CA         49006013225
85367961793771   FRANK        NELSON                    OH         90008409617
85369244291975   AMANDA       EASTON                    NC         90011682442
85369256641275   JUSTICE      HALL                      PA         90014762566
85369394533698   AMANDA       CLARK                     NC         90014183945
85371182191837   GLENDA       STEVENSON                 OK         90012831821
85373347541262   ROBERT       RICHARD                   PA         90013493475
85373552141275   JAMES        BROWER                    PA         51041375521
85373659891975   PETER        RIVERA                    NC         90011056598
85374449261928   JOANN        NORMAN                    CA         90013624492
85374528655971   ARNULFO      CASTRO                    CA         90015045286
85374582391837   RON          COLEMAN                   OK         90013445823
85376112441262   TRACY        MCKIVITZ                  PA         51019621124
85376417341275   TODD         CARMAN                    PA         90012474173
85379513461928   ANGELA       THOMAS                    CA         90010705134
85381172791324   SOCORRO      HERNANDEZ                 KS         90003041727
85382561455997   GARY         TAKEMOTO                  CA         90002225614
85382849293771   SARAH        BROWN                     OH         90014908492
85383767533698   MIRIAM       HERNANDEZ                 NC         90013127675
85384574791979   JONATHAN     GREENE                    NC         90014955747
85384582391837   RON          COLEMAN                   OK         90013445823
85384943133698   STACY        STANFIELD                 NC         90005259431
85385262455945   FRANK        ESTRADA                   CA         90014162624
85385465491324   WENDY        ANFINSON                  KS         90011324654
85386332436164   MICHAEL      PEREZ                     TX         90007843324
85386339381677   COLE         HICKS                     MO         90013133393
85386593255971   ISAAC        ROA                       CA         49060145932
85387113577537   MICHAEL      VALENZUELA                NV         90012781135
85387721455945   FLORDELIZA   KEPLINGER                 CA         90000477214
85387811347897   JUNE         JACKSON                   GA         90015068113
85389339381677   COLE         HICKS                     MO         90013133393
85389521991979   JENNIFER     CANNON                    NC         90014815219
85389528191583   ARTHUR       TURZA                     TX         90011675281
85389695391975   WILMER       ESTUARDO                  NC         90010406953
85389717177537   CARLOS       CHAVEZ                    NV         43027737171
85391991671977   RALPH        MONTEZ                    CO         38082209916
85392472593771   RHONDA       DAILEY                    OH         64503534725
85394292191242   SAMEERAH     ANJAIL                    GA         14513112921
85395246191979   MOMODOY      SONKO                     NC         17063032461
85395582433698   LAEISHA      ROBINSON                  NC         12087645824
85396243755945   LORRIE       JARRETT                   CA         90014802437
85396393771977   MORRIS       GADE                      CO         38074383937
85396785181677   RYAN         SWIFT                     MO         29015297851
85397129391975   ANGELET      CHERRY                    NC         90012261293
85397214291979   PARIS        LEACH                     NC         90011082142
85399771781677   MYRANDA      GILMORE                   MO         90011307717
85411441893771   DAVID        WALKEY                    OH         90011094418
85411725661928   CELERINA     FLORES GARCIA             CA         46090807256
85413548733698   WANDA        SYKES                     NC         90014185487
85413894657142   DAVID        BRAUER                    VA         90014798946
85414397491837   HEATHER      THOMPSON                  OK         90008123974
85414557433698   SHARKIESHA   BONQUIQUI                 NC         90014185574
85415144591975   AKINSOLA     OKUNSOKAN                 NC         90006551445
85417336793771   ZANEDA       BILLINGSLEY               OH         64559953367
85418578197138   KELLY        SUTTON                    OR         90005895781
85419296281677   AZHA         BROWN                     MO         90010882962
85421759271956   ROBERT       HEBLINGER                 CO         90012707592
85422271591979   SHANNON      CULVER                    NC         17029092715
85422784293771   HEATHER      FLANIGAN                  OH         90013987842
85423678471977   MICHAEL      RAEL                      CO         90014836784
85423895541275   HEATHER      MARTINEZ                  PA         90014028955
85424528291324   JACQUELINE   CORONADO                  KS         90014085282
85424962157133   ALAIDDIN     AHMED                     VA         81097639621
85425552571977   CHRISTEAH    MONTOYA                   CO         90013405525
85426175991324   TRISTAN      RUSSELL                   KS         90015131759
85428335771977   JOHN         WYGLE                     CO         90015423357
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85428469791324   CORNELIO     PACHECO                   MO         29011554697
85431132441262   RACHEL       DUNBAR                    PA         90013961324
85431533655971   MANUEL       GUTIERREZ                 CA         90015175336
85432617873294   IVELISSE     RIVERA                    NJ         90012006178
85433379691242   JESSICA      PARKER                    GA         90013013796
85433381691975   TYREE        THOMAS                    NC         90011033816
85433386655971   MARISA       RAMIREZ                   CA         90014753866
85434332391837   JASON        WILLIAMS                  OK         90010933323
85434479191975   ANTHONY      REISDORFF                 NC         90014484791
85434959193771   DEANNA       ELAM                      OH         90012689591
85435183277537   CHARLENE     LACLAIRE                  NV         43061791832
85435385455945   YSRRAEL      MOREYRA                   CA         90007593854
85436549377537   LELAND       KENDALL                   NV         90013225493
85437695433698   BOLLY        BOLLY                     NC         90014186954
85439956791962   GEISSA       PINELO                    NC         90011549567
85441913691324   PABLO        FLORES                    KS         90009629136
85444245191324   PAMELA       JOHNSON                   KS         90014372451
85445545781677   THOMAS       SHIELDS                   MO         90014945457
85447378791979   CHRIS        HALL                      NC         90014273787
85447853733698   IRLEN        MENDOZA                   NC         90001098537
85448594785856   SILVANA      CASTANEDA                 CA         46032475947
85449378491837   JUAN         DELGADO                   OK         90013263784
85449745491975   EBONY        HINTON                    NC         90005637454
85451494393771   ROCHELLE     WASHINGTON                OH         90006494943
85452174157135   EILEEN       WASNER                    VA         90002161741
85452184993771   WILLIAM      ARMOUR                    OH         90008341849
85452874191324   JUAN         TISCARENO                 KS         90013028741
85452878281677   RICHARD      VERGARA                   MO         90015278782
85454577591324   CHRIS        WILLIAMS                  KS         90011925775
85455119991324   JUAN CARLO   HERNANDEZ MORALES         KS         29047051199
85457176155971   ARTURO       LOPEZ                     CA         90015091761
85457552233698   KATRINA      BEIER                     NC         90013305522
85457932347897   AZZUKIHRUF   MORRIS                    GA         90013219323
85458689377537   ROBERT       FERNANDEZ                 NV         90015596893
85459426355945   GLOVER       DENISE                    CA         49043984263
85459464461928   BIANCA       POPPLEWELL                CA         90014484644
85463346871977   BARBARA      MOORE                     CO         38090973468
85463676161928   NOE          LOPEZ                     CA         90012696761
85466197533698   ASHLEY       VARELA                    NC         90010761975
85466828141232   MARK         TWAIN                     PA         90012478281
85471171955971   FERNANDO     SALAZAR                   CA         90011141719
85471344541262   TAMARA       PETTY                     PA         90013653445
85471584755945   BONIFACIO    RAMIREZ                   CA         90011045847
85471627493771   KIETH        SAMS                      OH         90011376274
85471884455945   SANDRA       CASAREZ                   CA         90014638844
85472587233698   JUSTIN       RANDOLPH                  NC         90005415872
85472763777537   ROBERT       GAMBOA                    NV         90009237637
85472991391324   PEACHES      HOLLY                     KS         90009069913
85473421555945   JESUS        BARAJAS                   CA         90001844215
85473425381677   ALPHONSO     VURRIS                    MO         90015114253
85473538847897   MICHAEL      MARTIN                    GA         14038955388
85475238351349   MARIAN       JONES                     OH         90013482383
85475561555971   AARON        JIMENEZ                   CA         90012915615
85476585291868   KRYSTAL      HYMON                     OK         90011255852
85476597841275   MARIA        BRUNO                     PA         90001025978
85477914155945   SHAWNA       DAVIS                     CA         90010349141
85479286671977   JOEL         NUZZO                     CO         90009462866
85482286941262   TAEVON       ZINEMON                   PA         90014862869
85483679581677   CATHERINE    BARTOW                    MO         29080726795
85485228491837   ANNA         DAVITO                    OK         90014102284
85485234855945   NADEAN       MORGAN                    CA         90015112348
85485579771977   ISAAC        ENCINIAS                  CO         90013285797
85486716147822   TOWANNA      DUNCAN                    GA         90014237161
85486839391979   ROBERT       ARRINGTON                 NC         90013928393
85486972591975   JAVIER       ARRONIZ                   NC         17039309725
85488686833698   ELAINE       REYNOLDS                  NC         90013046868
85489896571977   MICHAEL      DURAN                     CO         90014138965
85491318361928   ACOZTA       RITEA                     CA         90001993183
85491492833698   FELIPE       GALVAN MUNOZ              NC         90012964928
85491513855945   GEORGE       HAMILTON                  CA         49091405138
85491828161994   ROBERT       WHITE                     CA         46067968281
85492122971977   ESTELLE      ALMEDA                    CO         90013801229
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85492732533698   MARTIR        GONZALEZ                 NC         90012167325
85492787355971   JUDITH        SANDOVAL                 CA         90015097873
85493498971977   JOSEPH        MILLIGAN                 CO         90008994989
85494574841262   ANGELA        SCOTT                    PA         51057505748
85495875941262   DAVID         SUTTON                   PA         90003548759
85496277691979   QUINTANA      LEE                      NC         90012412776
85496615347897   SHYRETTA      BROWN                    GA         14007956153
85496859491324   EDITH         OLIVAS                   KS         29088768594
85496972181658   SONYA         BANKS                    MO         90010269721
85497217355945   JUSTIN        LEDESMA                  CA         90014912173
85498758991324   STEPHANIE     MEDLEY                   KS         90013557589
85499672197138   ANTHONY       MANKIN                   OR         90013996721
85499938991324   ERICKA        MEJILLA                  KS         90014919389
85499988851357   MIGUEL        GARCIA                   OH         90013519888
85511354347897   BRYANT        DANNY                    GA         90014173543
85511516251362   FRANKLIN      ADKINS                   OH         90006165162
85512584481677   TERESA        SINGLTON                 MO         90001925844
85513196363644   DEBORAH       SCHELBRINK               MO         27500271963
85513214491242   JEFFREY       BURFFORD                 GA         90001122144
85513462291979   JEAN JANICE   SANCHEZ WEIL             NC         90011494622
85513536741272   PHILIP        HOOPER                   PA         51048855367
85515578155945   ZACHERY       MULLINS                  CA         90012805781
85516912655945   KELLI         MCCLELLAND               CA         90013149126
85516951641262   KIMBERLY      MAUST                    PA         90014129516
85519822584325   WILLIAM       MORALEE                  SC         14570598225
85522367371977   TINITY        DABNEY                   CO         38008053673
85522873755971   LANAIE        MCALSTER                 CA         90008138737
85523371391979   TALIA         ANTHONY                  NC         90013293713
85524694951362   TARA          PENROD                   OH         90014246949
85526933577537   JOSE          LEMUS                    NV         90015259335
85527355141262   ROBERT        JOHNSON SR               PA         90014893551
85529598197138   MISTY         DAWN-GINEZ-              OR         90003695981
85531858681677   DAVID         LANG                     MO         90014928586
85533121893771   CORNELL       TRAMMELL                 OH         90004221218
85533681133698   JAMES         HOLMES                   NC         90010666811
85534931297138   JOSE          FAJARO                   OR         90015279312
85536223247897   TERESA        ROBERTS                  GA         90002662232
85536478155971   DEBRA         SUSTAITA                 CA         49049934781
85537114391837   DEBRA         MOORE                    OK         90009121143
85539787191975   TIFFENEY      GENTLE                   NC         90012147871
85541128671977   ED            BARELA                   CO         90000621286
85542985561928   DANIEL        FLORES                   CA         90010809855
85543396641262   CHILD         RUSSEL                   PA         51064353966
85543873777537   HECTOR        OVIDEO                   NV         90013228737
85545814993771   DENICO        CULPEPPER                OH         90001338149
85546559293771   RODGER        PAYNE                    OH         90014015592
85546674193771   RODGER        PAYNE                    OH         90011586741
85546861291979   KATRINA       TAYLOR                   NC         90010968612
85546874331449   DARRYL        RICHIE                   MO         90001478743
85547324541262   EMERY         DIXON                    PA         90012083245
85547699691979   CASANDRA      HOWARD                   NC         90010096996
85547831831449   YOLANDA       RICHIE                   MO         90001478318
85548816977537   RYAN          CHASE                    NV         90006448169
85548995691837   RONNELL       WILLIAMSON               OK         90003049956
85549815891837   WILLIAM       MILLARD                  OK         21074988158
85552487755945   RITA          GARCIA                   CA         90012504877
85552599955971   LUIS          ALBETO LUNA              CA         90005785999
85552795991979   CYD           ROMAN                    NC         90014787959
85555637171977   CISCO         CORTEZ                   CO         90010066371
85557714277537   PEDRO         SALAS                    NV         90015147142
85557799385856   ROGER         SHARMA                   CA         90006117993
85558331791324   MARIA         PANAMA                   KS         90014193317
85558392551362   TARA          PENROD                   OH         90012653925
85562484755971   RUBI          HERNADESZ                CA         90012864847
85563631971977   RAUL          ESTRADA                  CO         38012416319
85564189747897   BRITTNEY      BROWN                    GA         90014581897
85565334833698   YOLANDA       WILLIAMS                 NC         90007993348
85565485791837   DERRAI        HUFF                     OK         90005474857
85566158977537   MARIA         ANDRADE-OROPEZA          NV         90011811589
85566226391837   TARA          TAYLOR                   OK         90011492263
85566325341262   CHARNIKA      HARRISON                 PA         90013113253
85566622141275   CORNELIUS     MCDONALD                 PA         90012566221
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85567957841275   MARCELLA     WELLS                     PA         51070169578
85569183797138   MILAGROS     GARIBAY                   OR         90010711837
85569518941275   AMY          CEYROLLES                 PA         51022245189
85569546255971   JUANA        BECERRA                   CA         90000705462
85571352733698   MAVIS        GARNER                    NC         90013723527
85571958891837   JENNIFER     BENNETT                   OK         90010699588
85572145855945   ROSEMARY     PADILLA                   CA         90013681458
85573511381677   JEREMY       LOONEY                    MO         90009975113
85573921141275   MEGAN        SWEENEY                   PA         51048469211
85573957133698   REGINA       JOYNER                    NC         90013899571
85574688941275   JOHN         LAMBERT                   PA         51032906889
85575762697138   MARIELA      VALERA                    OR         90008907626
85575912191837   TASHA        WILLIAMS                  OK         90002989121
85575926491975   MAYNOR       VILLAGREZ                 NC         90013259264
85577158155971   MARCOS       SANCHEZ                   CA         90006301581
85577388671977   PAMELA       GIUS                      CO         38045273886
85577415647822   ALICIA       ALVAREZ                   GA         90002224156
85578238933698   SALINDA      JONES                     NC         12083542389
85578333241262   CHENAY       COX                       PA         51032903332
85582438691837   LYNN         SOLBACH                   OK         90012584386
85582526631451   DELISA       EDWARDS                   MO         90014385266
85582546655997   SERVANDO     CAMACHO                   CA         90010685466
85584167441275   OM           DHUNGEL                   PA         90010421674
85584836144393   GLORY        NWAKANMA                  MD         90000788361
85585676455945   MAI          MOUA                      CA         90014716764
85586165971977   BRANDON      SARMIENTO                 CO         90014761659
85586629391979   FELISA       LAVIN REYNOSO             NC         90004086293
85587284761928   ARENEE       MCLAIN                    CA         90009852847
85587513191532   GILBERT      LOPEZ                     TX         90003865131
85587742481677   MINNIE       STRAUGHN                  MO         90014307424
85587854971977   AIOTEST1     DONOTTOUCH                CO         90015128549
85591525661928   LEORA        OLSON                     CA         90008395256
85592864241275   JAMES        EHRENBERGER               PA         90009018642
85593847891979   CINDY        BURTON                    NC         90011068478
85597587355945   MICAYLA      WESSON                    CA         90014005873
85598311741262   MICHAEL      JAKSON                    PA         90013933117
85599464891324   GABE         HAMILTON                  KS         90013364648
85599956193771   JENNIFER     LANE                      OH         64512809561
85599995841262   CHERIE       JOHNSON                   PA         51077869958
85611134341275   LORRAINE     FLEMING                   PA         51058751343
85611695155971   DIANA        RAMIREZ                   CA         90011406951
85612524291979   JORGE        MATAMOROS                 NC         17030865242
85614117671977   LYNETTE      RODRIGUEZ                 CO         38074101176
85614195177533   ARACELI      REYNA                     NV         43017821951
85614222641262   JESSICA      WARE                      PA         90014852226
85615843281677   MITCHELL     GIBESON                   MO         90009048432
85616962593771   DARREN       HARRIS                    OH         90013399625
85617424251362   SHAWN        HORTON                    OH         66088634242
85617565591979   LINDA        DUNN                      NC         17042545655
85617787977537   PENDT        RUSSELL-SCOTT             NV         90011197879
85618482571977   LINDA        SMALLS                    CO         90011344825
85619923991979   THOMAS       BURTON                    NC         90011069239
85622627755971   ANTONIO      FRAUSTO                   CA         90014596277
85622897255971   ADAN         RIOS                      CA         90014618972
85623823281677   CHRISTINA    DAKESSIAN                 MO         90013388232
85625232157128   MARCELA      ANTEZANA                  VA         90013032321
85625488761928   DAVID        AVINA                     CA         90012494887
85626241941275   SHAWNELL     WILES                     PA         51040712419
85627358691975   ETHAN        MCEWEN                    NC         90014503586
85629118255945   FIDEL        VASQUEZ                   CA         90010591182
85629446971977   DESTINY      PACHECO                   CO         90010714469
85631423885856   ROBERTO      ALVARADO                  CA         90009034238
85631666381677   ANGELICA     HAENZ                     MO         90009716663
85632378841275   LAURA        GAETANO                   PA         51067003788
85632788255945   MIKELLBY     MCCARTHY                  CA         90013777882
85632965497138   ARACELII     RODRIGUEZ                 OR         90009239654
85633317271977   KEN          MCDANIEL                  CO         90014853172
85634736171977   ANDREA       VIGIL                     CO         38051467361
85634974351347   AARON        CRUMP                     OH         90001709743
85636632691324   LILIAN       GUERRERO                  KS         90006076326
85636877691979   MARIA        ESCOBAR                   NC         90011468776
85637268355971   MIGUEL       MENDOZA                   CA         90012742683
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85637369891975   LUCY          BLANCO                   NC         90010473698
85637976661928   NATHAN        PRESTON HALE             CA         90014959766
85638447631284   BEVERLY       BAINES                   IL         90010494476
85641478197138   JUAN          GOMEZ                    OR         44025064781
85642289191837   SARA          FRENCH                   OK         90007942891
85642938341462   TRINA         PHILLIPS                 WI         90013699383
85643596791837   LATISHA       WASHINGTON               OK         21027095967
85644168347897   JANICE        CATER                    GA         90014901683
85646424561928   KENNETH       RED                      CA         90012834245
85649837585856   RAMIN A       RAAYA                    CA         90010918375
85651476661928   PATRICE       GRAY                     CA         46007004766
85651511891979   FELICIA       COOPER                   NC         90009675118
85652428693771   TYRA          WALLEY                   OH         90001064286
85652466347897   MARQUISE      HOWARD                   GA         90014034663
85653793155971   ANTONIO       ESPINOZA                 CA         90014607931
85654311733698   ANGELA        MCKOY                    NC         90010063117
85654742377537   CLARA         CARRILLO                 NV         43037057423
85655511977537   JULIET        WOODS                    NV         90011055119
85656595741275   ROBERT        FERRY                    PA         90003745957
85656619547897   LAKEETA       BROWNER                  GA         14050206195
85656737297138   JEANENE       WOLF                     OR         44073127372
85657862377537   JAQUELINE     DELATORRE                NV         43000668623
85659836293771   TASHA         NEUKIRCHNER              OH         90003078362
85659875161928   HECTOR        ARMENTA                  CA         90012648751
85661177591324   JOE           SCHOONOVER               KS         90004901775
85662146984325   PETE          LONG                     SC         14571201469
85662325193771   WILLIAM       GONZALEZ                 OH         90014053251
85665286233698   JESSIE        PHILLIPS                 NC         90008902862
85666526241262   DAVID         VASAUEZ                  PA         90012455262
85667235293771   PHILIP        JAMES                    OH         90011662352
85667283893771   JESUS         JARILLO-SOSA             OH         90015022838
85667838861928   NORA          CORTEZ                   CA         90003138388
85671219393776   RANDALL       BURKE                    OH         90013432193
85672648941262   NEAL          HINTERLANG               PA         90010966489
85673524541275   KERRI         FITZGERALD               PA         90012305245
85673537991837   JONATHAN      GLENN                    OK         21047355379
85674277751598   MARY          BANAK                    IA         90014862777
85675232755971   LEE ARACELI   MARTINEZ                 CA         90013062327
85675474277537   CHRISTINE     STARK                    NV         90012704742
85675532971977   CRYSTAL       VALDEZ                   CO         90008435329
85676958197138   JENNIFER      BORLAND                  OR         44071789581
85677679141275   TERRA         BRIETIC                  PA         51004526791
85677969791979   SHERMAN       PERRY                    NC         90014569697
85678252172467   ZACK          MOORBY                   PA         90002332521
85678729891975   RODNEY        MARVIL                   NC         90009157298
85678949671977   BRIAN         LORENZO                  CO         90014879496
85681447571977   ERICA         BAROS                    CO         90000834475
85681474477537   ENEREIDA      MORA-BELTRAN             NV         90011284744
85681883341272   TIFFANY       MCINTOSH                 PA         90014028833
85682678471977   MICHAEL       RAEL                     CO         90014836784
85684234761466   MIKEL         CALSTON                  OH         90014822347
85684461555945   MARQUEZ       RITA                     CA         90011774615
85686633891979   GUILERMINA    CEDENO                   NC         90015146338
85689282791324   LEON          MERA                     KS         90003822827
85689311491837   MICHARL       DUDLEY                   OK         90009863114
85691875491979   DANIEL        PERES                    NC         90011958754
85692452447897   BARBARA       MAYS                     GA         14010554524
85692851433698   CHRISTOPHE    LOCKLEAR                 NC         12035248514
85693682761928   MILLEM        RESENDIZ                 CA         90010426827
85695139897138   SILVESTRE     ELIAS VEGA               OR         44036391398
85695163655945   BERNADETTE    HERNANDEZ                CA         49077421636
85695469871977   ALBERT        RAMIREZ                  CO         90003234698
85695491277537   DALIA         GONZALEZ                 NV         43074824912
85696385185856   KATHY         WHITE                    CA         90004013851
85697123681677   BRIAN         BROWN                    KS         90013671236
85698687251362   DEIDRA        WARREN- GOODE            OH         90013376872
85699474291975   BRIAN         BASS                     NC         90012334742
85699663547897   DAMEIN        OLIVER                   GA         90010386635
85712279891837   WINSTON       BARNES                   OK         21079842798
85712656891979   NICOLE        HARRIS                   NC         90014856568
85713371933698   CHARLES       EVANS                    NC         90013133719
85714422877537   RENE          AVILA                    NV         90002174228
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85715823461928   KATIA        PAPAQUI                   CA         90011998234
85715925884325   TAHERAH      BEATON                    SC         14596369258
85716561493771   RILEY        FREEMAN                   OH         90011095614
85718543591979   EBONE        DENPSON                   NC         90012765435
85718699271977   BEATRIS      RODRIQUEZ                 CO         90004776992
85721574797138   MA           THUZA                     OR         90015165747
85721768691837   DANA         FREEMAN                   OK         21079777686
85722853991324   FRANCES      DILLARD                   KS         90007558539
85725569191324   CHARLES      FITE                      KS         90014355691
85726689291324   MAY          TOE                       KS         90012226892
85726716391975   MONIKE       THOMAS                    NC         90012977163
85726754191975   MONIKE       THOMAS                    NC         90013637541
85727366691975   JAY          SCHEPKER                  NC         90013933666
85727693533698   JAMES        GILMORE                   NC         90013046935
85727855771977   AIOTEST1     DONOTTOUCH                CO         90015128557
85728357551362   COURTNEY     JACKSON                   OH         66063993575
85728793741237   CHRIS        LUDWIG                    PA         90010117937
85728811671977   REBECCA      SEGURA                    CO         90000368116
85729195591979   STEPHAINIE   GRIMSTEAD                 NC         90014311955
85729366691975   JAY          SCHEPKER                  NC         90013933666
85729756547897   SUMMER       THOMAS                    GA         90009747565
85731274955971   SOCORRO      HUNTER                    CA         90007932749
85732897561928   AKISHAH      HOLLAND                   CA         90013728975
85732925357128   VILMA        FUENTES                   VA         81054709253
85733782297138   CERDA RICO   JESUS                     OR         90000907822
85734691181621   MARK         BOWMAN                    MO         29090276911
85735569133698   DEZAI        TAI                       NC         90012325691
85737542741262   MICHELLE     WILBURN                   PA         90000285427
85738587347822   KIMBERLY     BUCKNER                   GA         90008065873
85739598291837   DANI         RIDNER                    OK         21058475982
85739722771977   SARAH        CLAPP                     CO         90013197227
85741568491975   SHAY         GRIMSTEAD                 NC         90013965684
85742583591837   WYLEETA      PATRICK                   OK         90007125835
85742731941275   STEFANIE     SHEHAND                   PA         51031487319
85743348847822   VERNIQUE     LYNN                      GA         90002783488
85743356891863   CAMILLE      LEWIS                     OK         90015203568
85744754681677   MICHAEL      HILL                      MO         90014627546
85745311991975   MEDARD       IRAKOZE                   NC         90014703119
85746332941262   CHANINGS     BUTLER                    PA         90013933329
85746986691324   DANIEL       WELCH                     KS         90002459866
85747816641275   SHAELIN      DELANEY                   PA         90013458166
85747999891837   MARIO        GARCIA                    OK         21037059998
85748898333698   NIKA         GARCIA                    NC         90012718983
85749771633698   DAWN         HARRIS SMITH              NC         90010437716
85751792633698   GLADYS       LOAIZA                    NC         90005207926
85752745191837   CHRIS        HARLESS                   OK         90014297451
85753171371977   VICTORIA     ROMERO                    CO         90010311713
85753349755971   ANGEL        LOPEZ                     CA         90005683497
85753984591975   BRENDA       GURLEY                    NC         90014919845
85754253791837   LARRY        FORTENBERRY               OK         21003812537
85755362455945   FELICIA      MARKHAM                   CA         90006963624
85755744291324   RAMON        LARA                      KS         90010257442
85756724677537   VICTOR       LOPEZ                     NV         90012107246
85757667241275   ALICIA       BROWN                     PA         90009306672
85757742791837   KERRI        ROGERS                    OK         90014907427
85759225871977   ADRIAN       RUIZ                      CO         38019822258
85759391891975   CHANEL       BANDY                     NC         90013983918
85759848841262   CHARLES      WILLIS                    PA         90014568488
85759858555945   SONYA        GONZALES                  CA         49082788585
85759964891837   JASMINE      BRENT                     OK         90015259648
85761218791324   ANESHA       MARKS                     KS         90005742187
85761329697138   IBARRA       LOURDES                   OR         90004043296
85762373785856   KLARI        OLENSKI                   CA         46061053737
85762382993771   GLENDA       JOHNSON                   OH         90013493829
85763379147897   SHERECA      KING                      GA         14072823791
85763423185856   ADAM         MELONI                    CA         90011644231
85763824793771   KARRIE       GENTRY                    OH         90014768247
85765345741262   WARREN       WHITLOCK JR               PA         90013933457
85765578471977   CORA         CARDENAS                  CO         38042465784
85766287541275   JOHNATHAN    SNOW                      PA         90008032875
85766616755945   ANDRES       DIAZ                      CA         90013176167
85769655291837   ROSILAN      DEVERS                    OK         90009446552
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85772222597138   DANIEL        HERNANDEZ                OR         90013522225
85773223455971   YENIFFER      HERRERA                  CA         90014672234
85776946541275   ALAN          KOHR                     PA         51059289465
85778193991975   TERRANCE      BRYANT                   NC         90014801939
85778831591979   KAREN         ZAMBRANO                 NC         90013928315
85779165141275   MATHEW        MCHUGH                   PA         51050231651
85782262877537   TRANESHA      MODESTO-TINCH            NV         43098092628
85782973841262   PATRICA       BLACKWELL                PA         90015159738
85783648781686   LORI          HENDRIX                  MO         90005346487
85784199197138   LESLY         CARDENAS                 OR         90013341991
85784599291324   GERALD        SPICER                   KS         29017015992
85784998577537   JOLENE        CHERRY                   NV         90013589985
85785261555971   BRIAN         RIDDLE                   CA         90014672615
85785378191975   CHARLENE      FOSTER                   NC         90008613781
85785874741275   DERON         LAWRENCE                 PA         90009778747
85786985233698   FELICIA       HOWARD                   NC         12013469852
85787758685856   ADOLFO        FILHO                    CA         46095047586
85787773647897   LATONYA       HARDEN                   GA         90014847736
85787981681677   CHRISTINA     SUTHERLIN                MO         90009619816
85788724577537   FELIX         MELGAR                   NV         90009887245
85788796191532   DAVID         JAQUEZ                   TX         75058457961
85789946691975   EMMETT        BEARD                    NC         90008199466
85793314591324   TERRENCE      MOORE                    KS         90014513145
85794188497138   BRANDE        BRACKEN                  OR         44010621884
85794541271977   SHEM          MARTINEZ                 CO         90012845412
85796739191324   SPENCER       JOHNSON                  KS         90006447391
85797982881677   ROBERT        BRINK                    KS         90009319828
85798595491324   DAVID         COURTNEY                 KS         90015045954
85799627181677   ARTURO        ROSALES                  MO         29046686271
85811141593771   JENNIFER      PEIRSON                  OH         64509471415
85811165841275   JEREMY        PRYSOCK                  PA         90014971658
85812589681677   JERRI         COOLEY                   MO         29012435896
85814132385856   ALFREDO       FLORES                   CA         90009831323
85814953271977   MICHELLE      DURAN                    CO         90014909532
85814963793771   SHALANDA      STEVENS                  OH         64570119637
85815177991975   RIGO          TRUJILLO                 NC         90000511779
85815539181677   HUMBERTO      GONZALEZ                 MO         90014155391
85816362591975   JOSE          MENDOZA                  NC         90013243625
85816875971977   JOE           VALDEZ                   CO         90010198759
85817649791975   JULIE         JOHNSTON                 NC         90012476497
85818182455945   JIMMY         WARD                     CA         49028571824
85818698191975   DANIELLE      ROME                     NC         17069036981
85818814361928   MIGUEL        TAMAYO                   CA         46002338143
85818898941275   GERALD        DURANTE                  PA         51026868989
85819113597138   DENISE        BARNFATHER               OR         90002781135
85819731271977   JESUSITA      RODRIGUEZ                CO         90014107312
85822569961928   ELIZABETH     GARCIA                   CA         46091915699
85823216547897   JAMES         GRESHAM                  GA         90011292165
85824172671977   ANYA          RUYBAL                   CO         90001371726
85824396161988   WILLIS        JENKINS                  CA         90004273961
85826269591979   BERENICE      AGUILAR                  NC         90012412695
85826758797138   DAVID         SHULTZ                   OR         44008297587
85827118391837   ASHLEY        WHITEHEAD                OK         90014691183
85827511791324   LUCIO         PEREZ                    MO         90009485117
85827619885856   ANNA          APARICIO                 CA         46032406198
85827771441275   ALBERTO       MORALES                  PA         90014837714
85828341891837   JORGE         GARCIA                   OK         90010243418
85828774393771   JANET         ALEXANDER                OH         64560037743
85829263161928   KIRSTIE       COUGHLIN                 CA         90014182631
85829288541262   JACK          BURCHETTE                PA         90014172885
85829753877537   ALICIA        RUBIO                    NV         90009167538
85831661993771   CHRISTOPHER   LEE                      OH         90011096619
85833574361928   KARINA        BLANCO                   CA         90003765743
85835428891837   ANNIE         WYATT                    OK         90009424288
85835487961928   ABRAM         RESEK                    CA         90009044879
85835694347897   JAMES         HILL                     GA         90013816943
85837694347897   JAMES         HILL                     GA         90013816943
85841335691979   SHERRARD      COLON                    NC         90011103356
85841353391837   LAKENDRA      PRICE                    OK         90013483533
85841547291324   DANIEL        PFRIMMER                 KS         90014565472
85841838385856   GLENN         BAUTISTA                 CA         46016678383
85841973461928   LAURA         ROJAS                    CA         90011279734
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85842636591975   VISTORIA     WHITE                     NC         90014586365
85843932941262   BRANDON      TOLKACEVIC                PA         51012179329
85845172341262   DEONTE       WASHINGTON                PA         90014621723
85845442891975   RAMIRO       BUSTOS                    NC         90013934428
85845863391975   EDNA         PIERCE                    NC         17088498633
85846741561928   JUAN         LOPEZ                     CA         90010797415
85847258691837   SHELLEY      ATCHLEY                   OK         90011022586
85847825891975   MARY         HARRIS                    NC         17061348258
85848429793771   ABRAHAM      MAHDER                    OH         90006164297
85852776355971   LOUIE        MENDEZ                    CA         90014677763
85852899391837   MAGDA        CASTILLO                  OK         90010458993
85853536191837   JAMIE        AUTEN                     OK         21048625361
85853867797121   AMBER        GASPERETTI                OR         44015688677
85854458197138   ANA          RAMOS                     OR         90013604581
85855342681677   LIZBETH      RIOS                      MO         90013693426
85855913533698   RANDY        MCCRAY                    NC         12005259135
85857675193771   ROBBIE       COBERLY                   OH         64587156751
85858195697138   ANDY         YANG                      OR         90011061956
85858452581666   ERIC         FIGUEROA                  MO         90005584525
85859811697138   JOE          D KEENER                  OR         44088458116
85861988391979   MICHAEL      LILES                     NC         90010429883
85862157341225   DOMINIQUE    CHAUNTELL                 PA         90011811573
85862396571977   CELENA       CHAVEZ                    CO         90014033965
85862919841262   JORDEN       MICKMAN                   PA         90011949198
85863135493771   JOE          JUSTICE                   OH         64537971354
85863157347822   TRAVENA      HOWELL                    GA         90003851573
85863853861928   OSCAR        SOLIS                     CA         46092978538
85867313947897   JASMINE      ALLEN                     GA         90013633139
85867316661928   BRANDON      LEPKOWSKI                 CA         46092523166
85867449171977   LINDAT       ARCHULETA                 CO         38030604491
85867967741262   MICHELLE     BARKER                    PA         51079809677
85868349497138   TERESA       MONAHAN                   OR         44029133494
85868637855971   JOSE         VASQUEZ                   CA         90015226378
85869192177537   MICHELLE     HASSLER                   NV         43017921921
85869465155971   ISAAC        GARCIA                    CA         49065644651
85871338847853   JEFFEREY     HICKS                     GA         90005433388
85871442891975   RAMIRO       BUSTOS                    NC         90013934428
85873186491979   KIMBERLY     MCNEILL                   NC         90002781864
85875199141262   ALEXANDER    MORALES                   PA         90014441991
85875249671977   CRISTINA     SANDOVAL                  CO         38016202496
85875319947897   WILLIE       STEWART                   GA         90015163199
85875719671964   GREG         KRAUSE                    CO         32004877196
85877311591242   GERTIE       SMULEVITZ                 GA         14512953115
85878195697138   MORGAN       MAYO                      OR         90013411956
85878695255945   RAMIRO       FLORES                    CA         90000776952
85878783881677   JUAN         MORALES                   MO         90014227838
85878961961928   LORENA       JIMENEZ                   CA         46086139619
85879922991324   SHIRLY       LOPEZ                     KS         90010539229
85881187971977   GERRI        POWELL                    CO         90008941879
85882176941275   THEDROLLS    MIKROPOULLS               PA         90015471769
85883538391837   EUGENE       MILLER                    OK         90010185383
85883674491979   MARGARITA    ROSENDO                   NC         17002646744
85883876561928   JIMMY        PLUMMER                   CA         46006938765
85883896891324   SHANNON      COOPER                    KS         90009988968
85884155184347   GABRIELLE    COX                       SC         90007881551
85884181593771   WILLIAM      ALLEN                     OH         90014991815
85884541697138   SHAWN        PEARSON                   OR         90015275416
85884717941262   JONELL       BLUE                      PA         51097427179
85885855681677   CHRISTINA    MENDEZ                    MO         90015428556
85886332841275   AMANDA       SERRANO                   PA         90014743328
85886381991979   ANTHONY      KEARNEY                   NC         90014033819
85886773881677   ROBERT       HUGHES                    MO         90014887738
85887757751362   ALISA        GARDNER                   OH         90004587577
85887876561928   JIMMY        PLUMMER                   CA         46006938765
85888584591897   CLARENCE     ROLAND                    OK         90004055845
85889393655945   HUGO         ALONSO SANTIAGO           CA         90015313936
85889497491975   DARREN       MCKENZIE                  NC         90014514974
85891612347897   THOMAS       SMITH                     GA         14044396123
85891886881677   LENORA       GREEN                     MO         90014238868
85893346891837   MARIA        ESCOBEDO                  OK         90010613468
85894485791975   ANTHONY      AVERY                     NC         90013934857
85895269591979   BERENICE     AGUILAR                   NC         90012412695
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85896391781677   BRITTANY     PHILLIPS                  MO         90014773917
85897716491837   BRIAN        KING                      OK         90013227164
85897835981677   ANITA        HARRIS                    MO         90013568359
85898136451334   JUSTYNA      TYMOSZUK                  KY         66015021364
85898724855945   DAPHNE       MEYERS                    CA         90011167248
85899123893763   MIHELE       STEPHENS                  OH         90011291238
85899835691979   ERIC         KABA                      NC         90015178356
85911648685856   CHELSEA      EANES                     CA         90012306486
85912787291837   BILL         CONLEY                    OK         90010257872
85913344793766   SMITL        MICHAEL                   OH         90007383447
85913784893771   DURHEA       ROBINSON                  OH         64504127848
85915268485856   ANTONIO      SANCHEZ                   CA         90000842684
85915744381677   ROCHELLE     WEST                      MO         90004767443
85915952355945   ANNETTE      NICHOLS                   CA         90007339523
85917956147897   ELI          HERRING                   GA         14044759561
85918139547831   SAMILLA      BRIGGS                    GA         90001241395
85918365591324   LEKEISHA     ROLAND                    KS         90009813655
85919574391979   JOSE         FUENTES                   NC         90012345743
85921514791975   BRANDY       HIGGS                     NC         90010245147
85922281193771   RICHARD      KEATON JR                 OH         64583692811
85924663491837   LINDSEY      MOUNCE                    OK         90010766634
85926974961928   MARK         HAMMOND                   CA         46036619749
85927786841275   MOHIT        JHAMB                     PA         51092967868
85929769393771   APRIL        HAYS                      OH         64589987693
85929948491324   DAVID        GALEANA-ORTIZ             KS         90014869484
85931112151362   ANGELA       DEAN                      OH         66047201121
85931187871956   VINCENT      CASAREZ                   CO         90007621878
85931628661928   JOE          HERNANDEZ                 CA         46068056286
85932173447822   BRANDON      GRACE                     GA         90010611734
85933873491324   KEVIN        SMITH                     KS         90013608734
85937357881677   YOLANDA      WALKER                    MO         90013443578
85937498397138   DARREN       ARNOLD                    OR         90009074983
85938951647897   ALISIA       WILLIAMS                  GA         90007139516
85939234681677   STEPHEN      WALKER                    MO         90007112346
85939244391979   WALTER       BOLLES                    NC         90011162443
85939599991837   JEROME       GRAY                      OK         90011435999
85939885797138   SARAH        BRISKI                    OR         44064178857
85943129147897   NATHANIEL    SMALL                     GA         90011291291
85943564547897   JESSICA      FAVORS                    GA         90011185645
85943948655971   DOREEN A     LOPEZ                     CA         90006139486
85945365891324   SHAWN        LOGAN                     KS         90015083658
85945648991558   LINO         RODRIGUEZ                 TX         90011876489
85948683993771   DANIEL       HUNTER                    OH         90006446839
85948921361928   GREGORY      BARAINCA                  CA         90001339213
85949894985856   JESUS        CALDERON                  CA         90003208949
85951298491324   CHARLES      WELDON                    KS         90001662984
85953572547897   ALISHA       FRIESE                    GA         90011915725
85954344991837   WILLIAM      ALLEN                     OK         90013263449
85954654161963   IRMA         SANCHEZ                   CA         46092606541
85954683455971   VALERIE      FLORES                    CA         90012856834
85954881461928   TERESA       VAZQUEZ                   CA         46036928814
85957584951362   CHARLES      HUGHES                    OH         90008375849
85958176391979   REINAI       SOTO                      NC         17066831763
85959241991975   BLANCA       FUNEZ                     NC         90012412419
85959885797138   SARAH        BRISKI                    OR         44064178857
85959927951362   BRANDY       GOINES                    OH         90003119279
85961152241262   TINECIA      GARDNER                   PA         90001901522
85961976991975   MARCO        MEJIA                     NC         17014299769
85962212391837   SHEALA       MAYBERRY                  OK         90014032123
85962226177537   EDWARD       PETERMAN                  NV         90014032261
85963265793771   MEGAN        WILCOX                    OH         90014752657
85963539597138   KYLE         GILMAN                    OR         90012065395
85965194491979   SANDIA       ISARENO                   NC         90014151944
85966233391837   MARTIN       SECURITY                  OK         90009752333
85967687297138   ALEJANDRO    VALLADARE JUAREZ          OR         90014866872
85968187585924   JUDY         MCQUEEN                   KY         90008501875
85968513891523   JESSICA      NIETO                     TX         90012335138
85973179141262   CARRIE       THOMAS                    PA         90010891791
85974318885856   ROBINSON     ESCOBAR                   CA         46081453188
85974797493771   WILLIAM      DAHM                      OH         64577777974
85976338191975   KRISTEN      GIBSON                    NC         90003963381
85977261855945   JOSE LUIS    MORALES                   CA         49082912618
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85977877841275   DONNA          GUARINO                 PA         90014868778
85979449277537   DAVID          NELSON                  NV         90011644492
85979545351362   KRYSTAL        COLLINS                 OH         66049395453
85981256181683   OMAR           SAENZ                   MO         29053902561
85981558491324   JAMIE          CHANEY                  KS         90009875584
85983142255945   DORTHY         JOHNSON-VIDAL           CA         90003481422
85984455331664   MAASKELAH      THOMAS                  KS         22008224553
85984912455971   NANCY          CERVANTES               CA         90014689124
85985113591324   DYLAN          BEGGS                   KS         90015011135
85985675677537   CHRIS          ENGELL                  NV         43004866756
85986449471977   DEZ            PACHECO                 CO         90011734494
85987313655971   JESUS          ANDRADE                 CA         90011333136
85988646377537   LLANE          SANCHEZ                 NV         90009686463
85988873155971   HEATHER        MARTINEZ                CA         90011958731
85989793171977   CONSUELO       GUTIERREZ               CO         38044767931
85991825171657   DAVID          DORNSTEIN               NY         90015428251
85992278781677   ROBERT         TURNER                  MO         90013142787
85992534961924   MARIA          SOLENSEN                CA         46005535349
85992779491525   LUIS ANTONIO   CARBAJAL                TX         90012637794
85993222197138   MARIA          MELO LOPEZ              OR         44095592221
85993946991324   NYREE          HOOKS                   KS         90008099469
85994894955971   HENRY          RIOS                    CA         90011228949
85996382655971   ISABEL         MAGDALENO               CA         90015123826
85996965977537   ROSA           MIRANDA                 NV         43004999659
85997992261928   ISRAEL         BAZAN                   CA         90012679922
85998848891975   COLLEEN        DENNIS                  NC         17093578488
85999317397138   VICTORIA       HORNE                   OR         90012273173
86111615791975   ANGEL          GONZALEZ                NC         90012666157
86112913897138   BRUNA          DELHORNO                OR         90007329138
86116183691289   MELISSA        BACON                   GA         14513791836
86116223155945   VANESSA        GARCIA                  CA         49077472231
86116377651362   RONISHA        TAYLOR                  OH         90013723776
86116731781677   ANNA           GARCIA                  MO         90010557317
86117158497138   ERIK           ZINK                    OR         90010411584
86117416685856   ED             FLORES                  CA         46030024166
86117772161928   ROXANNE        ADKINS                  CA         46056207721
86118184797138   REGENNITTER    ALICIA                  OR         90011141847
86118425271938   FRANCISCO      FLORES                  CO         32058384252
86119278671977   CATHERINE      NIGHTINGALE             CO         90014712786
86121148291837   JOSE           LOPEZ MERCADO           OK         90007041482
86124627285856   JESSICA        FRIESEN                 CA         46081926272
86124648761928   DEBORAH        HODGES                  CA         46076846487
86125391185856   LEMONT         BUTLER                  CA         46086863911
86125569951362   TASHA          LAFOURE                 OH         90012425699
86126168271938   ROSA           IBARRA                  CO         90003841682
86126995251362   AMANDA         SHEPHARD                OH         90013379952
86129983755945   AGUSTIN        LOPEZ                   CA         90010269837
86132214697138   SHARLEA        WALLING                 OR         90010152146
86132887671938   DALLACE        REEDY                   CO         32034898876
86132971155945   JORGE          INFANTE                 CA         90012999711
86134251391975   MARK           LAUTNER                 NC         90010232513
86134623981677   JOHN           ELY                     MO         90015176239
86137139177537   RICHARD        PARTIN                  NV         43083871391
86138841741275   BEN            FERRELL                 PA         90013378417
86139864271938   DEBORAH        ANDERSON                CO         32049888642
86139915991975   KEVIN          JOHNSON                 NC         90012689159
86139937891979   DETHRISS       BYRD                    NC         90010919378
86142182871938   CURRIE         PACKER                  CO         90011061828
86142196497138   IGNACIO        TOVAR                   OR         44065671964
86142239581677   JOHN           POOLE                   MO         29025892395
86143467393771   BRITTANY       HAYES                   OH         90012164673
86143512491837   BOBBIE         HAZELWOOD               OK         90010025124
86144638191837   MICHAEL        CAMPBELL                OK         21045896381
86145253961928   RUBY           CUARAO                  CA         90014942539
86145835855945   ILENE          ANTUNA                  CA         49083198358
86145916491979   JIME           BANEGAS                 NC         90013609164
86145963791975   TORI           SATTERWHITE             NC         90007899637
86148657791553   JORGE          HERNANDEZ               TX         90007896577
86151382781677   ERIC           CORTEZ                  MO         90015053827
86151424871938   ALEJANDRA      RAMOS ROMAN             CO         90010194248
86151429185936   ERICA          MITCHELL                KY         67034074291
86152535551374   GREGORY        LOWE                    OH         90010885355
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86152839241262   JADA         ROBERTS                   PA         51080198392
86153492533698   JAMES        SADLER                    NC         90010544925
86153575641275   AURORA       THOMPSON                  PA         51003905756
86153997391975   MAURO        CENIZA PENA               NC         90010779973
86154119261928   MICHELLE     CHABOLLA                  CA         46063281192
86154726733698   TYRONE       WILLIAMS                  NC         12051117267
86155575151362   MAZELLE      JONES                     OH         90014175751
86155892761928   EDWIN        QUINONEZ                  CA         90012558927
86156584493771   ROBERT       CLINE                     OH         90001185844
86157111791837   BRANDI       MARLIN                    OK         90014781117
86157124651362   LEEANN       BROWN                     OH         90012091246
86157153971977   AMY          FREEMAN                   CO         90013321539
86158338347897   KIANA        WHITE                     GA         90013603383
86158857851362   BENJAMIN     PETERSON                  OH         90013088578
86161562141262   VICTORIA     SLABY                     PA         90007115621
86161918877537   SHANNON      SIESS                     NV         43032229188
86161942271977   TIMOTHY      CROSS                     CO         90011319422
86161946185856   DAVID        GOLD                      CA         90012369461
86163476472467   JESSIE       EWING                     PA         90010734764
86163919793771   PAUL C       LONG                      OH         90011109197
86164222955945   DARHONDA     CARTER                    CA         49027362229
86164971147897   TOBIJAH      MING                      GA         90012489711
86165241861928   DUANE        SAWYER                    CA         46091652418
86165344685936   LAWRENCE     SMITH                     KY         90013893446
86165536171977   DAVID        CARRILLO                  CO         38067885361
86165553791242   ROBERT       MURPHY                    GA         14564685537
86165744172485   JESSICA      PRINKEY                   PA         90003047441
86166967641262   DAVID        MONROE                    PA         90012499676
86167429191979   MEGAN        BUTTERFIELD               NC         17044894291
86167732493771   SASHA        HIGNITE                   OH         90014697324
86167739451362   ESSIX        COOK                      OH         66087707394
86167974655945   MARY         RAGANS                    CA         49061939746
86169238277537   TYSON        LEATHERWOOD               NV         90011502382
86171633361928   AIOTEST1     DONOTTOUCH                CA         90015116333
86172979677537   JESENIA      TORRES                    NV         43059349796
86172997461928   VICTOR       VAZQUEZ                   CA         46048539974
86173195691979   RENE         LEON                      NC         90013511956
86175298362648   FERNANDO     GONZALEZ                  CA         90014752983
86176382191979   KAREN        SCHELLER                  NC         90000313821
86177258297138   DANIEL       GABRIEL CORTES            OR         90004972582
86177526191975   LA LEY       APP PHONE                 NC         90013455261
86177526591242   ANGEL        OCHOA                     GA         90006755265
86177596561928   GONZALO      BUCIO                     CA         46084825965
86178347833698   DAWN         HOLMES                    NC         90004603478
86178589591975   NELSON       ROSALES                   NC         90011505895
86179269971938   JACKIE       KIDWELL                   CO         32077722699
86181594971938   ADELICIA     KARAFFA                   CO         32086195949
86182134591837   BRYAN        KING                      OK         90011321345
86182297141262   ROBERT       MIXEN                     PA         90000672971
86182456871938   DAVID        RODRIGUEZ                 CO         90009354568
86182491551362   RYAN         OTERO                     OH         90012164915
86184245161928   KENYA        MATTHIS                   CA         90005132451
86186539877537   YAJAIRA      VIVAR-DONADO              NV         90005725398
86186961691975   THERESA      WILLIAMS                  NC         90000639616
86188685641275   LASONS       DUNCAN                    PA         51011266856
86188972661928   JOSEPH       BISHOP                    CA         90014739726
86188983985856   JUAN         ROBERTO                   CA         46085639839
86189346551362   CINDY R      RUMFORD-PHILPOT           OH         90003823465
86189752291837   MISTY        CURTIS                    OK         90014627522
86189997341262   TRACY        DOMOS                     PA         51073839973
86192155685888   RAUL         AGUIRRE                   CA         90011711556
86192268897138   CARMEN       SOTELO                    OR         90014062688
86192999741275   KIMBERLY     DEBOLD                    PA         90012259997
86193289851362   JENNIFER     WILSON                    OH         90007582898
86193911771938   STEPHANIE    CAMPBELL                  CO         90010779117
86194423691235   JUANITA      ANTHLY                    GA         90011084236
86195148871938   RODOLFO      BARCENAS ALCANTARA        CO         90002411488
86196188961928   ROCIO        BASA                      CA         90009391889
86197562571938   CURTIS       MACE                      CO         90014175625
86197647847897   KENYETTA     MCGEE                     GA         90013496478
86197844491553   JUAN         FAVELA                    NM         75017208444
86198293891979   JOHN         HALAKI                    NC         90005832938
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86198586471938   DENISE               DEWBERRY           CO        90013065864
86198588991558   SONIA                CASANOVA           TX        90005735889
86198867241262   ROBERT               MACSURAK           PA        90011528672
86199277947897   SAMARIO              DENNIS             GA        90011662779
86199544561978   MARICELA             CORREA             CA        90001765445
86212973441275   TANEISHA             HELMS              PA        90007879734
86212994691289   DESIREE              CHISOLM            GA        90014729946
86213626141262   ARDENIA              CLANCY             PA        51071586261
86213856391975   KIANNA               WILLIAMS           NC        90013718563
86213989391837   DERAY                PEARSON            OK        90012529893
86215241341262   KIMBERLY             GUENTHER           PA        90010892413
86216322547897   ERICA                BLANDING           GA        90014013225
86217567141262   CLARE                STEFANINI          PA        90013755671
86218342291289   MARCUS               MCRAY              GA        90009573422
86219364885856   ROBLERO PEREZ        ERIBERTO           CA        90006683648
86221147977537   TIFFANY              HARVEY             NV        90006781479
86221215891528   ROXANNA              MIJARES            TX        90007242158
86221419147897   LARRY                JORDAN             GA        14088554191
86221447797138   BRITTNEY             JOHNSON            OR        90013744477
86221844491553   JUAN                 FAVELA             NM        75017208444
86223958855945   MARIBEL              LOPEZ              CA        90005619588
86224151871977   GLENNA               HITTNER            CO        90012311518
86224877885994   MARK                 BISHOP             KY        90005708778
86225844491553   JUAN                 FAVELA             NM        75017208444
86226412571977   TANISHA              VIGIL              CO        90015104125
86226726961928   MAYRA                AGUERO             CA        90011157269
86226829991975   DRANCO               ROCAEL             NC        90003798299
86227149571977   SARA                 FLORES             CO        38064511495
86228147297138   MARIA                OLIVERA            OR        44032791472
86228516333698   BETH                 MARTINEZ           NC        90014715163
86228938251333   DONNA                JONES              OH        90013109382
86231253393771   SULEIMA              ARIAS              OH        90010682533
86231917286443   KUTERA               BOWENS             SC        90009599172
86233736451362   NOEMI                PALOMARES          OH        66001447364
86235741677537   STACIE               SPRAGUES           NV        43002547416
86236752661928   THOMAS               NANKERVIS          CA        90007537526
86236979385936   ANGEL                AGUIRRE            KY        90006509793
86237166161928   DARLENE              RIOS               CA        90013381661
86238566333698   NKECHINYENE          OKAFOR             NC        90014715663
86238872271977   FIDEL                INFANTE            CO        90009998722
86239489761983   MARIO                CONTRERAS          CA        90002694897
86241373591837   AXEL AND ELIZABETH   MOIYAI             OK        90006173735
86241865885866   SANDRA               SARFF              CA        90004548658
86243242291975   BRIAN                NEWSOME            NC        90012902422
86243431661928   JOAQUIN              MORALES            CA        90008744316
86243686671938   DANIELLE             GONZOLEZ           CO        90012776866
86243844491553   JUAN                 FAVELA             NM        75017208444
86244116181677   DONACIANO            GONZALEZ NEVAREZ   MO        90010561161
86244175877537   JULIAN               SALDANA-PACHECO    NV        90011971758
86244577485856   GLORIA               ESTRADA            CA        46053765774
86244728391979   NORMA                HERRERA            NC        17098207283
86245975185856   MARK                 GRUNDLAND          CA        90011329751
86246347471938   STEVEN               PADDACK            CO        90013333474
86246482655945   MARICELA             HERNANDEZ          CA        90005144826
86246831151323   LORETTA              PHILIPS            OH        90009188311
86246897291524   KELLY                ACOSTA             TX        90012978972
86247751291837   DAVID                LYTLE              OK        90010027512
86248628871977   AMRIT                GIDDA              CO        90006156288
86248641185888   BENJAMIN             LOPEZ              CA        46080186411
86249363447897   KENNETH              MITCHELL           GA        90010143634
86249454951362   DONTE                BROOKS             OH        90009784549
86249464985936   SEAN                 GIBSON             KY        90014464649
86251327591975   SHANDA               WILLIAMS           NC        90003243275
86252759271977   ROBERT               HEBLINGER          CO        90012707592
86254616233698   ASHLEY               MARTIN             NC        90014716162
86256522621628   DAVID                GAJDOWSKI          OH        90014645226
86256577755945   DAWN                 JOHNSON            CA        90014675777
86258184971977   TRACY                ARCHULETA          CO        90001131849
86259449661928   CHRISTOPHE           BROADFIELD         CA        46034664496
86259712297138   SHANE                WILLIAMS           OR        90012727122
86261544297138   HABIBA               ABDI               OR        90014815442
86262313851362   DWAYNE               NUTICK             OH        66090713138
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86262913471938   PAMELA           MARTINEZ               CO        32035939134
86262962191553   MIGUEL           NIETO                  TX        90000869621
86264619561928   MAYRA            MARTINEZ               CA        90010336195
86264724341275   CONNIE           SMITH                  PA        90009997243
86264991633698   ALYSSA           DEARMON                NC        90011249916
86265341157132   KRISTEN          BANDHOLD               VA        90012403411
86266663771977   JESUSA           ARGUIJO                CO        90013036637
86266784271977   ALEX             PEREZ                  CO        38016567842
86267249691837   JORGE            VERGARA                OK        21093542496
86267263381677   JOANNA           BRITT                  MO        29077662633
86267856891975   JOSE             REYES                  NC        17047648568
86268222185924   CRYSTAL          ELLINGTON              KY        67058402221
86268557597138   MINDY            SIMERAL                OR        90013785575
86268636733698   MAQUAITO         MARSHALL               NC        90014716367
86268674477537   GERARDO          SOSA                   NV        90000836744
86268864271977   CARLA            GRASMICK               CO        38055808642
86268995981677   AMANDA           EVERSON                MO        29018019959
86269218291863   ANGIE            NEWCOMER               OK        90003832182
86269425777537   EDWIN            MIRANDA                NV        90009274257
86269452385936   CHARITY          BRADFORD               KY        90013434523
86269469491837   ERIC             WHITE                  OK        90013714694
86271756571924   NICO             CARBAJAL               CO        90012147565
86272672791975   SAMANTHA         KOORNDUK               NC        90014856727
86272869641262   LAMMAR           VALENTINE              PA        90013588696
86276532485856   MARY             CHAPMAN                CA        90014065324
86278829685936   DANE             LANG                   KY        90014628296
86278933561928   AUDREYANNA       CLARK                  CA        90013289335
86279831891975   MICHEAL          STEDMAN                NC        90015088318
86279857693771   BRANDON          WILLIAMS               OH        90014618576
86281923141262   NATHAN           DIEHL                  PA        90013129231
86282914351362   ALISHA           WHITFIELD              OH        90013609143
86283816785888   JAMI             WILLIAMSON             CA        90005868167
86284497155945   BEATRIZ          VALLEJO DE MALDANADO   CA        49054914971
86284554651362   JOHN             DOE                    OH        90013685546
86284649171938   CESAR            CHAVEZ                 CO        90012256491
86284939861928   JAVIER           ROSALES                CA        46048669398
86285316181677   VICTORIA         OYEDARO                MO        29094513161
86285537591837   ARMANDO          CLARK                  OK        90014695375
86285816333626   SHERRI           NEWSOM                 NC        90014238163
86287871993771   UNDEAN           RHINES                 OH        90014618719
86287992981677   KAREN            MYERS                  MO        90015249929
86288284861928   CARLOS           FERNANDEZ              CA        46007302848
86289339951362   ROBERT           THEADERMAN             OH        90014623399
86289972993771   TRACY            FLEMING                OH        64575769729
86291364585888   DESHELLE         BLACKMAN               CA        46017803645
86291394251362   TERRELL          DENSON                 OH        66088863942
86291633361928   AIOTEST1         DONOTTOUCH             CA        90015116333
86292345741262   ALICIA           WILSON                 PA        90001533457
86292476847897   KIMO             BUCKLEY                GA        90011454768
86294425777537   EDWIN            MIRANDA                NV        90009274257
86294439661928   JESSIE           DIAZ                   CA        90010994396
86294551433698   SHAUTEA          HOLT                   NC        90014695514
86294617771977   BRENDA           ALANIS                 CO        90007396177
86295175877537   JULIAN           SALDANA-PACHECO        NV        90011971758
86295296831439   ANTHONY          DAVIS                  MO        90001412968
86295899541262   JUSTIN BRANDON   YOUNG                  PA        90010178995
86299582671938   MARI ANN         ALLEN                  CO        90006145826
86311363691837   KYLE             MAYNARD                OK        90007473636
86312333771938   LILLIAN          BROTHERS               CO        90014473337
86313688297138   KELLY            EDWARDS                OR        90013656882
86314392555945   MALY             VANG                   CA        90010423925
86314639785856   IDILON           P. MARTINEZ            CA        46043476397
86314868393771   JASON            FLETCHER               OH        90006138683
86315979661928   PAMELA           TORRES                 CA        90004459796
86316485881677   MARSHA           DIGGS                  MO        90001884858
86317112285856   FRED             FARAZ                  CA        90003521122
86317357291553   IRMA             MARTINEZ               TX        90005823572
86317375585856   SOFIA            GOMEZ                  CA        90013383755
86317824247897   ANQUAN           LANE                   GA        90001448242
86318851757126   JOSE             PORTILLO               VA        90006548517
86321242197138   EDUARDO          SOTELO                 OR        44053322421
86321379571938   DAVID            TORRES                 CO        32060193795
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86322862291979   LASHONDA     ELLIOTT                   NC         90011918622
86323468185856   HOSSEIN      SHAKOURI                  CA         46063634681
86323722571924   ERIK         SUTTON                    CO         90001227225
86323986177537   ANITRA       WILSON                    NV         90005129861
86325281161928   CRISTO       CASILLAS                  CA         90011332811
86325734885856   ZAKEE        AMEER                     CA         90014887348
86325811385936   SHARON       MIDKIFF                   KY         90001448113
86326486485856   MERIZA       CICOONE                   CA         90012154864
86327345191979   MARIO        PEACOCK                   NC         17031213451
86327626391837   RAMON        MORENO                    OK         21033376263
86327969491553   ENEDINA      REYES                     TX         90006449694
86328356277537   EDIN         DIAZ-JUAREZ               NV         43095833562
86328415993771   THERESA      UZHCA                     OH         90006494159
86328854185924   TAMINA       VAA                       KY         90004358541
86329477571938   PHILLIP      TRAINER                   CO         90011604775
86329794641262   SUSAN        RHEA                      PA         90009357946
86331889155945   MIGUEL       MENDEZ                    CA         90014478891
86333193581677   BRENDA       RYAN-GIRTON               MO         90006481935
86333232361928   YVETTE       MEDINA                    CA         90004682323
86333548241262   MARKESHIA    HARRIS                    PA         90009875482
86333689685856   HEDIEH       MAZHARI                   CA         90009806896
86333775391553   TANYA        NIXON                     TX         90005307753
86336592591979   LAWYETTE     TERRELL                   NC         90014975925
86336667885936   JEWELL       BRANNON                   KY         90003386678
86337533891553   ANNA         VELA                      TX         90002515338
86337739193771   SANDRA       LEWIS                     OH         64505687391
86338162961961   HEATHER      NEWMAN                    CA         90012741629
86338872571938   LYNELLE      FREDEEN                   CO         90011858725
86338877177537   MIA          WEBBER                    NV         90014628771
86341435241262   ALISON       LUSNAK                    PA         51018374352
86344367297138   ALEX         MONTGOMERY                OR         90015263672
86344734863638   CATHY        POTTER                    MO         90000067348
86345167877537   DAVID        BURKER                    NV         90012191678
86347888893771   JASON        BROWN                     OH         90006578888
86348297851363   RAHEEM       ZELLARS                   OH         90007772978
86348316141262   CYNTHIA      L. CAGEY                  PA         90000673161
86351241771977   WILMA        FLETCHER                  CO         38015862417
86354531261928   CESAR        GONZALEZ                  CA         90006055312
86354676385936   JOYCE        BOOKER                    KY         90007636763
86355354771938   MARCUS       MCCHRISTON                CO         90013923547
86355378585856   PATRICK      KELLY                     CA         46076413785
86355896655971   RICHARD      SIMPSON                   CA         90001458966
86356949991837   JEFFERY      GILLEY                    OK         21014029499
86357422481677   PATRICIA     HUNT                      MO         90010564224
86357426285936   GARY         BARR                      KY         90014944262
86359523541262   JIM          BLOSSER                   PA         51019625235
86359848597138   AARON        ECKLUND                   OR         90013248485
86361639371938   THOMAS       RENTERIA                  CO         90014226393
86361811497138   CEBALLOS     ROSA                      OR         90002108114
86361861233669   EVON         AVORKLIYA                 NC         90008548612
86362162961961   HEATHER      NEWMAN                    CA         90012741629
86362295147897   VALENCIA     WILLIAMS                  GA         90014712951
86364927893771   STEPHANIE    WOOD                      OH         90003669278
86366745885936   TONYA        RENFRO                    KY         67014887458
86366746877537   MARIA        GONZALEZ- DENUNEZ         NV         90003267468
86368631371977   CHARLOTTE    BROWN                     CO         90009366313
86369887285936   WENDY        OSORNIO                   KY         90009028872
86372198591553   PATRICIO     SOSA                      TX         75017231985
86372569485856   SERGIO       FRAIRE                    CA         90006075694
86373161841262   DENISE       TOMLIN                    PA         90011441618
86373445885936   LYNNISHA     STEWART                   KY         67092104458
86373612197138   LIBORIO      URRUTIA TORRES            OR         90009626121
86373638491979   WADIYA       GLASS                     NC         17095776384
86374933555935   MARTIN       CERVANTEZ                 CA         90004429335
86376524691837   ANABEL       CHAVEZ                    OK         21054295246
86376886285936   DAJON        CHENAULT                  KY         67020178862
86377228681677   DOMINIC      ENRIQUEZ                  MO         90002342286
86377825447897   JERRY        SCOTT                     GA         90009748254
86378336593771   VICTORIA     DUNLAP                    OH         90013233365
86378894277537   JOSE         DELALUZ                   NV         43098828942
86379586441262   CARISSA      ATKINSON                  PA         90013195864
86379619155945   ALEJANDRO    CARRILLO                  CA         90000316191
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86379735891553   JAVIER        PAYAN                    TX         75069057358
86381243593771   ADRIAN        TAULBEE                  OH         90005772435
86381491771938   NEHOMY        DE LEON                  CO         90013314917
86381574247897   LATASHA       DAVIS                    GA         90004335742
86382692491979   OTHELLA E     OWENS                    NC         90013546924
86383258485888   MARCELA       PEREZ                    CA         90011962584
86386141193771   CHAD          JELLISON                 OH         90007351411
86386822991975   KARINA        TORRES                   NC         90014598229
86387297871977   WENDY         MAESTAS                  CO         90002512978
86389467541275   RAYMOND       LEA                      PA         90014714675
86391642871977   ANITA         ORTEGA                   CO         90014946428
86391747251362   SAMIAR        MOHAMMED                 OH         90012507472
86392815997138   JESSICA       NAVARO                   OR         90013578159
86392948491532   KASEY         DITT                     TX         90012629484
86393971685936   SHAQUAYA      HOGAN                    KY         90013879716
86394588941275   RONEKA        OAKES                    PA         90005795889
86394671893783   JASMINE       MITCHELL                 OH         64513546718
86395627541262   CAMILLE       SMITH                    PA         90012846275
86396147151362   JAY           WATSON                   OH         90012391471
86398161451362   JESSICA       WILLIAMS                 OH         90008191614
86399543893771   TIFFANY       DILLARD                  OH         90013655438
86413538851362   RON           FREEMAN                  OH         66063475388
86413597961928   EINA          LAKH                     CA         90012125979
86416571185936   MARSHA        DUNN                     KY         90001105711
86417894491979   JUAN          MANUEL                   NC         90011148944
86418548471938   CHRISTOPHER   WALLS                    CO         90013585484
86418588261921   GLORY         ARROYO                   CA         90014395882
86419838371938   LEMETRIUS     MELODY                   CO         90014348383
86421154485888   ROGELIO       TRUJILLO                 CA         90009681544
86421196771938   LAURA         SANCHEZ                  CO         32041001967
86421521655945   DIANE         SANCHEZ                  CA         90005115216
86421589151362   MCKAYLA       WALLEN                   OH         90012285891
86421869785856   KIARA         PARGO                    CA         90009108697
86422642871977   ANITA         ORTEGA                   CO         90014946428
86422965585856   MARIA         TORRES                   CA         46059159655
86423831681677   ERICA         ODENS                    MO         90010568316
86424883885856   MARY          CASTANEDA                CA         90013938838
86425573833698   HUYEN         TRAN                     NC         12025785738
86425916861928   JUANA         DOMINGUEZ                CA         90004449168
86427124541262   MARCUS        GLASS                    PA         90013641245
86427992685856   ELVIA         RUIZ                     CA         90005609926
86428434171938   SANDRA        JURADO                   CO         32031624341
86428791857126   JUANA         ROMAS                    VA         90007557918
86429859991979   JUICY         FRUIT                    NC         17019148599
86429927371977   ADAN          NUNEZ                    CO         90004339273
86432317361928   ALVARO        MERIGO                   CA         46024323173
86432616891837   KENDALL       BONNER                   OK         21081826168
86432642171977   STEPHANIE     HAMMEL                   CO         38033686421
86432876691975   ROBIN         EASON                    NC         90006958766
86432927193783   CRISTA        STONE                    OH         64554819271
86434696171938   DEBRA         PETTY                    CO         32057826961
86435559591558   CRISTAL       SALDIVAR                 TX         90003005595
86436472785888   NICHOLAS      COPPAGE                  CA         90005984727
86437564851325   DEANDRE       STANFORD                 OH         90001135648
86437792181677   STACY         SHOCKEY                  MO         29095767921
86438426491979   KRISTIE       HAMMONDS                 NC         90014574264
86439366191975   LISANDRO      ORTEGA                   NC         90015583661
86441451691837   BRITTANY      JACKSON                  OK         90003504516
86442838371938   LEMETRIUS     MELODY                   CO         90014348383
86442867385856   GUILLERMO     GARCIA                   CA         90007518673
86443438393771   VERNON        DOTSON                   OH         64538904383
86443586451333   MICHAEL       EVANS                    OH         90001105864
86443747271938   ROBERT        GARCIA                   CO         90013977472
86444562397138   EVALIA        BARILLAS                 OR         44090965623
86444616791979   DOUGLAS       TOBAR                    NC         90011376167
86444653471938   AMBER         LEONARD                  CO         90008716534
86444748791979   RAMONA        HILARIO                  NC         90008907487
86446311441275   MATT          KASTLE                   PA         90012683114
86446459151362   LEONOR        VARGAS                   OH         90011354591
86448352785936   MICHAEL       JONES                    KY         67009583527
86449262685936   FELIPE        GARCIA                   KY         67062082626
86449842151362   RHONDA        CROUCHER                 OH         90000538421
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86452276293771   ANDREA            MUMFORD              OH         90011082762
86452564491553   CESAR             GOMEZ                TX         90003265644
86453264385888   ALEJANDRA         BARSOOM              CA         46011502643
86453519697138   DANIEL            ELDREDGE             OR         90011905196
86453665547897   SHANTELL          BROWN                GA         90014316655
86453665993771   JORGE             TEBUNTLE             OH         90014626659
86455537685936   JIM               ASHTON               KY         67019635376
86455776247897   MATTHEW           MARSHALL             GA         90012087762
86456526991837   CODY              COSHATT              OK         21079905269
86456529885856   PEDRO             PERALES              CA         90012775298
86457537247897   MICHAEL           BROWN                GA         90004035372
86457546381677   ALEXIS            WRIGHT               MO         90006385463
86457693993771   AMY               RILEY                OH         64590086939
86461226855945   ROSALBA           SANTIAGO             CA         90009542268
86461919577537   ELIA              LOPEZ                NV         90012239195
86462256885936   TAYLOR            JOHNSON              KY         67024082568
86462378751362   JAIME             GONZALES             OH         90011013787
86463466393771   SAMANTHA          HICKS                OH         90015164663
86464844951365   MILLOSSA          MUNLI                OH         66017838449
86465731585856   APRIL             ALLSHOUSE            CA         90003107315
86465953981677   TIFFANY           THOMAS               MO         90002929539
86468119191837   KIMA              DANCAUSE             OK         90004761191
86469184985856   BARON             GREEN                CA         46000471849
86469363741275   LONIKA            MOSES                PA         51034913637
86472158977537   EMMANUEL          DELEON               NV         90011131589
86473749993771   FRANCISCO         PEREZ                OH         90009587499
86475951891979   ALBERTO CALDERA   SOTO                 NC         90015559518
86476488891979   KEASHIA           HUNTER               NC         17004954888
86477346397138   MELISSA           BOREN                OR         90007503463
86478779451362   CHRISTINE         SKERRETT             OH         90014107794
86479398297138   LISA              SANCHEZ              OR         44000753982
86479615855945   HANS              BARSNESS             CA         49086776158
86481231833698   RETEKA            OGLESBY              NC         90014732318
86481396241275   ADAM              OATS                 PA         90014603962
86481447791975   OSCAR             MONTERROSA           NC         17077104477
86481762561928   KEVIN             FERREE               CA         90012517625
86481849785856   RAN               SHENHAR              CA         90012388497
86482747391975   EVERETTE          PERSON               NC         17014207473
86483266991837   SABRINA           STOCKTON             OK         90002772669
86483561691979   DESHOMBI          STEVENS              NC         90013835616
86483629141275   MARLENE           SNYDER               PA         51059606291
86483663561928   PATRICK           SIMMONS              CA         90014726635
86485193591354   ROBERT            JACKSON              KS         90004521935
86487397261928   ALEXANDER         RODRIGUEZ            CA         90014873972
86487495997138   PATRICIA          SALGADO CONTRERAS    OR         90014734959
86487932155945   MARIA             DELATORRE            CA         90006389321
86488329847897   CELENA            ADAMS-LOCKE          GA         90014943298
86488445241275   DEBAR             GREEN                PA         90000254452
86489712551362   LASHAWANDA        ROBERTS              OH         90014147125
86491142551362   BIBI              BEYA                 OH         90014741425
86491152372496   TINA              MIRANDA              PA         90014341523
86492761147897   ANN               EVANS                GA         14080977611
86492859891528   RAMON             ROMERO               TX         90003598598
86493515141275   KWEILYN           ROSS                 PA         90011275151
86494566791837   GARY              CLARK                OK         90002275667
86494632191975   ARAI              HERNANDEZ            NC         90007666321
86494864351362   LISA              JOHNS                OH         90014758643
86495326871938   ANTHONY           ROMINE               CO         90014033268
86496479541262   JIM               HALPERT              PA         90012844795
86498185991837   ALEXIS            VELAZQUEZ            OK         90012531859
86498936397138   JENNIE            GREENE               OR         44038549363
86511754581672   DELLAS            BALDELLI             MO         90013407545
86512868331651   LORETTA           GAINES               KS         90010208683
86512989547897   DEXTER            BALDWIN              GA         90012029895
86513159641262   TIM               WINSTON              PA         90012601596
86513452451362   THOMAS            OHMER                OH         66031314524
86514217785936   LEMUEL            FLORES               KY         67098992177
86515274991979   ANDREW            ESTES                NC         17067542749
86515776185856   JOSE              ESPINOZA             CA         90012947761
86516542291523   MARIA             ANDRADE              TX         90003445422
86517629497138   GILBERTO          FRANCO               OR         90012326294
86519659497138   BOBBY             HILL                 OR         90012326594
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86521359291553   SANDRA       PEREZ                     TX         75087923592
86521373471938   PRESTON      FLOWERS                   CO         32092033734
86521863284347   KEYONA       BROWN                     SC         90006198632
86521968341262   JOSHUA       WALSH                     PA         90013739683
86522212351362   AMANDA       MITCHELL                  OH         90013192123
86522614891837   GAREY        ROORDA                    OK         90013736148
86522893655945   EMILIO       BARBOSA                   CA         90003148936
86523358371938   JAZMIN       QUINTERO                  CO         90013923583
86523431971977   ALFONSO      PEREZ                     CO         90005284319
86523559561928   PEDRO        CERNA                     CA         90007445595
86525693533698   TOBIAS       MONROY                    NC         90003336935
86527838255945   TODD         GOODMON                   CA         90007438382
86528162891837   TINA         KOMONCE                   OK         21073131628
86529492755945   FRANCISCO    ARRIOLA                   CA         90014484927
86529773791975   EMAD         MAGDY                     NC         90012447737
86531619961928   SOTERO       MANJARREZ                 CA         90010996199
86531789371977   NATALIE      WOLDTVEDT                 CO         90014077893
86532358557133   JOSE         AGUILAR                   VA         90007413585
86532423993771   JOSELYN      TAULBEE                   OH         64550624239
86532847181677   MICHELLE     CARSON                    MO         29062928471
86533513333698   EDGAR        GALLOWAY                  NC         90011615133
86533888291837   VICTORIA     SPRADLIN                  OK         90012448882
86534398871977   GINA         ESPINOSA                  CO         38054943988
86534426393771   PATRICK      SEIBERT                   OH         90003764263
86534687185936   MAVE         NDJANGOSI                 KY         90011056871
86534861191242   DELORES      SINGLETON                 GA         14535558611
86536782493771   CORNELIUS    WEST                      OH         90011457824
86537219991837   AMANDA       SEAMANS                   OK         90011842199
86537457361928   YRISE        CHRISTOLIN                CA         90006734573
86538791471938   EDGAR        ZUNIGA                    CO         90013267914
86538834691975   ALDO         COSTILLO                  NC         17028668346
86539956941275   SHERRI       HOWELL                    PA         51034949569
86541313371938   KATHY        HIGGINS                   CO         90008943133
86541835977537   DONALD       MARTIN                    NV         90013008359
86543536951362   MEGHANN      WALLER                    OH         90000485369
86543949755945   REGINA       NORIEGA                   CA         90014759497
86545411677537   DANIEL       FUENTEZ                   NV         43055024116
86545893297138   BANI         DE LA CRUZ                OR         90005978932
86546117991975   EUGENE       GREEN                     NC         90012951179
86546924881677   ANGEL        MELSON                    MO         29010619248
86547597585936   JANVIER      MANIRAQULIA               KY         90014935975
86547836297138   IRAJ         KHOSROABADI               OR         44067018362
86549455551332   FOLAKE       OGUNBOWALE                OH         90012464555
86552564277537   DERRICK      JORY                      NV         43080445642
86553789691975   MARIA        MARTINEZ                  NC         90015107896
86554258791837   ANDREINA     MARTINEZ                  OK         21032912587
86555194391837   SOMPHONE     VANKHAM                   OK         90002331943
86555879591979   SAMYIA       TAFIRENYKA                NC         90012028795
86555978955945   DOLORES      AGUILAR                   CA         90006759789
86556296285936   RYAN         STANDISH                  KY         90010152962
86557616571938   MERCEDEZ     MURRILLO                  CO         90009296165
86559889551325   MARK         JACKSON                   OH         66079238895
86561425497138   SAMUEL       CALLOWAY                  OR         90011414254
86561736377537   THOMAS       DORETTI                   NV         43076877363
86562539785856   MONICA       AGUILAR                   CA         46087275397
86563153185856   CHARLES      READ                      CA         90007521531
86564728691979   ALPHONSO     CARVIN                    NC         90007837286
86565571991553   CARLOS       TODD                      TX         75076505719
86565782197138   JOSEPH       NEDELEC                   OR         90012737821
86567924533698   JORDAN       MICKEL                    NC         90014809245
86568129191837   SHERRY       CHANCE                    OK         21087531291
86568446551321   DENNIS       SCHROEDER                 OH         66061804465
86568778697138   AARON        MORTON                    OR         90012737786
86569398851362   GEORGE       HARMON                    OH         66052153988
86573339741232   MICHELE      PRITCHARD                 PA         90012643397
86573587777537   CORY         AKERS                     NV         90013405877
86573796341275   DONALD       PATE                      PA         90014877963
86574647847897   KENYETTA     MCGEE                     GA         90013496478
86576546897138   JOSHUA       JABIN                     OR         44097325468
86576618877537   JULIA        ARINZE                    NV         90006646188
86576796941275   LAJUANA      POPE                      PA         90014877969
86577643681677   MARIA        CHAPA                     MO         90013136436
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86577646885856   FERDIE       GALLARDO                  CA         90004136468
86579189391975   CARITA       BONAPARTE                 NC         90010971893
86579491561928   ERIN         KELLISON                  CA         90012154915
86581244271694   MANDY        ZAGARA                    NY         90013832442
86581632891979   SANDY        JUDD                      NC         90013016328
86581896533698   PHILLIS      SERRANO                   NC         12081508965
86582465161983   ANAYA        TRINIDAD                  CA         90010844651
86582821161928   JANET        FAJARDO                   CA         46072038211
86583633533698   TERRELL      WILLIAMS                  NC         90009326335
86583892855945   INEZ         MIGUEL PEREZ              CA         90009798928
86585221941275   KEVIN        SUPER                     PA         51035142219
86585945193739   SAMANTHA     JONES                     OH         90010279451
86586194861963   LIDIA        GUITIERREZ                CA         90000871948
86586396991979   DANIELA      RAMIREZ                   NC         90008513969
86588132971938   GARY         LUCERO                    CO         90005751329
86589284791837   TONYA        KEY                       OK         90012722847
86589764185936   DARLENE      HOPKINS                   KY         90009857641
86591619961928   SOTERO       MANJARREZ                 CA         90010996199
86591725685888   DINORETH     GARCIA                    CA         90010957256
86591784251362   PAUL         THOMPSON                  OH         66097817842
86592331351362   ERIC         BRUCE                     OH         90014833313
86592486491979   WENDY        RICHARDSON                NC         90014574864
86592648357142   TYLOR        ZINCK                     VA         90010016483
86593594251363   ROSALIND     GROVE                     OH         90012255942
86594238591979   STARLETTA    MUSUNGAY                  NC         90014922385
86595274497138   JEREME       MACINO                    OR         44056092744
86596525547897   KAWANDA      JACKSON                   GA         90014105255
86596542871938   LUCERO       GOROSTIATE                CO         90007605428
86597212541262   JULIE        WALKER                    PA         51097732125
86598983255945   RUSSELL      KUSKIE                    CA         90012909832
86599831593771   MARCO        GEORGE                    OH         90009988315
86611169271977   MITCHELL     DELGADO                   CO         90001871692
86612324681677   CHANTEL      WHITLEY                   MO         90010573246
86612611571977   CRYSTAL      LYONS                     CO         90012586115
86613445291837   NAIDOO       ANDREA                    OK         21025394452
86613515871938   AARON        TAYLOR                    CO         90013525158
86614818147822   ANETRA       HOLLINGSWORTH             GA         14065998181
86615119177537   KRISTOFFER   SCOTT                     NV         90010171191
86616555793771   KINA         FOMBY                     OH         90014345557
86617121497138   JACK         WELLS                     OR         44058421214
86618513661928   MICHAEL      CALDERON                  CA         46024495136
86619392991975   CHELSEA      BARNETT                   NC         90012513929
86621236485856   ANTONIO      CASTANEDA                 CA         46093332364
86621262971938   DAVID        POWELL                    CO         90012982629
86621587891975   VICTOR       NAVA                      NC         17017585878
86622531171938   AMANDA       MAES                      CO         90011045311
86622932677537   JOSE         BLANCO                    NV         43035929326
86624723791975   SANTIAGO     LOPEZ                     NC         90012517237
86624865391979   TARAY        EVANS                     NC         90004218653
86625931985856   CALEB        RYDER                     CA         90012969319
86626363761928   LAQUETTA     BROWN                     CA         90014493637
86626723891837   JESSICA      FOLDS                     OK         21098887238
86626888133698   LISA         HICKMAN                   NC         90014548881
86627719491979   BETTIE       MASSENBURG                NC         90009097194
86628721971938   LATESHA      ROBERTS                   CO         90012427219
86628851933645   SARA         ADKINS                    NC         90007528519
86629482771977   DEENA        BACA                      CO         38091484827
86629544491837   CORI         RENNO                     OK         90014775444
86631894136121   REBECCA      RAMIREZ                   TX         73587838941
86633167291837   BRANDIE      BRUER                     OK         90014371672
86633739461928   ELISA        FERNANDEZ                 CA         46088957394
86634952571938   CHARLOTTE    LOGAN                     CO         90010939525
86636466393771   SAMANTHA     HICKS                     OH         90015164663
86636965471938   LINDA        BAILEY                    CO         90011409654
86637667451362   MARC         MILLER                    OH         90001166674
86637768393771   BRYANT       BIGGS                     OH         90015217683
86641261491242   CARLA        JACKSON                   GA         90004382614
86641528641275   ELIZBATH     WOOLHEATER                PA         90008785286
86641761297138   ESTER        MORALES                   OR         90011527612
86641814571938   GARY         POPEJOY                   CO         90009088145
86642266455945   MIGUEL       RODRIGUEZ                 CA         90013492664
86643536833698   DEANNA       HILDEMON                  NC         90008485368
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86643627681691   SANDRA          FRANCO                 MO         90004796276
86644655291837   KEVIN           THOMAS                 OK         90012456552
86647153685856   HERMELINDA      HUYNH                  CA         90014361536
86647374691975   MICHAEL         MOORE                  NC         90014113746
86647876733698   BAILEY          SHANELLE               NC         90009868767
86648236533698   LENORA          CLARK                  NC         90013712365
86648355177537   CARLOS          GONZALEZ-CERVANTES     NV         90015183551
86651576391242   RICHARD         GRIFFIN JR.            GA         14588515763
86652433541275   LAWRENCE        ADDISON                PA         90014174335
86652548471938   CHRISTOPHER     WALLS                  CO         90013585484
86652737347897   DORTANYA        COTTON                 GA         90014637373
86654164391979   TANYA           JONES                  NC         90014941643
86655727491979   OSAMA           KHADER                 NC         90002297274
86658311997138   DANNY           OLSAON                 OR         90013313119
86658477681677   PAMELA          TAUTE                  MO         90010574776
86658552471938   KELLY           KOSZALKA               CO         32098325524
86658896891837   IVAN            VILLEGAS               OK         21054308968
86659176491979   ROSA            RUIZ                   NC         90013571764
86659996977537   KETI            TONGA                  NV         90006879969
86661986151362   JULIO           AQUILA SANCHEZ         OH         66097819861
86662136891837   KENISHA         JAMISON                OK         90014761368
86662862777537   HEATHER         HARMS                  NV         90013008627
86664363385936   JODY            THURSTON               KY         67017483633
86664595555945   LUZ             PENA                   CA         90014485955
86665815297138   THAMOS          STANING                OR         90004128152
86667527585856   JOEL            SOLIS                  CA         46054185275
86667752161556   BRIANA          PATTERSON              TN         90015527521
86667861291979   MONNA           SYDNEY                 NC         90013118612
86668237741249   RAMONA          WHITE                  PA         90001362377
86669915961928   RELONA          WRIGHT                 CA         90014899159
86669965761939   DOUGLASS        PONCAVAGE              CA         90000169657
86671247291975   KENNY           MULLIS                 NC         90010472472
86671526671938   ESTELA          CHAVEZ                 CO         32093305266
86672821291979   JOHN            PLAINS                 NC         90014848212
86672935661928   DAVIE           FREDRICK               CA         90014509356
86673881451349   DAWA            TAMANG                 OH         90008648814
86673945593771   HOLLST          DENIS                  OH         90011459455
86677582741275   FLORENCE        LEWIS                  PA         51086695827
86677841755945   DARLENE         GARCIA                 CA         90014478417
86678423971977   CHANTEL         ARGUELLO               CO         90012854239
86678685761463   MALAND          LONG                   OH         90014756857
86679357891979   ASHLEY          JOHNSON                NC         90006013578
86681117351598   ZENUR           MUJKANOVIC             IA         90015201173
86681315631444   BRANDI          COX                    MO         90002273156
86681542985856   WENCAN          XIE                    CA         90014075429
86682242473294   GUATALUPE       SORTO                  NJ         90011622424
86682696397138   JORGE ARMANDO   FRAGOSO                OR         90013366963
86683329651362   MIKE            JHONSON                OH         90012313296
86683594471977   MICHELLE        MURRAY                 CO         90015085944
86684873441275   ANTHONY         REYNOLDS               PA         90012568734
86684927985936   MARHONDA        WILLIAMS               KY         90013249279
86685277991837   ANGELA          HOBBS                  OK         90013112779
86685292685856   STEVE           GONZALEZ               CA         90013812926
86685327791979   KELLEE          ROBERTS                NC         17002503277
86685445791558   JORGE           TORRES                 TX         75011904457
86687699155945   MELISSA         CHAVEZ                 CA         49082256991
86687816477537   ANGELA          OTTOBONI               NV         43067948164
86691359491356   JOHN            JAMES                  KS         29029753594
86692189551362   LOGAN           HATFIELD               OH         90012581895
86692272141262   TARA            LANE                   PA         51091482721
86692817191837   JESSICA         MCCRARY                OK         90012728171
86694845791975   VICTOR          ZACARIAS               NC         90010508457
86694959793747   TAMAIRA         PORTER                 OH         90013359597
86695518751362   SAMARA          ELLIOTT                OH         90011015187
86695897797138   TEHRA           SAVAGE                 OR         44017048977
86696347971977   MELISSA         HEINE                  CO         90008783479
86696449555945   FELIX           LOPEZ                  CA         90012744495
86696923277537   MANUEL          JESUS III              NV         90007309232
86698489961928   SAMANTA         ADAME                  CA         90014444899
86698938647897   MAURICE         PEARSON                GA         90002249386
86711146291837   TIFFANY         WALLS                  OK         21054311462
86711456761928   HARRIS          RODERICK               CA         90006264567
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86711968951362   MAT          MINK                      OH         90000539689
86712331693771   REBECCA      SHIFFLETT                 OH         64526493316
86712373185936   ELIZABETH    WILLIAMS                  KY         67098253731
86712469551362   VANASSA      ADAMS                     OH         66006344695
86713347347897   NEVI         HOGAN                     GA         90011173473
86714643285856   WAYNE        TAYLOR                    CA         90014096432
86714778491975   HARACIO      VAZQUEZ                   NC         90007677784
86715576293771   AMY          BUTLER                    OH         90009075762
86715726141275   MIA          CAMPBELL                  PA         51084897261
86716866291975   FERNANDO     DOMINGUEZ                 NC         90002658662
86717735181677   GLEN         CAMPBELL                  MO         29069277351
86718349661928   JOSE         MAGALLON                  CA         90011803496
86718934285856   NATIVIDAD    MONTEJO GASPAR            CA         90014889342
86721293571977   PABLO        MOLINA                    CO         90014392935
86721415885936   STEVEN       WILLIAMS                  KY         90013894158
86721979891837   LARRY        SMITH                     OK         90012539798
86723328157128   EDMOND       BYNUM                     VA         90008173281
86724239147897   TERRY        FRANKLIN                  GA         90014892391
86726328751362   JOSHUA       DILBERT                   OH         90003263287
86726434677537   EMILY        ROMERO                    NV         90004964346
86728966441262   JUDITH       STREET                    PA         90010949664
86729158255945   TYLER        BOLANOS                   CA         90009671582
86731423971977   CHANTEL      ARGUELLO                  CO         90012854239
86731817661928   JUAN         PENA                      CA         90008918176
86731859847822   ROY          DOBSON                    GA         14066018598
86732892247897   JESSIC       BRONNER                   GA         90014848922
86732987691837   DAVID        ELLIS                     OK         21099019876
86733685171977   PAULA        GONZALES                  CO         38022986851
86734596685936   JAZMI        NEGILES                   KY         90010205966
86734675181677   ALLISHIA     FUEL                      MO         90010576751
86735331997138   NORBERTO     GARIBAY-GARIBAY           OR         90003383319
86735532947897   LATOSHA      CLEMENTS                  GA         90006985329
86736943197138   STEVE        SUMMERS                   OR         44078739431
86737411671938   JACK         EANS                      CO         90013204116
86737896261928   KATERA       SUGGS                     CA         46094838962
86737933591553   MARTIN       PAIZ                      TX         90010269335
86738449441275   ELIZABETH    HARABAUGH                 PA         51007334494
86738544297138   HABIBA       ABDI                      OR         90014815442
86738722771938   WENDI        WATSON                    CO         32093767227
86739392293771   LORNA        COX                       OH         64582223922
86741196791553   CYNTHIA      GRANOS                    TX         75036371967
86741231391979   MARCELLIN    MODGE SR                  NC         90004502313
86741988541262   DEBORAH      EATON                     PA         90011189885
86743482833698   ALEJANDRO    NOVA                      NC         90002174828
86743791685888   STEPHON      THOMPSON                  CA         90001727916
86744282577537   MICHELLE     LUCERO                    NV         43033472825
86744792181677   STACY        SHOCKEY                   MO         29095767921
86745747251362   SAMIAR       MOHAMMED                  OH         90012507472
86747295461928   STEPHANIE    BUECHLER                  CA         90000402954
86747486851362   MATT         SEXTON                    OH         66019544868
86747515591979   KIM          MCLEOD                    NC         90010815155
86747829971938   YANET        GUILLEN                   CO         32091448299
86748846697138   SANDRA       SIERRA                    OR         90007748466
86749851541275   TANISHA      MARSHALL                  PA         51008998515
86751783833698   EDWARD       KEENE                     NC         12030357838
86752164861936   CHRIS        REYNOLDS                  CA         90007061648
86752621985936   JOSE         VILLEGAS                  KY         90011596219
86754152485856   MARIA        CEDILLO                   CA         90006711524
86754399941262   KHAIYA       ROSE                      PA         90006493999
86754455833698   TRICE        APPLE                     NC         12095024558
86754719955924   CARLOS       SALCEDO                   CA         49023427199
86756693985936   MANUEL       ESPINOZA                  KY         90007556939
86757594791837   JIM          TURPIN                    OK         21031765947
86758131271938   TED          SHERIFF                   CO         90013281312
86761555171977   RAEANN       ALCON                     CO         90005485551
86762332493771   MARIAH       LITTLE                    OH         90011113324
86763362485856   OMAR         MORENO                    CA         90013813624
86763741885888   VICTOR       CALDERON                  CA         90012447418
86763877697138   BRAVO        CRUZ                      OR         90007698776
86764167797138   KAYTE        RACH                      OR         44084991677
86764632591979   TAWANA       COLEMAN                   NC         90014576325
86765127793771   CHARLOTTE    WOERL                     OH         64525941277
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86765143685856   JOSE              SAMUEL               CA         46009071436
86765155655945   ERNISHA           BYRD                 CA         90015221556
86766422371938   SELINA            QUINTANA             CO         90013814223
86767418533698   APRIL             MCCAIN               NC         90014224185
86769663151362   JOHN              MORRIS               OH         90012866631
86769738536121   LATAMARA          ROBERTS              TX         90010857385
86771416891979   ANA LILIA         NERI-ISLAS           NC         90007734168
86773317171938   MOISES            TAYLOR               CO         32013393171
86774445285856   DRASKO            JOVANOVIC            CA         90013814452
86775472647897   ARLEXIS           HILL                 GA         90013674726
86775594855945   DARLENE           BANDERAS             CA         49013035948
86776445391979   APRIL             STRICKLAND           NC         90007774453
86776868991553   MARIBEL           LIRA                 TX         90003738689
86777497485856   NICOLE            VOGT                 CA         90012934974
86777644451362   ROBERT            MUSSELWHITE          OH         90008956444
86783239133698   MANUEL            GARCIA               NC         90011262391
86784294471977   FRANKIE           TRUJILLO             CO         90010122944
86784655133698   BERNADETTE        LEACH                NC         12027196551
86788178971933   DUANE             MASEL                CO         32090771789
86788727791553   SOTO              JOSE                 TX         75076567277
86788765297138   SHAWN             KINGMAN              OR         90005827652
86788868841275   SEAN              BROOKS               PA         51054868688
86789533541275   ROSE              SEDOR                PA         51091515335
86792368451333   CONNIE            BROWN                OH         90001313684
86792444991242   BERNARD           GOLDWIRE             GA         14589214449
86793821571977   BEATRICE          WITHROW              CO         90012348215
86794584961928   ESMERALDA         PRECIADO             CA         90013585849
86795224197138   CODY              HARRAL               OR         90014782241
86795232151362   DORINDA           JOHNSON              OH         66051072321
86795658691553   CARLOS            RODRIGUEZ            TX         90003956586
86795843661556   RUWIZE            MUKESHIMANA          TN         90007778436
86798693171977   KAYLA             KING                 CO         90013256931
86799195355945   TIMMY             TORRES               CA         90014491953
86811917477533   SILVIA            CABRERA              NV         43083939174
86813412385856   DEEP              LONG                 CA         90000224123
86813918285936   JAVIER            MARTINEZ MANRIQUEZ   KY         67082279182
86814145185856   ALVARO            LOPEZ                CA         46055841451
86814317355945   SAMUEL            DEMASTERS            CA         90013123173
86815335291975   MAIRA             SANCHEZ              NC         90001653352
86815635171977   ADRIANA           CHAVEZ               CO         38061196351
86815872185856   BOB               PICADO               CA         46013218721
86816238497138   JEFF              BAKER                OR         90011242384
86818564793771   EDDIE             HALL                 OH         90014035647
86819197871977   YOLANDA           ATENCIO              CO         38019251978
86821353441262   MELANIE           WRIGHT               PA         51051583534
86821444493771   LARUEN            WALTON               OH         90011114444
86821791351349   JALYSSE           BROWN                OH         90008497913
86822248461928   KATHERINE         YEKHILEVSKY          CA         90014262484
86823182841262   RAYMON            ROACH                PA         90012321828
86824183197138   MARIELA           DIAZ GARCIA          OR         44080141831
86824196391837   KIMBERLY          HUTTON               OK         90010111963
86825297471938   FRANK AND SUSIE   BOLDT                CO         90010302974
86827999571977   NANCY             VALVERDE             CO         90012839995
86828464561928   CHRISTOPHER       CHAVEZ               CA         90014674645
86829351881677   ERICA             BANKS                MO         90001053518
86829686885936   DOMINGO           CARBAYAL             KY         67019246868
86832534161492   JULIE             RIDGE                OH         90013885341
86833129171938   WENDY             CHAVEZ               CO         90006441291
86833197997138   JAMIE             WILLIAMS             OR         90011891979
86834374691975   RUBEN             LESSO                NC         90009613746
86835886591242   CARLIN            ZIPPERER 5TH         GA         90015068865
86835984133698   NAVONYA           RIGGINS              NC         12042839841
86836579233698   EMILY             JENKINS              NC         90014755792
86837156991979   JOSEPHINE         CHARLES              NC         90010831569
86837914485888   SARA              COOPER               CA         90012339144
86838463281677   EDDIE             COLE                 MO         90011484632
86838765793771   NICOLE            WATERS               OH         90001267657
86839847641262   CHARLENE          MARTIS               PA         51060818476
86841623277537   ROSALBA           GUERRERO             NV         90013976232
86843636841275   STACEY            DAVIS                PA         90000876368
86843672297138   CHRISTINE         FULFER               OR         44018706722
86844239461922   MARIA             CHAN                 CA         46085022394
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86846826391242   JAMES        DUDLEY                    GA         90005958263
86847273785888   JOSE         BERNARDINO CARPIO         CA         90010322737
86849328147822   RODOLFU      MIRANDA                   GA         14083123281
86852577897138   TIMOTHY      ANDERSON                  OR         90011415778
86854384171977   JUSTIN       RAEL                      CO         90010853841
86854637391837   JAMIE        WISDOM                    OK         21005826373
86855626971938   MICHAEL      CLARK                     CO         90014266269
86856438281677   DANNY        GURNEY                    MO         90011134382
86859245391979   MAIRA        DIAZDIAZ                  NC         90014712453
86859441355945   REBECCA      UPSHAW                    CA         90013174413
86862675571977   GARRETT      SALAMENA                  CO         90011456755
86862994591837   MONICA       HOWARD                    OK         90013399945
86863312393771   HANNAH       PERL                      OH         90004153123
86864717771977   ANNETTE      SALAZAR                   CO         38045707177
86865273791553   LUPE         ARREDONDO                 TX         90003872737
86865557661928   DELONIA      ANDERSON                  CA         90010735576
86867721577537   JESUS        GUERRERO-CHAVEZ           NV         90009607215
86868362397138   OLIVIA       ROGEL-CRUZ                OR         90007723623
86868617585888   AMBER        PRECIADO                  CA         90014096175
86871178571938   JOSE         NEVAREL                   CO         90011391785
86871244291979   AMANDA       EASTON                    NC         90011682442
86871661193771   WILLIAM      KIRKLAND                  OH         90010356611
86871923477537   EDGAR        PINTO                     NV         90012619234
86872631591837   ARMANDO      RODRIGUEZ                 OK         90015206315
86873161181677   EDDIE        OMAR                      MO         29018061611
86875183791975   JOSE         CARBAJAL                  NC         90012731837
86876427197138   DENNIS       HALL                      OR         90014054271
86877431151362   GENA         SANTILLAN                 OH         90014534311
86877545991979   KAWON        WOOD                      NC         90006305459
86877648755945   REYNA        VILLAGRAN                 CA         90009616487
86877794177537   ALMA         ZAVALA                    NV         43009087941
86877962285936   OLIVIA       WARFIELD                  KY         90012499622
86877973191553   MIGUEL       MUNIZ                     TX         90003269731
86878669771938   SHAVAI       HARPER                    CO         90011586697
86878766171938   CORNELIUS    SHADE                     CO         90014427661
86879222941262   HAROLD       WATKINS                   PA         51017472229
86881744141275   JUSTIN       WARNER                    PA         90010377441
86882588197138   CYNTHIA      BABCOCK                   OR         44086955881
86882888277537   DAWN         LEYVA                     NV         90014838882
86883518391242   BRANDY       WATTS                     GA         14571525183
86884724391975   LAZARO       BONIFILIO                 NC         90007217243
86884772693771   LAWRENCE     JACKSON III               OH         64591637726
86885811693771   LYDIA        RICHARDSON                OH         90011928116
86886163191975   CAMELIA      MELGAREJO                 NC         90003811631
86886597233698   ANTHONIO     POOLE                     NC         90014755972
86886914351362   ALISHA       WHITFIELD                 OH         90013609143
86887525941275   EDNA         JACKSON-CHAFFIN           PA         51016695259
86888424571938   JHENER       ROMERO                    CO         90011364245
86889425631445   ERICA        SMITH                     MO         90001244256
86889753391975   CASEY        EWHEELER                  NC         90015447533
86891817697138   PEARL        DUNN                      OR         90012058176
86892793891975   SILVIA       VALDEZ                    NC         90012457938
86892967291532   GERMAN       LOPEZ                     TX         90011009672
86893552541275   MICHAEL      METZGER                   PA         90014945525
86894285171938   THOMAS       ALLEN                     CO         90010262851
86894357561928   JESSICA      ARAMBURO                  CA         90011333575
86896164741262   JAMIE        WELSH                     PA         51041091647
86898572371938   ROGER        EDWARDS                   CO         90014015723
86898945193739   SAMANTHA     JONES                     OH         90010279451
86899386797138   AMANDA       CHRISTENSEN               OR         90012373867
86899459341262   DANIKA       HOOPER                    PA         90008824593
86911422784333   PAYGO        IVR ACTIVATION            SC         90012794227
86911762533698   SHARON       MIX                       NC         90014747625
86911844891837   JOSE         GARCIA                    OK         21062798448
86912665751362   DYLAN        DERUNGS                   OH         90012686657
86912762533698   SHARON       MIX                       NC         90014747625
86913274385888   JOHN ALEX    DRAGER                    CA         90006472743
86916581361928   ISMAEL       RAMIREZ                   CA         90015115813
86917199991979   MANDY L      ENTWHISTLE                NC         90004881999
86918299593724   EMILY        HELFINSTINE               OH         90015002995
86918394585888   CARMEN       RAMIREZ                   CA         90006493945
86918722451362   SARAN        MAJHI                     OH         90012987224
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86918999731449   ALEXIA        BARNES                   MO         27515439997
86919334191837   KATHY         SIBLEY                   OK         21006653341
86919813441262   SUSAN         HOOVER                   PA         51034518134
86919962861928   ROCIO         ANTON                    CA         90009019628
86919974891979   FABIAN        SANTOS                   NC         90007579748
86921424391525   SUSANA        GUTIERREZ                TX         90008634243
86923236155945   LORI          ZEPEDA                   CA         90014492361
86923432441262   NAONY         PRICE                    PA         90009934324
86923849751362   JUSTIN        GERDES                   OH         90009198497
86923857885856   SAMMY         VEREEN                   CA         90013508578
86926975691975   MICHELLE      GONZALEZ                 NC         90015219756
86927185541275   LAMAR         JOHNSON                  PA         90013111855
86927641871938   SCOTT         HARGRAVES                CO         90013016418
86928233355945   KIMBERLY      ZEPEDA                   CA         90012232333
86928264591837   BRITNEY       KIMBLE                   OK         90014192645
86928299197138   JESSE         JONES                    OR         44067652991
86928934891837   WENDALL       MCNAC                    OK         90010769348
86929465871938   NICK          GUADAGNOL                CO         32081794658
86929478941262   NOELLE        KURUTZ                   PA         90012694789
86931528991837   EMMANUEL      THOMAS                   OK         90014565289
86932167771977   VENESHA       OLSON                    CO         38013861677
86932783561928   CLAUDIA       NAVARRO                  CA         90004627835
86935894785856   FCS           FGJDGJKD                 CA         46072918947
86937441591979   STACY         MONTGOMERY               NC         90011344415
86937596797138   MARIA         MARIQUEZ                 OR         90007475967
86937993747831   ANTOINETTE    PARKS                    GA         90012229937
86939231691975   JOSE          LOPEZ                    NC         90008422316
86942212685888   JAMIE         HARBOR                   CA         90010962126
86942927585936   AMANDA        VIOS                     KY         67045359275
86944445971938   JONATHON      DANIELS                  CO         90014814459
86944474191837   ROSALIND      HENRY                    OK         90011614741
86945694877537   JEFFERY       COOPER                   NV         90013656948
86946344997138   YVONNE        HENDERSON                OR         90009333449
86946832961928   SAULO         FACUNDO                  CA         90000948329
86946975385936   SHEILA        PAGE                     KY         90013849753
86947638561928   NORA          DIAS                     CA         46091366385
86947646433698   DURRIUS       DELGADO                  NC         90014756464
86948453271938   DALLAS        VASQUEZ                  CO         90014854532
86948648785936   BRANDY        GARCIA                   KY         90007986487
86949888891975   TAMAREON      CORBETT                  NC         17088698888
86951186355945   EDDIE         GUTIERREZ                CA         90009471863
86953137391553   ALEJANDRA     RAMOS                    TX         90005781373
86953752241262   RICHARD       MITZ                     PA         90009407522
86955775655945   JUAN          GUTIERREZ                CA         49038437756
86956249185888   ROBERTO       CONTRERAS                CA         90011772491
86956253355945   VICTORIA      DE LA CRUZ               CA         90014492533
86957716751362   ZEBULON       TAYLOR                   OH         90011127167
86959521151362   ERNEEN        CHERRY                   OH         90003705211
86959585991837   MELISSA       NEAL                     OK         21023575859
86961271161928   HOLLIS        WARE                     CA         46084072711
86961784685856   ISRAEL        HERRERA                  CA         46046287846
86963435741275   AMANDA        IRWIN                    PA         51009124357
86963975191979   DWAYNE        WILLIAMS                 NC         17062269751
86964197247897   KAWANA        FULLER                   GA         90014771972
86964589241262   SYLVIA        GLOVER                   PA         90013195892
86964987955945   BRYANT        WARD                     CA         90011309879
86965859791979   SUZETTE       THOMAS                   NC         17059638597
86966367841232   BRENDON       SWIFT                    PA         90011463678
86967511447897   LEMUEL        MABRY                    GA         90014965114
86971516385888   GARCIA        GERMAN                   CA         46014065163
86973228477537   SHAWN         WOOD                     NV         90014272284
86974671891975   ISMAEL        LOPEZ                    NC         17055726718
86975244261928   RAYMOND       HENNECART                CA         46098642442
86975761851328   KEVIN         MILLER                   OH         90007187618
86976435891975   JENNIFER      JONES                    NC         90007844358
86978212285936   WILLIAM       RAPISARDI                KY         90013772122
86979299451362   CASSANDRA     KEYS                     OH         90005562994
86981534947897   QUANTISHA     SANDERS                  GA         90014315349
86981564551362   KEVIN         MCBRIDE                  OH         90014575645
86981831591837   JASON         ALMOHANDIS               OK         21082658315
86984669491979   JUAN MANUEL   SALDANA                  NC         90014886694
86984938691979   HORTENSIA     GONZALEZ ARREGUIN        NC         90014849386
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86985193193771   RUSSELL            WEBB                OH         64506351931
86985928755945   JUSTIN             TINER               CA         90013199287
86985963941275   PATRICIA           BATES               PA         90011279639
86991788677537   FRANCISCO          CARRANZA            NV         90012197886
86992432351362   PAUL               GORDON JR           OH         66051054323
86992524161928   GENNY              URREA               CA         46072775241
86993291171977   COURTNEE           CLAYTON             CO         90014262911
86993663271938   ANGELA             ALCALA              CO         32040856632
86993696855945   SERGIO             LEON                CA         90015216968
86994441677537   RANDY              ARTERBURN-JOHNSON   NV         90014094416
86994712697138   ROGELIO            CARBAJAL            OR         90013327126
86996173285856   BLAS               ROMERO              CA         90013821732
86997682791975   IRIS               ROBLES              NC         90012536827
86997737347897   TALONDA            ROBERTS             GA         90010177373
86997899985856   LORENZO            RAMIRES             CA         90014488999
86998897285936   DANIELLE           TURNER              KY         90005278972
87111743671977   LEON               ARAGON              CO         38096107436
87112165791975   BATASHA            STANLEY             NC         90012951657
87115114891837   SANDRA             CUEVAS              OK         21077471148
87116148441275   ZACHARY            PARKER              PA         90011231484
87116756371977   DAWN               TURBYFILL           CO         90013747563
87117195161928   VICTOR             FERNANDEZ           CA         46045981951
87119218455931   LETICIA            FABIAN              CA         90009162184
87123146741275   STEPHANIE          BLAKEMORE           PA         90011481467
87126232885962   JOHN               JACOB               KY         90009342328
87126826441275   SHANNON            STOWERS             PA         51018608264
87127413151362   LORENA             RODRIGUEZ           OH         66018274131
87128284491963   MICHELLE           BRIGHT              NC         90002222844
87129781391975   JOE                NUNN                NC         90012037813
87132122891242   NICOLE             PENICK              GA         14579911228
87132299841275   VINCE              LUPI                PA         90010382998
87132879677537   JESSE              STACKHOUSE          NV         90011398796
87133628593771   KERTINA            CALLOWAY            OH         90011376285
87133676797138   MARIA              GONZALEZ TOSCANO    OR         90003466767
87135117351341   JENNIFER           GREGORY             OH         66021841173
87135812793771   SIDNEY             WOLF                OH         90012958127
87136413271977   SHAELI             WERNER              CO         38029994132
87136486741275   KENDRA             BRACEY              PA         51008544867
87138295791837   JAYNAE             STEWAREL            OK         90000462957
87138836771977   THOMAS             STEVENS             CO         90006298367
87141114591558   MOISES             APODACA             NM         90015081145
87141515397138   ANGEL              MALDONADO           OR         90000225153
87142152741275   MENACHEM           MACKEY              PA         90011231527
87142546691837   KIERRA             PRICE               OK         90010985466
87144768447897   SHAMEIKA           HARRIS              GA         90014837684
87147874197138   ERIKA              HERNANDEZ           OR         44060938741
87147969851362   JENNIFER           RIED                OH         66074329698
87148489347897   ANGELA             HEARD               GA         90014714893
87149363991975   JASMINE            ONEAL               NC         90014443639
87149623971977   CHRISTINA          HERNANDEZ           CO         90007916239
87149821877537   DEBBIE             MILLER              NV         90012458218
87151612333698   CHERIENCE          SMITH               NC         90002256123
87151741147897   MICHELLE           DAVIS               GA         14094257411
87152734197138   BRANDY             MILLER              OR         90013677341
87153274993771   BONNIE             LOCK                OH         64528342749
87154295351341   LESTER             CAMP                OH         66094772953
87154397541262   MIKE               MARNIK              PA         90013943975
87154485597138   AMY                BARLOW              OR         44092014855
87154771491837   ANTONIO            ARMAS               OK         21088207714
87155362971977   JESSICA            GALLEGOS            CO         38090073629
87155525691979   LATESHA            WIGGINS             NC         90013315256
87155928161928   ABRHAM             RODRI               CA         90002099281
87156592991837   SIERA              JASMINE             OK         90013965929
87162916541262   JENNIFER           MARTY               PA         90014359165
87162971497138   MARIA DE LOURDES   FLORES              OR         90013219714
87163439191837   CHENOA             FRAZIER             OK         90015204391
87163637541275   MELISSA            SNYDER              PA         51007486375
87163853191979   GABRIELE           RICHARDSON          NC         90001698531
87164128591837   ANNETTE            SMITH               OK         90010451285
87164834451341   NICOLE             ROMANELLO           OH         90003548344
87165561551341   KATY               HOLTHAUS            OH         90014715615
87165938761928   NEREIDA            GUZMAN              CA         90000169387
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87166818291837   RICHARD       WILLIAMS                 OK         90013918182
87167326691975   KENDALL       GRIRI                    NC         90013043266
87167437841262   BILL          WAGONER                  PA         90013944378
87169344597138   AGUSTIN       RAMOS                    OR         90013463445
87171565851341   ANDREW        SCOTT                    OH         90014715658
87171755193771   ANGELA        MARSHALL                 OH         64500147551
87172226954133   BRYCE         DUNCAN                   OR         90003052269
87172232747897   JEANETTE      GUZMAN                   GA         90013692327
87173451751362   ABRAHAM       MARTINEZ                 OH         90012694517
87173592661928   ADRIANA       BUELNA                   CA         90002565926
87173898741262   JADE          MARTIN                   PA         90014338987
87173943847897   DIANNA        HOLLINS                  GA         14081849438
87174147277537   DAVID         BUFFMIRE                 NV         43021401472
87174235193771   CIERA         STANLEY                  OH         90011122351
87175751193771   NATASHA       COX                      OH         64535067511
87176615951341   TRAVIS        PERKINS                  OH         66007156159
87176652147897   MARIO         PAULDO                   GA         90008276521
87177133577537   JOY           DOYLE                    NV         90000391335
87179565851341   ANDREW        SCOTT                    OH         90014715658
87179833391935   NATASHA       CURRIE                   NC         90008508333
87182473751341   NICHOLAS      WHITMIRE                 OH         66017834737
87183281991837   STACY         BOSSELL                  OK         90013572819
87185514591979   MARIA         RUIZ                     NC         90011145145
87188621291975   FRANCISCO     NUNEZ                    NC         90013836212
87189318951341   ASHLEY        SANDERS                  OH         90012723189
87191736791837   TIA           PRESLEY                  OK         90014337367
87193533591975   DEXTER        COWARD                   NC         90013595335
87194641141262   MICHELLE      HIPKISS                  PA         90003146411
87194817777537   SAMANTHA      TOM                      NV         90014618177
87195249261928   TIARA         STRIPLING                CA         90013482492
87196465866177   JOSE          RAMOS                    CA         90015224658
87197111684333   YHASMANY      LA FUENTE                SC         90009131116
87197117791975   SARAH         LONG                     NC         90013511177
87198923477537   EDGAR         PINTO                    NV         90012619234
87211176697138   YOUNG         KELSEY                   OR         90006201766
87211252673294   ERIC          SANCHEZ                  NJ         90015422526
87213574651325   JACKIE        TODD                     OH         90013395746
87214846177537   ISAI          SEGURA                   NV         90014498461
87221675791837   BRADLEY       HOUK                     OK         90014956757
87222158893771   JOSEPH        BAILEY                   OH         64524491588
87222523455935   BALDEMAR      REYES                    CA         90009985234
87222961291837   SHEQUITA      REVELS                   OK         90011499612
87225743893771   JESSICA       LYKINS                   OH         90013907438
87226582877537   MORGAN        REAVES                   NV         90009195828
87227883677537   BRANDI        BISHOP                   NV         43000668836
87233233185822   TROY          BURTON                   CA         90001062331
87233254291979   SHARLENE      WAARDENPURG              NC         17041772542
87233397671977   LUIS          RODRIGUEZ                CO         90014443976
87233648451341   JACQUI        MOONEY                   OH         90014706484
87233696591242   TRACY         BROWN                    GA         90014406965
87234983597125   MARIA         OROZCO                   OR         90011329835
87235256397138   JANET         LILY                     OR         44069062563
87236815161928   GUILLERMINA   GARCIA                   CA         90003968151
87237667291975   WALTER        FURMAN                   NC         90014476672
87239936377537   ALEXANDER     SHROPSHIRE               NV         90013549363
87241141541262   LATOYA        JONES                    PA         90014161415
87241675451341   MATTHEW       PRATER                   OH         90010846754
87242883791837   LUCIA         MACEDO                   OK         90009678837
87243589271977   AARON         VELASQUEZ                CO         38031555892
87244676151341   HEATHER       GORDON                   OH         90014706761
87246592593771   ALVIN         ALDRIDGE                 OH         90001985925
87248626833698   ASHLEY        SMITH                    NC         90005296268
87249319671977   N             ANDERSON                 CO         38060173196
87251137847897   ANDREW        BURNEY                   GA         14061311378
87252217791837   PAULA         GRADNEY                  OK         21001782177
87252561991979   HASSAN        MALICK                   NC         90011915619
87254112141262   JEFFREY       MUNDY                    PA         51094461121
87255136977537   RODRIGO       MARTINEZ                 NV         90012681369
87255171591553   MIRELLA       FLORES                   TX         90008591715
87255582297138   MONICA        PERALES                  OR         90006215822
87255873991528   LEONEL        SANTANA                  TX         90012588739
87256431241262   CYNTHIA       PORTER                   PA         90013224312
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87259726393771   MIGUEL       ROMERO                    OH         90013977263
87261829241275   NIJAH        HAMPTON                   PA         90001198292
87263971491242   LEIBER       SUCHIAPA                  GA         90009389714
87264125131425   VANIKA       BOLDEN                    MO         27515301251
87264896547897   NATALIA      ALLEN                     GA         90011198965
87265874697138   MORA         CORTEZ                    OR         90013368746
87267284161928   DARRICK      WEST                      CA         46007472841
87267596971977   MAXINE       MINJAREZ                  CO         90011525969
87269835797138   JEREMY       SEQUIN                    OR         90013528357
87271771141275   SHANA        JOHNS                     PA         90004637711
87274451151362   JOSEPH       LUKEN                     OH         66040674511
87274949861928   JAIME        RESENDIZ                  CA         90006309498
87275525447897   DENISHIA     WILLIAMS                  GA         90003045254
87277723551341   FREDRICK     THOMAS                    OH         90013057235
87277989484351   DAVID        CHRYST                    SC         90013279894
87279864633655   BEN          BALDWIN                   NC         90013748646
87279932461928   MARCO        FLORES                    CA         90010489324
87283347371977   BOBBIE       HAVENS                    CO         90010853473
87284188171977   LUIS         CHAVARRIA                 CO         90012161881
87284234547897   JULIA        RIPLEY                    GA         90011302345
87287767161928   MELCOM       JONES                     CA         46052667671
87287767691837   WHITNI       JOHNSON                   OK         90009077676
87287823491979   MILLISSA     HOLLAR                    NC         90015128234
87288256251341   JOYCE        BOZE                      OH         66093962562
87288669233698   JAYR         JOHNSON                   NC         12014956692
87288932347897   MELISSA      BEAL                      GA         14010269323
87288996951362   LUTHER       KIMBLE                    OH         66081809969
87289281991837   STACY        BOSSELL                   OK         90013572819
87289759597138   GARNICE      CARR                      OR         44075777595
87289932391975   ELSA         LINARES RAMOS             NC         90013909323
87292851861928   MARISA       STOCK                     CA         90002218518
87294273491979   DAVID        FLEMING                   NC         90010842734
87294677244346   JASMINE      ARTIS                     MD         90012596772
87294686547897   JAMARKES     MOORE                     GA         90011986865
87294748951341   ANGELEE      DONDERS                   OH         90014707489
87294989491837   ANTHONY      NIMAN                     OK         90010369894
87296727691837   NAKITA       WILLIS                    OK         90013967276
87296748951341   ANGELEE      DONDERS                   OH         90014707489
87297386991837   SANDRA       MARTINEZ                  OK         90010003869
87298451891837   SHAWNTAE     SLOAN                     OK         90010054518
87299244197138   ERIK         EVENHUS                   OR         44087472441
87299385593771   MELVIN       OGLESBY                   OH         90008993855
87311238847897   CASSANDRA    GRAY                      GA         90013462388
87316535797138   DESTINY      SUBIA                     OR         90014715357
87316813641262   ANDRE        PERKINS                   PA         90015318136
87318343761928   JACOB        SAVARY                    CA         90006843437
87318561941262   HILDA        SIMPSON                   PA         51075385619
87319438591979   JESUS        GARCIA                    VA         90015194385
87319489247897   TOMICIA      DAVIS                     GA         90014784892
87321376741262   QUINCY       JONES                     PA         90015033767
87322385441275   DAVID        PIERZNY                   PA         51053683854
87323167751362   ZACH         VIA                       OH         66069341677
87324295951341   DOUGLAS      LOWER                     OH         90007342959
87324886251325   YOLANDA      LEWIS                     OH         90004588862
87326274291837   DIM          CING                      OK         90014962742
87326464161928   CHRISTINA    SMITH                     CA         90012604641
87331977377537   JUANA        CRUSETT                   NV         90008219773
87332144691979   PAYGO        IVR ACTIVATION            NC         90013091446
87332169291837   ASHLEY       REED                      OK         90008981692
87332541251341   MICHAEL      ALLEN                     OH         66040275412
87334237677537   RUDY         GONZALES                  NV         43094942376
87335461891975   HELEN        SCHRELBER                 NC         90014664618
87336728747897   LATARA       WOODARD                   GA         90014547287
87338329951349   LATOYA       SMITH                     OH         90008543299
87338598297138   ESTEBAN      GASPAR                    OR         44006215982
87342197871977   YOLANDA      ATENCIO                   CO         38019251978
87342587891975   MARIA        TEYTUD                    NC         17074135878
87342718497138   BRITTANY     WILHOIT                   OR         90014877184
87343448791979   PORSHA       LENNON                    NC         90014374487
87344626451341   ERNESTINE    BRETZ                     OH         90014716264
87344844491979   RAHJOHN      BALDWIN                   NC         90011748444
87346799771977   KATHERINE    RAMIREZ                   CO         90012837997
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87347252891979   TIM                WHITE                NC        90015132528
87348654651341   RUTHIE             STIDHAM              OH        90014716546
87351959291979   TREMAYNE           HAMPTON              NC        90010019592
87353626547897   OLYMPIA            STEPHENS             GA        90013686265
87353824191837   INDIRA             VAZQUEZ              OK        90013968241
87354693791975   UEN                BAM                  NC        90009846937
87354887991837   YOLANDA            HARRIS               OK        90014978879
87355432641275   DNIESHA            CLEVELAND            PA        51005414326
87355436761936   GLORIA             NAVARRO              CA        90012914367
87355442561928   KATY               JELLISON             CA        90004924425
87355446747897   DEXTER             WILLIAMS             GA        90008664467
87357474633684   ARTANDA            MARSH                NC        90014704746
87357623997138   NADIYA VASILEVNA   DEWITT               OR        90014866239
87358341891837   MARIA              PEREZ                OK        21060433418
87358719471977   MICHAEL            HOVRUD               CO        90011117194
87359749577537   FERNANDO           GONZALEZ             NV        90012687495
87362281247897   SHAMIKA            WIMBERLY             GA        90013832812
87362286491979   ANNICE             WILLIAMS             NC        90014592864
87362397261928   MARIO ALFONSO      CALZADA              CA        90013293972
87363531651341   ANGELA             THOMIN               OH        90011625316
87363889791975   JOSELIN            ROSALES              NC        90015128897
87364843151341   MARIO              GONZALES             OH        66089718431
87365649961928   ANDREW             WRIGHT               CA        90013016499
87365861597138   RUTH               LORENZO              OR        90007888615
87366816933471   JEFFREY            MITCHELL             AL        90013158169
87367736451341   REBECCA            COLEMAN              OH        90014717364
87368548491837   JERLON             MORGAN               OK        21084135484
87371841791837   JUAN CARLOS        HERNANDEZ MARTINEZ   OK        90013968417
87372736451341   REBECCA            COLEMAN              OH        90014717364
87373288961928   ANGELINA           RUVE                 CA        90008502889
87375539297138   JUAN               ARROYO               OR        90006595392
87375545451341   JAMES              VANDYGRIFF           OH        66082405454
87376246891979   TIMO               TEO                  NC        90009402468
87377498851341   CATIE              MORRISON             OH        66006104988
87378861791837   CURTIS             HAWKINS              OK        21085968617
87379216241275   ELAINE             JENKINS              PA        51072472162
87381753161928   TANICESHA          RODGERS              CA        90013937531
87381946691558   MARICARMEN         TAYLOR               TX        75084229466
87382586671977   NICOLE             BRUCE                CO        90000285866
87382592647897   WILLA              ASHLEY               GA        90014065926
87382935461928   STACEY             ADAMS                CA        90013769354
87384343171977   DOMINIC            CAVANAGH             CO        90004723431
87385382991975   RENEE              ALLEN                NC        90007823829
87387779751341   BRIAN              CIERS                OH        90014717797
87388196333453   DEMICHAEL          STEEL                AL        90014381963
87389411871977   THOMAS             COLLINS              CO        90013494118
87389926833698   PENN               VATIMA               NC        12049709268
87391857177537   WENDY              WEBER                NV        43020518571
87392468277537   JUAN               BARRERA              NV        90012374682
87392643191837   CORRINA            MARQUEZ              OK        90010466431
87393554491837   NOLVI              YOVANY               OK        90010985544
87394632471977   FELICIA            CARBAJAL             CO        38025056324
87395355697138   JOEY               MCMASTER             OR        90010483556
87397337841262   CYNTHIA            ROBINSON             PA        90008863378
87398943391242   KATRINA            POLITE               GA        14584419433
87399238781538   RAMIRO             RUBIO                IL        90015582387
87399457747897   LASHANDRA          JENKINS              GA        90015034577
87411397141262   JOHN               WARD                 PA        90010103971
87412371291975   PERSON             SURONI               NC        90011213712
87412446491979   JENNIFER           TROTTER              NC        17051274464
87413269891975   DENISE             HAYES                NC        90009452698
87416449891975   KIM                HARE                 NC        90012054498
87418924347897   TABATHA            COLEY                GA        14015879243
87418955991837   BILLY              BUTLER               OK        90011529559
87422822461928   GONZALO            MARTINEZ             CA        90013228224
87422974651362   FAITH              MAYS                 OH        66082359746
87423744577537   REBECA             VALENCIA-LARA        NV        43091737445
87424779171977   STEPHEN            TRUJILLO             CO        90012597791
87425436897138   KATHLEEN           MOREDOCK             OR        90014874368
87425641951349   SANDRA             MACKENZIE            OH        66071126419
87425945451341   KATLYN             CHOMA                OH        90001199454
87426118347897   JESSICA            VICKERS              GA        90010951183
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87426354151344   JUAN         VALDES-FLORES             OH         66010123541
87431931591979   MIARA        WARREN                    NC         90013889315
87433636191979   ADEKUNLE     ADEBULE                   NC         90008146361
87433826641262   LADONNA      HESTER                    PA         51060658266
87434937797138   MARCO        TRAPALA GOMEZ             OR         90014349377
87437693591979   BELINDA      ROBERSON                  NC         90013756935
87438518161928   ABEL         BERNAL                    CA         46010295181
87438657647897   ALICIA       DEMPS                     GA         90013026576
87439876193771   MICHAEL      FABER                     OH         64573498761
87441443461928   MARISOL      DIAZ                      CA         90006284434
87441593991837   RACHEL       ANDERSON                  OK         90015125939
87442147851341   TIMOTHY      TEAGUE                    OH         90010051478
87442937797138   MARCO        TRAPALA GOMEZ             OR         90014349377
87442972247897   AUDREY       KENDRICK                  GA         90014359722
87443416891975   ANA LILIA    NERI-ISLAS                NC         90007734168
87443557171977   CATHERINE    BACA                      CO         38083015571
87444426361928   PATRICIA     ARCINEGA                  CA         90013734263
87444938351341   GEORGE       HODGES                    OH         90013519383
87447244851341   STEVEN       FRANCH                    OH         90011352448
87449325191879   JASMINE      SMITH                     OK         90001603251
87449457141262   JOHN         BRODERICK                 PA         51066304571
87454672485994   WENDY        BERRYMAN                  KY         90001036724
87454724591979   CLAUDETTE    ISANGWA                   NC         90013147245
87455874697138   MORA         CORTEZ                    OR         90013368746
87455969197138   JARED        EMRY                      OR         90014339691
87459667891975   MICHAEL      TORRES                    NC         90014536678
87459833391975   STEVEN       TORRES                    NC         90014378333
87461285377537   ROBERT       CHURCH                    NV         43098892853
87462271347897   SHIRLEY      BRONNER                   GA         90011302713
87462451291837   NATALIO      ESCOVAR                   OK         90012404512
87462468191979   ODILIA       MORENO                    NC         17074474681
87463729171977   JANELLE      MONTIEL                   CO         90012017291
87465644591323   L.C.D.       ENTERPRISE INC            KS         29000606445
87466312191837   DARIN        OLINGER                   OK         90010183121
87467732977537   MARIA        FERNANDEZ                 NV         90001407329
87468192251341   RHONDA       EUTSEY                    OH         90010941922
87469347741262   ALAN         SMOCHKO                   PA         90011523477
87471225891837   DORIS        ROLLINS                   OK         21027622258
87471386341262   PAUL         GUARDALABENE              PA         90007463863
87472552693771   DYLAN        JUDD                      OH         90012785526
87473986741275   DAWN         KELLER                    PA         90010109867
87476371591975   JANEL        WATKINS                   NC         90013693715
87478121477537   ROGELIO      MATEO                     NV         90002491214
87478444991975   DONNA        BURKS                     NC         90011214449
87479147347897   NYTASHA      PRATER                    GA         90005291473
87479633577537   GUADALUPE    SOTO                      NV         43057206335
87481165171977   JOESEPH      WOELFLE                   CO         90012271651
87481489461928   IZZY         ORNELAS                   CA         90010624894
87483119561962   DANIEL       MARTINEZ                  CA         90009481195
87483351993771   JALEN        SHELL                     OH         90010013519
87483462461928   JOSE         MALDONA                   CA         90007674624
87484271497138   AUBREY       SIMON                     OR         90015252714
87484372891979   JOSEPH       CORBETT                   NC         90012943728
87485399141275   RACHEL       EDDY                      PA         51093603991
87487296893771   SCOTT        MOORE                     OH         90014402968
87487915591837   LEON         FOWLER                    OK         21059949155
87488156441262   DUTCHESS     STROTHERS                 PA         90008251564
87489668191837   KAREN        PUCKETT                   OK         21059586681
87491264671977   MELANIE      HOUSE                     CO         90014792646
87492352885962   SALLY        MURRELL                   KY         66036793528
87492993891975   JERMAINE     SANDERS                   NC         90011439938
87493236993771   SUSAN        MILLER                    OH         90010902369
87493274291837   DIM          CING                      OK         90014962742
87495199351362   JAMES        WILLIAM                   OH         66020161993
87496151997138   MICHAEL      MCINTYRE                  OR         90011971519
87497575533698   SHANITA      HARRINGTON                NC         12008465755
87499333377537   STEPHANIE    BROWNE                    NV         90012583333
87512753561928   MARK         LILJESTROM                CA         46073217535
87513221691975   BOBBI        WHITTEN                   NC         90014392216
87513669397138   CASSIDY      GREENE                    OR         90013536693
87514778377537   SILVIA       ELIZABETH                 NV         90007697783
87516538477537   BRANDI       DOSS                      NV         43090955384
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87521171191837   JESUS              HERNANDEZ           OK         21059951711
87521533291979   ANTONIO            RAMOS-BRAVO         NC         90015175332
87523631247897   TRACYE             DAVIS               GA         14000356312
87525846757128   CESAR              MARTINEZ            VA         90010318467
87526465871977   SANDRA             LOPEZ               CO         38003554658
87526855641262   ERICKA             WILLIAMS            PA         90011128556
87527299861963   ALEXIS             CAMARGO             CA         90011672998
87528255691975   ANDRES             ORTEGA              NC         90014172556
87528897493771   COREY              HAZLEY              OH         64564718974
87529938341275   HEATHER            WOOD                PA         90007629383
87532173393771   SUMMER             REDD                OH         90001501733
87532691941262   PEARLINE           ROBINSON            PA         90012996919
87533414271977   JEREMY             HERNANDEZ           CO         90007764142
87535789577537   PENNY              LEUZINGER           NV         90013837895
87537725471657   JOHNNIE            JORDAN              NY         52052597254
87538483431448   PAMELA             ELLIS               MO         90011194834
87538897997138   AGUSTIN            MARTINEZ            OR         90012538979
87541355197138   ANJELIQUE          PRINCE              OR         44082153551
87543435651362   DENNIS             CRAMER              OH         66041734356
87543719793771   MISTY              BROOKS              OH         90007797197
87543876751341   HUGO               LOPEZ               OH         90008758767
87544884647822   MICHELLE           GILLIS              GA         14083408846
87544928161928   SINAY              CHANCAY             CA         90008619281
87548922397138   MICHAEL            ROACH               OR         90013839223
87551458277537   DOLPHINA D STARK   JOSEPH NORCUTT      NV         90014094582
87551458591979   BREANA             MARSHAL             NC         90013864585
87554765941262   ROBERTY            LAMANNA             PA         90010267659
87555891377537   ANA                HERNANDEZ           NV         90011108913
87556276661928   DAVID              THORNTON            CA         46001212766
87556356942329   RACHAEL            BLEDSOE             GA         90012063569
87557324593771   TORI               SNIDER              OH         90010903245
87558483941262   PATRICIA           FULCOMER            PA         51085114839
87559814991837   KAREN              LIVINGSTON          OK         90014068149
87564542471977   BENITA             SALAZAR             CO         90012715424
87564725541262   DOMINIC            ROMETO              PA         90012997255
87565124241262   DERICK             HETCHISON           PA         90006571242
87566133997138   COLLEEN            CROOK               OR         90014001339
87566285691837   ANABEL             GONZALEZ            OK         21036852856
87566523391524   ARTURO             GUTIERREZ           TX         90011515233
87568157777537   HEATHER            GORCEY              NV         90001541577
87568974941262   DONTEYA            LAWHORN             PA         90009029749
87569878593771   DEBORAH            CRAWFORD            OH         64589138785
87572411197138   COLTON             CLAPPER             OR         90014894111
87574231961951   CARLOS             CERVANTES           CA         90014492319
87575666561978   JEFF               GUILFORD            CA         90001646665
87577171447822   KEYSHEJRA          MANN                GA         90005281714
87578572733698   JOLENDA            MORGAN              NC         12066185727
87578941797138   GABRIEL            CHAVEZ              OR         90010269417
87579646947897   DARLENA            ALLEN               GA         90012986469
87586489247897   TOMICIA            DAVIS               GA         90014784892
87586494771977   EMMA               TAFOYA              CO         90010844947
87586578841262   JONAS              SLAGER              PA         90013945788
87586621591837   MARIA              DUGGER              OK         90011566215
87591295893771   KURT               WILCOX              OH         90013362958
87591695991837   FRANCISCO          CABANA              OK         90012636959
87592486547822   TRESADI            MCELROY             GA         14002044865
87593774491975   TYLER J            GUILLORY            NC         90008617744
87594255741262   KENNETH            POPULO              PA         51086062557
87594531661928   ALEXIS             BARRALES            CA         46087375316
87594765351341   JERRY              GRAY                OH         66013347653
87595333933685   ANTHONY            BUTCHEE             NC         90011903339
87596883991975   REBEKKA            HOLLANDER           NC         90001048839
87597567891975   ANTOINETTE         PULLEN              NC         90015015678
87597651897138   ANA                LOPEZ               OR         90014856518
87611238893771   MARGARET           VALENTIME           OH         90007652388
87612365977537   ROSA               MORENO              NV         90002603659
87614528191523   JASMINE            DIAZ                TX         90010335281
87614696171977   BRENDA             WAIT                CO         38043116961
87615924791979   PORCHIA            HARTSFIELD          NC         90008349247
87617461491975   RAFAEL             MORALES             NC         90000674614
87621567251362   DAVID              DEARING             OH         66041665672
87624333291837   KEITH              SINCLAIR            OK         90001623332
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87628269141275   LISA            MCMINN                 PA         51022712691
87632569961928   JUSTINA MARIE   LOPEZ                  CA         90013055699
87633875761928   CONCEPCION      LOPEZ                  CA         90012948757
87634317493771   JOHN            OSBORNE                OH         90013053174
87635425691979   BRIDGET         EVETTE                 NC         17052734256
87635923641262   KAYLA           FLEMING                PA         51004549236
87635929797138   ALBERTO         SOSA                   OR         90000249297
87635955351341   DALLAS          HINES                  OH         90005109553
87637478391975   ISHA            LYANS                  NC         90012654783
87639443461928   MARISOL         DIAZ                   CA         90006284434
87639744641275   ERIN            ALLEN                  PA         90006047446
87641892141262   TONI JO         PATAK                  PA         90012938921
87642847151341   MEGAN           HOLSCHER               OH         90014728471
87644234993771   DENNIE          CRUEA                  OH         90015232349
87644626193771   DOUGLAS         JONES                  OH         90010836261
87645944472444   RICHARD         BUCHANAN               PA         90004989444
87645989877537   TREVOR          WILLIAMS               NV         90013799898
87646858951341   DAVID           UPTON                  OH         90014728589
87647241151341   JAMES           WALKER                 OH         66011092411
87647826591979   DENYSE          WILSON                 NC         17003638265
87648457251362   RANDI           MARIE HOTT             OH         66018914572
87651214191975   ANNE            WISE                   NC         90010982141
87654237191975   DANIEL          QUIGLEY                NC         90006662371
87654946891837   KARLA           GONZALEZ               OK         90013409468
87656742893771   JASON           TURNER                 OH         90006217428
87656965797138   RONALD          MAY                    OR         90007769657
87657161997138   VANG            YANG                   OR         90011971619
87661515961928   YVETTE          MEDINA                 CA         90010625159
87661831551341   REBECCA         THORNTON               OH         66038378315
87662832857127   ROSALY          LARIOS CRUZ            VA         90001308328
87662844397138   JERRY DALE      CASSITY                OR         90013328443
87663222391979   FRANKLIN D      ISLER                  NC         17015832223
87664685291979   TY              HARRIS                 NC         90014906852
87664745341232   SARAH           TURNEY                 PA         90010717453
87665437377537   BREANNA         CAMPBELL               NV         43046634373
87665525451341   DOMINIQUE       ACREE                  OH         90011015254
87665544497138   LATAIR          CHARMAINE RHODES       OR         90012585444
87665654741275   BRITTANY        LEE                    PA         90014726547
87666523155931   JESIS           RAMIREZ                CA         90012985231
87675356591979   BRADLEY         BROUGHTON              SC         90015133565
87675791641262   JUAN            VELAZQUEZ              PA         90012997916
87676996741262   DON             MAYOWSKI               PA         51061439967
87677734651332   AMBER           LIKELY                 OH         90007087346
87682717455931   CARMEN          SORIA                  CA         90011167174
87683632791837   SYLVIA          SCOTT                  OK         21038616327
87684146251341   ANDREA          BAKOS-VEITE            OH         66054651462
87684629391979   LONNIE          GASP                   NC         90004846293
87685374891837   LANERA          HALL                   OK         90012413748
87686823661928   MARIA           ALVARADO               CA         90012428236
87688153761977   GUSTAVO         GARCIA                 CA         90008161537
87689926591975   TIMOTHY         RUFFIN                 NC         90010099265
87689951641262   DUJUAN          HALL                   PA         90013959516
87691586891837   CHYLA           GIBBS                  OK         90011005868
87692328993771   TIMOTHY         WORDEN                 OH         90014323289
87694992471977   REEANN          MARTINEZ               CO         90012859924
87696795147897   LENA            KING                   GA         14055547951
87697543447897   KENYATTA        GILBERT                GA         90008815434
87697722697138   BEVERLY         TURNER                 OR         90011477226
87711541977537   TYANNE          GUNN                   NV         90012715419
87711791641262   JUAN            VELAZQUEZ              PA         90012997916
87712491977537   DESIREE         VAUGHN                 NV         90014594919
87713876391979   ROCIO           CASTRO                 NC         90012688763
87715229991837   BRIAN           WILLIAMS               OK         90008842299
87715566361928   AMBER           ALEQUIN                CA         90000175663
87716257385962   MARIA           ENNIS                  KY         90010102573
87716617361928   JILL            JORGENSEN              CA         46068776173
87717252891975   ALISA           HEDGEPETH              NC         17045492528
87719553297138   LISA            KILBRIDE               OR         90013405532
87719992991975   CARLOS          ARAUZ ESPERILLA        NC         90012689929
87721449771977   RENEE           LAMBORN                CO         90013804497
87721671391837   MIA             JACKSON                OK         90014866713
87722177241262   DOREEN          HILL                   PA         51040361772
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87723379371977   JAMES         ROMINES                  CO         90009443793
87724854751341   COURTNEY      HOUSER                   OH         90014738547
87726388941263   FLOYD         ROBINSON                 PA         90007463889
87726474691975   ISAAC         GARCIA                   NC         90013354746
87727498233698   J             TRAVIS                   NC         12042254982
87727647381538   KASOMGO       KACUMBA                   IL        90015616473
87727994591837   JESUS         DELGADO                  OK         90003599945
87729241891837   DIANA         ALLISON                  OK         90014012418
87731954471977   CHRISTOPHER   HEADLEY                  CO         90008729544
87732249461981   LETICIA       ROSALES ORTIZ            CA         90012772494
87732356991979   EVER          NOLASCO                  NC         90000453569
87732523971977   MISTY A       LUNGREN                  CO         90014695239
87732971933698   LINDA         LEE                      NC         12008269719
87734383961951   KATIE         RHOTON                   CA         46024703839
87737834451341   JEAN          PIERRE                   OH         90013988344
87743242391979   EFIGENIA      CALIXTO                  NC         90010052423
87744695591935   KENDRA        CUNNINGHAM               NC         90003936955
87744724571977   TIERRA        VALDEZ                   CO         90015107245
87744954997138   GABRIELLE     GRIMES                   OR         44000099549
87744981641262   JOHN          WALSH                    PA         90006629816
87746693733698   BENJAMIN      ROBERTSON                NC         12093376937
87746726991979   TONYA         SNEED                    NC         90014927269
87746872133658   KENNETH       FENNELL                  NC         90011568721
87748128932551   JANET         GRAY                     TX         90011151289
87748393791242   MARY          FLEMING                  GA         90005913937
87748934691979   NERI          LOPEZ                    NC         17075469346
87749214781651   LIONEL        BUFORD                   MO         90005732147
87749348551341   ANDRE         RICHARDSON               OH         90004093485
87749565257561   ERIKA         BARRIOS                  NM         90012425652
87753553471977   SAJJAD        MAHDI                    CO         90013965534
87753749257135   TRACEY        SPEARMAN                 VA         90008807492
87754348551341   ANDRE         RICHARDSON               OH         90004093485
87754657841262   TERESA        PIERCE                   PA         90013946578
87757181297138   ALBION        BEAN                     OR         90012091812
87757659941262   DEVIN         MORRIS                   PA         90013946599
87761327877537   CESAR         ADRIAN                   NV         43011183278
87761421397138   JENNIFER      TISON                    OR         44024374213
87764293441275   DAN           NEWELL                   PA         51011322934
87764385293771   BRANDON       SUTTON                   OH         90011893852
87765522161977   GUILLERMO     GONZALEZ                 CA         90005215221
87765768977537   MATTHEW       MCLEAN                   NV         90013167689
87766229341262   BECKIE        BOFFOLI                  PA         90015372293
87766577791979   DAVID         WAGNER                   NC         90013645777
87766674151341   JENNIFER      DONNELLON                OH         66030366741
87767336781686   DAVID W       SCOMA                    MO         29014043367
87769563851362   CHRISTOPER    RAVE                     OH         66050535638
87769592141275   JESSICA       WHORIC                   PA         90011235921
87774672241262   ADREA         SIMPSON                  PA         90013946722
87775139191837   WILSON        THOMAS                   KS         29020781391
87777516591979   TWANNA        FRANCIS                  NC         90013325165
87778136141262   JOHN          CARLINO                  PA         51038121361
87779489247897   TOMICIA       DAVIS                    GA         90014784892
87781892241262   JERMAINE      SAMPLE                   PA         90007708922
87783642691975   HEATHER       FULTON                   NC         90015276426
87783779591975   ROY           YANCEY                   NC         90012037795
87785236941262   ASHLEY        COLLINS                  PA         90013012369
87785414891837   REGINA        STRINGFELLOW             OK         90012414148
87785791847897   BOBBY         HARVEY                   GA         90008197918
87787342791979   BRITTANY      TURNER                   NC         90014873427
87787735997138   MARY FANNY    ROMERO DELGADO           OR         90014147359
87788699591837   HAU           VUNG                     OK         90012636995
87788782291979   MARIA         LIQUIDANO                NC         17086197822
87792265951363   RENEE         ROBINSON                 OH         90009302659
87793489247897   TOMICIA       DAVIS                    GA         90014784892
87796626486554   WANDA         JEFFREYS                 TN         90014096264
87797776151362   TINA          MOSES                    OH         66042087761
87797964133698   ROSE          JETT                     NC         12004819641
87799675591975   JALEESA       JAMES                    NC         90013216755
87812241371977   JOSE          DEHERRERA                CO         38042732413
87813177997138   ANDREA        WARD                     OR         90007061779
87813451797138   MARIA         BRAVO ZARAGOZA           OR         44063254517
87813474391975   LILIANA       ANDRADE                  NC         90012614743
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87814391741262   SHIRLEY         BARNETT                PA         51059823917
87815521391979   FRANCOIS        AKAKPO                 NC         17089185213
87816379551341   LAURA           GLOVER                 OH         66020243795
87817763693723   STACY           CORNETT                OH         64515337636
87818477961928   JUSTIN          MARLOW                 CA         90012694779
87818745647897   AKILAH          FULLER                 GA         90014267456
87819142741262   ERICA           KINER                  PA         90010981427
87819295141262   MARY ANN        CANNON                 PA         90013422951
87819527585834   JIMMY           CHOW                   CA         46010525275
87819876284336   JUAN            GARCIA                 SC         90005338762
87821876284336   JUAN            GARCIA                 SC         90005338762
87822964941262   JEREMY          KIM                    PA         90013959649
87825919441262   STEPHANIE       MCCOY                  PA         90014919194
87827597191979   JUAN            CASTILLO               NC         90009655971
87827682841275   ZURI            GANDY                  PA         90011236828
87832691791979   GLORIA          QUICK                  NC         17097426917
87832998791837   REGINA          GRIFFIN                OK         21093069987
87833373461928   ASHLEE MARIE    PEREZ                  CA         90013873734
87834116551341   CANDY           HENNEY                 OH         90014731165
87834948291524   ROSA            BORJA                  TX         90011889482
87837734441262   JAYQUAN         CLINTON                PA         90013947344
87837774361928   ALANA           MARTINEZ               CA         90014417743
87839769691837   BURCH           DONNA                  OK         90009987696
87842138951341   JOSE            MENDOZA                OH         90010411389
87842336991975   GARY            BLOISE                 NC         90014023369
87844782171977   CHRIS           WOLFE                  CO         38006197821
87846126151341   JOSVE           HERNANDEZ              OH         90014731261
87847862951341   ERIN            HOUSTON                OH         90014738629
87848691491975   PEDRO EDUARDO   KROMPECHER             NC         90015016914
87849148661928   SANTOS          GARCIA                 CA         90014401486
87849957547897   RONNIE          PERKINS                GA         90014869575
87852347151341   JIMMY           PENNINGTON             OH         90004653471
87853399261983   JAIME           VALENCIA               CA         90008993992
87853958341275   HERMAN          LEDONNE                PA         51041539583
87858726791975   FREDY           REYES                  NC         17024507267
87861499461928   CODY            MILLS                  CA         90013044994
87861954171977   CHRIS           GILLESPIE              CO         90014879541
87862141191524   ANGEL           CORRAL                 TX         90009141411
87862449561928   STEVE           GARCIA                 CA         90008584495
87862836251341   KARINA          MAYRA                  OH         90012328362
87863198171977   RAIANNE         MALBONADR              CO         90007891981
87863211391837   LUIS            LOPEZ                  OK         90012962113
87863468291979   FRANCISCA       SANCHEZ                NC         90015134682
87865146151341   ASLEY           ROSE                   OH         90014731461
87865785391837   GABRIELA        RODRIGUEZ              OK         90012037853
87866478557129   CARMEN          ALICIA                 VA         90011414785
87867561277537   AMY             SEXEY                  NV         90012405612
87867698591979   COREY           JOHNSON                NC         90001876985
87868157755971   PHILLIP         PEREZ                  CA         90014871577
87868785391837   GABRIELA        RODRIGUEZ              OK         90012037853
87868816791979   KALRA           ESPINOSA               NC         90013418167
87869151751341   AMBERLY         STRONG                 OH         90014731517
87869241391979   GENARO          AGUILAR                NC         90008252413
87869544181667   LUZ MARY        RAMIREZ                KS         29075265441
87869728991837   JEMICA          HOLMES                 OK         90012457289
87869827461928   ALEX            SANCHEZ                CA         46039678274
87869866855971   RODNEY          SALAS                  CA         90005078668
87871845191837   KRISTEN         HOGGATT                OK         90015168451
87872635971977   ANGELICA        MUNOZ                  CO         90014316359
87873221571977   DASHON          CHERRY                 CO         38040262215
87873516597138   LUIS            SILVA                  OR         44038585165
87873832393771   SARAH           OWINGS                 OH         90006998323
87874535497138   ANA             HERNANDEZ RODRIGUEZ    OR         90014165354
87874768571977   JACQUELINE      CISNEROS               CO         90007847685
87874857191975   RECARDO         WINGFIELD              NC         90013988571
87875486691558   ERNESTO         REYNOSA                TX         90003644866
87877787471924   IESHA           SHIRLEY                CO         90012707874
87877936691242   KENNARD         ALLEN                  GA         90005769366
87878178251341   KELTON          LINDSAY                OH         90014731782
87878253391975   MICHAEL         PAIGE II               NC         90011222533
87879116551341   CANDY           HENNEY                 OH         90014731165
87881164491979   NATASHA         LITTLE                 NC         90013871644
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87882384693771   INDIA        SAWERS                    OH         90011713846
87882951493771   JAMI         REEVES                    OH         90015229514
87884194491875   BRANDON      ALLEN                     OK         90009831944
87884335761928   ADELA        PEDERSON                  CA         46060853357
87884772197138   BRIT         BROEKE                    OR         90012607721
87885129851341   CHARLES      DAY                       OH         66048621298
87885355384347   TERESA       CARRANZA                  SC         90010113553
87888745877537   DANIELLE     CASON                     NV         90012637458
87888849451362   JOANN        INGRAM                    OH         66013378494
87888985751338   BRAIZLEE     BROWNING                  OH         90013459857
87889665177537   CAROL        COOK                      NV         43089246651
87892821497138   SONIA        CAMPOS                    OR         90014708214
87893331591975   SARAH        KINCAID                   NC         90012423315
87894458997138   LACEY        HAGAN                     OR         90013984589
87894898284351   RAYVEN       GILLIARD                  SC         90002408982
87895616161988   STEVE        TAYLOR                    CA         90005256161
87895711377537   AUNU         ROBINSON                  NV         90011867113
87911684247897   SAKETA       KING                      GA         14096416842
87911691397138   SHERI        STUART                    OR         44050436913
87913456197138   ZOSIMO       SALINAS                   OR         90009484561
87913518947897   JACQUELINE   COOPER                    GA         90012065189
87913844691979   ADORA        WILSON                    NC         90003118446
87916668841262   SOPHIA       GONZALEZ                  PA         90007126688
87917549991837   MAKALA       WARE                      OK         90014925499
87917745997138   KARA         EVANS                     OR         90008857459
87918325591975   LISA         FORBER                    NC         17085543255
87918387341275   MELISSA      BACHMAN                   PA         90007673873
87918763791525   ROSA         CASTRO                    NM         90004937637
87919394993771   JERRY        DREW                      OH         64588293949
87921481151362   NICHOLAS     STITZEL                   OH         90011344811
87921482177537   MARQUISE     DANIELS-HATCHER           NV         43023264821
87921595197138   CURTIS       CLIPPARD                  OR         90004335951
87922197291837   TASHA        ANDERSON                  OK         90013971972
87922479297138   OMAR         GARZA                     OR         90010004792
87922875377537   CARLOS       RODRIGUEZ                 NV         43092918753
87923192297138   RASHELE      PICKETT                   OR         44024021922
87923567291837   LAURA        ESSARY                    OK         90013065672
87923726991558   KEITH        BLEVINS                   TX         75051867269
87924664593771   STEVE        HOWARD                    OH         64509016645
87925426991979   HARRY        CAHOON                    NC         90014524269
87925628177537   PINO         RODRIGUIEZ-VELAZQUEZ      NV         90012406281
87926226493771   ANTHONY      COIL                      OH         90010912264
87926789541262   MARY         ANDERSON                  PA         90013947895
87926815671977   ROGER        MARTINEZ                  CO         90013318156
87926879591837   MARIANA      MUNOZ                     OK         90015138795
87927476791979   KAREN        COOPER                    NC         90014544767
87927524793771   PHILIP       COLE                      OH         64592855247
87928586591975   SILVIA       PERRY                     NC         90014755865
87931826497138   NATASHA      WESTMARK                  OR         90006128264
87932717551362   HERTH        DARLENE                   OH         90010107175
87933424191837   KIMBERIE     LUSTER                    OK         90003114241
87936666341232   LISA         WILLIAMS                  PA         90015086663
87938758193724   BREONNA      PINSON                    OH         90009807581
87938929871977   VICTORIA     MCDANIEL                  CO         90007149298
87939372351341   DAWANA       RISTON                    OH         90014623723
87939773951362   SUSAN        WHARTON                   OH         66006597739
87941628177537   PINO         RODRIGUIEZ-VELAZQUEZ      NV         90012406281
87941842541275   STEPHANIE    CAPUTO                    PA         90002068425
87942927441275   DIONE        BRADLEY                   PA         51099169274
87945529577537   JASON        BEAUDRY                   NV         90013805295
87945643891837   ERICK        CARVAJAL                  OK         90012416438
87945799171977   ILDE         DIAZ                      CO         38047527991
87945996241262   SAMUEL       DODDS                     PA         51095829962
87946444197138   ERIKA        PENALOZA                  OR         44061464441
87946852593793   SANDI        SULLIVAN                  OH         90007878525
87947916161928   BENJAMIN     BARNETT                   CA         90012869161
87948257951341   LASHAWN      ANDERSON                  OH         90014732579
87948742997138   SHAWN        MOODY                     OR         44062487429
87949746261928   ANGEL        RUBEN CAMPOS              CA         90006227462
87951439233698   ROSE         MELTON                    NC         12073664392
87951721577537   JESUS        GUERRERO-CHAVEZ           NV         90009607215
87952132671977   JAYLENE      ARELLANO                  CO         90015091326
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87955433391975   LAKEISHA      LAWRENCE                 NC         90004254333
87955766991979   ELENA         GONZALES                 NC         90010507669
87956425777537   WESLEY        HAMILTON                 NV         90008084257
87956494291524   KARLA         VAZQUEZ                  TX         90007254942
87957252971977   JEREMIAH      PRESTON                  CO         90013272529
87958952591979   SYLVIA        TAPP                     NC         90014809525
87959217847897   RICKEY        STEWART                  GA         90011452178
87959435841275   CHRISTINE     WESOLEK                  PA         51012864358
87959576477537   ALICIA        CALDWELL                 NV         90007625764
87959813277537   JOSE          AGUILAR                  NV         90003848132
87964167441262   JASON         IMPAVIDO                 PA         51088011674
87964374891979   DEBORAH       HOLDEN                   NC         90013253748
87964761547822   JESUS         SANJINEZ                 GA         14071837615
87967789591837   MARIA         PEREZ                    OK         21075027895
87967915491979   AUDIAS        VALDEZ                   NC         17075569154
87972834877537   CHRISTOPHER   ENGELL                   NV         90014718348
87973495297138   LINDA         EZRA                     OR         90013814952
87974622693771   DUANE         BEEMAN                   OH         64589996226
87976494291524   KARLA         VAZQUEZ                  TX         90007254942
87976673597138   FRANCISCO     ESPINOZA                 OR         44073626735
87978825241262   RAMIREZ       PEDRO                    PA         90013948252
87979527571977   SAMUEL        ROMERO                   CO         38023955275
87979825741262   KELLY         MARIENFELD               PA         90013948257
87981952977537   SANDRA        COOK                     NV         43005079529
87982261593771   JOSEPH        MIDDLEBROOK              OH         90014712615
87982829441262   RAMMY         LEE                      PA         90013948294
87985191547897   RALPH         GLOVER                   GA         90013771915
87988356391975   MCKINLEY      FERGUSON                 NC         90013963563
87988525861928   MIROSLAVA     FUENTES                  CA         90009885258
87989788391975   TARA          SMITH                    NC         17024097883
87991411897138   BENTON        KINGS                    OR         90015124118
87992673597138   FRANCISCO     ESPINOZA                 OR         44073626735
87993935241262   JENNIFER      HULL                     PA         51010649352
87995454157142   LAURA         HILLARY                  VA         81071614541
87995476591975   MIGUTEL       GUTIERREZ                NC         90012734765
87996624597138   MARIA         BEDOLLA PONCE            OR         90001866245
87996774261928   JOSE          ALVAREZ                  CA         46053657742
87998898691975   YVONNE        ANDREWS                  NC         90008848986
87999666341232   LISA          WILLIAMS                 PA         90015086663
88111567584371   MARIE         JEFFERSON                SC         90005375675
88112737571977   RODRIGO       VASQUEZ                  CO         90002287375
88117463171977   EDWIN         PFAFF                    CO         90012334631
88117584951341   NATALIE       MAURER                   OH         90015415849
88119266793771   MIRACLE       HARDY                    OH         90007652667
88121237655945   JORGE         MAESTAS                  CA         90009502376
88122366581672   LUIS          JOFRE                    MO         29080193665
88122813451341   PAUL          MCADAMS                  OH         90014328134
88123191851341   JAMES         JOHNSON                  OH         90006921918
88124838141275   KEITH         ZAMBORSKY                PA         90009388381
88125744271977   LEEANA        TRUJILLO                 CO         90009277442
88127374971977   LAUREN        LINNEBUR                 CO         90015233749
88127958355945   MARICELA      RAMIREZ                  CA         49021939583
88128339977537   LISA          MACKINTOSH               NV         90014613399
88129695397138   BRIANA        LOONEY                   OR         90014796953
88131393471977   GARY          VIGIL                    CO         90001823934
88132336541262   VERNON        SALTERS                  PA         90014223365
88132824991979   HAROLD        EVANS                    NC         90015228249
88133333991837   GABRIELA      MEZA                     OK         90012213339
88133378693771   JEFFERY       MARTIN                   OH         90003183786
88133398591837   ROY           SHEPPARD                 OK         90013293985
88134845555945   MARIA         VILLAGRAN                CA         90014168455
88136384433698   TRAY          TERRY                    NC         90012673844
88137916797138   JOEY          VEREL HENDERSON          OR         90014389167
88138425693771   TONIKA        KNIGHT                   OH         90012624256
88139978254177   PAYGO         IVR ACTIVATION           OR         90014229782
88142298833698   TIMOTHY       ROBINSON                 NC         90015292988
88143855981627   SYLVESTER     MESTETH                  MO         90006748559
88144469851388   CHERISH       SMITH                    OH         90011894698
88145721897138   LOLITA        BITSOIE                  OR         90014797218
88147376277537   MANUEL        PEREZ                    NV         90013853762
88147655957123   LUIS          LAZO                     VA         81028516559
88148858991979   ZAKEE         JOHNSON                  NC         90014658589
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88149384541275   MELANIE      MILLER                    PA         90003333845
88149514433698   TAMIKA       MONTGOMERY                NC         90012865144
88151188593771   TIERANNY     GREEN                     OH         64504841885
88151775891979   RICARDO      GOMEZ HERNANDEZ           NC         90007067758
88154287371977   GARY         DAVIS                     CO         90014412873
88154591197138   JENNIFER     MCKINNY                   OR         90013395911
88154914571924   PATRICIA     BAKER                     CO         90009069145
88154995977537   BRIAN        MODAHL                    NV         90009809959
88155935933698   KENYA        MURPHY                    NC         90011219359
88157781241262   MICHAEL      RANKIN                    PA         90013847812
88158914693771   DAKEDA       HARRIS                    OH         90012499146
88159591197138   JENNIFER     MCKINNY                   OR         90013395911
88162344155945   SERENA       BARELA                    CA         90014103441
88164419171977   CELIA        RALL                      CO         38028614191
88164484591893   RENEE        ROMERO                    OK         90006284845
88164781355945   JUSTINA      METH                      CA         90002177813
88165881171977   IRENE        TORRES                    CO         38065068811
88166957651341   RASHUNDRA    WILLIS                    OH         90008849576
88167478541275   COVEY        WISE                      PA         90013254785
88168243541275   MARK         REDMAN                    PA         90000342435
88168539861928   LEO MAGNO    ORTIZ                     CA         90003135398
88169252461983   MANUEL       TAPIA                     CA         90001132524
88171257933698   HARMONY      LINDSAY                   NC         90014152579
88172718333471   TIMOTHY      NIX                       AL         90013857183
88173178297138   JENNIFER     PINNER                    OR         44064671782
88176174391837   KIM          SULLIVAN                  OK         21096471743
88177782397138   KELLY        TREMAINE                  OR         90014797823
88178383451341   ASHLEY       YOUNG                     OH         90012283834
88178748391837   KEITH        CARRUTHERS                OK         21028427483
88178853961928   ARMANDO      SOSA                      CA         46082728539
88183281971977   RAYMOND      SEFERINO-ARELLANO         CO         90000332819
88183839981627   JASON        WOODS                     MO         29050908399
88187545241249   PATRICIA     CARDEN                    PA         51095825452
88189987877537   JANET        KEMP                      NV         43091769878
88191555797138   CHRISTINA    HARTLESS                  OR         90014805557
88192319561428   FADUMO       ABDALLA                   OH         90013973195
88192575351341   JOSHUA       WRIGHT                    OH         90014545753
88192828472467   COLBY        PHILLIPS                  PA         90002388284
88194849771977   RONALD       BATES                     CO         90010868497
88196537741275   SHANNON      DAVIS                     PA         51095615377
88197242984336   FELIPE       HERNANDEZ                 SC         90010872429
88212259633698   SELINA       TATE                      NC         12082172596
88213978461928   BYRON        PEREZ                     CA         46047099784
88214155833691   SONJA        LIPSCOMB                  NC         90015161558
88214221591837   LATEESE      ROSS                      OK         90010662215
88214252891979   SILVIA       ARROYO SOSA               NC         90014242528
88214463691837   DUSTIN       SANG                      OK         90012994636
88214966281627   REGGIE       HOGAN                     MO         29039089662
88214981541262   DOUGLAS      TURNER                    PA         51014089815
88218298655945   ELVIRA       MOLINA                    CA         90010892986
88219213381667   MARIO        GANCHAROV                 MO         29017942133
88223775741275   WARD         LUANN                     PA         51084527757
88225157851362   JASON        THOMPSON                  OH         90011841578
88226122733698   GARY         CLAPP                     NC         12001761227
88227926971977   BIOLA        SENA                      CO         90000559269
88228147191837   DEBBIE       LEE                       OK         90014941471
88228194851362   JORGE        GASPER                    OH         90011841948
88228845297138   NEIJAB       HAX                       OR         90014808452
88229489277366   KERRY        BROWN                     IL         90005434892
88229726497138   NICHOLAS     BATES                     OR         90012047264
88229786847822   CHRIS        THOMPSON                  GA         14060807868
88229867491553   RANDY        WILLIAM                   TX         90009238674
88229872555945   JULIO        TELLO                     CA         90014238725
88232646171977   BRUCE        PREWITT                   CO         90013056461
88233522277537   KATRINA      BEARD                     NV         90010065222
88234135341275   CAROL        KENNEY                    PA         90008101353
88234767177537   CLAUDIA      ARRELLANO                 NV         90012477671
88235329255945   LEE          CURTIS                    CA         90006833292
88235694541262   OMARTTZ      BROOKS                    PA         90009816945
88236767497138   HUGO         VASQUEZ SALASAR           OR         90010397674
88236978891979   GABINA       PALMA                     NC         17066779788
88237854997138   JACQUELINE   GONZALEZ                  OR         90014808549
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88237974991837   HOLLY             GREEN                OK         90012669749
88238327831457   SHALESHEAN        COLEMAN              MO         27558863278
88238798255945   ASHLEY            SILVERIA             CA         49007087982
88239755451341   MEL T             HOFFMANN             OH         90012357554
88242326977537   KENT              PERTERSON            NV         90010903269
88243473354153   THOMAS            GILMAN               OR         90015344733
88243742541232   MARK              WELSCH               PA         90013587425
88244278377537   SAUL              MONTOYA              NV         43093252783
88244342457122   DEIDRA            LEE                  VA         81097313424
88244613493771   BILLY             CHARLES              OH         90014296134
88245274347822   BRANDI            MIMS                 GA         14008212743
88245637461928   JOSE LUIS         VILLATORO            CA         90006276374
88246913733698   ANA               MAGALLON SILVA       NC         90001639137
88247353261928   LETICIA           MEDRANO              CA         90013793532
88247878833471   AMBER             KNIGHT               AL         90014838788
88248111172444   WALTER            GASIOROWSKI          PA         51069991111
88248243677537   ROLAND            BROOME               NV         90015452436
88248812951341   KRYSTAL           TAYLOR               OH         90013618129
88248946193771   CHRISTINA         PERKINS              OH         90012329461
88251528293771   DONNA             ELIZARRARAZ          OH         90008155282
88254531397138   JUAN              CONTRERAS            OR         90010755313
88254686391863   MICHELLE-BOBBIE   PHILLIPS             OK         90004626863
88255183751341   LANDON            HUGHES               OH         90010151837
88255191955956   MARIA             VEGA                 CA         90012291919
88258589391837   DONNA             FREENEY              OK         21002595893
88258863338521   JEREMY            KEELEY               UT         90009858633
88261187291936   LATOYA            ASHFORD              NC         90012501872
88262766993771   JOSE              SANTOS RAMIREZ       OH         90007657669
88263584161928   MARIA             NUNEZ                CA         90014325841
88264165491337   MICHAEL           SHAVEL               KS         90009471654
88264265933698   JOYCE             TULLOCH              NC         12002062659
88264699891927   TOMEKA            CROWDER              NC         90001236998
88265238341237   HELEN             MACHICOTE            PA         90011842383
88266558833698   DEMARIS           BOWE                 NC         90015145588
88267389533698   RAQUEL            VINCENT              NC         90013033895
88267947184371   MAZIE             ROBINSON             SC         19007329471
88268293497138   KEMDRA            ROGERS               OR         90012572934
88268353341275   EBONY             DAVENPORT            PA         51016513533
88272522855945   BREEANN           MADRIGAL             CA         90014705228
88272935577537   PAYGO             IVR ACTIVATION       NV         90003789355
88272996661928   CHARLES           GULLEY               CA         46098679966
88273792671977   ROBERT            MARTINEZ             CO         90013357926
88274795377537   ALBERT            NEWMAN               NV         43062477953
88275464361928   GIOVANI           MAGADAN              CA         90014714643
88276242291837   DENISE            BELL                 OK         21034792422
88276395841262   TRACEY            TAYLOR               PA         90013523958
88282926371977   THERESA           DAWSON               CO         90012249263
88283424691837   SELINA            BARRAZA              OK         90011894246
88283428661928   GUADALUPE         ANTUNEZ              CA         46086154286
88283531397138   JUAN              CONTRERAS            OR         90010755313
88284741841275   GABRIEL           WILLIS               PA         90008377418
88284764261928   CRAIG             RASMUSSEN            CA         90001587642
88285378731621   TIFFANY           DORSEY               KS         22005483787
88285995551341   CYNTHIA           EDWARDS              OH         90012729955
88287539151341   ASHLEY            RIDNER               OH         66007945391
88287954755945   ASHLEY            GUZMAN               CA         90014169547
88288495377537   ADELA             CASTILLO-DEALVAREZ   NV         43092494953
88289173597138   AMANDA            GARCIA               NV         44042151735
88291925351341   RICHARD           AUSTIN               OH         90009879253
88292962733698   CORLISS           MCCOY                NC         90010499627
88293622493771   ABDULMAJIED       KHAMIS               OH         90012996224
88294712833698   DAVID             MCPHAIL              NC         90013407128
88295299355945   CARMEN            A                    CA         90004212993
88295398133698   DELFIN            MOLINA               NC         12036533981
88295419547822   BONITA            HEAD                 GA         14048784195
88295874841275   MIA               NEVIN                PA         51074978748
88297449555945   AGUSTIN           BRAVO                CA         90015144495
88297454851362   MISTY             JONES                OH         66091444548
88299119397138   JUAN              FLORES               OR         90014871193
88299351693771   LARRY             PENWELL              OH         64511523516
88311121655945   MONICO            ALJANDREZ            CA         49083801216
88312689555945   ROBERTO           RAMIREZ ZAMBRANO     CA         49003586895
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88313186997138   JEREMY       COOLBAUGHT                OR         90006391869
88314525191935   JENNIFER     CARLTON                   NC         90012275251
88314876593723   KALA         BARNES                    OH         90004738765
88314972355945   DENISE       SANTANO                   CA         90014169723
88316916571977   JUSTIN       GINNINGS                  CO         90014059165
88318372641262   TROY         NAYLOR                    PA         51037343726
88319293377537   ANGELICA     HERNANDEZ                 NV         90010952933
88319939947897   DELISE       JAMES                     GA         90002239399
88321187441262   CAROL        MCCOY                     PA         90009111874
88321634571977   DESTINY      GRIEGO                    CO         90012926345
88323756361928   NAH          NIMELY                    CA         46017777563
88324855677537   MELISSA      ARMSTRONG                 NV         90000828556
88326392951341   FIORI        HABTU                     OH         90014343929
88326651997138   LEAH         CURR                      OR         90006156519
88327645661928   ASHLEE       NAVARRO                   CA         90013656456
88327845733698   JAHTARA      HIELDS                    NC         90012998457
88327852341237   RENEE        BROWN                     PA         90014018523
88327974655945   EFRAIN       HERNANDEZ                 CA         90014169746
88328951781627   JOSE         MAGANA                    MO         90005159517
88331869651362   KRISTIN      SHEPHERD                  OH         66073178696
88332492355945   MARK         ORTEGA                    CA         90013284923
88334111633698   DRISSA       OUATTARA                  NC         90013511116
88334217697138   ELTON        RALSTON                   OR         90014882176
88334739491979   LATOYA       GILCHRIST                 NC         90010137394
88336832391837   ANNIE        ROEBUCK                   OK         90010888323
88338163677366   TIRA         SANNI                     IL         90014711636
88338257351341   NANCY        THACKER                   OH         90011292573
88339656977537   YESENIA Y    AGUILAR MEDINA            NV         43014126569
88341649351365   SHERESE      LEWIS                     OH         90011966493
88341893991837   LINDA        STARKS                    OK         21016948939
88342515561928   DAVID        SPICER                    CA         90014505155
88342637561928   BENITO       GONZALES                  CA         90014676375
88344118155945   NANCY        PONCE                     CA         90007671181
88345914693771   DAKEDA       HARRIS                    OH         90012499146
88347736771977   RICHARD      BRAVO                     CO         90012917367
88348411341262   RITA         MITCHELL                  PA         90010844113
88349373891837   LAM          CING                      OK         90014983738
88349682851341   ANDREW       ZIMMERMAN                 OH         90010306828
88352288271977   DAVID        SIGUENZA                  CO         90014512882
88353285951341   LESLIE       YOUNG                     OH         66017522859
88354482697138   MARIA        RODRIGUEZ                 OR         90013204826
88354977655945   RAMONA       OLIVARES FLORES           CA         90014169776
88355316561957   MARIA        SANDOVAL                  CA         90011633165
88355383651341   YOLANDA      PERKINS                   OH         90010053836
88356374577533   RUBEN        GIRON                     NV         90006593745
88357642361936   RHONDA       HURST                     CA         90010316423
88357857293771   RUSSELL      WAGANS                    OH         90009658572
88358715681627   ANTOINETTE   IRVIN                     MO         90005647156
88359161557143   HAL          STOKES                    VA         90008291615
88361375971977   ANTHONY L    GOODE                     CO         38060433759
88361644241275   HOWARD       WINWOOD                   PA         90012666442
88361837777537   MARCO        RAMIREZ                   NV         43084958377
88362161147822   TEQUILLA     JOHNSON                   GA         14016451611
88364251897138   JOSHUA       MORRIS                    OR         90011092518
88365858371977   ROBERTA      MONTOUR                   CO         90013498583
88367174781691   FAYE         GRAYES                    MO         29016101747
88367563341284   TODD         BESH                      PA         90006845633
88369218451341   TIFFANY      CHAMBERS                  OH         90012832184
88371395871977   CHARLES      RICHARDSON                CO         90008503958
88371488861928   CHRISTINA    CORDOVA                   CA         90013664888
88372261491936   KOURTNEY     BRYANT                    NC         90007722614
88373545193771   JUSTIN       BAKER                     OH         90009025451
88375247993724   DANNY        HILDENBRAND               OH         64592672479
88376796597138   CANDY        HOLBROOK                  OR         90008737965
88378294251374   TRAVIS       SEBREE                    OH         90012862942
88378714691523   MARIA        RAMIREZ                   TX         75072467146
88379239433698   LOEN         SIU                       NC         90015152394
88379329551362   NIKKI        ROBERTS                   OH         66055023295
88379636261928   LIBNI        HERNANDEZ                 CA         90012176362
88379887791837   AMBER        HETTICK                   OK         90010328877
88379953755945   JOSE         MACIAS                    CA         90005089537
88381359551341   DERRICK      BURTON                    OH         66016253595
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88381667493771   JEREY        MYERS                     OH         90014196674
88382665271924   AMANDA       FIELDS-MOUNT              CO         90002296652
88384713693771   DENISE       HARVEY                    OH         90001987136
88385117597138   PEDRO        SANCHEZ                   OR         90014891175
88388715451341   DEBORAH      GREENE                    OH         90013237154
88392566193771   CHARLES      AMOLE                     OH         90013755661
88393686771977   VIOLET       LEGER                     CO         90001156867
88393695561928   JOSELO       LEON                      CA         90013486955
88394155755945   PORYEE       XIONG                     CA         90014651557
88395664391979   HANNA        TAMRE                     NC         90003246643
88397131361928   CINDY        MARTINEZ                  CA         46090051313
88411339191979   ALICE        PAIR                      NC         17083383391
88413169141275   FRANKIE      WILLIS                    PA         51074281691
88413651455945   GENESIS      HERNANDEZ                 CA         90014046514
88415913661928   ERICK        CARDENAS                  CA         90009079136
88416268697138   GASCA        MARIA ESMERALDA           OR         90002182686
88417223551362   LEANNE       SHOLLENBARGER             OH         90002602235
88417769847822   KELVIN       LOVVETT                   GA         90004257698
88421622177537   KIMBERLY     WISEMAN                   NV         43086696221
88422647497138   DIGNA        BERMUDEZ                  OR         90010736474
88423441491837   MARCUS       JACKSON                   OK         21085244414
88423471181627   LEANNA       GALLION                   MO         29030114711
88425167293771   LINDA        HOBSON                    OH         64512831672
88427947255945   WALTER       STEPHENSON                CA         90013209472
88428689497138   ALYSSA       LERBACK-                  OR         90006666894
88429453851341   AMANDA       KELLEY                    OH         66071744538
88432625661981   ANGELICA     ROMERO                    CA         46035136256
88432853651362   HILLARY      COLLINS                   OH         66098568536
88433475391837   ISABEL       GENAY                     OK         90013014753
88435743651362   GEORGE       BRIDGES                   OH         90012727436
88435744177537   ANA          CARIAS                    NV         90009807441
88439663191837   JENNIFER     LOVETT                    OK         90009646631
88441492797138   BLADIMIR     RICO                      OR         90014904927
88441859577537   JACKIE       SALVATIERRA               NV         90012478595
88444492797138   BLADIMIR     RICO                      OR         90014904927
88444588261928   GLORY        ARROYO                    CA         90014395882
88445166741275   KETURAH      MCCULLOUGH                PA         90001791667
88445247541275   NORMAN       MCCULLOUGH                PA         90014372475
88445896261928   SILVERIO     DIAZ                      CA         90007608962
88446951831444   SHAVONNIA    JOHNSON-WHITEHEAD         MO         90012229518
88447117671977   LYNETTE      RODRIGUEZ                 CO         38074101176
88447119841247   KRISTINE     GRIME                     PA         90006341198
88448623297138   HARRY        MCFADDEN                  OR         44061156232
88451526697138   RICCI        AVELLA                    OR         90014905266
88452316961928   LISA         JONES                     CA         90013823169
88452552593771   ANTONIO      ALEXANDER                 OH         90012345525
88454698391979   BETHANY      LADOUX                    NC         90013136983
88457765291837   ELENA        MARTINEZ                  OK         90011497652
88458655791837   SHEMIKA      HAMILTON                  OK         90003486557
88459185851341   TABATHA      MAY                       OH         90012461858
88459546597138   YOLBA        VAZQUEZ                   OR         90012775465
88461397871977   RUTH         SMITH-VASQUEZ             CO         90012463978
88463384391893   WHITNEY      WILLIAMS                  OK         90010153843
88463414333698   JESSICA      TURNER                    NC         90010504143
88465781597138   DAWN         PEARSON                   OR         90014927815
88466916791979   DIGNA        SANTOS                    NC         17098749167
88473254755945   JOAQUIN      GONZALES                  CA         49036492547
88473385697138   ROSARIO      VAZQUEZ                   OR         44073873856
88474574871977   REED         HINTON                    CO         90009805748
88475169493771   THEODORE     LEWIS JR                  OH         64513651694
88475741147897   MICHELLE     DAVIS                     GA         14094257411
88476528155945   DEBBIE       GUTIERRIZ                 CA         49079445281
88477645341237   A MICHELLE   PRIMEAUX                  PA         90005946453
88477925697138   OLGA         DURAN                     OR         90001759256
88479632161928   GIULIANO     DIFERRETTI                CA         46044196321
88482578181672   VITA         GRANT                     MO         29051385781
88482917847897   SHAY         FREEMAN                   GA         14052599178
88485334777537   JAVIER       TEC VERDE                 NV         90013363347
88487626391979   SHERESA      STATON                    NC         90006396263
88488451241262   TANIKA       TAYLOR                    PA         51050184512
88489934997138   MENSY        JULIO                     OR         90014929349
88491872555945   JULIO        TELLO                     CA         90014238725
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88492424991979   ALBERTO      SANCHEZ                   NC         90002974249
88492977441275   ROBERT       LAPINSKY                  PA         51083679774
88493926933698   RICHARD      WILKINSON                 NC         12067769269
88494759457139   MISAEL       RAMIREZ                   VA         90013827594
88495172561928   SANDRA       PRUET                     CA         90013061725
88496966671977   CLAUDIA      MARTINEZ                  CO         90010239666
88511451341275   DERDINA      JOHNSON                   PA         90011694513
88511845955945   ADRIANNA     RODRIGUEZ                 CA         49006518459
88512636877537   ANNMARIE     BENNY                     NV         90010336368
88513691255945   SANDRA       TORRES                    CA         90012436912
88513911784362   JUAN         MORALES                   SC         90004519117
88515189333698   TAMMY        TATUM                     NC         12099031893
88516334951362   EVER         JIMENEZ                   OH         66063173349
88516675391979   TAKEISHA     PEMBERTON                 NC         90014696753
88517434833698   SHAQUITA     STRICKLAND                NC         90005464348
88517933871977   IVAN         RUIZ                      CO         90012839338
88518675491979   BRE          PIERCE                    NC         90014696754
88519349855945   FRANCISCO    TEMORES                   CA         90007273498
88519443777537   PAULA        GARCIA                    NV         90009044437
88523675951341   KEYASHA      SPIKES                    OH         90009706759
88524149261928   MARK         THOPSON                   CA         90013361492
88524243591837   CAROLYN      HELM                      OK         90010952435
88524786671933   CANDACE      EASOM                     CO         90010807866
88525139671977   RITISHA      BEGAY                     CO         90013191396
88525744951341   VINCENT      SCHMITHORST               OH         66078207449
88526115255928   CHRIS        HUTSON                    CA         90012531152
88526894781686   DAVID        SCOMA                     MO         29039428947
88527333555945   JESSE        WOODS                     CA         49039133335
88527463597138   MICAH        BLACKSMITH                OR         44080584635
88527692291979   KATRINA      HOLLOWAY                  NC         90014696922
88528473393755   ANGELA       ADKINS                    OH         90015114733
88528539447897   CHRIS        BROWN                     GA         14066565394
88531885397138   GUADALUPE    CASTRO                    OR         90014938853
88531971933698   LINDA        LEE                       NC         12008269719
88532587493771   DENZEL       HOLDER                    OH         90011505874
88532632571977   NICHOLE      RAEL                      CO         38012156325
88532636191979   LONNIE       WATKINS                   NC         17008696361
88532811741262   ALBERT       DAMI JR                   PA         51021248117
88533523791837   ARIANA       MARQUEZ                   OK         90013805237
88534242984333   MAGDALENA    DELLE VALLE               SC         90002122429
88535815885637   DEVONTRAY    LINGO                     NJ         90011368158
88536135271977   FRANCES      BANDA                     CO         90003001352
88536636191979   LONNIE       WATKINS                   NC         17008696361
88537636191979   LONNIE       WATKINS                   NC         17008696361
88537682185637   FLAVIO       BAUTISTA                  NJ         90012746821
88539751491979   SHIANNE      MCRAE                     NC         90014697514
88539834555989   MARIA        RIVAS                     CA         90003838345
88542174147897   STEVEN       CALLAWAY                  GA         90001051741
88542588955945   JANICE       VASQUEZ                   CA         90002535889
88542968171977   JAMES        CARBAJAL                  CO         38058879681
88546797791979   TONDRA       WILLIAMS                  NC         17060717977
88549347461928   NATALIE      HERNANDEZ                 CA         46039723474
88552313161981   DARREN       GERRALD                   CA         46057673131
88552867861928   ALEJANDRA    ZAMORA                    CA         46048028678
88552869651362   KRISTIN      SHEPHERD                  OH         66073178696
88553664891893   PATRICIA     SPEARS                    OK         90010216648
88554386397138   JEFFERY      S NELSON                  OR         90001683863
88554524693771   SHAUN        ROY                       OH         90003925246
88554651561928   GWEN         HIGHTOWER                 CA         46008736515
88555524693771   SHAUN        ROY                       OH         90003925246
88559873891979   MARIA        ALVARADO                  NC         90014698738
88561735451341   LANI         WILLIAMS                  OH         90008857354
88563183497138   ANDREW       JUCUTAN                   OR         90008311834
88563421651362   ADA          GIBSON                    OH         66062644216
88563764784371   GERALD       FORTNEY                   SC         90001937647
88564469377537   SHAWNA       POWELL                    NV         43005224693
88565287797138   FELICIANO    FLORES DOMINGUEZ          OR         44056112877
88567264755945   CHAVEZ       TIVAN                     CA         90014192647
88568317133698   ANISSA       BURKES                    NC         12068333171
88568363191979   MICHAEL      GATLING                   NC         90014703631
88569115193771   JOYCE        DAVIS                     OH         90011781151
88569451951341   JIM          STAMPER                   OH         90007974519
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88569983561928   MARIA        MENDOZA                   CA         46082579835
88571431277537   ALFARO       CARLOS                    NV         90015174312
88571921133698   MELISSA      SMITH                     NC         90014859211
88574417871956   MICHAEL      DURAN                     CO         90011054178
88576781591979   MARK         JONES                     NC         90011257815
88576945155945   ELIZABETH    GONZALEZ                  CA         49006749451
88577166191979   SANGEETA     NICHOLSON                 NC         90011251661
88578652291837   VEIRA        VAN                       OK         90009456522
88581837155945   MARGARET     MEDINA                    CA         49047918371
88582239991979   REYNALDO     CONTRERAS                 NC         90006352399
88582747641262   KURT E       OESTERICH                 PA         90011167476
88583452493771   MICHELLE     JONES                     OH         90012714524
88583883847897   TEIWAN       WILLIAMS                  GA         14031428838
88584619891837   AMBER        CLARY                     OK         90009406198
88584771184371   ZEKE         NOLAND                    SC         19011837711
88585724461928   PATRICIA     PEREZ                     CA         90010427244
88585977747897   DONALD       KELLEY                    GA         90001069777
88586365781658   TINA         BROWN                     MO         29013263657
88586458351341   MAGGIE       STOKIEN                   OH         90014554583
88586471684371   VINCENT      LOMELLI                   SC         90004544716
88586529291979   SHANEALL     SATTERWHITE               NC         90014705292
88586962461928   ELLEANOR     COPPER                    CA         90000889624
88591414891837   JUAQUIN      PINACHO                   OK         21085704148
88591599161928   LESLIE       BAILEY                    CA         90010745991
88593187971977   GERRI        POWELL                    CO         90008941879
88594568491979   FATINA       SCARBOROUGH               NC         90014705684
88594845493771   JOYCE        COPPOCK                   OH         64566068454
88596568491979   FATINA       SCARBOROUGH               NC         90014705684
88597551677537   LACEY        OLIVAS                    NV         43033295516
88597575555945   JUANA        MARIN                     CA         90014185755
88598568491979   FATINA       SCARBOROUGH               NC         90014705684
88598831485935   STEVEN       STUNSON                   KY         90014488314
88599568491979   FATINA       SCARBOROUGH               NC         90014705684
88599835197138   ANTOINETTE   DUPELL                    OR         44053758351
88611646891837   MARIA        VALLEJO                   OK         90005336468
88611683897138   JUSTIN       ALDRIDGE                  OR         44048526838
88612584377537   JOHN         MUSSER                    NV         90011605843
88613611691979   CHARITA      ROBERTS                   NC         90014706116
88614116891837   TANESHA      ARKINSON                  OK         21065221168
88616183441263   MARYBETH     FOSTER                    PA         90012651834
88617154251362   TAMMY        CLOONEY                   OH         66062621542
88617367781666   DASHA        HOLLIMAN                  KS         90011783677
88618548641262   KATHLEEN     RICHARDSON                PA         51010255486
88618597841275   MARIA        BRUNO                     PA         90001025978
88618999861928   CANDIDO      MORALES                   CA         46084229998
88622128897138   NICHOLAS     MUNZ                      OR         90007881288
88622596251362   TODD         BRYANT                    OH         66062055962
88622667455945   MICHAEL      CHANCE                    CA         49014226674
88623343177537   BARBARA      MILLER                    NV         43044353431
88624274991979   JEREMY       DONALDSON                 NC         90014182749
88624943131444   KENNETH      HARRIS                    MO         90007889431
88626915941275   KIMBERLY     LEACOCK                   PA         51060369159
88627572893771   FERNANDO     CAMACHO CORREA            OH         90003925728
88628596251362   TODD         BRYANT                    OH         66062055962
88629387151341   SHAMAR       ALLEN                     OH         90010963871
88629511661928   FARAH        ADAM                      CA         46039505116
88629787586443   MALCOM       HENTZ                     SC         90014607875
88632445291842   JODY         CATHEY                    OK         90013774452
88632686397138   JEN          WILLETT                   OR         90014996863
88632981961928   CHRISTINA    MENDEZ                    CA         46048229819
88634663561928   PATRICK      SIMMONS                   CA         90014726635
88635825951341   CERAFIN      GALVEZ-QUINTERO           OH         90014328259
88641542991979   CHARLOTTE    OAKLEY                    NC         90014705429
88642717193771   THOMAS       DUNKIN                    OH         90008587171
88643197591525   LIZETH       BALTAZAR                  TX         90008721975
88643494741275   GWENDOLYN    BROWN                     PA         90014664947
88644351161928   PRICILLA     MACIAS                    CA         46071003511
88645615777584   ANITA        STRALLA                   NV         90007046157
88645726591979   CHARLES      MCCAIN                    NC         90014707265
88647844951362   MILLOSSA     MUNLI                     OH         66017838449
88648562651362   FAITH        IMOLT                     OH         90002925626
88653596441275   SAUNDRA      TRUSS                     PA         51006785964
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88654751591532   PATRICIA     MIRANDA DE TORRES         TX         90007417515
88655213823473   BELLARD      GLENNARO                  OH         90015102138
88656774691979   PARIS        LEACH                     NC         90014707746
88658547455945   KELLY        ROBERTS                   CA         90014185474
88659635893771   LESLIE       BROWN                     OH         90010176358
88662164271977   CORNELL      VIALPANDO                 CO         90014751642
88662177655945   LOZA         GUADALUPE                 CA         49030011776
88662291741275   JULIO        PONCE                     PA         90007732917
88662865597138   HEATHER      MUFALE                    OR         90015028655
88663239291979   LUIS         RAMIREZ                   NC         17038792392
88664347491979   DARYL        PETERSON                  NC         90001673474
88665959841275   BILL         SHARP                     PA         90013989598
88667942193771   CHARLES      GOODMAN                   OH         90013029421
88671915693771   ANGEL        DILLON                    OH         64585959156
88672416177537   SUMMER       NORMAN                    NV         43061824161
88675649793771   JOSHUA       GLASS                     OH         90011986497
88675695354122   CHERYL       SWALES CARROLL            OR         47000066953
88676633651341   ALFRED       HILL JR                   OH         90008496336
88677232197138   STEPHANY     MENDOZA                   OR         90015042321
88684719251341   SHAVARIS     HUBBARD                   OH         90012507192
88684963871977   HUMBERTO     PACHECO                   CO         90010769638
88685331341262   JON          ZIEMKE                    PA         90005823313
88685696961928   JOSE         BALLESTEROS               CA         90013646969
88686648871977   TRACY        FOWLER                    CO         90014276488
88687419491979   ROSIE        LETCH                     NC         90000344194
88687854947897   NICOLE       JACKSON                   GA         90014018549
88688873891979   MARIA        ALVARADO                  NC         90014698738
88688942671977   PEACHES      MARTINEZ                  CO         38021499426
88691641571977   GABRIELA     MENA                      CO         38053626415
88693999151341   LISA         EVANS                     OH         66015079991
88694212733698   JOSE         LUI                       NC         90014942127
88695129571977   LAYSSIA      GUERRERO                  CO         90013521295
88695212833698   MELISSA      WILSON                    NC         90011232128
88695865284371   ADRIAN       WILSON                    SC         90007428652
88696211147897   TERESA       WIMBERLY                  GA         90013932111
88696418255945   GABRIEL      OLIVER                    CA         90014784182
88699681591979   JORDI        CASANOVA BUSTAMANTE       NC         90007396815
88699884355945   ARACELI      MORENO                    CA         90009698843
88712589161928   SANDRA       SANTANA                   CA         90009215891
88713399747897   ANTONIO      TENNYSON                  GA         14067303997
88714767441262   DAVID        BROWN                     PA         51054887674
88715294493771   JAMES        KING                      OH         90013042944
88716241693771   ANGELA       WASHINGTON                OH         90012312416
88716862371977   KAREN        CARRUTH                   CO         38058728623
88718254851341   PATRICIA     MATHIS                    OH         66054612548
88722637591837   ERNESTINE    BEARSHEAD                 OK         90015096375
88723161841275   SARENE       FOSKEY                    PA         51000971618
88724935751341   TAMATHA      HOSKINS                   OH         90009309357
88725126855945   HERNANDEZ    MONICA                    CA         49075391268
88725352491921   TIANA        NORTHERN                  NC         90005843524
88725666191558   LINDA        GARCIA                    TX         75015126661
88726771177537   KAVAI        MUAO-HARRIS               NV         90014227711
88726992161928   JESSE        AYALA                     CA         46007689921
88727856277537   RIGOBERTO    ROSALES                   NV         90013838562
88728185241263   CAROLYN      BOLTON                    PA         90003771852
88729386991979   MAQUETTA     ROBINSON                  NC         90014723869
88731327341275   KEVIN        CARTER                    PA         90013553273
88732455871977   CODY         PAXSON                    CO         38097844558
88732573361928   DONNY        ANGELES                   CA         90011945733
88733627693771   CRYSTAL      MACKIE                    OH         90002906276
88735388977537   ZACARIAS     GUADALUPE DE JESUS        NV         90011413889
88737782341262   JHON         SMITH                     PA         90009197823
88738346855934   MARIA        ORTIZ                     CA         90009093468
88739346855934   MARIA        ORTIZ                     CA         90009093468
88739692655945   CINDY        LOPEZ                     CA         49009676926
88741756855945   DERRICK      MAJOR DUPERR JR           CA         90014987568
88741862155945   ROBERTO      LOZANO                    CA         90002338621
88742325333698   VICTORIA     SHELTON                   NC         90011293253
88743415457174   OSMIN        VASQUEZ                   VA         90009464154
88743936893771   LISA         DILL                      OH         64589949368
88744166941275   BRANDON      WILLIAMS                  PA         90014601669
88744567133698   LAJOYCE      WOODARD                   NC         12012255671
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88745864655945   ANGELA                 WATKINS         CA         49099638646
88746127285851   FLORENCIO Y ANGELICA   SALAZAR         CA         90010771272
88746312991837   LACEY                  MAYTUBBY        OK         90010663129
88748479991979   MARISSA                TYLER           NC         90014714799
88752598861928   CALDERON               BLANCA          CA         90006315988
88752773871942   ROBERT                 RUSHWORTH       CO         90011747738
88752943157128   G VICTORIA             MORTON          VA         90011499431
88754149241262   ADONNA                 HOPES           PA         90011591492
88754292255945   JULIO                  CARVAJAL        CA         90015172922
88756127993771   CHARLES                DOOLIN          OH         90012361279
88757497297138   ANITA                  HELLMAN         OR         90005304972
88757523391979   ANTONIO                BRIDGES         NC         90014715233
88758299557126   CARLOS                 MENDEZ          VA         90011582995
88762993333698   DENISE                 CARTER          NC         90013319933
88763648251362   MATT                   HAAS            OH         90007206482
88764216277537   EMBER                  FANTASIA        NV         90014352162
88764225977537   WENDY                  RODRIGUEZ       NV         90013522259
88765596497138   TERRY                  SPINKS          OR         90002655964
88765743684371   DESMONA                CAMPBELL        SC         90001417436
88768464293771   ROGER                  HALL            OH         90000654642
88769884777537   JAVIER                 SERRANO         NV         90012918847
88769958161928   LAURA                  ORTIZ           CA         46094519581
88769979833698   KEVIN                  ROBINSON        NC         90008519798
88771498561928   MARIA                  IRIARTE         CA         90006904985
88772283854153   RASHAWNDA              JOHNSON         OR         90010042838
88773748597138   DONNA                  LA PASTORA      OR         44010557485
88774424877537   NICOLE                 TORRES          NV         90013624248
88774655884371   SANDRA                 JONES           SC         90006886558
88777323891837   RICKEY                 BRUNER          OK         90010883238
88777393151362   EDWIN                  SAQUIL          OH         66095853931
88779557133698   FILIMON                FISHAYE         NC         90012455571
88781134151349   JUDY                   HOWZE           OH         90007521341
88782674372485   MARION                 RAYMAN          PA         51030726743
88783593791979   DEMILE                 TOWNES          NC         90014715937
88783674372485   MARION                 RAYMAN          PA         51030726743
88784416191979   MICHELLE               UPCHURCH        NC         90013114161
88786461361928   MERCEDES               AGUILERA        CA         90012414613
88786615941262   TAYLA                  CULVERSON       PA         90004066159
88786698971977   LYLE                   ROBERTSON       CO         90013176989
88787114371977   DANTE                  ARCHULETTA      CO         90011841143
88787575555945   JUANA                  MARIN           CA         90014185755
88789187677537   KIMBERLY               SOZZI           NV         90009851876
88789954393771   TY                     JONES           OH         90008699543
88791366171977   ANDREA                 TRUJILLO        CO         38086403661
88792258471977   KEMBERLY               DUCLOS          CO         38028842584
88792262391837   TINA                   ANDERSON        OK         90012302623
88792313241272   JOAN                   MCGIVERN        PA         90013483132
88792335155945   LINDA                  HOLLAND         CA         49000683351
88792346461928   DAVIYAN                A               CA         90009913464
88792658577537   MARCUS                 WOODS           NV         43047366585
88794118497138   RONALD                 PRESTON HIRD    OR         90004941184
88797469977537   BENJAMIN               SANCHEZ         NV         90012814699
88798152241262   JOSEPH WILLIAM         TYLER           PA         90013181522
88799626191837   DENNIS                 ARTERBURN       OK         21007066261
88812484977537   FERNANDO               VILLANEUVA      NV         90014114849
88813438891553   ALFREDO                PANDO           TX         90010084388
88814338177537   ROSA                   CHAMALE         NV         43011343381
88815735291837   FELISHA                PHILLIPS        OK         90003477352
88816634447831   KIMBERLY               BRASWELL        GA         90007666344
88816961661928   JOSE                   BRACAMONTES     CA         90011019616
88817333777537   DORIS                  WAINWRIGHT      NV         90012953337
88817829661928   THOMAS                 HARRIS          CA         90000388296
88817877484333   TERESA                 BUSH            SC         90012228774
88818668241262   IGNACIO                MARTINEZ        PA         90015466682
88825877241275   JEWANA                 DAVIS           PA         51088268772
88829255641275   KYLE                   LOVE            PA         90011762556
88829495993771   JOE AND JILL           LEWIS           OH         90007234959
88829924391837   KATHY                  COLE            OK         90010659243
88833611677378   NERGIS                 RASUL           IL         90013976116
88835421793771   ASHLEY                 KUNTZ           OH         64546964217
88836596893755   ASHLEY                 NICHOLSON       OH         90011555968
88836731191979   ZIPPORAH               HAM             NC         90014717311
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88837978177537   BRYNT             ELMER                NV         90015109781
88838133633698   TARA              WOMACK               NC         90014841336
88839736691979   BRIAN             MARSHALL             NC         90014717366
88842738791979   CEZAR             LANZA                NC         90014717387
88843252677537   AMY               STEVENS              NV         90011052526
88844569861988   KOASSI            ATITSE               CA         46088725698
88844917981658   DEBRA             ROACH                MO         90013989179
88845912651341   DENNIS            BALLINGER            OH         66014619126
88846748155945   MICHELLE          BUMPOUS              CA         49050667481
88847683791979   KERRY AND PETER   GIBSON               NC         90004256837
88851727233698   TREVON            LOVE                 NC         90011237272
88852342791837   JENNIFER          VELAZQUEZ            OK         90014833427
88853518141262   EVETTE            DAVIS                PA         51095395181
88853791891979   CRYSTAL           MOORE                NC         90014717918
88853794293771   VICTORIA          SHADE                OH         90009727942
88854787791979   MELISSA K         MCNEILL              NC         90014717877
88855326877537   CAROLINA          MARTINEZ             NV         43093603268
88855969561928   MICHAEL           AHUMADA              CA         46098709695
88856185977537   FREDY             BRAVO                NV         43034181859
88856953971977   AMBER             BREYFLE              CO         38099259539
88857787791979   MELISSA K         MCNEILL              NC         90014717877
88859124971977   PEDRO             REJO                 CO         90013621249
88862218955945   IRMA              REAL                 CA         49015652189
88865154471977   DEIDRA            LABATO               CO         90011431544
88865712297138   BRADLEY           MABEN                OR         44042067122
88865822191979   ZEKE              HARRIS               NC         90014718221
88867922897138   YVETTE            CORREA               OR         44078959228
88868134293771   GINGER            HOFKINS              OH         90005751342
88868533951341   DECHRISTOPHER     WILSON               OH         90011455339
88868847791979   DENISE            LONG                 NC         90014718477
88871188591837   AFTIN             WILLIAMS             OK         90015291885
88872862251341   MARK              ERNST                OH         90014018622
88872864991979   CHRISTOPHER       SMITH                NC         90014718649
88873875341262   JENNIE            YASOFSKY             PA         90012678753
88874283785868   JAVIER            ROSALES              CA         90010802837
88876258761928   PAYGO             IVR ACTIVATION       CA         90014352587
88876746171977   SUMMER            WEST                 CO         38007897461
88876964784371   TARA              SHOAF                SC         90003129647
88876988577537   NOE               POSADA               NV         43048929885
88877139755945   CINDY             HANG                 CA         90006281397
88879242581552   KAELY             JENNINGS             IL         90015342425
88879894961928   ERIKA             ESPRIU               CA         90014118949
88881643251362   SHEILA            CABE                 OH         90013256432
88882138828131   ELIZABETH         LANE                 TX         90011931388
88882392797138   PARKER            JAMISON              OR         90003383927
88883645571977   JOSEPHINE         KIEFER               CO         90010036455
88884623171977   JOSE              CORDOVA              CO         90003816231
88887296597138   KEVIN             NAYLOR               OR         44035402965
88887517355945   DUSTIN            MCDANIEL             CA         90007285173
88888877493783   MOHAMMAD          ABDELLATIF           OH         90007418774
88889896761928   NOE               MANTECON             CA         90010168967
88892146651362   JESSE             HEATON               OH         66062501466
88892576191979   FELICITY          GAULT                NC         17052505761
88892721155945   MARIA             DIAZ                 CA         90010417211
88892832881627   BRIDGET           SMITH                MO         90005708328
88893146651362   JESSE             HEATON               OH         66062501466
88893919471977   VANESSA           JONES                CO         90014959194
88895269297167   ROBIN             GRAY                 OR         90009752692
88895356693771   DOYLE             FLORY                OH         90012583566
88895458551341   DUSTIN            MCCLURE              OH         90010984585
88895718241275   SONYA             WORLDS               PA         90013137182
88896146651362   JESSE             HEATON               OH         66062501466
88897371751366   MATTHEW           PRESSLER             OH         90012613717
88912121991979   RASHAD            COUSIN               NC         90014721219
88912438177537   JEREMY            DOWNER               NV         90012094381
88913129477537   DANIEL            JACOBSON             NV         90002851294
88913491191525   JESSICA           DE SANTIAGO          TX         90011384911
88913564791834   WILLIAM           TSOSIE               OK         90015165647
88913717251351   HEIKE             HELMERS              KY         66064717172
88914139391893   SAID              ZINI                 OK         90014311393
88914436241262   JESSIE            BENNING              PA         90014394362
88914596155945   KEITH             FOSTER               CA         90014835961
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88914864191837   PATRICIA          STITES               OK         90009568641
88915447757128   DAGOBERTO         POSADA               VA         90005454477
88916133591979   LUZ               CORONADO             NC         90014721335
88916157355945   CAROL M JUSTICE   SHAW                 CA         90006951573
88916778777537   MARIO             GARZON-TORRES        NV         43044737787
88916943341262   EMILY             GEISLER              PA         90002149433
88917445871977   BROOKE            TRUJILLO             CO         90008374458
88918381393771   JANE              JOHNSON              OH         90009633813
88919515561928   DAVID             SPICER               CA         90014505155
88919822991979   KARINA            TORRES               NC         90014598229
88924155691979   BRITTANY          WILSON               NC         17018651556
88925759577537   SHANEE            ALSOBROOK            NV         90012937595
88925813641262   SHANE             CIELECY              PA         90012508136
88927295151341   NIKKIA            STRICKLAND           OH         66096132951
88927489291979   NICKI             DUNN                 NC         90005104892
88927515291524   NANCY             ALDAMA               TX         90014035152
88928547191837   LARRY             HUMPHREY             OK         90008895471
88929223791558   JOSE              MAGALLANES           TX         90004262237
88932549281552   CLAUDIA           HERNANDEZ            IL         20597755492
88933225691942   BRITTANY          BEVERLY              NC         90011052256
88933399997138   NIKITY            MANAKY               OR         90015093999
88933421291979   STEPHNIE          WOODARD              NC         90014724212
88933889933698   STEPHANINE        ARTIS                NC         90010728899
88933969551341   JEREMY            BINES                OH         90015449695
88935126391837   BROCK             WALLECE              OK         21082741263
88937421291979   STEPHNIE          WOODARD              NC         90014724212
88937934891242   MELISSA           HARRIS               GA         90001209348
88937992993771   HERBERT           GROSS                OH         90014599929
88939929191837   SUZANNE           HICKS                OK         90014899291
88941177171977   PEGGY             GUTIERREZ            CO         38065011771
88941525261928   CLIFFORD          DELANEY              CA         90011875252
88943221571977   MICHAEL           CRITES               CO         90007412215
88944521991837   DION              DAVIS                OK         90009035219
88945698871977   FRANCISCO         LOPEZ                CO         38086406988
88947173291837   GLENN             VANN                 OK         90006761732
88947912651341   DENNIS            BALLINGER            OH         66014619126
88951581233698   SYNYA             DRADSKAW             NC         90012565812
88951758655945   HECTOR            RODRIGUEZ            CA         90007117586
88952156761928   CONSUELO          DELA CRUZ            CA         90006411567
88952861933698   GORETTI           BISSENGIMANA         NC         90012438619
88954426497138   KIMBERLY          REITZER              OR         90007654264
88954985333698   CAROL             KELLY                NC         90006369853
88955787141275   RACHELLE          DUDAS                PA         51095627871
88956366755935   MARIA             VIZCARRA             CA         90014583667
88957354155945   LETICIA           ESTRADA              CA         90012963541
88957766793771   STUART            MAUPIN               OH         90010907667
88957985161928   VERA              NAMES                CA         46007859851
88959412493771   CORTNEY           KOVAR                OH         90011774124
88961147291837   MIKE              HOOVER               OK         90011981472
88961688155945   FERNANDO          PEREZ                CA         90014186881
88962278181686   STEPHEN           PASALICH             MO         90001892781
88962839291837   LORETTA           SHELL                OK         90001618392
88963278181686   STEPHEN           PASALICH             MO         90001892781
88963758897138   ASHLEY            GARCIA               OR         90015097588
88964819541262   SEAN              SIMMONS              PA         51076708195
88966126455945   VANNESA           CASTANEDA            CA         90010621264
88966265138521   TY                MONTANEZ             UT         90006412651
88966664733685   TYLER             TAYLOR               NC         90010036647
88971361991532   TURINA            CORDOVA              TX         75013553619
88971632591979   LASHAWN           SHIPMAN              NC         90014726325
88972432477537   ZUNIGA            SALAS                NV         90013934324
88973189271977   PASCUAL           LAMBERTO             CO         90007491892
88973537451341   DERRICK           SANDERS              OH         66048955374
88973587161928   EDGAR             ROMERO               CA         90003675871
88973997841262   RAUL              CARMONA              PA         90012319978
88975459841262   JUDITH            JENKINS              PA         51071974598
88976311593771   BETTY             CYHERS               OH         90004353115
88976612851362   JAMES             CHAPEL               OH         90012376128
88977689371977   DAVID             MONTOYA              CO         90013056893
88978184155945   JOE               RODRIGUEZ            CA         90014771841
88978314261928   MARCUS            PHILLIPS             CA         90012183142
88981367391837   JEFFREY           DEERINWATER          OK         90012583673
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88982386747897   CAROLYN      RUTLEDGE                  GA         90009653867
88983296893771   SHANE        OSWALD                    OH         90013112968
88984324771977   NATHANIEL    REBETERANO                CO         90006573247
88984691791979   MERCEDES     DAVIS                     NC         90014726917
88985823991979   CLARISSA     GILL                      NC         90001558239
88988471641275   BRENDA       CUTLER                    PA         90003554716
88988774371977   ANGELA       WRIGHT                    CO         38039387743
88989925877537   GABRIEL      GARCIA                    NV         90006129258
88991118431451   ANDREA       UPCHURCH                  MO         90010841184
88991698593771   STANI        STEWART                   OH         64531816985
88992427651349   EDDIE        BAKER                     OH         66032734276
88992832141262   BRIDGET      EDELSTON                  PA         90012148321
88992922733698   ELISA        MCDOUGAL                  NC         90005919227
88993766491523   ANNA         GUTIERREZ                 TX         90009317664
88994627455945   JOSE         ARREDONDO                 CA         90012816274
88994724391979   LAZARO       BONIFILIO                 NC         90007217243
88995381591524   RAQUEL       HERNANDEZ                 TX         90013003815
88995837791837   KARLA        NIETO                     OK         90008998377
88995865797138   SUSIE        GONZALES OROZCO           OR         90015098657
88996151741262   ANGEL        SHANKS                    PA         90015291517
88996852541262   ANGEL        SHANKS                    PA         90012578525
88996953677537   TIMOTHY      MAHER                     NV         90012289536
88998352581627   PATRICIA     DE LA ROSA                MO         90005713525
88999993793771   NATHAN       SHARP                     OH         90015209937
89111258155945   LACHO        VASQUEZ                   CA         90014532581
89112225677537   BENJAMIN     PURVES                    NV         90014722256
89112361941275   DAWN         STANFORD                  PA         90015603619
89114315497138   JOHN         ALVIDREZ                  OR         90015223154
89114574591979   BERNARDINA   PLAZA                     NC         90013535745
89115668941262   LARRY        ROBERT                    PA         90010076689
89119373241275   LANA         SMITHBOWER                PA         51073383732
89119373891979   NELSON       SALEK                     NC         17050963738
89121234293771   JONATHAN     POSTIN                    OH         90010572342
89121859281677   MIRANDA      MONTESINOS                MO         90008938592
89122383541275   SANDRA       CUTLER                    PA         90011463835
89123851941262   KIMBERLY     HUGHES                    PA         90007958519
89124333797138   STEVEN       NOWMAN                    OR         90009793337
89124988331456   JEFF         SCHULTE                   MO         27516729883
89125171171977   ROBIN        STEVENS                   CO         90012861711
89127976491979   BRITTANY     CADLE                     NC         90013709764
89131464933698   SONJA        BLACKWELL                 NC         90013464649
89131941693771   DANIELLE     MUSTARD                   OH         64579389416
89132211871977   EVELYN       RUIZ                      CO         90003922118
89132742491837   JACK         HARREL                    OK         21059827424
89133294741275   GARY         HENRY                     PA         90014092947
89133316441262   MICHEAL      BLANCHARD                 PA         90014583164
89133583261943   VERONICA     ORTEGA                    CA         90012465832
89133724891933   TRAVIS       SHEARIN                   NC         90014167248
89133837647897   SHAMERA      CLOWERS                   GA         90012338376
89134838591837   TENESHA      SMITH                     OK         90003378385
89135317271977   WILLIAM      ESQUIBEL                  CO         90012513172
89135656741262   CHRISTIAN    CONNOR                    PA         90013786567
89136591197138   MILDRED      AYALA                     OR         90005965911
89137143791837   IRIS         ARBUCKLE                  OK         90008881437
89142349697138   LEE ANN      MIOTKE                    OR         90003973496
89143173391933   KIMBERLY     NICHOLSON                 NC         90014781733
89143362684351   LUISMANUEL   BARRAGAN                  SC         19081413626
89143553691837   MARCO        URQUIZA                   OK         90014945536
89145921171977   KRISTINA     GUTIERREZ                 CO         90014789211
89145944971977   ILSE         GREENWAY                  CO         90012749449
89146562891837   PETER        BANKS                     OK         90014945628
89146811341262   ADAM         VASY                      PA         90002638113
89148856793771   DEMETRIS     ANDERSON                  OH         90001768567
89153641697138   GERALD       ADAMS                     OR         90013676416
89153643133698   CHEKELIA     LEWIS                     NC         12001656431
89154453291837   LISA         MCCONNELL                 OK         90009194532
89154518155945   HAMZA        ALMONTSET                 CA         90013865181
89154648991979   PAYGO        IVR ACTIVATION            NC         90014896489
89155674385962   JESSICA      SAYLOR                    KY         66087536743
89155747193771   JASON        JUSKAE                    OH         64575577471
89155926191933   CHRISTOPHE   BOSTON                    NC         17094439261
89157437341262   TENIESHA     MURPHY                    PA         51060044373
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89157752797138   CARLOS       FUENTES                   OR         90001007527
89157969493771   SHAKORI      SIMONSON                  OH         90014759694
89158551141251   ANGELA       HILL                      PA         51091235511
89161311291979   KHAU         MANGAL                    NC         90014583112
89163932591933   MARCY        SUTTON                    NC         90014689325
89164242741262   PETER        HESS                      PA         51045972427
89164575393771   JAMES        WAGGONER                  OH         90014285753
89165585493771   CARMEN       LAMB                      OH         90009635854
89166316191242   DEESHA       ALSTON                    GA         14595463161
89167369691933   CAMERON      HARRIS                    NC         90014703696
89168229591933   JAMES        SLADE                     NC         90002982295
89168941591933   JAMES        SLADE                     NC         90013389415
89169682291558   BEATRIZ      ESPINOZA                  TX         90012426822
89173474741251   TRE          SKELTON                   PA         51001744747
89174156393739   KEYSAN       OWENS                     OH         90014461563
89174591797138   TARA         HIBBELER                  OR         44079805917
89174688455945   RAFAEL       ZARATE                    CA         90011146884
89175537461943   ISMAEL       RUIZ                      CA         90010475374
89178734841262   CHRISTINA    DOYLE                     PA         51065637348
89182436547897   CALVIN       TAYLOR                    GA         90009514365
89182892455945   INADELLY     MOJICA                    CA         90012918924
89184652691837   MARISSA      CUPPS                     OK         90014946526
89186147781625   JANET        STEVENS                   MO         90000951477
89186664633698   ANTONI       GOODE                     NC         90007116646
89187379591933   FRANK        KOMBOU SILE               NC         90014733795
89189163541275   ELMER        FUDD                      PA         90014981635
89192485133698   PRISCILLA    ALSTON                    NC         12019534851
89194546541262   JOHN         HANCOCK                   PA         51071485465
89194686791979   PAYGO        IVR ACTIVATION            NC         90003766867
89195135655945   LATRICE      MILES                     CA         90013721356
89196486677537   NICOLE       MERLINO                   NV         90011654866
89197295491933   JASMINE      MOORE                     NC         90009482954
89199731341275   JOHN         PUCHI                     PA         90013407313
89212578192838   GODOFREDO    RANGEL                    AZ         90014325781
89214128641275   ROBERT       CZAIKOWSKI                PA         51045881286
89214547341262   LYDIA        REDMAN                    PA         90003185473
89214734791979   EMANUEL      VALLADARES                NC         17056697347
89216722771977   BERNADETTE   CASTILLO                  CO         38054147227
89216753341262   FARIJI       BITINGINGWA               PA         90015317533
89217896441275   JACK         ANDERSON                  PA         51084048964
89218392893771   ALTAIRA      HENRY                     OH         90014133928
89218992791979   LYLE         ROBINSON                  NC         90012099927
89221249397138   SONIA        RAMIREZ GUZMAN            OR         90009532493
89221679484362   ANGELA       WILSON                    SC         90000536794
89221774877537   DEVIN        PEARCH                    NV         43014667748
89221798161977   SHERMAN      GREEN                     CA         90008127981
89222345597138   ISIDORO      LARA                      OR         44072143455
89223235493771   PAMELA       VESEY                     OH         90013962354
89224653355945   ELENA        MARQUEZ                   CA         90013896533
89224798833698   MICHAEL      TURNER                    NC         90009747988
89225517241275   CHANELLE     HARRIS                    PA         90007205172
89226626693771   KALONDA      RASHIDI                   OH         90015056266
89227232171977   SONIA        ESQUIBEL                  CO         38043702321
89227328441275   BROOKE       BYTHEWAY                  PA         90013213284
89228246855945   RENE         SALGADO                   CA         49014812468
89228992293771   MICHELLE     AVERIETTE                 OH         64598829922
89229773577537   ROMONA       RANKIN                    NV         90004267735
89231915141251   STACEY       PATTERSON                 PA         51024789151
89232467155945   MARSHAWN     GOVAN                     CA         90007564671
89232527491979   MARK         COOK                      NC         90012925274
89233237991979   TEEMO        TEEMOJIN                  NC         90008172379
89233238971977   SCOTT        PETERSON                  CO         90003712389
89234611533698   JAMES        WALKER                    NC         90004086115
89235475133698   IYUANA       WILLIAMS                  NC         12031354751
89235983341275   MEGAN        PRATLEY                   PA         90011319833
89237447793771   DAN          ROUCH                     OH         90014884477
89237698747897   NICOLYA      GRIFFIN                   GA         14010486987
89239992571977   BRIANA       MARTINEZ                  CO         90014769925
89241624471977   FREIDA       ARAGON                    CO         38077936244
89243693593776   CINDY        SCHULTZ                   OH         64510046935
89244263471977   ZULEYKA      HERNANDEZ                 CO         90011182634
89244916355945   EDGAR        MADRIGAL                  CA         90009119163
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89248643341262   KELLY          MCDONALD                PA         90007706433
89249345691933   JOSE           TRINIDAD                NC         90015313456
89249864171977   GILBERT        ARELLANO                CO         38084138641
89251442641262   THOMAS         GARNER                  PA         51023954426
89253829441251   JUSTIN         KILPATRICK              PA         51068868294
89254114291933   NYSHAIE        THOMSON                 NC         90015321142
89254237577537   ROBERT         METZ                    NV         43036132375
89256846233698   KEITH          PALMER                  NC         90011818462
89258761641262   MEGAN          PRATLEY                 PA         90013687616
89259356497138   HERMINA        JERICHO                 OR         90013143564
89261654341262   CARL           ROBINSON                PA         90002316543
89261984133698   JAMIE          LAMBERT                 NC         12063879841
89263252355945   DANIEL         MEDINA                  CA         90010342523
89264229841262   JACQUELINE     BROWN                   PA         90001812298
89265429157128   MACLIN         BILORIO                 VA         90003444291
89265441291933   MARTHA         ABILA                   NC         90008454412
89265645491979   LAZARO JESUS   JESUS                   NC         90015216454
89268962671977   GERROD         GROSSHANS               CO         90015539626
89269738193771   MARJORY        CARPENTER               OH         64593247381
89271587655945   CARLOS         RAMOS                   CA         90013665876
89271617793783   CHARLIE        JOHNSON                 OH         90014226177
89272685541262   RACHEL         CHAMBON                 PA         90013266855
89273384691979   RUDY           MARQUEZ REYES           NC         90011873846
89277187741251   DANIELLE       MCCREARY                PA         90005981877
89277611491837   JOHNANNA       BAIN                    OK         90014966114
89277663571977   JESSICA        HOOD                    CO         90000686635
89278228291235   TIFFANY        MCBICKER                GA         90004542282
89278557333698   WILLIAM        FRALIN                  NC         12089045573
89283415677537   LILY           AMADOR                  NV         90010084156
89286187341262   JENNIFER       HOUGH                   PA         51041581873
89287281291979   SAIDEL         MIRANDA                 NC         90015222812
89288279255945   FELIPE         VILLEGAS                CA         90013992792
89288522151336   BRIAN          MEADOWS                 OH         90013995221
89292135171977   DEBBIE         GARCIA                  CO         38077991351
89292711177537   KARL           EARLY                   NV         43084157111
89295515641222   DEBORAH        LIZARRAGA               PA         90013945156
89297119761963   ALFONSO        AYALA                   CA         46092501197
89298348341275   JOSH           ANDERSON                PA         90013093483
89311411455945   JANET          JACKSON                 CA         90010054114
89311413771977   WENDY          CORTEZ                  CO         90013494137
89312329591933   TRACEY         LANCASTER               NC         90011773295
89313827841262   CANDICE        PELLECCHIA              PA         51013468278
89316644271977   DEBBIE         GARCIA                  CO         38017276442
89316929991979   GRUMEIL        MALONE                  NC         90014729299
89317326893771   CYNTHIA        WILLIAMS                OH         64586973268
89317574255945   SAMANTHA       SANCHEZ                 CA         90006915742
89318255181658   TIFFANY        HOOD                    MO         90009492551
89319284971977   PAULA          GILLESPIE               CO         90010482849
89319461855945   AGUSTIN        AGUILAR                 CA         90012334618
89319588947822   JURI           MINTZ                   GA         90004085889
89321238277537   FRANK          SNYDER                  NV         43098912382
89321759861983   ENRIQUE        LOPEZ                   CA         90010977598
89321791741275   ELAINE         RUSSELL                 PA         51068727917
89321918751349   MALCOM         WATKINS                 OH         66070619187
89323796655945   ELVIRA         ORTIZ                   CA         49011287966
89324615281688   CORY           JOHNSON                 MO         90008556152
89324775671977   SHAWN          ARAGON                  CO         90004347756
89329786847822   CHRIS          THOMPSON                GA         14060807868
89332714555945   SHERRY         TORREZ                  CA         90010797145
89333534141251   NIKEYA         WILLIAMS                PA         90010695341
89335712941262   DIANNNA        PATTERSON               PA         90005207129
89339187891979   AKESHA         DICKENS                 NC         90005921878
89339512955945   ARTHUR         CASTILLO                CA         90012615129
89339716471977   DANIEL         BARELA                  CO         90005267164
89343331291837   AMANDA         BOYD                    OK         21087563312
89343382341275   BECKY          MEISTER                 PA         90002823823
89344112291979   OMAR           RABB                    NC         90013601122
89347934355945   MARITZA        MANZO                   CA         49026149343
89351113341262   LARITA         TURNER                  PA         51010921133
89351414891837   AMBER          LAKEY                   OK         90014974148
89351727993771   CORY           SHEEHAN                 OH         90012497279
89352257755945   ROBERTO        GOMEZ                   CA         49082082577
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89354893741262   JOSULYN      MAHONEY                   PA         90013938937
89356187497138   LIZETTE      OSORIO                    OR         44031821874
89357984284336   TIFFANY      CUYLEAR                   SC         90008839842
89358277155945   SALUSTIA     MARTINEZ                  CA         49041622771
89358448441275   LISA         FEDEL                     PA         90010964484
89363121591837   KATRINA      AMADOR                    OK         90014981215
89364231251362   MARCUS       HARRIS                    OH         66013572312
89366123551362   JUSTIN       HORN                      OH         66016221235
89368499247822   KRISTEN      CUMMINGS                  GA         90014704992
89371911451362   KIMBERLY     NORWOOD                   OH         66083419114
89372987693771   JENNIFER     SILVERS                   OH         90014759876
89374858171977   ANGELIC      MONTEZ                    CO         38098938581
89375199851362   JULIE        TEEGARDEN                 OH         66061601998
89375539571923   KIRK         FERGUSON                  CO         90014345395
89375883591979   BRITTNY      STRAYHORN                 NC         90010738835
89376441631457   JENNIFER     PERRY                     MO         90001634416
89376516893771   ANGEL        SEROGGINN                 OH         90013355168
89377976591532   DIEGO        ROJO                      TX         90000799765
89381126955945   MIGUEL       PENA                      CA         90014131269
89386453851336   AMANDA       KELLEY                    OH         66071744538
89387591877537   CAROLYN      ELLISON                   NV         43081105918
89387983297138   DANIELLE     MILLER                    OR         90005399832
89388176833698   CRYSTAL      MCCOY                     NC         90007891768
89395188497138   BRANDE       BRACKEN                   OR         44010621884
89396621833698   PARIS        HARDIN                    NC         12044996218
89396921381683   JZAQUEL      MILES                     KS         90015119213
89397235455945   RANDY        MURPHY                    CA         49035652354
89397293191979   JONATHAN     FAIRCLOTH                 NC         90012722931
89397524891523   ALMA         HERNANDEZ                 TX         75082125248
89397658341262   BLAISE       WALKER                    PA         90005186583
89398648291932   JOSE         AGUILAR                   NC         90012836482
89398738991837   CHERISSH     WILLIAMS                  OK         90014987389
89411678671977   PAUL         MONTOYA                   CO         90012776786
89412574577537   JUAN         DE LA ROSA                NV         90010395745
89413669941275   RONALD       ARLOTT                    PA         90010776699
89414345497138   AMELIA       PLATA                     OR         90011743454
89415348597138   JEFF         PEDERSEN                  OR         90011743485
89416743641275   ERIC         BROWN                     PA         51082517436
89423837741275   CAROL        KLEIN                     PA         90013588377
89425111754184   LINNETTE     HUNTER                    OR         90015271117
89425623971977   CHRISTINA    HERNANDEZ                 CO         90007916239
89426235666174   TOM          TUCKER                    CA         90013892356
89426338691979   KARMEN       WILSON                    NC         90014713386
89427154371977   DAISY        VIGIL                     CO         90010951543
89427249641262   SARA         GERWIG                    PA         90013282496
89431169755945   SILVERIO     VALDEZ                    CA         49067191697
89433913171977   MICHAEL      MAST                      CO         90009019131
89434794341263   DENNIS       MULDROW                   PA         90010367943
89436157597138   EBONEE       JOHNSON                   OR         90013221575
89437273677537   RUBEN        RAMIREZ                   NV         43027542736
89438478197138   MARIA        VENTURA                   OR         90006714781
89441188377537   JULEE        WARBURTON                 NV         43062491883
89441533597138   JONICA       DODSON                    OR         90008915335
89443839571977   TENNA        PACHECO                   CO         90013168395
89452739555945   SANTIAGO     GARCIA                    CA         90001297395
89453756841275   BRANDON      WASHINGTON                PA         90009847568
89453837561934   REYNA        SANCHEZ                   CA         90004318375
89455475591979   JALEN        COHEN                     NC         17084564755
89456884261978   IGNACIO      DIAZ                      CA         90004098842
89457497293771   EMMANUEL     GATANAZI                  OH         64592774972
89457683733698   COURTNEY     SPAUGH                    NC         12084626837
89457845191933   PEDRO        MENDOZA                   NC         90004268451
89462671393771   AMANDA       KASKOCSAK                 OH         90011986713
89467137697138   ANDREW       IVY                       OR         90013921376
89467971677537   LUZ          CARTAGENA                 NV         43057299716
89468469391837   THOMAS       LINDER                    OK         90014994693
89472748355945   COLE         DEDMON                    CA         90015117483
89473576455945   VANESSA      PLACENCIA                 CA         90015155764
89474473977537   ALBERTO      TRUJILLO                  NV         90000544739
89478994277537   JAVIER       BARRERA                   NV         43049029942
89479349141262   MICHELLE     NIEHL                     PA         51074123491
89479364984371   YOLANDA      FRASIER                   SC         19045363649
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89479594497138   JOHN         FRANZ                     OR         90013205944
89483575471977   ALISHA       ADAMS                     CO         90013175754
89484886133698   CHATAYWN     REDFERN                   NC         12082398861
89486613855945   AMBER        EMMAL                     CA         90014816138
89486877447897   TYSHELL      WILLIAMS                  GA         90006858774
89487331161961   SILVIA       NAVARRETE                 CA         46021493311
89487627647822   DAVIE        MARTINEZ                  GA         14006796276
89487773761951   MIRNA        GONZALES                  CA         90005627737
89487918863657   LAURA        FOSTER                    MO         90000999188
89488512797138   ENEDELIA     HERRERA                   OR         90012495127
89492168351336   CHARITY      GUTIERREZ                 OH         90001771683
89492217693771   SARAH        KELL                      OH         90014562176
89493562241251   JOSE         ALFARO                    PA         90011205622
89494546991837   LINDSEY      MCWILLIAMS                OK         90014995469
89495663151349   TEMANI       HERNADEZ                  OH         90001696631
89496546991837   LINDSEY      MCWILLIAMS                OK         90014995469
89498624433698   JONNIE       KEARSE                    NC         90014426244
89498916872485   PATRICIA     NUZZO                     PA         51054129168
89499176991979   VRE ASIA     JEFFERYS                  NC         90014731769
89499231491979   LOUVENIA     JOHNSON                   NC         90014752314
89514859991837   RANDY        MCKINNEY                  OK         90003618599
89518271421673   JESSE        NAPIER                    OH         90015172714
89518453955945   RAMON        JAMINEZ                   CA         90015034539
89519126841262   GREG         KIELAROWSKI               PA         51095431268
89521282391242   MATTHEW      LIBBY                     GA         90003182823
89521494441275   MARTISHA     WINSTEAD                  PA         90014974944
89522668941262   LARRY        ROBERT                    PA         90010076689
89525214493771   HOPE         HUMAN                     OH         64506492144
89525711397138   NANETTE      BROWNING                  OR         90011477113
89525822584351   JASMINE      MOORE                     SC         19031858225
89526152391979   JUSTIN       WILLIAMS                  NC         90013661523
89532455331664   MAASKELAH    THOMAS                    KS         22008224553
89532962241262   MICHEAL      MOWRY                     PA         90013269622
89536854897138   EDEN         ORTIZ MARTINEZ            OR         90013548548
89536865997138   DEBBIE       MEITHOF                   OR         90008898659
89537415347897   ROSALYN      ROGERS                    GA         14072114153
89537463471977   MICHELLE     JACQUEZ                   CO         38095574634
89539463891933   ANNIKA       HUGGINS                   NC         17063354638
89542464493771   LEONIA       JONES                     OH         90006194644
89543298441275   CHARLES      BACH                      PA         90009372984
89543585493771   RICHARD      TAYLOR                    OH         90006785854
89543782391979   WESLEY       JONES                     NC         90013827823
89544577697138   AMANDA       MOTT                      OR         90013955776
89546381655945   JASON        WHITTON                   CA         49026563816
89549771193771   MYRON        JONES                     OH         64529477711
89551695691979   JASON        GEISLER                   NC         90007466956
89551892941251   MARK         ANTHONY                   PA         51001158929
89552818741262   DANIELLE     TAYLOR                    PA         51074648187
89555655584351   TAMARA D     TATE                      SC         19008286555
89557629941275   JAMES        FLYNN                     PA         90013946299
89558434151334   TROY         POWELL                    OH         90010794341
89558479555945   FRANCISCO    HERNANDEZ                 CA         49000714795
89562849791979   MICHEAL      VICK                      NC         90013328497
89565862897138   JOSE LUIS    AYALA                     OR         90012648628
89565896184371   CRYSTAL      MCMULLIN                  SC         90005948961
89566231491979   LOUVENIA     JOHNSON                   NC         90014752314
89568671841275   LORNE        BUMBARGER                 PA         90013516718
89569414193771   JAMES        HAGGY                     OH         90012964141
89569481141251   DEBRA        PALMER                    PA         51063464811
89571711671977   JOSE         ORTEGA                    CO         90013487116
89571828291979   COURTNEY     UPCHURCH                  NC         17032008282
89571858891558   DARRELL      GRINNELL                  TX         90008668588
89571956855945   JUAN         RODRIGUEZ                 CA         49094959568
89572338257128   EFRAIN       GARCIA                    VA         90002293382
89572494755945   VALERIE      AGUILAR                   CA         90013604947
89573236193771   CARMEN       TOBLER                    OH         64587622361
89573295971977   LINDA        PONCE                     CO         38026452959
89573989541262   MICHAEL      SWEENEY                   PA         51040659895
89576272397138   CASSIE       HENDERSON                 OR         90005512723
89577652755945   MARIA        MARAVILLA                 CA         49084156527
89579539933698   NELSON       BENNETT                   NC         90003895399
89582599741262   FRANK        SCHMITT                   PA         51086265997
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89585495197138   JAVIER          FRANCO MARTINEZ        OR         90011764951
89588282297138   MAXIMINO        PEREZ                  OR         90003982822
89588367355971   SYLVIA          RUZ                    CA         49061013673
89588926971977   TORI            GILFORD                CO         90013759269
89589413597138   GRISELDA        LOPES                  OR         90011764135
89591493333698   PAMELA          ROBINSON               NC         90002844933
89591544455945   MONICA          PEREZ                  CA         49051345444
89591722397121   YULIANA         VERA                   OR         90009967223
89591778991837   BELINDA         REED                   OK         90014927789
89593348893771   JOSHUA          LEIS                   OH         90011633488
89594281847822   JOHN            HIGHTOWER              GA         90012912818
89596939497138   SONIA           PALAFOX MOTA           OR         90012399394
89597797831449   BEVERLY         SMITH                  MO         27577137978
89598297371977   JOHN            MONTANO                CO         90009492973
89598324855945   APRIL           HERNANDEZ              CA         49032403248
89598779977537   JESSE LEE       CORNETT                NV         43099117799
89599289671977   AUDRA           ROBERTSON              CO         38006832896
89599362747897   SHARIKA         ROSS                   GA         90011223627
89599763691363   JORGE           FAJARDO                KS         90012267636
89614222741262   JAMES           WASHINGTON             PA         51006242227
89614373851362   SARAH           BANKEMPER              OH         90011323738
89614766633698   VANIETTE        MCNEIL                 NC         90002957666
89615447493771   CLARENCE        MOYERQ                 OH         90010634474
89616473471977   ROCHELLE        CUNNINGHAM             CO         90011044734
89616851591837   BETSY           MCCORD                 OK         21016878515
89617442541275   DEANNA          PARKER                 PA         51003944425
89617586491963   MARYANN         DAVIS                  NC         90010495864
89617627871942   GEORGE ANTONY   GUZMAN                 CO         90013536278
89617642177537   BARBARA         ALLEN                  NV         43067836421
89621737655945   JUAN            MARTINEZ               CA         90013607376
89621895771977   ELOYSA          TRUJILLO               CO         38005658957
89622172671977   APRIL           NELSON                 CO         38092631726
89622341491963   LADY            LUCIOUS                NC         90013253414
89622744655945   MIESHA          MCMIEL                 CA         90012037446
89625418447822   SONYA           WYNES                  GA         14001644184
89626263897138   VANESSA         GARCIA BEIZA           OR         90012942638
89626889291837   MATIAS          DIAZ                   OK         21057008892
89627317241275   JESSICA         HEILMAN                PA         51015823172
89628692671977   JACOB           GURULE                 CO         90012646926
89628796451349   RORY            CANADY                 OH         90002677964
89633314571977   JENNIE          HARGRAVES              CO         38096063145
89636999351362   KIRK            BURNETT                OH         90000969993
89638599941241   RONDA           THORNTON               PA         90001395999
89638639455945   AURORA          ROSALES                CA         49011806394
89638784277537   WILL            CHAVEZ                 NV         90009287842
89642223681687   TORRI           HUBBARD                MO         90012512236
89642885941275   EARL            GARDNER                PA         90014178859
89642925555945   ESTELLA         BARRERA                CA         90007989255
89643685571977   TONIC           RODRIGUEZ              CO         38035436855
89645142555945   SHENG           CHUE                   CA         90003131425
89645323131651   JACQUELINE      KEMBOI                 KS         90010143231
89646634391837   AMANDA          LUNDY                  OK         21044876343
89648312955945   TANYA           THORNTON               CA         90013353129
89653875977537   NANCY           MCCUNE                 NV         43006048759
89654596155945   CANDY           BABSHOFF               CA         49071195961
89655611341262   SHAWNA          CARTER                 PA         51061866113
89656161141275   KELA            PLATT                  PA         90014741611
89656949197138   JULIANA         BARRON                 OR         90014169491
89657727591524   SALLY           AVALOS                 TX         90009427275
89657843671977   DAVID           CUEVAS                 CO         90014908436
89662473971977   RICHARD         JONES                  CO         38027114739
89662494193771   BENNETT         MICHAEL                OH         64542144941
89663139497138   CELENA          RUIZ                   OR         44004761394
89663573171977   JESSICA         RUIZ                   CO         38050505731
89665189561936   RAINIER         REYES                  CA         90003041895
89666241597138   MARIO           TORRES                 OR         90013562415
89666764671977   ARVINA          MARTINEZ               CO         90012777646
89666859577537   MARIA           ARELLANO               NV         90006878595
89667826551362   REGINA          SNOW                   OH         90013598265
89669368647822   ALEXIA          HARDEN                 GA         90004583686
89669429184371   LEE             STECKEL                SC         19084394291
89669894241262   NETTIE          GIBSON                 PA         51023698942
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89672392661936   WILLIAM      PONCE                     CA         90012823926
89672484491837   MISAEL       AGUILAR                   OK         90005644844
89672798691979   STEPHANIE    MARTIN                    NC         17063607986
89673266855945   JESUS        MARTINEZ                  CA         90002092668
89673484491837   MISAEL       AGUILAR                   OK         90005644844
89675363691979   TORRI        MCMILLIAN                 NC         17015153636
89675914197138   CARISSA      BUOL                      OR         44058299141
89677368184371   SHORTY       PYE                       SC         19061123681
89677754391979   HARRIET      SPEARS                    NC         90014667543
89677955355945   LY           VAN                       CA         90001569553
89678257941262   DAVID        PAXON                     PA         51061922579
89681437747897   RHOSHONDA    JACKSON                   GA         14056634377
89686365991933   PABLO        HERNANADEZ                NC         17092163659
89686532591979   MODOU        THOMAS                    NC         90004255325
89687469141222   ASHLEY       JOY                       PA         90012704691
89687655721628   GINA         KELLY                     OH         90014246557
89691989971977   PAULA        DEHERRERA                 CO         38092139899
89692838441262   ROHNDA       COX                       PA         90006018384
89693161593771   AMIR         HOURANI                   OH         90014831615
89693421841275   SCOTT        KULIKOWSKI                PA         90012554218
89693812977537   ALEJANDRO    LOPEZ                     NV         90000548129
89695492791979   CANDICE      CHEREE DEW                NC         90007784927
89697225877537   CHRIS        ROY                       NV         43089612258
89697275793771   LINDA        WISECUP                   OH         90012862757
89699324133691   CARLOS       MARTINEZ                  NC         90008763241
89699757597921   JLAURA       JACKSON                   TX         90001057575
89699866241262   RUE          SANCHEZ                   PA         90007878662
89711449797138   ROBERT       PETERS                    OR         44085564497
89711683691979   BRANDON      HOLLOWAY                  NC         90015236836
89712162877537   TAYLOR       TATU                      NV         90012971628
89712459897138   FLONDRINO    LOPEZ                     OR         90015264598
89713249741275   JONATHAN     SCHMELLA                  PA         51063082497
89714789155945   WILLIAM      YBANEZ                    CA         49098617891
89718591681683   JAMES        MOORE                     MO         90014015916
89721799677537   ROBERT       EFFENBERGER               NV         90004687996
89721926372451   ERIN         WEST                      PA         51089169263
89722448397138   AKILINA      ZHARKOFF                  OR         44073994483
89723646533698   CONSTANCE    WILLIAMS                  NC         12048826465
89723947193771   BARBARA      NUGENT                    OH         90012629471
89726487197138   KRYSTAL      CANICO                    OR         44059334871
89727452191979   SUSAN        SMITH                     NC         90013974521
89728369391979   SIGARAN      ARGUETA                   NC         90012153693
89729415584371   TONY         DUHART                    SC         90003264155
89732215697138   JOSE         FEREGRINO                 OR         90013632156
89732899497138   DIANA        SANCHEZ VILLALOVOS        OR         44074388994
89733347591979   VIVIAN       ANERSON                   NC         17091123475
89735193641275   SHIRLEY      HALSEL                    PA         90013601936
89735978297138   CANDACE      SCAEFER                   OR         44035319782
89737244371977   REINA        HERNANDEZ                 CO         90015012443
89737776161977   ANA          GONZALEZ                  CA         90009507761
89737893477537   MIRSA        RODRIGUEZ                 NV         90006528934
89742866261936   TREVON       PHILLIPS                  CA         90014088662
89743262541251   KAREN        RATTENNI                  PA         51057172625
89746484684371   SANDRA       MEYER                     SC         19091194846
89746484771977   ELZIE        OLIVER                    CO         38043594847
89746837397138   JOY          RAYMOND                   OR         90013938373
89747346493771   ANGEL        DIAZ                      OH         64500433464
89747493772468   DANIEL       FIORI                     PA         90013804937
89747635947897   SABRIA       JOHNSON                   GA         90012176359
89749846397138   JEFF         DILLON                    OR         90013938463
89752897697138   LINDA        BIRDSONG                  OR         44086458976
89752956671977   SHARON       BELARDE                   CO         90014729566
89755862397138   HURTADO      ALBERTO                   OR         44086458623
89756283854153   RASHAWNDA    JOHNSON                   OR         90010042838
89757115697138   CATARINO     GARCIA                    OR         44019171156
89757142771977   HALEYANN     VIGIL                     CO         90011511427
89757245855945   DANIEL       HERNANDEZ                 CA         90015012458
89757575691979   ELIZABETH    RAMIREZ                   NC         17050945756
89757769447897   SHAMEKA      MANGHAM                   GA         90014637694
89758521997138   KRISTIN      GALVIN                    OR         90014785219
89759396871977   MOISES       TRUJILLO                  CO         38027363968
89759894977537   DEBORAH      CRAMER                    NV         43003918949
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89762261755945   EMILY         APONTE                   CA         90002742617
89763341961951   TIM           MCNEELY                  CA         90009663419
89763432951365   PEDRO         DUCHICELA                OH         90007834329
89763973991837   MICHAEL       MARTIN                   OK         90005409739
89767631697138   HEIDI LYNNE   CONLEY                   OR         90013246316
89772363341262   BENJAMIN      OWENS                    PA         90000683633
89772761161983   ESTRELLA      TARLETON                 CA         46013237611
89776214647897   CHARLIE       HUFF                     GA         90013802146
89779455191837   LESLIE        GARDNER                  OK         21006234551
89782185197138   IGNACIO       LOPEZ                    OR         90014881851
89783279797138   CHRISTINE     JACKSON                  OR         90013422797
89783556551382   JAMES         BURNETTE                 OH         90008275565
89784157541262   JORGE         RODRIGVEZ                PA         90013851575
89788277855945   ANGELO        AIMBEZ                   CA         90015012778
89788824291979   NESTOR        RAMOS                    NC         90009308242
89789669271977   JEFFERY       EXLINE                   CO         38061556692
89791117254184   ALICIA        GARCIA                   OR         90015351172
89791276941275   KASHA         PHILYAW                  PA         90014092769
89792142191979   AMINA         UTLEY                    NC         90013961421
89792652593771   JASMINE       MARJORIE                 OH         90006506525
89793952841262   SHANNA        FLEMING                  PA         90014779528
89795135641275   ASIA          CRAWFORD                 PA         90013701356
89795819261983   KEITH         WADDELL                  CA         90001788192
89797734197138   BRANDY        MILLER                   OR         90013677341
89798687797138   CASSANDRA     DONALDSON                OR         90011906877
89798886651362   JUAN          GONZALEZ                 OH         90003288866
89799279797138   CHRISTINE     JACKSON                  OR         90013422797
89799811971977   SAHWNA        LOPEZ                    CO         90010248119
89812115241262   JENNIFER      JONES                    PA         90013121152
89813378141251   KIMBERLY      FRIEZ                    PA         90006503781
89814223781687   IKEELA        JEFFREY                  MO         90007522237
89814582151363   RONITA        SMITH                    OH         90006215821
89814698481651   MARTHA        CORDOVA                  MO         90007646984
89815153491558   GLORIA        GUZMAN                   TX         75074421534
89816218171977   DESIREE       GRISSOM                  CO         90013522181
89816399891979   BRENDA        JONES                    NC         90009723998
89818827684336   JULIE         BULGER                   SC         90011998276
89822396155945   FRANK         SIHARA                   CA         90005503961
89823599593771   JOHNATHON     WOOTEN                   OH         90012565995
89825446193771   NICOLE        BOHANNON                 OH         64506944461
89826265525638   NICOLE        OAUDERVILE               AL         90014812655
89826425777366   PAYGO         IVR ACTIVATION           IL         90011984257
89828259741275   JESSICA       CIBBENS                  PA         90013202597
89829228571977   MAGGIE        RAMIREZ                  CO         90001542285
89829758697138   SANDRA        GARCIA                   OR         90009727586
89831433697138   JANET         SHELTON                  OR         90011794336
89832758161963   MARTHA        G. CRUZ                  CA         46001037581
89834234771977   ELISABETH     GARCIA                   CO         90010822347
89835187871977   DANIEL W      PERALTA                  CO         90000221878
89835242991979   JASMINE       GOODE                    NC         90014802429
89835749593771   ROBERTA       JAUDON                   OH         90007397495
89835954197138   STEVEN        CHRISTENSON              OR         90002819541
89838314193771   KALEB         GRISSO                   OH         90015093141
89839548493771   TANYA         GARCIA ROMERO            OH         90007335484
89841521991979   JORGE         SALINAS                  NC         90000895219
89841647771977   EDIE          RODRIQUEZ                CO         90000816477
89841821155945   DEBORAH       THORNBURG                CA         90000108211
89843815997138   JESSICA       NAVARO                   OR         90013578159
89845512841251   JOI           STEWAR                   PA         90006505128
89845817791837   EDDIS         FRAIRE                   OK         90010368177
89847395791932   LARRY         DIXON                    NC         90011253957
89848379847897   NIKISHA       HOWARD                   GA         14053253798
89849625184336   ROBERT        SANDLE                   SC         90013836251
89849835757126   MAHLET        AMARE                    VA         90013948357
89851663571977   MIKE          ROSEBERRY                CO         90009916635
89851765893771   MICHAEL       THOMAS                   OH         64599537658
89852612755945   WHITFORD      TAMI                     CA         90003876127
89852887997138   RAUL          GASPOR                   OR         44061978879
89853457241262   NORMAN        GREEN JR                 PA         90005414572
89854138991837   SHERRY        BELL                     OK         90015041389
89855352991979   HIGIDIO       LUAX LOPEZ               NC         90008993529
89855911997138   JESUS         MORENO                   OR         90013939119
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89856335231425   LAURIELL     TAYLOR                    MO         27508363352
89857912197138   CLARIBEL     NUNEZ MARCIEL             OR         90013939121
89858776241262   WILLIAM      HENN                      PA         51066867762
89859356397138   KIMBERLEY    JACKSON                   OR         90011063563
89861747471977   ERIC         KING                      CO         90008617474
89864223193771   TERRY        AUSTIN                    OH         64506652231
89864649641275   DENNIS       BOEHM                     PA         51022706496
89872393993771   DANIELLE     WHITE                     OH         90013163939
89873831163628   ALICIA       VISAICO                   MO         27583728311
89874388271977   MISTY        KASAN                     CO         90011103882
89874725777537   OSCAR        CASTILLO                  NV         43088637257
89877662655945   JULIANA      YANG                      CA         90005946626
89879666341232   LISA         WILLIAMS                  PA         90015086663
89879698777537   KEITH        HERMANN                   NV         43063296987
89883569297138   JAVIER       DE LA CERDA               OR         44033905692
89884215731676   TRACY        HICKS-WALKER              KS         22037902157
89884613593771   YOLANDA      FRAZIER                   OH         64576816135
89885196497138   JULIE        RICH                      OR         44089341964
89885979351362   ANDRA        PARKER                    OH         66017739793
89889363957139   MARITZA      HERNANDEZ                 VA         90014313639
89889586255945   GUSTAVO      BARRIOS                   CA         90012965862
89889791571977   ROBERT       CARBAJAL                  CO         90015117915
89891933441275   KELLI        NELSO                     PA         90007719334
89892838886443   CURTEARA     IRBY                      SC         90014168388
89893193641275   SHIRLEY      HALSEL                    PA         90013601936
89895239993771   FELIX        KELLY                     OH         64565962399
89895324447822   MATTHEW      BROWN                     GA         14052853244
89897613933698   RICHARD      OWENS                     NC         90000706139
89898691955945   MEDINA       GILBERTO                  CA         49041106919
89898831825638   OTILIO       MOCTEZUMA                 AL         90015418318
89899316193771   KENNY        JOHNSON                   OH         64512303161
89899792297138   URIEL        PACHECO                   OR         90013357922
89911277793771   HEATHER      HODGE                     OH         90013542777
89911781486447   MICHELLE     JONES                     SC         90014247814
89915958191979   BRITANNY     DORMAN                    NC         17086269581
89916399371977   DENNIS       MARTINEZ                  CO         38076823993
89916451891837   JENNIFER     ALLEN                     OK         90005654518
89917379241251   KATHLEEN     BOVA                      PA         51043693792
89917416551348   BRANDON      HUTH                      OH         90001494165
89917836293771   TASHA        NEUKIRCHNER               OH         90003078362
89918747755945   ESMERALDA    VILLA                     CA         90001057477
89921899241275   BRANDON      WADE                      PA         90012768992
89923243893771   MARK         BROWN                     OH         90011582438
89924832341275   MEGHAN       PFENNIGWERTH              PA         51073308323
89928849241251   ROSE         HATCHER                   PA         51001218492
89929278647897   SCOTT        DUBBERT                   GA         14085522786
89929755455945   DANNA        LEE                       CA         90009427554
89932151981671   SHARON       ANAYA                     KS         29040751519
89933411551362   CARMEN       RODRIGUEZ                 OH         90010144115
89938333791837   SCOTT        NOBLE                     OK         90007713337
89938471771977   DAVID        MADRID                    CO         38094254717
89938477784371   CHRISTINE    BRAITHWAITE               SC         19064654777
89941745761943   CHARLES      WAUGH                     CA         90000267457
89944854997138   DESEREE      VARAY                     OR         44035208549
89945475271936   MICHAEL      MEDLOCK                   CO         90010484752
89945583293771   SHERRY       SABEN                     OH         90013985832
89946893541275   KORI         THOMAS                    PA         90015308935
89947914671977   KAYLA        MESTAS                    CO         90013739146
89952152655945   LINDA        MARTINEZ                  CA         49002151526
89952573247897   HELEN        NOLTON                    GA         90010175732
89953161941262   SAVANNAN     RED ELK                   PA         90013851619
89953861271977   DILLON       STEWART                   CO         90007398612
89954627984362   RANDY        MYERS                     SC         90004786279
89955337293771   ERIC         DAVIS                     OH         90012703372
89956383541275   MARC         BEVIER                    PA         90005573835
89958449341262   DANIELLE     GLASPEY                   PA         90010204493
89959748591547   ANNETTE      TEJEDA                    TX         90011157485
89961829691837   EDUARDO      RIVERA                    OK         90012418296
89964432241262   LESTER       WILLIAMS                  PA         51009234322
89966223355945   MARY         GIBSON                    CA         90014472233
89969395747822   BEVERLY      FRYER                     GA         90003793957
89972726491837   TONYA        KIMZEY                    OK         90015047264
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89973697951323   CARLOS           PEREZ                 OH         90006396979
89973811584371   ZORNALD          DIXON                 SC         90010068115
89976571855945   THA              YANG                  CA         90012145718
89977745641275   MICHAEL          TERRY                 PA         51054177456
89978168571977   JARRELLE         MCWEE                 CO         90014601685
89978356397138   MARIA            TORRES                OR         90011813563
89978467841262   KARL             EDMONDS               PA         90011154678
89978739791837   DENISE           REYNA                 OK         90015047397
89984121231447   JOHN             HIVELT                MO         90012261212
89987322491553   EDWARD           DOMINGUEZ             TX         75011523224
89988194341262   JAMES            HILL                  PA         90013851943
89988331491837   MARY             WALTERS               OK         90005673314
89988365231449   JIM              MORRIS                MO         90007203652
89988812171977   KALEN            MCKEE                 CO         38097228121
89992232241251   VALERIE          FRANKLIN              PA         51086822322
89992266355945   JUAN             MONROY                CA         49017592663
89993415491979   SHAMYAN          PARKER                NC         90014684154
89993872291933   JOSE             GUZMAN                NC         90006208722
89998439691532   BLANCA           VALLES                TX         90013154396
91111525151342   SHIRLENE         MILLER                OH         90010965251
91113227455951   RICHARD          RUZ                   CA         90001022274
91113331391882   DANIEL           HARGER                OK         90014783313
91114855133698   RENEE            BROWN                 NC         90004758551
91115215291327   VIANCA           ZAVALA-RODRIGUEZ      KS         90011982152
91115334251342   SHANDA           BERNARDINO            OH         66039173342
91115493577537   TOMMY            MARTIN                NV         90009384935
91116414357564   MICHAEL          VALLES                NM         90014694143
91117715691399   MARIA CRISTINA   HERRERA               KS         90012817156
91118146681676   WILLIAM          CLEVENGER             MO         29004201466
91119736991399   NATANAEL         VASQUEZ               KS         90012817369
91121433485948   DAMARRIO D       HOWARD                KY         90005834334
91122199791526   YOLANDA          ALARCON               TX         90013551997
91123271755951   PON              DOUANGMEECHIT         CA         90013062717
91123934693755   RAYMOND          HARBUT                OH         90008379346
91124362593755   PATRICIA         BROOKS                OH         90013013625
91124477991944   CONSTANTIN       MARTINEZ              NC         17037344779
91125336955951   NELIDA           HERNANDEZ             CA         90005923369
91126455891951   CASSANDRA        HAWKINS               NC         90013844558
91126919991399   JOHN             MUIRURI               KS         90010719199
91127142741296   ERICA            KINER                 PA         90010981427
91129297291544   JAVIER           ACOSTA                TX         75086972972
91129344891521   SANDRA           HERRERA               NM         75078213448
91132899471933   TONY             KORTE                 CO         32013538994
91134696893769   DUSTIN           HARMON                OH         90007156968
91134731691599   SARAH            GONZALEZ              TX         90009257316
91135119391599   RACHELLE         PORTER                TX         90013881193
91136216451342   MARSHA           JIMMERSON             OH         90008852164
91136497891599   BRAULIO          DE SANTIAGO           TX         90010944978
91137155841296   KYSRSTEN         DYER                  PA         90014611558
91137446881634   IRMA             ALVAREZ               MO         29051534468
91137759591882   LUIS             GONZALEZ              OK         90011057595
91138172293755   AMBER            NAL                   OH         90000841722
91138615521929   NORBERTO         DONET                 IN         90015476155
91139159861979   VICTOR           TRUJILLO              CA         90010961598
91141227691951   STEPHANIE        TOLLIVER              NC         90011252276
91141473281635   ANDREW           COATES                MO         90014714732
91141674485689   JULIO            HERNANDEZ             NJ         90014526744
91141785161979   JESUS            DIAZ                  CA         90010547851
91142128891944   JENNIFER         MELENDEZ              NC         90007871288
91142378177537   HEATHER          CUMMINGS              NV         90012193781
91142479491951   DENIRO           WILSON                NC         90014714794
91142498561977   MARIA            IRIARTE               CA         90006904985
91143161531476   MODESTA          PERALES               MO         90003291615
91143175993756   MATTHEW          PARKER                OH         90002171759
91143859191399   LILLIAN          JONES                 KS         29037208591
91144762957135   DAVID            VENTURA               VA         90006857629
91145361681634   SHEENA           SANDERS               MO         90004313616
91145371291526   ANTHONY          LEA                   TX         75057903712
91146689791399   LOTTIE           JONES                 MO         29010476897
91147297991599   YOLANDA          ORTEGA                TX         75011172979
91149352291882   GLENN            HARLEY                OK         90008833522
91149442291399   CATRINA          STEWART               KS         29022574422
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91149644854197   MCKENNA                 ROBERTSON           OR    90011656448
91151716891399   RYANN                   RAMIREZ             KS    29006057168
91151999151337   LATASHA                 LOCKETT             OH    66012979991
91152227777537   SETH                    RADHAWK             NV    90012702277
91152383393755   MICHAEL                 JENKINS             OH    90013923833
91152564181635   KAYLYN                  PFEIFER             MO    29072645641
91152876791399   JENNIFER                GRESTY              KS    90007098767
91152969391882   ANDREA                  KING                OK    21068399693
91153811855951   CHRISTINE               CORRALES            CA    90011238118
91154722991882   HORTENSE                ANDERSON            OK    90011247229
91155824381648   JUDY                    JONES               MO    90013998243
91155834855951   TITUS                   AYERS               CA    49079288348
91155884477537   LESLIE                  GUTIERREZ           NV    90014688844
91155974791327   SHANEKA                 LEE                 KS    90011839747
91156534185689   EDGAR                   CORTEZ              NJ    85018955341
91156639391521   KARLA                   LOYA                TX    90015466393
91156753691521   SABRINA                 SOLIS               TX    90011107536
91156876691944   ROBIN                   EASON               NC    90006958766
91157373255951   ROCIO                   VIRAMONTES          CA    90007453732
91157413991882   TYLER                   STEVENSON           OK    90014784139
91157461291521   DAVID                   EDMONDS             TX    75027774612
91157761261977   ALONSO                  LOPEZ               CA    90015027612
91157827591599   JOE                     RODRIGUEZ           TX    75057208275
91158182933698   TIMOTHY                 MANNING             NC    90011101829
91159919661955   ALEXIS                  JACKSON             CA    90009909196
91161367385689   RENE                    PEREZ               NJ    90013123673
91161433891882   SHALONDA                LYONS               OK    90014784338
91161746455938   JOANNA                  CORONADO            CA    90012607464
91161919955951   SAMUEL                  ORTEGA              CA    49093609199
91164184781635   OLIVIA                  FETZ                MO    90009451847
91164868551342   JAMIE                   REYNOLDS            OH    90011038685
91164963293756   BLAKE                   CHAFFINS            OH    90015049632
91165714881635   CARLOS                  DOMINGUEZ-OLMEDO    MO    90014087148
91166189891944   DIANA                   DE ANDA             NC    17039391898
91168183681635   KRISTINA                DYKES               MO    90013531836
91168764191599   EFREN                   CHAVEZ              TX    75028927641
91168928955951   DELIA                   ANDRADE             CA    90015099289
91171293191882   DARLENE                 FARSON              OK    21082752931
91171416881635   KATELYN                 HAKE                MO    90014334168
91171689791521   GUSTAVO                 MOLINA              NM    75087566897
91172626991399   SHEENA                  FARLLY              KS    90002716269
91174439461979   TIMOTHY                 HAHNKE              CA    90010754394
91174467881634   CECELIA                 KIRK                MO    90013934678
91174614351342   ANGELA                  LOVETT              OH    90011896143
91175625455951   ALEXANDRA HOLLY MARIE   CASTILLO            CA    90013956254
91176485191882   KELLY                   ACREE               OK    90004914851
91177959485689   JESUS                   RAMIREZ             NJ    90009169594
91178117561979   HAVIER                  ALVAREZ             CA    90009261175
91178811151342   JOHN                    BAUER               OH    66032438111
91181646593756   JAMIE                   BUSSARD             OH    90011116465
91181965991944   ELISEO                  CARRIZOSA-PANTOJA   NC    90010009659
91182628155951   ANTHONY                 AGU                 CA    90013956281
91182896385689   LANDY                   ALVARADO MENDEZ     NJ    85053868963
91183133391944   JEANNETTE               PYATT-POND          NC    90007831333
91183891855951   MARK                    MCCREA              CA    90013148918
91184342691521   JAVIER                  TOVAR               NM    90014383426
91184894685689   ANGEL                   LOPEZ               NJ    90012678946
91185145677537   JOSE                    MEDINA              NV    90014761456
91186225881634   EMIKO                   WILCZAK             MO    90007832258
91186915191944   ANGELA                  WILSON              NC    90012139151
91187176277537   ASHLEY                  NELSON              NV    43086441762
91187529991524   HERIBERTO               GODINA              TX    90013245299
91187723785689   OSCAR                   VELASQUEZ           NJ    90014667237
91187943155951   PA                      CHANG               CA    90007469431
91188951391882   GARY                    THOMPSON            OK    90014789513
91193397291944   ELENA                   AYALA               NC    17078913972
91193941555951   CHRISTOPHER             JONES               CA    90013199415
91194276581634   MARIE                   JONES               MO    90007252765
91195139793756   DARLA L                 HARRIS              OH    90012081397
91195264891944   AUHMEREA                ALVIN               NC    90014552648
91196488381638   RAQUEL                  RAMOS               MO    90003324883
91196685585689   WILLIAM                 DEVAULT             NJ    90014926855
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91196728855951   OLGA          MARTINEZ                 CA         49008587288
91196786772424   WAYNE         STASKO                   PA         90001327867
91198188191599   SOLEDAD       MARTINEZ                 TX         90010851881
91198415293769   EBONY         ELIJAH                   OH         90004234152
91199265491944   JOSE          MANUEL                   NC         90010792654
91199485191882   KELLY         ACREE                    OK         90004914851
91211253291944   CAROLYN       BROWN                    NC         90011252532
91212521291882   JIM           COLLIN                   OK         90014785212
91212547991521   BERTHA        CERVIN                   TX         75097805479
91212869761977   KIARA         PARGO                    CA         90009108697
91213257793755   BRAD          PHILBECK                 OH         90012612577
91213857744346   DERRELL       BLUE                     MD         90001948577
91213871891599   OSCAR         PEDREGON                 TX         90014768718
91215676833698   DARLENE       RIVERS                   NC         90010636768
91216524591882   KAREN         MUNOZ-MARTINEZ           OK         90014785245
91217524591882   KAREN         MUNOZ-MARTINEZ           OK         90014785245
91217716193755   JUSTIN        HERALD                   OH         90011937161
91218241581635   BRIAN         WYMAN                    MO         29012712415
91219628755951   MARIA         CHERMAZ                  CA         90013956287
91221234191599   DOLORES       CROSBY                   TX         90011422341
91221298191399   MARIA         MARTINEZ                 KS         29036092981
91221925333698   KIMBERLY      BAKER                    NC         90015579253
91223331155951   KRISTI        ALCORN                   CA         90011723311
91224793877537   ADRIAN        CARILLO                  NV         43062167938
91226552157131   OLGA          FAGOADA                  VA         90012685521
91226648991944   MELVIN        TAYLOR                   NC         90015306489
91226815581635   BRANDY        STIPLIN                  MO         29090198155
91226939677521   ESVIN         AMBROCIO-GONZALEZ        NV         43013939396
91228291291951   DANIEL        CRUZ                     NC         90015462912
91228511893755   LINDA         FISHER                   OH         90008315118
91229468285932   DONNA         MCELROY                  KY         90013164682
91231565493769   LAVERNE       MCKAY                    OH         64552765654
91231978533698   SHEMIAKIA     BREEDEN                  NC         90013399785
91232627681635   ERIN          HOLMES                   MO         90014306276
91232754533698   JUJUAN        LOCKETT                  NC         90014507545
91232956491599   MARIA         GARCIA                   TX         90012919564
91234362651391   RICHARD       REDDEN                   OH         90006493626
91235551461979   ASHTEN        GERBING                  CA         90009285514
91235891191951   JOSEPH        CAMPBELL                 NC         17072198911
91237881391327   VICTOR        SILVEYRA                 KS         29033758813
91237945255951   SARAH         MADRID                   CA         90014179452
91238589893721   RODERICA      BRADLEY                  OH         90014345898
91238683893756   AMY           CATES                    OH         64550576838
91238883191399   LOIS          GATLIN                   KS         29052758831
91239867291599   CHRISTINA     HERNANDEZ                TX         90013138672
91241151591944   KIMURRY       GRIFFITH                 NC         90009231515
91241281885689   RUBEN         MARTINEZ                 NJ         90014702818
91241978481634   CARITHA ANN   EDWARDS                  KS         90014609784
91242542777927   PAYGO         IVR ACTIVATION           IL         90015525427
91243259933698   CLARISSA      HOLLIFIELD               NC         90012812599
91244117561977   JUAN          VAZQUEZ                  CA         90004511175
91244657691399   CHRISTIE      ROZELL                   KS         90014616576
91245964391399   ANTONIO       ALLEN                    KS         90014869643
91246435861979   CHRISTOPHER   GALLARDO                 CA         90004274358
91247626991399   SHEENA        FARLLY                   KS         90002716269
91248384591327   SUZANNE       MCGINNIS                 KS         90011843845
91251228751396   TERESA        ADAMS                    OH         90004312287
91252737391521   DWIGHT        INGLETON                 TX         90013447373
91254432855951   RAY           RODARTE                  CA         90010334328
91254756291399   BRITTANY      LESTER                   KS         90014627562
91255199131447   CHRISTAR      WALKER                   MO         90001271991
91255963481635   ALLEN         JONES                    MO         90014779634
91256213391399   REYES         GRANADOS                 KS         90009122133
91257859133698   LITISHA       BARBER                   NC         90014648591
91262242691944   HAGOS         AREFAINE                 NC         90014152426
91262253591399   WESLEY        FORD                     KS         29001222535
91262613291882   RUBY          BELTRAN                  OK         90014786132
91263377361977   JOHANNA       DAVILA                   CA         90013233773
91263613291882   RUBY          BELTRAN                  OK         90014786132
91264613291882   RUBY          BELTRAN                  OK         90014786132
91265245681634   MYRNA         BARRAZA                  MO         29081442456
91266359691599   MARIBEL       GAYTAN                   TX         90011093596
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91266375591923   FREDIS          SORIANO                NC         90005793755
91266599493769   BRITTANI        ABSHIRE                OH         90012655994
91266932581635   LIANA           ZAPIEN                 MO         90013409325
91267199661977   LESLIE          VALENTINE              CA         90009321996
91267334591399   ZACKARIAJ       TOWNE                  KS         29012853345
91267911391599   ELIZABETH       ARZOLA                 TX         75030959113
91268482291327   JOSE            AGUILAR                MO         90013414822
91269116593755   GEORGETTE       GROSS                  OH         90013851165
91269124385689   MOSS            TANISHA                NJ         90014191243
91271218581634   TINA            FANTROY                MO         29080332185
91271998333698   KEITH           CRITE                  NC         90013079983
91272195833698   MAILIN          CRUZ                   NC         90013061958
91272466747924   MAUNEL          TIRADO                 AR         90011014667
91273362991526   KAREN           BARRIENTOS             TX         90009633629
91273475361977   FLETCHER        STOCKALPER             CA         90014484753
91273613291882   RUBY            BELTRAN                OK         90014786132
91274456755951   IRENE           MEJIA                  CA         90000404567
91274624781634   TAKODA          EVANS                  MO         90014556247
91274992581634   GABY            PERALTA                MO         90005549925
91275661291944   LUCIA           JOHN                   NC         90015346612
91277448541296   TWANDA          FREDERICK              PA         90014234485
91277518393767   JOSEPH          WILLS                  OH         90000175183
91277779861977   DORA CAROLINA   AU GALLEGOS            CA         90012227798
91277962581634   HUGO            MORENO CASTANEDA       MO         90012479625
91278613291882   RUBY            BELTRAN                OK         90014786132
91281392791521   LAKESIA         JOHNSON                TX         90014933927
91281784277537   LEVI            MOXLEY                 NV         90013217842
91282825891399   BRIDGETT        BURNETT                KS         29001228258
91283452851342   DENISE          WADDLE                 OH         90006834528
91283644691882   COURTNEY        BASS                   OK         90014786446
91285797693755   CHERYL          GALLANT                OH         90013987976
91286632393756   RANDY           TERRY                  OH         90012256323
91286823681635   CHRIS           MILLER                 KS         90008968236
91287259851384   BELINDA         JOHNSON                OH         90001692598
91287752531459   HENRY           HOLLIS                 MO         90008377525
91288779241296   ARDRETTA        SCOTT                  PA         90008087792
91288879177537   CORINA          RADZIK                 NV         90002068791
91291649791882   BEATRIZ         CRUZ                   OK         21073566497
91292211893756   AMBER           BRANDON                OH         90011882118
91293329255938   ARTHUR          JAMES                  CA         90012713292
91293575951342   VANESSA         ANN SMITH              OH         90006025759
91294681461977   MATTHEW         GODINEZ                CA         90013276814
91294826351342   JULIE           JORDAN                 OH         90008378263
91295914855951   RICHARD         CORTEZ                 CA         49028299148
91295919585689   VICTOR          COLON                  NJ         90002939195
91295936341271   DARLA           CALFO                  PA         51018179363
91311434991599   ESTEBAN         HERNANDEZ              TX         75002714349
91312112561979   MARCO           SANTANA                CA         90002821125
91312347481635   MARTINA         GARCIA                 MO         29003443474
91312376861977   SHARON          BROWN                  CA         90000873768
91312572591521   FELICITAS       PAEZ                   TX         90013795725
91313634561977   AIOTEST1        DONOTTOUCH             CA         90015116345
91313827591944   BRUCE           PENDERGRAS             NC         90007518275
91313859291599   JOSE            CHAIREZ                TX         90013098592
91314531493769   SHATON          WESS                   OH         90005225314
91315437221929   PAYGO           IVR ACTIVATION         IN         90014444372
91317928293756   CHARLES         GOVEY                  OH         64588709282
91318931433698   BRITTANI        GRACE                  NC         90013189314
91319398593755   CONNIE          DIXON                  OH         64555243985
91319743561979   LAURA           OCHOA                  CA         90000237435
91319795691599   SOFIA           MATOS                  TX         90012887956
91321452861988   MARIA           MARQUEZ                CA         90009864528
91321842133652   MONEAT          CAMBELL                NC         90012528421
91321983593755   THOMAS          STEPHENSON             OH         90013929835
91322922593755   EJASIA          JACKSON                OH         90014559225
91323292755979   CARLOS          GARCIA                 CA         90002592927
91324376391951   WILLIAM         MCLEAN                 NC         90013483763
91324562793755   HOLLY           EDMONDS                OH         64546225627
91328371351342   ROBERT          LAMKIN                 OH         90000853713
91328443977537   DIEGO           CARRION                NV         90007044439
91329421355951   ABIGAIL         JUAREZ                 CA         90011554213
91329672777537   ERIKA           JIMENEZ                NV         90005536727
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91331241231572   KALYAN         RACHAPUDI               CO         90013642412
91333394793756   TAMALA         SPARKS                  OH         64587113947
91334123155951   ADOLFO         LOPEZ                   CA         49035131231
91336284851342   RYAN           ROYLES                  OH         90014422848
91336916461977   VIRGINIA       ZAPATA                  CA         90014639164
91337891581635   TONIA          GIBSON                  MO         90010908915
91338643881634   JASON          GIVENS                  MO         29028526438
91339218791599   CRYSTAL        SPRUCE                  TX         90010852187
91339842961979   JOCELYNE       MALDONADO               CA         90009288429
91344359191951   PATRICE        GREEN                   NC         17007463591
91344535691882   EDIN OSVALDO   SANCHEZ                 OK         90006725356
91345326593769   LADASHIA       TAULBEE                 OH         90013703265
91345587681634   MICKEL         SCOTT                   MO         90009345876
91346179891599   EFREN          ZAMORA                  TX         90010371798
91346311191944   FRANCISCA      OKAFOR                  NC         17091503111
91346833185689   STEPHANIE      WATSON                  NJ         90014158331
91346867341296   TALISHA        JACKSON                 PA         51098278673
91347889391521   DORA           ARMENDARIZ              TX         90002428893
91348514893755   AUSTIN         KRUG                    OH         90014505148
91348559991599   MICHAEL        AVILA                   TX         90011075599
91348868661977   OSCAR          TAMAYO                  CA         90014848686
91349211191399   SCOTT          WHITE                   KS         29024432111
91351142691599   DANIEL         SEANZ                   TX         90013221426
91351366533698   GERMAN         CRUZ                    NC         90014533665
91351575485689   VIC            CORDOVA                 NJ         85082935754
91352168551342   HARLEY         SHELDON                 OH         66016001685
91353267391944   KATERINA       OLIVIERI                NC         90014582673
91353282885689   ERNESTO        GARCIA                  NJ         90011192828
91353391841296   TONI RAYNELL   HILL                    PA         90010883918
91353776891944   ZUAMMETT       RIVERA                  NC         90013837768
91354222991951   JASHAWN        COLE                    NC         90014792229
91354777422937   JERMEY         JONES                   GA         90014837774
91355153555951   SERGIO         BENITEZ                 CA         90013991535
91355676593769   MORGAN         CALDWELL                OH         90012486765
91355726361977   RUBY           ARELLANO                CA         90000127263
91355935781638   JAMES          COLLINS                 MO         29046699357
91356256151342   RAYMOND        FITZJARRELL             OH         66039912561
91356537157125   HEATHER        ROBISON                 VA         90004385371
91356639241296   CHANIA         VERA                    PA         51083236392
91357252141296   MICHELE        THOMPSON                PA         90000142521
91357292951342   PRISCILLA      CORBIN                  OH         90013652929
91358226355951   IRMA           MERAZ                   CA         49078572263
91358497991366   BRENNA         MCMASTERS               KS         90009344979
91359355161979   MELVIN         BROWN                   CA         90012013551
91359733155951   JOSE           SANTILLANO              CA         90012167331
91361333277537   YASMINE        TRUJILLO                NV         90013453332
91362662355951   JUAN           ORTIZ                   CA         90013956623
91363493241296   VICTORIA       WOOLEY                  PA         90015284932
91363493381634   CANDIDO        MILLAN                  MO         90008174933
91363542891579   RAUL           FEDERICO                TX         90006705428
91363816161977   ROBERTO        MORALES                 CA         46047618161
91364558193755   PAMELA         LANE                    OH         90011265581
91365536461979   CHANNI         GONZALEZ                CA         90010755364
91365946691599   SABRINA        BELTRAN                 TX         90013969466
91366794551367   STACEY         LUNSFORD                OH         90013347945
91366917591882   MEAGAN         GASTEL                  OK         90011459175
91367147191521   JOSE           BONILLA                 TX         75006391471
91367264561945   LUCIO          LUCIO                   CA         90010852645
91367824173261   ISMAEL         GARCIA                  NJ         90015348241
91368795461964   GRECIA         DELTORO                 CA         90008627954
91369342577927   BETZABE        HERNANDEZ               IL         90015453425
91369391391399   DANIEL         RESENDEZ PEREZ          KS         90014563913
91369493581635   AVIS           CHARLES                 MO         29069394935
91369711177537   NANCY          OBISPO                  NV         43058677111
91371422741297   ANNETTE        MACHULSKY               PA         51075614227
91371848851342   VICENTE        GARCIA                  OH         66000278488
91372618255951   BERNARDO       CHAVEZ                  CA         90011376182
91372913551396   DOMONQUE       ERVIN                   OH         90014509135
91373185293756   ELIZABETH      YODER                   OH         90014641852
91373289781635   LACRISHA       GEORGE                  KS         29011842897
91373939491521   JUAN           MARIN                   TX         90012799394
91374341361977   JOEY           RODRIGUEZ               CA         90009553413
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91374446277537   ROSARIO        GONZALEZ                NV         43016154462
91374488591944   MEGAN          EVANS                   NC         90014254885
91374651285689   NICOLES        STOROZUK IV             NJ         90011176512
91375617191521   BLANCA         ORRANTIA                TX         90015326171
91376611191951   TANASHA        BRUNSON                 NC         90012736111
91376871261977   BRENDA         MUNOS                   CA         90015018712
91378675891399   WALTER         COLEMAN                 KS         90012606758
91378679785689   KENNETH        MARLOW                  NJ         85010826797
91378731151337   JESSICA        GARLAND                 OH         90012467311
91379133391944   JEANNETTE      PYATT-POND              NC         90007831333
91381173451342   DUANE          BAUGHN                  OH         66050411734
91381933277537   MARINA         LOPEZ                   NV         90008539332
91383253491951   ALEX           JOEL GARCIA             NC         90015002534
91384124191882   JASMINE        STEPHENSON              OK         90014791241
91384198793738   JARVARYS       POWELL                  OH         90013871987
91385592733698   YOLANDA        HOLLOWAY                NC         90015345927
91385643851342   WALTER         TINDLE                  OH         66009626438
91385646791521   NANCY          VASQUEZ                 TX         75090816467
91388719421929   SANDY          CULLEN                  IN         90015477194
91388798561977   JOHN           REYNARD                 CA         90013437985
91389269491882   TASHA BLAIRE   PETERSON                OK         90010392694
91389896193755   RONALD         WEBB                    OH         90014908961
91391426391599   JOSE           FERNANDEZ               TX         90010034263
91391893491882   HARRISON       FLORA                   OK         90007838934
91392838977537   RONALD         PORTER                  NV         90009298389
91392855641296   CARMEN         MITCHELL                PA         90012298556
91394472291599   LIZ            YBARRA                  TX         90003994722
91394528777537   PATRICK        VAILAHI                 NV         43074095287
91394789951342   MOSSIE         COPE                    OH         90011057899
91395397291399   HERENZO        FLORES                  MO         29020493972
91395557393755   DUANE          HUTCHINSON              OH         90013365573
91396545791599   EUGENIO        RODRIGUEZ               TX         75046075457
91398228781635   JAMES          HOSEY                   MO         90012542287
91411184791882   AMY            BEARSHEAD               OK         90014791847
91412478691599   NANCY          LARA                    TX         90013324786
91413744391599   HEIDI          PINEDO                  TX         90006577443
91414246591882   BILLIE         CAMBELL                 OK         90014792465
91414742377537   CLARA          CARRILLO                NV         43037057423
91414748655942   ADRIAN         GAMBOA                  CA         90004227486
91415196361979   MIGUEL         ARZALUZ                 CA         90011611963
91415446791521   JOSE           CORONA                  TX         75043714467
91415821841297   KATHERINE      SCHWARTZ                PA         51025778218
91415839893756   BILLY          BUNGER                  OH         90014738398
91415934391882   TONISHA        COLBERT                 OK         90011059343
91416821581634   MARIA          BARRON                  MO         90011948215
91416898155951   MEAGAN         ALONSO                  CA         90005818981
91417377541296   PAMELA         LIGONS                  PA         90012993775
91417598181638   JUSTIN         JONES                   MO         90010005981
91419341541296   KELLY          LANKES                  PA         90012553415
91419417261979   RICARDO        SANCHEZ                 CA         90003554172
91421388541296   KAREN          ELLISON                 PA         51000483885
91424942491882   VANCE          TONY                    OK         90000229424
91425325681634   TROIYA         THOMPSON                MO         90014983256
91425593591521   ANGEL          CABRRERA                TX         75030355935
91427354393755   ARTHUR         TAYLOR                  OH         90013653543
91427639693755   ARTHUR         TAYLOR                  OH         90014236396
91428116991944   BRYANT         JOHNSON                 NC         90002981169
91428139191521   MELANIE        RAMIREZ                 TX         75071481391
91429145455951   ANGEL          SANCHEZ                 CA         90014071454
91429423881635   MELVIN         LONE                    KS         29083834238
91429645733698   FABIAN         VILLALBA                NC         12093706457
91429867377537   CORTNEY        SUMMERS                 NV         90013378673
91431932291951   KENNETH        VALENTINE               NC         17089149322
91434128191521   VICTOR         RAMIREZ                 TX         75030501281
91434139393756   HEIDI          LAWSON                  OH         64527181393
91435219291944   HAYZEL         STOROMAN                NC         90009982192
91435232593755   THERESA        ROBINSON                OH         90001262325
91435738491599   SAMANTHA       VASQUEZ                 TX         90013427384
91436916757564   FRANK          KERSHAW                 NM         90009459167
91437241191599   ROBERTO        RIVAS                   TX         75086172411
91437616155951   NOEL           GUTIERREZ               CA         90013676161
91438891161977   THERESA        DURAN                   CA         46043118911
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91438969357165   GERALD        MURRAY                   VA         90011679693
91439358281641   FATUMA        MAHAMED                  MO         90013873582
91439577738531   ROSCMARIE     GARCIA                   UT         90014535777
91439799461977   HECTOR        MEDINA                   CA         90013927994
91441738891599   DAVID         OTERO                    TX         75003357388
91441969181634   ROB           RIMP                     MO         90013969691
91442811133647   ALLEN         HARRIS                   NC         90014008111
91442937577537   MARITZA       JIMENEZ OCHOA            NV         90012639375
91443641781634   ELTROUS       HAWTHORNE                MO         90009906417
91444166291521   MARIA         PEREZ                    TX         90013301662
91444389385932   JACINTO       GONZALEZ                 KY         90015483893
91444586651342   IMAR          MARTINEZ                 OH         90002275866
91445253181634   CORTEZ        RODRIQUEZ                MO         29053652531
91445675351342   EARLIENE      MADISON                  OH         90011056753
91445854985689   MOSTAFA       ELSHERIF                 NJ         85012218549
91445952591951   SYLVIA        TAPP                     NC         90014809525
91447226991882   RICHARD       SOCKMAN                  OK         90014792269
91449437791951   AGUSTINA      ORTEGA                   NC         90012094377
91451562291599   CLAUDIA       SANCHEZ                  TX         90007845622
91451961191882   KRISTI        ZIEGLER                  OK         21059459611
91452728391599   LAURA         CALLEROS                 TX         90012637283
91453414355974   ERIK          MUNOZ                    CA         90012384143
91453596951325   JOE           FROST                    OH         90013605969
91453925355951   LORINA        ESQUEDA                  CA         90014629253
91454246591882   BILLIE        CAMBELL                  OK         90014792465
91455864685689   VERONICA      MELCHOR                  NJ         90015238646
91456556993755   MIKE          ALLEN                    OH         90005495569
91456736577537   MIGUEL        AKIU                     NV         90014457365
91457244693755   CHARLES       JACKSON                  OH         90009872446
91457872443524   RICHARD       SZERSZEN                 UT         90000878724
91459525981634   ROXANNE       JESTER                   MO         29002475259
91461168661977   SHALEISHA     MITCHELL                 CA         46012011686
91461262291399   JOLENA        QUINTANA                 KS         90008422622
91461577232582   GINA          RIOS                     TX         90014805772
91462854293755   DAJANN        JACKSON                  OH         64509938542
91463114985689   ALEJANDRA     RUIZ                     NJ         90012741149
91463275391882   DEMETRIA      GRIFFIN                  OK         90012132753
91464311791882   NATHAN        HARTWIG                  OK         90014793117
91464723551342   FREDRICK      THOMAS                   OH         90013057235
91465755791599   MONIQUE       JIMENEZ                  TX         90001307557
91465981581635   DANIEL        DOWDELL                  MO         29051699815
91466443491951   HEATHER       HOWARD                   NC         90012094434
91469394681635   ROBERT        COOPER                   MO         90015523946
91469512981634   AMY           MILLS                    KS         29012345129
91469879391399   OLIVIA        LENLEY                   KS         90014628793
91471633633698   ASHLEY        WILLIAMS                 NC         90013496336
91471657155951   MIGUEL        SANCHEZ                  CA         49067426571
91472475661979   ANA           CAMPOS                   CA         90011004756
91472642961977   FRANK         NAUTA                    CA         90014836429
91472721577537   JAYSON        MCVICKERS                NV         90014727215
91473139493755   CHAD          JOHNSON                  OH         90014701394
91473483591888   SABRINA       SPRADLIN                 OK         90012174835
91473573181634   MORRIS        SMITH                    MO         90013705731
91474832755951   LORENA        GUETERRIEZ               CA         90012738327
91474966691944   SAMUEL        WELDEGERGIS              NC         90013959666
91475869277537   ADRIAN        DUMINIE                  NV         43014988692
91476292391399   CHRISTOPHER   BERNARD                  KS         90013122923
91477826681634   PATRICIA      CAMPOS                   MO         90008298266
91477898585689   KIYA          WELLS                    NJ         90010438985
91481262272475   DANIEL        SAGATH                   PA         90010172622
91481465981683   CORY          JEFFERSON                KS         90007014659
91481718985689   FRANCES       GUZMAN                   NJ         90003587189
91482468841296   JUSTICE       SMITH                    PA         90012434688
91482793691599   WILLIAM       MARTINEZ                 TX         90007567936
91482825155951   ANA           CASTELLANO               CA         49027808251
91482854591882   DJUANIA       STEARS                   OK         21014718545
91482948351384   REBECCA       GREEN                    OH         90005009483
91484752891599   MARTHA        RODRIGUEZ                TX         90005027528
91488746991599   CRUZ          CHAVEZ                   TX         75055667469
91491253855934   RAMONA        ALVARADO                 CA         90006052538
91491422891599   RAUL          MAYNEZ                   TX         90014884228
91491686291521   ERNESTO       ROMO                     TX         75061066862
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91491851761977   MAYRA        CALLEJAS                  CA         90005968517
91493281433698   JEREMY       WILLIAMS                  NC         90015152814
91493939291521   ADOLFO       VIEWEG                    TX         75052219392
91496538671956   MANUEL       ALVAREZ                   CO         38009275386
91496724631476   ZANSHEREE    BLUE                      MO         90004007246
91497193491599   ROSA         MARTINEZ                  TX         75092591934
91497243161979   STEVE        HARRIS                    CA         90009302431
91497334485689   ANTONIO      WILMORE                   NJ         90014773344
91497425791951   LATASHA      CATES                     NC         90014474257
91498265881634   TOMMY        MURILLO                   MO         29074642658
91498852191599   SANDRA       SIAS                      TX         90014308521
91498928293756   CHARLES      GOVEY                     OH         64588709282
91499189993755   KRISTIN      LEIGHLITER                OH         64552491899
91511217551342   DAVID        HOPKINS                   OH         66004732175
91511465341296   MELINDA      WILCOX                    PA         90008604653
91511491277537   DALIA        GONZALEZ                  NV         43074824912
91511597285689   RAHSHEDA     CLEMENTS                  NJ         90012845972
91512376691882   MARKEVIA     WILLIAMS                  OK         90014793766
91512612591951   SHETARRA     BURTON                    NC         90012756125
91513386291944   RICHARD      MASSEY                    NC         90015413862
91513637451396   JOHN         HOUSE                     OH         66014986374
91514112761977   CARLOS       ARMAS                     CA         90013101127
91515653861954   MARIBEL      HERMONSILLO               CA         90002546538
91516112591882   LASHELLE     CHATMON                   OK         90009031125
91518549285689   BARBARA      PIETRONUDO                NJ         90004235492
91518653977537   ELISABETH    HATHEWAY                  NV         90008746539
91519182691599   PATRICIA     RONQUILLO                 TX         90013361826
91519345585969   YASMEEN      HEGAZY                    KY         90010853455
91522198871922   JENNIFER     WOOD                      CO         90010121988
91523354291944   DEONNA       WATSON                    NC         90013373542
91524136191599   OSVALDO      MCHUGH                    TX         90014461361
91524536955951   LEEFONG      YANG                      CA         90014555369
91526423651342   SHARNELLE    STARLING                  OH         90014044236
91527146391882   DANIEL       MILLS                     OK         90006001463
91528262272475   DANIEL       SAGATH                    PA         90010172622
91529571961977   JESUS        BARAJAS                   CA         90011925719
91531225955951   ADAM         LEIJA                     CA         90012042259
91531881891951   SHATERRICA   MCMILLAN                  NC         90013958818
91532111593778   JODI         FORCE                     OH         66078221115
91532828177522   TAMARA       NELSON                    NV         90008598281
91533185693756   RICH         BOWLES                    OH         64505111856
91534428591399   CAROL        LAWRENCE                  KS         90010124285
91535554991399   PAOLA        PINTO RIVERA              KS         29085335549
91535881785689   HECTOR       GARCIA                    NJ         90010478817
91536435261921   DHIA         IBRAHIM                   CA         90003484352
91536875993755   JACK         STACY                     OH         90011408759
91537456591951   JESUS        ESPITIA                   NC         17036954565
91537744355951   SHANNA       MORA                      CA         90008997443
91537971877537   VERRIE       BARNHART                  NV         90013099718
91538619877522   MARIA        ANTON                     NV         90007886198
91541154457563   YOLANDA      ARMENDARIZ                NM         35562151544
91541885251342   MANUEL       VALDEZ                    OH         90013928852
91543669291599   BETTY        CASTLE                    TX         75086316692
91543933191521   ERIKA        DE LEON                   TX         90014789331
91544293291988   YADIRA       GOMEZ-SANCHEZ             NC         90011412932
91544458291951   SHARYL       RICHARDS                  NC         90013994582
91545127161977   JAZMINE      NAVARRO                   CA         90008551271
91545378781635   TORSHA       POWELL                    MO         90014933787
91546496785969   LISA         HILL                      KY         90003044967
91547172977537   RAYMUNDO     GUERRA                    NV         90014211729
91547263191951   MARILUZ      CUBAS                     NC         90014862631
91548589591951   NELSON       ROSALES                   NC         90011505895
91551462993769   AMANDA       HODSON                    OH         64511434629
91552734393756   ROCHELLE     WILLIS                    OH         64544257343
91553758181634   KAISHA       GURLEY                    MO         29034417581
91553915691599   YVONNE       MORENO                    TX         90012039156
91554499491399   RHONDA       ERNST                     KS         90010334994
91554964581476   ELDEN        HIGGINS                   PA         90013349645
91555547855951   ALFONSO      PANTOJA                   CA         90013245478
91556168591951   EUSTACIO     VALERIO                   NC         90009221685
91556397177522   MARISOL      DUENEZ                    NV         43016393971
91556731391599   DANIELA      BUENO                     TX         90014407313
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91557591891951   JUAN                   ORDONEZ          NC        17065155918
91558683777537   JOHN                   HAYS             NV        90005726837
91559564381634   SAMANTHA               WILCUTT          MO        90012205643
91561496893769   SHAWNTA                WATERS           OH        64515984968
91561559893756   MIKE                   ROWE             OH        90013955598
91562163551342   BRYAN                  HILSON           OH        66094911635
91562462991882   ALYSON                 GRIFFITH         OK        90014794629
91562557881635   ASHLEY                 OVERSTREET       MO        29027415578
91563279681635   CASSANDRA              LARRY            MO        29017502796
91563899991951   JENNIFER               HUNTER           NC        90014948999
91564192781634   DEANDRE                WILLIAMS         MO        29008591927
91566132691944   GUADALUPE DEL CARMEN   MARTINEZ         NC        90009911326
91566462991882   ALYSON                 GRIFFITH         OK        90014794629
91567168491327   AMBER                  DOYAL            KS        90002511684
91567245181634   LARRY                  RAND             MO        29051852451
91567476257564   GREGG                  MARTINEZ         NM        90013294762
91567873233698   EUNICE                 SHEPPARD         NC        90011938732
91568127891944   WAYNE                  BENNETT          NC        90012861278
91568389493755   DESHONE                WILLIS           OH        90012633894
91568718241268   SONYA                  WORLDS           PA        90013137182
91569851757125   JOSE                   PORTILLO         VA        90006548517
91571799755974   CINDY                  PALACPAC         CA        90012727997
91573469777537   DEBORAH                NAVARRO-GARCIA   NV        90011734697
91574459485689   RUBEN                  PEREZ            NJ        90014574594
91576687181638   STACI                  GRAY             MO        29078906871
91576863855951   FRANKIE                PEDROZA          CA        90010178638
91577319533698   JASON                  TUTTLE           NC        90014403195
91578734291599   MYRNA                  QUIRINO          TX        90013017342
91578788155951   VINCENT                WALSH            CA        90014027881
91579652285689   MARVIN                 PEREZ            NJ        90013366522
91579928293756   CHARLES                GOVEY            OH        64588709282
91581172191951   ANTONIO                MENDOZA          NC        90014151721
91581715161977   ABELINO                VELAZQUEZ        CA        90009377151
91582372891944   JOSEPH                 CORBETT          NC        90012943728
91582414981648   LEIGH                  TRAW             MO        90012444149
91584149181635   BRANDON                CARR             MO        90015131491
91584582385689   MARIA                  RIVERA           NJ        90012785823
91584665261977   DARREL                 SAWYER           CA        90004196652
91585127491531   MANUEL                 DAVILA           NM        90008821274
91585517891599   CLAUDIA                FERNANDEZ        TX        90005645178
91585981855951   ELIZABETH              MALDONADO        CA        90008099818
91586144957144   PATRICK BLAKE          MOSES            VA        90013391449
91587296443584   CARI                   MURRAY           UT        90008742964
91587973951342   SETH                   CORNEIUS         OH        90008519739
91591492781638   RONALD                 GARRIS           MO        29049404927
91591757485689   HOMERO                 SALAS            NJ        90014927574
91592361481634   CHARLES                GALLOWAY         MO        90012563614
91592869161927   YADIRA                 AYALA            CA        90010378691
91593335691521   MICHELLE               SILVA            TX        90015153356
91593438561977   JASMINE                BADGER           CA        90013234385
91594523191944   FAIZA                  FARAH            NC        90006745231
91595615977537   BRITTANY               SYLVESTER        NV        90001406159
91596613593768   PAMELA                 LEMASTERS        OH        90014296135
91597363533698   JEFF                   MARSHALL         NC        90010383635
91597526691882   JUAN                   HURTADO          OK        90014795266
91599283491399   ROBERTO                PICHARDO         KS        29000242834
91599981191944   CRYSTAL                DUENASPEREZ      NC        90014889811
91612163793767   KATIE                  SHAW             OH        90000881637
91612426293756   TRINITY                ALSPAUGH         OH        90014174262
91613465433698   JOSEPH                 WILLIAMS         NC        90015094654
91613549191882   RHONDA                 JHONSON          OK        90014795491
91613779561977   ANTONIO                ESTRADA          CA        90006287795
91614553491882   CELIA                  ESPINOZA         OK        90014795534
91615128761977   CARLOS                 VAZQUEZ          CA        90000591287
91615163285689   KAREN                  MCCOY            NJ        90014171632
91615278941296   VERONICA               PENN             PA        90014602789
91615482891521   ARMANDO                REGALADO         TX        75088724828
91616555891882   KAMARIA                WILLIAMS         OK        90014795558
91617484881634   STEVEN                 VAN              MO        29054124848
91617765591599   LISA                   MARTINEZ         TX        90010887655
91617957741296   RASHAD                 BOLDEN           PA        90001699577
91618388277537   YASMIN                 GURUNG           NV        90013483882
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91618647693769   LEAH         RIKE                      OH         90010326476
91618729591521   MARICRUZ     MONCAYO                   TX         75040717295
91619182981638   ERICA        WALTON                    MO         29008351829
91622216455951   ROSALINDA    DUARTE                    CA         90000872164
91622315393755   MARIO        ALEXANDER                 KY         64525113153
91625487721929   JEFF         MAYNARD                   IN         90007094877
91626171881638   STACEY       ASHLEY                    MO         90003341718
91628598691882   JAVIER       JARAMILLO                 OK         90014795986
91629379691521   ELIZABETH    MEDINA                    TX         90014683796
91632278791521   KATHIA       CARREON                   TX         90014902787
91632692691951   ISABEL       GOMEZ                     NC         90012726926
91633815581638   MICHAEL      MYA                       MO         29005998155
91634284791521   MICHAEL      QUINTERO                  TX         90010862847
91634776891944   DANA         HOPKINS                   NC         90001677768
91635592177537   JESSIKA      HARO                      NV         43076745921
91635946191828   RODNEY       WHATLEY                   OK         90013749461
91636582391521   BALENTINE    ANA C                     TX         90011365823
91636867481635   GABRIELA     MENDOZACASTILLO           MO         90014108674
91637378691599   DANIEL       RAMIREZ                   TX         90011093786
91637669991521   ERICK        JHONSON                   TX         90015276699
91638633191882   MAUREEN      CIRILLO                   OK         90014796331
91641359891882   CHELSEA      BROWN                     OK         90009263598
91641725377537   RONALD       CALDERON-ARRUE            NV         43006537253
91642329351342   DAMON B      WYATT                     OH         90014503293
91642633191882   MAUREEN      CIRILLO                   OK         90014796331
91642862877537   JACK         WANSTREET                 NV         90010698628
91645233193755   PAUL         WISE                      OH         64551482331
91646276185689   JESUS        MORALES                   NJ         90014312761
91646415933698   NAKESHIA     MILLER                    NC         90014164159
91646633191882   MAUREEN      CIRILLO                   OK         90014796331
91647425661927   ANABEL       GARCIA                    CA         90011984256
91647862991944   APRIL        CURTIS                    NC         17085488629
91648167293755   FRANK        CLARK                     OH         90014471672
91648256991521   MARIA        PASTRANA                  TX         90009962569
91649551961979   YAZMIN       CORTEZ                    CA         90010565519
91649664291944   LIZATH       IZAGUIRRE                 NC         90010636642
91651337361977   VANCE        JENKINS                   CA         90010813373
91651976291882   JUAN         GIJON                     OK         90014589762
91652381591599   LUIS         PEREZ                     TX         75046723815
91652576341268   KATLYNN      ARNOLD                    PA         90008705763
91654584151342   MISTY        STEWARD                   OH         66012305841
91655935991521   ROSA         MACIAS                    TX         75008129359
91656575391951   QUEEN        GENTRY                    NC         90011625753
91658152191944   LILLIAN      COOPER                    NC         17064101521
91661665755954   SHIRLEY      GARCIA                    CA         90014186657
91664449891951   SUE ANNE     DAY                       NC         90012304498
91664738491944   ALICIA       EASTON                    NC         90008457384
91665453251342   CATRINA      ANDERSON                  KY         90006744532
91667466533698   JOSEPH       STINE                     NC         90010394665
91667539491882   ASHLEY       NICOLE                    OK         90009675394
91667788255951   SEREENA      DAVIS                     CA         90005837882
91668296991951   ROSA         BANEGAS                   NC         90015312969
91671276791399   CHOU         LEE                       KS         90014632767
91672579493752   MICHAEL      HOWARD                    OH         90012565794
91674663441296   DENISE       CHESTER                   PA         90007886634
91674711181638   HERMALINDA   LOPEZ                     KS         90012157111
91675392281634   MATTHEW      FISH                      MO         90015273922
91675848891927   RAUEL        ORTEGA                    NC         90010798488
91676383977537   BRANDI       HAYES                     CO         43050353839
91677258291951   KEMBERLI     MCDUFFIE                  NC         90000812582
91677527377537   GUADALUPE    LOPEZ                     NV         90014485273
91678159491951   GERALDINE    GRAY                      NC         90014101594
91682476451342   MONICA       ROSS                      OH         90005724764
91684463477927   VECENI D     JULIOUN                   IL         90001004634
91684758591599   LESLY        BARBOA                    TX         75021787585
91686793155951   MARCELO      RUIZ                      CA         90001627931
91687111881634   MR           THOMPSON                  MO         29001101118
91687529891599   ISELA        PALMA                     TX         90012255298
91689352491521   FERNANDO     MARIN                     TX         75087023524
91689639881635   DAISY        JUAREZ                    MO         90010146398
91691219577537   DONAVAN      OZUNA                     NV         90015262195
91691889951342   JODI         QUICK                     OH         90011528899
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91691928691327   FRANK        MEDINA                    KS         90014009286
91692249681635   SYLVIA       GERALD                    MO         29056492496
91692554181669   CASSANDRA    MARTIN                    MO         90005145541
91693218881634   OMAR         GUERRE                    MO         90012502188
91693388591826   KIMBERLY     MCREYNOLDS                OK         90012213885
91693899391599   HECTOR       JIMENEZ                   TX         75087708993
91694427981634   MARKETA      THOMAS                    MO         90010774279
91695582985689   NOE          MENTADO                   NJ         90013025829
91696664271635   KEISHAWN     CATO                      OH         90000586642
91697452691521   ROSALINA     MARRUFO                   TX         75087144526
91697641591327   DOROTHY T    WHITEHEAD                 KS         29008286415
91698866685689   SAMANTA      HERNANDEZ                 NJ         90012778666
91699516591882   JACOB        DONALDSON                 OK         90006615165
91712164681638   ANDRIANA     MARTINEZ                  MO         29019441646
91712378855951   NORAYMA      LANDEROS                  CA         90011243788
91712947785689   JOSE         EZAMA                     NJ         90015039477
91713578551342   DAVID        HIPOLITO                  OH         90010225785
91714313591944   BEN          WILKINS                   NC         90012983135
91714596891882   SHIRLEY      BRADLEY                   OK         90014815968
91715288591882   DIEDRA       DISHMON                   OK         90014802885
91718861491521   JANIE        LOPEZ                     TX         75087008614
91721665661977   SHAWN        REYES                     CA         90014826656
91721967877537   RENE         CABUNOC                   NV         90004689678
91723443471936   XAIVER       SAPEDA                    CO         90011774434
91723751491399   JOSE         VILLASANA                 KS         29015917514
91723913491882   NIESHA       HAMILTON                  OK         90002489134
91724324181634   KRISTINA     SCHROCK                   MO         29021843241
91724862877537   MICHAEL      BIRD                      NV         43083048628
91725787191544   JESUS        VELEZ                     TX         75004597871
91727442885689   MARIAH       GOUAN                     NJ         90014584428
91728296861979   DENISSE      AGUILAR                   CA         90007252968
91728368393756   JUSTIN       HIATT                     OH         90008393683
91729165555951   STEPHEN      HOLMES                    CA         49084441655
91729732793756   SHANNON      RILEY                     OH         64511347327
91729742977927   KRYSTLE      SUTTON                    IL         90015517429
91731315191882   THOMAS       MAXWELL                   OK         90014803151
91731367691599   ALICIA       ALVAREZ                   TX         90007723676
91732521777537   JULIE        GAZZIGLI                  NV         90012955217
91732758751342   ANGELA       TAYLOR                    OH         90009097587
91733627391399   CHARRON      MCDONALDS                 KS         90011506273
91734362181635   KATHY        PERSINGER                 MO         29098683621
91734521191944   VICTOR       ADIGWE                    NC         17048335211
91734873661977   TRENE        WILLIS                    CA         90013388736
91736332841296   DONNA        JONHSON                   PA         90001593328
91738333591882   JEFFERSON    JOUBERT                   OK         90014803335
91738637533666   OSCAR        VARGAS                    NC         90013936375
91739472391951   ERIKA        ARMENDARIZ                NC         90015454723
91739493591599   EFRAIN       CALLEROS                  TX         90012464935
91739688633698   JOSHUA       WADE                      NC         90015266886
91741241955947   LUPE         PASILLAS                  CA         90000822419
91741892291521   RONALDO      BERNAL                    TX         90014908922
91741979691521   HERRERA      MARIA                     TX         90012369796
91742345555942   CHELSEA      ABILA                     CA         90006103455
91742466655951   DUMNA        WO-WAH TRIBAL             CA         90004714666
91743443877537   SANDRA       MARTINEZ                  NV         90000464438
91743732355951   FRANK        LEE                       CA         90001037323
91743767381258   ALEX         BARTLEY                   IN         90010567673
91743974851342   STACIE       MARTIN                    OH         90012939748
91745512551342   MANUEL       BERROA                    OH         90012655125
91746239885689   NICOLE       MORETTI                   NJ         90012782398
91746537681635   ROSA         HINOJAS                   MO         29056815376
91746732941296   PAUL         SOGA                      PA         51093557329
91747217891951   YASMIN       TAYLOR                    NC         17060072178
91747856377537   DANIEL       AYALA                     NV         90014908563
91747884461979   LEWIS        QUICK                     CA         46001088844
91748181585689   RANDY        YOUNG                     NJ         90013221815
91748685541296   JASON        SCHMIDT                   PA         90000966855
91749727777537   DONNESIE     GREENLAW                  NV         90015117277
91751178233698   CLAUDINE     CASENEVVE                 NC         90013741782
91751352341296   KAREN        BUCHKO                    PA         90003163523
91751383491951   MARY         BRANCH                    NC         17025613834
91751847977537   RICHARD      PRENDEZ                   NV         90015058479
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91752439391882   MONA          HODGES                   OK         90006744393
91752498751342   CHRISTOPHER   CASE                     OH         90015094987
91754367491882   PAUL          MEIER                    OK         90014803674
91754743991521   RACHEL        LOPEZ                    TX         75058967439
91755458561977   JAMES         MICKELSON                CA         90010244585
91755692277537   SAM           TORRES                   NV         43072086922
91756133255951   JAY           LOPEZ                    CA         90013971332
91756459955951   JAMAAR        CARTER                   CA         90011244599
91758128355951   BEE           LEE                      CA         90013971283
91759127291951   MARCO         VASQUEZ                  NC         90006181272
91761123491521   VICTORYIA     AHUILAR                  TX         90010061234
91761518681634   CARLOS        LOPEZ                    MO         90013805186
91762843591951   MEJIA         HERNANDEL                NC         90013928435
91764716861977   HERIBERTO     ORTEGA                   CA         90009877168
91766137393769   ANTWAN        FREEMAN                  OH         90006711373
91766199481635   OSWALDO       GONZALEZ                 MO         29009841994
91766754533698   JUJUAN        LOCKETT                  NC         90014507545
91766869691399   LENECIA       NEVELS                   KS         90014878696
91767487861927   LETICIA       ROBLEDO                  CA         90001714878
91767526155951   ROSALINDA     MORENO                   CA         90011405261
91768394991882   KATHRYN       STAAB                    OK         90014803949
91769268161979   DAVID         STUART                   CA         90010572681
91769592751342   NATHANIEL     COMINSKY                 OH         90011855927
91769954477537   VERONICA      GUERRERO                 NV         90014579544
91771472881634   ASHLEY        WILSON                   MO         90014724728
91771483391599   BRIAN         JOHNSON                  TX         90013254833
91772147955951   HERNANDEZ     PATRICIA                 CA         49015271479
91772218591951   JEU           GOMEZ                    NC         90014822185
91774277951342   CHRISTY       REYNOLDS                 OH         90014462779
91774311791599   AMANDA        KUEHN                    TX         90012203117
91775329777537   MAUREEN       SALAZAR-ROMERO           NV         90003083297
91775461391348   TAMERA        STRONG                   KS         29045974613
91775786991544   GUSTAVO       VILLANUEVA               TX         75047697869
91776473638658   SHAWN         SERBICE                  FL         90015444736
91776512991327   AMY           MILLS                    KS         29012345129
91776557855951   MESHA         SADLER                   CA         49073985578
91776799285689   NEISHA        ROSA                     NJ         90013207992
91777232391327   TAMARA        HUMPHREYS                MO         29039522323
91778175591399   MOSIS         JALLOW                   KS         90008071755
91778312291399   JANILLE       MOTEN                    KS         90014643122
91781463791951   JOSE          PEREZ                    NC         90012974637
91783315741296   MIKE          THOMPSON                 PA         90015123157
91783944761977   KIRBAN        KELLER                   CA         90013849447
91784337281638   KERRI         WILLIAMS                 MO         29076123372
91784371391951   TONY          VAUGHAN                  NC         90013783713
91784519885689   MATEO         ORTIZ                    NJ         85092095198
91784985993755   KELLIE        TAYLOR                   OH         64538179859
91787126885689   MADELINE      ALVAREZ                  NJ         90012801268
91788381781635   ERIKA         SOLIS                    MO         90014133817
91789124385689   RUBIO         AGUILAR                  NJ         90012071243
91793389985689   CLAUDIA       MEJIA                    NJ         90012803899
91793988955951   JESUS         VILLGAS                  CA         90008099889
91794148491944   EDGAR         CAZARES                  NC         90010351484
91794471691399   RIGO          CHAVIRA                  KS         90014534716
91794531391327   CARLOS        RAMOS                    KS         90008185313
91795744491944   MARIE         ROGERS                   NC         90011087444
91796458593755   LORI          BOYD                     OH         90001874585
91796486941296   DAVID         WHITESIDE                PA         90002234869
91796547251342   JON           HAMMOND                  OH         90014305472
91796933481635   DIONNE        BEACH                    MO         29073179334
91797744351342   NOUR          ALJAMMAL                 KY         90014757443
91799135991944   DENEAH        JACOBS                   NC         90002091359
91799678181634   CRAIG         SEEVERS                  MO         29018696781
91799711393769   DAWN          LEDFORD                  OH         64540337113
91811126761979   ADRIANA       GARCIA                   CA         90007401267
91811988733698   ANGELA        VINCENT                  NC         12010819887
91812316533666   SILVIA        MORAN                    NC         90012063165
91813125785689   FELIX         MATIAS                   NJ         90012641257
91813222491944   MARTA         CRUZ                     NC         17057232224
91813513261977   LINDA         MONTOYA                  CA         46087035132
91813515855951   ROSINA        GARZA                    CA         90011245158
91813957677537   LUIS          ANGUIANO-OROZCO          NV         90012419576
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91815883333698   SUKARI        NETTLES                  NC         90014558833
91818844591599   CLEOTILDE     RUIZ                     TX         90004708445
91818951391994   ANITA         CAMPBELL                 NC         17073349513
91819147655951   EDUARDO       TORRES                   CA         90013971476
91822457481638   TALISHA       COTTONHAM                MO         90003344574
91822697431439   CRYSTAL       YOUNG                    MO         90012776974
91823987255951   PEGGY         TAYLOR                   CA         90014249872
91824189893756   MICAH         RUSSELL                  OH         90011931898
91824398693755   MARTINA       RAYGOZA                  OH         90013963986
91824972361977   ARACELI       CASTELLO                 CA         90014419723
91825426255951   AUSENCIA      ROJAS                    CA         90002014262
91825682141296   NADINE        FABIAN                   PA         51088386821
91826463233698   EVA           VAZQUEZ-QUINTERO         NC         12045294632
91828144591882   TYRONE        CROSSLEM                 OK         90011061445
91829442281638   HEYDIE        CHACON                   MO         90003344422
91829726991882   SARAH         FRANKLIN                 OK         21027317269
91831136193755   BRITTANY      JENKINS                  OH         90012061361
91832186193755   PATSY         TOMPKINS                 OH         64552981861
91832445673261   JUAN          SORIANDO                 NJ         90015474456
91832644491521   CASAS         JUAN                     TX         75064206444
91833431891399   ANGIE         CORRELL                  KS         90014644318
91833681393756   COURTNEY      PARIN                    OH         90011156813
91834182691599   PATRICIA      RONQUILLO                TX         90013361826
91834488191521   JOSEFINA      MENDOZA                  TX         90006324881
91835564355938   JAGROOP       SINGH                    CA         90012655643
91835879133698   SABRINA       STEED                    NC         12049888791
91836562677537   EDITH         ESPARZA                  NV         90015205626
91837216685689   CYNTHIA       CONWAY                   NJ         90012022166
91837845691599   SELENE        MORENO                   TX         90001028456
91838771777927   MARINA        WOOD                     IL         90015547717
91842122185689   CIERRA        SALDANA                  NJ         90013961221
91843559491951   YOLONDA       GUI                      NC         90014585594
91843728891327   WILLENA       GRANT-HARRIS             KS         29074927288
91844614833626   SHAUNNA       JEFFRIES                 NC         90012246148
91844713951342   RIGOBERTO     HERNANDEZ                OH         90008637139
91846475581638   SOCORRO       BANUELAS                 MO         29010934755
91847182393755   DEBRA         MOORE                    OH         90012351823
91848553455942   MALINDA       GARCIA                   CA         48081315534
91848836333698   JEROME        DAVIS                    NC         90000958363
91851623791882   PAU           LANGH                    OK         90014806237
91852143655951   DAMON         HIGGINS                  CA         49076821436
91852626891882   WAYLON        WOODS                    OK         90014806268
91852866233698   JANET         CECIL                    NC         12051558662
91852996191348   HECTOR        ROBLES                   KS         90006829961
91853387993755   MATT          MOSS                     OH         90013573879
91853655991951   CHRISTOPHER   GRIMES                   NC         90015316559
91853913351342   KHADIJAH      AKIL                     OH         90003669133
91854115633698   LENESHA       GAINEY                   NC         90013751156
91854348955951   MAI           VANG                     CA         90015303489
91854467851342   SHAUN         RUE                      OH         90010434678
91854735391526   VICTOR        CERVANTES-FRIAS          TX         75013297353
91855923491882   BRYANNA       MCINTOSH                 OK         21064699234
91856579391882   JAMES         BANKS                    OK         90009675793
91857189633698   SOLOMON       BEE                      NC         90013611896
91858242891944   JEAN          ROSE                     NC         17035382428
91858886155951   JESSE         SILOS                    CA         90014338861
91859394851342   JACQUELINE    HIDALGO                  OH         90007423948
91859658541296   RUSLAN        SARDALOV                 PA         51072406585
91862469391882   TYHITA        HARDING                  OK         21045024693
91862683993755   GREGORY       KNIGHT                   OH         64552216839
91862834577537   JUAN          GUTIERREZ                NV         90012998345
91862849991399   TASHA         REED                     KS         90012898499
91863332191531   JEANNETTE     ORTIZ                    TX         90011063321
91863455641296   LASHAWN       ABRAHM                   PA         90014544556
91864732891399   LINDSEY       LUCAS                    KS         90014417328
91865997361977   DEVORA        SANCHEZ                  CA         46049879973
91866483793755   APRIL         WHITTIER                 OH         64528154837
91866611591882   PEGGY         BALLANDBY                OK         90014816115
91866782351342   ANNA          BALL                     OH         66094777823
91867386655951   WENDY         GILES                    CA         90013333866
91867421277537   JESUS         MORENO                   NV         90006914212
91868132393755   APRIL         TAYLOR                   OH         90013751323
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91868776855951   GUSTAVO          RUIZ                  CA         49035317768
91872262391944   RUSSELL          BRODIE                NC         90013162623
91873364233698   BRANDY           HOLLOWAY              NC         12039323642
91874919555951   BIANCA           VASQUEZ               CA         49013569195
91875827291599   LAURA            RAMOS                 TX         90002258272
91878667985689   JUNIOR           GONZALES              NJ         90014436679
91879337591951   SHAMEERAH        MOODY                 NC         90007853375
91879813391944   MELISA           MCDALE                NC         90009418133
91882168391882   KELLE R          ACTKINSON             OK         90014821683
91882776461977   ELENA            CHIROTE               CA         90012467764
91884597191399   DOLORES          FITIAL                KS         90009595971
91884918861977   DAVID            TURNER                CA         90014129188
91885232877537   OMAR             MIRANDA-REA           NV         90015182328
91885476761977   ERIK             YESCAS                CA         90007774767
91886847593755   JUANE            EVANS                 OH         90013208475
91887821891599   SERGIO           ESCAMILLA             TX         90007728218
91889116693769   PRESHES          MATHEWS               OH         90011331166
91889652155951   MARIA            ORTEGA                CA         90014716521
91889987291944   FLAKA            VELLI                 NC         90013399872
91891597841296   MARIA            BRUNO                 PA         90001025978
91891941591521   JANET            VASQUEZ               TX         90013849415
91892593255951   ANTONIA          OBLEA                 CA         49079245932
91893134341296   CYRIL            PETER                 PA         90011421343
91893948355951   FRANK            CORDOVA               CA         90014179483
91894468377537   ALDWIN           BROWN                 NV         43081464683
91894775991882   WENDY            MURRY                 OK         90006517759
91895648291944   THADDDEUS        JONES                 NC         90015166482
91896646855951   BRANDY           BROWN                 CA         90012206468
91897766661977   ALFRED           MCCULLOUGH            CA         46098337666
91897837561979   REYNA            SANCHEZ               CA         90004318375
91898748555951   FREDERICK        LEE                   CA         90011247485
91898954955951   MIGUEL ANGEL     JIMENEZ               CA         90014179549
91899147955951   ALMA             SALINAS               CA         90002371479
91899259557563   JUSTIN           CLAIR                 NM         90014372595
91899393691327   BRANDY           BAIY                  KS         90001693936
91911296691951   BIANDEL          SHOUSE                NC         17048062966
91912176155951   DANNY            ANDRARE JR            CA         90013971761
91914129655928   FRANCISCO        MUNOZ                 CA         90001731296
91914266791521   ABRAHAM          MORALES               TX         90010422667
91914313891944   RAYMOND          REYNOLDS              NC         17002743138
91914764391951   KARLA            TORRES                NC         90015057643
91915721577537   JAYSON           MCVICKERS             NV         90014727215
91916237581634   TIMOTHY          QUINLAN               MO         90015342375
91916286791599   BRANDON          SALAZAR               TX         90014712867
91917139261977   ENRIQUE          ESPINOZA              CA         90008551392
91917393141296   SHARON           BLACK                 PA         90000953931
91917728991951   ENRIQUE          CARRISO               NC         90007907289
91917956191882   SERGIO           REYNOSA               OK         21014779561
91918183155951   REBECCA          LOZANO                CA         90005441831
91918768151342   EBONY            CAMPBELL              OH         90013327681
91919147393755   MARCUS           JOHNSON               OH         90012601473
91919268581635   DELPHINA         SANCHEZ               MO         90013832685
91919614185689   ANAYELI          HERNANDEZ             NJ         90013956141
91921187751342   SCARLETT         HAYES                 OH         90013231877
91921515793755   NOAH             ROBERTS               OH         90010625157
91921599193782   JARED            BARNES                OH         64556285991
91922748681635   WENDY            CARUTHERS             MO         90014867486
91923133891944   AMANDA           ROSE MORTON           NC         90007211338
91924177355951   ASHLEY MONIQUE   DE LA GARZA           CA         90013971773
91924216551364   EMILY            ALLEN                 OH         90001702165
91924819481635   PAUL             WILEY                 MO         90013938194
91924821891599   SERGIO           ESCAMILLA             TX         90007728218
91925525477927   MARIA            LIMON                  IL        90005635254
91925793691521   ROSE             DIAZ                  TX         90015057936
91927524661977   GLORIA           CRESPO                CA         90013865246
91928289891599   RIGOBERTO        REYNOSO               TX         75059062898
91928346541296   ROBERT           FLANAGAN              PA         51060353465
91929877181638   FRED             HUDGINS               MO         29001578771
91931336661977   GRISELDA         DIAZ                  CA         90006073366
91931735491951   ALFONSO          LOPEZ                 NC         90014247354
91933712181634   RONAYERIN        OGOLOR                MO         29001027121
91934331285689   DULCE            GUZMAN                NJ         90013963312
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91936175891399   MICHELLE     HEARD                     KS         90009841758
91936341985689   KIAH         BERMAN                    NJ         90011683419
91936622191521   CARLOS       DIAZ                      TX         75052036221
91936634861977   ELIAS        AMADOR                    CA         46068986348
91937363491521   JAIME        JORDAN                    TX         90006823634
91938863593755   ANDRE        CARTER                    OH         90012098635
91939629141296   DANA         MACAULAY                  PA         51080726291
91939932761972   BRANDY       JACH                      CA         90001229327
91941251593755   RUTH         TERRY                     OH         90014012515
91941871291944   CANDIS       EDWARDS                   NC         90013278712
91943954733698   MANUEL       DE JESUS RIVAS            NC         12006499547
91945473991944   ARNOLD       FOWLKES                   NC         90015124739
91946359891951   WILLIAM      MINOR                     NC         90012783598
91947115791399   ASHLEY       EICKHOFF                  KS         90014651157
91947239791599   JANET        PAEZ                      TX         90013312397
91947672293756   JENISE       ZIMMER                    OH         64548216722
91947721361977   TALUAI       LIMAILA                   CA         90013787213
91948294561977   JESUS        VILLALOBOS                CA         90013032945
91949319981634   LUIS         CHAVEZ                    MO         90000353199
91949668291882   LUCAS        MCEWEN                    OK         90014816682
91951282391327   DOUG         DUKE                      KS         29058012823
91951413357563   MARIBEL      FLORES                    NM         90005784133
91952983277537   CRISTOPHER   COZBY                     NV         90015009832
91953263491521   VALERIE      GOMEZ                     TX         90014582634
91953545555951   ALINA        EANG                      CA         49047865455
91954112333698   AUDRA        INGRAM                    NC         90008211123
91954698655951   BILLY        VANCE                     CA         49061536986
91954746793755   SHIRTOR      TAYLOR                    OH         90014487467
91954959341296   SHAUN        VESHIO                    PA         51008699593
91955161977537   LESLIE       SINGH                     NV         90001411619
91956229291599   LUIS         MEZA                      TX         90014792292
91956683991882   PAUL         WALLACE                   OK         90014816839
91957357261977   VERONICA     CHAVEZ                    CA         90011573572
91957444751342   TARA         PITTMAN                   OH         90011524447
91957683991882   PAUL         WALLACE                   OK         90014816839
91957783991399   AMBER        JENKINS                   KS         90014857839
91958571581635   GEORGIA      WILLIAMS                  MO         29018875715
91961787531422   JENNIFER     GIBBS                     MO         27595607875
91962349181634   AURORA       DIAZ                      MO         90003803491
91962456491327   JORGE        FRAIRE JR                 KS         29041464564
91964271355951   NICHOLAS     HUMPHREY                  CA         49014362713
91964688491882   SANDRA       WILEY                     OK         90014816884
91964753633698   MICHAEL      MORRISON                  NC         90009717536
91965634885689   MINERVA      CRUZ                      NJ         90013966348
91965688491882   SANDRA       WILEY                     OK         90014816884
91966353191951   MIKE         REATHERSON                NC         17016663531
91966634861977   AIOTEST1     DONOTTOUCH                CA         90015116348
91966952591934   JA KEYA      SHERMAN                   NC         90001099525
91968182941296   STACIE       HOLMES                    PA         90002591829
91968653391599   ELIZEHT      ORTIZ                     NM         75031186533
91969643361977   JASMINE      YOUNGER                   CA         90005336433
91969869881634   RYAN         CHAVEZ                    MO         90014858698
91972273191399   RICHARD      SALGADO                   KS         90014652731
91972743181634   LASHONDA     CAPLES                    MO         29013707431
91973352433698   LALANDA      CARTER                    NC         90014433524
91973378891944   SHANNON      DUNN                      NC         90001833788
91973456361979   VARGAS       IGNACI                    CA         90003194563
91973542393755   JOY          ALLEN                     OH         64508215423
91973928955951   DELIA        ANDRADE                   CA         90015099289
91974273991399   JADE         FREEMAN                   KS         90014652739
91974483691599   SANDRA       CALVILLO                  TX         90002314836
91974656177537   PAYGO        IVR ACTIVATION            NV         90013326561
91975579591951   JANEL        YOUNG                     NC         90012495795
91975763961977   AMANDA       MORANN                    CA         90006217639
91976471461979   TERRI        FISHER                    CA         90010584714
91976592455951   FLORIBERTO   NAVA                      CA         90010235924
91976928391399   BRYAN        LOPEZ                     KS         90013019283
91977893855975   ANDREA       DE LA CRUZ                CA         48082138938
91978177161977   JEZEE        CORONA                    CA         90015071771
91978458191951   HEARTWILL    KPEGLAR                   NC         90014994581
91979795681635   MICHELLE     DAMIAN                    MO         90014097956
91981979891599   LUZ          MENDOZA                   TX         75062409798
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91982314691899   ANITA             THOMAS               OK         90012683146
91982992291951   TROY              MCLENDON             NC         17069629922
91983338191599   MARIA             BURCIAGA             TX         75090013381
91983599991521   ANGIE             SIMENTAL             NM         90012075999
91983679377537   DARREN            GLEN                 NV         90002756793
91983953877927   BECKY             GUERRERO              IL        90015559538
91984136355951   MARCELINA         ALVAREZ              CA         90015371363
91985389755951   LUIS              ESTRADA              CA         90000273897
91985475181634   CARLA             PALMER               MO         29008604751
91987958977537   GABRIELA          SILVA                NV         90014599589
91988125133698   CRYSTAL           CRAWFORD             NC         12073401251
91988696672485   CHRIS             THOMPSON             PA         51007056966
91989325751342   TIFFANY           ARTIS                OH         90013243257
91991481491532   OLIVIA            CARDONA              TX         75041964814
91995364493738   ROCHELLE          HORTON               OH         64547333644
91995374251367   JOANNE            BEAL                 OH         90006933742
91996651855951   BRENDA            IZAGUIRRE            CA         90012206518
91997185661977   EMILIA            DIGHERO              CA         90012721856
91998294285689   JOSE              FUNES                NJ         90014172942
91998495977537   MARIA GUADALUPE   CANALES-TRUJILLO     NV         90010754959
92111666891882   TANYA             TROUT                OK         21033496668
92111784691951   SHELDON           YOUNG                NC         17026717846
92111864991599   JESSICA           TREJO                TX         90015188649
92112526861977   GILBERT           LOZANO               CA         46048385268
92113264733698   CATHY             CARRILLO             NC         90015082647
92113785797123   LORENA            SANCHEZ              OR         90011067857
92113995781634   ISAAC             CHAPA                MO         90014249957
92114247855957   MARIA             VARGAS               CA         90015162478
92114288781634   DAISY             RAMIREZ              KS         90014662887
92115832361979   TANYA             ROSS                 CA         90012708323
92117449991521   MARIA             MARTINEZ             TX         90012734499
92118215841296   CARRIE ANN        DAVIS                PA         51015122158
92118428891521   UDELIA            DIAZ                 NM         75057534288
92118628455957   ARACELI           ARREDONDO            CA         90004526284
92121314291521   ESTHER            GUILLEN              TX         90007943142
92123264693755   TIMOTHY           SHOPE                OH         64586242646
92123415977537   GUILLERMO         RAMIREZ              NV         90014174159
92123974251334   RAMIRO            LOPEZ                OH         90014389742
92125992241296   CELINE            GIACCI               PA         90000169922
92126649785689   KIYA              HAROLD               NJ         90005116497
92126922191521   JESSE             ESTRADA              TX         90011319221
92128286591599   ZULEMA            ALFARO               TX         90005542865
92128375991521   DANNA             HERNANDEZ            TX         90009663759
92128787761979   ANA               CHAVEZ               CA         90012657877
92132528891399   RUSBELINDA        VALDEZ               KS         29002905288
92132925461977   JUAN              REBOLLAR             CA         46071419254
92133514461977   LILY              ACUNEA               CA         90008455144
92133993491951   KENDALL           DEAN                 NC         90008539934
92134128355951   TONY              GARDUQUE             CA         49006051283
92135793855951   ABRAHAM           YANG                 CA         90010747938
92137222885689   SALOMON           VELASCO              NJ         90011792228
92137549191526   DIANE             BALLAIN              TX         75048155491
92141477497123   STEVEN            HARMON               OR         90013424774
92141525791951   JOHN              DUNCAN               NC         17092925257
92141754181635   JESSICA           ZAMORA               MO         90014577541
92142254955978   MATTHEW S         BALL                 CA         48057132549
92143769755957   ANGEL             OCAMPO               CA         90011287697
92143879651334   GAIL              SCRUGGS              OH         90014968796
92145532431429   AMANDA            IVY                  MO         90011755324
92146274497123   JEREME            MACINO               OR         44056092744
92146327871936   ALIA              ESPINOZA             CO         90011443278
92146824891994   ALMETTA           DAVIS                NC         90004818248
92147927691599   SALVADOR          ROJAS                TX         75075789276
92147982555951   ANA               HERNANDEZ            CA         90002489825
92149229751334   TORI              CHEEK                OH         90014752297
92153836251396   KAREN             STRONG               OH         90000838362
92154123455957   JOSE MANUEL       VALDEZ               CA         90014881234
92154186891521   JOSE              MARTINEZ             TX         90003261868
92156838677537   FRANCISCO         GUILLEN              NV         90011168386
92157281691521   THOMAS            HERNANDEZ            TX         90005652816
92158221793769   MARGARET          BROWN                OH         64510582217
92158431143584   CASSANDRA         DONOVAN              UT         31012454311
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92158434481634   BRITTANY      COLOMBO                  MO         29072664344
92158468391521   PAUL          GUTIERREZ                TX         75051934683
92159381591521   RAQUEL        HERNANDEZ                TX         90013003815
92161259341296   KIMBERLY      OMALLEY                  PA         51016892593
92163486797123   MARCO         RIVEROS                  OR         90014184867
92163555481635   PARIS         DARNELL                  MO         90013655554
92164298477537   EDITH         LEDEZMA                  NV         90013792984
92165455643584   ANGELA        QUINTANA                 UT         90014774556
92166189197123   MIRRANDA      WEITMANN                 OR         90013681891
92166326491951   LARRY         JACKSON                  NC         90011953264
92166651591966   JAMES         LILES                    NC         17065376515
92167189197123   MIRRANDA      WEITMANN                 OR         90013681891
92167544151334   PATRICIA      MCINTYRE                 OH         66035805441
92167781455957   KARLA         GUITERREZ                CA         90011287814
92167894326272   ALEJANDRO     CRUZ                     WI         90015448943
92168567981634   GUSTAVO       TORRES                   MO         90015105679
92168892191521   PRISCILIANO   ROJAS                    TX         90013028921
92171171861977   GLADYS        QUINTERO                 CA         90012131718
92171415785689   AJ            SCOTT                    NJ         90003314157
92171621751331   KASSANDRA     BROWN                    OH         66011986217
92171915143584   JAMES         DENNIS                   UT         90008409151
92171986791951   FATIMA        MOLINA                   NC         90014829867
92172688593755   DUSTIN        JOHNSON                  OH         90013216885
92172774881634   LAUREN        NEFF                     MO         29024707748
92172894881635   ANTONIO       WILLIAMS                 MO         90014778948
92173761593756   DAVID         ANDERSON                 OH         90006497615
92173836193756   DAVID         ANDERSON                 OH         90014718361
92176977981635   SHELDA        WILLS                    KS         90013799779
92178792993755   SYDNEY        KARN                     OH         90012427929
92178814791399   LL            CONLEY                   KS         29052608147
92179645285974   LYLE          MOLANDS                  KY         90011536452
92179922543584   AMBER         PRINCE                   UT         90010309225
92181617991521   ANA           FLORES                   TX         90013676179
92182657291599   CELIA         GONZALEZ                 TX         75001506572
92183389441296   NIKIA         SMITH                    PA         51064263894
92183669141296   SANDRA        MARTINEZ                 PA         51096296691
92183816793769   ALEJANDRO     MALAGA SANTOS            OH         64507928167
92186129155951   NATEIGYA      MAYBERRY                 CA         90011091291
92186216857564   ELSA          ARMENDARIZ               NM         90009092168
92186926333698   EVAN          KUBONT                   NC         90015249263
92187232281635   DAVE          HART                     MO         90011092322
92188168541296   KRISTEN       HUCKLE                   PA         51079381685
92188436426272   ANGIE         ORTIZ                    WI         90015394364
92188782297123   HAYDEN        YOUNG                    OR         90013537822
92191256793755   EDWARD        JOHNSON                  OH         90015172567
92191479251334   GENIE         REESE                    OH         90000954792
92191663191521   ERIKA         MARTINEZ                 TX         90015016631
92191933355951   ANA           BECERRA                  CA         90015039333
92193657791599   ALICIA        CORONA                   TX         75062826577
92193686193755   GEORGE        GARNER                   OH         64521416861
92195496185689   CESAR         GARCOA                   NJ         90008484961
92195659991951   LADARIUS      JAMES                    NC         90013966599
92196648897123   MARIA         CASTRO                   OR         44078196488
92196956691521   CASEY         KELLY                    TX         90012079566
92197872591599   LIZETTE       LOPEZ                    TX         75078878725
92198651251334   WOLDE         DINBERU                  OH         66097106512
92211255955951   MAYRA         TOSCANO                  CA         90011492559
92212271181635   ALEXANDER     MARKBONEY                MO         90015182711
92212364761977   ADRIAN        MABRY                    CA         90008443647
92212813733633   TARLEASHIA    MACK                     NC         90011578137
92212981351334   ALLA          KONAKOVA                 OH         66016779813
92213117881634   NICOLE        KIMIECIK                 MO         90015571178
92213449561979   PATRICK       FAISON                   CA         90011764495
92213583533698   CHAD          RICE                     NC         90004855835
92215913891951   OZJA          HARRIS                   NC         90013279138
92216142743584   KRISTIN       EGELUND                  UT         90011541427
92216413697123   ANNA          TORRES                   OR         44052984136
92216417943584   KEVIN         HANSEN                   UT         90014484179
92218816641296   DANIELLE      HABECK                   PA         51073298166
92219313781634   SANDRA L      GARRETT                  MO         90006083137
92219512955957   JEANNIE       MCCLURG                  CA         49089795129
92219841841296   DOLORES       RODRIGUEZ GARCIA         PA         90007088418
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92221413491521   MICHELLE             GALLEGOS           TX        90013244134
92221912181635   ROSEMARY             MATHEWS            MO        29033509121
92221946577537   AUDREY               TAUSINGA           NV        90013839465
92221951343584   PAUL                 WYATT              UT        90007099513
92222231697123   SHAWN                VALLEAU            OR        44016122316
92223441843584   RONALD               NELIUS             UT        90007824418
92223953461973   JESSICA              PEREZ              CA        90011209534
92223958191882   DAVID                RAMOS-MORA         OK        21012469581
92225463991599   MIRNA                MUNIZ              TX        90013904639
92225579155951   CHUE                 VUE                CA        49069625791
92226759897123   EVARISTO FELICIANO   FELICIANO          OR        90009707598
92226764991599   JUAN                 ALVAREZ            TX        90013597649
92227461755975   RICARDO              VELASQUEZ          CA        48083554617
92231334257126   ROSENDA              LOPEZ              VA        90009603342
92231499497123   ARTURO               CABERRA            OR        44041154994
92233178284346   KIMBERLEY            HOWARD             SC        90007991782
92233331191882   BRIDGET              ALLISON            OK        90007923311
92233383326272   BENGIE               BARBOSA            WI        90015603833
92233426585689   RUTILIO              CANSECO            NJ        90008504265
92233898151334   EDDI                 JUAREZ             OH        90013648981
92235943161977   AL                   SMITH              CA        46056449431
92236511343584   RICK                 BRUNSON            UT        31006965113
92236815343584   RICK                 BRUNSON            UT        90013848153
92237351943584   TERESA               BUSICO             UT        31078913519
92237813177537   JUNE                 MILLIGAN           NV        43026408131
92238617355951   PA                   YANG               CA        49098756173
92239475193756   BONNIE               WAGNER             OH        64540354751
92239524755957   JUAN CARLOS          REYNOSA            CA        90005065247
92239738393755   ERIKA                TABB               OH        90009667383
92242125691521   CLAUDIA              MOTA               TX        75078591256
92242366891599   VALDEZ               JENNIFER           TX        90010003668
92243328233698   MELISSA              HAVNER             NC        90011413282
92243525393755   KRISTA               PUJIA              OH        90014225253
92243675891521   GARZA                PATRICIA           TX        90010706758
92245129591599   MIGUEL               RODRIGUEZ          TX        90014511295
92245246241296   SARAH                PUHARIC            PA        90013092462
92246781591399   TONYA                SMITH              KS        90007097815
92247117141296   ROBERT               RICKERD            PA        51075481171
92248786291521   RAMIRO               VILLEGAS           TX        90013337862
92251867593769   ASHLEY               HOSKINS            OH        90005658675
92253588997123   TABATHA              SMITH              OR        90010595889
92253642151334   JOSE                 CORTES-AVILES      OH        66050296421
92255149693755   GERALD               BACCUS             OH        64511731496
92255742233698   JOHN                 ATEM               NC        90007777422
92255867855951   CECILLE              MAGLAIBA           CA        90003658678
92258652781635   YADIRA               MEZA               MO        29084816527
92258833851334   ROLAND               RUE                OH        90010738338
92258987193769   EDWARD               BAKER              OH        64563519871
92259692155957   YESENIA              RENTERIA           CA        90015156921
92259763561977   SONIA                HERNANDEZ          CA        90013087635
92261111531952   PAUL                 SMITH              IA        90014071115
92261217577537   ERICA MARIA          AGUINAGA           NV        90011412175
92261299191882   MELINDA              TAYLOR             OK        21002682991
92261574441296   ANGELO               REYNOLDS           PA        90013375744
92262381397123   ROSA                 DIAZ               OR        90010893813
92263351351334   GINA                 LAMBRINDINES       OH        90012573513
92263367397123   CRYSTAL              CURRY              OR        90015043673
92263564197123   ALBY NURY            AZUA               OR        90014185641
92263791197123   MARIO                MARTINEZ VENTURA   OR        90013947911
92264433191599   JOSUE                RIVAS              TX        90010814331
92265882497123   MONICA               CALZADILLAS        OR        90009218824
92266582855951   NAOMI                MARTINEZ           CA        90012875828
92267125761979   ERIC                 RODRIQUEZ          CA        90008611257
92268234591521   ROCIO                RAMIREZ            TX        90012322345
92268474241296   JEMEL                MORRIS             PA        90014004742
92268838177537   ABRAHAM              MORALES            NV        90012988381
92269379591951   MI                   CHUNG              NC        17053023795
92272661385689   OSCAR                VALENTIN           NJ        90005536613
92273517791399   ESTHER               MENDOZA            KS        29083445177
92273755561977   EZEQUIEL             PLASCENCIA         CA        90013417555
92275639861499   GARY                 LYONS              OH        90014736398
92275892933698   JESSICA              RENO               NC        12066698929
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92276424491951   AYANNA           WADE                  NC         90010864244
92277164897123   BRIAN            LITTELL               OR         44006331648
92277417931422   BETH             DIERKER               MO         90005074179
92278131691599   LAURA            RODRIGUEZ             TX         90009021316
92278981855951   LYNDSEY          GONZALES              CA         49014209818
92279342393782   SHELIA           COATS                 OH         64565593423
92281688697123   CHRIS            ALARCON               OR         44007566886
92282317551334   VICTOR           MELQUIDAES            OH         90007883175
92282627681635   RENE             TRITLITT              MO         90009276276
92282913477537   CYDNEY           DAVIDSON              NV         43092139134
92283157181635   WILLIAM          HANDY                 KS         29066981571
92284862991521   ADRIANA          RODRIGUEZ             TX         75096278629
92285657351334   AMY              DE-NISE               OH         90014226573
92285948155957   ANDREA           RIVERA                CA         49019459481
92287545291882   CLEO             SMITH                 OK         21021575452
92287612985689   MIGUEL           LOPEZ                 NJ         90008526129
92289669191599   ERIC             DELGADO               TX         90011316691
92289749791521   RICK             MAGALLANEZ            TX         90006517497
92291133591521   MARIA            GARZA                 TX         90006831335
92291775881634   MAIRA            PLAZOLA               MO         90005157758
92292254161977   ROBIN            CARTWRIGHT            CA         46000652541
92292527591599   CLAUDIA          DELEON                TX         75050195275
92292947397123   BLAS             PEREZ                 OR         90013949473
92293492161977   MARICELA         HUERTA                CA         46045114921
92294735233698   CORTNEY          SOLES                 NC         90011977352
92295417197123   CENDY            FRIAS                 OR         44029774171
92297188691521   OCTAVIO          SALAZAR               TX         90007741886
92298336661979   MARCO            GAYARDO               CA         90013033366
92298341791599   JESUS            RINCON                NM         90011463417
92299549555957   DETRICK          MAYBERRY              CA         90014305495
92312742461979   HERMINA          BALLESTEROS           CA         90007607424
92313119297123   ALICIA           TAPIA                 OR         90013951192
92314441891399   GLORIA           BORUNDA               KS         29001524418
92317631555951   MARTIN           CERVANTES             CA         90010126315
92317972493755   PATRIA           SMITH                 OH         64539259724
92318758633698   TOPITHA          HINSON                NC         90013287586
92319646881626   JEDEDIAH         SMITH                 MO         90011466468
92322413385689   TOMAS            ROSALES               NJ         85008834133
92323191791951   CARINA           SANCHEZ               NC         90012571917
92323854461979   JACQUELINE       ADAMS                 CA         90009558544
92323919191531   JESSICA          MENDOZA               TX         90010459191
92324185351334   FELIPE           GONZALEZO             OH         90011771853
92325873951334   BRANDEN          HIBBITTS              OH         90010968739
92326868793755   FREDERICA        VANN                  OH         90010888687
92327754891526   RIOS             VICTOR                TX         75067297548
92331519355951   FAVIOLA          ORTIZ                 CA         90014775193
92332554381635   MYRSA            GARZA                 KS         90002965543
92332855991599   MIGUEL           GARNICA               TX         75090378559
92334397997123   SERGIO           LARA                  OR         90013953979
92334876485689   JORDON           ALVAREZ               NJ         90008758764
92335923181634   BREEZI           MACIEL                MO         90009859231
92337787693769   MICHAEL          HALL                  OH         64547497876
92338111691399   JONATHAN         WHEELER               KS         90011691116
92338169391521   MARINA           PEREZ                 NM         90000121693
92342958981634   ADAM             PADILLA BAUTISTA      MO         90012619589
92343675991521   LAURA            GONZALES              TX         90011826759
92344178491521   ELEA             DAVILA                TX         90011041784
92344543461977   LILIA            LOPEZ                 CA         90008465434
92346517555951   ROSA             GUZMAN                CA         90002805175
92347354131459   LEWIS            SMITH                 MO         90004963541
92347517141296   SANDRA           LOCKLEY               PA         90006835171
92348989861977   HARO             RAMON                 CA         90011859898
92348993993755   LATIA            PHOENIX               OH         64576079939
92352184693755   SYLVESTER        DAY                   OH         90013471846
92352745241296   KEVIN            BROWN                 PA         90013527452
92352768155957   NOEMI            RAYES                 CA         49017157681
92353361197123   AARON            HEEVEL                OR         90006833611
92354918877537   JUAN FRANCISCO   VALLE                 NV         90007909188
92355439151356   JENNIFER         WHITE                 OH         90011604391
92359272151334   HING             CHOI                  OH         90013922721
92359479777537   NICOLASA         CERVANTES             NV         90009924797
92359697697123   ROSE             AMIDA                 OR         90014916976
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92361993231447   ALFRED        CATCHING                 MO         90006509932
92363762191599   MARIA DEL     MORALES                  TX         90000777621
92365364261986   SARA          VELAZQUEZ                CA         46026983642
92366234155951   DARIO         LEMUS                    CA         49095612341
92366923181634   BREEZI        MACIEL                   MO         90009859231
92366974291599   JESSICA       CASTTLE                  TX         75018349742
92367367491951   EUGENE        HAYES                    NC         17000183674
92367838955957   LILY          RILEY                    CA         90012938389
92368371141296   RICHARD       TSCHUDI                  PA         51000703711
92368951791599   DANNY         MARTINEZ                 TX         90014759517
92368958861977   MARIA         NAVARRETE                CA         90004799588
92369214891399   CHRIS         OLESON                   KS         90008172148
92369656893755   ALDO          FLORES                   OH         90008006568
92373315493755   CARRIE        KUSS                     OH         90015113154
92374479991955   TANIKA        YARBURRAL                NC         90007294799
92374754493755   TEPHANIE      DAVIS                    OH         90014187544
92375453493769   DORIAN        MCKEE                    OH         90000714534
92375553197123   SHAWNEE       MURPHY                   OR         44053005531
92375673477537   BLANCAFLOR    ANZURES DEL VALLE        NV         90010556734
92376746181634   ERIC          TRACY                    KS         90015117461
92377791577537   HOMERO        RIVERA                   NV         43018067915
92382431355951   YER           THAO                     CA         49001804313
92382597557137   FRANKLIN      DIAZ                     VA         90000165975
92383691593755   ROBERT        BROWN                    OH         90011566915
92385173991951   JARVIS        WILSON                   NC         17016031739
92385564181634   MARIELA       SANTIAGO                 MO         29080745641
92385715191399   LASHON        O'NEAL                   KS         29016147151
92385953991951   COREY         BURNETT                  NC         90015219539
92386477751334   GORGE         WASHINGTON               OH         90011454777
92386692291951   SANDRA        UNDERWOOD                NC         17033276922
92387216477537   JOHN          JONES                    NV         90012802164
92388664541296   COURTNEY      LALLY                    PA         90013326645
92389641181635   ROBERT        JORDAN                   KS         90013776411
92392864993755   TOSHA         WEATHERSPOON             OH         90014168649
92393863391882   TIFFANY       KENDALL                  OK         21046028633
92394158977537   EMMANUEL      DELEON                   NV         90011131589
92394224191599   JUAN          ESPARZA                  TX         90003992241
92394544151334   SANDY         ROBERTSON                OH         90014515441
92394928293747   SHAWN         BARLOW                   OH         90001199282
92395625977537   TIFFANI       HENRY                    NV         90012816259
92396785977537   ANNIE         OMAYE                    NV         90010337859
92396872741275   KENYA         ALLEN                    PA         90010848727
92396883577537   AUDRA         PEREZ                    NV         90012458835
92397118671956   BERTHA        RODRIGUEZ HERRERA        CO         90012011186
92397167797123   KAYTE         RACH                     OR         44084991677
92397872661977   PERLA         SANCHEZ GARCIA           CA         90008458726
92398166391599   LETICIA       SALAS                    TX         90009851663
92399492191882   ENRIQUE       CANDELAS                 OK         90013534921
92411331851334   ETHAN         UDRY                     OH         90015143318
92411888655951   RANDY         CIAVAGLIA                CA         49080378886
92411931691521   FEDERICO      FONSECA                  TX         90004679316
92412149691951   LATAVIA       ROSE                     NC         90010931496
92412181581672   FREDDIE       GREGG                    MO         90008491815
92414819581635   SHELIA        ALLEN                    MO         90013738195
92415567993755   COLLEEN       WORTHINGTON              OH         90013705679
92416282255951   GUADALUPE     BAEZ                     CA         90012762822
92416456191521   FRANCISCA     GALLARDO                 TX         75087314561
92416879981634   CINDY         DEAN                     MO         90015298799
92417381955951   MARTIN        ESCOBEDO                 CA         90012413819
92418612791521   ZULMA         MEDRANO                  TX         90010326127
92419351351334   GINA          LAMBRINDINES             OH         90012573513
92422232293755   DM            NEACE                    OH         90001932322
92422275691951   JEAN          PIERCE                   NC         17003872756
92422329291882   JUAN CARLOS   PEREZ                    OK         90013363292
92424568393755   JOSH          SZEMAN                   OH         90013885683
92425175261977   ANTONIO       AGUILAR                  CA         90007711752
92426566555957   CASSANDRA     RIOS                     CA         90010745665
92427649391951   MICHELLE      MOURNING                 NC         90012576493
92427649591599   ROBERT        MARTINEZ                 TX         75031736495
92429536741296   PHILIP        HOOPER                   PA         51048855367
92429945891951   BRANDON       TERRY                    NC         90004439458
92431159293769   JESSICA       SMITH                    OH         90002551592
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92431168791882   TIMOTHY      MCHUGH                    OK         21092091687
92431894593782   KHALIAH      COLE                      OH         90012118945
92432735397123   JAIME        DELGADILLO                OR         90014187353
92434718355957   STEVE        BAZB                      CA         90013967183
92436361833698   VIRGINIA     LOZANO                    NC         12044223618
92438426477537   EARL         EVES                      NV         90014644264
92439683185926   JOHN         DUFF                      KY         90009726831
92441612143584   CHIP         ANDERSON                  UT         31082646121
92441726955946   MARTA        SANCHEZ                   CA         90009917269
92442165355957   BRENDA       ORTIZ                     CA         49000981653
92442565697123   DIRK         LOYD                      OR         90014205656
92442574591399   CARLOS       MORENO                    KS         90010535745
92444138955957   SAVANG       SITTHI                    CA         90011661389
92444397191599   AMANDA       HUNTER                    TX         90015153971
92444427797123   GUADALUPE    ALVISURES                 OR         90014254277
92445297641296   JOYCE        PAVER                     PA         90000172976
92445355697123   MELLISA      COLLINSWORGH              OR         90008443556
92446445681634   NIC          ALDRICH                   MO         90012384456
92446744177537   ANA          CARIAS                    NV         90009807441
92446887561977   BRIAN        MORGAN                    CA         90012768875
92447475981634   ROBERT       ALLEN                     MO         90010264759
92448613455951   LEE          EDWARDS                   CA         90006986134
92448625991521   CYNTHIA      RAMIREZ                   TX         90013676259
92449276181635   ELIZARDO     BARRIO                    MO         29001032761
92451221538531   MARICELA     MATA                      UT         90010072215
92451695255957   SELESTINO    MORALES                   CA         90013616952
92452572433698   NIKKI        VARGAS                    NC         90011735724
92452826361977   EVERADO      TOVAR                     CA         46014588263
92453129297123   HECTOR       ZAVALA CHAVEZ             OR         44006061292
92453765933668   TOMEKA       BENNETT                   NC         12009677659
92455641955957   APRIL        ALCORN                    CA         49001596419
92455824551334   JUAN         MONDIJO                   OH         66040358245
92456741897123   PATRICIA     PEREZ DIAZ                OR         90000597418
92457298961977   GLORIA       RODRIGUEZ                 CA         46048772989
92457327891521   CYNTHIA      JIMENEZ                   TX         90014293278
92458826285689   FELIX        CASTELAN                  NJ         90004258262
92459972955951   JENNIFER     NERI                      CA         90002959729
92461136155957   JOSE         CASTILLO                  CA         90011551361
92461924593755   ISAAC        PEACOCK                   OH         90015539245
92462885455951   ROBERT       GONZALES                  CA         49083748854
92462993591599   AZEQUIEL     RODRIGUEZ                 NM         75096939935
92463617197123   PERLA        ZAVALETA                  OR         90014216171
92463883577537   AUDRA        PEREZ                     NV         90012458835
92464145291357   MELVIN       INTERIANO                 KS         90002271452
92464659881634   GREG         MARSH                     MO         90008226598
92466616893755   CARL         GENTRY                    OH         64593016168
92469797355951   NICOLE       HODGES                    CA         90013817973
92471788897123   LIZETH       PONCE                     OR         44032027888
92472426681637   MONIQUE      WATKINS                   MO         29083474266
92472938755951   GARCIELA     RIVERA                    CA         90007239387
92473545933698   ZIKIA        GRANT                     NC         90010325459
92474162543584   GUSTAVO      ROJAS                     UT         90007531625
92475172491599   EDUARDO      IBARRA                    TX         90014941724
92475339597123   ELISHA       MATIN                     OR         90003083395
92476511541296   JUAN         ALANIS                    PA         90015535115
92477917661979   SONIA        ALFARODELEON              CA         90011779176
92482233851334   BETH         CALDWELL                  OH         90015022338
92482735893755   EDWARDO      GALVIAN                   OH         64592807358
92483932551334   AMBERLY      BROWN                     OH         66043839325
92484312855951   GABRIELA     DELGADO                   CA         49021073128
92485531961979   FELIPE       RAMIREZ                   CA         90002685319
92487161991861   YASMIN       MCNEAL                    OK         90012601619
92487464355957   MARY         MOLINA                    CA         49096384643
92489216477537   JOHN         JONES                     NV         90012802164
92489544433698   SARITA       INGRAM                    NC         90009555444
92491526881634   JEFFREY      JOHNSON                   MO         90012275268
92492531951334   DANIEL       BROADUS                   OH         90005795319
92492986293755   RAYMOND      COLE                      OH         90011149862
92493223693738   TONTIONIA    CRAVER                    OH         90012412236
92495221681634   MAURICIO     DIAZ                      KS         29061282216
92495428991951   MARGIE       MEJIAS                    NC         90014894289
92495518685689   GERMAN       HERNANDEZ                 NJ         90003625186
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92496788681634   EDNA         CHAVEZ                    MO         29009827886
92498581797123   BRENDA       SOTO                      OR         90004265817
92498886591599   DAVID        CARRILLO                  TX         90003848865
92499478771936   EDNA         ORTIZ-PAYAN               CO         90012294787
92511631961979   MARICELA     CORTEZ                    CA         90002506319
92512329255957   ARTHUR       JAMES                     CA         90012713292
92513457751334   BRIAN        PRICE                     OH         90013864577
92514711881634   KENNETH      GREEN                     MO         90009677118
92515152691951   ANGEL        RAMOS                     NC         90015131526
92516216991882   NATALIE      GEANS                     OK         21069662169
92516676651334   FORTINO      ISLAS                     OH         66091656766
92519489833698   CORTNEY      GRAY                      NC         90013004898
92521123391599   JOSE         REYES                     NM         90013641233
92521696293769   TASTEE       WILLIAMS                  OH         90013826962
92521727141296   TRINITY      HARRISON                  PA         51065537271
92521957238543   DIEDRE       FLANNERY                  UT         90011079572
92523336597123   J JESUS      PADILLA SANDOVAL          OR         44074513365
92523792681635   ANTOINETTE   CHAPMAN                   MO         90012147926
92525228138531   DEBBIE       BIRCUMSHAW                UT         90012112281
92526335455957   SHARON       LINDBLADE                 CA         49092283354
92526644277537   LUZ          CURIEL                    NV         90014936442
92527885955951   CRYSTAL      PEREZ                     CA         90009488859
92528161591951   NIKEA        MCCRAE                    NC         90014701615
92528292861474   LINDA        BORDER                    OH         90015372928
92529257397123   ASHLEY       SCHLECHT                  OR         44075692573
92529975391399   JOSHUA       FRIEND                    KS         90008439753
92531231785689   EMERY        BRICE                     NJ         90008692317
92531845755957   NANCY        AVALOS                    CA         90012908457
92532365877537   GEORGENE     ARIZ                      NV         90010893658
92532434251334   FAHRIS       SMITH                     OH         90011164342
92532625443584   STEPHANIE    CHRISTIANSON              UT         31087286254
92534964593769   KATHERINE    BECKNELL                  OH         64593529645
92534991781637   LAKINNA      GILL                      MO         29040609917
92535499541296   TANAYA       DEANDA                    PA         90013514995
92536375793755   LINDA        SCHALL                    OH         64583903757
92539856543584   HOY          ANDERSON                  UT         31053528565
92541778561977   JOHN         HEITER                    CA         90011877785
92542221785922   PEGGY        HOLMAN                    KY         90012422217
92542313361979   BLANCA       MEDINA                    CA         90011783133
92545667877537   MATHEW       LEYVA                     NV         90014356678
92545884155951   DIDIER       FORONDA                   CA         49089478841
92545953555957   MICHAEL      VICTOR ANTONIO            CA         49089439535
92546115591951   TINA         MANGUM                    NC         90000401155
92546397393755   CAROLINE     COLLINS                   OH         90006943973
92547148361977   JEFF         GRAHAM                    CA         90012761483
92547375891521   VICTOR       VALLE                     TX         90008003758
92548785271928   ASHLEY       ALGIEN                    CO         90011237852
92551514581637   RONEE        DAVIS                     MO         29077905145
92552324391882   TIAH         HOUSTON                   OK         90011153243
92552424491521   MAYRA        CASTILLO                  TX         90010624244
92552934781635   DENISE       LITTLE                    MO         29003809347
92554766377537   OPHELIA      ROSALES                   NV         90014587663
92556166141296   KIMBERLY     LUCARELLI                 PA         90014691661
92557358597123   MAYRA        CARMONA                   OR         90009243585
92557746291399   MA ELENA     RODRIGUEZ                 MO         90009457462
92558588891951   MARSHA       ASHE                      NC         90013695888
92558643291882   RICKEY       BRYANT                    OK         90004576432
92558671191521   RODOLFO      REYES                     TX         90010036711
92558766191599   JESSE        CARRALEJO                 TX         75043937661
92558782297123   CERDA RICO   JESUS                     OR         90000907822
92558797581634   ANTHONY      BOSTIC                    MO         90013187975
92559417791521   CONSUELO     GARCIA                    TX         90013244177
92559692461977   STACY        RICO                      CA         90007256924
92561841891951   WILLIAM      THORNTON 111              NC         90011448418
92562361177537   LEONEL       CARPIO                    NV         43084353611
92562369443584   ASHLEE       TEGEN                     UT         90007243694
92562616555951   ISABEL       PEREZ                     CA         90012876165
92562861833698   ANN          CALIGAN                   NC         12055158618
92563358597123   MAYRA        CARMONA                   OR         90009243585
92563567981634   GUSTAVO      TORRES                    MO         90015105679
92564154885997   KETARAH      HERRON                    KY         90005011548
92564223433698   TIERRA       BROOKS                    NC         90012902234
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92564438291599   RICARDO           SIMENTAL             TX         90010904382
92566292943584   SANDI             BRITTAIN             UT         90006662929
92567588251334   CHRISTOPHER       NEWBERRY             OH         90012665882
92567741443584   RAE               CLEMENTS             UT         90008517414
92569423793755   JESSE             BROWNING             OH         90014414237
92571696561979   MARIO             DIAZ                 CA         46003586965
92572857955967   VELEN             RAMIREZ              CA         90006788579
92572935497123   KYSHERIA          GALES                OR         90012929354
92573892843584   AMANDA            KURT                 UT         90014638928
92575333755951   DU                HO                   CA         90013843337
92575712191521   ENRIQUEZ          JOSE ANTONIO         TX         75002047121
92577839591521   APRIL             GUTIERREZ            TX         90012818395
92578195393755   KELLY             MADDEN               OH         90015011953
92578995791521   MONICA            GAUCIN               TX         75015079957
92579393993755   DANIELLE          WHITE                OH         90013163939
92579566661977   SILVERIO          CORRAL               CA         90012735666
92582914355957   KIANNA            ENCINIAS             CA         90014939143
92583491291951   TIERRA            DENNY                NC         90012844912
92584729861977   ALDO              LOPEZ                CA         90013057298
92585313655951   YANG              VANG                 CA         90013263136
92585442761556   CHELSEA           DORRIS               TN         90005224427
92586243633698   ALLYSON           SHELTON              NC         90014812436
92586672355957   RALPH             MARTINEZ             CA         90013936723
92587747131624   DESIREE           ROGERS               KS         90012367471
92591626655951   MICHELLE          JAMES                CA         90012876266
92591752791521   JOSE              CARDENAS             TX         90003747527
92591789491951   VIRGINIA          WIGGINS              NC         90014787894
92592898781634   JACK              STICKEL              MO         90014738987
92595935555957   JOSE              RAMOS ESPINOZA       CA         90012519355
92596612181635   BRIGITT           ARNDT                MO         29012926121
92597516725335   PATOLO            AUKUSITILO           WA         90015375167
92611485391599   MICAELA           DURAN                TX         90005074853
92611574541296   DANIEL            WELCH                PA         51064185745
92614252297123   ANNA              VALDIVA              OR         90009082522
92615336591599   FURNITURE         OUTLET WAREHOUSE     TX         90000833365
92616714355957   ERNIE             REYNA                CA         90015177143
92617252297123   ANNA              VALDIVA              OR         90009082522
92618129991521   ANTHONYE          VARELLA              TX         90008411299
92618188781635   ANDRIANA          ADAIR                MO         90013221887
92618618643584   KIMBERLY          DEGELBECK            UT         90002816186
92619322891599   AMY               AVILA                TX         90012003228
92619925791521   MONICA            PEREZ                TX         90011069257
92622571391599   JUAN              DE AVILA             TX         90013005713
92622579155951   ARTHUR            WALLACE              CA         49014885791
92622922343584   SHERRIE           ROBINSON             UT         31026939223
92624626191599   ANNET             CASTILLO             TX         90007896261
92625477991521   MONICA            CERVANTES            TX         75092094779
92625663155951   GRACIELA          INIGUEZ              CA         49030296631
92625785977537   ANNIE             OMAYE                NV         90010337859
92626174455951   LETICIA           AMARILLO             CA         90012431744
92626188261979   COURTNEY          LEWIS                CA         90011791882
92626692943584   MALISSA           PERRY                UT         90003146929
92627475291599   MARYL LU          BUENO                TX         90003664752
92629191355938   KELLY             HER                  CA         90003461913
92629268761979   CINDY             MUENNICH             CA         90011432687
92629682881635   THERESA           OPATRNY              MO         29063556828
92629937455957   JOSUE SAUL        ARMENTA ESPINOZA     CA         90015329374
92631458181637   DEVAN             SYKES                MO         90003564581
92631653741251   GEORGE            DENGLER              PA         51089506537
92631661791521   PERLA             MENDOZA              TX         90012816617
92632371793755   DESTINE           TUCKER               OH         64516813717
92634244377521   JOSE              SILVA                NV         90001682443
92635693491951   PERDO             FERMIN-ARROYO        NC         90013236934
92636326141299   MARGARET          HILF                 PA         51053613261
92636671543584   REBECCA           DURRANT              UT         90012246715
92636961591521   MONICA            NINO                 TX         90010019615
92637254193755   NATALIE           KISER                OH         90015612541
92637583755951   ANGEL             TOSCANO              CA         90012275837
92638278633698   MARVIN            BOGANS               NC         12097342786
92638983677537   MARIA GUADALUPE   BIBRIEZCA            NV         90012449836
92639615197123   ROBERT            LEWIS                OR         90009136151
92639981761977   NATALIE           GARNER               CA         90012449817
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92642536777537   ANGELICA MARIA        VIVAR-GONZALEZ      NV      90011725367
92644273143584   JEFFERY               PARRIS              UT      90009672731
92645275181634   MARIO                 ARMENTA             MO      29010362751
92646352591399   ERICK                 CRUZ                KS      29056553525
92646955791599   ERNIE                 URTEGA              TX      90008759557
92647289655957   GLORIA                MARQUEZ             CA      90014582896
92648656743584   MICKIE                MCCROR              UT      90013166567
92651485581634   BRAD                  GOODMAN             MO      29034114855
92652235843584   STEPHANIE             BAKER               UT      90003522358
92652739377537   VIRIDIANA             PACHECO             NV      43089367393
92653128791951   JATARAH               WHEELER             NC      90013881287
92654424855957   ERWIN                 ECHAVEZ             CA      90014654248
92657267755957   IRLANDA               ANGULO              CA      90008132677
92657656743584   MICKIE                MCCROR              UT      90013166567
92658477481635   LYNZEE                COOKE               MO      90013584774
92659127941296   HEIDI                 LEYTRICK            PA      90010641279
92659949361979   CLARE                 COBIEYA             CA      90002929493
92661973693769   NORLENE               ONEAL               OH      90010009736
92663349597123   HEATHER               JUNGER              OR      90000333495
92663927791521   KARRIE                WELLS               TX      90010719277
92666169297123   RACHEL                EARLY               OR      90014401692
92666325797123   RACHEL                EARLY               OR      44011173257
92666462991882   RICHELLE              HATCHER             OK      21065404629
92667334241296   RAHUL                 WILLIAM             PA      90013473342
92668336491951   TIA                   ALLEN               NC      90014713364
92668777961977   LORENA                VELAZQUEZ           CA      90006967779
92671762481635   TINA                  CRUCES              MO      90010547624
92671968443584   JAMIE                 BUSICO              UT      31089839684
92672951591544   MIRIAM                GUTIERREZ           TX      90009649515
92674264241296   MICHAEL               SULEY               PA      90014702642
92674426481635   CHRISTINA             LAMB                MO      90012964264
92674641591599   ERSKINE               YESENIA             TX      75093446415
92676234691599   ALEJANDRA             LOPEZ               TX      90002902346
92678236833698   MARLO                 TOWNSEND            NC      90014712368
92678448893769   REBECCA               TURK                OH      90008024488
92679351951334   GONZALO               CERECERO            OH      90010263519
92681362851334   HECTOR                SAAVEDRA            OH      66091343628
92681964291521   MIRYAM                ESCALANTE           TX      90014059642
92682644441296   TAMIKA                DUCK                PA      90010866444
92682897351364   PATRICIA              HUSS                OH      90008718973
92683573871945   CONSTANCE             THIBODUX            CO      90004825738
92684446661979   SAMUEL                CASTILLO            CA      90011794466
92685422971965   JOAN                  KLATT               CO      90012004229
92686145581635   BRITNEY               RUTH                MO      90011091455
92687397941296   SHADARRA              PIRL                PA      90015453979
92688649477537   TIFFANY               ROWE-CULTEE         NV      90011436494
92689473791521   MARIA                 ESTHER              TX      90004144737
92689691141296   RENEE                 HUDSON              PA      51097536911
92689883377537   FERANDO               FERNANDO ORTIZ      NV      90012548833
92691215991951   ANEL                  BOJOY               NC      90010732159
92691634881635   DALE                  FUGATE              MO      90005466348
92691721255957   ANTHONY               DE LOS SANTOS       CA      49054097212
92692168493755   SARAH                 VANHOOSE            OH      90010261684
92692257397123   ASHLEY                SCHLECHT            OR      44075692573
92692813955938   FELIPE                LEAL                CA      90012678139
92692928943584   HEATHER K             PEDERSEN            UT      90006449289
92692946481634   RONALD                GARRISON            MO      90008749464
92693144591521   JOELDA                ESTRADA             TX      75053511445
92694115191951   CYNTHIA               LYONS               NC      17041671151
92694344955951   JUSTIN                KONKEL              CA      90013963449
92694417491521   LAW FIRM OF ROBERTO   SANCHEZ             TX      90014154174
92694467655975   ELIZABETH             VILLA               CA      90013244676
92699592133698   JULIUS                COARD               NC      90014845921
92711395581635   KRYSTLE               EYE                 MO      29095423955
92711718541296   DOMINIQUE             SHERELL             PA      90011927185
92711771197123   SOPHIA                LORENZA GUTIERREZ   OR      44071597711
92713116361971   FERNANDO              RESENDIZ            CA      90014531163
92713775455951   ALICIA                PETERSON            CA      90012177754
92714727261977   DANIEL                NEWMEYER            CA      90010827272
92716186955957   RICKY                 RODRIGUEZ           CA      49013301869
92716339193755   KHIEE                 NASBITT             OH      90014713391
92716377791599   JONATHAN              SOLIS               TX      90014893777
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92716752761979   JUAN         LEAMOS                    CA         90002717527
92717455563629   BRYAN        HEUMANN                   MO         90003684555
92718358491599   JOEY         GRADO                     TX         90012563584
92724579861979   HECTOR       RODRIGUEZ                 CA         90009295798
92725397291599   HECTOR       GIBSONCASTRUITA           TX         90006793972
92725938155957   JUAN         MONTALBO                  CA         90011989381
92726157291599   LUIS         CUELLAR                   TX         90013811572
92726923877537   FEDERICO     AYALA                     NV         90012459238
92727584277537   DILLON       BLUNK                     NV         90003065842
92727911581634   MISS         NIQUE                     MO         29042369115
92731781543584   BILLY        WESCOGAME                 UT         90013487815
92732843955951   CASSONDRA    HICK                      CA         90013628439
92733592121684   LAFAYETTE    STUART                    OH         90011065921
92734377791599   GUADALUPE    PENA                      TX         90002153777
92735132591599   MOISES       AGUILAR                   TX         90013641325
92735443451334   TIMOTHY      LEHMKUHL                  OH         90013644434
92737392393755   TANESHA      MADDICKES                 OH         64574363923
92737469791399   SANDRA       GONZALEZ                  KS         90006214697
92741546993755   JEFFEREY     WASHINGTON                OH         64505625469
92741998355951   REYNA        COTA                      CA         90004679983
92742285791599   CARMEN       VAGUHN                    TX         90013332857
92742527693755   DYLAN        TAYLOR                    OH         90015485276
92743352141296   DAVID        GOODE                     PA         90002613521
92743948197123   BADINA       BLAND                     OR         90010969481
92744485261979   JOHANNA      MARTINEZ                  CA         90013024852
92744565991882   LAURA        BUIE                      OK         90001225659
92744832791521   DAVID        CARRILLO                  TX         75071688327
92744958991951   SARA         CIESLA                    NC         17078679589
92747182661977   GUADALUPE    GUTIERREZ                 CA         46060081826
92747414551334   KAHREM       FAVOR                     OH         90013484145
92748281955951   JOSEPH       GONZALEZ                  CA         90012032819
92748955341296   DANIELLE     LAROCHE                   PA         90008859553
92749426971945   JORDAN       KING                      CO         90006384269
92749867191964   YOLANDA      CAMPBELL                  NC         90011498671
92751331491599   EDICA        RENTERIA                  TX         90009753314
92751962161977   TAMIKA`      SAMUEL                    CA         46049109621
92752526361977   JUAN         GUERENA                   CA         90010985263
92752869647924   CANDELARIA   GUARDADO-CABALLOS         AR         90013848696
92753411355951   JANEAN       PEREZ                     CA         49080064113
92753774755928   ERICA        AVINA                     CA         90000307747
92753818281634   PAUL         TOUNZELL                  MO         90006958182
92758356133698   ANDRE        HOUGH                     NC         90014793561
92761462681635   JOHN         MARGLIN                   MO         90014014626
92762155291599   GUILLERMO    CERVANTES                 TX         90010411552
92762948443584   ALDO         HERNANDEZ                 UT         90010719484
92764583491599   JONATHAN     LUTHER                    TX         90012585834
92766347593755   KEITH        MORROW                    OH         90014593475
92766356691882   ROBERTA      RAMIREZ                   OK         90000673566
92766781955951   NICOLE       OWENS                     CA         90009957819
92767791791547   ENRIQUE      ROBLES                    TX         90005847917
92769374397123   VICTORIA     ESPINOZA                  OR         90014733743
92769694755957   ROBERTA      BEACH                     CA         49086536947
92769835791599   IRMA         CABRERA                   TX         90009738357
92771317243584   MARIA        CASTRO                    UT         90007623172
92771486591951   ISMAEL       SANTOS                    NC         90009214865
92771655991521   BERTHA       HILL                      TX         90010926559
92771936655957   CARLA        LEIJA                     CA         90015329366
92772656791599   JULIO        ARANDA                    TX         90013576567
92772779141296   DECEMBER     DIXON                     PA         90014007791
92773976281635   JOZZIE       FLEXX                     MO         90014139762
92774544991599   FAUSTO       LOPEZ                     TX         90014875449
92775138655957   RITA         RICKMAN                   CA         49091691386
92775728651334   MONTANA      WASHINGTON                OH         66010417286
92775899833698   ANA MARIA    GARCIA                    NC         90012998998
92777449761979   DAMON        BYRD                      CA         90002724497
92777815551334   LINDA        RIED                      OH         66021708155
92778696877537   LUIS         MARTINEZ BARAJAS          NV         90014356968
92779251491951   CHEWAYNE     LEE                       NC         90012442514
92779491191521   LUNA         MICHELLE                  TX         90005824911
92779858291399   ERICA        SIGALA-SANCHEZ            KS         90011428582
92781782191521   CRISTINA     GARCIA                    TX         90014487821
92781977981634   JOSEPH       ATCHISON                  MO         90015269779
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92782426981634   MRS          PARRIS                    MO         90009194269
92782931377537   ALEXANDRIA   BROWN                     NV         90009199313
92783955181634   TIFFANY      LILES                     MO         90013089551
92783984555957   MARCO        ROMERO                    CA         90014179845
92784123155951   JOSE         VASQUEZ                   CA         49031781231
92784755681637   LASHAWN      TIVIS                     MO         29084337556
92784964641296   CALVIN       MORAN                     PA         51084899646
92786659881634   GREG         MARSH                     MO         90008226598
92787281751334   BOBBIE       SMITH                     OH         66024832817
92789394191882   MIGUEL       GUSTAVO                   OK         21004863941
92791139171936   KAREN        ORTIVIZ                   CO         90014511391
92791683643584   KELLY        WARREN                    UT         90010746836
92792413461979   CARLOS       FLORES                    CA         90000364134
92792629497123   DAN          HOGELAND                  OR         90003736294
92793287255957   JENNIFER     COLLINS                   CA         90014192872
92793328181634   LUCY         FLORENCE GRANT            MO         90011413281
92793997451334   MINDY        BERYMAN                   OH         90000999974
92794223191532   PATRICIA     RODRIGUEZ                 TX         90013202231
92795153377537   HAIRO        OROZCO                    NV         90011401533
92795217851343   STWPHEN      BYNDON                    OH         90001592178
92795427451334   GIOVANI      ESCALANTE                 OH         90012604274
92796731881634   CARNELL      KING                      MO         29015217318
92811263881634   SHANE        HALL                      MO         90012692638
92812148693755   RUSSELL      TOLEN                     OH         90009871486
92813384361977   IRENE        AGUILAR                   CA         90008473843
92814573291951   HECTOR       HERNANDEZ                 NC         90014065732
92814629391921   FELISA       LAVIN REYNOSO             NC         90004086293
92815814855951   REBECCA      GOMEZ                     CA         90010758148
92816833981634   FANTROY      QUENTIN                   MO         90012948339
92819223277537   TOMAS        ESCOBAR                   NV         90011942232
92821278991599   BALDERAS     FERMIN                    NM         75042162789
92821752291882   TERESA       MCLEMORE                  OK         21086797522
92822413461979   CARLOS       FLORES                    CA         90000364134
92822755797123   JESSIE       DAVIS                     OR         90014737557
92823112843584   KRISTEN      HOWELL                    UT         90011991128
92823352691951   AARON        RAMSEY                    NC         90010303526
92824755797123   JESSIE       DAVIS                     OR         90014737557
92825145291326   MELVIN       INTERIANO                 KS         90002271452
92825169791521   LISETTE      SANCHEZ                   TX         90015031697
92826375481635   COREY        MORGAN                    MO         90006753754
92826728943584   EVERILDA     FERGUSON                  UT         90004737289
92826981191882   EBARISTO     NUNEZ                     OK         90006559811
92827836661977   GUADALUPE    ZAMUDIO                   CA         90000248366
92828128791882   APRIL        LIPP                      OK         21091921287
92828578591951   JOSEPHINA    ROMERO                    NC         17089695785
92831185933698   ALVARO       AGUILAR                   NC         90007561859
92833893697123   CALVIN       COATS                     OR         90006838936
92834212891863   JANE         THOMPSON                  OK         90003032128
92837657951334   BRITTANY     WARD                      OH         90013016579
92837777461979   GABRIEL      PAEZ                      CA         90010127774
92837983251334   ROLAND       SCHUMACHER                OH         90014389832
92838188781635   ANDRIANA     ADAIR                     MO         90013221887
92838377191882   VELOIS       GOODLETT                  OK         21089643771
92839235543584   JUDY         JASPER                    UT         90008412355
92839992155951   CASTINE      PEREZ                     CA         49096829921
92841442761979   ALEXIS       YANIS                     CA         90011804427
92841735943584   JOSHUA       RICHARDSON                UT         90009677359
92841992993755   DARNELLE     SHACKLEFORD               OH         90012549929
92842735155951   PRADO        RODRIGUEZ                 CA         90013227351
92843932271928   YVONNE       SANCHEZ                   CO         90003509322
92843984981634   NONA         ABBOTT                    MO         90005419849
92844283991521   CECILIA      DE LA ROSA                TX         75001012839
92844911591599   PABLO        TRAVIZO                   TX         75080259115
92844973443584   SHERRI       BOLTZ                     UT         90014099734
92845231772468   KRYSTAL      PANDULLO                  PA         90013062317
92846155451334   JENNIFER     OWEN                      OH         90015341554
92846954681634   OTONIEL      PEREZ                     MO         29054089546
92848261491521   MARIA        PEREZ                     TX         75087292614
92849725191547   CARLOS       GARCIA                    TX         75008167251
92851333691521   ADOLFO       LAZCANO                   TX         90014293336
92851577491521   JOSE         PACHECO                   TX         75067845774
92851629793768   CHARLES      PETERMAN                  OH         90015076297
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92851787451334   JOE               CHASSIN              OH         90015427874
92852827141296   DAVID             EICHER               PA         90013858271
92853121433698   ASHLEY            LITTLE               NC         90007761214
92853272591521   JUAN              GOMEZ                TX         75072982725
92854491391951   LORENA            BOYZO                NC         90006824913
92854836785689   TOMAS             LOPEZ                NJ         90005168367
92854947881634   ROSALINDA         ZARAGOZA             MO         90002569478
92855865593755   REBECCA           HAMILTON             OH         90009778655
92858353243584   JORGE             RIVEROS              UT         90013903532
92858595391531   ALEJANDRA         SALCEDO              TX         90005065953
92858915981635   MARIA             RAJAS                MO         90000529159
92859288355951   AMANDA            TARIN                CA         90005872883
92862855561979   NICOLE            MIRANDA              CA         90012728555
92863722261977   RAUL              KASEM                CA         90007927222
92863934961971   MAGDALENA         COLADO               CA         90001849349
92864795161979   SARA              ESCOBAR              CA         90012727951
92865442181634   TERRY             COLBERT              MO         29046554421
92866552891399   FLOR              GARCIA               KS         90009805528
92866835855951   GABRIELA          GARCIA               CA         90002548358
92871564761979   ANGEL             PEREZ                CA         90013115647
92871827391521   DAVID             SAAVEDRA             TX         75049398273
92872229443584   AUSTIN            KADING               UT         90012312294
92874187491599   GRACIELA          PRIETO               TX         75013761874
92874588181634   VICTORIA          SMITH                MO         90008085881
92875166551334   JOSE              BUEZO                OH         90013961665
92875645397123   ALBERTO           GARCIA GRANADOS      OR         90010946453
92875823931469   JERMELL           JACKSON              MO         90012428239
92877341651334   HEATHER           FURGUSON             OH         90010183416
92878813533698   CHRISTINA         JAMES                NC         90010518135
92879596831942   RUBY              MORALES MENDOZA      IA         90012025968
92881424597123   ANNETTE           GARCIA               OR         90008914245
92881497355957   TAMARA            BOLDEN               CA         49081814973
92881921761979   IMELDA            HERNANDEZ            CA         90006269217
92882678755957   ALBERT            MORALES              CA         90009466787
92883184281634   ALEXANDER         FUENTES              MO         90002441842
92883459241296   TAMAR             SIMMS                PA         51050834592
92883479255951   DENISE            CORONADO             CA         49085654792
92884251961928   ROBERT            VAZQUEZ              CA         90011822519
92884851893755   LYLE              DALTON II            OH         64563838518
92885882855957   JENAE             FAIRROW              CA         90014988828
92886878777537   AARON             BUCKLEY              NV         90009068787
92886955691399   RAMONA            MALDONADO            KS         90002739556
92888881491521   DIANA             GUZMAN               TX         90013048814
92889134655957   CHAMPAYLE         MEDLEY               CA         49093921346
92889262193755   GERRICK           COPELAND             OH         90013042621
92891191393769   JOSHLYN           HARGRAVE             OH         90008731913
92891239981648   ELDOR             SOTO DE LEON         MO         90005162399
92891597193755   JEFFREY           HOPKINS              OH         64525685971
92892188333698   ANTOINETTE        TORRENCE             NC         90011081883
92892895155957   JUAN              LOPEZ                CA         49041688951
92893257493738   PATRONICA         COHEN                OH         90000942574
92894341193755   CHELSEA           GOODING              OH         64543133411
92894811191599   LOURDES           PEREZ                TX         75014068111
92895328241296   JAIME             COSTELNIK            PA         90006873282
92895791191599   FAVIOLA           MEJIA                TX         90007467911
92896155251334   JASH              ALATLRGROV           OH         90014331552
92896619391521   MARGARITA         GUILLEN              TX         90007456193
92899989661979   JOSE FELIX        GONZALEZ             CA         90011809896
92911719791951   BERNAHD           SINGELTON            NC         90013607197
92911738877537   MARIA             CORDOVA              NV         90009197388
92912187941296   JOSEPH            BRUNO                PA         90015321879
92912916155957   ANGELA            SPRINGLER            CA         90014709161
92913766625335   THOMAS            KELLY                WA         90015207666
92913983591599   ENRIQUE           PORTUGAL             TX         75032019835
92915234943584   BENJAMIN          SUTTON               UT         31075412349
92915274691399   LORI              HANSFORD             KS         90013302746
92916877591951   SAMUEL            FEWELL               NC         90012328775
92916915391521   TAI JAVAE         JEFFERS              TX         90011839153
92918579791599   JUSTIN            KYLE                 TX         90013005797
92918994681634   JANAE             BETTS                KS         90012269946
92919633381635   RANDALL           GASSEN               MO         90010916333
92921966581635   STACY AND HERKY   VILLARREAL           MO         90013649665
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92922363393755   LINDA         THARP                    OH         64571353633
92924456891554   JESSE         OCON                     TX         75047584568
92924635455957   BECKY         VIDAURRI                 CA         90012666354
92924638291599   CLAUDIA       HERNANDEZ                TX         90005276382
92924691361979   FABIOLA       GONZALES                 CA         90010416913
92925112577537   DIONE         BUCKEYBILE               NV         43088371125
92927492661973   JOSE          JIMENEZ                  CA         90011244926
92928426281637   DWIGHT        CURTIS                   MO         29003324262
92931627297123   FELICITAS     FLORES JIMENEZ           OR         90002576272
92932826551334   KEVA          SMITH                    OH         66030388265
92934928433698   HOWARD        DUMAS                    NC         90013879284
92935148391399   AMER          ALMASRI                  KS         90009821483
92935687261977   GIOVANNY      CASTILLO                 CA         46049336872
92936351155957   LORENZO       OCHOA                    CA         90015183511
92936653841296   DARNELL       LOAMONT                  PA         90010866538
92937215451334   JAMIE         COOGAN                   OH         90014272154
92937228393755   GAYLE         JOHNSON                  OH         64518582283
92937422791521   JOSHUA        BAILEY                   TX         90008014227
92937778381628   ARVEY         TOREZ                    MO         90014077783
92937862355951   MARTHA        ORZOCO                   CA         90014838623
92938338955957   CASEY         SHIROYAMA                CA         49008453389
92939276961978   CHRISTIAN     JUAREZ                   CA         90013902769
92939657755951   JUANA         OIONICIO                 CA         90010276577
92939941797123   RON           MUNGER                   OR         90014749417
92941467633698   MARGARITO     RODIGUEZ                 NC         90013484676
92943237561979   ELPIDIA       MERCADO                  CA         90011812375
92943492861977   CHRIS         CARTER                   CA         46084424928
92945449291599   BALNCA        OLIVAS                   TX         90006384492
92945692281635   MANUIA        SAVEA                    MO         29065996922
92946536291599   ALICIA        VAZQUEZ                  TX         90005585362
92947789281635   ANDRES        CHIMAL                   MO         90012047892
92948764281652   RONALD        HAMMONS                  MO         90012937642
92948898877537   TAMMY         WILSON                   NV         43044628988
92949572291592   FRANK         MENDEZ                   TX         90003535722
92951214577537   ALYSSA        TOMASSETI                NV         90008352145
92951531655957   MARISKA       LOPEZ                    CA         49051315316
92953144561973   SILVIA        VALDEZ                   CA         90010171445
92956876191521   ALEXIS        AGUAYO                   TX         90012118761
92956976281635   MITCH         RUSSELL                  MO         90012629762
92957377191599   JESSICA       SALCIDO                  TX         90008643771
92958144861955   LEONARDA      IBARRA                   CA         90010211448
92958464591599   EL JOE        GARCIA                   TX         90013054645
92958764561979   NORMA         BARAJAS                  CA         90011937645
92959144861955   LEONARDA      IBARRA                   CA         90010211448
92959356977537   NANCY         PEDROZA                  NV         90011133569
92959741581637   TORI          JACKSON                  MO         29011537415
92962135461979   JOSHUA        MUNOZ                    CA         90006771354
92962823391951   LATASHA       FORD                     NC         90014908233
92963949577537   KARINA        BONILLA                  NV         90014419495
92964383393755   CHERYL        CLARK                    OH         90011053833
92964433193755   TROY          BOLDEN                   OH         90012884331
92965411161927   ROBERTO       ARREOLA                  CA         90010754111
92965977593755   CHRISTOPHER   MATHENY                  OH         90014459775
92966437193755   LATRISHA      WILLIAMS                 OH         64518594371
92966485597123   MARIAH        SWAYNGIM                 OR         90012494855
92967227177537   LAREE         JACKSON                  NV         90009072271
92968152793755   EDWARD        JONES                    OH         90012361527
92971621655951   LUIS          CRUZ                     CA         90015196216
92971933597123   ERICA         BUSTAMANTE               OR         90014769335
92972249391399   JAMES         MASON                    KS         29086032493
92972992793755   NYROBE        WOOD                     OH         64573349927
92975723451334   CHRISTINA     KING                     OH         66098817234
92977557543584   NORMA         LINARES                  UT         31020415575
92979457951356   HARRY         GREEN                    OH         90005504579
92981338681635   FRANCISCO     RAMIREZ                  MO         29042413386
92983458551334   LAURA         BAYSORE                  OH         90013484585
92984384955951   NATHAN        PIERINI                  CA         49086823849
92985446161979   ASHLEY        GARCIA                   CA         90012744461
92986747497123   AMANDA        CHOATE                   OR         90010987474
92986815655951   MICHAEL       GONZALEZ                 CA         90010938156
92986827141296   CHRISTINE     WAGNER                   PA         51020818271
92987166661979   DIEGO         MONTEZ                   CA         90002751666
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92987252251334   KARINNE      WASHINGTON                OH         90013472522
92988168761979   STEPHANIE    BAUER                     CA         90002751687
92988269997123   JOSE         CONTRERAS                 OR         90014752699
92989363593755   ARIC         ROEBUCK                   OH         64585453635
92991283997123   LAURIS       CURRIER                   OR         90014752839
92991481255957   ISABEL       BREAZELL                  CA         90003954812
92993153655951   NOAH         DIAZ                      CA         49001381536
92993385791951   SYLVESTER    LEEBEST                   NC         90014003857
92996178891884   MARNITA      BYRD                      OK         90009691788
92996221451334   JAMES        JOHNSON                   OH         66014472214
92998291691599   ROSA         GARNICA                   TX         90009792916
92999152261977   CLAUDIA      GALLEGOS                  CA         90010491522
92999316297123   CARMEN       NAVARRO                   OR         90014753162
93111842677537   RENEE        WINES                     NV         43046878426
93112325897121   GARY         RENTON                    OR         90005893258
93112492991521   JUAN         ACOSTA                    NM         75009434929
93114981861977   ARTURO       MENDOZA                   CA         90013939818
93117667961977   MARIA        PEREZ                     CA         90013896679
93118228693769   KATHY        BBANDA                    OH         90010372286
93118534785997   ELEUTERIA    ESPINOSA                  KY         90001565347
93119445191988   MARJORIE     BUCKINGHAM                NC         90007754451
93121314997123   MANUEL       TORRES                    OR         90013933149
93121655231651   GWENDOLYN    ARMSTRONG                 KS         22098046552
93122871691599   MONIQUE      ANGUIANO                  TX         90012258716
93123542791399   TOBY         LEE                       KS         90015565427
93124596377537   JARED        CRAIG                     NV         90012465963
93125235591265   STEPHANIE    HENRY                     GA         90010562355
93125951755957   JEANETTE     MARTINEZ                  CA         90014979517
93126513493755   MELISSA      CLICK                     OH         90007685134
93126747391599   YASMINE      ROSALES                   TX         90006137473
93128488177537   SAIRA        CAMACHO                   NV         90013934881
93131149443584   DILLON       PRESTON                   UT         90007611494
93132142277537   CODY         ROGERS                    NV         90012651422
93132337143584   TARA         JACOBS                    UT         31002673371
93132576661979   JULIAN       JAUREGUI                  CA         90010415766
93132854755957   MICHAEL      TORRES                    CA         49093198547
93133161891521   LINDA        VILLA                     TX         75040101618
93133574391599   VINCENT      GUZMAN                    TX         90013335743
93134371191521   LUIS         BUENO                     TX         90011193711
93134989755957   CARLA        MACIAS                    CA         90009639897
93135781291599   ROSIO        YANEZ                     TX         90009147812
93136682291521   ROOT         METRICS                   TX         90011846822
93137575933698   MONICA       HEMINGWAY                 NC         12089645759
93137642144346   MAYOLO       GOMEZ                     MD         90009396421
93138266791599   ABRAHAM      MORALES                   TX         90010422667
93138949761979   JAVIER       SALGADO                   CA         90011579497
93141186577537   ALAJANDRO    GONZALEZ                  NV         90013761865
93141378461979   ESSENCE      WILKINGSON                CA         90013683784
93141963333647   AKITHA       MCCANDIES                 NC         90005789633
93142739377537   VIRIDIANA    PACHECO                   NV         43089367393
93143126761977   ADRIANA      GARCIA                    CA         90007401267
93143177855957   XENG         LOR                       CA         90007881778
93143441661977   ALFREDO      ROVIRA                    CA         90010434416
93143747843584   VICTOR       HERNANDEZ                 UT         90010487478
93143845191951   LATEE        ALSTON                    NC         90007628451
93145437891599   JUAN         CARRANZA                  TX         90013584378
93146235133698   NADINE       RUBIN                     NC         12098352351
93147352491521   MARIA        REYES                     TX         90014393524
93148985161977   CHRISTINA    VAUGHAN                   CA         46010479851
93151447661979   CYNTHIA      JIMENEZ                   CA         46073534476
93151725191521   MARIBEL      GONZALEZ                  TX         75007357251
93152298291882   CANDICE      LUNSFORD                  OK         90015122982
93152678861977   ISMAEL       GONZALEZ                  CA         90012586788
93153646591951   NOLEEN       COLLINS                   NC         90004326465
93153672193791   RYAN         DUNCAN                    OH         90008676721
93154388155951   ALICIA       MONRREAL                  CA         90014803881
93155252551325   ALICE        EDMONDS                   OH         90014482525
93155253661977   BYRON        DUNN                      CA         46077172536
93156142491399   OLGA         GALAVIZ-VALDIVIA          KS         90007911424
93158659861977   VAKILI       AMIR                      CA         90005826598
93159453493755   TERRANCE     RETTIG                    OH         90013764534
93159458691521   GEORGE       PEDROZA                   TX         90009454586
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93159773777537   ANGELIQUE    COVELLO                   NV         90015567737
93162369471933   REGINA       COLANGELO                 CO         90010543694
93162755891399   CODY         PULLIAM                   KS         90015087558
93163227193755   VICKI        LEWIS                     OH         64518722271
93164152793755   BLANCHE      WRIGHT                    OH         90005561527
93164363341296   CINDY L      CLYMIRE                   PA         90013993633
93165392761979   TASHEE       SMITH                     CA         90015043927
93166962361977   OSCAR        ORTEGA                    CA         90013969623
93167975677537   OSCAR        DOSSIE                    NV         90012249756
93168129355951   MICHELLE     AMARO                     CA         90001531293
93168255641296   DEBORAH      POLLARD                   PA         90003032556
93168889761977   ANGELITA     PEREZ                     CA         90010368897
93169929697123   ALLEN        HOWELL                    OR         90010959296
93172769191399   DULCE        AGUAYO                    KS         29007457691
93172992197123   JESSIE       BROUGHTON                 OR         90011859921
93173336877537   ABBEY        BLAIR                     NV         90004773368
93173383893755   JORDAN       BOWLIN                    OH         90012023838
93174761497123   PATRICE      GARCIA                    OR         44069237614
93176824191554   YVETTE       MORENO                    TX         90010078241
93177692961979   SHANE        SOUZA                     CA         90013616929
93179419477537   AMBER        HITCHCOCK                 NV         43007884194
93179514661972   RAQUEL       MACIAS                    CA         46015955146
93181739585872   HA           DO                        CA         90007777395
93184329743584   KASSIDY      POTTER                    UT         90014853297
93185296877537   ALDA         RODRIGUES                 NV         43025432968
93188593555957   JOSE         PENA                      CA         90010895935
93188996197123   STEPHANIE    KRONE                     OR         44078189961
93189895491599   BRENDA       NIETO                     TX         90014408954
93193385791521   SANDRA       DUARTE                    TX         90011193857
93193977291531   VITERBO      URQUIDI                   TX         75033749772
93194916841296   PATRICIA     NUZZO                     PA         51054129168
93195376591521   MARIA        GODINEZ                   TX         75033833765
93196997693755   MICHELLE     WHITE                     OH         90001989976
93197161391599   CARMEN       RIVERA                    NM         90014231613
93197517197123   MARTHA       BANNICK                   OR         90011515171
93197828261977   MARTHA       ROMERO                    CA         46079768282
93197853991951   SAMETRICE    CHARLES                   NC         90012718539
93197936255951   ARMANDO      CABRAL                    CA         90013529362
93198361591951   CARMELO      NUNEZ                     NC         17039273615
93198578691526   LEONARDO     URRUTIA                   TX         75088505786
93198683455957   ADELIA       GONZALES                  CA         90010136834
93199965797123   RONALD       MAY                       OR         90007769657
93212938543584   DEREK        EKENSTAM                  UT         90014789385
93213692455951   MARIA        VILLEGAS                  CA         90000966924
93214588291399   LINDSEY      HAYDEN                    KS         29005905882
93215794577537   ARELY        ROMERO                    NV         43068877945
93216121561979   SONYA        ORTIZ                     CA         90011581215
93216577761977   EDWARD       GONZALEZ                  CA         90008305777
93222483657137   EDDY         IBRAHIM                   VA         90009234836
93222661561973   DERRICK      PENNINGER                 CA         46086696615
93223167391951   JA NAE       MERCER                    NC         90007631673
93223696491599   JESSICA      MACIAS                    TX         75067566964
93224315591951   SHERRIA      MCMILLAN                  NC         90010003155
93225141193769   TAMMIE       HUDSON                    OH         64568861411
93226334881679   GERALDINE    NIMROD                    MO         90014623348
93226681391953   JAMES        STINE                     NC         90014676813
93226915291599   CELESTE      RAMIREZ                   TX         90010229152
93226921755951   KEVIN        ORMSBEE                   CA         90014849217
93228374391521   MARIA        ESTERGARZA                TX         75052673743
93229233343584   CRYSTAL      FITZHUGH                  UT         90015282333
93231136291521   VIVIANA      VILLASANA                 NM         90014481362
93231882497123   MONICA       CALZADILLAS               OR         90009218824
93233598591399   GABRIELA     LARA                      KS         90014915985
93233963161977   JAMES        PERDUE                    CA         46085029631
93234398155951   JUAN M       PATINO                    CA         90013983981
93235246855951   VANG         YENG                      CA         49013012468
93236588531629   TROY         MITCHELL                  KS         22062765885
93237845191599   LUCIA        HAMIDAN                   TX         75079198451
93239645761977   ALMA         MERCADO                   CA         90007346457
93241553393755   APRIL        SMITH                     OH         90012395533
93243459761979   LAURA        MUNOZ                     CA         46016154597
93243636141296   EVELYN       RHONE                     PA         90013016361
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93244222791579   ROCIO         SOTO                     TX         75068962227
93244731255957   LORRIE        JARRETT                  CA         90011207312
93245263891521   MONICA        RUELAS                   TX         90013922638
93245459761979   LAURA         MUNOZ                    CA         46016154597
93246531657152   ANGEL         WILLIAMS                 VA         90001245316
93246781243584   RAQUEL        LOPEZ                    UT         90011937812
93247418261977   GUILLERMO     LOPEZ                    CA         90011184182
93248832177537   HUERY         TALBERT                  NV         90013988321
93248946255951   STEPHANIE     FAMBROUGH                CA         90014879462
93251314793768   SUE           CASEY                    OH         90014533147
93251646997123   AMALIA        HOLT                     OR         90001976469
93251693661979   CAROLINA      BECERRA                  CA         90014806936
93252385991951   MARION        TABORN                   NC         17095373859
93252885341296   DONNA         BURKLEY                  PA         90005338853
93254319691399   GRACIELA      HERNANDEZ                KS         29042773196
93255618477537   NICHOLE       PLUMMER                  ID         90010546184
93257699197123   KRISTEN       CHASTEEN                 OR         44078726991
93258246791521   DAVID         KEATON                   NM         75008612467
93258318677537   AMANDA        SAWYER                   NV         90012043186
93258886791526   ELVA          AVILA                    TX         90010138867
93261615461979   NANCY         ELIZONDO                 CA         90012406154
93262931961977   ROBERT        VAZQUEZ                  CA         90010279319
93263734397123   NATASHA       TORRUELLAS               OR         90012607343
93264283861973   CARMEN        TORRES                   CA         90010832838
93267172891951   SANTOS        LOPEZ                    NC         90011941728
93267383861979   CHRISTOPHER   FAIRLESS                 CA         90005423838
93268647891521   JANE          HERNANDEZ                TX         90014066478
93268653443584   DANIEL        VALLADARES               UT         90015316534
93268719161979   STEPHANY      SWARTS                   CA         90013087191
93268726861982   HENRY         KOZIK                    CA         46015747268
93269197855951   AMANDA        JIMINEZ                  CA         49068891978
93269933191521   RAQUEL        RUEDAS                   TX         90011609331
93271252343584   JAMES         BELL                     UT         90008352523
93271357591951   TANYA         MASON                    NC         90014213575
93271775141296   KEVIN         SMITH                    PA         51027617751
93272344755951   CINDY         FEIGEL                   CA         49031913447
93272431897123   TERRANCE      JOHN-BARLOW-             OR         90004564318
93273577991599   RUBEN         RODRIGUEZ                TX         75005145779
93274814341296   JEAN          GROSS                    PA         90004688143
93274875191599   MONICA        CANALES                  TX         75086248751
93275425241296   CLAIRE        RODRIGUEZ                PA         90010494252
93277642391599   FAVELA        AUGUSTIN ALEXANDRO       TX         90011966423
93277987391521   ANTONIA       NAVARRO                  TX         75097919873
93278419961979   EDDIE         CASTRO                   CA         90012744199
93279452861979   JOSE LUIS     MONTEJO                  CA         90013124528
93279794155951   JESUS         SOTELO                   CA         49075177941
93281299877537   JESUS         SANDOVAL RAMOS           NV         90011432998
93281339751337   LINDA         DERRISO                  OH         90009293397
93282366861977   ALEX          MORENO                   CA         90009623668
93282915941296   KIMBERLY      LEACOCK                  PA         51060369159
93283374391521   MARIA         ESTERGARZA               TX         75052673743
93283418261977   GUILLERMO     LOPEZ                    CA         90011184182
93284729997123   WILLIAMS      WILLIAMS                 OR         44026897299
93285487197123   JULIE         BELLACK                  OR         90002884871
93285585561979   CESAR         GUIDO                    CA         90014245855
93286125461977   GUADALUPE     TOVAR                    CA         90012421254
93286244561979   MICHELLE      LACCONE                  CA         90001002445
93286397791951   JUAN CARLOS   VALENZUELA               NC         90009533977
93288244561979   MICHELLE      LACCONE                  CA         90001002445
93288766293755   JAKE          ENGLE                    OH         64528847662
93291465461979   GORGE         BERNALD                  CA         90005424654
93293463761979   JUA           SIXTO                    CA         90013924637
93293593255957   KOUA          XIONG                    CA         90002785932
93294445297123   MIRIAM        MACIAS                   OR         90014384452
93295433593755   ARTHUR        GARLITZ                  OH         90007994335
93295771291399   GREGORY       CATES                    KS         90011857712
93295863897123   KATRINA       VEGA                     OR         90012558638
93296914577537   SOL           GARCIA                   NV         90015519145
93297364691521   PATRICIA      ALVARADO                 TX         90014463646
93297538961977   LILIANA       PEREZ                    CA         46049795389
93297544677537   ANTONIA       CRUZ                     NV         90013215446
93298441333698   ANTHONY       ROGERS                   NC         12010914413
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93298453891521   LUCIA         LOPEZ                    TX         75016394538
93311728555957   KIHENDE       AEYODELE                 CA         90011007285
93312698861977   EDITH         CERVANTES                CA         90014826988
93312743243584   SHERRY        SMITH                    UT         90011507432
93312774763657   YEANSUK       WON                      MO         90004137747
93313259343584   AMANDA        RUSSELL                  UT         90013552593
93313266691521   JUANA         CASRTO                   TX         90014762666
93313538691521   GISELLE       BELTRAN                  TX         90008265386
93313875361979   KATLYN        BROWN                    CA         90014808753
93314623893755   BRANDON       OAKES                    OH         90014816238
93315356655951   LIZET         ALANIZ                   CA         90015383566
93315555161977   RIGOBERTO     MARTINEZ                 CA         90014895551
93316221193726   AMBER         PUGH                     OH         90003892211
93316363991521   NICHOLAS      LOPEZ                    NM         75009213639
93316577361977   DULCE         NAVALLEZ                 CA         90013265773
93317917355957   MARIO         REYES                    CA         90012419173
93318422591399   ZACHARIAS     DIZMANG                  KS         90005954225
93318956897123   JACOB         BYRNE                    OR         90012869568
93318963961979   EDITH         RODRIGUEZ                CA         90010859639
93319161243584   BRENT         NISSON                   UT         90013921612
93319588255957   DOMINIQUE     NOVELLA                  CA         90013975882
93322791591882   CHRISTINA     BROWN                    OK         21081357915
93322938261977   REBECKA       KOMEHCHEET               CA         90014889382
93323849993736   RODNEY        GROSS                    OH         64582198499
93324221191599   LAURA         CASTILLO                 TX         90012802211
93324594655951   JACQUELINE    YANG                     CA         90013655946
93324778161977   ROGELIO       CRUZ                     CA         90013067781
93325722691399   NEYDY         LICET                    KS         90014727226
93326317591599   JOSE          ENRIQUEZ                 TX         90012143175
93327195761979   CHRISTOPHER   SANCHEZ                  CA         90013221957
93327298961977   RAMON         SAAVEDRA                 CA         90013942989
93327498855957   ANDREW        PEREZ                    CA         90009824988
93328542791521   JENNIFER      STIDHAM                  TX         90008265427
93328599361977   JOSE          RIOS                     CA         90012435993
93329318591951   VANIA         TORRES                   NC         90015003185
93329798991399   EARL          MARTIN                   KS         90000577989
93332951361977   JENNIFER      REED                     CA         90010279513
93333633461977   MONICA        HINOJOS                  CA         46000436334
93334244961979   CRYSTAL       ABARCA                   CA         90011872449
93335119155951   EMILY         DUPLESSIS                CA         90013751191
93335185391399   EDGAR         PARDO                    KS         90013931853
93335216943584   ISABEL        MONTEZ                   UT         90010862169
93335386885834   NAKISHA       DOXLEY                   CA         46025723868
93335552191521   ARTURO        SOTO                     TX         75046225521
93336399555958   STEVEN        JIMENEZ                  CA         90005883995
93336473697123   MARIO         VERA HERNANDEZ           OR         90009564736
93336677461979   ELIZABETH     JIMENEZ                  CA         90007276774
93336727755951   ALICIA        DAMIAN                   CA         49014237277
93337996461979   JANET         OWENS                    CA         90010299964
93338486877537   GABRIELA      SALINAS-OLIVA            NV         90013244868
93339121597123   ELIZABETH     ROMERO                   OR         90015191215
93339145497123   NICOLAS       BARRAGAN                 OR         90005191454
93341189991951   RHONDA        WRIGHT                   NC         90000921899
93341566293755   DANIEL        SWIGART                  OH         90007205662
93342121455957   MARY          RAMER                    CA         49043231214
93344827661979   ALINA         OROZCO                   CA         90014818276
93345435361979   NORMA         DELACRUZ                 CA         90009904353
93347462631461   TONYA         JONES                    MO         90010814626
93348698891399   KEITH         ARENS                    KS         90014106988
93351697455957   JOSH          CLEVELAND                CA         49081776974
93351886591882   GRISELDA      CASTRO                   OK         21062508865
93354885797123   REBECCA       NIELL                    OR         90009798857
93355667143584   LUPE          THOMAS                   UT         90013226671
93355842677537   RENEE         WINES                    NV         43046878426
93356922143584   ANDREW        AVILES                   UT         31088599221
93357583681679   PATRICIA      HAISLIP                  MO         90010485836
93357994131651   ELIZABETH     MUNOZ                    KS         90003629941
93359115791599   ALFREDO       MENDOZA                  TX         90013081157
93359228371979   KISHA         SERRANO                  CO         90010952283
93362356361977   VALERI        BRIBIESCA                CA         90013943563
93364442191521   SUSAN         MENDEZ                   TX         90006134421
93364931191599   YENISE        MEDINA                   TX         75045359311
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93364994593755   ALEXZANDRA    BELL                     OH         90014359945
93365212955975   FRANCISCO     CANCHOLA                 CA         90013352129
93365263391521   ZENAI         JIMENEZ                  TX         90015202633
93365985161977   CHRISTINA     VAUGHAN                  CA         46010479851
93366786761977   CARLOS        ZAMORANO                 CA         90010487867
93371873297123   MAELETA       COX                      OR         90010918732
93373792591599   MAYRA         HERNANDEZ                TX         90008037925
93373968243584   MICHAEL       PUGMIRE                  UT         90014059682
93374559555951   GENOVEVA      SANCHEZ                  CA         49048785595
93374576491599   SERGIO        CANALES                  TX         90009605764
93375391161979   DAVID         GARIBAY                  CA         90012123911
93375635561978   ALEX          AMESCUA                  CA         90010646355
93376525391521   KATIA         BELTRAN                  TX         90003065253
93376658691599   MIGUEL        ALDERETE                 TX         90014046586
93377427361977   FEDERICO      ORTEGA                   CA         90012124273
93379421191399   TONI          THOMPSON                 KS         29002714211
93379569155957   RICHARD       HILL                     CA         49068205691
93381412991599   TERESA        ACOSTA                   TX         90010434129
93381579897123   BRIAN         RODRIGUEZ                OR         90013195798
93382939155957   JAVIER        CARRANZA                 CA         49045379391
93384554141296   DEWAN         WATKINS                  PA         90014525541
93384876861979   OSVALDO       RIOS                     CA         90008388768
93385369661979   SONIA         BERNAL                   CA         90011583696
93386396161977   MIRIAM        BRAVO                    CA         90013943961
93386426841296   JASON         HUNTER                   PA         90006644268
93386631391951   CARL          COLEMAN                  NC         90013236313
93387332133698   JASON         MESSER                   NC         12085373321
93388171397123   ETHEL         KERN                     OR         44092611713
93389993691882   TWANA         PLATT                    OK         90000179936
93391131191553   RUBEN         GONZALEZ                 TX         90001061311
93391378761979   ALBERTO       NAVARRO                  CA         90011583787
93391658943584   MICHEAL       ROUNDY                   UT         90012176589
93392186891399   TAKISHA       NAVE                     KS         90002291868
93392474861977   ISELA         HERRERA                  CA         90010004748
93393371361977   JAVIER        MORENO                   CA         90011473713
93393447961977   JHOANA        OLIVEROS                 CA         90013944479
93394887391882   ALAN          FRANKS                   OK         21004928873
93395737791599   REBECCA       GARCIA                   TX         90010657377
93395761197123   MARION        KING                     OR         44021267611
93395966191521   ISSAC         MARQUEZ                  TX         75030759661
93395987355957   ROBERTA       OWENS                    CA         90005319873
93396522957135   SAUL          GARCIA                   VA         90007815229
93396647391599   JUSTIN A      JAMES                    TX         90004216473
93396648291951   JOSE          AGUILAR                  NC         90012836482
93396913255957   NELLIE        DE LA ROSA               CA         49089359132
93397653161979   ANDREA        AGUILAR                  CA         90013076531
93398488261977   MARIO         SALAZAR                  CA         90014174882
93398595957135   FRANCISCO     TORRES                   VA         90007725959
93411328891521   JUANA         RANGELCAHVEZ             TX         90009843288
93411377897123   CARLOS        TOLENTINO                OR         90006773778
93411443255977   DIOSELINA     CRUZ                     CA         90007874432
93412697591521   LORENA        LARA                     TX         90011016975
93412938397123   LANCE         SATNSELL                 OR         90014989383
93413354897123   ANN           COKER                    OR         90014923548
93414867233698   JACQUELINE    VARNUM                   NC         90008208672
93415925271979   ERICA         MOLINA                   CO         90010469252
93416538291599   JULIE         PIERCE                   TX         90012655382
93417195761979   CHRISTOPHER   SANCHEZ                  CA         90013221957
93418114343584   JOHN          TERRY                    UT         31008491143
93418866293769   CHAUNTEY      GREEN                    OH         90005188662
93419585291599   QINTANA       GEORGE                   TX         75088695852
93421149655977   NANCY         MARTINEZ                 CA         90007951496
93422171355977   AIDA          ELENES                   CA         90007951713
93424891291399   PAYGO         IVR ACTIVATION           KS         90015538912
93425447373261   LINO          PEREZ                    NJ         90014824473
93425483991521   GRISELDA      MARQUEZ                  TX         90011194839
93427475791399   EMILY         MOSLEY                   KS         90003924757
93427766755951   DER           VUE                      CA         49018997667
93428326477537   RAY           LAWERY                   NV         90004193264
93428896591521   MARIA         MEJORADA                 TX         90012698965
93429231891521   PAVON         REYNA                    TX         75028362318
93429773643584   VICKIE        WOODRUFF                 UT         90014447736
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93429939655957   MAI              MOUA                  CA         90013169396
93432562591399   MATTHEW          STIPCENICH            KS         90008945625
93434229255957   YOUN             POK                   CA         49016202292
93434348477537   COLLEEN          BLALOCK               NV         43050213484
93434482697123   MARIA            RODRIGUEZ             OR         90013204826
93437817341296   AROBIA           DAWKINS               PA         90014858173
93437999491599   CECILIO          RAMOS                 TX         90013209994
93439885261979   PABLO            SANDOVAL              CA         90011278852
93443335793755   MISTY            WOLFORD               OH         64594523357
93443339443584   TYSON            CAMPBELL              UT         90002913394
93443611877537   ROBERT CHARLES   GODFREY               NV         90014836118
93444173861979   MARIA            LEDESMA               CA         90007001738
93444429555957   ANDRES           VALENCIA              CA         90014144295
93445585477537   ERIKA            RIVERA-NAVA           NV         43057595854
93446749781667   CHRIS            LILES                 MO         90005447497
93447925955957   JOSE             HERNANDEZ             CA         49083569259
93448316233698   JT               MCKIVER               NC         90004093162
93448356691936   MICHAEL          WATSON                NC         90012023566
93449119843584   MATTHEW          JASTER                UT         31075061198
93449553977537   SEFO             ROPATI                NV         90010975539
93451759741279   JONNETTE         YOUNG                 PA         90006257597
93452581191399   JESSICA          FALES                 KS         90003925811
93456713461979   SHERYLL          GO                    CA         90012177134
93457687655951   CHRIS            ARREGUIN              CA         90007076876
93457711991399   LATISHA          GILLOM                KS         29057267119
93457853797123   NICHOLAS         TAYLOR                OR         90014888537
93458629941296   DARCY            KING                  PA         51030306299
93461116561977   PAOLA            LASTRAS               CA         90009101165
93465394543584   BRANDON          MORGANSEN             UT         90001883945
93465395561977   EVANGELINA       RUBIO                 CA         90008083955
93468954143584   PAUL             VALERIO               UT         90014189541
93468974361977   EDGARDO          VARGAS                CA         90014729743
93469394491882   MAYRA            LUNA                  OK         90012423944
93469919955951   SAMUEL           ORTEGA                CA         49093609199
93471161391521   EDDIE            MAGANA                TX         90014781613
93472379391599   JAIME            PORRAS                TX         90014593793
93473851377537   PAMELA           PEREZ                 NV         90007698513
93474474561977   JORGE            CASTILLO OROZCO       CA         90013944745
93474982191882   TRAVIS           BARNES                OK         90000529821
93475895441955   ANGEL            BLASIAK               OH         90014188954
93476637255951   ITXLANA          MARQUEZ               CA         90011116372
93478523761979   ANA              REMILLO               CA         90013935237
93478866277537   FRANCISCO        GARCIA                NV         90003038662
93479484691951   NASHALY          MARQUEZ               NC         90014814846
93479694531435   KEYAUNA          SISK                  MO         90003636945
93482733891951   MARLA            MELCHER COZAREZ       NC         90014167338
93483574561977   GUILLERMO        GONZALEZ              CA         90012465745
93483651391599   CYNDI            CHAIREZ               TX         90010786513
93486312291951   ASHLEY           CASE                  NC         90015373122
93486664297123   CITLALY          LIRA GARCIA           OR         90013226642
93487921555951   ALFREDO          ZARATE                CA         49084469215
93488846463629   LISA             HIMMELSBACH           MO         90010988464
93489778543584   JOHN             FITZHUGH              UT         90010657785
93491779677537   JESUS            FLORES                NV         90012157796
93493735391951   TARISHA          WILLIAMS              NC         90012597353
93496975341296   CINDY            MORONEY               PA         90001719753
93498429991521   REY              RIVERA                TX         90011904299
93499547255957   GILDARDO         REYES                 CA         90009565472
93499633461977   JUAN CARLOS      ALCARAZ               CA         90012096334
93499713191521   LUIS             ACOSTA                TX         90009427131
93511834555951   ALALA            REED                  CA         90010938345
93511896555951   KAREN            GONZALEZ              CA         49008398965
93512758677537   JESSE            ROBINSON              NV         43094957586
93513453255951   ARKIM            STOKES                CA         90012864532
93514437271979   DAVID            VILLA                 CO         90012484372
93515258191599   YOLANDA          LOPEZ                 TX         75026452581
93515586291951   GILMORE          DEJUAN                NC         17041945862
93516145955957   ROBERT           CROWLEY               CA         49041331459
93516575291399   LAURA            RENTERIA              KS         90011185752
93517384293769   AIMEE            BAILEY                OH         64584083842
93518933741296   SHAWNA           JONES                 PA         90004549337
93521914261979   LUIS             ANGELES               CA         90011589142
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93524259191399   MERRI         YOUNT                    KS         29002192591
93525442841296   CHARLES       HOGAN                    PA         90015084428
93525759955951   MIGUEL        REGALADO                 CA         90011187599
93526612455951   WILLIAM       MAKEL                    CA         49012106124
93526762671965   JEFFREY       NUSS                     CO         90013337626
93527358761977   CINDY         LOPEZ CAMPOS             CA         90012213587
93527421691599   EDUARDO       MOLINA                   TX         75087254216
93527457891531   OSCAR         ABREGO                   TX         75011514578
93527843691521   RENE          PEREZ                    TX         90011428436
93531726191399   ANA           FRANCO                   MO         90013757261
93533923791521   BRIANA        ORONA                    TX         90012529237
93534673651396   DANIEL        BUCK                     OH         90005276736
93535453191951   KASEY         DILLARD                  NC         90014224531
93535764661977   JHOANA        TORRES                   CA         90004327646
93537728261971   PHILIP        PONTO                    CA         46006577282
93537749191399   ROGELIA       LOPEZ-HERRERA            KS         90012227491
93537925691399   ROGELIA       LOPEZ-HERRERA            KS         90012809256
93537937941296   TERRELL       GORMAN                   PA         90005919379
93538278461879   PAYGO         IVR ACTIVATION           MO         90011912784
93538552191521   ARTURO        SOTO                     TX         75046225521
93539426961977   ISRAEL        NAVARRO                  CA         90014094269
93539527961924   BOBBY         MORRIS                   CA         90012795279
93539748391882   JUAN          HERNANDEZ                OK         21016427483
93539999493755   LAURA         NUNN                     OH         90012009994
93542823655951   VERONICA      VILLAR                   CA         90012858236
93542919891521   OKELLEY       JESUS                    TX         90007739198
93543125191521   JOHN          CONLEY                   TX         90012191251
93543182731424   ESMIR         DEUMIC                   MO         90010281827
93545471991951   VICTORIA M    PUPLAMPU                 NC         90013174719
93546194485948   VICKIE        BENTON                   KY         90005171944
93546783677537   HILARIA       BALDERAS                 NV         43060667836
93547239961977   JOHN          HETZEL                   CA         46042492399
93551823677537   NEFI          VALENCIA-CHANVES         NV         90013538236
93552851391521   LUIS RAUL     LARES                    TX         90009018513
93553218191399   MARIA         ORTIZ                    KS         90001022181
93553258191599   YOLANDA       LOPEZ                    TX         75026452581
93553821861977   CATHERINE     VILLA                    CA         90014628218
93554348491399   SKYLAR        HANSON                   KS         90013063484
93555263591521   CRYSTAL       SOTO                     TX         75085992635
93557597393755   LINDA G       HOWARD                   OH         90009475973
93558258191599   YOLANDA       LOPEZ                    TX         75026452581
93558638561979   NORA          DIAS                     CA         46091366385
93559575443584   TINA          CHAVEZ                   UT         90010805754
93559955991399   DIONTE        FULSON                   KS         90013379559
93559978861977   ALLEN         ELDRIDGE                 CA         46051929788
93563379885977   WALTER        MCCOY                    KY         90005233798
93563411643584   ROBERT        FINCH                    UT         31097764116
93564837855999   KIMBERLY      AL AZRAQ                 CA         90007278378
93567353597123   ALTA          SANER-MARTINEZ           OR         44036483535
93568324741296   DIMITRI       ABBOTT                   PA         90014093247
93569447991882   MATTHEW       COHEN                    OK         21072004479
93569597441296   JALINE        CUNNNINGHAM              PA         90014935974
93571121455951   JISSEL        HERRERA                  CA         90005891214
93571891191951   JOSEPH        CAMPBELL                 NC         17072198911
93572461761977   MASARU        KIKUTA                   CA         46079724617
93574139293755   DOROTHY       BROWN                    OH         90006371392
93574181491599   VICTOR        PEREZ                    TX         90011051814
93575239561977   SONIA         ROMERO                   CA         90012872395
93575291191399   DANIELLE      RODGERS                  KS         90014712911
93576668155951   RAMON         SANCHEZ                  CA         49080746681
93578479677537   CHRIS         CARLEY                   NV         43057654796
93579625533633   LOUIS         ALLEN                    NC         90013356255
93581531691951   MARIELA       VERDUGO-MORALES          NC         90014185316
93581993963639   WILLIAM       HOFFMAN                  MO         90003969939
93582713685689   NERY          VELASQUEZ                NJ         90004837136
93583335691399   KATHRIN       RIDDLESPRIGER            KS         29035113356
93586187341955   JOSEPH        BADILLO                  OH         90015371873
93588112997123   JOSE          RODRIGUEZ                OR         90008431129
93589294491399   CHRISTOPHER   BREGGEMAN                KS         90015292944
93593229591599   JOSE          HERNANDEZ                TX         75094242295
93594292155957   STEPHANIE     TORRES                   CA         90014522921
93594356261977   JOSE          JUAREZ                   CA         46098533562
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93594393191599   FELICIANO    HERNANEZ                  NM         75088253931
93594444784381   LESLIE       BOWICK                    SC         19061594447
93596232891882   KESHA        ADAMS                     OK         90002162328
93596947555957   RICHARD      GUZMAN                    CA         90010209475
93597137191882   NICHOLAS     HAWTHORNE                 OK         90009731371
93599639361979   BEVERLY      BIGBEE                    CA         90013926393
93611491533698   JOHN         LOFTIS                    NC         12045674915
93611493443584   LEXI1022     FRYER                     UT         90009584934
93612826293755   JULIE        COLEMAN                   OH         64559868262
93613747155951   FRANCISCO    AVALOS                    CA         49008857471
93614647891521   JANE         HERNANDEZ                 TX         90014066478
93614788961951   FLORENCIA    GUARDADO DE RODRIGUEZ     CA         90002997889
93614994293755   AUGUSTUS     DAVIS                     OH         64554919942
93615355391599   ALEJANDRA    GARCIA                    TX         75032383553
93617774691599   RICK         BAQUERAA                  TX         90013807746
93617815791521   ARMANDO      GUAJARADO                 TX         75029238157
93617967593755   VANESSA      MORELOCK                  OH         64509819675
93619179561979   HABONIMAMA   PHOIBE                    CA         90003861795
93621617557123   ELODIE       BATAILLE                  VA         90011776175
93621856191951   SARAH        KIMBROUGH                 NC         17019088561
93622319255935   FRANCISCA    MORENO                    CA         90008053192
93623463791951   ANDREA       FAMOR                     NC         90009494637
93625249961977   ELVA         KRAMER                    CA         46025102499
93625295893755   KYLE         ADAMS                     OH         90010522958
93625393861979   EFRAIN       PADILLA                   CA         46016533938
93626644191599   RAMI         RAMIREZ                   TX         90014076441
93627151255928   PATRICIA     JURADO                    CA         49090971512
93627585691521   ABIGAIL      ROMO                      TX         75043095856
93628191355951   KELLY        HER                       CA         90003461913
93629924491399   JENIEL       HUMMINGBIRD               KS         90015259244
93632819991882   JOSEFINA     NAVARO                    OK         90006928199
93632947591951   POLO         MARTIN                    NC         90009999475
93633389597123   MARINA       WASS                      OR         90006693895
93636633741296   KEVIN        RUHL                      PA         51055006337
93639548141296   GEORGE       GABLE                     PA         51090005481
93642232161977   DEBORAH      URANGA                    CA         46093442321
93644267261977   EFRAIN       MONROY                    CA         46071902672
93645565361977   ALICIA       CRUZ                      CA         90013255653
93646378897123   SARAH        VIDANA                    OR         44045223788
93647724855951   EDUARDO      HERNANDEZ                 CA         90009047248
93647838551337   SANDRA       MAGGARD                   OH         90007058385
93648448691599   ROSA         GUZMAN                    NM         75041054486
93648532891951   RANDALL      REDICK                    NC         90014185328
93649314391882   JOHN         RECESS                    OK         90006803143
93649783255951   LISETT       OLIVARES                  CA         49021627832
93652694393755   TOM          HICKS                     OH         90010906943
93653523991828   KATHY        SANCHEZ                   OK         90008665239
93655354541296   TAMARA       CRAVEN                    PA         51027233545
93657519161979   FLORES       MARIA DEL ROCIO           CA         46071115191
93658137193732   CYNTHIA      HOUSTON                   OH         90010931371
93659179933668   ROBIN        EVANS                     NC         90004441799
93661162141296   KATHY        HOF                       PA         90015141621
93661939477537   APRIL        AXTEL                     NV         90010279394
93662761877537   MYERIEM      SHEVERNOGA                NV         90010827618
93665557457149   MARIO        CRUZ                      VA         90013025574
93666123361977   SERGIO       SANCHEZ                   CA         90008341233
93669428361977   TROY         PEREA                     CA         90010174283
93669973443584   SHERRI       BOLTZ                     UT         90014099734
93673158161979   MANUEL       ALVAREZ                   CA         90001101581
93674128891599   ALAN         CEBADO                    TX         90012761288
93675627161977   FELICIA      HILLARD                   CA         46047776271
93676629531245   OFER         MEGED                      IL        90002786295
93678112755951   HATTIE       EDDINGTON                 CA         49020411127
93678484677537   GUILLERMO    PADILLA                   NV         90010434846
93678675555957   DESHAWN      WHARRY                    CA         90012076755
93682371231426   IZORY        WADE                      MO         90010823712
93683327691882   MEGAN        LEWIS                     OK         21072843276
93683919943584   SHARON       HERNANDEZ                 UT         90003219199
93684494697123   NOEL         ARECHIGA                  OR         90012094946
93685381755951   LISA         MADRIO                    CA         49080263817
93687227297123   FROYLAN      CHAVEZ                    OR         90013562272
93688883997123   GEORGINA     GARNICA                   OR         90006878839
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93688918761977   JAMES D      MICKELSON                 CA         46064359187
93689442955951   ROSALVA      VIVIAN                    CA         90012804429
93694385361977   STEPHANNY    CAMPOS                    CA         90008073853
93695736691599   DONNA        BINFORD                   TX         75015237366
93695791991521   LORENZO      MENDOZA                   TX         75032357919
93696363755935   VICKI        MENDIVIL                  CA         90000993637
93696619291554   MIGUEL       ARZATE                    TX         75093856192
93697671455957   VERONICA     GARCIA                    CA         90009446714
93697812591521   NICHOLAS     MEDINA                    TX         75052678125
93698318693755   MONROE       BINSON                    OH         90002983186
93698773843584   BARBARA      CLARK                     UT         31075447738
93699464455957   MARIA        MARTINEZ                  CA         90010374644
93711213791521   BLANCA       MARTINEZ                  TX         75092912137
93711478891521   LUIS         COTRERAS                  TX         90010084788
93712636255951   JOSE         QUEZADA                   CA         90011036362
93713714797123   JOSE         MALDONADO CARRILLO        OR         90013567147
93713747361979   KATHLEEN     MCNEAL                    CA         90013077473
93714296461979   MODESTO      GARCIA GARCIA             CA         90011592964
93714566191521   MIGUEL       FELIX                     TX         75029745661
93716592555951   LAURA        VENEGAS                   CA         90007395925
93717539197123   GUADALUPE    ZENDEJAS                  OR         90008575391
93717668791599   JAQUELINE    DIOSDADO-CARDONA          TX         75007006687
93719872943584   FIONA        BAIRD                     UT         31049148729
93721125261979   GLENNDA      LAIRD                     CA         46093661252
93721491393755   JEANNIE      MITCHELL                  OH         90013514913
93722335685872   TIMOTHY      CUTTER                    CA         90003103356
93722365791399   TREVA        CAMPBELL                  KS         90011493657
93722669941251   YVONNE       WILSON                    PA         90014106699
93722953161959   DEVONNA      BEY                       CA         90002269531
93722983855957   CARLOS       CURIEL                    CA         49073449838
93723284643584   KRISTEN      WILLIAMS                  UT         90014172846
93723287555957   AMANDA       AYALA                     CA         49075042875
93726263691599   ELIZABETH    ALVARADO                  TX         90012182636
93726344177537   LUIS         CARRANZA                  NV         43065083441
93727754755957   JESSICA      GONZALEZ                  CA         90010897547
93728327491399   YEYMIE       FLORES                    KS         90014173274
93728721993755   NICOLE       PANNELL                   OH         64517027219
93728814697123   JENNIFER     SCHROEDER                 OR         90009428146
93729513661977   ANNA         GIBSON                    CA         90008075136
93731831891951   MELITTA      ROGERS                    NC         90008378318
93732649391521   GERARDO      MENDEZ                    TX         90011196493
93733363455957   ESTELLA      AMBROSE                   CA         49075043634
93733451191399   RHONNA       BURCH                     KS         90011674511
93733789961928   LOURDES      TORRES                    CA         90013017899
93733917161979   ASHLEY       VELAZQUEZ                 CA         90003359171
93735826725628   RODD         PRICE                     AL         90015448267
93736445291599   JOSHUA       LOPEZ                     TX         90007604452
93736628691951   JEFFREY      REVELS                    NC         90014246286
93737732991399   SADAE        NUNN                      KS         29021977329
93738495841296   DIANNE       BURKHART                  PA         51084204958
93738837943584   REFUGIO      RODRIGUEZ                 UT         90003658379
93739128455951   PHENG        VANG                      CA         90010721284
93742834191599   LETY'S       ALTERATIONS               TX         75091178341
93742885697123   ALEJANDRO    BATES                     OR         90015258856
93743147591521   ALFIA        CHACON                    TX         90009541475
93743434291399   ANA          ANDRADE                   KS         90015464342
93744664361954   DAVID        FIGEROA                   CA         90002566643
93745871543584   BARBARA      WEBER                     UT         90011068715
93746447861979   HECTOR       LOPEZ                     CA         90013054478
93746516543584   JAELYNNE     BRUEGGER                  UT         90011025165
93747219891521   FREDDY       SMITH                     TX         75074472198
93747385891599   IVAN ADRIA   ARAMBULA                  TX         90001663858
93747721191321   VANESSA      FELAN                     KS         90014047211
93747936591399   ALEX         MENJIVAR                  KS         90010259365
93749714691399   SERGIO       MERANDO                   KS         90014107146
93749896755957   LORRAINE     AGUILAR                   CA         90008818967
93749968843584   HARLAND      JOHNSON                   UT         90012339688
93751961441296   DIAMOND      MARLET                    PA         90012559614
93752816491599   LUCILA       ROCHA                     TX         90014158164
93753752573261   VINCENTE     LOPEZ                     NJ         90014707525
93754927997123   JULIAN       DUARTE                    OR         90015099279
93756749161977   NISA         YOUNG                     CA         90015337491
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93757135861977   TERESA       ITZEP                     CA         90011501358
93759232355951   MOHAMED      SAAD                      CA         90013312323
93759581891521   LUPE         ESTRADA                   TX         90014175818
93762465643584   ROBERT       LANDGREB                  UT         90001644656
93762764961979   KAREN        SHELTON                   CA         90013077649
93763652891521   MARICRUZ     GRIJALVA                  TX         75032166528
93764684761979   KURT         DE GUZMAN                 CA         90013936847
93765144391951   SAMUEL       AGHIMIEN                  NC         90012321443
93766113755957   BERTHA       OLMEDO                    CA         90013631137
93766496391599   EVA          CALDERON                  TX         90013584963
93767669691521   LUIS         GONZALEZ                  TX         90011196696
93767675691599   ALANIZ       RICARDO                   TX         75005526756
93771369291599   VERONICA     JIMENEZ                   TX         90011513692
93772147155957   CHARLIE      VANG                      CA         90003561471
93772157361977   ADRIAN       SEVILLA                   CA         90011501573
93772497691599   VANESSA      LAGUNAS                   TX         90013584976
93772878391951   FELICIA      QUINN                     NC         90015058783
93773324743584   MIKE         WAGNER                    UT         90013303247
93774282355957   ANTONIO      GONZALEZ                  CA         90013372823
93775772291599   HILDA        BADILLO                   TX         90013637722
93777366177537   JENNIFER     BARAJAS                   NV         90014573661
93777539643584   TORRIE       SMITH                     UT         90004495396
93778719891599   ALMA         HERNANDEZ                 TX         90000827198
93779157261977   GADALUPE     PEREZ                     CA         90014601572
93779197591521   EDUARDO      GOMEZ                     TX         75021501975
93781841443584   SIONE        LEAAETOA                  UT         90014158414
93784892933698   JESSICA      RENO                      NC         12066698929
93785114555951   ROCIO        ESQUIVEL                  CA         90012351145
93785928591951   EBONEE       ROBERSON                  NC         90014259285
93786563991521   TREJO        GUILLERMO                 TX         75081095639
93787712877537   RICHARD      BENNETT                   NV         90012527128
93788452561977   DAVID        FERNANDES                 CA         90014034525
93788537297123   STANLEY      FORD                      OR         90008705372
93788562155951   MANUEL       SANDOVAL                  CA         90012415621
93789524941296   MIKE         LOCK                      PA         90014845249
93791369591399   SHALONDA     WEBB                      KS         90013703695
93792178861979   DAVID        DIDDON                    CA         90011701788
93795528591521   LORAY        QUINTANA                  TX         90010415285
93796794461971   LEONARDO     GARCIA                    CA         90011617944
93797268761979   EMILIA       MEJIA                     CA         90010072687
93797448597123   RAQUEL       AMESQUITA                 OR         90010634485
93798159561977   CESAR        AMADOR                    CA         90000711595
93799962355957   MINDY        POPE                      CA         90015149623
93812397177537   LESLIE       ALEXANDER                 NV         90013093971
93813184393755   STEPHANIE    THOMA                     OH         90001891843
93814421743584   DENISE       EWING                     UT         90004434217
93815434391882   APRIL        JELINEK                   OK         21052814343
93815475155975   LUIS         BAUTISTA                  CA         90014854751
93815842861941   EDGAR        GODINEZ                   CA         90012178428
93815897661977   FRANCISCO    HERNANDEZ                 CA         90013948976
93817539991951   NICOLE       WALLACE                   NC         90010305399
93818624755951   JULIAN       YBARRA                    CA         90013656247
93818914261979   LUIS         ANGELES                   CA         90011589142
93819137591599   ALMA         CARRASCO                  TX         90012171375
93819626191599   DANIEL       HERNANDEZ                 TX         90014426261
93819797761977   STEPHANIE    ALLEN                     CA         90013137977
93821748661977   LETICIA      LIRA                      CA         46050187486
93823213141296   ROBERT       REIBER                    PA         51089352131
93823598343584   HEATHER      HARRIS                    UT         90013045983
93823673661977   LUIS         CERVANTEZ                 CA         90011886736
93823897661977   FRANCISCO    HERNANDEZ                 CA         90013948976
93824173743584   TYFFINEY     KIRK                      UT         31005801737
93824579855957   VIRIDIANA    ROMANO                    CA         90015115798
93825537997123   RENESSA      LOPEZ                     OR         90012735379
93826336841296   LUTHER       DUPREE JR                 PA         51092343368
93826964143584   RICHARD      JACKSON                   UT         90014599641
93828724191882   JESSICA      RAMIREZ                   OK         21050437241
93829337161977   GEOFFRY      PURSGLOVE                 CA         90009273371
93829464893755   LAWRENCE     PAULEY                    OH         90013694648
93829758893732   JERICA       WEAVER                    OH         90009207588
93831697591599   MARTHA       GONZALEZ                  TX         75068106975
93833825941258   VANNA        GALE                      PA         90014098259
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93834973555957   TIFFANY      ROBINSON                  CA         49089009735
93835725543584   CYNTHIA      SANCHEZ                   UT         31041337255
93835862291599   VALERIE      PEREZ                     TX         90009728622
93838541377537   LISA         MOORE                     NV         43046645413
93839639361977   DAVID        LIBERATO                  CA         90003066393
93841111443584   LEVI         WOOD                      UT         90014181114
93841124961977   NORA         GOMEZ                     CA         90009131249
93844479291599   ANTONIO      GARCIA                    TX         75040164792
93846137877537   GABRIEL      VAZQUEZ                   NV         90010901378
93846266397123   MELVINA      CANDELLADA                OR         44097542663
93847598297123   ESTEBAN      GASPAR                    OR         44006215982
93851173743584   TYFFINEY     KIRK                      UT         31005801737
93852434193755   DANA         WARD                      OH         64595254341
93852443955957   ALEJANDRO    LOPEZ                     CA         90000264439
93854352391951   GWENDOLYN    LYONS                     NC         90010383523
93854626991988   OPHELIA      MARCUS-TAYLOR             NC         90007326269
93855354491399   ELOY         REZA                      KS         90015193544
93855654273261   ISIDORA      LOPEZ                     NJ         90013936542
93855989751396   KEVIN        MCGAHA                    OH         90002469897
93856162791599   CARLOS       HERNANDEZ                 TX         90012051627
93856279155957   KEVIN        THOMPSON                  CA         49085362791
93856398661979   UBALDO       HERAS                     CA         46016693986
93859299155957   NATALIE      OSEKOWSKY                 CA         49007342991
93862413155951   LORRADE      STOOPS                    CA         90014384131
93863948961979   PANCHO       LOPEZ                     CA         90012519489
93863966361977   PAMELA       MATSUOKA                  CA         90013949663
93863974961977   RACHEL       CARDENAS                  CA         90002289749
93864613161979   GRACIELA     VICTORIA                  CA         90013346131
93864965155957   ELIZABETH    LOPEZ                     CA         90015149651
93865897791599   ALMA         BORUNDA                   TX         75063818977
93872458743584   MATT         RAEL                      UT         31040734587
93873494377537   MARY         ROYCE                     NV         90013904943
93874998991599   CONSUELO     REYES                     TX         90015179989
93876163191399   MAFFA        KARAFO                    KS         90012021631
93876668243584   DAVID        RIDDLE                    UT         90015296682
93879412455951   CESAR        JAIME                     CA         90000754124
93879654191399   MONIQUE      LARA                      KS         90013986541
93879984461977   TABARE       ROMERO                    CA         90013949844
93882458743584   MATT         RAEL                      UT         31040734587
93882751955957   KASTIN       RODRIGUEZ                 CA         49050957519
93883591455957   MARIE        TREVINO                   CA         49007345914
93883966777537   ROBIN        TROQUILLE                 NV         90014339667
93883984461977   TABARE       ROMERO                    CA         90013949844
93884153343584   ANGELA       QUINTANA                  UT         90010471533
93884441161977   SUGEY Y      FRAUSTO GUZMAN            CA         90004754411
93884586861956   RICARDO      PINA                      CA         90008305868
93884745455951   MONICA       RAMIREZ                   CA         90003817454
93884882943584   ANGELA       QUINTANA                  UT         90012838829
93885179561977   HABONIMAMA   PHOIBE                    CA         90003861795
93885449191399   MARIA        CORDOVA                   KS         90014824491
93885746291599   LAURA        DELGADO                   TX         90009937462
93886654543584   DYLAN        ROSE                      UT         90014916545
93886822291599   MARIA        DIAZ                      TX         90007208222
93891243991599   MARIA        FIERRO                    TX         90008782439
93891661897123   MARIA        CONTRERAS                 OR         90002476618
93893114591951   NORMA        ELIZABETH                 NC         90010151145
93893359997123   MELISSA      LU                        OR         44083963599
93893921855951   JUAN         CABRERA                   CA         90015099218
93894566755951   ARACELI      LINMON                    CA         90012415667
93894741961979   FELIPE       GUERRERO                  CA         90010377419
93895972751293   MICHEAL      STEFAN                    TX         90013119727
93896256455951   JORDAN       SEGURA                    CA         90014902564
93897783141296   ANNETTE      DAWSON                    PA         90013447831
93898429791521   IRVIN        CASTANON                  TX         90013694297
93898758897123   ASHLEY       GARCIA                    OR         90015097588
93899493341296   ERIC         JEFERSON                  PA         90007274933
93913395591265   FUTIMA       YASMIN                    GA         90008723955
93914755571949   MARCO        BARCENAS                  CO         90014477555
93916186191599   CHRISTINA    GUZMAN                    TX         75026891861
93916431761979   TERESA       ZAMARRON                  CA         90009664317
93917245797123   HELEN        SZYMANSKI                 OR         44093122457
93917632743584   WILLIAM      HUMPHREY                  UT         90012636327
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93919675661977   DOMENIC       WATTS                    CA         90011886756
93922694991521   LINDA         DIAZ DE LEON             TX         90011196949
93926175391599   MANUEL        ENRIQUEZ                 TX         90014951753
93926186797123   DANNY         GARNETT                  OR         90006411867
93926657361977   OSCAR         CALDERON                 CA         90006286573
93927424161977   SHELBY        D                        CA         90004754241
93929289455957   LESLI         MONIQUE SALDANA          CA         90014132894
93931342577537   JASMINE       GUTIERREZ                NV         90012823425
93932991761977   JOHN          DOE                      CA         90014269917
93934363277537   JACQUELENE    MATTHEWS                 NV         43013423632
93934389591599   GRISELDA      RAMOS                    TX         90003923895
93935762157149   PETER         FEARING                  VA         81070827621
93935985261977   NYADOAR       WAL                      CA         90015149852
93936699791521   HUGO          TRIANA                   TX         90011196997
93936726577537   ROBERT        MCCOLLUM                 NV         90014687265
93936747255951   SALINA        HERNANDEZ                CA         90014577472
93937494697123   NOEL          ARECHIGA                 OR         90012094946
93937667961979   DIANA         LOPEZ                    CA         90010966679
93937711591951   JONATHAN      STANLEY                  NC         90008727115
93938312957126   KIM           CARTER                   VA         90006313129
93938729991521   ANTONIO       CASTANEDA                NM         75083317299
93938928943584   HEATHER K     PEDERSEN                 UT         90006449289
93939263691399   MARIELA       REYES                    KS         90014242636
93939645355951   MARTHA        MENDOZA                  CA         90010996453
93939716991399   ARTEASA       KINDALL                  KS         90006057169
93941955191951   MORGAN        PASCHALL                 NC         17015099551
93942169261979   ALEJANDRA     MEJIA                    CA         90012391692
93942335293755   SHERRIE       SCOTT                    OH         64596923352
93943532797123   SEAN          BOUCHER                  OR         44063475327
93944264691521   BETH          MENDOZA                  TX         75087012646
93944424491399   CHRISTOPHER   GILLETT                  KS         90015374244
93945471784349   JOSHUA        MOLCZYK                  SC         19030474717
93946243291882   RAIMONDI      JOHN                     OK         21048892432
93946812597123   BRIAN         FLEMING                  OR         90015358125
93948684343584   GREGORIO      PAREDES                  UT         90009236843
93951859961979   RONALD        BARRIOS                  CA         90009868599
93952194693755   KATI          BRYANT                   OH         90005371946
93953549191599   EMILIO        GUERRERO                 TX         90015205491
93954355491882   CHRIS         PRYOR                    OK         90006803554
93954443661979   JUAN          RIOS BRITO               CA         46069724436
93954465155957   VICTORIA      BAUTISTA                 CA         49033764651
93954837155951   HEATHER       CHALMERS                 CA         49017658371
93955541291521   EDUARDO       HERNANDEZ                TX         90010415412
93957347543584   MARIE         MORGAS                   UT         90013263475
93957544661977   NORMA         ROSALES                  CA         46012825446
93957929355957   OSVALDO       GONZALEZ                 CA         90004849293
93958858791521   DONNA         VALDEZ                   TX         90008268587
93959155761979   ALEJANDA      GONZALEZ                 CA         90014861557
93963165491399   JESUS         GARCIA                   KS         90011341654
93964727361979   JOSE          RAMIREZ                  CA         90007937273
93965186297123   SALLY         MCCURDY                  OR         90015281862
93965256191951   TAMMY         HARTON                   NC         90007382561
93967331681673   JUDITH        GARCIA                   MO         90011483316
93967344291521   MARIA         GUILLEN                  TX         90006923442
93968744691521   CARLOS        MUNIZ                    TX         90014187446
93969999761937   BLANCA        VAZQUEZ                  CA         46087189997
93971198691399   NAYELI        REYES                    KS         90013871986
93971228791951   CHARLES       FLETCHER                 NC         17072702287
93972339791599   ANGELICA      TORRES                   TX         75011153397
93973983743584   GIACOMO       REYESCORDOVA             UT         90005019837
93974463743584   PAYGO         IVR ACTIVATION           UT         90013504637
93975487291521   JOHN          RIOS                     TX         90002564872
93975558161979   ERICK         MAEVA                    CA         90011595581
93977356661979   ROSA          PEREZ                    CA         90006393566
93978167555957   JACK          WHITMAN                  CA         49082351675
93978386977537   SAMUEL        PEREZ                    NV         90010423869
93979221261979   SALVADOR      ELIAS                    CA         90013222212
93979548397123   DIEGO         ANSELMO MONDRAGON        OR         90008055483
93981347561979   GIOVANNA      SOTO                     CA         90012043475
93983628391599   JAZMIN        RIVAS                    TX         90006636283
93986255591951   ELEANOR       MITCHELL                 NC         90008232555
93987571491521   GINA          GAMEZ                    TX         90012675714
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93988631955951   JUANITA              LEDGER            CA         49096146319
93988675697123   TRACEY LEE           WALLACE           OR         90015286756
93989557891882   KRISTEN              BARNES            OK         90005615578
93992185155951   HRIPSIME             KOSTIKYAN         CA         90015091851
93992888191521   MONIQUE              QUINONEZ          TX         90008268881
93994296791882   PATHER               THAO              OK         21015622967
93995386655951   YAMILET              TORRES            CA         90012383866
93996283755957   LORENA               MACABEO           CA         90002082837
93996455155951   BRENT                ISHII             CA         90011184551
93996867243584   NICKI                PHILLIPS          UT         90015258672
93998673743584   SHUE LENG            MOUA              UT         90007926737
93999849191599   NORMA                ALARCON           TX         75035918491
94115526691599   JUAN                 RIVERA            TX         90010745266
94119223455963   FRANK                PEREZ             CA         90013792234
94119621991599   YOLANDA              TAPIA             TX         75019846219
94121251271945   REINA                MARTINEZ          CO         32096932512
94121565555951   LISA                 VIVEROS           CA         90003955655
94122475457128   ROSIE N.             NDJABUKA          VA         81040674754
94123295441296   MARY                 ROELL             PA         51043612954
94126134655963   NORMA                HERNANDEZ         CA         90012101346
94127843455957   CRYSTAL              ORNELAS           CA         49087328434
94128771681634   SHALEA               WILLIAMS          MO         29072737716
94129792777537   ANTONIO              RUIZ              NV         90014377927
94131374593755   DONALD               JACKSON           OH         90014883745
94131975355963   JENNIFER             SOUSA             CA         48037309753
94132131261977   WERIKA               TATSIU            CA         90001761312
94132469291599   REBOERT              TUCKER            TX         90012584692
94132575291366   DANIELLE             SEIFERT           KS         90011925752
94132819493755   JONIL                KOGER             OH         90008788194
94137166455963   MERLINDA             GUZMAN            CA         48013211664
94138186355963   KARA                 TULLOS            CA         90002271863
94141586355951   RAUL                 RAMOS             CA         90012955863
94141595855957   PARIS                FLOYD             CA         49000925958
94142168391599   MARINA               JAUREGUI          TX         90015091683
94143394291599   OMAR                 GUTIERREZ         TX         90013173942
94143717491882   KEMEISHA             ASBERRY           OK         21053337174
94144312191599   MARIA                MORENO            TX         90009443121
94145722393732   SCOTT                GLASCOE           OH         64531857223
94146265793736   CHERIE               BUCHANON          OH         90011082657
94146587741238   ROBERT               WAHLS             PA         90013965877
94147467755951   ENJOLI               BEASLEY           CA         49035144677
94148259355957   VALENCIA             PERKINS           CA         90015082593
94152384961977   HUGO                 ROLDAN            CA         90007583849
94159376693755   RUFUS                COFFEY            OH         90009833766
94161645955951   PABLO                CERVANTES         CA         49013756459
94162284291951   NORMA                ARIAS             NC         90012512842
94162892741296   JENNIFER             RICHARD           PA         90013738927
94162952661977   CHRISTIAN            CAMPOS            CA         90014959526
94166897661977   GLORIA               ZAVALA            CA         90008288976
94167491391951   LORENA               BOYZO             NC         90006824913
94167693993732   JEAN-ANNE            HARBIN            OH         64555586939
94167928591599   DANTE                BENSON            TX         90010519285
94169532455957   ADAM                 XIONG             CA         90001235324
94172794291951   ABDULRAZIKU          AHMED             NC         90002267942
94174163491951   SHABAKA              BRANNON           NC         90010341634
94176516191399   BIANCA               RIVAS             KS         90013975161
94178723791399   CHRISTINA            HUTCHERSON        MO         90014777237
94181636871965   BENJAMIN             JONES             CO         90010996368
94183683691951   SANDRA               YECENIA           NC         90010096836
94184277755951   STEELS               BABY              CA         90014542777
94186996391532   MIGUEL               RODRIGUEZ         TX         75093379963
94187369471945   EREDIRA AND ALEXIS   OSUNA             CO         90012633694
94191331955963   OLGA                 SANCHEZ           CA         48010993319
94191383471945   HEATHER              HALLSTROM         CO         90007563834
94191547791399   KRISHONDA            SMITH             KS         90014155477
94192414491882   FREDERICK            VAHLDICK          OK         21087464144
94192955955951   JUAN JOSE            GONZALEZ-CRUZ     CA         90009409559
94194272393755   MAUREEN              PURCELL           OH         90010962723
94195995141296   SAMUEL               SCHADE            PA         51053399951
94196122655957   ALFREDO              HERNANDEZ         CA         90005161226
94212335991951   LA QUINTA            THORNTON          NC         90013123359
94212638177537   DAVID                BRANSON JR        NV         43095556381
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94212753991592   ARMIDA         NUNEZ                   TX         90008017539
94213144693755   BRITTANY       PARMAN                  OH         90007701446
94213263171945   CATHERINE      MALMGREN                CO         90012832631
94213818161977   PERLA          YANEZ                   CA         46002768181
94213879691599   GIO            CANO                    TX         90011988796
94214161671945   CIRILO         ESTEBAN MENDEZ          CO         90013751616
94214353955963   NORMA          CUEVA                   CA         90012993539
94217889991399   CHANTEL        YOUNG                   KS         90010228899
94218228755963   DIANE          BEALS                   CA         48011792287
94218818893732   TERRY          DABE                    OH         64516938188
94219356291599   GUSTAVO        CHAVEZ                  NM         75062443562
94219832491951   SARAY          CAMACHO                 NC         90013048324
94223315155951   GLORIA         LUA                     CA         49003873151
94223654861977   RUTH           BENNOUNA                CA         90003776548
94225786771945   ELISA          BOSLEY                  CO         90011997867
94225851161977   MARIA          ALONSO                  CA         90013358511
94225975791951   EILEEN         PEIEZ                   NC         90015039757
94227369671945   JUILO          MEDINA                  CO         90015093696
94227568177537   LUIS ALBERTO   ROMO                    NV         90012135681
94228196341296   THOMAS         PEZZANO                 PA         51094281963
94228387355951   RUBEN          SERRANO                 CA         90013173873
94229288781634   KIA            OATES                   MO         90003052887
94231172155957   JACQUELYN      GAINEY                  CA         49010471721
94231392961977   RICARDO        IBARRA                  CA         90011133929
94232586991882   JIMMIE         CRAFTON                 OK         21066135869
94233382771945   CATHERINE      FLYNN                   CO         90006453827
94236442255951   CHUY           NAVARRO                 CA         90007174422
94239142461977   JOHN           SMITH                   CA         90015151424
94239468281634   JAMES          HATCHER                 MO         29037584682
94243171655963   ERIKA          GARCIA                  CA         90014691716
94243881161977   ANDRES         CHANCOT                 CA         46030468811
94244625755951   IRA            HERNANDEZ               CA         90010256257
94245989491399   ANTONIO        MENCHACA                KS         90010869894
94246498591951   ABDULLAH       SIDDIQ                  NC         90013354985
94246724581634   FREDY          GUZMAN                  MO         90000737245
94247652955957   HNOU           LEE                     CA         90010706529
94248372155951   ALEJANDRO      LAGUNA                  CA         49077483721
94249296691399   SUPPORT        R SPORTS                MO         29061682966
94251718171945   DAVID          MARTIN JR               CO         90014807181
94252934641296   JAY            JHA                     PA         90013929346
94252946681634   MARITZA        MARTINEZ                MO         29006359466
94253382393755   SHEILA         ELLIOTT                 OH         90014723823
94254884741296   MARY           CEREZO                  PA         51046378847
94255884655963   AURORA         MORENO                  CA         90014928846
94263141491399   ERIN           EMERSON                 KS         90013961414
94264699971945   ALFREDO        RODRIGUEZ               CO         32037366999
94266774155951   STEPHANIE      TABALDO                 CA         90014677741
94267444291951   JAY            ROBINSON                NC         90015054442
94268139755951   VICTORIA       ISLAS                   CA         90010601397
94269768877537   LETICIA        CAMARENA                NV         90014097688
94271715681634   ANTOINETTE     IRVIN                   MO         90005647156
94273355293732   GENEVA         FLYNN                   OH         64549663552
94275142861977   KIMBERLY       ARREOLA                 CA         90007431428
94279154891399   SAUL           PALACIOS                KS         90001001548
94279477577537   ANDREW         HOLLEY                  NV         90014664775
94282291655951   NELSON         HERNANDEZ               CA         90004852916
94282678191599   XOCHITL        CUEVAS                  TX         75000816781
94283266191599   ALEJANDRA      CALDERA                 TX         90011992661
94283847241296   SOLOMAN        BEY-WILLIAMS            PA         90013288472
94284535891399   JUANA          ARITA                   KS         90012245358
94284983361977   DAVID          KEALOHA                 CA         90014859833
94286873493778   EDWARD         MCCORMICK               OH         90014248734
94288195171945   BRYCE          CEJKA                   CO         32001521951
94288412655957   HENRY          ESQUEDA                 CA         49082224126
94289251271945   REINA          MARTINEZ                CO         32096932512
94291111957564   MINERVA        RODRIGUEZ               NM         90003121119
94291694891951   DEIDRA         CAMP                    NC         17030936948
94292333191399   LEE            JUNIOR                  MO         90008863331
94293133391951   JACINTA        BARNETTE                NC         90013141333
94293893877537   JAMIL          HAMID                   NV         90011498938
94294712991599   ISAIAS         RODRIGUEZ               TX         75015567129
94295162577399   KARLA          CROWLEY                 CO         90000921625
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94295176841296   GINA         LEWIS                     PA         90015211768
94295483141275   MISTY        BROWELL                   PA         90012224831
94295645755975   TAMMY        PORTILLO                  CA         90010266457
94295915393755   BRENDA       BLACKMON                  OH         90007389153
94296136993755   DAWN         WOODRICK                  OH         90009941369
94296786591554   NORMA        HERNANDEZ                 TX         75015737865
94298164955957   ROBERT       CORONA                    CA         90014811649
94298653791544   PRISCILLA    MARTINEZ                  TX         90001596537
94298785477537   ACE          KELLEY                    NV         43032947854
94299273931429   ALICIA       SINGLETON                 MO         90014772739
94311976561977   JOEL         CRISOSTOMO                CA         90005339765
94315964441255   MARISSA      LEPPLA                    PA         90008739644
94316275181634   MARIO        ARMENTA                   MO         29010362751
94316862893755   SKYLER       CAMPBELL                  OH         90014368628
94317131291969   ANA          TICAS MORENO              NC         90014961312
94322172871945   PAYGO        IVR ACTIVATION            CO         90012881728
94324436891399   BEVERLY      ANDRUCE                   KS         29003504368
94325454791951   ANTWAN       GARNER                    NC         90011434547
94328247393755   JOSE         UZHCA                     OH         64517632473
94328532661977   GILBERT      SANDOVAL                  CA         90010375326
94328565655951   ALMA         ALEMAN                    CA         90004385656
94332239555951   RICHARD      DIAZ                      CA         90013482395
94332682391399   JANETTE      NORIEGA                   KS         90012376823
94333292871928   EDWARD       HART                      CO         90005712928
94335516171945   ELICK        CORTEZ                    CO         90013665161
94335994691399   JANAE        BETTS                     KS         90012269946
94336548391399   LUIS         FERNANDEZ                 KS         90011145483
94336623855957   ELIAS        MENDEZ                    CA         49087786238
94337193993755   MONICA       JONES                     OH         64583601939
94337262491599   SUSANCA      GUITERREZ                 TX         90011152624
94338466191599   ISSAC        ESPINOZA                  TX         90013904661
94338664891951   SHAUNTIA     WATSON                    NC         90010346648
94339847855951   JOSEPH       SANCHEZ                   CA         90001428478
94344887955951   ESTHER       VASQUEZ                   CA         90007808879
94346682591882   ANNETTE      DIGGS                     OK         90004596825
94347539161979   ANTHONY      EDWARDS                   CA         90012205391
94348351161977   MARGARITO    LIZARRAGA                 CA         90010703511
94348873755963   SYLVIA       RIOS                      CA         90008978737
94349231793755   AMY          HAMBLIN                   OH         64578852317
94351153791599   MARIA        QUINTANILLA               TX         75073121537
94351497255951   ABIGAIL      MARTINEZ                  CA         90000554972
94352266891399   SHARIANN     ESCOBEDO-RODRIGUEZ        KS         90014352668
94352641155963   WENDY        STEFFEN                   CA         90013536411
94355482877537   DANIEL       MARK                      NV         90005684828
94356269977537   ANA          RODRIGUEZ                 NV         90007982699
94357982241296   COLLEEN      NESBITT                   PA         90012189822
94358934871945   KEYLEE       FERGUSON                  CO         90012059348
94361681361977   DANIELLE     HENDERSON                 CA         90013646813
94363623191599   RAQUEL       ALVAREZ                   TX         75072306231
94365193391882   RADIANCE     BELCHER                   OK         90003161933
94365212393755   LAINEY       MARSDEN                   OH         64587492123
94365322491399   JOSE         DOMINGUEZ                 KS         29037943224
94368422455957   JUAN         ORTEGA                    CA         90014874224
94371667655963   TRISHINA     YOUNG                     CA         90011346676
94372746891885   TERA         ARNOLD                    OK         90012587468
94373738371945   CHRISTINA    WEBSTER                   CO         90012557383
94373772181634   RAMOS        ESCALANTE                 MO         29067867721
94374876771945   GLORIA       ARCHULETA                 CO         32098578767
94374979755951   JUAN         DOMINGUEZ                 CA         90013779797
94375775891399   ANTONINA     OCHOA                     KS         29078677758
94376137691399   ROSE         LUDEMAN                   KS         29018131376
94378875661977   GARY         HOLMES                    CA         90010988756
94379397491951   TYNISHA      DIXON                     NC         90013153974
94381577961979   ELVIRA       VASQUEZ                   CA         90006205779
94382443491599   EVANGELINA   DIAZ                      TX         90003344434
94382613193732   MELISSA      HALE                      OH         90005776131
94382765961977   KATHERINE    PAJARO                    CA         46014827659
94383418691951   JASON        POLLARD                   NC         90013154186
94385416391951   CHARLES      WHITE                     NC         17085454163
94386218591951   TAMMY        ANDERSON                  NC         90010672185
94386339157123   ANNEGRET     STEPHAN                   VA         90014343391
94386749151351   JOANNE       HART                      OH         66064717491
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94388145593732   REBA         KOVACS                    OH         64564561455
94388334691599   JULIO        TRUJILLO                  TX         90014043346
94389999451351   NICOLE       LARSON                    OH         66076049994
94391959277537   LANELLE      DELLIQUADRI               NV         43068719592
94392513555957   LEANNA       HERNADEZ                  CA         90014405135
94392857255975   VICENTE      SEGUNDO                   CA         90003478572
94395185477537   CHUMPOL      ROBIN                     NV         43087751854
94396791191599   CESAR        ALVAREZ                   TX         90011027911
94397383161977   MONICA       OCHOA                     CA         46067503831
94399562291579   DELFINO      GUERRA                    TX         75078185622
94399711677537   ROMAN        VEGA                      NV         90014527116
94411862591599   LAURA        TARIN                     TX         75099288625
94414214491399   YOLANDA      SANCHEZ                   MO         90013652144
94414711455957   HEATHER      DODSON                    CA         90014357114
94416894691599   RIOS         FERNANDO                  TX         75076048946
94417487733698   TANNIS       LITTLE                    NC         12098244877
94418866391399   SANDRA       WILSON                    KS         29074078663
94419455661927   MONICA       CASTANEDA                 CA         90006284556
94419559633698   DAVID        BURTON                    NC         12014015596
94419859877537   WINSTON      SAM                       NV         90013358598
94423155171945   JENIFFER     CURTIS                    CO         32000561551
94424482755963   CATALINA     MATA                      CA         90013974827
94425236831646   CASSIE       COOPER                    KS         90013472368
94427588591399   DANIEL       RIVERA                    KS         90006325885
94427651877537   JACOB        HAHN                      NV         43070746518
94428243791599   VICTOR       RODRIGUEZ                 TX         75052892437
94428314455963   RYAN         SILVA                     CA         48067033144
94428767761954   ERNESTO      GONZALEZ                  CA         90002267677
94428788691882   KIESHA       NERO                      OK         90006487886
94429211581634   KIPPY        MORRIS                    MO         90013282115
94429218591951   TAMMY        ANDERSON                  NC         90010672185
94429311771945   MORNINSTAR   GONZALES                  CO         90012503117
94429383455963   TOMMY        MONTALVO                  CA         90012203834
94432245961977   NANCY        KARINA                    CA         90012942459
94433339855951   ANTHONY      PALLAYA                   CA         90005323398
94434436777537   RAY          FERRO                     NV         90014864367
94436271541288   WILLIAM      LEMON                     PA         51062642715
94436299693755   TERRANCE     DIMITRIUS                 OH         90012312996
94436313991399   GESENIA      ASTORGA                   KS         90010683139
94437296191599   IRIDIAN      MOLINA                    TX         90008092961
94437314455963   RYAN         SILVA                     CA         48067033144
94437634391882   AMANDA       LUNDY                     OK         21044876343
94438936377537   ALEXANDER    SHROPSHIRE                NV         90013549363
94439468855951   TAMARA       REYNA                     CA         90014804688
94442378781634   NICHOLLE     CANADY                    MO         90006913787
94443123261977   JAVIER       MARTINEZ JR               CA         90000281232
94444393861977   LILIA        QUINTANA                  CA         90004293938
94445188891544   LORRAINE     ORTIZ                     TX         75094871888
94445461261977   MAYRA        GARCIA                    CA         90009564612
94446378855963   ERIKA        ALCALA                    CA         48090903788
94447535871945   ROBERT       PESANTE                   CO         90011885358
94447894277537   ROBERT       MITCHELL                  NV         90013308942
94447912491399   ALICIA       MORRISON                  KS         90003489124
94449914155951   ASHLEY       CALLISON                  CA         49040769141
94451548371945   MICHAEL      SERRANO                   CO         90012845483
94453287971945   ARGENTINA    GARCIA                    CO         32098122879
94453466191882   SHANNON      HUCKEBY                   OK         21022644661
94453958355963   HECTOR       FLORES                    CA         90014449583
94455121791399   FLOR         G                         KS         90003941217
94455333171945   SHI          HILTON                    CO         32050683331
94458384177537   JENA         ZIMMERMAN                 NV         90014513841
94459324755951   ELVA         LOPEZ                     CA         90007753247
94464159193778   TINA         FRANKINBERG               OH         64526341591
94464569761977   VICTORIA     LOPEZ                     CA         90011855697
94464715591951   MARIA        LOPES                     NC         90010757155
94464883891599   ANA          MORENO                    TX         75031518838
94466838393732   JAMI         MORRIS                    OH         90014488383
94467532955951   ESTRELLA     HUGARTE                   CA         90000555329
94468915791599   ALINE        ZAMORA                    TX         90013789157
94469235961977   PENNEY       CRAWFORD                  CA         90006942359
94469812955957   ERIC         TENORINO                  CA         90009338129
94471165761977   JOSEPH       SHEFFIELD                 CA         46088221657
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94471455971945   LUIS          HAO                      CO         90002304559
94471598755951   MARGARITA     LOPEZ                    CA         90006915987
94471665844362   MIGUEL        DIAZ                     VA         81046266658
94472165855963   EVA           NIGG                     CA         90007611658
94473149961979   DAVON         FIELDS                   CA         90007141499
94473527555963   ERICKA        TAPIA                    CA         90013605275
94475471361977   JOSE          PERAZA                   CA         90008344713
94475744291399   RAMON         LARA                     KS         90010257442
94476775593755   PATRICIA      MCCOY                    OH         90012167755
94477164855951   STEPHANIE     TAYLOR                   CA         49078971648
94477554771945   BLANCA        HERNANDEZ                CO         32055615547
94479758677537   JOSE DANIEL   TORRES TORRES            NV         90013577586
94481535671945   DANIEL        CHAVEZ                   CO         32096305356
94482422671945   REGINALD      CARTER                   CO         90013754226
94485577277537   ADELA         CASTILLO                 NV         90003755772
94486358655963   CONSUELO      MORALES                  CA         90012013586
94487572441296   TERRY         PATTERSON                PA         51008125724
94489252691599   LEIVA         ANGEL                    TX         75066952526
94491472761977   GILBERT       FRANCO                   CA         90014484727
94492251971945   MARK          HARRIS                   CO         90012782519
94494342493755   BRANDON       UNSWORTH                 OH         90012673424
94494579455951   ROSIO         HURTADO                  CA         90013285794
94495316971945   NAZAEL        HERNANDEZ                CO         90010433169
94495319661977   VICTORIA      BALAGOT                  CA         46088223196
94499499677537   ANDREW        SNYDER                   NV         43016324996
94512527191951   NOLVERTO      PEREZ                    NC         90010395271
94513329471945   WESLEY        CARRIER                  CO         90012993294
94514345391599   SANDRA        PALACIOS                 TX         75082573453
94514865771945   MATTHEW       SOILAND                  CO         90013438657
94516888491951   MANUEL        SIERRA                   NC         90013258884
94518229877537   DONALD        LAYTON                   NV         90006022298
94518322493755   MICHAEL       CLEVINGER                OH         64551433224
94518548371945   MICHAEL       SERRANO                  CO         90012845483
94522964293755   BONNIE        HUNT                     OH         64588459642
94522985355957   SHELLY        JENKINS                  CA         90000709853
94523128861977   JESSICA       BARREIRO                 CA         90014881288
94523494573261   RODOLFO       LOPEZ                    NJ         90014784945
94524711393732   DAWN          LEDFORD                  OH         64540337113
94525945155963   LANA          FRANK                    CA         48088459451
94526283561977   HENRY         DOMINGUEZ                CA         46013132835
94526334691599   JUAN          PALOMARES                TX         90008533346
94527512961959   NORMA         OVANDO                   CA         90011645129
94527714791951   MAURICE       CATES                    NC         17007467147
94527963881634   ROBBIE        BAKER                    MO         90010069638
94528832191399   GLORIA        ARGENTINA                KS         29018158321
94529482477537   AMY           BUCHANAN-RODRIGUEZ       NV         90008714824
94531228771945   REYNALDO      DIAZBLANCO               CO         90015002287
94531916663627   RACHEL        SEYBOLD                  MO         90014879166
94532297555963   JOSE LUIS     ARRELLANO                CA         90002482975
94533448851391   JALIL         RASHEED                  OH         90006284488
94533942981634   ADIB          RAHMAN                   MO         90004739429
94534143855963   HALEY         MCLEAN                   CA         48012571438
94534681451334   RITCHIE       VON                      OH         90003136814
94535388177537   CARMEN        COLORADO-RAMOS           NV         43027783881
94535819491599   QUETZEL       OLIVAS                   TX         90010828194
94536468855951   TAMARA        REYNA                    CA         90014804688
94537612655957   PRISCILLA     MORALES                  CA         90012656126
94538529561977   LORENA L      PEREZ                    CA         90005185295
94538984691951   BERENICE      MONROY                   NC         17096239846
94539573491882   JOHN          BRIAN                    OK         21016375734
94539772161937   JOSH          TATE                     CA         90015087721
94539944991599   OSCAR         MEDRANO                  TX         90013789449
94541798755963   KARINA        ZEPEDA                   CA         90009137987
94542627241279   HORACE        OSBOURNE                 PA         90004966272
94542653155963   MADELINE      HOGGARD                  CA         48059756531
94542952677537   STACY         FISHER                   NV         90015149526
94543927961941   ELI           DUARTE                   CA         90004579279
94545414255957   COLLLIN       JOHNSON                  CA         90013904142
94546179591599   LUPE          BADILLO                  TX         75085441795
94546574277537   DAVID         PETERSEN                 NV         43068645742
94551627691399   LUIS          ORELLANO                 MO         90012226276
94553134177537   TIFFANY       FREDERICK                NV         43056481341
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94553245181652   LUIS         CALDERON                  MO         90006202451
94554763991599   TANISHA      LEWIS                     TX         90009177639
94554919493755   BRYAN        ALEXANDER                 OH         90006229194
94556535661977   CHRISTIAN    ORTIZ                     CA         46043435356
94556622177537   KIMBERLY     WISEMAN                   NV         43086696221
94559298477363   RUBEN        MORALES                   IL         90015022984
94559337771945   NALLELY      OROS                      CO         90004503377
94561445981634   HENDERSON    SHERMANE                  MO         90011594459
94562781155963   SHIRLENE     GRIFFIS                   CA         48050977811
94562814155951   JENNA        VELASQUEZ                 CA         49001298141
94563634655958   ANAMARIE     DELGADO                   CA         90009036346
94563772191951   ANGELA       HESTER                    NC         17080907721
94564572371945   JONATHAN     MCCORMACK                 CO         32002895723
94564617291599   CRYSTAL      MENDEZ                    TX         90002966172
94565129971945   JULIO        CARCIA                    CO         90009471299
94565277991882   STARLA       ELSTON                    OK         90006802779
94566235641296   RALPH        LICATA                    PA         51055402356
94567536671945   LAURA        E ARCHULETA LATRELL       CO         32089825366
94571458261977   YVONNE       MARTINEZ                  CA         90012104582
94571843893755   MICHELLE     CHERRY                    OH         90011948438
94572941481634   VICKIE       MERSMAN                   MO         90012479414
94573724293747   MARLENE      SHAKIR                    OH         90006137242
94574564355963   CHARLES      GRAHAM                    CA         48082755643
94575771155957   DAMIEN       MURRAY                    CA         90002637711
94576341371945   DENNIS       ARMENTA                   CO         90003753413
94576915991599   RUBEN        AGUIRRE                   TX         75005029159
94578872891599   PHILIP       PEDREGON                  TX         75082698728
94581239777537   CRAIG        LANFAIR                   NV         43091622397
94581614433698   CATRINA      BRIGGS                    NC         12010816144
94584997955957   SIERRA       PALMANTIEL                CA         90013299979
94585166691399   ROSALINDA    ONGJOCO                   KS         29082441666
94586171193755   THERESA      TERRY                     OH         64532381711
94587299591399   MARVIN       GUERRA                    KS         90012342995
94588568891532   AARON        FLORES                    TX         90010025688
94588575277537   JUAN         COLLAZO-LOPEZ             NV         90013205752
94589286691599   CELESTE      VILLARREAL                TX         90012462866
94589831993778   AIMEE        UWINEZA                   OH         90011628319
94591251431459   DARRYL       HAWKINS                   MO         90004292514
94593348761977   ALEX         BEAS                      CA         90001803487
94594375891599   JUAN         CRUZ                      TX         75004293758
94595132493732   MARKEIDA     BROWN                     OH         90003341324
94595251277537   NICOLE       FERGUSON                  NV         43018352512
94597272791599   MARIA        MUNOZ                     TX         90012452727
94598397191951   FELICIA      BRUNSON                   NC         90010473971
94599342555951   YOLANDA      ESPINOSA                  CA         90015073425
94611587577537   BRITTANY     ALLRED                    NV         90012345875
94611744291951   DOMINIQHE    RASHUN                    NC         90010327442
94614166991599   ANGELICA     SANCHEZ                   TX         90010971669
94614947241296   KELLY        RAFFAELE                  PA         90014559472
94616184861977   ADRIANNE     NIVENS                    CA         90015151848
94616376591532   VICTOR       CHAVEZ                    TX         90013553765
94616742191599   PERLA        HIPOLITO                  TX         90002067421
94618428691399   LINDSEY      MEIER                     KS         29079904286
94619118141296   VAUGHN       BUCHHEIT                  PA         51084231181
94619245655951   PATRICIA     SALGADO                   CA         49098482456
94621744161977   RICARDO      PEREZ                     CA         90011417441
94623963891882   REGINA       MCCLENDON                 OK         90013809638
94623973193755   CINDY        NOLAN                     OH         64568339731
94625611857141   SANDY        FUENTES                   VA         90012316118
94625761293755   JESSICA      THOMAS                    OH         90011927612
94629933555957   JM           JONES                     CA         90009299335
94632187791399   KYSTINA      COWAN                     MO         90014711877
94632574255963   BARBARA      TOLEDO                    CA         48092185742
94634171161977   CARLOS       LARIOS                    CA         90008361711
94634275191399   SOFIO        MERA                      KS         29019172751
94637297461977   OSCAR        BALTAZAR                  CA         90012392974
94637648391599   RAMON        AVILA                     TX         90010496483
94638278991927   KEAONDA      EDMUNDSON                 NC         90012832789
94638798391399   MARCUS       SMITH                     KS         90012927983
94639443671945   JUANA        LOPEZ                     CO         90004434436
94641351241296   KEVIN        BEATTY                    PA         51057533512
94641421655951   RENEE        KREMER                    CA         90013304216
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94641421961977   MARTHA            ARAIZA               CA         90012534219
94642757771945   LINDA             JACKSON              CO         90012557577
94643112541296   RECARDO           RAMIREZ              PA         90006471125
94643214791399   HECTOR            FRIAS                MO         90013072147
94644932577537   ARIANA            ESTRADA              NV         90010259325
94646623377537   KATHRINE          MCGUIRE              NV         43092376233
94647421961977   MARTHA            ARAIZA               CA         90012534219
94648978655963   SAMANTHA          OROSCO               CA         90011629786
94649132155957   ERICA CHRISTINA   VALLE                CA         90005461321
94649271555932   ELIZABETH         ORTIZ                CA         90015262715
94652748971945   JACOLBY           WILLIAMS             CO         90012497489
94652818855963   JOSEPH            MOLINA               CA         90012628188
94653188471945   ROBERT            FERRIS 3             CO         90009121884
94653719391399   KAREN             PHILLIPS             KS         90012267193
94655576155951   MELINDA           LOPEZ                CA         49094285761
94655784555957   CELESTINE         MARTINEZ             CA         90009787845
94656323555963   MAE               CEDANO               CA         90012403235
94656341591951   JEFFREY           REVELS               NC         90013363415
94657112255957   GAIL              MARTINEZ             CA         90010571122
94657768377521   CHRISTINA         MORENO               NV         90013317683
94658545991951   MAGDELENA         CORREA               NC         17062275459
94659348955951   NANCY             VUE                  CA         90013513489
94661223891951   MIGUEL            REYES                NC         17077892238
94661245991599   SAUL              SALOMEE              TX         90010902459
94663111171945   SANDRA            IBARRA               CO         90009671111
94663887491399   TADEO             SERRRANO             KS         29092738874
94664461455951   REGINA            ROGERS               CA         90002734614
94665451761977   MYRNA             CRUZ                 CA         90015014517
94665854981652   DAVID             NORMAN               MO         90010748549
94665966155963   CLEOTILDE         CUEVAS               CA         90013119661
94669872191399   DENISE            WILLIAMS             MO         29058618721
94671847855957   ELVIA             MARTINEZ             CA         90014538478
94673154841296   STEVE             GLOVER               PA         90007531548
94673466391399   EDGAR             PASCUAL              KS         90015044663
94674922877537   ARACELY           SOSA                 NV         43009769228
94675766991599   MARIO             PAULDO               TX         90014847669
94678837555957   MAI               LEE                  CA         49077838375
94679665455963   HORTENCIA         GARCIA               CA         90009176654
94681298891599   ARIANNA           RODRIGUEZ            TX         90009412988
94681851561977   MARY              MATTHEWS             CA         90014698515
94683548891599   PERLA             CORRALEJO            TX         90001285488
94683986191399   ROSA              VAZQUEZ              KS         90007769861
94687515191921   ANTHONY           WARREN               NC         17011405151
94687658391951   NICODEMO          OROZCO               NC         90013366583
94688122391399   RICHARD           WILLS                KS         90014761223
94688859741296   SHANELL           HOWARD               PA         90012788597
94689366461556   SHAWN             TUNNICLIFF           TN         90014233664
94691497691579   MARI              LEAL                 TX         75093624976
94692564961977   JAVIER            GARCIA               CA         46072975649
94693959691951   ROY               TABORN               NC         17072589596
94694469491599   ANCEL             BO BARTLETT          TX         90000624694
94695984561977   GARCIA            ANAHI                CA         90007889845
94696157591599   ERIVES            GIBRAN               TX         90015181575
94697511755951   GARY              GURRUSQUIETA         CA         90015055117
94698483231424   ROSHELLE          MOORE                MO         90013584832
94699473291951   WILLIAM           FULTON               NC         90013384732
94711354491599   JESUS             REYNA                TX         75033173544
94711424855951   ERWIN             ECHAVEZ              CA         90014654248
94713263761977   GREGORY           NAVARRO VALADEZ      CA         90013632637
94714813581634   ROSANA            LYNN                 MO         90010608135
94716329981634   LYNN              ATCHISON             MO         90009593299
94716655491399   BERTA             SANTIAGO             KS         29056676554
94716882291554   SARA              OLIVAS               TX         90009198822
94716942671945   JESSE             MARTINEZ             CO         90014599426
94717868771945   ARBY              GARCIA HERNANDEZ     CO         90013988687
94718935771945   PORFIRIO          GONZALEZ             CO         32021699357
94722716441296   HEATHER           LENNON               PA         51089297164
94723621855957   PAHAL             KAUR                 CA         90015006218
94725454147971   AMANDA            BARTHOLOMEW          AR         90011324541
94725711177537   PATIENCE          RALSTON              NV         90012697111
94725929661977   ARACELI           LERMA                CA         90014319296
94726842861977   JOSE HECTOR       RAMIREZ              CA         90014708428
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94728858955963   MARTIN        GOMEZ                    CA         90007668589
94729114891399   JENNIFER      CLARK                    KS         29061081148
94731585591951   GANIYU        IRANLOVE                 NC         90010495855
94732613391399   ADRIANA       SANTOS                   KS         29035756133
94732958191882   EYRA          ROMERO                   OK         21084679581
94733526481634   NATALIE       VELAZQUEZ                MO         90003665264
94735489391599   ROLANDO       PRICE                    TX         90010954893
94736167391599   MONICA        TREVIZO                  TX         90011401673
94738651555951   DAVE          MAN                      CA         90012296515
94741359955963   ERIKA         RODRIGUEZ                CA         48052483599
94741451693755   BETTY         GOINES                   OH         64550554516
94742163977537   LUIS          ALVAREZ                  NV         90012491639
94742218355951   ALMA          SILVA                    CA         90005462183
94743244593755   CHRISTOPHER   GENTRY                   OH         90015322445
94746129481634   STAR          JACKSON                  MO         29023891294
94747116961954   ARUTRO        MORALES                  CA         90008681169
94749546461977   LEONDRA       DELOS SANTOS             CA         90014485464
94751818591599   RODOLFO       GONZALEZ                 TX         75011578185
94754667591599   PERLA         SAENZ                    TX         90001336675
94754873961977   RODRICK       WILLIAMS                 CA         90013918739
94755995391951   ARGENIS       QUINTANA                 NC         90010499953
94757339555957   JESSICA       ENRIQUEZ                 CA         90015093395
94761312655951   CHRIS         ANAYA                    CA         90013113126
94761663891399   ANTHONY       REYES                    KS         90014306638
94761977193755   SHAWN         DESHANE                  OH         64511499771
94762733291399   DIEGO         SOTO                     KS         90008787332
94763364455963   FELICIA       GUTHRIE                  CA         90014793644
94766114355957   JOSE          RODRIGUEZ                CA         90014321143
94766565293732   KYLE          COPELAND                 OH         90003345652
94766878855951   ALEX          FLORES                   CA         90014958788
94768742461979   HUGO          JAIME                    CA         90003207424
94768972261977   THERESSAH     RODRIGUEZ                CA         46037759722
94769168991599   AJ            TRUJILLO                 TX         75016981689
94769612755951   WHITFORD      TAMI                     CA         90003876127
94772173591951   CHERISE       MCMANUS                  NC         90013421735
94773428593755   CLYDE         CRAVER                   OH         90012824285
94776695191882   JAMIE         BOHANNON                 OK         21094496951
94777366855951   AMANDA        MYLES                    CA         49085733668
94778441155963   PETE          SUNIGA                   CA         48088994411
94783274991599   ERIKA         RUIZ                     TX         90012452749
94783369177537   MARIO         ZARAGOZA                 NV         43046993691
94783449193778   KRISTIE       MCKNIGHT                 OH         90007774491
94784554777537   CHANEL        HOPKINS                  NV         43011825547
94784567255951   PATRICIA      VASQUEZ                  CA         90007945672
94786172655963   BETTY         ALVARADO                 CA         90012871726
94787463491399   TORI          CHEFFEN                  KS         90015124634
94787899991951   JEU           SANCHEZ                  NC         90006648999
94787932791399   MARIANO       DELGADO                  KS         90012439327
94791318255963   LAURA         VEGA                     CA         90005383182
94795114181634   ELENA         HERNANDEZ                MO         29078861141
94795116961977   EDDIE         ESTRADA                  CA         90010801169
94797114271945   JOSE          JAQUEZ                   CO         32052081142
94798558993736   AMY           DEGARMO                  OH         90011135589
94811418255975   SERGIO        MATA                     CA         90006544182
94811683855951   MICHELE       MILER                    CA         90015006838
94812597855963   SUSANA        BARAJAS                  CA         48004265978
94813744661921   ADRIANA       CORONA-GASTELUM          CA         90012207446
94814547193746   KIMBERLY      DARE                     OH         64591505471
94816514191599   LUIS          AGUILAR                  TX         75026295141
94816546461977   LEONDRA       DELOS SANTOS             CA         90014485464
94819547891399   KENDRA        DIONNE                   KS         90012325478
94819692293755   JOHN          KAEHLER                  OH         64534496922
94821223591599   RICARDO       GARCIA                   TX         75087922235
94823257955957   MARY          BARBER                   CA         49044422579
94824652291599   AMANDA        MACIAS                   TX         90000626522
94826296161977   BLANCA        NAVARRO                  CA         90014912961
94829448461977   ROSALINDA     OVIEDO                   CA         90013974484
94831482355951   JORGE         LOZANO                   CA         90012304823
94833357193732   GRACE         PETREMAN                 OH         64568683571
94834644655957   CARLA GEAN    GARCIA                   CA         90003796446
94838853341296   MELISSA       BRADLEY                  PA         90015138533
94842599881634   ANN           DEC                      MO         29090545998
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94843668171945   ADRIANA          ZELAYA                CO         90001126681
94845468993732   ANA              VANEGAS               OH         64568694689
94847215693755   GLORIA           NUNN                  OH         90003652156
94847718955963   ANDREA           KEEL                  CA         90009177189
94847943693746   JOSHUA           LITTLE                OH         90002279436
94853614971945   CLAUDEANA        CHAPMAN               CO         90012256149
94853649391599   FRANK            MOLINAR               TX         75083126493
94853651671945   HOLLY            GILLESPIE             CO         90007936516
94855833255951   DESHAWN          REED                  CA         49006128332
94855892391599   JAMES            THOMAS                TX         75016378923
94856286591951   LILIAM           CARIAS                NC         90010512865
94858364271945   SCOTT            CLAY                  CO         32039653642
94859663193755   DAVID            HOWARD                OH         64576906631
94859793971945   MELISSA          TYLER                 CO         90014237939
94861782393755   SAMANTHA         WALKER                OH         90011447823
94861895791399   VERNA            SMITH                 KS         29008838957
94863487561977   ALEJANDRA        QUEVEDO               CA         90011194875
94865217391592   LUZ              SOSA                  TX         90013262173
94865896691553   MELISSA          LUGO                  TX         90007448966
94866182755951   MACIAS           VALENTINA             CA         90011951827
94866866251373   O DELL           HOLLIDAY              OH         90013118662
94867241791599   MARIA            AGUIRRE               TX         90013232417
94867597793755   CYNTHIA          MILLER                OH         64591595977
94868266461977   MARTIN           ROSAS                 CA         90009652664
94868628955957   AIOTEST1         DONOTTOUCH            CA         90015116289
94871993691599   ENRIQUE          MELERO CONTRERAS      TX         90013909936
94873255155951   RAMONA           MULLINS               CA         90013032551
94873386141296   JUDY             MORGAN                PA         51072383861
94875421441296   SHEILA           HALL                  PA         51083504214
94875624591599   MARTINEZ GOMEZ   BRENDA ISELA          TX         90009966245
94875814277537   LUIS             SOLORIO               NV         90009408142
94875863261977   MENDONZA         JUAN                  CA         90004138632
94876499771945   LONNIE           DURHAM                CO         90009964997
94876528177537   DEVON            WEBB                  NV         90010265281
94877151471945   KURTIS           HIBBITTS              CO         90013761514
94878837255951   JAVIER           MARTINEZ              CA         49052968372
94879942661977   SERGIO           PAREDES               CA         90001899426
94882333955963   MIGUEL           MOSQUEDA              CA         48014533339
94882581877537   CAROLE           FLYNN                 NV         43013745818
94883132793755   JENNIFER         PEIRSON               OH         64506401327
94884871171945   CHRISTINE        HARBERT               CO         32048098711
94884935755963   KIMBERELY        NAJERA                CA         90014289357
94885212293755   ERICA            ARCHIE                OH         90010332122
94885239191882   ELIDIA           LOPEZ                 OK         90005482391
94886791861977   ANGELICA         MUÑOS                 CA         46050907918
94887343671945   SANTIAGO         KELLY                 CO         90004253436
94887617791599   JESSICA          FLORES                TX         75063066177
94889245961977   NANCY            KARINA                CA         90012942459
94889252977537   VALENTIN         JUAREZ                NV         43092642529
94891112193721   LACEY            MOORE                 OH         90009271121
94891416193732   DEVANTE          MONTAGUE              OH         90005944161
94893253391399   SAMANTHA         HICKMAN               KS         90001562533
94893511455963   RUBEN            RAZON                 CA         90013055114
94893842631651   LEAH             HANSON                KS         22011158426
94894285577537   OMAR             AGUILAR-CHAVEZ        NV         90015032855
94894968671945   JOHN             HOOPER                CO         90011149686
94895186355951   EDDIE            GUTIERREZ             CA         90009471863
94895214377537   MARICELA         OJEDA                 NV         43008422143
94898177793755   TYLA             MAYS                  OH         64565891777
94911683161977   ROCIO            SOLORIO               CA         90014816831
94912619955957   PA HOUA          VANG                  CA         90012996199
94912691891399   RUDY             PADILLA               KS         29026356918
94913415571945   AZUL             CIELO                 CO         32043514155
94913837355951   HERMINIA         GUILLEN               CA         90001318373
94915416161982   MARTIN           STENGER               CA         90010714161
94917316161979   JUAN             SANCHEZ               CA         90006343161
94917339555957   JESSICA          ENRIQUEZ              CA         90015093395
94919233941296   CARLOS           DUKES                 PA         90011312339
94921223741296   BRITTANY         MILLER                PA         51004882237
94921295991951   SHAYNEA          HOWARD                NC         90004982959
94921354491599   VANEESSA         LOPEZ                 TX         75075983544
94921493891955   LUIS             MORFIN                NC         90003854938
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94921749155951   JASBIR       SINGH                     CA         49096317491
94923359191399   JOEL         BECH                      KS         90011353591
94923623977537   JUAN         DUENEZ                    NV         43073536239
94927248655957   MELLISA      FERNANDEZ                 CA         90013702486
94927748293755   MENDIE       LANKFORD                  OH         64582707482
94928885455951   MARICELA     HERNANDEZ                 CA         90015108854
94934124761979   MARGARITA    FRCHO                     CA         90003231247
94935334271945   SHANTEL      KERR                      CO         90013423342
94935389977537   SANDRAMARI   HERNANDEZ-PLASCENCIA      NV         43012123899
94936991391599   MARIA        CASTRO                    NM         90011899913
94938433391399   MARY         DAVID                     KS         90012654333
94939141791599   GABRIEL      MIRANDA                   TX         90012211417
94941622255951   JAIR         CHAVEZ                    CA         49085236222
94942931677537   WILLIAM      QUOETONE                  NV         90012399316
94943962761951   RAFAEL       VELAZQUEZ                 CA         46067839627
94944692181652   PAULO        ZAGADA                    MO         29009886921
94945864191599   OSCAR        RAMIREZ                   TX         75070888641
94946283261979   JAIME        PALACIOS                  CA         90003232832
94946754155963   BRAVLIO      RAYA                      CA         90010027541
94947222555951   SAMUEL       ZAMUDIO                   CA         49096382225
94949334691599   JUAN         PALOMARES                 TX         90008533346
94951437855963   CINTYA       GOMEZ                     CA         90014934378
94952369355963   LUIS ERNES   GARCIA                    CA         48000663693
94953352891951   MARIA        VILANUEVA                 NC         90007173528
94953495747973   LEJUANA      DICKERSON                 AR         24014764957
94953846693755   LEEANNE      DANIELL                   OH         64518728466
94953986655951   JIMMY        SANDERS                   CA         90012999866
94955818177537   DAVID        AGUIRRE RAMIREZ           NV         90014868181
94956347191399   JUAN         MARTINEZ - SALOMON        KS         90012443471
94958322651365   BARBARA      RUCH                      OH         90013633226
94959585491399   TERRY        ROBINSON                  KS         90012625854
94959686577537   FABIOLA      HERNANDEZ                 NV         43057956865
94961367161977   TAMARA       KASEM                     CA         90012563671
94963252481634   JONATHAN     MANNING                   MO         90006402524
94963459191599   DANIEL       GARDEA                    TX         90009564591
94963669161977   MORRIS       GILCHRIST                 CA         90013656691
94963687293732   JENNIFER     IQBAL                     OH         90004656872
94963825555963   EVERT        SAUSEDO                   CA         90006938255
94965486493755   REBECCA      POGUE                     OH         64567604864
94965544555963   MARISSA      CORTEZ                    CA         90013605445
94967655541296   FRENK        TINGER                    PA         90014066555
94968532961977   KARLA        CASTANEDA                 CA         90005185329
94969188471922   ROBERT       FERRIS 3                  CO         90009121884
94969581171945   ANGELINA     SHUMAKER                  CO         32089715811
94971417647973   APRIL        HOWARD                    AR         90010534176
94973517193755   TYLER        BOCOCK                    OH         90012695171
94974496591599   MATHEW       TRONCOSO                  TX         90008884965
94976469177537   MICHAEL      CROSS                     NV         43094034691
94978319741296   KENNITE      HATTEN                    PA         90014693197
94978993561977   HECTOR       RODRIGUEZ                 CA         90013989935
94979278355963   MARY         JEFFORSON                 CA         90006602783
94982641355963   PAYGO        IVR ACTIVATION            CA         90010946413
94982686541255   REGINA       KAMAUF                    PA         90010906865
94983116371945   TARA         SANDS                     CO         90009661163
94983715261977   EDGAR        AGUAYO                    CA         90014577152
94984847491599   REYNA        RIVERA                    TX         90012058474
94985466961977   ISABEL       MENDOZA                   CA         90015014669
94987836281634   KARLA        FREDRICKSON               MO         29085838362
94989812841296   TONI         JOHNSON                   PA         51098428128
94989878493755   SHANDORA     NORRIS                    OH         64551498784
94993957491599   EUGENIA      LOPEZ                     TX         90012749574
94995384271945   LEXI         MARSHALL                  CO         90012123842
94995963355951   LUCIA        HERNANDEZ                 CA         90009179633
94997289791599   LUIS         ROSALES                   TX         75040162897
94997932547924   JASMINE      GUARDADO                  AR         90004769325
94999455491399   SHANA        BALTIMORE                 KS         90003504554
94999782331651   ARTHUR       HAYZLETT                  KS         90009697823
95111219355975   DANIEL       CHAVEZ                    CA         90003382193
95112981955957   GEORGINA     FERNANDEZ                 CA         49014889819
95113915693755   ADRIAN       HOLLAND                   OH         90001589156
95114981655957   LISA         KELLY                     CA         90005239816
95115191591399   ANGEL        LEMUS                     KS         29002771915
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95115826291599   DANIEL       RODARTE                   TX         90011598262
95117435191951   WANDA        CARRINGTON                NC         17060684351
95118765991599   ALEJANDRO    HERNANDEZ                 TX         90013787659
95119541555951   CARRIE       CASTANEDA                 CA         90013055415
95121448761977   ALEJANDRA    MEDINA                    CA         90013134487
95121455441296   DENNIS       DOWNEY                    PA         90010774554
95125895391599   ISELA        CALDERA                   TX         90005998953
95125911955957   JOSEFA       NERI                      CA         90009579119
95126177191599   SONIA        GONZALEZ                  TX         90005781771
95127245691531   RAUL         RAMIREZ                   TX         90014672456
95133963193755   RICHARD      COBB                      OH         90010879631
95134321555957   KATHRYN      DOMINQUEZ                 CA         90014253215
95137337655957   MARIA        BARAJAS                   CA         49005593376
95137484285969   ABEL         ARIAS                     KY         90001344842
95137979633698   LAMAR        MARSH                     NC         90004319796
95138842172475   PAYGO        IVR ACTIVATION            PA         90004668421
95139288891531   SUZANNA      ORTEGA                    TX         75087112888
95141146444392   BROWYN       GRAY                      MD         90015091464
95141925655951   RITA         HERNANDEZ                 CA         90012349256
95142981491951   MAYERLI      LAGUNA                    NC         90013579814
95143345155951   SAVANNAH     ZUNIGA                    CA         90008913451
95143888955935   ALONDRA      VARGAS                    CA         90008568889
95147327955951   DUSTEN       MUCKEY                    CA         90001463279
95148335691531   IVETTE       RAMOS                     TX         75074473356
95149949631448   DONALD       MOHRMANN                  MO         27516479496
95151763877537   ALICIA       FRANKLIN                  NV         90015117638
95152782791599   JOSEFINA     QUINONEZ                  TX         90013257827
95153336391951   DANIEL       RICHMOND                  NC         90015583363
95154216591951   ALEXANDRA    ALVAREZ                   NC         90012732165
95154756391599   LESLIE       SOTO                      TX         75009257563
95154871977537   DYLAN        DARVIS                    NV         90014578719
95155293761977   HORTENSIA    MURILLO                   CA         46062012937
95165523491599   GISELA       NAJERA-DELONGORIA         TX         90011965234
95166269661977   ALISSA       SERRANO                   CA         90013142696
95166459991531   SOFIA        SOTO                      TX         90015014599
95168775991599   JOSE LUIS    ALVARADO                  TX         90003607759
95168875341296   MARTINA      PETERSON                  PA         51008908753
95173387793755   AMY          LINGEL                    OH         90012943877
95174578791399   GERMAN       MESA                      KS         90014165787
95174622661977   KRISTIN      ANDERSEN                  CA         46001846226
95175782393755   BRITTANY     DOBBS                     OH         90012297823
95175875593732   ANGEL        CHRISTMON                 OH         90006008755
95179212881634   ELMER        AGUILAR                   KS         29021872128
95182991891951   ALONZA       YATES                     NC         17039669918
95183671981634   BOBBY        ERSERY                    MO         90013446719
95184413472475   TONI         STOYANOFF                 PA         51072884134
95185995291599   JAVIER       GUTIERREZ                 TX         90003019952
95186294291399   TASHA        FIELDS                    KS         29052942942
95189451491951   ROGELIO      CALDERON                  NC         90013094514
95193117555957   JOBANI       TRUJILLO                  CA         90003651175
95193162891951   BEVERLY      JOHNSON                   NC         90014091628
95196284381634   NIKOLE       HENSON                    MO         90010532843
95197596956329   ALFREDO      ALCALA                    IA         90014725969
95197778677537   BARBARA      SPIKES                    NV         90013467786
95198654691951   ERIKA        KELLY                     NC         90000536546
95212656455957   ANTHONY      PRATHER                   CA         90012546564
95215338993778   BOBBY        CRIMES                    OH         64502723389
95215767793732   STEVEN       HENDRICKSON               OH         90009307677
95216434461977   CHARLES      MUELLER                   CA         90010524344
95216913366186   DAMIAN       GUZMAN                    CA         90015039133
95217937941296   ESSIE        CROWE                     PA         90015009379
95219483293755   LANDON       CHAMBERS                  OH         90012884832
95222536247973   RICKY        ODEM                      AR         90011075362
95222567391531   MARIA        SARELLANO                 TX         90012005673
95223567741296   JOHN         COBBS                     PA         90005875677
95224392981658   AMBER        DOUGLAS                   MO         90001293929
95225721577537   JESUS        GUERRERO-CHAVEZ           NV         90009607215
95225914355951   KUE          XIONG                     CA         90007429143
95226678355951   TYLER        CONLEY                    CA         90014926783
95228474455957   ANGELA       GOMEZ                     CA         49067784744
95229595191599   XAVIER       PLASENCIA                 TX         75075245951
95229758891551   JUAN         ZAMORA                    TX         90012787588
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95229962693755   KAELI        MORGAN                    OH         90013539626
95232234291951   IDALIA       LOPEZ                     NC         90013732342
95234873291399   ENRIQUE      ESTRADA                   KS         90014168732
95235116491531   NEYRA        ALCANTAR                  TX         75098741164
95237495691599   ANTONIO      SOSA HERNANDEZ            TX         90013064956
95237615591531   SOL          ESCARSEGA                 NM         75085436155
95237773655951   SANDRA       VALDORINOS                CA         90010687736
95241639191599   ANGELICA     ARMENDARIZ                TX         75058576391
95241971361977   JORGE        TAPIA                     CA         46015249713
95244841381634   CRYSTAL      ROSS                      MO         90013568413
95244945255957   SARAH        MADRID                    CA         90014179452
95246275755957   JAIME        LOPEZ-CARBAJAL            CA         90010562757
95246699291951   DELQUIN      LOCK                      NC         90009416992
95246866291526   JESSICA      FONG                      TX         90014308662
95246875955951   RAY          CORTEZ                    CA         49017998759
95248862691951   GLORIA       CARRILLOS                 NC         90011908626
95251443651325   KATHRYN      WILLIAMS                  OH         66073264436
95251822791599   ANABEL       PAYAN                     NM         90008108227
95252336893755   MARY         SCHROYER                  OH         90014483368
95253712591951   MARY         BRANCH                    NC         90012477125
95256789161977   DENNIS       BRZEZINSKI                CA         90013317891
95258453391951   BARBARA      CEPEDES                   NC         90011704533
95258456793755   CONSTANCE    STEPHENS                  OH         90004784567
95258739377537   TINAMARIE    SOSSAMON                  NV         90014887393
95259119955951   BOBBY        VELASQUEZ                 CA         90012741199
95259961251337   JONATHAN     HAY                       OH         90010319612
95262584791531   CLAUDIA      MONSIVAIS                 TX         90010315847
95262686393755   BRITTANY     DANCY                     OH         90013046863
95263718941296   MARQUIA      CHARAE                    PA         90009087189
95264267361977   LEONEL       AGUIANO                   CA         90003382673
95264442893732   JAKITA       BROWN                     OH         90002054428
95264524791399   DANA         DOOLEY                    KS         90010655247
95264555677537   NATALIA      AMAYO                     NV         90014035556
95265525791599   RUBEN        MOLINA                    TX         90002085257
95265565591399   R            JOHNSON                   KS         29004255655
95271635591951   BRIAN        ADAMS                     NC         90014416355
95271791491531   CASTILLO     CHRISTOPHER               TX         90010587914
95273147591531   ELIZABETH    CHAPARRO                  TX         90015021475
95273157955951   OLGA         FABIAN                    CA         90014451579
95273879641271   MAX          SMITH                     PA         90015048796
95274875955951   RAY          VILLA                     CA         90011098759
95274922633698   MSHAIRI      EVANS                     NC         12095419226
95275295155951   MAXIMINO     GONZALEZ                  CA         90014472951
95275592741296   AMY          MYERS                     PA         51079025927
95276627291399   MICHELLE     FERN                      KS         29052966272
95277327993732   STEVEN       SIMPSON                   OH         90005513279
95278584791531   CLAUDIA      MONSIVAIS                 TX         90010315847
95279785955957   CHESTIN      ROOTERS                   CA         49098527859
95279928991951   ROBERTHA     CRAWFORD                  NC         90013319289
95281784855957   MANUELA      CARRILLO                  CA         49026937848
95283721961977   JESUS        GONZALEZ                  CA         90008747219
95284268291951   OSHA         EDWARDS                   NC         90009182682
95287931877537   CRYSTAL      SNYDER                    NV         43038909318
95288342141296   ANTHONY      JONES                     PA         90013783421
95288655491951   SHONTEZ      HILL                      NC         90013986554
95293152785969   MARTHA       SCOTT                     KY         90004721527
95294245872475   EUGENE       PARKER                    PA         90001652458
95294571741296   SHARON       SMITH                     PA         90007465717
95294665255979   THOMAS       TREADAWAY                 CA         48061946652
95295249855951   ANITA        ROMERO                    CA         90013282498
95296793941296   LINDA        SMITH                     PA         90006347939
95297186741296   MARY         HUTCHINS                  PA         90015301867
95298612891899   MARVELL      CORREIL                   OK         90014806128
95298689791531   LUCIA        GUERRERO                  TX         90006966897
95299429981634   ANDREW       ECHCL                     MO         29006454299
95299451241296   TANIKA       TAYLOR                    PA         51050184512
95299633877537   MIGUEL       GONZALEZ                  NV         90012836338
95312535772475   THOMAS       ZENEWICZ JR.              PA         90012335357
95314245555957   PAUL         RODRIGUEZ                 CA         90015252455
95314678991399   SAUL         HOLGUIN                   KS         90012846789
95315862731651   DANIEL       HATFIELD                  KS         22098028627
95315989491554   DENNIS       SLOTHOWER                 TX         90011709894
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95316291291951   JOY          SPENCER                   NC         90014622912
95317748661977   LETICIA      LIRA                      CA         46050187486
95322593891531   NANCY        GUZMAN                    TX         90005585938
95323686991399   THOMAS       BRADY                     KS         29091496869
95324215693755   RUSSELL      JOHNSON                   OH         64551782156
95325153641296   SCOTT        BERESFORD                 PA         51055361536
95325545391951   DARRIN       FOWLER                    NC         17063845453
95328883991951   MICHEAL      SCOTT                     NC         90004188839
95328995155951   CRICKET      CRICET                    CA         90013419951
95329752961977   MARIE        MACIAS                    CA         46070057529
95331184693778   GEORGE       THOMPSON                  OH         90001621846
95332526193755   TANGIE       HALL                      OH         64581715261
95333518341296   CRAIG        BROOKS                    PA         90014675183
95333595861973   MIREYA       BRISENO                   CA         46088965958
95334699991599   NORMA        HERNANDEZ                 TX         90012626999
95337187277537   THEODORE     MILLER                    NV         43094531872
95343149861977   ALEXIS       CUBILLA                   CA         90013161498
95344248661977   JUAN         MONTOYA                   CA         90006982486
95344431993755   KRISTTEN     PACKNETT                  OH         90013264319
95345169577537   JOSHUA       FORCUM                    NV         90015041695
95345317291599   CYNTHIA      BALTAZAR                  TX         75044203172
95346282291399   MARIA        CORONA                    KS         29068152822
95351937191599   ESMERALDA    RODRIGUEZ                 NM         75086719371
95352276391951   ANDRICK      HERNANDEZ                 NC         90012592763
95352765277537   LUIS         PARTIDA OROSCO            NV         43076887652
95353745955957   MARIA        PRECIADO                  CA         90011767459
95353978641296   ROBERT       OLDS                      PA         51030749786
95354612161977   MARTIN       ROSALES                   CA         46094876121
95357957191554   VERONICA     MEDRANO                   TX         90000259571
95362165391599   ANNETTE      DELGADO                   TX         90014701653
95362882991399   KELLIE       WEST                      KS         29037268829
95363359793755   JIMMY        RHOADES                   OH         90014883597
95363676491951   QUINCY       BROWN                     NC         90015116764
95364856291579   EVANGELINA   MARISCAL                  TX         90010448562
95365899255951   SUNEMA       PAVLINE                   CA         90011098992
95366383461977   DAVID        JOHNSON                   CA         90000173834
95367624377537   OSWALDO      GODINEZ                   NV         90013046243
95368185791951   ROBERT       MACHUKI                   NC         90008141857
95368463591599   AMERICA      ALMEIDA                   TX         90012414635
95371393547871   STIEVIE      MALCON                    GA         90002213935
95373132941296   JASEN        WHITACRE                  PA         90015111329
95373337391599   FERNANDO     ALVARADO                  TX         90013753373
95373582841296   JASEN        WHITACRE                  PA         90007465828
95373831641296   JASEN        WHITACRE                  PA         90013958316
95376149455951   AMIN         ALGAZALI                  CA         90014151494
95377452291399   JESSE        CLARK                     KS         90001254522
95377661791531   PERLA        MENDOZA                   TX         90012816617
95378175891399   CRAIG        GRIDDINE                  KS         90014181758
95378686631952   PAMELA       RAKOWSKI                  IA         90010136866
95379783455951   CHERYL       JONES                     CA         90002557834
95381616355951   MARIA        CONTRERAS                 CA         90013216163
95382363141296   TRACEY       NODAROS                   PA         51038783631
95383123791399   GERARDO      RIOS                      KS         29008211237
95383335593778   MIKE         JOHNSON                   OH         90012853355
95383711391951   MARCUS       MOORE                     NC         90012917113
95385248493755   JAKE         WILLIAMS                  OH         90007672484
95387264755957   DUSTIN       LESAN                     CA         49083272647
95388122293755   YOHONA       ANDERSON                  OH         90011021222
95388827141296   LATERRA      ENGLISH                   PA         51096358271
95389291133698   JUAN         TORRES                    NC         12001752911
95389993491531   JESUS        GARCIA                    TX         90010589934
95392212555951   ANTHONY      MELODY                    CA         90009062125
95392848791526   LINDA        LOPEZ                     TX         90009448487
95394675391532   JESUS        CHAVIRA                   TX         90004526753
95396714555957   SHERRY       TORREZ                    CA         90010797145
95397211891599   MELISSA      HERNANDEZ                 TX         90006702118
95398417977537   ROBERTO      TORAL-RODRIGUEZ           NV         90012624179
95398429891399   JAMES E      SMITH                     KS         90011654298
95398993633698   ALLISON      HILL                      NC         12042869936
95399913977537   BEATRIZ      LEBENATICO                NV         90011799139
95411566391951   KENNETH      GREEN                     NC         90009555663
95413173693755   MORGAN       BUSH                      OH         90012141736
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95414697191951   TAMMY        PRIDGEN                   NC         17026696971
95415191191399   JULIO        LOPEZ                     KS         90005841911
95415541955979   SALVADOR     LLAMAS                    CA         90002355419
95416895893755   ASHLY        PENTLEY                   OH         90012748958
95417633433698   WILLIE       GODLEY                    NC         12020176334
95421553491951   KENDRA       WILSON                    NC         17094255534
95427494881634   BRE          BRE                       MO         90015164948
95431178433698   JAMIE        LOGAN                     NC         90009991784
95431256991599   BLANCA       LUJAN                     TX         90005202569
95432147855951   OMAR         ALGHAZALI                 CA         90014151478
95433987755951   MARIA        BECERRIL                  CA         49051099877
95434941791599   TOMMY        PANDO                     TX         75063799417
95435926561977   JONATHAN     PULIDO                    CA         90008959265
95436213691531   SANDRA       FERNANDEZ                 TX         75033292136
95436786877537   STACY        PEREZ                     NV         43029127868
95437132877537   BOBBIE       GRIGGS                    NV         90009541328
95437673891599   MARCO        DE LA CRUZ                TX         90011036738
95437983193755   RACHEL       PHIPPS                    OH         90015229831
95438882393755   SONJA        HICKMAN                   OH         90012688823
95439188785969   GABINO       LOZANO                    KY         90007341887
95439517191599   ANGEL        ACOSTA                    TX         90011445171
95441628691599   SONIA        TORREZ                    TX         90013326286
95443492891531   YANESKA      GARCIA                    TX         90015034928
95446118491531   GABRIELA     BLANCO                    TX         90010591184
95446124291399   YOLANDA      LICON                     KS         90011641242
95447492891531   YANESKA      GARCIA                    TX         90015034928
95448123691531   JOSHUA       GONZALEZ                  TX         90010591236
95448492891531   YANESKA      GARCIA                    TX         90015034928
95448492977537   NORA         ESPINOZA                  NV         43098674929
95451972877537   FRANK        GARCIA                    NV         43032679728
95452524177537   TRINA        MOFFITT                   NV         90004405241
95453126993755   TRACIA       HERBST                    OH         90004991269
95453574455975   SEASON       ELLIS                     CA         90006705744
95454349991399   FRANCISCA    PONCE-ACEDO               KS         90014183499
95454845755957   SHAWNTA      TOWNSEND                  CA         49088718457
95455955377537   DAVID        MORGAN                    NV         90014589553
95456436891531   ARMIDA       JASSO                     TX         90010004368
95456899355951   BEATRICE     MOLINA                    CA         90010278993
95459175491951   HOWARD       EARL                      NC         90015341754
95459966193755   SHARON       MEEKER                    OH         64598769661
95467411261977   EDUARDO      TAMAYO                    CA         46081574112
95467675691599   ROSALIO      CARRASCO                  TX         90011036756
95467851191399   DANEN        HAXTON                    KS         90007868511
95468534591531   CARMEN       DOMINGUEZ                 TX         75093095345
95473918555951   RICHARD      GARCIA                    CA         90012939185
95474256491399   MIRNA        SOTO                      KS         90004992564
95474975361977   TERESA       GONZALEZ                  CA         90000489753
95475471981679   MARIA        BALDERAS                  MO         90013664719
95481392891531   MICHELLE     SERNA                     TX         75033193928
95481695991599   VALDEZ       DENISE                    TX         75073556959
95482849493738   CYNTHIA      RUSSELL                   OH         90011308494
95483435631436   NEVA         GARRISON                  MO         27565294356
95483458544346   SHAWN        GREENE                    NC         82076234585
95483868177537   ANDREW       SELOVER                   NV         43005998681
95486278957126   MELBA        MALDONADO                 VA         90011802789
95491155355957   MELISSA      ROMERO                    CA         90012521553
95491248391531   EVA          CUELLAR                   TX         90008352483
95495765161973   YESENIA      ARAGON                    CA         90009287651
95496519491531   LAURA        MORENO                    TX         90015035194
95497926491531   FERNANDA     CHONG                     TX         90010679264
95499666693755   MELONIE      JOHNSON                   OH         90012766666
95499876791531   ALEX         ZUNIGA                    TX         75009428767
95511586491531   ANA          SOLIS                     TX         90009185864
95512798655957   MARSHAY      GROSS                     CA         90014257986
95519263891366   TAUSHA       PAYNE                     KS         90003372638
95522739377537   TINAMARIE    SOSSAMON                  NV         90014887393
95522863777537   RODOLFO      MORA-JIMENEZ              NV         90011458637
95527947691399   JASE         HERNANDES                 KS         90003539476
95528978451396   HARLIN       YOCUM                     OH         90009129784
95532849255967   MELISSA      PENA                      CA         90004858492
95533544191531   ALBERTO      SARMIENTO                 TX         90015035441
95533849255967   MELISSA      PENA                      CA         90004858492
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95536657961977   SANCHEZ        ALMA                    CA         90001886579
95538274491531   ROSA           MELENDEZ                NM         90007342744
95539299961982   ESTELLA        MADRID                  CA         90015042999
95539928591599   NANCY          VELD                    TX         90004049285
95544567941296   SUJATA         CHHETRI                 PA         90011485679
95544792655951   RODDASHIA      STENNIS                 CA         90010067926
95545837391877   ROBERTO        VASQUEZ JR              OK         90007488373
95546377133698   FARRY          BROWN                   NC         12097833771
95546955461977   RUBEN          MUNIZ                   CA         90006359554
95547129841296   DIANA          GARZA                   PA         51066761298
95548516377537   VICTOR         LOPEZ CAMPOS            NV         90013555163
95551547833668   JOE            DRAYTON                 NC         90014655478
95552459191951   MYRNA          WHITE                   NC         90007384591
95554889955951   ISIAH          THOMAS                  CA         90014858899
95555977291599   SAMANTHA       LOERA                   TX         90006249772
95556694855957   JUAN           BERBER                  CA         90014586948
95557174791599   SYLVIA         DAVILA                  TX         90012771747
95557567461977   ALIDA          AREVALO                 CA         90014825674
95559557491951   DR RUFUS       TAYLOR JR               NC         90010305574
95564874591599   SANDRA         SORIA                   TX         75036478745
95564877491531   DIANA          SANCHEZ                 NM         90013948774
95566646141296   CRYSTAL        KINSEL                  PA         51017676461
95569619291554   MIGUEL         ARZATE                  TX         75093856192
95569987555951   RYAN           RIOS                    CA         90009739875
95572227791532   JESSICA        AGUILAR                 TX         90007712277
95572496955951   EMILIO         BRISENO                 CA         90008794969
95572518951277   NICOLAS        BICHARDO                SC         90015105189
95572532231474   SUSAN          WILBERT                 MO         27591535322
95572898191951   LATASHA        WILKINS                 NC         90013708981
95572945691531   ARNOLDO        MARTINEZ                TX         90009819456
95572957233641   RAYMOND        ABELL                   NC         12091049572
95573689161977   CARLOS         FUENTES                 CA         46057146891
95573696855957   YANIRA         OSORIO                  CA         49083546968
95576854991531   BALDOMAR       SALAZAR                 TX         90000708549
95579189293755   JODI           DIXON                   OH         64567771892
95581963855951   JORDAN         CARDOZA                 CA         49073219638
95582765193732   ROBYN          ROBERSON                OH         64519637651
95583217677537   ERIC           HUNTER                  NV         90010962176
95585814855999   SELINA         DIAZ                    CA         90002998148
95585816891861   JENNIFER       MARSHALL                OK         90007118168
95586969241243   LATEKA         WASHINGTON              PA         90006209692
95587612755923   KATRINA        PUERNER                 CA         90006026127
95591344891531   CINDY          CANO                    TX         90010593448
95593559877537   RAMON          RODRIGUEZ               NV         90007895598
95593611241955   TAYLOR         ADAIR                   OH         90014356112
95595797655951   DE VANYE       DAVIS                   CA         90010707976
95596271491599   DAVID          RODRIGUEZ               TX         90001232714
95598754191399   LIZETT         FERNANDEZ               KS         90014337541
95611677993755   TANEISHA       HANSELMAN               OH         90015316779
95611811841296   EMILY          MILES                   PA         90009488118
95611823261977   GUADALUPE      GAMINO                  CA         90010538232
95612571791951   JOSUE          AGUILAR                 NC         17069465717
95614411991399   AMANDA         RUSSELL                 KS         90014764119
95615522991951   DENISE DORTY   DOUGLAS                 NC         90015255229
95616131891951   JOE            ROGERS                  NC         90003031318
95618146333698   SHAWN          RUSH                    NC         90010411463
95621876761977   TIM            HOWARD                  CA         90013438767
95621961591951   KENIA LARA     CASERES                 NC         90005179615
95622521441296   ALBERT         THOMKA                  PA         51090105214
95624589191599   ADRIANA        SOTO                    TX         90007925891
95624923581634   LATRICE        ROGERS                  MO         90014949235
95626419193755   MICHEAL        ALCORN                  OH         90011604191
95627647141296   CHARLES        FRANZ                   PA         51009946471
95628733193755   LORENA         RODRIGUEZ               OH         64504307331
95629519341296   ANTOINETTE     THOMAS                  PA         51065675193
95629796461977   ANDRES         MOLINA                  CA         90000177964
95632653521665   DELORIS        PRICE                   OH         90011546535
95634945655951   YOUNG          H                       CA         90014209456
95635729355951   FERNANDO       QUIROZ                  CA         90006657293
95636114877537   GRISELDA       GONZALEZ                NV         43071691148
95636315955951   LORIE          REMMER                  CA         49079263159
95636991791531   ELIZABETH      FLORES                  TX         75009649917
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95637642191399   JENNIFER      LOWE                     KS         90001826421
95637723677537   JACQUELYN     ROMERO                   NV         90014977236
95642225391599   APRIL         REYNOSO                  TX         90013742253
95642363841955   MANUEL        SALDANA                  OH         90013973638
95642932791399   MARIANO       DELGADO                  KS         90012439327
95643537955951   JEFF          JONES                    CA         90013055379
95646298285955   MARY          MANNIS                   KY         67015262982
95646728477537   ANA           FARIAS                   NV         90012977284
95648887684381   MORGAN        PRICE                    SC         90007768876
95649922155957   JACQUELINE    BAEZ                     CA         90014409221
95652179341955   JOSEPH        BADILLO                  OH         90014861793
95652221581634   MELANIE       BALLINGER                MO         90010522215
95652331491599   MIRIAM        OLIVARES                 TX         90006393314
95652798191531   CINDY         CHAIREZ                  TX         75041587981
95653959531655   CHRISTHEA     GRAY                     KS         90009619595
95654566741296   DEBORAH       STEVENS                  PA         51029305667
95657248255957   LORENZO       ALVARADO                 CA         90012522482
95658265455957   ROSEMARY      VALENZUELA               CA         49087042654
95659758455925   PEDRO         RIVERA                   CA         90011147584
95661545151337   ERICA         SANDERS                  OH         90008685451
95661594755957   FERNANDO S    SALAS                    CA         90013715947
95661726391599   BOBBY         BOOTS                    TX         90000947263
95662334991524   AMY           ESQUIVEL                 TX         90009393349
95663169793755   LEEANN        ENGEL                    OH         64582591697
95663315841296   WILLAAM       VETTERR                  PA         90010773158
95663933991599   JOSE          HERNANDEZ                TX         75036469339
95664587261977   ELSA          LEON                     CA         46012555872
95664912793755   LINDA         HINESMAN                 OH         64561309127
95665296581634   KIARAH        CARTER                   MO         90011432965
95665436731459   CHRISTOPHER   CARVER                   MO         90013364367
95667327641296   CHARMAINE     CORRIGAN                 PA         90011283276
95667334991524   AMY           ESQUIVEL                 TX         90009393349
95667375991399   JUAN          ORTIZ                    KS         90003243759
95668684777537   JAYNE         BARBER                   NV         43070256847
95669289591951   KAREN         REECE                    NC         90014812895
95673128541296   DAMIKA        MALLOY                   PA         90014711285
95673729531436   JEFF          ULICNE                   MO         90001447295
95674695451365   DONNA         COTTERELL                OH         90011926954
95676555991951   JOHN          THOMAS                   NC         90012645559
95677718955951   CHRISTINA     FLORES                   CA         90009877189
95678849991531   GEMA          ROMO                     TX         90012668499
95679379431491   SUSANE        CONRAD                   MO         90006213794
95679429161977   ANDREW        GRAYSON                  CA         46062314291
95679978993755   STACY         BEATTY                   OH         90012049789
95681315255957   VANESSA       SOTO                     CA         90015253152
95681541591368   GEORGE        POTTS                    KS         90011695415
95685177193755   CHARLES       HENGER                   OH         64574441771
95686643181628   TRACIE        RICE                     MO         90014676431
95686978891599   ALEJANDRA     SEANEZ                   TX         90013779788
95686978991951   NATASHA       ROGERS                   NC         90012179789
95687614781634   LULU          WAFER                    MO         29039666147
95688626493755   SARA          GUMBERT                  OH         90007546264
95694427691399   DEBBIE        WASHINGTON               KS         90008094276
95694453193755   MIKEITA       IVERYS                   OH         90010734531
95695391781634   TERRY         CARLISLE                 MO         29057383917
95697423477927   RYAN          BOOLIN                   IL         90013574234
95698721191399   TIERRA        TODD                     KS         90013627211
95698779291599   DANIELA       CARMONA                  TX         90013207792
95699281991951   KAREN         LITTLE                   NC         17074992819
95699334681634   FRANK         HARRISON                 MO         29002933346
95699589191599   ADRIANA       SOTO                     TX         90007925891
95712985555951   JESUS         RIOS                     CA         90015259855
95714259991399   JAMIE         GASAWAY                  KS         90011752599
95714311761941   IVAN          PALENCIA                 CA         90012773117
95715444291599   DIANA         NUNEZ                    TX         75036464442
95716613255957   KIMBERLI      YANEZ                    CA         49091586132
95718183791599   CLAUDIA       HERNANDEZ                TX         90008111837
95722163391531   ARTURO        ZAMBRANO                 TX         90005031633
95722471641296   JAMIKA        SMITH                    PA         51095294716
95727454355957   JUAN          MOLINA                   CA         90011314543
95727777177537   RACHEL        RICK                     NV         90014887771
95729946455951   CLAUDIO       VARGAS                   CA         90014999464
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95732367661986   NOEMI           CORTEZ                 CA         90006563676
95733582893732   DAVION          SOWEEN                 OH         90012945828
95734577391399   LOURDES         GUIZAR MENDOZA         KS         90013115773
95734988855951   ELIJAH TXIA     HER                    CA         90014019888
95737595991531   DAVID           ELIAS                  TX         90010595959
95738537955951   JEFF            JONES                  CA         90013055379
95739137355957   JESUSE          ARCHAN                 CA         90004551373
95741144155957   EVAN            MARTINEZ               CA         90013381441
95741592991531   ARMANDO         DE LA LUZ              TX         90010745929
95744265855957   RICKY           GARCIA                 CA         90015042658
95746255291599   FRANCISCO       BURCIAGA               TX         90011482552
95746559461924   CECILIA         MARTINEZ               CA         90012355594
95749154741296   BRADY           JONES                  PA         51089691547
95749824391599   VICTOR          CARDIEL                TX         90008818243
95751928177537   SAMANTHA        MOORE                  NV         90008959281
95752646155957   JONATHAN        RODRIGUEZ              CA         90009686461
95752841791951   LATOYA          BALLENTINA             NC         17031248417
95753744191399   TINA            MARION                 KS         90014387441
95755493361977   ANDREW P        LANARI                 CA         90003954933
95755992591531   CHRISTINA       LOPEZ                  TX         90001409925
95756541181634   FAIWAL          HOFF                   MO         90006315411
95756673555957   ELIZABETH       ESQUEDA                CA         49046906735
95756878477537   NIEKAYLA        WORRELL                NV         90009158784
95757768771922   MARIA           PLEWNIAK               CO         90013587687
95758355861977   NEREYDA         RODRIGUEZ              CA         90010543558
95761428961977   JUAN            CAMACHO                CA         90005344289
95762542191599   DELROSARIO      MARIA                  TX         75043955421
95763267491951   UNA             BRONSON                NC         90013742674
95763628191531   SERGIO          ACEVEDO                TX         75073186281
95764528191951   ISRAEL          GIRON                  NC         17001755281
95765163391531   ARTURO          ZAMBRANO               TX         90005031633
95765943241299   JAMES           MARTIN                 PA         90000249432
95768573691599   JAQUELINE       FRANCO                 TX         90012325736
95768661591951   JETORY          ANDERSON               NC         90015106615
95768743741296   ALAN            LAND                   PA         51032947437
95773516193755   PATRICIA        HAWLEY                 OH         64519785161
95773852791399   JULIO           HERNANDEZ              KS         90011668527
95775235591399   ERAZO           WILMER                 KS         90003672355
95775776993755   STACEY          HUNK                   OH         64503687769
95777393155957   ANGEL           HERNANDEZ              CA         90010643931
95778583591531   NOEL            PORTILLO               TX         75095525835
95781275191951   DAISIA          WHITHLEY               NC         90014502751
95782299891553   MIKE            PEOPLES                TX         75043772998
95782958191951   MICHELLE        DAVIS                  NC         90010239581
95784168255951   VALETTA         HARRIS                 CA         49066351682
95784549861964   JESSICA         GARCIA                 CA         90003895498
95784866877537   VICTOR          VASQUEZ                NV         43072018668
95785259261977   RAYMOND         MABEE                  CA         46084622592
95787429193755   LORI            HUTSELL                OH         90002744291
95788321477537   CAIN            AVILA                  NV         90012673214
95788642291951   JULIO           MARTIN VARGAS          NC         90013916422
95789313131459   NAYESHA         COURTNEY               MO         27583043131
95792449991599   MARIA           MARTINEZ               TX         90012734499
95792714655957   BRIAN MICHAEL   ODUM                   CA         90010567146
95793159155951   LAKESHA         COGHILL                CA         90013191591
95794218393732   JENIFER         OLT                    OH         90005622183
95794538791951   DARRELL         HUNTER                 NC         90010465387
95798773661977   ZOFIA           SANCHEZ                CA         90011897736
95799738791399   ADRIANA         CHAVEZ                 KS         29089287387
95811171361977   GABRIE          PEREZ GONZALES         CA         90000721713
95812176691599   RUBEN           GONZALES               TX         90012771766
95815312361977   GARCIA          SOLIA                  CA         90000133123
95816684891951   ERICA           DAWSON                 NC         90013796848
95824122981634   LAKSHIA         WRIGHT                 MO         29094211229
95824539155951   SHARVEL         BROWN                  CA         49088125391
95825345491399   LATASHA         ANN STEWART            KS         29058653454
95826564893738   SABRINA         LYONS                  OH         90007395648
95827115177537   MAYELA          SALINAS                NV         43058021151
95827317191599   MARTINA         ROBLES                 TX         75033323171
95827555991531   ASHLEY          MEJIA                  TX         90015045559
95831958791951   LAKESHIA        LYONS                  NC         90009369587
95832176191531   JESUS           LOPEZ                  TX         75035981761
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95832487261977   BOB          BARKER                    CA         90010544872
95832683977537   MELISSA      COLEMAN                   NV         90004986839
95833635693755   ANDREW       PETT                      OH         90009016356
95835126855957   FRANK        VASQUEZ                   CA         90011921268
95835775377537   ANNABELLE    CUNANAN                   NV         43074247753
95837167291951   JOHN         LLANO                     NC         90014751672
95837644355951   MARY         CRUZ-RIGNEY               CA         90012386443
95838772391599   MARGARITA    ESTRADA                   TX         90013787723
95842891955957   FABIAN       NUNEZ                     CA         90013448919
95843359693755   ROY          JONES                     OH         64549683596
95844316991951   ITEZ         CASTI                     NC         90015113169
95844857861977   LAURA        PARADE                    CA         90007928578
95845642381634   CHARLES      ANSCHUTZ                  MO         90006046423
95847315255951   SHADY        THAO                      CA         90014083152
95847692291599   RAMIREZ      CINTIA                    TX         90009456922
95847866791951   AMANDA       ALVAREZ                   NC         90014128667
95848219491531   KEVIN        PADILLA                   TX         90015042194
95852243491399   SHAWN        IRWIN                     KS         90014462434
95855413655951   RALPH        PIERCE                    CA         90007454136
95857618991544   JANNETTE     RUIZ                      TX         90009926189
95858865741296   JASON        MILLER                    PA         90002978657
95859877791399   ROBIN        HARRIS                    KS         90007568777
95861238651396   ALBERT       BARNWELL                  OH         66014522386
95861471455923   GUADALUPE    SALAS                     CA         90012694714
95861894291531   GRACIELA     ELIAS                     TX         90014348942
95862879455957   MICHELLE     MARTINELLI                CA         90006118794
95865157491951   PORSCHE      COPLIND                   NC         90014121574
95866323793738   NICOLE       BUREL                     OH         64542843237
95866526693732   NICOLE       BROWN                     OH         64527275266
95866933761977   JULIUS       LIPAYON                   CA         46026909337
95867771493755   GLENN        WALKER                    OH         90007377714
95874768491531   FABIOLA      LOPEZ                     TX         90010597684
95875853136148   MELISSA      MUNOZ                     TX         90004588531
95876569191399   LAZARO       AMADOR                    KS         90012675691
95876833991599   MARISSA      ARTEAGA                   TX         90011038339
95877123861977   EDWARD       PERRY                     CA         90009231238
95877223855951   FRANCISCO    VILLAGRAN                 CA         49095892238
95877564641296   JOHN         MONROE                    PA         90014275646
95877882491951   AMANUEAL     TEWOLDE                   NC         90013818824
95882462891531   ABEL         PARGAS                    TX         90014694628
95883955293755   JOSHUA       MARCUM                    OH         64530829552
95887819272457   CRYSTAL      HEITZER                   PA         90011548192
95889137791399   MONICA       HUNTER                    KS         90014241377
95889534591951   COREY        REID                      NC         90008595345
95889626355957   MANUEL       . BALDERAS                CA         49096386263
95889985155999   NANCY        AGUIRRE                   CA         49051539851
95897152255951   SUSANA       CALDERON                  CA         90015141522
95897348491531   GLORIA       GANDARA                   TX         75050943484
95898337691599   GUADALUPE    FULLER                    TX         90013303376
95899514993732   THOMAS       ARBAUGH                   OH         90008615149
95911567441296   ZELLETTIA    BRANTLEY                  PA         90014275674
95912895191531   OSCAR        ONTIVEROS                 TX         75018958951
95914345881634   CHRIS        HANEY                     MO         29008153458
95915782141296   STEPHANIE    MEIER                     PA         90010617821
95916525793755   ANGELA       PETERS                    OH         64572795257
95918286381667   JON          DAUGHERTY                 MO         90002852863
95921746261945   OLANREWAJU   KUPOLUYI                  CA         46083377462
95922657493755   GINA         COOPER                    OH         90015326574
95923147371945   RESILETA     COOKE                     CO         90000481473
95925469291885   SHARON       LATIMORE                  OK         90010324692
95926654755957   SHANE        HODSON                    CA         90002826547
95927675641296   LORI         HUMPHREY                  PA         51054496756
95933377877537   MAYRA        JACOBO                    NV         90013793778
95935354241296   DEBRAH       TRZECIAK                  PA         51005893542
95936289377537   PABLO        SANCHEZ                   NV         90014172893
95937284793755   ALEXIS       HENDERSON                 OH         90005222847
95941179891531   NOEMI        DOMINGUEZ                 TX         90008131798
95942187191399   ROSALINDA    CASTULO                   KS         29061481871
95942641691951   LAURI        MARTINEZ                  NC         90008866416
95942648391599   EDGAR ALEX   RUBIO                     TX         90012326483
95944398291399   TARESSA      SWYGERT                   KS         90014243982
95945484491399   LONTISHA     TATE                      KS         90014284844
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95946536891951   CAROL              STEWART             NC         90013845368
95948838491531   MANUEL             ZUNIGA              TX         90005598384
95953143961977   DULCE              SANCHEZ             CA         90000181439
95954674561977   ARTURO             RAMOS               CA         90011866745
95954837677537   NICOLAS            GONZALEZ            NV         90012938376
95957787977537   PENDT              RUSSELL-SCOTT       NV         90011197879
95957987291951   VIOLA              MATTEWS             NC         17075699872
95958417977537   ROBERTO            TORAL-RODRIGUEZ     NV         90012624179
95959753377537   SELENA             MARTINEZ            NV         90014617533
95962442791951   DONTRISE           MALLOY              NC         90002514427
95962449491531   XAVIER             CARRANZA            TX         75061374494
95962814141296   CHRISTOPHE         MOULTHROP           PA         51084178141
95964587493755   MELISSA            STEWART             OH         90006125874
95965374191599   MARY               JOHNSON             TX         75050903741
95969749393755   ALBERT             WEBB                OH         90008717493
95969864991599   JOSE               GUTIERREZ           TX         90006678649
95972169191599   DALIA              VILLALOBOS          TX         90014211691
95973341991599   ABEL               HERRERA             TX         75063793419
95974955191531   VICTOR             QUIROZ              TX         90004609551
95976353754172   JAMIE              COOPER              OR         90010713537
95976459191951   MYRNA              WHITE               NC         90007384591
95982695691399   GEORGE             PALOMARES           KS         90012876956
95982927791531   KARRIE             WELLS               TX         90010719277
95984582391531   ROSA               CARDENAS            TX         90015045823
95985643255951   HENRY              TARVIN              CA         49000506432
95989189891599   TANIA              DIEGUEZ             TX         90012771898
95991243191531   MELISSA            MUNOZ               TX         90010602431
95995132841296   MARY               MBEWE               PA         51093931328
95995717791531   GENARO             DELGADO             TX         75010467177
95996621841296   GLORIA             TRAUD               PA         51025726218
95997599291599   ASHLEY             HENDRIX             TX         90005265992
95997877791531   HERREFRA           GUADALUPE           TX         75010468777
95998651741296   ROGER              JAMES               PA         90001776517
96112129691521   CORINA             CHAVEZ              TX         90014871296
96113315241296   NICK               GIESE               PA         90012683152
96113821691826   KARA               MARTINEZ            OK         90014308216
96113867291531   IDA                MACIAS              TX         75022198672
96113917491399   JONATHAN           READY               KS         90010189174
96113961797123   BATHSHEBA          CABALLERO           OR         90014989617
96114923597123   JAIME              PICKERING           OR         44021369235
96116557191599   PHIL               NELSON              TX         75081895571
96117828991521   RAUL               GARDEA              TX         75081078289
96118511955951   MARY               CLARK               CA         49059385119
96118759391951   SASLEE             TABORN              NC         90012157593
96119137391521   ALAN               SALAS               TX         90014871373
96119479541296   ERIK               HANNOLD             PA         51090444795
96119638391599   JORGE              GOMEZ               TX         90015206383
96121973561499   ANTONIO            GALVAN              OH         90012349735
96122399391521   PERLA              TORRES              TX         90014863993
96123181891599   ALFREDO ISMAEL     ISMAEL MARCADO      TX         90004401818
96123457697123   BRENDA             JOHNSON             OR         90004824576
96124132891531   CRYSTAL            RAMOS               TX         90008711328
96124638391599   JORGE              GOMEZ               TX         90015206383
96125394577537   JARED              WHITMORE            NV         90001653945
96125961797123   BATHSHEBA          CABALLERO           OR         90014989617
96126841497123   ANITA              WHITE               OR         44070748414
96127146291521   AMANDA             CASTILLO            TX         90014871462
96128118691951   ALLAN              JOYNER              NC         90013941186
96128884291951   ARMANDO            GUZMAN              NC         90008388842
96128884961977   MARIA DEL CARMEN   PENA                CA         90011948849
96129147797123   TERRAANNE          PIPER               OR         90013561477
96129613991399   KARLA              ACOSTA              KS         90007746139
96131925555957   MARYANN            VARGAS              CA         49019429255
96134447591599   CRUZ               LEE                 TX         75013344475
96135746597123   ELISEO             GOMEZ               OR         44062127465
96136942977537   MELVIN             KNIGHT              NV         90012629429
96137763493755   AMBER              DEMMIS              OH         90012837634
96138146291521   AMANDA             CASTILLO            TX         90014871462
96139146291521   AMANDA             CASTILLO            TX         90014871462
96141551791521   DENISSE            RIVERA              TX         90007435517
96141643291951   LUCIO              CASTANEDA           NC         90014036432
96142471591399   TIFFANI            DIXON               KS         90014774715
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96142973891521   MANUELA      VALDEZ                    TX         90014419738
96145667391399   PEDRO        VASQUEZ                   KS         90014496673
96147679777537   MARIO        CORELLA                   NV         90000246797
96147881855951   ERYKA        PACHECO                   CA         90009278818
96148638391599   JORGE        GOMEZ                     TX         90015206383
96148641793732   CHAD         STEVENS                   OH         90003286417
96148687991521   ROSA         MORENO                    TX         75034406879
96149114493746   THOMAS       CZIKRA                    OH         64559091144
96149376993755   KIMBERLY     CATES                     OH         90014563769
96151228891951   ANGELA       NICHOLS                   NC         90002482288
96152166193732   CARLY        MILLER                    OH         90003131661
96153598293755   AMANDA       ADKINS                    OH         90014015982
96153846991951   JAMES        BOND                      NC         90015228469
96154162891521   DESIREE      MONTANEZ                  TX         90014871628
96155549892825   MIGUEL       AVILA                     AZ         90014185498
96155754397123   RICHARD      APODACA III               OR         90005297543
96157189291951   ESPERANZA    FLORES                    NC         90013941892
96157436684325   ALEJANDRA    GALLEGOS                  SC         90001764366
96158249571933   KIP          KOEHLER                   CO         90003182495
96158273197123   JUAN         ORDINOLA                  OR         44010692731
96158289491521   ENRIQUE      DELAROSA                  TX         75032002894
96158354191599   JORGE        RUIZ                      NM         90014943541
96159287761933   FADI         QAQO                      CA         90012492877
96161338955957   GARAN        BATES                     CA         49035403389
96163738197123   KATHLENE     NEAL                      OR         44076767381
96167532991531   CAROLINA     ACOSTA                    TX         75084845329
96169647491599   ELIAZAR      PONCE                     TX         90009586474
96173517897123   TREVOR       JAEGER                    OR         90011955178
96174653191531   EUNICE       DURAN                     TX         75093726531
96174658497123   ELIZABETH    BELTRAN                   OR         90011426584
96176467291521   MARISOL      AGUILAR                   TX         90010114672
96177988151342   CHERYL       FLICK                     OH         90004369881
96178581291599   ALEX         RAMOS                     TX         90003335812
96181948991599   RICKY        HARRIS                    TX         90013249489
96182498561558   KEVIN        THOMA                     TN         90006614985
96182814691521   MELISSA      ECHAVARRIA                TX         90013058146
96183338951342   DONNA M      HAMKER                    OH         90003903389
96184543691531   DINA         OZETA                     TX         75082825436
96187892191521   ENRIQUE      ESPINO                    TX         75044518921
96188477391521   IVETH        SERNA                     TX         90014414773
96189223591521   RICARDO      GARCIA                    TX         75087922235
96189584893738   ADRIAN       HARRELL                   OH         90012425848
96189717231476   DANIELLE     SIMPSON                   MO         27502137172
96189855561977   NICOLE       MIRANDA                   CA         90012728555
96192158191521   PILAR        FLORES                    TX         90005611581
96192769455957   ANDREA       MOJICA                    CA         49091587694
96193382291951   SEAN         BANNISTER                 NC         90010343822
96194585391521   JOSE         LEYVA                     TX         75059045853
96196873431952   LIZETH       GARCIA                    IA         90014038734
96197578821693   ADRIAN       ROBERTS                   OH         90015235788
96198563991531   TREJO        GUILLERMO                 TX         75081095639
96212247393755   JENNIFER     ARNETT                    OH         64528382473
96212413391951   CALVIN       PALMER                    NC         90014464133
96216679491521   EZEQUIEL     BARRAZA                   TX         75035026794
96216885877537   CLARK        LUCAS                     NV         43014738858
96217882993755   TAYLOR       PINSON                    OH         90013208829
96221995997123   SHEALYNN     GIBBONS                   OR         44057069959
96222411891526   NORBERTO     PEREYRA BARRON            TX         90012374118
96222976851391   KRISTINA     HARRIS                    OH         90012659768
96223715593732   MARY         PENDLETON                 OH         90014387155
96224781541296   DELETHIA     BUTLER                    PA         90005907815
96225454893755   EVON         HILL                      OH         64543864548
96225888291521   REBECCA      SOLIS                     TX         90013628882
96227365191521   ALICIA       COLTRANE                  TX         75097503651
96227438455951   BRYAN        PETERS                    CA         49006044384
96228655793755   TAMMY        GWIN                      OH         90003166557
96229477991399   JAMISON      GREIG                     KS         90010304779
96229873685834   EDGER        GONZALEZ                  CA         90003598736
96231223591521   RICARDO      GARCIA                    TX         75087922235
96231797697123   SSHARLENE    SAYER                     OR         90013627976
96232623691599   MARY         CALZADA                   TX         90013626236
96233419991531   MARIA        ARRENDONDO                TX         90001894199
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96233665341296   RENEE        GORDON                    PA         51014286653
96233696531459   JASON        REICHARDT                 MO         90006746965
96234126891951   WILLIAM      SANCHEZ                   NC         90007881268
96237871893732   SAAIBA       WASHINGTON                OH         90007038718
96238778741296   MARY         HOLDEN                    PA         51059867787
96239353891531   REYNALDA     GARCIA                    TX         90014953538
96239379881652   JOHN         FRAZIER                   MO         90012683798
96241468997123   CORNELIO     LOPEZ DIAZ                OR         44057044689
96241671877537   KYLE         MONK                      NV         90015206718
96243989355951   NATHANIEL    SMITH                     CA         49089049893
96244167741296   JAMIE        WOLOWSKI                  PA         90015051677
96244482991399   ANIBAL       LAZCANO                   KS         90014774829
96245729791521   ALEJANDRO    RODRIGUEZ                 TX         90007267297
96246465891599   ALLISON      SOLIS                     TX         90012154658
96248511391521   JAIME        GUERRA                    TX         90006695113
96249613291531   ERNESTO      GONZALEZ                  TX         75095676132
96249621791521   MANUEL       MARES                     TX         90004186217
96249677941296   DARRELL      OAKS                      PA         90014816779
96252554961977   MALESIA      HERNANDEZ                 CA         90004175549
96252652255957   DANIEL       CAMPOS                    CA         90013096522
96252668791399   CRITY        NUNN                      KS         90010036687
96253262677521   TYRONE       ALLEN                     NV         90012982626
96255532381669   STEPHANIE    MOHAMED                   MO         29002735323
96258492597123   JOSHUA       HAMILTON                  OR         90013784925
96259133451342   ADAM         MORGAN                    OH         66032241334
96259262991531   MARIBEL      URDAIBAY                  NM         75018772629
96259524391399   EMILY        GAMMILL                   KS         90013485243
96261338291399   MARISELA     GALVAN                    KS         90009893382
96262182991531   FABIOLA      ROBLES                    TX         90011471829
96262587541296   COURTNEY     COLLINS                   PA         90013155875
96264634591951   QUINTISHA    SHERARD                   NC         90010696345
96265731591521   RAUL         LOPEZ                     TX         75090047315
96266191791531   EDUARDO      MATA                      TX         90013611917
96266619491521   JUAN         CAMACHO                   TX         75033266194
96267493491951   NICOLE       SMITH                     NC         90010694934
96267615641296   HALEY        GEMMA                     PA         90010606156
96267616461977   ROBERT       GARCIA                    CA         90011536164
96268563991531   TREJO        GUILLERMO                 TX         75081095639
96269223291521   ARMANDO      CALDERON                  TX         90005532232
96269928497123   THERESA      VELASCO                   OR         90001279284
96271445271949   LELAND       MASCARENAS                CO         90008254452
96271488991599   GABRIELA     AVILA                     TX         90013914889
96273526991532   ROXANA       CORTEZ                    TX         90009725269
96274487691531   LORENZA      AGUILAR                   TX         75011434876
96274723597123   PERLA        VALERIA                   OR         90013557235
96274998991399   RICARDO      MARTINEZ                  KS         90012379989
96275767841296   NIGEL        MORALEZ                   PA         90011487678
96276332891399   BRENDA       GONZALEZ                  KS         90013683328
96276342491951   JUDITH       DISNEY                    NC         90010833424
96279631497123   P HAUTH      KURT                      OR         90003066314
96286153591399   ROSALBA      VALENCIA-MENDOZA          KS         90014161535
96286181893732   AMANDA       SHUTTS                    OH         90010871818
96287252261977   IVETTE       MARSHALL                  CA         90012492522
96288889391951   EDRICKA      GOGGANS                   NC         17093758893
96289214991531   ROSA         SALINAS                   TX         75012922149
96292159957126   ELIZABETH    QUEZADA                   VA         90005551599
96292798391531   SUSANA       FRANCO                    TX         90007617983
96292832377537   DEBRA        CLEMENT                   NV         43089498323
96294224591951   FELIPE       GONZALEZ                  NC         90006202245
96298885655957   ANGELO       GOROS                     CA         90012548856
96299992791399   CARRIE       REEVES                    KS         90000549927
96311162491399   NORMA        ROBLES                    KS         90014161624
96312162491399   NORMA        ROBLES                    KS         90014161624
96312452561977   DAVID        FERNANDES                 CA         90014034525
96312534991951   FLETCHER     NORWOOD                   NC         17079875349
96312851391521   GUADALUPE    CASTAÑEDA                 TX         75004098513
96313582891521   GONZALO      VARILLAS                  TX         90010115828
96313772891955   THOMAS       ALLEN                     NC         90014317728
96313779277537   JOSE         MACIAS HERNANDEZ          NV         90013887792
96314252291951   ISAAC        MIGUEL                    NC         90015152522
96314334531651   DANNY        HENDERSON                 KS         90008183345
96315258891951   JESSICA      SMITH                     NC         90012192588
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96316148477537   JOSE          ANTONIO                  NV         43077801484
96317128255957   PAUL          HENTZ                    CA         90008991282
96318552191399   DANIEL        BRACK                    KS         90013075521
96319432861558   PAYGO         IVR ACTIVATION           TN         90015064328
96319821261977   CHRISTINA     OROPEZA                  CA         46009688212
96321145855957   JUDY          FERNANDEZ                CA         49004421458
96321417997123   CARLOS        GONZALEZ                 OR         90014554179
96321648791599   GUADALUPE     VASQUEZ                  TX         90012986487
96323618497123   SARAH         GOEBEL                   OR         90014336184
96324454951342   DAVID         JENKINS                  OH         66067934549
96325414481676   CASHAUNA      KIRBY                    MO         29014304144
96327574497123   ANA           QUINTERO NUNEZ           OR         90013865744
96327677391951   ALMA          GOMEZ                    NC         17005836773
96328337577537   GAYLE         BAILEY                   NV         43056533375
96333952391399   ELISA         SUAREZ                   KS         90012499523
96334586291951   GILMORE       DEJUAN                   NC         17041945862
96335216961956   KIMBERLY      EDMONDS                  CA         90003922169
96335585141296   HARRY         NICHOLSON JR             PA         51063265851
96337818391521   LAZARA        RODRIGUEZ                TX         90014888183
96338124561977   MELANIE       CAMACHO                  CA         90014401245
96338136691399   VICTOR        ORTIZ                    KS         29057041366
96338643591521   SIMON         ROBLES                   TX         75034806435
96339647477537   CHRIS         STREITLER                NV         90014816474
96339816155951   AQUINA        BAULKMAN                 CA         90011238161
96341367691531   ROBERTO       LOPEZ                    TX         75012923676
96341733297123   LYDIA         PARKS                    OR         44050437332
96343648277537   BRANDON       BONIFACE                 NV         90015156482
96345744891531   PATRCIA       FLORES                   TX         90001977448
96346173451342   DUANE         BAUGHN                   OH         66050411734
96349231391966   MARCELLIN     MODGE SR                 NC         90004502313
96352564291531   ROCIO         ALVARADO                 TX         75022715642
96352674855957   DAVID         GARFIAS                  CA         90013486748
96355627893755   KENDRA        BASIL                    OH         90011146278
96356135991521   MARINA        JARA                     TX         90014881359
96356438393755   KADESHA       MARTIN                   OH         90014564383
96356581741296   TENEKA        JONES                    PA         90014135817
96357377961928   AARON         RADECKI                  CA         90011983779
96359617755957   YANG          KOUA                     CA         90009766177
96359667251342   JEFF          HUNT                     OH         90004216672
96359945193755   SAM           MELGOZA                  OH         90013759451
96363474191531   JANET         RAMIREZ                  TX         90010944741
96364267491399   ANNA          GARCIA                   KS         29085832674
96364651477537   JAYSEN        PATTERSON                NV         90015286514
96367211393755   NOAH          BOYD                     OH         90010682113
96367219191843   CURTIS        HARRISON                 OK         90009342191
96367452191399   KENDRA        COKS                     KS         90013154521
96367599291531   ASHLEY        HENDRIX                  TX         90005265992
96367641955957   AIOTEST1      DONOTTOUCH               CA         90015116419
96368919341296   VALERIE       QUINN                    PA         51001579193
96368934377537   DEANNA        DURLER                   NV         90008359343
96369461193732   GREGORY       BROWN                    OH         64549954611
96371119793782   ALBERT        BIRT                     OH         90002521197
96371364997123   PATRICIA      JOHNSON                  OR         90009533649
96372583991531   VICTOR        GONZALEZ                 TX         75022715839
96373228391936   JAVIER        ZAPATA                   NC         17029362283
96373445841296   HOWARD        RAMEY                    PA         90009274458
96374225151337   KAREN         DAVIS                    OH         90013882251
96375378631469   YOLANDA       GALVIN                   MO         90013163786
96375539197123   GUADALUPE     ZENDEJAS                 OR         90008575391
96377226761977   ARMANDO       GOMEZ                    CA         46092852267
96377819291399   CHRISTOPHER   SPEAR                    KS         90010018192
96378458955957   LENORE        DE ALBA                  CA         49036084589
96378688291399   CRISTIAN      SOLANO                   KS         29049866882
96378831191521   GLORIA        OCHOA                    TX         90005208311
96379491455951   ERIKA         LIMON                    CA         49090504914
96382129991531   MIA           AMORE                    TX         90007901299
96382549757124   JOSE          MARTEL                   VA         90009895497
96382579897123   ERIKA         MUNOZ                    OR         90007195798
96383393797123   KEVIN         WILLIAMS                 OR         90012333937
96383843151328   NATHAN        ASBURY                   OH         66089258431
96385656355957   CHRISTIAN     HURTADO                  CA         49082836563
96388554955951   ALBERT        OCHOA                    CA         49073225549
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96388923191599   JESUS            PANTOJA               TX         90015119231
96391725891399   TIMESHA          SMITH                 KS         90014517258
96393218955957   IRMA             REAL                  CA         49015652189
96393918891951   DARREN           TAYLOR                NC         90008269188
96394459597123   KRISTEN          WINGFIELD             OR         90013294595
96394789893732   SHERITA          EARLEY                OH         64544857898
96396481391599   AVILA DE RUBIO   LEONILA               TX         90010774813
96397197841296   DAVID            KELCHNER              PA         90014921978
96397593977537   TALATALA         POOI                  NV         90014595939
96411546691399   MIGUEL           VILLAREAL             MO         90008205466
96414859177537   STEVE            ARAGON                NV         90014088591
96415513377537   JENNIFER         HUBLER                NV         90014815133
96416387755957   MICHELLE         FARIAS FERREL         CA         90012383877
96418116991599   CLARA            GUTIERREZ             TX         90011481169
96418983997123   LARRY            RIGGS                 OR         44071729839
96421914961988   LUKE             KENNISON              CA         90011919149
96421969197123   JARED            EMRY                  OR         90014339691
96422867561977   KARLA            ZAMORA                CA         46012188675
96423537391951   KAILEN           KIDWELL               NC         17000475373
96423966877537   FRANK            MENDEZ                NV         90013519668
96426161991521   JESUS            HINOJOS               TX         90014881619
96429787291521   RAMON            GONZALEZ              NM         90008767872
96429911691531   EMMA             LEDEZMA               TX         90014929116
96431488891399   KIRKPATRICK      DAVID                 KS         90012054888
96431517177537   FILIMON          CASTILLO              NV         43011015171
96431598861977   SHANNON L        ADAMS                 CA         90011135988
96432315191951   MARTHA           CRUZ                  NC         90011163151
96432318291599   BRITTNEY         BUELL                 TX         90014273182
96432787791521   MANNY            VALLES                TX         90012247877
96432917597123   SILVIA           HERNANDEZ             OR         90012129175
96433122691599   DESTINY          HERNANDEZ             TX         90012321226
96433546691521   CARMEN           CASTANON              TX         75090055466
96436919891531   ORALIA           VEGA                  TX         75069479198
96436977751396   CYNTHIA          DANIEL                OH         66032359777
96438922793732   KELSEY           CLEMONS               OH         90003299227
96439191761977   MIGUEL           DUARTE                CA         90012211917
96439294793755   STEFANIE         BEVARD                OH         90008772947
96442712491951   GREGORIO         RESENDIC              NC         90013947124
96442797955957   STEPHANIE        DELGADO               CA         90012507979
96442987991599   CARREON          GUILLERMO             TX         90011609879
96443575797123   ANGELA           BROWN                 OR         44071165757
96444438755951   MORGAN           SMITH                 CA         90000764387
96445152793755   STEVEN           BLACK                 OH         90009901527
96445859791531   DIANA            CHESNUTT              TX         90005598597
96447615291531   REYNA            NAVA                  TX         90014436152
96448534591399   VANESSA          GARCIA                KS         90007845345
96449271991399   LISA             GROVES                KS         90008732719
96449273897123   JAIME            RUIZ RANGEL           OR         90011472738
96452964361977   DOMANIC          JEFFERSON             CA         90009919643
96454542591399   LANCE            MCNACK                KS         90011005425
96454666551383   WILLIAM E        RHODEN                OH         90008636665
96455233655957   FELIMON          MENDOZA               CA         90014572336
96455265391951   KELLEY           HILL                  NC         90010912653
96455358191599   ROSA             MARQUEZ               TX         75005843581
96455698241296   RAYMOND          SUSANI                PA         51095226982
96456757391521   GUADALUPE        ARAIZA                TX         90013947573
96456866193732   DAVID            JONES                 OH         64558818661
96457375391521   CESAR            CARDONA               TX         75097953753
96458266991531   DAVID            GUILLEN               TX         75073422669
96458652941296   JASON            SPARTE                PA         90010196529
96459196491599   DAMON            BRAZLE                TX         90014291964
96459598861977   SHANNON L        ADAMS                 CA         90011135988
96463583191599   ARACELI          ONTIVEROS             TX         75058555831
96464338191531   ELISA            PEREZ                 TX         90001593381
96464379491399   ALEJANDRO        CHAVARRIA             KS         29030543794
96467277951342   WYATT            STEWART               OH         66098422779
96468578777537   CEDRIC           HAMILTON              NV         90014715787
96472628493732   LUCAS            BURGESS               OH         90005836284
96475143477537   LEROY            HOLLING               NV         90011261434
96475923591399   EDDIE            SCOVER                KS         90010479235
96476891541296   MATTHEW          JAMES                 PA         90010838915
96478198991521   MAYRA            RAMIREZ               TX         90014881989
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96478591691554   MARIA        MADRID                    TX         75098505916
96479832791521   JUAN         RAMIREZ                   TX         90014888327
96479941791531   SAUL         RODRIGUEZ                 TX         90014929417
96482572891521   JOSEFINA     TREJO                     TX         90006085728
96482679851342   TONYA        SINGLETON                 OH         90008326798
96482725941296   BIRGIL       MCCLENDON                 PA         90010017259
96485163693755   MERCEDES     GLOVER                    OH         90009341636
96487488191399   ALLISON      JONES                     KS         90013154881
96487523251338   MELISSA K    JASPER                    OH         90001085232
96487989285969   ADAN         VARAJAS                   KY         90013929892
96489235155957   MOLIDY       OEUNG                     CA         90011142351
96489851861977   JASON        CAMPBELL                  CA         90011188518
96493872955951   UBALDO       RODRIGUEZ                 CA         90011158729
96494642155951   LUDI         ALVAREZ                   CA         49064846421
96496155391599   FLORENCIO    IBARRA JR                 TX         90010831553
96497395677537   DORA         VALENZUELA                NV         90009473956
96497792691399   BRAIND       BASKIN                    KS         90007497926
96497839377537   CHRISTIAN    TORRES                    NV         90013888393
96498863477537   MICHAEL      ANDRADE                   NV         90012048634
96498919891521   ROBERTO      LUCERO                    TX         75005059198
96499833593755   SHAMEIKA     SEALS                     OH         90014788335
96499915192825   LEO          FIERRO                    AZ         90014249151
96512251191599   DORA         ROJAS                     TX         90011542511
96513186191599   GUS          RAMIREZ                   TX         90010981861
96513927891531   LORENZO      ALVARADO                  TX         90014929278
96513955791531   RALPH        MUNOZ                     TX         90014949557
96514115793732   MCDANIEL     TERRY                     OH         64583821157
96516247577537   JO           SWEETEN                   NV         90000252475
96516475191531   MIRNA        CARAVEO                   TX         90011534751
96519358591951   JOHNETTE     HENRY                     NC         17093613585
96522117891521   JOSE         MENDOZA                   TX         90008511178
96522143991599   ALLYSTER     CENA                      TX         75068861439
96523593891599   SIRIA        PURCELL                   TX         90005645938
96524214591521   SANDY        QUINTANILLA               NM         90014882145
96527329791521   SOFIA        ROJAS                     TX         90010523297
96528269891521   RAUL         PENA                      TX         75007292698
96528664655957   NICK         PRIAULX                   CA         90013096646
96529621461945   JOSEPH C     GRIENENBERGER             CA         46064496214
96529711391399   ROBYN        HICKS                     MO         90013357113
96529724791399   JAZZLYNN     WEST                      KS         90015197247
96529777891951   ANA          ESPERANZA                 NC         90014917778
96532269891521   RAUL         PENA                      TX         75007292698
96533222491521   RUBY         MARTINEZ                  TX         90014882224
96535848177537   BENJAMIN     HARRISON                  NV         90014678481
96537564277537   DERRICK      JORY                      NV         43080445642
96538532857122   KONSTANTIN   MORRIS                    VA         90007925328
96539133355957   BRYAN        TIERCE                    CA         90012851333
96539556455985   MARIA        RIVERA                    CA         90009845564
96539572391399   ISHA         TERRY                     KS         90014695723
96543953691599   JESUS        CASTORENA                 NM         75014809536
96545126591531   ADRIANA      RAMIREZ                   TX         90013101265
96545465441296   MICHELLE     HERDER                    PA         51010024654
96546134441296   MICHAEL      POUCH                     PA         90013191344
96546353255957   ROGERS       CHRISTOPHER               CA         49096073532
96546785291521   CARLOS       VILLA                     NM         90011597852
96548269791399   MARIA        GUTIERREZ                 KS         90015242697
96549161591521   MARIA        CARDENA                   TX         90011721615
96551834691531   MARTHA       ARAGON                    TX         90010988346
96552123293726   DONALD       BROWN                     OH         64554471232
96554538577537   DESIREE      SILVANI                   NV         90002315385
96554739291531   ARECELI      RIVERA                    TX         75037877392
96555187497123   VALERIE      M DENNIS                  OR         90005021874
96555585393755   ANGEL        BARBECHO                  OH         90012885853
96555783961977   ELIZA        EDELMA                    CA         90004187839
96557124291599   LORENZO      BARRINGTON-ROWE           TX         90011001242
96557227641296   DOROTHEA     MABINS                    PA         90009822276
96557367493755   TYNEQUA      HOSKINS                   OH         90010653674
96559185191599   JACKLYN      HERNANDEZ                 TX         75063851851
96559252493755   JACK         KIRKLAND                  OH         64519572524
96561255597123   DEIDRE       ANDERSON                  OR         90012852555
96562777891531   FRANCISCO    ACOSTA                    TX         90014937778
96564116277537   CARMEN       HERNANDEZ                 NV         90009481162
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96564423497123   OPTEN         TIMOTHY                  OR         90014744234
96565486851342   MATT          SEXTON                   OH         66019544868
96565566293755   STEVEN        LAWRENCE                 OH         90008715662
96566515861977   JOSHUA        MCGUIRE                  CA         46046005158
96568566597123   LIBEL         GARY                     OR         90005315665
96572113191399   WANDA         HARRIS                   KS         90015091131
96572256177537   CRYSTAL       COOK                     NV         90012852561
96573376293786   MICHELE       ELLIS                    OH         64583073762
96573662461977   ERIC          MARTINEZ                 CA         90001946624
96576529991521   ELIZABETH     HERNANDEZ                TX         90010655299
96584974951342   BRIAN         JOHNSON                  OH         90005539749
96585783591531   ISELA         ARANDA                   TX         90014937835
96585785293755   TIFFANY       HUDSON                   OH         64514757852
96585874451342   ROBERT        PHILPOT                  OH         66022048744
96587294261977   LINDA MARIE   HENDERSON                CA         90005242942
96587997351342   MARIO         MIDOZA                   OH         90000169973
96589446791531   RACHEL        WARNER                   TX         90006014467
96589496391399   ANGELA        BEARD                    MO         29011094963
96589874451342   ROBERT        PHILPOT                  OH         66022048744
96591426963621   SHAWN         DEGRASSO                 MO         90007114269
96592786591531   IRMA          GARCIA                   TX         90014937865
96594232761977   GEOVANNI      LEEPER                   CA         90006942327
96595971191599   CLAUDIA       MORALES                  TX         90010709711
96596357891951   APRIL         WILKINS                  NC         90012603578
96596546961977   AURELIA       WALLER                   CA         90012455469
96596838955957   GRACIELA      BAUTISTA                 CA         90013178389
96597235355957   FRANCISCO     GARCIA                   CA         49042152353
96597436391399   LISA          JEPSEN                   KS         90013664363
96597931771965   SHERWYN       MORREALE                 CO         90006149317
96599462593755   BASIMAH       SHALASH                  KY         90013924625
96611794891531   FRANCISCO     RANGEL                   TX         90014937948
96612486491521   DONALDS       EROLLS                   TX         90010524864
96612979693746   CARMEL        NORRIS                   OH         64584239796
96614838591951   GABRIEL       MARQUEZ                  NC         90009928385
96616799593732   NICHOLE       WATSON                   OH         64573207995
96617933993732   CODEY         YATES                    OH         90001709339
96618556291521   ROBERT        GARCIA                   TX         90008685562
96619966291951   BRANDON       DANIEL                   NC         90015229662
96621886255951   BERNARDO      YBARRA                   CA         90000118862
96623165397123   CHRISTINA     KELLEY                   OR         90011261653
96623429533698   MARY          PIGG                     NC         12005044295
96623455341296   MATTHEW       NELSON                   PA         90013434553
96623478491399   NANCY         KHATCHADOURIAN           KS         90013664784
96625558351342   MARGIE        WARREN                   OH         90005075583
96625688191521   JESSE         DELGADO                  TX         90011526881
96625915497123   STEVE         SMITH                    OR         90004959154
96626126693755   AARON         ELAHAB                   OH         90000661266
96626248491951   PEDRO         ANTONIO                  NC         90014752484
96627454891951   ASHLEY        CASE                     NC         90009884548
96627851555951   KAREN         WEST                     CA         90002238515
96627929691521   FABIAN        AVILA                    TX         90014889296
96628515161982   BERTHA        ALFARO                   CA         90014895151
96629427791521   JESSE         ROSALES                  TX         75053684277
96629754261977   VANESSA       SANDOVAL                 CA         46086227542
96632418241296   KREED         TODD                     PA         90014544182
96632761577537   IAN           KIRKPATRICK              NV         90013087615
96632969991531   MARIA         GARCIA                   TX         75080409699
96636936993732   TIARRA        HILL                     OH         64594869369
96637423391521   EVELYN        LOPEZ                    NM         75094234233
96638718461977   MARA          NUNEZ                    CA         90011117184
96641417591521   EZEQUIEL      CHAVEZ                   TX         75076334175
96641516991599   DIANA         ORTEGA                   TX         90014175169
96642297977537   SERINA        BROWN                    NV         43068012979
96642297991531   GILBERTO      ORTIZ                    TX         75095692979
96642546491521   STEPHANIE     COVARRUBIAS              TX         90010525464
96643884491888   BRENDA        RODRIGUEZ                OK         90009018844
96644113155957   MARIELA       RODRIGUEZ                CA         49071371131
96644745991951   ISMAEL        GREGORIO-MONTES          NC         90013527459
96644949361977   DAVID         MELING                   CA         90011679493
96646943191599   MICHELLE      GARCIA                   TX         75004689431
96647298861977   MARJORIE      LOPEZ                    CA         90013832988
96648218355957   NICKIE        VENEGAS                  CA         90009012183
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96649856191531   GUADALUPE    JAQUEZ                    TX         90008458561
96651946491521   CHARLES      BIRHANZEL                 TX         90014889464
96653158961977   BRENDA       VELEZ                     CA         90013211589
96655371591551   RACHEL       RODRIGUEZ                 TX         90012913715
96656338191521   ELVIA        CARRILLO                  TX         75078833381
96656869391599   PATRICIA     CANO                      TX         75057378693
96658759361977   ANDRES       MARTINEZ                  CA         90011587593
96658947391531   MELISSA      CAMARENA                  TX         75041689473
96658987391521   ALONSO       DELGADO                   TX         75016269873
96661182991521   KRISSY       SHAW                      TX         90001771829
96663266861977   TAMMY        MOORE                     CA         90013052668
96663981291521   SERGIO       GONZALEZ                  TX         90014889812
96664345891531   MARIA        VASQUES                   TX         75090003458
96667674951342   SLIMANI      MAJDA                     OH         90008686749
96667855191531   STANLEY      AGUIRRE                   TX         90014938551
96667992291521   DANIEL       CHAVIRA                   TX         90014889922
96668345891531   MARIA        VASQUES                   TX         75090003458
96668992891521   GLORIA       SANCHEZ                   TX         90014889928
96669889671928   MARISOL      STEWART                   CO         90010928896
96669992891521   GLORIA       SANCHEZ                   TX         90014889928
96671319855951   RICHARD      AMEZCUA                   CA         90010833198
96671992891521   GLORIA       SANCHEZ                   TX         90014889928
96672443633625   ALAN         HALL                      NC         90010984436
96672974561977   JOSEPH       HALL                      CA         46076519745
96673668791951   NOEMI        SOTO                      NC         90014066687
96677345891531   MARIA        VASQUES                   TX         75090003458
96678773561977   JOSE         SALMERON                  CA         90012677735
96679185831435   JAMICE       ROBERTS                   MO         90001701858
96679818841296   ARTHUR       GROSS                     PA         90015328188
96681945193755   SAM          MELGOZA                   OH         90013759451
96683158551342   STEPHANIE    KREINER                   OH         90007811585
96683929791951   TAWANDA      MCMILLAN                  NC         90003569297
96684536691599   RYAN         LEURQUIN                  TX         90005115366
96685651491951   MARLON       MEDINA                    NC         90012046514
96686564141296   BONITA       WATKINS                   PA         51054745641
96687451441296   TAMMY        WALDSCHMIDT               PA         51041424514
96687885991599   GILBERT      SANDOVAL                  TX         90015088859
96688817791531   LUIS         BUENO                     TX         90013138177
96689517691399   AMY          LEWIS                     KS         90009565176
96691915291599   FERNANDO     RODRIGUEZ                 TX         90013649152
96692996291599   VICTOR       ALVARADO                  TX         75053269962
96693877391531   ROBERTO      HERRERA                   TX         90002198773
96696624291531   CRYSTAL      LOPEZ                     TX         90011356242
96698615691884   JUSTIN       DETAR                     OK         90014686156
96698713161973   ERICA        JAUREGUI                  CA         90007587131
96699925293755   PARIS        CULPEPPER                 OH         90014759252
96711564361977   PATTY        HERNANDEZ                 CA         46018185643
96712158191521   PILAR        FLORES                    TX         90005611581
96712966541296   SHEILA       RAY                       PA         51097439665
96713281991599   TONY         RUIZ                      TX         90014052819
96714159491399   DAVID        NEGRETE                   KS         90006571594
96715149597123   BRADLEY      HEILMAN                   OR         90003521495
96722319451342   AHYDE        ARIAS                     OH         66006493194
96722439791531   LUCINA       FACIO                     TX         90012724397
96723367755951   ALISA        LEE                       CA         90009283677
96723759161977   ANA          INIGUEZ                   CA         90011117591
96724188761977   FRANK        PRADO                     CA         90013521887
96726116393755   STEVEN       CORBITT                   OH         90012321163
96727343493723   HEATHER      MILLER                    OH         90004123434
96728881791599   HORTENCIA    ORDONEZ                   NM         75032778817
96728936955957   WAYNE        VERDUGO                   CA         90011129369
96729827797123   KEN          EARL                      OR         90011168277
96729975891599   ROSA         VALDIVIEZO                TX         90010649758
96731279555951   GABRIELA     SOSA                      CA         49089452795
96731864193732   ELLA         ROBINSON                  OH         64516498641
96732695141296   RICHARD      ROCCO                     PA         90010906951
96733476377537   MARIA        NUNO                      NV         90015144763
96733837591599   OSVALDO      PONCE                     TX         90013438375
96734739455951   KENNETH      COLLINS                   CA         90010897394
96736247141296   TRACEY       COTTOM                    PA         51007012471
96737592491521   VERONICA     GALARZA                   TX         90001235924
96739688491521   JENNIFER     GONZALEZ                  TX         90010526884
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96739957697123   ANDRES        SANCHEZ GARCIA           OR         44041609576
96741135991521   MARTHA        EGURE                    TX         90009751359
96741519297123   RACHAEL       WALSH                    OR         90013365192
96742625371933   STEFANIE      MARTINEZ                 CO         32001766253
96743733797123   HECTOR        LOYA                     OR         90004917337
96743818155957   CLEMENTE      MUNOZ                    CA         49080278181
96745355691399   DORTHA        MEIER                    KS         29000153556
96747262241296   ERICA         JENNINGS                 PA         90012612622
96747399277537   NESTOR        EZPINO                   NV         90012733992
96748298955951   FAITH         RAMIREZ                  CA         49000822989
96748381791599   HERNANDES     JAMES ALEXANDER          TX         90013093817
96748817255957   FRANCISCA     HERNADEZ                 CA         90000118172
96749716761977   CHISTINE      BRADBERRY                CA         90013687167
96753494861977   SARAH         MARTINEZ                 CA         90003884948
96754955177537   JACQUELINE    SYKES                    NV         43003839551
96754961797123   MAYRA         RANGEL                   OR         90011439617
96755178291599   DENISSE       ANDREW                   TX         75050261782
96756143391599   HECTOR        LOPEZ                    TX         90006121433
96758829697123   SOCORRO       FLORES                   OR         90014728296
96764231693732   CODY          JONES                    OH         64551412316
96764558291951   ALBERTA       CANSECO                  NC         90010775582
96764689161982   MOHAMED       MADOW                    CA         46013616891
96767885191599   PRISCILLA     BARRAZA                  TX         75013178851
96768226741296   JOSEPH        SUPINSKY                 PA         90014682267
96769129591599   ADRIANA       HERNANDEZ                TX         90000551295
96771617791599   NORMA         ZUNIGA                   TX         75080956177
96774799197123   SARAH         BRAY                     OR         90011937991
96776646591531   JUAN          GARCIA                   TX         90014156465
96777165191521   MAYRA         PARRA                    TX         90005121651
96777645991399   ANGELICA      DAMIAN                   KS         90013906459
96778211784325   CHRISSY       BRYANT                   SC         90007582117
96778829241296   KIETH         ARGENAS                  PA         90014898292
96779587297123   DELOYA        HEYSEN                   OR         44013845872
96782469393732   PRESTIGE      ENTERTAINMENT            OH         64543364693
96782617997123   VIRGIL        KIRKLAND                 OR         90010396179
96783895355951   ROASLYN       MSADOQUES                CA         90001638953
96783947897123   SHERRI        DURBIN                   OR         90014959478
96784263955951   CAROLINA      MONROY                   CA         90011572639
96784577893755   JERMAINE      LEWIS                    OH         90014155778
96784895341296   ROBERT        GRAY                     PA         51001048953
96785769897123   CATRINA       MORTON                   OR         44096147698
96786949791531   LISETTE       MCCOY                    TX         75013209497
96786991855957   MARIA         ARANJO                   CA         90014839918
96787816791599   JOSE          AGUIRRE                  TX         90011188167
96791129591599   ADRIANA       HERNANDEZ                TX         90000551295
96792756991599   BRENDA        TORRES                   TX         75030367569
96794391861977   JULIO CESAR   BARRON                   CA         90014363918
96797531691521   CARLOS        MEDELLIN                 TX         90014145316
96797693491399   CODY          WILLIAMS                 KS         90001256934
96797892993755   ANTHONY       HIBBITT                  OH         90009938929
96798963633641   KATONDRA      WILSON                   NC         90013759636
96799479991951   JUAN CARLOS   GONZALEZ                 NC         90011874799
96799849791521   CLAUDIA       RODRIGUEZ                NM         75064078497
96811425891951   SYDNEY        GONGS                    NC         90013084258
96811984261977   JULISSA       LUQUIN                   CA         90012689842
96815385277537   RANDY         SUBILLAGA                NV         90014253852
96816587597123   OLIVIA        LUNDIN                   OR         90009815875
96817785191599   ERNESTO       ROMERO                   TX         75054677851
96822877291531   CARMEN        NAVARRETTE               TX         90014968772
96822881397123   MARCIA        VAN WORMER               OR         44090078813
96823627997123   LUWANA        SMITH                    OR         90010396279
96824115161977   PATTY         BOULDER                  CA         46063321151
96824943497123   TRICIA        COLEMAN                  OR         44075619434
96826914791399   ALEJANDRA     SANCHEZ                  KS         90014229147
96828147993755   MARY          MACK                     OH         90014991479
96831864491399   CHRISTOPHER   LUNA                     KS         90013868644
96832698161982   GUILLERMO     CORONA                   CA         46002756981
96833323291399   ROBBIE        DUNCAN                   KS         90013843232
96834129277537   MICHAEL       SLATE                    NV         90015121292
96835466951342   ANTONY        CATLIN                   OH         66042934669
96835731351328   WILLIAM       STALLWORTH               OH         90014527313
96836713191531   RICARDO       FLORES                   NM         90010227131
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96838759591531   ENRIQUE          MARTINEZ              TX         75095637595
96838779591399   DAMIAN MICHAEL   FERGUSION             MO         90009877795
96838789293755   DENNIS           COATNEY               OH         64544187892
96839262755957   ADELINA          RIMARI                CA         90003942627
96839359871945   LAKEISHIA        LIVINGSTON            CO         90010393598
96841149155957   DEMAR            DUNCAN                CA         90012521491
96842771855957   JUAN             PEREZ                 CA         90008537718
96848839191951   MARCO            BANEGAS               NC         90014178391
96849438255957   CONSTANTINO      GARCIA                CA         90013794382
96851175277537   GINA             CABELLO               NV         90014341752
96851294533641   JELISSA          THOMAS                NC         90012792945
96852837491951   ANDRES           PEREZ                 NC         90008988374
96854128291599   MARISSA          HERNANDEZ             TX         90008081282
96855386391579   JOSE             CALDERA               TX         90010853863
96856358293755   TARRAH           WRIGHT                OH         90014983582
96856734791399   JASON            LEWIS                 KS         29013807347
96858111291521   JAVIER           MARTINEZ              TX         90010631112
96858176293732   JAMES            WRIGHT JR             OH         64519951762
96858467331465   LARHONDA         REID                  MO         90001454673
96858937377537   LUIS             ZARAGOZA              NV         90011269373
96861256177537   JOSE             ARIAS-VILLA           NV         90011902561
96863128791531   POLO             LOYA                  TX         75069051287
96864254597123   MISTY            LEVANCY               OR         44055622545
96869386555957   VANESSA          GONZALEZ              CA         90014843865
96869536291599   VICTOR           BELTRAN               TX         90001445362
96872944161977   ROGER            HARRIS                CA         90001969441
96873573591599   PABLO            RAMOS                 TX         75045985735
96874887291399   MARIA DE JESUS   GOMEZ                 KS         90015168872
96875118991521   BIANCA           ALANIZ                TX         90010631189
96875866661982   FRED             MOORE                 CA         90008138666
96877991557183   MUNA             MOHAMMED              VA         81086669915
96878718577537   CLAUDIA          GUADRON               NV         43092197185
96883395791531   ANA              BARRAZA               TX         90008573957
96889618991599   JANNETTE         RUIZ                  TX         90009926189
96891518391531   FREDDY           QUINTANA              TX         90011435183
96892556431469   ROLAND           LEE                   MO         90008715564
96892879461977   JEFFRIEY         JOHNSON               CA         90013218794
96893418855957   ROSIE            GALINDO               CA         90014704188
96894613691951   IRHANE           GILAMICHEAL           NC         90014046136
96894661297123   MALIA            BACON                 OR         90009326612
96896835261977   JORGE            BARAJAS               CA         90013378352
96897282491951   DERRICK          MACK                  NC         90014622824
96897488497123   WENDY            WELSH                 OR         44048704884
96898331851342   SHAWN            JOHNSON               OH         90001383318
96899622891521   MARTHA           ORTIZ                 TX         75090006228
96911677941296   DARRELL          OAKS                  PA         90014816779
96912565455957   JESSE            CRUZ                  CA         90014915654
96912666591531   JUAN             IBARRA                TX         90014946665
96912681697123   SASHA            BERG                  OR         44084816816
96913291455951   JAYMES           FAJIHARA              CA         90011572914
96913672291599   JOSE             CORRALES              TX         75033636722
96914126655957   ALESSIA          SHOFFNER              CA         49046231266
96914245397123   MARIAH           MILES                 OR         90000532453
96914675991951   ADRAINE          CAPILLA               NC         17009006759
96914993291521   VANESSA          ARCHULETA             TX         90001249932
96915256591599   CAROLINA         BRICENO               TX         75087892565
96916323791521   YADIRA           VELASQUEZ             TX         90010213237
96916637661977   AMANDA           GAGNON                CA         90012006376
96916668591531   DANIEL           CHAPARRO              TX         90014946685
96916775351351   JEFFREY          LARKIN                OH         90002127753
96917154293755   TRACEY           CRAIG                 OH         64592721542
96918674341296   RONALD           NEWMAN                PA         51014086743
96919378477537   ANTONIA          ANTONIA               NV         90010253784
96919813391599   ANTONIO          MONTANA               TX         90012828133
96921541141296   HOPE             DUKU                  PA         51000595411
96921563991521   MARTHA           VILLALPANDO           TX         90010545639
96921797255957   ALBERTO          MORALES               CA         90010927972
96924619957131   EDWARD           CASH                  VA         90012206199
96925497397123   ERIC             ROBINSON              OR         90014444973
96925684391399   ELMER            SANCHEZ               KS         90013816843
96926861555951   ESMERELDA        GALLEGOS              CA         49076858615
96929111455951   NORMA            LOPEZ                 CA         49081641114
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96929353297123   IRENE         TRUJILLO                 OR         90015163532
96929462593755   BASIMAH       SHALASH                  KY         90013924625
96929634491399   YVONNE        BARRETT                  KS         29017896344
96929692191521   YOLANDA       ESTRADA                  NM         90010576921
96931741361977   CARLA         INGLE                    CA         90013967413
96933321655957   MICHELLE      LOZANO                   CA         90003993216
96934633491399   LISA          KIMBLE                   KS         90012876334
96934834191531   TANIA         ARELLANO                 TX         75080758341
96936698691531   ALEJANDRO     ENRIQUEZ                 TX         90014946986
96936796391399   ALEXIS        SARGENT                  KS         90014587963
96937615191399   MIGUEL        MALDONADO                KS         29081246151
96937826197123   MARIA         CARRILLO                 OR         44012858261
96938996977537   JOSE          LOPEZ                    NV         90015279969
96939114891531   LAURA         SOLIS                    TX         75034761148
96944323291399   NATASHA       SHELBY                   KS         90015013232
96945492961977   JEREMY        FLECK                    CA         90010454929
96945737391599   DWIGHT        INGLETON                 TX         90013447373
96945788291399   MARIA         BRAVO BLANCO             KS         29074837882
96945953991521   MIGUEL        CHAVEZ                   TX         90011889539
96947297891399   FELIX         VILLEDA                  MO         90013672978
96948561891521   EMCO          TRAILERS                 TX         75018515618
96948665241233   JACK          SIMMS                    PA         90014716652
96948839277537   RANDALL       BERG                     NV         43050448392
96949474593755   MELISSA       DICE                     OH         64528864745
96952139991521   MARTIN A      LOPEZ                    TX         75012721399
96953374191951   LAWANDA       LEWIS                    NC         17085153741
96954429197123   MIGUEL        ROSILLO RAMIREZ          OR         44014804291
96955115661977   VANESSA       MEZA                     CA         90014551156
96955133455951   RUDY          VASQUEZ                  CA         49087031334
96957111191531   P HECTOR      SOTO                     TX         75033011111
96958978991599   MARI ISABEL   RUIZ                     TX         90008759789
96961139691521   IVONNE        RODRIGUEZ                TX         75013801396
96961293555951   ROSA          SOLANO                   CA         90004272935
96961547777537   ARTHUR        GILLESPIE                NV         90007895477
96963278791521   KATHIA        CARREON                  TX         90014902787
96963935693755   LAKEISHA      BOOKER                   OH         90014319356
96964223291521   MAYRA         CARDENAS                 TX         90010942232
96964514291399   ANGELICA      RIOS                     KS         90007755142
96965851161977   EDWARD        EVERETT                  CA         90012998511
96967522691599   LOYA          ALEJANDRA L              TX         90000705226
96969224691599   PABLO         OSANTE                   TX         90005322246
96969722477537   ROBERT        BAKER                    NV         43032247224
96969824861977   DAVID         ARROYO                   CA         90013558248
96969825893755   JAMES         PAXTON                   OH         90012478258
96969859661977   DAVID         ARROYO                   CA         90001628596
96971675691521   ROBERT        SMITH                    TX         75030086756
96972251493755   PAULENE       SOMERSET                 OH         90014932514
96973428955985   BRIDGET       LEYVA                    CA         90009234289
96976911291599   JOSE          BERMUDEZ                 TX         90013169112
96979615591399   MARIA         OLACEO                   KS         90005036155
96981594191599   ELENA         BARRON                   TX         90006435941
96982326477537   VICTOR        GOMEZ ARMENTA            NV         90014833264
96983826197123   MARIA         CARRILLO                 OR         44012858261
96984788677537   FRANCISCO     CARRANZA                 NV         90012197886
96986924961977   ALICIA        TORTOLEDO                CA         90011119249
96992889991366   RONALD        MYERS                    KS         90012838899
96993492877537   KENNETH       HEMMER                   NV         90009564928
96993514597123   SYDNEY        SANCHEZ                  OR         90014495145
96993655891951   TONYA         MCKELLAR                 NC         90012836558
96994112455951   SARA          SOTO                     CA         49088011124
96996331271936   RAQUEL        MALONE                   CO         90004683312
96996579961977   ELIZABETH     GONZALEZ                 CA         90005355799
96997577393755   MIKE          JORDIN                   OH         90014175773
96999886391994   NED           EBO                      NC         90012258863
97113426791599   NALLELY       TERRAZAS                 TX         90000344267
97115283191399   KRYSTI        HELTON                   KS         90014932831
97115357881635   YOLANDA       WALKER                   MO         90013443578
97115443991951   LESLEY        S BETHEA                 NC         90000904439
97115987391599   BRANDON       ROBINSON                 TX         90011819873
97117244491951   DORIS         REYES                    NC         90009802444
97117352391399   ANEESHA       FISHER                   KS         90007353523
97117725977537   SCOTT         SUNDERLAND               NV         90014017259
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97117957681634   JOSEPH       LONG                      MO         29027369576
97118371391951   NADEGE       MORTON                    NC         90013643713
97118446793732   MARY         MORAN                     OH         90008884467
97121544477537   RAFAEL       GONZALEZ                  NV         43044945444
97121856543584   HOY          ANDERSON                  UT         31053528565
97122742197123   BROOKE       MULL                      OR         90013977421
97122822477537   JOVONDA      JAMES                     NV         90013388224
97124749691951   TRARON       TRUELUCK                  NC         90007667496
97127171461979   BERTHA       LEON                      CA         90014871714
97128958281638   ELDER        GOMES                     MO         29082479582
97131811761979   MARIA        CUEVAS                    CA         90010638117
97133218577521   ARACELI      FLORES                    NV         43067452185
97134171461979   BERTHA       LEON                      CA         90014871714
97134925497123   KATHLEEN     CANNON                    OR         90010279254
97135441941296   MICHAEL      SUSKA                     PA         51098814419
97136496361979   MANUEL       VALENZUELA                CA         90011634963
97137489291599   AURORA       ALVARADO                  TX         75086934892
97138867481634   NORVIN       JOHNSON                   MO         90015138674
97139824291882   JENNIFER     BRADY                     OK         21088618242
97141118291599   JESSICA      ORTIZ                     TX         75008771182
97142161872435   SARENE       FOSKEY                    PA         51000971618
97142314877537   TERESA       MCCOY                     NV         90004643148
97142377233698   MICHELLE     WALK                      NC         90011073772
97143922897123   YVETTE       CORREA                    OR         44078959228
97144336243584   CHEIDEY      RAMSEY                    UT         90009493362
97144611391951   ROBERT       COLE                      NC         90007486113
97146441477537   KEVIN        HOWELL                    NV         90014594414
97146758891599   LYNETTE      STEWART                   TX         90013467588
97148171461979   BERTHA       LEON                      CA         90014871714
97149864177537   TRACY        MERCADO                   NV         43015118641
97151453191599   ALEJANDRA    TORRES                    TX         90012904531
97152236393755   BOOBI        HOOVER                    OH         90014922363
97153585591951   SHAKIR       WAHEED                    NC         90014865855
97153716661971   TIMOTHY      CATO                      CA         90003847166
97155188233638   DANIELLE     FETTS                     NC         90007121882
97155315191951   MARTHA       CRUZ                      NC         90011163151
97155892991399   MARTHA       ABBOTT                    KS         29085408929
97155926477537   JULIAN       ALVAREZ                   NV         90015109264
97155955391599   RAYMUNDO     RANGEL                    TX         90014449553
97156739293755   JORDAN       SMITH                     OH         90009257392
97157171461979   BERTHA       LEON                      CA         90014871714
97157213261979   MONICA       IROZ                      CA         90014892132
97157967893755   HEATHER      DANE                      OH         90013699678
97158476331459   DENISE       GORDON                    MO         90004314763
97158634761979   ROSA         LUCERO                    CA         90014186347
97159463977521   FABRICIO     CRUZ                      NV         43001754639
97161243397123   ERICELDA     VARGAS                    OR         90013322433
97162315191951   MARTHA       CRUZ                      NC         90011163151
97162519793732   KHALISHA     MCCOMMONS                 OH         90010605197
97165239955934   GARY         JOSLIN                    CA         90006662399
97166536355975   VANESSA      OVIEDO                    CA         90008975363
97168592791987   MARIO        ALVAREZ                   NC         90013625927
97168858855957   JUAN         ALONZO                    CA         90012728588
97169372981638   ISRAEL       SCOTT                     MO         29063273729
97172844197123   KORY         BLACKLOCK                 OR         90014618441
97173559261971   IVAN         BERNAL                    CA         90008955592
97175387891399   LELAND       KALEBAUGH                 KS         90008103878
97176557493755   DONNA        ALTMAN                    OH         64547115574
97176817991599   ARMANDO      MEDINA                    TX         75012758179
97177638391951   MICHAEL      OAKES                     NC         90012106383
97178726591599   MIGUEL       BENAVENTE                 TX         90012977265
97179335772421   COREY        FAWCETT                   PA         51012433357
97181133461979   PETER        CASTRO                    CA         90003721334
97181644981639   JAIME        MARTINEZ                  KS         90007686449
97183289261979   GLADIS       SERRATO                   CA         90010002892
97185497991599   NATALIE      GUTIERREZ                 TX         90010984979
97185542181635   MELCHOR      JUAREZ                    MO         29091295421
97186464193755   LAURIE       BUSH                      OH         64590594641
97187199641238   JOY          MENDYS                    PA         90003081996
97189534481639   GILBERTO     VELAZQUEZ                 MO         90000865344
97192973955971   LAURA        CHAPPELL                  CA         90011169739
97193265277537   ARNOLD       EDWARD                    NV         43016402652
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97193948791399   DMITRI            BURNS                KS         90014669487
97197779343584   THOMAS            JUSTIN               UT         90012467793
97197891791399   NICK              BORRAS               KS         90002828917
97197957691599   ISAAC             OTERO                TX         90014449576
97199852691951   DERWN             HAMPTON              NC         90014708526
97212539693755   MANDY             MYRICK               OH         90014565396
97214839672435   MATTHEW           CLAUS                PA         51039738396
97216931881639   DONNETTE          BELL                 MO         29055689318
97217262991882   TAMORA            RICKS                OK         21010832629
97218169841296   GARY              VENTRICE             PA         51064281698
97221161197123   KRISTINA          COCHRAN              OR         90014641611
97221422161925   VAZQUEZ           SILVESTRE            CA         90004974221
97223387897123   SUSAN             HARPER               OR         44074583878
97223567341296   DERRICK           VIRE                 PA         51060305673
97225883741296   CHRISTOPHER       LAROCHE              PA         90008858837
97226845691951   MONICA            PATTERSON            NC         90014598456
97227688491882   ROBERT            BUTCHER              OK         90007996884
97228296872435   CATHY             YANKO                PA         51076862968
97228921177537   YOLANDA           OBREGON              NV         43034369211
97229154777521   RAMON             PEREZ                NV         90001161547
97229622893755   LEE               LEWIS                OH         90004986228
97229837291599   NORMA             RAMIREZ              TX         90014288372
97231322191599   MONICA            ESCORZA              TX         75033733221
97232854491951   JENA              GIBBS                NC         90011668544
97232871781634   JOHNAE            SAWYER               MO         29041108717
97236199197123   MIRIAM            FERNANDEZ            OR         44067331991
97236863872435   MELISSA           EAKLES               PA         90013928638
97237897181635   SCOTT             BLATTMAN             MO         29062018971
97238282161979   ROSARIO           CAMPOS               CA         46054002821
97239182781673   DEBORAH           MESSER               MO         90000371827
97241332677537   ERNEST            REDMAN               NV         43033163326
97241654161979   ROBERT            JOHNSON              CA         90014636541
97242367677537   PRINCE            CORDOVA-GALARZA      NV         90015213676
97242713593755   KRISTINE          THEOBALD             OH         90013237135
97244213261979   MONICA            IROZ                 CA         90014892132
97244387291951   LAQUITA           RICHMOND             NC         90014713872
97246146591399   ENERALDO          GUALES               KS         90014671465
97246363581635   AMANDA            STEVENSON            MO         90009263635
97246725561979   JANET             MORALEZ              CA         90014187255
97246993491951   SHARDAY           CASEY                NC         90012929934
97247728661979   EDITH             LOPEZ                CA         90014187286
97248656777537   AMANDA            LINARES              NV         90010116567
97251443161979   AIYANA            BELTRAN              CA         90012954431
97251632791951   JOHNNY            RWELL                NC         90012856327
97251678393755   BRITTNEY          CHAFIN               OH         90008836783
97251926697123   MICHELLE          DAILEY               OR         90014619266
97253242581634   FLORES            GONZALEZ             MO         90010862425
97253762981635   GEORGE            TRUE                 MO         90015587629
97254575381635   YOVANY            MORALES              MO         29080995753
97255339391599   CAMACHO           ZAIRA                TX         90011413393
97255731361979   EMILY             FREEMAN              CA         90014187313
97255984681634   JULIO             PALOMINO             MO         90009479846
97256161491951   JOSE              MATUTUE              NC         90014981614
97258193461979   JOSHUA            SWARTZ               CA         46098641934
97259984491599   ANA               VALDIVIA             TX         90011169844
97262635572435   JESSICA           ANDERSON             PA         90015516355
97264311581635   MARISELA          HERDIZ               MO         29026563115
97266674481634   CHRISTY           SNOW                 MO         90008816744
97266738361979   JUAN              PEREZ                CA         90014187383
97268862491599   PATRICIA          RODRIGUEZ            TX         90014378624
97268987733698   SANDRA            CRAWFORD             NC         12084259877
97269987733698   SANDRA            CRAWFORD             NC         12084259877
97271424181634   HAROLD            HOUSTON              MO         90014884241
97271577761979   GUAMON            VONGOR               CA         90014205777
97273186781635   SHIRLEY           JOHNSON              MO         90014351867
97274426293755   RICHETTA          WORTHY               OH         90000844262
97279613891882   AARON             THOMPSON             OK         21026446138
97279744991399   WENDY             FLORES               KS         29033457449
97279844691599   JOEL              MONTOYA              TX         90011588446
97279938397123   YESENIA SKINNER   SKINNER              OR         90005929383
97281199177537   GERALD            ECKART               NV         90015091991
97281276581634   MARIE             JONES                MO         90007252765
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97281924672435   DOTTY         NESMITH                  PA         90015459246
97282238991599   EVA           GONZALEZ                 TX         90015342389
97282696241296   DEVIN         PULLIE                   PA         90012906962
97282756681634   DOMINIC       CERVANTES                MO         90012037566
97283789597123   JOSEPH        SAXTON                   OR         90011537895
97285783781673   WILLIAM       JOHNSON                  MO         90003267837
97286778561979   FRANSICO      MARTINEZ                 CA         90014187785
97288165781635   ALFREDO       JUARDO                   KS         90013621657
97289596577335   NIKITA        SHEPERD                  IL         90013305965
97291263771353   MONICA        CEBALLOS                 UT         31075292637
97291282791951   CHRISTIAN     GARRIDO                  NC         90014752827
97293283681635   STEVE         BROCKHOUSE               MO         29092352836
97294599191951   ADA           CORRALES                 NC         90012965991
97297173341296   ANNIE         LOVELESS                 PA         90013931733
97297685341296   YVONNE        DENNIS                   PA         90009946853
97297747844346   SHERNETTE     SIMMS                    MD         90009637478
97298687381634   CANDICE       HATHAWAY                 MO         29094066873
97311489881635   TAHIRAH       WARNER                   MO         29002014898
97311545493732   BONNIE        SCOTT                    OH         90007165454
97312141193755   NATISHA       JOHNSON                  OH         90012971411
97314437455957   KEVIN         TARAKJIAN                CA         90006894374
97315122291951   YEKIA         HITE                     NC         90014861222
97315835172435   JEFF          LININGER                 PA         51008498351
97315897597126   DOUG          LAMB                     OR         90011618975
97317779777537   AMANDA        BAKER                    NV         43064327797
97319773797123   RAMIRO        MUNOZ                    OR         44066457737
97322196581635   RENEE         MONDAINE                 MO         29095851965
97322337877537   ALBY          GOMEZ                    NV         43004063378
97322817961979   ROMEO         LOPEZ                    CA         90014188179
97322914191951   SHAUNCEY      BURNETT                  NC         90014719141
97323366491553   FERRAN        LOYDA                    TX         90013463664
97323955191951   DEVONTE       MONROE                   NC         90014719551
97324298341296   CHRIS         ANTHONEY                 PA         90013962983
97326192493732   STEPHEN       MARTIN                   OH         90005981924
97326583433638   HKHO          EBAN                     NC         90007595834
97327192493732   STEPHEN       MARTIN                   OH         90005981924
97327254693755   VANITY        MULLINS                  OH         90012912546
97327868297123   JEFFREY       WOLGAMOT                 OR         44041218682
97329163897123   ALONZO        ROWELL                   OR         90013231638
97329217341296   LACHAN        CUDAK                    PA         90003912173
97331434181634   ANDREW        ADEN                     MO         29015724341
97332353161979   RUDY          NEGRETE                  CA         90013443531
97332451391882   JOEL          MENDEZ                   OK         21015484513
97332528881635   HEATHER       NACHBAR                  MO         29036515288
97333416191951   ANDRE         O NEAL                   NC         90010204161
97333843893732   WILLIAM       AUSTIN                   OH         90013608438
97334121477537   ISMAEL        GARCIA MARTINEZ          NV         43090511214
97335649872435   RUBY          MOUNDS                   PA         90009506498
97335879391951   YULETTA       WELLS                    NC         90002288793
97335883697123   JODEPH        SMITH                    OR         90014628836
97336593681635   CINDY         NALLELY                  KS         90011365936
97339299493755   SARAH         KOURT                    OH         90003332994
97339974361979   EDGARDO       VARGAS                   CA         90014729743
97342336877537   JAY           QUENIAHAN                NV         90008243368
97345432481635   CHRISTOPHER   BOAN                     MO         90010454324
97345823761979   SEBASTIAN     ROSALES                  CA         90014188237
97346193691951   IDARA         UTIA                     NC         90006661936
97346458381634   TODD          MILLER                   MO         90004444583
97346578433698   SEAN          NEW                      NC         12089665784
97347111477537   CHELSEA       TATUM                    NV         90008661114
97348962293755   ALEX          MYERS                    OH         90013079622
97349443491599   PAMELA        IBARRA                   TX         90012294434
97352188281638   MARK          KERSHAW                  MO         29020311882
97353345972435   CARLA         SMITH                    PA         90001553459
97353467877537   JULIAN        GARCIA IGLESIAS          NV         43079824678
97353618181639   HEIDI         LECK                     MO         29016516181
97356491361973   MARGARITO     CARDONA                  CA         90010524913
97356793691828   TINA          JARVIS                   OK         90003827936
97357868693755   JAMIE         STOKES                   OH         64581738686
97359947791951   SHATIESHA     JACKSON                  NC         90014739477
97361619633698   ERICUS        FULLER                   NC         90011126196
97361868272435   RICHARD       KIESTER                  PA         90000718682
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97363132441296   ELIE         ODIA MBUYI                PA         90012251324
97363466833698   CHINDAREE    GRAVES                    NC         90009584668
97366118561979   IMELDA       PIMENTEL                  CA         90002631185
97371784541271   JUSTIN       ROSE                      PA         90014717845
97373359791882   UYEN         RIST                      OK         21053503597
97373953141296   PEREZ        FAUSTO                    PA         90012079531
97374797293755   MARGARET     BOHMAN-STEFAN             OH         90013647972
97376325493755   JASON        REED                      OH         90004043254
97377288451396   KUDAKWASHE   SHUMBA                    OH         90010742884
97377538681639   PAYGO        IVR ACTIVATION            MO         90008705386
97377572991399   MICHELLE     SHANKEL                   KS         90014705729
97379144591399   MARIA        RUIZ                      KS         90011501445
97379941591599   GUSTAVO      AVALOS                    TX         90013349415
97382833961979   ANDREW       SHELLY                    CA         90014188339
97383386672435   ALEXIS       RIBLEY                    PA         90015293866
97385193797123   ROBERT       COCHRAN                   OR         90014641937
97386641681634   GERARDO      VAZQUEZ                   MO         90011966416
97388798181635   LAURA        GUERRERO                  KS         29012297981
97391383493755   PATRICK      TABER                     OH         90014883834
97392251651393   PATRICIA     QUINN                     OH         90004782516
97393377591951   PALACIO      VALENCIA                  NC         90009153775
97394744297123   CHRISTINA    WILLIS                    OR         90011057442
97395575591399   MARCUS       JIMENEZ                   KS         90014705755
97395588981634   GILBERT      MARSHALL                  MO         29065245889
97396892966186   BREANNA      COONS                     CA         90014118929
97399331577537   JOSE         MORENO-PEREZ              NV         90014653315
97411433941296   ASHELY       GOLD                      PA         90013964339
97413867991951   TARLECHIA    MITCHINER                 NC         17008818679
97415414691894   CONCEPCION   MONDRAGON DE MERCADO      OK         90009114146
97415845161979   ALECIA       MORGAN                    CA         90014188451
97416852161979   NANCY        RUBIO                     CA         90014188521
97417547461979   EMA          MEDINA                    CA         90011795474
97421979281635   KENNETH      HUGGINS                   MO         90013679792
97422286393755   HALL         LAURA                     OH         90010882863
97422559991579   MICHAEL      AVILA                     TX         90011075599
97424218591599   CRISTIAN     SALLARD                   TX         75033912185
97424364981634   MAURICE      DURAN                     MO         90012603649
97424852461979   CHRISTINA    STANLEY                   CA         90014188524
97424973433698   NATILA       BEATTLE                   NC         90005729734
97425227291599   ANA          CANALES                   TX         75007402272
97426211241296   VALDEMIR     KOLLWITZ                  PA         90006832112
97426212661979   CHRISTIAN    GUEVARA                   CA         90014882126
97426873291951   MALCOM       REED                      NC         90014728732
97426978177537   RICARDO      SIERRA                    NV         43083489781
97427759191599   MCELROY      ANTHONY                   TX         90003047591
97429231891399   IVAN         MARINEZ                   KS         90014512318
97429636177537   JOSE LUIS    ORTIZ                     NV         43065546361
97431344891357   MARIA        RAMERIZ                   KS         29066573448
97431715577537   ASHLEY       BARNES                    NV         90012737155
97432231161979   LUIS         DIAZ                      CA         90002632311
97432723291399   JOSE         ORDAZ-MOTA                KS         29019457232
97433477155967   DEBRA        GOLDSMITH                 CA         90002784771
97434319333698   BRITTANY     WHITAKER                  NC         90009783193
97434852961979   LUCY         VU                        CA         90014188529
97435249691951   TANYA        FREEMAN                   NC         90001962496
97437346131422   ANGELA       CLARK                     MO         90015043461
97438132481634   KRIS         FABELA                    MO         29007251324
97439951477537   ROSE         DEFALCO                   NV         43097559514
97443259191399   MERRI        YOUNT                     KS         29002192591
97445688877537   MICAELA      ZEPEDA                    NV         90012606888
97445797977537   MICAELA      ZEPEDA                    NV         90013537979
97446869181634   JUANA        LOVING                    MO         29076548691
97447388281639   TRACY        MCNEAL                    MO         29077163882
97448116893732   OSCAR        VILLALLVA                 OH         90006341168
97449119991599   MARIA        RANGEL                    TX         75087991199
97449973797123   GABRIEL      AMBRIZ                    OR         44096769737
97451573151334   JEFFREY      JOHNSON                   OH         66005245731
97451834191882   RUSSELL      JACKSON                   OK         21060848341
97452194191951   SHARONDA     MCNEILL                   NC         90011081941
97452962891399   F            CERECERES-FLORES          KS         90014699628
97453118277537   LEANNA       REED                      NV         90015131182
97455224261979   STEFANIE     SLATER                    CA         90007142242
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97456423185955   NICHOLIS         KIMBLER               KY         67073334231
97457178193755   KIESHIA          TERRELL               OH         64548581781
97458954277537   LILIA RUTH       JIMENEZ               NV         90013969542
97459281591585   ARMANDO          GRIEGO                TX         75071422815
97459283691599   YESENIA          MUNOZ                 NM         90015192836
97462864861979   CRISTINA         GUTIERREZ             CA         90014188648
97463356281635   MARIA            RODRIGUEZ-RAMIREZ     MO         90007523562
97464486877537   SHIRLEY          DAVILA-SILVA          NV         43012614868
97464829281635   WES              BATRESAN              MO         90012408292
97467629291951   SHARINA          CANNON                NC         17082246292
97471187691951   AUGUSTUS         BASS                  NC         90010111876
97474333457563   LYDIA            CAMPOS                NM         90006313334
97474866761979   HECTOR           ORTIZ                 CA         90014188667
97476556561979   RAMON            A SANCHEZ             CA         90013125565
97476822291399   MARIA            MALDONADO             KS         90014708222
97477231381635   RICHARD          HICKS                 MO         90007352313
97477868761979   REBECA           GOMEZ                 CA         90014188687
97478893177537   AMBER            KELLEY                NV         43000388931
97478937581635   FREDDY           RIVEROLL              MO         90012209375
97479315533698   BARRY            OHAM                  NC         90001673155
97481225561979   ISABEL           RUIZ                  CA         90014882255
97482452572435   ANTOINE          MYERS                 PA         90014324525
97482822291399   MARIA            MALDONADO             KS         90014708222
97484192461979   GEORGINA         RANGEL                CA         46015551924
97485217991599   OMAR             BAYLON                TX         90008592179
97486215331471   CATHAREAN        BALL                  MO         90002202153
97487156291951   ALFONSO          RODIGUEZ              NC         90009941562
97487377481638   JUANA            MORA                  MO         29078133774
97487417881639   DEREK            KAZEE                 MO         90010334178
97487568477537   BIANCA           MANRIQUEZ             NV         90012835684
97487781756349   DEANTHONY        GRAVES                IA         90013007817
97488453481635   VERDELL          LILLARD               MO         90008314534
97489819781635   JAQUAN           BRIANT                KS         90009498197
97489849393747   BRANBON          ANDREWS               OH         90008738493
97493913591889   ABOUE            DOH-EGUELI            OK         90002199135
97494343691951   ZONIA            AGUIRRE               NC         90014733436
97494748585822   KAREN            HERNANDEZ             CA         90008017485
97497384242526   MARI             RODRIGUEZ             WA         90015373842
97497761191882   ROSALINDA        BUSTOS                OK         21000637611
97497964993755   NICOLE           MCINTOSH              OH         90014679649
97499949697123   ZACHARY          BINGHAM               OR         90013389496
97511168691399   TYSALA           TYLER                 KS         90001691686
97512547381635   ALISSA           JACKSON               MO         90015165473
97512569891399   DAKOTA RICHARD   SILVA                 KS         90014715698
97513159391599   ROSENDA          SALAS                 TX         90006251593
97513517281639   LATRISE          MCDONALD              KS         29032835172
97514465991399   RACHEL           SMITH                 KS         29006864659
97515678381635   ALEJANDRO        TOBON                 MO         29068346783
97515827991951   ERIK             PRIDGEN               NC         90011308279
97515952993732   JERRALYNN        ROUSSEL               OH         90007279529
97521397881634   BOBBIE           JONES                 MO         90014363978
97521426591951   SAUL             DOMINGES              NC         90012814265
97523441191399   KOFFIE           ADABRAH               KS         29012244411
97523792261979   EDUARDO          MORALES               CA         90013577922
97524385572435   ROBERT           HUDSON                PA         90009443855
97527477781635   ANDRES           SANDOVAL              KS         90014104777
97527754297123   ANTIOCO          DIAZ                  OR         90009207542
97527967661979   EVONY            FRAZIER               CA         46066439676
97528129177537   ERIC             LAMBRIGHT             NV         43028311291
97529284893755   KATHLENE         SOMERSET              OH         64588902848
97532648433698   JAVIER           PEREZ                 NC         90010196484
97533867881634   KYLAN            ALEXANDER             MO         90013428678
97535149741955   JASON            HUMMEL                OH         90012161497
97535163681639   BARBARA          BAUM                  MO         90012001636
97535244772435   JASON            HOUGH                 PA         90012592447
97541265391951   JAME             BRON                  NC         90014742653
97541267681634   WENDY            ZAHND                 MO         29036102676
97541542691599   GRACIELA         ARRIOLA               TX         90010035426
97543922561979   MELISSA          MENDOZA               CA         90012519225
97545785991399   CONSTANCE        MOORE                 KS         90008837859
97547125581639   RUTH             FLOYD                 MO         29004241255
97548442841296   CHARLES          HOGAN                 PA         90015084428
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97551214291526   HECTOR        CASAS                    TX         75064212142
97554938693726   ANTWONE       MALLORY                  OH         64590439386
97554995791579   MARIA         AVILA                    TX         90002039957
97555281541296   GREGORY F     SCOTT                    PA         90011722815
97555922897123   YVETTE        CORREA                   OR         44078959228
97557373591882   YENY          CONTRERAS                OK         21053453735
97557467491599   VANESSA       ESQUVIEL                 TX         90015464674
97557557793755   MATT          WALKER                   OH         90013605577
97557634991551   JESUS         QUEZADA                  TX         90013226349
97558634991551   JESUS         QUEZADA                  TX         90013226349
97563141193755   NATISHA       JOHNSON                  OH         90012971411
97563831381635   BONIDA        MCCOY                    MO         29076968313
97564371391599   GUADALUPE     CRUZ                     TX         90009923713
97565731981635   OCTAVIA       BENSON                   MO         29043547319
97566256961979   ANITA         HERNANDEZ                CA         90014882569
97567386461979   OLGA          GONSALEZ                 CA         90009033864
97567772341296   YOLANDA       MCCOY                    PA         90012787723
97568929691399   JENNIFER      LRINE                    KS         90014719296
97569419441296   JESSICA       MOVITCH                  PA         90013944194
97571392491599   IRMA          STICKLER                 TX         75077213924
97571435393755   SARAH         STATON                   OH         90012974353
97572451141955   REYES         MATINEZ                  OH         90013934511
97572461872435   RICHARD       PLASSIO                  PA         90014854618
97572635481638   PRIMALTON     PETERSON                 MO         29020556354
97572778154135   ALINA         BADGER                   OR         90012377781
97573346291531   ARTURO        ROMERO                   TX         90003143462
97574431572435   TRICIA        BOYAN                    PA         90006954315
97575328236164   CATHERINE     RAMIREZ                  TX         90009193282
97577971291399   DARRIN        THOMAS                   KS         90014719712
97578496781634   CHARLES       HICKS                    MO         29061094967
97579264493755   KEESHA        MCGREW                   OH         90014922644
97581653561979   WILLIAM       HOWELL                   CA         90008736535
97583857255975   JAIME         RANGEL                   CA         90000688572
97584771997123   KATHERINE     HAROLD                   OR         90004697719
97586831677537   MONICA P      CORDOVA                  NV         90005388316
97588261993755   RACHEL        THOMPSON                 OH         90013382619
97589262281634   DEATRICE      BROOM                    MO         29066412622
97589887397123   KRYSTAL       TADROS                   OR         90014838873
97592452581634   MOALIN        DAHIR                    MO         90014594525
97592476361979   LORENA        GONZALEZ                 CA         90009914763
97592485877537   CHRISTOPHER   DUDEVOIR                 NV         90014584858
97594161472424   BRENDA        WATKINS                  PA         90013201614
97595548381638   MARIA         CARRERA                  MO         90002055483
97596495981635   EVE           DANIELS                  MO         90011914959
97598448681635   ZAIRE         TURNER                   MO         90014934486
97612267581635   DOMINICK      BROWN                    MO         90009842675
97612525277537   MARIA ELEN    ZAVALA TOLEDO            NV         43012395252
97614614541296   JOHN          FREIBERGER               PA         51078186145
97614641881634   ERIN          JONES                    MO         90010466418
97615435833638   MARCELLUS     WILLIAMS                 NC         90013824358
97615585677537   CATHERINE     VILLA                    NV         90012185856
97617923391399   JOHN          HENRY                    KS         90011499233
97618822291399   MARIA         MALDONADO                KS         90014708222
97619571391399   LUIS          HERRERA RUIZ             KS         90011525713
97619831133698   AUDRA         BOEHM                    NC         90011128311
97622685481634   BONNIE        BISHOP                   MO         90013246854
97623218781635   LUCIA         CORREAL                  KS         90010902187
97623676681634   TOMNESHA      TURNER                   MO         90013756766
97625263681638   ROSENDA       ROJAS                    MO         29010102636
97625447672435   KYLEIGH       COX                      PA         90008874476
97626792881635   DANIEL        LOPEZ                    MO         90006517928
97627179191559   CLAUDIA       PORTILLO                 TX         90012491791
97627197593755   SAUL          HERNANDEZ                OH         90012741975
97629351333676   SALEEMA       BOOTH                    NC         90012643513
97631284191599   ROSIO         RUIZ                     TX         90011092841
97633466891599   JAZMINE       GRACIA                   TX         90005184668
97633492772467   STEPHEN       PEFFER                   PA         90002114927
97633684155975   RONALD        NAIDAS                   CA         90003856841
97635975381634   DOUGLAS       VALLADASES               MO         29095749753
97636898133698   MEGAN         BLACK                    NC         90011128981
97637286191399   JESSICA       HINKLE                   KS         90014722861
97637821297123   ANGELA        GISH                     OR         44066938212
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97641117581635   JANE         RHODES                    MO         29037171175
97642943581634   DENNIS H     SLACK II                  MO         90015079435
97643923372435   ASHLEY       DUPREE                    PA         90015469233
97645197691399   MAUREEN      HILL                      KS         90014731976
97646223991599   MARTHA       RODRIGUEZ                 TX         75034002239
97648112291399   FREDY        INTERIANO                 KS         90014751122
97649265993755   TERRI        ASHMAN                    OH         64563922659
97649849381634   LADONNA      HENDERSON                 MO         90010148493
97652395291951   HELTON       MAGUEYAL                  NC         90013243952
97653819161982   MARCELO      TAFOLLA                   CA         90006858191
97654489691882   COURTNEE     WEST                      OK         21084044896
97655928991599   JOAQUIN      CARRASCO                  TX         75033849289
97656688591599   LORENZA      RUACHO                    TX         90010506885
97657133681635   MAGALI       OLMEDO                    MO         90014161336
97657381791599   SANTOS       RANGEL                    TX         75089943817
97661233541296   DOMINIC      YEAGER                    PA         90010102335
97662831281635   COURTNEY     FORD                      MO         90012358312
97664243891399   SANDRA       BENJAMIN                  KS         90014732438
97665395461979   LILIANA      FLORES                    CA         90011973954
97665984377537   JESUS        MENDEZ                    NV         90014059843
97666467481635   MARQUICES    GRAVES                    MO         90015224674
97667257591399   BENJAMIN     ROCHA                     KS         90014732575
97672492991599   JUAN         ACOSTA                    NM         75009434929
97675716691399   RYAN         GEAN                      KS         90009627166
97675815121832   KIMBERLY     COBB-WILSON               MN         90010858151
97677575277537   JUAN         COLLAZO-LOPEZ             NV         90013205752
97677863861979   TERESA       OSUNA                     CA         90013538638
97677934255933   RIGOBERTO    GOVEA                     CA         90012239342
97678544381639   RHONDA       JAMES                     MO         29030305443
97679498591599   VIRIDIANA    ORTIZ                     TX         90007114985
97679983591882   BRENDA       LEWIS                     OK         90012689835
97682293181639   MATT         MCCLIN                    MO         29031532931
97682771491399   JONNIETA     HAMILTON                  KS         29063897714
97683499181635   FELICIA      SAFFOLD                   MO         29077194991
97684337593755   JOHNNIQUA    CARTER                    OH         90005833375
97685778681638   LARRY        BRYANT                    MO         29073387786
97686728691951   ROSEMARY     SANTIAGO                  NC         90013377286
97691452572435   ANTOINE      MYERS                     PA         90014324525
97691857593755   DANNY        GREER                     OH         64549878575
97692399233698   MARKEEN      HARRISON                  NC         90009893992
97692646491951   GRABIEL      HERNANDEZ                 NC         90008646464
97692986861979   SARAH        DE LA ROCA                CA         90014929868
97693248173297   OFELIA       CASTRO                    NJ         90010752481
97693558361979   VIRIDIANA    LARA                      CA         90015095583
97697293591599   MARGARITA    MEZA                      TX         90004712935
97711953993732   JACOB        ROSS                      OH         64594429539
97712153881635   KOME         KEY                       MO         29023801538
97713945961979   ALICIA       CURDENAS                  CA         90011509459
97714945961979   ALICIA       CURDENAS                  CA         90011509459
97715477672435   MIGUEL       TAPIA                     PA         90014924776
97716647172435   NIKKI        SMALLWOOD                 PA         51094496471
97717542461979   MILDRED      TORRES                    CA         90008565424
97717778133698   AMBER        MCFADDEN                  NC         90012717781
97719238451351   ANA          QUESADA                   KY         90011742384
97719883577537   DIANE        MORROW                    NV         43034808835
97723442855975   GERARDO      RAMOS                     CA         90014904428
97725499991399   JESSE        PIERCY                    KS         29052344999
97728154391882   KIPPEY       HAMPTON                   OK         21049631543
97728286191599   MOISES       PEREZ                     TX         90003052861
97729671877537   SABRINA      RODRIGUEZ                 NV         90011576718
97729945961979   ALICIA       CURDENAS                  CA         90011509459
97731768377537   ALDO         HERNANDEZ                 NV         43072467683
97731984591399   GERALD       YOUNG                     KS         90007549845
97732281191399   LANCE        NORMAN                    KS         29090222811
97734172197123   YOLANDA      BENAVIDES                 OR         90011281721
97734378891951   JUSTINE      JACOBS                    NC         90014403788
97735299981639   ORRIN        DOWDEY                    MO         29020192999
97737554281635   KRISTINA     BENEDICT                  MO         29074885542
97738488481634   ALFREDA      MARTIN                    MO         90014434884
97738994455923   CARMEN       DIAZ                      CA         90015189944
97739584281634   CANDIDO      LARA                      MO         90012995842
97741562473297   MARIA        LUIS                      NJ         90015395624
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97742363391599   KARLA        VALENZUELA                TX         90013543633
97742365791526   EILEEN       ALVAREZ                   TX         90004073657
97743138891599   VIRGINIA     GUILLEN                   TX         90013551388
97743912172435   TAQUAIL      SHEROD                    PA         90015259121
97744185661979   EMILIA       DIGHERO                   CA         90012721856
97744995391951   ARGENIS      QUINTANA                  NC         90010499953
97745253281639   EDILMA       PEREZ                     MO         90004762532
97746189377537   JESSICA      GLOVER                    NV         43007821893
97746349491599   CARLA        GODINEZ                   TX         90013703494
97751895733638   RUTH         WINFIELD                  NC         12098768957
97752587981639   LADONNA      QUINTON                   MO         29007185879
97753238991599   RANDY        SILVA                     TX         90008712389
97753675291951   KATHY        SNYDER                    NC         90012876752
97756376591599   AMADO        LOPEZ                     TX         90013183765
97758562172435   NATHAN       VILLI                     PA         90010355621
97758843397123   KYMBER       HARPER                    OR         90013538433
97762658381635   SHANTAY      FOWLER                    MO         90010176583
97764617661979   SUSANA       ROCHA                     CA         90010646176
97765114841243   SAMUEL       SCATENA                   PA         90014791148
97765722957174   MAX          GUTIERREZ                 VA         90009827229
97765762441243   SAMUEL       SCATENA                   PA         90005837624
97768379691951   DEANGLEO     GOINGS                    NC         90014783796
97771332991599   JESUS        VALLS                     TX         90014523329
97772218441296   JOMARIE      FENNELL                   PA         51034452184
97773269497123   FRANCISCO    PENA ZARRAGA              OR         90012382694
97773763133638   LATISHA      WILLIAMSON                NC         12063997631
97776461191882   CARRIE       CLOUD                     OK         21014804611
97777376361979   CESAR        SAAVEDRA                  CA         90011653763
97783194141296   VICTORIA     DAIS                      PA         90006881941
97784712381634   PATTI        KING                      MO         90015207123
97785879761982   JULIETA      MEDINA                    CA         90010638797
97787171977537   DANIEL       MONREAL                   NV         43031201719
97787733393755   CHANELLE     WOODS                     OH         90007017333
97789463181635   OLGA         TORSELLI                  MO         90013894631
97791122591951   LATAVIA      ROSE                      NC         90014791225
97791544381639   RHONDA       JAMES                     MO         29030305443
97792321272435   MATT         ATER                      PA         90002843212
97792824891951   CHAZMANI     CRAIG                     NC         17089868248
97793272191599   KARINA       MARTINEZ                  TX         75015142721
97793649191927   SUSANA       MORA                      NC         90004806491
97793735393755   ASHLEY       CLEMMER                   OH         90011497353
97794942581635   ALBERT       KEELING                   MO         90006859425
97795742791399   OLGA         AGUILAR                   KS         29079937427
97796142181635   DONNIE       SULLIVAN                  MO         90015081421
97796153393755   JAN          VANDERPOOL                OH         90005221533
97796915291599   FERNANDO     RODRIGUEZ                 TX         90013649152
97798233791599   NADIA        BARRAZA                   TX         90012722337
97798551777537   ELLEN        ESCOBAR                   NV         90005165517
97799617181635   LINDA        FANNON                    MO         90002126171
97812266891951   AARON        GIVENS                    NC         90014792668
97812359833698   SANDRA       GIDLEY                    NC         90010373598
97814114555975   ROSA         ALBA                      CA         90014031145
97814711861979   DORIS        MAU                       CA         90014947118
97815465391599   KEVIN        MOSANSKY                  TX         75028214653
97818252497123   STEPHANIE    ADAMS                     OR         90012602524
97818624377537   BERNABE      BELLO                     NV         90005166243
97819348357183   AMADO        PEREZ                     VA         81047503483
97822152981635   SHANA        WILLIAMS                  MO         90004121529
97822466191882   SHANNON      HUCKEBY                   OK         21022644661
97822574791531   JAMES        WILLETS                   TX         90001605747
97823229777537   COOKMAN      MICHAEL                   NV         90005342297
97825636972435   COLLEEN      WEIKEL                    PA         90014116369
97825679691599   APRIL        LUNA                      TX         90013626796
97826591391399   PAULA        HOLGUIN                   KS         90007695913
97827537591599   ANTONIALID   CALDERON                  TX         75058715375
97831168341296   LINDA        HALL                      PA         90013931683
97832491891599   GERARDO      RUEDA                     TX         90011954918
97832946272435   LATONYA      COOPER                    PA         51045719462
97833583161979   MARGARITA    OBREGON                   CA         90013125831
97835315681635   JAKE         PATTY                     MO         90013083156
97839385672435   JAMES        BILLER                    PA         90015443856
97842624391399   CONCEPCION   MARTINEZ                  MO         90014746243
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97842879761982   JULIETA            MEDINA              CA         90010638797
97842944991599   MELISSA            VASQUEZ             TX         75041799449
97843624391399   CONCEPCION         MARTINEZ            MO         90014746243
97844531691599   ANTONIO            LOZANO              TX         90011865316
97844624391399   CONCEPCION         MARTINEZ            MO         90014746243
97844682871945   MIGUEL             SANCHEZ             CO         90015146828
97847894891599   JESSICA            DIAZ                TX         90012208948
97851599477399   CIPRIANA IGNACIA   HERNANDEZ           IL         90004275994
97852731361979   RICHARD            MIDDLETON           CA         90008297313
97852795897123   CHALES             TURNER              OR         44076067958
97853859761979   VIRGINA            SANCHEZ             CA         90013368597
97854246577537   JOSE               DIAZ                NV         43044912465
97856663481635   SHEE               WAH                 KS         90013216634
97856936691399   RIGOBERTO          MADRID              KS         29089459366
97857213897123   KERRY              WINKLER             OR         90012392138
97858245181639   JAMES              HERNANDEZ           MO         90014202451
97858266191599   CARLOS             NAVA                TX         75099102661
97859377781634   KERRI              SUTTERFIELD         MO         90007753777
97861354691399   SONIA              MARTINEZ            KS         90014753546
97862427991951   JOSE               MOLINA              NC         90010194279
97863213491599   LUIS               GUTIERREZ           TX         75033802134
97865568331932   DATHAN             HINRICHS            IA         90009425683
97866661991399   KARLA              DOMINGUEZ           KS         90014746619
97866982193755   JESSICA            BROWN               OH         90006419821
97867385897123   KAREN              JOHNSON             OR         90013453858
97867581541296   CARLISA            PLUMMER             PA         51017625815
97867954381635   ANDREW             TURNER              MO         90015559543
97868624477537   LARA               FINEGAN             NV         90014936244
97869676691399   TERESA             CHAVEZ              KS         90014746766
97872377777537   THOMAS             JORDAN              NV         90014973777
97873895391951   CHENITA            JACKSON             NC         90002828953
97877111791531   AGUSTIN            RODRIGUEZ           TX         75029171117
97877549255946   LARRY              BULICK              CA         48003665492
97878764881634   BOBBY              HARRIS              MO         29076297648
97882949997123   KYLEE              SPIER               OR         90013209499
97884235591544   FIDEL              ELKABACHI           TX         75086922355
97885563493755   DUGLOS             TONN                OH         64561925634
97887781733698   MARCUS             MINTZ               NC         12098247817
97892415641296   RENEE              SIMMONS             PA         51072014156
97893378172435   JEREMY             WATSON              PA         90012833781
97893423881635   DUSTIN             EDWARDS             MO         90013344238
97895478233698   SUSAN              DIXON               NC         90011154782
97896311141296   NATIELLE           WASHINGTON          PA         90013873111
97896478233698   SUSAN              DIXON               NC         90011154782
97899529381634   DWAYNE             JONES               MO         29003215293
97915629761979   RAYMUNDO           GALLEGOS            CA         90011656297
97917476381639   BRIAN              REESE               MO         29065454763
97918186591882   JASON              KILPATRICK          OK         21088881865
97918753791886   JENNIFER D         MURRY               OK         90007557537
97922861291547   ALFREDO            LOPEZ               TX         75028688612
97923312561979   GINA               ROBERSON            CA         46048383125
97923974172435   MELINDA            CLARK               PA         90015359741
97924785981634   CRICKET            CRICKET             MO         90008907859
97928892291951   KARLA              ROSALES             NC         90014878922
97929792231436   KATHY              WISE                MO         90003117922
97929829181635   BRANDYCE C         TYLER               MO         90003758291
97931694741296   VINCENT            VATTIMO             PA         90003286947
97932414591951   CYNCERELY          SPENCE              NC         90012664145
97932836191599   EDUARDO            PEREA               TX         75009948361
97933527272435   TERRIKA            SMITH               PA         90014535272
97933635591951   BRIAN              ADAMS               NC         90014416355
97934131481635   ASHLEY             UPHAM               MO         90014471314
97935375681634   MICHAEL            SUMBI               MO         90012973756
97935476677537   LORI               PETERSON            NV         43003714766
97936744491951   MYRA               GARCIA              NC         90012997444
97939135397123   MONIESHA Q         PACHECO ZARAGOSA    OR         90009881353
97939643861979   SARAI              HERRERA             CA         90011656438
97941499781635   KRYSTAL            RAY                 MO         90001824997
97942627993755   BRANDON            ASHLEY              OH         90013026279
97943869477537   MARIA              CORREA QUINTERO     NV         43013008694
97944913761941   ROGELIO            LOPEZ               CA         46095339137
97945155491885   STEPHANIE          BENTON              OK         90006501554
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97945939691599   JAVIER         ROMERO                  TX         75025019396
97948649861979   AARON          CONCHA                  CA         90013516498
97951272961979   RUBY           JAUREGUI                CA         90010042729
97951784197123   CHRIS          LUEDTKE                 OR         90013547841
97951921891399   ANTHONY        HELEM                   KS         90011399218
97953123377537   AURELIO        REYES                   NV         90013231233
97953852561979   MARIBEL        REYES                   CA         90010378525
97954152341296   TINA           MIRANDA                 PA         90014341523
97957639577537   BARBARA        KETTERY                 NV         90007256395
97958231281635   PHILIP         MURDICK                 MO         90013642312
97959655161979   ANGEL          BANAGAS                 CA         90014976551
97961849731448   MATHEW         SHERMAN                 MO         27516088497
97962636997123   BRENDA         LEIVAS                  OR         90009566369
97963336161979   CARLA          CHAVEZ                  CA         46016023361
97963834281635   JOANN          HICKS                   MO         90009908342
97964835761941   HECTOR         RODRIGUEZ               CA         90009338357
97965248361992   ELAINA         COWAN                   CA         90008092483
97965835761941   HECTOR         RODRIGUEZ               CA         90009338357
97968336341296   DAN            SAMMARTINO              PA         90012243363
97968447841296   TAEMON         POSEY                   PA         90013394478
97968947777537   FERNANDO       ROSCOM                  NV         90010359477
97969484681634   LEROY          LLWEWLLYN               MO         90002424846
97972978297123   CANDACE        SCAEFER                 OR         44035319782
97973556433698   VALENTIN       VALDEZ                  NC         90006815564
97976985977537   GEROME         SAM                     NV         90006579859
97977618641296   PATRICIA       GURCAK                  PA         90013986186
97978168377537   KARLA          ESCOBAR                 NV         90011391683
97978616877537   JENNY          CHILDS                  NV         90013646168
97979215691599   MONICA         AVALOS                  TX         90008942156
97979853761979   GUADALUPE      TAPIA                   CA         90013088537
97981851393732   SHIRLENA       LANDIS                  OH         90006728513
97982569272435   JOSH           MCWILLIAMS              PA         51000505692
97985977593755   CHRISTOPHER    MATHENY                 OH         90014459775
97987929591951   KAREEN         BAGLEY                  NC         90013009295
97988468331624   ALETA          DEVINE                  KS         90000234683
97989345261979   MARSYA         ABDULLAH                CA         90013493452
97991739691826   MIGUEL ANGEL   VILLAMIL                OK         90010827396
97992499641296   ANTONIO        GATLIN                  PA         90010504996
97993161481635   GREGORIA       AREVALO                 MO         90006131614
97993323481635   FRANK          PEREGRINA               MO         90015233234
97994669572435   ANTONY         MORRELL                 PA         90014146695
97995713477537   JOVANEE        KNIGHT                  NV         90000697134
97996357281638   ESMERELDA      ESPINOZA                MO         29052353572
97997318591592   ANICETO        LOPEZ                   TX         90011903185
97997815997123   JESSICA        NAVARO                  OR         90013578159
97998435272435   KRISTI         GUILFORD                PA         90013774352
97999899941296   TERRY          LEIGEBER                PA         90011728999
98111377991399   BRANDON        BROWN                   KS         90013933779
98112574293755   MARK           TAYLOR                  OH         64526495742
98112597191882   KIMBERLY       MCDOUGAL                OK         21046195971
98112931157563   CATHLEEN       MARQUEZ                 NM         90014629311
98114385791599   JACKIE         DE LA CANAN             TX         90012413857
98114851457563   EDWARDO        GALINDO                 NM         90011238514
98115831391599   LILIANA        ORTIZ                   TX         90012708313
98115973591553   MARGARITA      GUTIERREZ               TX         90001079735
98116974291599   CRYSRTAL       RIVERA                  TX         90013609742
98117967981634   ELSI           HERRERA                 MO         29038789679
98119735793747   MARK           JAMES                   OH         90007827357
98119788781639   SHANNON        TSCHIRHART              MO         90014707887
98122137177537   JAVIER         ROMERO                  NV         90013811371
98122689581637   TASHANNA       SAWYER                  MO         29093486895
98122865472435   HARRISON       DANIELS                 PA         90013888654
98125373361977   CHRISTINA      LOWMAN                  CA         90012763733
98125453241296   TAMMY          DEMUS                   PA         90013594532
98125477193755   MATTHEW        BAYER                   OH         90015124771
98131487161499   MAURO          CAMPOS                  OH         90014944871
98131679255951   SHAUNA         SHELTON                 CA         90001206792
98132823361978   APRIL          CORDOVA                 CA         90007458233
98133725291951   TONYA          ROGERS                  NC         90005807252
98134262491599   ELVIA          MEDINA                  TX         90009502624
98134899877537   PATRICK        ST JOHN                 NV         43090468998
98135888891599   LLUVIA         SIGALA                  TX         75037018888
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98137325441296   SHAWN           LOGAN                  PA         90014013254
98137681477537   GERSON          ROSALES                NV         43076806814
98139237655951   VALERIE         FIERRO                 CA         49095412376
98139356281635   EUGENE          MOORE                  MO         29004233562
98139458572435   JASON           HOUGH                  PA         90013184585
98141654133638   DAMION          FONGEMIE               NC         90009386541
98141881281639   PATRICIA        TUCKER                 MO         90014708812
98142735161977   MARISOL         GONZALEZ               CA         90000127351
98143352133623   JOSE            FLORES                 NC         90010993521
98143735161977   MARISOL         GONZALEZ               CA         90000127351
98145776541296   AMBER           CHAK                   PA         90011177765
98146115181639   YOVANY          FIGUER                 MO         90012141151
98146147493755   MARIE           KENDRICK               OH         90007791474
98146638477537   MICHAEL         CALLAHAM               NV         90010786384
98147626371936   ANRDREA         HERNANDEZ              CO         90011206263
98148179481639   ENTOEN          TAYLOR                 MO         90006911794
98148539277537   CHRISTOPHER A   MIKESELL               NV         90015025392
98149233277537   AZUCENA         BENITEZ                NV         90009902332
98149817793732   WILLIAM         ABNER                  OH         90013188177
98149828941258   LATOYA          SCOTT                  PA         90013938289
98149964655951   ASHLEY          WILLIAMS               CA         49040309646
98153141277537   MARIA           RIOS                   NV         43056901412
98154374981634   CAMERON         YOUNG                  MO         29039493749
98154724861927   KAMAAL          MARTIN                 CA         46020897248
98157338491399   JASMINE         COLLINS                KS         90012573384
98157374585834   JOSEPHINE       PETRICH                CA         46003693745
98157522961927   EVANS           SHAWN                  CA         46043755229
98158144891951   KADEESHA        MEDLEY                 NC         17017121448
98162633491399   WILLIAM         MEJIA                  KS         90013876334
98164523281635   RACHEL          MILNE                  MO         29028315232
98165236461977   OSCAR           HERNANDEZ              CA         90010692364
98165338781639   NATALIA         CONTRERAS              MO         90014833387
98167537961927   MANUEL          KULANI                 CA         90001005379
98168222572435   DONNA           PLAISTED               PA         51095402225
98168819493755   JONIL           KOGER                  OH         90008788194
98168899281639   DUFFLEBAG       DIME                   MO         90002658992
98169854791399   MISTY           MILLER                 KS         90008708547
98171913291599   DULCE MARIA     CONTRERAS BARRIOS      TX         90013829132
98171959281591   DENISE          JASINSKI                IL        90014949592
98172287261977   PATRICK         BLACKKETTER            CA         90015082872
98172925893755   RANDY           COOTS                  OH         90013129258
98173751181635   MARK            ROBINSON               MO         90008007511
98174947677537   ALMA            PICAZO                 NV         90008019476
98175823681639   STUART          REED                   MO         90008758236
98176744977537   GLORIA          GARCIA                 NV         90010627449
98176852693755   LINUS           GUNTLE                 OH         64504128526
98177544777537   RENEE           BARTLETT               NV         90014555447
98181265981639   HILLIARY        STEELE                 MO         90001642659
98181376177537   KIMBERLEY       NICHOLS                NV         43085423761
98181955181634   JODI            JOHNSON                MO         29077529551
98182488657563   LUZ             TAVIZON                NM         90015104886
98182811261977   LETICIA         OVIEDO                 CA         90013318112
98183954381634   SAMANTHA        O'BRIEN                MO         29059069543
98184948393755   KORTNIE         BREWER                 OH         90014769483
98186531161939   KATIUSKA        AGUILAR                CA         90010555311
98187334661977   KATRINA         QUEZADA                CA         90010373346
98188779857563   MARTHA          JURADO                 NM         35501377798
98188996461927   JANET           OWENS                  CA         90010299964
98191857661927   CATRIN          LEWIS                  CA         46075538576
98192614577537   NEIDA           FLORES                 NV         90009806145
98193914691951   MICHELLE        CASSAMAJOR             NC         90011729146
98194914691951   MICHELLE        CASSAMAJOR             NC         90011729146
98195634561977   AIOTEST1        DONOTTOUCH             CA         90015116345
98195914691951   MICHELLE        CASSAMAJOR             NC         90011729146
98196579957563   PERSCILLA       BELTRAN                NM         90010505799
98196679981639   PORCHA          PIERCE                 MO         90014716799
98197774555951   TERRI           LEROSA                 CA         90011117745
98197914691951   MICHELLE        CASSAMAJOR             NC         90011729146
98198164157563   MIGUEL          SIERRA                 NM         90013611641
98198957272435   JOSHUA          KETTERMAN              PA         90013949572
98212226755951   JOSIE           HAYNES                 CA         49015372267
98213329693755   QRASHEMIA       JOHNSON                OH         90013393296
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98213725955951   MARIA             RODRIGUEZ            CA         90013667259
98215176177537   LORENA            QUINTANILLA          NV         90009021761
98215843991599   TANNIA            NIETO                TX         90004288439
98217337193755   TRACY             VANDERPOOL           OH         64591703371
98217422172435   PAYGO             IVR ACTIVATION       PA         90014224221
98219832155951   ERIC              GUTIERREZ            CA         90012988321
98221119661927   STEVE             HALLAUER             CA         46076721196
98221213891951   SHAKIRA           ROLLE                NC         90011732138
98222642161977   BERNADETTE        HOUSTON              CA         90012026421
98225362291399   GUADALUPE         ORTIZ                KS         90013153622
98227397193755   LORIE             CASSETY              OH         90002333971
98227498655951   MICHELLE          MARQUEZ              CA         90014744986
98227778733638   YOLANDA           GERMAN               NC         12059077787
98228437951325   DANIEL            MESCHER              OH         90001584379
98231654681634   TYRELL            JONES                MO         90013606546
98231715841296   LAMARR            KEMP                 PA         90015307158
98233573181634   NICHOLE           PARANGUEO            MO         29021165731
98235316272435   JEFF              URICK                PA         51008823162
98235445291399   TIMOTHY           SMITH                KS         90006904452
98235634561977   AIOTEST1          DONOTTOUCH           CA         90015116345
98235721955946   ANA               LOPEZ                CA         90007927219
98235744381639   LAQUEDRA          HOLMAN               MO         90014717443
98236391491599   BARRON            ZULEMA               TX         90005033914
98238191261925   CESAR             NOLASCO              CA         46095871912
98238747193755   BRITTANY          COTTRELL             OH         64522897471
98238925381634   SILVINA           SAVEDRA              MO         29020389253
98239497591951   SHERRELL          RILEY                NC         90011754975
98239517393755   AMBER             RUIZ                 OH         90007365173
98242781933638   SHAKISHA          PRICE                NC         12021937819
98242992655963   RHONDA            CARDER               CA         90010689926
98243448641296   NICOLE            GETZ                 PA         90005934486
98243698681634   FRANK             JOHNSON              MO         90015396986
98244222377537   GONZALES          GILBERTO             NV         90008022223
98246449993755   ANNE              SHOCKEY              OH         64598654499
98247837172435   SHANTAY           SNYDER               PA         90006078371
98248331581639   JAMES             JONES                KS         90014863315
98257414191599   FERNANDO          AYALA                TX         90013624141
98259246881634   MARY              ZAVALA               MO         90010972468
98259548161927   JESSICA           DOMINGUEZ            CA         90001005481
98263285257563   CHRISTINA         ROMAN DOZAL          NM         90009252852
98263715281634   MICHELLE          ROBINSON             MO         90013337152
98264638847945   BRANDI            LONG                 AR         90014156388
98265535991599   CLAUDIA           VIGIL                TX         90009865359
98267691191399   MALICE            ZIOPE                KS         90008666911
98269764861977   MATTHEW           NARANJO              CA         46064357648
98271273755951   MICHAEL           CROCKETTS            CA         90003952737
98273431881637   SHAWN             HOLSWORTH            MO         29010264318
98277176781634   OSCAR             HERNANDEZ            MO         90015211767
98277633561927   IDALIA            ZARES                CA         46022726335
98278425181639   JUDY              MCCLARIN             MO         90009354251
98282726255951   ALICIA            OROZCO               CA         90002677262
98282928141296   DARNELLA          COFFEY               PA         51043709281
98283658791399   YOLANDA           ALCALA               KS         90013946587
98284851477537   ELODIA            ALFARO               NV         90015118514
98286578861927   CRISTINA LA REE   FARREL               CA         90003245788
98291295877537   KARL              LUM                  NV         43086392958
98291832181639   MICHAEL           MITH                 MO         90014968321
98292574191927   THOMAS            CONRAD NEWMAN        NC         17096505741
98292676581634   ALICIA            KINNEY               MO         29090106765
98292948177537   EMILY             LAWRENCE-PHALAN      NV         43097059481
98293358881639   AFANO             VISINIA              MO         90011273588
98294273881639   DEDRA             DRAPER               MO         90014782738
98294973193755   BRIANA            BALES                OH         90012219731
98297119661927   STEVE             HALLAUER             CA         46076721196
98298693681634   CHASATIE          FISHER               MO         90013996936
98298794591599   MARIBEL           DE SANTIAGO          TX         75078337945
98299265677537   ADELA             MONTANO-VALDEZ       NV         90015112656
98299543681634   RANDY             TOPPING              MO         90013695436
98311665372435   VALERIE           BORKOVICH            PA         90014186653
98312829955951   VERONICA          MIRANDA              CA         90004168299
98313353691951   JUDITH            PEELE                NC         90013713536
98313828391242   RENE              GARCIA               GA         90013628283
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98314132491599   YVETTE       HERNANDEZ                 TX         75033801324
98314434955951   VINCENT      GARCIA                    CA         90000774349
98314618957563   ARTHUR       GOLDEN                    NM         90014706189
98316918281639   HELADIO      LOPEZ                     MO         90013159182
98316929581634   EDUARDO      CILVA HORTELANO           MO         90012189295
98317586141296   GEORGE       HUNT                      PA         51087215861
98317817572435   DANIELLE     ARNER                     PA         90010308175
98318461391951   PAYGO        IVR ACTIVATION            NC         90004584613
98318693657563   LUCY         OCHOA                     NM         35503086936
98319842361977   JESUS        ROJAS                     CA         90010418423
98323195441296   HEATHER      MUR                       PA         90005261954
98324776357563   RODRIGO A    ESTRADA                   NM         90001247763
98328621877537   CLAYTON      ROBERT                    NV         90014676218
98328824757563   CASAS        SILVIA                    NM         90006528247
98328835561977   JOSE         CORTEZ                    CA         46020688355
98329114155999   CESAR        MARTINEZ                  CA         49076471141
98329134741296   MELISSA      SNYDER                    PA         51032441347
98329531277537   INES         VENCEZ                    NV         90010775312
98332637871942   CHARLOTTE    HARDING                   CO         90012816378
98332761761977   AMIR         HABIBI                    CA         90012867617
98332776357563   RODRIGO A    ESTRADA                   NM         90001247763
98335597981634   MATTHEW      KAPP                      MO         29074285979
98335656891599   DELILA       VILLARREAL                TX         90010966568
98337466477537   TRACY        LEIGH                     NV         90014824664
98337712391399   BRANDON      TAYLOR                    MO         29013637123
98339498655951   MICHELLE     MARQUEZ                   CA         90014744986
98339945961977   MIGUEL       HILARIO                   CA         90010869459
98342843277537   JOSEPH       CALLEROS                  NV         90011108432
98344936141233   SHARICE      BLEDSOE                   PA         90013479361
98345218891599   ZULY         SILVADORA                 TX         90010692188
98346223791599   PERLA        ALVARADO                  TX         90011012237
98346549971936   LISA         CORRAL                    CO         90005465499
98346864655951   MARTHA       SALINAS                   CA         90011118646
98347638793782   CHRIS        STRINGER                  OH         90013066387
98347769257563   MARIA        HERNANDEZ                 NM         90014697692
98348834181634   JAMES        BROOKS                    MO         90014768341
98349694855951   JUAN         BERBER                    CA         90014586948
98351464391399   PEDRO        RUIZ                      KS         90012694643
98352694855951   JUAN         BERBER                    CA         90014586948
98354274981639   THEODORE     BRANCH                    MO         29005582749
98356292841296   MARY         LEONE                     PA         90010742928
98356441377537   CHARLES      WALKER                    NV         90012684413
98356854984361   WILLONA      KINSEY                    SC         90008288549
98358562457563   NOE          VILLA                     NM         90011255624
98359731755951   SHEILBY      RICHER                    CA         90001377317
98363364641296   CINDY L      CLYMIRE                   PA         90013993646
98363527657563   NOHEMI       RAMOS                     NM         90015135276
98364149261977   MARCO        DIAZ                      CA         90014911492
98364656891599   DELILA       VILLARREAL                TX         90010966568
98364682872435   JAMEY        SUMMERS                   PA         90011036828
98365825557563   GLENDA       TELLEZ                    NM         90014488255
98366585881639   FELIX        PORTER                    KS         29013675858
98366935333641   LACRETIA     BENTON                    NC         12016279353
98366958155951   HEATHER      BLOOMER                   CA         90009079581
98367938255951   LUIS         ROMERO                    CA         49047089382
98369959681639   MARCELLUS    WALKER                    MO         90014719596
98371959681639   MARCELLUS    WALKER                    MO         90014719596
98372626791955   SELVIN       RAMIREZ                   NC         90011146267
98373219177537   JOSUE        AVILA                     NV         90000862191
98374112181634   KYLA         DAVIS                     MO         90014691121
98374643177537   NICOLE       WILLIAMS                  NV         90010196431
98375568577537   ABAD         GARCIA                    NV         90001655685
98377336172435   TERESA       DAILEY                    PA         51014613361
98377959681639   MARCELLUS    WALKER                    MO         90014719596
98381896957563   ANDRES       FIERRO                    NM         90014718969
98383233581635   ANDRE        GRANT                     MO         29067582335
98383323955951   JOHN         OJEDA                     CA         90002123239
98383634355951   RAMON        GONZALEZ                  CA         90014826343
98384935472435   DOUGLAS      TURK                      PA         90008409354
98385236181639   FREDRICK     REED                      MO         29091592361
98385362791399   STEPHANIE    NELSON                    KS         90008733627
98386245661992   MARTIN       MACIAS                    CA         90012122456
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98388871381635   BETSY        GRAHAM                    MO         90011428713
98392125151325   LATEFA       HUGHES                    OH         90008381251
98393458291599   BRENDA       RAMOS                     TX         90006084582
98393579455951   ROBERT       ADAME                     CA         49080185794
98394244556345   CHET         STICKEL                   IA         90014632445
98394483391399   JUAN         PEREZ                     MO         90015304833
98395191981639   SHANIE       COUNCE                    MO         90014731919
98398158685842   SAMUEL       DUFFY                     CA         90012801586
98398195281634   GREGORY      FRANKLIN                  MO         90013981952
98398513481634   TIFFANY T    FORD                      MO         90011065134
98399291857563   JOHNSON      TAMY                      NM         90006992918
98413687493732   CLARENCE     THAXTON                   OH         90003936874
98416216593755   HEATHER      LAWSON                    OH         90014622165
98416234781634   LORIN        DOENTON                   MO         90002402347
98417127731625   SHELDON      MILTON                    KS         90011891277
98417198681639   CHRIS        MANN                      MO         29009951986
98417641991399   SCOTT        SAMPLE                    KS         90011786419
98418468331624   ALETA        DEVINE                    KS         90000234683
98421156857563   CHRISTOPHE   HERNANDEZ                 NM         35569191568
98423662391399   GERALDINE    EASTMAN                   KS         90011786623
98423688481634   KASSY        KETTER                    MO         90007546884
98425645891399   VICTORIA     OVANDO                    KS         90010286458
98426835955951   LUIS         MARQUEZ                   CA         90011358359
98426971157563   LEIYONA      YOUNG                     NM         90006669711
98427185657563   PATRICIA     ALVARADO                  NM         90014721856
98427851477537   ELODIA       ALFARO                    NV         90015118514
98428679461977   MARIA        BORUNDA                   CA         90011366794
98431641361977   JOSE JESUS   CARMONA                   CA         90010036413
98432569272435   JOSH         MCWILLIAMS                PA         51000505692
98433631791242   TONY         VINCENT                   GA         90011396317
98434377141268   RONALD       BUTLER                    PA         90012983771
98434717781634   MARIO        SEGURA                    MO         90013337177
98435256361927   CHRISTIAN    ARAGON                    CA         90005952563
98435676691599   VERONICA     AYALA                     TX         90010536766
98439255372435   CARLIE       MINEARD                   PA         90014642553
98441658441296   ANTHONY      WRIGHT                    PA         90001466584
98442127293755   JOHN         DANIELS                   OH         90014961272
98442847157563   RUBY         FRANCO                    NM         90012668471
98444558451338   LAYLAND      CAVE                      OH         90007725584
98445158357563   RACHEL       FRANCO                    NM         35530081583
98447139625128   LAURA        ANDERSON                  AL         90014781396
98447348191399   CECILIA      REYES                     KS         90014773481
98449219291399   JOSE         CASTILLO                  KS         90014922192
98451115681634   RAYSHAWN L   DENNIS                    MO         90014691156
98451766681639   LISA         OKAN                      MO         90011467666
98454948861977   TRINIDAD     ZAMBRANO MELENDEZ         CA         46065809488
98455376593732   SONYA        MOORE                     OH         90005323765
98455863357132   DALINAH      ALGARIN                   VA         90011548633
98455916281635   CARNIKA      TURNER                    MO         90010129162
98456547293732   CHRIS        CATBERTH                  OH         64509535472
98457753893755   QUARMILEY    JOY                       OH         64529267538
98457826872435   JOHN         FRY                       PA         90014678268
98458717972435   JACQUELENE   MALCOLM                   PA         90014797179
98458826872435   JOHN         FRY                       PA         90014678268
98459663177537   WALLACE      KIDD                      NV         90010146631
98461134561927   PERLA        ORTIZ                     CA         46070551345
98461926257563   CHRIS        MORENO                    NM         35543919262
98463464157563   AMERICA      VASQUEZ                   NM         90014734641
98463595491951   FREDRICKA    PHELPS                    NC         90001005954
98465787693755   MICHAEL      HALL                      OH         64547497876
98465814555951   ADRIANA      ENCISO                    CA         90014158145
98466714881634   LAKISHA      TOLFREE                   MO         29057367148
98466827391951   TARKITA      DELOATCH                  NC         17072848273
98468295981634   BETTY        BOYD                      MO         90014372959
98468526891547   ROBERT       YRUEGAS                   TX         75016745268
98469278791553   SARA         RAYA                      TX         90011962787
98471328591882   VICKEY       COWSERT                   OK         21016793285
98472745377537   JOHN         ANDERSON                  NV         90010877453
98473253593755   DAARINA      DAVIS                     OH         64564732535
98474251481639   LEOLA        WEGER                     MO         90014732514
98475362857563   JANEL        IRVIN                     NM         90014743628
98477142931624   MONETTE      JENNINGS                  KS         90010411429
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98478428472435   KYLEIGH            COX                 PA         90014804284
98482315777537   ASHLEY             MARTINEZ            NV         43098413157
98482588393755   KATHY              WILLIAMS            OH         90010495883
98485155561982   GUADLUPE           RAMIREZ             CA         90015091555
98486789381634   HERMINIA           OLIVAS              MO         90014377893
98489449891599   GRISELDA           GARCIA              TX         75035974498
98489593181634   DERMON             WASHINGTON          MO         90015205931
98495989177537   ELISEO             GOMEZ               NV         90014449891
98497222181635   MEGAN              PICKERING           MO         90008642221
98497597957563   JOHN               HUNT                NM         90014735979
98497819581634   ABRAHAM            LANDEROS            MO         90010658195
98498597957563   JOHN               HUNT                NM         90014735979
98499259191399   MERRI              YOUNT               KS         29002192591
98499438661977   YANELLA            MARTINEZ            CA         90013174386
98511182281639   VERNELL            HAYNES              MO         29026801822
98512172861977   HANUMANTHA         YALAMANCHI          CA         90010441728
98512371581639   ADRIANA            JIMENEZ             MO         90014733715
98514631971936   RAUL               ESTRADA             CO         38012416319
98516244255951   CRISTINA           THOMAS              CA         90014292442
98516923691579   INES               SOSA                TX         75065029236
98518379672435   NANCY              FIELDS              PA         90008533796
98518715257563   DESTINEE           SEAWOLF             NM         90011267152
98519179655963   FRANK              GONZALES            CA         90012801796
98523179377537   NADIA              RAMIREZ-RUBIO       NV         90014791793
98524419361977   LISA               TABLER              CA         90011394193
98524734657563   NANCY              SALAS               NM         90014737346
98527734657563   NANCY              SALAS               NM         90014737346
98528289891599   ISELA              MADRID              TX         75002262898
98531734657563   NANCY              SALAS               NM         90014737346
98534482977537   JUANA              PARTIDA             NV         90008124829
98534589461977   NAZDA              VALDEZ              CA         90013785894
98535944181639   CRYSTAL            MCCLOYN             KS         90014969441
98536963691955   BRENDA             YOUNG               NC         90011719636
98537399281639   MAKISHA            DUNN                MO         90014763992
98538828893755   SAM                TOLER               OH         90015238288
98539496772435   RANDALL            RATTI               PA         90015144967
98539679581639   CATHERINE          BARTOW              MO         29080726795
98539712261977   APRIL              BISHOP              CA         90012307122
98541199481634   CHAO               VANG                MO         90004301994
98541624491599   LORENZA            ROQUE               TX         75051166244
98542882161927   AL                 MCGOWEN             CA         90007798821
98544441981639   DAN                MILLER              MO         90014734419
98544699881639   RAMIRO             MARTINEZ            MO         29018576998
98545795891951   CHY-LEA            HICKS               NC         90011797958
98549287593755   RODNEY             HOUSE               OH         90012492875
98549897955999   JESSE              COTA                CA         49022108979
98551246593732   JAMES              TUCKER              OH         64544252465
98551921941296   VERNEESA           KERSHAW             PA         51097519219
98552795991599   JESUS              ALMANSA             TX         90010997959
98556229577344   MARIO              REYES                IL        90010322295
98557161791934   ANTOINE MICHELLE   LOVE                NC         90015131617
98557637691934   ANTOINE MICHELLE   LOVE                NC         90012106376
98557827855951   CARMEN             SOTO                CA         90003368278
98558478881639   SAMANTH            PERRIGO             MO         90014734788
98559174581634   CHERYL             REEVES              MO         29001741745
98559268291599   ARCHIE             BRIDGES             TX         90011012682
98559916893755   VONDA              FORD                OH         64534319168
98562439991599   GABRIELA           ESCARZAGA           TX         90000504399
98562467651328   LOLITA             BOYKINS             OH         90008314676
98563132555951   JOSE LUIS          HERNANDEZ           CA         90013601325
98563221991399   CEDRIC             JORDAN              KS         90007472219
98564748191399   CYNTHIA            ACOSTA              KS         29001357481
98565269561927   CYNTHIA            CRUZ                CA         46021132695
98569413491951   DARRYL             WILLIAMS            NC         90011804134
98569792491599   ZULMA              MEDRANO             TX         90012697924
98571176177537   LORENA             QUINTANILLA         NV         90009021761
98571689591399   JORGE              SANCHEZ-PEREZ       KS         90003166895
98573889193755   DEANNA             BERGHOEFFER         OH         90011508891
98573973581634   MELISSA            WEST                MO         29000879735
98574328591399   DENISE             STAFFA              KS         90013933285
98574795581634   SHANNON            MARTIN              MO         90007697955
98575518891951   KATHERINE          HARDNETT            NC         17076035188
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98576475481637   NIKKI                 GRIGGS            MO        90013304754
98577698355951   JUANCARLOS            ARVIZU            CA        49080326983
98577914255951   CYNTHIA               MORA              CA        49096579142
98578644255951   GUADALUPE FERNANDEZ   CORTEZ            CA        90009496442
98582268441296   FRANK                 LOCUST            PA        51075212684
98582795391599   BENJAMIN              ORTEGA            TX        90013567953
98583293793748   AMBER                 HEINE             OH        90001662937
98584287661927   LAURA                 ANSELMO           CA        46023252876
98584426791579   DANIEL                DAVILA            TX        90011734267
98586357861977   DAVID A.              DIXON             CA        46088093578
98587837491599   OSCAR                 BARRAZA           TX        90008728374
98587865861977   SAUL                  PLAZA             CA        90013068658
98592825881639   FERNANDO              ARIZPE            MO        90011258258
98593235857563   MAYRA                 OLIVAS            NM        90014912358
98593375793755   LEROY                 POTTER            OH        90014693757
98593765661927   JESSIA                KHUENN            CA        90001817656
98595434381634   EULALIO               VASQUEZ           MO        90009654343
98596257593748   BRIDGET               DOUGLAS           OH        90011892575
98596335661977   VICTORIA              GADEA             CA        90012773356
98596965761977   RICHARD               LUTZ              CA        90010869657
98597195441296   HEATHER               MUR               PA        90005261954
98597612281639   CELASTINA             PEREZ             KS        90014736122
98611146491399   GERARDO               VAZQUEZ-PEREZ     MO        90012721464
98612919881634   JUSTIN                SCHILLING         MO        90004539198
98613947385951   DARINEL               RINCON            KY        90013559473
98614155781639   BETH                  FITZGERALD        MO        29045801557
98615732455951   LAURA                 AVILA             CA        49092597324
98616868957563   EVELYN                ARMENDARIZ        NM        90014748689
98619895191599   ROBERT                LUJAN             TX        75078248951
98621161577521   SCOTT                 PIERCE            NV        90005461615
98621729681639   RAYN                  KERMER            MO        90014737296
98622181155951   BERNARDINO            SANTIAGO          CA        90014431811
98623524361977   FERNANDO              SALGADO           CA        90006865243
98624714441296   KEITH                 MOLINARI          PA        90003257144
98627466261977   SANDRA                JENNEY            CA        46039514662
98627987657563   OSCAR                 GALVAN            NM        90010619876
98628779257132   JENNIFER              DOUGLASS          VA        90006397792
98628839881634   ERICA                 MCKELVY           MO        90007548398
98628928877537   JOSE                  LOPEZ             NV        90012969288
98629529693755   TONY                  HOWARD            OH        90007835296
98629778881639   STEPHANIE             BROWN             MO        90014737788
98631667955951   KIVA                  FORD              CA        90005276679
98632798455951   DALLEN                JOHNSON           CA        49052117984
98633347833638   DAWN                  HOLMES            NC        90004603478
98634551791544   PERLA                 MATA              TX        90012155517
98634823393755   WALTER                ROBERTS           OH        90013018233
98635235791399   NORMA                 MARTINEZ          KS        90005032357
98635916793732   DONALD                RITTER            OH        90012119167
98636964985689   SAIRLEY               DOWNING           NJ        90013479649
98641387355951   ELIDA                 YLIANA SOTO       CA        90004653873
98642327857563   LARAY                 ATLAS             NM        90006893278
98643442741296   DENISE                BROOKINS          PA        51023864427
98646554561954   OSCAR                 SOSA              CA        46006275545
98648311591599   SANDRA                RAMIREZ           TX        90011013115
98648575381639   CURTIS                DRAFFEN           MO        90014745753
98651321491599   PRISCILLA             REYES             TX        90011013214
98651588381639   ERMELINDA             VILLAGREZ         MO        90014745883
98652116791399   ZOEUNDRA              MCCAINE           KS        90015131167
98652838381635   BRIANNA               MITCHELL          MO        90010888383
98653217455951   YOSELIN               PARRA             CA        90015312174
98655744931448   BRENDA                THOMAS            MO        90001247449
98657557457563   LAURA                 MEYRAND           NM        90014775574
98657681561977   DIANA                 NUNEZ             CA        90014826815
98658731757141   ROSA                  LOPEZ             VA        90006447317
98659173781635   BRENDA                HETHERINGTON      MO        29004391737
98661671755975   ARTURO                ZARAGOZA          CA        90004206717
98661987481634   KRISTINE              GENSHAW           MO        90012659874
98662117257563   DANIEL                SIMERSON          NM        90010021172
98664226961973   BLANCA                MARTINEZ          CA        90011602269
98665912557563   TRICIA                CLARK             NM        90014539125
98666755277537   JAIRO                 FLORES-MENENDEZ   NV        90013027552
98667218841296   TEMYKA                AKERS             PA        90014502188
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98667762891882   JOSEPH        BRAY                     OK         21066217628
98669198857165   ANNA          MARIE SEIDMAN            VA         90002951988
98671261857563   MERCY         HERNANDEZ                NM         90001822618
98671732291599   LUISA         MONTELONGO               TX         75021257322
98672117281634   KIEK          HUNLEY                   MO         90014811172
98672533681639   DANIEL        WALTERS                  MO         90008955336
98675341677537   GAIL          BOBERG                   NV         90002983416
98675889555951   CATHLEEN      LANDERS                  CA         90012418895
98676622781639   SHARON        HAMILTON                 MO         90011916227
98678411441296   SHERRY        SCHMIDTETTER             PA         51073284114
98678473557563   DAVID         GARCIA                   NM         90014784735
98683955193755   NICOLE        PERRY                    OH         64505569551
98684488391599   MAYRA         APODACA                  TX         90012654883
98685654981639   NAKITA        FREEMAN                  MO         90014746549
98685766655951   GLADYS        MATA                     CA         90008047666
98685962993782   GEORGE        JONES                    OH         90011329629
98686453877537   CARLA         ANDRADE                  NV         90014624538
98687744761977   ALEX          RIVERA                   CA         90012317447
98691341481635   LUIS          SANCHEZ                  MO         29004673414
98692141277537   DAVE          RAY                      NV         43047771412
98692232681634   HALEY         KRAMER                   MO         90005332326
98696334741296   MICHELLE      MCCABE                   PA         51012723347
98696439281634   ROSE          PETERS                   MO         29038254392
98699613657563   ELISA         VILLESCAS                NM         90014786136
98711277893755   TIFFANY       HARRIS                   OH         90014852778
98713112891599   ISAMAR        HUERTA                   TX         75015611128
98713287493726   JENNIFER      PARRIS                   OH         90014862874
98713423157563   NANCY         GONZALES                 NM         90014794231
98714158181634   ZAYRA         GONZALEZ                 MO         90003541581
98716996541296   ANTONINETTE   EUBANKS                  PA         90003859965
98717393177537   BONIFACIO     VILLALOBOS               NV         90012903931
98717986561977   ENRIQUE       LOPEZ                    CA         90012839865
98719686677537   LESLIE        SCHULENBERG              NV         90003416866
98722363991399   MOHAMMED      MAHMOOD                  KS         29029453639
98722735171964   KADEAN        BAKER                    CO         33088137351
98723176781634   OSCAR         HERNANDEZ                MO         90015211767
98724934791399   ROBERT        SAALE                    KS         90011679347
98724938861977   JEFFREY       VASQUEZ                  CA         90014869388
98727585181635   GENIES        OLMSTEAD                 MO         90008025851
98727696361977   LATOYA        BOLDEN                   CA         90014056963
98731755791599   JUAN          DOMINGUEZ                TX         90014157557
98732266591599   BOBBY         CONTRERAS                TX         90001792665
98732622491959   KEWANDA       POWERS                   NC         90010466224
98732721761977   MARIA         ALMERAZ                  CA         46041777217
98733312293732   PAULINE       ROBERSON                 OH         64595983122
98735219991953   CHRIS         VIVERETTE                NC         90007752199
98735683781635   GENEVA        MATAMOROS                MO         90006746837
98738139991399   ALBA          MATA                     KS         90013151399
98738975155951   SARA          CANO                     CA         49074249751
98743217455951   YOSELIN       PARRA                    CA         90015312174
98743724455951   JESSIE        KEAR                     CA         90008377244
98744347391884   LASHONDA      YOUNGBLOOD               OK         90014143473
98744427271922   MONICA        BALDERRAMA               CO         90012634272
98745549677537   RAUL          MELENDEZ                 NV         43054575496
98745867793755   SHAINA        BRINKIEL                 OH         90006468677
98746438893755   TUMEKA        JAMES                    OH         90008314388
98746825581639   DAVIA         HOWELL                   MO         90014748255
98747646993736   RENEE         SAMS                     OH         90001046469
98749388457563   JUAN          BENAVENTE                NM         90008293884
98753127257563   ANA           ESCOBEDO                 NM         35556671272
98753259591951   SAMALIA       JACKSON                  NC         90011842595
98753384177537   JASON         RAPP                     NV         43068063841
98754831855951   JAVIER        GARCIA                   CA         90011898318
98755145241296   OMECCA        OAKLFORD                 PA         90014181452
98756244681639   JESSICA       CARTER                   MO         29034792446
98756527657563   NOHEMI        RAMOS                    NM         90015135276
98757268691399   IDELISA       SOLIS                    KS         90009562686
98757521991599   SAMUEL        ROSE                     TX         90014395219
98759394381635   NATHAN        JONES                    MO         90009563943
98761341361977   VICENTE       ARELLANO                 CA         90013183413
98761832961977   JENNIFER      LOPEZ                    CA         90013248329
98767128791882   APRIL         LIPP                     OK         21091921287
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98768873125296   COREY        CHEEK                     NC         90007898731
98773691941296   BARBARA      KING                      PA         90014746919
98773986593755   TAWANA       LARRY                     OH         64543919865
98774932533638   LARONICA     VANCE                     NC         90000869325
98776539557563   ROSEMARY     ZAPATA                    NM         35523295395
98777644755951   MERCEDES     HER                       CA         90011376447
98778791157563   ROBERTO      GARCIA                    NM         90014807911
98781393961977   JENNIFER     TREVIÑO                   CA         46088633939
98784725657563   CANDELARIO   AVALOS                    NM         90009677256
98785685857563   DANELL       JONES                     NM         90014836858
98785711233638   HOLT         MCCOLLUM                  NC         90006787112
98787469377537   SHEREE       BAILEY                    NV         43099464693
98787829861977   NICOLAS      LEAL                      CA         46098558298
98789972981639   MARIA        QUEZADA                   MO         29029079729
98789992991599   CARLOS       VARELA                    TX         90011429929
98791185977537   JOHN         SCHROEDER                 NV         43079311859
98793741391599   ERIC         VELEZ                     TX         75057407413
98794366855951   AMANDA       MYLES                     CA         49085733668
98795341555951   SUGEITH      REYES                     CA         90007103415
98796954657563   KARINA       ARIAS-RODRIGUES           NM         90011559546
98797645391399   ROBIN        STEWART                   KS         90015126453
98798114581634   PATRICK      TOLBERT                   MO         90010911145
98798619151328   VALERIE      WAGNER                    OH         90007976191
98799256393732   JANIE        VOLSKI                    OH         64569852563
98799774757563   NORMA        CARMONA                   NM         90007247747
98799828581639   DARREN       ARREOLA                   MO         29050618285
98812311791553   LORRAINE     BURROLA                   TX         75016523117
98813813757563   OSCAR        HERRERA                   NM         90014838137
98815676291599   GRACIELA     ARMENDAREZ                TX         90013256762
98818913741296   BREANNE      REYNOLDS                  PA         90013979137
98819429857563   KIMBERLY     TELLEZ                    NM         90014564298
98819563491599   ROSA         ALVIDERZ                  TX         90006235634
98819783161977   KELLIE       BUCKHANAN                 CA         90002677831
98821739991885   DONNIE       TRYON                     OK         90000377399
98822664391399   VIVIANA      TRUJILLO                  KS         90013786643
98822931381688   MELISSA      NESTLERODE                MO         90005799313
98823644185922   DELBERT      HAMPTON                   KY         90001986441
98823645357563   LIVINGSTON   VICTORIA                  NM         90007106453
98823719431459   DIANA        KIRKPATRICK               MO         90011717194
98824411477537   JESSICA      RAMOS                     NV         90002744114
98824646357563   MARIA        OLIVAS                    NM         35509906463
98825325457563   SERVANDO     SALINAS                   NM         90010093254
98825561755951   ENRIQUE      GONZALEZ                  CA         90013055617
98826648691599   LILIANA      CANALES                   TX         75030026486
98826823281635   CHARLI       BALTIMORE                 MO         90005138232
98826823841296   VINCENT      HARRIS                    PA         90013928238
98827744761977   ALEX         RIVERA                    CA         90012317447
98827982757563   EDUARDO      ZAMORA                    NM         90014889827
98831864957563   STEPHANIE    MORENO                    NM         90014838649
98833367377537   ADALBERTO    CHAVEZ                    NV         43016583673
98833457857563   ELIZABETH    AGUALLO                   NM         90009474578
98834182891599   JOSE         VALENZUELA                TX         75087231828
98834736761977   JUAN         PAPAQUI                   CA         90010487367
98835932561927   JOSE         ARRIAGA                   CA         90007169325
98836333491399   DERIC        MILLER                    KS         29094813334
98836851781639   ROBERT       CRAWFORD                  MO         90010258517
98839655481634   MATAIJAH     WOODLEY                   MO         90014826554
98839662591399   DONNA M      SUMMERS                   KS         90003176625
98839827731424   JOHN         RUCKERT                   MO         90005538277
98841517181637   SEBIRNA      WILLIAMES                 MO         29004925171
98841733872435   JAMES        HOLSINGER                 PA         90006567338
98841953577537   RACHEL       MORENO                    NV         90005989535
98842881151351   MELISSA      FRANCIS                   KY         66045118811
98846624491399   JEANINE      SMITH                     KS         29094816244
98847416791951   SHARON       ROBERTS                   NC         17063594167
98848932555975   MARIBEL      GOMEZ                     CA         90013899325
98849678193732   GAIL         JONES                     OH         64573196781
98851953373261   FELIPE       GARCIA                    NJ         90014209533
98853913355963   STEVEN       MIGUEL                    CA         90014939133
98854284861956   EMILY        SCHAEDLER                 CA         46070772848
98854366557563   ELLIOTT      JHERI                     NM         90012043665
98854769181637   MARIA        CORONA                    MO         29036687691
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98855373857563   MARIA        PRIETO                    NM         90010823738
98856256272435   RANDY        ELKO                      PA         51019952562
98856289791399   ADELA        MOLINA                    KS         29016882897
98857863172435   KENNETH      BLAIRE                    PA         90004898631
98858189281639   SHALONDA     THOMAS                    MO         90011371892
98861167891599   RAMONA       SAENZ                     NM         75009521678
98861565541296   FRANKLYN     HIGGS                     PA         90011065655
98865793581637   MICHAEL      BUTTLER                   MO         29079907935
98865858455951   SYLVIA       GRACIA                    CA         90014938584
98866133357563   JUAN         REYMUNDO                  NM         90007931333
98867856681639   LOUIS        WALKER                    MO         90000538566
98868699955951   MONICA       ALONZO                    CA         90013116999
98869313941296   CHRISTIE     HAMMONDS                  PA         90012133139
98869418161978   LINDA        GONZALEZ                  CA         46091774181
98871155593755   YOLANDA      HART                      OH         90014841555
98871416791951   SHARON       ROBERTS                   NC         17063594167
98872987191599   PAUL         GUZMAN                    TX         90014069871
98874683981639   HUEY         NELLIGAN                  MO         90000156839
98875866441296   ALANA        POWELL                    PA         90013508664
98877432991599   CIELO        SALAS                     TX         90011014329
98879414857563   CLARISA      REZA                      NM         90011294148
98879523391399   ANTONETTE    MARTINEZ                  KS         29094015233
98882911555951   BEATA        GOMEZ                     CA         90011139115
98887919891599   ROBERTO      LUCERO                    TX         75005059198
98888473671945   ANGEL        TORRES                    CO         32093294736
98888688757563   ALEJANDRO    LAZO                      NM         90010036887
98888791977537   MARIO        VIDRIO                    NV         43030997919
98888856873261   PREPAID      CUSTOMER                  NJ         90015138568
98888989681639   VERONICA     ASHLEY                    MO         90012349896
98889484581639   CONSTANCE    FRANKLIN                  MO         90004034845
98889618572435   NOEL         JIJON                     PA         90004096185
98891141993755   MARK         TYREE                     OH         90009911419
98891399981635   S JANE       WHEELER                   MO         90009563999
98892539557563   ROSEMARY     ZAPATA                    NM         35523295395
98895492757126   MARTIN       SALVADOR                  VA         90012834927
98896199257563   GABRIEL      SAIZ                      NM         90014881992
98897199257563   GABRIEL      SAIZ                      NM         90014881992
98897251993755   AMANDA       ATKINSON                  OH         90013462519
98897876281637   MEGAN        HELE                      MO         90010168762
98898994181635   FRANK        SIVON                     MO         29080459941
98899749497973   ALBA         COOK                      TX         90008647494
98911123791599   RAMON        BRITTON                   TX         90008071237
98911144857563   ESTEVAN      MONTOYA                   NM         90014891448
98912443561977   JON          OSON                      CA         90012794435
98913942791599   RENE         BUSTILLOS                 TX         90012919427
98914145691532   DIANA        MUNOZ                     TX         90009201456
98914599181634   LISA         WHITE                     MO         90009095991
98914631971936   RAUL         ESTRADA                   CO         38012416319
98915666991599   YARATZED     GONZALEZ                  TX         75010356669
98917144857563   ESTEVAN      MONTOYA                   NM         90014891448
98917875455951   MONG         VANG                      CA         90011358754
98918816291828   AYANNA       CARNEY                    OK         90013048162
98919144857563   ESTEVAN      MONTOYA                   NM         90014891448
98921144857563   ESTEVAN      MONTOYA                   NM         90014891448
98922931891579   ANA          HORTA                     GA         90010869318
98923581491599   ROBERT       VILLEGAS                  TX         90012715814
98924588193755   ROBERT       REED                      OH         90004035881
98924598957563   DICK         PERREZ                    NM         90013845989
98924777777537   SOPHIA       CRUZ                      NV         43086297777
98924864455951   SAMER        ABULFETH                  CA         90012988644
98924982781635   JANET        MCLAUGHLIN                MO         90000929827
98926797991399   EDGAR        RAMIREZ                   KS         90012217979
98928763661977   GERARDO      MALDONADO                 CA         90010027636
98929249361927   GIOVIANNI    APREZA                    CA         90002602493
98933516377537   PATRICA      BRECEDA                   NV         43089515163
98933576157563   RAMONA       MARTINEZ                  NM         90013075761
98933742157563   MARIA        MOLINA                    NM         90010517421
98933819857563   PATRICIA     LAKE                      NM         90014918198
98934245561977   ALVARO       DUENAS                    CA         90014672455
98934931371928   LARRY        ROMERO                    CO         90011309313
98935479931448   BRITTINI     GRAY                      MO         90012674799
98935931381688   MELISSA      NESTLERODE                MO         90005799313
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98938235857563   MAYRA                OLIVAS            NM         90014912358
98938374741288   BARBARA              SZARMACH          PA         90009533747
98939776561977   PAUL                 FREDERICK         CA         90006297765
98939927855951   CORINA               HERRERA           CA         90014849278
98941766181639   NENE                 CRADDOCK          MO         90009337661
98942656755951   SUZIE                LOR               CA         90015126567
98943198357563   LOUIE                VALENCIANO        NM         90007261983
98944372561977   CHRISTOPHER          COMBS             CA         90014783725
98944627355979   CHARDONAY            ALLEN             CA         90014486273
98945767391399   MARIA                VALENCIA-RIOS     KS         90014877673
98945978681634   MICHELLE             COLOMBO           MO         90013409786
98947634791399   LORI                 KIRKENDOLL        KS         29059336347
98948275793755   BRANDON              JACKSON           OH         90006152757
98949167941955   MANUEL               SALDANA           OH         90015331679
98951386881639   LACRESIA             JONES             MO         90012123868
98951427357563   ANGIE                BEJARANO          NM         90014604273
98952439581637   JACK                 BROWNFIELD        MO         29090374395
98952785181635   ARACELI              GONZALEZ          MO         29006387851
98953226355951   IRMA                 MERAZ             CA         49078572263
98953434855975   MABY                 GOMEZ             CA         90013194348
98954353341296   QUOIA                YOUNGBLOOD        PA         90007073533
98955866877537   VICTOR               VASQUEZ           NV         43072018668
98956374791826   LANITA               HURD              OK         21098993747
98957446193755   ROBIN                DANIELS           OH         64569564461
98959393493732   KELIAH               KEITH             OH         90005343934
98961944831629   ERICA                WILLIAMS          KS         90011139448
98962118291599   LESLIE               PEREZ             TX         90014961182
98962883481635   DESIREE              JONES             MO         90002238834
98963132191399   TRACY                HANSETT           KS         90011861321
98964479193755   APRIL                WORLEY            OH         90012064791
98964867291599   MARIA                MENDOZA           TX         90014828672
98965835281634   IVORY                WILKERSON         MO         90013758352
98969289141296   DAYSA                DORECIA ARMS      PA         90005302891
98972331455938   JOSE                 GONZALEZ          CA         90014373314
98972744491599   ROBERT               WIGGINS           TX         90005377444
98973457191399   MONICA               GARDEA            KS         90007484571
98974125781639   KENIO                SIMPSON           MO         90014771257
98975398491951   TAMERA               KEITH             NC         17004523984
98975698293755   THERESA              SPENCE            OH         90008096982
98977596381634   ROY                  NICKENS           MO         90010135963
98978585561977   ELENISON             RAMIREZ           CA         90002485855
98979488257563   MARK                 LANDOWSKI         NM         90010814882
98981548681639   TRASH                WEST              MO         90010335486
98981986791863   SARA AND CHRISTIAN   CONNER            OK         90012559867
98982543381639   JOSE                 CHAVEZ            MO         90005965433
98984517393755   AMBER                RUIZ              OH         90007365173
98984527641263   SHARON               BARRICELLA        PA         90012605276
98985587233638   JUSTIN               RANDOLPH          NC         90005415872
98986657657563   ROCIO                MAGALLANES        NM         90014926576
98989127177537   DEANNA               SCHMIDL           NV         90013311271
98991395781634   RIKKI                OROURKE           MO         90008893957
98992592861977   CHANEL               KUBRICKY          CA         90007485928
98992965977537   MARIA                SALAS             NV         43082349659
98993951391599   CRISTIAN             SANCHEZ           TX         90012919513
98994314857563   ROBERTO              MENDOZA           NM         90009593148
98995165741251   MARK                 LENER             PA         90013601657
98995349693755   MIY                  MONEY             OH         90014023496
98997683891399   NICK                 JORDAN            KS         90011826838
98998139357563   GUADALUPE            SAENZ             NM         90000201393
98999699993755   WILLIAM              SHIELDS           OH         90015446999
99111186177537   THOMAS               METOYER           NV         90007231861
99112327761955   VICTORIA             MEYERS            CA         46010183277
99116217497122   DAWN                 SPARKS            OR         90003342174
99116877177537   ANGEL                HERNANDEZ         NV         90012748771
99117423141296   SUSAN                TOMASSI           PA         90000684231
99126939155951   VANESSA              CARRASCO          CA         49013389391
99127448451341   SOPHIA               LEWIS             OH         90008594484
99127519981634   WENDY                MARTIN            MO         29004525199
99129617461971   MARIA                MEDINA            CA         90008026174
99129715291599   GARCIA               MARIA             TX         75073457152
99136178581635   PAYGO                IVR ACTIVATION    MO         90012621785
99137379554157   MEGAN                BELL              OR         90009403795
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99137883877537   JOSE         ALCARAZ-VERDUZCO          NV         90002758838
99138216555975   ALFREDO      CONTRERAS                 CA         90010062165
99138892291599   RONALDO      BERNAL                    TX         90014908922
99146115591951   FELICIANO    BASURTO                   NC         90013371155
99146316591951   TOCCARA      MANGUM                    NC         90013383165
99146689397122   JUAN         MORENO                    OR         44509186893
99147389793755   EMILEE       PILLER                    OH         90010733897
99151583355925   BARBARA      MORALES                   CA         90009355833
99152519941296   LUCY         LITZINGER                 PA         51041135199
99152714377537   DEBRAVO      ENSASTIGUE                NV         90001697143
99153823291951   GEORGETTA    COX                       NC         90010968232
99157146793778   RICHARD      SANDERS                   OH         90014811467
99157949261971   ELIAS        GARCIA                    CA         90013669492
99158126591951   JAMES        MURPHY                    NC         90013371265
99158183661978   MARICELA     BOGARIN MENDEZ            CA         90013081836
99158726991599   LORENZO      OGAZ                      TX         75041927269
99159271981634   CHAD         THOMAS                    MO         90007262719
99159459297123   SHANWTAY     ZARAGOZA                  OR         90000944592
99162172281635   FAROKH       RICHARDSON                MO         90015201722
99162886291599   JESSICA      ORTIZ                     TX         90015338862
99166947397122   KAREN        SPARKS                    OR         44593599473
99169146491951   JOSEPH       HUMPHREY                  NC         90011891464
99169316891599   MIRIAM L     SANCHEZ                   TX         90009533168
99171512255951   JESSICA      QUINONES                  CA         90012315122
99172596991951   GIMAYAL      MCLEAN                    NC         17084005969
99176591191599   PAMELA       CHAVEZ                    TX         90012485911
99177361293755   DAWN         WILLIAMS-LACEY            OH         64590763612
99178119177537   ANTONIO      RAMOS                     NV         90006641191
99178387255951   JESSE        TORREZ                    CA         90009353872
99182497641299   DENNIS       PRESSLEY JR               PA         90001144976
99183163593738   DESIREE      JORDAN                    OH         90013701635
99183554671936   KIRK         LUBBERS                   CO         90012915546
99185375193778   RONDA        MARSHALL                  OH         90006693751
99185477877537   ABRAHAM      BARAJAS                   NV         90013404778
99185483841296   EDDIE        EUBANKS                   PA         90011454838
99185763555951   ESTEBAN      RITA                      CA         90011797635
99185952977537   JUANA        AVILA                     NV         43022309529
99186928251533   CHRIS        BROWN                     IA         90014569282
99188577891599   BENITO       ARGANDONA                 TX         90014855778
99189235193755   MELISSA      FRAZEE                    OH         90009212351
99192353191599   JOHN         RYNO                      TX         75006213531
99194242191599   IRENE        RODARTE                   TX         75052712421
99194677355951   GUILLERMO    SIMON                     CA         90013666773
99195415641296   DARIAN       DANIELS                   PA         90009684156
99195448293736   JOCELYN      POWELL                    OH         90007844482
99195656858591   GILVER       RODRIGUEZ                 NY         90015376568
99196777481634   JO           FORD                      MO         90012267774
99212252541296   REBECCA      HILLEGAS                  PA         90014192525
99212642841955   SALVADOR     MORALES                   OH         90015156428
99213487171943   TIA          CROWDER                   CO         90014134871
99213842341296   BILL         PRESLY                    PA         90013958423
99214734255951   ALEXIA       MORENO                    CA         90011037342
99215267755951   BERNADETTE   HINOJOZA                  CA         90011722677
99216386193755   SHAWNTAE     RICHARDSON                OH         90011803861
99216491155951   MONICA J     ESPINOZA                  CA         90001444911
99217521581635   BILLIE       SOVAN                     MO         90013755215
99218547693755   SHAMAURI     BARNEY                    OH         90013385476
99221988955951   ADRIANA      MORENO                    CA         90013199889
99222897391951   NATAEVIA     ETTSON                    NC         90012028973
99225428761971   ANDY         DE VRIES                  CA         90012744287
99227326693755   DONTAE       MURPHY                    OH         90011873266
99228486291951   ALISHA       LILES                     NC         17051914862
99228646491951   ALISHA       LILES                     NC         90013306464
99229599361971   JOSE         RIOS                      CA         90012435993
99232888177537   SIERRA       LEGG                      NV         43000088881
99238487484829   ANTONIO      MORALEZ                   NJ         90014104874
99239926181635   CLAUDIA      GONZALEZ                  MO         90003009261
99242357577537   HUMBERTO     ALVEREZ-OROZCO            NV         90010383575
99243885155928   DEBBIE       GROVE                     CA         90002518851
99244656881635   KRISTINA     TURNER                    MO         90012906568
99246687891599   CRISTAL      MONARREZ                  TX         90014886878
99248821391599   FERNE        PINALES                   TX         75087738213
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99249248355951   JAMIE        REYNOLDS                  CA         90012322483
99254589281635   KRISTA       GRAY                      MO         29028695892
99256913281634   VIRGINIA     TILTON                    MO         90002289132
99258434671964   SHANE        WILKINSON                 CO         32037464346
99259253691951   KISHA        PALMER                    NC         90011222536
99263246561971   ESTRELLA     LUNA                      CA         46012532465
99265897791951   JUNNA        RIVERA                    NC         90015178977
99266398791599   KATIA        GARIBAY                   TX         90013093987
99266847391951   JAQUAN       HARRIS                    NC         90014538473
99267831777537   ROBERT       DELAROSA                  NV         90015118317
99269838333642   JEREMY       MCMILLIAN                 NC         90013998383
99271462993738   JESSE        BLACK                     OH         90005134629
99272117177537   KAREN        SEIDLER                   NV         43010891171
99272886893755   TANYA        LOPER                     OH         90012498868
99274115477537   RONALD       LYNCH                     NV         90011511154
99277825993755   SHAWN        AYERS                     OH         64563288259
99278379481635   ADRIANA      GUZMAN                    KS         29024063794
99281542791953   JOSE         LUNA                      NC         90001525427
99282518261971   VICTORIA     RODRIGUEZ                 CA         46019825182
99283375991599   JULIO        GUARDIOLA                 TX         75022243759
99285387493755   KATISH       BEASLEY                   OH         90010383874
99285487991951   ASHLEY       PETTIFORD                 NC         17032364879
99287689555951   ROBERTO      RAMIREZ ZAMBRANO          CA         49003586895
99288984561971   ADRIAN       LOPEZ                     CA         90013389845
99289685381635   TALIA        DETILLIER                 MO         90007846853
99291991141296   KELLY        WORSHAM                   PA         51093659911
99292812531465   SHERELL      MATTOX                    MO         90004788125
99293187277537   THEODORE     MILLER                    NV         43094531872
99293621241296   AJAY         LONGSTRETH                PA         90011166212
99294237361969   GERMAN       NICHOLAS                  CA         90014062373
99298124891599   CECILLIA     DELGADO                   TX         75091371248
99311176477537   JOHN         CRANK                     NV         90010711764
99311743155951   KEVIN        MINUGH                    CA         90013357431
99312816291951   REGINALD     THORPE                    NC         90013088162
99316264241296   ALEKSANDR    BALOBECK                  PA         90011522642
99316739781634   JULIANA      MONTOYA                   MO         90014487397
99317315722938   MORRIS       MCCRARY                   GA         90014513157
99319217455951   PEDRO        HAROS                     CA         49086012174
99321323791951   BRITTNEY     WILDS                     NC         90004603237
99322225341296   WAYNE        TYREE                     PA         90012872253
99323666993755   STEVEN       APPLEBERRY                OH         90001656669
99323837641296   DAVID        RUSSELL                   PA         90010278376
99323879691599   LILIANA      SANCHEZ                   TX         75053158796
99324497793755   PAUL         PHILBECK                  OH         90011874977
99324993441296   LASHELLE     BROWN                     PA         90012709934
99325766461971   RANDELL      LEWIS                     CA         90014687664
99325938541268   JOHN         DAVIS                     PA         90008849385
99327857961971   APRIL        HORVATH                   CA         90015188579
99332684955951   THEA         PEN                       CA         90014716849
99333712591524   ELSA         GOMEZ                     TX         90013317125
99335587191951   KATHY        BUNCH                     NC         90008555871
99336388561971   CLAIRE       VEDDER                    CA         90006833885
99336471181634   JACQULNE     CHAVEZ                    KS         90013594711
99337178481635   PAUL         BLISS                     MO         90003521784
99339228761971   JOSE         AREVALO                   CA         46055712287
99339283551331   BRANDY       MATHIS                    OH         90008012835
99343885891599   FRANCISCA    HERNANDEZ                 TX         75033438858
99343927841296   MARK         LUCAS                     PA         51059929278
99343998491951   IZZY         GARCIA                    NC         90013929984
99346437455951   SHANIKA      LEE                       CA         90008354374
99346669161971   ROBERT       HINOJOSA                  CA         90009186691
99349823481635   LULA         WARD                      MO         29080108234
99351778761971   NELLY        CANEDO                    CA         90013047787
99352142941296   LISA         BAKALARCZYK               PA         90014541429
99356196341296   THOMAS       PEZZANO                   PA         51094281963
99357286531675   AMBER        WAITE                     KS         90010572865
99361123491951   LATONYA      REEP                      NC         90013261234
99362191891599   CRISTINA     MONTERO                   TX         75097081918
99364551361971   NIKKI        GIOVANNI                  CA         90014165513
99365322477537   GREGORIO     RODRIGUEZ                 NV         90013913224
99369152893755   NICOLE       SPRING                    OH         90006631528
99369255777537   LUKE         HARVEY                    NV         90000872557
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99369313981635   STEPHAN      EADS                      MO         90000183139
99372996655951   PEDRO        AISPURO                   CA         90013199966
99373272291544   JOSE         MORALES                   TX         75096262722
99375218561971   ADOR         MAGNO                     CA         90013172185
99375723151533   ROBERT       HUDSON                    IA         90014237231
99376237191599   VICENTE      DURAN                     TX         75071152371
99376313255938   GILBERT      VALENCIA                  CA         49030893132
99377854291951   AMANDA       WEBB                      NC         90015198542
99384849461971   MARTIN       ANTONIO                   CA         90000888494
99385541555951   DESIREE      RIOS                      CA         90005545415
99387655291951   CINTHIA      SANCHEZ                   NC         90013566552
99387858151328   DANIELLE     SHAVERS                   OH         90011808581
99392678155951   RODJANAE     WADE                      CA         49012626781
99393949341296   CAMILLE      THOMAS                    PA         51028629493
99394992391951   VIMBAINASH   CHANAKIRA                 NC         17017229923
99396164193755   CRAIG        CLARK                     OH         90004791641
99396571391599   VERONICA     OLIVA                     TX         90009075713
99397139261971   ENRIQUE      ESPINOZA                  CA         90008551392
99398563141296   BRETT        MECHTEL                   PA         51092735631
99398632293755   DEVONTE      COLE                      OH         90015236322
99399536491526   JOSE         ACEVEDO                   TX         90009345364
99412352891599   CONCEPTION   SILLER                    TX         90005843528
99412556291951   EMILIO       ZUNIGOU                   NC         90012155562
99413464477537   CLARISSA     VILLA                     NV         90009914644
99417943991599   SCOTT        MAXSON                    TX         90014169439
99418741693755   PAMELA       LONG                      OH         90010787416
99418879881635   MARITZA      UMANA                     MO         90009158798
99421227561986   ENRIQUE      J RODRIGUEZ               CA         90009232275
99421564577537   BRIAN        CASILLAS                  NV         90012655645
99424289561933   JUAN         MARTINEZ                  CA         46087292895
99424868193755   FAUSTIN      TWIZERE                   OH         90008508681
99425314955951   MELLISSA     NUNES                     CA         90015173149
99426692861971   DANIEL       ARELLANO                  CA         90014566928
99428682141296   JEREMY       ORGOKSY                   PA         90013516821
99431172861971   JUANA        PEREZ                     CA         90015141728
99435981291599   CATHY        NUNEZ                     TX         90005739812
99437642993755   CARRIE       HOWARD                    OH         64578986429
99439833455951   ELOISA       ORTIZ                     CA         90000548334
99442266991599   ANA          SILVA                     TX         75013892669
99442816381635   CHERYL       BROWN                     KS         90015108163
99445754591951   FIDELIS      MALAOKO                   NC         90013937545
99446935872457   PATRICK      OHERN                     PA         90001199358
99446978761971   JASON        HARVEY                    CA         90009239787
99447196791951   MARTHA       AYALA                     NC         90013181967
99447658981634   CRYSTAL      PALMERIN                  MO         90010736589
99448995993755   MICHAEL      MOODY                     OH         90011199959
99449834191951   REGINA       BYRUM                     NC         90008588341
99452412581635   CHELISE      WATERS                    MO         29061734125
99454673791599   EVANGELINA   GOMEZ GREEN               TX         90012556737
99455854291951   TAMARA       LEAK                      NC         90014568542
99456533741296   DOMENIQUE    VITARI                    PA         90013165337
99456787561971   MELISSA      MESINO PACHECO            CA         90015327875
99457559951391   THERESA      WATSON                    OH         90004905599
99459495591951   MICHELLE     WEBB                      NC         90005134955
99461864141296   JIM          MICHENER                  PA         90000938641
99462176691951   CARINTO      VAREENE                   NC         90013931766
99462562985948   JOHNNIE      WILLIAMS                  KY         90007955629
99463668893755   TERESA       VIETS                     OH         90012866688
99463986393755   TERESA       VIETS                     OH         90012089863
99464118155951   DIANA        MATTA                     CA         49036961181
99465142941296   LISA         BAKALARCZYK               PA         90014541429
99473184891951   YOMARA       VASQUEZ                   NC         90013931848
99473645291599   JESSICA      CHAVIRA                   NM         90008886452
99473963493755   GAGE         STEPHENS                  OH         90009369634
99475565255951   ARACELI      ESTRELLA                  CA         49010125652
99477248255925   LORENZO      ALVARADO                  CA         90012522482
99477782477537   CHRISTY      WALDE                     NV         43081497824
99479467751386   SHAWN        LLYOD                     OH         90001174677
99481855277537   JILLIAN      WHITTON-SANCHEZ           NV         90014858552
99483547991599   BERTHA       CERVIN                    TX         75097805479
99483724255951   SYLVIA       RODRIGUEZ                 CA         90010747242
99484994991599   MICHELLE     VARELA                    TX         90009599949
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99485718281634   MARLA        MCFARLANE                 MO         90007547182
99486238281634   OSCAR        VIVEROS                   KS         90014902382
99487682491599   ROBERT       BARRON                    TX         90001506824
99488363791889   AMELIA       BELLE                     OK         90011023637
99488797481634   D'ANDREA     FRAZIER                   MO         90012877974
99488898655951   JOHNSON      LIONEL                    CA         49080768986
99495955793755   BIANCA       ROBINSON                  OH         90008979557
99496961155951   CATALINA     MARTINEZ                  CA         90011859611
99497358781635   DAKOTA       BOWLIN                    MO         90013503587
99499236291951   JOSE         TRUJILLO                  NC         90013932362
99511921671936   KRISTINA     BOSWELL                   CO         90011209216
99513268455951   VANG         PAO                       CA         90011182684
99513398851328   ANTONIO      ALLEN                     OH         90000673988
99513746377537   DAVID        OCONNELL                  NV         90009897463
99513757661971   WENDY        PRECIADO                  CA         46035477576
99515217891951   YASMIN       TAYLOR                    NC         17060072178
99516789281634   HEATHER      YANNAYON                  MO         90012647892
99516924297122   CHIRISTINE   COURTER                   OR         90007709242
99517675977397   PEDRO        REYES                     IL         90002406759
99519218481635   STEPHANIE    COKER                     MO         90011672184
99519284881648   ROBIN        EVANS                     MO         29076452848
99519728191599   ROBERT       URBINA                    TX         90010777281
99522456691951   RAVEN        BANKHEAD                  NC         90014974566
99524935381634   TASHA        BEALS                     MO         90004769353
99526142861925   TRACIE       RODGERS                   CA         90012431428
99526312661971   CAROLINA     OSUNA                     CA         90014063126
99528461961971   GENA         PERAZA                    CA         90013184619
99529794181692   HENRY        BARRIENTOS                MO         90013407941
99532815177537   JUSTINOLOR   ROSQUERO                  NV         90001058151
99533152781635   DANIEL       TORRES                    KS         90014901527
99534659691599   PABLO        LUCERO                    TX         90004106596
99535684991526   DIANA        CADENA                    TX         90001936849
99535869981634   MICHAEL      REED                      MO         90011808699
99536837181635   THIERNO      NDOYE                     MO         90014778371
99536886581635   DAVID        GUM                       MO         90013128865
99536921671936   KRISTINA     BOSWELL                   CO         90011209216
99538276155979   SHERYL       JONES                     CA         48003572761
99539449251341   AMBER        WORRELL                   OH         90014744492
99539627455951   JESSE S JR   GUTIERREZ                 CA         90010156274
99541388991953   NANCY        GAMEZ                     NC         90014543889
99541698791951   MECHELLE     THOMAS                    NC         90012466987
99541723997122   MARICELA     VILLACIS                  OR         44513647239
99544798281635   ROBERT       EDEN                      MO         29004657982
99548436441296   GLORIA       LANG                      PA         90013284364
99549667291599   ANDREW       CHAVEZ                    TX         90015286672
99549695231629   DEONTE       BROWN                     KS         90002316952
99554597291599   JESSICA      SENA                      TX         75023055972
99555466821623   LISHEA       COOPER                    OH         90014314668
99555742851384   DOROTHY      PIERCE                    OH         90005027428
99555864391951   LASHAUNA     ROGERS                    NC         90011678643
99556737441296   JUAN         HICKS                     PA         51074697374
99561156555951   STEPHANIE    RAZO                      CA         90002991565
99561478381634   Q            MOORE                     MO         29001224783
99562712977537   HEATHER      MILEY                     NV         43025437129
99562769471945   ESTHER       MONDRAGON                 CO         90000987694
99563428261971   JOHN         HERNANDEZ                 CA         90013294282
99564218461971   TIMOTHY      HAHNKE                    CA         90015142184
99564512641268   ERICKA       WHITE                     PA         90013085126
99565766661971   MARIA        ZUNO                      CA         46081297666
99571178591951   CARLOS       RAWLINSON                 NC         17053481785
99571219251334   CASANDRA     DALLAS                    OH         66073742192
99571228493782   MIA          GILKEY                    OH         90007482284
99571329651334   SHERITA      HARRIS                    OH         90014243296
99573448581634   MADISON      ELLINGTON                 MO         29072684485
99574828291599   JAZMIN       GUILLEN                   TX         90010778282
99578268791599   BEATRICE     BARRIENTOS                TX         75081122687
99581963441296   ROBERT       SMITH                     PA         90001539634
99582176991532   ARTURO       DIAZ                      TX         75014681769
99582568197122   BARRON       OFFORD                    OR         90001625681
99584487841296   JOHN         ROBERTS                   PA         90006564878
99588655741296   LISA         BLAKE                     PA         90008556557
99589886691951   TAMEKA       ALSTON                    NC         90014648866
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99592826681635   PATRICIA     CAMPOS                    MO         90008298266
99593364891343   MICHELLE     HARGRAVES                 KS         90012663648
99593371491599   LEONOR       ZAVALA                    TX         75052793714
99593761341296   TOMLIN       VALENTIN                  PA         90012747613
99595384293755   JASMINE      BROWN                     OH         90001073842
99596432277537   LAURA        GUZMAN                    NV         90013234322
99596645351351   BRYAN        LUNDY                     OH         90006016453
99596686921623   ROZETTA      KEYS                      OH         90014316869
99599198791599   NAHARA       PALMA                     TX         90002091987
99599711691951   BRANDON      HAMLETT                   NC         90014777116
99611237955951   JAVIER       MARTINEZ                  CA         90015102379
99613374881634   JESSICA      MAWHINEY                  MO         90014963748
99613647391599   JESUS        HERRERA                   TX         90012896473
99613831391599   CHRISTIAN    ARGUELLES                 TX         90001518313
99614272777537   MARCIA       OWENS                     NV         43065442727
99615636593755   ALEXIS       MCKINNEY                  OH         90014846365
99617263855951   MONIQUE      GREEN                     CA         90012352638
99622448977537   DIEGO        MEDINA GUIJARRO           NV         43000914489
99623171355934   AIDA         ELENES                    CA         90007951713
99625863693755   RICK         DELAWDER                  OH         90013738636
99627215181635   MIKELA       OLIVER                    MO         29010862151
99633452681635   MICHAEL      SURBER                    MO         29027424526
99633981391599   ELIZABETH    CORTEZ                    NM         75065689813
99636266891599   ANDRES       MARTINEZ                  TX         90014542668
99636714861971   DANIEL       PYZEL                     CA         90009307148
99637424781635   WILLIAM      LINGO                     MO         90014884247
99638174355971   JASMINE      SCOTT                     CA         90001731743
99643547891938   HONEYCHILE   KATUTA                    NC         90005385478
99643951191599   JULIA        ESPARZA                   TX         75016579511
99645963451386   ELAINE       EVERSOLE                  OH         90012519634
99647997871933   ROBERTA      BETTS                     CO         90011099978
99649247941296   BARRY        AUMAN                     PA         51046692479
99649596591599   VICENTE      HERNANDEZ                 TX         90000295965
99651325451365   ASHLEY       ZEINNER                   OH         66010703254
99653415981635   MICHAELL     ALLEN                     MO         90014924159
99654343277537   CARMEN       CATZ                      NV         90013913432
99657699981634   JORDAN       WOLKEN                    MO         90011566999
99658689581635   CRIS         NOEL                      MO         90014066895
99661485791599   RAMIREZ      KEILA                     TX         90012604857
99663364781634   NORMA        CANTARERO                 MO         90009783647
99664878577537   ROSAURA      GARNICA-CALDERON          NV         90004108785
99665813531435   MONA         BANKS                     MO         27591868135
99666871877537   SHARYN       LOPEZ                     NV         90007568718
99667148733623   ESTHER       MENOR                     NC         90013301487
99674656181635   RANDY        WARMAN                    MO         29063396561
99675135777537   MARIO        VALLE                     NV         90009691357
99675653761971   GENEVIEVE    PARRA                     CA         90014166537
99679376593755   SHONTA       GREATHOUSE                OH         64508103765
99679763861971   FAVIO        SANCHEZ                   CA         90008017638
99683752841296   SHEBRINA     HILL                      PA         90013597528
99684656141296   ANTONISH     VAUGHN                    PA         90009496561
99686124981635   MEGHAN       MEADE                     MO         90013231249
99686662991951   BONIFACIO    ORTEGA                    NC         90014146629
99687565691959   LUIS         CRUZ                      NC         90002065656
99688189261971   KAREN        FOX                       CA         90005561892
99692575881634   LAPORSCHA    ROWDEN                    MO         90013645758
99694119891951   KIMBERLY     HIGGGINS                  NC         90013351198
99694955391599   MAYRA        FLORES                    TX         90007999553
99695261551386   NICHOLAS     ALEXANDER                 OH         90012502615
99697363893755   CARA         HEISHMAN                  OH         90007603638
99698878181634   RYAN         HILLBRAND                 MO         29012478781
99711139377537   FRANCISCO    LIRA                      NV         90012541393
99713279977537   CAMILA       ESPARZA                   NV         90011182799
99713874577537   JUAN         TAPIA-SANTIAGO            NV         90014378745
99714213181635   LUTHER       MCARN                     MO         29077542131
99714886877537   KERMONT      BUCHANAN                  NV         90011118868
99716721155951   CYNTHAI      VILLAFUERTE               CA         90014537211
99716846161971   ARMANDO      GUIDO                     CA         90010278461
99717543791951   DEISI        ALEMAN                    NC         90013935437
99717574677537   MICHAEL      WHEELEN                   NV         90014665746
99719374881634   JESSICA      MAWHINEY                  MO         90014963748
99719414591951   KAYONNA      FLOYD                     NC         90011174145
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99719774631448   JUAN          GUTIERREZ                MO         90014397746
99723233691951   KIYONNA       EDWARDS                  NC         90010992336
99723412881635   MAIA          BENTON                   MO         90015214128
99724722261971   ABBOTT        HASTINGS                 CA         46029967222
99725414281635   QUINTERAH     JONES                    MO         90014834142
99725435797122   SCOTT         CARADY                   OR         90008984357
99727676261971   MANAA         TAKOUDA                  CA         90009266762
99728217381635   ANGELA        PIERCE                   MO         90012602173
99728886355946   ROBERT RENE   DUNN                     CA         90014408863
99729627141296   ROBERTA       BRANT                    PA         90013856271
99732574881635   CASEY         GRISSOM                  MO         90013915748
99734453841296   BRANDON       HENSON                   PA         90010024538
99734466391599   DANIA         NAVARRO                  TX         90013284663
99734581481692   MARIAH        STEWART                  MO         90014935814
99735431993755   CRYSTAL       BOCARADO                 OH         90011024319
99735746497122   CARLOS        INTERIAN                 OR         90000127464
99737945141296   MELANIE       TICE                     PA         90012399451
99737972155951   REBECCA       MARRUFO                  CA         90013089721
99739582881634   SHAY          WEATHERS                 MO         90012995828
99739711691951   BRANDON       HAMLETT                  NC         90014777116
99742312291599   MARISA        SANCHEZ                  TX         75097893122
99743726761971   JESSE         ZAVAL                    CA         90009267267
99743823755951   LUIS          GARCIA                   CA         90012178237
99746628461971   IMELDA        VIEYRA                   CA         46029616284
99748857961971   APRIL         HORVATH                  CA         90015188579
99751779193755   COLLINS       ERIC                     OH         90010897791
99754383755951   GER           XIONG                    CA         49011353837
99756183241296   JOANNE        MARTINEC                 PA         51077071832
99758481681696   VERNESSA      PEPPERS                  MO         90004544816
99758798141296   KEIRSTON      PARHAM                   PA         51092417981
99758892781635   MICHAEL       STITT                    MO         90014898927
99759125691599   MARIA         HERNANDEZ                TX         75087501256
99759247561939   EDWIN         LOPEZ                    CA         46050382475
99759994155979   ANDY          TRUJILLO                 CA         48051579941
99762545955951   SILVIA        GARZA                    CA         90008695459
99762639277537   CINDI         CHAVARRIA                NV         90015216392
99762812591599   JOSE          REYES                    TX         90011518125
99764986281635   LARRY         FUNK                     MO         90011069862
99765878181634   RYAN          HILLBRAND                MO         29012478781
99767325693755   JESSICA       UNTERBERGER              OH         90009133256
99768598141296   DREVAUGHN     SIRMONS                  PA         90012825981
99771823781634   TYLER         BUTLER                   MO         90006688237
99772589291599   ERNESTO       RAMIREZ                  TX         90015115892
99772683561971   MICHAEL       GROSSBERG                CA         90014166835
99772871681635   RANDALL       HAWKS                    MO         29037328716
99773293855951   ANGELICA      FLORES                   CA         90010862938
99775248691951   KATRINA       ALSTON                   NC         90014152486
99776588277537   BRENDA        REYES-DIOSDADO           NV         90013565882
99778574793755   BRYON         WILLIAMS                 OH         90014835747
99779694777537   RANDY         SANTIAGO                 NV         90012116947
99782324355951   SOLEDAD       OCHOA                    CA         90014963243
99783962255951   FIONA         JASSO                    CA         90010889622
99785572441296   EARL          STONE                    PA         90013315724
99786936477537   BOBBY         HARRISON                 NV         90009929364
99787196791951   MARCUS        SHEERF                   NC         90010181967
99788842297122   GERALD        WILLIAMS                 OR         90006908422
99791267355951   RENEE         RIOS                     CA         90014802673
99792776577537   TREVOR        RAY                      NV         43028527765
99793743291951   AMY           PITTMAN                  NC         90014597432
99794346493755   ABRAHAM       RIVEROLL                 OH         64504223464
99795329855951   AIDEE         VARGAS YESSICA           CA         49062533298
99797271477537   CORNELIA      MONJES                   NV         90001172714
99797928191951   RASHEEN       MOORES                   NC         90012469281
99799751591599   ESMERALDA     MORENO                   TX         75052467515
99799962991951   GWENDOLYN     TAYLOR                   NC         17023979629
99812998281634   MARCIA        HUGHES                   MO         90014909982
99813139541296   JARED         MAYHEW                   PA         51015701395
99813193693755   JETT          COLE                     OH         90012841936
99813717791951   RICARDA       ZURITA                   NC         90001537177
99814124491951   JENNIFER      DURANDISSE               NC         90010981244
99814779191599   RAMONA        VILLANUEVA               TX         75062547791
99815199791951   LISA          BRACEY                   NC         17049151997
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99815923441296   LESA          HARDRICK                 PA         51069079234
99816483193755   MICHAEL       SMITH                    OH         64537474831
99816644355951   ANGEL         SALAZAR                  CA         49000126443
99816727991599   MENDOZA       RUT                      TX         90004127279
99816972377537   CATALINA      ARREDONDO                NV         90003129723
99817712841296   FRANCES       KOHNFELDER               PA         90009257128
99822275291951   CATHY         LOPEZ                    NC         90006152752
99822474877537   RENITA        LEFLER                   NV         90010864748
99822489593755   HARRY         WRIGHT                   OH         90004984895
99823213381634   MARIO         GANCHAROV                MO         29017942133
99823636191599   THERSA        PORTUGAL                 TX         75052716361
99824439591599   ALEXIS        ROMAN                    NM         90015134395
99824641141296   MIKE          RACZ                     PA         51001136411
99826866477537   SAVANNA       BLANCHETTE               NV         90010298664
99828522755951   MARCIE        VERDUZCO                 CA         90013665227
99829848177537   RANDY         VALDEZ                   NV         90013538481
99829881577537   SUZANNE       ERDELT                   NV         90013498815
99832254477537   LOUISA        KERN                     NV         90005342544
99832923391889   CODY          BRUER                    OK         90011539233
99833964691964   VITA          FRANKLIN                 NC         90010519646
99834438877537   RICARDO       SAMANIEGO                NV         90012544388
99835113861971   TARA          RAY                      CA         90004351138
99835633493755   WILLIAM       TSAAC                    OH         64512166334
99842139591951   OLLNA         LORENZO                  NC         90013111395
99842195591893   LINDSEY       MCBRIDE                  OK         90006541955
99842295981635   KARLA         DELEON                   MO         90008512959
99842527555951   NORBERTO      MARTINEZ                 CA         90013665275
99843279691951   ANGELA        SMOKE                    NC         90014132796
99843627591951   JOSE          ACOSTA                   NC         90015136275
99844599577537   LEONARDO      MARTINEZ                 NV         43018115995
99847623393755   DALENA        SEALE                    OH         64530566233
99848755691951   MANUEL        ORELLANA                 NC         90013937556
99851184961971   BEATRIZ       REED                     CA         90009361849
99851993793755   DEBRA         TAYLOR                   OH         64589179937
99852356131471   LORETTE       LOMAX                    MO         90007873561
99852563655951   VAZQUEZ-      PATRICIO                 CA         90001665636
99853431193755   RICHARD       GOFORTH                  OH         90014374311
99855192561971   GUILLERMO     BETANCOURT               CA         90010271925
99855956193755   MEGAN         SMITH                    OH         90013119561
99856771597122   RACHEL        NOLEN                    OR         90010547715
99857289391951   S             JACKSON                  NC         90014852893
99859598972421   MARK          GUSTASHAW                PA         90012565989
99861169177537   MARIA         RANJEL                   NV         90004961691
99861777481634   STEPHEN       FENNEL                   MO         90013297774
99863266397122   LETISHA       RAMIREZ                  OR         44514182663
99864834593755   KIRSTEN       BROWN                    OH         90012028345
99865483361971   ARMONDO REY   ORTEGA COMPOS            CA         90012854833
99866285851331   CORRILL       JESSICA                  OH         66027332858
99866373891599   NICOLE        PENA                     TX         90011763738
99868489981635   CHRISTINA     APPLEGATE                MO         90012644899
99869132381634   OLIVA         WINGATE                  MO         29062601323
99871525791951   JOHN          DUNCAN                   NC         17092925257
99871584281635   HAJAH         HAJAH KAMARA             MO         90014155842
99873914493755   SHAMEEKIA     ARNOLD                   OH         90009069144
99874688591599   IVONNE        VAZQUEZ                  TX         90013716885
99875264761924   PERLA         RIVERA                   CA         90009602647
99876789581634   SALVADOR      SANCHEZ                  KS         29056677895
99878122391553   GUADALUPE     PALACIO                  TX         90007091223
99879125861971   KEVIN         BARAJAS                  CA         90013121258
99879287791951   ERIC          EATMON                   NC         90013592877
99882565555951   LISA          VIVEROS                  CA         90003955655
99884627581635   SONIA         PHILLIPS                 MO         90004006275
99886932477537   RACHELLE      TAU                      NV         90014279324
99889619193755   JAMES         WASHINGTON               OH         64510716191
99891348761971   ELVIA         PATINO                   CA         90000593487
99891643981634   MATTHEW       MACON                    MO         90013086439
99891718793755   STEPHEN       SCHOMMER                 OH         90009297187
99892273791851   ROBERT        GREEN                    OK         90012642737
99892499571936   SAMUEL        TUCKER                   CO         38043264995
99893435861971   LATONYA       DAVIS                    CA         46002604358
99893795155951   ALIZEYAH      LOPEZ                    CA         90012747951
99894734541296   ASHLEY        ANKROM                   PA         51088327345
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99895457455951   EDELMIRA     ARSOLA                    CA         90008114574
99896597281635   BRANDO       RIVERA                    MO         90012105972
99897549191526   CYNTHIA      ACOSTA                    TX         90010825491
99899266193755   KIYANA       MONTGOMERY                OH         90009902661
99913692466182   BRIAN        ADNEY                     CA         90014006924
99916966161971   SHENNEA      CRUMPTM                   CA         46073019661
99917649777537   AAPRIL       ROLLERSON                 NV         43045326497
99918924491951   MARIA        MARTINEZ BLANCO           NC         90013939244
99919795677537   SHELL        COOKS                     NV         90011437956
99922117481635   RAYMAND      BROWN                     MO         90009331174
99922939791951   GRADY        MCLEAN                    NC         90013939397
99924558181634   DANIELA      RUIZ                      MO         90009095581
99925249677537   ASHLEY       PAEZ                      NV         43077412496
99928125981634   SHAUNA       BUKUCS                    MO         29035391259
99928379341296   ALEJANDRO    ADAME                     PA         90014443793
99931539493755   BRETT        BOONE                     OH         90015195394
99931682655951   DIANA        HERNANDEZ                 CA         90000426826
99931791441296   KIMBERLY     OLSAVICKY                 PA         90014787914
99933582255975   ALBERTO      JAIMES                    CA         90013675822
99936113741233   TELA         PERRIN                    PA         90012661137
99937569761971   MARIA        URIAS                     CA         90014275697
99938649181648   SHERI        KOELZER                   MO         90008796491
99939662255951   JACOB        HEALEY                    CA         49017846622
99939897761971   LUIS         ALBERTO RAMIREZ           CA         90001238977
99943182561971   CECIL        BRYANT                    CA         90005691825
99943514841296   DAUDI        ABDIALLA                  PA         90011465148
99944777693755   NEZIAH       ISRAEL                    OH         64575307776
99948167184829   JOSE         MENDOZA                   NJ         90015141671
99948755355951   CELIA        RODRIGUEZ                 CA         90008657553
99951953133639   JORGE        LARA                      NC         90012209531
99953959161971   PATRICIA     ARREDONDO                 CA         46088079591
99961882881635   JOSEPH       SAXON                     MO         90014908828
99964267593755   CHRISTY      NIXON                     OH         90005862675
99965359993755   SARA         CROOK                     OH         90011123599
99966223561971   BRUNA        LANDEIRA                  CA         90014492235
99967821591951   BORRIS       SATTELITE                 NC         90014048215
99968454955951   CYNTHIA      LOVE                      CA         90013514549
99969953493755   VICKI        MCKINNEY                  OH         90014509534
99971457291526   DONYALE      HUNT                      TX         90015034572
99971882593755   KARLA        MCKINNEY                  OH         90005178825
99971992681634   HEATHER      SIMPSON                   MO         90003429926
99973958961558   NARDOE       SCANTON                   TN         90015609589
99975428761971   MIGUEL       VALADEZ                   CA         90012564287
99978745355951   PANAI        VANG                      CA         90003147453
99979627693755   CRYSTAL      MACKIE                    OH         90002906276
99981282831459   YOLANDA      JONES                     MO         27585562828
99982879291599   MARIA        LUNA                      NM         90014628792
99983364891343   MICHELLE     HARGRAVES                 KS         90012663648
99983495841296   DIANNE       BURKHART                  PA         51084204958
99986344361971   EUGENIO      MCPHEE                    CA         90011573443
99986512991951   DONALD       DEAN                      NC         90010455129
99986623781635   JENNIFER     NICHOLS                   MO         90010696237
99987432972498   LACIE        NOONAN                    PA         90001284329
99987754677537   VICTORIA     BARRAZA                   NV         43042927546
99988563791599   DAVID        FERNANDEZ                 TX         90008975637
99989175561971   AGNES        BROOKS                    CA         46025621755
99992278961971   HUGO         SANCHEZ                   CA         90013842789
99993171161971   NORMA        ESQUIVEL                  CA         90014701711
99993873855951   KIMBERLY     GUERRERO                  CA         49024748738
99997288255951   EVA          BARAJAS                   CA         90014912882
99997924655934   ZENAIDA      BUSTAMANTE                CA         90009239246
99999636251331   WAYNE        FELTS                     OH         90007666362
99999979155938   HERLINDA     AGUILAR                   CA         49008949791
1111128A62B869   GARY         FRANTA                    ID         90008712806
1111141115715B   JOSE         COTO                      VA         90014064111
11111AA635B35B   DANIELLE     ATNZRIX                   OR         44596340063
1111254644B588   MARGARITA    ESPARZA                   OK         90010955464
1111274A576B68   JAZMIN       JARAMILLO                 CA         46075537405
111131A1772B55   PAULA        NORTON                    CO         90006511017
111134A3961976   BEATRIZ      CRISTOBAL                 CA         90005974039
111136A554B588   EDUARDO      DIAZ                      OK         90015126055
11114491A84375   CHERIE       GRANT                     SC         90013844910
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11115124976B68   KARINA           JIMENEZ               CA         46010161249
11115A71161938   HENRY            EVAN                  CA         90012810711
111163A897B489   SHAQUOYA         GRIER                 NC         90002383089
11116882A71925   PETER            KURETSKI              CO         90004528820
11117344A93745   JERALD           DAVIS                 OH         90013013440
1111747685715B   SANTOS DANILO    AGUILAR               VA         90011074768
1111794974B588   MARCY            GRIZZLE               OK         90010739497
1111813298B193   ALICIA           BOGGESS               UT         31073191329
11118A8625715B   ABDULRAHMAN      SESAY                 VA         90002800862
1111939554B588   JOHN             ARNOUVILLE            OK         90011963955
11119459A72B62   NANCY            GARCIA                CO         33073374590
1111B16219154B   JUANITA          ACEBEDO               TX         90003061621
1111B57334B555   FLORES           RACHEL                OK         90009285733
1112135AA91993   LATISHA          WELDON                NC         90012713500
1112194755B343   PAUL             WATTERS               OR         90009439475
1112197A87B489   VIRESIA          HARRIS                NC         90012409708
11121A71A33699   ISAAC            LITTLE                NC         12087370710
11122318376B68   JOSE             TORES                 CA         46005403183
111223AA461938   ROLANDO          PHILLIPS              CA         46014173004
1112377485B526   DANIELLE         SNIDER                NM         90013067748
1112457969154B   ARACELI          HINOJOS               TX         90011645796
1112464544B555   DARRELL          THOMAS                OK         90014656454
1112468772B966   JESSICA          MELENDEZ              CA         90002646877
1112495755B526   KELCEE           JONES                 NM         90014789575
11125767576B68   JORGE            BALTAZAR              CA         90013427675
1112598654B555   TWYLA            BENNETT               OK         21591069865
1112629664B588   LORENZO          MIRAMONTES            OK         21551702966
1112638559154B   JOSHEPH          FUENTES               NM         75015483855
11127322A61938   FRANCISCA        DELVILLAR             CA         90014673220
111274AA54B588   SHAWN            CLEMENTI              OK         90014714005
1112797A172453   BETH             GAITO                 PA         90014719701
11129248272B62   MENDOZA          CYNTHIA               CO         90007292482
111296A1361938   ANNIE            MARTINEZ              CA         46016716013
1112B349661938   TOMEKA           HAGAN                 CA         90015113496
1112B7A1972453   ROBBIN           CLOUSER               PA         51090687019
1113197A172453   BETH             GAITO                 PA         90014719701
11131A13172B26   ANGELINA         HUNTER                CO         90008500131
1113214715B343   WESLEY           CRONK                 OR         90009131471
1113282224B26B   HEATHER          NIEMEYER              NE         90005718222
1113364A34B259   CARMEN           WISENER               NE         90013676403
1113396614B588   MARCIA           PENA                  OK         90010739661
1113446999154B   ESMERALDA        GARCIA                TX         90003214699
111358A3361972   LUIS             CASTANEDA             CA         90012368033
1113647114B26B   KIM              FOLSOM                NE         90001244711
11136647A5B526   SHIRLEY          MIRAMONTES            NM         90010056470
11136A81761957   MARIA            DAVALOS               CA         90010940817
1113727A557147   JORGE JIMIENEZ   DUARTE                VA         90009712705
111373A422B966   PATRICK          SMITH                 CA         90005243042
1113772593B368   WENDI            GRABLE-COLLEY         CO         90006127259
1113816815B343   DRESHAUN         MORRIS                OR         90014511681
1113857559154B   ROBERTO          MARTINEZ              TX         90010835755
111386A8661972   CRISTIAN         LOPEZ                 CA         90010296086
1113921367B489   GILRESA          REDFERN               NC         11096432136
1113B933572B62   REGINA           SOLANO                CO         33089329335
1114142255B343   MARK             NEISS                 OR         90005564225
111414A265B154   KASHRAYLA        FOLEY                 AR         90014914026
1114261A793745   KEVIN            HESS                  OH         90014826107
1114342534B26B   SUZELENE         FORTUNE               NE         90015084253
1114377922B886   BRIAN            BRISCOE               ID         90008827792
1114393975B35B   MATTHEW          SIMONS                OR         44500709397
111442A6A72B27   DENA             KUHLOW                CO         90006212060
11145334A61938   CHRISTINE        SEUI                  CA         90014673340
11145863676B68   BEATRICE         JIMENEZ               CA         90011848636
11145A46331635   ROBIN            ROOKS                 KS         22006700463
11146667A7B462   KARON            KENNEDY               NC         90006766670
111469A4A5B154   BRANDY           THOMAS                AR         23056489040
1114826274B26B   RYAN             JOHNSON               NE         90013882627
1114862539154B   JOHNNY           BARROSO               TX         90011236253
1114873444B555   JUSTIN           MARRS                 OK         90014657344
1114892852B966   HECTOR           HERNANDEZ             CA         90009419285
11148A82391895   CHRISTY          OXLAJ                 OK         90010580823
1114932942B966   JOSH             REBIERO               CA         90008393294
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111493A385B343   ISAFOU       JALLOW                    OR         90012753038
1114982394B26B   ASHLEY       FULSAAS                   NE         90013228239
1114B887847956   MISTY        HOODENPYLE                AR         24005888878
1115161694B26B   ROBERT       SPOHN                     NE         90015066169
1115164985599B   YARDLEY      DUSTIN                    CA         90005336498
1115228553B393   DEBORAH      GUERIN                    CO         90002902855
1115233755B154   LEE          JORDAN                    AR         23056093375
1115261A793745   KEVIN        HESS                      OH         90014826107
11153A4784B588   ALCIA        ANDERSON                  OK         90009940478
11154A18861976   SARELA       CABUTO                    CA         90011630188
111556A934B588   GUSTAVO      DE LOERA                  OK         90014846093
11156686772B28   ADAM         GOMEZ                     CO         90007116867
11156877A93745   AJ           PEARSON                   OH         64546788770
11156A86661958   ELIZABETH    ZUFRI                     CA         90013750866
11156AA745B526   LAWRENCE     TAFOYA                    NM         35050310074
1115777224B555   DEIDRE       WHITE                     OK         90014657722
11157A22257147   DELIA        RAMIREZ                   VA         90013190222
11158A4A697B69   AIMEE        HURST                     CO         90011710406
1115978644B26B   JEREMY       MAHONEY                   NE         90015157864
1115B163872453   JARRAD       WISE                      PA         90014801638
1115B434291263   SIRRON       GRIFFIN                   GA         90014234342
1115B763433699   CORTNEY      GRAY                      NC         90013107634
1115BAA9261958   GENAVEVA     LONGUNARDI                CA         46079920092
11161539676B68   TERRY        MOFFATT                   CA         90010755396
1116177264B588   ADELIADA     YANEZ                     OK         90000107726
111626A8A4B588   CHARLES      LOYD                      OK         90015126080
111635A675B35B   ALICIA       MORALES                   OR         90013855067
11163A11A9154B   OSCAR        GOMEZ                     TX         90004980110
111643AA972453   NICHOLE      THOMPSON                  PA         90014783009
1116441A631687   BRITTNY      ESPINOSA                  KS         90012314106
1116452A191263   DANA         BROXTON                   GA         90008835201
1116518384B588   MARK         HILL                      OK         90015601838
11165336576B68   DANIELLE     WEST                      CA         90012033365
1116559995B526   ROYCE        SCHELLS                   NM         90009405999
1116569725B355   LUKE         FRELS                     OR         47087956972
111656A4561938   AMGELICA     CAZAREZ                   CA         90013246045
1116571A277539   PATRICIA     AMAYA                     NV         43082757102
111657AA591895   KARNETHA     JORDAN                    OK         90008947005
11166647172B62   JERRY        RIDER                     CO         33034796471
1116676A12B225   DENNIS       DUCOSIN                   DC         81029637601
11166835A2B966   MARIA        ARZATE                    CA         90014178350
11167181A5B35B   BECKY        KELLY                     OR         44593971810
1116748398B193   RENE         ESPINOZA                  UT         31035304839
1116783A161938   CHARLES      ALLENBY                   CA         90014168301
11168698A91263   DIEGO        MEDINA                    GA         90015016980
111687A3161972   PATRICIA     GUERRERO                  CA         90011247031
1116882154B555   MELODY       NUGENT                    OK         90014658215
11168A35872B84   IRMA         DUARTE                    CO         33040920358
1116915A272453   DOROTHY      TALMONTI                  PA         51032741502
1116931545B154   JERMAIN      WILLIAMS                  AR         90013943154
1116977A876B68   NORA         REYES                     CA         90013427708
1116981387B489   GREGORY      ARMSTRONG                 NC         11011628138
11169835A4B588   RENEE        WAGNER                    OK         21519578350
1116B312291569   ANDREA       MENDOZA                   TX         90012563122
1116B47182B966   GUADALUPE    BRECEDA                   CA         90009274718
1116B53A44B555   SHELIA       WILSON                    OK         90014645304
1116B54178B193   JEAN         PIERRE                    UT         90000345417
1116B998957147   MILTON       CARRILLO                  VA         90014909989
11171A2392B966   MIKE         PEREZ                     CA         90012800239
1117291395B526   BERTHA       RODARTE                   NM         90013989139
1117342A32B837   GEMMA        MORAWSKI                  ID         42085924203
1117397A277539   ENRIQUE      NUNEZ                     NV         43058209702
1117583A972B2B   JACOB        CRUGER                    CO         90006128309
1117594714B26B   ANGELA       MAYBERRY                  NE         90012869471
11176711A57147   NEHEMIAS     LOPEZ                     VA         90015307110
111769A287B43B   RONALD       MCGILL                    NC         11067929028
1117753A951337   OSCAR        CUBAS                     OH         90007725309
111781A6576B68   NESTOR       DE LA CRUZ                CA         90010761065
1117829249154B   MARIA        GUNTER                    TX         90005162924
1117954335B274   BRIAN        BARBER                    KY         90001375433
11179A41A8B193   TODD         COLLINS                   UT         90013020410
1117B562961958   ALEJANDRO    VAN HOLTEN                CA         46064025629
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1117B56A35B154   JOSE         MARTINEZ                  AR         90007905603
1118114A661938   JAMES        HOWARD                    CA         90007061406
1118195259154B   PAMELA       RAMIREZ                   TX         75014859525
11181A2257B489   ANA          ROGAS                     NC         90009470225
111823A225B526   ALMA         GRANADOS                  NM         35002343022
1118272742B966   CHERYL       DRAKE                     CA         90012887274
11184967476B68   GUSTAVO      GARCIA RIVERA             CA         90014169674
11185538976B68   RYAN         KLIPPEL                   CA         90013635389
11185566A9154B   LLUVIA       MONTALVO                  TX         90000525660
1118586A593724   TERRENCE     DUNKLIN                   OH         90001158605
11187739A8B193   GLEN         HENSLEY                   UT         90013577390
111877A3547956   MAEGAN       CHITWOOD                  AR         24074977035
111882A6661958   MARIA C      MORENO                    CA         90012752066
11188561A5B343   CASSI        REICHEL                   OR         44546025610
11189337572B62   DOMINIC      THERIAULT                 CO         90015013375
1118935675B154   DEWAYNE      PAYNE                     AR         90013943567
1118949324B555   SYRITA       JAGGERS                   OK         90014574932
1118954564B555   GARY         FELTON                    OK         90014685456
1118B457661972   ELIZABETH    HIGUERA                   CA         90013704576
1118B496261976   MARINA       MARQUEZ                   CA         46062854962
1119115955B154   JERMAIN      JONES                     AR         90008291595
1119117777B489   SHAZONDIA    BAILEY                    NC         90015181777
1119118815B343   CARMEN       CHANG                     OR         90012111881
111912A945B526   JUANITA      RUELAS                    NM         35069542094
11191416524B38   FREDY        ORELLANA                  VA         81083664165
1119157A791569   MARIA        ESPINOZA                  TX         90010985707
111916A235B35B   JOSHUA       BROWN                     OR         90006746023
1119178247B489   KEVLIN       HAGERTY                   NC         90013047824
1119225A657147   YOLANDA      GREEN-WILSON              VA         90013192506
11192297472B62   STEVEN       URIBINA                   CO         90015202974
1119248178B197   NILA         ELDREDGE                  UT         90011324817
11193713276B68   ANDREW       KROEGER                   CA         90012237132
11193785A9154B   FERNANDO     ARAGON                    TX         75033837850
11194A9A772B62   ANNASTACIA   SANCHEZ                   CO         90013980907
111952AA193745   KARI         HITTLE                    OH         90012862001
1119552725B526   VARGAS       EFREN                     NM         35046045272
11196759972B62   ELSA         HERNANDEZ                 CO         90004497599
11198378A76B68   ROGER        CASTILLA                  CA         90013743780
11198528A72B62   JONNA        GOLDTRAP                  CO         90002655280
1119887468B193   BEVERLY      SKILLICORN                UT         31017618746
1119989115B526   OLGUIN       ROSIE                     NM         35058338911
1119B2A4947956   SHANDRA      ALEXANDER                 AR         24006182049
1119B5A135B526   JOSHUA       SEGURA                    NM         90012085013
1119B853891569   PEDRO        MONDRAGON                 TX         90014178538
1119BA2772B924   PATRICIA     CARDENAS                  CA         90008530277
1119BA82791263   BRIAN        MILLER                    GA         90014710827
111B1194977539   MARIVEL      MARIN                     NV         90008091949
111B1227231687   DIANY        JOSEPH                    KS         90012222272
111B1322A61938   FRANCISCA    DELVILLAR                 CA         90014673220
111B1417A4B259   KIMBERLY     WYNNE                     NE         27047714170
111B167A391569   JUDY         MARTINEZ                  TX         90015086703
111B178779154B   PATRICK      SANDOVAL                  TX         90014887877
111B1825733699   ERICA        BETHEA                    NC         90015088257
111B1A21133699   ERICA        BETHEA                    NC         90015000211
111B1A9777B43B   ANNETTE      MARTIN                    NC         11092040977
111B263435B343   DALIA        NAVARRETE                 OR         90005646343
111B281914B555   LARRY        LILJESTROM                OK         21539648191
111B2A88651337   TROY         EASTIN                    OH         90014650886
111B3679176B68   BERTA        DE JESUS                  CA         90012106791
111B368799154B   DAVID        GONZALEZ                  TX         90012566879
111B397919154B   JEANETTE     MENDOZA                   TX         90012639791
111B4514791263   JACOB        PMANUGL                   GA         90015595147
111B4515291569   NANCY        ALDAMA                    TX         90014035152
111B4533A91895   SANDER       TOBAR                     OK         90009955330
111B4613291263   SIERRA       KIMMEL                    GA         90009386132
111B4791157147   WILLIAM      CAMPOS                    VA         90004697911
111B481815B526   RICK         PENA                      NM         35003928181
111B519749154B   VERONICA     CENICEROS                 TX         90004451974
111B557A15B154   YVONNA       ALEXANDER                 AR         90010245701
111B6769633699   ASHLEY       DIXON                     NC         90010147696
111B69A5993745   KENNY        GRAHAM                    OH         90013079059
111B729779154B   DAVID        ACOSTA                    TX         90012762977
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111B7917433699   JOSE           VASQUEZ                 NC         90012299174
111B7AA344B555   AMY            ANDERSON                OK         90013550034
111B8192961976   ANTHONY        CORTEZ                  CA         90012211929
111B8674461972   CHARLES        TOVAR                   CA         90011246744
111B877AA72453   DENISE         GRIFFITH                PA         51059057700
111B896475B526   IRENE          PADILLA                 NM         90013749647
111B9187261976   KARLA          PEREZ                   CA         90012211872
111B9743991569   ANABEL         CERVANTES               TX         75026647439
111B9A19272435   KEVIN          GIUNTA                  PA         51096430192
111BB15172B966   AZIRIUS        WILLIAMS                CA         90010091517
111BB611351337   CHRISTOPHER    PADGETT                 OH         90014986113
111BB936947832   KEVIN          GOMES                   GA         90008449369
111BB937A9154B   YOLANDA        MOLINA                  TX         75014709370
11211439972B62   BARRAZA        LUIS                    CO         90009954399
1121154974B26B   ENMA           MIJANGOS                NE         90012585497
11211668A9373B   CLIFTON        RICHARDSON              OH         90008116680
1121184835B154   HIGINIA        LOPEZ                   AR         90005188483
1121229685715B   AHMED          BASTO                   VA         90012532968
11212A85351337   SAMUEL         WOOTEN                  OH         66096390853
11213AA8261938   JUANA          LECHUGA                 CA         90003560082
112142A4957147   JANEY          CARBALLO-RENDEROS       VA         90012322049
1121478A29154B   VERONICA       CORTEZ                  TX         90013327802
1121662382B966   ROBERT         DE LOS RIOS             CA         90014046238
1121748655B35B   VANESSA        MULLIGAN                OR         90005914865
1121911592B336   WANDA          BLACKWELL               CT         90014361159
1121999899154B   RICHARD        CAMARGO                 TX         90013109989
1121B565272435   SAMANTHA       HORNE                   PA         90009175652
1121B7A9551337   RICK           KAISER                  OH         66096567095
1121BAA4A3B352   JOHN           BATES                   CO         90012950040
1122138349154B   TERI           TERROR                  TX         90014123834
11221A86961938   ALIYAH         STRANE                  CA         90015190869
11222382A2B966   ANDREW         CHEADLE JR              CA         90014763820
1122278582B966   BRIAN          HODGES                  CA         90013867858
11222A45491895   KEMONTAE       HARRIS                  OK         90011400454
11222A8539154B   CHRISTINA      PEREZ                   TX         90010890853
1122536657B489   CONRAD         SIMMONDS                NC         90008083665
11225412A31687   MARGEAUX       ROSSITER                KS         90013864120
1122565963B324   SARAH          BOHMAN                  CO         90012116596
1122596694B555   REGINALD       GABRIEL                 OK         90014659669
11226225676B68   MIRIAN         HALE                    CA         90007932256
11226786A2B249   EDWARD         RICH                    DC         90012597860
1122699244B555   TASHA          LYNN                    OK         90014659924
11227A29A2B966   ERICA          LUQUIN                  CA         90011470290
1122817315B293   GREGORY        HANDY                   KY         90014191731
1122822395B526   MARISOL        VILLALOVOS              NM         35048172239
1122874494B555   MICHAEL        SCOTT                   OK         90006197449
11229636272B62   UBALDO         MEDINA                  CO         90010226362
1122987968B837   WILLIAM        BOWLES                  HI         90013898796
1122992452B243   TIFFANY        PARKER                  DC         90005869245
112299A4591895   DANIEL         FROST                   OK         90011949045
11229A54972435   LIONEL         HAYDEN                  PA         51015290549
1122B375161938   ROD            SELBY                   CA         90014783751
1122B758677539   JESSE          ROBINSON                NV         43094957586
1122B93A45B343   DANIELLE       BROWN                   OR         90002369304
1122BA29661938   ANTHONY        VELARDE                 CA         90011600296
112315A439154B   ENRIQUE        GUERRA                  TX         90013745043
1123188884B588   MONICA         RIOS                    OK         90010318888
112318A8477539   ANDREW         KASOZI                  NV         90005268084
11231A25476B68   FABIOLA        PADILLA                 CA         46043590254
112324A9672B62   VICTORIA       SANTISTEVAN             CO         90011404096
1123277288B863   TAYLOR         ANAMA                   HI         90013977728
11233288A61976   ARLENE         MEDINA                  CA         90009382880
11233327876B68   ROXANNE        SANCHEZ                 CA         90013733278
1123415345715B   TISHA          NEVERSON                VA         90010831534
1123562925B35B   MIKE           CURL                    OR         90006646292
1123743A55B526   TANYA          GONZALEZ                NM         90006414305
1123744994B588   VICTOR         MIJAREZ                 OK         90006694499
112375A3957147   AMOS           FIALOR                  VA         90003615039
1123764878B193   AGNES          MUKANTAGARA             UT         31090536487
11237736972B62   LUIS ALBERTO   DOMINGUEZ GARDEA        CO         90013337369
1123811395B154   DANISHA        ROBERTS                 AR         23091111139
11238376372B77   TAMARA         MYERS                   CO         90001183763
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11238919A5B254   RAEGENA       MCCAGE                   KY         90014289190
1123918744B588   PENNY         PARR                     OK         90015601874
1123B46944B588   STEVEN        HAWES                    OK         21558314694
1123B4A1591573   JESSICA       ANAYA                    TX         75086524015
1123B4A9A5B526   MIRIAM        CASTILLO                 NM         90005044090
1123B5AA161938   VANESSA       GUTIERREZ                CA         46088305001
1123B67675B154   MICHAEL       SODA                     AR         90010316767
1123B751A4B26B   JENNIFER      KEATING                  NE         90002927510
1123B782461976   JULIO         RODRIGUEZ                CA         90015207824
112411A173B36B   CESAR         COLMENERO                CO         33052641017
112425A855715B   TRACY         RUSSELL                  VA         90006435085
1124326245B54B   DONALD        KRUSE                    NM         35049742624
1124353635B526   ANTONIO       ARDON                    NM         90014615363
1124496777B489   REYEZ         HERNANDEZ                NC         11042009677
1124521148B863   RICHARD       ARRUDA                   HI         90014902114
1124586A691263   MICHAEL       HAMMONS                  GA         90014258606
112464A7357147   VIVIAN        CABRERA LOPEZ            VA         90012054073
1124654255B526   JUAN          CERECERES                NM         90014615425
1124686279154B   JUAN          MORALES                  TX         90014418627
1124688942B966   FABIOLA       FLORES                   CA         90008778894
11246A34131687   BLANCA        AYALA                    KS         22008800341
1124724435B343   KIRK          SAMSON                   OR         90005792443
11247476A61972   JOSE          DIAZ                     CA         90011484760
112479A215B183   YALOUNDA      WILLIAMS                 AR         23036219021
11248137372B62   SYLVIA        RENTERIA                 CO         33033251373
112499A2A61938   RICHARD       OCAMPO                   CA         90014169020
1124B1A422B966   THPOMAS       SIEKIERSKI               CA         90010461042
1124B71914B555   DAVID         LUNA                     OK         90007817191
1125119755B526   ABIGAIL       BUSTILLOS-ROSAS          NM         90002971975
11251A2AA57147   JOSE          SOTO                     VA         81015850200
11251A6913146B   JENNIFER      PERKINS                  MO         90009890691
11251A9134B588   DAWN          KONGVONGSAY              OK         90007810913
11252115872B4B   ALFRED        ROMERO                   CO         90001271158
1125225545B343   ANNA          DOVGANICH                OR         44559122554
11253A41A61958   ROBERT        REED                     CA         90011150410
11253A89672B62   JUAN          JIMENEZ                  CO         33098180896
11253A9668B193   NICHOLAS      GLAZIER                  UT         31019450966
112544A3172453   HEIDI         THORPE                   PA         90014804031
112552AA861958   MIGUEL        PALACIOS RUIZ            CA         90003482008
1125551177B489   EDDIE         PORTER                   NC         90012785117
11255614A5B343   DALE          HILL                     OR         90014266140
11255672172B62   JUAN          MARTINEZ                 CO         33042126721
11256357A9154B   OSVALDO       FELIX                    TX         90005253570
1125643A631635   ZOLLA         BROOKS                   KS         90006884306
1125671528B193   MARK          BALLAINE                 UT         90005847152
11257A64622929   LATOYA        HILL                     GA         90012750646
11257A9787B489   LEONEL        ESPINAL                  NC         90013860978
11258112A57147   LORENA        SEGOVIA                  VA         90012321120
112589A6461938   ERIKA         LOPEZ                    CA         90014169064
1125B115872B4B   ALFRED        ROMERO                   CO         90001271158
1125B1A8551337   ASHLEY        LILLY                    OH         90008361085
1125B67565B526   NIVEE         DELAWARE                 NM         90010386756
1126135449154B   KRYSTAL       REINA                    TX         90013933544
1126174795593B   KATHLEEN      PUCKETT                  CA         90007337479
11261A5887B489   VICTORIA      ROLDAN                   NC         90012370588
1126257585715B   BRYANT        RODRIGUEZ                VA         90013205758
1126271235B343   RAYMOND       GRAGG                    OR         90014877123
112649A5993745   KENNY         GRAHAM                   OH         90013079059
11264A6A433699   CYNTHIA       SPRINGS                  NC         90014960604
11264A9934B588   CHARLES       MARSHALL                 OK         21579060993
1126521865715B   ANGEL         LOPEZ                    VA         90011472186
11265369A97B23   RODOLFO       QUEZADA                  CO         90011553690
1126537A972435   KRISTIAN      CLAYTON                  PA         51012403709
112654A767B489   WILLIE        WALTER                   NC         90010294076
1126568653B36B   ANITA         GEIST                    CO         90014196865
11266396472B3B   SARAH         WHINERY                  CO         90010313964
112663A7972B62   ASIA          MENDOZA                  CO         90010803079
112667A154B588   HELEN         BLAKE                    OK         90015447015
1126681824B26B   CURTIS        WILEY                    NE         26025008182
112679A2391569   HECTOR        RODRIGUEZ                TX         75064549023
11267AA8572B55   JESUS         GUTIREZ                  CO         90003420085
1126877577B489   JUAN CARLOS   SOTO                     NC         90014137757
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1126882134B555   SAMUEL        ROBERTS                  OK         90014668213
1126935895B526   DAVID         ARAGON                   NM         35069103589
1126955A661976   SANDRA        CERDA                    CA         46041405506
1126967945715B   MIGUEL        ANGEL                    VA         90012126794
1126973519154B   NORMA         ACOSTA                   TX         75067407351
1126978247B489   KEVLIN        HAGERTY                  NC         90013047824
1126993115B154   MICHELLE      BARKER                   AR         90015049311
11269A81861958   VERONICA      CONTRERAS                CA         46040890818
1126B67525B343   ANA           MATA                     OR         90012166752
1126B81689154B   PEDRO         CORTEZ JR                TX         75014868168
1127145A691569   MIGUEL        DELAROSA                 TX         75077234506
112721A6A31687   DAVID         ROBB                     KS         90010971060
1127288A176B68   BALTAZAR      LUNA                     CA         90014168801
11272A98A9154B   OSWALDO       HERNANDEZ                TX         90013780980
112733A345715B   VERONICA      REQUEL                   VA         90012753034
1127361114129B   GWENDOLYN     HARDMAN                  PA         90012556111
1127416778B166   RICHARD       VICARDS                  UT         90009481677
11274658A61958   LUIS          QUEZADA                  CA         90013076580
1127559595715B   EDWIN         REYNA                    VA         90011165959
1127585A64B555   BRANDON       CHANEY                   OK         90014668506
1127593A791263   JOSHUA        LESTER                   GA         90014609307
1127628862B966   LISA          HARRIS                   CA         90013122886
112767A4593748   POLLY         STANFORTH                OH         90007177045
1127686AA4B555   DATRESE       LEWIS                    OK         90014668600
11276A79761938   LEE           CUMMINGS                 CA         90012480797
1127722355B343   HOPEANN       SHULTZ                   OR         90015492235
11277298972B35   JESSE         JAMES                    CO         90014162989
11277A9A291569   JANICE        LUGO                     TX         90008770902
1127857159154B   JESSICA       ZAMARRIPA                TX         90009615715
11278829272B62   GISELE        GARCIA                   CO         33025058292
11278A6A591263   ROBIN         LEWIS                    GA         90013050605
11278AA912B966   ELVA          GUTIERREZ                CA         90014040091
1127943414B588   SHAMIKA       HENDERSON                OK         90010924341
1127944544B588   TAMARA        JOLLEY                   OK         90012554454
11279514372B62   TIMOTHY       BOVENZI                  CO         90012575143
11279653A33699   ALAN          CRAWFORD                 NC         90003046530
112799A794B555   TISHA         HAMILTON                 OK         90011329079
1127B1A645B154   SHAQUANTA     BILLINGSLEY              AR         90015291064
1127B859961938   RONALD        BARRIOS                  CA         90009868599
1127BA9339154B   MARIA         BETANCOURT               TX         90013780933
1127BAA6461958   CARLOS        SILVA                    CA         90011460064
1128162A586445   JOSE          REYNOSO                  SC         90015156205
1128362135715B   LUIS          TACURI                   VA         90013206213
1128363368B193   SHELLI        SMITH                    UT         31096876336
11283AA8833699   RONNIE        KOLLOCK                  NC         90014690088
11284441872B62   ANNA MARIE    KENSAK                   CO         90007364418
1128497A247956   EDWARD        GOFF                     AR         24098829702
1128592A251337   PILAR         HERRON                   OH         90014499202
11285A1215712B   MICHELLE      BOWSER                   VA         90012020121
1128625692B966   MICHAEL       ROMANI                   CA         90011662569
1128685394B234   CONNIE        GRIFFIS                  NE         27092538539
11286A1768B193   AMANDA        HASKELL                  UT         90009440176
112879A354B259   SHANTAYE      STUBBLEFIELD             NE         27015259035
11287A3575B343   CHRISTOPHER   GORDON                   OR         90014150357
1128877195B526   ROBERT        MIERA                    NM         90015297719
11288A8434B26B   ANDREW        HAMELIN                  NE         26050410843
1128914A161976   EDWIN         N. CORBETT               CA         46009711401
112895A4791263   ARNETTE       THOMPSON                 GA         90010625047
11289811472B62   MATTHEW       ROSS                     CO         90013208114
1129146974B26B   BRANDIE       WEILER                   NE         90013054697
11291612A91895   ASHLEY        WHISNER                  OK         90013776120
1129328A291899   JASON         VINCENT                  OK         21039222802
11293A1A52B966   LETASHIA      WILBON                   CA         90015000105
11294213872B97   JUANITA       VILLEGAS                 CO         90000622138
11294278A61958   RODOLFO       LOPEZ                    CA         90012772780
11294611572B55   MARINA        RUIZ                     CO         33072286115
1129525185B343   KEVIN         STRUCK                   OR         44590412518
11295281576B68   ROSY          HERNANDEZ                CA         46047432815
1129565A751337   CHARLES       NIEMANN                  OH         90014506507
1129588838B193   CHAD          FOBBLKS                  UT         90006588883
1129637884B588   CHAD          EATON                    OK         21551453788
11296972172B33   LONNIE        OSULLIVAN                CO         90012369721
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1129749154B26B   DUSTIN       BREWER                    NE         90008174915
1129757112B966   ROSIO        YANTES                    CA         90011355711
1129775A75B526   ALEXANDER    PIERCE                    NM         35016827507
11297A8819B128   YOLONDA      FLOR                      TN         90015570881
11298A51A72B62   DEREK        TORTTIER                  CO         90008710510
1129953175B343   VIRGINIA     VAZQUEZ                   OR         44508635317
11299584172B84   LYNNE        PHILLIPS                  CO         33088325841
1129B139493745   IAN          MOONEY                    OH         64574691394
1129B37975B154   LUIS         SANCHEZ                   AR         90012343797
1129B48A661972   FRANCISCO    GOMEZ                     CA         90012494806
1129B685A4B26B   PEARL        ERICKSON                  NE         90013436850
112B134999154B   CLAUDIA      TORRES                    TX         90010153499
112B1357591263   RASHAN       DAUGHTRY                  GA         90012973575
112B2147272B62   YUREN        OLIVAS                    CO         33087441472
112B232345B526   MANUEL D     BUSTAMANTE                NM         90010873234
112B318798B193   KATIE        WIMMER                    UT         31025941879
112B4114147956   BRITTANY     WARREN                    AR         90011831141
112B4656461976   AZUCENA      FRAIRE                    CA         46042056564
112B5123354144   ELIENA       RODRIGUEZ                 OR         90014281233
112B5328772453   DONALD       DELVECCHIO                PA         90014793287
112B5384661958   ANGELICA     SANTIAGO                  CA         46008043846
112B558325B385   SANDRA       DAVIS                     OR         90010695832
112B596575B154   CARNELL      JOHNSON                   AR         90014949657
112B6297291263   TAKIA        GREENE                    SC         90014862972
112B6447151337   PAMELA       LAMB                      OH         90015214471
112B6655451337   PAMELA       DARDEN                    OH         90013436554
112B7634A2B966   SARAH        ORTIZ                     CA         90004176340
112B766A84B588   TERRY        BEALS                     OK         90013056608
112B7A86272435   GAYLE        HEYMER                    PA         51064520862
112B811654B26B   MELINDA      MCGREW                    NE         26083761165
112B8298147956   IVAN         PEREZ                     AR         90011832981
112B842635B154   ALANA        MORRIS                    AR         90011274263
112B8441872453   FRANCIS      ROBEL                     PA         90014794418
112B8928661976   OSCAR        LEON                      CA         90011229286
112B899997B489   MELANIE      CROCKER                   SC         90014409999
112B9145191263   DAVID        CAPERS                    GA         90002381451
112B921A67B489   CARLOS       HERNANDEZ                 NC         90001642106
112B9339177539   JOSHUA       MCGRATH                   NV         90002893391
112B9347557147   FRANCISCO    OLIVARES                  VA         90002763475
112B9373693745   DUSTIN       WARD                      OH         64522913736
112B964152B966   JOEL         GARCIA REYES              CA         90014696415
112B9A1255715B   MESFIN       WOUDNEH                   VA         81059760125
112BB832A76B68   JOHNNY       BEA                       CA         90003038320
112BB965147956   CARLINA      LINCOLN                   AR         90011829651
112BBA17991569   ADRIAN       NARRO                     TX         75005480179
112BBA22761972   PEDRO        YANEZ                     CA         90012700227
1131136815B526   GILBERTO     OLDONEZ                   NM         35084833681
1131149725B343   ALEIDA       ESPINOZA                  OR         90013184972
1131161318B193   SUSAN        ERICKSON                  UT         31019326131
1131174344B26B   DENISE       BRENAGH                   NE         90007777434
1131236759154B   GRISELDA     VALDEZ                    TX         90008363675
1131239269154B   GRISELDA     VALDEZ                    TX         90015573926
1131292455B35B   GREGORY      GIELER                    OR         90010029245
1131342494B259   TERESA       SVOBODA                   NE         27037144249
11313666272B62   OMAR         MARTINEZ                  CO         90013966662
1131371A45B343   DEEPTI       SINGH                     OR         90010217104
1131419A75B154   ZAKIYYAH     MUHAMMAD                  AR         23001641907
1131447789154B   ALMA         FRAYRE                    TX         90011404778
11315971A72B62   MIGUEL       ESQUIBEL                  CO         33011549710
1131599A677539   FRANCISCA    COLLAZO-GARCIA            NV         90004129906
11315A58661958   DIEGO        IBARRA                    CA         90007850586
1131696135B154   JACK         HOPES                     AR         23041169613
11316978476B68   TRAVIS       HOLMBERG                  CA         90014169784
113172AA161938   EDWARD       WASHINGTON                CA         90011602001
1131795442B966   EDEN         PADILLA                   CA         90013869544
11317A38631687   DIANNA       STEPHENSON                KS         22058100386
11317A5915B154   KENNY        MAHOMES                   AR         90012900591
11318385A2B966   ELEA         MIGUEL                    CA         90012573850
1131976134B588   ANASTASIA    ESPINOSA                  OK         90012937613
1131986819154B   KARLA        SALAZAR                   TX         90014178681
1131B91974B555   DENISE       CLIMER                    OK         90011999197
1131BA82A91895   BILL         GRAY                      OK         90007260820
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1132235632B966   ELLY          RAMIREZ                  CA         90003583563
1132273A393745   TREONA        WHITMORE                 OH         64587827303
11322AA387B489   VUM           BAWI                     NC         90009410038
11323298A61958   SOTERO        VALDIVIA                 CA         90014132980
1132399475715B   MATILDE       LOPEZ CABALLERO          VA         90014449947
1132441835B526   JAIME         FLORES                   NM         90002574183
1132469765715B   TERESA        DOMINGUEZ                VA         90007926976
1132476A25B154   ROBYN         CREWS                    AR         23005197602
11324792572B62   MONICA        CARRILLO                 CO         90012827925
11325178976B68   LIZZED        GARCIA                   CA         46073351789
11325A82A93745   GLEN          NICKLES                  OH         90007560820
1132639465B526   NOHEMI        ESTRADA                  NM         90008673946
11326553A4B588   BETTINA       BOWENS                   OK         90009645530
1132674777B489   DENNIS        VALLADOLID               NC         90006747477
1132679A633699   ALLISON       DICKENS                  NC         12068867906
113268A5993745   KATIE         FLINN                    OH         90013928059
11326A4515715B   MILAGRO       BONILLA                  VA         81038610451
11327597372B62   VINCENT       LOPEZ                    CO         33082495973
1132774A79154B   BEATRIZ       HERNANDEZ                TX         90011237407
11328294A61958   MARIA         CORTEZ                   CA         90014182940
1132864A35B154   LOVAIL        WILSON                   AR         23091456403
1132924A172435   DAVID         BOWMAN                   PA         90002702401
1132957942B966   STEPHANIE     SANCHEZ                  CA         90014595794
1132B256561972   JOHN          MILLER WILKINS           CA         90013152565
1132B625661976   ANGELICA      ROMERO                   CA         46035136256
1133237425B343   CHRISTINA     NEWBY                    OR         44582403742
11332A98957147   JOSE          BELTETON                 VA         81017200989
1133311582B966   CLAUDIA       COMPARAN                 CA         90011671158
1133368A261926   GREGORY       WHITE                    CA         90000916802
113345A3892826   DAVID         DAVIS                    AZ         90014435038
113346A975715B   WILLIAM       ROMERO                   VA         90013046097
11334A81872B97   MARIA         GARFIO                   CO         90009110818
11334AA999154B   SITLALY       ENRIQUEZ                 TX         90012290099
1133577839154B   GERARDO       HERNANDEZ                TX         75043147783
11335779A4B26B   LAINIE        REYNOLDS                 NE         26021587790
11336118A5715B   MANUEL        PORTILLO AGUILAR         VA         90014081180
1133651A28582B   DIMAS PABLO   FRANCISCO                CA         90011875102
11336726A51337   GLADIS        RODRIGUES                OH         66061257260
113373A6331687   FEKREYESUSS   WOLDEYEWHANNS            KS         90009243063
1133812935B523   FRANCES       GALLEGOS                 NM         90004821293
1133874A79154B   BEATRIZ       HERNANDEZ                TX         90011237407
1133922685B526   LORENA        RAMIREZ                  NM         90010982268
1133937884B588   CHAD          EATON                    OK         21551453788
1133943984B26B   DEVAN         MURCEK                   NE         90014694398
113397A3872B62   KARINE        OLSON                    CO         90004767038
1133B5A9993737   LISA          ELROD                    OH         90012555099
1133B727361958   HEATHER       PIGNATARO                CA         90005217273
1133B818A5B154   JANETTE       NAJERA                   AR         90015148180
1133B868691895   CHARLES       MINNEY                   OK         21075408686
1133BA89A91569   CAROLINA      DAVILA                   TX         75095790890
1133BAA9351337   DWAYNE        CUPP                     OH         66049570093
113413A633B394   JESUS         GALVAN                   CO         33050973063
1134193815B154   PANDIA        HARRIS                   AR         23090889381
1134219A14B588   SENDY         CORPUS                   OK         90014531901
11342A3988582B   JESUS         DAMIAN                   CA         90014710398
1134352A19154B   AARON         DAVILA                   TX         90011875201
11343555972B55   YAO ARMEL     ONGOUNDJA                CO         90010195559
1134361965715B   ANTULIO       LOPEZ                    VA         81010526196
1134442974B588   CARL          SEAMSTER                 OK         90015114297
1134564464B259   LELAND        MICKLES                  NE         90004016446
1134594264B588   QUATAVIA      LUCAS                    OK         90013029426
11346312A61938   CARLOS        HERNANDEZ ALONZO         CA         90011603120
1134659194B26B   JOANNE        SCOTT                    NE         90008085919
11346A2695B526   LUIS          VALENZUELA               NM         35050160269
113472A4A7B489   LOY           LEE                      NC         90008402040
1134756235B37B   TRICIA        SCOTT                    OR         90001725623
11347799A8B193   EMILEE        BENTON                   UT         31065907990
11347942872B55   MELINA        MILLER                   CO         33046339428
11347956876B68   MALINA        SEPPANEN                 CA         90000259568
11348971972B62   BRENT         MCCONNELL                CO         90012769719
11348A8845B154   CASSANDRA     WADE                     AR         23041080884
1134917A181652   CHEREICE      GIVENS                   MO         90005071701
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1134B297533699   JERMAYNE     LEDBETTER                 NC         90013632975
1134B566431687   JANEL        HARRIS                    KS         22094755664
1134BA6A25B35B   CHRSTIAN     CAMPOS                    OR         90010030602
1135117715715B   MARY         EL-KHATIB                 VA         90013461771
113511A1231687   MELINDA      WOLF                      KS         22074061012
113515A4791263   ARNETTE      THOMPSON                  GA         90010625047
113529A789154B   MIGUEL       JAUREGUI                  TX         90008649078
11353679572B62   KEN          PALIGE                    CO         90003686795
1135383A85B526   FELICIA      GARCIA                    NM         90012068308
1135389114B555   TAMEKA       KELLEY                    OK         90014678911
113539A642B966   MIGUEL       ALMARAZ                   CA         90012389064
113549A154B26B   JAMIE        PROKOP                    NE         26083819015
11355495276B68   DALIA        OWENS                     CA         46038624952
11355829A91895   MARIO        CAMINOREAL                OK         90008568290
11355A8449154B   MARBELLA     LOPEZ                     TX         90014340844
113564A6576B68   JACOB        PITTMAN                   CA         90010294065
1135727A272B55   MARISA       MOLINA                    CO         90004332702
1135747775B526   ROLANDO      RAMOZ                     NM         90003744777
1135754758B193   KOURTNEY     VICKERY                   UT         31033165475
1135763327B424   TIARA        GABRIEL                   NC         90009126332
11357A78193745   NICOLE       MOWERY                    OH         90011020781
11357A83431687   GUSTAVO      SOLIS                     KS         22052860834
1135874875B343   ELIZABETH    VILLEGAS                  OR         90010227487
1135877655B343   ELIZABETH    VILLEGAS                  OR         90012347765
11358A3469154B   MARCO        ESCOBEDO                  TX         90012920346
113595A2347956   REVA         PEARSON                   OK         90004585023
1135B2A924B555   BRIANNA      TAYLOR                    OK         90014672092
1135B787733699   ERICK        CABALLERO                 NC         90014437877
1135B978461976   LIZETH       FERREIRA                  CA         46087409784
1135BA6987B489   MICHAEL      RIFFLE                    NC         90012030698
11361587A8B193   ALFONZO      LOPEZ                     UT         90010995870
1136182424B26B   SERGIO       MONTES                    NE         90013328242
1136183A25B35B   BETTY        MORRIS                    OR         90005838302
11361989A72453   MELISSA      SIDERS                    PA         51029489890
1136234432B966   GARY M       COSTA                     CA         90010663443
1136256427B489   VICTOR       ERASMO                    NC         90014685642
11363441176B68   REIMUNDO     SUARES                    CA         90006714411
113634A3772B43   RAFAEL       ORTEGA                    CO         90008424037
1136367A561958   MARY         JOBERT                    CA         90010036705
1136425125715B   MARTA        MARTINEZ                  VA         90014072512
1136431385B343   ALFREDO      GARCIA                    OR         90014423138
11364A74676B68   LUIS         DARTE                     CA         90010310746
1136521A391895   JUAQUIN      AGUILAR                   OK         90009182103
113653A324B588   DAVID        RIMER                     OK         90011303032
1136559465B526   LILIANA      LAGE                      NM         90005855946
113667A956612B   DESIREE      SALINAS                   CA         90014657095
11367466672B84   SIA Y        CHANDLER                  CO         90007174666
113674A1591263   PERRYANA     BRYANT                    GA         90004534015
113683A534B26B   LETICIA      MARTINEZ                  NE         90010943053
1136844A78B192   DARROL       BRINGHURST                UT         90014984407
11368A13861938   MANUEL       BARRIOS                   CA         90014170138
113694A455B154   WYNTER       LARRY                     AR         90015094045
1136973265B343   ALMA         SANDOVAL                  OR         90010027326
1136983A331687   DIANA        LEWIS                     KS         90012098303
1136B191876B68   PASCUAL      LOPEZ                     CA         90013351918
1136B753A33699   JASON        FARABEE                   NC         90006247530
1136BA17191263   ANGELA       VAZQUEZ                   GA         90013060171
1137151553B36B   WELLS        ROBIN                     CO         90000625155
1137216A94B26B   MARIA        ESPINOZA                  NE         90002531609
1137288975B526   MISTY LEE    HARRISON                  NM         90013448897
1137342A94B555   DERRICK      WANDRIE                   OK         90011234209
1137429917B489   LUIS         JUAREZ                    NC         90014192991
1137436945B343   EMMA         PUENTE                    OR         44590683694
11375289A61958   YESSENIA     VALADEZ                   CA         90011472890
1137535634B588   CARLOS       OBANDO                    OK         21541983563
113754A6572B26   HEATHER      M MORGAN                  CO         33097844065
11375A2AA61938   LUPITA       RODRIGUEZ                 CA         90014170200
1137629884B555   SALLY        WALLACE                   OK         90014672988
1137633895715B   LOPEZ        MARI                      VA         90003333389
1137678247B489   KEVLIN       HAGERTY                   NC         90013047824
1137759A976B68   SEAN         MYERS                     CA         90009035909
1137777A536B55   MIGUEL       CASTRO                    WA         90012207705
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11377A47961938   CATALINA        LOPEZ                  CA         90014920479
113785A3472B62   BRENDA          NICOLAS                CO         33003545034
113786A3891895   PAMELA          REICH                  OK         90009656038
1137884A361976   MONICA          AREVALO                CA         90000228403
11378AA775B154   ROBERT          WEBB                   AR         23016390077
113791AAA85823   CASSIE          PADILLA                CA         90014071000
1137933485B348   JILIO           RODRIGEZ               OR         90013923348
1137963A35B343   SUNDAY          BRADSHAW               OR         90001566303
1137B426176B68   NOEL            RAMIREZ                CA         46063974261
1137B745491895   GABRIELA        VASQUEZ TORRES         OK         90010277454
1137B7A575715B   CESAR           REYES                  VA         90013267057
1137B965333699   BRITTANY        WALLACE                NC         90013349653
1138123815B343   ZOLIA EMIRIAN   VILLALOBOS             OR         90011372381
1138265133196B   VERONICA        DEJAYNES               IA         90015286513
1138296599154B   ABRAHAM         FRANCO                 TX         75024619659
113829AA55B154   WHITNEY         HAMMOND                AR         90009639005
1138358342B966   ALEJANDRO       MECIAS                 CA         90013115834
1138392A961976   WILLIAM         HUMPHREY               CA         90014989209
1138433184B54B   IRENE           BLANCO                 OK         90011123318
1138442135B154   VEASTEY         MC KINNEY              AR         90003004213
1138454425B343   VALENTIN        SANCHEZ LOPEZ          OR         44576345442
1138544764B259   CATHY           MCVAY                  NE         27073954476
1138577154B547   DESIREE         MARTIN                 OK         90012627715
11386777A5B526   JASON           MILLER                 NM         90010697770
11386938672B62   MARIA           HERNANDEZ              CO         90011049386
113869A554B588   HAROLD          YOUNG                  OK         90008449055
1138717817B323   IBRAHIM         KARGBO                 VA         81014241781
1138723A597B39   JOSHUA          HOLTON                 CO         90007742305
1138744349154B   RAMON           HERRERA                TX         90008084434
1138759219154B   EVELYN          ALVARADO               TX         90011455921
1138794A46192B   CHRIS           WHITLOCK               CA         90010479404
11387995172B62   JEREMY          PEOPLES                CO         90006629951
1138823827B489   ALEXANDER       DE PAZ                 NC         90009522382
113886A854B555   PALOMA          HERNANDEZ              OK         90012066085
1138962924B555   ANDREW          SELFRIDGE              OK         21500916292
113899A419154B   LORENA          MEZA                   TX         75011029041
11389A43193745   TYRONE          COOK                   OH         64593440431
1138B579161972   KRISTEN         HARLESS                CA         46066905791
1138B886A4B588   ANN             THOMAS                 OK         90010128860
1138BA86477344   SABRINA         PARKER                  IL        90002550864
1139262924B555   ANDREW          SELFRIDGE              OK         21500916292
11392771A91263   JANETT          JOHNSON                GA         90013607710
1139328385B154   HAMP            NOWDEN                 AR         23076752838
11393317A9154B   BRENDA          LIAL                   TX         90013353170
113936A4A61958   GRACIELA        LAZARO                 CA         46029896040
11393A48527B36   MARQUIS         PAYTON                 KY         90015430485
11394732A57147   DOMINGO         PEREZ GOMEZ            VA         90012427320
113949AA491899   LORETTA         LEE                    OK         90014859004
11394A1A95715B   JOE             SIMTH                  VA         90013080109
113963AA872435   ASIA            SHANNON                PA         51014793008
1139687A95715B   BEATRIZ         CONTRERAS              VA         90011908709
11396A7845B526   CASSIE          HERNANDEZ              NM         35031590784
11397432176B42   JEANINE         MCKIERNAN              CA         90007754321
1139795134B26B   SHANE           TREJO                  NE         26033499513
11398183A2B966   PATRICK         STRIBLING              CA         90001141830
113984A8951337   KARLY           PENNINGTON             OH         90011014089
1139932795715B   ALEXANDER       FLORES                 VA         81016613279
1139B175831687   KARA            NAGEL                  KS         90008701758
1139B512872B62   RAUL            HERNANDEZ              CO         33056655128
1139B59299154B   CYNTHIA         GUERRERO               TX         90014565929
1139B9AA32B966   AMBER           LOGSDON                CA         45089499003
113B1243131456   BRIAN           KEYS                   MO         90001452431
113B1469747956   JEREMY          CLAYTON                AR         90012774697
113B148825B35B   WARREN          DRAINVILLE             OR         44514414882
113B1741347956   JEREMY          CLAYTON                AR         90008977413
113B1776733699   MITZIE          NYIAM                  NC         90011137767
113B198365715B   KASHIF          ASLAM                  VA         90006779836
113B1A3244B555   JAMIE           HAYNES                 OK         90014670324
113B2246A61972   DIEM            TU                     CA         90010322460
113B2257693745   PAT             SHROYER                OH         64516392576
113B2AA937B489   FAUSTINO        RAMOS                  NC         90002080093
113B353174B26B   JANET           PALMER                 NE         26069795317
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113B371979154B   CYNTHIA      GRANADOS                  TX         90011237197
113B3942691569   ROBERTO      RODRIGUEZ                 TX         90011769426
113B3964A61976   FEDERICO     AISPURO                   CA         90011559640
113B4133161976   RONALD       NOLLET                    CA         90012051331
113B425915B154   ROSALIDA     SANTOS                    AR         23067412591
113B4312457147   LUIS         CABRERA                   VA         90013663124
113B476414B588   VALENTE      PEDNOSO                   OK         90015597641
113B47A455715B   BERONICA     PEREZ                     VA         90007467045
113B49A9591263   SHANIKKA     JONES                     GA         90009949095
113B4AA7624B7B   RODERICK     WALKER                    DC         90006070076
113B5173161934   CHRIS        DURAN                     CA         90004151731
113B596A95B526   VERONICA     LOPEZ                     NM         90014919609
113B5A59A61972   LUIS         PATLAN                    CA         46087820590
113B623979154B   MARIA        LUNA                      TX         75054472397
113B6315647956   WILLIS       FISHER                    AR         24066823156
113B6336291844   SANDRA       SPIEGEL                   OK         90008153362
113B6873761938   PATRICIA     SANCHEZ                   CA         90014168737
113B6A27372B62   RENATA       GALVAN                    CO         90011500273
113B6A6615B154   ALEJANDRO    MORALES                   AR         23017950661
113B6A76A61972   MARK         CHOUINARD                 CA         90010480760
113B7871581629   DARIANTE     MYRICK                    KS         90014728715
113B8193A61938   JOSEPHINE    MENO                      CA         46056171930
113B8576993745   ANGELA       DURHAN                    OH         64575935769
113B8627677539   JASON        ELGAARD                   NV         90000976276
113B898187B489   BRITTANY     MOSS                      NC         90009409818
113B913415715B   RODRIGUEZ    A                         VA         90008401341
113B9161261958   ANDRES       ALDERTE                   CA         90011931612
113B974494B555   MICHAEL      SCOTT                     OK         90006197449
113B9955761938   FRANK        MIRAMONTES                CA         90014169557
113BB323157147   NOEL         HERNANDEZ                 VA         90012803231
113BB65A261976   BARBARA      HUITRON                   CA         90012026502
113BBA2392B966   MIKE         PEREZ                     CA         90012800239
113BBA33772B62   FERNANDO     HERNADEZ                  CO         90006220337
1141114A55B35B   TELLIS       MCCLYDE                   OR         90010041405
114115A6261972   ANDY         JONES                     CA         46051095062
1141239134B588   BRANDE       KISER                     OK         90012963913
1141251145B35B   PROSPERO     CRUZ-MORALES              OR         44558045114
1141262674B555   JESSE        JERNIGAN                  OK         90014686267
114127A3A4B26B   HEATHER      HEFNER                    NE         90004957030
11413467272B62   ROBERT       ROUGH                     CO         90010904672
114134A884B26B   SHANNON      GARCIA                    NE         26037184088
1141362674B555   JESSE        JERNIGAN                  OK         90014686267
1141363167B489   TRACIE       RANKIN                    NC         90011686316
11413941A31646   BRUCE        NIELSEN                   KS         90008659410
1141394535B35B   TONY         MCKINLEY                  OR         90014989453
11413A68A31687   TERRY L      DAVID                     KS         90015120680
1141446A161958   LUIS         BOJORQUEZ                 CA         90013214601
1141478917B489   MARY         SHANNON                   NC         90009407891
11414A4678B683   MARGARITO    MENDOZA                   TX         90013940467
1141528862B966   LISA         HARRIS                    CA         90013122886
11415433A4B588   SHERYL       CAMPOS                    OK         90009944330
1141558758B193   TIMOTHY      SIMPSON                   UT         90002645875
1141649454B555   ELIZABETH    HILL                      OK         90014574945
11416668272B62   STEPHANIE    ANN TAFOYA                CO         33066986682
1141724612B966   FELISHA      SANCHEZ                   CA         90007142461
11417664576B68   FLORO        VENTURA                   CA         90013036645
1141772874B588   BILLY        GENSON                    OK         90012607287
11417A46772435   JENNIFER     GRONCKI                   PA         51047700467
1141911752B966   JOSEPH       NORTHERN                  CA         90015091175
114193A5961958   TOM          PACHECO                   CA         90010333059
1141B143193745   MISTY        DIETRICH                  OH         64591111431
1141B338672453   RENEE        RENNER                    PA         51052073386
1141B4A4A9154B   CORAIMA      GARCIA                    TX         90014764040
1141B619357147   FRANCISCO    MARTINEZ                  VA         81066346193
1141B926477569   DWAYNE       DULL                      NV         90004869264
1141BAA9691263   CARMEN       MCPHAUL                   GA         90008400096
114217A3272435   RAYMOND      ZIER                      PA         51025757032
1142282665B343   JAMES        MARTIN                    OR         90010228266
1142373AA9154B   LETICIA      SOTELO                    TX         90011987300
1142434684B259   LUIS         VELASQUEZ                 NE         27050243468
1142434757B489   TIAWANIA     RENDLEMAN                 NC         11036093475
114252A6172483   MARLENE      STODDARD                  PA         51038352061
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11425465576B68   FLORENCIA      CRUZ                    CA         90013604655
1142586A391263   TRAVIS         FULLER                  GA         90012718603
11425A75791895   JOSE           VEGA                    OK         90014680757
1142617A491895   ROBERT         WALKER                  OK         90006811704
1142665888B193   ARRELLANO      IRMA BEATRIZ            UT         90004466588
1142686492B966   MAYRA          MARTINEZ                CA         90013888649
1142746A75715B   YTALA          CIUDAD CARPIO           VA         90002974607
1142768194B555   MARK           MEINER                  OK         90014686819
1142852194B588   JOSHUA         BRIDAL                  OK         90013335219
1142983692B966   FABIOLA        PADILLA                 CA         90001798369
1142989935B35B   LAZARO         ANDRADE                 OR         90012028993
1142991A44B26B   TIM            TAYLOR                  NE         90013929104
1142B19635B154   BRITTANY       BALTIMORE               AR         90014161963
1142B38512B966   CIERRA         VASQUEZ                 CA         90006683851
1142B48174B588   VICTORIA       HALL                    OK         90006934817
1142B591161938   JORGE          GUADARRAMA              CA         90007105911
1142B616276B68   GREGORIO       BOCANEGRA               CA         90014386162
1142B72245715B   LUIS           ARANIBAR                VA         81076277224
1143157512B966   RAFAEL         RODRIGUEZ               CA         90014785751
11431A3715B154   VAL            ROBINSON                AR         90012110371
11431A4364B259   AARON          PERRY                   NE         90002650436
1143213845B526   NANCY          CABRERA                 NM         90000461384
1143243312B966   JOVANNI        CERVANTES               CA         90013894331
1143247A15413B   HORACO         CORTEZ                  OR         90015184701
114326AA793745   DONIELLE       KIRKLAND                OH         90015066007
11432A2452B966   GREGORY        BROWN                   CA         90014910245
1143358195B526   ADRIANA        MARTINEZ                NM         90013785819
1143385A561976   AMBER          JACKSON                 CA         90000848505
114348A7A4B588   JOSE           LOPEZ                   OK         90015168070
11434977A61972   LEANDRO        ORDONES                 CA         90005879770
11436262872B62   JASON          AGUILAR                 CO         90007302628
1143657862B966   DAVID          GOMEZ                   CA         90012725786
11436A61557579   ALBINO         GARCIA                  NM         90013940615
1143768467B435   MAURICIO       PRADO                   NC         11071636846
11437A7A65B526   OSCAR          BARAY                   NM         35057480706
1143873929154B   ALMA           CARMONA                 TX         90006997392
1143896234B588   KALEIGH        CLIFTON                 OK         21545939623
114393A265B526   LESLIE         WOOLLARD                NM         90012473026
1143942914B26B   SHANNON        WOLFF                   NE         26036944291
1143997A471966   ELKE           OKEEFE                  CO         90011939704
1143B28745B343   CLIFTON        ALLEN                   OR         90014302874
1143B352927B36   ROJAS VERTIZ   ZIPF                    KY         90013973529
1143B566361938   KIMBERLY       ZAMBRANO                CA         90014185663
1143B663A76B68   GIBRAN         LEYVA                   CA         46095126630
1143B677693745   TASHA          CAVANAUGH               OH         90003646776
1143BA2577B489   JAHNIEL        CABRERA                 NC         90008720257
11441526A72B62   ARAM           PENA-REYES              CO         33096235260
11441761A47956   JESSICA        SMILEY                  AR         24011857610
1144223644B588   HOWELL         RONALD                  OK         90014622364
1144252972B966   STEPHANIE      SAUNDENRS               CA         90009745297
1144272533B398   JESSICA        CHAPMAN                 CO         33029287253
1144318A44B26B   LINDA          FITZSIMMONS             NE         90014731804
1144327A57B489   BRANDON        BISSOON                 NC         90012662705
11443559276B68   FRANCESCA      CLAVIER SMITH           CA         46059095592
1144387925B35B   LARISA         KORCHAGINA              OR         90003108792
1144441617B489   HEATHER        STEVENS                 NC         11051244161
114444AA872B62   MARK           JAIME                   CO         33096634008
1144451454B555   WILLIAM        PENNOCK                 OK         90014705145
1144462984B26B   COURTNEY       FLOYED                  NE         26014096298
11445935872B62   SHERRY         SWAIN                   CO         33066609358
114462A985B35B   REYNA          FABELA                  OR         90010042098
1144661A593745   DALE           SPRADLIN                OH         64551776105
11447A59931687   RYAN           SCHEUBER                KS         22092340599
1144846275B526   LUIS           MEJIA                   NM         90004744627
1144871A591263   WILLIAM        STEED                   GA         14577257105
1144878A276B68   JOSE           DIAZ                    CA         90003597802
11448A56A24B7B   THEODORE       BROWN                   DC         90013400560
1144B48A87B489   STEVENSON      CRAWFORD                NC         90013334808
1144B656961958   PUA            YANG                    CA         46005266569
1144B682561958   JESSE          LARA                    CA         90011256825
1144B72A172B62   AURORA         MORENO                  CO         90007487201
1144B945257147   ROSENSO        CHICAS                  VA         90013239452
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11451A58272B62   MARY          BENSON                   CO         33093390582
1145213598B193   CURTIS        TENISON                  UT         31087811359
114526A8461938   ROGELIO       MONTANO                  CA         90014186084
1145397185B343   ANA           ESTRADA                  OR         90013799718
11453A1732B966   RODRIGO       MEDRANO                  CA         90012890173
1145444A78B192   DARROL        BRINGHURST               UT         90014984407
1145474924B555   MARIAH        HUNTER                   OK         90014687492
11454A3152B966   SONYA         PUENTES                  CA         90012840315
114576AA561938   DOMINIC       DIBERNARDO               CA         90010556005
11457792876B68   HECTOR        SANCHEZ                  CA         90006697928
1145816248B193   SARAH         BURT                     UT         90012601624
114587AA672453   CHARLES       WINTERHALTER             PA         51061027006
11458A9A18B193   RICK JAMES    RYDALCH                  UT         31008450901
11459597972B62   VANESSA       MARTINEZ                 CO         90010515979
1145B22A891263   NICOLE        CARTER                   GA         90014732208
1145B75525B526   YASMIN        ZARRASOLA                NM         90014957552
1145B834561976   SARA          GOMEZ                    CA         90012778345
1145B85332B966   NATHALIE      ALMANZA                  CA         90012978533
1146198825B343   JAIMES        FAVIAN                   OR         90013629882
114628A6A9377B   FRANCIS       WHITE                    OH         90007678060
11463A3534B588   APRIL         REYNOLDS                 OK         21546950353
11464548176B68   LETICIA       NAVARRO                  CA         46043605481
1146497279154B   CATALINA      BURCIAGA                 TX         90008649727
1146558365B343   RUTH          EVANS                    OR         90007425836
114656A5A2B966   JACKLEEN      YOUSIF                   CA         90014556050
1146613A393745   TIMOTHY       BRAGG                    OH         64579021303
1146681475B264   JEFFREY       MORSEY                   KY         90007988147
1146689995B154   RAFAEL        MENDEZ                   AR         90013948999
1146699315715B   MARLYN        JUAREZ                   VA         90003079931
114671A2193745   ROBYN         WHITE                    OH         90007011021
11467485976B68   JESSE DEAN    ARCHER                   CA         90013014859
11467A5674B26B   DAWN          HOING                    NE         90013670567
1146831855B343   ADRIAN        VASQUEZ                  OR         44566723185
11468938172B62   SISI          PARRA                    CO         33087699381
1146923595B35B   ALFRED        DELIA                    OR         90012312359
1146929975B343   CATHERINE     SHERIDAN                 OR         90011592997
11469A7829154B   HUMBERTO      PONCE                    TX         90011290782
11469A89172B62   IRMA          LEYVA                    CO         90013420891
1146B74548164B   DOUGLAS       PECK                     MO         90012127454
11471A5229154B   CARRILLO      GRACE                    TX         90011610522
1147227977B489   SHANNON       DAVIS                    NC         11043162797
11472A3A75B35B   BONNIE        MCGUCKIN                 OR         90010700307
1147376AA4B588   MARIA         ASTUDILLO                OK         90013127600
11473989376B68   CATALINA      GONZALES                 CA         90003309893
1147468A131687   JOEL          SEBASTIAN                KS         90013046801
11474A23A51337   VALARIE       POLLARD                  OH         66093220230
11474A34991895   HEATHER       SHELTON                  OK         90011100349
11475219876B68   CHRISTOPHER   BURKE                    CA         90014392198
114754A3672B34   FIDEL         ROBLES                   CO         90013294036
1147561895B526   KRISTEN       BLAKE                    NM         35062996189
1147616612B966   JENELLE       BROWN                    CA         90014771661
1147631575B154   MARIA         LOPEZ                    AR         90014603157
11476372676B68   MATT          FIMBRES                  CA         46091253726
1147681474B555   JAMIE         JOSEPH                   OK         90013488147
1147886855B154   LACHANDA      MOORE                    AR         90014388685
1147926865B526   GENELLE       GALLEGOS                 NM         90010952686
1147958287B489   ALTHEA        COLLINS                  NC         11025275828
1147B174391569   GADALUPE      BELTRAN                  TX         90008331743
1147B183672B62   DANIEL        CARRALES                 CO         33004771836
1147B2A3961986   HELEN         GALVAN                   CA         90003122039
1147B35674B26B   LEONARD       DAVIS                    NE         90009363567
1148128627B489   DAVID         CRAIS                    NC         90014802862
1148129257B489   DAVID         CRAIS                    NC         90012182925
11482744476B68   MARIA         GOMEZ                    CA         90013047444
11483858572B55   SAMM          GEDO                     CO         90006998585
11484418A72435   BRYAN         BAKER                    PA         51042724180
114857A6991895   KYMBRIA       GUNN                     OK         90010697069
1148582934B26B   JOHN          CHISHOLM                 NE         90015008293
11485A3A77B489   MARISOL       AMAYA                    NC         90012030307
1148693915B526   FRANCES       ROMERO                   NM         35019079391
114872A7991263   JAMES         COLLINS                  GA         90014412079
114872A975B154   ASHLEY        STARKS                   AR         90013022097
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11487468572B62   KARLA        LOPEZ                     CO         33083784685
1148784594B555   BRANDON      BAYNE                     OK         90014688459
11487A62361938   MARIO        VALERIO                   CA         90012440623
114882A335593B   HEATHER      KIRKPATRICK               CA         90000572033
1148877144B26B   CINDY        COY                       NE         26084537714
1148885894B259   MARTHA       ORTEGA                    NE         27060528589
11489446A76B68   KIMBERLY     AUSTIN                    CA         90012264460
1148B17212B966   RANDEN       LONGWELL                  CA         90013311721
1148B288661976   ALYSSA       NAVARRO                   CA         90013482886
1148B955793745   RONALD       MARTIN                    OH         90013539557
1149129548B193   DENNIS       REZAC                     UT         31071812954
1149167814B555   THOMAS       SMITH                     OK         90012626781
114916A7193745   JEFF         CANTRELL                  OH         64584166071
1149175A45B343   FLORES       MARIA                     OR         90009097504
114919A3991263   ERIC         FOOTE                     GA         90012719039
1149265594B592   MABLE        HERNANDEZ                 OK         90005156559
1149281735715B   FRANK        COVINGTON                 VA         90013768173
11492971972B62   BRENT        MCCONNELL                 CO         90012769719
1149399545B526   MANUEL       MONTOYA                   NM         90013409954
1149445655B39B   JONATHAN     KING                      OR         90008434565
11494679A4B588   CRYSTAL      WOODLEY                   OK         90013726790
1149468AA61976   LAURA        LARA                      CA         90012256800
1149492422B966   RACIEL       PARRA                     CA         90011279242
11495129976B68   JENNIFER     SESMA                     CA         46073421299
1149514955B526   JOSEFINA     MANDEZ                    NM         90009891495
1149562979154B   MARISSA      MANRIQUEZ                 TX         90011456297
1149566A561938   BILLY        MCLEOD                    CA         90014186605
11495A1377B489   DANETTA      CONNOR                    NC         11040300137
1149646A291569   JESUS        MICHEL                    TX         90013044602
1149694574B588   JESUS        CONTRERAS                 OK         90006449457
1149697175B154   JONAS        SMITH                     AR         90013949717
11496A6A876B68   RAUL         VASQUEZ                   CA         90014170608
11496A85A91263   ADRAIN       HASSEL                    GA         90012250850
1149769A761958   ENRIQUE      RENDON                    CA         90005296907
11497891976B68   ROSA         MARIA                     CA         90008998919
1149854355B526   BLANCA       BUGARIN                   NM         90011385435
11499119A4B265   SHARON       BARTZ                     NE         90005071190
11499A78961938   ROSEMARY     WILLIAMS                  CA         90003090789
1149B14A161938   EDUARDO      ALVAREZ                   CA         46016891401
1149B44824B548   ROBERT       BEDFORD                   OK         90009994482
1149B46A451337   RAELIN       SMITH                     OH         90011504604
1149B725961987   DANNY        CLIPPER                   CA         90009587259
1149B86749154B   MARTIN       RONQUILLO-MENDOZA         TX         75006038674
1149BAA664B588   TARA         BATTISE                   OK         21557400066
114B112122B976   YEN          SAECHAO                   CA         90011821212
114B2253672B62   CHAIREZ      ZEFERINO                  CO         90010012536
114B2338193745   JOY          TURNER-PRICE              OH         90006883381
114B2715361938   JANEL        SERRANO                   CA         90013307153
114B2A4854B55B   JOSE         FLORES                    OK         90010100485
114B3323633699   MALACHI      PITTMAN                   NC         90007853236
114B339855B35B   MICHAEL      SMITH                     OR         44537863985
114B3765891895   DESHAWNA     LYLES                     OK         90014127658
114B38A294B592   SAQEITA      JONES                     OK         90010918029
114B4246172453   ERICKA       WILLIAMS                  PA         51016872461
114B526174B259   MARGARET     GILLESPIE                 NE         90002642617
114B547745715B   ADRIANA      MARTINEZ                  VA         90011114774
114B5933731687   ESTEBAN      GRANADOS                  KS         90003019337
114B6682933699   ROSAIDA      RODRIGUEZ                 NC         12027306829
114B6959472B62   SCARLETT     MCIVOR                    CO         33040309594
114B697289154B   SERGIO       OLIVAS                    TX         75014819728
114B737747B489   LAUREN       HAYES                     NC         11088673774
114B781A761976   TIFFANY      KRUSE                     CA         90014178107
114B811115715B   KEITH        LAWRENCE                  VA         81066771111
114B8428A7B489   ELIZABETTH   SLOAN                     NC         11007404280
114B9341A91895   ADAM         PEARSON                   OK         90012193410
114B9659891263   DAVIT        FANNA                     GA         90015586598
114B979A75B343   MIGUEL       BLAS MENDEZ               OR         90003217907
114BB12475715B   ROSA         CHUMPITAZ                 VA         81060361247
114BB23615B343   JOHN         BRYANT                    OR         44543282361
114BB352593745   TANYA        ALBRIGHT                  OH         90014713525
114BB421357147   LEYLA        PLATERO                   VA         90015034213
114BB584A5B526   LUCY         ROMERO                    NM         35096805840
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114BB726691569   ALAN           REYES                   TX         90012877266
114BBA85947956   GARY           EVERT                   AR         90006490859
1151126295B343   VANESSA        LEON                    OR         90007822629
11511AA434B26B   KINDA          SRABLER                 NE         26015320043
1151351654B555   MICHAEL        MADRON                  OK         90014705165
11513961172B62   NOLBERTO       OJEDA                   CO         33076079611
1151414739154B   PABLO          DE LA O                 TX         90013781473
1151431324B588   GREGORY        LEE                     OK         21551433132
11514642372B29   CRYSTAL        MATLOCK                 CO         90011316423
1151531324B588   GREGORY        LEE                     OK         21551433132
1151599172B966   YESENIA        GONZALES                CA         90014819917
11515A63193767   JOHN           ELLISON                 OH         64534050631
11515A69747956   LAURIE         LOLLIS                  AR         24036360697
11516A2197B489   JESSICA R      HEATH                   NC         11013370219
1151717A291895   DELLA          CHERRY                  OK         90012571702
1151774A94B259   BRYENA         BARR                    NE         27042137409
115177A6357147   BEZAWIT        ASFAW                   VA         90004687063
11517A58A76B68   BILLY          PINEDA REYES            CA         90014170580
1151812155B526   JANET          GUTIERREZ               NM         35017191215
11519163772B62   VICTORIA       ARRIAGA                 CO         33036991637
1151967AA2B336   TONIQUE        ADKINS                  CT         90014366700
115198A6431687   DEBRA          CAMPOS                  KS         90012458064
1151B229691895   BENITO         PEREZ                   OK         90013242296
1151B554961972   MALESIA        HERNANDEZ               CA         90004175549
1152143A854B62   DEREK          SHINER                  VA         90001284308
11521A9A95715B   THOMAS         GINN                    VA         90012610909
11522766776B68   SUSAN          SAMARIN                 CA         90014727667
1152289358B863   BERNADETTE     VEA                     HI         90014178935
11522A13772B77   ERIKA          RAMIREZ                 CO         33003590137
11524111872B62   DARIO          GUTIERREZ               CO         33014141118
11524627372B55   MIGUEL         CERVANTES               CO         90003426273
11524A31A5B154   KENDRA         STEGALE                 AR         90013950310
1152574175715B   EDGAR          GONZALEZ                VA         90005497417
11525985A31947   GRACE          KISEGE                  IA         90014979850
1152615179154B   KENNETH        MEDRANO                 TX         75063761517
1152617A161938   NICHOLAS       MOLINA                  CA         90007121701
1152629222B236   MARCIA         BELT                    DC         81013522922
11527A83976B68   PAOLA          ENRIQUEZ                CA         90002360839
11528513972B62   DONNA          SIGOURNEY               CO         90007225139
1152857115715B   PATRICIA       AGUILAR                 VA         90012245711
1152861369154B   FRANCISCO      HOLGUIN                 TX         90014936136
115287A3761938   MARIA ISABEL   VEGA MARTINEZ           CA         90014187037
1152885365B526   HENRY          LUCERO                  NM         90010778536
1152918495B154   LASHONDA       TAYLOR                  AR         90006281849
1152919AA3B359   SOLEDAD        OAXACA                  CO         90008121900
1152944675715B   TYREE          BROWN                   VA         90001974467
1152988422B976   BEATRICE       LEWIS                   CA         45001178842
1152B173351337   JESSE          HENSLEY                 OH         90013511733
1152B248176B68   OSCAR          GOMEZ                   CA         46008882481
1152BA2182B966   ZACK           DOYLE                   CA         90010410218
1153167555B35B   JASON          APONTE                  OR         44511586755
1153174992B966   LORI           ANAYA                   CA         90007167499
115321A1576B68   FRANCISCA      FIGUEROA                CA         90014191015
115321A845B526   GLORIA         CORRAL                  NM         90010361084
11532A58576B68   MARIA          HERNANDEZ               CA         90014170585
1153319644B588   PAYGO          IVR ACTIVATION          OK         90010741964
11533562976B68   LUZ MARIA      SALAZAR                 CA         90004025629
1153417734B588   JASON          BURTON                  OK         90014411773
11534795976B68   TAURA          METCALF                 CA         90015327959
1153569365715B   HENDYS         MOREIRA                 VA         90007946936
11535A65876B68   CAROLINA       VILLEGAS                CA         90014170658
1153678A591895   TRACY          SWEAT                   OK         90010277805
11536854672B56   JESSICA        MEKSIN                  CO         90011008546
1153852745B388   CHRIS          HARLUKOWICZ             OR         90011465274
115385A445715B   SAMANTHA       BREGMON                 VA         81009035044
1153887A272435   KIMBER         LLEFFER                 PA         90008598702
1153933184B588   JAMIE          GAINES                  OK         90011173318
11539A4349154B   ANDRES         VIELMA                  TX         90013840434
1153B53374B26B   KARIN          MOBLEY                  NE         26086995337
1153B712161976   MIGUEL         NARVAEZ                 CA         46010897121
1154172232B92B   SAL            AMAYA                   CA         90007257223
1154193554B259   ALAS           CARRERO                 NE         90006419355
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1154219525B35B   NICOLE       MULHAIR                   OR         90010081952
1154219A633699   MARIA        SOLAR                     NC         90009761906
115421A415B154   DARRYL       JOHNSON                   AR         90015161041
11542379772B62   JIM          KLIPKA                    CO         90012993797
1154266194B588   RUSSELL      GLAZNER                   OK         90009986619
115428A5961976   EVA          VALLE                     CA         90010348059
11542A79A76B68   JESSICA      PANTOJA                   CA         90014170790
1154334755715B   GAIL         BOWELES                   VA         90010553475
115436A6384344   AIMEE        MCKENZIE                  SC         90013866063
1154446A37B489   SHAKITA      BLAKENEY                  NC         90013064603
1154454595B343   BRIAN        GRIMES                    OR         90014885459
1154532A631687   TIFFANY      CARTER                    KS         90014033206
1154569355B526   ANTHONY      LOPEZ                     NM         35077846935
1154592758B193   ROSA         RADILLA                   UT         31005279275
115461A1A91263   LANYKA       WALDEN                    GA         90014711010
115461A2461958   RUTH         AYALA                     CA         90012321024
1154698314B26B   BRENDA       DITTMER                   NE         90003759831
11547128272B62   KARINA       PONCE FLORES              CO         33088281282
11547191A61938   ENRIQUE      CHAVEZ                    CA         90001891910
1154811355B343   EMILIO       CHAVEZ                    OR         90012261135
1154821494B26B   SHAD         MILLER                    NE         26056672149
115489A3A5B154   MARGARITA    GARCIA                    AR         90012909030
115491A722B966   NORA         GEYAN                     CA         90013971072
1154946189154B   CINDY        FIERRO                    TX         75017624618
1154B157A76B27   MARY         DEMERECKIS                CA         90014301570
1154B3A6A4B588   NOHEMI       FRANCO-SOTO               OK         21579663060
1154BA4457B435   JAMES        HOYLE                     NC         11083220445
11551596A4B26B   STUART       PIPER                     NE         26082315960
1155198985B154   J. GUADALU   RAMIREZ-AGULIAR           AR         23078409898
11551A55676B68   GAMALIEL     OLIVEROS                  CA         90012240556
115531A1755945   LOUIE        VALDEZ                    CA         90001461017
1155342478B193   SHARIS       BOETTCHER                 UT         31096164247
11553797A76B68   DOMINIQUE    FARD                      CA         46046217970
1155447A34B555   ANGEL        NEAL                      OK         90014694703
1155512647B489   AVELINO      LOPEZ                     NC         90013841264
1155518647B436   RIGOBERTO    BONILLA                   NC         90013591864
1155547A34B555   ANGEL        NEAL                      OK         90014694703
1155552985715B   MARIA        MONDRAGON                 VA         81002005298
115558A7193745   BRANDY       BUTTS                     OH         64545798071
1155714977B695   GRACE        BARNES                    GA         90015341497
1155747929154B   GLORIA       RAYAS                     TX         90009184792
1155747A34B555   ANGEL        NEAL                      OK         90014694703
115574AA561958   ANDREA       BAKER                     CA         90006284005
11557AA122B264   ELISE        HILL                      VA         90011570012
1155847A34B555   ANGEL        NEAL                      OK         90014694703
11558A1949377B   BERNJAMIN    BUTTON                    OH         90010050194
1155947A34B555   ANGEL        NEAL                      OK         90014694703
1155B1A5755968   SAMELLA      HAMILTON                  CA         90008691057
1155B53AA61972   NIDIA        SOTO                      CA         90000225300
1155B713276B68   ANDREW       KROEGER                   CA         90012237132
1155B77615B526   ANNABELLE    PALOMINO                  NM         90014817761
1156139A99154B   MARY ANN     FRANCO                    TX         90009523909
1156173A861938   ALEJANDRO    AGUIRRE SALINAS           CA         90014187308
1156188A877539   JUAN         AGUILAR-GARCIA            NV         90009798808
1156239124B555   JESSICA      MORENO                    OK         90011443912
11562584A2B966   ANTONIA      GARCIA                    CA         90012985840
1156258629154B   ROSA         ALVARADO                  TX         75043165862
11563112476B68   SHARONDA     WHITE                     CA         46091241124
1156363A861976   DANIEL       HUNT                      CA         90011106308
1156379729154B   SERGIO       TREVISO                   TX         90002297972
11563A7A14B588   CHEVY        GRANT                     OK         90010420701
1156467315715B   GERALDO      PEREIVA DA SILVA          VA         81076476731
11564A2A272B62   PATRICIA     TORRES                    CO         90015120202
11564A44A72453   CYNTHIA      DENNER                    PA         51034650440
1156624A451337   TROY         ELMORE                    OH         90012102404
1156626865B526   GENELLE      GALLEGOS                  NM         90010952686
11566411672B62   JACOB        PHORSON                   CO         90012444116
115665A5191569   PENELOPE     ESCARSEGA                 TX         90014635051
1156691563B356   HUGO         BURCIAGA                  CO         33002029156
1156766415B526   RAMONDO      YAZZIE                    NM         35091216641
11567748A9154B   FELIX        ESTRADA                   TX         90014257480
1156799782B966   GONZALO      CERVERA                   CA         90010779978
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11567AA512B966   CYNTHIA         HINOJOSA               CA         90011670051
115683A185B35B   BRENDAN         CONNER                 OR         44516963018
1156882968B12B   HOLLY           ROBLES                 UT         90009718296
11568943A7B489   JULIO           ROJAS                  NC         90013169430
1156937744B555   LISA            NELSON                 OK         90014703774
11569461A9154B   CRISTINA        MARTINEZ               TX         90013274610
1156988869154B   ETI VELE        JR                     TX         90011238886
1156B15125B154   GRAY            WILLIAM                AR         23024091512
1156B64A736157   ERNEST          ROBLES                 TX         90014016407
1156B858147956   STEPHANIE       JACKSON                AR         90006678581
1156B88384B588   ARIF            CARGILE                OK         90013878838
1156BA7682B966   BRITTANY        CARTER                 CA         90005650768
1157114215B343   JANET           GUZMAN                 OR         44562171421
1157116A657147   ALFONSINA       PEREZ                  VA         90011351606
11571528872B62   LISA            WORLEY                 CO         90006655288
11571592A4B555   DONTE           SAMS                   OK         90003785920
11571748A91895   EMILEY          THOELKE                OK         90012237480
1157182A661938   LESLY           ESCALANTE              CA         90009268206
1157241514B588   ALFREDO         CHAVEZ                 OK         90004294151
11572438972B62   MONICA          GARCIA                 CO         90013654389
11572AAA457124   DORIS           AHAGHOTU               DC         81011050004
1157314915B526   CONNIE          CORDOVA                NM         35091531491
11573212A51337   ALISHA          VASQUES                OH         90011462120
1157329785B526   ELIZABETH       CABALLERO              NM         90014292978
11573359272B62   MARTIN          MENDEZ                 CO         90013073592
1157359115B154   FRENANDO        GRANADOS               AR         90012135911
1157373454B588   RANDY           BOTTERO                OK         21551427345
1157496A25B342   CESAT           COTOC                  OR         90007099602
11574A84161938   ANGELINA        SANTIAGO               CA         46029710841
1157515895715B   MAMANI ROSANA   ZULMA                  VA         90013581589
11575187A9154B   MEDINA          PEREZ                  TX         75034791870
1157528175B343   NAZARIO         MORAN BARRILLAS        OR         44569032817
1157551375B35B   LORA            GARRETT                OR         44573135137
1157641754B26B   HEATHER         MARTINEZ               NE         90014004175
1157664A561972   SMITH           MONIKQE                CA         90001536405
1157785A75715B   ROGER           HERNRIQUEZ             VA         90011138507
11577987A51357   JOSHUA          FORQUER                OH         90014409870
11578148976B68   MARCUS          REIGHER                CA         90012421489
11578427472B62   JOSE            LUNA                   CO         90001454274
1157855A84B588   AMMY            EDDY                   OK         90006745508
11579298476B68   CARINA          BERNARDINO             CA         90006302984
1157B48A876B68   ELVIRA          RIVERA                 CA         90012264808
1157B7A7461938   MICHAEL         HARDESTY               CA         90012957074
1157B85742B966   GABRIELA        TORRES                 CA         90011358574
1157BAA3493745   TAMMY           BURTON                 OH         90005690034
11581135A57147   DAVID           LIZAMA                 VA         90013561350
1158147559154B   YVONNE          PARRA                  TX         90013764755
1158171317B489   LURELLA         HARVELL                NC         11045237131
1158238A661958   JOHN            PEREZ                  CA         90013463806
1158262898163B   CRYSTAL         MILLER                 KS         90014776289
1158264592B966   ROBERTO         GLORIA                 CA         90015036459
11583847876B68   MIRIAN          MALDONADO              CA         46060098478
11584A71591569   ADRIAN          GONZALEZ               TX         90000250715
1158515445B154   TAYLOR          DOLES                  AR         90013951544
1158585722B966   SANDRA          SILVEIRA               CA         90013498572
11585A49861938   CECILIA         VASQUEZ                CA         90010230498
11585A95A72B29   BRAULIO         MARIN                  CO         33034840950
1158642AA5B526   TASHA           RICHARDS               NM         90009224200
1158668794B588   BIANCA          JONES                  OK         21562816879
1158697A876B68   MARITZA         MORALES                CA         46014939708
1158845A743584   LEONEL          VAZQUEZ                UT         90001644507
11588511A91895   STEVE           HOLLAND                OK         21046755110
1158859245B154   EDGAR           VILLAFUERTE            AR         90014355924
11588864776B68   MARIA           ABARCA                 CA         90014188647
1158975367B489   BRIEANNA        STONEBRAKER            NC         90013197536
11589A69A61972   ALIDA           ERDING                 CA         90014430690
11589A89961976   ANGEL           CASTRO                 CA         90008720899
1159116365715B   GEORGINA        ROBERTSON              VA         81037711636
1159153A191895   PEDRO           BALDERAS NIETO         OK         90008585301
115921A864B26B   ALIDA           DELCID                 NE         90007411086
11592511A76B68   CARLOS          LOPEZ                  CA         90008875110
1159255554B555   PHYLLIS         ROBINSON               OK         90014695555
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1159295A14B588   TALITHA       LINDSEY                  OK         90014649501
1159319278B13B   STEPHEN       MOHR                     UT         90010061927
1159438884B588   HIRAYDA       MORALES                  OK         90010393888
1159512687B489   JESSICA       SCOTT                    NC         90013841268
115951A4461958   FRANCISCO     VELASQUEZ                CA         90015111044
11595A7355715B   CHRISTIAN     CALDERON                 VA         90011140735
1159619525B154   KIERRA        BRYANT                   AR         90012751952
1159621485B35B   AE SAT        DOE                      OR         90011572148
1159657534B26B   KAYLA         MCCULLOUGH               NE         90013275753
11596994A5B343   MISHELLE      PALMER                   OR         90011919940
1159837735B154   ALBERT        WILSON                   AR         23098663773
1159915215715B   JUAN          ALVARADO                 VA         90014581521
1159972415715B   JUAN          ALVARADO                 VA         90012267241
11599A7355715B   CHRISTIAN     CALDERON                 VA         90011140735
1159B27877B489   CHRISTOPHE    HILL                     NC         11076362787
1159B32935B343   AMBROSIA      SILVIS                   OR         90006913293
115B1193A5715B   ALEX          MOLINA                   VA         81038011930
115B1255861958   MARIO         DOVAL                    CA         46029652558
115B128175B343   NAZARIO       MORAN BARRILLAS          OR         44569032817
115B144239154B   CYNTHIA       COLORADO                 TX         75008864423
115B1725693745   MICHELLE      THOMPSON                 OH         90011127256
115B1828357147   KEVIN         GALVEZ                   VA         90011138283
115B185674B555   SHONTINA      BYERS                    OK         90014688567
115B2282191895   LARETTA       SMITH                    OK         21049092821
115B2637561958   BENITO        GONZALES                 CA         90014676375
115B268669373B   RACHEL        CHILTON                  OH         90011556866
115B2938691263   JASON         HERRERA                  GA         90014379386
115B2A4867B489   MILLICA       JEFFRIES                 NC         90013520486
115B2A54A33699   CARMOLETTA    WILLIAMS                 NC         12085640540
115B3239761976   VERONICA      CEBALLOS                 CA         90012042397
115B3623191263   KAREN         CROWDER                  GA         14580776231
115B364599154B   SYLVANIA      RODRIGUEZ                TX         90014696459
115B395312B235   SANTIAGO      AGUILAR                  DC         81060459531
115B3A55376B68   MARIA         MUNOZ                    CA         90014170553
115B4135361938   NOE           ESTRADA                  CA         90000681353
115B4334161972   JOSE          GARCIA                   CA         46032033341
115B4459A33699   ALFREDO       LOPEZ                    NC         90014944590
115B481914B588   LARRY         LILJESTROM               OK         21539648191
115B49A475B526   MARK          LOBATO                   NM         90009799047
115B53A5393745   WENDY         DYSINGER                 OH         64527553053
115B5498831687   JANET         HARMON                   KS         90011534988
115B559345715B   FRANCISCO     FLORES                   VA         90002845934
115B579A872453   SHAUNDA       PEREZ                    PA         51040587908
115B58A9563654   JULIE         BAKER                    MO         90011378095
115B5944A4B26B   MICHAEL       TROUT                    NE         26083619440
115B641154B26B   SHANE         SHAFER                   NE         26048864115
115B648A661972   JOHN          HERRERA                  CA         90011484806
115B6517693756   AMY           ZINK                     OH         64573055176
115B6553891323   CHARLOTTE     OAKMAN                   KS         90007335538
115B661A161976   MARI          DA SILVA                 CA         46015996101
115B678755B154   MARCUS        CHRISTOPHER              AR         90010717875
115B7677161938   HENRIETTA     ROBLEDO                  CA         90014186771
115B7691561958   LAUGASALA     FUNI                     CA         90014736915
115B7A28A33699   WAKEFEILD     LORENZO                  NC         90014780280
115B856577B489   LAQUISHA      JONES                    NC         90003915657
115B8844533699   ARIEL         WOODS                    NC         90013738445
115B95A2124B28   NICHOLAS      DIXON                    VA         81061925021
115B9A57476B68   EDDIE         SANDOVAL                 CA         90014170574
115BB158157147   MARCO TULIO   ALVARENGA                VA         90011341581
115BB731A97127   MAKELITA      FONO                     OR         90006697310
115BB912461976   ARMANDO       RODRIGUEZ                CA         90010939124
115BB928661972   JUAN          CISNEROS JR              CA         90012839286
115BB9AA95B526   SANDY         VILLALOBOS               NM         90001739009
116111A4233699   TESFAHIWET    TEKLE                    NC         90013641042
116121A5793745   AMANDA        DOTSON                   OH         90012551057
1161263974B555   BRIAN         CURLEY                   OK         90014696397
11612679672B62   BARRON        ARTURO                   CO         33035766796
11612911676B68   ELIZABETH     BUTTERWORTH              CA         46015829116
116136A5461958   MAKAYLA       SCOTT                    CA         90012776054
116138A4593745   DONNA         HANNA                    OH         64553548045
1161449775B35B   ALYSSA        LARSEN                   OR         90005414977
1161491675B343   SARAH         LAKE                     OR         90008449167
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11615534172B55   LESLIE       PARKER                    CO         90006625341
1161616578B163   EDDIE        BERREST                   UT         31077131657
1161616665715B   KAREN        ARAVIA                    VA         90014101666
11616831472B62   VALERIA      HUMILDAD                  CO         90006248314
1161684175B35B   LOZANO       ZEPEDA                    OR         90003808417
1161689629154B   KARINA       HINOJOS                   TX         90011238962
116169A822B966   PAUL         STALLARD                  CA         90014619082
1161795494B26B   SALMA        GOMEZ                     NE         90013009549
11617A7355715B   CHRISTIAN    CALDERON                  VA         90011140735
1161817A55B154   LATOYA       COVINGTON                 AR         90014811705
11618A66933699   PHILLIP      EVANS                     NC         90009230669
1161958735B532   NATHAN       PRICE                     NM         35093365873
1161973124B555   RUFUS        JONES                     OK         90014697312
116197A7733699   GUADALUPE    PADRON                    NC         90011967077
1161B48384B588   SAVANNAH     CHERRY                    OK         90009844838
116214A9191895   MICHELLE     SAMARAH                   OK         21060674091
1162176AA2B966   VERONICA     ENRIQUEZ                  CA         90004997600
11621A58993727   MAXIMUS      JONES                     OH         90012210589
11621AAA451337   MICHAEL      BOLSER                    OH         90011310004
1162286389154B   ELVIRA       ORTIZ                     TX         75090228638
11622AA1593745   HOPE         HALL                      OH         64567390015
1162485659154B   MANUELA      CHAVARRIA                 NM         90012518565
1162588A876B68   ROSA         PAULA                     CA         90014638808
116258A6976B68   PABLO        ESPARZA                   CA         90013368069
11625A92661972   KEVIN        ROBINSON                  CA         90003910926
11625AA3761976   STEVE        CAMPBELL                  CA         90010200037
1162756628B167   JONNY        CHRISTENSEN               UT         31041505662
11627A47293745   BRANDY       HARRIS                    OH         90003680472
1162869A44B555   PAMELA       POTEAT                    OK         90014696904
1162927219154B   ALMA         RUIZ                      TX         75031232721
1162957943B393   JULIA        JUAREZ                    CO         90006545794
1162983274B588   APRIL        ATWELL                    OK         90015108327
1162B23117B444   TARA         MILLER                    NC         90005402311
1162B32887B489   JEREMIAH     TIMS                      NC         90011273288
1162B45145B343   LAZARO       DOMINGUEZ MOYA            OR         90007134514
1162B5A7561958   TRISHA       WUJCIK                    CA         90014475075
1163129335B154   TAMARA       WILLIAMS                  AR         90013952933
116312A164B555   CRYSTAL      MUNCY                     OK         90012602016
1163192289154B   TONY         WILLOUGHBY                TX         75005169228
1163276A54B555   KESHA        WARFIELD                  OK         90014697605
1163441635715B   FREDY        FREDY                     VA         90003954163
1163442864B259   ISABEL       BURGARIN                  NE         27024104286
11634534A81659   CYBILL       JACKSON                   KS         90000975340
1163498974B588   TERRESA      STRECK                    OK         21571789897
11634999572B62   MARTIN       DAVE                      CO         33044249995
1163581948B863   MARGARITO    REYES                     HI         90014218194
1163582124B588   BRODERICK    TAYLOR                    OK         90014768212
11635A83376B68   KIMBERLY     SILVA                     CA         90013690833
11636384772B62   MARIA        ARMENDARIZ                CO         90011523847
1163738975B343   JOSE         LOPEZ                     OR         44512963897
11638134276B68   AMALIA       LOZANO                    CA         90010601342
116383A8261972   GEORGETTE    CERVANTES                 CA         90015293082
11638462472B27   GREGORY      BALES                     CO         33004374624
1163918965715B   GILMER       ALVAREZ                   VA         90012561896
1163923485B343   BLANCA       PINEDA                    OR         44593502348
11639A1935B35B   MEGAN        SALVADOR                  OR         90005730193
1163B51895B343   BRENDA       EVANS                     OR         90006995189
1163B77472B894   VICENTE      RODRIGUEZ                 ID         90014937747
1163BA97991569   BEATRIZ      GARCIA                    TX         90002930979
11641353472B62   ANTHONY      VALDEZ                    CO         90013413534
1164261929154B   MIGUEL       ARZATE                    TX         75093856192
1164277234B26B   SYLVIA       HERNANDEZ                 NE         90014877723
1164296A457147   CATHERINE    MESSAN                    VA         90013779604
1164362854B555   HOLLY        HERRERA                   OK         90014706285
116437A635715B   PEDRO        GOMEZ                     VA         90010007063
11643A38A91569   WARREN       VASQUEZ                   TX         90013940380
11643A96691569   WARREN       VASQUEZ                   TX         90004640966
1164492299154B   MARIA        GAYTAN                    TX         90007069229
11644A9165B154   ALICIA       HAMMOND                   AR         90012760916
11644AAA95B526   JESSICA      OJEDA                     NM         90009040009
11646666972B55   SIERRA       MANTEI                    CO         90005926669
11646781A4B555   AMELIA       GRASS                     OK         90014697810
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11646A2872B966   KARISSA         AGUILA                 CA         90014310287
11647A18357147   ERIN            HOLMES                 VA         90015260183
11647A5AA7B489   JOSEPH          JOHNSON                NC         90013520500
1164B248657147   ANGEL           VERGARA                VA         90013422486
1164B56975B526   ERNEST          TRUJILO                NM         90015415697
1164B59A591263   LAMONT          JOHNSON                GA         90015375905
1164B96475B526   IRENE           PADILLA                NM         90013749647
1165215264B588   LILIAN          CONCEPCION             OK         90012681526
116527A9557147   AQUIB           MUNEER                 VA         90011367095
116528A715715B   ROSALINA        MIRANDA                VA         90014528071
11652A38772B29   RAQUEL          VILLALPANDO            CO         90012730387
116534A2872B62   MATT            BARRINGER              CO         90009744028
11653725A91569   ALVAREZ         ALVAREZ                TX         75040327250
11654394A98B72   ALONZO          OCHOA                  NC         90003113940
11654419872B55   HECTOR MIGUEL   SAUCEDO                CO         90010714198
1165446625B343   REBECA          BLESSIG                OR         90014004662
1165513695B154   YVONNE          ALEXANDER              AR         90014061369
1165534545B154   KENARD          FLOWERS                AR         90013953454
1165561A793745   KEVIN           HESS                   OH         90014826107
1165563639154B   TANIA           APODACA                TX         90014696363
11655734272B55   NICOLLE         WITTRIG                CO         90007057342
116558A4633699   DOROTHY         SHEPHERD               NC         90014568046
1165641A961958   GINA            BURNS                  CA         90011444109
11656437A57147   LINETH          TULULA                 VA         90013964370
1165674197328B   FERREIRA        LARANJEIRO             NJ         90015397419
116567A964B259   ALICIA          PUSCH                  NE         27014767096
11656893A9154B   GABRIELA        GONZALEZ               TX         75010048930
1165787A661976   LUIS            LEIVA                  CA         90014718706
1165854A97B489   CONNEL          HARRIS                 NC         11013085409
116588A874B555   DORETHA         FORD                   OK         90014698087
1165916767B489   BRITTANY        PATRICK                NC         90012461676
1165958964B54B   JEANETTE        RODRIGUEZ              OK         90009655896
1165969A591569   ALEX            ACEVEDO                TX         75013526905
1165B4A8593745   ASHLEY          PITTMAN                OH         90011104085
1165B6AA74B555   CHRISTINA       SCHUE                  OK         90001536007
1165B752661972   CHARLES         TALIAFERRO             CA         46004427526
11661666972B55   SIERRA          MANTEI                 CO         90005926669
116619A3161976   MICHAEL         LEWIS                  CA         90014179031
1166228A65715B   MARNOR          SANCHEZ                VA         81016002806
11662358872B62   CHRISTINA       PAYAN                  CO         90013743588
116632A7161987   SANDRA          DE JESUS               CA         90009562071
1166348662B966   CHRISTY         LOWE                   CA         90001504866
1166351A261976   MEGAN           HEATH                  CA         90013365102
1166382795B343   JENNIFER        CHAMBERS               OR         44593738279
1166415A82B966   ASHLEY          GONZALEZ               CA         90005021508
11664673A76B8B   HERNAN          CORTES                 CA         90001386730
116649A3776B68   MORALEZ         LAURA                  CA         90002169037
11665829372B62   RAMIRO          SANCHEZ                CO         90010078293
1166595972B966   TRISTA          WERNER                 CA         90012539597
1166598A461976   CLAUDIA         GARCIA                 CA         90007589804
11665A12576B68   NATE            SMALL                  CA         46036470125
116663A8461972   GRISELDA        MARTINEZ               CA         46066913084
1166671662B966   GABRIEL         CALDERON               CA         90013117166
11667895A5B35B   MONSE           CARMONA                OR         90005398950
11667A4A99154B   MONICA          LEMUS                  TX         90004950409
11668348676B68   ELIOT           BRAUN                  CA         90013433486
1166862742B966   MARIA           GONZALES               CA         90013906274
11669377A61938   JUAN MANUEL     RODRIGUEZ              CA         90010073770
1166B115572B55   TIMOTHY         CRAVEN                 CO         90003431155
1166B81224B555   CLYDE           PRATT                  OK         90014698122
11671574672B62   SALVADOR        MUNOZ                  CO         90001315746
1167168444B588   BRANDY          JOHNSON                OK         90013396844
11671982A5B343   RICARDO         PUERTO MARTINEZ        OR         90013759820
11671A9955712B   JOHN            OWUSU                  VA         81084750995
11672735A91569   INEZ            GUZMAN                 TX         75041637350
116729A2A4B267   KEVIN           SUDBERG                NE         27091379020
11672A7682B966   BRITTANY        CARTER                 CA         90005650768
116738AAA61972   HAIDI           GUADARAMA              CA         90014158000
11673A98461938   TRACY           HUGGINS                CA         90013160984
1167426224B26B   MARCELINO       MUNOZ MARQUEZ          NE         90013332622
1167515725B154   HOPE            WALKER                 AR         23061001572
1167627755B526   DANIEL          SAUCEDO                NM         35024772775
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1167677857B489   BORJAS        RICCY                    NC         90013197785
1167766A672B62   CHRISTOPHER   RAINS                    CO         90014156606
11677916172B55   MARCOS        MARTIN                   CO         33055089161
1167795169154B   N             CASTANEDA                TX         90011239516
11677A2885B154   FLORINDA      HALL                     AR         90014610288
1167936597B489   YONATAN       MONDRAGON                NC         90013493659
1167B589A5715B   MARIA         CASTELLON                VA         81000785890
1168147164B555   TONYA         TERPENING                OK         90005734716
1168156A591895   ROSA          MANDUJANO                OK         90009145605
11682292A2B966   ESMERALDA     DELAGADO                 CA         90011092920
116822A965715B   ANITA         SIKKA                    VA         90013922096
11684286676B68   JOSE          MARTINEZ                 CA         90003792866
1168443A58B179   LARRY         THOMAS                   UT         90001884305
11684A5874B588   NANCY         MCCAMPBELL               OK         21550810587
1168522A28B193   MARY          JORGENSEN                UT         90004532202
116853AA661958   STEVE         JONES                    CA         90014133006
1168626A457147   MIGUEL        CAMPOS                   VA         90009282604
1168665372B966   JOE           BREWER                   CA         90010816537
11687374A7B489   TUANDRA       GURLEY                   NC         90011273740
116874A6961976   JONATHAN      TOPETE                   CA         90013624069
1168824464B555   TOMMIE        CURNETT                  OK         21552572446
11688A69372B3B   REBECCA       SOTO                     CO         90012630693
1168923644B588   HOWELL        RONALD                   OK         90014622364
11689432972B62   JACOB         LOONEY                   CO         33053514329
1168975838B193   DANYEL        SANCHEZ                  UT         31057167583
116899A2A5715B   HALEMA        SESAY                    VA         90000459020
1168B11A65B35B   MICHELLE      GARCIA GOMEZ             OR         90010441106
1168B196361958   THERESA       DEVINE                   CA         46002331963
1168B258893767   JOYEL         RUSSELL                  OH         90001482588
1168B488361938   EDWARD        SCHULTZ                  CA         46016984883
1168B637491263   KENNETH       SCOTT                    GA         90014446374
1168B652391569   LUIS          MENDOZA                  TX         75084156523
1168BA9AA57147   JOSE          MARROQUIN                VA         90010970900
1169173815B343   TOBIE         CASEY                    OR         44570737381
1169187754B555   CHCARRA       HENDRICKSON              OK         90014698775
11692312A9196B   KATHERINE     OLTMANS                  NC         90007413120
11692925A4B259   JOUSH         VARRA                    NE         27059879250
11692A43893745   BRITTNEY      STALEY                   OH         64551870438
116939A4972B62   TINA          CASTILLO                 CO         33037729049
1169448445B389   TRUMAN        KANE                     OR         90011174844
1169717817B435   JOYCE         MACK                     NC         90007941781
116977A6372B62   OTTO          RODOLFO AVILA            CO         90002447063
1169788388B167   BRIAN         DABBS                    UT         31014148838
1169827614B588   CHRISTINA     NAPP                     OK         90009802761
116982AA493745   PAYGO         IVR ACTIVATION           OH         90015492004
1169832895B154   SHAVONDA      TIPPITT                  AR         90002823289
1169845882B966   ISMAEL        FULLON                   CA         90012274588
1169929AA91569   ALEJANDRA     SALIDO                   TX         90012802900
1169B74985B154   CARLOS        MARQUEZ                  AR         90011067498
116B1117391569   JORGE         FRAUSTO                  NM         75075901173
116B128455B526   MARYANN       PEREZ                    NM         90001862845
116B1415291263   TYLESHA       BOYD                     GA         90014064152
116B16A164B555   ESSENCE       BERT                     OK         90014696016
116B23A6A91895   JAMES         THOMAS                   OK         21049713060
116B2589A4B588   BRYAN         JIRON                    OK         90000615890
116B2657291584   ROSA          DAVILA                   TX         90011306572
116B285794B555   CARMILL       WRIGHT                   OK         90011698579
116B3774657147   MARY          ROBINSON                 VA         90012227746
116B3918331687   ANTHONY       BREWSTER                 KS         90014849183
116B3A23891895   ALECIA        BAKER                    OK         90012960238
116B455A731687   SHANE         EAST                     KS         90013905507
116B4947331687   DANIEL        AGUILERA                 KS         90012709473
116B57A367B489   ELMER         FOSTER                   NC         11004817036
116B64A3291895   DEANZA        MIMS                     OK         90010694032
116B6768491263   TYQUIEZ       BRYANT                   SC         90005887684
116B6865A91895   BETH          GRAY                     OK         90015178650
116B693685B343   BRADY         SHEETS                   OR         90000679368
116B73A4551337   WENDY         LOCKE                    OH         90013783045
116B7638261976   SOFIA         THEODOROPOULOS           CA         90013716382
116B7887561938   OMAR          CABRERA                  CA         90013058875
116B8516651337   RHONDA        HOWARD                   OH         66076045166
116B866A361958   ANA           CHRISTINA                CA         90014526603
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116B877334B588   MICHAEL      ROGERS                    OK         90015227733
116B881375715B   CARLOS       SAGREDO                   VA         81074998137
116B978255B155   ORA          OLIVER                    AR         23056737825
116B991874B26B   CINDY        KURTH                     NE         26050959187
116BB4A1531687   VANNESSA     RODARTE                   KS         90001794015
1171115A64B588   NAYELI       CARILLO                   OK         90007651506
1171167114B555   ALICIA       DAVIS                     OK         90014706711
11713241372B55   DOMINIC      COX                       CO         90003432413
1171365914B555   SANTOS       MONTES                    OK         90014706591
1171368153B368   JAMIE        COLLEEN                   CO         90010876815
1171426365B35B   AMY          HART                      OR         90011572636
1171453454B588   HUNTER       RIDGWAY                   OK         90006705345
1171459A372453   GARY         RIDEOUT                   PA         51018965903
1171467394B555   JAYSON       TUCKER                    OK         90014716739
11715459A72B62   R            MYERS                     CO         33095204590
11715588A4B259   TERESA       KELLEY                    NE         27077635880
11715682972B55   DAVID        LUCERO                    CO         90012756829
1171668784B588   RAYMUNDO     HERNANDEZ                 OK         90015146878
1171767814B555   LINDSAY      HAIVALA                   OK         90014706781
1171773A55B343   AMANDA       VELASQUEZ                 OR         90010527305
11719421A91895   COMMENCIA    FOSTER                    OK         90014274210
11719679A61972   MONICA       RAYMUNDO                  CA         90010426790
1171B411877539   SALVADOR     HERNANDEZ                 NV         43022594118
1171B876461938   ROSA         FLORES                    CA         90011618764
1171B977461958   JESSICA      HOLMES                    CA         90009649774
1172144462B249   HOYT         KING                      DC         90005934446
11721558724B7B   LATIA        JOHNSON                   DC         90013455587
11721A3A35715B   SILVIA       URRUTIA                   VA         90010480303
1172225799154B   MARIA        MOLINA                    TX         90015222579
117225A428163B   GABRIELA     LOPEZ                     MO         90005075042
1172275A291569   CHRIS        MONTELONGO                TX         90014157502
117235A355B154   ROBERT       MICINTOSH                 AR         90014465035
117235A444B555   MENIECE      WALLACE                   OK         90010355044
117239A4A61938   RUBEN        CORNEJO                   CA         90013059040
11723A66231635   DANIELA      CHAVEZ                    KS         90012940662
1172414813B352   SHEILA       PUGH                      CO         33083781481
1172476614B259   RUTH         WILLIAMS                  NE         27064827661
1172479347B489   JANEA        WORTHY                    NC         90014157934
1172512135715B   MUARA        RODRIGUEZ                 VA         90001111213
1172551AA93745   SIERRA       STEVENS                   OH         64538025100
117257A134B555   STEVEN       MCWILLIAMS                OK         90014707013
1172615769154B   CARMEN       AGUIRRE                   TX         90007871576
11726482876B68   BERNARDO     MEJIA                     CA         90011794828
1172716924B588   MELINDA      SUTTON                    OK         90007651692
117277A134B555   STEVEN       MCWILLIAMS                OK         90014707013
1172783915715B   SALVADOR     CHAVEZ                    VA         90014928391
11727A72477539   MARK         MARLOW                    NV         90004540724
1172857255B526   ANITA        RODEIGUEZ-ESQUIVEL        NM         90006285725
11728AA7691263   JESSE        HAMILTON                  GA         90012880076
1172966695715B   SEBASTIAN    GOMEZ                     VA         90013666669
1172999A172B62   DANA         MULBERRY                  CO         33086269901
1172B158831687   MELODY       MOSES                     KS         22003821588
1172B249A61938   MICHELLE     GARCIA                    CA         90012892490
1172B273A61972   JESUS        MACIAS                    CA         90014462730
117314A299154B   MARCOS       PINEDA                    TX         90013044029
1173153694B26B   ALAN         SHAW                      NE         26095955369
1173211744B26B   GREGORY      GORDON                    NE         26014241174
1173271494B555   TYLER        SHELTON                   OK         90014707149
11732A4299154B   GUADALUPE    VILLALPANDO               TX         75008990429
1173313875B526   JOHN         FALCHETTI                 NM         90012271387
1173363584B588   LADONNA      SANTANA                   OK         21551666358
1173399138B193   ALEJANDRO    RAMOS                     UT         90006289913
1173449AA61972   JAVIER       BENITEZ GUZMAN            CA         90008884900
1173488495B343   CISNEROS     LUZ MARIA                 OR         90011728849
1173512645B35B   MICAHEL      KUENLE                    OR         90013311264
11735211A33699   NANCY        MORAN                     NC         90014152110
1173538A12B966   CARMEL       CASTRO                    CA         90009433801
117359A9493724   BILLY        CALDWELL                  OH         90001869094
1173725494B588   BRANDON      WILLIAMS                  OK         90009442549
11737A5515715B   ABAD         FERRUFINO                 VA         90010790551
11737A61561972   MARK         CONNORS                   CA         90013740615
1173825799154B   MARIA        MOLINA                    TX         90015222579
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117383A4391895   BERNARDO     JIMENEZ                   OK         90013753043
1173925734B588   PEDRO        PASCUAL                   OK         90012352573
1173945A54B26B   BRANDEN      PRESTRIDGE                NE         90014464505
117394AA991895   MICHEAL      CLARK                     OK         21016074009
1173951A891569   SUSANA       RUVALCABA                 TX         90007875108
1173B14887B489   SANOVIA      MOORE                     NC         90009581488
1173B514893745   NICOLE       MOTE                      OH         64574885148
1173B622731687   LAURA        CARRERA RUTIAGA           KS         22039236227
1174122745B526   BARBARA      GONZALEZ                  NM         90009032274
11741339A72B55   CHAELA       QUEEN                     CO         90003433390
1174193674B588   KRISTI       GRISSOM                   OK         90013279367
11742248A76B68   GERARDO      ROJAS                     CA         90014842480
1174377A45B343   THERAL       JONES                     OR         90014667704
11743973472B34   CAROLYN      CONFER                    CO         33009039734
1174439A55715B   JOSE         AMAYA                     VA         90012613905
11744643A61976   KARLA        AGUILLA                   CA         46089516430
11744A99672B62   CASEY        MCBURNERY                 CO         90012850996
1174522485B343   MARIA        GARDUNO                   OR         90000642248
11746517776B52   MICHAEL      DAVIS                     CA         90004545177
1174696A991895   MATTHEW      KIRBY                     OK         21048059609
1174742A34B588   JOSE         CRUZ                      OK         90015294203
11747541A91895   ROSA         LOPEZ                     OK         90012185410
1174759315B154   JASMINE      NAJERA                    AR         90014935931
11747A32231635   JUSTIN       RICE                      KS         22064920322
11748A95531687   MARLENE      WINTER                    KS         90012120955
1174917795B343   MARIO        UPGLADE                   OR         90006601779
117494A7876B68   ARMANDO      HERNANDEZ                 CA         46059964078
1174977274B555   THERESA      ROBERT                    OK         90010467727
117499A584B287   JILL         GWYNN                     IA         90013849058
1174B61467B489   LESLY        GARCIA                    NC         90012536146
1174B62135B526   MICHELLE     DOUGLAS                   NM         90008816213
1174B872957147   ISIDRO       MARCIA                    VA         81033138729
1174B874261958   BERTHA       RECARD                    CA         46036288742
1174B88A693745   JOHN S       HOLCOMBE                  OH         90003788806
117512A5872B62   BLANCA       TALAMANTES                CO         90014582058
1175276A44B555   ANGELA       MCCLAIN                   OK         90014707604
11752998176B68   MAE          JARRETT                   CA         90015469981
11752A67961958   EELAN        ENGLISH                   CA         90011260679
11752A89577539   STEVEN       RECORD                    NV         43064990895
11753493876B68   VAU          SILIGA                    CA         90014864938
11754239872B97   GUSTAVO      MEZA                      CO         90013952398
1175515417B489   SAMIA        GODETT                    NC         90013841541
1175531342B966   NANCY        PENA                      CA         90013913134
1175567A931687   ALISHA       MASTERS                   KS         90011156709
1175673A15B526   MARY         GURULE                    NM         35001057301
117568A575B343   CRAIG        ZINSER                    OR         90015258057
1175716525715B   EVER         ORDONEZ                   VA         90015181652
1175748A15B247   ANTHONY      WILLIAMS                  KY         90004114801
1175832A15B299   EFIA         GUTHTHRIE                 KY         90012623201
1175862947B442   JOSE         CHEQUE                    NC         90006606294
11759116A76B68   LOUIS        POWELL                    CA         90012751160
1175932524B259   ELLIOT       WAGNER                    NE         90005753252
1175B561991569   BRAHIAM      GIRALDOGUTIERREZ          TX         90012755619
1175B57689154B   JOSE         GONZALES                  TX         75016385768
1175BA1995B343   JAMES        THOMPSON                  OR         90014250199
117614A1372435   RICHARD      SIMMONS                   PA         90013634013
1176214A861972   DELMY        ESPINOZA                  CA         90013391408
1176283838B165   DAN          HANSEN                    UT         31065888383
1176467275B154   ANDREA       PARKER                    AR         90008926727
1176483795B154   DAYSI        ROQUE                     AR         90014478379
1176532657B489   EDSON        RODRIGUEZ                 NC         90013853265
117658A944B555   PATRICK      POOLE                     OK         90014708094
1176596768B193   CRYSTAL      DANIELS                   UT         31064479676
11765A1914B26B   TYSON        DEAN                      NE         90014400191
1176698565715B   MARVIN       LINARES                   VA         90000979856
117679A929154B   JOSE         MENDOZA                   TX         75015369092
1176827165B343   MARIA        RIVERA                    OR         90000262716
11768565A61976   PADILLA      EDWARD                    CA         90010815650
1176863A661958   NATIVIDAD    ALCARAZ                   CA         90012096306
1176885578B193   AMBER        BURNETT                   UT         31006038557
11768A19272435   KEVIN        GIUNTA                    PA         51096430192
11768A62476B68   JORGE        LOPEZ                     CA         90006320624
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1176998487B489   ANA           HERNANDEZ                NC         90014089848
11769A26147956   DONNA         HANCOX                   AR         24079920261
1176B35857B489   ADELAIDA      LANDA                    NC         90012083585
1176B786661976   CRYSTAL       BENITEZ                  CA         90013007866
1177237254B26B   BOKOTA        LIFAEFI                  NE         26064393725
11772674472B62   JENNIFER      NOLAN                    CO         90006996744
11773587A9154B   CELINA        LOZANO                   TX         90012325870
1177387882B966   JESUS         FIGUERA                  CA         90005138788
117743A6791895   BEVERLY       STOUT                    OK         90013753067
1177477885B526   GONZALO       REVET                    NM         90014817788
117749A8561976   JULIUS        SPENCER                  CA         90014179085
11774A1739154B   ALEJANDRO     GALLARDO                 TX         90011240173
1177516965B343   MARTIN        GONZALEZ                 OR         90012761696
1177571485B35B   MILA          MAKAROVSKAYA             OR         44508487148
11775A75A91263   JIHON         FERGUSON                 GA         90014280750
11776346A9154B   ARGENTINA     CARREON                  TX         90013353460
1177674774B588   JANDI         WALKER                   OK         90010167477
11776A77693745   JOCELYN       MARKIN                   OH         64541680776
1177734278B194   MONICA        MARTINEZ                 UT         90014393427
1177788164B555   ROBERT        WESLEY                   OK         90001238816
1177788789154B   INFANTE       OCTAVIO                  TX         75015368878
11779141A7B34B   CARMEN        ALVARADO                 VA         81095831410
1177978584B259   EUSTAQUIO     ZARZA CEJUDO             NE         27089857858
1177B625272B62   SAMUEL        SWAIN                    CO         90009656252
1177B793957147   MARTA         CARVAGAL                 VA         81052177939
1177BA2A34B588   ROBERTO       VELASCO                  OK         90006860203
1178189A133699   DENISE        LITTLE                   NC         12095468901
11781A71161972   FERNANDO      BERNACHE                 CA         90012080711
1178232384B555   TERRIE        JONES                    OK         21522493238
117823A664B588   HOITE         PUGH                     OK         90006043066
1178262245715B   CHRISTOPHER   ORELLANA                 VA         90013126224
11782A7758B165   ANDREW        HOPKINSON                UT         90013360775
1178345595B526   MIRIAM        SILVA                    NM         90006154559
11783512376B68   MICHAEL       SAUMURE                  CA         90012485123
117837A5A4B555   MARIE         CHARLES                  OK         90014717050
1178399544B26B   JENNIFER      BOSWELL                  NE         90010449954
11783A76691547   MARIA         ACOSTA                   TX         75020250766
11786A98555938   CECILIA       RODRIGUEZ                CA         48011350985
1178729865B154   LAURA         BROWN                    AR         90012792986
1178769AA4B26B   ABAK          REHAN                    NE         90012866900
11787A1269154B   REGINA        PASILLAS                 TX         75072590126
1178858A54B588   SIDNEY        TAYLOR                   OK         90010155805
1178892364B588   KEZIA         BERRY                    OK         90014489236
11788933A31635   EMILIO        MARTINEZ                 KS         22074139330
117889A1A4B555   PHILIP        HAWS                     OK         90014709010
117892A3261972   BETTY         RUTH                     CA         90007842032
1178B18462B966   ANTONIO       ROBLES                   CA         90011281846
1178B21229154B   HILDA         ASTORGA                  TX         90014132122
1178B24415B343   MARIA         MARTINEZ DE CLAROS       OR         44583792441
1178B86674B555   LACRESHA      COUNTS                   OK         90014708667
1179111175B35B   PETER         BASCUTI                  OR         44590181117
117916A349154B   SARAH         CABRERA                  TX         90014026034
1179172A75B232   TYESHIA       THOMPSON                 KY         90001727207
117918A1251337   AARON         MATCHEN                  OH         90014568012
1179223838B193   LUKE          ONEAL                    UT         90009722383
1179264335B39B   MICHELANN     NEWTON                   OR         44518056433
11793261176B68   RODNEY N      LEWIS                    CA         90010372611
11794373A57147   MICHAEL       GOODMAN                  VA         81069563730
1179476392B966   ANIBAL        RAMOS                    CA         90013937639
11794A94133699   JENNIFER      GUFFEY                   NC         12093670941
11794AA3493745   TAMMY         BURTON                   OH         90005690034
117956A692B966   DAVID         CESENA                   CA         90013676069
1179574695B343   MICHELLE      SUMMERS                  OR         90014877469
1179582535715B   DINA ARELY    FLORES                   VA         81003898253
1179586255B526   ANDREA        ROMERO                   NM         90013318625
1179593364B555   PHYLLIS       BURK                     OK         90014709336
117961AA472B25   ZEWDINESH     WAMI                     CO         90012801004
11796A2864B26B   KIMBERLY      GILDEA                   NE         90014390286
11796A7A176B68   DAVINDER      KUR                      CA         90013790701
11796AA7A2B966   YESENIA       GONZALES                 CA         90011360070
1179893414B555   CRSYTAL       LITTLE                   OK         90014709341
1179929547B489   LATEIFA       ANDERSON                 NC         90002692954
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11799A14933699   SHAWEIZ       KHAN                     NC         90011880149
1179B21178B183   STEVEN        DOYLE                    UT         90008522117
1179B71494B555   TYLER         SHELTON                  OK         90014707149
117B1836647956   JOHN          CARNES                   AR         90005788366
117B2196161972   GERARDO       GONZALEZ                 CA         90014191961
117B2282572B62   DESTINEY      MONTANO                  CO         90013982825
117B237424B26B   ERIC          CASTILLO                 NE         90001993742
117B244799154B   VALERIE       ESCAMILLA                TX         75020164479
117B2581293767   SETORWU       AVOTRI                   OH         64557835812
117B3627A76B68   MARYSOL       BAILON                   CA         46096076270
117B3644272B62   CARRIE        LEONARD                  CO         90013836442
117B39A1791569   GROVE AND     ANDERSON CO              TX         90008939017
117B3A9645B526   JAN           SCHROEDER                NM         35069690964
117B4341431687   SETH          TELANDER                 KS         22031983414
117B477A861976   REBECCA       FARFAN                   CA         90014617708
117B4865857147   MIRIAM        JACKSON                  VA         90007588658
117B725799154B   MARIA         MOLINA                   TX         90015222579
117B734255715B   AMILCAR       ABREGO                   VA         90014803425
117B7732691569   KAREN         ESPINO                   TX         90012877326
117B778AA57147   FARANAK       HASSANI                  VA         90012167800
117B7879661958   MELISSA       LEON                     CA         90011378796
117B7A2772B924   PATRICIA      CARDENAS                 CA         90008530277
117B854125B343   JESSICA       NAJDEK                   OR         90011055412
117B85A2891895   TOBY          HOUSTON                  OK         90008575028
117B8739472453   JESSICA       LYTLE                    PA         51082327394
117B8943693745   FAY           WILMOTH                  OH         64550429436
117B9848676B68   KELLY         HAYS                     CA         90008788486
117BB4A749154B   JEFFREY       WEAVER                   TX         75036824074
1181134815B334   BEVERLY       HANSEN                   OR         44506063481
1181144157B489   JESSICA       MENEFEE                  NC         90011274415
1181157A95715B   HUMBERTO      CAMPOS                   VA         90009175709
11812359872B62   ALBERTO       LINCON                   CO         33042183598
118132A8172B62   SHADOW        SCHNEIDER                CO         33010732081
1181432274B965   CLAUDIA       RAMINEZ                  TX         90014833227
1181491954B588   DESIREE       HAWKINS                  OK         90013809195
11814929174B97   CYNTHYA       CENTER                   OH         90013839291
1181525425715B   CHEOU         TIDJANI                  VA         90008702542
11815A79761938   MARC          SANCHEZ                  CA         90012030797
11816345476B68   DANE          DIEMER                   CA         90013103454
1181684774B922   YESENIA       DELAFUENTE               TX         90001718477
11816AA5A91895   CLEO          WHITESIDE                OK         90010210050
11817426272B62   JUSTIN        MEIR                     CO         90014264262
1181763465B343   BARBARA       TEATRO                   OR         90014086346
11818115172B62   TERRY         KOESTER                  CO         90002121151
1181825264B588   DAVID         JUAREZ                   OK         90011422526
11818A8374B555   DONNA         ELLIS                    OK         90011340837
118197A8651337   ZURAB         JANGVELADZE              OH         90009467086
1181996338B194   NORMA         RODRIGUEZ                UT         31016729633
1181B47125B343   CHASTIDY      AGUILAR                  OR         90014934712
1181B939561938   TYSON         NICHOLS                  CA         90011619395
1182137754B555   AMBER         HELMS                    OK         90008943775
11821733A9154B   OLGA          CORDERO                  TX         75039087330
11823731A93745   DEREK         SCHARSCH                 OH         90006917310
11823756A72B62   MONICA        WAITE                    CO         90014727560
1182387664124B   WILLIAM       HOLSING                  PA         90010308766
1182388A172477   KEVIN         LEMLEY                   PA         90014128801
1182397876147B   SHARON        STANTON                  OH         90014549787
11823A5115B526   DJ            BUYNUM                   NM         90000430511
1182419A29154B   MENESES       SALVADOR                 TX         90013781902
1182449893B324   ERICA         MARKS                    CO         90000924989
1182482885B526   ANGELINA      QUINTANA                 NM         36083208288
1182493114B555   SARAH         CHANCE                   OK         90002829311
1182531A241255   SELENA        BEASLEY                  PA         90008163102
1182558484B26B   MELLISA       CRAIG                    NE         90013315848
1182581684B555   VICTORIA      SIMPSON                  OK         90014718168
11826144572B62   JOANNA        PENA                     CO         90008591445
11826515972B62   VANESA        ROJAS                    CO         90013575159
1182687454B588   TOI           HOPGOOD                  OK         90013838745
11826AA4161938   ENRIQUE       VELASQUEZ                CA         90012840041
1182737754B555   AMBER         HELMS                    OK         90008943775
1182777732B966   HENNESEY      JACK                     CA         90013937773
11827A5AA61972   JUAN CARLOS   GONZALEZ                 CA         90012330500
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11828442A4B555   SARAH           CHANCE                 OK         90002834420
1182886A64B555   SHERONICAL      PRYOR                  OK         90014718606
11828A94261938   CAROLYN         FIELDER                CA         46054350942
1182B798272B62   LUIS            CHONA                  CO         90013987982
1182B899872453   REGINA          MCCARTY                PA         90009618998
1182B916A91569   ADRIAN          CISNEROS               TX         75088359160
1182B952547956   MICHAEL         SHAW                   AR         24006889525
1183128A793745   LAUREN          SMITH                  OH         90014922807
1183163734B555   SHEREE          OSBORN                 OK         90005066373
11831AA245B343   MARCELO         VASQUEZ                OR         90010260024
11833243A2B966   FRANCISCO       AGUILAR                CA         90007182430
1183376455B343   ORLANDO         MEDINA                 OR         90010827645
1183387914B555   CHASIDY         KIZZEE                 OK         90014718791
11833AA3891899   CYNDI           NICHOLS                OK         21042320038
118344A6493745   KARA            FOLKERTH               OH         90014864064
1183473515715B   GLADIS CELINA   HERRERA                VA         90003047351
11834884A91569   MIKE            ELLIOTT                TX         75016318840
11835464576B68   ISMAEL          CASTILLO               CA         46094534645
118354A2857147   DESHANTALA      ROGERS                 VA         90012684028
11835A81261992   JOHN            SANTOIEMMA             CA         90004340812
1183646824B555   JESSICA         WILLIAMS-KOWALCIK      OK         90014714682
11836488272B62   FABIAN          MARTINEZ               CO         33000904882
1183673434B588   MARIELOS        LOPEZ                  OK         21577887343
11836A86461958   FLORENCIO       MEJIA                  CA         46082390864
11837288A91569   ALFONSO         GARCIA                 TX         90013342880
118373A1161938   RACHEL          LANDIN                 CA         46024293011
11837696A4B588   SELWIN          LUCAS                  OK         90009986960
1183786575715B   JESUS           CANO                   VA         81096878657
1183792A24B555   DERRICK         WILLAMS                OK         90014719202
11837A84927B36   JUSTIN          HYMEL                  KY         90014720849
1183816147B489   TIRA            WIGGINS                NC         90013841614
1183841234B555   SHERRY          SMITH                  OK         90014724123
118385A3333699   GRETCHEN        CAINE                  NC         12085345033
1183869A94129B   MISTY           GREEN                  PA         90011096909
1183885495715B   MARVIN          SANCHEZ                VA         90007668549
11838A35957147   CRISTIAN        BARAHOMA               VA         90014510359
11838A71941296   CHARLES         LUTZ                   PA         90013640719
11839535672B62   LUCIA           DIAZ                   CO         33009585356
1183995374B26B   LEROY           CAYOU                  NE         90009569537
1183B94565B526   FATIMA          ARENIVAR               NM         90012149456
1183B992291263   CESAR           LUZ-GARCIA             SC         90012269922
11841587A76B68   SHANNON         TENNEY                 CA         46072135870
1184169477B668   ALEXANDER       RIVERA                 GA         90014956947
11841936A4B555   ORETHA          HENLEY                 OK         90014719360
11841A46472435   JOHN            BILSKY                 PA         51094250464
118426A4991569   EDWARD          MARTINEZ               TX         75080046049
118429A485B154   MITCH           BRYANT                 AR         90012069048
11842A68691263   LAKESHA         HOLMES                 GA         14541660686
118434A865B35B   WILLIAM         DEWEESE                OR         44558114086
11843851A61938   AGUSTIN         SANCHEZ                CA         46025018510
11843A7665B154   CHARLES         MCCULLOUGH             AR         90002480766
11844949A4B26B   PAYGO           IVR ACTIVATION         NE         90013359490
11844A37972B62   KIFFEN          ROBLES                 CO         90007420379
118454A4751337   ROBERT          CLOUD                  OH         90009844047
1184671A27B489   DAMIEN          JAMES                  NC         90013407102
11846A2415B343   CYNTHIA         WATSON                 OR         90010260241
11846A69376B68   BRENDA          HERNANDEZ              CA         90014180693
11847639172B56   ESTEBAN         QUINTANA               CO         33018836391
1184794A251337   SCOTTIE         JACKSON                OH         66047659402
1184795A672B62   MARTHA          ROSALES                CO         33088869506
11847A1577B489   TAMARA          LUCKEY                 NC         90012230157
1184814759154B   LYDIA           GONZALEZ               TX         75035041475
118483A465B343   SARAH           CARL HANER             OR         90011203046
1184864344B588   RAYLENE         STEVENS                OK         90010386434
1184894815715B   JOCELYN         GONZALEZ               VA         90011879481
11849366976B68   ENRIQUE         ZALASAR                CA         90006033669
1184B23695B343   MIGUEL          LOPEZ ORTIZ            OR         44519822369
1184B495391263   PAYGO           IVR ACTIVATION         GA         90014114953
1184B5A918B138   VICKI           HUNT                   UT         90003195091
1184B93414B555   LOUIS           GURLEY                 OK         90014719341
11851A88A76B68   ANTHONY         FISHER                 CA         90011650880
1185223995B154   MARVIN          ALCORN                 AR         90014922399
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11852554A47956   BRANDY        KIDD                     AR         24078715540
1185267962B966   LIZ           SILVEIRA                 CA         90013986796
118527A227B489   ABEL          GARCIA                   NC         90013217022
1185296214B555   KEVIN         ICE                      OK         21505349621
1185331235B343   PAYGO         IVR ACTIVATION           OR         90015413123
1185349225B338   PHILLIP       BROYLES                  OR         44566654922
11853A3A776B68   ANDY          MCMULLEN                 CA         90015430307
118546A7261958   ROBERT        MARTTINEZ                CA         90010236072
1185481158B193   HEATHER       EARL                     UT         90008988115
1185492899154B   IRENE         RODRIGUEZ RAMIREZ        TX         90013029289
11855952A76B68   MIGUEL        OZORNIO                  CA         90009869520
1185599AA4B26B   DIANA         WORICK                   NE         90013959900
1185696934B555   CRYSTAL       HARPER                   OK         90014719693
1185697525B35B   SHARA         LAPINE                   OR         44514419752
118574A9161958   NARIA         RUIZ                     CA         46089834091
1185797344B555   RICKEY        GILBERT                  OK         90014719734
1185B7AA793745   ELIZABETH     ELLIOT                   OH         90004407007
1185BA9534B555   ANA           MURPHY                   OK         90009220953
118616AA654152   CARLOS        HERRERA                  OR         47002546006
11862A8339154B   CYNTHIA       SOLIS                    TX         90011240833
1186357A676B68   HORALIA       GOMEZ                    CA         46094535706
1186419934B588   TRACY         DOBSON                   OK         90014411993
1186429945B35B   TRANCOSO      RAQUEL                   OR         90011572994
1186487832B966   ROLANDO       RODRIGUEZ                CA         45005858783
11864A97861938   ASHLEY        MILLER                   CA         46017150978
1186635114B26B   JUSTIN        HENRY                    NE         90007013511
1186714A461976   LOURDES       VEGA                     CA         90004181404
11867351A54B84   JOSE          BARAHONA                 VA         90006133510
1186752485B343   EDGAR         FLORES                   OR         90014005248
11867632972B29   MARIBEL       RUEDA TELLO              CO         90011376329
11867684A93745   ASHLEY        CROWELL                  OH         90013136840
1186818165715B   BENJAMIN      CHINERY                  VA         90000221816
118689A6672453   DARNELL       HUDSON                   PA         90005669066
118689A725B35B   DENNIS        HELTZ                    OR         90006849072
11869285872B55   SAUNDRA       CORREY                   CO         33014692858
11869359872B62   LD            LD                       CO         33081023598
1186999184B555   KENYADA       GASTON                   OK         90014719918
11869A78151334   IMAR          GRANT                    OH         90011420781
1186B294761958   ARACELI       GARCIA                   CA         90012752947
1186B797157147   MARISOL       MOLINA                   VA         90013567971
11871297A61938   JESUS         JIMENEZ                  CA         90007212970
1187142754B555   CHRISTOPHER   TIGER                    OK         90014714275
1187164377B424   LATOYA        LITTLEJOHN               NC         11022046437
11871661276B68   KEVIN         CHANEY                   CA         90013806612
1187191A961972   JOSEPH        ROBINTT                  CA         46090329109
11872241124B7B   WENDEL        PRICE                    DC         90013692411
1187293395B35B   GEIDIS        FIGUEREDO                OR         90011079339
1187296845B154   NATHANIEL     MOORE                    AR         90013289684
11873717A5598B   FRANCISCO     ESCOBAR                  CA         90008167170
1187483A761938   NANCY         MAGNY                    CA         90003068307
11874A3594B555   KELLY         HUNTER                   OK         90014720359
11874A44961938   FRANCISCA     SIMONI                   CA         46090490449
1187524A75B343   GUADALUPE     GOMEZ                    OR         90000782407
1187642227B274   KARLA         RODRIGUEZ                AZ         40509654222
1187649154B555   DIANA         DAWSON                   OK         90007804915
11876617172B62   KAY           CANEZ                    CO         33037066171
1187683A176B68   EUTIMIO       RAMIREZ                  CA         90002548301
1187732A672435   LEVI          RICE                     PA         90001613206
1187774355B343   ROGELIO       BERMEJO                  OR         44589997435
1187835A55715B   EVA           RYCHTARIKOVA             VA         90015163505
1187876A19154B   IRMA          DELGADO                  TX         75092147601
11878A74277539   KAYLA         WAGERS                   NV         43067540742
11878AA654B588   LIZANDRO      MORALES                  OK         90010750065
1187995835715B   MARTIN        SALOME                   VA         90007849583
11879A1284B588   HILDA         SAUCEDO                  OK         90010750128
11879A4894B555   TIMOTHY       WOODS                    OK         90014720489
1187B81995715B   ANGELA        KEITH                    VA         90008448199
1187B975672435   RICHARD       WILLISON JR              PA         90005809756
1187BA67833699   JUSTIN        RATLIFF                  NC         90013960678
118816A3393745   CATHERINE     WILCZEK                  OH         90014226033
11882A6A94B555   TRACEY        HADDOX                   OK         90014720609
11883963A4B26B   YVONNE        JOHNSON                  NE         90013509630
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11883A3998B193   BRANDY       NIEMAN                    UT         90003670399
1188411A69154B   ESCUDERO     ADRIANA                   TX         90011241106
11884A58A76B68   REBECCA      VERDUGO                   CA         90004130580
1188558A65B343   TALYON       JERONE ANDERSON           OR         44544735806
11885629A91895   JAY          BENSON                    OK         90010646290
1188567614B26B   SCOTT        CONROY                    NE         26061936761
1188616315B526   LINDA        CARMONA                   NM         90000121631
118864A4257147   CARLOS       RAMIREZ                   VA         90011224042
11886941372B62   MARIA        FRANSUA                   CO         33082279413
11886A37A4B555   ASHLEY       WELLINGTON                OK         90012210370
11887189876B68   YESENIA      SANCHEZ                   CA         90012131898
1188737624B26B   SHAUN        DANNER                    NE         90015143762
1188776827B489   REGINALD     MCCRAY                    NC         90012647682
11888164A72435   EDWIN        MONHEY                    PA         90012191640
11888423A7B489   STEPHANIE    KENNEDY                   NC         11016774230
1188889825715B   SOLOMON      NWOKEFORO                 VA         90011528982
118889A3491263   CALAUNDA     POWELL                    GA         90012009034
1188925A55B343   IONGI        SITIVENI                  OR         90013262505
1188959897B489   HECMARY      GONZALEZ                  NC         90000115989
118897A4772B62   LADY         PINEDA                    CO         33097827047
1188994A961972   MIKE         FILSON                    CA         90001799409
11889971476B68   JESUS        HERRERA                   CA         90015219714
118899A9891569   MARIBEL      MIRANDA                   TX         90006319098
1188B45995B343   MARICRUZ     DIAZ                      OR         90012494599
1188B9A5485B29   BONIFACIO    ORTIZ                     FL         90015379054
11892185972B55   MARIA        RODRIGUEZ                 CO         33090581859
11892A97A77344   MONIQUE      RUDOLPH                    IL        90015370970
11893363172B2B   KATHY        MADDEN                    CO         90002963631
1189354584B555   ASHLEY       NERO                      OK         90014715458
1189447964B555   SALEEA       SHOCKLEY                  OK         90013484796
1189476454B23B   JOSH         LIBBY                     NE         90001577645
11895737172B62   RAFAEL       ROBLES BONILLA            CO         33070697371
11895A2972B966   NELSON       VALLE                     CA         90014880297
1189697245B343   CHRISTINA    WEST                      OR         90004189724
1189726795B35B   LUIS         GALLEGOS                  OR         44500722679
11898589A72B62   JEREMY       HANSON                    CO         90010055890
1189871415B526   GEORGE       CARRILLO                  NM         90010197141
1189937829154B   JOHN         BETTS                     TX         75034443782
1189992692B966   MARGRET      BARNETT                   CA         90014939269
11899A58261972   NAJLA        SHELBY                    CA         90001640582
1189B215657147   ABDUL        CONTEH                    VA         81019752156
1189B389772B55   ISRAEL       SANDOVAL                  CO         90004093897
1189B816A4B555   MARISA       KEYES                     OK         90006548160
1189BA7554B555   ROBERT       WEBB                      OK         90014720755
118B142615B338   JAMES        DEROSSO                   OR         90009314261
118B15A9191569   TOMAS        CONTRERAS                 TX         90002985091
118B1644161976   JUAN         HERNANDEZ JR              CA         90013336441
118B2A6279154B   KEREM        TERRAZAS                  TX         90011240627
118B373A84B555   JARMILA      GAYDEN                    OK         90014717308
118B3921A61938   GREGORIO     GOMEZ                     CA         90012159210
118B44A9861958   JESUS        ROSAS MARTINEZ            CA         46005894098
118B4572277539   TESSA        WILDER                    NV         90005285722
118B4635761976   REYNA        RAMIREZ                   CA         90000676357
118B4675A91569   JAMES        CARBAJAL                  TX         90010156750
118B4725372B62   SONYA        PADILLA                   CO         90007487253
118B534179154B   BLANCA       MELENDEZ                  TX         90011003417
118B5636661976   AIOTEST1     DONOTTOUCH                CA         90015116366
118B5664755933   LEANDRO      CONTRERAS                 CA         90006086647
118B5698A91569   CHRISTY      MUNOZ                     TX         75040236980
118B5A11442399   MAGARET      STEPHANIE                 GA         90010970114
118B5AA968B136   NICOLE       BARTON                    UT         31098620096
118B6417533699   JAHMARE      PRYRE                     NC         90011434175
118B6694961938   REINALDO     GONZALEZ                  CA         90013886949
118B6773A76B68   REYMUNDA     GUTIERREZ                 CA         90013447730
118B6814572B55   GERARDO      VILLALON                  CO         90005858145
118B699A391263   LARRY        ANDERSON                  GA         90015009903
118B6A11442399   MAGARET      STEPHANIE                 GA         90010970114
118B7192457147   ALMADELA     RAMOS                     VA         90014741924
118B7224661976   ELIZABETH    GARCIA                    CA         90011242246
118B7636661976   AIOTEST1     DONOTTOUCH                CA         90015116366
118B775515B343   MARIO        SALDAÑA                   OR         44513747551
118B792A961958   ROLAND       TONEY                     CA         46008179209
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118B8234733699   JOHNNY       SMITH                     NC         90012382347
118B8351376B68   JOSE         MARTINEZ                  CA         90014813513
118B8799233699   RAQUEL       BOOKER                    NC         90010947992
118B921132B264   CECILIA      MATTHEWS                  DC         90005892113
118B9871A61972   JESUS        MARTINEZ                  CA         90000198710
118B995644B555   PAYGO        IVR ACTIVATION            OK         90013889564
118BB24435B343   RODRIGO      JERONIMO                  OR         90015182443
118BB41A172453   REBECCA      LANE                      PA         51042534101
118BB756661976   ROCIO        ESPINDOLA                 CA         90006437566
1191115494B555   EMILY        KRISTINE                  OK         90014721549
1191148227B489   BRITTANY     CLYBURN                   NC         90011274822
1191179255B343   JUAN         RODRIGUEZ BELLO           OR         44500257925
1191194328B193   MARTINEZ     JOSEPH                    UT         31019899432
1191215554B555   NORMA        SANTILLA                  OK         90014721555
11912379A5715B   NICOLE       ROSS                      VA         90013613790
119123A4672B33   EDUARDO      DOMINGUEZ                 CO         90000663046
1191259175B526   CHRISTINA    NELSON                    NM         35043675917
11912885A61958   ROBERTO      GUZMAN                    CA         90011478850
1191315554B555   NORMA        SANTILLA                  OK         90014721555
1191351194B588   KEINTA       HASTINGS                  OK         90014895119
1191385625B55B   MARIA        HERNANDEZDE JIMENEZ       NM         90014088562
11913959A61972   ESTHER       WORONICZ                  CA         46037859590
11913A1385B526   DONNA        BACA                      NM         35048040138
1191415554B555   NORMA        SANTILLA                  OK         90014721555
119141A5257147   BLANCA       MARTINEZ                  VA         81089771052
11915515A5B343   LORI         MILLE                     OR         90014925150
1191683797B489   ENRICCO      BOOKER                    NC         11048738379
11916937A33699   GRACE        ANDERSON                  NC         90012069370
11916A22561972   VANESSA      TOLEDO                    CA         90011260225
1191731395B526   OLIVER       TAFOYA                    NM         90006183139
1191776352B966   TODD         HENDRICKS                 CA         90014167635
1191793585B343   DAVID        CASTRO                    OR         90012639358
1191793895715B   LILIAN       APARICIO                  VA         90011529389
11918164A4B555   LATOYA       KING                      OK         90014721640
119182A4357147   CARLOS       CARRANZA                  VA         90013122043
1191832A172B62   KAYLA        MOSS                      CO         90014703201
11918A44461958   REWTERIA     JESSICA                   CA         46085710444
11919164A4B555   LATOYA       KING                      OK         90014721640
1191919A861976   RIATH        POLOS                     CA         46042281908
11919963A5715B   ERNESTO      OROPEZA                   VA         90003089630
11919A9675B526   NICOLAS      MANNING                   NM         90011990967
1191B164A4B555   LATOYA       KING                      OK         90014721640
1191B541661938   NOEMI        MORENO                    CA         90015155416
1191B54A176B68   LIDIA        AYALA                     CA         90014865401
1191B553676B68   JOSE         MENOZA                    CA         90008965536
1191B87552B966   BEATRIZ      FUENTES                   CA         45094208755
1192178744B588   FELIX        OLIVO                     OK         21511737874
119219A6161958   RUBEN        URIBE                     CA         90006179061
1192394128B193   ALEJANDRO    MARTINEZ                  UT         31079019412
119248A974B26B   CELESTE      SEXTON                    NE         90013198097
1192495277B489   CARLOS       GARCIA ROSADO             NC         90003069527
1192519694B555   MARISA       TURNER                    OK         90014721969
119255A5976B68   ELLEN        SCHANTZ                   CA         90000795059
11925A92991569   MARTHA       MENDOZA                   NM         90012920929
11926237197B39   KATHELENE    COOK                      CO         39077252371
1192652AA76B68   DIANA        SANCHEZ                   CA         46004415200
1192669269154B   NORMA        PACHECO                   TX         90001906926
1192672187B489   JOE          MILLER                    NC         90004147218
1192697A791263   BRAULIO      ALTAMIRA                  SC         90012039707
11928496A57147   DORA         GONZALEZ                  VA         90001584960
1192853A591895   ORVILLE L    BANKS JR                  OK         21051635305
1192854635B343   KIMBERLY     MARSH                     OR         90010425463
1192891314B555   DETRA        KNIGHT                    OK         90013389131
1192922192B966   ALYSA        POLK                      CA         90010272219
1192936725B35B   BRETT        WOOLSTENHULME             OR         44558823672
1192994748B193   FRANCISCO    CANO                      UT         31091379474
11929A6235B343   RONALD       TINDLE                    OR         44504800623
11929A97461938   JACQUELINE   CHYMBUR                   CA         46012470974
1192B34234B26B   ARMANDO      GAMBOA-JUAREZ             NE         26007513423
1192B935561938   SANDRA       VANDIVER                  CA         90012339355
1192B97865B343   MERCEDES     ESTEVEZ                   OR         44522829786
1193115A54B555   MONICA       DIAZ-ROBINSON             OK         90014711505
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11931385A47956   SAMANTHA           FLYNN               AR         24073073850
11931515A7B489   CUNG               NAWN                NC         90011275150
1193233884B555   MARIA              PEDROZA             OK         90011123388
1193244119154B   MIKAL              MINTON              TX         90013344411
119324AA72B966   ALEJO              RODRIGUEZ           CA         90009974007
119343A6861976   LAURA              GONZALEZ            CA         90013483068
119343A9A72B55   RICHARD            SEALOCK             CO         33036873090
11935328124B7B   CELIA              PEREZ ALVARADO      DC         90012203281
119354A3251337   DOUGLAS            VIRES               OH         90014724032
11935A41961976   CHAITANYA          WAGH                CA         90012260419
11935AA5797B58   JARRAD             DOOLITTLE           CO         90011900057
1193815869377B   MONDELL            HERMAN              OH         90013681586
11939255A72453   SHIRLEY            DENNY               PA         90000122550
1193B2A894B555   JOHN               HORNBECK            OK         90014722089
1193B811833699   SKYLET             GUNN                NC         90015048118
11941392676B68   JOSE               ALVARADO            CA         90014183926
11942183476B68   FELICIANO          MARTINEZ TORRES     CA         46057131834
1194228227B489   GABBY              PORTER              NC         90013082822
11943516276B68   CHRISTINA          ESCAMILLA           CA         46079495162
1194427455B232   BOBBY              LUCAS               KY         90011362745
1194487354B588   JOHNSON            DEANGELA            OK         90015198735
11944A79191263   CALVIN             ZEIGLER             GA         90003340791
119455A132B966   ISMAEL             FIORES              CA         90010845013
11946169576B68   JAY                VLADIMIROV          CA         90008981695
1194665155B154   KHENITRA           MALONE              AR         90012216515
11947A4715B343   HOWARD AND NANCY   HAGGE               OR         90012800471
119481A265B343   KRISTINA MARIE     KENNEDY             OR         90010281026
1194847492B966   PAULINE            SPENCER             CA         90012754749
1194847A891895   KEANDRALYN         WILLIBY             OK         90013284708
119486A6724B5B   JORGE              CRUZ                DC         81023506067
11949A9948B193   MILLICENT          ADJEI               UT         90007710994
1194B361833699   BEVERLY            BARNES              NC         12013813618
1194B897A72B62   FRANCISCA          HERNANDEZ           CO         33024968970
1194BA8A891263   ANN                LEMLEY              GA         14570620808
1195116459154B   JOCELYN            GINER               TX         75034451645
11951265476B68   LAURA              MENDOZA             CA         90011432654
11951456A4B555   CHARLES            JACKSON             OK         90014724560
1195192192B966   WILMER             VASQUEZ             CA         90009929219
1195245844B555   TIFFANY            JACKSON             OK         90014724584
11953245576B68   JUNIOR             GARCIA              CA         90015522455
119533A2457147   KELLY              HARRIS              VA         90012903024
1195391667B489   SCOTT              CANNON              NC         90012769166
11953A9875B343   TORI               BELFIELD            OR         90009370987
1195412A872B33   CRYSTAL            TRUJILLO            CO         90013211208
1195436734B259   THERESA            VACEK               NE         90014533673
1195483915715B   CLAUDETTE          PHILLIPS            VA         90005498391
1195522583B388   WILLIAM            STEPHENS            CO         33081372258
1195574929154B   MIRIAM             DOMINGUEZ           TX         90014087492
11956233772B62   ANTHONY            RIMBERT             CO         90001892337
1195656244B588   SAMANTHA           COGGINS             OK         90014865624
1195791827B489   OLMER              AGUETA              NC         90012389182
119582A8491263   HOLLIE             ROSE                GA         14572052084
119585A114B555   OPHELIA            FRENCH              OK         90014725011
1195917697B373   ANDRES             GEREZ AGUILAR       VA         81094611769
1195921442B966   SAMANTHA           GAVIN               CA         90006042144
1195926758B193   GUADALUPE          VASQUEZ             UT         90001712675
11959388176B68   ALDO               CUELLAR             CA         90010863881
1195954264B588   JOHNNI             LEE                 OK         21573315426
119595A164B555   DWANE              WILLIAMS            OK         90014725016
1195971265B343   MICHAEL            URIARTE             OR         90013437126
11959786A5B35B   BRANDON            RISHEL              OR         44582147860
1195B9A5A5715B   KENIA              FUENTES             VA         81060989050
11961361A72B55   CHANTELLE          WILLIAMS            CO         33036143610
1196142365B154   ERIC               JORDAN              AR         90011254236
1196146375B526   CRYSTAL            TRUJILLO            NM         90003124637
1196153344B555   DALE               SMITH               OK         90014745334
1196196A924B7B   FLOR               MENJIVAR-BRUNO      DC         90005149609
1196226AA5B526   GARCIA             LUKUSA              NM         90010952600
11962616524B7B   WAYNE              LANTION             VA         90001066165
119628AA95B343   CASSIE             SCHINDLER           OR         90010558009
1196311414B588   WAYNE              BRADBURY            OK         21551401141
1196411295B343   CESAR              HERNANDEZ           OR         90014251129
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1196415A272453   DOROTHY        TALMONTI                PA         51032741502
1196459255B343   CECEILIA       LOPEZ-SOSA              OR         90004725925
1196459434B547   JOSE           VILLANUEVA              OK         90001935943
1196477A14B26B   MICHAEL        JENSEN                  NE         90011207701
1196512724B555   CHEVI          SHARP                   OK         90013911272
1196528225B343   KARAC          HELUS                   OR         90014702822
119661A5861985   BLANCA         CONRIQUEZ               CA         90012171058
1196657A14B555   SAMANTHA       WEST                    OK         90014725701
1196714649154B   VERONICA       MARES                   TX         90011241464
1196794824B26B   ROSETTA        SCHIEL                  NE         26080089482
1196832AA91895   JOSE           MEDINA                  OK         90015003200
1196899714B555   SHERRY         PACKARD                 OK         90008849971
1196B26A793745   JAMES          BOGGS                   OH         90007352607
1197135734B22B   NICOLE         SHEARS                  NE         27037243573
1197138945B526   PHIL           MIRABAL                 NM         35000093894
11971874A72B62   JESSICA        NUNEZ                   CO         90012988740
1197243A44B588   AMANDA         GRAY                    OK         21551554304
1197255299154B   RODNEY         WRIGHT                  TX         90010025529
1197259A34B555   DESIRE         WHITE                   OK         90014725903
1197358412B966   GUADALUPE      GODINEZ                 CA         90001665841
1197363A661958   NATIVIDAD      ALCARAZ                 CA         90012096306
11974244376B68   ALESCIS        GITIERRET               CA         90012212443
1197435A891263   DRYSON         MUTEHERSON              GA         90015393508
1197475515B343   JUANA          CARLOS                  OR         44539677551
1197478693B364   ERICKA A       SILVAS                  CO         90010287869
11974A6A891569   PATRICIA       ACOSTA                  TX         90009720608
119751AA97B442   GRISELDA       RAMIREZ                 NC         90013761009
1197524515712B   FREDY          ROMAN                   VA         81014792451
1197563374B555   KARA           JONES                   OK         90014726337
1197619A891569   HILDELISA      ALVARADO                TX         90010801908
11976476A9154B   MAYRA          LIRA                    TX         75001804760
11976588A3B36B   MAYRA          BALTAZAR                CO         33074295880
1197698445B343   IGNACIO        GALLARDO                OR         90012029844
11976A9914B588   BARBARA        RICHMOND                OK         90006690991
11976AA634B555   CLEVELAND      SPRUILL                 OK         90013850063
119771A4572B37   MARIA          CORIA                   CO         90005121045
11977241672B62   ERNESTO        CIGARROA                CO         33094652416
1197736617B34B   NORMA          IPORRE                  VA         90012423661
1197744239373B   JAMI           TELLIS                  OH         90008834423
1197758964B26B   BREANNA        BURKHARDT               NE         90015265896
1197759255B583   VAN            BARBER                  NM         90014555925
1197799944B588   KIMBERLY       TENNYSON                OK         90008509994
1197853314B26B   JENNIFER       MCEWEN                  NE         26028505331
1197913158B193   ASHLEY         LENABURG                UT         90010241315
1197965A34B555   AMBER          ABOUALI                 OK         90014726503
11979688776B68   LUIS           TORRES                  CA         46091816887
1197B475661972   ANNETTE        ZABALA                  CA         90012024756
1197B75845B526   JAIME          GARCIA -TORRES          NM         35055157584
1198122875B526   SHANITA        BROWN                   NM         35067842287
11981742576B68   LUIS           MEJIA RIVERA            CA         90015267425
1198184845B154   SHAKENTE       JOHNSON                 AR         90015118484
11981A6A84B588   CHASTITY       BROWN                   OK         90014440608
11982193A85962   ADRIANNE       CONNER                  KY         90001191930
11982444472B62   LISA           MARTINEZ                CO         90012604444
11982A6935B526   MARIA          COVARRUBIAS             NM         90014340693
11983258772B62   BILLIE         RILEY                   CO         90013202587
11984482776B68   CHRISTY        SMITH                   CA         90013194827
11984A2397B489   JOE            MCCRAY JR               NC         11085860239
1198636AA7B489   WARREN         COVINGTON               NC         11005513600
1198691A461976   MONICA         BUSTILLOS               CA         90008329104
11987628A72B62   IRMA           RODRIGUEZ               CO         33009586280
119889A6461976   ALEXANDER      DORADO                  CA         90011559064
119894A2872B62   MATT           BARRINGER               CO         90009744028
11989A36991895   TONY           BALL                    OK         90012660369
1198B4A2631635   MIRIAM         LOPEZ                   KS         90004404026
1199163265B343   ANGELA         OCHOA                   OR         44551336326
11991766A72B62   ANGELA         CARROLL                 CO         90009137660
11991A49793745   KEANTE         BURNS                   OH         90012060497
11991A7822B966   AZIZ           JACOBS                  CA         45021610782
1199296632B966   RIGOBERTO      MENDOZA                 CA         90011969663
11993917A5B154   ANNA           SIMMONS                 AR         90010819170
11994842A5715B   ALFREDO LEON   MENDEZ                  VA         90010318420
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1199671494B555   SAUDIA             GREEN               OK         90014727149
11997619A91899   MALESE             TENNYSON            OK         21008796190
1199775825B526   AMOS               BEN                 NM         90013377582
1199832639154B   CHAPARRO           ERIKA               TX         75034853263
1199B57982B966   SALVADOR           CHAVEZ              CA         90015045798
1199B91AA61976   MAURICIO           AVALOS              CA         90014409100
119B1124961958   JESUS              ROMERO              CA         46076751249
119B118434B588   BOBBY              HUNT                OK         90011411843
119B1374191263   CAROLYN            JOHNSON             GA         14572773741
119B1627A8B193   KATE               WINN                UT         31031826270
119B1866461976   CLEMENTE           RINCON              CA         90011558664
119B1941A71933   MARY               CRADE               CO         90012509410
119B25A8272435   FRAN               SULLIVAN            PA         51041225082
119B2754191895   JESSE              NERI                OK         90010867541
119B281864B588   NAKEI              VICK                OK         90008728186
119B2847672B62   MICHELLE           REINHARDT           CO         90010748476
119B2958251337   CANDACE            DRESSELL            OH         90002029582
119B298495B343   IDA                CALDERON            OR         44571679849
119B334A95715B   LAUREN             WATTS               VA         90009843409
119B339549154B   ADRIANA            SOTO                TX         75002053954
119B3861A2B966   JESUS              MENDOZA             CA         90010808610
119B38A185B35B   MARY               SMITH               OR         44509638018
119B3A14A77539   GABRIEL            SCHEEL              NV         90010990140
119B3A8275B526   ROQUE              MARQUEZ             NM         90015070827
119B4341672B62   MARCOS             GALAN               CO         90011733416
119B4A95551337   ILEAN              HANSEL              OH         90008910955
119B5A4685715B   ROLANDO            MARROQUIN           VA         90008880468
119B6146A4B555   CHRISTOPHER        UPCHURCH            OK         90014721460
119B648AA93745   ZACK               CHAPPIE             OH         64575914800
119B658258B193   DANIELA            HIDALGO             UT         90008665825
119B751689154B   RAUL               CORONEL             TX         90014725168
119B753674B588   KORTNEY            HAWTHORNE           OK         90013395367
119B8286A9154B   MINERVA            ORTIZ               TX         90014202860
119B8817572B62   TSEAN              GRAY                CO         90012588175
119B92A8657147   DANIEL             GOMEZ               VA         90015012086
119B98A4261976   JESSEL             CABRAL              CA         90013008042
119BB473731687   KELLY              MCCORMICK           KS         22013794737
119BB829191895   ELLEN              THOMAS              OK         21069288291
11B11519A4B555   AMBER              RANDALL             OK         90014645190
11B1155895B343   ELISABETH          HERNANDEZ           OR         44537975589
11B11594161972   DEBORAH            MARTINEZ            CA         90011655941
11B116A4A5B526   ERIBERTO           MARTINEZ            NM         35067616040
11B1259135B343   CANDIDO            LARA                OR         90011425913
11B12673891895   PAMELA             BROWN               OK         90015136738
11B12A1225B154   DERRICK            PLUMMER             AR         90013940122
11B131A2161976   JOSEFINA           BEDOLLA             CA         90001131021
11B131A8147956   MAEGAN             CLUTE               AR         90001691081
11B1352862B265   TILLIE             WASHINGTON          DC         90001025286
11B13615457147   JOSEPH             GOMEZ               VA         90013256154
11B1411A393745   WHITHNEY           OBRINGER            OH         90002531103
11B14284A7B489   GREGORIO           PEREZ               NC         90013852840
11B1478839154B   JOSE               LOYA                TX         75097357883
11B1483817B489   KATHERINE ROXANA   RAMIREZ ZELAYZ      NC         90011268381
11B15133133B7B   JOHN               JACKOVICH           OH         90015461331
11B15176461972   OLGA               TORRES              CA         90014831764
11B1525385B343   KHALDOUN           MOHAMMAD            OR         44516822538
11B153A3591569   ALVARO             RAMOS               TX         75045183035
11B1549A172B62   EDDIE              VALADEZ             CO         90000224901
11B15A18172B62   DOUGALD            CALHOUN             CO         33052540181
11B15A8174B26B   VANESSA            BROOKS              NE         90011170817
11B16115976B68   CARMEN             QUINTANAR           CA         90006641159
11B161A692B966   ALEJANDRA          HERNANDEZ           CA         90013631069
11B16364131687   DAWN               PALMER              KS         90009713641
11B1716567B483   NEKESHA            STEELE              NC         90006041656
11B1716875B343   FERNANDO           CABRERA             OR         44577871687
11B17171293745   KENNETH            WALDON              OH         64560181712
11B17413231687   KEVIN              GOURLEY             KS         90010374132
11B1764234B555   ANTHONY            STOKES              OK         21552426423
11B17693291569   LYNETTE            BLUE                TX         75016236932
11B177A142B966   JERRY              PABST               CA         90007427014
11B1815A272453   DOROTHY            TALMONTI            PA         51032741502
11B1819964B588   ALICIA             CARTER              OK         90014421996
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11B1942155B343   JORGE         MONTOYA HERRERA          OR         90002344215
11B1953534B555   GLORIA        PRATT                    OK         90014645353
11B1964674B588   DIONISIO      ARAUZ                    OK         21505396467
11B19777672B97   EYDI CELINA   CASTILLO                 CO         90006507776
11B19A11A6197B   MARIA         GARCIA                   CA         90000910110
11B1B51424B555   LASHELL       CURRIE                   OK         90014645142
11B1B82273B359   CURT          JACKSON                  CO         90001068227
11B1B826593768   MARINA        CAROLLS                  OH         90002048265
11B21252555974   PHILLIP       EDWARDS                  CA         49077712525
11B21291491569   BLANCA        PIZARRO                  TX         75089752914
11B2144A45B526   NICHOLAS      OLEARY                   NM         90012904404
11B2198372B232   RACHEL E      CARR                     DC         90008619837
11B2283818B193   SEAN          PATTERSON                UT         31087128381
11B23374372B3B   STOHL         MICHAEL                  CO         90011373743
11B236A7961958   SHARITA       SMITH                    CA         46077636079
11B24397A97B23   THOMAS        CASE                     CO         90012663970
11B2454865B343   MARIA         ISALIA                   OR         44571325486
11B24777157147   NERI          NAVARRETE                VA         81015477771
11B2484A361972   STEVEN        SOUSER                   CA         90008668403
11B24A9125715B   ELISEO        DIAZ                     VA         81059480912
11B2559625B526   PAYGO         IVR ACTIVATION           NM         90014305962
11B25A53272B55   ALMA          ORDAZ                    CO         33015180532
11B262AA54B588   MARIA JUANA   VELARDE                  OK         90010422005
11B2633515B343   VIRGINIA      BAKKER                   OR         44585473351
11B2639A67B489   RUTHIE        CAMPBELL                 NC         11025383906
11B2649475B387   TOBIAS        BROWN                    OR         90012474947
11B2677559373B   PATRICIA      MCCOY                    OH         90012167755
11B26A5652B966   EDGAR         SANTOS                   CA         90012590565
11B26A83861976   SALVADOR      GONZALEZ                 CA         90009550838
11B27438472B62   RUTH          SOTO                     CO         90008044384
11B27726891569   SANDRA        ACEVEDO                  TX         75026187268
11B2788289154B   ERNESTO       GONZALEZ                 TX         75043148828
11B27917893745   TAMMY         TOBE                     OH         90001999178
11B28798991586   KAILA         GIL                      TX         90011237989
11B28853472B62   VICTOR        SHANKLE                  CO         90008988534
11B289AA74B588   MARTIN        COOPER                   OK         90003559007
11B29238761938   TUCKER        TAMERA                   CA         46083532387
11B2941872B966   ROSANNA       PETRUSHKIN               CA         90013834187
11B29571831965   ERIK          BAUTISTA                 IA         90015465718
11B2B664172B62   XAVIER        MONTOYA                  CO         90013066641
11B2B939891944   NIKITA        BETHEA                   NC         90009559398
11B31155961976   JESUS         SEGUNDO                  CA         90013111559
11B31175657557   TYESHA        JOHNSON                  NM         90007571756
11B31297741255   JAMES         BRINSKY                  PA         90001202977
11B3224219154B   IRENE         RODARTE                  TX         75052712421
11B3256964B555   REBEKKAH      CLAWSON                  OK         90014645696
11B3281755B154   BEATE         HOLLAND                  AR         90009748175
11B33433791899   LATOYA        SIMS                     OK         21015524337
11B3375747B489   KETURA        JORDAN                   NC         90014347574
11B3435197B489   NIKKI         THOMAS                   NC         90014413519
11B34915576B68   PEDRO         PEREZ                    CA         46039749155
11B34A46291569   MAURICIO      BORREGO                  TX         90010800462
11B352A9533699   JENNIFER      RORIE                    NC         12053832095
11B3586364B26B   KELSEY        TATRO                    NE         26025518636
11B36157A5B35B   KELSEY        BURKE                    OR         44563881570
11B36232961972   ANGEL         ROMAN                    CA         90015082329
11B3638864B555   DAVID         WILLIAMS                 OK         90009833886
11B36689191586   ROBERT        BARRIGHER                TX         90010876891
11B37361131635   DEBBI         GOODRICH-ADAMS           KS         22089983611
11B37583847873   DENISE        BENNETT                  GA         90011625838
11B37735A61972   DORINA        VARGAS                   CA         90011727350
11B3783169154B   CURTIS        VON                      TX         90012728316
11B37851872435   ROBYN         BEERE                    PA         51051768518
11B37A59733699   TONY          WHITFIELD                NC         12060420597
11B38114161958   MAYRA         PETERSON                 CA         46057461141
11B38257591895   VERA          LECLAIR                  OK         90013072575
11B3863122B966   GUILLERMO     VARGAS                   CA         90012986312
11B386A374B26B   PAMELA        FARRENS                  NE         26015846037
11B39495633699   RAMON         MORRIS                   NC         90009314956
11B397AAA72B62   KT            SPECIALIST               CO         90010407000
11B39A7895B35B   MELISSA       POLITOWSKI               OR         44569240789
11B3B275872B62   DAVID         BRUNSTON                 CO         33060212758
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11B3B43589154B   HARRY               COLLINS             TX        75040214358
11B3B672493724   JOSHUA              SCOTT               OH        90010056724
11B41393677539   KYLE                MCCONNELL           NV        90001223936
11B4143165B343   ALNAMMO             BAN                 OR        90012074316
11B42178472B62   CRYSTAL             KULP                CO        33082661784
11B4233184B259   ITZEL               LOPEZ               NE        90009903318
11B42887861976   MANUEL              SILVESTRE HURTADO   CA        90012038878
11B4294315B599   MARTIN              MALDONADO           NM        35085589431
11B42A9184B555   RHONDA              LEWIS               OK        21500650918
11B43388991895   ALANA               YOUNG               OK        21082693889
11B4358665B343   MARCOS              SALAZAR             OR        44551825866
11B43666643584   EMILY               HAMMOND             UT        90003346666
11B43721891569   LINDA EVA           SALAZAR             TX        90005487218
11B443A155715B   GRETEL              VALDESON            VA        90011653015
11B4478685B35B   JEFFRY              SHUPERT             OR        90010397868
11B447A2141384   FELIX               LLACUA              MA        90015277021
11B45139672453   ELISHA              WEST                PA        90012181396
11B4526732B966   PETER               EGBAIYELO           CA        90015252673
11B45989A61976   RAMON               BARRERAS            CA        46041029890
11B4657A461976   LUCIA               RODRIGUEZ           CA        90006285704
11B46874661958   RICARDO             AGUILAR             CA        90011918746
11B4794754B588   MARIA               OCAMPO              OK        90010739475
11B48188261972   TIFFANY             BRANCH              CA        90012941882
11B484A292B839   CHERIE              TIMMONS             ID        90014024029
11B48688572453   CODY                ZGORZELISKI         PA        90014646885
11B4913818B197   CAROLYN             SAMMANN             UT        31003801381
11B4916AA5B343   MARIA DEL SOCORRO   GOMEZ NAVA          OR        90010801600
11B4919673B722   KAREN               KILJANDER           WY        90014511967
11B4B118233699   JANAE               INGRAM              NC        90010851182
11B4B84777B489   ALFONSO             MOYA                NC        90011268477
11B4B95418B193   GREGORY             DIANE               UT        31016889541
11B5162275B526   ROBERT              ENCINIAS            NM        90013636227
11B51731761934   ALCIDES             TORRES              CA        46078317317
11B517A5A57147   MANUEL              VAZQUEZ             VA        90013297050
11B5185969154B   SUSANA              SALTERO             TX        75017728596
11B521A133B392   KEVIN               DORR                CO        90010051013
11B52237171932   LADON               WICKS               CO        90006362371
11B52288961972   GABRIEL             BAJONERO            CA        90014892889
11B52433576B68   MARIANO             SALAZAR             CA        46011264335
11B52623133699   WILLIAM             GADDY               NC        90008506231
11B53135857147   PEDRO               APARICIO            VA        81065301358
11B5331264B555   WENDI               ROOKS               OK        21549443126
11B53321561938   ISMAEL              ESPARZA             CA        90009793215
11B54197A33699   ANNIE               JOHNSON             NC        12089101970
11B54539431687   KIMBERLY            COTTON              KS        22092525394
11B54A61491569   RAFAEL              SIMENTAL            NM        90010460614
11B55432491895   VERONICA            WOLFE               OK        90014984324
11B5548467B489   ANNETTE             HARPER              NC        90007804846
11B5567394B26B   HILARY              STOUT               NE        26097996739
11B55A8835B154   PETER               GARVEY              AR        90013940883
11B56894757147   JESUS               CANO                VA        81016508947
11B5719AA47956   LANA                JOSLIN              AR        90011791900
11B57411772453   DONNA               GREENE              PA        90014654117
11B57487677539   BRITTANY            JOHNSON             NV        43000944876
11B5751282B966   ROSAIRA             GONZALEZ            CA        90013355128
11B57824491569   DAVID               TOLEDO              TX        90010248244
11B58A3598B193   DAVID               NECHAM              UT        90005040359
11B5929729154B   JOSE                MACIAS              TX        90012762972
11B59784561972   YANET               GONSALES            CA        90011247845
11B59821433699   ASHLEY              DAVIS               NC        90013348214
11B59A95672B62   JESUS               SOLIS               CO        90003190956
11B5B47267B489   CORDERRA            JOHNSON             NC        90014714726
11B5B876191569   JENNIFER            VILLA               NM        90009848761
11B61113491263   SHEENA              COUNTS              GA        90013981134
11B6131A461958   NAIDA               GASTELUM            CA        46007933104
11B625AA44129B   TIMOTHY             TATTERS JR          PA        51096895004
11B627AA74B26B   JAKOB               SCHUELKE            NE        90014727007
11B63311361972   JORGE               MEDINA              CA        90013803113
11B63378172B62   ANTONIO             SARMIENTO           CO        90013403781
11B63731172453   HEATHER             ALDERSON            PA        90014657311
11B63A29561938   HUMBERTO            GRIJALVA            CA        90013050295
11B6446A32B253   RODERICK            MYERS               DC        90000284603
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11B649A1A5B154   MATOSHA          SHERRER                    AR    90010949010
11B64A82291263   LATRELL          BUSBY                      GA    90013180822
11B6547297B489   NADINE           CARTER                     NC    11062924729
11B6555445B343   JESSICA          HAWASH                     OR    90007535544
11B65779861976   DORA CAROLINA    AU GALLEGOS                CA    90012227798
11B6655A961972   MARIA            SAUCEDO                    CA    90012295509
11B6662577B489   JOSE             MEDINA                     NC    11086866257
11B66745391895   TONYA            S COX                      OK    21005667453
11B6773865B343   FANNY            RONQUILLO                  OR    90010537386
11B67748472453   JOY              FRANTZ                     PA    90012697484
11B683A4572453   RUBY             RITMANICH                  PA    51025423045
11B68972561938   CHRISTOPHER      BURGESS                    CA    90014109725
11B693A744B26B   MARIA            PENA                       NE    26081383074
11B69427976B68   ABDIEL           LOPEZ                      CA    90008874279
11B69684757147   VICTORIANA       RAMIREZ                    VA    90012536847
11B6985812B336   TENESHA          WOOLFOLK                   CT    90014318581
11B6997997B489   ANNIE            KIMBLE                     NC    11061149799
11B6B196A4B588   BILLY E          LUTE                       OK    21551481960
11B6B2A8331635   MARIA            GARDEA                     KS    90010922083
11B6B32344B26B   ELYSE            HOYT                       NE    90012573234
11B7118A75715B   ELMER            HERNANDEZ                  VA    90004901807
11B7128A35715B   DEYSE            ASIN MELENDEZ DE PARIONA   VA    90012562803
11B7131832B966   LLUVIA           BAROCIO                    CA    90011413183
11B71888891895   DEBRA            STITIES                    OK    90001618888
11B71A8A99154B   JULIEANDRA REY   DUTCHOVER                  TX    90013780809
11B7212844B588   REBECCA          CARTER                     OK    90006371284
11B72255461958   DEANNA           STRICKELL                  CA    90005122554
11B7229439154B   DORA             ROBLES                     TX    90005392943
11B7233AA61976   KIRSTEN          WABSIS                     CA    90012353300
11B72382372453   JUDY             BEACHY                     PA    90014703823
11B72574731687   TYLER            COOPER                     KS    90012035747
11B7275A372453   PAM              EVANS                      PA    51089937503
11B72AA2576B68   ESTEBAN          MENDOZA                    CA    90002850025
11B73337761976   SHAYLENA         SIMPSON                    CA    46025883377
11B7337562B249   LAWAN S          SWEENEY                    DC    90000723756
11B73812891263   KENRICK          CHAMBERS                   GA    90010818128
11B74276691569   JUAN             MESA                       TX    90006082766
11B7429785715B   FEDERICO         RIVERA                     VA    90014322978
11B74439191524   VANESSA          AVILA                      NM    75040984391
11B74672A4B555   JAMILA           MILES                      OK    21596956720
11B75624472453   THOMAS           SENAY                      PA    90014696244
11B75644776B68   SALVADOR         NARANJO                    CA    46082616447
11B7565A761958   RHONDA           STALKER                    CA    46091096507
11B76327284332   AIN              CUTHBERT                   SC    90007773272
11B76337951337   BRIANNA          YOUNG                      OH    90012203379
11B7648675B343   HERIBERTO        RODRIGUEZ                  OR    90012574867
11B76624472453   THOMAS           SENAY                      PA    90014696244
11B7666295B526   GABRIELA         SANCHEZ                    NM    90014836629
11B76816391263   ANDREW           RONCO                      GA    90005288163
11B7848832B966   CASS             MONAY                      CA    90010864883
11B7849184B555   TRINH            DYE                        OK    90014654918
11B7859335B343   LUUL             ARALE                      OR    44502155933
11B78A3625B154   TYRONE           PENNINGTON                 AR    23040290362
11B7933895B35B   MUNA             MOHAMED                    OR    90009793389
11B79482A76B68   OLAJYNAI         BAILEY                     CA    90012864820
11B7992715B154   SHERRY           ALEXANDER                  AR    90008759271
11B7994A24B26B   MARIAH           RUSSELL                    NE    90011849402
11B7B22897B42B   SHELBY           JENKINS                    NC    90008402289
11B7B45552B966   TIFFANY          PEREZ                      CA    90009744555
11B7B5A3272453   KEVIN            NIXON                      PA    51072205032
11B7B82775B343   STEFAN           ROSQVIST                   OR    44559458277
11B7B88A25715B   CARLETHIA        WASHINGTON                 DC    90006368802
11B81582772453   ALYSSA           KOSEK                      PA    51011415827
11B8186374B588   MELONIE          ISAAC                      OK    90014608637
11B8212945B343   JAHNELLE         SMITH                      OR    90014741294
11B82723361972   SANTIAGO         OSUNA                      CA    90014397233
11B82A98A93745   TERESA           CANTER                     OH    90014010980
11B8314137B489   LEENINNA         ABRAHAM                    NC    90014461413
11B83A15672453   MICHAEL          CAMPBELL                   PA    51083540156
11B84297A5B154   TOD              BILLINGS                   AR    23001842970
11B84387161938   BOBBY            CALICOY                    CA    46016693871
11B8444A95B188   MIKE             LAMON                      AR    90011114409
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11B8445555B35B   MICHAEL       WILLIAMS                 OR         90000434555
11B84516561976   VILMA         APOSTLE                  CA         90008605165
11B84755551337   PAM           MALPASS                  OH         66016857555
11B84A4675B526   BRIAN         MANGUM                   NM         35007310467
11B85114A2B966   LETTY         RAMIREZ                  CA         45026041140
11B85387972453   ALICIA        EDWARDS                  PA         90014343879
11B8549294B259   HEATHER       COLON                    NE         90001234929
11B85611351337   CHRISTOPHER   PADGETT                  OH         90014986113
11B8599835B154   MIANNA        HOLMES                   AR         90014469983
11B85A3AA51337   MARK          PETREY                   OH         90000260300
11B86663A4B26B   LAUREN        GARRISON                 NE         90013376630
11B8682AA2B966   REGINA        GARCIA                   CA         90009158200
11B8728299154B   DERICK        CAMACHO                  TX         90003202829
11B874A274B26B   DAVID         GIBSON                   NE         90002094027
11B8762245B526   LYDELL        BENALLY                  NM         35094926224
11B87788876B68   OSCAR         RIVERA                   CA         46037027888
11B87811A31687   SAIDA         RODRIGUEZ                KS         90012838110
11B88299272B62   DOMINICK      VELASQUEZ                CO         90010802992
11B8848865B35B   JULIE         DIETZ                    OR         90005394886
11B8915594B259   JOHN          MAHLER                   NE         90006511559
11B89164961972   MELODI        CLARK                    CA         90012741649
11B8962195B389   WILLIAM       PACKARD                  OR         90007926219
11B89711676B68   JOSE          BLANCAS                  CA         46023657116
11B89A3AA51337   MARK          PETREY                   OH         90000260300
11B89AA342B966   GEORGE        MARTINS                  CA         90006880034
11B8B141376B68   DANIEL        RODRIGUEZ                CA         46067721413
11B8B15A761972   MIRNA         VALDIVIA                 CA         90012621507
11B8B995261938   PAYGO         IVR ACTIVATION           CA         90014109952
11B91127757147   AZEDDINA      ABOULHAJ                 VA         90014481277
11B91456A61958   LUWANA        MESA                     CA         90014884560
11B91874951337   SAKINAH       WILLIAMS                 OH         90010258749
11B92346761976   MICHELLE      TRUJILLO                 CA         46075493467
11B9248A62B966   JOSE          RAMIREZ                  CA         90013954806
11B9253585B343   DONALD        WELCH                    OR         90010875358
11B92A1357328B   RODOLGO       PELAEZ                   NJ         90015350135
11B92A4792B966   JOSE          RAMIREZ                  CA         90013840479
11B92AA9461972   DANNY         DANIELS                  CA         90000640094
11B93177672B62   LISA          BEEBE                    CO         90013781776
11B93818961976   JOSE          SEGURA                   CA         46040428189
11B93988854144   CHRIS         JOHNSON                  OR         90014269888
11B94411772453   DONNA         GREENE                   PA         90014654117
11B95317961958   PALOMA        SANCHEZ                  CA         90011823179
11B95322A61938   FRANCISCA     DELVILLAR                CA         90014673220
11B95598991895   BILLIE        LUGO                     OK         90008585989
11B9568355B526   JOSE          RAEL                     NM         90013026835
11B95873791569   MAYRA         RIOS                     TX         90002668737
11B96547847956   JOHN          WEST                     AR         24084335478
11B96641A91263   PATRICIA A    JOHNSON                  GA         90014246410
11B969A6551337   BRENT         MILFORD                  OH         66015839065
11B97511193745   ELIZABETH     YEARSLEY                 OH         64517855111
11B9761824B555   MARILYN       MOUSER                   OK         90002746182
11B978AAA61938   MARIA         D MERAZ                  CA         90014168000
11B981A734B26B   HANNAH        MOLLER                   NE         90005801073
11B98483A93745   NICOLE        CHALMERS                 OH         64543604830
11B98623872B55   LEYDY         CASTRO                   CO         90003416238
11B98792591524   AILEEN        ORTIGOZA                 TX         90014677925
11B98816A91569   IRVING        LOYA                     TX         75077198160
11B98839A61938   IRENE         ALVAREZ                  CA         90011598390
11B99322A61938   FRANCISCA     DELVILLAR                CA         90014673220
11B993A7972B62   ASIA          MENDOZA                  CO         90010803079
11B9972248438B   LEVLLE        MINUS                    SC         90010967224
11B9983564B588   BRENDA        BARRIOS                  OK         21594638356
11B9B171761958   OCNYS         JAMES                    CA         90012751717
11B9B573191569   RAUL          HERNANDEZ                TX         75040425731
11B9B77775B154   CAMERON       DAVIS                    AR         90014857777
11B9B99445715B   NICOL         NGUYEN                   VA         90013279944
11B9B994557147   JEANETTE      AMES                     VA         90013689945
11BB1355491895   CYNTHIA       SMITH                    OK         90015303554
11BB1355891895   ISABEL        MARTINEZ                 OK         90009423558
11BB1536177539   JEANETTE      BRADFORD                 NV         43063185361
11BB1923561958   MEGAN         SKIRVIN                  CA         46072609235
11BB2182933699   TIMOTHY       MANNING                  NC         90011101829
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11BB257894B588   VICKIE       MURRAY                    OK         90008455789
11BB2645572435   RENEE        RICE                      PA         51008276455
11BB3117693745   JOSEY        WARNER                    OH         64529871176
11BB3219151337   JAIME        BALLARD                   OH         90006152191
11BB349615715B   SONIA        GONZALES                  VA         81095404961
11BB353857B489   DEVIN        CHERRY                    CA         90013915385
11BB3579161958   JULIO        LUCIANO                   CA         90012885791
11BB3933833699   PAYGO        IVR ACTIVATION            NC         90013549338
11BB4418261972   ANGELINA     GARRETT                   CA         90007374182
11BB4957461958   JOSE         PEREZ                     CA         90013629574
11BB5224A57147   GUSTAVO      GONZALEZ VARGAS           VA         90001842240
11BB571477B489   ADRIAN       GONZALEZ                  NC         11095977147
11BB7342691895   REYNALDO     RODRIGUEZ                 OK         90000763426
11BB7721576B68   EDITH        FLOYD                     CA         90009427215
11BB7786A5B154   MICHELLE     MAXWELL                   AR         90014337860
11BB81A352B869   CHELSEE      BROADBENT                 ID         41070211035
11BB842484B26B   CURTIS       SORGE                     NE         90005914248
11BB842A22B966   MICHAEL      MCKENZIE                  CA         90012644202
11BB8819A31687   KIRSTIN      THOMAS                    KS         90010958190
11BB9558976B68   MARGARITA    MENDIOLA                  CA         90015185589
11BB956815715B   JOSE         REYES                     VA         90014855681
11BB9691961958   JAVIER       QUINONES                  CA         90009776919
11BB9755351337   ALEXIS       CALDWELL                  OH         90012397553
11BB985484B555   DENETRIA     OLIVER                    OK         21551468548
11BB996455B274   AMBER        MARTIN                    KY         68050139645
11BBB9A789154B   PHILLIP      GONZALEZ                  TX         90014959078
11BBBA4385B154   MUVEEMP      MELISSA BURAGE            AR         90003950438
11BBBA69691895   ALLEN        HILL                      OK         90005140696
12112A1769154B   DAVID        JARAMILLO                 TX         75017750176
12112A33961976   ADRIANA      CRUZ                      CA         46011680339
1211322374B588   TYLER        WAXLER                    OK         90015132237
121136A4272B62   LAMAR        THOMPSON                  CO         90000176042
1211415347B489   KAYE         JACOBO                    NC         90011071534
1211526AA91895   SAMUEL       SARSENO                   OK         90013282600
1211726A257147   ANSUMANA     SOLOKU                    VA         90013602602
1211743A73B393   PAULA        KELLEY                    CO         33016724307
12118945A9154B   CESAR        ADRIANO                   TX         90014629450
1211994427B489   DEVONTAE     LAWRENCE                  NC         90014379442
1211B28555B526   LUZMARIA     DUARTE                    NM         90013962855
121216A919154B   LUIS         CEJA                      TX         90010826091
12121714776B68   RON          MORRISON                  CA         90003927147
1212189685B154   KIMBERLY     HOLIDAY                   AR         90013708968
12121A39A76B68   MEGAN        MORRISON                  CA         90013680390
12121A74A61976   KALIN        HONDA                     CA         90014950740
12121A96333699   BARBARA      WRIGHT                    NC         90012490963
121226A4331687   NICHOLAS     MCKISSACK                 KS         22075746043
1212271795715B   WALTER       JUAREZ                    VA         90001437179
12122AAA755976   JEREL        MITCHEM                   CA         90013910007
121239A3261976   NISE         BAHENA                    CA         90012939032
1212445925B526   RAFAEL       MARTINEZ                  NM         35083224592
12124764524B7B   CHARLES      WEBB                      VA         90013147645
1212539279154B   DONNA        LOPEZ                     TX         90013953927
1212545817B274   DANIEL       CENTERS                   NV         90015264581
12125A86A4B588   CLIFFORD     ROGERS                    OK         90013060860
1212645A95B526   CECIL        RIGGS                     NM         90015194509
1212657175B282   MARY         SEATON                    KY         68036645717
121265A1A47956   DORTHY       WRIGHT                    AR         90013515010
12126853776B68   LIZBETH      REYES                     CA         46067958537
12126A3927B489   JERACI       GIBBS                     NC         11014420392
1212753428B179   RUBEN        ARREDONDO                 UT         90007625342
12127854A91263   KEI          OLSEN                     GA         90007548540
1212796475B285   TAMIA        WATTIS                    KY         90011219647
12128278A55948   ANTONIO      MARTINEZ                  CA         90014792780
12128A8365B526   MELISA       RODRIGUEZ                 NM         90014780836
12129319A51337   KIANA        KIETH                     OH         90009513190
1212989A24B588   PHROMAS      MORGAN                    OK         90015038902
12129A46747956   MARTHA       VAQUEZ                    AR         90011880467
1212B245555948   MICHELLE     PURKEY                    CA         90014792455
1212B454672B28   JOSE         ARMADO                    CO         90012684546
1212B625447956   CLYDE        YBARRA RUELAS             AR         90007326254
1212BA6A95715B   MICHAEL      ERMEL                     VA         90010420609
121315A5191895   MISTY        FRICK                     OK         90006385051
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121321AA957147   MARCO           ESCOTO                 VA         90013681009
1213346644B26B   AKUOT           AYE                    NE         90014964664
121337A659154B   BELINDA         MORALES                TX         75071767065
1213398565715B   ROBERTO         SANCHEZ                DC         90009379856
1213439694B588   LINDA           CORDOVA                OK         90001683969
12134A7124B588   GENEISKA        BUTLER                 OK         90013270712
121352A7372B62   ALYSSA          SANCHEZ                CO         33053692073
12138A72291895   FAITH           QUALLS                 OK         90011290722
12139453A77539   AMBER           CARSON                 NV         90012344530
1213B785593745   JEREMY          TOWE                   OH         90012367855
1213B8A5791569   ESMERALDA       ARRIAGA                TX         90014448057
1213BAA6A5B154   JOSE            GONZALEZ               AR         23005990060
1214128A272435   ERIK            PULKOWNIK              PA         51086492802
12141399A61976   REYNA MARIBEL   HERNANDEZ              CA         90010863990
1214155197B489   KELLY           JORDAN                 NC         90008805519
12141735A93745   KAYLA           RICK                   OH         90009847350
1214189624B588   CELIA           LOPEZ                  OK         90012488962
121419A6676B68   JASMINE         CABRERA                CA         90013019066
1214283A861938   ARTURO          OSEGUERA               CA         90000638308
1214363A831479   BARBARA         FISHER                 MO         90009496308
12143A17193745   JEANETTE        MAXON                  OH         90006190171
12143A36861938   LOUIS           ROSADO                 CA         90011240368
12143A41872B62   ARACELY         VARELA                 CO         33089080418
1214471A831456   CORY            SCHAFER                MO         90001677108
121454A5793745   ELIZABETH       NICKELS                OH         64570094057
1214561AA61976   JULIO           VALLE                  CA         90010226100
12146929272B62   GARY            BLAKESLEE              CO         33036329292
121473A645715B   KELLY           ESCOVAR                VA         90010983064
121476A8772B33   JOE             EDWARDS                CO         90002046087
12147A53191569   ALICIA          CASTILLO               NM         90009740531
12148736A61958   ANDRES          PONCE                  CA         90014187360
1214928724B588   KEISHA          ROBINSON               OK         90013902872
1214B165961976   JULIO           MAGANA                 CA         90013451659
1214B298747956   THERESA         DOENGI                 AR         90012622987
1214B944333699   TEMPESTT        WALLACE                NC         90010009443
121513A4A47956   TERRY           HICKS                  AR         90013593040
12151764A91895   RICHARD         LUDLUM                 OK         21091887640
12151A82793745   ARTIS           LOVE                   OH         90010940827
1215212665B526   FANIA           PEREZ                  NM         90011871266
121522A919154B   ROCIO           HINOJOSA               TX         75066922091
12152388272B55   ZALMA           DIAZ                   CO         90003443882
12152642872B34   PAULA           ROMERO                 CO         33075876428
12153388272B55   ZALMA           DIAZ                   CO         90003443882
1215356375B526   ROBERTA         GONZALEZ               NM         35001645637
12153A47A91263   VICTOR          ROGERS                 GA         90014700470
121544AA372435   LINDA           LINDERMAN              PA         90002934003
1215454514B26B   DEBRA           MERKLEY                NE         90014675451
121549A412B889   CHRISTOPHER     GARCIA                 ID         90002299041
12154A22447956   ANITA           MIDDLETON              AR         90014700224
12154A63161972   MIGUEL          DE LEON                CA         90008660631
12155145A55948   JUAN            QUINTERO               CA         90001011450
12155454276B68   ANDRES          RODRIGUEZ              CA         90010914542
1215564847B489   KATENDE         WEMBI                  NC         90015266484
12155724672B55   CURTIS          DARWIN                 CO         90007167246
1215729A576B68   JULIE           JOHNSON                CA         90011212905
12158925176B68   JAMIE           MARCHBANKS             CA         46010339251
1215922749154B   ROCIO           SANTA CRUZ             TX         90014492274
121592AA55B526   DANIELA         SILVA                  NM         90010452005
1215B35297B489   ALBERT          MOSELY                 NC         90014893529
1215B85727B489   ALBERT          MOSELY                 NC         90014018572
12161A95484375   MARIAN          BYRD                   SC         90005480954
1216245A751337   TAMMY           DAY                    OH         90000414507
12163272872B3B   ANGELA          DELUNA                 CO         90009272728
1216333949154B   MAITE           SEGOVIA                TX         90013173394
1216448A976B68   BRAULIA         ALVAREZ                CA         90004994809
1216469A355948   JOSE            ROMAN                  CA         90014806903
12165367876B68   ANDRES          GALLEGOS               CA         90012853678
1216711A89154B   ALICIA          CASAS                  TX         90012471108
12167345A76B68   MARIO           RODRIGUEZ              CA         46029493450
1216813139154B   AMBER           ORTIZ                  TX         90009811313
121684A1555976   RUBEN           PRADO                  CA         90015214015
12168A7A191895   TRIVETTE        SPEED                  OK         21087370701
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1216933949154B   MAITE               SEGOVIA            TX         90013173394
1216B359A91569   JOEL                MONTELONGO         TX         75091073590
1216B39A37B489   TOMMY               MCKINNEY           NC         11080913903
1216B597857147   ALEXIS              SANTOS             VA         90010785978
1216B65195B526   RAMON               LOZANO             NM         90014926519
1217212662B966   TONY                MAJOR              CA         90005871266
12172792672B62   JORGE               PICAZO-SANTANA     CO         90013547926
12173767A61987   VIVIANE             MORIANO            CA         90006097670
12173A35455976   KRYSTLE RUBY        RODRIGUEZ          CA         90013530354
12173A4184B547   JESUS               CASTANEDA          OK         90006350418
1217448114B922   BAXTER              TOLIVER            TX         76512984811
121744A627B489   JOANNE              LOWRY              NC         11081374062
121745A9757B59   ELIHZABETH          CASTELLANOS        PA         90013955097
12174648A4B26B   JUAN                PEREZ              NE         90015146480
12174686A57147   DONNETTA            WALTON             VA         90002016860
121746A9761972   GUSTAVO             RIVERA             CA         46005706097
121753A167B489   JUSUS               BERA               NC         90015313016
1217616949154B   MARGARITA           GARCIA             TX         90015121694
1217632435B526   ANA                 CANALES-BERNADAC   NM         90011863243
1217654744B588   ALICE               AGBOR              OK         90008365474
121765A3A97B48   ISMELDA             CARRASCO           CO         90001645030
12177134772B55   BASURTO VICTORINO   TRACY              CO         90006621347
1217737A391895   AMANDA              BROWN              OK         90014613703
1217751A557147   YOVANI              ARDON              VA         90008125105
12177A19433699   LISA                STINE              NC         12051430194
12178145A55948   JUAN                QUINTERO           CA         90001011450
12179296A57124   JOSE                PORTILLO           VA         90003132960
1217B152276B68   NANCY               MENDOZA            CA         46055581522
1217B19994B26B   MARSHAWNE           NIMOX              NE         90014621999
1217B363347956   MARLENE             CABRERA            AR         90011113633
1217B93145B55B   CHRISTINA           TORRES             NM         90012789314
1217B97474B922   CHYSTAL             HORN               TX         90011089747
1218294A65715B   QUASSIN             KAVIL              VA         90009009406
12182A7469154B   ANGEL               HINOJOS            TX         90011030746
12183554A4B588   PAYGO               IVR ACTIVATION     OK         90008355540
121835A5172B62   OLGA                BALDENEGRO         CO         33021385051
12184596676B68   YONALIN             ARREGUIN           CA         90013015966
121851A2561972   ASCENCIO            PADILLA            CA         90007561025
12185813A5715B   JOSE                LOPEZ              VA         90011868130
121858A6176B68   SANTIAGO            VEGA               CA         90014608061
12186392A55976   WILLIAM             STONE              CA         49075523920
12186732472B55   CHRIS               GEORGEL            CO         90007167324
1218732747192B   CARLA               MIKUS              CO         90008633274
1218828774B26B   KANEESHA            MOTTON             NE         90013642877
1218849828B138   CORY                RIGGS              UT         31001814982
121884A1555976   RUBEN               PRADO              CA         90015214015
12189181172B62   EVA D.              GEMME              CO         33050501811
121894AA89154B   FRANCISCO           BONILLA            TX         90013954008
1218988A39154B   LETICIA             HERNANDEZ          TX         90014038803
1218B34415B526   JASON               BACA               NM         35004923441
1218B48954B23B   SHAUNESSY           HENDERSON          NE         90008174895
1218B491272B62   MARCELA             SAUCEDO            CO         90013894912
1218B68A79154B   MARIA               SERRATO            TX         75040346807
1218B923757B59   CANDIDO             PACHECO-PEREZ      PA         90013939237
12192A3A372B55   OSCAR               BARAJAS            CO         33085750303
1219353A772B62   CHRISTINE           MORAN              CO         33015555307
12194451272B55   BENILDE             BUSTAMANTE         CO         33027754512
121944A6A4B26B   AMBER               MCFEE              NE         90011014060
121955A4A72435   KATHRYN             STRENKOWSKI        PA         51046815040
1219598537B489   CRISTINA            ESPINO             NC         90014779853
12195A6A455976   ELENA               SILVA              CA         49097170604
1219738825715B   CORATON             TESALUNA           VA         90010403882
1219744634B588   BENNIE              ANDERSON           OK         21592184463
1219845A672B62   KAROL               QUAGLIATO          CO         90011374506
1219974958598B   GLEN                CAUDILL            KY         90014907495
1219B176493745   BRITTANY            REYNOLDS           OH         90013871764
1219B371261938   JORGE               RAMOS JR           CA         90012093712
1219B735791263   GARY                FLOYD              GA         90009057357
1219B945672435   ROBIN               PARADY             PA         51002029456
121B115955B355   VLADMIR             CHUPROV            OR         44013591595
121B1952761976   RAUL                MERCADO            CA         90005039527
121B3A47455948   BIVIANA             TORRES             CA         90012280474
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121B3A86491569   EDGAR        ACOSTAR                   TX         90011940864
121B413127B449   LETOYA       RHINEHART                 NC         90001521312
121B4213791569   HECTOR       GARCIA                    TX         75005772137
121B4721A55948   ERIC         MINCH                     CA         90004917210
121B495A972458   TODD         RUSH                      PA         90000849509
121B612125B154   SUBRENIA     FISHER                    AR         23085021212
121B6369A76B68   RON          FORD                      CA         90012373690
121B638959154B   DAVID        SANCHEZ                   TX         90013953895
121B6513833699   DARRIUS      BOGANS                    NC         90014915138
121B738494B588   CARLIS       SCRUGGS                   OK         90005513849
121B738959154B   DAVID        SANCHEZ                   TX         90013953895
121B7614A5B154   DENNIS       ADAMS                     AR         90007946140
121B8776161972   BRANDON      ECIJAN                    CA         90010007761
121B9158857147   THERESA      WASHINGTON                VA         90013181588
121B9359376B68   MARISOL      SANCHEZ                   CA         90015243593
121B9363891949   FREDY OMAR   REYES                     NC         90009163638
121B983229154B   AVELINA      DELGADO                   TX         90014158322
121B9839972B27   KARLY        MALPIEDE                  CO         90005968399
121B9875155948   CHAD         MINCH                     CA         90004918751
121B9AA4193725   ANTHONEY     JONES                     OH         64563290041
121BB3A3491895   TY MESHA     MARTIN                    OK         90006013034
121BB51A89154B   ALEJANDRO    HERRERA                   TX         90012245108
121BB611877539   ALTA         PEASLEE                   NV         43069066118
121BB6A2761958   JENNIFER     CONCEPCION                CA         90014436027
121BB745791569   ESTHER       ANTONINE                  TX         90011777457
121BB9A8876B68   JORGE        MOZO                      CA         90013299088
1221196612242B   MARTINA      HERRERA                    IL        90014629661
122122A657B47B   DEMARIO      HUNTLEY                   NC         90014702065
122123A3391895   RACHEL       ADAMS                     OK         21093083033
1221366145B526   VIRIDIANA    QUEZADA-MADRID            NM         90013796614
1221389559124B   KATINA       SMALLS                    GA         90003478955
122139A1661972   CRISTIAN     RUIZ                      CA         90010279016
12213A18955948   MARY         WOODWARD                  CA         90014840189
12213A55291569   OSCAR        ORTIZ                     TX         90014510552
1221459235B526   MARK         GUEVARA                   NM         90013265923
122146A6561938   WILLIAM      WEAVER                    CA         90005196065
12214A11976B68   CARLOTA      CASTRO                    CA         90014840119
12214A2857B489   REJINE       NORRIS                    NC         90013450285
1221521A693745   TYLER        BROADDRICK                OH         90011072106
12215638A4B592   KERRY        LAVALLEY                  OK         90013736380
12215847A72B34   TERESA       JAVADI                    CO         90012468470
12215A76331687   RAQUEL       MARTINEZ                  KS         90013230763
1221625425B385   JORGE        CALZADA-MARTINEZ          OR         44014662542
12216433624B7B   EDUARDO      MARCELLUS JOSEY           DC         90010304336
12217AA7593745   BRANDON      SUPINGER                  OH         90010990075
12219384172B55   MARIA        PEREZ                     CO         90010813841
1221945564B23B   ROBERT       COLEMAN                   NE         27008624556
1221962157B489   RHONIQE      MISSOURI                  NC         90007556215
1221965525B526   JUANITA      LUCERO                    NM         35080796552
1221991857B489   EUGENE       SMALLS                    NC         90012709185
1221B27657B489   RAUL         GONZALEZ JAVIER           NC         11082172765
1221B36894B588   DON TRAY     ROBINSON                  OK         90015473689
1221B424791569   ESTER        GALVAN                    TX         90008284247
12221397172B62   AARON        SCHUETZ                   CO         90013513971
1222187A261976   ADELA        BERGHOLZ                  CA         46042938702
1222227862B966   JESUS        VALENZUELA                CA         45063892786
122223A2991895   FRANCHESKA   CARTER                    OK         90011443029
1222327862B966   JESUS        VALENZUELA                CA         45063892786
1222332AA72B27   LUCIA        MADRIGAL SANCHEZ          CO         90002953200
12224A3179154B   BLANCA       ESQUIVEL                  TX         75084250317
12227192472B2B   MARY         BARTON                    CO         90010091924
12227475A72484   AMANDA       GEORGE                    PA         90007924750
1222816195715B   JUAN         RAMIREZ                   VA         81019101619
1222873A257147   JOSEPHINE    KERNS                     VA         90008557302
1222897415B195   MICHEAL      ASHCRAFT                  AR         90006409741
1222999854B26B   MANDY        BENNETT                   NE         90001419985
12229A98361938   JUANA        SANTOS                    CA         90014850983
1222B233457122   REYES        TEO LOPEZ                 VA         90005762334
1222B415791263   PAMELA       HOLLOWAY                  GA         90012894157
1222B844151337   MARK         GIAR                      OH         66099238441
1223111539154B   NORMA        DE LOERA                  TX         90012471153
1223154879154B   CASSANDRA    GUTIERREZ                 TX         90014705487
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12233258A57147   NORMA               BONILLA            VA         90004722580
1223716A84B922   CLARA               GILLEY             TX         90012321608
12237435A91569   ROBERT              WEBER              TX         90011084350
1223757945715B   STEVEN              FYVIE              VA         81017755794
12237667A7B462   KARON               KENNEDY            NC         90006766670
12237921476B68   SABRINA             ABDELMALEK         CA         90014409214
122382A4755976   PAYGO               IVR ACTIVATION     CA         90015232047
122382A8761972   RICH                ANDERSON           CA         90012032087
122389A2391263   AYESHA              DANIELS            GA         90000609023
1223911449154B   GILBERT URIAN       ARELLANO           TX         90011971144
1223949A657147   SYLVIA              QUINTANILLA        VA         90010134906
12239519176B68   NIKKI               WARD               CA         46009005191
12239761572B34   WENDY               MONTGOMERY         CO         90002327615
1223B711372B62   RACHEL              TRUJILLO           CO         33061907113
1224177795B526   MARIA               UDERO              NM         35096897779
12243125972B62   REBBECA             HARDIN             CO         90015181259
1224388A39154B   ARACELI             BRACAMONTES        TX         90005928803
122449A7591895   VALISA              WATSON             OK         21066929075
1224512A59154B   IVONNE              GARAY              TX         90011031205
12245443572B62   MARIA               GUADALUPE          CO         90014844435
1224613354B588   DAVID               WILLIAMS           OK         90011371335
12246414A9154B   WTF                 WELDING            TX         90013954140
12246A8365B526   MELISA              RODRIGUEZ          NM         90014780836
12247152772B37   ANDREW              MCGREW             CO         33069471527
1224773912B966   FELICITAS           MARTINEZ           CA         90003747391
1224791315715B   LEICHAVONN          CAMPBELL           VA         81038109131
12247A46333699   CHRISTOPHER         EVERETT            NC         90013130463
1224839194B588   ALMA                ROSAS              OK         90001603919
12248511172B4B   EDDIE               GUZMAN HERRERA     CO         90001535111
12249A88172B27   CHAR                SCHMITZ            CO         33026730881
1224B25699154B   BLANCA              LUJAN              TX         90005202569
1224B452757147   ANNIE               KIM                VA         90012584527
1224B671461938   HAZEL               MUSES              CA         90014046714
1224BA11191263   ALTHEA              BROWN              GA         90013750111
1224BA9695B522   ELOY                BAEZA              NM         90009150969
12251862A76B68   JONATHAN            GUILLEN            CA         90008778620
122519A444B26B   ARTURO              DELACERDA          NE         90012109044
1225295A74B26B   SAMANTHA            VENHAUS            NE         90012509507
12253269A4B588   MICHELLE            STEVENSON          OK         90015552690
12253A69561938   MANUEL              GARCIA             CA         90010230695
1225448154B26B   JEFF                NEHLS              NE         26058674815
12256513772B62   TIARE               CANON              CO         33043645137
12257391A61972   QUINTON             WIMBERLY           CA         90007423910
1225754A391895   SANMIGUEO           ESPARZA            OK         90011295403
1225829134B588   JOSE                GONZALES           OK         90007972913
12258589A55968   RUDY                CONTRERAS          CA         90005885890
1225882315715B   GARY                HAMMOND            VA         90011508231
1225917797B489   MARIA               TOVAR              NC         90013921779
122594A1555976   RUBEN               PRADO              CA         90015214015
1225961429154B   IRENE               GOMEZ              TX         90014576142
1225975A24B588   YANI                MENDOZA            OK         90014847502
1225B246755948   JUAN                GARCIA             CA         90014882467
1225BA1516B262   MICHAEL             HOLMES             AZ         90014100151
1226114A691526   JEAN                LOZEAU             TX         90008101406
1226143912B242   CHUCK               JACKSON            DC         90007014391
12262245776B68   NATHANIEL WILLIAM   MILLER             CA         90014722457
122625A3991569   STEVEN              BELTRAN            TX         75000295039
122628A6991586   ANGEL               GANDARA            TX         75000108069
12263397A61938   JOSE                ALAMAN             CA         46000063970
122637A5876B68   FEDERICO            HERNANDEZ ROJAS    CA         46009107058
1226385867B489   DESI                BRYANT             NC         11061728586
1226412325B526   OSMAN               GALAVIZ            NM         35081051232
1226442719154B   ANTONIO             MORALES            TX         90013954271
1226521A49154B   ALVARADO            YARID              TX         90006472104
1226558885715B   JOSE                AMAYA              VA         90011325888
12266249A9154B   JOSE                RODRIGUEZ          TX         90012962490
122666A2A7B489   MICHAEL             TAPIA              NC         90013176020
12266844576B68   DAVID               TORRES             CA         90014608445
1226759A64B922   CAMAY               MAGGINNIS          TX         76518395906
12268828A93745   JONATHON            HOUCK              OH         90010998280
12269268772B77   BILLY               ERDENE             CO         33047912687
12269679772B62   LORENA              HOLLE              CO         90010236797
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1226B176293745   TERRY        FIELDS                    OH         90014551762
1226B647971925   YVONNE       CHAVEZ                    CO         38040916479
1226BA58576B68   MARIA        HERNANDEZ                 CA         90014170585
1227142899154B   BERTHA       LOPEZ                     TX         90013954289
12271A47951337   TERRANCE     HALL                      OH         66027800479
12271A87772B62   MELISSA      GENTRY                    CO         33006050877
1227341A261976   LILIANA      MACIAS                    CA         90010874102
122735AA857147   NARSIZO      MENDOZA                   VA         90015115008
1227443199154B   KRIS         REYNOSO                   TX         90013954319
1227517125715B   NICOLE       ANDREWS                   VA         90000541712
12276811972B33   RAMONA       RIVAS                     CO         90012598119
1227767613B393   MEHARI       ASRES                     CO         33070796761
12278314376B68   PRAGEDIS     OLMEDU                    CA         46009143143
1227893385B154   KIM          BRANCH                    AR         23048709338
12278988572B34   ALEXANDER    GOROG                     CO         33035459885
12278A88691569   MIREYA       LEYVA                     TX         90012660886
12279353A72453   ALEX         ASHLEY                    PA         90010533530
1227B413272B55   JULIO        GUTTIEREZ                 CO         90001074132
1227B496791263   LEROY        GIBBONS                   GA         90011004967
1227B836447956   JASON        WORKMAN                   AR         90014358364
12281763A7B489   LISA         DANZY                     NC         90012797630
12282947A4B537   MARSHA       OTAMIRI                   OK         90012929470
12282A25841384   BRIAN        STANARD                   MA         90014030258
12283A48991547   IVONNE       LUCERO                    TX         90008700489
1228425444B922   MELISSA      HEARTFEILD                TX         90011032544
122844A295B526   MARTIN       BAUTISTA                  NM         90012434029
1228497877B489   MONTANA      SMITH                     NC         90013299787
12284A9244B26B   JOSH         JOHNSON                   NE         26036270924
12284A98361938   JUANA        SANTOS                    CA         90014850983
12285658572B62   LUIS         MORALES                   CO         33039596585
12286377972B62   LINDA        CARRASCO-JIMENEZ          CO         33026923779
122891A4561998   JUAN         LICONA TERRAZAS           CA         90001461045
12289581872B55   TARA         ASHBY                     CO         90009755818
12289A13977539   JOAQUIN      GONZALEZ                  NV         90001330139
1228B382A93745   STEVEN       GOETZE                    OH         90013543820
1228B5A4561972   ERIC         BERNARD                   CA         46017605045
1228B944A5B526   IVAN         FERNANDEZ                 NM         90015359440
12291191476B68   GLENN        BUTLER                    CA         90014631914
122917A4A4B588   CATRINA      JACKSON                   OK         90008327040
1229251A476B68   MARIA        ROBLES                    CA         90010205104
1229264722B239   ELIZAH       HUNTER                    DC         90004316472
1229271745715B   JESSICA      NOONE                     VA         90008307174
12293376A91263   BILLY        SHERIDAN                  GA         90015503760
1229423A755948   LESLIE       REED                      CA         49011182307
12294649672B55   DAN          MYRICK                    CO         90003446496
1229519425715B   ANDRES       SORTO                     VA         90002031942
1229631987B489   RAYMOND      HALL                      NC         90004643198
1229694A193745   NICOLE       CAVANAUGH                 OH         64561619401
1229713444B26B   CHRISTINE    OLSON                     NE         26091661344
122975A3147956   JOSE         HERNANDEZ                 AR         90007945031
1229824175B154   HILAE        BROWN                     AR         23007752417
1229898A161972   MOUTE        HULL                      CA         46005159801
12298A83391586   ULISES       GUTIERREZ                 TX         90009070833
1229922799154B   FRED         PAEZ                      TX         90015182279
122992A1191263   GERQUITA     DAVIS                     GA         90015502011
1229953264B254   JON NIELLE   ALLEN                     NE         90010935326
12299632A5715B   ELMER        OROZCO                    VA         90007126320
1229986A35B526   SUSANA       HEREDIA-LOPEZ             NM         90014328603
122998A5631956   EDDIE        STALLINGS                 IA         90013738056
122B221754B23B   RUTHIE       COOPER                    NE         27088462175
122B2971261938   DURAJELL     OMEGA                     CA         90014139712
122B351A557147   YOVANI       ARDON                     VA         90008125105
122B367723B359   RICHARD      VARNER                    CO         90011626772
122B3736A84375   GLENDY       RODAS                     SC         90014757360
122B4228151337   STEPHANIE    MCGUIRE                   OH         90009822281
122B426A84B23B   VIVIAN       HOLLIMAN                  NE         27049812608
122B442555B334   DAVE         BROWN                     OR         90006394255
122B4872A71976   MARIA        RIOS                      CO         90014318720
122B4911861958   STEVE        BEJARANO                  CA         90005889118
122B49AAA91895   BEAU         BRENT                     OK         90014639000
122B5189561958   MARA         SARABIA                   CA         90004731895
122B53AA77192B   PAUL         HOLSTINE                  CO         90000363007
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122B5536861938   HIEU         NGUYEN                    CA         90003785368
122B5735A72B55   RAMIRO       ARZOLA                    CO         90013507350
122B627974B588   TONYA        LONGO                     OK         90011002797
122B6757791852   TAMMY        COOKS                     OK         90013457577
122B6AA7593745   BRANDON      SUPINGER                  OH         90010990075
122B7737555948   MIRTA        MELGOZA                   CA         90013557375
122B78A4476B68   JOSEMANUEL   ABARCA                    CA         90010088044
122B8627961958   MIGUEL       GOMEZ                     CA         46047496279
122B931852B966   CHRISTINE    MILLER                    CA         90005873185
122B938164B26B   ADRIA        SHELDON                   NE         26065573816
122B9541791895   SHAREE       NELSON                    OK         90008545417
122B9697361972   NATALIA      HERNANDEZ ROMERO          CA         90011506973
122B992454B26B   NONYEA       SMITH-HOLDEN              NE         90015039245
122B99A1972458   RALPH        SINNAMOND                 PA         90012189019
122BB139793745   RICH         CORPAC                    OH         90009511397
122BB241661976   SAMUAL       SMEDLY                    CA         46051742416
122BB31539154B   FIDEL        NUNEZ                     TX         75034533153
1231142934B23B   MARY         ETA                       NE         90006774293
1231187415715B   EUGENIO      NICOLETTI                 VA         90006168741
1231267389154B   NICOLEE      GRAJEDA                   TX         90014496738
1231269217B489   JAMES        MARTINEZ                  NC         90014866921
123127A2457147   JOSE         BARAJAS                   VA         90014887024
1231289485B526   YESIKA       MENDEZ                    NM         90015108948
12312A25A57133   EMMANUEL     OPOKU                     VA         81023160250
1231332274B588   DAVE         HOWELL                    OK         90003023227
1231361884B922   GC           CROCKETT                  TX         90000366188
12313679A4B26B   JACQUELINE   LEAFTY                    NE         90005376790
12314673A61976   JOSEPHINE    MARTINEZ                  CA         90013716730
12314A55A33699   DIANA        MARTINE                   NC         90013810550
12317755A5B526   ARMANDO      AGUILAR                   NM         35048087550
123186A9731687   ROBERT       STRUNK                    KS         90009046097
12319A9A35B526   FRANCES      SISNEROS                  NM         90008210903
1231B161957122   PABLO        ANASTAS                   VA         90009511619
1231B435455948   RAMON        ANGELES                   CA         90001184354
1231B657A91569   ERIC         CANDELARIA                TX         90014836570
1231BA11A5B568   JULIO        CORRALES                  NM         35020870110
12321A8A29154B   ANNETTE      CAMPOSE                   TX         75096080802
12322241A55976   ADRIANA      SANCHEZ                   CA         90013482410
1232226339154B   MARINA       GARCIA                    TX         90002282633
1232326395B526   PRISCILLA    SANCHEZ                   NM         35006042639
1232418714B588   DARIN        MACK                      OK         90013871871
1232422925B154   BILLY        TRENT                     AR         23002042292
1232432A991263   LESBIA       HERNANDEZ                 GA         90013923209
1232474A25B348   NURAINI      MOHAMED                   OR         90001187402
1232477697B489   DONNA        COLE                      NC         90008807769
12324AA2572B55   BRAD         SWANCOAT                  CO         90003450025
1232522A44B26B   KATHLEEN     WHITE                     NE         90007042204
123252A9557133   KATIRIA      HOLDER                    VA         90007332095
1232544935715B   FRANSICO     ROMERO                    VA         81065664493
1232575783B355   MARIA        GUTIERREZ                 CO         90015127578
12326A92276B68   MARIA        ZUNIGA                    CA         90012610922
1232782859154B   TONYA        CHAVEZ                    TX         75054268285
123278A4476B68   JOSEMANUEL   ABARCA                    CA         90010088044
12327A53277539   YESSENIA     VALENCIA                  NV         43083030532
12328324624B7B   KEVIN        JONES                     DC         90014983246
12328426876B68   DE LA CRUZ   ROY                       CA         46031484268
123284A4847956   JUAN         RAMIREZ                   AR         24072224048
12328A4724B588   YVONNE       RAHEEM                    OK         90009230472
1232912684B922   BRENDA       JOHNSON                   TX         76500411268
1232921714B26B   SHAMIKA      HAUSER                    NE         26092052171
12329356A91263   PEDRO        VIEZCA TOMAZIN            GA         90012933560
1232982339154B   MARIA        SAUCEDO                   TX         75036648233
1232B547357147   JOSE         LOPEZ                     VA         90012045473
1232B914272B62   NOAH         GONZALEZ                  CO         33084149142
1233158755B526   PEDRO        COMPEAN                   NM         90014175875
12331A44761968   ANA          HERNANDEZ                 CA         46018180447
1233244929154B   JESUS        ACOSTA                    TX         90013954492
12332551676B68   LISETT       LUIS                      CA         90013235516
1233397935715B   MIRNA        MANSILLA                  VA         90008639793
12334586676B68   EMANUEL      CUMMINS                   CA         90005785866
1233458A691569   CLAUDIA      RAMIREZ                   TX         90001815806
1233651854B26B   DONALD       WILLIAMS                  NE         90015005185
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1233687A933699   RAUL              HERNANDEZ            NC         90013008709
12337248672B62   JOSE              GARCIA               CO         33009082486
123373A5193745   NICOLE            FRIZZELL             OH         64597403051
12338135372B62   JUSTIN            KOSHAK               CO         90014741353
12338542A72B62   DANIEL            DELONEY              CO         90012775420
123392A2A76B68   ELIZABETH         GARCIA               CA         90003362020
12339417A4B536   NYREE             CAMPBELL             OK         90010534170
12339A33751337   DALONDA           HOLLOWAY             OH         90011030337
1233B143372B62   LEOPOLDO          ELOY PADILLA         CO         90009391433
1233B434961958   JAVIER            BAUTISTA             CA         90011064349
1233B642357147   WILLIAM           KIMBRELL             VA         90013396423
1233B93894B588   CELESTINO         ALVAREZ              OK         90013659389
1233B98935B526   DORINA            GRAJEDA              NM         90006589893
12341A49376B68   AMY               GABRIELLA            CA         46015430493
123422A9A72B26   ALEX              JACKSON              CO         33093122090
1234279474B26B   NELSON            RIVERA               NE         90012497947
1234293498B13B   WADE              SMITH                UT         90007689349
1234377A655948   DALIA             PACHECO              CA         90014947706
1234478295715B   DENISE            EVAN                 VA         90005727829
1234577A89154B   GUTIERREZ         JACQUELINE           TX         90013217708
12345A47472B55   BRENDA            SILVA                CO         90003450474
1234618254B23B   REBEKAH           HART SMITH           NE         90004361825
1234622A447956   GAIL              TURNER               AR         24083902204
1234627A161976   LUCIO             MARTINEZ             CA         90012292701
1234677A855948   SILVANO           GARCIA               CA         90012877708
12348741772B49   TISHA             L MAES               CO         90010577417
12348A3774B588   MAEGAN            WALKER               OK         90005010377
1234965195B526   RAMON             LOZANO               NM         90014926519
12349A9835715B   SANTOS EVARISTO   LOPEZ ANDINO         VA         90010150983
1234B47419154B   NICOLE            SALGADO              TX         75017754741
1234B97474B922   CHYSTAL           HORN                 TX         90011089747
1235215114B23B   SARAH             BARRIERE             NE         27065751511
12352A5544B26B   KIM               WEYGINT              NE         90014800554
12352AA1A61958   WILLIS            TAYLOR               CA         90012350010
12353AA6872435   ALICE             LAUFF                PA         51010450068
1235482A69154B   DIANA             QUINONES             TX         75002098206
12356132172B62   CHAKA             WATKINS              CO         90010711321
1235633265B526   JE                BYRNES               NM         35079943326
12356748876B68   JOSE              TORRES               CA         90005827488
12357325A91573   BETTY             LOZANO               TX         90009533250
123576A9931635   PAMELA            BURGHARDT            KS         22026956099
12357A4A272B62   JESSIE            MC KAY DUNN          CO         90003640402
1235837814B588   TAYON             PEOPLES              OK         21534413781
1235858534B922   LAWRENCE          ST-ANDREW            TX         76594645853
1235889429373B   MARCELO           ZACARIA              OH         90010068942
1235924157B489   LOUISE            DUDLEY               NC         11091252415
1235933A661938   MAGDALENA         HUGHES               CA         90004703306
1235B55697B489   BRANDI            JOHNSON              NC         90015045569
1235B621991895   BRENDA            NEGAHBAN             OK         21088036219
1236211A472B28   MELANIE           RENEE LIMKE          CO         33085401104
123626A4A57147   MARIA             ULLOA                VA         90003766040
12362767A72B62   MARGIRITA         VENZOR               CO         90012437670
1236289585715B   ERLIN             NUNEZ                VA         90002448958
1236294525B526   MARIA             JIMENEZ-RODARTE      NM         90004949452
12363473176B68   MIKE              KAHLIE               CA         46064214731
1236383719154B   LAQUITA           MCGREW               TX         90014158371
12364A35A91263   VERNON            WASHINGTON           GA         90013960350
1236545A293745   CHADWICK          REED                 OH         90011504502
1236546962B92B   DAVID             GOMEZ                CA         90011314696
1236563195B154   LILLE             FOSTER               AR         23007286319
12365A97572B62   JOSE              ORTIZ                CO         33077890975
1236796A391263   ALLEN             ELLIOTT              GA         90014829603
12367A51361958   BOOLER            HAMAA                CA         90012340513
1236822A177539   FRANCISCO         CARDENAS-CRUZ        NV         90005892201
123687AA49154B   CESAR             JORDAN               TX         90005697004
1236988624B588   MONICA            TUCKER               OK         90008578862
1236B1A6161938   ANGIE             MARTINEZ             CA         46043841061
1237198614B588   JEREMEY           COHLMIA              OK         90015159861
123722A764B922   GLENN             GROGAN               TX         90010472076
12372399A76B52   LINDA             WINKLER              CA         90011413990
12372746176B68   JOSE              SILVA                CA         90008877461
1237291115B526   MARCUS            MONTOYA              NM         90015569111
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12374464176B68   MELITON      ALVA                      CA         90013604641
1237457879154B   MARY         CHRISTOPHERSON            TX         90009995787
1237558362B367   MICHAEL      CARRERA                   CT         90012295836
12375639276B68   JOSE         REYES MIRANDA             CA         90008396392
1237587319154B   LILIA        ALARCON                   TX         90004168731
1237599844B588   GHEMELLE     JOINER                    OK         90002739984
12375A9A972B55   SHANNA       MARIE                     CO         90003450909
1237615769154B   NIDIA        CHAVEZ                    TX         90011031576
1237626774B23B   MARCEDES     SANDERS                   NE         90000382677
12376281A55948   LETICIA      ALDANA                    CA         49042102810
1237628A472B62   MAYRA        PERALTA                   CO         33023212804
1237647819154B   CHRISTINA    ADAME                     TX         90013954781
1237677517B489   STEPANIE     BERRY                     NC         90013957751
12377596A72483   LEAH         CONWAY                    PA         51007495960
12377624A72B62   ROLANDO      GARCIA                    CO         33044806240
12377919972B29   JUAN         GONZALEZ                  CO         33094759199
12378338272B62   FRANCHON     MCGHEE                    CO         90012513382
1237861A77B435   CHAD         THOMPSON                  SC         90006466107
1237958484B26B   JOSHUA       VAUISO                    NE         90015585848
12379981A91263   CRYSTAL      NOBLES                    GA         90015069810
1237B942991895   RAUL         CHAVEZ                    OK         90004489429
1237B95659154B   LILIANA      MENDOZA                   TX         90012569565
1238182219154B   CANDELARIA   ENRIQUEZ                  TX         90014088221
12381A3179154B   RAUL         GARCIA                    TX         90013220317
1238263A67B337   SANTIAGO     DELGADILLO-QUIROGA        VA         81046066306
1238454634B26B   JANET        KLEINERT                  NE         90008455463
12384A4817B489   ROBIN        ROACH                     NC         90006080481
12384AAA391569   LORENZO      LERMA                     TX         90012010003
12385185A91895   MARLOW       THOMAS                    OK         21002031850
1238547114B26B   CHERYL       MITCHELL                  NE         90014844711
12386685876B68   DANIEL       RODRIGUEZ                 CA         90013116858
1238764A372B55   ROSA         GONZALEZ                  CO         90008916403
12387A62A3B352   KASEY        STRICK                    CO         90006600620
1238861925B385   SAMANTHA     STAINBROOK                OR         90002786192
123891A6161938   ANGIE        MARTINEZ                  CA         46043841061
123893A2776B68   GARY         ROMES                     CA         46090813027
1238B58554B26B   ALLISON      RYAN                      NE         90013995855
1238B813247846   SHAKENDRA    PAULDING                  GA         90013118132
123912A9651337   TERRIE       CROSSTY                   OH         90012872096
1239142494B588   HEATHER      BATES                     OK         90012934249
12391A56891263   STEVEN       HAHNGEN                   GA         90013510568
123925A9151337   BONITA       BOLES                     OH         66059655091
123927A847B34B   CARLOS       PENADO                    VA         90014257084
12392A4AA72453   CHRISTINA    ETTER                     PA         90006510400
1239311334B922   STORMY       STANLEY                   TX         90011131133
1239347A472B62   WATERBURY    DONALD                    CO         90004884704
1239354285B526   NATASH       LUCERO                    NM         90013755428
1239427144B588   GREGGORY     BERY                      OK         21564482714
1239448499154B   MARIA        DAVILA                    TX         90013954849
12395487A57147   AMMAR        MOHAMED                   VA         90013054870
12396A96357147   EDWIN        DE LEON                   VA         81027820963
12397132872B55   CURTIS       FARLEY                    CO         90003451328
1239861A191549   EDUARDO      LOZANO                    TX         90010386101
1239887195B526   MELODY       JONES                     NM         35057128719
123993A9257147   TERENCE      ORDONA                    VA         81091463092
1239959674128B   CHARLES      WILLIAMS                  PA         90005725967
1239982474B588   VICTOR       SCOTT                     OK         21551598247
1239B694855976   JUAN         BERBER                    CA         90014586948
123B1165455976   RUDY         CABALLERO                 CA         90014471654
123B127A261938   ALEXANDER    WILLIAMS                  CA         46006372702
123B145944B588   SUSANNA      MUSHONGA                  OK         90009044594
123B2116391569   PATRICIA     MARTINEZ                  TX         75079651163
123B2948972453   KELLI        MCCABE                    PA         51070279489
123B3357833155   PAYGO        IVR ACTIVATION             IL        90014723578
123B4716657147   ODIS         MORENO                    VA         81021127166
123B4959255948   DAISY        VILLA                     CA         90014939592
123B5358361938   DAVID        GEORGE                    CA         46090283583
123B5365657147   MITRA        JAMALIKAKROUDI            VA         90014583656
123B5434855976   FRANCIS      GARCIA                    CA         90008334348
123B5769291263   BARBARA      STEPHENS                  GA         90014647692
123B5952257147   MITRA        KAKROUDI                  VA         90008309522
123B61A935B285   ANGEL        RODRIGUEZ                 KY         90010571093
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123B69A694B23B   AMANDA        CLARENCE                 NE         27011119069
123B6A2464B588   CHRISTIE      BURLESON                 OK         21598120246
123B799125715B   RALPH         GRAHAM                   VA         81001499912
123B8A81161972   EMILIO        VARGAS                   CA         90005300811
123B96A4291895   JESSICA       HALLUM                   OK         90015006042
123B98A8691586   RAMIRO        GARCIA                   TX         90009218086
123BB2AA991569   SIFUENTES     GISELA                   TX         90008942009
123BB3A935B526   EVA           CASTILLO REYES           NM         35000253093
123BB418491263   NICOLAS       MEZA                     GA         90012064184
1241176235B154   BO            WILLIAMS                 AR         23052237623
12411A71455976   DEBRA         GRAVON                   CA         49042970714
12412552A5B54B   DAWNYA        HOWELL                   NM         90013955520
1241279A64B26B   KELLI         HARRIS                   NE         26044897906
124129A494B588   NANCY         ADKINSON                 OK         90009369049
124132A9376B68   JAMES         HERNADEZ                 CA         90011472093
1241345694B588   AIDE          MENDOZA                  OK         90013704569
12413AA8491895   DARINE        CORBITT                  OK         90012710084
12413AAA64B26B   WESAAM        AL-BADRY                 NE         26080860006
1241414594B588   CASEY         LUNN                     OK         90014601459
12414979A9154B   VICTOR        LOYA                     TX         75066129790
12414A2A37B489   JEFFREY       MARTINEZ                 NC         90010700203
12414A96986454   KIRSTON       EPPS                     SC         90014160969
12415372572B62   MIKE          ENDERS                   CO         33092323725
1241563195B154   KEN           PIERCE                   AR         23079586319
12416989A72453   MELISSA       SIDERS                   PA         51029489890
1241761A931687   RUBY          RAMIREZ                  KS         90012116109
1241793449154B   HUGO          NAVARRO                  TX         90015059344
1241814425B229   JAVIER        BERNAL                   KY         90009951442
1241818127B34B   JOSE          CARDOZA                  VA         90002091812
1241947A34B922   PAULA         JOHNSON                  TX         90006524703
1241B445261972   ELENA         AZHOCAR                  CA         46053384452
1241B47929154B   MICHAEL       WARE                     TX         90013954792
1241B567A55948   LUIS          YEPEZ                    CA         49005245670
1241B782861938   CLAUDIA       FELIPE                   CA         90007937828
1241B813A51337   ROLANDA       MILLER                   OH         66034648130
1241B884324B7B   ENRIQUE       PALMA JR                 VA         81098718843
1241B92224B588   SANDRA        NIBS                     OK         90012659222
1242137447B489   LUIS          SALINAS                  NC         90014433744
12421449A31687   SHAUNDA       KERN                     KS         90014504490
1242189685B526   MARIA         REYES-AVILA              NM         90008968968
1242228A977539   CHRIS         MIKESELL                 NV         90006562809
12422A11551599   LYNN          DICKINSON                IA         90015100115
1242352A39154B   GUADALUPE     BARRAZA                  TX         90009725203
124246A9276B68   RUTH          TORRES                   CA         46041796092
1242495179154B   JAVIER        URQUIDI                  TX         75059769517
12424A49657147   ASHLEE        THOMPSON                 VA         90014310496
124251A967B489   RHONDA        SIMPSON                  NC         11072531096
1242546815715B   MAGDALENA     NAVAS                    VA         90000844681
12425549372B55   REBECCA       BARRON                   CO         33031545493
12425A31491569   MIGUEL        PEREZ                    TX         90008150314
1242656575715B   WINDSOR       ESCALERA                 VA         81013915657
1242696584B23B   VIRGINA       MYSZKOWSKI               NE         90008169658
12426A53161958   NICOLAS       OLIVARES                 CA         46017710531
12426A92A91263   JUNIOR        GARCIA                   GA         90014390920
1242727519154B   ALMA          SALAS-DESPOONMORE        TX         75039352751
12427338272B62   SALENA        SMITH                    CO         90003843382
1242835A84B26B   SHANE         THURMAN                  NE         90006143508
12428718A93732   TIM           ADAMSON                  OH         90010017180
1242933284B979   EUGENE        STOKES                   TX         90009293328
1242B23564B922   RAQUEL        HUGHES                   TX         76512802356
1242B31894B564   KIM           SHELTON                  OK         90013213189
1242B737661938   FERNANDO      CIGALA                   CA         90011417376
1242B7A5861976   NAYELI        MEDINA                   CA         90014407058
12432175A5715B   CERVANDO      MOLINA                   VA         90001081750
124322AA272B62   LUIS          LOPEZ                    CO         90014232002
12432644A61938   IRENE         GALLARDO                 CA         46083156440
1243323299154B   SONIA         LOPEZ                    TX         75061742329
1243366A191895   PHILLIP       LUSTER                   OK         21095916601
12433A2A34B588   CHRISTOPHER   WELCH                    OK         90013070203
124348A9A57124   GERMAN        DIAZ                     VA         81064418090
1243566964B26B   YALANDA       WALKER                   NE         26097456696
1243579775715B   SAMRAWIT      BERHANE                  VA         90009227977
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12435A25747956   KENNETH      MULLINAX                  AR         90014260257
12436227A33699   MAYRA        POSADA                    NC         90015012270
124375A5661958   ADRIANA      ORTIZ                     CA         90005055056
12437932A61972   GEORGE       ETTLEY                    CA         46040299320
1243926737B489   JESENIA      WHITE                     NC         90011072673
1243929634B588   ROBERT       MANIUS                    OK         90007472963
1243B212472B27   SANDY        BRINK                     CO         90009022124
1243B327972B29   MARICELA     HERNANDEZ-MARTINEZ        CO         33069473279
1243B768355976   MARIA        SANDOVAL                  CA         49033177683
1243B936276B68   MIRIAM       HENANDEZ                  CA         90013059362
1243BA6A691895   KRISTEN      LACEY                     OK         90011300606
1244145A651337   FRANKLIN     MILLER                    OH         90015334506
12441A8A761972   HOLLY        ALVARADO                  CA         90008960807
1244229AA76B68   CATHY        MARTINEZ                  CA         90011242900
1244273684B26B   TRAVIS       PARKER                    NE         90004187368
1244359324B588   PAUL         ROJAS FLORES              OK         90008465932
1244383714B583   ERICKA       ARNOLD                    OK         90008628371
12444146172B55   YANETH       PENA                      CO         33011271461
1244416568B12B   MICHAEL      CROOK                     UT         90001961656
1244425A357147   BLANCA       LAZO                      VA         90015132503
12444326224B7B   SAMEAUL      SMITH                     DC         90010643262
1244464665B526   JANESSA      LUCERO                    NM         90014666466
1244573A972B62   JOSEPH       ALCARAZ                   CO         33087067309
12446155A91569   LISA         LOPEZ                     TX         75069611550
1244697194B26B   TERRENCE     WATFORD                   NE         90015039719
1244747355B526   KATHRINA     GARZA                     NM         90004564735
1244818779154B   CASANDRA     ESQUEDA                   TX         90011031877
1244819564B588   MAMIE        SHABANI                   OK         90011401956
1244871A972B62   GINA         KENNIS                    CO         33067617109
12448A8615715B   ALEXIS       TREJO                     VA         81005320861
1244B16975B154   DEANN        BENNETT                   AR         23076001697
1244B426191895   BILLIE       PYLE                      OK         90008614261
1244B474957124   MARIA        FIGARO                    VA         90009854749
1244B68714B588   JAMES        MURPHY                    OK         90007726871
12451A71155976   ROSEANN      MITCHELL                  CA         90010170711
12451A7A84B588   SEAN         LEWIS                     OK         21500380708
12452241A41455   STEPHANIE    MENDEZ                    WI         90011222410
124522A5961938   SILVIA       CORTEZ                    CA         90003032059
1245238A455976   TIFFANY      WRIGHT                    CA         90010093804
12452738A91569   JUAN         ORTIZ                     TX         90013607380
12453241A41455   STEPHANIE    MENDEZ                    WI         90011222410
12453A37793745   VERONICA     FURLONG                   OH         90004700377
12454242172B62   VICTORIA     NAVARRO                   CO         90014392421
1245437615B154   NEIL         DILLARD                   AR         23085553761
1245499A257147   MARLON       POLO                      VA         90014849902
124558A5272B62   ALDO         GALLEGOS                  CO         90013578052
1245595395B526   REGINA       LUJAN                     NM         90004709539
124559A6631687   JACOB        ARMSTRONG                 KS         22079149066
1245615464B26B   JOESPH       COPELAND                  NE         26007221546
12457585776B68   BEVERLY      SUAREZ                    CA         90013235857
12458416172B55   FRANSISCO    CASTRUITA                 CO         33056814161
1245842214B536   LINDA        NORMAN                    OK         90003384221
1245861589154B   JONATHAN     MELCHOR                   TX         90013356158
12459587A61938   JESSICA      KALBAUGH                  CA         46062745870
1245977A461976   PAYGO        IVR ACTIVATION            CA         90015407704
12459A56872B62   GUADALUPE    BARRON                    CO         33002280568
12459A8894B588   FRANCISCO    VILLEGAS                  OK         90011970889
1245B115347956   WILLIAM      CHRISTMAN                 AR         24030381153
1245B764A61976   PABLO        PEREZ                     CA         90014407640
1245BA9A155948   VICTOR       ALVARADO                  CA         90014980901
12461454276B68   ANDRES       RODRIGUEZ                 CA         90010914542
1246146A29154B   JESUS        MICHEL                    TX         90013044602
1246212614B26B   CASSIE       TRINE                     NE         26063091261
1246318125B264   ADA          BLEVINS                   KY         90001281812
12463A22447956   ANITA        MIDDLETON                 AR         90014700224
1246451AA9154B   ISAIAH       RAMOS                     TX         90013305100
12464A59557147   MARIA        PALOMINO                  VA         81032970595
1246517785B389   ISMAEL       CHAVEZ PEREZ              OR         90007091778
12465929772B62   LEONARD      ADAMS                     CO         90015159297
12465986772B97   APRIL        SEURER                    CO         90002319867
1246619A49154B   CLAUDIA      HERNANDEZ                 TX         90011031904
1246714695715B   ROSA         ROJAS                     VA         90008341469
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124671A6161976   ENEDINA       VALDEZ                   CA         90015091061
1246768147B489   HOLLIS        LIPSCOMB                 NC         11095696814
1246859A955948   YANIRA        EUFRACIO                 CA         90015045909
1246874A591895   AIYANA        SAMUELS                  OK         90001877405
12469142A4B588   LAVEDA        BENT                     OK         21577301420
1246921565715B   ABDUL         CONTEH                   VA         81019752156
1246B128891263   DAMON         GRANT                    GA         90014171288
1246B278191569   PATRICIA      HERNANDEZ                TX         75035352781
1246B2A279154B   SHAWN         BRIGGS                   TX         90010852027
1246B388347956   YULI          URIBE-DIAZ               AR         90014223883
1246B571A4B588   TEIA          MORRISON                 OK         90014715710
1247341A591895   DUSTIN KARL   STEPHENS                 OK         90014944105
12473818A91569   FRAGOSO       RUTH                     TX         90010248180
1247394522B889   BRINA         NEWBERRY                 ID         42018159452
12473A94991263   KAWAIL        FRAZIER                  GA         90015240949
12474869A91899   DESHAWN       BUCKLEY                  OK         21021048690
12474AAA857147   DEKA          HASSAN                   VA         90008540008
1247592425B154   LATOYA        STROUD                   AR         23061899242
12475A4542B264   ALONZO        YOUNG                    DC         90011860454
1247677A24B23B   MURPHY        JOSEPH                   IA         27094157702
12477515A5B285   MARIA         MATEHUALA                KY         90013905150
124787A255B526   LINDA         ARMIJO                   NM         90013387025
124793A5961972   ARIANA        PEREZ                    CA         90013823059
1247959A461938   MIGUEL        DIAZ                     CA         46008395904
1247B335433699   TRACY         SCOGGINS                 NC         90011023354
1247B63A75B526   SEANTELL      KLINE                    NM         90005036307
1247B818A91569   FRAGOSO       RUTH                     TX         90010248180
1248114565715B   ODIR          VIERA                    VA         81017901456
12481439776B68   BRIAN         DANIEL                   CA         90014164397
1248184235B342   GEORGE        VAN GORDER               OR         90011308423
1248211124B267   ABEL          SERRANO                  NE         90012961112
12482384A47956   KATHY         BILLY                    AR         90011153840
1248258934B588   ROBERT        LOCKMILLER               OK         90012245893
12482A2A84B26B   DAVID         MCQUINN                  NE         26073510208
1248312135715B   MUARA         RODRIGUEZ                VA         90001111213
124831A7261938   CARMEN        PARTIDA                  CA         90014981072
12483224172B62   MARIA         C GRIJALVA VARGAS        CO         90013842241
1248351AA61958   FRANCISCA     RODRIGUER                CA         90002805100
124841A4691895   PEDRO         RAMOS-RODRIGUEZ          OK         90013821046
1248464777B489   RONNIE        JOHNSON                  NC         11014656477
124846A7193745   JEFF          CANTRELL                 OH         64584166071
1248475716612B   JENNY         ESPERICUETA              CA         90014797571
1248526AA9154B   GABRIEL       DELA CRUZ                TX         75069662600
124857AA34B23B   DAVID         GREEN                    NE         90001607003
12485A4A333699   CANDACE       FAULKNER                 NC         90015030403
1248661A576B68   YESENIA       SMITH                    CA         90012096105
1248662449154B   RUBI          ZUQIGA                   TX         75017366244
1248819414B588   KATHRYN       BLOODWORTH               OK         90001111941
12488912A71982   JESSICA       AGUILAR OLIVARES         CO         90007219120
12489992476B68   JUSTIN        HARDY                    CA         90014109924
1248B251A61972   DULCE         TORRES                   CA         90012782510
1248B353331687   COURTNEY      BUCHANAN                 KS         22067113533
1248B362293745   KELLY         BOWMAN                   OH         90002283622
1248B44A45B154   FIRAS         NAZIF                    AR         23060794404
1248B532233699   TAKOJAH       MAJORE                   NC         90012415322
1248B625976B68   ISAAC         ALMEIDA                  CA         90009796259
12491122872B62   ERIC          BAILEY                   CO         33049761228
12491558A61972   DOUGLAS       HARRIS                   CA         90006405580
1249198512B235   HAZEL         MCGIL                    DC         90000879851
1249267A772B62   FIDEL         ARAUJO                   CO         90010916707
1249282A155934   ANA           GARCIA                   CA         49088938201
1249299655B526   ALPHONSO      MARTIN                   NM         90012299965
12494246A4B23B   TEKA          LEEPER                   NE         27010552460
1249464A572B62   SUI           HAL                      CO         90004006405
1249484915B526   JOHNNY        CHAVEZ                   NM         35062888491
1249525487B489   SARA          MART                     NC         90007592548
1249639575B135   KERRI         GORDON                   AR         23042793957
12496519897B3B   KORIN         MASHEK                   CO         90011445198
12496725A5B526   ISAAC         CISNEROS                 NM         90007217250
1249749635B526   DOLORES       TRUJILLO                 NM         35051264963
124988A7976B68   MARTIN        HOWARD                   CA         90013538079
12498A74A61958   MATIAS        RODRIGUEZ                CA         90012340740
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12498A7A95B154   MARILYN       SMITH                    AR         23025480709
1249933877B489   NIKIA         MADDOX                   NC         90014993387
124995A6161976   MICHELLE      BRISENO                  CA         90005285061
1249989685B526   MARIA         REYES-AVILA              NM         90008968968
124999A4691895   LILY          ALTIERI                  OK         21065579046
1249B289231635   OMAR          PEREZ                    KS         22056682892
1249B321A47956   WAYNE         BARRY                    AR         90014863210
1249B482455976   ERIC          LEE                      CA         90015214824
1249BA83893745   JOEPH         ELLIOT                   OH         64515700838
124B1281855948   SHAYLEEN      BRAND                    CA         49006202818
124B1382276B68   PATRICIA      ACHERLEY                 CA         90012743822
124B1542161958   KAREN         ARZETA                   CA         90012925421
124B1811172B34   WESLEY        JONES                    CO         90010788111
124B193A75B526   RYAN          HEFFERN                  NM         90007319307
124B33A4977539   SHAWN         DEEN                     NV         90000513049
124B343A291569   OZZIE         SAPIEN                   TX         90003954302
124B35A5155976   MARISELA      CHAIDEZ                  CA         90012295051
124B3614651337   BIANCA        LANEY                    OH         90011996146
124B44A5361958   JESSICA       WILLIAMS                 CA         46070834053
124B44A9457147   LEIBA         HERNANDEZ                VA         90010014094
124B484314B588   SARAH         DIAZ                     OK         90011148431
124B5176561972   JUAN          RAFAEL                   CA         46022791765
124B5226784375   M ICHELLE     OLIVER                   SC         90002152267
124B5283731687   JARVIS        KIRK                     KS         90014702837
124B5A25693745   CHRIS         LIGHTNER                 OH         90011660256
124B685514B588   EDUARDO       MADBULL                  OK         90012788551
124B7472261958   BELINDA       JONES                    CA         90002804722
124B781429154B   RENE          RABGEL                   TX         90002748142
124B796644B588   JIMENEZ       REYES                    OK         90014539664
124B79A985715B   CARLOS        AVENDANIO                VA         81080219098
124B811A355948   KELLY         HUKILL                   CA         49026651103
124B823644B588   GAY           RODRIGUEZ                OK         90014392364
124B8948291263   ROBERT        JONES                    GA         90001649482
124B8AA2447956   LATINA        THOMPSON                 AR         90005390024
124B9164491263   JOHN          CLARK                    GA         90008201644
124B947745715B   DAVID         CRUZ                     VA         90011624774
124B9655A76B68   YAMILEX       CRUZ                     CA         90009696550
124B979945B255   DRIKA         JACKSON                  KY         90003387994
124B9954172B62   UNKNOWN       UNKNOWN                  CO         33035369541
124BB48329154B   VANESSA       GONZALEZ                 TX         90004894832
124BB7A2293745   MICHELLE      HAFER                    OH         64563047022
124BBA63531687   BRENDA        WATTS                    KS         22007440635
12512924A91895   APRIL         YOUNG                    OK         90011539240
1251331154B922   SHANNON       LEVI                     TX         90009623115
1251353A276B68   VINH          HUYNH                    CA         90010335302
125135A1A72B62   EMANUEL       NAVARRO                  CO         33015035010
1251372A64B544   FLOTEISHA-    HARVEY                   OK         90013007206
12513755876B68   ZEFERINA      JACOBO                   CA         90011247558
1251393A961938   JULIO CEZAR   OSORIO                   CA         90013159309
12514A3855B282   NAKEISHA      JACKSON                  KY         90008960385
1251514A161938   RENEE         EASON                    CA         90000541401
1251531375B526   ADRIANA       GARCIA                   NM         90008053137
12515853A31687   SHAWNA        RINEHART                 KS         22086948530
1251671597B489   JACOB         RODGERS                  NC         11022947159
12517416372B55   ROGER         SMITH                    CO         33058144163
1251763A777574   TAMMARA       BOARDMAN                 NH         90007606307
1251796144B23B   MONTINIQUE    DAVIS                    NE         27024539614
12518A81131687   STEVEN        KREIFELS                 KS         90010870811
1251914615B526   MICHAEL       BECKSTEAD                NM         35090731461
12519761876B68   ISAAC         HERNANDEZ                CA         90011247618
1251976A433699   CALANDRA      JENKINS                  NC         90012987604
12519946A72B55   CORA          RUIZ                     CO         33088799460
1251B21579154B   SAM           MARTINEZ                 TX         90011032157
1251B477155948   ESMERALDA     HERNANDEZ                CA         90015054771
1251B491147983   DANTE         GARNER                   AR         90010264911
1251B4A2651337   LOUIE         WALLS                    OH         66052954026
1251B56835B526   LEANN         MOYA                     NM         35001435683
125218A2255976   CHIANTI       WILSON                   CA         90009888022
125219A915B526   STACY         JOHNSTON                 NM         35096449091
12522A37261972   ANTHONY       BOWDEN                   CA         90013840372
1252315A48164B   LACRETIA      HAWKINS                  MO         29094761504
1252327879154B   ISMAEL        PENA                     TX         90011252787
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12523755272B62   MARY            ROBERTS                CO         33077857552
1252421294B53B   MARRITTA        WILSON                 OK         90008522129
1252531644B588   TOMMY           WARD                   OK         90015553164
1252544A855968   YOLANDA         SEGURA                 CA         90007864408
12525676472B62   SOLEDAD         SANTIAGO               CO         33057436764
1252626422B932   VICTOR          DUENAS                 CA         90001802642
12526A38755976   ABELARDO        GARCIA                 CA         49014540387
1252721664B588   NATALIA         RODRIGUEZ              OK         90011572166
12527A36991949   EBONY           JUDD                   NC         90011570369
1252978A54B23B   URSULA          CASIANO ANN            IA         90000407805
12529869A7B428   EMILYU          GIVENS                 NC         11013498690
1252B945451337   BEONCA          HOWELL                 OH         90013749454
1253189644B588   TED             RHYNE                  OK         21588298964
12532827876B68   MANUEL          DE LA CRUZ PASTOR      CA         90011248278
1253285222B874   PENNY           FISK                   ID         90011748522
12534623A5B526   SONIA           NIGRO                  NM         35081286230
12534922A7B489   OMAR            ORDONEZ                NC         90012679220
125353A9291569   LILIA           DURON                  TX         75034613092
1253547A74B26B   CYNTHIA         HITE                   NE         90014934707
12536962A61972   LUIS            GONZALEZ               CA         46090949620
1253726A555948   ROBERT          OCHOA                  CA         90013372605
12539434A4B588   JANIN           PETERSON               OK         90009584340
12539A49A9154B   OSCAR           TORRES                 TX         90013220490
1253B28814B23B   MIRNA           CALDERON               NE         27066132881
1253B48847B445   ARKEATHER       SPRATT                 NC         90008014884
1253B664133699   WILLIAM         WHITFIELD              NC         12065886641
1253B777461976   LINDA           BLANCO                 CA         46043437774
1253B921891569   KARLA           GARCIA                 TX         90014919218
1253B972447956   VANESEA         MALONE                 AR         90003679724
1253B991655976   SIA             VANG                   CA         90001299916
125412AA161972   BRENDA EVELYN   LUNA RAMIREZ           CA         90014362001
12544414A9154B   ELOISA          CARBAJAL               TX         90010574140
12548588676B68   EQUILA          DUTLER                 CA         90005985886
12548722A61958   CHISTOPHER      NICCUM                 CA         46047947220
1254876A561976   CAEZAR IAN      PADENO LABIAL          CA         90014887605
12548A69255976   MISTY           HARRISON               CA         90000270692
12549828A4B23B   EVETTE          DORSEY                 NE         90002848280
1254B43969154B   ELSA            RENTERIA               TX         75091834396
1255194849154B   CARLOS          OCHOA                  TX         90002019484
1255215A776B68   GIANNA          GIANCOLA               CA         90012781507
1255263515B335   YVETTE          CALAMI                 OR         90014776351
1255416535B526   IESHA           PENA                   NM         35081391653
1255443A547956   BAJETTA         BULLOCK                AR         24050024305
1255467715B154   LAMONT          KING                   AR         90004886771
1255623757B43B   PIA             BLACKMON               NC         90010862375
1255649929154B   EDUARDO         RIVERA                 TX         90013954992
1255932957B489   VAN             THANG                  NC         90012983295
1255936A491895   MIRIAM          DUARTE                 OK         90008513604
1255945374B26B   ANTONIO         BUCKNER                NE         90011034537
1255999539373B   CONSTANCE       HOSKINS                OH         90010509953
12559A47261976   JOY             MCGUIRE                CA         90009630472
1255B269147956   TAMERAH         REEDERS                AR         90009762691
1255B378191549   VALERIA         ANCHONDO               TX         90010483781
1255B625A57147   MILTA           RUSH                   VA         81022396250
12562219924B44   ANTOINETTE      BROSSET                DC         81018062199
1256322127B489   VONETTA         PADGETT                NC         90008812212
1256345999154B   PATRICIA        VIDALES                TX         75011614599
12563559676B68   BEATRIZ         CRUZ                   CA         90010765596
1256395A84B588   QUINN           CHEATHAM               OK         21566919508
1256515144B588   DANA            JONES                  OK         90014471514
1256553974B26B   ALYTA           BENTLEY                NE         26061985397
12565937176B68   CHRISS          LOPEZ                  CA         46016019371
12565978472B62   JOSE            MARTINEZ               CO         90015199784
12566A27791263   GINA            LANE                   GA         90010420277
12568429A61958   GLORIA          FLORES                 CA         90003174290
1256847879154B   MELLLISA        MENDOZA                TX         90011374787
125685AA69154B   SUSANA          GARCIA                 TX         90013955006
125694A3933699   MARIA           SOLIS                  NC         90001814039
1256978A977539   KAYSI           GREENE                 NV         90001577809
1256B228461972   JESSICA         GAYLE                  CA         90014892284
1256B46A391895   LILLIE          FOLKS                  OK         21025334603
1256B496391263   ANTHONY         JERRAL                 GA         14570704963
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1256B49989154B   MARIA         ALVIDREZ                 TX         90013954998
12571764A61972   MELISSA       LUCERO                   CA         46011167640
1257242A857147   MIKE          VIRGINA                  VA         90014174208
12573381A4B588   DONALD        COLLINS                  OK         90011353810
1257372158B167   JASWANT       KAUR                     UT         31014447215
1257421177B373   CHRISTINA     SHANLEY                  VA         90010312117
1257474684B26B   COURTNEY      HILLER                   NE         26065237468
12574A89372B97   MARIA         MEDINA                   CO         90001160893
125751A3255948   BLANCA        INIGUEZ                  CA         49098001032
1257592A961938   AGUSTINE      ASCENSIO                 CA         46076579209
12575A2A491895   CAITLIN       LEWIS                    OK         90013690204
12575A8324B588   CANESHA       HARDEN                   OK         90002830832
1257634A161976   SOPHIA        NAVA                     CA         90006513401
1257639765B384   KATHERNE      BLIXT                    OR         44587983976
12577A2A561976   ROXANA        MONTES                   CA         90001390205
12579A9879154B   JOSE          AGUIRRE                  TX         75090820987
1257B697A93745   JAMES         KNIPP                    OH         64574286970
1257B851872B62   BLANCA        TENORIO                  CO         33067078518
1258241759154B   PRISCILLA     ESCOBAR                  TX         90009984175
1258316594B26B   JENNIFER      BROPHY                   NE         26073391659
1258327837B489   ASHLYN        BERRY                    NC         90014702783
1258335A37B489   ASHLYN        BERRY                    NC         90011073503
12583A39872B62   ANJELICA      JUAREZ                   CO         90014850398
1258427955715B   DUBLAS        CENTES                   VA         90009612795
12584A89476B68   DIANA         RIVERA                   CA         90011460894
1258572655715B   PERLA         OCON                     VA         81018217265
1258687569154B   LISA          CABALLERO                TX         75011618756
12588211497B39   ALEX          PINEDA                   CO         90011962114
1258932584B588   LEA           JONES                    OK         90015553258
1258B331A7B489   CARMELA       SOTO                     NC         90000273310
125926A9593745   MELISSA       RYAN                     OH         64578836095
12593168272B62   WEEST         JEFF                     CO         90010711682
12594887A5B526   SILVIA        FLORES                   NM         35040628870
12595799A7B489   CHRISTOPHER   BARNHARDT                NC         90009567990
1259629365715B   SHANNA        PENN                     VA         90003202936
125962A5131687   LOIS          FANNING                  KS         22066712051
12596411874B82   LISA          WALKER                   OH         90014604118
12597175A7B489   SHARON        TATE                     NC         11084101750
12597619A81629   DEREK         BECKETT                  MO         90009206190
12598248272B62   ARACELY       CORTEZ                   CO         90000252482
12599424A55976   JESUS         SYLVA                    CA         90010314240
12599533172B62   BRENT         BISE                     CO         90012945331
1259982335B154   ANTONIO       KING                     AR         23078508233
1259B41134B588   THOMAS        VOGLER                   OK         90000734113
1259B815347956   RAFAEL        MANJARREZ                AR         24038418153
1259BA9627B489   ALBERT        BOAKYE                   NC         90007630962
125B1866676B68   MARGARITA     GUZMAN                   CA         90008748666
125B2761461972   MARIO         NAVARRO                  CA         90012477614
125B3524972B55   JUAN          RAMIREZ                  CO         90007265249
125B38A1391263   EUSEBIA       VASQUEZ                  GA         90014958013
125B42AA69154B   FRANKIE       BELL                     TX         90007962006
125B46A7298B62   JESICA        PALACIOS                 NC         90014096072
125B4824551337   TABITHA       MARTIN                   OH         90009928245
125B497779154B   OMAR          GONZALES                 TX         90012859777
125B4A6625B53B   JOANNE        GARCIA                   NM         90004760662
125B5128861972   JESSICA       BARREIRO                 CA         90014881288
125B526864B26B   DENNIS        ZAGER                    NE         90013002686
125B5415972B27   TIMOTHY       ROBINSON                 CO         90003474159
125B5758761972   GAEL          DIAZ                     CA         90014017587
125B5849361976   MELISSA       ANGULO                   CA         90011968493
125B6591161958   HERIBEL       ROMO                     CA         90013935911
125B728318B179   DIANA         TIRADO                   UT         90006132831
125B758A341295   WILLIAM       FENK JR                  PA         90004725803
125B7616A72B62   ANAYELI       MORALES FERNANDEZ        CO         90002896160
125B7675272435   CHARLES       KOSTIE                   PA         90009676752
125B8A39A72B62   ERNESTINA     ANTONIO                  CO         90012640390
125B912A77B489   NATALIE       GARY                     NC         90009291207
125B9412772B62   NATHAN        ELLIS                    CO         33020554127
125B9495551337   SHEILA        JOHNSON                  OH         66083014955
125B974914B588   MIKE          ROWDEN                   OK         90010147491
125B99A9791895   LASHUAN       WATTS                    OK         90013929097
125BB337561976   FRANCISCO     TORRES                   CA         90014563375
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125BB398576B68   HUGO             CARILLO               CA         90009943985
1261131849154B   VERONICA         HERNANDEZ             TX         90004953184
12612513372B62   FRANSISCO        GUERRERO              CO         90014715133
1261312A657147   JOSE             RUBIO                 VA         90013831206
126142A3376B68   DARWIN           BULLOCK               CA         46090912033
1261453A14B26B   DRE              BROWN                 NE         90015005301
12615114A51337   ROBIN            GIBERT                OH         66080361140
126155A9591263   JASON            MOCK                  GA         90012535095
12615679176B68   JUAN             VENEGAS               CA         90009526791
1261568249154B   CRISTAL          CASAREZ               TX         90006886824
1261657144B23B   ASHLEY           CUDABACK              NE         27018345714
12616727972B55   RUSSELL          SKEEN                 CO         90003457279
12616A7A584375   JASMIN           ROBERSON              SC         90010330705
12617245A55948   ERICKA           DUARTE                CA         90011862450
12617A88572B55   KATHY            LOGAN                 CO         90006610885
12618581A91547   GILBERT          MARTINEZ              TX         90010135810
12618A1499154B   BERTHA           SANCHEZ               TX         75011620149
12618A2A493745   PAUL             BUBECK                OH         64551440204
1261B7A2A72B55   RANDY            TRUJILLO              CO         90003457020
1261BA38872453   KIMBERLY         CROUSE                PA         51067510388
1262124922B966   JESSICA          ZAMARRIPA             CA         90005452492
126212A1891974   LATON            FORREST BLUE          NC         90001142018
126214A7755976   STEPHANI         BOHANNA               CA         90015014077
12621784A7B489   GREGORIO         FUENTES               NC         90012957840
12622A6284B922   DANDREUSS        BROOKS-GENTRY         TX         90011740628
126235A349154B   CARLOS           PUGA                  TX         90013955034
12623A21A4B588   REGINA           BEDELL                OK         90013070210
12623A41161976   ANGELICA         GUILLER               CA         90012820411
1262452825B526   JESSICA          DURAN                 NM         90013865282
1262481467B489   VALERIE          MASON                 NC         90013648146
1262613145B526   JOSEPH           BOEDRY                NM         90015291314
1262714A661968   NOELIA           BALTEZAR              CA         46094691406
1262719A843588   KRISTA           DUBOIS                UT         90007821908
1262915244B588   ERIC             WALTON                OK         21552871524
1262955A231687   KEVIN            BENSON                KS         90015175502
1262B27A891263   MICHELLE         MENDOZA               GA         90010772708
1262B284755976   CHARLIE          PALACIOS              CA         90013372847
1262B31994B588   PRISCILLA        MARTINEZ              OK         90010113199
1262B362493745   THOMAS           GIBBONS               OH         90012883624
1262B87484B588   COLBY            JACKSON               OK         90015448748
1263171492B924   JERALDO          OLIVO                 CA         90005867149
12631A27276B68   TAMARA           SMITH                 CA         90013620272
12633266772B62   KIMPHONE         PHANTHAVONGSA         CO         33096722667
126338A9551337   JOE              HIRN                  OH         66015878095
12634147A61972   WISMAR           GONZALEZ              CA         46085921470
1263494774B588   JUAN             COSTILLO              OK         90015359477
1263641574B588   JESSICA          STATTON               OK         90010794157
1263655A391263   DAYVON           ENGLISH               GA         90006695503
126367A6591878   WAYNETTA         ESTES                 OK         90014547065
12636A66961958   CHARLES          NALL                  CA         46008480669
1263714265712B   FREDY            MIRANTA               VA         81072381426
1263759895715B   JULIAN           FERRUFINO             VA         81091055989
126376AA761938   SEAN             JONES                 CA         90013286007
1263855454B26B   TIFFANY          SHULKA                NE         90008025545
126385A1177539   DIOGRACIO        CRUZ                  NV         90001855011
12638812A55934   ELSIE            PANIAGUA              CA         90012728120
12639314224B7B   MELVA            MERINO DE CRUZ        DC         90014893142
1263944589154B   GEORGINA         SANTILLANA            TX         90011714458
1263B277333699   TISHA            CURRY                 NC         12092862773
1263B27A557147   JORGE JIMIENEZ   DUARTE                VA         90009712705
1263B28518B165   CHRISTOPHE       HANCOCK               UT         90001202851
1263B321A93745   DESBELE          TEFERI                OH         90012723210
1263B787172B62   LEE              ABEYTA                CO         90015147871
1263BA84376B68   LINDA            GOSSETT               CA         90014370843
126426A8791263   TIFFANY          HUGHES                GA         90007996087
12643557872B23   EDWINA           LUCERO                CO         90002465578
1264355AA21B78   CORDELL          PEREZ                 TX         90014365500
126439AA951337   ALYSSIA          PEYTON                OH         90009849009
12644429A61976   MANUELRENE       AREVALO               CA         46011654290
12644578472B29   TONIA            PORCHE                CO         90014095784
1264522414B26B   KEVIN            SCHMIDT               NE         26071632241
1264629A776B68   CESAR            SERGIO                CA         90006032907
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12646456A31635   ASHLEY       BRIGGS                    KS         22000054560
12646522272B62   TANYA        MELENDEZ                  CO         90012915222
1264683A993745   REBEKAH      LEAL                      OH         90012378309
12646A3227B489   SHANNEN J    VOGEL                     NC         90014900322
12647A1959154B   CASANDRA     SANCHEZ                   NM         75087390195
12647AA7461958   ALAN         CAZARES-SOTO              CA         90005050074
12649AAA191895   CORDELL      NORRIS                    OK         90012040001
1264B91884B588   CRYSTAL      BASETT                    OK         90014839188
1265188214B26B   JONATHAN     WALDROP                   NE         26044898821
1265213714B588   SAKENA       LYNN                      OK         90013551371
12652489A76B68   LUIS         TORRES                    CA         90013424890
1265265969154B   FERNANDO     MONAREZ                   NM         75091456596
12652A85291895   ALEX         BLACKWELL                 OK         90001910852
1265313A431687   DEVIN        YOUNG                     KS         90005381304
1265337534B537   JERMANE      JORDAN                    OK         90013723753
1265512A655976   CESAR        MENDOZA                   CA         90012161206
12655527A31687   UYLESSES     DESHAZER                  KS         90014665270
1265618A74B588   HARRY        PRIOR                     OK         90010641807
12656489A76B68   LUIS         TORRES                    CA         90013424890
12657359A61958   GENE         DAVIS                     CA         90013623590
1265782284B588   MARIO        PEREZ                     OK         90012768228
12661382472B62   MILAGRO      GARCIA                    CO         90012513824
1266229745B526   MIADORIE     DEAN                      NM         35077002974
1266298487B489   ANA          HERNANDEZ                 NC         90014089848
1266299225B526   MICHELLE     BACA                      NM         90007469922
1266446A14B588   SHERWIN      AKERS                     OK         21564684601
1266515685B154   DEMPSEY      CLARK                     AR         90002571568
12665A58155976   CONNIE       AMBALONG                  CA         49085790581
12665A8539154B   CESAR        RIVERA                    TX         90005870853
1266678A555976   GARY         LEE                       CA         49069347805
12666A36157147   KYLE         TKACIK                    VA         90013310361
12666A97561972   NORMA        MENDOZA                   CA         90005300975
1266783A861938   AMALIA       FARRAR                    CA         90013968308
1266841534B26B   CARISA       MOYA                      NE         26013354153
12669849272B55   EDITH        ROMERO                    CO         33049728492
12669A64172B34   MARIA        MARTINEZ                  CO         90004340641
1266B141247956   DANNY        CONN                      AR         24077571412
1266B36964B588   GREGORY      COLBERT                   OK         90014623696
1266B932857147   MISAEL       ARIAS                     VA         90012709328
1266B94925B526   MICHAEL      BEGAY                     NM         90003869492
1266BA46161976   CARL         KEYS                      CA         90001390461
1267178A397B58   EMILY        BERNHARDT-CASSELL         CO         90003537803
1267294895B526   ELIZABETH    HART                      NM         35085289489
126735A4961972   JOSEFINO     SALIBA                    CA         90014745049
1267381614B26B   RICHARD      PERGANDE                  NE         90014308161
12673954772B62   MAYRA        GONZALES                  CO         90002509547
126752A4276B68   LIZETTE      LUCERO                    CA         90011262042
1267562477B489   SANDRA       STATEN                    NC         11061466247
1267566A861976   CLAUDIA      MONTES                    CA         90011366608
12675A91476B68   SHINISHA     SMITH                     CA         90015020914
12676146672B55   TRISTA       LACKEY                    CO         90012271466
12676694A72B37   KIMBERLY M   TUFFIELD                  CO         33016256940
1267681A15B526   GEOFFREY     COOPER                    NM         35043608101
12676A25691895   BRYAN        GUEVARA                   OK         21000550256
12676AA6271927   PAUL         HILL                      CO         32013070062
126788A6793745   AMBER        BAYLESS                   OH         90010368067
12679985527B88   LATISHA      MAXIE                     KY         90014669855
1267B84217B489   WENDY        CALISC                    NC         90009728421
12681176A4B922   ANDREA       WATES                     TX         90007241760
1268164A261938   NO           SAENGPHET                 CA         90011926402
1268198685B526   PAUL         FIELDS                    NM         90007789868
12682951A72B55   JOSE         LUNA                      CO         90003459510
126833AA161972   GONZALES     SALGADO                   CA         90014133001
12683531276B68   DARREN       CRAWFORD                  CA         90010385312
1268354259154B   PERLA        JUAREZ                    TX         90013955425
126843A1A4B26B   DEBRA        EVANS                     NE         90013623010
1268459245B154   JERMILLIAN   SMITH                     AR         90001495924
12686365A31635   ALEXANDRA    SPERLY                    KS         90004623650
126863AA54B588   DENAE        ROBERTS                   OK         90011363005
1268698219373B   GLORIA       NICHOLS                   OH         90007129821
12687126176B68   RICARDO      GARCIA                    CA         90011471261
12687592A9154B   JOSE         ARAUJA                    TX         90014585920
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1268818225B279   MEGAN         MARTIN                   KY         90011401822
1268839655715B   JONATHAN      SAYO                     VA         90010043965
12688922A7B489   MAURICE       WILLIAMS                 NC         90015609220
12688AA2733699   LAKOSHKA      MCCOLLUM                 NC         12078680027
1268B759461972   JESSICA       LOPEZ                    CA         90014017594
1268B764976B48   LUIS          ROJO                     CA         90009587649
1269114594B588   CASEY         LUNN                     OK         90014601459
1269123875B526   DULCE         GAMBOA                   NM         35077402387
12691443A7B489   DEANDRE       JENNINGS                 NC         90011074430
1269491847B489   LOUIS         PHILLIPS                 NC         11076619184
126953A2961972   ARACELI       JIMENEZ                  CA         90014133029
126953A474B267   HECTOR        LEMUS                    NE         90010733047
1269647212B926   NANCY         PEREZ                    CA         90011564721
1269652174B52B   BRITTANY      LOFTON                   OK         90004235217
126978A2291254   JEWERL        MABERY                   SC         90000958022
12697994672B55   THOMAS        PATRICK                  CO         90003459946
126982A279154B   ENRIQUE       QUINTANA                 TX         90015242027
1269875145B526   MARSHALL      VAUGH                    NM         90011377514
1269886584B26B   LONNIE        MAUER                    NE         90007858658
12699348A7B489   JOSHUA        COLEMAN                  NC         90011463480
1269934A972B62   LUPE          RODRIGUEZ                CO         90013823409
126996A7A4B26B   MORGAN        REED                     NE         26066136070
1269B256591569   EDUARDO       RODRIGUEZ                TX         90011922565
1269B735693745   TRENTON       FOSTER                   OH         90002437356
126B1A71251337   MATHAN        MOLEN                    OH         90014390712
126B2149261938   MONICA        GUTIERREZ FELIPE         CA         46005331492
126B2279291852   MELISSA       SETTES                   OK         90009352792
126B24A144B588   KORI          BELTRAN                  OK         90014084014
126B2683155976   SUSIE         MAYO                     CA         90008306831
126B3185333699   LATONYA       STINSON                  NC         90004901853
126B32A8491263   VICKIE        SANDERSON                GA         90015512084
126B343565715B   VANNY         MEJIA                    VA         90013304356
126B4315361958   FERNANDO      DURAN                    CA         90009413153
126B4321561958   JOSE          ALVARADO                 CA         90011193215
126B4513472B28   MARIA         BRIONES                  CO         33042115134
126B479749154B   ROSALVE       JAURIETTA                TX         90011207974
126B6158371932   ANDREA        WILLIAMSON               CO         90013951583
126B68A655B526   DOUGLAS       EISELE                   NM         90013198065
126B6952A47956   BOBBY         HAMM                     AR         90014829520
126B7549391925   MARCEL        WEBSTER                  NC         17062975493
126B82A4461976   MARILYN       MITCHELL                 CA         90010132044
126B87A6655976   GE            MOUA                     CA         49012107066
126B91A7731635   MILTON        REED                     KS         90002321077
126B994288B878   ELENA         CASTRENCE                HI         90015339428
126B9A63172453   GINGER        STROPE                   PA         51069720631
126BB285861972   EVA           JIMENEZ                  CA         90008452858
126BB835455948   JOSE          MENDOZA                  CA         90011718354
1271115995B526   DESIREE       CHAVEZ                   NM         90009621599
12711267A72B62   DAWN          HOWE                     CO         33009352670
1271136294B588   MARIA         HERNANDEZ                OK         90007733629
1271199422B263   SHAWNEKEQUE   HUGGANS                  DC         90013849942
127145A3176B68   BRENDA        TOVAR                    CA         90014735031
127157A2293745   MICHELLE      HAFER                    OH         64563047022
12716438A47956   MORENA        NAVARRO                  AR         90000384380
1271655715715B   QALI          HASSAN                   VA         81032535571
1271663A55B526   JOSE          CHACON-PORTILLO          NM         90009796305
12717A15451337   CRYSTAL       HAYES                    OH         90013010154
12717A17831687   DERICK        DIAZ                     KS         90014780178
1271893A261958   MARY LOU      TORESS                   CA         90008679302
1271B138985943   PAUL          HANSMAN                  KY         66008571389
1271B27A233647   WILMARY       CARABALLO                NC         90004922702
1271B38A255936   RUBY          LOPEZ                    CA         90010333802
1271B526255976   MONIQUE       GLAZE                    CA         49005795262
1271B711A61976   JEYOA         SPENCER                  CA         90015107110
1271B827A61976   GLORIA        BRADLEY                  CA         90009978270
1272196185B526   TERRI         NORTON                   NM         35084079618
127239A8272B62   ROBERT        BARRERA                  CO         90006649082
127248A3733699   LAQUANDA      JOHNSON                  NC         90015018037
12724A41872B62   ARACELY       VARELA                   CO         33089080418
12725541672B62   PAUL          VIGIL                    CO         33083485416
12725A1174B588   CARLOS        ESCALANTE                OK         21526540117
12725AA472B966   SANDRA        LARIOS                   CA         90010080047
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1272769A457147   NATIVIDAD     BONILLA                  VA         81005376904
1272859AA33699   RALONDA       BAPTISTE                 NC         90013085900
1272926477B489   ZAINA         FAYE                     NC         90002772647
1272B493561958   SANDRA        MEADINA                  CA         46081204935
1272BAA4155976   LINDA         TEIXERIA                 CA         49014410041
1273221A493745   MATTHEW       SNOOK                    OH         90001192104
1273272A32B242   KIM           DAVIS                    NC         90001427203
1273363949154B   JAIME         BADILLO                  TX         90013096394
1273399555715B   JOSHUA        WISE                     VA         81018319955
12733A42533699   CORA          MORRIS                   NC         90003650425
12733A85897B69   REGINA        GALLEGOS                 CO         90012490858
1273499555715B   JOSHUA        WISE                     VA         81018319955
1273514745B526   RONALD        RYMARZ                   NM         35080011474
1273525314B267   YOLANDA       DELTS                    NE         90013952531
1273596854B26B   LINDA         WEILER                   NE         26000529685
12735A7924B588   LORENA        NICHOLOS                 OK         90009470792
1273628845B526   VERONICA      ELENA                    NM         90007082884
12736658472B62   MARIO         OROZCO                   CO         33055336584
1273682634B26B   JASMINE       BRITO                    NE         90012358263
1273795425B526   MONICA        ALANIS                   NM         35095429542
1273BA88661938   ELIZABETH     FAUST                    CA         90012760886
1274128535B526   MARISA        LOPEZ                    NM         90013282853
127419A713B36B   JASON         FREELAND                 CO         33097969071
1274221934B26B   LORRAINA      LUTJE                    NE         26011292193
12742621624B7B   ERIC          JACKSON                  DC         81093866216
12742732372B62   YUBINI        ABREGO                   CO         33060597323
12742A1224B588   CAROLINA      TEMAJ                    OK         90015300122
127439A9261958   BEATRIZ       GARCIA                   CA         90012749092
12743AA6861444   KENISHA       HENDERSON                OH         90010890068
1274453359154B   SAMANTHA      CORTEZ                   TX         90011055335
1274522355599B   JOSE          LOPEZ                    CA         48064892235
1274531295B526   RICARDO       OJEDA                    NM         90007023129
127453A6561972   DARROW        SATTERFIELD              CA         90014243065
1274582479154B   NORA          LOPEZ                    TX         90013968247
127461A4151337   PETE          FAUL                     OH         66094731041
1274667125B526   JAQUEENA      PINTO                    NM         90012786712
12746A98361938   JUANA         SANTOS                   CA         90014850983
1274776A461972   ANDRE         GONZALEZ                 CA         90014017604
1274852639154B   TAYLOR        SEGOBIANO                TX         90012495263
1274853714B588   MARIA         GODINEZ                  OK         90005165371
127494A2A61936   GLADYS AYON   JASON LIRA               CA         90012384020
12749A2454B23B   BRITTANY      DANIELS                  IA         27056910245
1274B444861976   SALVADOR      MARTINEZ                 CA         90015144448
1274B988191263   LATERICA      WILLIAMS                 GA         90010579881
12752139A91569   MARK          PINONES                  TX         75085521390
127523A9533649   JAMES         PHELPS                   NC         12017173095
127527A9855948   ANA           SANCHEZ                  CA         90011757098
12752921676B68   NELIDA        MARTINEZ SALAS           CA         90014519216
1275295467B43B   FABIOLA       LARA CORONA              SC         90012969546
12754913672B62   VERONICA      LEAL                     CO         33082459136
1275629A777353   ANNIE         JOHNSON                   IL        90014892907
127565AA64B922   TOI           JOSEPH                   TX         90006645006
12756721372B62   VICTORIA      GONZALES                 CO         33092817213
1275743A355976   OMAR          MARTINEZ                 CA         90008244303
1275931115715B   MUHAMMAD      HUSSAIN                  VA         90004363111
12759631A33699   JAMES         MOORE                    NC         90014306310
12759A86176B68   SANJUANA      APARCIO                  CA         46002350861
1275B36A476B68   JULIO         VENEGAS                  CA         46027013604
127611A2857147   EFRAIN        PELLOT                   VA         90003141028
12761559476B68   CECILIA       MARTINEZ                 CA         90012355594
1276181A59154B   NATHALY       INFANTE                  TX         90002158105
12761A11976B68   CARLOTA       CASTRO                   CA         90014840119
12761A42176B68   DEISY         AVILA                    CA         46087610421
12761A46293745   THERESA       KIEFER                   OH         90001110462
12762498A97B58   DENNIS        YOUNCE                   CO         39072644980
12762A45391569   NORMA         REZA                     TX         75022580453
1276328A19154B   JOSE LUIS     AYALA                    TX         90012732801
1276364425B526   AMANDA        QUINTANA                 NM         90011626442
1276374A67B489   DAISHA        PARSONS                  NC         90013707406
1276461495B338   ANA           SHERBAHN                 OR         90000936149
12764766A61972   GRACIELA      HERNANDEZ                CA         90011527660
127654A6893745   CARL          FREDERICK                OH         64584544068
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1276583135B526   KYARA         JONES                    NM         35053198313
12766AA325B154   MARIA         IBARRA                   AR         23050260032
12767A5A19154B   RUBY          RAMIREZ                  TX         90012930501
1276812498B165   ELLEN         WATTS                    UT         90007061249
12768332A7B489   SABRINA       NEWBERRY                 NC         90003333320
1276862849154B   MARITZA       SERRANO                  TX         90012416284
1276986A35B526   SUSANA        HEREDIA-LOPEZ            NM         90014328603
12769888A76B68   SEBASTIAN     COVARRUBIAS              CA         90013328880
1276B197255976   KEARSTIN      WORSHAM                  CA         90014531972
1276B737391569   CHRISTIAN     CORTINAS                 TX         90012637373
1276B773876B52   ALFREDO       HERRERA                  CA         90001327738
1276B934261958   SAMANTHA      MOLINA                   CA         90014239342
1277228749154B   JOE           ENRIQUEZ                 TX         90014762874
12772372A61938   DIANA         VILLANUEVA               CA         46057203720
1277254824B592   FERNANDO      BARRON                   OK         90004315482
12772971527B88   EBONY         LYLE                     KY         90012759715
1277317264B23B   BRIANNA       SHINROCK                 NE         27012251726
1277321A831687   KNOCKO        THOMPSON                 KS         90014292108
12774A69261938   HECTOR        QUINTERO                 CA         90000120692
127757AA391263   AFRICA        PAYNE                    GA         90006117003
1277593584B265   ROBERT        EVERSON                  NE         90010409358
1277621299154B   ANA           CORONADO                 TX         90013872129
1277641A757147   DENYS         MARTINEZ                 VA         81023054107
12776657972B26   CHRIS         MILIKEN                  CO         90002526579
1277675A35715B   FRANCISCO     LOPEZ                    VA         90010457503
12777853176B68   EDWIN         NOLASCO                  CA         90002258531
12777AA627B489   PARISH        MILLER                   NC         11039590062
1277826294B52B   MATTIE        MILTON                   OK         21559992629
12778822372B62   BRANDON       HEGLAND                  CO         90009348223
127788A8677539   SOLEDAD       NAVIDAD                  NV         43033848086
1277917134B588   ARACELY       PAXTOR                   OK         90013491713
12779A22347956   WILLIAM       KUNKEL                   AR         90003640223
12779A7549154B   JAIME         MARQUEZ                  TX         90013380754
1277B213572B55   STEPHEN       TENDELL                  CO         90003462135
1277B276261938   LETHA         BROWN                    CA         90012032762
1277B526391569   MARIA         PARAD                    TX         90013335263
1277B926A4B588   SOCORRO       VILLALAZ                 OK         90012299260
1278213295715B   LUIS          CABRERA                  VA         90010801329
12782868A77522   CARLOS        GUTIERREZ                NV         90004418680
1278351549154B   AURELIO       IBARRA                   TX         75066045154
12783A79684375   RONDA         BARRIENTOS               SC         19031040796
127845A982B966   ASHLEY        DRAPER                   CA         45093175098
1278641349154B   JOSE          RAMIREZ                  TX         90013654134
12786A95284375   LEAH          WOODS                    SC         19067250952
12787937A91895   RICHARD       DEBERRY                  OK         21014349370
127887A8A4B588   LINDAL        MCGLATHERY               OK         90012977080
1278916444B26B   DALLAS        HEES                     NE         26051861644
1278973A14B23B   DANA          BOTOS                    NE         27095037301
1278B312957B59   JEREMY        LYONS                    PA         90015243129
1278B629777539   AMBER         DODINEZ                  NV         90001976297
12791849672B28   LYNNETTE      BROADWAY                 CO         90012638496
1279215A851337   BELITTA       CROLEY                   KY         66097221508
12794926A9154B   ALLEN         GURROLLA                 TX         90005189260
1279517A133699   CHRIS         BARNES                   NC         90015241701
127952A7285853   RENE          GONZALEZ                 CA         90013562072
12796743257B59   GELSEY        VEGA                     PA         90014187432
1279747A633699   VICTORIA      CARRILLO                 NC         90007904706
127976A1A5B154   KRYSTAL       CLAY                     AR         23041696010
1279841454B588   SHANNON       HOPPER                   OK         90013694145
12798672372B62   ARTHUR        MARTINEZ                 CO         33002846723
127999A5172B37   ANTHONY       SANCHEZ                  CO         33076229051
1279B6AA855948   ALEJANDRO     MENDEZ                   CA         49055666008
1279B779361972   CLAUDIO       ORTEGA                   CA         90002387793
1279B8A1A4B588   JULIANA       BINGHAM                  OK         90005128010
127B1186A91263   TYRONE        LAWRENCE                 GA         90013981860
127B1562561972   FELIPE        CONTRERAS                CA         90004365625
127B1942972435   LISA          DIXON                    PA         51067089429
127B196814B588   CHRISTOPHER   TOLLE                    OK         90012239681
127B1969731687   SHERRY        MORRISSEY                KS         90014009697
127B1989951337   KEVIN         MASON                    OH         90013589899
127B223285715B   RONALD        SALINAS                  VA         90001862328
127B2483847956   LOGAN         MOORE                    AR         90011194838
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127B3711361938   ANTHONY            COLON               CA         90012167113
127B3981A3B392   BOONE              SENGALOUNE          CO         33089319810
127B4536463B2B   DEYSI              ALVAREZ              IL        90014745364
127B4721891263   PATRICIA           GARDNER             GA         90004397218
127B5139961938   DANNA              CHILDERS            CA         90009851399
127B5312761972   JAQUELINE          CALDERA             CA         90014393127
127B5449A31687   SHAUNDA            KERN                KS         90014504490
127B5745361972   ANGELA             CARRILLO-ACOSTA     CA         90011527453
127B58A4441384   JUANA              REYES               MA         90015498044
127B62A1361938   KNIAJA             POSEY               CA         90014212013
127B6388733699   LENYATTA           HENRY               NC         90013083887
127B693489154B   MIGUEL ANGEL       SEPULVEDA           TX         90014179348
127B729989154B   SEBASTIAN          PARRA               TX         90014202998
127B7331947956   MYRA               JAMES               AR         24033933319
127B763745B526   DAN                HILBORN             NM         35068716374
127B7713785922   RAUL               RICO                KY         90012837137
127B8922257147   JOSE               PORTILLO            VA         81068849222
127B899972B926   REBECCA            PENA                CA         90008199997
127B89A2193745   COREY              PROFFITT            OH         64538519021
127B93A9276B68   JOSEPH             ROGERS              CA         90012893092
127B962379154B   JOE                NUNEZ               TX         90005006237
12811243176B68   GLORIA             CALVILLO CISNEROS   CA         90014912431
1281261A761938   FAITH              DELCASALE           CA         46036146107
128141A579154B   FELIPE             FLORES              TX         75034721057
1281421665B154   AMENTA             WALKER              AR         23041002166
12814318A31637   ANGELA             ALEXANDER           KS         90012013180
1281557439154B   DAVID              RODRIGUEZ           TX         90013955743
1281563265B526   SHAWN              WILLIAMS            NM         35055966326
12816736172B62   SEAN               KITE                CO         33017787361
12816A35255948   SUSANA             LOPEZ               CA         90012950352
1281712913B398   LOUIS              VARONE              CO         90013141291
1281852AA61958   EDDIE              CHAVEZ              CA         46051685200
1281B21917B489   ROBERT             TURNER              NC         11012362191
1281B415993745   KARA               FERGUSON            OH         90002114159
1281B7A7161958   THE                WATSON              CA         90014057071
1281BAA299154B   KARLA              RODRIGUEZ           TX         90012480029
1282139615B526   HERMELINDA         ESCOBEDO            NM         90002773961
1282153A261972   TERRELL            BOYD                CA         46059715302
1282189A872B62   ROSE               ORTEGA              CO         90014618908
12822359A55976   STEVEN             RIVERA              CA         90015163590
128227A184B588   MICHEAL            LANGSTON            OK         90011087018
1282327754B26B   POLLY              MORTON              NE         26018052775
12823A24231635   VILMA              GRADO               KS         22073080242
12824417572B62   JORDIN             MOTA                CO         90013664175
12824866272B62   CRISTINA           JIMENEZ             CO         33021388662
1282788737B343   JOCELYN            HUFF                VA         90001948873
128281A7561972   REESE              KEYS                CA         90002891075
12828A99A71925   TIMOTHY            GARBISO             CO         90006170990
1282962857B423   LISA               MASSEY              NC         90012376285
12829A85A93745   CARLA              POTCHIK             OH         64513760850
1282B29554B268   JESSICA            FERGSON             IA         90011072955
1282B99454B26B   BRANDILEE          MCDONALD            NE         26075499945
1283188737B343   JOCELYN            HUFF                VA         90001948873
1283191A43B39B   WILLIAM            STILSON             CO         33064259104
12831A8792B235   AARON              LONG                DC         90006480879
1283315164B26B   TRUDIE             LEMON               NE         26097771516
128331A1791895   KIMBERLY           DURANT              OK         90014401017
1283356A761985   MARIA              ELENA               CA         90000465607
12833736A91579   YOLANA             RUVALCABA           TX         90013797360
1283471A251337   TARA               HAAN                OH         66083947102
128352AA391263   DAISY              WILSON              GA         14580692003
1283637724B588   RANDY              HAYES               OK         90014463772
12836A2239154B   JAVIER ALEJANDRO   TORRES              TX         90012480223
1283754955B526   RENETTA            WOODS               NM         35082165495
1283755789154B   ISRAEL             ARENAS              TX         90014565578
1283826637B489   SARAH              TACKETT             NC         90013352663
1283919A991895   TWANDA             BLANKS              OK         90014771909
1283924454B588   JULIA              COVARRUBIAS         OK         90005012445
1283B2A455715B   WILLI              PANAMENO            VA         90010802045
1284116424B23B   BRANDY             KERMOADE            IA         90010191642
12841A8599154B   ANGIE              MARTINEZ            TX         75033250859
12842169672B62   DIANE              VIGIL               CO         33094901696
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128421A789154B   MARCOS       CASTILLO                  TX         90007021078
1284279765B526   LINDA        AGUAYO                    NM         35091917976
12842A54A93745   KAYLA        CALVERT                   OH         90015190540
1284319939154B   PRICILLA     RODARTE                   TX         90007231993
1284489747B489   ARTEMIO      COLIN                     NC         90013928974
12845421772B55   NAYENCY      FIGUEROA                  CO         90003464217
128457A559154B   CARLOS D     RAMIREZ                   TX         90013957055
128478A5A55948   BRANDON      GARCIA                    CA         90011788050
1284912375B526   DAIVD        MIERA                     NM         90000361237
12849164976B68   BERNIE       DALIT                     CA         90012781649
1284984644B26B   S            WILLIAMS                  NE         90015138464
1285236569196B   MARGARET     MASAI                     NC         90010403656
1285236A357147   EMILY        FLORES                    VA         90014773603
12852A74197122   ROBERT       WILLAIMS                  OR         90005860741
12852A78561972   DANNY        CHRISTENSEN               CA         90010930785
12853259372B84   JUSTIN       SOKLIN                    CO         90010712593
128534A8491263   EDNA         DAVIS                     GA         90013164084
1285359A524B7B   REGINA       HUNTER                    DC         90010805905
12853A13961972   RITO         RODRIGUEZ                 CA         90013340139
12853A7A847956   JUSTIN       KNUCKLES                  AR         24007180708
1285439884B588   KACY         BARR                      OK         90013393988
12854791A91263   VALERIE      DAVIS                     GA         90014917910
12854A8944B588   TYRONE       WILLIAMS                  OK         90010830894
1285539194B588   MELISSA      MORRISON                  OK         90010963919
128561A2661972   FERNANDO     RASCON                    CA         90014921026
1285671624B26B   KIRK         CLICK                     NE         90012097162
1285812527B444   SHANICE A    TRUSS                     NC         11016231252
128582A6684375   SHANSTACY    PUGH                      SC         90005622066
12858935A91263   DIALISS      VILLA                     GA         90015019350
1285997435B526   JULIO        AMEZQUITA                 NM         90009389743
1285B196161958   MARIA        SANCHEZ                   CA         90014491961
1285B23175B526   JENNIFER     SANCHEZ                   NM         35007652317
1285B616755976   JUAN         MARTINEZ                  CA         49009596167
12861258A61998   MICHAEL      CALLAN                    CA         90000632580
1286171A661958   MARCUS       FOREMAN                   CA         90014407106
1286297345B526   CLARE        JACOBS                    NM         90012319734
12863319A57147   JUAN         AMAYA                     VA         81075263190
1286358159154B   ESTEFANIA    FAVELA                    TX         90013955815
1286451A99154B   LIZBETH      GRACIA                    TX         90011375109
1286527AA93745   ALISHA       CAGG                      OH         90003452700
128659A2561958   MARICELA     VARGAS                    CA         90009649025
12865A4674B23B   KELSEA       LYONS                     IA         27079570467
1286789A391263   LAJEAE       MALLARD                   GA         90015528903
12868976A9154B   VICTOR       ALMANZA                   TX         90009279760
12869244572B62   ALBERTO      DURAN                     CO         90006482445
12869485372B55   THOMAS       RIGGS                     CO         90003464853
12869A26257147   WILLAIM      GRESHAM                   VA         90012880262
1286B2A6684375   SHANSTACY    PUGH                      SC         90005622066
1286B772191569   MARILYN      AGUILAR                   TX         90005877721
1286B829857147   GLOVONNI     RICHARDSON                VA         90006178298
1286BA95576B68   MACEDONIA    FLORES                    CA         90014110955
1287197A37B695   GABRIELLE    THREATT                   GA         90014089703
1287264654B588   MARINA       CARRILLO                  OK         90015126465
1287336A172435   JEFFREY      RENQUIST                  PA         51008403601
12873751A31635   ISIDRO       LOERA                     KS         22093967510
12874517972B62   CONNIE       BENTLEY                   CO         33054485179
12874A61A93745   MINDY        HINKLE                    OH         64577900610
12875929372B62   ABRAHAM      GONZALEZ-BELTRAN          CO         90013179293
1287612A86192B   DINA         MEYERS                    CA         46087321208
1287634A272B55   VERONICA     DELGADO                   CO         33044143402
1287693864B588   CLAUDIA      CAMACHO                   OK         90014169386
12879A8587B489   GWENDOLYN    JONES                     NC         11055360858
1287B36A24B588   TIFFANY      HAILEY                    OK         90013213602
1287B432261958   ERIKA        CARDENAS                  CA         90010264322
1287B477857147   JOHN         SOTO                      VA         90014794778
1287B6A6157147   JENNIFER     RILEY                     VA         90014516061
1287B757A4B26B   TIMOTHY      GILBERT                   NE         90013427570
1287B817891569   LUZ          ANGEL                     TX         90013328178
1287B877257147   LUIS         GOMEZ                     VA         90012878772
128812AA94B267   NICOLE       HARMON                    NE         90010292009
12882239876B68   KATHERINE    LOPEZ                     CA         90012282398
1288285365715B   ANNE         BARNES                    VA         81095798536
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1288289A947956   BRANDY        TRAN                     AR         90011308909
12882A5777B489   ERIKA         CORONA                   NC         90007710577
1288355464B287   JOSE          ORTEGA                   NE         27086015546
12883925A61976   ALEJANDRO     TOPETE                   CA         90012699250
128839A4291895   KEVIN         BURRIS                   OK         90008699042
128847A724B26B   CLAUDIA       YEPES                    NE         26097347072
12886154472B62   ISABEL        DIAZ                     CO         33053811544
12886A1334B588   AALIYAH       LEWIS                    OK         90013110133
1288785A35715B   CHRIS         MOSSMAN                  VA         90011328503
1288839785B526   ZAYRA         SALAS                    NM         90006183978
1288848624B26B   REBECCA       MARTINEZ                 NE         26083154862
128887A2976B68   JUANA         SANCHEZ                  CA         90013117029
1288B136872B62   SHAWN         MARSH                    CO         33088161368
1288B344557147   CIRO          AREVALO                  VA         90010023445
1288B64A751337   TRACIE        PHARRIS                  OH         90013256407
1289154514B26B   AUSTIN        WIESE                    NE         90014075451
1289164845B526   OLGA          ALVAREZ                  NM         90014546484
12892A93976B42   MARILYN       MORENO                   CA         90009930939
128935A4661976   CLARISSA      LUNA                     CA         90003875046
12893717476B68   JAIME         MEJIA                    CA         46065457174
1289392A34B588   LAWANEA       STEVENS                  OK         90014769203
12894A4455B526   OLLIE         COLINA                   NM         90014600445
12896295A24B7B   ANTOINE       PARKER                   DC         90010882950
1289646935B526   JENNIFER      WALTERS                  NM         90011124693
12897395597B69   TRAVIS        TUCCI                    CO         90001973955
1289746625B526   GRACIELA      MARQUEZ-ARELLANES        NM         90013494662
12897A65961958   FAVIOLA       BRAVO                    CA         90013690659
1289854364B537   ISMELDA       TEEL                     OK         90010835436
1289939563B393   MARY          TRUJILLO                 CO         90014813956
1289B151261972   YUDITH        ORDAZ                    CA         46017511512
1289B179293745   BRIAN         GRUBE                    OH         64595581792
1289B89A25B154   CAROLYN       HARPER                   AR         23076838902
128B135984B588   MARDA         MALDONADO                OK         21511613598
128B1472191895   BILLY         GREEN                    OK         21086744721
128B191374B26B   DANIELLE      MAHLOCH                  NE         26046339137
128B1A58493745   KIMBERLY      GOINGS                   OH         64567290584
128B2114857147   JULIO         MINA                     VA         81091391148
128B2537A91569   KATRINA       SANDOVAL                 TX         90012885370
128B2793A41384   ASIA          ROLAN                    MA         90015487930
128B2A6557B489   KAREY         WRIGHT                   SC         90013980655
128B3255A31687   GUADALUPE     OLGUIN                   KS         90004542550
128B3878257549   SHERRIE       BELLON                   NM         90008558782
128B4638276B68   YESENIA       TORREZ                   CA         46047896382
128B5491891569   SYLVIA        GONZALES                 TX         75015084918
128B5873191895   REGINA        SEXTON                   OK         21083688731
128B5999355976   JESUS         CUEVAS                   CA         90014339993
128B64A894B588   ROSA          LOPEZ                    OK         90015114089
128B6961947956   BECCA         SANCHEZ                  AR         90006079619
128B6981361976   DESMOND       EWING                    CA         90013129813
128B7111193725   GREG          JONES                    OH         90001181111
128B7185457147   JOSE          CASTRO                   VA         90015071854
128B7217672B62   LAURA         SHEEDER                  CO         33089592176
128B7398193745   TONI          WHITTEN                  OH         90012013981
128B794424B268   CAROL         RADKE                    NE         90004449442
128B8227193767   DEWBERRY      ESHELLE                  OH         90004362271
128B83A8572435   JAMYE         IMM                      PA         51009713085
128B8958655948   BENITO        JUAREZ                   CA         90011779586
128B915A861976   CHRISTOPHER   STEWART                  CA         90014541508
128B9897777539   ROBERT        JOHNSON                  NV         90002368977
1291134225B53B   MONIQUE       SANDERS                  NM         35069873422
1291199913B388   LUIS          FUENTES                  CO         90007259991
12912418424B7B   ROBERT        NEELLEY                  DC         90015384184
12912A1212B235   STEPHANIE     ARMSTRONG                DC         81093460121
12913388A57147   CONSUELO      PACHECO                  DC         90007603880
129134A147B489   MELINDA       SANDERS                  NC         90011084014
1291479429154B   MYRNA         BUSTOS                   TX         75011647942
12915426276B68   KELIS         NEIDIFFER                CA         90012224262
1291563452242B   DAWN          BERNAL                    IL        90014846345
1291566884B26B   SKEET         RIGGS                    NE         90006746688
1291619A861938   PEDRO         HERNANDEZ                CA         46057371908
1291674455B526   RYAN          SARRACINO                NM         90015557445
1291692532B242   STEPHANIE     OHNSON                   DC         90008789253
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129169AAA4B26B   NIKOLA         PICKENS                 NE         90014549000
1291731229154B   JUAN           ESCOBEDO                TX         90010283122
1291755A591263   NASHLEY        GARCIA                  GA         90013135505
129179AAA61972   HELIODORO      DOMACIO                 CA         90007309000
12918556272B62   JOSE JUAN      LAZARO                  CO         33088595562
1291874859154B   MARIO          VALDEZ                  TX         75064577485
12918A45961972   CINDY          VIGIL                   CA         90013530459
1291951A755948   HELMUT         KUHN                    CA         90005815107
1291B348491895   LEKESHA        SIMMONS                 OK         90008353484
1291B39938B192   ANDREA         CHILDS                  UT         90006393993
1291B87AA4B588   EDGAR          ROLANDO                 OK         21587688700
1291B95A961972   VERONICA       VELDEZ                  CA         90011099509
1291BA5AA55976   GREGORIO       GUITTEREZ               CA         90007740500
1292189A14B23B   HEATHER        HOBERG                  NE         27019858901
12922A4474B26B   AMY            GREEN                   NE         26048000447
1292344847B489   JAMES          DEAN                    NC         90008824484
129236A554B588   KENNETH        HOLMES                  OK         90009316055
12923764A91263   RONNIE         ROBINSON                GA         90013347640
12923871A33B28   SONIA          KONKLE                  OH         90012338710
1292433899154B   JERRY          PONCE                   TX         75031803389
1292483185B39B   MACKENZIE      MORTER                  OR         90011808318
1292528577B489   RAVEN          GOLDWIRE                NC         90014222857
129252A5361976   RENZZO         RAMIREZ                 CA         90010282053
12925A91393745   ALYSHA         COX                     OH         90010640913
1292621A361976   RAY            MOORE                   CA         46082092103
1292661639154B   MANNY          TERRAZAS                TX         90012716163
129266A6272435   MARSHA         LOVATO                  PA         51077886062
1292729AA61985   BOBBIE MARIE   HIPPERT                 CA         90009412900
12927844A9154B   GUADALUPE      HERNANDEZ               TX         90013968440
129278AA461985   BOBBIE MARIE   HIPPERT                 CA         90014558004
12927AA9476B68   JAZMIN         TERRAZAS                CA         90014920094
1292983875715B   JENNY          DELCID                  VA         90000858387
1292B14A461958   CHRISTINA      MONTOYA                 CA         90014331404
1292B758691569   MARIA          LOPEZ                   NM         90007497586
12931535976B68   ANGIE          HERNANDEZ               CA         90011845359
1293185154B26B   TROY           WILHITE                 NE         90012398515
1293291A933699   IVONDE         MOORE                   NC         90015489109
129334A7893745   RACHEL         SCHMIDT                 OH         64523694078
1293474859154B   MARIO          VALDEZ                  TX         75064577485
129353A964B588   APRIL          HERRIN                  OK         90010253096
1293563529154B   LORENZO        SALDIVAR                TX         90014986352
12935689A4B26B   HOWARD         MCBRIDE                 NE         90005676890
1293574A261976   MAYCO          SOTO                    CA         90014367402
12935A63A91263   JASMINN        HUNT                    GA         90009280630
1293652964B53B   JESSICA        WARREN                  OK         90013595296
129369AA347956   DENISE         MYERS                   AR         24098209003
1293738A224B7B   ALEXANDER      BONILLA                 MD         90015363802
1293854879154B   CASSANDRA      GUTIERREZ               TX         90014705487
1293869A761976   BROWNING       JAY                     CA         90014846907
12938A69261938   JUAN           RODRIGUEZ               CA         90008210692
1293B16A891263   TINA           GIBBS                   GA         90007461608
1293B79A593745   DUSTIN         FORTMAN                 OH         90008197905
1293B89539154B   JUSTIN         CAMPOS                  TX         90012888953
1294183A861958   ARTURO         OSEGUERA                CA         90000638308
12941944A33699   JANICE         GREGORY                 NC         90009899440
12943523976B68   ANTONIA        ZAMORANO                CA         90014735239
1294359369154B   ILSE MARIEL    LOPEZ                   TX         90013955936
129439A755B526   LENITA         GRAHAM                  NM         90015109075
12943A86757147   DIEGO          HEBDEN                  VA         90014300867
1294551114B588   SHALA          STEVENSON               OK         90014805111
1294575879154B   JOSEPHINE      GONZALEZ                TX         90014497587
1294675375B526   BLANCA         REYES                   NM         90013047537
1294791A79154B   ISMAEL         MARQUEZ                 TX         75072489107
12947A87361972   SILVIA         EVARISTO                CA         90010850873
129481A3161997   JHANS          SANTIZO                 CA         46018851031
129481A724B26B   ASHLEY         HOFMANN                 NE         90006241072
1294865654B26B   DAVID          MURPHY                  NE         90014636565
1294931717B489   DSIRE          WILLIAMS                NC         90011533171
1294B259472433   SCOTT          MONK                    PA         90003792594
1294B41A361972   RICARDO        CHAVEZ PALMA            CA         90013064103
12951482576B68   MIKE           PETERS                  CA         90010474825
12951698A7B459   MARY           MCKOY                   NC         11005486980
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129518A3593745   NICOLE       HUTSON                    OH         90009758035
12951A75991895   RICARDO      PAYTON                    OK         90013710759
129524A4462324   KADEIDRA     HAMILTON                  AZ         90015024044
12952551A2B966   MARIA        JUAREZ                    CA         90002255510
129532AA991263   JORDAN       RICHARDSON                GA         90015522009
129536A4561976   MARCOS       NICARAGUA                 CA         46043826045
1295371AA47956   HEATHER      MCCOWAN                   AR         90013227100
129539AA84B588   BRANDI       BAILEY                    OK         21557489008
129547AA63365B   JONAH        POTTS                     NC         90007827006
12955243276B68   MAURA        SALGADO                   CA         90014882432
1295527365B526   BRENDA       VASQUEZ                   NM         35085412736
1295615765B526   IRVIN        ALVIDREZ                  NM         90008841576
12956442A55976   VICKIE       MARTINEZ                  CA         90012884420
1295711695B526   RONDA        HUNSLEY                   NM         35058751169
1295775AA55976   JOSE         MARCIAL                   CA         90000277500
12959653257B59   ROBERTO      NAVARRO                   PA         90014216532
1295988824B588   LESVIA       HERNANDEZ                 OK         21529998882
1295B43132B249   DOMI         HERNANDEZ                 DC         81013194313
1296125737B489   LILIAN       ACOSTA                    NC         90011902573
1296165865B526   GARY         GARCIA                    NM         35035016586
1296239939154B   DIANA        RODRIGUEZ                 TX         90014803993
12962629372B37   JORGE        MEDRANO                   CO         33068976293
129626A814B23B   DONNIE       FRANCIS                   NE         27039686081
1296283A461976   JUANA        VARGAS                    CA         90012358304
12962A46A91895   KAQUAN       HERREA                    OK         90006920460
12963313524B82   GERRIC       MORGAN                    DC         90004013135
12963914172B62   MIKE         VESSAR                    CO         90013159141
1296393A172B55   ALMA         JUAREZ CORONA             CO         33051069301
12963A1A88B165   TERAH        MACHEGO                   UT         90007800108
1296439634B26B   JESSE        BALDWIN                   NE         90003263963
1296442593B324   JIM          ANDERSON                  CO         90013304259
12964A59833699   EVERSLY      JOHNSON                   NC         90013280598
12965583376B68   BENJAMIN     LOPEZ                     CA         46056625833
12966191572B62   MOHAMED      MEDIANI                   CO         90010711915
12966251876B68   HARRY        WILLIAMS                  CA         90013032518
1296692AA61972   FABIAN       DIAZ                      CA         90009609200
12966A12951337   ERIC         MADDEN                    OH         90009510129
12967178672B62   JOSE         MARTINEZ                  CO         90006661786
1296791A655976   DANIEL       SIMONE                    CA         49080819106
12967A1714B26B   TRACIE       GILEA                     NE         90009380171
12968148976B68   MARCUS       REIGHER                   CA         90012421489
12968618524B7B   LAWANDA      SIMMONS                   DC         90012706185
12968A63961976   AMY          VILLAREAL                 CA         90013030639
12969743A91B43   MARIA        SOSA                      NC         90015307430
1296B469361958   WILL         STODDARD                  CA         90015144693
1296B633A9154B   HECTOR       ALVARADO                  TX         90013366330
12971536A2B235   DWAYNE       CHILDS                    DC         90008655360
12971967A9154B   JESUS        CERVANTES                 TX         90014409670
129723A3A91884   TAKIA        GREEN                     OK         90014873030
1297435365B526   HECTOR       VILLA                     NM         90007543536
12974633A9154B   HECTOR       ALVARADO                  TX         90013366330
1297552A257147   EDGAR        TORRES                    VA         90012925202
1297554A172B62   SARAHMARIE   HALL                      CO         33023135401
1297562AA31962   LEONCIA      RUKAKIZA                  IA         90014056200
12975A13A91569   MARIA        RODRIGUEZ                 TX         75009790130
12976656A55976   MIREYA       NENDOZA                   CA         49008646560
1297776A13B393   MILDRED      TUGAOEN                   CO         33071057601
1297841844B26B   SHREE        PUGALIA                   NE         90012424184
1297929A572B55   MONCIA       LEYBA                     CO         33088192905
1297B37217B489   ELWOOD       COLLINS                   NC         90014693721
1297B6A6333699   LORI         JACKSON                   NC         90009516063
1297B85494B26B   JEREMY       LACHANCE                  NE         90010738549
1297B998872B62   JENNIFER     PREUSS                    CO         33089729988
12981111A55976   VERONICA     GARZA                     CA         90012371110
1298119A861938   JESUS        CASTRO                    CA         46022181908
12981A7327B442   FABIOLA      CORREA                    NC         90013450732
12982275872B62   VICTORIA     RAZO                      CO         90005952758
1298236382B966   AMBER        LANE                      CA         90005773638
12982759A47956   AMBER        PRICE                     AR         90014597590
129829A7A57122   DEYVI        MENDOZA                   VA         81091699070
12982A4319154B   MARTHA       CHAPARRO                  TX         90012530431
1298326375715B   RENE         ESTEBAN                   VA         90010812637
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1298344215B154   ANTONIO      PEARSON                   AR         23002024421
1298375139154B   NORMA        VEGA                      TX         90014527513
1298389A94B23B   MICHEAL      CHANTRY                   NE         90003928909
12983A95991263   WINTON       WATERS                    GA         14572410959
12984382872B62   GUADALUPE    BONILLA                   CO         33032363828
1298521744B23B   IRISH        MILLIS                    NE         27057152174
129861A7461938   PAUL         HARVEY                    CA         90013231074
1298682169154B   CESAR        ESPARZA                   TX         75046788216
1298732A19154B   SARAH        HERNANDEZ                 TX         90011033201
129881A6391547   WARREN       TREMBATH                  TX         90009161063
1298832A19154B   SARAH        HERNANDEZ                 TX         90011033201
12989214A61976   ANDRES       ROSAS MERCADO             CA         90013562140
12989A26261972   HECTOR       RODRIGUEZ                 CA         90013990262
1298B83514B26B   MICHAEL      NAYLOR                    NE         26094638351
1298B854847956   JULI         LITTLETON                 AR         90013408548
129914A7291899   GLORIA       WALLACE                   OK         21083474072
12991758576B68   TRAVIS       CUZICK                    CA         90014167585
129925A1261958   RIA          BOLT                      CA         90003445012
1299294814B582   MAGDALENA    MARTINEZ                  OK         90008429481
1299353765715B   CRISTIAN     DENTURA                   VA         90001635376
1299393A593736   TANA         STEWART                   OH         90007349305
1299516999154B   EMMA         CARDOZA                   TX         90009281699
1299588A776B68   VIDAL        CHAVEZ                    CA         46010778807
129962A2591944   HECTOR       MONTOS                    NC         90009282025
12999162752B55   ELIZABETH    JONES                     NM         34051331627
12999868172B62   MARIA        MORALES                   CO         90012518681
12999A25991263   STEPHEN      STUCKEY                   GA         90015570259
1299B124872B62   JACQUELINE   DICKMAN                   CO         33000701248
1299B558184375   DANIELLE     SEABROOK                  SC         90005645581
1299B63654B588   MICHELLE     WITT                      OK         90002006365
1299B692A7B489   DARRON       VAUGHN                    NC         11090986920
1299BA69276B68   CECILIA      RANGEL                    CA         90011290692
129B1856184375   CHRIS        WATSON                    SC         19098288561
129B197199154B   RODOLFO      PUENTES                   TX         90014409719
129B2919491569   YASMIN       VIVAR                     TX         90011099194
129B2A62461972   ANA KAREN    HERNANDEZ                 CA         90008950624
129B3121591569   F.X          AMAYA                     TX         75058861215
129B3455955976   YANG         MOUA                      CA         49080144559
129B3636693745   ERIC         MAXON                     OH         90008496366
129B3866A57147   GAUTAM       ACHLIYA                   VA         90012418660
129B3A46561972   DEJA         MCGOUGH                   CA         90011290465
129B3A76A57147   ROXNI        ESPINAL                   VA         90012390760
129B416A17B489   ROBERT       BURRIS                    NC         90001611601
129B4273461958   ZULANIE      CANCINO                   CA         46046622734
129B4A37561938   ARTHUR       RURUP                     CA         90013520375
129B561644B26B   LADONNA      BIVENS                    NE         90015016164
129B5A54A51337   TIA          MINOR                     OH         90013240540
129B6116876B68   ROSA         BARAJAS                   CA         90008661168
129B685334B588   JENNIFER     NUNEZ                     OK         21550518533
129B68A667B398   RAMATU       KARGBO                    VA         81055968066
129B78A5555948   DIANNA       HAMLIN                    CA         90011808055
129B816419154B   DIANA        NAVARRO                   TX         90003121641
129B8598361976   DAVID        TIRADO                    CA         90013935983
129B9189461958   IGNACIO      GUTIERREZ                 CA         90010311894
129B9451133699   CHEYENNE     REDDING                   NC         90013804511
129B9815455948   JOSE         RIVERA                    CA         90011808154
129B985A24B588   PATRICIO     ROSALES                   OK         90013898502
129BBA3A29154B   PAULINA      RODRIGUEZ                 TX         90012480302
12B11482843588   JESSE        WEBB                      UT         90002524828
12B11591361968   INDIA        LEWIS                     CA         46022005913
12B11623861976   MARINA       CERVANTES                 CA         90009716238
12B1289935715B   MARTIR       HERNANDEZ                 VA         81016958993
12B1321689154B   STEVEN       LINO                      TX         90014492168
12B13449372B62   CORY         SANDOVAL                  CO         90013074493
12B14792555948   LAURA        PIMENTEL                  CA         49004697925
12B1532A384375   LIBNA        PEREZ                     SC         90005453203
12B1535949154B   JUAN         BARRON                    TX         90013953594
12B1669244B26B   CREONDA      SILVA                     NE         26053546924
12B16795657147   NELLY        HERNANDEZ                 VA         90001757956
12B16A25347956   BRUCE        FIMPEL                    AR         90013640253
12B17117151337   MARBELLA     SANTIAGO                  OH         66088541171
12B1738365B396   PAUL         BASCON                    OR         90011843836
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12B1761849154B   MARTHA        OLIVAS                   TX         90012656184
12B18126176B68   ROXANNE       OROZCO                   CA         90013011261
12B18311591569   FRANKIE       WILSON                   TX         90013363115
12B1894454B23B   WENDY         KITZMILLER               NE         27086589445
12B18994857147   BLANCA        CRUZ                     VA         90013859948
12B19622151337   MONICA        BRIDGES                  OH         66007596221
12B1967945B526   JESSICA       VILLARREAL               NM         90012596794
12B19A32493745   MARK          BAKER                    OH         64575250324
12B21429655948   JAVIER        RIVERA                   CA         90013934296
12B21881172B95   CHRIS         COOPER                   CO         33058408811
12B2193275B154   CONNIE        HARRIS                   AR         23037569327
12B22248231687   AMANDA        BYINGTON                 KS         22024962482
12B22562961958   MANUEL        HENDERSON                CA         46060345629
12B22756157147   VINCENT       MAI                      VA         90011187561
12B22953676B68   ALICIA        SANTILLAN                CA         90008109536
12B23382572B62   DANIEL        DENNISON                 CO         90014993825
12B23576455948   LUZ MARIA     VALLE                    CA         90014765764
12B23867172435   BETTY         RENWICK                  PA         51019858671
12B24137551337   JASON         JOHNSON                  OH         90012101375
12B2439A557147   ERNESTO       POMA                     VA         90014853905
12B24497261976   LELA          BERRY                    CA         90012874972
12B2458A631687   JUAN          ANTUNA                   KS         90013635806
12B24819893745   RUTH          DEBROSSE                 OH         90006548198
12B24833A77539   DAGOBERTO     ESTRADA                  NV         43088758330
12B255A5791952   JAIRO         PANIAGUA                 NC         90007865057
12B25A9714B588   MARIA         GARCIA                   OK         90007720971
12B26364433699   STACY         STRICKLIN                NC         90014573644
12B26414393745   EMMA          BLAIR                    OH         90012864143
12B2725A533699   JENNIE        DEGENHARDT               NC         90014372505
12B27923451337   MISTY         WARNER                   OH         90010539234
12B2859A49154B   NAYHAM        RAMIREZ                  TX         90014575904
12B28626655948   BRYANT        JEFFERIES                CA         90010506266
12B28677A9154B   JACLYN        KOVACH                   TX         75034476770
12B29244561976   MARIA         GONZALES                 CA         46075182445
12B297AAA5B526   EMMA          CERECERES                NM         90014817000
12B29981561968   VINICIO       QUINONEZ                 CA         90014949815
12B2B43145715B   TITIANA       FERNANDEZ                VA         81016964314
12B2B998261958   FRANSISCO     BENITEZ                  CA         90008169982
12B32136891895   KENISHA       JAMISON                  OK         90014761368
12B32338157147   JULIANA       MASSONI SENOZAIN         VA         90012343381
12B32485493745   NATHAN        SWARTZ                   OH         64585054854
12B32562661972   JUDY          CREVELING                CA         46004985626
12B32824A91827   VANESSA       MARTINEZ                 OK         90004838240
12B33312261972   JOSHUA        HENDRA                   CA         90013833122
12B33345155976   ROSA          NAVIA                    CA         49055063451
12B33399472453   LENANE        MACK                     PA         51002623994
12B3342114B26B   BRENDA        HOFFMAN                  NE         26028834211
12B337A6455948   KIMMY         PRICE                    CA         49013537064
12B34153861938   MUNNOS        MAIRA                    CA         46018191538
12B342A3257147   EDY           PEREZ                    VA         90010382032
12B34539972435   RANDY         UHR                      PA         51067865399
12B34A93261972   TAMIKA        DONNELL                  CA         90015160932
12B36321131687   MIKE          WALL                     KS         90002093211
12B36463561938   GUILLERMO     FERNANDEZ                CA         46029734635
12B36465293745   DEEANNA       SCHUMACHER               OH         90014194652
12B38218872B62   CARLOS        CASTRO                   CO         90007752188
12B3897734B588   HOLLIE        OLIVER                   OK         90009389773
12B3B12A593745   SYLVANA       COOPER                   OH         64550731205
12B3B17A94B588   DAVID         STITH                    OK         90004811709
12B3B685893737   RACHAEL       NORTH                    OH         90009846858
12B3BA41251337   LOPEZ DEIVY   VALENCIANO               OH         90007330412
12B41232233699   TIMOTHY       HAMLIN                   NC         90002112322
12B41458955976   MIGUEL        GUTIERREZ                CA         49075804589
12B41484855948   ALONZO        HERNANDEZ                CA         90012264848
12B4159444B922   AMY           TRUMBLE                  TX         76510165944
12B4178145715B   TSISE         LIBEN                    VA         81076047814
12B42864647956   CYNTHIA       WILLENBRING              AR         90009118646
12B434A5833699   JACQUELINE    GORDON                   NC         90014574058
12B434AA647956   KATHY         SIPE                     AR         24090504006
12B43566961972   THERESA       TAMAYO                   CA         90007855669
12B4358565593B   LORI          CORNISH                  CA         49014775856
12B4373A991569   MELANIE       RAMIREZ                  TX         90010837309
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12B44878561938   LORENA       RAMIRTEZ                  CA         90011238785
12B44948947956   RAFAEL       DOTSON                    AR         90005669489
12B4511212B966   MARIANA      LOPEZ                     CA         90003661121
12B4513445B526   SHAWN        WILLIAM                   NM         90012071344
12B45568831635   MAUNEL       ALCAREZ                   KS         22016685688
12B45AA5A9154B   LIZA         CHAVIRA                   TX         90006450050
12B462A2A55976   HELEN        MATA                      CA         90013112020
12B46923955948   LETY         MACIAL                    CA         90012859239
12B46959261972   JENNIFER     MCCANN                    CA         90007559592
12B469A7251337   JACOB        BARTOSCH                  OH         90015339072
12B49584172B62   MALN         MITCHELL                  CO         90008895841
12B49A28855948   RODRIGO      OSUNA                     CA         49034820288
12B4B2A3391895   ANTHONY      SMITH                     OK         90013082033
12B5112935B526   JORGE        OROZCO                    NM         35073541293
12B51277177344   KESHIA       GADISON                    IL        90010382771
12B51597A61976   KOKSAL       OZDEMIR                   CA         90003025970
12B51713672B55   DERRICK      ANDRESS                   CO         33012827136
12B51998261958   FRANSISCO    BENITEZ                   CA         90008169982
12B52592555948   JORGE        VILLANUEVA                CA         90014765925
12B5264954B26B   EVELYN       AGUILAR                   NE         90014276495
12B5292A84B588   AIDE         MEZA                      OK         90008949208
12B52A7A24B26B   RACHAEL      MORRELL                   NE         90005970702
12B5335549154B   MARIA E      GAITAN                    TX         90009613554
12B54114191569   LUZ          FELIX                     TX         75024131141
12B543A8576B68   JOSEPH       DAME                      CA         90015243085
12B54578991895   MARIAH       GUORRORO                  OK         21080515789
12B54739333645   JENNIFER     HERNANDEZ                 NC         90007517393
12B55482772B23   MARY ANNE    BOWE                      CO         33079174827
12B5594845B154   ASHLEY       JOSHUA                    AR         90006759484
12B5594A291569   ARNOLDO      GARCIA                    TX         75086739402
12B565A4761958   JAVIER       SANCHEZ                   CA         46015145047
12B56677961976   JOHN         RIOS                      CA         90013526779
12B566A2155976   SERAFINO     WESSON                    CA         90007586021
12B57478A72B62   HAN          JORGENSON                 CO         90013374780
12B57934961976   MARCOS       PINA                      CA         90013099349
12B5921A561938   ALMA         DOLORES                   CA         90009852105
12B59564776B68   YVETTE       PEREZ                     CA         90012275647
12B5B296A91895   MARCELA      PERALES                   OK         90001452960
12B5B32A772B62   ANA          EZPARZA                   CO         90012513207
12B5B8A3655976   VALERIE      LEAL                      CA         90012168036
12B5B963955976   BARBARA      RIVERA                    CA         90014309639
12B6132845B384   STEVEN       BERTRAM                   OR         44510443284
12B61355857147   FELIX        GOMEZ                     VA         90009903558
12B61478A72B97   NORA         CORTEZ                    CO         33030384780
12B61533572B62   EZRA         RIVERS                    CO         90010065335
12B62188761938   JOSEPH       MATEO                     CA         90012691887
12B62465891263   JOHN         WILLIAMS                  GA         90014964658
12B62477872B62   JESUS        JIMENEZ                   CO         33088904778
12B63223591569   RICARDO      GARCIA                    TX         75087922235
12B63336372B62   JOSE         ALONSO                    CO         90005343363
12B63397461938   CHRIS        CATON                     CA         46070183974
12B64795451337   DONALD       STAMMER                   OH         90011027954
12B65283731687   JARVIS       KIRK                      KS         90014702837
12B6548A793745   BRITTNEY     PRITCHARD                 OH         90014254807
12B65698291263   PAMELA       KAPPELER                  GA         90004536982
12B656AA172458   MISSEY       MCCANNA                   PA         90000376001
12B65793372453   ASHLEY       REMALEY                   PA         90002937933
12B6616A191895   JOSE         DE JESUS ORTEGA           OK         21072851601
12B66216A61976   AUTUMN       PATTERSON                 CA         90012292160
12B66872791263   ADRIAN       LAWTON                    GA         90013348727
12B66A21747956   LORETTA      BUTLER                    AR         90002250217
12B67173161976   AJSHANEE     CLARIDAY                  CA         90009771731
12B6769452B892   ZADOK        CALLAHAN                  ID         90006026945
12B6854814B588   JOE          RODRIQUEZ                 OK         90006585481
12B68852191895   LEA ANN      LIVINGSTON                OK         21066208521
12B6898A757147   DIGNA        ESCOBAR                   VA         90002009807
12B6B212231687   DIANNA       GILKEY                    KS         22070342122
12B6B28A155948   FRANCINE     GUERRERA                  CA         90014772801
12B6B756251337   KELLY        NOEL                      OH         66010877562
12B6B9A4A61976   CARLOS       SANCHEZ                   CA         90013049040
12B6BA65572B62   KATIE        ESSEL                     CO         90006020655
12B71138631687   MARCIA       STRUBLE                   KS         90002951386
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12B71191676B68   THOMAS            SMITH                CA         46008371916
12B725A1891263   WILMA             FENNELL              GA         90013465018
12B7282A34B54B   TROYAWN           JONES                OK         90008858203
12B74549233699   LAURA             DEBORD               NC         90004835492
12B74594457147   JEOBANY           MARQUEZ              VA         90012155944
12B7473459373B   TWINETTE          KNIGHT               OH         90013547345
12B74775991263   KEISHA            JONES                GA         90011877759
12B74996391263   LINDA             WASHINGTON           GA         90009139963
12B75776661976   TERESA            CORRALES             CA         90002177766
12B76242491895   CHRISTOPHER       MILLER               OK         90013892424
12B76326172458   JOE               WAYBRIGHT            PA         90005293261
12B7651627B489   SHAMON            WASHINGTON           NC         11004535162
12B7689A191827   SHARON            KEPLINGER            OK         21032408901
12B7775A461976   PATRICIA          MUNIZ                CA         90008997504
12B778A7A9154B   ADINA             EVANS                TX         90013968070
12B77A71876B68   GILBERT           SOLIS                CA         90009500718
12B7854884B588   JUSTIN            CULIFER              OK         90011615488
12B78792A2B242   TYRONE            HALL                 DC         90001907920
12B787A478B165   ALMIRA            LUKOVIC              UT         31004327047
12B78976984375   UNESHIA           NESBITT              SC         90002099769
12B79293572B55   MARCY             BERG                 CO         33098472935
12B7943785B154   SERIGO            ALVAERZ              AR         90012614378
12B7972357B489   CONIKA            THOMPSON             NC         90003247235
12B79729791569   SERAFIN           QUINTERO GARCIA      TX         90013877297
12B7B162833155   DEMETRIUS         THOMAS                IL        90015541628
12B7B3A6747956   CRYSTAL           COOPER               AR         24080633067
12B7B636376B68   ASHLEY            CAVERO               CA         90012726363
12B7BA19493724   NICOLE            GUINES               OH         90011870194
12B7BA33861958   LUIS              SALAZAR              CA         90014880338
12B81618255948   ALISHA            TREVINO              CA         90001986182
12B81629772B62   CHAD              MADRID               CO         90012716297
12B81A6A384375   ASHLEY            EARLY                SC         90002100603
12B8215995B526   DAWN              MONTOYA              NM         90010591599
12B8257A576B68   OMAR              PEREZ                CA         90012275705
12B83116791895   TARA              MERRILL              OK         90011291167
12B8392A34B588   LAWANEA           STEVENS              OK         90014769203
12B84238861958   BETINNA           MAINI                CA         90014032388
12B84246A72B55   RUBEN             VALDEZ               CO         90003442460
12B84535661972   JOSE              GODOY                CA         90014505356
12B84537391895   VONDY             WRIGHT               OK         21009315373
12B84649133699   CYNTINA           WILLIAMSON           NC         90006566491
12B84653461976   SANDRA            TORRES               CA         90009856534
12B851A1357147   MALIK             SMITH                VA         90011231013
12B8538289154B   JASMINE           BADILLO              TX         90013953828
12B8596357B489   MELVIN            PENA                 NC         90012159635
12B85A67333699   MARIA GUADALUPE   BENAVIDEZ MENDEZ     NC         90014060673
12B86393872B62   MATTHEW           BAROS                CO         90013513938
12B86519977539   GUADALUPE         SEVILLA              NV         43096495199
12B8663989154B   KENDRA            MILLS                TX         90013666398
12B87239A4B588   JOSE              SERRANO              OK         90014752390
12B87751961938   YESENIA           QUINTERO             CA         90009007519
12B87892261976   CECILIA           HERNANDEZ            CA         90012568922
12B8853428B179   RUBEN             ARREDONDO            UT         90007625342
12B88A55793745   HANNAH            GREEN                OH         64505090557
12B89439476B68   DANNY             LOPEZ                CA         46050104394
12B89538891263   NICHOLAS          BRYANT               GA         90015515388
12B89955361972   ROLANDO           MICHEL               CA         90014839553
12B8B766191263   IVAN              MARTINEZ             GA         90009457661
12B8B99472B866   DEZRAY            BATES                ID         90009029947
12B91146861938   CASHIOUS          BURDIEN              CA         46022231468
12B91877A51337   CAROLYN           PORTER               OH         90011028770
12B92613176B68   JAMES             POGUE                CA         46046286131
12B92958861938   RODOLOFO          PALLARES             CA         90013389588
12B929A3747956   GENEVIEVE         FISHER               AR         90007889037
12B92A55651337   AIMEELEIGH        MULLINS              OH         66035490556
12B93112A61972   LAURA             SWANSON              CA         46032751120
12B93196255976   ADRIANA           HALL                 CA         49095681962
12B9319817B489   JOSE              RIVERA               NC         90014661981
12B934A8A4B26B   AMANDA            CLAYTON              NE         90013964080
12B9381419154B   CONCEPCION        DEL RIO              TX         75048678141
12B94237872B62   TENE              BALLO                CO         33001552378
12B9429774B26B   KENNETH           LUNBERRY             NE         26044242977
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12B94628155976   BARBARA       AGUSTIN                  CA         90014896281
12B95231A93732   MELINDA       HOLLAND                  OH         90006882310
12B95834151337   JENNIFER      OSBORNE                  OH         90013898341
12B96555831687   KIMBERLY      WILLIAMS                 KS         22085165558
12B96641761972   MARIASUSAN    GOMBIO                   CA         46058196417
12B96944572B62   MIKE          PERALTA                  CO         90014759445
12B97189A72B62   SONIA         DELORES MUNIZ            CO         90011111890
12B97487951337   ROSE          CLARK                    OH         90011204879
12B9771124B588   LACY          LOVATO                   OK         90013077112
12B97851961976   MAGGIE        GRAHAM                   CA         46080588519
12B98229361938   JESSICA       MIRANDA                  CA         90003062293
12B9849A591263   LEONARD       SIMMONS                  GA         14594284905
12B9881A39154B   EMILY         ACOSTA                   TX         90013158103
12B99198661938   BRENDA        DAMACIO                  CA         90012121986
12B99583957147   SENDY         VILLANUEVA               VA         90015315839
12B99837376B68   EZEQUIEL      RODRIGUEZ                CA         46078888373
12B9986224B26B   RAYMOND       POOR BEAR                NE         90015158622
12B99A52547956   STEVEN        SHINN                    AR         90013390525
12B9B6A657B489   JENRY         ESTEVEZ                  NC         90015346065
12BB116269154B   JESSIE        YEPEZ                    TX         90012591626
12BB1197277539   ELIZABETH     TERRELL                  NV         90010101972
12BB123A191579   ANGELINA      MONARREZ                 TX         90014752301
12BB1848591263   MARY          GLEN                     GA         90014028485
12BB1A56633699   DIANA         HESTER                   NC         90014610566
12BB2321A4B922   BRANON        REESE                    TX         90004003210
12BB256985B526   JESSICA       NAJERA-MORALES           NM         90014155698
12BB322454B26B   SHANE         KUMPULA                  NE         26046382245
12BB3A7534B23B   MATTHEW       KURTZ                    NE         27079630753
12BB4475147956   KATELYN       COLE                     AR         90011094751
12BB5257391579   TRACY         MENDIETA                 TX         90012032573
12BB557487B489   CHERYL        JONES                    NC         90011515748
12BB5629872453   LYNN          HENDERSON                PA         51020016298
12BB575444B23B   SAMANTHA      BARRETT                  NE         27054477544
12BB5AA1A72B55   NICOLE        WHITEMAN                 CO         90003440010
12BB6335455948   LINDA         MATTHEWS                 CA         90012713354
12BB6392591895   BOBBY         SANDERS                  OK         90013683925
12BB676919154B   SILVESTRE     GALLEGOS                 TX         90013167691
12BB6773557147   NANCY         ESCARCEGA                CO         90001917735
12BB693A55B526   DANTE         CRUZ                     NM         90015089305
12BB6A11976B68   CARLOTA       CASTRO                   CA         90014840119
12BB718214B588   STEVEN        RUFFIN                   OK         90011001821
12BB7349193745   CARMEN        BIRMAN                   OH         90009933491
12BB7722172453   SELENA        BERNER                   PA         90008007221
12BB784895B526   BRANDON       ESPARSEN                 NM         90010428489
12BB7872647956   STEFAN        JOHNSON                  AR         90013458726
12BB791A561976   SANDERS       WILLIAM                  CA         90007339105
12BB839169154B   VICTOR        TERRAZAS                 TX         90015263916
12BB872A976B68   IXZY          VALDOVINOS               CA         90011137209
12BB954597B489   EMMA          BLAKENEY                 NC         11053155459
12BB9925657147   ALEXIS        MACARIO                  VA         90014939256
12BBB56119154B   ALBERTO       MARTINEZ                 TX         90013415611
1311114754B588   KIANNA        ANTWINE                  OK         90012961475
13111338372B62   CHRISTOPHE    JOHNSON                  CO         33096073383
1311154688B832   FIDELIA       MWARIKE                  HI         90012795468
13111A4794B588   HARMONY       HAWKINS                  OK         90003490479
131128A6957147   HECTOR        AGUILAR                  VA         90008018069
1311471A272B62   COURTNEY      NIEBAUER                 CO         33008317102
13114A3975715B   JOCELYN       BRUNS                    VA         90012460397
1311517394B588   JANICE        TERRELL                  OK         90012291739
131155A2561938   MAJIA         GONZALEZ                 CA         90011005025
1311577284B555   FAUSTINO      FELIX                    OK         90006327728
1311616744B555   SHACORIONTE   WEBB                     OK         90012151674
13116827376B68   OSIEL         MARTINEZ                 CA         46010178273
13118117A57147   SALVADOR      MORENO                   VA         90009751170
1311944874B588   CHERISSE      THOMPSON                 OK         90014444487
1311B33468B136   LORNA         NUNEZ                    UT         90009123346
1311B73475B526   ABIGAIL       LANDY                    NM         90015497347
1311B88115715B   GARY          HENDERSON                VA         81002458811
1312128254B588   MITZY         GAZAWY                   OK         90014292825
13121528972B62   MARIAN        MARTINEZ                 CO         90002585289
1312192465715B   CARLOS        ZEPEDA                   VA         90003479246
13121A11931962   TASHONDA      WILLIAMS                 IA         90015450119
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13122795476B68   JR               EDWARDS               CA         90001727954
13122A2997B373   SANDEEP          JAIN                  VA         81071380299
13122A7A161938   DAVID SALVADOR   AVINA                 CA         90013010701
131234AA947956   GAIL             GOFF                  AR         24068654009
1312372352B837   SUE              STRETZ                ID         42019437235
131237A7491895   RANDALL T        SUMNER                OK         90009837074
131239A415B154   RYAN             GOINS                 AR         23083679041
1312467A524B7B   JUAN             AMAYA                 VA         90012106705
1312543355B154   LEON             RUNDLE                AR         90010894335
13125AA283B392   STEVEN           HORN                  CO         33086340028
13126237A91263   JEFFRY           NEWSOM                GA         90013332370
1312651A94B555   TOI              TRAN                  OK         90014745109
1312762A357147   YLERE            MOULENDE              VA         90009566203
1312782895715B   SAKDA            PHUENPHIPHOP          VA         90010848289
131283A857B489   INDRA            GURUNG                NC         90014683085
1312861267B489   MANDALE          HUNTLEY               NC         90012706126
1312937814B26B   TIFFANY          ANDREWS               NE         26028893781
131295A1276B68   BRENDA           KEALOHA               CA         90011745012
1312982728B194   SONYA            DOMINQUEZ             UT         90002788272
13129A87193768   GREGORY          SHAW                  OH         90001360871
1312B617791569   NORMA            ZUNIGA                TX         75080956177
1313151984B555   CLARISSA         SCHMITZ               OK         90014745198
1313253724B555   ASHELY           ALLEN                 OK         90014745372
13132A5A447956   LAURIE           LOLLIS                AR         24007970504
13133353872B62   MARWAH           TAYA                  CO         90010993538
1313384657B489   DONALD           MOODY                 NC         11005388465
13134341A7B489   HIRALDO          MAYA                  NC         90011973410
13134A84451337   BERNA            BRANT                 OH         90014570844
13135446A61938   FRANCISCO        OCAMPO GALEANO        CA         46061354460
13136875972B62   SOPHIE           BUI                   CO         90008198759
13137331A7B489   CAROLINA         ROMERO                NC         90005763310
1313742A847956   CARLOS           BONILLA               AR         24056644208
1313788A931687   BETTY            GARZA                 KS         90007038809
1313831544B555   DAVID            CAMERON               OK         90011663154
13138455A85936   JESSICA          HOBBS                 KY         90000884550
1313852485B526   SANDRA           SANDOVAL              NM         90006325248
1313862A257147   THEOPHILUS       DANQUAH               VA         81032526202
1313998595715B   SCARLHEM         ALVAREZ               DC         90011059859
1313B199A4B26B   PAUL             WILES                 NE         90004971990
1313B66194B588   DORA             RAMOS                 OK         90012526619
1314171197B489   JOSE             GUTIERREZ             NC         90012947119
1314175A991569   FRANK            DURAN                 TX         75088727509
1314257564B555   ERICA            DIGGS                 OK         90014745756
1314394625B526   DAVID            PADILLA               NM         90014789462
13144171476B68   ROINALDO         OROZCO                CA         90012911714
131442A595B388   EVA              ORTIZ                 OR         90007932059
13144922572B77   KELLY            JOHNSON               CO         90012249225
1314492465715B   CARLOS           ZEPEDA                VA         90003479246
131449A7561958   CARDINA          MITO                  CA         90014849075
131457A3991869   ALISSA           ASBERRY               OK         90009857039
1314742114B26B   BRENDA           HOFFMAN               NE         26028834211
13148A3694B588   TONY             JOHNSON               OK         90012510369
13149275953B32   JOANNE           RAHTO                 CA         90015082759
1314959614B555   LATAICIA         WALLACE               OK         90014745961
131499A8A7B489   FAITHFUL         WATSON                NC         90014029080
1314B248861958   CARLOS           MACIAS                CA         90013582488
1314B46114B26B   MICHELLE         DAKE                  NE         26095474611
1314B699A4B588   JAMIKA           JOHNSON               OK         90010586990
1314B839272B62   MURIEL           CLARK                 CO         33047278392
1315137A491263   BRAD             BOYD                  GA         90012623704
131516A5655976   ANTONIO          MENDOZA               CA         90006046056
1315235844B588   VANORA           SOCKEY                OK         90014613584
1315329885715B   JUAN             CABRERA               VA         81090092988
1315341934B588   ERVINA           MAYTUBBY              OK         90014784193
1315383364B588   ERVINA           MAYTUBBY              OK         90013638336
13153A85161938   ELIZABETH        BUELNA                CA         90005490851
13154A45355976   NOEMI            ROJAS                 CA         90012770453
131561A198B197   STEVEN           KOCHERHANS            UT         31060931019
1315622A547956   BRITTNEY         BRIGGS                AR         90012902205
1315639514B26B   BALDEMAR         LLANOS                NE         90012943951
1315777A991895   JUAN             RUIZ                  OK         90014177709
13157786872B62   CHERYL           BAUDER                CO         33077537868
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13157AA617B489   ADAM         VOGT                      NC         90012980061
1315918A272B62   DANIEL       RUSSOM                    CO         33053681802
1315B494991399   BARBARA      CLARK                     KS         90007684949
1315BA1A155948   JOHN         RICH                      CA         90012940101
1316116327B489   MABLE        CHAPMAN                   NC         90014291632
1316147514B588   JERAME       THINBODEAX                OK         90010994751
1316247AA61958   MICHELLE     RAMIREZ                   CA         90010674700
1316295835B154   MICHELLE     ACHER                     AR         23014439583
13162A51372B62   BRADY        BROWN                     CO         90006810513
1316332557B489   CLETUS       ROBINSON                  NC         11060083255
1316396A372B62   RON          VIGOA                     CO         90010459603
1316435417B489   MICHELE      DICKSON                   NC         90006993541
13165244986B96   PEDRO        REYES                     CT         90015362449
13166A64791895   CELIA        LOYA                      OK         21026060647
13167A4984B588   ASUSENA      JIMENEZ                   OK         90005510498
1316821784B588   CALEB        GOODWIN-SHIELDS           OK         90014772178
13169152472B62   DENISE       FONECECA                  CO         90014131524
13169A58361958   TRAVIS       TURNER                    CA         90001800583
1316B16644B588   JACOB        MENSER                    OK         90013241664
1316B536957147   MIRNA        OLIVARES                  VA         90014885369
1316B58554B26B   JASON        BUZBY                     NE         90013825855
1316B933147987   MARIA        AYALA                     AR         90013779331
1316BAA9972B62   FELIZ        VASQUEZ                   CO         33051780099
1317218385B154   MARIO        REYES                     AR         90014691838
13172371472B95   NEDA         GHOLIZADEH                CO         33079923714
13173179376B33   NINA         LOVEJOY                   CA         46064031793
1317466235B526   FATIMA       TORRESSOTELO              NM         90008836623
1317549A586463   DESMOND      GARY                      SC         90013774905
1317582597B489   DAWN         WHEELER                   NC         90015138259
131758A3191569   CARLA        BERNICE                   TX         90011868031
13175A27757147   JOSE         MARAVILLA                 VA         90009030277
13176977672B62   DULCE        JAIME                     CO         33062769776
1317929395715B   EDWARD       MAMULA                    VA         90010272939
13179632172B3B   GARY         VALERIO                   CO         33060696321
131798A8776B52   CLAUDIA      MARTINEZ                  CA         90012138087
1317B144561938   PAUL         DINGESS                   CA         90010341445
1317B361347956   CAROLYN      WIDMER                    AR         90001303613
1317BAA414B588   JIMMY        SPRINGWATER               OK         21579710041
1318167364B26B   KRISTY       RECTOR                    NE         90001826736
131817A2A4B555   CARL         WOOTEN                    OK         90014747020
1318292465715B   CARLOS       ZEPEDA                    VA         90003479246
131833A3955976   ALVERT       ATTERBERRY                CA         90011973039
13183631A84347   ELMORE       GREEN                     SC         90012936310
13183632172B3B   GARY         VALERIO                   CO         33060696321
1318396A472B95   JAIME        GOMEZ                     CO         33026639604
13183A1828B147   JONATHAN     WILKINSON                 UT         90007640182
1318492A361938   JOAQUIN      RIVERA                    CA         46062179203
13185627A47956   ADAM         PRESTON                   AR         90010866270
13185A1A261958   DIANNA       CARRILLO                  CA         90008040102
1318648774B588   LINDSAY      STCLAIR                   OK         90010994877
13186562472B62   BETY         TEPOLE                    CO         33023195624
13188344472B95   AILEEN       DOMINGO                   CO         90009223444
1318837314B588   DAVID        ROJAS                     OK         90011163731
13189364A86445   DANIEL       MORALES REYES             SC         90014053640
13189447A5B32B   LAURA        HABER                     OR         44510724470
1318945614B555   SANDRA       MARTIN                    OK         21590804561
1318B28A455976   FRANCISCO    JURADO                    CA         90015112804
1318B614957147   ORLANDO      HENRIQUEZ                 VA         81095496149
131911A855B526   RONALD       BOLLAR                    NM         90010201085
1319129384B26B   SERAPHINE    MOULANDZE                 NE         90014902938
1319139255B154   RICARDO      BENIGNO                   AR         23095863925
13191A9184B588   JASON        SILVA                     OK         90015010918
131923A5451337   HANNAH       PUCKETT                   OH         90014583054
13193188A72B62   MICHEAL      MOSLEY JR                 CO         90002891880
131938A9261976   BELINDA      WARD                      CA         46001318092
1319396577B489   BRIONNA      RODDEY                    NC         90013799657
1319423877B489   JACKLIN      ROLLE                     NC         90010352387
1319495534B588   VANESSA      DAY                       OK         90013859553
1319496A661958   FRANCISCO    MEJIA                     CA         90012769606
1319588825715B   MARVIN       ESTRADA                   VA         90012208882
131959A2776B68   SCOTT        RILEY                     CA         90011769027
13196168A55948   ANNETTE      GARCIA                    CA         90013311680
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1319638A44B555   JENETTA             GUERNEY            OK         21513743804
13197157276B68   ARTHUR              MEEHLEIB           CA         90000591572
13197536572B62   MARIO               DE LEON            CO         90000845365
1319882234B588   OCHOA               SARAIH             OK         90012468223
131988A7861938   JULIAN              HENDRIX            CA         90014658078
13198A92591569   DOLORES             VALDEZ             TX         90014640925
1319B345584326   YASMINE             ELMORE             SC         90014923455
1319B85617B489   LAKE                WIGGINS            NC         90006888561
1319BA5845715B   LUDVIN              GONZALEZ           VA         90007230584
131B139964B555   JESSICA             POWERS             OK         90014743996
131B1528976B68   FELIX               GARCIA             CA         90000225289
131B2273751337   EDNAE               TORRES             OH         90015222737
131B239964B555   JESSICA             POWERS             OK         90014743996
131B263414B588   LILIAN              GUEVARA            OK         90006666341
131B2892461976   VANESSA             RUIZ               CA         90010348924
131B3475A91895   CHRIS               RUTH               OK         90010374750
131B357AA4B588   MARY                BROWN              OK         90015115700
131B3669872B62   ROBERT              SANDOVAL           CO         90006926698
131B36A2655948   PULCIANO            PEREZ              CA         90014386026
131B4354557147   GEREMIAS            ALVARENGA          VA         90015103545
131B4566561938   GABRIELA            VALTIERRA          CA         90013935665
131B4948847956   GABRIELLE           SIVAGE             AR         90012959488
131B5333777535   DORIS               WAINWRIGHT         NV         90012953337
131B54A924B555   LYNETTA             PIPPEN             OK         90014744092
131B56A5371967   NATASHA             SALAZAR            CO         90014756053
131B576444B588   DANIEL              TOWELL             OK         90012587644
131B5A37691569   DAVID               SANDOVAL           TX         75029760376
131B5A57A72B62   MICHEL              PIRCE              CO         90001590570
131B5A75161958   NANCY               RODRIGUEZ          CA         90005280751
131B6375331635   YIYESHA             PETE               KS         22086713753
131B669A472B62   MILLICENT           GONZALEZ           CO         90014576904
131B7167451337   ADRIAN              ROGERS             OH         90012211674
131B735114B26B   TAVISH              HANSEN             NE         90010523511
131B77A5931635   JUAN                PABLO PEREZ        KS         90001937059
131B886A13B39B   TALIA               ONTIVEROS          CO         90008438601
131B937945B526   MARK                KARNER             NM         35070823794
131BB126261938   VENITA              GARRETT            CA         90000991262
131BB264447956   JANAI               RICHARDSON         AR         90014142644
131BB95A472B62   ANDY                GARCIA             CO         90006769504
1321145248B192   SHANNON             BENN               UT         90014744524
132129A5191263   COLETTA             DARRISAW           GA         14594489051
13212A78A72B62   GABRIEL             MACIAS             CO         33013380780
1321317A272B35   TRAVIS              TURNBULL           CO         90012421702
1321347715715B   DONNA               NAJIBI             VA         81061714771
13213937772B62   JUANA               CASTRO             CO         33051139377
1321413A947956   DERRICK             WALKER             AR         90014701309
13214277724B7B   JOSE                REYES              VA         90012362777
1321463827B489   TABATHA             ASBURY             NC         90013056382
13214684372B62   LUCRECIA            SENA               CO         33056806843
1321478634B555   SUSAN               HICKS              OK         90014747863
1321579144B555   EMILY               GOMEZ              OK         90014747914
132159A167B489   SNIDER              MARIE              NC         11039649016
132162A2941296   SEAN                JAROS              PA         90012072029
132163A684B588   DE ONAJAH           HILL               OK         90013553068
13216532772B58   ANTONIO             OBREGON            CO         90001585327
1321661465B389   JITENDRA            PRAKASH            OR         90011196146
13216719A31687   CHRISTINA           BARSTOW            KS         90002627190
13216753172B62   MARIA               CATALAN            CO         90007297531
1321683867B489   MARICHI             DEAN               NC         11076038386
13216926A4B565   GWENDOLYN           IRVIN              OK         90013849260
1321776A791929   BRIAN               WHITE              NC         90001417607
1321841964B555   ROBERT              SULLIVAN           OK         90014354196
1321974784B588   YOLANDA             PRITCHETT          OK         90014557478
1321B313451337   CHASE               PAPER              OH         90012963134
1321B7A1761938   SERGIO              ALVAREZ            CA         46067277017
1322134674B588   PAYGO               IVR ACTIVATION     OK         90014393467
13221A4754B26B   LEOPOLDO            JUAREZ             NE         90013960475
13222119A51337   ELIZABETH DOMINGO   MIRA               OH         90009071190
1322237555B395   REBECCA             CORTES             OR         90001053755
1322237849377B   KAY                 MOUNTS             OH         90008763784
1322247515B154   QUIDA               STRANGE            AR         90008924751
13222727172B62   TYLER               MORSE              CO         33009887271
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13222792A55976   JOSE              HERNANDEZ            CA         90013367920
1322353A14B588   SHUNTAY           EDWARDS              OK         90010995301
1322411195B154   RICHARD           SIMMONS              AR         23042691119
1322425724B555   SELVIN            GOMES                OK         21557052572
1322451A361976   GEORGE            FRANCO               CA         46017025103
132246A5891263   THERESA           GRIFFIN              GA         90014986058
1322496274B588   NEDRA             JONE                 OK         90009729627
13224A6AA51337   MARISA            MOORE                OH         90013300600
1322521314B26B   ANDREA            PRANGE               NE         26039222131
1322628887B489   ISMAEL            PALACIO              NC         90015142888
1322674697B35B   ELISA             FIGUEROA             VA         81072647469
13226A5364B26B   SARAH ENGELHART   AND RUTH LARABEE     NE         90014460536
132289AA951337   ALYSSIA           PEYTON               OH         90009849009
132294A9224B7B   TYERRA            VEREEA               DC         90005224092
1322B25517B489   ADRIANNA          PENDERGRASS          NC         90009092551
1322BA2334B588   JOSHUA            BROCK                OK         21551490233
1323173767B489   DAMIEN            ANTHONY              NC         90010807376
13231A1A977535   JOSE              GUTIERREZ            NV         43056960109
13232A66161976   CLAUDIA           LOZANO               CA         90014100661
13232AA944B588   JOANNA            HILL                 OK         90011440094
1323421A161938   DIANA             ROJAS                CA         46091732101
1323574315715B   CARLOS            CAHUANA              VA         90015317431
13235A27626266   DONALD            SIEGER               WI         90015560276
1323712757B489   WENDELL           COPELAND             NC         90014811275
1323826934B588   ANTON             BLAKELY              OK         90015122693
1323856912B27B   DARNELL           GOLDSMITH            DC         90012595691
13239A98476B68   ANDREA            VILLANUEVA           CA         46057640984
1323B3A4672B62   THERESA           SANCHEZ              CO         90010613046
1323BA14461958   JOSE MARIA        GERVACIO             CA         90008170144
1323BA2994B26B   ANDREW            KENDRICK             NE         90012520299
1324262545715B   OLGA              ALVARADO             VA         90013486254
132434A3361926   JOSE              AYALA                CA         90007824033
13243AA325B154   MARIA             IBARRA               AR         23050260032
1324543264B588   RACHAEL           HOWARD               OK         90011304326
13246A8982B926   SANDRA            SAXTON               CA         90009720898
13246AA185B154   CORISSIA          FAIRCHILD            AR         90015600018
1324756484B588   TRUDY             ANDERSON             OK         90010995648
1324769246B626   LANE              BARKER               KY         90015556924
13247A61A4B588   GUADALUPE         AGUILAR              OK         90010590610
1324976246197B   DAVID             BISHOP               CA         90006507624
1324B189176B68   SHANNON           JIMENEZ              CA         46057641891
1324B855872B62   MARIA             MARTINES             CO         90014198558
1325246934B555   REBECCA           MACKEY               OK         90011224693
13252643A61958   ROMEO             VALERANO             CA         90011106430
13252773372B62   YAO               ONGOUNDJA            CO         90013247733
1325283A355948   CHAD              BAKER                CA         90013968303
13252A54391852   STACEY            YOUNG                OK         90008700543
1325587634B555   AMY               NEIS                 OK         90014748763
1325677675715B   JHON              CESPEDES             VA         90013957767
132571A344B555   TANIA             PEREZ                OK         90014771034
13257533A72B62   JENNIFER          TRUJILLO             CO         33051485330
1325764AA31649   MELISSA           MCFARLANE            KS         90009926400
1325787634B555   AMY               NEIS                 OK         90014748763
132588A8161958   RICARDO           ESCOBAR              CA         46042708081
13258A36991895   GREGORY           ONEAL                OK         90005540369
13259783A26266   BARBARA           HERNANDEZ            WI         23540557830
1325B431455976   ROBERTO           AVENDANO             CA         90014864314
1325B612161938   ELEAZAR           SANDOVAL             CA         90010186121
1325B735831635   MICHELLE          BERGER               KS         90007267358
1325B825633649   RYAN              MELTON               NC         90003688256
1325B88685715B   ISIDRO            VELIS                VA         90013878868
1325BA54347956   ARTHA             MORRIS               AR         90001310543
13261118A33699   MIGUEL            RAMIREZ              NC         12026371180
1326156744B26B   JASON             BENSON               NE         26099755674
1326173A158535   FRANCHESKA        MARCANO              NY         90015357301
1326247324B588   MAZARIEGOS        JERSON               OK         21561924732
132633A6251337   DOMINIQUE         SKINKLE              OH         90014583062
1326382465B154   CARLA             BANNER               AR         90010388246
1326421A35B526   SHAREE            ROMERO               NM         90013892103
13265831476B68   EDUARDO           BONILLA              CA         90013068314
1326658694B588   CHARLES           MCCOY                OK         90013865869
1326666A272B62   MELISSA           GOMEZ                CO         33038686602
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1326739595715B   MARIA        BARKER                    VA         90000123959
1326771435B154   LAMONT       HOLMES                    AR         90014807143
1326782315B526   JOSEPH       FONTANEZ                  NM         90012498231
1326814354B588   AMBER        BENNETT                   OK         90014741435
13268175972B62   SAMUEL       VILLA-GONZALEZ            CO         90015091759
1326857A95B154   DESTANEE     ANDERSON                  AR         90011065709
1326895864B555   THERESA      MERLIN                    OK         90014749586
1326968A691895   SHELBY       LEJEUNE                   OK         90007886806
1326975A657147   JUAN         ROMERO                    VA         81024987506
1326983714B588   LAMAR        ARNETT                    OK         90004888371
13269921872B2B   NANCY        FITZGERACELD              CO         90011159218
1326B15A851346   SHEILA       LAMB                      OH         66098471508
1326B64974B537   DALE         HALL                      OK         90001196497
132712A684B555   JOHN         BRUCE                     OK         90006372068
132712A7391263   LAURA        ALVAREZ                   GA         90015112073
1327148A34B588   ANTONE       BATES                     OK         90015004803
132717A9831687   WENA         GAIN                      KS         22017227098
1327214944B555   EVONY        WELLS                     OK         90014761494
1327217566B933   ADAM         SANCHEZ                   NJ         90015431756
1327239777B489   ADRIAN       SORIANO                   NC         90010233977
1327247265B154   MICHALA      PYE                       AR         90012014726
13272928124B7B   JAKIYA       WILLIAMS                  DC         90012839281
132732AA755948   JORDAN       MARTINEZ                  CA         90015312007
1327435734B26B   FRANKLIN     COPLEY                    NE         90010743573
13274A55555936   ROSALBA      ESPINOZA                  CA         90004500555
13274A67A9192B   YVETTE       PARKER                    NC         90011420670
1327644827B489   SHONDA       ATSON                     NC         11010644482
13276A5695B154   KRISTA       MARTIN                    AR         90014550569
1327B372761976   JAY          SHAWN                     CA         90013393727
1327B624191573   ABIGAIL      PEREZ                     TX         75046296241
1327B649961958   STEVEN       CHIQUETE                  CA         90010306499
1327B747A47956   PATRICIA     OCHOA                     AR         24091277470
1328118684B555   CARNELIUS    SIMON                     OK         90014761868
1328158568B167   DAOUDA       COMPAORE                  UT         31070345856
132816AA54B26B   ASHLEY       MAY                       NE         26093146005
1328184664B588   ARCHIE       BEDTTES                   OK         90012758466
1328221344B588   AMY          INGRUM                    OK         90010592134
1328225915715B   ELIAZAR      LOPEZ                     VA         90007222591
1328322795715B   ESTRADA      VICTOR                    VA         90013922279
1328377A28B163   ALEX         GARCIA                    UT         90010597702
1328441245B232   DONNIE       BEACH                     KY         90010484124
132851A8624B7B   MICHELLE     STANTON                   DC         90007711086
1328541A272B62   CHARLES      GARCIA                    CO         90014564102
13285478772B84   RAMON        RODRIGUEZ                 CO         33019494787
1328786574B588   RAMONA       DELGADO                   OK         90014918657
1328825667B489   BERTA        VILLATORO                 NC         90013392566
1328838544B26B   CAROL        WOOGE                     NE         26098053854
13288632172B62   ANTOINETTE   SEGURA                    CO         33084036321
13289168A55948   MIGUEL       TOVAR                     CA         49035881680
13289176A47956   KRISTEL      BRANTLEY                  AR         90015211760
13289221272B62   ELENA        FOSTER                    CO         33019202212
1328951A44B588   DEBRA        YOUNG                     OK         90011625104
1328B227372B62   SHARON       SNIDER                    CO         33017292273
1328B24A35B526   REGINA       STACK                     NM         90012362403
1328B65667B489   ANA          GARCIA                    NC         90012136566
1328BA87755976   VERA         JACKSON                   CA         90013930877
1329115A64B26B   LUCY         LOMATAYO                  NE         90009531506
132912AA94B555   DAMESHI      OUSLEY                    OK         90014762009
1329147875B526   RUBY         CLEVELAND                 NM         90008884787
13292586172B62   MEGAN        BUCHANAN                  CO         90014605861
1329331157B398   ARAYA        WOLDEMICHAEL              VA         90006143115
13293A3284B588   PAMELA       EMANUEL                   OK         90010690328
1329442A65B526   RICARDO      RUIZ                      NM         90014214206
132947A8A4B588   EULA         REED                      OK         90012537080
132958A2357147   JOSE         CHRIS                     VA         90014908023
13296664572B62   MARGARITA    MUNOZ                     CO         90011046645
13296A6325715B   CELIA        GARCIA                    VA         90014750632
13296A89391263   MORGAN       EVANS                     GA         90013190893
1329729455B526   ISAAC        IRWIN                     NM         90008292945
1329748AA57147   RAFAEL       RODRIGUEZ                 VA         90013634800
13297A9974B576   TWYILA       ROBINS                    OK         90009920997
13298157A4B26B   JENNIFER     PAYNE                     NE         90013411570
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132982A3951337   BRIANNA      HENDERSON                 OH         90010942039
1329971A491263   JASMINE      JOHNSON                   GA         90014057104
13299843A76B68   CUIRIZ       ARACELI                   CA         46036228430
1329B13142B582   KENDRA       FITTS                     AL         90014711314
132B149A861976   JESUS        GAUMOND                   CA         90006544908
132B16A8A61938   VALENZUELA   MARIA                     CA         90005556080
132B2771891895   GER          LAO                       OK         90014107718
132B3178955948   MARIBEL      BON                       CA         90014831789
132B3864947846   PEARL        MOORE                     GA         90004238649
132B387695B526   RICHARD      NOLLEN                    NM         35005128769
132B4116991895   RUBEN        PORTILLO                  OK         90008451169
132B47A445B154   JERIME       STEWART                   AR         23076527044
132B538914B555   FABIOLA      RIOSA                     OK         90009193891
132B6339155948   MARCIANO     ORTIZ                     CA         90011573391
132B655665715B   ASHOK        SHARMA                    VA         81046125566
132B675284B555   BEYONKA      CHEADLE                   OK         90014747528
132B6918676B68   MAX          MARTINEZ                  CA         90011769186
132B7169557147   TERRENCE     TAYLOR                    VA         90013251695
132B7428A4B26B   HOPE         THOMPSON                  NE         90014824280
132B7652A5715B   ZEGEYE       WELDE                     VA         90012606520
132B7733857147   ROBERT       GRIFFIN                   VA         90009017338
132B7765957124   OSWALDO      RAMIREZ                   VA         90014997659
132B7823A72B62   GEORGE       HERNDON                   CO         33066208230
132B8425891895   KIMBERLY     HARVEY                    OK         21009084258
132B8694761958   CAMELIA      DIAZ                      CA         90011316947
132B8A57761958   ANGELA       FONTENETTE                CA         46015270577
132B91A8772435   ROBERT       THOMAS                    PA         51097321087
132B9287A5B154   VICKIE       WRIGHT                    AR         90014932870
132B941975B264   VERNITA      LAWRENCE                  KY         90014774197
132B96AA791263   IRIS         FARMER                    GA         90013696007
132B9A4525715B   VONDA        BYRD                      VA         90013700452
132BB212691263   CAROL        TILLMAN                   GA         90011562126
13311288472B62   CARLOS       DIAZRAMIREZ               CO         33014402884
13311367A4B588   TERESA       CASS                      OK         90013233670
13311735A4B26B   JULIE        THOMSON                   NE         90009367350
1331198855B526   DENISE       LERONGE                   NM         35016349885
13311AAA18B197   BRYAN        WORKMAN                   UT         31057790001
133123AAA4B26B   ROMEO        BIVENS                    NE         90011653000
13312799A55948   JOEL         RIVERA                    CA         90014227990
1331391854B555   SARA         WILDER                    OK         90007959185
133164A1961938   KIMBERLY     SISK                      CA         90013024019
1331719A361976   MARCELINO    MONTES                    CA         90000301903
1331784815B526   JOSE         CORDOVA                   NM         35080228481
1331796115715B   JOSE         ZELAYA                    VA         90015149611
1331894A761976   JRATIH       MOLINA                    CA         46059539407
13318A78261958   ASHLEY       GARCIA                    CA         90009680782
13319495176B68   KEVIN        AGUIRRE                   CA         90011794951
1331B19847328B   STYLIANOS    BARBAYANNIS               NJ         90014751984
1331B286391569   ESMERALDA    FIERRO                    TX         90013182863
1331B2A3951337   BRIANNA      HENDERSON                 OH         90010942039
133221A8276B68   JOSE         XENOL                     CA         46016021082
1332271114B588   MELISSA      DAVID                     OK         90012517111
13322A16961958   ANTONIO      MENDEZ                    CA         46059790169
13322A3779377B   SAMANTHA     KAMMER                    OH         90012030377
133232A8893723   NICOLE       THOMPSON                  OH         90010672088
13324468772B62   NOHEMI       LIMONES                   CO         90008554687
13325A94633683   LEAH         FARROW                    NC         90007790946
1332624887B489   MARIA        SUAREZ                    NC         90012372488
13326A19685823   ARLAN        BARBER                    CA         90013940196
13327756672B62   SYLVIA       MEDINA                    CO         90012857566
13327AA795B384   MEHDI        KARIM                     OR         44577760079
13328228A4B26B   DEBRA        POLFUS                    NE         90010352280
1332914964B26B   TRACY        STEWART                   NE         90009441496
13329A39647956   JONELL       MCLAUGHLIN                AR         90000440396
1332B326361976   YAJAIRA      RUIZ                      CA         90003803263
1332B587691263   SHALYA       CURTIS                    GA         90014065876
1332B839361938   STEPHANIE    PEREZ                     CA         90013068393
1332BA3AA8B183   CALVIN       MEAD                      UT         31061710300
1333149324B588   SYRITA       JAGGERS                   OK         90014574932
1333151815B385   TREENA       SANDERS                   OR         47074145181
1333177395715B   DANIEL       ORTIZ                     VA         90010247739
13332796372B62   JESSE        BERNAL                    CO         90013807963
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13332A8A47B489   GETULIO          BELLO                 NC         90000470804
13333485172B62   GATES            CRYSTAL               CO         33074004851
133334A7461938   DANIEL           LEYVA                 CA         90013024074
1333466577B489   CRISCO           WILLIAM               NC         90014276657
133357A6455948   KIMMY            PRICE                 CA         49013537064
1333593745715B   CARY             DUMAR                 VA         90009999374
1333645715715B   NORATH           PANIAGUA              VA         81086494571
13336746A47956   ROBERT           THOMAS                AR         90013147460
13337158A4B555   RIZA             COOK                  OK         21524591580
13337624A61976   BLANCA           OLIVARRIA-GOMEZ       CA         90011616240
1333774235B154   PATRICIA         ROBERTS               AR         23049277423
133384A2581672   GILBERTO         SANDOVAL              KS         90007834025
1333926665715B   STEPHEN          BEIDLEMAN             DC         90014702666
1333993A572B95   JASON            MADRID                CO         90014759305
1333B189A5715B   NANA             KUSI                  VA         90014291890
1333B52544B588   VALERIE          BRIDGEWATER           OK         21573385254
1333B67355B154   KRISTOPHER       JOHNSON               AR         23086456735
1333B96615B342   ELIZABETH        OROZCO                OR         90006459661
1334142953B359   RAMIRO           GUERRERO              CO         33089654295
1334192875B154   SHERRIE          NELSON                AR         23037419287
13341A67751337   VALERIE          STRICKLAND            OH         90004230677
133424A7461938   DANIEL           LEYVA                 CA         90013024074
1334258A25B526   SHANE            GLEASON               NM         90014705802
1334258A557147   BRANDON          TIBBS                 VA         90013605805
1334259354B588   RYESHA           DENNIS                OK         90015315935
13343A8A491569   PEDRO            GARCIA                TX         75086070804
1334544A45715B   JUAN             RODRIGUEZ             VA         81077654404
1334578A697B69   LISA             ROBY                  CO         90009897806
1334598A291895   ALONZO           SHEPHARD              OK         21092439802
13345A47176B68   ALEJANDRO        GARCIA                CA         90011810471
13346A27955948   JUAN             VASQUEZ               CA         90012480279
1334898544B555   JOSE             VALDES                OK         90002119854
13349417572B62   MARIA            RODRIGUEZ             CO         90013934175
13349A19891895   MATTHEW          SHAFFER               OK         90011920198
1334B642161976   CYNTHIA          GOMEZ                 CA         90007416421
133511A2157147   FARZAD           YAZDANI               VA         90003211021
13351554472B62   CHARLES          MOFIELD               CO         90013085544
1335239165715B   JOSE             AGUILAR               VA         90007623916
133532A367B489   LORI             WARDELL               NC         90013262036
1335367A68B123   CLINTON DEANNA   CHATWIN               UT         90010636706
133545A4451337   JOSHUA           LIGGETT               OH         90014615044
13355284124B7B   LATRICE          MORRISEY              DC         90012462841
1335666565715B   BRADLEY          JONES                 VA         90013126656
13356A85351337   CHARLENE         HUNLEY                OH         90005220853
1335757785715B   CHARLIE          RAMIREZ               VA         90001925778
1335817855715B   SANDRA           CONTRERAS             VA         90007241785
1335838644B588   LATRICIA         DAWN                  OK         21575683864
13358515A51337   DEIDRE           ANDERSON              OH         90014525150
1335972287B489   JAY              SINGS                 NC         90010737228
1335B25565715B   ALBERTO          SANDOVAL              VA         90014182556
1335B395255948   RONNIE           ROBERTS               CA         90006253952
1335B619461938   JOSE             RODRIQUEZ             CA         90005516194
1336114924B565   WENDY            BERRY                 OK         90013501492
1336251364B26B   SHERITA          LITTLE BALD EAGLE     NE         90014225136
1336447415B348   JESSICA          STALEY                OR         44502374741
13364842A91263   EUGENE           DAVIS                 GA         90012208420
13364A2147B489   GUSTAVO          PEREZ                 NC         90008590214
13364A52492827   FRANK            PARKER                AZ         90014160524
13366178A61976   ERIKA            JAQUISH               CA         90008201780
13366225A91895   SAMANTHA         HASHAGEN              OK         90010362250
1336736165B526   CYNTHIA          HERNANDEZ             NM         90015383616
133678A5331687   PATRICIA         HACKET                KS         90002658053
13368445A91895   MARGARET         HODGSON               OK         21003064450
1336857484B588   MARY             COCHRAN               OK         90012905748
1336B14545B154   MELBA            HALTON                AR         23016791454
1336B45424B555   NATASHA          BARBER                OK         90014764542
1336B94525B292   ASHLEY           PERKINS               KY         90010689452
1337114A831687   LOC              DOC                   KS         22015771408
13373697A4B26B   ANDREW           JAYNES                NE         90014726970
13373A6664B537   GREGORIA         CARILLO               OK         90007690666
1337484234B588   KANDON           KELLY                 OK         90006288423
1337497764B26B   RICK             SIPES                 NE         26082699776
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13375178A4B555   MARY         BIRCH                     OK         21566861780
1337522625B526   CYNTHIA      ESCUDERO                  NM         90004192262
13376139176B68   MARITZA      HERNANDEZ                 CA         46005691391
1337717534B555   SHADAVIA     RAINGE                    OK         90014771753
1337736915715B   JOSE         GUZMAN                    VA         81095153691
1337879534B555   MARIO        MELENDEZ                  OK         90014177953
1337895412B582   KATRINA      TAYLOR                    AL         90015049541
133791A1A61958   RONALD       WILBURN                   CA         90012751010
133798A5677535   JOURDAN      DIQUARTO                  NV         90005508056
13379A1125715B   LEANDRO      PORTILLO                  VA         90014500112
1337B355857147   MARIA        DELCID                    VA         90014223558
1337BA14161938   SAURABH      GUPTA                     CA         90013590141
1337BA3475715B   ERMIAS       KEBEDE                    VA         90012670347
1338153654B555   PRECIOUS     KEITH                     OK         90012365365
1338259274B555   HATTIE       LUPTON                    OK         90014765927
13382978A91569   ANDRES       RAMIREZ                   TX         90013629780
133839A214B555   JASON        MILNE                     OK         21592019021
1338456775B526   SALAZAR      TINKER                    NM         90001505677
13387738A61958   ARACELI      MALDONADO                 CA         90012377380
1338859193B39B   SANTOS       LOPEZ                     CO         90001585919
13388833372B84   DARRELL      JACKSON                   CO         90012048333
13388A5372B244   ORANGEL      RIVERA                    DC         90014270537
1338965A526266   PAYGO        IVR ACTIVATION            WI         90015036505
1339125A855948   RAFAEL       LARA                      CA         49039882508
1339263AA61958   FRANKLIN     CORDOVA                   CA         90011666300
1339318464B555   CHRIS        COZENS                    OK         90014771846
1339335844B588   VANORA       SOCKEY                    OK         90014613584
1339351658B136   KRISTI       JONES                     UT         31004815165
1339387A391895   PEDRO        NAJERA                    OK         90012338703
1339454944B588   KEITH        MILLIKEN                  OK         90010595494
1339611275133B   STEPHANIE    BERMUDEZ                  OH         90002121127
13396169A5B526   FRANCISCO    CURRICHI                  NM         90014331690
1339618965715B   ROSA         GOMEZ                     VA         81026661896
133964A6497B38   ROBERT       MADDEN                    CO         39004714064
13396A91261976   GIOVANNA     RUIZ                      CA         90006220912
1339751A593737   MALLORY      MITCHELL                  OH         90013105105
1339779385B526   MARILYN      BENHAM                    NM         90011127938
1339822A37B489   BELTER       LOBOS                     NC         11012452203
1339884A791895   JUANA        GONZALEZ                  OK         90014398407
1339918974B555   YAZMINE      HERNANDEZ                 OK         90014781897
133994AA861938   MARK         COVIELLO                  CA         90013264008
13399749A31687   ANCIL        HENSLEY                   KS         22015997490
1339B356A5715B   JAMES        RAGSDALE                  VA         90014973560
1339BA18955948   MARY         WOODWARD                  CA         90014840189
133B11A515715B   INOLFO       HERNANDEZ                 VA         90011911051
133B1372791398   WILLIAM      MELTON                    KS         90004523727
133B149AA51337   WILLIAM      GARRETT                   OH         66091894900
133B1841155976   KARINA       HERNANDEZ                 CA         90007128411
133B3393133699   DAVID        MOBLEY                    NC         12041453931
133B3477A72B62   JEREMY       HARTUNG                   CO         90007314770
133B4287161938   DIANA        NAJAR                     CA         90014992871
133B42A1457147   JUAN         ALVAREZ                   VA         81074422014
133B433444B26B   RUDY         REQUEJO-YBARRA            NE         90015113344
133B4694261938   JUAN         PEREZ                     CA         90013076942
133B4734272B62   NATHANAEL    REINSMITH                 CO         33087307342
133B542387B424   ASHENAFI     ABEBE                     NC         90013524238
133B622295B254   JEFFERY      CZEISZPERGER              KY         90012192229
133B657945715B   ANTHONY      WILSON                    VA         90015025794
133B6769A57147   RENE         CONSTANZA                 VA         90014507690
133B7542A7B489   EZELL        TAYLOR                    NC         90009625420
133B779A55715B   MONICA       MARTIN                    VA         90005247905
133B8237893754   LAURIE       THORPE                    OH         90000322378
133B82A3257147   CARLOS       MIRANDA                   VA         90009332032
133B888A861958   ANABEL       LOPEZ                     CA         90010968808
133B894324B588   CHARLIE      RYGHT                     OK         21552249432
133B9214951355   LATASHA      EATON                     OH         90004292149
133B948396B95B   NIKKI        HANN                      NJ         90002334839
133B9524472B62   VIVIANA      ESPARZA                   CO         90002705244
133BB732661976   PEREZ        SYLVESTER                 CA         90012617326
133BBA1155B154   ELICEO       POOT                      AR         90014800115
133BBA9816B933   MARIELA      LOPEZ                     NJ         90012960981
13411A1A55715B   REDA         BENKHADIR                 VA         90015140105
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1341226665715B   STEPHEN        BEIDLEMAN               DC         90014702666
1341243A261997   JESSICA        FLETCHER                CA         90008344302
1341244A761976   RANDY          ROWLAND                 CA         90004374407
134129A6A55976   CHANELLE       CAPRI                   CA         90012629060
134145A934B26B   ROBERT         HITZ                    NE         26018355093
134148A335B154   MERCHEL        MOORE                   AR         90015178033
1341537374B588   AMBROSIO       ARGUETA                 OK         90012723737
13416384A57147   SERENA         EWAYS                   VA         90012783840
13416715272B4B   JANET          VASQUEZ                 CO         90004107152
13416A17855976   MARIA          DE LA CRUZ              CA         49040320178
1341764365715B   MILTON         SALAZAR                 VA         81018376436
1341811274B588   ALICIA         CRIGLER                 OK         90013451127
13418772972B62   LUZ            GANDARA                 CO         90013047729
1341B88A531943   ALFRED         BORBOR                  IA         90014258805
13421729A5B526   VALERIE        LUCERO                  NM         90013787290
13421954272B62   CAZZIE         LOGGINS                 CO         90011479542
13422389272B62   ALMA           VASQUEZ                 CO         90009213892
13422A12591895   LORIE          WALDRUP                 OK         90012550125
13422A9225B526   DIANNA         MONTROSE                NM         90008650922
1342326A25B526   MARIO          ALDERETE                NM         35004602602
13423829A4B588   ASHONTE        WINSTON                 OK         90012448290
1342396277B489   TONY           JOHNSON                 NC         90008959627
1342548A557147   BENJAMIN       FLORES                  VA         90000314805
1342568457B489   PERLA          CASTRO                  NC         11082366845
1342632454B555   BRYAN          MILLER                  OK         90014773245
1342686737B489   JASON          DEBERRY                 NC         90012718673
1342732844B555   CHRISTOPHER    GREEN                   OK         90014773284
1342748817192B   STEPHANIE      DISPOTO                 CO         32004454881
134293A674B555   AMY            OCHOA                   OK         90013803067
1342B318455976   SALLY          CARRILLO                CA         90013183184
1342B349957147   JOSE           ALVARENGA               VA         90012353499
1342BA1254B555   MARY           FORD                    OK         90009620125
1342BA18955948   MARY           WOODWARD                CA         90014840189
13431294A61938   VERNON         BRINKLEY                CA         90007772940
13431345776B68   RICARDO        CASTRO                  CA         46062643457
1343214A724B7B   MEKDES         GEMEDA                  DC         90013591407
13432292233B58   TIM            RUSSELL                 OH         90014882922
1343235822B235   THOMAS         THOMAS                  DC         90001173582
13433152A5B526   RICHARD NICK   JARAMILLO               NM         90011371520
1343445375B526   RAYNA          CUMIFORD                NM         90002474537
1343477554B588   JOEPH          PESTI                   OK         21593307755
13434959772B62   JAIME          CRUZ                    CO         90002249597
134355A1855976   ARKIM          STOKES                  CA         90014505018
13435A95572B62   ENRIQUE        CABRERA                 CO         90002720955
1343636A291569   ROGER          ALVAREZ                 TX         75045693602
1343751A776B68   YECENIA        VAZQUEZ                 CA         90011845107
1343781A561976   FABIOLA        MAYTORENA               CA         46044698105
13437974A4B588   BRANDON        SANGO                   OK         90012659740
1343835475B526   KATYA          LUCERO                  NM         90011343547
1343886A551337   AMY            WAMSLEY                 OH         90012638605
13439948972B62   SANDY          RAMIREZ                 CO         33045239489
1343B7A6872B62   MARQUES        MITCHELL                CO         90008317068
1344139A472B62   YAA            BOAKYA                  CO         90010363904
134415A1931635   NANCY          MASTERS                 KS         90005645019
13442725497B69   JAMES          OWINY                   CO         90010227254
13442A25291895   KATRINA        COLEMAN                 OK         90005920252
13443933A4B588   CRUZ           MAJALCA                 OK         90014849330
13443A3295B154   RUBY           MARTIN                  AR         90008850329
13443A63361976   EFREN          SOLES                   CA         46002940633
13444273872B62   LUIS           MEDINA                  CO         33074412738
1344447563363B   WILLIAM        RANKINS                 NC         90012914756
1344524946192B   LORRAINE       COCHRUN                 CA         90003422494
1344613325B154   CHRISTINA      DUMAS                   AR         90014701332
13446847872B62   ARQUIMIDES     ROMERO                  CO         33008538478
13446A19876B68   LEONICE        VENTURA                 CA         90011850198
1344734134B588   BOBBIE         REED                    OK         90013293413
13447A77361976   MIRIAM         FRANCO                  CA         90015130773
13448625A5715B   LIZA           RASHIDI                 VA         90001076250
1344B882A55948   RICHARD        SORIA                   CA         49097368820
1345196842B235   BOBBY          ADAMS                   DC         90008809684
134525A4255976   HUGO           SANCHEZ                 CA         90014505042
13452833A55976   RATHA          NANG                    CA         90011188330
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13453A99872B62   JESUS          EPIFANIO                CO         33090150998
1345462A957147   LUIS           PINEDA                  VA         81044006209
134546A1961938   ANA            PEREZ                   CA         90014676019
1345612184B588   CHRISTOPHER    VALLE                   OK         90015111218
1345612735715B   DANIELA        COAQUIRA                VA         90012361273
134563A9393725   KELLY          VITALE                  OH         90012693093
13456674A43444   LYNNEA         RAYNOR                  VA         90014256740
1345718A84B588   JAMES          DAWSON                  OK         90013481808
1345915127B489   ALEJANDRA      CASTILLO                NC         90013541512
13459429A61958   ABIGAIL        HERNANDEZ               CA         90010224290
13459842A8584B   CHARLES        SPRUCK                  CA         46012848420
13459A39624B7B   NOLA           LANE                    VA         90014590396
1345B32584B588   ANADRES        OERUIZ                  OK         90014293258
1346165565B526   KAYAL          ARCHULETA               NM         90002306556
13462198A5B526   ANGELITA       RAMOS                   NM         90001031980
1346246654B555   VERONICA       BEARBOW                 OK         90014774665
1346442315415B   DAVID          GILLASPIE               OR         47056324231
1346476697B489   YUMIKO         MOSLEY                  NC         90012937669
134661A7391263   CURTIS         DAVIS                   GA         90013311073
1346621317B489   FRED           SNEED                   NC         90013552131
1346636375715B   GENNET         TIKU                    VA         90008063637
13466655A72B62   ESTEBAN        GARCIA                  CO         90006136550
1346735613B35B   LANA           MOORMAN                 CO         33003503561
13467938A47956   MELISA         GILSTRAP                AR         24066969380
1346848574B555   AMBER          SMITH                   OK         90014774857
13468A54255976   MARIA          MARIN                   CA         49012230542
1346942745B154   REESE          LAMB                    AR         90011304274
13469543876B68   MARY           JAGIELLO                CA         90005665438
1346B127A61976   CARLOS         ROMO                    CA         90011961270
1346B747891569   RUBINA         MURTAZA                 TX         90014877478
1347117577B489   YOLANDA        JAKSON                  NC         90011381757
1347181A691569   MARIBEL        GOMEZ                   TX         75020628106
134727A554B26B   STEPHANIE      NEWMAN                  NE         90013797055
1347349564B555   CASEY DAKOTA   PIERCE                  OK         90014774956
13474789A55976   PAMELA         DANIEL                  CA         49087407890
1347548455715B   YESSICA        PAZ                     VA         90006764845
134758A564B588   YONMAN         GARCIA                  OK         90012048056
13476839257B59   MELISSA        WHITED                  PA         90014238392
13476855A61938   CYNTHIA        LOZA                    CA         90013068550
134768A725B526   PERLA          MONTOYA                 NM         35000998072
13476A2A831687   YOLANDA        WYNN                    KS         22048150208
1347817675715B   CAROL          MARTINEZ                VA         90009571767
1347826A15B154   MALCOLM        ROGERS                  AR         90012292601
13478855A61938   CYNTHIA        LOZA                    CA         90013068550
13478A77451337   MATTHEW        HILL                    KY         90009510774
1347B638361958   LUCIO          INFANTE                 CA         90013116383
1347B982A4B588   BARBARA        PATTERSON               OK         90009459820
13481375372B77   CHRISTINE      CRUSE                   CO         90008913753
1348151AA4B555   DOLLIE         SIMPSON                 OK         90014775100
13481527772B62   NANCY          JEFFERSON               CO         33069375277
1348154275715B   DINO           SAWYER JR               VA         90013595427
1348179335715B   RAMIRO         PEREZ                   VA         90003557933
1348251AA4B555   DOLLIE         SIMPSON                 OK         90014775100
1348258895B526   BETSI          HERRERA                 NM         90004645889
134833A1361976   MARIANA        ALMANZA                 CA         90013243013
1348367234B555   ARTURO         AGUILAR                 OK         90011206723
13483835372B62   ADRIANA        CHAVIRA                 CO         33087338353
13483A83491263   KWAME          FLOYD                   GA         90014710834
1348447424129B   CHARLES        FETTER                  PA         90013634742
1348572624124B   MONIQUE        DRAKE                   PA         90011077262
1348583A276B68   JESUS          CASTRO                  CA         90001018302
13485915172B62   DEBRA          TAYLOR                  CO         90015249151
13485A99872B62   JESUS          EPIFANIO                CO         33090150998
1348651AA4B555   DOLLIE         SIMPSON                 OK         90014775100
134868A3157147   YOBANY         GOMEZ                   VA         81059428031
1348751AA4B555   DOLLIE         SIMPSON                 OK         90014775100
134889AA691836   LETICIA        MAYA                    OK         90003199006
1348925A95B526   MARIO          VILLANUEVA              NM         90006182509
1348935279373B   JOHN           MASON                   OH         90011083527
13489685172B62   CHALANA        SIMS                    CO         33084216851
1348B811626266   ANN            ASSTMANGER              WI         90001788116
1348B96A155948   ABIGAIL        ARANO                   CA         90014979601
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13491316A91956   LINDSAY       NOBLE                    NC         90012523160
1349194A951337   RICKEY        RUCKEL                   OH         90014779409
134931A784B588   ONESHA        DOUGLAS                  OK         90013871078
13493597A5715B   DAVID         PADGETT                  VA         90005705970
13493A39191895   RONALD        BAKER                    OK         21083700391
1349459835B526   BRADLEY       FECHT                    NM         90015225983
134949A3391569   ERNESTO       FLORES                   TX         90013529033
13495171A41384   CAITLYN       MARTIN                   MA         90014971710
1349518545B526   RICARDO       RUIZ                     NM         90011511854
1349537484B26B   BRITTANY      BORRELL                  NE         90001713748
1349653424B555   EDWIN         RODRIGUEZ                OK         90014775342
134978A5351337   MARION        PETERSON                 OH         90011148053
134981A8A4B26B   JERRY         WOLFE                    NE         90013471080
1349858955715B   YASMIN        GARCIA                   VA         90010715895
134985A194B588   SAVANNAH      BETANCUR                 OK         90012305019
13498A57961938   ROSALINDA     DUNN                     CA         90014660579
13499A12751599   BILL          BRIGHT                   IA         90015100127
1349B12594B588   GLORIA        LOPEZ                    OK         90010521259
1349B393247956   VERENICE      ALEMAN                   AR         90011453932
1349B446891263   KATINA        HENDRIX                  GA         90008704468
1349B481857147   JOSE          BAUTISTA                 NC         81026184818
1349B525591895   SEBASTIAN     HAROS                    OK         90012735255
1349B878455976   YVONNE        RAMIREZ                  CA         90013748784
134B174945B335   MARYLAND      RHODES                   OR         90013527494
134B188425B526   BRIAN         JAQUEZ                   NM         90015018842
134B1A41261938   MIKE          KAHLE                    CA         46006180412
134B221784B555   CALEB         GOODWIN-SHIELDS          OK         90014772178
134B233324B588   VICTORIA      WHITE                    OK         90013623332
134B322854B555   FELICIA       SALDIVAR                 OK         90014772285
134B3378661976   ROBERT        JOHNSON                  CA         90010193786
134B3639357147   ISAIS         ORTEGA                   VA         90011966393
134B366A476B68   MAIVYTH       COSME                    CA         46092236604
134B3716891263   NATHANIEL     JONES                    GA         90004407168
134B3921261958   DARROLD       ADAMS                    CA         90012889212
134B422854B555   FELICIA       SALDIVAR                 OK         90014772285
134B447964B588   UNDRAY        MOORE                    OK         90011304796
134B4541A91895   EBONNI        VADEN                    OK         90013285410
134B4734372B2B   SHAWN         WALLACE                  CO         90012017343
134B4A14457147   WAEL          BAHGAT                   VA         81007070144
134B5652A5715B   ZEGEYE        WELDE                    VA         90012606520
134B585A961958   LUANGVISETH   KHAMPRASEUTH             CA         90014838509
134B5973891569   MANUELA       VALDEZ                   TX         90014419738
134B6519261976   DAVID         ZARAGOZA                 CA         90004395192
134B6786847956   IVAN          CALVAN                   AR         90008987868
134B8191931996   CHRISTINE     CAMPBELL                 IA         90013931919
134B8493847956   JOHN          MCMELLON                 AR         24010034938
134B8572151337   PENY          GRAFNER                  OH         66000825721
134B88A5957147   FIDEL         GONZALEZ                 VA         90010968059
134B967835715B   OSCAR         MIRANDA                  VA         81097626783
134BB487561938   ALEJANDRA     QUEVEDO                  CA         90011194875
134BB491572B62   FERNANDA      BUSTAMANTE               CO         90005194915
134BB85A261938   ARACELI       BELTRAN PEREZ            CA         90013068502
134BBA31355976   MICHAEL       LIME                     CA         90013400313
135111A1361938   RUTH          BATTON                   CA         46035271013
1351134334B588   YOLONDA       THOMAS                   OK         90013733433
135113A4691895   BEE           VANG                     OK         90011873046
1351156324B555   ADRIANA       BENAVIDES                OK         90014775632
135127A1544353   STEPHANIE     CUMMINGS                 MD         90013087015
1351461A35715B   ROBERT        PETERSON                 VA         90012756103
135146A476B933   EILEEN        BAUTISTA                 NJ         90012776047
1351523564B555   GENISHA       WILLIAMS                 OK         90014782356
1351559A347956   GATLING       ROSE                     AR         24082085903
135157A627B489   JAREN         HOLT                     NC         90014897062
13516728272B62   JESUS         VEGA                     CO         90012317282
13517892A5B154   JESSE         SANDERS                  AR         23004008920
1351795665B526   ALICIA        VAZQUEZ                  NM         90014389566
1351947255B526   LIDIA         ROMERO                   NM         90009854725
1351B14A361976   JUAN          CARDENAS                 CA         90011681403
1351B348351337   OSCAR         PEREZ                    OH         66067833483
1351B47365715B   SHANA         ROBERTSON                VA         90013394736
1351B63124B588   LORENZO       RAMIREZ                  OK         90012316312
13521126A4B588   MARVIN        MURILLO                  OK         90013031260
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13523124A61976   WALTER       MARTINEZ                  CA         90012131240
13524177A91569   EUGENIO      HERNANDEZ PRADO           TX         90013281770
1352433A471976   TONY         BRASWELL                  CO         32046863304
135247A9155948   EVA          VASQUEZ                   CA         90008047091
135251A8131687   MCKENNA      UNRUH                     KS         90002501081
13525724A5B154   TIFFANY      HARRIS                    AR         90009857240
13525A49961976   JOSEFINE     NUNEZ                     CA         90011760499
1352628284B555   YOLANDEA     LINZY                     OK         90014782828
1352757765B526   MARICELLA    VARGAS                    NM         35002875776
13528167672B62   ORSI         CARRILLOS                 CO         90010271676
1352819A661993   JAMES        THOMPSON                  CA         90003291906
135292A5291895   ROSA         BECERRA                   OK         21014902052
1352BA5365712B   TEWE         DROS                      VA         90011410536
1353132AA55976   OSCAR        MENDEZ                    CA         90011223200
1353155275B154   RACHEL       HARRIS                    AR         90004165527
1353334662B886   CHRISTIAN    LUNIDQUIST                ID         90007543466
1353336A531635   HELLEN       DRAKE                     KS         22017393605
1353387234B26B   JENNY        TURECHEK                  NE         26038178723
13536A1135B154   LEESTER      WILSON                    AR         23073340113
13536A27955948   ERICA        UGARTE                    CA         90015200279
1353724A551337   JESTINE      PRUDE                     OH         90013762405
1353744715B396   JUAN         MORENO                    OR         44508404471
1353871874B555   DEVAUGHN     ROBERSON                  OK         90005157187
1353897A976B52   MARY         HART                      CA         46035649709
135391A6576B68   NESTOR       DE LA CRUZ                CA         90010761065
135392A8155948   KARISSA      SAUCEDO                   CA         90013192081
1353931224B555   RONTRELL     NEVIS                     OK         90014783122
1353972635B154   BRANDY       TRIBIO                    AR         90015147263
1353B745A51337   AUTUMN       FOWLER                    OH         90014417450
13541124A61976   WALTER       MARTINEZ                  CA         90012131240
13541667172B62   ESTHER       GRIMALDO                  CO         33064736671
13543142A57147   LORENA       CRUZ                      VA         81084791420
1354324694B588   EDGAR        DAVIA                     OK         90009702469
1354379814B582   AUGUSTIN     SALAZAR                   OK         90009977981
1354412575B526   MARIO        GAYTAN-VALDES             NM         90012601257
13544381A55976   HELEN        RODRIGUEZ                 CA         49096663810
13545978A7B489   AMY          FURR                      NC         90001029780
1354676257B489   NATASHA      DAVIS                     NC         90010807625
1354693284B588   MELISSA      MURPHY                    OK         90012889328
13546957A57549   JAYME        SANCHEZ                   NM         90012589570
13547468A4B555   LUDYN        CHAVEZ                    OK         90009924680
135475A252B227   RAYGAN       BROWN                     DC         90010895025
13547751A76B68   EVERRET      BENYARD                   CA         90000987510
1354882862B249   VICTOR       OROZCO                    DC         90012278286
13549A44757147   CARMEN       BARRIOS                   VA         90012880447
1354B25A655976   BENJAMIN     GONZALEZ                  CA         90003252506
1354B66A191899   TRACY        MARANG                    OK         21083696601
1354B717657147   CARLOS       NUNEZ                     VA         81065817176
1355146465B154   SIARRA       BOLTON                    AR         90014724646
13551A8547B489   SMITH        HERNDON                   NC         90010180854
1355259817B489   KENYON       LONDON                    NC         11062985981
1355271335B154   JOSE         CRUZ                      AR         90002137133
1355289142B232   DENITA       PERRY                     DC         90008128914
1355326165715B   RODOLFO      VENAVIDES                 VA         90013012616
13553622A57147   KOSI         ASANTE                    VA         90012796220
1355376715B154   PAMELA       MOLDEN                    AR         23067267671
13553A87A4B555   JOSELUIS     SERRANO                   OK         90006730870
13554AA854B555   ENRIQUE      FERNANDEZ                 OK         90003370085
13555A5638B164   JEREMIAH     NOSACK                    UT         90010460563
1355627447B489   SONYA        MCGRIFF                   NC         90003302744
1355679697B435   MICHELLE     TISDALE                   NC         90010927969
13557A11191895   KIM          KENNEDY                   OK         21007420111
13558613324B7B   GAVADA       MARSHALL                  DC         90010556133
1355865894B555   GAIL         SMITH                     OK         21557996589
135587A2261958   CASSANDRA    CHAVEZ                    CA         46091627022
1355919555715B   MARIA        LOPEZ                     VA         90008121955
13559979676B68   JAVIER       ARROYO                    CA         46088849796
13559A47455948   BIVIANA      TORRES                    CA         90012280474
1355B19A961958   OREO         CERVANTES                 CA         90006241909
1356133635B384   JOHN         JONES                     OR         90007683363
1356139644B555   EVELIN       SILVA                     OK         90014783964
1356158665715B   MARITZA      AGUILERA                  VA         90002955866
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1356212975715B   MARIA        ATENCIO                   VA         90009631297
135629A495B526   THERESA      CORDOVA                   NM         90012229049
13563A77572B62   LUIS         MEJIA                     CO         33089990775
1356465414B588   BYRIONA      JONES                     OK         90014876541
1356478634B26B   JOLEAN       BROOKS-NESBITT            NE         90001337863
1356489734B555   VIRGINIA     MORROW                    OK         90000518973
13564A37897B33   WARREN       SCOTT                     CO         90014210378
135655A655715B   JONATHAN     COOPER                    VA         90015305065
1356568184B588   DONNA        RUSSELL                   OK         21588176818
1356574785B526   JO           MAXEY                     NM         90012507478
13565A1A155968   GABRIEL      RODRIGUEZ                 CA         90009720101
1356634A361976   MARTIN       GARCIA                    CA         90010073403
135669A2855948   SUSI         CASTILLO                  CA         90012339028
1356763485B154   ERIKA        CERVANTES                 AR         90013486348
1356797185B526   ANGELA       PIRO                      NM         90006129718
13567A9315B154   ERIKA        CERVANTES                 AR         90009820931
1356841128B192   CARLOS       GIRON                     UT         90013334112
135699A895B526   DEBRA        GARCIA                    NM         90010669089
1356B1A8131687   MARY         BLEA                      KS         90008031081
1356B28A655976   MARCOS       ECHEVERRIA                CA         49011022806
1356B6AA64B26B   MICHAEL      CARNEY                    NE         90013996006
1356B832361976   JAVIER       VELAZQUEZ                 CA         90013358323
1356B89745715B   ALEXANDER    MARTINEZ                  VA         90010098974
1356B8AA491949   BARBEE       FITZPATRICK               NC         17058438004
1357239394B588   AMARISS      KARTY                     OK         90014643939
1357327217B489   SAMUEL       HARVEY                    NC         90002312721
135734A694B555   AURORA       SOLIS                     OK         90014784069
13573A1624B254   RYAN         HILLYER                   NE         90013580162
1357471525B526   SOPHIA       VALDEZ                    NM         90014157152
1357539698B837   MYLES        GACH                      HI         90014003969
13575499172B62   THAI ROBBY   XIONG                     CO         90015024991
1357557335B154   TIFFANEY     H                         AR         90014215733
1357572764B555   LATRESHA     WRIGHT                    OK         21589237276
13576447A85999   MICHEAL      COUCH                     KY         90014724470
1357649815715B   IRVIN        RIVAS                     VA         90000674981
13577791772B62   ERIKA        RAMOS                     CO         33058637917
1357796A391569   HERLINDA     MONTALBAN                 TX         75021869603
1357945A176B68   ROY          DAILEY                    CA         46082344501
135794A316B933   LLARELY      GARCIA                    NJ         90012854031
135796A3455976   MARIA        ARROYO                    CA         49008876034
135797A2651337   RAPHAEL      CARROLL                   OH         90000607026
1357B23117B489   EDWIN        CRUZ                      NC         90014822311
1357B49964B555   MARTIN       ACEVEDO                   OK         90013674996
1357B648391895   BRANDON      CURCIO                    OK         90014726483
1357B89AA91569   CLAUDIA      PORRAS                    TX         90014458900
1357B92A861976   DAVID        LEON                      CA         90008499208
13581328A61976   RICHARD      FERGUSON                  CA         90012853280
1358158544B588   AMANDA       MORRIS                    OK         90014465854
13581A31A5599B   JOSE LUIS    RIVERA                    CA         90008230310
13581A91372B62   KATHRYN      WEBER                     CO         90006080913
135826A357B323   DANIEL       VELASCO                   VA         90006396035
1358299264B555   MARLENE      WILLIAMS                  OK         90013929926
13583391A57147   PABLO        MERINO                    VA         81037613910
13583A13561958   JULIA        FONTENEAUX                CA         90000120135
13583A6A371965   DAVINA       LABATO                    CO         90007920603
1358419527B489   LAKEISHA     DAVIS                     NC         90014601952
1358443754B555   MARK         ALLEN                     OK         90014784375
1358494685715B   DAMIKA       THOMAS                    VA         90014569468
1358543754B555   MARK         ALLEN                     OK         90014784375
1358568447B489   DAVID        SMITH                     NC         90010326844
13585AA4351357   JEFF         HARRISON                  OH         66006520043
1358735475B526   KATYA        LUCERO                    NM         90011343547
1358744A44B555   LORENZO      RANDALL                   OK         90014784404
13587AA9661958   CATHERINE    SEITRICH                  CA         46032370096
1358845154B555   DAVID        PERRY                     OK         90014784515
1358898994B588   SETH         THOMAS                    OK         90014909899
13589171172B62   JOSE         OCTAVO BELTRAN            CO         90013361711
1358946454B555   TANNISE      DAVIS                     OK         90014784645
1358B152A61985   GUADALUPE    VAZQUEZ                   CA         46031961520
1359122444B26B   AAAA         AAAAA                     NE         90001882244
13591A25491263   JOSEPH       NETHELS                   GA         90010340254
135923A5372B62   ULISES       RUEZ                      CO         33077473053
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13593564576B68   REBEKAH        ALVARES                 CA         90012425645
1359446997B489   ELLEN          RUSHING                 NC         11062704699
1359674434B588   JEREMY         BUTTS                   OK         90000457443
13597A68547956   TONIE          SCAIFE                  AR         24005540685
1359895587B489   MARIA          CONTRERAS               NC         90010739558
13599842A91895   CHRISTIE       HOPPER                  OK         90014548420
1359B146741455   NATHALIE       GIOHUDER                WI         90015501467
1359B37587B489   IRIS           PADILLA                 NC         90008733758
1359B791491569   OLGA           MONSIVAIS               TX         90008957914
1359B793557147   MARIA          ARGUETA                 VA         81093327935
1359B81A861938   BARBY          THRIFT                  CA         90013688108
1359BA33331635   SADICK         MDOE                    KS         22077460333
135B1244861976   LINDA          JIMENEZ                 CA         90004122448
135B1613131687   SADE           NERO                    KS         22022696131
135B1796A57557   SANDRA         MOLINA                  NM         35570297960
135B2365591895   ANGELA         MCDONALD                OK         90000913655
135B2399A7B489   ELIN           ARIAS                   NC         90013613990
135B245A655948   WARREN         WEBB                    CA         49010744506
135B2A1A961938   ANGEL          MENDEZ                  CA         90015320109
135B3372891263   SHANIK         HOLMES                  GA         90001073728
135B398387B489   MARY           CALDWELL                NC         90012849838
135B3A12191569   MAYRA          VILLA                   TX         75072250121
135B3A57961938   ROSALINDA      DUNN                    CA         90014660579
135B4915A5715B   KADIETU        BARRIE                  VA         81019959150
135B4A76691895   KIMBERLY       ROBERTSON               OK         90015010766
135B4A9375B355   REGAN          LIDDLE                  OR         90008940937
135B5389972B62   EVELIA         ROBLES                  CO         90001233899
135B595785B275   STEPHEN A      PALMER                  KY         90002829578
135B61A2391263   ANTHONY        WILIAMS                 GA         90005591023
135B6373461938   ASHLEE MARIE   PEREZ                   CA         90013873734
135B642A576B68   VIRGILIO       HERNANDEZ LOPEZ         CA         90012054205
135B6497A55948   DARIO          MENDEZ                  CA         49063364970
135B7292A61958   ESMERALDA      GUZMAN                  CA         90014762920
135B772614B588   JOVITA         RAMIREZ                 OK         90000387261
135B8324857147   HALIMATOU      DIALLO                  VA         90002683248
135B979788B832   PAYGO          IVR ACTIVATION          HI         90012677978
135B9A39624B7B   NOLA           LANE                    VA         90014590396
1361122A161976   ERENDIRA       AYALA                   CA         90012792201
13611835476B2B   CARLOS         AGUILAR                 CA         90001628354
1361482A372B62   AARON          MORALES                 CO         90013308203
1361567A257147   MANUEL         JESUS ROSA              VA         81098866702
136157A5A4B267   KOFFI          AKPADJI                 NE         90013597050
1361632964B588   DANIELLA       RAMIREZ                 OK         90009263296
13617A83991895   SHANIQUA       ADAMS                   OK         90015260839
136193A9351357   SHAVONNE       SINGLETARY              OH         66002623093
1361B729447956   AVA            COLEMAN                 AR         90002237294
1361B7A5191263   RASHEBA        HUDSON                  GA         14584167051
13621795A4B555   BRIANNA        BRAY                    OK         90006587950
1362259874B555   JACINDIA       GRAY                    OK         90014785987
1362397414B26B   REBECCA        STEVENSON               NE         26080399741
1362466555B154   SONIA          WILLIAMS                AR         23091266655
1362499A372B62   ANTONIO        MARQUEZ                 CO         90012779903
13625423472B62   CHRISTIE       MCKAY                   CO         90010994234
1362811274B555   LINDA          AUSDY                   OK         21581921127
1362812534B588   DAVONNA S      WHITE                   OK         90011381253
136281A2391895   SYLVESTER      HALL                    OK         90015261023
13628561872B4B   BARBARA        CONTRERAS               CO         90012885618
13628A6595B154   JACQUELINE     LANGFORD                AR         23069060659
13629528372B62   AUSTIN         BURNEY                  CO         90004495283
1362956995715B   SHARON         SARUGGS                 VA         90014405699
136296A614B555   YAMILEX        VARGAS                  OK         90014786061
13629A8875B154   ERIC           BEAM                    AR         90007580887
1362B34AA7B489   TERRI          FOWLER                  NC         11006643400
1362B57834B555   MACKENZIE      ADAMSON                 OK         90014785783
1362B641A85932   JENNIFER       PROFITT                 KY         67050216410
1362BA8AA61938   SARAY          CAMACHO                 CA         90014660800
136315A2772B62   LUPE           CARRANZA                CO         33084335027
1363177217B489   DWAYNE         FOGGIE                  NC         90015217721
136331A5755948   OSCAR          OCAMPO                  CA         90012921057
136335A615B154   DARRELL        MCDAY                   AR         90012165061
1363479AA72B62   CHERI          KNOX                    CO         90013747900
1363561824B555   ROSA           LASURE                  OK         90014786182
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13635A5785715B   ABU          KALLON                    VA         90014400578
13635A84A91569   RENE         VIELMA                    TX         90013290840
136362A9661958   HECTOR       CARILLO                   CA         46042692096
13636A78A61976   VIVIAN       ARZOLA                    CA         90014970780
13636AA5351337   DEREK        VORMWALD                  OH         90009520053
13637844A5715B   REINA        CABRERA                   VA         81036148440
1363881174B588   ROSA         LOPEZ                     OK         90014178117
13638956376B68   OSWALDO      ACEVEDO                   CA         46063519563
136396A334B555   JOVANY       JARAMILLO                 OK         90014786033
1363978395B526   MANUEL       AGUILAR                   NM         90012857839
13639AA984B26B   NISHA F      BROWN                     NE         90008390098
1363B228555948   MOISES       PORTALES                  CA         90013562285
1363B89688B166   ESTEBAN      GALINDO                   UT         90015298968
1364117427B489   KENIA        HERNANDEZ                 NC         90012661742
1364159994B555   SHARON       MASK                      OK         90014785999
1364175177B489   KENIA        HERNANDEZ                 NC         90010857517
136418A615715B   RENE         CATALAN                   VA         81029838061
1364235A25B526   ANA          GODINA                    NM         90012553502
1364242225B526   LINDA        GARCIA                    NM         35005524222
136424AA157147   LISA         HALL                      VA         90008764001
13643928472B62   LIZETH       CORRALES                  CO         33096629284
13643A4934B555   OLEN         WEEDN                     OK         90014790493
13644178276B68   RICARDO      SAGASTUME                 CA         46015521782
1364448555B154   STANLEY      JOHNSON                   AR         23001984855
13644A16A84327   BOBBY        SWINTON                   SC         14574820160
13644A54191569   JAVIER       VALENZUEL                 TX         90013360541
13645651A2B235   TAWANNA      SMITH                     DC         90006356510
13645958A61958   ALEJANDRO    BENAVIDEZ                 CA         46089689580
1364597AA51337   JOSEPH       WILSON                    OH         66037179700
1364619544B26B   JULIE        OVERTON                   NE         26081131954
13646491272B62   SANDRA       PALACIOS                  CO         90012214912
136464A7357147   VIVIAN       CABRERA LOPEZ             VA         90012054073
1364659295413B   ALFREDO      RAMIREZ                   OR         90015565929
1364692875B154   SHERRIE      NELSON                    AR         23037419287
1364861824B555   ROSA         LASURE                    OK         90014786182
13648A1219379B   CARL         BLACKSHEAR                OH         64503300121
1364B4A4672B62   FRANCISCO    REYES                     CO         90013674046
1364B538561976   HUMBERTO     JUAREZ                    CA         46013825385
1364B74A491895   KIRSTEN      TILLMAN                   OK         90009117404
1364B91855715B   NANCY        INTURIAS                  VA         81068319185
136511A7372B29   ROBERT       ARMSTRONG                 CO         90001681073
1365151385715B   PAULOS       HAYLEMAREYAM              VA         90009955138
136519A3647873   CAROL        FOSTER                    GA         14056129036
1365242A455976   DEBI         STEELE                    CA         90011224204
1365277554B588   JOEPH        PESTI                     OK         21593307755
13653221872B62   CLAUDI       JMEDINA                   CO         90007712218
1365435385B526   ARELLANO     RUBEN                     NM         90004923538
1365466664B555   WILLIE       WATKINS                   OK         90014786666
1365566664B555   WILLIE       WATKINS                   OK         90014786666
13655AAA95B526   DEANNA       BACA                      NM         35035510009
13656242972B26   JOHN         HAWTHORN                  CO         33054442429
1365757A961938   ROBERT       ORDONEZ                   CA         90005525709
13657A42357147   ROSA         ZAVALA                    VA         81055340423
13657AA8361976   LADONNA      OWENS-CHAMBERS            CA         46073390083
1365824A891263   SAMUEL       GONZALEZ                  GA         90014892408
1365868A24B555   DELIA        DIAZ                      OK         90014786802
13659268A91895   TONYEA       SUTTON                    OK         21049962680
1365B4A5155948   JUAN         LUIS-VENEGAS              CA         49092104051
1366131294B26B   JERRY        HORSE JR                  NE         26015663129
1366264244B26B   JERRY        PETERSON                  NE         26068556424
1366276925715B   JESSICA      SOLA                      VA         90014817692
13662A6A17B489   NOYELLI      SANCHEZ                   NC         11090590601
136649A745715B   ANA          ERAZO                     VA         81015189074
136655A2972B37   LORAINE      IRONS                     CO         90003185029
136659A5772B25   DEAHONA      MALOY                     CO         90000949057
1366638844B26B   ADAM         ANDREWS                   NE         26001393884
1366638AA91895   RICKEY       GREEN                     OK         90011373800
1366688715715B   EDGARDO      LOPES                     VA         90012578871
1366721325715B   JOSE         CANJURA                   VA         81062302132
13668618272B62   RUDYARD      ERICKSON                  CO         33000866182
13668A12661938   GUSTAVO      BARRAZA                   CA         90013090126
13668A77751337   JAMES        OAKS                      OH         66000630777
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1366B31A591263   ALFREDO       TAVARES                  GA         90011353105
1366B6A357B323   DANIEL        VELASCO                  VA         90006396035
1366BA97647956   AARON         JONES                    AR         24058820976
1367122A151337   MELISSA       HINES                    OH         90012462201
1367139525B154   FREDDY        GIBSON                   AR         90004833952
13673733A91547   ENRIQUE       GOMEZ                    TX         90012887330
1367494A172B62   MIRIAM        GUARDADO                 CO         90014869401
1367686115B154   TIMOTHY       PERRY                    AR         90015118611
13676A38577529   ANTONIO       ZARATE                   NV         90014590385
13676A91191899   JOHN          BELL                     OK         21004060911
1367758255715B   JIMENES       MARVIN                   VA         90005835825
1367946A751337   ANGEL         ANDRES RIVERA            OH         66063454607
1367B26A95B526   MIREYNA       HERRERA                  NM         90014192609
1367B659885649   TAKYA         WATSON                   NJ         90002566598
1367B84A75B523   ANTHONY       ROMERO                   NM         90015088407
1367B86664B26B   JORDAN        FIELDS                   NE         26032598666
1367B982591569   ALICIA        VASQUEZ                  TX         75031169825
1368117884B555   NETRA         BRANDY                   OK         90002831788
13681799A91569   ZAHRA         KEYVAN                   TX         90010067990
13681838A5B154   JOE           SMITH                    AR         90015468380
1368226267B489   RAJMAN        DARJEE                   NC         90009092626
1368235A58B154   CECILIA       SALAZAR                  UT         90009413505
1368375A672B62   CABALLERO     MARIA DEL CARMEN         CO         33054877506
1368399194B588   SHAMORRO      MCCAIN                   OK         90008849919
13683AA665715B   ANA           AGUILAR                  VA         81018980066
1368461A293783   DEBORAH       WEBSTER                  OH         90009726102
136853A5455948   RICARDO       MACIEL                   CA         90005583054
1368543A255976   STEPHANIE     PONCE                    CA         49097054302
13685865A72B62   DIANA         ROBLES                   CO         90014048650
1368696AA5B154   JAMEZ         ROBENSON                 AR         90015459600
1368718567B489   XIOMARA       HENANDEZ                 NC         90012201856
1368719A14B555   MICHEAL       DEAN                     OK         90000361901
136876AA291885   PABLO         FUENTES-ALVARADO         OK         90008686002
1368791344B588   TIFFANY       KING                     OK         90011009134
13687A26431635   NATHAN        STEPHENSON               KS         22068410264
1368866524B588   SARA          ROWELL                   OK         90014816652
1368919827B489   IRMA          SILVA                    NC         90012401982
1368B436576B68   MARIA         DIAZ                     CA         46013664365
1368B436931637   FRANCISCO     RUVALCASA                KS         90009884369
1369112A174B82   HALEY         BROUGHTON                OH         90014451201
1369189367B489   ALFREDO       RICO                     NC         11064308936
13691A73A4B555   JEANESS       LAWSON                   OK         90014790730
1369233275715B   FATIMA        VARGAS                   VA         90014343327
1369287232B262   JOSE          ORELLANA                 DC         90008188723
13692A7834B555   HELEN         ALEY                     OK         90014790783
1369373A761976   MARK          ARAGONA                  CA         90012067307
13694121872B62   ANNETTE       ROBBINS                  CO         33094711218
1369516365B154   YOSMIKO       COLLINS                  AR         23050011636
1369537995B338   GREGORIO      TORRES GARCIA            OR         90008793799
13695A9194B555   SHEREE        KING                     OK         90014790919
1369766A461938   JENIFER       VILLA                    CA         90014826604
13697A6555B526   ADRIANNA      BERNAL                   NM         90009120655
1369818597B489   TANIA         BARRERA                  NC         90010401859
136985A1A47956   MANYLATH      SAKOUNKEO                AR         24076235010
13699564176B68   JULIAN        ASTORGA                  CA         46088035641
1369966994B26B   AMY           ROBINSON                 NE         90007616699
13699AA313B369   JEFFREY       MAYTON                   CO         33027740031
1369B42115715B   HAMZA         BASSA                    VA         90013224211
1369B489972B25   DEISY         FLORES                   CO         90001004899
1369B733A91547   ENRIQUE       GOMEZ                    TX         90012887330
1369BA21791895   DAVID         BRACKETT                 OK         21080810217
136B1516A4B555   SHANEQUA      LONG                     OK         90014785160
136B1539861938   BREE          STEVEN                   CA         90000275398
136B159574B588   AARON         HANNA                    OK         90012665957
136B2331161938   ANGEL         SOLIS                    CA         90014413311
136B2455961938   ANGEL         SOLIS                    CA         90001734559
136B4552661976   BLANCA        VILLARESPE               CA         90014185526
136B5A84891569   ROSA MARTHA   GOYTIA                   TX         90010360848
136B655217B489   SHANICE       CROWLEY                  NC         90013315521
136B7625561976   RAMON         HERNANDEZ                CA         90014706255
136B794375B378   NICOLETA      LETA                     OR         90009569437
136B812A451337   MARGARET      KELLY                    OH         66044391204
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136B8474172B62   PAULA            LOPEZ                 CO         33088404741
136B866895715B   FRANCISCO        GOMEZ                 VA         90007616689
136B8A98891895   MARCUS           WELDON                OK         90009340988
136B8A98A7B489   DANIEL           ABREGO                NC         90010580980
136B914464B26B   C                G                     NE         90012161446
136B9771172B62   ERIN             TURNER                CO         33083487711
1371132355B526   HEATHER          BURKE                 NM         90011043235
1371141695B154   JOSHUA           CORLIS                AR         23086024169
1371185A147956   SHERARD          JOHNSON               AR         90014788501
137137A5655976   NADIE            TRUJILLO              CA         90011387056
13714377A72B26   AMY              WOOD                  CO         90003173770
1371575575B526   BRANDEN          BONNELL               NM         90010827557
1371593188B166   MARCOS           F LAZO                UT         90008979318
13715A9914B555   BARBARA          RICHMOND              OK         90006690991
13716A23A4B588   MELISSA          AVILAN                OK         21505610230
1371775A54B588   KATHERINE        MCGOWEN               OK         90012857505
13718324557B59   DEBORAH          FORNASZEWSKI          PA         90014393245
1371833928B183   JUANA            NAVARRO               UT         90013283392
13719135A7B489   PEDRO            HERNANDEZ             NC         90014811350
1371928A651337   KATHERINE        MALONE                OH         90014482806
137194A9461976   GUILLERMO        GUERRERO              CA         90012414094
13719761272B62   ELVIRA           MEDINA                CO         90012617612
13719813A3B364   JORGE            LOPEZ                 CO         90013948130
1371996684B588   MARIA            QUIROS                OK         90011009668
1371998387B489   MARY             CALDWELL              NC         90012849838
13719A76A61958   GLENN            YAVORSKY              CA         46031060760
1371B145472B62   NGA              LAM                   CO         33071061454
1371B734961976   RAUL             SANTILLAN             CA         90010337349
13721576372B25   BETTIE           PORTER                CO         90001025763
13722436A91895   JAMIE            KETCHER               OK         21098424360
13722654A61976   JEANETTE         RODRIGUEZ             CA         90011796540
13722A9612B966   ELIZABETH        KONECHNEY             CA         90012580961
137246A865B526   KA-DEJIA         WASHINGTON            NM         90014076086
137272AAA4B555   RYANISHA         WOFFORD               OK         90014792000
1372755364B588   LUQMAN           SALAUDEEN             OK         90004675536
137278A1491895   ORLANDO          DEBOES                OK         21022158014
13728A12591895   LORIE            WALDRUP               OK         90012550125
13728A63991569   ALEJANDRA        ROMERO                TX         90014970639
1372957119379B   MICHAEL          BRODWSKI              OH         90002405711
1372B492561976   MARIA PATRICIA   SALAZAR               CA         90011204925
1373119A54B588   ROMAN            GONZALEZ              OK         90002681905
1373249A355948   NORMA            ANZALDUA              CA         90014894903
137325A4661958   LUIS             RUIZ                  CA         46008825046
1373362A861958   KENIA            BARON                 CA         90013416208
1373444885B154   CORTNEY          BROOKS                AR         90013004488
1373523495715B   KAREN            PERALTA               VA         81039112349
1373545844B555   TIFFANY          JACKSON               OK         90014724584
1373617A991895   RICK             SCHAAL                OK         21061131709
1373655615B526   RYAN             MATTHEWS              NM         90013235561
1373698794B555   PARTICIA         MUNOZ                 OK         21577709879
13736A9125715B   JOY              FARROD                VA         90008370912
1373747AA72B62   BRANDON          SCARBERRY             CO         90000464700
1373762155715B   MISHA            SAMUELS               VA         90011786215
1373782A37B489   MIGUEL           HURTADO               NC         90000218203
1373899964B588   COURTNEY         MAYS                  OK         90014909996
13738A4263B359   CHERYL           BERRY                 CO         33023260426
1373931244B588   KRYSTINA         TAPLEY                OK         90001653124
1373B314451337   JODI             JOHNSON               OH         66001143144
1373B4A237B489   ZYHIER           FLEMMING              NC         90014264023
1374189A45715B   YESHI            MELAKU                VA         90014978904
13741A95447956   LORETTA          BROWN                 AR         90012580954
1374233968B163   MIKEL            GUTKNECHT             UT         90000903396
13742659A72B62   BRANDON          TORRES                CO         90013066590
1374277A151337   ANTTONETTE       WILLIAMS              OH         90014597701
1374327A391569   SELENE           NELSON                TX         90011342703
1374359A691569   NEFTALI          GALVAN                TX         90014255906
1374434A391263   KATRINA          SAVAGE                GA         14586313403
1374441AA61976   THOMAS W         BISHOP                CA         90011624100
13744767A55976   JOAN             MARQUEZ               CA         90015187670
137465A3655948   ROSA             MACIEL                CA         90013085036
1374743928B147   JONEL            VITAL                 UT         90003264392
1374782665B154   SHUNNA           TURNER                AR         90009068266
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137482AA291569   ELI              FERNANDEZ             TX         75014732002
137483AA771923   PAUL             HOLSTINE              CO         90000363007
1374912912B242   JAMEL            LEWIS                 DC         90008461291
1374B37A847956   SATARA           WILSON                AR         90014693708
1374B4A5A57147   CLAUDIA          CHAVEZ                VA         90012924050
13751337A77522   ERIKA            FRANCO                NV         90001873370
1375142775715B   TALISA F         UPSHAW                VA         81081194277
1375225738B139   BRENDA           BARRANDEY             UT         90009262573
1375278AA91586   MARIO            SANDOVAL              TX         90010587800
13752A7A94B26B   MAGGIE           STRUBLE               NE         90006830709
13753982176B68   NIKI             BURGAN                CA         90004799821
13753A55272B25   SCHRESE          WELLS                 CO         90010970552
1375454274B555   DORIAN           CRIDER                OK         90003385427
1375636425715B   TOMMY            FRITTEZ               VA         90013973642
137563A234B555   DEMARNEE         TOSHAE                OK         90014793023
137566A6724B55   JORGE            CRUZ                  DC         81023506067
1375733764B555   COREAN           FRANKLIN              OK         90013783376
1375B45514B555   MICHAEL          E ROSIE               OK         90000964551
13761246572B33   VANESSA          AGUILAR               CO         90002722465
1376131115715B   MUHAMMAD         HUSSAIN               VA         90004363111
13761A7818598B   DAVID            BLANKENSHIP           KY         90008080781
1376315925715B   SARDAR           ALI                   VA         81083721592
13763A3767B489   NORMA            VANEGAS               NC         11097250376
13765228A5B154   FAYREAN          OWENS                 AR         90014832280
13765324A93783   KENDALL          BACCUS                OH         90011243240
13765A79A4B588   WENDY            KEMP                  OK         90008490790
137663A534B26B   LETICIA          MARTINEZ              NE         90010943053
13766961A7B489   HELEN            MCKISSICK             NC         11037589610
1376726A17B373   ROD              GALINDO               VA         90010212601
13768155A5B526   VINCENT          LACOUR                NM         35075981550
137681A2147956   LARRY            JESSEN                AR         24052521021
137684A9572B62   BERNETTA         JONES                 CO         90013674095
13768957924B73   FARHAD           TAHMASEBI             VA         81037529579
1376968919377B   MICHAEL          KINMAN                OH         90012386891
1376988125B526   WESTON           BENDERMAN             NM         90010208812
137699A615B55B   MARIA            MIRELES               NM         90014289061
1376B68919377B   MICHAEL          KINMAN                OH         90012386891
1376BA31172B62   ANGIE            HARRIS                CO         33045220311
1377124237B489   PEDRO            AGUIRRE               NC         11000982423
1377276197B489   FAYONNA          BRISCOE               NC         90012827619
13773A22347956   WILLIAM          KUNKEL                AR         90003640223
13774A45271937   DAVID            KRAGOVICH             CO         90007960452
13775A52155948   CAROLINA         ESTRADA               CA         90014150521
137778A7872B34   GRENETTA         YOLDEN                CO         90002448078
1377B185661938   MARIO            OCHOA                 CA         46012121856
1377B28125B526   MARY             FRAGUA                NM         90012582812
1377B542191895   MARILYN          BROWN                 OK         90014425421
1377B5A7655948   MARIA            ZAMORA                CA         49043825076
13781758424B7B   PAYGO            IVR ACTIVATION        MD         90004247584
137818AA257145   OCTAVIO          CRUZ                  VA         90006418002
1378243815B154   KENDALL          ADAMS                 AR         90015164381
13782A19A72B62   AARON            DEXTER-SELLS          CO         33007570190
1378315A751337   LESLIE           HAWKINS               OH         90013611507
1378334595B154   ANNIE            BUCHANAN              AR         90000683459
13783A42491263   HOPE             WILLIAMS              GA         90013830424
13783A4A44B26B   MUNTAHA          KHALAF                NE         90012230404
1378471125715B   LUNDIN           BARRERA               VA         81019807112
1378558485413B   SCOTT            JOHANSEN              OR         90015245848
13786561A7B489   KARALYNN         THOMPSON              NC         90010365610
1378666675715B   ALFREDO          BURELA                VA         81064986667
13786A94472B62   SPARKLES         DENVER                CO         90012170944
13787377A4B555   CORINNA          VASQUEZ               OK         90002143770
1378744945B154   MARCUS           BERNON                AR         90015164494
13787974A5715B   RANDA            ALY                   VA         90007479740
137879A3657147   MIGUEL           SALHUA                VA         90013379036
13788919A5715B   MARIA CAROLINA   LOPEZ                 VA         90011969190
13788A85455976   MAKAYLA          BELTRAN               CA         90012760854
13789271772B62   MARIA            HERNANDEZ             CO         33043352717
1378B328533667   GREGORIA         OVIEDA                NC         90014403285
1378B36115715B   RUGIATY          MUSA                  VA         81006933611
1378B39134B555   BRANDE           KISER                 OK         90012963913
1378B626691569   VIOLETA          MARTINEZ              TX         90012466266
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1378B7A5657147   JUNIOR GEOVANY   OLIVA                 VA         90012217056
1379156A376B68   HOLLY            POELSTRA              CA         46096145603
1379162A861976   JOSE             JURADO                CA         90011626208
137919AA74B555   SUE              BREHM                 OK         90014799007
13792A26247956   APRIL            WILLIAMS              AR         90013930262
1379326564B537   BENNIE           SHAW                  OK         90006532656
13793A5A15B154   GLORIA           CHUN                  AR         23031220501
13793AA3255976   CHERRIE          SWILLIS               CA         90009860032
13794748A55976   DANIEL           LOOSIER               CA         90007857480
1379518368B194   JAMES            ALEXANDER             UT         31024801836
1379544524B555   KEVIN            MOBLEY                OK         90014794452
137954A758B644   THOMAS           GARCIA                TX         90015364075
1379619355B154   TIMOTHY          SUMMONS               AR         90002041935
137963A9351337   MARY             GREER                 OH         66015983093
1379689AA91569   CLAUDIA          PORRAS                TX         90014458900
1379753A161938   GILBERT          FRANQUEZ              CA         90014915301
13797A35491569   MARIA            ROCHA                 TX         90006590354
1379857235B154   STEPHANIE        FRANKLIN              AR         90012655723
13799A22651337   FELICIA          BROWN                 OH         66007540226
1379B564547956   MONIQUE          REPKING               AR         90012465645
1379B59A75B154   SCHALONDA        GILKEY                AR         23091975907
1379B65795B285   BRANDON          PAYNE                 KY         90005726579
1379B982585999   TONY             CRESS                 KY         66043479825
137B1466655948   SAMANTHA         PINEDA                CA         90011634666
137B157117B489   PAUL             COOPER                NC         11004985711
137B161365B326   RACHEL           BAKER                 OR         90007536136
137B2184261938   ELIZABETH        GUZMAN                CA         90001321842
137B221917B489   SHAWN            MC MILLER             NC         90008622191
137B235315715B   SHAWN            BRANDANI              VA         90011363531
137B24A387B489   WILLETTE         JAMES                 NC         90010234038
137B271434B588   PRESTON          JONES                 OK         90012317143
137B298AA76B68   EDU              BENITO                CA         46065109800
137B2A2725715B   SHAWN            BRANDANI              VA         90014880272
137B3511255976   MICHELLE         LOWE                  CA         90013005112
137B3572872B62   JOSE             BLAS                  CO         33098065728
137B391815B154   TAMMY            SMALL                 AR         23091559181
137B41A574B555   STEVE            ELLIS                 OK         90014791057
137B422264B26B   WESLEY           ENDERLEIN             NE         90014832226
137B4347261958   JENNIFER         BAZZO                 CA         90004683472
137B434A357147   MAJOR            SINGHBHOGAL           VA         90014143403
137B4469655976   JACQUELENE       MANDUJANO             CA         90014444696
137B5547662334   MARIA            COVARRUBIAS           KY         90014395476
137B5575891895   NATALIE          GLASS                 OK         21020845758
137B5575891899   NATALIE          GLASS                 OK         21020845758
137B614A161976   DAVID            DARRAH                CA         90000681401
137B6392A93767   SHIMIKA          DUERSON               OH         90007733920
137B66AA171932   SARA             BECK                  CO         90008476001
137B6978157147   YESSY            MEJIA                 VA         90000489781
137B7398757147   TEDDY            ROCHA                 VA         81027343987
137B7426A55948   HIDANIA          VALDERAMA             CA         90012154260
137B74A8591263   ROSA             GARCIA                GA         90013494085
137B7A6455B154   TRISHA           BLAIR                 AR         90014290645
137B811334B555   WENDY            MARLAR                OK         90014791133
137B817124B588   KORTANY          MILES                 OK         90015201712
137B8493A4B267   FELICA           HAWKINS               NE         27009234930
137B896827B489   LUTORIA          LEGETT                NC         90013729682
137B9221561958   RAFAEL           BLANCO                CA         46011842215
137B9254272497   SHERRY           BLOCK                 PA         90011592542
137B97A1391895   DENISE           MORELL                OK         90004267013
137BB48987B489   NANETTE          GARCIA                NC         11085884898
137BB55255B526   STEVAN           ARANDA                NM         90005105525
137BB5A3455948   KAYDEE           CASTANOS              CA         90013085034
137BB855147956   KATHIE           JONES                 AR         24064758551
13811492A4B588   TRACY            WHITTHORNE            OK         90010224920
138127A224B588   KEILA            HENDERSON             OK         90012937022
138128A6661985   MANUEL           BERRIOS               CA         90001898066
1381322545715B   JOSE L           RIVERA                VA         90012832254
1381348A751337   JANINIE          HILL                  OH         90002894807
138144A354B588   KEVIN            RODRIGUEZ GARCIA      OK         90011234035
1381553667B424   DEBORAH          THOMPSON              NC         90005295366
1381857944B555   CALZADA          HERRERA               OK         21554555794
1381971AA5715B   PEDRO            PORTILLO              VA         81063777100
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1381B216272B62   LEONOR           FUENTES               CO         90013782162
1381B9A164B588   DARIEL           ASHLEY                OK         90014829016
13821A91624B75   TELMA            BARRIOS               DC         81090930916
1382344A972B62   MICHELLE         MATHEWS               CO         90014034409
1382389385B526   PAULA            BOGACZ                NM         35063238938
13823931172B2B   JAMI             SABELL                CO         33053149311
13823964172B62   MICHELLE         MATHEWS               CO         33026719641
138245AAA57147   TONEY            TOMONEY               VA         90013705000
1382525255715B   TAMSYN           O'FLYNN               VA         90011022525
13825A56872B62   GUADALUPE        BARRON                CO         33002280568
138272A915715B   CARLOS           ESCALANTE             VA         90005082091
1382748777B489   PAULA            HOWIE                 NC         90008534877
1382792654B565   TAMARA           JOHNSON               OK         90011179265
13827A9276B933   LORENZO          BISHOP                NJ         90015030927
1382856A34B588   EMERSON          CIFUENTES             OK         90010615603
1382858734B555   KYSHA            WILLIAMS              OK         90010335873
1382867384B588   JACOB            HARRELL               OK         90014876738
1382927992B239   ERIC             SMITH                 DC         90003572799
1382954835B526   TAMMY            CHAVEZ                NM         35069415483
1382B566861976   MARIA            ALVAREZ               CA         46094315668
1382BA36161958   FABIAN           VILLALOBOS            CA         90006520361
1383141244B588   LAURA            COLEMAN               OK         90015094124
1383265A555976   MARIBI           NUNEZ                 CA         90011226505
1383311175715B   RAPHAEL          CARTER                VA         81003521117
1383382A491526   JESSE            FLORES                TX         75074688204
13834AA8455976   RICK             OROZCO                CA         90008760084
13835A65961958   ITALO            POTTER                CA         90014890659
1383751397192B   DOLLY            ZENGERLE              CO         32039065139
13837654A7B489   JOHN             FREEMAN               NC         11074296540
13838AA862B922   CINDY            GARRIS                CA         90013510086
1383987565B154   ASHLEY           CARRANCO              AR         90013618756
13839AA985715B   SCOTT            SHIFLETT              VA         81030340098
1383B465372B62   DAVID JOHN       BURTON                CO         90005414653
1384113A391263   ESAYSHA          GOLDEN                GA         90014531303
1384123655B526   JOSHUA           HANKE                 NM         90002652365
138412A8424B7B   JOSE             SANCHEZ               VA         90011462084
1384168736192B   ARMANDO          PRIMATIVO MORA        CA         90006286873
13841A77557147   GLENDA           ORDONEZ               VA         81095850775
1384283915B526   FRANCISCO        RUIZ                  NM         35012668391
13843493172B62   JUAN             HERNANDEZ             CO         33056604931
13843842A91895   JORGE            HERNANDEZ             OK         21034008420
13843A29891569   PAUL             GLAZEBROOK            TX         90010630298
138445A935B526   JASON            ZERN                  NM         90014565093
1384462A391569   SILVIA           PEREA                 TX         90014036203
13844919A51337   ROGER            EARLS                 OH         66076239190
13844A2494B588   MARICHUY         VELASCO               OK         90014770249
13844A56255948   MARCOS ANTONIO   VALLADARES            CA         90002450562
1384555555B526   CARLOS           VALLES                NM         90005195555
1384559774B555   CHRIS            WINGATE               OK         90014795977
138469A625B526   ERIC             WATKINS               NM         90014889062
13846A43461976   JESUS            ORTIZ                 CA         46002620434
13846A66731687   LISA             GINTHER               KS         22093930667
13847398A61938   LYLE             ROLLINS               CA         46001573980
1384766245B526   JOSHUA           LOOMIS                NM         90015126624
138476A474B555   MELISSA          MILLER                OK         90014796047
1384816717B489   JUAN             PEREZ                 NC         90007761671
138482A6591895   MIA              ANSART                OK         90015132065
1384853A451337   JOSHUA           STEPHENS              OH         90011915304
13848A1644B555   JEFFERY          MITCHELL              OK         90014810164
1384918A631635   BELINDA          YOUNGKEN              KS         90002751806
1384B45273B396   JACKIE           HERRERA               CO         90004794527
1385299155136B   EDDY             MOTA REYES            OH         90012979915
1385312354B588   JOEY             PENNOKEE              OK         90012931235
1385362A391569   SILVIA           PEREA                 TX         90014036203
1385675555B177   LASHONDA         GILMER                AR         90014157555
1385712144B588   DEBORAH          BAYSINGER             OK         21580081214
1385717664B555   JEREMY           THOMAS                OK         90015081766
138573A5991895   MALIKAH          BOWLDS                OK         90011403059
1385858A331635   ASHLEY           BLACKMON              KS         90009175803
13858627A4B555   HEATHER          DAVENPORT             OK         90014796270
1385882554B588   GARY             OLIVER                OK         21552188255
13858A16961958   RAYMOND          SPRIGGS               CA         90008040169
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13859199233B95   DEAN         BAYUS                     OH         90014171992
1385985155715B   EVER         GARCIA                    VA         90007398515
1385B7A966612B   FERNANDO     VELASQUEZ                 CA         90015447096
13861119772B62   VALENTINA    VALDEZ                    CO         90009811197
13861351A4B26B   AIRLIA       EPP                       NE         26086053510
13861A19531422   MICHAEL      THOMPSON                  MO         27592270195
1386239174B26B   CARLOS       SANCHEZ                   NE         90014093917
13862422772B62   NICHOLAS     HILEMAN                   CO         90015034227
138626A1147956   BUDDIE       DYE                       AR         24006336011
13862A8345715B   PEREZ        ANGEL                     VA         90014040834
1386385485715B   TREVOR       JACKSON                   VA         90004768548
1386427115715B   SKANDER      ERRAI                     VA         90013432711
13864A48A61958   SONIA        HERNANDEZ                 CA         46066370480
1386544755B526   OSVALDO      LOPEZ                     NM         90013074475
138654AA261958   ROBERT E     LYNN                      CA         90012464002
13866151A51337   JACK         CONSTABLE                 OH         90012261510
13866349A57147   ERIC         YETTER                    VA         90006113490
1386742A172B62   MARYURIS     UYAPA                     CO         90013674201
1386764124B555   JESUS OMAR   SANCHEZ                   OK         90014796412
13869117A47956   MELISSA      LADEROS                   AR         90014681170
138694A3A61976   LETICIA      GAMBOA                    CA         90013364030
1386959944B588   WENDY        BRYAN                     OK         90012405994
13869711A57147   SAUL         HERNANDEZ                 VA         81039297110
1386B325791263   BRITTANY     SMITH                     GA         90013003257
1386B6A745B154   JASMINE      RENTERIA                  AR         90015606074
1386B8A9724B7B   AUDRY        HERNANDEZ                 VA         81055008097
1386B987851337   KIMBERLY     HUTCHESON                 OH         66081219878
13871A64A55948   LEOBARDO     SANTOS                    CA         90012040640
13872427172B62   ROGELIO      GONZALEZ                  CO         90010424271
1387243A55B154   LISA         STOTT                     AR         90013474305
13872564A76B68   ROSA         GALLARDO                  CA         90001665640
1387264724B555   OSCAR        LINO                      OK         90014796472
1387331397B489   JULIAN       ORTIZ ALVARADO            NC         90004273139
138733A985B526   DENNIS       ELLIOTT                   NM         90012463098
13873A38171923   LILA         TORRES-MERAZ              CO         90007610381
1387465364B555   DANIELLE     WILLIAMS                  OK         90014796536
1387518AA5715B   SYLVESTER    JONES                     VA         90010031800
1387684365B526   RACHEL       LOBATO                    NM         90013788436
1387764A272B62   MICHAEL      MADDOX                    CO         33010116402
1387814994B588   TAI          JONES                     OK         90015291499
1387865364B555   DANIELLE     WILLIAMS                  OK         90014796536
1387876A94B26B   BRADLY       BURDEN                    NE         26053687609
13878788772B26   JOHN         DEUBEL                    CO         90010917887
13878963572B62   FREDDIE      JOHNSON                   CO         90014919635
1387953455715B   CLEFE        URIONA                    VA         90010925345
13879985A91573   MARISELA     BUSTAMANTE                TX         90011659850
13879A66157147   JOSE         VELIS                     VA         90015310661
1387B412A91569   JORGE        ALVARADO                  TX         75018434120
1387B64744B555   ROBERT       HARRIS                    OK         90009856474
1388133AA91895   FRANKIE      SILVERSMITH               OK         90013883300
1388165844B555   CANDY        BARNETT                   OK         90014796584
1388182A372B62   AARON        MORALES                   CO         90013308203
1388322A15715B   FREDDY       RIVERA                    VA         90012142201
1388352A172B62   APRIL        BALDERSTON                CO         33049205201
13883A78A47956   JULIA        WHITEHEAD                 AR         90014560780
138841A1976B68   ARIANA       MARQUEZ                   CA         46074561019
1388519A75B154   ZAKIYYAH     MUHAMMAD                  AR         23001641907
1388727644B555   JUSTIN       LATHROP                   OK         90014462764
1388747A65B526   VALERIE      COTTON                    NM         90008664706
1388775A75B154   BAMON        HUNTER                    AR         90015067507
1388817274B588   FREDDIE      JONES                     OK         90015201727
1388874A15715B   OSCAR        BENITEZ                   VA         81082387401
1388917A591569   MIGUEL       GOMEZ                     TX         75016531705
1388979914B26B   COMLANVI     KONOU                     NE         90002547991
1388B954691895   DESMOND      CAMPBELL                  OK         90015189546
1388BA21655948   WILMER       ORELLANA                  CA         90014100216
1389293674B582   RONALD D     ROSS                      OK         90003579367
1389356A131687   TERRA        GATES                     KS         22039065601
1389526A87B445   JACOB        ARRIERO                   NC         11096982608
13895A29A4B536   CANDACE      MILES                     OK         90011340290
13895A69391569   MONIQUE      HERNANDEZ                 TX         90013290693
1389671A55715B   HUGO         MARTINEZ                  VA         90004617105
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13897119A61976   MARCUS         BALDWIN                 CA         90006271190
1389733467B423   KENIA          CALDERON                NC         90011273346
1389746644B588   OSEANACEE      LICEA                   OK         90013274664
13897A4695B154   KELVIN         SCROGGINS               AR         90010900469
13898A7695715B   ALVARO         DEL CID                 VA         90011390769
1389B214355948   ROGER &        CHARLINE CALDWELL       CA         49092902143
1389B255772B62   ANGELA         LEWIS                   CO         33095482557
1389B365591895   ANGELA         MCDONALD                OK         90000913655
1389B431361976   RAMON          HERNANDEZ               CA         90012414313
1389B554291899   WILLIAM        HARTSFIELD              OK         90010105542
138B1551691569   ALEXIS         GARNICA                 TX         90014445516
138B172324B26B   MICHELLE       SVOBODA                 NE         90005007232
138B3379131687   JEANNETTE      WHERRELL                KS         22082803791
138B3469431687   JEANNETTE      WHERRELL                KS         90012814694
138B3725155948   DANIEL         PEREZ                   CA         90013087251
138B391A872B62   JUAN           MACIAS                  CO         33000909108
138B4228131687   SHERRI         MYERS                   KS         22090722281
138B486327328B   ADRIANA        REYES                   NJ         90014958632
138B5115155976   AZUCENA        HERNANDEZ               CA         90010761151
138B5494631476   KELLIE         SHEA                    MO         90009154946
138B555252B887   DAVID          SCOTT                   ID         90005825525
138B5A54691263   DEIDRE N       HENRY                   GA         90009570546
138B6197655948   EPI            MALAGON                 CA         90014071976
138B665957B489   CHRISTOPHER    HALL                    NC         90012906595
138B67A3191569   WINTER         MORALES                 TX         90012827031
138B7192751337   KENNETH        STINGLEY                OH         66015171927
138B748A94B555   DAMARCUS       CHILES                  OK         90014794809
138B74A164B588   MARIA          GARCIA                  OK         90010474016
138B8168176B68   ARMANDO        BATISTA                 CA         90012621681
138B83A3891569   SUSAN          FARIAS                  TX         75077013038
138B9464861976   ELISA          LEAL                    CA         90013624648
138B963115B526   JOSE           ARROYO                  NM         35077216311
138B9982947956   EMERALD        MCELWEE                 AR         90007879829
138B9A3888B192   METODIO        VAZQUEZ                 UT         31007210388
138BB46524B555   RAMONA         BARINGER                OK         90014794652
138BB739A7B489   PAULINA        BARR                    NC         90002047390
1391129AA61985   BOBBIE MARIE   HIPPERT                 CA         90009412900
1391166A561958   DAREION        FRANK                   CA         90013416605
13911859772B37   JOSE           EMILIO                  CO         90009318597
13912A4678B192   DIEGO          ORTEGA                  UT         90015040467
13914311972B62   IMELDA         VASQUEZ                 CO         33019803119
1391436994B588   SHAWN          DICKEY                  OK         90012293699
139147A1391895   DELECIA        HINES                   OK         21024447013
1391633635715B   NEYSON         ARANCIVIA               VA         90012133363
13916A8442B264   ALI            MAHMOOD                 VA         90011160844
13917467772B62   MARIA          ORTEGA                  CO         90010994677
1391755214B555   JACQUELINE     LEE                     OK         90002125521
139178A5124B7B   DANDRIA        HILL-BURNO              DC         90009688051
13918793876B68   HEIDI          DORSEY                  CA         90006997938
13919884A91569   NOEMI          GALVAN                  TX         90014528840
13919A1A561938   MARICELA       ALVAREZ                 CA         90012600105
1391B144491263   EVELYN         EWELL                   GA         90013191444
1391B177255948   JUAN           RODRIGUEZ               CA         90014531772
1391B487891895   STANLEY        GORDON                  OK         90006614878
1391B82767B489   SANDRA         WHITNEY                 NC         90006418276
1392137944B26B   NIKOLETTE      KIRKENDOLL              NE         90002673794
1392331985B154   ARMANDO        GOMEZ                   AR         23092193198
13923585472B62   A              GARDNER                 CO         33031645854
1392375A54B588   KATHERINE      MCGOWEN                 OK         90012857505
139245A4451337   JOSHUA         LIGGETT                 OH         90014615044
13924A71247956   EARLENE        BARTH                   AR         24043950712
1392512575715B   JAQUELINE      FUENTES                 VA         90011941257
13925A7A191569   MARIA          GUERRERO                TX         90005960701
13926365A57147   TARA           SMITH                   VA         90007313650
1392665125B526   ANDREA         JENKINS                 NM         90007046512
13927861A4B555   ROBERT         SMITH                   OK         90001358610
139286A564B555   LAKESHA        JENKINS                 OK         90013266056
1392873994B929   AARON          WELLER                  TX         90007087399
13928A9714B26B   MARGUERITE     HARLAN                  NE         90014460971
13929333A4B588   CONCEPCION     TORRES                  OK         90011673330
1392B357A91569   NORMA          GARCIA                  TX         75083113570
1393199A661976   MELISSA        MELERO                  CA         90011629906
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13932772A2B284   MANOJI       SINGH                     DC         90012417720
13932A37861976   ALAN JAMES   WILLIAMS                  CA         90013740378
13933147A31635   PERLA        SALAZAR                   KS         90005821470
1393395A733B7B   CARROL       ATCHISON                  OH         90015469507
13933AA384B555   CURTIS       DANNY                     OK         90014800038
13934615376B68   JERRY        MCKENNAN                  CA         90013346153
13936953A4B555   JAMEA        HOOKS                     OK         90014799530
1393743715715B   SHABINA      KOUSAR                    VA         90011314371
1393831975B526   ODELIA       TULLY                     NM         35080353197
1393835194B588   RONNIE       SCOTT                     OK         21580303519
13938634476B68   JON          OLSEN                     CA         90000606344
13938AAA657147   ANA DELMI    ALVARADO                  VA         90003510006
13939435291B43   JULIAN       HERRERA                   NC         90015184352
1393B539372B62   ALFREDO      BALTIERRA                 CO         90000485393
1393B863391569   ELIZADRO     TELLEZ                    TX         90006558633
1393BA31655976   BAO          VANG                      CA         49006140316
1394341534B588   FREDERICK    CARTER                    OK         90011014153
1394395645B154   ORLANDO      BURKHALTER                AR         90001689564
1394499155136B   EDDY         MOTA REYES                OH         90012979915
13945154A55948   LORENA       LUNA                      CA         90015041540
139451A6A57147   JOSE         CASTILLO                  VA         90012211060
13945AA4131967   RAMIRO       AGUILAR-SALDIVAR          IA         90010410041
139463A4476B68   DAISY        POMILIA                   CA         46075443044
13946A2784B555   CHRIS        BARTON                    OK         90014800278
139474A7357147   VIVIAN       CABRERA LOPEZ             VA         90012054073
13947A2984B555   NANCETTA     BAKER                     OK         90014800298
1394852A457147   KESTON       LOVELL                    VA         90014145204
139492A154B555   KAREN        WEBB                      OK         90014832015
13949A99961958   CASSANDRA    SUA                       CA         90012990999
1394B14765B154   KEIANA       WRIGHT                    AR         90014701476
1394B31798B343   MELISSA      NEWMAN                    SC         90014813179
1394B5A125B384   DENNIS       HESTER                    OR         90013915012
1395139A151337   SIYOMDA      SAMPLES                   OH         66076993901
13951848A72B62   AMBER        HUEY                      CO         90011008480
13951A3A491569   ANITA        RODARTE                   TX         90009480304
13952659A55976   PHILIP       LEANO                     CA         90011846590
13953273572B62   ALEX         MONTANA                   CO         33077772735
1395383547B489   DIANE        COOPER                    NC         11012448354
1395415A551337   CHISTINA     ELAM                      OH         90004231505
13956583972B26   APRIL        SWAGERTY                  CO         33018005839
13956A38791895   RICHARD      CAMPANO                   OK         90012770387
1395737294B555   TERESA       BURGESS                   OK         21592353729
13957911A61958   JOE          BURKE                     CA         46041059110
139589A9491895   CHRIS        MACK                      OK         90012519094
1395B4A1653B32   MAI          NGUYEN                    CA         90013324016
1395B539861976   SARAH        HOSKINS                   CA         90012475398
1395BA33961968   FERNANDO     PEREZ                     CA         90003520339
13961127A57147   ANGY         CARDENAS TINEO            VA         90000361270
1396232487B489   SHETINA      FUNDERBURK                NC         90002193248
13962A9844B555   CRYSTAL      LOPEZ                     OK         90014800984
13962AA335B526   CHRISTIAN    LAZO OCHOA                NM         90005880033
1396336A872B62   FRANCISCO    SILVA                     CO         33006023608
139642A8561958   MARILU       HERRERA                   CA         46052352085
1396644918B192   CHANNING     LARSON                    UT         90010274491
1396845444B588   WYATT        ALLEN                     OK         90014574544
13968A36961958   PEDRO        FERRAN                    CA         90010140369
139698A3172B62   DEONNA       COMBS                     CO         90014158031
139699A9791569   CHRISTIAN    SALAZAR                   TX         90014459097
13969A65793756   LUCAS        CRAWFORD                  OH         90011090657
13969A68691895   BRIA         NERO                      OK         90010390686
1396B398372B62   CYNTHIA      ACEVEDO                   CO         90001813983
1396B45975715B   ELSI         ROMERO                    VA         81020124597
1396B674491569   MILTON       GARCIA                    TX         90015086744
1396B77654B26B   MEGAN        GRASMICK                  NE         90012137765
1397162224B254   KALVIN       PRIMES                    NE         90013436222
1397199A37B489   JUAN         CUNNINGHAM                NC         90014869903
13972A37657147   ARAON        COLON                     VA         90013560376
13972A8218B165   MIGUEL       DIAZ                      UT         90014140821
139736A5191569   NATALIA      SIAS                      TX         90008506051
1397399225B526   GURROLA      CLAUDIO                   NM         35034259922
1397491A761938   COCOA        TURNER                    CA         90005989107
13974A11855976   HEATHER      TRABER                    CA         90000970118
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1397556337B489   CESAR          HERNANDEZ               NC         90009455633
13975A4A972B62   ULISES         LUNA                    CO         33045620409
1397627A691895   STEPHANIE      SMITH                   OK         90011232706
1397656926B837   DAVID          SOUKUP                  WI         90014795692
1397858A861976   AARON          PASILLAS                CA         90013065808
139792AA35B154   MARK           MONK                    AR         90010652003
13979685A61938   SHAWN          ALFARARO                CA         90013096850
1397B181855948   ROSA           PIMENTEL                CA         90014881818
1397B213791263   PAYGO          IVR ACTIVATION          GA         90010692137
1397B226A72B62   ERIK           ABARCA                  CO         90012952260
1397B61194B555   CAROLINA       MONTANO                 OK         90013746119
1397B939957147   JUAN           SANCHEZ                 VA         90008039399
1398139A857147   MARGARITO      PEREYRA PEREZ           VA         90010233908
13981597372B62   DYLAN          ANDREW                  CO         90014815973
139819A362B284   CECIL          MALONE                  DC         90004989036
13982947272B62   ANTHONY        DABNEY                  CO         33074839472
1398415954B588   BRANDI         HURT                    OK         21580601595
13984323A61976   LORENA         MACHADO                 CA         90008693230
1398444424B26B   KRISTINA       SCHOONOVER              NE         26000994442
1398446415B154   SHANTIAYA      BAILEY                  AR         90012014641
1398515824B555   JUAN           RAMIREZ                 OK         90014801582
139854A8491569   ANGEL          RUIZ HERNANDEZ          TX         75016104084
1398552A74B588   KEELA          SHAW                    OK         90011015207
13985743A61938   MAILE          MCGEE                   CA         90013097430
13985A43891263   SHARMANE       DANIELS                 GA         90014410438
13985AA8491895   ISSAC          SIMMONS                 OK         21037540084
1398667974B555   MARENY         RESENDIZ                OK         90012906797
139874A8855948   MARIA          LEYVA                   CA         49009804088
13987558A4B588   ASHLEY         JOHNSON                 OK         90011015580
1398813314B26B   TYLER          HRUZA                   NE         90003261331
1398878135B254   STEVEN         CONARY                  KY         90011657813
1398885435B526   COREY          DEOJAY                  NM         90013788543
13988917872B62   LORETTA        LOVATO                  CO         90000149178
139893A9A91569   JASON          MARTINEZ                TX         90011053090
1398975345B526   NANCY          AGUILAR                 NM         35027197534
1398981724B588   MICHAEL        COX                     OK         21558108172
1398B18575B154   JENNIFER       JOHNSON                 AR         90012371857
1398B28A791895   BRITTANY       HAWTHORNE               OK         90014712807
1398B317A76B68   MARY           NOBLE                   CA         46079313170
1398B684244353   KEVIN          JOHNSON                 MD         90015556842
1399242A172B62   ANA            BECERRIL                CO         33032524201
13996344272B62   FRANK          SCHUELLER               CO         90007153442
139972A774B555   BELVA          BURRIS                  OK         90014802077
1399743564B26B   JASON          FLOYD                   NE         90014714356
1399819265B154   JOANNE         WEAVER                  AR         90012561926
139981A6A57147   MELINA         ALI                     VA         90013731060
1399821A64B555   JEFFREY        GAMBLE                  OK         90014802106
13999273A4B588   LUCERO         FLORES                  OK         90013672730
139996A752B27B   CYNTHIA        GARRETT                 DC         90007586075
1399B117261938   LUZ            JUAREZ                  CA         46088231172
1399B5AA14B26B   ROEINURAHMAN   MANSOOR                 NE         90012235001
1399B935571923   TIM            PAIZ                    CO         90008599355
139B168354B26B   AMANDA         REGAN                   NE         90010196835
139B2361455976   DELANA         CUNNINGHAM              CA         90012113614
139B2573157125   JORGE          CRUZ                    VA         90000465731
139B261A172B62   SEAN           MCENIRY                 CO         90012056101
139B319155B526   SILUSTRE       SANCLIEZ HERNANDEZ      NM         90006211915
139B3A39561958   GREEN          LOTUZ                   CA         90007300395
139B4229131687   LORI           STERNER                 KS         22072942291
139B4359147956   KATHERINE      CHRONISTER              OK         24074543591
139B4531961958   TIMOTHY        JOHNSON                 CA         90011105319
139B4786955976   KATHERINE      CHA                     CA         90008807869
139B47AA491569   JESSE          DIAZ                    TX         90012437004
139B486975B526   JACQUELYN      PITTINGTON              NM         90013868697
139B5163655948   MAGED          MOHAMED                 CA         90014881636
139B526674B588   KEARRA         GREENE                  OK         90011012667
139B5A18955948   MARY           WOODWARD                CA         90014840189
139B5AA1A5B526   LEONARDO       IBARRA                  NM         35060900010
139B6775851337   STEVE          BREUNIG                 OH         90012287758
139B6888391569   FABIAN         GARCIA                  TX         90000788883
139B699A97B489   SWINDELL       PHILLIPS                NC         11035429909
139B713585B526   LUIS           GONZALEZ                NM         90010201358
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139B7643772B62   RACHEL       VALDEZ                    CO         90010196437
139B771735715B   IASHA        KANWAL                    VA         90010277173
139B785374B588   TINA         MARTIN                    OK         21591938537
139B7932155948   JOSH         BANDY                     CA         90008659321
139B962A371929   JONATHAN     ROMERO                    CO         90013436203
139B9643593768   WILLIAM      WHITSEL                   OH         64516256435
139BB65614B555   LORENA       LOPEZ                     OK         21523376561
139BB97A94B588   KAYLA        DOUGLAS                   OK         90007119709
139BBA9294B26B   NESHA        POTTS                     NE         90014840929
13B11212272B62   KATHERINE    WALKER                    CO         33078892122
13B1135954B555   ANEURIN      NETHERLAND                OK         90014733595
13B121A114B555   SIOUX        REDEARTH                  OK         90014771011
13B12526486463   JOES         LARA                      SC         90015405264
13B12577691263   LADERICK     GROOVER                   GA         14590535776
13B12927361958   MAYALI       GILBERT                   CA         90011959273
13B13117557147   GHULAM       MOHAMMAD                  VA         90002951175
13B134A4855948   VERENICE     RENTERIA                  CA         49007474048
13B14446651337   HERNANY      GONZALES                  OH         66065834466
13B14562961938   LUIS         HINOJOSA                  CA         90011175629
13B14661761437   JAMES        JOHNSON                   OH         90014096617
13B14719891569   LOPES        ALEXIS                    TX         90007827198
13B14822951337   NICK         STITZEL                   OH         90014868229
13B16581261976   LUIS         CISNEROS                  CA         90014705812
13B16641297B3B   TAUSHA       AUSMUS                    CO         90013686412
13B16651A55948   FRANCISCO    ARELLANO                  CA         90013316510
13B17345855944   MARIA        VENEGAS                   CA         90007723458
13B1739124B555   LAURA        TORRES                    OK         90014733912
13B1818843B376   WALTER       VASQUEZ                   CO         90004751884
13B1824894B555   ANGELA       ESCARENO                  OK         90008492489
13B19135391569   DIEGO        QUINTANAR                 TX         90014781353
13B1976924B588   VALERIE      RICHARDSON                OK         21537937692
13B1B35654B555   LOUISE       LYONS                     OK         90014733565
13B1B4A247B489   ARTURO       ZAZUELTA                  NC         90013884024
13B1B829255948   IRWIN        RAMIREZ                   CA         90013948292
13B1BA37561958   MARIA        PEREZ                     CA         90008190375
13B2153637B489   MACARIA      DIAZ                      NC         90014425363
13B21A82376B68   MARIA        REED                      CA         46056730823
13B224A294B555   MANDY        PARKS                     OK         90014734029
13B2271525715B   OSMIN        MARCIA                    VA         81061537152
13B23216155948   DIANA        CORTEZ                    CA         90012112161
13B2391425B526   SAMUEL       VASQUEZ                   NM         35005619142
13B24484457147   JOSE         AYALA                     VA         90014874844
13B24AA2555948   SYLVIA       RIVERA                    CA         90012540025
13B25993A91586   BONNIE       ORTIZ                     TX         90010229930
13B25A2A45B154   MISTI        CASEY                     AR         90012490204
13B2685656197B   DAVID        WARD                      CA         46013998565
13B26A31576B68   MOISES       ORTIZ                     CA         90009960315
13B27273A4B588   LAURA        RODRIGUEZ                 OK         90010582730
13B2732864B588   MIKE         ARAMBULA                  OK         90014363286
13B2759A876B68   ALEJANDRO    MALDONADO                 CA         90002235908
13B2782597B489   DERRICK      SNYDER                    NC         11030198259
13B278A865715B   CECIBEL      CONTRERAS                 VA         81061538086
13B2841A572B62   VICTORIA     DELHIERRO                 CO         33028784105
13B28A66776B68   ALBERTO      VASQUEZ                   CA         46056740667
13B29811A31635   KELLI        GICHUREH                  KS         90010168110
13B298A865715B   CECIBEL      CONTRERAS                 VA         81061538086
13B2B416926266   JENNIFER     SCHILLING                 WI         90015384169
13B2B4A294B555   MANDY        PARKS                     OK         90014734029
13B2B575255948   JEANETTE     BALCAZAR                  CA         90014385752
13B31483372B62   BELZAZAR     MADRID                    CO         33006794833
13B31484457147   JOSE         AYALA                     VA         90014874844
13B3228348B194   VERONICA     PINON                     UT         90010482834
13B32385151337   TANEKA       DAWSON                    OH         66002133851
13B3246944B555   JOSPEH       WASHINGTON                OK         90014734694
13B3275A372B62   AIMEE        CHANEY                    CO         90012857503
13B32847355944   RICHAR       JIMENEZ                   CA         90004158473
13B33868547956   ALEJANDRO    ZAVALA                    AR         24025848685
13B33A93576B68   ANGELICA     TRUJILLO                  CA         46094680935
13B34256A4B588   BONNIE       DAVIS                     OK         90010582560
13B345A134B555   FRANCISCA    GRADO                     OK         90014735013
13B34783572B42   JEFFERSON    NALLEY                    CO         90010187835
13B3541827B489   DELIA        PORTILLO                  NC         90002364182
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13B3547574B555   TONIESHA     MCCRARY                   OK         90014734757
13B355A614B298   AMY          SHEPHERD                  NE         90002955061
13B3627977B489   JUAN         CHOJOLAN                  NC         90005072797
13B3636274B555   MARLENA      CHURCH                    OK         90005143627
13B37455A76B52   MARIA        HERRERA                   CA         90006104550
13B37463655948   HOLLY        STANDRIDGE                CA         90007994636
13B37536761938   ABEL         OCAMPO                    CA         90006255367
13B38452561938   SERAPIO      MORENO RUIZ               CA         46022534525
13B3933385715B   FELIX        MOLINA                    VA         81068913338
13B39511A47956   JESSICA      BEAUVAIS                  OK         90012615110
13B39761191569   DORA         DIAZ                      TX         90002567611
13B397A4351337   KAREN        AMISON                    OH         90013207043
13B3B298961938   JESUS        DOMINGUEZ                 CA         90003472989
13B3BA78831426   CARLOS       YOUNG                     MO         90012660788
13B41594357579   MISTY        HARRIS                    NM         90012215943
13B41849655976   VIRGINIA     CASTILLO                  CA         90012648496
13B41967261976   AUREA        RODRIGUEZ                 CA         90011599672
13B41A56271964   TERESA       GALEGGOS                  CO         32057250562
13B43169284332   NICOLE       SIMMONS                   SC         90006271692
13B4388544B588   KENNETH      STROMAN                   OK         21557898854
13B45128161976   ROBERT       CAMPBELL                  CA         90012841281
13B45A81772B62   ASHLEA       FROST                     CO         90015200817
13B46249A4B555   ANTRANIECE   TAKARA                    OK         90012352490
13B4664A561958   DAVID        GREEN                     CA         90013696405
13B47229991895   CHALETTE     MCFARLAND                 OK         90012952299
13B4723345B154   KATRINA      WHITLOCK                  AR         23055792334
13B47615772B62   MELISSA      MESTAS                    CO         90014356157
13B48264155948   RICK         GALVAN                    CA         49050022641
13B48656872B62   ESI          VALDEZ                    CO         33086076568
13B4881214B588   MONICA       JONES                     OK         90013128121
13B4938284B555   CAMRON       CARLOIN                   OK         90014753828
13B49851291569   RICARDO      MONTELONGO                TX         90010018512
13B49866751337   BOBBIE       BOLEN                     OH         66039718667
13B49897384399   CHRISTY      LUYKENAAR                 SC         90010478973
13B49A74531687   RUMIKO       TINDLE                    KS         22044980745
13B4B3A415715B   HAENGJE      JANG                      VA         81018603041
13B4B55434B588   JOSEPH       LEE                       OK         90013585543
13B4B571391263   JOHN         CARRIER                   GA         90012985713
13B4B5A654B555   VERNISA      MITCHELL                  OK         90014735065
13B4BA3633B394   OLYA         ROZENDORF                 CO         90006650363
13B51167661958   WENDY        MUNIZ                     CA         90013871676
13B52313372B62   SARA         ESCOBEDO                  CO         90010673133
13B542A8872B62   DANIELLE     VALDEZ                    CO         90012512088
13B54395155976   ELAJZUAH     WOOLEY                    CA         90003593951
13B54677891263   LATESH       THOMAS                    GA         90010286778
13B54964461976   EDGAR        RODRIGUEZ                 CA         90010459644
13B55936A51337   KRISTINA     BRANDENBURG               OH         90014779360
13B566A7461958   ADAM         TEPP                      CA         90013116074
13B57343947956   STEPHANIE    HEATH                     AR         90011073439
13B57444493783   MALIA        LEWIS                     OH         90007824444
13B58646291263   AISHA        BUTLER                    GA         14584166462
13B586A6461958   WENDY        GONZALEZ                  CA         46058976064
13B58719124B7B   LYNN         MOORE                     DC         90007307191
13B5953965715B   CECILIA      PERRUCCI                  VA         90011585396
13B59A6725B526   PAUL         ARAGON                    NM         90002150672
13B5B17844B26B   COURTNEY     HANCOCK                   NE         90002521784
13B5B687361958   JOEL         SOLORIO                   CA         90011316873
13B6121374B588   KAREN        SURLOUGH                  OK         21576042137
13B61388A57147   OLMAN        ORTIZ                     VA         90012773880
13B6173A631494   CHARLES M    ODORIZZI                  MO         90003117306
13B61891A4B555   TAWAYNA      GASSAWAY                  OK         90014508910
13B6245334B588   FRANK        READY                     OK         21566974533
13B62568155976   BRENDA       SOLIS                     CA         90011455681
13B6261574B555   REGINALD     JOHNSON                   OK         90014736157
13B6362384B555   AMANDA       BLAKE                     OK         90014736238
13B63A74691996   GLORIA       DE LEON                   NC         90010210746
13B6451435715B   JOSE         BRAVO                     VA         81085905143
13B64912A71982   JESSICA      AGUILAR OLIVARES          CO         90007219120
13B6563164B555   CHALIA       WOODY                     OK         90014736316
13B6565345B338   RICHARD      JENKINS                   OR         44536066534
13B66488791895   JAYCEE       EASTEP                    OK         90008784887
13B6648A261958   GUADALUPE    ESCALANTE                 CA         90014994802
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13B66689655948   RAMIRO       CRUZ                      CA         90014176896
13B67195691895   MICHAEL      LANDIS                    OK         90012951956
13B6734555B154   JONATHAN     LEATH                     AR         90010893455
13B67A38672B62   ISABEL       VAYONA                    CO         90010410386
13B68689A91895   INEZ         HERNANDEZ                 OK         90011006890
13B68748161976   MARCOS       COBIAN                    CA         90014667481
13B6899354B565   EDITH        CARNERO                   OK         90012479935
13B69264793763   ADAMS        LEMASTER                  OH         90005592647
13B6929738B336   DURAN        EDUARDO                   SC         90015312973
13B6958464B26B   JOHN         MONTIN                    NE         90012745846
13B69634861976   AIOTEST1     DONOTTOUCH                CA         90015116348
13B69665191895   MERALE       BEARD                     OK         90006046651
13B6B236A61986   DUVALIER     CASTRO                    CA         90008642360
13B6B655A24B7B   LASHAWNA     HILL                      DC         90010536550
13B7124A357147   ROBERTO      ESCOBAR                   VA         90000842403
13B71557A61976   GEORGETTE    MULLEN                    CA         90006725570
13B71A7A24B588   ANTHONY      WAGNER                    OK         90014770702
13B72538A91263   ELLIS        GORDON                    GA         14572925380
13B7266564B555   CARLOS       DUARTE                    OK         90014736656
13B73395155976   ELAJZUAH     WOOLEY                    CA         90003593951
13B73644961938   LOURDES      RAMIREZ                   CA         90014646449
13B741A7561976   TOMASA       LUNA                      CA         46012801075
13B7425625B154   JOHN         MILLER                    AR         90011222562
13B74568231635   SACRAMENTO   RUIZ                      KS         90006435682
13B74A1A261958   CARLOS       SANTANA                   CA         90014710102
13B75622155976   CARLOS       SEGURA                    CA         90014356221
13B75689A91895   INEZ         HERNANDEZ                 OK         90011006890
13B7575917B489   DEWANNA      REYES                     NC         90010527591
13B7717282B225   CONCHITA     VAUGHN                    DC         90000721728
13B77288791895   GUADALUPE    VERGARA                   OK         90006552887
13B77785461938   JONNIE       BENAVENTE                 CA         90012967854
13B77854161958   JULIETA      SOLIS                     CA         46073898541
13B78296564183   REGGIE       SMITH                     IA         90015112965
13B7842725B154   MARCIA       SMITH                     AR         90002014272
13B78677861938   DORETHA      TUBBS                     CA         90009446778
13B78A23751337   CRYSTAL      SMITH                     OH         90010940237
13B78A32691569   TERESA       BETANCOURT                TX         75029560326
13B81817757147   SULEYMA      FLORES                    VA         90001248177
13B8187684B537   KHALEEIAH    MOORE                     OK         90002018768
13B81A64991263   FORTINO      PACHECO                   GA         90013850649
13B8244934B555   LETERRANCE   DESHOUN                   OK         90014744493
13B82858655948   PAO          GARCIA                    CA         90014478586
13B8296A87B489   DESIRAEH     SIMMONS                   NC         90004199608
13B83657A72B62   KIMBERLY     BAILEY                    CO         90009246570
13B83711A91895   SONYA        JONES                     OK         21055277110
13B84167961938   VIKLENA      QUESADA                   CA         90011191679
13B8452534B588   MARQUITTA    HOUSTON                   OK         21552785253
13B84652551337   TAYLOR       CARSON                    OH         90001706525
13B8537A576B68   CARLA J      ESCOBAR                   CA         90007153705
13B8547A754132   NICHOLE      HIBLER                    OR         90011834707
13B85523255948   JAMES        BURCH                     CA         90010195232
13B85646131635   JAMIE        MCCALLA                   KS         90005516461
13B85A96291263   DEE          RODRIGUEZ                 GA         90010350962
13B86228355948   BEZAEL       RAMOS                     CA         90012972283
13B86646131635   JAMIE        MCCALLA                   KS         90005516461
13B8672925B154   AMANDA       STROUD                    AR         90011407292
13B86785461938   JONNIE       BENAVENTE                 CA         90012967854
13B8692815B154   SANDRA       CONLEY                    AR         23065919281
13B87384726266   DENICE       LOIS                      WI         90015443847
13B8757894B555   VICKIE       MURRAY                    OK         90008455789
13B87982255948   JOHN         HAAR                      CA         90008759822
13B88884255976   AMBER        SALINAS                   CA         90001578842
13B8947984B979   STEPHANIE    GRANT                     TX         90001624798
13B8953269377B   ANDRE        ESTER                     OH         90008595326
13B8987AA55976   HILBERTO     CRUZ                      CA         90003698700
13B8B34925715B   CHENITTA     FITCHETT                  VA         90009293492
13B91473872B62   DAVID        GAGLIARDI                 CO         33081864738
13B91594161976   DEBORAH      MARTINEZ                  CA         90011655941
13B9164494B555   BENJAMIN     GORDON                    OK         21566906449
13B92341A5715B   HERLYN       MENDEZ                    VA         90014903410
13B9259645B936   ELODIA       LAGUNA                    WA         90014345964
13B9291988B337   NATHANIEL    JONES                     SC         90007579198
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13B932A4261976   MARIA        MENDEZ CASTRO             CA         90000252042
13B932A7772B43   AOCHI        APUNGU                    CO         90014002077
13B94476961938   LINDSAY      FULKERSON                 CA         90010814769
13B944AA64B588   NATALIE      HAMPTON                   OK         90010584006
13B94691A5715B   JUAN         SALGADO                   VA         90012366910
13B9492285B526   ALYSSA       BARNES                    NM         90014639228
13B9529884B588   MORGAN       HUNTER                    OK         21552302988
13B95747891569   RUBINA       MURTAZA                   TX         90014877478
13B96328561958   DULCE        ARRIAGA                   CA         90015223285
13B9636354B555   ROSA         NEVAREZ                   OK         90014743635
13B9687778163B   CATHERINE    WARNER                    MO         29042818777
13B9743A74B26B   SCOTT        KROGH                     NE         26085654307
13B9748895B599   CLAUDIO      CRUZ                      NM         35072534889
13B97732931687   CARLOS       CONDE                     KS         90010267329
13B98514472B62   YISEL        MENDEZ                    CO         33058935144
13B986A5861976   FRANCISCO    RODRIGUEZ                 CA         90010316058
13B98A65191895   SONYA        FIELDS                    OK         21091490651
13B99287161938   LOURDES      CASTILLO                  CA         46091552871
13B9929A25B526   BERTHA       ACOSTA                    NM         35022822902
13B994A424B555   DIEGO        ORTIZ                     OK         90014744042
13B99584961976   RODOLFO      RODRIGUEZ                 CA         90006705849
13B9B55655B39B   KASIN        MBERWA                    OR         90005725565
13B9B781776B68   GUADALUPE    CORONA                    CA         90008827817
13BB1954947956   CORNELIUS    JILES                     AR         90014369549
13BB1A18493754   LAINA        CHRISTY                   OH         90010810184
13BB222354B555   NATALIE      GOUDEAU                   OK         90008392235
13BB2785155948   MARISOL      CORTES                    CA         90013007851
13BB363A791895   ALEXANDER    DAWN                      OK         90011006307
13BB4121291524   MELISSA      GRILLO                    TX         90010001212
13BB4193A91263   SHANEEKIA    RUTH                      GA         90013771930
13BB422354B555   NATALIE      GOUDEAU                   OK         90008392235
13BB426244B26B   JOEY         THOMPSON                  NE         90006242624
13BB485155715B   MARIA        ALEMAN                    VA         90001948515
13BB4A82561979   EDWARD       ZAYZAY                    CA         90007890825
13BB6238172477   TINA         HALFHILL                  PA         51067312381
13BB654422B264   KELVIN       MEJIA                     DC         81016965442
13BB835654B555   LOUISE       LYONS                     OK         90014733565
13BB8413761958   VANESSA      HERNANDEZ                 CA         90014734137
13BB8713351337   AMANDA       STRINGER                  OH         66055337133
13BBB41814B588   RONNIE       KELLEY                    OK         90012204181
13BBB94625B526   DAVID        PADILLA                   NM         90014789462
13BBBA9695715B   JAYLIN       YATES                     DC         90014510969
1411151A833699   VICTORIA     INGRAM                    NC         90010975108
14112832576B68   JAVIER       CAMPOS                    CA         46014968325
141132A5772B27   RACHEL       SOLANO                    CO         90015142057
1411362254B26B   JORDAN       MAY                       NE         90010746225
1411362AA76B68   ANDREA       CORONADO                  CA         46038986200
1411363426192B   MIKE         CABUCO                    CA         46051496342
14113A9997B489   TRENIKIA     MITCHELL                  NC         90011010999
1411479A95B154   MARCUS       ALLEN                     AR         90012497909
1411528A576B68   ANGELICA     LOPEZ                     CA         46091682805
1411531A155976   RAQUEL       PEDROZDA                  CA         90014933101
14116658176B33   ALEXANDER    WILLIAMS                  CA         90005386581
1411727478B837   LAUREN       THOMAS                    HI         90014442747
1411751895715B   CESAR        MONTANO                   VA         81020295189
14117A41272B27   TABITHA      WHITE                     CO         90013090412
14118483A2B926   ERIC         SANCHEZ                   CA         90007514830
1411918AA97B58   TAMARA       FAILLA                    CO         90013311800
1411951895715B   CESAR        MONTANO                   VA         81020295189
1411966214B588   LAKESHIA     JONES                     OK         90013826621
141198A2361938   BRENDA       VASQUEZ                   CA         90014838023
1411B554472B62   JENNIFER     MULLIS                    CO         90002455544
1411B677876B68   MARIA        ADON                      CA         46053816778
1411B91937B489   OSCAR        GALIANO                   NC         11095159193
1412155535715B   DANIEL       FERRUFINO                 VA         90013675553
141228A5572B27   ANDREA       PACHECO                   CO         90010538055
1412351855B154   BUCANAS      SILVA                     AR         90013555185
1412369254B536   RONDA        OZERETNY                  OK         90007576925
14124839676B33   FLOR         GOMEZ                     CA         90013498396
141262A1861958   SARAHI       VELAZQUEZ                 CA         90011112018
14126A2519154B   ABIGAEL      ZUBIATE                   TX         90010370251
14126A71691569   ADRIANA      SANCHEZ                   TX         90004860716
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1412715567B489   ANTONIO      MCMANUS                   NC         90014331556
1412755534B26B   RACHAEL      DECKARD                   NE         90013915553
14127A43472B27   JUAN         PALACIO                   CO         90013090434
141285A4461938   MIGUEL       ARROYA                    CA         90014185044
14128676A5B526   ROSE         GRIEGO                    NM         90013626760
141288A2372B27   LAURA        GONZALEZ                  CO         90002068023
1412B23655715B   ABEBECH      WOLDEMICHAEL              VA         90014852365
1412B62AA4B588   TENNILLE     WILSON                    OK         21505426200
1412BA77A91569   JONATHAN     PACHECO                   TX         90010810770
141315A8476B68   SOPHIA       SHEIKH                    CA         90009625084
14132128676B68   SHARON       FRANK                     CA         90013141286
141329A9676B33   JUAN TECUM   MONZON                    CA         90002959096
14132A6355B154   BERNARD      BRACELY                   AR         23075820635
1413365765B154   SONYA        JONES                     AR         23017966576
1413368617B489   SHIRLEY      WALKER                    NC         11047296861
1413436265715B   EDVIN        DUARTE                    VA         90010143626
141344A9891263   NATHALYN     GREEN                     SC         90012594098
14134543172B62   LALEH        MILLER                    CO         33033765431
1413455584B588   JUDY         HANKS                     OK         21517245558
1413459A461938   SABRINA      BURNETT                   CA         90015105904
14135566476B68   ROBERT       STABENOW                  CA         90013245664
14135A45972B27   JONATHAN     ALCOCER                   CO         90013090459
14136128676B68   SHARON       FRANK                     CA         90013141286
141365A9172B62   SUSAN        SCHURR                    CO         33035935091
14137593976B33   JEANETTE     MEGANDA                   CA         90002885939
14138117676B33   MINA         SANDOVAL                  CA         90015181176
14138728376B68   MANUEL       TORRES                    CA         46011167283
1413B777447956   SERINA       BROCK                     OK         90015587774
1413B9AAA5B59B   PATRICIA     GABALDON                  NM         90012889000
14141176276B68   ELI          GORDON                    CA         90013141762
141411A4772B28   JEREMY       STEWARD                   CO         90013021047
1414196865B526   JEANETTE     TRUJILLO                  NM         90012309686
1414287145B154   JOSE         ARIAS                     AR         90015178714
141446AA372B62   TOD          COHEN                     CO         90010816003
1414491782B262   ANTHONYA     MOON                      DC         90008389178
1414547575B54B   ALMA         BOUCHOT                   NM         35082694757
14145771272B62   YVETTE M     MORFIN                    CO         33076127712
1414624974B26B   TERESSA      SCHLICKER                 NE         90011422497
14146377876B68   JEREMY       CRECELIUS                 CA         90013143778
1414732A961958   JESUS        GARCIA                    CA         46008793209
1414811427B489   BRANAY       GRAY                      NC         90011011142
1414864514B298   JEFFREY      PERRY                     NE         90008996451
14148793172B62   KRISTOPHER   WELSH                     CO         90010277931
14148A6757B489   MARQUISE     BROWN                     NC         90013670675
14149474676B33   BLANCA       AVILA                     CA         90012754746
1414992A576B68   MARIA        OCHOA                     CA         90009799205
141499A1672B27   ROEMELLO     LILGEROS                  CO         90014459016
1414B385391895   MATHEW       STEWART                   OK         90014613853
14151384872B62   DAYNA        MAESTAS                   CO         90001843848
1415154312B857   SYLVIA       SIBERT                    ID         90002225431
1415347A65B53B   ELSA         GARCIA                    NM         35017384706
14153733672B29   EVELYN       GALINDO                   CO         90009867336
14154239A47956   SHERICA      SCOTT                     AR         24019832390
1415553462B27B   PAUL         PETTY                     DC         90009695346
141556A964B588   CHELSEA      SPAIN                     OK         90008966096
1415716197B489   JULIE        DAVIS                     NC         90011011619
141574A7161938   LUIGGI       COTA                      CA         90014164071
1415879A176B68   ZINTA        ALFARO                    CA         90014187901
1415B6A6A9154B   GERMAN       CISNEROS                  TX         90014156060
1416114655B526   MICHELLE     ALATRISTE                 NM         35055871465
14161329676B33   JOSHUA       HENDERSON                 CA         46096273296
141618A4476B68   AZRAEL       VILLA                     CA         90014188044
1416253235715B   CHRIS        CARTER                    VA         90003895323
1416271215B154   ROOSEVELT    PETTUS                    AR         23061907121
14162827A91263   DANIEL       MCDONALD                  GA         14574578270
14163199372B62   GABINO       VILLA                     CO         90012121993
1416341A493756   TROY         GIDDENS                   OH         90013874104
14163A79A76B68   CATALINO     HERNANDEZ                 CA         90004690790
1416534835715B   TYRON        CLARK                     VA         90004043483
141665A555715B   ANGEL        BRAMON                    VA         90001855055
1416673944B588   LUZ          DIAZ                      OK         90012577394
14166A17851337   MARGARITO    RIVAS                     OH         66030770178
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14166A1A44B26B   LINDSEY      LENHOFF                   NE         26082170104
1416735885B399   JOSEPH       COX                       OR         90001773588
14167A5585B59B   JENNIE       COTTON                    NM         90007330558
14168274372B62   SOPHIA       BALLEJOS                  CO         90003022743
1416844495715B   MOHAMED      SILLAH                    VA         90015044449
1416862A561958   IRAZU        ESTRADA                   CA         46063006205
1416899A54B26B   NICCO        HIGHTOWER                 NE         26028729905
14169761772B27   REBECCA      MEDINA                    CO         33049657617
1416996A35715B   MATTHEW      WEDGE                     VA         90013939603
1416B1A3361938   DEBRA        HILL                      CA         90013351033
1416B36AA4B588   WENDY        STURDIVANT                OK         90012103600
1416B717676B68   BRANDON      MARSH                     CA         90014967176
1416B87567B489   NICE         WO                        NC         90009858756
1416B88A172B27   ADRIAN       ARELLANO                  CO         33090128801
1417119265715B   LUIS         MILINA                    VA         90013071926
14171227472B62   NICK         LAW                       CO         90014782274
1417155A75B59B   ISAIAS       BOBADILLA                 NM         90015175507
14172546A4B588   JONATHON     JOHNSON                   OK         90010465460
14172841A57147   JOSE         ARCHILA ROJAS             VA         90014138410
141738A8A61938   LOURDES      MENDOZA                   CA         90013458080
14176A63472B27   AZUCENA      VEGA                      CO         90013090634
1417721375B385   RICHARD      SAVAGE                    OR         90002662137
1417776735715B   MARISOL      HERNANDEZ                 VA         81090177673
14178A34A55973   LETICIA      MARTINEZ                  CA         90007540340
1417921535B59B   KRISTAL      CHAVEZ                    NM         36037082153
14179266A51337   SUSAN        TESORIERO                 OH         90012612660
1417932282B236   AIESHA       NICKENS                   DC         90006703228
1417B326557147   JULIO        ORELLANA                  VA         81043883265
1417B45165B526   CECILIA      RAMIREZ                   NM         90007484516
1417B46715B59B   ANGEL        MEDINA                    NM         90005194671
14181167A4B588   ALEXANDRIA   WOODMANSEE                OK         21510661670
14183127A5B59B   JUAN         GUZMAN VASQUEZ            NM         90001001270
1418335885B399   JOSEPH       COX                       OR         90001773588
1418355735B154   RICARDO      RAMAIREZ                  AR         23089245573
1418367784B26B   BEVERLY      FLYNN                     NE         26093136778
14183A29147956   SHARON       GARRETT                   AR         24070240291
1418415A291549   JESSE        ROBLES                    TX         75037371502
14184447124B55   DELONTA      WASHINGTON                DC         90003814471
1418475265B154   JUANITA      SINCLAIR                  AR         90014627526
14185187724B7B   LUIS         REYES                     VA         90013861877
1418534375B526   OMAR         RODRIGUEZ                 NM         90014823437
1418581A272B62   HINSON       MAIDA                     CO         33098188102
1418583A75B59B   JENNIFFER    ORTEGA                    NM         90012588307
1418594577B489   GEASHIA      CURETON                   NC         90015249457
1418696687B386   GISEL        AREBALO                   VA         81070739668
14187218572B62   GABRIEL      LOPEZ                     CO         33008952185
14187958572B27   MARGARITA    GALARZA                   CO         33079489585
141879A7A57122   MOISES       BANZER                    VA         90012289070
1418826844B582   MELONY       SINEGAL                   OK         90010312684
14188285672B27   JULI         JARAMILLO                 CO         33027792856
14188362A5B526   CAROLINA     MURILLO-FUSS              KS         35098283620
14188A66291895   MICHAEL      HALL                      OK         90012780662
1418956764B588   KEVIN        HICKS                     OK         90012435676
14189937576B33   JENELLE      WATCHMAN                  CA         46056629375
1418B151876B68   JUSTIN       VANDENBROER               CA         90007841518
1418B244347956   JOSHUA       STEPHENS                  AR         90009382443
1418B632431687   DONNA        BRUCE                     KS         22034636324
1418B82925715B   GONZALO      PADILLA                   VA         90011488292
1418B9AA357147   DILWAR       HUSSAIN                   VA         90004609003
1418BA63672B27   YANET        MATA RIVERA               CO         90013090636
14191281572B95   JAEDIUM      DUBOIS                    CO         90004062815
1419183524B26B   JOEL         BUSH                      NE         90014898352
141919AAA5B59B   PATRICIA     GABALDON                  NM         90012889000
1419238487B489   SUSAN        ZIMMERNMANN               NC         90011373848
141926A7872B62   ZACHARIAH    HESSER                    CO         90006166078
14192847776B68   JASON        VERGARA                   CA         90014748477
14192981A5B135   MATTHEW      SUMMERVILLE               AR         23084829810
141938A5261938   SAUL         CHAVEZ                    CA         46068008052
1419416157B489   DAVE         KRUSE                     NC         90014331615
14194428676B68   CYNTHIA      GUZMAN                    CA         90012274286
1419444664B26B   SEAN         LUND                      NE         90012674466
1419567384B26B   RICHARD      BARTLETT                  NE         90014636738
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1419573714B588   KENNETH           BRESE                OK         21514557371
1419656A572B27   MARISELA          CASTILLO             CO         33089285605
1419672475B59B   CARLOS            COY                  NM         90012627247
1419765864B26B   JOSE              GONZALEZ             NE         90006816586
14199A75172B27   ROSELEE           VIALPANDO            CO         90013090751
1419B13A572B37   STACIE            LAUE                 CO         90014361305
1419B1A1761938   SONIA             AHUMADA              CA         90007371017
1419B56885715B   DORIS             RIVERA               VA         90013675688
141B1536861958   NORMA             TOVAR                CA         90005845368
141B1AA3261938   ARIES             MENDEZ               CA         90003900032
141B268644B26B   DANELLE           PIKE                 NE         90000656864
141B2861672B27   JESSICA           TAYLOR               CO         33065588616
141B316974B588   JAZMINE           GOINES               OK         90011131697
141B3414591263   PAUL              LEWIS                GA         90008374145
141B3873A76B33   GUILLERMO         MADRID               CA         90001628730
141B4348131676   CHRISTIE          LECHNER              KS         22046743481
141B47AA84B26B   BRANDEN           HARRELL              NE         90007697008
141B4999361938   MAYRA             CARRILLO             CA         46086079993
141B4A8A571982   TIFFANY A         GARCIA               CO         90014410805
141B5117476B68   JHONATAN          CRISOSTMO            CA         90010961174
141B54A7691263   WANDA             MAYO                 GA         90013214076
141B57A2A55976   DONNA             DOMINGUEZ            CA         90010217020
141B5952247956   CHARLES           HERNANDEZ            AR         90013239522
141B5A8A571982   TIFFANY A         GARCIA               CO         90014410805
141B612415B59B   LILIA             LOZOYA-CARMONA       NM         36005851241
141B623A555976   AIOTEST1          DONOTTOUCH           CA         90015122305
141B625325B526   ROBERTAANN        ARCHULETA            NM         35090442532
141B654422B264   KELVIN            MEJIA                DC         81016965442
141B6A99291895   DANIEL            WAYNE                OK         90011820992
141B7176891899   JESUS             HERNANDEZ            OK         90013501768
141B7466476B68   JOSE              CALVILLO             CA         90013134664
141B74A7261938   MOISES LEONARDO   GARCIA PEREYRA       CA         90014164072
141B7526433699   CORTNEY           CANTY                NC         12034985264
141B768817B436   DAVID             MONTENEGRO           NC         90012486881
141B783885B526   CHANAE            QUINTANA             NM         35099628388
141B855145B59B   LYNETTE           LUJAN                NM         90012825514
141B8724857147   FORTINO           GONZALEZ             VA         90011847248
141B9897376B68   ANTONIO           ARANGO               CA         46079728973
141B9A5A85715B   THELMA            GALLEGOS             VA         81018640508
141BB14225B168   LINDA             LEAVY                AR         23087021422
141BBA8345715B   RALPH             MILLER               VA         90013280834
14211A42861938   KELLY             BURKETT              CA         90008480428
14211A5873B233   JORDAN            KOVACS               DE         90015500587
14212A4715715B   EUGENIO           CRUZ                 VA         90013940471
14212A9215B154   JOHNATHAN         ANDERSON             AR         90010790921
142135A987B494   CRYSTAL           LOVE                 NC         90002235098
14214847572B27   ABERTO            LOPEZ                CO         33013928475
14216A85A5B254   GREG              HARLOW               KY         90008600850
1421724395B154   MARIE             PRESTON              AR         90014742439
142172A8772B62   SERGIO EMMANUEL   AHUAMDA MURO         CO         90012202087
142172AA557133   ROXANA            RIVAS                VA         81087212005
1421936745B526   MARISOL           QUEZADA              NM         35051173674
1421961484B588   JOHN              BINGHAM              OK         21509606148
1421B157A72B27   JOSE              POBLANO              CO         90011501570
1421B325857147   MARCO ANTONIO     SERPA ILLESCA        VA         90008683258
1422234874B26B   LORENE            RAY                  NE         90007453487
1422293A176B68   ALONSO            AVILA                CA         90013249301
1422317565B154   LISA              GIVENS               AR         23032221756
1422317754B588   MARIA             HERNANDEZ            OK         90008701775
14223566676B33   EVA               RODRIGUEZ            CA         90014895666
1422376565715B   DONALD            PRAKOP               VA         90011677656
1422423965B526   TAYLOR            WAITES               NM         35065202396
14224A78661938   JESUS             ORTIGOZA             CA         90011910786
14225733A5715B   CDAYA             JOHNSON              VA         90011837330
142257A174B26B   THOMAS            SHINAUT              NE         90014887017
14225851776B33   MARCO             LITA                 CA         90013888517
14225946A5B59B   REYNA             RAMIREZ              NM         90012899460
1422722665715B   ROSEMUND          DOTOO                VA         90013992266
14227226776B68   JOSE              LOZANO               CA         90002732267
1422741174B588   GUADALUPE         SARMIENTO            OK         90013534117
1422767123B33B   RUBEN             ROMERO               CO         90001636712
14228458A91569   ANIRA             GARCIA               TX         90014774580
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1422988275715B   LIZBETH       RAMIREZ                  VA         81082598827
1422B642961958   ANTONIO       CARRILLO                 CA         46065676429
1422B768661938   AMY           TODD                     CA         90000947686
1422B86A976B68   FABIOLA       DOUG                     CA         90014188609
14231286676B68   MIGUEL        ANGEL GOMEZ              CA         46077802866
1423151675715B   CARLOS        ESCOBAR                  VA         81064385167
142319A1372B27   DEIJA         VU                       CO         90014519013
142319AA75598B   NAYELI        BERNAL                   CA         90012779007
1423244945B154   TIM           JONES                    AR         90011094494
142326A9A5B526   CHANTAL       HOLGUIN SANCHEZ          NM         90014336090
142329A8791899   DIANA         SANTIBANES               OK         21079599087
14233863A76B68   MANUEL        REYES                    CA         90014188630
142343A6491569   OZZY          JUAREZ                   TX         90000923064
14235131472B27   PATRICIA      COLEMAN                  CO         90013221314
1423554985715B   OSWALDO       RAMIREZ                  VA         90007745498
1423561335B526   TANYA         ASTORGA                  NM         35005136133
142358A8591899   DAVID         SANDOVAL                 OK         90008058085
14237A92347956   KYLE          CROSSNO                  AR         90012790923
14238923276B33   JOSEPH        HARR                     CA         90013059232
14238977172B62   JUSTIN        TIEMANN                  CO         90013029771
14239397576B33   DINA          ELKOUSSY                 CA         90012513975
1423B46615B526   RICK          MARIN                    NM         35054224661
1423B48735B59B   LUCAS         MARANGO                  NM         90013024873
1423B573A61938   NATALIE       BARNETT                  CA         90009815730
1423BA4975715B   MARVIN        BETANCO                  VA         90012430497
1424125A24B588   MIGUEL        ANGEL                    OK         90010832502
1424127155715B   AVELINO       MALAQUIAS                VA         81063232715
1424128A947956   CHARYL        WISE                     AR         24078362809
1424183764B26B   BRETT         ALEXANDER                NE         90013518376
14241998672B27   LUIS          BUSTILLOS                CO         90013559986
1424243255B526   RAFAEL        SERRA                    NM         35008404325
1424328547B489   BRANDON       AUSTIN                   NC         90005222854
14244479272B27   THOMAS        BUTTARFIELD              CO         90008074792
1424467957B488   FRANCISCO     VASQUEZ                  NC         90006146795
142452AA831687   VICKI         TRAVIS                   KS         90011032008
14245621876B68   MARBELLA      SANCHEZ                  CA         90010996218
142468A7591569   LAURA ISELA   NEVAREZ                  TX         90013938075
14247463372B62   GLORIA        RAMIREZ                  CO         33055674633
1424758A74B26B   KAYLA         ANDRETTI                 NE         90010295807
142475A1591569   JOSE          TAMAYO                   TX         75040665015
14247837976B33   OSIRIS        GUZMAN                   CA         90014888379
142485A445B526   DONALD        ALLEN                    NM         90011305044
1424869A147956   ALAN          HENDRICKS                AR         90013756901
14248A83833699   JANEA         DOUGLAS                  NC         12005230838
14249191876B68   PASCUAL       LOPEZ                    CA         90013351918
1424B634476B33   ELIZABETH     ORTIZ                    CA         90013246344
1424B673991899   ROBERT        BROTHERS                 OK         90013496739
1424BA7864B26B   LANA          SPICER                   NE         26015960786
1425143624B588   RACHEAL       HULSTINE                 OK         21527784362
14252881176B33   ARTURO        MORALES                  CA         46070978811
14253542A91569   KRISTEN       HANFORD                  TX         90007865420
14254866876B68   OSCAR         SALAZAR                  CA         90014188668
1425525855715B   OLIVER        CARDENAS                 VA         90013992585
1425527AA91263   VAUGHN        SMITH                    GA         90011312700
14255898797B63   SARA          BRYANT                   CO         90011008987
14255A4254B588   ELECTA        ROBBINS                  OK         90015010425
14256711276B33   MERCEDES      FORTUNE                  CA         90014567112
14256A2115B264   CHUCK         LARENCE                  KY         68003130211
14257567576B68   AUDRY         EMON                     CA         46084025675
14257A25225386   CHRISTOPHER   JONES                    WA         90014360252
14258892A71967   IRENE         ARMIJO                   CO         38092408920
14258A48391895   CATHEY        WYANY                    OK         21028080483
14259566672B27   HAILEY        ABEL                     CO         90002095666
14259869A76B68   MARIA         SALAZAR                  CA         90014188690
1425B158291263   CHRIS         MCDANIELS                GA         90014701582
1425B4AA55B154   RAYMUNDO      CORTEZ                   AR         23002444005
1425BA49672B92   RENEE         RUYBAL                   CO         90008710496
1426111545B526   BOWMAN        CYRSTAL                  NM         90000111154
1426145A576B68   ELIZABETH     MOLINA                   CA         90014754505
142615A494B588   LINDSEY       RAMOS                    OK         90009975049
14261831297B48   TAMARA        SEUFER                   CO         90004038312
14263978A55976   JOSE          MENDOZA                  CA         90012839780
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14264167172B62   CYNTHIA            PASLEY              CO         90011041671
1426442735B154   DOROTHY            SPEARMAN            AR         23013994273
1426445A576B68   ELIZABETH          MOLINA              CA         90014754505
142646A3372B27   JESSE              ALVAREZ             CO         33049656033
1426561335B59B   PAOLA              SOLIS               NM         36061956133
14266457A5715B   BOLIVAR            MARROQUIN           VA         90011704570
14267111472B27   LEO                LEFEBRE             CO         90013781114
1426773A451337   JANICE             BROWNING            OH         90013267304
14268545776B33   CAROLINA           MARTINEZ            CA         46000555457
1426981655B154   DONNA              BRIGGS              AR         23001488165
1426B18444124B   DUSTIN             OFFNER              PA         51087641844
1426B285624B55   FELIPE             GOMEZ               DC         81011602856
1426B36A991569   GARCIA             JAMES               TX         90013173609
1426B39375B154   RAMSEY             PARKER              AR         90014083937
1426B47985B526   BELVA              STAMPS              NM         90007524798
1426B794793783   DANNY              GORDON              OH         90009157947
1426BA86372B27   JADE               TUSCHER             CO         90013090863
1427238285B526   CECILIA            GUTIERREZ           NM         35050803828
14272663876B68   CELESTINO          FLORES              CA         90010996638
1427294195715B   ARMANDO            MAYA                VA         90011969419
14273512272B27   ABDY               MONTOYA             CO         90010435122
1427368415715B   ANDRE DA SILVA     SIQUERA             VA         90009306841
14274274491B26   STEPHANIE          BOND                NC         90014402744
142746AA276B33   JOSE               LUIS BETANCOURT     CA         46095146002
1427492874B588   KAYLA              MURPHY              OK         90010929287
14276188576B33   JOSE               MATA                CA         90010021885
14276622672B62   TINA               MELANCON            CO         90013306226
1427697A64B26B   RICHARD            CRUSINBERRY         NE         26048069706
1427714595B526   TYSON              PATTERSON           NM         35032171459
14278A2415B154   HECTOR             LOPEZ               AR         90013070241
14278A24A91263   RACHEL             ISLAS               GA         90013550240
1427926495715B   JONATHAN ARMANDO   ORTEGA BONILLA      VA         90014842649
1427BA17555976   JUAN MANUEL        SANTANA ESQUIVEL    CA         90003710175
14281192624B55   KADESHA            SIMMS               DC         90011281926
14281627376B33   FRANCISCO          TORRES              CA         90012616273
14281AA4291899   JIMMIE             MCGLOTHLIN          OK         90009850042
1428288395B526   INEZ               BROWN               NM         90004118839
1428315164B26B   TRUDIE             LEMON               NE         26097771516
14283292172B27   TAESHAUN           ANTHONY             CO         90010192921
1428444995715B   MARVIN             MARROQUIN           VA         90012894499
1428467435B154   JOE                JONES               AR         90013836743
1428519854B588   NADIA              MARINA              OK         90011051985
1428579A555976   TRAVIS             JURY                CA         90012507905
14285973A91993   CAROLYN            JONES               NC         90013939730
14286612672B77   PATRICIA           KRANGLE             CO         90006226126
1428666144B588   GARY               GUZMAN              OK         90010136614
1428733A276B33   CODY               RICHENBACK          CA         90012763302
142877A345715B   EMMANUEL           NEUFVILLE           VA         90012017034
1428B272576B68   LORRAINE           FRIZZLE             CA         90009312725
1429147115B526   DERRICK            TUCKER              NM         90012774711
14291881A91899   ML                 WALLIS              OK         90009118810
14291A3914B26B   HEATHER            HOWE                NE         26000570391
14291A99233647   KATRINA            JONES               NC         90002560992
14292399872B27   SOCORRO            QUIROZ              CO         33059353998
14292918176B68   ALAN               MCGILL              CA         90012539181
1429294842242B   ADRIANA            GALLEGOS            KY         90001879484
14293552972B62   AARON              CORDOVA             CO         90011085529
142938A838B197   KEITH              ROGERS              UT         90002878083
14295A19A76B68   ANGELICA           HERNANDEZ           CA         90011730190
1429636255B526   ABE                GARCIA              NM         90007373625
1429697475B389   RENEE              COX                 OR         44557659747
14296A53476B33   LINA MARISELA      ESPARZA             CA         90013570534
14296A6397B489   VERNINE            HENDERSON           NC         90005690639
14297711176B33   FLAVIANO           NAVARRO             CA         46086817111
1429838A531635   DARRELLA           OCONNOR             KS         22057383805
1429884A641284   TERESA             GARRETT             PA         90001368406
1429896635413B   PAYGO              IVR ACTIVATION      OR         90013219663
14299A58647956   NICOLAS            GARCIA              AR         24003660586
14299AA3533699   LAURA              CHESTNUT            NC         90014600035
1429B348161938   BIEN               CHRIS               CA         90007283481
1429B835591569   ERIKA              ABSTON              TX         90013938355
142B115765B32B   JACQUE             VALENTINE           OR         44593511576
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142B1238191569   RAFAEL          GARZA                  TX         90014932381
142B1646A4B588   MARIA           CHACON                 OK         90013796460
142B183755B526   CHRIS           WEISS                  NM         35093898375
142B185A376B68   CANDICE         MIJARES                CA         90014748503
142B2469172B27   MARVIN          GUTIERREZ              CO         33093774691
142B2772391899   ARACELY         ORTIZ VAZQUEZ          OK         90010907723
142B3343247956   RICARDO         BLAIR                  AR         90010993432
142B3525591899   JESUS           CUEVAS                 OK         90013495255
142B397777B489   SADARIUS        WELDON                 NC         90013229777
142B447615B154   CARLA           BEASLEY                AR         23092354761
142B4528986454   BETTY           MILLER                 SC         90014085289
142B4A19872B27   JOSHUA          TRUJILLO               CO         90008970198
142B527715715B   JOSE            FUNEZ                  VA         81020432771
142B5389276B33   GUADALUPE       HERNANDEZ              CA         90012383892
142B5826376B68   JOSE            MENDEZ                 CA         90014188263
142B589A94B26B   ADRIAN          ANDERSON               NE         90014878909
142B5933691569   LISA            VILLA                  TX         90011359336
142B6441991895   LETITIA         ATKINSON               OK         90014604419
142B6843A76B68   NAYELI          SANCHEZ                CA         90014188430
142B7A99651337   KELLY           COLLINS                OH         90011580996
142B8127A72B27   STEFANIE        ALARID                 CO         90011131270
142B884955B59B   MARIO           THOMAS                 NM         90012048495
142BB134572B27   FLORENTINO      SALINAS                CO         33022971345
14311283276B33   CLAUDIO         AQUINO                 CA         46078632832
14311339A5B154   MELODY          SHAVERS                AR         90015023390
14312346172B27   ORNELAS         MENDOZA                CO         33011673461
1431285615B526   MERISA          ROMERO                 NM         90012348561
1431298A45B154   KRISTIE         WRIGHT                 AR         90013999804
143132AA13B324   JEFFREY         GALLEGOS               CO         33003542001
1431377415715B   CHRISTIAN       ALFONZO                VA         81020717741
1431429995B59B   CELINNA         BORREGO                NM         90010752999
14314756372B27   MIGUEL          GARCIA                 CO         33098497563
1431487738B172   CINDY           HUMPHIES               UT         90012338773
1431537644B26B   JOHN            ARMSTRONG              NE         90013543764
1431677875B154   FLOYD           CORNICE                AR         90014977787
14316A3A791993   OLIVIA          HARGROVE               NC         90002200307
14317152472B27   DENISE          FONECECA               CO         90014131524
14317A53476B33   LINA MARISELA   ESPARZA                CA         90013570534
143191A1972B27   JEREMY          DINKEL                 CO         90013091019
14319328772B3B   ANGELA          CRITTON                CO         33059863287
14319623872B62   RAMONA          MORALES VILLEGAS       CO         90013096238
14319925676B68   AUSTEN          NIEDER                 CA         90004719256
1431B275372B27   ARELY           JAQUEZ                 CO         90013102753
1431B27A655976   CHRISTIAN       AGUILAR                CA         90014612706
1431B799A61958   MARCO ANTONIO   ESCOBEDO               CA         90015127990
1431BA99972B27   JOSE            CISNEROS               CO         90013090999
14321162672B62   LIZ             TORRES                 CO         33096461626
1432315954B588   GLADYS          SANTOS                 OK         90004851595
14323373872B62   JASON           TRAVIS                 CO         90012083738
1432349835715B   JENNIE          SHADDINGER             VA         81085034983
14323A37576B68   OSCAR           SALAZAR                CA         90014960375
14324A6645B154   JAMES           TOMASSINI              AR         90014520664
1432594683B368   VERONICA        FLORES                 CO         33066819468
143264A9855976   OLGA            QUEVEDO                CA         90006124098
14326A92576B68   LYDIA           MENERA                 CA         90012040925
14327577972B27   JOHN            ANTUNA                 CO         33049395779
1432788673B368   OMAR            ESCOBAR                CO         33066738867
1432814A65B154   DEBORAH         LEE                    AR         23026351406
14328497772B27   SONIA           VALDEZ                 CO         90008074977
1432B542571923   KIMBERLY        SCIALLO                CO         90006605425
1432B6A9A5B526   CHANTAL         HOLGUIN SANCHEZ        NM         90014336090
1432BA4164B588   DIANA           OGLE                   OK         21553100416
1433115164B26B   TRUDIE          LEMON                  NE         26097771516
1433199765B526   ABEL            ZAMORA                 NM         35079119976
14332216772B3B   TEDDI           VAUGHAN                CO         90009352167
14332A1525715B   LUCAS           CARRETO                VA         81020730152
1433316587B489   FREDDY          QURIUS                 NC         90013581658
1433331A241255   SELENA          BEASLEY                PA         90008163102
14333A46A91895   KAQUAN          HERREA                 OK         90006920460
143342A7251337   HEATHER         COOK                   OH         66060352072
1433447AA4B588   HERMAN          PEREZ                  OK         90000394700
14335A3315715B   SHAMEQUA        SMITH                  VA         90010930331
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143361A7676B68   EDGAR         LOPEZ                    CA         46064581076
14336299576B68   GLORIA        TOMAS                    CA         90011392995
14337555A5B247   MICHAEL       RUCKER                   KY         90005305550
143379A1991569   LINDA         HERNANDEZ                TX         90014869019
1433894637B489   ANTHONY       PHILLIPS                 NC         90013749463
14338A15161938   YOLANDA       VILLEGAS                 CA         46047570151
1433991A791573   ISMAEL        MARQUEZ                  TX         75072489107
1433B31A15B59B   RICHARD       NARANJO                  NM         90011573101
1433B62817B489   CHICORY       RUFFIN                   NC         11016386281
1434297A27B489   ANTOINE       PRICE                    NC         90013509702
1434298365B154   MAYA          JAMES                    AR         90010799836
14344136A7B489   LORENZO       HERNANDEZ                NC         11066301360
143441A7972B27   LUCILA        RAMIREZ                  CO         90013091079
1434453325715B   THERESA       ALFARO                   VA         81038145332
1434467A172B62   KELL          MOSLEY                   CO         90010306701
143447A5961958   EDMUND        LUMM                     CA         46043477059
1434486414B588   CHARLES       INGRAM                   OK         21576198641
14344A15331454   ALFONSO       GORDON                   MO         90011930153
1434538115715B   HERMELINDA    CARMONA RAMIREZ          VA         90012173811
143463AA231479   LATASHA       ISAAC                    MO         90013573002
1434663255715B   HECTOR        CRUZ                     VA         90002756325
14347167372B27   CHRISTIAN     RODRIGUEZ ROSAS          CO         33071241673
1434757594B588   ESTEBAN       EBILANE                  OK         90013065759
1434831A272B27   EBANY         VALLES                   CO         33096383102
14348398A91569   EVA           CHAVARRIA                TX         90013853980
14348AA2761958   MELISSA       BUCHHOLZ                 CA         90012310027
1434913572B89B   REBECCA       GAMMEL                   ID         90008801357
14349676572B62   CHRISTOPHER   RODRIGUEZ                CO         90013496765
1434B3A1776B68   AMANDA        MARTINEZ                 CA         46010153017
1435149A647956   GERARDO       GONZALEZ                 AR         24002984906
143516A8677522   JESUS         RUIZ                     NV         90007816086
14351A32561958   MISAEL        VALERIANO                CA         90011430325
1435216765B526   FEDERICO      REYES                    NM         90005691676
14352633A51337   NATALIE       ALLEN                    OH         90006426330
1435322195B154   CHARLES       CHERRY                   AR         23012462219
14355895972B27   CARLOS        GUSTAMANTE               CO         90003528959
1435612A161958   SILVIA        CORTEZ                   CA         90015091201
1435661A176B68   VERONICA      RAYO                     CA         90004386101
1435678A776B33   SANTIAGO      JUVENTINO                CA         90010037807
14356A18631687   ANNETTE       RAINS                    KS         22060890186
14357614572B62   KEVIN         LAUGHIN                  CO         90012306145
14358192A76B33   GABRIELA      REYNOSO                  CA         90014761920
1435BA2215715B   MARIA         TORRES CORADO            VA         81020740221
1436274988B147   ANNIE         HARMON                   UT         31075067498
14363A25672477   JOANN         HARRINGTON               PA         51089340256
1436441A876B68   ERIKA         RODRIGUEZ                CA         90011014108
14364AAA961938   GENARO        ESCOBOSA                 CA         90011100009
1436542565715B   RENE          GALINDO ROJAS            VA         81052854256
1436547664B26B   MARK          RAUDABAUGH               NE         90013824766
1436656374B588   RACHAEL       COOPER                   OK         90009635637
1436678A691895   LASAWNA       FISHER                   OK         90005227806
1436755824B588   ANTWAIN       JONES                    OK         90015155582
143682AA261938   SARA          GARDINER                 CA         46013682002
14368597672B27   JUANITA       MALTOS                   CO         33082335976
1436867957B488   FRANCISCO     VASQUEZ                  NC         90006146795
14368817472B62   MARTHA        RAINEY                   CO         33042518174
14368935272B27   DARLENE       CASTRO                   CO         33031189352
14369116772B27   KAYLEE        SANCHEZ                  CO         90013091167
14369319776B33   EDWARD        MCGAUGH                  CA         90002303197
1436B14A376B33   LOUIE         RIVERA                   CA         90014871403
1436B16745715B   DANIEL        GARRETT                  VA         81074941674
1436B58535B526   CHARLES       DODGE                    NM         90006955853
1437155377B489   TRAVIS        OSTER                    NC         11006375537
14372369176B68   GONZALO       BARRERA                  CA         46033793691
1437263354B588   JERRY         POWELL                   OK         90009366335
1437413A791569   CRYSTAL       ESPINOZA                 TX         90012771307
14374364272B62   PAUL          LUCERO                   CO         90013813642
1437512655B154   AUBREY        ROBERTS                  AR         23088151265
14375A39661938   SHARON        CLARK                    CA         90012940396
1437739975715B   FRANCIS       AKOTO                    VA         90003833997
143773AA54B588   IRMA          HERNANDEZ                OK         90009183005
143778A9461958   DAMARIS       MARTINEZ                 CA         90014558094
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14378181A72B62   MEDRANO           RAMON                CO         90012111810
143789A5791899   JUAN              LOPEZ                OK         21069539057
1437B39264B26B   LETIA             BAILEY               NE         90014523926
143817A7161958   JESSE             DRIESSEL             CA         90004007071
1438243974B588   DERKEISHIA        BRIGGS               OK         90014664397
14382451376B33   ANDREA            DURO                 CA         46027604513
143826A9491895   KAYLA             REED                 OK         90014606094
1438273325B526   RAQUEL            CORDOVA              NM         90005127332
14382756A61958   JUAN              ORTIZ                CA         90011487560
14382984A5B154   ALESIA            PERSONS              AR         23079389840
14382993672B62   DANIEL            MEDINA               CO         90012769936
143836A1861938   CARLOS            BUENROSTRO           CA         46058086018
14385853376B33   THOMAS            HARTMAN              CA         90013008533
143877A1151337   SCOTT             DANIELS              OH         66064377011
143883A7676B68   LUIS              CORDERA              CA         90009313076
1438841865B39B   ELIZABETH         GAULT                OR         90014964186
14389417276B33   ELIZABETH         RODRIGUEZ            CA         90011874172
14389AA4272B84   ROBERTA           VIGIL EVANS          CO         33021840042
1438B131872B27   JASON             BRACKENS             CO         90013091318
14391111972B27   JOCELYN           PALMA                CO         90013781119
14391523176B33   ROY               SUNGLETON            CA         90009705231
1439184A172B77   SIDNEY            VOLZ                 CO         33056088401
14391A29857147   ROSA              JIMENEZ              VA         81076070298
1439235385715B   MONICA            ZARATE               VA         90011443538
1439238835B154   PRECIOUS          SMITH                AR         90014863883
143924A2691569   DIANA ALEJANDRA   CASTRO               TX         90009124026
1439317A24B588   TREY              DELIA                OK         90014681702
1439325997B489   ANA               NAVEJU               NC         90011012599
14393276972B27   KATHLEEN          HILL                 CO         90013102769
14393787772B42   MEGHAN ANNE       GAXIOLA              CO         90011387877
14394899172B62   LUIS              QUINTERO             CO         90009068991
14394A12472B27   CHRISTOPHER       RANDAL               CO         90013340124
1439528444B588   JESUS             TEJADA               OK         90012912844
14395652572B62   CANDRA            MONTOYA              CO         90013716525
1439634915136B   JANET             SIMS                 OH         90006753491
1439655575B526   MARIA             CHICA                NM         90011775557
1439765474B26B   YEON-OG           CHOI                 NE         26074246547
14398171897B69   TAMI              WEAVER               CO         90005781718
1439863874B255   RODA              ISSE                 NE         27054496387
14399187272B62   ROBERTO           ANGEL                CO         33084811872
14399645772B27   LUPITA            SIMMONS              CO         33050616457
14399966176B33   LETICIA           AYALA                CA         90010129661
143B127AA91263   CARLOTTA          PICKETT              GA         90014172700
143B142565715B   MILTONG           HERNANDEZ            VA         81014714256
143B151348B169   ROBERT            NEIL                 UT         90005535134
143B151A961938   BEATRIZ           HERNANDEZ            CA         90014185109
143B1678291899   BRIAN             LOONEY               OK         90013506782
143B2431333699   FRANCHESTA        LIVINGSTON           NC         90011024313
143B245545B526   LEO               PATINO               NM         90007404554
143B251348B169   ROBERT            NEIL                 UT         90005535134
143B255A261972   JOSE              CACHU                CA         90002375502
143B259295B59B   PABLO             DERAS-QUIJADO        NM         36083055929
143B2714291569   ELVIA             ROSALES              TX         90009377142
143B273515B154   LATORIA           OINER                AR         90008587351
143B2A45251337   TODD              MANSER               OH         90015280452
143B2A4885B526   JONAH             BELL                 NM         90015140488
143B3211A5715B   WILLIAM           ARIAS                VA         90013682110
143B4548576B33   EGIL              GRONSTAD             CA         90013515485
143B4593A91549   LIDIA             LUNA                 TX         90012155930
143B543587B424   ROSA              LOPEZ                NC         90004684358
143B548947192B   RACHEL MARIE      JOY                  CO         90013334894
143B5593A91549   LIDIA             LUNA                 TX         90012155930
143B5692391895   TIFFANY           SIMPSON              OK         90011826923
143B589192B89B   AMANDA            HERNANDEZ            ID         90013868919
143B617445715B   ZELEKASH          GEBREYESS            VA         90013941744
143B6227191884   PENNY             WALLING              OK         90008512271
143B64A7161938   DALEGRAND         RAYNOLD              CA         90008394071
143B686A85B39B   ELSA              JUAREZ               OR         90010658608
143B7223455976   LINDSEY           ROGERS               CA         90010952234
143B7645391569   XOCHITL           CUEVAS               TX         90013306453
143B769724B26B   EDWARDS           WILKERSON            NE         90001616972
143B7751861958   EVELYN            MORAN                CA         90010937518
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143B7752A57142   TONY         SCHAEFER                  VA         90013607520
143B8386361938   JILBERTO     SANTOS                    CA         90015233863
143B83A4491569   SUSANA       AMATO                     TX         75089633044
143B8886391569   ESTEBAN      NAVARRETE                 TX         90010808863
143B9556831687   RHONDA       WILLIAMS                  KS         22001455568
143B9AA817B489   SHANA        STEVENSON                 NC         90012370081
143BB696357147   VALERIA      ARZANI                    VA         90012386963
143BB782A8B172   KIPP         HOFFMANN                  UT         31063947820
1441117A555976   BRITTANY     BEECHER                   CA         90013061705
14411686972B29   AGUOMARO     GUERRERO                  CO         90012176869
1441345A14B26B   WENDY        BUCKMASTER                NE         26066894501
14413623A91263   MAURICE      WILLIAMS                  GA         90013666230
1441375257B489   VANTESHIA    STICKLAND                 NC         11061497525
1441382585B154   TEQUILA      HEARD                     AR         90014848258
1441395685B59B   LUCIA        ZAMORA                    NM         36080189568
14413A16776B33   BRIAN        SALOMON                   CA         90013690167
144151A7593756   JON          BROWN                     OH         90008211075
1441763285715B   REYNALDO     VALDE                     VA         90009696328
14417A42161958   RAFAEL       ORTIZ                     CA         90013400421
14418314876B33   STEPHEN      CAMPER                    CA         90012023148
14418943A91569   KIMBERLY     CHRISMAN                  TX         90013939430
14419719A91569   JESUS        REYES                     TX         90013057190
14419745972B62   RON          SHORT                     CO         90012907459
1441BA3645B526   MAYRA        OLIVAS                    NM         90008410364
144214A2572B27   DAVID        PIERCE                    CO         33049384025
1442185325715B   ADELMO       HERNANDEZ                 VA         81007548532
14422617676B68   ADRIANA      MOSTI                     CA         90014766176
1442332185B526   NICOLE       GUTIERREZ                 NM         90010683218
144234A8255976   AGUILLA      BAILEY                    CA         90013924082
14423652672B27   SHANE        BARCELONA                 CO         90006356526
1442479214B588   RONALD       YOUNG                     OK         21530697921
14424991A91526   JOEL         ACOSTA                    TX         75094679910
1442669592B225   JANITA       JONES                     DC         81074666959
144267A554B588   GREGORY      PICKLE                    OK         21506627055
14427524376B68   ADAN         CARACHURE                 CA         90001715243
1442825A34B26B   LORENA       MORENO                    NE         90014422503
1442846715B59B   ANGEL        MEDINA                    NM         90005194671
144287A554B588   GREGORY      PICKLE                    OK         21506627055
1442B242161958   SANDRA       DEL CAMPO                 CA         46017862421
1442B492872B62   SILVIA       LOZANO                    CO         33085734928
1442B551976B68   PREONNA      PERKINS                   CA         90011015519
1442B617676B68   ADRIANA      MOSTI                     CA         90014766176
1442B93223B324   WAYNE        GRIFFIN                   CO         90009389322
1442BA7322B232   TERRENCE     WASHINGTON                DC         90007440732
14431882472B27   JOSE         VARELA                    CO         90014958824
144328A2A24B7B   PAYGO        IVR ACTIVATION            DC         90005218020
144334A8876B33   JOSE A       MAHESSE JR                CA         90015044088
1443389285715B   EMIL         NUMES                     VA         90008618928
144369A295B59B   MARTHA       TRUJILLO                  NM         36053239029
1443778765715B   HERBERTH     CLAROS                    VA         90012947876
1443878225B59B   GLADIS       MENDOZA                   NM         36024077822
14438831872B27   TARSHA       GAY                       CO         90013098318
1443918432B884   JIMMY        CHRISTY                   ID         90000791843
1443922577B869   JESUS        BANUELOS                   IL        90007952257
14439368476B68   VERNE        HOLMES                    CA         90005153684
14439A5665B59B   ISAIAH       VIGIL                     NM         36040320566
1443B396755936   FABIOLA      FUENTES                   CA         48017073967
1443BA69691263   ANASIA       WILLIAMS                  GA         90013490696
1443BAA7555976   ROBERT       HONSINGER                 CA         90012900075
1444212595715B   MARIA        LORENA GARCIA             VA         81008161259
14443912A72B62   TRISTAN      SALAS                     CO         90014189120
14444174672B62   CHRISTINE    GONZALES                  CO         33065641746
1444448174B588   RUBEN        ACEVEDO                   OK         90012894817
14444844572B37   KATHLEEN     VANDOM                    CO         90010268445
14444894176B33   JESSE        CRUZ                      CA         90014458941
14444A4A85715B   MARY         TUCKER                    VA         90015170408
1444588457B489   MARCEL       BRIGGS                    NC         90011828845
1444676474B588   TAQIAH       WEBB                      OK         90015097647
1444699982B968   MONSERAT     ALEMAN                    CA         90011499998
14446A4595B154   TIFFANY      BROWN                     AR         23063970459
144471A8151337   DARLENE      CROWELL                   OH         66030251081
14448344472B28   AILEEN       DOMINGO                   CO         90009223444
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1444855115B59B   CORRINE      LUJAN                     NM         90011795511
14448A5195B526   JOEL         ROMO                      NM         35006730519
1444977A176B68   ARACELI      RUVALCABA                 CA         46012577701
1444B183A5715B   LEONARDO     MALDONADO                 VA         90005861830
1444B897291569   KELLY        ACOSTA                    TX         90012978972
1444BA6A576B68   AGGLAE       GONZALEZ-MORA             CA         46016810605
1445122575B154   BARBARA      ROSS                      AR         23048802257
144516A8861938   SERGE        OSORNO                    CA         90014746088
144526A9961938   LENIKA       LEVANT                    CA         90014746099
14452A1748B164   JAKE         MAGERA                    UT         90004510174
14452A85951337   JAMES        ELKIN                     OH         90001970859
1445374625B154   BRITTANIE    MITCHELL                  AR         23020157462
1445398795B385   WILLIAM      HALLETT                   OR         90006859879
14453A7957B489   LARRY        HOOVER                    NC         90003550795
14453AA6372B27   FATIMA       RIOS                      CO         33099100063
14454386A8598B   CHRIS        RANSOM                    KY         90001173860
14455855A47956   KEVIN        ELLIS                     AR         90013518550
1445623155B59B   MARIA        MEXCANO                   NM         36010982315
1445665A691263   FREDDY       MADDEN                    GA         90012196506
1445679A672B62   BRIAN        COOKS                     CO         90013357906
14457136933B95   DAWNSHA      WILLIAMS                  OH         90014201369
14457544476B33   ERIC         MORENO                    CA         90011405444
1445777965B526   JUSTIN       FOUCH                     NM         90014117796
1445813A972B27   ANTOINETTE   DEHERRERA                 CO         33070311309
14458624472B27   CAROLINE     MONTEZ                    CO         90012006244
14459146A7B386   JOSE         LOVO                      VA         90000911460
14459538824B7B   MARIO        CHEN                      DC         90004515388
14459763172B62   WOODY        SEBASTIAN                 CO         33039567631
14459951476B68   NORMA        MEDINA                    CA         46033849514
14459AA745B526   HARRIET      BEGAY                     NM         90009180074
144619A375B393   QIAN         HU                        OR         90001619037
1446221664B576   TIFFANY      PIDILLA                   OK         90010482166
1446226A355976   FLORIBELLA   AMBRIZ                    CA         49065542603
14462698776B68   ESPERANZA    CHAIREZ                   CA         90014786987
14462915172B62   ENRIQUE      ELIZALDEZ                 CO         33086669151
14463657776B33   OSCAR        SANDOVAL                  CA         90014226577
144655A8147956   TEXAS        AUSTIN                    AR         90013805081
144657A855715B   ROSA         MONJES                    VA         90005227085
1446628AA4B582   PERRY        BLACK                     OK         90009592800
1446721265715B   MAINOR       MAZARIEGOS                VA         90014712126
1446796415B526   DEAN         COPE                      NM         90010629641
14467A43633699   JEREMY       HILLIAN                   NC         90008520436
14468843972B27   SONYIA       JOHNSON                   CO         90013098439
14468A1A391263   HIRWIN       ZEAARANDA                 GA         90012610103
14469911A57147   TERI         WEIL                      VA         90000109110
1446B65A684326   JASMINE      MYERS                     SC         90013006506
1446B9A9657147   EDWIN        ARGUETA                   VA         90012169096
1447112887328B   SANTOS       GARCIA                    NJ         90014451288
144713AA972B27   SEAN         GATHERCOLE                CO         33080123009
14472819576B33   ERIKA        DURAN                     CA         46061188195
144754A8776B33   RICARDO      AGUILAR                   CA         90004304087
14477184A55976   MARYSOL      SIORDIA                   CA         49029691840
1447742585715B   DANIEL       PAS                       VA         90013164258
14477596772B62   JOY          REIL                      CO         33036185967
1447762A233699   PAYGO        IVR ACTIVATION            NC         90007346202
1447967A261958   ROBERT       GWOREK                    CA         46030226702
144798A1A4B26B   KAREN        JOHNSON                   NE         90013108010
1447B3A635B526   KAREN        GERVAIS                   NM         90012813063
1447B459861958   PATTI        AUSTIN                    CA         90015144598
1447B554461938   NACY         BANUELOS                  CA         90012205544
1447B766776B33   GRISELDA     RODRIGUEZ                 CA         46019647667
1447B7AA772B27   JOHANNA      FIGUEROA                  CO         33053897007
1447BA27351337   STEPHEN      FRANKLIN                  OH         90010810273
1448178134B588   HECTOR       ORDONEZ                   OK         21578547813
14481A2635B526   ROSARIO      TRUJILLO                  NM         35093000263
1448286A791569   JORGE        MORAN                     TX         90015018607
14482AA3551337   JARED        WILLIAMS                  OH         90005910035
14483442672B62   FRANCISO     MARINELARENA              CO         90012484426
14483895A5B533   ARIANA       BURGER                    NM         90005978950
14484262A5B526   LEE          ELLIOT                    NM         90003492620
1448538275B154   JEFFERY      KYZER                     AR         90013093827
1448713287B489   DONNA        GRAY                      NC         11045961328
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144871A6A4B588   DEANNA        SPYBUCK                  OK         90005321060
1448786115B526   TARA          KIRO                     NM         90010218611
14487A38776B33   SANTIAGA      GOMEZ                    CA         46061320387
14488666272B23   ROBERTO       CASTANEDA                CO         90011536662
1448892165715B   CORNELIO      SANCHEZ                  VA         90001969216
14488974A55976   JESUS         QUINONEZ                 CA         90013199740
14489A8367B489   CARLOS        RUBIO                    NC         90003550836
1448B28A272B62   KAREN         GUADALUPE                CO         33092272802
1449112A161958   SILVIA        CORTEZ                   CA         90015091201
1449124AA4B26B   CHRISTOPHER   YOUNG                    NE         90015132400
1449154885B526   STEPHANIE     GONZALES                 NM         90010275488
14491A79276B33   NACKEY        CHARLENE                 CA         90013000792
1449241A231687   CHARLES       SPILLER                  KS         90006524102
1449319634B588   JOHN          LIPPE                    OK         21573281963
1449364925B526   STEPHANIE     ARAGON                   NM         90013176492
1449529852B236   FELICE        ROBINSON                 DC         81057592985
14496A7A224B7B   YVON          DINGAO-WAIA              DC         90004300702
144982A9557133   KATIRIA       HOLDER                   VA         90007332095
1449837915715B   MARIA         VARGAS                   VA         90013193791
14499884A76B33   ROBERT        COSBY                    CA         90005438840
1449B37A972B62   ELENA         RODRIGUEZ                CO         90012083709
1449BA92876B33   ALMA          COLMENARES               CA         90011360928
144B14A235715B   MARIA         SANCHEZ                  VA         90004534023
144B1763291263   ANTONIO       DIAZ                     GA         90013957632
144B215344B588   JACQUELINE    BALMOI                   OK         90009601534
144B21A6991547   CICLALLI      RAMIREZ                  TX         90008411069
144B252537B477   EBONY         JONES                    NC         90002275253
144B271536192B   RENE          JONES                    CA         90010217153
144B324A591899   STEVE         LUMPKINS                 OK         21080132405
144B331775B154   ASHA          JORDAN                   AR         90014693177
144B36A5151337   CARLOS        RAMIREZ                  OH         90012176051
144B3753947956   PAOLINO       HERNANDEZ                AR         90013567539
144B3781451337   MAURICIO      RODRIGUEZ                OH         90000367814
144B437385B154   K             HOLMAN                   AR         23032123738
144B4592271967   ALBERT        GASPERETTI               CO         38039575922
144B4837661938   KEVIN         VEASLEY                  CA         90010758376
144B4A1A172B27   AMY           PAINTER                  CO         90003590101
144B55A6861958   HAYDEE        MUJICA                   CA         90013425068
144B5631991895   MARLA         BUSH                     OK         90014606319
144B5669272B27   CARL          DIIORIO                  CO         90000216692
144B5698476B33   KYLE          SPRAGUE                  CA         90010996984
144B5835A57147   IVAN          RODRIGUEZ                VA         90010688350
144B6268198B72   JASON         JUSTICE                  NC         11023262681
144B6474572B27   DAYANA        CISNEROS                 CO         33070984745
144B671AA47956   HEATHER       MCCOWAN                  AR         90013227100
144B765A972B62   DONALD        LANG                     CO         90013486509
144B7A75972B27   ERICK         BARRIENTOS               CO         33071150759
144B7A84491895   NKECHI        OHAKWE                   OK         90011830844
144B838267B489   LETICIA       VALAZQUEZ HERNANDEZ      NC         90006133826
144B879435715B   DIAMOND       DAKER                    VA         90011417943
144BB371957147   MARIA EMMA    ERICK GONZALEZ           VA         90012613719
144BB624533699   KINYA         DAVIS                    NC         12009016245
144BB9A1276B68   RAMIRO        BAZAN                    CA         90013359012
144BBA1995715B   JOSE          GOMES                    VA         90005330199
14511358572B62   MICHELLE      DVURAK                   CO         90014753585
1451183245715B   ROLANDO       CONTRERAS                VA         90012628324
1451226955715B   EVIS          SALGADO                  VA         90014142695
1451252135B526   EBONY         OWENS                    NM         90011905213
14512A78951337   SHERRI        RAMSEY                   OH         66086520789
14513324672B27   STEPHANIE     PIERRE                   CO         90003493246
1451363A861985   RICHARD       BECERRA                  CA         90010766308
14515713576B68   CYNTHIA       MARROQUIN SANCHEZ        CA         90014797135
14515855172B27   LILIANA       OLVERA                   CO         90013098551
14515949A72B62   MICHELLE      TAFOYA                   CO         33083769490
145164A9A91895   LAURA         LUEVANO                  OK         90011834090
145166A1461938   ARTURO        VILLEGAS                 CA         46054656014
14516A1112B236   BAKARY        CAMARA                   VA         90003080111
1451747495715B   JOSE          MUNOZ                    VA         90010804749
14517713576B68   CYNTHIA       MARROQUIN SANCHEZ        CA         90014797135
14518532572B27   JOSUE         HERNANDEZ                CO         90002285325
14518713576B68   CYNTHIA       MARROQUIN SANCHEZ        CA         90014797135
14518872272B62   TERRY         WALLERICH                CO         90012628722
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145193A3131687   NATOSHA        JOENS                   KS         90008383031
145193A842163B   MICHAEL        ARTHUR                  OH         90012263084
14519A5455B526   GILBERT        LOPEZ                   NM         90013280545
14519A84851337   TABBATHA       FULTZ                   OH         90015440848
1451B42264B26B   PAMELA         BRADY                   NE         26051714226
145216A3791263   ELAINE         GIVENS                  GA         90001786037
145235A3133699   VICTORRIA      WILLIAMSON              NC         90011125031
1452366725B526   LUIS           MALDONADO               NM         35046036672
1452425A733656   REGINA         LEDEZMA                 NC         90013702507
14524683A61958   ALMA           HERNANDEZ               CA         90011886830
14524A14A91263   MARIANO        JUAREZ                  GA         90013910140
14526217376B33   JAVIER         VILLANUEVA              CA         90012772173
14526498A91895   CARMON         WHITE                   OK         90010224980
14527681772B62   GUADALUPE      LOPEZ                   CO         90011196817
14529484A76B33   LETICIA        VILLARREAL              CA         90006534840
1452977284B26B   SARAH          PATTERSON               NE         26002307728
1452978564B26B   CLORISSA       LEE                     NE         90011277856
1453142717B489   LEAH           CAMERON                 NC         11029124271
1453143A15B154   LINDA          MOORE                   AR         23039464301
1453182455715B   GLADYS         LOPEZ                   VA         81021498245
14532515672B23   DAVID          WYESS                   CO         90009815156
1453276474B588   TAQIAH         WEBB                    OK         90015097647
1453319624B26B   MICHAEL        CALLOWAY                NE         90011311962
1453327465715B   CHRISTOPHER    DAVIS                   VA         90014142746
14533999376B33   DANIEL         RETIZ                   CA         90012949993
14533A61572B27   OLGA           REYES                   CO         90002120615
14534A67972B62   ARLENE         PEREDA                  CO         90012500679
1453568778B194   VERONICA       RAMIREZ                 UT         90008356877
14535779A91569   SUIEY          MEDINA                  TX         75076677790
1453649237B386   SANTOS         PAZ-CARRETO             VA         90001784923
1453677965B526   JUSTIN         FOUCH                   NM         90014117796
14539343976B68   LUIS           HERNADEZ                CA         90014423439
1453B16482B228   MAYRA          LAZO                    DC         90005561648
1453B65885B526   SATIVA         MCKENNY                 NM         35037336588
1453B857472B27   NANCY          PEREZ                   CO         90013098574
1453B9A1491964   EMILY          CLEVELAND               NC         90005719014
1453BA4A561938   CLAUDIA        MEDINA                  CA         90013160405
14541248376B68   CARRIE MARIE   MADSON                  CA         90014912483
1454147255715B   JOSE           CABRERA                 VA         90013944725
14541A1365715B   JEFF           BAINES                  VA         90012450136
14543235572B27   SALLIE         HILL                    CO         90012312355
14543342476B33   MIRANDA        ROY                     CA         46011183424
145437A5A31637   JESSICA        SCHOENHOFER             KS         90014637050
14543A17472B27   FERNANDO       RAMIREZ MORALES         CO         90014420174
14544AA5472B27   ALEXIS         BUTCHER                 CO         90005840054
1454521593B388   ALEX           BAUTISTA                CO         90014332159
1454529265B154   LATASHA        KING                    AR         90011052926
14546126972B62   LARRY          DODSON                  CO         90007781269
145462AA85B154   VICKY          PARKER                  AR         90004492008
1454671869192B   JORGE          PONCE                   NC         90001477186
1454695164B588   LANA           BAKER                   OK         90011529516
14546AA8676B33   ELVIRA         RIVAS                   CA         90004260086
1454738847192B   JOSEPH         LIOTTA                  CO         90014663884
14547485A51337   DEBRA          HENNEKE                 OH         66009494850
14548461A3B394   JOSEPH         SERNA                   CO         33067734610
1454851A85B154   RUTH           TURNER                  AR         90013335108
14548915472B27   JOSEPH         WIEDEMANN               CO         90013609154
1454912645715B   LEONEL         ALVARADO                VA         90009871264
14549581972B62   ERIC           LACEY                   CO         33066775819
1454B222376B68   MARTHA         ROMO                    CA         46012872223
1455155895715B   HERIBERTO      MOSQUEDA                VA         90014405589
14551A75393775   KOREY          GRAY                    OH         64510250753
1455427385715B   MARISA         SOLONANO                VA         90015152738
145543A2976B33   JOSE           CUADROS                 CA         46011153029
145546A9A76B68   EDITH          GARCIA                  CA         90000746090
145548A417B489   ROBERTO        CORTEZ                  NC         90001948041
1455575985B526   DORA           MARTINEZ                NM         90014887598
1455589A161958   LISA           HUNTER                  CA         46087178901
14556A16172B27   JONATHAN       PEREZ                   CO         90010540161
1455872525B568   ADAM           TRUJILLO                NM         90011037252
1455938A94B26B   JAMIE          FOSTER                  NE         90008123809
14561339A57147   HELVIN         MEJIA                   DC         90012373390
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1456243435715B   JENNY         BLANCO                   VA         90007804343
1456259274B26B   PHILIP        THIEK                    NE         90011395927
14562612A47956   SAMANTHA      DAY                      AR         90011176120
14563A36155976   GLORIA        HERNANDEZ                CA         49014870361
14563A6572B926   RITA          NAVARRO                  CA         90015020657
145653A2776B68   ANA           TORRES                   CA         90009693027
1456549785715B   IRMA          RUIZ                     VA         90013944978
14566157A31687   GUSTAVO       CAMAOCH                  KS         22065411570
1456637A776B33   RAYMOND       KOBER                    CA         90014173707
145666A755B154   PORCHA        HUNTER                   AR         90011126075
1456729A176B68   ALVARO        VALENCIA                 CA         46089722901
1456743995B154   MARK          KING                     AR         90007184399
1456772994B588   STEPHEN       HARDING                  OK         90013487299
14568A92791895   HOUSTON       TIGER                    OK         90015170927
1456932547B489   SHANNON       DAVIS                    NC         90008803254
145695AA35B526   HENRY         MCKINLEY                 NM         90014855003
14569998272B27   ADRIAN        VAZQUEZ                  CO         90004869982
1456B298247956   JAMES         TABER                    AR         90014522982
1456B41555715B   SAUL          MARTINEZ                 VA         90007544155
1456B5A6A51337   GINA          BAER                     OH         90014315060
14571239824B7B   SHIRLEY ANN   JEFFERSON                DC         90011022398
1457133237B489   TIFFANIE      SUBER                    NC         90014043323
14572246576B68   HENRY         CRUZ                     CA         90009752465
1457256995715B   SHARON        SARUGGS                  VA         90014405699
1457344415B526   RAEANN        KIRO                     NM         90008434441
1457425874B26B   WILLY         HERNANDEZ                NE         90014772587
1457483A376B33   GLADYS        RENTERIA                 CA         90014878303
1457544615B59B   MARY          TALLEY                   NM         90012064461
1457556255B154   AVIVA         STIGALL                  AR         90014725625
14575A79761938   MARC          SANCHEZ                  CA         90012030797
1457647A85B154   ALEXUS        GARDEN                   AR         90010494708
145764A3951337   ENRIQUE       PABLO                    OH         90013384039
1457674515B526   NORA          ALAMOS                   NM         35026657451
14576A3165715B   JOSUE         PEREZ                    VA         90013370316
14577A69176B33   MIGUEL        ALVA                     CA         90013690691
14578265976B68   ERIC          WAHL                     CA         46094382659
145792A8891895   KATELYNN      JONES                    OK         21086672088
1457B233661938   MICHAEL       MILES PICKENS            CA         90013222336
1458225874B26B   WILLY         HERNANDEZ                NE         90014772587
1458276A331687   TIONNA        DUKES                    KS         22014917603
14583815A91263   NANNIE        HITE                     GA         90000888150
14584517372B27   NANCY         SANTILLAN                CO         90007965173
145847A7476B68   ALIN          MEDINA                   CA         46015367074
1458591624B588   ALLEN         BIAS                     OK         90003569162
1458611A391895   KIM           YOUNGER                  OK         21077211103
1458625295B154   TONYA         DEADMON                  AR         90013122529
1458691367B489   LOUDERS       GOZALEZ                  SC         90014369136
14587664A2B232   MANUEL        ACEVEDO                  DC         90000966640
14587879276B33   ROBERTO       MARTINEZ-BOLANOS         CA         90012888792
14587A7777B489   ADRIENNE      WYNN                     NC         11015930777
1458813185B59B   MARINO        PINON                    NM         36046191318
1458822715B154   ESSIE         BOLES-SMITH              AR         23086992271
14588844A61938   HECTOR        VIDRIO                   CA         46086188440
14589252172B27   JORGE         GRIJALVA                 CO         33056712521
14589615424B55   JOSE          MEDINA                   VA         81028836154
1458962555715B   NELSON        GUTIERREZ                VA         90013946255
1458B233691569   JOSE          SANDOVAL                 TX         90012892336
1458B529291569   JOSE          SANDOVAL                 TX         90014785292
1458B643657147   LUIS          GOMEZ                    VA         90003976436
1459147725B154   FRANK         BUIRSE                   AR         90011394772
14591957A57549   JAYME         SANCHEZ                  NM         90012589570
1459287615B526   EDGAR         NEIL                     NM         90011678761
1459325825B154   RAY           HOLLISTER                AR         23039542582
14593879276B33   ROBERTO       MARTINEZ-BOLANOS         CA         90012888792
14595A56155976   MARIO         MARTINEZ                 CA         49073930561
1459726275715B   NINETH        BARRIOS                  VA         90009522627
14597899A47956   MARIA         HERNANDEZ                AR         90015138990
14599131976B68   ASCENCION     LOZOYA ROJAS             CA         90014921319
1459BA63464183   BILLY         CURRIER                  IA         90013940634
1459BAA2291263   HIGINIO       PEREZ                    GA         14582320022
145B173A491524   RENE          GARCIA                   TX         75052287304
145B2115691569   NELSON        PEREZ                    TX         90012931156
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145B2198344356   STEPHENETT      BOTOE ROSE             VA         82003631983
145B2575176B68   CAMILO          MAQUEDA                CA         90014795751
145B338A454133   NICO            OSTERHOLTZ             OR         90013753804
145B3656372B62   MARY            RAMIREZ                CO         33001196563
145B3729676B33   ESTELA          SEPULVEDA              CA         90003167296
145B3A26261958   BENNY           GUTIRERZ               CA         90015200262
145B3A42557147   JUAN            SERPAS                 VA         90014530425
145B3A63155976   TEO             RUELAS                 CA         90012760631
145B4643657147   LUIS            GOMEZ                  VA         90003976436
145B4683631635   APRIL           LEING                  KS         90001256836
145B4729A5B154   RAMON           RAMON                  AR         23057017290
145B5157A4B26B   JENNIFER        PAYNE                  NE         90013411570
145B5537247956   GLADYS M        GREEN                  AR         90007365372
145B565A276B33   PALEO ROSENDO   PALEO                  CA         90003696502
145B637A77B489   ANA             SIGARAN                NC         90012283707
145B797A591569   STEPHANIE       HERNANDEZ              TX         90013939705
145B8113157147   ALFREDO         PEREZ                  VA         90009951131
145B8715172B27   BRANDON         HUCKABY                CO         90014587151
145B88A1691263   ARLANE          HUNS                   GA         90009928016
145B9512791586   NANCY           HEREDIA                TX         90010575127
145B9548472B62   JONATHAN        REED                   CO         90004825484
145B9A4AA91396   ROSAMIND        DIXON                  MO         90012410400
145BB719261958   RUSSINA         VALE                   CA         90012857192
14612331A7B489   ANTHONY         STEPHENS               NC         90011043310
14613165A5B154   QUIANA          RANDLE                 AR         90014941650
1461323635715B   JEANNETTE       OBANDO                 VA         90008282363
1461327494B588   DEDREA          STAMPS                 OK         21580352749
146134A7661958   JOSE            PEREZ                  CA         46052714076
14614391972B27   STEPHANI        CARABEO                CO         90014193919
1461549364B588   KELLY           MILLER                 OK         90010644936
1461763184B26B   BRIAN           BRADFORD               NE         90011956318
1461769435B154   KEVIN           ROBINSON               AR         23025136943
146184A6271949   NANCY           SEIFERT                CO         90004894062
1461917297B489   DORCAS          UNDERWOOD              NC         11007531729
14619575A24B55   MARY            JEFFERS                MD         90011625750
1461961A272B27   STEPHANIE       ELISE CHAVEZ           CO         33044756102
1461969125B526   VIRGINIA        GALLEGOS               NM         90009516912
1461BA52472B27   DOMINIC         MARTINEZ               CO         90014070524
146224A3424B55   OMAR            CONTRERAS              VA         90011774034
14622572672B62   JUAN            MORENO                 CO         90013055726
14623495476B33   SILVIA          LORES                  CA         90013924954
1462352416197B   MIGUEL          ABUGABER               CA         46016155241
1462413755B526   TORREZ          GILBERT                NM         35091931375
1462466A591836   BILLY           HARPER                 OK         90011996605
1462554625715B   JOHN            GRAY                   VA         81065495462
14626214972B62   RITA            BANDIERA               CO         90014632149
14626667576B33   BRYAN           DEVORE                 CA         90014336675
14626894172B27   KWANE GRUBB     SMITH                  CO         90013098941
14627166776B68   DAVID           DINKINS                CA         90015021667
14627269976B33   RIGOBERTO       SANCHEZ                CA         90013462699
14628131A72B62   LUIS            VALDES-GALVAN          CO         90015101310
14628166776B68   DAVID           DINKINS                CA         90015021667
1462822A133699   DENIA           GOMEZ                  NC         90012722201
1462894723B368   LUWENDA         SANDERS                CO         90001129472
146316A3691995   ISMAEL          HERNANDEZ              NC         90012156036
146317A355715B   ADNAN           MASRY                  VA         90013947035
14631A97676B68   ERICA           LOPEZ                  CA         90011360976
14634231A31687   CHERRI          MCKAY                  KS         22054932310
146343A5447956   LINDA           ELKINS                 AR         90001813054
1463452485B339   JOHN LEE        OLIVERA                OR         90001265248
14634557A91263   GALE            OSBORNE                GA         14584125570
14635399172B27   SANJUANA        RODRIGUEZ              CO         33043423991
1463568A85715B   MARCELO         GUZMAN                 VA         90013126808
14635A1917B489   KADIAN          DAVIDSON               NC         90012930191
14636611A6192B   JOSE            HUAMAN                 CA         90003626110
146369A9576B33   JENNY           CABALLERO              CA         90008139095
14636A76276B68   SHALANA         VIDAL                  CA         90014650762
14637195876B68   FEDERICO        LOPEZ                  CA         90015021958
14637799A61958   MARCO ANTONIO   ESCOBEDO               CA         90015127990
1463839687B489   RUCHELLE        GRIFFIN                NC         90011013968
1463868474B588   FENTON          CAMPBELL               OK         90001856847
14638A63A7B428   LAURA           LARA                   NC         90008050630
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14639269976B33   RIGOBERTO       SANCHEZ                CA         90013462699
1463B687991899   KIMBERLY        TAYLOR                 OK         90000986879
1463B83A976B33   ROBERT          HOFFMAN                CA         46018208309
1464142574B588   KIMBERLY        JOHNSON                OK         21566734257
1464144823B393   HECTOR          CHACON                 CO         90014024482
146416A5661938   MARIA           LOREDO                 CA         90006276056
1464217264B588   PEDRO           ALPANZA                OK         90002991726
1464233159379B   BARBARA         CRABILL                OH         64559933315
14642A5874B26B   ANA             MONTEZ                 NE         90009830587
14643445172B27   KACY            SLAUGHENHOUP           CO         90012644451
146435A6776B33   MODENA          CASTLEMAN              CA         90008925067
1464377715715B   ENRIQUE         NOVILLO                VA         90013947771
1464572875715B   DALILA          CASAS                  VA         90013947287
1464674188B166   TRACEY          HAFRA                  UT         31007227418
146474AA44B588   CARLA           HORNBEAK               OK         21572724004
14647988476B33   HAFIDA          WILSON                 CA         90014409884
1464832714B588   MARGUERIETTAE   BOONE                  OK         90011343271
1464888354B26B   KRISTIN         CROUCH                 NE         26070498835
1464922327B489   DEMARIUS        CHASTAIN               NC         90007462232
1464927655715B   EDWAR           MENDOZA                VA         90004052765
1464972214B588   KRISTEN         HALE                   OK         90008677221
1464997715B154   EBONIE          MCBRAYER               AR         90006379771
14649A18391895   PAULA           NEAL                   OK         21010820183
14649A4A372B27   JAKE            MISKOL                 CO         33067220403
1464B231A31687   CHERRI          MCKAY                  KS         22054932310
1464B384572B62   AJAREY          HAMMAND                CO         90013093845
1464B922491263   FAY             WRIGHT                 GA         90014889224
1465136A55715B   ASRET           TEGEGNE                VA         81013953605
14651A8A95B154   DANIELLE        NASH                   AR         90014790809
14652761476B68   JAVIER          REYES                  CA         46092137614
1465348917B337   JOSE            LOPEZ                  VA         90001594891
1465354A661958   PAMELA          ARROYO                 CA         90014815406
1465384A257147   JOHNNY          ANTUNEZ                VA         90011418402
14653A14191263   ALEXANDRIA      MARTIN                 GA         90010330141
1465458A791263   WILLIAM         MOORE                  GA         90013065807
1465534625B526   BERNADETTE      GONZALES               NM         90012343462
14655A86676B33   ANGELA          SOTO                   CA         90012500866
1465624A891895   CHYANNA         PATTERSON              OK         90012142408
1465687A257147   ASSEGEDECH      TESEMA                 VA         90003118702
1465794657B489   TANGY           REID                   NC         90009429465
14657A11661938   CIENGAN         CIENGAN                CA         46045580116
14659746572B62   RACHEL          WATFORD                CO         90012907465
14659A59333647   ROBERT          WALKER                 NC         90008530593
1465B259572B27   TROY            WHITE                  CO         90001182595
1465B282161938   BRITTANY        POSEY                  CA         90008412821
1465B984144356   KEREN           DANIELS                DC         90003629841
1465BA22933699   YESICA          ARANDA                 NC         90014940229
1466116145B526   WENDY M         COTTLE                 NM         35040571614
14661247976B68   ANDREW          CROUCH                 CA         90015052479
1466168967B489   LISA            DAVIS                  NC         90006596896
146619A6372B27   JASON           SNYDER                 CO         90013099063
14662A1A872B27   DAWN            CALBART                CO         33049650108
1466461415715B   BECKY           HOAK                   VA         90014406141
14664A97155976   CRAIG           BYAS                   CA         49051630971
1466529645B59B   JULIE           HERNANDEZ              NM         90004362964
14665297376B33   ANTONIO         HERNANDEZ              CA         90013462973
1466554815B154   SHANNON         WHITE                  AR         23001845481
14667281A55976   MICHAEL         ABAT                   CA         90012122810
14667556576B33   DENISE          GOODWIN                CA         90013925565
1466775738B167   MIKE            DEYOUNG                UT         90010377573
14668354A91569   ANNABEL         DURON                  TX         90010543540
1466838A547956   ANGELA          LOVELL                 AR         24033673805
14668A8285B154   CALANDRA        TILMON                 AR         90013400828
1466958758B167   JANNA           WOODS                  UT         90000695875
14669A5338B472   OMAR            GORDON                 VA         90014350533
1466B11A497B69   VICTORIA        BENJAMIN               CO         90000271104
1466B247976B68   ANDREW          CROUCH                 CA         90015052479
1466B27885B154   PAUL            WORTHEN                AR         90015362788
1466B422291899   KEN             THEIS                  OK         21000674222
1466B475A55976   ZOUA            XIONG                  CA         90014664750
1466B479591524   LAURA           CHAVEZ                 TX         90009844795
1466B481A72B62   NATISHA         PRIETO                 CO         90010374810
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1466B556576B33   DENISE       GOODWIN                   CA         90013925565
1466B599161958   ALEX         TOILOLO                   CA         90011875991
1466B9A6372B27   JASON        SNYDER                    CO         90013099063
14671624A91263   MEDINA       JORGE                     GA         90013906240
1467181935715B   DANIEL       MEDRANO                   VA         90013948193
1467315467B424   HG           BAKER                     NC         90011641546
1467354634B26B   CARLOS       MORALES                   NE         90015345463
1467468434B588   NAKOLE       GUERRERO                  OK         90010556843
14674967972B62   MACARIO      VARGAS                    CO         90013529679
14675AA9791263   DANDRA       LADSON                    GA         14592970097
1467619AA71929   CATHIA       BELL                      CO         90001801900
14676346876B33   KATHERINE    FORD                      CA         46062373468
1467728255B526   RODRIGO      RENDON ESQUIVEL           NM         35015172825
14677996172B23   MISTY        HENDERSON                 CO         33049399961
1467993A955976   ISAAC        GARCIA                    CA         90012849309
1467996545B59B   SALLY        TORRES                    NM         36054319654
1467B253A76B68   RICK         PEDRO                     CA         46095182530
146812A4691263   CRAIG        PHILLIPS                  GA         14597182046
1468131115715B   WILLIAM      WELCH                     VA         81015123111
14681877172B27   ANTHONY      WILDING                   CO         90013918771
14682155272B62   LILIANA      GONZALEZ                  CO         90011201552
14682553572B27   LUCERO       HERNANDEZ                 CO         33089565535
1468286A991895   RODNEY       LEWIS                     OK         21008548609
1468292575715B   BALDEMAR     PEREZ                     VA         90012279257
14683246A7B489   JOSHUA       ROSE                      NC         90014562460
1468399A572B62   KENDALL      GRIFFIN                   CO         90014269905
14684147876B33   VICTOR       ALAMILLA                  CA         90010131478
146842A4691263   CRAIG        PHILLIPS                  GA         14597182046
14685427772B62   SANTOS       PINEDA                    CO         33077614277
1468559869154B   CECILIA      IBARRA                    TX         90012555986
1468566A676B33   CATHY        BOWMAN                    CA         46007966606
1468569754B26B   ROGER        JOHNSON                   NE         26041326975
14685A5A84B588   CINDY        MILLER                    OK         21513180508
14685A67791569   ROXANA       ALANIZ                    TX         90013940677
1468668195B526   JOHN         FLESHMAN 3RD              NM         90010286819
146888A964B588   OSCAR        TRAYLR                    OK         90008018096
146899A355715B   ROLANDO      RIVAS                     VA         90013949035
1468B6A654B26B   MANDY        WIESER                    NE         90010296065
1468B725891263   SHELBY       HUGGINS                   GA         90010777258
14691727872B62   MANUEL       HERRERA                   CO         90013007278
1469222A85B526   BRANDON      MONTOYA                   NM         90008952208
1469229994B26B   WILLIAM      SCHLAIS                   NE         90012962999
146927A227B489   BRYANT       SCOTT                     NC         90004397022
1469369928B123   KIM          NIELSON                   UT         90002176992
146938A3376B33   JOSE         ORTIZ                     CA         90013578033
1469413135715B   ELIZABETH    MARTINEZ                  VA         90011071313
1469445578B336   ALEJO        ZARATE                    SC         90015494557
14694465472B62   AGUSTIN      PAEZ                      CO         33007694654
14694494676B68   RIGOBERTO    MAGANA                    CA         90015054946
14695495276B68   NICK         DAGGETT                   CA         90015144952
146961A8961938   TIFFANY      HOLLAND                   CA         90012921089
146969A1733699   NIA COMMUN   CENTER                    NC         90002899017
14698AAA47B358   JOSE         TURCIOS                   VA         90014110004
1469956614B588   TEKIA        WARE                      OK         90014825661
1469B117472B62   LISA         HORAN                     CO         33016911174
1469B436161958   CYLIA        CONTRERAS                 CA         90012294361
1469B639557147   LUISA        GUTIERREZ                 VA         90002246395
146B1585531687   ROBERT       COLANGELL                 KS         90008625855
146B15A735715B   SYLVESTER    AGYEMANG                  VA         90000875073
146B173794B588   JUNGJA       BAE                       OK         90012377379
146B1797976B33   MARCELO      MARCIAL                   CA         90014467979
146B191A44B26B   ERICA        CLOVER                    NE         26064529104
146B2337A5135B   SUZANNE      TASAYCO                   KY         90013963370
146B2421772468   AMBER        BETTS                     PA         90009634217
146B2761A31962   ANNA         MCCOMAS                   IA         90014157610
146B2873751337   PATRICIA     WHITAKER                  OH         66012458737
146B4245776B33   FRANCISCO    GASTELUM                  CA         46090762457
146B426928B166   LAURA        BLACK                     UT         90013752692
146B45A7357147   YECENIA      ALFARO                    VA         81030895073
146B461185715B   SANDY        FUENTES                   VA         90012316118
146B468A35715B   REFAEL       RIVERA                    VA         90013946803
146B519A45715B   MULU         AYELE                     VA         81046531904
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146B5217576B68   ELVIRA             ORTIZ               CA         46067572175
146B584654B588   LATOYYA            PENNON              OK         90010798465
146B5996261958   ANDRES             SANCHEZ             CA         46091499962
146B5A14231687   DESTINEY           BEAM                KS         90004940142
146B6877757147   JOSUE              RODRIGUEZ           VA         90011108777
146B6949791895   TIFFANNY           SCHNEIDER           OK         90000489497
146B696143B352   SILVIA             GARCIA              CO         90012369614
146B7124676B33   BENJAMIN           CATALANO            CA         90012281246
146B738175B154   GERI               MILLER              AR         90009493817
146B8555561938   MALAKAI            MADD                CA         90014245555
146B86A245B59B   BLANCA             OLVERA              NM         36070016024
146B921814B26B   THOMAS             PAVLIK              NE         90014382181
146B9287755976   TOMAS LUNA         VALENZUELA          CA         90014442877
146B931A75B154   MARION             QUICK-MCADOO        AR         23076273107
146B9459272B62   JENISE             RUIZ                CO         90013474592
146B9645791895   JUAN               LINARES             OK         21044396457
146B9655276B33   CARLOS             VAZQUEZ             CA         90014336552
146BB45425715B   ELIZABETH          CORODA              VA         90013194542
146BB52185715B   ELVIN              IZANA               VA         90013165218
146BB759972B62   ROBERT             WATSON              CO         33041827599
146BB8AA461958   KENDRA             WILLIAMS            CA         90015128004
146BB994176B68   FREDI              LOPEZ               CA         46024229941
1471196984B588   DELL               JOHNSON             OK         90015199698
14711A68255976   JODIE              EAST                CA         90010760682
14712799A61958   MARCO ANTONIO      ESCOBEDO            CA         90015127990
1471295125715B   PEDRO              COR MAS             VA         90012519512
147132A4491895   HELEN              SCHUMPERT           OK         90001092044
147133A5472B62   RACHEL             TRUJILLO            CO         33013623054
1471399A491569   ADRIAN             SARINANA            TX         90015049904
14714188A72B62   HORTENCIA          TIZCARENO           CO         33086081880
14714539176B33   OSCAR              GARCIA ALCARAZ      CA         90010405391
1471464A272B27   JOSEPH             MOORE               CO         90009186402
14714A4515B154   JESSICA            ADAMS               AR         90014760451
1471551214B588   CHRISTOPHER        MCCLURE             OK         90012145121
1471589435B526   XOCHITL            GWIN                NM         90002428943
14715997324B35   GERBERTH           CAMPOS              DC         90004959973
14716491476B68   EVELYN             THOMAS              CA         46091594914
1471717584B588   JUDY               LOUNSBERRY          OK         90009351758
14717582A5B154   TARA               CARROLL             AR         23067535820
1471794A65B526   LUZ                HERNANDEZ           NM         90010859406
14718283172B62   NAFEEZ             HUSSAIN             CO         33028642831
1471864345B59B   CHARLES            UITTS               NM         36098526434
14719824A76B52   OCTAVIO            MORELOS             CA         46080768240
1471986A44B588   KINIKIA            BRAXTON             OK         21552978604
14719998376B33   TERESITA           TUAZON              CA         90013939983
1471B2A9524B7B   DIAMOND            GORDON              DC         90011362095
1471B33A35B526   CARLOS             LUCERO              NM         35089083303
1471B849991895   KEVIN              JANKE               OK         90008238499
1471BA27263B56   RAULJ              RODRIGUEZ            IL        90013910272
14722281A91569   DANNY              LOZANO              TX         90007582810
1472277575B526   ZULEMA             ALDERETE            NM         90013697757
1472341195B154   OMAR               ITURVIVE            AR         90015364119
14723425272B62   HARRY              CROYLE              CO         90012734252
14724324576B33   PHILLIP            WOLF                CA         90012773245
1472465315715B   JANIQUE DANIELLE   BLACKBIRD           VA         90012776531
1472486A451337   BOBBIE             WALDBILLIG          OH         90005028604
147249A3191569   CARLOS             MORENO              TX         75075519031
14724A6A77B489   JUANA              CADILLO             NC         90013310607
1472613484B588   BRYAN              CEASAR              OK         90010721348
147265A1291867   TANDI              ELLIS               OK         90011115012
147266A1391524   DEYANIRA           WATSON              TX         90004376013
14726995A91899   SUSAN              MCELROY             OK         21069809950
1472771A94B588   PERRI              MEDICINEDEAN        OK         90015577109
147288A6176B33   JAVIER             MERINO              CA         46069388061
14729319872B62   IRMA               GONZALEZ            CO         33077793198
14729974576B68   ELIA               MELENDEZ            CA         90000749745
1472B1A1161958   ROSA LINDA         STEWART             CA         46091501011
1472B321851337   MAURICIO           ARCE                OH         90013633218
147312A8A4B588   ALAN               DE LEON             OK         90015132080
14731975A51337   DONNA              HALL                OH         90013719750
14732451172B27   GINA               ARAGON              CO         33045754511
1473248594B588   RONALD             HILL                OK         90010224859
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14733322472B62   VICTOR             FISCAL              CO         90010033224
1473414145B154   JACQUELLIA         MCMURRIAN           AR         90012171414
14734A92476B68   MALORIE            CAMPUZANO           TX         46029750924
1473515245B154   BRIAN              BERRY               AR         23083881524
14735297176B33   LETICIA            ESCALONA            CA         90013242971
147353AAA57147   NORMA              DURAN               VA         90005773000
14735A34872B27   EVIS               MARTINEZ            CO         33009180348
1473678A257133   MOHAMMED SHERIFF   TYRAY               VA         90004467802
14736AA4551337   ANDRES             DIEGO               OH         90013380045
14737551A2B375   JOSE               DEIDA               CT         90013195510
14737994A91263   WENDY              FIELDS              GA         90010699940
14738214972B62   RITA               BANDIERA            CO         90014632149
1473859634B26B   FRANCISCO          RAMIREZ             NE         90013545963
14738A27A76B33   CAROLINA           DIAZ                CA         90013940270
1473954274B26B   SAMANTHA           MCBEE               NE         90014835427
1473B1A214B588   TINA               HARJO               OK         90012451021
1473B363876B68   DANIEL             OBESO               CA         90009693638
1473BA3195715B   MARTHA             BAJARAS             VA         90012850319
1474115745B154   BRITTNEY           LOCKHART            AR         90010821574
14741287472B62   BIANEY             CHAVEZ              CO         90015082874
1474172A972B42   AUDREW             SMITH               CO         90006247209
147426AA533699   DONAL              SOLOMAN             NC         90014716005
14742A18A76B33   STEVEN             TEO JR              CA         90011100180
14742A7235715B   JAMES              PUCKETT             VA         81021030723
147433A2372B27   WILLIAM            TRABING JR          CO         90013213023
14743816276B68   DANIEL             CALVILLO            CA         46095498162
147444A287B489   EDDY               HERNANDEZ           NC         90007654028
1474451552B877   BRUCE              FOWLER              ID         90013255155
1474452814B26B   CHUMANI            FAULKNER            NE         90015195281
14745A74655976   VINCENT            RUBIO               CA         90014530746
147466A145B526   LEONARD            PERALTA             NM         35005236014
14746724772B62   YESENIA            RODRIGUEZ           CO         90013397247
14747866A76B33   ROBERTO            ALONSO              CA         46051308660
14749A75851337   TORY               JOHNSON             OH         90013580758
1474B14175B526   CAROL              CUFFEE              NM         35083691417
1474B92755715B   RUDY               LOPES               VA         90013949275
1474BA15772B27   MARIA              PEREZ               CO         33091840157
14751774A5B526   MELINDA            ESCAMILLA           NM         90014057740
14753114876B33   ABRAHAM            BRAVO               CA         90013961148
1475419A157147   MARTHA             HENRIQUEZ           VA         90013081901
1475425875B526   TONY               EDWINS              NM         90011382587
1475481355715B   ESDRAS             DIAZ                VA         90015238135
14755436576B33   MARIA              DIAZ                CA         46013664365
14755554A61947   ABYSSINIA          BELAY               CA         90012085540
147561A2791569   MARCO              DELGADO             TX         90013941027
1475652515B526   ELISEO             ANGEL               NM         35086455251
1475711665B526   JOSE               SANCHEZ             NM         90013451166
147571A877B489   PEDRO              RAMIREZ             NC         11018061087
147581A6376B33   AMERICA            ESPINO              CA         90013941063
14758984A47956   MAXIE              COLLIER             AR         90010479840
14759312A91569   ELIZABETH          HARTMAN             TX         90012733120
1475952965B526   BONNIE             DAVIS               NM         90011715296
14759536772B27   LINDA              SCHILLINGER         CO         90010815367
1475965935715B   YOUNG HI           CHOE APT 609        VA         90012976593
1475995745715B   MARTHA             VILLANUEVA          VA         90013949574
1475B258157147   ORLANDO            LINARES             VA         81053372581
1475B482672B27   ANDREA             SOLARES             CO         90010714826
1475B59175B384   LYNN               LACASSE             OR         90004435917
147612A4A5715B   BALTAZAR           CRUZ                VA         90011912040
14761762872B27   PABLO              HERNANDEZ           CO         33071077628
1476252745B526   JOHN               JARAMILLO           NM         90014855274
14763157A4B26B   JENNIFER           PAYNE               NE         90013411570
147642A1161938   HYMIE              SCOTT               CA         46068992011
1476445545B526   LEO                PATINO              NM         90007404554
1476491345B526   SANDRA             TRUJILLO            NM         35067319134
14765871A76B33   SANDRO             SANCHEZ             CA         90004428710
14766463A72B27   JAMES              MACALUSO            CO         90011074630
1476685555B154   LARRY              DAVIS               AR         90008088555
1476723485B526   JADE               ANAYA               NM         90013252348
14767532372B27   FRANTZO            PIERRE              CO         33053255323
1476764315715B   ALBERT             CHILDS JR           VA         81016636431
147688A594B588   MICHAEL            CASE                OK         21527258059
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1476893634B26B   TIMOTHY           SUGGS                NE         26041789363
1476991145B59B   LITA              MARTINEZ             NM         36092659114
1476B29665B396   SANDY             SANTEE               OR         90008542966
1476B493A76B33   ROBERT            RICHDALE             CA         90008884930
1476B57235B154   CHEROKEE          BRADLEY              AR         90007335723
147723A5991895   AMANDA            SEEDEN               OK         90011003059
1477283655715B   TOCARRA           DADE                 VA         90005518365
14772A4735B238   MISSY             HALL                 KY         90011530473
14772A8547B444   WILLIE            KNOX LLL             NC         90006900854
14773359876B33   EDUARDO           JIMENEZ              CA         90013943598
14773835776B33   MARIA             TORRES               CA         90014818357
14773A3525B526   ORLANDO           GOZALEZ              NM         90012130352
147743A5991573   DENISSE           HUERTA               TX         90006103059
14776544A76B33   ADRIANA           MARTINEZ             CA         90009775440
14776946A72B27   MIGUEL            RUIZ                 CO         90013099460
1477718374B588   TYRIKA            MCFADDEN             OK         90007191837
14777322972B27   ESTAFANIA EDITH   VAZQUEZ              CO         90014743229
1477747A94B588   SAN JUANA         ALVARADO             OK         90014454709
14778A1A591263   CALEEB            SANDERS              GA         90014760105
147791A4491569   ALVARO            GONZALEZ             TX         90006711044
147797A6561958   LAURA             COPADO               CA         90011577065
1477B37374B588   LISA              LEWIS                OK         90011453737
1477B473876B68   MARCOS            SOLANO               CA         90010224738
1477B588424B55   AKIL              SLADE                DC         90011785884
1477B597761938   ALEJANDRA         ELIZONDO             CA         46076365977
1478148355593B   SUSAN             MURO                 CA         90009664835
14781A17A5B154   OLA               WARE                 AR         90010180170
1478232367B47B   JULIO             MENDOZA              NC         90009583236
1478376535B154   JUAN              ALVAREZ              AR         23062297653
14783A48991569   MANUEL            CARBAJAL             TX         90014560489
14784139772B27   RAMIRO            SIERRA               CO         33004731397
147843A3A33699   CHRISTINE         PAINTER              NC         90014723030
14784546A76B33   LUIS FERNANDO     ALVARADO             CA         90013945460
1478478245B154   CASIE             LIVINGSTON           AR         90015287824
1478486347B489   NIAJIMA           BROCKINGTON          NC         90012798634
1478496234B588   KALEIGH           CLIFTON              OK         21545939623
147853A3A33699   CHRISTINE         PAINTER              NC         90014723030
147857A8A76B33   DAVID             JIMENEZ              CA         90004227080
1478629A761938   REBECCA           BURROWS              CA         46072602907
147863A2372B27   WILLIAM           TRABING JR           CO         90013213023
14786755876B33   ZEFERINA          JACOBO               CA         90011247558
1478696897B489   OTIS              DAVIS                SC         90013519689
1478726655B526   CHAVEZ            DOROTHY              NM         90006712665
1478731994B588   BRANDON           KETCHUM              OK         21509473199
1478793775715B   CHARRIESS         MCCUTCHEON           VA         90008969377
14788552272B62   CRISTIAN          FUENTES              CO         90012145522
14789A4165B154   CYNTHIA           CHEATHAN             AR         90013810416
1478B359876B33   EDUARDO           JIMENEZ              CA         90013943598
1478B553547956   JOSE              SOLIS                AR         24004875535
1478B685476B33   TONY              GUZMAN               CA         90014826854
1478B751551337   ALLISON           DIEM                 OH         90002747515
1478B86525B154   REOLA             JONES                AR         23035188652
1478B969A5715B   GUISOOK           AN                   VA         90010849690
1478BA58991526   MARTHA            RODRIGUEZ            TX         90008230589
14792913A55976   NAYELI            AYALA                CA         90015399130
1479319A24B588   MARLAND           ELAM                 OK         90012441902
14793698172B62   YOLANDA           LOPEZ                CO         90007786981
14793A17391569   AGUILAR           SELINA               TX         75023620173
1479428997B489   JUAN              RANGEL               NC         90013902899
1479465AA61958   LORAINY           GARCIA               CA         90015156500
14794875272B27   IDALIA            DIAZ                 CO         90012248752
14794A86291569   ALMA              ROBLES               TX         90012360862
14794A98861938   MIGUEL            ALCALA               CA         90005760988
1479572415715B   MOSES             ROMOS                VA         81015627241
1479595A672B27   TRAVIS            CONNOR               CO         90013099506
14796356376B68   ADRIANA           SANCHEZ              CA         46005233563
14796A1455B154   ADRIENNE          ALLEN                AR         90008090145
14797657576B33   JOSE              MAURICIO PINEDA      CA         46015166575
14798538A51337   LASONYA           RHODES               OH         66097125380
1479888894B26B   CHASITY C         COLEMAN              NE         90013098889
1479B11265B154   SUZETTE           JONES                AR         90013041126
1479B21154B26B   JONNIE            SCHUELKE             NE         90002802115
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1479B274691569   JOSEFINA        VELIZ                  TX         75053682746
1479B698355976   JUANCARLOS      ARVIZU                 CA         49080326983
147B112735B154   PRESTON         HARPER                 AR         90014791273
147B125A65B526   MICHAEL         PINO-FERNANDEZ         NM         90013332506
147B194284B588   MELIVIN         WOODS                  OK         90012129428
147B2677891569   ELENA           FELIX                  TX         75043016778
147B294915715B   LETICIA         HERRERA                VA         90012519491
147B323865B59B   TYLER           SHEPARD                NM         90004462386
147B3952272B27   SEAN            RILEY                  CO         90010709522
147B3A76757147   EFTAKHER        AHMED                  VA         90005820767
147B415915B526   ANDREA          JONES                  NM         90005081591
147B495A491569   JAIME           CUARON                 TX         75000919504
147B531334B26B   DANIEL          DEL RELLO              NE         26062633133
147B5522172B27   SUSANNE         WILSON                 CO         33033255221
147B5A41772B62   STEVE           HALBE                  CO         90015090417
147B5AA9791569   EYDEL           RICO                   TX         75090100097
147B6377261958   MARTHA          REYNOSO                CA         46096083772
147B7227A33699   LEE             BENNITT                NC         90014702270
147B72A9457147   JOSE LEONEL     CEVEDO CENALLOS        VA         90014452094
147B8381847956   DAWN            PETRAY                 AR         90007353818
147B83A6376B68   DAVID           MORENO                 CA         90015083063
147B8591647956   BRUCE           THORNTON               AR         90015605916
147B9295672B64   SUSANA          PINEDA                 CO         90007872956
147B966424B588   DESTINY         PARKER                 OK         90013996642
147B9787891569   IRINA           COFFIE                 TX         90009727878
147BB27735715B   TERESA          JIMENEZ                VA         90007432773
147BB6A2972B27   KOMI            KPOTOUFIN              CO         90008076029
1481212645B526   MARSHA          LOOMIS                 NM         35003531264
1481246584B588   DONNA           PARKER                 OK         21560154658
14812535424B55   JULIO           REYES                  DC         90009045354
148126A6976B68   LUCI            LEON                   CA         90008156069
1481299457B489   REBECA          MIRANDA                NC         90001039945
1481327279154B   VERONICA        CERVANTES              TX         90006092727
14813491772B62   SANDRA          GONZALES               CO         90011974917
1481365A276B33   PALEO ROSENDO   PALEO                  CA         90003696502
14813A35933647   MARTHA          DIAZ                   NC         90012040359
14814112624B7B   ARTHUR          MOON                   MD         90015341126
1481432735B526   AMBER           ORONA                  NM         90000993273
14814A59552B55   MELISSA         DAVILA                 UT         34016930595
14815458691B43   ASHLEY          HOOPER                 NC         90014454586
1481767865B154   WILLIAMS        MITCHELL               AR         90011086786
14817964172B27   LUIS            VENZOR                 CO         90013099641
14817A53833699   PAULETTE        SMITH                  NC         12089460538
1481818275715B   MARIA           PEREZ                  VA         90013951827
14819172476B33   JOEL            RICE                   CA         90011881724
1481971594B588   CATRICE         THOMAS                 OK         90011107159
1481B24A931646   GARY            JENKINS                KS         22080082409
1481B575651337   SHANICEA        BENTON                 OH         66001855756
1481B66A976B33   BEATRIZ         BLANCA                 CA         90013946609
1482245745B59B   IRIS            DURAN                  NM         90010944574
14823485A91263   ANTONETTE       GLOVER                 GA         90014544850
1482444425B59B   IRIS            DURAN                  NM         90010944442
1482547A85B59B   CAMILLE         MOQUINO                NM         90004244708
14826123176B68   SHELLEY         MCDONALD               CA         46035321231
1482653944B26B   MARCIE          O'DOWD                 NE         26090275394
1482674A931635   HEIDI           LOGAN                  KS         90003667409
1482744845B59B   DENA            RUYBAL                 NM         36003734484
14827475172B62   MARIA           ESPARZA                CO         33055534751
14828382A47956   JAKE            QUICK                  AR         90013733820
14829A55576B33   FRANCISCA       CRUZ                   CA         90008490555
1482B35394B588   STACIE          BASHAW                 OK         90008703539
14831182876B33   THOMAS          GASTELUM               CA         90013151828
148318A719379B   KATHLEEN        DILLON                 OH         90013088071
14833139176B33   DUSTIN          CHARLES WOOD           CA         46062881391
1483333625B526   BEXAIRA         ROSALES                NM         90014333362
148339A8324B46   WILSON          SALGUERO               DC         90009189083
1483455A391569   YESICA          BARRAZA                TX         75084655503
1483518753B396   DORIS           ROMERO                 CO         33027991875
148352A8533B58   JUDIANNE        TASCHWER               OH         90014122085
148356AA491578   YVONNE          RAMIREZ                TX         90008916004
1483648A45B59B   DAVID           SALAZAR                NM         90008204804
14836588872B62   MISTY           CASILLAS               CO         90010565888
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14837958876B33   ELENA        GONZALEZ                  CA         90014579588
14838A35491569   MARIA        ROCHA                     TX         90006590354
14839155176B68   CHRISTIAN    KOLACZ                    CA         90011451551
14839684824B7B   MERCEDES     CEPEDA                    DC         81084596848
1483BAAA672B27   JOE          ARELLANO                  CO         90014860006
14842294976B68   LUIS         LOPEZ MARTINEZ            CA         46008522949
14843314A76B33   JOSE LUIS    AGUILAR                   CA         90012793140
1484393A391584   CARLOS       MARINEZ                   TX         90010459303
1484528A34B588   FERNANDO     MARTINEZ                  OK         90005592803
1484558227B489   BRANDI       BOURNE                    NC         90008415822
148456AA661938   LOPEZ        ARCADIO MORILLON          CA         90010216006
148459A295B59B   MARTHA       TRUJILLO                  NM         36053239029
1484719A776B33   ANGELA       LOPEZ                     CA         46012881907
148475A1547956   JERRY        FRAZIER                   AR         24002985015
14847985872B27   JAYSETH      NEAL                      CO         90013099858
14849669A4B26B   NICOLE       HARDMAN                   NE         26031606690
14849942A61925   YESENIA      ZAMORANO                  CA         90008039420
1484B254361958   LUZ          GUATEMALA                 CA         90014772543
1484B658851337   DOMINIC      ADDAI                     OH         90010466588
1484B775961936   SANTINO      YOUNGBLOOD                CA         90012137759
14851216772B62   ERIKA        GONZALES                  CO         90003062167
1485157A272B27   MARIA        SUSTAITA                  CO         90011275702
14852186276B33   ENRIQUE      CARRILLO                  CA         46091561862
148527A374B588   DESHUN       JONES                     OK         21552937037
14852A79891263   WILLIAM      LASLIE                    GA         90013360798
14853745472B64   JORDAN       BILLS                     CO         90000547454
148539A4291263   NICOLE       ROBINSON                  GA         90010779042
14853A11631687   MAHOGANY     SAUNDERS                  KS         90009380116
14854166276B33   UBALDO       PEREZ MONROY              CA         90013951662
14854782272B27   NAKITA       BAKER                     CO         90006167822
14854782672B62   OSVALDO      MEDINA                    CO         90010247826
14855848436B28   NATALIE      PHILLIPS                  OR         90011538484
14855A3A257147   YOHANA       PALMA                     VA         90013520302
14856231276B68   PROCOPIO     MUNOZ                     CA         90007672312
148564A1531687   JOSE         ROMERO                    KS         90009574015
14857146872B62   KELLY        RAY STUNES                CO         90008431468
1485723285715B   RONALD       SALINAS                   VA         90001862328
1485813A233B58   ERIKA        PARKER                    OH         90014131302
1485877185B154   SHARIA       HILLARD                   AR         90012717718
14859312772B62   KYLENE       VENABLE                   CO         90014803127
1485971155715B   DE LONTE     HENDERSON WOOTEN          VA         90014047115
1485B69A572B62   ANA DELIA    CERVANTES                 CO         90004146905
1486149755B526   DOROTHY      VELARDE                   NM         90014844975
14862433A61938   ANA          PEREZ                     CA         90013794330
148626AA591569   JUAN         BENAVIDES                 TX         75015706005
14863837976B33   OSIRIS       GUZMAN                    CA         90014888379
1486542A531664   BARRY        HAYNES                    KS         22006264205
14865867A33699   JENNIFER     SOUTHERLAND               NC         90014738670
14867A12576B33   MARIA        LOPEZ                     CA         90014410125
1486B1A9676B33   NORMA        MARTINEZ                  CA         90007401096
1486B3A5561938   STELLA       PUENTES                   CA         46005813055
1486B56324B26B   MEICHELL     HAYDEN                    NE         90015025632
1486B82994B588   JESUS        SANTOS                    OK         90013928299
1487158184B588   JESSICA      VIERRA                    OK         90015535818
14871838572B27   AHMAUD       JACKSON                   CO         90014888385
14871A37A4B26B   JACK         DIAZ                      NE         90007600370
1487211745B526   BEATRICE     GONZALES                  NM         90009441174
1487433614B26B   DAVE         ELLIS                     NE         26084313361
14875657A33699   MITCHELL     DAVIS                     NC         90010466570
148761AA55B154   APRIL        WHITE                     AR         90011201005
14876A92A91895   HEATHER      GARZA                     OK         90011970920
1487756284B588   CLAY         WEATHERALL                OK         90015155628
1487829895715B   DAVID        SUTHERLAND                VA         90015312989
14878829672B62   ILLIUANNA    CRUZ                      CO         90012108296
148796A474B26B   KIM          BORGAL                    NE         90006936047
1487B13724B588   JOSE         REYES                     OK         90002191372
1487B15934B26B   CORY         JOHNSON                   NE         26061151593
1487B29435715B   JOAN         RODAS                     VA         90000622943
1487B773176B68   JOSE         GACIA                     CA         46080087731
1487B825531687   STEVEN       TROSPER                   KS         22010658255
1487B997A72B27   JUAN         LOPEZ                     CO         90013099970
14882512676B68   DAVID        VITAL                     CA         46054605126
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14882962172B27   BERNARDO      VAZQUEZ                  CO         90001589621
1488422994B26B   JUSTIN        JAMES                    NE         26044382299
148842A8776B33   WIDMIVE       CESSOUS                  CA         90013952087
1488491465B154   TONI          GOODRICA                 AR         90007509146
1488515367B489   JASON         BYRD                     NC         11065411536
1488561A776B33   EDWIN         ARGEMI                   CA         46055216107
14885913972B27   AYECHEW       AMSALU                   CO         90014459139
14885A6383B324   DANIELLE      WILLIAMS                 CO         90003750638
14886427672B62   JULIETA       BASTIDA                  CO         33086944276
14887764676B33   SILVIA        SANCHEZ                  CA         46007767646
1488879644B268   GENE          COTTON                   NE         27094337964
14888821A4B26B   JESSICA       ROUSE                    NE         26053478210
14888951276B33   MIGUEL        MENDIOLA                 CA         46061899512
14888958676B68   JOSEFINA      CONTRERAS                CA         46051659586
1488B762391895   MARANDA       BALES                    OK         90012487623
1488B876261938   DAWN          LEWIS                    CA         46068028762
1488B96944B588   ROGER         EDMOND                   OK         90012269694
14891527672B27   GREGORIANA    OLIVAS                   CO         90013895276
1489154779377B   JASON         CUNDIFF                  OH         90010325477
14892485472B62   JASON         JHOA                     CO         90009404854
14892635A91569   NOE           LABRADO                  TX         90013966350
1489296525715B   VICTROR       VILLEGAS                 VA         90013309652
148934A5772B27   DANIEL        GONZALEZ                 CO         33095894057
14893583A7B323   RAQUEL        TAVARES                  VA         90003115830
14893A69576B68   MARIBEL       LABRA                    CA         90002360695
148942A7A51337   NINA          BROWN                    OH         90012902070
14894615272B77   CHRISTINA     DOZAL                    CO         33015946152
1489478595B526   GILBERT       SANTISTEVAN              NM         90013497859
14895193772B27   RUBEN         MEDINA                   CO         90011501937
1489532595B154   SHERRI        THOMAS                   AR         23059893259
14895379A33699   GRACIE        SULLIVAN                 NC         90014743790
14895A5155B526   JAMES         HARVEY                   NM         90014270515
14897A4A97B489   TAWANA        HOOD                     NC         90008840409
14898319872B62   FELIPE        MORENO                   CO         33037923198
1489838155715B   TRINIDAD      CRUZ FUENTES             VA         90013963815
14898398A76B33   JESUS         GARZON                   CA         90013173980
14899181176B33   FREDDY        MENDOZA                  CA         46095791811
1489964A972B62   BIANCA        GAYTAN                   CO         90014176409
14899A65A72B62   CARLOS        BALDERAS                 CO         90012580650
14899A76357147   NORMA         TURCIOS                  VA         90005150763
148B19A2155976   ARACELIA      DELACRUZ                 CA         90015269021
148B2694A4B588   JESUS         TRINIDAD                 OK         90009366940
148B2858891895   JOANN         RHINE                    OK         90012838588
148B2964976B33   SANDRA        MILENA                   CA         90006419649
148B32A3247956   RICHARD       CORDEIRO                 AR         90015582032
148B3614676B68   AMY           WHISTSON                 CA         90011046146
148B38A3572B62   CHRISTINA     ELDRIDGE                 CO         90001198035
148B4A59176B33   JOSE          JIMINEZ                  CA         46062610591
148B5784476B33   ROBERTO       PEREZ                    CA         46005567844
148B6314A76B33   JOSE LUIS     AGUILAR                  CA         90012793140
148B6528261958   AYDEE         PALMEROS                 CA         46075185282
148B6914533699   DANNEIL       DAVIS                    NC         90014729145
148B729165715B   SAMUEL        MARISCAL                 VA         90014892916
148B7416272B62   MARIO         ESPINOZA                 CO         90013084162
148B7621372B27   ANA           RODRIGUEZ                CO         90011186213
148B862954B588   LUMANUEL      SMITH                    OK         21552956295
148B867148B164   SALVADOR      MARTINEZ                 UT         31090596714
148B933485B526   ANDREW        ELLIS                    NM         35089453348
148B983A347956   HELEN         MASSEY                   AK         90013578303
148B9848455976   NOE ANTONIO   CHICAS                   CA         90008918484
148BB63552B958   ALBERTO       VASQUEZ                  CA         90003346355
148BB96345B154   MARLA         HARRISON                 AR         90014499634
148BBAA675B389   SANDRA        COLBERT                  OR         90012840067
1491347144B588   MARGIE        BRUNER                   OK         90002604714
14914818972B62   RUBI          TALAVERA                 CO         90012828189
1491586854B588   TRAIKEL       CHRYSTAL                 OK         90014758685
14915A5987B428   JOSE          REYES                    NC         11089500598
14916688372B27   DEBORAH       LANDRUS                  CO         90014566883
14917336A57147   KARLA         DIAZ                     VA         90011543360
149174A8191569   JUAN          ROSALES                  TX         75025374081
1491776A15B154   AMERICO       AMAYA                    AR         90015087601
14918178A72B62   AMANDA        PREWITT                  CO         33091471780
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149182A8255976   ANNA          ALVAREZ                  CA         49001392082
1491892125B154   DURANNA       MASON                    AR         23074699212
1491918838B166   TYLER         HOLMES                   UT         31019271883
1491B196276B68   ROSA          CALCANEO                 CA         90010841962
1491B287172B34   GONSALO       GALVAN                   CO         33002412871
1491B362891895   TANERA        WILLIAMS                 OK         90013073628
1491B6AA176B33   JESSICA       PULIDO                   CA         90012416001
1491B98715413B   YESICA        CORTEZ                   OR         90015369871
1492193385B53B   VICTORIA      OLIVAS                   NM         35064539338
14921A99372B62   CORY          MILLER                   CO         90013380993
14923492A4B588   TRACY         WHITTHORNE               OK         90010224920
14924339A72B27   SHANE         HORTON                   CO         90002713390
14924A25572B62   JASMINE C     KROUCH                   CO         90015200255
1492564A67B489   JASMINE       ALEXANDER                NC         90011016406
14927233424B55   WALTER        GONZALEZ                 VA         90014252334
14927428172B62   JEOVANI       GONZALEZ                 CO         90010334281
1492757A176B33   JUAN DANIEL   PACHECO RAMIREZ          CA         90013955701
149288A414B588   SUZETTE       HOPKINS                  OK         21583438041
149291A7461938   PRISCILLA     BRIGHT                   CA         90014761074
149296AA661938   LOPEZ         ARCADIO MORILLON         CA         90010216006
14931586176B33   DAMIAN        VELASCO                  CA         90013955861
149318AA191569   CHRIS         GARCIA                   TX         75039218001
1493325774B26B   MIKE          HOPKINS                  NE         90002962577
1493344A176B33   BEATIZ        AGUILAR                  CA         90010214401
14933558A33699   NORMA         HERNANDEZ                NC         12005915580
1493358325B399   SANDRA        DAVIS                    OR         90010695832
14933A2A593767   STACEY        GORDON                   OH         90013750205
14933A9724B588   MARTHA        PARDO                    OK         90013960972
14934934372B62   BARBARA       ODONNELL                 CO         33098789343
14934A95272B27   GALE          NOWLAND                  CO         33070430952
1493545934B26B   MOLLY         SMITH                    NE         90008954593
149359A2661958   JESSE         KLINE                    CA         90008549026
149365A1791895   ERIK          DIAZ                     OK         90011975017
14936667772B62   JONATHAN      BARRERA                  CO         90012166677
14936A55376B33   DIANA         OSORIO                   CA         90013660553
14937333A31687   MATTHEW       GILMERE                  KS         22093603330
14939146772B27   CATHERINE     HOLGUIN                  CO         90014121467
1493952922B857   BEATRIZ       CHAVES ORTIZ             ID         90014665292
1493958325B399   SANDRA        DAVIS                    OR         90010695832
1493962A257147   THEOPHILUS    DANQUAH                  VA         81032526202
14939821A91569   GUADALUPE     VARGAS                   TX         75028388210
14939A1927B489   CHRISTOVER    ESTRELLA                 NC         90013370192
14939A62161938   ADELA         DUARTE                   CA         46072640621
1493B155491569   BEATRIZ       GALVAN                   TX         90013941554
1493B42A172B62   EVELYN        ARCHULETA                CO         90004434201
1493B57424B26B   SHAD          MCROBERTS                NE         90015145742
1494124425B59B   SUSAN         ROSEBERY                 NM         36004842442
1494153295B526   TRICIA        ARMENDARIZ               NM         35099165329
14941812A4B588   CHANCE        RALLS                    OK         90015108120
1494241854B26B   JESHENA       GOLD                     NE         90014814185
14942846276B68   ESBEYDY       ZAVALA                   CA         90011118462
14942A3685B59B   FRANCES       ARELLANO                 NM         36065050368
14942A37991524   ELIZABETH     MONROY                   TX         90012210379
149435A5351337   DERRICK       FARELL                   OH         90011955053
1494481A361938   EVA           DEES                     CA         90009528103
14945A92791569   ARON          REYES                    TX         90013120927
1494616114B588   ISABELLE      SIETE                    OK         90010821611
14947483576B68   JANIRA        ROBLES                   CA         90014454835
1494774757B489   KAITAH        GBARBEA                  NC         90013017475
1494799AA4B588   ARRIAL        LAWRENCE                 OK         90011049900
14948611876B33   DANIEL        ARREOLA                  CA         90012096118
1494963A95B154   ROOSEVELT     HARRIS                   AR         90013506309
14949897876B33   FRANCISCO     RAMOS                    CA         90000558978
1494B298424B7B   LINUS         TIBUI                    VA         90003932984
1494B568872B27   MARY          CARTER                   CO         33089335688
1495112A472B62   INES          ALVAREZ                  CO         33012901204
14951236A5B59B   DANIEL        PADILLA                  NM         90012372360
14951397272B27   SOUCEK        MARK                     CO         90011593972
14954474972B62   LATEEF        HODGE                    CO         33039804749
149556A2361958   PATRICIA      PEREZ                    CA         90012636023
1495591AA5B154   BRANDON       MONTEGOMRY               AR         90014909100
1495619435B526   HOLGA         LOPEZ                    NM         90012041943
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1495697655B154   DOMINIQUE          HESTER              AR         90003219765
14957A26872B27   MARCOS SANTONA     RIVAS               CO         90013100268
14957A98572B62   CYNTHIA            SANCHEZ             CO         33098070985
1495877675715B   XINA               AMURRIO             VA         81084787767
1495895463B394   JUAN               BISHOP              CO         33061169546
14959355A57147   CLAUDIA            FUENTES             VA         81091983550
1495B976424B55   THOMAS             SUMOWALT            VA         81016819764
14962A71891569   VALERIE            FLORES              TX         90002890718
1496312877B489   JOHNNY             EVANS               NC         90007211287
14963427676B33   JULIETA            SIORDIA             CA         90007334276
14963A3A172B27   DENISE             RUIZ HERNANDEZ      CO         90013100301
14964852172B62   PEDRO              CORTES              CO         90004888521
1496488495B526   MARIANA            SANDOVAL            NM         35043358849
14964A89876B33   JOSUE              ACCITUNO            CA         90007160898
1496556234B26B   SELENA             HENJES              NE         90007605623
1496571564B588   RASHEDA            EHOBO               OK         90006667156
1496644594B588   MARY               HARPER              OK         90014664459
14966558A61958   AMALIA             HERNANDEZ           CA         90009625580
1496683314B52B   LUCRETIA           MCKINAEY            OK         90001128331
14967798576B68   ROSA               LOPEZ               CA         46010157985
1496957224B26B   MATTHEW            ETHRIDGE            NE         90013155722
14969958876B33   ELENA              GONZALEZ            CA         90014579588
1496B2A5861958   OUCH               SOPHAY              CA         90007912058
1496B576A72B62   DARIEN             MOLINA              CO         90001635760
1497134924B26B   DANIEL             ZEIGER              NE         26091603492
14971651376B33   STANLEY            ARAI                CA         90013956513
14971AAA557147   NICKOLAS           SEARS               VA         90012320005
14972258A55976   RAMIREZ            MARIA               CA         49089942580
14972749772B27   RONTRIE            MOORE               CO         33049527497
1497469655715B   FRANCIS            AGYAPONG            VA         90014056965
1497496A84B26B   JESSICA            MCBRIDE             NE         90014569608
14975A72641284   REBECCA            LAIRD               PA         51076050726
149763A3261938   MAGDALENA          MEZA                CA         90010003032
14976478A3B33B   DENISE MICHELLE    WHITE               CO         90010094780
1497785155B526   ANGEL              ATENCIO             NM         35001928515
14978264276B33   LIZ                WOLFF               CA         46029772642
149792AA24B26B   CHAD               PARKER              NE         90007012002
1497981355B154   JOSEPH             TUCKER              AR         90013468135
1497B22864B26B   BRYAN              CHRISTIANCY         NE         26031582286
1497B89622B273   SAMUEL             GREENE              DC         81064128962
14981996876B68   IVETTE             CORONA              CA         90011379968
14981A77485932   CAROL              CLEMENS             KY         90007770774
14981A97571976   PEDRO              ALDANA              CO         90007790975
1498311A457147   BRENDA             ESTRADA             VA         90004341104
1498329374B588   ERIKA              CARCAMO             OK         90001842937
1498333346192B   JEFF               EXNER               CA         46042453334
1498377477B386   FRANCISCO          CONTRERAS           VA         90002057747
149841A7633699   DAVID              LOPEZ               NC         90014771076
1498459A74B26B   CYNTHIA            WARE                NE         90014865907
149856A8431943   MARIA              GARCIA              IA         90015046084
1498615A893725   TASHINA            FUDULOFF            OH         90003821508
149863A2272B62   LEANN              LOPEZ               CO         90007353022
14986A29A55933   VICTOR             RIZO                CA         90014140290
14986A77255976   HUMBERTO           HERNANDEZ           CA         90014530772
14987122A72B27   ERICA ELIZABETH    MEDINA              CO         90013781220
14987667A76B33   MARTIN             SANCHEZ             CA         90013966670
14987A1874B26B   LISA               WOLFE               NE         90001970187
1498921227328B   ANDRZEJ            KOWALSKI            NJ         90015162122
1498946635715B   BAMBI B            COATES              VA         90013314663
14989A4A761938   RUBEN              PEREZ               CA         90006560407
1498B628955976   AIOTEST1           DONOTTOUCH          CA         90015116289
1499149A291899   ROXANA             VARGAS              OK         21069704902
1499171225715B   DIANE              LAWSON              VA         90009067122
14993AA6247956   LETICIA            BUSTER              AR         24044100062
149944AA133B43   NATE               MCDONALD            OH         90014134001
1499484A75B526   HEIDI              MUNOZ-DOMINGUEZ     NM         35005218407
1499546A672B27   ALISSA             ROUNDTREE           CO         90011094606
149954A6A8B832   SHANENA-MICHELLE   LINO                HI         90014654060
14995746472B62   NOREEN             MCCREA              CO         33085317464
149957A265B526   VICTORIA           NORTON              NM         35041917026
14997251372B37   CYNTHIA            LOPEZ-HERNANDEZ     CO         90000642513
1499772A391895   FELICIA            PRICE               OK         90011977203
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14997992A72B62   BLANCA             TORIBIO             CO         33022789920
1499B35865715B   ENCANACION         GUZMAN              VA         81074573586
149B16A2491263   TILWANA            BARNWELL            GA         90001246024
149B16A825B154   KATRINA            YORK                AR         90013366082
149B1869133699   KATHLEEN           JOHNSON             NC         12004808691
149B1A51761958   CLAUDIA            ALEJANDRA           CA         90009790517
149B1A65A61958   CLAUDIA            GARCES              CA         90012960650
149B2189291263   JENNIFER           DAVIS               GA         90012901892
149B2625691549   MARIA              SOLORZANO           TX         90003936256
149B2698355976   JUANCARLOS         ARVIZU              CA         49080326983
149B276495715B   MARIA              RIVERAS             VA         90010357649
149B277847B489   KIARA              ROBBINS             NC         90010657784
149B2A2984B26B   SARA               HANSEN              NE         26031500298
149B3A42572B62   JODENE             SHERWOOD            CO         33075990425
149B473234B26B   RESHELL            RAY                 NE         26080967323
149B4741576B68   JAMIE              DEBOLD              CA         46018147415
149B4A99491895   ANDREW             LEADER              OK         21002160994
149B5363291895   EVAN               DICK                OK         21003193632
149B562282B262   APRIL              BARNES              DC         90012716228
149B562A972B62   LOURDES            RIVERA              CO         90005376209
149B5713291569   FRANCISCO          CHAVEZ              TX         75035457132
149B618834B26B   ANNISSA            KNIESTEADT          NE         90013581883
149B6677951337   ANDREW             GOSSETT             OH         90010056779
149B6A56547956   ALEXANDRO          BURCIAGA            AR         90005380565
149B733A951337   DEMETRIUS          LAIL                OH         90015123309
149B7563776B33   CLAUDIO            ARENAS              CA         90000825637
149B8398A76B68   JARVIS             WASHINGTON          CA         90009263980
149B8426172B62   CARLOS             DOMINGUEZ           CO         33053214261
149B845575715B   OSCAR              PADILLA VALERIANO   VA         90008274557
149B846423B394   ELIZABETH          STEVENSON           CO         33093944642
149B8757161958   CASTILLO           SANCHEZ             CA         90013197571
149B894A65B526   EMMIE              RODRIGUEZ           NM         35055199406
149B9499376B33   MARIA              ZAMORA              CA         90013954993
149B9A94972B27   MARIA              NAVA                CO         90013990949
149BB529141384   COURTNEY           BENHAM              MA         90014245291
149BB79A376B68   JESSE              RAMIREZ             CA         90011117903
149BB853831687   DOROTHY            MAHON               KS         90012638538
14B1125775B526   BARBARA            MARQUEZ             NM         90015202577
14B11498461938   CANDACE            JOHNSON             CA         90013664984
14B11511891569   ANNALICIA          QUINTANA            TX         75062835118
14B1242687B373   PARUL              JAIN                VA         81073844268
14B12A3625B59B   PHILLIP            JOHNSON             NM         90013280362
14B13318291569   GILBERT            VELASQUEZ           TX         90009493182
14B1351A957147   RICHARD            STAGGERS            VA         90013915109
14B1353463B122   JUAN               MIRANDA             VA         90008645346
14B13A21572B27   BRANDON            GASAWAY             CO         90013090215
14B1497195715B   ANGELA             GALEASI             VA         90007779719
14B14A8954B588   AMBER              GLASS               OK         90014730895
14B1512AA4B588   JESSIE             GAROUTTE            OK         90015371200
14B153A654B588   AUSTIN             LARRY               OK         90011203065
14B15548961938   MARIA              JULIA               CA         90010745489
14B15673547956   RANDALL            HINTON              AR         24056506735
14B15782191263   SHONDA             ORR                 GA         14570687821
14B1651446192B   YVETTE             MAGANA              CA         46064365144
14B16579376B68   GUILLERMO          SANDOVAL            CA         90014185793
14B1725155B154   SHARON             CORNICE             AR         90011902515
14B1737AA7B35B   LUCY               PEREZ               VA         81055603700
14B17651633699   JUMART             KELUBIA             NC         12011456516
14B17959947836   EPHARIAM CHARLES   PEEK                GA         90003809599
14B18139591573   JOSE               JUAREZ              TX         90011991395
14B18615533699   ELIZABETH          THOMAS              NC         90014166155
14B18663791895   LEANNE             DAVISON             OK         90005056637
14B18876755976   CESAR              MARQUEZ             CA         49080918767
14B18983991899   JOSEPH             COOPER              OK         90013489839
14B189AA57B489   AMBER              OUTLAW              NC         11009769005
14B18A5587B489   APOLINAR           SOSA                NC         90012220558
14B18A6A676B33   LUIS               RAMIREZ             CA         90014870606
14B18A72461958   MELISSA            AVERELL             CA         90013450724
14B19146891569   LAURA              RODRIGUEZ           TX         90005031468
14B19645655976   JENNIFER           LARA                CA         49042706456
14B19954261938   SEAN               NEALY               CA         46057929542
14B1B176376B33   DANIELLA           CALDERON            CA         90013501763
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14B1B61A52B227   LATEYIA       GASTON                   DC         90009656105
14B1B717555976   ANA           LAMAS                    CA         90005977175
14B2118A757147   CHRISTIAN     KOUER                    VA         90013001807
14B2275445B154   KARA          PARSLEY                  AR         90011107544
14B2337A94B576   EUGENE        BROWN                    OK         90010393709
14B2364555715B   PHIL          ABISOGNIO                VA         90013036455
14B2375695B59B   CRYSTAL       CATANO                   NM         90013077569
14B24417A5715B   CHRIS         CLOUDEN                  VA         81020194170
14B24429476B68   CAMERON       MITCHELL                 CA         90008304294
14B24587661938   TRINIDAD      AVILES                   CA         90005925876
14B2569475B526   GREGORIO      RANGEL                   NM         90015206947
14B2595692B85B   WHITNEY       LEAVITT                  ID         90014899569
14B25AA615B59B   ORWIN         JANICE                   NM         90015350061
14B26418147956   CYLINDA       MERRILL                  AR         24043954181
14B26445531635   MICAH         MALM                     KS         90005844455
14B26635724B55   NORA          GARCIA                   DC         81094036357
14B266A8684399   MONIQUE       EDWARDS                  SC         90014286086
14B26787A7B489   DAMON         CRAWFORD                 NC         11016987870
14B26829433B95   MYA           IRIZARRY                 OH         90014178294
14B27826661938   MARIA         VEGA                     CA         46077598266
14B27A6495B59B   PHYLLIS       HERRERA                  NM         90014650649
14B28314261938   PATRICIA      ELLIS                    CA         46076273142
14B28857931687   OMAR          GARCIA CHAVEZ            KS         90008968579
14B28985647956   BRODY         HARPER                   AR         90014299856
14B28A1577B489   BRIAN         THOMAS                   NC         90015020157
14B29455451337   DANIELLE      OWSLEY                   OH         90015444554
14B29458661958   YVONNE        SOTO                     CA         46008764586
14B2B476A76B68   ROSA          GARCIA                   CA         90014704760
14B2B54945B59B   FREDDY        ROMERO                   NM         90014555494
14B2B815791927   WILLIAM       WOODRUFF                 NC         90006548157
14B2B92145715B   EDITH         TORRES                   VA         81020189214
14B2BA28691885   EDIE          MARTINEZ                 OK         90011960286
14B31225561938   JOSELITO      DE JESUS                 CA         90014722255
14B31254855976   MARY          YRACEBURU                CA         49083122548
14B3126985B59B   ARCHIE        TRUJILLO                 NM         90008922698
14B31395676B68   LAURA         AGUILAR                  CA         90014753956
14B31523976B68   ANTONIA       ZAMORANO                 CA         90014735239
14B317A7A5B154   DM            JARRETT                  AR         23033037070
14B31947A7B489   SANTINA       SANDERS                  NC         90012979470
14B32488876B68   SOCORRO       SANTIAGO ESPINOZA        CA         90012754888
14B32815655936   JASON         WEB                      CA         90013948156
14B3361278B179   SCOTT         LEE                      UT         90010516127
14B3456895B59B   DANIEL        DUARTE                   NM         90012185689
14B34764372B27   DANTE         MARTINEZ                 CO         33093437643
14B35336791263   ALFONZO       MILLER                   GA         90008283367
14B35466276B33   MARIA         JIMENEZ                  CA         90013094662
14B35557957147   EDGAR         RAMIREZ                  VA         90012015579
14B3586285B59B   CHRISTOPHER   LAW                      NM         90010558628
14B3625485B154   SHAKEELA      CUSHMEER                 AR         90008052548
14B36265A91569   MANUEL        RODRIGUEZ                TX         90014802650
14B36555291263   LATONYA       GADSON                   GA         14581125552
14B366A224B588   LAKEISHA      SPADY                    OK         90014676022
14B37473691895   JEANETTE      KING                     OK         90013824736
14B37658876B68   NOE           RESENDIZ                 CA         90004286588
14B3772A961938   MARILYN       BOGAN                    CA         90011947209
14B377A7884329   JASMINE       GRANT                    SC         90012587078
14B3785765B59B   LOLA          DIVASO                   NM         90014658576
14B37956891895   EARLYN        BARBEE                   OK         90014589568
14B3873815715B   AGAPITO       MEDRANO CASTRO           VA         81038797381
14B3882537B489   OK            PRODUCTIONS              NC         90013978253
14B38864861958   VAZQUEZ       RICARDEOO                CA         90008798648
14B39169761938   SAUL          CANELA                   CA         90010361697
14B39391776B33   JUAN CARLOS   ROMERO                   CA         90013233917
14B39643576B68   JOSELINE      ZAMORA                   CA         90010946435
14B39A57155976   SHARLA        DEVOLD                   CA         49087830571
14B39A83672B62   BARBARA       MC NABB                  CO         33037380836
14B3B372961938   GARY          JOHNSON                  CA         46022543729
14B3B456891263   LAKEESHA      MANN                     GA         90013584568
14B3B773A33625   SHALON        CHATMAN                  NC         90005227730
14B3B896357147   MARGARITA     AREVALO                  VA         90004488963
14B41517A72B95   CESAR         PAREDE                   CO         90012005170
14B419A5172B37   ANTHONY       SANCHEZ                  CO         33076229051
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14B42186A9379B   ERIC             ZIMMERMAN             OH         90005691860
14B42193691569   MARIA            TORRES                TX         90011891936
14B42312824B7B   JOHN             WILSON                DC         90010373128
14B42764676B33   DORALINA         ROBLERO               CA         90008517646
14B44218391263   EDGAR            SMITH                 GA         90014462183
14B44246A91569   DAVID            SAMBRANO              TX         75042472460
14B44368551337   CHRIS            TEMPLETON             OH         90000133685
14B44A8A676B68   JESUS            GARCIA                CA         90013090806
14B45742561958   SALOME           PELAEZ                CA         90012247425
14B45A23972B27   NICOLE           PALMER                CO         90013090239
14B4662365B59B   GARY             GREGOR                NM         90012356236
14B4683445B59B   KAYLA            LUCERO                NM         90013328344
14B47115272B29   RAFAEL           SANDOVAL              CO         90012991152
14B47225A72B62   DAN              MEZA                  CO         33049012250
14B47255351337   TYROAN           KENT                  OH         90001932553
14B47516651337   LASHAUNDA        DENNY                 OH         90011475166
14B48358572B62   MICHELLE         DVURAK                CO         90014753585
14B49195A61958   RAUL             MEDINA                CA         90009061950
14B4921A972B37   VERONICA         LOPEZ                 CO         90012502109
14B49381955976   MARIA            IRVING                CA         90000913819
14B493A8791899   RANDY            GRAVES                OK         90013483087
14B49485376B33   FELIPE           ORTEGA                CA         90003774853
14B4975966193B   ALEJANDRO        DELATOBA MAESTRE      CA         90013387596
14B49968791895   JUDY             GRIGG                 OK         21039869687
14B4998593146B   WILLIAMS         JACKSON               MO         27540259859
14B4B199861938   DOLORES          MONTANO               CA         90006941998
14B4B34417B489   YVONNE           ELINGA                NC         90012643441
14B5198599373B   THEODORE         DENSON                OH         90011469859
14B51A9A776B68   OMAR             VALENTIN              CA         90013090907
14B52111461938   ELIJAH           VIGIL                 CA         90013961114
14B52521876B33   UBALDO           PEREZ MONROY          CA         90013245218
14B52877691263   AMBER            CARPENTER             GA         14590888776
14B52A81976B33   MARTIN           WILLIAM MORALES       CA         90010960819
14B52A97631687   SHAUNTALE        WILLIAMS              KS         90009200976
14B52A98172B27   CLAUDIA          MIRAMONTES            CO         33085620981
14B52A9A776B68   OMAR             VALENTIN              CA         90013090907
14B53368551337   CHRIS            TEMPLETON             OH         90000133685
14B53531676B33   GUSTAVO          MENDOZA               CA         90013245316
14B5356114B26B   KAREN            BRYANT                NE         90014685611
14B53A34191526   IVONNE           ESPINOZA              TX         90002100341
14B54156576B68   ALFONCE          LOPEZ                 CA         46001651565
14B54365A91569   HECTOR           FLORES                TX         90013893650
14B5485765B59B   LOLA             DIVASO                NM         90014658576
14B559A9A51337   ASHLEE           BOOKER                OH         90015589090
14B56246A91569   DAVID            SAMBRANO              TX         75042472460
14B57332957147   MARIA            GARCIA                VA         90012723329
14B575A245B154   FIDENCIO         MAYA                  AR         90013555024
14B57649291569   IVAN             DE LA RIVA            TX         90005236492
14B58217791569   JAVIER           VASALLO               TX         90002672177
14B58267361958   MEREYA           ARELLANO              CA         46065552673
14B5855135B154   MELODY           BRANCH                AR         90014725513
14B58676731635   SAMEKA           CROSBY                KS         90005846767
14B58985647956   BRODY            HARPER                AR         90014299856
14B59394191899   MARK             FISHER                OK         90011193941
14B5952A891895   STEVEN           GARY                  OK         21089585208
14B59678A5B526   MICHEAL          HERRERA               NM         90002796780
14B59A12733699   JEFFREY          HICKS                 NC         90014180127
14B5B271272B27   JESSICA          SLAGEL                CO         90013102712
14B5B736491569   RIOS             DANNY                 TX         90013937364
14B6125A333699   FLORA            CLARK                 NC         90014862503
14B61676731635   SAMEKA           CROSBY                KS         90005846767
14B61967157147   ROBERTA          CAMPBELL              VA         81069199671
14B61A38672B27   OMAR             GONZALES PADILLA      CO         90013090386
14B6237215B154   JENNIFER         LEWIS                 AR         90008053721
14B62812161938   PATRICK          MURPHY                CA         90013448121
14B629A2372B27   LENA             RAIBON                CO         33058219023
14B63632876B68   YETNALETZIL      HERNANDEZ             CA         90014186328
14B64398A55976   SURJEET          SEINGH                CA         90013593980
14B644A465B154   DAVID            GARRY                 AR         90008924046
14B64522576B68   PAUL             TRAUSCH               CA         90013245225
14B65678491524   AURORA ELIZETH   FIGUEROA              TX         90007086784
14B66131476B68   STEVEN           SHARP                 CA         90013091314
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14B66244557147   JEFF         YOUNGER                   VA         90010632445
14B66544776B68   CAROLINA     NAVA                      CA         90013155447
14B6657735B526   JOSE         TELLEZ                    NM         90007085773
14B66A51872B27   NAOMI        ORONA                     CO         90014070518
14B67269172B62   NORMA        OROPEZA                   CO         33083032691
14B6727864B588   KATAIRNA     RAINES                    OK         90013292786
14B67923147956   MARISSA      SANCHEZ                   AR         90010459231
14B67A57155976   LEO          FLORES                    CA         49076620571
14B6811535B154   QIANA        ROBERTS                   AR         90012461153
14B6824447B489   STEPHEN      DOLNIAK                   NC         90014962444
14B6833887B489   STEPHEN      DOLNIAK                   NC         90012623388
14B68415261938   ANDREW       LOPEZ                     CA         90013034152
14B6848894B588   KEVIN        WILLIAMS                  OK         90013314889
14B6858375B59B   AMARA        GARCIA                    NM         90014785837
14B6881235715B   DONALDO      BUESO                     VA         90013938123
14B6896557B489   STEPHEN      DOLNIAK                   NC         90013359655
14B68A9A233699   DEXTER       GIBSON                    NC         90014180902
14B69379591263   LARENZO      WILLIAMS                  GA         90013823795
14B69A87457147   ISTMENIA     MORALES                   VA         90012880874
14B6B51165715B   YESSENIA     CARDOSO                   VA         90014135116
14B6B895647956   ROSA         RODRIGUEZ                 AR         90013628956
14B6B912591895   JODY         TAYLOR                    OK         90013139125
14B6B924455976   FABIAN       OLVERA                    CA         90006709244
14B6B938857147   BRENDA       MUNOZ                     VA         90015069388
14B6B998981539   KELSIE       POWELL                     IL        90014359989
14B7137485B154   FLORENTINO   ESTRADA                   AR         90013273748
14B71575491569   DAVID        RODRIGUEZ                 NM         90013965754
14B72636876B68   EVA          PACHECO                   CA         90014186368
14B72964472B62   CARLOS       GOMEZ BARRON              CO         33011489644
14B73161157199   JONATHAN     GUEVARA                   VA         90006151611
14B7322A49196B   JOANN        INGOGLIA                  NC         90007122204
14B73311276B68   DAVID        CHANES                    CA         90006303112
14B73582291899   JACOB        HARSHA                    OK         21032005822
14B73AA524B26B   SAVANNAH     CZOLGOS                   NE         26040560052
14B74415791263   SARA         STRINGER                  GA         90010264157
14B75163961938   DENA         LONG                      CA         90012361639
14B75284491569   ELVIRA       BARRAZA                   TX         90004962844
14B7589435B526   AMBER        GARCIA                    NM         35004458943
14B75A93147956   TASHARA      THOMAS                    AR         90012700931
14B76213833699   JONI         DORMAN                    NC         12058642138
14B763A585B59B   RICO         LOPEZ                     NM         90011393058
14B7655217B489   SHANICE      CROWLEY                   NC         90013315521
14B7732555B59B   JESSICA      TREVISO                   NM         90011173255
14B773A7847956   RANDALL      WILLIAMS                  AR         90010143078
14B77553491899   TIMOTHY      MORREN                    OK         90013485534
14B77577591263   THOMAS       MARTIN                    GA         90011975775
14B776A145B526   ASHLEY       AYALA                     NM         90005536014
14B779A2847956   DEBORAH      RUTH                      AR         90013009028
14B78337455976   DELPHENE     DUPREE                    CA         90014183374
14B7865615B59B   SUSANA       HERMOSILLO                NM         90014786561
14B79221291263   JEROMNE      ANDREWS                   GA         90014382212
14B7955745B526   ERIC         CONTRERAS-RETANA          NM         90012475574
14B79675557555   CARA         FULLER                    NM         90005426755
14B79843355976   LEE          VANG                      CA         49068788433
14B7999614B588   JAN          FIKE                      OK         21597869961
14B7B117657147   MOHAMMED     MAHMI YAKUBU              VA         90001901176
14B7B555891964   LOLITA       BUTLER                    NC         90007985558
14B81529A33699   SAMANTHA     JONES                     NC         12003055290
14B81531572B62   BIANCA       SANCHEZ                   CO         90014595315
14B81575361958   RAFAEL       LAZO                      CA         46075055753
14B8158865715B   ALBERTO      VALENCIA                  VA         81089565886
14B82316961938   LISA         JONES                     CA         90013823169
14B8256A255976   JOEL         GOMEZ                     CA         90012185602
14B82715176B68   CECILIA      ARRIOLA                   CA         90014187151
14B83451572B62   ELOY         ENRIQUEZ                  CO         90014994515
14B83671361984   CONSUELO     RODRIGUEZ                 CA         46012796713
14B83885461958   GUSTAVO      MENDOZA                   CA         90014518854
14B8456295B526   FIDEL        AVILA-LOZANO              NM         35007055629
14B85222491569   GLORIA       NAVARRO                   TX         75059992224
14B85729172B62   ERIC         STORRS                    CO         33029717291
14B8578655715B   CARLOS       ARMANDO                   VA         81020277865
14B8627965B526   BONNIE       SPECTER                   NM         90010262796
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14B86511591B38   TTANISHA          SANFORD              NC         90015045115
14B86A38472B27   JENNY             ESTRADA              CO         33032200384
14B87587757147   MARCOTULIO        CANO                 VA         90001275877
14B8829995B59B   CELINNA           BORREGO              NM         90010752999
14B88867447956   SONJA             HIGH                 AR         24010368674
14B8B939576B33   NANCY             MARTINEZ             CA         90012999395
14B8B965455928   LUIS              MEZA                 CA         90010349654
14B9147A65715B   JARLIN            LOPEZ                VA         90000824706
14B92484A57125   OLIVIA            ZENDJA               VA         90000684840
14B92576947956   KEITH             ANDERSON             AR         90010975769
14B92A65991836   STUART            MEYER                OK         21070540659
14B93328376B33   MARIO             VELASO               CA         90001873283
14B93595524B55   MAURICIO          FLORES               VA         90003765955
14B9387924B26B   RAMONE            ERVING               NE         90014028792
14B9437A831687   KIMBERLY          MITZEL               KS         22012913708
14B94579261938   RUBEN             ANTUNEZ              CA         90007415792
14B94618847956   DENNIS            COUGHRAN             AR         90010976188
14B95199A91569   MARCOS            MADRID               TX         90011131990
14B95393291895   BROWN             LATRECIA YVONNE      OK         90013703932
14B95556933699   JILL              FALLS                NC         90014715569
14B9594837B489   SHARON            GRISSON              NC         11082269483
14B95A28151337   HOWARD            JONES                OH         90008860281
14B95A8433B334   VERONICA          CONTRERAS            CO         33066040843
14B96388991569   NORMA             TOSCANO              TX         90004403889
14B96617741276   EDWARD            NIEDBALA             PA         51065316177
14B96A86272B62   MICHAEAL          CHAPMAN              CO         33008300862
14B971A4161938   MYRNA             GUILLINS             CA         46022871041
14B98A99791895   MARIELA           LOZORIA              OK         90014590997
14B99715176B68   CECILIA           ARRIOLA              CA         90014187151
14B9983A757147   JAMIE             WHRITENOUR           VA         90014388307
14B9992975B526   KENNETH           CHAVEZ               NM         90008149297
14B999A4261958   DANIEL            WOODS                CA         46053509042
14B9B999471967   AMANDA            RICHARDSON           CO         38043539994
14BB136AA61958   CARLA             LLANOS               CA         46053493600
14BB22AAA91569   LUIS              MORENO               TX         90012892000
14BB2519847956   NELSON            CIRILO               AR         90001395198
14BB2997991899   MICHAEL           YOUNG                OK         90013479979
14BB3326676B68   TIMOTARIA         NAVAL                CA         90014723266
14BB3462791569   JULIA             MORA                 TX         75044484627
14BB355975B59B   SHIRLEY           GILLIGAN             NM         90015375597
14BB3747576B68   KAREN             HERNANDEZ            CA         90009507475
14BB3839433699   SHIRLEY           FOSTER               NC         90009358394
14BB462284B588   WILLIAM           PALMER               OK         90010196228
14BB4736755933   ELIZABETH         LEON                 CA         90011507367
14BB54A5176B68   CIRILA            RIOS                 CA         90010334051
14BB5523341249   BEN               FRANK                PA         90013495233
14BB65A285B59B   BARBARA           SALAZAR              NM         90011635028
14BB6AA9A72B27   TASHA             LOZANO               CO         90013090090
14BB726184B26B   JUSTIN            TAYLOR               NE         90011522618
14BB7465791569   MARTIN            RIVERA GUTIERREZ     TX         90013814657
14BB7655361938   EDDIE             SHAW                 CA         46007496553
14BB775AA5715B   YESENIA           GRANDE               VA         90012337500
14BB7779933699   MERCEDES          JUAN                 NC         90003287799
14BB77A3261958   TYLECIA           JACQUESS             CA         90012497032
14BB8311A61938   CHRISTOPHE        JONES                CA         46057683110
14BB8A12247956   PAYGO             IVR ACTIVATION       AR         90015330122
14BB9346397B69   AMY               DAVIES               CO         39003823463
14BB941227B489   EBONY             BLACKWELL            NC         90000174122
14BB976AA4B267   MARIA GUADALUPE   ZAMORA               NE         90010307600
14BBB326676B68   TIMOTARIA         NAVAL                CA         90014723266
14BBB792876B33   JUDY              JORDAN               CA         90014877928
14BBBA8164B26B   LUVRECIA          MAY-LAZARO           NE         90010560816
151137A8881659   CECE              SUMNER               MO         90008177088
15113858A55976   GUADALUPE         CEDENO               CA         90010828580
15113984272B62   MARCOS            DURAN                CO         33058759842
15114895A57147   TANEISHA          DAVIS                VA         90013278950
1511495A455976   CESAR             LAOENG               CA         90013029504
151151A149136B   JANICE            SCOTT                KS         29089931014
1511555A54B26B   JOHN              FISHER               NE         90008785505
151163A4672B62   MONICA            MENDEZ               CO         90008653046
1511816294B26B   DAVID             URCINO               NE         90012201629
1511851865B59B   DIXIE             COZART               NM         36034635186
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1511B754772B62   BETH         GAGNIER                   CO         90014087547
1511B768555976   OSCAR        LOPEZ                     CA         90014307685
1511BA9245B154   CASIE        MORRISON                  AR         90009260924
1512119835B526   ROBERTO      MARTINEZ                  NM         90013531983
15122596A9373B   CRISSY       BAKER                     OH         90013495960
151232A8555948   EMMANUEL     LEGERE                    CA         49069552085
1512475A561938   GLADYS       DOUGLAS                   CA         46095257505
1512543AA72B62   JUAN         PEREZ                     CO         33044874300
1512612A672B89   TRENTON      THOMPSON                  CO         90012241206
15126326272B62   BRANDON      SAGERT                    CO         33034873262
15127A6288B166   FRANCISCO    RAMIREZ                   UT         90007660628
151283A485B154   CEDRIC       GAITHER                   AR         90012783048
1512843AA91263   CHRIS        HUELL                     GA         90010534300
1512862855B55B   RACHEL       DUTTON-LEYDA              NM         35010666285
1512871435715B   CESAR        REYES                     VA         81021757143
1512978387B489   TKEYAH       THOMPSON                  NC         90013817838
15129A1465B526   VERONICA     GOMEZ                     NM         90004170146
1512B215991263   SARA         CLINE                     GA         90011422159
1512B49695B526   MICHELLE     PARKER                    NM         90006664969
15131941172B62   EVELIA       BATALLA                   CO         90014409411
15132885A9373B   LORIEN       BIBB                      OH         90002388850
151329A135715B   DEBRA        BLOCKER                   VA         90010749013
1513323964B26B   JAMES        WOHLGEMUTH                NE         90011392396
1513361644B26B   LADONNA      BIVENS                    NE         90015016164
1513446665B526   AMY          VARGAS-TRUJILLO           NM         90011854666
1513478349373B   LLAINE       ARIAS                     OH         90013487834
15135376A7B489   ANTONIO      JOHNSON                   NC         90011913760
1513682619373B   SHAWN        SHANER                    OH         90011758261
1513877125B154   STEVE        BYRNE                     AR         90001837712
1513888369373B   GLYNN        LEWIS                     OH         90004348836
1513954A591895   ACACIA       COUNTS                    OK         90009005405
1513B276591569   JOAQUIN      MARRUFFO                  TX         90014542765
1513B336991895   ANDREW       ROCK                      OK         90014683369
1513B64989373B   GIONIA       ANDERSON                  OH         64504886498
1514254745B526   DANIELA      MARTINEZ-MARTINEZ         NM         90012335474
151432A3A7B489   CORNELIO     GARCIA                    NC         90014112030
151444A6A7B489   NATAKI       STINSON                   NC         90014914060
1514469559136B   DEEANNA      JOHNSON                   KS         29089956955
15144AA4772B62   SYLVIA       HERNANDEZ                 CO         33042520047
151453A3257147   MOISES       COMIA                     VA         90014883032
15146977372B62   MARIA        PEREZ                     CO         33039219773
1514715915B526   LARRY        KING                      NM         90014381591
151483AA355948   FRANCISCO    BEDOLLA                   CA         90007143003
15149A49454122   GISELLE      FULLER                    OR         47040210494
1514B234591569   MARISELA     RIVAS                     TX         90013612345
15151561A91569   STEPHANIE    CANO                      TX         90014005610
1515198685715B   JULIO        ZABALA                    VA         90010749868
1515369289373B   ISIS         MORRELL                   OH         90008446928
15154A5A572B23   CESAR        VALDEZ                    CO         33014860505
15155239A47956   SHERICA      SCOTT                     AR         24019832390
151558A6355948   MARIA R      HERNANDEZ                 CA         49017058063
15158AA114B26B   ANITA        DILLON                    NE         26086080011
15159287A91895   MELINDA      HOLMES                    OK         21096872870
1515933575715B   TOMIC        IVAN                      VA         81016663357
151595A9891569   ROBERT       DURAN                     TX         90014855098
1515B772155976   DARIO        CHAVEZ                    CA         90013007721
1515BA21447956   KEELIE       BOTELLO                   AR         24074540214
15162367A47956   MARY         TYLER                     AR         24083963670
15162467A31687   STEVE        REYES                     KS         90001514670
15163654272B62   SAM          SOUTHWORTH                CO         90014566542
15163A76591554   MARIA        GUERRERO                  TX         90005650765
1516411729373B   JERRY        HAYDEN                    OH         90013441172
15164672372B62   EDNA         WITRON                    CO         90013646723
151649A719373B   JERRY        HAYDEN                    OH         64507319071
1516698495B348   BARBARA      BILLOW                    OR         90006939849
15166A86857147   VICTOR       ESCOBEDO                  VA         90006200868
1516781365B526   ARMIDA       DURAN                     NM         35084398136
1516791534B588   JOSEPH       SHRUM                     OK         21546129153
1516842372B968   JOSE         COVARRUBIAS               CA         90011284237
151687A9991263   JEREMY       WILLIAMS                  GA         90013207099
151696A4891578   GILBERT      GARCIA                    TX         90002466048
1516B18414B26B   ANNEDRA N    HULL                      NE         26097291841
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1516B59647B489   TIFFANY      TEAGUE                    NC         11081485964
15171474172B3B   PAULA        LOPEZ                     CO         33088404741
1517148A524B7B   HECTOR       OCAMPO                    VA         81027664805
1517197655B526   MONICA       GURULE                    NM         35006929765
1517221314B26B   ANDREA       PRANGE                    NE         26039222131
151736AAA9373B   CHRISTINE    NEFF                      OH         90002666000
1517531219136B   ROXANA       RAMIREZ                   KS         29059743121
1517691275B526   WILDA        TOLEDO                    NM         90010949127
1517912388B179   DANIEL       WINDER                    UT         90006661238
15179A6295B526   MARIE        ORTEGA                    NM         35088960629
1517B573A7B489   AVIS         STROUD                    NC         11054085730
1517B62A155976   EUGENE       HAYS                      CA         90015166201
1517B823291569   DAVID        ESPARZA                   TX         75065638232
1517BA7A75715B   OSCAR        RECINOS                   VA         81036780707
1518127A87B426   JUAN CARLO   ZARCENO                   NC         90001302708
1518176925B154   DELIZA       COLLINS                   AR         90014687692
15181A6A95715B   CECILIA      CASTILLO                  VA         90013420609
1518323A691569   EDUARDO      IBARRA                    TX         90012952306
1518332A95B526   BRIAN        NORTON                    NM         90011293209
1518377485B526   JERILYNN     WATRIN                    NM         90011197748
1518513835B348   MARIAH       ALI                       OR         90003651383
1518519437B489   BRENDA       LENOIR                    NC         90013981943
1518729997B489   LARRY        SPRINGS                   NC         90011132999
1518737A72242B   GLORIA       PINEDO                     IL        90000303707
151888A5347956   ASHTON       DEAN                      AR         24009128053
1518B2A4A7B489   JOSHUA       HAWTHORN                  NC         90001052040
1518B483591895   WINDY        CLARK                     OK         90003124835
1518B7A1785B29   JOSE         MARIN                     FL         90015397017
1519168287B489   TIMOTHY      BARBERREE                 NC         11075496828
151917A464B26B   MISTY        SKINNER                   NE         90013577046
15191916972B62   ROSALINO     GONZALEZ                  CO         90012809169
1519222A59379B   TIFFINY      FRIEND                    OH         90007662205
151923AA65715B   GODOFREDO    GOMEZ                     VA         81065373006
15193647A4B26B   CHARLES      JENKINS                   NE         26054596470
15193A34A4B555   MEGAN        O'DONNELL                 OK         21514070340
15193A38231687   APRIL        SYLTIE                    KS         90014880382
15194938597B58   MEGAN A      GALVEZ                    CO         90003979385
151955A299373B   JAMES        JOHNSON                   OH         90014265029
1519668455B154   TANICA       WALKER                    AR         90012366845
151969A274B26B   DEREK        NOTARO                    NE         26010129027
15196A3899373B   EDGAR        LOVELACE                  OH         90000520389
15197A54391573   RUBY         RAMIREZ                   TX         90012050543
15198AA577B489   KEARI        JOHNSON                   NC         90011470057
151993A764B26B   STEPHAINE    PICKETT                   NE         90003793076
15199435A55976   NATOSHA      BENSON                    CA         90014524350
15199928A31479   ROSELL       MOSLEY                    MO         90001079280
1519B31217B277   PIA          COLEMAN                   NV         90015073121
1519B938A55976   TIANA        GILBERT                   CA         90012859380
151B1698A72B62   JOEL         GONZALEZ                  CO         90010666980
151B23A7857147   MARITZA      REYES                     VA         90013783078
151B2443291584   JENNIE       GABBERT                   TX         90012064432
151B2A12691263   RICARDO      ROJAS                     GA         90013230126
151B332315B59B   JUAN         FLORES                    NM         90013583231
151B366A67B489   SOLOMOM      BURCH                     NC         90015296606
151B375374B26B   CINDY        ANDERSON                  NE         26061257537
151B4323372B62   ALMA         RODRIGUEZ                 CO         90014573233
151B479315B229   MEGAN        THORNHILL                 KY         68014727931
151B4877591263   SHARONDA     WILLIAMS                  GA         90001038775
151B554A758585   BRENDA       DENNIS                    NY         90015295407
151B5858857147   TASHA        WASHINGTON                VA         90010798588
151B5858A55976   GUADALUPE    CEDENO                    CA         90010828580
151B6124455936   DARYN        HOLMES                    CA         90013031244
151B621977B398   JOEL         RIVERA                    VA         90006292197
151B6251791263   FATIMAH      ELLIS                     GA         90013552517
151B6984147956   SHERRILL     JOHNSON                   AR         24073759841
151B715394B588   JACK         ENOS                      OK         90005781539
151B74A5191B38   JOSE         CAMACHO                   NC         90014114051
151B7557991263   JESUS        FLORES                    GA         14571735579
151B759144B22B   FABIOLA      GONZALEZ                  IA         90011385914
151B84A8791569   CRISTINA     MARTINEZ                  TX         90012184087
151B8564591885   CARRIE       EDDINGTON                 OK         90010635645
151B869873B392   ELIZABETH    VIGIL                     CO         33044886987
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151B871335B526   ADAM         GURULE                    NM         90012787133
151B8A15272B62   ROCIO        GALLEGOS                  CO         90000200152
151B9461277379   ESMERALDA    COLIN                      IL        90009034612
151B9946A91263   SHARON       SANDERS                   GA         90011999460
151B9A86972B62   RAUL         BARRON                    CO         90013210869
151BB499657147   CHRISTINE    SMITH                     VA         90014554996
1521117365B526   ALFONSO      AAMEZAGA                  NM         35095271736
15211A82A7B489   RYAN         LEOPARD                   NC         90013290820
15212A13691263   JUAN         ARROYO                    GA         90009600136
15212AA2936B52   BEN          COATNEY                   OR         90011180029
15213167A7B385   SANTOS       GAMEZ                     VA         90006121670
1521415235B338   PATRICIA A   CARMONA                   OR         90007201523
1521448A27B489   KATY         FORAN                     NC         90013454802
1521449585715B   OTILIO       CRUZ                      VA         90011824958
15214758372B62   HAGOS        TEKLEHAIMANOT             CO         90015207583
1521536885B526   JULIETA      ANDRADE                   NM         90012273688
152155A719373B   VIRGINIA     HINES                     OH         64586455071
1521617985715B   ANA          SALGADO                   VA         81046411798
152161A354B588   CASSANDRA    FLENOY                    OK         90009061035
15216499A9373B   PAUL         GOPPERTON                 OH         90006954990
1521714755B526   MARISSA      PADILLA                   NM         90012381475
1521756199373B   PATRICIA     SULLIVAN                  OH         90010885619
1521948164B26B   ALICIA       JONES                     NE         90007954816
1521977625B154   SHALANDA     REED                      AR         90002157762
1521985424B92B   THERESA      POLIDORE                  TX         76574218542
1521B3AA95B526   BARBARA      PEREZ                     NM         35042493009
15221A46457147   FRANCIS      ALLER                     VA         90000580464
152231A955715B   TERRENCE     TAYLOR                    VA         90011021095
1522411945B526   MAIRA        PINON                     NM         90014751194
1522419624B588   MARIA        MENDOZA                   OK         90005441962
1522446527B489   KATHLEEN     DANIELS                   NC         11030524652
1522531955B526   ANNAMARIA    WILSON                    NM         90014953195
1522559163B324   JACK         BUTLER                    CO         33063795916
15225916A72B62   JOSHUA       NIELSEN                   CO         90007609160
1522632239373B   JOSH         EASOM                     OH         90003333223
1522641A15715B   RAUL         PEREZ                     VA         90010514101
15229A68876B87   CHARLES      CABARLE                   CA         90008430688
1522B883855976   CARA         STEARNS                   CA         90013058838
1523116AA91895   CHRISTINA    SULLIVAN                  OK         90005881600
15231333A55976   VANESSA      VALDEZ                    CA         49090483330
1523133945715B   CRISTIAN     ALVAREZ                   VA         90013423394
15232A2647B489   JERMAINE     GARRETT                   NC         90011620264
1523349A461958   GLADYS       OSUNA                     CA         90001764904
15233855272B62   ANTONIO      ALVARADO                  CO         33066528552
1523385799373B   SHAWNTE      SHEPHERD                  OH         90002008579
15234298A5715B   TERESA       VELIZ FLORES              VA         81085342980
1523636294B588   TURISCH      HARRIS                    OK         90012843629
15236A2715B526   ROBERT       BLEYTHING                 NM         90012360271
15239815272B62   WILLIAM      TORO                      CO         90013008152
1523B464591578   CYNTHIA      ESTRADA                   TX         90006214645
1523B67834B26B   PATRICK      LEFLER                    NE         26094436783
1523B734A5715B   RONALD       ESTRADA                   VA         90007427340
1523B8A6757147   LUIS         MEJIA                     VA         81060338067
15243166524B67   FAUSTO       PEREZ                     MD         90010951665
1524389755B526   KARINA       ALVAREZ                   NM         90013078975
152454A875B154   JOANNE       WEAVER                    AR         23049444087
15246366A5715B   JOSE         GONZALEZ                  VA         90013423660
1524858A391895   DENNA        PARKER                    OK         21061505803
1524917A591569   DAVID        RANDOLPH                  TX         90003531705
1524943A65715B   JOSE         GUTIERREZ                 VA         81072374306
1524995A85B526   MANUEL       TENORIO                   NM         90009519508
1524B42A191263   JANET        JOHNSON                   GA         90013924201
1524B763372B62   ANTHONY      VIGIL                     CO         90008767633
1524BA73A3B362   MARK         AGUILERA                  CO         90010840730
152517A874B555   NOE          LOPEZ                     OK         21584907087
1525268535B32B   WENONA       KIMBRO                    OR         90013656853
1525272A342399   ALICIA       TRAVILLIAN                GA         90003917203
152531A455715B   IDALIA       ALFARO                    VA         90005651045
1525338145B395   ROBERTO      CORTEZ                    OR         90013963814
152538A299373B   TIFFANY      TOMPSON                   OH         90008708029
152548AA624B7B   EDWARDS      PHILLIPS                  DC         81002938006
15256A35172B62   ALEXIS       SANCHEZ                   CO         90013770351
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152574A1131687   CARMON         WAGNER                  KS         22010744011
152576A575B154   TIFFANEY       THOMAS                  AR         90001056057
1525925744B26B   DEBRA          SHERARD                 NE         90000342574
1525937A67B423   OLIVIA         HUBBARD-GAINEY          NC         90009703706
152593A575B526   JOYCE          LUCERO                  NM         90004773057
1525B781197B69   SCOTT          COOPER                  CO         90008567811
1525B842191263   AIREAL         SIMMONS                 GA         90012818421
1525B97914B588   MELODY         SPOON                   OK         21553439791
1526119634B588   JOHN           LIPPE                   OK         21573281963
15261617A72B62   MELISSA        LOPEZ                   CO         90014716170
1526291585B526   BERNARDO       LEMUZ-CEBALLOS          NM         90012129158
1526362664B26B   PRICILLA       SANCHEZ                 NE         90014436266
15264165572B62   JANET          DELL                    CO         33076021655
152649A5891569   KATHERINE      ARRIAGA                 TX         75032779058
1526637154B588   TAMIKA         WREN                    OK         21580893715
1526682A757125   MIGUEL         FERRFINO                VA         81026418207
1526713A684347   FEDERICO       BARRIOS                 SC         90008251306
152685A7A91569   MARIA          DE LA CRUZ              TX         90013305070
152687A785B526   ELIZABETH      STONE                   NM         90002317078
1526886533B326   LASHAE         BURRIS                  CO         33083728653
1526942935715B   KEVIN          COLLINS                 VA         81039624293
1526B3A3761958   TIMOTHY        COO                     CA         46027163037
1526BAA5891569   ERNIE          AGUIRRE                 TX         90009120058
1527154225B526   NICOLAS        SUCRE                   NM         35084655422
15271A62591569   REBECA         ORTEGA                  TX         75040660625
15272349A8B133   VALERIA        DOMINGUES               UT         90001813490
1527292A65715B   TAMIKA         QUANDER                 VA         81098449206
1527482736192B   MOLLY          COLT                    CA         46063628273
1527574865B32B   JUAN           VEGA ZAMUDIO            OR         90010927486
1527673954B588   CHARLES        WALLER                  OK         90015297395
15278533A4B544   JEAN           MCDUFFIES               OK         90011695330
15279287172B84   GONSALO        GALVAN                  CO         33002412871
152795AA772B62   REGINA         FLETES                  CO         90001285007
15279A5917B489   VIVIAN         ONYEGBULEN              NC         11088550591
1527B2A2491569   EMMA           GARCIA                  TX         90007882024
1527B69664B588   KAQUEESHA      WATKINS                 OK         21595356966
1527B815161938   CHIRESSIA      SULLIVAN                CA         46056248151
15281315272B62   PATRICK        MILLER                  CO         90013173152
1528242A75B123   KATHY M        MOON                    AR         90004674207
1528292357B274   ILDERONSO L.   RUBIO                   AZ         90014479235
15282AA2A61958   ROBERTO        OCHOA JIMENEZ           CA         90008270020
1528485334B588   CHRISTIAN      GOMEZ                   OK         90012538533
15284A6282B253   SHERRY         COLEMAN                 DC         90005890628
15286543A5B154   ROOSEVELT      DONALDSON               AR         23029305430
1528662164B26B   LAURA          MCARTHUR                NE         90009576216
15286885A61938   TYIESHA        JACQUETT                CA         90011688850
15286A86585664   FERNANDO       GARCIA                  NJ         90013930865
15288629A55976   ALFRED         FEDRICO                 CA         49062486290
15288929A91895   CARLTON        DAVIS                   OK         90014449290
1528B2A827B423   SANTOS         GONON                   NC         90001732082
15291284A91569   CINDY          RECENDIZ                TX         90010732840
1529191464B588   DONTAY         FRANKLIN                OK         90014079146
15292234A61958   TABATHA        HASKETT                 CA         46023792340
1529229A391569   JOANNA         POLANCO                 TX         90014572903
15292855372B62   CLAUDIA        GAYTAN                  CO         90012908553
1529333A24B588   ELIZABETH      CARRANCA                OK         21553713302
1529554845715B   DIETRA         BRANDON                 VA         81019155484
1529599334B935   LISA           RANDOLPH                TX         90012719933
15295A18861972   SARELA         CABUTO                  CA         90011630188
1529749592B275   JASMINE        GROSS                   DC         90014524959
15297864372B62   JUAN           RUIZ MARTINEZ           CO         90002428643
1529834A44B26B   DIANE          GRANDEL                 NE         90012053404
1529955869373B   DAVID          GREEN                   OH         90008975586
1529972A95B526   GERARDO        MNARREZ                 NM         90014477209
1529B2A1231687   RICKY          RUCKLE                  KS         90011022012
1529B458661938   LONI           ROBERTSON               CA         90001794586
1529BA2895B166   ESMERALDA      URCELAY                 AR         90006500289
152B1337691895   KENNETH        JONES                   OK         90014143376
152B161158B166   CHRISTOPHER    MILLER                  UT         90006846115
152B165665B154   LONDA          HARRIS                  AR         90013396566
152B2157272B92   NARANSUMIYA    BAYARTSAIKHAN           CO         90013241572
152B23A764B555   YLONDA         TURNER                  OK         90012553076
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152B2529755976   CHARMAINE    FRANKLIN                  CA         90011355297
152B328924B588   CODY         LAMB                      OK         90014742892
152B4161864183   RANDY        JACOBS                    IA         90014731618
152B44A3391263   CARMEN       HOWELL                    GA         90011414033
152B455294B588   LETRICE      DAVIS                     OK         90003315529
152B4A8A131687   TIFFANY      BENNETT                   KS         90014880801
152B6381655979   KEVIN        ROBINSON                  CA         90012193816
152B6697672B62   HUETE        ROSALI                    CO         33011696976
152B714345B154   GERALDINE    CICCEL                    AR         23025841434
152B733219373B   EMILY        BERRY                     OH         64560103321
152B752487B489   HECTOR       JUAREZ                    NC         11067695248
152B7677885977   ROY          WILLOUGHBY                KY         90011636778
152B7A4864B588   GARRET       SMITH                     OK         90012540486
152B882A472B62   MARYLU       CASTANERA                 CO         33069718204
152B8966191895   JESSICA      PREBLE                    OK         90014779661
152B9657324B7B   SECRET       REID                      DC         90006966573
152B9833491569   ANDRES       SANDOVAL                  TX         75057638334
152B9A8485B154   ELAINA       REID                      AR         90013820848
152BB261461958   VIVIANA      SERRANO                   CA         90006572614
152BB76A255932   ANTONIO      CRUZ                      CA         90011317602
152BBA63831687   BECKY        FERGUSON                  KS         90013800638
153122A9957557   MANUEL       ERIVES                    NM         90006912099
153124A464B26B   SULEENA      MALONE                    NE         90000464046
1531292A55715B   MARIO        ROMERO                    VA         81022449205
15313876972B4B   NICOLE       CASTILLO                  CO         90012808769
1531414A155952   FRANCISCO    GONZALEZ                  CA         49009561401
15315421A4B26B   MELISSA      ENGLE                     NE         26029844210
15316A56872B62   RUSTEN D     MERVIN                    CO         33064310568
1531875379373B   KESHAWNDA    PONDER                    OH         90005127537
1531961955B154   VILLANUEVA   GONZALEZ                  AR         90014046195
1531B12675B154   LESLAY       BERRY                     AR         23053771267
1531B75A591895   CINDY        FRANCO                    OK         90010427505
1531B77A891569   GUTIERREZ    JACQUELINE                TX         90013217708
153216A754B26B   SADE         COPE                      NE         90011146075
1532276A85B522   MARK         KING                      NM         35074487608
15323585A91895   CLINTON      PAGE                      OK         90012235850
1532459A97B489   CATALINA     MARTINEZ                  NC         11070485909
1532551A55B154   KEISHA       VALENTINE                 AR         90011035105
15328917A31687   CAMINE       TUCKER                    KS         90014909170
1532B389A57147   XIOMARA      CASTRO                    VA         90012943890
1532B522955976   JASON        ARCE                      CA         90004425229
1532B58845B154   LATRICIA     VAUGHN                    AR         90009755884
1532B5A4591569   ROSA         GARCIA                    TX         90011675045
15331683A4B26B   DONNY        VELA                      NE         90010786830
1533294224B555   ROCHELLE     FIELDS                    OK         21523639422
15332A21372B62   DAVID        BELL                      CO         90010600213
1533331557B489   MARIA        CUENCA                    NC         90012343155
1533442645B526   MJ           JANIEL                    NM         35090914264
15334933A57147   LENDI        VALLEJO                   VA         90010949330
1533493534B555   MARCUS       REMPE                     OK         90011769353
1533493A15B154   KEISHA       DONMORE                   AR         23034719301
153351AA79373B   JASON        CARROZZA                  OH         90013711007
15336251872B62   MARCOS       LOPEZ                     CO         90002082518
15336978A4B588   LUIS         PEREZ                     OK         90012689780
1533827734B555   ROBIN        RODAS                     OK         21512172773
15338518A91569   BRIAN        RODRIGUEZ                 TX         90015195180
1533B13745715B   AUSTIN       POLLACK                   VA         90009811374
1533B42124B588   AMANDA       FIELDS                    OK         90010394212
1534143685715B   JOSE         MARTINEZ AYALA            VA         81022734368
1534283614B26B   JAMES        TAFOYA                    NE         26048418361
153441A315B53B   ADAM         TILLIE                    NM         35067321031
1534523297B489   SIGMON       DUSTIN                    NC         90001572329
1534628A65B526   MELISSA      HERNANDEZ                 NM         90014352806
15346654A91569   ADRIAN       CASTILLO                  TX         90010686540
1534773985B526   OBED         VELAZQUEZ                 NM         90014897398
1534875834B26B   TERRI        HAGEL                     NE         90013487583
1534B24A291569   ANA          REGALADO                  TX         75029732402
1534B61145715B   JOSE         ROMERO                    VA         90009206114
1534B914155976   SHAWNA       DAVIS                     CA         90010349141
1535225495B154   CHRISSY      ESKEW                     AR         23041222549
15352677A72B4B   MITA         MORALES                   CO         90009236770
1535292935B526   ASHLEY       SCHNEIDER                 NM         90014569293
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1535346674B588   CLAUDIA      HERNANDEZ                 OK         90015114667
1535373222B228   WILLIAN      QUINN                     VA         90010637322
15353A2639373B   VICTOR       LOPEZ                     OH         90012390263
1535747164B52B   YULENA       HAMILTON                  OK         90002574716
1535835319373B   ROBERT       EAMES                     OH         64549433531
1535954A33B396   DANIEL       OTERO                     CO         90013085403
15359A2A291569   BRENDA       ORDAZ                     TX         90013990202
15359A9385715B   LUIS         HERNANDEZ                 VA         90010520938
1535B171672B84   CLOTILDE     FERGUSON                  CO         33079141716
1535B31512B84B   RONALD       RIVERA                    ID         90006023151
1536114882B239   MICHEAL      SIMPSON                   DC         90001421488
1536149A897B69   RYAN         BULLINGER                 CO         90001274908
15361937A4B588   ALTA         LITTLECALF                OK         90014079370
15361A36157147   NATHANIEL    VILLAGRACIA               VA         90013490361
1536292457B489   PAMELA       CALDWELL                  NC         90013399245
15362A82572B62   CRYSTAL      LEE                       CO         33045310825
15364A3A19373B   JEFF         HELTON                    OH         90002850301
1536582A39373B   JOSHUA       FROWEIN                   OH         64532338203
15365837672B62   ROBERT       MARTINEZ                  CO         90012168376
15365A7314B26B   SAVANNAH     SMITH                     NE         26076660731
153667AA791885   SHASTA       SALYER                    OK         90005927007
15368A48631687   ANDRA        MARTIN                    KS         90014910486
1536B8A5491895   DEVONTE      HAYNES                    OK         90001418054
15371A9AA91569   CINDY        DOMINGUEZ                 TX         90012910900
1537219879373B   CONNIE       SEEBECK                   OH         64556481987
15372617172B62   SANJUANA     LOMELI                    CO         33053046171
15372794176B8B   LAURA        GARCIA                    CA         46001867941
1537318585715B   MAURICIO     VILLEGAS                  VA         81022751858
1537454589373B   STEPHEN      EARNEST                   OH         90004145458
1537473A491263   JOHN         ANDERSON                  GA         14521917304
1537489394B26B   AMANDA       TAFOYA                    NE         90015248939
1537657A491569   LILIAN       VEGA                      TX         75059025704
1537673465B526   JOANN        BACA                      NM         35068057346
1537684475B154   ISAAC        SENIOR                    AR         90014248447
1537793A761958   SOCORRO      ALEMAN                    CA         90014769307
1537799327B445   JEROME       THACKER                   NC         11094459932
15377A12424B7B   KWAGHDOO     KAKAAN                    DC         90007330124
15378327A4B588   BRANDI       COLBERT                   OK         21595913270
1537998159373B   LEON         RUTLESGE                  OH         90015079815
1537BA1564B26B   ROBERT       TOPHAM                    NE         90000200156
1538121465715B   MEYLIN       TURCIOS                   VA         90010522146
1538228594B588   EDWARD       WILLIS                    OK         90013162859
1538248967B489   ERICKA       BURCH                     NC         90014224896
153826A6457147   EDGAR        QUINTERO                  VA         90013856064
1538284A85B154   EDWIN        KEY                       AR         90013838408
15382A91591569   BRENDA       RODRIGUEZ                 TX         75055340915
153838A4272B62   JOSE         SAENZ                     CO         33091298042
1538518354B588   CECILIO      ESCARENO                  OK         90013611835
153856A7791569   HERNESTO     GONZALEZ                  TX         90014466077
1538733164B26B   ROXY         MICHENER                  NE         90014143316
15387A7A991399   TINA         HARRIS                    KS         90012360709
1538842914B26B   BREANNE      VAN DYKE                  NE         90011024291
1538959879373B   HERMELINDO   LEYVA RUIZ                OH         64579665987
1538B69435B154   TONY         DAWSON                    AR         90011036943
1538BAA464B588   TYIESHA      BARNETT                   OK         90014850046
1539125947B489   NOEL         MORALES                   NC         90013282594
1539164474B588   TAJA         JONES                     OK         90003786447
1539193235B154   NIKIA        CARTER                    AR         90012979323
15391A74272B62   STEVEN       CRAGO                     CO         33082710742
1539267A44B588   LORETTA      THOMPSON                  OK         90010396704
15392919A5B526   TRACY        SHAW                      NM         90003069190
1539313A461926   JESSICA      MARTINEZ                  CA         90007211304
1539339685B526   MIRNA        LASCAN                    NM         90005033968
1539366425715B   ROSA         PORTILLO                  VA         81095656642
1539392134B26B   CATHERINE    GREGORY                   NE         90015249213
1539438459373B   FELICIA      HASSAN                    OH         90011953845
1539486927B398   JOSE         DIAZ                      VA         90012618692
153949A215B526   DESI         RAMIREZ                   NM         35032499021
1539513237B386   SONIA        ARANCIVIA                 VA         90012361323
15397A95191895   MONICA       ESTRADA                   OK         21043610951
1539892134B26B   CATHERINE    GREGORY                   NE         90015249213
15399296472B77   RT           AUTOMOTIVE                CO         90009412964
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1539967739373B   TREMAYNE           ADAMS               OH         90012356773
1539B92665B526   CHRISTINA          MARTINEZ            NM         90013609266
153B13A955B154   DIAMOND            CAMPBELL            AR         90002353095
153B1846255968   LOUIS              MERCADO             CA         90011618462
153B26A6157147   JENNIFER           RILEY               VA         90014516061
153B2882972B62   AKIDA              MICKENS             CO         90012468829
153B33A7761958   DONALD             HALL                CA         90013703077
153B5141891263   GWANA              TORY                GA         14507691418
153B5969972B62   YEIMI              NEVAREZ             CO         90014409699
153B6336461938   ANTHONY            DAVIS               CA         90001553364
153B6666391263   SAFIYYAH           MUHAMMAD            GA         90012756663
153B6693131687   KATRINA            PARCHELL            KS         22066616931
153B691864B588   NICKIE             GRIGLER             OK         90014079186
153B7136172B25   JUANITRA           BLAKLEY             CO         33003771361
153B769144B588   TIAUNA             GREEN               OK         90003826914
153B788688B138   SAMANTHA           VALERIO             UT         90004388868
153B8532955938   GUILLERMO          JIMENEZ             CA         90012485329
153B8828457147   JUAN               HERNANDEZ           VA         90010388284
153B972675B526   BEN                GURULE              NM         90007217267
153B9982361938   ANDY               CORCOVELOS          CA         46023119823
153BB847872B62   IVORY WASHINGTON   MARTIN              CO         90013698478
1541312145B154   TRESIA             DOLLARHIDE          AR         23090621214
1541355597B489   NATASHA            VIEUX               NC         90014395559
1541373394B588   TONYA              CURRY               OK         90010397339
1541421A491263   CHARLENE           SIMMONS             GA         90014712104
154143A9A72B62   MARIA              ROMERO              CO         90010763090
15414A4127B489   AXEL               MARTINEZ            NC         90011760412
1541552A74B555   OLGA               DE TORRES           OK         21515225207
154155AA791569   JAZMIN             COLEMAN             TX         90012475007
1541563715B526   TERRIEAN           SILVA               NM         35005376371
15415963A4B26B   YVONNE             JOHNSON             NE         90013509630
154161A1961958   AVIS               APRIL               CA         90014541019
1541692444B26B   JOLENE             ROTHWELL            NE         90010259244
15417755672B92   HILDA              MARTINEZ            CO         90009617556
1541776A22B249   RAINA              MOSES               DC         90001657602
1541777354B555   TIM                DEFORD              OK         21520887735
1541991765B526   CHRISTIAN          LOPEZ               NM         90014249176
15419A87457147   ISTMENIA           MORALES             VA         90012880874
1541B316991895   ROSA               AYVAR               OK         90014173169
1541B4A3A72B4B   JUAN               GUERRERO            CO         90011944030
154211A1691569   LISA               MIRANDA             TX         90010451016
1542327264B588   MICHAEL            FISHBACK            OK         90005302726
15423A81961958   GUSTAVO            RODRIGUEZ           CA         46090830819
15424A3A85B154   ATHENA             SIMON               AR         90011610308
1542741A85B526   ROSEMARY           GUILLEN             NM         35099634108
154276A634B26B   AMBER              PEREZ               NE         90011316063
15428659A91263   MACY               MINCEY              GA         90005706590
154295A2772B95   ELLEN              GILBERT             CO         90014175027
1542B731A4B588   CHARLES            COKER               OK         90003317310
1542B98935B154   ALBERTO            AUGUILAR            AR         90014229893
15431A22672B62   DOUGLAS            QUACH               CO         90012130226
1543437814B26B   JAMES              ANDERSON            NE         90011563781
15434A1215B154   LUCIUS             OLIVER              AR         23082780121
1543538577B489   MIRANDA            PARTLOW             NC         90007883857
1543597725B154   CANDACE            GIBSON              AR         90014229772
154366A115715B   JAVIER             BENAVIDES           VA         81086666011
154379A554B588   JOSEPH             BROOKS              OK         90014979055
1543866A24B588   SHARENDA           PARKS               OK         90013926602
15438A48657147   TRENASHIA          LATNEY              VA         90015480486
1543917424B588   GEORGE             WILAON              OK         90013051742
154396AA47B489   MARCUS             HALL                NC         90013436004
1543987A557147   NICOLASA           MARQUEZ             VA         81040598705
1543B29164B588   DAYONA             JOSEPH              OK         90012842916
1543B9A5555976   RUDOLPHO           MICHEL              CA         90009259055
154411A3555976   PAULA              ASTORGA             CA         49013281035
1544139915B154   ESTRADA            ARACELI             AR         90013253991
15442688A4B588   JAMES              FARRINGTON          OK         21554226880
154448A3391573   COLLEEN            JOHNSTON            TX         90001378033
15444A26891569   RAMON              BOWDEN              TX         90008150268
15445762A9373B   PATRICIA           LAKE                OH         64576817620
1544596A191895   WILLIAM            WRIGHT              OK         21069579601
154469A9924B7B   GUILLERMO          ESCOBAR             DC         90000429099
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15447379A7B277   JOHN           SNYDER                  NV         90014613790
1544762634B26B   ZACHARY        ROBINSON                NE         26066956263
1544781337B489   BRIDGETTE      CRAIG                   NC         90014648133
1544827A391586   ANGEL          LUJAN                   TX         75018192703
154482A4257147   ERIK           CRUZ                    VA         90003462042
1544B42677B489   JAIR           DEVEREAUX               NC         90011134267
1544B639487B44   ANGELA         SCULL                   AR         90007586394
15451545A5B526   BERNICE        ROANHORSE               NM         90004055450
15451875A61958   FELIPE JESUS   HERNANDEZ               CA         90012648750
1545317944B588   TARIK          BOUFKIRI                OK         90012741794
15453AA3277333   JOSE           COLON                    IL        90013950032
15455117172B33   LUIS           MUNOZ                   CO         90014891171
1545748AA57147   DANA           PERKINS                 VA         90010504800
15457689A93763   JASON          LISCH                   OH         90011156890
1545B73624B26B   ELIZABETH      WHITNEY                 NE         90000247362
15462111972B62   MIRIAM         HERNANDEZ               CO         90008011119
1546287894B26B   PATRICK        SLECHTA                 NE         26054738789
1546363987B489   ALLEXYS        PAIGE                   NC         90013596398
15463A85A61938   PABLO          VASQUEZ                 CA         46063290850
154666A634B26B   AMBER          PEREZ                   NE         90011316063
154676A455715B   ANA            ALFARO                  VA         81065426045
1546788424B588   COURTNEY       PRIEST                  OK         21511988842
15467A1424B26B   LEE CHUOL      GUOR                    NE         90011450142
1546827115B526   AARON          PEREA                   NM         35088322711
1546885223365B   JAMIE          SLOAN                   NC         90003518522
1546919794B588   MIGUEL         SANTOS                  OK         90013611979
15469A26291895   TIFFANY        TOWNSEND                OK         21032170262
1547391419373B   KAREN          JOHNSON                 OH         64518779141
1547418837B489   LAURAN         BROWN                   NC         11075781883
15474867572B62   DESTINY        MANZANARES              CO         90013018675
1547541694B26B   ALFREDO        DOMINGUEZ               NE         26097814169
15475A5137B323   RAUL           MOLINA                  VA         90006000513
15478283A57147   HENRY          VILLALTA                VA         90013572830
154793A9881534   JOCLIN         GOOCH                    IL        90014753098
1547B872191895   DANIEL         BENSON                  OK         90014788721
1547B957655976   DELIA          ASCENSION               CA         90009729576
1547BA2134B26B   TATYANA        SOROKINA                NE         26025150213
1548168634B588   JOSHUA         KOOS                    OK         90006786863
1548212547B489   MYLES          HENRY                   NC         90014361254
15482A8185B154   VALAREE        STITH                   AR         90014780818
154838A9A72B62   SHANEKA        HARTS                   CO         90013388090
15483A58276224   JESSICA        POLLARD                 GA         90008660582
1548536585715B   MARIA          AMAYA                   VA         90007523658
154855A565B526   TIM            MOORE                   NM         90002915056
1548734135B389   ISAIAH         GENTRY                  OR         90012583413
15487A39157147   ADAM           TORRES                  VA         90007690391
15488557A91895   MARTHA         MILLSAPS                OK         90005165570
1548874895715B   TINA           MWANAKITATA             VA         81091907489
1548893A191852   BURT           WOOD                    OK         90004199301
15489A36326759   JOY            CARAWAY                 PA         90003310363
1548B344A7B47B   NORAM          TALBERT                 NC         90002143440
1548B584A55979   TASHA          SMITH                   CA         90003445840
1548B71155B154   SHINA          DAVIS                   AR         90013327115
1548B882191263   SILVIA         TRUJILLO                GA         14597418821
1548BA22591569   RICARDO        HERNANDEZ               TX         90012000225
1549267529373B   SHEBA          ABDULLAH                OH         90012156752
1549584575B255   YUN            YI                      KY         90013828457
15497125172B62   JOSEPH         RICO                    CO         90011251251
1549783614B26B   JAMES          TAFOYA                  NE         26048418361
1549792534B588   FRANCISCO      ESPINOZA                OK         90015149253
1549876A65B154   SHAWN          ADAMS                   AR         90014287606
1549895395715B   ANA            GARCIA                  VA         81093329539
154991A3191569   FABIOLA        HERNANDEZ               TX         75059201031
1549B141891263   JAMIE          BLADWIN                 GA         90012401418
1549B932757147   AMANUEL        HAGOS                   VA         90013959327
154B1119A91895   HILLARY        GREENWOOD               OK         21040791190
154B1258161958   LURDEZ         NUNEZ                   CA         46009752581
154B1842531687   LAUREL         SNIDE                   KS         90004248425
154B193914B588   KOLE           CRIGLER                 OK         90014079391
154B2549491569   JOSUE          OTERO                   TX         90009345494
154B256695B154   ALEX           CALDWELL                AR         90014425669
154B27A525B154   BRAD           ROTENBERRY              AR         90011037052
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154B3447A91263   NADIA         HARDING                  GA         14501044470
154B427627B489   RONY          ESCOBAR                  NC         11012532762
154B42A575B526   KATHIA        QUINTANA                 NM         35097972057
154B4355155976   VAUGHN        PALMER                   CA         90010833551
154B437438B12B   DAN           WIGEN                    UT         90001353743
154B525139373B   KIARA         SCALES                   OH         90010572513
154B527274B588   CHAD          MARTINEZ                 OK         90014692727
154B5A98357147   JOSE          MARQUEZ                  VA         90010800983
154B621822B259   EDITH         LOPEZ                    DC         90014502182
154B6632247956   MARIA         VAZQUEZ                  AR         90006146322
154B7652A5B526   AARON         LUJAN                    NM         90014156520
154B8338991569   MELISSA       FRIAS                    TX         90013383389
154B9926193727   JOHN          MCCREARY                 OH         64578209261
154BB35257B489   NICOLE        PITTMAN                  NC         11015703525
15511334572B62   ISMAEL        MUNOZ                    CO         33076843345
1551435745B154   CARLA         BROWN                    AR         90014163574
155144A4584344   APRIL         LEAMON                   SC         90009214045
15514557A91895   MARTHA        MILLSAPS                 OK         90005165570
15514741A41384   ELIZABETH     CLIFFORD                 MA         90014397410
15514A9347B465   TONI          STITT                    NC         90009590934
155161A3872B2B   STEVE         LAPOINTE                 CO         33070121038
15516263A4B26B   KIERSTEN      REPLOGLE                 NE         90013252630
15516A4827B326   DANIEL        MIRANDA                  VA         90006560482
1551792A891569   MIGUEL        CANO                     TX         90013329208
15517A4827B326   DANIEL        MIRANDA                  VA         90006560482
15518A72457124   WELMER        MOLINA                   VA         90013600724
15518A9177B489   SHARIKA       ROBINSON                 SC         90013370917
15519827A7B34B   SONIA         GONZALEZ                 VA         81025508270
1551B1A9755976   BERNARDINO    SANDOVAL                 CA         90014071097
1551B219493737   PAMELA        JOHNSON                  OH         64536952194
1551B556791895   TERRI         DAVIS                    OK         90012975567
1551B81355B154   ISABELE       RAMOS                    AR         90013528135
1552125454B555   BARBARA       WATKINS                  OK         90013222545
1552247787B489   SHARKARA      PETERS                   NC         90011134778
155238A5993723   KATIE         FLINN                    OH         90013928059
15523A4AA5B526   CHRISTINA     DUTCHER                  NM         35012580400
15523A78A4B588   MIGUEL        GOMEZ                    OK         90014980780
15524436172B64   MIRNA         MIRAMONETS               CO         90004184361
1552462284B588   EVELYN        FURR                     OK         21580936228
1552874A177344   MILDRED       MELENDEZ                  IL        90013537401
15529752172B35   JESSIE        RUBIO                    CO         90000427521
1553259535B154   CLORIA        SMITH                    AR         90011325953
1553281A291895   ROBERT        MCCURLEY                 OK         21092818102
15532A3977B489   BRANDON       HALL                     NC         90014010397
1553517974B26B   ROCHELLE      YOUNGS                   NE         26049271797
1553616734B26B   SETH          MARSHALL                 NE         26073351673
1553642715B154   MONICA        MEDLOCK                  AR         23054174271
15536494A61958   DANIEL        HERNANDEZ                CA         46064554940
155364A7A5715B   MIGUEL        NUEVA                    DC         90007524070
155365AA87B489   CHRISTOPHER   WALKER                   NC         90011135008
155382A245B154   BRITTANY      DUMAS                    AR         90013652024
155394A7A5715B   MIGUEL        NUEVA                    DC         90007524070
1553B7A6A91263   FREDRICK      WASHINGTON               GA         90006317060
1554258234B26B   SANDRA        BOWLES                   NE         90014065823
1554336854B26B   JONIE         ROLFSMEYER               NE         90010263685
15543555A4B588   BRADLEY       STATES                   OK         90014575550
15544981172B62   RENAY         BROWN                    CO         33085789811
1554747714B26B   SCOTT         KAPKE                    NE         26037534771
1554B8A385715B   ABIBATOU      SESAY                    VA         81085928038
155517A929373B   JOSE          LEON                     OH         90011847092
15553635A31687   ANTHONY       SALTERS                  KS         90014986350
1555448A34B588   EUGENE        MYERS                    OK         90014014803
15554A27161958   LETISIA       TASKIRAN                 CO         46011050271
1555526195715B   CARLOS        CERVANTES                VA         90001562619
1555647459373B   MELISSA       DICE                     OH         64528864745
15556A12672B62   EDWARD        MARQUEZ                  CO         90006110126
155573A225B526   ANNIE         CORDOVA                  NM         90001613022
155588A417B489   SHAVONDA      HARRIS                   NC         90015338041
1555893674B588   RONALD D      ROSS                     OK         90003579367
15558A41897B3B   ISAIAS        LOYA                     CO         90015150418
1555944784B26B   MOZELL        RICHARDSON               NE         90013784478
15559955A91895   LORRAINE      ARZOLA                   OK         90008139550
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1556362672B876   CHRISTOPHER    HALL                    ID         90007906267
1556391633B352   SARAH          MARR                    CO         90013939163
1556642A961958   DESERGIO       ANTHONY                 CA         90013494209
1556697475B154   ABRAHAM        JOHNSON                 AR         90013779747
1556765A761958   RHONDA         STALKER                 CA         46091096507
15568348224B7B   WILBERTO       MENDEZ                  VA         90011783482
15568A12491895   CASEY          WRIGHT                  OK         90014380124
15569338A4B26B   LENETTE        JOHNSON                 NE         26072813380
1556955235B154   KEYONNA        THOMAS                  AR         90014095523
1556B629491569   ANTHONY        CRUZ                    TX         90010616294
1556BA2A291569   ANTHONY        CRUZ                    TX         90013850202
1556BA69672B33   IRIANNE        LOINAZ                  CO         90014850696
1556BA7A855976   AUORA          SONORA                  CA         90000790708
15571A78A4B588   MIGUEL         GOMEZ                   OK         90014980780
1557218514B588   MOSES          RIVERA                  OK         90012541851
15572233624B4B   JONATHAN       CARTLEDGE               DC         90010682336
1557264A361986   ROGER          FEECE                   CA         90003246403
155732A3A9373B   ANGELA         ALEXANDER               OH         90007372030
1557372724B588   TYRONE         BAKER                   OK         90014147272
155771A4691592   ALEJANDRO      PESANTE                 TX         75002671046
1557817869373B   CLYDE          KING JR                 OH         90012001786
1557838115B526   DIANA          MOLINAR                 NM         35045923811
155783A7447956   BALTAZAR       GALVAN                  AR         24045453074
1557918594B588   PEGGY          LANDRUS                 OK         90012541859
155796A159373B   LAWRENCE       HAGLER                  OH         64532026015
1557B191A4B26B   JEREMY         ANDERSON                NE         26063161910
1557B681872B23   ABRAHAM        MARES                   CO         90001386818
1557B6A6A55976   ELIAS          CALIFORNIA              CA         49073326060
1557B8A1A41384   MEGAN          MATIN                   MA         90012518010
15581784A4B26B   THERESA        WHITING                 NE         90013627840
1558454775B526   GUSTAVO        PRECIADO                NM         90007015477
15584568972B62   JACQLINE       RODRIGUEZ               CO         90000925689
1558499A14B548   JEAN           BOWDEN                  OK         90009359901
1558615725B154   HOPE           WALKER                  AR         23061001572
1558645915715B   GLENDA         GRIJALVA                VA         90012004591
15586628872B62   ANTWON         SPIRES                  CO         90007776288
155866A759373B   KENYOTTA       WILLIAM                 OH         90013496075
1558685657B668   WILLIAM        SUTTON                  GA         90012788565
15587148A5B526   MARIAN         GONZALES                NM         90014401480
1558787534B588   AMANDA         ELLIS                   OK         90012958753
155879A9A91569   ELENA          ARROYO                  TX         90012859090
1558823225715B   TERRY          YOUNG                   VA         90007462322
1558829615B154   DEMETRIA       HAMMONDS                AR         23018752961
15588A3115B526   NAOMI          MIRABAL                 NM         35098190311
15589A2342B863   SCOTT          STEVENS                 ID         90010240234
1558B4A6A7B489   NATAKI         STINSON                 NC         90014914060
1558B57177B489   DON            AGUILAR                 NC         90011075717
1558B767272B62   JACOB          TRUJILLO                CO         90011377672
1558BA6345B526   MANUEL         LOPEZ                   NM         90012800634
1559112534B26B   AMERILLA       WAGONER                 NE         26081571253
155912A424B588   ANTONIO        SANDOVAL                OK         90012542042
155913A4957147   JUAN           DIAZ                    VA         81073473049
1559183994B543   FERNANDO       HERNANDEZ               OK         90006218399
15591A53491569   VIVIAN         OROZ-URENO              TX         90013420534
1559236435B154   DANIELLE       PETERSON                AR         23007113643
1559241924B555   DORIS          GILBERT                 OK         21582824192
1559258A557562   ALINA          BAILON                  NM         90012555805
1559483814B588   REYES          ALICIA                  OK         90014418381
1559668913162B   ERNEST         THOMPSON                KS         90013156891
1559695494B588   MARIO          LOPEZ                   OK         90014249549
155983A625B135   TANYA          ANDERSON                AR         90014513062
1559895724B26B   EDWIN          JOHNSON                 NE         26017519572
1559943574B588   DEANNA         MODLIN                  OK         21528874357
1559B762857147   ROBIN          CASHDOLLAR              VA         90013817628
1559B9A6661958   ALBA LETICIA   URTADO                  CA         90013649066
155B1176977529   CATRIONA       LANDAVAZO               NV         90003951769
155B183259379B   SANTAMARIA     SALVATORE               OH         90014828325
155B257A861958   ALBERT         CASTRO                  CA         90010865708
155B2986647956   ERIKA          RAMIREZ                 AR         90009159866
155B29A8157164   JOSE           BLANCO                  VA         90003779081
155B2A1A857562   LETICIA        MILLER                  NM         90005600108
155B2A48371982   MARTIN         LEDBETTER               CO         90011450483
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155B36A944B588   JANEESHA     LEE                       OK         90014786094
155B4A77372B25   THANG        MANG                      CO         90004310773
155B5182431687   TARENDA      BERRY                     KS         90002851824
155B525292B236   SAMUEL       URIOSO                    DC         81015922529
155B577734B588   DANNY        LEMONS                    OK         90014517773
155B578645B599   RITA         BANNER                    NM         90007987864
155B613124B588   DEBRA        ROLLANS                   OK         90012541312
155B811247B489   ADOLFO       GARCIA                    NC         90011631124
155B8326291895   ANTONIO      BROOKS                    OK         90012993262
155B86A6953B32   RANDALL      TURNER                    CA         90005246069
155B9323157147   NOEL         HERNANDEZ                 VA         90012803231
155B9458861958   LEONEL       HERNANDEZ                 CA         90015014588
155B9746391263   JOSHUA       FRIZZELL                  GA         90012567463
15611619A4B22B   DIANNA       JONES                     NE         90009266190
1561179A447956   CYNTHIA      LEE                       AR         24092317904
1561246A35B526   MIKE         GABALDON                  NM         35067954603
15613823172B62   DERECK       BORREGO                   CO         90011418231
1561497A455976   JIMENA       MONTES                    CA         49051909704
1561547429373B   BROWNLEE     DENISE                    OH         90001574742
1561729A172B62   THOR         DAHL                      CO         90008602901
15617947897B69   LUCA         LEPORI                    CO         90011859478
156179A4557147   ELDAV        VEDDE                     VA         90011609045
1561961394B588   MARY         FIELDS                    OK         90010416139
1561B39124B588   CHRISTAL     CONTRERAS                 OK         90005533912
1561B74515B154   CORINA       PACHECO                   AR         90011957451
1561B99765B526   ROSALVA      RAMIREZ                   NM         90008049976
1562121A191836   MARIA        MARTINEZ                  OK         21096212101
1562213257B489   SAMUEL       PARTIN                    NC         90003791325
15622A8724B588   SOFIA        GRAMAJO                   OK         90012900872
1562333214B588   RICHARD      DYAS                      OK         90013483321
156236A515B526   JONATHAN     ZAMORA                    NM         90009936051
15623A73547956   DEBRA        DUMAS                     AR         24046960735
15624221A55976   RICHARD      GONZALEZ                  CA         90012502210
1562621385B154   MELESSIA     PIPPEN                    AR         90014362138
1562838A49373B   KEITH        WALKER                    OH         90012803804
1562888385715B   SALOME       TORRES                    VA         81067598838
15628A93A7B489   FERNANDEZ    HUNTER                    NC         90012750930
1562941899373B   LASHANNA     MURRAY                    OH         90002354189
15629AA9984375   SAMANTHIA    BURRIS                    SC         90009190099
1562B61394B588   MARY         FIELDS                    OK         90010416139
1562B646191569   ACENCION     MARTINEZ                  TX         75077896461
15631748872B62   ALICIA       DOMINGUEZ                 CO         33026427488
1563261755B282   JOHN         MINKS                     KY         90008316175
15633371172B62   JUSTIN       JOHNSON                   CO         33054043711
15634894A5B526   ONOFRI       MENDOZA                   NM         90013608940
15637679A7B489   MABLE        COLSTON                   NC         90010196790
15638148A54B84   FRANCISO     SEGOVIA                   VA         90008291480
1563822383B375   SILVIA       REYNA                     CO         33014582238
1563B124A2B259   MERCEDUS     LONG                      VA         90001161240
1563B694261958   MARIANA      ESPARSA                   CA         46064006942
1563B856731637   NATASIA      JOHNSON                   KS         90010968567
15641587A7B43B   CHERYL       HARDY                     NC         90004305870
1564177755B526   LUIS         MARTINZ                   NM         90004067775
156425A8791569   ADRIAN       SARINANA                  TX         90013305087
15643715A91895   CRISTIE      GOULD                     OK         21072227150
156442A6A85999   AMY          COOK                      KY         66024392060
15644A1984B26B   NICOLE       CARPER                    NE         90006620198
15644A27991569   SAUL         PEREZ                     TX         90008150279
15646A91661947   EARL         WELLS                     CA         46088140916
1564843164B588   DESMOND      POBDINGA                  OK         90015174316
156492A284B588   JOSE         SOSA                      OK         90012742028
1564978494B298   JULIE        PETERSON                  NE         90011307849
1565135724B26B   RICHARRD     CROUSE                    NE         90014533572
15651965A5B154   DAMARIUS     HOWARD                    AR         90011059650
15651A9755B526   CORINA       BARELA                    NM         35092030975
15652198A31687   LACEY        HEROD                     KS         90005541980
1565272A79373B   MICHAEL      GALENTINE                 OH         90008707207
1565396214B26B   RYAN         HARBAUGH                  NE         26010679621
1565479316197B   ALFONSO      MARTINEZ                  CA         90015027931
1565497385B154   CEDRIC       BROWN                     AR         90014649738
15655237172B62   MANUELA      SANTILLAN                 CO         90014772371
15655946A9373B   DESMAND      HILL                      OH         90014779460
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15655A3A14B588   KARLA         WIGGINS                  OK         90014850301
15655A9882B968   ASCENCION     RODRIGUEZ                CA         90011550988
15657448272B62   SHAH          HUGH                     CO         90013014482
156579A154B588   MELISSA       WHITE                    OK         90003759015
1565844A731687   LUZ           ACOSTA                   KS         90007684407
156588A585B155   PASCHA        WILLAMS                  AR         90011598058
15658A85A55976   ROBERT        ACORD                    CA         49056820850
15659314A61938   IRIS          OROPEZA                  CA         46057363140
15659369A31687   LISA          BEGLEY                   KS         90014993690
15659A11391569   ALBERTO       DESANTIAGO               TX         90013170113
15659A5674B26B   JARED         ANDERSON                 NE         26032570567
1565B14517B489   RAUL          HERRERA                  NC         90011451451
1565B889231687   AMY           MAUS                     KS         90011138892
1566132A591569   ACOSTA        BRIAN                    TX         75012053205
15661998A4B26B   SHONDA        FARBER                   NE         90013579980
1566217244B588   KAYLA         RICCARDI                 OK         90014781724
1566293435B526   CHRISTOPHER   LUCERO                   NM         90007559343
15662A9524B26B   JULIE         REPLOGLE                 NE         26011100952
1566395414B588   ALLAN         HOPWOOD                  OK         21580069541
15665A23591895   CHRISTINA     BOATRIGHT                OK         90005180235
1566642724B588   JOSE          RAMIREZ                  OK         90009784272
1566661674B26B   JENNIFER      RAMIREZ                  NE         90015026167
156669A4A91895   DERICK        FOWLER                   OK         90014099040
1566793415715B   SHUVASISH     ROY                      VA         81067699341
1566831185B526   ANA           LEDEZMA                  NM         90010563118
1566859745715B   HERLINDO      CONTRERAS                VA         90010765974
15669429A9154B   JORGE         ALDAY                    TX         90004834290
1566B26674B588   MARIA         EDWARDS                  OK         90012532667
1566B412672B62   YANELLY       CASTERON                 CO         90013734126
1566BA1A191569   RUBY          TRUJILLO                 TX         90015060101
1566BA5AA9373B   BRIAN         POBST                    OH         90006510500
15672358944B23   KAYLEE        LANESE                   OH         90014173589
15672896A5715B   MAURICIO      ACOSTA-TORRES            VA         81068738960
15674175A91569   LINDA         ARROYOS                  TX         90010131750
1567457399373B   CHANEL        ESLICK                   OH         90013005739
1567484955715B   ORDONEZ       ORDONEZ                  VA         90001568495
1567621518B165   ANGEL         GIL                      UT         90001732151
15676628272B62   JEAN          WASHAM                   CO         33003576282
1567672AA5413B   TAYLOR        WOOD                     OR         90012457200
1567745484B588   SARA          CASIMIRO                 OK         90013474548
1567777132B275   LEONARDO      GREEN                    DC         90000727713
1567828145B526   ROBERTA       SALAS                    NM         90013182814
1567883964B588   SONIA         ARRIOLA                  OK         90015138396
15678A2375B154   SHAREE        JEFFERSON                AR         90002470237
1567958224B588   ISRAEL        RUIZ                     OK         90001375822
1567B21A96B262   THOMAS        RIDDLE                   AZ         90011702109
1567B99A45B154   ROBYN         GALBERT                  AR         90012029904
156811A5155976   CESAR         CHAVEZ                   CA         90013111051
156816AA77328B   RONALD        KUHL                     NJ         90014866007
1568218A755976   SONYA         MORALES                  CA         90013321807
1568273985B526   OBED          VELAZQUEZ                NM         90014897398
1568293A44B588   RUBEN         FUENTES                  OK         90011499304
15683264A7B489   OSCAR         CASALEGNO                NC         90014382640
1568439489373B   TAMMY         TAGUACTA                 OH         90013353948
1568525377B436   JOSE          CAPELLA                  NC         90004822537
156852A9591895   JAIRO         HERNANDEZ                OK         90010902095
1568563337B489   ONDRE         STEVENS                  NC         90011136333
15685A58391964   EMILIO        SOLIANO                  NC         90010920583
156871A7A61985   ART           GARCIA                   CA         46006091070
15687593172B62   CASSANDRA     MADUBA                   CO         33087865931
1568856A161958   DOLORES       PLANDOR                  CA         90014845601
15689A9A961958   FRANCISCO     PENA                     CA         46092250909
1568B584131687   TYRONE        ADAIR                    KS         90015005841
1568B95327B489   MARIO         LARA                     NC         90014969532
15691A88655976   WENDELL       HUBBERT                  CA         90013700886
1569227934B588   DON           BIFFLE                   OK         90003532793
156922A217B489   MARKEISHA     TAYLOR                   NC         90009582021
15692A3887B489   MARKEISHA     TAYLOR                   NC         90014740388
15692A86291569   ALMA          ROBLES                   TX         90012360862
15693367772B62   ROSALYN       JUAREZ                   CO         33052083677
1569367744B588   DIANA         MORENO                   OK         90011486774
1569655A757147   BLANCA        LOPEZ                    VA         90008065507
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15697487224B7B   D            HAMILTON                  DC         90014884872
1569852245B526   LURDES       CASTILLO                  NM         90009565224
1569955654B588   GOERGE       MILLER                    OK         90013145565
15699894A5B526   ONOFRI       MENDOZA                   NM         90013608940
1569B954772B62   BRITTANY     BARELA                    CO         90003109547
156B1722731687   PHILLIP      HESTON                    KS         90014987227
156B1979861938   YORDAN       VALDIVIA                  CA         90005399798
156B2322691554   JUAN         NAVARRETTE                TX         90012733226
156B286267B489   MARTHA       ELSTON                    NC         11086248626
156B3175A9373B   SHERRICKA    COLEMAN                   OH         90013881750
156B422817B442   TIFFCNY      FAIR                      NC         11064252281
156B443A561958   JOCELYN      JIMENEZ GANDARILLA        CA         90013494305
156B4475761958   YESICA       CHAVEZ                    CA         90011424757
156B4554355999   JUAN         CORDOVA                   CA         90001055543
156B468913162B   ERNEST       THOMPSON                  KS         90013156891
156B5746161938   KELLY        HALL                      CA         46029017461
156B5939857147   MARVIN       GUARDADO                  VA         90015119398
156B6552472B62   JAVIER       FRAUSTO                   CO         90010915524
156B7424291945   AMANDA       BARBEE                    OR         90010214242
156B7585672B62   JOSHUA       SIMKO                     CO         90007685856
156B7A7A391895   MUNG         KHAN                      OK         90015170703
156B8486491584   LIZET        CARRASCO                  TX         90009064864
156B893A38439B   DONNA        MCKINNEY                  SC         90008089303
156B9935491569   OSCAR        CHAPARRO                  TX         90008119354
156BB425831687   DON          KIRK                      KS         90013434258
1571164134B26B   MARIO        ESPINOZA                  NE         90011146413
15711974324B7B   RITA         VASQUEZ                   VA         90014569743
15712473A5B154   TONY         RAWLS                     AR         23089814730
1571378865715B   YAMILETH     QUINTANILLA               VA         90011307886
15714467372B62   MARIA        ROMERO                    CO         33004554673
15715797672B62   CARMEN       VASQUEZ                   CO         90005887976
15715A1425715B   APRIL        PARR                      VA         81022970142
1571642137B489   BRADLEY      ANDERSON                  NC         90014954213
1571672A45B154   LEWIS        PARNELL                   AR         90003887204
1571693765B526   TYRONE       BILAGODY                  NM         90014569376
15717722372B37   IOANA        MARIN                     CO         33081667223
1571787AA72B62   VINCENT      ROBLES                    CO         90013018700
15718763872B35   OLGA         ESCARCEGA                 CO         33067247638
15719323372B62   ALMA         RODRIGUEZ                 CO         90014573233
1571932697B489   SALVADOR     RAMIREZ                   NC         90011473269
1571965AA91263   MICHEAL      WEST                      GA         90014946500
157196A1A9373B   LYNCH        MICAH                     OH         90010886010
15723A4A791263   JJ           JJJ                       GA         90010590407
157246A1572B62   MARTHA       MENDEZ                    CO         90011456015
157248A425B526   PATRICIA     ROCHA                     NM         90002818042
1572858685715B   JUAN         PABLO CARCAMO             VA         90006825868
1572954437B489   JAMES        RIOS                      NC         11042905443
1572987A85B154   MARIAH       POWELL                    AR         90013738708
1572996384B26B   AMANDA       MASCHMAN                  NE         26043349638
1572B649954133   PATRICIA     ANDAVERDE                 OR         90009346499
1572BA36661992   MARIA        MARTINEZ                  CA         90008960366
157314A8A31687   TERESA       ORTIZ                     KS         22054424080
15732194897B3B   CAMILO       ARELLANO                  CO         90001951948
157329A6891569   MIREYA       URIBE                     TX         75063559068
15735A67291263   RICHARD      JACKSON                   GA         90010590672
157392A134B26B   NICK         LUDEMANN                  NE         90015492013
1573BA95561938   MARIBEL      DOMINGUEZ                 CA         46013220955
1574124AA9373B   ALLANTE      JOHNSON                   OH         90009282400
1574235625B154   KAISHAUN     BROWN                     AR         90011493562
15743A2977192B   MARCO        GRANADOS                  CO         90011160297
15744261872B62   UBERTINO     MARTINEZ                  CO         33092752618
1574436475B532   TONY         MARTINEZ                  NM         35013413647
15744592472B34   DONNA        VEYETTE                   CO         90011135924
1574696615B154   ARMANDO      ROBLES                    AR         23060839661
1574734A957147   JOSEPH       HOWARD                    VA         90000523409
15747A47A5B334   TAMI         FIDLER                    OR         90005730470
15748591872B62   FREDRICO     LAMARR NEVINS             CO         90007685918
1574898165B526   LARRY        SMITH                     NM         35077419816
15749264A7B489   OSCAR        CASALEGNO                 NC         90014382640
1574944395715B   KARLA        SALINAS                   VA         90015064439
1575199457B489   REBECA       MIRANDA                   NC         90001039945
15752358A91573   ALEJANDRO    DELATORRE                 TX         90009493580
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15752A21955976   VERICK         PHEANG                  CA         90011860219
1575429965B526   BARBOUR        FAYETTE                 NM         90014962996
157542A6691895   CATHERINE      ROE                     OK         90000762066
15754381A91569   RAFAEL         ONTIVEROS               TX         90014703810
1575476277B489   TANIA          MORALES                 NC         90009637627
1575487A472B62   MANUEL         PEREZ                   CO         90005978704
15755399A5B395   JESUS          SANTILLAN               OR         90009753990
1575541A991263   MARK           RICHT                   GA         90010594109
15756A84A5B154   DEBORAH        BASS                    AR         90011060840
15757877A91569   AZALIA         CORRAL                  TX         90010368770
1575838639373B   AMY            EBY                     OH         64516113863
1575922344B588   JAMES          BREWER                  OK         90015012234
1575939995B526   NORA           HERNANDEZ               NM         90009913999
15759A44572B62   TIMOTHY        JOHNSON                 CO         90012040445
1575B199A61958   GABRIEL        ALTAMIRANO              CA         46087481990
157619A6661958   ALBA LETICIA   URTADO                  CA         90013649066
1576556867B668   DECETRA        CONNER                  GA         15016035686
1576661875B526   LULU           PIRO                    NM         90008486187
157671A995715B   BRYAN          LUCARINI                VA         90008841099
15767A8829373B   SCOTT          PORTER                  OH         64562060882
15767A8A661958   THERESA        BILLS                   CA         46009220806
1576B879761958   CARINA         VERGARA                 CA         90012488797
1577184298164B   BRIAN          KEYES                   MO         29022048429
15772176372B62   HILDA          PONCE                   CO         90002671763
1577338838B164   VICTORIA       RAMIREZ GRAJEDA         UT         90012053883
1577399324B26B   DENISE         GALLARDO                NE         90014609932
1577565548B167   NELSON         MARTINEZ                UT         90005206554
157758A429373B   ANGEL          LOUGH                   OH         90014638042
15775A47257147   DEREK          LARKIN                  VA         90012570472
15776313672B28   KELLI          BAKER                   CO         90007263136
15776968972B62   SANDRA         WILLIAMS                CO         90012579689
1577775335B154   REGINALD       HOLLIMAN                AR         90014867533
1577B52495B396   DONALD         PALUMBO                 OR         90007535249
1577B539A72B62   ANGEL          PEREZ                   CO         90015115390
1577B63654B588   DEVERA         ALLEN                   OK         90011346365
1577B87339373B   ELAINE         MOODY                   OH         64591698733
1577BAA1891569   MARVIN         DODSON                  TX         90013170018
157812A714B588   KATHI          ROYAL                   OK         90012742071
1578242465B526   MAX            TORRES                  NM         90013964246
1578251545B154   PAUL           MATTHEWS                AR         90014075154
15783267A91396   CHARLES        KESSLER                 KS         29081942670
157834A475133B   CANDISS        JOHNSON                 OH         90010204047
1578351744B588   RACHEL         GAMBLE                  OK         90013895174
15783811172B62   NATHON         MILLER                  CO         90012898111
157845A6691569   IGNACIO        MENDOZA                 NM         75035215066
1578564872B227   JAMES          HOOKS                   DC         90010776487
15786369624B7B   VERONICA       MARTINEZ                DC         90008373696
15788486872B62   CARLOS         PEREZ                   CO         33019934868
15789A2A171949   LISA           EDDY                    CO         32011730201
1578B19835B526   ROBERTO        MARTINEZ                NM         90013531983
1578B199697B3B   VANESSA        SAINZ                   CO         39011361996
1579129949373B   DERICK         LOWE                    OH         90011372994
1579156A691895   REBECCA        SMITH                   OK         90012745606
1579288A75B154   ELVIS          CLARKS                  AR         90011068807
15792A31485922   JANE           MURRAY                  KY         90013020314
15793A65391569   MAYRA          DIAZ                    TX         90007340653
1579482255B526   LUIS           GARCIA-KALUAKINI        NM         90009998225
1579631529373B   KAYLA          BUSCHHORN               OH         90014193152
1579637A431684   ANTHONY        JONES                   KS         22012283704
15797299772B77   DONNA          ELLISON                 CO         33021852997
1579B48218B189   CRAIG          STEN                    UT         31004234821
157B121827B489   DIANE          ANDERSON                NC         11038092182
157B132A231687   LAP            BUI                     KS         90012333202
157B194655B526   SILVIA         TRUJILLO                NM         90010039465
157B3217891895   LISA           PETERS                  OK         90010902178
157B3226531687   GABRIEL        ZAPTA                   KS         90014702265
157B3726247956   CHRISTOPHE     COX                     AR         90002727262
157B513A15B526   ANASHA         COLLINS                 NM         90015201301
157B536894B26B   ROBERT         GRADY                   NE         90006803689
157B5989A61958   AMBARO         AHMED                   CA         90011369890
157B5A5277B489   BRYAN          SHAW                    NC         90014580527
157B693A154133   ALEXI          BUSSEY                  OR         90014169301
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157B715877B435   KIARA        MURPHY                    NC         90011431587
157B7454391263   ROBERT       HAMILTON                  GA         90006574543
157B991A157147   ALAN         CRUZ                      VA         90010849101
157BB34997B489   LATOYA       JENNINGS                  NC         90014643499
157BB43377328B   MARIE        GEBAUER                   NJ         90014344337
157BB48359373B   JOHNNETTA    CORE                      OH         64529144835
157BB816455976   JAVIER       SANCHEZ                   CA         49065108164
158111A1731687   ALEJANDRA    ARELLANO                  KS         90011141017
15812398472B62   FIDEL        DEDIOS                    CO         90012263984
158127A8391586   IMELDA       UBANDA                    TX         90012987083
1581288214B26B   MISTY        RUDDER                    NE         26038728821
1581296165715B   ANGEL        CORTES ROMERO             VA         81067659616
15815159A72B62   LUIS         ALVAREZ                   CO         33098381590
1581566A65B526   CAROL        SPENCER                   NM         35005706606
15815A77681665   BREONNA      JACKSON                   MO         90013830776
15816A2754B53B   DERICK       SCOTT                     OK         90008700275
1581736A155963   GENOVEVA     ROMERO                    CA         90010573601
1581813536B262   RENAE        TAWNEY                    AZ         90011851353
158187A5291569   MARIA        CALANCHE                  TX         90012737052
15818A27272469   KIMBERLY     SHENKLE                   PA         90013470272
15819251A91569   MARIE        DELGADO                   TX         90007292510
1581935757B489   SHARON       MCNEIL                    NC         11052463575
1581996555B526   LETITIA      PALUMBO                   NM         35009919655
15819A47257147   DEREK        LARKIN                    VA         90012570472
1581B24325B526   DOROTHY      PALLARES                  NM         90004962432
1581B669855976   MARTIN       ECHEVERRIA                CA         90006806698
1581B9A3355976   PAULA        HILL                      CA         49017899033
1582147677B426   SHANICE      BROWN                     NC         90014724767
15822482272B58   MARCO        JIMENEZ                   CO         90012374822
1582271685B154   RONALD       WILLIAMS                  AR         23091587168
15822A6A957147   MARIA        CHAN                      VA         90012450609
1582431824B588   VICTORIA     WALLER                    OK         90014743182
1582435434B582   STEVEN       JONES                     OK         90011193543
15826275A72B62   TOMMY        MCMILLIAN                 CO         90015032750
1582716434B588   ALBERT       JACK                      OK         90015161643
158271A1991263   ALBERTO      ARANO                     GA         90010601019
1582896AA72B62   HUGO         MARTINEZ                  CO         33012809600
15828AA7391895   KIMBERLY     HANNER                    OK         21095610073
1582962254B26B   JORDAN       MAY                       NE         90010746225
1582992A772B26   RONALD       BURDEN                    CO         90002899207
1582B23487B489   BARBARA      RUSHING                   NC         90002262348
1582B254891569   JESSICA      BARAJAS                   TX         90012952548
1582B395A91554   MARTHA       CERECERES                 TX         90010503950
1582B539A55976   LAZARO       LEON                      CA         90012875390
15831388A5B154   LATRICIA     HARRIS                    AR         90013653880
15832761A31947   ANNA         MCCOMAS                   IA         90014157610
15832A9934B588   TIFFINY      ARNDT                     OK         90012900993
1583346A25B154   ARTHUR       BURHAM                    AR         90006424602
15833862A9373B   KETORI       CLEMENS                   OH         90006978620
1583393AA4B26B   ERIKA        MICKLE                    NE         26069809300
158369A7455976   JONH         WHEELER JR.               CA         49022319074
1583969284B26B   BERNADETTE   HILL                      NE         26029656928
1583B76135B154   JAMILAH      SCOTT                     AR         90014287613
1584267A34B26B   JOHN         GRAY                      NE         90010736703
158448A7597B46   JENNIFER     HEFFRON                   CO         90006598075
15845634A93724   CHRISTINA    WHITE                     OH         90003706340
15846AA6957147   BAIAN        GREENE                    VA         90014390069
1584724549373B   SHON         BROWN                     OH         90010012454
15847522872B26   JENNIFER     NEIBERGER                 CO         33022445228
1584765A261958   DONALD       CAMERON                   CA         90005796502
15847A1A191569   RUBY         TRUJILLO                  TX         90015060101
15848141872B62   DORCAS       HERNANDEZ                 CO         90012481418
1584972524B26B   SHELBIE      WALKENHORST               NE         90003657252
1584999615B342   APOLINAR     ALMONTE                   OR         44556359961
1585177A25B526   SUSAN        PEREZ                     NM         90011677702
1585262527B459   DAMON        BOST                      NC         90001796252
1585537493B122   MELAKU       BANTEAMLAK                VA         90010033749
158568A1755976   MARIA        ORROSTIETA                CA         90012668017
15856A4379373B   BRADLEY      CARWILE                   OH         90012050437
15857451972B4B   BRANDI       HOFFMAN                   CO         90010714519
158574A1285823   ADRIAN       CRISAN                    CA         90010314012
158582A9A91569   DIEGO        LEGARRETA                 TX         90008432090
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158591A7991554   YVETTE           PEREZ                 TX         90009931079
1585949AA91569   ANTONIO          REYES                 TX         75042914900
15859A5A924B7B   TROY             PARKER                DC         90011800509
1585B282591569   NAVIL PALOMA     FLORES VAZQUEZ        NM         90014542825
1586165A15B154   ROMMEL           CHRISTIAN             AR         23083266501
158638A3561958   OFELIA           PORFIRIO              CA         90002848035
1586614987B34B   ROBERT           MEYERSON              VA         90003391498
158661A5257147   BLANCA           MARTINEZ              VA         81089771052
1586637779373B   MIKE             JONES                 OH         90014483777
1586919917B489   MAYRA            MARTINEZ              NC         90013301991
1586923495B154   NICOSHE          JAMES                 AR         90005762349
1586959144B22B   FABIOLA          GONZALEZ              IA         90011385914
1586B428472B62   SHARLENE         CHACON                CO         33044244284
1586B716791569   PERLA            CALDERA               TX         90007327167
1586B768A51357   SHIRLEY          CRAWFORD              OH         90008167680
158712A685B154   DAWN             BRIGMAN               AR         23085412068
158726A923B33B   JULIA            DIAZ                  CO         90014596092
1587274567B489   BRADLEY          ROBERTSON             NC         90011497456
158735AA25715B   JESUS            HENRIQUEZ             VA         90011175002
15873A3844B26B   KAYLA            STORM                 NE         90011260384
1587447155413B   ELIZABETH        PINEDA                OR         90015044715
1587447AA9373B   APRIL            PATE                  OH         64591284700
1587453A555976   ROGER            DUNBAR                CA         90003185305
1587682677B489   ROSALINA         CRUZ                  NC         90014148267
15876A8199373B   KELSEY           HENDERSON             OH         90004230819
158771A174B588   MARCELA          OCHOA                 OK         90008161017
1587729328B472   GWENNITTA        BANKS                 VA         90015142932
1587767774B26B   BREANNA          SCHROEDER             NE         26095946777
1587887914B26B   JOSEPH           KINNEY                NE         90006138791
1587993A655976   ANGELA           HERNANDEZ             CA         90013099306
1587B59AA72B62   MICHELLE         CHACON                CO         90012815900
15881A12891885   ALEJANDRO        DE LA CRUZ            OK         90008900128
1588363485B154   JOYCE            HIGGINS               AR         23001646348
1588568679373B   BROOKE           BANKS                 OH         64533226867
1588591757B489   CEDRIC           HODGES                NC         90013559175
15885A72261958   ALETHEA          KELSO                 CA         90014830722
1588814655715B   KATRINA          LEIGH                 DC         90007741465
158883A545B526   SINTIA           BENCOMO-MOLINA        NM         35013913054
1588843875B154   TIFFANY          WATSON                AR         90014344387
1588912885715B   SHARMAINE        BUCKNOR               VA         90008011288
1588B64434B588   AURORA           MARTINEZ              OK         90012756443
15891951972B62   AYANA            LEVY                  CO         90009149519
1589321455B154   LADEIDRA         MOORE                 AR         90013622145
15893228A42597   EDGAR            PENA                  WA         90015422280
1589323725B532   AMANDA           GARCIA                NM         35006652372
158946A239373B   DAVID            DAVIES                OH         64512476023
15894765324B7B   SUREE            BROWN                 DC         90012847653
1589681A42B685   EVAN             SAUNDERS              WA         90015508104
1589746A572B62   JASMIN           MARTELL               CO         33014144605
15898A27961958   NANCY            HOWARD                CA         90009840279
15899349A61958   JOHN             MILLER                CA         46091103490
15899573872B62   CHARLEENE        BUSSEY                CO         90009575738
1589985595133B   REASHAWN         NORMAN                OH         90007328559
15899A3425B526   JEANETTE PAOLA   OREA-GONSALEZ         NM         90014000342
1589B194391263   WILLIAM          JACKSON               GA         90013741943
1589B286761958   CAROL            ROBERTS               CA         46055332867
158B11A1847956   DANE             KHILLING              AR         90006781018
158B234A431687   TONY             TONIHKA               KS         22015633404
158B2457593725   CHARLES          CLAY                  OH         90001384575
158B263735B526   MARGARET         LAMAGNA               NM         90008486373
158B28A4291895   KEANNA           BENTON                OK         90012998042
158B2915191263   TAWANNA          JOHNSON               GA         90010819151
158B3978491524   ELVIA            VITELA                TX         90010859784
158B4194191569   ANGELICA         LIMON                 TX         90013741941
158B5937724B7B   DEMETRA          BROOKS                DC         90007319377
158B596359373B   LATORIA          WALLACE               OH         90011249635
158B6A72361958   ARTURO           OBESO                 CA         90014820723
158B764989373B   DORIANE          DAWSON                OH         90010746498
158B8337231687   CHRISTINA        CUBBAGE               KS         90005043372
158BB54625B526   ROBERT           HENSON                NM         90009565462
15911737A71929   KAREN            SANDOVAL              CO         32099167370
1591316599373B   TOMMY            HOYD                  OH         90001341659
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1591592594B26B   MELISSA      LEUTY                     NE         90013539259
1591758155B526   ALYSHA       ARANDA                    NM         90011185815
1591847899373B   ANTOINETTE   TORY                      OH         90013344789
1591B314357147   CARLOS       GUAMUCHE                  VA         90010053143
1591B613755947   KESHIA       JIMENEZ                   CA         90006456137
1591B616291895   ANGELA       DEISS                     OK         90014106162
1591B6A4A57147   DORA         GAITAN                    VA         90015016040
15921692472B62   OLIVIA       TIEH                      CO         90013046924
15921AA399373B   DARSEY       MONROE                    OH         90015140039
15922A53991895   ERIC         MASON                     OK         90012630539
15923A8792B889   MARY         ROLLEY                    ID         42012150879
1592468A272B35   SILVIA       DEJAQUEZ                  CO         33028756802
1592557A391895   CURTIS       CARTER                    OK         21049695703
1592698385B338   TAMMY        BURNS                     OR         44532669838
15927392472B62   ZAGRA        NOURIN                    CO         90012693924
159294A6291569   PATRICIA     PEREZ                     TX         75026034062
1592983375B526   LYNETTE      ABEYTA                    NM         90005588337
1592B3A9831687   SHANNA       KENNEDY                   KS         22043043098
1592B84634B588   LAIRD        LIEN                      OK         90014958463
1593147542B837   COREY        SEELY                     ID         90004144754
1593295724B555   RYAN         SPENCER                   OK         90013859572
1593519A591569   GERARDO      GONZALEZ PEREZ            TX         90013341905
15935223A5B526   CALEB        BRADLEY                   NM         90010252230
15935A19A72B62   LEONEL       REYES                     CO         90014100190
1593653233B392   JOSE LUIS    JIMENEZ-MARITNEZ          CO         33043865323
1593719987B489   BLANCA       GUZMAN                    NC         90010831998
15938429672B62   ALAN         AGUILAR                   CO         90013084296
1593876A42B953   DIONICIA     HERMOSILLO                CA         90011917604
159395A1A72B62   FABIAN       MOLINA                    CO         90005075010
15939A65A4B57B   BERNICE      LEMIEUX                   OK         90012390650
1593B19A25715B   JOEL         GAVARRETE                 VA         90010771902
1593B65649373B   CANDACE      O KELLY                   OH         90013386564
1594333315B154   ROGER        JOHNSON                   AR         90009363331
1594619357B489   BOSSMAN      ELLISON                   NC         90014351935
1594666475715B   JERRY        SMITH                     VA         90011196647
159473A694B26B   RENEE        DONOHUE                   NE         90014083069
1594797524B55B   BARBARA      MCFARLAND                 OK         90015029752
15949A24672B62   TINA         WRIGHT                    CO         33000030246
1594B78258164B   KARLA        TOLBERT                   MO         90013987825
1594B84174B26B   RUBEN        MENDOZA                   NE         26060388417
1595125854B588   VIVIAM       THOMAS                    OK         90013312585
1595128279373B   MALCOM       KEITH                     OH         64540362827
1595153765715B   CRISTIAN     DENTURA                   VA         90001635376
159517A3791569   DOLORES      LOPEZ                     TX         75082547037
1595211494B588   KYLE         SNYDER                    OK         90014121149
1595256245B154   ANDRE        WALKER                    AR         90011085624
15952A4235B154   TASHA        AMOS                      AR         90013830423
15953253272B62   MICHELE      ALONSO                    CO         33002532532
1595337157B489   ERICA        SMITH                     NC         90013083715
159536A355B526   DIONNNE      DELVANN                   NM         90002296035
15953766A61938   ANGELO       SMITH                     CA         46098307660
15953796A4B588   TIFFANY      STEWART                   OK         90013777960
159539A484B588   TEMPEST      POWELL                    OK         90010629048
1595492915B154   GARY         ASHFORD                   AR         23067359291
1595528528B154   TRAVIS       BENCH                     UT         31010712852
15957A4A391569   ERIC         DE ANDA                   TX         90010340403
1595885665B526   MERCEDES     JENKINS                   NM         90015168566
1595962138B194   TRINA        GALLEGOS                  UT         90008726213
1595984A64B26B   RAYANDA      DUBAS                     NE         90013108406
159599A8191263   HEATHER      TRAMMELL                  GA         90014389081
1595B122457147   MELISSA      DIAZ                      VA         90013551224
1595B89467B489   PABLO        PEREZ                     NC         90007948946
1595B938393763   VINCENT      SHAW                      OH         90004589383
15962A6A161958   ANA          HURTADO                   CA         90010960601
159635A6147956   BETTY        BREEDEN                   AR         24084335061
1596367A48B472   RENEE        RHODES                    VA         90015086704
1596481A897B3B   FRANK        VILLANUEVA                CO         90003088108
1596516457B489   ANGHEL       QUIJANO                   NC         11014431645
1596549A757147   ROXANA       ANGULO                    VA         90010534907
15966A13A5715B   FREDY        VELAZQUEZ                 VA         90003080130
15967546272B62   SUSAN        BOUCHER                   CO         90015005462
15968A24A7B489   JEROME       PALMER                    NC         11077600240
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1596921A44B588   GREGORY        SNEED                   OK         90012722104
1596999783852B   LYNDSEY        SHAW                    UT         90010269978
1596B162957147   JOSE           UMANZOR                 VA         90000781629
1596B23A391263   OSANCRE        WARD                    GA         90012462303
1596B279891569   JOSE           CALVO                   TX         90013612798
1596B441155976   CHUE           YENG LEE                CA         90011164411
1596B77132B236   HELEN          TSEHAY                  DC         90009757713
1597123835B526   EDDIE          JARAMILLO               NM         35060612383
15971471A91895   DERRICK        HILLIARD                OK         90002794710
15971688872B62   ROCIO          JIMENEZ                 CO         33027506888
1597176A27B35B   MARIA          AGUILERA                VA         90006597602
159722A3A7B489   CORNELIO       GARCIA                  NC         90014112030
1597293633B368   BRADD          WICKERT                 CO         33077189363
1597479464B588   ROBERT         POOL                    OK         90003967946
15974A4249373B   ROSETTA        MEBANE                  OH         90009840424
1597687174B55B   KELLI          NORRIS                  OK         90005798717
1597759385B154   ARIHANNA       STARKS                  AR         90013355938
1597783475B526   TABITA         SCOBBER                 NM         90013238347
1597921A455976   RODNEY         TAYLOR                  CA         90014902104
1597B94267B489   SULVANA        HOLLIS                  NC         90012659426
15982378272B62   LIL            SOSO                    CO         33079613782
15984A1147B489   SHAWN          HOWARD                  NC         90014690114
15985252672B3B   MARGARITA      ARREOLA                 CO         90010382526
15987113A8B194   MARK J         PATTERSON               UT         90007641130
1598815A455976   AGEO           JUAREZ                  CA         49082651504
15989649272B62   VANESSA        MARTIN                  CO         33092496492
1598B53675B532   CHARLES-NITA   BURNS                   NM         90005835367
15991134A91569   REFUGIO        BANUELOS                TX         75094011340
15991383A55976   JESSE          MARTIN HERNANDEZ        CA         90004363830
15991A2824B588   MARY           GODINEZ                 OK         90011530282
159926A1661958   JAMAL          MARRUSH                 CA         90012076016
1599512219373B   BARBARA        ALDERSON                OH         64591391221
159956A285B179   DENISE         THOMAS                  AR         90014786028
15996389572B89   MOHI           JAMELL                  CO         90005003895
15996A38685B36   SANDRA         PINEDA                  FL         90014120386
1599744542B857   PUENTE         ANGELA                  ID         90011664454
1599836964B26B   COURTNEY       JOHNSON                 NE         90012223696
1599899295B154   JEREMY         NELSON                  AR         90012079929
1599899A14B548   JEAN           BOWDEN                  OK         90009359901
1599959474B26B   MELISSA        SOBOTKA                 NE         90014795947
1599B325247956   CHESTER        STARR                   AR         24083153252
1599B418131687   SCOTT          GARRETTS                KS         90000384181
159B118915B526   MATT           LUCKETT                 NM         90005421891
159B132277B489   C              CLOVER                  NC         90005453227
159B352A561972   VINCE          IVARRA                  CA         90004405205
159B423914B52B   JESSICA        DAYS                    OK         90011602391
159B43A283162B   JACK           THOMAS                  KS         90010373028
159B4431277577   JOSE           ANGUIANO                NV         90001324312
159B4632A57147   GILMAR         PEREZ                   VA         90012036320
159B4647591263   TOMOU          HARRIS                  GA         90014696475
159B529137B323   MARLENE        SAPAICO                 VA         90007292913
159B552764B555   SHALALAH       SAUNDERS                OK         21583885276
159B5817893725   EBONY          SMITH                   OH         90008498178
159B5879A91569   LAURA          HERNANDEZ               TX         90012808790
159B5882393727   SHAWNTESHIA    MASTON                  OH         90013318823
159B7121455976   JOHN           LONG                    CA         90014531214
159B7A62A5B154   DEBORAH        SIMPSON                 AR         90009360620
159B8279891569   JOSE           CALVO                   TX         90013612798
159B844877B489   HECTOR LEMOS   COLORADO                NC         90012354487
159B858AA5B154   JACQUITTA      MCCLARTY                AR         23085605800
159B8866691573   MARIO          TORRES                  TX         90008758666
15B12384531687   CYNTHIA        DEERFIELD               KS         90004123845
15B13265357147   JOSHUA         KING                    VA         90011382653
15B13582191578   RAMON          GOMEZ                   TX         90000905821
15B13611A64135   ALMAZ          TILAHUN                 IA         90015046110
15B14A22347956   WILLIAM        KUNKEL                  AR         90003640223
15B16A43455976   CHRIS          RUIZ                    CA         49090730434
15B16A9915B154   TERRANCE       TURNER                  AR         90003130991
15B1754634B26B   JANET          KLEINERT                NE         90008455463
15B19156997B3B   TIFFANY        MCEWAN                  CO         90001101569
15B1965297B489   MARTIN         VALLES                  NC         11000166529
15B1B344472B95   AILEEN         DOMINGO                 CO         90009223444
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15B1B538855976   FELIX        ARENAS                    CA         90013075388
15B1B888793732   NICOLE       VERNITTA                  OH         90007238887
15B21364693783   BENITO       MARTINEZ-MORALES          OH         90006183646
15B2138735B526   MARIAH       SALAZAR                   NM         90012573873
15B2184544B555   SHUNRONTA    GRAVES                    OK         90003688454
15B22255272B62   DALTON       LONDON                    CO         90009752552
15B22284161958   JESUS        CASTILLO                  CA         46036942841
15B22325247956   JENNIFER     JAMISON                   AR         90005613252
15B22653491263   CHIQUITA     STEWART                   GA         90014926534
15B2378A67B489   KEVIN        TARR                      NC         90015517806
15B238A527B489   LASHWN       LIPSCOMB                  NC         90003978052
15B23A2A55B264   JANET        KELLER                    KY         90010810205
15B242A915B154   ANTHONY      GLOVER                    AR         90015062091
15B24729636B24   AVINO        SOTO                      OR         44590367296
15B2521AA8B123   SAYDI        RAMBAL                    UT         31094992100
15B254A5891895   ALEJANDRA    TORRES                    OK         90002394058
15B26378147956   DENNIS       BARRETT                   AR         90013803781
15B266A6431687   CORY         SAMPSON                   KS         22014186064
15B26A7944B588   MICHAEL      MONTEMAYOR                OK         90014770794
15B2721A755976   LEANNA       MADRID                    CA         90011402107
15B28187491895   DIAMANTINA   LOPEZ                     OK         90012641874
15B29986585999   STUART       FREEMAN                   KY         90013339865
15B2B22534B588   YESSICA      MARTINEZ                  OK         90010082253
15B2B424191895   ASHLEY       OWENS                     OK         21021624241
15B31153661958   MIGUEL       GONZALEZ                  CA         90003601536
15B3166A864135   FRANCISCO    GONZALEZ                  IA         90015046608
15B3189349373B   STANFORD     COLEMAN                   OH         64577368934
15B32664564135   MANUEL       HERNANDEZ                 IA         90015046645
15B3335464B588   ERIC         MCKEE                     OK         90012933546
15B3351675B59B   PATRICIA     CALDERON                  NM         90006915167
15B3366399373B   ASHLEY       JENNINGS                  OH         90013706639
15B3422739373B   ASHLEE       GIBSON                    OH         90013812273
15B3532719136B   CARLOS       NERIO                     KS         29089843271
15B3689897B489   DANIELLE     CASTRO                    NC         90011468989
15B373A297B489   DERICK       GRANDBERRY                NC         90006203029
15B37517257147   JAIRO        PLATAS                    VA         90008435172
15B38491261925   JEAN         RONALD                    CA         90012724912
15B39A76691997   VERNICE      ROBERTSON                 NC         90013040766
15B3B57612B242   LASHONDA E   COOPER                    DC         90003445761
15B41396191569   MIRNA        GALAVIS                   NM         75013753961
15B4273425B59B   BETTY        ORTIZ                     NM         90013967342
15B4277922B863   BRIAN        BRISCOE                   ID         90008827792
15B42857231687   MARIAH       LOGAN                     KS         22017408572
15B4373425B59B   BETTY        ORTIZ                     NM         90013967342
15B4388735B274   DEON         LEWIS                     KY         90012798873
15B4484965B526   CHRIS        THOMAS                    NM         90015088496
15B44916191263   CINTHIA      ROGERS                    GA         90013239161
15B45714857122   BLANCA       RIOS                      VA         90000637148
15B4574337B489   JUAN         CASTILLO                  NC         11018067433
15B46A49772B62   JORGE        PICHARDO                  CO         90008870497
15B46A7897B426   MARTIN       YEPEZ                     NC         90012380789
15B47938A47956   MELISA       GILSTRAP                  AR         24066969380
15B48971961958   DONNA        RECKLAU                   CA         46056379719
15B48A7679373B   ANDRE        EVANS                     OH         90013710767
15B48A77331687   AMBER        JACKSON                   KS         90014860773
15B49375461958   VICTORINO    LAGUNAS                   CA         46046343754
15B4B22A35B59B   SALVADOR     CORONA-CHAVEZ             NM         90013942203
15B4B362893767   SHANNA       JONES                     OH         90001993628
15B51175991263   MARLA        COX                       GA         90009951759
15B5239935B526   NICOLE       BLOOM                     NM         90001473993
15B52445861958   LUIS         LEAL                      CA         90010644458
15B53A38861938   RHODA        QUATE                     CA         46086920388
15B5464787B489   DOROTHY      GRAY                      NC         90013096478
15B54687A4B26B   MELISSA      YOUNG                     NE         26056236870
15B54865231687   DALLAS       WALTEMIRE                 KS         90014868652
15B5518289373B   RICKY        HAWTHORNE                 OH         90013641828
15B55272533683   TANYA        MACK                      NC         90001402725
15B55962572B62   CASTRO       MIGUEL                    CO         90009519625
15B5664787B489   DOROTHY      GRAY                      NC         90013096478
15B5713894B588   MARLENE      JACKSON                   OK         90013771389
15B5836A57B489   MARIA        SANCHEZ                   NC         90009953605
15B588A334B26B   ASHLEY       JOHNSON                   NE         90014838033
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15B5936745B59B   MICHELLE        JACQUEZ                NM         90014153674
15B59817857125   PETER           MORIBA                 VA         81086188178
15B5B146255976   FEDERICO        NAJAR                  CA         49018181462
15B5B23454B26B   JACOB           GUDE                   NE         90014362345
15B5B49455B526   JULIA           RAMIREZ                NM         90009464945
15B5B91949373B   AMBER           BLACK                  OH         90012509194
15B61783554173   IRENE           ARMAS                  OR         90014947835
15B62142A4B588   SHERYL          SHERLOCK               OK         21553741420
15B6293655715B   BLANCA          ROSSA BERRIOS          VA         81058199365
15B6317A791895   SCOTT           HOWELL                 OK         90001781707
15B63327461938   ROBERT          BUCK                   CA         46014243274
15B64AA8A9373B   ANDREA          CRAPYOU                OH         64574840080
15B6544A991569   JUAN            LOERA                  TX         90009774409
15B66A39991895   MARC            BENNETT                OK         90012630399
15B67641555976   HOLLY           ZARATE                 CA         49093806415
15B67A4915B154   ERIC            AUSTIN                 AR         90014770491
15B6824A54B588   AGNES           FLOWERS                OK         90010392405
15B682A1791569   VANESSA         RODRIGUEZ              TX         75025072017
15B6831A34B232   HEATHER         GUERRY                 NE         27093233103
15B692AA191569   SANDRA          ROMO                   TX         75017012001
15B69873831687   TASHIA          TOWNSLEY               KS         90014868738
15B6B29574B26B   STEPHANIE       SNOOK                  NE         90013182957
15B6B47199373B   ALFRED          LEWIS                  OH         90014364719
15B7193337B489   LATONYA         JOHNSON                NC         90013349333
15B72161961958   RUBY            DEVINE                 CA         90007571619
15B72244797B63   KEVIN           RIES                   CO         90007152447
15B7235464B588   ERIC            MCKEE                  OK         90012933546
15B7265544B588   YADIRA          GUITERREZ              OK         21512976554
15B72A2165B154   TANGILA         SMITH                  AR         90009260216
15B7377277B489   CHIFFON         MOSLEY                 NC         11055837727
15B745A995B59B   LYDIA           LOPEZ                  NM         90014185099
15B74737931687   AGUSTIN         CHAVEZ                 KS         90011897379
15B7511235715B   KRISTAL         BOUNCER                VA         90007771123
15B75A54157147   SILVIA          MOGOLLON               VA         81037840541
15B76323791573   LUCIA           CABRAL                 TX         75068753237
15B7697764B26B   RICK            SIPES                  NE         26082699776
15B776A5857147   ELIAZAR         DURAN                  VA         90012686058
15B78856591569   CONTRACTOR      GOLDEN EAGLE           TX         75062248565
15B79111691263   JONAS           FLEURAIME              GA         90011451116
15B795A434B26B   JUSTIN          SHANDERA               NE         26085415043
15B7966A55B154   KEVIN           JACKSON                AR         90011966605
15B79815385935   LINDA           JOHNSON                KY         90001888153
15B7B13A191895   STEPHANIE       RODDEN                 OK         21068051301
15B7B642991569   FELICIA         MEDRANO                TX         90013296429
15B7B75565B59B   DESIRAY         TRUJILLO               NM         90014167556
15B8113767B386   JORGE           PACHECO                VA         90001481376
15B8124517B489   JESSICA         RAMOS                  NC         90013112451
15B81282461938   KEITH           COLEMAN                CA         46019472824
15B81445155948   LUISA           SAAVEDRA               CA         49074964451
15B81923291569   GABRIELA        LUJAN                  TX         75029529232
15B81A51371929   DANA            STARR                  CO         90012980513
15B8216925B526   RONALD          YATES                  NM         35007311692
15B82216124B7B   IKEA            DARMO                  VA         90014702161
15B824AA69373B   GREGG           JESSEN                 OH         90012384006
15B8251A75715B   FABIAN          LEDESMA                VA         90005995107
15B8257844B588   MICHAEL         THOMAS                 OK         21507465784
15B8265427B489   ALEITA          KEZIAH                 NC         11072296542
15B82A83491263   SHAQUAZ         COOK                   GA         90010530834
15B83134891895   KRISTEN MARIE   WILLIAMS               OK         90005541348
15B83255261958   MARA            REAVES                 CA         90002982552
15B84368A61958   TESEMA          MELKETO                CA         90013533680
15B8439455B154   JAMES           HUNTER                 AR         90013483945
15B84741957147   MADELYN         GARCILAZO              VA         90014347419
15B85A7244B26B   MICHELLE        MARTINEZ               NE         90014520724
15B86614991263   SHAQUAZ         COOK                   GA         90011306149
15B87912857147   TEKO            BOSTICK                VA         81059229128
15B8847127B373   HERMITA         PORTILLO               VA         90001704712
15B8997A35B59B   DYMOND          LOPEZ                  NM         90014289703
15B89A4249373B   MATTIE          KELLEY                 OH         64524470424
15B8B895691569   ADRIAN          MUNOZ                  TX         90012718956
15B9241A991993   ALLISON         PULLEY                 NC         90000344109
15B92866461958   CARLOS          RODRIGUEZ              CA         90009838664
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15B9358127B489   CHEROKEE     PICKERING                 NC         90006125812
15B95A8A77B489   VON          MILLER                    NC         90012220807
15B96A4AA57127   KELSON       DUANE                     VA         90001840400
15B96A8234B588   JENNIE       JACKSON                   OK         90011750823
15B97769591569   ESPERANZA    GONZALEZ                  TX         75076297695
15B9799545B526   LEE          GUTIRREZ                  NM         35030849954
15B97997855952   DELIA        MARTINEZ                  CA         90004549978
15B98258372B43   MARILYN      BERGSTROM                 CO         33098392583
15B98376591945   NERY         RAMIREZ                   NC         90010193765
15B98583657147   JOSE         PEREZ                     VA         90005045836
15B99525A4B26B   SABRINA      WEAVER                    NE         26030645250
15B99651591547   GLORIA       ESCOBEDO                  TX         75083676515
15B9988659373B   JAN          SINGLETON                 OH         90007158865
15B9B531A61958   DAISY        ESTRADA                   CA         90012235310
15BB1A1125B154   SABRINA      HOOD                      AR         23094890112
15BB1AA175715B   RUTH         AREGAI                    VA         90014230017
15BB513157B489   NORMA        VILLEGAS                  NC         90007931315
15BB575AA61938   ANGEL        AGUILAR                   CA         46053757500
15BB5957161958   JULIO        DE LA CRUZ                CA         90012969571
15BB5A3A791895   GUILLERMO    LOPEZ                     OK         90001180307
15BB629868598B   TAMMY        HUGHES                    KY         90013942986
15BB646944B26B   CAROLYN      REAGAN                    NE         26038754694
15BB7563291569   STACEY       ARROYOS                   TX         75029005632
15BB7743247956   JOHN         FLYNN                     AR         24074717432
15BB8217661938   ERIKA        SECENAS                   CA         90005352176
15BB915615B195   EDWIN        DANIEL                    AR         90004291561
15BB9228357122   EDGAR        MARTINEZ                  VA         81026172283
15BB929274B26B   SANDRA       DOAK-BUDINSKI             NE         26078312927
15BB9437491263   ALIAH        GREEN                     GA         90014694374
15BB9687155948   OLGA         LOZANO                    CA         49086586871
15BB9924771925   ALFONSO      SALAS                     CO         90010649247
15BB9AA6161958   ROLANDO      MENDEZ                    CA         46065260061
15BBB538991569   CHRISTIAN    CARBAJALL                 TX         75090025389
15BBB82515715B   SIMONE       DURU                      VA         81035188251
1611186A893745   KATHRYN      SANGER                    OH         64510518608
16111A1988B194   MAKINLEY     SCRIVER                   UT         90001290198
16111A5394B588   KHUONG       TRUONG                    OK         90009450539
161149A695715B   GILBERT      GOINS                     VA         90014449069
16115391372B62   AUSTEN       SMITH                     CO         90013433913
161156A2431687   JESSICA      DENTON                    KS         90006326024
16116A17555976   BENJAMIN     SALARIO                   CA         49069520175
1611711A35B526   JERRY        GRIEGO                    NM         35028461103
1611738A391895   EMMITA       SALGADO                   OK         90009713803
16117641672B62   CAM          TALLMADGE                 CO         90012286416
16117A4725B154   MELDIN       GOWIN                     AR         90000190472
161183A7461976   MURICIO      PIMENTEL                  CA         46053843074
1611968394B588   JUAN         VERANO                    OK         90013866839
1611B71249373B   ANDRE        HAWKINS                   OH         64538697124
1611B992161976   ROBYN        BROWN                     CA         90014109921
1612153A351337   CINDI        MYERS                     OH         90013045303
16121A84193754   SISTINA      BARNETT                   OH         64566880841
16123668872B64   HUGO         RODRIGUEZ                 CO         90006956688
16123A11891569   JOSH         RODRIGUEZ                 TX         90014450118
161243A9A55965   LIDIA        VERDUGO                   CA         90013963090
16125141A61976   NUBRINA      ESTEBAN                   CA         46056231410
16125437A51337   ABLAYE       BOCAR                     OH         90002714370
16125557872B62   STEPHANIE    STEPHENS                  CO         33076425578
1612585284B588   MESHELLE     FOWLER                    OK         90010948528
16125A4185B526   ANDREA       HOLMAN                    NM         90008700418
16126A74255965   JOVANA       GARCIA                    CA         48001620742
1612712194B565   CRYSTAL      DAVID                     OK         90010191219
1612748395B526   NANCY        VALDEZ                    NM         90015014839
161275A319152B   MARI         GARDEA                    TX         90011775031
16128894272B62   VERONICA     CABRERA                   CO         90014918942
16128A6934B588   CHARITIE     BYRD                      OK         90008110693
16129111A55965   DANIEL       CEBALLOS                  CA         90014351110
1612914A19373B   NATALIE      LITTLE                    OH         90004231401
1612B34638B147   RIGOBERTO    MARTINEZ                  UT         31087403463
1612B37925B348   MANUEL DE    ROBLES-HERNANDEZ          OR         44520023792
1612BA54391569   SANDRA       GARCIA                    TX         75073440543
1613139A331687   JEREMY       BROWN                     KS         90014763903
1613162944B26B   HANNAH       RODRIGUEZ                 NE         26098866294
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1613166A55715B   URANCHIMEG      ODGEREL                VA         90009576605
1613173A355965   ELIANA          MARTINEZ               CA         90014957303
1613224789373B   KAYLA           FERRARA                OH         90015432478
16132A13191895   DEBORAH         KAASE                  OK         90014490131
16132A8975715B   PAUL            PRASITH                VA         81005910897
1613338A891569   TOMAS           SEGURA                 TX         75011553808
161349A194B588   REBECCA         ROBINSON               OK         90003879019
161356A415B154   KEITH           WILLIAMS               AR         90007666041
1613617A19373B   TALA L          WOODS                  OH         64553491701
16136787572B62   CIERRA          SAWYER                 CO         33036947875
1613719A691569   ENEDINA         LUCIO                  TX         75011851906
161381A517B464   RITA            LOWERY                 NC         90001511051
161384A9531687   ELIJAH          CRABTREE               KS         90014764095
16138687A7B489   TERTIES         PHILLIPS               NC         11040986870
1613892A55B154   SHONDA          WOODS                  AR         23081569205
16138A5269373B   JONI            MOORE                  OH         90008830526
1613964255B526   DESTINY         MARTINEZ               NM         90011886425
1613B54755715B   MARINA          FERNANDEZ              VA         90014845475
1613B71344B588   FELICIA         ZAMORA                 OK         90008967134
1613B7A527B463   STEPHANIE       GRIER                  NC         90005127052
1614116A45B129   PATRICK         ELLIS                  AR         90004591604
16141A26557147   CANDALE         STINE                  VA         90014120265
1614229989373B   LACI            LESTER                 OH         64553972998
1614272175715B   JOSE NORBERTO   MACHADO                VA         90006267217
16142AA9291569   GLORIA          PALACIOS               TX         75045230092
16143115672B62   ALICIA          EDWARDS                CO         33022251156
16144182172B62   SHELLIE         STRUENSEE              CO         33014441821
1614672155B154   SHAUNTE         KIDD                   AR         23012237215
16147274A5715B   CRUZ            AREVALO                VA         90011232740
1614775A691895   BOBBY           MARTIN                 OK         90014167506
16148187A91569   LAURA           YEVERINO               TX         90015101870
1614859965B526   PABLO           ROMERO                 NM         35017835996
1614916659373B   KRISTIE         CLAY                   OH         64527061665
1614946295B154   CHANDRA-KURT    WALKER-FELIS           AR         90013764629
16149A61357147   ROBERTO         REYES                  VA         90015110613
1614B46A68B169   PETRA           PEREZ                  UT         90005684606
1614B621351542   KATRINA         COZAD                  IA         90014436213
1614B625355965   PAULINE         MOZ                    CA         90001186253
1615351795B526   MARIBEL         ULIBARRI               NM         90011315179
16153789A91895   ERIC            REYNA                  OK         90011857890
161542A9293725   CHSTAR          MILTON                 OH         90010702092
161551A479373B   OHAIR           ROSCOE H               OH         90004561047
1615534135715B   JUAN            LEMUS                  VA         90012103413
1615593A831687   CARLA           PHILLIPS               KS         22070959308
1615643A151337   ANTHONY         BENTON                 OH         90012784301
1615663A986463   SAMUEL          KNIGHT                 SC         90011316309
1615685A261938   THURMAN         BALDWIN                CA         46016348502
1615989565715B   RAUL            MOLINA                 VA         90011508956
1615B275372B23   DAVID           JERNIGAN               CO         33024252753
1615B77424B588   FORREST         JOHNSON                OK         90014207742
1615B881A91895   ML              WALLIS                 OK         90009118810
16161535324B7B   SARA            KEBEDE                 DC         90000275353
161619A5455976   KELLIE          PAYNE                  CA         90012479054
16162A51131687   RYAN            SNEATH                 KS         90014770511
161634A7191895   BRYAN           THURMAN                OK         90011144071
16163AA3A61938   BRIANNA         ALONSO                 CA         46020210030
1616437689373B   KARA            FARMER                 OH         64594053768
16165A6A551337   CHRISTINA       COVERT                 OH         90014510605
161663AAA91895   CELESTE         BOURDEAUX              OK         90014793000
16166576A4B588   LARRY           GOOD                   OK         21536295760
1616749145598B   JUAN            HERNANDEZ              CA         90011694914
1616852635B526   REGINA          CHAVEZ                 NM         90009395263
1616917935598B   JOSE            PADILLA                CA         90014021793
1616918875B526   ELI             BECERRA                NM         90002631887
1617167AA61958   CEDRIC          JOHNSON                CA         90015326700
16171A95A5715B   CARLITO         GONZALEZ               VA         90009070950
1617317194B588   JOACIM          ROBLES                 OK         90012301719
16173435824B55   CHRIS           TWYMAN                 DC         90014914358
16173A23891895   LAURE           ADAMS                  OK         90012950238
16174441824B55   MARIA           ARAIZA                 DC         81024984418
16175A47591895   SHANNON         EDWARDS                OK         90014910475
16175A59591263   JULIE           MILLS                  GA         90014610595
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1617644345715B   JOSE         QUEVEDO                   VA         81035404434
16176777A47956   SILVIA       MACIAS AGUERO             AR         90007177770
161768A219373B   BRIE         REED                      OH         90009478021
1617697995B526   LORENZO      HERNANDEZ                 NM         90011459799
16177459472B62   CLIFF        CHO                       CO         90013164594
161797A4361958   PAYGO        IVR ACTIVATION            CA         90011107043
1617B6A1154197   LORRIE       SCHLEGEL                  OR         47073296011
16181A45172B26   RUFUS        NAGEL                     CO         33091990451
16182394172B62   RICHARD      GONZALES                  CO         90011133941
161833A2651358   JODY         MEYERS                    OH         90013083026
16184267A61958   JUAN         MUNGUIA                   CA         90009122670
1618491784B588   PATINA       SHADE                     OK         90001889178
16184A6642B89B   TRACY        PETERS                    ID         90008590664
161867A515715B   SANDRA       BLUE                      VA         90008347051
16186838172B37   DELORA       SMITH                     CO         90008318381
1618767A64B588   ROBINSON     ADRIEN                    OK         90012866706
161878A7355976   ALEX         OURN                      CA         90012088073
1618816265715B   JOSE         MENDEZ                    VA         90014671626
16188213A55965   JOSE         VAZQUEZ                   CA         48076272130
1618855955B255   KEVIN        DELK                      KY         90000145595
1618869634B588   SHARON       QUINN                     OK         90005886963
1618934685715B   CODY         STEPHENS                  VA         90014893468
1618943715B154   LAYA         DOUGLAS                   AR         90005664371
1618B524372426   DAVID        SHURINA                   PA         90001725243
1618B5A4A31687   AMANDA       GILMER                    KS         90014765040
1618B81775B154   CHARLOTTE    ANDREW                    AR         90015568177
1619123335B384   PAMELA       TRAUM                     OR         44500262333
161915A8291895   BEATRIZ      MUNOZ                     OK         90010315082
1619212795B526   ANTONIO      DELGADILLO-LOERA          NM         90014441279
1619252744B26B   KELLY        REA                       NE         90007985274
16193424772B62   AMOND        STOKLEY                   CO         90015274247
1619492A957147   PAULO        RAMIREZ                   VA         90012109209
1619551968438B   LASHAUN      MOORER                    SC         90009625196
16195775272B62   LEZETTE      BREWTON                   CO         90002707752
1619581674B26B   BRYAN        JOURNEY                   NE         26097878167
16196562A5B526   CHRISTINA    ARIAS                     NM         35024305620
16196934172B62   ANDREA       DIANE-MARTINEZ            CO         33008829341
16196A23191569   ROBERT       ROA                       TX         75050850231
16197896A5715B   MAURICIO     ACOSTA-TORRES             VA         81068738960
1619B468591895   AMBER        SNODGRASS                 OK         90014714685
161B1A7335715B   ROBERTO      ULLOA                     VA         81067890733
161B243125B526   DANIEL       STEVENS                   NM         90014264312
161B2698761976   DANIELA      HERNANDEZ                 CA         90013726987
161B3786355965   CRAIG        REGIS                     CA         90013567863
161B4114A5B39B   ALEXIS       EVERSOLE                  OR         90013641140
161B4286255976   CONNIE       GARCIA                    CA         49073872862
161B4383991569   DANIEL       AMAYA                     TX         90013353839
161B469137B44B   ASIA         ROSARIO                   NC         90009686913
161B546144B588   BRANDY       THREATT                   OK         90004804614
161B546A85598B   ELMA         GARCIA                    CA         49005724608
161B54A5A55965   JIMMY        BELCHER                   CA         90013184050
161B6247861976   DRONISIO     FERREIRA                  CA         90006032478
161B6A96A72B62   ALI          ABDULLANI                 CO         90014120960
161B734A891569   OCTAVIO      RIVAS                     TX         75058393408
161B7899461976   LINA         LOPEZ                     CA         90009878994
161B78A5191895   MARTCHELLO   FILEDS                    OK         90013348051
161B8619561976   OSCAR        MICHEL                    CA         46002746195
161B942975715B   JUAN A       DE LEON                   VA         90013894297
161B945A191569   RICARDO      ALVARES                   TX         75067964501
161B99A655B229   LARRY        RAYMOND                   KY         68043889065
161BB328791569   JENNIFER     ZAMORA                    TX         75034353287
161BB54447B489   DINA         GARCIA                    NC         90006135444
161BB7A1872B62   AMY          ABEYTA                    CO         33062317018
1621188A35715B   MORRIS       ELENA                     VA         90008418803
1621298382B259   FAITH        ROBINSON                  DC         90008879838
1621415565B526   OMAR         VIRAMONTES                NM         90006611556
16214273A4B26B   TONIA        MURRAY-JACKSON            NE         90004782730
16214362172B62   ZABRINA      PEREZ                     CO         90003103621
16215A71757147   MIRNA        ESCOBAR                   VA         90006330717
1621635414B588   BRANDY       LIVINGSTON                OK         90014333541
16216A47772B62   JUSTIN       LAWSON                    CO         90011150477
16216A63157B59   CAROL        DROZICK                   PA         90015250631
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1621743565B32B   JOHN         HANCOCK                   OR         90007904356
1621888365715B   DELMI        FUNES                     VA         90004838836
1621B78257B489   GERARDINO    SANCHEZ                   NC         11078607825
1622236294B26B   DAVID        ELLER                     NE         26027963629
1622379145715B   DORIS        CRUZ                      VA         90011927914
16224A12161958   OCHOA        OCDULIA                   CA         46013310121
16224A86661994   ROSCELIA     VARGAS                    CA         90011440866
1622551535B526   MIGUEL       TOVAR-MALDONADO           NM         90013615153
1622555365B129   TABITHA      HOLLISTER                 AR         90007815536
16225996472B62   VALERIE      ARCHIBUQUE                CO         90010739964
16225A32155965   CECILIA      GONZALEZ                  CA         48008600321
16226491672B27   ROSY         RODRIGUEZ                 CO         33030364916
16226733972B62   ANDREW       FRENCH                    CO         90001847339
1622688A791895   ARTURO       LEANDRO                   OK         21070298807
1622729A691569   LUZ          MOLINA                    TX         75061082906
1622748413196B   ANTOINETTE   MATHIS                    IA         90014264841
16227A5645B526   JACQUELINE   NAVARRO                   NM         35084510564
1622843A291263   LEOTIAS      DAVIS                     GA         14570634302
1622978412B242   ROY          ARNOLD                    DC         81015657841
1622B19355B154   TIMOTHY      SUMMONS                   AR         90002041935
1622B329491569   JACQUELINE   DIAZ                      TX         90013613294
162316A3251337   CARMENCITA   GERONIMO                  OH         90015166032
162323A415B526   ANTONIO      TRUJILLO                  NM         35006503041
16232859A55976   ELVIRA       JIMENEZ                   CA         90012878590
1623311A391895   KIM          YOUNGER                   OK         21077211103
1623596882B89B   KEVIN        GRIFFIN                   ID         42058169688
16236A82261958   DAVID        REGALADO                  CA         90012420822
1623726225B526   IVONNE       CUESTAS SOTO              NM         35086152622
16238547172B29   MARIO        SOLIS                     CO         33040885471
1623925915B526   DANIEL       DORADO                    NM         90013982591
16239478A72B62   STACI        BLISS                     CO         90012904780
16239814372B62   STERLING     BEALS                     CO         33008028143
1623B21A69373B   DEBRA        DYNES                     OH         90004782106
1623BA3115B154   EDMOND       DUKES                     AR         90012660311
1624156797B849   DASHAWNA     DAVIS                      IL        90012945679
162441A2224B55   PALESTINE    CROSWELL                  DC         90015211022
1624471A77B489   KAREN        WALKER                    NC         11041007107
162465A9661938   NOHRA        VALENCIA                  CA         90010765096
162468A6447956   KIMBERLY     PEER                      AR         24080978064
16246A7887B445   TERRY        BLACKMON                  NC         90011170788
1624968257B398   JEVONNE      ROBERTS                   VA         90012436825
16249893A57147   CATALINO     MARTINEZ                  VA         90000318930
1624B1A175B154   JACKIE       WILSOM                    AR         23092511017
1624B61719373B   ASHLEY       GRIDER                    OH         90013736171
1625133614B588   NATISHA      DANIC                     OK         90008953361
162515AA957147   SANTANA      VIGIL                     VA         90013655009
1625182428B574   ERIC         HILL                      CA         90010938242
1625267539152B   MARTHA       RAMIREZ                   TX         90011266753
16252A28372B4B   ANTHONY      ROMERO                    CO         90001360283
1625312955B526   CYNTHIA      FAIRBANKS                 NM         90012131295
1625315714B26B   DEANNA       CHRISTIANSEN              NE         90012451571
16253925A8598B   WILLIAM      CARPENTER                 KY         90003419250
1625494199373B   DANIEL       CHADWELL                  OH         90014599419
16255119A91895   GARET        TERHUNE                   OK         90006391190
1625511A861958   LAKIESHA     TURNER                    CA         90012631108
1625666244B26B   JENA         MICHALECKI                NE         90000716624
1625735977B323   HECTOR       MORENO                    VA         81084243597
16257361624B55   TERRANCE     BLAND                     DC         90012993616
16258388A93783   DRAY         PRESTON                   OH         64572513880
16258A3795715B   DIANA        ALVAREZ                   VA         90011670379
1625921A272B62   LEONOR       GAMBOA                    CO         33046712102
1625BA4A82B89B   ARMANDO      BENITES                   ID         90010090408
1626133368438B   SHARON       EADY                      SC         19049973336
1626179A861976   TERESA       TAICH                     CA         46055687908
1626179A972B62   ALEXANDRIA   ROSAD                     CO         90010267909
162618A6451337   DELPHINE     EGBE                      OH         90000488064
1626254755715B   MARINA       FERNANDEZ                 VA         90014845475
1626278945715B   THEA         PAILMA                    VA         90011397894
16262793672B62   JESSICA      GOODMAN                   CO         90012397936
1626355887B489   CHARLES      MORRIS                    NC         90004955588
1626387534B588   MARY         HERNANDEZ                 OK         21598718753
16265A68731687   JANET        ROSS                      KS         22096770687
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16266A35991895   POTTER        JOLENE                   OK         21010610359
16266A91557147   AYANNA        MITCHELLE                VA         90007240915
16266AA8455965   KIMBERLY      WARREN                   CA         90014510084
162671AA14B588   NATASHA       RIVERA                   OK         21562041001
16268A3A65B129   SUZETTE       ELLIS                    AR         23089930306
1626B1A5361958   GLORIA        C TUCKER                 CA         46098161053
1626B872A24B7B   SUSAN         SMITH                    DC         90013448720
16271341A91263   AMY           WEISS                    GA         90013423410
16271675A4B588   TIMEKA        RAMSEY                   OK         90009036750
1627217645715B   ASTER         NEGUSE                   VA         90013261764
1627229868B147   DEBBIE        COOK                     UT         31012702986
1627316594B26B   JENNIFER      BROPHY                   NE         26073391659
16274167A5715B   WILMER        ROSAS                    VA         81090381670
16274678436B92   DANNIELLIA    WHITE                    OR         90008876784
1627488275B526   DONNA         SALAS                    NM         90013998827
162751A395715B   TAMAR         FRANCIS                  VA         90014631039
16275A19451337   TRACY         SUTTON                   OH         66006470194
16276815A55976   JAVIER        MONOZ                    CA         90014638150
162768A7455976   JOSE          BARAJAS                  CA         90012908074
162773AA455965   VIRGIL        MOORE                    CA         90013333004
1627792139373B   BRANDON       FINKS                    OH         90008809213
1627915714B26B   DEANNA        CHRISTIANSEN             NE         90012451571
16279463A4B565   LORENZO       MONTELONGO               OK         90011834630
1627977785B154   ZAPATA        IGNACIO                  AR         90011817778
1627B37984B588   CHERRYL       HURD                     OK         90011023798
1628146535B154   JAMIE         LOCKETT                  AR         90013764653
16281A51555965   AMBER         SNOWDEN                  CA         48083130515
1628324425715B   CLIFTON       DAVIS JR                 VA         90006092442
1628356815715B   LIYUWORK      TEGEGN                   VA         90012605681
1628366599373B   STACY         JOHNSON                  OH         64522796659
1628379265B154   TERRY         NOTTINGHAM               AR         23002337926
16283A1655B526   MIRIAM        ALVAREZ                  NM         35010040165
1628575A39373B   ROBERT        HICKS                    OH         64524557503
1628664AA91895   SANDRA        WREN                     OK         21076466400
16287129424B7B   MARIA         ESPINOZA                 VA         90010641294
1628746254B26B   STEPHANIE     SHANDERA                 NE         26093424625
16287A22391569   MIGUEL        ELLIAS                   TX         75015270223
16287A95372B62   TONYA         GILFORD                  CO         33091800953
162881A1831687   CRYSTAL       PURCELL                  KS         90002401018
16289A71661958   MANUEL        GOMEZ                    CA         90003670716
1628B283551337   CHRISTOPHER   JONES                    OH         90011232835
1628B516591569   CHRISTIAN     CARBAJAL                 TX         90009465165
1628B53514B588   RACHAEL       CAMBRON                  OK         21537965351
1628B714391895   HERMAN        PRESIDENT                OK         21089747143
1628B857261938   LUZ           DIAZ                     CA         46081168572
1628B919157147   NELSON        MALDONADO                VA         90012409191
1628BA21161958   ARMANDO       FLORES                   CA         46063670211
16291A1499152B   MELISSA       LOPEZ                    TX         75079830149
16291AA287B34B   CAROLINA      PINEYRO                  VA         90005280028
162925A9391586   JESSICA       ORTIZ                    TX         90011095093
1629275AA7B489   SONIA         DAVIS                    NC         11040277500
1629334769373B   PHILLIP       DRANE                    OH         64581833476
1629341347B323   VANESSA       FLORES                   VA         81049394134
16293768A5715B   MOHAMMAD      A. ANSARI                VA         90012437680
1629377995B526   STEVE         MADESEN                  NM         90002047799
16293A33372B62   NANCY         AVILA                    CO         90014480333
16294A18191569   MICHEAL       DSILVA                   TX         90014910181
1629654995B154   DEVONYA       MONTGOMERY               AR         23044695499
162977A555B154   ARACELI       TITLA                    AR         90010847055
16298293A5B129   JOSE          MENDEZ                   AR         23062352930
16298AA1261958   YIM           CHAO                     CA         46079380012
162993A7872B89   MELONIE       MURDOCK                  CO         33009583078
1629975859373B   TONI          STONECIPHER              OH         90014757585
1629B253461938   MARTHA        TOLENTINO                CA         90011432534
1629B5A5891263   KERRI         LEWIS                    GA         90011265058
1629B693136B52   GEORGE        CANOVAS                  OR         90006076931
162B1192857199   ANTONIO       DORSEY                   VA         90008601928
162B1266A9373B   SUNIL         AGGARWAL                 OH         90011952660
162B2196161958   RENEE         RAMIREZ                  CA         90015071961
162B2266331687   SAMUEL        FLEURY                   KS         90009572663
162B2534A61958   CRUZ          LOPEZ                    CA         90015175340
162B326AA72B62   MIGUEL        CERON                    CO         90011862600
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162B3529991569   CELIA           SANDOVAL               TX         90009725299
162B388765B348   CHAD            STOLTENBERG            OR         90001018876
162B41A1391895   SALVADOR        GONZALES               OK         90000271013
162B4355561958   DENISE          SAYLES                 CA         90012033555
162B469915B526   ART             GODINEZ                NM         35019086991
162B4967191263   KYLE            JOHNSON                GA         14577349671
162B51A485715B   JUAN            MARTINEZ               VA         90000151048
162B52A8591569   EZEQUIEL        LUCERO                 TX         90014032085
162B583582B89B   MICHAEL         BLACK                  ID         90004318358
162B6112391895   LEE             BAO                    OK         90010911123
162B6442151599   JESSICA         EATON                  IA         90013744421
162B647924B26B   JONI            OLBERDING              NE         26076144792
162B6532861926   ROSA            HANVEY                 CA         90007825328
162B6769157147   DANIEL          MORALES                VA         81097977691
162B7314861976   ALAN            GOMEZ                  CA         90014723148
162B76AAA5715B   MARIA           GONZALEZ               VA         90012056000
162B7771257147   MIGUEL          GOMEZ                  VA         90013787712
162B81A2261987   JOSE            MOSQUERA               CA         46077661022
162B8326372B25   LUCILLE         WASHINGTON             CO         33000513263
162B8339891569   MANUEL          MONTES                 TX         90005433398
162B8539561976   JORGE           HERNANDEZ              CA         90002785395
162B9531847956   ROSALINDA       TOBIAS                 AR         90010965318
162B9848991263   ERIN            RICE                   GA         90013028489
162B9915A47956   MARISSA         GILCREASE              AR         90014179150
162BB52394B588   ANGELA          GLENN                  OK         90002145239
16311A9145B154   BRUNDI          SANDERS                AR         90000500914
16312A58191569   LEYVA           LUPE                   TX         90010320581
16313789724B44   QUIANA          DUPREE                 DC         90001277897
16313A5364B935   ELEAZAR         TORRES                 TX         90014990536
1631484222B963   SILIVA          TABARDILLO             CA         90008658422
1631543494B588   AMANDA          BILLIGMEIER            OK         90008474349
16315948224B7B   MICHAEL         LESESNE                DC         90004419482
1631655344B588   RAVIS           BATTISE                OK         90006015534
16316753A86463   FRANCISCO       GARCIA                 SC         90013927530
16316878A9373B   AIMEE           MINTON                 OH         90013528780
1631689535715B   JOSE            VELARDE                VA         90006088953
1631714515B526   BETTY           TREVINO                NM         35003421451
1631757349373B   PASTOR          CARLOS                 OH         64538385734
1631775824B583   CESAR           GARCIA                 OK         90008727582
16317832A55945   DAVEY           TETH                   CA         90012548320
1631891AA51337   DONNA           PEVELER                OH         90014069100
1631924359373B   GEORGE          BERRY                  OH         90014992435
1631956934B588   SHONTESE        DAVIS                  OK         90001705693
1631BA82372B62   ROGERS          RACHAELLE              CO         90011330823
1632126964B588   VERONICA LYNN   WILSON                 OK         90010012696
1632146294B26B   BONNIE          PRICE                  NE         26054774629
1632178A59379B   CHRISTALINE     GLENN                  OH         90009097805
16322242A72B62   BRIANA          WILLIAMS               CO         33092162420
163235AA17B489   ADERONKE        ROBERTS                NC         11052275001
16323A32551337   JAMESHA         BROOKS                 OH         90014300325
1632465495715B   PEDRO           HENRIQUEZ              VA         90012736549
16324884A51337   RAFAEL          ZAMORA                 OH         90014798840
1632529818B166   JORDAN          NAYLOR                 UT         90011582981
16325A85A4B588   LATISHA         GARCIA                 OK         90011170850
1632658484B588   ARTURO          AGUILAR                OK         90011635848
1632842A84B588   DONYA           PLUNKETT               OK         90009654208
1632976112B89B   JOSEPH PAUL     MALUBEKI               ID         90005847611
1632B296891895   TYRONE          TAYLOR                 OK         21025032968
1632BA61193725   KATIE           BOLDEN                 OH         64560110611
1633255265715B   RICHARD L       LYELL                  VA         90014115526
16332591A5B154   PATSY           MOORE                  AR         90011065910
16332A83461959   VIOLETA         LEON                   CA         90009680834
1633334988B13B   JOSE            GARCIA                 UT         31062263498
1633346375715B   MARIA           GARCIA                 VA         90001534637
16333842972B29   JOE             GARCIA                 CO         33006738429
1633418944B588   KAREN           LEAR                   OK         21567541894
163344A3391569   RODRIGUEZ       NORMA                  TX         75065214033
1633649325B154   JUAN MARCELO    R CHAVEZ               AR         90008334932
16337354A57147   ABDI            ISMAIL                 VA         81079753540
163373A855B526   CYNTHIA         GONZALEZ               NM         90011653085
1633765613B324   JULIEANN        LOPEZ                  CO         90013626561
163379A445715B   MARIA           CALLES                 VA         90001339044
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1633835824B588   OLAF          PINEDA                   OK         90014473582
1633872589373B   JACK          DOUGLAS                  OH         90011537258
1633933729373B   HOPE          ESKEW                    OH         90008633372
1633997254B26B   CHARLIE       SIMS                     NE         90010569725
1633B54254B23B   LORENZO       TORRES                   NE         90008775425
1633B763155965   CAMEN         ROSALES                  CA         48019567631
1634127A272B62   JUDY          POLANCO                  CO         90012352702
163412A325715B   RUKHSANA      RANA                     VA         90014632032
1634326A457147   TERRI         SMITH                    VA         81001302604
1634451A257147   HARRY         CASTILLO                 VA         81066435102
16344724A5598B   JOAQUIN       BOCANEGRA                CA         90008127240
1634481755B526   WILLIAM       BOWEN                    NM         90011748175
16345292972B2B   DON           KROMER                   CO         90013072929
1634558A991586   RAQUEL        ORONA                    TX         90013795809
1634653A351337   CINDI         MYERS                    OH         90013045303
16346836A5B523   CARLOS        RAEL                     NM         90002768360
16347435172B62   DERRICK       OGMAN                    CO         90012634351
163476A185B388   NICOLE        BATMALE                  OR         90011346018
163486A8161938   JAVIER        GAZTELOM                 CA         90007226081
1634B18135715B   SHERRY        GRUENDL                  VA         90013841813
1634B358572B62   SANDRA        HOLLEY                   CO         90006543585
1635145432B89B   SHAMAVU       MUPENZI                  ID         90005824543
16352A64391263   TASHIKA       JOHNSON                  GA         90014490643
16352AAAA4B588   MIRANDA       RITCHIE                  OK         90015270000
16353154A51337   EMILIO        MENDEZ JUAREZ            OH         90013661540
163545A9655938   CATHERINE L   PAINE                    CA         90003155096
16355A3585B154   DAVID         SMITH                    AR         90003970358
1635682185B526   JILLIAN       DIXON                    NM         90014748218
1635728464B588   SHIRLEY       SEXTON                   OK         21512502846
1635913119373B   JAMAIN        FINLEY                   OH         90008371311
163599A2297B63   CORINA        RAMIREZ                  CO         39076779022
1635B241591852   KATERRA       MEACHEM                  OK         90011132415
1635B48514B26B   MATTHEW       DEHNING                  NE         26038194851
1635B66A84B588   VANESSA       CAMBELL                  OK         90009456608
1635B747A72B62   PATRICIA      DOSS                     CO         33045607470
163616A995715B   ANA           RUBIO                    VA         81023886099
16363A94155976   JONATHAN      HERNANDEZ                CA         90013370941
16363AA437B463   PAULETTE      NESBIL                   NC         90013290043
163648A835B526   ADRIANA       ARAGON                   NM         90013828083
16364A54261976   CHRIS         LOPES                    CA         90014160542
1636612162B89B   TIFFANY       TURRELL                  ID         90004421216
1636628415B154   MERCEDEZ      HENDERSON                AR         90005982841
163667AA74B288   SECRETIA      BENTON                   NE         90012817007
16368147A5715B   YOLANDA       RASON                    VA         90013061470
1636882167B489   PAMELA        CARDONA                  NC         11094398216
163698A354B588   ROSE          UPSHAW                   OK         90008478035
1636B28A661976   O RLANDO      MARTINEZ                 CA         46001032806
1636B475A57147   ANA           MAJANO                   VA         90013014750
1636B685855965   DIANNE        BILLGREN                 CA         90014916858
1637113249373B   KIRSTEN       GRIFFITH                 OH         90015281324
16371411724B7B   WILLIAM       NEVERDON                 DC         90013054117
1637222382B89B   JASON         BLOCHING                 ID         42031502238
1637273227B489   ALMA          ZAMORA                   NC         90006457322
1637413964B588   TODD          DICK                     OK         21580721396
16377289172B62   BOBBY         BIXBY                    CO         90013332891
1637788624B536   MONICA        TUCKER                   OK         90008578862
1637818435B526   CRYSTALYN     MORCE                    NM         90014841843
1637826984B588   EDUARDO       CRUZ                     OK         90013382698
1637878565715B   JESUS         CHAVEZ                   VA         90004907856
1637894A39373B   HOLLY         BEGLEY                   OH         90014349403
16379567472B25   MELISSA       HERNANDEZ                CO         90012015674
1637972315B129   RAY           LEWIS                    AR         90008677231
1637B6A2855965   EVARISTO      ARELLANO                 CA         48039896028
163823A7272B62   FEDERICO      VAZQUEZ                  CO         33078783072
1638291295715B   LEXTINA       COATES                   VA         90011919129
1638298875B526   JENNIFER      MOLINAR                  NM         35060569887
1638367535B154   NICHELLE      TAYLOR                   AR         90011406753
1638464624B588   CHRISTINA     ESCOBEDO-ESTRADA         OK         90010296462
16384694272B27   JAIME         MCCARRICK                CO         90008316942
1638472589373B   JACK          DOUGLAS                  OH         90011537258
163848A8561958   JACINTA       CARY                     CA         46040948085
16386A31451337   DAVID         DICK                     OH         66008000314
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163874A1A61976   YOLANDA             ARROYO             CA         90010184010
16389A69361976   MARIA               DOMINGUEZ          CA         46024680693
1638B45915715B   BELKYS              RAUDA              VA         90005864591
16391A16761976   RAMERO              ARRAS              CA         90013290167
1639289859373B   DEBRA               MOORE              OH         90013628985
1639366984B588   JOSE                MARTINEZ           OK         90012426698
163936A1891569   JUVENAL             DELAROSA           NM         90015106018
16395246A9373B   CALVIN              BRITT JR           OH         64591182460
1639636144B565   CHRISTOPHER         DEBERRY            OK         90011203614
1639659785B526   JOSE                MARTINEZ           NM         35046915978
1639796AA72B62   GLENN               WELLS              CO         33012369600
1639B69958B154   BILLY               GILBERT            UT         90011896995
163B1365391263   BETO                OLGUIN             GA         90013423653
163B1498755965   FRANCIS             SALAS              CA         90012374987
163B231235B526   MARIA               NEVAREZ SOSA       NM         90003723123
163B2391457147   EMPIRE FLOOR CARE   MAINTENANCE LLC    VA         90012243914
163B2A8A95715B   MARCOS              NUNEZ              VA         90014970809
163B4526593732   WILLIAM             LAWSON             OH         90005665265
163B4A53A3144B   LARRY               SCHMIDT            MO         90007550530
163B5656255976   DIANNA              EVANS              CA         49020566562
163B567297B388   LORENA              BAUTISTA           VA         81051676729
163B56A2355965   JUAN                DE LEON            CA         90014456023
163B578888438B   AMANDA              HALFERTY           SC         19081587888
163B5976772B62   JOSE                LUGARDO JORGE      CO         33010439767
163B5997261938   ERIC                MIZRAHI            CA         90013139972
163B6186455965   CATALINA E          LUVIANO            CA         48092481864
163B6776791263   HECTOR              GONZALEZ           GA         90012647767
163B6874651337   MARK                STEELE             OH         66016818746
163B692739373B   LAURA               CLARK              OH         90013599273
163B754219373B   LOYAL               BLAIR              OH         90011075421
163B7663691263   CHRISTOPHER         GRAVES             SC         90013156636
163B8739755965   MARIA               MARTINEZ           CA         90001507397
163B8798591569   MARIA               VELASQUEZ          TX         90012527985
163B9193561976   MARLENE             DURAN              CA         46075251935
163B9455857147   SADE                DOWELL             VA         90015004558
163B9582255976   ELIZABETH           HUBBARD            CA         90013775822
163B9934891263   KOSHITERA           LEWIS              GA         90007749348
163B9A6419373B   BRITTANY            LAFOLLETTE         OH         64587670641
163BB19125B154   JAMARE              BENNETT            AR         23041231912
163BB1A735B526   CARLOS              LUJAN              NM         35005051073
163BB89369373B   WANDA               BURNEY             OH         90014798936
163BB93395598B   CHARLES             ZAPATA             CA         90012619339
163BBA1959373B   ROBERTO             MATEO              OH         64542410195
16411783372B62   RAMON               FLORES             CO         90012387833
1641248225B526   YASSENIA            BENCOMO            NM         90013984822
16412593A77535   FELICIA             SANCHEZ            NV         90010785930
164125A9247956   ADOLFO              RIVAS              AR         24067705092
1641266A34B588   DANIEL              RITCSH             OK         90004806603
1641316275B154   MELVIN              MITCHELL           AR         23092031627
164131A7791895   KYLE                FOSTER             OK         90012431077
164135A7561976   DORA                GERMAN             CA         90006625075
1641417A431687   JASON               CEBALLOS           KS         90011261704
1641559235B154   LISHA               HOWARD             AR         23082955923
1641561247B489   SAVINIA             BYRD               NC         11084456124
16416278224B55   AMANDA              KNOCH              DC         90010152782
1641632AA5715B   PATRICIA            ROBINSON           VA         81068553200
16417A51655965   BERTHA              HERNANDEZ          CA         90006300516
1641884628B167   AMY                 MONSON             UT         90006578462
16419A65891263   DRU                 HARVILLE           GA         90014430658
1641B194491586   GRACIELA            CARILLOS           TX         90009021944
1641B537A91895   KEVIN               LOVE               OK         90012295370
1641B595361976   JOHANA              DURAN              CA         46012665953
1641B625791573   ANTONIO             CASTANEDA JR.      TX         75074236257
1641B8A9261958   BELINDA             WARD               CA         46001318092
164213A7A55976   RODRIGO             GARCIA             CA         90014463070
164229A7657147   PAULO               PAZ CHAVEZ         VA         90003879076
16422A51855965   HECTOR              LUNA               CA         90010420518
1642332715B39B   IEESHA              KING               OR         90001083271
16423845A72B62   YESSICA             BANUELOS           CO         33099428450
164246A6391263   GALE                KIDD               GA         90014106063
1642487495B526   EUSTACIO            MARTINEZ           NM         90006848749
164265A4391263   LAVOCIA             PERRY              GA         90011355043
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164272A6893736   CORTLEND            WEBB               OH         90008642068
1642748A577567   PAULA               DAVIS              NV         90013264805
1642799665B526   PABLO               SALTO LOYA         NM         90011919966
16428199A31687   JAMES               MASHBURN           KS         90014791990
1642821964B52B   LUIS                LOPEZ              OK         90013372196
1642831835B53B   KRISTIN             TRACY              NM         35079783183
1642974234B588   CHRISTINE           WEBBER             OK         90001297423
1642B646557147   LATRENA             WARTHEN            VA         81036296465
1642B659761976   LEE                 LOGAN              CA         46056846597
164317A3155965   HECTOR              PADILLA            CA         90014887031
1643241865B526   MARGARET            JONES              NM         35061304186
1643289A191569   DANIEL              MICHEL             TX         90013328901
1643313754B588   ROBERT              NICHOLSON          OK         90013541375
1643491A472B62   GELPIS              FUENTES            CO         90014199104
16434934A61976   JESUS               CARREON            CA         90007319340
1643563384B588   LESLIE              LOWMAN             OK         90013156338
1643647275B268   REBECCA             CHEEKS             KY         68047354727
1643757765B526   LUISELIAS           PROVENCIO          NM         90014155776
1643B14815B526   VLADIMIR            MSKHILADZE         NM         90013291481
1643B1A3472B26   RAYMOND             AMARO              CO         90002121034
1643B432761978   FRANKLIN            OROZCO             CA         46007614327
16441341A91895   ADAM                PEARSON            OK         90012193410
164418AA85715B   ASHLEY              ROSS               VA         90014688008
1644252A761976   CARMEN              TAPIA              CA         90014815207
16443AA4151337   JOHN                SLACK              OH         90008930041
1644449884B26B   KATHERINE           MCDANNOLD          NE         90009244988
1644462A85715B   ISRAEL GUMERCINDO   DIAZ               VA         90015106208
1644558894B588   ELEASE              ISOM               OK         90010825889
1644654389373B   ARLOW               PHILLIPS           OH         90007905438
16446752A47956   JENNIFER            ERVIN              AR         90014587520
1644762337B634   MELVIN              FOREMAN            GA         15013736233
164479A8585876   ANNETTE             JACOBS             CA         90003649085
1644854755715B   MARINA              FERNANDEZ          VA         90014845475
164486AAA72B62   SANDOVAL            ANGELA             CO         90009656000
1644888895B154   ADRIANA             MOORE              AR         90011328889
1644933685B526   LUCIANO             REYES              NM         35028093368
1644B117355965   JUSTIN              LASALDE DODSON     CA         90014231173
1644B236231687   LYNTIECE            MURRAY             KS         90014792362
1645164A561958   ROGELIO             VAZQUEZ            CA         90013356405
16451A14347956   LATASHA             JOHNSON            AR         24004010143
1645267255B385   RENEE               MATA               OR         44087536725
16453231A55965   WILLIAM             BLANCHARD          CA         90010892310
1645582385715B   CLAUDEL             LAMARRE            VA         90000788238
16456A26633649   DARIUS              RICHARDSON         NC         90012200266
16457451A4B588   DIANE               NIRK               OK         90015144510
1645B17325B526   CHARLES             GILCREASE          NM         90008011732
164611A9861976   ANTHONY             GOODWIN            CA         90011381098
1646151735B526   JULIE               ESPINOSA           NM         90009365173
16461668372B62   TERRY               BARTH              CO         33043486683
1646213A451337   GREG                MILLER             KY         90012381304
1646272214B588   AMANDA              SMITH              OK         90009737221
1646297835B526   CYNTHIA             JACKSON            NM         90000639783
164631A6372B62   SEAN                KRANGLE            CO         90010891063
1646363174B588   CORA                BOYKINS            OK         90010826317
16463659A55965   ASHLEY              FINNEY             CA         90001526590
16464415A51337   CARL                ASHLER             OH         90002564150
1646461A361994   MAURICIO            TORRES             CA         90009706103
16465562672B62   MARCOS              ZAMBRANO           CO         90012165626
1646568615136B   THOMAS              NOBLE              OH         90011426861
16465A6995B526   MARISSA             PALENCIA           NM         90013270699
1646627319373B   ERTHALYN            SHAW               OH         90015232731
164674A6155976   LUCERITO            SANCHEZ MORENO     CA         49005024061
164696A4A91895   KATHY               HAAS               OK         90009766040
1646B855247956   ARLEY               RIVAS              AR         90014588552
1646BA65691895   REBECCA             BENNINGFIELD       OK         90007510656
164712A7676B27   OCTAVIO             LOPEZ              CA         46036022076
1647192A757B59   JAMES               MANNING            PA         90015339207
16471A1A15715B   NELSON              GARCIA FERNANDEZ   VA         90003600101
16471A21872B37   MARK                ONSTOTT            CO         33097060218
1647296614B588   CLEMENT             JACKSON            OK         21583409661
164735A114B588   SHILOH              HOLT               OK         90014855011
16474857A61976   DANIELLE            DONNELL            CA         90011988570
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16475167272B62   JOHN         MALONEY                   CO         33059691672
1647521835B526   ANTHONY      LOPEZ                     NM         90002972183
16477419A54122   JOSEFINA     BOCANEGRA                 OR         90012184190
16477A24261958   MICHELLE     PERALES                   CA         90000350242
16477A59747922   VIOLET       STEPHENS                  AR         90014680597
1647838187B424   JESSICA      GOMEZ                     NC         11000703818
1647889A391547   JAVIER       FERNANDEZ                 TX         90013548903
16478916572B62   KATHLEEN     FRITZ                     CO         33086459165
16478AA5191895   ULISES       MAZARIEGOS                OK         21092730051
1647916822B876   COURTNEY     MEYER                     ID         90000961682
16479398672B77   ALISON       FRANSON                   CO         33074333986
1647954729373B   DANE         HAWKINS                   OH         90011545472
164796A5571935   RICHARD      SMITH II                  CO         90010726055
1647B164791895   BRYANT       ADAME                     OK         21094981647
1647B943191569   LETICIA      RIVERA                    TX         75026739431
164816AA461976   DAVID        WALSTRUM                  CA         90014736004
1648184385715B   JOSE         MEJIA                     VA         90010778438
1648268A755976   ALFONSO      HERRERA                   CA         49078876807
16484A55972B77   JUDITH       GONZALES                  CO         90011460559
16484A83185977   BRYAN        GILL                      KY         67082170831
1648676824B588   VERONICA     RIOS                      OK         90012337682
1648691275B154   DENISE       GRAYDON                   AR         90014509127
164869A3391569   KENETH       QUINONES                  TX         90011169033
16486A94A61958   SUNSHINE     NICOLAS RAMOS             CA         90014870940
1648774A63B388   SUNSHINE     VALDEZ                    CO         33090897406
1648B179661958   SERGIO       LOPEZ                     CA         46090891796
1648B26814B588   TERESA       SELLERS                   OK         21589322681
1648B53A14B26B   FRANCISCO    ACOSTA                    NE         90003765301
1648B851861976   CARMEN       CASTILLO                  CA         90013018518
164912A169373B   LEON         BISHOP                    OH         90005062016
1649138A15B154   RYAN         THOMPSON                  AR         23030833801
1649177A44B26B   GLENDY       MORALES                   NE         90007877704
16492984372B62   AUBRIE       CHIVERS                   CO         90000199843
16493217A91263   ERIC         NAKAMURA                  SC         90009842170
16493A23555976   CRISTIAN     LOPEZ                     CA         90012920235
1649616885B526   MARISELA     LEYVA                     NM         35052491688
164972A4357147   CARLOS       CARRANZA                  VA         90013122043
164984A1431687   DANIEL       HILL                      KS         90014794014
1649873294B588   FAITH        SMITH                     OK         21526097329
1649B4AA657562   RICARDO      MUNOZ                     NM         90008104006
164B1123261976   WINTER       MOATS                     CA         90012091232
164B134995B154   RENETTA      SMITH                     AR         23090113499
164B1393861987   EFRAIN       PADILLA                   CA         46016533938
164B16A5255965   GREG         MIDDLETON                 CA         90014456052
164B1892A91895   TINA         STEPHENS                  OK         90013878920
164B226344B588   SHAWN        MCALISTER                 OK         21589092634
164B2929531687   ANTHONY      LAVELLE                   KS         22064939295
164B32A2831687   MIRIAM       BELTRAN                   KS         90010572028
164B3578957147   OCTAVIO      GOMEZ                     VA         90009025789
164B365975B342   LANAE        LAWRENCE                  OR         90003626597
164B3A12555976   TAMMY        BOZEMAN                   CA         49010130125
164B4194547956   DEE          EMBRY                     AR         90002721945
164B4896891569   SAMUEL       PUENTES                   NM         75088388968
164B4A22572469   TAYLOR       MCFADDEN                  PA         90010020225
164B5916161938   VILO         HERNANDEZ                 CA         90011769161
164B66A795715B   DANIEL       GARCIA BATRES             VA         90014736079
164B6977261976   ERLIDITA     WHITFIELD                 CA         90013179772
164B6A18191547   IDALY        CHAVEZ                    TX         90008740181
164B6A66777535   PRISCILLA    PICKET                    NV         90008330667
164B71A3855976   FERNANDO     SALCEDA                   CA         90011211038
164B817915B526   ERIC         NDAHEBA                   NM         35037831791
164B8874991569   CELESTE      LUCERO                    TX         75088648749
164B893335B154   LARON        DEAN                      AR         90010779333
164B921885B526   RUBEN        PONCE-MEDIANO             NM         35001982188
164B927985715B   OLGA         ROJAS                     VA         81064862798
164B9361591895   ADAM         PETREIKIS                 OK         90015293615
164B9523791569   AGUSTINA     CHAVARRIA                 TX         90012125237
164B952394B588   ANGELA       GLENN                     OK         90002145239
164B977A772B62   MARY ANN     ARAGON                    CO         90013587707
164BB99A54B26B   NICCO        HIGHTOWER                 NE         26028729905
1651171265715B   CRUZ         AMAYA                     VA         90009197126
1651185255B526   MELISSA      CABRALES                  NM         35015368525
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1651284A191569   JACQUELINE         ALONSO                     TX   90013638401
1651342A971923   CYNTHIA            MAMER                      CO   32044814209
16513554A4B588   ZULEMA             GARCIA                     OK   90006145540
16513977A91263   ROBERT             WILLIAMS                   GA   90012849770
16516A6735B129   DESIREE            IEDRAM                     AR   23089450673
16517992172B62   NICOLE             DICKINSON                  CO   90009409921
1651B788431476   CLYDE              BAILEY                     MO   90008957884
1652128A35715B   DEYSE              ASIN MELENDEZ DE PARIONA   VA   90012562803
1652138485B526   FAKHRI             ABED                       NM   35025223848
1652153634B588   CHRISTOPHE         DODGE                      OK   21580755363
165225A4191569   LETICIA            NAVARRO                    TX   75007035041
1652277A98438B   ANGELIA            JOHNSON                    SC   19047647709
1652286A74B588   DAVID              SAMS                       OK   90014508607
1652365375715B   BOBBY              SINGH                      VA   90012916537
1652412499373B   DUANE              TILLMAN                    OH   64508961249
165244A5A55965   GLORI              HUGHES                     CA   90013444050
16524A67391263   ANTHONY            HORTON                     GA   90012850673
1652556169373B   AMANDA             SALLEY                     OH   90014965616
16525A79931687   JOE                RICHARD                    KS   90003650799
1652691AA61958   ANA                NUNEZ                      CA   90011589100
16527829A51337   ALFRETTA           PEAK                       OH   90013738290
16527A1455715B   JESUS              JARAMILLO                  VA   90004460145
1652839A191885   KATRINA            COX                        OK   21006303901
165289A7191895   SUSMAN             POKHAREL                   OK   90012479071
1652946A161976   JOSE               SANTOS                     CA   90012744601
165297A8A55965   DAVID              GONZALEZ                   CA   48028407080
1652B243891569   SELENA             PACHECO                    TX   90015322438
1652B93414B588   LOUIS              GURLEY                     OK   90014719341
16532759772B62   TREJO- GUTIERREZ   RAFAEL                     CO   90013977597
1653297A85715B   MAMANI             ROSANA ZULMA               VA   90013589708
16533312357B59   ROSA               REYES                      PA   90015343123
1653448562B89B   ELMA               BASEVIC                    ID   42062694856
1653511274B588   LINDA              AUSDY                      OK   21581921127
16535326A55965   MARIN              SANCHEZ                    CA   90011803260
165367A6761958   JAMES              DAVIES                     CA   90013337067
1653729788B336   ISMAEL             CORTES                     SC   90015312978
16537412A61976   BENTON             KAAIHUE                    CA   90007714120
1653766625715B   TYRONE             DAVIS                      VA   90007006662
1653916A15715B   RENE               AYALA                      VA   90000551601
1653B52635B394   PATRICK            FRED                       OR   90009725263
1653B597A5B154   ERNESTO            FLORES                     AR   23046885970
16541193A31687   DOMIQUEN           TUCKER                     KS   90010421930
1654265619373B   RACHAEL            SHEPPERD                   OH   90008786561
16542A2644B588   RUSSELL            COX                        OK   90012330264
1654322AA2B89B   ALEXANDRA          BERG                       ID   42064332200
1654417795B154   DONNA              CRUDUP                     AR   90002691779
16544244A5715B   ARMIRA             LAKE                       VA   81041552440
16545538A4B588   JOSEFINA           GARCIA                     OK   90011975380
1654596119373B   JARIA              GRAY                       OH   90013719611
16545A99891569   RUBY               MOTA                       TX   90009950998
1654632A255965   FELIMON            LEDEZMA                    CA   48023123202
1654646184B26B   KEVIN              DELKA                      NE   90011884618
16546817172B62   JUAN               CASILLAS                   CO   90004688171
16548362672B62   PETE               RUIZ                       CO   33000103626
165491AA95715B   FREDDY             PEREZ                      VA   90010351009
16549A91691569   AMANDA             HIJAR                      TX   75039710916
1654B673791263   FRANK              WHITE                      GA   14594596737
1655129AA5715B   WILMER             MORENO                     VA   90012192900
165519A5647956   DARLENE            KONING                     AR   90014629056
1655284695B154   LATOYA             JORDAN                     AR   90014318469
1655318194B565   MELVIN             SWAN                       OK   90011211819
1655336A85715B   ROGER              ORTIZ                      VA   90013923608
16553654172B62   RAFAEL             HARRIS                     CO   90008286541
1655415865B154   SAGRARIA           CASTELLANOS                AR   90002291586
16554A1484B935   YESSICA            NAVA                       TX   90002120148
1655582459373B   CHARMIN            BRAGG                      OH   64505038245
1655626623196B   DOUGLAS            PRUITT                     IA   90012662662
1655635A761976   WALLACE            VICKY                      CA   46046083507
1655751977B489   EFRAIN             LOPEZ                      NC   11036965197
16557579A57555   RYAN               MILLER                     NM   90013045790
16557664A91895   AMY                RIETHER                    OK   90014526640
1655796689373B   THOMAS             GRIFFIN                    OH   90012019668
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16558AA235B129   MONTA         ROBERTS                  AR         90004740023
16559813A4B935   OLGA          DELGADO                  TX         90014048130
1655995A255965   SUSAN         MARTIN                   CA         90013639502
1655B274657147   PHADRIA       GREENE                   VA         81098562746
1655B279861976   ALEJANDRA     ROSALES                  CA         90010502798
1655B28A791895   STEPHANIE     CARTER                   OK         90010822807
1655B924291569   JOSE ANDRES   ROSALES                  TX         90012319242
165612A795715B   ABELINA       AMAYA                    VA         90015182079
1656188955B154   IMANI         SUBLETT                  AR         90013778895
16562A94951337   ZONNIE        HOFFER                   OH         66012560949
16563225A47956   ARACELY       RODRIGUEZ                AR         90014732250
1656336A17B42B   PEDRO         BONILLA                  NC         90009273601
165635A1751337   NIASIA        WALKER                   OH         90011235017
1656396685715B   REBECCA       KINY                     VA         90011049668
16564A2649373B   FRANKYE       HERAID                   OH         64582640264
16564A41661976   ERIC          ARELLANO                 CA         90015200416
1656582312B863   BRENT         RUSKA                    ID         90011258231
1656593A591895   BONNIE        SMITH                    OK         90012479305
16566124A7B423   LEKESHIA      HUNTLEY                  NC         11018081240
16566A72793727   KENDRA        KELLY                    OH         90012950727
165676A274B26B   BRENDA        COLE                     NE         26084796027
1656828535715B   KHAMVANGSA    SQUARASY                 VA         90012452853
1656869A855976   GERARDO       ROMERO                   CA         49053046908
16568A28691569   NICOLAS       FIERRO                   TX         90012660286
1656B55837B45B   LATITIA       ADDISON                  NC         90009755583
1656B57673B337   PAUL          NIELSEN                  CO         90007675767
1657138A872B62   JULIO         GONZALEZ                 CO         90012483808
165713A4731687   KAYLA         HELLER                   KS         22098443047
165715A674B588   SHEANTA       NETTLES                  OK         90007045067
1657218587B44B   SYLVIA        CEESAY                   NC         90002531858
16572188A57147   EMFEMIO       PINEDA                   VA         90011101880
165723A915B154   CAMILO        SANTOS                   AR         23052653091
16573961572B62   DIANA         GONZALEZ                 CO         33063699615
1657418419373B   ANGELA        BANKS                    OH         64558401841
1657432A45715B   BAIG          BASIR                    VA         90014943204
1657691344B26B   HANNAH        YATES                    NE         26040649134
16578489572B62   SCHWEITZER    KELLY                    CO         90007384895
16578847A7B489   SANTA         GURUNG                   NC         11015248470
1657913399373B   HARRIS        ALBERT                   OH         64551141339
16579331933B95   SOPHIA        HENDRIX                  OH         90014393319
1657B86575B526   EFRAIN        FLORES                   NM         90010668657
1657BA96561976   CARMEN        MARTINEZ                 CA         46057140965
1658111335B154   TAYNA         MOORE                    AR         90010911133
16582A7925B154   DAN           SAN ROMAN                AR         90001780792
16582AA5255965   JOANNA        SALCEDO                  CA         48040190052
16583438A5B526   MARY          MELTON                   NM         90003164380
1658362A861958   MARIA I       ESPINOZA                 CA         90002856208
1658366248B194   CERIE         STEWARD                  UT         90011526624
1658462A151337   MARIA         ROBINSON                 OH         66058466201
165846A3791584   ANA           ALONZO                   TX         90009966037
16584751A9373B   NATASHA       HALE                     OH         90015337510
1658698387B489   SHAWNEEQUA    RANDLE                   NC         11052149838
1658757329373B   CHRISTINA     SNYDER                   OH         64535585732
1658846625B526   JOSEPHINE     CORDOVA                  NM         90013784662
1658967844B588   VERONICA      DA LA O DUQUE            OK         21531406784
1658B15982B869   PASCALE       CAFFERTY                 ID         41061901598
1658B657461938   MARSHALL      HAMMOND                  CA         90012806574
1658B792691952   TEDRA         TODD                     NC         90006027926
1659119339373B   ASHLEY        JOHNS                    OH         90008371933
1659124715B154   ANTHONETTE    BARRON                   AR         90008012471
16592295A61958   A             FELAN                    CA         46079522950
1659448777B489   FREDDIE       MORGAN                   NC         90007984877
16595585A91895   LISA          PORTER                   OK         90015125850
165957AA455965   ARIANA        LOPEZ                    CA         90013577004
1659587149373B   LAMON         JONES                    OH         90013688714
16595A6A661976   ANGEL         LOPEZ ROBLEZ             CA         90014850606
16595A94A57147   FERNANDO      ZALAZAR                  VA         81046180940
16596293A55965   EMILY V.      COLEMAN                  CA         90013962930
1659666A861976   JOSELYN       PINEDA                   CA         90014736608
165969A7272B62   LARITA        BEAR                     CO         90014869072
165973A374B536   TAMATHA       FARLEY                   OK         21560933037
165974A3551337   DEBORA        SMITH                    OH         90014714035
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16597A32451337   RICHARD      STAMPER                   OH         90008930324
1659B794857569   MAEGAN       GARCIA                    NM         90014627948
165B129479373B   AUTUM        COCHRAN-JORDAN            OH         90013892947
165B1A83591895   SHANEL       BOWMAN                    OK         90010270835
165B2476A55965   ADOLFO       PANYAGUA                  CA         48073934760
165B24A1631687   STEFANIE     BUTTS                     KS         90014794016
165B26A3491569   SARAH        CABRERA                   TX         90014026034
165B292215B526   CHRISTINA    MAESTAS                   NM         90012369221
165B497249373B   PATRIA       SMITH                     OH         64539259724
165B5178251337   DONNA        HAVERLAND                 OH         66040301782
165B5466961938   VALENA       DAMIAN                    CA         90010544669
165B6266991263   ANTHONY      CUTTING                   GA         90015412669
165B68A365715B   MELISSA      VELASQUEZ                 VA         90014708036
165B7A33972B62   LEROY        WERTZ                     CO         90012960339
165B813A861976   ROSY         LOMASENG                  CA         90015191308
165B8328561947   KATHLEEN     VILLALOBOS                CA         90013773285
165B8947561958   ANGEL        CUADRA                    CA         90012359475
165B9146761958   KARINA       CARBAJAL                  CA         90015091467
165B9269951337   GRACE        BELL                      KY         90014692699
165B9567347956   DAMA         JONES                     AR         90014605673
165BB263591569   KARINA       BARRAZA                   TX         90011182635
165BB578857147   ANA          CAMPO                     VA         81064735788
165BB64715715B   VILCA        MARCO                     VA         90009276471
165BB918261958   BLANCA       GALLARDO                  CA         90011149182
165BB93654B588   ALVARO       NOVOA                     OK         90014649365
16612963172B62   NOELLE       HELDMAN                   CO         33010559631
16612A6A661976   ANGEL        LOPEZ ROBLEZ              CA         90014850606
166137A3631426   JACQUES      WILSON                    MO         90001387036
16613A12155965   RANDY        CUNNINGHAM                CA         90014180121
1661468794B588   BROOKE       NILKINSON                 OK         90009666879
1661471618438B   FELIX        HERNANDEZ                 SC         19036597161
166147A6957147   HUGO         SEGOVIA                   VA         90012747069
16615433472B62   BRIANA       JIRON                     CO         90007254334
16615889A5715B   BUBLIAN      OCHOA                     VA         81001178890
1661658637B489   LETIA        WASHINGTON                NC         11073855863
16616A15961976   CHRISTIAN    JIMENEZ                   CA         46009500159
16616A9129373B   KALITTA      LANDERS                   OH         64514420912
16617A5194B588   CONNIE       HOWARD                    OK         90011930519
16619884972B84   ROSENDO      RUFINO ROJO               CO         90014838849
1661993985B154   MICHAEL      STEWART                   AR         90013849398
1661B48725B154   ALEJANDRA    SEGOVIA                   AR         23077104872
1661B551247956   THERESA      HAYNES                    AR         90010625512
1662232A55B526   HANNAH       HEWITT                    NM         35071543205
16622AA8161976   BLANCA       BALLESTEROS               CA         46012130081
166231A145B154   ENRIQUE      RAMIREZ                   AR         23045401014
1662424894B588   ANGELA       ESCARENO                  OK         90008492489
16624712A61976   LISA         MULLINS                   CA         90005297120
1662611A157147   HAIDER       ALSHUJIRI                 VA         90012081101
1662747262B253   LASADIE      REDDICK                   DC         90011434726
16628333698B52   MONICA F     MAXWELL                   NC         90007623336
1662923717B489   LORETTA      SHIPP                     NC         11034452371
1662973313B36B   CYRENE       TILBURY                   CO         90009827331
16631A7215B526   ROBERT       DANDY                     NM         90013860721
1663226254B588   RAY          BRADSHAW                  OK         90013012625
1663227989373B   SARAH        HOMOL                     OH         90013962798
1663259155715B   NATALY       OSORIO                    VA         90014815915
16632685A72B62   JEFFEY       AKERSON                   CO         90009496850
1663469665715B   JAVIER       ESTEVEZ                   VA         90012766966
1663489859373B   DEBRA        MOORE                     OH         90013628985
1663535144B588   GERSON       GOMEZ                     OK         90012313514
1663545A751337   RALPH        SHEPARDE                  OH         66048004507
1663678A891569   CRYSTAL      CONNER                    TX         90000497808
16637A88331962   PEDRO        GEMARTINO                 IA         90014430883
16638288124B7B   MARIA        MENDEZ                    DC         81018172881
1663962345715B   ELSY         LOPEZ                     VA         81012476234
16639927272B62   JEFF         PHILLIPS                  CO         90013349272
1663B55A37B489   SUSAN        LARA                      NC         11025905503
1663B646572B62   LAURA        PANTANO                   CO         33013726465
1663B717561938   ROSY         GARCIA                    CA         90010347175
1664127715B54B   MARICELA     VAZQUEZ                   NM         35072422771
1664159895B154   ANTHONY      RIDENOUR                  AR         90008055989
1664161525715B   ANA          ACHULLE                   VA         90002866152
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166419A4461938   JOSE         GONZALES                  CA         90011779044
1664229257B489   RANDY        WILLIAMS                  NC         11041562925
1664235A591263   MARRY        JACKSON                   GA         90015023505
166446A625B54B   JULIE        BACA                      NM         90008696062
16644A8794B588   YOLANDA      WALTER                    OK         90011310879
16644AA255B39B   SHANA        TRAVER                    OR         90013970025
166456A4A57147   MARIA        ULLOA                     VA         90003766040
1664582A657147   MANUEL       PALACIOS                  VA         90010028206
1664652A761976   CARMEN       TAPIA                     CA         90014815207
16646777772B62   GROVER       BROWN                     CO         90014697777
16646A68455965   ANTONIO      FLORES                    CA         90006030684
166487A1831687   TERENCE      MULVANY                   KS         22072387018
1664B788A5B526   VICTOR       REYES                     NM         35041947880
1664B838961938   TINA         JONES                     CA         46012348389
1664BA5A65715B   LUIS         HERNANDEZ                 VA         90013930506
1665177835B154   ROBIN        PEARSON                   AR         90012037783
166517A7A4B588   PATRICE      APPLEWHITE                OK         90013677070
16652A3675B526   CASANDRA     COX                       NM         90015320367
16652A7575B154   JAMAL        BAKER                     AR         90005990757
1665438A255965   AMANDA       SANCHEZ                   CA         90014703802
16654AA2855965   ANGELICA     REINA                     CA         90004850028
166575A5531687   APRIL        JOHNSON                   KS         90014805055
166583A265B526   CELSO        SALAS                     NM         90011003026
16658924A5B385   DANIEL       RAINES                    OR         90014659240
16658AA3991895   JACKIE       WILKES                    OK         90001810039
1665B86835B154   KAPRESHA     CARPENTER                 AR         90006288683
1666178A391895   JOSE         ALFARO                    OK         90004087803
16661815A72B62   JAMIE        HENRY                     CO         90014668150
1666197725715B   LEONOR       REYES                     VA         90015339772
1666222319373B   MICHELLE     EDWARDS                   OH         90013622231
1666315355B123   ESSIE        BRADFORD                  AR         23090681535
1666389185B526   SUZANNE      SAIZ                      NM         35051378918
16663918A2B228   ROSSVY       VALLEJOS                  VA         90008569180
1666572888B194   JENNIFER     MCLEAN                    UT         90002917288
166662A8291895   RONALD       MOODISPAUGH               OK         90013622082
1666942984B582   JUSTO        GRAMAJO                   OK         21583374298
1666975185B526   FORTINO      ORTEGA                    NM         90010127518
1666B235861976   JUAN         TOPETE                    CA         90013522358
1666B45137B489   ROLLON       WASHINGTON                NC         90010534513
1666B76499154B   ADRIAN       GUITIERREZ                TX         90011207649
1666B7A534B26B   MICHAEL      BROWN                     NE         26040487053
1667122974B576   MACK         THOMAS                    OK         90008592297
1667145A198B52   HIBO         ABDI                      NC         90008084501
166714A9351337   MICHELLE     FITZGERALD                OH         90014714093
16671831324B7B   JULOIS       JR                        DC         81058758313
1667221417B489   LAWRENCE     DA SILVA HUSBY            NC         11078752141
1667278444B588   ROBERT       GREENE                    OK         90010967844
1667417929373B   TEIA         BANKSTON                  OH         64567821792
1667419165715B   TOMAS        PABLO                     VA         90015111916
16674814A61938   LUIS         CRUZ                      CA         46017898140
16677665A91569   CRYSTAL      CHAIREZ                   TX         90002146650
1667996315598B   KAMVENG      VANV                      CA         49045519631
1667B13119373B   LINDA        MARKWELL                  OH         90002561311
1667B277291263   MORGAN       ALARCON                   GA         90015412772
1668126425B154   JAVON        BROWN                     AR         90013492642
16682537A31687   MICHELLE     OPDYKE                    KS         90014805370
16682A72A47956   THANH        NGUYEN                    AR         24029240720
16683568A2B242   CHRISTINE    SANDERS                   DC         90012285680
16683A26885939   CHELSEA      BUSH                      KY         90012360268
16684A1A95715B   JOE          SIMTH                     VA         90013080109
16685971A72B62   HUMBERTO     VAZQUEZ                   CO         90012679710
1668655855715B   ALBERTO      SOSA                      VA         90013495585
166871A634B588   DEVENEY      IVY                       OK         90007971063
16689A76547956   NORMA        BARRIENTOS                AR         90010370765
1668B152861976   LIDIA        INIGUEZ                   CA         90009691528
1668B169551337   SHERYL       BILLUPS                   OH         90012171695
1668B23119373B   PATRICE      LITTLJOHN                 OH         64505072311
1668B59545715B   PATRICIA     DE PAZ                    VA         81024345954
1669152442B89B   ANNE         WILSON                    ID         90005995244
1669169A372B62   AJ           JOHNSON                   CO         90002856903
1669179434B588   CARLA        JONES                     OK         90010967943
1669253A255976   SALVADOR     RAFMIREZ                  CA         90014155302
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16693394172B62   RICHARD      GONZALES                  CO         90011133941
16693548A8435B   SHAWN        GREEN                     SC         90012235480
16693AA6847956   SHANIKQUA    RELEFORD                  AR         90008790068
1669432495B154   ANTHONY      CORTEZ                    AR         90014173249
1669491952B89B   RHIANA       BALDERSON                 ID         90014929195
1669545559373B   AMANDA       WIESEMAN                  OH         90012724555
16695829172B62   MARISELA     RODRIGUEZ                 CO         33085118291
16695A1A55B348   MIGUEL       ELIAS FRANCISCO           OR         90008560105
166972A2791263   BONITA       PALMER                    GA         90011482027
16698159272B62   BRIAN        JONES                     CO         90012201592
1669818A92B89B   CRISTAL      PAREDES                   ID         90006391809
1669942A261979   MIKE         CABRERA                   CA         90008844202
1669959895B154   ERICA        JEFFERSON                 AR         90013685989
1669B55547B34B   CARL         JACQUES                   VA         90010705554
1669BA7A347956   KARI         HOWARD                    AR         90014120703
166B1161657147   CARLOS       HERNANDEZ                 VA         81046211616
166B1558155965   AIMEE        MURPHY                    CA         48085025581
166B16AA35715B   MOHAMED      MUSA                      VA         90001396003
166B192A281672   DAVID W      GUNSOLLEY                 MO         90012559202
166B2772A47956   ROSA         CASTELLON DE MENJIVAR     AR         90011957720
166B2875747956   JESUS        RODRIGUEZ                 AR         90015218757
166B2A5684B588   AMIE         GILLS                     OK         90009450568
166B314915B533   ANGELA       CHAVEZ                    NM         35021951491
166B3348957147   TIRUFAT      ADANE                     VA         90013483489
166B3582A91895   JAMES        ARTHUR                    OK         90009825820
166B3654591569   DIEGO        MILLER                    TX         90012826545
166B398694B26B   LEAH         GUERRA                    NE         90010899869
166B4533372B62   ANA ABEL     DIAZ                      CO         90014895333
166B4628755965   KAMILLA      ORTIZ                     CA         48079446287
166B4745661976   PEH          DAVID                     CA         90013167456
166B532315B154   SARAH        COLE                      AR         23073133231
166B551774B588   PRONG        PHAN                      OK         90008725177
166B61A1172B2B   JOSE LUIS    ROCHA                     CO         33006941011
166B6629555965   JENNY        GUILLORY                  CA         48079446295
166B6A2445B154   REGINA       MCDONALD                  AR         90001640244
166B7726847956   BRANDON      OLDHAM                    AR         90012347268
166B7773161938   JOANNE       SANCHEZ                   CA         90011907731
166B7935372B62   MICHELLE     IBBOTSON                  CO         33091179353
166B8372291569   MELISSA      MARTINEZ                  TX         75030083722
166B9182857147   NORMAN       PARHAM                    VA         90011731828
166B92A2161938   REBECCA      GAINES                    CA         90006042021
166B9942A31687   JENNIFER     GRUBE                     KS         22038409420
166BBAA8351337   DARNELL      HOWELL                    KY         90010880083
1671112377B466   JESUS        LERMA                     NC         90013561237
16711548A57147   CARMELO      CHAVARRIA                 VA         90006485480
1671245A472B62   DAVID        ALLREAD                   CO         90011054504
1671261115B154   MARLENE      SOTO                      AR         90013966111
1671281289373B   CHEMIKA      CHAPMAN                   OH         90010518128
16712A1575715B   ANETTE       ROSS                      VA         90014720157
16712AA6891569   ROBERTA      CAZIER                    TX         75042140068
167133A5872B62   PATRICIA     FALLON                    CO         33052433058
1671388A155965   VANESSA      VALDEZ                    CA         48018838801
16713A56891263   STEVEN       HAHNGEN                   GA         90013510568
1671487139373B   JEFF         WILLIAMS JR.              OH         90007908713
16714A6282B546   DARIUS       MARSHALL                  AL         90013790628
16716429A72B62   FREDDY       CONTRERAS                 CO         90008334290
167166A5A91569   MARIANA      NUNEZ                     TX         90013396050
1671762A18438B   NANCY        RAST                      SC         19078176201
1671783714B26B   MARC         MUNDEMBO                  NE         26029718371
1671838573B393   MACARMEN     RODRIGUEZ                 CO         33067213857
1671B87139373B   JEFF         WILLIAMS JR.              OH         90007908713
16723A1A95715B   JOE          SIMTH                     VA         90013080109
16723A85591569   RONALD       BOOTH                     CA         75026760855
16724272A5715B   AHMED        JAMA                      VA         81025232720
167248A4455965   MARTINEZ     CRISTINA                  CA         90005778044
16724A76791895   PAULA        BRIGGS                    OK         21029840767
16725337A57199   DION         HOGAN                     VA         90008413370
1672558A191895   TRACY        PIGG                      OK         90013145801
1672624979373B   PAMELA       SAMUEL                    OH         90015212497
1672643845B154   MICHELLE     COTTRELL                  AR         90014664384
16726A62791569   JORGE        REYES                     TX         90014660627
16727181A57147   MARVIN       SANTAMARIA                VA         90012591810
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16727418A31687   DEANNA        MCWITHEY                 KS         22065894180
16727629A5715B   DALLAS        RODRIGUEZ                VA         90011216290
1672786365715B   JULIO         MEDRANO                  VA         90012438636
1672866965715B   MILAGRO       HERNANDEZ                VA         90000186696
16729418A31687   DEANNA        MCWITHEY                 KS         22065894180
1672943244B588   RALPH         NUGENT                   OK         21524794324
1672984A58B194   KORY          POULSEN                  UT         31013358405
1672B54554B588   HORACIO       LOPEZ                    CO         90010375455
1672B68137B634   SERGIO        PEREZ                    GA         90008806813
1673384195B526   DEMIATRIS     JONES                    NM         90009968419
16733A45755976   DARREL        WHITTLE                  CA         90003200457
1673615245B526   RHONDA        BROWN                    NM         35044011524
167365A4191569   PRISCILLA     BARRAZA                  TX         90010235041
1673697268438B   DIANNE        QUZAH                    SC         90001279726
1673718A92B89B   CRISTAL       PAREDES                  ID         90006391809
1673746515B53B   JOSE          GONZALEZ                 NM         35070384651
1673779164B26B   JASON         BALES                    NE         26051897916
167377A8991895   JEFF          BRITTON                  OK         21061627089
1673834475B154   ARIC          TURNER                   AR         90013433447
167385A3591569   LUCIA         CERVANTES                NM         75044205035
16739888672B62   SERVICES      HOME DIRECT              CO         33020418886
1673B338861938   JAIME         MONCADA                  CA         90011783388
1673B418A31687   DEANNA        MCWITHEY                 KS         22065894180
1673B651391895   KRISTI        REPLOGLE                 OK         21009606513
1673B7A635715B   TANAYLA       EASTERLING               VA         81087597063
1673BA3325B154   ANTHONY       YOUNG                    AR         90015130332
1674216245715B   LILIANA       LOPEZ                    VA         90014721624
16743A22355965   RONALD        DEAN                     CA         48039210223
16743AA325B154   MARIA         IBARRA                   AR         23050260032
16744A52472B62   DEANIA        WELFRING                 CO         33014370524
16745191386B96   CHARLIE       BURGER                   CT         90014101913
167454A6A61958   ROBERT        HARVEY                   CA         90015134060
1674678A791895   ANGELIA       GODFREY                  OK         90014557807
1674691995715B   JAMES         HENDERSON                VA         90012429199
16746A65891569   LORENZO       OLIVAS                   TX         75010690658
1674766A947956   ROBERT        GIBSON                   AR         90000516609
167477A965B39B   ANITA         LEWIS                    OR         90011947096
1674831235B154   NATASHA       BLACKMON                 AR         90014083123
16749171A91569   ENRIQUE       MEZA                     TX         75078921710
1674971919373B   JETT          COLE                     OH         64540067191
1674B43A331687   MICHAEL       EDWARDS                  KS         22048544303
1674BA69772B62   SERGIO        ORDUNA                   CO         33087000697
16751363424B7B   JEREMIAS      HERRERA                  DC         90012503634
16752644A47956   BRIAN         GARCIA                   AR         24010086440
16753943972B62   DAJUAN        CONNER                   CO         90012719439
16754529A31687   MAXIMILIANO   NUNO                     KS         90009335290
167564AA491569   ANA           GALLEGOS                 TX         75044204004
16757752A86B96   BRIAN         REEVES                   CT         90014227520
1675924A477535   SANTOS        REYES                    NV         90014742404
1675938969373B   JOSHUA        HART                     OH         90011003896
1675946455B334   DAVID         BAIR                     OR         90006544645
16759597A61972   KOKSAL        OZDEMIR                  CA         90003025970
1675968A79373B   ASHLEY        MCDWELL                  OH         90003896807
1675B63185715B   OSCAR         LOPEZ                    VA         90014436318
1675B816A55976   JULIO         BARAJAS                  CA         90006148160
1675B832672B62   GEORG         DEMPSEY                  CO         33092068326
16761A19555965   DIANA         VERA                     CA         90011850195
1676268825B229   ABDEL         PEREZ                    KY         90012456882
1676466315715B   JUAN          NAVARRETE                VA         90012446631
1676629257B489   RANDY         WILLIAMS                 NC         11041562925
1676669615715B   ROBERTO       HERNANDEZ                VA         81074106961
1676733A555947   MELISSA       LETT                     CA         90000563305
1676966594B588   DONNA         JONES                    OK         21561476659
1676976747B489   ELVIRA        VILLAREAL                NC         90013197674
16769A28972B62   MICHELLE      GONZALES                 CO         90015180289
1676B336755965   NATHALIE      DIAZ                     CA         48000553367
1676B62845715B   ROB           BROWN                    VA         81080966284
1676B988191263   LATERICA      WILLIAMS                 GA         90010579881
16771719898B62   AMBER         MOORE                    NC         90001657198
1677257257B489   ANNIE         BANDERS                  NC         11011095725
16772613272B62   JERRY         MIERA                    CO         90010936132
167728A244B536   JATONA        CHESTER                  OK         90008508024
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1677365897B373   MARVIN       COREAS                    VA         81020066589
16773A39955976   SHAMIKA      PIERSON                   CA         49051730399
167747A2691569   PAULINA      VENEGAS                   TX         90013727026
1677563615715B   JOSE         LOVO                      VA         90007546361
1677642545B154   MONA         HAAS                      AR         23016034254
1677661A855976   DANIEL       BAILEY                    CA         90011276108
16776A42791263   ERIC         GLOVER                    GA         14594990427
1677729454B588   DADRIN       BAILON                    OK         90015172945
16777A3839373B   RAYVAUGHN    EDWARDS                   OH         90014370383
1677B45955B526   ALFRED       SALAS                     NM         90002964595
1677B78AA9373B   TODD         RIDDLEBARGER              OH         90013207800
1678157195B526   ORLANDO      CHAVEZ                    NM         90003945719
16781725172B62   LAURA        GONZALEZ                  CO         33011597251
16781A57591569   ROSA         CONDE                     TX         90011320575
16782835924B44   YESINA       ALVAREZ                   VA         90012988359
1678338864B588   DANIEL       COURTNEY                  OK         90014103886
1678352288B169   BRAD         PETERSEN                  UT         90005545228
1678475A69373B   RACHEL       YOUNGER                   OH         90013817506
1678617982B89B   EZEQUIEL     HERNANDEZ                 ID         90005861798
16786766A93723   STEVE        DENT                      OH         90014777660
16787214A5B526   LOUANN       CASTILLO                  NM         90002632140
1678757AA57147   LEO          SORTO                     VA         90012635700
1678785A43B396   IDEAL        ELECTRIC INC              CO         33000438504
1678827935715B   JHONY        ALVAREZ                   VA         81024672793
1678921A391586   MARIA        MARTINEZ                  TX         75098672103
167894A4561958   JUSTIN       GIRARD                    CA         90013024045
1678971155715B   PAOLA        ESTREMERA                 VA         90009527115
1678B35324B588   MARLILYN     KELLUM                    OK         90008503532
1679117A161958   MIGNON       WATKINS                   CA         46033751701
167914AA15B154   WILLIAM      HILL                      AR         90010494001
16791A5A455965   CHRISDAN     ABBOTT                    CA         90014390504
16793A9635B526   VIRIDIANA    JASSO                     NM         90006850963
1679488165B154   FELICIA      COOPER                    AR         90008478816
1679548AA5715B   CALISH       SHABAZZ                   VA         90013384800
1679636A35715B   EDGAR        MONTANO                   VA         90000223603
1679924534B588   JOSEPH       ASHRY                     OK         90014702453
16799467272B37   ROBERT       ROUGH                     CO         90010904672
1679B554291569   IVAN         MUNOZ                     TX         90009725542
1679B859955965   MICHELL      FERNANDEZ                 CA         48084768599
167B1118455965   DAVID        CALDWELL                  CA         90010921184
167B1268391569   SANDRA       MANJARRES                 TX         90009012683
167B16A5A55976   NELLIE       CALDERON                  CA         90013526050
167B245742B876   MATTHEW      BEHM                      ID         90011774574
167B255855715B   ALBERTO      SOSA                      VA         90013495585
167B35A5191569   ANGELICA     LOPEZ                     TX         90007675051
167B4884A51364   LYNN         HOFF                      KY         90008478840
167B4A19461958   GLORIA       NUNEZOCEGUERA             CA         90014540194
167B5347591263   BYRON        ESPINOZA                  GA         90013893475
167B622A29373B   SPECIAL      WALTON                    OH         90015322202
167B6285361976   ROBERTA      MELGAREJO                 CA         90014182853
167B6844831687   TIFFANY      HARTLEY                   KS         22093958448
167B7277561938   KEVIN        MCLEMORE                  CA         90013132775
167B7296551358   MARK         RIPPERGER                 OH         90009092965
167B8429A9373B   GARY         HOFACKER                  OH         64598444290
167B843194B588   DUSTIN       MCLEMORE                  OK         90013864319
167B9416631687   BEATRIZ      AGUIRRE                   KS         90003624166
167B9713757125   ANA          SANTAMARIA                VA         90007647137
167BB698655965   LINDY        HARRIS                    CA         90002836986
167BB95A557147   DARWIN       ARAOZ                     VA         90007359505
1681167682B89B   SARA         SMITHER                   ID         90005866768
16811A68731664   DIAN         REYES                     KS         90006530687
16811A93961976   SALVADOR     ESCAMILLA                 CA         90010200939
16811A96A51337   DAMEKA       KESLER                    OH         90007240960
168122A2191895   COZELL       DONALD                    OK         90009472021
1681363684B588   LIZA         KING                      OK         90014886368
1681566997B47B   LUIS         ZUNIGA                    NC         90001706699
16815AA7941272   DAVID        COOK II                   PA         51093670079
1681662212B242   HENRY        JAMES                     DC         90003736221
168173A9891569   VICTORIA     CENISEROS                 TX         90014673098
1681743414B576   KARSON       LITTLE                    OK         90008244341
1681835A261958   MICHAEL      PUMPHREY                  CA         90013083502
16818735A91569   EVA          CORTEZ                    TX         90007817350
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1681B8A3655965   ELEANOR       RAMREZ                   CA         48080598036
1681BA92591895   JESSICA       JENKINS                  OK         90003590925
16822895572B62   CHELSEA       WHITTEN                  CO         90010718955
168229AA555965   BEATRIZ       LIZAMA                   CA         90010369005
16822A7294B588   ARACELI       WRIGHT                   OK         90007340729
16823288A51337   IVAN          REA                      OH         90013482880
16825425124B55   BALTAZAR      BRITO                    VA         90013914251
16825767A61958   KENNETH       LEWIS                    CA         90000627670
168261A144124B   FRANK         DETWILER                 PA         90006491014
1682627543B36B   PRISCILIAN    ANAYA                    CO         90002102754
16827499372B62   MARICRUZ      TORRES                   CO         90007384993
1682758653B393   SHEILA        GAVIN                    CO         90000235865
1682823478438B   JOAQUIN       MIRANDA                  SC         90000602347
16829541A85999   CONNIE        STOLZ                    KY         90000445410
16829A3514B26B   WILLIAM       CONDON                   NE         26084470351
1682B139861958   LIZETH        RIVERA                   CA         90011211398
1682B546191263   MATTHEW       WATSON                   GA         90014465461
1682B56722B857   ARRI          OLANO                    ID         90008885672
1682B77A472B62   JOSE          BONILLA                  CO         33009417704
16831187A51337   THOMAS        KEITH                    OH         90014571870
1683178775715B   BALE          MALAKU                   VA         90014177877
1683223865B526   PATSY         ARMIJO                   NM         90012442386
168324A5151337   BRANDON       SMITH                    OH         66014724051
1683276834B588   PHILLIP       PRESTRIEDGE              OK         21564867683
16833376772B62   CHRIS         NICHLOS                  CO         90008173767
1683369345B526   VALERIE       BENNETT                  NM         90005516934
1683371344B588   FELICIA       ZAMORA                   OK         90008967134
1683443345B532   TARA          COLIN                    NM         90012454334
1683473214B26B   ASHLEY        BRIGGS                   NE         90000137321
1683518314B588   LATECIA       HILTERBEAN               OK         90010881831
168357A1647956   DANIELLE      SHERRIL                  AR         90014717016
1683766619373B   LOIS          MORRIS                   OH         90013666661
168387A1647956   DANIELLE      SHERRIL                  AR         90014717016
1683B515561938   SALOME        RENTERIA                 CA         90011785155
16841321976B68   LAURA         PRESBERRY                CA         90002653219
1684165885B526   BARBARA       MITCHELL                 NM         35048306588
16841948272B62   RACHEL        WASHINGTON               CO         90008959482
1684246AA55976   DANIEL        TELA                     CA         90014174600
16843274A61976   MARCO         TAPIA                    CA         90011442740
1684349915B526   DONALD        POINTS                   NM         90013004991
1684366324B588   ALAN          GRAMAJO                  OK         90015126632
1684372789373B   DAVID         ANDREWS                  OH         90011817278
1684433A861958   VICTOR        VARGAS                   CA         46009533308
1684561355B342   JENKA         SODERBERG                OR         90008566135
16846719A57147   JULIA         RODRIGUES                VA         90014687190
1684674224B588   KAIN          DURBIN                   OK         21564157422
1684737A75715B   JULIO GOMEZ   JUAREZ                   VA         90013853707
168473A4955976   PETER         SANTIKHAM                CA         90015333049
16847728572B62   GUSTAVO       CALDERON                 CO         33003717285
168484A729373B   MIKE          BUTTS                    OH         90014594072
16849728A4B26B   DANAE         GREEN                    NE         90011467280
1684B96A44B254   JOHN          BRANNAN                  IA         90006469604
168512A8172B62   NOEMHY        CONTRERAS                CO         33087062081
16852675A72B62   RICKEY        BENSON                   CO         90014566750
1685347864B588   CLARENCE      HARRELL                  OK         90014874786
1685424215715B   SAIFU         CHFIKE                   VA         81035122421
16854987A61938   CHANTALLE     JEAN CHARLES             CA         46027249870
16854A2A54B588   APRIL         MURRAY                   OK         90010410205
16855246624B55   DELVON        STRONG                   DC         90004442466
16855A47461938   RUTH          CHAVEZ                   CA         90012810474
16856476A91263   CARRIE        SIMMONS                  GA         90014024760
16856762A4B26B   KRISTA-LEE    HANDY                    NE         90011417620
1685685A257147   LESLI         PEREZ                    VA         90012448502
168574A895715B   DAVID         MURPHY                   VA         90001344089
1685757794B588   WENDI         DEAL                     OK         90008505779
1685816995B154   ROSALYN       PARKER                   AR         90014521699
1685987498438B   JAMES         HUSH                     SC         90012088749
1685B277A4B588   TRACY         VEAL                     OK         90011082770
16861241A91263   ELIZABETH     BRAZELTON                GA         90014522410
16861A5584B588   ROB           AGUIRRE                  OK         90014570558
1686251555B526   EVONNY        MONGE                    NM         90013615155
16863153A47956   JACQUELINE    CARRION                  AR         90014801530
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16863A1719154B   ANA          RIVAS                     TX         90013400171
16865827A57147   CASSAUNDRA   JOHNSON                   VA         90001638270
1686717A72B546   ADRIANE      CARTER                    AL         90013841707
1686745A131687   JESUS        RETANA                    KS         22013214501
1686948325715B   OSCAR        GIRON                     VA         90013844832
1686B118674B57   JASMINE      BOST                      OH         90014211186
1686B122961938   ALTHEA       JASPER                    CA         46047441229
1686B444461958   JUSTIN       HOLAHAN                   CA         46009534444
1686B61245715B   JERSON       SOSA FUENTES              VA         90014846124
1686B617957147   ROBERTO      VALDEZ                    VA         90012896179
1686B849222929   AYERA        HARTSFIELD                GA         90014698492
1686BA6AA51337   ROBIN        MOORE                     OH         66012020600
1687112A691964   ASHLEY       DENNY                     NC         90011011206
1687119564B588   JEROME       REECE                     OK         90013551956
1687144735B154   TOMMY        GIBSON                    AR         90014384473
168715A455B526   ADIIYO       PETERSON                  NM         90014045045
16872475A51337   SHANNON      PIKE                      OH         90002824750
1687271725B39B   GILLIAN      MURR                      OR         90005067172
1687316A15B154   TERRI        GAINES                    AR         90013701601
16873487A57147   AMMAR        MOHAMED                   VA         90013054870
1687357429373B   MARK         TAYLOR                    OH         64526495742
1687361217B423   AMANDA       FISH                      NC         90010766121
1687473815715B   AGAPITO      MEDRANO CASTRO            VA         81038797381
16874815A5B526   CHASTITY     MARTINEZ                  NM         90011838150
1687511A37B35B   ANTONIO      BENITEZ                   VA         81081521103
1687522698438B   ROGER        MITCHELL                  SC         19076962269
1687532774B26B   TROY         VETTER                    NE         90007113277
1687699614B588   CHYNA        LUCAS                     OK         90014719961
16877A22A72B62   BERNIE       MIMS                      CO         90003910220
16878114972B62   AMBER        LADEHOFF                  CO         90010891149
1687813538438B   CHRIS        GUST                      SC         90003781353
16878557272B62   NIK          LACOSTE                   CO         90012825572
1687899A872B62   YANA         BUTTACAVOLE               CO         90014079908
1687915864B26B   PAYGO        IVR ACTIVATION            NE         90008971586
16879417A91569   DEIDRE       PORTILLO                  TX         90011484170
16879579672B62   RENA         RUTHERFORD                CO         90001515796
168795A6191895   PORFIRIO     CARBAJAL                  OK         21055845061
1687B26A85715B   MARIO        MARCOS                    VA         90006352608
1687B41484B588   BETH         MIX                       OK         90013104148
1687B979157147   ARNULFO      MENJIVAR                  VA         81058479791
1688141394B588   DEJAUN       LANG                      OK         90011904139
16882452A51337   CRYSTAL      SPARKS                    OH         90014854520
16883AA888B574   NORA         MANRIQUEZ                 CA         90014170088
1688511265B154   MONA         DAVENPORT                 AR         23059161126
1688555424B588   REBECCA      RODGERS                   OK         90012215542
16886341A91263   AMY          WEISS                     GA         90013423410
168867A5861958   NAYELI       MEDINA                    CA         90014407058
16886971A51337   KIWANIS      JONES                     OH         90008269710
16887AA948B574   GUADALUPE    HUERTA                    CA         90014170094
1688914355B229   JOSEPH       CLARK                     KY         90001371435
1688B12835B526   EPIFANIA     ASTORGA                   NM         90001151283
1688B259A55965   ISAAC        DAMON                     CA         90013062590
1688B46587B489   GERALD       HARRISON                  NC         11014444658
1688B64229373B   CINDERALLA   LOWE                      OH         90008916422
168915A2861976   ROBERTO      SILVA                     CA         90012755028
1689215487B489   RICK         PARKS                     NC         11092111548
168921A6791895   DANIELLE     WHITE                     OK         90014771067
168921A7A4B26B   KATREISHA    LQUINTANA                 NE         26038191070
1689299958B574   GUADALUPE    HUERTA                    CA         90014169995
16892A26A57147   OLGA         SILVA                     VA         90012030260
168935A9255965   ANA          HOLGUIN                   CA         90014845092
16893A54A61992   ISIS         NOVELA                    CA         90006690540
1689422A572B4B   JOSE         TREJO                     CO         90013622205
1689441715715B   NELSON       DIAZ                      VA         90014744171
1689634919373B   CHRISOPHER   THURMAN                   OH         90002873491
1689816735715B   JOSE         ESTEBAN                   VA         90013511673
1689826A761957   IRMA         CALZADA                   CA         90010872607
168983A189373B   TREY         SPENCER                   OH         90013353018
16898445572B29   VAENTINE     ROMERO                    CO         90010574455
1689B25487B489   NAP          PUIH                      NC         90007482548
1689B675991895   CARLOS       HERNANDEZ                 OK         21003276759
1689B892172B62   LETICIA      ARRIAGA                   CO         33052108921
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1689BAA845715B   OLGA          FUNES                    VA         90011920084
168B1757257147   EMMANUEL      ECHEVERRI                VA         81047277572
168B1A27891569   MARIA         ELIAS                    TX         90009390278
168B2195155965   JACOB         MORAIDO                  CA         48032581951
168B2A9575715B   LAMAR         HENDERSON                VA         81026060957
168B312835B526   VANESSA       LITTLEPAGE               NM         35083111283
168B33A7761958   NAHON         AGUILAR                  CA         90003983077
168B3832961976   CONSUELO      OLMEDO                   CA         90014868329
168B4299591263   DARMAN        TANKSLEY                 GA         90014582995
168B452775B526   MIRANDA       MCAFEE                   NM         90008015277
168B46A2761958   JONATHAN      RIVAS                    CA         90002486027
168B511172B884   NICOLE        RALSTON                  ID         90002251117
168B5233A4B588   WALTER        TRENT                    OK         21553252330
168B5849357147   CINTIA        LAFUENTE                 VA         90006748493
168B6439131687   MELISSA       TAYLOR                   KS         22059284391
168B658368438B   NYIM          GATHERS                  SC         19005895836
168B6688747956   TELESHA       MCKINNEY                 AR         90013996887
168B7151191569   MITCHELLE     LUJAN                    TX         75011421511
168B7214655965   PATRICIA      BANDA                    CA         48000472146
168B734119373B   ERIKA         WARD                     OH         64501953411
168B7522A43588   JESS          CLELAND                  UT         90012025220
168B772A95715B   MARGARITA     HERNANDEZ                VA         90012687209
168B7A1735B526   ARACELI       REGALADO                 NM         90008160173
168B829719373B   MICHELLE      FRYMAN                   OH         90003972971
168B9269951337   GRACE         BELL                     KY         90014692699
168B927A272B62   CYNTHIA       ANNETTE                  CO         90008152702
168B9288155965   ANGEL         HERNANDEZ                CA         48050872881
168B982A147956   LORI          THOMAS                   AR         90014708201
168BB455861976   LORERNA       CORONA                   CA         90012754558
168BB597872B62   JANET         SALAS                    CO         90013105978
168BB714855965   AARON         MAGALLON                 CA         90010917148
168BB75A69373B   RACHEL        YOUNGER                  OH         90013817506
168BB863951337   TONYA         BAILEY                   OH         90011568639
1691166AA8438B   DEANGELO      GRIFFIN                  SC         90013776600
16911953A91263   JABRELL       BONAPARTE                GA         90013649530
1691247714B588   CHAVONNE      DIXON                    OK         90009824771
1691254595B526   LUZ           MORA                     NM         35001315459
169125A8547956   ELIZABETH     SMITH                    AR         90013675085
169139A6455976   ADRIANA       SILVA                    CA         90013219064
16915677A72B62   SHAWN         BELLEY                   CO         33098716770
1691785A636B99   DARIEN        CAMP                     OR         90012668506
169179A2991263   JABAR         MARION                   GA         90013589029
16918484372B62   JANETTE LEE   TOWNSELL                 CO         90011234843
169185A8547956   ELIZABETH     SMITH                    AR         90013675085
1691965A151337   HOPE          HEDGES                   OH         66045836501
169199A6372B62   HEATHER       MONDY                    CO         33072189063
16919A5413B388   KRISTINE      HUTCHINSON               CO         90011380541
1691B424755965   RICHARD       HERNANDEZ                CA         48052914247
1691B529A31687   MAXIMILIANO   NUNO                     KS         90009335290
1691B82114B536   JULIA         ROLEN                    OK         90011088211
16921A89891945   ARTAVIA       LINESZY                  NC         90010120898
16924A54547956   LEAH          JAMES                    AR         24004950545
1692519315B526   DEBRA         CARTER                   NM         90003451931
1692525915B39B   OSCAR         GASTON                   OR         90006312591
16926557A7B489   ROXANNE       MOSELY                   NC         11044735570
1692682A291569   DANIEL        ESCAMILLA                TX         75009888202
1692769285B526   JUANITA       CORONADO                 NM         90013196928
169276A112B89B   JUSTIN        HOXIE                    ID         90005956011
1692881899373B   BILLY         CAMBELL                  OH         64540048189
16928A73872B62   MANI          POWERS                   CO         90007100738
1692B21444B588   KECIA         PERRY                    OK         90013872144
1692B731291895   HORALIA       GARCIA                   OK         90012997312
1692B837847956   ADAM          ROBINSON                 AR         90014728378
1693155A791569   CECILIA       HAMMONDS                 TX         90008595507
1693168395715B   GILBERTO      LOPEZ                    VA         90001526839
1693229195715B   PEDRO         VALENCIA                 VA         81057722919
1693325787B489   NICOLE        PUGH                     NC         11013602578
1693375345B526   SCANNELL      JEROME                   NM         90005137534
16933899A72B62   JUSTINE       MILLS                    CO         90012078990
1693632639373B   JENNIFER      SMITH                    OH         64522013263
169373A4155976   CARLY         BANKS                    CA         49081343041
1693744A661958   CYNTHIA       HERNANDEZ                CA         90013284406
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1693841164B588   LAMANDA              TAYLOR            OK         90014804116
169386A975715B   WILLIAM              ROMERO            VA         90013046097
169389A9631665   JACONA               GILLESPIE         KS         22054129096
16938A67372B62   PATIRCIA             ADAME             CO         90010670673
16939AA6372B2B   MEAGAN               ROUNTREE          CO         90008770063
1693B174355976   JUAN                 SANCHEZ           CA         90014751743
1693B49215B154   DEMETRICE            BREWSTER          AR         23086164921
1693B539655965   VANETTE              DOUGLAS           CA         48036925396
1693B818A57133   MARIA                SAUCEDO           VA         90007508180
169418AA62B89B   CHRIS                FRAGA             ID         42078898006
16941A7594B543   MICHAEL              JACKSON           OK         90010600759
1694249A624B55   EDGAR                ARTURO            DC         81086134906
1694354472B89B   ERIKA                CEDILLO           ID         90005975447
16943774172B62   LINDA                MENDOZA           CO         33072107741
1694384855B526   BRIAN                STANCE            NM         90014448485
1694391744B588   ALICIA               JOHNSON           OK         90014049174
1694479245B154   DASIY                GARY              AR         23078827924
16945A31A9373B   BRIAN                GOLD              OH         90015450310
1694625559373B   JAROM                HAYES             OH         90015132555
169467A1391895   GLORIA               LUNA              OK         90000797013
16946A92755976   DEANDRE              FULMER            CA         49017200927
16946AA1272B62   RAMIRO               MARCUS            CO         90012110012
1694883839152B   EDGAR                ROBINSON          TX         90011328383
1694928754B26B   SONYA                LIEB              NE         26004712875
1694B31915B154   JAZZMYLE             DOPSOL            AR         90015473191
1694B755A72B62   MICHAEL              BRUFFETT          CO         33012787550
16951328772B62   WENDY                HERNANDEZ         CO         90003913287
1695139285B154   ANTHONY              FREEMAN           AR         90014093928
1695233A75B154   ANDREA               LEWIS             AR         90013333307
1695243255B385   GLORIA               SOTO              OR         90010544325
16952669624B35   NELSON               MEJIA             VA         90004256696
1695289A755976   ALEJANDRO            CORTES-NUNEZ      CA         90012878907
169528AA17B43B   DOROTHY              ARMSTRONG         NC         90000658001
169529A8693727   MICHAEL              LUCKETT           OH         90000999086
16953277A47956   AMANDA               STARKEY           AR         24067522770
1695387654B588   VICTOR               ROSE              OK         90008508765
16954166A91895   RIGOBERTO            GUZMAN            OK         90000961660
169544AA89373B   RONALD               STALEY            OH         90013704008
1695453218164B   LAURA                MILAM             MO         90009295321
1695464625B154   ASHLEY               TATE              AR         23000636462
1695487A161976   EDGER                GILBERT           CA         90013608701
16955643272B62   MIGUEL               PEREZ             CO         90014816432
16955772A7B489   SHANTA               LIPSCOMB          NC         11009217720
16956352A9373B   STEVEN               YOUNG             OH         90004233520
16959287376B27   ADRIANA              MALDONADO         CA         46084742873
1695983856B288   TYRONE               PALMER            NM         35091658385
1695987654B588   VICTOR               ROSE              OK         90008508765
16961488572B62   FRANK                MARASA            CO         33051364885
16963A19857147   LAWSON               LAWSON            VA         90007750198
16964A9A961958   CHRISTOPHE           EVANS             CA         46010450909
16966A3387B489   JORGE                MENDOZA           NC         90004770338
169683A7761976   LOURDES              LARA              CA         90013183077
16968A74651337   ARMANDO              MAURICIO          OH         66083100746
16969575A91895   RACHEL               HERRERA           OK         21082695750
16969A57455976   SAUL                 AGUNDEZ           CA         49098310574
1696B215161976   CHRISTOPHER BRADON   HYMAN             CA         90014162151
1696B39249373B   JESSICA              BAKER             OH         90002233924
1696B5A8855965   JOHN                 VALDEZ            CA         48045765088
1696B624261958   MASOODA              SYED              CA         90012686242
1696B887161938   ROBERT               INOA              CA         46016328871
1696B96A14B588   TONYA                THRONESBERRY      OK         21574719601
1696B974191569   SALVADOR             RODRIGUEZ         TX         90015079741
1696BA88351337   PHILLIP              KEYES             OH         66069560883
16971464A91885   WENDY                ZIMMERMAN         OK         90007854640
1697219564B588   TROLONDIA            TIDWELL           OK         90012211956
1697334175715B   JORGE                LOPEZ             VA         90007853417
1697461195715B   LUIS                 AYALA             VA         90014746119
169749A1361958   MARIAH               YOUNG             CA         90014289013
1697598164B26B   EARL                 ADAMS             NE         26084799816
16976659A5715B   SABRINA              MOHAMED           VA         90011866590
16976A65291895   TAMIKA               JONES             OK         90015200652
1697968AA51337   DAVID                HUNTER            OH         90014966800
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1697B11492B866   SHANE               TURLEY             ID         41077931149
1697B18A75715B   ELMER               HERNANDEZ          VA         90004901807
1697B8A2972B27   SILVIA              VASQUEZ            CO         90005768029
1698122918438B   ERICKA              FOGLE              SC         19009332291
1698232A53B393   FELIX               LOZANO             CO         33017023205
1698293512B284   EVA                 JOHNSON            DC         81001389351
1698455664B588   ALENA               RAWLINGS           OK         90013845566
1698475695B268   TED                 STIVERS            KY         90012447569
169871A6447956   YENI                RODAS              AR         90014741064
1698777815715B   DIANA               MELENDEZ           VA         90009867781
16987863772B62   NORMA               DELOERA            CO         33015548637
1698831547B489   JOSE                RODRIQUEZ          NC         11012473154
1698862A14B588   BRITTANY            WILLIAMS           OK         21583896201
1698915195B154   QUINTINA            BAILEY             AR         90006911519
1698926227B45B   SCOTT               HOOPER             NC         90013282622
16989759172B62   HECTOR              RUIZ               CO         90007727591
1698B211661976   HERIBERTO           LOPEZ              CA         90010212116
1698B86958B167   ROSS                MCGRAIN            UT         90007768695
1699159114B26B   KATRINA             STOMER             NE         26088885911
1699179534B588   MARIO               MELENDEZ           OK         90014177953
16992AA2161938   MAYRA               CRUZ               CA         46023410021
1699325177B489   CLOTILDE            RIVERA             NC         11061092517
1699353A355976   SIA                 XIONG              CA         49054305303
16993894A61976   MACARIA             ALVAREZ            CA         46038518940
169943A2291895   SHONA               SAMUELS            OK         21026313022
1699447665B342   ROBERT              SPENCER            OR         44507614766
16994579A91263   SAMANTHA            JOHNSON            GA         90014855790
16994A65591895   T                   WHITE              OK         90014810655
1699516215715B   AXEL                RIVERA             VA         90013861621
169954A1A51337   JOHANA              MCMILLAN           OH         90011674010
1699613525B352   KATRINA             VOSHALL            OR         44564331352
16996A46372B62   DESIREE             MONTOYA            CO         33075010463
1699767A491263   TUSHA               CRAWFORD           GA         90011286704
16997A5125715B   JENNIFER            SILVERS            VA         90014240512
1699837247B32B   ALLAN               BOULTER            VA         81032923724
1699875A191573   MARIA               LIZALDE            TX         90008797501
1699912A957147   LAMAR               LOCKLEAR           VA         90013761209
16999364A5B154   ASHLEY              KELLEY             AR         23089383640
1699984AA61976   RAUL                VILLANUEVA         CA         90013488400
169B1146872468   JOSEPH              SMITH              PA         90014511468
169B1421751337   TONY                SIMMONS            OH         90000254217
169B1734831687   ILA                 BYRUM              KS         90014817348
169B182A655965   MARIA               MURPHY             CA         48045768206
169B184655B526   LESLIE              FEY                NM         90015338465
169B186479373B   DONNIE              MACK               OH         90011108647
169B2126855965   TINA                JONES              CA         90007851268
169B2949657147   DOMINIQUE           CROSBY             VA         90009959496
169B2A25A91895   BAYRON              HERNANDEZ          OK         90009850250
169B3194761938   JUVENTINO           TEPEXPA            CA         90012921947
169B357232B976   VICENTE             LUPIAN             CA         90013005723
169B386285B526   DESTINY             ROMERO             NM         90015238628
169B4184655965   BIANCA              ALLES              CA         90009501846
169B443875715B   MARCOS              GARCIA             VA         90014744387
169B4697751337   SONJI               CARRADINE          OH         90012566977
169B5298247956   JUAN                ALARCON            AR         24064102982
169B5A16A61976   JORGE               SINOHUI            CA         46057200160
169B6256625356   JUSTIN              FILLMORE           WA         90015272566
169B8332891399   SERGIO              MARTINEZ           KS         90001663328
169B8391457147   EMPIRE FLOOR CARE   MAINTENANCE LLC    VA         90012243914
169B839A955965   LETICIA             DAVIS              CA         90014833909
169B9284331422   GREGORY             MOORE              MO         90010022843
169B9328772B62   WENDY               HERNANDEZ          CO         90003913287
169B9614891895   ROBIN               CORMIER            OK         90000576148
169B9615491263   NATHANIEL           ATES               GA         90013586154
169BB41255715B   JOSE                JIMENEZ            VA         90014124125
16B11351657147   CHARLES             HILL               VA         90013573516
16B11478957147   ARACELY             GUZMAN             VA         90010334789
16B1244A347956   CYNTHIA             MARABLE            AR         24011534403
16B12749172B62   AZUCENA             VILLA              CO         33083847491
16B12924A61938   TOBIAS              MICHEL             CA         90013059240
16B1319842B282   LASHONTA            WARD               DC         90014701984
16B13899861958   DIEGO               ISLAS              CA         90014918998
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16B13A26561938   CHRIS         WEYDE                    CA         90000680265
16B14342724B7B   CARL          SHIELDS                  VA         90013423427
16B14575231687   ADAM          CURTIS                   KS         90014745752
16B1522918B172   ALBERTO       RODRIGUEZ                UT         90001962291
16B15515861958   CESAR         CHAVEZ QUIROA            CA         90012345158
16B1554A44B588   BILLY         LOAGUE                   OK         90013705404
16B15928891852   HONORE        NGOYI                    OK         90000419288
16B1673923196B   DABRIELLE     DIXON                    IA         90013197392
16B1687914B26B   CINDY         HALL                     NE         26041128791
16B18425961976   JUAN          MUNOS                    CA         90012744259
16B1B794355976   ANGELA        ALVAREZ                  CA         49008637943
16B21213591895   MARIS         DE LA CRUZ               OK         90003752135
16B21576531687   SHERYL        REINKING                 KS         90007585765
16B2223659379B   GINA          CAPPARELLLI              OH         90005522365
16B228A625598B   JOSE          LEAL                     CA         90009948062
16B22A57161958   SPRINZ        S                        CA         46017320571
16B23363A72B62   SARA          SHIRLEY                  CO         90013013630
16B23699451337   TRAVIS        TYE                      OH         66044256994
16B23A92572B62   RICHARD       HILTON                   CO         90010740925
16B24181455976   MINERVA       CHAVEZ                   CA         90014741814
16B24266A61976   RANDY M       VIDAL                    CA         90013992660
16B24325A5715B   ANNETTE       KUPRENAS                 VA         90012463250
16B24864147956   DENIS         CRUZ                     AR         24055958641
16B24A81657147   RICARDO       RUIZ                     VA         90011940816
16B26321391895   MICHAEL       LABRIER                  OK         90015293213
16B265A6191979   JEFFREY       PHELAN                   NC         17028315061
16B2672AA3B368   TARRY         CLEVELOND                CO         33023707200
16B26853655976   LEE           THAO                     CA         49008058536
16B26A8545B154   TAERONYE      SMITH                    AR         90012490854
16B2773585B154   HAPSATOU      DIALLO                   AR         23076717358
16B27791A47956   AMBER         DAVIS                    AR         90014107910
16B27A22257147   DELIA         RAMIREZ                  VA         90013190222
16B28244A93745   BRYANT        ZELLER                   OH         90006802440
16B2864574B588   STEVEN        BARNETT                  OK         90010886457
16B28917147956   ELISA         RAMIREZ                  AR         24061699171
16B2892749373B   MARSHA        CARLSON                  OH         90011489274
16B28946255976   FRAUNCELIA    HERNANDEZ                CA         49081199462
16B2938695715B   MAXIMILIANO   VASQUEZ                  VA         90013893869
16B2977425B154   RAUL          COUNTINO                 AR         90012487742
16B29973455965   ANTHONY       GARCIA                   CA         90013319734
16B2999A75B526   RICHARD       MARES                    NM         90012209907
16B2B14AA55976   SILVIA        MARTINEZ                 CA         49067871400
16B2B371986B96   CHARLES       VAZQUEZ                  CT         90014143719
16B31116191569   ANGELICA      GUARDIOLA                TX         90012961161
16B3113169373B   HOLLY         PALETTA                  OH         90004041316
16B3121135B154   ERIN          VICKERS                  AR         90010472113
16B317A264B26B   KATTIA        OUM                      NE         26030157026
16B31A81A4B588   STEPHANIE     MYERS                    OK         21572270810
16B32213161958   WILFREDO      QUEZADA                  CA         90013862131
16B32763931687   TABITHA       MOORE                    KS         22024657639
16B32791A47956   AMBER         DAVIS                    AR         90014107910
16B33474A4B588   RYAN          PETAIA                   OK         90013004740
16B33821851357   THOMAS        BOONE                    OH         90004428218
16B3459A67B489   MIREYA        SALAZAR                  NC         11096155906
16B34637355976   NICOLAS       HODGES                   CA         49051686373
16B35128A9373B   BETHANY       CODDINGTON               OH         90012611280
16B35335A5B154   TERI          YOUNG                    AR         90001333350
16B3548637B428   MYRA          CHAMBERS                 NC         90013204863
16B35663551337   LORI          UTLEY                    OH         90011986635
16B3612735715B   DANIELA       COAQUIRA                 VA         90012361273
16B36364291895   QUINTON       SMITH                    OK         90011853642
16B36482872B62   NORA          MARTINEZ                 CO         90014014828
16B36885957147   MILTON        CAMPOS                   VA         90013918859
16B36A88161938   DELIA         CALDERON                 CA         90012170881
16B37523357147   INOCENCIO     HERNANDEZ                VA         81098845233
16B37A18561958   ESTELA        RAMIREZ                  CA         46015140185
16B38935A91895   SAM           WILLIS                   OK         21083369350
16B38A73755976   ANGEL         GONZALEZ                 CA         49012960737
16B391A1491895   SARAH         PATTON                   OK         90006741014
16B3B373791569   ROSARIO       CARRILLO                 TX         90008353737
16B4145125B264   JAMIE         SELVY                    KY         90014774512
16B4279675B154   BOBBY         SYKES                    AR         23071837967
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16B42A86791263   KRYSTALL     GRUBBS                    GA         90013350867
16B435A889373B   GREGORY      RYAN                      OH         90008285088
16B43832661976   PAULA        DIAS                      CA         90001978326
16B43A5334B26B   TERRIE       GEER                      NE         26015910533
16B44784155965   CIELO        HERNANDEZ                 CA         90009917841
16B4515A84B588   KIM          ALLEN                     OK         90003691508
16B4558A391263   MURRAY       TROUP                     GA         90010485803
16B45723A57147   JUAN         SALINAS                   VA         90011557230
16B4612A99373B   JAVON        BUCKMAN                   OH         90015111209
16B46326991569   JUAN         GUEVARA                   TX         75090493269
16B4665375715B   BOBBY        SINGH                     VA         90012916537
16B46A73872B62   GLORIA       AMOAKO                    CO         90011330738
16B47156647956   PEREZ        MIGUEL                    AR         90012291566
16B47815651337   GERGISH      DEBESSAY                  OH         90012748156
16B48669393763   TYLA         MAYS                      OH         64512786693
16B49514A61976   ARTURO       MIRAMONTES                CA         90013225140
16B495A5A5B129   CRISTIE      TYE                       AR         90007145050
16B495A6855976   MARIA        MENESES                   CA         90008425068
16B49897272B62   MICHEAL      ARAGON                    CO         33058308972
16B4B333A9373B   STEPHANIE    PONDER                    OH         90013353330
16B4BA9824B588   CYNTHIA      WRIGHT                    OK         90013070982
16B51682A91895   BEATRICE     GRAHAM                    OK         21091626820
16B51955555965   JULIA        BARRERA                   CA         90004259555
16B51A2A32B89B   SALINA       ANNA                      ID         90004260203
16B52A69931687   DONNA        SHEPARD                   KS         90001680699
16B53334955965   CASSANDRA    VELASQUEZ                 CA         90006253349
16B5339A957147   MARCOS       REYES                     VA         90015143909
16B53A91691884   ESEQUIEL     FLORES                    OK         90011050916
16B54167293745   ALLYN        JAMES                     OH         64536721672
16B54256333B28   DESTINY      TRAVIS                    OH         90014742563
16B54449172B62   MICHAEL      BEAVERS                   CO         33045684491
16B54696751337   ANGELA       RAMIREZ                   OH         90009046967
16B55561191263   KIMBERLY     SWINDLE                   GA         90011255611
16B5562284B588   RASHAD       BROWN                     OK         21574346228
16B55956A2B232   DEE          FERRELL                   DC         90010569560
16B5638265715B   VILMA        VENIS                     VA         90012213826
16B565A8955965   JAMES        NELSON                    CA         90014845089
16B56845461976   JAMIE        CAMPANELLI                CA         90012668454
16B56A79591263   DESTINY      COLEMAN                   GA         90013930795
16B5725285598B   CRYSTAL      MEZA                      CA         90009202528
16B5728564B26B   LISA         SWISHER                   NE         90000712856
16B5811115715B   GARRET       KEENE                     VA         90014741111
16B5832649373B   JEFFERSON    LATOYA                    OH         90010953264
16B58372461938   ARTURO       MARTINEZ                  CA         46007053724
16B5883A357147   ANA          SANTOS                    VA         90010578303
16B59744391569   SARAI        GONZALEZ                  TX         90013807443
16B59A6912B89B   AMY          HERBERT                   ID         90004260691
16B5B727291895   TAMIKA       PAYNE                     OK         90003897272
16B61256A55965   SUSAN        GAONA                     CA         48020642560
16B61779291263   CANDACE      CORNS                     GA         90013597792
16B61821747956   BRENDA       MEGEHEE                   AR         24069028217
16B62273924B55   STEVEN       HILL                      VA         90011372739
16B62583A5715B   RAQUEL       TAVARES                   VA         90003115830
16B62A63355976   RICARDO      LARES                     CA         49082620633
16B63362A5715B   ALBERTO      MARRERO                   VA         90012153620
16B63969672B62   STEPHEN      MCMILLON II               CO         90008929696
16B639A6551337   TONY         GARCIA                    OH         90012089065
16B64212255965   MUSA         SALEEM                    CA         90010892122
16B64969147956   THOMAS       HUCKABA                   AR         24092489691
16B65279757147   DANIELE      SALDEIRA                  VA         90014442797
16B6537A391263   LASHAWNA     PALMER                    SC         90011423703
16B6538A861958   MARCELLO     HUBBARD                   CA         90014063808
16B653A465B526   GARY         MEIER                     NM         90006993046
16B6636A561976   ISAAC        ACOSTA GALLEGOS           CA         90014733605
16B66645947956   SANDRA       WEIR                      AR         90014586459
16B68672391263   JACQUELINE   TATUM                     GA         14570696723
16B69191761976   MARIANO      MIRANDA                   CA         90014721917
16B69344772B4B   ASHLEY       JOHNSON                   CO         33092153447
16B6964A291263   RITA         GALVIN                    GA         14570636402
16B6B11815B526   MARIA        ROLDAN                    NM         35052601181
16B6B594691569   ISMAEL       CORONADO                  TX         90014015946
16B7131A272B62   BRITTANY     CHANEY                    CO         90011203102
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16B715A724B588   LENORA      LOVE                      OK          90002095072
16B7167A991895   KEVIN       CROSS                     OK          90013266709
16B7177A961958   JESUS       NAVARRETE                 CA          90012397709
16B71A45772B62   JONATHAN    LEE                       CO          90009680457
16B72424855965   JORGE       VALENCIA                  CA          90007884248
16B7298555B526   APRIL       PEREA                     NM          90005119855
16B73582991569   MARISOL     ARTEAGA                   TX          90001815829
16B7394A53B35B   THOMAS      MORRISSEY                 CO          90012439405
16B75234757B59   BRIAN       VILLANEUVA                PA          90013812347
16B75321891895   APRIL       HUBER                     OK          90004843218
16B75442651337   EUENIO      RODRIGEZ                  OH          90014064426
16B75744361998   JASMINE     RAMOS                     CA          90011137443
16B76383391569   IVAN        MENDOZA                   TX          90007673833
16B76A79991895   EVERARDO    LOPEZ                     OK          90010750799
16B78288A4B588   PRAVEETA    NATHA                     OK          90014852880
16B7834A82B89B   TREY        SCHWISOW                  ID          90003173408
16B7841A43852B   DYLLAN      HAMBLIM                   UT          90011734104
16B78854661976   CRISTIAN    DAVALOS                   CA          90012668546
16B78945191895   DARRYL      MURDOCK                   OK          90010389451
16B7977924B588   KENDRICK    WATSON                    OK          90014327792
16B79892155965   ADRIAN      SIFUENTES                 CA          90014158921
16B7B353633683   FAYE        COLEMAN                   NC          90008863536
16B7BA25155965   MABEL       LOPEZ                     CA          48085200251
16B812A395B526   MATTHEW     MOYER                     NM          90006042039
16B8136129373B   DAWN        WILLIAMS-LACEY            OH          64590763612
16B82618872B62   ALBERT      JEFF                      CO          33080946188
16B8298524B588   FIONA       SHELTON                   OK          90013959852
16B829A3A91895   ANA         SAUCEDO                   OK          90015089030
16B8359264B588   KEVIN       ROSS                      OK          90015365926
16B835A3193745   JEREMY      WILSON                    OH          64500615031
16B84258A31687   ASHA        HARJO                     KS          90014762580
16B84A36157147   PAULINO     ECHEVERRIA                VA          81073090361
16B85254A55976   ELENA       LOEZA                     CA          49086032540
16B8549745B129   MARILYN     SMITH                     AR          23037334974
16B86429855965   JONATHAN    TORRES                    CA          90014664298
16B87282331687   SARAH       BEHRNS                    KS          90014762823
16B87493A91263   TRAVIS      QUARTERMAN                GA          90006414930
16B87578261958   ANA         LOPEZ                     CA          90003195782
16B88369A5B526   ELIZIBETH   JOHNSON                   NM          90006283690
16B88A5AA9373B   ANGELA      PETERSEN                  OH          64596100500
16B88A69761976   MYEISHA     BESS                      CA          46004110697
16B89191761976   MARIANO     MIRANDA                   CA          90014721917
16B89299957147   TAMMY       MEKONNEN                  VA          90011252999
16B89344861978   ESTHER      LIRA                      CA          46071863448
16B89929691895   KELLIE      DARNELL                   OK          90013539296
16B8B873751337   PATRICIA    WHITAKER                  OH          66012458737
16B8BA94161938   SHARZELLA   TURNER                    CA          46043010941
16B9137287B489   ALMA        LOPEZ                     NC          11007673728
16B92191761976   MARIANO     MIRANDA                   CA          90014721917
16B93A7147B426   GUADALUPE   GONZALEZ                  NC          90010180714
16B94293851337   ALEXIS      COX                       OH          90014932938
16B94484357147   DOMITILA    OSEGUERA                  VA          90000344843
16B951A3A72B3B   TABITHA     BAKER                     CO          33011221030
16B96964272B62   DANA        MAY                       CO          90014129642
16B977A5491569   MARINA      AGUILAR                   TX          90011317054
16B9786A64B588   JOSHUA      WADDELL                   OK          90012438606
16B97A6515715B   OSCAR       GONZALEZ                  VA          90012680651
16B98122351337   JOHN        CHENEY                    OH          90010291223
16B9818AA72B62   LAURENA     RODRIGUEZ                 CO          90013061800
16B98684991895   RICHARD     MAXEY                     OK          21039076849
16B98A94155976   AURORA      HERNANADEZ                CA          90011270941
16B99183761976   LEOPOLODO   ABOGADO                   CA          46088371837
16B99186491569   LUISA       DOMINGUEZ                 TX          90014431864
16B9941A391895   TYRONE      JONES                     OK          90008974103
16B9971434B26B   KEANAN      CARTER                    NE          90015017143
16B9973824B537   CLAUDIA     GOMEZ                     OK          90001767382
16B9999A75B526   RICHARD     MARES                     NM          90012209907
16B99AA7151337   RICHARD     HUGHES                    OH          90013930071
16B9B186261976   MARIA       GUERRA                    CA          46041861862
16B9B867391263   MICHELLE    BROWN                     GA          90014738673
16B9B88867B489   KATIE       BROOME                    NC          11083298886
16BB154562B89B   ROBERT      UNGER                     ID          90004245456
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16BB1559155965   DIANA             PARELTA             CA          90012975591
16BB19A9191569   JESUS             DIAZ                TX          75034399091
16BB3146891895   MARIA             LOZORIA             OK          90013971468
16BB3275157147   LARRY             COON                DC          90012902751
16BB3322355965   CHRISTOPHER       LOPEZ               CA          90015113223
16BB3637355976   NICOLAS           HODGES              CA          49051686373
16BB4123A55976   SHANI             MATA                CA          90008331230
16BB4181293727   CHRISTOPHE        MCINTOSH            OH          64592121812
16BB435825B526   FRANKIE           ZAMORA              NM          35005533582
16BB4549957147   TEON              BYNUM               VA          90010095499
16BB57A8191895   RON               FORESMAN            OK          90014527081
16BB5A39991569   CABRAL            MONICA              TX          90011060399
16BB614355B154   WHITE             DARRYLRISHA         AR          23012281435
16BB663195B129   CARLA             HARRIS              AR          90008626319
16BB6937347956   MARIA G           DEL RIO             AR          90010449373
16BB6976555976   ALBERTO           DE AL TORRE         CA          90011269765
16BB7297A61976   GIACOMO           PANIAGUA            CA          90001892970
16BB8843355965   ERICK             VARGAS              CA          90015288433
16BB925575B154   JOSIE             POMPA               AR          23053442557
16BB944265B394   KELLY             PADUANO             OR          90009754426
16BB957915715B   AMINATA           KARGBO              VA          81033235791
16BB9752355976   DENNIS            VICTOR              CA          49047377523
16BB9847A61958   DALE              LUSK                CA          46095658470
16BBB225161976   ROCHE             MAURISIO            CA          46096572251
16BBB41774B26B   JOSE              CUEVAS              NE          26001074177
16BBB4A4891263   MIA               CLARK               GA          90014724048
16BBB591257147   VICTOR            RAMIREZ             VA          90011235912
16BBBAA9991895   RONALD            JAMES               OK          90012630099
171114AA68B337   YAZMIN            CRUZ                SC          90008694006
17111A12961976   TROY              TART                CA          90009960129
1711235262B27B   LOLITA            MAUPOY              DC          81025993526
17114A97491588   BERTHA            PEREZ               TX          75039030974
17115417872B4B   NATASHA           SUTTON              CO          90011724178
1711556825B154   MARICELDA         TORRES              AR          90014365682
171158A977B464   CRAIG             HUNT                NC          90005598097
1711616417B445   KATHRYN           NICOLAU             NC          90012491641
171172A614B588   HOA               SINGNAVONG          OK          21514502061
17117A6394B26B   JULIE             WILSON              NE          90005530639
1711926225136B   DANIEL            NOE                 OH          90011312622
1711B34634782B   TACARLA           CLARK               GA          90009973463
1711B61485715B   KABEYA            NYEMBWE             VA          90012266148
1711B65A551339   ALMA              FERGUSON            OH          90008796505
1711BA69661958   EDILBERTO         MENDOZA             CA          46045870696
17121AA634782B   PAIGE             PIOTT               GA          90003690063
1712233135B154   ARLEAN            HARRIS              AR          23063983313
17123281272B62   JEANNETTE         GOMEZ               CO          90011502812
17124A79777539   GUSTAVO           CARRILLO            NV          90011800797
1712667A455976   LISA              B PONCE             CA          90004856704
1712825335B526   CHAPO             CARRASCO TREVIZO    NM          90013732533
1712847764B588   RASHELLE          REED                OK          90012864776
171289A613B398   JAMIE             HAGERTY             CO          33096479061
17129162A91263   VERA              GANT                GA          90013421620
1712935AA9373B   DOMINIQUE         HARRIS              OH          90007223500
1712B28959373B   MATTHEW           SHILOH              OH          90011232895
1712B41477B489   ROBERT            WOODS               NC          11006534147
1712B43A461976   ROSALIA           ROJAS               CA          90010504304
17131371A57124   LORENZO OSWALDO   SALINAS             VA          90008293710
1713178A561958   VERONICA          GALARZA             CA          46006347805
171319A4431687   CARLATTA          MCLAURIAN           KS          22088489044
17131A18291569   JORGE             TORRES              TX          75029160182
1713297394B26B   RHONDA            SCHWEITZER          NE          90001939739
1713332655B526   TRICIA            SALAZAR             NM          90007453265
17133872A57147   ANDRES            CARRANZA            VA          81033378720
1713395639373B   ROGER             HOLBROOK            OH          64501659563
1713414924B588   GUILLERMO         CHAVEZ              OK          21595791492
1713679184B26B   LUCAS             LEET                NE          90014727918
1713688485B154   AMERICO           AMAYA               AR          90002758848
17137253872B58   DALLAS            BRADBERRY           CO          90002912538
1713726A691569   ISMAEL            GONZALEZ            TX          90014092606
1713745875B526   TODD              BONE                NM          90013834587
17139795472B23   ARSENIA           HERNANDEZ           CO          90012637954
1713B277691588   ROBERT            WILSON              TX          90006632776
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1714148855B154   ESUGINA     BAKER                     AR          90014724885
17142242A72B62   JOSE        CATALAN-CARDENA           CO          90011912420
1714245274B588   ANNA        RAMOS                     OK          90007294527
17143995A91588   HOSEA       BOLDEN                    TX          75097159950
1714445575B129   JAVEIOSON   HAMPTON                   AR          90004424557
17144A67876B68   JESUS       MENDOZA                   CA          90001290678
1714512314B26B   DEUNTER     JOHNSON                   NE          90013831231
17145A46A5B154   KIMBERLY    HARPER                    AR          90014110460
1714759384B26B   BETHANY     VANLANINGHAM              NE          90012945938
171475A6861986   JEANETTE    ELIAS                     CA          46067665068
1714813949373B   JACQUELYN   FINLEY                    OH          90013391394
17148A59861976   ANTONIO     MUNOZ                     CA          90013990598
1714996A676224   DANIELLE    COLLINS                   GA          90011669606
1714B15445B154   MARLON      BAUGH                     AR          90008881544
1714B31A591588   LUIS        MORALES                   TX          75061213105
1714BA62191895   NANCY       VILLALPANDO               OK          90012280621
1715218983B368   SARAHI      ARREOLA                   CO          90010111898
1715248435B154   LAKEBRA     WILKINS                   AR          23004334843
1715289A49373B   MELISSA     DAVENPORT                 OH          90013348904
17153A73391895   SUSAN C     HART                      OK          90011780733
1715455692B837   SHARI       WILSON                    ID          90009675569
17154623754B84   JOSE        MOLINA                    VA          90008656237
1715482A191588   CARMEN      DASAS                     TX          75043208201
1715528775599B   MELISSA     LOFTIN                    CA          90005572877
1715553A457142   ERIKA       VARGAS                    VA          90012605304
171558A6155976   LORENA      ALVAREZ                   CA          49007628061
171558A7161976   MARIA       CAMPOS                    CA          90012678071
17155A89791895   GERALD      GUEVARA                   OK          90015200897
17156541A31687   CLINT       BUSS                      KS          90010805410
17157498A4B26B   KENNETH     SMITH                     NE          26091004980
1715861725715B   JOSE        ALEGRIA                   VA          81043496172
1715991532B244   VAUGHN      PERRY                     DC          81017979153
17159A85A55976   ROBERT      ACORD                     CA          49056820850
1715B15743365B   KRYSTIN     FULLWOOD                  NC          90009171574
1715B5A6761987   MICHAEL     HOBER                     CA          46006755067
17161A19491588   PAYGO       IVR ACTIVATION            TX          90014000194
1716215653144B   TERRIE      ONEAL                     MO          90011431565
1716282717B489   LATOYA      HARRIS                    NC          11077308271
1716286684B588   LISA        PETERSON                  OK          90012968668
17162A55357147   ADRIAN      AVALOS                    VA          90012670553
1716343114B588   JUAN        VASQUEZ                   OK          21509634311
17163A17457147   DEANNA      FARMER                    VA          90009380174
17163A79661976   ENRIQUE     DELGADILLO                CA          90010170796
171641A6361976   SERGIO      JIMENEZ                   CA          90012911063
1716438A876B29   PAMELA      WILLIAMS                  CA          90010163808
1716459194782B   ROBERT      CORNELIUS                 GA          90014795919
1716526525B154   SANDRA      STEWART                   AR          23029212652
1716631A84B26B   CLARICE     WEILER                    NE          90010113108
17166576A91588   MARIO       VAZQUEZ                   TX          90014235760
1716668614B588   WYLEAH      CUBIT                     OK          90010076861
17167279A91263   ANTONIO     SCOTT                     GA          90006782790
1716737A19373B   ALYSHA      SALMONS                   OH          90011233701
1716847524B588   KIMBERLY    HUGGINS                   OK          90011444752
1716987659373B   JAMES       METZ                      OH          90010868765
1716B68675715B   SANDY       HAWKINS                   VA          81024906867
171732A9157147   GABRIEL     GUZMAN                    VA          81095702091
171734A765B526   MICHAEL     CHAVEZ                    NM          90002684076
1717524A45715B   SHAMEQUA    SMITH                     VA          90013692404
17175657272B62   TALIA       CARRILLO                  CO          90011256572
1717762A361976   NORMA       SALGADA                   CA          90007106203
1717B245855976   PAYING      MOUA                      CA          90011072458
1717B743661976   JOSE        HERNANDEZ                 CA          90012947436
1718156955715B   FAHIM       FAQIRI                    VA          90012925695
1718439A161976   ORLANDO     HUBER                     CA          46063873901
1718529A731687   JEREMY      WINEGARNER                KS          22089392907
17185533972B62   IRMA        CARRASCO                  CO          90003825339
1718628817B489   MARIA       MONROY                    NC          11078672881
171869A723B373   PETE        PESCADOR                  CO          33062819072
17187158672B62   FABIOLA     ESTRADA                   CO          90011611586
17187272A91588   HILDA       MOLINAR                   TX          90004962720
171877A795715B   E           CALDERON                  VA          90012917079
17187A6455B154   TRISHA      BLAIR                     AR          90014290645
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17188A22677539   ALONSO          CEJA                  NV          43002780226
1718B374761976   EMMA            ARENIVAS              CA          90012803747
1718B3A519373B   PAYGO           IVR ACTIVATION        OH          90014723051
1718B854272B42   REBECCA         LEYBA                 CO          90006318542
1719184374B26B   TERESITA        NAVA                  NE          90013038437
17191A7A457147   YENNIS          BONILLA               VA          90014190704
1719393774B588   JUSTIN          FORMAN                OK          90013779377
17193A97177539   JEFFREY         BLISS                 NV          90004980971
1719472884B588   JOSE            PATLAN                OK          90012967288
17195114572B62   ARACELI         RIVERA                CO          90010701145
17195354A47956   VANH            INTHAVONGSA           AR          90014853540
1719567824B26B   IGOR            GEVORKOV              NE          90013986782
1719616775715B   DANIEL          SHIFERAW              VA          90013981677
1719652154B26B   CURTIS          BUSH                  NE          90010495215
1719692855599B   MARIA LORENZA   URSULO CUARAO         CA          90014929285
1719698184B588   MICAHEL         EARLY                 OK          90000799818
1719757A772497   SAMATHA         CLARK                 PA          90011265707
17197A1785B154   GEORGE          HAMILTON              AR          90008370178
17197A75991895   RICARDO         PAYTON                OK          90013710759
1719877A357557   DANNY           MIRANDA               NM          90006757703
1719878415B154   ANGELA          COTTON                AR          23032277841
1719897729373B   ANGELIA         BEATY                 OH          90009349772
1719986557B489   REGGIE          THOMAS                NC          90007738655
171998A824B588   KELLY           DONER                 OK          21558528082
17199A68791885   NORMA           RODIGUEZ              OK          90008770687
1719B12785135B   JOSHUA          REED                  OH          90008571278
1719B187655976   ALESIA          JOHNSON               CA          49081021876
171B1451491569   PABLO           QUEZADA               NM          90012684514
171B1672461958   JONATHAN        KUHN                  CA          46095686724
171B212674B26B   QUINTIN         VOGT                  NE          90013861267
171B2148155976   VILAVANH        PHIMMACHACK           CA          49009421481
171B2392791263   PAULETTE        FERGUSON              SC          90010773927
171B3926A72B62   JANNETH         ARROYO                CO          33096779260
171B428A69373B   DIANE           ANDERSON              OH          90011232806
171B495254B26B   JASON           SMITH                 NE          90002199525
171B4982661958   MELISSA         CERVAR                CA          46077659826
171B5783647956   ANTONIA         LOPEZ                 AR          90006647836
171B589735715B   ERIC            KNEECE                VA          90013018973
171B628A84B588   REBECCA         GILL                  OK          90010952808
171B6566472B62   KAYLEE          SORRENTINO            CO          90009625664
171B6A94591569   AMANDA          ROJAS                 TX          90009410945
171B7225891895   VALERI          CALICO                OK          90014252258
171B7391655968   ANGELICA        BARAJAS               CA          90008423916
171B7682291588   ROSA            ROBLES                TX          90011996822
171B7895A31687   EFREN           CAZARES               KS          22097028950
171B7A4AA61958   IRIS            MARTINEZ              CA          90009390400
171B817115715B   MERILDA         GARCIA                VA          90014901711
171B8548257147   HAPPY           TIMO                  VA          81053575482
171B8862361958   YVONNE          MONTAÑO               CA          46016728623
171B888829373B   SHAD            ANKENEY               OH          64510068882
171B94A135B526   CHRIS           MONTANO               NM          90007624013
171BB1A9861976   HILDA           GARCIA                CA          90012841098
171BBAA685715B   JASON           HAY                   VA          90014160068
1721138A13B352   ALVERTIS        SIMMONS               CO          90008633801
172122A6A61958   LAWRENCE        HUA                   CA          90010722060
172123A949373B   CATHERINE       JACKSON               OH          90012283094
17212A71177539   LINDA           GAMBOA                NV          43003180711
1721336AA9373B   JADE            LOWREY                OH          90001973600
17214764A91588   CONCEPION       CASTRELLON            TX          75014827640
17214A5458438B   VERNON          TRAPPER               SC          90009180545
17215834A5B154   MONICA          TRIPLETT              AR          23060788340
1721593412B857   ANGELICA        BRIZUELA              ID          90006749341
17216117A5715B   MAXIMA          HERNANDEZ             VA          90008281170
1721633274B26B   ANDREW          WATSON                NE          90015233327
1721636332B239   AMOS            ROBINSON              DC          90012143633
1721932634B26B   TONY            BERUMEN               NE          26096423263
1721976A94B588   TACESIA         THOMAS                OK          90011357609
172197A6372B62   ALMA            GUTIERREZ             CO          33059907063
1721B251891588   MAYRA           REYES                 TX          90013272518
1721BA69747956   LAURIE          LOLLIS                AR          24036360697
1722237915B154   CURTIS          RIDEOUT               AR          90014623791
17223679472B62   GABRIEL         LOPEZ                 CO          33000976794
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1722452A161858   SAMANTHA     KRIEGER                   IL         90015265201
1722557774B26B   NICOLE       SCHROEDER                NE          26017745777
1722558985B154   SHIMEKA      HAIR                     AR          90001425898
17226288172B62   HIPOLITA     DURAN                    CO          90011502881
1722631A947956   GEORGIA      THORNTON                 AR          90009383109
1722639454B588   RANDY        MILTON                   OK          90015373945
1722649424B26B   ZOLTAN       LANTOS                   NE          90002334942
17227A9845B526   CHARLES      LOPEZ                    NM          35060500984
1722839654B26B   ZACHARIAH    KAPKE                    NE          90013853965
1722856185B526   ROBERT       LAW                      NM          90011875618
1722928119373B   LETA         GALLOWAY                 OH          90010882811
17229284A57147   JOSE         LARIOS FUENTES           DC          90014762840
1722B152391588   JUAN         HERNANDEZ                TX          75071491523
1722B7A5A72B43   JESUS        MACIAS                   CO          90009197050
1722B877572B3B   ISAIAS       CORTEZ                   CO          33097968775
1723126365B526   LUANA        SALAZAR                  NM          35022732636
17232849A47956   ANA          ROSA                     AR          90014858490
1723523535715B   RENARDO      PATRICK                  VA          90014542353
172354A745B526   KRYSTAL      CASTILLO                 NM          35072024074
1723579897B35B   MILAD        JAMA                     VA          90009357989
172359AA991895   JOSEPH       MACDONALD                OK          90004039009
172361AA65715B   LISA         COUNTIS                  VA          90013301006
1723849375B526   ERIKA        VARGAS                   NM          90011154937
17239391A5715B   MIREYA       SANCHEZ                  VA          90014423910
1723974539373B   BRIAN        ALLEN                    OH          90013187453
1723B48415715B   QUINETTA     HAGANS                   VA          90011424841
1723B663A72B62   LOVETA       MOYA                     CO          33081566630
1723B798247956   ERICA        GIBBONS                  AR          90014337982
1723BA15191569   MARCO        HERNANDEZ                TX          90009970151
1723BAA5936B72   SHADI        BATROUKH                 OR          44549920059
1724128715B299   ROLANDO      GUTIERREZ                KY          90010782871
1724166A491895   HIKIEM       HARRIS                   OK          90003046604
17241911472B62   VERONICA     SCHIWART                 CO          90013819114
17241A91522929   ANASTASIOS   MYTTAS                   GA          90013820915
1724242564B588   KARAMOCO     TRAORE                   OK          90005664256
1724297954B26B   THOMAS       JOHNSON                  NE          90014629795
1724298464782B   SUZETTE      LOCKHART                 GA          90002849846
1724343939373B   ANDREA       COLARIC                  OH          90013614393
1724383815B154   KENDRICK     CHRISTOPHER              AR          90015158381
17243A92155976   GEORGINA     SALAZAR                  CA          49070700921
17243AA9361958   DAN          DRAKE                    CA          90008640093
17244572172B62   KEVIN        BRANKIN                  CO          33086455721
17244A97A5B526   ARNOLDO      ARVIZO                   NM          90005930970
172458A4557147   SANTOS       GUEVARA                  VA          90002458045
1724618A361958   GEMA         ESPINDOLA                CA          90009801803
172463A657B337   FELIPE       VENTURA                  VA          90002633065
172465AA191588   EDGAR        LICON                    TX          75089885001
1724717215B348   JENNIFER     MOODY                    OR          90011551721
1724727765B348   GARY         MOODY                    OR          90015032776
1724829855B154   BOBBY        MOORE                    AR          90015002985
1724868285715B   CLEFE        UREONA                   VA          90002106828
17248A29A91588   ISABELL      REALYVASQUEZ             TX          90015310290
17249281A91588   REBECA       CHAVEZ                   TX          90010662810
1724951715B129   SHERYL       ROY                      AR          23013535171
17249A2714B26B   MARTHA       DAK                      NE          90012300271
1724B258447956   JERRY        LEE                      AR          24066292584
1724B671A55976   JUAN         BARAJAS                  CA          90011366710
1724B884A57147   CARLOS       RAMOS                    VA          90006738840
1725121464B26B   KIMBERLEE    TURVEY                   NE          26017442146
17251357A5715B   MILLION      BERHANE                  VA          90015123570
172513A6A55976   MARIA        FERNANDEZ                CA          49059713060
1725158115B526   SANDRA       WESTON                   NM          35074675811
172516A1972B62   DULCE        VILLALOBOS               CO          90011966019
17251A2A947956   ELIZABETH    MARTINEZ                 AR          90005800209
17252A2A947956   ELIZABETH    MARTINEZ                 AR          90005800209
1725358384B26B   RICARDO      SEGURA                   NE          90014415838
172539A3591569   ADINA        CALVAN                   TX          75097869035
17253A92447956   RACHEL       OCHOA                    AR          90014860924
1725487575B526   BRENDA       BACA                     NM          90000278757
1725569694B26B   MARTA        SANCHEZ                  NE          26060216969
1725595A691569   ISAIAH       RICO                     TX          90012719506
1725731AA5B526   NATIVIDAD    AGUILAR                  NM          90013233100
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17257A96461976   MOISES        RAMOS                   CA          90012240964
17259368A55938   DAVID         CABRERA                 CA          90013373680
17259778A57147   WILLIAM       LOZANO                  VA          90014857780
1725B238191524   CHRISTOPHER   ACEVEDO                 TX          90010712381
1725BA5172B234   RAMOS         RIGOBERTO               DC          81019910517
172614A4A4B26B   ALYAS         MUQDAD                  NE          90006704040
172616A7277539   GEORGINA      DEL RIO-CERVANTES       NV          90000316072
17262A7395715B   MALGARITA     DAMIAN                  VA          81082300739
17263149A7B424   DOMINIQUE     HOLMES                  NC          90007701490
1726324197B489   RICKY         JACKSON                 NC          11041742419
172633A174B52B   CATHERINE     KHILE                   OK          90008833017
1726482615B526   GLORIA        DURAN                   NM          90013628261
172653A678B644   IGNACIO       LOPEZ                   TX          90013823067
17267494A31687   JULIUS        GARY                    KS          90010634940
172678AA45715B   JIMMY         SANCHEZ                 VA          90014148004
17267A83991895   MAWI          MAWII                   OK          90015200839
17267A93A97122   GLENN         WINTERS                 OR          90008420930
17268414324B48   ASHLEY        WISEMAN                 DC          90013124143
17268435A57147   EDDIE         ANDRADES                VA          90013034350
17268618872B34   MARIA         SANCHEZ                 CO          90014826188
17268833924B48   ASHLEY        WISEMAN                 DC          90008438339
1726985545715B   BAYLEE        SIMPSON                 VA          90012328554
1726B12644B588   ROBERT        ZUNIGA                  OK          21505581264
1726B423993768   JESSICA       EVANS                   OH          90013204239
1726B871191569   ADRIAN        DE LA GALA              TX          90013738711
1726B871724B55   MARIA         ESCOBAR                 VA          90011198717
17271667A55976   POE           MISA II                 CA          49088156670
1727557A791263   TERESHA       LEE                     GA          90011685707
17276A18A91895   JUAN          AVALOS                  OK          90008010180
17277262A5B526   JACOB         FENDER                  NM          90007762620
17278A1565715B   OSCAR         ALVAREZ                 VA          90014160156
17279612672B64   CRYSTAL       SANDOVAL                CO          90012606126
1727985434B26B   NAOMI         BROCK                   NE          90006158543
1727B146561958   SIDNEY        LOURIS                  CA          90011151465
1727B36774782B   ESPERANZA     CORNEA                  GA          90006063677
1727B823991569   ELSA          FRANCO                  TX          75010378239
1728118A361958   GEMA          ESPINDOLA               CA          90009801803
17282666572B62   ELVA          HINOJOS                 CO          90011256665
17282A65191569   ELIZABETH     ONTIVEROS               TX          90011380651
1728323155B526   BARRYN        WARD                    NM          90012542315
1728388A455976   ANSELMO       VILLAREAL               CA          49080678804
1728398775B154   HERLONDA      NICHOLS                 AR          90009569877
17285437A4B26B   BRENDA        SEEFELD                 NE          90011354370
17285717A91895   JUVENAL       TORRES                  OK          90006137170
1728584645B526   TIMOTHY       BACA                    NM          35034408464
17285A18291569   JORGE         TORRES                  TX          75029160182
17286392672B62   MARTHA        TORRES                  CO          33063783926
172866A4277539   VERONICA      GARCIA                  NV          43098566042
17287749172B62   LIL J         BACA                    CO          90007937491
1728872AA5B526   DEAN          HALBERT                 NM          35064347200
1728922532B887   LAYNE         BOYLE                   ID          90011992253
1728B235891569   LUCIA         HERNANDEZ               TX          75043802358
1729123A34B588   DAVID         WIGHTMAN                OK          90002122303
17291664624B55   JOSE          SANTA CRUZ              VA          81026526646
17291781A61976   LESLIE        CEBALLOS                CA          90004197810
17291955285B29   ALICIA        RIOS                    FL          90015429552
17293A69591588   CHRISTINA     RIVAS                   TX          90015080695
172944A3361958   PHONESAVAN    NASIRICHAMPANG          CA          46046014033
17294A7589373B   TANK          SEEGE                   OH          90010280758
1729627185B526   MARCO         OAXACA-MIRANDA          NM          90014832718
17296A7524B26B   CECILY        COULTER                 NE          90001540752
17296AA799373B   BRANDY        JENKINS                 OH          90007380079
1729753274B588   PEDRO         REYES                   OK          90003515327
1729791615715B   LIMBER        LAZARTE                 VA          90009229161
17298A27831687   DANIEL        PALMA                   KS          90008040278
1729988115715B   SCOTT         HARRINGTON              VA          90015118811
1729B22975715B   WIL           CANTARERO               VA          90013772297
1729B59185715B   WALTER        HERNANDEZ               VA          90012925918
172B12A5A9373B   JOE           WELSH                   OH          90002442050
172B1864861958   LINDA         VEJAR                   CA          90010828648
172B211759373B   CESAR         FERNANDEZ               OH          90011841175
172B254363B352   RICARDO       SALASZ                  CO          90009605436
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172B2749861976   TONY              GONZALEZ            CA          90004197498
172B282345715B   JAYSON            OSOREO              VA          90010318234
172B2918557147   IBRAHIM           BAH                 VA          90010889185
172B311174B26B   HECTOR            CORONADO            NE          90012561117
172B4116A4B588   WILLIAM           PACK                OK          90014421160
172B417924B588   MARCELINO         VERDUZCO            OK          90013491792
172B431634B588   ROLIN             PAZ                 OK          90013523163
172B4421191588   JUAN              CARRILLO            TX          75074654211
172B521278438B   DAVID             SHEBELA             SC          19041622127
172B555264B588   BRYANNA           LENAE               OK          90008365526
172B5596447956   KELLI             PALMER              AR          90014885964
172B5718157147   SHAKOOR           AHMED               VA          81034777181
172B5A46572B49   RAMON             GUZMAN              CO          90009720465
172B6114291569   HIJINIA           OLIVAS              TX          75055551142
172B612149373B   JACK              HENRI               OH          90000301214
172B677425B154   KIMBERLY          BLANKTON            AR          23053717742
172B698655715B   DAPREENA          STEPHENS            VA          90001779865
172B7387961958   LARRY             GAYLE               CA          90010863879
172B746278B863   BILLY             BAKER               HI          90010174627
172B8543872B62   JUAN              LOYOLA              CO          33077015438
172B8A3A531687   ALEX              ORTEGA              KS          90014570305
172B9A67861958   MARIO             ANTONIO             CA          90012990678
1731278A272B62   TERESA            SAVALA              CO          33064807802
1731288148438B   MICHEAL           PACK                SC          90007178814
1731328524B26B   FABLIN            OMAR                NE          90014632852
1731373A59152B   ESMERALDA         PARRA               TX          90011767305
173154A8461958   JASMIN            MARTINEZ            CA          90013504084
173156A9477539   DIEGO             HURTADO             NV          90008156094
1731612A857147   JUAN              LOPEZ               VA          90012971208
1731622A991569   CARISSA           RODRIGUEZ           TX          90014052209
17316A69591588   CHRISTINA         RIVAS               TX          90015080695
17319672472B62   ALAN              HADDAN              CO          90011256724
1731B16545715B   KIMBALYNNE        HURTT APT R12       VA          90012841654
1731B3A3931687   MARGEAUX          HEARLD              KS          90000243039
1731BA2734B588   MAE               HUE                 OK          90007370273
17324928172B62   QUINONES          MARCELA             CO          33013939281
1732497A324B55   MARIA             DELEON              DC          90007289703
173254A4661925   LEO               DE LA CRUZ          CA          90008724046
17325A4A37B489   SANTARIO          LATINER             NC          11095020403
1732687488438B   BRANDI            GIBSON              SC          19011098748
17328A4915B526   KARLA             VALDEZ              NM          35037790491
17329386424B55   CORNELL           JACKSON             DC          81081153864
1732B74729373B   TERRY             BELL                OH          64515737472
17331774A7B489   MARIANA           PERDOMO             NC          90000487740
17331947A91588   ZANDRA            LUNA                TX          90001399470
1733222119373B   AMELIA            ALLEN               OH          90004902211
17332792A4B26B   SAUL              CORTEZ              NE          26069977920
1733384A131687   JAMES             MCDONALD            KS          90014908401
1733398464B26B   TYRESHIA          OMAR                NE          90011209846
17335122A57147   LUCIANA           SPRIGGS             VA          90010701220
1733612A361958   ANAKAREN          GOMEZ               CA          90014861203
1733664795715B   ALFONSO           DIAS                VA          90008656479
17337A18191588   ISABELA CLAUDIA   GUERRERO            TX          90005680181
17338659172B62   VICTOR            SANCHEZ             CO          90012116591
17338928976B68   DALILA            SANCHEZ             CA          90006979289
1733944194B588   PAUL              ACUNA               OK          90009254419
1733B79564B588   ERIN              GRAUMANN            OK          21513157956
1734262499373B   TIARA             MCCURTY             OH          90014456249
1734263A391569   ALCIA             MARTINEZ            TX          90014356303
1734368574B588   MARIO             PINA                OK          90014566857
1734427729373B   KIM               HAMEL               OH          90010262772
1734438584B23B   GILBERT           JORDAN              NE          90000933858
1734466428B147   TIMOTHY SCOTT     DAVIS               UT          90014786642
17344849A31687   ELIO              MORALES             KS          90013278490
17344871A55976   ANGELICA          PINA                CA          49037298710
1734656815715B   JOSE              REYES               VA          90014855681
1734714A291569   RAYMOND           FRAGA               TX          90013961402
1734723834B588   SEAN              PONTIUS             OK          90013982383
17347637A9373B   CHARLES           WILLIAMS            OH          64554486370
1734795987B35B   RICARDO           RIVERA              VA          90002739598
17347A24155976   RONALD            MEHELIC             CA          49000670241
1734866A761976   WILLIAM           LATTON              CA          46060746607
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1734965A857147   YANETH        ACOSTA                  VA          90010276508
1734B65645B154   TOLYIA        ARCHIE                  AR          90002676564
1734BA29431687   PATRICIA      DOTY                    KS          22088630294
1735119355B154   TIMOTHY       SUMMONS                 AR          90002041935
1735151184B588   LOUIS         JONICINIS               OK          90003875118
1735166A34782B   CHELSIE       JACKSON                 GA          90003796603
173525A9155976   MARTIN        BORROEL                 CA          90014915091
1735345955B275   ERNEST        SMALLS                  KY          68026014595
1735477794B588   JOELINA       CARTER                  OK          90011357779
17355949872B62   MIRIAM        QUISPE                  CO          90011589498
17357174A61958   ARMANDO       AGUILAR                 CA          90007271740
1735739545B526   TOBY          BARELA                  NM          35050353954
17358771A57557   JOSHUA        ZIEHL                   NM          90008777710
1735933434B26B   CHRISTINA     STROUT                  NE          90002173343
173596A8291588   CRISTINA      VARGAS                  TX          90010806082
1735B132891569   MARIA         FUNG                    TX          75078571328
1735B148691895   SILVIA        BAUTISTA                OK          90011941486
1735B73255715B   GERARDO       ALVARADO                VA          90011727325
17362328A91569   EDNA          ALVARADO                TX          90013923280
1736246A561958   ANGELICA      RAMIREZ                 CA          90003584605
1736296939373B   RITA          RANDOLPH                OH          64536699693
17363835A72B62   JUAN          OROZCO                  CO          90006928350
1736436774B26B   JAKELINE      CEFUENTES               NE          90014893677
1736465165715B   FLOR          GOMEZ                   VA          81025646516
1736521672B264   DANIEL        FLORES                  DC          81098632167
1736598AA3B398   CANDACE       COOKER                  CO          90005109800
17366665572B62   CHRIS         AMBERG                  CO          90013606655
1736667559373B   GREGORY       PAXTON                  OH          90004846755
17367A2A92B232   SERGIO        LOPEZ-VASQUEZ           DC          81010240209
17367A5A15B154   JOHN          COOPER                  AR          90013710501
17368594A7B489   HUNT          ALICIA                  NC          11077875940
1736993258B193   FRANK         SHAW                    UT          90003129325
1736B33A65B526   JESSICA       SALCIDO                 NM          35064663306
1736B419A54122   TAMMI         GARROW                  OR          90002304190
1736B546591588   MICHAEL       BROOKS                  TX          75007785465
1736B63264B588   JEREMY        HART                    OK          90009476326
1736B993A72B97   JUDITH        DULAC                   CO          33077349930
173722A7561958   JOSE          MENDEZ                  CA          46062802075
17373884172B62   SHAUN         ROSSITER                CO          90013218841
1737421485715B   JUDD          ROBERTSON               VA          90012842148
1737584444B26B   LUCAS         LEET                    NE          90014728444
1737683624B588   ASHLEY        SMITH                   OK          90013648362
17376A9A64B26B   LA SHAUNDRA   SWIFT                   NE          90010130906
1737945A591263   GARY          MCMILLAN                GA          14593674505
1737B7A525B526   AARON         ROMERO                  NM          35097727052
173811A3361958   ERIKA         GONZALEZ                CA          90015051033
1738286964B588   BRITNNEY      LOVE                    OK          90009258696
17383112A5715B   ONORATA       TORRESQUISPE            VA          90011391120
173833A2491588   TERESA        BANDERAS                TX          90011033024
173847A9677597   KARLOS        NUNEZ                   NV          90008737096
1738496539373B   CAROLYN       WOODLEY                 OH          90005519653
17384A39361976   JORGE         LOPEZ                   CA          90011510393
1738576A461976   IRIS          ROMERO                  CA          90012437604
17385A2634B588   LINDA         LANHAM                  OK          90009830263
1738631169373B   HENRY         AKERS                   OH          90000303116
1738737197B436   YOLANDA       WILLIAMSON              NC          90009283719
1738759357B44B   FEDERICO      OLIVO                   NC          90001765935
1738936478B156   PAIGE         ROLLINS                 UT          31017943647
1738B18158438B   DAVID         RISHER                  SC          90007191815
1738B245947956   MAURICIO      HERNANDEZ               AR          90010812459
1738B51149373B   JAMES         BROWN                   OH          90013355114
1738B755161976   ROBERT        HARRIS                  CA          90013157551
1738B943391588   ANGIE         GONSALES                TX          90010689433
1739159A75B526   GUADALUPE     MUNOZ                   NM          90013015907
17393567A5B154   JASMINE       STOCKER                 AR          90015085670
17393A27891588   CLAUDIA       DELGADO                 TX          90014600278
17394517672B62   SHANNON       HIGGINBOTHAM            CO          33052035176
1739473563144B   JAMES         MC CALISTER             MO          90011777356
1739629275715B   TERESA        RAMIREZ                 VA          90014772927
1739648585B526   ODWELL        GREEN                   NM          90012474858
1739746344B582   NOEMI         VERA                    OK          90006234634
1739748215B526   JUANA         CORONA-QUINONES         NM          35004594821
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17397A97177539   JEFFREY           BLISS               NV          90004980971
1739855714B26B   DEANTE            JONES               CA          26096305571
17399339A91588   FELIX             RODRIGUEZ           TX          90012423390
173994A316192B   RICK              THOMPSON            CA          90004124031
1739962648B147   RUSSELL           MCCLOUD             UT          90008766264
173999A5A4B588   BILLY             WILLIAMS            OK          90014469050
1739B1A764B26B   LAURA             DELATORRE           NE          90012371076
1739B2A785B154   JESSICA           HILL                AR          90014922078
1739B71145715B   NELSON RIVELINO   REYES               VA          90004627114
1739B776372B62   JUDY              BRAVO               CO          33079987763
1739B943191895   SHAQUNA           COLLINS             OK          90014309431
173B1666A72B62   DESIREE           GALLEGOS            CO          90014926660
173B3226491569   CECI              SALAZAR             TX          90014542264
173B431487B489   AMENITA           GIBSON              NC          11070313148
173B4AA5931665   BILLY             AGEE                KS          22019570059
173B5336291588   NARMI             MARTINEZ            TX          75091663362
173B5345A61958   DANNELO           BONE                CA          90015373450
173B696A831687   ALMA              MARTINEZ            KS          22033699608
173B6976291588   LIZBETH           ESPINOZA            TX          90010709762
173B7412A91588   JORGE             ALVARADO            TX          75018434120
173B7793472B62   RALPH             WOOTTON             CO          33025967934
173B8514861958   ELIZABETH         GONZALEZ            CA          90009895148
173B8523155973   ANNA              MURILLO             CA          90005285231
173B8726447956   LAU               BRANDON             AR          90010087264
173B8784857147   RAFAEL            SOSA                VA          90013607848
173B9243172B62   DARIAN            QUINTANA            CO          90015102431
173BB111291524   CASTILLLO         REYNIALDO           TX          90004501112
173BB818A5B389   CHARLISSA         MCGHEE              OR          44513998180
173BB994972B62   CRISTIAN          LOMELI              CO          90002289949
173BBA76947956   LADONNA           WEBSTER             AR          90000720769
1741142A561976   LORRAINE          CABADA              CA          90009994205
1741273A672484   AMANDA            FOLEY               PA          90004757306
17412A58655976   JOSE              TOBAR               CA          90007550586
17416A2425715B   BERNARD           CRISTOBAL           VA          90014730242
17417941A55976   FLORIANA          FLORES              CA          90006359410
1741878545B526   ILSA              WESTMARK            NM          90012357854
174188A2193727   BRYSILYNN         HOLMES              OH          90007908021
1742121835B154   TONIA             HARVEY              AR          23032772183
17421633972B97   BARBARA           KUHN                CO          90006016339
17421694872B62   NOEL              MARQUEZ             CO          90011986948
1742289575715B   JOSE              MARQUEZ             VA          90015118957
17422A28A57147   ANA               BENITEZ             VA          90013380280
174232A7461958   DELIA             MONCADA JACOBO      CA          90014772074
17424597A57147   FRORENCIO         CRUZ                VA          81068315970
1742518A691588   PATRICIA          GONZALEZ            TX          75090721806
1742541154B26B   SHANE             SHAFER              NE          26048864115
1742823A62B232   LEATRICE          FULLER              DC          90007542306
174285A9191573   ROSA              MEDINA              TX          75081785091
17428658336B99   SANDY             MEZA                OR          90004106583
17428A25A91588   JOSE LUIS         LUNA                TX          90012920250
1742913A891895   DON               HENSON              OK          90011791308
1742953674B565   CYNTHIA           LEEPER              OK          90014585367
174299A784B588   VALENTIN          REYES               OK          90013349078
1742B345755987   JACKI             JOSLIN              CA          90009823457
1742B948431687   TRENISE           BOSTON              KS          90014029484
17432879A57147   JUSTO             ROMERO              VA          90013338790
1743291625B154   ROSALIND          BOOTH               AR          90014599162
17434A2894B588   REGINA            MACK                OK          90009570289
17434A6535B526   KENNETH           LARSEN              NM          90007860653
17435476A55976   JUANITA           RAMIREZ             CA          49061474760
1743627A75B526   CHARLENE          ROMERO              NM          35005462707
1743673A277535   PAUL              GADSON              NV          90009917302
1743691675B526   MARIA             PEREZ               NM          90012919167
17436A7974B588   JUAN LUIS         GRACIA              OK          90014580797
17436A85291588   JAVIER            ROSA                TX          90012610852
17437A94391895   KIMBERLY          MABREY              OK          21023510943
17438216872B62   KIM               WILLIAMS            CO          90010172168
1743897A461958   MICHELINE         BAPTISTE            CA          46069159704
1743952A461976   LUISA             SALDANA             CA          90014785204
17439771472B62   ARTURO            MARTINEZ            CO          33053087714
1743B37194B26B   TAYLOR            CUNNINGHAM          NE          90007763719
1743B655561976   AIDE              ORANTES ESQUIVEL    CA          90011456555
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1743B711891588   ROSA        QUINONES                  TX          90009557118
1744364979373B   SARA        SMITH                     OH          90014636497
174436AA771967   MERVAN      WOFFORD                   CO          90013166007
1744418594B588   ALEX        YOUNGER                   OK          90015131859
17444224A55976   NICOLAS     ENGLISH                   CA          90011062240
17445126172B62   REBECCA     SISNEROS                  CO          90002461261
17446A71857147   HECTOR      PEREZ                     VA          81003270718
1744727455715B   NELLY       MEDINA                    VA          90012342745
1744816265715B   ANNA        PEREZ                     VA          90015061626
1744865594B592   MABLE       HERNANDEZ                 OK          90005156559
1744959265B526   MICHAEL     ROMERO                    NM          90013015926
1744B3A4261958   YVETTE      VASQUEZ                   CA          90011413042
1744B8A2257147   CLAUDIA     MARTINEZ                  VA          81048108022
1745161629373B   ANTOINE     ELLIOTT                   OH          90011236162
174522A2491588   LIZBETH     VALENCIA                  TX          90012602024
1745238838B164   VICTORIA    RAMIREZ GRAJEDA           UT          90012053883
17452998572B23   ALACOQUE    LEBLANC                   CO          90002919985
17452A17A61958   ANDREW      ORTEGA                    CA          90012840170
17452A94591569   EDWARD      BURCIAGA                  TX          90012410945
17453A74561976   MEAGAN      RYAN                      CA          90009080745
1745449545B129   RAASHUN     JACKSON                   AR          23009934954
17454874976B2B   RANDY       BERGER                    CA          90001758749
17454927172B37   JESUS       ARREDONDO                 CO          33010149271
174556A5A9373B   DAVID       BAXIN                     OH          90000466050
17457561A4B588   TYROME      ARNETT                    OK          21504045610
1745819299373B   WALDON      KEITH                     OH          64528301929
1745B238955976   MIGUEL      RAMOS                     CA          90011062389
1745B69195B154   LASHAY      ELMORE                    AR          90012096919
17461A5935715B   ANDRES      RAYMUNDO                  VA          90013580593
1746285619373B   SHELLY      BARNETT                   OH          90003688561
1746286194B588   SUSAN       MANN                      OK          21595968619
1746286A891569   LUZ         REYES                     TX          90004908608
1746356834B588   VERONICA    MENDOZA                   OK          90011905683
174636A8291569   CRISTINA    VARGAS                    TX          90010806082
17463856A72B62   OSCAR       SOSA                      CO          33002638560
1746572954B26B   KARAH       KENDALL                   NE          90012147295
17465A2945B154   YOSELY      LAGOS                     AR          90010390294
17465A7667B373   JUBENAL     CRECENCIANO               VA          90013600766
17465A8675B154   CARL        SUMMONS                   AR          90015010867
1746736895B526   MICHAEL     GONZALES                  NM          90013043689
174684A984B26B   DIANE       PLUHACEK                  NE          90011504098
17469381372B62   GEORGE      MARION                    CO          90007493813
1746978A847956   YOLANDA     DEWHART                   AR          90000957808
1746B754651599   TASHA       ALLEN                     IA          90014597546
1746B86AA61976   AMBAR       YEPIZ                     CA          90014748600
1747153569373B   META ROSE   JOHNSON                   OH          90012885356
17473A8915B282   GALINDA     SHABAZZ                   KY          90007510891
1747496735B526   GRACIELA    CORREA                    NM          90005609673
1747497794B588   SANDRA      BOOKOUT                   OK          90014559779
17474A8244B588   RICK        POPE                      OK          90010550824
17475558A47956   ERNESTO     DURAN ESCOBEDO            AR          24082965580
1747559A891895   ANTONIO     CARRENO                   OK          21055625908
17475842372B62   DANIEL      SAENZ                     CO          33099058423
1747984874B588   CHRIS       HENDERSON                 OK          21595978487
1748123A857199   JASSICA     HENDERSON                 VA          90008332308
1748128562B242   VALERIE     REID                      DC          90012952856
174827A2391569   SAUL        RUBIO                     TX          90013767023
174831A825B526   CELIA       CHAVEZ                    NM          35020461082
174835A244B26B   TAMMIE      VACEK                     NE          26014195024
17483A53961958   MARIA E     MORALES                   CA          46013860539
17484579872B62   TAMMY       JACOBS                    CO          33014815798
1748532A75136B   JOSE        CHAVEZ                    OH          90013693207
17485341A4B588   ADAM        BILLY                     OK          90014153410
1748698A34B26B   MAURICE     BRASSELL                  NE          26082749803
1748752985B526   JENNIFER    GOULD                     NM          90015465298
1748863929373B   GARY        ROSE                      OH          90007806392
1748926825B526   JUAN        RIOS                      NM          90007812682
174894A2361976   MICHELLE    BANUET                    CA          90014974023
1748B817693727   JOHN        MOORE                     OH          90006048176
1749168A933697   SHANTISE    JONES                     NC          90003686809
1749236374B588   TAMMY       BUTTERY                   OK          21520323637
1749238A991895   JOSE        FONCECA                   OK          90011793809
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174923A3372468   CHRISTIN               LECOCQ            PA       90013863033
1749362175B154   DIANA                  BYLER             AR       23026366217
1749413514B588   PAULINA                CARRASCO-CAMPOS   OK       90009501351
174953A1572B62   RODRIGO                IBARRA-PINEDO     CO       90006363015
17495624A5715B   LEODAN                 REYES             VA       90008956240
17499626A31687   VANESSA                JESSUP            KS       90012906260
174999A284B588   YOLANDA                RAMOS             OK       90007919028
17499A5A74B26B   MELISSA                WHITE             NE       26091050507
1749B181291895   MARY                   LOVE              OK       21012971812
1749B4A9191588   ISSAC                  MONTES            TX       75089524091
1749B5A278438B   SCOTT                  WHRAY             SC       90007255027
1749B5A8172B62   LAVAUGHN               QUINTANA          CO       33070155081
1749B828872468   JOHN                   MARASCO           PA       51009638288
174B1221757147   ARTHUR                 SMITH             VA       90013652217
174B1243172B62   DARIAN                 QUINTANA          CO       90015102431
174B193A65715B   MIGUEL                 MENDOZA           VA       90004289306
174B28A8755976   ESMERALDA              CHAVEZ            CA       49017548087
174B2A76891895   MERCEDES               SANCHEZ           OK       90011790768
174B387129373B   MICHAEL                EPLEY             OH       90014508712
174B38AA47B445   HELENA                 JOHNSON           NC       11015378004
174B3A72877539   JAMES                  RAYMOND           NV       90012310728
174B513254B588   BRIAN                  ROSALES           OK       90015101325
174B552744B26B   MITCH                  SCHROEDER         NE       90010635274
174B5852991588   TERESA                 LOZANO            TX       75095078529
174B5997161976   MARLENE                DUKE              CA       90015019971
174B5A78724B55   CRISTIAN               GUERRA            VA       90011170787
174B6223A3B352   JAMES                  HLIPALA           CO       33069802230
174B6625961958   RAQUEL EUNICE          RIOS              CA       90013776259
174B7114391569   BLANCA                 VILLA             TX       75044051143
174B7164855976   MARIA                  MORALES           CA       49071981648
174B754815715B   GLORIA                 PERES             VA       90005215481
174B768334B26B   ANGEL                  MANZO             NE       26016396833
174B8378672B62   ROMAN                  MIRANDA           CO       33092473786
174B844424B26B   LETICIA                ROSAS             NE       90013354442
174B8448355976   ESTAFANI               CASTELLON         CA       90012834483
174B846955715B   EDIN                   GARCIA            VA       90010704695
174B9117551339   JOHN                   HALSEY            OH       90011031175
174B9967847956   THOMAS                 TERRENCE          AR       90015249678
174BB57A972B62   ELVIRA                 ADAME             CO       33008985709
174BB87414B267   SCOTT                  MCDANIEL          NE       27062148741
175111A9661996   ANDREW                 ROSENGRANT        CA       90008591096
1751296735B526   GRACIELA               CORREA            NM       90005609673
1751486464B26B   BRAD                   WERTS             NE       26080158646
175156A9172B62   MARIA                  CARREON           CO       90011396091
1751576515B526   ALBERTO                DIAZ RENTERIA     NM       90012847651
17515A21943584   JESSICA                MAY               UT       90014410219
1751618587B489   SYLVIA                 CEESAY            NC       90002531858
17516A27155976   JUAN                   HERNANDEZ         CA       49013820271
1751856184B588   JIM                    LEEDER            OK       21574575618
1751859464B26B   JIMMY                  CONLEY            NE       90014685946
17518A41287B44   SHATARIKA              HILLARD           AR       90014670412
17518A8199373B   JOSEPH                 MOORE             OH       64594790819
1751915734B588   JULIE                  BAKER             OK       90013901573
17519197A3363B   WARKESIA               JAMES             NC       90007731970
1751921639373B   TAMMY                  JAMES             OH       90009992163
1751B52564B588   ALAN                   VESSELL           OK       90010225256
1751B88245715B   DAVID                  GERONIMO          VA       81044398824
1751B8A717B489   CHADVICK               JONES             NC       11084678071
1752141642B232   INDIAN                 WASHINGTON        DC       90011614164
1752146954B588   AMANDA                 GODDARD           OK       90001844695
1752176915715B   ANGEL                  DE LEON           VA       81025457691
175236A549373B   JANICE                 HOLMES            OH       90013996054
1752399635715B   LAWRENCE               RAWLINGS          VA       81089919963
1752477455B154   JUAN                   OCTAVIO           AR       90010647745
175256A425B293   ANGELA                 KNIGHT            KY       90002096042
1752866A954122   DEBBIE                 NONTE             OR       90005186609
17528923A4B26B   WOOROUD                KAZEM             NE       26011049230
17528A74631434   KIM                    GATES             MO       90013480746
1752947929373B   JACE                   THOMAS            OH       90013824792
1752957A45B526   ACOSTA                 CECILIA           NM       35060025704
175298A7661976   JOSE                   ALFARO            CA       90009338076
1752B323872B62   NIGHTWALKER LYNN J N   JEREMY            CO       90011503238
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175312AA75B154   CLUUDETTE   SIMMONS                   AR          90014522007
17531A4385B526   ROSALINDA   TORRES                    NM          90014100438
17531A6669373B   ANNA        SHULTZ                    OH          90010600666
17531A9A791895   JENNIFER    DIXON                     OK          90000850907
1753243149373B   DONITA      THAYER                    OH          64500474314
17532A3685B154   GUSSIE      SMITH                     AR          90015040368
1753562389373B   BRANDON     OAKES                     OH          90014816238
1753711649373B   JOHN        BOLLMER                   OH          90006331164
17537715672B62   ANOTONIO    ALCARAZ                   CO          33045707156
17537A96473228   SEAN        PALMIERI                  NJ          90010510964
1753881A897B3B   FRANK       VILLANUEVA                CO          90003088108
175389AA561925   STEPHEN     DOUGLAS                   CA          46017989005
1753947764B588   RASHELLE    REED                      OK          90012864776
1753B784561958   NERMINA     HUSIC                     CA          90013377845
1753B871491895   EBONY       GRAY                      OK          90014318714
1754167385B154   ELISHA      DAVIS                     AR          90011066738
1754197837B489   ROSALE      CRUZ                      NC          90008829783
17541AAA19373B   SANDRA      BRODNICK                  OH          64535830001
1754243959373B   TERESA      COCHENOUR                 OH          64563764395
1754326A257147   NORMA       HERNANDEZ                 VA          81028022602
1754459824B588   AMY         FULLER                    OK          90009265982
17544639372B62   SANDRA      TERAN                     CO          90014606393
175451A725B154   GORDON      GEER                      AR          90012451072
17545327372B62   NICOLE M    ROPER                     CO          33017263273
175457A4891569   CESAR       SANDINO                   TX          90015217048
1754612474B588   LANCE       DOUGLAS                   OK          90007151247
1754628774B26B   KANEESHA    MOTTON                    NE          90013642877
1754637854B26B   MONICA      GARCIA                    NE          90014903785
175472A6A61958   LAWRENCE    HUA                       CA          90010722060
17548AA4491524   HORTENCIA   RODRIGUEZ                 TX          75013410044
175497A1772B26   CHRISTINA   ROULIER                   CO          33045067017
17549A1785B526   WILL        ROBERTS                   NM          35089210178
1754B369A57147   ROMAN       TSEHAYOU                  VA          90002943690
1754B549761976   LISETTE     GUEVARA                   CA          90010315497
1754B565A57192   SAMUEL      OTERO                     VA          90011475650
1755139249373B   JESSICA     BAKER                     OH          90002233924
1755274644B588   JUAN        GARCIA                    OK          90012487464
17552829A91895   SANDRA      MORROW                    OK          90011928290
17555559A71923   CRYSTAL     SINGLETON                 CO          32090815590
1755591584B26B   JENNIFER    NOBLE                     NE          26013639158
17555A67772B62   HELLIG      KIMBERLY                  CO          33064280677
17556518872B62   LAUREN      DAVEY                     CO          90013525188
17557A21691895   ERICA       MINCEY                    OK          90014400216
17557A7595B275   BRYAN       SALSMAN                   KY          90012160759
1755891675B526   MARIA       PEREZ                     NM          90012919167
17558A6144B588   JOHN        CRABB                     OK          90012900614
1755B32134B588   MARIA       ROBERSON                  OK          90006163213
1755B426772B62   MCNEAL      MARCELLUS                 CO          33054384267
1755B841161938   JOYCE       OLIVA                     CA          46059818411
1755BA86161958   CHARITY     SUMLER                    CA          90014890861
1756133579373B   MICHAEL     CALDWELL                  OH          90011403357
1756137485B526   NILE        TODD                      NM          90015133748
1756164795715B   JUAN        ROJAS                     VA          81005236479
17561731A91869   DEE         WALTON                    OK          21018287310
17563217397B3B   RUBEN       RAMOS                     CO          90010642173
17563A47386455   JASON       BORNE                     SC          90013830473
1756431AA5B526   NATIVIDAD   AGUILAR                   NM          90013233100
1756477715715B   REYNA       PORTILLO                  VA          90014657771
175657A6477539   RONALD      PEVNY                     NV          90007647064
17565978A51542   ABDUM       KABON                     IA          90014589780
17565A26A4B588   LOC         LE                        OK          90015080260
1756676445B154   ANGELA      WITCHER                   AR          90013237644
17566AA344B26B   MURRY       NICOLLE                   NE          26074350034
175673A155B526   LAURA       SANCHEZ-LUGO              NM          90013453015
1756745679373B   BETH        FLEMING                   OH          90010514567
1756787A89139B   DANIEL      SENSINTAFFAR              KS          90001358708
1756827545B154   CISCO       MCCLAIN                   AR          90012012754
175686A2591569   TANIA       MARIE TREJO               TX          90001736025
1756899224B26B   MICHELLE    PERKINS                   NE          26081289922
1756943165B154   BIH-ANKA    WANCHIA                   AR          90012254316
1756B51A561976   JOB         ARMENTA                   CA          90014945105
1756B574272B62   DAVID       MORALES                   CO          90014595742
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1756B6AA54B26B   SARAH         LINDLEY                 NE          90013486005
17571A36631687   EDWARD        TINGEN                  KS          22063910366
1757278275B154   WAYNE         RODERS                  AR          90011497827
17573525A55976   ANNA          MENDEZ                  CA          90011435250
17575331172B62   VALENTINA     TALAVERA                CO          33077653311
17575383A91569   BONNIE        QUINTANA                TX          90005853830
175766A7772B62   CHRISTINA     HOOVER                  CO          90012006077
1757786A94782B   PAYGO         IVR ACTIVATION          GA          90009748609
17577A9744B26B   MIRANDA       WHITE                   NE          90013930974
1757849317246B   DAN           HARCUM                  PA          90009674931
1757B23A37B337   ARIEL         FERRUFINO               VA          90000792303
1757B528957147   LUCIA         GUARDADO PORTILLO       VA          90014105289
1757B64817B424   JULIAN        ALVAREZ                 NC          90009326481
1757B6A915715B   HECTOR        BRIZUELO                VA          81026246091
1757B865991573   RICARDO       GALINDO                 TX          90001468659
1757B883291895   NATHAN        DEHART                  OK          90011798832
1758115474B588   LASHELE       JOHNSON                 OK          90012881547
175812A2672B62   ERICK         HENDERSON               CO          33049792026
17582A7665B154   CHARLES       MCCULLOUGH              AR          90002480766
1758312212B263   MS SHELIA     HILBERT                 DC          90009111221
1758398915B526   NOEMI         ACOSTA                  NM          90011459891
1758534327B489   JOHNATHAN     SMITH                   NC          11080273432
17588A25872B62   STEPHANIE     VIGIL                   CO          33038940258
1758931973B388   BRUCE         HECHT                   CO          33032533197
175894A6847956   TERENCE       POWELL                  AR          90008084068
1758965AA61976   LORAINY       GARCIA                  CA          90015156500
1759174517B489   DONNA         FOXWORTH                NC          11007337451
1759186455715B   MOHAMMAD      USMAN                   VA          90007378645
17592417A91588   CHRIS         SAGER                   TX          75082144170
1759251145715B   JUAN          ORELLANA                VA          90009135114
17592A33991895   MARGIE        HAMMONS                 OK          90014340339
17594A8434B26B   ANDREW        HAMELIN                 NE          26050410843
17597195A4B26B   KARMA         DOESCHER                NE          90010471950
1759772485715B   YVONNE        VENEY                   VA          90014927248
175982A3155976   CHRISELDA     CELEDON                 CA          49065592031
1759846AA9373B   VELMA         HERNDON                 OH          64545204600
17599A29431687   WANDA         FOX                     KS          22034370294
1759B848891569   JOSE          YZAGUIRRE               TX          75007398488
1759B985257147   CONCEPCION    GARMEN                  VA          90014139852
175B258A74B26B   TAMMY         ALT                     NE          90002065807
175B2593A9373B   HAYLEE        ISON                    OH          90014235930
175B3834691263   DORESE        HARRELL                 GA          90011968346
175B3841761976   KARINA        VIDALES                 CA          90012138417
175B447A672B62   AMANDA        GARCIA                  CO          33030094706
175B518435B154   NICOLE        CARTER                  AR          90004971843
175B5788A72B62   NANCY         RODRIGUEZ               CO          33017247880
175B6364355976   VICTORIA      GONZALEZ                CA          90009783643
175B7126272B62   DONOVAN       ABEYTA                  CO          33019541262
175B734784B588   TANYA         SHILTS                  OK          90012783478
175B79A6455976   MARIA         JOHNSON                 CA          49014399064
175B7A12231687   NESHA         COLLINS                 KS          22080010122
175B7A6125B526   AMRUJO        P                       NM          35005510612
175B8947647956   HAZEL         DOUGLAS                 AR          90008079476
175B898625715B   GUSTAVO       GRIJALVA                VA          90014739862
175B944424B26B   LETICIA       ROSAS                   NE          90013354442
175BB1A764B26B   LAURA         DELATORRE               NE          90012371076
1761185315715B   MANUEL        CARPIO                  VA          81002048531
1761282AA91588   DIANA         DOMINGUEZ               TX          75089788200
1761293215B154   MIRA          CRAWFORD                AR          90014599321
1761376179373B   SHANICE       BAILEY                  OH          90011237617
17613A38472B62   GREG          ORTIZ                   CO          90011410384
1761439895B129   TAMARA        JOHNSON                 AR          23036913989
17614A35171967   SIAN          GONZALES                CO          90004030351
176152AA45B526   MIGUEL        ESPARZA                 NM          90010672004
17615686A5715B   3900 YANETH   BELTRAN                 VA          90012756860
17615915624B55   JASMINE       JONES                   DC          90014599156
176159A9757147   ROBERTO       ZALDIVAR                VA          90005239097
1761624415715B   MARIA         ROMERO                  VA          81011972441
176164A2361976   MICHELLE      BANUET                  CA          90014974023
17616649272B62   BRYCE         HUBBLE                  CO          33080496492
176173A5855976   ESMERALDO     ESPINOZA                CA          90008143058
17617514172B62   CARLOS        CHAMBERS                CO          90006085141
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1761922218438B   DENNIS           MARTINEZ             SC          90007282221
17619238A61958   RICHARD          SHIRK                CA          90002822380
1761936A83B393   KELLY            MENDEZ               CO          90005073608
1761B738391263   ROBERT           WHITE                GA          14580057383
1761B8A294B26B   ABEL             RABAGO               NE          26097258029
17621418272B62   ELIZABETH        STRAUGHTER           CO          33062844182
1762162415B154   JAYLYNN          ELLITOTT             AR          90014756241
1762195855715B   MARIA LUCRECIA   NUNEZ                VA          90014529585
1762227415715B   IKEA             BANNISTER            DC          90011342741
1762366184B26B   DAWN             STEELE               NE          26042216618
1762418698438B   JANE             DIXON                SC          19045731869
1762467A457147   JORGE            MARTINEZ             VA          81096186704
17624A8A55B154   TRACY            HOOKER               AR          90014290805
17625755672B62   MARK             MUSICK               CO          90001457556
1762634947328B   NAYELI           ESCAMILLA            NJ          90014553494
176274A964B588   BRIANNA          CHAVIS               OK          90009274096
17627898A72B62   ADRIAN           SAIA                 CO          90011888980
1762932628438B   STEVE            SUHARA               SC          90013003262
17629751572B62   JOSE             DE LEON              CO          90013007515
17629A99391895   ALEXIS           SMITH                OK          90011800993
1762B12135715B   MUARA            RODRIGUEZ            VA          90001111213
1762B457A57147   ANGEL            MARTINEZ             VA          90001604570
1762B485761958   VICTOR           ACIAS                CA          90013534857
1763134A161976   DSAN             MAYNE                CA          46013633401
1763241885B129   NACOLE           WEBSTER              AR          90010654188
1763244977B463   JOSUE            SANTIAGO             NC          90005724497
17632484A5715B   XUAN             TRAN                 VA          90007484840
1763335A255976   BEE              XIONG                CA          90011063502
1763344314B588   SHANICE          HOLMES               OK          90009274431
17633457A57147   ANGEL            MARTINEZ             VA          90001604570
17633A5964B26B   MICKIE           BURNS                NE          26027110596
17635355474B97   YURI             ALFARO               OH          90012573554
17636A43791327   CRAIG            GRIDDINE             KS          90014350437
1763778A75B526   MARIA            GONZALEZ             NM          35080517807
1763831574B588   DAMN             JUAREZ               OK          90000843157
17638A41457147   ABDUL GAFARU     IDDRISU              VA          90002590414
17639135272B62   MATT             ALLMAN               CO          33008041352
1763955542B958   DARCEY           BARRERA              CA          90001735554
17639764A5715B   MEHARI           MERID                DC          81026247640
1763BA99391895   ALEXIS           SMITH                OK          90011800993
1764381A355976   GILBERT          LARA                 CA          49014778103
17643A72991588   JUAN ANGEL       ROCHA                TX          90013720729
1764446A455976   FRANCISCO        LARA                 CA          90012634604
17644A9554B26B   IVAN             SCHULZ               NE          90013590955
1764545175B335   DALE             MACHIN               OR          90009904517
17645841391B55   JOHARI           FLAKES               NC          90015038413
1764585539373B   TOM              HIME                 OH          90015548553
17646A3167B373   MARIA            ALVAREZ              VA          90010160316
1764737A24B265   ROBERT           HOLMES               NE          90001333702
1764769255715B   RENE             ALVAREZ              VA          90011636925
1764898724B26B   ROBERT           DUNCAN               NE          90003149872
176491A2261958   JAQUELYN         WILLIAMS             CA          90013771022
176491A3672B62   CHANTAL          MARIA                CO          90013311036
17649646A91569   PRICILLA         VILLA                TX          90014066460
176497A959373B   ZACHARY          JOHNSON              OH          90012787095
1764B119161976   JOHN             ZULLO                CA          90014881191
1764BA57855976   ARMANDO          DOMINGUEZ            CA          90005340578
1765135945B526   JUSTIN N         JOHNSON              NM          90005713594
17651399472B38   MARIA            TELLEZ               CO          90013493994
1765194A29373B   MYRNA            STEVENS              OH          64532849402
1765253495B154   JESSICA          BRINSFIELD           AR          90003825349
1765279885B129   KEVIN            FORD                 AR          23055737988
17652A42372B62   MARIA            RODRIGUEZ            CO          33060750423
1765329774B26B   LATASHA          STIVASON             NE          90014932977
1765529A24B588   DEANDRA          ALLEN                OK          90014922902
1765548A672B62   RICARDO          CASTRO               CO          90005184806
17655AAA85715B   ROXANA           SALOME               VA          90014780008
1765636A557147   EDWIN            REYES                VA          90014763605
1765776889373B   SCOTT            JONES                OH          90003037688
1765846418438B   ELEANOR R        MOORE                SC          90009074641
17659A5935B154   STEPHANIE        WASHINGTON           AR          90010750593
1765B412191569   FELIPE           LIRA                 TX          75099004121
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1765B55185B154   CHRISTINA    MAYERS                   AR          23066465518
1765B828A55976   TANYA        ORTIZ                    CA          49083188280
176659A8661976   CARLOS       MEJIA                    CA          90012769086
17665A2125715B   HAMEED       SHAHUL                   DC          90009890212
176671A878B166   IRVING       YORKS                    UT          90013241087
1766768574B26B   MEGGAN       MCGUIR                   NE          90012236857
17667A33991895   MARGIE       HAMMONS                  OK          90014340339
176683AAA4B26B   JEREMY       TROUTMAN                 NE          26036783000
1766918284B588   MYRANDA      MCCULLOCH                OK          90014931828
1766956AA4B26B   LAWRENCE     COLLEY                   NE          90011465600
1766975585B154   AMANDA       DYE                      AR          90009587558
1766B363591588   DAVID        MEDINA                   TX          90011463635
1766B528891895   DERRICK      IKWUEME                  OK          21033695288
1766B7A6461938   ELISE        CAPITO                   CA          46023427064
1766B962A61958   ELISA        TIRADO                   CA          46023249620
17672671772B62   LUCIANO      CORTEZ                   CO          33074636717
1767283975B526   GLORIA       MARTINEZ                 NM          90001128397
17674183A55976   KATHY        FORD                     CA          90013761830
17674378A57147   WANDA        MASTERSON                VA          90013013780
1767484444B26B   LUCAS        LEET                     NE          90014728444
1767532187B489   SAMUEL       REYES                    NC          90002523218
1767658749373B   LORA         MELTON                   OH          64595815874
17677A55591895   AMBER        DUNCAN                   OK          90014320555
17678773A5B154   GLORIA       HAYES                    AR          23008187730
1767947644B965   AMY          CULPEPPER                TX          90007874764
1767981464B588   INHELICA     GOMEZ                    OK          90007278146
17679995A4B588   INHELICA     GOMEZ                    OK          90012769950
1767B924233B95   APHTON       RHEINS                   OH          90012659242
1768142684B26B   MELODEE      COVERT-WAGNER            NE          90005414268
1768267824B26B   IGOR         GEVORKOV                 NE          90013986782
17682938472B27   GERDING      ANDREA                   CO          33096029384
1768298685715B   MIRIAN       HERNANDEZ                VA          90005409868
1768342A89373B   CEAIRA       WHITFIELD                OH          90005904208
1768443A191569   STAR         GARCIA                   TX          90010134301
1768466264B588   ELMER        CARRILLO                 OK          21518146626
17684A15551542   LOUISE       MONDOZA                  IA          90014590155
1768565474B588   LARRY        BRIGHTWELL               OK          90012106547
17686856A4B26B   LEANNE       CURIEL                   NE          90009108560
17687447A4B26B   PEGGY        PHILPOT                  NE          90015174470
1768866815B526   LOURDES      PRECIADO                 NM          90000346681
1768881685B154   ANGELA       BURNETTE                 AR          90014768168
1768899494B536   LUCIA        SUACEDO                  OK          90007459949
1768912325B526   JANICE       COLE                     NM          35064041232
1768B531691588   LUZ          RODRIGUEZ                TX          90003265316
1768BA3A531687   ALEX         ORTEGA                   KS          90014570305
17691294648B72   JOHN KEVIN   BRANNON                  ID          90011622946
17691813A2B242   DIANE        BROWN                    DC          90005788130
176918A9361958   JAIME        ARCINIEGA                CA          90000108093
1769398385B526   PAUL         PACHECO                  NM          35028539838
17695297A55976   JAY          HERNANDEZ                CA          90003692970
17695429472B62   VALERIE      RODRIGUEZ                CO          90008284294
176957A984B588   FELICIA      SMITH                    OK          90014767098
17695A9A55B526   MICHELLE     RIVIERA                  NM          90010940905
17696265A91588   SANDRA       HERNANDEZ                TX          75007832650
17697487A72B62   NADINE       MCDONALD                 CO          90012404870
17698A16455976   TORN         CHEK                     CA          49014500164
1769B26874B26B   MITCHELL     WANDER                   NE          90003742687
1769B339A3B38B   SHANE        HORTON                   CO          90002713390
1769B363591588   DAVID        MEDINA                   TX          90011463635
1769B424291547   ADRIANA      CONTRERAS                TX          75086374242
1769B68395B154   POSSE        WILLIS                   AR          90010076839
176B153944B26B   MARCIE       O'DOWD                   NE          26090275394
176B183919373B   MARK         MONTGOMEY                OH          64510888391
176B192735B154   ADAM         CUDD                     AR          23049629273
176B369549373B   ERIC         HOLSTON                  OH          90014676954
176B39A194B232   RICARDO      VALDERA                  NE          90006099019
176B425174B588   TRINIDAD     PEREZ                    OK          90011622517
176B47A975715B   JUAN         AGUILAR                  VA          90000557097
176B4948657147   BRISELDA     CHAVEZ                   VA          90010419486
176B499915B526   EMMAELIDA    VICUNA                   NM          90010869991
176B5A62A72B62   REGINA       MANZANARES               CO          90015210620
176B65A5161958   RACHEL       GANADEN                  CA          90008185051
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176B6A7AA5B526   DENISE              FAIRWEATHER          NM       35003850700
176B6A95191895   MONICA              ESTRADA              OK       21043610951
176B73A155B526   LAURA               SANCHEZ-LUGO         NM       90013453015
176B799439373B   KATHLEEN            YEAGER               OH       64565249943
176B814258438B   DAMON               SANDERS              SC       90007281425
176B8484257147   MIGUEL              CANAS                VA       90000194842
176B84A1A4B26B   ROSENDO             PUENTES              NE       90013754010
176B9499A91569   RUTH                VILLANUEVA           NM       75084434990
176B98A2951542   CEDRICK             HALL                 IA       90014588029
176BB1A337B676   JAZMINE             JOHNSON              GA       90008151033
177112A7591588   JESSICA             GONZALEZ             TX       75032892075
1771131A991569   LORAINE             STEWART              TX       90003483109
1771242A791895   QUINTIS             FRAZIER              OK       90006654207
177143A549373B   QUANITTA            WORKS                OH       90011353054
1771465985B526   ASHLEY              SANCHEZ              NM       90013986598
17714788A9373B   ASHLEY              BROWN                OH       90012287880
1771572825715B   EMELY               HERNANDEZ            VA       90007717282
1771733795B526   ISAIAS              ROSALES              NM       90013283379
1771779859373B   DAWN                HUBBELL              OH       90013457985
177179A2491895   LAKISHA             HARRIS               OK       90002069024
1771812674B26B   QUINTIN             VOGT                 NE       90013861267
17718A27A91588   CORINA              MUNOZ                TX       90013170270
17718A4854B588   DEVON               NOAH                 OK       90015230485
1771967325B154   JOE                 PUMPREY              AR       90000876732
17719718A91588   YVETTE              LUELLMAN             TX       90004177180
1771998835B53B   DUSTIN              HOLMBERG             NM       90012699883
1771B11818B194   KARA                GIBSON               UT       31009091181
1771B488A41225   LESA                HODGES               PA       90014564880
1772213275B154   STEPHEN             MILLER               AR       23057131327
17725334A2B235   DALONTE             BUOWELL              DC       90007593340
1772599599373B   MICHAEL             MOODY                OH       90011199959
17725A5485B526   NORMA               ARAGON               NM       35057230548
17727273A5B526   ABEL                ZAMORA               NM       90011502730
1772751475B154   TIKMA               SIMPKINS             AR       90013325147
1772869AA5B526   DAPHNE              PADILLA              NM       90007426900
1772947825B526   MARTHA              VEGA-SOTAO           NM       35090594782
17729752474B97   DOUG                GRAVES               OH       90014097524
17729A37647956   WILMA               JAMES                AR       24040610376
1772B32A961938   RACHELLE            HOLLINGS             CA       90005843209
1772B937A61958   IGNACIO             POSADAS              CA       90012409370
1773126624B588   MARY                MAY                  OK       21508292662
1773176A747956   NGUYET              NGUYEN               AR       90010967607
17731A64591895   JORGE LUIS          VASQUEZ              OK       90014340645
17733969176B42   THOMAZ              ARAGO                CA       90011229691
17734333472B62   MARQUES V           WILLIAMS             CO       90013923334
1773558655715B   JOSE LUIS           PAREDES GARAY        VA       90014415865
1773659724B588   A RENAE             PROCTOR              OK       90000445972
177367A174B26B   MICHAEL             CHOMA                NE       26035727017
1773725629373B   GUILLERMO           BUSTAMANTE           OH       64592222562
17737A6A491895   CHANTELE            HAGAR                OK       21033130604
1773887774B588   ANENA               ADENYA               OK       90010838777
1773997454B26B   LINDA               BURESH               NE       90010289745
17739A2914B592   TYRONDIA            PATTERSON            OK       90012410291
1773B176155976   MARY                RODRIGUEZ            CA       49050941761
1773B251372B62   MORALES             GABRIELA             CO       90012902513
1773B391457147   EMPIRE FLOOR CARE   MAINTENANCE LLC      VA       90012243914
177413A519373B   NICOLE              FRIZZELL             OH       64597403051
17742682A8454B   DAMASO              GARCIA-PEDRO         NY       90015346820
17742869A71932   JOANNE              LLAMAS               CO       90006688690
1774399859373B   DEANA               MORRIS               OH       64515969985
177448A3991569   ERIKA               GARCIA               TX       90010988039
17746A85991895   TANYA               MERCADO              OK       90014340859
1774788564B588   JOSHUA              JULINE               OK       90003058856
1774814637B323   IMELDA              CHISCUL VILLALOBOS   VA       90001281463
177486A7144353   IRMA                LEMUS                MD       90013316071
17748984A61976   ROBERTO             RODRIGUEZ            CA       90005319840
177496A8A4B588   JAMES C             PRESLEY              OK       21550946080
1774B516857147   RANDOLPH            VILLAR               VA       81025455168
17751297972B62   DANIEL              PHILLIPS             CO       90014742979
1775244A555938   CECILIA             MORA                 CA       90005844405
1775267645B264   ROZANNA             WHITEHEAD            KY       90014416764
1775374394B26B   MELISSA             HOLMES               NE       90014707439
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177537A6191895   ELENA               RODRIGUEZ             OK      21057297061
1775539255715B   MARTA               ESPANA MONTESFLORES   VA      90012363925
1775798785B526   CHINARA             PEARMAN               NM      90014969878
1775814844B26B   JULIE               FRAHM                 NE      90003461484
1775824224782B   TAMMY               SMITH                 GA      14070812422
1775829215715B   NELSON              VASQUEZ               VA      90007692921
1775848155B154   KEENA               WILLIAMS-MEADOUGH     AR      23088444815
1775965684B592   NAOMI               EADS                  OK      21509486568
1775977715715B   REYNA               PORTILLO              VA      90014657771
1775982A54B26B   DANIEL              ANDERSON              NE      26031068205
1775B336155976   MICHAEL             BIAGI                 CA      90014823361
1775B654272B62   JANN                SCOTT                 CO      33074096542
17762212A57147   ROY                 PINEDA                VA      90004242120
1776235115715B   GILBERTO            MONGE                 VA      81003893511
17763AA4957147   ANTHONY             HIGGINBOTHAM          VA      90009950049
1776454942B958   PEDRO               NERI                  CA      90008045494
1776581275B526   LORINDA             HOWARD                NM      90013128127
177658A5261958   VICTORIA            HENDERSON             CA      90012828052
1776599765B154   CLAUDIA             BOOKOUT               AR      23084059976
17766A42A57164   PEDRO               SANDOVAL              VA      81012190420
1776B495791588   JHONNY              WHITING               TX      90013274957
1777149444B588   JESUS               TERRAZAS              OK      21558734944
1777165A997B58   JANINE              SWENSON               CO      90007736509
17771A2754B588   DERICK              SCOTT                 OK      90008700275
17772131A91588   LINDA               SULLIVAN              TX      90012871310
17772A49A33B95   CAROLYN             WILLIAMS              OH      90014450490
17772A67255976   ERIKA               ARROYO                CA      90014190672
1777331765599B   ALEJANDRO           CAMPOS                CA      90007373176
1777388464B298   LUKE                COCHRAN               NE      27031918846
1777629644B588   KESHIA              RAPLEY                OK      90012582964
1777646685715B   MARIA DEL ROSARIO   HERRERA               VA      90014434668
1777785375B328   RONALD              FARRIS                OR      44552048537
17777A7775B299   CRYSTAL             GUINN                 KY      90012090777
17777A9415715B   JOSE                AYALA                 VA      90010090941
17778157A4B26B   JENNIFER            PAYNE                 NE      90013411570
17778436A7B322   DAVID               SHAKLEE               VA      90002874360
1777969739373B   ANDREA              BENNETT               OH      90002866973
1777B123391569   JORGE               ORTEGA                TX      90004181233
1777B251961992   FRANK               MENDOZA               CA      90012402519
17781797A91588   NANCY               NUNEZ                 TX      90000807970
1778227225B39B   ESTELA              NOVA                  OR      90006052722
17782465872B29   IRVIN               CHAVEZ                CO      33002514658
1778436185B154   CARLO               GREEN                 AR      90004313618
17784414672B62   JOSE                NUNEZ                 CO      33098654146
177853A972B249   IRVIN               THORNE                DC      90012343097
1778582455715B   CARLOS              LARIOS                VA      90014438245
1778586A757147   BARBARA             BROWN                 VA      90012638607
1778617459373B   ALONZO              HENDERSON             OH      90012751745
1778666A591588   JUAN                HOLGUIN               TX      75072836605
1778675955715B   MARIA               MARTINEZ              VA      81016787595
1778749424B26B   ZOLTAN              LANTOS                NE      90002334942
17788655A5B526   MARY                HAUPT                 NM      35004676550
1778941135B526   MARY                VILLESCAS             NM      90011104113
1778B1A6191569   FORTUNATO           GUERRERO              TX      75006331061
1778B7A2677577   KARA                BEVERIDGE             NV      43017547026
17791287276B52   LUZ                 ROMAN                 CA      90007912872
177919A363B392   MICHAEL             REID                  CO      33096129036
17792688572B62   MARCELA             GAMBOA-RUIZ           CO      90001996885
17792A9712B228   ERIC                LYMONT                VA      90001410971
17793188A91588   BEATRIZ             MEDINA                TX      90011311880
177932A765B526   ANA                 REYES                 NM      35035672076
177936A8A4B588   JAMES C             PRESLEY               OK      21550946080
17793A69131687   RAY                 SMITH                 KS      22031880691
1779513579373B   SAVANNA             CRUMPLER              OH      90006071357
177974A4291588   JOSE ANTONIO        MARTINEZ              TX      90013924042
1779829594B26B   SHARLEEN            DAVIS                 NE      90005822959
1779853735B154   ADDIE               BOWMAN                AR      23025585373
1779862515B254   SEAN                MAYS                  KY      68069026251
1779911555715B   FELICIA             DAVIS                 VA      90014051155
17799479A61976   LOURDES             MARTINEZ              CA      90010004790
1779B398357122   CRISTOBAL           MURILLO               VA      81071223983
1779B581631687   JULIANA             MARTINEZ              KS      90015155816
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1779B852272B62   HERMINIA        LUNA                  CO          33025728522
1779BA2A891996   JANICE          PERRY                 NC          90007610208
177B138775715B   JESSICA         RODRIGUEZ             VA          90014703877
177B276A861976   OFEIRA          TAFILETE              CA          90013157608
177B366845B154   KIARA           MARSHALL              AR          90015116684
177B4132561958   TOYON           SUMMERSET             CA          90013991325
177B4145876925   JENNIFER        JONES                 MS          90015141458
177B5A44955976   PAUL            WILSON                CA          90010670449
177B619624B588   MARIA           MENDOZA               OK          90005441962
177B6264591263   JANIKA          WRIGHT                GA          90009932645
177B677517B443   DORA            MILS                  NC          90013867751
177B745559139B   AARON           DALE                  KS          90006134555
177B791984B588   CHRISTOPHER     CLARIDGE              OK          90002799198
177B8272672B62   JULIE           COMPTON               CO          33066782726
177B856944B26B   CASSANDRA       RATZLAFF              NE          90014705694
177B8931955976   GUADALUPE       SERRANO               CA          90011849319
177B9227847956   XAVIER          WILLIAMS              AR          24002942278
177B952485B526   ETIENNE         BADUA                 NM          90014825248
177B9838472B62   CHAD            WHITTAKER             CO          90014698384
177B9894961958   IRIS            MORALES               CA          46013028949
177BB551A72B3B   TERA            WEBB                  CO          90008615510
177BB82155715B   MERY            PEREZ                 VA          81011878215
177BBA52991588   VELIA           GUTIERREZ             TX          75004930529
1781118365715B   JOSE            BENITEZ               VA          90014101836
1781158385715B   JOSE            BENITEZ               VA          81039045838
1781196AA55976   ERIC            GALEANA               CA          90010139600
1781231249373B   BRETT           BROWN                 OH          64505023124
1781342A49373B   KAREN           VULTEE                OH          90009594204
178136A5361958   JOHN            PRESSLER              CA          90008556053
178138A9A91895   ELENA           MUNOZ                 OK          90011478090
17813917A5B526   LEANDRA         WOMACK                NM          35035499170
17813A1494B26B   DARYLLE         MADISON               NE          90013600149
1781445545B526   IAN             MCNABUS               NM          90010824554
1781486247B489   MICHELLE        BRETON                NC          90005898624
1781588964B588   PATRICK         DUMMAGAN              OK          90014678896
17817A34A5B154   PEGGY           WARREN                AR          23003370340
1781863694B588   SHELINA         JONES                 OK          90011026369
17821879A91588   JOHN            NOEL                  TX          90006718790
1782241994B26B   JOSE            RAMIREZ               NE          90011384199
1782267877B386   JOSE            SALMERON              VA          90008016787
1782328297B489   KIMBERLY        PARSON                NC          11000242829
1782362874B582   JOHN            ROBY                  OK          90006556287
17825486172B62   KASSANDRA       FRASHER               CO          90012134861
17825A7645715B   HILDA           PINEDA                VA          90012550764
17826269797B3B   AMBER           FOX                   CO          90005942697
17826AA4591895   YANG            TAO                   OK          90011810045
1782729824B26B   DENISE          JONES                 NE          26089862982
1782877985B154   KENYA           WILLIAMS              AR          23026207798
1782924125715B   ANA JACKELYNE   ALVARADO ARIAS        VA          90014672412
1782933135B154   REBECCA         LARKIN                AR          90013603313
1782972272B244   DAGNE           TESHOME               DC          81083847227
1782B18A861976   PHILLIP         JIMENEZ               CA          46091991808
1782B45715715B   ARNICE          WILLIS                DC          90013714571
1782B86413B38B   FRANCISCO       GONZALEZ              CO          90009908641
1783137A67B44B   ABEL A          MIRANDA               NC          11071613706
17831433572B62   LADY            C                     CO          90010664335
1783268759373B   SARAH           SISCO                 OH          64595586875
17832842872B62   CHASTITY        HERNANDEZ             CO          33098898428
17832A89291895   KEAWANNA        THOMPSON              OK          90011570892
1783353745715B   ALBERTO         BENITEZ               VA          81060255374
17833A36955976   JUAN            ROSAS                 CA          90009800369
17834A5AA21776   CHRISTINE       JONES                  IL         90015500500
1783512214B26B   CYNTHIA         THALLER               NE          90012801221
1783671774B588   EMUEL           FRANCO                OK          90014377177
1783715144B588   MARLYN          HICKMAN               OK          90009281514
1783811145B154   PASSION         JOHNSON               AR          90009951114
17839757A9373B   DONALD          HICKS                 OH          64525787570
178397A1661958   NATALIE         DOWELL                CA          46063357016
1783B479A54152   HEATHER         HOLLOWAY              OR          90000844790
1783B732891588   ANA             BURCIAGA              TX          75010077328
1784228245B129   AMANDA          GREEN                 AR          23035732824
17842471A5715B   GLADYS          MARTINEZ              VA          90007594710
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17842A9A861938   SARAH           TOMPKINS              CA          46068920908
178432A3493758   ANIQUA          ROEBUCK               OH          90011442034
1784411345B526   SABRINA         MADRID                NM          90013931134
17844436A4B588   ANGELA          BOAN                  OK          90000704360
17844839172B62   NORMA           HERNANDEZ             CO          90013918391
1784562793B324   CASEY           PETER                 CO          90000956279
1784666244B26B   JENA            MICHALECKI            NE          90000716624
17846796672B62   CRAIG           RIGLER                CO          90000497966
17849348A61958   FONTAINE        CRIGLER               CA          46067753480
1784941335B282   COREY           ESTERLE               KY          90011594133
1784969585B342   SANDRA          SWAIN                 OR          44515006958
1784B4A455B154   RAISHANA        RUSH                  AR          90012834045
17851A71457579   HEIRA           MUNOZ                 NM          90013150714
1785311464B588   NICOLE          JOHNSON               OK          21514501146
1785346278B683   MACAREO         MORENO                TX          90014434627
17853733172B62   IVAN            GALVAN                CO          90013427331
1785418414B26B   ANNEDRA N       HULL                  NE          26097291841
1785685492B865   TIMO            PATTUGALAN            ID          90005368549
1785751A961958   DENNIS          DART                  CA          46085875109
1785893A691B38   SANDRA          SMITH                 NC          90015429306
1785931265715B   TRACY           RUSSELL               VA          90011053126
1785962482B857   GILBERTO        TAMEZ                 ID          90006176248
1785B759791569   CYNTHIA         QUINONES              TX          75013547597
1785BA8385715B   BRUCE           VARGAS                VA          90013110838
1786223A14B588   ANN             PERKINS               OK          90009282301
1786236115715B   RUGIATY         MUSA                  VA          81006933611
1786263474B26B   RICARDO         YEPEZ-JIMENEZ         NE          90014036347
1786344387B494   FRANCIELE       LISBOA                NC          90012204438
17865136672B62   ANDREW          HOPKINS               CO          90014861366
1786575A37B373   FRANCISCO       LOPEZ                 VA          90010457503
1786592417B489   ELEAZAR         SANCHEZ               NC          11033609241
1786611454B588   KENNETH         FREEZZELL             OK          90013181145
17866A41591588   WESLEY          KUNTZ                 TX          90012850415
1786767488438B   DANIEL          JERIDEAU              SC          19025106748
1786865775715B   CORNELL         BROWN                 VA          90015016577
17868661487B35   VEOLIA          LATTIMORE             AR          90000706614
1786885354B26B   LISA            ROTHWELL              NE          90010998535
17869598872B62   DANIEL          HERMAN                CO          90012855988
1786B1A8A91895   TERRY           GRAY                  OK          90015081080
1786B64323B396   ASHLEY          MICHEL                CO          90008956432
1786B65214B26B   MANUEL          GARCIA                NE          26023186521
1786BA82891569   YANIRA          LOPEZ                 TX          90009520828
17873133A91895   JOSE            DUARTE RECINOS        OK          90011811330
17873397A72B77   DANIELLE        JOHNSON               CO          90007383970
17873A86431687   JOLIE           DUTTARER              KS          90010100864
17877121A61976   ROSA            AGUILAR               CA          90011301210
1787792315B526   ROBIN           SLAMA                 NM          35011769231
178785A1961976   LUCY            LOPEZ                 CA          90007245019
1787935635B526   SUSANNA         ROBLES                NM          90012023563
1787B163361976   MICHAEL         SILVA                 CA          90013851633
1787B687A92894   CRISTOPHER      LAYMAN                AZ          90013936870
178845A1A5B526   MARIE           SEDILLO               NM          90012885010
1788465495715B   ROCAEL          ROSALES               VA          81070266549
1788691169373B   DANIELLE        JONES                 OH          90012419116
178874AA75B526   VERONICA        CHAVEZ                NM          90015524007
17887964A61958   SILVIA          OLIVEROS              CA          90012829640
1788798432B963   AMANDA          GOFF                  CA          90002429843
1788B4A7A6612B   PAYGO           IVR ACTIVATION        CA          90015044070
1788B55464B588   KEITH           COMPTON               OK          90003805546
1789119485715B   WILSON JAVIER   CABRERA LARA          VA          90010651948
1789167184B26B   MARILYN         LOUCH                 NE          26096536718
1789243A472B62   SHELLEY         GARDINE               CO          33086904304
178929A9A47956   MARIA           HERNANDEZ GUTIERREZ   AR          24061789090
17892A99561958   SERENA          PORTUGAL              CA          90015290995
178932A5381665   MATTHEW D       BARNES                MO          90012542053
1789615A14B26B   FRED            GUEVARA               NE          26093931501
17896A36955976   JUAN            ROSAS                 CA          90009800369
1789778425B366   BRENDA          SWARTZ                OR          44508787842
1789795425599B   RICHARD         HAMILTON              CA          90002429542
17897A1A95715B   JOE             SIMTH                 VA          90013080109
1789817A257147   ZELALEM         MITIKU                VA          90009141702
1789849154B588   DIANA           DAWSON                OK          90007804915
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178996A795B526   MARIA        SANCHEZ                  NM          90007926079
178997A254B588   CISCO        MORENO                   OK          90013037025
17899A2945B526   ROBBY        JOHNSON                  NM          90015590294
1789B581572B62   VICTORIA     THOMAS                   CO          90015045815
1789B77724B26B   ANDREA       FLORES                   NE          90004177772
1789B826A61958   ESTER        FRYKLIND                 CA          90014048260
1789BA69591588   NANCY        BORJON                   TX          75055260695
178B133195715B   ANTONIA      REMIREZ HERNDEZ          VA          81088183319
178B13A2661976   AIDA         RAMIREZ                  CA          90010803026
178B13A2A55976   ALBERT       AGUIRREQ                 CA          49055543020
178B1948972B62   NANCY        MENDOZA                  CO          90013139489
178B269714B588   SAMANTHA     DIAZ                     OK          90013796971
178B274865715B   ARIEL        BARRERA                  VA          81015127486
178B2787455976   CHRIS        CASTELLO                 CA          49019797874
178B362855715B   DANIEL       MONDRAGON                VA          90014606285
178B5734493738   MICHELLE     WILLIAMS                 OH          90008137344
178B7388755963   MARIBEL      LANGO                    CA          90002483887
178B771389373B   ERIN         BENTON                   OH          90010407138
178B922A75B154   MONICA       HORNE                    AR          23062192207
178B92A3972B62   ABNER        GONZALES                 CO          90006562039
178B9973855976   DANIELA      AGUAYO                   CA          90007779738
178BB687472B28   REBECCA      JONELL                   CO          90007796874
178BB82445B526   PATRICIA     JIMENEZ                  NM          90013568244
178BB95345715B   VICTOR       GUERRERO                 VA          90007379534
17912A54693725   TERENCE      SIMMONS                  OH          90001140546
1791324444B588   TREMAYNE     WISBY                    OK          90012002444
17913A88272B62   ESTRELLA     LOYA                     CO          90012110882
1791552887B428   MORATH       PAUL                     NC          11052325288
179159A8857147   JOSE         ABARCA                   VA          81043619088
1791693424B26B   KELLY        RICHTER                  NE          26084539342
17917347A7B323   SANDRA       PEREZ                    VA          90000863470
1791776569373B   BAILEY       TASHA                    OH          64586357656
17917AAA357147   JESSICA      PEREZ                    VA          90009290003
1791859235B526   DEBBIE       LUCERO                   NM          35074815923
1791888924B26B   COURTNEY     THOMPSON                 NE          90008188892
1791915514B576   JOSE         LEDEZMA                  OK          90011061551
1791951219373B   MS           MORGAN                   OH          64522355121
179196A1455976   BOUNSY       RATSAVONG                CA          90015166014
17919A3615B129   BOBBIE       CARRANZA                 AR          23057860361
17919A54891588   CINTHIA      CARDOZA                  TX          90007820548
1791B359424B82   ANTHONY      SMITH                    DC          90005293594
1791B36184B588   DEANDRA      WHITE                    OK          90014053618
17921593A72B3B   FILIBERTO    SAUCEDO                  CO          33030275930
17921A19333647   SANDRA       HOWARD                   NC          90010340193
1792242233363B   FABI         FABULOUS                 NC          90006554223
1792259314B26B   BRITTANY     BILLINGS                 NE          26087585931
17923888A61978   KARINNA      SILVAS                   CA          90014818880
17923AA4324B42   ALFREDO      BUSTILLO                 VA          90005970043
1792689978B193   JEFFREY      CHARLIER                 UT          90005018997
1792889672B582   DEWAYNE      FIELDS                   AL          90011008967
17929A5844B588   LEXEY        NOAH                     OK          90015230584
1792B381831447   NORMA        SMITH                    MO          90010013818
1792B87A95B526   BENJAMIN     MARTINEZ                 NM          34006268709
17931918172B62   DAVID        BERLIN                   CO          90012829181
1793257A155976   EUGENIA      PEREZ                    CA          49042705701
1793279465715B   DANIEL       WIAFE                    VA          90013907946
17932A61677539   DORINDA      MORENO                   NV          43025070616
17932A95657147   MATTHIAS     ARUNAH                   VA          81077100956
1793495314B588   SHALANDA     MCCURTAIN                OK          90015009531
1793525652B232   KEITH        SYLVESTER                DC          90007402565
1793574419373B   NIGEL        KING                     OH          90012237441
1793791715B154   JACQUELINE   JACKSON                  AR          90011349171
1793934A661976   MICHAEL      COLE                     CA          90014773406
1793979114B26B   SUHEY        TORRES                   NE          90014727911
1793B46535B154   MARY         MONROE                   AR          23081234653
1793B711961958   DANIEL       ANDERSON                 CA          90007487119
1793B81A891569   LINDA        KAMMERER                 TX          75021478108
17941532172B62   CARLOS       ARRIAGA AVILA            CO          90006115321
1794228724B26B   STEVE        SCHOONOVER               NE          26093412872
1794261365B526   NICOLE       ORTIZ                    NM          90010406136
1794396457B428   ISELA        LOPES                    NC          90008429645
1794466752B899   SCOTT        FRAZIER                  ID          90004336675
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179451A5993775   NANCY       PARKER                    OH          90008411059
1794746A661976   DANIA       MATTIS                    CA          90009364606
1794874694124B   CHRISTINA   CHERKEN                   PA          90010727469
1794875638B878   OWEN        RUSSELL                   HI          90014457563
1794883A172B62   BRIAN       GATES                     CO          90011258301
1794931749373B   ALICIA      LEWIS                     OH          90013633174
1794938864B588   DANIEL      COURTNEY                  OK          90014103886
1795269559373B   CORANNA     BURCHFIELD                OH          64591996955
17953A1942B857   WILLIAM     HICKEY                    ID          90013100194
1795613485B154   SHANDROA    WALLACE                   AR          90012711348
1795616185B526   ARMIDA      GRIEGO                    NM          35027761618
17957534972B62   ESPERANZA   MAGDALENO                 CO          90000245349
1795755685B526   AARON       LUJAN                     NM          90014865568
1795758719373B   BRYAN       PHIPPS                    OH          90006835871
17957A55561976   ENRIQUE     NAVARRO                   CA          90012290555
179582A8457147   JOSE        ROSA                      VA          90002512084
1795B53719373B   DENISE      HEDRICK                   OH          64563685371
1795B62784B588   ASHLEY      MEAD                      OK          90011206278
1796149665B154   CHRISTY     ALLEN                     AR          90009214966
1796317A82B387   MATT        FRANCO                    CT          90015041708
1796422A957147   ADOLFO      GARCIAZ                   VA          90011382209
1796455274B588   JESSICA     VARELA                    OK          90009285527
1796498918438B   QUANTELLA   PERRY                     SC          19016449891
17966984372B23   ROBERT      BONILLA                   CO          90007819843
17966A24672B62   LOURITHA    GILLIAM-BERNARD           CO          33045160246
1796817A99373B   LEKESHA     HURSTON                   OH          90011121709
1796858835B526   FIONA       PINKNEY                   NM          90008395883
17968631872B62   LORENZA     OROZCO                    CO          90010426318
1796929189373B   JEFFREY     COUCH                     OH          90013782918
179694A965B129   ANEICYA     CLEMENTS                  AR          90001824096
1796956975413B   MYSTIQUE    QUEEN                     OR          90015505697
1796B436791895   ALEXANDRA   HOLLAND                   OK          90009284367
1797117719373B   ALBERTO     ARENAS                    OH          90013681771
17971A2765715B   ALEXIS      VAZQUEZ                   VA          90013640276
17971A86261976   BLANCA      LOPEZ                     CA          90013990862
1797233965B526   DESIREE     MELENDEZ                  NM          35016173396
179732A7655976   OLIVER      ULLOA                     CA          90013782076
1797364777B489   ANGELA      SMITH                     NC          11011566477
1797374273B396   JOSEPH      GREENBERG                 CO          33089997427
179769A5155976   JANIE       SANCHEZ                   CA          49025579051
1797873A35715B   SANDRA      CASTRO                    VA          90012217303
17979997492B47   ALEJANDRO   AMBROCIO                  WI          90015349974
1797B394285942   LAURA       MORSE                     KY          67013343942
1797B454A55945   MICHAEL     CORTEZ                    CA          90007934540
1797B8A9391569   SANCHEZ     PAULA                     TX          90005348093
1798277657B423   SHEILA      BISH                      NC          90013807765
17983A97972B64   STEVE       AKITA                     CO          33092260979
1798477A372B62   CLYDE       HANLEY                    CO          33098267703
1798723A531687   SAMANTHA    ROSS                      KS          90008482305
17987386A97B38   BRANDI      SMITH                     CO          90008183860
17987AA685598B   JORGE       MARTINEZ                  CA          49073020068
179881AA491569   PACO        RIVERA                    TX          90013611004
1798829497B443   BRAD        PRISETTE                  NC          90011182949
179883A7772B62   SARAH       LUCERO                    CO          90012373077
1798922435715B   EVA         SORTO                     VA          90013552243
17989229276B52   ESTRELLA    RICO                      CA          90006172292
1798981A991588   MARITZA     FERNANDEZ                 TX          90008908109
17989A71572B62   ASHLEY      GALLEGOS                  CO          90011750715
17989A8245B526   MADRIGAL    DAVID                     NM          90004370824
1798B12A99373B   GRACE       DERRICK                   OH          90010481209
1798B56555B526   ELOISA      SANCHEZ                   NM          90014865655
17991932A47956   CRAIG       ADAMS                     AR          24052449320
17992132891B38   HUBERT      DOWNEY                    NC          90014331328
17993AA397B489   BARBARA     DAVIS                     NC          90005500039
17994598A5715B   ROGOBERTO   VALENZUELA                DC          90006645980
17994A71A91569   GABRIELA    GARCIA                    TX          90013370710
1799546A261987   ALONZO      PACHECO                   CA          90014034602
1799565832B249   DANIEL      RAMOS                     DC          81028516583
1799799A54B26B   NICCO       HIGHTOWER                 NE          26028729905
1799877395715B   JO          KELLY                     VA          81033097739
17998A72291895   KIMBERLY    FOREMAN                   OK          90010630722
17998A98651542   AMBER       THARP                     IA          90015150986
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 17999261A91569   GUSTAVO       CASTRO                 TX          75042062610
 1799962935B526   CHANDRA       BARELA                 NM          90006326293
179996A665B154    SHIRLEY       SYRUS                  AR          90015056066
1799B356972B38    ERIKA         VALENCIA               CO          90011713569
 179B2117861958   ANDREA        ISIDRA                 CA          46005191178
179B3681A4B588    JAMES         ROSS                   OK          90010886810
179B5531A91588    KARLA         ORTIZ                  TX          90005275310
179B558154B268    MARY          HARWOOD                NE          27051745815
179B59AA891895    CHRISTOPHER   DAWSON                 OK          90013129008
 179B7223491895   ELIZABETH     ROJAS                  OK          90004942234
 179B7364691569   ILDA          FRESCAS                TX          75076453646
179B7473A93727    CHARME        WARD                   OH          90001424730
 179B7573761976   MARIO         DETORRES               CA          90010315737
 179B7669961958   PERLA         ALVAREZ                CA          90015306699
179B78A6A31687    MISTI         DAVIS                  KS          90014248060
179B859135715B    WALLA         OMAR                   VA          90007515913
179B871778438B    JAMES         JAMES                  SC          90007457177
 179B8826647956   KENNETH       LENZY                  AR          90011968266
 179B9367961976   YOLANDA       CARDOZA                CA          46014473679
 179B9691391569   JONATHAN      GONZALEZ               TX          90013166913
179BB13484B26B    JAHSWILL      EKELE                  NE          90008471348
179BB149861976    JOSE LUIS     VERGARA                CA          90010871498
179BB21414B26B    LUIS          HERNANDEZ              NE          90005592141
179BB69A24B588    VICTORIA      OYELADE                OK          21592936902
179BB69A85715B    DANIA         RESQUIN                VA          90002636908
179BB8A2955963    JUAN          LOPEZ                  CA          90005628029
17B1112727B489    JUSHEEM       BROADHEAD              NC          90003231272
17B111A4761976    SYLVAIN       TAYLOR                 CA          90007471047
17B1148613B38B    PEARIE        MINKLER                CO          90000194861
 17B11528397126   MARIA         NAMBO                  OR          90014185283
17B115A1991569    REYNA         VASQUEZ                TX          75065445019
17B1217638B863    LOHELANI      NABESHIMA              HI          90015351763
17B1225915B129    ROSALIDA      SANTOS                 AR          23067412591
17B1259944B26B    LILIANA       DE GONZALEZ            NE          26002795994
17B12A7A39373B    TAMMY         LOUGHMAN               OH          90013590703
17B12AA465715B    CHERYL        HOLLIDAY               VA          90014670046
 17B13281161925   DENNIS        KNIGHT                 CA          90000612811
 17B13577791588   GUADALUPE     LUNA                   TX          90014665777
 17B13761347956   JENNIFER      ROBERTS                AR          90009717613
17B1467A891569    MARIA         BARRAZA                TX          90015216708
17B1482A75715B    MIRNA         PINEDA                 VA          81093678207
 17B15329655976   TASHA         LYDAY                  CA          90012323296
17B1591374B26B    DANIELLE      MAHLOCH                NE          26046339137
17B15A7777B274    CLARISSA B    NICASSIO               AZ          40538280777
17B16225A47956    ARACELY       RODRIGUEZ              AR          90014732250
17B1632198438B    DAVID         EVANS                  SC          19086233219
 17B16341131687   WENONAH       TURNER                 KS          22021963411
 17B16363457147   TRACEY        AUGUSTIN               DC          90014163634
 17B16536247956   BERENIZ       DIAZ                   AR          90014815362
17B1662885B154    TOMMY         MOLDEN                 AR          90014226288
17B167A3A61958    ELA           OSUNA                  CA          90013777030
 17B16964961958   RAMON         CERVANTES              CA          90012939649
 17B17381147956   ANTOINE       GOOLSBY                AR          24084363811
17B1846A131664    ROBERT        SHIPMAN                KS          22005174601
17B18732A5B526    DAVID         TAFOYA                 NM          90014977320
17B1894834B588    RACHEL        LARAWAY                OK          21502109483
17B18A49161976    RUBEN         DURANTE439             CA          46041180491
17B19376972B62    JACKIE        ZAMORA                 CO          90012143769
17B1956814B588    CHELSI        YOUNG                  OK          21554705681
 17B19951641384   MARCO         ANTONIO                MA          90015489516
17B19A2572B894    DOUGLAS       EISENBERG              ID          42004780257
17B1B78A777539    MARIA         NUNO                   NV          90011787807
 17B21358961938   GUADALUPE     TORRES                 CA          90009903589
17B2137324782B    YOLANDA       RICE                   GA          90012843732
17B21AAAA4B26B    RAMONA        MOON                   NE          26069780000
 17B22358147956   BRITTANY      THOMAS                 AR          90014793581
17B223A7761938    SHAY          RUFFIN                 CA          46015873077
 17B22891657147   WALTER        VARRIOS                VA          81005288916
17B2289A672B64    MAYRA         LAGUNAS                CO          90003148906
17B22A18477539    FATTAHIL      ZUBAIR                 NV          90002070184
17B2341639373B    MARKEISHA     FAVORS                 OH          90014714163
17B2436A491588    FRANCISCA     RODRIGUEZ              TX          90012133604
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17B24635561976   AIOTEST1      DONOTTOUCH              CA          90015116355
17B24A3425715B   REYMUNDO      CORENA                  VA          90006540342
17B25299431468   SHARMEL       SHARMEL                 MO          90001862994
17B26299457147   EGLA          FERRUFINO               VA          90010232994
17B26378547956   KEVIN         GETTRIDGE               AR          90014793785
17B2649199373B   JAMES         ROWN                    OH          90011504919
17B26AA8661958   DON           HILL                    CA          90010480086
17B27187772B62   CHAZ          MARTINEZ                CO          90012751877
17B2736922B954   NINOUS        TAWAR ALKUB             CA          90003673692
17B28682561947   PHILIP        JOHN                    CA          90005656825
17B28817791895   NICKEY        ALLEGREZZA              OK          21023878177
17B29A72A61958   RENE          MARQUEZ                 CA          90014850720
17B2B739255976   BENITO        VELAZQUEZ               CA          90012047392
17B2B8A8831687   TIMOTHY       KEMP                    KS          90014038088
17B31124724B5B   DAVID         CURLEY                  DC          90013941247
17B31249355976   MONIQUE       RODRIGUEZ               CA          49034272493
17B31778A5715B   ZINAR         ALI                     VA          90015147780
17B32289291586   JOSHUA        NOLL                    TX          90007572892
17B33183291569   GLORIA        URQUIDI                 TX          90011131832
17B3415A65715B   IVETH         GARCIA                  VA          90010431506
17B34876657147   GLORITA       ADOM                    VA          81069018766
17B35325391569   MIGUEL        RODRIGUEZ               TX          90004013253
17B3559A191588   JESUS         ESTRADA                 TX          75091925901
17B36367654122   LINDA         STEBER                  OR          90011593676
17B36559691588   JESUS         PAYAN VILLA             TX          90013865596
17B36A39A5B526   NAYELLY       MARTINEZ                NM          90010590390
17B3818499373B   DEVANEY       JONES                   OH          90006881849
17B39129A4782B   XAVIER        PERKINS                 GA          14072121290
17B39371161958   ARTURO        HERNANDEZ               CA          46074853711
17B3984915B154   FABIOLA       TORRES                  AR          90010968491
17B3B892191588   PRISCILIANO   ROJAS                   TX          90013028921
17B3BA5155B154   CHRIS         SHELTON                 AR          90014610515
17B3BA9A361938   SHANE         LISTON                  CA          46064040903
17B41556147956   MASHONA       REAGAN                  AR          90014795561
17B41682A91827   CLARISA       SOSAVILLANUEVA          OK          90014756820
17B41748572B62   JACOB         RIBBLE                  CO          90014887485
17B4244684B26B   KHULOUD       ALWAELY                 NE          90013164468
17B42A34161958   ALMA          PARRA                   CA          90007780341
17B43556147956   MASHONA       REAGAN                  AR          90014795561
17B43566631687   VELLA         MITCHELL                KS          22035305666
17B4374A557124   REINA         MORALES                 VA          90008447405
17B4398185B154   TOLYIA        ARCHIE                  AR          90002659818
17B44379161976   RACHEL        SANTIAGO                CA          46017523791
17B4449579373B   SHADARA       JENNINGS                OH          64583334957
17B44765791977   CEDRIC        ROBINSON                NC          90007987657
17B4541639373B   MARKEISHA     FAVORS                  OH          90014714163
17B45593291569   WALESKA       LOPEZ                   TX          90012385932
17B45981672B84   CHRIS         HANSEN                  CO          90010989816
17B46174461976   ALICIA        RODRIGUEZ               CA          90003001744
17B46244347956   JOSHUA        STEPHENS                AR          90009382443
17B46596647846   MAKINA        CONAWAY                 GA          90012085966
17B4717725715B   MARY          TRIPP                   VA          90010431772
17B47894591588   CYNTHIA       BARELA                  NM          90012688945
17B48191861976   JUAN          RAMIREZ                 CA          90012471918
17B4856815B154   TERESA        BOYKIN                  AR          23021295681
17B4999A855987   ROSA          MACLOVIO                CA          90012599908
17B4B284177539   CHANTILY      SMILEY                  NV          90011742841
17B4B671961938   RICHARD       HASIKA WILLIAMS         CA          46063976719
17B51599691569   ELVA          OCHOA                   TX          75036905996
17B51695955976   ROBERT        MUNOZ                   CA          90007546959
17B51959A61976   CHRISTHIAN    MACHADO                 CA          90010489590
17B5213665B526   MANUEL        RASCON                  NM          35094671366
17B52385457147   JAIME         CACERES                 VA          90004673854
17B5296794B588   LAKESHA       HARRIS                  OK          90009199679
17B531A9791588   SAMANTHA      BA VACA                 TX          90014771097
17B53854572B62   ELOHIM        BUSTOS                  CO          90013698545
17B53A9174B588   VICTOR        ZAMORA                  OK          90012390917
17B54244491569   RANGEL        ZULMA                   TX          75060642444
17B5463685B526   ERICA         SAAVEDRA                NM          90005476368
17B55313791569   ALBERTO       ORTIZ                   TX          90014803137
17B5569313B128   TRACY         FENWICK                 DC          90006216931
17B55A2965B526   ELOISE        DURAN                   NM          90003540296
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17B56716772B62   ROBIN             DOTSON              CO          33066787167
17B56A8424B543   MARVIN            BABE                OK          90008890842
17B57216661976   JAZMIN            MONSALVE            CA          90015092166
17B57395861958   NUBIA             MORENO              CA          46074853958
17B57896491263   KELI              CALLOWAY            GA          14574068964
17B58175291895   MICHELLE          WADE                OK          90014251752
17B5866814B588   LIZ               MOORE               OK          21576946681
17B59A7524B26B   CECILY            COULTER             NE          90001540752
17B6118165715B   JOSE              REYES               VA          90009591816
17B6131AA5B526   NATIVIDAD         AGUILAR             NM          90013233100
17B62358A47956   BRITTNEY          KANUL               AR          90014803580
17B63474155976   MICHELLE          JIMENEZ             CA          90014844741
17B63636157147   ELMER             GONZALEZ            VA          90014796361
17B6414469373B   CHARLES           LORIMER             OH          90011411446
17B64548861938   LUIS              GONZALEZ            CA          46063975488
17B64A3318438B   RUSSELL           JENKINS             SC          90007100331
17B65134772B62   PORFIRIO          SERNA               CO          90014901347
17B65418A47956   REBECCA           MCGANN              AR          90014804180
17B65975355976   MONIQUE           HERNANDEZ           CA          90011059753
17B66139755976   CINDY             HANG                CA          90006281397
17B66275593783   CYBIL             POOLE               OH          90001682755
17B66364191569   ALFREDO           ESTRADA             TX          90003143641
17B6746565B154   KIARA             COLEMAN             KY          23040504656
17B6B21585B129   DEBRA             WINFREY             AR          23045012158
17B724A5455976   ROSARIO           ROQUE               CA          90014014054
17B72886A91895   FRANSISCO         VILLATORO           OK          90012678860
17B72AAAA9373B   CHAD              HALL                OH          90011050000
17B7361737B337   FELEKU            ABEBE               VA          90003066173
17B73883A91569   DIANE             GONZALEZ            TX          90004518830
17B744A135B154   CHRISSY           TURNER              AR          90008664013
17B74528772B62   DEBRA             LUCERO              CO          90014895287
17B74717A4B26B   ALFREDO           SOTO                NE          90015107170
17B74A1579373B   VICTOR            CHAVEZ              OH          90013840157
17B75153691895   SHONDALE          FOWLKES             OK          90014501536
17B7534715715B   ELISA             GOMEZ               VA          90013633471
17B753A2855935   KATHY             BROWN               CA          49074133028
17B76114457147   ARLITA            HINES               VA          90015191144
17B7685738B194   JAIME             MEDINA              UT          90010898573
17B76A31254122   LORENA            SEDANO-ROBLEDO      OR          90002280312
17B78735861958   JIMMY             ROMERO              CA          90010797358
17B78873561976   PLACY             ODNER               CA          90006028735
17B7923649373B   BRANDON           GREENE              OH          90013092364
17B79754A55976   KINGSLEY          OMWANGHE            CA          49092587540
17B7991AA91569   LUIS              NUNEZ               TX          75086059100
17B79954A5B526   IRMA              FLORES SUAREZ       NM          90005609540
17B7B981131687   JONATHAN          HOOVER              KS          22095949811
17B7B994277539   VANESSA           SCANLAN             NV          90003169942
17B81474477539   TONNA             MCNALLY             NV          90011794744
17B81524361976   PAOLA ALEXANDRA   SUAREZ CALDERAS     CA          90014765243
17B84225A47956   KAREN             SMITH               AR          90014522250
17B84A1A555976   CHRISTOPHER       ZAHARIADES          CA          90011060105
17B84AAA35715B   ANGEL             AGUILAR             VA          90013580003
17B85428761958   MIGUEL            VALADEZ             CA          90012564287
17B8629935B526   CYNTHIA           QUINONES            NM          90013982993
17B86757261976   WILLIAM           SWANN               CA          90003767572
17B8682424B26B   SERGIO            MONTES              NE          90013328242
17B8682A67B43B   RASARIO           JIMENEZ             NC          90005908206
17B87884547956   PATRICIA          FIGUEROA            AR          90014808845
17B88479791569   CINDY             GOMEZ               TX          75005764797
17B8965A631687   FRANCINE          INYANG              KS          90000946506
17B8B785647956   JONATHAN          CHRISTIE            AR          90014807856
17B8B872424B44   CECILIA           OLMEDO              DC          90002888724
17B8B959576B2B   JAVIER            PEREZ               CA          90001569595
17B91645191263   STARLA            ROBINSON            GA          90013006451
17B91A38357147   SANDRA            CACERES             VA          81033470383
17B91AA569373B   BRITTENY          MCCAIN              OH          90010480056
17B92399272B44   BEN M             PAREFSKY            CO          90004833992
17B9239A85B154   KRYSTAL           JAMES               AR          90007993908
17B92627831687   NICOLE            CROW                KS          90013866278
17B9396888438B   AKEISHA           PEQRSON             SC          90007319688
17B94333957147   MARIA             PARADA              VA          90012423339
17B94512277539   ANGELINA          GONZALEZ            NV          90011795122
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17B94546761976   OMAR                SANCHEZ           CA          90014745467
17B95288531687   SUSAN               TOLIN             KS          22046102885
17B95434872B4B   DAVIS               GADISON III       CO          90012754348
17B9624415715B   MICHELLE            VANHORN           VA          90009522441
17B96612361976   JESSICA             SOTO              CA          90005146123
17B96814261958   CAMPOS              TAMARA            CA          90001848142
17B96972777539   EDGAR               RENTERIA          NV          43075839727
17B97328491569   ROSA                SANTILLANA        TX          90011773284
17B97468261976   KENNETH             BRANDT            CA          90014774682
17B98124472B62   ALEJANDRO           AGUILAR           CO          90012631244
17B98298661976   MICHAEL             BARAJAS           CA          90013682986
17B98688A7B436   PABLO               SANTOS            NC          90011506880
17B9972A54B588   GILL                PEREZ             OK          90001857205
17B999A9631664   JACONA              GILLESPIE         KS          22054129096
17B9B594291569   CESAR               CABRERA           TX          90008375942
17B9B669872B62   MICHAEL             BOYCE             CO          90013696698
17B9B67A891569   MARIA               BARRAZA           TX          90015216708
17B9B811A5B526   MARIAH              BROWN             NM          90014888110
17B9B861191588   VICTORIA            RODRIGUEZ         TX          75085198611
17BB1474747956   LAKENA              CLARDY            AR          90014814747
17BB1779561976   FRANCISCO           PEREZ             CA          90014737795
17BB1886955934   JUAN                LOZANO            CA          49094528869
17BB188785B154   JUNI                HERRERA           AR          23030028878
17BB21A8561976   XZOCHIL             GONZALEZ          CA          90008241085
17BB2A36955976   MAI                 YER               CA          90013030369
17BB4942647956   JACQUELINE          HOODENPYLE        AR          90014789426
17BB521155B526   LEANNE              GRIER             NM          35017542115
17BB564AA72B62   HEMPHILL            WENDY             CO          33001916400
17BB5723447956   MARY                BUSBEE            AR          90001477234
17BB591A35B348   NILESH              CHAUDHARY         OR          90010029103
17BB5993861958   CHRISTOPHER MILES   STAFFORD          CA          90014669938
17BB5A5149373B   DANIEL              BUTCHER           OH          64557840514
17BB6239455976   MIGUEL              FIGUEROA          CA          90014832394
17BB66A7555976   ALICIA              TRISTAN           CA          90012626075
17BB817984124B   BRUCE               FUNK              PA          51012251798
17BB8919A7B489   CARLOS              GARCIA            NC          11045379190
17BB8928961976   JONATHAN            GERALDO           CA          90013779289
17BB8AA685715B   JASON               HAY               VA          90014160068
17BB95A4961976   JOSEFINO            SALIBA            CA          90014745049
17BB9856891569   ELIZABETH           DIAZ              TX          90010778568
17BB9913131687   NANCY               BERNARD           KS          22029269131
17BBB16255715B   ELIZAI              PEREZ             VA          90012351625
17BBB555A8164B   RACQUEL             RAMIREZ           MO          29030875550
17BBB57948B194   HENRY               RADFORD           UT          90013765794
18111894172B62   SHAWN               MCKNIGHT          CO          33040868941
18112491872B62   BEATRIZ             VELA              CO          33033714918
18113A1229373B   WAYNE               LAWRENCE          OH          90009760122
18113A52991523   CARLOS              ALVAREZ           TX          90012570529
18115337A51337   DONNA               FOSTER            OH          90013813370
181153A953162B   MIRRIAH             GUTIERREZ         KS          90006243095
181163AA981639   JOSE                GUARDADO          MO          29010313009
1811661635715B   ARMANDO             PEREZ             VA          81027496163
1811694624B26B   KRISTY              HILLE             NE          90010379462
1811756415715B   ALEXANDER           ALONZO            VA          81026435641
18117623172B23   ADOLPHUS            UGEH              CO          33005856231
1811784359373B   DANIELLE            BYRD              OH          90013158435
1811828423B392   ELAINE              BUI               CO          90007632842
1811887575B285   RANODRIA            RUTLEDGE          KY          90013508757
1811891774B588   ERNESTINA           MENDOZA           OK          90013279177
1811918A461958   SAN DIEGO           WHISPER DE        CA          46059181804
1811995A55715B   JAVON AND HANNE     GASKINS PARAISO   VA          90013379505
1811BAA1257579   LEE                 GONZALES          NM          90014120012
1812257852B655   SOLOMON             SANCHEZ           WA          90015375785
18122A77351337   NICOL               PRYOR             OH          66002060773
1812383299373B   JERRY               DUKE              OH          90014568329
1812491A34B26B   JOSEPH              SMITH             NE          90014849103
18126413A51359   MELIA               SHABAZZ           OH          90014924130
1812689159373B   TYE                 SMITH             OH          90012608915
181271AA691569   ALEX                RODRIGUEZ         TX          90015331006
1812813175B526   DEBORAH             HOWARD            NM          90014491317
1812862289373B   AMRIMIA             WILLIAMS          OH          90011266228
18128AA8351337   MARTINA             SMITH             OH          90014300083
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1812B371191569   TONYA             RODARTE             TX          90014123711
1812B6A3185966   VANESSA           CARSLEY             KY          90014436031
1812B93A261958   CARLOS HUMBERTO   CALOA               CA          90004729302
1813392194B588   HANNAH            WRIGHT              OK          90014189219
1813472682B232   MELISSA           DARNELL             DC          81007197268
1813547135B526   ARLIN             GONZALES            NM          90002694713
1813565519373B   HERBERT           SMITH               OH          90011266551
1813579A15B526   GENE              GRAYSON             NM          90010897901
18135A8164B26B   LUVRECIA          MAY-LAZARO          NE          90010560816
1813715455B526   JOSIE             MONYE               NM          90015091545
18139537A51359   MICHAEL S         TAYLOR              OH          90013575370
18139A91961938   NATALY            MARTINEZ            CA          90004970919
1813B446791944   GILBERTO          RAMIREZ             NC          90005154467
1813B542591523   CARMEN            PEREZ               TX          90005195425
1813B686A5B526   MARIA             LOPEZ               NM          35075176860
1813B818161958   GRACIE            GONZALEZ            CA          46034558181
1813B82795715B   WILMER            BONILLA             VA          90013968279
1814187875B154   BILLY             DEWITT              AR          23067788787
18141A79A4B26B   GRACIELA          SALAZAR             NE          90001800790
18142231A9373B   TAMARA            GARRETT             OH          90009132310
1814285A45B129   ALETA             WATSON              AR          90005418504
1814358A472B62   JERICENA          BUNDY               CO          33017195804
1814382374B26B   STEVEN            SHIFFERMILLER       NE          26081588237
1814688384B26B   AMAL              OSMAN               NE          26053658838
181468A9191569   CHRISTOPHER       PERRY               TX          90015148091
18147538A61958   LUWANA            MESA                CA          90014885380
1814781525715B   DAIVD             SANCHEZ             VA          90011538152
18148132572B62   JULIO             ESTRADA             CO          33041301325
1814898267B489   JESSICA           DELAVEJA            NC          90012909826
1814925818B167   DIANA             LAKE                UT          90005422581
18149868372B62   MARTIN            GARCIA              CO          33038528683
1814B615191523   SERGIO            SALAZAR             TX          90004936151
181514A1472B62   JERED             MBO                 CO          90010334014
181515A7861958   KENNETH           ANDERSON            CA          90013495078
1815161A23B394   GLORIA            LEDESMA             CO          90013956102
1815179394B26B   SYLVESTER         WILLIAMS            NE          90013947939
1815183167B489   JERONIMO          ORIAL               NC          90005988316
1815267A85715B   GLENDA            HERNANDEZ           VA          90014886708
1815312A654122   TROY              BAILEY              OR          90006431206
18155478A61958   ABBIE             GISSENDANNER        CA          90010614780
1815562865715B   FRANKLIN          BRANCAMONTES        VA          90011266286
1815573369373B   MITCHELL          COWAN               OH          90011267336
1815574A693727   ASHLEY            COMER               OH          90009687406
1815589955715B   YENNIO            NAVAS               VA          90013968995
1815642718438B   BRENETT           DILLAHUNT           SC          19018214271
1815666915B154   AMANDA            GROSS               AR          23005216691
1815695455B154   AMANDA            GROSS               AR          90013859545
181593A124B287   JORDAN            HALSTEAD            NE          90011423012
18159993A91524   BONNIE            ORTIZ               TX          90010229930
1815BA22257147   DELIA             RAMIREZ             VA          90013190222
1816145A191523   NINA              SEGOVIANO           TX          90003094501
18162546A61938   EMETERIO          HERNANDEZ           CA          46046265460
181647AA35B154   ALEX              PERRY               AR          90015207003
181649A7755976   NESHA             JENNINGS            CA          49096079077
181654A274B588   SHANE             ELLEDGE             OK          90014644027
18165664A51359   SHANE             HOWARD              OH          90015166640
18166673A9373B   RICHARD           GRIGSBY             OH          90014686730
18166A35361938   ARASELY           L MIRELESS          CA          90011400353
1816742144B287   ROB               GRAFF               NE          27021904214
1816755169373B   JENNIFER          HARDY               OH          90014705516
1816781439373B   QUILLA            RUSSELL             OH          90011268143
1816896444B588   LOUIS             DEWAYNE             OK          90006579644
181694A4751337   JTRICE            JORDAN              OH          90003504047
18169A5554B588   MARLA             PEARCE              OK          90013270555
1816B65425B154   BERNARDO          RIVAS               AR          90012436542
1816B68AA72B62   RICKY             MARTINEZ            CO          90013296800
1816B81854B26B   JUNIATA           PATRICK             NE          90007028185
1817131148438B   SYMIRA            RICHARDSON          SC          90006473114
181714A7491523   FEDERICO          MARQUEZ             NM          90013934074
1817186AA51355   CHRIS             COLLINS             OH          90014358600
18172323424B55   JOSEPH            FOWLKES             VA          90013673234
1817233A557127   RAIHAN            TALEB               VA          90002633305
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1817285988438B   RANGER      SEGUNDO-TIBURCIO          SC          90010968598
18173148A9373B   TOMMY       KENNEDY                   OH          90014671480
1817379395B154   SANDRA      RUSH                      AR          90014107939
18173A38972B62   DANIEL      DELGADO                   CO          90013210389
1817444215715B   ALISON      FLORANZ                   VA          90010614421
1817445275B526   MARIA       CERVANTES                 NM          35071814527
18174912A4B26B   CONNIE      WRIGHT                    NE          26033329120
1817581952B227   ULISES      MORALES                   DC          90009718195
1817635625715B   RAUL A      MENJIVAL                  VA          90013093562
181768AA85B526   ANNA        RAMIREZ                   NM          90010898008
181787A9391523   JUAN        PARADA                    TX          90007197093
18179379472B62   MARIA       LIRA                      CO          33070093794
1817941695B526   PEDRO       SANTILLANES               NM          90013954169
1817959595715B   DANIEL      LOPEZ                     VA          90015175959
1817973A95B154   CARENDA     BROWN                     AR          90007947309
18179A3754B565   JENNIFER    EVANS                     OK          90005810375
1817B116251355   MANUEL      VILLATORO                 OH          66071261162
1817B494A61938   MICHAEL     MURPHY                    CA          46098054940
1817B748A3B364   RUBY        CARRIER                   CO          39057087480
1817BA13A91569   MILAGROS    OVANDO                    TX          90014080130
18181A11451355   JERRY       HAMMOND                   OH          90004020114
1818279A657147   MUHAMMAD    IMRAN                     VA          90010507906
1818519425B154   ANTHONY     OATES                     AR          23015431942
1818593895715B   RUDDY       SUAREZ                    VA          90013969389
181863A895715B   YU CHEOL    CHOI                      VA          90014973089
1818668AA9373B   LATONYA     CHATMAN                   OH          90014686800
1818876248438B   SHAKEARA    SINGLETON                 SC          90000947624
1818B6A444B588   GEORGE      CORNICH                   OK          90010476044
1818B95164782B   ALISIA      WILLIAMS                  GA          90007139516
1818BA9695B154   KORIA       ROBINSON                  AR          23022420969
1819112774B588   PHIIP       MARTIN                    OK          90012311277
1819223815B129   KIM         BOOTH                     AR          23012072381
1819229845B526   SAMANTHA    TAPIA                     NM          90014222984
1819315168B134   RYAN        MCLELLAND                 UT          31024321516
18193289A91895   ASHLEY      CALLAWAY                  OK          90010772890
1819332655B526   CRYSTAL     VALDEZ                    NM          90009623265
1819388685B129   TABITHA     RICKS                     AR          23056598868
1819413754782B   DARRELL     TAYLOR                    GA          90005951375
181945A8857147   SANTOS      REVELO                    VA          81096085088
1819537238438B   TRINETTE    CUNNINGHAM                SC          90001783723
1819543A261958   JESSICA     FLETCHER                  CA          90008344302
18195497A9373B   CHRISTY     SAMS                      OH          90013954970
1819583955B154   ASHLEY      CHATMON                   AR          90014648395
181969AA45715B   AMANDA      REVERON                   VA          90011539004
181973A385B526   KAREN       GUTIERREZ                 NM          90013913038
18197519136B83   NELSON      VALADEZ                   OR          44557495191
1819823123B368   CHARLOTTE   ZUMBACH                   CO          33058322312
181984A3555976   NICOLE      LANEY                     CA          90013184035
1819868AA4782B   DIANE       CLEMONS                   GA          90011636800
1819925698B863   SHANTEL     AMULACION                 HI          90014532569
1819973615B154   MONTIEL     AVALOS                    AR          23064817361
1819B27364B26B   WENDY       WUNDER                    NE          90006832736
1819B4A898438B   SHELIA      OLIVER                    SC          90006474089
181B1849A31687   MARY        HOLLUMN                   KS          22011848490
181B1913961958   ROOSEVELT   WILLIAMS                  CA          90013499139
181B21A1561938   HECTOR      FARERRA                   CA          90011361015
181B2785191263   HERBERT     BROKS                     GA          90009037851
181B322754B26B   ANGIE       SZELAG                    NE          90010642275
181B3557572B62   VERONICA    PETERS                    CO          90011015575
181B437A355976   ADYLENE     BERNAL                    CA          49096973703
181B4517761958   JENNY       MENDOZA                   CA          46082035177
181B4771285966   JOSH        SIMS                      KY          90011517712
181B47A515B526   SUSAN       WILKES                    NM          90001487051
181B49A1A91523   JUDITH      RIVERA                    TX          75093109010
181B5292231687   ALLYSA      JOHNSON                   KS          90013332922
181B5863855976   ELSA        SOLIZ                     CA          90014728638
181B673817B39B   MICHAEL     COSS                      VA          90001467381
181B67A1A57147   NELLY       REVILLA                   VA          90014187010
181B6985161938   DERRICK     JACKSON                   CA          46066469851
181B712485715B   JOSE        HUMBERTO SANTOS           VA          81093291248
181B739A285966   STEPHEN     JONES                     KY          90014433902
181B7A5757B854   THOMAS      MC GEE                     IL         90008820575
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181B8154A81639   MARGARET    LOVE                      MO          29098171540
181B8227857125   OSCAR       MENENDEZ                  VA          81008962278
181B8298757147   MARINA      AYALA                     VA          90013122987
181B8316A91569   JUANA       FIERRO                    TX          75021793160
181B849824B26B   MONIQUE     GREEN                     NE          26043094982
181B8936991327   LANISSA     HILL                      KS          90010699369
181BB946441255   JAMES       ROSTEK                    PA          90011889464
1821142A161938   GENOVERA    ROBINSON                  CA          46085124201
1821182394B26B   LORI        LIVINGSTON                NE          26069438239
1821252924B26B   GANES       KUFUTA                    NE          90010215292
1821335A94B254   ASHLEY      SHELBY                    IA          27044043509
18213833A57124   ONEYDA      GARCIA                    VA          90013938330
1821425654B26B   BRENDON     SMITH                     NE          90014162565
1821486939373B   MELISSA     BROWN                     OH          64508418693
18215237A57124   OSCAR       GOMEZ                     VA          90003162370
1821554364B588   ISMELDA     TEEL                      OK          90010835436
1821598145715B   AMADOR      VASQUEZ                   VA          90013969814
18215A2645715B   CARLOS      CORLETO                   VA          81038940264
18216562176B52   OSCAR       ROSALES                   CA          90005885621
18216A32951337   AMANDA      GLASGOW                   OH          66005160329
1821947395715B   OSCAR       RIVERA                    VA          90014394739
1821973779373B   ITASCA C    BRYANT                    OH          90013927377
1821992A54B588   SHAWNEE     BOYNCE                    OK          90013279205
1821B637281639   DENISE      MABON                     MO          90007936372
1821B841331687   ASHLEY      DIAZ                      KS          90013518413
1822124A95B154   ANGELA D    MCFADDEN                  AR          23002052409
182212A7857557   CLAUDIA     CONTRERAS                 NM          90003712078
182217A899373B   TOYIA       ZACHERY                   OH          90012437089
1822235735B129   AARON       UPPERMAN                  AR          90005423573
1822253728438B   TIFFANY     DELESTON                  SC          90001425372
182229A6671927   LUCY        SCARANDA                  CO          90000569066
18222A62372B3B   PAM         HOUGHLAND                 CO          33014080623
182231A8291B43   MICHAEL     NEWMAN                    NC          90015421082
182232A468438B   HEATHER     ABLE                      SC          19051892046
182237A389373B   SHIRLIE     LAIRD                     OH          90014687038
1822462315715B   MEHRET      TEKLE                     VA          90003896231
18225643927B36   BRICIO      ALAMILLO                  KY          90015346439
1822577A472B34   BILLIE      GREGORY                   CO          33055217704
1822637AA51359   ANDREA      COLEMAN                   OH          90000363700
18227669A61958   PATRICE     DONLOE                    CA          90012826690
1822775435B526   RAQUEL      CARBAJAL                  NM          90011127543
1822871378B123   BARBARA     SPENCER                   UT          31082687137
1822872744B588   DAVID       DELANA                    OK          90008917274
182292A3757147   RICHARD     PRICE                     VA          81093412037
1822B942257147   BERNARD     MILBURN                   VA          90014499422
1822BA82691523   RAUL        CASTRO                    TX          90001950826
182321A9331687   JEREMY      BROWN                     KS          90013651093
18233219472B62   OTILIA      GARCIA                    CO          33001652194
1823379199373B   JASON       MEADOWS                   OH          90014687919
18233891A8B863   ESMERALDA   VALENZUELA                HI          90015298910
18233A19A55928   MARIA       PEREZ                     CA          90002760190
18233A9174B588   MICHELLE    BELK                      OK          90011390917
18234195272B37   ONIT        TME                       CO          90005171952
182341A644B588   DORIAN      MARTIN                    OK          90008251064
18234745A5715B   NINETH      HERNANDEZ                 VA          90011267450
182349A229373B   MARY        CHATMAN                   OH          90009999022
18235A6119373B   MONIKA      INTSIFUL                  OH          64549390611
1823663324B26B   TAMMY       MCLAINE                   NE          90000326332
1823684999373B   TAYLOR      HARRELL                   OH          90014688499
1823733224B588   ALICIA      MALDONADO                 OK          90015343322
18237799872B62   PAUL        LUCERO                    CO          90013377998
18237A15591523   MANUEL      GUERRERO                  TX          90013090155
18237A15957147   CHRISTIAN   ARREDONDO                 VA          81054700159
18237A3A15715B   TITA        ROGRIGEZ                  VA          90013210301
18237A63355976   BRADLY      JENKINS                   CA          90009680633
18238891833B28   JESSE       COCHRAN                   OH          90014838918
18239352572B62   REBECCA     RASMUSSON                 CO          90007843525
1823948967B388   PERCY       TERRAZAZ                  VA          81066224896
1823952239373B   MICHELLE    BRANTLEY                  OH          64579695223
1823959974B26B   JAMILA      HALE                      NE          90003525997
1823B565A77529   LILIA       AMADOR                    NV          90014955650
1823B666955976   BENG        LEE                       CA          90010366669
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1823B84165B384   SHRISTA     LITTLE                    OR          90013368416
182414A3455973   DANIKA      CANTILLO                  CA          90014324034
1824153265B526   EDDIE       CHAVEZ                    NM          35056585326
18241A14461938   WILLIAM     NARDELL                   CA          46076620144
18241A8465B154   EDWARD      HUTCHINGSON               AR          90013340846
1824215434782B   AARON       GLOVER                    GA          90014741543
1824242717B323   MAUREEN     GERALD                    DC          90006804271
1824334719373B   CHARLES     MARTINDALE                OH          64597963471
18243388A8438B   TERESA      PRICE                     SC          90006483880
1824396A251337   DANNY       BROWN                     OH          66048039602
18244542A72B62   MICHAEL     BELVEAL                   CO          90010205420
1824528244B26B   CINDY       OLBERDING                 NE          90010762824
1824569565715B   SAMUEL      WOLDEYES                  VA          90014166956
1824612474B588   STACIE      COLEMAN                   OK          90014421247
1824612835B526   LIBERTAD    LLANES                    NM          90013021283
1824918695B526   WANDA       GREEN                     NM          90008481869
18249325A51355   MATT        PEAK                      OH          90014893250
1824991934B588   HERIBERTO   SOTELO                    OK          90012839193
18249964A51359   LAVINIA     SMITH                     OH          90013649640
1824B84649373B   TIFFANY     HARRIS                    OH          90014698464
1824B9A784B588   RANDALL     HAIRSTON                  OK          90013289078
1824BA23572B62   NICHOLE     ROUSH                     CO          90014850235
1824BA47751337   JANICE      BARNETT                   OH          90013960477
1825194114B588   LARHONDA    WILSON                    OK          21552479411
1825252288B169   BRAD        PETERSEN                  UT          90005545228
18252A12864135   ILIANA      DIAZ                      IA          90013860128
1825387A461938   MIGUEL      AGUAYO                    CA          46015148704
18253A4917B489   JULIO       MENDOZA                   NC          11006560491
1825438A22B263   MELISSA     BRENDARD                  DC          81098353802
1825452445B154   JEFF        PRATHER                   AR          23087895244
1825473AA61993   OLIVER      ZAMUDIO                   CA          90012447300
182548A8161958   CONNIE      COLEMAN                   CA          46045578081
182555A9172B62   MAIDA       CASTILLO                  CO          33097285091
1825566A591569   OZZY        HERRERA                   TX          90014956605
1825582338438B   RONALD      DRAYTON                   SC          90010958233
18255A71391523   HERLINDA    CARRASCO                  TX          75087500713
1825684544B588   STAR        STEPHENS                  OK          90001768454
18257212A5B154   GERI        DOZLER                    AR          90007432120
1825773455715B   MELAKU      ASSEFAW                   VA          90014167345
1825B573191523   ANTONIO     TORRES                    TX          75086125731
1825B95434B588   CIARA       CAMPBELL                  OK          90010909543
182618A885B154   CHRIS       ALLEN                     AR          90006748088
1826253459192B   ARMANDA     BAUTISTA                  NC          90006175345
18262A86555976   FRANCISCO   ORTIZ                     CA          49004780865
1826314915B526   ERIC        MAULDIN                   NM          90003961491
1826331925B154   JAMES       USSERY                    AR          90015173192
182638AA991523   CORINA      GAMEZ                     TX          75032738009
1826471817B489   DASHA       LEACH                     NC          11072367181
182647A5891569   SUSIE       BRISENO                   NM          75088827058
18264A1A88B134   SARIAH      WILSON                    UT          90013870108
1826514965B154   MARIA       BONILLA                   AR          90014371496
1826998A855976   CHARITY     TOKASH                    CA          49030809808
18269A4175B282   DANTE       STEWART                   KY          90012110417
1826B73A75B334   REGGIE      MATTHEW                   OR          90009577307
1827138955715B   RODRIGO     SAAVEDRA                  VA          90014963895
1827141999373B   EARL        CHIVERS                   OH          90013354199
1827253295715B   ISIS        YOLA CRUZ                 VA          90012645329
1827289925715B   ISIS        YOLA CRUZ                 VA          90015128992
1827323A455976   JONATHAN    TOUT                      CA          90014752304
1827383785715B   GUSTAVO     FUNES                     VA          90014078378
182742A6672B27   ANDRE       ANDERSON                  CO          33090382066
18274A75681639   JOSE        CHIRINOS                  MO          90000640756
182752AA691586   FRANKIE     BELL                      TX          90007962006
18277485A51359   DEBRA       HENNEKE                   OH          66009494850
1827756774B588   JOSE        BELMAN                    OK          90010665677
18277742272B62   SHANDA      TERRY                     CO          90013557422
18277A3A861938   IVAN        BODGE                     CA          90013560308
18278895372B62   GUILLERMO   SANCHEZ                   CO          33096058953
1827966264B588   BRENNA      EASLON                    OK          90015136626
1827992544B588   BRICE       WINE                      OK          90013279254
1827B12474B588   TAIRA       GREEN                     OK          90014411247
1827B472A5B526   MARISOL     PEREA                     NM          35047034720
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1827B959455976   RASHIDAH K    ALI-JACKSON             CA          49088299594
1828211A64B588   CHRISTY       JONES                   OK          21516731106
1828233199373B   JASON         MAHAFFY                 OH          90006603319
1828337495B154   DEBORAH       CHRISTOPHER             AR          23013113749
18283595372B62   MARIA         VILLASENOR              CO          90011015953
1828462875715B   INGRID        LOPEZ                   VA          90009896287
182864A125B154   DONALD        CARMEN                  AR          23085914012
18286829A81639   MISTY         JOHNSON                 MO          29002678290
1828852735B526   ROY           THUNDERCLOUD            NM          90010295273
1828921745B154   MARTILA       BROOKS                  AR          23062242174
1828B313551359   CHAD          COOPER                  OH          90012413135
1828B52764B588   ROBERTO       REYES-GUTIERREZ         OK          21552155276
1828B663555976   BELINDA       ALLEN                   CA          49023986635
1828B847A81639   CALLIE        SINGELL                 MO          90000878470
1828B916157147   JOE           HERRON                  VA          90012989161
1828B96835715B   MARIA         BONILLA                 VA          90014189683
182916A4672B62   SANTOS        MONTELONGO              CO          90011016046
1829255519373B   BRIDGEANA     DAVIS                   OH          64552955551
1829263335B154   DAANDREAL     ROBINSON                AR          23071856333
1829385318438B   CHRISTINA     WHITSON                 SC          19055208531
1829491468438B   RAYSATHEAN    MCKUNE                  SC          19055209146
1829515345B154   TIFFANY       LUCKHEART               AR          90015371534
18296AA3451355   STEPHANIE     MAXWELL                 OH          66082010034
182974A165B526   LILA          CASIAS                  NM          90008044016
1829769272B232   SHARMAYNE     COOPER                  DC          81009086927
1829812A591523   SUSANA        ROSALES                 TX          90014551205
1829863A35B526   EFREN         CALDERON                NM          90011296303
18298958A5B154   TONYA         MORRISON                AR          23098219580
182998A2151337   RANDALL       TURNER                  OH          66088408021
1829B29929373B   MICHAEL       HALL                    OH          64502022992
1829B454285966   CLARENCE      SHOOK                   KY          90004694542
1829B915291523   PAOLA         PEREZ                   TX          90012819152
182B175A661938   STEPHANIE     KORMANN                 CA          90004497506
182B181942B899   JENNIFER      MERCER                  ID          90012598194
182B19AAA4B588   KATHRYN       WILLIAMS                OK          90014389000
182B212A54B588   REGINA        BARNHILL                OK          90014711205
182B277A75598B   CEVEDA        CRAYTON                 CA          49016867707
182B2996391523   METCY ELVA    BETANCOURT              TX          90013089963
182B3276964135   MANNUEL       MARTINEZ                IA          90013842769
182B3A69591569   ELVIRA        PARRA                   TX          90004880695
182B4451593727   GRACARRIE     HEATH                   OH          90004074515
182B4951855976   MUTHANA       KASSEM                  CA          90006399518
182B5A41885966   GLORIA        SANTIAGO                KY          90013580418
182B6241147956   NELY          GOMEZ                   AR          24010892411
182B673915715B   MARIO         GONGORA                 VA          81096307391
182B6A1399373B   ANTONIO       ARNOLD                  OH          90011270139
182B718315B154   ASHTON        DAVERNA                 AR          90013621831
182B798144B588   JULIA         GARRETT                 OK          90009359814
182B8596191569   ROSEMARY      MONTELONGO              TX          90014525961
182B8642151355   TONYA         VALINES                 OH          90011266421
182B8725A24B82   ERICA         COLEMAN                 DC          90001197250
182B8A4A14B26B   RAE           MILLER                  NE          26093900401
182B913915B154   SHIELA        BRANSON                 AR          90015221391
182B9665155987   BARBARA       LAMATTINA               CA          90011936651
182B9758491523   MORENO        YMARIE                  TX          90008737584
182B9956157557   ANTHONY       ESPINOZA                NM          90013949561
182BB1A2355976   ROSEMARIE     AVILA                   CA          49074201023
182BB625951337   ERIN          COOK                    OH          90001446259
1831284A85715B   MELANIE       KURTZ                   VA          90006578408
1831397A251337   MICHAEL       RIEGLER                 OH          66085209702
18313A41291523   JOHNNY        CAUNA                   TX          75072980412
18314476A81639   JUAN          LAINES                  MO          90013244760
1831449A672B62   DEMETRIA      ISAAC                   CO          33087344906
1831579525715B   CONSTANTINO   PALMA                   VA          90014167952
18315A51791523   MARIBEL       HERNANDEZ               TX          90013090517
1831737AA2163B   EVELYNN       SOKOLOWSKI              OH          90014463700
1831773774B588   RICHARD       CHESNEY                 OK          21558577377
1831792829373B   KENNETH       BROGAN                  OH          64578109282
183179A2331687   EDILIA        HOLGUIN                 KS          90008389023
18318143172B62   JUAN          FLORES-CORTES           CO          33087351431
1831839844B22B   GERARDO       FRANCO-GOMEZ            NE          27047703984
1831944469373B   LARON         ISREAL                  OH          90011274446
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183198A815715B   AFERAME     MELAKU                    VA          90014168081
18319AA2355976   RACHEL      PENA                      CA          90004310023
1831B147781639   CODY        MIKE                      MO          29039891477
1831BAA2461958   JUAN        LEFERDE                   CA          90000230024
1832114829373B   RICK        HOPSON                    OH          64567051482
183213A1551355   JB          DAVIS                     OH          90007703015
1832338A891569   DANNY       GOMEZ                     TX          90014573808
1832445159373B   MATT        FRAZIER                   OH          90011274515
1832596315B154   MAYA        BROWN                     AR          90012749631
1832614934B26B   VLADIMIR    SOLODOVNIK                NE          90012801493
18326A78251337   RYAN        CAMPBELL                  OH          66015110782
1832768548B193   PAULA       CORTES                    UT          90006146854
18327942A85966   JAMES       HARRISON                  KY          90015529420
18327A38351337   MARK        CRAWFORD                  OH          90000190383
1832827145413B   ANDRES      MOYA                      OR          90013892714
183285A6472B95   ANICETO     GARCIA RODRIGUEZ          CO          90008115064
18328AA4481639   MISS        DIVA                      MO          90003760044
18329357A85966   ELISHA      SHEPHERD                  KY          90014603570
1832B37422B236   KEONA       RICANEK                   DC          90009733742
1832BA2124B565   DENNESCIA   ROBINSON                  OK          90000710212
1833172514B26B   JONATHAN    HORSE                     NE          90006557251
1833215347B463   MARCO       CABRERA                   NC          90002251534
1833291935715B   WALTER      RIVAS                     VA          90011269193
18332A5765715B   DAWIT       WOREDE                    VA          90013080576
18333762A97122   EUGENE      LEPAGE                    OR          90010257620
18334217172B62   JORGE       HERNANDES                 CO          33051212171
1833453A25B154   TROY        PARKER                    AR          90013835302
18334642436B72   VIDAL       FUENTES                   OR          90012056424
1833515957B463   SARAH       DIAL                      NC          90005331595
18335A9478438B   EDNA        RHODES                    SC          90006490947
18337157636B83   LISA        YOUNGSTROM                OR          90006801576
18338393A4B26B   MONTEZ      CALHOUN                   NE          90013943930
1833878346197B   JOSE        DIMAS                     CA          90013387834
1833888759373B   MIKE        SUMNER                    OH          64582718875
1833935114B26B   TAVISH      HANSEN                    NE          90010523511
1833969189373B   KYLE        SHEPHERD                  OH          90014706918
1833B34245715B   VICTOR      SCARINO                   VA          90010653424
1833B357991569   JESSICA     MONTANER                  TX          75028493579
1833B518751337   MICHAELLE   LAMB                      OH          66027695187
1833B7A9343524   AMBER       ADAMS                     UT          90002207093
183413A528438B   THERESA     GORDON                    SC          19072073052
1834155955B154   JOHN        WARD                      AR          90000665595
183422A244B26B   AMBER       DAVIS                     NE          90010702024
1834274977B489   STEPHEN     CARRIKER                  NC          90006077497
1834344265B526   TONYA       LEE                       NM          90014354426
1834344975B154   WILLIE      REYNOLDS                  AR          23053594497
18344217A8B172   TRACY       COPE                      UT          90012502170
1834526A855976   TOM         TAYLOR                    CA          90013082608
18346A99931687   ADRAINNA    MARTINEZ                  KS          22083010999
18346AA7691523   VALERIA     FLORES                    TX          90004910076
18347A35291523   FERNANDO    URRUTIA                   TX          75051290352
1834971349373B   LYNNSY      MORROW                    OH          90014707134
1834B354791523   LOURDES     ROBLES                    TX          75087493547
1835246934B26B   JENIFER     SAFLEY                    NE          26066934693
183524A8791578   FRANKIE     CENICEROS                 TX          90008504087
1835279795B154   OSKER       WILLIAMS                  AR          90005887979
1835336735B154   NAKIA       PATTERSON                 AR          90012443673
1835339372B264   ALVIN       VOWEL                     DC          90000873937
1835344145599B   BECKY       DUKE                      CA          90002714414
1835394729373B   MELANIE     MASSENGALE                OH          90005949472
183546A6791523   LUIS        SMITH                     TX          90013526067
1835678A25B154   CORINNA     WILLIAMS                  AR          23087667802
183569A495B526   MARIE       MARTINEZ                  NM          35038169049
18357A37A91569   LORENA      MARTINEZ                  TX          90003920370
1835835315B526   JANET       ESPINOZA                  NM          35064233531
18359A82251355   JAMES       SPAULDING                 OH          66082410822
1835B513491523   CECILIA     MARES                     TX          75086065134
1835B63579373B   ERIC        SURBER                    OH          90015136357
1835B92A35715B   JOSE        AGUILAR                   VA          90009959203
1835B932255976   NACY        BUCKHEISTER               CA          90012839322
1836142A381639   THOMAS      WILLIAMS                  MO          90014834203
183616A354B588   PHILLIS     COLE                      OK          21569416035
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18361975885B29   DYSHAWN         FORBES                FL          90015349758
1836242315B154   WHALYN          BELL                  AR          90014854231
1836262484B26B   LARESHIA        WEAVER                NE          26009106248
183627A6181639   MARINA          PORTILLO              KS          90013807061
18362A18A51359   CHRISTINA       WEISSMANN             OH          90005980180
183632A853B393   RODRIGO         ESCUDERO              CO          90010742085
1836341655715B   JOSE            CASTILLO              VA          90011544165
1836346444B588   BRANDI          SMOTHERMAN            OK          21546114644
1836451955715B   JAIRO NAHAMAN   DIAZ                  VA          90009015195
18364942172B62   PACHECO         DALE                  CO          33017939421
1836535A851355   MARY            DEAN                  OH          66013083508
183656A9151359   JOHN            STEFFES               OH          66010486091
1836619475B526   MARY            VALDEZ                NM          35023261947
1836634A491523   AIDA            QUEZADA               TX          90005553404
18366414A72B23   MARIA R         FLORES                CO          33005194140
1836659739373B   LINDA G         HOWARD                OH          90009475973
18368374A72B62   DANIEL          HERNANDEZ             CO          90009123740
18368436A5B526   ANDREA          FELIX                 NM          90000724360
1836857AA51337   CARRIE          NEFF                  OH          90013835700
183686A289373B   LANAY           MERCER                OH          90014716028
1836951825B154   MABLE           TENNER                AR          90014665182
1836B15764B26B   LORI            BUSSING               NE          90001691576
1836B479655976   ISHIA           GARZA                 CA          90008924796
1836B492661958   DAWN            TAYLOR                CA          90010004926
1836B58544B588   VIKKI           POINTER               OK          21594435854
1837111622B839   MOUSSA          FANGAMOU              ID          90010961162
1837192775B526   ANTHONY         MARTINEZ              NM          35067709277
1837226A78B365   MARTHA          WILLIAMS              SC          90015042607
1837239A957147   DAVID           SOLITO                VA          90014203909
1837281A35B526   RAFAEL          GONZALEZ              NM          90001728103
1837379199373B   JASON           MEADOWS               OH          90014687919
1837387A891569   CLAUDIA         SEGOVIA               TX          90011988708
1837459738438B   BRITTANY        MCDOWELL              SC          90010175973
1837578418B194   FERNANDA        PHILLIPS              UT          31005587841
18375A86381639   ELMO            THUMPER               MO          90011530863
18376151272B62   STEPHANIE       MELINA                CO          90015151512
1837655754B26B   ANDREA          NISSEN                NE          90001565575
18377985A85966   PHILLIP         CUERTIS               KY          90014029850
18378268A55976   SANTIAGO        PICHARDO              CA          90013062680
183785A544B26B   IAN             PRO                   NE          90014755054
18378655772B42   SHERRY          DENHAM                CO          90010436557
18379973672B62   JOE             LUCERO III            CO          90007909736
1837B162A51337   VINICIO         VASQUEZ               OH          90014411620
1837B48195B154   BEN             CASEY                 AR          23014494819
1837B668861938   DONNIE          FULTS                 CA          90011916688
1837B7A2151599   PATRICK         AKRONG                IA          90014777021
1837B951131687   JESSICA         ROSE                  KS          90015089511
1837B983157147   MARIA           AGUILAR PEREZ         VA          90011649831
18381754A55976   ANGEL           GARCIA                CA          90015477540
18381A28461958   REBECCA         GUTIERREZ             CA          46089430284
18382A5253B388   ROBERT          MARTINEZ              CO          90010540525
183839A244782B   FRANCES         LITTLE                GA          14032489024
18384322A51337   ROBERT          WHITT                 OH          66074353220
1838488395715B   ANGELA          WILLIS                VA          81056428839
18384AA1551355   HAROLD          WHITE                 OH          90015210015
1838529665715B   FROILAN         SEJAS                 VA          90014182966
1838569195715B   RAHASSAN        STOKES                VA          90004576919
1838583959373B   JEFF            KERR                  OH          90014708395
1838623A691569   LUIS            CAMPOS                TX          90014742306
18386A1265B526   PAUL            LARSON                NM          90010270126
1838778824B26B   KELLEY          BOWER                 NE          26091467882
183879A388438B   LATONYA         WOODBERRY             SC          90003689038
183887A1151359   CHRISTINA       ELAM                  OH          66024727011
18388A28781639   SEMAHJ          WARE                  MO          29096610287
1838918929377B   MARK            HANDRSON              OH          90009881892
1838B13A44B588   ROBIN           ATKINSON              OK          90012711304
1838B344857147   YOLANDA         MALDONADO             VA          90002393448
18392198A51355   RICK            SOUDER                OH          90008811980
183923A184B588   LAURA           DRYDEN                OK          90014263018
1839244A957147   NINOOSH         SALE                  VA          90013714409
18393336A5B526   MONICA          RUBIO                 NM          35007443360
18393534772B84   JANE            OLSEN                 CO          90007605347
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1839411234B26B   JOHN        DOMANT                    NE          90010081123
183946A747328B   LEONARDO    GONZALEZ                  NJ          90014996074
18395631172B62   DUSTIN      MONTOYA                   CO          90011016311
1839578642B242   ADRIAN      HOLLY                     DC          90011587864
1839595395B154   RUBY        SCOTT                     AR          90012989539
18395A25833B28   MARY        JOHNSON                   OH          90014570258
1839636344B26B   BRENDA      PRICE                     NE          26092773634
183963A2172B62   YOLANDA     ROMERO                    CO          90003253021
1839771A991523   MOSE        SEVAAETASI                TX          75004957109
18397A12591569   GILBERT     MUNOZ                     TX          75096130125
18398617A5B154   DEBORAH     GOODWIN                   AR          23070016170
18398979772B62   ROBERT      MONTOYA                   CO          33005659797
18398A14981639   NATE        BOTLEY                    MO          29037160149
1839951AA51355   PHILLIP     BAILEY                    OH          90012945100
1839B97279377B   ELEINA      BROWN                     OH          90009879727
183B239969373B   TERESA      FOUNTAIN                  OH          90003093996
183B2791361958   NIKKI       GERLITS                   CA          90013637913
183B2A87961958   NIKKI       GERLITS                   CA          90012420879
183B3793872B62   DEMARIO     WILLIAMS                  CO          90013787938
183B41A3A61958   HECTOR      LOYD                      CA          90013121030
183B445176197B   CANDACE     VIANNA                    CA          90007684517
183B44A2A5B526   PROCOPIO    GONZALES                  NM          90007454020
183B45A819377B   JALYNN      GILLIS                    OH          90011765081
183B476A95715B   ELENA       ROMERO                    VA          90009517609
183B531175B526   CASSEY      OLIVER                    NM          90013213117
183B6912157147   PAULA       TAMBA                     VA          90010539121
183B725A161938   ALE         CHAVOLLA                  CA          90010922501
183B7456855976   ALEX        RODRIGUEZ                 CA          90015174568
183B7696161958   ELLEN       MURPHY                    CA          46063346961
183B938A331687   SHERA       KIRKLAND                  KS          90011013803
183B9663851359   LATOYA      TURNER                    OH          90012516638
183B97A1291523   MARTIN      URENO                     TX          90013857012
183B9A6145B526   PAUL        BACA                      NM          90005990614
183BB618351355   JESSICA     FELLABAUM                 OH          90013026183
18411486A61938   ARTURO      TORRES                    CA          90015124860
1841256A861958   JOSEFINA    HERNANDEZ                 CA          46031455608
184135A8355976   JOSE        MARTINEZ                  CA          90001305083
18414A17824B55   KALISHA     BOWMAN                    DC          81014120178
18416353872B62   NATHANIEL   MARTIN                    CO          90010013538
184195A2161958   FRANCISCO   RANGEL                    CA          46042755021
1841B58235B387   STEPHANIE   ZAPATA                    OR          90010815823
1841B6A8924B55   DEVALE      AVERY                     DC          90013946089
1841B751591569   MARISOL     CASTANEDA                 TX          90002287515
1841B977455976   ANTONIO     QUINTERO                  CA          90012779774
1842113A65B154   JEANIA      ARMSTRONG                 AR          90013651306
1842261648B169   LINDA       MCKENZIE                  UT          31061426164
1842279989373B   JAMES       NARTKER                   OH          90002097998
18422A87981639   MARIA       BELTRAN LIMONES           MO          90013450879
1842371545B154   CAMILLE     TALBERT                   AR          90014487154
1842496714B588   JANAE       BANTON                    OK          90014759671
18425278472B62   BRENDA      QUINONEZ                  CO          33010882784
1842568315B526   LORRIE      MARTINDALE                NM          35004926831
18425A3615B154   BOBBIE      CARRANZA                  AR          23057860361
1842615714B588   RUBEN       ESPINOZA                  OK          90004761571
1842622465B526   ESMERALDA   ANCHONDO                  NM          90013952246
18426557872B62   ROSALYN     DAVIS                     CO          90014585578
18426918A4782B   BRITTANY    DAVIDSON                  GA          90006479180
184272A3791523   MANUEL      HERNANDEZ                 TX          90008832037
18428348372B62   AMANDA      WITT                      CO          33029093483
18428665A81639   JOANNA      HOPKINS                   MO          90013226650
1842957A25715B   FAUSTINO    PENA                      VA          90012505702
1842B61629373B   ANTOINE     ELLIOTT                   OH          90011236162
1842B819391569   ELSA        CALDERON                  TX          90012908193
1843164A531687   DUSTIN      NEAL                      KS          90012826405
18432A5A65715B   JOSE        ORLANDO ALVAREZ           VA          90012770506
1843364834B26B   CHADD       COFFIN                    NE          90009946483
1843412272B837   NIDIA       VALENZUELA                ID          90012671227
1843476135715B   KOFI        YEBOAH                    VA          81085587613
184355A984B588   ERIKA       HERNANDEZ                 OK          90004435098
1843562A351355   REBECCAH    BURTIS                    OH          90012746203
1843568975715B   ALBINO      MARROQUIN                 VA          81037616897
1843644265715B   EDUARDO     PEREDO                    VA          90011544426
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1843756724B26B   FERNANDO      CARRILLO                NE          90014035672
1843814965B526   ALISHA        LAY                     NM          90014021496
1843816A457147   CATHY         DRIVER                  VA          90011811604
18438477336B83   JORDAN        SEGUNDO                 OR          90006524773
18439179672B62   MARK          ESPO                    CO          33062971796
1843961649373B   TIMOTHY       BARKER                  OH          90014596164
1843977A78438B   NICOLE        HERMANN                 SC          90011487707
1843B529457147   LUIS          MARQUEZ                 VA          90013275294
1844121755B154   CARNELL       MORRIS                  AR          90013602175
1844259A34B26B   SALWA         AHMED                   NE          90008665903
184427A1991523   ARMIDA        MARTINEZ                TX          75039027019
1844399324B588   BRITTNEY      FRAZIER                 OK          90012369932
18444259A5715B   MARCUS        LAWRENCE                VA          90006902590
184442A5191895   DAWNA         DUTCHY                  OK          21044042051
184447A375B526   MARIE         SHAKRA                  NM          90011057037
18445387A61958   NININAHAZWE   AIMABLE                 CA          90014413870
1844598917B443   TIANA         OCASEIE                 NC          90010869891
18446A55831962   PAYGO         IVR ACTIVATION          IA          90012800558
1844726714B588   GLENDA        MCGUIRE                 OK          90008682671
184474A5871964   CARMEN        MARQUEZ                 CO          90001324058
18449294A91263   LESLIE        LOWMAN                  GA          90006672940
1844953595715B   GUMERCINDO    BARRERA                 VA          81026695359
1844963249373B   DESSURAE      MADISON                 OH          90014716324
1844985A14B26B   ASHLEY        BEARCE                  NE          90009128501
1844B44637B489   TAMARA        GORDON-WARD             NC          11082114463
1844B54995715B   COYOU         JULIO                   VA          90013365499
1844B972951359   TIA           BECK                    OH          90003439729
18452619772B62   HIPOLITO      VAZQUEZ                 CO          33013486197
18452A44224B82   KEVIN         FARMER                  DC          90007670442
184534A8754173   STEPHANIE     COX                     OR          90012734087
18453745772B62   GRIGGS        MARIAH                  CO          90009997457
1845532764B588   PAYGO         IVR ACTIVATION          OK          90015033276
1845538848438B   SHERRY        GORE                    SC          90012233884
18455397172B62   FELIPE        MEZA-LOPEZ              CO          33092783971
1845562A851355   SHEILA        HAYES                   OH          90015146208
18455A92581639   CONOR         MCGADEY                 MO          90011530925
1845622555715B   EDWIN         DELGADO                 VA          90002302255
1845657A891523   JOSEFINA      VARGAS                  TX          90005185708
18456648A64135   THAR          WAH                     IA          90014576480
1845687485752B   MARISELA      RODRIGUEZ               NM          90009468748
18456A81151337   ETA           PANDITA                 OH          66016230811
1845964AA61938   RITCHIE       LAMPEAR                 CA          90014516400
1845991135B154   NESTOR        VILLEDA                 AR          90014249113
1845993755715B   ALI           ADAN                    VA          81090529375
1845B182893725   STEPHANIE     FUGATE                  OH          64589331828
1846137645715B   NANEY         ARMESTA                 VA          90014183764
18461A88A51359   SANTIAGO      CHAVEZ                  KY          90014030880
1846353314B588   BRANDON       DANNA                   OK          90013755331
18467793872B62   DEMARIO       WILLIAMS                CO          90013787938
1846837685715B   GLADIS        MEJIA                   VA          90014183768
184684A7851337   TRAVIS        BLANK                   OH          90008184078
1846894174B588   NAOMI         JHNSON                  OK          90011009417
184691A174B588   TERY          MACK                    OK          90013391017
18469943A8B139   CODY          TRACY                   UT          90008749430
1846B163291569   NORMA         CISNEROS                TX          90010621632
1846B446551337   BRYAN         KRODEL                  OH          90013854465
1846B748361938   MELVA         DUQUE                   CA          90004867483
1847292A151359   MARIAH        SULLIVAN                OH          90011889201
18472943A85966   ALYCA         CHENAULT                KY          67050869430
18473583A5B526   VONN          KERNS                   NM          90015155830
1847374459373B   SMITH         ANGEL                   OH          90011307445
18475943A85966   ALYCA         CHENAULT                KY          67050869430
1847612754B588   APRIL         MOORE                   OK          90010981275
1847643A97B489   JUAN          CORREA                  NC          11016144309
1847744A45B526   ADELINE       KISANGA                 NM          90003104404
18477662A61958   RITA          MUNOZ                   CA          90010016620
1847786415B155   BRENDA        NASH                    AR          90013878641
1847791317B443   EDWARD        WRIGHT                  NC          90008519131
1847864997B422   CURTIS        WILLIAMS                NC          90009666499
1847891317B443   EDWARD        WRIGHT                  NC          90008519131
18479979A61938   MARIA         WAZIR                   CA          90014929790
1847B39A94B588   ANGELA        CARPENTER               OK          90012643909
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1847B98955B526   MAGDALENA      MARISCAL               NM          90007319895
1847BA24172B62   JOYOUS         NEWBY                  CO          90014850241
1848171119373B   SHEILA         HOWARD                 OH          90014717111
1848175A571932   JOANNE         LLAMAS                 CO          32062867505
18482784A91569   DANIEL         TORRES                 TX          90001967840
1848351A59373B   NAKIRA         CLOUSE                 OH          90014435105
18483588A91569   JOSE           RAMIREZ                TX          75049695880
18484869924B7B   RENOARD        MOORE                  VA          90000618699
1848493114B267   REBECCA        GINTONIO               NE          90013789311
18485711672B3B   HECTOR         CORONADO               CO          90012547116
1848596615B275   TICONDA        SMITH                  KY          90013149661
184859A6891895   LATOSHIA       KELLEY                 OK          90002869068
1848625228438B   MARIE          BALTEROCRUZ            SC          19074232522
1848673934B588   BEAU           RIVERS                 OK          90009397393
18486813A64135   HECTOR         MIRANDA                IA          90015188130
1848682514B26B   ESWIN          PEREZ                  NE          26062788251
1848746245B526   GLADYS         CHACON                 NM          90003734624
18487975A9373B   ANTHONY        MAXWELL                OH          90011049750
1848859479373B   JUSTIN         HOWARD                 OH          90005155947
1848868114B26B   ANDREW         BOSWELL                NE          90013686811
18488A92481639   BOB            BOB                    MO          90013290924
18489AA4361976   SAMANTHA       ESTRADA                CA          90006510043
1848B161A5B154   MARIA          GUTIERREZ              AR          90003791610
1848B22AA81639   JAMES          SCOTT                  MO          90012772200
1848B699561976   YAMILEETH      VARGAS                 CA          46003486995
1848BA6935715B   SANDRA         TORRES                 VA          81026730693
1849162275715B   KWASI          SPEEDE                 VA          90015136227
1849233125B526   JASON          BROUSSEAU              NM          35093413312
1849461A491569   CHRISTINA      MOSANKY                TX          90006426104
1849495A39373B   HOPE           VAUGHAN                OH          64540369503
18494A1265B526   PAUL           LARSON                 NM          90010270126
18494A3625B129   HARRISON       GRAVELY                AR          23009910362
18495985A57147   MARCO          DELGADO                VA          90013129850
18496557972B64   LORI           MILLS                  CO          33012355579
1849663354B588   JERRY          POWELL                 OK          90009366335
1849956224782B   JARICA         STUBBS                 GA          14098415622
1849B157981639   LORI           LAWRENCE               MO          90006991579
1849B3A6755976   BOWERS         VICTORIA ROSEMARIE     CA          90005443067
1849B744861958   MARCHE         WILLIS                 CA          90011467448
184B122989373B   DAWANN         HARRIS                 OH          90009712298
184B136385B129   JEREMY         MARTIN                 AR          90005453638
184B231234B26B   STEPHANIE      ROBERTUS               NE          90015173123
184B2A3254B588   KYTIERRA       GREEN                  OK          90010530325
184B3177372B35   MAURINE        ROBNETT                CO          33087971773
184B374565715B   KATHRYN        NAEL                   VA          81021817456
184B395A585966   DAVID          PITMAN                 KY          90010669505
184B42A8A4B588   CRYSTAL        CANALEJO               OK          90014662080
184B434A161976   SOPHIA         NAVA                   CA          90006513401
184B4527281639   MICHELLE       RUTH                   MO          90014415272
184B4989191523   ELIZABETH      DEL TORO               TX          75009769891
184B5416277343   LOURDES        CARRILLO               KY          90009744162
184B5A62372B62   EDGAR          HERNANDEZ              CO          90013370623
184B6797885966   AMY            CLARCK                 KY          90010497978
184B718245715B   CARLOS         GUZMAN                 VA          90007481824
184B7538631687   RITA           HARTFIELD              KS          90004055386
184B7689172B62   RON            ASHTON                 CO          33004766891
184B78A785B526   VALERIE        MARTINEZ               NM          90010498078
184B8328772B58   CRISTINA       RODRIGUEZ              CO          33065903287
184B846545183B   CHANTELLEIGH   GRAM                   NY          90014944654
184B9999372B62   LETITIA        COLLINS                CO          90010619993
184BB278761958   EDITH          AVALOS                 CA          90015162787
184BB314581639   DONAVAN        DAUKEI                 MO          90012853145
184BB47514B588   CHRIS          HELLA                  OK          90015304751
184BB53A19373B   JAMES          TIMS                   OH          64501355301
1851223973B388   HAMMOND        MICHAEL                CO          33086282397
1851365A33B398   JANA           SCHLOGEL               CO          90012496503
1851375A161976   RODGER         SHORTHILL              CA          90006527501
18513A82685966   FRANK          BOATTY                 KY          90003050826
1851419379373B   RIGO           BENEURA                OH          90011481937
185144A545B526   IRENE          SAENZ                  NM          90008294054
1851516685B526   ALICIA         GARCIA                 NM          90012321668
18516235A91523   MARIA          CARRERA                TX          75059302350
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18516268A91346   PRIMITIVO      CRUZ                   KS          90015072680
1851657825B526   JILLIAN        ROARK                  NM          35077895782
18518755736B83   WILLIAM        GONZALES               OR          90009467557
185198A7791263   LETIZIA        MCCOY                  GA          90014018077
1851B927791523   VERONICA       SANCHEZ                TX          90013099277
1852225958B863   FRANCIS        GILTAMAG               HI          90011542595
18522793872B62   DEMARIO        WILLIAMS               CO          90013787938
185227A3561958   MARCOS         FLORES                 CA          90012707035
18523196472B64   ABRAHAM        SUAREZ                 CO          33004581964
1852337952B235   ROSITA         BARNHARDT              DC          81014853795
185236A125B154   JAMES          GARZA                  AR          90014886012
1852426338438B   BARBARA        MOUTRIE                SC          90007012633
1852537517B459   AHMED          ALY                    NC          90012213751
185271A244B26B   DAWN           BABCOOK                NE          26090371024
185271A4A5B154   PAYGO          IVR ACTIVATION         AR          90010431040
18527718172B29   HEIDI          HEATH                  CO          90006087181
1852835A961958   DEAN           KNIGHT                 CA          90012963509
1852871745752B   MONICA         DOMINGUEZ              NM          90006487174
18528A3874B26B   ASHLEY         BEETEM                 NE          90013690387
1852924A131687   BRIANDA        CEDILLO                KS          90013932401
1852B277161958   GLORIA         NAVA                   CA          46018962771
1852B32A451355   CHRISTOPHER    TODD                   OH          90012343204
1852B34889373B   CHAD           JOHNSON                OH          90005113488
1852B43564B26B   LEAH           CLARK                  NE          90013954356
1852B47665B526   ELSA           MENDEZ                 NM          35043654766
1852B822891523   MARICELA       GARCIA                 TX          75084458228
1853121834B588   LUCAS          MCCRACKEN              OK          21584152183
1853122AA81639   JAMES          SCOTT                  MO          90012772200
1853182514B26B   ESWIN          PEREZ                  NE          26062788251
1853199A657199   LORENA         SANCHEZ                VA          90010209906
18531A3975715B   VICTORIA       BATISTA                VA          81075080397
18531A57251359   JORGE          BECKLES                OH          66072380572
185325A539373B   DARLENE        NASH                   OH          64532835053
1853272654B588   JOSEPH         BEVEL                  OK          90005437265
1853479975715B   JUAN           YARLEQUE               VA          90013857997
1853484A39373B   ALONDA         SHEFFIELD              OH          90014718403
18534A1365715B   JUAN           YARLEQUE               VA          90012780136
185352A4A72B62   MONICA         CLINTON                CO          90010112040
185356A8161958   BRIAN          PHILLIPS II            CA          46026436081
1853592A991526   LUPE           RIVERA                 TX          75089189209
1853615A571933   DOUGLAS        LUNA                   CO          90011281505
18536A4A15B526   ELAINE         MEDINA                 NM          35053940401
1853828A351355   ADRISSA        BURKS                  OH          90011002803
1853924565B247   KASEY          LEANHART               KY          90012292456
1853995164782B   ALISIA         WILLIAMS               GA          90007139516
1853B849593725   WILLIAM M      KEENE                  OH          90003068495
1854314A64B55B   CHRISTY        TUBBS                  OK          90011741406
1854332915B526   JOSE           PADILLA                NM          90009623291
18544289A47956   JOSE LUIS      MARTINEZ               AR          24096342890
18546619572B62   PAOLA          RESENDIZ               CO          90000396195
18546851376B52   LILIANA        DOMINQUEZ              CA          90003838513
18547953A61958   ASHLY          MUNDO                  CA          90003959530
1854819A451337   TANIA          HARMON                 OH          66004831904
185487AA82B899   CHERI          PERATA                 ID          90002837008
18549499197B3B   ASHLEY         VIGIL                  CO          90013674991
1854967899377B   MICHEL         BROWN                  OH          90009836789
1854B83259373B   CORNICIA       HARVEY                 OH          90012718325
185517AA951337   ASHLEIGH       SAUER                  OH          66005357009
18551A6575715B   FERNANDO       FERNADES               VA          90012950657
1855228324B588   DANIEL         JOB                    OK          90011082832
18554A8795B526   EDGAR          TREJO-GUEVARA          NM          35001780879
18555374972B26   JACQUELINE     AVALOS                 CO          90013133749
18555657A5715B   JOSE ANTONIO   HERNANDEZ MONTANA      DC          90014186570
1855647A985966   KIMBERLY       MOORE                  KY          67098174709
1855687225715B   ANA            ALVAREZ                DC          90005298722
18558A28A61976   XAVIER         ALEMAN                 CA          90006530280
18558A8594B588   ALFREDO        AGUILAR                OK          90002140859
18558A88651359   TROY           EASTIN                 OH          90014650886
1855B342272B62   PHILIP         CORDOVA                CO          90009583422
1855B484161958   CANONICO       YVONNE                 CA          46050894841
1855B578591569   JUAN           RODRIGUEZ              TX          75050975785
1855B979361976   EVANGELINA     SHIPOSKI               CA          90006529793
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1855BA34481639   OMAR                NAZHAT            MO          29025510344
1856118557B489   YOLANDO             MITCHELL          NC          11085421855
1856163118B167   KIMBERLEE           LEWIS             UT          90004326311
1856277915715B   DONNA               MYRICK            VA          81027117791
18562A59A5B526   MARIBEL             MARTINEZ          NM          35074370590
1856351175B526   REY                 BIGIL             NM          90002185117
1856431A472B62   DAN                 MILLER            CO          90005303104
185643A8381639   DEMONICA            PEARSON           MO          90009303083
185644A1951355   ULISES              MARTINEZ          OH          90002554019
185644A4261938   KATRINA             BABTISE           CA          46057884042
1856558794B543   ADAM                CRAWFORD          OK          90008375879
1856579324B26B   ANGELYNE            MUTCHLER          NE          90005377932
1856614564B26B   JOSE                TADEO             NE          26062131456
1856622845715B   LUIS                CALDERON          VA          90012802284
1856661A555976   BEN                 STIERS            CA          90012236105
1856763545B526   CARLOS              SANCHEZ           NM          90013966354
1856876277B489   JOHN                BROWN             NC          11051437627
18568A52331687   MARTIN              ORNELAS           KS          90007960523
1856919A591523   JESUS               ARZOLA            TX          90005421905
1856983527B489   MARIE               GREGORY           NC          11017338352
18569A5A191895   RANDY               VILLALOBOS        OK          21052630501
1856B115A51355   AARON               MCKENZIE          OH          66034381150
185723A8851337   REBECCA             NICHOLS           OH          90010903088
18572AA193B368   DEO                 SARNELLA          CO          33005880019
18573881A7B489   DIONNE              MC CAIN           NC          11056808810
1857426224782B   MARQUIS             SIMMOMS           GA          90011272622
18574476A91569   MAYRA               LIRA              TX          75001804760
185745A1761938   WENDY               RUELAS            CA          90013045017
18574A37985966   TERRY               OLSON             KY          90001340379
1857664635B526   ROLAND              SMITH             NM          35027486463
1857688924B26B   COURTNEY            THOMPSON          NE          90008188892
1857721A35B247   OSVALDO             ARIAS-CAUTADO     KY          68006982103
1857726A591523   SILVIA              ATILANO           TX          75085212605
1857791875715B   YEANETTE E          MANZANARES        VA          90009169187
18577A46472B23   MAREARITA           M HERNANDEZ       CO          90004000464
18578299A91263   JOHN                CREDEUR           GA          90004692990
18579AA229373B   TIA                 TURNER            OH          90014730022
1857B175591569   SARAH               MARTINEZ          TX          90010121755
1857B42335B526   AURO                MUNOZ             NM          90005854233
1857B537655976   ROSE                MIXON             CA          49048165376
1857B81A151359   LINELL              GREENE            OH          66028618101
1858114A572B62   BERTHA              ARELLANO          CO          90014321405
1858143A891523   SULEMA              BUENO             TX          90015184308
1858162834B26B   BRANDEE             MCCULLOUGH        NE          26093326283
18581A41272B62   MARIA               GONZALES          CO          90012920412
1858345525715B   PHILIP              FAYIAH            VA          81014484552
18585424A4B26B   VICTORIA            ILIC              NE          90012354240
1858571824B588   DARLISHA            WARE              OK          90011517182
1858636925715B   MARVIN              RAMOS             VA          90011283692
185864A175B154   KEVIN               BOWMAN            AR          90014844017
185866A3651337   CLEMENTINO          LORENZO           OH          66014686036
18586A29357147   EDILBERTO           MORENO            VA          90007900293
18586A42355942   JULIO               CARVAJAL          CA          90008940423
185873A7431687   CHARLOTTE           HOPE              KS          90003023074
18587A7A65715B   SANTO               CHAVEZ            VA          90007160706
185881A2A5715B   SILVIA              RODAS GALINDO     VA          90012941020
1858826175B285   TASHA               EFAW              KY          90000762617
18588497A4B588   ANTONIO             TZAJ              OK          90010144970
185888A8761958   FERNANDO NAPALANT   FRANCISCO         CA          90013198087
1858954265B129   LADARA              WILLAMS           AR          90011085426
1858B196472B62   DYAN                DENTON            CO          90012721964
1858B49A757562   ANGELICA            LERMA             NM          35576264907
1858B58755715B   TONY                KIDD              VA          81088145875
1858B624A61958   ANDY                PADILLA           CA          90012146240
1859158A14782B   AARON               WRAY              GA          14005975801
1859162375715B   WAYNE               SIMPSON           VA          81079936237
1859177244782B   AARON               WRAY              GA          90014057724
18591A11391523   MAYRA               SOLIS             TX          90013100113
185922A4751337   CHARLES             MARSHALL          OH          90008942047
18592439A51359   TIANNA              HONAKER           OH          90011224390
1859272A972B62   WHITNEY             HORTON            CO          33087557209
18595483772B62   MATASHA             LAZZU             CO          90012714837
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185963A145B288   VICTOR       KUSTES                   KY          90012473014
18596778A55976   JEANETTE     BEDWELL                  CA          90010277780
1859744155715B   JUAREZ       LESTER                   VA          90011284415
18597592A91569   VICTORIA     MARTINEZ                 TX          90007795920
1859887955B526   YESENIA      REYES-VALDEZ             NM          90011398795
18599649824B55   ALONZO       CAMPBELL                 DC          90012846498
1859B6A7531426   BETTY        WHITE                    MO          90001496075
1859B8A735B526   GONZALES     DENISE                   NM          35011548073
185B1611361976   MOHAMMED     BASHIER                  CA          90006526113
185B173224B26B   KEVIN        LEWIS                    NE          90008937322
185B192194B588   HANNAH       WRIGHT                   OK          90014189219
185B238A25715B   MILTON       CASTELLON                VA          81097323802
185B26A2281639   CRYSTAL      CLARK                    MO          90011266022
185B271A855976   TIMOTHY      WALKER                   CA          90013037108
185B347595B32B   JEFFREY      WANEK                    OR          90008874759
185B364659373B   JAMIE        BUSSARD                  OH          90011116465
185B376765B526   MANUEL       NIETO                    NM          90009857676
185B4255791523   JOSE         AVILA                    TX          90002662557
185B4442961976   CHERYL       HART                     CA          90008004429
185B51A964B544   AUTUMN       MIST                     OK          90011411096
185B565A74B26B   JOSHUA       LUNDE                    NE          90014036507
185B5683A61976   BOYON        BUTLER                   CA          90006526830
185B6466291523   JOSE         BRIONES                  TX          90013344662
185B6483A43524   TAHNEEE      HOOLEY                   UT          90009274830
185B6816A55976   JULIO        BARAJAS                  CA          90006148160
185B6A89A4B588   RIKKI        DETWILER                 OK          90004000890
185B728289373B   MERELEENE    RIGGS                    OH          64521422828
185B835A351359   LAVONDA      MOORE                    OH          90002103503
185B866A65B154   SALONE       HARPER                   AR          90014936606
185B929A257147   LILIA        SOLIS                    VA          90013522902
185B9466391569   FELIPE       DE LOS RIOS              TX          90012024663
185B957358B163   JOSH         MORGAN                   UT          90008285735
185B98AA35715B   SAIN         SENG                     VA          90011658003
185B99A6191523   CARLOS       MOLINAR                  TX          75008799061
18611A75551355   ILLYA        IBBOTT                   OH          90012890755
18611A9659373B   JOCELYN      OKOYE                    OH          90014720965
1861232A95B384   RANDALL      DAHL                     OR          90012663209
1861282545715B   SAMSON       LYNCH                    DC          90014858254
18613655A27B36   SARAH        HYMEL                    KY          90015126550
1861467155752B   RAMON        GONZALEZ                 NM          90009766715
186149A8161938   GILBERTO     DAMIAN                   CA          46090519081
18614A25391569   ANTHONY      VENZOR                   TX          90014080253
1861542465B129   ISAIAH       WALKER                   AR          90005474246
18615427972B62   RIGOBERTO    CAMACHO                  CO          90011114279
18615842972B37   JOE          GARCIA                   CO          33006738429
186162A1433634   ERIC         CHANDLER                 NC          90012732014
1861664A848475   KATE         SULLIVAN                 PA          90012466408
186166A8A5715B   DANNIEL      BROAD                    DC          90010126080
1861673915715B   MARIO        GONGORA                  VA          81096307391
1861693972B259   MARY         MEASE                    DC          90010899397
1861746759373B   ERIC         FLANAGAN                 OH          64504154675
1861762473B398   ALRED        NIXON                    CO          90004106247
1861822AA81639   JAMES        SCOTT                    MO          90012772200
18618479272B62   BEGNER       HERNANDEZ                CO          90014814792
18619219A91569   LUIS         RAMIREZ                  TX          90000142190
1861989185B154   NARKISHA     SCOTT                    AR          90013958918
1861B116A72B62   SOTELO       ELVIRA                   CO          33033231160
1861B525385966   DANNY        MARCUM                   KY          90011615253
1861B6A9731687   ROBERT       STRUNK                   KS          90009046097
1861B92A681639   BARBARA      PRUITT                   MO          29018329206
1861BA39955976   CANDACE      POINTKOWSKI              CA          90005540399
18621693A51355   MIRANDA      PERRY                    OH          90013636930
1862179817B463   MIKE         DUNLAP                   SC          90011007981
1862321285593B   AGUSTINE     CORDOVA                  CA          90013392128
18623359A42579   BETO         CASTILLO                 WA          90015453590
1862358635B526   FRANCISCO    GARCIA                   NM          90001245863
186236A4161958   SUZE         LALANNE                  CA          90012706041
18623895972B37   NORA         SALAS                    CO          90000888959
1862431939373B   MARC         YANCEY                   OH          64591283193
1862449A64B26B   HIJAZI       LEWIS                    NE          26092074906
1862493585B37B   SELAMAWIT    ASMELASH                 OR          90007819358
1862638115715B   HERMELINDA   CARMONA RAMIREZ          VA          90012173811
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18626A9735B154   CASSANDRA   BOOKER                    AR          90007380973
18628673172B62   CANDACE     PATTERSON                 CO          90011016731
1862921A131465   ROGER       HILL                      MO          90007622101
1862972924782B   ZACCHEUS    HOLSTON                   GA          90003257292
1862B43945715B   JORGE       MINDREAU                  VA          90010024394
1862B445472496   BERNICE     GROSSER                   PA          90010984454
1862B794491885   ASHER       EDWIN                     OK          90004637944
1862B937484327   SHIREE      MIDDLETON                 SC          90007929374
1863255A772B89   CRYSTAL     WALKER                    CO          90013325507
186349A2191569   BEATRICE    CARILLO                   TX          75008529021
18634A43131687   ROBERT      VANT LEVEN                KS          22038510431
18635443524B42   KENNETH     AYERS                     VA          90009894435
186354A424B588   SANTOS      GUTERIEZ                  OK          90013224042
1863556385B526   ANTHONY     SPENCE                    NM          35082215638
1863556685B154   NIKKI       WALTON                    AR          90003895668
18635A49A91523   LAURA       VELA                      TX          90013100490
1863631215B264   GABRIEL     PARTLOW                   KY          90012283121
1863631515B526   ROLAND      TEICHELMANN JR            NM          35000883151
18636A47881639   COREY       KIMBROUGH                 MO          29065530478
18636A84472B62   SOCORO      HERNANDEZ                 CO          33001160844
1863724644B588   ANGELA      GREENE                    OK          90015022464
18637521172B62   ROBERTO     NIEVES                    CO          33037555211
1863766263B352   ANEL        VASQUEZ                   CO          90004936626
1863816A681639   JASON       ROHR                      MO          90014901606
18638438A61938   SIRA        CRUZ                      CA          90005884380
1863848677B489   JEFF        MCMURRAY                  NC          11039614867
1863B973851355   BACILIO     ESQUIVEL                  OH          90000879738
1863BA32251359   MICHAEL     SMITH                     OH          90014690322
1864143A991523   MARIA       LIRA                      TX          90009534309
18641549572B62   CHAMENG     LEE                       CO          33061845495
1864159495715B   KELLY       MAGUIRE                   VA          90014245949
1864175515B154   ATARA       LOWE                      AR          23048717551
18642541A5715B   SAFINA      ORTIZ                     VA          90012705410
186429A5572B62   SANDRA      RASCON                    CO          33022269055
1864393AA55976   MARGARITA   PEREZ                     CA          90009799300
1864394824782B   YVONNE L    DEVINS                    GA          90006509482
18644698A5B526   DEBBIE      DEWALT                    NM          35050506980
18644767A55976   ESTHER      SANTOS                    CA          49090597670
1864494824782B   YVONNE L    DEVINS                    GA          90006509482
18645145A31687   JESSICA     WERTH                     KS          90014291450
1864531659373B   STEPHANIE   PALTE                     OH          90011283165
186454A3381639   SYLVIA      HOWARD                    MO          29041134033
1864626962B92B   ADRIAN      MORENO                    CA          90011532696
1864659672B236   JULIUS      IHEOMA                    DC          90010805967
1864684738438B   KENNETH     DOUGAS                    SC          90011318473
18646873872B62   CHAD        JONES                     CO          33025128738
186486A9251355   ROBIN       ROCKINGHAM                OH          90011956092
18648A3A891569   ALEJANDRO   URBINE                    TX          75093250308
18648A54791523   ALBERT      PERALES                   TX          90015320547
1864B858181639   STEVE       RUSSELL                   MO          29060988581
1864B991857147   KENNETH J   CLARKE                    VA          90011849918
1864BA8514B588   JONNIE      ELLYSON                   OK          90006810851
1865186248438B   WANDA       ANDERSON                  SC          19055528624
1865361229373B   ANITA       SHAW                      OH          64594646122
1865383A64B588   ELIZABETH   BILBAO                    OK          21517898306
18653A97131687   IMELOA      AVILA                     KS          22097050971
18654A13272B62   ERIKA       NEVAREZ                   CO          33078000132
18654A22131687   RICHARD     MCMINN                    KS          90015030221
18655A55791523   ROBERTO     MEZA                      TX          90013100557
18656743A91569   VERONICA    TREVIZO                   TX          90011947430
18657A58691523   SANDY       LEE GARZA                 TX          90013100586
18658682A57147   INGRI       GONZALEZ                  VA          90001016820
18659263A91895   JOAN        BRANTLEY                  OK          90014412630
18659733A91895   JOAN        BRANTLEY                  OK          90007267330
18659A27561938   WALTER      HERRIOTT                  CA          90012160275
1865B1AAA4B26B   ROSAURA     ESTRADA                   NE          26088491000
1865B38949373B   DAVID       HARVEY                    OH          90002553894
1865B691651337   SARA        MILLER                    OH          90009806916
1866113324B588   KRISTEN     ANAYA                     OK          90013441332
1866174459373B   ERIN        KEEN                      OH          64547557445
1866257295B154   KIMBERLY    MOORE                     AR          90015205729
1866265685B129   TIMOTHY     TAYLOR                    AR          90005476568
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1866343A972B77   PATRICIA      ROMERO                  CO          90013964309
18663932A5B526   CRYSTINE      BEBAULT                 NM          35031959320
18663A45855976   ZOILA         CRUZ                    CA          90010850458
18663AA7391569   CYNDY         SAPIEN                  TX          90009860073
186643AAA81639   BENSON        CARUTHERS               KS          29065623000
1866499354B26B   MYLING        DOMINGO                 NE          26027269935
18664A71691523   VICTORIA      MARTINEZ                TX          90013090716
18665474A51337   LISA          MCBRIDE                 OH          90012774740
1866575AA5B154   AMANDA        GANN                    AR          23002097500
1866665429373B   ROBIN         WYNN                    OH          90015246542
1866796685B154   WYSE          SHELBY                  AR          90013849668
1866939985B154   BOBBIE        ROBINSON                AR          23074083998
1866979835715B   JUAN          VALLEJOS                VA          81016837983
18669953A4B26B   SCOTT         TOPHAM                  NE          26038979530
18669A23685966   CURTIS        MORTON                  KY          90013440236
1866B15A597B38   CASSANDRA     TORRES                  CO          90011231505
1866B3A3272B62   ARIANA        KASPER                  CO          90014053032
1866B8A2291523   RAMON         MONTOYA                 TX          90014528022
1867116765B526   FEDERICO      REYES                   NM          90005691676
18671378A4B26B   DANYEL        LARSON                  NE          26075483780
1867145989373B   NICKI         LAND                    OH          90011284598
186714A9691569   ALEXIS        CORONADO                TX          90013674096
1867193117B489   REYMOND       ALEXANDER               NC          11031159311
18672354A9373B   BONNIE JEAN   BLAS                    OH          90014143540
1867256525715B   JOSE          MARTINEZ                VA          90014255652
18673679472B62   HEATHER       LAIRD                   CO          90011016794
1867387394B26B   CHRISTINA     SCHOONOVER              NE          90012508739
18673A44151355   ERIC          ASHLEY                  OH          66028530441
18673A6569373B   KEVINE        DEADORFF                OH          90014730656
1867412AA55976   SHERRYL       EVERITT                 CA          90006221200
18674A6569373B   KEVINE        DEADORFF                OH          90014730656
1867593973B324   WADE          HILL                    CO          33086519397
186764A9491569   LILO          VARGAS                  TX          75004914094
1867745484B26B   ALICIA        MINER                   NE          90011214548
18677A6918438B   ELEUTERIO     GARCIA                  SC          90009470691
18678A44155976   KEVIN         GOWENS                  CA          90010770441
18681679472B62   HEATHER       LAIRD                   CO          90011016794
186825A1191569   MONICA        GARCIA                  TX          90009815011
18682645272B58   HUGH          BUNCH                   CO          33050186452
186836AAA61938   THIFANNY      ARCE                    CA          90014716000
1868495629373B   TONISHA       MOSLEY                  OH          64509109562
18685A2584B588   DANA          GEARO                   OK          90009480258
1868695955715B   MAYRA         CHAVEZ                  VA          90014249595
1868779A293775   BRAD          ANDREWS                 OH          90008197902
1868824119373B   TYELISHA      LEE                     OH          64588292411
18688A26161958   JERRY         RUDOLPH                 CA          90000630261
1868924119373B   TYELISHA      LEE                     OH          64588292411
186896A9972B62   JONATHAN      GARCIA                  CO          90012366099
1869113A59373B   TERRY         YATES                   OH          90014731305
1869179A85715B   GINGER        FISCHER                 VA          90010257908
18691A1AA31687   GARY          COX                     KS          22066940100
18691A25855976   CRAIG         CLEIM                   CA          90006290258
18693A2384B588   JACK          WHITMORE                OK          90014000238
18693A8A191263   TABETHA       SNYDER                  GA          14576310801
186948A524B543   JOY           BURGERS                 OK          90010938052
186948A787328B   ALISHA        STEGALL                 NJ          90015038078
1869495955715B   MAYRA         CHAVEZ                  VA          90014249595
186952A5A5B526   MARGARITA     ANGUIAN                 NM          90007742050
18695621A91569   REBECA        NAVARRETE               TX          90001616210
18696371672B62   WILLIAM       WILDES                  CO          90012373716
1869664518B13B   SHANNAN       HARRIS                  UT          90000166451
18697142A9373B   KELLY         VITALE                  OH          90014731420
186977A318438B   CONISHA       JOHNSON                 SC          90009057031
1869822575B154   ARACELI       RIVERA                  AR          90013552257
186987A2391569   ROSEMARY      CAMACHO                 TX          90001507023
18698845A72B62   CHRISTINA     MEDINA                  CO          90014888450
1869B583681639   KIM           WILLIAMS                MO          29026915836
1869B627551359   ARTURO        RIVERA VAZQUEZ          OH          90013806275
1869B6A4161938   SUZE          LALANNE                 CA          90012706041
1869B959454123   ALISON        WALES                   OR          90006179594
186B195A94B26B   ABEL          SANDOVAL                NE          90014039509
186B295134B588   MEGAN         WILLIAMS                OK          90015129513
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186B332669373B   TOSHA            DICE                 OH          64506973266
186B352818B165   HECTOR           SANTILLAN            UT          90005035281
186B352824B26B   JOE              PETTUS               NE          26091605282
186B3575131687   LISA             COHEN                KS          90006955751
186B379215B154   PORTER           PUALA                AR          90010907921
186B396677328B   COURTNEY         WILSON               NJ          90015119667
186B4481A57147   ALEXANDER        TORRES               VA          90013724810
186B4677831687   AMBER            LOWE                 KS          90014066778
186B761174B26B   FAITH            KAEMMERLING FOWLER   NE          90008776117
186B7741657147   EMERITA ISABEL   ARRIAGA              VA          90011837416
186B8683991569   JORGE            DELAFUENTE           TX          75008216839
186B8A5638165B   CHRIS            CUSHMAN              MO          90000140563
186B8A9955B526   NATHAN           GARCIA               NM          90002320995
186B9118451359   CYNTHIA          COYNER               OH          90013241184
186B9219272B29   DE LA LUZ        ARENAS               CO          33040672192
186B9748351359   AMBER            HILL                 OH          90012337483
186B9A84548B25   GABRIEL          GARCÍA               KY          90014500845
186BB1A1285966   MARY             POWELL               KY          90003731012
186BB1A2A72426   RACHAEL          LAUGHNER             PA          90004221020
186BB412A91569   BRIANA           CHAVEZ               TX          90015234120
186BB529261958   LLUVIA           AISPURO              CA          90015025292
186BB723361938   ANTONIO          AVILA                CA          46009927233
186BB996951359   MARIA            HALL                 OH          90010839969
186BB999561958   ANNA             GONZALES             CA          90011999995
1871141355B395   GRISELDA         LOPES                OR          90011764135
1871466A376925   OQUARIUS         OATIS                MS          90014566603
1871489625B154   AMBER            FUQUA                AR          90009398962
187149A6676B72   BETINA           CUEVAS               CA          46091259066
1871618634B588   LASHENA          WESLEY               OK          90008621863
1871659698B863   ISABELA          ARCIO                HI          90013965969
1871818962B857   MICHELA          TALAMANTES           ID          90002101896
187181A3691523   ROSALVA          SOTO                 TX          90013101036
1871827165B526   RUTH             SHORTER              NM          90014452716
18719418A91569   ELISA            CERVANTES            TX          90013674180
1871981865715B   VICTOR           GONSALEZ BLANCO      VA          90012858186
1871B818861938   JUAN CARLOS      DE LEON              CA          90011898188
1872118854B588   JOSE             LARES                OK          90003621885
18721229772B38   ELVIRA           PEREZ                CO          33076722297
1872187A461958   LUIS             MANRIQUEZ            CA          46086198704
18721A53472B62   NANETTE          ABELLE               CO          33003220534
1872225744B26B   DEBRA            SHERARD              NE          90000342574
187276A8864135   JESUS            LEYVA                IA          90014186088
18727833897B54   PETE             VELASQUEZ            CO          90010788338
1872852A661938   RICHARD          LIPINSKI             CA          90014405206
1872897145715B   CUTRIS           POTER                VA          90014249714
1872922787B323   OSCAR            MENENDEZ             VA          81008962278
1872994725B526   JOANNA           PHILLIPS             NM          35062909472
18729A74761976   FLAVIA           CHIPRES              CA          90006580747
1872B296151355   DAWIT            BEIENE               OH          66010012961
187311A3891523   CYNTHIA          JUAREZ               TX          90013101038
18732138A9373B   DALE             LOWE                 OH          64564391380
1873576637B489   GREGORY          GARRISON             NC          11070587663
1873621A54782B   TIFFANY          ADAMS                GA          14008392105
18737747A97124   MATTHEW          STROBEN              OR          44513287470
1873823A95B526   ROSEMARY         TORRES               NM          35085772309
1873847754782B   LATRALLA         BRANTLEY             GA          90006634775
187392A615B526   JESUS            LUJAN                NM          90014812061
1873B17654B26B   CLINTON          GOEBEL               NE          90010221765
1873B82725B526   MARIAH           GARCIA               NM          35058288272
1873B831561938   AURELIANO        ESTRADA              CA          90013968315
1873BA98391523   JUAN             PEREZ                TX          90013100983
187413A9A47832   DEBORAH          BLASH                GA          90007753090
1874254935B129   SHAMARI          CLEMENTS             AR          90012315493
187425A4561938   LAURA            GALEANA              CA          90010205045
1874283A68B123   QUINTIN          SEVERNAK             UT          90013238306
1874291A74B26B   JUSTIN           MCLACHLAN            NE          90008239107
18742AA8185966   JOSE             MARTINEZ             KY          67097090081
187431A4761958   SYLVAIN          TAYLOR               CA          90007471047
1874329595B154   TIA              JACKSON              AR          90003592959
18743352672B62   MEGAN            UREN                 CO          33095643526
1874415575715B   ELMER            VASQUEZ              VA          81006461557
187442A6961958   SCOTT            POPE                 CA          90010112069
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1874469184B26B   PAULA         BROWN                   NE          26022626918
1874488417B695   KENDRICK      JENNINGS                GA          90014558841
1874533A691523   RODOLFO       MENDOZA                 TX          75039003306
18746153872B62   KHALED        SAWAKED                 CO          33020831538
1874697495B129   ANGELA        SPENCER                 AR          23097349749
18746A57761938   JOHNSON       SEMEXANT                CA          90010200577
1874812A372B62   KEOKI         NISHIHARA               CO          90001321203
1874B844661996   GABRIELA      CANCHOLA                CA          90000118446
1875122985B526   BOBBY         JACQUEZ                 NM          90012312298
18751865372B62   MICHELLE P    HENDRICKSON             CO          33070698653
1875221354B588   MALAYSIA      GLOVER                  OK          90012222135
18753293372B62   BRANDON       ABBEY                   CO          90011962933
1875359915715B   LIZZY         RIVERA                  VA          90012875991
1875451532B869   NIKKI         OSS                     ID          90004335153
1875538915715B   RODNEY        LIVATT                  VA          90002653891
187565AA761938   PIERRE        PORCENAT                CA          90014655007
1875677984B26B   LISA          WALKER                  NE          26087367798
187568A5572B84   LAURA         LANG                    CO          90008648055
18756A91491523   LORENA        ESPINO                  TX          90007740914
1875751A24B588   MICHAEL       COFFEE                  OK          90014395102
1875828519373B   NICOLE        LOCKHART                OH          64508602851
18758589A31687   ALICE         DEAR                    KS          90002865890
1875936969373B   JAZMIN        COOLEY                  OH          90014733696
18759619A51355   HENRY         TOMLINSON               OH          90014756190
187597A4961958   RUBEN         GONZALEZ                CA          90012707049
18759A72855976   XOCHITL       MARIN                   CA          90010770728
1875B93A891569   ANTONIA       SHULTZ                  NM          90013769308
1876231964B26B   CINDY         WILKINSON               NE          90011153196
1876315357B489   ISOLINA       VALLE                   NC          11087881535
18763765A57557   GLENN         MADISON                 NM          90001097650
1876451A461938   STACEY        COGSWELL                CA          90006005104
1876458274B588   DETRIA        BALLARD                 OK          90012255827
1876588864B52B   MICHAEL       LUNDSTROM               OK          90013758886
1876623335B526   HELEN         HERNANDEZ               NM          90014432333
187662A5131687   LOIS          FANNING                 KS          22066712051
18767A83455976   ESTHER        TORRES                  CA          90009800834
18767A8465715B   BATGEREL      BATBAYAR                VA          90012950846
1876986265B526   SHANITA       LOVETT                  NM          90011858626
1876995A95715B   ROBERT        JONES                   VA          90001499509
1876B121A9373B   CHRISTIANE    MAUSTELLER              OH          64510231210
1876B8A6855976   GRACIE        PEPEZ                   CA          90010938068
1877128A561958   WENDY         FLORES                  CA          46041762805
18771584A5B526   LUIS ARTURO   ACOSTA                  NM          90010785840
1877342A951337   SHANNON       COATES                  OH          90009864209
1877347A761958   EDWARD        THOMPSON                CA          46081224707
187734A2857147   DESHANTALA    ROGERS                  VA          90012684028
18773531A51359   TASHIA        YOUNG                   OH          90011225310
1877364344B26B   DENITA        WILKINSON               NE          90003936434
18773A38A57557   SAMMY         FERNANDEZ               NM          90011450380
1877487324B588   JANETTA       WARD                    OK          90011958732
18774A4A691578   MARTIN        HERNANDEZ               TX          90010790406
187751A7361938   SYLVANIA      DUNN                    CA          46014711073
187751A7A4B26B   KATREISHA     LQUINTANA               NE          26038191070
1877531965B526   LESLIE        ZAINTZ                  NM          90011903196
18776423A51359   MARVIN        BLACK                   OH          90000974230
1877686427B489   LUIS          VARGAS                  NC          90004258642
18776A6665B154   JOLANDA       TERRY                   AR          23007120666
1877717758B147   BRANDON       MECHAM                  UT          90008711775
1877788995B154   TRAVIS        GRAY                    AR          90008838899
18777A6375B378   NEIL          GRUBB                   OR          44506100637
18777A91851359   RASHELLE      WASHINGTON              OH          90014700918
1877819788B167   GREGORY       TRUSLOW                 UT          90012981978
1877826A251359   JACQUILINE    BENNETT                 OH          90013162602
1877833A24B543   GLORIA        FULTON                  OK          90010473302
1877857698B167   GREGORY       TRUSLOW                 UT          90013095769
1877887388B167   GREGORY       TRUSLOW                 UT          90009788738
1877B376693767   TEQUELLIA     SUMLIN                  OH          90007523766
1877B59844B26B   MANUEL        PEREZ                   NE          26011995984
1877B611561958   MARIA         PEREZ                   CA          90013336115
1877B86454B26B   TRISTA        KELLY-CARTER            NE          90014168645
1877B888285966   TANYA         LIVESAY                 KY          67093698882
18781225A51337   ASHELY        BRIDGES                 OH          90014582250
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18781475A5B599   ALFONO           NAJERA-GARCIA        NM          90006894750
1878323889373B   MARGARET         VALENTIME            OH          90007652388
18783763A4B26B   SMITH            MELONY               NE          90006567630
18785179497B69   GUADALUPE        ROMANO               CO          90013931794
1878642A561958   MELANIE          GRAY                 CA          90008614205
1878662645B526   YASMIN           MIRELES              NM          90013116264
18786A6375B389   LUCIA            MARTINEZ             OR          90012300637
1878716685B129   RICHARD          RIOS                 AR          23012801668
1878789938438B   KAREN            SMITH                SC          90010568993
18787A5A551337   DAYNE            COLEMAN              OH          90002580505
1878883645B526   CLAUDIA          SOLORIO              NM          35045758364
1878893535715B   NESTOR ARMANDO   ZALDANA              VA          90003839353
1878931695715B   MANUEL           SIVIRIAN             VA          90004083169
1878974594B26B   SAVANNAH         JOLES                NE          90014177459
1878994A94B588   KIMBERLY         THOMPSON             OK          90009089409
1878B283881639   DAVID            RAGUSA               MO          29077112838
1878BA47657147   SERGIO           MARTINEZ             VA          81056630476
18792684472B62   RENA             MISEK                CO          90013296844
18792A12761958   JOSEFINA         MILLAN               CA          90014960127
18794555372B62   JESS             VALDEZ               CO          33032585553
1879517615B129   KAREN            PATILLO              AR          23000831761
18795452A4B26B   TERESA           CECAVA               NE          26088124520
1879545895715B   JUNIOR           LOPEZ                VA          81001384589
1879627384B588   JAIRON           LUCAZ                OK          90005362738
1879633935715B   MAHLET           ADENEW               VA          90010403393
1879635359377B   NONA             DAUM                 OH          90010013535
18797A44851357   DONNA            LYONS                OH          66076550448
1879942915B526   MICHEAL          EVERTTE              NM          90005454291
1879988397B489   MARIA            BOSQUES              NC          90007408839
1879B472231687   ROBERT L         ROBINSON JR          KS          22005224722
1879B792751359   FREDY            MAZARIEGOS           OH          90011537927
187B1131261938   FLORI            JIMENEZ              CA          90003831312
187B1246581639   DAVID            CASTRO               MO          90011532465
187B1476791895   JOHN             MITCHELL             OK          21061244767
187B2274897B23   CYNTHIA          MILLER-HUGHES        CO          90005352748
187B2728A2B968   KRISTINA         MILLER               CA          90007757280
187B2817161976   ANNA             PORRAS OCAMPO        CA          46068128171
187B32A7151337   ROBERT           BELL                 OH          90004952071
187B395444B588   KELVIN           KIMBLE               OK          90012299544
187B4152724B6B   SHEKITA          MCCALLISTER          DC          90012551527
187B44A554B588   OLIVIA           ROJO                 OK          90012644055
187B549A731687   BRIAN            OAKLEY               KS          90014064907
187B5811591569   CESAR            RODRIGUEZ            TX          90015188115
187B6622A9373B   SONJA            HESS                 OH          90003866220
187B6891481639   MICHELLE         ALEXANDER            MO          29071868914
187B8287951359   DARLENE          KONATEH              OH          66071392879
187B8828951355   SEVIM            ROSE                 OH          90008818289
187B8873585966   JOSEPH           ADDISON              KY          90014238735
187B899378438B   ANNETTA          WHITLOCK             SC          19098519937
187B912235B526   MONIQUE          ALTAMIRANO           NM          35088131223
187B919872B232   CYNTHIA          TENNIAL              NC          90001341987
187B925244B588   DEDRA            LOY                  OK          90012112524
187B93A6755976   BOWERS           VICTORIA ROSEMARIE   CA          90005443067
187B9966691895   PAMELA           STEPTOE              OK          90008039666
187BB463591569   JESSICA          ORTEGO               TX          90001484635
187BB49A281639   MARY             CASWELL              MO          29010354902
187BB634257147   ROSIBEL          REYES                VA          90000686342
187BBA85351337   DARNESHA         CHANDLER             OH          90014090853
1881122715B154   WILLIE           DEMYERS              AR          90010202271
1881262A25715B   WILDER           ZUNIGA               VA          90014256202
18812A25372B62   CHRISTOPHER      SOLORIO              CO          90014850253
188137A598438B   MIA              GREEN                SC          90008847059
1881386925B526   RENEE            MONTEVERDE           NM          35043958692
18813991472B62   JASON            MENDENHALL           CO          33067429914
1881478345715B   JAY              THOMSON              VA          90010207834
1881645739373B   RICHARD          WELCH                OH          90014734573
18816983A4B26B   DAVID            NOTARO               NE          90014789830
18817A8337B47B   SAMI             SALM                 NC          90007390833
1881924869373B   CHACARLA         JONES                OH          90011292486
1881938A191523   ASHLEY           HERNDON              TX          90010473801
1881991892B92B   ALMA             GUTIERRREZ           CA          90009099189
18819A7A44B588   TOBY             CHAPMAN              OK          90013270704
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1881B15A74B588   CHRISTOPHER   KING                    OK          90006281507
1881B923531687   STEPHANI      MARTIN                  KS          90006129235
1882185463124B   STEPHAN       GARRING                  IL         90013458546
18821A79691569   AURORA        PINEDA                  TX          75057620796
18822175672B62   IVAN          FIGUEROA                CO          33069911756
1882282619373B   WILLIAM       LARKIN                  OH          90013408261
18822A92A91569   TERESA        GARCIA                  TX          90013840920
18824597A5B154   ERNESTO       FLORES                  AR          23046885970
188245A575B129   ASHELEY       HOLDEN                  AR          90005485057
1882494532B227   LEE           WHITTED                 DC          90001849453
188272AA571927   LAPASSION     MARSHALL                CO          90011912005
18827A58855976   JESSICA       CHAPA                   CA          90012280588
18828174172B62   HEAVEN        FRAZIER                 CO          33075041741
1882884795B129   MECHELLE      COOPER                  AR          90010618479
1882932A85B526   AMEERAH       SMITH                   NM          90011903208
1882B1A517B464   RITA          LOWERY                  NC          90001511051
1882B557357147   KRYSTAL       STANLEY                 VA          90012045573
1883211964B588   JOHNNY        HILL                    OK          90013061196
18832667572B62   SANDRA        ONORATO                 CO          90012366675
18832A6797B489   HAVIER        PEREZ                   NC          11091310679
1883433859373B   JACOB         EBER                    OH          90014103385
1883456325B154   JESSICA       MILLS                   AR          90014965632
18834A23A61938   OMAR          HARRISON                CA          46024120230
1883572819373B   JOSE          HERNANDEZ               OH          90003867281
1883734674B26B   JANELLE       SIMPSON                 NE          26087713467
18837A2169373B   REGINA        BROOKS                  OH          90001380216
188411A144B26B   WILLIAM       BRANCH                  NE          90014791014
18841642A85966   CAROLYN       JENNINGS                KY          90010036420
18842177972B62   JUAN          CASTANEDA               CO          90012031779
1884263223B396   OSWALDO       REYES                   CO          33083906322
1884263A961976   EMA           DOMINGUEZ               CA          90006626309
18842A59A5715B   ROBERTO       ZEPEDA                  VA          90012780590
1884488984B26B   LAMAR         COATES                  NE          90014178898
1884525994B55B   STEVE         HANSON                  OK          90010582599
18845583A91523   RODOLFO       CARDENAZ                TX          90013105830
18846773A5B154   GLORIA        HAYES                   AR          23008187730
18846927A4B588   RODERICK      TRUITT                  OK          90007739270
1884721A731687   ERIKA         GUTIERREZ               KS          22006632107
1884752A861958   ARMANDO       MENDOZA                 CA          46083415208
1884822A451337   PATRICIA      DUVALL                  OH          90011132204
1884849864782B   SALENTHIA     MOSLEY                  GA          90010314986
188485A613B396   SHANTE        VIGIL                   CO          33074105061
1884884224B588   LATEISHA      MURRAY                  OK          90013878422
18848A3624B26B   LORENA        MENDOZA                 NE          26098610362
1884932A357199   ANTONIO       RIVERA                  VA          81010583203
1884B31A631687   MELISSA       FITZX                   KS          90015083106
1884B326985966   JENNY         GANNON                  KY          90014813269
1884B96784B588   LINDA         GUPTILL                 OK          90012959678
188519A8771929   GHARIAN       GREEN                   CO          90011629087
1885257A45B154   LATASHA       HOLMES                  AR          90013485704
1885332789373B   SHANNON       BROOKINS                OH          90011293278
1885362484B26B   LARESHIA      WEAVER                  NE          26009106248
1885366698B863   LETICIA       ILORETA                 HI          90015126669
188537A9531687   CHARLENE      ARRINGTON               KS          22090797095
1885388A555976   WHITNEY       BLACK                   CA          90013978805
18853AA2691569   ERIC          ALGRAVES                TX          90009080026
1885489364B26B   JANETTE       PANO                    NE          90014178936
188548A675715B   REMBERTO      MATA                    VA          90001048067
1885556189373B   ROSALIND      BOYKIN                  OH          90014735618
18855A2364124B   PAUL          GRAY                    PA          51090150236
188563A8255976   VANA          LITTLEJOHN              CA          90013703082
1885658A29373B   STARLA        RECIO                   OH          90015055802
188577A6372468   DAG           SMALLING                PA          90001427063
18857A6435B154   RUDY          TIZNADO                 AR          23023620643
1885833A155976   SAMUEL        SANCHEZ                 CA          90010503301
18859A8435715B   OSWALDO       RIVERA                  VA          90012780843
1885B42197B489   BURL          FACEMIRE                NC          11015204219
1885B459A85966   VIVIAAN       RALEIGH                 KY          90008734590
1885B47A161938   KIM           OLDS                    CA          46037894701
1885B722291523   MIGUEL        HERNANDEZ               TX          90004257222
1885B73245B526   JACQUELINE    LITTLE                  NM          35058657324
1885BA77455976   MATTHEW       ESCOTO                  CA          90002690774
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188622AA591244   JACKIE            WARD                GA          90014782005
18862A32255936   PABLO             LOPEZ               CA          48010760322
1886458A691895   ESTHER            LUNSFORD            OK          90002835806
18865316A91836   TEANNA            THOMAS              OK          90001683160
18865897A4782B   SHANNA            ROZIER              GA          90000958970
1886598525B154   TERIDELL          HARDIN              AR          90015319852
188661A1661938   ROSELLA           SMITH               CA          90009611016
1886641914B26B   CHANTEL           ROSENBOOM           NE          90014584191
188675AA55715B   FELIPE            VASQUEZ             VA          90007855005
188684A314B26B   LORISA            BOWLAND             NE          90010454031
18868631A91523   OMAR              FLORES              TX          90013106310
1886936155715B   KIANA             DAVIS               VA          81075473615
1886B81319373B   COURTNEY          EISEN               OH          90013128131
1887147635B526   JAIME             TIGGES              NM          90013954763
1887232A572B38   YESICA            RIVERA GONZALEZ     CO          90009253205
18872555A4782B   JOHN              HUGHES              GA          90011715550
1887267194782B   KESHIA            MCGRUDER            GA          90011986719
18873577372B62   DONALD            PRILLER             CO          33004145773
1887415648438B   LASKEHIA          BUTLER              SC          90007361564
18875637172B62   URIAH             HIGH                CO          33059566371
1887593A75B526   CANDRIA           MASCARENAS          NM          90003129307
18875A1285715B   HECTOR            AYALA               VA          90013020128
1887646989373B   JOSE              ROJAS               OH          90011294698
1887686527B467   ANA SUSANA        LOPEZ GARCIA        NC          90012308652
18876A22491573   LUDDYN            ZAVALA              NM          90009810224
1887714484782B   OCTAVIUS          FINNEY              GA          90012321448
1887B374772B62   CASTILLO SAIENZ   MARIBEL             CO          90010853747
1887B4A1461925   SILVINO           GOMEZ               CA          46029604014
1887B737861958   JOSE              SANCHEZ             CA          46081087378
1888119344B26B   MARIA             ROMERO-AGUILA       NE          90009631934
1888126435B129   TIMOTHY           HUCKABY             AR          23077932643
18882214872B28   MARY              THERESA-GRIGG       CO          33088812148
1888226A357147   BEN               AGY                 VA          90000212603
1888423A455976   LETICIA           VARGAS              CA          90003992304
1888466659373B   MERISSA           ACKLEY              OH          90014736665
1888489174B588   BRANDY            BURTON              OK          90012038917
18884A59831687   SAMI              JONES               KS          22081130598
1888545999373B   SHEILA            ELAM                OH          90005114599
18886319872B26   APRIL             MOCK                CO          90005893198
1888641945135B   BASABOSE          ALBERT              OH          90010794194
18888146172B62   JESUS             MENDOZA             CO          33096511461
1888916764B26B   MARY              HINTSALA            NE          90007891676
18889226772B62   MARMOLEJO         RIVERA              CO          90008022267
1888927875B154   CRAIG             LIPSCOMB            AR          90011872787
1888952785B129   SANNIYYAH         DAVIS               AR          23004825278
1888B239772B62   JUAN-MANUE        ORTIZ-DIAZ          CO          33081132397
1888B484955976   JOSHUA            MOORE               CA          90002134849
1889433955715B   BUZACHEW          GARDO               VA          90014263395
1889544945B526   KELLI             LEYBA               NM          90000944494
188969A5A5B526   BRITTANY          ESPINOSA            NM          90012079050
1889712A251337   ODELIA            PEREZ               OH          90013931202
18897175272B38   NYIESHA           JARMON              CO          90010741752
18897399172B62   ROLANDO           VARGAS              CO          33097003991
188975A195715B   MARY              BARRIOS             VA          81029555019
1889768515B526   BLANCA            VALLES              NM          90004776851
1889797194B26B   DARREN            BOOKER              NE          90003119719
188981A5355976   GLORIA            VALDEZ              CA          90008721053
1889B719551337   ADIT              HUGHES              OH          90014077195
1889B819A61958   SUNIL             VASWANI             CA          90010078190
1889B81AA91997   ANTHONY           HARRIS              NC          90000998100
188B146834782B   ANTOINETTE        ANAYA               GA          90012114683
188B2356361976   JUAN              CARLOS TORRALES     CA          90006623563
188B243559373B   ERIC              SYLWESTRAK          OH          90014734355
188B27A355715B   CECIL             BENSON              VA          81091937035
188B336A172B62   SUGAR             SUGAR               CO          33041703601
188B373713B393   TRAVIS            SCHADLE             CO          33067527371
188B4311755976   JARRED            JOHNSON             CA          90003353117
188B4347857147   EDUARDO           BERRIOS             VA          90013243478
188B466A35B154   BENITA            GAYNOR              AR          23098456603
188B5A2574B26B   DEREK             HARRIS              NE          90012670257
188B6151185966   EVELYN            DAWSON              KY          90014791511
188B67A4681639   ANTHONY           PAYNE               MO          29063747046
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188B6983291569   LUPE         GARCIA                   NM          75074879832
188B7116672B38   BRANDY       BUENO                    CO          90011821166
188B7518972B62   GUILLERMO    MENDOZA                  CO          90010435189
188B782865B526   ERIC         PALLADINI                NM          90013088286
188B798675B154   LATONYA      REED                     AR          90015019867
188B7A58855976   SERGIO       MANUEL                   CA          90006900588
188B8156785966   MARTY        CONNERS                  KY          90014541567
188B9311451355   FELICIA      GARRETT                  OH          90003913114
188B9359372B62   DERRALL      STROCK                   CO          90014563593
188B982953B394   KENNETH      ZIEGLER                  CO          33055158295
188B9858A8438B   ERICA        RICHARDSON               SC          19041108580
188B99A124B588   YADIA        GARCIA                   OK          90009059012
188BB43559373B   ERIC         SYLWESTRAK               OH          90014734355
188BB56834B588   EVELYN       JOHANNING                OK          90015025683
188BB69314B26B   JOSEPH       TAYLOR                   NE          90014856931
188BB743291569   ANA          HERNANDEZ                TX          90008457432
188BB87544B588   EVELYN       JOHANNING                OK          90010268754
1891225715B526   BERTHA       VELASQUEZ                NM          35021922571
1891257298B169   ANGELIKA     CAMPBELL                 UT          90006745729
1891282489373B   MICHELLE     HUNTER                   OH          90009638248
1891342478438B   RHONDA       VIDAL                    SC          90011434247
1891499885715B   JOSE         PALACIOS                 VA          90013219988
1891511315715B   LETICIA      VEGA                     VA          90006911131
1891516A58B167   PETER        MCDONALD                 UT          31073651605
1891533514B26B   MICHELLE     HARRIS                   NE          90014793351
1891552185B526   MARIA        ACOSTA                   NM          90013955218
18915549A91569   VERONICA     LIRA                     TX          75007455490
1891579182B968   JOEL         POULSON                  CA          90005547918
189164A5755976   IRENE        LOPEZ                    CA          90000514057
1891652185B526   MARIA        ACOSTA                   NM          90013955218
1891692485B154   KADILYA      ROYSTER                  AR          90013399248
1891753174B26B   JANET        PALMER                   NE          26069795317
189177A435B526   KENNETH      MARTINEZ                 NM          90013967043
1891863A15B526   PATRICK      TOMMASO                  NM          90003796301
18919278A9373B   MAHDI        AHMAD                    OH          90014222780
1891B555A4782B   JOHN         HUGHES                   GA          90011715550
1891B75AA9373B   KENNA        HOUCHINS                 OH          64535447500
18921615472B62   JOSE         MEDINA                   CO          33087736154
1892186165B526   APRYLL       STEPHENS                 NM          35017798616
1892194A84B588   MINERVA      FUENTES                  OK          90012839408
1892253174B26B   JANET        PALMER                   NE          26069795317
18923234472B62   RAUL         FRANCO                   CO          33036212344
18923455A51337   BRITTANY     BARNES                   OH          90001434550
1892469A172B62   AARON        PROCTOR                  CO          90012026901
189248A8A55968   SALINAS      PETTE                    CA          49051298080
18925115472B62   JAVIER       ESPINOSA                 CO          90013771154
18925524A5B526   PAULA        LOVATO                   NM          90013955240
18926245672B62   MAYRA        IBUJES                   CO          33063962456
1892626516193B   MIGUEL       GUERRERO                 CA          46034582651
1892765474B26B   EBONI        INGRAM                   NE          26091916547
18927813A81639   CARRIE       DUNLAP                   MO          29044748130
1892788119373B   FREDI        ORELLANA                 OH          90006028811
1892788A972B62   CHELSEA      ROMERO                   CO          33087558809
1892873A424B55   DELMY        DIAZ                     VA          81084797304
1892884A391523   MOISES       VILLARREAL               TX          90014528403
18931653272B62   MICHELE      JENSEN                   CO          90012366532
189327A4155976   ANA          BARRERA                  CA          90011497041
189339A2661938   MATTHEW      ROBERTS                  CA          90013589026
18933A69591569   CHRISTINA    RIVAS                    TX          90015080695
1893449914B26B   DAKOTA       HOWARD                   NE          90002434991
1893489334B588   RAVEN        THOMAS                   OK          90003148933
18934A97255976   LISA         CARRISALEZ               CA          90010770972
18935AA795B282   HOWARD       SIMS                     KY          90012410079
1893613445B129   DIAMOND      LEE                      AR          23016141344
1893788535B526   JACOB        OWEN                     NM          90010608853
18937A46457147   FRANCIS      ALLER                    VA          90000580464
18938A2999373B   TINA         GRAVES                   OH          64558230299
1893B195655976   GEORGE       RIGGS                    CA          90012331956
18941758A97B38   LIONEL       SALAZAR                  CO          90005947580
1894244244B26B   ANGIE        KROFTA                   NE          90006264424
1894457862B876   LEILANI      HELMICK                  ID          42096005786
189445A212B232   YEDNEKACHE   BEYENE                   VA          81052245021
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1894492213B396   DIANA           GLIDDEN               CO          90012229221
18944A36291895   BONNIE          GLINES                OK          21072980362
1894544A44B588   RICKY           WALDROUBE             OK          90007944404
18946163872B62   MARK            LOPEZ                 CO          90009151638
18946456A5715B   ISIDRO          ESPINOZA              VA          90002504560
1894B61235B526   ERIC            NELSON                NM          35078646123
1894B651755976   MIRRELLA SOSA   DIAZ                  CA          90012886517
1894B67145B526   EFREN           ARVISO                NM          90012046714
1894BA74A57388   JAYE            WRIGHT                MO          90011010740
1895111795715B   NANA            ASADU                 VA          81028061179
1895142A591895   FELICIA         VELEZ                 OK          21008124205
189522AA185966   ADAM            REED                  KY          90012872001
18953278276B48   FATIMA          TAWAFI                CA          46051132782
1895359474B26B   MELISSA         SOBOTKA               NE          90014795947
18953653A72B62   DAVID           BELL                  CO          33074656530
1895418755715B   EDDY            POZO SARMIENTO        VA          90012271875
18955684972B89   JUSTIN          PARFREY               CO          90007296849
18955A26655976   SHANNON         SHARP                 CA          49069010266
18955A8944B588   MEGAN           ROGERS                OK          90012120894
18955AA229373B   NICHOLE         MARKEL                OH          90014740022
189561A6A61958   MARLENE         RAMIREZ               CA          90012421060
18956AA989373B   DILLON          ELDRIDGE              OH          64522970098
1895712A15715B   SHIFERAW        MOTEMA                VA          90014751201
18957A38191979   BENSON          OLOWOMUKE             NC          90009140381
1895821294B588   JAMIE           SMITH                 OK          90011022129
1895885977B489   JOSE            GAVIDIA               NC          11050598597
1895969524B26B   ALBENIS         MACHADO               NE          90008256952
1895979914B52B   NICKOLAS        PHILLIPS              OK          90013797991
1895B5A3A5599B   OMAR            VARGAS                CA          90014835030
1895B765781639   BETHANY         MATHIS                MO          90006057657
1896112735B526   ANDREW          VIGIL                 NM          90012931273
18961245772B62   JASON           VALLEY                CO          90015222457
1896156A75715B   TRACIE          THOMPSON              DC          90009895607
18961A7477B343   JOSE            RIVERA                VA          81085610747
1896221324B588   AYLA            DIAZ                  OK          90011312132
1896278A661958   ESTEFANI        QUIROZ                CA          90012787806
18963872A25396   COREY           CRAWFORD              WA          90015418720
18965165136B83   BRENDA          BARAJAS               OR          90012651651
1896582185B129   JENNETTE        DENISE                AR          90005498218
18966892372B62   JOSHUA          SANDOVAL              CO          90014488923
1896734219373B   HEATHER         LOUDRY                OH          90009353421
1896794465B526   JOSEPH          GARCIA                NM          90015109446
1896B25865B129   ENRIQUE         MONICIBAIZ            AR          23009142586
1896B275A31687   ANABEL          NAVA                  KS          90000262750
1896B357551359   FRANCES         LACEFIELD             OH          90013353575
1896B41A271967   TERRY           LARESE                CO          90013634102
1896B738A93767   FLOYD           HOLT                  OH          90013707380
1896B827391523   BERENICE        ALVARADO              TX          90013108273
1896B917851355   LAWRENCE        BELL                  OH          66010299178
1896B96384B26B   AMANDA          MASCHMAN              NE          26043349638
1897151455B526   CATHERINE       URTIEGA               NM          90008095145
1897272654B588   JOSEPH          BEVEL                 OK          90005437265
18972AA993B324   APRIL           KEEFE                 CO          33098310099
1897393994782B   DELISE          JAMES                 GA          90002239399
18973A37491569   STEPHANIE       SALAS                 TX          90010100374
1897433338438B   AMBER           KNISLEY               SC          90011303333
1897525854B588   AMILCAR         XICARA                OK          90015022585
18975667572B62   SANDRA          ONORATO               CO          90012366675
1897593444124B   ANDREW          HALL                  PA          90013849344
1897623685B154   KIMBERLY        LEGGS                 AR          90012872368
1897645965715B   DANIEL          RUIZ                  VA          90007844596
18976884A61958   VICTORINO       SOMERA                CA          90011668840
1897726444B26B   AJONIQUE        BAXTER                NE          90014382644
1897729825B154   JORDAE          SHERRE                AR          90015172982
189797AA95715B   KENIA           DIAZ                  VA          90012707009
1897986534B588   TERESIA         ABBOTT                OK          21554118653
1897B726776224   KERIANNE        WILLIAMS              GA          90005907267
1898125844B26B   ZACHARY         POPPAS                NE          90011192584
1898255A255976   FOR             VANG                  CA          90012225502
189838A955B526   RENAE           SMITH                 NM          35018108095
189839A6372B62   THOMAS          HUTCHINSON            CO          90012999063
18984663A51337   GLENN           NUTT                  OH          66046126630
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18984816697B58   JOHN          BURAK                   CO          90001728166
189848A3A5B154   MATHEW        WILLIAMS                AR          90015218030
189848AAA5B526   DANIEL        JONY                    NM          35086468000
1898545634B588   TOMMY         SCOTT                   OK          21595554563
18986367A72B62   DIONISIO      REYES                   CO          33086083670
1898686A58438B   TANEYA        CHAMPMAN                SC          90011008605
18986A75591523   ASHLEY        GARCIA                  TX          90014770755
1898715342B857   TERESA        GUILLEN                 ID          42065791534
18987333172B62   LUZ           ESTELLA ANCHOHONDO      CO          33056403331
1898833455715B   MARVIN        RAMOS                   VA          90008423345
18988A76651359   SHAWN         HAWKINS                 OH          66095180766
1898925735B526   ALICE         HENDERSON               NM          35075562573
1898937A64B26B   ELIZABETH     BOECHE                  NE          90011613706
18989763372B62   VINCENT       TRAVERSIE               CO          33037767633
1898B138191895   EDWARD        FARLEY                  OK          21053061381
1898B522651359   MARINO        BRAVO                   OH          90014965226
189913A8A47956   LORRIE        BLOCKER                 AR          24074843080
18992716672B62   KNIGHT        STEPHANIE               CO          33027157166
1899343343B39B   HECTOR        BONILLA                 CO          90006134334
1899438875B526   VICTORIA      PAULOS                  NM          90011413887
1899497895715B   TINA          JORDAN                  VA          90010139789
1899497A52B857   TOM           GORMAN                  ID          42022839705
1899542744B588   ANNEKA        SADLER                  OK          21516064274
189954A3785966   SARAH         CRAWFORD                KY          90013884037
189954A5772B62   JEREE         FIELDS                  CO          90010374057
18996799A91523   ZAHRA         KEYVAN                  TX          90010067990
18996946372B38   DARREN        CAJKA                   CO          33079199463
18997442A51355   LOUISE        MORGAN                  OH          66039834420
1899746A34B26B   SHONDA        BROWN                   NE          90005394603
18997946372B38   DARREN        CAJKA                   CO          33079199463
1899899595B54B   MAGDALENE     SENA                    NM          90014199959
1899915117B489   LEONARDO      SIERRA                  NC          11012441511
189992A5472B38   JORGE         GUERRERO                CO          90001852054
1899B48965B129   CASSANDRA     MCGEE                   AR          90008744896
189B118994B26B   DEBRA K       ROYAL                   NE          90007921899
189B1571224B55   DAVID         ALVAREZ                 VA          90013085712
189B169A451355   SHAMEEKA      MOORE                   OH          66066936904
189B2382897B48   DESIREE       JIMENEZ                 CO          90014563828
189B2792955928   SHA           XIONG                   CA          49044317929
189B2A43181639   MESHIA        GUNNELS                 MO          29047060431
189B3314191569   SYLVIA        SIERRA                  TX          75059353141
189B339AA72B62   NICOLE        BROWN                   CO          33072473900
189B3487551337   DEBI          MCNEELY                 OH          66090434875
189B3883A4B588   HERMANDO      GARCIA                  OK          90015188830
189B3A4818438B   CHRISTOPHER   BUSH                    SC          90010400481
189B4446772B62   ERIC          ARELLANO                CO          33086164467
189B532333B393   MARC          LASCOT                  CO          33090183233
189B5738581639   JERRY         LYLES                   MO          29025927385
189B6A22461958   OSCAR         GUERRERO                CA          46010450224
189B7668885966   CORY          SHORT                   KY          90012846688
189B7716551337   ANTONIO       BROWN JR                OH          90007987165
189B8491A4B26B   JESSICA       KEITH                   NE          90011594910
189B87A8561938   ANTONIO       AGUIRRE                 CA          90010377085
189B98A3891523   IRIS          LIRA                    TX          90013108038
189B9994A4B26B   NATHAN        RAWE                    NE          90009459940
189BB47824B588   MERCEDES      DAYNE                   OK          90009944782
189BB64AA72426   RYAN          GALLAGHER               PA          90010296400
189BB66218438B   DANIEL        HANKINS                 SC          19015326621
18B11184751355   MATTHEW       TIETSORT                OH          90015001847
18B11189391263   YENCINA       TALTON                  GA          14559801893
18B1121425715B   CHRISTEN      ROBERTS                 VA          90013892142
18B113A725B129   REDD          LEISUIRE                AR          90005393072
18B1166635715B   CHRISTEN      ROBERTS                 VA          90012466663
18B11896291569   LAURA         HEMLEY                  TX          75011258962
18B1211A791569   YENIA         CONTRERAS               TX          90012191107
18B12234691569   JAIME         PEREZ                   TX          90001052346
18B12247451355   KIMBERLY      DINH                    OH          66082242474
18B12AA5785966   JANEY         WHALEN                  KY          67091590057
18B13324991526   ANTONIO       JURADO                  NM          90012693249
18B1338A261938   FERNANDO      BLANCO                  CA          46076093802
18B1368134B588   JENNIFER      SOTO                    OK          90008856813
18B13937A61958   JOEL          SILVA                   CA          90006689370
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18B1411924B588   ANTIONN      CROFT                    OK          90014081192
18B1481A651337   JUSTIN       MCCLANAHAN               OH          90009118106
18B14924351359   DENNIS       TOMAS                    OH          90015189243
18B15A41861938   JOSE         AGULIAR                  CA          46005710418
18B16425781639   HERNANDEZ    RODRIGO                  MO          90010734257
18B16772A5B154   DONALD       GOLSTON                  AR          90011867720
18B1688899373B   KIMBERLY     BOGDANSKI                OH          64552138889
18B17317591569   JOSE         ENRIQUEZ                 TX          90012143175
18B17459851337   CLAUDE       VAIL                     OH          90015174598
18B17496A77535   REGAN        FROST                    NV          90008994960
18B1755535B154   TIREISHA     VINSON                   AR          90013775553
18B18154A4B588   TAHJ         LAWERNCE                 OK          90009561540
18B18426391B38   SAVANAH      LIKE                     NC          90015384263
18B1847165B526   CHRISTIE     HOUSTON                  NM          90012244716
18B1853A591523   CARLOS       RAMIREZ                  TX          90013105305
18B18646761938   DONNA        LEIPOLD                  CA          46038076467
18B18896991523   MONICA       LOPEZ-URIBE              TX          90013088969
18B19178426758   CHANTELL     PICKETT                  PA          90013221784
18B19857672B62   GEORGE       MENDOZA                  CO          90012808576
18B1987337B39B   MARIA        MONROY                   VA          90007768733
18B1BA66457147   STEPHEN      BUNDA                    VA          90011750664
18B21512627B8B   THOMAS       FALE                     KY          90014045126
18B22341281639   MARIO        SELGADO                  MO          90014293412
18B2323155B526   KENIA        NEGRETE-LEYVA            NM          90013982315
18B23269291569   PERLA        ESPARZA                  TX          90007522692
18B23311461938   ISABEL       ACEVEDO                  CA          90008083114
18B237A7A5B526   KENIA        NEGRETE LEYVA            NM          90012227070
18B23818293725   LUKE         MILLER                   OH          90002918182
18B24752361972   FERNANDO     FLORES                   CA          90012307523
18B2543A591263   TAMMY        FRYE                     GA          14518634305
18B258A2651337   MOZELLA      LAWRENCE                 OH          90002668026
18B25A14481639   AMELIA       MAPLES                   MO          90014600144
18B25A97731687   LIZA         MAYAGOITIA               KS          22087450977
18B26576971967   DANIEL       CASTILLO                 CO          90015485769
18B267A7191523   OSCAR        PONCE                    TX          75087827071
18B27191261938   EARLINE      JOHNSON                  CA          90014481912
18B27A12798B62   GEORGE       HOLLIS                   NC          90011130127
18B2838665B526   NEOMI        ORONA                    NM          35005383866
18B28699261958   JANET        JANOWALK                 CA          90010916992
18B28A93957147   HERSON       RUIZ                     VA          81047150939
18B2935214B588   SHAE         POTS                     OK          90012393521
18B29396385966   BRIAN        HASTY                    KY          90014153963
18B29721251337   LAURKITA     MATHEWS                  OH          66028237212
18B2B178426758   CHANTELL     PICKETT                  PA          90013221784
18B2B398871925   RAY          SAPEDA                   CO          90013163988
18B2B43695B526   ROBERT       MORENO                   NM          90004734369
18B2B439877574   JONATHAN     NAJERA                   NV          43033894398
18B2B765785966   LYNDSEY      BAKER                    KY          90014227657
18B31381991523   CECILIA      ALVARADO                 TX          90012193819
18B3181158438B   AURELIOANO   SEGUNDO                  SC          90010968115
18B31A5885715B   JAVIER       GUZMAN                   VA          90013410588
18B31AA165715B   JOSE         MOLINA                   VA          90014770016
18B324A625B526   ABAHAD       TREJO-CHAVEZ             NM          90010824062
18B32542891263   JAMEICA      ASHLEY                   GA          90011545428
18B32758A91569   MARK         CHAVIRA                  TX          75076627580
18B32A13857147   PAUL         TREMONT                  VA          90014960138
18B3339125B154   CHERYL       HARNESS                  AR          90008783912
18B3381379373B   JAMES        WARD                     OH          90007928137
18B33923551337   BOBBY        VAUGHN                   OH          66083359235
18B3437365B526   FRANCISCO    MORA                     NM          90006843736
18B34637461938   MERCEDEZ     JONES                    CA          90009726374
18B34736A33645   MISTY        BIGELOW                  NC          90001057360
18B3499667B489   MARCOS       RIOS CONTRERAS           NC          90000289966
18B35436A72B62   DIANA        GONZALEZ                 CO          90012724360
18B3545A751337   ANGELA       GRAVES                   OH          90011114507
18B3577224B588   GAYLE        HAWKES                   OK          21546517722
18B3591889152B   JESUS        DAVILA                   TX          90011709188
18B3623339373B   DEMARIS      MARTIN                   OH          90014672333
18B37866553B32   DAVID        WESTON                   CA          90013748665
18B37AA5A51337   AMANDA       STANSELL                 OH          90012060050
18B3853A972B62   AMANDA       THORTON                  CO          90011015309
18B3858865B154   ARMSTEAD     MAKESHA                  AR          23007175886
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18B3977418598B   JENNIFER N   ROBBERS                  OH          66091537741
18B39853372B62   LAURA        DURAN                    CO          90014538533
18B3B289291569   ESTHER       MUNOZ                    TX          75039172892
18B4115877B489   MARDOQUEO    HAU POOT                 NC          90001891587
18B42542872B62   RAUL         LOPEZ                    CO          90011015428
18B4383245715B   ZOILA        VELASQUEZ                VA          81016008324
18B43868491569   ALVARO       VEGA                     TX          90004378684
18B44152155976   JOHN         OLIVAS                   CA          90014321521
18B44472551355   GEORGE       OSEI                     OH          90013044725
18B44539155976   JOHN         OLIVAS                   CA          49001835391
18B44884131687   STACY        BARON                    KS          90007068841
18B44A55972B62   JONI         TRUJILLO                 CO          90012800559
18B4513924B26B   TERRY        ICE                      NE          90000321392
18B4528678B863   SALOMON      KALIMA                   HI          90014502867
18B46643457147   JOSE         HIDALGO                  VA          81068036434
18B4749185715B   ARACELY      CRUZ                     VA          90008404918
18B47515831687   PAMELA       FORD                     KS          90005405158
18B48728661976   CEAIRRA      LIZARDO                  CA          90006407286
18B4972964B26B   ROCHELLE     CANBY                    NE          90008737296
18B49779993724   PAULETTA     PEPPERS                  OH          64577397799
18B49875585966   MIKE         JONES                    KY          90012318755
18B49995A91569   HOSEA        BOLDEN                   TX          75097159950
18B4B351A4B26B   TAMMY        GEHLE                    NE          90013943510
18B4B376751337   PAIGE        FULTON                   OH          66046113767
18B4B917191523   DAVID        ARRATIA                  TX          90013089171
18B4B99454B26B   ALEXANDRA    BRASE                    NE          90012259945
18B4BA75A57147   GONZALOS     REYES                    VA          90002500750
18B515A137B35B   TITO         PORTILLO                 VA          81085615013
18B5222A831457   DAVID        KEELY                    MO          90013622208
18B52534472B62   MADELINE     FITCHETT                 CO          90009955344
18B52661861958   ALEJANDRA    GONZALEZ                 CA          90010726618
18B52A5468B167   CLINT        BARRATT                  UT          90010040546
18B53243955976   ROSA HILDA   DIAZ                     CA          90012902439
18B5344564B26B   SCOOTT       DAVIS                    NE          90011814456
18B5359A78B644   MARIA        PEREZ                    TX          90015195907
18B5524A751355   RUSSELL      HIGHLANDER               OH          90004092407
18B55764461938   ALI          ISMAEL                   CA          90010697644
18B56241257147   CALLETANA    EZQUIVEL                 VA          90005702412
18B56588191895   TANIA        BLEDSAW                  OK          21002845881
18B56988164135   BAWI         SANG                     IA          90013899881
18B57298991569   JUAN LUIS    FLORES                   TX          75001822989
18B57351A4B26B   TAMMY        GEHLE                    NE          90013943510
18B57521257147   IDALIA       RODRIGUEZ                VA          81096465212
18B5771639373B   AMBER        TAYLOR                   OH          90009707163
18B583A9A91569   JASON        MARTINEZ                 TX          90011053090
18B588A5291523   YADIRA       GARCIA                   TX          90009268052
18B59AA2361958   PERLA        OLIVARRIA                CA          90008500023
18B5B33945B154   MARQUEISHA   WHITE                    AR          90012053394
18B5B357691569   LORENZO      OLIVAS                   TX          90004013576
18B5B756385966   DENISE       WHITAKER                 KY          90014727563
18B61356176B68   NOHEMI       LOPEZ                    CA          90008533561
18B6169A75B154   ANDRINA      WEBB                     AR          90013006907
18B62485172B62   MARIA        NUNEZ                    CO          33048544851
18B62688785966   ANTWAUN      MITCHELL                 KY          90014506887
18B6333A291569   EFRAIN       CANDIA                   TX          75051993302
18B6348324B26B   LINDA        ANDERSON                 NE          90008104832
18B6367945715B   VNS          CONSTRUCTION             VA          90007196794
18B6424479373B   NADIA        HICKS                    OH          90005112447
18B6483237B489   DREW         JOHNSON                  NC          90002748323
18B6534A591523   SANDRA       GOMEZ                    TX          75085393405
18B65577985966   DUSTIN       SHEPPARD                 KY          90013135779
18B65625461938   MEKO         BOWDEN                   CA          90013506254
18B66172351359   MIYAH        HIBSHER                  OH          66091031723
18B6626A951364   DOMINIQUE    RICHARDSON               OH          66092012609
18B665AAA57147   TONEY        TOMONEY                  VA          90013705000
18B66657761938   EDUARDO      POWELL                   CA          90011966577
18B6666179373B   AYISHA       WALKER                   OH          90005316617
18B6674A372B62   ALICIA       GURULE                   CO          33014887403
18B66868251337   LISA         JOHNSON                  OH          66000278682
18B66A6315B526   YVONNE       BLEA                     NM          90008300631
18B6777764B588   AMELIA       ESCAMILLA                OK          21550337776
18B6831AA5B526   SHANTILL     MCKENNA                  NM          35032633100
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18B68672651337   SCOTT       SCHROER                   OH          90007746726
18B68751761976   MARIA       MENDOZA                   CA          90008277517
18B68A86991526   VALERIE     OVBIEKO                   NM          75052140869
18B69435772B62   SETH        LAVIGNE                   CO          33096004357
18B6967465135B   OUMOU       DIALLO                    OH          66021886746
18B6984A28438B   ONDREA      LEACH                     SC          19089888402
18B6B411331676   MELESIO     CAMPOS                    KS          90008464113
18B6BA3695B526   EDGAR       GURROLA-MATA              NM          90013950369
18B7114144B588   ABEL        RESENDIZ                  OK          90014071414
18B72239955976   JOSE        PACHECO                   CA          90013612399
18B72797161958   SARA        DE JESUS                  CA          46040277971
18B72825372B62   JASON       GOODNIGHT                 CO          90013548253
18B7288949373B   SCOTT       PATTERSON                 OH          90014668894
18B72A2725715B   JOSE        GOMEZ                     VA          90015150272
18B72A34891569   ALYSSA      ESQUIVEL                  TX          90012940348
18B73599A91523   SELINS      HERNANDEZ                 TX          90012625990
18B7381A157147   ABDUL       SESAY                     VA          90009718101
18B74523A85966   RUSSELL     WEST                      KY          90015085230
18B7469124B588   SHARIDEN    MITTEL                    OK          90014506912
18B75242291895   JOHN        RITCHIE                   OK          21007732422
18B752AA751355   JASMINE     THOMASON                  OH          90002422007
18B753AA357147   DANIEL      CORDOVA                   VA          90014813003
18B757A9681639   LAMON       GLASGOW                   MO          90012917096
18B7588949373B   SCOTT       PATTERSON                 OH          90014668894
18B7618A34B26B   ALICIA      MCCONNELL                 NE          90013031803
18B76558543588   KIMBERLY    SMITH                     UT          90012095585
18B7683237B489   DREW        JOHNSON                   NC          90002748323
18B7769A955976   JOSHUA      TAYLOR                    CA          49050856909
18B78248572B62   GRACIELA    FIGUEROA                  CO          90002272485
18B7927A45715B   ARTURO      MIGUEL                    VA          90011812704
18B7959685B129   RONALD      BROWN                     AR          90010915968
18B79834151355   TERRY       JAMES                     OH          90011318341
18B7B442151355   ANGELA      CONWELL                   OH          90002054421
18B7B49675B526   VALERIE     MARTINEZ                  NM          35014014967
18B81566591263   MYISHA      COLEMAN                   GA          90000515665
18B8174815715B   LORNA       BALDALLO                  VA          81049387481
18B82142591569   ALEJANDRO   SALAS                     TX          75007961425
18B82534172B62   MICHAEL     SINGLETON                 CO          33078655341
18B82539441225   SHAWN       LATONE                    PA          90000775394
18B825AA357147   ZARTIA      BOLDEN                    VA          81049715003
18B83264551337   SHAWANA     CARTER                    OH          90011192645
18B83416472B62   BRETT       CRANDALL                  CO          90005794164
18B8367345B526   CHRISTINA   MARQUEZ                   NM          35071306734
18B848A129373B   DAWNELLE    WINTROW                   OH          90003448012
18B8546A151359   KEIERSTEN   MARTIN                    OH          90012604601
18B8549615B526   NESLY       GONZALEZ                  NM          35068244961
18B85632551355   CHRIS       JONES                     OH          90008566325
18B86435385966   LORI        HAZELWOOD                 KY          90011914353
18B86656272B62   PRAIRIE     STANDINGBEAR              CO          90013966562
18B86859485966   RICHARD     PARKS                     KY          90014598594
18B86A31961932   KELLI       ATCHISON                  CA          90007800319
18B8728755599B   ANA         SANTIEGO                  CA          90015082875
18B87963355976   LUCIA       HERNANDEZ                 CA          90009179633
18B87A39871964   WHITNEY     STEWART                   CO          32058070398
18B8861475B526   ALBERT      CASTILLO                  NM          90012666147
18B88976961938   BEATRIZ     BORRUEL                   CA          90014039769
18B8917685715B   ALBERTO     PANGILINAN                VA          90003581768
18B891A6857147   NIXON       MARTINEZ                  VA          81054301068
18B89717991263   TAUSHA      JONES                     GA          90011547179
18B8B2A553B39B   ROB         BROWNE                    CO          33069112055
18B92225961938   DULCE       AMALLO                    CA          90014482259
18B92714461976   MINOR       RODRIGUEZ                 CA          46027527144
18B92736657147   ERLINDA     VILLATORO                 VA          90012897366
18B93175372B62   KARLOS      GOMEZ                     CO          33076591753
18B93225961938   DULCE       AMALLO                    CA          90014482259
18B9326A431687   LA DETRA    DEVON                     KS          90011092604
18B93584957147   PATRICIA    ROJAS                     VA          90014785849
18B93A1229373B   WAYNE       LAWRENCE                  OH          90009760122
18B94315891263   RAQUEL      PETTY                     GA          90011193158
18B9532935715B   ANIBAL      RAMIREZ                   VA          81038513293
18B9542197B489   BURL        FACEMIRE                  NC          11015204219
18B9556854B26B   BOBBI       KRAMER                    NE          90013675685
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18B95983161938   JACOB        GOLDSTIEN                CA          90013399831
18B95A4815B129   SANTERO      THOMAS                   AR          23011380481
18B9615729492B   CAROLINA     SALINAS                  CA          90014791572
18B9626298438B   ARTHUR       WALLACE                  SC          90013082629
18B96AA2357147   BRENDA       EUCEDA                   VA          90010480023
18B97356176B27   NOHEMI       LOPEZ                    CA          90008533561
18B9741A35B154   ELIZABETH    PANIAGUA                 AR          90006814103
18B976A1972B62   RAMON        RAMIREZ                  CO          90014456019
18B98233772B62   ALVARO       HERNANDEZ                CO          90008442337
18B9827284B588   ERNEST       BREHM                    OK          90005692728
18B98491331687   VERONICA     WAGNER                   KS          22043134913
18B98686A91569   ELIJAH       HERNANDEZ                TX          90014916860
18B98931A9373B   KAYLA        HARTMAN                  OH          90012539310
18B99621472B62   ROBERTO      GALLEGOS                 CO          33035656214
18B9993A391569   DE LA ROSA   VICTORIA                 TX          90008709303
18B9B196481639   JESSICA      DEWITT                   MO          90006911964
18BB1338A91569   ALEJANDRO    CABALLERO                TX          90013673380
18BB1762881639   PATTY        TROTTER                  MO          90013327628
18BB3A5489373B   MARY         PLOSKI                   OH          90011260548
18BB461475B526   GLORIA       MARQUEZ                  NM          35081206147
18BB4774A91523   INOCENTE     JAVALERA                 TX          90013967740
18BB4944491586   ODALIS       HOLGUIN                  TX          90010579444
18BB4A19485966   VICKY        SHARP                    KY          90012290194
18BB4A65451355   TONI A       FERRILL                  OH          90014940654
18BB5682A85966   DORIS        THOMAS                   KY          67075856820
18BB57A3161958   RAUL         AVENDANO                 CA          90013877031
18BB584A78438B   DONALD       JUDGE                    SC          90009688407
18BB611124B588   PHILIP       JACKSON                  OK          90012871112
18BB6156691523   MIGUEL       RAMIREZ                  TX          75008791566
18BB639A95715B   LUIS         FERNANDEZ                VA          90007873909
18BB65A9891569   ALMA         VERENA LOPEZ             TX          90009385098
18BB6667654133   DUSTIN       SANDERS                  OR          90015436676
18BB6747257199   RODNEY       SCOTT                    VA          90001297472
18BB7356A91569   ALFREDO      AGUILERA                 TX          75087413560
18BB76A9A4782B   FREDDIE      BLEDSOE                  GA          90007246090
18BB79A8131687   CLIFFORD     BLACK                    KS          22041839081
18BB7A7664B588   KEVIN        STOLL                    OK          90014810766
18BB8289436B83   TANYA        DONALDSON                TN          44538552894
18BB834445715B   MARVIN       VENTURA                  VA          90009623444
18BB839595B154   BRISEIDA     CANELA                   AR          90014393959
18BB8498372B4B   LAURA        SOLANO                   CO          90010794983
18BB8517861958   RICARDO      CASTRO                   CA          46055215178
18BB8864754122   RON          BALLESTEROS              OR          90009908647
18BB92A6791263   ALVIN        EDWARDS                  GA          14531462067
18BB941194B588   ADRIANA      MARQUEZ                  OK          90010484119
18BB9622857147   GILBERTO     MERLOS                   VA          90014766228
18BBB667261938   SALVADOR     VERA                     CA          90002026672
1911114217B489   NAZIRAH      MIDDLETON                NC          11007171421
1911131A15B129   ANFERNEE     PEEZY                    AR          23009003101
1911173265B343   ALMA         SANDOVAL                 OR          90010027326
1911225415B232   THOMAS       POTTER                   KY          68018572541
1911246185B348   NEILLE       WARNER                   OR          90000304618
1911313795715B   MARICRUZ     SERRANO                  VA          90011261379
191133A235B526   MARIA        CORRAL                   NM          35056183023
1911425917B424   ALFREDO      OROZCO                   NC          90000922591
19114542A2B968   DARWIN       FULLON                   CA          90008275420
1911512AA97B47   TERESA       AGUIRRE                  CO          90009961200
1911624597B428   CHRISTIAN    GRAY                     NC          90013532459
191163A8291895   ROSALIND     REAGAN                   OK          90002593082
1911669989373B   BROOKE       LAYNE-BURNETT            OH          90010756998
1911725414B588   CASEY        WALKER                   OK          21569132541
1911764394B259   JOSEPH       DELANOIT                 NE          90011226439
191176A6A91263   JOSEPH       GAINES                   GA          90013786060
191177A188438B   EBONY        ANCRUM                   SC          90005297018
1911828A55715B   JOSE         GONZALEZ FLORES          VA          90002572805
19119137597B3B   GABRIEL      DAMIAN                   CO          90005531375
19119412A91569   MELLISA      MIJARES                  TX          90014524120
1911942654B588   KEILI        PALACIOS                 OK          90013254265
19119A5652B243   KAREN        WILLIAMS                 DC          90009890565
1911B277885966   BRIDGET      POPPLEWELL               KY          90013492778
1911BA77951337   CRYSTAL      DAVENPORT                OH          66014400779
1912124339373B   JOSH         HONEYMAN                 OH          90014772433
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19121759A61958   SEOMARA      RAMIREZ                  CA          46036007590
19122A1164B259   LENIN        MEDINA                   NE          27051930116
1912322A25B154   JAMES        HUTCHISON                AR          23021852202
1912324339373B   JOSH         HONEYMAN                 OH          90014772433
1912359165B129   EDWARD       EKYEM                    AR          23011595916
1912524324B259   JAMES        BILLER                   NE          27005152432
1912551398B192   EMILY        WATKINS                  UT          31009705139
1912569989373B   BROOKE       LAYNE-BURNETT            OH          90010756998
19125A6355B154   BERNARD      BRACELY                  AR          23075820635
1912653245B526   KENNY        TYYVELL                  NM          90014925324
19126551A4B259   KENNETH      CLAYTON                  IA          27079455510
1912673564B26B   KARA         CLARK                    NE          26065537356
1912716A585966   TONYA        MCCLURE                  KY          90013321605
1912787195B526   CHRISTINE    MARTINEZ                 NM          90006268719
19128167A9373B   DAVID        MOORE                    OH          90013261670
1912858355715B   MICHAEL      JACKSON                  VA          90015505835
1912887A633699   SAMUEL       TERRY                    NC          90001918706
191295A1A51355   LAMAR        JOHNSON                  OH          90011255010
1912997AA5B526   LANHUONGTH   TRAN                     NM          35014119700
1912B22839373B   DEISY        ESPINO                   OH          90014772283
1912B269161963   IVAN         VAZQUEZ                  CA          46079102691
1912B4A1151359   JOSHUA       STEPHENS                 OH          66037204011
1912B759272B62   SELECIA      ROBINSON                 CO          90008657592
1912B84614B26B   KRISTAL      WORLEY                   NE          26038008461
1912BA1922B789   PAYGO        IVR ACTIVATION           ME          90012110192
1912BA38A57557   SAMMY        FERNANDEZ                NM          90011450380
1912BA45651355   IVAN         RUFINO                   OH          66015550456
19131148A61938   YAJAIRA      NUNEZ                    CA          90010831480
1913244A75B264   JOSH         UNDERHILL                KY          90006704407
1913289775B526   JOANNE       YANCEY                   NM          35077438977
1913327114B259   GREG         LEWIS                    NE          27077312711
1913351A96193B   BERNARDO     GALVEZ JR                CA          46005805109
1913365335B154   MARIA        BOWERS                   AR          23092116533
191336A955715B   JUAN         SALGADO                  VA          81017436095
1913384584B588   ROBERT       GREENE                   OK          90000668458
1913413294124B   JESSICA      BLANCHARD                PA          51033871329
19134347A72B62   JEAN         PAGETTE                  CO          90014333470
19136441227B36   JAMES        MANNING                  KY          90014814412
19136545A91569   DAVID        GARCIA                   TX          90013195450
1913683645B154   SHARON       HENLEY                   AR          23077678364
1913698A391263   NIKKI        ANDREWS                  GA          90014039803
19137A8A24B588   ROBIN        LOPEZ                    OK          90012200802
1913849245599B   LISA         BRACKETT                 CA          90012684924
191399AA691569   SOFIA        CARREON                  TX          90007369006
1913B337591263   DAVID        ANDRADE                  GA          90014443375
1913B568457125   TITO         MOLINA                   VA          81039265684
1913B89644B588   TED          RHYNE                    OK          21588298964
19143624A2B865   JENNIFER     PYKONEN                  ID          90012906240
1914363AA57147   SANDRA       RIVAS                    VA          90014166300
1914379A954174   LIDIA        ROBLERO GONZALEZ         OR          90011417909
19144353A91895   DIANA        MENDIAS                  OK          90006863530
1914447A185966   TAMMY        SHORT                    KY          90011154701
19145167A93745   ADRIANA      LAVY                     OH          64591481670
19145A1665B343   ANGELA       MARIE                    OR          90006330166
1914622839373B   DEISY        ESPINO                   OH          90014772283
1914629796B552   TIEGISTI     KETEMA                   SD          90015502979
1914638134B588   SECUNDO      DE LA PAZ                OK          90014523813
1914641AA57147   AGUSTIN      MARQUEZ                  VA          81057934100
19146533A61963   THOMAS       HITCHCOCK                CA          90014405330
1914727254B588   LUIS         RIOS                     OK          90000212725
19147A14461963   BRENICE      HUGHES                   CA          90013450144
1914829774B259   BARABARA     LASON                    NE          90007062977
1914837A772B62   PANCHO       VILLA                    CO          90012803707
19148A72A5B533   GUADALUPE    BELL                     NM          90006980720
191491A6451337   CASSIE       COOREY                   OH          90014771064
19149312436B72   RUBEN        RENTERIA                 OR          90010453124
19149597A5715B   DAVID        PADGETT                  VA          90005705970
191495A8136B72   RUBEN        RENTERIA                 OR          90012735081
191496A298B169   LAURO        DE SANTIAGO              UT          31087916029
19149983874B7B   PAYGO        IVR ACTIVATION           OH          90006679838
1914B484391569   DIANA        LOPEZ                    TX          90006284843
1915131915715B   IVAN         ANDREJIC                 VA          81089123191
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1915154A491826   HUNTER      FREEMAN                    OK         90012655404
1915168324B259   JOHN        ADDYMAN                    NE         90008046832
19151A5AA57147   ANDRES      CARAVANTES                 VA         90004890500
1915318A791263   CARL        BULLARD                    GA         90014691807
191536A1185966   LULA        CARRIER                    KY         90014606011
19154547A93745   JOSH        BARNTHOUSE                 OH         90014245470
1915525174B588   TRINIDAD    PEREZ                      OK         90011622517
19156474A51359   JOSE        ORTIZ                      OH         66049264740
1915793835715B   DIDI        ALEMU                      VA         90013789383
1915874514B26B   RUSS        WENTINK                    NE         26042527451
19158A1927B337   PAUL        WESLET                     VA         81086270192
1915959575B526   MONICA      BUSTAMANTE                 NM         90013825957
19159914172B27   JAIRO       REYES                      CO         90012089141
19159A87291569   ERICA       PINON                      TX         90015150872
1915B151A61963   GIL         RODRIGUEZ                  CA         90012771510
1915B654591569   DIEGO       MILLER                     TX         90012826545
1915B868493745   NIKKI       KELLEY                     OH         90008938684
1915B98585715B   LAZARO      VENTURA                    VA         81094489858
19161112772B62   ROMONA      CAMPOS                     CO         33004551127
19161289A43563   ROBERT      RAUER                      UT         31031392890
191615A1391855   SUSAN       NEUMANN                    OK         90011905013
1916323525B526   WILLIAM     LUJAN                      NM         35033082352
191648A8157147   OLGA        HERNANDEZ                  VA         90005778081
1916528A35715B   DEYSE       ASIN MELENDEZ DE PARIONA   VA         90012562803
19165A7719373B   CARL        BARNHARDT                  OH         90014780771
191663A2185966   JAMES       COFFEY                     KY         90013973021
1916669654B259   DANIEL      ONOFRE                     NE         90008046965
19166A26193745   SHAWNA      MCINTIRE                   OH         90014600261
19167421A51359   JENNIFER    WHITE                      OH         90010064210
1916742228B863   MALIK       RILEY                      HI         90014754222
1916B31A951337   HEIDI       KUHLMAN                    OH         66044703109
1916B413131687   KENDRA      BELL                       KS         22072694131
1916B92665715B   DYLAN       CHAVEZ                     VA         90013929266
19172784A91569   LILIA       FLORES                     TX         75035197840
1917288174B259   MARGARITA   ROACH                      NE         90013638817
19172A82972B62   JESSE       VIDAL                      CO         33014980829
1917382999373B   NICOLE      WEIKERT                    OH         90008958299
19173AA464B259   FABIOLA     LECHUGA                    NE         90011050046
1917479195B343   DONNA       FOUNTAIN                   OR         44506807919
19175A1915B526   GINA        ARAGON                     NM         35066730191
19176A8A291569   DARRIN      RANKINS                    TX         90011190802
191777A765715B   TEKELACHE   GEBRE                      VA         81081737076
19177949672B62   MANUEL      AGUIRRE                    CO         33058359496
1917796735B299   ROSARIO     ABUNDEZRADILLA             KY         90014869673
1917831715B343   SHALONE     ELLIS                      OR         90014353171
1917838215B338   DANNY       KINGERY                    OR         44514933821
1917866A557147   RONALD      POLO                       VA         90014166605
1917876A74B259   MARTIN      TELLEZ                     NE         90014157607
1917912614B259   HERNANDEZ   FLORENTINA                 NE         27039961261
191796A585B343   JENNIFER    SANDOVAL                   OR         44579986058
1917B62959373B   JENNIFER    HUNTER                     OH         90008556295
1918121834B588   JIMMY       WILLIAMS                   OK         90010992183
1918322435715B   EVA         SORTO                      VA         90013552243
19183397163B5B   NICOLE      BARNS                       IL        90010433971
1918343A951322   KESHA       TURNER                     OH         90013574309
1918398975B343   AURORA      SOTO                       OR         90011859897
191865A6A91569   LAURA       MERCADO                    TX         90013335060
19186A9384B259   GERI        KYLES                      NE         90015190938
1918787495715B   EVA         JUAREZ                     VA         90010478749
19188382472B62   NEIVA       GUTIERREZ                  CO         90012803824
19188621A61963   ROYA        EBRAHIMI                   CA         90014596210
1918941399373B   AMANDA      STOLLINGS                  OH         90013554139
191896AAA51359   SEAN        PHILLIPS                   OH         90002826000
19189752A9192B   SHALETIA    MCARTHUR                   NC         90014407520
1918989195B343   MICHAEL     GUN                        OR         90012908919
1918B2A8291964   NANCY       MOORE                      NC         90000562082
1918B43A85715B   GUILLERMO   MENJIVAR                   VA         90014874308
1918B48455B526   ARMANDO     REYES                      NM         90010354845
1918B697933699   DANIELLE    LINDSAY                    NC         90005136979
19191661872B62   AMERIC      ESPARZA                    CO         90004006618
19191828A4B588   DAVID       DOUGLAS                    OK         90015118280
1919262A25B526   CARMEN      RODRIGUEZ                  NM         90003936202
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1919381684B588   SHANE        GEORGE                   OK          90013238168
191942A4951355   TERISA       KIER                     OH          90007342049
19194722A4B259   SARA         HUMPHREY                 IA          27044507220
19194A4484B588   LOUIS        SCAFFETTA                OK          90005520448
19196317A7B489   LATONYA      BRAND                    NC          90008573170
191963A5851355   MARCOS       JIMENEZ RODRIGUEZ        OH          90014993058
1919762115B154   MARIO        BOCANEGRA                AR          23022786211
1919829195715B   PEDRO        VALENCIA                 VA          81057722919
19198A2A161958   HILDA        CRUZ                     CA          46050270201
1919954A131444   KELLY        BAKER                    MO          90014565401
1919969599373B   CHARLENE     EASTERLING               OH          64592336959
1919B942872B62   SEAN         TORRES                   CO          90011459428
1919B967291895   SARA         CLINGAN                  OK          90005679672
1919BA91A24B42   PATRICK      WARD                     DC          90003590910
191B1573191569   GLORIA       SANCHEZ                  TX          75014285731
191B366AA91569   TERRY        FERNANDEZ                TX          75018816600
191B3A1235B526   HEALING      ALEX                     NM          90003910123
191B4196372B84   NICOLE       CHAVEZ                   CO          90013081963
191B4387A4B588   VICTOR       FOWLER                   OK          90013043870
191B4641761963   GABRIAL      LOAIZA                   CA          90013346417
191B4AA335B526   CHRISTIAN    LAZO OCHOA               NM          90005880033
191B553119196B   LISA         MOORE                    NC          17088375311
191B5562957562   GUADALUPE    VILLALOBOS               NM          90012465629
191B6731757147   TRANSITO     HERRERA                  VA          90003787317
191B673214B26B   ASHLEY       BRIGGS                   NE          90000137321
191B729114B259   KRISTINA     CLARK                    IA          90000762911
191B7291591569   MICHAEL      ESCAJEDA                 TX          90009432915
191B7745691895   MATTHEW      BLACET                   OK          21001717456
191B8265791569   VERONICA     HAMBRICK                 TX          75012232657
191B836695B526   YAMIL        CHAHEINE                 NM          90015343669
191B858774B592   EVA          LEWIS                    OK          90008145877
191B8A9A961938   LIDIA        RODRIGUEZ                CA          46076490909
191B922784B259   MARIA        GUADALUPE                NE          90010582278
191BB47139373B   LAQUATA      JACKSON                  OH          90014764713
191BB63475715B   MOISES       ALMANZA                  VA          81007076347
191BB739791263   RAFAEL       ROSALES                  SC          90008667397
19211898324B7B   JOSE         ROMERO                   DC          90002668983
1921271624B259   LINDSAY      BAXTER                   NE          90011047162
1921318755B343   CHAERLES     ROCHA                    OR          90014971875
1921391698B472   EDWARDO      DIAZ                     VA          90014319169
1921414985B526   ANTHONY      LOVATO                   NM          35053441498
1921443119373B   JOY          RAEJEAN                  OH          90014774311
19215287A57147   MARLENE      MEJIBOS                  VA          90001562870
19215887A31687   KEISHA       GOULD                    KS          90012658870
192174A3791263   SHANNON      RILEY                    GA          90015424037
192174A5A93745   KAREN        LAWSON                   OH          90010194050
19217636572B62   ADAM         LUCERO                   CO          90012906365
1921817695B343   REBEKAH      SOUTHER                  OR          90014781769
1921839A45B154   STEVE        HOWARD                   AR          23002113904
19218885372B62   JUANA        VELOZE                   CO          90012808853
1921917548B192   JOHN         RAY                      UT          31013921754
1921949185715B   WEILY        BOKEL                    VA          90012444918
1921976365599B   ALEX         REYES                    CA          48004927636
19219AA825B343   VERONICA     ROJAS                    OR          44529030082
1921B212561963   ERIN         WARNOCK                  CA          90000552125
1921B28514B259   MATTHEW      SANDQUIST                NE          90013022851
1921B2A615B343   ANGELINA     PLAQUE                   OR          90008932061
1921B4A9574B7B   LOIS         TYLER                    OH          90014494095
19221529772B44   ATON         MONDRAGON                CO          90006845297
19222628A51359   DAWN         NEALY                    OH          90011986280
192229A5991569   SYLVIA       MIRANDA                  TX          75041159059
19222A65447956   DAVID        DEPRIEST                 AR          24013500654
19223899A4B259   CATHI        GARABRANDT               NE          27063148990
1922487144B259   IRIS         TORRES                   NE          90010408714
1922513225715B   JOSE         UGALDE                   VA          90006621322
19225331A61963   MANUEL       JIMENEZ                  CA          46071613310
1922644745B129   CINDY        MAXWELL                  AR          23091154474
1922652235B343   ANASTASIA    ROBINSON                 OR          90013275223
19226A15791569   ROSA         MORAN                    TX          75013130157
19227552A61938   MARIAELENA   ORTEGA                   CA          90008365520
19227A4444B259   ROBERT       LUKOWSKI                 NE          90013950444
19228557872B62   ROSALYN      DAVIS                    CO          90014585578
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192296A1651337   RODNEY           LESTER                OH         90014016016
1922B139491234   LASHON           KNIGHT                GA         90011811394
1922B214372B62   OLGA             RIVERA                CO         33033092143
1922B2A419373B   JESSE            BARKER                OH         90011002041
1922B3A2661938   MARCO            SANTIAGO              CA         90009363026
1923146114B22B   KEITH            MOMBERGER 2ND         NE         90001014611
1923151694B588   IRENE            HOLLENBECK            OK         21532785169
19231725772B62   SILVANO          CALDERON              CO         90012927257
1923314865B343   DANIEL           SHAFEI                OR         90007231486
1923339693B373   DOMINIC          FIELD                 CO         90013893969
1923441265B526   MONICA           PACHECO               NM         90009184126
1923466125B343   ANTONIO          DE LUNDA              OR         90000446612
19235635A91569   EDUARDO          FLORES                TX         90011526350
1923658418B144   JEANETTE         VEGA                  UT         90013075841
1923743564B588   JOHN             YOUNG                 OK         21588494356
19237584172B62   LUCIA            RIVERA                CO         33059975841
1923822325B526   ROSA             ESPARZA               NM         90005332232
1923845415B343   SUSI EMILIA      QUINTANILLA AGUILAR   OR         90014704541
19238975A9373B   DIANA            BOYD                  OH         90004589750
192394A5A93745   KAREN            LAWSON                OH         90010194050
192397AA255976   WHITNEY          LANGSTON              CA         90011727002
19239A81A91895   ELISA            SALAZAR               OK         90012260810
1923B164672B62   PATRICIA         MORALES               CO         33057041646
1923B3A2391569   ADRIAN           ESTALA                TX         90008643023
1923B625371976   ROGER            MILLER                CO         32068396253
1923B67295715B   ANTONIO          DAWSON                VA         90011556729
19241727572B62   MYDA             HERNANDEZ             CO         33011887275
192424A9161963   JUHAR            SLEEA                 CA         90002914091
1924283654B588   TAYLOR           GOODMAN               OK         90013088365
1924344A74B259   MATTIE           STOETZEL              NE         90004734407
192459A1551355   DENNIS           HOUNSHELL             OH         90011369015
1924622688B337   FRANCIS          AGUIRRE               SC         90005342268
1924666A557147   RONALD           POLO                  VA         90014166605
1924726174B259   MARGARET         GILLESPIE             NE         90002642617
1924976285B343   KAREN            KNORR                 OR         90010267628
1924B241791263   KATINA           KING                  GA         90014712417
1924B448672B97   OSCAR            FAVELA                CO         90010044486
1924B95625B343   JOAQUIN ADELFO   GOMEZ CRUZ            OR         90013599562
192512A8491895   JIMMY            HARDEN                OK         21093882084
19251474A85966   CLAY             HUNDLEY               KY         90012074740
19251489372B62   CHRISTINA        REYES                 CO         90006054893
192515A864B588   REBECCA          SOTO                  OK         90009805086
1925165464B922   JEFFREY          HUFFMAN               TX         90001556546
1925216979373B   DONNA            HOUSE                 OH         90005221697
1925262A95B399   SONYA            SANTOYA               OR         90005276209
19253759572B62   ERNEST           WALKER                CO         90013557595
1925463A672B62   JOSE             SANDOVAL              CO         33014146306
1925489465B526   JACINTA          SENA                  NM         90013928946
19255A2225715B   JAIRO            VAZQUEZ               VA         90010700222
1925656469373B   ROBERT           CROWE                 OH         64548015646
1925678665B526   LAYLA            SALAZAR               NM         90005577866
1925744974B26B   JANICE A         KIRCHOFF              NE         26053094497
1925775AA61938   PERLA            DONATO                CA         90010077500
1925782A871955   ANDY             VASQUES               CO         90015168208
19257A79193745   KAY              PRITCHARD             OH         90000430791
1925836A785966   DEQUENTIN        ANDERSON              KY         90014733607
1925866A35B129   JOYCE            HINES                 AR         23058586603
1925887584B259   ALVIN            CARTER                NE         27027738758
1925B488872B62   ALMA             POOT                  CO         90000564888
1925B85755B154   LISA             GURLEY                AR         23047158575
1925BA16251355   DESIRRE          GOODEN                OH         90011400162
19261A7719373B   CARL             BARNHARDT             OH         90014780771
1926266867B323   DEISI            MARADIAGA             VA         90010556686
19264375A57147   MARIA            JOHNSON               VA         90012673750
1926492994B259   VAALELE          VILI                  NE         90004359299
1926496754B26B   CHRIS            PHARES                NE         90004769675
1926514144B588   CHELSEY          FINCH                 OK         90014931414
19265A58891263   CYNTHIA          MEADOWS               GA         90014930588
19266A38431687   STARR            WESTRA                KS         90006700384
19267A7A572B37   JOSE             RAMIREZ               CO         90002540705
192681A259373B   ISAIAH           CLARK                 OH         90014781025
1926864285B343   ASHLEY           CROSS                 OR         90013356428
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1926B52644B588   ROBERT      MCMANUS                   OK          90014915264
1926B597931687   OMAR        RODRIGUEZ                 KS          90013905979
1926B83155B188   CHRIS       BROWN                     AR          90013818315
19271245772B2B   JACQUELYN   SABIN                     CO          90011582457
19271718A4B52B   OLGA        RIOS                      OK          90010707180
19271887272B62   LINDSEY     TORRES                    CO          90012808872
1927362455B343   ALFREDO     VARRAGAN                  OR          90014346245
1927387124B259   WAYNE       ABEL                      NE          27014978712
1927578425B129   CHAZEROUS   MARSHALL                  AR          23009157842
1927612989373B   DORA        ANDERSON                  OH          90014781298
1927615285B526   JEREMY      PETERS                    NM          90010631528
1927627917B424   MORISSA     BROWN                     NC          11015152791
19276635A91569   EDUARDO     FLORES                    TX          90011526350
19279A73651359   PAMELA      COOPER                    OH          90005290736
1927B278357147   NICOLE      WILCOX                    VA          90013102783
1927B294731687   ARMANDO     GONZALES                  KS          22090002947
1927B467157147   JOSE        LOPEZ                     VA          90002904671
1927B548A61938   ITZEL       ROQUE                     CA          90005825480
1927B794751337   RIGOBERTO   RAYMUNDO                  OH          66065217947
192822A689373B   JEFFREY     GIBSON                    OH          90006692068
19282428872B62   JASMINE     MANRIQUEZ                 CO          90012804288
19283219772B62   MARIGRAT    WAGIKU                    CO          90007492197
1928328894B259   KATIE       BARRO                     NE          90014482889
1928349524B588   SALVADOR    TORRES                    OK          90012934952
19284186397B3B   DESTINY     ARCHIBEQUE                CO          90010101863
192852A2872B23   TOMMY       MARIN                     CO          90008572028
1928549775B526   ANTHONY     BARELA                    NM          90014344977
19286463297B58   JANICE      BAILEY                    CO          90001034632
1928713299373B   OSCAR       ALEJANDRO                 OH          64509311329
192878A7161963   EVONIE      SANCHEZ                   CA          90013358071
1928836A861958   SILVIA      MICH                      CA          90012183608
19288574772B62   MANUEL      HERNANDEZ                 CO          90013305747
1928B38582B249   RASCO       BRASWELL                  DC          90004353858
1928B59575B526   MONICA      BUSTAMANTE                NM          90013825957
1928B87A65715B   JENNIFER    BLACKENEY                 VA          90000628706
1928BA36A4B259   DAVID       LONG                      IA          27087230360
19291865A5598B   CRISTINA    QUIROZ DE RODRIGUEZ       CA          90011818650
19292142A4B588   LAVEDA      BENT                      OK          21577301420
1929291285B526   CHAD        ALTMAN                    NM          90013929128
1929358175B526   KAILENE     DANIELLS                  NM          90013535817
19293A88651355   DAVID       LEACH                     OH          90013550886
19294336276B8B   MARIANA     SANCHEZ                   CA          90014103362
1929445194B26B   MELODY      CEPURNIEKS                NE          26014584519
1929551954B259   MANUEL      CERRANO                   NE          27058305195
192963A5955934   RAYMUNDO    AVILEZ                    CA          90005903059
1929691754B26B   KATELYNN    PIPER                     NE          90006999175
19297959697B3B   SHANA       BE                        CO          90011789596
19297AA2772B62   DANIELLA    LOVATO                    CO          90006320027
1929861545B526   TIM         ABEITA                    NM          90002506154
1929919157192B   ADELINE     LIPPINCOTT                CO          32088611915
1929944245715B   WILLIAM     LLOYD                     VA          90011234424
19299A7964B543   BRANDON     GIBBY                     OK          90001820796
1929B483391573   BEATRIE     JIMENEZ                   TX          90000764833
1929B658351355   TIFFINEY    MCGHEE                    OH          66037986583
192B149817B489   ERICA       BLAIR                     NC          90009244981
192B1637561938   ELSA        ROBLES                    CA          90009136375
192B1884172B62   ALISSA      BRADLEY                   CO          90012808841
192B2144461958   YADIRA      SOLORIO JIMENEZ POZOS     CA          90010171444
192B3273461963   DIANA       LIZALDE                   CA          46000682734
192B38A6A47956   MAYRA       MERIDA                    AR          24038318060
192B3A1644B259   GABINA      PUENTES                   NE          27087430164
192B3A3535B267   SARAH       WARDLEY                   KY          90001780353
192B3AA1957147   TERRESA     BELL                      VA          90011490019
192B4456A72B62   LISA        CASAUS                    CO          90011984560
192B483AA72B62   FREDA       MAC                       CO          90006838300
192B48AA991263   ISABELL     RAMIREZ                   GA          90002158009
192B5959572B62   ATENAS      VALERIO                   CO          90011239595
192B6617291263   BETTY       JEAN                      GA          90013026172
192B666525B23B   KYLE        HASH                      KY          90013576652
192B6A68461963   TRISHA      MITCHEL                   CA          46089450684
192B717615715B   ALEXANDER   FRIAS                     VA          90012211761
192B7241791263   KATINA      KING                      GA          90014712417
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192B7344A61963   GINA        BOWERS                    CA          90012453440
192B7656861958   RAMON       MEDINA                    CA          90009666568
192B9392185966   REGINA      PARKS                     KY          90010533921
192B9454551359   LARRY       MINK                      OH          66039324545
192B984645715B   FATIMA      ESPINOZA                  VA          90013228464
192BB954751337   EVA         LOPEZ                     OH          66056669547
192BB98418B863   LOHELANI    NAVESHIMA                 HI          90015369841
1931183688B683   TAMBRALE    DAWSON                    TX          90015478368
1931191545715B   ROSARIO     LICONA                    VA          90010259154
1931218535B526   AMANDA      FRESQUEZ                  NM          90005721853
193123A6A8168B   IESDRAS     PEREZ                     MO          90011833060
193124AA34B259   DANICKIA    ANDERSON                  NE          90003024003
19313178A5B154   SERENA      HENSON                    AR          90003631780
19313A68564135   MONICA      RANGEL                    IA          90013830685
19314A67A9373B   KELLY       MESSMORE                  OH          64580540670
19314A71757147   CECILI      VELASQUEZ                 VA          90003170717
1931616435B526   STEPHANIE   GONZALES                  NM          90010501643
1931663424B259   JOSHUA      DELONG                    NE          90014706342
19316A97A61963   DANIELLE    SANCHEZ                   CA          90014660970
19317131A4B588   MELANIE     ZUNIGA                    OK          21507071310
1931776A74B259   MARTIN      TELLEZ                    NE          90014157607
19317A23557147   NAPOLEON    BETANCURTH                VA          81058280235
1931824A231687   MARINO      MEJIA                     KS          90013962402
1931B21345B526   BRENDA      ORTEGA                    NM          90002862134
1931B268161958   CARMEN      VELAZQUEZ                 CA          90007952681
1931B67942B934   ALEX        HARDY                     CA          90010876794
19321697A5715B   ROSA        TORRES                    DC          90011856970
19321A2A731687   SEBASTIAN   SMITH                     KS          90013220207
1932271978B683   ELDA        GUERRERO                  TX          90014567197
19322AA9885966   THURMAN     CRAVEN                    KY          90001690098
1932328265715B   EVELYN      ARGUETA                   VA          81054442826
19323A86457147   CAREN       LEMUS                     VA          90012760864
1932514539373B   MELISSA     TAYLOR                    OH          64574021453
1932569212B228   BOBBYY      GOLSON                    DC          90007916921
1932631729373B   ROBERT      LOWE                      OH          90014863172
19326781291B38   STEPHANIE   FRAZIER                   NC          90010937812
1932715975715B   OSCAR       HERNANDEZ                 VA          90013891597
19328A76291263   NICOLE      SMALL                     GA          90010190762
19328A9694B588   SHALONDA    EDMONSON                  OK          90014700969
193296A6A61938   KEVIN       CRABBE                    CA          90010816060
1932976344B259   EDILBERTO   MORALES                   IA          90014247634
1932B96324B588   THEODORE    BLANKENSHIP               OK          21542759632
1932B99585B343   STEPHANIE   ERHARDT                   OR          44551769958
19331279A5B523   CURRY       VISTULA                   NM          90008812790
19331A27431687   LATOSHA     STEPNAY                   KS          90007630274
1933227829373B   SHAWN       ELY                       OH          64575522782
1933327175B526   SAMUEL      HERRERA                   NM          90005182717
19333327472B37   OLGA        LOPEZ                     CO          90012953274
193337A5461963   STEPHANIE   GARCIA                    CA          46011607054
1933383512B85B   JAVIER      LARA                      ID          90014748351
19333885672B38   JENNIFER    MCCRORY                   CO          90010438856
1933695A13B388   FRANCISCO   RODRIGUEZ                 CO          90013639501
193375A3791263   CASSANDRA   PHILLIPS                  GA          90012845037
19337A46891569   MARISOLQ    PEREZ                     TX          90014170468
19338427172B62   PHILLIP     WHITE                     CO          90007414271
1933869868438B   REUBEN      BONDURANT                 SC          90000986986
1933925975B343   JUDI        ELLIOT                    OR          90004262597
1933B6A4A5B343   JEFFREY     JORDAN                    OR          90012316040
1933BA56751359   REGINO      JIMENEZ                   OH          66073690567
1934247525715B   ADRIANA     CAMACHO                   VA          90014924752
193424AA48438B   CHARMAL     HILL                      SC          90003354004
19343A6985B343   BRANDON     QUARLES                   OR          90015120698
19343AA1A5715B   KIERON      HART                      VA          90003350010
1934417374B588   ANGELA      GISPERT                   OK          21519001737
19344313A9373B   SANDRA      IRENE                     OH          90014783130
19344848A91993   JULIA       HANLINE                   NC          90004988480
193454A1672B62   SONIA       ALCORTA                   CO          33059524016
19345A51561958   PATRICIA    HUERTA                    CA          90003620515
1934733828B337   CARLOS      ROMERO                    SC          90005923382
19348227A5715B   CARLOS      GALDAME                   VA          90008632270
1934859255B526   SANDRA      CHAVEZ                    NM          90013975925
1934942A191263   BETTY       GRAY                      GA          90014944201
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19349A36224B7B   ALDA            ROMERO                DC          90011150362
1934BA67147956   LARRY           DAVIDSON              AR          24034410671
193513A5751359   PATRICIA        REED                  OH          66094283057
1935179339373B   REN             KLINE                 OH          90005307933
1935255364B588   MELISSA         HALL                  OK          90012545536
19352587A5598B   MARIO           DELA CRUZ             CA          90012365870
1935281915B343   PETER           GIL                   OR          90001198191
19353489872B62   TEYLA SANCHEZ   CHRIS ROBERTSON       CO          90012084898
1935414325B343   ARMANDO         SILVA                 OR          90011961432
19354974A33B58   LYUBOV          SMETANYUK             OH          90011269740
19354A2555B36B   KATHLEEN        COELHO                OR          90013770255
1935529295715B   EFRAT           MOSES                 VA          90013042929
19355364A31687   AMBER           SCOTT                 KS          90010673640
1935583795715B   JOSE            HERNANDEZ             VA          90014438379
19355AA135B526   MELISSA         CORDOVA               NM          90014850013
1935781475B154   RYDELL          BATTLES               AR          23042678147
1935819A84B588   ROLANDO         CARDENAS              OK          90011031908
19358348A9373B   BOYD            GENTRY                OH          90014783480
1935879295B343   PASCUAL         SIQUINA               OR          90012707929
19358868372B62   JUAN            MARTINEZ              CO          90000868683
19359543A8598B   RODNEY          LEE                   KY          66078465430
1935B16214B26B   SEAN            BENNETT               NE          26048441621
1935B177157147   RENE            ARGUETA               VA          90012761771
1935B224A85966   TAJUAN          MARSHALL              KY          90005092240
1935B348A9373B   BOYD            GENTRY                OH          90014783480
1936152915133B   RAVEN           MARTIN                OH          90008745291
19361A76931687   EVERETT         RASDALL               KS          90003040769
1936243285B343   FRAML           RAMIREZ               OR          90010734328
1936264117B489   LATOYA          HOSEY                 NC          11086926411
1936292674B588   CAMILLA         WHITE BUFFALO         OK          90014229267
1936494A657579   JORJE           GUZMAN                NM          90014959406
1936596555B343   JOSE            MI                    OR          90014419655
19368A3875B267   THERESA         RANDOLPH              KY          90001620387
1936913A651337   NICOLE          PIKE                  OH          90009291306
1936B487157147   SILVIA          CHAVEZ                VA          90001234871
1936B657351359   ELLIOTT         RICE                  OH          90008976573
1936B71385B154   DESHONDRA       WOODLEY               AR          23084177138
1936B763891263   WELEY           WEST                  GA          90013507638
1937132177B489   TARAH           GILCREAST             NC          11030693217
19371462A33699   ANTHONY         STRICKLAND            NC          12010884620
1937151895715B   CESAR           MONTANO               VA          81020295189
19371A84651337   ANTHONY         DUNKLIN               OH          90000920846
19371A91191244   SCHRELL         GREENE                GA          90006270911
1937235929373B   JAMES           BARTEE                OH          90014783592
1937336AA91263   BRIAN           MERRETT               GA          90011213600
193733A1151359   PATRICK         KELLEY                OH          90014493011
193736A1791569   EDUARDO         SALAS                 TX          90000826017
1937375A44B259   TODD            TAGGART               IA          27089507504
1937567925B343   SANDRA          GOMEZ                 OR          90013936792
19376354A5B154   SHARITTIA       ASKEW                 AR          90005333540
193767A575715B   CESAR           REYES                 VA          90013267057
19376AAA951359   CHAD            GRAY                  OH          90010700009
193772A6361938   MARIBEL         MARTINEZ              CA          90014002063
19378AA7591895   BRAD            GLOVER                OK          90010810075
1937937615B526   NATHAN          STRENGER              NM          35080123761
193797A412B934   STACY           CHEATHAM              CA          90010047041
1937B699691263   LIZET           ALVARADO              GA          90015146996
1937B949193745   ELLA            DAMERON               OH          90014799491
1938128229373B   DEVANTE         ROEBUCK               OH          90001332822
1938199315B343   SHANNON         LIDGARD               OR          44520809931
19381A85751355   TOSHA           JONES                 OH          90009570857
19383193872B62   JASON           SIMPSON               CO          90015231938
193831A954B259   FABIAN          JIMENEZ               NE          27034691095
19383A5865B154   VINCENT         ROBERTS               AR          23006990586
1938477888B337   AMANDA          MARTIN                SC          90001877788
19384A19391569   PAULINA         SAAVEDRA              TX          75047810193
19384A8785715B   YANIRA          ORTIZ                 VA          90011240878
1938573664B259   MATERNE         VEI                   NE          27004887366
1938585599373B   JASON           SPARKS                OH          90012718559
1938599239373B   KEVIN           BROOKS                OH          90004839923
19386898A61963   JAMES           SUMMERS               CA          46008638980
1938851A524B7B   CIERRA          TAYLOR                DC          90015195105
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19388A4325715B   ANGEL            DOMINGUEZ             VA         81066110432
1938914595B384   MICHELLE         BRYAN                 OR         90010061459
1938915A65715B   MARIBEL          REVOLORIO ESTRADA     VA         90015271506
193897A4231687   LUIS             OSUNA                 KS         90014547042
1939136659373B   DANA             QUINN                 OH         90009913665
1939222844B259   LAURA            RYAN                  IA         90013262284
1939269918438B   CEDRIC           WRIGHT                SC         19088326991
19392A1765715B   NIKITA DENISSE   MCKENZIE              VA         90013230176
1939319A15B343   NICOLAS          SANCHEZ               OR         90010041901
19393327A9373B   TAMEKO           CRUMPTON              OH         90012583270
1939426A67B469   VICKY            BRADSHAW              NC         90001772606
19394438A85966   AMANDA           GORDON                KY         67033044380
1939467895715B   VIRGINIA         GALVAN                VA         90014426789
19394A2817B323   MIHERET          GEBREKIDAN            VA         81056010281
1939539729373B   RACHAEL          AYERS                 OH         64584153972
1939651814B26B   JENNA            NELSON                NE         26013825181
19397735A5B378   CARLOS           SARCOS                OR         90012637350
1939844219373B   GALE             LINDON                OH         90014784421
19399A7A49373B   TYRA             EVANS                 OH         90014060704
1939B724991884   ELIZABETH        SALLAS                OK         90010787249
193B1154A4B588   LAUREN           JOLLY                 OK         90013651540
193B1335351355   ALEXIS           JONES                 OH         90003663353
193B1441361938   LISA             CRABTREE              CA         46070034413
193B1513A5B343   ANGELA           PAINTER               OR         90013385130
193B1584644353   LANITA           PARKER                MD         90012565846
193B182A847956   CASSAUNDRA       ANDREWS               AR         90006008208
193B1896757147   MANUEL           FUENTES               VA         90013658967
193B263A461938   AIOTEST1         DONOTTOUCH            CA         90015116304
193B424285B343   JODY             GUTIERREZ             OR         90010712428
193B4648272B49   JUAN             HERNANDEZ             CO         90012676482
193B469324B588   KIRSTEN          CAMPBELL              OK         90011686932
193B48A4651359   JEREMY           WILLIAMS              OH         90015428046
193B4979A72B62   BRYANT           SIMS                  CO         90011239790
193B6219391586   MARTHA           SANCHEZ DE ANZALDUA   TX         90010672193
193B6371361963   MYRA             JOHNSON               CA         90008853713
193B6611993745   JENNIFER         DYE                   OH         90008166119
193B744A65B526   CONSUELA         ALDERETE              NM         90007724406
193B7725557147   KARA             BRATHWAITE            VA         90015027255
193B787A291263   VICTORIA         BAKER                 GA         90005728702
193B798A772B62   MISTY            ROGERS                CO         90011239807
193B8196A9373B   LATORE           WHITE                 OH         90014781960
193B823145598B   NELLIE           DE LOS SANTOS         CA         49046682314
193B8522785966   MARK             COMBS                 KY         67004965227
193B917615B526   DANIEL           SOSA                  NM         90000451761
193B9448361938   RICHARD          AGUILAR               CA         46087684483
193B961485715B   KABEYA           NYEMBWE               VA         90012266148
193B974227B489   LILLIE           ROBINSON              NC         11046097422
193BB174291263   JASON            FERRELL               GA         90015101742
193BB317951337   ELEASE           FULGHAM               OH         66038613179
193BB333A51355   JENNIFER         LENOS                 OH         90014033330
193BB44745B343   ANTHONY          BEERBOHM              OR         90009044474
193BB61A54B26B   BARBARA          SLUSSER               NE         26090886105
1941279827B489   SHENNA           SCOTT                 NC         11007797982
19413A7394B259   PATRICIA         DURDEN                NE         90008610739
1941418575B526   ALICE            CHAVEZ                NM         90011001857
194142A725B338   MANDY            CONN                  OR         90004682072
1941453519373B   BETTY            JONES                 OH         64501995351
19414A22291569   JESSICA          DELPALACIO            TX         90010480222
19415892472B62   KEVIN            SANCHEZ               CO         90013668924
19416278A9373B   PAMELA           CRAWFORD              OH         64539492780
194163A5351355   MARIA            CAMINERO              OH         90012443053
1941668A293724   TERRI            ROBERTS               OH         90005726802
1941679114B259   ERIN             MULCAHY               NE         90004337911
1941823324B588   LASHAWN          ERVIN                 OK         90001172332
1941852364B259   BRENDA           DUPREE                NE         90008925236
1941888558438B   GINGER           CASS                  SC         19053948855
19419597A72B62   JOSE             GONZALEZ              CO         33045855970
194198A488438B   JAMES            WILLIAMS              SC         19053048048
1941991745B129   ALONRETHER       THOMAS                AR         90004209174
1941B413993745   MARA             LAMBERT               OH         90014834139
1941B75A972B62   FABIAN           AGUILAR               CO         90013887509
1942151489373B   AUSTIN           KRUG                  OH         90014505148
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19421739272B62   JOSE                    CARRILLO          CO      90015027392
19421799A93745   JESSICA                 RUDY              OH      90014857990
194222A937B489   MALCOLM                 EVERETT           NC      11049392093
194226A859373B   KELYEA                  DERRICKS-LINDER   OH      90014786085
19422987A51337   SHELLEY                 STOCKHOFF         OH      66094839870
19422A4215715B   MELISSA                 A VAILLANCOURT    VA      90015110421
194236A859373B   KELYEA                  DERRICKS-LINDER   OH      90014786085
1942521A25B343   JASON                   DARNELL           OR      90012982102
1942589975B343   NOLAND                  CHOU              OR      90012908997
194263A6161963   DEVON                   WILLIAMSON        CA      90013613061
1942673554B588   KIM                     MAJOR             OK      90013977355
1942712944B259   TAMMIE                  MEYER             IA      90013951294
1942853A661938   JOSE                    GUTIERREZ         CA      90011175306
19428929A61938   ISAIAH                  HAWKINS           CA      90012779290
1942939585715B   CARLOS                  VALDEZ            VA      90009963958
19429A83261958   ALRIC                   KING              CA      46077990832
1942B58942B864   CYNTHIA                 DAHLIN            ID      90013475894
1942B64A761963   SCOTT                   WOLFE             CA      90012116407
1942B839497B47   JULIO                   ESPARZA           CO      90011628394
194315A3651337   ARIEL                   FURR              OH      90003025036
194322A354B588   JANINA                  MATHIS            OK      90006992035
1943254748438B   KEOSHA                  THORNE            SC      19056395474
1943333285B343   JUAN                    CHAVEZ DE VERA    OR      90013883328
1943482714B259   TERESA                  GRAJEDA           TX      27000378271
19435A8474B588   MARGUERTITE             POLLOCK           OK      90012400847
19436A24672B62   TYRONE                  WOODSON           CO      90014550246
19436A4875715B   GABRIEL                 MENDOZA           VA      90013820487
19437253A72B62   GARY                    MILLER            CO      33088942530
19437324991B43   ELIZABETH               GOMEZ             NC      90014753249
1943738994B259   CHRISTOPHER             WRIGHT            IA      90014473899
19437547A61963   BRENDA                  ACOSTA            CA      90008275470
1943778945B343   NATHAN                  SURPRENANT        OR      44514737894
1943923515B343   FREDY                   ZAID              OR      90015112351
1943965A69373B   JODIE                   SAGE              OH      64577436506
1943B139761976   BRIDGETTE               MARISCAL          CA      90008061397
1943B317976B68   GILDARDO                VILLICANA         CA      90007063179
1943B773451359   SERGIO                  PEREZ VELASCO     OH      66087707734
1943BA9694B588   SHALONDA                EDMONSON          OK      90014700969
1944185A44B259   AMANDA                  MILLER            NE      90014308504
19441A4A74B259   MOORE                   MIRANDA           IA      90007850407
1944223A461963   DERRIK                  MEAD              CA      90014742304
1944229433B324   CHARLES                 WILLIAMS          CO      90002872943
1944256694B588   CASSANDRA               WILLIAMS          OK      90010695669
194426A9151337   AMANDA                  WASHBURN          OH      90011576091
1944328565B526   BARBARA                 MOLINA            NM      35046052856
1944333389373B   CHRISTOPHE              BORDERS           OH      64531733338
1944365A451355   DORIAN                  WILLIAMS          OH      66004556504
19443A46972B62   JESSICA                 CARTER            CO      33065520469
1944428255715B   MELVIN                  RAMOS             VA      90011242825
1944523645715B   MICAELA                 ROSALES           VA      90011242364
19445922A72B62   DAISHA                  FERNANDEZ         CO      90007909220
1944629925B343   CHRISTOPHER             LOFGRAN           OR      90014802992
194465A165715B   BOSOM                   MADUAKOR          VA      90012925016
1944841A54B259   DAVID                   GOODWIN JR.       NE      27065594105
19448566172B62   JUSTION                 NIETO             CO      90012405661
1944B326557147   JULIO                   ORELLANA          VA      81043883265
1944B82972B232   DIANE                   WASHINGTON        DC      90004088297
1944BA18691569   BRANDON                 HERNANDEZ         TX      90011180186
1944BA59961938   TIANNAH                 WEBB              CA      46024960599
1945151A751355   CHRIS                   KELLUM            OH      90014525107
1945181178438B   VICTOR                  JARAMILLO         SC      90009368117
1945183474B259   KIMBERLY                GRAVEY            IA      90013518347
1945194349373B   TERRIE                  VEAL              OH      64540119434
194525A715B343   HECTOR                  PEREZ             OR      90010735071
1945351A861963   JULIAN                  SOTO              CA      46061525108
194535A488B337   ADAM                    ROWE              SC      90008035048
1945362A44B259   HEATHER                 OBARA             NE      90000406204
1945393A651355   CHERRELL                KILGORE           OH      90004759306
19455296A93745   JOHN                    CONNER            OH      64518732960
1945557715B129   JOHN                    THROWER           AR      23010695771
1945626945B384   EMMA IOLA PUANANILLII   WILMES            OR      90007782694
1945643894B588   RAMIRO                  JESUS             OK      90014824389
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1945995845715B   CHERYL               FISH             VA          90012099584
1945B41835B343   FOY                  GONZALEZ         OR          90014414183
1945B98335B526   JOSEPH               MANZANARES       NM          35057339833
1946127A761963   DARRYL               SCOTT            CA          90009732707
1946198289373B   YOLANDA              CARTER           OH          90000889828
19461A76A5B526   ROBERT FRANCIS III   FIEGE            NM          90015080760
1946288A35715B   PAUL                 MALLARD          VA          81091128803
19462A8329373B   JAMIE                KINDRED          OH          90014790832
1946411764B26B   JAMIE                SNIDER           NE          90006721176
1946413744B259   JULIAN               LOZANO           NE          90013951374
1946429818B337   CARMEN               PICKETT          SC          11098392981
1946468214B26B   JAMIE                SNIDER           NE          90014616821
19464775624B7B   KESHA                WASHINGTON       VA          90006387756
19464A99972B62   ARLINDA              CONTRERAS        CO          33018120999
1946745124B259   HEIDY                LOPEZ            NE          90013124512
19468375A72B62   TIARA                PACHECO          CO          90002443750
1946848964B935   YVETTA               JOUBERT          TX          90011684896
19468493A5715B   LETICIA              ESTRADA          VA          90011244930
1946898A95B526   MEREDITH             BLACKMON         NM          90008309809
19468A35251337   BRITTNY              DAVIS            OH          90012970352
1946946367B476   MAURICE              BELT             NC          11087104636
19469A2A75B343   RACHELLE             STEVENS          OR          90000070207
1946B63A772B62   ESMERALDA            LOPEZ            CO          90010316307
1946B663142576   JULIO                CANCHE           WA          90015436631
1946B853572B62   AMANDA               JACKSON          CO          90013498535
1947333314B588   ANTHONY              HARTFIELD        OK          90009863331
19474A48657147   JENNY                FUENTES          VA          90014180486
19474A8554B588   TRINA                POINTER          OK          90010980855
1947523354B26B   DEISY                PUENTES          NE          26013382335
1947559A991569   JOE                  VALLES           TX          90006255909
1947585AA4B588   AUTUMN               THLOCCO          OK          90009078500
19476151A61963   JEFFREY              CABRERA          CA          90014671510
1947691714B259   AMY                  LUVISI           NE          27030549171
194778AA35B343   PAUL                 RONALD           OR          90014758003
194785A515B526   ALICIA               DILLARD          NM          35061325051
1947869685B526   ALICIA               DILLARD          NM          90012386968
1947978425715B   MARIA                BONILLA          VA          90008597842
1948194662B892   SARAH                PRINCE           ID          90012369466
19482151A61963   JEFFREY              CABRERA          CA          90014671510
1948267774B537   ALEXANDER            FONSECA          OK          90005186777
19483A5269373B   JOSE                 YORVI            OH          90014790526
1948454165715B   JOSE LUIS            GOMEZ            VA          90011245416
1948524525B129   ZETTIE               OLIVER           AR          90001002452
19485A62261963   JUAN                 BAEZA            CA          90013920622
1948677764B588   SHARLINE             WALKER           OK          90009437776
1948698544B26B   LAUREL               CRUSINBERRY      NE          26049539854
19488A13451337   CHARLES              MASUR            OH          90014810134
19489831997B38   DUSTIN               GIBSON           CO          90010508319
19489A8144B588   FERNANDO             MOSQUEDA         OK          90007930814
1948B272251337   ALEXANDER            SMITH            OH          90001862722
1948B4A9891263   KENDIL               SAMUELS          GA          90014834098
1948B74A331687   VICTORIA             ROSE             KS          90011187403
1949123968B863   WARREN               DAVID            HI          90014882396
194913AA772B62   LISA                 KING             CO          90013843007
194921A8A86455   ARTURO               PARRA            SC          90015431080
194925A6561963   TOPP                 YURASEK          CA          90014965065
19492A6589373B   DEBRA D              MARRERO          OH          90001240658
1949339837B444   DANIEL               ABARCA           NC          90012693983
19494866272B62   MARIA                GONZALES         CO          33088788662
1949562817B489   DAKNYA               ANDREWS          NC          11042216281
194968A9557147   WAYNE                HENDERSON        VA          90014378095
19496A55A72B62   SHARNAE              OSBORNE          CO          90010470550
1949723152B857   RICHARD              BROWN            ID          90004072315
1949829275B343   INOCENCIA            GONZALEZ         OR          44565562927
1949936289373B   CHRIS                HUGHES           OH          64555213628
19499987A51337   SHELLEY              STOCKHOFF        OH          66094839870
1949B2AA55B524   RACHEL               GARCIA           NM          90012822005
1949B9A389373B   DIAZ                 ROMAN            OH          64594219038
194B198565715B   MARVIN               LINARES          VA          90000979856
194B239484B26B   KRISTINA             JOHNSON          NE          26099403948
194B2424A51359   MARK                 HAMBLIN          OH          66044144240
194B2495391569   MARIANA              GANDARA          TX          75002334953
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194B2558A4B588   STEVE        SCOUFOS                  OK          90013835580
194B2759591263   EMMANUEL     ROSE                     GA          90009497595
194B28AA28B192   BERNARDO     TRAJO-LARA               UT          31017068002
194B3421161963   RAYMON       BELDEN                   CA          90012194211
194B3552251337   LELVIN       RAMOS LEIVA              OH          90013885522
194B367A35B129   GUADALUPE    GARCIA                   AR          23012046703
194B4657957147   MARCO        OLIVA                    VA          90013886579
194B474485715B   JEROME       HARRIS                   VA          90014587448
194B491419373B   DUWAYNE      WITT                     OH          64530969141
194B52A4251355   BRIAN        SCHLICKER                OH          90008552042
194B538243B396   PATRCIK      HAMM                     CO          33060373824
194B5438591569   LUIS         CASTRO                   TX          90001774385
194B54A7172B43   GUNJRRT      GERWAL                   CO          90013024071
194B5565291945   SIRA         HERNANDEZ                NC          90000545652
194B56A254B259   MELANEY      MCFARLAND                NE          90014496025
194B5A51185966   MONICA       SIZEMORE                 KY          67009620511
194B6348993745   ELIZABETH    CAUDILL                  OH          90014833489
194B639765B384   KATHERNE     BLIXT                    OR          44587983976
194B648537B489   ABDIRIZAK    MOHOMED                  NC          11007394853
194B8387593745   TABETHA      HAYNES                   OH          90014833875
194B8487261938   MILFORD      WILSON                   CA          46007024872
194B8956591578   GEOFFREY     OWEN                     TX          90006259565
194B9391893745   DAVID        TAYLOR                   OH          90014833918
194B99AA65B343   DANA         MANIVONG                 OR          90012059006
194B9A47472B62   SERGIO       LENDOS                   CO          33013370474
194BB289224B38   FATMATA      BANTA                    VA          81088472892
194BB35824B26B   SYLVIA       SEYMOUR                  NE          26013833582
1951176A44B26B   JASON        GILMORE                  NE          90002447604
1951184295715B   GEMECHU      AGA                      VA          90013958429
1951269A25B129   CASSANDRA    LANDERS                  AR          90013866902
19514477A91569   GEOVANNI     LOPEZ                    TX          90014934770
1951532A751359   ANNA         DUNN                     OH          90001423207
1951548544B588   JOHN         STURGIS                  OK          90014674854
1951632969373B   QRASHEMIA    JOHNSON                  OH          90013393296
195167A1191569   TOMAS        MORALES                  TX          75016097011
1951718414B259   CHRISTIAN    JIMENEZ                  NE          90013951841
1951774815B526   LETICIA-RE   COLE                     NM          35051577481
19518193A5715B   WALDEMAR     CABRERA                  VA          81085281930
19518A25847956   ARACELY      RESENDEZ                 AR          24077650258
19518A4215B343   LIDIA        LORES-LEZCANO            OR          44594320421
1951982855715B   MELISSA      CRUZ                     VA          90014588285
1951B48884B26B   SHANTEKIA    HITE                     NE          90004154888
1951B547261958   REGINA       GUILIN                   CA          46005135472
195213A1A57147   WALTER       TREJO                    VA          90010973010
1952317359373B   NICOLE       WARREN                   OH          90014791735
19523A71757147   CECILI       VELASQUEZ                VA          90003170717
1952468A88B147   GUY          LANE                     UT          90008716808
1952555383B386   BRITTNEY     HAMILTON-VERNON          CO          33018465538
195258A1751355   KAMICAH      FLAGG                    OH          66041628017
1952591555B526   PAULINE      HERNANDEZ                NM          35046069155
1952611A224B7B   UGOCHUKWU    ENWEREM                  MD          81063461102
1952616A34B259   MORRISHA     MILLER                   NE          90004031603
1952685795B526   ABEL         MATA                     NM          90012488579
1952699924B588   CASEY        WARDLAW                  OK          90010479992
1952799854B259   MONICA       GREEN                    NE          90014879985
1952817A35B343   GARY         LABRANCHE                OR          90006211703
19528212672B62   LORENA       YEPEZ                    CO          90012852126
195299AA991322   EMNET        DEJENE                   KS          29016869009
1952B289891263   TIKIMA       BOWERS                   SC          90013252898
1952B28A25B384   JESSICA      HOSCOE                   OR          44512202802
1952B318451355   SHAWN        BREWER                   OH          90015133184
1952B94229373B   RYAN         BROWN                    OH          64580239422
1953143514B259   DARREN       JOHNSON                  NE          90000494351
195314A2261963   HEATHER      ALEXANDER                CA          46090024022
1953185845B343   NICOLE       LEE                      OR          90005598584
195321A4A33B27   JACOB        SMITH                    OH          90013361040
1953368915B526   BRIAN        BENALLY                  NM          90012246891
19534225A91263   SAMANTHA     JOSEPH                   GA          90012872250
1953472A68438B   MARY         WARING                   SC          90006527206
1953487115715B   JOSEPH       DISHONG                  VA          90000408711
1953549974B259   EMMA         OKUL                     NE          90007214997
19535A98331687   JUAN         ROSAS                    KS          90013320983
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1953663525715B   LYNNETTA           LACOMB                 VA      90009936352
195372A419373B   PATIENCE           GARRISH                OH      90014792041
1953772935B129   TAS HONDA          GOFORTH                AR      90002677293
1953778474B588   CONSTANCE          LITTLETON              OK      21511017847
195398A224B92B   CLAUDETTE          ALEXANDER              TX      76587638022
19539A35451359   ALEX               TURNER                 OH      90012550354
1953B14535B526   AURORA             VASQUEZ                NM      90012031453
1953B34635B338   LEONARD            WATSON                 OR      44505013463
1953B88615B129   SAVANNAH           THOMAS                 AR      23039448861
1953B968351337   LAURIE             TUCKER                 OH      90006479683
1954128479373B   MICHAEL            TERRY                  OH      64501712847
1954137617B489   BARRY              TESENIAR               NC      11043313761
19541A35451359   GERMAINE           DUNN                   OH      90014740354
195439A6A7B479   FERNANDO FAUSTIN   SOLANO                 NC      90004819060
195453A8891549   CESAR              GARCIA                 TX      90010403088
195461A5491263   DEE                BRYANT                 GA      90013541054
19546398A7B476   MARY               SHERRILL               NC      11002373980
19547A77672B62   ISMAEL             FLORES                 CO      33083390776
1954814324B259   NURUDIN            SALEH                  NE      90004031432
1954828562B242   VALERIE            REID                   DC      90012952856
1954832289373B   ANTONE             ALLEN                  OH      64577903228
19548418A57147   MARVIN             PEREZ                  VA      90011054180
1954931339373B   RONIKA             WRIGHT                 OH      90014793133
1954B417672B62   MARIA              HERRERA                CO      33059054176
1955151965B526   ISSAC              UCERO                  NM      90010935196
195516A375B343   BRANDON            SCHIEBEL               OR      90013546037
195516AA35715B   ANGELA             CRESPO                 VA      90011246003
195518A8861963   SAMIR              TOUMA                  CA      46078848088
195519A6691569   EDUARDO            JIMENEZ                TX      90014549066
1955229925B343   ORSI               CABRERA ESCOBAR        OR      44566662992
195523A3361938   JUAN               FLORES                 CA      90014913033
1955344425B526   RANDY              MOLISEE                NM      90015304442
19553A88997B58   PEGGY              SALZMAN                CO      39098850889
195554A135B526   CHRIS              MONTANO                NM      90007624013
19557121A31687   ALEXANDRA          PETERSON               KS      90015291210
195577A7461958   JAKE               HORMAN                 CA      90006117074
1955781635133B   ERIC               PERKINS                OH      90011128163
1955859375B526   CHRISTINA          DOZAL                  NM      35075195937
195586A7261963   CHRISTINA          CALIXTRO               CA      90013896072
19558726924B7B   ALONZO E           DOLBERRY               DC      90005787269
1955923917B489   TISHA              LIGON                  NC      11081712391
195598A7561938   CHRISTINA          CARR                   CA      90000958075
195598AA291569   MANUEL             ARANDA                 TX      90000388002
1955996764B588   DANIEL             CARREON                OK      90012619676
19559A39177574   DAVID              GRIBBLE                NV      43059470391
1955B779791263   LAKESHIA           RUTH                   GA      90014557797
1955B828951359   AMBER              MCKEEVER               OH      90013288289
1956171A55715B   HUGO               MARTINEZ               VA      90004617105
19562A42691263   LAKISHA            COOK                   GA      90014640426
1956331964B259   AKINYEMI           ADEGBAYI               NE      90010323196
1956336914B259   KURT               PEACOCK                NE      90003883691
19563649A91569   ELVIRA             DE LA ROSA HERNANDEZ   TX      90013166490
19563A27451359   IDA WALKER         FISHER                 OH      90006040274
1956443875B343   DAVID              KING                   OR      44502544387
19564915972B62   SILVIA             CHAVARRIA MARQUEZ      CO      90010819159
19564958A61958   BRITTANY           SWEDO                  CA      90010349580
19564A9675B129   REV RAY            WILLIAMS               AR      90004120967
19564A9A75B154   LAKEADA            DOOLITTLE              AR      90003620907
19566661972B34   ALFREDO            GUERRERO CERECERES     CO      33049506619
1956745314B259   LONG HAIR          DONT CARE              NE      90014504531
1956926535B343   RUBEN              CASTRO                 OR      90004282653
1956B353561958   GABRIEL            RAMIREZ                CA      46026613535
1956B64535B154   VENTHENE           HINTON                 AR      23066106453
1956B85939373B   CARLA              PRICE                  OH      90012008593
1957136A89373B   NICHOLE            THOMAS                 OH      90005853608
1957291695715B   KAITLYN            LIM                    VA      90014659169
1957327825B526   LUIS               VARELA                 NM      90013392782
1957328A89373B   TRACY              BOWMAN                 OH      90014792808
1957378515715B   RAFAEL             QUINO                  VA      90008677851
19574386924B35   TONI               SMITH                  DC      90004823869
1957448A751355   BRITTNEY           PAMALE                 OH      90010884807
1957538185B343   EDGAR              GOMEZ LOPEZ            OR      90013893818
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195756A6557147   AFSHAN             ZULFIQAR              VA       90013456065
19575A2262B232   HECTOR             CISNEROS              DC       90012540226
195764AA831687   BROCK              FRAZIER               KS       90010214008
1957693785B526   RITA               FLORES                NM       90003039378
19576A83131687   JEREMY             GAYE                  KS       90013910831
1957747A972B62   LUIS               PALACIOS              CO       33077344709
19577A26351355   VANESSA            GRAY                  OH       66005250263
19578241372B62   MARGOT             GONZALEZ              CO       33056892413
1957856678438B   IGNACIO            HERNANDEZ-AMADOR      SC       90002005667
1957922497B323   SANTOS             MOLINA                VA       90008702249
19579264A9373B   JESSICA            SEALS                 OH       90014802640
1957B11A74B588   MOZELLE            BAILY                 OK       90009601107
1957B36A89373B   NICHOLE            THOMAS                OH       90005853608
1957B3A4551337   NICHOLAS           FRANCE                OH       90012933045
1957B43AA7B469   ELAINE             RIVAS                 NC       90014664300
1958111712B876   JENNIFER           GLAUSER               ID       42053631171
19581AA5A8B863   MARY               OROZCO                HI       90013780050
1958314375B526   CRESTINA           ALDERETE              NM       90006121437
19585A28851359   WILLIAM            WALLACE               OH       90015130288
195862A1557147   EMMA               SOSA                  VA       90006492015
19586349872B62   KEII               SMALLWOOD             CO       33002253498
1958699495B393   MICHAEL            SOURJOHN              OR       90007379949
19588A1245B343   DAVID LOYD         READ                  OR       90010940124
1958943314B588   WALT               PHILLIP-BROOKSHIRE    OK       90011954331
1958B73655B154   PAMELA             COLLINS               AR       23073607365
19591151A61963   GIL                RODRIGUEZ             CA       90012771510
195915A2261963   LAURA              ESPINOZA              CA       90013935022
1959184995B154   LERONDA            ASHLEY-PAIGE          AR       23071338499
1959223399373B   THERESA            DAVIS                 OH       90014802339
1959268719373B   JOHN               SMALL                 OH       90014076871
1959371624B588   JESSICA            CROSS                 OK       90010137162
1959455175715B   NATASHA            CHAAYA                VA       90006155517
1959549915715B   TAWANDA            WHITAKER              VA       90014234991
19595795572B62   TIMOTHY            JONES                 CO       33013957955
195965A519373B   ERIC               CROWDER               OH       90000595051
19596A1765715B   NIKITA DENISSE     MCKENZIE              VA       90013230176
19597147872B62   THERESA            CASSILLAS CERVANTES   CO       90013241478
1959731859373B   MARNIE             HERMOSILLO            OH       90014793185
19597787172B27   GLORIA             COLMENERO             CO       90003347871
1959934A357147   YOLANDA            JOHNSON               VA       90014903403
1959938624B259   LUIS               PLACENCIA             NE       27009603862
1959984A251337   TRACY              WORKMAN               OH       66014008402
1959B18394B26B   TAMMY              TITCHEN               NE       90013531839
1959B3A8A9373B   SHAWN              GLASS                 OH       90014793080
1959BA93391569   BENITO             OCAMPO                TX       75093520933
195B2748957147   HECTOR             CRUZ                  VA       90012887489
195B2892851337   GENO               JORDAN                OH       90010948928
195B3249591263   NIKITA             DUKES                 GA       90014922495
195B3335751337   JAMAIN             WOODS                 OH       66001143357
195B4122461938   BONNIE             SMITH                 CA       46040131224
195B4188461958   ANTHONY            REYES                 CA       90010301884
195B4462572B62   VINCE              SIMPSON               CO       90014154625
195B4469561963   CHRISTOPHER        GREEN                 CA       90012264695
195B4A25272B62   VINCE              SIMPSON               CO       33076520252
195B511529373B   JOHNNY             DEAN JR               OH       90014791152
195B5355791263   TAMIKA             WIGGINS               GA       90014623557
195B5823761963   RENEE              ROSITA                CA       90012548237
195B6684731468   MIRANDA            HAYES                 MO       90005396847
195B674655B526   ERIK               JOHNSON               NM       35051577465
195B6748957147   HECTOR             CRUZ                  VA       90012887489
195B71A184B588   JACONA             THLOCCO               OK       90007931018
195B7219731687   ANGELA             KERNS                 KS       90014092197
195B7467351337   JASON              RADEMACHER            OH       90015284673
195B74A5557147   WALTER ALEXANDER   TORRES                VA       90010674055
195B779664B588   RANDALL            ELDRIDGE              OK       90014377966
195B7936933699   MARY               DOW                   NC       12041439369
195B83A4247956   LUIS               RODRIGUEZ             AR       24085933042
195B853A193727   RUFUS              HARRIS                OH       90013635301
195B8579491895   PHILLIP            HUTCHISON             OK       21082955794
195B8A99291899   OSCAR              ZAMARRIPA             OK       90008530992
195B9782991263   AMBERLY            BROWN                 GA       90013997829
195B9986157147   MERLO              GONZALEZ              VA       90004679861
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195BB12AA5B285   ANITA         WILSON                  KY          90010871200
195BB147661938   JOHN          MCNEILL                 CA          46024401476
195BB1A2891263   ROBERT        STEPHENS                GA          90014931028
1961136784B588   QASIM         ALIM                    OK          21554883678
19611676A2B837   SKIELAH       STEINEBACH              ID          90005326760
19611A6958438B   MICHAEL C     MELTON                  SC          19010710695
1961212AA57147   ANTHONY       NIXON                   VA          90013491200
19613A6525B343   MAXIMILIAN    BODZIN                  OR          90013460652
19614A5545B526   LUIS          MENDEZ                  NM          35013860554
1961552AA91263   CHRIS         ROCK                    SC          90015185200
19616855A91263   ELIZABETH     PORTER                  GA          90012928550
19617178A5B154   SERENA        HENSON                  AR          90003631780
196177A9A61963   JOHN THOMAS   RAYBURN                 CA          90012317090
19617A72151337   BARBARA       LAWSON                  OH          66001100721
1961888772B282   HAROLD        CROMARTIE               DC          90003548877
1961B83554B26B   CODY          MOELLER                 NE          26066188355
196227A5361938   WILMA         DURBIN                  CA          90011007053
1962368138B153   ROBERT        HOLLEY                  UT          90000276813
19624652A4B259   ROMEO         RIVERA                  NE          90013316520
1962542845B343   JENNIFER      MEYER                   OR          44542074284
1962549584B259   JOSH          AMATO                   NE          90013954958
1962583675715B   SELSO         RODRIGUEZ               VA          90014478367
1962634489373B   CONNIE        NEWSON                  OH          90014793448
1962696985B343   BRET          LARSEN                  OR          90013899698
1962711488B189   KIM           BLATNICK                UT          90013651148
19628A8615715B   ALEXIS        TREJO                   VA          81005320861
1962BA6924B259   JAMIE         NUNEZ                   NE          90013970692
1963239A891263   JAMELLE       JACKSON                 GA          90008313908
19632629372B62   JORGE         MEDRANO                 CO          33068976293
1963315584B588   FELICIANO     LIBRADO                 OK          90011631558
1963554767B476   ANTHONY       SHEPHERD                NC          90001025476
196362A5551337   JOHN          COFFEY                  OH          66048472055
19636359A72B84   MILLEN        BYRON                   CO          90008693590
19636843A5B343   BRONWYN       BARRICK                 OR          90001388430
1963726635B343   CRYSTAL       LAUDERDALE              OR          90008642663
19638839772B62   JOANA         VILLAGRANA              CO          90014958397
1963952445B154   JEFF          PRATHER                 AR          23087895244
1963998725715B   ADRIAN        TILLER                  VA          90013059872
19639A26972B62   MELISSA       SANDOVAL                CO          90012930269
19639A97191584   JACOB         BARRON                  TX          90003660971
1963B126A31687   VANESSA       GARCIA                  KS          90013321260
1963B771A4B259   CHRISTINA     JOHNSTON                NE          27071167710
1963B87795715B   JENNIFER      URQUIZA                 VA          90013208779
1964198234B588   ANALI         CASTILLO                OK          90012389823
1964241715715B   STEPHAN       GRUVES                  VA          81081324171
1964246925712B   CLAUDIA       CASTRO                  VA          81014264692
196427A8A31687   SHERRY        COWDIN                  KS          22034457080
1964428188B169   PABLO         NAVARRO                 UT          31007282818
19645241572B26   MICHAEL       GRIFFIN                 CO          90013422415
19645A4194B259   DAVID         HOLBERT                 NE          90009910419
1964618A693767   DEONTA        JONES                   OH          90010521806
196488AA361963   GUADALUPE     ZAMORANO                CA          90011038003
1964B1A7161963   JOSE          SOTO                    CA          46059781071
1964B84335715B   CHRISTINA     TUCKER                  VA          90014428433
1965187129373B   TANAI         CRAWFORD                OH          90010508712
196522A524B576   MARIBEL       HERNANDEZ               OK          90008752052
1965265314B259   ELIZABETH     LOPEZ FERNANDEZ         NE          90013956531
19652839A5B343   KYL           FORDHAM                 OR          90013538390
1965322719373B   VICKI         LEWIS                   OH          64518722271
1965459595B526   JOSE          BENEVIDEZ               NM          90006855959
196557AA95B154   TAZIA         DEMYERS                 AR          23059897009
1965638645B343   DANYELLE      KNOY                    OR          90014003864
19656A88157147   LUIS          RECINOS                 VA          81061820881
19658A1515715B   MARIA         BROOKS                  VA          90012420151
19658A56172B62   RAY           VELAZ                   CO          33003590561
196592A6491263   TARIQ         JACKSON                 GA          90013332064
1965B632361938   AIOTEST1      DONOTTOUCH              CA          90015116323
1965B746361976   NATALIE       MARIA                   CA          90011267463
1966228414B259   TIM           ASHBROOK                NE          27096342841
1966246115B55B   GLORIA        CALZADILLAS             NM          36043804611
1966396219373B   MIKEAYLA      HAYES                   OH          90005949621
196646A5191569   CECILIA       ORTIZ                   TX          90007346051
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19666514872B62   JOSE        RUBIO                     CO          90012805148
1966696224B588   HATTIE      ELLIOTT                   OK          90012979622
1966724A35715B   GONZALO     CRUZ                      VA          90015192403
19668269A61963   ANITA       BANEGAS                   CA          90014162690
1966888134B588   AMADO       MOLINA                    OK          90008948813
19668A1887B398   BRANDON     HIGHSMITH                 VA          90011570188
1966996969373B   GREG        BLUNT                     OH          90014809696
19669A59231422   MIKE        GLASER                    MO          27597050592
1966B958372B62   BART        ALBERT                    CO          90014399583
19671223576B42   EDITH       SANCHEZ                   CA          90010062235
19671A18841264   JOHN        DELL                      PA          51089330188
1967217795715B   JAIRO       CASTELLANOS               VA          90013821779
19672956872B62   SHANDA      SANDERS                   CO          90012979568
1967341425B343   RODNEY      JENSEN                    OR          90014574142
1967412974B259   CAROL       PORTER                    IA          90012951297
1967419835715B   EYVIN       REYES                     VA          90013821983
19674A7235B343   JESUS       VILLA                     OR          90003800723
1967548149373B   EVE         RECKERS                   OH          90014794814
196778A785B343   A LEE       MANER                     OR          90012788078
1967839295B524   JOEL        VARGAS                    NM          90004213929
19678838A57147   SHIRLEY     KINNEY                    VA          90002018380
1967889135B129   MICHAEL     SMITH                     AR          23086838913
19679978A8439B   EUGENE      CHASE                     SC          90008979780
19679A88672B62   DENISE      HENSON                    CO          90011240886
1967B12114B259   QUATESHA    MITCHELL                  NE          27057361211
1967B468A57147   MOISES      CRUZ                      VA          81068864680
1967B64785715B   GLORIS      PARADA                    DC          81082526478
1967B892A72B62   LINDA       BRADEEN                   CO          90004748920
1968112114B259   QUATESHA    MITCHELL                  NE          27057361211
19682A7545B343   SELINA      CASTELLANO                OR          44594680754
1968339915B526   REBECCA     PEIL                      NM          90010743991
1968364454B588   SHARI       DELEON                    OK          21593996445
196837A9861963   VINCENT     SAUDERS                   CA          90012467098
1968416339373B   JAMIA       WORTHAM                   OH          90004121633
1968435A131687   SUSAN       MURPHY                    KS          90007633501
19686AA262B249   EUNICE      STEELE                    DC          90011980026
1968842714B259   SAMANTHA    HARRIS                    NE          90013534271
1968883527B489   MARIE       GREGORY                   NC          11017338352
1968937314B259   NATHANIEL   RHOADS                    NE          27030613731
1968953325B343   DULCE       MARTINEZ                  OR          90011415332
1968967525715B   HARI        PAUDYAL                   VA          81000156752
1968B62223852B   MORALES     GUSTABO                   UT          90008736222
1968B6A655715B   HECTOR      CANDIA                    VA          81007376065
1968B872593745   SHANNON     KEENER                    OH          90006418725
19691183A91569   BLANCA      GARCIA                    TX          75087311830
1969145A933699   CYNDI       RICHARDSON                NC          12011534509
19691526772B62   HEATHER     GRAY                      CO          90012805267
196934A6961963   RUBEN       MENDOZA                   CA          46009804069
1969366A27246B   JEFFREY     HRAMIKA                   PA          90013046602
19693A7A15B343   TANIVA      BRADLEY                   OR          44581500701
19695425A91578   ARMANDO     APODACA                   TX          90012594250
19695894A9373B   NECHELLE    HEFFIN                    OH          90012498940
19695A3467B424   DOMINIQUE   ANTHONY                   NC          11008920346
19696418A57147   HECTOR      BUSTAMANTE                VA          90006344180
1969741615B154   BRANDY      WATSON                    AR          23073914161
19698894A9373B   NECHELLE    HEFFIN                    OH          90012498940
1969946A951359   LASHAUN     WILLIAMS                  OH          66037904609
1969986325B154   TANYA       BROOKS                    AR          90001698632
19699894A61963   TOM         MUDD                      CA          46000898940
1969B917661938   ROSA        GARCIA                    CA          90013269176
1969B9AA272B27   VERONICA    DARGAN                    CO          33099019002
1969BA6255B343   KRYSTAL     WARNER                    OR          90008960625
196B122A65715B   YONATAN     CASTRO                    VA          90015152206
196B1278A3B359   JAMES       VALDERRAMA                CO          90013962780
196B1718961938   ANGIE       ESPARZA                   CA          90014057189
196B1A17672B97   QUIRINA     FELIX                     CO          90009560176
196B2134A91263   DANIEL      ALEXANDER                 GA          14597801340
196B2296931687   DEIDRE      SWIFT                     KS          90012452969
196B299785B526   GASTON      PARRA                     NM          90007779978
196B3249591263   NIKITA      DUKES                     GA          90014922495
196B455655B526   CALEB       GARCIA                    NM          90006935565
196B5338A5715B   HENRY       OCHOA                     VA          81046993380
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196B5389991956   LATISHA          MCLAUGHLIN           NC          90014833899
196B544235B54B   NICOLE           SANCHEZ              NM          90012674423
196B6A6585B343   KARELINE         MONTEJANO            OR          90014160658
196B7336A51337   ADAN             MARTINEZ             OH          90013583360
196B746294B26B   TAYLOR           KOLARICK             NE          90011424629
196B773965715B   MARVIN           RIVAS                VA          90009087396
196B8442691263   RUBY             BALLADARES           GA          90013964426
196B898A477535   GREGORY          KACMAR               NV          90009879804
196B9227572B3B   SUSAN            LOPEZ                CO          33059482275
196B9352655933   DENISE           MENDOZA              CA          90014643526
196B9368751359   DONALD           BACHMAN              OH          66058463687
196B9698161938   ANNIE            MCNEELY              CA          90002716981
196B989684B259   LILIA            MARMOLEJO            NE          90009378968
196BB31859373B   MARNIE           HERMOSILLO           OH          90014793185
196BB831997B38   DUSTIN           GIBSON               CO          90010508319
196BBA6838B337   ELSY             VASQUEZ              SC          90006480683
197114A8461963   ASTATKE          LEGESSE              CA          90002574084
1971331AA51337   NATE             FREELAND             OH          66055473100
1971347525715B   SHAQUANA         TALBERT              VA          90014814752
19713673A47956   AMPARO PETRONA   GOMEZ MIGUEL         AR          90004506730
19713887A9373B   MARIA            PADILLA              OH          64514418870
19713A42271967   RAEGENE          OLIVAS               CO          90011050422
197142A254B259   CHRISTINE        BOETEL               NE          27093432025
19714743A91895   JEANNINE         COKER                OK          21032127430
1971491974B588   TALISA           JACKSON              OK          90011599197
1971496829373B   JAMIE            WORTHY               OH          90005539682
1971497355B526   ANDREA           FARIES               NM          35092589735
1971575274B588   SUSAN            THOMAS               OK          21554817527
1971613245B526   MICHAEL          ARMIJO               NM          35014071324
1971B1A9A4B588   SARAH            SHELDY               OK          90009451090
1971B492451337   CHRISTOPHE       KEYES                OH          66016604924
1971B5AA261938   NICOL            YARVRAGH             CA          90010815002
1972186965715B   PAMELA           MAIN                 VA          81079458696
19723543572B62   ROSHUNDA         JEFFERSON            CO          90009855435
1972356895715B   DORIS            CASABLANCA           VA          81085165689
1972399374B26B   YODY             HERNANDEZ            NE          26055619937
197243A9451337   TESFU            BERHANE              OH          90011303094
1972448447B489   ROGELIO          DOMINGUEZ            NC          90002374844
197259A3657147   SUYAPA           BUSTILLO             VA          90013559036
1972761279373B   CHRISTINA        TROUTT               OH          90014796127
19727A51461938   ESTHER           FRYKLIND             CA          90014740514
1972873944B588   HOWARD           WOODEN               OK          21572077394
1972B37754B259   ASHLEY           GOFF                 NE          27034533775
1972B828831687   CHRISTINA        REYES                KS          90010898288
1972B868193745   STEPHANIE        GILBERT              OH          64516768681
1972B945691263   ALEXIS           COBB                 GA          90011179456
1972BA46591569   MARCO            VASQUEZ              TX          75085500465
197313A4691263   NATASHA          LANG                 GA          14504163046
19732227A57147   JARIATY          KAMARA               VA          81094892270
1973291825B526   JOSE             VARELA               NM          35081179182
19732A2345B154   JENNIFER         WILLIS               AR          23070410234
1973321845B129   MARCUS           STEPHENS             AR          23010302184
1973362834B259   CHRIS            NASH                 NE          27097646283
1973366862B52B   JOHN             FISHER               AL          90014016686
19733A5A75B343   JAYNELL          UNDERWOOD            OR          90010560507
19733A88891263   BRANDI           JOHNSON              GA          90014480888
1973429655B526   CLARIBEL         RAMIREZ- RAMOS       NM          90006702965
19735A23557147   LUIS             ERRIOS               VA          90013890235
19735A48561958   ALEJANDRA        ZAZUETA              CA          46081880485
1973722719373B   VICKI            LEWIS                OH          64518722271
1973743A151359   JOSH             KUNCE                OH          90014924301
1973778753B373   DIONNE           MCMORRIS             CO          90013837875
1973816285B343   MARK             GILLES               OR          90014341628
1973896A733699   HILARIOS         TALY                 NC          90002719607
1973B545791569   MARIA            GALINDO              TX          90013675457
19742452A51355   MARIA            ROMERO               OH          66033494520
19742AA118B136   RICARDO          MARTINEZ GUTIERREZ   UT          90015170011
1974388997B398   BOBBY            SEENATH              VA          81065248899
19744934972B27   DERRICK          GURULE               CO          90011589349
19744A21961958   LISA             LUQUIN               CA          46082150219
197457A9572B62   ROMAN            MCNEIL               CO          33089887095
1974656975715B   ARTURO           AGUIRRE              VA          81028945697
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1974678819373B   ELLEN               ROBBINS            OH         90014797881
1974696785B526   CHERYL              SMITH              NM         35004909678
19747417A5715B   EMMA                ALVAREZ            VA         90010214170
19748A52257147   ANTONIO             RODRIDEZ           VA         90012920522
1974975915B343   MICHEALE            LYON               OR         90010057591
1974BA37172B62   SANDRA              HERNANDEZ-CHAVEZ   CO         33051940371
1975121186192B   HUGO                MARTINEZ HERRERA   CA         90002122118
197516A234B259   BOBBY               MOONE              NE         90013836023
1975174AA4B259   BOBBY               MOONE              NE         90011237400
1975217785B526   LYDIA               SOLIS              NM         90014951778
197521AA361963   GEORGINA            CARDENAS           CA         90003051003
1975242299373B   DIANNA              JONES              OH         64505044229
1975264855B282   CARLA               WARD               KY         90014316485
1975281195B282   LABRADFORD          WARD               KY         68096538119
19752873A57147   MARIA               URUTIA             VA         90001618730
19754512A4B588   DONALDS             NCHOLS             OK         90014675120
197551A5391895   ZACHARIAH           STAINBROOK         OK         90006891053
19758A19372B62   MARGARET            MARTINEZ           CO         33032540193
1975B239591263   DANIKA              RICHARDSON         GA         14574242395
1975B26964B259   SHANNON             AVANT              NE         90008062696
1975B434231687   CELESTINE           COLON              KS         22060104342
1975B577693745   SETH                HARDIN             OH         64549885776
1975B844451337   MONICA              FREEMAN            OH         66015348444
1975B92985B526   ZULEMA              CARMONA            NM         90013859298
197618A8951337   ANGELA              TASKER             OH         90010608089
19762219872B62   TORY                MASON              CO         90014912198
1976223A493745   DONALD              HOBSON             OH         64512822304
1976293574B588   MIKAYLA             COVALT             OK         90013809357
197637A3A55936   SYLVIA              FLOREZ             CA         90012787030
197644A1A91263   KARMISHA            KAPERS             GA         90011724010
1976611218B189   CARLOS              PUERTO             UT         31067841121
1976654187B476   TRAVIS              CLARK              NC         11013985418
1976661A951359   EDWARD              HATFIELD           OH         66059376109
19766799172B62   ROBERTO             GUEVARA            CO         33077667991
19766A1AA4B259   SANTIAGO            VASQUEZ            NE         90014880100
1976723555B343   CHERYL              SAVAGE             OR         44587662355
19767538172B62   CORDOVA             SHELLY             CO         90012785381
1976764785715B   ROBERT              TAYLOR             VA         90000636478
19767A31851355   CURTIS              WARD               OH         90014570318
19768A67451359   KELLY TERESA        SCHMIDT            OH         90006700674
1976985315B526   GINO                CHAVEZ             NM         90014878531
1976B131831687   BILLY               POWELL             KS         22039531318
1976B35829373B   MARCHA              COSPY              OH         90008103582
1976B4AA972B62   AQUILEO             BARRAGAN           CO         33070374009
1976B597191263   RAPHEAL             JOHNSON            GA         90010825971
1976B84655B343   ANNIE               MOORE              OR         44526588465
1976B885324B7B   ASHLEY              BURRELL            DC         81055798853
19771692A61963   GINGER              NUNEZ              CA         90009636920
1977377A631687   BECCA               OSHEL              KS         90003657706
1977658795B154   JENNIFER            WASHINGTON         AR         90006125879
1977728445B526   YVONNE              BACA-MARQUEZ       NM         35060112844
1977912825B343   GLADYS MARIBEL      GARRIDO            OR         90013211282
1977962495715B   DWEH                SLOPOW             VA         81091326249
1978137955B343   TERRY               HOWARD             OR         90011033795
197818A6161958   ISRAEL              COPADO             CA         90010398061
1978244375715B   CRYSTAL             HOGEN              VA         90011254437
1978294314B588   RYANNE              HOUCHIN            OK         90014259431
19782A4485B526   GUADALUPE ANTONIO   REYES              NM         90014550448
1978389885715B   JENNY               MONTOYA            VA         90014588988
19784A7712B934   HEATHER             BUNTING            CA         90011570771
1978599A557147   HERNAN              MEJIA              VA         90012929905
19786592A2B234   ERICA               MURPHY             DC         90004425920
19786912A72B62   MELENDEZ            BIANCA             CO         90008119120
19786A9A88438B   JOSE                GONZALEZ U         SC         90000100908
1978779A991263   DEANNA              NAPUE              GA         90015097909
19789419972B62   TOMAS               MEDINA             CO         90013934199
1978B37439373B   TIMOTHY             MURPHY             OH         90013543743
1978B575261963   COLLIE              WAYNETTA           CA         90000785752
1979439874B23B   DIONNE              HARLAN             NE         90008903987
1979485A64B588   AAMER               SHAH               OK         90013328506
1979492664B259   CALEB               WELCHEL            NE         27082889266
1979631547B489   DEBORAH             MAYFIELD           NC         90004543154
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19796912A5B129   TIFFENY          SAXTON               AR          23061699120
19796A2179373B   DAVID            BRUSH                OH          64552130217
1979713A351359   TINA             PHILLIPS             OH          90012321303
19798A8655B526   ALMA             AYALA                NM          90004940865
1979B566391569   RICARDO          LUJAN                TX          90006835663
1979B87A451359   TYLER            HARRISON             OH          90012798704
197B1543A6195B   STEPHANIE        CASS                 CA          46087375430
197B285165715B   ROBERT           CAMPOS               VA          90014478516
197B2874261938   GUADALUPE        GARCIA               CA          90008758742
197B371845B526   VERONICA         CHACON               NM          90013707184
197B3856661963   LUIS             ZAMORA               CA          90011038566
197B4A6227B476   BRUESTER         HEARN                NC          11091740622
197B528225B154   ELLIS            REED                 AR          90013122822
197B52A1A61938   DAVID            CHAVEZ               CA          90013622010
197B5783391263   JUANE            KENT                 GA          90015137833
197B5996557147   JOSE             SANTOS               VA          90012909965
197B6179851337   JONATHAN         WHEELER              OH          90013991798
197B655A89373B   CHRIS            SIMON                OH          90007645508
197B6621991263   BERTIE           CRAWFORD             GA          14574706219
197B6A35A4B259   KIMBERLEE        ALCARAZ              NE          90014780350
197B761365B343   ANILKUMAR        BANDARI              OR          90010246136
197B796535715B   LUCIA            REYES                VA          90005059653
197B8278957147   KIARA            HORTON               VA          90013932789
197B867584B259   ELVIS            MORENO               NE          90014086758
197B9673861958   CHRISTINA        DUNNAM               CA          90010396738
197B9786A47956   MARINA           VELAZQUEZ            AR          24035297860
197B987787B476   WILETHA          WARD                 NC          90013398778
197B9A21241384   GABRIEL          CARDENAS             MA          90015130212
197B9A95451359   TRAVIS           ROBERSON             OH          90014650954
197BB4A1551355   ANDRE            BONNER               OH          90007904015
197BB64A193764   MICHAEL          MCDONALD             OH          64507586401
197BB877693745   TIFFANY          NEVES                OH          64531508776
1981117285715B   JUAN             GARMENDEZ            VA          90013171728
1981141984B537   TIFFANY          HARTFIELD            OK          90001924198
1981186368438B   KWANE            KWANE                SC          90015148636
1981279846614B   LORRI            MEAD                 CA          90013837984
19813412A9373B   STAR             HARLEY               OH          90014804120
1981353998438B   JAMIE            BACKER               SC          90012595399
19813A27761963   CHRIS            HEDRICK              CA          46007870277
19813A66551359   KEVIN            WARDREP              OH          66010870665
19814351872B62   KRISTINA         MARTINEZ             CO          33037733518
19815A31A9373B   MICHAEL          JUSTICE              OH          64558540310
1981629545715B   ROBERTO CARLOS   RIVAS IRAHETA        VA          90013052954
1981648A561963   GREG             HOLMES               CA          90012564805
19816A4815B343   LEE              JILL                 OR          90010590481
1981759AA7B489   DANA             HARRIS               NC          90002385900
198178A7661963   MICHAEL          ORTEGA               CA          46001428076
1981B439A9373B   KEESHA           WILLIS               OH          90010514390
1981B629333B28   NATALIE          KAST                 OH          90012736293
19822484833B32   DREW             ANNACH               OH          90013814848
1982267A251359   ANA              ESCALANTE            OH          90008316702
1982321934B588   MIESHA           THRASH               OK          90014052193
1982647955715B   ROSIBEL          DAVIS                VA          90014584795
1982664A551355   PAYGO            IVR ACTIVATION       OH          90004366405
198266A815B343   DOLORES          RUSSELL              OR          44578716081
1982685A172B62   JUDITH           VALDEZ               CO          90006218501
19827158A91569   ALEJANDRA        CASTILLO             TX          90007911580
1982822225715B   BYRON            TONIC                VA          81091332222
1982B24739373B   NIECA            HAILE                OH          64577162473
1982B865691569   ROSAURA          DIAZ                 TX          75012478656
19831371872B62   DEVI             NEUPANE              CO          90014243718
19831567772B62   DELILIAH         MARTINEZ             CO          90012805677
1983218934B588   SERGIO           MALDONADO            OK          90013791893
19832763A31687   CARL             STITT                KS          90010167630
1983355785B343   JOSE             GUTIERREZ            OR          90007875578
19834627472B62   JEREMY           CURRY                CO          90013366274
1983475947B489   OMAR             HERNANDEZ            NC          90006817594
19836753A4B259   KURT             DADO                 NE          90005577530
198376A2291964   JANELL           DAYE                 NC          90004086022
19837967A9373B   TRACY            HINES                OH          90000509670
1983916765B395   DAMOND           FULLER               OR          90004431676
1983927825B526   LUIS             VARELA               NM          90013392782
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1983932144B588   KARI            SMITH                 OK          90013403214
1983B22A75715B   MAXIMILIANO     GONZALEZ              VA          90012422207
1983B564591263   KENNETH         HOLMES                GA          90012935645
1984245134B26B   DEREK           THOMAS                NE          90014614513
19842A55891569   LATOYA          JOHNSON               TX          75074830558
1984314635B154   SHAWN           RAMSAROOP             AR          23047881463
19844814A9373B   PAULA           CLEMENS               OH          90009588140
1984494725B526   SALOMON         WAR                   NM          35027089472
19844A3855B526   AUTUMN          BROWN                 NM          90011050385
1984521344B259   NOE ALEJANDRO   NERI                  NE          90002372134
19845A64251337   NICHOLAS        ELLIS                 OH          90014600642
19847A4394B588   SHANTELL        CHEADLE               OK          90002690439
1984818222B924   JOE             SABALA                CA          45025741822
198483A6291263   ASHLEY          ALTMAN                GA          90012933062
1984863327B489   ALTON           BELL                  NC          90002386332
1984894535B154   JUANITA         TILLMAN               AR          23049779453
19849146A72B62   PAMELA          WRIGHT                CO          33042871460
1984997314B588   ILMIDA          GUSMAN RAMIREZ        OK          90011929731
1984B224831687   JAMAISA         DAVIS                 KS          90014972248
1984B42465715B   JOSE            CARVALLO              VA          90014224246
1984B79454B259   DENIS           RAMIREZ               NE          27054187945
1985186165715B   ANNA            MARIA REYES           VA          81094968616
19852615A5715B   NICOLE          SMITH                 VA          90013226150
19852969372B23   NAZARIA         RANCHITO              CO          90001729693
198531A7691569   ROSA            DE SANTIAGO           NM          90007161076
1985386774B588   JOSELYN         PASILLAS              OK          90009648677
1985517A833699   ELIZABETH       ALVAREZ               NC          12013781708
19855532272B62   JUAN            JACQUEZ               CO          90014465322
19855A9725715B   PEREZ           HUMBERTO              VA          90012980972
1985696295715B   JOSE            ESPINAL               VA          90010479629
1985752495B129   KENDRA          ADROW                 AR          90004615249
1985897295715B   OSMON           EL-AYOUBY             VA          81004319729
19858AA4172B62   JOE             GARCIA                CO          33013610041
1985918695B343   CHARLEE         HOLM                  OR          44560911869
1985B3A8191263   PRETT           KENT                  GA          90002203081
1986127654B588   APRIL           CASTILE               OK          90015032765
1986423674B26B   AMY             MCCARTER              NE          90013472367
1986448919373B   CARDELL         CARTER                OH          90014804891
19864577672B62   JAMES           JOHANNSEN             CO          90012805776
19864A6765B526   MARISOL         GUTIERREZ             NM          35085680676
1986554848438B   MELINDA         MCNEIL                SC          90005315484
1986595155B343   LIZBETH         PEREZ BARAJAS         OR          90011929515
19865A7685715B   STACEY          TIBBS                 VA          90001420768
198662A9A61938   JESSICA         PERDOMO               CA          90006622090
1986684335715B   RINA            REYES                 VA          90011258433
1986757AA5B154   ROFF            HARTSELL              AR          23087055700
1986887419373B   BRITTANY        CASKEY                OH          64539858741
1986948929373B   TRAVON          RAMAR                 OH          90014804892
1986969865B154   SHEMIKA         TOLEFREE              AR          23038606986
1986B15954B588   HECTOR          ORTIZ                 OK          90013891595
1986B248551359   SIMON           MEKELA                OH          90010242485
1986B756293745   JULIE           WINTROW               OH          90004597562
1986B966491263   ROBERT          DAVIS                 GA          14512489664
1986B993891569   DANIEL          GALVEZ                NM          75016049938
1987221139373B   NOAH            BOYD                  OH          90010682113
1987559A44B588   SILVIA          HERNANDEZ             OK          90013055904
198757A214B588   ANIKA           KELSEY                OK          90015087021
198793A425B533   GERALDO         DEGALDO               NM          35039453042
19879493A93767   JONATHAN        WILSON                OH          90007544930
19879577972B62   MANUEL          VALENZUELA            CO          90012805779
1987B373591895   LARRY           CLEVELAND             OK          90003373735
1987B6A895B343   ANTHONY         BOKMEJ                OR          90014036089
1987B98235715B   EFI             PONCE                 VA          90012529823
1988164715B343   KELLY           SCHMITT               OR          44594236471
198818A1793745   JACK            SKUN                  OH          90009998017
1988197689373B   TAKEIA          ELY                   OH          90010569768
1988276814B588   RAMOND          PERKINS               OK          90013037681
19884258172B62   RUBY            LOERA                 CO          33009572581
198848A2985935   JESSICA         BAIN                  KY          90010288029
1988588A257147   LUIS ARMANDO    BERMUDEZ              VA          90012358802
19885A25251359   TINA            BLACKFORD             OH          66000480252
198861A3191569   SARAH           BATREZ                TX          90002271031
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19887364A5B129   ASHLEY         KELLEY                 AR          23089383640
1988745A447956   ZACHERY        DEWAYNE                AR          90005054504
1988773385B267   LISA           BUNNELL                KY          90011827338
19887844A85999   JOSE           HERNANDEZ              KY          90007678440
1988879645B54B   BERENICE       GONZALEZ               NM          90013357964
1988911324B588   DEVIN          HALL                   OK          90013111132
198911A789373B   KATHERINA      DAVIS                  OH          90013901078
1989173445B343   MARIA          VERDIN                 OR          90011897344
1989183635715B   ALFREDO        FERRUFINO              VA          90009198363
1989222435715B   HEATHER        ANDIORIO               VA          90013452243
198925AA591569   ROSA           GALINDO                TX          75039405005
198934A1172B62   OMAR           CASTRO                 CO          90014474011
19893579972B62   TYLER          THOMPSON               CO          90012805799
1989412694B588   KEYONA         THOMPSON               OK          21523501269
1989418834B259   LIVIER         SOLTERO                NE          90011961883
198952A435B343   JEROMY ALLEN   NENDEL SNYDER          OR          90005972043
19895533A61938   ZAIRA          GARCIA                 CA          90006765330
198959A8276B69   MEGAN          HENDERSON              CA          90006199082
19897A12772B62   MA.GRICELD     MACEDO-GOMEZ           CO          33087960127
19898512A4B259   BRANDY         MYERS                  NE          90014505120
1989892278B863   ALEX           NAPAA                  HI          90009299227
19898A25391569   MIGUEL         MARQUEZ                TX          90012110253
198991A8131687   FAYE           WILLIAMS               KS          90009031081
1989956574B588   MARCUS         BELL                   OK          90015105657
1989B148193745   KELLY          DOSECK                 OH          64519501481
1989B617833699   EARL           KIRKENDALL             NC          12013446178
198B125364B588   CLAUDACIOUS    HOOD                   OK          90014572536
198B1319157147   MONIQUE        CARTHEN                VA          90009963191
198B211684B588   CAITLIN        WOOD                   OK          90015211168
198B216334B259   ZOTSI          EDEM                   NE          90005561633
198B2242255987   MARTIN         VASQUEZ VASQUEZ        CA          90014942422
198B266A951359   AMANDA         GRATHWOHL              OH          90015016609
198B281662B685   JOSE           HERNANDEZ              WA          90015468166
198B332455715B   CARLOS         ALVARADO               VA          90002673245
198B3615385B29   HERMAN         SUERO                  FL          90015446153
198B3AA2561938   RUBEN          ARTEAGA                CA          90008130025
198B427344B259   SHA-DON        AGEE                   NE          90008502734
198B4465461963   SAUL           MARTINEZ               CA          90003754654
198B448A951355   TANYA          SMITH                  OH          90013224809
198B5A81A51355   MICHAEL        FRENCH                 OH          90003230810
198B626964B259   SHANNON        AVANT                  NE          90008062696
198B6779591895   TANIA          CALLES                 OK          21079197795
198B7556191569   ALBERT         MADRID                 NM          75007765561
198B874A97B476   BETTY          ALLISON                NC          90005197409
198B87A5151337   CLAUDE         JOHNSON                OH          90014017051
198B9123261963   JAKE           BOROWSKI               CA          90014901232
198B9554891263   CLINT          HAMILTON               GA          90014415548
198B9A69157147   CHA            JOHNSON                VA          90014430691
198BB71A48438B   ILANY          LEBEHN                 SC          19019317104
198BB75AA61938   LIZ            VALDEZ                 CA          46046357500
199113A5951337   ERICA          RUCKER                 OH          90010113059
19911A45761963   DANIEL         LIBAO JR               CA          46008500457
1991338335B343   KIRSTEN        SYLSBERRY              OR          90002153833
1991366A85B526   ISIDRO         GUZMAN                 NM          35027686608
199137A418438B   ELNORA         GATHERS                SC          90005317041
1991419994B259   CHRIS          COLLIER                NE          90009951999
199143A3261938   BEN            MORENO                 CA          46061633032
1991475394B588   PAYGO          IVR ACTIVATION         OK          90009167539
199151AA761924   GAUDALUPA      MARQUEZ                CA          46047641007
1991546594B588   JOE            COMET                  OK          21551154659
1991768215715B   LAZARO         RAMOS                  VA          90013016821
199181AA631687   CHAMBERS       TINA                   KS          22027711006
1991832224B259   BRIAN          BARTLETT               NE          90014773222
19919775272B62   ROBERT         CLIFFORD               CO          90013257752
1991982A291263   JAMAYA         FRAZIER                GA          90013918202
1991B38844B259   FERNANDO       RAMIREZ-CRUZ           NE          90015133884
1991B81212B234   DORESE         EUBANKS                DC          90001138121
1992135319373B   ROBERT         EAMES                  OH          64549433531
1992161394B588   TERRY          LAHTI                  OK          90007596139
19922217A24B7B   ALBA           VASQUEZ                VA          90014592170
1992364715B154   JESSICA        WALLACE                AR          90008066471
1992388474B259   JESSICA        RILEY                  NE          27086348847
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199243A954B588   CRISTIAN       LIBRADO                OK          90011363095
1992449214B259   ANGELA         DANIELS                IA          90013114921
199244A115715B   BILL           NGUYEN                 VA          90013624011
19924788A4B26B   JORI           WALN                   NE          26028047880
19926A24572B62   KEVIN          BURRIS                 CO          33075290245
1992717385B343   JOSE           VILLA                  OR          90008161738
1992754A751359   PATRICK        RIMER                  OH          90011875407
1992813795715B   MARICRUZ       SERRANO                VA          90011261379
1992927615B129   RASHAD         TAYLOR                 AR          23010742761
19929671A4B259   ANTWANE        CURTIS                 NE          90010916710
1992968139373B   TOREY          PAGE                   OH          90014806813
1992B436461963   MONICA         CRUZ                   CA          90008204364
1992B594257147   ANGELA         PAVON                  VA          81016165942
1992B69725715B   NELSON         JURADO                 VA          90014846972
1993172A551359   SUE            CHRISTIAN              OH          66091727205
199321AA461963   JESSICA        FLORES                 CA          90010771004
1993232425715B   DELMY          AGUIRRE                VA          81057363242
199332A6757147   ALEX           GOMEZ                  VA          90007932067
199344A3631687   ROSAMARIA      MOLINA                 KS          90011914036
19935153A5715B   DEMETRY        WARD                   VA          90011261530
199352A2A7B489   JUSTIN         CARTER                 NC          90010562020
19935519A4B588   CHRISTOPHER    TATE                   OK          90014415190
19935837A51355   JULIA          BUTLER                 OH          66087608370
19935A98951355   CHRISTOPHER    WORKS                  OH          90007660989
1993613535B526   PATRICA        OCANA                  NM          35089121353
1993635A951359   LISA           GLASGOW                OH          90014753509
19936423172B89   ALEX           HIDALGO                CO          90004424231
1993867A751334   JOHN           ADKINS                 OH          90004766707
1993996574B259   THOMAS         ROSS                   IA          90013349657
199419A8A4B259   GAYNELLE       CALLOWAY               NE          90001559080
1994232355715B   ANASTASIA      ANKAR                  VA          81028263235
1994232364B588   ABEL           DE LOERA               OK          90013543236
1994448868B197   RON            GLINES                 UT          31061914886
1994453A451355   MATEO          TAPIA                  OH          66072975304
1994455135715B   FORD           LAROY                  VA          90012665513
1994495995B343   AMBER          CAVENDER               OR          44568199599
1994534895715B   TEKEW          DADI                   VA          90014933489
19945589172B62   ANTHONY        BERG                   CO          33049135891
1994581A391569   SONIA          GRANADOS               TX          90006328103
19945A11861963   DERRON         DURAN                  CA          90010350118
1994777849373B   JESSICA        CUNNINGHAM             OH          90010517784
19948493A5715B   TIFFANY        BURKE                  VA          90014924930
19948727A61963   C              GRIGGS                 CA          90014217270
19948824A8438B   SOPHIA         MILLAN                 SC          90001208240
19948A41751337   PATRICK        CAMPBELL               OH          90012460417
1994B464A57147   ERIC           WILLIAMS               DC          90014184640
1994B467351337   JASON          RADEMACHER             OH          90015284673
1995113644B259   ANTHONY        CALVIN                 NE          90013991364
1995248615715B   CARLOS         SEGOVIA                VA          90001294861
1995379869373B   HEIDI          BAKER                  OH          90014777986
19953A42861957   GEORGE         ROSADO                 CA          46059790428
1995448115715B   MICHAEL        AGBONTALE OKENEH       VA          81067804811
1995484A991895   TANNER         HAY                    OK          21096708409
19956617672B62   PHILLIP        HARRIS                 CO          33098826176
19957317672B62   ERNESTO        RAMIRES                CO          33092953176
19957658824B7B   JOSE           GUETTERO               VA          90007666588
1995795345B343   JOHN           SALAS                  OR          90011989534
1995821614B259   SAGGA          TOURE                  NE          90013992161
1995837A34B588   ALICIA         STALCUP                OK          90014843703
199584A2161963   JILBERTO       JIMENES                CA          90006734021
19959A94257147   JOSE           MONDRAGON              VA          90003230942
1996145654B259   JORGE          ARENIVAS               NE          90011754565
1996155985B384   AYANNA         CLINTON                OR          90000835598
1996241725715B   LAQUEENA       HERRING                VA          90013344172
19962977872B62   FABIOLA        CISNEROS-GUERRERO      CO          90014059778
19963824A8438B   SOPHIA         MILLAN                 SC          90001208240
1996514883B392   MICHAEL        PELLEGRINO             CO          33022811488
1996646635B599   CRISTINA       SANCHEZ                NM          35007454663
1996648575B526   NDAYICHIMIYE   REEAH                  NM          90004464857
19967458772B62   DIANE          TRUJILLO               CO          90014384587
1996956824B588   BRYAN          GREGORY                OK          90002365682
19969A3268B863   LIANA          HOOPII                 HI          90015370326
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1996B118833B58   SILVER        CULBERTSON              OH          90013231188
1996B22564B259   RAMATOU       SADOU NOUHOU            NE          90013992256
1996B537347956   MILDRED       RELEFORD                AR          24070775373
199716AA731687   ANDREW        CHANDLER                KS          90007636007
1997258334B259   ALEJANDRO     HERRERA                 NE          90014895833
1997317115715B   LUIS          LOZANO                  VA          90007821711
19973687A4B588   ROBERT        MARTINEZ                OK          90010396870
199736A4591263   FELICIA       RILEY                   GA          90012686045
1997425A791573   AARON         BEN                     TX          90012412507
1997789755B526   LEODIES       WARREN                  NM          90012778975
19977A8834B259   MARKENISS     CHILDS                  NE          90015140883
1997814883B392   MICHAEL       PELLEGRINO              CO          33022811488
199791A825B343   PRIMITIVO     PEDROZA                 OR          90006081082
1997928718B13B   BRITANY       RYDALCH                 UT          90010622871
1997968395715B   GILBERTO      LOPEZ                   VA          90001526839
1997993872B884   AZHA          FINE                    ID          42015669387
1997B227591569   ELIDA         YEBRA                   TX          90011572275
1997B3A955715B   ENNI          CABALLERO               VA          81089273095
199814A4972B62   ESTELA        HERNANDEZ               CO          33028414049
1998189438438B   DEAN          VERNOTICO               SC          19011668943
1998268454B588   JENNFER       SHEAR                   OK          90001596845
19982867A5B154   BRENDAE       FARMER                  AR          23077138670
19983128A9377B   BETHANY       CODDINGTON              OH          90012611280
19985135A5B526   VINCENT       MONTANO                 NM          35058191350
1998558255B54B   DOMINIC       LOPEZ                   NM          90001085825
19986612A91526   ROBYN         CLARK                   TX          75078676120
199868A7991263   JOHN          JONES                   GA          90012408079
1998717523B35B   JON           KORNOCK                 CO          90013881752
1998798555B526   RUBEN         OLIVAS                  NM          90009129855
19988A4A972B62   ALFREDO       ZAVALA                  CO          33013960409
19989275A4B259   THOMAS        GILL                    NE          27097202750
19989A63A9373B   JOHNNY        RICE                    OH          90014810630
1998B39584B588   DEMARCUS      GRANGER                 OK          90013293958
1999144558B144   LETARI        WASHINGTON              UT          90013094455
19991764A72B62   BRIELLE       SANCHEZ                 CO          90002447640
19991A98861958   ANDRES        CORTEZ                  CA          46052900988
1999352828B863   THAIS         REPETTO                 HI          90014465282
1999395872B693   CHAENGE       SAELEE                  WA          90015409587
199945A4A31687   ASHLEY        SAXON                   KS          90014515040
19994849A7B489   DEBBIE        RODGERS                 NC          11082918490
19994986272B62   ANAHIT        CORREA FLORES           CO          90011879862
19994A75261963   CHRISTOPHER   GLOSS                   CA          90013160752
19995816A93745   LALA          DEVAUDREUIL             OH          64596088160
199959A8661963   ASHLEY        STRANGFELD              CA          90013299086
1999612755715B   JUAN MANUEL   MEJIVAR                 VA          90014431275
1999626774B259   BRAD          HENGGELER               NE          90013992677
199962A7951359   JOSE          MACIAS                  OH          66015062079
199966A4661938   WASEEM        HABIB                   CA          46041016046
1999689195B343   SEAN          SPRADLIN                OR          90011638919
19997512133B92   JAMES         PREM                    OH          90014025121
1999769154B26B   JENN          MALIN                   NE          26056396915
1999843364B259   ALICIA        SEXTON                  NE          27056944336
1999891625B526   JOSHUA        CANTU                   NM          90014819162
19998A3A591263   MICHAEL       MOORE                   GA          14562270305
1999B68415715B   CHRISTIAN     ARIAS                   VA          90014666841
1999B756257147   MARIA LUISA   VENTURA                 VA          90010687562
1999B958A5B343   AZALIA        SANCHEZ                 OR          90008309580
199B1294191569   JORGE         CARRON                  TX          90010292941
199B156A85B154   GLO           BELL                    AR          23086585608
199B2229A3B39B   JAMES         HARDIN                  CO          90009352290
199B2535861963   BYRON         BENNINGER               CA          90003115358
199B2A9735B526   GENE          GRIEGO                  NM          35002640973
199B3556857147   BEATRIZ       RIVERA                  VA          81016015568
199B399385B154   CARL          COGSHELL                AR          23005559938
199B4614A93732   PHILLIP       THOMPSON                OH          90012386140
199B492336193B   HORACIO       GAYTAN                  CA          90012879233
199B514565B343   JENNIFER      STAPLETON               OR          44545181456
199B5358171923   WILLIAM       HIGHTOWER               CO          90014843581
199B635945715B   -EVA          MONTERROZA              VA          90011603594
199B63A9793725   DENNIS        FULTZ                   OH          90005693097
199B664184B26B   JODI          BLATH                   NE          26047686418
199B675A691895   DESIREE       LLOYD                   OK          21083157506
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199B686564B588   LINCOLN        FARRELL                OK          90011988656
199B7556333699   CARLA          STINE                  NC          12013245563
199B95A7793745   JENNY          ELLIOTT                OH          64516795077
199B9757251355   GABRIELA       ACOSTA                 OH          90011177572
199BB56775B526   JOLENE         SLIMP                  NM          90002325677
199BB97154B259   MIKE           NEWTON                 NE          90011239715
19B1118149373B   MICHELLE       DOZIER                 OH          64595801814
19B1139524B588   SONRISA        NOWICKI                OK          90012383952
19B1142A331687   TRAVIS         JONES                  KS          90006494203
19B12275172B62   DESIREE        MARTINEZ               CO          33018612751
19B12567851337   MIGUEL         MORENO                 OH          90011185678
19B12574791569   JOSELIN        RAMIREZ                NM          90012605747
19B1258329373B   DANIELLE       GEETING                OH          64508585832
19B12731551359   WILLIAM        BIRD                   OH          90013237315
19B1285A15B526   ELIZABETH      SNIDER                 NM          35029578501
19B12924191263   GRACIE         BROWN                  GA          90008439241
19B12A48833623   APRIL          ERICKSON               NC          12012260488
19B13361391967   ABRAHAM        HERNANDEZ              NC          90012963613
19B1466A664135   GERADO         LAGUNA                 IA          90015346606
19B14818591569   RODOLFO        GONZALEZ               TX          75011578185
19B15483261963   NATASHA        COLLINS                CA          90011034832
19B15747685966   COURTNEY       LEAR                   KY          90014987476
19B16197572B62   JANET          AGUILAR                CO          90014721975
19B1679385B154   CATRICE        CHANDLER               AR          23068017938
19B16A4335715B   EDWIN          GARCIA                 VA          90014490433
19B16A81551355   LEIGH          WOOLFORK               OH          90011740815
19B17153561958   ROBERTO        GONZALEZ               CA          46029761535
19B173A315B154   BRAD           PARTEE                 AR          23019113031
19B1771455B343   JULIA          BARTO                  OR          90001527145
19B18224661958   CHRISTIAN      JIMENEZ                CA          90002922246
19B18273485966   ANGIE          ALLEN                  KY          67000332734
19B18314861938   ANNETTE        IBARRA                 CA          46096163148
19B1872439373B   NICHOLAS       WORKMAN                OH          90014747243
19B1943569373B   SHANDA         MEFFORD                OH          90007884356
19B19664A57147   JOSE           MEDRANO                VA          90012416640
19B19963193745   CHARLENE       STAFFORD               OH          64573179631
19B1B6A1861938   ALFONSO        SUAREZ                 CA          90003676018
19B2144559373B   PENNY          BRIGHTMAN              OH          64581814455
19B21626661963   TANNER         MCDADE                 CA          90012406266
19B2178345715B   DAVID          ESTRADA                VA          90008227834
19B22957791569   LUCY           BATISTA                TX          75093149577
19B2337A59373B   STEPHANIE      HAMILTON               OH          90014763705
19B23617493745   MARY           MULLEN                 OH          90009926174
19B23816862B93   DARLA          ROBERTSON              KS          22030908168
19B2389A15B154   CURT           FULMER                 AR          23030968901
19B2394955715B   TAMIKA         ANDERSON               VA          81061109495
19B24416691569   GERARDO        LARA                   TX          90013934166
19B24672557147   CATHERINE      JONES                  VA          90006796725
19B2482535B526   LINDA          SHAKESPEARE            NM          90000618253
19B24A21885966   REBECCA        HENRY                  KY          90015070218
19B24A57561958   CHRISTPHER     DAVIS                  CA          46001940575
19B251A2272B62   ERIC           ERICKSON               CO          90012871022
19B26112493745   SCOTT          TOOMEY                 OH          90014591124
19B26449991569   MARIA          MARTINEZ               TX          90012734499
19B266A4A5715B   DORIS          ACHA                   VA          90014696040
19B26743861938   GARRETTE       FREITAS                CA          90004777438
19B2718A84B588   WILLIAM        BELL                   OK          21555371808
19B2726234B26B   SHARON         WATERS                 NE          26010832623
19B289A4777535   PATRICIA       NGATA                  NV          43089449047
19B29332991569   ELSA           VILLEGAS               TX          90000903329
19B2B24A28B337   MELISSA        BROWN                  SC          11015642402
19B2B756672B62   RYAN           TYLER                  CO          90015097566
19B3147725715B   MIXA FABIOLA   GONZALES               VA          90006614772
19B31788361963   ABLAHAD        GORGEES                CA          90012747883
19B32137851359   CHERRY         COMBS                  OH          90010251378
19B3218199154B   GLORIA         PEREZ                  TX          75090381819
19B33269184347   CHRISTOPHE     MORRIS                 SC          90001192691
19B33372A51359   DARRYL         MASON                  OH          90006973720
19B336AA957147   RONALD         POLO                   VA          90014166009
19B338A859373B   MICHELLE       SMITH                  OH          90014748085
19B33966A4B259   JENNIFER       MCCUSKER               IA          90013949660
19B3418238B337   LATOYA         FAIR                   SC          11018771823
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19B34324451337   MO          SEARCY                    OH          90009133244
19B3458AA91569   LISA        REY                       TX          90003535800
19B3544464B259   MICHAELA    MURPHY                    NE          27027704446
19B35914257147   GIDO        HERNANDEZ                 VA          81001029142
19B3627934B588   NORMA       GOMEZ                     OK          21553812793
19B36761772B62   STEFANY     CRUZ                      CO          90011547617
19B36936951359   MERANDA     PAYNE                     OH          66051079369
19B369A5661938   ADOLFO      ORTEGA                    CA          90013269056
19B36A16761948   ANDREW      MOSER                     CA          46020330167
19B3736464B588   SCOTT       SHARP                     OK          90011483646
19B387A8285966   RICKY       IVEY                      KY          90014577082
19B38858491524   JESUS       RODRIGUEZ                 TX          90011138584
19B3892875B343   RON         HOUSE                     OR          90013799287
19B39124161972   GERMAN      ARAIZA                    CA          90006661241
19B3B95A79373B   RHONDA      GODDARD                   OH          90009709507
19B41684191569   ROBERT      RODRIQUEZ                 TX          75011046841
19B42334661963   SHARON      PRICE                     CA          46086963346
19B4258794B543   ADAM        CRAWFORD                  OK          90008375879
19B43468A5B526   JOHNNY      VALERDE                   NM          90010704680
19B4385124B588   KRISTINA    WILLIAMS                  OK          90014928512
19B44174357147   CHARLES     KATOROOGO                 VA          90011001743
19B44834891586   MIKE        JHONSON                   TX          90007198348
19B4486125715B   REINA       CONDORE                   VA          81059948612
19B44A55861963   ELVIRA      PORFIRIO                  CA          90014160558
19B45417155936   DANIEL      MORENO                    CA          90007674171
19B4548645B526   RAFAELITO   BELINDA                   NM          35072794864
19B45891991569   CARMEN      RIVERA                    NM          90014038919
19B47371157147   ANGEL       DELGADO                   VA          90003703711
19B4772A84B588   DENISE      JOHNSON                   OK          90013377208
19B477A6431687   NICHOLAS    BROWN                     KS          90010937064
19B4784213B373   ROSALIA     RAMIREZ                   CO          33089278421
19B4818A985966   DARRIN      SIGMON                    KY          90014081809
19B49282272B62   APRIL       BENNETT                   CO          90013842822
19B5113A851337   MICHELLE    BOLES                     OH          90013941308
19B5119795B343   MEREDITH    VAN ETEEN                 OR          44591751979
19B51832585966   BRIANNA     FOWLER                    KY          90013328325
19B519A1631687   MIKE        RUMERO                    KS          90013479016
19B5237995B526   NANCY       ROGERS                    NM          90007183799
19B52936472B62   KEVIN       MARTIN                    CO          33067269364
19B52A3A961963   LUCIA       NAVARRO                   CA          90012360309
19B536A4A72B62   ROGER       SMITH                     CO          33066736040
19B53742551355   MYCHAL      SMITH-WADLEY              OH          90014137425
19B53776951337   JAMES       DAVIS                     OH          90011917769
19B5389665715B   CALEB       DAVENPORT                 VA          90013588966
19B5485515B154   ASHLEY      HILTON                    AR          23016808551
19B54988891895   PAULA       SMITH                     OK          90003349888
19B54AA497B476   SANDRA      GREGORY-HOWE              NC          90002040049
19B5686868B197   KEITH       KENDALL                   UT          90010028686
19B56AAA691B43   JULIO       QUEVEVO                   NC          90015510006
19B5737459373B   KARA        WILSON                    OH          90014763745
19B5817345B526   JOSE        MARTINEZ                  NM          90014051734
19B5848628B166   ANGELA      HARVEY                    UT          31052184862
19B58882157147   JORGE       BAQUERO                   VA          81001378821
19B589A7251359   JUSTIN      MARKS                     OH          90013719072
19B59126891569   APRIL       BENITEZ                   TX          90015121268
19B59353772B23   DARRELL     HARRIS                    CO          90011373537
19B5946AA85966   GWEN        JONES                     KY          90009764600
19B59483672B62   ROXXANNE    VIGIL                     CO          33027324836
19B596A4391895   KAREN       EAGER                     OK          21073376043
19B5B41254B259   SANTIAGO    TORRES                    NE          90014414125
19B6211884B259   ROBERT      RENFROW                   NE          90005911188
19B62269985966   TIM         DAVIS                     KY          90014652699
19B62665861963   DINAH       GARCIA                    CA          46077126658
19B62882757133   GLENDA      FUENTES                   VA          81096658827
19B635A6251337   AMANDA      KISSEL                    OH          90015095062
19B64752793745   CHARLES     HOLLY                     OH          64509987527
19B647A6261963   RICARDO     GARCIA                    CA          90010997062
19B6493138438B   JANUARIO    MURRILLO                  SC          90007239313
19B6529544B259   URLA        BENJAMIN                  NE          27056962954
19B6538A39373B   NORMAN      FLORES                    OH          90014763803
19B66485172B62   STEVEN      SAENGER                   CO          90006824851
19B66786185966   DEANA       OSBORNE                   KY          90010147861
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19B66834451359   EDWARD       COOPER                   OH          90009018344
19B671A1761963   SONIA        AHUMADA                  CA          90007371017
19B67587872B62   CHRISTEN     HERNANDEZ                CO          90014655878
19B67618351359   MARVIN       JOHNSON                  OH          90014056183
19B67896651355   ANGELA       KOSMYNA                  OH          66000238966
19B68112493745   SCOTT        TOOMEY                   OH          90014591124
19B68162872B62   JEREMY       MEADE                    CO          90014631628
19B6856A45B343   JOSE         MALDONADO                OR          90010375604
19B6B355691844   ALTHEA       PIERCE                   OK          90014733556
19B6B42169373B   JAJUAN       SYLVAN                   OH          90010474216
19B6B481591569   BRENDA       CORDERO                  TX          75046144815
19B6B84AA61963   AMBER        SHAW                     CA          90000548400
19B6B97725B154   MICHELLE     NASH                     AR          23089229772
19B71682193745   MEGAN        GREGORY                  OH          64567656821
19B716A7597B69   TREVOR       CARLSON                  CO          90003666075
19B7186284B259   GUILLERMO    FLORES TREJO             NE          27023438628
19B72336172B56   RON          CHAVEZ                   CO          33009233361
19B7275A85B343   BERNABE      ORTIZ                    OR          90011177508
19B7354674B265   LUZ          REYES                    NE          90001945467
19B73A28661963   ARTURO       MANCILLA                 CA          46082150286
19B74433461938   GUILLERMO    OSIANG                   CA          90013964334
19B75853161963   GENOVEVA     DANTES                   CA          90000548531
19B7625A75B343   NAZAREO      PENA                     OR          44509942507
19B765A6257147   FRANSISCO    LEON                     VA          90014915062
19B7684485B526   LONNIE       LANE                     NM          90001128448
19B77964491569   GUADALUPE    VILLA                    TX          90004789644
19B7812224B259   JESUS        PALMA                    NE          90013021222
19B7843A85715B   GUILLERMO    MENJIVAR                 VA          90014874308
19B78512457579   LISA         SALINAS                  NM          90014775124
19B7856A757147   VIRGINIA     SALMERON                 VA          90002205607
19B798A5751337   TERRY        JOHNSON                  OH          66014398057
19B79A17991569   PATRICIA     MCCUSTER                 TX          75034930179
19B79A34A61963   GUADALUPE    JUAREZ                   CA          90011010340
19B79A6944B588   ISSAC        CHACACH                  OK          90012160694
19B7B547551359   YEHIRI       YANEZ                    OH          66034755475
19B81166A85966   JESSICA      HAYDEN                   KY          90013091660
19B81264172B62   ARNIE        HAYES                    CO          33018382641
19B8158927B489   KATHY-ANN    THOMAS                   NC          11043695892
19B8182A161958   EDITH        AVINA                    CA          90004068201
19B81924A72B3B   OWEN         CHRISTIAN                CO          90012639240
19B8223479373B   MONISHE      MORELAND                 OH          90012202347
19B82627172B62   ANTONIETTE   TYLER                    CO          90013366271
19B83112493745   SCOTT        TOOMEY                   OH          90014591124
19B83261857147   PATRICIA     GALINDO                  VA          90008682618
19B83318A5B526   MEGAN        DURAN                    NM          90012123180
19B8377849373B   STEFFAUNE    WHORTONE                 OH          90010647784
19B83837251359   ASHLEY       WHITE                    OH          90003128372
19B8459134B588   RAFAEL       CHAVEZ                   OK          90013705913
19B845A4451359   MENG         MUON                     OH          90012785044
19B85631A91569   DANIELA      GONZALEZ                 TX          90010816310
19B85656151359   NADINE       NDAYA                    OH          66011146561
19B8567A78438B   BRIANA       DURANT                   SC          90005296707
19B85A3755B229   MOLLY        GOSEWEHR                 KY          90009570375
19B8627148B337   BRANDY       PIGFORD                  SC          11018772714
19B8647635715B   VERONICA     CORONEL                  VA          90014604763
19B8674A161938   CHRIS        ROBINSON                 CA          90012127401
19B87755651355   CHRISTY      DIGIACOMO                OH          66008557556
19B8892689373B   TAMRA        LABONTE                  OH          90010039268
19B89323293725   TRWSTON      MARIE                    OH          90013163232
19B8B48775B97B   TAMERA       KNAPP                    WA          90014814877
19B8B489771932   SANDRA       GONZALEZ                 CO          90006094897
19B8B971457147   YENI         FERNANDEZ                VA          90006749714
19B8BA61461963   MELISSA      FRIESE                   CA          90014250614
19B917AA147956   MICHAEL      KOZAL                    OK          24089427001
19B92427A51337   SOPHIA       HUGHES                   OH          90013584270
19B9261124B259   JACOB        CANTERBURY               NE          90011226112
19B9296A44B254   JOHN         BRANNAN                  IA          90006469604
19B93354172B62   VALDOMERO    PLATA                    CO          90012803541
19B9343392B924   JOSEFINA     VALDO                    CA          90015124339
19B94192672B62   JAIR         MARITNEZ                 CO          33089901926
19B94265A9373B   DAN          HILDERBRAND              OH          90000972650
19B94345291569   MATHEW       FLORES                   TX          75087263452
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19B94427261958   RONALD        FOXWORTH                CA          46025254272
19B9464A793745   LISA          HARVEY                  OH          90008486407
19B95131951337   DEMETREOUS    ALI                     OH          66072791319
19B95321891895   SHERRISE      HARRISON                OK          90009803218
19B95549185966   RACHEL        TOWNSEND                KY          67008595491
19B95651891569   JOSE          VARELA                  TX          75082486518
19B96643751337   KRISTEN       STITZEL                 OH          90014876437
19B96777A72B23   VENESSA       GATUMA                  CO          90009267770
19B96913976B27   FELIPE        LOPEZ                   CA          90008609139
19B9747139373B   LAQUATA       JACKSON                 OH          90014764713
19B9758544B588   AMANDA        MORRIS                  OK          90014465854
19B9766979373B   TERRY         PAULUS                  OH          90010476697
19B98148661963   ANGELINA      VERDUGO                 CA          90012781486
19B9829274B588   ALBERTO       CASTILLO                OK          90012042927
19B9831A39373B   ANGELA        PETERSON                OH          90012323103
19B98846A57147   SIRIA         GRACIANO                VA          90012508460
19B9947139373B   LAQUATA       JACKSON                 OH          90014764713
19B9B117493745   MICHLEL       BEEMAN                  OH          90001961174
19B9B145261963   CARMEN        ROBLES                  CA          90005271452
19B9B465551337   KRYSTAL       MOLE                    OH          90015284655
19BB154375B343   SYLVIA        VALDEZ                  OR          90013555437
19BB211834B259   TRACEY        MARSHALL                NE          27030441183
19BB2292672B84   MICHAEL       FOX                     CO          33082332926
19BB2317961938   NICOLE        KERN                    CA          46060963179
19BB261365715B   PAMELA        BROOKS                  VA          90004536136
19BB2726651337   RALPH         LAWRENCE                OH          66016957266
19BB2818391569   MICHELLE      REYES                   TX          90010898183
19BB297754B588   OLIVIA        CANTU                   OK          21536669775
19BB3343351337   JASON         CURRELL                 OH          90014043433
19BB3995785966   JENTRY        MOORE                   KY          90014649957
19BB4671772B62   LUCIANO       CORTEZ                  CO          33074636717
19BB486534B26B   ISAAC         MUNR                    NE          26054328653
19BB5122791895   SONDRA        ARMSTRONG               OK          90013631227
19BB539A247956   PATRICIA      ANDREAS                 AR          24054033902
19BB5593391263   LEON          PLUMMER                 GA          90014875933
19BB6577A91895   CHARLES       BOONO                   OK          90003345770
19BB661529373B   BRIAN         DIXON                   OH          64578236152
19BB669A193745   SHELLY        BURCH                   OH          90007036901
19BB7299593745   NICOLE        BIRD                    OH          90011562995
19BB8325772B62   BERNICE       MARTINEZ SHRADER        CO          90012803257
19BB8618261963   JUAN          JASSO                   CA          90012856182
19BB8685A5715B   TIM           BOTTLE                  VA          90009666850
19BB889934B26B   CASEY         WHEAT                   NE          90003338993
19BB9326572B62   PSI DAL       LA                      CO          90012803265
19BBB21715B154   JOE           CARPENTER               AR          23001932171
19BBB437A57147   LINETH        TULULA                  VA          90013964370
19BBB95184B588   CRYSTAL       RUSSELL                 OK          21555109518
19BBB97767B476   DANTE         FRIERSON                NC          90000589776
1B11132975B343   URBANO        MUZOZ                   OR          90011683297
1B11172973B352   MARY          WEST                    CO          90007477297
1B111852572453   DANIEL        HOUGH                   PA          90008638525
1B11279624B22B   MEGAN         SMITH                   NE          90015007962
1B112882343563   JULIE         EGGERTSEN               UT          31005978823
1B11298344B564   LESLIE        OTWELL                  OK          21583599834
1B112A29147956   SHARON        GARRETT                 AR          24070240291
1B113172951337   TONIA         SAMUELS                 OH          66095931729
1B1131A465B526   ALEJANDRO     MARTINEZ                NM          90011961046
1B11331677B358   MARIA         OMERO                   VA          90003693167
1B113333A61958   JESSICA       PARTIDA                 CA          90010213330
1B11358727B358   INES          ROMERO                  VA          90013375872
1B11361895B154   AMANDA        DRIVER                  AR          90012726189
1B113824991263   DELORES       MOORE                   GA          90009538249
1B11387247B386   MARIA         ROMERO                  DC          90006918724
1B114121351337   BRANDI        CROLEY                  OH          90004161213
1B114134993725   MARCHELLE     BAILEY                  OH          64578491349
1B114472A4B26B   MARY          KIRKLAND                NE          90009584720
1B114912291569   CHRISTOPHER   MARQUEZ                 TX          90014729122
1B114A44891523   ROXANNE       FRANCO                  TX          90009070448
1B115191691547   KIMBERLY      DECKER                  TX          90010701916
1B11521627B489   VICTORIA      ADAM                    NC          90005732162
1B115A1A161936   ANGELA        HILLIARU                CA          90009470101
1B115A4A261972   ROBERT II     CARRANZA                CA          46030550402
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1B1168A565B154   ELEANOR     MITCHELL                  AR          90001288056
1B117128191577   LILIANA     RODRIGUEZ                 TX          75026191281
1B117179693759   DAWN        WARREN                    OH          90014281796
1B117469A61976   WILLIAM     L HIXON JR                CA          90007324690
1B117539993745   TABITHA     CRAWFORD                  OH          64598785399
1B11837714B26B   SHAYLA      SELL                      NE          90001793771
1B11838768B199   WANDA       JENSEN                    UT          90014783876
1B118A5A191569   NORMA       PASURTO                   TX          90008600501
1B11926AA43529   LINDA       SMART                     UT          90013912600
1B119615831687   KARIN       EASTER                    KS          22009386158
1B119951257192   JOSE        PANIAGUA                  VA          90009049512
1B119A11857147   HUGO        AGUILAR                   VA          90007950118
1B119A62A72B62   STACY       VERGESS                   CO          90011940620
1B11B42A591523   SOCORRO     VEGA                      TX          90014154205
1B11B52819154B   FABIAN      VALENZUELA                TX          75088085281
1B11B582861972   FARIS       QAWASMI                   CA          90001765828
1B11B5A475B526   NELLIE      DUARTE                    NM          35001545047
1B121355A77977   NICOLAS     HULL                       IL         90015353550
1B122121593759   STEPHANIE   BABB                      OH          90014161215
1B122599433699   ESSENCE     ROBINSON                  NC          90014675994
1B12295495B343   PATRICIA    FERNANDEZ                 OR          44547089549
1B123157291569   CLAUDIA     LOPEZ                     TX          75001651572
1B123244272B55   INEZ        MANZANARES                CO          90012682442
1B123411393745   SABRINE     SHIRLEY                   OH          64516454113
1B12398414B259   ALICIA      ROWE                      NE          90009039841
1B124151991263   COREY       HOWELL                    GA          90013921519
1B124192833699   ISIDRO      MANZO                     NC          90013021928
1B124483993745   DEMESHA     FORD                      OH          90000624839
1B124624543529   HELEN       LASLEY                    UT          31011506245
1B124649357147   JUAN        CHICAS                    VA          90000586493
1B125325276B68   ESMERALDA   RAMIREZ                   CA          90013033252
1B12547714B26B   SCOTT       KAPKE                     NE          26037534771
1B12586418B533   CARACHURE   BRENDA                    CA          90015468641
1B125989691523   MONICA      BUSTAMANTE                TX          90004839896
1B125A53261972   RAFAEL      REYES                     CA          90012160532
1B12631A243553   ERICA       SHOTWELL                  UT          90014813102
1B126468A5715B   JOSE        LOPEZ                     VA          90010614680
1B12739195B343   JULIO       MAGANA                    OR          90012383919
1B12745145715B   MARLI       DA SILVA                  VA          90004934514
1B12769237B489   EVELYN      PEREZ                     NC          90000526923
1B127AA559154B   JUAN        GARCIA                    TX          75017920055
1B12835A555948   JOEL        CERVANTES                 CA          90014593505
1B128533A9154B   CARLOS      GONZALEZ                  TX          75013415330
1B128AA2655948   EDILBERTA   VASQUEZ                   CA          90008030026
1B129329693766   WILLIAM     BAYTON                    OH          90015563296
1B12B181993745   BRIAN       FITCH                     OH          90013001819
1B12B233491895   BRITTNEY    WARD                      OK          90004722334
1B12B34825B35B   MICHEAL     GIBBENS                   OR          90014943482
1B12B35415B53B   LARRY       BLACKWELL                 NM          90011623541
1B12B736876B68   SOCORRO     PEREZ                     CA          90009137368
1B12B778261972   AMY         BURK                      CA          90012747782
1B12B991591569   MARCOS      LOZANO                    TX          90006299915
1B131137191523   RUTH        PORTILLO                  NM          75016711371
1B131162A61972   MICHELLE    ERIBEZ                    CA          90002711620
1B13122A74B588   RENEE       COLLINS                   OK          21589342207
1B1314A3355948   PERLA       CASTELLANOS               CA          90006844033
1B131689691895   DENISE      CRAVEN                    OK          90013626896
1B13253694B26B   STEPHANIE   PERRY                     NE          26004475369
1B132681691569   ESMERALDO   RIVERA                    TX          90013446816
1B132754A4B22B   PEARL       ARMELL                    NE          90010177540
1B13312385B526   EVAGELINA   TREVIZO                   NM          90008651238
1B13333438B194   STEVE       ROMERO                    UT          90004793343
1B133521477977   JAMICHAEL   HARDEMAN                   IL         90015575214
1B133766561976   RAQUEL      MORALES                   CA          90014157665
1B133973131687   KRISTY      MADDOX                    KS          22003369731
1B133A84655948   FREDY       HERNANDEZ                 CA          90014910846
1B13417357B489   OMAR        FAULK                     NC          90010881735
1B13455A561972   SANDRA      VALLEJO                   CA          46044695505
1B13457A58B199   LAUREN      HURTADO                   UT          90007625705
1B13476625B154   MYRON       DOSS                      AR          90002597662
1B13499494B22B   SABRINA     YATES                     NE          27003479949
1B135272741284   PATRICIA    MILLER                    PA          90009652727
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1B13574225B154   GLORIA         PAREDES                AR          90011257422
1B1361A1957147   KARLA          DAVIS                  VA          90000911019
1B13622774B259   WHITNEY        HAYES                  NE          27014642277
1B13715195B154   MELINDA        MAHONE                 AR          90001541519
1B1374A7191895   JEORSHELL      MILES                  OK          90014654071
1B137628291569   JAQUELINE      MOLINA                 TX          75044766282
1B13764778433B   ARLAN          GEVIN                  SC          90010656477
1B137754461976   LUIS           IXTA                   CA          90012007544
1B13815848B178   LARRY ARTHUR   RUBEN                  UT          90012611584
1B138234147956   ELIZABETH      RUGE                   AR          90003342341
1B1386A988B178   LARRY ARTHUR   RUBEN                  UT          90004726098
1B13927738B199   ROBERT         HOUSEKNECHT            UT          90008242773
1B139494472B2B   KATHLEEN       WEBER                  CO          33085184944
1B13953A372B55   MARICELA       PIZARRO                CO          33006785303
1B139924A93773   JAMES          HENRY                  OH          90010239240
1B139994191569   ALICIA         MC DONONOUGH           TX          75094929941
1B13B633391569   BERTHA         GONZALEZ               TX          90010066333
1B14147555715B   CHARA          HALL                   VA          90014484755
1B141941672B62   NELSON         VARELA                 CO          33088299416
1B141952791895   CHERRY         HILL                   OK          90014629527
1B141A27193745   CHARLES        NOEL                   OH          90012950271
1B142736372B62   APRIL          ARMIJO                 CO          90010977363
1B143419455963   MARY           URIVE                  CA          90014104194
1B1439A778B199   NIELSEN        CRYSTAL                UT          31004389077
1B143A72961938   PHILLIP        ROMERO                 CA          90005460729
1B1447A1861936   LANNY          CLINE                  CA          90011827018
1B145463531465   MICHAEL        JONES                  MO          90008164635
1B145512461958   JUAN           HERNANDEZ              CA          90011225124
1B14556115B526   KATHERINE      LATIMER                NM          90014715611
1B145591172B62   CASSANDRA      BUZZELL                CO          90009935911
1B1456A9A5715B   VERONICA       GARCIA                 VA          90010646090
1B14636952242B   AMY            THOMAS                  IL         20552643695
1B146538A72483   KEVIN          PIZER                  PA          51098475380
1B14655545B154   EDUARDO        PINEDA                 AR          23066325554
1B1465A7791569   DULCE          SANDOVAL               NM          90013265077
1B14674954B22B   MARIA          AYON-FERNANDEZ         IA          27013407495
1B146A36143563   MARIBEL        REYES                  UT          90006930361
1B147126293766   TERRI          HUNTER                 OH          90013741262
1B1472A8557125   PAYGO          IVR ACTIVATION         VA          90013322085
1B14741774B26B   JOSE           CUEVAS                 NE          26001074177
1B147422693766   TERRI          HUNTER                 OH          90007684226
1B147668936B24   CLEO           GRIER                  OR          90009376689
1B147A36143563   MARIBEL        REYES                  UT          90006930361
1B1481A268B199   PARKER         BARLOW                 UT          90014951026
1B149231793745   BRANDY         WARD                   OH          90002522317
1B149316291569   RICARDO        MENDEZ                 TX          75009773162
1B149489A4B22B   MICHAEL        EISELE                 NE          27058084890
1B149788347956   JOSE           GUTIERREZ              AR          90009937883
1B14B4AA461938   NOELLE         PRICHETT               CA          46006704004
1B14B55235B526   AMBER          ALVARADO               NM          35006175523
1B151345661976   BRENDA         FUENTES                CA          90010253456
1B151466884375   JUSTIN         POWER                  SC          90013294668
1B1515AA331687   ALICE          KIRKPATRICK            KS          22079845003
1B15189A355948   JUDITH         SANDOVAL               CA          90014038903
1B151A19A72B62   MIRIAM         RODRIGUEZ              CO          33063750190
1B151AA9172435   JAMES          HARE                   PA          51086500091
1B152285491523   VANESA         VIDALEZ                TX          90014552854
1B15241755B526   TAFOYA         ANDREW                 NM          35084654175
1B15315517B428   MARIA          LEIVA                  NC          90008551551
1B15334415B35B   JOEL           WARNER                 OR          90010283441
1B15335A672B55   BRENDA         MONTOUR                CO          90003383506
1B15349142B866   TARALEA        ERICKSON               ID          90002274914
1B153655472453   MELISSA        BEBOUT                 PA          90013076554
1B153737A91895   PANCHO         VILLA                  OK          21078937370
1B15421A85B343   AMANDA         ESPINO                 OR          44537812108
1B154625947956   MARGARETT      WATSON                 AR          90012566259
1B154695857147   STEVE          JEFFERY                VA          90000996958
1B1549A8761972   GUADALUPE      CERVANTES              CA          90013169087
1B154A8A52B966   MADELINE       MCNEILLY               CA          90013590805
1B155151A5B343   DAMIAN         LOPEZ                  OR          90013221510
1B1551A995B35B   ALBERTE        DELEVERY               OR          90001171099
1B155476393766   SOLOMON        STONER                 OH          90015184763
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1B156122991569   SOCORRO     AZCARATE                  TX          75026221229
1B156139261958   CHARLIE     SANCHEZ                   CA          46017711392
1B156299161938   ADRIAN      MORAN                     CA          90013052991
1B1563A995B526   YOLANDA V   ABEITA                    NM          35038983099
1B156736961972   ROSIE       ERVIN                     CA          90013017369
1B157224951337   KAREN       SPRADLIN                  OH          66003942249
1B157245891523   CLAUDIA     IGO                       TX          75077582458
1B157477361976   CLAUDIA     RAMIREZ                   CA          90002404773
1B157559654152   MICHAEL     WEST                      OR          47005115596
1B157927A43563   PALMIS      CONSTRUCTION              UT          90014829270
1B157A82691895   DUSTIN      MARTIN                    OK          90010410826
1B1584A4243563   RAMOS       ABBY                      UT          31008984042
1B158816377577   GERARD      BAYON                     NV          90002618163
1B159192A91263   SHAWN       MCCURRY                   GA          90014591920
1B15B155391523   VICTORIA    LOPEZ                     TX          90003691553
1B15B1A2772B84   CASSIE      GIETL                     CO          90001461027
1B15B3A325B35B   JOAN        MAYO                      OR          90012383032
1B1615A574B259   LAUREL      NELSON                    IA          27090525057
1B16195544B22B   DANIQUA     JOHNSON                   NE          90014629554
1B1621A2461972   ERICK       OTANEZ                    CA          90015191024
1B162253291523   BRENDA      ACOSTA                    TX          90010702532
1B162344243563   KATHALEEN   STOKES                    UT          90013183442
1B163555991569   BEATRICE    CASAREZ                   NM          90013635559
1B164469243563   ARIEL       MARQUEZ                   UT          90012164692
1B1645A8231456   SHANNON     OLIVER                    MO          27594905082
1B164666757147   CARLOS      VALDIVIA                  VA          90009426667
1B164AA4151337   ROBERT      WILLIAMS                  OH          90014460041
1B165269872B62   JOSE        CRUZ                      CO          33039762698
1B16591744B22B   YANET       GARCIA                    NE          90015039174
1B166266847956   JESSICA     REEVES                    AR          24005902668
1B166451972B62   WILL        SISNEROS                  CO          90003694519
1B166654557147   LUIS        SANCHEZ                   VA          81010216545
1B16671415715B   TEODORO     ROMERO                    VA          81014187141
1B167127872B62   NADIA       CENICEROS                 CO          90009521278
1B167253147956   PAULA       TINONGA                   AR          24018042531
1B167734557147   KARINA      BONILLA                   VA          90013997345
1B167867243563   KATHY       ROWLAND                   UT          31020658672
1B167983591895   SCOTTY      NEWMAN                    OK          90014629835
1B16814965B35B   LANIDA      MINNIEWEATHER             OR          90010741496
1B16843765B154   ROSEMARY    WILSON                    AR          23064294376
1B168439893766   SHANNON     VARNEY                    OH          90015614398
1B168487961938   ABRAM       RESEK                     CA          90009044879
1B168A35361976   JOEANNA     GIVENS                    CA          90009090353
1B16918A147956   RANDY       HOWARD                    OK          90001571801
1B16921428B139   CARRIE      CRAWLEY                   UT          90004722142
1B169265893759   SERENA      MCSPADDEN                 OH          90015002658
1B169516691895   ADRIONA     KIEL                      OK          90013895166
1B16991744B22B   YANET       GARCIA                    NE          90015039174
1B169936576B68   IAN         SPENCER                   CA          90014579365
1B16B443176B68   CAROLE      PUAAULI                   CA          90012184431
1B16B516691895   ADRIONA     KIEL                      OK          90013895166
1B16B8AA872B55   MONIQUE     VALDEZ                    CO          33093648008
1B16BA7A843563   SILVIA      SALGUERO                  UT          90012600708
1B17115A65715B   MARIBEL     REVOLORIO ESTRADA         VA          90015271506
1B171191A8438B   ANGELA      BUCK                      SC          90009401910
1B1724A2676B68   ANGELA      CRUZ                      CA          46016434026
1B172516691895   ADRIONA     KIEL                      OK          90013895166
1B172552957124   ROSA        MARADEAGA                 VA          90012735529
1B172653461958   SANDRA      TORRES                    CA          90009856534
1B172791857147   SALOMON     BENAVIDES                 VA          90013037918
1B173217176B68   DENISSE     GORDON                    CA          90014432171
1B17333517B489   JAMES E     CLOUD JR                  NC          90010463351
1B173549131687   PAYGO       IVR ACTIVATION            KS          90014135491
1B17374724B259   RAQUEL      HERNANDEZ                 NE          90009857472
1B174379872453   TINA        LOUGHMAN                  PA          90011033798
1B174674647956   LIZA        JOHNSON                   AR          24089586746
1B174885555968   DAVID       NOBLE                     CA          49098638855
1B174A42691523   JAVIER      MARTINEZ                  TX          90013770426
1B17597A593745   REGINA      GLEASON                   OH          90007529705
1B175A9335B35B   MARIO       REYES                     OR          90012350933
1B176112572B62   CHUDA       KHANAL                    CO          90012171125
1B1761A5755948   OSCAR       BARRIGA                   CA          90014911057
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1B176348A91523   INTERNATIO   FREIGHT                  TX          75059123480
1B17646544B26B   MEGHAN       ANDERSON                 NE          90004914654
1B176A9A85B342   SERAFIN      CABELLO                  OR          90004520908
1B177377847956   SHADARA      ARCHER                   AR          90012253778
1B178385561938   PRISCILLA    CARRASCO                 CA          46036483855
1B17852158B199   PAUL         STURM                    UT          31079405215
1B17863A95B343   KELI         RAY SAVAGE               OR          44500696309
1B17875274B23B   JESUS        LEDESMA                  IA          90011697527
1B179411793745   STEVEN       BIXLER                   OH          64566564117
1B17949145B55B   BARBRA       CHAVEZ                   NM          36011634914
1B17B21988B199   TIARA        MARTIN                   UT          90009242198
1B17B342993766   RHONDA       DEER                     OH          90014803429
1B17B4A4757147   RAYMUNDO     ACEVEDO                  VA          90011644047
1B17B536691899   NERIO        LUNA                     OK          90012655366
1B17B987791263   SALVADOR     GONZALES                 GA          90015129877
1B181183333699   ANISSA       BYRD                     NC          90012301833
1B1815A494B588   JAY          ZIGLER                   OK          90010825049
1B18162685715B   MICHAEL      SOUZA                    VA          90013326268
1B18163178438B   JAQUAN       DURANT                   SC          90009756317
1B18163A743529   ANA          MUNIZ                    UT          90004336307
1B181799254146   GERALD       WHEELER                  OR          90014697992
1B182316391586   LAILA        RAJABI                   TX          90006463163
1B18286984B22B   DAVID        MACK                     NE          90007438698
1B18288535B343   MARCO        SAUCEDO                  OR          44538528853
1B182939851337   MOLLY        WILLIAMS                 OH          90013609398
1B182A3767B489   VENUS        THOMPSON                 NC          11059000376
1B183132561958   COLEMAN      ENTERPRIZES              CA          46005821325
1B1834A7893745   RACHEL       SCHMIDT                  OH          64523694078
1B183A34747846   LATISHA      DUPREE                   GA          90011180347
1B184328477977   JASIE        ANDERSON                  IL         90015453284
1B184568991895   RUBY         BLOTZER                  OK          21033955689
1B184657333699   SKYLER       TILLEY                   NC          90013916573
1B18493A74B23B   SIMONE       WILLIAMS                 NE          27073709307
1B18547975B526   CINDY        MEZA                     NM          90009224797
1B18548418B199   ANABEL       CARMONA                  UT          31013794841
1B185579693766   BRANDY       ROUSH                    OH          90000375796
1B18565315B35B   NATASHA      EDWARDS                  OR          90009876531
1B185789343563   ROBINSON     BASHUALDO                UT          90007297893
1B18584678438B   MICHAEL      WARD                     SC          19097118467
1B185913991523   JOSE         DE LA ROSA               TX          75031969139
1B185A2922B966   MARISSA      RAMIREZ ESPINOZA         CA          90013600292
1B186156191523   ANA          MIRANDA                  TX          75025021561
1B186648693773   TIFFANY      LATHAM                   OH          90014276486
1B18672AA93766   TIM          BODLEY                   OH          90011447200
1B186777755948   MICHELLE     FIGUEROA                 CA          90000497777
1B18679154B588   AMBER        ULRICH                   OK          21590287915
1B187125393773   KRISTINA     HAMM                     OH          66012031253
1B187146591899   KERRY        MCSPERITT                OK          90014031465
1B187379872453   TINA         LOUGHMAN                 PA          90011033798
1B187518161958   DOLORES      GATICA                   CA          90011225181
1B187A1315B343   TRISHA       BAKER                    OR          90014820131
1B187A34555948   ROSA         HARO                     CA          49002560345
1B187A67633699   LASAUNDRA    ANDREWS                  NC          90005940676
1B18819624B536   ARMANDO      MUNOZ ROJAS              OK          90011441962
1B1881A3561976   CLARA        ALAMILLA                 CA          90010731035
1B188449172B55   SAIRA        MORALES                  CO          33005594491
1B188526691569   PERDO        SANDOVAL                 TX          90012155266
1B188652A5715B   ZEGEYE       WELDE                    VA          90012606520
1B188676A51337   JASON        RADFORD                  OH          90007316760
1B18876A976B68   JUAN         VALDEZ                   CA          90011287609
1B188968A4B588   BOBBI        DEVORE                   OK          90006509680
1B18922A98B199   PATRICK      MIANGALA                 UT          90011672209
1B18941865B343   CODY         CARLLSON                 OR          90009444186
1B1895A9991569   KARLA        MARQUEZ                  TX          90012935099
1B18B19854B979   TRACY        GOLDMAN                  TX          76562001985
1B191161876B68   NAYELLY      RODRIQUEZ                CA          90010531618
1B1913A1351337   AMBER        MASTIN                   OH          66021483013
1B19194344B26B   KATHLEEN     HARLAN                   NE          26015829434
1B191A3124B23B   JASON        DICKEY                   NE          90013990312
1B191A6448B199   ANTONIO      BECKSTEAD                UT          90007890644
1B192872772453   R BARRY      SPRIGGS                  PA          90015198727
1B19291A35B154   HUMBERTO     SALDIVAR                 AR          23094279103
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1B193411393745   SABRINE     SHIRLEY                   OH          64516454113
1B19377567B489   TAUSHA      TAUSHA                    NC          90010307756
1B193783561937   MARK        ARAUJO                    CA          90011737835
1B19438452B966   JASON       DOWNS                     CA          90013603845
1B194687931687   DIAMONTE    JEANS                     KS          90014206879
1B194728A5B343   FILIMON     BASARGIN                  OR          90001977280
1B194821A4B259   ANA         DUBON MIRANDA             NE          90003188210
1B195159993759   HEATHER     DIXON                     OH          90013231599
1B195216872453   DAWN        HARPER                    PA          51004962168
1B1955A4231687   SHANNON     SMITH                     KS          90009045042
1B195662861958   ANGER       DENG                      CA          90014496628
1B19567A95B35B   DRAKE       STEVENS TUPPER            OR          90013796709
1B195875A5B282   PATRICK     SLOSS                     KY          68094908750
1B19611A85B526   ROSIO       NAVARRO                   NM          35057131108
1B196373391569   ANA         TORRES                    TX          90009083733
1B196772876B68   ALEJANDRA   ROCHA                     CA          90011287728
1B196A98491263   ROBERTO     LOPEZ                     SC          90014290984
1B197181393773   KATHERINE   GARRISON                  OH          90013111813
1B1973A4991569   RAKISHA     BURTON                    TX          90010953049
1B198162157199   CAROLINA    GALDAMEZ                  VA          90001941621
1B19866225B35B   BRADLY      TITUS                     OR          90001586622
1B19869A291523   ILSE        SANCHEZ                   TX          90008796902
1B198896591569   ERNESTINA   LOPEZ                     TX          90007038965
1B19B48614782B   SHANIKA     BARNES                    GA          14095284861
1B19B531691523   CARLOS      MEDELLIN                  TX          90014145316
1B19B633443563   CORY        CLYDE                     UT          31087816334
1B19B745261958   JORGE       SAENZ                     CA          90012017452
1B19B842776B68   NATHANIAL   CARPENTER                 CA          90014918427
1B19BA9A776B69   JASON       GOEBEL                    CA          90008860907
1B1B1221461938   ALEJANDRA   HURTADO                   CA          90012282214
1B1B186A95B154   JEANTTA     TOWNSEND                  AR          90006558609
1B1B198A161976   VERONICA    CASTRO                    CA          46087199801
1B1B247195B343   NINA        SARMANIAN                 OR          44515684719
1B1B2489961958   JUDE        ISNANDY                   CA          90009364899
1B1B2A24457142   MAXIMO      COR                       VA          90002240244
1B1B2A28661972   LAVON       SHIELDS                   CA          90013680286
1B1B3698161972   GUILLERMO   CORONA                    CA          46002756981
1B1B3745493773   JASON       PROFFITT                  OH          66096187454
1B1B3874891523   GLORIA      ESPINOZA                  TX          90008518748
1B1B3A15831456   APRIL       DAVIS                     MO          90003060158
1B1B3A7AA93745   SHELIA      HARVEY                    OH          90009590700
1B1B4558993759   DAKOTAH     FELL                      OH          90013085589
1B1B4667261938   JAQUETTA    SANDERS                   CA          90013326672
1B1B473485B335   TAMMI       MONDAY                    OR          90004187348
1B1B4A55672453   ROBERT      PHILLIPS                  PA          51079140556
1B1B521A85715B   CROSS       SIMPSON                   VA          90011322108
1B1B53A7191569   YVETTE      QUIROZ                    TX          75010273071
1B1B5491761958   RANDY       RIVERA                    CA          90011224917
1B1B5624651355   AMANDA      CIONE                     OH          90007576246
1B1B5719276B68   CAROLINA    JARA                      CA          90014817192
1B1B5941291895   CHAQUATA    DOSS                      OK          90014629412
1B1B5966461976   ANGELA      TELLEZ                    CA          46015079664
1B1B6183561972   YAJAIRA     ROSAS                     CA          90010051835
1B1B6251655948   GABRIELA    MORAN                     CA          90011152516
1B1B6385691523   LYDIA       GOMEZ                     TX          90014983856
1B1B642A45B526   CRYSTAL     GUTIERREZ-BACA            NM          90004014204
1B1B65A888B199   DEXTER      PLATTER                   UT          90006435088
1B1B65A922B837   BOYD        DAVIS                     ID          90000495092
1B1B6672761938   FERNANDO    SANCHEZ                   CA          90014166727
1B1B676AA91569   ALEXANDRA   HERMOSILLO                TX          90007777600
1B1B6826561976   JATHAN      LOPEZ                     CA          90012788265
1B1B6974477522   WALTER      JOLON                     NV          90007849744
1B1B6A34461938   FERNANDO    SANCHEZ                   CA          90006050344
1B1B7257593773   KRISTEN     ST JOHN                   OH          66048082575
1B1B7813891569   ARACELIE    DURON                     TX          90001908138
1B1B7924447956   DAKOTA      FEY                       AR          90013589244
1B1B83A4133699   C           J                         NC          90013883041
1B1B871865B35B   ANTONIO     DIEGUEZ                   OR          90011047186
1B1B92A4361958   ANA         VARGAS                    CA          90010152043
1B1B977984B22B   JO          HUDSON                    NE          90015007798
1B1B9873131687   JUAN        LARRA                     KS          22006158731
1B1BB4A158B193   CHRISTIAN   ARELLANO                  UT          90009524015
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1B1BBA87361972   CLARENCE     MITCHELL                 CA          90007260873
1B211592343563   ALBERT       TSOSIE                   UT          90007595923
1B211861376B68   MATGARITA    CONTRERAS                CA          90012888613
1B212378493745   REBECCA      COLLETT                  OH          90012973784
1B212392A91547   REBECA       ORTEGA GALLAGHER         TX          90012313920
1B212697393759   DEBORAH      ROBINSON                 OH          90014166973
1B21282185715B   RENZO        RODRIGUEZ                VA          90013678218
1B21348528B199   KRISTIN      GILLETT                  UT          31021954852
1B21352594B259   EVELIA       CHAVEZ                   NE          27008145259
1B213553A41284   LEON         REMAIN                   PA          90012435530
1B213A46472435   JOHN         BILSKY                   PA          51094250464
1B21413548433B   TANESHA      MAYERS                   SC          90003151354
1B214169A93766   JASON        HUBBS                    OH          90013921690
1B21419157B489   COREY        MERCER                   NC          90013751915
1B21437A372B62   JOSEPH       SCHWAB                   CO          90012403703
1B21487392B966   MARIA        GARICA                   CA          90002298739
1B215215991263   SARA         CLINE                    GA          90011422159
1B21524445B343   HUGO         SUNIGA                   OR          90014912444
1B2157A5693759   DEBORAH      ROBINSON                 OH          90014167056
1B21589874B592   ANA          CHAVEZ MAENDELE          OK          90005268987
1B215935172B62   DEWEY A      CARVER                   CO          90009689351
1B21595A191573   MARIA BARR   NCS                      TX          75090099501
1B215A36A51337   BRANDI       NADLER                   OH          66005890360
1B21647924B26B   JONI         OLBERDING                NE          26076144792
1B21654942B924   PEDRO        NERI                     CA          90008045494
1B216846357147   DEYSI        QUIJADA                  VA          90015178463
1B216956A93745   LINDSEY      ALSPAUGH                 OH          90014429560
1B216AA7655948   MARTHA       GONZALEZ                 CA          90015150076
1B217487861972   YVETTE       CARDONA                  CA          90010354878
1B217519991263   DANIELLE     BANNISTER                GA          90015595199
1B217668433699   ERICA        CAVINESS                 NC          90012366684
1B21784678438B   MICHAEL      WARD                     SC          19097118467
1B217A75851337   TALITA       PEGNO                    OH          90008480758
1B218438471925   MARTY        NIGHTINGALE              CO          90008384384
1B2187A638B199   CHASE        NELSON                   UT          90013947063
1B21883A54B23B   JULIAN       AGUSTIN                  NE          27013618305
1B21923369154B   LISETTE      GRANADOS                 TX          75013422336
1B2193A2861958   ALYSSI       BERTCHIE                 CA          90010213028
1B21967845B154   VALERIE      GOODEN                   AR          23058326784
1B21982A391895   JOHNNIE      PARRISH                  OK          21079898203
1B219982957147   JOHN         LOPEZ                    VA          90012629829
1B21B454491569   RUBY         HERNANDEZ                TX          90011284544
1B21B467193759   JUSTIN       FOWLER                   OH          90014574671
1B21B58A691263   NECOLE       COLLINS                  SC          90015075806
1B21B65835715B   EDWIN        UMANA                    VA          90014906583
1B21B869747956   EDUARDO      DIAZ                     AR          24073128697
1B21BA5315B343   BENITO       PASTOR ROJAS             OR          44549540531
1B221735561997   DONALD       ENGLISH                  CA          90014357355
1B22262A755948   SERGIO       PALOS                    CA          49057276207
1B2229AA647956   SAMANTHA     ANDERWS                  AE          90009749006
1B222A43891895   JOSEPH       HAARRY                   OK          90014630438
1B2232A2291263   DUANE        BEDGOOD                  GA          14580972022
1B223624A31687   HUGO         MARTINEZ                 KS          22064266240
1B224122861938   BLANCA       MELENDREZ                CA          90009451228
1B224662191895   LAJUANDA     FLEMMONS-WILLARD         OK          90004806621
1B224893591569   REBECCA      DURAN                    TX          75051728935
1B224A36143563   MARIBEL      REYES                    UT          90006930361
1B22511A88B157   SHARLA       NEALE                    UT          90001551108
1B225927A43563   PALMIS       CONSTRUCTION             UT          90014829270
1B22598265B35B   ISRAEL       TECHALOTZI               OR          90011819826
1B22618A147956   RANDY        HOWARD                   OK          90001571801
1B226262293773   ETHAN        STEELE                   OH          90015562622
1B226589461958   ORLANDO      BANOS                    CA          46017715894
1B226666931687   FLORENCE     GALLAGHER                KS          22081576669
1B226A54791895   LACI         TURNER                   OK          90014630547
1B227A39A5B343   DAVID        PABLO                    OR          90014820390
1B227A83A47956   DAWN         WEAVER                   OK          90012290830
1B228738155948   IZELLA       LARA                     CA          90008467381
1B228756843563   MICHAELA     ANDRUZZI                 UT          90013457568
1B228823693759   DONALD       HIGDON                   OH          90008628236
1B229134661958   MARIANA      LOPEZ                    CA          90011521346
1B22919718168B   CARYN        WOLTKAMP                 MO          90001141971
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1B229215961976   MARELY       PEREZ                    CA          90012302159
1B229228751337   ANTHONY      PITTMAN                  OH          66043162287
1B229391633699   AUDRIANA     SMITH                    NC          90011223916
1B229535A5B343   GARY         SIMMONS                  OR          90014525350
1B22971685B343   GARY         SIMMONS                  OR          90012027168
1B229779A33699   ANA          CRUZROQUE                NC          90013917790
1B229A56293759   ASHELY       VONDERHEIDE              OH          64517580562
1B22B149357147   MARIA        VILLEGAS                 VA          90010211493
1B22B338491569   BRIANA       CARDENAS                 TX          90012663384
1B22B94A693766   DAN          LAKE                     OH          90012039406
1B23118994B26B   DEBRA K      ROYAL                    NE          90007921899
1B231215491523   MARIELA      MARTINEZ                 TX          90010342154
1B23123522B966   AL           JONES                    CA          90013612352
1B231236976B68   CHOKHAWALA   ASHESH                   CA          90012392369
1B231394191569   ALBERTO      PADILLA                  TX          90013543941
1B231846393759   ANTHONY      SMALL                    OH          90013008463
1B231A9125715B   TERRANCE     HUGHES                   VA          90010130912
1B232429276B68   HEATHER      YANEZ                    CA          90013034292
1B232459A91868   ALPHAEUS     WASHINGTON               OK          90010304590
1B232A79193745   KAY          PRITCHARD                OH          90000430791
1B232A8975B343   ELENA        VEGA-CASTILLO            OR          90011210897
1B233131A43563   HENRI        CARRILLO                 UT          90013361310
1B2331A4A91569   WOODY        HARGROVE                 TX          75088451040
1B233493343563   JOSE         ROBLES                   UT          90012574933
1B233498261976   LUPE         ORTEGA                   CA          90007754982
1B233666493758   NATALIE      JOHNSON                  OH          90011546664
1B233669731687   MICHEAL      WILLIAMS                 KS          90013826697
1B234164A8B199   PABLO        SANCHEZ                  UT          31097141640
1B234259791898   ALYSA        MCKINNEY                 OK          90012182597
1B23432854B26B   MARY         KELLY                    NE          90009783285
1B23462253B722   KAREN        KILJANDER                WY          90014146225
1B234722161938   VERONICA     NIEVES                   CA          46083957221
1B2349A614B22B   ENRIQUE      AMARO                    NE          27082999061
1B2352AA75715B   HELMER       BENAVIDEZ                VA          90013992007
1B235712391523   BEATRIZ      PICHARDO                 TX          90013017123
1B23572835B343   GREG         TUBBS                    OR          90009187283
1B235868476B68   MARIA        MANRIQUEZ                CA          90010558684
1B236218233699   ROBIN        JOHNSON                  NC          12027212182
1B236341561938   DARWELL      ARNOLD                   CA          90005913415
1B236758A5B154   JUSTIN       GREEN                    AR          90013367580
1B236965A4B588   MITZIE       HARPER                   OK          90006799650
1B23735845715B   JOHN         JARA                     VA          90011023584
1B237525743563   MICHELLE     ROBERTSON                UT          90002725257
1B23762935B154   LAHOMA       DAVIS                    AR          90014706293
1B23828515B35B   MARISSA      JOHNSON                  OR          90013172851
1B238322691523   GEORGE       AVALOS                   TX          90009673226
1B238A24193759   CELESTE      BAUGHMAN                 OH          64596670241
1B239638A72453   THOMAS       CROTHERS                 PA          90015136380
1B23B183372453   LOWE         HAWKINS                  PA          90011351833
1B23B284972B55   MANUEL       CORREA MACIAS            CO          33081052849
1B23B32A95B343   DUSTIN       BUTLER                   OR          44580903209
1B23B695772435   JOYCE        LEONARD                  PA          90005316957
1B23BA58391895   LEN          PAYNE                    OK          90014630583
1B23BA5A351337   JEFFERY      CHAVIS                   OH          66011010503
1B241181461938   GINGER       VALENZUELA               CA          90003881814
1B2411A775B343   AMAL ESAM    ABID                     OR          90013211077
1B24184895B526   DAVID        PALERMO                  NM          90012908489
1B242129272453   BRANDON      PHILLIPS                 PA          90012121292
1B2426A2347956   BRUCE        DAVEY                    AR          24010616023
1B24294A791895   THOMAS       RUTHERFORD               OK          90014639407
1B24296715B154   TAMI         MURRY                    AR          90013149671
1B243122A61958   MARTHA       MOTA                     CA          90013111220
1B24338A78B199   MADALYNN     PACKER                   UT          90009643807
1B24343565B526   ALAN         VALENZUELA               NM          90014584356
1B243636661976   AIOTEST1     DONOTTOUCH               CA          90015116366
1B243A56643563   JENNIFER     OMANEBRIMPONG            UT          31018730566
1B2441A2676B68   MAURICIO     SALAZAR                  CA          90010561026
1B244636893759   TIMOTHY      VANCULIN                 OH          64511116368
1B24527155B154   JAMES        BROWN                    AR          90009932715
1B245372931687   JOSH         PRICE                    KS          90003913729
1B2456A2891895   LATANYA      GREEN                    OK          90012696028
1B245823561938   JUAN C       NIX                      CA          90011078235
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1B245846891569   FRANCISCO      SERRANO                TX          75052308468
1B24587A461972   MIGUEL         AGUAYO                 CA          46015148704
1B245A95961936   JUANA          OSUNA                  CA          90011830959
1B24689A955948   NIOMI          ORNELOS                CA          90010298909
1B2468A675B343   HECTOR         SANCHEZ CORDERO        OR          90013578067
1B246935991573   STEPHANIE      GOMEZ                  NM          90013039359
1B24694575715B   ARMANDO        MARTINEZ               VA          81027519457
1B2469A985B343   ALBERTO        VALENCIA LUNA          OR          44505479098
1B247244572435   PAUL           WINGATE SR             PA          51022822445
1B24772796147B   THEADORA       SMITH                  OH          90014497279
1B247A9874B22B   GREGORY        STEVENSON              NE          27055730987
1B247AA792B966   TERENCE        CRUMP                  CA          90013620079
1B248714951337   ENEREIDA       JUAN                   OH          66056087149
1B24878A261972   OMAR           FRANCO                 CA          90013527802
1B24887998B199   FRED           RODARTE                UT          90013098799
1B249174193745   SHARRON        SHORT                  OH          64544501741
1B24925835B526   NICHOLAS       WARD                   NM          35058812583
1B249312272B62   ANGELA         NEWMAN                 CO          33095213122
1B249759891523   ROLANDO        MONTELONGO             TX          90006677598
1B24985A661972   VENTURA        GUERRERO               CA          90013818506
1B24B673A91569   ANDY           GUERRERO               TX          90004516730
1B24B68364B22B   AISHA          SPENCER                NE          90000586836
1B2511A8A93745   JOHN           BARNES                 OH          64538071080
1B25132174B252   MORRIS         BISHAY                 NE          90004173217
1B25133954B22B   WILLIAM        MANZER                 NE          27016223395
1B251848961976   ADRIANA        FLORES                 CA          46091448489
1B25235215B526   IRVING         NAJERA                 NM          90013113521
1B252561143563   ANSELMO        PRADO                  UT          31053285611
1B2525A8651337   HARDEN         REESE                  OH          90007945086
1B252664533699   SYDNEY         MITCHELL               NC          90013756645
1B252726255948   MARISOL        MORENO                 CA          90014727262
1B252847A91899   PATNO          MARILEN                OK          21078638470
1B25286382B966   EDUARDO        LOPEZ                  CA          90004358638
1B25294745B343   CHRISTINA      DEROKEY                OR          90012919474
1B25298858B165   DAYANNE        PARRA                  UT          90012039885
1B252A4947B489   ARKYRA         BLACKWELL              NC          11067310494
1B252AA5461938   DAVE           HANCOCK                CA          46005660054
1B253189893759   MICHELLE       DANIEL                 OH          64593921898
1B253584433699   MICHELLE       BURGESS                NC          90005115844
1B2539A5447956   JACKIE         WARD                   AR          24008089054
1B254151547956   ASHLEY         ENGEL                  AR          24062711515
1B254171793773   JASON          BORGEMENKE             OH          90014181717
1B254918372B28   KEITH          HOOVER                 CO          33092759183
1B25517624B232   LISA           HARRIMAN               NE          27069461762
1B2552A8861972   JUAN           HERNANDEZ GARDUNO      CA          90014902088
1B255A9874B22B   GREGORY        STEVENSON              NE          27055730987
1B256169A55948   JETZABET       DAZA                   CA          90013801690
1B25647A961938   ANTONIO        SAMERON                CA          46064914709
1B256584272453   FRANK          HOLDEN                 PA          90011955842
1B25686137B489   DARRYL         SPRINGS                NC          90010148613
1B256A99A5B123   SIOBHAN        TRAYLOR                AR          90013360990
1B25722647B436   ADA            PADILLA                NC          90000192264
1B257836355948   RICHARD        FLORES                 CA          90010208363
1B25831A993766   AMY            MALOTT                 OH          66095433109
1B258364A5B35B   ALFREDO        GONZALEZ               OR          44518113640
1B259559572453   LINDSEY        HUNNELL                PA          90013145595
1B25957418B199   CHRYSTAL       STOCK                  UT          90010215741
1B2595A9A91569   CHISTOPHER     GARCIA                 TX          90007595090
1B259618161938   AEISES         SPAIN                  CA          46085786181
1B25968794B588   BIANCA         JONES                  OK          21562816879
1B25B11165B35B   VERONICA       DIAZ                   OR          90012351116
1B25B37A561976   ENRIQUE        CHAVEZ PEREZ           CA          90012903705
1B25B74755B343   JUSTINE        LUND                   OR          90011697475
1B2617AA65B35B   SERMIHNER      PABLO                  OR          90013257006
1B262945791523   LIVIA ZULEMA   FLORES                 TX          90012599457
1B263357461938   KARINA         BARRIENTOS             CA          90014763574
1B263657961972   GAU            VERGARA                CA          90012156579
1B2637A264B26B   KATTIA         OUM                    NE          26030157026
1B264179493745   NICOLE         BIRD                   OH          90014851794
1B2641A1593747   TINA           FARLEY                 OH          90012211015
1B264528772B55   MICAELA        JIMENEZ                CO          33010115287
1B264697976B68   PEDRO          VENEGAS                CA          46005876979
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1B264AA8593759   OLIVERIO     GUMERCINDO               OH          90015160085
1B26554815B154   SHANNON      WHITE                    AR          23001845481
1B266762855948   LEANNA       TORRES                   CA          49007117628
1B26679318B136   JEFF         HOLLEY                   UT          31089047931
1B267279A76B68   AMY JEAN     TUNGSETH                 CA          46015692790
1B267298591569   GABRIELA     RODRIGUEZ                TX          90004772985
1B26729A891523   MARIA        DAVILA                   TX          90014932908
1B26777765B526   SUZANNE      CUNNINGHAM               NM          90013257776
1B267876747956   ROBERTA      SESSUMS                  OK          24096148767
1B268148193745   KELLY        DOSECK                   OH          64519501481
1B26821A75B247   DENNIS       DISNEY                   KY          68091922107
1B268635661938   AMY          GARCIA                   CA          46005046356
1B268872A51337   AMY          SMITH                    OH          90013708720
1B268963793773   NATASHA      SHAFFER                  OH          90014529637
1B268A75A2B865   GARY         MILLER                   ID          41057180750
1B269138347956   TIFFINEY     TABOR                    AR          90012551383
1B269156643563   SONIA        GARCIA                   UT          90011901566
1B269442361938   TCHOKY       MUKENDI                  CA          46064914423
1B269739661958   NORA         VITAL                    CA          90014467396
1B26B528372453   ROBERT       GARCIA                   PA          90015185283
1B26B776A51337   DEBORAH      COLLIER                  OH          90015217760
1B26B9A5443563   THERESA      MARQUEZ                  UT          90012199054
1B26BA4978B199   STEVEN       CONNERS                  UT          31017340497
1B27115275B343   SETH         STAPLES                  OR          90012261527
1B27163694B22B   MICHELLE     WADE                     NE          90004746369
1B27167215B343   SETH         STAPLES                  OR          90014586721
1B27169182B234   HARTWELL     COUSIN                   DC          81016686918
1B272235893724   AMERICA      MARAJ                    OH          90004212358
1B272641691569   JULIAN       ARANGO                   TX          90008486416
1B27292A676B68   FELIPE       BAUTISTA                 CA          90000919206
1B2732A5833699   CRISTINA     BAHENA                   NC          90003822058
1B273329991895   NALLELY      GARCIA                   OK          90010413299
1B27364A972B62   SONIA        SOLITO CARPIO            CO          33057996409
1B27387A261938   MARIA        HORSCO                   CA          90004148702
1B2742A9833645   NIETTRA      SMITH                    NC          12006952098
1B274478A93773   MENSAH       MARTIN                   OH          90006034780
1B274668A91263   REGINALD     ANTWAN                   GA          90013706680
1B274A7334B22B   ANDREZ       NILA                     NE          90001220733
1B275112A8438B   DARLENE      MIKELL                   SC          19043111120
1B275144855948   JULIO        ELOTLAN                  CA          90013101448
1B27549537B489   SHANEKA      MCBRIDE                  NC          90014954953
1B2755AA18B193   WYATT        BRYAN                    UT          31035815001
1B275847661938   NATHAN       HUBBARD                  CA          90014038476
1B275A96361936   SELENA       MUNGUIA                  CA          90010800963
1B276279893759   WILLIAM      THOMAS                   OH          64594202798
1B27633A35B343   BRADLEY      GREENO                   OR          90002943303
1B276531891569   ANA          FIERRO                   TX          90000915318
1B276664272B62   DANIEL       LIZZARRAGA               CO          90009966642
1B276779961958   TRACY        MAYWELL                  CA          90007357799
1B27688544B26B   KEVIN        ROLFSMEYER               NE          90001548854
1B27689278438B   BELINDA      HSIA                     SC          19018548927
1B277143493773   DEAUNDREL    JACKSON                  OH          90010891434
1B277559576B68   OVIDIO       CRUZ PEREZ               CA          90013385595
1B278747A93724   LATESA       WILLIAMSON               OH          90013637470
1B27889AA76B68   YONATHAN     MENDOZA                  CA          90013218900
1B2788A214B259   JUSTIN       LARSEN                   NE          90010508021
1B278A5565B183   WYVONNIA     DENTON                   AR          90009450556
1B278A58961938   KATHY        EGAN                     CA          46081910589
1B279841831687   SUZIE        RED                      KS          90015148418
1B2799A444B259   RAMIRO       GARCIA                   NE          90002819044
1B27B134491895   OMNNI        BROWN                    OK          90014631344
1B281464A91895   DANIEL       ESCOBOZA                 OK          21063554640
1B281618861976   LYANNE       CAMACHO                  CA          90013586188
1B281674A55948   JEANETTE     RAMIREZ                  CA          90012856740
1B281854661976   EVANGELINA   FREY                     CA          90014988546
1B281988961976   OLIVIA       CASTANEDA                CA          90013429889
1B282167572435   LEO          KERN                     PA          90006771675
1B28231155B35B   MARIA        AGUILAR                  OR          44512843115
1B282329655948   ARLENE       GONZALEZ                 CA          90011773296
1B282359833699   LISA         SMITH                    NC          90011233598
1B282368A91895   PATRICK      PREIBE                   OK          90010413680
1B282734761938   JOSEFINA     ZAMORA                   CA          46022337347
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1B282858876B68   JOE           FUERTES                 CA          46087618588
1B28315985B154   TONYA         JOHNSON BAKER           AR          90012071598
1B28317844B259   AMBER         HATHAWAY                IA          27097231784
1B283579176B68   KRISTEN       HARLESS                 CA          46066905791
1B283779391895   BLANCA        ARREOLA                 OK          21081957793
1B284319133699   HOLLEY        BRIANT                  NC          90015053191
1B28445344B22B   DESIRE        VALENTINE               NE          90008944534
1B284578372435   ANDREW        HAYDEN                  PA          90000615783
1B2846A614B23B   DEBORAH       BLY                     IA          27019046061
1B284734861958   RONALD        LANDRY                  CA          46072717348
1B284A52151337   KENNEY        BUSH                    OH          66041070521
1B28533325B154   AZUREE        COURTNEY                AR          90014373332
1B285393391895   GUSTAVO       SAUCEDO                 OK          90010413933
1B28555568B199   TRACY         MARTINEZ                UT          31041925556
1B285856893759   KRISTA        PEREZ                   OH          90011208568
1B286214A55948   JOSHUA        GAITHER                 CA          90014752140
1B286523361972   MONIQUE       RANDLE                  CA          46071435233
1B28657A88438B   SUSAN         CANNON                  SC          90000205708
1B2866A614B23B   DEBORAH       BLY                     IA          27019046061
1B286A3245715B   DIARA         PREUDHOMME              VA          90006300324
1B287357461938   KARINA        BARRIENTOS              CA          90014763574
1B287628547956   JOSUE         CABALLERO               AR          90008126285
1B287674761972   AVILENE       GONZALEZ                CA          90014716747
1B288426A33699   LATOYA        BAYS                    NC          90011104260
1B288883993745   AMY           GRAHAM                  OH          90001538839
1B288926676B68   MARIVELLE     JIMENEZ                 CA          46098039266
1B288942291523   MARIA         RINCON                  TX          75043749422
1B288985343563   AMOS          MARTINEZ                UT          90008099853
1B288995193773   KEVIN         SORNEY                  OH          90006829951
1B289126161958   BRANDY        BLAND                   CA          46050831261
1B28918844B22B   MAKAYLA       TAYLOR                  NE          27031361884
1B289331A55948   JARROD        SPRAGGINS               CA          90015163310
1B28B22AA51337   TIERRA        LILLARD                 OH          90003752200
1B28B248376B68   GLENN         BRADLEY                 CA          90012052483
1B28B77735B154   EVERARDO      MUNGUIA                 AR          90014707773
1B28B93574B26B   JAMES         GRANT                   NE          90011599357
1B291623943563   SILVANO       REYES                   UT          90013496239
1B29185528B193   ALEJANDRA     HERNANDEZ               UT          90013788552
1B291994576B68   CHRISTIAN     PULIDO                  CA          90014929945
1B292477661958   JEIEL LEAIV   GRAHAM                  CA          90014504776
1B2924A115715B   BILL          NGUYEN                  VA          90013624011
1B292848893759   SHELLY        GREATHOUSE              OH          64538948488
1B292848893766   LANCE         HAMILTON                OH          90014878488
1B292A71291569   JOSE          DUENAS                  TX          90001160712
1B292A77276B68   ANTONIO       CABALES                 CA          90012470772
1B293154947956   CLARISSA      AUSTIN                  AR          90014811549
1B2937A3861972   DONNA         MOORE                   CA          90007367038
1B29386645B343   ELIZABETH     RUSSUM                  OR          90011708664
1B29411334B26B   TRICIA        PHILLIPS                NE          26058931133
1B294387547956   TIFFANY       HOWARD                  AR          90007533875
1B294537655948   RAYMOND       AGUILAR                 CA          90014645376
1B294598A51337   RANDALL       GLARDON                 OH          90012225980
1B294754A61936   ELIZABETH     OROS                    CA          90014737540
1B29499525B343   JACQUELINE    HOTH                    OR          90013429952
1B294AA4897B39   SONIA         CASTILLO                CO          90009300048
1B295146176B68   CAULIN T      JENNINGS                CA          90011541461
1B295363561936   ETHAN         CAVAZOS                 CA          90011833635
1B295AAA493759   CHRISTA       DEARMOND                OH          64566080004
1B296255372B62   KENNETH       SCHADEGG                CO          90010862553
1B296379376B68   HERENDIRA     DIAZ                    CA          90014293793
1B296517A91523   ROBERT        MALDONADO               TX          90002425170
1B296738891263   LAKEESHA      MANN                    GA          90015587388
1B29678A755948   YULEISI       VALDEZ                  CA          90001017807
1B296A6727B489   SAVANNAH      HURST                   NC          90014540672
1B297447161958   MARIA         MONTOYA                 CA          46082874471
1B297451191523   ALEJANDRO     LEYVA                   TX          90010454511
1B29761555715B   SHEMISHEYA    AWOL                    VA          90001386155
1B298352491569   VERONICA      ARAGON                  TX          90001763524
1B298716576B68   FEDERICO      ESPARZA                 CA          46039407165
1B29895643B722   ANGEL         CRUZ-ZAMORANO           WY          90013139564
1B298A7515B154   FELIX         PEREZ                   AR          90014560751
1B29923A64B22B   VERONICA      LOPEZ                   NE          27056442306
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1B299567A93773   CASSANDRA    HARRIS                   OH          90009315670
1B2998A4476B68   JOSEMANUEL   ABARCA                   CA          90010088044
1B29B532491523   MELISSA      ZAMBRANO                 TX          75060745324
1B29B698461976   FRANK        TUCKER                   CA          90002966984
1B29B893A91B38   SPENCER      BARLOW                   NC          90014258930
1B29BA8A361992   GUADALUPE    LOPEZ                    CA          90011140803
1B2B116478B199   JUSTIN       BEAZER                   UT          90013871647
1B2B1172A61925   MATTHEW      CHERWA                   CA          90012761720
1B2B1277693745   ASHLEY       QUINN                    OH          90012432776
1B2B15A5493773   LAURA        MORROW                   OH          90012015054
1B2B1697191B26   THOMAS       JONES                    NC          90013746971
1B2B1A76A93773   PAYGO        IVR ACTIVATION           OH          90014450760
1B2B2152591263   RICKY        WILLIS                   GA          14518481525
1B2B2162A72B55   MAMIESHA     BANKS                    CO          33004031620
1B2B333475B154   PARIS        HAMMONDS                 AR          90014673347
1B2B3539361976   MATT         ALTHAUS                  CA          90010305393
1B2B383824B26B   CARL         YOUNG                    NE          90010278382
1B2B422255B526   ALICIA       MADRID                   NM          90002172225
1B2B446928164B   EDITH        HUSKIN                   MO          90008154692
1B2B496A661972   RAQUEL       LOPEZ                    CA          46040539606
1B2B5312891569   BRANDON      GUTIERREZ                TX          90014903128
1B2B534285B343   ISRAEL       JUAREZ ESTRADA           OR          90013233428
1B2B5444561938   DANIEL       CARVER                   CA          90014754445
1B2B634275B154   DEVRA        BRISBY                   AR          90014673427
1B2B63A8676B68   MARIA        CARRILLO                 CA          46074613086
1B2B64A4493745   DANIELLE     LINTON                   OH          90011964044
1B2B7763361976   ANASOFIA     SANTANA                  CA          90014017633
1B2B7882691523   DENISE       CABELLO                  TX          90003798826
1B2B794A791895   THOMAS       RUTHERFORD               OK          90014639407
1B2B7A26891569   MARIBEL      ARZAGA                   TX          90013620268
1B2B8147493766   WILLIE       JENNINGS                 OH          66080871474
1B2B821338B199   CHRISTINA    CHURCH                   UT          31092582133
1B2B821425715B   INGRID       VASQUEZ                  VA          90014692142
1B2B83A7693773   JEFFERY      GIBBS                    OH          90010203076
1B2B894A876B68   ANGEL        GODINEZ                  CA          90011539408
1B2B8A22291263   LEXUS        MUTCHESON                GA          90015410222
1B2B9129671957   DONNIE       CHESS                    CO          90011931296
1B2B9584261938   GLARIS       MERAZ                    CA          90013105842
1B2B9A5315B343   BENITO       PASTOR ROJAS             OR          44549540531
1B2BB37164B259   A'LEXIS      WATTS                    NE          27050843716
1B2BB384661972   MARIA        MORFIN                   CA          90013343846
1B2BB978461958   BYRON        PEREZ                    CA          46047099784
1B3112A855715B   FRANCISCO    PICADO MIRANDA           VA          81026312085
1B311667561976   NANCY        GARZON                   CA          90010496675
1B3118A6461958   SHERRIECE    O'DONNELL                CA          46011618064
1B31215215B35B   BRANDOM      WATSON                   OR          44595141521
1B312358793773   TIFFANY      STEWART                  OH          66062603587
1B3125A778598B   KAITE        KENNEDY                  KY          90007665077
1B3128A1A61938   JOEL         RODARTE                  CA          46083178010
1B313A3A451337   ALYSSA       GREVAS                   OH          90005350304
1B3141A6761938   MEMEE        HERCAN                   CA          90014851067
1B31422668B199   ELIZABETH    GARCIA                   UT          90001772266
1B31463775715B   MEYBELL      MEJÍA                    VA          90013646377
1B31479787B489   AMITY        LAFLEUR                  NC          90000207978
1B314825157147   ISABEL       CABRERA                  VA          90012978251
1B31559237B489   MELANIE      GATES                    NC          90014405923
1B315718791523   MANUEL       PORTILLO                 TX          90002827187
1B316371151337   ANTHONY      REAVES                   OH          66002223711
1B316379291569   OLGA         HERNANDEZ                TX          90013273792
1B316611533699   DION         REED                     NC          90003306115
1B31666225B526   TAMMY        SUNATA                   NM          35002616622
1B316682361972   ANGELICA     HERNANDEZ                CA          90007006823
1B31686A64B22B   LEONEL       SANCHEZ BARAJAS          NE          90003658606
1B317471776B68   HIDIBERTO    LOPEZ                    CA          90001464717
1B317852251337   DANIELLE     NEAL                     KY          66075038522
1B3179A697B489   SHASTHA      SMITH                    NC          90007689069
1B317A66A91895   TIERRA       DUCKETT                  OK          90014710660
1B318465361958   ABEL         OREGEL                   CA          90004264653
1B31849885B154   TWANNA       SCALES                   AR          90014714988
1B31861975B335   TIM          MORGAN                   OR          90011326197
1B318659193766   JOHN         LAWSON                   OH          90014386591
1B3186A2157147   MERCEDES     CORTEZ                   VA          81064986021
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1B31876438438B   JOEL         PALOMA                   SC          90001197643
1B31885A55B526   JEREMY       ROLISON                  NM          90013098505
1B31945467B35B   GINA         SANTOS                   VA          90011084546
1B319583393766   TINA         CAPTAIN                  OH          90008245833
1B31967914B22B   SETH         SCHRODER                 NE          90015136791
1B319A9855B343   ARIBED       OROZCO PEREZ             OR          90014850985
1B31B47335B154   JACKLYN      JOHNSON                  AR          90014714733
1B31B68294B23B   RICHARD      LOUCKS                   NE          90003746829
1B31BA33133699   TONYA        JUAREZ                   NC          90004010331
1B321164561972   DANIEL       HERNANDEZ                CA          90012411645
1B321649891263   NICHOLAS     AKINS                    GA          90015446498
1B32169814B26B   EARL         WOLFE                    NE          26038226981
1B32173212B894   JAMES        MAGGARD                  ID          42010767321
1B321768661976   ADELINA      MACKEY                   CA          46066427686
1B321777491523   ELSA         ENCERRADO                TX          75084467774
1B321855772B55   ELENA        VIGIL                    CO          90001258557
1B3218A5993745   KATIE        FLINN                    OH          90013928059
1B3219AA35715B   DILWAR       HUSSAIN                  VA          90004609003
1B321A8545B35B   JOSH         LORENZEN                 OR          44561830854
1B322982961976   ARTURO       PASURTO                  CA          90003139829
1B322A57A4B22B   BAMENETAYI   ALAIN YARO               NE          90015040570
1B323217791569   JAVIER       VASALLO                  TX          90002672177
1B32335655B35B   ASHLEY       FRASER                   OR          90013193565
1B32362625715B   ADA          GUEVARA                  VA          81014286262
1B323674855948   ALELI        MARTINEZ                 CA          90006426748
1B3237AAA43563   YOSELIN      VILLAGRANA               UT          90011397000
1B32389245B526   MONICA       GARCIA                   NM          90013638924
1B323A75261958   ISAMAR       CALDERON                 CA          46060970752
1B324256257142   HERLINDO     VALIENTE                 VA          81077202562
1B324312A72B62   CRYSTAL      MCDONALD                 CO          33052633120
1B324942861972   JORGE        SECUNDIN                 CA          90013629428
1B324A13772453   TERI         KIFER                    PA          51090660137
1B32512A655948   GABRIELA     SANDOVAL                 CA          90014911206
1B325241143529   MATT         BURNS                    UT          31075962411
1B325475461958   GUENDI       CORTEZ                   CA          46095644754
1B325796A5715B   ILDA         RIOS                     VA          81014287960
1B325856A72435   MARTY        ATHEY                    PA          51000178560
1B32589A391569   MARIA        AVILA                    TX          90007628903
1B3259A5655948   EDELIA       CORTES RUIZ              CA          90011009056
1B32612637B489   BOBBY        CRAWFORD                 NC          90008201263
1B32612748B193   SANTOS       SHARON                   UT          31079961274
1B326391291523   SONIA        CARMICHAEL               TX          90005283912
1B326773291569   JESUS        ALVARADO                 TX          90013777732
1B32688964B23B   JESUS        CANALES                  NE          90008858896
1B326A6744B22B   ANDRE        HENDERSON                IA          90015040674
1B327225693773   SARAH        BURKHART                 OH          90013702256
1B32761425B154   BRITTNEY     SMITH                    AR          90014716142
1B32775395B343   DANIEL       FIELDS                   OR          44502197539
1B327A35461972   KARLA        MIRAMONTES               CA          90010720354
1B328256161972   NITA         TORRES                   CA          46008972561
1B328816A4B259   LATISHA      CRAWFORD                 NE          90010508160
1B328889676B68   HERIBERTO    LOPEZ                    CA          90013038896
1B329621361938   PAUL         LARES                    CA          90008076213
1B329923231456   TALONDA      JONES                    MO          27502969232
1B329991A93759   ROBIN        MILEY                    OH          90013099910
1B32B16187B489   SHANEIKA     MORRIS                   NC          90013001618
1B32B41918B193   BINJAMIN     PINON                    UT          31044864191
1B32B587257147   LESLY        CHAVEZ                   VA          90014795872
1B32B86959154B   VERONICA     HERNANDEZ                TX          75014128695
1B32BA51684375   JULIO        MOREIRA                  SC          19095900516
1B3313A135B343   MATTHEW      RUSSELL                  OR          90007363013
1B331684A5B526   PERLA        MALDONADO                NM          90005596840
1B33173148B199   MICHELLE     MORMAN                   UT          90013307314
1B33189714129B   JACKIE       KENDALL                  PA          90011408971
1B3321A8A93745   JOHN         BARNES                   OH          64538071080
1B332249891993   ADAN         NOGUERA                  NC          17016702498
1B33241A672B62   SHELBY       SUMMERS                  CO          90014264106
1B332434593773   JAMES        CAPTAIN                  OH          66069354345
1B33259284B23B   JOSH         TROUT                    NE          27009125928
1B33313415B343   DEEANN       JENTZSCH                 OR          90014851341
1B333165372B23   HECTOR       DELAVEGA                 CO          33026501653
1B333719893773   BOBBIE       EWING                    OH          90015147198
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1B333998593766   TIFFANI      SIMON                    OH          90015399985
1B33486514B26B   SHANON       ABBOTT                   NE          26043848651
1B335269993759   SHAELA       BAKER                    OH          90014202699
1B335339572453   JOEY         NIKLAS                   PA          90011353395
1B335718A8B189   KARLI        FAIT                     UT          90007687180
1B335845472B34   KELLY        ATCHISON                 CO          90007998454
1B336151961972   VIONORA      ROQUE                    CA          90011131519
1B336278155948   MARIA        RAMIREZ                  CA          49077312781
1B3362A728B199   MARGARET     CARSON                   UT          90014902072
1B336526761936   ERIC         MORALES                  CA          90011835267
1B33653985B154   CLARETTA     DANIELS                  AR          90014705398
1B337127751337   THOMAS       FREEMAN                  OH          90002331277
1B337381355948   ROBERTO      TIJERO                   CA          90010223813
1B337977284375   RODNEY       CHAPLIN                  SC          19095919772
1B338617861976   AURORA       RAMOS                    CA          46040536178
1B339984861976   ED           ALONZO                   CA          90012869848
1B33B238A7B489   JACQULINE    JONES                    NC          90012842380
1B33B536955948   MARTHA       ORTIZ                    CA          90013635369
1B33B755557142   IRENE        GARCIA                   VA          90004267555
1B33B99A961938   CLEO         DUMAS                    CA          46032019909
1B341399286445   RODOLFO      GARCIA                   SC          90014423992
1B341576376B68   RUBEN        DIAZ                     CA          90012355763
1B3415A365B343   JANICCY      BARAJAS                  OR          90013235036
1B341A4474B23B   ELEAZAR      LINARES                  NE          90011700447
1B342143161938   TERESA       JOEL                     CA          90002201431
1B342634847956   TODD         WORKMAN                  AR          24092996348
1B34264785715B   DONALD       HERRING                  VA          81057966478
1B342883493745   NICOLE       MOWERY                   OH          90013838834
1B34314A25B343   ABRAHAM      QUIROZ-SALINAS           OR          90014861402
1B34371585715B   JOSUE        PEREZ                    VA          90013667158
1B34399623B364   DAVID        WALTON                   CO          90007309962
1B343998261958   JENNIFER     RIOS-DIAZ                CA          90012129982
1B343A22772435   SHELLEY      FRINSCO                  PA          90006150227
1B343A58791569   DIEGO        ARENIVAR                 TX          90013350587
1B344572493783   LAURA        ROWLAND                  OH          90000575724
1B34483A15B343   JOSEPH       PATTER                   OR          90013378301
1B345163972435   BRADLY       LIGHTNER                 PA          51031481639
1B34564885B154   DANIEL       WATSON                   AR          90014716488
1B345A25343563   HENRRY       ARTICA CAMAYO            UT          90013960253
1B34634915B526   VAL          CHAVEZ                   NM          90001383491
1B34664885B154   DANIEL       WATSON                   AR          90014716488
1B34671625B35B   FRED         QUALLS                   OR          90014357162
1B34676A85B343   JUAN         CELICIO HERNANDEZ        OR          90014867608
1B34688624B259   STEPHANIE    SOBESKI                  NE          27000408862
1B346967657147   RONALD       RONALD STONE             VA          90014249676
1B346A5778438B   LATANYA      BROOKS                   SC          90001660577
1B347237793759   HEATHER      KREISMAN                 OH          64582412377
1B347764261976   JOHN         MAYER                    CA          90014017642
1B347828844228   ROBERT       HALL                     CA          90012478288
1B34861A943563   ARMANDO      VENEGAS                  UT          90009686109
1B348654751337   DEMOSH       HEADEN                   OH          90012766547
1B34889245B526   MONICA       GARCIA                   NM          90013638924
1B349166291523   MONICA       ROMERO                   TX          75086781662
1B34925A293744   LARRY        CASEY                    OH          64506972502
1B34B27485715B   NOELIA       HERNADEZ                 VA          90011352748
1B34B43375B526   BERNADETTE   INEZ                     NM          90004304337
1B34B771293766   BILL         MCLAINE                  OH          90015157712
1B34B885761958   JOSE         QUINTERO                 CA          90011388857
1B351481A93766   JESSICA      MCGINNIS                 OH          90012154810
1B351698161972   GUILLERMO    CORONA                   CA          46002756981
1B352136347956   BERNERD      HASKINS                  AR          90004001363
1B352312791523   LORI         DOUGLAS                  TX          75070133127
1B35243435B232   JAMAR        WHITE                    KY          90011424343
1B352484A55948   ALEXANDRA    DELGADILLO               CA          48064564840
1B352991772453   DASHA        BOWER                    PA          90005119917
1B3532A4557142   OSCAR        ZULETA                   VA          90006292045
1B353862A47846   BRENDA       CHAPMAN                  GA          90008208620
1B353895255948   JONI         LUNA                     CA          90013258952
1B3541A1293759   LATRINA      PORTER                   OH          64594251012
1B354231261958   JOSE         GUZMAN                   CA          90011902312
1B35499AA9154B   RENE         VEGA                     TX          75013429900
1B35599AA9154B   RENE         VEGA                     TX          75013429900
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1B356233743563   MARIA          PRECIADO               UT          90014612337
1B356317233699   JOAQUIN        CASTANEDA              NC          90006923172
1B356521691895   FERNANDO       PALACIOS               OK          21078615216
1B356742872435   BRIAN          URIK                   PA          51035907428
1B356769A4B548   CARA           THOMAS                 OK          90003247690
1B356894961938   IRIS           MORALES                CA          46013028949
1B35728234B565   LARRY          HOTSHOT                OK          90013462823
1B357285691523   CHRISTINO      GUTIERREZ              TX          90013202856
1B35889A75B343   BALDEMAR       GAONA                  OR          90005848907
1B359242243563   MARIA          MIONTES                UT          90006512422
1B35925235B343   SATAH          HARRISON               OR          90009252523
1B359283172453   HEATHER        LOWREY                 PA          51045562831
1B359A78461938   GABRIEL        DIAZ                   CA          90011360784
1B35B294484375   MARCUS         DUFFY                  SC          19095942944
1B35B397251337   CHARLENE       WILLIAMS               OH          90002543972
1B35B625493759   ERNEST         LEVALLEY               OH          90014576254
1B35B753955948   MELANIE        AGUILAR                CA          49078167539
1B36116A35B35B   ASHLEY         ARRINGTON              OR          90014481603
1B361427891586   DORIS          RIOS                   TX          90010014278
1B36154884B259   PAYGO          IVR ACTIVATION         NE          90011595488
1B361962961958   ERIC           ZAPATA                 CA          90011609629
1B362184491263   TERRI          DAVIS                  GA          90013921844
1B362A83833699   JAMES          JOHNSON                NC          90013930838
1B36333134B26B   DOUGLAS        DONAHOO                NE          90013113313
1B363355747956   DAVID          JOHNSON                AR          90012093557
1B36336355B282   GREG           JACKSON                KY          90003903635
1B363665861972   DINAH          GARCIA                 CA          46077126658
1B364192277522   KENNETH        HARN                   NV          43002541922
1B364359A7B489   LARISSA        HAMPTON                NC          90012333590
1B36454768B199   ROBIN          STRINGER               UT          31067785476
1B364979261958   ROSELIN        MCWILLIAMS             CA          90012159792
1B364A14155948   MIGUEL         JUAREZ                 CA          90010930141
1B364A62961998   SHAWN          BAUMANN                CA          90001940629
1B364A7A191263   NICOLE         LARRY                  GA          90013490701
1B36568768B193   JEREMY         LONGHURST              UT          31046646876
1B36574598B199   TRACEY         WOOTTON                UT          31040617459
1B365862861976   REFUGIO        CASTRO                 CA          90008898628
1B365897261976   RITA           CORONADO               CA          90013038972
1B366524791523   OYUKI          MARQUEZ                NM          75067045247
1B366642493773   DANTE          LANDER                 OH          90012376424
1B366986676B68   KL             OSBORNE                CA          90005619866
1B36716944B22B   RUTH           NASH                   NE          90010311694
1B36716A572B62   TYLER          SITZMAN                CO          90011191605
1B367398A72B62   JASON          WRIGHT                 CO          90014793980
1B3673A155B35B   MARIE          FEGOND                 OR          90005343015
1B36744A893773   KAREN          STEVENS                OH          90011524408
1B36789615B154   KENISHA        DUHART                 AR          90014728961
1B36795A35B526   ALRAY          BACA                   NM          35064769503
1B367973891523   ANA PATRICIA   FIGUEROA               TX          90006909738
1B367A69757579   GERARDO        GUZMAN                 NM          90015520697
1B368144143588   JODIE          BURCH                  UT          90001001441
1B368221A76B68   ANTONIO        MANRIQUES              CA          90011852210
1B36B113543563   NICHOLAS       BROWN                  UT          90002041135
1B36B171793773   JASON          BORGEMENKE             OH          90014181717
1B36B39515B526   SHEENA         LOPEZ                  NM          90014923951
1B371136493759   JESSICA        GREATHOUSE             OH          90014841364
1B3712A234782B   ASIA           TAYLOR                 GA          90006212023
1B371311361976   ALBA           AGUAYO                 CA          90014563113
1B37147314B23B   MATT           ZIMMERLE               NE          90002084731
1B37199514B259   PABLO          HERNANDEZ              NE          27002749951
1B37271145B55B   CLAUDIA        ALVAREZ                NM          90010397114
1B372A26391523   EDITH          URENO                  NM          90013070263
1B37332795715B   SAID           HIRAD                  VA          90014883279
1B373759744353   ANGELA         SWANN                  MD          90014247597
1B37497A193766   PAUL           REDD                   OH          90014689701
1B375A18A76B68   HECTOR         CHOCOJ                 CA          90014970180
1B375A3814B23B   VICKI          MORTON                 NE          27019920381
1B37616435B154   BRENDA         HUNTER                 AR          23052711643
1B376553891263   MITCHELL       LAWSON                 GA          14570635538
1B376A7A391583   ERIKA          OKELLEY BRAHAM         TX          90011520703
1B376A96261972   ANGELA         MORLING                CA          90012870962
1B37715848B199   DAVID          LOVATO                 UT          31002401584
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1B3772A175715B   CATALINO A   VILLATORO HERNANDEZ      VA          90011832017
1B37781245B526   SUSAN        TESSIER                  NM          35000678124
1B378643657147   LUIS         GOMEZ                    VA          90003976436
1B37944A893773   KAREN        STEVENS                  OH          90011524408
1B379818861938   ESAMELDIN    ABDELAZIZ                CA          90014468188
1B379A9275715B   MIGUEL       LAZO                     VA          90012730927
1B37B26A161962   ANTONIO      PAREDES                  CA          46000882601
1B37B44348582B   LUWANA       ELDREDGE                 CA          90001044434
1B37B6A1151337   HEATHER      ALLBECKER                OH          66008996011
1B37B741561976   MICHAEL      WATERS                   CA          90013537415
1B38141565715B   COULIBALY    DIEYNABA                 VA          90014494156
1B381496493773   KRISTA       HOOK                     OH          90011224964
1B38161798B199   BROOKE       WILSON                   UT          90012116179
1B38169A161976   ADAN         ZAVALA                   CA          90013016901
1B382115861938   RODOLFO      RAGADIO                  CA          46010561158
1B382155343563   SANTOS       REYES                    UT          90000221553
1B382251224B7B   WILFRID      SEL DOLLY                DC          90011462512
1B382434191263   DSHAWN       WILKERSON                GA          90014454341
1B382443893745   ROMA         GUILLOZET                OH          90012784438
1B382625493759   ERNEST       LEVALLEY                 OH          90014576254
1B3826A222B926   RALPH        GONZALES                 CA          90007806022
1B382739931687   TYSHA        KELLER                   KS          90008747399
1B383529176B68   MARIA        SOLORIO                  CA          90014505291
1B38355575B35B   AIMEE        MARTINEZ                 OR          44528465557
1B383765672453   DARCIE       WORK                     PA          51026427656
1B383889961958   SEAN         LOBECK                   CA          90013358899
1B3848A3161958   CARESS       NASH                     CA          90015328031
1B384969233699   SANTOS       ZERON                    NC          90013759692
1B384973591569   JESUS        ESPINOZA                 TX          90012989735
1B38513678B193   MAQUELLE     LINDSEY                  UT          31071911367
1B38516357B442   JOYCE        SMITH                    NC          90005441635
1B385215847956   BRENDA       HAGGARD                  AR          90006842158
1B38522944B22B   DONOVAN      LOVE                     NE          90002992294
1B385382272435   NORMA        HOWARD                   PA          51075903822
1B385815161972   JAVIER       BELTRAN                  CA          90010548151
1B385A53464183   EBEISSA      NYANDWI                  IA          90014110534
1B38655134B544   RAUL         MORALES                  OK          90008765513
1B38671865B378   HUGH         NEWELL                   OR          90012817186
1B38672155B35B   ANNA         JOHNSON                  OR          44578717215
1B38678694B537   LARRY        MCCUBBINS                OK          90012627869
1B38692545B154   DALLAS       SCOTT                    AR          23091909254
1B387193A43563   GOMEZ        VALERIO                  UT          90013961930
1B38732815B526   CHARLES      CARPER                   NM          35084463281
1B38741254B555   TRACY        DYE                      OK          90010784125
1B387635151337   RICHARD      MARCUM                   OH          66012656351
1B38772189154B   KAREN        DEL RIO                  TX          75033827218
1B38864A88B193   JOHN         HURTADO                  UT          90008466408
1B388653172B62   FRANCISCO    GARCIA                   CO          90004046531
1B388742272453   LORRAINE     SOUTH                    PA          90011377422
1B389154991569   JUANITA      GALLARZO                 TX          90005361549
1B38919795715B   MARTIN       BERMUDEZ                 VA          90014921979
1B38991AA61938   GILDARDO     ZANCHES                  CA          46051399100
1B389998A43563   CLAUDIA      CHALACA                  UT          90010769980
1B38B13214B588   ALAN         SCOTT                    OK          21502971321
1B38B394A72B62   MICHAEL      JONES                    CO          33006843940
1B38B462431687   SASHA        MENEFEE                  KS          90011554624
1B38B521747956   CATHERINE    ABENA AKAM ZE            AR          90013965217
1B39172A85B343   MAGGIE       LORENZ-TODD              OR          90013487208
1B391812872453   GILBERT      COLLINS                  PA          51072588128
1B39274775B154   LAJUANA      BASS                     AR          90014717477
1B39277353B392   KEN          BORREGO                  CO          90011507735
1B392844861958   YUNUEN       MEJIA                    CA          90013368448
1B393295961976   EDUARDO      REYES                    CA          46086682959
1B39375575B154   STANDREKA    BROWN                    AR          90014717557
1B394388A4B22B   DORA         ARVI                     NE          90008123880
1B39452915B35B   CYNTHIA      KELLEY                   OR          90011185291
1B394A4A193745   CAROL        JOHNSON                  OH          64535610401
1B394A57A31456   LAVITA       STICKLAND                MO          27586380570
1B395557791263   HILLARY      DRIGGERS                 GA          90012125577
1B395767661976   MICHAEL      BUBLE                    CA          90014017676
1B39586A793766   MARIO        NAVARRO                  OH          90015168607
1B395973861938   KHALED       ALGOHNY                  CA          90011489738
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1B396529561936   MARIA         RODRIGUEZ               CA          90009505295
1B396574A36B55   SONNIE        CURTIS                  WA          90014445740
1B396589261976   EMLYN         MARES                   CA          90014795892
1B396724376B68   ROBERT        RODRIGUEZ               CA          46084227243
1B39687A44B259   MIGUEL        HERNANDEZ               NE          90010508704
1B39723196197B   SANDY         FLORES                  CA          46061462319
1B39725845B343   CHANDRA       STENTZ                  OR          44578532584
1B397266A5B154   RONNIE        HULETT                  AR          23023782660
1B397436543563   TERRY         HOLLINGSHEAD            UT          31087024365
1B397839555948   DARLENE       ALVAREZ                 CA          90002538395
1B397893861976   PAMELA A      STANDRING               CA          90010448938
1B3978A9193773   JEFFEREY      SCHLUETER               OH          90014378091
1B39884925715B   MAIRA         NOLASCO                 VA          90003128492
1B39896914B23B   VICTOR        BECERRA                 NE          90010039691
1B3992A195B154   BALINDA       PATTERSON               AR          90011742019
1B399613793773   CATHERINE     SUMMERS                 OH          90014086137
1B399698491523   RAMON         MORENO                  TX          75002086984
1B39971A755948   VICENTE       CRUZ                    CA          90012887107
1B399927651337   KRISTY        RICHARDSON              OH          66016939276
1B39B25254B26B   REBECCA       HASTINGS                NE          90011462525
1B39B464391523   LATONYA       HOUSTON                 TX          90013434643
1B39B5A1876B68   RICHARD       LEROY RAMER             CA          46064485018
1B39B741291569   ELVIRA        HERRERA                 TX          75058857412
1B39B749991263   QURAN         HILLIARD                GA          90013107499
1B39B793A93759   JOHN          HOWELL                  OH          90012887930
1B39B831691523   OMAR          RODRIGUEZ               TX          90009708316
1B39BA5245B343   JONATHAN      BOHON                   OR          90015140524
1B3B1467291895   ALEXANDRA     WILSON                  OK          90010414672
1B3B15A765B533   MICHELE       BERNARD                 NM          90006115076
1B3B175A991523   ELSA          VIRAMONTES              NM          75043047509
1B3B188A85B343   ROSE          HENNINGSEN              OR          90011988808
1B3B22AA55B343   PAUL          SCHROETER               OR          44511962005
1B3B2332A8B199   LONNY         JOHNSON                 UT          90014053320
1B3B2353157147   SHATAVIA      LIPSCOMB                VA          90014603531
1B3B2695131687   KASONDRA      MATHEWS                 KS          22091696951
1B3B26A445593B   LUSIS         BRISENO                 CA          90008896044
1B3B3191691524   LUIS          VAZQUEZ                 TX          90010191916
1B3B37AA17B489   MARQUITTIA    HOPKINS                 NC          90011407001
1B3B383A15B343   JOSEPH        PATTER                  OR          90013378301
1B3B3A92791569   RAELENE       PEREA                   TX          75005170927
1B3B3A95A61993   RAMON         CRUZ                    CA          90013650950
1B3B412465B343   MARYANN       JIMENEZ                 OR          90014861246
1B3B413249154B   YVETTE        HERNANDEZ               TX          75033801324
1B3B473215715B   JAZMINE       WHITE                   VA          90005007321
1B3B5268351337   LASHAWN       RICHARDSON              OH          90006962683
1B3B536A84B22B   CARMA         STRYKER                 NE          90008123608
1B3B5389A5B35B   JASON         BARTON                  OR          90013803890
1B3B5627261976   MARIA         MARTINEZ                CA          90012216272
1B3B573175B35B   TERSINA       LOUIS                   OR          90011127317
1B3B58A548B199   SAMANTHA      HENDERSON               UT          90011688054
1B3B5989661958   SABRINA       ROMERO                  CA          90010939896
1B3B6125876B68   OMEGA         SPELLS                  CA          90006241258
1B3B647469126B   SAKISAH       SHABAZZ                 GA          90015314746
1B3B6773A93773   MYLES         HARBISON                OH          90012797730
1B3B6876954173   NATHAN        COLLIER                 OR          90010468769
1B3B69A494B259   RODERICO      SEBASTIAN               NE          90010119049
1B3B7176A61938   CAROLINA      CARMICHAEL              CA          46056171760
1B3B7511A7B489   CHRISTOPHER   MONTGOMERY              NC          90013835110
1B3B814284B23B   MELINDA       VANCE FOSTER            NE          90013911428
1B3B859A791569   FERNIE        LOPEZ                   TX          90013785907
1B3B8731291895   AMY           CYPERT                  OK          90014617312
1B3B8A7274B259   NORMA         COELLO                  IA          90007990727
1B3B8A9438B199   RANDY         BULLOUGH                UT          31066360943
1B3B9141943563   MARK          EARL                    UT          90015191419
1B3B9871391895   CARINA        QUIROZ                  OK          90008678713
1B3BB184191569   ROQUE         CHIHUAHUA               TX          75090651841
1B3BB25A45B35B   DAMARIS       MAXIE                   OR          90011212504
1B411923A7B489   JESSICA       ROPER                   NC          90013619230
1B4122A5841284   ANOTHONY      BERTONI                 PA          90004252058
1B412448257147   MAWULE        SESSON                  VA          90009024482
1B412739291523   ANDY          DIAZ                    TX          90011257392
1B412891991569   LIZETH        BERRIOS                 TX          90012428919
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1B4129A5772B49   ANGELA          GONZALES              CO          90010439057
1B412A18193723   BARBARA         THORONKA              OH          64512780181
1B413338172B62   SHANNON         BYORICK               CO          33008723381
1B414257191583   VICTORIA        LUJAN ELIAS           TX          90015002571
1B41497337B489   MARTRICE        HUNTER                NC          90001389733
1B415294893759   CAROLE          FOSTER                OH          64510152948
1B4152A7891569   ROSA            RAMIREZ               TX          90009032078
1B41531A472453   EMILY           YOHE                  PA          90010253104
1B415383A7B42B   JOSEPH          OAKLEY                NC          90012713830
1B4153A5651337   MIKE            GABRIEL               OH          90011893056
1B415555247956   ALMA            ORTIZ                 AR          90008545552
1B41558284B26B   ORFA            TORRES                NE          90012385828
1B41559357B489   JAWANA          COLEMAN               NC          11004845935
1B415AA675B155   AUDRA           WILLIAMS              AR          90013340067
1B41617998B193   DAVID           JEFFS                 UT          31085161799
1B416217972453   AUSTIN          MARTIN                PA          90012272179
1B4165A7593773   ASHLEY          SHOPE                 OH          90011335075
1B416724133699   ABDUL           ALIBAY                NC          90014507241
1B416757476B68   ANNETTE         LONGA                 CA          90014977574
1B41684798B199   ROBERT          MATTHEWS              UT          90011408479
1B416A2377B477   WILLIAM         FUSSELL               NC          90013380237
1B41739734B22B   LAURA           HOAGLAND              NE          27007113973
1B41741A461938   RASHIDA         KIDD                  CA          46025284104
1B41749A261936   BERNADINA       LECHUGA               CA          90007874902
1B417676161972   GUILLERMINA     ARTEAGA               CA          90013696761
1B417795851337   KATY            HOLT                  OH          66004387958
1B418737384375   ANGELA          LEE                   SC          19088137373
1B4187A6572B55   REYES           ROMERO                CO          90002947065
1B41897A18168B   MINERVA         ALARCON               KS          29016139701
1B418A62872B62   SHARON          STASKO                CO          33081000628
1B419228651337   EDGAR           GOMEZ                 OH          90012152286
1B419311291569   JUAN            GOMEZ                 TX          90011603112
1B419655961936   CHRISTINE       SAMUELS               CA          46007506559
1B419769361976   ERNESTO         GARCIA                CA          90013397693
1B41B18A361976   GEMA            ESPINDOLA             CA          90009801803
1B41B41A691569   NADIA           RIVAS                 TX          90012074106
1B41B436555948   MICHELLE        TEJEDA                CA          49094814365
1B41B618961972   CARLOS          NAVARRO               CA          90014286189
1B41B965191523   RICHARD         FRANCO                TX          90012269651
1B421294455948   ALICIA          MURGUIA               CA          49062482944
1B42154495B35B   TAYLA           HAFFORD               OR          90012365449
1B421591793724   SCOTT           WEST                  OH          90006435917
1B422493161938   DIANA           MARTINEZ              CA          46042704931
1B42258162B863   MICHELLE        HUPP                  ID          90013395816
1B422681533699   DESHONNE        FRIDAY                NC          12093856815
1B42274625B154   BRITTANIE       MITCHELL              AR          23020157462
1B4228A5972435   KIRA            SHOOP                 PA          51076678059
1B422A22991523   VERONICA        MUNOZ                 TX          90012170229
1B422A37791895   DAVID           GILES                 OK          21009320377
1B423194A43563   CHRISTOPHE      CASEY                 UT          31012651940
1B423913261976   HECTOR          TAMAYO CONTRERAS      CA          90012149132
1B424178193759   JOSHUA          CULP                  OH          90010591781
1B424364971957   JOHN            HOOSER                CO          90008903649
1B424766472B62   IRAN            MEZA                  CO          33077447664
1B42526463B337   BILLY           SMITH                 CO          90009472646
1B42558948B192   TONI            MARTIN                UT          90015035894
1B425753372B62   JANET           HERRERA               CO          90001227533
1B426183191549   CLAUDIA         ARCINIEGA             TX          90011741831
1B42645985B343   LESLIE          MANLEY                ID          44549914598
1B426593161976   TERESITA        PASCUAL               CA          90012185931
1B426713831687   ALBENTIA        FLORES                KS          90008747138
1B426819276B68   EFRAIN          LOPEZ                 CA          90014678192
1B426851251337   DEJA            WOODS                 OH          90014768512
1B426A91993745   DEVINNE         LATHAM                OH          90010380919
1B427112A5715B   MARIA           GUZMAN                VA          81094881120
1B427424761976   SAMANTHA        GREEN                 CA          90003414247
1B427A36993773   KATELYNN        WATSON                OH          90012900369
1B4283A225B343   YOUSIR          FAQI                  OR          44502713022
1B428859991569   ANOTHY          HALL                  TX          90013748599
1B428A51531687   JOSE            GONZALEZ              KS          22007740515
1B42921835B526   MARIDELCARMEN   MARTINEZ              NM          90014422183
1B429351793759   CHRISTOPHE      RUNYON                OH          64510403517
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1B429351971967   ANNETTE         COPELAND              CO          38028963519
1B42936814B22B   JESSIE          BRANDON               NE          90007923681
1B42949A25B343   MARYCRUZ        ALVAREZ               OR          90002354902
1B429644433699   DARION          BREEDEN               NC          90014856444
1B429739931687   TYSHA           KELLER                KS          90008747399
1B42977455715B   JOSH            HARRIS                VA          90013247745
1B42B153961958   SAUL            BADILLA               CA          90007691539
1B42B1A2757147   JOSE ARTURO     LEIVA                 VA          90013481027
1B42B336A93759   HEATHER         GLASKOX               OH          64593043360
1B42B349791523   LAURA           MARQUEZ               TX          90012883497
1B42B352A93773   LADEESIA        CLAYBURN              OH          90014633520
1B42B56A44B259   JASON           HEATH                 NE          27023365604
1B431636661976   AIOTEST1        DONOTTOUCH            CA          90015116366
1B43169195B526   TANYA           BELONE                NM          90009906919
1B431A3997B489   TIMOTHY         GRAVES                NC          90009980399
1B432122893766   DANIEL          GRAY                  OH          90014311228
1B432146461958   NOEMI           BRAVO                 CA          90004991464
1B432153A33699   LAMAR           WILSON                NC          90011281530
1B432689276B68   OSCAR           DIAZ                  CA          90014836892
1B432969A5B343   ARTEMISA        BEDOY                 OR          90003829690
1B432A46593773   JOHN            KRASOVICH             OH          90012900465
1B432A88657129   MARIA           MENDOZA               VA          81091740886
1B433338491895   MANUEL          HERNANDEZ             OK          90013833384
1B4333A8A57147   GLADIS          SANDOVAL              VA          90015033080
1B433482661972   SARAH           DODD                  CA          90014824826
1B43413A972B62   ANN             WOODEN                CO          90014241309
1B434173161958   KENT            LIBBY                 CA          90013681731
1B43439242B976   AGUSTIN         RAYGOZA               CA          90008833924
1B434561285932   ROGER           HOBBS                 KY          90000885612
1B434744161936   RICARDO         PEREZ                 CA          90011417441
1B43498237B42B   GUADALUPE       MARROQUI              NC          90007789823
1B435388561976   JOSE            CASTRO                CA          90011173885
1B435564376B68   MARTHA          TREJO                 CA          46078045643
1B435631691263   ASHLIE          THOMPSON              GA          90002846316
1B435642861938   ADRIANA         MACIAS                CA          90011886428
1B43585433B394   MICHAEL         CARLAW                CO          90002968543
1B435A6358B199   JUSTIN          GARNER                UT          90001450635
1B435A6447B489   MARIO           GRANDE                NC          90012020644
1B43693445B154   SEAN            WILLITS               AR          90014719344
1B436A1819373B   DEIGHT          HARDY                 OH          90011530181
1B436A36631687   EDWARD          TINGEN                KS          22063910366
1B437225591895   AMY             HOPPING               OK          90002312255
1B437447176B68   PAMELA          ANGLIN                CA          90012674471
1B43745815B35B   DESTINY-APRIL   FISHER                OR          90014444581
1B437548291569   ANABAL          MARIN                 TX          90014835482
1B43774224B22B   MAX             PEREZ                 NE          90006297422
1B437883257147   ANTONIO         MEZA                  VA          90014878832
1B4378AA88B193   JODIANN         TUCKER                UT          31079988008
1B437927A43563   PALMIS          CONSTRUCTION          UT          90014829270
1B437AA9151337   DEAIRR          BROOMES               OH          90013300091
1B43813A993766   JESSE           GIBBENS               OH          90014061309
1B43821A27B489   MORRIS          GARNER                NC          90014142102
1B43821A757142   HILDA           PAZ                   VA          81078622107
1B4384A7593773   DAVID           LOUGHRIDGE            OH          90014684075
1B438657776B68   ANGELICA        GASPAR                CA          90013896577
1B438736857147   JAMES           MITCHELL              VA          90014607368
1B439236661958   NORMA           VEJAR                 CA          90014172366
1B439245261972   LUZVIMEMOA      MONTERO               CA          90006532452
1B43962244B259   ELOISA          ROBLES                NE          27081636224
1B439687693759   TRACY           BARKER                OH          90005946876
1B43973935B526   TERESA          WRIGHT                NM          90010157393
1B439812572453   JENNIFER        TERWILLIGER           PA          51037698125
1B43987267B489   NICOLE          DINGLE                NC          90010148726
1B43B16719154B   EVA             TRUJILLO              TX          75088091671
1B43B283A8B533   ALORA           MIA                   CA          90015502830
1B43B291161976   ADELAIDO        ORTIZ                 CA          90014732911
1B43B335972B55   ROBERTA         RODRIGUEZ             CO          33078473359
1B43B491533699   JOHN            LOFTIS                NC          12045674915
1B4415A1272B62   CARLOS          PAIZ                  CO          90006235012
1B4415A5355948   RUBEN           BON                   CA          90014675053
1B441682A91827   CLARISA         SOSAVILLANUEVA        OK          90014756820
1B441815955938   KELLY           BROWN                 CA          48086098159
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1B441968891569   ADLBERTO     SANCHEZ                  TX          75043569688
1B441A9A161972   JAMES        ORTIZ                    CA          90006630901
1B442551A5B526   LOURDES      RERNANDEZ                NM          90002305510
1B442852576B68   ANDREW       SHRADER                  CA          90011548525
1B443258672B62   VERSAI       LOPEZ                    CO          90008302586
1B443289561986   JUAN         MARTINEZ                 CA          46087292895
1B4432A444782B   VALERIE      SCOTT                    GA          90006312044
1B44334A357147   WEATHERALL   MAREKIO                  VA          81038163403
1B443413943563   BROOKE       HEMSATH                  UT          90014334139
1B443954393759   STEPHEN      JACKSON                  OH          90005209543
1B44395742B837   TIFFANI      CALKINS                  ID          42095099574
1B444275893745   DARRELL      FRYMAN                   OH          90014262758
1B44468725715B   CRYTAL       TALMADGE                 VA          90013856872
1B444A33155948   MIGUEL       VILLA                    CA          49064360331
1B444A3A891523   CECILIA      FLORES                   TX          75076680308
1B445227833699   AARON        GREENE                   NC          90013082278
1B44543764B23B   TRACY        BLAKEMORE                NE          90013274376
1B445527391569   OZIEL        DE LA CERDA              TX          75059535273
1B44565835715B   EDWIN        UMANA                    VA          90014906583
1B445A51672B2B   DARCY        DECOTEAU                 CO          90012440516
1B446265293773   DORETHA      MOORE                    OH          66087392652
1B44694635B154   SHANA        ALLWHITE                 AR          90014719463
1B4471A8951339   LAURA        DAVIS                    OH          90013931089
1B447A9934B22B   SHERI        HENDERSON                NE          90011280993
1B448161357147   ABDELLAH     HAMD                     VA          90012771613
1B44825835B526   ADAM         ARMIJO                   NM          90012322583
1B449232431456   DANIELLE     LEWIS                    MO          27504082324
1B449252A51337   DWIGHT       JACKSON                  OH          90013212520
1B449313A8B189   MICHELLE     AMES                     UT          90010243130
1B449382A5B154   ALEXANDER    CHAMBERS                 AR          90012943820
1B44956725B35B   GERALUN      HOLLAND                  OR          44565945672
1B4497A5157147   TOM          FOSTER                   VA          90012377051
1B44B417457147   ELMER        REYES                    VA          81066234174
1B44B783391263   JOE ANN      BROWN                    GA          14583137833
1B44B92934B23B   SYLVIA       HOLST                    NE          27029089293
1B44B973672435   BILL         FIERST                   PA          51021309736
1B44B98777B489   ALFRED       WRIGHTON                 NC          11004759877
1B451269176B68   JAMES        VASQUEZ                  CA          90011862691
1B4512AA431456   SHERRELL     CONNER                   MO          90012252004
1B451534161958   NOE          JIMENEZ                  CA          90015045341
1B451761155948   JESUS        PEDRAZA                  CA          90013037611
1B451817861938   MICHAEL      DAVIS                    CA          90006148178
1B451A7135B343   MARIA        GONZALES                 OR          90005320713
1B452115693759   CHRISTIE     MASSIE                   OH          90007241156
1B452155455948   DENISE       ROBINSON                 CA          90000531554
1B4522A1693745   LEON         BISHOP                   OH          90005062016
1B452343443563   ROBERT       JOHNSON                  UT          90004833434
1B453139693759   JAMES        WASHINGTON               OH          90013131396
1B453298172453   LISA         WEST                     PA          51052582981
1B453378991523   FRANCISCO    ANGUIANO                 TX          90012633789
1B4533A3A5B343   JAIME        SAM                      OR          44511493030
1B454182593745   CAROL        LENHART                  OH          90006311825
1B455555472453   MICHELLE     TATANO                   PA          51084515554
1B45561AA8438B   VALORIE      DRAYTON                  SC          19001506100
1B455787161972   CESAR        RAMIREZ                  CA          90013527871
1B45587915B343   BRAD         RUDOLPH                  CA          44556628791
1B45591A561972   CESAR        RAMIREZ                  CA          90015279105
1B455955743563   ERICA        FAIRBOURN                UT          90013869557
1B4559A8891523   JOSE         TOKA                     TX          90009539088
1B456618531687   KAREY        BURNS                    KS          90003936185
1B456926793759   DANIELLE     LOWE                     OH          64500089267
1B457126793725   ANGEL        CROWDER                  OH          90011351267
1B457477A4B259   KAYMIECE     BASS                     NE          27077784770
1B45778A397B69   EMILY        BERNHARDT-CASSELL        CO          90003537803
1B4581A7491895   ASIA         GUNYON                   OK          90014641074
1B458628555928   LYNDSI       LIGAMERI                 CA          90009106285
1B458783857147   SANDRA       SAMAME                   VA          90014107838
1B458797793745   PATRICIA     YOUNG                    OH          90013187977
1B458A41A57124   KARIN        FRANCO                   DC          90003900410
1B458A79661976   SERGIO       CABALLERO                CA          90002670796
1B45938814B259   REY          ALVARADO                 NE          90011903881
1B45968118438B   HORACIO      CANDELARIO               SC          19029116811
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1B459683791895   SONYA         RAUCH                   OK          21052436837
1B459717776B68   ANTHONY       GIAMBRA                 CA          90002857177
1B459789491899   LISA          HUDSON                  OK          21016947894
1B4598A3461936   ROSA          VILLANUEVA              CA          90009508034
1B45B189393745   ALYSE         SAINE                   OH          90010651893
1B45B37475B35B   JUSTIN        RUPPERT                 OR          44588903747
1B45B398857147   JOSE          DIAZ                    VA          90014733988
1B45B4A654B537   ALDEE         SALLASKA                OK          90010014065
1B45B515193745   ALYSE         SAINE                   OH          90013085151
1B45BA44A4B588   VERNADETTE    WILLIAMS                OK          90004550440
1B461237472B58   CHERYL        MUNKRES                 CO          33035962374
1B461959A91827   JENNIE        BRANLETT                OK          90013579590
1B46218165B343   TAYLOR        LUCAS                   OR          90013321816
1B462222572483   DONNA         PLAISTED                PA          51095402225
1B4623A1833699   IESHA         MORRISON                NC          90013663018
1B462478161976   TERESA        FLORES                  CA          90014824781
1B46262282B966   PEDRO         NAVAJAS                 CA          90005886228
1B4627A1243563   KATHALEEN     STOKES                  UT          90013347012
1B463128224B7B   NAFATALI      BENITEZ                 DC          90012021282
1B463649424B7B   NAFATALI      BENITEZ                 DC          90014116494
1B464658461972   EMMA          ACHOY                   CA          90009546584
1B464944493745   NANCY         BAKER                   OH          64534449444
1B464A63691569   STEVEN        LAUNA                   TX          90013350636
1B46534A272453   JANICE        BOZICH                  PA          51043373402
1B46537A68B193   LISA          GAFFNEY                 UT          31001373706
1B465746293766   DESIREE       CUNDIFF                 OH          90014637462
1B465A17872453   GLENN         WYNO                    PA          90015570178
1B465A94591569   CHRISTOPHER   LOPEZ                   TX          90012980945
1B46616925B343   ANITA         SANTIAN                 OR          90010741692
1B4661A6791895   CHRIS         ALLEN                   OK          90010481067
1B467642355948   NICOLAS       GUZMAN                  CA          90013686423
1B46785935715B   MIRANDA       BARNES                  VA          81015028593
1B468196291569   ELISA         VASQUEZ                 TX          75003141962
1B468321A55948   EVERARDO      JUAREZ                  CA          90013423210
1B46918A361976   GEMA          ESPINDOLA               CA          90009801803
1B469484161936   BRENTON       STERLING                CA          90011844841
1B4694A235715B   MARIA         SANCHEZ                 VA          90004534023
1B46951768B199   CHRISTINE     GREEN                   UT          31005905176
1B46B12128B199   ZAK           WORKMAN                 UT          90012871212
1B46B763393759   AUDREY        REED                    OH          90003267633
1B46B89555715B   GAVINA        TAVERAS                 VA          90015198955
1B46B95127B489   LATONYA       GLEATON                 NC          11030379512
1B471282691523   CARLOS        BENITEZ                 TX          75007202826
1B4712A4572B55   ANNE-MARIE    GODFREY                 CO          90015252045
1B471676333699   QUANTREZ      H                       NC          90014856763
1B47226A943563   JESUS         CHAVEZ                  UT          90012282609
1B472315793745   DOMINIC       ALLEN                   OH          90003853157
1B472494891569   FERNANDO      CHAVEZ                  TX          90013374948
1B473312691569   NATALIA       REYES                   TX          90008863126
1B473496733699   JP            WILLIAMS                NC          90011294967
1B47386244B22B   LARONDA       EKUNYEMI                NE          90000678624
1B474359872435   RICHARD       RAE                     PA          51055143598
1B47461548B199   ABEL          SALINAS                 UT          31000606154
1B474654A93759   LEON          DARST                   OH          90006706540
1B474845A4B259   KORTNIE       SCHOENING               IA          27010118450
1B47484685B154   CRYSTALYN     SAVAGE                  AR          90014318468
1B475119157147   CHOUDHRY H    AHMED                   VA          81037861191
1B47535A277522   CINDY         THOMAS                  NV          90002973502
1B475415A5B343   PABLO         PENA                    OR          90015054150
1B47555A533699   VALENTIA      QUICK                   NC          90011295505
1B475711951355   ANDRES        GOMEZ                   OH          90010257119
1B47579868B199   CASSIE        JOHNSON                 UT          90013887986
1B475799172453   FRANNELL      BARBARA                 PA          90007097991
1B475817661938   JUAN          PENA                    CA          90008918176
1B47594255B154   GERALD        LONG                    AR          90014729425
1B475A13A4B259   BRIAN         KISER                   NE          27061590130
1B476145893759   ALICIA        HARTLEY                 OH          90011561458
1B476351555948   MAURICIO      CRUZ                    CA          90008523515
1B47699A831476   PAUL          NGWENYA                 MO          90013909908
1B476A7565B154   ERICA         JACKSON                 AR          90014720756
1B47742475B343   WILLIAM       BOWERS                  OR          90012564247
1B477455591523   LUCERO        CORTEZ                  TX          75032174555
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1B477718261997   MIKE             BERRIL               CA          46063397182
1B4779A225B526   MARCUS           ZUBIA                NM          90008449022
1B4781A9791895   COURTNEY         PARKS                OK          90013801097
1B47959157B489   DEBRA            HOOD                 NC          90014435915
1B479739343563   HERNAN-CLAUDIA   SALAZAR-ACOSTA       UT          90008327393
1B479766893745   CAROLYN          MCCALL               OH          90008207668
1B479A67155948   LORI             MARTINEZ             CA          90012110671
1B47B296933699   BERNABE          HERNANDEZ            NC          90002532969
1B47B34999154B   JESUS            CASTILLO             TX          75090403499
1B47B47474B259   ARROYO           JOSE ANTONIO         IA          90001654747
1B47B87145B343   ELISA            POSAS-RIVERA         OR          44564688714
1B47BA82161936   ANGEL            ANGULO               CA          90009510821
1B47BAA1A5B154   KRYSTAL          BOLDEN               AR          90014720010
1B48127994B22B   KRISTAN          LADD                 NE          90015052799
1B48134918B199   AFTON            HANSEN               UT          31004193491
1B481395761958   CALEB            ROSENBERGER          CA          46068243957
1B481458491569   MARIA            MICHEL               TX          90012214584
1B481582A61976   LEONARDO         ESCOBAR              CA          46047595820
1B48228324B22B   DARNAL           SUK                  NE          90015052832
1B48228A793745   LAUREN           SMITH                OH          90014922807
1B48256135B526   JOSE             SERGIO               NM          35004685613
1B48277328B167   SCOTT            MOSER                UT          90001587732
1B482784A7B489   SUSAN            DEPRIEST             NC          90008777840
1B48284A543563   MICHELLE         FLEMING              UT          90012468405
1B482A73676B68   AARON            LAUFER               CA          90000680736
1B482AA7991263   JAWDON           MCCALL               GA          14588950079
1B4835A1876B68   RICHARD          LEROY RAMER          CA          46064485018
1B483629943563   LUCHA            VILLA                UT          31013186299
1B483749A91523   AMELIA           MARTINEZ CRUZ        TX          75005117490
1B48399384B266   STEPHANIE        CAMPBELL             NE          27087829938
1B48416A391895   RHIANNON         WIGGS                OK          90014641603
1B484196157147   MARIA            AMAYA                VA          90011681961
1B484345891569   JENIFFER         CASTANEDA            TX          90009983458
1B48441424B259   KENDRA           WILLIAMS             NE          27020344142
1B484457161976   GENESIS          ACEBES               CA          90003484571
1B484726447956   JAVIER           ALEMAN               AR          90012477264
1B485364391523   ERIKA            CORTEZ               TX          90013893643
1B485829831687   CHELSEA          NICHOLS              KS          22001748298
1B486231647956   MELISSA          WOODALL              AR          24072962316
1B486295172453   PAMELA           MOORE                PA          90000182951
1B48711924B23B   KIMBERLY         NELSON               NE          27082111192
1B4874A599154B   ANA              FLORES               TX          75013544059
1B48775338B199   REBECCA          FLOYD                UT          31092237533
1B487929591895   PABLO            HERNANDEZ            OK          21006169295
1B488599743563   DAVE             STROMNESS            UT          90003545997
1B489117A55948   ALMA             GONZALEZ             CA          49079201170
1B489147276B68   JOEL             TORRES               CA          90013011472
1B489152591523   PAULINE          TRUJILLO             TX          75087761525
1B48942634B537   ZAJAC            MARIE                OK          90011174263
1B48B2A735B154   DANIEL           ADAMS                AR          90013742073
1B48B39165715B   GERALD           LESTER               VA          90012913916
1B48B457393766   JENNIFER         COUCH                OH          90012684573
1B48B4A7261958   GEORGINA         DAVIS                CA          90012764072
1B48B56A87B489   MAURICE          KNOX                 NC          11082505608
1B48B6A855B275   LATOSHA          NICOLE               KY          90010296085
1B491173A31687   SCOTT            HIGGINS              KS          90013071730
1B492344861972   WALKER           DOUGLAS              CA          46058093448
1B492758451337   EVA              JORDAN               OH          66093827584
1B4928AA691263   BRYANT           MAXWELL              GA          90014828006
1B492948972B34   ALFREDO          VALDEZ               CO          33080289489
1B49421584B22B   SHAWNNA          WAGNER               NE          27081782158
1B494331961972   JUAN             LOPEZ CUEVAS         CA          90013893319
1B49454532B249   KEISHA           LEE                  DC          81016255453
1B494859961958   ANN CHERYL       LITZINGER            CA          90011228599
1B495484657147   MICHAEL          MOSES                VA          81046584846
1B49559A631687   WILL             WOODWORTH            KS          22080675906
1B49594A693766   DAN              LAKE                 OH          90012039406
1B49611555B74B   SHANECE          LUCAS                MN          90014161155
1B49636362B857   SHARI            KETTERING            ID          90001613636
1B49639929154B   FEDERICO         MONCLOA              TX          75081543992
1B49645AA31687   JOHN             KNIPPER              KS          90014704500
1B49689638B136   STACEY           ATKINS               UT          31031238963
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1B496988A5B154   CRAIG         JERRI                   AR          90011749880
1B496AA5943563   MERTHE        USABWIMANA              UT          90011990059
1B49793A44B259   ADAM          LORENZ                  NE          90010509304
1B498175991895   KEISHA        WILLIAMS                OK          90004091759
1B498655761938   STEPHANIE     CAVALLERO               CA          46016156557
1B49924425715B   CLIFTON       DAVIS JR                VA          90006092442
1B499A39591263   THOMAS        HUNTER                  GA          14570620395
1B499A96961972   E DANTE       GRAZ                    CA          90012680969
1B49B167657147   ABDUL         ANWAR                   VA          90012771676
1B49B484876B68   JAMES         HUFFMAN                 CA          90011554848
1B49B523157147   OSCAR         BENITEZ                 VA          90014745231
1B49B59AA72B62   CHANRATH      MORM                    CO          90014995900
1B49BA21447956   KEELIE        BOTELLO                 AR          24074540214
1B4B122555B526   SANDRA        FLORES ANTILLON         NM          90014742255
1B4B1675791569   ADRIAN        LOERA                   TX          90011816757
1B4B25A8976B68   ALMA          COLMENARES              CA          90013035089
1B4B2A66661938   YVETTE        HALL                    CA          90008310666
1B4B3384476B68   VICTOR        TORRES                  CA          90010603844
1B4B346319196B   RONAL         ACOSTA RODRIGUEZ        NC          90006494631
1B4B363929154B   JUAN          MADRID                  TX          90001836392
1B4B4931493766   LUTHER        MALOTT                  OH          90013229314
1B4B4A82972453   KIMBERLY      JONES                   PA          51040830829
1B4B5558A6192B   ROBBI E       KUHN                    CA          46063635580
1B4B5967697B69   KELLY         VASQUEZ                 CO          90010909676
1B4B5A71791263   DENISE        WEST                    GA          14571280717
1B4B5A94157199   JOSE ISRAEL   VILLEDA                 VA          90003480941
1B4B61AA361972   SANDRA        RAMIREZ                 CA          90014331003
1B4B6248891263   GARY          PHILPOT                 GA          90014892488
1B4B66AA157142   CONSTANCE     ABBAL                   VA          81016186001
1B4B673888B199   JUAN          PALACIOS                UT          31010067388
1B4B6947361976   MARC          ALVARES                 CA          90003959473
1B4B6A2428598B   SERINITY      STEVENS                 KY          66096520242
1B4B7171691523   VIVIAN        MUELA                   TX          90010421716
1B4B737574B259   LISBETH       RANGEL                  NE          90002803757
1B4B7537A93759   RALPH         BEVERLY                 OH          64592435370
1B4B767627B489   STEPHANIE     FORD                    NC          90001716762
1B4B8133461938   PETER         CASTRO                  CA          90003721334
1B4B8133A91569   VIVIAN        BRAVO                   TX          90010181330
1B4B8716991263   JAQUITA       RICHEY                  GA          90013037169
1B4B9483593759   MARY JO       BEACH                   OH          64594124835
1B4B9587176B68   ZACK          CHAPMAN                 CA          90014835871
1B4B981975B154   ERIC          NELSON                  AR          90014718197
1B4B9832581576   DENNIS        KUBIAK                   IL         90014718325
1B4BB262472453   RYAN          DEFRANCESCO             PA          51057042624
1B4BB6A1855948   JORGE         GARCIA                  CA          90013966018
1B4BB761791956   PHYLLIS       NELSON                  NC          90009487617
1B4BB856391399   SARAHI        RESENDIZ                KS          90006388563
1B511192476B68   GENARO        LEONCIO                 CA          46019011924
1B511326A8B199   MARK          MARTINES                UT          90013433260
1B511345161972   ELVIRA        PROO                    CA          90010163451
1B511365391263   DARLA         COGHILL                 GA          14570623653
1B5114A5A91569   JESSE         PINEDA                  TX          90013544050
1B51155A751337   SEAN          PRICE                   OH          90003575507
1B5118A7372B62   RAY           CARVER                  CO          90010978073
1B512763891569   RUBY          PAYAN                   TX          90003267638
1B513469593745   JULIE         EERNISSE                OH          90010894695
1B5134A8491569   CHRISTIAN     LOZANO                  NM          75005244084
1B513575A61976   EDGAR         VILLA                   CA          90013155750
1B514654693736   LATRICIA      DIXON                   OH          90013276546
1B514785691573   TERESA        MENDOZA                 TX          90013137856
1B515343433699   TENESHIA      ROBBINS                 NC          90011603434
1B51547A172453   BOBBIJO       YATER                   PA          51087054701
1B51572A531456   CHAVITA       BICKLEY                 MO          27586387205
1B515774272435   VIVECA        JONES                   PA          51023277742
1B515854461938   MICHAEL       KNOX                    CA          46079168544
1B516198691523   CARLOS        RAMIREZ                 TX          90011881986
1B51622114785B   MEKISHA       WATTS                   GA          90014012211
1B516374491895   BLAKE         GREEN                   OK          90005203744
1B51648258B199   STEPHANIE     FOX                     UT          90013894825
1B516822857147   JANICE        WHITE                   VA          81034068228
1B517114591569   MISTI         BLUE                    TX          75066691145
1B517135991523   VILLEGAS      ALMA VILEGAS            TX          90010011359
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1B517332A91895   GRISELDA    CARDONA                   OK          21082943320
1B5174A795715B   CABERA      ESTEBAN                   VA          81075844079
1B517541172B62   JENNIFER    MCCORD                    CO          33067935411
1B518161A5715B   EVER        REYES                     VA          90006001610
1B518661547956   BRUCE       HEVENER                   AR          90014636615
1B51911784129B   BRANDON     PATAKY                    PA          90011601178
1B519275991895   LEE         GARRETT                   OK          21077642759
1B51954825B154   TAMEKIA     PUGH                      AR          90014045482
1B519576297B37   RENITA      BENAVIDEZ                 CO          90008195762
1B51981448B138   JOHN        WIDNER                    UT          90005438144
1B51B287991895   MARISELA    BARRAGAN                  OK          21015642879
1B51B34A25B526   MYRIAH      MONTOYA                   NM          90014343402
1B5212A5143563   KAYLA       BENSON                    UT          31093152051
1B5215A544B26B   JESSICA     YELM                      NE          90005595054
1B521613972B55   ROCHELLE    MCKENZIE                  CO          90003396139
1B522181747956   DANIEL      DUNCAN                    AR          90012001817
1B522291661958   SARAH       ORMSBY                    CA          90001592916
1B52231445B343   YOLANDA     REYES                     OR          90013753144
1B5223A9A61938   JUAN        VALENZUELA                CA          90012033090
1B522644A72483   ROCQUELLE   WILLIAMS                  PA          51028106440
1B522814A72453   MARNE       TUROCY                    PA          51078118140
1B523235691523   LUIS        CARRASCO                  TX          75068682356
1B52365358B199   BRAD        JONES                     UT          90014716535
1B523975961958   CLAUDIA     ISIDORO                   CA          90001219759
1B523A59552B55   MELISSA     DAVILA                    UT          34016930595
1B523A68191569   SILVIA      GALLEGOS                  TX          90010750681
1B524957A31687   CHRIS       MCHALEY                   KS          90000669570
1B524A38A7B489   ALISON      NOVINC                    NC          90013270380
1B525342461938   GABRIELA    SOLTERO                   CA          46056203424
1B52589834B259   BENJAMIN    WILLUHN                   NE          27028688983
1B52594294B22B   TRICIA      LINTO                     NE          27090679429
1B526387661976   CARLOS      FERNANDEZ                 CA          90013653876
1B52657515715B   NELLY       MOYA                      VA          90009325751
1B527297A61996   TARA        STAMOS                    CA          90014732970
1B527451561972   JAMES       MCCUNE                    CA          46097334515
1B52793538B199   ROBERT      COON                      UT          90013899353
1B52795285B154   ENRIQUE     GARCIA                    AR          23034729528
1B52845AA43563   LAVINIA     FRUEN                     UT          90013064500
1B528593861958   TERRENCE    SMITH                     CA          46048795938
1B52864635B526   ROLAND      SMITH                     NM          35027486463
1B528A4274B259   HEATHER     SMITH                     IA          27060090427
1B529225491895   KYNES       MCCULLEY                  OK          90014642254
1B529263151337   ARTISHA     MAYFIELD                  OH          66000232631
1B5292A1661976   CELIA       LUNA                      CA          90014912016
1B5292A597B428   BRENDA      SIMPSON                   NC          11030362059
1B529849761972   VANESSA     GARCIA                    CA          90007428497
1B529A79A76B68   CATALINO    HERNANDEZ                 CA          90004690790
1B52B339761958   TINA        REMLEY                    CA          90010393397
1B52B394633699   DONALD      DAVIS                     NC          90015033946
1B52B57A851337   MAURICIO    SANCHEZ                   OH          90013595708
1B52B5A265B343   KLAUDIA     NEISS                     OR          90011725026
1B531468693745   ANGELE      BUBECK                    OH          90009744686
1B531489293759   SHAWN       ROSE                      OH          90011234892
1B531527133699   GABRUM      BAKER                     NC          90012665271
1B5317A8857147   ALEXIS      SAMANIEGO                 VA          90013147088
1B53222365715B   MUTASIM     ELMUSTAFA                 VA          90014492236
1B5323A8243563   JACLYN      EDWARDS                   UT          90011293082
1B5339A3147956   JD          BENNETT                   AR          90012319031
1B534428593745   DONALD      STAUDT                    OH          90008594285
1B534493791569   BERENICE    CARDENAS                  TX          90001944937
1B53472994B23B   WALLACE     BROWN                     NE          27048997299
1B534761747956   LORETTA     CARTER                    OK          24073387617
1B53483645B154   SHARON      HENLEY                    AR          23077678364
1B535111691263   KIZZIE      DOCKERY                   GA          90011601116
1B53512A55B154   NORMA       EJINWA                    AR          23000481205
1B535171993745   RICHARD     BURTON                    OH          90010981719
1B535253451337   PRECIOUS    TEAGUE                    OH          66011312534
1B535342655948   FILADELFO   TIXTA                     CA          90015523426
1B535451561972   JAMES       MCCUNE                    CA          46097334515
1B535626747956   KAREN       MARTIN                    AR          90014756267
1B53576597B489   SANDY       SULLIVAN                  NC          90013427659
1B535918391569   MIKE        RAMIREZ                   TX          90006649183
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1B535A5533B35B   LUIS             ENRIQUE GARCIA       CO          33098440553
1B536342355948   FAUSTINO         LASCAREZ             CA          90015163423
1B536393191895   EDUARDO          MARTINEZ             OK          90010483931
1B5364A7691569   ORALIA           NUNEZ                TX          90002404076
1B536532861938   JAINA            VASQUEZ              CA          46085395328
1B536A89A5B154   TERRANEY         THOMPSON             AR          90014730890
1B537278891885   MARIA            DIAZ                 OK          21043472788
1B53737A45B154   DORIS            STEVENSON            AR          90000763704
1B53746A34B26B   BRIAN            JUBER                NE          26081744603
1B537665572B55   LASHAE           SMITH                CO          90003396655
1B53766954B259   RAYMOND          FORD                 NE          27022356695
1B537A77476B68   JAMAIKA          WILLIAMS             CA          90011560774
1B538428593745   DONALD           STAUDT               OH          90008594285
1B538862291523   VALERIE          PEREZ                TX          90009728622
1B5388A934B537   KHRISTIAN        SUDBROCK             OK          90001988093
1B53892AA93766   JAYSON           FYFFE                OH          90008019200
1B539253431687   ANTHONY          MORRIS               KS          90012992534
1B53957865B343   KENNY            NIX                  OR          44566055786
1B539AA7631456   TOREY            RAY                  MO          90005290076
1B53B571331687   ANDREA           DICKSON              KS          90011005713
1B53B814661976   TONI             MILLER               CA          90011478146
1B53BA3475715B   TERSA            FERRIE               VA          90011320347
1B541192476B68   GENARO           LEONCIO              CA          46019011924
1B54123A961958   ELIZABETH        CHINO                CA          90006662309
1B5413A633B394   JESUS            GALVAN               CO          33050973063
1B5415A695B35B   LUCIOUS          HICKS                OR          90000425069
1B54182A333699   JAZZMINE         MCCOY                NC          90014858203
1B541A5A95715B   MARENCO          JULIO                VA          90006020509
1B5422A7381652   ALINA            PERCASTEGUI          MO          90001302073
1B54262A661958   JUSTIN           PUGH                 CA          90012606206
1B5427A974B26B   JONATHAN         PFEIFFER             NE          26092377097
1B54283397B489   MARSHALL         LOWERY               NC          90012128339
1B542877193759   LEROY            MAYE                 OH          90011238771
1B543554993773   SARAH            SHAVER               OH          90004065549
1B543582991895   MECHELE          HOOKEY               OK          21001295829
1B54359A35B35B   JOHN & MUTSUMI   ODEGAARD             OR          90012365903
1B543649272453   BRAIN            LARUE                PA          51002746492
1B54365148B199   JEFFERY          BRASIER              UT          90010186514
1B5436A2893759   ELIZABETH        GUTIERREZ            OH          90014186028
1B543742955948   CECILIA          FERREIRA             CA          90009627429
1B54412A561972   VICTOR           HERNANDEZ            CA          90011611205
1B544178293766   ELIZABETH        HERLINGER            OH          90013911782
1B5441A6243563   JULIAN           CARRETO              UT          31098611062
1B544544461976   TESSA            CALVILLO             CA          90010305444
1B544779724B44   LUISA            MADRID DE JIMENEZ    DC          90000887797
1B544816761958   ERNEST           FULLER               CA          90014838167
1B54489259154B   BARBARA          MARSH                TX          75013548925
1B544A38533699   JASMINE          HONN                 NC          90011770385
1B545178293766   ELIZABETH        HERLINGER            OH          90013911782
1B545283691523   VERONICA         RODRIGUEZ            TX          75021382836
1B54579595B526   CHRIDTOPHER      ESPINOZA             NM          90014847959
1B545A7238B199   GARNEY           CLAYWELL             UT          31096530723
1B54659A35B35B   JOHN & MUTSUMI   ODEGAARD             OR          90012365903
1B546884493759   JENNIFER         MOORE                OH          90011238844
1B546953455948   MARCELINA        REYES                CA          90012929534
1B546A34891569   LINDA            DWYER                TX          90014060348
1B54747975B387   ARLETTA          MILLER               OR          90008524797
1B547517991569   CLAUDIA          TERRAZAS             TX          90012365179
1B54789259154B   BARBARA          MARSH                TX          75013548925
1B5479AA893766   GRACE            AGULLANA             OH          90003169008
1B54853815B35B   TINA             ESTRELLA             OR          90005065381
1B548642972435   NANCY            HOWARD               PA          51082786429
1B548669743563   JAMI S           CIRONE               UT          90012176697
1B549394A61976   MICHAEL          YOUNG                CA          90013953940
1B549621257147   LESLY            MONDRAGON            VA          90011836212
1B549728251337   ISABEL           DIAZ                 OH          90015307282
1B54B123A5B154   LEE              RICKEY               AR          90014731230
1B54B23A561938   MARISSA          LUGO                 CA          90010152305
1B54B553633699   KAREN            WHITE                NC          90005065536
1B54B569131687   DANETRA          MURDOCK              KS          22002725691
1B54B859976B68   ALEJANDRO        MURILLO              CA          90014858599
1B54BA76872B62   KULIANA          FIFITA               CO          90013630768
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1102 of 2500


1B551834472B62   ROBERT        RECK                    CO          90001618344
1B551953A72453   JOHN          KOSHARSKY               PA          90005059530
1B551AA5A91523   KELLY         WYATT                   TX          90004740050
1B55218995B154   KYRA          LORICK                  AR          90014731899
1B552254361972   MARCOS        HATFIELD                CA          90007652543
1B5523A9991569   RUBY          PEREZ                   TX          90011203099
1B55265335B35B   FRANCISCO     GUTIERREZ               OR          90012636533
1B5529AA45B343   BAKRI         KAAKEH                  OR          90013299004
1B55319657B489   LASONDA       HUDSON                  NC          90013421965
1B553287491895   LACEY         VANDOLAH                OK          90014642874
1B55331A393745   RUSSELL       NEWHOUSE                OH          64551933103
1B55332897B489   ALEJANDRO     REYES                   NC          90015143289
1B553883261938   ERIKA         SKOG                    CA          90012828832
1B55394285B35B   ANGELICA      BUENO                   OR          44589739428
1B554227833699   AARON         GREENE                  NC          90013082278
1B554383A4B26B   CASEY         THOMAS                  NE          26092683830
1B55444884B22B   ROBERTO       SOTELO                  NE          27070284488
1B554688957147   STEVE         PATHAMMAVONG            VA          81040676889
1B55475368B199   AMBER         STODDARD                UT          90015017536
1B55583427B489   NOBERTO       REAL                    NC          90013928342
1B55613349154B   ELVA          DE LA CRUZ              TX          90005021334
1B556635547956   SHELITA       MARTIN                  AR          90012976355
1B5566A525B526   RICK          QUINTANA                NM          90012776052
1B55678494B23B   TIM           MCSHANNON               NE          90001977849
1B557668161976   MARIA         RODRIGUEZ               CA          46040186681
1B55818145B343   DOUGLAS       BRYANT SR               OR          90008491814
1B55854385715B   LUSY          GONZALEZ                VA          81095645438
1B558653691569   ALMA          HERNANDEZ               TX          90014926536
1B559624393745   TAYLER        JACKSON                 OH          90008546243
1B559722876B68   JUAN MANUEL   QUINONES MARTINEZ       CA          90014077228
1B559A2848B193   AMANDA        CISNEROS                UT          90006500284
1B55B18A78B199   JESS          STEWART                 UT          90008571807
1B55B522957147   DANIELA       SORIANO                 VA          90008105229
1B55B721655948   ANGEL         FLORES                  CA          90012397216
1B55B787391263   ELANEY        BYNES                   GA          90013517873
1B55B863A2B966   GREGORY       BREMER                  CA          45064348630
1B55B939591523   CARMINA       ISAIS                   TX          75017009395
1B561263A61976   GABRIEL       MARTINEZ                CA          90015222630
1B561436361976   GEORGINA      BAUTISTA                CA          90007534363
1B561545191569   MARIO         MUNETONES               TX          90008925451
1B56195734B26B   KRISTY        KROGH                   NE          26057959573
1B5624A4243563   RAMOS         ABBY                    UT          31008984042
1B562768247956   BILAL         JEFFERSON               AR          90009057682
1B56281595B395   PEDRO         MARURE                  OR          90005218159
1B56286568438B   JENNIFER      MCDONALD                SC          19060918656
1B563214A91263   QUANTAVIA     LEE                     GA          90010382140
1B56323875B154   WHITNEY       THOMAS                  AR          90014732387
1B563687947956   LAURA         YANDELL                 AR          90013126879
1B563721161976   JORDAN        ROSS                    CA          90011867211
1B563878A91523   GERARDO       ACOSTA                  TX          90014768780
1B564187391569   JOSE          RIVERA                  TX          90007821873
1B564924993745   ASHLEY        MANGEN                  OH          90006329249
1B565399172B55   JACQUELYN     BETH-FREELAND           CO          33073333991
1B5655A6251337   DONNIE        TUCKER                  OH          90007825062
1B5655A6791569   DANIEL        GRANDADOS               TX          90007655067
1B565965793766   KATHERINE     GARRISON                OH          90005839657
1B56618294B23B   MICHAEL       RICKEL                  NE          90003941829
1B56627694B259   ELIODORO      LOZANO                  NE          90001402769
1B566477657147   JOSE          OXLAJ                   VA          81024154776
1B5666A4391523   ROSA          CORREA                  TX          75054116043
1B56714275B343   DAVID         RIOS                    OR          90014881427
1B56724645599B   AMANDA        SORIA                   CA          90011332464
1B56768735B35B   SARAH         ROARK                   OR          44525086873
1B567811A5B526   MARIAH        BROWN                   NM          90014888110
1B567925961938   JAALIYAH      POLITE                  CA          90012889259
1B5687A115B35B   YOLANDA       HERNANDEZ               OR          90014557011
1B56922834B588   SANDRA        WHATLEY                 OK          21595292283
1B56928A25B526   EVA           LOPEZ                   NM          90012562802
1B56B364433699   JENNIFER      PURIFOY                 NC          12071653644
1B56B519591523   DAISY         MEDINA                  TX          90015105195
1B56B73A85B35B   DOMINIC       ABILA                   OR          90011157308
1B56B966461976   MCIAS         YANETH                  CA          90003609664
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1B56BA8694B259   DELMI       HERNANDEZ                 NE          27022170869
1B57149135B526   MARYBEL     RUIZ                      NM          90015124913
1B571731661958   SERGIO      HUERTA                    CA          46095637316
1B571922347956   PAULETTE    PRYER                     AR          90013759223
1B5719A7561938   ANGEL       SANCHEZ                   CA          46049929075
1B572321191263   TYRONE      SMITH                     GA          14583743211
1B5725A5257147   ANA         ANZALDUA                  VA          81001015052
1B57277A94B259   MELISSA     CARLSON                   NE          27048937709
1B572896393773   GUY         BRINSON                   OH          90005438963
1B573232761958   JESSICA     RAMIREZ                   CA          90011902327
1B57337A351358   DAVID       BRUNER                    OH          90008743703
1B57342A18598B   MARY        KELLS                     KY          90007764201
1B57386815B526   SHANNON     FRIAS                     NM          35041488681
1B573A13351337   KELLI       CONNER                    OH          90008970133
1B573A34331687   SCOTT       GROTLE                    KS          90013100343
1B574333993759   BEAU        CLAY                      OH          90011243339
1B574896393773   GUY         BRINSON                   OH          90005438963
1B57516A355948   LUCIA       FREITAS                   CA          49039101603
1B575176772B62   RON         PARSONS                   CO          90013221767
1B575299157147   AUGUSTO     BRUSCHI                   VA          90013992991
1B57551374B22B   NYADHOK     LAM                       NE          90015065137
1B57599A593745   MATTHEW     TOTTEN                    OH          90011649905
1B57614475B343   ITZURY      MARTINEZ                  OR          90013471447
1B57615834B259   MIKE        PIATT                     NE          90002721583
1B576659A61936   PACHECEO    SAUL                      CA          90003776590
1B576718991523   SALINA      TAMEZ                     TX          90015337189
1B576777272B23   JEFFREY     PAUSCH                    CO          90010167772
1B576787671935   FRANCES     DESIENA                   CO          90012487876
1B576793572453   ALYSSA      WALLACE                   PA          51057907935
1B57692735715B   JOSE        CANALES                   VA          90014059273
1B576936393766   PAYGO       IVR ACTIVATION            OH          90014939363
1B5774A9793766   TERRY       WRIGHT                    OH          90014944097
1B57786A35B343   HELEN       CORTEZ                    OR          90015318603
1B5778A754B23B   RONNETTE    MAYS                      NE          90010228075
1B57792395715B   JAMZ        MORRISON                  VA          81015029239
1B577A7A291569   KIMBERLY    ASH                       TX          90010300702
1B578327593725   AFIA        GREEN                     OH          90001723275
1B57851797B489   JAMIE       STONEMETZ                 NC          90009115179
1B5786AAA72453   KRISTY      MALOY                     PA          90014406000
1B57877694B259   ALLA        VANPUTTEN                 NE          90009857769
1B579111757147   PETER       PHAM                      VA          90015121117
1B57924614B543   CHARLOTTE   MORTIMER                  OK          90002462461
1B579296991569   FELIPE      HILL                      TX          75004062969
1B579487A61938   RUBY        NAVARRO                   CA          90011114870
1B57B116591523   MELANIE     CONTRERAS                 TX          90004841165
1B57B354361938   ELVIA       SOTO                      CA          90015043543
1B57B3A5157142   MARINA      TERRAZAS                  VA          81015773051
1B57B471443563   JACINTO     COLMENERO                 UT          31098674714
1B57B848376B68   ANTHONY     DEMILLE                   CA          90013428483
1B57BA45A7B489   TWANDA      PERRY                     NC          90005260450
1B58123264B22B   TEELA       COOK                      NE          90011282326
1B58126347B489   KARNIKA     JACKSON                   NC          90012612634
1B58151A593759   KEVIN       STEPHENS                  OH          90011245105
1B581A75972B62   MONIQUE     MONTEZ                    CO          90004320759
1B582255461976   ERICA       BARRERAS                  CA          90013992554
1B582352391895   SUMMER      HOLKUM                    OK          90014643523
1B5824A6472B62   MICHAEL     MCCLESKEY                 CO          33066864064
1B582638561976   JESUS       ESTRELLA                  CA          90012186385
1B583368291895   ELIJAH      MASON                     OK          90014643682
1B58452918B199   CONSTANCE   MAGINNIS                  UT          31064995291
1B584546591569   JOSE LUIS   RODRIGUEZ                 TX          90012245465
1B584551661976   JOCELY      ARELLANO                  CA          90007665516
1B5845A3272453   TROY        KISKO                     PA          51074265032
1B5845A7891263   FALICIA     MITCHELL                  GA          14508495078
1B585171431687   SHANA       BOCKELMAN                 KS          90008751714
1B5851A9961936   FIGUEROA    DOMINGUEZ                 CA          90009521099
1B585529691569   KARINA      BUGARINI                  TX          90008185296
1B58642A361958   JESSE       TORRES                    CA          90012744203
1B58648645715B   JOANN       BAILEY                    VA          81076224864
1B587275447956   RHONDA      ANDERSON                  AR          90012432754
1B58753985B35B   JOSE        MEJIA                     OR          44587575398
1B58756588B199   MAKIA       ONES                      UT          90013345658
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1104 of 2500


1B587581A91569   JASON        DUGGER                   TX          90012665810
1B587A46A93759   CECIL        HOWARD                   OH          90011260460
1B58847378B199   REGALADO     GUADALUPEE               UT          90004194737
1B588633561976   KENNTH       SCHMIDT                  CA          90011406335
1B588A56931687   LINDA        THOMAS                   KS          22070940569
1B58937615B35B   ED           THOMPSON                 OR          44568653761
1B589565184344   SILVESTRE    DONJUAN                  SC          90001855651
1B58975A751337   RUPERTO      SANCHEZ                  OH          90011917507
1B58B48695B35B   RYAN         HARRIS                   OR          90014934869
1B58B79945B526   ROSA DIAZ    DE VALDEZ                NM          35048917994
1B58B94584B22B   ERICA        MENDOZA                  NE          27011849458
1B58BA79193745   KAY          PRITCHARD                OH          90000430791
1B59124A272B3B   KRISTOPHER   KRZYSZTOFIAK             CO          90001612402
1B591795431687   ROBIN        SONTAG                   KS          90014247954
1B591A96672B55   JACOB        KNAPP                    CO          90012770966
1B59221599154B   RUBY         PALMA                    TX          75014472159
1B592563257147   LISA         ELLIS                    VA          90012855632
1B592A88872B62   VICENTE      FERNANDEZ                CO          33027570888
1B59354AA61934   KEVIN        MCCARVILLE               CA          46085855400
1B593574784375   GREGORY      FRIGA                    SC          19096275747
1B593781193759   DOROTHY      TALOR                    OH          64576827811
1B594171A61958   ELVIA        HUERTA                   CA          90009621710
1B5942A1772B62   VANESSA      DURAN                    CO          90013732017
1B594694A5B154   KEVIN        HELMES                   AR          90014696940
1B59497358B199   JASON        BAILIE                   UT          31033839735
1B594A1234B26B   MONIQUE      CAMACHO                  NE          90011310123
1B59517635B343   ARMANDO      DEPAZ                    OR          90014881763
1B596235133699   SEIRA        VILVHIS                  NC          90013932351
1B59634965B154   ERICA        SANDERSON                AR          90014733496
1B59643775715B   RAZURI       HILDERANDO               DC          81015354377
1B596687A61938   JORGE        TORRES                   CA          46041806870
1B5966A6291895   KARL         HENNINGS                 OK          90010486062
1B596752631434   IDA M        HARRIS                   MO          90006237526
1B596858931456   TANISHA      THOMAS                   MO          27517618589
1B59688A95B343   FRANCISCO    DELGADO VARONA           OR          90006318809
1B597153561936   GERARDO      SALIDO                   CA          90009521535
1B59734965B154   ERICA        SANDERSON                AR          90014733496
1B597511957147   MIGUEL       MOLINA                   VA          81070045119
1B597718A93759   JANIE        WISE                     OH          90013157180
1B59783255715B   MERCEDES     CANENGUEZ                VA          81058068325
1B597AA825B343   VERONICA     ROJAS                    OR          44529030082
1B598491393759   CONNIE       MORRISON                 OH          90015094913
1B598718A93759   JANIE        WISE                     OH          90013157180
1B598822661972   ESTHER       GARCIA                   CA          46051268226
1B599447861958   RAUL         HERNANDEZ                CA          90014154478
1B5B1662A57147   ROCIO        MARTINEZ                 VA          90014676620
1B5B1AA955B154   SARA         REYES                    AR          23096500095
1B5B2313461976   LEONOR       GARAYZAR                 CA          90012303134
1B5B2479A61938   JOSEFA       ANGEL                    CA          90013724790
1B5B2662A57147   ROCIO        MARTINEZ                 VA          90014676620
1B5B2814A76B68   YURIDIA      RAMOS                    CA          90010188140
1B5B2927A43563   PALMIS       CONSTRUCTION             UT          90014829270
1B5B3333A5B526   GERARDO      CARDENAS-TORRES          NM          90013923330
1B5B3456561976   NOHEMI       YESCAS                   CA          90013934565
1B5B348815B35B   SMUEL        VALENIA                  OR          90006374881
1B5B3532A61976   CARLOS       FLETCHER                 CA          90014945320
1B5B3748172B62   VINCENTE     GONZALEZ                 CO          90002077481
1B5B3765261976   ALEJANDRO    FERNANDEZ                CA          90014017652
1B5B391695B35B   MARIA        DE JESUS LASCANO         OR          90012479169
1B5B4139672453   ELISHA       WEST                     PA          90012181396
1B5B4275A9154B   GORGE        VELLELA                  TX          75079092750
1B5B4436661972   IRMA         BUSTOS                   CA          90011224366
1B5B511A147956   ANTONIO      HERRERA                  AR          90012011101
1B5B5151993745   ERIC         HIGGINS                  OH          64597451519
1B5B5511961936   MIGUEL       CARRANZA                 CA          90009515119
1B5B55AA24B935   KEVIN        HODGES                   TX          76573035002
1B5B5939776B68   GINA         LENWELL                  CA          46094779397
1B5B5978893759   MICHAEL      DELONG                   OH          90013149788
1B5B5A2184B26B   KYLE         WATSON                   NE          90008600218
1B5B6132172426   GLEN         VANTRYFLE                PA          90014771321
1B5B6166193759   EDWARD       BUSH                     OH          90010611661
1B5B6A2A947956   ELIZABETH    MARTINEZ                 AR          90005800209
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1B5B7649651337   JONATHAN      JONHSON                 OH          90007916496
1B5B795895B154   THOMAS        WILSON                  AR          90014729589
1B5B7A83161976   HELIA         FELICIANO               CA          46090970831
1B5B7AA4676B68   RAYMOND       CASTILLO                CA          90014710046
1B5B81A5951337   JON           SEIPELT                 OH          90014271059
1B5B8392555948   MARI ELENA    RUIZ                    CA          90014603925
1B5B8613172B62   AHOLIBAMA     CONTRERAS               CO          33039076131
1B5B8687A61938   JORGE         TORRES                  CA          46041806870
1B5B9123191523   HERMINA       MASCORRO                TX          90014771231
1B5B9588955948   RENEE         ROMO                    CA          49042055889
1B5B961774124B   JAMES         BROOKS                  PA          90008496177
1B5BB241A91895   JESSICA       EVANS                   OK          90010482410
1B5BB349A91569   TIFFNAY       PAIZ                    TX          90012313490
1B5BB626241284   WALTER        HANASKO JR              PA          51098586262
1B5BB747443563   RACHEL        MIMS                    UT          31048617474
1B5BB775872B55   DONNA         GORDAN                  CO          90004047758
1B5BB911393759   JAMIE         MENDENHALL              OH          90013149113
1B611323A72B89   GERARDO       AGUILAR                 CO          90008013230
1B611998191569   JESUS         DELGADO                 TX          90009129981
1B612163191569   LERMA         HERNANDEZ               TX          90005031631
1B6125A3547956   ASHLEY        WYTOVAK                 AR          90015195035
1B61361478438B   JARELLE       GOVAN                   SC          90010886147
1B61387A276B68   LOURDES       MEJIA                   CA          46005388702
1B6138A7891547   BLANCA        GARCIA                  TX          90009548078
1B614583361976   JAMES         LISING                  CA          90007665833
1B614817761972   VICTOR        RUIZ                    CA          90013798177
1B614A47891899   MICHELLE      ONTIVEROS               OK          21076000478
1B615323A72B89   GERARDO       AGUILAR                 CO          90008013230
1B615387193759   CHRISTENA     WALKER                  OH          90011253871
1B6154A152B839   KIMBERLY      ARCHABAL                ID          90003374015
1B615648361972   MIA           RANKINS                 CA          90013396483
1B616333461972   JESSICA       BEDOLLA                 CA          90007653334
1B61643245B35B   ELIO          MERINO                  OR          90010264324
1B616875591569   TEDY          VASQUEZ                 TX          90012858755
1B617197331687   CHRISTOPHER   YEAGER                  KS          90008931973
1B617413233699   LEE           RICH                    NC          90013114132
1B617443A61976   ANTONIO       NAJERA                  CA          90014904430
1B6175A7172453   KATHLEEN      HILL                    PA          51026085071
1B61787754B588   ALEJANDRA     AMEZQUITA               OK          90004578775
1B61827245715B   LESLIE        MARTINEZ                VA          90000102724
1B61831345B334   KYLE          JOHNSON                 OR          90001873134
1B6186AA561976   CHOIRONYA     WAGH                    CA          46010866005
1B61876685B343   ASMAA         ABDULAH                 OR          44563577668
1B6188AAA93759   NICOLE        KILGORE                 OH          90011258000
1B619239143563   ANITHA        KANDAMA                 UT          90011992391
1B619278972453   SAM           SMITH                   PA          90013962789
1B619435657147   VILMA         FLORES                  VA          81075554356
1B61B275961958   LUIS          GOMEZ                   CA          90011092759
1B61B94475B526   SANDRA        ARRIOLA                 NM          90004149447
1B621116591523   MELANIE       CONTRERAS               TX          90004841165
1B62122535B343   DEBRA         HAMBOUTH                OR          90014882253
1B62137A772B62   URSULITA      VIDUYA                  CO          90011153707
1B621418461938   VINCENT       ANDERSON                CA          90010814184
1B6217A658B193   SIXTO         PAREDES                 UT          90005867065
1B62214265B343   ERIK          ERIKSEN                 OR          90012271426
1B622393431456   JAVIER        MARTINEZ                MO          90011333934
1B62251495B35B   STEPHEN       LEAVENWORTH             OR          90014295149
1B622583576B68   YANIN         ALFARO                  CA          46000565835
1B62263A755948   JUAN          FLORES                  CA          90013906307
1B622852391523   ALFREDO       PADILLA                 TX          90012098523
1B622986A91569   VIRDIANA      ZAPATA                  TX          90012589860
1B622A38A5B154   MARQUITTA     PERRY REDDEN            AR          90014450380
1B623589455948   LEONELA       AGUILAR                 CA          90011525894
1B62396935715B   ESMAHAN       BIBO                    VA          81035819693
1B62428894B588   DWIGHT        THOMPSON                OK          21503152889
1B6244A9193759   CONNER        DARST                   OH          90013364091
1B6245A1547956   JAMES         STRINGER                AR          90012585015
1B624757761985   DOUG          HUTCHESON               CA          90006937577
1B625956976B68   JESUS         DELGADO                 CA          46012359569
1B62621875715B   FERNANDO      MONJE                   VA          90013092187
1B626354661976   CRISTIAN      FEDERNANDEZ             CA          90011313546
1B62671695B526   CAROL         MOYA                    NM          35008107169
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1B626822991263   KAWANDA       LEMON                   GA          90013678229
1B627115477344   JOSEPH        BROWN                    IL         20578281154
1B627293861976   MICHAEL       AGUIRRE                 CA          46010272938
1B627563257147   LISA          ELLIS                   VA          90012855632
1B627633561972   AIOTEST1      DONOTTOUCH              CA          90015116335
1B62846865B35B   INES          BRAVO                   OR          90003234686
1B6285A6147956   BETTY         BREEDEN                 AR          24084335061
1B62994A29154B   EVEKYN        MARTINEZ                TX          90001599402
1B629A86891523   JOSE          QUIROZ                  TX          90002750868
1B62B278961972   SANDRA        AVALOS                  CA          90009922789
1B62B39334B26B   JASON         BOWMAN                  NE          26094443933
1B62B44345B154   ASYA          COOPER                  AR          90014734434
1B62B556993766   GRACE         CAUDILL                 OH          90008725569
1B62BA3165B254   JAMES         THOMPSON                KY          90006150316
1B631168193766   KIMBERLY      DALZELL                 OH          90011051681
1B63124715B526   ISAC          WHITE                   NM          90005182471
1B631331361976   FRANCISCO     SANTOS                  CA          90006913313
1B631543361976   JOSE          GARCIA                  CA          90008905433
1B63191995B35B   WILL          DODGE                   OR          90011859199
1B6319A4393766   DERRICK       DALZELL                 OH          90005469043
1B632636661976   AIOTEST1      DONOTTOUCH              CA          90015116366
1B632641691964   LAURI         MARTINEZ                NC          90008866416
1B63276A85B526   LILIA         JURADO                  NM          35082367608
1B632797961958   ANA           AGUILAR                 CA          90012907979
1B632813A4B588   LISA          DAVIS                   OK          90006968130
1B632883976B68   AARON         BURKHOLDER              CA          90011588839
1B633351A91569   HERNANDEZ     LARA                    TX          90006513510
1B63346A791569   SANDRA        SOTELO                  TX          90014044607
1B634151191569   TAHIZET       GONZALEZ                TX          90014301511
1B634368533647   SONIA         MILLS                   NC          90010013685
1B634514A91895   ANTONIO       JASSO                   OK          90013045140
1B634A34293759   REBECCA       KEETON                  OH          64546060342
1B635181172453   KEYONA        CURRY                   PA          51059681811
1B6352A5676B68   MAGALI        PEREZ                   CA          46077942056
1B63577215B526   BRENDA        PINON                   NM          90010157721
1B635A4475B35B   BRYAN         BRUCKER                 OR          90013200447
1B636177272B62   BREYUAN       RILEY                   CO          90013221772
1B6361A2461972   ERICK         OTANEZ                  CA          90015191024
1B636A54391523   SANDRA        GARCIA                  TX          75073440543
1B63863375B343   SHANNON       HOWARD                  OR          90002006337
1B638911972B62   VERONICA      VILCHIS                 CO          90009769119
1B638977857147   GABRIELA      PARK                    VA          81024159778
1B638A5155B35B   ROBERT        HICKS                   OR          44514020515
1B639476631687   KENDRA        TYREE                   KS          22038814766
1B63952575B35B   ES            AMILE                   OR          90015125257
1B63964A561936   SMITH         MONIKQE                 CA          90001536405
1B639994255934   ANCELMO       GONZALEZ                CA          90000109942
1B63B312891569   BRANDON       GUTIERREZ               TX          90014903128
1B63B418761998   RODRIGO       CHAVEZ                  CA          46052174187
1B63B58985B343   JUANA         ESPINOZA RODRIGUEZ      OR          90006005898
1B63B871491263   BRITTNEY      FIELDS                  GA          90013958714
1B63B931A57147   OSCAR         LOPEZ                   VA          81014109310
1B641718851337   CHRISTINA     THOMPSON                OH          66014627188
1B641734191569   FRANK         ENRIQUEZ                TX          75007837341
1B641742457557   CESAR         MONREAL                 NM          90004707424
1B641796357147   ROXANA        CARDENAS                VA          90011697963
1B641964531687   PATRICIA      TAYLOR                  KS          22065129645
1B64259824B22B   HEATHER       JENKINS                 NE          90015215982
1B642963493766   BRENDA        ROSE                    OH          90003349634
1B643143157147   NELSON        RODRIGUEZ               VA          81076551431
1B64328834B22B   KENETA        BROWNE                  NE          27009842883
1B643614947956   KEITH         EDINGTON                AR          24047026149
1B64362518438B   DAWN          OCALLAGHAN              SC          19006716251
1B6436A9961972   JORGE         BARRIOS                 CA          90011176099
1B644335761938   JAKE          STINGLE                 CA          90009703357
1B644372857147   ADELAH        VENTURA                 VA          90013183728
1B645165857147   DAVID         PERES                   VA          90003811658
1B645298793745   SANDRA        REYNOLDS                OH          64504582987
1B64566514B22B   JOHN          BOUQUET                 IA          27054436651
1B645877891523   FEDERICO      GARCIA                  TX          90010308778
1B646263A51337   MIRANDA O M   GABBARD                 OH          90005502630
1B646479731687   AMANDA        CONROY                  KS          90014694797
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1B646593393745   JULIE          SCHARSH                OH          90004955933
1B64678349379B   DOUG           MYERS                  OH          90012417834
1B646A14557142   JESUS          JARAMILLO              VA          90004460145
1B6472A955B35B   CORREYGENE     NEWMAN                 OR          90004962095
1B6479A6A72B62   PHYLLIS        COMPTON                CO          90010579060
1B648164157147   MARIO          LANDAVERDE             VA          90001111641
1B64892215134B   ARTHUR         SPEER                  OH          90013559221
1B648979951337   OVELLA         CRAWFORD               OH          90008579799
1B648992561938   SONIA          JUAN MANUEL            CA          90010259925
1B64948395B393   REBECCA        WILSON                 OR          90004464839
1B649894961938   IRIS           MORALES                CA          46013028949
1B6498A517B489   MELVIN         HAYNES                 NC          90014878051
1B64999394B259   WANITA         GRAVES                 IA          90011059939
1B64B146A5B526   DAN            VALLES                 NM          90011961460
1B64B26798B199   GABRIEL        CARPIO                 UT          90014812679
1B64B428972B62   CLINT          CECIL                  CO          90013414289
1B64B536333699   TESFALEM       MEZGEBO                NC          90013935363
1B64B57785B35B   ANGELA         BLAKLEY                OR          90013635778
1B64B822755948   MARIA          ACEVEDO                CA          90000178227
1B64B96125715B   RICARDO        MARIANO                VA          90012659612
1B651382161976   TRACY          REGULSKI               CA          90012903821
1B6513A648438B   IVAN           ATALAIA                SC          90009103064
1B65247A24B22B   FRANCISCO      ALVARADO               NE          27065894702
1B6527A9591523   ELOISA         ORDONES                TX          75074317095
1B652818A8B199   PALMER         BEVERLY                UT          90010058180
1B6529A622B924   DEVI           MITCHELL               CA          90014239062
1B653581176B68   MARTIN         SANCHEZ                CA          46025085811
1B65359945B35B   ERIC L.        WINTERS                OR          90012365994
1B6537A7131456   MICHAEL        WHEELER                MO          27583817071
1B653856577977   JOSH           LATIN                   IL         90015228565
1B65417A74B26B   JENNIFER       RUPERT                 NE          26092941707
1B65425A49154B   ESTELA         CORDOVA                TX          75033922504
1B654644193759   MARGARITA      ORTIZ                  OH          90012426441
1B654755791523   CARLOS         MERCADO JR.            TX          75079647557
1B655263A61976   GABRIEL        MARTINEZ               CA          90015222630
1B6553A825B343   ROSHON         JACKSON                OR          90008363082
1B65546A85B35B   INGRID         GREEN                  OR          44560444608
1B65578855B154   TINA           JONES                  AR          23000767885
1B655955454144   DOMINIC        PILAND                 OR          90012819554
1B655A1A961958   JOSE ANTONIO   RODRIGUEZ              CA          90014210109
1B65614784B588   JUNIOR         HERNANDEZ              OK          90006441478
1B656245691263   JOSEPH         TARLETON               GA          90015302456
1B656358761972   ADAM           WRAIGHT                CA          90007653587
1B6563A7355948   GELACIA        MARTINEZ               CA          90015423073
1B656443143588   TRENA          MATHEWS                UT          90003824431
1B65669625B526   ANGEL          MERCED                 NM          35064986962
1B656799172B62   MARIO          NAJERA                 CO          33042277991
1B656868947956   MELINDA        GALL                   AR          90007788689
1B65715169154B   MARIA          TRUJILLO               TX          75033921516
1B65721725B343   RAFAEL         HERNANDEZ              OR          90003812172
1B657287372453   KEVIN          WORK                   PA          90013962873
1B657629143563   LISA           LOOP                   UT          31015506291
1B65772265B343   JASMINE        BLACKMAN               OR          90012727226
1B657782361936   CYNTHIA        ORTEGA                 CA          90009527823
1B65781A172435   LAUREN         RACIOPPO               PA          51014548101
1B65786384B23B   DUNCAN         YOST                   NE          90008318638
1B657883493745   CASSANDRA      GRAY                   OH          90012768834
1B658292891569   JUAREZ         STEPHEN                TX          90012962928
1B65837495B343   CHRISTOPHER    WALSH                  OR          90013753749
1B658386461972   SERGIO         MARQUEZ                CA          90013343864
1B65844787B489   MARQUARIUS     GILLIARD               NC          90010644478
1B659245A4B588   DERRICK        IVERSON                OK          21552802450
1B659574733699   PAKAS          CUANAS                 NC          90013935747
1B65967855B74B   ADDIE          JAMES                  MN          90014306785
1B659A8685715B   SUZETTE        HUFF                   VA          90006680868
1B65B15215B343   TAIDE          TELLES                 OR          44589891521
1B65B155291523   YOLANDA        LUGO                   TX          75016551552
1B65B63A77B489   LOANY          HERNANDEZ              NC          90012476307
1B65B896555948   HESGAR         PAZ                    CA          90000548965
1B65BAA6893759   LISA           DEMETER                OH          64590150068
1B661445147956   TRAVIS         TOMES                  AR          90014744451
1B661526261976   BRIGETTE       NORFOLK                CA          90000165262
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1B6615A5561938   TAWNY          HAWKINS                CA          90001575055
1B662617A5B526   LISA           SCHAEDEL               NM          90009626170
1B66274455B154   DESTINY        HUNT                   AR          90014737445
1B66279314B23B   DANE           PFEIFFER               NE          27019327931
1B663111757129   RAPHAEL        CARTER                 VA          81003521117
1B663312593745   DANIELLE       MITCHELL               OH          90013053125
1B663336857147   WENDY          ALAS                   VA          90008833368
1B66341A491523   LUZ            LUNA                   TX          90011874104
1B66341A69154B   ISMAEL         ROMERO                 NM          75013564106
1B663766851337   ANGEL          SHORT                  OH          90012597668
1B663985597B3B   TIFFANY        DAVISSON               CO          39039669855
1B6652A8961976   STEVEN         JOHNSON                CA          90013752089
1B665474991895   JACQUELYN      BYRD                   OK          90014644749
1B665489557557   ROSARIO        DESANTIAGO             NM          35576194895
1B665561424B7B   PATRICIA       SLACK                  MD          90015345614
1B665594572B77   MICHAEL        MOLNER                 CO          90010245945
1B66559AA55948   ANA GABRIELA   ASCENCIO               CA          90015115900
1B66576855715B   MARCELLA       BARKSDALE              VA          90005437685
1B666476891895   CLAUDIA        MURILLO-LUNARES        OK          90014644768
1B66657785B35B   ROB            BREWSTER               OR          90005755778
1B666818A72453   JAMES          RATLEY                 PA          51046838180
1B667279791263   PAUL           MCKELVEY               GA          90014342797
1B66734624B26B   SHANETKIA      HITE                   NE          26083163462
1B6674A7533699   JESSICA        WATTS                  NC          90013944075
1B6675A625B343   HECTOR         CHACON                 OR          90000825062
1B667621651337   VALERIE        NOLTE                  OH          90015326216
1B667749661958   JEAN           DIAWARA                CA          90013967496
1B667782151337   RICARDO        TINGLE                 OH          90013287821
1B667AA115B526   BRISA          CERVANTES-CHAVEZ       NM          90010340011
1B66818615715B   SIRIWAN        JAROENPIRASATIAN       VA          90003441861
1B6683A7457147   ROSA           VALLADARES             VA          90012623074
1B66847757B489   TOMEKIA        PENSON                 NC          90011954775
1B66862A661976   SAUL           RUIZ                   CA          46024956206
1B668689833699   KIM            MAZE                   NC          90013936898
1B66876A291523   MARIO          MENA                   TX          90013817602
1B668A48876B68   RYAN           FAULKNER               CA          90015000488
1B6692A9891569   ADRIAN         MARIN                  TX          90013342098
1B669411393745   SABRINE        SHIRLEY                OH          64516454113
1B669856461938   ESTRELLA       BAXTER                 CA          90003958564
1B66986565B526   ERVIN          BRADFORD               NM          90011208656
1B669A26793737   ANDREA         R BROWNING             OH          64549490267
1B66B15634B22B   MELISSA        WOOLERY                NE          27013261563
1B66B48695B35B   RYAN           HARRIS                 OR          90014934869
1B671146833699   JAMAL          HASSAN                 NC          90013421468
1B6711A1791523   MARIA          CAZARES                TX          75053741017
1B671881961936   JESSICA        DE MARTINO             CA          90008828819
1B67212384B22B   JOSHUA         AMSDEN                 NE          27055761238
1B672232193745   AMY            EVANS                  OH          90005972321
1B6722A174B23B   DENISE         GUNTER                 NE          27090342017
1B67257418B199   CHRYSTAL       STOCK                  UT          90010215741
1B673327576B68   WILLIAM        LEONARD                CA          90013743275
1B673593876B68   YVONNE         MARTINEZ               CA          90014785938
1B6737A2A91569   THELMA         REALYVAZQUEZ           TX          75099717020
1B673A25593745   MELISSA        WILLIAMS               OH          64522540255
1B673A51291523   LETICIA        PEREZ                  TX          90003780512
1B67411918B199   JENNIFER       REEDY                  UT          90006101191
1B67442315B526   WINONA         YOUNG                  NM          90012084231
1B675658A43563   JESUS          BANDERAS               UT          31015516580
1B67598145715B   PRISCILLA      HARRIS                 VA          81014839814
1B675A98493759   ALYSSA         SEARLS                 OH          90009500984
1B676247261976   MAYRA          RUEDA                  CA          90009622472
1B676365343563   VALENS         MUSONI                 UT          90011983653
1B67664A391895   ANTHONY        BARE                   OK          90008486403
1B6766A555B526   JUAN           RODRIGUEZ              NM          90005006055
1B676A31176B68   SYLVESTER      ARRIOLA                CA          90011600311
1B67729A17328B   RUTH           VELAZQUEZ              NJ          90014592901
1B677545691547   RUBY           GONZALEZ               TX          90011455456
1B67755A561938   ETHEL          WEEKLY                 CA          46085045505
1B67796A757557   LORETTA        GALLEGOS               NM          35508199607
1B6789A3291569   CARMEN         PINA                   TX          90012429032
1B679191193745   APRIL          CUTCHER                OH          90007831911
1B67931175B35B   JACKIE         BULLOCK                OR          90014543117
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1B679468691929   IRIT          CAMPOS                  NC          17013814686
1B679555161972   LIE           JAASONN                 CA          46097605551
1B67B644193759   MARGARITA     ORTIZ                   OH          90012426441
1B67B84294B22B   BRENDA        LYLE                    NE          27072668429
1B67B851791573   IISHA         JAMES                   TX          90007808517
1B681234393745   KAYLA         CALVERT                 OH          64574662343
1B68155845B526   ROBERTA       CHILDERS                NM          35056135584
1B681845961938   MARIO         NAZA                    CA          46077848459
1B682385193745   KENNETH       JOHNSON                 OH          64524003851
1B682914333699   EBONEE        GARRISON                NC          90013939143
1B68292A793759   WILLIAM       FINCH                   OH          90014239207
1B682A58472B62   MAIKUDI       SHOAGA                  CO          90012980584
1B683498172435   ROBERT        SCHAUB                  PA          51000104981
1B683572647956   PEGGY         BLAIR                   AR          90007505726
1B68362315B35B   JUNIOR        DE LA CRUZ              OR          90014546231
1B68394527B489   JUAN          POZOS-FRANCO            NC          90010499452
1B684323A76B68   MARIA         AGUILAR                 CA          90006063230
1B684532661972   FERNANDEZ     ALEJANDRO               CA          46072545326
1B68458A45715B   OSCAR         BERDUO                  VA          81069435804
1B684956433699   SCOTT         MCCOLLEY                NC          90013939564
1B68538467B489   EVANS         MARCUS                  NC          90008873846
1B685641991263   JUSTIN        HARVEY                  GA          90014096419
1B685A32691523   RODOLFO       MORA                    TX          90015130326
1B6863A8261958   JAIME         PAREDES                 CA          90003163082
1B686491151337   CYNTHIA       FINLEY                  OH          90004004911
1B686851955948   MARGARITA     FLORES                  CA          90014928519
1B68689A691523   KARLA         MIRANDA                 TX          90000488906
1B686A62531456   TAY           WALKER                  MO          90009880625
1B687795176B68   LEANN         BERGFORS                CA          46078827951
1B687996551337   EDWARD        NICHOL                  OH          90009979965
1B687A81291569   CESAR         URANDA                  TX          90014640812
1B6881A325B154   TOWANDA       SMITH                   AR          23015181032
1B688842557147   YESLY         CALIX                   VA          90012888425
1B688A5754B592   ANTHONY       WHITE                   OK          90002660575
1B688A57991884   MARITZA       GUZMAN                  OK          90012410579
1B689161976B68   RUBY          DEVINE                  CA          90007571619
1B689655541B5B   JUSTINA       WASHINGTON              DC          90015006555
1B689A41391895   LILLIE        SHIELDS                 OK          21089240413
1B689A7A561976   CHRISTOPHER   CALCANO                 CA          90012420705
1B68B77325B154   ANGELO        HALL                    AR          90014737732
1B691463661958   BRYAN         WALLIS                  CA          90014154636
1B691521372483   WALTER        ONEILL                  PA          51029555213
1B691669A2B89B   JULIE         WALLACE                 ID          90013076690
1B69178545B526   CARMELITA     MASON                   NM          35074837854
1B692256191523   YAHAIRA       BECERRA                 TX          90013392561
1B69267A576B68   POPO          WATCHER                 CA          90000436705
1B692687947956   JEREMY        REED                    AR          90014456879
1B692758572453   GREGORY       MOORE                   PA          90005477585
1B692AA7733699   JON           WALKER                  NC          90013940077
1B694442693759   DAVID         FANNIN JR               OH          64515044426
1B69453A772453   KAYLA         HARPS                   PA          90006015307
1B69495535B35B   LANCE         BISHOP                  OR          90014769553
1B69499969154B   FREDERICK     VOGLEWEDE               TX          90008019996
1B694AA6961958   KIARA         KAGSLDALE               CA          90014850069
1B695364672453   NICOLE        ZAPPI                   PA          90011463646
1B69536A472435   RUTH          MACNEIL                 PA          51040113604
1B695492791997   MARIA         AUOSANGA                NC          90009674927
1B69551A272B62   MARSHALL      HOPPER                  CO          90011325102
1B69574427B443   TERRIE        CORANTGAY               NC          90008707442
1B69594325B154   TAMMY         HALL                    AR          90010219432
1B696176191523   FRANCISCO     JIMENEZ                 TX          90009151761
1B696182443563   ANDREW        THEW                    UT          90004311824
1B69626327B489   DEMETRIO      HERARA                  NC          90012412632
1B69659994B26B   SHANA         NYHOFF                  NE          26041405999
1B69671AA5B35B   ZABRINA       MCCRACKEN               OR          44553137100
1B696A26672B56   ODILLA        UWIKUNZE                CO          90003020266
1B696A4258B199   BRIANNA       EVANS                   UT          90014450425
1B696A93491263   WILLIE        REYNOLDS                GA          14590160934
1B69717A391827   TOM           BARBOUR                 OK          21050811703
1B697317391523   STACEY        SHERRILL                NM          75046943173
1B697624472435   SHALWAN       BROWN                   PA          90001956244
1B697A48433699   ARTURO        GARCIA                  NC          90013940484
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1B69834594B26B   KATIE              CORBETT            NE          26082783459
1B698714255948   TAMARA             CRAWFORD           CA          90006787142
1B6987A3172B62   PAUL               WIDGER             CO          33040517031
1B698A83533699   JOSE               GONZALEZ           NC          90013940835
1B698A86272B34   ERIC               LOWERY             CO          90010170862
1B699263A5B35B   KATYA              SIMONE             OR          90002782630
1B699A16193759   DANTRE             DICKERSON          OH          90014750161
1B69B784872B34   SCOTT              KESLOW             CO          90009367848
1B6B12A8355948   ENRIQUE            GOMEZ LOPEZ        CA          90008542083
1B6B1695361958   TENISHA            ROSS               CA          90013016953
1B6B212945B388   JASMINE            THOMAS             OR          90010921294
1B6B2539791895   JONATHAN           BRISTOW            OK          90014365397
1B6B2813893745   JACK               DETRICK            OH          90012098138
1B6B2A72161976   MARIA              MORALES            CA          46095470721
1B6B312164B22B   CRISTINA           CORREA             NE          27039331216
1B6B316425B154   JOHN               THOMAS             AR          90011441642
1B6B324488B199   STEVEN             OKEEFE             UT          31045082448
1B6B3289961938   ROGER              HERRERA            CA          90013312899
1B6B3473293766   JENNIFER           BIRON              OH          90002794732
1B6B3516447956   MISTY              HOUCHIN            AR          90005435164
1B6B3783441384   DANIEL             RIDLEY             MA          90014007834
1B6B3A8925B35B   CHARMINE           NEAULT             OR          44565300892
1B6B3AA825B343   VERONICA           ROJAS              OR          44529030082
1B6B414A576B68   ELIZABETH          MARTINEZ           CA          90011581405
1B6B436448B199   EDITH              MONTANO            UT          90013193644
1B6B463195B154   NATALIE            DICKERSON          AR          90014746319
1B6B488A472435   CHRISTOPHER        SOFALY             PA          90003568804
1B6B48A975715B   GONZALO            GUARDIA            VA          81071978097
1B6B4911A72B62   RUBEN              CASTANEDA          CO          90014349110
1B6B5234293759   CHANTE             WINDERS            OH          90010182342
1B6B52A5277399   GREG               HOUDA              CA          90010722052
1B6B553284B22B   MELISA             RICHTIG            NE          90006425328
1B6B5588157147   DANIEL             THOMPSON           VA          81018065881
1B6B588A591523   ANTONIO            DAVILA             TX          75035788805
1B6B675135715B   WALBERTO           MENDOZA            VA          90014777513
1B6B6836472B62   JOHN               LEWIS              CO          33026288364
1B6B7164555948   ELAINE             YBARRA             CA          90000691645
1B6B72A3172B62   SERGIO             CASTILLO           CO          33088242031
1B6B785785715B   DAVID              SCRIBNER           VA          81014898578
1B6B8146557147   WAYNE              WILSON             VA          90014721465
1B6B8568A8B152   HENRY              HUISH              UT          31005225680
1B6B8613A8438B   PAUL               GULLQUIST          SC          19065936130
1B6B874A461972   APOLONIA           FLORES             CA          46083397404
1B6B875A45B343   FLORES             MARIA              OR          90009097504
1B6B8824372435   BRANDI             ZIMMERMAN          PA          90005638243
1B6B919A391569   DIANA              FLORES             TX          90013361903
1B6B939115B343   BRANDI             LEWIS              OR          90007753911
1B6B9431351337   APRIL              NORTON             OH          90002744313
1B6B9867471965   CASSANDRA          GARCIA             CO          90013668674
1B6B9A11447956   EDDIE              ENGLISH            AR          90013720114
1B6BB36A75715B   CARROLL            LEE                VA          90005043607
1B6BB43715B343   QUINONEZ BARAJAS   ANA                OR          90013604371
1B6BB461791899   RONNESHA           WARRIOR            OK          21058144617
1B6BB524593766   KEVIN              COLVILLE           OH          90010285245
1B6BB66767B489   CRUZ KARINA        PEREZ SUAREZ       NC          90012766676
1B711663976B68   DAVID              BERMUDES           CA          90011626639
1B711689633699   TOSHA              ABDELWALTEZ        NC          90011996896
1B7119A147B489   CHRISTINA          GABBARD            NC          90012749014
1B7119A688B189   LORI               WILSON             UT          90011369068
1B71295A755948   MARCELO            MORENO             CA          90015189507
1B712A56547956   ALEXANDRO          BURCIAGA           AR          90005380565
1B71343315B35B   AMBER MICHELLE     LINDEMANN          OR          90006314331
1B713655161936   ADRIAN             MARTINEZ           CA          90009536551
1B714169491569   PATRICIA           ARTEAGA            TX          75045931694
1B714772451337   CHERYL             MCINTYRE           OH          90001517724
1B71548177B489   BILLY              NEEHAM             NC          90012554817
1B715723772B62   SERGIO             COLUNGA            CO          90010287237
1B7162A234B259   RAFAEL             CANALES            NE          90011602023
1B71632889154B   ERIKA              AMAYA              TX          75013573288
1B71687345B526   OLGA               SANTILLAN          NM          35023938734
1B717361755936   JOSE               ORTEGA             CA          90010813617
1B7173A384B22B   TERESA             MYERS              NE          90004063038
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1B718172491523   ADRIAN       HERNANDEZ                TX          90014411724
1B718287172B62   MEAGAN       PEREA                    CO          90012762871
1B71948558B199   ANYA         ALBRIGHT                 UT          90007254855
1B71981175B35B   ANSON        GARCIA                   OR          90012678117
1B719866961972   BEATRIZ      ARREOLA                  CA          90002098669
1B71B118A5B526   MARIA        QUINTANA                 NM          90013451180
1B71B723191524   UTE          MARINO                   TX          90012847231
1B71B988493745   BRIAN        HAVEN                    OH          64512799884
1B721376343563   HYUM         NIELSEN                  UT          90011323763
1B721AA595B343   VICTORIA     WEST                     OR          90015230059
1B722294A8B199   FREDRICK     FEHLMAN                  UT          90014002940
1B722426991569   JOSE         GURROLA                  TX          75088434269
1B7227AA793745   ELIZABETH    ELLIOT                   OH          90004407007
1B72283545B343   HEATHER      MCNAMEE                  OR          44572708354
1B723224461972   EMMANUEL     HERRERA                  CA          46057882244
1B723355561958   AURA         MAR                      CA          90013683555
1B7234A324B22B   REINA        SALAZAR                  NE          90005034032
1B724277261958   JANICE       EDWARDS                  CA          46061692772
1B724755561936   DAMARIS      MARIN                    CA          90009537555
1B725148576B68   MARCELO      MORA                     CA          90011771485
1B725335A93745   RAYMOND      WAYMIRE                  OH          90012383350
1B725646255948   MELISSA      GRIFFIN                  CA          90012026462
1B72635958584B   KEVIN        MCCAFFERTY               CA          46070923595
1B726627591895   ARIADNA      RIOS                     OK          21089446275
1B72662822B863   MARK         BESSETTE                 ID          42014126282
1B726972593759   LINDSAY      BUTLER                   OH          90014249725
1B72723A161976   MARIJA       WILLIAMS                 CA          46084762301
1B72768A172B77   SHAWN        LOPEZ                    CO          90004826801
1B727765472453   GARY         BALSER                   PA          90015567654
1B7283A3761958   ABIGAIL      MORADEL                  CA          90009433037
1B728681561976   ARTURO       GIL                      CA          46040436815
1B729619A76B68   PRETITA      NIIANAKENYANNA           CA          90006206190
1B7296A9272453   LYNN         HUGHES                   PA          90014606092
1B73119155B343   DAN          MARGRAF                  OR          90011741915
1B73127727B489   CARMEN       RAYNEY                   NC          90012212772
1B731454331476   KAREN        BENSON                   MO          90012294543
1B7314AA493745   RITA         REEDY                    OH          64592984004
1B731745851337   KENNY        EVANS                    OH          90005787458
1B731868557147   DANIEL       SANCHEZ                  VA          81019758685
1B7322A8172453   TONI         LECHNER                  PA          90014612081
1B73235125B154   ANQUONETTE   BLUE                     AR          23076123512
1B732822761936   GABRIELA     MURILLO                  CA          90009538227
1B73313684B259   CISSILY      GOMEZ                    NE          90010071368
1B733562951337   CASSIE       THEE                     OH          90001615629
1B733787551333   LISHA        CANNON                   OH          90012197875
1B733959957147   JOHN         DIAZ                     VA          90014709599
1B73443A25715B   MARTHA       HURTADO                  VA          81062354302
1B734647A7B489   KAIYA        MITCHELL                 NC          90015096470
1B734A3337B489   JOE          MEDDOR                   NC          90012900333
1B735197691523   MARIE        ROACHO                   TX          90005821976
1B735266847956   JESSICA      REEVES                   AR          24005902668
1B735372133649   LASHANDA     MASHACK                  NC          90008613721
1B73553365B35B   JUAN         RUIZ                     OR          90011205336
1B73575745B154   FRANSICO     PRIESTER                 AR          90011887574
1B735A93961972   CARMEN       AQUINO                   CA          90012990939
1B73622685B188   BULMARO      VASQUES                  AR          90014082268
1B736941761976   MARIA        MIJANGOS                 CA          90013039417
1B736A7988B199   SCOTT        DAVIS                    UT          31083110798
1B738431A61938   ART          TORRES                   CA          90010814310
1B738652672435   JOHN         WALKER                   PA          51092286526
1B738717891569   MARIA        DOMINGUEZ                TX          90011937178
1B73896674B26B   ANGELA       MOREY                    NE          26013079667
1B739116361972   CARLOS       HERNANDEZ                CA          90010671163
1B739228257147   LUISA        MARTINEZ                 VA          90014732282
1B739615A8B199   GEOFFREY     BURR                     UT          90014666150
1B73B19755715B   BRENDA       THOMPSON                 VA          90010451975
1B73B1A335B35B   MAGDALENE    SALINAS                  OR          44522601033
1B73B227193745   KELLY        SUTTON                   OH          64503852271
1B73B565261972   JIM          TROAST                   CA          90008405652
1B73B64888B193   ROSALIA      GUERRERO                 UT          31073106488
1B73B663972B62   CARMEN       LOPEZ                    CO          90000846639
1B73B6AA24B22B   KAY          STAPLETON                NE          27088276002
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1B73B913457147   VICTORIA P     ORIHUELA               VA          90014709134
1B74132998B199   LOUISE         DIAZ                   UT          90011243299
1B7413A6293759   ANGIE          DAY                    OH          90011463062
1B74163A291895   JESSICA        SANDOVAL               OK          90012986302
1B74189194B259   EVER           HENRIQUEZ              NE          90009088919
1B742347747846   OCTAVIOUS      CORNELIOUS             GA          90013293477
1B742355147956   HERACLIO       RESENDIZ-IBARRA        AR          24064993551
1B742482661972   SARAH          DODD                   CA          90014824826
1B74256A54782B   LAFAYETTE      SAMUEL                 GA          90007795605
1B742681991895   JOSHUA         HENRY                  OK          90014646819
1B742813272453   OLIVIA         HART                   PA          90007558132
1B743174793759   MIKE           NICEWANER              OH          64582451747
1B7433A214782B   KRISTON        ROFFIELD               GA          90003353021
1B743531791895   KATHY          GROFF                  OK          21051715317
1B74361355B343   JENKA          SODERBERG              OR          90008566135
1B743625764183   EDWARD         MOORE                  IA          90014076257
1B74373A291523   CARLOS         VILLARREAL             TX          90015337302
1B743AA517B442   WENDY          GLENN                  NC          90009780051
1B744259A24B7B   BERDANDINO     JUAREZ-SANCHEZ         VA          90002012590
1B74461977B445   OSMIN          DIAZ                   NC          90003526197
1B744722A61938   MERCY          MIANA                  CA          46006167220
1B745164A91569   RODARTE        ALICIA                 TX          75076041640
1B7453A235B154   DEANNA         LEVER                  AR          90014773023
1B745593361976   LAURA          RINCON                 CA          90011695933
1B74564575B343   RAFAELA        VASQUEZ                OR          90011876457
1B7459A4997B37   MICHELL        BENZOR                 CO          90007849049
1B745A6178B165   CHRISTINA      BISCHOFF               UT          90005510617
1B746489A61938   RODNEY         SANDERS                CA          90010494890
1B74654828B183   MIGUEL         ALVAREZ                UT          90006515482
1B74657575B35B   RYAN           KENNEDY                OR          90012855757
1B74686A88B199   TABITHA        CAFOUREK               UT          31092028608
1B747697672B62   TRINIDAD       MENDEZ                 CO          90009136976
1B74782A861958   BRENDA         GARCIA                 CA          90014188208
1B74784425B154   GREGORY        GURLEY                 AR          90014748442
1B74811858B199   JOCEPHINE      CUENCA                 UT          90001771185
1B748458A9154B   ANIRA          GARCIA                 TX          90014774580
1B7486A1A76B68   ROBERTO        NIETO                  CA          90013406010
1B748945791523   LIVIA ZULEMA   FLORES                 TX          90012599457
1B748A61843563   EDVERT         CERRON                 UT          90006780618
1B749314957147   JOSE           GOMEZ                  VA          81014483149
1B749359772B62   BRYAN          MEDINA                 CO          90008423597
1B74B23837B489   JEANETTE       DAVIS                  NC          11087782383
1B74B39815B154   SHARON         MASHBURN               AR          90011763981
1B751683191523   ALEJANDRO      MORALES                TX          75085346831
1B7519A7833699   TOMEKIA        BANE                   NC          90014859078
1B75277745B154   NIKOL          JOHNSON                AR          23041107774
1B752918161976   SHARICE        BURKE                  CA          90012849181
1B75294A761972   JRATIH         MOLINA                 CA          46059539407
1B752A41491523   ISHMAEL        MARTINEZ               TX          90004360414
1B753366993745   SARAH          PERKINS                OH          64509703669
1B7535A2891523   ROBERT         MARTIN                 TX          90005975028
1B75369345715B   JOSE           MERCADO                VA          90000996934
1B753986255948   EVELIA         REYES                  CA          90006419862
1B75399215B35B   ANGELA         CRADER                 OR          90009469921
1B754226176B68   ELOY           VASQUEZ                CA          46061002261
1B75453356B762   CARLINA        RUDOCK                 NY          90010195335
1B754541555948   KOBE           LORENZO                CA          90014645415
1B754A4552B966   LUZ MARIA      SALAS                  CA          45037270455
1B75534A45B35B   GABRIELA       MENDOZA                OR          90014633404
1B755661A91523   IVAN           QUINONEZ               TX          90013886610
1B75581842B89B   VERONICA       CAST                   ID          90010158184
1B7563A955B343   KAMEKA         THOMPSON               OR          44578153095
1B756612261972   TIMOTHY        DOCHERTY               CA          90015026122
1B756697672B62   TRINIDAD       MENDEZ                 CO          90009136976
1B7566A268168B   DAVID          COLLINS                KS          90014806026
1B75739145715B   ALMA           URQUILLA               VA          90013653914
1B75763A591895   JAMES          EATON                  OK          21023406305
1B7579A3A5B35B   ANTHONY        ANAYA                  OR          44512019030
1B758196631456   LASHAY         JONES                  MO          27542371966
1B758882833656   LUIS           SORIANO                NC          90013128828
1B75891489373B   PEDRO          SANCHEZ                OH          90013179148
1B758943A4782B   SHARON         GLOVER                 GA          90003349430
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1B758957993759   KIERSTIN     FISHER                   OH          90003789579
1B758A34561958   DAVID        JOHNSON                  CA          90014860345
1B7593A2355968   JUAN         GUTIERREZ                CA          90012073023
1B75949AA61938   PHILLIP      CHRISTMAS                CA          90013064900
1B75954A55B526   PHILLIP      WOOD                     NM          35062255405
1B75963764B23B   JASON        HUBBARD                  NE          90012036376
1B75B233891263   ROSA         ADKINS                   GA          90012342338
1B75B831891899   HORTENCIA    LAGUNAS                  OK          90005468318
1B761174161976   CHRISTIAN    PAUL                     CA          90002201741
1B7615A942B889   MALCOLM      MOSSES                   ID          90010475094
1B761625555948   TINA         ROSEL                    CA          90009276255
1B76193815B526   COLLEEN      LEWIS                    NM          90009129381
1B762486476B68   HERMAN       GONZALEZ                 CA          90004024864
1B7625A3193759   KEESHA       NICKELL                  OH          90014705031
1B762918147956   MARY         WILLIAMS                 AR          90009739181
1B762A39861958   CARLOS       FLORES                   CA          46048600398
1B762A55672B62   CARLOS       PACHECO                  CO          90013030556
1B762A96193736   NATHAN       STEVENS                  OH          90006080961
1B763633491895   MARIA        GALEANA                  OK          21048976334
1B764572761958   JANET        GUTIERREZ                CA          90008335727
1B76479A75715B   ABDULWAHAB   ABDULWAHAB               VA          90011527907
1B765229872453   SHAWN        MCLAUGHLIN               PA          90015152298
1B765A14191523   ARMANDO      ALANIS                   TX          90013970141
1B76644595B526   MICHAEL      NUNEZ                    NM          90012734459
1B766642272435   PATRICK      AMBROSE                  PA          51042226422
1B76684A972B62   ELFIDIO      SOTELO                   CO          33030958409
1B76696A75B154   DON          MCELROY                  AR          90014749607
1B766A84561976   WILCOX       JOHN                     CA          90011760845
1B767395961958   GILBERT      VALENZUELA               CA          90013683959
1B767988493745   BRIAN        HAVEN                    OH          64512799884
1B76839A25715B   MEIBY        ROMERO                   VA          90010793902
1B768462561972   GUADALUPE    GONZALEZ                 CA          90011204625
1B7687A1672B62   GESELA       DILLON                   CO          33090697016
1B768939957147   JUAN         SANCHEZ                  VA          90008039399
1B769593A47956   JANICE       NOLAN                    AR          24009045930
1B76B289257147   CESAR        SANDOVAL                 VA          90014732892
1B76B348A93745   ELIZABETH    HYPES                    OH          64507513480
1B76B82A161938   RIVELINO     HERNANDEZ                CA          46049938201
1B76B85163B359   WILLIAM      JENNINGS                 CO          90004858516
1B76B98125B35B   ROBERT       KELLY                    OR          90009579812
1B76BA73791263   ERVIN        TATE                     GA          90013040737
1B771336393759   LAURA        MARTIN                   OH          90005263363
1B771364461976   TIM          SILVESTRI                CA          90006233644
1B771575461958   AMERICA      DE LA ROSA               CA          90001785754
1B77241A14B259   REGINALD     ALEXANDER                NE          27039354101
1B77243824B26B   ANTHONY      WEBER                    NE          26064414382
1B77276A761972   EDMUND       CRAWFORD                 CA          90007797607
1B77297875B343   HUGO         ALVIZURES                OR          90013779787
1B772A21976B68   RAFAEL       VALENTIN                 CA          90013040219
1B772A37A91569   TOMASA       CASTRO                   TX          90008760370
1B772A75357147   LUIS         SEQUEIRA                 VA          90013500753
1B773247133668   SHAKIA       PETTIFORD                NC          90004922471
1B773713A7B489   HELEN        MAYERS                   NC          90011447130
1B773A2347B427   FELISHA      JONES                    NC          90011440234
1B773AA4561958   MARIA        MENDOZA                  CA          90015200045
1B77425897B489   JAKE         WRIGHT                   NC          11045322589
1B77434445B154   JOHNNY       SELIGMAN                 AR          90014773444
1B77455547B274   JULIE        STEVENS                  NV          90014395554
1B774662361976   ANDREA       LOEZA                    CA          90009326623
1B7746A3991569   ANDREW       FLORES                   TX          90011916039
1B774864593759   ANTHONY      ARTIS                    OH          90014258645
1B7748A6361938   VANESSA      CARDENAS                 CA          90014108063
1B774931971929   SUZANNE      KERR                     CO          32082249319
1B775137733699   GWENDOLYN    HAUSER                   NC          90013951377
1B77522A272435   JODY         MILLS                    PA          51030692202
1B775381261972   ALEJANDRA    CAMPBELL                 CA          46076903812
1B7758AA891263   MYKALAH      ENGLISH                  GA          90014948008
1B77676628B199   RANDALL      HEINER                   UT          90013937662
1B7769A5572B28   SARA         WARWICK                  CO          33024659055
1B777291443563   COLIN T      PRIM                     UT          90011592914
1B777472331687   VICTORIA     GRANADOS                 KS          90014364723
1B77753695B342   YELENA       VYGOVSKAYA               OR          90001435369
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1B77758438B193   ANGELA        LOWE                    UT          31002945843
1B7779A9391263   ERIC          WASHINGTON              GA          14570689093
1B77816322B877   TANA          NUXOLL                  ID          90000611632
1B77838954B26B   JULIE         GIBSON                  NE          90011273895
1B77855547B39B   LAVERNE       JONES                   VA          81066805554
1B778925976B68   DAVID         OLIVARRIA               CA          90013089259
1B779146291895   TIFFANY       WALLS                   OK          21054311462
1B779193976B68   MARIBEL       GUTIERREZ               CA          46002111939
1B779293891263   TRACEY        SHUMAN                  GA          90008992938
1B779767261976   ELENA         PENA                    CA          90002787672
1B77982317B489   NATHAN        BURROWES                NC          11072088231
1B779A4A75B35B   SERGEY        PUKAY                   OR          90012510407
1B77B36A372435   GRANT         MARONI                  PA          51064753603
1B77B655561997   JAVIER        CALZADA                 CA          90008276555
1B77B73A95715B   DAWIT         TAMERAT                 VA          90008787309
1B781284255948   TRACI         MOLINA                  CA          49004362842
1B781646776B68   ADAM          TRITT                   CA          90011646467
1B78188415715B   WILLIAM       SULLIVAN                VA          90013898841
1B78232365B35B   MICHAEL       BROWN                   OR          44585013236
1B78249835B154   KENDRA        SIMS                    AR          90010784983
1B782553193759   ERICA         BAKER                   OH          90014585531
1B78277A971925   SUSAN         NUSSER                  CO          90012807709
1B78337875B343   CHRIS         MELZER                  OR          44557663787
1B783589357142   QUANETTE      MCDONALD                VA          81010475893
1B783624A91569   IRMA          MORALES                 TX          90009666240
1B783644361938   FERNANDO      CARVALHO                CA          90013056443
1B783A29857147   MANUEL        JOVEL                   VA          90014760298
1B78433735715B   ALI           AHMED                   VA          90006423373
1B784613261976   DESIREE       ACOSTA                  CA          90010046132
1B78545A793759   LINDA         CHAMBLISS               OH          64561284507
1B78559A24B22B   ANJELIKA      SOTO                    NE          90002175902
1B785953455948   ANGEL         BRUNE                   CA          90004749534
1B78641734B588   FLOYD         HILBERN                 OK          21551364173
1B786429155948   LESLI         CASTELLON               CA          90009104291
1B7864A4593759   WILLIAM       FREEMAN                 OH          64563934045
1B787188661936   DIANA         GOMEZ                   CA          90009541886
1B787583691523   LOPEZ         IVAN                    TX          90003945836
1B78776628B199   RANDALL       HEINER                  UT          90013937662
1B78797999154B   GUADALUPE     JAQUEZ                  TX          75033969799
1B788363657147   ANTONIO       RIVERA                  VA          90008673636
1B78876A591569   JENINIFER     HENDERSON               TX          90011507605
1B789284257199   LISA          RUIZ                    VA          81012732842
1B78943227B489   GRACIELA      GONZALES                NC          90002284322
1B789982357147   JOSE          DIAZ                    VA          81013829823
1B78B317961938   NICOLE        KERN                    CA          46060963179
1B78B728A51337   JUSTIN        JONES                   OH          90000727280
1B78B93A18B199   MICHAEL       WHITESELL               UT          90010519301
1B791262261976   CHRISTOPHER   NAVARRO                 CA          90010692622
1B791776147956   JARELL        HARRIS                  AR          24008657761
1B79245948B193   REBBA         MARTINEZ                UT          90010724594
1B792488233699   BENJAMIN      MERRIMAN                NC          90013964882
1B7924A2491523   ALEJANDRO     MARTINEZ                TX          90015124024
1B792A22993745   MARKUS        MAYBERRY                OH          90014530229
1B793146561976   SIDNEY        LOURIS                  CA          90011151465
1B793172761938   ADRIANA       SANCHEZ                 CA          46076931727
1B79324464B588   CHRIS R       PENCE                   OK          21553052446
1B793645A76B68   RODRIGO       GUERRA                  CA          90013776450
1B79387128B199   KRISTY        SASSER                  UT          31088468712
1B79393655715B   BLANCA        ROSSA BERRIOS           VA          81058199365
1B79458985B526   LISA          SANDOVAL                NM          35043735898
1B795425361958   ARMANDO       RAMOS LLAGAS            CA          90011234253
1B795584661972   MONIQUE       LOPEZ                   CA          90009385846
1B795665961972   MONIQUE       LOPEZ                   CA          90014986659
1B795698193745   SHAWN         FAIR                    OH          64551836981
1B795793A55948   GUADALUPE     MANZANO                 CA          90013037930
1B796168A91263   BART          DANALSTALE              GA          90015551680
1B79782435B343   JEAM          THOMPSON                OR          90013578243
1B797A94271929   CHRIS         ALBA                    CO          90013280942
1B79837365B154   SHERRY        LEWIS                   AR          90014773736
1B798859876B68   PEDRO         HERNANDEZ GONZALEZ      CA          46043668598
1B799341691569   ALVARO        LERMA                   TX          90012903416
1B799577155948   PABLO         CRUZ                    CA          90015155771
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1B79969955B526   TERESA       DOMINGUEZ                NM          35030236995
1B79B632872453   BRIAN        COLE                     PA          90012256328
1B79B648447956   REYES        FERNANDO                 AR          24049326484
1B79B71585B526   VALERIE      MARTINEZ                 NM          35008047158
1B79B887391895   LYDIA        BECERRA                  OK          90004868873
1B7B12A974B259   DAKOH        BIRREGAH                 NE          27081422097
1B7B1354A8B183   G JESUS      ESPINDOLA                UT          90009123540
1B7B139515B526   SHEENA       LOPEZ                    NM          90014923951
1B7B1531961972   ALFREDO      REINAGA                  CA          46003025319
1B7B1716454B83   JOSHUA       PRICE                    VA          90015547164
1B7B2795A76B68   JOSE         SILVA                    CA          90013357950
1B7B286A68B199   AUSTIN       MILLAR                   UT          31012908606
1B7B2928A61938   DORA         TELLEZ                   CA          46056159280
1B7B31A4A4B537   TINA         DAVIS                    OK          90008851040
1B7B347358B199   MARIA        FLORES                   UT          90011094735
1B7B3855347956   MICHAEL      TUCKER                   AR          90010818553
1B7B388322B924   ANGEL        PADILLA                  CA          90003378832
1B7B3885493745   LORIE        IRETON                   OH          64595098854
1B7B43A724B23B   KATHY        BUXTON                   NE          27077563072
1B7B4488372453   ROSEMARY     BIRD                     PA          90015414883
1B7B448A65B35B   HECTOR       CASILLA PEREA            OR          90004714806
1B7B5262361976   MATTHEW      LIVINGSTON               CA          90013992623
1B7B5667172B62   KELLEY       MAURO                    CO          90007386671
1B7B5823972435   SANDY        BORLAND                  PA          51093508239
1B7B5866961958   KI           VANG                     CA          90013838669
1B7B5999776B68   ROSARIO      DIAZ                     CA          90013039997
1B7B6357672453   CHRIS        CLEMENS                  PA          51056053576
1B7B668155B154   JESUS        VALADEZ                  AR          90014746815
1B7B6A84657147   VERTHA       REYES                    VA          81076960846
1B7B725A833699   DAMIAN       RUIZ                     NC          90013942508
1B7B777244B23B   LISA         THAUSER                  NE          27013617724
1B7B796134B259   KYLE         FEIK                     NE          27053749613
1B7B8333A8B199   JOHN         HERRIN                   UT          90009443330
1B7B862A95B343   LORRI        GILLENWATER              OR          90009026209
1B7B9167261938   MARTHA       MOONE                    CA          90013171672
1B7B9216497B38   DEBBIE       GOMEZ                    CO          90006852164
1B7B96A9343563   FRANK        QUESADA                  UT          31077036093
1B7BB25767B489   TANIKA       MILLER                   NC          90008352576
1B7BB54395715B   HASAN        RAHMAN                   DC          90015125439
1B7BB781993745   TIFFANEE     FOOS                     OH          90011187819
1B7BB862872453   CHRISTI      PATTERSON                PA          90014798628
1B7BB969191569   NANCY        IBARRA                   TX          90014069691
1B81121A893759   CONNIE       STEWART                  OH          90014572108
1B811896793766   REGINA       HATCH                    OH          90005618967
1B811A61161972   TATANISHA    MILLS-ANAWAT             CA          90011270611
1B81214A48B199   OMAR         VALDOVINOS               UT          90013321404
1B812287531687   IRENE        AGRAZ                    KS          90014902875
1B812352791869   JULIE        FULTZ                    OK          90005383527
1B81252A861938   VINCENT      BARRON                   CA          90001195208
1B812618872B55   ANDREW       AHRENDTS                 CO          90003406188
1B812634451337   MOISES       CRISTBOL                 OH          90007886344
1B81271AA91263   ASHLIEGH     WYNN                     GA          90006367100
1B813128191263   DRU          HARVILLE                 GA          14501841281
1B813299972B62   GERARD       ANKELE                   CO          33048212999
1B81367A85B526   RALPH        CORDOVA                  NM          90002496708
1B813728591523   JANETTE      TORRES                   NM          90010697285
1B813824A93745   DONNY        PRITCHETT                OH          64569888240
1B814265591523   NANCY        RIVERA                   TX          90002722655
1B814876A4B543   TANIA        RUBIO                    OK          90005938760
1B814A44631468   RIZA         DILLON                   MO          90012630446
1B815163791895   FRED         COVEY                    OK          90000861637
1B815997961958   KIDUST       MULATU                   CA          90012309979
1B816246891569   JORGE        GODINEZ                  TX          90013932468
1B816319A4B588   WAYNE        RENFROE                  OK          21503203190
1B816446147956   KRYSTAL      RUSSELL                  AR          24047074461
1B81655864B22B   DEVIN        HERNANDEZ                NE          90011285586
1B816624251337   CHESLIE      BOLDEN                   OH          90010006242
1B817428761958   ANDY         DE VRIES                 CA          90012744287
1B817436984375   LEATRICE     JOHNSON                  SC          19009814369
1B81754257B489   QUADARRIUS   HOLT                     NC          90012825425
1B817725876B68   CESAR        SILVA                    CA          46066437258
1B817992761972   RAMOS        RIGOBERTO                CA          90013239927
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1B818625161976   MAYRA         SALINAS                 CA          90008306251
1B818814351337   JOHN          GALLARDO                OH          66004398143
1B818A64272453   ELIZABETH     WESLEP                  PA          51005380642
1B819486631687   DALANDO       HENDERSON               KS          90008794866
1B819572861976   SARA          JUAREZ                  CA          90015115728
1B8195AA47B489   JEFFREY       HARRINGTON              NC          90013905004
1B819769133699   CARLOS        RAMOS                   NC          90013967691
1B81982385B154   CHRISTY       TAPP                    AR          90015108238
1B81B479872453   DONALD        MASON                   PA          90012474798
1B81B75458B193   JAKE          WYKER                   UT          90002537545
1B82131165715B   BELLINI       SOLIS                   VA          90014163116
1B8213A962B966   MILAGROS      RAMIREZ                 CA          90002623096
1B821437661958   O             BRIAN                   CA          90013894376
1B822214472435   MERANDA       DAVIS                   PA          51070592144
1B822279461972   KENDRA        MACIAS                  CA          90010342794
1B82241285B35B   REBEKAH       HODGES                  OR          90013834128
1B82282715715B   LOIDA         LLANES                  VA          81065748271
1B823528176B68   HILDA         GARCIA                  CA          46086335281
1B823573A8B199   DESTINI       DOYLE                   UT          90014955730
1B823698491569   ALICIA        APODACA                 TX          90010486984
1B823973A4782B   PARRIS        FOSTER                  GA          14086229730
1B823999261958   CRUZ          MENA                    CA          46024029992
1B82422535B343   DEBRA         HAMBOUTH                OR          90014882253
1B824351151337   DOROTHY       FAIRBANKS               OH          66026763511
1B824554993759   KENDRE        LAMAR                   OH          90014605549
1B82467884782B   DONTERIOUS    COPELAND                GA          90002586788
1B82473755413B   PAYGO         IVR ACTIVATION          OR          90014327375
1B824745776B68   CINTHIA       HERRERA                 CA          90007937457
1B8248A967B489   DAVID         CANNON                  NC          90010998096
1B824A8685715B   SUZETTE       HUFF                    VA          90006680868
1B825183731687   CYNTHIA       GRIFFITH                KS          90014971837
1B8253A1471967   LEON          WANTUCK                 CO          38093103014
1B825532257164   LIDIA         ZAMBRANA                VA          81061705322
1B825637393763   CHRISTOPHER   CHOBOT                  OH          90010326373
1B8256A7947956   FRANCISCO     PADILLA                 AR          90008956079
1B825712133699   ROY           AUTRY                   NC          12096457121
1B826121593745   SHARON        HESLEY                  OH          90013981215
1B8261A1891523   ELIZABETH     REYNA                   TX          90006391018
1B826338391569   LUIS          RAMOS                   TX          90013293383
1B826534333699   BRENDA        JEFFERS                 NC          90011765343
1B826A4258B199   BRIANNA       EVANS                   UT          90014450425
1B8273A992B249   MARGARET      DAVIS                   DC          81018523099
1B827697972B62   ALEJANDRO     CALDERON                CO          90009546979
1B8281AA361976   GEORGINA      CARDENAS                CA          90003051003
1B828295955948   SCOTT         RICHMOND                CA          90010092959
1B828514557147   CARLOS        SANCHEZ                 VA          90014735145
1B82862575B526   MARIA         OLIVAREZ COPADO         NM          35090216257
1B828687947956   ANGEL JOSE    PAREDES                 AR          24071976879
1B82876725715B   JESSICA       MENDEZ                  VA          90008707672
1B828871591569   VIANEY        VILLA                   TX          90010838715
1B82975A372453   PAM           EVANS                   PA          51089937503
1B82B15639198B   TIESA         BROWN                   NC          17036671563
1B82B533593759   JASON         ELDRIDGE                OH          90014605335
1B82B82385B154   CHRISTY       TAPP                    AR          90015108238
1B82B994393745   DUSTIN        RATCLIFF                OH          90009869943
1B83124834B23B   DERRICK       WALKER                  NE          27051062483
1B831317961972   LOUIS         CONNER                  CA          90014713179
1B83181675B35B   LETICIA       RUIZ                    OR          44568708167
1B831A33491569   JESUS         RAMIREZ                 TX          75042780334
1B83216AA93766   TREY          PALERMO                 OH          90005671600
1B832873897B69   TEODOSO       GAMBOA MIRANDA          CO          90015178738
1B833635547956   AZUCENA       HERNANDEZ-GONZALEZ      AR          24057156355
1B833699293759   SAMANTHA      PLAIR                   OH          90014616992
1B83384265B35B   LETICIA       VARGAS                  OR          44568708426
1B833A3625B343   IRMA          JIMENES                 OR          90014920362
1B83422A477522   JOSE          MARRON                  NV          90001172204
1B83424215715B   FRANDO        AGUIRRE                 VA          81014982421
1B834A59276B68   PAYGO         IVR ACTIVATION          CA          90013790592
1B834A79691523   CARMEN        COSME                   TX          75015140796
1B835766255948   SONYA         GUERRERO                CA          49006347662
1B83652A45B74B   DUSTIN        STONE                   MN          90013385204
1B8365A318438B   PATRICIA      LOPEZ                   SC          19049065031
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1B836A39191868   GAYLE        BURRIS                   OK          21001240391
1B837546661958   LATEA        LACY                     CA          90011235466
1B837783461972   CESAR        CASTILLO                 CA          90012937834
1B83858445715B   LEON         RUTLEDGE                 VA          90011865844
1B839129A93759   JEFFREY      FUDGE 2                  OH          90003771290
1B839139A93745   SUEANN       ENGLAND                  OH          90010651390
1B839436447956   DUSTIN       MCCLELLAN                AR          90010384364
1B839571957147   DANIEL       GONZALEZ                 VA          90010435719
1B83964215B35B   HERMELINDA   MANCERA                  OR          44587406421
1B8397A835B526   WENDY        ACOSTA                   NM          35029687083
1B839975155948   MIRIAM       ALVARADO                 CA          90014419751
1B83B885251329   BENJAMIN     GINGRICH                 OH          90010408852
1B841197533699   ASHLEY       CRIGGER                  NC          90011741975
1B841754293745   ALEX         PENNY                    OH          90007827542
1B84176A48B199   CHELSIE      THOMAS                   UT          90009447604
1B841916133699   LASHONA      JOHNSON                  NC          90013969161
1B842131A76B68   CARINA       BUTTRESS                 CA          90013221310
1B842193976B68   MARIBEL      GUTIERREZ                CA          46002111939
1B842356391523   CONNIE       CADENA                   TX          90010873563
1B842523293759   CINDY        CUNNINGHAM               OH          90014625232
1B843223561938   ALEJANDRO    ANTUNEZ                  CA          90008092235
1B84382895715B   SAKDA        PHUENPHIPHOP             VA          90010848289
1B843872661958   RUBEN        HERNANDEZ                CA          90007668726
1B844385661972   ISAAC        ACOSTA                   CA          90014053856
1B844432A91523   ARACELI      DIAZ                     TX          90014154320
1B844523293759   CINDY        CUNNINGHAM               OH          90014625232
1B845214991895   PRESTON      TATRO                    OK          90010492149
1B845228693759   ROBBIE       DAY                      OH          64518752286
1B8452AA15B35B   MARIANA      RIOS                     OR          90006252001
1B84542285B154   ISIC         MCFEE                    AR          90014784228
1B845583376B68   BENJAMIN     LOPEZ                    CA          46056625833
1B845A4624B588   MICHELLE     CLARK                    OK          21501570462
1B846484791263   CHRISTIAN    THOMPSON                 GA          90012934847
1B846883474B85   JAMES        CARPENTER                OH          90015358834
1B846A8A95B154   ELEAZAR      BELMONTES                AR          90010360809
1B847132561976   SHANNON      LEACH                    CA          46052211325
1B8471AA161972   DEBBIE       SIMPSON                  CA          90012991001
1B848454161976   PABLO        GARZA                    CA          90014754541
1B848538693759   TRENT        WILSON II                OH          90014625386
1B848729A72B62   RONALD       EDSON                    CO          90011517290
1B848A1215B35B   CRYSTINA     CLUSTER                  OR          44556880121
1B848A53976B68   JOSE         AVILES                   CA          90013530539
1B849326957147   JOSE H       ARREOLA G                VA          90012603269
1B849375391263   ANGEL        JOHNSON                  GA          90013523753
1B849725161976   MARICELA     SALDANA                  CA          90000167251
1B84B45138B336   ALEJO        ZARATE                   SC          90015494513
1B84B462893759   ANESHA       ROBINSON                 OH          90014624628
1B84B554A72B55   LAURA        LOPEZ                    CO          90013585540
1B84B79347B428   CAROLYN      WATKINS                  NC          90002917934
1B84B918291895   JOHNNY       COLEMAN                  OK          21081039182
1B851125691523   BRENDA       QUEZADA                  TX          90013291256
1B85145774B26B   GRACE        KOPYCINSKI               NE          26067574577
1B85179884B22B   SARAH        HOLMES                   NE          90014097988
1B852121661976   GUSTAVO      CERROS                   CA          90010101216
1B85213638B199   IVAN         ROSALES                  UT          90013361363
1B852142593745   RICHARD      LEISTNER                 OH          90012461425
1B85242925B154   EBONY        STACKER                  AR          90014784292
1B852433355948   RAYMOND      STRING                   CA          90005394333
1B852A28961958   MARIA        LOPEZ                    CA          46007950289
1B85417852B966   MELINDA      MAUPIN                   CA          90002781785
1B85431375B526   ADRIANA      GARCIA                   NM          90008053137
1B854343A91569   MARTIN       NAJERA                   TX          90012753430
1B854432976B68   STEVE        MCCLUSKEY                CA          90014294329
1B85534835715B   MIRIAN       URBINA SOSA              VA          90003893483
1B855521661972   JOSHUA       BROADNAX                 CA          90013185216
1B8558A3247956   JUAN         BARROSO                  AR          90010748032
1B855982755948   FRANCISCO    BERNAL                   CA          49047579827
1B8559AA261957   CESAR        CARIBAY                  CA          90012329002
1B856131A76B68   CARINA       BUTTRESS                 CA          90013221310
1B85647367B489   JUAN         RUBIO                    NC          90003374736
1B85665815B154   CATINE       HENDERSON                AR          90015106581
1B85686445B526   FRANCINE     GONZALES                 NM          90013978644
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1B85712445B35B   KYLIE        MCGINNIS                 OR          90011931244
1B85759945B35B   ERIC L.      WINTERS                  OR          90012365994
1B857A4445715B   DORIS        CAPRIEL                  VA          81004710444
1B857A69693759   LAURA        HOSTETLER                OH          90011660696
1B85811899154B   ELSA         APODACA                  TX          90013751189
1B858232457147   CESAR        CHUMIL                   VA          81035032324
1B858474A9154B   ISRAEL       APODACA                  TX          90003484740
1B858A51191569   VERONICA     SILVA                    TX          75009640511
1B859375357147   PEDRO        GARCIA                   VA          90008053753
1B859439451337   STANDER      CHANDRA                  OH          90006194394
1B85B371957147   MARIA EMMA   ERICK GONZALEZ           VA          90012613719
1B85B4A1A57147   MELISSA      JOBACK                   VA          90014724010
1B85B571A31456   FREDRICK     COLLINS                  MO          27503615710
1B85B823933699   STACY        STRICKLIN                NC          90011888239
1B861618672B62   MELANIE      HEATH                    CO          90002706186
1B86162A75B343   JOSE LUIS    CHAVEZ CHAVEZ            OR          90013416207
1B861999441384   FERNANDES    EDVALDO                  MA          90014249994
1B8624A8991573   JESSIE       DORADO                   TX          75096494089
1B862636661976   AIOTEST1     DONOTTOUCH               CA          90015116366
1B862951A5B154   KANDISE      JARRETT                  AR          23065689510
1B86312524129B   BETTY        CUNNINGHAM               PA          90012291252
1B863428891547   FRANCISCO    VASQUEZ                  TX          90007444288
1B863476451337   ANTONIO      RAMIREZ                  OH          90015224764
1B863A83533699   KRISTAL      RAUL                     NC          90013970835
1B864998A51337   KARINA       PEREZ                    OH          66050619980
1B86518168438B   SALLY        GEATHERS                 SC          90005051816
1B86529515715B   JAMES        WILLIAMS                 VA          90013332951
1B86544244B26B   IRIS E       MONGE                    NE          90011534424
1B866521A7192B   BRANDEN      ROBINSON                 CO          32024305210
1B866857161972   BRIAN        HANSON                   CA          46006538571
1B866A26957122   SIFREDO      FRANCO                   VA          81027520269
1B866A28172B62   MIKE         SAMPAYA                  CO          90012930281
1B866A61291263   THOMAS       LANG                     GA          90009270612
1B867636161938   BILL         RENDA                    CA          46085056361
1B867886A33699   FREDDIE      PHILLIPS                 NC          12023858860
1B86852AA76B68   DIANA        SANCHEZ                  CA          46004415200
1B868782391569   CARLOS       CHAVEZ                   TX          75005377823
1B868829193745   CHARLES      NOEL                     OH          90010948291
1B869327557142   ARELY        LAZO                     VA          90006333275
1B869543A5B526   AHILY        ORTIZ                    NM          90010255430
1B86B358A72453   CHRIS        RITENOUR                 PA          90011113580
1B871413991523   MARTIN       GARCIA                   TX          90013664139
1B8721A9261958   JONOTHAN     FIGUEROA                 CA          46048601092
1B872333657122   GLORIBETH    RAMOS                    VA          81029703336
1B87247165B154   JENNIFER     TORRADO                  AR          90011134716
1B87272A693759   CHUK         CASTO                    OH          90011667206
1B87372A693759   CHUK         CASTO                    OH          90011667206
1B873742761976   DIANA        GRIGSBY                  CA          90013227427
1B87398145B343   ROBERTA      MONCKTON                 OR          90000389814
1B873994657142   MIGUEL       CAPELA                   VA          90005939946
1B8742A8257147   AL           CHOLIC                   VA          90012142082
1B874415491523   JUAN         MONTES                   TX          90013664154
1B874479751337   MELL         SUMMERS                  OH          90009594797
1B8745A5697B63   JEFFERY      WHITEIS                  CO          90005755056
1B874686793759   SHONTE       WILLIAMS                 OH          64548976867
1B875211176B68   ANTHONY      CASCIOPPO                CA          46016832111
1B87546715B154   RAMON        WRIGHT                   AR          23090824671
1B875576A5B35B   RODRIGO      PAZ                      OR          90011035760
1B875945993745   RODNEY       JENKINS                  OH          90014239459
1B876418491523   CRYSTAL      CONTRERAS                TX          90013664184
1B8765A255B154   DERRICK      WHITE                    AR          90014785025
1B8766A415715B   ROSA         BONILLA                  VA          81015186041
1B877186955948   GUSTAVO      PEREZ                    CA          49008841869
1B878387851337   BUGS         BUNNY                    OH          90014953878
1B87844945715B   VERONICA     CHAVEZ                   VA          90013404494
1B87845965715B   DANIEL       RUIZ                     VA          90007844596
1B8784A8893759   RONALD       CROWE                    OH          90014644088
1B878742372B62   REYNALDO     ANZURES CEVANTES         CO          33099307423
1B878791633668   TAWANNA      WILSON                   NC          90009187916
1B8789A248B199   CHRISTINA    WINBERG                  UT          90008009024
1B8791A665B343   FRANK        RIZZO                    OR          90013381066
1B87996885B35B   MARLA        HEGWOOD                  OR          44540189688
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1119 of 2500


1B879A59776B68   JAZMIN       LOPEZ                    CA          90014640597
1B87B474891569   LUIS         VEGA                     TX          90012724748
1B87B636661976   AIOTEST1     DONOTTOUCH               CA          90015116366
1B87B875472B62   MUGUEL       NAVARRETE                CO          90012468754
1B881447691569   JOSUE        RAMIREZ                  TX          90014564476
1B881786576B68   JAIME        ROCHA                    CA          90006267865
1B881AAA78B193   JOSE         RODRIGUEZ                UT          90006930007
1B882149761976   TIANA        BELL                     CA          90014181497
1B882545172453   FELIPE       SANCHEZ                  PA          51059725451
1B882581272B62   CHRIS        SMITH                    CO          90011975812
1B883141184375   KATREENA     SPANN                    SC          19009821411
1B88337847B337   ALPHA        SESAY                    VA          90007213784
1B8836A1961972   ALEXANDER    RILEY                    CA          46047576019
1B883A3A272B62   KRISTIAN     KELLAM                   CO          90014980302
1B884194A61938   WASHINGTON   KOPENSKI                 CA          90013831940
1B884783861976   ANA KAREN    COLADO                   CA          90010637838
1B884A1335715B   PEDRO        ENROQUES                 VA          90008670133
1B885133976B68   REMEDIOS     LOPEZ                    CA          90001551339
1B8858A9555948   ANTONIA      RUIZ                     CA          90014858095
1B885965A91569   CORINA       ROSALES                  TX          90012909650
1B88626474B26B   MARIA        KENNEDY                  NE          90007132647
1B886731376B68   JOSE         FLORES                   CA          46081517313
1B886A39861958   CARLOS       FLORES                   CA          46048600398
1B887486631687   DALANDO      HENDERSON                KS          90008794866
1B88757A861938   MARIO        ROMAN                    CA          90012685708
1B887629761976   LUZ          CASTRO                   CA          90012216297
1B887A8A19154B   ALFONSO      CRUZ                     TX          75093630801
1B88854667B489   TOMMY        JOHNSON                  NC          11059535466
1B88862345B343   WAYNE        BACKLUND                 OR          90005996234
1B888794861976   EDUARDO      GONZALEZ                 CA          90014157948
1B88882445B154   TYNESHA      WEIGNT                   AR          90014788244
1B88929887B489   CLARA        RODGRIGUEZ               NC          90011302988
1B889393791523   GLORIA       SOTO                     TX          90008283937
1B889575361958   DANIEL       ALMARAZ                  CA          90013815753
1B889812533639   ANGELICA     GARICIA                  NC          90013958125
1B88B12795B343   STEVEN       FAULKNER                 OR          90014921279
1B88B193833699   MESHA        SHAW                     NC          90013971938
1B88B39975715B   OLMER        CHICAS MEDRANO           VA          90015313997
1B88BA65891523   RICHARD      RANGEL                   TX          75002920658
1B891153191263   LORI         SWINSON                  GA          90015251531
1B891565391569   SAMUEL       MUELA                    TX          90012675653
1B891871593759   TODD         RICE                     OH          90012788715
1B89261515B343   YURIRIA      CHAVEZ ESTRADA           OR          90014996151
1B892719291895   KACI         CACKLER                  OK          90014657192
1B892897293759   RODNEY       DOCKERY                  OH          90014628972
1B892A64851337   CARLO        MONT                     OH          90012610648
1B893665193745   ARIEL R      BLEVINS                  OH          64508806651
1B894521661972   JOSHUA       BROADNAX                 CA          90013185216
1B89461515B343   YURIRIA      CHAVEZ ESTRADA           OR          90014996151
1B894673A76B68   JARLETON     HOPE                     CA          90013406730
1B895232A93745   JASON        LAVEY                    OH          90012142320
1B89532A361958   ANABEL       CARRERA                  CA          90012763203
1B89537834B23B   OMOLOLA      HUGUES OKE               NE          90007583783
1B895575A72453   SAMMY        LINCOLN                  PA          90013315750
1B895671557147   LINSEY       STEPHENS                 VA          90014746715
1B895721147956   SAKEENAN     BLACK                    AR          90004037211
1B896131A76B68   SONIA        CRUZ                     CA          90011791310
1B89654582B263   CHATIA       MOTLEY                   DC          90014585458
1B896897293759   RODNEY       DOCKERY                  OH          90014628972
1B897736393745   HOLLY        CHARLES                  OH          90001287363
1B89789268439B   LAYLA        MANNING                  SC          90008978926
1B8991A575B343   JAIME        RODRIGEZ                 OR          90007041057
1B8991A585B154   JONATHAN     WRIGHT                   AR          23043141058
1B89925885715B   MARIA        DIAZ                     VA          81060142588
1B89926895B526   MOJGAN       SAADWAND                 NM          90001322689
1B8993A8551337   EARNESTINE   DAVIS                    OH          66039433085
1B899436447956   DUSTIN       MCCLELLAN                AR          90010384364
1B899A4114B588   LINDA        YOUNG                    OK          90012230411
1B899A44591523   LILI         VEGA                     TX          90003720445
1B899A87447956   MARISOL      ESCOBAR                  AR          90010750874
1B89B61515B343   YURIRIA      CHAVEZ ESTRADA           OR          90014996151
1B89BAA3251337   RANDIE       COSTIGAN                 OH          90015610032
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1B8B122A87B489   ALEJANDRINA   FLORES                  NC          90011462208
1B8B1296947956   REGISTER      RODNEY                  AR          24079142969
1B8B1626191569   CARLOS        RAMIREZ                 TX          75066366261
1B8B1687A91263   AMANDA        WATERS                  GA          90012576870
1B8B171614B22B   AMANDA        GEHRING                 NE          90008907161
1B8B1748972B37   GRISELDA      DOMINGUEZ               CO          33061057489
1B8B222335B154   PRINCESS      FARR                    AR          90014782233
1B8B237515715B   ALEXIS        QUIÑONEZ                VA          81012423751
1B8B2873A91895   JOSE          URQUIZA                 OK          21095668730
1B8B3382A5B154   KRYSTIANA     LEWIS                   AR          90014773820
1B8B372A861976   ADOLFO        LOPEZ                   CA          90001797208
1B8B389215B35B   ROCKY         BALANGITAO              OR          90011518921
1B8B3A37385858   MICHAEL       KELLY                   CA          90014110373
1B8B3AA8261958   SUSANNA       GONZALEZ                CA          90014850082
1B8B4697591523   MELISSA       CANO                    TX          75063726975
1B8B498A133699   CATHY         DOW                     NC          90003799801
1B8B4A89722929   SHEREE        HARRISON                GA          90013900897
1B8B5158161924   CATHERINE     WEIXELDORFER            CA          90012771581
1B8B533375715B   MIRIAM        LOPEZ                   VA          90001883337
1B8B53A625B154   TANYA         ANDERSON                AR          90014513062
1B8B545A793759   BUFORD        PAGE                    OH          90011924507
1B8B5462672453   CLARENCE      LEE                     PA          90002024626
1B8B5669661958   JUAN          RAMIREZ                 CA          90007646696
1B8B592784B23B   WILLIAMS      LEAH SUE                NE          27073289278
1B8B6244555948   PEDRO         HERNANDEZ               CA          90003072445
1B8B667A961938   ERICK         CRUZ                    CA          46014496709
1B8B6976493759   NEYHA         SMOOT                   OH          90004959764
1B8B73A7755948   KRISTEN       LEE                     CA          90004763077
1B8B742385715B   LESTER        CHACON                  VA          90013654238
1B8B74A7161958   NORA          BECERRIL                CA          90013684071
1B8B7852A76B68   FERNANDO      BARRAZA                 CA          46072658520
1B8B8223191263   LAQUISHA      BRINSON                 GA          90011652231
1B8B872832B926   MARGARITA     GALLEGOS                CA          90003357283
1B8B8848861958   ANTONIO       SIMPSON                 CA          46005978488
1B8B888264B22B   RUSTAM        ABDULLOEV               NE          90013918826
1B8B973A77B489   DANNENE       WARD                    NC          11009277307
1B8B9772772B55   PRISCILLA     ESPINOZA                CO          33070967727
1B8B9814791884   ROCIO         VAZQUEZ                 OK          90006588147
1B8B9954872B43   CARLOS        RODRIGUEZ               CO          90011839548
1B8B9A46A61938   VICTOR        GONZALEZ                CA          46049940460
1B8BB242591895   TIMOTHY       ETTINGER                OK          90009092425
1B8BB59974B26B   JAMILA        HALE                    NE          90003525997
1B8BB8A898B199   BEN           DEVEREAUX               UT          90013938089
1B911732893745   JAMES         JEFFERS                 OH          64547147328
1B911987733699   SANDRA        CRAWFORD                NC          12084259877
1B911AA575B526   SARAH         RODGER                  NM          90010340057
1B91253764B22B   DARITH        KHIM                    NE          27008005376
1B912596A91838   GISELLE       BARBOSA                 OK          21012505960
1B91269A69154B   SANDRA        MARTINEZ                TX          90004286906
1B912948161976   MICHAEL       OCHOA                   CA          46040949481
1B912A87193759   BETHANIE      ABSTON                  OH          90014630871
1B913173557147   ROSA          SANTOS                  VA          90005661735
1B913755455948   MATEO         MENDOZA                 CA          90013277554
1B913941676B68   NANCY         REYES                   CA          90014849416
1B91413485B154   CHARLES       JONES                   AR          90012211348
1B914433872B28   ADAN          DURAN                   CO          90007574338
1B914768561976   LUIS          SANCHEZ                 CA          90014017685
1B914A5A772B55   MIA           WESTBROOKS              CO          90003410507
1B915142593759   BRITTANY      PHILLIPS                OH          90014661425
1B9151A4793759   MISTY         BROWN                   OH          90014631047
1B91565285B35B   JORGE         FLORES                  OR          90013376528
1B915734191895   JACKIE        CLEMMER                 OK          90014657341
1B91611268438B   JUANITA       WARING                  SC          19053411126
1B916A1487B38B   MARTHA        VALDEZ                  VA          90000340148
1B916A8125B526   PEDRO         GRANILLO                NM          90013320812
1B91721112B966   OSVALDO       CRUZ                    CA          90002832111
1B91733884B259   GERMAN        ARRIAGA                 IA          90004843388
1B917393761972   JESUS         LUTZ                    CA          90014753937
1B917529A91996   ANGELA        MERRITT                 NC          90012615290
1B91832365B35B   MICHAEL       BROWN                   OR          44585013236
1B918672751337   TONY          DENNIS                  OH          66029846727
1B918752357147   MOISES        VASQUEZ                 VA          90015107523
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1B918829571957   JENNIFER         CATRON               CO          90013978295
1B918A5135715B   RAYMOND          CROWELL              VA          90007580513
1B91929644B259   MARIO            RUEDA                NE          27042502964
1B91963755B343   GABRIELLE        WARMBRODT            OR          90015126375
1B919941572453   DAVID            MEDLIN               PA          90001769415
1B91B228591573   FRANCES          HERRERA              TX          75025542285
1B91B425191895   RONDA            SHAW                 OK          21056304251
1B91B437361938   BRENDA           NAVARRO              CA          90009984373
1B91B45725715B   JUANA            FUNEZ                VA          90014654572
1B91B675857147   LILIA            COLMENARES           VA          90014746758
1B91B75A791569   CLARENCE         MARPLE               TX          75012377507
1B92176AA4B26B   JULIE            MEYER                NE          26037287600
1B921951447956   CLAY             REED                 AR          90014539514
1B921969193759   ANGELA           REDMAN               OH          90005499691
1B921A18172435   TAMMY            SANTUCCI             PA          51062980181
1B922162393759   BELINDA          MILLER               OH          90007251623
1B92241168B193   ISELA            CASSIDY              UT          31097874116
1B922432561976   SONYA            DENN                 CA          46022634325
1B922961947956   BECCA            SANCHEZ              AR          90006079619
1B922A99291586   CONCEPCION       LOPEZ                TX          90009400992
1B9233A9A93759   TYLER            PHARES               OH          90014633090
1B923484191895   SHAWN            DUNCANT              OK          90014604841
1B92367625B343   JOSHUA           BENNETT              OR          90014996762
1B923686761958   LUIS             ROA                  CA          46036916867
1B923919A57124   ELLOY            GALLARDO             VA          90010429190
1B92399564B22B   ASHLEE           HIATT                IA          27091519956
1B924433855948   ROBERTO          DE LA MORA           CA          90012534338
1B9249A7971933   GREGORY          FARRAR               CO          90011679079
1B925342291263   SEIRRA           JONHSON              GA          90011103422
1B92534A39154B   LOURDES          TERAN                TX          90013963403
1B9256A235B343   ALBERTO          AROCHE               OR          90002646023
1B925737872435   NORA             ANDERSON             PA          90005957378
1B92676A591895   NATASHUA         CORY                 OK          90014657605
1B926824372453   ARTHUR           MULL                 PA          90014058243
1B927364361938   ISSAMAR          MARTINEZ             CA          90015043643
1B92763317B489   BARBARA          MCCAIN               NC          90008196331
1B927763355948   JULIO            ZARAGOZA             CA          90011427633
1B92778A561958   REDIET           TEFERA               CA          90014047805
1B92782594B22B   JESUS            DERAS HERNANDEZ      NE          90007928259
1B92787175B154   ODESSA           LAY                  AR          90014788717
1B927A26391263   BASHLOR          DEWEY                GA          90008430263
1B9282A5A33699   EVELYN           KENNER               NC          12096622050
1B92839465B229   TEYDIA           DUNCAN               KY          68002653946
1B928413851337   MICHAEL          CHANAK               OH          66096314138
1B9289A1276B68   JOSE LUIS        GONZALEZ             CA          46083429012
1B928A2558B194   FAWNRAE          STEELE               UT          90001240255
1B929458933699   ROBERTO          MONTOYA              NC          90011774589
1B929926793758   TOMMY            JOHNSTON             OH          90012629267
1B92B469891569   LOURDES          INIGUEZ              TX          90012174698
1B92B77A561958   JESSICA          PEREZ                CA          90014467705
1B92B84A95B526   GRACIELA         VERA                 NM          90013678409
1B92B935357147   NESTOR ARMANDO   ZALDANA              VA          90003839353
1B92B979751337   JEROME           WHITAKER             OH          66096309797
1B92BA52972453   MICHELLE         KARMANN              PA          51083500529
1B931241661976   JULIA            MEDINA               CA          46033922416
1B93142255B343   LUIS             QUIM                 OR          90011904225
1B931436461976   MONICA           CRUZ                 CA          90008204364
1B9314A417B489   REINA            LAUREANO LARA        NC          90012454041
1B93216259154B   ELIAS            LICON                TX          90002611625
1B932187376B68   SALVADOR         MEJIA                CA          90013221873
1B93222365B35B   DENNIS           MACDONALD            OR          90014602236
1B932597391523   MARTIN           CORRALEJO            TX          90009505973
1B932A7465B343   ANDREA           MARTINEZ             OR          90013340746
1B9331A2361976   BRIANA           OCHOA                CA          90013971023
1B933757661972   WENDY            PRECIADO             CA          46035477576
1B93412A491569   CLAUDIA          VASQUEZ              TX          75014701204
1B934628361972   JORGE            HERRERA ORTIZ        CA          90004886283
1B934774257147   SHANTA           DOE                  VA          90014747742
1B93486778B172   CHERYL           BRAHAM               UT          90014918677
1B9352A2161938   MARIA            MUNOZ                CA          90012982021
1B936397A86445   GAIL             WANG                 SC          90014683970
1B936794672B62   TIFFANY          BROWN                CO          90013697946
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1B93749295B35B    ROMEO         SANTOS                 OR          90014474929
 1B938317347956   TIFFANY       PARKS                  AR          90012253173
1B93845965715B    DANIEL        RUIZ                   VA          90007844596
 1B938839461976   ANTONIO       FLORES                 CA          90013568394
1B93899A191569    KATHRYN       PEREZ                  TX          75048419901
 1B939298293745   ADAM          CHALMERS               OH          90014952982
 1B939313272453   DENISE        KELLEY                 PA          90004693132
 1B939338891523   MARIA         OLIVARES               TX          75065393388
1B93954A57B386    JOSE          RENOJO                 VA          90012305405
 1B939592591569   ERNESTO       MEZA                   TX          90010335925
 1B939748361972   JUAN CARLOS   BARRAGAN               CA          90005827483
 1B939757993723   AMANDA        CAMPBELL               OH          90012187579
1B93B366747956    DAVID         RICHARDSON             AR          90015093667
1B93B491A33699    TAMIKA        TAYLOR                 NC          90014134910
1B93B61A393759    KRISTY        REYNOLDS               OH          64523206103
1B93B695997B39    RICHARD       WHITNEY                CO          90008946959
1B93B865661958    IVETH         ANGON                  CA          90013038656
1B93BA2515B343    SANDRA        GARCIA                 OR          44588370251
1B94125115B526    HECTOR        VARELAAGUILAR          NM          35065652511
1B941753972B62    LILIANA       GARCIA                 CO          33052997539
 1B941756491263   DEBRALEE      HOWELL                 GA          90013457564
1B94175835715B    MANUEL        MEJIA                  VA          90014777583
1B94198317B489    JERMAL        LOVE                   NC          11002729831
1B94229715B526    ELOY          LOPEZ                  NM          90000302971
1B942335A76B68    CLAUDIA       CRUZ                   CA          46011473350
1B9424A4931687    BOB           BROWN                  KS          90010434049
 1B942531793759   LINDA         SCHALBURG              OH          90014635317
 1B942543761976   LAURA         PICHARDO               CA          90013005437
 1B942698657147   FELIX         KISIEDU                VA          90014256986
1B94285355B343    JORGE         LOPEZ                  OR          90013508535
1B9429AA65B154    KIAH          THOMPSON               AR          90014789006
1B942AA5793745    DEBRA A       CHARLES                OH          90003000057
1B942AAAA4B26B    RAMONA        MOON                   NE          26069780000
 1B943422491569   CHRIS         RAYAS                  TX          90015114224
 1B943546572453   MACK          MATTHEWS               PA          90010125465
 1B943615793759   AKEISHA       ROGERS                 OH          90011836157
1B94429894B259    DARLENE       BARNES                 NE          90004112989
1B94463578B193    ASHLEY        NEWMAN                 UT          31004906357
 1B944868593759   JOSH          CHASSERE               OH          64562538685
1B9448AA457122    VANESSA       GREEN                  DC          90010618004
1B94511495B35B    LEQUOYA       ELLIOT                 OR          90009471149
1B945338A2B27B    HENRY         OCHOA                  VA          81046993380
1B94547364B23B    RITA          MCCLELLAN              NE          90001644736
 1B945814791895   DANNY         HAWLEY                 OK          90014658147
1B94598A74B588    STEVEN        WHITBEY                OK          21518229807
1B9461A2461972    ERICK         OTANEZ                 CA          90015191024
 1B946636461976   AIOTEST1      DONOTTOUCH             CA          90015116364
 1B947536291586   ARACELI       RODRIGUEZ              TX          90001685362
 1B947564361958   MICHELLE      SMITH                  CA          46002945643
1B94764554B22B    TRACY         HARKER                 IA          90003596455
 1B947747757147   DELMY         CALLES                 VA          90008457477
1B947878676B68    ANA           TORRES                 CA          90011688786
1B94799354B26B    SONYA         MEAD                   NE          90003049935
1B9479A4A51337    RYAN          CARPENTER              OH          90015469040
1B947A4555B35B    TASHIA        TURNER                 OR          44589510455
1B94844235B526    IGNACIO       RAMIREZ                NM          90014924423
1B9484A2157142    ENRIQUE       HERNANDEZ              VA          81087574021
 1B948824655948   ANESSA        LEYDIG                 CA          90000568246
1B948A6A697B38    JOSE          MUTUBERRIA             CO          90014720606
1B94916315B154    ANNETTE       GARY                   AR          23000981631
1B94946A84B259    TJ            TELLEZ                 NE          90012544608
1B94985185B526    JIMMY         RAMIREZ                NM          35013328518
1B94B241161976    RUBEN         CHAIREZ                CA          46081002411
1B94B63534B23B    JENNIFER      MILIAN                 NE          90013806353
1B94B748161938    JOHN          GARCIA                 CA          46067897481
1B94B966961958    LILIA         CASTRO                 CA          46013999669
1B951373A61938    MARILU        OLALE                  CA          90007143730
 1B952142593745   RICHARD       LEISTNER               OH          90012461425
1B952996A5715B    ADEFRIS       KABTHYMER              VA          90012379960
1B952A2A157147    ANGEL         MALDONADO              VA          81071080201
 1B953183693759   KELLY         MCCLANAHAN             OH          90014661836
1B953552A91263    GARY          LEMON                  GA          90014755520
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1B95359118B193   TAYLOR       LLOYD                    UT          31004905911
1B95367AA5B35B   DENISE A     NOBLE                    OR          44589306700
1B95384953196B   LATAMALA     MOORE                    IA          90015428495
1B953A77747956   NANCY        ANDERSON                 AR          24051840777
1B953A8148B165   PAUL         TINKER                   UT          31038000814
1B954285172B62   REBECCA      KENNEDY                  CO          90013502851
1B954473693759   MELANIE      SCOTT                    OH          90014134736
1B9545A689154B   GERMAN       NUNEZ                    TX          90006965068
1B95476115B154   LATOYA       JACKSON                  AR          23053167611
1B955595A5B35B   ALYSSA       MEISSNER                 OR          90004105950
1B95577944782B   KHALIAH      BUTLER                   GA          90009157794
1B956963772435   DEBORAH      OSTROWSKI                PA          51072659637
1B956A44451337   OLUFEMI      BEWAJI                   OH          90010370444
1B95718A15B154   JOE          HENDERSON                AR          90008401801
1B95751A791838   WAYNE        SULLIVAN                 OK          90000535107
1B957869A93759   ERIC         GOCHENOUER               OH          90010728690
1B957A3A372B62   MARIE        SANCHEZ                  CO          33087260303
1B95814A45715B   CRISTINA     ROMERO                   VA          90011781404
1B958395A5715B   HICHAM       HAYDADI                  VA          90010793950
1B958767861938   PATRICIA     RIVAS                    CA          46052697678
1B95893A15B154   JOYCE        BRYANT                   AR          90014789301
1B959158991583   OSCAR        GALVAN                   TX          90010521589
1B959482233699   SONYA        LYTLE                    NC          90003054822
1B95965615B59B   SUSANA       HERMOSILLO               NM          90014786561
1B959852A76B68   FERNANDO     BARRAZA                  CA          46072658520
1B95989439154B   MARLON       BARRIOS                  TX          75082138943
1B96133364B26B   KRISTINA M   MENDOZA                  NE          26065353336
1B96135715B343   MARIA        IRAHETA                  OR          44577923571
1B961514272B62   JUANITA      HARRISON                 NE          33001655142
1B96221688B193   JULIA        ALEMAN                   UT          90013572168
1B96235444B543   CAROL        ELAINE                   OK          90008103544
1B96265445B526   BLAINE       GABALDON                 NM          90013016544
1B96277895B343   MARLYN       TAPIA                    OR          90012027789
1B963164251337   JOSE         LUNA                     OH          90009231642
1B963448361972   JUANA        VERONICA DOMINGUEZ       CA          90011774483
1B963736A76B68   JONATHAN     BAUTISTA                 CA          90012717360
1B964399293775   DAVE         WILSON                   OH          90014103992
1B964572357147   RHONALD      POLO                     VA          90014165723
1B964665A51337   VICTOR       GARCIA                   OH          90003516650
1B96512645715B   JOUSE        LOPEZ                    VA          90012411264
1B965144993745   MARY         LONG                     OH          64581061449
1B965288476B68   JAMES        BARTON                   CA          90013452884
1B965394355948   LUIS         GONZALEZ                 CA          90008633943
1B965935471927   JANINE       FORD                     CO          90007029354
1B965A4A97B489   TRACY        LAWRANCE                 NC          90014750409
1B965AA355B343   DEVIN        BRAY                     OR          90013160035
1B96613895B343   WENDY        KINGSLAND                OR          90013681389
1B96658244B23B   MICHELLE     SIPHERD                  NE          90011045824
1B966759872B62   NATHANIEL    BENSON                   CO          90014907598
1B9668A1961976   AUSTENCIO    DIAZ                     CA          46057678019
1B967216931687   JONATHAN     DENSMORE                 KS          90013742169
1B967222647956   SHYNEATRIA   WHITHFIELD               AR          24072722226
1B9674A4A61958   MINNETTE C   FINK                     CA          90010214040
1B96761868B199   MARIA        LLAMAS                   UT          31078586186
1B96784327B489   PAMELA       WHITE                    NC          90001968432
1B968A7617246B   ELCORA       WALLACE                  PA          90012670761
1B968AA1851337   PRISCILLA    ALLRED                   OH          90014560018
1B969436472435   SONJA        SHIRLEY                  PA          90013074364
1B969547691523   VICENTE      GONZALEZ                 TX          90014225476
1B96968A17B489   DEBORAH      MEADOWS                  NC          11072186801
1B96995A25B343   AMPARO       TALAVERA MARTINEZ        OR          90012439502
1B969A73171927   JOHN         EGAN                     CO          32012540731
1B96B57685B526   MARIA        MAGDALENA AMAYA          NM          35048925768
1B96B966161938   MARGARET     ZAMORA                   CA          90003059661
1B97124263B337   GLORIA       KENNIS                   CO          90002162426
1B971617A72B62   FRANCES      BOURCY                   CO          33064196170
1B97237754B23B   MARISOL      CASTILLO                 NE          27005853775
1B97242AA76B68   CRISTINA     SILVA                    CA          90014334200
1B9724AA555948   VERONICA     CARRANZA                 CA          90012154005
1B97297519154B   HECTOR       SOLORZANO                TX          75064919751
1B973636461976   AIOTEST1     DONOTTOUCH               CA          90015116364
1B973917261972   JAVIER       CEBALLOS                 CA          46032889172
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1124 of 2500


1B974123793745   AMANDA       VINEY                    OH          64536421237
1B974213461972   LUIS         GARZA                    CA          90013282134
1B974475776B68   VANNESSA     MAGANA                   CA          90012264757
1B974552891899   WILIAM       MAYO                     OK          90009115528
1B9749AA88B199   GRACE        DEMING                   UT          31049479008
1B975125893745   KALIN        KING                     OH          64503611258
1B975345847956   TIFFANY      BOLLING                  AR          90009873458
1B975391547956   STEPHEN      SIMPSON                  AR          90010783915
1B975439791263   JARROD       GAMBLE                   GA          14596604397
1B97649A472B62   PATRICIA     LUNSFORD                 CO          90008054904
1B976793257555   JASON        FORD                     NM          90008567932
1B976846871927   JEANIE       VAUGHT                   CO          90014918468
1B977158291263   CHRIS        MCDANIELS                GA          90014701582
1B97723945B154   JASMINE      JENNINGS                 AR          90010252394
1B97739434782B   SHANITA      SLEDGE                   GA          14083553943
1B977793172435   JAMIE        MARSH                    PA          51060207931
1B977A22751337   AMANDA       BOULDIN                  OH          90014690227
1B977A58493759   JULIE        SHIRK                    OH          90014640584
1B97815954B23B   JOHN         BALKUS                   NE          90001251595
1B97829534B54B   RAYVON       SWINDALL                 OK          90001652953
1B978492561972   OLGA         SALAZAR                  CA          90014884925
1B978769391523   OLIVO        EDUARDO                  TX          90009627693
1B978A17A5715B   LUIS         LEON                     VA          90012740170
1B97922775B35B   LEONARD      BROWN                    OR          90013302277
1B97B47344B22B   MARY         BORT                     NE          90010144734
1B98122485B343   MARIA        GARDUNO                  OR          90000642248
1B981682A91895   MICHEAL      HELTON                   OK          90010516820
1B981954793759   JOVAUGHN     STEVENS                  OH          90005579547
1B9819A6157142   ROBERTO      PARADA                   VA          81028559061
1B982AA9493773   SCOTT        ROBINSON                 OH          66056110094
1B983158476B68   DAVON        HUDSON                   CA          90011701584
1B983397531456   STACY        TIJERINA                 MO          27542773975
1B98384348B199   WENDY        BOOG                     UT          31069228434
1B98385897B489   STACEY       DOTSON                   NC          90006008589
1B984421391569   EDUARDO      GUERRERO                 TX          90011124213
1B9845A4961976   JOSEFINO     SALIBA                   CA          90014745049
1B984814A33699   JARRELL      ROBINSON                 NC          90004028140
1B98486175715B   JOEL         ALAS                     VA          90010308617
1B984A12391263   DEAUTRY      JARRETT                  GA          90013810123
1B985455472483   AMANDA       SARAKOWSKI               PA          51094814554
1B985615891523   ADRIANA      NAVARRO                  TX          90012126158
1B985731193745   XIANGSHENG   MENG                     OH          90014887311
1B985765561958   JOANNA       ROMERO                   CA          90011787655
1B985835857147   BELINDA      VARGAS                   VA          90006068358
1B98697225B526   ADRIANNA     JACKSON                  NM          90007979722
1B987316861976   ANA          MARIA                    CA          46065063168
1B987456A61972   DANIEL       GARCIA                   CA          90013534560
1B987562791523   ERICK        DELARIVA                 TX          75023215627
1B987846157147   JOSE         CRUZ                     VA          90008388461
1B98817667B489   TONISHA      POLK                     NC          90011461766
1B988416791569   CAROLINE     SAENZ                    TX          75061464167
1B988457891523   CRUZ         BUSTAMANTE               TX          90000964578
1B988726157147   JACQUELINE   PRUDENCIO                VA          90010397261
1B989183591569   ARACELI      MONROY                   TX          75005411835
1B98B1A8491569   CYNTHIA      CHAVEZ                   TX          90013031084
1B98B214176B68   DAVID        AYALA                    CA          90014162141
1B98BA38957147   DILCIA       CARDENAS                 VA          90013740389
1B99139A757147   RIGOBERTO    QUINTERO                 VA          90011743907
1B991AA6161972   ROLANDO      MENDEZ                   CA          46065260061
1B993421261976   CARLOS       ARREDONDO                CA          90015014212
1B993656A51337   KELLI        STEVENS                  OH          66048466560
1B993911591523   MERCEDES     CASTORENA                TX          75074659115
1B993AA6161972   ROLANDO      MENDEZ                   CA          46065260061
1B994831261958   VICREY       CIRIACO                  CA          90010058312
1B9949A292B884   SANDRA       LOVALLO                  ID          90011369029
1B995129A57147   JACKELINE    SILVA                    VA          81064521290
1B99555A233699   CARL         RANDALL                  NC          90011435502
1B99558195B35B   SANFIANO     RUBEN                    OR          90010065819
1B995632761938   CHRISTINE    PEREZ                    CA          90010946327
1B99614AA5715B   JOSE         CRUZ-ALVAREZ             VA          90014531400
1B99673774B588   RICHARD      CHESNEY                  OK          21558577377
1B996A6625B343   EUTIMIO      AYALA                    OR          90009640662
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1125 of 2500


1B99715A95715B   RONALD       DONALDSON                VA          90007581509
1B997171176B68   LAURA        LOPEZ                    CA          46028891711
1B997456831687   JAVONNA      SMILEY                   KS          22011864568
1B997599391569   MARIBEL      CHAVIRA                  TX          90011435993
1B998124251337   SHAMIA       SMITH                    OH          90013051242
1B998666891569   JORGE        CONTRERAS                TX          90013396668
1B99944A55715B   DIANA        MISTRETTA                VA          90015174405
1B99973275135B   PASCUAL      HERNANDEZ                OH          90014667327
1B999948991549   ALICIA       GARCIA                   TX          75098649489
1B99B344872B62   MIRIAM       PEREZ                    CO          33017803448
1B99B889961976   DALILA       PARRA                    CA          90014938899
1B9B134185B154   LISA         WOODS                    AR          23086673418
1B9B1449561972   PATRICK      FAISON                   CA          90011764495
1B9B1462961976   DAVID        CASTRO                   CA          46040934629
1B9B167AA33699   MARQUEISHA   HAMILTON                 NC          90014296700
1B9B1948147956   ALEJANDRO    VASQUEZ                  AR          24094389481
1B9B1A17A5715B   LUIS         LEON                     VA          90012740170
1B9B23A258B193   DANIEL       DUNCAN                   UT          31062563025
1B9B3344391967   SHAWN        WILLIAMSON               NC          90007683443
1B9B361825B343   ROMAN        VARGAS BENITEZ           OR          90014996182
1B9B3733A61972   SANDY        AMARO                    CA          90011317330
1B9B3927693759   TERRY        HARRIS                   OH          90014629276
1B9B39A7761958   DORTHY       DICKMAN                  CA          90014889077
1B9B433454B259   KIMBERLY     POLSLEY                  NE          90004843345
1B9B466684B22B   SHARON       ROLLI LEE                IA          27008266668
1B9B479833B359   CHUANTE      EDWARDS                  CO          90006177983
1B9B4841A91263   WESLEY       BOLES                    GA          90015488410
1B9B484A34B23B   ELIZABETH    AJONGO                   IA          27007708403
1B9B489AA93767   CORVETTE     WHEELER                  KY          90011998900
1B9B4A15272B62   DIANA        BALLEJO                  CO          90015120152
1B9B5643372B62   BRANDY       FELDE                    CO          90006816433
1B9B661AA76B68   BLANCA       ARELLANO                 CA          46001016100
1B9B6636151337   SABRENA      HILL                     OH          66048826361
1B9B6697461958   CHERYL       WESLEY                   CA          46005996974
1B9B735A472453   CORI         HENDERSON                PA          90011123504
1B9B7374291263   MARCO        AL                       GA          90014723742
1B9B7951861976   ARTURO       RAMIREZ                  CA          90013759518
1B9B7A93791569   ESMERALDA    MENDOZA                  TX          90012630937
1B9B8267461972   LUIS         VILLASENOR               CA          90013872674
1B9B8656491523   MARCUS       PACHECO                  TX          90011166564
1B9B8868A61958   JULIO        BELTRAN                  CA          90013368680
1B9B8927493745   REBECCA      MANGO                    OH          64586429274
1B9B8932857147   DANILO       MARTINEZ                 VA          90014799328
1B9B8A47793759   HEATHER      LEMLEY                   OH          90014630477
1B9B9557376B68   NICOLE       DAVIS                    CA          90012855573
1B9B965AA5715B   FAWSIYO      KHALID                   VA          90013326500
1B9B9A7784B588   TERQOISE     CHEADLE                  OK          21591040778
1B9BB144891523   CUEVAS       LUPE                     TX          90004841448
1B9BB393833699   BRIAN        SMITH                    NC          90000683938
1B9BBA53976B68   JOSE         AVILES                   CA          90013530539
1BB11238931456   ANGELA       FREINER                  MO          27583572389
1BB11255791523   ISSAC        GOLDEN                   TX          90014542557
1BB11944685B29   JORGE        FRANCO                   FL          90015399446
1BB11979591263   JESSE        OWENS                    GA          14523989795
1BB12239591569   JOSE         GARCIA                   TX          90001002395
1BB1243195B35B   CHRISTINA    KINSLEY                  OR          90007014319
1BB12613261972   LIVIA        MEDRANO                  CA          90007366132
1BB12987355948   FRANCISCO    ROCHA                    CA          90007059873
1BB1312A193766   JOSE LOPEZ   VALLEJO                  OH          90005721201
1BB13583393773   KIMBERLY     BROWN                    OH          90011105833
1BB13A28957147   WALLACE      SHARBRA                  VA          90014600289
1BB13A48543529   LINDA        SMART                    UT          90014130485
1BB1414A561938   SANDY        ADAMS                    CA          90014551405
1BB1448345B343   EVELYN       PONCE                    OR          90013414834
1BB14A92791569   ALEJANDRA    MOLINA                   TX          75053250927
1BB1531864B26B   ADRIANA      CUSATIS                  NE          90011443186
1BB1578A243563   JOSE         ISREAL VILLAGRANA        UT          90008997802
1BB16117861972   SANDRA       CHAVEZ                   CA          90015091178
1BB16446A33699   BRET         EVERHART                 NC          90012714460
1BB16515991523   JAVIER       MONTANES                 TX          90007315159
1BB16538176B68   ISIDRO       MANZO                    CA          90012355381
1BB1689395715B   DONALD       CASTILLO RIOS            VA          90014058939
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1126 of 2500


1BB17227891569   MARCELA      ZARAGOZA                 TX          75084832278
1BB17254691263   TARSHA       PATTERSON                GA          90014822546
1BB17A9188B193   MARY         BRYAN                    UT          31079480918
1BB1865295B154   VALANDRA     JACKSON                  AR          90005366529
1BB18726247956   CHRISTOPHE   COX                      AR          90002727262
1BB18793577522   ROBERT       ELISARRARAS              NV          90006427935
1BB1879745B343   HUMBERTO     GONZALEZ                 OR          90014187974
1BB18968272453   ROSALIA      WYROSTEK                 PA          90015469682
1BB19554993773   SARAH        SHAVER                   OH          90004065549
1BB19A2454B23B   DIANA        BLAKE                    NE          90010210245
1BB19A84172483   WILLIAM      OW                       PA          51024090841
1BB1B812257142   MELVIN       MENDOZA                  VA          90006748122
1BB1B8A345B35B   DAVID        YOURSTON                 OR          44519688034
1BB2116395B526   JOSEPH       TAFOYA                   NM          90013171639
1BB21312191569   DEBORAH      TORRES                   TX          75032973121
1BB2139264B22B   ANDREA       SCOTT                    NE          27073533926
1BB21635576B68   MICHELLE     NAVARRO                  CA          46088516355
1BB22299272435   JACQUELINE   GRAHAM                   PA          90000322992
1BB22417A4B259   CHRISTINA    SAMSON                   NE          27072054170
1BB22491791569   ASHLEY       SIMENTAL                 TX          90013374917
1BB225A8872426   MORRIS       HEMINGER                 PA          51079955088
1BB22A5954B22B   SHANE L      GRAHAM                   NE          90015000595
1BB2313628B199   DONNIE       MANLEY                   UT          90012091362
1BB2352A15715B   CHRISTIAN    REYES                    VA          81033675201
1BB2388A891523   MICHAEL      RODARTE                  TX          90009538808
1BB2412315715B   MARGARITO    LUIS                     VA          90013631231
1BB24244461938   TERESA       SANCHEZ                  CA          90008062444
1BB24416491263   LINDA        WILLIAMS                 GA          90015474164
1BB2493665B526   FERNANDO     CAMPO                    NM          90013689366
1BB24A46861972   ROBERT       FINCHER                  CA          46095590468
1BB25113261936   MERCEDES     LOPEZ                    CA          90009461132
1BB2524285715B   JUAN         ARIAS                    VA          90014652428
1BB25653776B68   RAUL         CERVANTES                CA          90008696537
1BB26138261976   JERRY        ELLIOTT                  CA          90013861382
1BB26546443529   CALLEEN      BAILEY                   UT          90012095464
1BB26A2365B35B   CASSANDRA    MATHIESON                OR          44509370236
1BB274A2393759   MELISSA      CLARK                    OH          64598674023
1BB27979A8B165   RACHAEL      COLEMAN                  UT          90002449790
1BB28545991263   ERIC         WASHINGTON               GA          90015025459
1BB28977291569   SAMANTHA     LOERA                    TX          90006249772
1BB28A8295B35B   PABLO        GUTIERREZ                OR          90010740829
1BB295A8472B62   MASHBURN     HAROLD                   CO          90005585084
1BB29756171976   SHARIE       BUBBLE                   CO          32068987561
1BB29963A93745   CHARLES      HOLLY                    OH          90004159630
1BB29A5A95B35B   PAULA        KEYTH                    OR          90012340509
1BB2B267A91895   SARAH        LOGAN                    OK          21082692670
1BB2B396861958   SHIALA       CHANG                    CA          46011613968
1BB3113A972B55   ANTOINETTE   DEHERRERA                CO          33070311309
1BB31572231456   BILLY        MARTIN                   MO          90006645722
1BB31861791263   CRISTINE     DRAYTON                  GA          90015198617
1BB318A175B398   SOFIA        VILLA                    OR          90003868017
1BB3233624B26B   AMBER        CORTEZ-PHILPOT           NE          26064033362
1BB3264A833699   ANGELICA     BELLO                    NC          90004506408
1BB33266193732   ASTRONAUT    KID                      OH          90014742661
1BB3336892B924   MARTA        SARAVIA                  CA          90007933689
1BB33383331687   SASHA        BEARD                    KS          90012333833
1BB33422472B62   LYNDA        VALDEZ                   CO          90001944224
1BB3357315715B   SOMA         NABIZADA                 VA          90001205731
1BB3362AA31687   SHAWNTRICE   BEARD                    KS          90014026200
1BB34139993745   REBECCA      SHOE                     OH          64558811399
1BB34655461972   ISMAEL       ESPARZA                  CA          90015176554
1BB34655672435   RAE          BARKER                   PA          51024446556
1BB34816891569   GERMAN       CARMONA                  TX          90012368168
1BB34844593773   ZACHARY      JAMESON                  OH          90007868445
1BB34A6A17B489   MILDRED      LAZO                     NC          90009980601
1BB35249671982   CRISTINA     SANDOVAL                 CO          38016202496
1BB3546A52B877   EZEKIEL      ENGLAND                  CO          90009904605
1BB35721876B68   CAESAR       ARENAS                   CA          46052877218
1BB35A8AA8B336   PAYGO        IVR ACTIVATION           SC          90011760800
1BB36155191263   THERESA      WALKER                   GA          90010251551
1BB36277A93773   RICK         MASON                    OH          66004752770
1BB36447957142   CHAD         ANDERSON                 VA          90007204479
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1127 of 2500


1BB36625136B77   JESSIE        RICHTER                 OR          44564746251
1BB36963261936   MAGDA         SANDOVAL                CA          90011819632
1BB37132461972   SERGIO        DE LA CRUZ              CA          90011341324
1BB3723A957147   MITCHEL       SMITH                   VA          81076722309
1BB37686161976   YOLANDA       GUTIERREZ               CA          90015126861
1BB376A3891263   FRANKIE       BROWN                   GA          90015096038
1BB37785691263   ALAN          CANTERBURY              GA          90012977856
1BB37854447956   SUE           CROSSWHITE              AR          90007608544
1BB38366943529   DAVID         GONZALES                UT          90012303669
1BB39376847956   BRANDON       AGUILAR                 AR          90012163768
1BB39723661958   ISILA         PACHECO                 CA          90010627236
1BB3B65A461976   ANASTASIA     VELA                    CA          46003196504
1BB3B968672453   JANET         CARROLL                 PA          90006329686
1BB3BA14A91523   NANCY         VELA                    TX          90013770140
1BB3BA58A72B55   THOMAS        PENNA                   CO          90003380580
1BB4116A15B343   DAGOVERTO     FUENTES                 OR          90013751601
1BB41446291263   RODERICK      TATE                    GA          90015254462
1BB4149617B489   TYWANA        NIXON                   NC          11007674961
1BB41716351337   LAJUAN        TUCKER                  OH          90013177163
1BB41989131687   JUSTIN        PARRENT                 KS          90008739891
1BB41A47A91895   PAM           MURLEY                  OK          21065180470
1BB4217215B343   SONIA         VILLALOBOS              OR          90012011721
1BB42253933699   CHERMAINE     FLETCHER                NC          90011232539
1BB4282A55B526   CHARLOTTE     CORDOVA                 NM          90014888205
1BB4298314B26B   BRENDA        DITTMER                 NE          90003759831
1BB42997793773   CHRIS         JONES                   OH          66001959977
1BB4321155B343   JAMES HENRY   RICHARDSON              OR          90011672115
1BB4336A28B199   OSCAR         ROMERO                  UT          31017793602
1BB43814343529   LESLIE        LOUNSBURY               UT          90009068143
1BB43A58A76B68   REBECCA       VERDUGO                 CA          90004130580
1BB44861972435   MARKLEYLA     MILLER                  PA          51007558619
1BB45319472B29   ELEAZAR       MOLINA                  CO          33053383194
1BB45578243563   STEVE         BENNETT                 UT          31032955782
1BB4577A34B22B   LATAYNA       THOMAS                  NE          90011917703
1BB4582A757147   MIRNA         PINEDA                  VA          81093678207
1BB458A5A72B62   SAUL          UGALDE                  CO          90013838050
1BB4625A161972   JOSE          SOTO CASTANEDA          CA          90013402501
1BB4698A391263   WANDA         JONES                   GA          90014459803
1BB4698A94B259   LATREISE      ANDERSON                NE          27000609809
1BB472A747B489   RONI          HAMILTON                SC          90015512074
1BB47378391569   YOHANNA       BENCOMO                 TX          90013283783
1BB47628272435   RYAN          OMECINSKI               PA          90005796282
1BB47646493759   WILLIAM       VANMETER                OH          90014176464
1BB47813555948   MERCY         DESMOND                 CA          90014878135
1BB4831144782B   DEVONTA       QUAINTER                GA          14094603114
1BB48474654122   DAVID         TURPIN                  OR          90014824746
1BB48618A57147   OSMAN         LOPEZ                   VA          90011846180
1BB4872A247956   ANGELA        ROBERTSON               AR          24089127202
1BB48A3A761936   IVORY         BALLARD                 CA          90011820307
1BB4926825B343   JAMES         PATTERSON               OR          44540162682
1BB492A134B22B   JUAN          PINA                    NE          27054512013
1BB49522847956   LARRY         TURNER                  AR          90011025228
1BB49A49576B68   OLIVIA        GOEMANN                 CA          90004140495
1BB4B698491895   HARVEY        OLIVA                   OK          90010396984
1BB5118A38B193   BRANDIE       LOWE                    UT          31079801803
1BB51212293732   ERICA         ARCHIE                  OH          90010332122
1BB517A9461972   IZIA          WIMBUSH                 CA          46068897094
1BB5185455715B   BERHANU       DESSIE                  VA          90003598545
1BB51861351337   BARBARA       NEVINS                  OH          90007258613
1BB5194A34B22B   ALEXANDRIA    LEWIS                   NE          27018209403
1BB52535561976   THOMAS        JOHNSON                 CA          90011735355
1BB5274A343529   LACY L        GARDNER                 UT          90008807403
1BB53126972435   DEREK         KEALEY                  PA          90005191269
1BB53277443563   TRAVAS        BARTLETT                UT          90014882774
1BB534A3A31687   APRIL         BATES                   KS          22005774030
1BB5385224B588   RONALD        TODD                    OK          21556858522
1BB54293991569   HILDA         GARCIA                  TX          75005082939
1BB54A5A98B154   DIANE         YOUNG                   UT          90010470509
1BB55278261958   PETE          PEREZ                   CA          90001082782
1BB5546225B35B   LAURA         LEWIS                   OR          90015184622
1BB55A6148B193   WENDY         DAY                     UT          31031220614
1BB56116A91263   DONALD        FOWLER                  GA          90007131160
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1128 of 2500


1BB57137533699   DOMINIQUE     PORTER                  NC          12008091375
1BB57A2A77B489   SHANNON       BROWN                   NC          90012580207
1BB58128843563   RICHARD       MERANDA                 UT          90014441288
1BB58219461976   SALVADOR      SANCHEZ                 CA          90013072194
1BB58429272435   LORI          TWEED                   PA          51025324292
1BB5867655715B   YESSICA       RIOS                    VA          90012756765
1BB5884177B489   ALYSE         FONTAINE                NC          90008118417
1BB58A74161938   OLIVIA        GEORGE                  CA          90011360741
1BB59413461972   MARTIN        COFFEY                  CA          90011384134
1BB59422261958   KHADAR        MOHAMED                 CA          90007374222
1BB5989555715B   GAVINA        TAVERAS                 VA          90015198955
1BB59994731687   TRACY         HOOD                    KS          22075069947
1BB5B143993773   ROSANNA       FIELDS                  OH          66020951439
1BB5B299433699   DAVID         CANTY                   NC          90013012994
1BB5B59374B23B   ALIAKSANDR    BALABANAVA              NE          27073865937
1BB5B816691263   GAIL          TAYLOR                  GA          90014558166
1BB61314372B55   MARIA         ORNELAS                 CO          90007153143
1BB613A765B335   JOHN          ADAMS                   OR          90004283076
1BB6167A393759   JAMES         LOOKABAUGH              OH          90014176703
1BB61716755948   ANTONIA       MANCILLA                CA          49095017167
1BB61727A57147   DIONISIO      GUZMAN                  VA          90012357270
1BB6179125B343   GABRIEL       MARTINEZ                OR          90011617912
1BB62191861958   CHRIS         WICHMAN                 CA          90014471918
1BB62562857562   LUIS          RUBIO                   NM          90008745628
1BB6257994B22B   CARLOS        MELENDEZ                NE          27077045799
1BB63985291523   MARIA         ORTIZ                   TX          75058099852
1BB6437A543529   CRYSTAL       PARE                    UT          31083923705
1BB643A7A76B68   ROBERTO       ROSALES                 CA          46069973070
1BB64758855948   GUADALUPE C   FABELA                  CA          90012817588
1BB651A1961936   ANDRES        CHAVIRA                 CA          90011821019
1BB6562A561972   RAFAEL        RODRIGUEZ               CA          90014016205
1BB65821331456   CYNTHIA       CHATMAN                 MO          27583598213
1BB663A568B193   SHAWN         HARMAN                  UT          90012323056
1BB66465293745   DEEANNA       SCHUMACHER              OH          90014194652
1BB6657A87B489   JARMORRIS     SIMS                    NC          90010205708
1BB66949A5B526   ANGELINA      GALVAN OCHOA            NM          35022179490
1BB66A65133699   YOLANDA       CRUZ                    NC          90009330651
1BB67154947956   CLARISSA      AUSTIN                  AR          90014811549
1BB671A6A71932   SARAH         KESSACK                 CO          32020271060
1BB67363357142   DANIEL        ORELLANA                VA          90005863633
1BB6795687B489   LAMARIS       LOCHART                 NC          90002659568
1BB6848274782B   WILLIC        JENKNS                  GA          90013594827
1BB68581376B68   ALEXIS        GONZALEZ                CA          46033135813
1BB68622357147   MARIEL        LOPEZ                   VA          90013076223
1BB6862988B199   JESSICA       GEBO                    UT          31024576298
1BB6862A861972   MOISES        VILLAPANDO              CA          46066046208
1BB6891A755948   VICTORIA      GRANADO                 CA          90014519107
1BB6927997B428   MARCELINA     AVITER                  NC          90001352799
1BB69297576B68   DORA          RODRIGUEZ               CA          46040192975
1BB693A466192B   SHAWN         BELLOWS                 CA          46000863046
1BB695A4133699   GLENDORA      PAYNE                   NC          90013545041
1BB69925A5715B   JOSE          VENTURA                 DC          81095639250
1BB6B21278B199   CRYSTAL       MADSEN                  UT          90014962127
1BB6B51A361976   MICHAEL       GALLO                   CA          46055055103
1BB6BA34657549   GERI          PHILLIPS                NM          90006100346
1BB711A1257199   INGRIS        UMANZOR                 VA          81065501012
1BB71552155948   JULIA         GARCIA                  CA          49040515521
1BB72198493773   CORBET        HOLLON                  OH          66079771984
1BB72444561938   DANIEL        CARVER                  CA          90014754445
1BB7262A561972   RAFAEL        RODRIGUEZ               CA          90014016205
1BB72722991523   ELAINE        MEDINA                  TX          75009037229
1BB72877191895   STEPHANIE     TRIPLETT                OK          90010398771
1BB73694333699   DENNETTA      DAWKINS                 NC          90011976943
1BB73849191523   VANESSA       WREN                    TX          90012408491
1BB73867493773   STEPHIN       WOODS                   OH          90014498674
1BB73936A5715B   ANGEL         CASTILLO                VA          90013609360
1BB7412A555948   GURINDER      SINGH                   CA          90011461205
1BB74155191263   THERESA       WALKER                  GA          90010251551
1BB7448835715B   MARVA         ROCHESTER               VA          81013994883
1BB7449A891569   GLORIA        PIEDRA                  TX          75009884908
1BB74931A76B68   JOSE CESAR    MUNGUIA SOSA            CA          90011879310
1BB74A14572453   MELISSA       WILLIAMS                PA          90009380145
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1129 of 2500


1BB7525358438B   BRENDA        GESEL                   SC          90007412535
1BB756AA47B489   TRIA          HOWARD                  NC          11093006004
1BB7584A72B966   LOUIE         SAVALA                  CA          90013568407
1BB7591915B343   ELOISA        JOAQUIN MANUEL          OR          90002879191
1BB7596154B259   GRANT         DREYOVICH               NE          27046059615
1BB76385661976   ISAAC         ACOSTA                  CA          90014053856
1BB766AA457147   DARIAN        SHAW                    VA          90012196004
1BB7689A52B966   MARIA         LOPEZ-GUZMAN            CA          90013568905
1BB76919A91895   CHANNELLE     SAMUELS                 OK          90014629190
1BB77185551337   STEPHANIE     BELL                    OH          90009711855
1BB7786A193766   TINA          KLEINMAN                OH          90000218601
1BB77984161938   KAREN         PARGA                   CA          90012079841
1BB78715893773   SOPHIA        WILLIS                  OH          90007487158
1BB78A6672B966   MAYRA         ALEMAN                  CA          90013570667
1BB78A7832B963   RICK          REGUR                   CA          90005890783
1BB7934925B343   JUAN          CARLOS                  OR          90011813492
1BB7953985B154   CLARETTA      DANIELS                 AR          90014705398
1BB79549193759   LYNETTE       KRITZWISER              OH          64515395491
1BB7987798438B   MIGUEL        SILVA                   SC          19085048779
1BB79A41955948   JEREMY        SMITH                   CA          90013250419
1BB7B377761972   SALILA        GALLEGOS                CA          90003213777
1BB7B55A731687   SHANE         EAST                    KS          90013905507
1BB7B983161976   MELISSA       RIVAS                   CA          90011769831
1BB81136261976   ROBERT        QUIÑONES                CA          46010271362
1BB8122317B489   SHEILA        CAUSIEESTKO             NC          11005552231
1BB81275151337   JESSICA       BOWMAN                  OH          90015002751
1BB81366855948   ALEX          ABINA                   CA          90014813668
1BB81458A5B35B   CINDY         MENDOZA                 OR          90004714580
1BB8179595B526   CHRIDTOPHER   ESPINOZA                NM          90014847959
1BB8247A147956   DEREK         BETANCOURT              AR          24052464701
1BB8257314B26B   SAMUEL        LOPEZ                   NE          26005775731
1BB8297885B35B   SAMANTHA      HUSSELMAN               OR          90013409788
1BB82A9AA93759   DEBORAH       ROBINSON                OH          90014160900
1BB8311885B55B   JEREMIAH      VALDEZ                  NM          90003691188
1BB83167993745   BRANDON       HUFFMAN                 OH          90012821679
1BB83256357147   ANTHONY       WERNER                  VA          90015392563
1BB8331237B489   PORSHA        HILLYER                 NC          90002743123
1BB83425997B63   MARK          LOVE                    CO          90006964259
1BB8358225B35B   DIANA         VONREKOWSKI             OR          44585305822
1BB83A12493759   CRYSTAL       HANES                   OH          90014970124
1BB8415314B588   MARCELL       FLIENT                  OK          21573431531
1BB8424A62B966   NATASHA       VARGAS                  CA          90013282406
1BB84486193759   MINDY         SCOTT                   OH          90012814861
1BB84694A43563   DOUGLAS       GOALEN                  UT          90014966940
1BB8476A791263   MARION        THOMAS                  GA          90014597607
1BB84976161972   KAREN         RANGEL                  CA          46068529761
1BB8524A85B35B   DESIREE       MASSEY                  OR          90011942408
1BB85A36831687   KAYTELYNN     GERBITZ                 KS          90008830368
1BB8615657B489   SHARON        SMITH                   NC          90014831565
1BB8691645B343   ELISABETH     RUIZ                    OR          90014819164
1BB86A1A461972   CESAR         INIGUEZ                 CA          90015330104
1BB8729274B23B   NAKOMA        BAKER                   NE          27049832927
1BB88128293759   TARCIE        EVANS                   OH          64501661282
1BB8829A961972   RODELIO       SOSA                    CA          90014512909
1BB882A2461958   MARIA         ALADID SANTANA          CA          90012232024
1BB88328447956   JACKIE        BLANKENSHIP             AR          90011273284
1BB8835A45B343   MARIA         MORALES GOMEZ           OR          90015183504
1BB8867385B526   FERNANDO      ARAGON                  NM          90015086738
1BB8882A661976   ERENDIRA      SANDOVAL                CA          90012898206
1BB88917643563   JOHN          MERRILL                 UT          90013989176
1BB89312793766   RACHAEL       HALL                    OH          90014623127
1BB89741A76B68   MARIA         TREJO                   CA          90007897410
1BB8B694576B68   RAUL          VASQUEZ                 CA          90011396945
1BB8B73674B22B   GUADALUPE     ESCOBAR                 NE          90011797367
1BB91336943563   SARAH         WILLIAMS                UT          90010813369
1BB9163735B526   JULIE         GROOMS                  NM          35051106373
1BB91721A4B23B   MELLISA       POST                    NE          27075977210
1BB91A55A71964   DONNA         STONEROCK               CO          32039440550
1BB9238895B35B   WILLIAM       BATES                   OR          90014693889
1BB924A317B489   LAERICKA      CALDWELL                NC          11097884031
1BB92537461958   EDUARDO       GRANADOS                CA          46066555374
1BB92825861976   FRANKIE       GARCIA                  CA          90012788258
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1130 of 2500


1BB92A71555948   ADRIANNA      MORENO                  CA          90013800715
1BB93365191263   WAYNE         PRICE                   GA          90010633651
1BB933A5531456   TEMPEST       FELTON                  MO          90012133055
1BB93427997127   NIKA          JACKSON                 OR          90011404279
1BB93523831456   TEMPEST       FELTON                  MO          90004275238
1BB9388134B259   NAMUAT        BACK                    NE          90011298813
1BB93945391899   MAURICIO      VASQUEZ                 OK          21035649453
1BB93961461976   ELIAS         LEDEZMA                 CA          46077349614
1BB93A98751337   MAURICIO      HERNANDEZ               OH          66026410987
1BB9418795B526   LAWRENCE      GONZALES                NM          90013351879
1BB9418A593773   JULIE         FINT                    OH          90011121805
1BB94421561958   NOEL          RIMANDO                 CA          90013634215
1BB94558257147   BETY          CHAVEZ                  VA          90010435582
1BB95491533699   JOHN          LOFTIS                  NC          12045674915
1BB957A8991899   JOHNNA        MARTIN                  OK          21062547089
1BB95959824B7B   BERNARD       HARRIS                  DC          90012189598
1BB959A1791523   GERARDO       VASQUEZ                 TX          90011959017
1BB95A2454B23B   DIANA         BLAKE                   NE          90010210245
1BB96444A76B68   ERICA         CHAVERO                 CA          90012744440
1BB96472172B62   ANITA         QUINONEZ                CO          33072094721
1BB96485472453   DONTAYA       SZAFRANSKI              PA          90001804854
1BB9653A954198   JAMIE         BARON                   OR          90012865309
1BB96791793766   LADERRITKA    SANKS                   OH          90008327917
1BB9694A791895   KARAN         TAYLOR                  OK          90014629407
1BB9696A64B22B   AMY           WOOTEN                  NE          90008169606
1BB9712835B154   MICHAEL       SERRATO                 AR          23001461283
1BB97447951337   MICHEE        HAREY                   OH          66015794479
1BB9747145715B   OSCAR         ALCANTARA               VA          81042024714
1BB97524193745   CHRIS         CHALMERS                OH          64527755241
1BB97A9AA93759   DEBORAH       ROBINSON                OH          90014160900
1BB9829A491523   MARTHA        AMATO                   TX          75028052904
1BB9855475715B   SIEKEI        ASIEDU                  VA          90012745547
1BB9B2A655B35B   JANIE         LAMANCE                 OR          90007822065
1BB9B452861976   AIDA          THAMES                  CA          90008624528
1BB9B724547956   JESSICA       CHAVEZ                  AR          90013257245
1BB9B852672453   KARON         ADAMS                   PA          51068698526
1BB9BA76693745   HEATHER       ISON                    OH          90003670766
1BBB1117755948   MARIA         TUDON                   CA          90010721177
1BBB1379871982   VALERIE       LUCERO                  CO          90007713798
1BBB1397A43529   KARLA         SILVA                   UT          90014903970
1BBB16A318B199   DAVID         WELLS                   UT          31087356031
1BBB1718291263   DELORIS       LLOYD                   GA          90013457182
1BBB184935715B   JERBER        LOPEZ LOPEZ             VA          90006468493
1BBB225144B26B   KHADIJAH      RAUSHEED                NE          90011442514
1BBB2918272B62   ISAIAH        JIRON                   CO          90013389182
1BBB2965972B25   THOMAS        GIBLETT                 CO          33028119659
1BBB3225A93773   COREY         STITH                   OH          90012892250
1BBB329375B343   ROBERT        SUMERLIN                OR          90013172937
1BBB353764B22B   ROY           JACKSON                 NE          90014995376
1BBB386758B139   JORGE         JIMENEZ                 UT          90012998675
1BBB3A46761976   SHEILA        TOVA                    CA          46075360467
1BBB4271472B34   ASHLEY        MARTINEZ                CO          90010322714
1BBB4313772453   BENJAMIN      RHOADES                 PA          51012893137
1BBB5299391263   ALVIN         CARTER                  GA          90013222993
1BBB55A8A91569   MARIBEL       RUEDA                   TX          75089305080
1BBB5A89576B68   ANGELITA      HERNANDEZ               CA          90013130895
1BBB6262661972   ASHELY        BROWN                   CA          90009912626
1BBB6611533699   DION          REED                    NC          90003306115
1BBB666454B588   MARKEISHA     SAMSPSON                OK          21574386645
1BBB6858361976   AUTUMN        BARTLETT                CA          90010768583
1BBB689535B154   CAROL         CHILDERS                AR          23088178953
1BBB6A4147B489   SHABRIE       WHITE                   NC          90011020414
1BBB8435193759   RENEE         STIDHAM                 OH          90014674351
1BBB8631943529   EMBER         TROSETH                 UT          90015176319
1BBB88A814B22B   GINA          CEDERBERG               NE          90007878081
1BBB8969957147   JOSE SANTOS   GONZALEZ                VA          90011699699
1BBB9151893766   IVAMA         HUDFON                  OH          90014621518
1BBB9288793745   BRIAN         BROWN                   OH          90013782887
1BBB979A75B35B   DAVID         BLACK                   OR          44514827907
1BBB9A32672B62   SHERRY        MCNEIL                  CO          90012910326
1BBBB52635715B   SANTIAGO      ALEXANDER               VA          90014035263
1BBBB56864B537   SHELLY        WATKINS                 OK          90012445686
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1131 of 2500


1BBBB615191899    SHONDA       MCKENZIE                OK          21041226151
1BBBB83A95B35B    ADAM         CLARK                   OR          90014318309
 2111156645B571   GERALDINE    TRUJILLO                NM          35082475664
 2111166924B553   TIFFANY      NUSS                    OK          90004926692
 2111179835B531   SHARLENE     GARCIA                  NM          35013117983
 21111A36351369   ADAM         MCLEISH                 OH          90007150363
 21112786A31453   BYUNGHEE     PARK                    MO          90007687860
2111326A54B261    EARLENA      HUDSON                  NE          90014822605
21113A4439189B    WANDA        MCCARTHY                OK          90012410443
 21114535172B42   RAFAEL       GARCIA                  CO          33086245351
2111478A74B588    DAVID        EVANS                   OK          90012027807
 2111483959155B   MIRIAM       SAUCEDO                 TX          90007468395
21114A2A341245    MICHELANDE   ST CYR                  PA          90008150203
21114A89A81661    STEPHEN      WILLIAMS                MO          90014030890
 21115282A91541   CHRISTIAN    GARCIA                  TX          90010732820
2111547A49184B    MELINDA      CREEKMORE               OK          90011084704
 2111567245B161   NATALIE      STEVENSON               AR          23018106724
 21115729772B88   VANESSA      MARTINEZ                CO          33055447297
211157A5A57157    ROSA         MARTINEZ                VA          90015137050
 2111648272B249   JAMIE        TYLER                   DC          90009514827
 2111649185B531   IVAN         LUJAN                   NM          90012604918
 2111676999155B   RUEL         SHAFFER                 TX          90013177699
21116A4377B699    TERELL       TOLBERT                 GA          90007790437
 2111734119189B   OSMA         ALVARADO                OK          21065203411
 21117444972B88   ERIK         GRANILLO                CO          90006084449
2111746952B27B    SAUL         GUEVARA                 DC          90010304695
 21117976372B98   LILIAN       URIARTE                 CO          33057659763
21117A7119136B    PATRICK      HARRIS                  KS          90015020711
 21118669972B88   EMILY        LOW                     CO          90011286699
21118A15A84364    PATRICK      BURR                    SC          90001720150
 2111921654B245   SAMMY        BIWOTT                  NE          90001172165
 21119239472B42   CRISTINA     JAEN                    CO          33085852394
 21119812172B88   LEANDRO      LOPEZ                   CO          33050448121
 2111985222B232   GAIL         BICKERSON               DC          90009178522
 2111997722B232   GAIL         DICKERSON               DC          90013359772
2111B69234B588    MANA         THANG                   OK          90013026923
 2111B724347952   MERLIN       DURAN                   AR          90013687243
2111B73829184B    SHARI        TAYLOR                  OK          21043187382
2111B9A775B271    CHRISTA      HERNANDEZ               KY          90014639077
2112161A79136B    ROBERT       DICKINSON               KS          90012456107
 21121A57557157   JOYCE        THOMAS-LEWIS            VA          90008800575
2112262A67B449    MICHAEL      PERRY                   NC          11090956206
21122A73A9136B    LALMAY       OHAKAL                  KS          90015020730
 2112346832B232   BJ           REDMAN                  DC          90014154683
21123A68A9155B    MONICA       CAMACHO                 TX          90014200680
 2112447287B699   JAVIS        BLACKMON                AL          90005814728
 21124585372B98   BIANCA       RUSCITTI                CO          90013955853
21124A6894B261    DAVID        JOHNS                   NE          27070980689
 21125683487B87   ARNESS       FORNEY                  AR          23090256834
211257A619794B    NANNIE       CURTIS                  TX          74043947061
21125A91A9136B    JUAN         ORTIZ                   KS          90015020910
 2112616419794B   VERNON       ROWE                    TX          74049041641
2112618AA72B88    TANISHA      LINTZ                   CO          33011031800
 2112641914B588   DARLENE      PETTIT                  OK          90012424191
 2112683579189B   SARAH        BOALS                   OK          21007498357
 2112684949155B   BRENDA       ROSALES                 TX          90011228494
 2112694717B699   TIM          HARRIS                  GA          90004099471
 2112717975B531   DIANA        BACA                    NM          90013541797
 21127937887B59   TIGER        ANDREWS                 AR          23089659378
 2112831812B232   FETYA        IDRIS                   DC          90013953181
 2112875247B858   DOSSOU       LEONCE                   IL         90002137524
2112939872B27B    KIANNA       WHITE                   DC          90012873987
 2112986864B281   AMERETTA     TRUSLER                 NE          90013968686
 21129996A55941   ROBBY        LANEY                   CA          90012129960
 21129A92647952   SARA         MCCOY                   AR          90011010926
 2112B225441245   FREDERICK    BOATENG                 PA          51094472254
2112BAA8891828    MIRANDA      NEASE                   OK          90012580088
 2113125577B449   JOSE         DELGADO                 NC          90013912557
 2113142345B531   JOSE         RODRIGUEZ MARTINEZ      NM          35090134234
 21131938172B88   NIEVES       SAUCEDO                 CO          33093099381
 2113258915B531   RICHARD      HERNANDEZ               NM          35089625891
 21132673772B42   GIANA        BONILLA                 CO          90014636737
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211327A2931453   RICHARD     BURNS                     MO          90015277029
21132AA538B17B   PATRICK N   MOORE                     UT          90013760053
211331A4A72B88   MARIANA     ESPINOSA                  CO          90013761040
21133247987B59   RODRICK     JENKINS                   AR          90014482479
2113325162B27B   FRANSHAE    SWINNIE                   DC          90014112516
2113327988B17B   MICHELLE    MITCHELL                  UT          90011722798
2113339549155B   ALISSA      ORTEGA                    TX          90012503954
2113379A77B699   TORRIS      HUGULEY                   GA          90013407907
211339A694B261   TONY        VEGA                      NE          90012419069
2113434A59155B   JAMES       THOMAS                    TX          90013803405
21134625672B88   LOGAN       TAYLOR                    CO          33043516256
2113514417B699   JAMES       CHATMON                   GA          15094971441
21135561187B59   SHADEED     SALAAM                    AR          23095375611
2113558534B281   IVAN        INFANTE                   IA          90007485853
2113558659184B   TAMARA      HADNOT                    OK          90012085865
2113581874B588   ALISON      CARDENAS                  OK          90013628187
21135997187B21   REBECCA     TUCKER                    AR          90007079971
21135A56891984   CALVIN      MCCOY                     NC          90013620568
2113618A39189B   NENGPI      TOUTHANG                  OK          90013621803
2113641899189B   TEO         GONZALES                  OK          21089674189
211366A738B17B   PABLO       ROMEO                     UT          90011656073
2113761895715B   DANIEL      WIGGINS                   VA          81007596189
2113784687B373   EMELIN      CRUZ                      VA          90001298468
21137925A57157   SERGIO      VILLAGOMEZ                VA          90012369250
21138127987B87   VANESSA     CONNER                    AR          23059041279
2113824454B261   CINDY       CUEVAS                    NE          90014152445
21138327A91828   TYNEISHA    WARE                      OK          90013343270
2113889497B449   MELISSA     ROWLEY                    NC          90005498949
21138A22791528   RUBEN       SAPIEN                    TX          90011460227
2113923797B471   GREGORY     TORRENCE                  NC          90014542379
21139A3467B449   SHERITTA    RODGERS                   NC          90014000346
2113B13139184B   BOBBY       KING                      OK          90012591313
2113B1A4441245   WILLIAM     KUYAT                     PA          90013511044
2113B429161939   ENRIQUE     CASTRO                    CA          90014814291
2113B562672B42   RONNETTE    MITCHELL                  CO          90008355626
2113B59A74B281   CLAYTON     BROWN                     NE          90007115907
2113B662281637   OLIVIA      AGUSTIN                   MO          90015296622
2113B68A88B16B   GUY         LANE                      UT          90008716808
2113B982972B98   MARK        VALDEZ                    CO          90011759829
211414A282B232   JOSEPH      NWANCHA                   DC          90015054028
2114192885B271   DANIELLE    PAYNE                     KY          90014639288
211419A9991241   HEATHER     HARLEY                    GA          14517059099
21141A12672B42   NOE         GONZALEZ                  CO          90013560126
21141A49572B98   ESTABAN     DELEON                    CO          90013970495
211442A9257157   NATIVAD     DELCID                    VA          90014422092
21144591672B98   LUIS        LARA                      CO          90013955916
2114475119136B   EMILY       WATTS                     KS          90013007511
21145126A9189B   SIYA        DUNN                      OK          90009271260
211452AA19155B   EDUARDO     RODRIGUEZ                 TX          75095682001
21145386972B42   KEITH       WELLS                     CO          33085553869
21145785A2B232   ARELI       LEON                      DC          90010937850
2114579312B27B   WENDY       FULLER                    DC          90015067931
21145A41A91828   ALICIA      CAMPOS                    OK          90009060410
2114614595B226   JEFFREY     BARTON                    KY          68056661459
21146296787B87   CURLEE      BUTLER                    AR          23019262967
2114642A42B232   AALIMAH     STEWART                   DC          90013954204
2114652595B936   JENILEE     SCHMIDT                   ID          90010915259
2114687579136B   VICTOR      DURAN                     KS          90015028757
2114698437B449   MIA         LITTLE                    NC          90014689843
2114765625B161   ERICA       HORTON                    AR          90013916562
2114769885B141   QUINN       LEWIS                     AR          90009386988
2114794385B271   EUGENE      STEVENSON                 KY          90014639438
21147949A9184B   DEANNA      WOFFORD                   OK          90013519490
21147A3714B261   PATRICK     ANSON                     NE          27006870371
2114825975B167   WILL        SMITH                     AR          90014432597
2114866687B471   Z PU        KHUM                      NC          90010346668
21148A1215B571   JORGE       MELENDREZ                 NM          35017760121
2114933389136B   ALLAN       RHOADES                   KS          90008663338
2114954155B167   DONALD      SINGLETON                 AR          90002405415
211495A7581661   JUAN        GOMEZ                     KS          29082315075
21149865687B59   VICKIE      LANE                      AR          90013998656
2114986A64B281   RYAN        KORENE                    NE          90007238606
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2114B364572B98   JOSEPH ANTHONY   BARNES               CO          90008803645
2114B4AAA2B27B   MICHAEL          STEVENSON            DC          90012874000
2114B65AA5B531   ANTHONY          GARCIA               NM          90009166500
2114B74619136B   ELNORE           SLOAN-SMITH          KS          90010087461
2114B868772B98   JOSEPH ANTHONY   BARNES               CO          90013898687
2114BA8715B167   TONDAYLIA        WILLIAMS             AR          23019270871
21151267A41251   BRANDI           WOLFE                PA          90003872670
2115149285B167   JAMES            EVERETT              AR          23086874928
211514A4A84364   CHANTEL          GLOVER               SC          90013954040
21151831A87B87   KEVIN            BRYANT               AR          90014978310
211518A8572B88   MAI              CHA                  CO          33056468085
211519AA655941   TOUHOUA          XIONG                CA          90010059006
21151AA734B588   ANA              OSORIO               OK          90007510073
2115214879155B   ANABEL           SANTOS               TX          90010721487
2115246A791528   DIANNE           GOMEZ                TX          75054344607
21152615972B42   MARIO            ESPINOSA             CO          33000116159
2115316865B167   MARY             DANIELS              AR          90013451686
2115364529155B   JUAN             CADENA               TX          90006736452
2115394A47B449   ASHLEY           DUZAN                NC          90014469404
21153A1942B27B   DANIELLE         TWISDALE             DC          90007650194
2115472279136B   NATHANIEL        PARKER               KS          90006147227
2115475655B167   REBEKAH          CUMMINGS             AR          90013437565
21154A49155957   DAVID            VIDANA               CA          90004000491
21155243A9155B   BERENICE         BUSTAMANTE           TX          90013942430
2115534729184B   NEL              MANG                 OK          90012443472
211555A7A5B167   JACK             RICE                 AR          90015315070
2115565A585938   LINA             VERDUGO              KY          67029146505
211558A7472B88   TAMI             HURD                 CO          90007038074
2115623A191541   ERNESTO          MARQUEZ              TX          90012072301
2115648832B27B   JUAN CARLOS      SALINAS              DC          90014864883
211565A6A51343   GINA             BAER                 OH          90014315060
2115753794B281   MARK             HOLMSTROM            NE          27080665379
2115793549155B   RAMON            FLORES               TX          90002319354
21157A6492B841   BONNIE           LITTLE               ID          90011570649
21158789A87B59   PAYGO            IVR ACTIVATION       AR          90014117890
2115B288955957   MICHELLE         CASTILLO             CA          48076322889
2115B517191984   CHRISTOPHER      BARNES               NC          90013725171
2115BA6665B571   MALLORY          DEVARGAS             NM          90011510666
21161114A72B98   ANGELA           TWITO                CO          90014871140
21161A35584364   SUSIE            HALL                 SC          19043610355
2116223994B281   DOUG             HOULT                NE          27083152399
2116225985B531   BRITTANY         ROTZOLL              NM          90013542598
21162413A72B42   ANA              CARRASCO             CO          90012344130
21162A8624B588   MAQUAEL          TAYLOR               OK          90011820862
2116315929189B   ALISHA           HATCHER              OK          90000791592
2116388139155B   JOANNA           CONTRERAS            TX          90011218813
2116484754B541   TIMOTHY          SAATHOFF             OK          90005448475
21165453A97B4B   MARK             BURAK                CO          90006834530
2116563A831631   ROBERT           HEPPLER              KS          22046966308
2116617545B167   JUDITH           GONZALES             AR          23026911754
2116676394B588   YONNA            TERRY                OK          90014327639
211667A648B17B   SHAWN            BIRD                 UT          31056437064
21166A3519379B   BILLY            TWYMAN               OH          64501480351
2116727A25B531   KATHY            DEL RIO              NM          90013542702
2116798915B271   JAMES            HEADDEN              KY          90014639891
21167A5949184B   JEFFREY          CLEMENT              OK          21084930594
2116833555B167   JESSICA          WALDROP              AR          90009083355
21168587372B88   LORENA           DELGADO              CO          90008205873
2116871899136B   EBONY            BENNETT              KS          90011997189
211688A4972B42   JAMES            SULARS               CO          90013568049
21168A55A55941   KELLI            MADRIGAL             CA          49097650550
21169478A72B42   BURRELL          WILSON               CO          33077464780
21169548A87B87   KITARA           WEBSTER              AR          90015215480
2116B275357157   ALICIA           RODARTE              VA          90001652753
2116B723151369   EVERETT          VEASLEY              OH          90013327231
2116B829231631   MAHOGANY         SNEED                KS          90009998292
2117124922B232   PRINCE           WILLIAMS             DC          90014362492
2117163A991541   DORA             DE LA PAZ            TX          75028226309
21171693A5B571   IVAN             PLATA                NM          90006266930
21172133A57157   ADRIANA          MACHADO              VA          90012831330
2117259A755936   ROD              FITIAUSI             CA          48093385907
211727A9757157   CARLOS           PALACIOS             VA          90014847097
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21173872A9136B   MARI ELENA    FERNANDEZ               KS          90010178720
2117387879794B   AMILCAR       MIRANDA                 TX          74052458787
2117393A74B588   JORGE         MELCHOR                 OK          90009099307
21173997687B59   JENNIFER      JAMES                   AR          23042899976
211743A295B531   JESSICA       SANCHEZ                 NM          90013543029
211743A9681637   KATHY         SHELTON                 MO          29072203096
2117446954B245   HENRY         REDD                    NE          27096884695
21174488472B42   MELISSA       CARPENTER               CO          90007544884
2117474325715B   LEONEL        ANTONIO MELENDEZ        VA          81063367432
211754A4491828   ROEL          SANDOVAL                OK          90014864044
2117577969155B   GERARDO       RAMOS                   TX          90009517796
211759AA52B27B   TRACY         SHORT                   DC          90015079005
21175A8855B571   JASON         MORGAN                  NM          35022430885
2117647762B232   EZEKIEL       RASPBERRY               DC          90010694776
2117671A74B245   PATRICE       VISSLAILLI              NE          90004817107
21177524987B87   KENDRA        ADROW                   AR          90004615249
2117769A251343   MYA           GILL                    OH          90012226902
21177A23691833   TORRI         ULLRICH                 OK          90014920236
2117815557B471   SERAFIN       SANTIAGO JULIAN         NC          90000451555
2117818717B496   KAREN         SEARGENT                SC          90009271871
2117826534B261   BRANNON RAY   LOWTHER                 NE          90014822653
2117826912B232   ALISHA        HESTER                  DC          90012872691
21178561472B88   CYNTHIA       LOZANO                  CO          90013375614
21178A38A72B98   ROBERT        KROLL                   CO          90011760380
21178A66A9189B   BILLY         COOPER JR               OK          21067760660
2117959427B471   LUVIA         TORRES                  NC          11009755942
2117972515B161   KESHUNNA      CALDWELL                AR          90013917251
2117B1A1887B21   MISTY         DRENNEN                 AR          90008041018
2117B28715B167   BRIAN         TAYLOR                  AR          90014642871
2117B3A8A87B87   STEPHAINE     JAMES                   AR          23051783080
2117B61962B232   CATHERINE     DORSEY                  DC          90002256196
2117B746691542   ANGELES       BARRAGAN                TX          75087487466
2117B99A45B271   ROBIN         HEIM                    KY          90014639904
2117BA25985938   TEARON        WATKINS                 KY          90001820259
2117BA2A99136B   DOROTHY       ALLEN                   KS          29021160209
2117BA57147952   YENI          MONTERROZA              AR          24089770571
21181A72991984   SEFERINO      DIAZ MARTIN             NC          90013490729
21181AA525B271   MARIA         CORRALES                KY          90014640052
2118233135B531   CHRISTIAN     LEBUGHE                 NM          90013543313
2118239A991984   LEE           STORM                   NC          90013153909
2118246648B17B   LORENA        MAZZARO                 UT          90002744664
2118247499155B   ANTONIO       CHAVEZ                  TX          75058284749
211824A722B27B   IMEESHA       CLARK                   DC          90007184072
211826AA49794B   JUAN          LOPEZ                   TX          90000676004
2118286614B281   CONSTANCE     ROSE                    NE          27085598661
2118295A184364   SUSANA        VELASQUEZ               SC          90006259501
211829A684B245   EILEEN        CARLSEN                 IA          27017059068
21183734672B88   JERMAINE      MARTINEZ                CO          90014697346
21183848187B59   PERCY         LITTLE                  AR          90015338481
2118429474B245   BOBBI         SIMET                   IA          27005372947
2118473A19155B   MARIA         MARTINEZ                TX          90004237301
211853A1685938   MICHAEL       HATTER                  KY          90005333016
2118576AA4B245   SHANTE        ROBY                    NE          90008617600
21185953A51333   MEGANE        HARVEY                  OH          90001259530
21185A26272B42   CHRISTAL      SANDOVAL                CO          90010200262
2118625849189B   JACKLYN       ALVEREZ                 OK          90010952584
211867A364B261   T             ROUSE                   NE          27094157036
21186963472B42   MELECIO       CAZARES                 CO          90015129634
2118738129136B   RUBEN         HERNANDEZ               KS          90010483812
21188472572B42   NOHEMA        DE LA TORRE             CO          33027644725
211889A154B588   JERRY         SOUTHARD                OK          90010909015
211889A6491241   WILLIE        HAWKINS                 GA          90013929064
2118913345715B   ALEJANDRA     CORRAL                  VA          81017501334
2118917447246B   MEGANNE       THOMPSON                PA          90001641744
21189639587B59   JIMMY         BARBER                  AR          90008936395
2118B675A91241   EDDIE         JONES                   GA          14570626750
2119146462B27B   FELICIA       PRICE                   DC          90012874646
21191A29A72B42   JAMES         WANCHIK                 CO          90011000290
2119214779155B   MARICARMEN    RODORIGUEZ              TX          90010081477
2119237A47B449   ERICA         BLAKENEY                NC          90012533704
2119267114B245   LATISA        CROWDER                 NE          27057406711
21192A24A4B261   ROSHEA        JONES                   NE          27000140240
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211931A129155B   LUIS          MARQUEZ                 TX          75087691012
2119333135B531   CHRISTIAN     LEBUGHE                 NM          90013543313
2119348745B271   BEVERLY       BARTON                  KY          90011964874
21193758A9136B   LUCINDA       WHITE                   KS          90009207580
2119421162B232   DANIEL        LONG                    DC          90012752116
21194212A5B571   BIANCA        ESTRADA                 NM          90010082120
2119537445B531   JORGE         ALVARADO                NM          90013543744
2119551A52B232   JAMES         WHITE                   DC          90013955105
2119553315B167   PATSY         PORTER                  AR          23022735331
2119662A64B245   CHRISTOPHER   YARPE                   NE          90002356206
21196726A5B167   MICHAEL       GOODEWIN                AR          90008067260
211972A3A72B88   STEVEN        HAND                    CO          33010932030
2119733A37B699   LESLIE        SOLORZANO               GA          15054773303
2119749885B571   JACOB         UTZMAN                  NM          90001294988
211977A6A91541   MARIA         REYES                   TX          90013207060
21198A4759155B   FABIAN        RAMIREZ                 TX          90010490475
21198A68991828   MICHEL        DUDLEY                  OK          21084280689
21199473872B88   JOSEPH        WOOD                    CO          90004124738
211999A4981638   TASHA         LAWSON                  MO          90011109049
2119B21654B588   JOHNNIE       SHELTON                 OK          90010932165
2119B33A587B59   BRENDA        BATTLES                 AR          23070503305
211B119A95B167   LATOYA        MOORE                   AR          90014661909
211B1752491828   LISA          CANALIER                OK          90012487524
211B186574B281   AZIZ          ALISHERZODA             NE          90003978657
211B1A87257157   GUY           DUBOIS JR               VA          90014490872
211B2796A91241   CHINDAL       PETERSON                GA          90015037960
211B288292B841   OWEN          MORRIS                  ID          90002868829
211B3113231631   DEMETRIA      MNTOGOMERY-WILSON       KS          90014841132
211B386729189B   TERESA        DAWN                    OK          90013918672
211B3976357157   ROBERT        DEAL                    VA          90012079763
211B39A454B261   AMY           SCHOVANEC               IA          90014829045
211B4191531453   CANDICE       FLEMING                 MO          90014711915
211B4263881637   KENNETH       WELLMAN                 MO          90015502638
211B4291381661   ASHLEIGH      DUBOSE                  MO          90014752913
211B458A772B98   DAVID         ABEGG                   CO          90013955807
211B4652831453   CANDICE       FLEMING                 MO          90011616528
211B467444B245   SHAWN         JOHNSON                 NE          27084226744
211B471776195B   ALEJANDRO     GONZALEZ                CA          90010837177
211B479A79155B   JESUS         LUJAN                   TX          90008507907
211B5237972B98   HEATHER       ALBANESE                CO          33014272379
211B5431647952   TASHEMA       THOMAS                  AR          90005224316
211B5449672B98   CHAD          ALBANESE                CO          90014444496
211B5979481661   RUBEN         FLORES                  MO          29014609794
211B5A74931453   CATINA        WILLIS                  MO          90006900749
211B6117957128   FRANCISCO     PADILLA                 VA          90002251179
211B61AA687B59   RAYMOND       ROBINSON                AR          23094511006
211B669474B261   ROSELYNN      REZAC                   NE          90007566947
211B685958B17B   GERONIMA      PEREZ                   UT          90009718595
211B692294B588   MARIE         HUNT                    OK          21569709229
211B7113487B21   TIFFANY       NICHOLS                 AR          90009471134
211B717A39155B   RICARDO       VALDEZ                  TX          75087871703
211B7259855941   SAMUEL        CAMACHO                 CA          90007962598
211B75A8A2B232   CHARLES       DUNNINGTON              DC          90003975080
211B767257B471   KELLY         LEANNE                  NC          90001856725
211B778719184B   COZETTA       LEWIS                   OK          21030837871
211B782257B699   YOLONDA       SCOTT                   GA          90006088225
211B8167791984   GINA          VILES                   NC          90010681677
211B8344184364   THOMASHIA     ROBINSON                SC          90011043441
211B839295B571   JENNIFER      GREGG                   NM          90010473929
211B884727B471   MORRIO        MCILWAIN                NC          90012088472
211B885782B27B   JASMINE       HOLLOWAY                DC          90014858578
211B8927887B59   KEVIN         SULLIVAN                AR          23081359278
211B8934531455   EDWARD A      NEWA                    MO          90009469345
211B89A9891528   LIZBETH       ACOSTA                  TX          90009579098
211B9156687B87   VERONICA      HOLLY                   AR          90010821566
211B9A76331631   ANN           DENNIS                  KS          90007600763
211BB238572B42   KEVIN         ROWLEY                  CO          90011372385
211BB44A251343   AMY           HILDERBRAND             OH          90011004402
211BB672355957   ROSA          HERNANDEZ               CA          90014786723
211BB816284364   CHRIS         WHEELER                 SC          19087448162
2121115635715B   BENEDICTO     MORALES                 VA          81017501563
21211919497B69   GUSTAVO       CAMPOS                  CO          90014699194
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2121235837B471   NORA         MORATAYA CRUZ            NC          90008163583
2121269249155B   ANA          PIEDRA                   TX          90015176924
212126A4A7B699   ALISHA       ANDREWS                  AL          90013996040
21212739A4B588   STEFAN       FOSTER                   OK          90014727390
2121293475B531   PATRICIA     JAQUEZ                   NM          35055979347
2121332717B699   BRANDI       WASHINGTON               GA          90003123271
2121358535B271   MAUREEN      HERNANDEZ                KY          68007445853
21214A41972B88   DOUGLAS      SHOEMAKER                CO          33007740419
2121561A287B87   SUSAN        MCCRARY                  AR          90014846102
2121569249155B   ANA          PIEDRA                   TX          90015176924
21215A1245B375   CURT         JARMER                   OR          44549430124
21215A46631453   KIMBERLY     POWERS                   MO          90010330466
21215AA2441245   KELLY        JONCAS                   PA          90010000024
212162A4898B62   GEORGE       LEACH                    NC          90013332048
2121639419189B   JOHN         KING                     OK          90014883941
2121658829136B   BRETT        MCCOOL                   KS          29033115882
21216682A5B161   DONNA        PORTER                   AR          90014876820
21216928687B21   BRIAN        EILER                    AR          90011759286
2121735539376B   PATRICIA     SCHEAR                   OH          90010053553
21217456972B88   MIGUEL       GONZALEZ                 CO          90009134569
212176AA891541   JACKIE       BENECK                   TX          90011176008
21219421172B42   BERENCE      VARELA                   CO          90013084211
2121949A491833   TINA         EDWARDS                  OK          21003044904
2121988764B588   PATRICIA     MCMAHAN                  OK          90007218876
2121B44845B531   JOSE         LEGARDA                  NM          90013544484
2121B61A272B98   GLORIA       LEDESMA                  CO          90013956102
2121B78A887B87   SHERMAN      WHITE                    AR          23039157808
2121B847A5B167   REANNA       MARSHALL                 AR          90014788470
2121B85817B699   AJA          SNEAD                    GA          90015298581
2122145119136B   CHERYL       DOWDY                    KS          90011194511
2122145247B699   TOMETO       WILLIAMS                 GA          90014384524
2122174A65715B   CESAR        GARCIA                   VA          90013447406
2122289572B232   GLINIS       FLORES                   DC          90013988957
21222A1317B699   CHRISTY      MATHIS                   GA          15008690131
21222A26972B98   FRANK        UNDERHILL                CO          90013970269
21222A6785B167   JIMIANNE     BARNES                   AR          90011310678
212252A7272B88   NAHUM        OSORIO                   CO          33073222072
2122544373378B   KEVIN        BROWN                    LA          90013934437
21225A63251369   MILO         MARSHALL                 OH          66046250632
21225A78191828   BRIAN        SANDERSON                OK          90014580781
2122648678B17B   XIOMARA      GUINEA                   UT          31064174867
2122668849136B   TONYA        CPRUM                    KS          90002666884
212267A1A9794B   FELIX        GARCIA                   TX          90011557010
21226925A7B471   MATTHEW      GARDNER                  NC          90014779250
21226A64281658   TERRENCE     JORDAN                   MO          29055910642
21227257A51343   JOHN         WILLIAMSON               OH          90001822570
212272A924B588   MICHAEL      WARREN                   OK          90010622092
212278A179184B   ERICA        ROOKS                    OK          90012598017
2122845754B281   ANGELO       BECERRA                  NE          27003204575
21228558272B42   EGLEN        GALINDO                  CO          90012985582
2122976A557157   VICTOR       GUZMAN                   VA          81017847605
2122997942B242   TAMIKA       HOLLEY                   DC          90001589794
2122B15852B232   WUBSHT       KIFLE                    DC          90013971585
2122B18415B271   DENNIS       HERRON JR                KY          90013881841
2122B349855957   DANIEL       MASSIE                   CA          90011683498
2122B476651343   LARKIN       DEVIN                    OH          90011004766
2122B548887B87   LATONYA      CARTER                   AR          90015215488
2122B59239184B   KAYLA        WHITE                    OK          90015195923
2122B72749136B   RINALD       DINNEY                   KS          29069687274
2122B751691828   KESHIA       WILLY                    OK          90001767516
2122BA3119184B   MARIA        JAIMES                   OK          90011930311
2123112532B27B   SHANTELL     CRAWFORD                 DC          90015361253
21231591A81661   SOFIA        CASTELLANO               MO          90011505910
212315A8955941   FLORDELIZA   MORENO                   CA          90013425089
2123176A17B699   TIFFANY      LANE                     GA          15010037601
21231A96572B98   ESTEBAN      SOSA                     CO          90011760965
2123255754B588   DENISE       RAMEIREZ                 OK          90008625575
2123267195B161   CARLOS       HERNANDEZ                AR          23097866719
21232697372B88   TIFFANI      WHITEBREAD               CO          90011286973
21233371272B88   DENISE       DRESSLER                 CO          33093913712
2123343522B232   CHRISTIAN    CARTER                   DC          90013124352
2123348945B167   CHARLENE     SPARKS                   AR          90013904894
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21233A25A31631   STACI       DEBOER                    KS          90015480250
2123453558B17B   HEIDI       ROUSH                     UT          90013585355
2123475415B167   TANGELA     SHELTON                   AR          90011447541
212351A3A72B98   WENDY       LOPEZ                     CO          90011761030
212353AAA91541   RAFAEL      BORRUEL                   TX          75057273000
2123554245B531   ROSA        GARCIA                    NM          90013545424
2123566384B281   ERIKA       DURAN                     NE          27050266638
2123567637B449   LAKESHIA    TRAPP                     NC          90011586763
212357A475B167   ROBIN       MCCALLISTER               AR          90012927047
21235878472B88   IGNACIO     SALAS                     CO          33000658784
2123619124B281   JAMES       SEVERA                    NE          27007131912
2123635384B588   MARTHA      FRIAS                     OK          90013963538
2123652918B15B   AMANDA      BITNER                    UT          90012845291
2123676912B931   MATTHEW     HARDIN                    CA          90007907691
21237235A72B88   DELORES     MASON                     CO          90012792350
2123738A24B588   JOSE LUIS   RIOS                      OK          90012013802
2123754764B261   JOSE        ALVAREZ                   NE          27049185476
21237A8835B571   RAQUEL      ROYBAL                    NM          90011280883
2123848A17B699   DAVID       DOVER                     GA          90014974801
2123859A881661   MIKE        WUELLNER                  MO          90010935908
212389A654B281   ERNESTO     AVILES                    NE          90013969065
2123977A887B21   CRYSTAL     GOFF                      AR          28087187708
21239824472B98   MARICELA    HERNANDEZ                 CO          33046468244
21239848A31453   CHARISTAL   HAYNES                    MO          90013588480
2123B127672B88   JOHNETTA    SANDOVAL                  CO          90012951276
2123B13225B271   LAURA       JIMENEZ                   KY          90014641322
2123B417987B87   MELBA       LEE                       AR          90013544179
2123B46A751343   VONNETTA    RIDLEY                    OH          90012514607
2123B974557157   GIBRILLA    MANSARAY                  VA          90007899745
2123BA9A947952   CRYSTAL     WOODHAM                   AR          24095050909
2124119A151343   AUSTIN      MORRIS                    OH          90015301901
2124175A891833   AMANDA      ANKERSHOLD                OK          90003357508
2124271444B245   LARRY       GEISTFELD                 IA          27030567144
21242A91991541   LILIA       RODRIGUEZ                 TX          75001600919
21243122387B87   KEONNA      ROBINSON                  AR          90010471223
2124366463B133   CAROLINA    GARCIA                    VA          81035986646
21244666472B98   ANA         TREVINO                   CO          90008056664
2124472979184B   NATASHA     GOMEZ                     OK          90013317297
21244AA8384364   MISHIMA     BRADLEY                   SC          90014730083
2124516A331631   WINDY       SMITH                     KS          90003441603
21245239872B88   ESPERANZA   SANTILLANO                CO          90012792398
21245274A61959   DELIA       RODRIGUEZ                 CA          90009352740
2124535345B161   SHERMA      BRADLEY                   AR          23008943534
2124542324B261   BRENDA      HARMON                    IA          90005724232
212454A575B167   DENISE      DEAN                      AR          90009774057
2124583739155B   TOMAS       GRACIA                    TX          90009438373
212458A719184B   ANTONIO     KELLUM                    OK          21030858071
2124598437B449   MIA         LITTLE                    NC          90014689843
21245A71987B87   MARY        ROBINSON                  AR          90003210719
2124674654B588   ROSA        REYES                     OK          21561177465
21246A38991831   AURELIO     ROMO                      OK          90012610389
21246AA3451369   STEPHANIE   MAXWELL                   OH          66082010034
212473A357B449   JALENA      BROWN                     NC          90010143035
21247412A61921   LUIS        RASMUZZEN                 CA          46089244120
21247524687B21   CHARLES     LOWRY                     AR          90002885246
21248554A5B167   JOSE        FIGUEROA                  AR          23030735540
2124874849794B   MARY        GONZALES                  TX          74042417484
2124883A74B588   JORGE       GOVEA                     OK          21593758307
21248917272B88   ANA LAURA   MARTINEZ ROBLES           CO          90014139172
21248A6A891541   PATRICIA    ACOSTA                    TX          90009720608
21249265824B55   ANAGIL      BENITEZ                   MD          90013922658
21249444887B59   DAVID       CAMP                      AR          90015244448
21249697587B87   STEPHANIE   DISMUKE                   AR          23035016975
2124B162991542   FRANCISCO   PIZARRO                   TX          90008241629
2124B387472B42   TRISH       SEBESTA                   CO          90012463874
2124B39587B699   ELIGIA      TURPIN                    GA          90014453958
2124B56544B281   LUCAS       KOENIG                    IA          90014385654
2124B583491541   MARIA       RAMIREZ                   TX          90003975834
2124B645481637   OMINI       ANDERSON                  MO          29048956454
2124B9A2A9184B   HILL        JANELLE                   OK          21000569020
2125113115B167   JANICE      JOHNSON                   AR          23000811311
21251464A84364   TIFFANY     GLOVER                    SC          19086474640
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2125162989136B   BRENT        DARRTH                   KS          29067706298
2125244A39136B   SHERITA      CONWAY                   KS          90015054403
21252718A93727   BRANDY       TAYLOR                   OH          90012967180
2125382739155B   SOCORRO      OCON                     TX          90013048273
21253953A87B59   DWIGHT       DESHAZIER                AR          90012529530
2125422419189B   CAMERON A    JARRETT                  OK          90010732241
2125442444795B   KIMBERLY     DAVIS                    AR          90002514244
2125481215B167   SHUNDA       SHAVERS                  AR          23042898121
2125495447B644   TRACY        GONZALES                 GA          90001699544
21255111A33122   ASHLEY       HIGHPOWER                 IL         90015081110
2125515744B245   ANN          ROGERS                   NE          90009771574
2125519935B271   KENNY        WILLIS                   KY          90014641993
2125526954B588   COREY        BONNER                   OK          90015302695
21255724A51343   VIANCA       JARRELL                  OH          90007467240
2125612175B161   LUDICHA      MOORE                    AR          90013751217
21257168987B87   CHARLIE      ROGERS                   AR          90011411689
2125735719184B   WHITNEY      LAHANN                   OK          21083123571
2125736847B699   TUNISHA      BROWN                    GA          90011153684
2125744A39136B   SHERITA      CONWAY                   KS          90015054403
21257574972B31   TERESA       GONZALEZ                 CO          90004225749
21258597787B87   PAYGO        IVR ACTIVATION           AR          90011975977
2125871139184B   JOSE         ROMERO                   OK          90009547113
21258A1475B255   KENNETH      THOMPSON                 KY          68064750147
2125946517B471   JUANITA      JOHNSON                  NC          11061224651
2125B23959155B   DIANA        JASSO                    TX          75027042395
2126199A287B87   DAVID        WOOLFOLD                 AR          90013909902
21261A2865B54B   ARIEL        HOMER                    NM          90014880286
21261A7A291241   ISAAC        WADE                     GA          90008090702
212634A942B931   ASHLEY       PERRY                    CA          90012754094
2126423374B245   CERITTA      SAVAGE                   NE          90009282337
2126487829184B   JUDI         QUIROZ                   OK          90013858782
21264A67931453   CODY         HESS                     MO          90015540679
21265172A5B161   TOMMY        RIGGINS                  AR          90002951720
2126519889189B   KENNETH      LUDOLPH                  OK          21028781988
212657AA97B449   GERARDO      SERRANO                  NC          90007027009
21265A68984341   JACQUELINE   SIMMONS                  SC          90012100689
21266197A8B17B   DAVID        JIMENEZ                  UT          90004171970
21267137A72B61   NATINA       CALLUM                   CO          90013141370
2126827199155B   PEDRO        RINCON                   TX          90013942719
2126837952B27B   TYANNA       GIBSON                   DC          90001313795
21268415387B87   CODY         JACKSON                  AR          90015594153
212689A8791541   MARIA        MONTELONGO               TX          90010329087
2126955332B27B   FLOYD        LITTLE                   DC          90012875533
212695A127B471   CHASITTY     GRIER                    NC          90000515012
2126B28865B571   ANA          RIVERA                   NM          35097122886
2126B3A4584364   CEFERINO     GIL TORRES               SC          90014773045
2126B53797B471   LARRY        ADAMS                    NC          90010925379
2126B711491241   PRECIOUS     SANDERS                  GA          90012977114
2126B772757157   ESTELA       CASTILLO                 VA          90014697727
2126B811584364   BRIANNA      LINGARG                  SC          90014788115
2126BA48372B35   AMBER        MARTINEZ                 CO          33098500483
2127123692B232   CHAZ         FRANKLIN                 DC          90012752369
2127154275B161   RONALD       AJOKU                    AR          90010905427
2127264594B581   HELEN        LTTLEJOHN                OK          90008896459
2127266AA9184B   LISA         PIPKINS                  OK          90009956600
21272688A5B271   GISELA       SAENZ                    KY          90011056880
21272862487B87   ALISHA       CANNADY                  AR          90015038624
21272A13541245   JOHN         GARDONE                  PA          90014730135
2127382538B17B   JEREMY       MAESTAS                  UT          90008628253
212739A259155B   JOSE         DIAZ                     TX          90014909025
21273A28A81637   JOSE         ARGUETA                  MO          29012590280
21273A47355957   RAFAEL       HERNANDEZ                CA          90006040473
212742AA857157   ELUISA       MARTINEZ                 VA          81018172008
2127456762B27B   JULIUS       MCNEELY                  DC          90012875676
2127498844B245   TAMEIKA      ROYSTER                  NE          90008859884
2127566252B232   NELSON       CASTRO                   VA          90002996625
2127569249155B   ANA          PIEDRA                   TX          90015176924
212757A1A9136B   YENI         REYES                    KS          90014847010
2127589735B167   DELISA       SCOTT                    AR          90012938973
2127655A74B588   NATALIE      REED                     OK          90008475507
2127672A581661   SHARMAN      LANG                     MO          90009807205
21276894A4B588   JAMES        QUARLES                  OK          90014868940
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2127724245B271   PAUL        SKEEN                     KY          90014642424
2127744A45B161   ROLANDO     RAMIREZ                   AR          90014064404
21277763287B87   STEVE       MEEKS                     AR          23094627632
2127782465B167   GLENDA      DODDRIDGE                 AR          90014768246
21277AA254B261   NANCY       FINLEY                    NE          27073170025
2127811945B167   QUINCY      HILL                      AR          23086351194
2127815929184B   DREW        CRUMMOND                  OK          90008981592
2127848635B571   DANIEL      GARCIA                    NM          90010474863
2127853963B333   VALERIE     ZERAH                     CO          33080325396
21278654A47952   JACEY       HORTON                    AR          90013626540
21278663772B88   CARISSA     SCOTT                     CO          90004496637
2127896915B161   STACEY      MORAGNE                   AR          90013119691
212789A1872B98   EUSEO       CHAPARRO                  CO          90013049018
21279219787B87   MARIKOS     BOWENS                    AR          23073352197
2127965742B27B   CRYSRTAL    WHITE                     DC          90014056574
2127B121487B59   MAURICE     BULLOCKS                  AR          90014031214
2127B1A4387B87   JOSHUA      HARRISON                  AR          90013711043
2127B24774B588   QUONDONIA   REED                      OK          90010782477
2127B28249184B   JUSTIN      CLAIBORNE                 OK          90013302824
2127B327A72B88   SHERRY      GARCIA                    CO          90012083270
2127B361381638   ROB         SIPPEL                    MO          29051493613
2127B43624B281   MARIA       LUCIA                     NE          90005294362
2127BA72851343   RONALD      BLACK                     OH          66012010728
2128139A991984   LEE         STORM                     NC          90013153909
2128166799794B   KATHY       CULBRETH                  TX          74011556679
21281866372B42   LINDA       URIBES                    CO          90013458663
212825AA172B98   ALEJANDRO   CALDORAN                  CO          33078515001
21283361372B42   TERESA      OBANNON                   CO          90011353613
2128357399189B   TYLER       STONE                     OK          90012355739
2128519965B161   DANIEL      PRUNTY                    AR          90015171996
2128551683B495   KERRIE      FULLER                    WV          90015435168
2128661519794B   ARON        CHAVEZ                    TX          74044676151
21286A18672B42   VERONICA    SIMS                      CO          33007450186
212877A567166B   SEMIR       SMITH                     NY          90015447056
21288186A31453   JENNIFER    GOODMAN                   MO          27501491860
21288276887B87   DESMOND     JENKINS                   AR          23050092768
2128832859155B   MIGUEL      OCAMPO                    NM          75050513285
2128849A455957   BRET        SKAGGS                    CA          90005264904
21288A63387B59   HEAVEN      CHAMPION                  AR          90013550633
2128966889184B   TANYA       JEFFERSON                 OK          90010036688
212897A4731453   KACEE       SIMMS                     MO          90010427047
2128984284B231   VICKI       HICKS                     NE          90008738428
2128989AA81637   CARMEN      PEREZ                     MO          90012578900
2128B138151369   ANGELA      DAWES                     OH          66017541381
2128B25639155B   LAURA       VASQUEZ                   TX          90012672563
2129127469184B   CHRISTY     HUTCHCRAST                OK          21011392746
21291454387B87   NICKEY      BRIGGS                    AR          23066624543
2129188954B588   JONY        GONZALES                  OK          90014208895
21291A75284364   DOREEN      WILLIAMS                  SC          90015240752
21292294272B88   ADRIANA     LOPEZ                     CO          90011342942
212923A8185938   WILLIAM     NANGUELU                  KY          90007643081
21292A91672B98   JOHN        MOYA                      CO          90005520916
2129311699136B   JUAN        MELCHOR                   KS          90002801169
2129427267B699   SAMANTHA    SCHIRIPO                  GA          90010112726
21294292672B98   HEATHER     YOUNG                     CO          33031492926
2129441659136B   VERSELL     GEE                       KS          90015064165
21294A5274795B   EDWIN       FITZGERALD                AR          25013470527
2129542265B531   ANGELICA    GAYTAN                    NM          90007284226
21295891972B88   SHEEVA      OLMSTEAD                  CO          90009988919
212962A492B232   BRANDON     SMITH                     DC          90013992049
2129659567B699   SERINA      TILLMAN                   GA          90013785956
2129711414B588   BRIDGELYN   CHRISTIAN                 OK          90011621141
21297368387B59   DEBRA       COOK                      AR          90014153683
2129749645B271   SHAKAA      ZULU                      KY          68030204964
21298259587B87   BONITA      IVERSON                   AR          90003942595
212983A3851331   DANIELLE    SIEMER                    OH          90009523038
2129882A25B531   JORGE       SALAZAR                   NM          90013548202
212992A3851343   ROBERT      KENNEDY                   OH          90013242038
2129939979155B   RODRIGUEZ   BRIDGETTE                 TX          90012763997
212993A938B17B   ARMANDO     GARCIA                    UT          31060963093
21299534A81661   DELANA      SUKRA                     MO          90011085340
2129985119189B   CREA        CHATMAN                   OK          21093318511
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2129B66315B167   ROBERT        HAYES                   AR          90011006631
2129B694587B87   SHAQUONA      SMITH                   AR          90013356945
2129B76757B699   WHO           ME                      GA          90013867675
2129B79397B699   CORDETRA      SHABAZZ                 GA          90014897939
2129B97A19155B   MANUELA       RAMOS                   TX          90009019701
212B131472B27B   JULIAN        BUCKNER                 VA          81095983147
212B183AA85872   MICHELLE      CHAMBERS                CA          90002668300
212B184795B161   DWAYNE        HARRIS                  AR          23082008479
212B232844B245   SHAWANDA      COMBS                   NE          90008083284
212B239525B531   REUBEN        VIGIL                   NM          90013543952
212B248529189B   KEVIN         SMITH                   OK          90008454852
212B2682151343   JOHN          HALL                    OH          66041186821
212B2A42587B21   GARY          METZ                    AR          28032160425
212B345119136B   CHERYL        DOWDY                   KS          90011194511
212B346145B531   RIGOBERTO     DOMINGUEZ               NM          35092574614
212B3516A91828   PATSY         HARDESTY                OK          90014755160
212B3524591984   ZELENAH       BLYDEN                  NC          90010695245
212B3559991541   FRANCISCO     RODRIGUEZ               TX          90012095599
212B3682151343   JOHN          HALL                    OH          66041186821
212B3A3748B17B   ALYSE         SNYDER                  UT          90009180374
212B4A6A35B271   WILLIAM       CAREY                   KY          90012410603
212B526A791541   IMELDA        QUINTANA                TX          90011642607
212B6171747952   JOSEPH        BURGESS                 AR          90013471717
212B619355B161   TIMOTHY       SUMMONS                 AR          90002041935
212B643116B134   FABIO         GOMEZ                   MS          90015464311
212B6523455957   HEMBERTO      GOMEZ                   CA          90013065234
212B665A19155B   LAURA         FLORES                  TX          75050076501
212B72A337B699   OCTAVIA       PERRY                   GA          90013352033
212B7494147952   ALISHA        CHRISTENBERRY           AR          90011354941
212B7514487B59   LINDA         EADES                   AR          90015115144
212B7817984364   SANTON        SANDOVAL                SC          90013968179
212B832859155B   MIGUEL        OCAMPO                  NM          75050513285
212B849257B471   ANGELICA      NAVA                    NC          90003044925
212B8861A4B588   ROBERT        SMITH                   OK          90001358610
212B8918791828   JAMES         CARPENTER               OK          90012659187
212B899A16B931   ROBIN         SLACK                   NJ          90013729901
212B8A22372B42   CASSANDRA     USEA                    CO          90015030223
212B987114B261   SUSAN D       MAPES                   NE          27098268711
212B9916191541   ELSA          GARATE                  TX          75055799161
212B9A3815B271   CHRISTOPHER   RICHARDSON              KY          90014840381
212B9A5617B449   MUSSIE        KAHSAY                  NC          11076650561
212BB188951343   ROBIN         BOLT                    OH          66097741889
212BB19889189B   KENNETH       LUDOLPH                 OK          21028781988
212BB44579136B   IRMA          SALDIVAR                KS          29076724457
212BB98744795B   ROSALINA      BOCHE                   AR          25018789874
2131196869794B   LETICIA       SAUCEDA                 TX          90011679686
2131214224B245   TRACY         SMITH                   NE          27003081422
2131223155B167   ROBERT        CLAY                    AR          90013582315
2131226355B271   GEORGE        TUCKER                  KY          90014642635
2131265634B281   TABETHA       NORTH                   NE          27053536563
2131292655B161   LINDSEY       SPEAR                   AR          90013919265
21313254587B87   BRIANA        ROBINSON                AR          90015522545
213134A8A51338   BECKY         JEMISON                 OH          66012304080
2131387664B261   AMY           QUEEN                   NE          27051268766
2131399824B281   CHERYL        DAVIS                   NE          90009279982
2131576734B281   CHERYLE       RAMBO                   IA          90015207673
2131583A95B36B   ARACELI       CONTRERAS               OR          44003048309
21316183872B98   RUSBEL        INIGUEZ                 CO          90011761838
2131661122B27B   DARLENE       EDDY                    DC          90014566112
2131662155B161   KAREN         YOUNG                   AR          90011066215
2131678A161877   JOSE          LEDEZMA                  IL         90012417801
213171A6857157   ROXANA        ESPINOZA                VA          90009501068
2131788652B232   CHRISTINE     PURVIS                  DC          90009828865
2131795685715B   FREDDY        CHICAS                  VA          90013739568
2131796849155B   ERIKA         RAMIREZ                 TX          90012779684
21317A3474B261   CHRIS         ALT                     NE          90014640347
21317A4745715B   FREDDY        CHICAS                  VA          90008420474
2131844656195B   MARIBEL       ROJAS                   CA          90009564465
2131856259184B   TERRY         DEESER                  OK          90013635625
21318565572B88   ANJUNEA       ANN THOMAS              CO          90004435655
2131889862B27B   CLEOTILDE     BLAS RAMOS              DC          90004098986
21318A66472B42   ANGEL         ROBINSON                CO          33005570664
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2131926355B271   GEORGE       TUCKER                   KY          90014642635
2131939854B281   CHRISTIE     BURGESS                  IA          27088403985
213196A7691828   KIMBERLY     CART                     OK          90010826076
21319734272B98   MARIBELL     TORRES                   CO          90006197342
21319812A9155B   EDNA         CHAIDEZ                  TX          75096878120
2131983715B167   TERRY        WHITE                    AR          23083018371
21319A8679189B   WILLIAM      CHANCE                   OK          21095470867
2131B14A99794B   MARY         MONTOYA                  TX          90002351409
2131B863391828   MARCY        MCNAIR                   OK          21074558633
2131B92512B232   TRICIA       RICHARDSON               DC          90012069251
2132141134B245   CANDI        ALLEN                    NE          90013014113
21321816A91828   TIM          SPENCER                  OK          21016498160
21321873676B71   ADRIANA      PEREZ                    CA          90001498736
213218A725B167   JONI         BAKER                    AR          90013828072
2132248369155B   GUADALUPE    GUZMAN                   TX          90013064836
21322629187B59   JALIVIA      BURNETT                  AR          90002506291
2132286345B271   GREG         PARKER                   OH          68014028634
21322A7574B245   BRYANT       DEAKINS                  IA          90013050757
21322A8689184B   EDDYE        KEMP-WHITAKER            OK          90015290868
2132327A74795B   BRETT        CHRISTENSON              AR          90003952707
2132357773B328   SHAWN        LAJCIN                   CO          90005365777
213237A6A57157   ANTONIO      PEARSON                  VA          90008637060
2132415634B588   VICENTE      ROSALEZ                  OK          90009081563
2132493225B531   MAXINE       JARAMILLO                NM          35018029322
21324A7337B449   DONOVAN L    BROOKER                  NC          90014410733
2132525A247952   MYDA         LUNA                     AR          90007902502
21325352A76B53   MARIA        AGUILAR                  CA          90009333520
213255A4693773   LAURA        BANNICK                  OH          64547725046
2132563A831453   STEVE        MCDANIEL                 MO          90007316308
213261AA44B588   ZHENG        XING                     OK          90000981004
2132639192B27B   DARSHICA     ALLEN                    DC          90002763919
2132643A14B261   ANA          FRANCISCO                NE          90015194301
21326539372B88   MARY         STIDHAM                  CO          33054455393
2132715179155B   KENNETH      MEDRANO                  TX          75063761517
213275A2393773   SAMARA       THALER                   OH          90003855023
2132767AA5B271   TERRY        WATERS                   KY          68064396700
2132817857B423   MARSHALL K   NEELEY                   NC          90007861785
2132822987B449   ARMANDO      MORENO                   NC          90015332298
213284A792B27B   ERICK        WALKER                   DC          90014494079
21328949972B88   HUGO         TYSON                    CO          33009749499
21328A56355957   DOYLE        STONE                    CA          90005030563
2132933A454125   RAYMON       BOLDETT                  OR          90014283304
21329359672B98   ROSEMARY     PORTER                   CO          33088963596
2132938392B232   MARQUETTE    HARPER                   DC          90014003839
2132B28949184B   CHRIS        COWELL                   OK          90013622894
2132B39657B449   TALICIA      PRICE                    NC          90013663965
2132B3AA49155B   LORENA       ALVARADO                 TX          90008113004
2132B48337B449   SHAKIA       LOVE                     NC          90010484833
2132B693381638   JESSICA      KINNARD                  MO          90010336933
2132B788472B98   MAYRA        GONZALEZ                 CO          33091017884
2132BA29272B88   VALLEJO      ELIZABETH                CO          90010030292
21331839687B87   ANGELA       SMITH                    AR          90000868396
21331A57472B98   SCOTT        SARGENT                  CO          90014860574
21332195572B88   JEANETTE     LARSEN                   CO          90005831955
21332A15491833   JAMES        MARSHALL                 OK          90007540154
21333A38791589   ROSALINDA    DIAZ                     TX          75087290387
2133439145B37B   EVELIA       NINO MEDRANO             OR          90012553914
21334627272B88   GARCIA       FAITH                    CO          90008206272
2133466242B27B   DEMETRIA     HENDERSON                DC          90014156624
2133477257B471   STARZELLA    DAVIS                    NC          90004747725
213348A6447952   KIMBERLY     PEER                     AR          24080978064
213348A8172B98   JESUS        LUNA                     CO          90012708081
21335278372B88   RANDR        LITTLE                   CO          90011972783
21335A1952B232   KEVIN        HAWKINS                  DC          90008080195
21335A4485715B   LAKNDAR      GABBABI                  VA          90011240448
21335A66231631   JAVIER       GARNICA                  KS          22050540662
21336121A51343   JAMES        JOHNSON                  OH          90010311210
2133698A772B88   SOPHIA       LOERA                    CO          90011549807
2133739374B588   FANNY        ABREGO                   OK          90015153937
213373A279184B   JOYCE        WINTERS                  OK          21007783027
21337612472B98   DIANA        CORREDOR                 CO          33018516124
213378A122B232   DAVID        CONTEE                   DC          90012838012
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21337A63872B88   VERONICA      RODRIGUEZ               CO          90002670638
2133832524B588   GEORGE        KELLY                   OK          90008173252
2133878557B699   MICHAEL       LAMB                    GA          90014787855
2133896924B281   RAUL          RODRIGUEZ               NE          90012369692
2133962569189B   JOHN          THOMPSON                OK          21091416256
2133969367B449   JASMINE       HARRIS                  NC          90008276936
21339A3552B27B   PAUL          MURRAY                  DC          90011150355
21339AA4181638   MEAGN         BOARDMAN                MO          29007230041
2133B299A81661   CHASI         SIPPLE                  KS          90012722990
2133B53A533122   MOIRA L       WOLF                     IL         90007015305
2133B638A77572   FRANCISCA     CRUZ- FALCON            NV          90007476380
2133B677272B42   RAFAEL        SILERIO                 CO          90012316772
2133B75655B167   REBEKAH       CUMMINGS                AR          90013437565
2133B79A97B699   TERELL        GLOVER                  GA          90014247909
2133B86249189B   EDUARDO       RAMOS                   OK          21085398624
2133B91172B27B   DAVONNA       ALLEN                   DC          90014779117
2134131318B17B   MARK          SANCHEZ                 UT          90011663131
2134196745B161   JUSTIN        DICKERSON               AR          90015119674
21342579A72B98   MARTAIN       PALMA                   CO          33027995790
2134264179155B   LUIS          CORONADO                TX          75096026417
2134264414B245   MARTHA        CONTRERAS               NE          90002056441
21342977587B87   KRYSTAL       YOUNG                   AR          23080239775
2134322A987B59   CEDRIC        HUNT                    AR          90013962209
213433A777B699   ALONZO        PIETT                   GA          90007473077
21343A4129155B   JOHNNY        CAUNA                   TX          75072980412
21343A8A69794B   THOMAS        MERCHANT                TX          74017250806
21344343887B59   KANEESHIA     WILLIAMS                AR          90007833438
2134435334B281   GEORGE        GARCIA                  NE          90015213533
2134464179155B   LUIS          CORONADO                TX          75096026417
21344A4525B271   PAUL          HALL                    KY          90000120452
21345383A41245   SHEENAE       SCOTT                   PA          90013553830
2134547649136B   CHRISTOPHER   YOUNG                   KS          90015054764
2134625A19184B   DELORES       ADAIR                   OK          21042742501
2134654737B699   BARBARA       THROWER                 GA          90012235473
2134685159136B   BRIANA        HOLMAN                  KS          90005308515
213469A699189B   ANGELA        CULLOM                  OK          21016059069
21347259387B87   PATRICK       LAWS                    AR          90015522593
213476A577B699   YVETTE        DANIELS                 GA          90014976057
2134798734B281   SARAH         INCANDELA               NE          27093209873
21348786A9155B   SABRINA       PINEDA                  TX          90014427860
21348934772B98   MARISOL       LINARES                 CO          90006219347
21348A56547952   CYNTHIA       CLEMENTS                AR          24063750565
213494AA19155B   DIANA         CANDELARIA              TX          90008014001
2134997A157531   RYAN          VISE                    NM          90010799701
2134B16185B167   YOLONDA       PEARSON                 AR          90005531618
2134B4A525B161   ERWIN         DIXON                   AR          23064614052
2134BAA9185844   ANTOONIO      CASAREZ                 CA          46090820091
21351424787B59   PAYGO         IVR ACTIVATION          AR          90013444247
21351521572B42   ALEXANDRA     DEWITT                  CO          90003915215
2135168A155941   IRVIN         LEON                    CA          49080346801
21351AA2851343   PAUL          ROZZI                   OH          90013680028
21352195272B98   JUAN          CARRILLO NAVA           CO          90014881952
2135244947B471   TERESA        BARNETTE                NC          11053134494
21352779A4B261   CYNDI         TOMRDLE                 NE          27045127790
2135279547B449   BEVERLY R     ROBINSON                NC          11000727954
2135292A74B281   KEJANA        GAINES                  NE          90008019207
21352A12A51343   ANGELA        MEYER                   OH          90009750120
2135352252B27B   DARRYL        NORFLEET                DC          90005135225
2135373335B161   ERIC          KNIGHT                  AR          90012027333
2135412329155B   FLORM         LOPEZ                   TX          90010501232
2135413862B232   PHILLISTIA    CARPENTER               DC          90011501386
21354155A81637   JILL          FANNING                 MO          90011951550
213544A735B161   ANTWONE       DANIELS                 AR          90014884073
2135493979184B   PATRICIA      LAY                     OK          90013449397
213553A995B271   AMBER         BURKLEY                 KY          90014643099
21355763972B98   CHAYO         OLDSON                  CO          33059057639
21355797A5B167   CATHY         BILLINGSLEY             AR          90010307970
21356155872B88   NAIELY        DIAZ                    CO          90011951558
21356271272B98   NELY          ZAVALA PORTILLO         CO          90015202712
21356555872B88   LINDSAY       LOVATO                  CO          90010485558
213568A975715B   YESENIA       RIVERA LOPEZ            VA          81029308097
21358125187B59   SHEREKA       FARVER                  AR          90009571251
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213585A2631631   VERONICA       SMITH                  KS          90007605026
2135879255B571   NABAHE         ABEITA                 NM          35034597925
2135879369184B   LARRY          LYONS                  OK          90013697936
2135894974B588   JAMES          MCCRONE                OK          90014559497
21358A89455957   JUSTIN         BRUMM                  CA          90006040894
213598A212B232   CHANDAL        MCPHATTER              DC          90012838021
21359939772B98   WADE           HILL                   CO          33086519397
21359A8A255941   MARSHELLE A.   EVANS                  CA          90012850802
2135B31319189B   BETHANY        ZWIRTZ                 OK          90014563131
2135B585881637   ANGELIQUE      WEST                   MO          90013835858
2135B678772B88   ALMA           MARQUEZ                CO          90012746787
2135BA77461877   CRYSTAL        HARRIS                  IL         90013090774
2136141125B167   OLGA           CAMPOS-ALLEN           AR          23059834112
2136151287B471   DOMINIQUE      ROGERS                 NC          90014145128
21362383687B59   BRITTNEY       HUTCHINSON             AR          90011053836
21363A77185938   JESSICA        WHITE                  KY          90010710771
2136415745B161   LACOLE         GRAHAM                 AR          23080661574
213643A1A72B88   ARIES          GONZALEZ               CO          33080733010
2136462584B245   KELLIE MARIE   THOMAS                 NE          90005836258
21364685672B88   ANTONIO        MORALES                CO          90015126856
21364A42381638   APLRIL         LAGRONE                MO          90011190423
2136574799189B   CARLOS         JUAREZ                 OK          90008457479
21366784A93773   MATTHEW        SIZEMORE               OH          90003187840
2136688733B333   SHANTEL        BERRY                  CO          90010548873
213668A269184B   VICTOR         RODRIGUEZ              OK          21027608026
21367194572B88   KELSEY         SCHMIDT                CO          33027821945
2136752957B699   CARLANDER      SHUMPERT               GA          90011155295
213675A454B281   FRANKLIN       JEFFERSON              NE          27036105045
2136768865B167   ZACHARIAH      MCCOY                  AR          90010776886
2136776259136B   SHANNON        BURTON                 KS          90014627625
2136813348B17B   JULIO          LOPEZ                  UT          90007091334
21368A3A831453   VICTORIA       STEPHENS               MO          90013350308
21369663172B42   JOSHUA         KUIK                   CO          33017966631
2136968885B571   RUDY           MENDOZA                NM          35083976888
21369728672B42   NICOLE         DICKEY                 CO          90013027286
21369754A9136B   MYNOR          LEIVA MELENDREZ        KS          90015107540
2136993769155B   MARY           PATLAN                 TX          90014119376
2136B343A5B161   DANIEL         MARROQUIN DEL VALLE    AR          90013363430
2136B347631453   SHERRON        WHITE                  MO          90014703476
2136B36A791542   JESUS          ROJAS                  TX          90009513607
2136B379291241   SONDRA         NEWTON                 GA          90013383792
2136B78584B588   JOHNNIE        JOHNSON                OK          21514607858
2136BA9582B232   JESSICA        BOYD                   DC          90000540958
2137123969189B   MARY           CANNON                 OK          90001112396
213719AA793767   RYAN           LAMBERT                OH          90001479007
2137215875B271   CASEY          HAYES SERRANO          KY          68005081587
2137299318B17B   MIKE           NEWTON                 UT          90008269931
21373223A72B98   KRISTINA       ALCON                  CO          33018522230
2137357A891828   TERANCE        WILLIAMS               OK          90014675708
2137446725B531   VERONICA       MALDONADO              NM          90013554672
2137583799155B   STEPHANIE      SAENZ                  TX          90011858379
21375AAA57B699   DONTRES        MAYES                  GA          90013610005
2137634619184B   DAWNITA        JASSO                  OK          90000303461
21376395772B98   LILIANA        CASILLAS               CO          33063813957
21378292A87B87   JUANITA        WHITEHEAD              AR          23098422920
213782A6487B59   JOHNNIE        HADLEY                 AR          23074802064
2137834127B449   JESSICA        INGLES                 NC          90015123412
213786A979184B   JOHN BEATY     WORTHAN                OK          21094566097
2137875884B281   SHARI          GRAHAM                 NE          90014887588
2137881429155B   FERNANDO       SARINANA               TX          90007988142
2137881775B161   EMILY          ROBINSON               AR          90012318177
2137891454B281   BETTY          BIRDSONG               NE          90014919145
2137979985B144   LANITIA        THOMAS                 AR          90012167998
2137991A191828   KIMBERLY       WRIGHT                 OK          90010829101
2137999335B344   CLARA          ORTIS-CRUS             OR          44528649933
2137B428587B87   CRYSTAL        STALLINGS              AR          90009644285
2137B82314B281   MARCI          OWENS                  IA          90014018231
2137B86A472B98   MARIA          GARCIA                 CO          90006268604
2138117469189B   KRISTIE        TOWNSEND               OK          90007021746
2138126632B931   IRENE          VILLAPUDUA             CA          45068182663
2138174835B571   MEGAN          MONTOYA                NM          35087837483
21381768A9136B   WILLIAM        LOWE                   KS          90015107680
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2138193665B167   CHRISTIE               RICHARDSON       AR        23062379366
2138224395715B   LEMUS                  EDGAR            VA        90002972439
2138231339155B   ALEJANDRO              RUIZ             TX        90013943133
21382668187B87   JORDAN                 COCKERM          AR        90014846681
2138274835B571   MEGAN                  MONTOYA          NM        35087837483
2138328939189B   BONNIE                 FACTOR           OK        21027602893
2138382479155B   EDITH                  VERA             TX        75064858247
213848A8A9794B   JONATHAN               NIETO            TX        90014238080
2138533669184B   JIMMY                  ELLISON          OK        90012153366
2138538815B271   GEORGE                 NICHOLS          KY        90014643881
21385682972B88   VANESA                 DREILING         CO        33092486829
2138675833B386   ZACHARY                QUIMBY           CO        90012087583
21386A24991541   MARIA                  BANUELOS         TX        90002690249
21387224687B87   MARYLIN                TURNER           AR        23082872246
2138739A35B271   TAMIKA                 HEARD            KY        90014643903
213874A514B233   TRACY                  BENNETT          NE        90013014051
213878A3931631   WILLIAM                SUHR             KS        90014828039
2138837A681661   ADRIAN                 MELAND           MO        90015003706
21388A4845B531   VALERIE                GRIEGO           NM        35013480484
2138938524B281   JOHN                   BRADLEY          NE        27062543852
2138957255B531   RUFINO                 RICO             NM        90013555725
213899A345B161   ANDRES                 RAMOS            AR        90015119034
2138B37627B471   MARTIN                 SANCHEZ          NC        90012823762
2138B88995B167   TIMOTHY                DEBOSE           AR        23044298899
2138B911A7B456   KATRESA                JONES            NC        90002219110
2139123718B17B   AUSTIN                 WILLIAMS         UT        90007092371
21392525A4B261   DENISHA                OGLESBY          NE        90007835250
213925A962B27B   DIAMOND                ABNEY            DC        90001405096
21392771A7B699   BERTHA                 MILES            GA        90003457710
21392A52572B98   CLAUDIA                VAZQUEZ          CO        90013970525
213936A4791984   JOSE                   GARCIA           NC        90012426047
2139383544B261   ANGELICA               ZAPATA           NE        27077338354
21393A81287B59   MARANDA                ALFORD           AR        90013780812
21394732772B88   JACQUELINE             OLIVAS           CO        90011287327
2139477368B17B   ANTONIO                PIMENTEL         UT        90008457736
2139491A74B281   TERESA                 HICKS            NE        27001399107
21394A18743545   CANDACE                ROGERS           UT        31008870187
2139515949136B   MIGUEL                 CAMACHO          KS        90011261594
213956A895B531   JACOB                  SALAS            NM        90013556089
2139582465B167   GLENDA                 DODDRIDGE        AR        90014768246
2139632284B588   JOSE                   ESCALERA         OK        90012453228
2139679869155B   VALERIE                DIGEO            TX        90012517986
21396A1849184B   JULIE                  BANNISTER        OK        90009160184
2139743255B271   SHAUN                  ASH              KY        90014644325
213974AA791984   TIFFANI                CARLYLE          NC        90013484007
2139773685B167   JERRICA                MASON            AR        90011017368
21398528672B98   GERARDO                RODRIGUEZ        CO        90011485286
21398A6735B167   SHEREE                 WOODARD          AR        23040750673
2139943375B271   CHRISTI                JOHNSON          KY        90014644337
2139962115B531   NAYELI                 LUCERO           NM        90013556211
21399A4455B571   KEVIN 459DESERT MISS   GONZALES         NM        90005170445
2139B4A2491241   JENELLA                PRIDGEN          GA        14589124024
2139B963557157   KRISTY                 GIBSON           VA        90005889635
213B1232A84364   TYRA                   JOHNSON          SC        90013112320
213B131789794B   BERNANDINO             TAMAYAC          TX        90007253178
213B1334157157   JOSE                   MOLINA           VA        90010773341
213B1417A5B167   PAYGO                  IVR ACTIVATION   AR        90005574170
213B1717693773   DAVID                  PARKER           OH        64589337176
213B1A2A171949   LISA                   EDDY             CO        32011730201
213B227A751343   KARA                   MAYBERRY         OH        90002232707
213B239419155B   MARIA                  REYES            NM        75093193941
213B2473993773   JERMAINE               GRIFFIN          OH        90002044739
213B253459136B   SHAUNA                 DRENNAN          KS        90015065345
213B2786687B59   JOSEPH                 COLLINS          AR        23064687866
213B3186131453   JANEL                  SILINIZY         MO        90013891861
213B482264795B   DEBORAH                GREEN            AR        25063618226
213B482A657B85   JUSTIN                 SAN TAMASSINO    PA        90015058206
213B483567B699   JENNIFER               FOSTER           GA        90008698356
213B484815B167   LESILE                 MORALES          AR        90014478481
213B556524B261   RAY                    GIBSON           NE        90007335652
213B579435B161   TONY                   HARRISON         AR        90013187943
213B623515B271   DANIELLE               COLLINS          KY        68053872351
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213B629519794B   JUAN             BAUSTISTA            TX          74074672951
213B6714291833   REBECCA          TAYLOR               OK          90005117142
213B7313187B87   SAKIMA           JACKSON              AR          90013883131
213B736232B27B   RICHARD          HEBRON               DC          90009603623
213B7386887B59   WANDA            LASLEY               AR          90007413868
213B793495B144   GLENDA           WRIGHT               AR          90001079349
213B7986587B59   TIFFANY          HILL                 AR          90005519865
213B7A12491528   FERNANDO         FLORES               TX          90003320124
213B83A4272B98   MIGUEL           RANGEL               CO          90008753042
213B8876591528   SHALEENE MARIE   MATTHAEI             TX          90006618765
213B922437B449   ANTONIO          DUARTE               NC          90011372243
213B958157B471   MAURI            SANCHEZ              NC          90012895815
213B963112B27B   INETHIA          WILLIAMS             DC          90012876311
213B963354B521   ROBERT           RAMOS                OK          90008766335
213B978475B271   BRANDY           CHESHIRE             KY          68088857847
213B9AA8287B59   KYLE             KELLY                AR          90014470082
213BB747584364   JAMES            DAVIS                SC          90011677475
213BB77489155B   ROSA             SEGURA               TX          90012047748
213BB7A7587B21   BRANDY           ULLREY               AR          28087427075
213BBA4A185938   ANGELA           MOORE                KY          67042600401
2141125A59794B   JUAN CARLOS      MARTINEZ             TX          90011692505
2141152447B449   JESSICA          SANDERS              NC          90014145244
2141183979155B   ROBERT           ORRICK               TX          90012528397
2141245535B571   GEORGE           RIOS                 NM          35087754553
214126A3372B98   MOSI             GOLDEN               CO          33083016033
21412AA134B281   KUIRA            LAWTON               IA          90014340013
214131A964B588   CHERITOPHER      WELCH                OK          90007771096
2141445787B373   JOSE             SARAPURA             VA          90011094578
214145A4281661   CC               RODRIGUEZ            MO          90013305042
21414997A9184B   ROCIO            BONILLA              OK          21015849970
21416858A7B699   SHANTICE         CLOWERS              GA          90014968580
2141692275B167   KIMBERLY         GAVINS               AR          90014509227
21416998A41245   DREW             LYSCIK               PA          90011239980
21416AA6672B42   JOSE             ESTRADA              CO          90003060066
21417177587B59   FREDDIE          HICKMAN              AR          90010881775
2141738337B699   ASIANA           GRIER                GA          90014883833
2141754AA91528   RUTH             BERSCH               TX          75071925400
21417766A9155B   YVONNE           CERRILLO             TX          90012667660
2141785924B281   TRACIE           TIBBS                NE          27047978592
2141788179136B   SERGIO           ORTIZ                KS          90015108817
21417885372B88   ANGELA           SOLOMON              CO          90012828853
2141824A25B271   ASHLEY           CLARK                KY          90014652402
21418445572B88   KAREN            MASON                CO          33059244455
2141921A172B42   MICHAEL          FERNANDEZ            CO          90010572101
2141921A684364   JANICE           MCPHERSON            SC          19054882106
2141957872B733   LIONEL           MUSONI               ME          90014635787
2141977324B281   DEVONA           PARNELL              NE          90000857732
2141978644B22B   JARONE           WALKER               NE          90011337864
214198A4791828   JIMMY            HAMMONS              OK          21097068047
21419A15881637   BRIANNA          FUNDERBURGE          MO          90015160158
2141B68A657157   NICHOLE          DAVIS                VA          90012086806
2141B735291828   LOWELL           LEWIS                OK          90011107352
2141BA56631492   PHYLICIA         COLLINS              MO          90000620566
2142124452B232   NGINA            GIVENS               DC          90013122445
2142152A381637   VALERIE          COLLIER              MO          90009635203
21421761372B98   PERLA I          FLORES               CO          90000227613
2142197A987B59   LACA             JONES                AR          23085189709
214223AA54B553   SARA             PATTERSON            OK          90008913005
2142247A44B261   RACHEL           MOYERS               NE          27016274704
2142293214B588   JULIAN           MARITNEZ             OK          90012089321
2142376297B462   MANUEL           ALONZO               NC          90004407629
21423763787B87   SHERRY           MACKRELL             AR          23042417637
214237A948B159   BRIANNA          HUFF                 UT          90012757094
21423A19A6193B   LUCINA           MONTANA              CA          90001020190
2142421929136B   JOSE             CASTILLO             KS          90014922192
2142424892B27B   MARSHELLE        LEE                  DC          90011352489
2142432A25B167   CHARLES          GILBERT              AR          90005933202
2142441A391984   LAKEITA          WILEY                NC          90014604103
2142448749794B   JORGE            LOPEZ                TX          90011694874
21424566A7B471   ERIC             KRAMPAH              NC          11091255660
21424749872B42   TINA             FRANCISCO            CO          33090417498
2142524519794B   SHAWN            JENKINS              TX          90014332451
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214252A9291828   MICHEAL            CARPENTER          OK          90009842092
2142534912B232   KIMBERLY           MCCANTS            DC          90010463491
21425A3399189B   DAVID              WEBSTER            OK          90009710339
21426194572B98   PAULA              LYNN               CO          33035151945
21426325772B42   ISAIH              HOUSTON            CO          90014693257
21426335572B42   DESARAY ONETOONE   STHOENFELDER       CO          90004263355
214265A989155B   MANUEL             SEPULVEDA          TX          75046895098
2142665A39184B   SARAH              HANCOCK            OK          90009806503
2142725355B271   DIANE              WARREN             KY          90014652535
2142739995B571   FRANCISCO          EPINOZA            NM          35055763999
21427562487B87   JAMES              INGRAM             AR          90015095624
2142758115B167   TABITHA            HANSON             AR          90010945811
21427A5119155B   VERONICA           SILVA              TX          75009640511
21427A57372B88   MARIA              MAES               CO          33011130573
2142825418B17B   JAZMIN             SHELTON            UT          31009012541
2142839934B245   ANGELICA           MARCOS             NE          27061313993
214286A347B471   SIERRA             DULANEY            NC          90012426034
214289A5A9136B   JOEL               CAMPOS             KS          90015109050
21429795572B42   JIM                CORDOVA            CO          90011027955
2142B334791528   JOHANA             CARRASCO           TX          90008633347
2142B69167B449   PHOURIENG          KEONAKHONE         NC          90003786916
2143132437B699   STEPHANIE          BAKER              GA          90011273243
2143138A641245   TAI                JONES              PA          90010533806
21432A68772B98   JUAN               ROMERO             CO          90013970687
21433594187B87   ANTHONY            HUDSON             AR          23001655941
214337A9A72B42   LEANNE             SALTAR             CO          90006167090
214338A745715B   RODOLFO            MARENCO            VA          81014518074
21433AA377B699   BENNY              WALTON             GA          90010390037
2143426A291833   JERRY              RITTENGER          OK          90008522602
2143442557B699   SHERRICK           AMBROSE            GA          90013664255
2143553974B541   CHLOE              ROGERS             OK          90009215397
2143573819794B   SHERRELL           JONES              TX          74010087381
21435982A4B261   KATHY              TROTTER            NE          27090279820
2143664312B931   LINDA              RUSHING            CA          45057346431
214366A965B161   IMANI              ESKEW              AR          90013016096
21436769887B87   SABRINA            GRIGSGY            AR          90015377698
21436917A91828   FRANK              ASHING             OK          21072909170
214369A3591541   ANA                RASCON             TX          90000299035
21437375A7B449   JUAN               ALVAREZ            NC          90008123750
214375A7891828   WILDER             LOPEZ              OK          21001985078
2143766222B232   KEVIN              SPANN              DC          90004006622
2143775169155B   JAVIER             ARREDONO           TX          90014877516
21437915872B88   KATHLEEN           MATZ               CO          33091489158
21437A33231453   DANA               GRANT              MO          90015220332
214383A5455941   JOSE               DIAZ               CA          49047993054
21438454972B98   MIGUEL             CASTANEDA          CO          90004264549
21438931687B87   TIFFANY            KATES              AR          90012559316
2143952985B271   SYLVIA             CLARKSON           KY          90014665298
2143B13248B147   AMIRA              CORREA             UT          90011491324
2143B36325B167   DUSTIN             RABURN             AR          90000683632
2143B977A81637   ANTHONY            RESTIVO            MO          29004929770
2143BA5A44B588   JOSEPH             MOORE              OK          21555470504
2144176A847952   GLORIA             RALZOLA            AR          24024037608
21442145A9184B   WHITNEY            OLTMAN             OK          90014081450
21442211487B21   TANYA              FREYTAG            AR          90005302114
21443279A51343   TONYA              WOODRUFF           OH          90013782790
2144444256B931   ALEXANDER          MODESTINO          NJ          90014674425
2144453485B271   TABBITHA           ZINNINGER          KY          90014665348
2144553785B271   ANGELA             SULZER             KY          90014665378
2144589819155B   CLAUDIA            RAMIREZ            TX          75095928981
21446117772B98   SAVANNAH           TRUJILLO           CO          90005521177
2144641A693773   JAMARCO            TAUL               OH          90005774106
214469A979189B   CHRISTIAN          RIVERA             OK          90010209097
21446A37141245   MICHELLE           UNGLAUB            PA          51035430371
21447137A57157   GERBER             ROBLES             VA          90014811370
2144734152B27B   NICK               GROSS              DC          81004523415
21447641372B98   SANDY              HARRIS             CO          33086156413
21447A5125B571   ELADIO             HERNANDEZ          NM          35009680512
2144876487B449   GERONIMO           DEL CID            NC          90015187648
21448849172B88   DANIELLE           BERAM              CO          90005798491
21448945687B87   LEON               SIMS               AR          23091519456
2144939A372B88   MATTHEU            LAURRELL           CO          90015013903
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21449556472B98   BLANCA        MOZQUEDA                CO          33096735564
21449886A72B42   ANABI         KARN                    CO          90013208860
2144998917B471   ANGEL         LITTLE                  NC          90014549891
2144B21243B384   BRICE         GOSSETT                 CO          33062152124
2144B534172B98   MATT          TAGUE                   CO          90010775341
2144B79165B161   SHANNON       SHARP                   AR          23006417916
2145192892242B   MARIA         LEAL                     IL         90002829289
21451A77A55941   ROSA          RAMIREZ                 CA          90014770770
2145211875B531   BARBARA       PADILLA                 NM          90002381187
21452729887B59   NIKKIA        CLARK                   AR          23029547298
2145275A82B27B   EVANGELINE    ODOM                    DC          90012887508
2145285315715B   ABSHIR        JAMA                    VA          90002988531
21453227487B59   AALIYAH       BENNETT                 AR          90011102274
2145354137B699   MONIQUE       SUTTON                  GA          90013975413
2145362545B161   CHADWICK      COMER                   AR          23010456254
214537A2891984   BRITTANY      DAVIS                   NC          90014147028
21454234572B88   GABRIELA      SILK                    CO          90014592345
21454361272B88   HOLIDAY       NITOKRIS DIAMOND        CO          33093963612
21454392187B59   ANTHONY       JONES                   AR          23057973921
21454393A9136B   NICOLE        BRIGGS                  KS          90015133930
2145446579184B   GRISELDA      ALONSO                  OK          90011124657
2145477968B17B   PABLO         ISLAS                   UT          90014467796
2145528AA51343   JEFF          ROBINSON                OH          90014342800
21455386887B59   WANDA         LASLEY                  AR          90007413868
2145556589155B   PATRICIA      CARRILLO                TX          75016505658
2145639429136B   EMIGDIO       ORTIZ                   KS          90015133942
2145678169155B   JOSEFINA      SOTOMAYOR               TX          90013967816
21456836572B42   JANE          PETERSEN                CO          33020898365
21456997A5715B   JOSE          HERNANDEZ               VA          90003159970
2145711567B449   WENDY         AGUILARGUEVARA          NC          90011811156
21457A1127B471   VIKIK         FORNEY                  NC          11080980112
21458751372B42   REBEKAH       RAMIREZ                 CO          90005567513
2145895214B588   TIFFANY       PAVON                   OK          90011979521
214589A8372B98   REBECCA       HERNANDEZ               CO          90003899083
21458A4742B86B   SINAN         NADAREVIC               ID          90002570474
2145976635B271   KEOSHA        JACKSON                 KY          90010747663
2145978159794B   RAFAEL        GARCIA                  TX          90007187815
21459A11491241   SEAN          MILTON                  GA          90013280114
21459A48891984   DANIELLE      COOPER                  NC          90004990488
2145B21A34B281   MICHAEL       DEAN BYVERLY            NE          90013592103
2145B546591241   DONNA         ANDERSON                GA          14543465465
2145B78968B17B   ROSALINA      GARCIA                  UT          90010397896
2145B789A72B88   LESLIE        VELAZQUEZ-HERNANDEZ     CO          90008947890
2145B815151343   TYRA          COOK                    OH          90012998151
21461121972B88   FLORY         CASCANTE                CO          33094511219
21461262372B98   ERNESTO       HOLGUIN                 CO          33091222623
21461769A9155B   ROBERT        FONSECA                 TX          75099477690
2146221877B699   VALERIE       DENSON                  GA          15093152187
214623A1791828   HEATHER       MORRIS                  OK          90014413017
2146259A981661   CHRISTOPHER   HERNANDEZ               MO          90014885909
214633A8391528   MEGAN         KEICH                   TX          90003633083
2146355745B167   DEJUN         GRIFFIN                 AR          23095745574
2146396A591923   NICHOLAS      WATKINS                 NC          90001649605
21463A34591828   NINA          DAVIS                   OK          90014530345
2146432215B531   YADIRA        MARTINEZ                NM          35040473221
2146443379184B   DELMI         VALDIMIEZO              OK          90011884337
2146443899794B   JOANNE        SCHULTZ                 TX          74087124389
21464589524B55   RANDY         ROBINSON                VA          90000895895
21465586A87B87   FRANK         WILLIAMS                AR          90013645860
21465698587B87   CHANDRA       THOMPSON                AR          90015006985
21466566733B96   KALIMAH       JOHNSON-MUHAMMAD        OH          90013795667
214665A149184B   T             MASON                   OK          90010005014
2146672265B531   RACHAEL       JASSO                   NM          90013557226
2146683119136B   CARNELLA      PAYTON                  MO          90009938311
2146716A99136B   VERNICE       MCCLUNEY                KS          29070811609
2146739415B167   HEATHER       FUSELIER                AR          23097243941
2146748397B471   VILMA         ZUNIGA                  NC          90014704839
2146878949136B   CLAUDIA       RODRIGUEZ               KS          90009457894
2146951A29184B   LOUIS         FUENTES                 OK          90002135102
2146961715B167   L             JORDAN                  AR          23008256171
2146964244B281   JOSEE         COLON                   NE          27018726424
2146B17597B471   CAROLYN       AGEE                    NC          90007111759
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2146B27194B281   DENISE M    HOSKINS                   NE          90005692719
2146B3A7191541   RIGOBERTO   GONZALEZ                  TX          90009083071
2146B496781637   CHARLES     HICKS                     MO          29061094967
2146B67A431453   JACOLBI     MORRIS                    MO          90015416704
2146BA63491984   MARLILI     MELCHIONNE                NC          90014330634
2146BA74255957   MARITZA     MICHEL                    CA          90013850742
2147136314B281   AMBER       SCHAEFER                  NE          90004913631
2147148382B931   CHRIS       BOURGOIN                  CA          45066274838
2147182684B245   VERONICA    BUSCH                     NE          27074418268
21472551572B98   VICTOR      URIOSTEEYI                CO          90011405515
2147276882B27B   MARVIN      PARKER                    DC          90012887688
214727A617B699   WILLIAM     DAVIS                     GA          15077207061
214728AAA55957   BEATRICE    SEGOVIANO                 CA          90013448000
2147296784B261   HARRY       EDWARDS                   NE          90013959678
214729A7287B59   ERMAS       GEORGE                    AR          23082699072
21473A56981661   VALERIA     TREJO                     MO          90013870569
2147437814B245   LETICIA     ESTANES                   NE          90012103781
2147449A985938   GRANVILLE   LEWIS                     KY          90011074909
2147453945B536   NICOLE      GRIJALVA                  NM          90012715394
214747AA19794B   MELISA      BELL                      TX          74066437001
21475282787B21   BRANDON     PENNIE                    AR          28091652827
21475A6527B449   OLIVER      ALEXANDER                 NC          90014350652
2147612172B27B   ISMELDA     SALES TORRES              DC          81080671217
2147681465B531   RODNEY      GREENE                    NM          90013558146
21476A59957157   MARSHALL    SCOTT                     VA          90001160599
21477AA557B699   RICARDO     MARTINEZ                  GA          90012780055
214785AA931453   DIANA       WORD                      MO          90013995009
2147884367B699   REGINALD    WILSON                    GA          15038998436
214789A8457157   DONALD      DORSEY                    VA          90003369084
2147935455B161   LATOSHA     MITCHELL                  AR          23090443545
2147B2A1291984   TASHANA     PEREZ                     NC          90015012012
2147B46255B167   JANET       MOLODECKI                 AR          23062524625
2147B566141245   DONNA       SCOTT                     PA          90002045661
2147B584355941   BLANCA      MORENO                    CA          90015255843
2147B5A575B161   DEVON       BOOTH                     AR          90007995057
2147B76A75B531   MARY        GOMEZ                     NM          90013557607
2147B81628B17B   HEIDI       LUND                      UT          90009428162
2147B81745B531   JENNIFER    SOLIS                     NM          35012988174
2147B872272B42   MARK        RENEAU                    CO          33077278722
2148123424B281   CARMELO     HERRERA                   NE          90001112342
21481242372B42   TAMMY       MANN                      CO          33071882423
21481391987B59   DOROTHY     GIRLEY                    AR          23010023919
2148183A947952   LATOYA      SHEPHERD                  AR          24036948309
214818A315B271   ELIZABETH   FERREYRA                  KY          68072708031
214823A2957157   MARIA       GONZALES                  VA          81006353029
2148273A77B699   KEISHA      WILSON                    GA          90014037307
2148343672B27B   TIFFANY     SANDERS                   DC          90008624367
21483642272B88   JASMIN      NAVARRATE                 CO          90013846422
214842A245B161   TAMARA      GULLEY                    AR          90008192024
21484A6A277576   NICOLE      CHAMBLIN                  NV          90010510602
2148552614795B   JOSE        GERTRUDIS                 AR          25088445261
2148624759794B   LUIS        OROZCO                    TX          90011712475
21486791372B98   PHILLIP     LEWIS                     CO          33018247913
21486963397B3B   CORINA      LUJAN                     CO          90008439633
2148771749155B   GARCIA      OSWALDO                   NM          75084987174
21487725672B88   NATIVIDAD   SALAZAR                   CO          90010347256
21487A3217B449   KENNETH     WRIGHT                    NC          90013180321
2148849999155B   JUAN        GUZMAN                    TX          90013304999
2148869699184B   MEGAN       NIDER                     OK          90013216969
21488A31487B21   MARK        MCDONALD                  AR          28044480314
2148B1AA79155B   LORENA      SALOMON                   TX          90010491007
2148B3A8581638   PATRICK     CASEY                     MO          29074203085
2148B4A4991541   EDMUNDO     TORRES                    TX          90013644049
2148B533372B88   ANA ABEL    DIAZ                      CO          90014895333
2148B92999184B   DAVID       PARKER                    OK          21015819299
2148B95194B588   DOLMAN      MORALES                   OK          21586969519
2149113955B167   ANITA       LAFLORA                   AR          90011871395
21491798687B87   ROBERT      TYSON                     AR          90014267986
2149195A97B699   MICHELLE    NELSON                    GA          90012009509
21491961A55957   IQNACIO     MURGUIA                   CA          48069989610
2149225494B588   BUCKY       HALL                      OK          90011522549
21494391A5B161   SABRINA     GOODWIN                   AR          23072953910
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2149455AA9155B   MIGUEL       MELENDEZ                 TX          90013715500
21494599A91984   JAKABA       DAYMON                   NC          90015185990
214945A267B699   DARA         LEWIS                    GA          90013485026
214946A4A5B167   RASHANDA     SMITH                    AR          23036806040
2149497AA43523   JASON        JONES                    UT          31010299700
21495351A7B699   MAURICIO     PEREZ                    GA          90015083510
21495656572B88   MARIO        URRIETA                  CO          90000266565
2149568379184B   GERARDO      SERNA                    OK          90011876837
2149627A887B59   RODERICK     SMITH                    AR          90010452708
2149635774B281   ALEJANDRA    PULIDO-HERNANDEZ         NE          90010983577
2149647285B161   LAKISHA      HAMMOND                  AR          90001174728
21496945972B88   JUAN         MANDONADO                CO          90014889459
2149774A45B167   JOSEPH       COOK                     AR          90012487404
2149786637B449   JOHNNY       BEATTY                   NC          90013648663
2149849A581637   LATOYA       HURST                    MO          90014614905
2149859A481661   JHON         JHON                     KS          90006035904
2149887572B232   DAISIAA      ROBINSON                 DC          90011508757
21498A1114B245   ROSHELLE     CARTER                   NE          90009170111
21498A2AA61977   JONATHAN     YOWAKIM                  CA          46096410200
2149935619189B   MARIA        GARCIA                   OK          90011393561
21499566972B42   LYNN         SARGENT                  CO          90012095669
214998A3757157   ANA JULIA    CHAVEZ                   VA          90010628037
2149B142972B42   JOSE         RICO-HERNANDEZ           CO          33087271429
2149B358397B69   RICHARD      NAVARRO                  CO          90012453583
2149BA1155B531   NIDIA        ALVAREZ                  NM          90013560115
2149BA51491828   JAMIE        KOENIG                   OK          90002720514
214B161A172B42   LORIANN      GONZALEZ                 CO          90010726101
214B1663157157   PEDRO        AGUIAR                   VA          81034596631
214B195922B27B   CORNELL      BARBER                   DC          90015129592
214B1A62272B98   MARIA        VAZQUEZ                  CO          90013970622
214B22A9851343   COREY        BENFORD                  OH          66014862098
214B2674781652   ROGER        STIPES                   MO          29076476747
214B2712572B98   RENEE        COTHRAN                  CO          90013747125
214B2845391828   LASHONNA     GUNN                     OK          90014288453
214B33A759155B   CYNTHIA      REYES                    TX          75080503075
214B37A945B271   MELINDA      HARKLESS                 KY          90003137094
214B396384B281   ADRIAN       CORTEZ                   NE          90013149638
214B422962B27B   TENISE       BOLLER                   DC          81098022296
214B4292672B88   BRIGITTE     STEPHENS                 CO          33067932926
214B4748241245   ALICIA       ATKINSON                 PA          90010357482
214B479389155B   ERIK         GARCIA                   TX          90014427938
214B5283651343   SAMANTHA     BEDEL                    OH          66002402836
214B54A215B271   TAMIKA       BATTLE                   KY          90014644021
214B564A361552   ANDRES       MEJIA                    TN          90012416403
214B5A5559155B   BOBBY JOE    SUBLASKY                 TX          75096050555
214B612127B699   JAHDA        HAMPTON                  GA          90014021212
214B612844B588   STARSHA      JONES                    OK          90012881284
214B6337355957   SILVIA       VAZQUEZ                  CA          90011473373
214B6498391241   RASHAN       DAUGHTRY                 GA          90011424983
214B658619184B   LASHUN       LANDRUM                  OK          21014965861
214B6896481661   KEY          JOHNSON                  MO          29018208964
214B7111A72B98   RONALD       LEWIS                    CO          33080741110
214B7191384364   EZEQUIEL     BARRAGAN                 SC          90007271913
214B7417191828   RAMON        ORTIZ                    OK          90013624171
214B759974795B   SHANNA       SHORT                    AR          25012155997
214B7632491583   MARY         CASTRO                   TX          75065096324
214B774567B699   PIERRE       BRYANT                   GA          90015187456
214B774615B271   AMANDA       KECK                     KY          90011057461
214B8169591528   JESUS        DOMINGUEZ                TX          90005701695
214B8283651343   SAMANTHA     BEDEL                    OH          66002402836
214B8361487B59   ALLISON      WILLIAMS                 AR          90014623614
214B8A48855941   ALEXANDER    SAMUEL                   CA          49044660488
214B9121A72B98   VICTOR       DELUCA                   CO          90007211210
214B9638672B88   ASTRID       DELGADO                  CO          90008206386
214B96A174B245   SUSAN        JOHNSON                  NE          27052856017
214BB111791984   BARBARA      BRAY                     NC          90007861117
214BB197851343   WILLIAM      BELL                     OH          90010151978
214BB544372B88   MARICELA     CHAVEZ                   CO          33093375443
214BBA3144B588   JUAN RUBIO   CHAVEZ                   OK          90010120314
214BBA32787B87   KIMBERLY     WILLIAMS                 AR          23086280327
2151127399155B   ISAAC        ORTIZ                    TX          90009272739
2151181642B27B   JACQUELINE   MORRIS                   DC          90012888164
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21511A79372B98   PABLO          REYES-SANTILLO         CO          90013140793
2151218A48B17B   KHRISTEN       CADE                   UT          31061971804
21512564172B88   JOSE           SALAZAR                CO          33068785641
2151258AA5B571   LISA           LITTS                  NM          90007275800
2151264169155B   IVAN           RAMIREZ                TX          90012276416
215128A642B27B   TABITHA        BROWN                  VA          90012888064
2151336185B167   KIM            JOHNSON                AR          90000473618
21513A31487B21   MARK           MCDONALD               AR          28044480314
215143A1681661   DERON          CLARK                  MO          90014733016
21514626A5B271   JAMIE          COLEMAN                KY          68077256260
2151472A281638   SCHELL         PERALES                MO          90008627202
2151512357B382   SUZETTE        GROSS                  VA          90011701235
2151535A39155B   ELENA          FRANCO                 TX          90013943503
21515843A55936   AIME           VALDEZ                 CA          90007218430
2151584817B699   ANJELICA       MEADOWS                GA          15066948481
21515918A55941   SUSANA         LAZARIT                CA          90013639180
21515936A91967   LARITA         NEAL                   NC          90011369360
2151657525715B   ANGEL          BERRIOS                VA          81006585752
21516693A81661   JEFFREY        CLEGHORN               KS          90004446930
21516A63431453   NYREE          BRABLEY                MO          90011910634
21517285772B98   SHANDAL        SHIH                   CO          90013862857
21518258272B88   MARIE          OKEEFE                 CO          90015242582
21518383972B98   DANA           LEAKS                  CO          90014323839
21518396A55941   VICTORIA       BARAJAS                CA          90014493960
21518A5919184B   CASSANDRA      HARRISON               OK          21014500591
2151922779155B   FLOR           VILLALOBOS             TX          90006432277
2151957917B449   LIL            MIKE                   NC          90009985791
21519699A8B188   TRACY          CLARK                  UT          90012416990
21519721A4B281   MELLISA        POST                   NE          27075977210
2151B158355957   JASON          HOBBS                  CA          90015161583
2151B15A32B27B   ENOCH          EDISON                 DC          90013981503
2151B552791541   ESMERALDA      ARIAS                  TX          75013655527
2151B576991984   JOHN           MOORE                  NC          90000455769
2151B93A72B94B   KRISTINE       DAROSA                 CA          90013099307
2151BA14891828   MISTY          WILLIFORD              OK          90009470148
2152123935B271   MARY           WILSON                 KY          90011112393
2152164385B333   BRUCE          WILLIAMS               OR          44520186438
2152186898B17B   ARTEMIO        TINOCO                 UT          31062878689
21522661A55941   IRIS           VELASQUEZ              CA          90012076610
21524156A5B271   JENNIFER       ABERNATHY              KY          68085461560
21524291A2B232   SEBRINA        LEVETTE                DC          90010702910
2152445A972B42   ROSA           ORTIZ                  CO          90014924509
215247A2391541   CHRISTY        DUBITSLY               TX          90014687023
2152575139155B   DARLENE        SIFUENTES              TX          90008097513
21526386887B87   WANDA          LASLEY                 AR          90007413868
2152642A933126   JOHN           COLLINS                 IL         90015604209
2152659642B232   ALEXIS         HAM                    DC          90012105964
215265A9272B98   LORENZA        GUERRERO               CO          33007975092
2152687359155B   ELIA           APARICIO               TX          90000608735
21526929A87B59   TIMOTHY        BELL                   AR          90009369290
21526A69572B88   ERICA          CASTELAN               CO          90001440695
21526AA3385821   AARYN          TRAMILL                CA          46092150033
21527315A55957   JOHN           CASTANEDA              CA          90011943150
2152749249155B   ABIGAIL        PONCE                  TX          90011114924
2152934622B931   MARY           PHATCHER               CA          45014193462
215295A4591833   SHANTRELL      THOMPSON               OK          90001985045
21529979A51343   DOMINGO        MENDOZA                OH          66039599790
2152B138655957   TAMMY          SELKEN                 CA          90015081386
2152B45762B27B   DEENA          CURETON                DC          90005604576
2152BAA6587B59   DORTHA         JOHNSON                AR          23029230065
2153166412B27B   NURI           MUHAMMAD               DC          90011576641
2153189892B27B   JUAN GABRIEL   SANCHEZ                DC          90011398989
215331A379155B   D              OLMEDO                 TX          90009151037
21533651787B87   SHARON         JACOBS                 AR          90014286517
2153389A69136B   FAUZIA         ABDULLAH               MO          90008978906
21533968572B88   VALENTIN       LOPEZ                  CO          33092329685
215341A524B261   PAMELA         SMITH                  NE          90012491052
2153431969155B   MICHAEL        LINDER                 TX          90011233196
2153475198B17B   RANDI          RECHINS                UT          90007107519
215353A5672B88   AMANDA         CONE                   CO          90012793056
2153554534B261   TERRY          BERUMEN                NE          27095835453
215359A2A81637   FALENTINO      ALVAREZ                MO          90014849020
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21535AA262B232   FELEKE         HAILE                  DC          90006520026
21536227A7B471   ANA            AGUILAR                NC          90013922270
21536475A3B352   ERICH          HAURT JR               CO          90007994750
2153732A65B161   CANDIDO        MIGUEL                 AR          90013663206
2153761715B571   NATALIE        MERAZ                  NM          90013266171
21537813372B98   EDIE           ESPINOZA               CO          90012708133
2153782532B27B   ANA            SALGADO SARAVIA        DC          90012888253
2153787877B644   YALANDA        HARRIS                 GA          90011648787
215379A9991984   ASHLEY         CALLISON               NC          90013769099
2153821674B588   EDUARDO        RAMIREZ                OK          90009602167
21538318887B59   JOSEPHINE      ROBERSON               AR          90014563188
2153843415B161   TIFFANY        POINDEXTER             AR          23078574341
2153879332B232   ISMAEL         SOSA                   DC          90003717933
2153926526B931   NAOMI          GARCIA                 NJ          90015122652
2153936537B699   SHANNON        WHITE                  GA          90014853653
2153937329155B   JULIETA        DIAZ                   TX          90013943732
21539468187B59   GAY            BRISTER` GRAGG         AR          23077774681
2153B136331631   MARIA          MARTINEZ               KS          90014471363
2153B31789155B   MARIA          TORRES                 TX          90002593178
2153B54867B699   ERICA          JONES                  GA          15083175486
2153B638181661   MONIGUE        HEIMANDEG              MO          90010286381
2153B759972B98   SELENA         FORD                   CO          33039907599
2153BA72A4B281   GLORIA         GOYNES                 NE          27090370720
2154128597B699   DEANNE         CLARK                  GA          90013742859
215412A9572B88   NOEMI          OLGUIN                 CO          33002532095
21541787787B87   SHIRLEY        HARRIS                 AR          90014847877
21541A3714B261   PATRICK        ANSON                  NE          27006870371
21542285772B98   SHANDAL        SHIH                   CO          90013862857
2154255164B548   SAMUEL         AJANEL                 OK          90007845516
2154257739136B   LOURDES        GUIZAR MENDOZA         KS          90013115773
2154276227B699   CHANDRA        CRAWFORD               GA          90014747622
21542812187B59   JERRY          NORSEY                 AR          90009808121
215436A289189B   LATANYA        GREEN                  OK          90012696028
21543A75955941   JOSE           ESTRADA                CA          90010740759
2154421198B17B   JODY           SPIDLE                 UT          90013362119
2154446137B471   ROSA           FUENTES                NC          90014424613
2154452829184B   LEE            DAVIS                  OK          21062805282
2154481725B167   PAT            MANNING                AR          90010838172
2154686A381637   HECTOR         ESCOBAR                MO          90015508603
21546A37791241   RON            JONES                  GA          90013280377
2154716319794B   ROXANA         VASQUEZ                TX          90003621631
21547321976B4B   LAURA          PRESBERRY              CA          90002653219
215475A7191833   CARMEN         SMITH                  OK          90007885071
21548255A91241   HENRY          MINIS                  GA          14585602550
21548371672B88   MARK           SMITH                  CO          90003953716
2154847425B167   WHITTNI        EVANS                  AR          23026304742
21549186272B88   SYLVIA         HERNANDEZ              CO          90011931862
21549369197B41   BETTY          GUERRERO               CO          39086303691
2154B43152B232   MONICA         PRICE                  DC          90002954315
2154B47144B281   JEFFERY        LANPOSN                NE          90014624714
2154B48198B151   EMMA LEE       EAST                   UT          90013564819
2155131479136B   CANDICE        COVINGTON              KS          29091703147
21551A39555941   ANTONIO        MORALES                CA          90010680395
2155211264B281   JACQUELINE     JHONSON                NE          27095821126
2155322737B471   AMBER          DARJEE                 NC          90013922273
2155352934B281   TRACY          KISER                  NE          27003915293
21554298672B88   AMBER          TRABERT                CO          90009482986
215542A2591541   ESTEFANIA      PEREZ                  TX          75073152025
2155451658B17B   JENNIFER       FYNBO                  UT          31027125165
215549A257B471   MARIA          GARCIA                 NC          90014209025
215555A7155941   BERTHA         LACRUE                 CA          49033985071
2155574775B161   MICHAEL        SMITH                  AR          23066567477
2155579425B571   MARGARITA      ALDANA                 NM          35052327942
215557A6A9155B   BRITTANEY      DURON                  TX          90015177060
2155615AA4B588   JOHN           BEARSHEARS             OK          90004951500
2155643624795B   RANDALL        GAGE                   AR          90004094362
21556755587B59   LATOYA         CHARLES                AR          90007407555
21556A6219136B   RAMONA         HERRERA-RANGEL         KS          90011210621
2155715A28B17B   VERONICA       AGUILAR                UT          31033111502
215579A8887B59   BRITTANY       WALKER                 AR          90013819088
2155861942B232   OMARI          JEFFERSON              DC          90013006194
21558921687B59   QWUINSHANITA   BROWN                  AR          90011089216
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21559855387B87   SHANTA              MAYS              AR          90010598553
2155B335872B98   DEMETRIUS           GRAHAM            CO          90015163358
2155B395355941   COURTNEY            MONTES            CA          90006853953
2155B53859136B   MAGDALENA           CHAPA             KS          90015215385
2155B554281638   KRISTINA            BENEDICT          MO          29074885542
2155B5A747B699   QUINTANA            R                 GA          90014135074
2155B743A5B271   AMY                 LAMBERT           KY          90011737430
2155B84829189B   GREYVIS             AGUILAR           OK          90014848482
2156117989155B   CRISTIAN FERNANDO   VEGA              TX          90012931798
2156175169155B   JAVIER              ARREDONO          TX          90014877516
2156175179136B   PAYGO               IVR ACTIVATION    KS          90015177517
21561A78581661   WESLEY              GUILLIAMS         MO          29001930785
2156237A12B27B   SHAKIA              BROCKENBERRY      DC          81041783701
21562636572B88   SMILEY              MENDEZ            CO          90008706365
2156289137B471   MICHAEL             LONON             NC          11090308913
21562A8525B571   ELISHA              GRIFFIN           NM          35023940852
21563267272B98   ANSELMO             MUNOZ VEGA        CO          90014132672
2156334699155B   NYDIA               CARILLO           TX          90001453469
215637A2577541   ERLINDA             SALINAS           NV          90014427025
2156425344B281   TAL                 JONES             NE          90014982534
2156435237B699   CONNIE              STARKS            GA          15002993523
215644A5291833   DANIELLE            ADAMS             OK          21012344052
215654A9A4B281   SOPHIA              JOHNSON           NE          27092724090
21565544A7B699   KELLY               JACKSON           GA          90015045440
2156566A44B245   TINA                INGRAM            NE          90003796604
21565AA8557157   NERIS               RAMIREZ           VA          90001620085
215662A215B531   JOSEL               GAMBOA            NM          35052492021
21566323572B88   ADRIANA             ESPINO            CO          90012793235
215675A2881661   EARLENE             MCADOO            MO          90009195028
2156853469794B   YOLANDA             WORKMAN           TX          74006435346
21568747872B98   JOE                 SER               CO          90015127478
2156893488B17B   EDGAR               GONZALEZ          UT          31057039348
21568A4594B261   CONRAD              DEIDRE            IA          27015810459
2156952984B281   DAVID               SWEENEY           NE          90012675298
2156984A62B27B   JAVONTE             VADEEN            DC          90012888406
2156B123672B98   MARGARET            BLISS             CO          90013971236
2156B2A2791542   SHAWN               BRIGGS            TX          90010852027
2156B5A6591541   GABRIEL             MARTINEZ          TX          90013305065
2157123A957157   ENRIQUE             VIATERO           VA          90014592309
2157127A55B571   GUERRA              EDGAR             NM          35077502705
2157161A35B167   DWAYNE              ROBINSON          AR          90012506103
215717AA431631   JEFF                MASTERS           KS          22079917004
2157215664B261   JUSTIN              COLLINSON         IA          90010901566
2157269239155B   MARK                RAMIREZ           TX          90013096923
2157274139184B   MELIA               BENHAM            OK          90014647413
2157293354B261   CALONE              WILLIAM           NE          90013929335
2157312788B182   JAN                 ALLEN             UT          31089541278
21573526A4B281   DAKOTA              WILSON            NE          90013905260
2157372A94B261   DEANNA              NIELSEN           NE          27033217209
2157471A35B571   ANTHONY             AYLAYA            NM          35036057103
215747A419136B   ELIZABETH           FRENCH            KS          29013707041
2157534758B837   RAYANA              WONG              HI          90015393475
2157578554B245   GOUKER              BRYAN             IA          27005167855
21575888972B42   CHRIS               BLACK             CO          90002828889
21575916187B21   JERRY               WATSON            AR          28016899161
2157594974B588   JAMES               MCCRONE           OK          90014559497
21576556A72B42   DAIONNA             KENNEDY           CO          90012515560
2157664A77B471   EVANSON             MICHEL            NC          90009616407
21576948A4B261   CHRISTINE           LAVERA            NE          90011279480
21577587A55941   NATHAN              BIBB              CA          90010125870
2157779575B161   JONATHAN            EMBRY             AR          90013047957
21577A67391833   SHARI               LOVE              OK          90005990673
2157843A78B159   SHANNAN             HOWARD            UT          31096284307
215787A7872B42   ENRIQUE             JENNER            CO          33074337078
21578A54691984   JUSTIN              MONROE            NC          17068230546
21578A5A79184B   JOSE                HERNANDEZ         OK          90013030507
2157921179136B   MANUELA             OCON              KS          90001182117
2157939289155B   CYNTHIA             MENDEZ            TX          90013943928
21579A84155957   CECELIA             FINNE             CA          48003040841
21579AAA831631   JOSE                RAMIREZ           KS          22001610008
2157B153763669   BRITNEY             SNIDER            MO          90002401537
2157B184891984   SHANNON             BLAND             NC          90010921848
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2157B43A19184B   DAWNA       SCHUTTE                   OK          90009514301
2158139359155B   FATIMA      AVITIA                    TX          90013943935
21581785572B98   TIFFANY     CONDON                    CO          90014607855
2158182A684364   MIRNA       CADENAS                   SC          90014108206
215823A1A51348   JUAWANA     KINNARD                   OH          90014263010
2158266736B134   TANDRA      JARROW                    MS          90014926673
215827A2131631   ROSAURA     MARTINEZ                  KS          90010547021
2158295A85B531   MANUEL      TENORIO                   NM          90009519508
21582A81947952   MERI        BRADLEY                   AR          90013810819
21582A88381637   SHANNON     FOSBERG                   MO          29063760883
2158329A17B274   CARL        GOLDEN                    AZ          90012642901
2158349488B17B   REID        NELSON                    UT          31068624948
2158354155B271   LYNIKA      CARTER                    KY          90014655415
2158355987B449   ANA         OSEJO                     NC          11073565598
2158374375B531   MAX         GALLEGOS                  NM          90012687437
2158399897B471   DE ANNA     MCILWAIN                  NC          90013369989
21583A24931631   LILIANA     PEREZ                     KS          22034930249
21583A8269155B   RAUL        CASTRO                    TX          90001950826
2158459A95B167   NAKISHA     BARBEE                    AR          90013835909
21584A97144B62   KASSIDY     METZGER                   OH          90014420971
21585132A7B471   MAIK        ADAM                      NC          90013861320
2158518597B449   JERMOND     WILLIAMS                  NC          90014021859
2158552532B232   JOHN        SANTERO                   DC          90014345253
2158563A685823   DENNIS      TYNES                     CA          90005216306
21586428A57157   LUIS        LOVATO                    VA          90013934280
21586536A93767   AARON       WHITE                     OH          90007605360
21586A71757123   RUBEN       CRUZ JR                   VA          90013680717
21586A83651343   CANDACE     SLAUGHTER                 OH          90001630836
21587183972B42   SNIDE       CLEM                      CO          33025521839
2158744577B471   TIFFANY     DUNN                      NC          90003244457
21587497A57157   RAUL        VALLEJOS                  VA          90012034970
2158775169155B   JAVIER      ARREDONO                  TX          90014877516
215879A659136B   JULIO       IGLESIAS                  KS          90015169065
215879A8972B98   AUDRA       GARDNER                   CO          33014699089
21587A61431453   ANGELA      BIRDSONG                  MO          90013420614
2158817265B271   JEANIE      BROWN                     KY          90001461726
21588392872B88   JOSIE       SEDILLO                   CO          33005693928
2158878A97B699   TIFFANY     GARY                      GA          90005967809
2158884A97B449   GLORIA      SOSBEE                    NC          90013688409
21589184472B42   STEPHE      FITZHENRY                 CO          90009361844
2158933A87B471   LATRICE     DOBY                      NC          90009143308
2158934A65B531   GUADALUPE   SILVA                     NM          90000853406
2158941A155941   ALMA        RODRIGUEZ                 CA          49077894101
215896A4A41245   DAVID       GONZALES                  PA          90013866040
21589867972B98   CARLOS      ROJAS GOMEZ               CO          90014478679
21589A1277B471   LATRICE     DOBY                      NC          90014730127
2158B13815B167   TYRONDA     SMITH                     AR          90013911381
2158B165491528   ALONDRA     HERMOSILLO                TX          75082331654
2158B467791227   SHANICE     SMITH                     GA          90002094677
2158B5AA672B98   TAMARA      ADELMAN                   CO          90011765006
2158B77937B699   KAREN       CALLAHAN                  GA          90014377793
2158B82A684364   MIRNA       CADENAS                   SC          90014108206
2158B96A247952   AURORA      PADILLA                   AR          90013929602
2158BA9375B571   VICTORIA    MONTOYA                   NM          35010220937
2159128954B588   JOSE        CAHUICHRIVERA             OK          90013012895
21591481A57157   MARIAM      FEKRE                     VA          90014084810
2159148337B449   ARTHUR      BURKE                     NC          11004114833
2159166115B167   ELBERT      DAVIS                     AR          90002046611
2159175397B471   DUGGLAS     ZAMORA                    NC          90014727539
2159278A47B699   LUCAS       PEREZ                     GA          90015187804
2159299755B161   CHRISTINE   WADLINGTON DAYS           AR          23048289975
2159312AA4B588   TONYA       GORDON                    OK          90008531200
21593797A87B87   ZLANDRIA    BOYCE                     AR          90011027970
2159389355B271   NIEISH      WEAVER                    KY          90014068935
2159393129155B   ARICHELL    ORTEGA                    TX          90013869312
21594734A57B85   NICOLIN     BUSHATI                   PA          90013767340
2159496A69189B   RANDY       FRANKS                    OK          21025139606
21595472A57157   PATRICE     THOMAS                    VA          90014794720
2159579619136B   GLENN       KERSHAW                   KS          90013747961
2159644899189B   SEAN        TURLEY                    OK          90014424489
2159673635B161   SAMIKIA     UNDERWOOD                 AR          90013737363
2159688865B531   IRENE       MENDOZA                   NM          90010958886
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2159688915B538   FRANCES     AYALA                     NM          90012638891
21597146A5715B   AURA        ARREAGA                   VA          81077551460
2159778A187B87   TAMELA      LUCKETT                   AR          90014857801
2159781183B133   MARISOL     GARCIA                    VA          90012438118
21598341772B88   KAREN       BUNTING                   CO          90012793417
2159859912B27B   ERICA       PETTIFORD                 DC          90014915991
21598941372B88   MICHAEL     KAISER                    CO          90014919413
21599169A87B87   TIJUANA     WEBSTER                   AR          90011111690
2159924A97B471   MICHAEL     CARBAJAL                  NC          90009382409
21599381276B53   FRANCISCO   PAYAN                     CA          90013753812
215994A917B699   SHANA       ANDREWS                   GA          90013114091
2159968179189B   SAMANTHA    BREEDEN                   OK          90009086817
2159991A655957   ANGELIQUE   DURAN                     CA          90009389106
2159B174772B88   TORIAN      ASKEW                     CO          90000721747
2159B617155957   KIM         LEE                       CA          90013966171
2159B746A9155B   MARIA       LOPEZ                     TX          75008857460
2159B77937B471   MICHELLE    MCNEILL                   NC          90008587793
2159B787A2B232   BRENDA      PALMA                     DC          81076627870
2159BA64A72B42   DOUGLES     HOPKINS                   CO          90010210640
215B1194857157   IRIS        SANCHEZ                   VA          90011871948
215B139969155B   ALEXANDER   CHAVEZ                    TX          90001313996
215B167564B588   ULISES      TOSCANO                   OK          21530406756
215B1819133126   CHRISTINA   LANGFORD                   IL         90015368191
215B2161541245   MARY        PEREZ LOPEZ               PA          51068241615
215B2426172B88   HERIBERTO   AMATECO                   CO          33078024261
215B2A7172B27B   DONITA      GASKINS                   DC          81012160717
215B3566581637   CODY        SOPER                     MO          90014525665
215B379A981638   LYNZEE      COOKE                     MO          90010057909
215B382727B449   STANTAVIA   WRIGHT                    NC          11064518272
215B385792B27B   ROGERS      HOWARD                    DC          90002678579
215B4247833144   ERIC        METOYER                    IL         90015032478
215B42A7241245   BARINDER    SINGH                     PA          90000502072
215B45A1A72B42   CLIFF       THOMAS                    CO          33050635010
215B4853255957   LUIS        JAIRO                     CA          90010638532
215B5282993773   KIMBERLY    THOMAS                    OH          64579052829
215B5694A2B27B   NATASHA     GUMBS                     VA          90013776940
215B593324B261   RIKKI       FREEMAN                   IA          90001419332
215B618A151343   TRACY       JONES                     OH          66088791801
215B691149189B   SHEREE      WESLEY                    OK          21075969114
215B6A68672B88   ALBA        FLOREZ                    CO          33073320686
215B7131257157   MELISSA     ROSE                      VA          81019001312
215B7171A7166B   LILIAN      BLACK                     NY          90015511710
215B71A624B245   ARMANDO     HERNANDEZ                 NE          27016691062
215B7665191984   ALAN        MARTINEZ                  NC          90015146651
215B799A291828   ROGELIO     AVALOS                    OK          21039189902
215B8274655941   MARTHA      ARREOLA                   CA          49002542746
215B8355287B87   MARY        BURNETT                   AR          23092483552
215B861364B588   MICKI       TRAMBLE                   OK          90006826136
215B8714772B98   LUIS        VALENZUELA                CO          90008687147
215B8769555957   MARTHA      AGUAYO                    CA          90015317695
215B8A14384364   ALONZO      STONEY                    SC          90014800143
215B9591391528   JAIR        HEREDIA                   TX          75092375913
215B975A487B87   KATHY       DOCKETT                   AR          23086717504
215B976564B588   MERCEDES    AGUILERA                  OK          90006877656
215B989359136B   ELVIA       BURCIAGA-CADENA           KS          90013618935
215BB127241245   TAMYRA      ROBINSON                  PA          90014781272
215BB12834B581   PHILLIP     JOHNS                     OK          90003761283
215BB194947952   JOSHUA      MADISON                   AR          90014941949
215BB48489136B   JAZZLYN     GRAVES                    KS          90000594848
215BB72714B588   JON         YUDENFRIEND               OK          90008547271
2161129969794B   PATRICIA    STANLEY                   TX          90004072996
2161151469189B   VICENTE     RODRIGUEZ                 OK          90013755146
21611612672B98   CRYSTAL     SANDOVAL                  CO          90012606126
2161198349155B   JOSUE       ORTEGA                    TX          90008739834
2161227532B27B   EBONY       MAGRUDER                  DC          90013442753
21612335A41245   JACKIE      PAGE                      PA          90005373350
2161259989136B   ZEFERINO    CUMPLIDO-FELIPE           KS          90015215998
2161261894B588   JESUS       FERNADAZ                  OK          90015166189
21612A89872B98   MARIA L     RAMIREZ                   CO          90005120898
2161352235B571   JOHN        SILVA                     NM          35007465223
21613586A87B87   FRANK       WILLIAMS                  AR          90013645860
2161388564B281   STEPHANIE   FEARS                     NE          27072638856
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216144A9A9155B   DAVID       FLORES                    TX          90013944090
2161457387B699   JOHN        JOHNSON                   GA          90013485738
2161476755B531   ANGELA      MCCOY                     NM          90013567675
21615631A4B297   HEVER       HERNADEZ                  NE          90012326310
21615995672B88   MARIA       BENAVIDES                 CO          90008619956
2161618218B17B   SAMANTHA    WILLIAMS                  UT          31011081821
2161621244B588   WILLIAM     EQUELS                    OK          21589632124
2161631A891828   DONNA       BOWERS                    OK          21098603108
216172A7391241   LAURA       ALVAREZ                   GA          90015112073
2161767134B245   AL GEAN     HAYNES                    NE          27061996713
21617943772B88   CRISTIAN    PINTO MARTINEZ            CO          33085199437
21617A12481638   TRAV        LOCC                      MO          90011330124
21617A38547952   MARCIA      POWELL                    AR          24010040385
2161841159155B   DOLORES     CERVANTES                 TX          90013944115
2161937277B471   VALLI       TURNER                    NC          11068983727
21619463372B88   GLORIA      RAMIREZ                   CO          33055674633
21619545372B98   ANA         MORALES                   CO          90011765453
2161967279155B   MARIA       GUTIERREZ                 TX          90014006727
2161976A672B42   MOUREN      METILLA                   CO          90012387606
2161B43624B281   NICOLE      SHERRILL                  NE          27072414362
2161B497A87B87   BRANDIE     COLEMAN                   AR          90011394970
2161B743985938   JUSTIN      ELAM                      KY          90011077439
2161B74A487B21   DAVIDA      HUFFSTUTLER               AR          28065317404
2161B87489794B   MARGARITA   GUTIERREZ                 TX          90009068748
2161B959672B42   MARIA       TORIJA                    CO          90011089596
216212A5197128   ROBERT      GAYNOR                    OR          90009202051
21621689872B88   ALFREDO     ATAYDE                    CO          90015126898
2162193297B471   JOE         BLACK                     NC          90004179329
216223A1791525   KARLA       MARQUEZ                   TX          75006413017
21622847A91241   ROBET       JOHNSON                   GA          90013618470
2162315117B449   LUIS        BUENDIA IBARRA            NC          11016871511
2162322649189B   SANTA       ROMERO                    OK          90014252264
21623A3A657157   ELIZABETH   SHELTON                   VA          90010630306
2162452677B471   CANDACE     HOLLAND                   NC          90007215267
21624A6A57B699   JUANITA     PITE                      GA          90003610605
21625712572B98   RENEE       COTHRAN                   CO          90013747125
21625836A57149   SANTO       SORTO                     VA          90014248360
2162585437B699   ARKELA      MATHIS                    GA          90014948543
21625A7515B271   JULIE       ARNOLD                    KY          90011480751
2162631569155B   FRANCISCA   DURAN                     TX          90008513156
2162633525B167   AMBER       PRICE                     AR          90000823352
2162693755B144   DARAL       BATTLES                   AR          90010569375
2162715744B245   ANN         ROGERS                    NE          90009771574
2162776AA72B98   PADILLA     DAVID                     CO          90011217600
2162794A59189B   DEBBIE      CAMPBELL                  OK          90010209405
2162811332B27B   WILLIAM     PIERCE                    DC          81091911133
2162825517B449   DOUGLAS     PLYLER                    NC          90013992551
2162884669794B   VANENA      CASAS                     TX          90011798466
21628869472B98   DAMIAN      MANCHA-SALAS              CO          90014478694
21629642A7B699   CHRISTINA   LEWIS                     GA          90013886420
2162B152A81661   MATEO       POLING                    MO          29025531520
2162B45557B471   CAMILLA     MOORE                     NC          90010314555
2162B459287B59   THOMAS      WALKER                    AR          23069894592
2162B863881638   JACOB       PAULSEN                   MO          90011128638
2162B877951343   REGINALD    MATTHEWS                  OH          66000548779
2162BA68291541   LEAH        LOPEZ                     TX          75036640682
2163221AA9184B   MARIA       VALERO                    OK          90011452100
21632348572B88   LEE         CURRY                     CO          90012793485
216329A2431631   LISHA       HARRIS                    KS          90011129024
21633148A72B98   NUVIA       JAVALERA                  CO          33082711480
2163324752B987   SANDRA      ADAMS                     CA          90014232475
2163352A44B588   JESSIE      ARELLANO                  OK          90007505204
216336A6431631   CORY        SAMPSON                   KS          22014186064
2163524752B987   SANDRA      ADAMS                     CA          90014232475
2163526A15B167   ROBERT      WHEELER                   AR          23095002601
2163593644B281   MIKE        HANGMAN                   NE          90014729364
2163597A672B98   MARIETTA    LEONARD                   CO          33006309706
2163663A77B471   RUFINO      CRUZ                      NC          11059226307
2163676755B531   ANGELA      MCCOY                     NM          90013567675
216372A915B161   WESLEY      BRIGGS                    AR          90015172091
2163833AA91541   MANUEL      VILLADO                   NM          90004823300
2163863A691547   RIGOBERTO   CORDERO                   TX          90010996306
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2163933339189B   GWENDOLYN   CHIBITTY                  OK          90010733333
21639967272B98   NADINE      NEURAUTER                 CO          33071759672
2163B496587B59   CAME        CARTER                    AR          90010794965
2163B63857B699   WHITNEY     BLAND                     GA          90007736385
2163B787391583   BRIANNA     GARCIA                    TX          75069887873
21641149672B98   MICALA      DIAZ                      CO          90013971496
2164132944B281   ADELA       VILLAGOMEZ                NE          27015993294
2164231159136B   SYLVIA      TRAVIS                    KS          90011213115
21642425972B42   JIM         ANDERSON                  CO          90013304259
2164243A69155B   ZACHARY     ESQUIBEL                  TX          90013944306
2164313599155B   BERENICE    JAUREGUI                  TX          90011921359
2164329325B271   RUSSHELL    RUSSELL                   KY          90012292932
216436A9172B42   ADRIAN      ALVAREZ                   CO          90015036091
2164379435B167   LATRINA     GILL                      AR          90004837943
21643794A4B281   PATRICIA    ACKLEY                    IA          90013747940
2164449724B261   KEVIN       STRONG                    NE          90015074972
2164455392B931   DAVID       ELLIS                     CA          90005945539
2164469A484364   JOANN       ACKERMAN                  SC          19051346904
2164471422B232   MARVELL     JOHNSON                   DC          81007707142
2164481AA72B42   MICHAEL     NASH                      CO          90013948100
21644A69251338   TONYA       MOHN                      OH          90000830692
21644A72991984   SEFERINO    DIAZ MARTIN               NC          90013490729
21645132572B42   MEOLDER     MIA                       CO          90008081325
21645184272B98   KATHLEEN    CABRAL                    CO          33018571842
2164588257B699   SHAEKIA     AUSTIN                    AL          90013078825
2164596679189B   JOE         SLOAN                     OK          90006779667
2164597A781661   WALESKA     CAPIELO                   MO          90013959707
2164618177B471   CHANTEL     CROSBY                    NC          90015241817
2164625615B571   DORA        BORUNDA                   NM          35040382561
21646A4934B245   LINDA       MCDOWELL                  NE          27029800493
21647167872B88   ADALBERTO   OLIVAS                    CO          33004411678
21647511376B67   FRANCISCA   ZARATE                    CA          90012265113
21647666A47952   FELISHA     MITCHELL                  AR          90013736660
2164773525B344   LORRIANA    MARTINEZ                  OR          90012947352
2164795A187B59   KIMBERLY    THOMAS                    AR          90012509501
2164839A85B161   LASHONDA    HOLMES                    AR          90013933908
21648826A5B167   BIANCA      HIGGINS                   AR          90013238260
21648957772B98   MIKE        LACOSSE                   CO          90012169577
2164916729155B   MARIA       NIETO                     TX          90005641672
2164951A781661   ROSANNA     FLORES                    MO          29026505107
21649692A9794B   MIDA        CABRERA                   TX          90009416920
2164973299136B   MICHAEL     MCFARLIN                  KS          90015217329
2164999444B588   JASMINE     MORROW                    OK          90013299944
21649AA4587B87   WILLE       WILLIRUCKER               AR          90014300045
2164B14A457157   JIMMY       ROGERS                    VA          90011341404
2164B52739189B   CINDY       DELOSSANTOS               OK          90003935273
2164B824687B21   JUAN        PEREZ                     AR          28015778246
2164BA78491984   FLORINDA    SEBASTIAN                 NC          90011390784
2165125A187B87   LORETTA     YOUNG                     AR          90011132501
2165172A355957   CLIFFORD    THOMPSON                  CA          90000397203
21651886A81661   ELIZABETH   COLLINS                   MO          90015308860
2165232415B167   ALESIA      WILSON                    AR          90003163241
21652348A55941   JASON       JONES                     CA          90013003480
2165235949155B   JUSTINO     LOPEZ                     TX          90001123594
2165267A55B271   SHANNON     MEREDITH                  KY          90014656705
21652A94755957   NOAMI       GAMEZ                     CA          90012930947
2165413478B17B   LEE         WHEE                      UT          90009411347
21654362272B88   JAIDEN      GONZALEZ                  CO          90012793622
2165439345B161   MARTHA      REYES                     AR          90013933934
2165445A39155B   MARTIN      GARCIA                    TX          90013944503
21655481A55957   JEREMY      THAYER                    CA          90013964810
21655581A91585   MARIA       AGUILAR                   TX          90002425810
2165573314B245   REBECCA     RILEY                     NE          90001267331
21655A7157B699   CHANTAL     LANE                      AL          90014960715
21655A8337B699   BRENDA      DANIELS                   AL          90012940833
21656294A4B245   TAMMY       SALAS                     NE          90011592940
21656577272B42   ROSA        PEREZ                     CO          90013055772
21656841272B88   WILLIAM     JONES                     CO          90013238412
2165696975715B   CRYSTAL     HARRIS                    VA          81029749697
2165772412B232   MARQUITA    HARVEY                    DC          90014037241
216578A9655957   MARTIN      JOHNSON JR                CA          48092948096
216581A429155B   VONNYE      WADE                      TX          90004101042
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2165821372B27B   PAUL              BROWN               DC          90012612137
216582A685B271   LUIS              CRUZ                KY          90008942068
2165865884B281   NATHANIEL         CLIFTON             NE          90013276588
21659398987B59   SUSIE             SURRATT             AR          23004263989
21659A4A59189B   QUINTINA          RICE                OK          90012710405
2165B278647952   ADINA             ADAMS               AR          90015112786
2165B2A569184B   ALICIA            TORRES              OK          90010532056
2166113594B28B   MIKE              SMITH               NE          90011201359
216613A7631453   MICHEAL           BOUNDS              MO          90009793076
21661666A51343   RYAN              GLANDORF            OH          66078566660
2166196152B232   LATOYA            BROWN               DC          90000549615
2166256635B531   DEBRAH            DOPORTO             NM          35017805663
216628A2555941   DORA              NAVARRO             CA          90007968025
21663132A91828   DARRY             KENDALL             OK          21069231320
216631A5551343   PAYGO             IVR ACTIVATION      OH          90011381055
2166324644B281   RABIA             MOUKRAD             NE          90000602464
2166369A687B87   HILDA             WATLEY              AR          23022166906
2166381325B571   LORIE             RIVERA              NM          35087958132
21663A54A57157   MANUEL            PEREZ               VA          90010630540
21663A8925B167   JERMEY            TRICKEY             AR          90014060892
2166441416B931   JUAN              JUARAS              NJ          90013824141
2166445515B167   TAMARA            MCCLURE             AR          23058724551
2166454522B27B   RODWICK           MOSS                DC          90012895452
2166516719155B   EVA               TRUJILLO            TX          75088091671
2166521129152B   DANIEL            MORRIS              TX          90010452112
2166555325B161   TERRANCE MOSEBY   MOSEBY              AR          90015205532
2166698417B471   BRIDGETTE         BELL                NC          90013929841
21666A6A172B42   LENA              BETTALE             CO          90014010601
21667A37191541   YVONNE            DELGADO             TX          90012470371
2166847174B588   NANCY             GOMEZ               OK          21535584717
2166878275715B   ABDIEL            GARCIA-VELEZ        VA          81029757827
2166895385B531   DAVID             VELEZ               NM          90013569538
2166912115B161   ANNETTE           THOMAS              AR          23066591211
2166948854B588   CORY              TILLERY             OK          90013254885
2166978A85B271   DAVID             SWEENEY             KY          90014297808
21669A86A47952   ASHLEY            GREEN               AR          90010940860
2166B623881661   REYNA             MEJIA RAMIREZ       MO          90014846238
2166B79435B167   LATRINA           GILL                AR          90004837943
2167184795B167   SAMANTHA N        COX                 AR          90009868479
21671A82587B87   DANTE             WATSON              AR          23045530825
21672272587B59   NEKETHIA          FRENCH              AR          90008772725
2167238A25B161   CROMER            SHULER              AR          23060913802
21672476587B87   CHRISTOPHER       VALLUN              AR          90013554765
2167297685B531   ANTHONY           BARELA              NM          90013569768
21672A8A141245   DAVID             BENSON              PA          90015130801
21673156A4B588   ROBERT            SIMMONS             OK          90010891560
216731A394B245   TERRI             THOMPSON            NE          27064791039
2167329364B281   MARY              DALEY               NE          27085162936
21673329A4B261   JEFFREY           BUCKWALTER          NE          90012033290
2167464577B471   ANNIE             GATES               NC          90010896457
2167493495B144   GLENDA            WRIGHT              AR          90001079349
2167497419184B   DIANA             AGUILAR             OK          90008149741
21674A26847952   CRISTAN           ORRELL              AR          90015080268
2167514375715B   IVORY             SHIELDS             VA          81063531437
2167538754B245   TALEIGHA          BROWN               IA          90011753875
2167575129136B   NORMA             HERRERA             KS          90004627512
21675766287B59   SHARON            HILL                AR          23084587662
216758A794B281   COBY              NABER               NE          90013888079
21675A57691828   ERICE             CARTER              OK          90002660576
21675AA3372B88   RALPH             SANCHEZ             CO          33009190033
21676176A91241   CHRISTINA         STRICKLAND          GA          90013391760
21676A54431631   APRIL             CALFY               KS          90010970544
2167717574B581   CHADWIN           KELLY               OK          90003511757
2167719717B471   JHONETHEN         ENRECE              NC          90011481971
2167728394B261   FELIX             ADAME               IA          27054422839
21677815A2B27B   LEVIA             BAUTISTA            DC          90015298150
2167789585B571   AURELIO           DESANTIAGO          NM          90006158958
2167849685B531   LISA              RODRIGUEZ           NM          90013304968
2167858A39189B   VICTORIA          TIERRABLANCA        OK          90014085803
21679692572B98   MAYERLI           FLORES              CO          90001206925
2167975984B245   JOHN              HAUGE               NE          90002817598
21679A9454B261   EFFIE             MACH                NE          27004470945
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2167B25927B449   TERESA        JONES                   NC          90008302592
2167B274984364   JULIUS        LEACH                   SC          90010112749
2167B29185B271   JOSE          TORRES                  KY          90014582918
2167B419655941   JENNY         LOPEZ                   CA          90013854196
2167B46878B179   FLOYD         VIGIL                   UT          90007524687
2167B69A27B699   JUAN CARLOS   GOMEZ CLEMENTE          GA          90013896902
2167B929A9184B   CRYSTAL       WILKERSON               OK          21028539290
2167B978591241   ASHLEY        BROYLES                 GA          90011779785
2167BA4124B281   AUSTIN        DERBY                   NE          90009210412
2168123775B167   JOSE          MONDRAGON-LARA          AR          90014172377
2168172584B281   ALBERT        MARKS                   NE          27087327258
2168187A287B59   DOMINIQUE     FOOTS                   AR          23074878702
216828A334B261   DEVON         SMITH                   NE          90014768033
2168373975B271   CHRISTOPHER   SMOLIK                  KY          90014657397
21683A4785B531   CRYSTAL       RODRIGUEZ               NM          35003800478
2168462317B699   JESSICA       TUTOR                   GA          15064976231
2168462372B232   ARANTZA       LOZA                    DC          90008306237
2168466315B531   PHILIP        BACA                    NM          90012846631
2168495445B161   JAMES         PITTS                   AR          90015479544
2168524A34B588   COREY         NEWTON                  OK          21505632403
216858A4172B42   MARCO         ROJAS                   CO          33076418041
2168591329189B   ERIN          POWELL                  OK          21097289132
2168595755B167   QUANITA       CASEY                   AR          90012259575
2168654947B449   ROBERT        WILLIAMS                NC          11055275494
2168661615B161   SHAMIA        WASHINGTON              AR          90014936161
2168663725B161   SHAMIA        WASHINGTON              AR          23009336372
2168729A84B588   CICELY        MASON                   OK          90008832908
21687546624B43   KUUMBANIA     MAJID-MARTINS           DC          81022945466
2168758AA91241   IMANI         WASHINGTON              GA          90014045800
21687A8369189B   AUBRIE        THOMPSON                OK          21009880836
216885A7391241   PATRICIA      HOLMES                  GA          90014705073
216887A5191949   VICTORIA      CANNOY                  NC          90010527051
2168895A34B281   BRANDI        HYTREK                  IA          90003439503
2168926A355941   SENG          XIONG                   CA          90006762603
2168959A172B98   LORENZO       SOECIO                  CO          33064025901
216897A2791541   SYLVIA        VALDEZ                  TX          75095977027
21689A5A473268   CRISTINO      QUIROZ LOPEZ            NJ          90014580504
2168B144291984   LETICIA       PEREZ                   NC          90012151442
2168B19564B588   TROLONDIA     TIDWELL                 OK          90012211956
2168B292857157   GORE          MITCHELL L              VA          90014522928
2168B458591241   JESSICA       GULAYETS                GA          90012194585
2168B789272B88   MARLYN        SIFUENTES               CO          90011117892
2168BA2AA5B531   GLADIS        ARMENTA MEDINA          NM          90013570200
21691127787B59   RHONDA        MOORE                   AR          23070271277
21691A52191241   RAFAEL        RIOS                    GA          90013890521
2169232352B232   LATONIA       CHAPMAN                 DC          90010383235
216923AA872B42   ANTONIA       BUSTAMANTE              CO          33057493008
2169287AA5715B   JUAN          TAPIA                   VA          81086528700
2169297697B471   FANTASIA      RUFF                    NC          11031209769
21692A6A357157   WILSON        PONCE                   VA          90013690603
21693266387B87   ROBIN         COLEMAN                 AR          90014612663
2169356329136B   CERITA        PHELTS                  KS          90011215632
2169391617B699   DANIEL        WIGGINS                 GA          90012529161
2169396A941245   TIMOTHY       DEY                     PA          90014969609
2169425227B449   JESSICA       SANCHEZ                 NC          90012542522
21694A2A287B59   VERNITA       GANT                    AR          90011590202
2169516797B471   EMILIANA      YOS                     NC          90011691679
21695496887B59   SANDRA        WEEKLEY                 AR          90010984968
21695886A5B167   MARLENE       COLLATT                 AR          23037458860
21696357A9136B   CHANEL        RIVERA                  KS          90015223570
2169667432B232   SHIQUIDA      SMITH                   DC          90013606743
216966A425B571   JULIA         APODACA                 NM          35037306042
21696817A47952   YOLANDA       FAJARDO                 AR          90009318170
21696969987B87   VICKIE        JOHNSON                 AR          23068479699
2169717915715B   WALDINA       RIVERA                  VA          81076291791
21697183572B42   RICHARD       PASSARELLI              CO          33034901835
21697941A87B87   CARL          HOLMES                  AR          90008989410
216981A1485938   MARY JO       MARTINEZ                KY          67090421014
21698267772B42   CLARENCE      FRESQUEZ                CO          90013572677
2169853A65B167   MICHAEL       COUP                    AR          90000705306
2169884A47B699   KEONDRA       WILLIAMS                GA          90015188404
21698A46A51343   JAMES         HATFIELD                OH          90003910460
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21698A61481661   DEIDRE        HERNANDEZ               MO          90006700614
2169941487B449   DARDREE       WEAH                    NC          90014094148
2169982179155B   RUBI          TORRES                  NM          90014428217
2169B497A8B17B   MICHELLE      NIXON                   UT          31037824970
2169B795A5B167   CATHERINE     BLOCKER                 AR          90014547950
2169B816357564   JEAN          JUDD                    NM          90012168163
216B112982B232   KENYA         UTLEY                   DC          90003391298
216B146745715B   SANTOS        MIGUEL                  VA          90014494674
216B1486141245   TYRONE        WATSON                  PA          90014584861
216B14A359189B   LISA          WILLIAMS                OK          90008644035
216B1751391984   DEVIN         SELDON                  NC          90013867513
216B17A975B531   TERESA        TORRES                  NM          90013567097
216B188439794B   MOISES        LOPEZ CHAY              TX          90011788843
216B1A49A55941   JOHN          SMITH                   CA          90010680490
216B2146791541   ISABEL        MARSHALL                NM          75057751467
216B2589361996   RUBEN         GARCIA                  CA          90002735893
216B266197B699   KILPATRICK    THOMAS                  GA          15065996619
216B27A189155B   JULIO         ESPINOZA                TX          90013877018
216B3133181661   ANGELICA      SANDOVAL                MO          29069021331
216B3273655957   MARGARITA     GARCIA                  CA          90007942736
216B35A794B245   VICTORIA      BREWER                  NE          27000085079
216B372A74B588   JESSIE        MOODIE                  OK          90013027207
216B3769755957   ORLANDO       DELAPAZ                 CA          90014897697
216B383235B571   GLORIA        TERRAZAS                NM          35066048323
216B4182581638   GEORGE        HARRIS                  MO          90005801825
216B4427155941   JESUS         CALDERON QUEZADA        CA          90010024271
216B4A12A81637   SHONTEA       HAILIBWRTON             MO          29015380120
216B5121591984   CARCIA        CORLETO                 NC          17008791215
216B526A472B42   CALDERON      SAMUEL                  CO          90008402604
216B5417191828   JENNIFER      SEGOVIA                 OK          90011194171
216B569835B531   CRYSTAL       ARMIJO                  NM          90012936983
216B5884557157   ISMAEL        PENA CASTRO             VA          90007688845
216B6119391528   FRANCISCO     RUELAS                  TX          90011791193
216B66A9641245   SHANE         HENKEL                  PA          90013866096
216B6A4224B588   JEREMY        GISH                    OK          90006380422
216B756224B588   BIANKA        PEREZ                   OK          90003055622
216B7961372B98   JOE           DIFEDE                  CO          33063769613
216B814265B571   JESUS         LOPEZ                   NM          90008471426
216B8239655941   DONALD        CONTRERAS               CA          49038392396
216B8413372B42   MARTHA        CONTRERAS               CO          33070434133
216B8435191541   JOSIE         DIAZ                    TX          90005914351
216B854A733639   TANYA         GEORGE                  NC          90009915407
216B8938172B98   FLOYD         MARTINEZ                CO          90000329381
216B98A1691541   MENDOZA       JESSICA AILEEN          TX          90003948016
216BB2A769189B   TONI          LITTLEJOHN              OK          90013622076
216BB676287B87   SHERRY        BANISTER                AR          23041716762
21711882A31453   TERRY         SCHNELTING              MO          27505248820
21712A51181637   BOBBY         TERRY                   KS          29036420511
217136A592B27B   CANDICE       STEVENSON               DC          90014916059
21713747A7B449   SHAWN         MORRIS                  NC          11081727470
2171419A191541   JUAN CARLOS   GARCIA                  NM          90013891901
2171452A381637   TOMMY         BROWN                   MO          29015295203
2171472A62B242   VERONICA      HOWARD                  DC          90011977206
2171477354795B   WARREN        HARPER                  AR          25014967735
21714AAA887B21   CHRISTOPHE    WILHITE                 AR          28057700008
217153A4777371   LARRY         MAJOR                    IL         90013133047
21715463772B88   MORGAN        SIMS                    CO          33088664637
217164A9472B42   ESMERALDA     ZELAYA                  CO          33087564094
21716866872B42   BAUDELIO      ORTEGA                  CO          90013498668
217169AA181661   TYVETTE       WASHINGTON              MO          29023869001
21717125A41299   STEVE         DALEY                   PA          90008051250
217173A3891541   FELIX         CONTRERAS               TX          75063943038
2171768A17B699   RANULFO       PEREZ                   GA          90009896801
21717A7454B281   LAURA         RODRIQUEZ               NE          90015130745
217188A725B167   JONI          BAKER                   AR          90013828072
2171895242B27B   TERRY         WILLIAM                 DC          90014859524
21718A36591241   JOSE          TAPIA                   GA          90012960365
21718A37272B98   OSCAR         SANCHEZ                 CO          90012750372
21718AA112B27B   KIZZIE        HOLMES                  DC          90012890011
2171997599155B   JUANA         ESPARZA                 TX          90011179759
2171B117147952   ISRAEL        PALMA                   AR          24055011171
2171B22A172B42   MICHELLE      MELINA                  CO          90012322201
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2171B556531453   JACQUELYN   BROWN                     MO          90014565565
2171B57589184B   NATALIE     MOUW                      OK          90013635758
2171B766184364   TAMIKIA     SINGLETON                 SC          90014627661
2171B779691541   ANTHONY     ANDERSON                  TX          90001547796
2172121639136B   NORMA       GONZALEZ                  KS          90015252163
2172142655B531   JOSHUA      MENTZER                   NM          90013574265
21723276687B87   CONSTANCE   THACKER                   AR          90014672766
21723313972B42   MICHAEL     FLESHMAN                  CO          33034283139
21723984A41245   GEORGETTE   SWISHER                   PA          51062279840
21723A68155941   MARIA       MOJICA                    CA          90004970681
21723A75555957   SELENE      MORENO                    CA          90014390755
21723A8865B271   ERICA       SATTERLY                  KY          90014660886
2172423569155B   ABRAHAM     CHAVEZ                    TX          90012982356
21724417572B42   PHILIP      EUGENE                    CO          90012634175
21724772387B87   MARK        STALE                     AR          90011217723
21724A13A7B449   JEFFERY     BOLES                     NC          11005750130
21724A34531631   TANISHA     ALEXANDER                 KS          90006090345
217253A1591541   BRAD        WEAVER                    TX          90000263015
21726579A31631   JAYME       ALLEN                     KS          22032365790
217267A814B261   STAN        ANSON                     NE          27024787081
217271A362B27B   YACOUBA     SANGARE                   DC          81015741036
2172727A372B42   BRUCE       YEE                       CO          90013572703
21728134672B88   KIM         FENN                      CO          33015261346
2172826322B232   ROSANNE     SMITH                     DC          90003732632
217282A5772B42   LIEN        VO                        CO          33039442057
21728A5857B699   JUAWAN      CARADINE                  GA          90014220585
2172928689189B   BRITTANY    GODDARD                   OK          90015062868
2172942657B471   ELIZABITH   FLETCHER                  NC          90013544265
21729A1742B27B   ASHIN       THAMI                     DC          90012890174
2172B323791241   LATROYIA    HAMITTON                  GA          90015173237
2172B778491833   STEPHANIE   LYLES                     OK          90009967784
2172B974131453   ANDREA      STRAUGHTER                MO          27559189741
2172B994972B98   JUANA       TREJO                     CO          33033379949
2173127349184B   MIKE        WOLDEN                    OK          90004292734
21731521A4B553   COURTNEY    PALMER                    OK          90011505210
21731529287B59   VICTOR      PENASIEL                  AR          90014405292
2173172132B27B   JOHN        NEWSOME                   VA          90013777213
2173176A851343   ANTWOIN     JEFFRIES                  OH          90011007608
217328A1A7B699   KEITHA      WILLIAMS                  GA          90011208010
2173314219184B   TREVOR      ACTON                     OK          21009251421
217333A787B449   EBONY       BITTLE                    NC          90011373078
217346A594B588   HAP         DO                        OK          90009136059
21734A67387B59   SHEREE      WOODARD                   AR          23040750673
2173512922B232   JOHN        HARSHAW                   DC          90012761292
21735968A87B59   BRUCE       SHELTON                   AR          90013479680
217359A694B261   DAWN        ZELENY                    NE          90001629069
217362A8A91241   ERIC        RECHLIN                   GA          90009712080
2173652963B345   ALEJANDRO   CHAVES                    CO          33050005296
21736AA365B571   JOHN        MARES                     NM          90013280036
21737382972B88   ANGELICA    GARCIA                    CO          90012793829
2173751429189B   ARACELY     MONTOYA                   OK          90008475142
21738893A31631   KENT        WEST                      KS          90012418930
21738967A5B167   HEATHER     WITHAM                    AR          90010469670
21739175672B42   JENIFER     FREELONG                  CO          90009851756
2173932A17B699   PAULA       CHAMBLISS                 GA          15000833201
2173937345B167   CAROLINE    POLLARD                   AR          90014333734
21739A65572B98   BIANEY      SOTA                      CO          90014110655
2173B419863654   BROC        HUNNEL                    MO          90007324198
2173B639587B59   TAMINA      SMITH                     AR          23078026395
2173B652A7B699   STACEY      THOMAS                    GA          90011426520
2173B661A4B588   LUCAS       NEWTON                    OK          90013596610
2173B6A6131631   CHERYL      HARE                      KS          90013696061
217411A594B245   SYBIL       SPEARS                    NE          27013591059
2174134925B271   FEDERICO    CLETO SANCHEZ             KY          90002653492
2174168899189B   EBONY       TODD                      OK          90011506889
21741A27691547   VERONICA    CHAVEZ                    TX          90010660276
2174289339184B   KELSEY      DAY                       OK          90012488933
217428A2172B42   JORGE       PERELES                   CO          90013588021
2174292927B451   JHON        PETERSON                  NC          90014099292
21743389172B88   SERGIO      FLORES                    CO          90012793891
2174351517B449   VERONICA    FULLER                    NC          11052975151
2174365864B281   COSSI       AHIKPO                    NE          90013626586
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21743825A91241   REIER        JASON                    GA          14509628250
21743941957B85   JOSH         SUTTON                   PA          90014729419
21744918772B88   ADRIAN       GARCIA                   CO          90006889187
21744A2A287B87   CHRIS        THORNTON                 AR          90013670202
21744A8944B281   KELSEA       WALKER                   NE          90008040894
21745127372B88   CELIA        TAQUILLO                 CO          33056711273
21745438A91984   LORETTA      MCSWAIN                  NC          90005844380
21745825A91241   REIER        JASON                    GA          14509628250
21745A5238B17B   TODD         ALLEN                    UT          90009960523
2174623848B17B   VENESSA      ORTIZ                    UT          90011052384
21746567A91583   LUZ          LERMA                    TX          90014005670
2174785465B161   ALISHA       ALLRED                   AR          23004648546
2174842945B271   JEREMY       RICHARDSON               KY          90012794294
2174897362B27B   REVAH        WILLIAMS                 DC          90014859736
21748A65A4B281   JENIKA       WOODSON                  NE          90013380650
2174925859136B   ROSETTE      MWAMBA                   KS          90015262585
21749778687B21   WHITNEE      PALMER                   AR          28011047786
21749986187B87   WILLIE       WILSON                   AR          90015039861
2174B128841245   LILA         KAFLEY                   PA          90010021288
2174B1A7272B88   MICHAEL      DAVIS                    CO          90014761072
2174B29A831631   JOHNNY       MARSHALL                 KS          22059812908
2174B8A959155B   CRYSTAL      FERNANDEZ                TX          90000108095
2174B953172B98   FRANCISCA    SANDOVAL                 CO          90000329531
2174BA7399184B   CLOTEE       NABORS                   OK          21007490739
21751A87691541   LOY          JUAN                     TX          75038310876
21752226A55957   DALE         WHITEHEAD                CA          90002862260
21752A36557157   ANNIE        LANDU                    VA          81051690365
21753A72191828   ROBIN        HART                     OK          90014250721
2175411534B261   REBECCA      GONZALEZ                 NE          27068051153
2175538A99136B   DURQUI       VASQUEZ                  KS          90015263809
2175575A772B98   JAMES        DAVIS                    CO          90013077507
21755957A72B98   ANGEL        RUIZ                     CO          90013009570
21756278A85938   GUADALUPE    GARCIA                   KY          67018282780
2175677399184B   SARAH        LUNCEFORD                OK          90009057739
21756878472B98   DIANA        MEDINA                   CO          90014888784
2175727844B281   CECILIA      TRUJILLO                 NE          90007552784
2175739355B271   CAROL        WEIS                     KY          90011393935
2175769325B161   DANYELLE     BENSON                   AR          23076356932
217577A5272B41   ERIBERTO     RAMIREZ                  CO          90011597052
2175826855B271   AMANDA       STEPHENS                 KY          90014582685
2175877259189B   RONALD       LOVELESS                 OK          21073287725
21758862A31432   SHERRICE     BEALS                    MO          90007658620
2175948317B449   SHAWN        ROBERTS                  NC          90006844831
217598A179189B   ERICA        ROOKS                    OK          90012598017
2175B276A9184B   GEORGE       CARTWRIGHT               OK          90007722760
2175B96672B232   SWEETIE      PIE                      DC          90007479667
2175B9A5191541   ALMA         NAVARRO                  TX          90006969051
217611A7591241   GREGORY      JACKSON                  GA          14582001075
2176148589155B   ADAM         ARRANDA                  TX          90013944858
21761A12187B59   ISAAC        BATTLES                  AR          90014450121
21761AA1947952   JOSHUA       STEPHENS                 AR          90013220019
217624A9472B98   CELINA       ORNELAS                  CO          33036944094
21762A6867B449   DD           RR                       NC          90015220686
2176317649155B   LUIS         ESCALANTE                TX          90004101764
217644A254B261   RAGINA       LEMANTON                 IA          90007454025
21764521472B42   GIBSON       KELLY                    CO          90006935214
2176553889794B   ELVIA        HERERA                   TX          90010685388
2176588712B27B   TRACY        WHITING                  DC          81011958871
2176618A687B87   WILLIE       WESLEY                   AR          90015371806
2176646AA9189B   DAVID        SERNA                    OK          90012774600
2176657649136B   ALICIA       MCCOY                    KS          29001355764
2176657849184B   GRACIELA     AMADO                    OK          90013635784
217672A477B449   JERRY        STRANGE                  NC          90015162047
2176892674B588   TAMMY        JOHNSON                  OK          90008749267
2176921714B588   KRISTOPHER   ERMEY                    OK          90006992171
2176941618B17B   SHAUNA       BLUNDELL                 UT          31093724161
2176957649136B   ALICIA       MCCOY                    KS          29001355764
21769628887B59   MARKISHA     ROGERS                   AR          90014816288
21769941A72B88   DONE         WILLILMS                 CO          90010019410
2176B12A82B232   DANA         SPENCER                  DC          90006181208
2176B213555957   JOHN         PADILLA                  CA          90014292135
2176B299A91828   BARBARA      WILSON                   OK          90013092990
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2176B62749155B   JESUS        GRAJEDA                  TX          90007536274
2176B62935B161   KELEXIS      BROWN                    AR          90013936293
2176B728A91984   MAURICE      GILMORE                  NC          90015137280
2176B778851343   LAURACIA     MACHUCA                  OH          66040467788
21771388A4B261   DORA         ARVI                     NE          90008123880
2177153A172B98   MANUEL       ZAMARRON                 CO          33087845301
2177199435B161   JERMONIQUE   SHOCKLEY                 AR          90007859943
2177233264B588   SHAWN        ROSS                     OK          90009283326
2177233A651338   HAFEEZ       MAHBOOB                  OH          90012693306
2177234AA2B27B   DAION        LANCASTER                DC          90013743400
217731A355B571   SALVADOR     GUTIERREZ                NM          35048111035
2177372865B531   JOSE         MERCADO                  NM          90013577286
2177438A551343   JOHNNIESHA   ROODGERS                 OH          90014853805
2177441385B161   A            CROWDER                  AR          23088824138
2177445487B699   DIANA        BETTON                   GA          90015014548
21774863A55957   DAVID        DAUENHAUER               CA          48020738630
21774AA567B471   ADAM         GOLDEN                   NC          11076740056
2177513452B232   YESENIA      HERNANDEZ                DC          90012761345
21775A17455941   HEATHER N    JESSEN                   CA          90013060174
21775A93281637   ISAC         GRAVES                   MO          90015040932
2177651669184B   GLINDA       QUADREE                  OK          90015285166
21776554772B42   JORGE        LOPEZ                    CO          90006955547
217766A8791833   PAULA        ANDREWS                  OK          90010736087
21777174272B42   KIRK         SONYA                    CO          33050471742
2177725615B161   STEPHANIE    RUFFIN                   AR          23091042561
217772A6455957   EROY         MARTINEZ                 CA          90012592064
2177747464B588   KAILEY       CHILDERS                 OK          90014074746
2177749285B167   JAMES        EVERETT                  AR          23086874928
2177767A491984   LORENZO      ABOYTES                  NC          90014446704
217778A389189B   TEMECA       MCCALISTER               OK          21079448038
21777A5923146B   MIKE         GLASER                   MO          27597050592
2177828992B27B   CHATTEL      REED                     DC          81011932899
2177852169184B   WILLIAM      TANKERSLEY               OK          21097245216
21778534A81661   DELANA       SUKRA                    MO          90011085340
21778686A5B167   RICKY        RICHARDS                 AR          90010426860
2177873957B449   TEMIAI       LOTT                     NC          90014527395
2177919A447952   CHARLES      LEMMING                  AR          90012401904
21779733A72B98   SAUL         PINEDO                   CO          90009097330
21779942487B59   ANGELA       IVERSON                  AR          90014979424
2177B16A85B271   EBONY        QUARTERMAN               KY          90003851608
2177B21A75B531   VIVIANA      MANCINAS                 NM          35063562107
2177B541391541   CRAIG        ESPARZA                  TX          90014155413
2177B66934B588   ANITA        FLORES                   OK          21582096693
2177BA53A91541   AMIRAH       SOUEIDAN                 TX          90012470530
2178121799184B   JUSTIN       MARS                     OK          21007892179
2178126457B449   CARL         PRITCHETT                NC          90011512645
2178139764B261   KRISTINA     ZELLNER                  NE          90012863976
2178151845B352   SALVADOR     ORTIZ                    OR          90009615184
2178157152B27B   ELTONIO      BUTLER                   DC          90012895715
2178179A655941   YANETTE      VERDUSCO                 CA          49043257906
21781952487B87   LATANJA      BLUNT                    AR          23013079524
217819A4972B88   YANINN       DYCK                     CO          33081469049
2178253A97B699   BILLIE JOE   SANDERS                  GA          15084655309
2178288A89155B   ALEJANDRA    OROZCO                   TX          90013858808
217838A235B161   STEVEN       MARSHALL                 AR          90013138023
2178413145B54B   AIMEE        WADE                     NM          90013181314
21784527A57157   ARMAND       UTSHUDI JR               VA          90013975270
2178472484B261   KELLY        MOORE                    NE          27092297248
2178525462B27B   MARIA        NARANJO                  DC          81011932546
2178545754B281   CEDRIC       COOPER                   NE          90013934575
21785549272B88   MARGARETE    CORDOVA                  CO          90004375492
21785689A72B88   MARGARETE    CORDOVA                  CO          90012916890
217857A4491984   ELIZABETH    AKOT                     NC          90011677044
21786499772B42   RAYMOND      BELCHER                  CO          33048994997
2178779315B161   ERIC         WILLIAMS                 AR          90014007931
21787A99993742   JAMES        VINCENT                  OH          90010520999
21788324A84364   MOISES       MORALES                  SC          90014163240
2178887A255957   RICH         WILEY                    CA          90003058702
21789145172B42   JUDY         MECILLAS                 CO          33093821451
2178974514B261   CARMEN       NICOLAS-CERVANTES        NE          27037497451
2178995119794B   CESAR        RUIZ                     TX          74039879511
21789A89A7B471   KAMILE       RICKETS                  NC          90011120890
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2178B35287B699   ZACHARY      LONG                     GA          90011213528
2178B44199794B   BLANCA       FABILA                   TX          74036284419
2178B51117B449   ALEXANDER    FONVILLE                 NC          90012535111
2178B516591241   WESLEY       CANNON                   GA          90002055165
2178B64377B277   CATHERINE    BOLIN                    AZ          90011426437
2178B933555957   DAISY        FERNANDEZ                CA          48014279335
2178B9AAA72B88   TANIA        GOMEZ                    CO          33043519000
2179179679189B   MARY         WILHOIT                  OK          21045077967
21791954172B88   CARLOS       AMBROCIO                 CO          90013109541
21792157A7B471   JAY          SHELTON                  NC          90013041570
2179232A931631   KIMBERLY     GRANT                    KS          22066013209
2179244665B271   ASHLEY       LAWRENCE                 KY          68086044466
2179278366B931   PEDRO        SAMBRANO                 NJ          90015307836
2179338A455941   JOSE         ZAVALA                   CA          90014783804
2179351A37B699   APRIL        SNEAD                    GA          90013295103
217935A1455957   DELORES      PEREZ                    CA          90012965014
21794A26984364   GLENDA       GILES                    SC          90009830269
2179511894B588   CAMILO       VILLEDA                  OK          90013761189
2179557497B471   LAPHONTRIC   MCCRAY                   NC          90008355749
2179559582B232   TROY         WATSON                   DC          90009475958
2179615475B531   ARLO         ABBOTT                   NM          35060461547
2179617357B449   DONETTA      ROBINSON                 NC          11045741735
2179617A15B167   VANESSA      PADILLA                  AR          90012041701
2179631599155B   GABRIEL      PONCE                    TX          90013113159
2179684875715B   MARTA        FLORES-DIAZ              VA          90006308487
21796A21A55941   AVENA        FIELDS                   CA          49031820210
2179774A593727   RACHEL       MCCORMICK                OH          90010747405
2179785289184B   SHELLBY      RAPE                     OK          90012598528
21797A37391241   CRAIG        CLARKE                   GA          90014910373
2179851324B245   LEAH         TAUCHMAN                 NE          27094635132
2179886314B588   KEVIN        WILLIAMS                 OK          90002698631
217988A1681638   CLARENCE     CLEMONS                  MO          90008848016
2179896389136B   LYNDSY       BROWN                    KS          29075279638
21798A73855957   ROSALINA     ORTIZ                    CA          90010230738
2179953129155B   MARIA        RAMIREZ                  TX          90012285312
2179B273272B42   ORALIA       BUSTILLOS                CO          90013492732
2179B274491828   JESSICA      SANCHEZ                  OK          90004402744
2179B2A8A4B281   REGINA       LOWERY                   NE          90015012080
2179B3A4247952   SHALECIA     BUNCH                    AR          24067893042
2179B42AA91541   SAUL         YANEZ                    TX          90014814200
2179B488172B98   SHIRLEY      MCQUOWN                  CO          90008894881
2179B78545B531   JESSICA      MUNOZ                    NM          90013577854
2179B9A925B161   LASHAY       WITHERS                  AR          90014739092
217B1284891583   DANIEL       MANZANARES               TX          75069902848
217B145729155B   CLAUDIA      NUNEZ                    TX          90013944572
217B1526284364   MAURICE      JENKINS                  SC          90014675262
217B1648A55957   RACHEL       ROMERO                   CA          90013936480
217B21A1791541   IGNACIO      MORA                     TX          90002991017
217B234887B449   NUVIA        FUNES                    NC          90009673488
217B2854772B88   KESHAWN      RAY                      CO          90013728547
217B286315B531   AZULIN       APODACA                  NM          90012348631
217B324467B449   CHARITY      HOOD                     NC          90012792446
217B324844B261   ELIZABETH    GILL                     NE          27015442484
217B32A7A51343   CHUNA        WHITE                    OH          90012212070
217B3597481637   KERRI        WISNIEWSKI               MO          29050625974
217B3615641245   DOMINIQUE    JOHNS                    PA          90013256156
217B377632B232   KZEE         LEWIS                    DC          90012787763
217B3956272B88   RICARDO      SANCHEZ                  CO          90011889562
217B3A23231631   PAMELA       MENDOZA                  KS          22085370232
217B4144451343   STEVE        IRVINE                   OH          90015131444
217B417439189B   KIM          SULLIVAN                 OK          21096471743
217B4597755957   TERESA       GARICA                   CA          90013265977
217B475A15B161   JD           CLARK                    AR          90011347501
217B4996772B98   ALEJANDRA    ROCHA                    CO          33081279967
217B5944287B59   ARBERAJEAN   ANDERSON                 AR          90014629442
217B5A62391923   ROBERTO      MARTINEZ PAREDE          NC          90004240623
217B63A4455941   MOISES       MARTINEZ                 CA          49075823044
217B6652A7B699   STACEY       THOMAS                   GA          90011426520
217B6A5714B245   ANTHONY      GARCIA                   IA          27097920571
217B726655B167   MICHELLE     MCNEELY                  AR          90009882665
217B728567B449   JOSE         GOMEZ                    NC          90012542856
217B743538B17B   CHELSEA      ANDRUS                   UT          90008084353
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217B75A9333126   LACEY       DOBDLMAN                   IL         90015405093
217B75AA29155B   RICHARD     BALDOZA                   TX          90014465002
217B7865A55941   AMERICA     BARRAGAN                  CA          90004798650
217B7869272B88   WILLIAM     SCHLATER                  CO          33023788692
217B7889772B98   RICARDO     MORALES                   CO          90014478897
217B834917B471   RAY         CURRY                     NC          11033203491
217B878714B261   LORI        HENSLEY                   IA          90015287871
217B8A29187B87   ASHLEY      PARCHELL                  AR          90003670291
217B8A9468B17B   JENNIFER    GONZALEZ                  UT          90011670946
217B9263455941   REFUGIO     SANDOVAL                  CA          90008422634
217B9338372B98   MICHAEL     GILLOTTE                  CO          90015163383
217B935A17B699   SHANIKA     GLENN                     AL          90013853501
217B937758B17B   RICKIE      MACKLIN                   UT          90009183775
217B954A82B232   JIAVONI L   WILLIAMS                  DC          81051205408
217BB589985938   ASHLEY      LIVENGOOD                 KY          67076955899
217BB647387B59   DANTRIONE   MIXON                     AR          90012266473
217BBA86372B98   ANTHONY     DOLIF                     CO          33076390863
21811A7954B281   DARRELL     STUEDEMANN                NE          90013990795
2181229138B56B   NANCY       DELGADO                   CA          90014122913
2181241217B471   ALISA       BOYCE-WALLACE             NC          11095534121
2181242224B588   YVETTE      FROST                     OK          90009354222
21812827372B42   MARCUS      MOSLEY                    CO          33063688273
2181331579189B   JOSE        FUENTES                   OK          90012423157
21813324A5B167   DANIEL      STEWART                   AR          90009943240
21813812872B42   JOSE        GOMEZ                     CO          33089808128
21813A73287B87   PAYGO       IVR ACTIVATION            AR          90006030732
2181421949189B   STACEY      WILSON                    OK          90013622194
2181473515B531   MARCIA J    SCHICK                    NM          90013587351
2181481212B232   DORESE      EUBANKS                   DC          90001138121
21814A8A981661   CHRISTIAN   BRISENO                   KS          90015200809
21815615A9189B   LUIS        ROSAS                     OK          21065296150
21816185A4795B   SAMANTHA    SCHANCER                  AR          90013571850
2181628769B867   OLUSOGA     ONAFOWORA                 NJ          90014782876
2181648522B232   ASHLEY      LOWE                      DC          90012044852
2181723227B699   GLORIA      DANDRIDGE                 GA          15016722322
2181795495B247   ANQUNETT    GRADY                     KY          68081119549
2181799A29189B   ROGELIO     AVALOS                    OK          21039189902
21817A44391241   WARREN      PATTERSON                 GA          90013640443
2181818414B261   MARTH       ACEVEDO                   NE          90002361841
2181834399189B   STEPHANIE   SCUGGINS                  OK          90008733439
2181886A191241   ROBERT      SCOTT                     GA          14512418601
21818881A5B161   EVELYN      MADANIEL                  AR          23081548810
21818A2A755957   MARCELA     FRANES                    CA          48094580207
21818A7A847952   JUSTIN      KNUCKLES                  AR          24007180708
21819184A4B281   DIANE       KRISOR                    NE          90002601840
2181954529184B   CLEO        SMITH                     OK          21021575452
218196A4884364   LYONS       KARI                      SC          90014166048
2181B172391541   KIMBERLY    CHRISMAN                  TX          90010721723
2181B2A8381638   LUCY        MONTOYA                   MO          90005652083
2181B35A847952   LYNDA       MOORE                     AR          90015233508
2181B44475B271   ANTHONY     KERR                      KY          68026014447
2181B4A897B449   SUNNY       RATHIE                    NC          90010234089
2181B728957544   MICHELLE    MIRABAL                   NM          90009487289
2181B84232B27B   CHARLET     NOBLE                     DC          90009148423
218211A3255957   SUNSHINE    AGULIAR                   CA          48064631032
2182179A285938   RONNIE      SMITH                     KY          90011547902
218218A854B261   GUADALUPE   ELTON                     NE          90003608085
2182211138B17B   JUAN        MARTINEZ                  UT          31060651113
2182262335B331   MIKE        WATTS                     OR          90008836233
21823228187B56   SHAMARA     RUSS                      AR          90014622281
21823963472B98   SIMONA      CORREA                    CO          33088679634
2182418723B352   BARBARA     VANHORN                   CO          90006301872
218241A985B531   ZANDRO      CABILTES                  NM          90013581098
2182451868B17B   FELICIA     VELARDE-GARCIA            UT          31039995186
21824732A5B161   CAROL       PATTERSON                 AR          90013937320
21824A79647952   CASEY       RAINWATER                 AR          24073180796
2182536284B588   DAVID       RODNEY                    OK          90004133628
2182538789184B   CRYSTAL     DAVIS                     OK          90011043878
21825555A72B98   OTONIEL     ROMERO-ALARCON            CO          33083455550
2182611154B281   HEATHER     PRUETT                    IA          90010301115
2182618385B167   ALISHA      GUEST                     AR          90013621838
2182696A772B42   TRAVIS      GOODSPEED                 CO          90010069607
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21827316572B98   DEAN         REGAZZI                  CO          90006873165
21827856772B88   INDALECIO    AGULERA                  CO          90013728567
2182788379184B   ROLAND       CADARETTE                OK          90012608837
218281A5172B42   MYRNA        HEREDIA                  CO          33026211051
2182846198B17B   ANTHONY      MENDEZ                   UT          31089034619
2182947369184B   LISA         CARPENTER                OK          90014194736
2182948129155B   SEFANIE      ALVIDREZ                 TX          90013354812
21829895172B42   ALICIA       CASTRO                   CO          33059108951
2182B1A7531453   TERESA       CANNON                   MO          90012311075
2182B1AA687B59   PAYGO        IVR ACTIVATION           AR          90007921006
2182BA7954B281   DARRELL      STUEDEMANN               NE          90013990795
21831363A5B161   CYNTHIA      COLLIER                  AR          23011303630
218316A9747952   JANETTE      SHEPARD                  AR          90010956097
21831732487B59   TIFFANY      SWINEY                   AR          23078687324
2183271869189B   ERIC         HENDERSHOTT              OK          90010767186
21832982A41245   JAMES        KRALIK                   PA          90007939820
2183334877B449   MONTE        JENKINS                  NC          90009383487
218336A665B571   ONESIMO      GONZALES                 NM          90012716066
2183398279189B   CASSANDRA    GIFFORD                  OK          90014059827
2183428414B281   BETHANY      TETZLAFF                 NE          90012212841
2183456845B167   NUTT         TERESA                   AR          90008865684
2183474359155B   ROSAURA      DELGADO                  TX          90009467435
2183483825715B   JUAN         AGUILAR                  VA          90003518382
2183619475B271   THOMAS       STYERS                   KY          90009991947
21836232A41245   SHAWNA       PATRICK                  PA          90014902320
2183632AA5B531   ANTONIA      VILLALOBOS               NM          90010723200
2183656344B281   JESSICA      MCAFEE                   NE          90014625634
2183695744B581   CHRISTA      SMITH                    OK          21570219574
218371A3372B98   MARITZABEL   MOLINAR                  CO          90014981033
2183738959184B   JOSE         REBOLLAR                 OK          90008643895
2183758732B27B   EDGAR        GONZALEZ                 VA          90012895873
21837973924B55   LIGIA        SEGURA                   VA          81045039739
2183852414B245   NARY         BROWN                    NE          27082935241
2183869145752B   MARIO        MATA                     NM          75093396914
2183899534B588   TOMMY        MYERS                    OK          90007759953
2183927567B471   EVARISTO     GARCIA                   NC          90013962756
21839446272B98   MANUEL       GARCIA                   CO          33058744462
21839722A7B471   MELANIN      GETES                    NC          90010897220
21839982372B88   KIM          MADERA                   CO          33072509823
21839A99A72B42   KRISTY       ALLISON                  CO          90000680990
2183B16889155B   YAZMIN       RAMIREZ                  TX          90010491688
2183B5A8991528   JOEY         VIANA                    TX          90005135089
2183B65299184B   CHRISTI      SMITH                    OK          90009796529
2183B92775B271   ASHLEY       TURNER                   KY          68085469277
2183B969151343   JESSICA      BANKS                    OH          90014679691
2184123974B588   RACHEL       HASSMANN                 OK          21586122397
21841A34591828   NINA         DAVIS                    OK          90014530345
21842183172B98   ROSA         ESPINOZA-VASQUEZ         CO          33017021831
2184227872B27B   TIMARRA      SMITH                    DC          90008942787
2184267677B699   KIMBERLY     WRIGHT                   GA          90005726767
218432A8A72B88   GEORGE       SAUER                    CO          90014742080
2184365329155B   DETREN       GANT                     CA          75041546532
2184366857B449   MARVALENE    WALLS                    NC          90010986685
2184379694B281   RONDELL      BREWER                   NE          90006037969
2184425174B261   BRENDA       MARTINEZ                 IA          27018262517
21844412987B59   LAWRENCE     COOK                     AR          90010154129
218444A8631631   DONNA        BLACK                    KS          90004444086
21844A1545B161   DARRELL      WARE                     AR          90001210154
21844A64991241   TRINA        THOMAS                   GA          90008360649
21844A9944B281   MONSERRAT    FIGUEROA                 NE          90012740994
218452A814795B   VALENTIN     DIAZ                     AR          90006532081
2184567754B261   BENJAMIN     STARKS                   NE          27054216775
2184573A372B88   MARY         FLORES                   CO          90015237303
2184584669155B   ERIKA        AGUILAR                  TX          90005888466
21845882987B59   MICHELLE     TATER                    AR          23097248829
21845AA5191984   JAMES        BUTLER                   NC          90013070051
218462A6185938   ROSALYND     MARTIN                   KY          67040282061
2184676257B449   WILLIAM      MORRISON                 NC          90003687625
2184691586193B   JEFF         JEFFERY                  CA          46088809158
21846AAA747952   KAMILAH      RELEFORD                 AR          90012600007
2184737924B588   PATRICE      JONES                    OK          90013693792
2184784989155B   DIANA        MURILLO                  TX          90009588498
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218481A5285938   JAMES       MORRISON                  KY          67030131052
218486A5891241   JANAY       HOWELL                    GA          90014086058
21849211A7B449   STEVEN      WEST                      NC          90011152110
2184958884B245   DANIEL      VILLEGAS                  NE          27081355888
2184B149893773   TERRY       NEWTON                    OH          90003201498
2184B224891541   JACKELINE   PEREA                     TX          90004362248
2184B471647952   SABRINA     NOONAN                    AR          90014834716
2184B536981661   DAMIAN      CLEMMENS                  MO          90013995369
2184B81415715B   LOURDES     FERRUFINO                 VA          90005728141
2184B88959189B   ANITA       WATKINS                   OK          21050848895
2184BA3A37B699   PEDRO       PORTILLO                  GA          15080890303
2185137877B699   TERRI       IRVING                    GA          90012913787
2185175177B382   WILSON      LOPEZ                     VA          90001177517
2185185582B232   NED         GREEN                     VA          90013088558
2185186A44B281   LURENE      KELP                      NE          90014098604
218518A965B161   ELSA        WILLIAMS                  AR          90013938096
2185193759155B   ESTHER      INDIRA                    TX          75007319375
21851A4A681661   YVONNE      JENSEN                    MO          29013340406
21852275772B42   MARIJKE     HILDRETH                  CO          33039202757
218524A914B281   IBRAHIM     TRAORE                    NE          27007224091
2185261792B232   MARVIN      QUICK                     DC          90010856179
2185274925B271   AMANDA      COX                       KY          68012407492
2185327644B261   SHAKORA     BOBO                      NE          90011302764
2185376455B161   VALARIE     MAGSBY                    AR          23030637645
21853A76657157   JALEN       WALLER                    VA          90012610766
2185473A64B588   RACHEL      WRIGHT                    OK          90003297306
2185474A94B261   BRYENA      BARR                      NE          27042137409
21854A34576B71   MARGARITA   CENDEJAS                  CA          90007830345
21854A38647952   KENNETH     RELEFORD                  AR          90015210386
218554A4472B88   GERARDO     ZAMORA                    CO          90012794044
2185552545B195   LASHUNDIA   GRIFFIN                   AR          90014565254
21856132A51343   MARLLOW     HAWARD                    OH          90010471320
218566A5655957   ARACELY     PEREZ                     CA          90011866056
218572A8A4B588   CRYSTAL     CANALEJO                  OK          90014662080
21857432672B98   ROCIO       MELENDEZ                  CO          90010154326
2185747838B17B   DAWN        HAMPSTON                  UT          90006394783
2185775349189B   EBONY       FISHER                    OK          21005557534
21857875A61939   LETY        BARRIOS                   CA          90006148750
21857A7938593B   SHANTIA     WEBB                      KY          90005660793
2185873369184B   NAOMI       EVANS                     OK          21007977336
21858A5A891828   SUSAN       ROSE                      OK          90011090508
21858A93381638   PATRICIA    HERNANDEZ                 MO          29064100933
2185924437B449   EBONY       GRAY                      NC          90008372443
2185973884B588   ADAM        KEEPPER                   OK          90011067388
2185988218B17B   VILIAMI     MAFI                      UT          90009178821
21859942287B59   GWENDOLYN   GOULD                     AR          23039369422
21859A5A691241   CAROLYNE    EDWARDS                   SC          90015190506
2185B1A1991541   CLAUDIA     VAZQUEZ                   TX          75087171019
2186142879189B   DELPHINE    ROLLINS                   OK          21002744287
218618A5751369   MEGHAN      BURKE                     OH          90004658057
2186191664B588   MAQUIETEE   CROOKS                    OK          90012409166
21861A69747952   INGRID      CONTERAS                  AR          90014760697
2186228535B571   FRANCISCO   MORA                      NM          90005542853
21862931272B42   JENNIFER    STRONG                    CO          33047589312
21862A3A35B271   MARIA       LANDEROS                  KY          90014670303
21862A5377B449   ANNETTE     MCLEOD                    NC          90002220537
2186314A347952   DENNIS      BROWN                     OK          90014761403
2186366A987B87   PATRICA     WILLAMS                   AR          90006046609
2186411A557157   CLAUDIA     SALMERON                  VA          90005801105
2186477669155B   ROSALINDA   PALOMO                    TX          75036057766
2186482222B27B   LOUANN      JACKSON                   DC          81047528222
2186484414B245   ALANNA      WATSON                    NE          90006378441
2186487A991241   DESTINY     AVILES                    GA          90013078709
21866636A9794B   EMILIANO    MAZARIEGOS                TX          74098746360
21866769472B98   SCOTT       LARSON                    CO          33068107694
21866833A91828   KENNETH     LAWRENCE                  OK          90012778330
2186692385B531   ALICIA      PONCE -MARTINEZ           NM          35002559238
218669A3981637   PAYGO       IVR ACTIVATION            MO          90014849039
2186757284B261   EBEN        RICHMOND                  IA          90015155728
2186843699155B   MILDRED     MARTINEZ                  TX          75009234369
21868619A4B588   DYLAN       PRAY                      OK          90013396190
2186871339189B   MELODY      DEAR                      OK          21047887133
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2186931819184B   ANNA        GRAY                      OK          21098213181
2186934A82B27B   WENDY       BARAHONA                  DC          90015113408
218694A6572B88   MANUEL      HERNANDEZ                 CO          90012794065
2186B138787B59   JESSICA     SCOTT                     AR          90014701387
2186B554481661   OSCAR       HARRIS                    KS          90010065544
2186B6A862B27B   TAJA        RANDLE                    DC          90012896086
2187112985B167   MCKINZIE    BIANCHI                   AR          90013591298
2187138449184B   LENA        WHEELER                   OK          90007723844
2187171715B167   JUANITA     NELSON                    AR          90014217171
218717A9891541   DIANA       ESPINOZA                  TX          75098267098
21871A5724B281   GARY        BOSTON                    NE          90014860572
218722A1972B98   MIRANDA     SOLANO                    CO          90011732019
2187281869155B   ILDA        TALAMANTES                TX          90012148186
2187293A68B16B   MARK        MURDOCH                   UT          90011129306
218729AA34B588   ROXIE       HOOD                      OK          21560339003
21873AA5A91541   MARTHA      SANCHEZ                   TX          75091250050
2187411394B261   PEDRO       PANI                      NE          27088191139
2187425749155B   DAVID       MARTINEZ                  TX          90010082574
2187434454B549   DON         MITTELHOLZ                OK          90012023445
2187454A79155B   JAMES       JOHNS                     TX          90013945407
21874747A72B98   JOANN       TYNES                     CO          90014827470
2187482167B699   JEROME      BRADLEY                   GA          15059268216
21874981572B42   RICHARD     MARIE                     CO          90013029815
21874A26191589   ANA         LEOS                      TX          75089310261
2187559159155B   IRIS        RIVERA                    TX          90005115915
21875877172B42   SALLY       BENSON                    CO          33000888771
218766A972B975   MIRIAM      GAMBOA                    CA          90007946097
21876935A9155B   LIDIA       MORADO                    TX          75072099350
21876A9469794B   TIARA       HILL                      TX          90003640946
2187726595B271   FABIOLA     HERNANDEZ                 KY          90012562659
21877497872B42   SHANNA      MARTINEZ                  CO          90002624978
21877926A9184B   MCCAGAH     HILL                      OK          90001499260
21877932A91541   FLOR        GARCIA                    NM          90001619320
21877A97791984   VANESSA     MCLEAN                    NC          90013930977
2187853382B232   JOSE        LUNA                      DC          90012965338
21878569A87B87   TRAMEKA     GLOVER                    AR          90012335690
21878917372B98   ISAIAS      CONTRERAS                 CO          90014719173
218792A2191984   CHRISTIAN   PUENTES                   NC          90015012021
2187948727B449   ANDREW      DAVIS                     NC          11035654872
2187975527B699   OSCAR       GREEN                     GA          15069057552
2187999987B471   SANIE       SMITH                     NC          11044899998
21879A55391541   OMAR        PINON                     TX          90012470553
2187B241284364   KAILANI     VELAZQUEZ                 SC          90014182412
2187B532972B88   LEONARD     SENA                      CO          90013005329
2187B57875B271   RAEGAN      CONLEY                    KY          90007555787
2187B65367B449   SHIRLEY     TUCKER                    NC          90012026536
2187BA8617B358   MARIO       POZADA                    VA          90000240861
2188166879155B   ARELIY      BLANCA                    TX          90002536687
21881915872B98   JIMMIE      WINSTON                   CO          33070469158
21882466A5B19B   CARLOTTER   NICHOLS                   AR          23058254660
21882943387B59   CHRISTINA   BARBER                    AR          90015199433
2188349839155B   CLAUDIA     CHAVEZ                    TX          90011234983
2188371119189B   OLIVIA      HICKMAN                   OK          21080317111
2188432159184B   ANGELA      FERGESON                  OK          21017213215
21884411672B42   MARIA       SANDOVAL                  CO          90014174116
21884A79A4B281   JAMES       GATLUAK                   NE          27066240790
21884AA5472B88   NATASHA     OSORIO                    CO          90011290054
2188544745B271   TANYIA      DIXON                     KY          90004374474
2188562A987B87   LANETTA     SHAW                      AR          23096606209
218866A149184B   GARY        STROUP                    OK          90007986014
21886768A72B88   ALANN       PEREZ                     CO          90006317680
218868A224B588   TOSHA       STRAWN                    OK          90013108022
21888131A55957   STONE       SILVA                     CA          90010801310
21888191A4B582   LINDA       TIPTON                    OK          21561881910
21889475A31453   ASHLIE      JONES                     MO          90014074750
2188B272841245   SARAH       SMITH                     PA          90013922728
2188B44829136B   LADONNA     ADDISON                   KS          90009834482
2188B57845B161   ANTHONY     MAGEE                     AR          90014535784
2188B815472B88   MARVIN      FRY                       CO          33084478154
2188B8A125B531   JESUS       RUIZ                      NM          35094448012
2188B956661877   JOSHUA      SIKES                     MO          90015209566
2188BA61472B98   LINDA       SERNA                     CO          33096740614
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2189129257B699   LASHONDA     WILSON                   GA          90014712925
21891A75572B98   VICTOR       BARRAZA                  CO          90011860755
21892413A91541   NICHOLAS     FRANCO                   TX          90013604130
21892555A2B232   DARRIUS      MCFADDEN                 DC          90013535550
21892A63747952   TAMMY        RICHARDSON               AR          24002950637
21893282A55941   JOSE         JAIMES                   CA          49073212820
2189382895B271   KRYSTAL      HEDGES                   KY          90004518289
218939A8172B88   RUBEN        RODRIGUEZ                CO          90014849081
21893A4A231453   DEANDRE      JENKINS                  MO          90012410402
2189446664B549   ESTHEFANIA   JENEZ                    OK          90010054666
21894A55391541   BRENDA       URANGA                   TX          90015160553
218957AA787B59   JERMEIKA     STOKES                   AR          90014127007
218958A7372B98   RONALD       BREWER                   CO          90012818073
218963A6287B87   CHRISTINE    ALEXANDER                AR          23079663062
2189666455B167   MELISSA      RAMOS                    AR          90013596645
21896782A87B59   TAQUANNA     JOHNSON                  AR          90013817820
21896A19191828   ALEXANDRIA   HILL                     OK          90010840191
21896A5694B261   MARK         WEST                     NE          90007450569
21896A93181638   CHRISTINE    WILLIAMS                 MO          90001050931
21897167372B98   ANGELICA     BUZO                     CO          90014161673
21897561472B88   JENNIFER     RAINEY                   CO          90014585614
21897837972B42   RENE         OROPEZA                  CO          90009588379
2189824A731453   RASHIDA      KEMP                     MO          90013752407
2189867364B245   KATIE        FESTER                   NE          90002096736
21898A7322B27B   TERRENCE     WASHINGTON               DC          90007440732
21898AA5684364   KERRI        LITTLETON                SC          90009810056
2189944A887B87   LAKEYSHA     ALLEN                    AR          90010554408
2189947434B281   ALMA         CANO                     NE          27015274743
2189975314B261   CHRISTINE    SKILES                   NE          27010697531
2189B434541245   THOMAS       BROOKS                   PA          90013054345
2189B49244B245   ROSA         VARGAS                   NE          90009204924
2189BA86431453   LISA         JOHNSON                  MO          90001440864
218B1468387B87   LAKRESHIA    MCCOMB                   AR          90013714683
218B156469155B   JUANA        GARCES                   TX          75050555646
218B168577B471   JAZMINE      AUDREY                   NC          90009716857
218B1767681637   GABRIEL      CASTELLANOS              MO          90014207676
218B1852572B98   JOSE         SOTELO                   CO          33029468525
218B219A24B281   DOUGLAS      DAVIS                    IA          90013331902
218B2451131453   CANDY        BURKS                    MO          90015284511
218B2915487B87   ALMA         BELL                     AR          23002429154
218B317719155B   CARLOS       LAMAS                    TX          75048391771
218B3197741245   MAURICE      SAUNDERS                 PA          90013481977
218B3436472B27   MATTHEW      MATTHEWSON               CO          33072754364
218B34A154B588   JAY          DELUNG                   OK          21572564015
218B3858272B61   AMANDA       MCBURNEY                 CO          90003848582
218B38A855B571   JERMIE       DANTE                    NM          90009988085
218B3A1A372B88   FRANK        BUSTOS                   CO          33079810103
218B3A75793723   MISTY        CONKRIGHT                OH          64579570757
218B4155491541   BRENDA       MORAN                    TX          90010331554
218B4267551343   ANGELA       STEWART                  OH          90012212675
218B427598B17B   PEDRO        HERNANDEZ                UT          90011672759
218B453967B471   IMELDO       RAMIREZ                  NC          11029555396
218B4839A4B261   LEE          DONLEY                   NE          90013678390
218B5321284364   MARQUITA     MYERS                    SC          90013093212
218B54A315B531   LOUIE        APODACA                  NM          35081044031
218B554184B281   TIMOTHY      REZNICEK                 NE          90011565418
218B5584787B59   PAMELA       HUBBARD                  AR          90013465847
218B588757B699   TAMEIKA      STINSON                  GA          15090558875
218B5954457157   KOREY        OLEKSY                   VA          90013229544
218B6152672B98   SHAWNA       SKIPWITH                 CO          33044751526
218B617857B699   FONSECA      JACKSON                  GA          15085401785
218B626992B27B   LATONYA      THOMPSON                 DC          81015052699
218B6346331631   JORGE        LUNA                     KS          22072843463
218B714A151343   PATRICIA     HALL                     OH          66055971401
218B73AA591984   JOANNE       CANILLE                  NC          90013423005
218B761A787B59   NICKOLES     KEARNEY                  AR          90001086107
218B7694A4B281   HOOVER       FRANK                    IA          27013746940
218B8623A4B281   KARINA       MENDOZA                  NE          27076126230
218B887A231453   GELESHA      SIMS                     MO          90010088702
218B9117572B88   ELIZABETH    GARCIA                   CO          33062621175
218B9277187B87   EDWIN        WILLIAMS                 AR          90014112771
218B927818B17B   CERRISA      MADDERA                  UT          90011672781
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218B9437651369   CHRIS        MARTIN                   OH          66085804376
218B992397B449   JOSE         DIAZ                     NC          90013739239
218BB6A315135B   JUSTIN       DAVIS                    OH          66078236031
218BB83844B281   ALASHANTRA   WAITS                    NE          90005748384
2191112614B281   HERNANDEZ    FLORENTINA               NE          27039961261
219115A1791828   WILLIAM      TEDDER JR                OK          21086945017
21911A14555957   FELIPE       NUNEZ                    CA          48016960145
2191233A27B471   KWAME        BARBER                   NC          90014693302
21912362A87B87   ROBIN        ROBERTS                  AR          90010243620
2191242325B161   AYLA         PERKINS                  AR          90010684232
21912485A9189B   DON          JONES                    OK          90006034850
2191278319184B   ARIS         SHAW                     OK          90012917831
21912953572B88   ALEXIA       MACEDO                   CO          90014279535
21913118672B98   ELVIRA       AMBRIZ                   CO          90013421186
2191319277B471   WILSON       HERNANDEZ                NC          90014811927
2191337864B588   BRITTANY     SHINGLETON               OK          90013203786
2191347489184B   HUGO         LOPEZ                    OK          90012244748
2191375A691833   DONNA        WILLIAMSON               OK          90007077506
2191376297B471   SHATARA      WILLIAMS                 NC          90010897629
2191418785B571   ALFREDO      JIMENEZ                  NM          35092001878
2191423A681661   ALISHA       SLAUGHTER                MO          90014412306
219142A7581637   PAUL         BLATT                    MO          90009562075
2191448358B188   CHRISTINA    NOEL MORREIRA            UT          90009564835
2191572A52B27B   RAMONA       GASKINS                  DC          90012897205
21915A37191541   YVONNE       DELGADO                  TX          90012470371
2191629644B588   MARISSA      RODRIGUEZ                OK          90007552964
2191651958B17B   CHRIS        LAVATAI                  UT          90011675195
21916692472B88   DANAE        BASKALL                  CO          33067336924
2191742264B588   YUONNE       REUBENS                  OK          21557024226
2191819818B17B   FRANCISCO    HERNANDEZ                UT          31072491981
21918932A87B87   SCHETEINIA   BARKIA                   AR          90015429320
21919695987B59   TYNISHA      PARKS                    AR          23079226959
21919961A55957   IQNACIO      MURGUIA                  CA          48069989610
2191B33147B699   LUMMIE       DENT                     GA          15052003314
2191B47265B161   TIFFINI      BAKER                    AR          90009764726
2191B742881638   FRANCES      LEE                      KS          90010347428
2191B793872B35   BRIAN        ELLIS                    CO          90011107938
2191BA97791984   VANESSA      MCLEAN                   NC          90013930977
2192115A381637   JEREMY       GGARNER                  MO          90003831503
2192121115B531   CHRISTINA    BOOS                     NM          35087482111
2192168452B27B   JOSE         VAZQUEZ                  DC          81011976845
219216A127B449   RAMSEY       PLATT                    NC          90014876012
21921788A91828   MISTY        PEARSON                  OK          90008007880
2192221115B531   CHRISTINA    BOOS                     NM          35087482111
2192241719189B   PATRICIA     TAYLOR                   OK          21052754171
2192264119155B   TRINIDAD     MARIA                    TX          75042966411
2192347888B17B   JOSE         RODRIGUEZ                UT          90009284788
2192365A34B245   JOYCE        WELLS                    IA          90006576503
21924A4724B261   MIGUEL       CAMPOS                   NE          90001790472
21924A93172B88   RODOLFO      ALVARADO DIAZ            CO          33034580931
2192511515B571   NICHOLAS     CHAVEZ                   NM          90004841151
2192572645B161   DARA         MATHIS                   AR          90014937264
21925814A81637   LATASKA      PATTERSON                KS          29042398140
21926295972B98   NINA         HARBIN                   CO          90012952959
2192655789189B   KARLA        SANCHEZ                  OK          21049735578
21926A7A272B98   JACQUE       BERNAL                   CO          90013000702
21926A95381661   JAVIER       CUSTILLOS                MO          90015470953
2192719167B449   PATRICK      CUTTER                   NC          90013431916
2192786915B531   NICHLOUS     YANCEY                   NM          90013588691
21927991A74B97   YURI         ALFARO                   OH          90014529910
21928472172B42   ERIN         DOOLITTLE                CO          33064014721
21928647387B87   DANTRIONE    MIXON                    AR          90012266473
21928995172B88   RUTH NOEMI   PEDRO                    CO          33042169951
21928A6619155B   ALBERTO      TERAN                    TX          75093750661
21929162172B42   CHRISTINA    DAVIES                   CO          33047341621
21929166A5B167   KENISHA      PIPPINS                  AR          90013641660
2192929897B449   ISRAEL       VELASQUEZ                NC          11063492989
2192B22714B261   SHANEE       STRONG                   NE          90015172271
2192B372791984   CHERISS      WILLIAMS                 NC          90014813727
2193111317B471   DENESHA      SWEAT                    NC          90012181131
2193124199136B   ERICKA       SUAREZ                   KS          29098492419
2193188247B449   NA           NU                       NC          90014908824
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219318A9191828   CHRIS       MOSELEY                   OK          90004678091
2193198887B699   JENNET      HAMPTON                   GA          90010359888
219325A2A55957   RODRIGO     FRAUSTO                   CA          90010645020
21932832A91833   CHELSEA     CRABTREE                  OK          90007088320
21932A4217B699   MARKUS      HAMMONDS                  GA          15029170421
2193314A52B232   JAMES       LEE                       DC          90006951405
2193396815B167   FRANCIS     BODDEN                    AR          23097819681
2193449875B161   FELIPE      REYES                     AR          90015424987
2193453294B933   JESSICA     ROBINSON                  TX          90013785329
2193468145B161   ALICIA      LEE                       AR          90014896814
219347A5172B88   CRYSTAL     ROGERS                    CO          90015087051
2193567279184B   DEMETRIC    WHITE                     OK          90010966727
219357A8391241   JEFFREY     HARMON                    GA          90011957083
219359AA281638   SHANTI      MORGAN                    MO          90010959002
2193685134B281   ANN         BROWN                     NE          90001638513
219369A4A91828   TERRY       CLARK                     OK          21072839040
21936A65972B98   RIGOBERTO   SANTIAGO MEJIA            CO          90009960659
2193758A155957   BENJAMIN    DELGADILLO                CA          90012625801
2193763659184B   NANCY       ASHLOCK                   OK          90013326365
21938568A2B542   BEVERLY     ASHTON                    AL          90014425680
21938A91A81637   CHRISTY     BAILEY                    MO          90013890910
21939625724B55   JASMINE     CLARK                     DC          81053626257
2193B42767B699   DUANTA      CARROLL                   GA          15051494276
2193B575147952   JAMES       HUDDLESTON                AR          90013145751
2193B58897B699   KYLE        MARSH                     GA          90013535889
2193B761851343   BRUCE       JORDAN                    OH          90013207618
2193B987781661   SHARAE      TANNER                    MO          90010429877
2193BA29231631   JOHNNY      HOLLENSBE                 KS          22002010292
2194136554B551   MICHAEL     CHASTAINE                 OK          90010643655
2194136839189B   SHELANDA    FERGUSON                  OK          21084293683
2194138687B699   JEANETTE    CARTER                    GA          15030093868
2194194882B27B   DANIEL      FOXWORTH                  DC          90013339488
21941953A81638   EDDIE       PRYOR                     MO          29005129530
21941A58151343   NATHANIEL   GEER                      OH          90014650581
21941A9114B261   MILTON      CURRINGTON                NE          27072210911
21942252A72B98   CANDANCE    DENNIS                    CO          90005522520
2194235519189B   BRYAN       DALTON                    OK          90002133551
2194247635B271   LENORD      SMITH                     KY          90014674763
2194333A791241   BRIAN       MCDERMITT                 GA          90010963307
2194362285B161   FELICIA     ROCKINS                   AR          23025176228
2194366317B699   MARK        ROWCLIFF                  GA          15085466631
2194449A855941   LARRY       MILLER                    CA          49016544908
219448A7372B98   RONALD      BREWER                    CO          90012818073
2194512595B571   RENTERIA    PHILLIP                   NM          35093491259
2194514534B588   MEGAN       SEALE                     OK          90013581453
219451A7751343   JORGE       ESCOBEDO                  OH          90015181077
2194525157B449   JUAN        SOMMERVILLE               NC          11004392515
2194534A231453   VANESSA     MILLER                    MO          90014383402
219463A687B449   GWENDOLYN   FAVOURS                   NC          90013993068
2194657469155B   JESSICA     ALVARADO                  TX          90013945746
21946587172B42   CRYSTAL     LOZANO                    CO          90014155871
219474A7591828   ANTONIA     ARELLANO                  OK          21008834075
2194754A872B88   CARLOS      VILLANUEVA                CO          90006165408
21948138672B88   MIKE        BOND                      CO          33053121386
21948256687B59   MICHAEL     JOHNSON                   AR          90008432566
2194856778B17B   ANTONIO     ALFARO                    UT          90011675677
2194875AA91241   DOUGLAS     BOYKIN                    GA          90013987500
2194935482B27B   VALERIE     CROSS                     DC          90000623548
2194946629155B   LESLIE      WYCOUGH                   TX          90011404662
2194961734B588   SHARONDA    JONES                     OK          90012826173
219496A4957157   GERARDO     GALLEGOS                  VA          90013256049
2194B167755941   SANTOS      ESCALANTE                 CA          49031771677
2195149515B531   SABRINA     COLLINS                   NM          35026824951
21951AA6372B98   TAMI        PRENTISS                  CO          90001920063
21952A1295B33B   KARRA       DRUERY                    OR          90012200129
21952A76772B98   DONGHWA     YUN                       CO          90014860767
219531A384B588   KELLY       YANKEY                    OK          90001681038
2195336554B551   MICHAEL     CHASTAINE                 OK          90010643655
2195523987B449   CAILEE      LONG                      NC          90014152398
2195586315B167   JUAN        OLVERACASTRO              AR          90010968631
21955AAA25B531   VICTORIA    VASQUEZ                   NM          90013590002
219563A155B167   DAMIEN      MITCHELL                  AR          90012903015
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2195675A14B261   DAVID        DEBOLT                   NE          27021327501
21956868A72B98   MAGALI       RODRIGUEZ                CO          90011768680
2195732877B449   KRISTINA     RIZHKOVA                 NC          90015473287
2195776547B449   JOSE         SAVEDRA                  NC          90009047654
21957778472B88   JUDITH       BANENA                   CO          33035107784
2195794689189B   JOE          PRUITT                   OK          21097269468
21957A51181638   NACY         HERNANDEZ                MO          29054110511
21958279A85938   YESENIA      REYES                    KY          90011562790
21958329787B87   LATONIA      COUNTS                   AR          90005063297
21958A63A72B88   MARCY        LUJAN                    CO          33093630630
21958AA327B471   MARGARITA    GOMES                    NC          90012920032
21959193287B87   COURTNEY     MORGAN                   AR          90013901932
2195927914B281   WALTER       ALEXANDER                NE          90006622791
2195948A89189B   SUSAN        WRIGHT                   OK          90014704808
2195B459387B87   APRIL        CANNON                   AR          90010644593
2195B45A251343   SHERRIE      SIMS                     OH          90008504502
2195B63779189B   JORDAN       HENNY                    OK          90010036377
2195B659A91984   JUVENTINO    NOLASCO                  NC          90013936590
2195B74215B271   TAIWAN       JOHNSON                  KY          90011087421
2195B746591541   CHARLES      JONES                    TX          75053197465
2195B91775B161   LADONNA      WILLIAMS                 AR          23005879177
21961158687B87   BRIUNA       MOORE                    AR          90005441586
2196215195B161   MELINDA      MAHONE                   AR          90001541519
2196267614B588   KIMBERLY     THROWER                  OK          90014176761
219626A1331453   CHRISTOPHE   KAISER                   MO          90005056013
2196276369189B   PATRICK      FORD                     OK          21061507636
21962A8249136B   MARK         DEPRIEST                 KS          90009170824
2196386A82B27B   KIERA        PROCTOR                  DC          90012898608
21963A22A87B87   BILLY        BRUMLEY                  AR          90015550220
21964344A9155B   AGUEDA       GARCIA                   TX          75096183440
21964427972B88   TYSHANNA     WILSON                   CO          90012794279
2196513219155B   JULIA        RAMIREZ                  TX          75087781321
219652A939189B   BRITTNEY     LITTAU                   OK          90010982093
21965772A87B59   AALIYAH      MARTINEZ                 AR          90014197720
2196642A172B88   BERNARD      MESTAS                   CO          90011984201
2196695A82B232   MONAE        WOODS                    DC          90014069508
21966A57455941   GLEN         HARRIS                   CA          90004830574
219675A455B271   SHELLEY      BREWER                   KY          90011175045
21967944A55957   MELODY       NINO                     CA          48033109440
2196828729155B   MARIA        RODRIGUEZ                TX          90000552872
2196848755B167   CHRIS        POLK                     AR          90014704875
2196928984B261   SANDRA       MAYORGA                  NE          27077722898
2196953599155B   LUIS ANGEL   LUJAN                    TX          90001725359
2196B32685B167   JENNIFER     BURNETT                  AR          23078543268
2196B33A791984   JIMMY        ATKINS                   NC          90013713307
2196B443747952   HEATHER      MCALISTER                AR          90004704437
2196B45915B161   NORRIS       HOLLOWAY                 AR          23056604591
2196B563691541   CONTRERAS    CARELIA                  NM          90012295636
2196B885584364   SANDRA       MARTINEZ                 SC          90012158855
2196B95355B161   LAQUISA      MOORE                    AR          90013939535
2197135688B136   ERIKA        SALDIVIA                 UT          90006213568
2197145895B161   ELLA         HUMPHREY                 AR          23071694589
2197169A351343   WOMBLES      CHRISTOPHER              OH          90008536903
21971878272B98   EH           SHER                     CO          90014988782
21971A4824B588   STACI        HILL                     OK          21576710482
2197244677B449   TARIKA       HAYES                    NC          90004034467
21972A58372B88   MELISSA      HERRERA                  CO          90013220583
21972A85741245   WILLIAMS     RYONS                    PA          90001840857
2197313732B232   MELISSA      VENABLE                  DC          90015271373
2197332864B582   MIKE         ARAMBULA                 OK          90014363286
2197345532B232   MELISSA      VENABLE                  DC          90008204553
21973859A5B167   ANNA         HUDSPETH                 AR          90014338590
2197528A455941   EZEQUIEL     RUIZ                     CA          90012352804
21975711387B59   PAYGO        IVR ACTIVATION           AR          90014267113
2197587537B699   LASHAY       ALCORN                   GA          90000978753
2197626287B449   CARRIE       TAYLOR                   NC          90011092628
21976367187B87   KAVON        TOLDERT                  AR          90015253671
2197693359155B   DORA         TAPIA                    TX          90015109335
219769A8791984   KYLIE        PARKE                    NC          90010539087
21976A8A651369   JILL         BAKER                    OH          90005440806
2197724AA5B161   LINDA        CANADA                   AR          90013942400
219773A7372481   JASON        RICE                     PA          90014383073
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2197759A19155B   JESUS            ESTRADA              TX          75091925901
2197766562B232   OCTAVIA          COATES               DC          90013006656
2197822A157157   ALEXIS           LAZO                 VA          81012392201
2197825732B931   CARMEN           ESPINOZA             CA          45000832573
2197917425715B   YOLANDA          QUILES               VA          90001691742
219793A3857157   CHRISTINA        TSATSOS              VA          90007703038
2197949A82B27B   ROGER            LOCKE                DC          81011994908
21979539772B88   JOSE ROBERTO     NAVAS                CO          90012045397
21979632872B98   TRAVIS           YOST                 CO          90013446328
219797A794B281   MIRANDA          DAVIS                NE          90002387079
2197B16585B531   DAVID            PEREA                NM          90011571658
2197B18655B571   EDDIE            PENA                 NM          90009691865
2197B237961986   GERARDO          MORENO               CA          90010522379
2197B27837B449   ANABL            ARNA                 NC          90013962783
2197B3A8672B88   AERLENE          RAGSDALE             CO          90014443086
2197B58659155B   PATRICIA         ACEVEDO              TX          90013945865
2197B59132B94B   LYNETTE          BURKES               CA          45030015913
2197B652772B42   NONA             WARRIOR              CO          33032406527
2197B66A457157   KENYA YOLEBETH   ECHEVERRIA           VA          90009456604
2197B71117B699   TIPHANI          MILLER               GA          90010097111
2197B933541245   JOYCE            SCHARER              PA          90010519335
2197B944955957   ERICA            MACIAS               CA          90007219449
2198135285B531   LETICIA          RODRIGUEZ            NM          35087983528
2198153257B471   LUIS             REYES MADERA         NC          90011475325
2198178989155B   RAQUEL           CAMACHO              NM          90013967898
219823A1691541   JORGE            ACOSTA               TX          90009533016
219827A5457157   HUGO             GONZALEZ             VA          90009127054
21982A3794B588   SHANDALON        TAYLOR               OK          90010640379
2198527485B161   JUANA            LEDBETTER            AR          23074672748
2198565A541245   CHRISTINE        EVERETT              PA          90013256505
2198597422B27B   RENEE            DANIELS              DC          90007819742
2198648835B167   TACARRA          WRIGHT               AR          90013944883
21986514672B42   SHANNON          GONZALES             CO          90012585146
21986578472B42   ANGELA           MAESTAS              CO          90007545784
21986748172B98   VINCENTE         GONZALEZ             CO          90002077481
219867AA147952   THERESA          NOGAAR               AR          90008897001
21986AA397B471   KATHERINE        MILLER               NC          90012210039
2198731584B588   DUSTIN           ROLETTE              OK          90012473158
219873A9591984   GREG             MILLHOUSE            NC          90013943095
2198764435B167   MICHELE          LIGHT                AR          90014606443
21987A1225B161   DERRICK          PLUMMER              AR          90013940122
2198825177B699   AYANNA           HELLER               GA          90012412517
2198834755B531   PRISCILLA        DIMAS                NM          90013583475
2198938394B281   SARA             ANDERSON             NE          90014913839
2198949982B27B   DORRIE           CLAYTON              DC          90014344998
21989A86A2B931   JAMES            ALBRITTON            CA          90006540860
2198B152676B53   CHARLES          CLARK                CA          90013081526
2198B178891984   WILLY            CARDENAS             NC          90013941788
2198B23965B536   IVY              OKUNOR               NM          90001892396
2198B29674B588   EDITH            FLORES               OK          90010922967
2198B348A9184B   ANGELICA         OJEDA-BELLO          OK          90009033480
2198B42685B571   ESTELLE          GRANADOS             NM          90010484268
2198B662A91828   BOBBY            HOLMES               OK          90014116620
2198BA31872B88   LETICIA          MOLINAR              CO          33035200318
219913A5151343   JANUARY          WILLIAMS             OH          66028683051
21991718272B42   ROB              COLE                 CO          33050977182
21991A5644B261   DEBORAH          PRINCE               NE          27023030564
2199232515B531   ELSA             RUBIA                NM          90010373251
2199244685B161   MARY             WILLIAMS             AR          23016494468
2199249AA81637   MIRIAM           LOPEZ                MO          90004364900
2199251424B281   RANDI            CHRISTIANSEN         NE          27035735142
2199286AA9155B   ADRIANA          DURAN                TX          90012018600
21992934A72B98   DOLORES          QUINTANA             CO          33081449340
21992949976B67   ULISES           ARELLANO             CA          90002679499
21993213172B42   RACHEL MARIE     BLEA                 CO          90012332131
2199343173B333   ANTHONY          MATTEI               CO          90003954317
2199369855B161   CHANDRA          THOMPSON             AR          90015006985
2199375917B449   ANTWON           PATRICK              NC          90010407591
2199386719136B   WILBER           CHIGO                KS          29070048671
21994A28391881   SHANNON          MCGRUDER             OK          90010060283
2199534699155B   NYDIA            CARILLO              TX          90001453469
2199621625B271   STEPHEN          ALLEN                KY          90015112162
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219962A425B161   JHANTEL     NEAL                      AR          90009842042
2199634334B261   JUANA       WARD                      NE          27057013433
2199644697B699   ANISHKA     WILLIS                    GA          90002414469
21996A92355941   KESHAWNA    NELSON                    CA          90008500923
21997435672B88   ANTHONY     DAVIS                     CO          90012794356
2199774495B571   ROSA        PEREZ-ALARCON             NM          35052167449
219978A6755941   AIDA        CHANDLER                  CA          90014178067
2199819329155B   VICTOR      TORRES                    TX          90010491932
2199833554B588   ANGELA      RAMOS                     OK          90013423355
2199855714B261   TOLEDO      DOMINGO                   NE          27083805571
2199859159155B   TRACY       BROWN                     TX          90013945915
21999322A5B167   ANDREW      DAVIS                     AR          90014343220
2199985775B167   MICHAEL     FLYNN                     AR          90012518577
219999A3585865   PABLO       SALDANA                   CA          46052499035
2199B15899155B   CRYSTAL     HARDEMON                  TX          75014751589
2199B176191984   DENIS       GARCIA                    NC          90009771761
2199B42AA7B449   AMANDA      WILEY                     NC          90014874200
2199B89AA81637   CARLOS      HERNANDEZ                 MO          90015018900
2199B936876B53   VICTOR      CARMON                    CA          46007099368
219B139387B449   KELVIN      WALKER                    NC          90014873938
219B14A3691541   NORMA       GUAJARDO                  TX          90004404036
219B17A314B261   CHAD        NELSON                    NE          90014297031
219B1955947952   BUDDY       JOAENBERGER               AR          90014349559
219B2338687B87   JENEICE     KINLAW                    AR          90015423386
219B2553887B59   LESLIE      MAHONE                    AR          90004045538
219B2792A9184B   TAMANIKA    TAYLOR                    OK          90013747920
219B2828A85938   RANDY       LATHERS                   KY          90008598280
219B2932972B88   DAVID       BAKER                     CO          33088669329
219B297692B27B   IENIEALEM   LUULSEGHED                DC          90011499769
219B298377B471   MANUEL      VARGAS                    NC          90014769837
219B337A255957   PAUL        GARCIA                    CA          90015173702
219B3397881638   HECTOR      GUZMAN                    MO          90001153978
219B385947B699   LATOYA      DANIELS                   GA          15064518594
219B3A2514B245   STEPHANIE   GARCIA                    NE          90008000251
219B4328391984   MARISELA    ESPINOZA                  NC          90012153283
219B446937B382   TIN TIN     TUN                       VA          81017374693
219B4746591828   LORI        FOLEY                     OK          90011127465
219B497439155B   ELADIO      JAUREGUI                  TX          90004659743
219B5118591528   JASON       JAMES                     TX          90004041185
219B517869155B   CLAUDIA     PEREZ                     TX          90010491786
219B536A45B36B   RAYMOND     SIMPSON                   OR          90001953604
219B5388691241   ZAQUEL      LAWRENCE                  SC          90012063886
219B53A255B161   PAMELA      ROBERTSON                 AR          23006343025
219B5415572B88   BRENDA      CHAVIRA                   CO          90012794155
219B55A339136B   BENJAMIN    POWELL                    KS          90011235033
219B561435B271   ARISLEDYS   CASTELLANOS               KY          90010956143
219B57A7A2B27B   WENDY       LEWIS                     DC          90012897070
219B599167B699   MICHAEL     LOHE                      GA          15033819916
219B59A879184B   DIANA       SANTIBANES                OK          21079599087
219B6279381661   RENEE       CORNELL                   MO          90007622793
219B6485891541   FELIPE      RODRIGUEZ                 TX          90013344858
219B6652891984   CALANDRA    MCLEAN                    NC          90013706528
219B6812591984   CALANDRA    MCLEAN                    NC          90013978125
219B695795715B   FARHAD      TAHMASEBI                 VA          81037529579
219B7284181638   JAMIE       WEST                      MO          29094112841
219B7567947965   MARILYN     PARMENTER                 AR          90013335679
219B764149155B   EVA         DURAN                     TX          90014516414
219B7816784364   DAQUANA     EASLEY                    SC          90014188167
219B786A557157   HUSINA      AZAMY                     VA          90014898605
219B7A42931631   ELIZABETH   ZIMMERMAN                 KS          90000850429
219B7A5435B167   JAIME       SMITH                     AR          90013780543
219B817459184B   CORAIMA     LOPEZ                     OK          90014961745
219B8342A5B161   WHITNEY     NEELY                     AR          90007033420
219B847447B423   LAKETHA     COWAN                     NC          90014034744
219B867425715B   LINDA       CARABEZ                   VA          81009936742
219B9331424B55   DANBER      KAMI                      DC          90012633314
219B9816784364   DAQUANA     EASLEY                    SC          90014188167
219B9867587B87   ERIKA       TRICE                     AR          90015068675
219B9A5435B167   JAIME       SMITH                     AR          90013780543
219BB19867B471   TONIA       GIST                      NC          90004101986
219BB3A9831631   ROBERT      PALNAU                    KS          90014863098
219BB57215B271   DIANA       CAMO                      KY          90013655721
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219BB585A9184B   LISA          PORTER                  OK          90015125850
219BB643881637   JOHNNY        MCCURRY                 MO          90013506438
219BB677672B98   MISTY         RIEDESEL                CO          33099776776
21B1119927B699   RACHEL        DAUN                    GA          90006841992
21B1149669189B   STEVEN        GRAY                    OK          90011234966
21B1174245B571   LORI          SANDOVAL                NM          90009767424
21B1183169136B   JULIA         GARCIA                  KS          90014988316
21B11898447952   ALICE         MILEY                   AR          90014758984
21B11A8759184B   BOBBY         MARTIN                  OK          90008980875
21B13142487B59   PAYGO         IVR ACTIVATION          AR          90014511424
21B13955855957   ALBA          PEREZ                   CA          90012339558
21B13A1A531631   FAITH         BARROWS                 KS          90006600105
21B13A5188B17B   JOE           PURKISS                 UT          90014880518
21B1416262B232   ASHLEY        HAYNES                  DC          90012751626
21B14371A91541   SARAH         HERNANDEZ               TX          90013983710
21B1455359136B   CARLOS        RAMIREZ                 KS          29063825535
21B1458A49184B   TRAVIS        PEARSON                 OK          90003055804
21B14843A4B588   LORA          HALL                    OK          90011488430
21B14856791541   JAVIER        ZEPEDA                  TX          90012588567
21B14892687B59   MICHEAL       SCOTT                   AR          90006738926
21B1515885B167   MICHELLE      MCNEELY                 AR          23081371588
21B15239372B98   CHRISSY       JOHNSON                 CO          90000742393
21B15273881661   LOURDES       SALAZAR                 MO          29010532738
21B15276572B42   JOHNNIE       VELASQUEZ               CO          90001892765
21B15764A91942   LYDIA         JAMES                   NC          90009407640
21B15A78741245   DANA          HILL                    PA          90004740787
21B16119957157   EDGAR         SAENZ                   VA          90012211199
21B1628187B471   ALEXANDER     STUTTS                  NC          90012142818
21B1631319794B   JOSE          HERNANDEZ               TX          90002163131
21B16898447952   ALICE         MILEY                   AR          90014758984
21B1731A881661   DANIEL        MORALES                 MO          29009793108
21B1768542B232   JAMES         THOMAS                  DC          90012536854
21B1787154B261   CANDICE       EVERETT                 NE          27096728715
21B17A33691833   MARCUS        WHITED                  OK          90005790336
21B1814A991528   MARIA         VEGA                    TX          90003361409
21B1823762B27B   MARVIN        MENJIVAR                DC          90009492376
21B182A3247952   ARETHA        SHERILL                 AR          90014832032
21B1834A89155B   IRMA          GONZALEZ                TX          90002333408
21B184A6A31453   AMBERR        ROBINSON                MO          90014564060
21B18719687B59   RODRIA        OBRYANT                 AR          90011637196
21B1872437B275   SUSAN         MCGRANE                 AZ          90008817243
21B18A1544B588   JAREE         PRIM                    OK          90011200154
21B19229172B88   KENNETH       SYMONS                  CO          90012782291
21B1925A591241   FREDERICK     AUSTIN                  GA          90009452505
21B19356181637   MARY          DAVID                   MO          29011703561
21B19382151343   ADRIANNA      RANDLE                  OH          90011003821
21B19456491828   PEGGY         RAMOS                   OK          21027044564
21B19686187B59   KIMBERLY      SCARVER                 AR          90014806861
21B1972277B471   NANCY         BADAY                   NC          90009127227
21B1B584431857   ANGEL         MANUEL                  LA          90015415844
21B1B6A549184B   MONICA        EWALDT                  OK          90012306054
21B1B926491541   ANNETTE       ZAMUDIO                 TX          75034809264
21B2121585B271   KELLI         HAMPTON                 KY          90014602158
21B21767272B88   JUDY          FEARHEILEY              CO          90006957672
21B2188A291984   LEXI          BLACK                   NC          90015608802
21B2193415B167   THERESA       WRIGHT                  AR          90010639341
21B219A347B699   PHELLIZZAYA   MARTIN                  GA          90012999034
21B21A94687B87   JEREMY        JONES                   AR          90014080946
21B22623357157   HENRY         CABRERA                 VA          81069366233
21B22A2999152B   MARIANA       CHAVEZ                  TX          90012370299
21B23173A47952   MELISSA       CRAIG                   AR          90012871730
21B2319A64B281   JOSE LUIS     JAUREGUI                NE          27066331906
21B2323A672B88   ISABEL        HERNANDEZ               CO          90012782306
21B2327689189B   CASSANDRDA    GREGORY                 OK          90008452768
21B2329822B27B   JASMINE       WILSON                  DC          90012872982
21B23514931453   LATASHA       PEOPLES                 MO          90003845149
21B236A9957121   MICHAEL       WYATT                   VA          90008156099
21B2386A44B588   KAREN         MARTIAN                 OK          90009148604
21B23A32371925   JEANETTE      VIALPANDO               CO          90004020323
21B2416835B271   DEBRA         BAKER                   KY          90014631683
21B2422A74B588   LAKIESHA      HALL                    OK          90009582207
21B2432139155B   ROBERTO       ARELLANO                TX          90012513213
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21B2435A585955   LESTER        CLARKSON                KY          90007833505
21B2447229184B   MINDY         BARNETT                 OK          21084394722
21B24537772B88   MELISSA       MORENO                  CO          90003415377
21B24AA1572B98   HEIDI MARIA   SARACINO                CO          90013970015
21B2514535B161   TANYA         HARRIS                  AR          90014811453
21B254A6757157   JULIO         CHICAS                  VA          81016714067
21B2557799184B   BETTY         LOCKETT                 OK          21032395779
21B26131191589   LOURDES       ORTEGA                  TX          90008341311
21B26647387B87   DANTRIONE     MIXON                   AR          90012266473
21B26853691828   JESSICA       GOURLEY                 OK          21005128536
21B26A47355957   RAFAEL        HERNANDEZ               CA          90006040473
21B2748A941B7B   DAWN          BRADLEY                 NC          90009754809
21B27628991241   RICHARD       SLEMMONS                GA          90011856289
21B27699191984   ADALINDA      FLORES                  NC          90012746991
21B27699277576   MARICARMEN    ROSIL- AGUIRRE          NV          90011056992
21B2851A75715B   LETICIA       BARRERA                 VA          90001855107
21B2896284B541   TRYSTIN       ROGERS                  OK          90009179628
21B29173A72B98   LAUREN        TREJO                   CO          90014671730
21B2949858B334   REINA         DE LOPEZ                NC          90011924985
21B29658193767   SHANNON       CAMPBELL                OH          90012826581
21B29713161877   EXPEDIT       ELOI YEYE EKWEY         MO          90012777131
21B2B135184364   MARIA         DAVILA                  SC          90013951351
21B2B1A2491583   MELISSA       GUERRA                  TX          75064031024
21B2B762991241   IMARI         SUNKINS                 GA          90014587629
21B3183475B571   MONICA        WALSH                   NM          90011278347
21B31889587B59   BYRON         EVANS                   AR          23074808895
21B32444181661   REYNARD       ZWEIFEL                 MO          29084094441
21B32593A55941   MARIA         OROZCO                  CA          49064315930
21B325A875B271   PRESTON       EDWARDS                 KY          68013645087
21B3273929189B   APRIL         BEARSHEAD               OK          90013507392
21B3283994B564   FERNANDO      HERNANDEZ               OK          90006218399
21B3285157B699   AUBREY        TRUMAN                  GA          90014798515
21B3316484B281   KELLY         PETERS                  NE          27061421648
21B3317245B271   CANDICE       SMITH                   KY          90014631724
21B3321122B975   MARGARITA     CARRAZCO                CA          90002482112
21B3356897B449   FELICIA       FOX                     NC          90010985689
21B3358A272B98   DILLION       MITCHELL                CO          90013955802
21B33718793773   STEPHANIE     BELKO                   OH          64557187187
21B34186272B88   BEN           CORDOVA                 CO          33089591862
21B3442828B17B   JENNIFER      BECKSTRAND              UT          90011654282
21B3489674B261   ZELANY        YOUNG                   NE          90011878967
21B34A19891241   DEBBIE        BYRD                    GA          90010310198
21B34A9669189B   VICTOR        RODRIGUEZ               OK          21030170966
21B35119957157   KELSEY        FISHER                  VA          90012831199
21B35489155957   CIPRIANO      JIMENEZ                 CA          90013854891
21B35634291352   MARIA         HOWARD                  KS          90002596342
21B35727872B98   JOAQUIN       FRANCO                  CO          90012337278
21B3658339184B   JACQUELINE    BOJORQUEZ               OK          90011165833
21B3669969794B   SHERRY        CHAPPEL                 TX          74013816996
21B36727872B98   JOAQUIN       FRANCO                  CO          90012337278
21B36893872B88   ALEJANDRO     GUZMAN                  CO          33041668938
21B371AA82B232   TAMMY         TERREL                  DC          90014801008
21B3739315B271   BILL          FRYE                    KY          90009513931
21B37447451369   DANIEL        STURGILL                KY          90001244474
21B38114591528   ROSA          ATIYA                   TX          75068201145
21B3812579189B   MARIA         RODRIGUEZ               OK          90001001257
21B3851314795B   STARLETTA     MORRIS                  AR          25072365131
21B3878649136B   COREY         FITZGERALD              KS          29020317864
21B3892A584364   FELECIA       CHAMPAYNE               SC          90011449205
21B38A3535B571   SERGIO        AGUILAR                 NM          90004360353
21B38A98885636   GABRIEL       BARRIENTOS              NJ          90012730988
21B3917859155B   NADIA         NEVAREZ                 TX          75033751785
21B3928AA51343   JEFF          ROBINSON                OH          90014342800
21B39488887B59   YVONNA        ALEXANDER               AR          90011094888
21B3B28A39189B   ALISHA        WORCESTER               OK          90008452803
21B3B61425715B   RUTBELIA      MERAZ                   VA          81028866142
21B3B74245B531   NELENTINO     HARDY                   NM          90013537424
21B3B983351343   CHAD          FLUSHER                 OH          90014559833
21B41218891589   ENRIQUE       GARCIA                  TX          75069752188
21B41287481637   KRISTEN       DIVEN                   MO          90013572874
21B41A33972B42   EDWARD        CANPOS                  CO          90013820339
21B42235651353   KRISTINA M    JACKSON                 OH          90003272356
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21B4255A98B17B   CHAVEZ      EVELIO                    UT          90009775509
21B42857771945   ARNOLDDO    ALVAREZ                   CO          90011168577
21B43178791541   YVONNE      MARTINEZ                  TX          90005361787
21B43184451343   CHRIS       CONWAY                    OH          90005531844
21B4377252B232   DIAMOND     WILSON                    DC          90010847725
21B43788755941   MELODY      BERLINSKI                 CA          90014157887
21B44672772B88   HA          HKAWN                     CO          90013396727
21B4474975B531   JOSE        JUAREZ                    NM          90013537497
21B44993A5B571   LILLIANA    RODRIGUEZ                 NM          35023049930
21B455A8A9794B   JUAN        BAUTISTA                  TX          90005665080
21B45756357157   FRANCISCO   CARCAMO                   VA          90012567563
21B4621915137B   ROBERT      PARROTT                   OH          66047692191
21B4631237B699   RANDAL      GIBSON                    GA          90012853123
21B4639634B588   DANA        BLACKWELL                 OK          21593983963
21B47167657157   ELVIRA      MEZA                      VA          90006351676
21B47194572B88   DORA        AMBOURN                   CO          90015201945
21B47235672B88   JEANNIE     BROWN                     CO          90012782356
21B4723839136B   ELVIS       SANDOVAL                  MO          90014712383
21B478A8133126   GARCIA      GARCIA                    NM          90014068081
21B47924787B59   SABINA      NUCI                      AR          90013559247
21B4828855715B   YIRGALEM    BOKA                      VA          81029662885
21B48326955957   JUAN        LOMELI                    CA          90011263269
21B48515172B25   DEMETRICE   CALDWELL                  CO          90011025151
21B48625143523   JENNIFER    FRANCHINA                 UT          31046636251
21B4928425B271   NICOLE      HAMLET                    KY          90014632842
21B492A8157157   HERBERTH    AMAYA                     VA          90001972081
21B4933125B571   CECILIO     HERNANDEZ                 NM          35031713312
21B49562491541   ANNA        HIDALGO                   NM          90014645624
21B49A9325B531   DOREIN      REGGARO                   NM          90001970932
21B4B41A39189B   MATHEW      EMANUEL                   OK          90009994103
21B4B568272B98   MELVIN      MOSLEY                    CO          90013955682
21B4B76A191528   IRMA        DELGADO                   TX          75092147601
21B4B971A84364   MANESA      BLACKMON                  SC          90011499710
21B4BA41224B55   BRITTNEY    HAWKINS                   DC          90010890412
21B51142A57157   EDGAR       CASTRO                    VA          90013821420
21B5117152B232   LESLIE      ABBOTT                    DC          90013951715
21B512A7884364   AMBER       FERGUSON                  SC          90011112078
21B51969872B42   DAGOBERTO   GONZALEZ                  CO          33020129698
21B52424887B87   PAYGO       IVR ACTIVATION            AR          90013704248
21B5257365B161   JORGE       HOFFMAN-CASTILLO          AR          23097145736
21B5281168B17B   KRISTI      ATKINSON                  UT          31073208116
21B5296A455957   SAMANTHA    HAMILTON                  CA          90007969604
21B532A2751343   TRISSA      GREEN                     OH          90013092027
21B536AA92B27B   CECILIA     CREW                      DC          90014306009
21B53AA2141245   MONIQUE     STEPHENS                  PA          90014730021
21B54172691528   SARAH       MEDINA                    TX          90011051726
21B54332791984   SARAH       JOHNSON                   NC          90012333327
21B54383172B98   TIM         ALEXANDER                 CO          90005893831
21B54614391541   ADAN        CONTRERAS                 TX          90011766143
21B54986781661   PAYGO       IVR ACTIVATION            MO          90010079867
21B54A1399184B   BILLIE      REID                      OK          90013210139
21B5576169184B   DON         GRIFFIN                   OK          21002047616
21B56495655941   JORGE       LAZO                      CA          90000664956
21B56572355957   NOLA        COLLINS                   CA          48088475723
21B5659155B571   SARAH       PIKE                      NM          35067525915
21B56699691541   IRMA        LEWIS                     TX          90013326996
21B5764859155B   FELICITAS   CAMACHO                   TX          90010266485
21B5794419794B   ANDREA      CARTER                    TX          74089529441
21B579A675B176   WENDIE      NOWOTNEY                  AR          90011499067
21B5816569184B   MARK        SHANNON                   OK          21041551656
21B582A9655957   GUADALUPE   CASTILLO                  CA          90014812096
21B5844492B27B   TIFFANY     DYSON                     VA          81014634449
21B59242684364   SHONNIECE   BRELAND                   SC          90013952426
21B5926AA31453   RANDY       HARMON                    MO          90000662600
21B5931A891522   SAMUEL      QUINTANAR                 TX          75043123108
21B59548481637   VICKY       LAMP                      MO          90014525484
21B59585191241   RICARDO     BRIGHT                    GA          14507815851
21B5977A39155B   GWENDOLYN   GUADALO                   TX          90014427703
21B5B34264B588   ELIZABETH   MONTELONGO                OK          90012743426
21B5B374572B42   ENRIQUE     RODRIGUEZ                 CO          33012113745
21B5B38589189B   CHANDA      ELYSSE                    OK          90013963858
21B5B416257157   MICHEAL     CHAMBERS                  VA          81084304162
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21B5B779A8B17B   RICARDO      SANCHEZ                  UT          31038287790
21B5B81735B531   JENNIFER     NANEZ                    NM          90010798173
21B5B829285938   RICO         MARKS                    KY          90005518292
21B5B84394B281   AYIVI        GUILLAUME                NE          90014238439
21B5B86119794B   FELIPE       HERNANDEZ                TX          74059758611
21B5B975191583   HECTOR       SOLORZANO                TX          75064919751
21B5B997187B59   LATONYA      COLEMAN                  AR          90004019971
21B6127A284364   ABRAHAM      PEREZ                    SC          90013952702
21B61314887B87   BRIANA       NEWBORN                  AR          90013113148
21B61911A4B281   ANA          RODRIGUEZ                NE          90010019110
21B6275995B161   JENNIFER     SIMPSON                  AR          23062517599
21B6344629184B   CARL         CHANCELLOR               OK          90013254462
21B6345A691984   MARQUES      SWANN                    NC          90013434506
21B63571172B98   JEFFERY      TAYLOR                   CO          90013955711
21B6384A75B161   BERNADETTE   NAJI                     AR          90014728407
21B63AAA591541   JULIAN       ESTRADA                  TX          90012470005
21B64777185938   ROBERT       DURHAM                   KY          67053187771
21B6487397B699   JOYCE        YARDE                    GA          15078888739
21B65467172B88   ERIK         VILLEGAS                 CO          33081584671
21B6568135B531   LARA         MASCAREINAS              NM          90009256813
21B65687185938   MAVE         NDJANGOSI                KY          90011056871
21B65787A4B588   MOISES       ALANIS                   OK          90001677870
21B65838191541   GEORGIA      ACOSTA                   TX          90012478381
21B65991151343   STEPHANIE    OHLINGER                 OH          66077359911
21B65A95A47952   MARTESHA     KING                     AR          90014970950
21B66171A93773   RENEE        BRITT                    OH          64557721710
21B66365A87B21   ASHLEY       BASS                     AR          90011233650
21B66418A4B588   BRENDA       DELIA                    OK          90012424180
21B6653349189B   ROSA         LUNA                     OK          90010275334
21B66571272B98   SABINO       REYES                    CO          90013955712
21B666A169136B   HENSSER      CONTRERAS                KS          90014996016
21B671A1A84364   BERNARD      BURGESS                  SC          19050411010
21B671A2872B98   TANYA        DEL VALLE                CO          33038671028
21B6756515B167   SHELTON      HARVEY                   AR          90012245651
21B6769749136B   WALTER       FERNANDEZ                KS          29015876974
21B679AA331631   GAY          BRYANT                   KS          90006959003
21B6821645B167   KAMBRI       LAMBERT                  AR          90014612164
21B6856372B27B   MICHAEL      MCMILLAN                 DC          90011015637
21B6876554B588   VIVIANA      CASTILLO                 OK          21590597655
21B688A6155957   ESMERALDA    ACERO                    CA          90010188061
21B68A7894B261   COCO         VALENTINE                NE          90015420789
21B6931182B27B   DAVITA       BROWN                    DC          90012873118
21B69577272B98   JOSE         VIGIL                    CO          90013955772
21B69994655957   JUSTIN       HARVILL                  CA          90012319946
21B69A7584B588   TRACEY       BAPTISTE                 OK          90009570758
21B6B21719155B   GWENDOLYNE   ARAMBULA                 TX          90013942171
21B6B691731453   BENJAMIN     ORIS                     MO          27559306917
21B71236157157   FREDY        MARTELO                  VA          81017292361
21B7125449189B   ANTONIO      MACHADO                  OK          90013672544
21B7158284B281   TYREE        FANNING                  NE          27091165828
21B7178695B571   JOHN         BRITO                    NM          35087787869
21B71793551343   TESSA        BROWN                    KY          90011147935
21B7185147B699   SHUNDRA      EVANS                    AL          90009318514
21B71A1445B531   KYLE         HAZEN                    NM          90013540144
21B72268891241   NATASHA      FIELDS                   GA          14588832688
21B7296844B261   SURE         KABAK                    NE          90015129684
21B7297459184B   TOM          LAVINESS                 OK          21001889745
21B73549772B25   DAVID        MONTOYA                  CO          90003545497
21B73682372B98   ERICA        MCWHORTER                CO          90011756823
21B7371774B588   REGINA       ALEXANDER                OK          90011067177
21B7382994B261   FRANCES      WALKER                   NE          90015188299
21B73979991528   MARISELA     MARINES                  TX          90002089799
21B73A77191541   JESUS        GARCIA                   TX          90011070771
21B74354691828   DAVA         PRICE                    OK          21092453546
21B7436982B27B   MICHELLE     LAKE                     DC          90014533698
21B7464179155B   ROBERTO P    BENITEZ                  TX          90014956417
21B7472359136B   ASHLEY       HOBBS                    KS          90006797235
21B74976687B87   LOMINA       ELIO                     AR          90015439766
21B74A1514B281   ANTHONY      NOAH                     IA          90011070151
21B74A6A691541   LIZ          VELASQUEZ                TX          75074430606
21B75428791984   HECTOR       PESINA                   NC          90015304287
21B75478972B42   THOMAS       TRUJILLO                 CO          90012084789
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21B75946787B59   FELIX               ROUSE              AR         23005689467
21B75968291828   BARBRA              BERGMAN            OK         21045589682
21B7616234B245   SHAWN               TWOREK             NE         90013051623
21B7631522B27B   JUANA               LAZO               DC         90008553152
21B77197591227   STEPHANIE           LARCK              GA         90005371975
21B77487161999   JOSE RUBEN          BERMUDEZ HERRERA   CA         90013904871
21B7814AA87B21   EDDIE               FORBES             AR         90007271400
21B7847969136B   MELISSA             CLARK              KS         90009644796
21B7869257B471   JESSICA             PLESSNER           NC         11069676925
21B78A4415715B   GREGORIO            ROMERO             VA         90006540441
21B792A5731453   GERTRUDE            SHUMPERT           MO         90006902057
21B7931472B27B   JULIAN              BUCKNER            VA         81095983147
21B79842241245   JUSTIN              DAWSON             PA         90012508422
21B79859291541   ANTONIA             OCHOA              TX         75054978592
21B79868147946   GEORGETTA           TITCHENELL         AR         90005638681
21B79918431645   MEGAN               MURRY              KS         90013119184
21B79A22491984   MARIE               REAVES             NC         90013350224
21B7B1A5A4B588   CHRISTOPHE          GREEN              OK         21587451050
21B7B21719155B   GWENDOLYNE          ARAMBULA           TX         90013942171
21B7B239172B88   ASAHEL              AGUAS              CO         90012782391
21B7B31712B27B   RUTH                MANGUM             DC         90012873171
21B7B748172B98   VINCENTE            GONZALEZ           CO         90002077481
21B7B929791828   SHONNA              STEVENSON          OK         90012639297
21B8114935B536   LUIS                SANCHEZ            NM         35072521493
21B81272491541   EDDIE               CORRAL             TX         75054042724
21B8134912B232   KIMBERLY            MCCANTS            DC         90010463491
21B8139693B391   CATHY               BITTLER            CO         90013243969
21B82155491541   MARIO               LOPEZ              NM         90011521554
21B8264389155B   VERONICA            TORRES             TX         90014006438
21B82891541245   SHAQUILLE LAMONTE   SMITH              PA         90011238915
21B83238255941   AMANDA              MANESS             CA         90013732382
21B8324114B261   APOLINAR            JIMENEZ            NE         27075732411
21B8345247B699   TOMETO              WILLIAMS           GA         90014384524
21B834A2247952   SARA                BROWN              AR         90000954022
21B83774941261   MICHELLE            THOMAS             PA         51064757749
21B83A1854B245   DARRELL             PERDUE             IA         90011740185
21B84176991541   EDDY                ZAYAS              TX         75082311769
21B842A9A9155B   VICK                CASTA              TX         90013942090
21B84314431631   ULISES              DOMINGUES          KS         90010943144
21B8433372B27B   JOHN                SPEARS             VA         90012873337
21B84367531453   PRINCESS            TAYLOR             MO         27563503675
21B8462314B245   SHAY                ROHRBERG           IA         27005226231
21B8464369136B   ANA                 GARZA              KS         90014996436
21B8473695B344   BRUNO               CANCINO MARTINEZ   OR         90013277369
21B84751981637   AMBAR               LARA               MO         90007297519
21B84868147946   GEORGETTA           TITCHENELL         AR         90005638681
21B84922484364   PAYGO               IVR ACTIVATION     SC         90014219224
21B84943541245   GLENNIE             MARTIN             PA         90012189435
21B85561881661   WENDY               JOHNSON            MO         90003035618
21B85595287B87   JASON               LONG               AR         23052355952
21B85688985938   ANGEL               BULLOCK            KY         90005126889
21B85A32372B98   PERLA               VILLEZCAS          CO         90014110323
21B86423631857   MONICE              YOUNG              LA         90015384236
21B86475931631   JUDY                GLOVER             KS         22095604759
21B8677599155B   CHARLIE             SANDOVAL           TX         90008507759
21B87132391828   GREG                COLON              OK         90014421323
21B8737615B571   T                   MARTIN             NM         90008453761
21B87481A9189B   JUSTICE             DODSON             OK         90013914810
21B87484985639   MIGUEL              JIMENEZ            NJ         90010464849
21B87489181637   CLARINDA            SAYRE              MO         29011004891
21B8754A991984   ALLEN               LONGMAN            NC         90014055409
21B879A4A4B588   JOSEPH              RICHARDSON         OK         21550369040
21B88399972B88   BRIAN               ATCHISON           CO         90014563999
21B88A15487B59   TARISHA             MOSS               AR         90013040154
21B8911A331631   ANNA MARIA          MARTINEZ           KS         90012081103
21B89132A51343   MARLLOW             HAWARD             OH         90010471320
21B89149191528   LUIS                GARCIA             TX         90004241491
21B89253A87B59   GERTRUDE P          PRICE              AR         90009662530
21B893A8691984   KYSHA               TOWNSAND           NC         90015603086
21B89423172B98   LETICIA             LORENZO            CO         33019644231
21B894A542B27B   SHAWN               BEECHER            DC         90011754054
21B8977219155B   ALEXIS              ESCARCEGA          TX         90013967721
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21B898A8A9155B   MINERVA             ALVAREZ           TX          90013048080
21B8B536981661   AMY                 UNGER             MO          90014625369
21B8B62652B232   STEVEN              HOLIDAY           DC          90012916265
21B8B726787B87   HEATHER             KIRKPATRICK       AR          23058417267
21B8B7A539794B   CHRISTOPHER         GREEN             TX          90009867053
21B8B89625B161   MICHAEL             COX               AR          90005178962
21B91283A5B167   JACQUELINE          ROSE              AR          90003862830
21B9183917B699   DANISHA             GIRER             GA          15044108391
21B9187314B588   REBECCA             FRENCH            OK          90000378731
21B92412731453   TIERRA KEITH        STRONG ASKEW      MO          90013484127
21B92533172B42   SERGIO              DIAZ-MORENO       CO          33062275331
21B92997A4B588   TAKOYA              LAWSON-SIMPKINS   OK          90013599970
21B93437491541   SANDRA              ESCOBEDO          TX          90010814374
21B93691991541   ISABEL              MURILLO           NM          90010226919
21B93815972B88   STEPHANIE           BIRELY            CO          33036278159
21B9391A493727   MELISSA             BAKER             OH          90006509104
21B9418299184B   LAINE               FIELDS            OK          90010641829
21B9421377B449   ANTHONY             WATSON            NC          90013922137
21B94228731453   DEJA                SHELBY            MO          90012182287
21B9448559189B   JAYME               WARD              OK          21090344855
21B94787657128   ABIBATU             SESAY             VA          81052987876
21B94841191541   APRIL               DELGADO           TX          90011328411
21B94894A72B42   ROGELIO             MOLINA            CO          90010308940
21B95496485938   SCOTT               WALKER            KY          67080034964
21B95563191828   BRANDI              YOUNG             OK          21065345631
21B95569284364   ASHLEY              FERGUSON          SC          90014885692
21B9562112B27B   WALTER              MARTINEZ          VA          90011486211
21B9578A74B281   GATKUOTH            AGANOS            NE          90011177807
21B9619798B17B   ANAA                IZARRARAZ         UT          90007061979
21B96744A31453   ALICIA              COMMON            MO          90015137440
21B9688952B232   JAMES               MORELAND          DC          90008738895
21B9716A472B31   GLENNIS             WYATT             CO          33021941604
21B974A424B58B   SYLVIA              MEADOWS           OK          90008744042
21B97954A93773   ROBIN               ELAM              OH          90006559540
21B97A69272B98   CARLOS              PRADO             CO          33040810692
21B9816394B588   PAIGE               MAUK              OK          90013551639
21B98227957157   WORKU               KEBEDE            VA          90014872279
21B989A424795B   KIMEY SUE           GRAY              AR          90001059042
21B99124547952   OSCAR RENE          COLOP CHAVEZ      AR          90004701245
21B9914557B699   ADDILEE             JACKSON           GA          90008941455
21B99228787B59   JASMINE             JONES             AR          90013622287
21B99413A5B167   ANTONE              JONES             AR          90005694130
21B99786272B98   ALLAN               GUTIERREZ         CO          90012707862
21B99975641245   NICOLE              MUSHINSKY         PA          90013639756
21B99A95791541   MANUEL              TALAMANTES        TX          90014900957
21B9B51133B185   REGINA              FORD              VA          90008165113
21BB124A89189B   GREGORY             CICHON            OK          90008452408
21BB1789491541   LAWERENCE           STOKES            TX          75087037894
21BB1A29191589   JUAN                GONZALEZ          TX          90009520291
21BB2181793727   CHRISTINA           SMITH             OH          90013961817
21BB2312881637   JORJE               OLGUIN            MO          90012183128
21BB2481981637   JORJE               OLGUIN            MO          90014434819
21BB254115B571   FAITH               MONTOYA           NM          35027055411
21BB2838591833   TONI                GAINES            OK          90011288385
21BB2845A7B471   LUCIA               DE LA O           NC          90014408450
21BB341717B471   SHANTERIA FINCHER   ANTHONY BEACHEM   NC          90014824171
21BB3599987B59   ISIDORE             DANIELS           AR          23042495999
21BB378A27B449   TRACY               STEWART           NC          11092057802
21BB437A593773   HOLLY               ANDERSON          OH          90006333705
21BB468815B167   THOMAS              WILLIAMS          AR          90010466881
21BB4753A9189B   DECOTA              JACKSON           OK          90013507530
21BB4776347952   LEO                 HUNT              AR          90013387763
21BB4953747952   LEO                 HUNT              AR          90013399537
21BB495895B161   TELA                OWENS-GREEN       AR          90009889589
21BB554199155B   PAOLA               TREJO             TX          90009705419
21BB565495B531   DOMINIC             TENA              NM          90013536549
21BB5965751343   JESSICA             GENTRY            OH          90009179657
21BB6268272B88   KATHRYN             CLYMO             CO          33013212682
21BB6352655941   APRIL               GONZALEZ          CA          90013063526
21BB671979189B   ANGELA              ABEL              OK          21040777197
21BB6798691541   BLANCA E            MIRANDA           TX          75069607986
21BB6821831453   TENNILE             SANDERS           MO          90001688218
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21BB695A47B699   BRITTNEY          CALDWELL            GA          15029409504
21BB698A55B161   CHERYL            FREEMAN             AR          23090619805
21BB7266487B87   CHRESHUNDA        MCGHEE              AR          90000142664
21BB7516191541   LORENA            MENDOZA             TX          90014695161
21BB756249184B   BRITTANY          ROOTHAME            OK          90006175624
21BB764587B471   BENJAMIN          DRAFFIN             NC          90010346458
21BB7684A57157   ISRAEL            RIVAS               VA          90015096840
21BB779435B167   LATRINA           GILL                AR          90004837943
21BB79A3747952   GENEVIEVE         FISHER              AR          90007889037
21BB7A23341245   CARLOS            POVEDA              PA          90010460233
21BB824722B27B   ROELMER           RAMIREZ             DC          90009332472
21BB8324891583   GUILLERMO         HUERTA              TX          75003803248
21BB8326991528   RUBEN             SANCHEZ             TX          90006523269
21BB884417B699   NICOLAS           TORRES              GA          90002398441
21BB88A939189B   SUSAN             INGRAM              OK          21004088093
21BB893817B449   ORVON             DAVIS               NC          11006859381
21BB8A98541245   ZACHARY           GRIFFIN             PA          90014230985
21BB9189647952   BRITTANY          FREEMAN             AR          90007341896
21BB9631287B21   KIMBERLY          COOK                AR          28075116312
21BB966155B167   WILLIAM           WHITFIELD           AR          90014876615
21BB97A8291528   JORAE             MURRILLO            TX          75092147082
21BB9985891833   SHANNON           MCKELVAIN           OK          90003689858
21BB9AA9684364   ROY               ALLEN               SC          90013080096
21BBB16419184B   TRACEY            FLEMONS             OK          21068391641
21BBB2A6557157   PASCHAL           NGOSONG             VA          90007352065
21BBB884943593   RAMON R           RODRIGUEZ           UT          90009118849
2211112464795B   RITA              INGRAM              AR          25059371246
22111533472B42   MICHEAL ANTHONY   CHERINO             CO          90013345334
2211164589189B   BRAT              LANDEN              OK          90013776458
22111935A81637   BRITTNEY          RICE                MO          90011779350
2211283777B449   RENE              CONSECO             NC          90001468377
22112A83991881   KYLE              KING                OK          90010500839
2211336714B588   LUIS              DELOERA             OK          90006353671
2211367575B167   QUINN             DOLES               AR          90009686757
221136A2385938   KATRINA           GRUBBS              KY          67005986023
22113946587B87   TANDRA            MAGSBY              AR          90002939465
22114159272B88   NOELLE            RENOVA              CO          90011211592
2211474915B232   SAMNTHA           REEDER              KY          90011187491
22115472A2B27B   ANDREW            WILLIAMS            DC          90010894720
2211557355715B   WILSON            MORDRAGON           VA          90012075735
22115899887B87   SERINTHIA         FRANKLIN            AR          90014018998
22115A55287B59   BRYANT            JONES               AR          90014170552
22115A6339794B   PROSPERITY        EZEANUNA            TX          74017080633
2211629185B571   JENIFER           CAMACHO             NM          35084242918
22116698687B59   EMMITT            KIRK                AR          90011806986
221167A814B588   CHRISTINA         HURST               OK          90010727081
22117193A8B168   MIKE              MAGINNIS            UT          31090511930
22117451A91251   VADAIL            FONSECA             GA          90013944510
22117571172B42   CAMERON           LEVIN               CO          90012545711
2211783199184B   KYCEE             LANPOTTER           OK          90015538319
2211832419189B   VERONICA          AGUILERA            OK          90010743241
22118494A72B98   JOSE              RANGEL              CO          90002434940
22119172A91241   DE VON            KEARSE              GA          90014741720
2211921499189B   ROBYN             MCBEE               OK          90001372149
221194A324795B   CHRIS             PEAVEY              AR          90015174032
2211955845B571   JOHN              MONTANO             NM          90014085584
22119842A84364   RUFUS             HARRIS              SC          90010578420
2211985A75B232   MICHAEL           BARTON              KY          68059918507
2211B84445B161   KENYA             HARRIS              AR          90007658444
2212154974B588   SHARONDA          LITTLEJOHN          OK          21567355497
22121925687B59   LESLIE            JAMES               AR          90008039256
2212266A78B168   LAURA             MOOSMAN             UT          31070016607
2212274A161985   NICOLAS           GOMEZ               CA          90009457401
2212278279184B   JARED             FRANKS              OK          90012947827
22122952972B98   JENNIFER          LOBATO              CO          90002359529
22123A67387B87   SHEREE            WOODARD             AR          23040750673
22123A8779136B   ALFONSO           DELGADO DIAZ        KS          90012800877
221242A7591541   CAROLINA          SOLANO              TX          75039222075
2212481815715B   ROBERT            PAIGE               VA          90012958181
22124838A72B98   DAVID             MARTINEZ            CO          33014048380
22125149472B88   JULIE             KAY                 CO          33075561494
2212535A34795B   ANTHONY           GEISER              AR          25069433503
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2212615A52B27B   KANIBONNON    TUO                     DC          90012021505
2212648A555957   MIRIAM        LOPEZ                   CA          48041554805
22126525776B52   FIDEL         ZUNIGA                  CA          90002545257
2212696A191541   CECILIA       OLIVAS                  TX          90007979601
22127314472B84   TIMOTHY       BACA                    CO          90009493144
22127744A4795B   MARK          SPOR                    AR          25002927440
22127866572B42   GERRI         REVELS                  CO          90008878665
2212823164B588   LENNIE        HATHAWAY                OK          90005442316
2212846965B161   TAMILKA       WILLIAMS                AR          90006304696
2212927717B471   BENJAMIN      KROMAH                  NC          11033462771
2212929319155B   LOURDES       HERNANDEZ               TX          75076502931
2212935839794B   ESAU          MEDRANO                 TX          90012803583
2212947285B139   LAKISHA       HAMMOND                 AR          90001174728
22129A98391541   YAZMIN        CORDERO                 TX          90010790983
2212B348591522   MARIA         GALINDO                 TX          90008173485
2212B473187B59   MARQUITA      CURRY                   AR          90014184731
2212B64125B571   ALMA          RAMOS-RODRIGUEZ         NM          90012306412
2212B845972B84   CHRISTOPHER   HERNANDEZ               CO          90013358459
2212B859431453   SHASTA        GRAY                    MO          90013968594
2212B921981638   GEORGE        JOHNSON                 MO          29073359219
221313A5472B88   ISIS          TEHUTI                  CO          90014673054
2213171255B161   LATOYA        PICKENS                 AR          23069567125
2213226534B588   SOTORA        GUY                     OK          90010882653
2213226A99189B   KIMBERLY      PORTER                  OK          90008632609
22132336557B98   BRIAN         COURSURY                PA          90013433365
221325A7591889   AWI           LIAN                    OK          90012945075
22132A7A872B88   VICTOR        BROOKS                  CO          90011070708
2213327AA91828   DONNA         BLUE                    OK          90007552700
2213351389155B   JESSICA       NIETO                   TX          90012335138
2213392317B471   GILLIAN       STOWE                   NC          90014649231
22133A38993773   ERIC          VOGANN                  OH          64514810389
2213419869136B   NAYELI        REYES                   KS          90013871986
2213445259794B   BYRON         LOPEZ                   TX          90014884525
2213487815B271   FRANKIE       SHOCKEY                 KY          90015158781
2213696994795B   LAURA         BARELA                  AR          25013259699
22136A38993773   ERIC          VOGANN                  OH          64514810389
22137529372B84   ABEL          DOMINGUEZ               CO          33088885293
2213753487B449   FREDY         MARTINEZ-ZALDIVAR       NC          90011475348
2213826794B942   JASMIN        ROLLINS                 TX          90005262679
221385A275B571   KARLA         MELINI                  NM          90014615027
22138626472B84   GERARD        GONZALES                CO          90011246264
22138859272B88   TASHANA       WALKER                  CO          33088188592
221391A125B232   SEAN          DUNN                    KY          68062161012
22139551A7B471   ISORA         RODRIGUEZ               NC          90011225510
22139744887B87   DEMETRIC      WALKER                  AR          90012997448
2213999215B271   CHERYL        JENKINS                 KY          68057899921
2213B51A14B588   EMMANUEL      SINZOYIKENGERA          OK          21584695101
2213B57515B271   CATINA        COLE                    KY          90010205751
2213B782961939   CHRISTIAN     CHEE                    CA          90011497829
2213BA27285938   TANDA         LYDIE                   KY          67064960272
22141114372B42   ELIZABETH     GUZMAN                  CO          33086351143
2214154459136B   MAXIMILIANO   ROSALES                 KS          90002215445
22141A1735715B   QUETISHA      HENDERSON               VA          90004730173
221422A2831631   MIRIAM        BELTRAN                 KS          90010572028
2214269729189B   ALLISON       SCHROEDER               OK          21090036972
22142947972B98   BERTHA        SIMENTAL                CO          33055799479
22142A15491828   JAMES         MARSHALL                OK          90007540154
221441A529189B   MARCUS        MARLIY                  OK          90008861052
22144621172B84   ALEX          SCHEETER                CO          90011246211
2214471959136B   GAYLA         TAYLOR                  KS          29031337195
2214494319184B   PRECIOUS      LUCAS                   OK          21006959431
22144A5184B588   DELIA         GRAMAJO                 OK          90012650518
2214514379794B   PATRICIA      AUSTIN                  TX          90005361437
22145258A5715B   YENSI         FLORES                  VA          90012122580
2214567139189B   DORA          ESTRADA                 OK          90011496713
2214627715715B   MICHAEL       ALEXANDER               VA          90008912771
2214631267B471   TRINA         WHITE                   NC          11000943126
2214676415B254   DARLENE       HOPKINS                 KY          90009857641
22146A63531453   SEAN          BAILEY                  MO          90012700635
2214713269189B   KEMA          BELCHER                 OK          21008151326
221472AA24B588   HEATHER       HENDRICK                OK          90010122002
2214734955B232   STEVEN        ADWELL                  KY          90000763495
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2214763729794B   KEVIN            DECHARINTE           TX          90014376372
2214791A24B261   WILLIAM          OHARA                IA          90006809102
22147962672B88   DOUGLAS          DALE                 CO          90010299626
22147A4882B27B   ANISHA           BLAND                DC          90014520488
221482A1472B84   IVIS             DONAIRE              CO          90004332014
22148556A7B471   SAANY            AVILA                NC          90011225560
22148998887B87   JOHN             BRANCH               AR          90013429988
2214915A99155B   CHAZ             RODRIGUEZ            TX          90011871509
2214921699184B   KENNETH          STANLEY              OK          90008962169
22149286672B98   SERGIO           MENDEZ               CO          33070432866
2214988954B588   FELICIA          JACKSON              OK          21556168895
2214B354931448   SEVERIO          NAPOLITANO           MO          90012263549
2214B354931473   SEVERIO          NAPOLITANO           MO          90012263549
2214B49715715B   ROSALI           GIRON                VA          81034774971
2214B85422B232   GARY             FRYE                 DC          90003858542
2214B935831453   ISIAH            POE                  MO          90013969358
2214B972A72B88   AKEEN            OBYNT                CO          90010299720
2214BA38487B59   KENNETH          PAYNE                AR          90010980384
2214BA7265B28B   EDWARD           WARREN               KY          90010640726
22151277A91251   DIANDRIA         WALKER               GA          90011302770
2215132618593B   KEN              COLE                 KY          90005693261
2215152A291541   CESAR            MARTINEZ             TX          90012315202
2215196A55715B   GLENDA           ROMERO RAMOS         VA          90011909605
22151A6714B588   KERI             ETHERIDGE            OK          21508790671
2215229589136B   CARLOS           NAVA                 KS          90007652958
2215365625B232   ANGEL            CARBAJAL             KY          90008716562
2215462A485938   MOLLY            HERNANDEZ            KY          90010136204
221551A6387B87   LEE              WESLEY               AR          90015131063
2215546179794B   IVAN             PINA                 TX          90014894617
2215571984B57B   HOLLAND          VANDENNIEUWENHOF     OK          90008387198
2215651389155B   JESSICA          NIETO                TX          90012335138
2215661A291251   JOZAIRA          WYATT                GA          90014566102
22156824472B42   MARICELA         HERNANDEZ            CO          33046468244
221573A1447952   MARK S           MENDENHALL           AR          90000663014
2215747394B588   REFUGIO          RODRIGUEZ            OK          90010064739
22157772A72B88   MARGARITA        ALEMAN               CO          90014607720
2215841A576B4B   SALVADOR         LOPEZ                CA          90002344105
221585A849136B   JAMES            THOMAS               KS          90014145084
22159248272B84   TREVOR           FREEL                CO          90013742482
22159A3117B471   RENE             RENDEROS             NC          11011760311
22159AA145B271   JOSE             QUINTANILLA          KY          90010690014
2215B49627B274   TARRAH           SPANDRIO             CO          90015044962
2215B525A5B271   ASHLEY           RICHARDSON           KY          90011885250
2215B62A485938   MOLLY            HERNANDEZ            KY          90010136204
2215B77A372B88   ALANA            THOMAS-GARCIA        CO          90013067703
2215B98279189B   SARAH            CANADA               OK          90009809827
2215B9A778B168   NIELSEN          CRYSTAL              UT          31004389077
2215BA21A91828   LAKISHA          MILLER               OK          21097360210
22161463A91522   GRACIELA         CERVANTES            TX          75088244630
22161466387B87   TIMOTHY          WISE                 AR          90013384663
221616AAA55936   ELEAZAR          RODRIGUEZ            CA          48041116000
2216181589136B   LUZ              NAVARRETTE-TRVIZO    KS          29092868158
2216261815B571   FRANCISCO        GARCIA               NM          35075956181
22162A39291528   JIMMY            NICHOLS              TX          90006620392
2216337A381637   RUFIN            DIATTA               MO          90011783703
22164A2A384364   DAYAMI           MCCANTS              SC          90010750203
2216569A391522   KATIE AND COLE   FORD                 TX          90013746903
2216664339794B   MODESTO          RODRIGUEZ            TX          90014376433
221666AA18B17B   ERICA            TRUJILLO             UT          90010156001
2216676A99184B   SIERRA           MUNSON               OK          21010497609
2216688865B232   CAMILLE          DERAMUS              KY          90009188886
22166949A72B84   JEANINE          CADY                 CO          90014309490
22166984272B88   ATIN             GARG                 CO          90010299842
2216711A95B161   LUIS             SILVA                AR          90014911109
22167156A5B571   JEFF             HEMMING              NM          35093511560
2216745859184B   SHANIQUA         FRAZIER              OK          90011864585
2216747249155B   ALEJANDRA        SANCHEZ              TX          90012294724
2216768235B271   JESSICA          PARKER               KY          90005476823
2216865795B232   TRINITA          THOMAS               KY          90015126579
22168778572B88   APOLINAR         REYES                CO          90013067785
22168867487B87   SHANETTA         LWELLS               AR          90015588674
2216971479184B   MICHAEL          DRAIN                OK          21008947147
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22169778572B88   APOLINAR       REYES                  CO          90013067785
2216999294B588   JOSHUA         WELCH                  OK          90009469929
22169A1A491828   JUAN           RAMIREZ                OK          21001390104
2216B56469155B   ISMAEL         VASQUEZ                TX          90003705646
2216B71559189B   NANCY          NOVELLA                OK          90015107155
2216B865487B59   NATASHA        NELSON                 AR          90014198654
2216B971331453   JEREMIAH       THURMAN                MO          90013969713
2216BA48572B42   RIGOBERTO      VERAGARA               CO          33020060485
2217118869794B   STEPHANIE      FRANCO                 TX          90008091886
22173424A5B232   JACOB          DEUTSCH                KY          90012444240
2217383688B17B   MERCEDES       PARENTE                UT          31084428368
221741A384B281   EVERARDO       GOMEZ                  NE          90013501038
22174599872B88   DAZHONNA       WALTAN                 CO          33001355998
221745A354795B   PATRICIA       STOUT                  AR          90008705035
22174A1A15B271   RASID          MUSIC                  KY          68040560101
2217527179794B   KAREN          LAWRENCE               TX          90014162717
22175521287B87   JANISSA        DOLSU                  AR          90015345212
22175853A72B84   ROBERT         JACOBSON               CO          90014518530
2217587A952B31   BENJAMIN       MARTINEZ               NM          34006268709
22175939A9189B   LILLIE         CALDWELL               OK          90014569390
22177457372B88   MARIO          CHAVEZ                 CO          90001274573
2217749275B531   ERNEST         GOMEZ                  NM          35097014927
22177644487B87   DOVIE          BURL                   AR          23054526444
2217767465B161   DONALD         FLOYD                  AR          23011236746
22177949572B42   GAYLE          SCHEIHING              CO          33024949495
22177A9129155B   JOSE           QUINONES               TX          90010010912
22177A94A5B571   DESIREE        DURAN                  NM          90009960940
2217848847B334   JORGE          FUENTE                 VA          90002634884
2217861157B471   DANIELLE       BYRNES                 SC          11067646115
2217889A95B571   CHRISTINA      MONTOYA                NM          90002698909
22179574A87B87   MALLORY        FLUKER                 AR          23045945740
2217958A741245   ANDREW         MARINACCI              PA          51094825807
2217966A69794B   AUDREY         FLOWERS                TX          90008266606
2217989339155B   LUIS           GARCIA                 TX          75045978933
2217B31875B571   SCOTT          CONWAY                 NM          90015183187
2217B343391251   JESSICA        IVEY                   GA          90015083433
2217B563A5B35B   DONNA          NEWBERRY               OR          90000665630
2217B57819184B   ROBERT         MILLION                OK          21034225781
2217B779372B88   DERRIN         WILLIAMS               CO          90013067793
22181431A81637   CARLOS         ROSA                   MO          90000274310
2218151389155B   JESSICA        NIETO                  TX          90012335138
22181725A72B88   EARL           BOLIN                  CO          90008137250
2218197A747952   MARIA          LOPEZ                  AR          24032009707
22182213A31631   REBECCA        BIDWELL                KS          22054122130
221826A2972B84   ROBLES         FRANCISCO              CO          33015356029
22182734A98B72   JESUS          PINEDA                 NC          90008127340
22183479836B4B   BERTHA         LOPEZ                  WA          90015604798
22183962872B88   MOLLY          TRUJILLO               CO          90013119628
22183A42247952   STEVEN         GONZALEZ               AR          24030890422
2218476479794B   JIMMY ELISEO   PEREZ GARCIA           TX          90014417647
22184A72A7B449   MERCED         MORALES                NC          11009860720
22184A95A72B84   RAFAEL         VICTORIO               CO          90010770950
2218538489184B   ROVON          ALEXANDER              OK          90005193848
22186155787B87   CARMEN         JONES                  AR          23014631557
221867A5891541   ALEJANDRA      ACOSTA                 TX          90013357058
2218692A22B27B   TYREKE         FARMER                 DC          90009029202
22187A1868B17B   JAIME          ESTUARDO               UT          31073830186
2218811855B571   KAREN          BACA                   NM          35063431185
22188151A85938   PERRY          JORDAN                 KY          90014651510
22188977A41245   MARY           SZYMANSKI              PA          90008009770
2218B6A7591522   ENRIQUE A      OCANA                  TX          75088216075
2218B8A4791828   JENNIFER       LANNING                OK          90001288047
22191397A4B251   GABRIELLE      MILLER                 IA          90004633970
2219176915715B   ADA            RAMOS                  VA          81034787691
22192385572B88   GATRELL        COLLEEN                CO          90011283855
2219251379189B   VEDA           MASON                  OK          21003815137
2219276987B471   WONDA          HAIRSTON               NC          90010437698
22192A49631453   ALEXACE        HARDEN                 MO          90013970496
22192A77547952   JIMMY          HENRY                  AR          90013720775
2219346475715B   MARIATU        FONTI                  VA          90012404647
221934A385B161   ALYSSIA        JACKSON                AR          90013314038
221936A752B27B   GREG           SNIPE                  DC          90015016075
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2219428A631453   CARL            TURNER                MO          27566262806
2219488442B27B   CYNTHIA         LEE                   DC          81084898844
2219529834B588   SHANTELLE       JAKE                  OK          90014352983
2219544815B271   MERIN           MCDONALD              KY          90014724481
22195A49631453   ALEXACE         HARDEN                MO          90013970496
2219665645B161   SHARECA         TYSON                 AR          90014046564
22196A9425B161   KAREN           PENNINGTON            AR          90014910942
22196A9527249B   TIFFANY         MCKEAN                PA          90011100952
2219716A991241   CHRISTINE       STALLMAN              GA          90013231609
2219742835B571   ARMANDO         HERRERA               NM          90013414283
22197529A91528   MAHELY          MASIEL                TX          90003405290
221976A1755957   ILIANA          ALVAREZ               CA          90013826017
2219793A781661   JAMES           MILLER                MO          90013119307
22198327472B84   MATTHEW         MARTINEZ              CO          90012503274
2219846997B471   JOSE            ARNALDO               NC          90008034699
2219847992B27B   EBONY           GODDARD               DC          90011354799
22198667A9189B   NICOLE          JOHNSON               OK          21059306670
22198819372B88   STEPHANIE       CONNOLLY              CO          33084068193
2219889A584364   KEITH           RAPP                  SC          19057158905
2219965465B271   LONNIE          DIVINE                KY          90006036546
2219971A97B449   BARTETTE        DAVIS                 NC          11033277109
22199961A51365   MIRANDA         SARY                  OH          90007729610
2219B214585938   ELI             AGUILAR               KY          90009002145
2219B45357B471   JUSTIN          PERRY                 NC          90014034535
2219B676772B98   MARIA           SOTO                  CO          33072336767
2219B83149155B   AUDREY          MASON                 TX          90011708314
221B1174731631   BRANDEY         BUETEL                KS          90013331747
221B1221A5B33B   GLORIA SALOME   GOMEZ VERA            OR          90013882210
221B1366831453   GIOVANNA        POWELL                MO          90007383668
221B153269189B   ALTON           JUSTICE               OK          90006585326
221B159765B232   RACHEL          KIESLER               KY          90014865976
221B1998391541   CESAR           SISKA                 TX          90003579983
221B232364B281   BILL            CLABORN               NE          27087103236
221B288657B449   KELLY           MICHELLE LEE          NC          90002708865
221B2936755957   ALFONSO         GARCIA                CA          48078639367
221B325119155B   MICHELLE        AMAYA                 TX          90014642511
221B361415B271   SAMANTHA        SHEBLE                KY          90009706141
221B3948147952   ELIZABETH       LINCKS                AR          24000149481
221B3A14872B84   CHRISTINA       HUNT                  CO          90014440148
221B438A131453   SERGIO          BARRAZA               MO          90015263801
221B4A4359794B   EDDIE           MARTINEZ              TX          90011150435
221B542445B232   DOUG            WILLIAMS              KY          90012474244
221B5722581661   RHONDA          SIMS                  MO          29055227225
221B589359184B   LAWRENCE        HARRIS                OK          90007128935
221B6338141245   AMY             ELY                   PA          51010133381
221B646699184B   JOHN            TURNER                OK          90010404669
221B692489189B   JUAN            VALENCIA              OK          90013409248
221B696524B588   MARJAN          SATARY FAR            OK          90014489652
221B6A63972B42   AMANDA          MACIAS                CO          90011870639
221B7214293757   DAVID           DOLLE                 OH          64541832142
221B7331124B55   DOMINQUE        DICKERSON             DC          81097593311
221B7611393762   KARA            MILLER                OH          90012536113
221B781515B271   JAMES           CONNOR                KY          68025468151
221B821524B261   KIMBERLY        JOHNSON               NE          27084422152
221B83A2191241   RONSENA         RHEA                  GA          90015033021
221B8769291326   MARTIN          BOYDA                 KS          29096587692
221B8839A5598B   ISIDRO          BARETO                CA          90000648390
221B895135B161   TYWON           ROUSE                 AR          90007429513
221B933525B571   ROSA            PADILLIA              NM          90006203352
221B9353855957   SERGIO          NOLASCO               CA          90011963538
221B9429191522   JAZMIN          PARRA GUILLEN         TX          90014374291
221B952A391241   TYANTHONY       BROWN                 SC          90000585203
221B957199189B   NICHOLE         FEWLL                 OK          90014915719
221B9877372B88   ERIC            RYAN                  CO          33014108773
221B988847B449   MICHAEL         MILLS                 NC          11097758884
221B989735B271   RACHELLE        SMITH                 KY          90014258973
221BB838491541   MAYRA           RAMOS                 TX          90009748384
2221157A47B471   LAMAR           ALEXANDER             NC          90015105704
222116A379136B   ERIKA           SIMON                 KS          29078846037
22211A39791251   VASILIO         MARCOS                GA          90012700397
2221251855B161   COREY           BARNES                AR          90011015185
22212626A4B588   TIMOTHY         CRITTENDEN            OK          90012746260
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222132AA49794B   NADIA            GALVAN               TX          90014972004
2221362684B261   MAGGIE           MORALES              IA          27005926268
222136AA29184B   CHAD             STEPHENS             OK          21082656002
2221398673B39B   GARY             COOK                 CO          33084639867
2221465254795B   BRANDI           MILLER               AR          90013116525
222146A8572B88   SERGIO           PARRA                CO          90004946085
2221539517B422   SAMARA E         EPPS                 NC          90008083951
2221634845B531   KRISTI           DRAKE                NM          90007863484
2221636A391522   KARINA           ALVARADO             TX          90013433603
2221653945715B   BONNIE           FRY                  VA          90014125394
22216925A4B588   MARIA            VERA                 OK          90009419250
2221738A99189B   VINCENT          WEBB                 OK          90008633809
22217514972B42   JULIA            ROSALES              CO          90005635149
2221756299794B   LUCIA            TUMAX                TX          74016535629
22217797272B25   LISA             ALLEN                CO          90014227972
2221799A891251   TAMARA           SMITH                GA          90014979908
2221838359794B   ABIGAIL          VASQUEZ              TX          90012473835
222185A5A9189B   RAYNA            RODRIGUEZ            OK          90014065050
22218A33451369   CECILIA          TREJO                OH          66056490334
2221921247B43B   CARLOS           REYES                NC          90001572124
22219258A72B84   MIGUEL           MEDINA               CO          33090952580
2221B34845B271   TONY             WHITFIELD            KY          90014833484
2221B424191828   SHANEICE         WILLIAMS             OK          21044814241
2221B56689794B   COURTNEY         HARNSBERRY           TX          90014855668
222211A614B588   RICHARED         PIGG                 OK          21597011061
2222168A77B471   ROBERT           GALIMI               NC          11071826807
22221825272B42   DENE             ROMERO               CO          33086998252
22221A7799184B   IRMA             RAMIREZ              OK          90015230779
2222221A75715B   HILDA            PAZ                  VA          81078622107
22222522787B87   LARRY            WARD                 AR          23092445227
2222259849155B   SANCHEZ          BRENDAA              TX          90012965984
2222359787B471   YAMILETH         MAYA                 NC          90011225978
222238A414B588   DIONNE           JOHNSON              OK          90011958041
22223A48241245   JAMES            CARNPROBST           PA          51019700482
2222436349189B   KAYLYN           ONHAIL               OK          90010333634
2222539525B232   ROBERT           HIGGASON             KY          90014753952
222253A655B167   MURPHY           GOODLY               AR          90005843065
2222562445B271   REBECCA          PIKE                 KY          90007746244
22225A6A29136B   DANIEL ANTONIO   TRUJILLO PEREZ       KS          90014060602
222261A779189B   JOSHUA           SOLIS                OK          21045521077
2222646632B232   MARCILLINA       EMENYONU             DC          90003864663
2222674295B255   CHARNITA         NOBLE                KY          90008067429
22226A71672B88   CESAR            PEREZ                CO          90011560716
22226A7435715B   RAMATU           SESAY                VA          81033880743
2222748215B571   REBECCA          COLE                 NM          35033494821
2222751A455957   EBONY            DOUGLAS              CA          90010945104
22227885172B84   MICHAEL          MCBRIDE              CO          33049898851
22227A1419136B   GILBERTO         GUERRERO             KS          90009860141
22228531A91522   CAROLINA         GONZALEZ             TX          90006415310
222289A1191241   TARSHA           EDWARDS              GA          14502789011
2222934495B271   JAMES            CHARLTON             KY          90014853449
22229353187B87   TOMEKIA          MOORE                AR          90009843531
2222939244B588   CHANDRA          REEVES               OK          21556073924
222296A925B571   DIEGO            GONZALES             NM          90011236092
22229986172B42   ANTONIO          SOLIS                CO          90010689861
22229A55684364   NICKAI           ELDRIDGE             SC          90009860556
2223143264B58B   RACHAEL          HOWARD               OK          90011304326
22231535787B59   DEBRANIKA        WOODS                AR          23062035357
2223168A591828   VANESSA          STEVENSON            OK          90013526805
2223315148B184   DOREEN           BALDINO              UT          31057301514
22233162A5B571   JASON            CHAVEZ               NM          90012981620
2223327259794B   LUIS             VELASQUEZ            TX          90011282725
2223338759136B   SABITA           BISWA                KS          90015283875
2223351534B281   TAMMY            REED                 NE          90002085153
2223361385B571   CHRISTOPHER      BARELA               NM          90011236138
2223364199136B   MICHAEL          KIRKHAM              KS          90013216419
22233843672B61   YVETTE           VIGIL                CO          90015288436
222338A9591522   ZONIA            ROMAN                TX          90014348095
222341A434B281   BRADLEY          CHRISTIAN            NE          90010431043
2223425A85B271   TERESA           BALENGER             KY          90014842508
2223433299136B   NICOLE           WILLIAMS             KS          90009043329
22234356872B42   DALTYNN          MARTIN               CO          90009443568
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2223463689794B   EDEN            HERNANDEZ             TX          90013836368
22234738572B88   VALERIE         TRUJILLO              CO          90003837385
22234773887B87   VICTOR          BRICENO               AR          90015507738
22234A1AA72B84   DEBRA           BERUMEN               CO          33095380100
2223635A491541   CINDY           AVILA                 TX          90010993504
2223751635B232   RHONDA          JACAVINO              KY          90014425163
2223769789184B   PRESTON         LESTER                OK          90003456978
222378A9831453   RICHARD         UNDERWOOD             MO          90008838098
22238645A72B98   CHRISTOPHER     DAY                   CO          90007466450
2223911A95B232   ERIC            PEREZ                 KY          90004611109
2223951449155B   DIAMOND         HERNANDEZ             TX          90006725144
22239658A9184B   GERARDO         CORDOVA               OK          90014166580
2223B12658B184   LAURIN          LOWRY                 UT          90014521265
2223B56A49184B   JONATHAN        PATRICK               OK          90013385604
2223B76A187B59   MARANDA         ALFORD                AR          90008717601
2223B84A15B271   RHONDA          MARCUM                KY          68058028401
2224129545B161   JOHNSON         CHAPMAN               AR          90011362954
22241788987B59   RUTHIE          PHILLIPS              AR          90014217889
2224234AA51369   DANIEL          WHITAKER              OH          90014823400
2224295779155B   JACQUELIN       TORRES                TX          90011709577
2224347499136B   MARCELO         HERNANDEZ             KS          90014594749
2224351A55715B   LUIS            GONZALEZ              VA          90010385105
22243565672B42   BRITTANY        STOPPER               CO          33034655656
222436A725B571   MARIA           MENDOZA               NM          35055246072
2224376684B588   JORGE           FUENTES               OK          90008707668
22243794A91522   ZUIKA           ROSSELT               TX          90010667940
22243A26A2B27B   LATOYA          WILLIAMS              DC          81052650260
2224431274B588   LEON            HALL                  OK          90009683127
2224438A55B571   ALEJANDRA       MARTINEZ              NM          90008673805
2224496539155B   HARLEY          COTY                  TX          90011709653
22245864A91241   KRISTA          DOLL                  GA          90012198640
2224677517249B   BONNIE          RASCHIATORE           PA          51026937751
22246832787B88   CODY            OLDHAM                AR          28013608327
2224765A69155B   ALFREDO         TOVAR                 NM          90012816506
2224774AA47952   MARQUISIANA     JONES                 AR          90013087400
2224814149189B   CHRISTINA       MATTALIANO            OK          21018511414
2224832429184B   CHRISTOPHER     JHONSON               OK          90012603242
22248376387B87   LAWANDA         MCCOY                 AR          90011943763
22248823A91528   JORGE           HERNANDEZ             TX          75092858230
2224897184B261   STACY           ROBINSON              NE          27032669718
222491A919155B   RODRIGO         CHAVIRA               TX          75040781091
2224966575B232   BRIDGET         RICHARDSON            KY          90015126657
2224B46A472B84   CYNTHIA         AMMONS                CO          33080354604
2224B565631426   MICHELLE        CUNNINGHAM            MO          90014885656
2224B65A69155B   ALFREDO         TOVAR                 NM          90012816506
2224B66879136B   DORIAN          ENRIQUEZ              KS          90012146687
2224B6A737B471   ANTINETTE       CALDWELL              NC          90011226073
2224B83A781661   BARBARA         HULSE                 MO          29008278307
2225197595B271   JOHN            DRAKE                 KY          90014359759
22252A34491241   HAROLD          FIELDS                GA          90012880344
2225332265B161   SHANNON         SYKES                 AR          90013873226
2225341579155B   NOE             ALMODOVAR             TX          90014644157
2225384237B471   MICHAEL DARON   HEGLAR                NC          90014898423
222543A9155957   VICENET         PENA                  CA          48095753091
22254829572B88   MARIA           NOLASCO               CO          33071578295
2225487515B161   ALICIA          MEZA                  AR          90012478751
22255459372B84   ROBERT          ESPINOZA              CO          33064764593
22255676172B88   WAYNE           SANCHEZ               CO          33048576761
2225591194B541   DONNA           WYATT                 OK          90010619119
22256262472B88   KYLE            LOPATOWSKI            CO          90013082624
2225641752B27B   ROBERT          ADAMS                 VA          90007224175
22257414772B42   CRAIG           SWANBERG              CO          33083034147
2225769789184B   PRESTON         LESTER                OK          90003456978
222578A2772B88   DENISE          KIDDER                CO          90004228027
22258482A81661   JUAN            MENDEZ                MO          90008524820
22258636372B42   ANTHONY         DANIEL                CO          90011416363
222588A5581637   MERCEDES        MOSCHELL              MO          90011788055
22258AA9991828   MONICA          ORTIZ                 OK          90009810099
22259454A5B271   ASHLEY          FORD                  KY          90013974540
2225994A65715B   GEORGE          R ALTMAN              VA          90010879406
2225B34169189B   CHARLENE        SHELTON               OK          90009043416
2225B72774B588   BETTY           STUMAN                OK          21574277277
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2225B83659136B   YURIDA             LEDEZMA            KS          90014828365
2225B858A91541   CYNTHIA            LOPEZ              TX          90005008580
2225B932184364   SHAMIR             PEAKS              SC          19005979321
2226118375B232   TAMARA             TOWNES             KY          68086931837
2226145169794B   MARCELO            TOC                TX          90014434516
222614A5751369   TYLIN              ROSSER             OH          90003334057
2226184A353983   JESSICA            MILLS              OK          90008938403
2226266A287B87   PHILIPPE           SCARVER            AR          23066556602
22262A49647952   WADE               CHRONISTER         AR          90012410496
2226467815B531   AZUCENA            PETRIE             NM          90006526781
22265135287B59   MARY               BREWER             AR          90014221352
22265166872B88   DOMINIKA           KAMINSKA           CO          33086391668
22265312A91241   ANTWON             JOHNSON            GA          90015103120
2226542397B471   GUADALUPE          GONZALEZ           NC          90014854239
2226542849189B   DORRIES            MACK               OK          90014704284
2226543845B531   ANGEL              MARTINEZ           NM          90000364384
2226573A531631   ANGELA             STAFFORD           KS          90014247305
22268624A4B588   APRIL              TURNER             OK          90008446240
2226882842B839   JASON              KOROM              ID          90003968284
222692A999136B   ANCELMA            VILLAVICENCIO      MO          90006712099
2226933819794B   DONALD             GILBERT            TX          90014893381
2226937A14B588   TRACY              ABELL              OK          21576553701
22269A7A391251   MARGARET           HILL               GA          14556760703
2226B24887B471   FELIX              MARTINEZ SOTO      NC          11010272488
2226B677791241   CHRISTOPHER        PETYS              GA          90013946777
2226BA17A74B54   SYDNEY             DANNER             OH          90014230170
2226BA96187B59   GWENDOLYN          NELSON             AR          23056070961
2227191325B271   ASHLEY             WAGNER             KY          90014779132
22271958587B59   SYLVIA             GRADY              AR          23032189585
22271A5469155B   FILIBERTO          HERNANDEZ          TX          75026340546
22272147772B42   MARIA              JOHNSON            CO          90015031477
2227228445B571   SANDRA             ULIBARRI           NM          90012022844
2227284545715B   ROSSY              GARCIA             VA          90011068454
2227292415715B   RUTH               CORDON             VA          90013009241
22273389572B84   LAWRENCE           BUENO              CO          90012873895
2227369465715B   JOSE               RAMOS              VA          81035506946
22273A9A555957   LUIS               MEDINA             CA          48011140905
22274AA1A85938   TONYA              WILLHOITE          KY          90014660010
2227592845B571   JARED              CURRY              NM          35045749284
22275A2582B27B   RICARDO            HERRERA            DC          81039130258
22275A5574B588   TAMEKA             RODGERS            OK          90014190557
2227633649155B   JUAN               MORENO             TX          90014593364
2227648345B232   AMANDA             TRUJILLO           KY          90003734834
2227654A472B42   VERONICA           ZANTELLO           CO          33096105404
22277446A5B571   JUAN RAMON         HERNANDEZ          NM          35000814460
2227767262B27B   IKIA               MARCE              DC          90010896726
22277674872B84   FELIPE             AGUINAGA QUIONES   CO          90011246748
22277A5AA4B281   TIMM               BADGETT            NE          90002280500
2227856757B471   CANDELARIO         BAEZA JOACHIN      NC          90013195675
222788A5972B44   PAULA              OTTO               CO          90010488059
22278A1114B588   DUWAYNE            TAYLOR             OK          90003470111
22278A45387B87   ELVIS              HERNANDEZ          AR          23044560453
2227946777B471   MARLON FERRUFINO   REYES              NC          90014034677
2227952A974B79   VERYL              LONG               PA          51034205209
22279A55881661   MARIE              FRANCOIS           MO          29034550558
2227B218931631   JACOB              KEMP               KS          90014252189
2227B364585938   ANAHI              NAVARRETE          KY          90010743645
2227B822555957   ESTEFANI           FRIAS              CA          90013078225
2228162369794B   MARCELA            ALFARO             TX          90015006236
22281A87687B87   RICHARD            WILLIAMS           AR          23019610876
22281A97172B42   PHILL              SIMON              CO          90003730971
2228233649155B   JUAN               MORENO             TX          90014593364
2228253855B531   ANITA              ESQUIBEL           NM          35059125385
2228257A79184B   YUVONNA            HEMPERLEY          OK          90012345707
2228269174B588   MATTHEW            TREASTER           OK          21556006917
2228336469189B   TOMMY              MODLIN             OK          90010963646
2228349A741245   SHARON             TINSLEY            PA          51011314907
2228381AA72B88   DOMITILA           VERA               CO          90013068100
22283A98855957   DAVID              ORTIZ              CA          90011450988
222844A9A5B571   MIRIAM             CASTILLO           NM          90005044090
2228533884B588   MARIA              PEDROZA            OK          90011123388
2228543957B449   TAREICA            MOORE              NC          90014854395
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22285A5822B27B   DONA          SKRINE                  DC          90014810582
2228622474795B   MAGNA         ESCALANTE               AR          25024722247
2228722829189B   MICHELLE      COLE                    OK          90008462282
222875AA19136B   KATHLEEN      PAZ AGUILAR             KS          29012135001
2228784285B571   ROZ           BRIDGER                 NM          90012458428
2228856979794B   JERIMIE       PINTER                  TX          90014945697
22288811672B88   SELENA        GURULE                  CO          90013068116
2228939A431631   ADRIANE       RADER                   KS          22081943904
22289542387B21   DAVIDA        HUFFSTUTLER             AR          90014695423
2228974A487B21   DAVIDA        HUFFSTUTLER             AR          28065317404
22289878772B84   PETER         DOYLE                   CO          33095328787
2228B16A991241   CHRISTINE     STALLMAN                GA          90013231609
2228B194993773   ANN           ROBERTS                 OH          64504381949
2228B428391541   MICHAEL       MAVES                   TX          90015154283
2228B47869189B   VALERIE       TYSON                   OK          90006664786
2228BA34291251   NERY          PEREZ-NAJERA            GA          90007900342
2229163239184B   RANDI         DELAO                   OK          21066626323
22291821872B84   NOEL          LIBBY                   CO          90012648218
2229193924B261   RENE          VALENCIA                NE          90007579392
222925A489155B   NORMA         RIMPEL                  TX          90003865048
2229269A65B161   KEN           ELLIOTT                 AR          90012506906
2229286959794B   JOSE          SEGUNDO                 TX          74017458695
22292A9A281661   HECTOR        VALTIERRA               MO          90012340902
2229311294B261   JOSEP         HOPPER                  IA          90015001129
222934A224B251   DONNA         NEIL-LIPSCOMB           NE          27077554022
2229371A655957   EDWARD        CORDEIRO JR             CA          48089397106
2229379958B168   JOHN ELENO    RAMOS                   UT          90000967995
222944A689136B   THERESA       MCGEE                   KS          90015164068
2229453189189B   SAMMIE        YOUNG                   OK          90013015318
22294A73972B84   ROGELIO       VEGA                    CO          90010840739
2229558275B232   KENNETH       SQUIRES                 KY          90012935827
222956A275B571   BETSY         TORRES                  NM          35055256027
2229617994B581   GUADALUPE     PINON                   OK          90009691799
2229637465B226   PAULA         MITCHELL                KY          68042513746
22296917687B59   BETTY         SYKES                   AR          90008599176
22296A9154B261   EDEMIAS       ANLEU                   NE          90012270915
22296A9A49794B   IKPOTO        UDOH                    TX          74010720904
2229712619184B   GARY          HUDSON                  OK          90015221261
2229731539155B   RAUL          ESTRADA                 TX          90012983153
2229878675B571   MARIO         OGALDEZ                 NM          90010547867
22299626A5B232   JAMES         CANADA                  KY          90014506260
2229B51232B27B   RAYMOND       LYLES                   DC          90014845123
2229B6A7855957   CHANTEL       JOHNSON                 CA          90009996078
2229BA2159794B   ERNEST        IBARRA                  TX          74005570215
2229BA6175B271   RHONDA        SILVERS                 KY          90015100617
222B11A6585938   LAURA         PETTYJOHN               KY          67025771065
222B141694B251   CORINE        LAMBRIGHT               NE          90005924169
222B145439794B   LUCERO        GRANADOS                TX          90009514543
222B157664B261   SAMANTHA      SCOTT                   NE          27000185766
222B1584791522   LESLY         HERNANDEZ               TX          75077895847
222B16A5691251   TINA          CUCURELLA               GA          90010716056
222B212A772B47   LORENZO       MADRID                  CO          33033541207
222B2294372B84   MARIO         HERNANDEZ               CO          90012272943
222B2546581661   AMANDA        VICK                    MO          90014315465
222B2A39A72B88   RITA          VALDEZ                  CO          33049510390
222B3259A87B87   DESTINY       DEE                     AR          90015122590
222B437429794B   SALVADOR      GONZALEZ                TX          90014463742
222B4381574B79   BERNICE       MORPHIS                 PA          51047833815
222B5179481637   ENTOEN        TAYLOR                  MO          90006911794
222B5394191522   MARIA         REYES                   NM          75093193941
222B53A3272B84   ARACELI       ARMENDARIZ              CO          90014393032
222B56A519155B   RUTH          RUIZ                    TX          90012316051
222B578687B471   SHARON        ROSS                    NC          11046287868
222B5912A57531   ERIKA         ESCOBEDO                NM          90009559120
222B5A78991251   YEIZA         CARRASQUILLO            GA          90011320789
222B643A772B84   MARIA         HERNANDEZ               CO          90002364307
222B674355715B   JENNIFER      WESLY                   VA          81033827435
222B6A3885B571   MELANIE       CHAVEZ                  NM          35081240388
222B7161A4B261   CRAIG         CLARK                   NE          90012731610
222B73A8587B59   VALERIE       SMITH                   AR          23093943085
222B777574795B   CHRISTINA     GUZMAN                  AR          25064897757
222B7A68785955   CHRISTAYSHA   CASON                   KY          90000950687
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222B829755B271   CARLOS         KEENE                  KY          90003912975
222B8415691522   LAURA          ALCALA                 TX          90012314156
222B842835B571   ARMANDO        HERRERA                NM          90013414283
222B858A172B42   MANUEL         LEAL                   CO          33097865801
222B883629136B   GLORIA         CASAREZ                KS          90011478362
222B91AA555957   LEONARD        HERNANDEZ              CA          90013661005
222B9392A91828   ROGELIO        MEDRANO                OK          21030113920
222B9571591251   KENZIE         HARVILLE               GA          90015095715
222B9645A81637   SHANTEL        BLAIR                  MO          29020406450
222B971AA91241   ASHLIEGH       WYNN                   GA          90006367100
222B97AA25B232   EDNA           POTTER                 KY          90013827002
222B988135715B   RENE ARCIDES   GONZALES               VA          90004268813
222B995485B161   DWANNA         KETCHERSID             AR          23025789548
222B99A2285938   EUSEBIO        LIZARDO                KY          90006519022
222BB34569155B   MINERVA        GUZMAN                 NM          90014643456
222BB69299794B   HOPE           GARZA                  TX          90015206929
2231165A591828   NORMA          TANELIA                OK          90014176505
2231178825B271   JOHN           KASEY                  KY          90010007882
2231212475715B   ODILIA         REYES                  VA          90005031247
22312369472B84   MIKE           BALLEZ                 CO          33072863694
2231275169184B   KESHIA         WILLY                  OK          90001767516
22313274987B59   JACQUELINE     GRIGFTY                AR          90015092749
2231375582B27B   ELECTRA        DYAS                   DC          90014597558
2231378563B391   CHRISTINE      DREYER                 CO          90007427856
22314211887B87   TIFFANY        THACKER                AR          23077832118
2231441813B386   EVELIA         SIVIGILANO             CO          90004094181
2231443145B247   MARTHA         MENDEZ                 KY          68051874314
2231481159184B   AUGUST         CAMBEL                 OK          90015428115
223149A5591525   BLANCA         RAMIREZ                TX          90012869055
2231535715715B   SONIA          PACHECO                VA          81063793571
2231561239794B   VERIN          POS                    TX          90011766123
2231575645B531   DANIEL         MCGUIRE                NM          35014947564
2231625354B588   BETHANY        PITTS                  OK          90014502535
223162A284B588   LACIE          WILLIAMS               OK          90010732028
22317461687B87   BETTY          SWINEY                 AR          90011994616
22317616A21929   PAYGO          IVR ACTIVATION         IN          90015496160
2231829264B588   MELVA          CHERRY                 OK          21555992926
22318727772B42   BENITO         GUZMAN                 CO          90014837277
2231889A75B167   CLINT          EDWARDS                AR          90005298907
2231919295B571   JOANNA         WALKER                 NM          90006371929
2231939795B531   CHRIS          SALAZAR                NM          90008933979
2231957275B167   JUANITA        CRUZ                   AR          90001125727
2231971134B281   MICHELLE       JIMERSON               NE          27067457113
22319867587B87   ERIKA          TRICE                  AR          90015068675
223199A5491541   RICARDO        HERNANDEZ              TX          90008409054
2231B22779136B   RAUL           ALVAREZ                KS          90008012277
2231B48855B571   PEDRO          CHAY-COHUO             NM          90001764885
2231B513747952   DEBORAH        LUCAS                  AR          24068545137
2231B529976B4B   MARCELINA      LEYVA                  CA          46048415299
2231B664331453   NICOLE         SCANIO                 MO          90012266643
2231B81422B27B   COLLI          JUBB                   DC          90009758142
2231B83A79189B   VALISA         ROWE                   OK          90010608307
2232163899794B   LUCAS          TURNER                 TX          90014986389
22321669A72B42   BRYANT         JACKSON                CO          90011396690
223216AA281638   ROBERT         STEVENSON              MO          90005786002
2232228492B27B   BIJON          DAVIS                  DC          90015172849
223228A279152B   EDVIN          MOLINA                 TX          75031088027
2232349954B281   VERONICA       TORRES                 NE          90008824995
2232354768B168   JASON          FELT                   UT          31094295476
2232368A591828   VANESSA        STEVENSON              OK          90013526805
2232412895B161   MCMULLEN       RENAE                  AR          23054701289
22324137372B84   FERNANDO       CHACON                 CO          90015141373
2232419685B167   PEDRO          DAVILA                 AR          23092061968
2232428819136B   BRANDON        RAMOS-CAMPOS           KS          90012582881
22324329A81637   DIONNA         HILL                   MO          90004333290
2232437679189B   SAMATHA        CORBET                 OK          90011073767
223247A232B27B   RODNEY         ROY                    DC          90014507023
2232482484B251   GLENDA         HARPER                 NE          27028978248
2232555767B471   JANTERIOUS     CAMPBELL               NC          90015335576
2232562554B261   JOYLYNN        LESCH                  NE          90014546255
223256A6A5715B   ELIZABETH      QUENTANILLA            VA          90012456060
2232589A75B167   CLINT          EDWARDS                AR          90005298907
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22325A66A81661   MARIA         MONTES                  MO          90013280660
2232688829136B   KENNETH       POWELL                  KS          90002708882
2232689529184B   HEATHER       DOBBS                   OK          90014638952
2232695219155B   DIANA         MOJICA                  TX          75097059521
2232696A25B161   JERRYME       DAVIS                   AR          90009629602
2232754149152B   LINDA         VILLALOBOS              TX          90004405414
22327712A91251   LEVESTER      SMITH                   GA          90014167120
2232785782B27B   LEANDA        HAMILTON                DC          90009438578
223279A387B471   JOLANDRA      WHITE                   NC          90013609038
22327A3A391528   CRYSTAL       FRANCIS                 TX          75092890303
2232837A42B27B   MS            CEE                     DC          90001833704
2232854124B261   CARLOS        MARISCAL                NE          90012695412
22328813972B88   JENNIE        METCALF                 CO          90013068139
22329164672B88   RAMIRO        BARRAZA                 CO          90012281646
2232949127B43B   TONY          SNOW                    NC          90013574912
2232957955B161   KASSIDY       EDDY                    AR          90014915795
2232986835B232   IVTTE         RODRIGUEZ               KY          90013278683
2232998A981637   ALINE         NEELY                   MO          90011789809
22329A9142B27B   BRIAN         MCFADGEN                DC          90008040914
2232B26A693721   STEVE         RIDGLEY                 OH          90009862606
2232B354A81661   SANDRA        WILLIAMS                MO          90015133540
2232B45615B232   DEBRA         BLACK                   KY          90010334561
2232B53A89794B   MELANIE       FLORES                  TX          90013925308
2232B66438B17B   JESSICA       WILSON                  UT          31096706643
2232B67385B571   CARMINA       VARGAS                  NM          90011236738
2232B839891241   HENRY         BRETT                   GA          90013948398
2233128569794B   BLAKE         HOOBS                   TX          90008882856
22331562872B88   CARMELO       JARAMILLO               CO          90007705628
2233158954B588   JOHN          MCCAMPBELL              OK          90013175895
2233159282B27B   TABITHIA      JOHNSON                 DC          90015205928
22331724772B84   MARIA ELENA   MUNOZ                   CO          90010377247
22331A3225B232   CHRISTINA     TERRY                   KY          90007470322
2233269164795B   LAZARO        PINEDA                  AR          90012036916
22332816372B88   DANIEL        PERDUE                  CO          90013068163
2233283415B271   ROBBIN        HINES                   KY          90009418341
223339A837B449   DANIEL        TEKIE                   NC          90011199083
223343A475715B   VASHTI        MULBAH                  DC          90007963047
22334434A4B261   GUY           MILLIGAN                IA          90004634340
2233445139137B   FREDDIE       HURT                    KS          90012634513
2233489465B531   NICOLE        PAGE                    NM          35001208946
22334A65191522   MARTHA        PULIDO                  TX          75013180651
22335139672B84   DANIEL        DOLAN                   CO          90000401396
223351AA69184B   DARIN         BALES                   OK          21087481006
223352A885B271   DANIELLE      TELLES                  KY          90004802088
2233534474B281   NANCY         COBIAN                  NE          90008863447
22335446A9794B   BRAULIO       CHACLAN                 TX          74011914460
22335879272B88   AMY           SOEHNGEN                CO          33064528792
22335A9519155B   MARTHA        CENISEROS               TX          90001120951
2233612744795B   BARBARA       CARR                    AR          90013681274
2233699975B232   LISA          BOYDE                   KY          68011939997
223369A419155B   ALEJANDRO     OLAGUE                  TX          90013059041
22337A26281637   VASNATHA      LEWIS                   MO          90011790262
2233876385B167   MATTHEW       ALDRIDGE                AR          23030877638
2233884124B588   GINA          SAUCEDO                 OK          90008778412
2233949A24795B   MARIA         CASTANEDA               AR          90007474902
2233968914B261   MARY          PACKETT                 NE          27092746891
22339AA9372B84   NORMA         LUNA                    CO          33006560093
2233B42939136B   VICENTE       HERNANDEZ               KS          90013784293
2233B479987B87   PAY           GO                      AR          90011894799
2233B523231453   MIKE          O LEARY                 MO          27545605232
2233B581A91522   JASON         DUGGER                  TX          90012665810
2233B63924B588   ANITA         COOPER                  OK          90014176392
2233B98A981637   ALINE         NEELY                   MO          90011789809
2233BA9464795B   SUSANLYN      STEPHEN                 AR          90014560946
2234154552B27B   RAHSAAN       RASHID                  DC          90012975455
223418A4672B98   MICHAEL       CURTIS                  CO          33082908046
2234225127B449   CARLOS        REMBENT                 NC          90012692512
2234298517B471   ANTHONY       JUST                    NC          90014969851
22342A7418B17B   PAOLA         CERVADA                 UT          90007930741
22343863A91828   SYLVIA        LOSANO                  OK          21015428630
2234423985B232   ANTHONY       THURMAN                 KY          68045742398
2234428589794B   CECILIA       BARRON                  TX          90015102858
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223444A4291528   SAMANTHA       MORALES                TX          90007074042
2234473449184B   LOUIS          CONRADY                OK          21009817344
2234489945715B   YOCELIN        APARICIO               VA          90000538994
2234534255B271   LYNN           FORREST                KY          68092373425
22345929A72B42   SAMANTHA       MCCARDY                CO          90003049290
22345AA5572B88   KEITH          MARGISON               CO          90010300055
223462A749189B   SHONTA         PITTS                  OK          90006902074
2234684219155B   ARMANDO        CRUZ                   TX          75086718421
2234685A15B531   CHARLES        OGOUING                NM          90006528501
2234696A74B261   JOSE           MARTINEZ               NE          90012389607
22347139672B84   DANIEL         DOLAN                  CO          90000401396
2234738384B281   TEGWIN         MATTHEWS               NE          27095493838
2234774699136B   KAREN          MADISON                KS          29031587469
223477A2691522   PAULINA        VENEGAS                TX          90013727026
22347855A5B531   JOSE           CHAVES                 NM          90006528550
223481A869155B   EZEQUIEL       SANDOVAL               TX          90011291086
223482A1191589   ALVARO         REALYVASQUEZ           TX          90004152011
223484A3161877   ESSIE          REED                    IL         90003264031
223484AA685938   JUSTICE        MORTON                 KY          67096624006
22348682687B87   JACOB          BULLOCK                AR          90015456826
22348764372B88   PAREDES        ELVIA                  CO          33035857643
2234943894795B   ROBERTO        SOLORIO                AR          90014074389
2234B11515B232   LUIS           ALBERTO HERNANDEZ      KY          68061971151
2234B122691541   ENRIQUE        CONDE                  TX          90002101226
2234B3A354B261   WILLIAM        HTOO                   NE          90014823035
2234B66438B17B   JESSICA        WILSON                 UT          31096706643
2234B679A9794B   KIMBERLY       WORTHY                 TX          90010186790
2234B82464B281   HEATHER        BUDKA                  IA          27050298246
2234B87517B471   ROSA           RIVERA                 NC          90007528751
2235162AA4B261   SANDRA         WILSON                 NE          90008336200
22351793872B84   ROBERTA        ARMIJO                 CO          90014717938
22351A3189184B   JESUS          VALDEZ                 OK          21027470318
2235227459136B   ZURIZADAY      SANCHEZ                KS          90001482745
223531A754B261   SAVITRI        HARRINGTON             NE          90014231075
223532A1555957   ISAIAS         VENEGAS                CA          90009772015
2235339854B281   CHRISTIE       BURGESS                IA          27088403985
22353695772B84   HORACIO        VILLEGAS               CO          33088316957
2235393869184B   GREGORY        VANECEK                OK          90000949386
2235416575715B   ADAM VAN       VLIET                  VA          90011151657
2235423229184B   KIMBERLY       STUTZHAN               OK          21023542322
2235433199794B   DIANE          WILLIAMS               TX          90013153319
22354669776B4B   HOWIE STEREN   OVEDIA                 CA          90013976697
2235479718B168   CHELLE         CAW                    UT          31097527971
2235516694B588   DIANA          FLORES                 OK          90011341669
223555A515715B   MOREL          DE LEON                VA          90008015051
2235575A65B232   RACHEL         LIVELY                 KY          90001477506
22356324572B88   JORGE          MORAN                  CO          90014673245
223563A165B161   BENJAMIN       DUCK                   AR          90013113016
22356622987B87   ALEXANDER      DESHERYL               AR          90015306229
2235692A855957   DAVID          LLOYD                  CA          48010259208
22356A4272B931   ANGELEENA      WESLEY                 CA          90003060427
2235775369794B   FELIPE         CUA                    TX          74087887536
22357A44581661   KYAUNNA        ROBINSON               MO          90013740445
22358373687B87   FELICIA        MILLER                 AR          23032083736
2235851589794B   VICENTE        ALVAREZ                TX          90015045158
2235881A74B261   THOMAS         SOBETSKI               NE          27046558107
2235925139155B   MARIA          TERRAZAS               TX          90002742513
22359A59487B59   DERICK         WALKER                 AR          90014290594
2235B142872B88   ALLISON        LEON                   CO          90013621428
2235B762981638   CHARLES        HAMPTON                MO          29042517629
223612A329155B   ROCKIE         GALFORD                TX          90011712032
223613A692B27B   JANAE          THOMAS                 DC          90012843069
2236147644B261   JOSE           MARTIN                 NE          90000204764
2236151274795B   FLOR           CAMACHO                AR          90010655127
2236179895B167   KENT           KRAMER                 AR          23081457989
22361891672B88   KUSONDRA       ABEYTA                 CO          33092718916
22362337972B88   LAKIE          GUITON                 CO          90002983379
223625A889794B   DELILAH        LOFTON                 TX          74001965088
2236286895B232   APRIL          CARTER                 KY          68080668689
2236314349794B   LONNIE         WILLIAMS               TX          74019671434
22364242672B84   CLAYTON        PUPPE                  CO          33032552426
2236463284B261   SARAH          HATFIELD               NE          27058616328
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22364735787B59   PRECIOUS      SANDERS                 AR          90010207357
2236478984B588   SANTOS        AUSENCIO                OK          90010367898
22365145472B42   LOUIS         GONZALES                CO          33048231454
2236514929794B   WILLIAM       EY CAR                  TX          90014701492
2236526599155B   GLORIA        CUETO                   TX          75074082659
2236531489794B   JACQUELINE    BIRCHER                 TX          90008033148
2236547229794B   JOSE          TUMAX                   TX          90008154722
2236591679184B   KRISTI        MCCOY                   OK          90005889167
2236596A44B261   ROD           KRINGS                  NE          27082299604
22365A85772B88   PAOLA         MEDINA                  CO          33029380857
2236621449136B   FLORA         MOYA                    KS          90004172144
2236667695B167   TRUDY         RUSSELL                 AR          90013516769
2236668A65715B   ROBERT        DOYLE                   VA          90013136806
22366832A9794B   PAYGO         IVR ACTIVATION          TX          90012248320
2236686A631453   MARKEITTA     JORDAN                  MO          27523228606
2236762552B27B   KATHERINE     EDITH                   DC          90015106255
2236784248B17B   AGUSTIN       GODINEZ                 UT          90010718424
22368434387B59   BRITNEY       WILSON                  AR          90015294343
2236848A65B571   DIANE         MCMAHAN                 NM          35004414806
223684A7255957   HERBERT       SENEGAL                 CA          90014804072
22368947772B84   CHARLOTTE     RODGERS                 CO          90006249477
2236949A372B84   LUC           DOMINGUEZ               CO          90009614903
2236B12135B139   ROY           LEONARD                 AR          90000211213
2236B1A4A5B571   MARSHA        WAY                     NM          90006801040
2236B26462B27B   JAY           PAUL                    DC          90014442646
2236B412281661   ALEXIS        SMITH                   MO          90014004122
2236B65872B931   ANTHONY       BACA                    CA          45033636587
2236B731272B84   FELIX         SAENZ                   CO          90012317312
22371116372B98   NALLELY       CRUZ SANCHEZ            CO          33020941163
2237129585B128   JACKIE        FERGUSON                AR          90010352958
22371697A2B27B   DONTE         WILLIAMS                DC          90011106970
223716A349155B   ANGEL         CHUCA                   TX          90012966034
22371975276B52   RAFAEL        CISNEROS VILLANUEVA     CA          46095459752
2237314A561939   ARMANDO       TIZNADO                 CA          90005681405
22373623A9184B   TOM           DATEMAN                 OK          90013426230
223736A2791522   GUADALUPE     ROSALES                 TX          90009936027
223737AA39794B   MANUEL        XOCHOLEJ                TX          90012757003
22373888172B42   YULHENNY      CORTEZ                  CO          33071378881
2237436485715B   MARIA         CAYABYAB                VA          90012973648
2237459775B232   DELMY         CASTRO                  KY          90008745977
223746A5991541   CHRISTINA     LOPEZ                   TX          75045146059
2237531984B588   SHALENA       HOLMAN                  OK          90012963198
2237583335715B   ALEXANDRO     AGUILAR                 VA          90013958333
22375AA1A9155B   DANIEL        QUEZADA                 TX          75058760010
2237624919794B   NAZARIO       CHAY                    TX          74050532491
2237628534B588   CHARITY       WHITE                   OK          90015022853
2237641A641245   TRACEY        BURKE                   PA          90003294106
22376799887B59   LATOYA D      BENSON                  AR          90003817998
223767A2591541   STEPHEN       AGUILAR                 TX          90014177025
22377279A91828   SAMANTHA      ESPINOZA                OK          90003622790
22377834572B88   MANUEL        MARTINEZ                CO          90013068345
223793A942B27B   OCTAVIOUS     WILLIAMS                DC          90012843094
2237967445B232   DEASIA        HUGHES                  KY          90014876744
2237967A647952   BRENT         PRESTON                 AR          90010586706
22379713A9155B   CIRILO        VARGAS                  TX          75021007130
2237B139672B84   DANIEL        DOLAN                   CO          90000401396
2237B46889794B   SANTIAGO JR   RAMIREZ                 TX          90013114688
2238193189189B   MEGAN         HARTMAN                 OK          21070689318
22381A48391522   MARIA         FRYRE                   TX          90013810483
2238258539155B   KARINA        CARO                    TX          90006445853
22382879A4B281   WILLBRAND     LILIAN                  NE          90000838790
2238355777B449   THELMA        MITCHELL                NC          90013305577
22383574A87B87   MALLORY       FLUKER                  AR          23045945740
22384139672B84   DANIEL        DOLAN                   CO          90000401396
2238526147B449   MAURICIO      LUZ                     NC          90009592614
223856A2991522   RAUL          MARTINEZ                TX          90011036029
2238624494B261   MICHAEL       SUNCLADES               NE          27019612449
22386248287B59   NIKINA        ACKLES                  AR          90015112482
2238625792B27B   KEIRA         LEWIS                   DC          90014552579
2238651A89155B   CHRISTOPHER   PORTILLO                TX          90014645108
2238672485B571   JOSEPH J      ANDRADE                 NM          90011237248
22386A32985938   RAMON         CANO                    KY          67087710329
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2238839832B27B   JAMES         WILLIAMS                VA          90015113983
22388867587B87   ERIKA         TRICE                   AR          90015068675
22388A97A91541   ESPARZA       ELIAS                   TX          90005070970
2238957749155B   SALVADOR      CASTILLO                TX          90013415774
2238963739794B   JENNIFER      SHANNON                 TX          74024616373
2238974987B471   JOSEPH        HOLLAWAY                NC          11013367498
2238988165B139   FELICIA       COOPER                  AR          90008478816
2238988929184B   MATIAS        DIAZ                    OK          21057008892
22389A63661996   SUSANA        DE LA TOBA              CA          90003650636
2238B17927B471   PATRICIA      FORCE                   NC          90009471792
2238B69434B588   TAMARA        PRIETO                  OK          90012426943
2238B746A91528   DAVID         MIRANDA                 TX          75092907460
2238B81269794B   SECUNDINO     CUA                     TX          90006838126
2239217A555957   CONSTANCE     RUSSELL                 CA          90003831705
2239247749155B   ALEJANDRO     RUIZ                    TX          90014644774
22392AA1491828   JOSEPH        BARRON                  OK          90010190014
2239324A391522   VERONICA      QUINONEZ                TX          75011352403
223934A4491828   MANUEL        MATOS                   OK          21084424044
22393646A55957   ROYCE         SMITH                   CA          48034636460
2239456275B161   SARAH         PARSONS                 AR          23032055627
2239541325B161   SHELL         THOMF                   AR          90011064132
2239618625715B   FORTUNATO     SARMIENTO               VA          90012341862
22396584787B59   PAMELA        HUBBARD                 AR          90013465847
2239682957B449   DESMOND       ROBBS                   NC          11052658295
22397262587B87   PAYGO         IVR ACTIVATION          AR          90010132625
22397722387B59   STACY         DAVIS                   AR          90014587223
22397889A4B261   GICELA        AYA;A                   NE          90004828890
2239799742B86B   KYMBERLEE     PARKER                  ID          42077739974
223982A477B644   NADIA         JENKINS                 GA          90005212047
22398335387B87   ANDREA        WILSON                  AR          23077653353
2239917A531453   TYDE          WEIL                    MO          90011021705
2239948A555957   PATRICIA      GOMEZ                   CA          48053114805
22399589672B84   LADAYSHIA     ALARID                  CO          90013245896
223996A6791522   JOSE          ANDAZOLA                TX          75017826067
2239B36642B27B   RUNYANRARO    MPUNDU                  VA          90005613664
2239B51A89155B   CHRISTOPHER   PORTILLO                TX          90014645108
2239B842287B59   KAREN         WALKER                  AR          23003618422
2239B84239136B   SALLY         COKER                   KS          29075268423
2239B92649184B   HELEN         STAAB                   OK          90015099264
2239B95A291241   SHAKETA       DAVIS                   GA          90002969502
2239B963176B4B   RAUL          SOTO                    CA          90012339631
223B14AA481661   MARQUIS       CLORK                   MO          90013704004
223B171199184B   BRONSON       BROWN                   OK          21071567119
223B1A7A855957   RICK          VANDERFORD              CA          48024440708
223B2141255977   TWYLA         MUSKRAT                 CA          90014611412
223B2426A91251   JEREMY        JONES                   GA          90014614260
223B276895715B   IRVING        MCCULLOUGH              VA          90009937689
223B2775272B84   JORGE         RODRIGUEZ               CO          33021767752
223B2814787B87   NICOLETTE     DAVIS                   AR          90012438147
223B2827172B42   JUAN          HERNANDEZ               CO          33026978271
223B2A16972B88   ASHLEY        HERNANDEZ               CO          90012120169
223B315455715B   MENFIL        MENJIVAR                VA          90013561545
223B33A842B27B   JANICE        RICHARDSON              DC          81005353084
223B3431372B98   RUBEN         VILLAFAN                CO          33072644313
223B343537166B   ADRIAN        JONES                   NY          90015564353
223B3653591828   JODIE         KOBIELUS                OK          21043526535
223B574315715B   ONAN          PEREZ                   VA          90003607431
223B5769347952   MATTHEW       HUBBARD                 OK          90013947693
223B5A68791528   MIREYA        GODINEZ                 TX          75020620687
223B6426A91251   JEREMY        JONES                   GA          90014614260
223B644182B841   JOSEPH        STALFORD                ID          90000334418
223B6718691522   NORMA         GIBBONS                 TX          90011947186
223B728AA5715B   MARCOS        CORONADO                VA          90001342800
223B7595791241   MONISHA       DAY                     GA          14573255957
223B7922472B84   JOHNNY        PALOMO                  CO          90012519224
223B7A5432B27B   EBONY         CARROLL                 DC          81007510543
223B7A6135B571   RICHARD L.    TORRES                  NM          90014780613
223B855314B261   STEPHANIE     SCHNABEL                NE          27045505531
223B878234795B   KIM           PELLIN                  AR          90011747823
223B8A9235B167   FREDDIE       JORDAN                  AR          23062230923
223B913155B571   JESUS         BARRAZA                 NM          90000711315
223B9193791251   CHRISTOPHER   HAWKINS                 GA          90014681937
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223B929687B471   RANDALL         DEBRUHL               NC          11080842968
223B941675715B   ZACHARY         LUCAS                 VA          81088854167
223B943385B161   LYQUITA         DOCKERY               AR          90014874338
223B94A8891828   ALICIA          MARTINEZ              OK          90004694088
223BB19838B168   SHANDA          SMITH                 UT          90011441983
223BB24579155B   ABUNDIO         RODRIGUEZ             TX          90004962457
223BB83578B16B   RANDY           SALIBY                UT          90001388357
223BB934593762   KORI            BLESSING              OH          90012509345
2241127194795B   JESSE           PASCHAL               AR          90014682719
2241135679189B   THERESA         HAVLICK               OK          90002203567
22411386972B88   JEANALL         VASQUEZ               CO          33076313869
22412386387B87   LAKISHA         SIMMS                 AR          90015203863
22412649A8B17B   JEFF            KARSCH                UT          31017336490
22412A9269136B   SARA            LEEKER                KS          90012610926
2241317197B471   ZENOBI          SCOTT                 NC          90014461719
22413185472B42   DAVID           CERCEDA               CO          33047881854
22413639A87B59   PAYGO           IVR ACTIVATION        AR          90014596390
22413691472B84   SHANTE          SIMPSON               CO          90011246914
2241389482B931   CECILIA         ALMANZA               CA          45087718948
2241396A885938   CHLOE           CAREY                 KY          90014709608
2241435379155B   VERONICA        AVILA                 TX          90011713537
22415166687B87   JEREMIAH        CLARK                 AR          90014351666
2241531825B161   ROOSEVELT       WILSON                AR          90011093182
2241537933B329   SALVADOR        ALCANTAR ROMERO       CO          33093153793
2241554A851333   TONYA           HICKS                 OH          90008785408
2241635379155B   VERONICA        AVILA                 TX          90011713537
2241672A981661   AARON           SAXTON                MO          90014347209
2241698939794B   VERLISCIA       STARKS                TX          90014739893
2241787A77B449   VERIKIDA        GIBBS                 NC          90009498707
2241828218B168   ROSA            TERRY                 UT          31024392821
2241838415B531   NORMA           QUEZADA               NM          90013553841
22418674687B59   LATESHA         JOHNSON               AR          23091196746
2241885285715B   ERICK           ESCOBAR               VA          81016428528
224191A3A72B84   ERNESTO         RANGEL                CO          90013801030
224192A1791251   MARLA           CREWS                 GA          14508982017
22419829372B88   MARIO           CRUZ                  CO          90013068293
2241B199185938   SAMUEL          MOCK                  KY          67045351991
2241B7A237B471   JOSCELYN        BROWN                 NC          11049517023
2241BA1425715B   MARELYN         HERRERA               VA          90012140142
224212AAA9794B   JOSE            TUMAX                 TX          90006372000
2242156A381661   RICKY           ALEXANDER             MO          29081545603
22421941A72B88   DAWAUNE         ELLIS                 CO          33060149410
224221A2241245   ROBERT          PASKEVICH             PA          90002181022
2242231319155B   JUAN            JURADO                TX          90014943131
22422822572B88   RAUL            ROSAS                 CO          33059768225
2242359279184B   RONALD          MCMORRIS              OK          90014875927
2242365339184B   STEPHANIE       MOORE                 OK          90014856533
22423A25A85938   DEBBIE          PEACOCK               KY          90014730250
22423A86147952   CAYSEY NICOLE   DUTTON                AR          90014240861
22424328A72B88   MALENA          HERNANDEZ             CO          90014673280
22424479372B84   ALYSHA          ADAMS                 CO          90010414793
22424A9315B161   PATRICIA        WILLIAMS              AR          90006290931
2242559875715B   JOSE            ORTIZ                 VA          90010045987
2242566A155957   BENITO          CASILLAS              CA          90003876601
22425812A9155B   EDNA            CHAIDEZ               TX          75096878120
22425859A7B449   ELFIDO          LOPEZ                 NC          90002408590
22425887A72B88   CHERON          JOHNSON               CO          90014718870
2242592328B168   JAMES           JENSEN                UT          31054499232
22425A62585938   KENDRA          EDMONDS               KY          90014720625
2242646315B271   ANGELA          FAULKNER              KY          68005284631
2242667535B571   NITA            HORTTOR               NM          90014866753
2242681624795B   LARONDA         CAMPBELL              AR          90014708162
22426A88185938   LUIS            MARTINEZ              KY          90000170881
2242788635B144   HAIRSTON        PAMELA                AR          23097728863
22427A76A9136B   TRUDY           NELSON                KS          90015170760
22428188987B87   KIM             WILBURD               AR          90015241889
2242826AA91241   CHRISTOPHER     SIMS                  GA          90013242600
2242844219155B   OFELIA          PRIETO                TX          75075314421
2242867165715B   ERVIN           FIGUEROA              VA          90013766716
22428697372B84   ANA             HERNANDEZ OLIVARES    CO          90015126973
2242869769184B   BRANDIE         MCNACK                OK          90000806976
22428A62585938   KENDRA          EDMONDS               KY          90014720625
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22428A83587B87   ALEXUS       SMITH                    AR          90015260835
22429384487B87   JULIE        THOMPSON                 AR          23028163844
2242944355715B   MICHAEL      ALEXANDER                VA          90013974435
22429636A72B98   ELVIA        PINO                     CO          33021206360
22429A62585938   KENDRA       EDMONDS                  KY          90014720625
2242B845472B88   JOSE         SOSA-VIDANA              CO          33040668454
2242B93A772B84   REINIER      MEZQUIA                  CO          90011439307
22431374498B72   JOSE         PAREDES                  NC          90001483744
22431718987B87   CARMELETTA   LONG                     AR          90014117189
22431951172B88   ALEXANDRA    VIALPANDO                CO          90013919511
22432271287B87   FELICIA      DABNER                   AR          90006132712
2243261895B571   ROBERT       WILLIS                   NM          90007526189
2243286898B168   ORLANDO      NELSON                   UT          31045098689
2243377A972B42   BRANDON      SENA                     CO          33069487709
2243395885B232   THOMAS       MYER                     KY          90009209588
22434111A4795B   HEATHER      COLEMAN                  AR          90009531110
2243423975715B   SHEHIN       ESKANDARY ZADEH          VA          90013182397
2243443285B232   DENISE       PEEK                     KY          68031234328
2243454314B281   MARY         DIVIS                    NE          27038175431
22434741687B87   MATTHEW      REED                     AR          90002597416
22434895172B42   JENNIFER     DUTTON                   CO          33013608951
22435376272B42   GERARDO      ACEVEDO                  CO          33006533762
224354A544795B   MORENA       BARRIENTOS               AR          25081184054
22435769872B84   RICHARD      LANCER                   CO          90013867698
22435A8252B86B   BAUDELIO     FLORES GUERRA            ID          90000220825
2243656997B449   ANTHONY      REDFEARN                 NC          11065215699
22436589672B84   LADAYSHIA    ALARID                   CO          90013245896
2243697A387B59   CASSANDRA    MCKAY                    AR          23081939703
2243698519189B   JOSHUA       RIOS                     OK          21085549851
22436A12587B59   BRITTANY     JACKSON                  AR          90010280125
2243721A44B588   JESSICA      STEVENS                  OK          90015002104
2243823124795B   NELLY        VILLEGAS                 AR          90014152312
2243883345B571   HUGH         COLEMAN                  NM          90014038334
2243912735715B   DANIELA      COAQUIRA                 VA          90012361273
22439143A85938   JOSE         MORALES                  KY          90014721430
22439159772B88   MARIA        PICAZO                   CO          33091551597
2243B22714B588   CHARLES      LEWIS                    OK          90015502271
2243B291185955   HUGUES       ITOULA                   KY          67015822911
2243B828555957   ROLANDO      TRULLIO-CARREON          CA          90015318285
22441248A55957   RICHARD      MAYER                    CA          90012262480
22441337372B98   CHANTELLE    HART                     CO          90002053373
2244138A24B293   JANEE        FORD                     NE          90007453802
2244174A891541   EDWARD       MIRELES                  TX          90014527408
2244185119794B   LILIANA      CASTILLO                 TX          90015098511
224418A6372B84   DAVID        NEWTON                   CO          90013048063
2244227592B27B   LAKENDRA     NELSON                   DC          90012862759
22442391A87B87   ALTHEIA      WILEY                    AR          90009793910
22442715A31631   SHERRY       DAWSON                   KS          22021257150
22442A23485938   SHANNON      MATTINGLY                KY          90005240234
224434A7172B88   KARLA        DURAN                    CO          33059224071
22444619A93727   DAJUAN       DELOACH                  OH          90007596190
2244531A672B98   MARIA        MILAGROS                 CO          33026223106
2244548284B261   WILLIAM      RUSH                     IA          27062074828
224454A3A5B271   REBECCA      JONES                    KY          90008004030
2244551994B281   NICK         RADLOFF                  IA          90006365199
2244666539155B   ERIC         HERNANDEZ                TX          90014656653
2244698514B281   LUCIA        NAVAREZ                  NE          27008539851
2244713A591251   ERNESTO      LOSALA                   GA          90015191305
2244744757B449   EMANUEL      GOODING                  NC          90006184475
2244844A87B449   JACQUELINE   ALAS MORATAYA            NC          90001734408
2244878A45715B   VICTOR       ANDRADE                  VA          81034187804
2244892289155B   AITEE        ZETINA                   TX          90013159228
224493A2A9794B   ALEJANDRA    GUAJARDO                 TX          90014823020
2244952385B571   KEVIN        RAEL                     NM          90013415238
22449652772B98   PAUL         BALANGA                  CO          90014366527
2244B23417B471   EVELYN       WRIGHT                   NC          11088062341
2244B283591522   MARTHA       MERAZ                    TX          75011642835
2244B42329155B   LAURA        ERIVES                   TX          75012414232
2244B47559189B   TAYLER       SHELLY                   OK          90010334755
2244B48465715B   MARIO        QUIROA                   VA          90015034846
2244B574A87B59   MALLORY      FLUKER                   AR          23045945740
22451317A2B27B   DEWAYNE      HARVEY                   DC          90008153170
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2245135628B533   ROSA          CASTILLO LOPEZ          CA          90015313562
22452325672B84   ASHLEY        RAMIREZ                 CO          33096833256
2245251789155B   RUBEN         LARA                    TX          90014645178
2245311A274B79   RICHARD       MASON                   PA          51027491102
22453857A72B84   JANET         MENDEZ                  CO          90014518570
2245425A591522   LETICIA       VILLEGAS                TX          90009702505
2245428A64795B   MISTY         HANCE                   AR          90013332806
2245546A472B84   CYNTHIA       AMMONS                  CO          33080354604
224554A1472B84   NIEVES ADAN   MORALES                 CO          90015034014
2245571299189B   JEFFREY       USNICK                  OK          90012747129
22456266972B88   CHRISTOPHER   BEAULIEU                CO          90004582669
224563A844B261   CHRISTIAN     NAVARRETE               IA          90015023084
22456618A4B588   CHEALSEA      BILBREY                 OK          90013106180
2245748427B449   BETHSAIDA     FALCON                  NC          11045474842
224574A7955957   CHRISTOPHE    TAYLOR                  CA          48032414079
2245754A55B167   AMY           EVANS                   AR          90013795405
22457585A4B541   DANIELLE      WALKER                  OK          90012585850
2245772A45B232   CHARISSEE     BROWN                   KY          90009537204
224578A422B27B   SHANDY        LYLES                   DC          90012548042
22457A8615B271   CORNELIUS     HENRY                   KY          90014620861
2245812199189B   JIM LEE       VANWINKLE               OK          90001441219
2245824465B232   SEAN          SMALLWOOD               KY          90013702446
22458359272B42   LENORA        DOLORES GALVAN          CO          90006323592
22458848A9136B   DB            RAI                     KS          90011478480
2245915555B232   TRACY         WITKOSKY                KY          68016881555
22459223887B87   RODRICK       MILLER                  AR          90011932238
22459525472B42   ALEX          ROSALES                 CO          90012075254
2245982655715B   MARTIR        ORTEZ                   VA          90014398265
2245B263731453   LORENZO       SMITH                   MO          27567202637
2245B411272B42   CRYSTAL       LOVATO                  CO          90013024112
2245B448285938   TERESA        LOWERY                  KY          67045274482
2245B5A935B161   ADRIANNA      STEWART                 AR          23037265093
22461321A47952   CANDANCE      TRAN                    AR          90014783210
224626AA89189B   JAMES         WILLIAMS                OK          21076186008
22462A4157B471   CYNTHIA       MORALES                 NC          90013800415
22462A7934B251   KALI          PARDEW                  NE          90005200793
22463247272B88   LENEDRA       ANN                     CO          90011342472
22463398A5715B   THOMAS        VARDAMAN                VA          90012983980
22463A1224B588   KENNETH       ALEXANDER               OK          90011190122
2246423328B17B   ELIZABETH     RODRIGUEZ               UT          90005702332
2246458597B644   MONA          TARVER                  GA          90014025859
22464986672B84   RAUL          RESENDIZ                CO          90000499866
2246527232B27B   ROOSERVELT    SIMPKINS                DC          90000172723
2246547A251369   ROB           FELTS                   OH          90001274702
22465646A4B261   LISA          SANKEY                  NE          90014906460
2246566264B58B   RAYMOND       JOHNSON                 OK          90011296626
2246566757B471   SHALAUNDRA    DIXON                   NC          90010266675
22465A2444B588   JODI          GREEN                   OK          21530420244
22466192587B59   NICK          JORDAN                  AR          90013041925
2246646844795B   NICOLE        JUDA                    AR          90011904684
22466592772B88   MUOI          TRAM                    CO          90008295927
22466A8869136B   AISHLEE       MCCRAY                  KS          90013850886
2246717687B449   JERNARD       HORNE                   NC          90010901768
2246739378B17B   LYNN          GARRETT                 UT          90005843937
2246754569184B   MIGUEL        ARREOLA                 OK          90012905456
2246771828B168   DUANE         JORGENSEN               UT          90004257182
22467A9619794B   JESUS         GUERRA                  TX          90008120961
22468922772B88   YOLANDA       VARELA                  CO          33024809227
2246913489189B   RAUL          HERNANDEZ               OK          90011831348
2246948AA55957   CESAR         VARGAS                  CA          90009084800
224695A218B168   ADRIANE       NUNN                    UT          90011815021
2246B3A1191828   CRYSTAL       STARR                   OK          90010933011
2246B51939155B   CASEY         KNIGHTON                TX          90014645193
2246B52975B571   BRIANA        ALDERETE                NM          90013415297
2246BA3164B588   MIGUEL        VAZQUEZ                 OK          90010340316
224728A585B571   ESTEVAN       SEDILLO                 NM          90011238058
2247342612B27B   KENDRA        JONES                   DC          90010314261
2247352779155B   LARRY         RODRIGUEZ               TX          90014645277
2247366883B384   ISABEL        CHACON                  CO          90008076688
22474126487B87   DOROTHEA      WILLIAMS                AR          23088461264
22474489A87B87   BRIENDA       PORTER                  AR          90013834890
224745A9355957   MAGALY        PALACIOS                CA          90012745093
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2247478779794B   KELLY        KREINBRING               TX          90014767877
2247492264795B   ANNAROSE     LAKABUN                  AR          90011029226
22474955272B42   LEE          JOOS                     CO          33069809552
224749A429136B   LAVONNE      SINGLETON                KS          90009369042
22475349672B88   YESSENIA     VARGAS                   CO          90013603496
22475396672B42   DAVE         DAVIDSON                 CO          90010153966
2247574149794B   RYAN         MCWHORTER                TX          90009407414
2247575415715B   HIWOT Y      LEMMA                    VA          90015177541
22475A69787B87   JOYDASHIA    LOVE                     AR          90015450697
22475A7745B161   KENZIE       MCDANIEL                 AR          90010290774
2247619515B571   ANGELICA     NEGRON                   NM          90013861951
224766A9191541   CRISTINA     OROZCO                   TX          90011926091
2247679634B588   MARSHAY      HALL                     OK          90014767963
22476A95191828   BRYAN        WATASHE                  OK          90010880951
2247814317193B   HECTOR       ARANDA                   CO          32080271431
22478376A4795B   ELIZABETH    LOVETT                   AR          90014263760
22478814372B88   JOSEPH       ABEYTA                   CO          90004128143
22478A2AA24B6B   JOSE         SOTO                     VA          81015850200
22479559A72B88   DENNIS       FREIBERG                 CO          33018195590
22479A3217B471   MARCIA       BARRINE                  NC          90014740321
22479A72672B84   NATHAN       LUCERO                   CO          90012790726
2247B798787B87   SANDRA       BISHOP                   AR          23072177987
2247B862A2B27B   PATTIE       LEMONS                   DC          90008628620
2247B887281668   JOHN         BROWN                    MO          90004688872
22481796A5B232   YANEISY      CARDENAS                 KY          90008987960
22481A18591828   ERITA        GIRON                    OK          90014550185
22481A51791522   MARTHA       ALVIDREZ                 TX          75063570517
2248248975B232   KIAWANNA     HOPKINS                  KY          90010204897
22482814372B88   JOSEPH       ABEYTA                   CO          90004128143
22482A76391522   KRESSNHA     MARQUEZ                  TX          90009330763
224831A7447952   TRAVIS       CHANEY                   AR          90012311074
22483243987B87   LAKEISHA     LEE                      AR          90014592439
2248333A987B59   SHERRY       WITHERSPOON              AR          90009923309
2248371425B271   ANDREA       PERRY                    KY          90015107142
2248371919189B   SETH         ARREDONDO                OK          90001467191
2248372A14795B   KARINA       WORTMAN                  AR          90010717201
2248386224B281   STEPHANIE    MCNERNEY                 NE          90009988622
2248432617166B   CASSONDRA    ROBINSON                 NY          90013583261
2248445559155B   LUCERO       CORTEZ                   TX          75032174555
2248449114B588   KYLE         BARNES                   OK          90013754911
2248458715715B   MARIA        IGLESIA                  VA          90013025871
224845A637B449   NICOLE       HOBSON                   NC          11093475063
22484887387B59   JOSEPH       CRAIG                    AR          90015288873
22484A88455957   RACHEL       SANCHEZ DE CARRERA       CA          90015100884
2248512115B232   SUSIE        CHRISTENSEN              KY          68016441211
22485199687B87   NATINA       CUMMINS                  AR          90015131996
2248524A293723   GARY         GILKEY                   OH          90007482402
224863A575B571   RICARDO      ORONA                    NM          90012613057
224865A787B471   DINIA        ALEMAN                   NC          90001215078
2248766477B449   JORGE        ALBERTO                  NC          90014526647
2248782415B161   TAYLA        HOSEY                    AR          90011308241
2248786969136B   DEBRA        MORRIS                   MO          90011968696
2248787365B571   JOSHUA       ORTIZ                    NM          90014038736
22487887472B84   JOSE         CHANEZ                   CO          90007848874
2248791915B232   TERRISHA     FRANKLIN                 KY          90014059191
2248794715B271   SHANAY       SOLOMON                  KY          90009949471
2248825A47B471   MIKE         GRAHAM                   NC          90000232504
2248841A15715B   KENNETH      CAISON                   VA          90012834101
22488437A91528   JOSE         ENRIQUEZ                 TX          75088004370
2248887815B571   ALMA         SERVIN                   NM          90014038781
2248894444B588   TINA         EMAM                     OK          90006439444
2248919475B232   THOMAS       STYERS                   KY          90009991947
2248945A791541   LORENA       PACHECO                  TX          90011494507
22489486572B42   JASON        BIADO                    CO          90004344865
22489755987B87   JAMES        HAMPTON                  AR          90009077559
2248B41177B449   ANDREW       GODDINS                  NC          90010734117
2248B516572B84   INMER        SANTIZO                  CO          33009925165
2248B685A91522   DAVID        AGUAYO                   TX          90015226850
2248BA7495715B   EDGAR        GARCIA                   VA          90010220749
22491726A2B27B   CHRISTOPER   ARMSTRONG                DC          90013587260
2249179624B588   KRISTY       LITTLESUN                OK          90007797962
22491991772B88   PRISCILLA    PRYOR                    CO          33054899917
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22492226A91522   ANGELICA      ROCHA                   TX          90010382260
224926A2891541   AMBER         BLYSTONE                TX          90013306028
2249288A35715B   GERMAN        CASTRO                  VA          90012698803
22492A86691828   PARIS         WILLIAMS                OK          90014810866
2249352545B161   PATRICIA      BAKER                   AR          23024655254
2249366224B588   CHARLES       LOWE                    OK          90011126622
2249374694B261   JAMIA         GARRETT                 NE          90013187469
2249456179189B   JARED         PILGRIM                 OK          90003455617
22495838672B88   JOSE          ESTRADA                 CO          90013068386
22495A1484B261   GINA          LOVE-AGUILAR            NE          90005620148
224963A285B571   MARGARITO     LOPEZ                   NM          90010733028
2249663938B137   ALECIA        PULLEY                  UT          31031826393
224968A1891541   CLAUDIA       JASSO                   TX          90011238018
22496A2849794B   EVER          RODAS                   TX          90011910284
22496A3975715B   MARIA         ROMERO                  VA          90008130397
2249766A95B571   JUAN          BARRAZA                 NM          90010826609
2249767165715B   ERVIN         FIGUEROA                VA          90013766716
2249821858B17B   LUIS          PENNA                   UT          90004572185
2249821899189B   ALEXANDRA     FOREMAN                 OK          90013122189
224983A3151369   KAYLA         CARPENTER               OH          90006723031
22498741772B84   RACHEL        YEREBECK                CO          90012667417
2249879A255957   ALEXJHANDRE   HOOPER                  CA          90011377902
2249953912B27B   SHAWNITA      JONES                   DC          81046335391
2249956964795B   KASKO         LOEAK                   AR          90013515696
2249957915B271   SAMANTHA      DAVENPORT               KY          90009635791
2249985675B232   ANDREW        HARP                    KY          90009638567
2249998147B471   VICTOR        WALTON                  NC          11012119814
224999A849136B   CHRISTOPHER   KIRBY                   KS          90011949084
2249B428691541   ABIMOLA       ALLEYNE                 TX          90010684286
2249B836272B88   JOSE          ZAMARRIPA               CO          90013068362
224B2145547952   JESSICA       CHAU                    AR          90015011455
224B2171147883   MICHELLE      CUTHBERT                GA          90010481711
224B2726A55957   DAVID         GUTIERREZ               CA          48021017260
224B2795691522   GARY          JOBE                    TX          90013027956
224B29A4472B88   MELISSA       PEREZ                   CO          33069399044
224B3752A91541   CARLOS        ROSALES                 TX          90004627520
224B3813572B88   MIGUEL        ROMAN                   CO          90014678135
224B398A155936   MARIA         GOMEZ                   CA          90011519801
224B45A9691241   TAMEKA        HOOKER                  GA          90013085096
224B4A9385B271   DANNY         BRIDWELL                KY          90013900938
224B512489184B   STEPHEN       WILLIAMS                OK          21056951248
224B539565B232   ROBERT        MILLER                  KY          90011453956
224B5399491241   SHERON        ROBINSON                GA          90014813994
224B576352B931   WILLIAM       BURTON                  CA          90005847635
224B5774772B84   SERGIO        CARO                    CO          90013807747
224B7565281638   RHONDA        DENNIS                  MO          29001105652
224B7A48455957   LORRAINE      SAMUELS                 CA          48082190484
224B922185715B   LISANDRO      MARTINEZ                VA          90012102218
224B9715585938   ANGEL         JACKSON                 KY          90002407155
224B9731372B42   PHILLIP       YOUNG                   CO          90005827313
224B9A19187B59   OLISE         BROWN                   AR          90014590191
224B9A69A9794B   JUSTIN        WALKER                  TX          90013570690
224BB43217B471   JAZMINE       JERELDA                 NC          90015534321
224BB43A172B84   ALTHEA        BAKKE-LYSAKER           CO          33096104301
224BB64A65B232   COREY         FLETCHER                KY          90012906406
224BB818A91251   HEAVEN        WHITLEY                 GA          90009158180
224BB97337B471   CIERRA        ROYAL                   NC          90012789733
224BB976A87B87   DEWAYNE       EVANS                   AR          23034499760
2251123117B471   KIMBERLY      PROCTOR                 NC          11084262311
2251128A172B88   CHRISTABEL    AGUIRRE                 CO          33072702801
2251148174B261   TASSERE       KABORE                  NE          90013434817
2251185285B571   MAYRA         ATILANO                 NM          90014868528
2251189419155B   EMMA          ESPARZA                 TX          90011418941
2251189AA8B168   TAMARA        SHAW                    UT          31018138900
2251199789189B   NATHAN        ORAND                   OK          90014759978
2251223795B531   MARCELA       ROMAN                   NM          35089512379
2251258515B232   TRACY         STARR                   KY          90012145851
225131A129184B   KAREN         DAVIS                   OK          90013661012
2251348A53B391   JAY           JOHNSON                 CO          90010944805
225139A2587B59   MARIA         GABLE                   AR          90014629025
22513A88991828   TRAVON        PETE                    OK          90014810889
2251432635B232   TEDD          LOGSDON                 KY          90014703263
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225144A3185938   MARIO            PEREZ                KY          67016114031
22514577272B98   GABRIEL          LOPEZ                CO          33034495772
22515132187B87   NATASHA          COOPER               AR          23075801321
2251529682B27B   AHMED            BASTO                VA          90012532968
22515A96972B42   MANUEL           ORTIZ                CO          90014950969
2251631389155B   JESUS            RODRIGUEZ            TX          90014813138
22516482687B87   DONTA            MAYWEATHER           AR          90015404826
2251697817B449   DONNA            PORTER               NC          90012759781
22517289A91241   RONALD           HOLLAND              SC          90012812890
22517319272B42   MARCOS           RASCON               CO          90011863192
225176A949155B   ROBERT           HANLON               TX          90013416094
225176A9691828   FELICIA          BUCHANAN             OK          90012976096
2251784385715B   JOSE             MEJIA                VA          90010778438
22517953287B87   GENE             GIVENS               AR          90013539532
22517A5345B161   NATALIE          RICE                 AR          23013930534
22517AA114B261   DOUGLAS          WATSON               NE          90009190011
2251873A191541   HECTOR           ZUBIA                TX          75015427301
2251952A74B588   PRECILLA         ACOSTA               OK          90011085207
2251961637B449   MARTINEZ         TEODULO              NC          90011916163
2251964724B588   GUMAYO           LUBANO               OK          90010806472
225197A1755957   JESSICA          ENRIQUEZ             CA          90012297017
2251987195B232   LATOYA           REED                 KY          90011488719
2251BA4A12B27B   BAYLINDA         WASHINGTON           DC          81013050401
2252233965715B   BASHIRU          KANU                 VA          90006403396
225225A485B271   STEVEN           CARR                 KY          90013755048
2252271352B27B   MERCEDEZ         MILLING              DC          90013147135
225241A714B588   HILARIA          MORALES              OK          21555891071
2252421635B232   DOMINIQUE        THOMAS               KY          90014742163
2252424824B52B   HEATHER          WEBER                OK          90009142482
22524337A72B88   CHRISTINA        MCQUAY               CO          90007873370
2252451A69794B   MARVIN           GARCIA               TX          90014575106
2252489AA81637   BRIAN            EWIS                 MO          90013628900
22524A2218B168   ANDREW           FLITTON              UT          31087500221
22524A55887B59   TASIA            JONES                AR          90014630558
2252563A791241   DESIREE          JENKINS              GA          90011156307
2252567725B161   BRYANT           CARTER               AR          90015196772
225261A555B525   JESSICA          MARTINEZ             NM          90004821055
225262A924B588   CHRISTI          NELON                OK          21513942092
2252634965B232   KRISTOPHER       MUELLER              KY          90013013496
2252716469189B   MARIA CRISTINA   PACHECO RUIZ         OK          90010831646
2252771389155B   ELVIA I          SANCHEZ              TX          90011717138
2252778189794B   JOSE             OLALDE               TX          90013027818
22527A56631631   FABIAN           HOLT                 KS          90014630566
22527A85787B59   DANNY            WALKER               AR          23083500857
22528793972B88   AQUILINA         IBANEZ               CO          33028827939
225287A6591522   BELINDA          MORALES              TX          75071767065
2252921355B271   NATALIE          BAIN                 KY          90011102135
225295AA39794B   MARLENE          ARZATE               TX          74017335003
2252961349155B   CITA             JIMENEZ              TX          90011716134
22529A2249136B   ELVIRA           GONZALEZ             KS          90001860224
2252B161691522   REBECCA          ARMENDARIZ           TX          90014091616
2252B29399184B   SANTIAGO         GARCIA               OK          90004382939
2252B31167B471   BERENICE         CRUZ                 NC          90012333116
2252B89555715B   GAVINA           TAVERAS              VA          90015198955
2252BA21172B88   JANETTE          PADILLA              CO          90010300211
2252BA47772B84   SALLY            MARQUEZ              CO          33033090477
2252BA8597B471   ALEJANDRA        CABRAL               NC          90012620859
2253117A65715B   NANCY            RODRIGUEZ            VA          90009811706
22531348A91541   INTERNATIO       FREIGHT              TX          75059123480
22531412A72B98   ISELA            HERRADA              CO          33086434120
2253148857B471   WANDA            KIRK                 NC          90013714885
225314A525B232   SANDRA           BRUNER               KY          90012324052
2253172917B471   NABEY            CARLOSE              NC          90015447291
225321A985B571   WILLIAM          GARCIA               NM          90013081098
22532286387B87   KYLA             LANKFORD             AR          90013212863
225324A2791828   JASMIN           BELL                 OK          90014824027
2253251835B167   CYNTHIA          BOYKINS              AR          23091625183
2253264775715B   JOSE             POZA                 VA          90008566477
2253275355B271   EBELYN           LABRADA              KY          90000877535
22532A5477B471   LESBIA           MARTINEZ             NC          90011570547
2253329A372B84   ALEXIS           MAESTS               CO          33095332903
225343A399189B   FABIOLA          VILLAVICENCIO        OK          21090773039
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22534A11281648   GREGORY         MIDDAUGH              MO          90010360112
2253514515B571   NICOLE          SMITH                 NM          90011901451
2253523629155B   GUADALUPE       RIOS                  TX          90012272362
2253568117B449   YESSENIA        LINO                  NC          90013226811
2253568327B335   MIRIAR          VILLI                 VA          90009066832
22536254A91828   JACOB           HUGHES                OK          90014982540
22536855172B88   MOHART          GONSALEZ              CO          90013068551
22536A8615B271   CORNELIUS       HENRY                 KY          90014620861
2253751585B271   PAM             FEREBEE               KY          68052445158
22537AA1A72B88   THOMAS          BYERS                 CO          90014100010
2253856239152B   LUIS JOSE       LEDEZMA               TX          90001145623
2253861A19184B   SHURON          DAVIS                 OK          90014566101
2253887299189B   LEAH            KRAUTTER              OK          90011868729
2253898115715B   BYRON           CAMPBELL              VA          90014469811
225391A849155B   JORGE           ROBLES                TX          90014021084
2253967244795B   CHRISTOPHER     VAUGHN                AR          90013496724
2253B338472B88   ERNESTO         HERNANDEZ             CO          90014673384
2253B412291541   MARIA           MARQUEZ               TX          90010994122
2253B7AA272B84   DILLON          ANDERSON              CO          90015127002
2253BA1749189B   EDUARDO         SANDOVAL              OK          21082880174
2254114644B588   JERRY           WALL                  OK          90014271464
2254137655B342   KATIE           ROSSELL               OR          90012583765
2254154259189B   JUANITA         RESENDIZ              OK          90014125425
2254284A791522   FERNANDO        YANEZ                 TX          75095558407
22542855972B88   ELISA           ZRUBEK                CO          90013068559
2254298655715B   LEIDY           PENADO                VA          90012649865
22543279272B88   KEVIN BRADLEY   SEALE                 CO          90013272792
2254439445B571   JOSHUA          TAFOYA                NM          35096143944
2254441595715B   JUAN            ZACARIAS              VA          90007224159
22544525372B42   HAVEN           KREITLER              CO          90012205253
225448A4131453   BONAIRE         SMITH                 MO          90006578041
225455A295B232   DANIELLE        FLODEN                KY          90005265029
22545A67191828   KELLI           CHESNEY               OK          90007790671
2254696759794B   BARBARA         FILLMORE              TX          74062119675
2254718A75B161   KATHY           MAESTAS               AR          90007681807
2254745237B471   WENDELL         GRAHAM                NC          90007744523
2254747974B588   DANIEL          DE LA ROSA            OK          21501084797
2254767425715B   PAULINA         KANU                  VA          90015416742
22547757972B84   DEO             ARVIZIO               CO          90013487579
2254777565B571   KATHERINE       LIPPERT               NM          90011007756
22547917787B87   CONSTANCE       LOCKHEART             AR          90011149177
22548433872B98   EBER            LOPEZ                 CO          33014804338
22548513972B84   GARRY           DANNY SAMORA          CO          90011355139
22548851733B21   ANGIE           WAGNER                OH          90009878517
2254888A49155B   MARISOL         GONZALEZ              TX          90002238804
22548A3685B232   CLAIRE          CORNETT               KY          90009740368
2254938444795B   CARLTON         OCTOBER               AR          90014863844
2254946A347952   VICTOR          ORTEGA                AR          90013674603
22549A59A47952   CORNELIUS       JILES                 AR          90011590590
2254B13369136B   KRISTINA        GIORDANO              KS          90011941336
2254B161691522   REBECCA         ARMENDARIZ            TX          90014091616
2254B55639136B   SIBIA           ROBERT                KS          90014405563
2254B644747952   RENEE           BURKETT               AR          90012686447
2254B763155957   FAUSTINO        CASTRO                CA          48067887631
2254BA89A5B161   VASHITA         BARRON                AR          23088870890
22551111472B84   LLOYD           PADILLA               CO          90015191114
2255155A85B531   JOSEPH          VALDEZ                NM          35090465508
2255162535715B   ELLIOTT         LYLES                 VA          90012356253
2255166A89155B   LIRA            GERARDO               TX          90011716608
2255188127B471   ERNESTO         PEREZ                 NC          90012468812
22551AA5761921   AMMAR           JABOORI               CA          90001500057
2255224494B588   NANCY           AINESWORTH            OK          90012012449
22552311A4B261   TAWNIA          ROGERS-LADD           NE          90014883110
22552412A81661   ALINA           GONZALEZ              MO          29079574120
225527A474B261   DAMIEN          BARR                  IA          90011967047
2255334375B232   CHRIS           SMITH                 KY          68025193437
2255354A99155B   EDUARDO         SERRANO               TX          90013415409
225535A9355957   STEPHANIE       MENIX                 CA          90014155093
22553743987B87   QUINTAL         WOODS                 AR          90011437439
22553956772B88   ELIZABETH       LOPEZ                 CO          90005249567
2255426A95715B   FREDDY          CLAROS                VA          81043442609
22554861872B88   VICTOR          OLIVAS                CO          90013068618
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22554AA634B261   JANETE         CATALAN                NE          27059260063
2255583819184B   BRIAN          GABLE                  OK          90011308381
22555A12951369   ANTONIO        DOROTEO-CASTILLO       OH          66017370129
225563A1172B98   CRYSTAL        HARRIS                 CO          33088113011
22556458187B87   BETHANY        FESTERVAND             AR          90014114581
22556AA9172B88   JACOB          LOOMIS                 CO          90012380091
22557269A81661   EDWARD         MORROW                 MO          29079112690
2255741444B261   KIM            BROWN                  NE          90012024144
22557541A72B84   BRIAN          ARNOLD                 CO          90007865410
2255764855B161   AYESHAH        MUHAMMAD               AR          90011026485
22557A49491241   TESHA          LEE                    GA          14566790494
22557A97355957   MARC           SUMMERS                CA          90009090973
22557AA887B449   QUANTIS        ANTHONY                SC          90010810088
22558A57391828   BRITTANY       MALONE                 OK          90015460573
2255912395715B   KARL-RUDOLPH   ETIENNE                VA          90012861239
2255918A691528   CLAUDIA        WILLIAMS               TX          75014661806
2255925159136B   DWIGHT         HALLIBURTON            KS          29067292515
225594A4791828   SHEILA         SHEILDS                OK          90005064047
22559A6A755957   SARAH          GEE                    CA          90009740607
2255B295674B79   KRISTINA       BROCKLEBANK            PA          51017732956
2255B436891522   WALBERTO       GONZALEZ               TX          90008464368
2255B73179189B   ADOLFO         CANO                   OK          21047017317
2255B918372B42   DANIEL         PEREZ                  CO          33064119183
2255BA16555957   RICARDO        ARMENTA                CA          90011910165
2255BAA3A51365   KIM            STONECIPHER            OH          66065340030
225614A3A5B161   TAPPETHA       SIMPSON                AR          23082954030
22561684572B42   ELIZABETH      WARD                   CO          33025886845
22561856A72B84   ADRIANNA       GUTIERREZ              CO          90014458560
2256191159155B   ALFREDO        VELOZ                  TX          90003979115
2256229778B17B   JOSE           MENDEZ                 UT          31017392977
2256253614B261   MARY           HARRIS                 NE          27067575361
2256377574795B   PAYGO          IVR ACTIVATION         AR          90012327757
2256389645715B   BERNARD        DIAZ                   VA          90002818964
2256438A22B27B   REGINA         WHITAKER               DC          90014853802
225647AA447952   LELANI         BROWN                  AR          90011597004
225649A215B167   YALOUNDA       WILLIAMS               AR          23036219021
22564A95955957   DEBBIE         SANDOVAL               CA          48075070959
22565A93747952   MATTHEW        ERIKSON                AR          90013130937
22566198A72B88   FAY            LACEY                  CO          33014611980
22566384372B42   SOPHIA         RIVERA                 CO          90011463843
22566581887B59   MERTIS         BONNER                 AR          23057405818
2256669814B588   AUTUMN         LEYBA                  OK          90010986981
2256691159155B   ALFREDO        VELOZ                  TX          90003979115
2256694897B471   CARLA          DANIEL                 NC          90010819489
2256696515B271   CRYSTAL        WERNER                 KY          68014109651
22566A17A91522   LILIA          BRANDHAM               TX          90012110170
22566A42591251   MARICA         GRAY                   GA          90010210425
22566A8449794B   DEEPIKA        LAKSHIME               TX          90006290844
225674AA15B167   VERNON         ALEXANDER              AR          23089974001
2256764729184B   D ANDRA        WOOD                   OK          90005116472
22567677887B87   PAYGO          IVR ACTIVATION         AR          90013876778
2256772218B17B   MARIA          MORALES                UT          31072737221
22567A44191528   MICHAEL        HERI                   TX          90012930441
22568635A5B571   JORGE          CALDERON               NM          90015176350
22568685A5B531   DENISE         GRAY                   NM          35089526850
22568795472B42   ALAN           GEISLER II             CO          90012177954
2256963137B449   MARCELO        CORDOVA BECERRA        NC          90010456313
22569638972B84   ROBERTA        GOLDAMMER              CO          90012926389
22569A98461992   HORACIO        MARTINEZ               CA          90006450984
22569AA8691241   ANSELM         MUSTIPHER              GA          90013410086
2256B287387B87   RICHARD        OVERTON                AR          23009222873
2256B55395B571   JOSE           RODIGUEZ               NM          90013415539
2256B57A691541   MELISSA        MIRANDA                TX          90007355706
2256BA4535715B   VICKI          HARROD                 VA          90012750453
22571694A9155B   PRISCILLA      OCHOA                  TX          90012816940
2257171949136B   MARGARITA      VALLES                 KS          29009187194
22571A75472B88   JORGE P        SALAS                  CO          33004890754
2257266749794B   ALEJANDRO      MARTINEZ               TX          90007606674
2257269739136B   JOSE           ABDIAS                 MO          90012446973
225726A1A4B592   CRYSTAL        WALKER                 OK          90008746010
2257283354B261   ROCHELLE       HOLAND                 NE          90010288335
22572A5957B471   JASON          AGNEW                  NC          11009150595
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225732A635B271   ALI           HASSAN ARFAH            KY          90002722063
22573363272B88   ARACELI       ANGUIANO                CO          33056273632
2257359325B571   ROSALINA      QUINONEZ                NM          90008705932
2257377445B161   ALLISON       DAVIS                   AR          90010387744
22573A16985938   AMBER         WALLS                   KY          90014770169
22573A9494795B   MARIA         CRUZ                    AR          90013060949
22574486972B84   MONICA        OLIVAS                  CO          90006004869
2257456659155B   CONSTANCE     SPARKS                  TX          90014645665
2257482369189B   DONALD        POPE                    OK          21094038236
22574845172B84   RUBEN         BALDERRAMA              CO          90012158451
2257499A191828   AMANDA        DARBY                   OK          90007259901
2257528924795B   ANGELA        HENSON                  AR          25006262892
22575351472B42   SARAY         ALVARADO                CO          33023703514
225765A444B261   NATE          BURRELL                 NE          27083465044
225767A3791541   NOE           PEREZ                   TX          75083247037
2257814412B27B   PEDRO         BONILLA                 DC          81016161441
22578391872B98   KRYSTAL       TADYCH                  CO          90008923918
2257857214B261   ALAN          RULLA                   NE          90011985721
22578623172B84   GABRIELA      CASTRO                  CO          90012666231
2257868A291522   CARLOS        DELGADO                 TX          90004876802
2257883485B531   DAVID         MONTOYA                 NM          35089528348
22579269A9136B   TYRONE        LEWIS                   KS          29087872690
2257928687B449   MONTRICE      MCGILL                  NC          90013872868
2257998224B588   DENIKA        GIVENS                  OK          90008859822
2257999934B251   JOYCE         MORENO                  NE          27088889993
22579A96187B87   GWENDOLYN     NELSON                  AR          23056070961
2257B31625B232   STEPHANIE     DENISE                  KY          90015173162
2257B855572B42   VICTOR        GALINDO CONTRERAS       CO          90009088555
2257B978A81661   MITCHELL      DONNIE                  MO          90014569780
2258115A52B27B   KANIBONNON    TUO                     DC          90012021505
2258122684B261   CATHY         WELCH                   NE          90014682268
22581262154B84   ANTHONY       MENSAH                  VA          90008062621
225812A4191541   BEATRIZ       RODRIGUEZ               TX          75093232041
2258212675B161   BRIAN         ROBINSON                AR          90014511267
22582435A9189B   MONTE         GRAYSON                 OK          90011894350
225827A4A2B232   DWAYNA        LEACH                   DC          81072677040
2258353A393723   MARILYN       HARTZ                   OH          64522765303
2258394599155B   DAVID         REYES                   TX          90013159459
22583A46591541   JAZMIN        GARCIA                  TX          90015260465
22583A8269184B   STEPHEN       SMITH                   OK          90010000826
2258417258B324   RAQUEL        STEVENSON               SC          90001321725
2258427828B168   TERRY         LYNNE                   UT          90009952782
2258443A984353   ESTEBAN       CORIA                   SC          90013644309
22584837287B87   JONATHON      HOLLIDAY                AR          90011988372
2258538219155B   ASHLEY        WILLIAMS                TX          90011853821
2258539517B471   CHERIA        TORRENCE                NC          11027083951
2258545745715B   LEYDI         GUTIERREZ               VA          90012774574
2258547585B167   JOYCE         STOKES                  AR          23050434758
2258576544B588   DEVIN         TRENT                   OK          90012367654
2258636824B551   HOTSHOT       IDLETT                  OK          90001603682
225865A3A4B261   WANDA         SMITH                   NE          90010095030
2258688549189B   JOSE          SEPULVEDA               OK          21089098854
2258693267B471   BARBARA       SABOE                   NC          90005179326
22586A36481661   BRIGETT       WILKINS                 MO          90015470364
225875A7141245   DOUGLAS       FREEMAN II              PA          51071975071
22587A3295B271   SKITORIA      WRIGHT                  KY          90011390329
2258816344B261   SYLVIA        SAMUEL                  NE          27089531634
225883A9193773   AMADIN        AGBON- LAHOR            OH          64515213091
2258842947B471   DEMPSEY       GIBSON                  NC          11002394294
22588526172B84   GLADYS        ZECENA                  CO          33001095261
2258875A787B87   JERRY         OGLESBY                 AR          23092597507
22588947A74B79   TANYA         THOMAS                  PA          90005969470
2258911A172B84   LYDIA         PORTILLO                CO          33034501101
22589338872B88   JORDAN        PETERSON                CO          90011563388
2258934989155B   MYRA          SONORA                  TX          75073703498
2258936727B43B   NOEL JAVIER   JIMENEZ                 NC          90012793672
2258967744B588   TODD          FOSTERQ                 OK          90009246774
2258B162472B84   MARK          SORRENTINO              CO          90011971624
2258B26A44B261   TYLON         HOLMES                  NE          90004672604
2258B3A8191541   MARIA         CAZARES                 NM          75047803081
2258B62AA87B87   KIANNA        REED                    AR          23016776200
2258B89295B571   MINERVA       GOMEZ                   NM          35066198929
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2259181A19136B   AMELIA           CLARK                KS          29032448101
22591852187B59   BARBARA          BESS                 AR          23069898521
22591AA829794B   FANCY            JOHNSON              TX          74094870082
22592555A7B449   VALERIE          THOMPSON             NC          90015025550
2259264125715B   PEDRO            ROMERO               VA          90009696412
22592A37591541   PADILLA          ANDRES               TX          90000320375
22593481A55957   JEREMY           THAYER               CA          90013964810
22593544172B42   CRISSY           BABB                 CO          33009815441
22593889872B88   ROSEMARIE        ROLDAN               CO          90014718898
225939AA92B27B   FLOYD            COBB JR              DC          90010899009
2259438817B449   DIANA            LUCERO               NC          90008943881
22595778A21929   LUIS             ROMERO               IN          90015267780
2259583327B471   MARCO            FLORES               NC          90010438332
2259588647B449   JESSICA          FISHER               NC          90000538864
2259598985715B   LAVENIA          JACKSON ANDERSON     VA          90005509898
22595A9899794B   CARLOS           SANCHEZ              TX          90001430989
2259631A847952   IVAN DE JESUS    SANTIAGO             AR          90011603108
22596897A31631   CHRIS            HEWITT               KS          90014638970
22597484A9136B   VICTOR           RIVERA               KS          90006284840
22597785A91B35   ELENA            FRANCISCO            NC          90015387850
2259787624B281   SEAN             PHILLIPS             NE          27099518762
2259792718B147   MIGUEL           RAMIREZ              UT          90013639271
22597A7A631453   DEVIN            MILLER               MO          90012540706
225983AA672B84   DALE             MAUS                 CO          90011453006
2259841434B588   CHRISTINA        JENSON               OK          90013564143
2259873895715B   MARCUS           PUGH                 VA          90014767389
22599299887B59   SHERIE           GORE                 AR          90015332998
2259964985B531   RAMONA           DURAN                NM          35045636498
2259983687B471   MARCELO          HERNANDEZ            NC          90010438368
2259998694B588   KATRINA          BLALOCK              OK          90008859869
2259B175885938   KASSONDRA        COBB                 KY          90014761758
2259B7A4172B98   TINA             GUTIERREZ            CO          33037077041
2259B971481661   JAZMIN           VELAZQUEZ            MO          90013399714
2259BA9859136B   BRENDA           MACDONALD            KS          29002640985
225B122479184B   EMERY            PHILLIPS             OK          90009332247
225B1728572B84   MARIA            CAMPOS               CO          33088167285
225B1756A72B42   MARICELA         ZELAYA               CO          90015227560
225B1A5AA91522   JESSE            SALAS                TX          90013720500
225B242A85B167   MARY             KANE                 AR          23087404208
225B3352A72B84   JESSIE           MOYA                 CO          90014783520
225B366386196B   ELBIA            HILL                 CA          90008266638
225B38A9A87B87   RESHAMA          SYKES                AR          90015398090
225B3937391933   MANUEL           MONZON               NC          90003179373
225B464629155B   VICTOR           ALBA                 TX          90005376462
225B466649136B   JEROME           FAUSET               KS          90011066664
225B4993A5B161   CRISTEN          DAVIS                AR          90009119930
225B5457A72B42   JOLYN            CABRERA              CO          33026024570
225B5593581661   JUAN FRANCISCO   DURAZO               KS          90015585935
225B5667131631   LARRY            SMITH                KS          22042486671
225B611AA41245   TENESHIA         CASH                 PA          90008391100
225B664735B271   VICTOR           HODGE                KY          90008356473
225B7331A5B531   BARBARA          MONTOYA              NM          35068793310
225B7573993721   MEGAN            FLORA                OH          90001255739
225B7614947952   ANDREW           RUSSELL              AR          90013386149
225B7625555977   ADRIANA          VEGA                 CA          90002396255
225B76A2191541   ALFONSO          CHAVARRIA            TX          90011876021
225B798394795B   SABRINA          ALEXIS               AR          90015159839
225B7A8822B27B   CRISTINA         ELMORE               DC          90005260882
225B818679189B   ASHLEY           WISE                 OK          90009381867
225B838A95B232   LAKESHA          CHANEY               KY          90014593809
225B8525972B42   KASHUNDRA        SMITH                CO          90014605259
225B8598772B88   EFRIAN           CARROLA              CO          90013075987
225B885899184B   TROY             VAN HOLTEN           OK          90011518589
225B8A89791528   ARTHUR           JAMES                TX          75001600897
225B999914795B   RONNIE           WATKINS              AR          90009249991
225B9A44581661   JENNNIE          POWELL               MO          90011510445
225BB58589184B   RODNEY           PRICE                OK          21073035858
225BB67589155B   LAURA            ZAYAS                TX          90012816758
225BB846A72B88   LIZETH           MENDOZA              CO          90013068460
2261138A555957   JESUS            RODRIGUEZ            CA          90005173805
22611399A4B251   ANN              GILOTTE              NE          27096313990
2261163435B144   KYLE             DISHMAN              AR          90009076343
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2261171994B52B   JEREMY      HENDRICKS                 OK          21525887199
226117AA25B271   ARYETTA     MCDONALD                  KY          90011147002
2261239814795B   JUSTIN      THOMAS                    AR          90006243981
2261297418B168   FAAMASINO   SAMUELU                   UT          31015539741
22612A63872B98   JUAN        PALOMO                    CO          90002090638
2261323697B471   BRETT       BUTLER                    NC          11069012369
2261333498B168   THERESA     FRAZIER                   UT          31011623349
22613356A4795B   MARIA       MANCIA                    AR          90010793560
22613721A87B59   MARKIE      PERDUE                    AR          23086147210
22613995187B87   ROISE       GARRETT                   AR          23020209951
22613A78191241   PAYGO       IVR ACTIVATION            GA          90015090781
22613AA465B571   NICHOLAS    MARTINEZ                  NM          35049890046
2261515A34B564   MARIA       HANNIGAN                  OK          90008111503
2261517325715B   JOSE        LOPEZ                     VA          90012111732
22615611A9794B   MARTIN      MATUL                     TX          74060916110
2261617755B571   KAREN       LUJAN                     NM          90012041775
22616244A85938   ERICIA      BEAN                      KY          90014762440
22616332672B42   ARTHUR      CRUZ                      CO          33025393326
2261685134B261   ANN         BROWN                     NE          90001638513
22616AA145B571   ACHAIA      BASEY                     NM          90014050014
2261715679184B   RICHARD     ROBERTS                   OK          90002121567
2261716515B531   ELEXIS      PANAS                     NM          90004161651
22617244A85938   ERICIA      BEAN                      KY          90014762440
22617254172B42   LUIS        RUIZ-GARCIA               CO          90011822541
2261764579184B   NICOLE      WILSON                    OK          90013516457
22617A8779794B   AMMOND      STEPP                     TX          90013880877
2261864715B531   ROSA        REGALADO                  NM          90013536471
226186A4772B88   SANDER      KLEIN                     CO          90013076047
2261881975B161   VANTRICE    CAMPBELL                  AR          90014888197
22618A56641245   PATRICAI    WOOD                      PA          90000820566
22618A8177B449   NIKITA      HALL                      NC          90012090817
22619244A85938   ERICIA      BEAN                      KY          90014762440
2261995835715B   NORMA       ZAVALA                    VA          90010669583
2261B232381661   ELIZABETH   CRUZ                      MO          90008532323
2261B345A81661   JOSE        GUZMAN                    MO          90014593450
2261B51235B571   OLGA        ARCINIEGA                 NM          35013445123
2261B558A72B84   GRISELDA    VILLALPANDO               CO          90014025580
2261B64464795B   CHRISTINA   ROGERS                    AR          90014816446
2261B75655B161   SEVELTA     MACKEY                    AR          23068277565
2261B797687B21   NECOLE      MOSBY                     AR          28049077976
2261B981691241   GEORGE      BRADLEY                   SC          90015239816
2261BA44531631   MICHELLE    OTT                       KS          22089270445
2262145195B167   COURTNEY    LAMBERT                   AR          90014784519
2262153355715B   CLARISSA    AYENSU                    VA          90011505335
22621A5855715B   ROBERO      RIVAS                     VA          90012390585
22623621A4B588   ANDREA      JONES                     OK          21589656210
2262366585715B   VICTOR      QUINTERO                  VA          90012796658
2262393A547952   AARON       NEDLEY                    AR          90013139305
2262455A22B27B   ANDREA      KEY                       DC          90003465502
22624A2934795B   IDAIT       LOERA                     AR          90009220293
226258A855B271   MELISSA     WHITLOW                   KY          68038768085
22626147772B84   BRION       MASON                     CO          90011141477
2262615855B571   MIGUEL      APODOCA                   NM          35072911585
2262634269184B   REYNALDO    RODRIGUEZ                 OK          90000763426
2262635464795B   THELMA      SNODGRASS                 AR          25026473546
226264A735B271   LISA        RENFROW                   KY          90013804073
22627355687B59   JOE         BRIGGS                    AR          23024273556
2262744379155B   JOSE        AGUIRRE                   TX          90004724437
2262752579794B   VISENT      ARENAS                    TX          90013585257
2262788419189B   DERRICK     KELLUM                    OK          21076188841
2262789687B449   TIFFANY     JOHNSON                   NC          11002438968
22627A85385938   LORI-JO     HASTY                     KY          90007270853
22627A9A72B27B   CELESTE     TURNER-HOLMES             DC          81040550907
2262815919794B   JOSE        MOLINA                    TX          90007041591
226281A2431631   SARAH       WISEMAN                   KS          90007471024
22629464A72B42   TIM         DEAN                      CO          90009594640
22629521A91395   ROBERT      RUBINETTI                 MO          90007625210
2262957114B281   NINA        DELANEY                   NE          90010025711
22629844A91528   JAIME       FABELA                    TX          90006528440
2262B23A15B161   EDIE        JONES                     AR          23013902301
2262BA5169794B   JOSE        GARCIA                    TX          90012630516
22631355A72B42   VERONICA    GALINDO                   CO          33045703550
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22631563A72B84   JULISA             GOMEZ              CO          90010025630
22631675A4B588   JOSHUA             WINGATE            OK          21555736750
2263177429136B   JAYSHREE           VYAS               KS          90013787742
22631824A5715B   NGO                VAN                VA          90012488240
2263184A531466   MEL                EBERLE             MO          90010958405
2263186745B271   GARRICK            UTTERBACK          KY          90000208674
226319A792B232   ANDREA             ERVIN              DC          90002759079
22631A4919155B   CARLOS             ALDERETE           TX          75043500491
22632727472B84   LYNETTE            FRIESON            CO          90011247274
22633133472B42   DONAE              HOLLINGS           CO          33032961334
226331A4A9155B   ROSA               RUIZ               TX          90012801040
22633439587B59   BELINDA            ADAMS              AR          90010804395
22633819587B59   PATRICE            COOPER             AR          90014658195
2263483745B232   SHAWN              RICHARDSON         KY          68048058374
22635364987B87   DERRICK            SLOAN              AR          90010963649
22635A49191522   CARLOS             ALDERETE           TX          75043500491
2263636825715B   CASANDRA           LEWIS              VA          90013943682
2263658199155B   JAMA               PHELPS             TX          90014645819
22636617772B88   CARLOS             RAYFIELD           CO          90013076177
226366A645B232   DANIEL             LOPEZ              KY          90012146064
22636A5227B471   OSCAR              CONTRERAS          NC          90012580522
2263748929794B   ALBERTO            SIC                TX          74015464892
2263771315B271   KENNIETH           DMCGILL            KY          90010957131
22638165372B84   LORRI              DONEYSON           CO          33055401653
226383A299189B   DIANA              MOORE              OK          21048283029
2263854589184B   JYMMI              SMITH              OK          21089465458
2263898842B27B   CLIFFORD           FOWLER             DC          90014479884
2263974519184B   EMANUL             MORGAN             OK          90010457451
22639948572B53   VALLES             KARINA             CO          90010859485
2263B297585938   LATISHA            AUSTIN             KY          90014762975
2264117514795B   ROSALVA            VARGAS             AR          90011121751
2264142537B471   ANA                MEDINA             NC          90012214253
2264168395715B   GILBERTO           LOPEZ              VA          90001526839
226418A324B261   RAUL               CHAVEZ             NE          90007788032
2264282765B571   YOLANDA            BACA-TORRES        NM          35094118276
2264382765B571   YOLANDA            BACA-TORRES        NM          35094118276
22643844A72B84   ROBERT             GUEVERA            CO          90002888440
22643A74197B41   GUSTAVO            VILLALBA           CO          39086780741
2264411369155B   EDGAR              BARRIENTOS         TX          75023931136
226441A3A7B449   MICHELLE           LYLES              NC          90012181030
22644335572B88   DESARAY ONETOONE   STHOENFELDER       CO          90004263355
22644844A72B84   ROBERT             GUEVERA            CO          90002888440
2264559A687B87   STEPHANIE          HAYES              AR          90014865906
226455A6272B84   STANLEY            BENTLEY            CO          90009035062
2264652215715B   LISA               COURTS             VA          81088145221
2264691714B281   MELANIE            BEY                NE          90009819171
2264715A37B449   BRITNEY            WHITE              NC          11087061503
22648466172B47   ADRIANA            RAMOS              CO          33063194661
2264861959155B   LAURA              RANGEL             TX          90013416195
22649385A9184B   KHAIA              KING               OK          90002703850
2264971685B161   TAMATHA            THORNTON           AR          90011027168
2264B334587B21   SANDRA             CONRAD             AR          28096513345
2264B54629136B   FAUSTO             MONDRAGON          KS          90012515462
2264B627633126   LUIS               LUNA                IL         90015466276
2265158429155B   NEIRA              JUDITH             TX          90014645842
22651A13791241   JONATHAN           DIVANNA            GA          90011870137
2265214898B168   NIQUE NICHOLE      FRAISER            UT          90005101489
2265289A44B588   GARY               SHINAULT           OK          90013878904
2265292415B271   ASHLEY             BURKS              KY          90014609241
2265329A787B21   GERRI              MCCOMBS            AR          28049952907
2265341758B17B   CYLE DAVID         ROWE               UT          90006484175
22653969A5B232   ANGLIAN            HAGANS             KY          90015279690
22654491587B87   PAYGO              IVR ACTIVATION     AR          90015324915
22654627887B59   TANESHA            THOMAS             AR          90012266278
2265495A891828   JAMIE              FAUTT              OK          21010689508
22654A1617B449   SEQUIOA            LOGAN              NC          90006190161
2265516465B28B   LYNN               MURRAY             KY          90012251646
226552AA28B168   HOLLI              GROBERG            UT          31039182002
2265545A69184B   KAREN              STAATS             OK          21067924506
2265547224B588   REBECA             ENRIQUEZ           OK          90008274722
2265548939155B   RODOLFO            ZEPEDA             TX          90011914893
22655A2842B27B   LENOARD            PHILLS             DC          90014090284
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2265644527B449   PABLO         PINZON                  NC          90012454452
2265648777B449   MICHAEL       WATSON                  NC          90015284877
22656555287B87   JOHN          CROW                    AR          23093345552
2265662A391522   SILVIA        PEREA                   TX          90014036203
2265688173B347   TREVOR        MCOMBER                 CO          90001698817
22656A6669184B   MARIA         ALCARAZ                 OK          21098310666
22656AA3451338   MARY JANE     TEEPEN                  OH          66039080034
2265752625B161   BELSAIN       HERNANDEZ               AR          90003035262
2265753292B27B   MELISSA       DESSASO                 DC          81026135329
226596A539155B   CLIFTON       MORGAN                  TX          90014646053
2265984192B27B   TONY          WALKER                  DC          90014798419
2266117887B471   JESUS         ARCEO GONZALEZ          NC          90014371788
22661223A72B98   BRYAN         BILLS                   CO          33021252230
2266127979794B   CYNTHIA       ZAMORA                  TX          74089372797
2266156585B271   TOBY          HERKINS                 KY          90013685658
22661761287B59   PAUL          ASTELLO                 AR          90009257612
22661799A24B6B   MICHAEL       ANDERSON                DC          81016027990
22661831A55957   FRANCISCO     MUNGUIU                 CA          90003868310
2266245784B261   MICHAEL       RICE                    NE          90012644578
22662A2A34B588   MICHELLE      BOBELU                  OK          90007760203
2266351A75B161   DERANDA       CARTER                  AR          90011165107
2266421AA4B281   SHARON        ENNIS                   NE          27078892100
22664223A72B98   BRYAN         BILLS                   CO          33021252230
2266467115715B   FRANKLIN      MUNOZ                   VA          90010766711
2266469389189B   TAMMY         MARTIN                  OK          90012496938
22664A19287B87   TARSHA        WILLIAMS                AR          90015200192
22665223A72B98   BRYAN         BILLS                   CO          33021252230
22665666472B84   LIZBETH       PURECO                  CO          90013936664
2266617154795B   MIGUEL        SERRANO                 AR          90014911715
2266625384795B   MIGUEL        SERRANO                 AR          90013272538
2266656164B261   MICHAEL       REED                    NE          90008145616
22666A87191828   MARL          RENFRO                  OK          21073450871
22667283787B87   DANIELLE      BROWN                   AR          90015352837
22667895A5B167   BRITTANY      GATEWOOD                AR          23068438950
2266933749184B   HILARIO       ROSALES                 OK          21072423374
22669613472B88   ROBERT        AGUIRRE                 CO          90005066134
2266B258991522   DESTINY       MARTINEZ                TX          90014812589
2266B348691541   PRISCILLA     MEDINA                  TX          90001073486
2266B367191241   NORRIS        BROWN                   GA          90000163671
2266B4A429155B   ENRIQUE       SALCIDO                 TX          75023634042
2266B527391528   SILVIA        SANDOVAL                TX          75013265273
2266B674587B59   SHUNDA        GENTRY                  AR          90014686745
2266B75A15B571   EALEY         APRIL                   NM          90005107501
2266BA3A287B87   SHANNA        SANDERS                 AR          90014030302
2267115875B271   WHITNEY       BIECKERT                KY          90011991587
226711A6591241   RANDOLPH      FRAZIER                 GA          14571431065
2267131315B571   JACK          CANTRELL                NM          35072533131
22671975287B87   JAMES         HAMPTON                 AR          23093899752
22672192A87B87   DIANA         OGLESBY                 AR          90012841920
2267226189136B   JOSE          GOMEZ                   KS          90005052618
22672617772B88   CARLOS        RAYFIELD                CO          90013076177
2267277A84795B   SAMATHA       HOLSCHER                AR          90013507708
22672953187B87   CHASSSIE      DAVIS                   AR          90015519531
2267299A831497   DANIEL        PARISH                  MO          90007139908
226732A9691528   CLAUDIA       MILLAN                  TX          75078712096
2267332875B271   LINDA         SMITH                   KY          90008013287
2267332A487B87   PAYGO         IVR ACTIVATION          AR          90015403204
22673494372B88   IDELLA        HOLIWAY                 CO          33048164943
2267367244795B   CHRISTOPHER   VAUGHN                  AR          90013496724
2267385455B271   LINDA         SMITH                   KY          90012998545
2267399384B281   HECTOR        CASTILLO                NE          90001139938
226741AA85715B   ERICK         MEIJA                   VA          90014951008
2267424814B588   MARGIE        BRUNER                  OK          90013802481
22674528587B87   SHAUNTAE      WILLIAMS                AR          90015485285
22674A9979155B   LIZETH        SALAZAR                 TX          90000270997
22675519587B59   DARIUS        BAKER                   AR          90014705195
2267624232B27B   PAMELA        SMITH                   DC          90003032423
2267643A44B261   DOMINIQUE     BURTON                  NE          27030724304
2267644A755957   ARIANA        MORALES                 CA          90013794407
226765A2A72B88   LACEY         PATRICK                 CO          90001815020
2267716267B471   SHUNEKIA      HUDSON                  NC          90011231626
2267738447B471   ERIKA         MARTINEZ                NC          90012603844
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2267771685B161   TAMATHA      THORNTON                 AR          90011027168
2267787449794B   VICTOR       LEAL                     TX          90012388744
22677A2129794B   ROBERTO      DE-LUNA                  TX          90012420212
22677A8959184B   ELSA         VASQUEZ                  OK          21032380895
2267811434B588   JASEY        COX                      OK          90015481143
2267826394B261   SARA         CHRISTIANSEN             NE          90011462639
2267832179155B   ANGIE        LOPEZ                    TX          90011583217
22678697972B42   MICHAEL      DEVILBISS                CO          90014866979
2267871A791828   KISHA        WALKER                   OK          90013527107
22678891672B84   AAMED        ISSACK                   CO          90015168916
2267899557B449   TESSIMA      GUY                      NC          90000829955
22678A65387B87   CLORINE      CHARLES                  AR          23065370653
2267924735B271   ANTHONY      MARTIN                   KY          90014842473
226792A4255957   RUSSELL      SWEITZER                 CA          48044652042
2267995484B588   DANIELLE     CHECOTAH                 OK          90012109548
2267B197372B47   JOSE         BONILLA                  CO          90002411973
2267B78757B471   FATEMA       BOULWARE                 NC          90000227875
2267B827A72B88   STACEY       THRAP                    CO          33076968270
2267B951A5B167   KANDISE      JARRETT                  AR          23065689510
22681157372B84   SEAN         MARKOVICH                CO          90012801573
22681166A72B61   MICHAEL      MARTINEZ                 CO          90012681660
2268121389155B   VERONICA     AGUILAR                  TX          90008602138
2268155237B471   SHOXCO       CAMERON                  NC          90012115523
2268222872B27B   JERMAINE     JONES                    DC          81013112287
2268234A784353   EVANGELINA   HEWITT                   SC          90012143407
22682526A91541   SHANNON      RICH                     TX          90012115260
22682AA3184364   JOSEPH       GREENE                   SC          19019940031
2268381415B571   NATASHA      CASTILLO                 NM          35026848141
22683826472B42   SAMANTHA     ANDREWS                  CO          33053508264
22684341672B84   LACEY        STRELEC                  CO          90012193416
22684A11A72B88   JUAN         OCAMPO                   CO          33058750110
22685497972B84   MARIA        OCHOA                    CO          33058784979
2268569822B27B   YONATAN      TEKLE                    DC          90010096982
226861A849136B   CLAUDIA      MARQUEZ                  KS          90007331084
22686A6215715B   ANGELA       MURPHY                   VA          81014080621
2268742A87B449   JERRY        STRANGE                  NC          90012814208
2268833819794B   DONALD       GILBERT                  TX          90014893381
22688533987B59   CHERYL       LEE                      AR          90014705339
2268871254B588   JULIO        VASQUEZ                  OK          90008837125
2268873814795B   JAIMI        WARNER                   AR          25000437381
226888A864B261   SHELLEY      WHITLEY                  NE          27092048086
2268936A491241   CARLA        JONES                    GA          90013953604
2268962679155B   MIGUEL       PALACIOS                 TX          90014646267
2268966A547952   JASON        DAVIS                    AR          90014936605
2268969919136B   JOSUE        AVILA                    KS          90013686991
2268B353991828   PAUL         EMMES                    OK          90011123539
2268B35A14B281   KARI         MIDDLETON                NE          27034693501
2268B949341251   LAKIESHA     WOLF                     PA          90010559493
2269139519155B   JESUS        LIMON                    TX          90011853951
226919A7872B42   VICTOR       NORIEGA                  CO          90013149078
2269234214795B   LISA         GARCIA                   AR          25053513421
22692645772B88   JESSE        PETERSEN                 CO          90013076457
2269275155B271   MICHAEL      COPLEY                   KY          90013627515
22692A1535715B   CHARLES      ROGERS                   VA          90015180153
2269317384B588   MANUEL       GUILLERMO                OK          90007531738
22693472A8B168   SHANNON      ROSENBAUM                UT          31012364720
22693627A9155B   MARQUIS      CRUZ                     TX          90014646270
2269369A587B59   BRENDA       JAMES                    AR          90014706905
22694423972B42   LYDIA        MARTIN                   CO          90014504239
2269464222B27B   ERIC         NELSON                   DC          90012126422
2269472894B588   BRYANNA      SHAW                     OK          90014827289
22695119A91522   CLAUDIA      GARCIA                   TX          75013211190
22695469872B84   OTSMARO      ZELAYA                   CO          90008174698
22695628A5715B   JOSE         QUINTANILLA              VA          90013026280
22695744687B59   JASON        DUNMORE                  AR          90014707446
2269613159794B   FERNANDEZ    EDILBERTO                TX          90011911315
22696136987B87   SHAKISHA     ROYAL                    AR          90014571369
2269657589184B   NATALIE      GLASS                    OK          21020845758
22696667A5715B   FABIO        URREGO                   VA          90008006670
2269686739155B   KARINA       RUIZ                     TX          90011718673
2269695829189B   MARIO        BURKS                    OK          90015199582
2269719955B531   ADAN         PULGARIN-GURROLA         NM          35089571995
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2269721155B161   SHAWN        MORGAN                   AR          90007672115
22697994172B88   MARTHA       RODRIGUEZ BUSTOS         CO          33043049941
22698254772B84   PAULA        ALBA                     CO          33012502547
2269844A45B271   DAYSHA       LEWIS                    KY          90013974404
226986AA79189B   THOMAS       LANDRUM                  OK          90013396007
22698A69A72B27   TUONG        PHUOC KHA                CO          90012780690
22698AA9247942   ELIZABETH    LEAL                     AR          90012330092
2269932784795B   JONATHAN     SAVAN                    AR          90015133278
22699432A5B161   MIKE         WYATT                    AR          90015104320
2269968759136B   LISSETTE     ALBOR                    KS          90012496875
226998A3372B98   FLORENTINA   GALLEGOS                 CO          33021258033
22699978A7B471   AGUEDA       PEREZ                    NC          90012169780
22699AA7772B88   KATHRYN      LIVINGSTON               CO          33009430077
2269B22494B261   JESSICA      THACKER                  IA          90014612249
2269B52A39155B   HILARIO      CADENA                   TX          90011245203
2269B79A887B59   BOBBY        JETT                     AR          23021477908
226B136175B161   KEELY        TEBBETTS                 AR          90013053617
226B162124795B   THOMAS       FLIPPIN                  AR          90015096212
226B194432B27B   MICHELLE     WILLIAMS                 DC          90003999443
226B19A644B281   JOHN         ROBIDOUX                 NE          90009779064
226B231724B261   LEONARDO     DIMAYUGA RAMIREZ         NE          90014873172
226B2659155957   AMALIA       GUTIERREZ                CA          48068446591
226B2A21593727   DIAMOND      SMITH                    OH          90001640215
226B3261384364   CARLOS       RAMOS                    SC          19015882613
226B3317A87B87   TYLIN        WALKER                   AR          90014243170
226B348519189B   KELLY        ACREE                    OK          90004914851
226B3514251369   TIMOTHY      CONYERS                  OH          66015325142
226B3596233631   ANGELA       HAITH                    NC          12018285962
226B3838A4795B   ANDRE        LUDOVIC                  AR          90009758380
226B428625B232   JERMAINE     CAMERON                  KY          90013382862
226B4453972B84   SARAH        KEYS                     CO          90008174539
226B4689287B87   BRITTANY     ROMES                    AR          23068766892
226B4AA595B232   SHAQUITA     SPENCER                  KY          90015010059
226B515A47B449   ERICA        WHITE                    NC          11042831504
226B5947851561   JEAN         VONYEJE                  IA          90014709478
226B616349189B   DESTINY      MOTZ                     OK          90015131634
226B638599155B   RAQUEL       FRANCESCHI               TX          90011853859
226B6593174B54   ZYLER        BOUILLION                OH          90014645931
226B6717691541   JULIE        CORONADO                 TX          90009987176
226B67A425B571   NORMA        CARRANZA                 NM          90008277042
226B6855181661   LATONYA      WILLIS                   MO          90015058551
226B6A2589184B   SANTIAGO     MARIN                    OK          90012370258
226B7118681661   STEPHEN      LESHOVSKY                MO          29073531186
226B727567B449   BETTE        BROME                    NC          90006222756
226B733254B251   SHARON       COON                     NE          27010203325
226B744365715B   JOSE         ESCOBAR                  VA          90008284436
226B749735B271   ANGELA       MARSHALL                 KY          68017114973
226B74A235B232   JAMES        YEOUZE                   KY          90014104023
226B753A247952   MICHAEL      SHAMBLIN                 AR          90015095302
226B7576891541   JOSE         GONZALES                 TX          75016385768
226B779225B571   SERVANDO     CORRAL                   NM          35064357922
226B7951391933   ERNEST       POWELL                   NC          90008329513
226B864935B232   HEATHER      COMBS                    KY          90014856493
226B9229387B59   CAROLYN      THREETS                  AR          23067072293
226B9672772B84   DARIAN       BLEA                     CO          33016986727
226B995427B449   MANUEL       DANCEL                   NC          90015119542
226B9A6735B571   JUAN         GONZALES-MENDEZ          NM          90014780673
226BB363691541   LINDA        REYES                    TX          75005363636
226BB42469794B   WILLIAM      SACALOXT                 TX          90014734246
2271122155715B   HENRIK       NIELSEN                  VA          90013162215
22711324A9794B   RAYMOND      HALLFORD                 TX          90009063240
2271163554B588   ALICIA       DE ANDA                  OK          90013266355
2271169754B588   ALEXIS       CRUTCHFIELD              OK          90002266975
2271175389136B   JESUS        LABRADO                  KS          90013837538
22711869787B87   LINDA        GREEN                    AR          90014288697
22711951972B84   MERCEDES     WALTERS                  CO          90014149519
22711A82891541   DOLORES      GUTIEREZ                 TX          75000640828
22711A91A81638   MR           T.                       MO          29015930910
22712858387B87   ROBERT       MOORE                    AR          90015488583
2271286885B571   THOMAS       NEWELL                   NM          90011498688
227128A599189B   TIAUNA       CARNES                   OK          21082608059
227133A855B271   GARY         KINDER                   KY          90012303085
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2271358A17B449   DAYSI          JIMENEZ                NC          90014005801
2271365554B588   EDGAR          SARAVIA                OK          90009296555
22713A4359136B   LUIS           RODRIGUEZ              KS          29014690435
2271437315715B   DORA           BUSTILLO               VA          90001473731
2271447299136B   ANA K          SIGALA                 KS          90013304729
22715948672B88   JORGE          PEREZ                  CO          33063879486
2271596864B588   JAMES          TURNER                 OK          90009259686
22715A4132B27B   MANYKA         GAITHER                DC          90014810413
22715A9348B17B   ASHLEY         SWANSON                UT          31039060934
22717325172B42   PERRY          NORIEGA                CO          90011773251
2271773239189B   ANDIE          WILLIAMS               OK          90010507323
2271847442B27B   MARCHELLE      GRAHAM                 DC          90010124744
227188A949189B   TREVOR         BENDURE                OK          90012408094
22718A1619794B   SOPHIA         CASTILLO               TX          90011330161
22718A57781644   RACHEL         LEA                    MO          90012110577
22719389972B84   EVELIA         ROBLES                 CO          90001233899
2271956685B271   ALLAN          MARTIN                 KY          90015185668
2271967A484382   CHARLES        FRIERSON               SC          90010376704
2271971299155B   JOCELYN        ABASCAL                TX          90009457129
2271B148591541   VERONICA       CORREA                 TX          90008501485
2271B32A593754   DONTA          CAYSON                 OH          90013023205
2271B41344B582   NACOLE         WALKER                 OK          90013394134
2271B46715B161   KADE           JOHNSON                AR          90014664671
2271BA9512B27B   SHIRLEY        THOMPSON-WRIGHT        DC          81005890951
22721939152B31   DENNY          HUNSAKER               CO          34094789391
22722136A51369   MICHEAL        WALLING                OH          66045291360
2272299844B588   GHEMELLE       JOINER                 OK          90002739984
22723A48391945   OSCAR          SAUCEDA                NC          90013610483
22724AA658B168   GINA           ERICKSON               UT          31088210065
2272526619189B   RANDALL        WAYNE                  OK          90011312661
2272554A37B449   NORMAN         SMITH                  NC          90011475403
227257A2A5B271   NELLY          UGALDE                 KY          90002697020
2272588815B259   TIFFANY        GIBSON                 KY          68016878881
2272687369794B   ALEXANDER      MELCHOR                TX          74031988736
227271A489136B   CRISTINA       PAEZ                   KS          90012231048
2272758914B281   MARY           BROWN                  NE          27012925891
22727831A9189B   APOLONIA       CANTU                  OK          90009418310
2272831739184B   WILLIAM        BARRERA                OK          21023723173
22728554672B88   SIGOURNEY      KEITH                  CO          90011295546
2272862385B232   AARON          ROJAS                  KY          68016866238
22728664A9189B   THOMAS         BURKE                  OK          90011086640
227286A5A81661   DESTINEY       JAMES                  MO          90014756050
227286A6887B87   SHARON         HARSTON                AR          90013206068
2272896859184B   AMANDA         REICH                  OK          90015089685
22728A1185B571   MA GUADALUPE   RUELAS                 NM          90014850118
22728A7A585938   RODOLFO        SANCHEZ                KY          90014780705
2272B13959155B   GRISELDA       CADENA                 TX          90011721395
2272B164431453   ANITRA         WILSON                 MO          90013441644
2272B55415B167   SHANNON        BROOKS                 AR          90014385541
2272B626A91541   ANIK           RICHARD                TX          90014066260
2272B68175B271   BENNIE         ELLIOTT                KY          90010056817
2272B994785938   SHERRY         EVERMAN                KY          90014779947
2273128A64795B   MISTY          HANCE                  AR          90013332806
22731634276B4B   THOMAS         GEU                    CA          90001476342
22731664172B88   JOSEPH         BERNAL                 CO          90013076641
2273172875715B   ANA            HERNANDEZ              VA          90012597287
2273212699189B   NOEMI          CAMPOS                 OK          90000771269
22732154572B61   CARLA          MARTINEZ               CO          90007741545
22732317672B61   CARLA          MARTINEZ               CO          90011993176
2273284415B271   ALLEN          HISER                  KY          90010958441
2273289319155B   FABIAN         PARRA                  TX          90011868931
22732A3767B471   NORMA          VANEGAS                NC          11097250376
22733259A9189B   JANET          SMITH                  OK          90014282590
22733753472B42   JOHN           SWICK                  CO          33087757534
2273379195B571   MANUEL         ORDONEZ                NM          35030627919
22733A26791241   BRITTENY       BROWN                  GA          90014730267
22733A5364B22B   BARBARA        SEACREST               NE          26009710536
22733A69691251   MATTHEW        HUFF                   GA          90008460696
22734751A91541   ISAAC          SALAS                  NM          90013627510
227349A9391528   DENNISSE       ALEMAN                 TX          75077749093
2273519A887B87   JEREMY         JOHNSON                AR          90015451908
227353A6151326   JEFF           SMITH                  KY          66083453061
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22735736A76B82   YOBANA         MORENO                 CA          90010637360
22735A8784795B   MARJORY        MONDRAGON              AR          90009530878
2273642689794B   JOSE ALFONSO   GARCIA                 TX          90015314268
2273657A191828   NICHOLE        WARD                   OK          90007125701
22736735372B42   ENETA          HAMID                  CO          90015467353
227367A5591525   EDWARD         L MILLER               TX          90002377055
2273681848B168   NOAH           RITCHIE                UT          31094798184
2273683595B161   CHARLOTTE      WILLIAMS               AR          90015218359
2273727A772B98   ELTRECE        CALDERON               CO          33021262707
2273746A472B42   BALLATEROS     MARIE                  CO          90012254604
2273766AA31453   KEANNA         WILSON                 MO          90015296600
2273786414B261   TANISHA        DANGY                  NE          90009818641
2273819AA9189B   BRANDI         BROOMHALL              OK          90009381900
2273821368B17B   GRISSEL        REYES                  UT          31097022136
2273821714B588   KYLE           CROW                   OK          90013402171
22738298772B98   GERARDO        CORTEZ                 CO          33021262987
2273869A972B88   MINDEE         SAMORA                 CO          90010426909
2273885A49155B   ESTHER         GUTIERREZ              TX          90008598504
22739166A85938   SAVANNAH       COVINGTON              KY          90014781660
22739243887B87   LAVONYA RENA   REEVES                 AR          90014842438
2273944867B449   REINA          MARTINEZ               NC          90009774486
22739686387B87   LAVONYA RENA   REEVES                 AR          90014776863
227398A8972B88   JOSE           MATA                   CO          90000558089
22739A95391828   NATASHA        HAMPTON                OK          21069710953
2273B1A6972B84   KARLA          MARMOLEJO              CO          90010791069
2273B4A429155B   ENRIQUE        SALCIDO                TX          75023634042
2273B694591828   GUADALUPE      ALVARADO               OK          90009906945
2273B823391241   TIARA          CUTTER                 GA          14505398233
2273B895A72B88   MYCHEO         RICHARDSON             CO          90014718950
2273B8A6691828   PAM            PORTER                 OK          90013798066
2273BA8A531631   SHANNA         RAMEY                  KS          90014710805
22741339A31453   NICOLE         WILKENS                MO          27591043390
227413A7547952   LATASHA        MILON                  AR          24052433075
2274214554B588   JAMIE          JOHNSON                OK          90013551455
22742762272B42   TAMMIE         JACKSON                CO          33020227622
227428A6472B88   LUIS           BATISTA                CO          90009058064
2274345A593773   REAGAN         BURNS                  OH          90009574505
22744191372B84   BERTHA         GONZALEZ               CO          90008691913
2274425A187B87   CYNTHIA        MACK                   AR          23023082501
227443A9381661   MARK           MOORE                  MO          90014933093
227444A1791541   JESUS          GRAJEDA                TX          90006044017
2274451144B588   PERLA          SALAZAR                OK          90008785114
2274517769189B   JORDYN         HALE                   OK          90006651776
22745A3989184B   SERGIO         SERNA                  OK          90013510398
2274669344795B   JASMINE        BROWNING               AR          25010096934
22746974487B59   THOMAS         CANTWELL               AR          90014719744
2274699A65715B   EDWARD         COPLAND                VA          90013729906
22747684887B87   WONDER         WASHINGTON             AR          90013166848
227478A1A2B27B   JOY            BRITT                  DC          90013958010
22747974487B59   THOMAS         CANTWELL               AR          90014719744
22748123A5B161   BRITTNEY       COOPER                 AR          23043881230
22748123A91241   KENNETH        POLK                   GA          14536261230
2274815A92B931   CHRISTINA      MARTINEZ               CA          45004821509
2274839919189B   ADORA          MANGHAM                OK          21048283991
2274861314B261   ADAM           DAEGES                 NE          90009256131
2274883924B588   DEZIRAE        WIEGERT                OK          90013258392
22748974487B59   THOMAS         CANTWELL               AR          90014719744
227494A539136B   MEGAN MARIEE   CAPPSS                 KS          90006884053
227497A289155B   FLORENCE       MYRA                   TX          75053407028
227499A4272B88   AMANDA         MILLER                 CO          90004129042
22749A95A4B588   JAMES          MURDOCK                OK          90014260950
2274B196391522   ISMAEL         HERNANDEZ              TX          90010631963
2274B21472B232   JOHNNY         HACKETT                DC          81030562147
2274B262172B42   BOBBY          GARCIA                 CO          90001022621
2274B287672B88   NICOLE         BERNAL                 CO          33080742876
2274B41635B271   RASHAWN        VAUGHN                 KY          90014134163
2274B671172B84   AZUCENA        MONARREZ               CO          90014586711
22751596972B84   JENNIFER       JAIMES                 CO          90013245969
227518A545B167   CHERRY         SANDERS                AR          90006108054
2275289169184B   KEVIN          TATE                   OK          90001968916
22752922A91241   MONIQUE        MOISE                  GA          90011209220
22752A34841245   JOHNNY         MCGEE                  PA          51055350348
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22753274572B84   MARTHA       VALDEZ                   CO          90015182745
2275361375B161   TAHDRYAN     FAIRCHILD                AR          90012786137
2275363295B271   ROYLANDRIA   MOORE                    KY          90009156329
2275462999152B   CARLOS       VELASQUEZ                TX          90013906299
2275485515B271   JAMES        JOHNSON                  KY          90009418551
22754A18772B42   MANUEL       SANTOS                   CO          90005480187
2275571567B471   RONNIE       MCGREE                   NC          90013467156
22756839A7B449   MELVIN       BROWN                    NC          90014238390
227568A4987B87   KENISHA      HOWARD                   AR          90007698049
2275711134B281   BLANCA       CORTEZ                   NE          90008681113
2275791984B588   ERIC         TORRES                   OK          90012679198
227582A1791251   MARLA        CREWS                    GA          14508982017
2275862185B571   JOSE         VELAZQUEZ                NM          90015216218
22758A94A4B588   CARLEY       POTTS                    OK          90014510940
2275918159136B   LANG         HER                      KS          90013731815
2275939194B588   LATARA       HOFFSTEAD                OK          90014583919
22759812872B88   FERNANDO     GONZALEZ                 CO          33088118128
2275B28285715B   CARLOS       REYES                    VA          81059412828
2275B8A9187B87   VICKI        MCGHEE                   AR          23019738091
2276114894B281   JUAN         BARRAZA                  NE          27016601489
2276134345715B   OSCAR        MARTINEZ                 VA          90004783434
22761897972B42   GREGORY      OWENS                    CO          90015178979
22762724A9155B   ISRAEL       GALINDO                  TX          90014657240
22762A4285B571   JULIET       SANCHEZ                  NM          90011240428
227635A1572B42   JOSE         QUIJADA                  CO          90012235015
2276397819136B   LISA         PADEN                    KS          29040519781
22764311A8B168   MICKEY G     BOWCUTT                  UT          90004073110
2276525715B232   CHARTRICE    WITHERS                  KY          90013212571
227658A7872B84   SHARON       C.CORDOVA                CO          33049748078
2276631794B261   KRISTIA      BAKER                    NE          27038043179
227663A8687B59   AUTUM        NELSON                   AR          90014733086
2276686814B541   JORY         NALLORY                  OK          90001168681
22767311A8B168   MICKEY G     BOWCUTT                  UT          90004073110
2276734A29155B   CARLOS       GUTIERREZ                TX          90006213402
22767442787B59   TERRELL      WALKER                   AR          23097194427
2276854212B931   RON          COIN                     CA          45081105421
22769339A31631   CHRISTIAN    MOTIS                    KS          90014643390
2276949929794B   DORA         GONZALEZ                 TX          90013814992
22769A4984B588   SHAWN        MARTIN                   OK          90013230498
2276B759A55957   LATANYA      IYAMU                    CA          90010877590
2276BA2949136B   HUGO         ESPINOZA                 KS          29032060294
22771117A7B449   JULIUS       BROWN                    NC          11063461170
22771163787B59   LYNETTE      MAYWEATHER               AR          90014981637
227711A2191522   VERENICE     MORALES                  TX          75078121021
2277131165B571   CLAUDINE     MARTINEZ                 NM          90002663116
22771357187B59   LYNETTE      MAYWEATHER               AR          90014733571
2277175819794B   NELDA        RODGERS                  TX          90013467581
22771819A72B84   BISHNU       GURUNG                   CO          90015208190
2277211A287B87   SAMANTHA     TINDALL                  AR          23036911102
22772421A91541   ALICIA       LUNA                     TX          90006064210
2277265465B369   ROBERT       HODGES                   OR          90006906546
2277275475B571   SAMANTHA     MCCREADY                 NM          90010457547
22772A34147952   DOUGLAS      TRAPP                    AR          24093050341
2277344365715B   JOSE         ESCOBAR                  VA          90008284436
2277354829794B   DOMINGO      TUMAX                    TX          90013865482
2277397474B261   KATHRYN      BARTLETT                 NE          90012389747
22773A21387B87   JOHN         ROBINSON                 AR          90014690213
2277415555B232   TRACY        WITKOSKY                 KY          68016881555
2277436A172B42   BRENDA       VILLAA                   CO          90001463601
2277442559136B   MINA         HAMIDOVIC                KS          90015314255
2277453379189B   COREY        MCDANIEL                 OK          21014025337
2277468A872B88   MARIA        MENDOZA                  CO          90013076808
2277524178B831   DEAN         HUHANE                   HI          90015132417
22775415A5715B   ERMIDES      GRIJALVA                 VA          90011414150
2277568645B167   LATAUSHA     MORGAN                   AR          90004756864
2277574485B271   JUAN         LOZANO                   KY          90015267448
22775894576B67   DANIEL       EVANS                    CA          90006118945
22776179972B42   ANNETTE      FEDD                     CO          90007661799
2277684457B449   ROCIO        PARRA                    NC          90015318445
22776A79593773   MICHAEL      GENTRY                   OH          90013350795
22777678172B42   PATRICIA     HRENKEVICH               CO          33017236781
2277768A531453   JAMESA       SPANN                    MO          27514146805
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2277817874B588   LUIS        VALDEZ                    OK          90015121787
2277834899155B   LUIS        SALAZAR                   TX          90003473489
2277844A62B232   TARRANCE    THOMAS                    MD          90014154406
22778838372B98   SOHAIL      SAYEED                    CO          33079468383
2277929625B531   ADAM        NODAL                     NM          90006812962
2277968815B161   CHERYL      CARMICHAEL                AR          23098396881
2277B23679136B   RODNEY      MORREIRA                  KS          90010312367
2277B58787B449   MARIA       GUY                       NC          11089235878
2277B644A72B98   ROSIO       ARMENDARIZ                CO          90009496440
2277B686791522   JOAQUIN     VIVANCO                   TX          90005156867
2277B742191831   KASSANDRA   WROBEL                    NC          90014667421
2277B834572B42   TOBIAS      LOPEZ                     CO          90001558345
2277B963185938   SANTOS      LEONEL                    KY          90006369631
2278119855B161   CECIL       ROBERTS                   AR          90011131985
22781597572B84   ANDREA      TORRES                    CO          90013245975
22781A44572B88   JULIA       DIAZ                      CO          90010300445
227824A215B531   LAWRENCE    MARTINEZ                  NM          35014824021
2278281A34B261   TAUVA       WILLAIMS                  NE          27050898103
22782874672B84   MARK        WELCH                     CO          33074348746
22782A6AA5B271   TAMI        STIFFLER                  KY          68043600600
22783172187B87   DEANDRA     SUMMERS                   AR          90014701721
2278319984795B   MARCO       RODRIGUEZ                 AR          90012331998
2278341519155B   LUIS        PEREZ                     TX          90015124151
22783611274B79   LYNNDALE    PRIMER                    PA          90006336112
2278361A684364   GUADALUPE   REYES                     SC          90001876106
227837A8393773   KELLY       KRYMOW                    OH          64557597083
22783914172B88   OSCAR       OCHOA                     CO          33043669141
2278431885B352   RAINER      DAVIS                     OR          90003733188
22784563574B79   PATRICIA    HARPER                    OH          51041665635
2278469819155B   EDUARDO     DUARTE                    TX          75097076981
2278499119136B   DANIEL      BOTELLO                   KS          29004079911
22787725A5B161   AUDREY      MARION                    AR          90014847250
2278871662B27B   KELVIN      STEELE                    VA          90013607166
2278922349155B   WENDY       NEVAREZ                   TX          90011862234
22789255372B42   BRIANDA     BANUELOS                  CO          90009342553
22789764872B84   GREG        GAGE                      CO          90011247648
2278B18274B261   CHRISTINA   PETERSON                  IA          90012141827
2278B523261979   WILFRIDO    VILLAREAL                 CA          90006235232
2278B52442B27B   JUAN        GRANADOS                  DC          90013835244
2278B581972B98   JESUS       GONZALEZ                  CO          90002805819
2278B59884B588   SYLVIA      CHAVEZ                    OK          90012835988
2279128475B167   ANGEL       FOX                       AR          90003432847
2279251134B261   ASHLEY      MAYFIELD                  NE          90011125113
2279258734795B   KATHERINE   BURR                      AR          25002765873
2279267472B232   CAIN        HAWKINS                   DC          90009726747
22792756672B88   RYAN        TYLER                     CO          90015097566
22792A4A89155B   MYRIAM      ESTRADA                   TX          90004780408
22792A82141245   NICOLE      LENART                    PA          51080540821
2279342A885938   JEWELL      LAWSON                    KY          90014794208
2279368A531453   CHASE       HARDIN                    MO          90010376805
2279418455715B   HASSEN      MOHAMED                   VA          90013331845
2279442355B232   TERRY       DUFF                      KY          90014754235
2279553344B588   DANIEL      GONZALEZ                  OK          90011045334
2279593A555957   WENDY       BRAVO                     CA          48009259305
22796175572B42   SANDRA      MIELENZ                   CO          33021011755
22796A59781661   IVAN        SANDOVAL                  MO          90015190597
2279729A87B449   JOSE        CABRIALES                 NC          90011382908
2279739539794B   SHARNELL    JACKSON                   TX          90012933953
2279742A885938   JEWELL      LAWSON                    KY          90014794208
2279989424B588   SHAWN       PITCHFORD                 OK          21555818942
2279B263591241   ROBYN       WATTS                     GA          90012722635
2279B66949184B   GERARDO     SILVA                     OK          90011416694
2279BA29591541   ALAN        LARA                      TX          90013130295
227B11A5285938   SHELLY      GILLUM                    KY          67055161052
227B122A655957   ANTONIA     HERNANDEZ                 CA          90010612206
227B2442787B59   CALENE      REED                      AR          23000634427
227B252845715B   VERONICA    HUNT                      VA          90001635284
227B266422B27B   ONITTE      MCKINNON                  DC          90004546642
227B284749155B   JUAN        ESCOBAR                   TX          90011098474
227B3456351369   SARAH       JONES                     OH          66002884563
227B3A77287B87   JOYDASHIA   LOVE                      AR          90015450772
227B3AA5887B59   LESLIE      JAMES                     AR          23081420058
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227B417687B449   JERNARD        HORNE                  NC          90010901768
227B4228A31453   CANDICE        OWENS                  MO          90010642280
227B4283272B42   HOWARD H       TSUCHIYA               CO          90014972832
227B458815B271   JENNIFER       KNAUER                 KY          68014485881
227B49A2172B98   JUAN           ROCHA                  CO          33021259021
227B5111755957   MOSES          DESOTO                 CA          90015111117
227B5119433677   PEARLIE        WILLIAMS               NC          90005791194
227B51A2661997   EMILIO         JIMENEZ                CA          90002581026
227B51A715B167   CEPRESHA       REED                   AR          23075051071
227B539819136B   YADIRA         REYES                  KS          90011853981
227B592135B271   JOYCE          COLLETT                KY          68048149213
227B5948A85938   MANUEL         COFFER                 KY          90014779480
227B628665B161   MAURICE        SPENCER                AR          90013182866
227B6628747952   APRIL          HAYES                  AR          90013496287
227B6AA455B167   BRENT          DAVIS                  AR          90006250045
227B728845B571   DANGELA        MARTINEZ               NM          90009552884
227B761275B232   ASHLEY         EVENSEN                KY          90013786127
227B775774795B   DEBRA          MCCALISTER             AR          25009157577
227B7967591522   ERIKA          ROMERO                 TX          90013739675
227B79AA45715B   ARISTIDES      ESCOBAR                VA          81077709004
227B8249641259   ROGGER         GRAHAM                 PA          90001682496
227B846334B261   ARQUIMIDES     AYALA                  NE          90004374633
227B8A8224B588   DEMETREE       STEVENSON              OK          90011530822
227B9488531453   JASMINE        RODRIQUEZ              MO          90014704885
227B964646196B   MARVIN         THOMAS                 CA          46031136464
227B96A4131631   TRAVIS         LANKFORD               KS          22064626041
227BB122372B84   ANN            PALMQUIST              CO          33055701223
227BB13165B271   KURTISHA       SMITH                  KY          90010651316
227BB78582B232   DERRICK        WREN                   DC          90003957858
2281184A741245   TONY           HALE                   PA          51010968407
22812642A91828   RICKIA         ANTWINE                OK          90011086420
22813A29287B59   GERALDINE      ROWDY                  AR          23000040292
22813A31491241   JEANINE        COLLIAR                GA          90009860314
2281515872B27B   JERITA         SMITH                  DC          90008991587
2281516338B168   MICHAEL        PAEZ                   UT          31037871633
2281529899184B   ROBERT JAMES   MILLLER                OK          90005472989
22815524A91541   JUAN           CHAVARRIA              TX          90010995240
228164AA24B588   JAMES          RAY                    OK          90014854002
2281665559184B   SHERENDA       MACK                   OK          90005116555
2281679318B17B   JAY            NELSON                 UT          90011307931
228167A4872B88   MARANGELY      GONZALEZ COLLAZO       CO          33095237048
22816867172B84   PEDRO          LEYVA                  CO          90011478671
2281693195B571   ERIKA          MORENO                 NM          90014869319
22816A12247952   PHILLIP        WOODEN                 AR          90013170122
22816AA419189B   JOHNATHAN      DEARMAN                OK          90014760041
2281795345B161   CHRISTOPHER    SCOTT                  AR          90015449534
22818353387B87   EARL           GRAHAM                 AR          23080203533
2281859119136B   JOE            KINCAID                KS          29078555911
2281872735B531   SAMUEL         FERNANDEZ-SERRANO      NM          90006637273
22819212387B87   FELICIA        SMITH                  AR          90015332123
2281933152B27B   JESSAMELA      FLEMING                DC          81004463315
2281968885B161   BRYANT         CARTER                 AR          90015196888
2281973855715B   FREDRICK       PECK                   VA          90012797385
22819818A9189B   KADIJAH        CRUMP                  OK          90006388180
2281B181172B42   MARIA          MIRAMONTES             CO          90008931811
2281B3A644B588   IRMA           BRAVO DE HERNANDEZ     OK          90012903064
2281B83122B235   CASSANDRA      BROWN                  DC          90000888312
2281B8AA69794B   LAUREN         ARELLANO               TX          90011418006
2281BAA759794B   WILLIAM        BALANGA                TX          90012310075
2282124945B571   BERLIN         CHAVEZ                 NM          90011232494
2282192524B22B   SHERYL         WALKER                 NE          90012689252
22822337A2B27B   KEYONNIA       WASHINGTON             DC          90014883370
2282272735B161   ROSA           BELMONTE               AR          23013687273
2282333249155B   GONZALO        PEREZ                  TX          90011723324
2282346159189B   CAMELIA        CASTRO URQUIZA         OK          90015284615
22823A9435715B   JOHANA         GARCIA                 VA          90013260943
2282428648B168   DAVID          IRVINE                 UT          90008722864
2282445169184B   MICHAEL        HOLT                   OK          90010784516
2282493435715B   EDWIN          AYALA                  VA          90010669343
2282577252B27B   SHANIKA        HORTON                 NC          90001407725
2282578779379B   MICHAEL        MOORE                  OH          90009547877
22825A6959155B   NANCY          BORJON                 TX          75055260695
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2282614595715B   JENNY        RIVERA                   VA          90013041459
2282632215B571   BERTHA       QUETADA                  NM          35085913221
228273A4591522   SUSANA       RENDON                   TX          90014983045
2282754575B161   KATHELEEN    MORGAN                   AR          90011285457
2282828864B588   ANDRE        MITCHELL                 OK          90015142886
2282834A891541   GISELA       ZALDIVAR                 TX          75034833408
2282876665B531   JESSICA      AVILA                    NM          35003967666
2282948962B27B   JOY          HARRIS                   DC          90010124896
2282994399189B   DIANNA       BOALS                    OK          90015199439
22829A47655957   PAYGO        IVR ACTIVATION           CA          90010170476
22829A67972B88   RICHARD      TWEED                    CO          90013770679
2282B183A91522   MA ELENA     VALENZUELA               TX          90006251830
2282B52615B271   MICHEAL      MAGRUDER                 KY          68015825261
2282B911372B88   MARTIN       PANTOJA                  CO          90009429113
2283151735B161   DONAVAN      BRANHAM                  AR          90012315173
2283159799136B   LATRICSHA    MONDAINE                 MO          29086395979
2283175579794B   JOSE         TOC                      TX          90010767557
2283188135B167   PAUL         NOID                     AR          23013998813
22832498687B87   MARIANTE     BUTLER                   AR          90011224986
2283262469136B   RACHAEL      MONTCOMERY               KS          90007496246
2283293A82B27B   DARLENE      HOLBROOK                 DC          90010479308
2283313245B375   ERIN         MCINTYRE                 OR          90012231324
2283316A75B538   FAVIOLA      CHAVEZ                   NM          90008891607
2283359939136B   DAWN MARIE   BALION GARCIA            KS          90012835993
22833783A9155B   MAYRA        WASQUEZ                  TX          90014657830
2283382832B27B   MATTHEW      QUEEN                    DC          90013708283
22833A1615B571   VANESSA      ANGLIN                   NM          90011570161
22833AA3891828   DOROTHEA     PRATER                   OK          90008870038
22834136A91828   NORMA        SIGLLA                   OK          21002761360
2283437764B588   DONALD       ROBINSON                 OK          90014253776
22834653A9189B   GERARDO      RODRIGUEZ                OK          90008676530
2283489629155B   ANGEL        PAREDES                  TX          90014298962
2283493475715B   ISIDRO       PACHECO                  VA          90008079347
22835665A84364   BRADLY       HILBURN                  SC          90003596650
22835A25487B87   LORENZO      JENKINS                  AR          90013890254
22835A9114B261   MILTON       CURRINGTON               NE          27072210911
2283631699184B   ROSA         AYVAR                    OK          90014173169
2283646985B271   HOLLY        FUQUA                    KY          90008014698
22836699672B88   ROBERTO      CERVANTES JR             CO          90013076996
22836A9A49794B   IKPOTO       UDOH                     TX          74010720904
2283753835B571   FRANK        SAIZ                     NM          90007255383
22837665572B88   GREGORIO     LEIVA                    CO          33016676655
2283853319794B   RAUL         ACOSTA RIVAS             TX          74018165331
2283898485B271   DORIS        HENISEN                  KY          68006799848
228391A7231631   MICHAEL      WILLARD                  KS          90000571072
22839387A7B471   TYREECE      SHEFFIELD                NC          90009163870
22839475A5B161   MARTIN       RAMIREZ                  AR          90014864750
22839A17391528   ALINE        ZAMORA                   TX          90010650173
22839A26181637   MARIA        VALENZUELA               MO          29060520261
2283B264A91522   MARTHA       RENTERIA                 TX          90008492640
2283B628187B87   TRACY        STEPHENS                 AR          90013206281
2283B674991241   LAVON        BOWENS                   GA          90013086749
2283B796593773   MARGUERITE   GUDORF                   OH          64521107965
2283B88465715B   CARLOS       MAURICIO                 VA          90014738846
2284112A15B571   AMBER        GRAVES                   NM          35044901201
228411A1991522   GIANNA       VALDEZ                   TX          90008181019
22841A6A281661   DENIS        THIESEN                  MO          90015410602
22842A64491933   RONNIE       LOCKLEAR                 NC          90014010644
2284323565B232   MELINDA      DATTILO                  KY          90007932356
2284336187B471   LINDSAY      MARESKI                  NC          90014483618
22843AA658B168   STEVEN       ROSENGREEN               UT          90007020065
2284421867B471   ALEJANDRO    VILLASENOR               NC          90009942186
22844A2625B161   TIFFANI      NASH                     OK          90009640262
2284512195B167   WILLIAM      KODER                    AR          90006761219
228457A7872B42   MARY         SOLIS                    CO          90011127078
22845848A31453   YOLANDERS    CARTER                   MO          90012128480
2284617634B281   KAREN        CUTSHALL                 IA          27099631763
2284622177B449   GINA         LANGTEAU                 NC          90013472217
228462A5591522   SHERLY       ABRAHAM                  TX          90010642055
2284636A54B577   ZAM          CIN                      OK          90014433605
2284679219155B   ADEMOLA      OLOWOGUNLE               TX          90014657921
2284722892B27B   SHAKIA       LYLES                    DC          90012022289
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22848367A2B27B   MARIA DE LOS ANGELES   RAMIREZ            DC      90013043670
2284841115B271   CECELIA                CALDERON           KY      68007734111
2284898339136B   MARCELA                AVILA              KS      90014919833
22848A5A855957   ALICE                  FUENTES            CA      48025240508
2284942397B449   IFAYE DEEVON           DICKSON            NC      90014594239
2284956272B27B   MONICA                 GONCALVES          DC      90011695627
2284975269184B   MARIA                  RUIZ               OK      21067587526
22849887A9136B   RONALD                 SMITH              KS      29076768870
22849923187B87   CRYSTAL                DEWEESE            AR      90008789231
2284B196A9136B   GUADALUPE              GALVAN             KS      90002961960
2284B33A891541   JOSE LUIS              RODRIGUEZ          TX      90006523308
2284B368585938   CLAUDINE               CONRAD             KY      90014803685
2285112329189B   LOU CINDY              TARGETT            OK      90001531232
22851274687B87   AUTUMN                 NELSON             AR      90008192746
22851282372B88   GRISELDA               HOGSETT            CO      90013752823
2285192924B588   MARIA                  NUNEZ              OK      90013809292
22851931772B42   COREY                  DAVIS              CO      90012089317
2285325945B271   MIA                    JUDKINS            KY      90007002594
228532A785715B   JENNIFER               LEON               VA      90014982078
2285349757B449   MICA                   STURDIVANT         NC      90012074975
2285371397B449   MICA                   STURDIVANT         NC      90014677139
2285472419155B   RICARDO                MENDOZA            TX      90014587241
2285571142B27B   TIFFANY                FLEMING            DC      90012257114
2285575985B161   LATRICE                LOVE               AR      90013397598
228559A4472B88   WILLIAM                SHEDD              CO      90010499044
2285647399794B   ESTELLE                TIRADO             TX      90004914739
2285657119189B   CAROL                  SMITH              OK      90013345711
2285668569184B   MONICA                 HERVEY             OK      90010006856
22856A38A91541   ELIZABETH              FERNANDEZ          TX      90002110380
228573A9155957   JOSE                   JESUS              CA      48013713091
22857994A5B271   JENNIFER               KEY                KY      90015329940
228582A634B261   DAVEN                  SPERA              NE      90002552063
22858367687B59   LAKEICHA               WHITE              AR      90014783676
228588AAA9155B   CHRISTOPHER R.         AVINA              TX      90014658000
22859379A5B571   JUAN                   ANDRADE-MARTINEZ   NM      90003013790
2285B265791542   CARLOS                 RODRIGUEZ          TX      75057582657
2285B29624B261   CHRISTINA              CASPER             NE      27025122962
2285B69565B161   KATRINA                WILLIAMS           AR      90007276956
2286123125715B   GREG                   GARTENMAYER        VA      90013162312
22861455972B84   QANIA                  RYAN               CO      33085524559
2286163929155B   RICHARD                NINO               TX      90013416392
2286241214B588   ANTHONY                TOCCI              OK      90014854121
22862647672B42   KEITH                  ROBERTN            CO      33089216476
22862A93691828   RAVEN                  DYER               OK      90014810936
2286347735B161   YOLANDA                MANGRUM            AR      90013994773
22863A3474B588   JAYNEE                 SCOTT              OK      90006130347
2286449AA91522   TYRONE                 GREENE             TX      90003464900
2286492924B588   MARIA                  NUNEZ              OK      90013809292
22864A2515B571   JOSE                   CABRAL             NM      35016580251
2286535225B232   NICHOLAS               DELANEY            KY      90013983522
2286536334795B   CHRISTOPHER            MCPHERSON          AR      90009673633
228658A884B588   GRACIELA               MARTINEZ           OK      90013738088
2286644317B449   THOMAS                 WHITE              NC      11043204431
22866854772B84   PAULINE                DISINGER           CO      90013308547
2286752492B931   EDUARDO                OCHOA              CA      90006705249
2286779725B571   ANA                    HERNANDEZ          NM      90014277972
22867987772B84   ARACELI                GUADARRAMA         CO      90005359877
2286799354B261   ROSE                   KIARIE             NE      90012989935
2286847935B271   DONALD                 FARRIS             KY      68026314793
2286855194795B   SHREKA                 CHESTNUT           AR      90006975519
22868564A9136B   FABIO                  REYES              MO      90012615640
228685A885B35B   SIGRID                 WECHSLER           OR      90011205088
2286875977B471   NORMA                  SINGS              NC      11081367597
228687A7572B88   ALEX                   RODRIGUEZ          CO      90013077075
2286968618B168   LINA                   LAFORET            UT      31009046861
228696A2172B98   MARK                   STARCEVIC          CO      33014586021
2286981675715B   WALTER                 MOLINA             VA      81079168167
22869A85781638   DEBORAH                STEEN              MO      29086690857
2286B383757B33   MISTY                  SIMON              PA      90012263837
2286B713791522   ROSA                   GONZALEZ           NM      90004267137
2286BA84191828   LISA                   CANNON             OK      90011750841
2287166985B571   MICHAEL                AGUILAR            NM      90014456698
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2287184695B232   LISA         HATFIELD                 KY          90008498469
2287226385B271   KAREN        CLAN                     KY          68016122638
228727A275B571   BENJAMIN     WHEELER                  NM          35016387027
2287294289155B   WALLACE      MICHELLE                 TX          90010579428
228735A5831453   SHEKINAH     HOLEMON                  MO          27572635058
228737A299136B   JORDAN       LEAVIT                   KS          90011127029
22874696172B88   CARMEL       DAMASCO                  CO          33014426961
2287495829136B   GABRIELA     ALMANZA                  KS          29077249582
22874A6979794B   BRUCE        MARK                     TX          74010960697
228752A7891942   CARMEN       PEREZ                    NC          90014462078
228753A6391828   KARRI        LEWIS                    OK          90012583063
2287611339189B   WHITNEY      MINNEY                   OK          90009451133
228762A365B271   ALYSSA       DAGES                    KY          90013922036
2287639474795B   BENJAMIN     PHIPPS                   AR          90014083947
22876A78147952   MAYRA        MENDOZA                  AR          90011720781
2287752959155B   ADRIAN       SOTO                     TX          90014715295
228782A8391828   LASHAE       COURTNEY                 OK          90013622083
22878514672B84   RICARDO      LEZAMA-CRUZ              CO          90013415146
2287912157B425   RICARDO      TORRES                   NC          11018081215
2287951748B17B   JEFFREY      PARKIN                   UT          31001195174
2287975A381637   WYSCHELLE    WALLACE                  MO          29079837503
2287989915B232   MIKELLE      SPENCE                   KY          68011718991
22879A7A37B449   DEON         SELBY                    NC          90014740703
2287B26945B271   ETESE        FRY                      KY          90013182694
2287B29A247952   ASHLEY       ROGERS                   AR          90014652902
2287B522372B42   CELENA       JAMES                    CO          33030115223
2287B558243551   ANTHONY      ANDERSON                 UT          90007535582
2287B684284364   DANIEL       FLOTA                    SC          90003596842
2287B796593773   MARGUERITE   GUDORF                   OH          64521107965
2288147464B588   RAMIRO       ORDONEZ                  OK          90012624746
2288157AA81661   SINCERE      WHALES                   MO          90013005700
2288177A84795B   SAMATHA      HOLSCHER                 AR          90013507708
2288199435137B   LUIS         FUENTES                  OH          90004819943
22882A36A5B161   JENNIFER     HARMON                   AR          90009020360
22882A86585938   SARITA       DIYALI                   KY          90002780865
2288348528B168   KRISTIN      GILLETT                  UT          31021954852
2288373165B167   ISABEL       MAHONE                   AR          90004987316
22883795572B84   JOSE         RUEDA                    CO          90011247955
22883A43472B88   GORGE        GUERRERO                 CO          33040820434
228842A829184B   BRIDGET      FRIDAY                   OK          21082982082
228849A2385938   SONYA        BLAKE                    KY          90009359023
22884A18281637   NADINE       FARRIS                   MO          29078630182
2288513159152B   RICHARD      REINHARDT                TX          90010661315
2288531715B232   LATOYA       SPRATT                   KY          90013803171
2288539994B588   TAKISHA      JACOBS                   OK          21559763999
2288551359794B   JOHN         DUKE                     TX          90014435135
2288614554B588   JAMIE        JOHNSON                  OK          90013551455
2288619A721929   STEVE        JAKUVCCAK                IN          90015421907
2288651594B261   ANTIONETTE   WHITE                    NE          27059695159
2288668125715B   GUSTAVO      PEREZ                    VA          90012146812
2288678247B471   KEVLIN       HAGERTY                  NC          90013047824
22886872672B42   DAVE         NOSKER                   CO          90004658726
2288693117B449   REYMOND      ALEXANDER                NC          11031159311
2288732A29794B   ESMERALDA    CONTRERAS                TX          90013183202
22887792487B59   KARY         WILLAMS                  AR          90015197924
22888191987B59   FELICIA      DIXON                    AR          90014771919
2288837484B588   SKYLAR       RAMOS                    OK          90007863748
228884A225B161   EBONI        JONES                    AR          90014154022
228884A4A81661   CLAUDIA      HERNANDEZ                KS          90002804040
22888989A2B27B   WELTON       HOWARD                   DC          81025259890
22888A3A887B87   JOSEPH       BIRD                     AR          90008890308
22889399772B84   BILLIE       MCQUEEN                  CO          90013923997
2288999A785938   RANDY        SLONE                    KY          90014809907
2288B11684B588   TRACI        TREVINO                  OK          90007221168
2288B43577B471   ANIBAL       ROJAS                    NC          90012214357
2288B532551369   ANA          GOMES                    OH          66095055325
2288B96999189B   STEPHEN      CONNER                   OK          90002699699
2289136665B271   BARBARA      HAYES                    KY          90011363666
2289199A272B88   MARITZA      SANCHEZ                  CO          90014099902
2289226195B243   MATTHEW      TUCKER                   KY          90000342619
2289362995B232   DEAN         DEMALA                   KY          90009256299
2289371312B27B   JAMES        WHITE                    DC          81081867131
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2289374857B449   CODY             GARMON               NC          90014347485
22893813276B71   RUBY             MONTESINO            CA          90008028132
22893A1179189B   JOHN             BELL                 OK          21047540117
22894137A2B232   SARAH            YOUNG                VA          90004801370
2289456649136B   BARBARA          ROWAN                KS          29075435664
22894A93572B88   DIOSELINA        TINOCO               CO          33055240935
22895A82685938   FRANK            BOATTY               KY          90003050826
22896168487B87   JALON            KELLY                AR          90012921684
2289624365715B   HANIBAL          MAHDI                VA          90013052436
22896312A2B27B   HOWARD           SMITH                DC          90004953120
2289652174B588   JACOBO           ORTIZ-ROJAS          OK          90002415217
2289683399155B   JOHN             ADAME                TX          90014658339
22897696372B88   JUAN             MORENO               CO          90014816963
2289777A19794B   BELEM            ALIA                 TX          90004387701
22897A4814B588   JENNIFER         SWANSON              OK          90009220481
22897A68291828   LUIS             LOPEZ                OK          90012800682
22897A89191541   JALYIN           GONZALEZ             TX          90013930891
2289916A15B232   LONNIE           BYERS                KY          90014371601
22899252A4B588   MANUEL           GONZALEZ             OK          90014522520
2289967125715B   JOSE             GARCIA               VA          81016556712
22899676A7B471   DAVID            GARCIA               NC          90006596760
2289B41925B271   EVELYN           PRICE                KY          90008764192
2289B42369794B   BRANDON          WATSON               TX          90013964236
2289B44678B17B   FELIX            PALACIOS             UT          90003284467
2289B57317B449   CELIA            CASTRO               NC          11056075731
228B1244A9189B   MAYRA            MUNOZ                OK          90011312440
228B159287B347   NIGATUA          WOLDEGIORGIS         VA          90008815928
228B168619794B   RANDY            GARCIA               TX          74098296861
228B171144B588   FAYETTA          LEDFORD              OK          90007357114
228B1962591241   JONATHAN KIZZY   MEWBORN              GA          90011209625
228B1996631631   JESSICA          ADKINS               KS          22052269966
228B242955B161   STACYE           CAULDWELL            AR          90000974295
228B259835B571   DOMINIQUE        LAVATO               NM          90013415983
228B2656347952   JUAN             HERNANDEZ            AR          90001566563
228B267625B531   CLARICE          BERNI                NM          90007916762
228B3256A5715B   ANTHONY          FERNANDEZ            VA          81013712560
228B371749189B   GLADYS           GASTELUM             OK          21061217174
228B376519155B   GUSTAVO          AGUILAR              TX          90014657651
228B416554B588   VAN              CLEARY               OK          90014701655
228B434619184B   GERMIRAH         GOUDEAU              OK          90014813461
228B486365715B   JACQUELENE       RICE                 VA          90011128636
228B5361A5B271   SAMUEL           RICE                 KY          68094943610
228B5362355957   EMILIO           GARCIA               CA          90011313623
228B57A429794B   CARLOS           BATZ                 TX          90013317042
228B5962872B88   EDIE             DE LEON OROZCO       CO          33040829628
228B5AA3391828   YASHICA          TITSWORTH            OK          90014500033
228B631AA5B271   SHENEKA          STARNES              KY          90010293100
228B661774B261   MARIO            URIEL ORTEGA         NE          90012766177
228B7171687B87   AVIVA            USIFO                AR          90015331716
228B721A89136B   KIARA            MAYS                 KS          90007382108
228B7334687B87   JYLIA            SPENCER              AR          90010303346
228B837535B531   DESIREE          CASTILLO             NM          35089963753
228B846579794B   BRANDON          HEADGE               TX          90015104657
228B878425715B   KAREN            MCKEON               VA          90010727842
228B886A691541   EDWARDO          GONZALEZ             TX          75017868606
228B88A1685938   JAROD            BRADEN               KY          90013618016
228B8962591241   JONATHAN KIZZY   MEWBORN              GA          90011209625
228B8A41A5715B   KARIN            FRANCO               DC          90003900410
228B8A47872B88   TOMEKA           MUHAMMAD             CO          33030020478
228B8AA145B232   ANA              GONZALEZ             KY          68042130014
228B9326A4B261   DENNIS           DVIRAK               NE          90015023260
228B93A8591541   MARIA            VERA                 TX          90014793085
228B9627781637   CYNTHIA          HARRIS               MO          90004986277
228B968714795B   MIGUEL           PADILLA              AR          25085526871
228BB32198B168   GRISEL           LOPEZ                UT          90004073219
228BB462751338   PIPER            MILLS                OH          66033494627
228BB56345B232   PEDRO            LOPEZ                KY          90015315634
228BB668691522   MATILDE          RODRIGUEZ            TX          75057346686
22911A21891522   RAUL             RAMIREZ              TX          90009660218
22911A6684B588   ERICA            KAMOSS               OK          21573340668
2291217729189B   EDITH            KEASLING             OK          90013871772
2291222154B281   LAURA            MERRILL              NE          90011672215
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2291237422B27B   BENNEILLA   WILLIS                    DC          90012163742
22912924587B87   KAVESIA     THOMPSON                  AR          23046349245
22912AA495715B   EDNA        AUGUSTT                   VA          90008000049
2291314545B936   PRISCILLA   PETLEY                    ID          90014201454
2291323A991828   CHRISTA     KENNEDY                   OK          90001562309
22913284A9136B   JAN         PRESLER                   KS          90011892840
22914423172B84   FRANK       TREVINO                   CO          90013114231
2291459396B259   JEFFREY     ERLAK                     AZ          90014385939
229161A854B281   ALLEN       WALTER                    NE          90000851085
2291627655B232   MIKE        BAEZ                      KY          90010732765
2291642A57B449   LATOYA      SPENCER                   NC          11059184205
2291649354795B   CHANTHA     PHORIMAVONG               AR          90011174935
2291683499155B   GABRIEL     VALEZUELA                 TX          75013018349
2291725779189B   SEAN        ETHRIDGE                  OK          90008112577
229181A1691828   MARK        SUMPTER                   OK          21085901016
22918579287B87   MONICA      NELSON                    AR          90014615792
2291868217B471   BRITTANY    BARNETTE                  NC          11051776821
2291891515B232   SIRRIDER    BOBBITT                   KY          68076499151
22919957887B87   KATHY       KENTLE                    AR          90004269578
229199A3355957   MELINDA     SOUSA                     CA          90006939033
22919A9655715B   GEORGINA    SEGOVIA                   VA          90006540965
2291B3A8487B87   PAYGO       IVR ACTIVATION            AR          90013143084
2291B72997B449   WADE        LAMB                      NC          11087627299
2291BA2895B161   PAMELA      BUTLER                    AR          90011030289
2292118617B422   PAMELA      OLIVER                    SC          11046981861
22921381174B79   MARGARET    SELIGMAN                  PA          90001633811
229216A415B571   KRYSTAL     YANEZ                     NM          90012876041
2292214955B571   BRYAN       SIMPSON                   NM          90011241495
22922246887B87   JAMES       SHAW                      AR          90015532468
22922582A51369   ALEX        ROMERO                    OH          66017445820
22922592987B87   LATONYA     JENKINS                   AR          90009465929
22922A39A31631   RYAN        LANDWEHR                  KS          90014650390
2292351849136B   ADRIANA     RANGEL                    KS          90014525184
22923598672B88   ABEL        DOMINGO-LOPEZ             CO          90007805986
22924156672B42   JULIE       SZABO                     CO          90013361566
22924186187B87   GRANNYS     KITCHEN                   AR          23060621861
2292442822B27B   CAROLYN     BLANDING                  DC          90001414282
2292477367B422   ANGIE       ALSTON                    NC          11053577736
2292479AA72B88   CHERI       KNOX                      CO          90013747900
2292543A24795B   ALMA        SOLTERO                   AR          90012464302
22925777487B87   DAVID       WILLIAMS                  AR          90015037774
229269A6872B88   TIM         JACOBS                    CO          90005339068
22926A1215B571   JORGE       MELENDREZ                 NM          35017760121
22927489A5B167   ANDERSON    SHEPARD                   AR          90006984890
22927711872B84   JESSE       LAUVER                    CO          90012067118
22927898787B87   JERMEIKA    STOKES                    AR          23098208987
229278A499155B   KELLY       GALINDO                   TX          90012818049
22927A91772B42   JOSEPH      BADER                     CO          90013750917
229282A6A7B449   MONICA      ORTIEGA                   NC          90013922060
22929257472B88   SALVADOR    MUNOZ                     CO          33076872574
2292B334291828   ROBERT      BAILEY                    OK          90014663342
2292B95A591528   RAY         PORRAS                    TX          90006529505
2292B9A2391541   LIZA        MITCHELL                  NM          90011359023
2293132A45B571   SONIA       VIDANA                    NM          35015343204
2293134275715B   CELIA       RIVERA                    VA          90012663427
2293167994795B   FRANCISCO   PACHECO                   AR          90010716799
2293179833B347   CHUANTE     EDWARDS                   CO          90006177983
2293262AA9136B   KARELLY     PEREZ                     KS          90001116200
2293263A29794B   ASHTON      GUSTAFSON                 TX          90015126302
22932766374B79   DAWN        MCCOY                     PA          51060757663
22932A5917B471   VIVIAN      ONYEGBULEN                NC          11088550591
2293322494B261   JESSICA     THACKER                   IA          90014612249
2293324385B232   JEREMY      KEEN                      KY          90009242438
2293368A591522   DANIEL      ARGUELLES                 TX          90013966805
22934133A5B271   CHRISTINA   HOLLIS                    KY          90003481330
2293455A587B87   TRALISA     BOMAN-SUELL               AR          90014125505
2293486789794B   JAIRO       GARCIA                    TX          74015268678
2293488A14B261   LUZABETH    BIMPOLO-NDOULOU           NE          90014378801
2293536429189B   QUINTON     SMITH                     OK          90011853642
22935457987B87   SHANIQUE    IVERSON                   AR          90008254579
2293613A281661   KAT         ALEMAN                    MO          90011411302
2293769235B232   JONATHAN    WEST                      KY          68074836923
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2293774A84795B   ADRIANA     DIAZ                      AR          90014847408
2293792989794B   LILIA       GARCIA                    TX          90013779298
2293875125B571   MARK        LANDRY                    NM          90009867512
22938928A5B161   LONNIE      HOLLIS                    AR          23060419280
2293985A75B571   CARMEN      TALAVERA                  NM          35083618507
22939941572B88   TERESA      LEE                       CO          33086549415
22939A48947952   RICHARD     MARTING                   AR          90011740489
2293B457987B59   SHANIQUE    IVERSON                   AR          90008254579
2293B823A47952   ALLEN       GOSS                      AR          90011738230
2293B991591885   ANGELA      BLACKBURN                 OK          90007039915
2293BA87747952   VANESEA     MALONE                    AR          90013230877
2293BA98531631   WYATT       WILSON                    KS          90014650985
2294118699155B   IRMA        FLORES                    TX          90001211869
229417A2491952   CLEO        FOWLKES                   NC          90008547024
22941AAA59184B   LILIA       CHAVEZ                    OK          90014270005
2294229649184B   AMBER       WEIESNBACH                OK          90014072964
22942442A5B571   BENNY       RAMIREZ                   NM          90014654420
22942593A7B449   COURTNEY    EPPS                      NC          90010735930
2294274339794B   LAURA       ALDYCKI                   TX          74011237433
22942A7235715B   JAMES       PUCKETT                   VA          81021030723
2294366259155B   ROBERT      SMITH                     TX          90013416625
22943A69A41245   THERESA     SEDOR                     PA          90000320690
2294471A39155B   JUANITA     NARANJO                   TX          75089507103
22944747474B79   KIM         SALIVONCHIK               PA          51061397474
2294499815B161   DAVID       STROM                     AR          23086719981
2294528665B161   MAURICE     SPENCER                   AR          90013182866
2294566A24B588   LEODAN      DE LEON GIRON             OK          90013436602
22945694772B84   RITA        DOMINGUEZ                 CO          90013986947
2294575582B27B   JOEL        BERNARD                   DC          81027877558
22945995572B88   CYNTHIA     PARRA                     CO          90014839955
2294642139794B   JAVIER      GARCIA                    TX          90014994213
2294657129136B   JACKIE      ELGIN                     KS          90012865712
22947183A4B588   JOSE        AVILA                     OK          90012951830
22947415572B84   SHAWNA G    PAGETT                    CO          90011524155
22947813A5715B   DRINA       LOPEZ                     VA          90013868130
2294785565B232   TARA        KELLER                    KY          90014718556
2294872919136B   JHON        BESCH                     KS          90012687291
2294978247B471   KEVLIN      HAGERTY                   NC          90013047824
2294B12714B588   RICHARD     HENDRIX                   OK          21555571271
2294B5A7A4795B   MARTHA      MARTINEZ                  AR          90012165070
2294B68759794B   TOBIA       WASHINGTON                TX          90010396875
2294B952A61957   CARLOS      CORTEZ                    CA          90009389520
2295112149155B   ISELA       WILLIAMS                  TX          75097131214
2295136A25B571   MONIQUE     LORETTO                   NM          90013393602
2295143199189B   JACKIE      MORRIS                    OK          21084584319
2295183395715B   ARACELYS    FUENTES                   VA          90013618339
22951931A4B281   CHARLES     BIBBS                     NE          90010029310
22951A64A87B59   ANTHONY     GRAYDON                   AR          23002410640
22951A7284B531   MIA         COOKSEY                   OK          90013940728
2295236739794B   TERRI       MCMURRY                   TX          74039423673
22952A3944B588   CORENA      MILLER                    OK          90009760394
22952A67691241   SABRINA     PAFILLA                   GA          90006970676
2295333897B471   KEISHAWN    ALEXANDER                 NC          90011513389
2295388228B168   JENNIFER    ROBBINS                   UT          31005738822
22953A8829189B   MICHEAL     GRAY                      OK          90010270882
2295412715B344   ANDRES      ALVARADO                  OR          44576091271
229541A214B588   LOLITA      ROBINSON                  OK          21565761021
2295543474B588   ELIAZAR     PENA                      OK          21511354347
2295545869155B   EMMY        CASTILLO                  TX          75005034586
22955983A87B87   PAYGO       IVR ACTIVATION            AR          90014289830
22955A14184364   TIFFANY     STACK                     SC          90006090141
22955A9467B471   VICTOR      CASTILLO                  NC          90013930946
22956398A4B261   JOSE        GALLEGOS                  NE          90014383980
22956568A91828   CHELSEA     WARD                      OK          21017995680
2295658359136B   ELSA        CARDENAS                  KS          90010635835
2295667249155B   ALBERT      SOUTH                     TX          90011726724
229568A2671925   CAROL       LAIGO                     CO          90009448026
2295695259189B   BRANDY      REED                      OK          90013779525
2295816197B449   DIANA       RUIZ                      NC          90014811619
2295881484B551   ISRAEL      VARGAS                    OK          90011658148
2295942665B161   KAELA       AVALOS                    AR          90013324266
22959438A91828   LESLIE      PALAFOX                   OK          21006434380
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2295988299198B   NICHOLAS        EMORY                 NC          17010988829
2295B141831453   COURTLAND       CURRY                 MO          27590321418
2295B34865B271   DORIS           SHOBE                 KY          90013163486
2295B7A7A9155B   JESSICA         DE SANTIAGO           TX          90006047070
2295B92949136B   ZACH            BANZET                KS          29036029294
2295B961187B87   DEBRA           WILLAIMS              AR          23009279611
2296111A491522   GABRIELA        VELARDE               TX          90014211104
229613A827B471   KRYSTAL         BILLINGSLEA           NC          90015123082
22961645A76B53   RODRIGO         GUERRA                CA          90013776450
2296172484795B   FLODIA          ASEVEDO               AR          90003507248
229619A2831631   SARAH           BOHNERT               KS          90011449028
22962826172B84   SANDRA NOHEMI   GARCIA                CO          90013058261
2296311335B271   TEANDREA        GIRTON                KY          90001731133
2296344865B571   ARMANDO         VASQUEZ               NM          90005184486
22963839387B59   VICTORIA        JACKSON               AR          90013938393
2296427595B271   SHAWN           MARTIN                KY          90014892759
22964457987B59   SHANIQUE        IVERSON               AR          90008254579
2296447414B588   JACKIE          HEFFRON               OK          21514324741
2296462285B161   TOMMY           ROBERTS               AR          23065926228
22964A91284364   MARLENE         FLEMING               SC          19069480912
22965213672B88   HELEN           TORRES                CO          90012902136
22965227472B42   CONSUELO        GONZALES              CO          33022762274
229653A854B588   DAN             HORA                  OK          21589363085
22965A54972B88   ENRIQUE         SOLIS                 CO          33028170549
22965A92A5B571   CRYSTAL         MENDOZA               NM          90008670920
2296713339794B   DENNIS          WILLIAMS              TX          90013131333
2296728867B449   ROSA            MADRID                NC          90013622886
2296786245715B   JOEL            VIGIL                 VA          90006718624
2296837479184B   TAMARA          HORNE                 OK          21039613747
2296858667B449   JUAN            CONTRERAS             NC          90013395866
22968A45287B59   SEDRILL         GRIFFIN               AR          90011060452
2296919375B571   LAURA           CHIMENTO              NM          90012391937
229693A519136B   RODERICK        KELLEY                KS          90015353051
2296947214795B   MARY            SLAVENS               AR          25073084721
22969561787B59   DANEILE         THOMAS                AR          23078945617
2296B2A518B17B   KATHLEEN        JOHNSON               UT          90000332051
2296BA6639136B   CI              BEE                   KS          90014570663
2297122155B167   TIFFANY         ADAIR                 AR          90008862215
2297128A181661   MICKAIELA       MCKINLEY              MO          90010012801
2297133825715B   EFRAIN          GARCIA                VA          90002293382
2297141599155B   SAUL            HERRERA               TX          75097134159
22971A1879189B   SHANON          STRAIN                OK          21004090187
2297219419189B   AUBRIE          WIGGS                 OK          90010211941
2297219695B232   JAGANATHAN      LAKSHMANAN            KY          90010271969
22972713272B98   EDGAR           BARCA                 CO          33096937132
22972833872B42   JO ANN          THOMS                 CO          33063138338
22972A54955957   NELLY           RODRIGUEZ             CA          48078650549
22974144372B88   BRENDA          PEREZ                 CO          90013611443
22974262172B84   RON             HILL                  CO          90000402621
2297453A24B588   MARIA           CORADO                OK          21508775302
2297463664B261   BRENDA          HOLLINGSWORTH         NE          90005266366
2297522A691828   JORDAN          DACYCZYN              OK          90008752206
2297523865B255   JESSIE          SUMMERS               KY          90008052386
229754A1272B35   NANCY           BUTTERFIELD           CO          90009434012
229755A7872B84   CRISTOPHER      PAMIREZ               CO          90008175078
22976376A85938   CHASTITY        HALL                  KY          90014813760
2297656319189B   ANGELICA        BRENT                 OK          90003675631
229769AA69794B   FREDY           TAJUBOY               TX          74016249006
22976A2814B281   JAMES           LYONS                 NE          27012890281
229772A5691828   JACK            ODONNELL              OK          90012402056
2297869489184B   LAUREN          CLAIRMONT             OK          90013816948
2297913142B232   PATRICIA        REID                  DC          90004421314
229791A785715B   SERGIO          SUBILLAGA             VA          90014941078
2297921A991885   WENDY           CLARK                 OK          90007942109
22979366272B98   JUSTIN          TAFOYA                CO          90005713662
2297938A672B84   ELIZALDE        CRYSTAL               CO          33039673806
2297942285715B   GLADIS          HERNANDEZ             VA          90012414228
2297951264795B   DELOISE         MCCCHRISTIAN          AR          90006935126
2297957685B571   CHRIS           SANCHEZ               NM          90014085768
22979628672B98   JUSTIN          TAFOYA                CO          90012706286
229796AAA72B42   MATTHEW         SHEA                  CO          33022476000
22979974A4B261   TEQUILLA        JACKSON               NE          90015029740
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229799A7155957   JENNIFER      BARRIOS                 CA          90012039071
22979A5655B531   AUDREE        HUNT                    NM          90006670565
2297B231A9189B   DUSTIN        OLDEN                   OK          21078512310
2297B657555957   ROBERT        GONZALES                CA          48081686575
2298174685715B   BRYON         FELISKA                 VA          90012747468
22981789572B98   LUKE          TUCHINSKI               CO          90001427895
22981A35491962   ANGEL         COOKE                   NC          90006080354
2298254939184B   JUSTIN        COFFEE                  OK          90013155493
2298285589189B   KAREN         GRISMORE                OK          90008678558
229828A5791828   RICARDO       MORENO                  OK          21069128057
229831A6885938   KENNETH       MURRAY                  KY          90003031068
2298354829189B   AYANA         WILLIAMS                OK          90014125482
2298365545B139   TIA           WALKER                  AR          23005846554
2298372A972B84   BERTHA        MOLINA                  CO          33023797209
229839A534B261   LALIA         HART                    NE          27087159053
22983A18791828   MELANIE       POWDRILL                OK          90003360187
22984123272B88   MARIA C.      FERNANDEZ               CO          33056091232
22984138287B59   SAMARRA V     SPEARS                  AR          90014801382
2298487749155B   JOSE          MAESE                   TX          90014658774
229853A787B471   JUAN          ALBERTO                 NC          90014203078
2298555A55B271   SHAWNNA       MARTIN                  KY          90012245505
2298564A872B88   ALMA          DIAZ-LUJAN              CO          90002536408
2298584634B261   ANTONIO       CONEJO                  NE          90012418463
2298593189794B   KIMBERLY      MAY                     TX          90013179318
22985958A72B42   AMBER         BURNETT                 CO          33090529580
2298617534B588   THOMAS        WILLIAMS                OK          90009601753
22986284972B88   VERONICA      ESTRELLA                CO          90013752849
2298632912B27B   AURORA        FRASER                  DC          90013973291
2298657915B571   ESTEPHAN      SOILES                  NM          90014085791
22987164972B42   STANLEY       MCFARLAND               CO          33030451649
2298723735715B   MARGAREIT     GABRE                   VA          90003782373
2298733745B271   LAWRENCE      JONES                   KY          68063483374
2298748179794B   YASMAINE      THOMAS                  TX          90011334817
2298763912B27B   JOSHUA        HENRY                   DC          90013206391
2298778515B571   KERBY         MACE                    NM          35004957851
2298818A29794B   ALBERTO       RIOS                    TX          90010801802
2298832AA87B59   RENITA        WATSON                  AR          90004823200
2298843157B471   RICHARD       GALLOWAY                NC          90011234315
229888A583B192   MARTHA        LEWIS                   DC          90006088058
22988AA3881637   LISBETH       GALLEGOS                MO          90011820038
2298913142B27B   PATRICIA      REID                    DC          90004421314
2298939735B571   HEATHER       RICHARSON               NM          90004953973
2298B144A5715B   LILIAN        SAMAI                   VA          90002561440
2298B1A6272B88   BLANCA        JURADO                  CO          90000761062
2298B3AA39189B   ALEJO         MARTINEZ                OK          90002703003
2298B733872B88   SHARON        SOLOMON                 CO          90013077338
2298BA5665B271   DORATHY       NOE                     KY          90011350566
22991223A87B59   LARISA        JEFFERSON               AR          90014802230
2299148724795B   ZULMA         BARRIENTOS              AR          90002614872
2299149A891541   OLGA          RUIZ                    TX          90014444908
22991531972B84   KIMBERLY      GUERRA                  CO          90012715319
2299154425B571   MARK          ESHELMAN                NM          35049135442
2299176889794B   NEYSI         VASQUEZ                 TX          90014977688
229917A6372B88   LAUREN        CHAFFEE                 CO          33040807063
22991A1847B471   QA            RIVERS                  NC          90012100184
22992439972B98   JACKEY        DIAZ                    CO          90008154399
22992AA6481637   DAVID         SMIRL                   MO          90011820064
2299313664B261   BRANDY        BARTEK                  NE          27058001366
22993A2429794B   ALVARO        VELASQUEZ               TX          74043220242
2299477AA4795B   EDWARD        COUCH                   AR          90014847700
2299498AA7B449   ADRIANA       GARCIA                  NC          90014949800
2299524512B27B   RAMONA        CRAWFORD                DC          90010902451
22995A43187B59   MYRNA         TATE                    AR          23093970431
22995A67472B84   NYKEA         CLARK                   CO          90011510674
229962A925B571   BLANCA        PARRA-PRIETO            NM          35044362092
2299684954B261   TAYLOR        LYNN                    NE          90007788495
2299718445715B   LAMONT        THOMPSON                VA          90003821844
2299718512B27B   CHRISTOPHER   GAYLE                   VA          90014931851
2299723184B261   ZENAIDA       ANTHONY                 NE          90013762318
22997449487B59   ARTHUR        HUGGINS                 AR          90014804494
2299789924B588   TIFFANY       BROWN                   OK          90005448992
2299828444B261   DARLENE       OWENS                   NE          27052742844
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2299845A65B232   KOLD        BLAKK                     KY          90008604506
2299865327B471   ROGELIO     DOMINGUEZ                 NC          90007916532
2299889A891541   AURELIO     MORENO                    TX          75000828908
22999A5953145B   BENITA      ROGERS                    MO          90013580595
2299B16A68B17B   TIFFANY     STENS                     UT          31077901606
2299B421485938   FRANCIE     CLAY                      KY          90014784214
2299B69592B27B   SHAUDA      NIX                       DC          90006496959
229B1157272B84   VICTORIA    RODRIGUEZ                 CO          33078151572
229B1421485938   FRANCIE     CLAY                      KY          90014784214
229B1764284364   SHARON      SURPRENANT                SC          90002127642
229B1788A9155B   MARIA       GALLARDO                  TX          75057627880
229B2328487B59   LAGRICE     JACKSON                   AR          90012903284
229B244A19155B   LIDIA       ADAME                     TX          90014704401
229B289A59794B   EVA         JONES                     TX          90009668905
229B335385715B   PAUL        DO                        VA          90007533538
229B371A984364   MICHELE     HOOD                      SC          19012757109
229B381898B831   ELIA        WONG                      HI          90014528189
229B3A19891241   GUILLERMO   MIGUEL                    SC          90013380198
229B4188251369   TRACEY      HILLMAN                   OH          90003351882
229B4426172B88   OVIDIO      MEJIA AREVALO             CO          90004334261
229B45AA181661   JUAN        CORTEZ                    MO          29064995001
229B481345715B   RUBEN       VELASQUEZ                 VA          81005068134
229B4858855957   FELIPE      JOAQUIN                   CA          90013528588
229B5A41591251   SHERMANE    BOYD                      GA          90003380415
229B6157136146   ELVA        YBARRA                    TX          73599061571
229B658A34795B   FERNANDO    PENA                      AR          90014495803
229B674249184B   MICHAEL     RICHTER                   OK          90010497424
229B694144B588   AIRA        ALVAREZ                   OK          90012929414
229B7141961979   JAMERAL     KING                      CA          90000891419
229B755744795B   TRINITY     SMITH                     AR          25090445574
229B772374B281   THOMAS      BENKIS                    NE          90007387237
229B773129184B   DOYLE       HENRY                     OK          90000317312
229B787A52B232   RENE        RIVERA                    VA          81032388705
229B7888391828   MARGARET    LYNCH                     OK          90000798883
229B7A19891241   GUILLERMO   MIGUEL                    SC          90013380198
229B7A6258B168   REBECCA     SHEPHERD                  UT          31095260625
229B814114B588   DESIREE     ECKELBERRY                OK          21561381411
229B81A9181637   RAMANDA     EUBANKS                   MO          29031591091
229B825215B161   BERNITA     CARRUTH                   AR          90014582521
229B8588A72B84   MIRNA       LOPEZ-PEREZ               CO          33049735880
229B8A35A85938   RICCI       INGRAM                    KY          90014810350
229B8A9865715B   WIDMEN      PERALES                   VA          81034920986
229B972A187B59   STEVIE      TURNER                    AR          23066907201
229B97A4772B88   LADY        PINEDA                    CO          33097827047
229B9AA3191528   CLAUDIA     ORNELAS                   TX          90014470031
229BB35189189B   CARMEN      BALTIERRA                 OK          21042453518
229BB796772B84   REBECCA     ARELLANO                  CO          90011247967
229BB851781661   SHEENA      HOLLEY                    MO          29030788517
229BBA77385938   BRENDA      BONDS                     KY          90013290773
229BBAA9172B42   EDUARDO     ESCOTO MONCIVAIS          CO          33021120091
22B111A779189B   CANDACE     FASHING                   OK          21022991077
22B1124972B232   DORREL      MCINTOSH                  DC          90004782497
22B1188475B232   KIRKWOOD    ELDRIDGE                  KY          90013858847
22B12562577381   JOHN        CASINO                     IL         90001905625
22B12944972B88   HEATHER     SUROVIK                   CO          90003059449
22B13245791241   TIA         WILLIAMS                  GA          90012712457
22B1468685B161   POTONDRA    CARRUTH                   AR          90013186868
22B14747991828   SHANNON     KISCER                    OK          21092897479
22B1559514B261   SHAWN       TAYLOR                    NE          27064235951
22B15A1859189B   TAMRA       LEWIS                     OK          90010710185
22B15A2375B161   TAMICA      BUTLER                    AR          90014780237
22B16379291522   GILBERT     ALDAZ                     TX          75029473792
22B1644329136B   ALEJO       LUNA-MORALES              KS          90014174432
22B1717A59155B   MARISELA    GARDEA                    TX          90014641705
22B1746355B232   JENNIFER    LAWRENCE                  KY          90010724635
22B17762385938   LASHONDA    COULTER                   KY          67001207623
22B17AA4372B42   RANDY       TAYLOR                    CO          90004340043
22B18245587B59   MOESHA      FREEMAN                   AR          90014862455
22B18456172B98   NATHALY     SANCHEZ                   CO          33038904561
22B1856955B571   THOMAS      COFFIELD                  NM          35008175695
22B18594281638   JIM         SLAVICK                   MO          90006045942
22B18686831453   EDWARD      STARR                     MO          90001426868
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22B186A3691251   JIM         SIMMONS                   GA          90012426036
22B1884614B281   LILLIE      THOMPKINS                 NE          90003168461
22B1895A29184B   CHERYL      HENDERSON                 OK          90015139502
22B18A3444B588   MARIA       RIVAS                     OK          90013420344
22B18AA3A85938   STEPHANIE   WEBB                      KY          90013720030
22B19158747952   CATRINA     DOWDY-NICHOLS             AR          90011241587
22B19188831631   DIANN       HAZELTON                  KS          22084331888
22B1925877B471   SHARMINE    BARNETTE                  NC          90005022587
22B1939A372B88   MATTHEU     LAURRELL                  CO          90015013903
22B19463A91522   GRACIELA    CERVANTES                 TX          75088244630
22B1952A55B271   SHELIA      SCHILDKNECHT              KY          90008615205
22B19773385938   KAITLYN     BECKHAM                   KY          90014617733
22B1B2A1472B84   IVIS        DONAIRE                   CO          90004332014
22B1B77A17B449   LATASHIA    CARSWELL                  NC          90014757701
22B1B84159189B   SHERI       JONES                     OK          90015278415
22B1B857272B88   JCB         TRANSMISSION              CO          33094918572
22B1B97915715B   ROBERTO     GARCIA                    VA          90012749791
22B21369772B88   OLIVIA      MARTINEZ                  CO          33033093697
22B2142687B449   DIANDRE     PHIFER                    NC          90014864268
22B22545391528   CHRISTINE   PARTIDA                   TX          90003405453
22B225A6691541   IGNACIO     MENDOZA                   NM          75035215066
22B22737981637   NICHOLE     GRAY                      MO          29050637379
22B2292415B271   ASHLEY      BURKS                     KY          90014609241
22B22936672B88   HEATHER     BROWN                     CO          90013059366
22B23185A85938   JAMARCUS    SHELTON                   KY          67016081850
22B2341655B571   JOSHUA      VALLEY                    NM          90003984165
22B23511431453   JOANNE      BANKS                     MO          90008155114
22B23574A87B87   MALLORY     FLUKER                    AR          23045945740
22B2362279189B   JEROD       VANN                      OK          90013866227
22B2362859794B   YUKI        ITO                       TX          90014336285
22B23675A6B247   OMEKIA      SMITH                     CO          90012386750
22B2413395B271   YAROSKI     OZUNA                     KY          90008911339
22B24424391828   AUTUMN      EDWARDS                   OK          90009964243
22B2483A45B571   LAURA       ACOSTA                    NM          90014158304
22B25851972B84   KIMBERLY    JOYCE                     CO          90014518519
22B26156872B84   VERONICA    GONZALEZ                  CO          33047271568
22B26373A57564   KAY         HERNANDEZ                 NM          35547123730
22B26571A91564   ROCIO       RODRIGUEZ                 TX          75090005710
22B26A1637B471   DEBORAH     MCLENDON                  NC          11083080163
22B27146591522   SARA        SANTILLANA                TX          90005171465
22B2727569189B   SUAN        MANG                      OK          90015172756
22B2758395B571   JAMES       LEE                       NM          90014645839
22B27958855957   ROSALIO     ALVAREZ                   CA          90004689588
22B2815365B161   SHARHONDA   ELLIS                     AR          90014511536
22B283A8391541   ANA         CASTILLO                  TX          75094563083
22B284A992B27B   MARY        MEASE                     DC          90014954099
22B285A6791522   VIOLET M    PETTA                     TX          90009795067
22B28996785938   BILLY       JOHNSON                   KY          90014619967
22B29549A9136B   KINDRA      WATSON                    KS          90006165490
22B296A589189B   JAMES       RAIMONDI                  OK          90013046058
22B29715687B87   SOWETO      HAWKINS                   AR          90013437156
22B29743961558   PAYGO       IVR ACTIVATION            TN          90014667439
22B2981A491251   ELMORE      JONES JR                  GA          90007718104
22B29A8354B251   DAVID       ESTRADA                   NE          90010050835
22B29A96181661   CRYSTAL     GUTHRIE                   MO          90014690961
22B2B35A49184B   JESSICA     SANDERS                   OK          90014903504
22B2B784A5B161   STACY       ARMOND                    AR          90005207840
22B31422231453   SHEENA      BRYSON                    MO          90003924222
22B31492772B84   GWYNNE      MOORE                     CO          90013874927
22B31572A5B571   SONIA       VALDEZ                    NM          35089705720
22B31729491522   LARRY       HUERTA                    TX          90012547294
22B31916A91541   JASKEL      DE LUCA                   TX          90006939160
22B31A19393773   NOEMI       REYES                     OH          64573770193
22B3228219794B   RICARDO     AGUILAR ALEMAN            TX          90006612821
22B32775187B87   KIMBERLY    MILLER                    AR          23075217751
22B33158747952   CATRINA     DOWDY-NICHOLS             AR          90011241587
22B3374827249B   KENNETH     COOLEY                    PA          51089077482
22B3421355B271   NATALIE     BAIN                      KY          90011102135
22B34342987B59   DANA        SUMMERS                   AR          90014513429
22B3454768B168   JASON       FELT                      UT          31094295476
22B34639472B98   DALE        STACY                     CO          90001816394
22B34859A55957   JUAN        GOMEZ                     CA          90014638590
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22B3524537B45B   ANDREA        HOSKINS                 NC          90006142453
22B3541417B449   LAMAR         ALEXANDER               NC          90014924141
22B3617275B167   GARY          JOHNSON                 AR          90015081727
22B363A5651329   BRIAN         ALCORN                  OH          90008833056
22B36491684364   DANIELA       PINTO                   SC          90009644916
22B3717522B27B   ROBERT        BELT                    DC          90012881752
22B37527781637   LEBRTE        HALWAY                  MO          90011775277
22B3754237B449   SYRENIA       CONYERR                 NC          90012425423
22B37988891541   FRAUSTO       ERIKA                   TX          90004889888
22B3833627B449   MANUEL        RODRIGUEZ               NC          90001853362
22B38382131631   JACOB         HILL                    KS          90014213821
22B38814A91828   KAYLEY        WILLIAMS                OK          90011448140
22B3886249184B   MARINA        TABORA                  OK          90013848624
22B38899747952   MARIA         GARCIA                  AR          90008768997
22B3898775B531   SOCORRO       ALVARADO-QUINTERO       NM          35089349877
22B3991349184B   TENEACO       SISCO                   OK          90010719134
22B3B72737B471   MARIA         VARELA                  NC          11088457273
22B3B767172B88   COLLEENE      BRUNDARGE               CO          33077427671
22B4118219184B   MOISES        LOPEZ                   OK          90012971821
22B4121119136B   BRET          JOHNSON                 KS          90014372111
22B4176A45715B   BUDDAH        BLACK                   VA          81018087604
22B41842955957   CHANTILLEY    LEWIS                   CA          90009278429
22B41A11972B42   YULIANA       ROBLES                  CO          33079530119
22B42119731453   LAUREN        POWELL                  MO          90000961197
22B4218399794B   VIANEEY       CABADA                  TX          90006431839
22B4263575B571   SANDRA        VASQUEZ                 NM          90009326357
22B4281335B167   MARY          CARTER                  AR          90015108133
22B4288467B422   WORKPEH       KOFA                    NC          90011958846
22B4288864B588   MIRNA         BARRIOS                 OK          90013328886
22B429A7472B84   FERNANDO      MORALES                 CO          33041949074
22B42A65A5B161   ALLISON       BRADLEY                 AR          23086200650
22B42A9787B471   AMY           BRUMLY                  NC          90012410978
22B43613193773   MELISSA       HALE                    OH          90005776131
22B43656191528   LETICIA       ROMO                    TX          75028976561
22B4381129136B   RYAN          HUMRICHOUSE             KS          90010848112
22B438A815B271   TIARA         AUSTIN                  KY          90014508081
22B43A43485938   REBECCA       MCLAWHORN               KY          90013440434
22B4425985B271   FIFTY         CENT                    KY          90013182598
22B4433917B42B   VAN           UK                      NC          90012763391
22B44724787B87   KIMBERLEIGH   EVANS                   AR          90002887247
22B44778172B84   ALFREDO       CHACON                  CO          90002247781
22B44857A7B471   KRISTA        HOWARD                  NC          90014418570
22B4489525B167   MARY          CARTER                  AR          90015108952
22B44A3594B261   TIFFANY       COPPAGE                 NE          27098470359
22B45472391241   LORENZO       GADSON                  GA          90013944723
22B45724847952   DANNY         VICKERS                 AR          90014877248
22B4589375B161   KWANIS        DAVIS                   AR          23081188937
22B45899955957   JOSEPH        ALBERTSON               CA          90010158999
22B46166555957   MARK          CASARES                 CA          90009761665
22B4624824B588   TONYA         LONGO                   OK          90011002482
22B46327484364   JOSE LUIS     RODRIGUEZ               SC          90011543274
22B466A6A91251   JOSEPH        GAINES                  GA          90013786060
22B4717925B271   CHRISTINA     LAWRENCE                KY          90013211792
22B4747582B241   AUDREY        DIGGS                   VA          90002254758
22B47774872B84   ENRIQUE       MENDOZA                 CO          90014957748
22B48279347952   NORMA         HERRERA                 AR          90011242793
22B4858554B281   SARAH         STATION                 NE          90007725855
22B48641372B84   VERONICA      GUEVARA                 CO          90014276413
22B48778577541   YESENIA       PEREZ-SANCHEZ           NV          90014547785
22B4897852B232   MARTEACO      TAYLOR                  DC          81005949785
22B48A1365B571   MICHAEL       ESTRADA                 NM          35027640136
22B4942654795B   SAMANTHA      HANKS                   AR          90010964265
22B49543291541   JESUS         CORIA                   TX          90002395432
22B4974194B588   NICK          BATE                    OK          90013047419
22B4987695B161   MAKKAH        MITCHELL                AR          23001158769
22B4B372541245   JESSICA       BRAUCHER                PA          90011623725
22B4B5A9A8B17B   CHRISTINA     TONGOLEI                UT          90007155090
22B4B74284B261   MEGAN         COLLINS                 IA          90012517428
22B511A624B261   LAURA         TIMBERLAKE              NE          90009811062
22B512AA631453   ARTHUR        JACKSON                 MO          90011122006
22B5138195B161   DELIA         DELGADO                 AR          90014153819
22B5175867249B   DAVID         COOK                    PA          90010577586
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22B51793A72B84   DANIEL           MONTANO              CO          90014717930
22B5188257B449   MIRIAM           ROMERO               NC          11086568825
22B52811391528   RODRIGUZ         YAWANA               TX          75095998113
22B5314915B531   MICHELLE         ALLEN                NM          90006521491
22B532A734B588   JOSHUA           RAMIREZ              OK          90015002073
22B533A915B161   CANDACE          WARD                 AR          90014703091
22B53588191541   SYLVIA           SANCHEZ              TX          90005215881
22B5392845B571   JARED            CURRY                NM          35045749284
22B54133A5B571   OLEVA            MOLINA               NM          35055241330
22B5442955B271   HAYWARD          EMBRY                KY          90014834295
22B544A792B232   JERMUTA          HARGRAVES            DC          81006194079
22B54547355957   ANGEL DE JESUS   ROBLEZ               CA          90013825473
22B5467489155B   OSCAR            LUCERO               TX          90004156748
22B5497495715B   JAIME            VISCARRA             VA          81074419749
22B5519417249B   CAROL            DANILCHAK            PA          90013691941
22B55446A7B449   HERMINIA IRMA    LOPEZ LOPEZ          NC          90014494460
22B55473991541   ANTHONY          GAYTAN               TX          75044844739
22B5573A14B281   ROBIN            BAILEY               NE          27012427301
22B56191791541   CARMEN           CASTANEON            TX          90013221917
22B5627754B261   STEVE            MICHAELSON           NE          27007392775
22B5628795B271   CHARLISHA        COLEMAN              KY          90013502879
22B56727585938   LYNDON           JOHNSON              KY          90014597275
22B5684A49155B   AMANDA           ORTEGA               TX          75014508404
22B568A159136B   JUSTIN           FOX                  KS          29030888015
22B56A51572B42   CARLOS           MONTANEZ             CO          90012730515
22B57598791828   YADIRA           ROSALES              OK          90013215987
22B5763A95B571   SANDRA           VALLES               NM          35036986309
22B57829647952   CHRIS            CHARLTON             AR          24006158296
22B57A88472B84   JAY              MUNIZ                CO          90008440884
22B5813469136B   NATALIE          KING                 KS          90006811346
22B5857299155B   DAILA            MONCADA              TX          90012965729
22B5873569189B   JAMIE            PLUAREZ              OK          90012107356
22B5885937B449   LETICIA          JACKSON              NC          90012848593
22B5899A74B261   SHAWNTEEA        MAPP                 NE          90013479907
22B5927754B261   STEVE            MICHAELSON           NE          27007392775
22B593A9672B84   ERIC             SODERLUND            CO          33032893096
22B5949745B571   JONATHAN         ARMENDARIZ           NM          90003984974
22B59772191522   DENISSE          CASA                 TX          90012567721
22B5B293A8B168   RAMON            ZEPEDA               UT          90000952930
22B5B2A375B161   ANTRUNETTE       IBEKAKU              AR          23063222037
22B5B33A972B88   PAYGO            IVR ACTIVATION       CO          90010423309
22B5B624191251   JOZAIRA          WYATT                GA          90014106241
22B5B98165B271   MARY             MCCLOSKEY            KY          68081229816
22B6131117B471   ANITRA           MOBLEY               NC          11009173111
22B6131875B571   SCOTT            CONWAY               NM          90015183187
22B62339885938   JENNIFER         ORTIZ                KY          67009983398
22B62362331453   CHRIS            IVY                  MO          90011403623
22B624A7291522   SUSANA           GARCIA               TX          90011984072
22B62596261936   JACQUELINE       MENDEZ               CA          90015245962
22B62812A38531   ALBERTO          BARRAGAN             UT          90012568120
22B62823291541   MAYRA            MONGE                TX          90014858232
22B62869891241   JASMINE          LAWRENCE             GA          90013778698
22B6326684795B   JERRY            MCCONNELL            AR          25066442668
22B63363285938   SEBASTIAN        MORALES              KY          90012903632
22B63667457531   ISRAEL           TARIN                NM          90011526674
22B63A7795B271   HENRY            LOGAN                KY          68014580779
22B64177772B98   MARIA            CONEJO VILLASENOR    CO          90008381777
22B6436657B471   ALDRIAN          WILLIAMS             NC          90013363665
22B6443A45715B   TYWANNA          BURKE                VA          90006994304
22B6449745B571   JONATHAN         ARMENDARIZ           NM          90003984974
22B64A5257B449   BARBARA          HENDERSON            NC          90005090525
22B652A369184B   CRYSTAL          CELESTINE            OK          21018472036
22B65A8285715B   ANTONIO          HERAZO               VA          90013500828
22B65AA5587B59   TRACIE           JACKSON              AR          90012270055
22B6627164795B   EDITH            MARTINEZ             AR          90014262716
22B6641319794B   MARCO            POSADA               TX          90009614131
22B664A3772B84   CLAUDIA          RIVAS                CO          90001684037
22B6655A572B42   LYNN             NARVAEZ              CO          33079395505
22B6691664B281   KATRINA          HELM                 NE          90007499166
22B66943172B88   THOMAS           ANDERSON             CO          90013919431
22B66982731453   MICHEAL          BLAIR                MO          27505489827
22B67836A9794B   CHRISTINA        RICHARDSON           TX          90014128360
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1226 of 2500


22B67863991241   DONALD      SCOTT                     GA          90010748639
22B67A43591828   JEREMY      WILLIAMS                  OK          90010220435
22B6825779184B   MELODY      WALLER                    OK          90002312577
22B68572887B87   FREDDIE     WILLIAMS                  AR          90012265728
22B685A8587B87   VERNIDA     TYLER                     AR          90010695085
22B68727A4B261   SHANTELL    ROBINSON                  NE          27064257270
22B68733272B23   JOSE        SOTO                      CO          90002507332
22B68958172B88   MIGUEL      SANCHEZ                   CO          33028569581
22B6898455B161   THERESA     CATES                     AR          23065999845
22B68A9179136B   GABRIELA    REYES                     MO          29006410917
22B69218972B35   RAMON       CHAVEZ                    CO          90009882189
22B6926199136B   ANGEL       VAZQUEZ                   KS          29045712619
22B69A42591522   LIDIA       PINEDA                    TX          75087290425
22B69AA995B531   THEODORO    ARCHULETA                 NM          35089360099
22B6B586354123   PAULA       HERNANDEZ                 OR          90010395863
22B6B88234B588   HELEN       MADDEN                    OK          21556068823
22B6B934391241   ANGEL       OUTING                    GA          90012269343
22B6BA37372B88   HAROLD      MANN                      CO          33040900373
22B71829647952   CHRIS       CHARLTON                  AR          24006158296
22B7199368B168   JENNIFER    MILLER                    UT          31093619936
22B7214339794B   JUAN C      AVILAS                    TX          90004401433
22B722A5A5B232   TAMMY       LYNN                      KY          90013872050
22B723A5472B88   ISIS        TEHUTI                    CO          90014673054
22B7251315715B   ANGELICA    ECHEVERRIA                VA          90014915131
22B7254515715B   ELIZABETH   IRAHETA                   VA          90012105451
22B7268234B261   TIMOTHY     HALLIGAN                  NE          90004746823
22B72A1652B931   MELINDA     RODRIGUEZ                 CA          90014550165
22B7323289136B   DERION      BROOKS                    KS          90013962328
22B7327367B471   JESUS       GAONA                     NC          11009432736
22B73451A91251   BIANCA      TAYLOR-BELL               GA          90013164510
22B73467A72B98   MARTHA      ROMAN                     CO          90007584670
22B7386524B281   LEELLA      FRAZIER                   NE          27014198652
22B73A1939794B   JOHNNY      MARTINEZ                  TX          90014950193
22B7418234B588   ALICIA      DUN                       OK          90014281823
22B7461545B161   SHAKINA     WALLER                    AR          90014666154
22B746A7191241   JOSE        MARTINEZ                  GA          90014306071
22B74925791541   GABRIELA    BERNAL                    TX          90004339257
22B74983181637   ANA         SOLARSANO                 MO          29054349831
22B7517879794B   TERIE       PULLEN                    TX          90002791787
22B75254555957   ALEJANDRA   RODRIGUEZ                 CA          48048912545
22B7543932B232   JESUS       MELCHOR TORRES            DC          90003854393
22B75576381661   JEREMY      JONES                     MO          90012855763
22B75855A9132B   RAJWINDER   KAUR                      KS          90013498550
22B76156A91251   JULIE       PETERS                    GA          90015421560
22B7624314B588   SHANIECE    CAROLINA                  OK          90012562431
22B76351287B87   JESSE       MORGAN                    AR          23096773512
22B7667242B27B   VENETIA     JOHNSON                   DC          81012516724
22B76698972B98   THOMAS      SCHOLL                    CO          33065506989
22B76794987B59   KENNETH     CUNNINGHAM                AR          90010657949
22B7718385B167   ALISHA      GUEST                     AR          90013621838
22B77191791541   CARMEN      CASTANEON                 TX          90013221917
22B77316891528   FRANKIE     HERNANDEZ                 TX          90003403168
22B7744857249B   MICHAEL     BERK                      PA          90012224485
22B77743381661   MARK        KINCADE                   MO          90012647433
22B77778231453   IESHA       PRICE                     MO          90010967782
22B78144231631   DAVID       ALCORN                    KS          90004121442
22B7836A391251   KRISTY      ANDREWS                   GA          90014523603
22B7927AA91828   DONNA       BLUE                      OK          90007552700
22B79368A6196B   LORENA      GUERRERO                  CA          90009623680
22B7976735715B   NANCY       SIRIBONGKOCH              VA          90002197673
22B7B13835715B   KAREN       BAQUEDANO                 VA          90002851383
22B7B1A3181637   DAN         CURRIER                   MO          29043901031
22B7B619372B84   BRANDY      VIGIL                     CO          90013716193
22B7B819991828   THOMAS      GRIFFITH                  OK          21015348199
22B7B98245B161   MAURICE     SPENCER                   AR          90014799824
22B7BA8437B449   VERONICA    LEE                       NC          11031440843
22B81116581661   ARETHA      TRENT                     MO          90014991165
22B811A264B261   LAQUITA     RUSSELL                   NE          90014961026
22B81214272B88   RUDY        ROYBAL                    CO          33048492142
22B8145142B27B   THIERRY     SILEU KAMENI              DC          90009724514
22B8148475B571   NICOLE      MARTINEZ                  NM          90014644847
22B8159A55B271   PAULA       WEBB                      KY          90003085905
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22B8173144B588   RICKIE        BEEZLEY                 OK          90013447314
22B81771172B84   ANDREW        STOLL                   CO          90007377711
22B817A367249B   JAMES L       DAVIDSON                PA          90012577036
22B8182967249B   GERALD        LEE                     PA          90014308296
22B81951291528   GABRIEL       GONZALEZ                TX          75092769512
22B82286191522   ELIZABETH     GONZALEZ                TX          75098082861
22B822A714B588   NIQUEL        LINDSEY                 OK          90012152071
22B82345891522   ANDRES        DIAZ                    TX          90014043458
22B825AA79794B   FRANCISCO     CUA                     TX          90012215007
22B8264235715B   ROLANDO       OLIVERA                 VA          90014176423
22B83168A72467   ASHLEY        STEINDL                 PA          90008721680
22B8318648B17B   DAVID         TORRES                  UT          90000921864
22B8368995B271   CONNIE        RODGERS                 KY          90001446899
22B8429A791251   KEYANNA       COOK                    GA          90014882907
22B8456539184B   ROBERT        EASTIN                  OK          21067215653
22B8457329794B   LUIS          LOPEZ                   TX          90008905732
22B84659787B88   KINETA        GRAVES                  AR          90013296597
22B85165731453   CHRISTOPHER   WEST                    MO          90015311657
22B85262772B42   BERTHA        RUIZ                    CO          90010282627
22B85635A91828   RAMONDICA     BRYANT                  OK          90013826350
22B85799774B79   LANA          CALYPOOLE               PA          90013597997
22B8585675B531   GERALDINE     SANDOVAL                NM          35070278567
22B8597827B471   FARAH         ULYSSE                  NC          90000579782
22B85A6789189B   GARY          FLICK                   OK          21014970678
22B86181547952   CAUBRE        WALTHALL                AR          90007661815
22B86251291522   CLAUDIA       HITA                    TX          90009712512
22B86281193773   STACY         CARROLL                 OH          64598122811
22B8633884B588   MARIA         PEDROZA                 OK          90011123388
22B867A895715B   HECTOR        SANTOS                  VA          90014897089
22B87768891241   CHITTAGYA     LAMA                    GA          90013007688
22B8798297249B   DALE          ORRIS                   PA          90009729829
22B88255A91541   ALEX          GARXA                   TX          90005962550
22B8854794795B   SMANTHA       REDDING                 AR          90014255479
22B885A7A9794B   CHRISTELLA    SAENZ                   TX          74009325070
22B8B48215B161   MELISSA       CLARK                   AR          90014754821
22B8B596187B87   LESLY         QUALLS                  AR          23071115961
22B8B59A35715B   GAYE          STAFFORD                VA          90014175903
22B9174919184B   JEREMY        DUNKER                  OK          90013017491
22B91AA177B423   CEDRIC        ARCHIE                  NC          90013020017
22B92665281661   JASON         FORDYCE                 MO          90000916652
22B9283659136B   SASHANA       MALARVE                 KS          90014788365
22B9298974B261   VALENTIN      PABLO                   NE          90014829897
22B92A9618B168   GERALD        VALLEJOS                UT          31088670961
22B9352355B232   JOSE          ALVAREZ                 KY          68007595235
22B93AA6972B42   RENATA        RIOS                    CO          33052470069
22B9557A587B59   LERONDA       HARRIS                  AR          90014165705
22B955A2A47952   JOSE          RODRIGUEZ               AR          24094645020
22B9571385B167   MARGARITA     GONZALEZ                AR          23049347138
22B9575295B161   JONATHON      MALLORY                 AR          90008737529
22B958A6551369   JOY           MEADS                   OH          90007938065
22B9624544B281   KRISTELLE     SAMONTE                 NE          90009852454
22B9636779152B   JOSE          LAGUNAS                 TX          90013593677
22B9647835715B   WILFREDO      MIRANDA                 VA          90011864783
22B96743891522   LUCIO         ALCALA JR               TX          90011577438
22B9757922B931   SHAMIRAN      BENNER                  CA          90001865792
22B97694763621   JENNIFER      O MALLEY                MO          90007736947
22B97977672B42   DULCE         JAIME                   CO          33062769776
22B98382672B84   MARTHA        PINEDA                  CO          33049913826
22B98578455957   AMADOR        REYES                   CA          90015045784
22B9893894B588   LESLIE        LOFTON                  OK          90013479389
22B99154591528   CHRIS         PRANGNER                TX          90013521545
22B992A7672B42   JAMES         FAMBER JR               CO          90010872076
22B9942A887B59   SURENA        CROOM                   AR          90014094208
22B9958429136B   MARICELA      GUTIERREZ               KS          29083315842
22B99868981661   CASSIE        SUMMERS                 MO          90000988689
22B999AA63364B   SHANTON       LOWE                    NC          90008089006
22B9B176581661   SHERRY        SCOFIELD                MO          90013751765
22B9B25977B449   DAVID         ARMSTRONG               NC          90013592597
22B9B939A9189B   LILLIE        CALDWELL                OK          90014569390
22BB139837B471   ANITA         GIST                    NC          90010003983
22BB1513472B42   SAMANTHA      ANDERSON                CO          90003235134
22BB163518B171   NALANI        HOLT                    UT          31080936351
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22BB1834691541   MARTHA         ARAGON                 TX          90010988346
22BB1A6985B167   TANYA          DORAN                  AR          90014880698
22BB2257691541   SANDRA         VERDIER                TX          90009272576
22BB23A2791522   JOSEFINA       CONTRERAS              TX          75088473027
22BB248225B271   JENNIFER       WINDELL                KY          90013264822
22BB2831491257   ERIN           STEELE                 GA          14592978314
22BB2914741245   MAGGIE         SITES                  PA          90004219147
22BB2953451369   JOHN           WORISCHECK             OH          66084879534
22BB2965755957   MARISSA        MARCYES                CA          90010979657
22BB3215681661   DURN           SMITH                  MO          90014612156
22BB369525715B   KELLY          PETERSON               VA          90014666952
22BB381149155B   VALERIE        LOPEZ                  TX          90011698114
22BB396225B167   MARY ANN       FISCHER                AR          90013829622
22BB3A62591522   LUIS           LOZANO                 TX          75090470625
22BB419525B232   TROY           NALL                   KY          90009441952
22BB47A9A55957   MALISSA        PHILLIPS               CA          90011737090
22BB4866491522   ABIGAIL        MUNOZ                  TX          90011978664
22BB564569136B   JONATHAN       BREHANEY               KS          90013686456
22BB6528291241   SANDRA         LIPSEY                 GA          14594095282
22BB6689972B88   CLIFFTON       COBBS                  CO          90011186899
22BB6A9419155B   JOSE           LOPEZ                  TX          75031800941
22BB745449189B   DONNETTE       BATES                  OK          90011464544
22BB7818531631   LISA           TINAJERO               KS          22050808185
22BB7953A5B161   KIMBERLY       JONES                  AR          90015449530
22BB7A98591241   EBONY          ROBINSON               GA          90013870985
22BB824625B271   MARAH          JUNIOR                 KY          90014922462
22BB848A58B168   RICHARD        JONES                  UT          31048244805
22BB86A299136B   UFORD          LINDSAY                KS          90003896029
22BB8A27772B42   REYMUNDO       DEJESUS                CO          90003790277
22BB9166672B84   ANDREA         LOVE                   CO          33054031666
22BB9366591541   SKY            MORIEL                 TX          90013573665
22BB941464B281   VICTOR         MERINO                 NE          90005214146
22BB9416A61973   HAYDEE         VAZQUEZ                CA          90012564160
22BB946985B167   ALLEN          OLLIE                  AR          90014924698
22BB957795B271   DUSTIN         POTTER                 KY          90005575779
22BB962255B144   JACQUELYN      POINDEXTER             AR          90012536225
22BB9A28891522   MARQUEZ        IRENE                  TX          75066340288
22BBB168987B87   CHARLIE        ROGERS                 AR          90011411689
22BBB17A17249B   GREG           KULCZYCKI              PA          90014151701
22BBB66A29184B   CRISTOBAL      PEREZ                  OK          90007596602
22BBB723172B88   MARIA          FLORES                 CO          33094917231
22BBB75339184B   MARIA SUSANA   RESENDIZ               OK          90013597533
22BBB78A74B588   MARIA          WOOD                   OK          90014767807
22BBB798185938   LOISE          MHONEKUHE              KY          90014627981
22BBBA6985B167   TANYA          DORAN                  AR          90014880698
2311125439189B   MARIA          DIAZ-AVALOS            OK          21080092543
2311131765B232   JESSICA        MCCRARY                KY          90012553176
2311155179794B   ERIC           GARCIA                 TX          90015425517
2311181894B588   JOHN           RISTER                 OK          90011728189
2311182159794B   ANEBRINIEY     THOMAS                 TX          90012458215
2311184794B281   VELIA          MENDOZA                NE          90006018479
2311247925B167   DEBORAH        RILEY                  AR          90007954792
23113336472B88   MARIA          MILLAN                 CO          90006313364
231137A529184B   AMANDA         ONEILL                 OK          90009077052
231139A7491541   JESUS E        MORENO                 NM          75043749074
23113A5635B271   FARRAH         WEIS                   KY          68040110563
2311413465B271   MICHAEL        FOARD                  KY          90011351346
23114462A9184B   ANDREA         BROWN                  OK          90011354620
23114886A5B167   MARLENE        COLLATT                AR          23037458860
23114A3825B161   ADRINA         ROSEBY                 AR          90013880382
2311589332B931   KIRSTIN        WADDLE                 CA          90013328933
2311633855B531   CAROL          BENCOMO                NM          90009293385
2311657315B271   ANTHONY        WAGNER                 KY          68054315731
23118397572B88   ANDREW         ADAMS                  CO          90009943975
23118A96391525   JESSICA        LEA                    TX          75051600963
2311927965B161   CRYSTAL        BILLINGSLEY            AR          23047332796
2311BA5167B471   DEANGELO       COWELL                 NC          90009430516
2312111759155B   ANTONIA        MELENDEZ               TX          75092951175
2312152812B242   GWENDOLYN      LEON                   DC          90001275281
231219A412B931   CHELSEA        RORABAUGH              CA          90011119041
2312224769136B   ALMA           TREVINO                KS          90012332476
23122313A4B261   JUAN           MATIAS                 NE          90013593130
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23122435A55957   ALEJANDRA        ACOSTA               CA          90011524350
2312314859155B   JAIME            SALAZAR              TX          90015051485
23123287172B88   MICHAEL          CASTO                CO          33040992871
2312383617B449   WILLIAN          GRANT                NC          90014878361
2312479249155B   ERIKA            LOPEZ                TX          90009897924
23124A18A31631   RICARDO          GARCIA               KS          90006010180
23124A36872B88   ECHO             BEAVER               CO          90000320368
2312545569189B   JAMES            WALKER JR.           OK          21059144556
231256A766B259   LINDA            GERLAK               AZ          90014386076
2312571915B232   JAMA             MOHAMED              KY          90011987191
23125A12491241   CEAIRRA          HEYWARD              GA          90014200124
23125A45A7B449   JAMEL            YATES                NC          90015050450
23125A55672B32   TOMAS            AMADOR               CO          33036800556
23126537272B42   ROSANA           MEDINA               CO          90008665372
2312683982B931   CHANNY           KHIN                 CA          90008388398
2312753325B232   MAYRA ELIZABEH   NENEZ IBARRA         KY          90010465332
2312786815B161   MARRY            MOORE                AR          90014368681
2312795A34B588   RANDY            BARRIOS              OK          90013009503
2312812345B161   STEPHANIE        WALKER               AR          23034191234
2312825174B261   BRENDA           MARTINEZ             IA          27018262517
2312834735B167   FREDDIE          WILSON               AR          90010013473
231291A489136B   CRISTINA         PAEZ                 KS          90012231048
2312943A44B281   DOMINIQUE        BURTON               NE          27030724304
2312955A857544   DOUGLAS          CONWAY               NM          90011385508
23129794A87B59   TIMOTHY          MIXON                AR          23015967940
2312981139155B   GUILLERMO        ROJAS                TX          90004258113
23129A2185B232   RAYMOND          BONCZKOWSKI          KY          90012850218
2312B15A791828   LEONARDO         MARTINEZ             OK          90000991507
2312B66725B571   MIRIAM           HERNANDEZ-PEREA      NM          35084506672
2312B75289189B   KAREN            HINES                OK          21015427528
2312B81624B261   BRUCE            RADER                NE          90013988162
2312B86457B449   FELIPA           CORTEZ               NC          11020488645
2312B973A87B59   MICHELLE         WILLIAMS             AR          23070459730
231314A9991522   ROSALVA          VASQUEZ              TX          75008804099
2313166919136B   CYNTHIA          CRAWFORD             KS          29001526691
2313241899184B   TEO              GONZALES             OK          21089674189
23132645A91541   DONNA            ALEVAREZ             TX          90008996450
23132A65387B59   CLORINE          CHARLES              AR          23065370653
23133146272B32   TAYLOR           HIGGINS              CO          90014881462
231343A619794B   GUADALUPE        GARCIA               TX          90012483061
2313447645B531   TAMARA           RAEL                 NM          90005624764
2313537249794B   ALISA            DIXON                TX          74024103724
231355A258594B   JACQUES          CAMPBELL             KY          67047435025
2313593789136B   JACIE            KICK                 KS          90013719378
2313624949189B   TERESO           ESPARAZA-DURAN       OK          90013722494
23136369172B32   PAULA            ROBINSON             CO          33089713691
2313728578B849   NEOLANI          MAILO                HI          90015412857
2313757A831453   SEQUOIA          BEVLY                MO          90015325708
2313766377B449   MARIO            CELIS                NC          90015046637
2313776254B588   HEATHER          EVANS                OK          90010327625
23138261472B88   DOMINQUE         HUST ADAMS           CO          90011662614
2313887894B281   ADAN             ORTIZ                NE          90000398789
231392A454B261   SARAH            SALADO               NE          90011032045
2313989989794B   ANTHONY          CASTRO               TX          90015218998
23139A3624B261   KERRY            WERTHMAN             NE          90003950362
2313B5A7A47937   MARTHA           MARTINEZ             AR          90012165070
2313B624572447   DEBORAH          GUYAUX               PA          90013996245
2313B657372B88   AURORA           BAEZA                CO          90013106573
2313B82A67B449   REE              PURRIS               NC          90011078206
2313B919755957   RACHAEL          LEWIS                CA          90000139197
2313BA61487B59   CATHERINE        HENDERSON            AR          23015970614
23141162172B88   SHAWN            SHELLS               CO          90005201621
2314187815B271   BRIAN            ALLEN                KY          90013108781
2314189199184B   KEITH            SIMPSON              OK          90006398919
2314225999794B   LUIS             TORRES               TX          74011142599
2314231967B449   HUGO             MACIAS               NC          90013923196
2314277974B588   DENZEL           FITTS                OK          90014837797
2314283387B399   CHARLES          MENDS                VA          90003268338
23142A16397B4B   TYLER            OSEBOLD              CO          39084830163
23142AA2741245   WILLIAM          WARNICK              PA          90008590027
2314346354B281   ANTHONY          LEFLORE              NE          90013944635
2314376A547952   FRANCES          LONDON               AR          90012357605
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231437A1331453   ASBERRY      PATRICK                  MO          27573897013
23143A23391528   SYLVIA       RESENDEZ                 TX          90006760233
2314417533B336   FREDRICK     BRANLET                  CO          90011451753
23144421772B88   VAI          MARTINEZ                 CO          90012874217
2314517929155B   JAIME        RAMIREZ CARRILLO         TX          90011881792
23145433372B88   SERGIO       DELGADO                  CO          90008674333
2314543919189B   LATRICIA     DEASON                   OK          90009774391
2314554A55B232   MIKE         NAVERRETTE               KY          90013225405
23145AA585B571   DAVID        GONSALEZ                 NM          35081270058
231463AA655957   CAROL        WOOLWINE                 CA          48061883006
2314763679189B   BRANDY       COX                      OK          21070296367
2314768719794B   ANGELICA     LOFTN                    TX          90014886871
23147A6165B271   ANN          OGLE                     KY          90009380616
2314811562B27B   KATRINA      GHEE                     DC          90009771156
2314933A24B261   ANDREA       HARRIS                   NE          90007683302
231496A9187B87   BRETT        ALLEN                    AR          90002836091
23149734972B32   RONALD       RODRIGUEZ                CO          90013047349
23149863854B84   RALPH        ANTHONY                  VA          90010738638
2314B65239155B   ANTONIA      RAMIREZ                  TX          75053086523
2314B923A91522   JUAN         ITUARTE                  TX          90014779230
2315129814B261   KAY          CARROL                   NE          27017832981
2315129A655957   ANA          ENRIQUEZ                 CA          90014842906
23151713A4B52B   DESIREE      REYNOLDS                 OK          21532187130
231525A4891828   RANDY        CURRY                    OK          90010275048
23152822272B32   LOUISE       MILLER                   CO          33059158222
2315315569136B   ROSALYN      WALKER                   KS          90014511556
2315462769136B   VICENTE      MALDONADO                KS          90004526276
23154A7A231631   JOHN         WILLIAMS                 KS          90010670702
231551A165B271   JEFFERY      SINGLETON                KY          90003011016
2315533499189B   DANIELLE     MCDOWELL                 OK          90011983349
231554A622B931   REBECCA      BRAVO                    CA          90014374062
2315568319184B   JEREMIAH     EDWARDS                  OK          21033026831
2315589A491522   VERONICA     HERNANDEZ                TX          90012848904
2315616577B471   KILA         CURRENCE                 NC          11035201657
231561A284B588   CRYSTAL      SIMPSON                  OK          21593221028
231579A2741245   DARYL        HAYDEN                   PA          90014159027
23157A19572B88   ELIZABETH    ARAGON                   CO          90006810195
2315815A755957   JASON        BRANDON                  CA          48023131507
23158462A55957   RAUL         ALDAMA                   CA          90013694620
2315885664B261   JOSE         LEDESMA                  NE          90007828566
2315B683A5B271   ASHLEY       DOBSON                   KY          68037076830
23161868A87B59   CARLA        JONES                    AR          23055018680
2316227839152B   GLADYS       CORNEJO                  TX          90009902783
231624A1591541   LUIS         MARTINEZ                 TX          90003054015
2316375484795B   LAURA        PARAGIOUDAKIS            AR          25010057548
23163A8774B281   ALEX         CURTIS                   NE          90013720877
2316435A12B27B   JOSE         FUNES                    DC          90002663501
23164425A9136B   ROSA MARIA   SARAVIA                  KS          90013094250
2316455195B571   WAYNE        JARAMILLO                NM          90006935519
2316463819794B   OSCAR        RAMIREZ                  TX          74044056381
23164798A5B167   ANTHONY      STALLCUP                 AR          23092887980
23165372372B88   JOSE         SALAZAR                  CO          33067613723
2316571824B588   DARLISHA     WARE                     OK          90011517182
2316594747B449   JAMES        SCHOOLFIELD              NC          11049149474
23166157A7B449   JAY          SHELTON                  NC          90013041570
2316654835B161   MICHAEL      YOUNG                    AR          23001245483
2316659137B471   JACQUELYN    MATTOCKS                 NC          90011735913
23166A1A655957   JOAQUIN      BUENROSTRO               CA          90015600106
231672A9691828   EDUARDO      DAVILA                   OK          21014262096
2316744679184B   WILLIAM      SIMMONS                  OK          90013544467
2316862415B531   JON          CASAS                    NM          35053146241
2316921135B271   JOSEPH       KELLEY                   KY          90000982113
2316945555B232   LATONYA      SMITH                    KY          90008494555
2316969269184B   MAURICIO     RIVERA                   OK          90008936926
2316992835B232   HECTOR       GARCIA                   KY          90005169283
2316B183591522   LOPEZ        FRANCISCA                TX          75072451835
2316B36288594B   TOMMY        HAMM                     KY          90000443628
2316B56989184B   MISTY        MCULLOUGH                OK          90012865698
2316B68579136B   MELISSA      CASPERSON                KS          90013226857
2316B88259376B   KACHEMA      WOODRUFF                 OH          90011718825
2317276619155B   ROBERTO      MARTINEZ                 TX          75010917661
2317319849189B   ANNA         CHANEY                   OK          90009821984
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2317322A155935   MIGUEL       GARCIA                   CA          90010462201
23173427272B42   ROBERT       PEALS                    CO          90012584272
2317385399794B   RICARDO      TOT                      TX          90002788539
2317433674B281   ELVIRA       HOWARD                   NE          27057263367
2317445153B351   DON          KING                     CO          90007034515
2317468395B232   CELIA        FORD                     KY          68083406839
23174892687B87   MICHEAL      SCOTT                    AR          90006738926
2317489A972B88   MONICA       SANCHEZ LOPEZ            CO          90014598909
2317496839136B   SANJUANITA   GARCIA-DE RIOS           KS          90012749683
23174A7A65B161   JAMES        ROBINSON                 AR          90013720706
2317525379184B   LARRY        FORTENBERRY              OK          21003812537
2317672A691541   DIANA        VELASQUEZ                TX          90009727206
2317691489184B   RANDY        STOALABARGER             OK          21091049148
2317699697B336   FARRUKH      SABIR                    VA          90012319969
2317763617B471   ALFREDO      ROQUE                    NC          11096876361
231782A969136B   MIKE         OGDEN                    KS          90012952096
2317863615B531   RUSKIN       IPTISAM                  NM          35090416361
231792A935B232   ELIZABETH    SANCHEZ                  KY          90012152093
2317983982B931   CHANNY       KHIN                     CA          90008388398
23179A2A855957   SAUL         RODRIGUEZ                CA          90013130208
2317B27A15B271   REBECCA      MEDELY                   KY          90014592701
2317B2A3155957   GENARO       LINARES                  CA          90015092031
2317B972731631   KRISTI       HALLEUM                  KS          90014559727
2317BA24291241   LARRY        DEMERY                   GA          14570630242
23181219172B42   FRANK        CISNEROS                 CO          90001632191
2318129A52B232   SAMUEL       DALEY                    DC          90001732905
2318194659794B   KIMARI       JURODE                   TX          90000479465
231819A3272B32   NORMA JEAN   TORRES                   CO          90011769032
231819A965B232   ANTHONY      MCKEVIER                 KY          90014179096
231825A955B271   LOIS         SPRINKLES                KY          90011915095
2318273219184B   PAUL         MEIER                    OK          90012757321
2318275265B333   ERNESTINA    CALDERON                 OR          90011807526
23182A8139184B   DEANJLO      DOYLE                    OK          90010330813
231831A5A4B261   CHRIS        HIKE                     NE          27078291050
2318331A95B531   CYNTHIA      TRUJILLO                 NM          35033863109
2318332999189B   SANDRA       ALVAREZ                  OK          21058513299
2318386119794B   FELIPE       HERNANDEZ                TX          74059758611
2318431759184B   SAMANTHA     HINKLE                   OK          90014653175
2318471A891828   VICTOR       GABLE                    OK          90015137108
231855AA872B88   JOAQUIN      MORENO                   CO          90007995008
2318567A59189B   JOSE         ROMERO                   OK          90010626705
2318663747B449   DARRIN       TORRENCE                 NC          90015426374
231869A7172B88   CORDOVA      SABRA                    CO          33041209071
23186A98791522   ROSA         MALDONADO                TX          90014380987
2318719788B355   DAVID        CRAWFORD                 SC          90014201978
2318737779189B   WALTRISHA    DUSTIN                   OK          90015223777
23187391972B88   STEVENSON    MARGARET                 CO          33094763919
2318756959136B   VICTOR       DERAS                    KS          90003295695
2318769297166B   CAROLYN      EWING                    NY          90007986929
23187766A87B59   BRITTNEY     THOMPSON                 AR          23092847660
23187854272B32   BRANDON      DUNN                     CO          90011118542
23187A71391241   ELLIOT       MIMS                     GA          90011020713
231881A3931453   DON          MALONE                   MO          27556161039
23188A4614B281   DAKOTA       BOYER                    NE          90015140461
2318959345B393   JEFFREY      SUMNER                   OR          44098125934
23189A4169136B   JOEL         CASTILLO                 KS          29014520416
23189A4549184B   LINDA        CONYERS                  OK          21001660454
2318B394491241   THOMAS       MCCLOY                   GA          90009143944
2318B48662B232   SEAN         BENTON                   DC          81057854866
2318B4AA872B32   HILLARY      BERNAL                   CO          90006914008
2318B634331453   CYNTHIA      YOUNA                    MO          27595286343
2318BA11555957   ROBERT       ROSE                     CA          48082960115
2319185194B588   COLYN        CADE                     OK          90015098519
2319197872B27B   BONITA       JONES                    DC          90008079787
2319284299155B   JOSE         MARTINEZ                 TX          90004258429
2319393525B232   KENDRICK     ANTHONY                  KY          90014179352
23193A4825B342   KIMBERLY     TORRES-JIMENEZ           OR          90014450482
2319428279794B   CARMEN       IBARRA                   TX          90012272827
2319434399184B   IRENE        HOWARD                   OK          90013803439
2319463A872B88   CANDACE      HYATT                    CO          33022396308
2319471A85B271   SHENA        BIBB                     KY          68016547108
2319475224B588   SAMUEL       COLLINS                  OK          90013557522
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23194A2429794B   ALVARO            VELASQUEZ           TX          74043220242
2319518554795B   JOSHUA            FARRIS              AR          25093771855
2319556849189B   JOSE              OTERO               OK          21074645684
2319637228594B   SAULO             ARREOLLA            KY          90006653722
2319653A591828   TERESA            PARRA               OK          90014885305
2319699415B167   ZIERRA            BROADWAY            AR          23041759941
2319725527B471   NAKEISHA          MILLER              NC          90011082552
23197716772B42   ERIC              KNUTSON             CO          90013457167
2319898495B161   RICKY             GAZO                AR          23043699849
23199581572B88   SPENCER           BRIGGS              CO          33004775815
23199A98893773   SHAWN             VANMETER            OH          90005700988
2319B557A9794B   TONY              PEREZ               TX          90008275570
231B14A1372447   RICHARD           SIMMONS             PA          90013634013
231B187989189B   SARAH             DONEACHY            OK          90012408798
231B1A3A672B88   LISA              ROMERO              CO          90012780306
231B1A56991828   MAHALA            MABRY               OK          21006130569
231B2439491528   MARIA             INARAGA             TX          75093194394
231B3319A72B32   TINA              COOPER              CO          33015143190
231B356914795B   MARCY             DRAKE               AR          25098325691
231B3791172B42   ROBERTO           ESPINOSA            CO          33008047911
231B429999189B   ROBERT            JOHNSON             OK          90013842999
231B442119794B   GUSTAVO           RIVERA              TX          90015324211
231B4578A91522   MARGARITA         VEGA                TX          90012865780
231B513559155B   RAUL              CARREON             TX          90015051355
231B527454B588   ARMANDO           GONZALAS            OK          90011862745
231B5915231453   MICHELLE          TOWNS               MO          90014769152
231B599572B27B   KEITH             DUBLIN              DC          90006309957
231B5A22985938   RICHARD           FORD                KY          90013650229
231B6275933636   POWELL            ROSE                NC          12046992759
231B643834B281   SILVIA            TORRES              NE          27093534383
231B65AA44B281   MARIBEL           OCANA MORALES       NE          90008385004
231B6699531453   JOSEPH            MCCLANTON           MO          90015586995
231B717887B471   RONNIA KRISTINA   HOWARD-VANDIVER     NC          90013291788
231B742549189B   CLEMENTE          MONTOYA             OK          21058114254
231B7437872447   KATHLEEN          KRUG                PA          51064374378
231B784244B261   MARGARET          LEA                 NE          27068258424
231B796A591541   ALMA LILIA        MALDONADO           TX          90010919605
231B8123587B59   ANTHONY           JILES               AR          23051441235
231B813359794B   CHRISTAL          TOLIVER             TX          90005501335
231B8183561992   SANDRA            ESTRENERA           CA          46025491835
231B825865B232   CATHERINE         CAREY               KY          90013002586
231B832A855957   CARRIE            BARRIOS             CA          90014283208
231B8429231631   TOMMIE            CAMERON             KS          22021404292
231B8647572B42   PATSY             QUINTANA            CO          90009466475
231B8771781637   EUNICE            NGADNA              MO          90012057717
231B9516891541   RAUL              CORONEL             TX          90014725168
231B9662191528   ELOISA            HOLGUIN             TX          75093196621
231B9856861558   JALYN             MAYL                TN          90015288568
231B9AA7331433   ANGELINA          SOLORSANO           MO          27549160073
231BB25A88594B   NATASHA           CUNNINGHAM          KY          90004402508
231BB773531631   TRISTA            JACKSON             KS          90008487735
231BB825785938   JAMIE             CRUZ                KY          90008318257
231BB897793773   JOSH              LONGSTRETH          OH          64505178977
231BB912291828   MELISSA           WILLIAMS            OK          90013169122
231BB98249184B   ROY               CORDOBA             OK          90005149824
231BBA5915B161   LEWIS             PARNELL             AR          90015320591
2321165485B531   PEGGY             ROMERO              NM          35007686548
2321172989155B   ISMAEL            ZUBIA               TX          75092427298
23211956A5B232   RICHARD           BOTHWELL            KY          90014179560
232129A484B281   DAVID             HAMPL               NE          90010349048
2321357465B232   PATRICK           DONAHUE             KY          68020075746
2321372A45715B   GLORIA            CAMPOS              VA          90013497204
2321377834B588   JESUS             RODRIGUEZ           OK          90013557783
232137A2A31631   RICHARD           MORLAND             KS          22068487020
2321388665B571   JUAN              MOREYRA             NM          35072278866
2321415A472B32   JESSICA           COLLINS             CO          90007431504
232142A2487B59   TAMARA            GULLEY              AR          90008192024
2321534AA3147B   ANETTE            JENKINS             MO          90010903400
2321555419189B   JEANIE            GIBSON              OK          90011495541
2321561549184B   TALISHA           TYGGART             OK          90013826154
232156A989794B   JANIE             NUNEZ               TX          90010826098
2321592A35B531   VICENT            NOLL                NM          35067349203
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2321595845B232   CHRIS         BARROW                  KY          90014179584
23215A42872B88   DIANE         SERRANO                 CO          33033680428
2321659AA87B59   KIMBERLY      PARKER                  AR          23016235900
2321668532B931   GERARDO       ORTIZ                   CA          90013396853
2321671A75715B   FERMIN        ESCOBAR                 VA          81002827107
2321675418B17B   NAYDEEN       LAMOREAUX               UT          31030957541
2321683847B449   ELVA          VELASQUEZ               NC          90013828384
23216A99672B88   TERESA        GUTIERREZ-ACOSTA        CO          90014470996
23217459A5B161   ANITA         ADAMS                   AR          90012144590
2321828A591828   ERIC          PARDEE                  OK          90010982805
2321874966196B   RUBEN         ORTIZ                   CA          90011317496
232188A437B471   MARIA         MALDONADO               NC          11034478043
23219725A91828   CHRIS         FERRELL                 OK          21059397250
2321977555B571   COLLEEN       HEAD                    NM          90011077755
2321B618391541   BRIANNA       CARRASCO                TX          90013476183
2321B62545B232   BILLYE        PAYNE                   KY          68088176254
2322122239136B   JUAN MANUEL   GUERRERO                KS          90011622223
2322161984B261   HECTOR        BANDERAS                IA          90001656198
2322176A672B32   BERNARDITA    CHACON                  CO          33025597606
23221778A9794B   EDUARDO       TOJ                     TX          90010827780
23221AA252B931   CLAUDIA       RODRIGUEZ               CA          90014340025
2322256484795B   CODY          ANDERSON                AR          25046725648
2322293719184B   HOWARD        ELDER                   OK          90005109371
2322389174B588   SAMANTHA      DEBOARD                 OK          90006058917
2322433144B588   DANIEL        WHARTON                 OK          90014453314
232245A994795B   CAITLYN       RAE                     AR          25054135099
23225296A7B471   ERNIE         BARR                    SC          11094722960
23225465A9136B   STANCE        RICHIE                  KS          90013314650
2322567249155B   TOMASA        RABELO TORRES           TX          75093866724
2322573839189B   KEITH         GRAY                    OK          21065477383
2322648945B167   CHARLENE      SPARKS                  AR          90013904894
23226A5139136B   JESSICA       SIEVERIN                KS          90011010513
2322734815715B   MAGDALENA     PIWKO                   VA          81072243481
232279A934B281   HUMBERTO      JIMENEZ-PEREZ           NE          90014119093
2322911772B27B   KAREN         ROBINSON                DC          90011501177
2322953162B27B   KAREN         ROBINSON                DC          90013985316
23229A4A54795B   LAILANI       WELSH                   AR          90011110405
23229A86872B32   JOSE          ACOSTA                  CO          90013010868
2322B58629155B   ROSA          ALVARADO                TX          75043165862
2322B6A2972447   NIKITA        KEMP                    PA          90010706029
2322B85124B52B   ASHLEY        ODANIEL                 OK          21513198512
2322BA8557B471   JAMYE         PARKS                   NC          90011480855
2323113542B27B   ANTONIO       FELICIANO               DC          81005691354
2323198244B588   JAMES         JAMES                   OK          90001369824
232319AA172B42   CECILIA       CONTRERAS               CO          90012029001
2323216732B27B   NIA           PRICE                   DC          90014241673
2323218A49794B   RANDY         PEREZ                   TX          90011761804
2323226579155B   PAUL          FRAIRE                  TX          90015052657
2323241455B161   BONITA        SPRINGER                AR          23015254145
23232A24831453   SPARKLE       SMOTHERS                MO          90013380248
2323332979189B   KELLY         JEFFERY                 OK          90005073297
2323411AA9155B   ALEXIS        GONZALEZ                TX          90010211100
232345A689189B   ANA           GARCIA                  OK          90014245068
2323564625B167   RENEE         DURAN                   AR          90007746462
23235689A91522   ROSA          LOZANO                  TX          75008036890
23235714A72B73   CAROL         COOMBS                  CO          90001087140
2323593684B281   ANGELA        GILBERT                 NE          90013099368
23235A7687B471   TAJA          CARTER                  NC          90014180768
2323617618594B   MIKA          RITCHEY                 KY          67047281761
2323628759184B   JEANNETTE     FOSTER                  OK          21061142875
2323664144B588   GARNETT       STONER                  OK          21514046414
2323727267B471   JOSE          BENAVENTE               NC          11085342726
23237643A84364   SHANIQUE      SINGLETON               SC          90000866430
2323889179794B   MICHAEL       TREVINO                 TX          90013928917
23238951172B42   DINA          CHAVARRIA               CO          33064589511
23238A1722B931   ANGELA        GAGLIAS                 CA          45044730172
232393A265B531   DAVID         GARCIA                  NM          90010603026
2323961A74B588   SHALANA       HAMILTON                OK          90011736107
2323971647B449   BYRON         WILLIAMS                NC          90002327164
2323B39A35B167   BETTY         JOHNSON                 AR          90007743903
2323B52587B449   MIGUEL        HERNANDEZ               NC          90007505258
2323BA5619136B   DANIEL        GONZALES                MO          90009880561
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2323BA9A49155B   LAURA       GONZALEZ                  TX          75089330904
23241462187B59   KERSHENA    PRATT                     AR          23049534621
2324181219794B   RUBEN       SANCHEZ                   TX          90013028121
2324192415B161   MARQUIS     TATUM                     AR          90010039241
23241933972B32   SERRANO     ROQUE                     CO          33025759339
2324227727B449   DEBORAH     RIVERA                    NC          90012582772
2324344565B232   AHYAUNA     KAT                       KY          90009344456
23243494A7B449   ALEJANDRO   TOLEDO                    NC          90013894940
2324422699184B   ROWENNA     GAINES                    OK          90012882269
2324439439794B   BRANDI      HALFORD                   TX          90015113943
2324463454B588   ROBERT      NELSON                    OK          90013156345
2324473117B449   TAMARA      WORTHY                    NC          11003877311
23244782A36165   KRISTEN     HERRING                   TX          90011077820
2324492259136B   OLBBIE      CATCHING                  KS          90013929225
23245132A31631   JOE         RYDZEWSKI                 KS          90013541320
2324519755B147   EMILY       EDWARDS                   AR          90013301975
23245323A5B271   BRYAN       LINDSEY                   KY          90014153230
2324535934B261   JOSE        CARABANTES                NE          90002843593
2324611215B232   DWAN        HEARN                     KY          68020091121
2324681A372B32   SANDRINA    HENDERSON                 CO          33045968103
232471A319184B   BRITTANY    ACKLEY                    OK          90013621031
2324731485715B   MANUEL      RIVAS MERCADO             VA          90010233148
2324853467B471   DIANA       CRUZ                      NC          90001915346
23249693A72B42   TRENACE     WOODS                     CO          90004906930
23249A8A372B88   CAMYRAE     CLARK                     CO          90003920803
2324B27722B931   JYSSICA     LYNN                      CA          90014652772
2324B74799155B   GLORIA      JIMENEZ                   TX          90008527479
2324B749A9184B   KILEY       WILLIAMS                  OK          90014767490
2324BA1555B232   KIMBERLY    SMALLS                    KY          68043400155
2324BA1637B449   MICHAEL     BANKS                     NC          90012960163
2325137759184B   MARQUITTA   LEGGINS                   OK          90014423775
2325144A131631   MAGAN       GALLEHER                  KS          90011864401
2325175922B27B   CARMELIA    FERRELL                   DC          90005607592
2325188A391528   ARACELI     BRACAMONTES               TX          90005928803
23252287672B88   DAVID       CABRAL                    CO          33057252876
2325233629155B   VALERIE     BOYKIN                    TX          75072263362
2325318815136B   ELIZABETH   HEINZE                    OH          90001861881
2325378554B261   EXEQUIEL    SOLTERO                   NE          90012687855
23253A99672B88   TERESA      GUTIERREZ-ACOSTA          CO          90014470996
2325422384B588   JENNIFER    HERNANDEZ                 OK          21558852238
2325455592B232   TERRENCE    AGYEKUM                   DC          90002935559
23254597A91541   MICHAEL     ARIAS                     TX          90012255970
2325463795B161   ELLIS       JACKSON                   AR          90011166379
2325468999794B   ANNA        PEREZ                     TX          90001896899
23254962A91541   BEATRIZ     CONTRERAS                 TX          75015939620
2325522812B931   PAUL        PUMPHERY                  CA          90014772281
232553AA131453   MEECHI      CALDWELL                  MO          90014693001
2325581AA4B588   BECKY       DEMERS                    OK          90013558100
2325628523B39B   HYON        KIM                       CO          90005532852
23256AA449136B   CHARLY      MORENO                    KS          90011440044
2325732399189B   ANN         MILLER                    OK          90004903239
2325748814B281   BONIFACIO   LOPEZ                     NE          27031634881
2325764267B449   ANGEL       HOWARD                    NC          90009066426
2325781AA4B588   BECKY       DEMERS                    OK          90013558100
2325783397B471   ERIC        TAPIA                     SC          90012938339
23257A4675B167   PHYLLIS     CLARK                     AR          23000800467
23257AA5887B87   LESLIE      JAMES                     AR          23081420058
2325877675B232   JOSE        BARAHONA                  KY          68064767767
2325941445B531   CASTILLO    YOLEXIS                   NM          90006804144
2325969869184B   LINDA       JONES                     OK          90012266986
2325998549189B   DEJAYN      BROWN                     OK          90011309854
2325B64797B435   SHAMEKA     WILSON                    NC          90011136479
2325BA8235B271   SANITA      HUGULEY                   KY          90007860823
23261788A72447   RIC-QUAN    JOHNSON                   PA          90010147880
2326239239184B   CHRISTY     BALL                      OK          21001953923
2326241445B531   CASTILLO    YOLEXIS                   NM          90006804144
2326259792B931   IRMA        CERVANTES                 CA          90013415979
2326323712B27B   BERNARD     MILES                     DC          90014242371
23263561997B69   LESLIE      HILGENBERG                CO          90012435619
2326363569184B   TIFFINY     LONG                      OK          90001216356
23263A1575B232   AMANDA      ELLENBURG                 KY          90014180157
23264318572B88   YUVICELA    MORAN                     CO          33077033185
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23264A6495B57B   MARGARET          FISCHER             NM          90011430649
2326513755B161   TERESA            BROWN               AR          90010651375
2326537A191828   HARLOD            WICKHAM             OK          90012153701
2326565894B588   GAIL              SMITH               OK          21557996589
2326577589184B   LINDSEY           OLIVER              OK          90014507758
2326619195B531   PAUL              BOIS-CLARK          NM          35089771919
232661A469136B   LAWRENCE ROBERT   BAYLESS             KS          90010511046
2326747524B261   HUGO              CENTENO             NE          27035724752
2326762575B271   CHRISTINA         HUTCHINSON          KY          90012896257
232676A475B232   BETTY             COWTHON             KY          90005666047
23267A48441245   JACK              DANIELS             PA          90012880484
23268A2235B232   PRESCILLA         ADKINS              KY          90014180223
2326955627B471   GABRIELLE         JOHNSON             NC          11030365562
2326967862B27B   ANTONIO           PINDEA CRESPO       DC          90008666786
2326985663B384   RAFAEL            MUNOZ               CO          33067898566
232699AA333624   CASSIE            MCMILLON            NC          90011249003
23269A7295715B   STEVIE            BOLDEN              DC          90010810729
2326B224255957   ERICA             LOPEZ               CA          90006092242
2326B57A772447   TERA              FERGUSON            PA          51094765707
2326B937191241   JOSEPH            PRINCE              GA          90011219371
2326B94419794B   ANDREA            CARTER              TX          74089529441
2327135919184B   MICHAEL           CREWS               OK          21083423591
2327166A291241   CHIKITA           JAMES               GA          90010196602
2327167519155B   ARACELY           MIRANDA             TX          90006556751
232716A9372B88   RAFAEL            LAMADRID            CO          90011806093
2327192735B232   TONY              HALL                KY          90007359273
2327196468594B   JAMIE             SMITH               KY          90000369646
232725A889794B   RAFAEL            OLALDE              TX          90015225088
2327327A672447   DANIEL            ALCORN              PA          90010622706
2327397832B931   MARIELA           REYES               CA          90014409783
2327431459155B   MIKE              AVALOS              TX          90015053145
23275272572B32   NICOLE            RICE                CO          90013292725
2327544947B449   CHERI             HINES               NC          11051954494
2327593799155B   ABEL              MARTINEZ            TX          75012629379
2327619575B271   BRANDON           ALFORD              KY          90003971957
23276326872B32   DANIEL            PATTERSON           CO          90013193268
2327647838594B   TOBY              DENTON              KY          67032994783
2327661769794B   EDGAR             MATIAS              TX          74001586176
2327683187B456   KESSHIA           BISHOP              NC          11076568318
2327686515B167   LINDA             ROWLAND             AR          23043708651
23276912A7B471   YADIRA            PENA                NC          90014759120
2327783129189B   MARIA             PINA                OK          90001488312
2327867122B841   ROBERT            LOWE                ID          90008126712
2327939A57B449   RAQUEL            HERNANDEZ           NC          90011943905
232798A225B161   MARCUS            WILLI               AR          90015198022
23279A47191522   ELIZA             LECHUGA             TX          75076330471
2327B318A55957   SHANNON           ANGEL               CA          90000143180
2327B861291541   LAVIMINDA         MORALES             TX          75026738612
2327B9A425B531   MECAH             CONTRERAS           NM          35005779042
2328169A687B87   HILDA             WATLEY              AR          23022166906
2328176815715B   JOSE              ROJAS               VA          90004407681
23281A2445B177   REGINA            MCDONALD            AR          90001640244
23281A6A972B32   CRISELDA          ESCALANTE VARELA    CO          33067240609
2328278989184B   KENDALL           ROSS                OK          90015217898
2328336825715B   JORGE             SANCHEZ             VA          81072273682
2328356A172B88   MASHKOOR          FAHIMA              CO          90010535601
2328377539794B   NICOLE            ANDERSON            TX          90013057753
23283A35891522   FERNANDO          VILLAR              TX          90007640358
23284574572B32   ADELMA            HERNANDEZ           CO          90000435745
2328499779794B   LAQUESAS          MCCARTY             TX          90014929977
23284A2472B931   JESSICA           HARDY               CA          45073010247
23284A48772447   TRUDY             MCDUNN              PA          90013630487
23285A1A49136B   MARVIN            PORTILLO            KS          90003710104
2328618339184B   MIKAEL            BRADSHAW            OK          21074661833
2328646469155B   NANCY             TORRES              TX          75087064646
2328688692B232   LASHAWN           HUNTER              DC          90006018869
2328795614B261   JODIE             ZELASNEY            NE          27010209561
2328812487B471   EUGENE            MELVIN              NC          11074441248
2328825354B261   TINA              QUINN               NE          27019772535
2328877684B281   NANCY             ANDERSON            NE          90014627768
2328886227B449   WHITNEY           GILLIAM             NC          90014928622
2328912A155957   GUSTAVO           LOMELI              CA          90002261201
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2328955535B161   ALDEANGELO    SENIOR                  AR          23069725553
23289A8369189B   AUBRIE        THOMPSON                OK          21009880836
2328B43649155B   GONZALES      THOMAS                  TX          90010734364
2328B83184B261   HENRY         ALVAREZ                 NE          90012628318
2328BAAA472B22   CURTIS        WHITMAN                 CO          90010130004
23291289272B42   RENE          GONZALEZ                CO          33027322892
2329152954B281   KISWENDISDA   YAMEOGO                 NE          90013675295
23291A8215715B   PATRICE       DOORES                  VA          81025260821
2329283344B281   JENNIFER      JOHNSON                 NE          90008388334
23292A4A54795B   LAILANI       WELSH                   AR          90011110405
2329326769189B   NATASHA       WALKER                  OK          21084122676
2329569519189B   ARTURO        VAZQUEZ                 OK          21056006951
23295AAA54795B   JENNIFER      MOORE                   AR          25006420005
2329617654B281   KEITH         KREBS                   NE          27023471765
23296498772B88   JENNIFER      WHITEMAN                CO          90004174987
232964A8287B87   KEELAN        DEAN                    AR          23012204082
2329691644B588   ALBERTA       KENDRICKS               OK          90013379164
2329699792B27B   WILLIAN       RAMIREZ                 VA          81091889979
23297A1765B232   JOAN          MARLOW                  KY          90010190176
2329811377B449   JONATHAN      WILLIAMS                NC          90011731137
2329898922B27B   SANTINI       LEARY                   DC          90010809892
23299857572B32   JOSTIN        HALL                    CO          90013298575
232B121795B571   CATHERINE     JARAMILLO               NM          35010542179
232B1388172B88   HUMBERTO      CAMACHO                 CO          33062173881
232B1535472B42   LORNE         ADLER                   CO          33000055354
232B1893831631   ISAAC         IBARA                   KS          90004218938
232B193A372447   SCOTT         GALO                    PA          90004609303
232B1A6618594B   WILLIAM       MULDER                  KY          90009900661
232B227215B161   MARK          OLIVER                  AR          23058012721
232B228179794B   KEYOSHIA      WASHINTON               TX          90015362817
232B261A84795B   JAMES         MCGEHEE                 AR          25057316108
232B2639131631   KARIN         STANSBURY               KS          90013786391
232B284784B588   MISTY         DOVER                   OK          90014918478
232B2A66491522   EVELYN        LEYVA                   TX          90014860664
232B349289184B   SUNNY         SCHONHOLTZ              OK          90014534928
232B37A429189B   ANGELA        MOON                    OK          90010197042
232B4118472B88   ANDREA        SANDOVAL                CO          90014791184
232B418A272B42   ERIC          COUNTRYMAN              CO          90014771802
232B464A941245   BRITTANY      DEMBOWSKI               PA          90011066409
232B5258972B32   BEVERLY       RISLEY                  CO          90010642589
232B53AA172B42   DANA          CLARKE                  CO          90012733001
232B615A455989   MARQUEETA     SHELTON                 CA          90008391504
232B655324795B   JERIONG       LUTHA                   AR          90008855532
232B6587A91828   YENI          ROSAS                   OK          90009005870
232B66A495B161   ANGELA        MILLER                  AR          90014706049
232B681124795B   JERIONG       LUTHA                   AR          90014058112
232B687954B588   ELVIRA        VALERO                  OK          90014138795
232B694715B232   CHRIS         VITTITOE                KY          90014179471
232B6989772447   KAREN         BRYAN                   PA          90007939897
232B833A15B271   LUIS          CALDERON                KY          90015173301
232B844A64B261   SHELBY        YOUNG                   NE          27075514406
232B898359184B   MIKE          HOBBS                   OK          90009889835
232B8A8489189B   JOELLA        TIGER                   OK          21097030848
232B913A57B449   LISETTE       GONZALEZ                NC          11010081305
232B925334B588   PATRICA       MEDINA                  OK          90013032533
232B935379794B   ANTHONY       TURNER                  TX          90009303537
232B983982B931   CHANNY        KHIN                    CA          90008388398
232B999725B271   JOSHUA        HEARN                   KY          68097899972
232B9A31171958   ROBIN         WICKS                   CO          90014790311
232BB24282B931   KATRINA       STANCELL                CA          45099402428
232BB2A7591528   MARIO         TRUJILLO                TX          75093232075
232BBA3529155B   SILVIA        FIERRO                  TX          90013920352
232BBA5464B261   TONY          TOWLES                  NE          27069810546
232BBA9A572B88   MORGAN        HEFTY                   CO          33054530905
2331131A15B531   JULIA         GURULE                  NM          35089783101
2331181A29184B   ROBERT        MCCURLEY                OK          21092818102
2331194A272B88   ANGELINA      WAMBOLDT                CO          90002539402
2331211A27B449   JOSHUA        BELLAMY                 NC          90013741102
2331277684B281   NANCY         ANDERSON                NE          90014627768
2331281869184B   DUSTIN        FARRIS                  OK          21092008186
2331323A34B281   C             PATTERSON               NE          90014032303
23313291972B88   ARMANDO       CEDENO                  CO          90002572919
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2331357479189B   HENRY        SPEARS                   OK          21004255747
2331378835B531   HEATHER      BACA-LEE                 NM          35000027883
2331381A29184B   ROBERT       MCCURLEY                 OK          21092818102
2331383269794B   ROJELIO      OLALDE                   TX          90012098326
2331446685B571   PORTER       KIM                      NM          90000424668
233145A424B281   MOISES       ROJO HUERTA              NE          27054195042
23314A5756B931   JASON        MORRIS                   NJ          90013980575
2331511595B531   DANIELLE     MAI                      NM          90008491159
2331549129794B   ROGELIO      CRUZ-NIETO               TX          74048994912
2331554175B232   KAY-TINA     BRODGEN                  KY          68042175417
2331574654B281   ALICE        LEWIS                    NE          27015567465
23315A1A372B23   GUADALUPE    RODRIGUEZ                CO          90002790103
2331632719184B   TERESA       WILLIAMS                 OK          21057113271
2331656567B471   SAMANTHA     LEWIS                    NC          90012155656
23317266872B42   BENJAMIN     SCHULTE                  CO          90015382668
233172A179189B   MELANIE      WEST                     OK          90012032017
2331743A472B32   ANDREW       KELMIOFF                 CO          90011514304
2331799525B531   ZULMA        LEYVA-RIOS               NM          35005259952
23317A3845B571   JESSICA      GREINER                  NM          35094520384
2331852369794B   ALMA         RAMOS                    TX          90013615236
23318A2734B582   DAVID        MOON                     OK          90008740273
23318A5439184B   SEQUOIA      WARREN                   OK          90013510543
23318A97691522   PEDRO        MUNOZ                    TX          90015060976
2331922259189B   RYAN         TURNER                   OK          90014842225
23319253A72B88   ARTHUR       VALDEZ                   CO          33001222530
2331933645B161   MONTA        ROBERTS                  AR          90014173364
23319551272B42   LISA         TORRES                   CO          90013595512
23319633A4B588   SANDRA       RIOS                     OK          21590136330
2331996172B931   MIKE         HINRICHS                 CA          90014859617
23319A5617B471   PHYLLIS      THULIN                   SC          11076870561
2331B31A15B531   JULIA        GURULE                   NM          35089783101
23321844A55957   LEXUS        MENDOZA                  CA          90002788440
2332217114B281   CARLOS       RAFAEL                   NE          90010731711
2332254662B931   LOIS         RODRIGUEZ                CA          90014505466
23322862A7B471   KAREN        LEE                      NC          90015178620
23322A6944B261   RAFAEL       RUIZ                     NE          90013370694
2332314499136B   GUILLERMO    RODRIGUEZ                KS          29070741449
2332326A491522   ANTHONY      ROJAS                    TX          90009122604
23323621472B42   JUANA        MURILLO                  CO          33038086214
2332395789794B   VELMA        CHAPPLE                  TX          90014609578
2332414234B261   RODRIGO      SOLANO                   NE          90002861423
233247A754B588   CRISTINA     PEREZ                    OK          90013987075
2332512A82B931   TAMMY        ARREOLA                  CA          90014641208
23325564A87B87   YASHIKA      MORRIS                   AR          23086675640
23325724172B42   DAN          CARROLL                  CO          33028507241
2332579A64B281   MISTY        PHILLIPS                 NE          90008387906
23326A3774B588   MAEGAN       WALKER                   OK          90005010377
2332729884B588   KYLIE        SHELTON                  OK          21558152988
233273A4651369   CATHY        KRAUS                    OH          66067163046
2332771365B571   VICTOR       ESPINOZA                 NM          35038077136
233278A7A5B536   ROBIN        GELLER                   NM          90004908070
23327A4352B931   GERARDO      SOLTERO                  CA          45037300435
2332821254B261   ASHANTA      LOWERY                   NE          90014582125
2332877282B931   ALIZA        MARIN                    CA          90003957728
2332935337B471   NAKIA        GRAHAM                   NC          90007003533
2332941889136B   KAMI         HENLEY                   KS          29067224188
2332942454B261   STEVEN       PHALEN                   NE          90002004245
2332B466172B53   JAIME        HERRERA                  CO          33008244661
2332B518872B32   PATRICIA     CHISHOLM                 CO          90012185188
2332B64365B232   CATHERINE    BELLER                   KY          90011616436
2333119A991828   DESHAWNTA    LYDAY                    OK          90011001909
23331542772B88   SHARA        OATES                    CO          33042535427
2333198634B588   QUINTIN      MURRELL                  OK          90013779863
2333233682B27B   PAYGO        IVR ACTIVATION           DC          90014703368
2333237989136B   CARLOS       GUERRERA                 KS          90014853798
2333249718B179   VICTOR       RUIZ                     UT          31084784971
2333294A87B449   NELSON       OMAR                     NC          90011129408
2333336573B332   VICTORIA     BOSWELL                  CO          33064333657
2333342469155B   GUILLERMIN   ORTEGA                   TX          75023834246
23333452674B79   JOSEPH       ROGOWSKI                 PA          51036494526
233342A174B588   LATICIA      MARTINEZ                 OK          90006832017
23334437A3B333   CATHERINE    TRANI                    CO          90000944370
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2333486735B271   EARLENE       LAX                     KY          90013818673
2333531865B249   KAMMY         LAWNCH                  KY          90010143186
23336235372B42   VIVIANA       AVILES                  CO          33061672353
23336A4619189B   SHAWN         HARBISON                OK          90007750461
2333788A831453   ROBIN         LESUEUR                 MO          90013838808
23337967A4B261   MICHELLE      GREGORY                 NE          27043639670
2333882A22B27B   WARREN        HALE                    DC          81082168202
2333886969794B   CHRISTIAN     GARCIA                  TX          90012838696
2333916589794B   BONNESHIA     JACKSON                 TX          90011351658
2333984644B588   CHRISTINE     ASHMORE                 OK          90012718464
2333B19454795B   BENITA        ANDERSON                AR          90009361945
2333B975371925   JUANA         MOLINA                  CO          90009719753
2333BA89A9136B   SEAN          ANDRESEN                KS          29076200890
2334115874B588   MATTHEW       EMMERT                  OK          90014631587
233412A117B449   EVELYN        CARTER                  NC          90008172011
23341326972B42   SUSAN         MONTEMAYOR              CO          90013743269
23341579A9155B   OLIVAS        ADOLFO                  TX          90006875790
23341A62A72B42   SUSAN         MONTEMAYOR              CO          33090500620
2334242919794B   ANTONIO       SIC                     TX          90003834291
23342798472B42   GLENDA        ESCOBAR                 CO          33095967984
2334354145B571   ANGELA        FLORES                  NM          35080535414
23343584772B32   ABEL          RICALDY                 CO          90004015847
2334363949155B   ERNESTO       8A                      TX          90000366394
2334394577B449   KEVIN         BRADFORD                NC          11072619457
23344411572B32   ROSEMARY      MILAM                   CO          90011504115
23344446A84364   RICHARD       CHAMPAIGNE              SC          90004524460
2334452519184B   LANETTE       FARMER                  OK          21009905251
2334471919189B   MICHELLE      SKELTON                 OK          21065887191
2334489A45B232   LATRICA       WADLINGTON              KY          68021598904
23344AA6872447   ADRIENNE      RESNICK                 PA          90003850068
23345761A9794B   SONIA         NIETO                   TX          90006147610
2334587655B232   ANTHONY       JEWELL                  KY          90010788765
23345A4619189B   SHAWN         HARBISON                OK          90007750461
23347178197B69   RICHARD       BUSH                    CO          90002271781
23347389A72B32   TROY          DAVIS                   CO          90015263890
233475A554B281   WALTER        ARAUJO                  NE          90011625055
2334785957B449   QUIANA        RICHIE                  NC          90010308595
2334865669189B   PRINCE        MEGGS                   OK          90012036566
23349147A31432   DANNY         JACKSON                 MO          90003131470
2334917159155B   FRANK         DE LA CRUZ              TX          90011571715
23349A95A4B588   JAMES         MURDOCK                 OK          90014260950
23349AA9172B32   JEREMIAH      HAYES                   CO          33070470091
2334B9A557B471   JOHN          WERENY                  NC          90010999055
2335199552B27B   TONY          BEATTY                  DC          90008129955
233519AAA55957   VICTOR        LOPEZ                   CA          90014619000
2335238815B167   JESSICA       GOODWIN                 AR          23039453881
2335295832B27B   CHRISTY       HAIRSTON                DC          90014249583
23353A55687B87   BRITTANY      BRADLEY                 AR          23098390556
23353A75A72B61   TIMOTHY       FULTON                  CO          90013880750
23353A93A55957   MARCOS        HERNANDEZ               CA          48092350930
2335472A59184B   GLYNN         SMITH                   OK          90015597205
2335473A79189B   LINDA         WARLEDO                 OK          90006617307
233547A799136B   MIKE          CONNOLLY                KS          90009147079
2335575859184B   ARIANA        MARINA                  OK          90011027585
23355A2364B261   ANGELA        GOLDEN                  NE          90013080236
2335624A431453   MEHO          DURGUTOVIC              MO          90006702404
2335671A24B58B   BRADLEY       BOECKMAN                OK          90011417102
2335676674B281   ODILIA        PEREZ LOPEZ             NE          90010107667
2335756658594B   KENNETH       MCCALISTER              KY          90003225665
2335791699136B   GARY          STANFILL                MO          90015159169
23358144687B87   JESSICA       BASS                    AR          90014641446
2335829285B161   TRAVIS        SPEARS                  AR          23005392928
2335894864B261   AMANDA        AUMA                    NE          27031149486
233597A1691828   CLINT         OSCEOLA                 OK          21095777016
23359A72881661   DELORES       MONTGMERY               MO          90007130728
2335B31844B261   AMANDA        CHADWICK                NE          90006823184
2335B472791541   JUAN MARTIN   GONZALEZ                TX          90013114727
2335B551754B89   DAVID         DENNIS                  VA          90014295517
2335B629231453   EDWARD        SPRATT                  MO          90012906292
2335B84587B422   BRENDA        HERRERA                 SC          90012938458
2335B888972B88   SANDY         IXCHOP                  CO          90010028889
2335BA38172447   SAMANTHA      HOOVER                  PA          51083110381
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2336291464B261   JOSEPH        KIRBY                   NE          27037979146
2336293138B16B   ERNESTO       BARAJAS                 UT          31004359313
2336334514B281   DARRYLL       TIMPERLEY               NE          27028133451
2336335599136B   ALFREDO       LOPEZ                   KS          90013773559
23366199987B59   KATHLYN       MOORE                   AR          23041471999
2336666643B336   JODI          JAMES                   CO          90011626664
23367497687B87   LEALER        JACKSON                 AR          23056664976
2336814159794B   ROBERTO       BAERGA                  TX          90014421415
23368842172B32   TANGELA       COOK                    CO          33083648421
23368A6814B261   AMBER         SMITH                   IA          90014400681
2336B767455957   JC            TURNER III              CA          90011197674
2336B88435B571   ROBERTO       NUNEZ                   NM          35087888843
2337133427B449   GREGORIO      NUNES JR                NC          90011093342
23371811A9136B   RUBEN         VELASQUEZ               KS          90002298110
23372625A91541   GABRIELA      MARTINEZ                TX          75029416250
23372939A91522   DOLORES       GUILLEN                 TX          75009999390
23372974172B32   ROBBIE        INGRAM                  CO          33073829741
23372A84A8B184   KACEY         THOMPSON                UT          90009510840
2337312664B588   BRITNEY       SMITH                   OK          90013601266
2337326877B468   ERNEST        REID                    NC          90006622687
2337398A75B571   STAN          MINGE                   NM          90005409807
23373A41172B42   PATRYK        HOLLY                   CO          33075980411
2337538214B281   DANA          HERONIMUS               NE          90012723821
2337546187B471   STACY         ALEXANDER               NC          90011314618
23375493A72B32   MICHELLE      WAHLSTROM               CO          33094724930
2337562369794B   MARCELA       ALFARO                  TX          90015006236
23376139A72447   BRIAN         UPDEGRAFF               PA          90008641390
2337617189136B   MARCIE        FRECKS                  KS          90010111718
2337665622B931   DEREK         VALENZUELA              CA          90008996562
2337684595B167   JUSTIN        HARMON                  AR          23091058459
2337687817B449   SHONTAVIOUS   MARSH                   NC          90010128781
233769A3472B32   DULCE         MORALES                 CO          33018409034
233769A588B147   RANDY         BRUNETTI                UT          90001849058
23376A4369794B   NATASIA       AUSTON                  TX          90014640436
2337775499136B   ALEX          HERNANDEZ               KS          90013327549
2337812717B449   DAMEKA        JOHNSON                 NC          90009171271
233781A542B27B   AUGUST        COLLINS                 DC          90013181054
2337825989155B   RAUL          CORTEZ                  TX          75068452598
23379352A41245   ANGELINA      LAYNE                   PA          51080783520
2337943885B271   CHRISTINA     GREEN                   KY          68015714388
2337B622A91541   AMANDA        GUTIERREZ               TX          90002236220
2337B977455957   DONALD        DONALDSON               CA          90000519774
23381A9A557531   JOSE          RAMIREZ                 NM          90000390905
2338225885B271   JANET         POWELL                  KY          90013872588
233825A1591541   JOSE          TAMAYO                  TX          75040665015
23383718872B42   LAURA         GONZALEZ                CO          90005227188
23384764272B42   TAFOYA        TRACY                   CO          90009637642
2338491229184B   RHONDA        MCKNIGHT                OK          21000799122
23384A41672B88   MOISES        LOZANO                  CO          33056460416
23384A75361959   DIA           AL JABIRI               CA          90006920753
23385351987B87   NAOCEA        EVANS                   AR          90014573519
2338535899184B   CODY          WATKINS                 OK          90014593589
23385598472B42   JESUS         SERRANO                 CO          90013835984
2338563299189B   SHAINA        JONES                   OK          90006226329
2338574489155B   JESSICA       SUBIA                   TX          90015127448
2338711734B281   SHEILA        SOPPE                   NE          27059661173
233872AA441245   KATHLEEN      MEYERS                  PA          51073462004
2338736895B167   VARONICA      LEE                     AR          23085403689
23387A1189189B   PEDRO         MARES                   OK          21077490118
233894A959189B   JOHN          MCCOY                   OK          21055744095
233899AA991541   JEREMY        WEBB                    TX          90002359009
23389A72872B42   MICHAEL       VIGIL                   CO          33032500728
23389AA8A31453   LUIS          PLATA-VELEZ             MO          90013930080
2338B531891828   GEORGIAN      TURPIN                  OK          90014885318
2338B951831631   ANNE          CHANDLER                KS          22092069518
2339177954B588   KENNETH       GABLE                   OK          90012667795
2339182435B161   JAMES         THOMPSON                AR          90014738243
2339288145B571   LUCY          LEDGERWOOD              NM          90011078814
233934A5131453   GLADYS        BREWER                  MO          27516104051
2339354325715B   RONAL         PEREZ                   VA          81080435432
23393569A41245   REBECCA       HYSONG                  PA          90011695690
233938AA572B32   MIRNA         HEREDIA                 CO          33012158005
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2339487985B232   GREGORY          GRAHAM               KY          90013708798
2339593445B333   KASSANDRA        LACOMBE              OR          90012519344
2339595835715B   UBALDO           SERRANO              VA          81006049583
2339665554795B   DONNA            SMITH                AR          25029716555
2339672A14B933   CHARLES          SMITH                TX          90000827201
233967A7793773   NICOLE           MCINTOSH             OH          64593167077
23396A5777B449   KANNEEFRA        WATSON               NC          90001580577
2339744455B161   KRYSTAL          PHILLIPS             AR          23010174445
2339856415B271   ANNTWANETTE      HAWKINS              KY          90010975641
23398892772B32   CAELA            ENGLAND              CO          90011118927
2339945627B449   LV               HINES                NC          90014354562
233997A9972447   SEAN             HECKER               PA          90013947099
23399A9A44B588   DORA             LOPEZ                OK          90002030904
2339B25615B161   STEPHANIE        RUFFIN               AR          23091042561
233B114944B588   JESSICA          ALVARADO             OK          90013851494
233B1359A51343   GRACIE           DUNCAN               OH          90004313590
233B1447731631   ANGELA           WARD                 KS          90002634477
233B179319155B   CRISTINA         CORONADO             TX          90009877931
233B2171272447   JULIA            DISCELLO             PA          90012901712
233B2531A7B449   JOSE VICTOR      GUZMAN MARTINEZ      NC          90012155310
233B2949987B87   LINDA            SIMMONS              AR          23046749499
233B2A27A77341   LATONYA          WHITE                 IL         90007980270
233B311845B571   JOHN             LUCERO               NM          90005171184
233B359664B281   ERICKA           RUBIALES             NE          90013945966
233B372414B261   ALBERTO          HERNANDEZ            IA          27091347241
233B437779136B   RUBEN            ORELLANO             MO          90012193777
233B459475B167   TERRIKA          EDWARDS              AR          90005775947
233B4725191828   MIGUEL           REYES                OK          90011167251
233B493A191541   DILLAN           PASCHALL             TX          90013909301
233B496712B931   JOSE             CORNEJO              CA          90014419671
233B5226172447   JUSTIN           VERNET               PA          90011732261
233B5736255957   CORINA           MARTINEZ             CA          90009337362
233B5775176B8B   LUIS             LEYVA                CA          90011377751
233B5779A31631   NOAL             REYNOLDS             KS          90010037790
233B5925691522   JOSEPH           VELAZQUEZ            TX          90007789256
233B6418472B53   ALDO             HUERTA               CO          33054454184
233B666645135B   CASEY            DEFFREN              OH          90014906664
233B761865B531   JESUS            CHAVIRA              NM          90006806186
233B782559136B   GUILLERMO        ANDRADE              KS          90008038255
233B7A8447B449   DOUG             SCHULTZ              NC          90007900844
233B7A99485938   COURTNEY         HALCOMB              KY          67098450994
233B839319136B   CHRISTIAN        THOMAS               KS          90014413931
233B861315B531   CLARA            TERRAZAS             NM          35076346131
233B8749891251   JINCEY           DAVIS                GA          14570647498
233B8836647952   JOHN             CARNES               AR          90005788366
233B959794B281   DIANE            NUNEZ                NE          90013945979
233B977249794B   DULCE            ROBLEDO              TX          90007707724
233B9A89391541   OLINSSER         POSADA               TX          75004390893
233BB815731453   QUENTON          ROY                  MO          27576598157
233BBA8614B281   JEAN BAPTI       MAWAWA               NE          90014170861
233BBAAA391541   DANIEL CUELLAR   ANCHONDO             TX          90012470003
234112A374B261   SELBIN           MEJIA                NE          90007282037
2341144384B281   BECKY            MERCHEN              NE          90015134438
2341198564B588   JEREMY           JOHNSON              OK          90013009856
234123AAA4B588   DANESHA          PONDER               OK          90013613000
2341292A39155B   RODOLFO          ANAYA                TX          90004259203
23412A18591522   NORMA            LUJAN                TX          75006250185
2341334749184B   MARTIN           SOMERVILLE           OK          21033313474
2341414595B571   OTONIEL          GOMEZ-OROZCO         NM          35061291459
2341436A372B42   THOMAS           ZAPPITELLO           CO          90011243603
2341538514B281   BO               BO                   NE          90012723851
23415A92955957   BERTHA           GARCIA               CA          48058270929
2341611352B27B   YVONNE           LIVINGTON            DC          90014251135
234162A7972B42   DAN              BROKER               CO          90012872079
234165A764B261   ROSE             GROSS                NE          90014175076
23416A13581661   MIKE             HERGERT              MO          29087070135
2341845627B449   LV               HINES                NC          90014354562
2341899987B449   SANIE            SMITH                NC          11044899998
23418A95A4B281   MELISSA          MEDRANO              NE          90004870950
23419467972B42   ORALIA           NUNEZ                CO          33046384679
23419A4A39794B   VICTOR           TOJ                  TX          90013670403
2341B17239794B   ROBERT           ANDERSON             TX          90015221723
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2341B38A74B588   MAURA         CLARKE                  OK          21589563807
2341B45289155B   JESSEY        EVANS                   TX          90010734528
2341B4A1A4B588   PIEDAD        FIGUEROA                OK          90000784010
2341B667531453   BRITTANI      BOOKER                  MO          90007936675
2342118624B588   RODRIGO       GILES                   OK          90013601862
23421273172B42   CINDY         ORTIZ                   CO          33014392731
234214A634B261   LATASHA       OLIVER                  NE          27007054063
2342187699794B   NICOLE        LASTER                  TX          90015168769
23421A8419376B   BRITTNI       WILKINSON               OH          90005110841
2342253A49794B   AMANDA        ATKINSON                TX          90013545304
2342262754B281   NELSON        MEJIA ORELLANA          NE          90013946275
2342267287B471   JOSE          RAMOS                   NC          90013586728
234229A7872B32   ERICA         RIVERA                  CO          90012989078
2342389185B36B   MARFA         KORNILKIN               OR          90009788918
23423AAAA2B931   KATHY         STAHL                   CA          45087180000
23424114472B42   ASHLEIGH      WINSLOW                 CO          90013541144
234243A8331473   RICHAUNDRA    POE                     MO          90003403083
23424682872B88   SALLY         CARRILLO-LOPEZ          CO          90000446828
2342614134B543   KIMBERLY      FINE                    OK          90007061413
234262A7655957   ROBERT        RUIZ                    CA          90011342076
23426357472B88   JOEL          CORCHADO JIMENEZ        CO          90011663574
234263A9751325   SELWYNA       WARD                    OH          90000923097
2342649A185838   THERESA       STEELE                  CA          46045234901
2342695759184B   TRAYVON       LESLEY                  OK          90014799575
2342698479189B   PAUL          CORRAO                  OK          21076169847
23427619587B59   SHUN          CAIN                    AR          23050116195
2342771A47B449   JULIO         CHICAS                  NC          90014157104
2342794235715B   SAIRA         MAGANA                  VA          90000899423
23427946587B87   TANDRA        MAGSBY                  AR          90002939465
2342849338594B   SIBHAA        RAMIRO                  KY          90004704933
2342883869184B   KIERRA        HARRINGTON              OK          90014788386
2342916339189B   KOU           LARKPOR                 OK          90011521633
2342933919136B   VICTOR        CORONADO                KS          90011983391
234293A224B588   STEPHANIE M   WAGNER                  OK          90012763022
2342998342B232   HATTIE        WRIGHT                  DC          90006039834
2342B334691522   JUAN          PALOMARES               TX          90008533346
2342B361391541   JOSIE         RAMIREZ                 TX          90011563613
2342B42599155B   MARTHA        ALEGRE                  TX          90015054259
2342B85A77B449   TATIANNAH     MONROE                  NC          90014078507
2342B957691828   MELISSA       WATSON                  OK          90006259576
2343115427B449   VICTORIA      ROTH                    NC          11011221542
2343259155B271   DESHAWN       TOOGOOD                 KY          90010975915
234326A865B244   JANICE        BUCKANON                KY          90008436086
23432A8A991828   MELINDA       HAMILTON                OK          90013280809
2343328512B931   ELIAS         JIMENEZ                 CA          45094782851
2343335338594B   BRANDON       LEAVELL                 KY          90012883533
2343346934B281   YOLANDA       SALVADOR                NE          90007504693
2343362485B271   MILDRED       HIGGS                   KY          90014676248
2343375249184B   JEREMY        BEVINS                  OK          21001287524
23433955A72B32   PENA          JERRY                   CO          90008189550
23434399272B42   MICHAEL       DAVIS                   CO          90014683992
2343458885715B   JULIO         PORRAS PENA             VA          81071425888
23434769A54191   KATY          TRUJILLO                OR          90000827690
2343487249794B   BELINDA       THOMAS                  TX          90007378724
23434A39272B32   MARESA        PENA                    CO          33029140392
23435571672B88   RALPH         SALAZAR                 CO          90010535716
2343567174B281   JESUS         RODRIGUEZ               NE          90013946717
2343593789136B   JACIE         KICK                    KS          90013719378
23435A51987B69   DENIKA        SMITH                   AR          90011000519
23436134A72447   JAIME         SMITH                   PA          90012651340
2343738645B271   KEISHAUNDR    WRIGHT                  KY          68015333864
23437A8855B161   ANGELA        SHAVERS                 AR          90013480885
2343858925B232   KRISHNA       GURUNG                  KY          90009805892
23438A52191828   JAMEKA        KIMBLE                  OK          90011950521
2343B68A64B281   DANA          ALEXANDER               NE          90013766806
23441644A47952   DENISE        HORTON                  AR          24084336440
23442325A31631   ALFONSO       GOMEZ                   KS          90008423250
23442754472B88   JUANA         CARDONA                 CO          33052937544
2344285819136B   SUSAN         SEARS                   KS          90011448581
23442A9A74B261   JAMES         PETERSON                NE          90012470907
2344321445B161   TERESA        HOLMES                  AR          23040512144
23443A13355957   REBECCA       RUELAS                  CA          90012950133
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234442A179136B   SHARI        HUHO                     KS          90009362017
2344445925B571   JOSEPH       MARTINEZ                 NM          35087894592
2344533AA91541   9154074220   HUERTA                   TX          75052303300
23445611A72B42   LUIS         GOMEZ                    CO          90014696110
23445A2584B588   PETRA        LOZANO                   OK          90013780258
23446629A31453   JESSICA      MILLER                   MO          90014106290
2344691995B271   STACEY       RALEY                    KY          90010109199
23446A12A72B32   VALERIE      BOHLING                  CO          33079150120
23446A66672B88   TIFFANY      STAHL                    CO          33068010666
23446A8119794B   STEPHANIE    SHEPARD                  TX          74035650811
2344731A95B271   YULI         SIN                      KY          90006503109
2344752A971925   ROSEMARIE    QUINTANA                 CO          90014895209
23447A2685B232   KARISSA      MILTON                   KY          90014630268
23448588772B42   KENNETH      TAYLOR                   CO          90013065887
234488A6A91541   MICHELLE     REYES                    TX          75057478060
2344919144B261   MICHELLE     BOOTH                    NE          27074211914
2344979374B588   CARLOS       ALMARAZ                  OK          21510337937
2344B32574B281   ROBERTA      MACKE                    IA          27076453257
2344B357672B88   MANUEL       ROMERO                   CO          90013683576
2344B8A8A8594B   ANTHONY      BUTCHER                  KY          67005098080
23451A77951369   SARA         LEIGH                    OH          90010640779
23452A45872B88   CHRISTIAN    LOPEZ                    CO          90014850458
23453A46591522   IVAN         ALFARO                   TX          90005490465
2345424997B471   ABEL         FUENTES                  NC          90004572499
2345426564B281   JULIO        ESPINAL                  IA          27077512656
23454A93157531   MARK         KEOPLER                  NM          90005940931
2345511289136B   SILVIA       MARIN                    KS          90011331128
23455136187B87   ERIC         WRIGHT                   AR          23041801361
2345523AA91522   CLAUDIA      MARQUEZ                  TX          75024022300
23455271A72B88   EDWIN        ARDOIN                   CO          90015162710
2345565A691828   LISA         GARRETT                  OK          90008196506
2345572A355957   CLIFFORD     THOMPSON                 CA          90000397203
2345586815B161   MARRY        MOORE                    AR          90014368681
23455A8799155B   MATHEW       JUNKER                   TX          90010410879
2345629154B261   SARAH        GOCHANOUR                NE          27043132915
2345667894B281   MADONNA      ATTIA                    NE          90013946789
2345676614B281   JEAN         NORDSTROM                NE          90013987661
2345717325B167   WILMA        JOHNSON                  AR          23032941732
2345727129794B   SANDY        IRVINE                   TX          90013502712
2345741A891828   DANIEL       GRISMORD                 OK          90013824108
2345751839794B   ARNULFO      VASQUEZ                  TX          90015115183
23458526A91541   MICHELLE     SANCHEZ                  TX          75095275260
23458899A51369   JAMES        JONES II                 OH          66011298990
234589A792B27B   ANDREA       ERVIN                    DC          90002759079
23459552872B88   LUIS         GONZALEZ AMAYA           CO          33016475528
2345B357672B88   MANUEL       ROMERO                   CO          90013683576
2345B72735B531   JOSHUA       ARMSTEAD                 NM          35041297273
2345B821191522   PETRINA      WILLIAMS                 TX          90009048211
2346123812B931   DORA         SANTOS                   CA          90014902381
2346124915B571   ISRAEL       GRANILLO                 NM          90009662491
2346153A49794B   AMANDA       ATKINSON                 TX          90013545304
2346169A391528   IVAN         JUAREZ                   TX          75002186903
2346247154B281   CHARLEAN     SPAVAK                   NE          90015034715
234637A875B161   DECHAUNTA    KENDRICK                 AR          90009177087
234645A3185932   CHRISTINA    SPOHN                    KY          90012475031
2346494472B86B   DANA         BRENCHLEY                ID          42057829447
2346496439136B   RHONDA       RANN                     KS          29048929643
23464A4495B571   ALBERTO      CARRASCO                 NM          90007100449
2346572A94B281   MINERVA      GARCIA                   NE          90013947209
2346578712B931   KARA         MALDONADO                CA          90009867871
23465A5755B161   KEVIN        WRIGHT                   AR          23025670575
23466572A8B17B   CODY         FRANCE                   UT          31096965720
2346675317B449   SUE          RAMSEY                   SC          11056757531
23466A2685B232   KARISSA      MILTON                   KY          90014630268
2346723812B931   DORA         SANTOS                   CA          90014902381
234679A992B27B   GUILLERMO    ESCOBAR                  DC          90000429099
2346861519794B   ARON         CHAVEZ                   TX          74044676151
2346875664B588   CONI         D LEON                   OK          90002527566
23469245A5B161   LASHAWNA     WILSON                   AR          90010762450
2346934749184B   MARTIN       SOMERVILLE               OK          21033313474
2346962735B161   JAMES        PRITCHETT                AR          90013856273
2346972464B281   WANDA        EDDY                     NE          27086657246
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234698A824B588   LEONARD       HOOKS                   OK          90014838082
23469A13172B42   ALEXANDER     KOEHLER JR              CO          90010770131
2346B198291542   DELIA         BARRAZA                 TX          90009371982
2346B4A8172B88   MELISSA       GIEBENRATH              CO          90013934081
2346B53665B571   ARIADNE       MONTIEL                 NM          90009025366
2346B54A85B333   SANDRA        DICKSON                 OR          90009745408
2346B85199184B   JORGE         PEREZ                   OK          90008718519
2347135545B571   CHRISTOPHER   BECK                    NM          90010413554
23471476A91522   CLAUDIA       IRIGOYEN                TX          75064204760
23471A6579136B   MARILUZ       MEJIA                   KS          90010690657
23472159172B25   MERRY         CASALES                 CO          90010741591
2347259384B281   PATRICIA      GINDULIS                NE          27014725938
2347289629155B   KARINA        HINOJOS                 TX          90011238962
23472949A9198B   JESSICA       LOCKLEAR                NC          90011609490
23472A9A18594B   ISHEKA        BERRIOS                 KY          67026150901
23473186572B32   YOLANDA       MELENDEZ                CO          33056741865
234731A445B271   CLARENCE      MCELROY                 KY          90014631044
23473527672B88   MONITA        NESHONI                 CO          90013425276
2347361519794B   ARON          CHAVEZ                  TX          74044676151
23473A74A9136B   SHEILA        RICHARD                 MO          90008400740
2347427367B449   NELIDA        GARCIA                  NC          90013512736
2347431254795B   DAVID         SIFUENTES               AR          90001763125
2347458765B531   ERIKA         HOLGUIN-BARRAZA         NM          90003255876
2347484157B449   JESSICA       WOOLARD                 NC          90013528415
23474A6944B281   RAFAEL        RUIZ                    NE          90013370694
234752A147B449   SHAMKEKA      SIMPSON                 NC          90013002014
2347596875B271   APRIL         BOLTON                  KY          90014769687
23475999572B42   JUSTIN        PORTER                  CO          90010819995
234761A6172B42   JAMES         GASPARD                 CO          33093711061
2347644AA5B271   JOSE          SALAS                   KY          90011904400
23476A1479155B   MARIBEL       GUERRERO                TX          90001080147
2347718394B261   HOPE          HAINES                  NE          27081291839
23477A98591522   MARIA         CABRAL                  TX          90013080985
2347881635B531   NADINE        CHAVEZ                  NM          90009488163
23479322572B42   CHET          NULES                   CO          90010183225
2347947A872B42   CHET          NULES                   CO          90010184708
23479527672B88   MONITA        NESHONI                 CO          90013425276
2347BA9895B232   HEATHER       BROWN                   KY          68070810989
2348118595B271   TAMMY         DICKEY                  KY          90008951859
2348179874B281   NICOLE        DOVE                    NE          27070037987
234819A847B449   BRENDA        CHIPMAN                 NC          90011869084
2348233199794B   DIANE         WILLIAMS                TX          90013153319
2348252277B471   HUGO          GARCIA                  NC          90003065227
234827A8A57172   HECTOR        FLORES                  VA          90009917080
2348281679794B   JOSE          ARRIAGA MERCED          TX          90011358167
2348325115B571   FRANK         SANCHEZ                 NM          35007322511
234833A5231631   AMANDA        WILSON                  KS          90000183052
2348346799189B   AMBER         CLEVELAND               OK          90007064679
234838A829794B   JOSE          CONTRERAS               TX          90006858082
23484258772B88   MONICA        LOPEZ                   CO          90008052587
23484726672B32   MICHAEL       JACKSON                 CO          90009937266
2348492335B271   RICO          WOODRUFF                KY          90008499233
23484991372B42   THERESA       ALARCON                 CO          90010319913
23485772572B32   ASDRIEL       BAUTISTA                CO          33087087725
2348648254B281   SHERRY        BARTLETT                IA          90013344825
234868A649184B   CHARLYNN      CLAYTON                 OK          90001318064
234869A626193B   BRENDA        GAXIOLA                 CA          90014389062
234872A434B281   SALVADOR      ZARA-CARBAJAL           NE          27043442043
2348798335B571   REGINO        LAZCANO                 NM          90008439833
2348818669189B   KRISTINA      GRISMORE                OK          90001611866
2348849272B931   PAULINA       AYALA                   CA          90009814927
2348969749794B   MARCELINO     GARCIA                  TX          90000536974
234897A1191522   TOMAS         MORALES                 TX          75016097011
2348B29624B261   CHRISTINA     CASPER                  NE          27025122962
2348B72965B271   SHAWN         ZOLECKI                 KY          90012947296
2348B746172B42   TYRONE        SABALA                  CO          90010917461
2349132518B17B   GEORGETTE     BEVAN                   UT          31069583251
23491A92A2B931   ANGEL         BARRIOS                 CA          90014490920
2349231319794B   JOSE          HERNANDEZ               TX          90002163131
2349269665B232   ANGELA        LOGSDON                 KY          90011026966
23492A25541245   MARSHA        OSBORNE                 PA          90014160255
23492A78584364   LCORIUS       JONSON                  SC          90009230785
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23493356872B32   TED             ALEGRIA               CO          33072433568
2349364A157531   STEVEN          GALLEGOS              NM          90012996401
23493A96263643   RICK            HARRIS                MO          27510990962
23494644A72B42   MENGESHA        TIRUNEH               CO          90013046440
2349478619136B   SANDRA          KNIGHT                KS          90012287861
2349495A74795B   DANA            HINKLE                AR          90011059507
23495917172B32   FELIPE          FERNANDEZ             CO          33077729171
2349591999189B   SHEKINA         JOHNSON               OK          90014739199
2349688595B571   RODOLFO         TRILLO                NM          35040748859
23497633272B42   JOSHUA          FLETCHER              CO          90010376332
2349794234B58B   THAT            GUY                   OK          90012389423
23498A82772B88   LUCIA           ESCORCIA              CO          90002590827
23498AA264B588   DAYSHA          CONNER                OK          90013010026
2349926A39794B   MICAH           PULLEN                TX          90010502603
23499527272B88   TIMOTHY         HALL                  CO          33047775272
2349B4A9787B87   RENDY           NELSON                AR          23049594097
2349BA45A7B471   JOAQUIN         BONILLA               NC          90010820450
2349BA8725B232   WILLIAM         FRUCHTENICHT          KY          68055070872
234B132254B588   JOLAN           AUSTIN                OK          90011743225
234B1433685639   MARLA           FLORES                NJ          90001584336
234B1A9557B449   TIMARKUS        CORNWELL              NC          90013060955
234B2157A4B261   GRACIELA        HERNANDEZ             NE          90004361570
234B233515B232   FELICIA         LANDS                 KY          90008563351
234B2578551333   JOE             SEILER                OH          90011875785
234B3145572B32   COREY           PORTER                CO          90012981455
234B341475B167   KOBA            HIKMAT                AR          90007964147
234B3524572B88   HOLLY           WILSON                CO          90013425245
234B359A755957   VERA            MEDINA REYNA          CA          48043795907
234B3836791522   JUSTEN          LEE                   TX          75095848367
234B38A199184B   LAURIE          DELK                  OK          90009578019
234B433769155B   PAULINA         ARCINIEGA             TX          90014543376
234B451A272447   KRISTY          LARGE                 PA          90007985102
234B469A491828   JOSE            DURAN                 OK          90008996904
234B5272572B32   NICOLE          RICE                  CO          90013292725
234B542599155B   MARTHA          ALEGRE                TX          90015054259
234B5489A4B281   MICHAEL         EISELE                NE          27058084890
234B584A47B449   YANNETH         ROMERO                NC          90002048404
234B6282191541   MANUEL          GUERRERO              TX          90007372821
234B6319391528   JUAN            VASQUEZ               TX          75017903193
234B637539794B   DONALD          WILSON                TX          90007893753
234B657327B449   ROSALIND        ROBINSON              NC          11018285732
234B6611655936   BEATREZ         MARTINEZ              CA          90013656116
234B756615B531   CARLOS          GARZA                 NM          35041055661
234B7742472447   MARK            PORTER                PA          90013257424
234B834957B449   PANCHO          ROSAS                 NC          90015013495
234B8965A41245   TATUM           TATUM                 PA          90012329650
234B933469184B   ROBERT          NEWSOM                OK          90015083346
234B9441491522   GABRIEL         TREJO                 TX          90013704414
234B947947B449   ALIDA           CARDONA               NC          90009204794
234B9515291241   TONY            CORRADINO             GA          90001935152
234B953255B571   YVONNE          JARAMILLO             NM          35079315325
234B99AA691522   SOFIA           CARREON               TX          90007369006
234BB879885847   JAMES           GOODALE               CA          90012668798
234BB91584B281   SHANE           KRZYCKI               NE          27093359158
234BB93912B27B   EDWIN           MELENDEZ              DC          90010839391
234BB974A9155B   PATRICIA        ZUNIGA                TX          90014979740
23511571A71952   SYLVIA          STREET                CO          90013875710
2351168549184B   SONIA           VALLEJO               OK          90009886854
2351169985B271   KRISTINA        PALMER                KY          90013566998
23511818872B32   PAMELA          SEDILLO               CO          33013408188
23511A7652B226   DYVOR           GIBSON                DC          90004510765
2351251AA51365   DEBRA           PEAKE                 OH          90014745100
23512722172B32   RITO BANUELOS   PASILLAS              CO          90006287221
23512A25851369   RUSSELL         DRAKE JR              OH          90011620258
2351321569794B   CHRISLEITH      DEROUEN               TX          90012612156
23513527172B42   REYES           LUJAN                 CO          33095395271
2351368135B571   MARIA           ANDREW                NM          35026166813
2351425282B931   DALIA           YOUASH                CA          45074762528
23514391172B88   DEREK           MCCOY                 CO          90011663911
235145A459184B   MIGUEL          OITEGA                OK          90002605045
2351526154B281   LEOPOLDO        ROSALES CAZARES       NE          90012562615
235154A1151329   CYNTHIA         BRADEN                OH          90001344011
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2351565734B281   VANESSA      MILLER                   NE          90008676573
23515A67531453   TRENTON      PRATT                    MO          27559610675
2351643514B261   DARREN       JOHNSON                  NE          90000494351
2351648A48B145   BRANDON      WALL                     UT          90003234804
2351653259189B   RYAN         DEMETER                  OK          21091805325
235165A5372447   JENNIFER     NEELY                    PA          90014835053
23516878A2B931   MONICKA      KAO                      CA          90014518780
23517719672B42   MARIA        CETEZ                    CO          33040607196
2351812755B571   BARRIENTOS   JOCELYN                  NM          90012951275
2351815814B281   DAVON        JACKSON                  NE          27071431581
23518559572B32   JANETTE      CARDONA                  CO          90013555595
2351865349136B   SAMANTHA     HARRIS                   KS          90014556534
2351873917B471   OCTAVIO      MORALES                  NC          90007637391
2351921335B161   CLEEA        JEFFRIES                 AR          23028812133
2351B22464B261   CELIA        HERNANDEZ                NE          90007752246
2351B263891374   KEVIN        KINCAID                  MO          29041322638
2351B36259794B   JENNIFER     STOVER                   TX          90012093625
2351B422881661   TASHA        SMITH                    MO          90010964228
2351B49129794B   ALICIA       MARTINEZ                 TX          90007344912
2351B78984B588   MARIA        GARCIA                   OK          90014837898
2352138A84B281   IRENE        STARKEVICIUS             NE          27088743808
23521973A9189B   WENDOLYN     HARRIS                   OK          90012649730
23521A8295B232   MARQUITA     TOBIN                    KY          68004280829
2352224699155B   DIANA        YANEZ                    NM          75003722469
23523346972B32   JASON        HILTON                   CO          90012343469
23523458372B88   LORETTA      DE HERK                  CO          90007444583
2352348A17B471   KRAIG        HARRIS                   NC          90008014801
2352388A53192B   ALFRED       BORBOR                   IA          90014258805
23523A59955957   ROBERT       MARIN                    CA          90012840599
23524142A5B232   RYAN         MANNING                  KY          68038411420
2352428399184B   MELODY       HOUSLEY                  OK          21054652839
235244A9491522   LYDIA        RODRIGUES                TX          90014664094
235248A4841245   BRANDY       KLINGER                  PA          90012868048
2352497A65B271   COURNEY      CHAPMAN                  KY          90014609706
235255A7891522   OFELIA       MORENO                   NM          90005835078
2352581A65B571   BRENDA       PUGH                     NM          35064178106
2352622A172447   LESLEE       TENNEY                   PA          90001922201
235271AA141245   JENNIFER     HUNT                     PA          90014161001
23527A7559155B   BRANDON      RIOS                     TX          90001250755
2352842655B232   CLYDE        FEREBEE                  KY          90009464265
2352852584B588   STEPHANIE    MARTIN                   OK          90007605258
2352885199794B   ANTONIO      GUACHIAC                 TX          90014248519
2352975654B281   JOSE         RESENDIZ                 NE          90013947565
2352B27839155B   MONICA       ROSALES                  TX          90015222783
2352B867255957   LOUIS        RAMIREZ                  CA          48064728672
23531353172B42   RAMONA       TERRAZAS                 CO          33042883531
23531A11A5B28B   CANDICE      PAYTON                   KY          68052580110
2353259779189B   MARETTA      BROWN                    OK          21002655977
235325AA872B88   RAMONA       MARTINEZ                 CO          33077315008
23532698572B42   ISABEL       TORRES                   CO          90015486985
23532783A4B281   DAVID        ULRICH                   NE          90011627830
2353279434B588   TRAVIS       PRICHARD                 OK          90008967943
2353284675B571   JUAN         CHAVEZ                   NM          35018598467
2353324A391541   LINDA        ARELLANO                 TX          75076362403
2353341435B232   ROBERT       BROOKS                   KY          90014184143
23533A2937B449   NURIA        ZUNIGA                   NC          90015120293
2353415767B449   KENNETH      FULLERTON                NC          90013911576
23534A32341245   CODY         SHEETS                   PA          90007260323
23534A9A18B15B   JULIANNE     HANKS                    UT          90004090901
2353647268594B   JESSE        BOND                     KY          67046874726
2353659919136B   RYAN         MARLER                   KS          90013735991
235366A377B471   TRACEY       OVERTON                  NC          11065096037
2353681825B271   BRIAN        POWERS                   KY          90012718182
2353685115137B   K            KITCHENS                 OH          90001588511
235372A659155B   NANCY        RIVERA                   TX          90011572065
23537A18431453   MAGGIE       DELTON                   MO          90010850184
235383A792B232   DAVID        HARIS                    DC          90004803079
2353922A74B588   BARBIE       BOWENS                   OK          90010012207
2353957365B531   JAMES        MALDONADO                NM          90006865736
235396A2351369   HONEY        LLOYD                    OH          66016756023
23539A5A72B931   ANGEL        FRISCH                   CA          90014550507
2353B246A55957   LATOYA       MAXWELL                  CA          90013882460
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2353B3A7855931   JUDITH      JOYA                      CA          49063803078
2353B952293757   DOUG        HORNER                    OH          90008569522
2354117115B271   ANGELA      MARTIN                    KY          68017221711
235411A9241245   CODY        LIGGETT                   PA          90014161092
23541A7915B232   EDWARD      PELTIER                   KY          90013940791
235425A7855957   ISREAL      BARREDA                   CA          90015165078
2354299AA91522   GLORIA      DOMINGUEZ                 TX          75092249900
2354343195B232   BRENDA      EVANS                     KY          68034634319
2354344579155B   ANGELA      VILLEGAS                  TX          90011094457
2354377684B281   NANCY       ANDERSON                  NE          90014627768
2354388849189B   CARDELL     JOHNSON                   OK          90008348884
2354467359189B   DEMARCO     GRAYSON                   OK          90008496735
23544A18A72B42   VALERIE     MEASTAS                   CO          33082230180
23545966972B88   VERONICA    CRUZ                      CO          33008499669
2354661168B184   BECKY       GILLIS                    UT          90006446116
2354663764B261   JENNIFER    FUNKHOUSER                NE          27016516376
235469A939189B   SANDRA      BARBER                    OK          21074519093
23546A3A851369   TIMOTHY     MATHIS                    OH          66040110308
23546A5762B931   YOANA       FLORES                    CA          90010680576
23547285A31453   VICTOR      LOPEZ                     MO          27512612850
23547567672B32   VIANEY      QUINTERO                  CO          90012105676
2354789A29136B   BILLIE      TORRES                    KS          29067918902
23547A5762B931   YOANA       FLORES                    CA          90010680576
23548373A3B192   JULIET      AJIBOYE                   DC          90000883730
2354869485B161   BRENT       STONE                     AR          90011976948
23548962A91541   BEATRIZ     CONTRERAS                 TX          75015939620
2354924789184B   STEPHANIE   DUCKETT                   OK          90013412478
23549996A87B87   PAYGO       IVR ACTIVATION            AR          90005049960
23549A8535B271   CARLOS      ALVAREZ-KIRCHE            KY          90013930853
2354B91538594B   MARIA       AMAYA                     KY          67046869153
23551428A91522   WILLIAM     KINDERMAN                 TX          75098804280
23551A1589794B   AMINTA      RODRIGUEZ                 TX          74035990158
23551A45981635   AMIE        COONCE                    MO          90001290459
23552164372B32   LES         KUMFERMAN                 CO          90006401643
23552238A4B588   JESUS       HERNANDIZ                 OK          90011752380
235525A8931631   DELTA       MEADOWS                   KS          22051835089
2355315922B84B   CHELSEA     FRANDSEN                  ID          90009561592
2355333678B17B   JACKIE      FACER                     UT          31021053367
2355335587B471   SHAVONNDA   GASTON                    NC          11020783558
23553A9314B261   DARIAN      GOODWIN                   NE          27083590931
2355415259794B   JONATHAN    WEBB                      TX          90015041525
235542A524B261   KAYE        WAYNE                     NE          27041072052
23554668A31631   JOHN        JACKSON                   KS          90009386680
2355528145B571   ROGER       RAMIREZ                   NM          35005942814
2355537365B271   VICKIE      WATSON                    KY          90007113736
23555544872B88   GABRIEL     GURULE                    CO          90011505448
2355743A372B42   RHONDA      BALLARD                   CO          33004314303
2355748795B271   CARMEN      TAYLOE                    KY          90010984879
235574AA62B27B   AYENEW      WALLE                     DC          81010714006
2355827974B261   LINDA       WOLCOTT                   NE          27088282797
2355828544795B   CHRISTIAN   HUMPHREY                  AR          90010512854
23558A69185938   PARU        VENANCE                   KY          67085380691
23558A9AA91522   ESMERALDA   MARTINEZ                  TX          90003660900
23559346A4B281   APRILL      SCHOENFELDER              NE          27031103460
235597A852B27B   JOSE        SAAVEDRA                  DC          90010277085
23559815A5B531   CHARLENE    GABALDON                  NM          90009468150
2355B145291541   JOSE        LOZANO                    TX          75051981452
2355B96324B281   DANIELLE    SMITH                     NE          90012359632
2356173269794B   ANGELICA    DIAZ                      TX          90010977326
23562A4245B161   GREGORY     BUTLER                    AR          90014680424
235635A655B571   MICHELLE    TSETHLIKAI                NM          35073335065
2356377647B449   KEVIN       LINDON                    NC          90014197764
23564221772B32   CALEB       AMADOR                    CO          90015242217
2356432789184B   BRIAN       KROUCH                    OK          90007223278
2356473A35B271   BRANDI      COFFEY                    KY          90012407303
2356482585B167   JENNIFER    SANCHEZ                   AR          90002738258
2356484824B588   FELIX       WILLIX                    OK          90013928482
235648A859794B   EVERARDO    MARQUEZ                   TX          74063408085
2356546255B167   JANET       MOLODECKI                 AR          23062524625
23565472172B42   COURTNEY    MARTINEZ                  CO          90014424721
2356555679794B   STEVEN      CHANEY                    TX          74077375567
23565A62291522   SONIA       LEYVA                     TX          90014830622
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23565A8145B244   IVORIE       POINTER                  KY          90004490814
23566181272B42   DIANA        LINARES                  CO          90009881812
2356664749155B   JENISA       MEDINA                   TX          90009336474
2356666A35B271   ALLEN        KENNEY                   KY          90012986603
2356718397B449   DESIRE       DANAN                    NC          90006261839
23567AA4455957   MARIO        JIMENEZ                  CA          90012280044
2356814874B588   JESIKA       ANDRADE                  OK          90014301487
23568553472B42   SHEILA       WADE                     CO          90006645534
2356884A731453   JANINE       MCFARLANE                MO          90008098407
23568A81324B55   ISHATA       DEEN                     VA          81041920813
235696A8784341   MICHAEL      CUNNINGHAM               SC          90012866087
23569A1524B281   CRYSTAL      WISE                     NE          90007320152
2356B375751369   LUIS         RODRIGUEZ                OH          90004353757
2356B777672447   BRADLY       WALSH                    PA          90012037776
2356BAAA74B588   AMANDA       FRETZ                    OK          90014680007
2357144159794B   JOSE         TIRADO                   TX          90015064415
23572A81291828   CASSAUNDRA   STEVENSON                OK          90014900812
23572A8989794B   ALFREDO      BACA                     TX          90003040898
2357318239184B   STEVE        EPPERSON                 OK          21073041823
23573183672B32   SHERI        NELSON                   CO          90011521836
2357354724B281   DWAYNE       JOHNSON                  NE          90001165472
2357378545B531   ELODIO       SANDOVAL                 NM          90006877854
2357386945B571   LUIS         DOMINGUEZ RODRIGUEZ      NM          35055008694
2357543189794B   ALEXIS       BERNAL                   TX          90015324318
2357599155B571   HERRERA      ANSELMO                  NM          35080629915
2357672A355957   CLIFFORD     THOMPSON                 CA          90000397203
23576831172B42   MARLENA      MARTINEZ                 CO          33055678311
235774A3A2B84B   NOE          CERVANTES                ID          90002444030
2357797152B27B   KENNETH      GREENE                   DC          90003319715
23577A47697B69   ANDY         PAPINI                   CO          90009880476
2357827149155B   EDUARDO      GARCIA                   TX          90015072714
23578542972B88   JORDIN       VOEGTLIN                 CO          90013425429
235785AA185946   PENNY        RUNION                   KY          90009285001
2357937A872447   NICHOLAS     CLARK                    PA          90013673708
2357941445B531   ANDREW       HUERTA                   NM          90006704144
23579663487B87   CATHY        RICHARDSON               AR          23020116634
2357972284B281   ROBERT       MEYERS                   IA          90012637228
2357B181A81681   DANIELLE     LAWSON                   MO          90001661810
2357B37797B449   MIKE         GOPAL                    NC          90014003779
2357B419455957   ALICIA       MEDINA                   CA          48016584194
2357B79A34B261   BEN          BANDANZA                 NE          27060907903
2357BA8877B471   TREVA        MORRIS                   NC          90009140887
2358115249184B   THOMAS       MCENTIRE                 OK          90003581524
2358138A54B281   BRADLEY      WOODS                    NE          90008393805
2358175419136B   LIZETT       FERNANDEZ                KS          90014337541
2358197369155B   DIANA        ORTEGA                   TX          90004259736
23581A22885938   BJ           WILLIAM                  KY          90005940228
23581A4274B588   CLAUDIA      CERVANTES                OK          21593800427
2358219675B271   TIFFANY      WHITE                    KY          90000161967
2358222699184B   JUSTIN       CRAYTON                  OK          90011072269
235822A3155957   GENARO       LINARES                  CA          90015092031
2358253275B571   JOHN         RUIZ                     NM          90009595327
23582958A31631   SHELBY       PEARSON                  KS          22095809580
2358333417B449   DEBRA        DEATON                   NC          90009583341
2358348879794B   CHRISTINA    RODRIGUEZ                TX          90004364887
2358359AA4B551   ANDREW       MUCHERU                  OK          90007805900
235835A6A5B232   CHARITY      DONAHUE                  KY          90014185060
2358368134B543   JENNIFER     SOTO                     OK          90008856813
2358415282B27B   JUAN         PEREZ                    DC          90004491528
23584417972B88   CORREY       LONGSINE                 CO          90011664179
2358444114795B   TIFFANY      SHELTON                  AR          90006164411
2358491964B588   STACY        COBURN                   OK          21546239196
2358566664B281   MARY         LARAIGA                  NE          27006716666
235861AA855957   CHRIS        FROMME                   CA          90007741008
2358673664B281   BLANCA       ZACARIAS                 NE          90005827366
23586A3355B232   LAKENDRA     LAPRADO                  KY          68054520335
23587418572B32   MARIA        VALDEZ                   CO          33090884185
23587552A72B42   ALEJANDRO    CARDONA                  CO          90005015520
23587A24641245   KAREN        JOHNSON                  PA          90002280246
23587AA369189B   BRITTANY     KESHON                   OK          90015130036
2358838624B588   LUIS         GARCIA                   OK          90014293862
2358897659155B   YURY         TRUJILLO                 TX          90004259765
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2358947A684364   MONIQUE       WASHINTONE              SC          90002244706
2358968899189B   EBONY         TODD                    OK          90011506889
235896A6A5B161   KYRIA         PORCH                   AR          90014186060
2358B17147B449   DANA          JAMES                   NC          90011591714
2358B34A184325   ROBERT        BLOOD                   SC          90011723401
2358B3AA951331   BRENDA        BALLEK                  OH          90014983009
2358B432341245   LARRY         HOOVER                  PA          90014234323
2358B48535B571   ASHLEY        SCHUMERTH               NM          90011114853
2358B58455B531   JOSE MARIA    ARANDA                  NM          90007485845
2358B99A15B232   BRETT         ADKINS                  KY          90010789901
23591567A91528   MARIA         ALVARADO                TX          90005955670
23591A3377B449   ALEJANDRA     RODRIGUEZ               NC          90011740337
23592841472B42   KATRINA       MEADE                   CO          90015548414
2359318417B471   SHARA         SEPHES                  NC          90005881841
23593541A72B32   BRIAN         ARNOLD                  CO          90007865410
235936A1672B88   EROKA         THURMAN                 CO          90003096016
2359371379794B   RAUL          PINEDA                  TX          90011367137
23593A2189136B   JUDI          HOLDEN                  KS          29031230218
2359493A891541   JESSICA       GUEVARA                 TX          90010899308
23594A4864B281   LASHONDA      LUCAS                   NE          27008910486
23594AA846194B   JUAN C        LEON VENEGAS            CA          90014030084
2359557617B449   CANDIDA       MELGARA                 NC          11007505761
2359577999136B   JUANA         SANTOS                  KS          90002267799
23595845972B32   CHRISTOPHER   HERNANDEZ               CO          90013358459
2359594639184B   JINA          KILLOUGH                OK          90015159463
23596275872B88   LUCIA         LOPEZ                   CO          90002242758
235963A349136B   JAMES         COURTNEY                KS          90015093034
23596A5264B588   AMANDA        FINLEY                  OK          21526910526
2359789A67B449   CELIA         HERNANDEZ               NC          90012308906
2359799645B259   CHRISTY       WILSON                  KY          90002899964
2359831619155B   OLGA          KING                    TX          90015223161
2359832982B542   LAMIA         REEDY                   AL          90014873298
2359838A19136B   S             HODGES                  KS          29047773801
2359875A55B571   DOM           DEHERRERA               NM          90005037505
23598958172B88   CHRISTIAN     BARRON                  CO          90012589581
2359936329136B   VERONICA      ROMERO                  KS          90013773632
2359974324B261   DEBRA         BERNAL-SABINO           NE          90003117432
235997A819794B   MICHEAL       GREEN                   TX          74049217081
2359B256A91541   FORTY         FASHO                   TX          75078202560
2359B2A752B86B   ERIKA         ROBINSON                ID          42060052075
2359B31649155B   JANETTE G     KIEMLE                  TX          90015223164
2359B778455957   MARK          GOFF                    CA          90014847784
2359B79A45B271   EDWARD        ELAM                    KY          90014507904
2359BA6A297173   MARISELA      MORALES                 OR          90012240602
235B182A831453   CHARMAINE     MINOR                   MO          90014428208
235B1978231631   KATHERINE     LOWE                    KS          22065509782
235B2454891522   SEELENE       GUTIERREZ               TX          90013114548
235B274374B281   JOSEPH        MAKAYA                  NE          90013947437
235B2769A41245   MICHAEL       KNIGHT                  PA          90012047690
235B293839155B   ROSA          MONTEJANO               TX          90004259383
235B2953A9794B   GUADALUPE     CUENCA                  TX          90014489530
235B3A1479189B   CASSANDRA     CORDREY                 OK          90006800147
235B4373277534   MARIA         FRANCO BARRIOS          NV          90010893732
235B467659184B   TRAVIS        LOZADA                  OK          90011966765
235B4A62961939   SHAWN         BAUMANN                 CA          90001940629
235B535329794B   CHARLES       TOLIVER                 TX          74013453532
235B5743631631   ROXANNA       VENTURA                 KS          90014447436
235B5A3A39136B   MAYRA         GAUNA                   KS          90015300303
235B5A43991528   ARANGO        JUAN JOSE               TX          90004410439
235B6163691542   ROBERT        MURPY                   TX          90004511636
235B652978594B   TARACITA      PEAKE                   KY          90014035297
235B681869189B   DAVID         KING                    OK          90006868186
235B7181691522   GLORIA        MACIAS                  TX          90014091816
235B719169184B   BREANA        NUNLEY                  OK          90015321916
235B728A37B449   NOEL          SALGADO                 NC          11035012803
235B72A2872B88   NAKIA         RASHID                  CO          33009522028
235B8114691541   JUANA         BACA                    TX          90014731146
235B8211181661   NANCY E       LINAN                   MO          29094452111
235B8386872B88   MELODY        HOLLAND                 CO          90011663868
235B8472976B49   KELEY         SORCORAN                CA          90013864729
235B8A3289189B   DAVID         VANDYNE                 OK          21076840328
235B8A53741245   JOHN          PORTOGALLO              PA          90014160537
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235B8A7A591522   ISAAC             VILLARREAL          TX          90003660705
235B9636291541   DIANA             MONTES              TX          90014176362
235B9847272B32   DOUGLAS           THOMAS              CO          90013918472
235B993778594B   NICOLE            HALLETT             KY          67017589377
235BB228131631   ANTOINETTE        MINNIS              KS          90004282281
235BB28829136B   JUAN              TORRES              KS          90013472882
235BB61799184B   MIRNA             CINFUENTES          OK          90014436179
235BB872572447   BETTY             ALLEN               PA          51032358725
235BBA33541245   RAYNELL           FAIRLEY             PA          90014160335
235BBA5A272B88   CANDY             KOPPER              CO          90012630502
235BBA78433126   KARLA             HERNANDEZ           MO          90012520784
2361133476B931   ALEXANDRIA        MORANO              NJ          90014203347
23611A7884B281   OZELLA            FRAZIER             NE          27064980788
23612197572B42   ROMAN             HERNANDEZ           CO          33070211975
23612377A5B271   JUAN              MORALES             KY          90015233770
2361394589136B   DELICIA           GALVAN              KS          90014259458
23613A3729794B   EZEQUIEL          NUNEZ               TX          90012740372
23614188172B32   JUAN              RODRIGUEZ           CO          90001891881
23614262872B42   ANDRE             HERRON              CO          90014652628
236142A2541245   JASMINE           ELLIS               PA          90014652025
236143A7781661   LATOYA            BUCKNER             MO          29038343077
2361446479136B   JORGE             SANDOVAL            KS          90015084647
2361562A25B232   MICHAEL           CEASE               KY          90014186202
2361643494B588   FRANCISCO         VARELA              OK          90011754349
2361661179794B   JUANPABLO         MARTINEZ            TX          90015116117
23616683587B87   MARESHA           WILLIAMS            AR          90005616835
2361716175B271   JUWANA            JONES               KY          90009171617
2361728724B588   MICHAEL           MULLENDORE          OK          90003972872
2361775487B471   MICHAEL           SLAGLE              SC          11011607548
2361792942B232   SANDRA            FLORES              VA          90006019294
23617A1135B167   SANDRA            ASHLEY              AR          90005250113
23618266172B42   MILDRED           PALMER              CO          33085412661
23618A46572B32   RAMON             GUZMAN              CO          90009720465
236192A8591828   SIMON             GARCIA              OK          21047332085
2361958525B531   DENISE            RUBIO               NM          35093815852
2361983388B182   RICK              BRERETON            UT          90004958338
2361999314B281   MELISSA           TIETSORT            IA          27040809931
23619A6278594B   ANGEL             MARTINEZ            KY          90007270627
2361B276172B32   STEVEN            WILLIAMS            CO          90002472761
2361B57A472447   JEFFREY           STEUART             PA          90013835704
2361BAA5641245   JADA              JOHNSONO            PA          51094450056
2362132529155B   MARIA GUADALUPE   BATANCIS            TX          90015223252
2362134A472447   DARLENE           ROSS                PA          51086703404
2362148AA9184B   ELSA              NUNEZ               OK          90011714800
2362169155B232   LAJEWELL          GUEST               KY          90014186915
2362266A487B59   BRITTANY          ROMES               AR          23095386604
2362397819155B   VICTOR            PEREZ               TX          90004259781
2362421729136B   DIANA             TARRACINO           MO          90013702172
2362442849184B   HEATHER           MARTIN              OK          90009574284
23624A5A491541   MARTHA            HERNANDEZ           TX          75010020504
2362521962B931   LASHAWN           DEAN                CA          90010662196
2362533512B27B   DION              MITCHELL            DC          81048753351
23625663A72447   PAULA             FICK                PA          90010646630
2362582785B531   ALISON            JOHNSON             IA          35089918278
2362625635B271   SHAWN             COOGLE              KY          90009892563
23626A37772B32   JUSTIN            SANDERS             CO          90005180377
2362726938B17B   JOHN              MERILL              UT          31030982693
2362733512B27B   DION              MITCHELL            DC          81048753351
2362756819189B   KENDRICK          DAVIS               OK          21074785681
2362829999155B   JUANA             CONTRERAS           TX          75095992999
2362838558594B   LAURIE            ROOP                KY          67010293855
236283A5255957   RAUL RUDY         CANO                CA          48075513052
2362862365B232   JESSICA           ANDREW              KY          90008146236
2362877A672B42   MELANIE           DAVIS               CO          90002187706
2362944129189B   TED               MANORE              OK          90009834412
2362B253451369   PRECIOUS          TEAGUE              OH          66011312534
2362B25735B531   JUDY              MARTINEZ            NM          90005292573
2362B28A291522   FLOR              ARANDA              TX          90014702802
2362BA6A191528   ARTHUR            HAMMEL SR.          TX          75090420601
2363144535B232   KENDRA            HAMPTON             KY          90010954453
23631A9344B588   ROBERT            DANES               OK          90013780934
2363229769794B   STEPHANIE         COLEMAN             TX          90011772976
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23632A2AA5715B   PARRISH         WILLIAM               VA          90005180200
2363323729155B   ALAVARO         RAMIREZ               TX          75094272372
2363366485B531   MARTHA          PADILLA               NM          90000886648
23634A7918B151   RAUL            ORTEGA                UT          31046720791
2363514A655957   MANUAL          VILLARREAL            CA          90004661406
2363526234B588   MARY            MOLINA                OK          90013662623
236354A8941245   DARNELL         KINSEL                PA          90010514089
2363566A19189B   GEORGE          RYAN                  OK          90010776601
2363583275B232   ASHLEY          WILLIAMSON            KY          90014188327
236358A6772B88   AMANDA          STICKLEY              CO          90009268067
2363599357B471   HARVEY          PETTIS                NC          11043239935
23636124A91528   NOEMI           LOPEZ                 TX          90002191240
23636A22431453   ALYSSA          ROLLER                MO          27559590224
23637495772B32   APRIL           RUBIO                 CO          33018024957
236382A849189B   HEATHER         FORSTON               OK          90009562084
23638967A4B261   HEATHER         POPPLETON             NE          27047979670
2363B371372B88   MARIA           NEVAREZ               CO          90013683713
2363B472681661   MIGUEL          ANGEL                 KS          90014784726
2363B62419136B   FAYE            RAY                   MO          90008386241
2363B682831453   T               WALL                  MO          90014096828
2363B6A3572B32   ALEJANDRO       GOMEZ                 CO          33014946035
2364171575B161   ALANA           HOLLMAN               AR          90012747157
2364172565B571   SABRINA         CHAVEZ                NM          90005037256
2364177A19794B   BELEM           ALIA                  TX          90004387701
236419A9A72B27   LESLIE          ROBINSON              CO          90006719090
23642272572B32   NICOLE          RICE                  CO          90013292725
236427A5672447   DANA            LOZANO                PA          90015107056
2364454A172B32   JOLEEN MARRIE   BLAIR                 CO          90007875401
2364588559794B   ESTHER          AGUILAR               TX          90014198855
2364611489155B   LAURA           SOLIS                 TX          75034761148
2364642345B161   TISHA           DYE                   AR          90015354234
2364693672B232   JAMIKA          CLAYBURN              DC          90001709367
23646A7AA5B271   SHAWN           ABEL                  KY          90004160700
23647528A9136B   RAVONNA         MCBRIDE               MO          90010195280
2364769979794B   ALICIA          GARCIA                TX          90012066997
2364799857B449   WINSTON         WITHERS               NC          90013799985
2364817364B281   SHAYLI          LONGMORE              NE          90011631736
2364836917B449   NITA            INGRAM                NC          11052193691
2364861519794B   ARON            CHAVEZ                TX          74044676151
2364936945B167   DENISE          SIMPSON               AR          23034723694
2364946A15715B   JAMES           COLEMAN               VA          90012784601
2364947229136B   ROSARIO         SANCHEZ               KS          90011034722
23649631172B32   JOSE            CASILLAS              CO          33009626311
2364998A14B261   MARISSA         MURRY                 NE          90013739801
2364B362531453   DOTTIE          LEE                   MO          90013963625
2364B56724B588   KIMBERLY        MILLER                OK          90011755672
2365135128B324   NOE             MONTES                SC          90011053512
2365152534B261   KIM             JACKSON               NE          27035525253
236515A7331631   ANGEL           BANUELOS              KS          90015595073
23651717872B42   ERIKA           REGALADO              CO          90011847178
23651A25755957   VENUS           DONAHUE               CA          48064190257
236521A654B588   CASSANDRA       HASKINS               OK          90012031065
2365224A431631   OLGA            MEDNEZ                KS          90013902404
2365274A65B167   HILLARY         BROWNING              AR          23011857406
23653A29972B42   FLORA           MARTINEZ              CO          90010770299
2365418674B281   SANTANA         RODRIGUEZ             NE          90004211867
2365428A172B88   MICHELLE        ESQUIBEL              CO          90004042801
2365432265B342   NATANAEL        LOPEZ-CASTILLO        OR          90004503226
2365465529189B   EMILY           LANFORD               OK          90014126552
2365471863B342   YVONE           WOLVERTON             CO          90000917186
2365495255B571   OLIVIA          THOMPSON              NM          90011079525
2365522175B271   LUIS            LIO ROSALES           KY          90008052217
23655A17131453   AUZANAY         HAYES                 MO          90015400171
2365622A52B931   JUSTIN          MYLAR                 CA          90014612205
23656A71372B88   STEVE           GRIMES                CO          90014660713
23657268A91522   ELGIN           CASTRO                TX          90015112680
23657834372B32   MARIA           JIMENEZ               CO          33006418343
2365792539189B   MELISSA         KINDT                 OK          21076209253
23658542972B32   BRIDGETT        TOLLIVER              CO          33062565429
23659485572B88   MIERE           MBUYI                 CO          90000334855
2365949662B27B   CAMERON         BEAUFORD              DC          90001934966
2365952918433B   HIPOLITO        SILVA                 SC          19014015291
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2365996359184B   CHRISTINA    CRITTENDEN               OK          21050899635
23659966572B42   CHARVARVIA   AROBERBTO                CO          33059699665
2365B28299184B   TABITHA      PARENTI                  OK          90014852829
2365B94A45B232   SUNNY        PAULEY                   KY          68015119404
2366216725B161   SUMMER       DACUS                    AR          23013091672
2366257645715B   OLVIN        ZELAYA                   VA          81073375764
23662A59341245   GABRIELLA    KIPANGA                  PA          90012080593
236631AA891828   MICHAL       KUSMIESKI                OK          90010321008
2366356568594B   SUSAN        BLAKEY                   KY          67015945656
23663945772B42   DANIEL       HOLMES                   CO          90004289457
2366423652B27B   JERRY        JORDAN                   DC          90012442365
2366438A44B261   RUBY         BROWN                    NE          90014873804
2366442262B232   RAYETTE      SILVER                   DC          90004054226
236644A594B588   JUVENAL      LONGORIA                 OK          90013604059
2366455565B232   JANIE        MARTIN                   KY          90008845556
2366496A99713B   CASSANDRA    WOOD                     OR          90013459609
23665648A5B571   CHARLES      HILARIO                  NM          90009166480
23665739A4B261   DENISE       DUNCAN                   NE          27096057390
2366574974B281   EUGENIO      MATIAS                   NE          90014107497
23666438A31453   ALEXANDER    WASHINGTON               MO          90014804380
2366677869794B   TANYA        ALBRECHT                 TX          90011217786
23666A7829794B   JULISSA      SALAZAR                  TX          74016070782
2366781535B531   ALEXUS       JOHNSON                  NM          90005648153
236679A1A31453   STACY        ADAMS                    MO          90013839010
2366835269136B   THANG        TUANG                    KS          90012143526
236685A7855957   ISREAL       BARREDA                  CA          90015165078
2366879479379B   JILL         SLAGLE                   OH          90008037947
2366883344B588   JASON        BLEVINS                  OK          21556268334
236693A4151369   KRISTEN      WARREN                   OH          90003233041
2366B293193773   ASHLEY       GRANT                    OH          90005842931
2366B44467B471   MARTHA       BROWN                    NC          90012354446
2366B57433B347   YESINIA      MARTA                    CO          33019445743
2366B974255957   JUANITA      NAVA                     CA          90013199742
2366BA58355957   NAHUM        COTO                     CA          90014780583
23671AA5872B32   BEVERLY      GRANT                    CO          90012630058
2367243288433B   VICTOR       COLIN HERNANDEZ          SC          90014044328
2367262934B261   ARACELI      LAGUNAS                  NE          90012206293
2367266A94B261   ARACELI      LAGUNAS                  NE          90005126609
23672963172B42   JACKIE       MARTINEZ                 CO          90011399631
23672A99772447   GABRIEL      WILSON                   PA          90010020997
2367313519794B   PAMELA       REDICK                   TX          90015361351
2367323187B449   DONNELL      GARDNER                  NC          90014462318
2367333295B531   JERMAINE     HAYWOOD                  NM          90010613329
2367359A19184B   LASHELLZ     KELLUM                   OK          21011695901
236738A1651369   LAKEIYA      JENNINGS                 OH          90009468016
2367391897B449   DONNELL      GARDNER                  NC          11007619189
23673A9415B167   DORIE TAM    SUMMONS                  AR          23058070941
2367443214B261   WILLIAM      PENNER                   IA          27042614321
23674735472B32   JOSE         SIERRA BARRON            CO          33019207354
23674A23A5B161   RICKY        DAVIS                    AR          90011880230
2367527437B471   NICHELLE     PAYTON                   NC          90014682743
2367557515B571   AMANDA       COX                      NM          35098775751
2367564797B449   SHANARIOUS   BURD                     NC          90013136479
2367647345B536   LUIS         MOREJON                  NM          90012144734
236777A1A51325   SERVRO       DE LA CRUZ               OH          66014657010
2367799217B449   RONALD       WATSON                   NC          11050629921
2367858848B168   MICAH        PICKERING                UT          90001795884
236785A3284364   JERRY        POSEY                    SC          90001515032
23679A9959189B   JOSE         MARTINEZ                 OK          90013860995
2367B45435715B   ELSA         ESTRADA                  VA          90007114543
2367B669691541   ESTELA       GARCIA                   TX          90011626696
2367BA84187B59   SHENNETTA    MILLER                   AR          23088030841
2368146A641245   KRISTAL      OKNEFSKI                 PA          90004644606
2368189A17B471   RENEA        BECKWORTH                NC          90014788901
23682373372B88   FELIPE       LOPEZ                    CO          90013683733
23682589A5B161   ARTHUR       WAITS                    AR          90013555890
23682798A4B281   ADAM         KELLY                    NE          90013947980
23683317A91541   CORINA       AGUIRRE                  TX          90011333170
23683A1179184B   AMIE         SIMS                     OK          21037710117
2368426462B27B   JAMES        ADKINSON                 DC          90013942646
2368442995B271   VANESSA      COX                      KY          90012904299
2368496185B571   TERRI        NORTON                   NM          35084079618
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23685472972B88   BRIANA       CREWS                    CO          33040944729
236855A695715B   NOLVIN       GONSALEZ                 VA          90007215069
2368662A34B588   JESSICA      JOHNSON                  OK          90013226203
236868A967B449   MONDA        WILLIAMS                 NC          90011588096
2368695665B571   AMY          SERRANO                  NM          35088629566
23686A94591828   TIMOTHY      LUSTER                   OK          90014040945
2368855399184B   LAURA        LEWIS                    OK          90009315539
2368855442B232   ESTANISLAO   CARDOZA                  DC          90004055544
23688A7825715B   ABIKAR       BASHIR                   VA          90003690782
2368B61469184B   STEVEN       PATTON                   OK          21028176146
2369136965B531   NANCY        SOLIS                    NM          90010613696
2369268342B931   MICHELLE     TETENS                   CA          45002046834
236931A754B588   OMAR         DOMINGUEZ                OK          90013781075
236939A2177523   CRYSTAL      EBNER                    NV          90011749021
23693A7915B271   VIOLET       NOEL                     KY          90014350791
23694292A91374   REBEKAH      BOOSE                    KS          90005822920
23694842A91541   RICARDO      ARVIZU                   TX          90013708420
236948A9291241   JAMES        PAYNE                    GA          90007618092
2369571265B571   ERICK        HENSLEY                  NM          35003397126
2369573392B27B   EUGENE       STEWART                  DC          90003017339
2369573755B167   TAMEKA       FLANIGAN                 AR          90009397375
2369684219794B   JOSE         KUK                      TX          90013958421
23697147A41245   MARIA        DOLORES SAENZ            PA          51080211470
23697718A91541   KATHY        BROOM                    TX          90006937180
23697AA627B449   ARIANA       SMARAGDIS                NC          90015190062
23698156772B32   AUSTIN       MONTOYA                  CO          90005001567
23698487172B42   TAVAREZ      MANUEL                   CO          33058654871
2369877627B471   DASIA        SOWELL                   NC          90007337762
23698817872B88   CAROL        PFLUGER                  CO          33098918178
2369891199155B   LILIA        MARTINEZ                 TX          75031009119
23699A52872B42   STEPHANIE    FLEMMINGS                CO          90009150528
2369B262772B32   ERNEST AND   THERSA MASMAN            CO          33076132627
2369B47375B571   GLENDA       URQUIDI                  NM          35016824737
2369B691A9184B   RAYL         SNYDER                   OK          21018896910
236B1373772447   SCOTT        COFFMAN                  PA          90013313737
236B149839794B   ISABEL       AGUERO                   TX          90006664983
236B1724A91522   ALEJANDRA    MARRERO                  TX          90013237240
236B173947B449   WAYNETTA     JOHNSON                  NC          90007877394
236B221989189B   LOUIS        BOWIE                    OK          21050772198
236B237975B271   ADRIAN       OWENS                    KY          68075093797
236B256695B167   NATISA       BAKER                    AR          90002635669
236B2587291522   BRENDA       RAMOS                    TX          75058075872
236B3169A9184B   DAVID        GOMEZ                    OK          90014181690
236B317492B27B   TARA         GREGG                    DC          81056831749
236B338AA85938   MICHAEL      CASE                     KY          90012153800
236B344A55B167   MELANIE      GILREATH                 AR          23090524405
236B34A5A4B261   DARLENE      BULLOCK                  NE          90013674050
236B35A9A9794B   MAURO        CASTILLO                 TX          90007885090
236B385917B458   NASTASSKIA   WATSON                   NC          90005148591
236B398463B351   JOSH         PATRICK                  CO          90012449846
236B3A2245B232   PEDRO        PEREZ                    KY          68063200224
236B4336731433   CRYSTAL      SNELLMAN                 MO          90009683367
236B439324B261   JOSE         CALDERON                 NE          27087883932
236B453287B471   NATHANIEL    CARTER                   NC          90008095328
236B4576191828   MIKKI        VANHORN                  OK          90009585761
236B477A855957   RONITA       GILLIAM                  CA          48081997708
236B5132741245   DERRICK      INGRAM                   PA          90014161327
236B5857531453   RENAE        NEWTON                   MO          90014588575
236B585917B458   NASTASSKIA   WATSON                   NC          90005148591
236B651275B571   KAMIYA       YOUNG                    NM          90012715127
236B6531A9155B   JAVIER       MELERO                   TX          75083685310
236B658A88594B   ANGIE        KIRK                     KY          90007915808
236B661854B261   DUANE        GONKA                    NE          27085516185
236B663485B531   ABIGAIL      RODRIGEZ                 NM          90011946348
236B736547B449   JUSTIN       DAVIS                    NC          90014583654
236B7458A7B471   LATOYA       JOHNSON                  NC          90014844580
236B85A985B571   AMBER        ADKINS                   NM          35075465098
236B865A75B161   TORIS        HODGES                   AR          90010406507
236B8862991522   MIGUEL       CORRAL                   TX          90013108629
236B8951872B32   SILVIA       C. HERNANDEZ             CO          33083799518
236B89A9247952   DERA         MCGLUGRITCH              AR          24018369092
236B8A6314B261   DON          PANKIEVICZ JR            NE          27020350631
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236B9239391528   JUAN             PINEDO               TX          75090582393
236B9317A72B21   DUSTIN           ATWOOD               CO          90014423170
236B9412476B67   ARTHUR           PUGH                 CA          90001164124
236B9444285998   AMANDA           CRUISE               KY          90006354442
236B9496285938   RACHEL           CLARK                KY          67009964962
236B955949136B   DANIEL           JONES                KS          90013455594
236B9841472B32   SAYEGH           RICHARD/JORGE        CO          33013558414
236B9941472B88   DENITA           ROJAS                CO          90013629414
236B9A4885B271   SHEILA           SMITH                KY          68016480488
236BB39119136B   AIDE             BUSTILLOS            KS          90015193911
236BB42935B161   TONYA            MORRISON             AR          90014704293
236BB75394B281   KATHY            NICE                 NE          27097717539
236BB78247B471   MICHAEL          SHEARN               NC          90013347824
236BB857A72B32   DOROTEO          RUIZ                 CO          90014588570
2371111218B17B   JOSEPH           RUBIO                UT          31030061121
2371138A431453   CARLOS           YOUNG                MO          27566633804
2371146359189B   DIANE            HAYNES               OK          21088334635
2371146827B471   GALINDO          ANSELMO              NC          90013224682
2371162114B231   CARLOS           VELASQUEZ            NE          90013296211
2371165AA91541   BARRET           BRANSON              CO          75035326500
237119A7372B88   ALEJANDRO        GONZALEZ             CO          90005599073
2371242292B841   LEANNE           VAN LONE             ID          90001574229
23712881472B88   MARCOS           ARTEAGA              CO          90012138814
23713911772B31   LOLA             POSTON               CO          33046759117
2371437182B27B   DEONTE           MILL                 DC          90011213718
2371441274B261   DAVID            BURGMEYER            NE          27046424127
2371538A99184B   BARBARA          DEVILLE              OK          90002983809
23715A46572447   PATRICIA         SMITH-SEMPREVIVO     PA          90014700465
2371693989794B   FLAVIO           UTUY                 TX          90013929398
2371694575B244   RICHIE           DUNLAP               KY          68040929457
2371758719136B   LUIS             GRACIA               KS          29085255871
23718226187B87   LATOYA           DAVIS                AR          23047252261
23718258172B42   BRANDON          JONES                CO          90009712581
2371849A691528   JOSE             ESCARENO             TX          90006324906
23718A8235B232   SANITA           HUGULEY              KY          90007860823
23718AAA17B449   SASHA            COOK                 NC          11047960001
2371926147B449   JERMAINE         BOWMAN               NC          90010402614
2371979494B261   LILJOY           DAVIS                NE          27085557949
2371998584B281   PABLO            TOBAR VERA           NE          90012159858
23721A5A25B271   HALEY            WILLETT              KY          90014780502
2372227974B588   RHONDA           LAWRENCE             OK          90013662797
2372232428B17B   AILINE           PATETEFA             UT          31091163242
2372247719189B   NATHANIEL        COWART               OK          90009994771
2372276677B471   ORANE            PHILLIPS             NC          90003487667
2372279A75B571   LETICIA          COBOS                NM          90000977907
23723497972B88   JOSEPH URIOSTE   RACHEL ULIBARRI      CO          90013324979
237238A9391541   SANCHEZ          PAULA                TX          90005348093
23723A48155957   AMBER            JONES                CA          48010050481
23724294A72B32   NICOLE           LEO                  CO          90008092940
23725146A41245   TEREZ            RUSSELL              PA          90013591460
2372555129794B   NORMA            GONZALES             TX          90006825512
2372635277B449   KIM              CURL                 NC          90006443527
237263AA684353   MONIQUE          ANCRUM               SC          90010503006
237267A6991828   CHARLES          HENSON               OK          21036217069
23727A2129155B   LUPE             REYES                TX          90004260212
23727A59372B42   GUADALUPE        ARROYO               CO          33051960593
2372862469189B   GLORIA           BROTHERS             OK          21013476246
2372896A491828   CARLOS           LOPEZ                OK          90003349604
23729553472B42   SHEILA           WADE                 CO          90006645534
2372B1AA572B32   BRANDI           TRIGG                CO          90014161005
2372B67A54B281   WALTER           MARAVILLA            NE          90008396705
2372B714155957   STEPHANIE        FAGUNDES             CA          48092737141
2372B88A35715B   GERMAN           CASTRO               VA          90012698803
2372BA47872B88   KATHY            SAYLER               CO          90013590478
2372BAA2A91541   CORDOVA          BRENDA               TX          90003830020
2373145849794B   JUAN             RUIZ                 TX          90013764584
2373175655B571   LINDA            MADRID               NM          90008627565
23732945A4B261   WALLESHA         HUBBARD              NE          27076349450
2373294A491541   ALAN             CARRILLO             TX          90014629404
2373297545B571   COREY            BINGHAM              NM          90011079754
237333A177B449   BILLY            HELMS                NC          90000603017
2373389A54B588   RENATO           ESTRADA              OK          90010248905
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23733A36A55957   JEFFREY       FLETCHER                CA          48042190360
23733A4245B271   STEPHANIE     ADAMS                   KY          90009530424
2373498629155B   FELIPE        PALACIOS                TX          90010719862
23734A73572447   KRISTIE       ERWIN                   PA          90012310735
2373523235B167   KATRINA       BELL                    AR          90008332323
2373525469189B   LORI          DAVIS                   OK          90014852546
2373536935B271   CRYSTAL       FIELDS                  KY          90004583693
2373564768B17B   LYNSEY        BENSON                  UT          90007616476
23735825372B88   ELIZABETH     AVILA                   CO          90010278253
23735882A55957   DAN           SMITH                   CA          90011858820
2373681A791541   YOLANDA       CHERRY                  TX          90013778107
237368A739794B   ESTUARDO      FUENTES                 TX          90011148073
23736A4379794B   RICARDO       SAENZ                   TX          90014770437
2373798A95B571   JOSE          RAMOS HERNANDEZ         NM          90011079809
23737A9724795B   PERFECTO      DE LA CRUZ              AR          25024010972
2373869669189B   EFREN         LEDEZMA-SANCHEZ         OK          21090186966
2373885645B161   CHRISTOPHER   SMITH                   AR          90014208564
237392A2387B87   BERRY         RICE JR.                AR          23065272023
2373935535B247   BRANDON       KRATZ                   KY          90007663553
23739374672B88   JOSE          BALDERRAMA              CO          90013683746
2373942A172B32   JENNIFER      LOPEZ                   CO          33008444201
2373953997B449   PRINCESS      SIMMONS                 NC          11078615399
2373B339772447   VICTORIA      LASSITER                PA          90012373397
2373B42359794B   CARLA         SALAZAR                 TX          90009994235
2373B487572B55   TINA          WAUHOP                  CO          90015164875
2373B65895B167   LYNN          CORLEY                  AR          23062176589
2373B78119184B   JESSICA       TURNER                  OK          90014227811
2373BA48791828   RUBEN         MARTINEZ RUIZ           OK          21080440487
237411A5872B42   STEPHANIE     WITHERSPOON             CO          90011371058
23741538A6B931   JOSE LUIS     CABALLERO               NJ          90015115380
23741854572B88   CRISTINA      FINLEY                  CO          90014798545
23742A96A4B281   PAYGO         IVR ACTIVATION          IA          90011780960
237437A2591828   KRUZ          MILLER                  OK          90007507025
2374383475B571   ANGEL         WEBB                    NM          35041948347
23743844672B32   PAMPAT        BSATTARI                CO          90012588446
2374386679184B   TENESHA       HUNT                    OK          90014568667
2374389A831453   MARIE         HANCOCK                 MO          90014588908
23743A27991541   OSCAR         FLORES                  TX          90009250279
23743A7497B449   KEITH         WILSON                  NC          90015140749
2374418574B281   EZEQUIEL      SOTO                    NE          90004491857
237442A147B449   SHAMKEKA      SIMPSON                 NC          90013002014
2374465717B449   DARNELL       BRANNON                 NC          11045776571
2374585318B15B   SCOTT         JENSEN                  UT          31082668531
2374625947B471   DETAVIAN      RASHAD                  NC          90015002594
2374698A29136B   MEHGAN        RAE MYERS               KS          90001439802
23747469972B42   BRIAN         GARCIA                  CO          90010224699
237482A569189B   RICHARD       LASH                    OK          21007142056
23748368A71924   L             DEAN                    CO          90006843680
2374922277B471   DONALD        WELCOME                 NC          90000522227
23749656A5B161   JAMIE         BEAM                    AR          90011066560
2374B149472B42   RICHARDSON    TORY                    CO          90010831494
2374B955A55957   CARLOS        LEMAS                   CA          90014929550
23751113172B88   SHONTAI       YEMANE                  CO          90012791131
237513A434B588   DANIEL        ROSALDO                 OK          90013663043
237515A139136B   TIFFANY       ESHNAUR                 KS          29063625013
23751871A72B88   TRACY         PELLETIER               CO          90012858710
2375218514B588   CHARLES       MILLER                  OK          90011761851
2375227484B261   KELLY         BEINS                   NE          27083392748
23752953672B32   JOHN          MORRIS                  CO          90011119536
2375337789794B   RNADY         MAURICIO                TX          90012953778
2375415939155B   LUIS          ROSILES                 TX          75028951593
2375421222B931   RHONDA        SNOW                    CA          45034532122
2375434855B271   ELIZABETH     ALTON                   KY          68051823485
2375462524B281   GUSTAVUS      FRAZIER                 NE          90013676252
2375476877B471   LISA          IVEY                    NC          90009437687
2375479199794B   CHARLOTTE     OBELLA                  TX          90015357919
2375498A255957   JOSUE         MIRELES                 CA          90011429802
2375517615B161   SUSANNA       BOSTIAN                 AR          90012811761
2375551768B16B   DANIEL        SORENSON                UT          31015075176
2375556A45B271   NORMA         DAVIS                   KY          90001795604
237557A2685999   TRACY         VASTINE                 KY          66063287026
23755841587B59   JASMINE       DOLLS                   AR          23032428415
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2375697A99136B   NICK         SANTIAGO                 KS          90013239709
2375726525B271   SHAWN        HURT                     KY          68080912652
2375755737B449   RICHARD      MARQUEZ                  NC          90012305573
237577A3A9794B   BENJAMIN     JIMENEZ                  TX          90012497030
23758575372B42   COURTNAY     OBRIEN                   CO          90013045753
2375897235B531   HEZEKIAH     REYES                    NM          35002279723
2375927892B931   ERIKA        CONTRERAS                CA          90014632789
2375B26662B27B   CARLOS       GALVEZ                   DC          90005372666
2375B31AA4B281   SANDOVAL     JOHN                     NE          27042643100
23762474A8593B   CLAY         HUNDLEY                  KY          90012074740
2376265599184B   JEFF         BARNETT                  OK          21036066559
2376323A772B32   MARIA        RAMIREZ                  CO          90012382307
237632A1972B32   MARIA        HIDALGO                  CO          33009502019
2376451944B261   ALDO         HERNANDEZ                NE          90011815194
2376466317B323   PEDRO        AGUIAR                   VA          81034596631
23764A38555957   BROOKE       LAVINE                   CA          90013980385
2376585795B161   REGINA       ADAIR                    AR          23094508579
23765A27431453   JULIE        REID                     MO          90011350274
2376658895B271   GREG         MILLER                   KY          90015155889
23766679A9155B   LAURA        RODRIGUEZ                TX          90010336790
23766A83872B32   PAUL         PADILLA                  CO          90013780838
2376721679794B   JULIA        MENDEZ                   TX          90001042167
237673A9A41245   AARON        JOHNSON                  PA          90014163090
2376785438B17B   LINDA        GALLEGOS                 UT          31049978543
237683A9541245   JOSUE        CASTILLO                 PA          90014163095
23768A64272447   NICOLE       LANG                     PA          90009340642
23768A9A331631   MAGARITA     IBARRA                   KS          22000690903
237698A525B571   ENITH        HERNANDEZ                NM          90008128052
2376B181447952   FATIMA       JONES                    AR          24016301814
2376B57A44795B   ELODIA       DURAN                    AR          25059465704
2376B81755B232   TESSA        WEISENBERGER             KY          90009318175
23771222672B88   ERIN         BALTAZAR                 CO          90008502226
23771887A61939   JESUS        SANCHEZ                  CA          90014758870
2377211A181661   LAKESHA      SULLIVAN                 KS          90004261101
237728A8172B88   RAMIRO       MARIN                    CO          90012058081
2377293485B161   BIANCA       HALL                     AR          90015289348
23773764172B32   JESSE        PONCE                    CO          90008487641
23773A7679136B   EUGENE       HOLLINSHED               KS          90008900767
2377482AA4B281   WENDKUNI     NIKIENA                  NE          90006158200
23776118287B87   MAKETHIA     SMITH                    AR          23039551182
2377624A19794B   JOSE         CAXAJ                    TX          90011062401
2377631AA31453   PEARL        KERR                     MO          90003133100
2377639249379B   SABRINNA     ROBERTS                  OH          64595733924
2377724A431453   MEHO         DURGUTOVIC               MO          90006702404
23777743972B32   DOUG         DIRK                     CO          90004417439
2377781499184B   TERESA       GAMMILL                  OK          21002228149
2377848699136B   CALIXTRO     PEREZ                    KS          29017884869
23778496787B87   STEVIE       COBB                     AR          23084624967
2377887775B167   BETTY        WOODS                    AR          23087518777
23779276472B42   PATRICIA     ROSAS                    CO          90011582764
2377956A255957   ERNESTINA    RODRIGUEZ                CA          90007585602
2377B21565B161   KATHERINE    VELASCO                  AR          90015222156
2377B292A4B588   MAURIYA      MAXWELL                  OK          90011462920
2377B36845B161   KATHERINE    VELASCO                  AR          90009893684
2377B647672B32   SEAN         LUGENBEEL                CO          90012226476
2377BA8854B588   CLAUDIA      GALINDA                  OK          90011420885
237815A125B167   S            GRIMES                   AR          23008465012
23781998372B88   TONYA        LOPEZ                    CO          33006799983
23782519A9794B   BENJAMIN     OLALDE                   TX          90015225190
2378278872B931   BRANDON      FIELDS                   CA          90014697887
2378327722B931   JYSSICA      LYNN                     CA          90014652772
23783282A7B471   ELSY         HERNANDEZ                NC          90008642820
2378341379189B   TINA         LOGAN                    OK          21089434137
2378397937B449   AIDA         HERNANDEZ                NC          90013319793
237842A5441245   CHARLES      SMITH                    PA          51091482054
2378439A181661   RITA PAOLA   MORALES                  MO          29005333901
2378533785B571   JOSE         GONZALEZ                 NM          90014253378
2378554999794B   ADAN         CABRERA CRUZ             TX          90015225499
23785A76155957   ROCIO        EVANS                    CA          48071920761
2378668619136B   DEVAN        WALTERS                  KS          90013506861
2378669A65B271   DESHAWN      MAGETT                   KY          90012916906
2378683314B588   AUTUMN       DAY                      OK          90011428331
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23786A99A5B571   MARCUS             MARABAL            NM          35039120990
2378778579155B   ANGELICA           MONTELONGO         TX          75056857857
2378865139794B   TOMMY              WELLS              TX          90011026513
23789AA1491828   HAYDEN             ARIZOLA            OK          90008090014
2378B2A189136B   LEE                KINSEY             KS          90008912018
2378B723391541   GILBETO            MONASTERIO         TX          90014897233
2378B84515B936   AMBER              PERRYMAN           WA          90011138451
2379147524B281   DUSTIN             COGLEY             NE          90011634752
2379166232B931   LAURA              JORDAN             CA          45031536623
2379179587B449   TARA               QUINONES           NC          11084007958
2379187419136B   JUAN               TISCARENO          KS          90013028741
237923A5372B88   ARMIDA             FERNANDEZ          CO          33046183053
23793127172B32   SHARON             SCHORZMAN          CO          33004341271
2379399769184B   RENA               ROSE               OK          90008549976
23793AA9455957   SEBASTIAN          HUARACA            CA          90008300094
23794624987B59   TANYA              MILLER             AR          23000466249
2379571A172B32   ELISA              PLATZ              CO          33018327101
23796141172B32   DOROTHY            RUBY               CO          90009751411
23796A87741961   JANE               MORRIS             OH          90013580877
23797A4919189B   OCTAVIO            SERNA              OK          90008560491
2379824A74B261   LAZARO             LARA               NE          27085862407
2379847229794B   JOSE               TUMAX              TX          90008154722
2379918695B232   MARTHA             SILVA              KY          68046231869
23799213A51369   JAMES              ROPER              OH          90003562130
237992A2893773   BELINDA C          JACKSON            OH          90005792028
23799352672B32   MICHILEEN          CHAPMAN            CO          90012113526
237999A395B161   LAMONT             SCOTT              AR          23004119039
2379B391931631   ANNETTE            WOOLDRIDGE         KS          90014913919
2379B437751369   MARILYN            SORIANO            OH          66068594377
2379B512491828   BOBBIE             HAZELWOOD          OK          90010025124
2379B54459136B   BRANDI             SCHAFFER           KS          90011075445
2379B898472447   JAMES              ODONNELL           PA          90012578984
237B1911472B88   PERRY              LEDERBRAND         CO          90008779114
237B2147A91541   SHANNON            HARTFIELD          TX          90013221470
237B2437991541   ERIKA              ESCONTRILLAS       TX          90013174379
237B286277B449   FORREST            KIKER              NC          90012328627
237B3485531631   MARGARITA          PEREDA             KS          90006414855
237B4363791828   DANASHA            MAXEY              OK          21030353637
237B5196653983   NAKEEA             WILLIAMS           OK          90014831966
237B5438172B32   DEBORAH            PAGE               CO          33014204381
237B558114B261   PAUL               HOUSLER            NE          27083765811
237B586155B161   WHITNEY            MCCLAIN            AR          90007078615
237B587A391828   LATOSHA            OSBORNE            OK          90004648703
237B5AA255B271   THERESA            LESLIE             KY          90003430025
237B626234B588   MARY               MOLINA             OK          90013662623
237B627159184B   ROBERT             BAXTER             OK          90014872715
237B63A199189B   MONICA             MARTINEZ           OK          90012183019
237B651945B531   SALLY              LAWSON             NM          35081265194
237B6573131453   LOVIE              WILLIAMS           MO          90014815731
237B6575791522   ANGEL              APPELZOLLER        TX          90015435757
237B671572B931   CHRIS OR KRISTEN   ROCHA              CA          90014627157
237B677389794B   DAGOBERTO          HERNANDEZ          TX          90003877738
237B6A4538594B   ABDULA             DERRICKS           KY          67056150453
237B7383A5B531   PERLA              ORTIZ              NM          90008823830
237B766175B271   NAAMAN             NIEWADOMSKI        KY          68062806617
237B797799794B   JOSUE              NINO               TX          90014029779
237B7AA6872447   ADRIENNE           RESNICK            PA          90003850068
237B8526491541   SHARON             CHITTUM            TX          90013655264
237B886385715B   MARTA              LAINEZ             VA          81017448638
237B891737B471   JOVANNA            DULIN              NC          90000399173
237B916487B449   HECTOR             ROBLERO            NC          90014471648
237B9316A72B88   DARIN              REINKE             CO          90005733160
237B9443691522   CYNTHIA            FABIAN             TX          75096474436
237B951349155B   EDGAR              DURAN              TX          75097585134
237B95A5331631   ABREE              EVANS              KS          90011355053
237BB5A319794B   EVELIA             VASQUEZ            TX          74039335031
237BB66772B27B   JOSEPH             SMITH              DC          81088036677
2381234824B281   EARLENE            RUSH               NE          27049313482
2381317757B471   LINDA              EVANS              NC          90012711775
2381414329189B   SHAWNA             POE                OK          90012441432
238144A7291541   SUSANA             GARCIA             TX          90011984072
23814538372B32   WENDY              WAGNER             CO          33042635383
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23815266A91541   MARTHA      ANAYA                     TX          90015082660
2381593A672B32   LANETTE     OLANDER                   CO          90013389306
2381594672B27B   LATISHA     WILIAMS                   DC          90008449467
23816142687B87   DANYA       LEWIS                     AR          90003391426
2381619779184B   JESSICA     TURNER                    OK          90013881977
238174A3272B32   GLORIA      GARCIA                    CO          33069684032
2381868754B588   LENITO      KING                      OK          90008386875
238187A918594B   STEPHANIE   ALLEN                     KY          67083307091
2381969A172B32   AARON       PROCTOR                   CO          90012026901
2381B95827B471   MEEL        MCDOWELL                  NC          11030109582
23821372172B42   LAYLA       LINEGAR                   CO          90009943721
2382154A572B32   MANUEL      CASTELLAMES               CO          90010505405
23821A52841245   JUSTIN      SCHANZ                    PA          51086680528
2382212715B161   JUAN        LOPEZ-VELASQUEZ           AR          90013581271
23822538A4B588   CIARA       STROZEWSKI                OK          90011765380
23822A4A871932   JAMES       KINDALL                   CO          32048930408
23822A62587B87   JASON       DEBRO                     AR          23009880625
23823444172B88   KARELY      DELAROSA                  CO          90011784441
23823557672B88   MARTHA      CORTES                    CO          90015135576
2382374A431453   DESTINY     STRICKLAND                MO          90013917404
23823868487B87   DEMETRIC    WALKER                    AR          90010908684
2382431A95B271   YULI        SIN                       KY          90006503109
2382465855B167   AMANDA      SCHMIDT                   AR          23063016585
23824691A91528   SAVANNAH    GONZALEZ                  TX          90005976910
2382473258B16B   JEAN        GRASER                    UT          31002657325
2382498A691828   DURENDA     ESTRADA                   OK          90004679806
2382555874B588   AARON       HAMILTON                  OK          90011765587
23825A5A661995   FELIPA      GONZALEZ                  CA          90009470506
238262A695B271   KENNETHA    MOORE                     KY          90009442069
2382649288B15B   CECILIA     BENNETT                   UT          90007754928
23826922472B88   ROLANDO     OSORIO                    CO          33078349224
23826A5492B931   BENNY       RAMIREZ                   CA          90014660549
2382737735B161   ALBERT      WILSON                    AR          23098663773
2382739319136B   CHRISTIAN   THOMAS                    KS          90014413931
23827794672B42   CECAR       GARCIA                    CO          90012907946
2382946439189B   JAMIE       EDILLO                    OK          90009934643
23829475972B32   IVETTE      VILLESCAS                 CO          90011514759
2382957765B531   JAMES       BOWEN                     NM          90006895776
2382987314B592   DEANA       NELSON                    OK          90001718731
2382B51959794B   TONI        RIBIGBE                   TX          90010235195
2382BAA649189B   DENISSE     DUARTE                    OK          21076190064
2382BAAA77B471   SHEILA      ROBINSON                  NC          90014910007
2383194A57B449   JOSE        PINEDA                    NC          90012959405
2383222724B261   BRIDGET     VANDERPOOL                NE          27086402272
2383279775B161   DESREE      MCFERGUSON                AR          23064147977
2383283244B281   CRISTAL     AMARILLAS                 NE          90009288324
2383315919189B   SCOTT       CRAIG                     OK          21098441591
2383358857B471   ALVIN       ROBINSON                  NC          11057115885
2383425534B261   BRADY       JOHNSON                   NE          90013002553
2383453559794B   GABRIEL     CARRASCO                  TX          74028395355
238349A3491522   TOMASA      PULIDO                    NM          75058679034
23834A22893773   SHANTELLE   NEWPORT                   OH          90011290228
2383756739184B   JESSIE      COLLINS                   OK          21009165673
23837784672B88   JUNE        GARCIA                    CO          90009097846
2383859995B531   RICARDO     VALENCIA                  NM          90006895999
23838A93472B88   JEAN        NICKENS                   CO          33067880934
23839146A9189B   MARIA       ORTIZ                     OK          90013861460
23839377A7B471   MATEC       GRAHAM                    NC          90008343770
2383947195B232   SAMANTHA    CRAVENS                   KY          90013754719
23839532A72B32   JOSE        MENDEZ                    CO          33054095320
23839723872B42   DAVID       AVITIA                    CO          90011387238
2383984457B449   CHRISTINE   JONES                     NC          90008648445
23839A35A5B271   ELONDA      WILSON                    KY          68051830350
2383B57765B531   JAMES       BOWEN                     NM          90006895776
2384128839794B   MARY        ARELLANO                  TX          90001692883
23841383172B42   DANIEL      PARR                      CO          90012253831
2384143264B588   JOSE        REVELES                   OK          90013664326
238414A482B27B   IVA         NEWMAN                    DC          90011194048
2384216245B271   THOMAS      THOMPSON                  KY          90006661624
23842A6859184B   MICHAEL     GAMAGE                    OK          90014940685
2384335365B271   LISA        BLANDFORD                 KY          90014223536
2384343644B588   GYANNAH     FLORES                    OK          90013664364
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2384425235B161   NIKKI         LEWIS                   AR          23023312523
2384441115B271   LEROY         FURMAN                  KY          68058994111
23844577472B32   MIGUEL        FRANCO                  CO          90004155774
2384462995B531   ERIC          RADOSEVICH              NM          90011696299
2384478872B931   BRANDON       FIELDS                  CA          90014697887
2384563285B531   PAUL          ARCHULETA               NM          90011696328
2384596759184B   DORIS         RAMIREZ                 OK          90014799675
2384598643B352   ROBERT        KURVINK                 CO          90007809864
2384598A741245   RICHARD       STEWART                 PA          90012629807
23846619772B32   MARY ELLEN    GUZMAN                  CO          33013156197
2384663285B531   PAUL          ARCHULETA               NM          90011696328
2384769A887B59   LAJUANA       JONES                   AR          23092336908
23848213A51369   JAMES         ROPER                   OH          90003562130
23848243672B42   CAROL         MUDGETTE                CO          33058212436
238494A6691828   MARY          BAXLEY                  OK          90011904066
2384975A291528   GEORGE        DE LA ROSA              TX          75093487502
23849984172B32   MARIBEL       GARZA                   CO          90011119841
2384B14184B588   JORGE         MATINEZ                 OK          90014071418
2384B339781661   ALEXANDRA     MARTINEZ                MO          90004643397
2385188714B281   JAY           COLWELL                 IA          90013388871
23851A6655B571   MARICARMEN    LOPEZ                   NM          90011080665
23852333A55957   KYLE          APPLEGATE               CA          90014393330
238538A582B931   SONIA         VALENZUELA              CA          45066308058
238542AA591522   SONIA         ZUNIGA                  TX          90013702005
238544A415B531   CHRISTINE     COTINOLA                NM          35090084041
2385498264B588   MARY          GARRISON                OK          90008439826
238551A6331631   ERICA         NEIL                    KS          90002311063
2385528799794B   XOCHITL       DE LA TORRE             TX          90001502879
2385534399189B   STEPHANIE     SCUGGINS                OK          90008733439
238561A149794B   JOSE MIGUEL   VAZQUEZ SILVA           TX          90014531014
23856384472B88   WANDA         ROWE                    CO          33079883844
2385644814B261   ANNA          SIEGEL                  IA          27052764481
2385746762B249   PHYLLIS       WOODS                   DC          90009414676
238584A415B531   CHRISTINE     COTINOLA                NM          35090084041
2385857559136B   SHERRY        MCFARLAND               KS          29034905755
2385879849184B   ARTURO        HERNANDEZ               OK          90012407984
2385966247B471   DAPHENE       MCINTOSH                NC          90004596624
238596A749794B   SALLY         DELEON                  TX          90007586074
2385B75245B571   NATHIAN       SANCHEZ                 NM          90000427524
2385B8A9491828   KEVIN         MYERS                   OK          90013278094
2386193739794B   ARAZELY       SALAZAR                 TX          90011029373
23861A19331453   JAHBARIE      JEFFERSON               MO          90015170193
2386351117B471   ELUVIA        JUARES                  NC          11035825111
2386368715B161   MESHUNDA      MYLES                   AR          23049796871
2386396A44B261   JOHN          BRANNAN                 IA          90006469604
2386414225B232   PATTY         OSBORNE                 KY          90002681422
238645A1A72447   JILLIAN       BRIGGS                  PA          90000365010
2386467199189B   APRIL         CARROLL                 OK          90001266719
2386646145B531   GUADALUPE     SELMAN                  NM          90011694614
2386746149189B   TEIGHLOR      SCHEULEN                OK          90013094614
2386746295B244   ROBIN         ROSENBARGER             KY          68011444629
2386811369189B   SARAH         VU                      OK          90013241136
23868241672B88   AGUSTIN       SANCHEZ                 CO          90001162416
2386844195B271   CAROL         CRAWFORD-MACK           KY          68085314419
2386845AA4B281   TIFFANY       MACE                    IA          90009094500
2386855959189B   KIM           ALLISON                 OK          90014725595
23868576A87B59   DEBORAH       THOMAS                  AR          23040435760
23868A1A384364   BRANDON       GAILLARD                SC          90009530103
2386935A172B32   ALLEGRA       FIORINO                 CO          33015173501
238732A4291828   CHRISTY       MOLLINGS                OK          90013332042
23874613372B88   BYRON         STRINGFELLOW            CO          90014776133
23874619687B59   ANDREA        DAVIS                   AR          23016776196
2387484745B375   LAURA         DURAN DIAZ              OR          90013458474
2387499762B27B   JOSSELINE     GROBLY                  DC          90009059976
2387499815B571   MARIO         FIERRO                  NM          35033099981
23874AA489155B   REBECA        FRANCO                  TX          90010810048
2387538879184B   MARRY         PERRY                   OK          90010293887
23876633672B21   INCY          SANCHEZ                 CO          33026046336
23876681A4B281   JACK          HUBBARD                 NE          27060396810
2387691462B931   NORBERTO      POZOS-SANTOS            CA          90014709146
2387779AA5B167   BRIGETTE      RHODES                  AR          23075007900
238777A724B588   TAMILLYA      JOHNSON                 OK          90011767072
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23877A97372B42   RITA          DURAN                   CO          33071670973
23878535A91522   MARGARITA     RUVALCABA               TX          90005505350
2387855989794B   LAURA         ESTILL                  TX          90013005598
23879353A91541   GABRIELA      CORONEL                 TX          90012763530
238799A4372447   HALLIE        GILLESPIE               PA          90013289043
238799A522B931   JUSTIN        CONHISER                CA          90014689052
2387B361655957   DOMINGO       PENA                    CA          90009553616
2387B385241245   ADEPITAN      ADEDAMOLA               PA          90014163852
2388119879155B   NORA          MOTA                    TX          90009351987
2388148244B281   DALILA        CORDOBA                 NE          90015134824
2388172929136B   ERIN          MAHAN                   KS          90011077292
23881898772B32   SAWSEN        TAHA                    CO          90013018987
2388272314B261   JUAN          URIBE-PENA              NE          27004037231
23882895172B88   ARTURO        CHAVIRA                 CO          33031758951
2388291334B281   YANETH        OROZCO                  NE          90002519133
238833A825B271   MARY          TAYLOR                  KY          90010123082
2388387174B281   MNOA          DEUW                    NE          90013948717
2388441427B449   FRANCISCO     ZELEDON                 NC          11041374142
2388479699189B   SUSAN         THORNBURG               OK          90015057969
2388558755B531   DANIEL        MARTINEZ                NM          35090095875
23885AA9455957   SEBASTIAN     HUARACA                 CA          90008300094
2388627A155957   LUIS          NUNEZ                   CA          48015552701
238863A3691589   CLAUDIA       MORALES                 TX          90006373036
23887568A33126   NORMA         SILVA                    IL         90014175680
2388822A293724   DION          BARNETTE                OH          90002502202
2388836469184B   ROBERT        JONES                   OK          21067623646
2388869A15B531   LEEANN        KIRBY                   NM          35013776901
2388869A35B271   YD            V                       KY          90005856903
2388897335B232   JENNIFER      WHEELER                 KY          68036199733
23889187487B87   LAWRENCE      ALFORD                  AR          23021241874
23889458572B88   ELISABETH     MONTOYA                 CO          90006014585
2388957684B281   TAYLER        LEHN                    NE          90008565768
2388983749794B   RENE          HERRERA                 TX          90012238374
2388B18695B531   WANDA         GREEN                   NM          90008481869
2388B58975B271   AMANDA        MORTON                  KY          90013205897
2388B5A384B281   CAROL         VASCO                   NE          90012805038
23891285A41245   ARLENE        RICHARDSON              PA          90000972850
238914A5231453   SARWAR        SAEED                   MO          90014924052
23891746A4B588   LUIS          OAXACA                  OK          90012727460
2389188774B281   SHELDON       MCCRAY                  NE          90013948877
2389248844B588   LASHAE        HASTINGS                OK          90008884884
2389344A67B449   YOLANDA       ESPINAL                 NC          90013334406
2389349434B588   STEPHANIE     HORTON                  OK          90013814943
23893A31A9184B   KAREN         ANDERSON                OK          90008550310
2389451A99794B   SHEA LYN      BLOCKER                 TX          74079765109
2389459449155B   ALEJANDRO     AGUIRRE                 TX          75043735944
23894813A91522   DAVID         MORALES                 TX          90013148130
23895252572B32   ROMAN         SANTISTEVAN             CO          33001192525
2389533959794B   NORMA         PABLO                   TX          74090063395
2389534335B271   KORREE        BENNETT                 KY          90012473433
23895A95A91522   IRMA          MORALES                 TX          90015130950
2389685885B531   OSCAR         ALVARADO                NM          90011698588
2389776894B281   CHRISTOPHER   FULTON                  NE          90011637689
2389888645B571   MARK          SODD                    NM          35061598864
23898A2419794B   ALEJANDRO     VASQUEZ                 TX          90013930241
2389968889184B   PATTY         WASHINGTON              OK          90013916888
238998A8791522   RAFAELA       RAMIREZ                 TX          75023558087
23899A6937B449   THOMAS        CHERRY                  NC          11005930693
2389B62259136B   BEATRICE      PONCE                   KS          90009116225
2389B71179794B   ELOISE        KILPATRICK              TX          90014517117
2389B7A415B232   MELISSA       WILSON                  KY          90011127041
2389B82A691522   YOLANDA       CHAVARRIA               TX          90011858206
238B1A8718594B   JAMES         BART                    KY          67046360871
238B2131955957   DONAL         OWENS                   CA          48011091319
238B2533451369   DWAYNE        BASKEERVILLE            OH          90013515334
238B25A385136B   SABRINA       DEATON                  OH          90013775038
238B293317B449   KAMEKA        YOUNG                   NC          90009319331
238B345594B281   JUAN          JIMENEZ                 NE          90011644559
238B354494B588   RACHEL        JONES                   OK          21556225449
238B3627591541   ROSA          BUJANDA                 TX          90013276275
238B36A8A9136B   TASHINA       WRIGHT                  KS          90005366080
238B371714B59B   JACQUELINE    GORDON                  OK          90014417171
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238B3767A41245   ROBERT       JONES III                PA          51088507670
238B388637B471   AGUSTIN      CRUZ                     NC          90014998863
238B3892187B87   OMESKI       JONES                    AR          23068778921
238B389995715B   DONALD       MCCROSKEY                VA          90001838999
238B479A45B271   EDWARD       ELAM                     KY          90014507904
238B5519A4B281   NATALIE      DEW                      NE          90014825190
238B588769189B   DELILAH      FOUNTAIN                 OK          21065438876
238B5929872B32   JO ANN       VARGAS ESPINOZA          CO          33060749298
238B623342B37B   RAUL         RAMIREZ                  CT          90014032334
238B6599831453   CHENISE      MOORE                    MO          90012945998
238B6666372B88   KERRI        DEHERRERA                CO          90003696663
238B6865391541   PAULA        LOPEZ                    TX          90013048653
238B714379794B   PATRICIA     AUSTIN                   TX          90005361437
238B75A2847952   JESSICA      SHIELDS                  OK          24029295028
238B761529189B   TIM          DOBBS                    OK          90014906152
238B7686791522   DORA         MORALES                  TX          75052476867
238B8641572447   RENEE L      BARNES                   PA          90012486415
238B88A879189B   RICHARD      KEYS                     OK          90013208087
238B8A4695B571   MONIGUL      WHITE                    NM          90011580469
238B9192885938   GREGORIO     HERNANDEZ                KY          67050221928
238B9392791828   ARNULFO      ESPARZA                  OK          90012753927
238B994337B449   BRANDON      DYER                     NC          90013679433
238BB27875B232   BRITNEY      WILLIAMS                 KY          90014692787
238BB542691541   ARTURO       RAMOS                    TX          90013095426
239112A572B931   OMAR         MUNOZ                    CA          90014722057
23911796A85938   RICHELLE     CLAY                     KY          90003057960
23911822A72B73   REINA        HERNANDEZ                CO          90007118220
2391223515B167   AMBER        GALLUPPO                 AR          90012642351
2391271958B17B   DAVID        COONS                    UT          31015627195
2391315715B571   LEON         MARTINEZ                 NM          90008631571
23913A2449136B   YENNY        SALAZAR                  KS          90014360244
2391448539189B   MARK         GALVEZ                   OK          90015084853
23914491172B42   ALISHA       SANCHEZ                  CO          33038834911
2391484949136B   NANCY        WILLS                    KS          90010588494
2391534434795B   JENNIFER     RAMIREZ                  AR          90013003443
2391536514B281   AMIE         FARRELL                  IA          90002623651
23916153A72B32   JASMIN       WHISENTON                CO          90014881530
239165A3A91241   MICHEAL      CLARK                    GA          90013335030
23916A29972B42   MARIA        BEJARANO                 CO          33044500299
23916AA5491522   DAVID        GUTIERREZ                TX          90015180054
2391711439184B   KAMERTRA     DANIELS                  OK          90012841143
23917817872B32   JUANITA      RODARTE                  CO          90014928178
23917989A9189B   ROBIN        FISHCER                  OK          90004819890
23918446672B88   DAVID        WASHBURN                 CO          33009384466
2391878619136B   SANDRA       KNIGHT                   KS          90012287861
2391918765B161   KIMBERLY     JONES                    AR          90009731876
239191A5772B88   QUNNELL      NAVE                     CO          33038001057
239195A7A9794B   CHRISTELLA   SAENZ                    TX          74009325070
2391973679794B   ROGELIO      GARCIA                   TX          90004147367
2391982372B27B   MICHELLE     CARTER                   DC          81052898237
2391996526B931   GREG         GIACINI                  NJ          90011829652
2391B15319794B   MICHAEL      RAMIREZ                  TX          90014831531
2391B815372B32   AJ           ARMSTRONG                CO          90011958153
2391B841991528   ANGELINA     CHACON                   TX          90005978419
239212A164B261   LISA CAROL   WERNER                   IA          90014232016
23921685972B88   JORGE        FARIAS                   CO          90005426859
2392372844B281   SHAWNA       EGGERT                   NE          27091677284
23923787172B42   DEBORAH      HICKS-HANCHECK           CO          90012907871
239238AA89136B   TRACY        GOOD                     KS          29015958008
2392442A17B449   DIANA        KENNEDY                  NC          90007364201
2392562A64B588   KEVIN        LEE                      OK          90013996206
2392598112B235   ETHEL        ROBINSON                 DC          81009749811
2392624149184B   CLIFTON      BURRUS                   OK          90013902414
2392752815B232   LAVITA       MCCLAIN                  KY          68007475281
2392755994795B   SAN JUANNA   OSTIGUIN                 AR          90000125599
2392842589136B   NICOLE       MCINTOSH                 KS          29007194258
23928864272B88   TINA         JOHNSON                  CO          90012858642
2392889434B281   BRENDA       MARTINEZ FLORES          NE          90013948943
23928A13291828   MARLEN       GOMEZ MARES              OK          90012770132
23928A9179155B   ARACELI      FLORES                   TX          90003310917
2392919787B449   ANDERSON     JORDAN                   NC          90009731978
2392B123391541   LETICIA      BATISTA                  TX          90010271233
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2392B12369794B   ERIKA         VECERRA                 TX          90015511236
2392B279A91828   TERRY         FITZGERALD              OK          90014772790
2392B72A74B281   THOMAS        VAUGHT                  NE          27089387207
2392B892691522   VERONICA      HATHEWAY                TX          90013288926
2393179849136B   ANITA         COLE                    KS          29015667984
2393182345B271   THEODORE      WEAVER                  KY          90010118234
23931A57272447   KURT          HEPLER                  PA          90009250572
2393224454B281   TAMIKO        COLLIER                 NE          90013352445
2393224775B375   BENJAMIN      MADIGAN                 OR          90012572477
23933362572B27   LUIS          ORTEGA                  CO          33089423625
23933A2167B449   MICHAEL       GONZALES                NC          11057850216
2393424229794B   AMPARITO      BOLES                   TX          90015072422
2393557725B571   JAIME         MOJARRO-SANCHEZ         NM          90000765772
239357A8591522   AGUSTIN       AVILA                   TX          75088447085
2393685A472447   HAROLD        HASLETT                 PA          90012708504
23937426497B4B   JEFFREY       DAVIS                   CO          39055674264
2393746259189B   LASASHA       CASTLEBERRY             OK          90009834625
2393774884B588   FORREST       FREEMAN 111             OK          21559727488
23937758772B32   ROBERTO       ESPARZA                 CO          90013967587
2393796A49136B   WILLAIM       RIVERA                  KS          90001119604
23937A75A5B571   ALEJANDRINA   MOTA                    NM          90009070750
23937A93255957   MARIA         STANLEY                 CA          48013480932
2393864567B449   TUNISHIA      SHAW                    NC          90000876456
2393892689794B   JUAN          MARTINEZ                TX          74021659268
23939A22291541   JESSICA       DELPALACIO              TX          90010480222
23939AA197B422   HARI PRASAD   CHAMLAGAI               NC          90011680019
2393B119A9184B   RANDALL       MILLS                   OK          21055441190
2393B212181661   KIMBERLY      BLACO                   MO          90004652121
2393B25215B161   SAMANTHA      ALLEN                   AR          90006532521
2393B29275B232   TIMOTHY       WILLIAMSON              KY          90012782927
2393B4A1391522   ZARI KARLA    SOLIS                   TX          90014584013
2393B645A72B42   CHRISTOPHER   DAY                     CO          90007466450
2394126794B261   BECKY         COLEMAN                 IA          90014292679
23941A9885B232   MELISSA       NEWTON                  KY          90000460988
2394222747B471   ROLAND        GEAR                    NC          90011902274
239423A3972B42   TIMOTHY       MILLER                  CO          90014843039
2394258A441245   AMBREIA       DOZIER                  PA          90014165804
2394261588B17B   JULIO         OCANO                   UT          90013866158
2394262245B571   LYDELL        BENALLY                 NM          35094926224
239427A1787B87   TOMEKA        FREEMAN                 AR          23034537017
239429A8A91542   NANCY         LOPEZ                   TX          90008009080
23942A7275B271   AARON         ELEY                    KY          90011050727
2394313312B27B   ZABRIA        PROCTOR                 DC          90008991331
23944344572B32   GREGORIO      CAMACHO                 CO          90011133445
23944A6A633677   SHAMEEKA      DANIELS                 NC          90006040606
2394519795B571   ASTRID        CAHUEX                  NM          90008631979
2394521662B931   NOE           MIRAMONTES-ESCOBEDO     CA          90014792166
23945331572B53   JACKLYN       DUVALL                  CO          90005563315
239453A118594B   ALONZO        BURNS                   KY          67046123011
2394547A98B15B   THEARSEA      DUKE                    UT          90002964709
23945581672B32   JOSEPH        LIBERATORE              CO          90014895816
2394561215B531   PAUL          BLEA                    NM          35090116121
23945694372B88   MARGARITA     FLORES                  CO          90006236943
2394579897B449   ANTHONY       LOVE                    NC          90008747989
2394588116196B   JAIME         GARCIA                  CA          90003208811
2394632217B449   MIGUEL        MALDONADO               NC          90011593221
2394721662B931   NOE           MIRAMONTES-ESCOBEDO     CA          90014792166
2394722464B281   DANIEL        METHER                  IA          90013962246
2394785A472447   HAROLD        HASLETT                 PA          90012708504
23947A6A891241   ANRDEA        CAMPBELL                GA          14505190608
23947A99331453   NGUYEN        THUY                    MO          90013270993
2394814927B449   THOMAS        FUNDERBURKE             NC          90009241492
239483A919136B   LIZ           DICKINSON               KS          90014443091
23948828672B88   ROSA          CANO                    CO          90009148286
23948A4334B281   MARIS         PACHECO                 NE          27034900433
23948A55147952   ROBERT        ROBBINS                 AR          24072430551
2394921662B931   NOE           MIRAMONTES-ESCOBEDO     CA          90014792166
2394937755B161   KUERTON       HARRIS                  AR          90014293775
2394955494B261   THOMAS        PALACIO                 NE          90013965549
2394985459794B   OSCAR         HERNANDEZ               TX          90004838545
2394B35A59189B   YHACOODAIL    REZZAQ                  OK          90014403505
2394B81A35B535   MARTIN        NEVAREZ                 NM          90014838103
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2395182269189B   SAMANTHA     SMITH                    OK          90012918226
23952138972B32   TREVOR       SELKIRK                  CO          33020161389
23952233A72B42   NICOLE       PICASO                   CO          33059482330
2395335842B931   OLIVIA       LIME                     CA          90014793584
2395436259794B   JENNIFER     STOVER                   TX          90012093625
2395437892B931   CONNIE       CASA                     CA          90014793789
239544A9681661   LINDA        STRAMEL                  MO          29040074096
23954518376B21   ISABEL       GARCIA                   CA          90010845183
2395476847B449   LAKEISHA     HILL                     NC          90005297684
239557A9285892   ERIKA        CRUZ                     CA          46062017092
23955A4232242B   EREIDA       ANTONIO                   IL         90008790423
23955A7735715B   ARNULFO      RIVERA                   VA          90005900773
23955AA849136B   DAVIAN       MORRIS                   KS          90011890084
23956968A2B931   JAMES        REYES                    CA          90006469680
2395699445B271   BRITTANI     HART                     KY          68091859944
2395716615B232   DONALD       THRONE                   KY          68040101661
239571A199184B   MATTHEW      WORSLEY                  OK          90012321019
2395738A457588   RAMON        FLORE                    NM          35504203804
2395743532B27B   SIRETA       MAXEY                    DC          90008804353
23957748672B88   LEWIS        JOANNE                   CO          90009707486
23958547A72B42   JESSICA      ALLEN                    CO          90008645470
23958815572B32   DAVID        KING                     CO          90009228155
23959548772B32   BRAD         BEARDSLEY                CO          90002015487
2395987123364B   TIFFNEY      WILLIAMS                 NC          12009628712
2395B186372B32   JACQUELINE   ROMERO                   CO          33074521863
2395B2A2A55957   KATHERINE    MIZE                     CA          90002892020
2395B55A35B161   FREDY        MANDOZA                  AR          90008745503
2396152592B931   MICHELLE     SIZELOVE                 CA          90005305259
2396192354B261   HECTOR       HUGO                     NE          90014739235
239621A5155957   MAURICIO     SALDANA                  CA          48088361051
23962627272B88   GARCIA       FAITH                    CO          90008206272
23962A95691522   LETICIA      SALGADO                  NM          75004460956
2396359492B27B   LAURA        BARRIENTOS               MD          90009835949
239638A4391522   DAISY        VASQUEZ                  TX          90014488043
2396398A572447   AMY          AUSTIN                   PA          51003409805
2396495324B281   TEREFU       AREGAWE                  NE          90013949532
239649A344B588   JESSICA      LEE                      OK          90011899034
2396555567B471   LATASHA      ANDERSON                 NC          90011925556
23965565A9189B   VALERIE      LEIGH                    OK          90006915650
239659A758B171   REBECCA      MESSINA                  UT          90013009075
23966A13A2B931   LAURENTINO   PEREZ                    CA          90014760130
2396738199184B   MELANIE      MOROSE                   OK          90001053819
2396752695B232   LACEY        BARNES                   KY          90009315269
2396789145B531   MICHAEL      REICH                    NM          90008928914
23967A12291828   KELLY        DAWSON                   OK          21014240122
23967A37551369   WORSHAM      JERRNISCE                OH          90013290375
2396831AA91541   ROSARIO      AGUIRRE                  TX          75059393100
2396859A57B471   ESTET        ROJAS                    NC          11007595905
2396859AA4B551   ANDREW       MUCHERU                  OK          90007805900
2396861825715B   JOSE         SANTOS                   VA          90000466182
2396869467B42B   SERGIO       LEIVA                    NC          90000276946
23969135A72B32   ALMA         CORTEZ                   CO          33013431350
23969224972B88   NATASHA      KOCH                     CO          90003722249
2396B258984344   EDVINA       FELDER                   SC          90014202589
2396B29139155B   KEVIN        CAMARENA                 TX          75030432913
2396B65755B271   MARTINA      SILVESTRI                KY          68098286575
2397123864B588   KANDICE      DURAN                    OK          90013232386
239712A434B588   KANDICE      DURAN                    OK          90011772043
2397136865B161   CHRISTIAN    MCFADDEN                 AR          90012983686
2397185385B161   DANYELLA     WHITE                    AR          90014738538
23971A2919155B   TOMAS        MACHADO                  TX          75097750291
2397238134B261   CONSTANCE    WOLFE                    IA          90013933813
2397249822B931   JOHN         CASTILLO                 CA          90010674982
2397357924B261   MARCUS       CORK                     NE          90014505792
2397361577B449   JILL         LESTER                   NC          90008846157
2397364284B281   LYNDA        WRIGHT                   NE          90012076428
23973A2919155B   TOMAS        MACHADO                  TX          75097750291
2397414145B571   JOE          CHAVEZ                   NM          90010841414
2397524685B571   MICHAEL      BROWN                    NM          90008632468
23975A2A191881   SHAKAYE      RELEFORD                 OK          90001210201
23975A68A4B261   RAQUEL       SERRANO                  NE          27043170680
23976367A41245   ANDY         TARAUELLA                PA          51088403670
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2397664542B931   ASHLEY       PALACIO                  CA          90014796454
23976863787B59   LATRICE      LOWE                     AR          23032338637
2397686487B449   EVERLEAN     EVERETT                  NC          90012958648
2397743A141251   JOSEPH       ARTHUR                   PA          90010274301
23978113A85938   MARY         PRATT                    KY          67007771130
23979415987B87   PRISCILLIA   LANCASTER                AR          23096804159
239795A4A9794B   ELDER        MACARIO                  TX          90012205040
2397B489791541   BRENDA       CARDENAS                 TX          90002714897
2397B62174B588   AMANDA       SOLORIO                  OK          90014936217
2397B82337B471   COREY        BUTLER                   NC          90001088233
2397B8A6A61985   CAMARADA     CHITO                    CA          90012918060
2398118784B588   RICKEY       WHEELER                  OK          90014971878
2398143225B271   ELIZABETH    FINLEY                   KY          68095754322
2398155989794B   LAURA        ESTILL                   TX          90013005598
2398165792B931   ANTHONY      GONZALES                 CA          90014796579
23981947472B42   RACHEL       GALLEGOS                 CO          33081949474
23981A24841245   JASON        COOKSEY                  PA          90014730248
2398314319794B   CHRISTOPHE   SHIELDS                  TX          90003951431
2398397214B588   UVADA        HEATH                    OK          90012919721
23983A87141245   CURT         MIHALOV                  PA          51030710871
2398471482B931   FRANCISCO    DELOS SANTOS             CA          90014797148
239847A6372B88   CHARMAINE    RUBY                     CO          90002057063
2398569957B449   PEGGY        FOSTER                   NC          11062526995
2398573672B931   FRED         SCHMITZ                  CA          90014797367
2398642364B543   GEORGE       HEICHELHEIM              OK          90004354236
23986444A47952   DELILAH      ESCOBAR                  AR          24052074440
23986482A9155B   DIANA        MORALES                  TX          75052104820
2398652414B261   SUPER        RUFEROS                  NE          90012495241
2398657135B531   YAMILIA      RODRIGUEZ-SEGURA         NM          90006945713
239865A7672B32   LIDIA        CHAIREZ                  CO          33042145076
2398673672B931   FRED         SCHMITZ                  CA          90014797367
23986942572B88   LATRECE      BROOKS                   CO          90013159425
23986A91285938   CHRIS        VASQUEZ                  KY          67009990912
2398725484B588   TIFFANY      FRANKLIN                 OK          90011772548
239872A5455957   CARLOS       GONZALEZ                 CA          90000192054
23987844972B32   RENE         GARCIA                   CO          33067158449
2398886814B261   ELIZABETH    LOPEZ                    NE          90001308681
2398889A25B271   NAEIM        TORKIAN                  KY          90002028902
23988A9549136B   ISAIAS       HERNANDEZ                KS          90011900954
2398923445B195   ROCHELLE     CLASS                    AR          23010922344
2398941672B27B   MARTIR       VELASQUEZ                VA          90011194167
23989455787B87   TYWANNA      MACKEY                   AR          90005534557
23989896A72B88   LETICIA      DOMINGUEZ                CO          33064358960
23989AA6272447   JOE          EMAHIZER                 PA          90015010062
2398B156772B32   AUSTIN       MONTOYA                  CO          90005001567
2398B237647952   BOBBI        KELLY                    AR          90006602376
2398B23A19189B   CHARLENE     OCONNOR                  OK          90011412301
2398B987291828   ROSAIRO      LOPEZ                    OK          90010319872
23991172287B87   NECOLE       TAYLOR                   AR          90003531722
239911A3A9155B   GEORGE       MERAZ                    TX          75017361030
2399121A44B261   LEKISHA      BEST                     NE          90015132104
2399216419184B   KATHRYN      KIRKSEY                  OK          90015001641
2399236229184B   ANTHONY      MIMS                     OK          90004453622
239923AA572B42   JUANITA      SIERRA                   CO          90006823005
239924A579155B   JOANNA       LOPEZ                    TX          90010284057
23992758A72B32   CLAUDIA      ROMERO                   CO          90008187580
2399333799155B   FELICIA      MARQUEZ                  TX          75020903379
2399424689136B   LEALA        TAYLOR                   KS          90015172468
23994794197B35   EDUVEJAN     VIALPANDO                CO          90007737941
2399544555B271   DANIEL       MADDEN                   KY          90013384455
23995A6265B531   WILLIAM      DAVIS                    NM          90012600626
239961A499155B   RICARDO      JAQUEZ                   TX          75040211049
23996233A72B32   NICOLE       JOHNSON                  CO          33010122330
2399689177B449   SCHRELL      MINCEY                   NC          90005838917
23996945A51369   ALICIA       HALL                     OH          90005779450
2399813374B261   GUALIP       OSMAN                    NE          90014711337
2399819359136B   RAUL         DE LA FUENTE             KS          29089361935
23998345A91541   JOHNNY       BALCAZAR                 TX          75091293450
23998723A2B27B   VANESSA      MIMS                     DC          81073897230
2399876799189B   BRIAN        GIBBS                    OK          90013157679
2399B328A5B571   HELENA       CASTILLO                 NM          90011093280
2399B626441245   REBECCA      CANSLER                  PA          90014166264
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2399B661857564   MARIA C      AGUILERA                 NM          90005656618
2399B894972447   JAMES        LANG                     PA          51016108949
239B1874A31453   ADAM CAREY   JESSICA REESE            MO          90012148740
239B1998A5B271   CRUZ         ZACARIAS                 KY          90013619980
239B2475891828   KEQUANA      ELMORE                   OK          21028674758
239B2851733677   REGINOLD     NOLEN                    NC          90007978517
239B296774B281   PATRICIA     MOSS                     NE          90008289677
239B297A89184B   TAWNIE       TUCKER                   OK          21087489708
239B2997972B42   MAHPIYA      WHITECAOS                CO          90013879979
239B34A6441245   TAMERON      JONES                    PA          90014164064
239B3A46A5B271   ERIC         HALL                     KY          90012600460
239B4447A5715B   IVAN         MELGAR                   VA          90003184470
239B4596491541   JUAN         TAPIA                    TX          90013645964
239B4641A41245   TANYA        REDDIX                   PA          51090426410
239B47A1191522   TOMAS        MORALES                  TX          75016097011
239B5A81772B88   TONY         GALLEGOS                 CO          90014660817
239B6731891541   SANDRA       GUARDADO                 TX          75025457318
239B6967A5B172   HEATHER      WITHAM                   AR          90010469670
239B6A81772B88   TONY         GALLEGOS                 CO          90014660817
239B711327B471   BENITO       SOTO                     NC          11056841132
239B7768491541   PATRICIA     CHAVEZ                   TX          75007357684
239B789434B281   BRENDA       MARTINEZ FLORES          NE          90013948943
239B796129189B   TIFFANY      CONTRERAS                OK          90001689612
239B7A3572B931   VANESSA      VADERPOL                 CA          90014790357
239B82A715B271   DONNA        MARTIN                   KY          90011082071
239B842864B261   LAURIE       SNYDER                   NE          90012494286
239B8746672B42   JIM          ROMERO                   CO          90015367466
239B876544B22B   CAROL        MCDOWELL                 NE          90009637654
239B941428594B   PRISCILLA    LOVIN                    KY          67046184142
239B9488672B32   NORMA        LOPEZ                    CO          90011514886
239B95AA89184B   JOHN         YOUNG                    OK          90014365008
239B982414B588   BARBARA      GENTRY                   OK          21515708241
239B988362B23B   LAKESHA      JARMON                   DC          90004598836
239B998164795B   DON          DUBERT                   AR          90004839816
239BB193A9155B   ADRIANA      DE LOS SANTOS            TX          90009551930
239BB35329794B   JIME         MANZANO                  TX          90014363532
239BB531941245   RONALD       COLEMAN                  PA          51076785319
23B11A2395B271   RONALD       JORDON                   KY          90012550239
23B1219174B281   STEVEN       ROSENTHAL                IA          27096321917
23B1388A472447   SETH         YURKOVICH                PA          90003708804
23B149A6741245   APRIL        CASERES                  PA          90008449067
23B1519A95B243   GARY         BURNETT                  KY          90011281909
23B15389487B59   ELEAPTHER    CHARLES                  AR          23072103894
23B15A12A5B271   ANDREA       BLEVINS                  KY          90013510120
23B15A33341245   TANESHA      BONE                     PA          90005010333
23B16127191522   EFRAIM       GAYTON                   TX          75012971271
23B16144672B38   PAIGE        BARLASS                  CO          33088431446
23B1666914B281   JARED        ANDERSON                 NE          27098916691
23B1821214B588   STEVIE       LAIR                     OK          90011862121
23B1856634B281   TRACEY       SHIFLETT                 NE          27000835663
23B18842577577   DAVID        LISTER                   NV          90012478425
23B18936691541   PAREDES      JUAN                     TX          75066789366
23B18A75155957   FREDDA       SORIA                    CA          48036370751
23B18AA6891522   MARIA        RAMIREZ                  TX          90013580068
23B19363572B42   WOODIE       BONNER                   CO          33044773635
23B19378572B32   PAUL         MARTINEZ                 CO          90007383785
23B1945617B449   KRISTEN      ALEXANDER                NC          90014754561
23B1958295B232   GRACIELA     GUTIERREZ                KY          90014165829
23B1B38845B161   TONYA        CHESTNUT                 AR          23025783884
23B1B4A1491522   KARLA        HERNANDEZ                TX          90014414014
23B1B54662B931   LOIS         RODRIGUEZ                CA          90014505466
23B1B845A7B449   BASMAL       YALDO                    NC          90014858450
23B1BA45981635   AMIE         COONCE                   MO          90001290459
23B1BA5534B281   NOREEN       HEBDA                    NE          90011620553
23B21316391541   BRYAN        WHITLEY                  TX          75048193163
23B2159A431453   SAMATHA      BATTLE                   MO          90013215904
23B2162AA9136B   KEYVEON      HARRIS                   KS          90011426200
23B21828847952   DAVID        REED                     AR          90007238288
23B21875A41245   JESSICA      LOTIS                    PA          90014858750
23B22242A72447   CHERYL       KING                     PA          90014782420
23B22318472B42   BERNARDINO   LOZANO                   CO          33084633184
23B2263635B571   CLARK        BLAINE                   NM          90011076363
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23B22822472B32   VERA                    VENEGAS        CO         90011118224
23B2296AA2B931   RAMON                   VILLALOBOS     CA         45018179600
23B22A66291541   LAURA ANGELICA          MARTINEZ       TX         90012040662
23B24192491522   RAMON                   DOMINGUEZ      TX         90013431924
23B2443A391541   BERTA                   MORENO         TX         90014664303
23B2456655B271   LENIN                   CACERS TREJO   KY         90012045665
23B24A8765B36B   MARCELA                 GARCIA         OR         90008730876
23B2529142B931   RICARDO                 ARGONA         CA         90013952914
23B2533125B271   KIARA                   ROBINSON       KY         90014483312
23B25A21972B32   LORRAINE                ALVA           CO         90013140219
23B26445255957   MEGAN                   BRAZ           CA         48054154452
23B2645679184B   ERENDIRA                OSORIO         OK         90011904567
23B26585772447   JENNICA                 SUKUSTIS       PA         90013525857
23B27993291522   ISAAC                   HERRERA        TX         90011449932
23B27A5A19136B   KAREN                   NAVAS          KS         90005160501
23B28134A91241   DANIEL                  ALEXANDER      GA         14597801340
23B2861A99794B   AHEDILSON               BARRIOS        TX         90014456109
23B28751991541   ANABEY                  RODRIGUEZ      TX         90002357519
23B2932265B271   CATHY                   MC MASTERS     KY         68072173226
23B2962925B232   SCOTT                   BURTON         KY         90014166292
23B2B648872447   EMMA                    PARKER         PA         51094456488
23B2B912631453   TRAVIS                  WADE           MO         90013779126
23B2BA6A984364   GRALIN                  DUNN           SC         90010090609
23B3124859189B   THOMAS                  STEWART        OK         90002442485
23B31351472B42   JAMES                   SMITH          CO         90012153514
23B3143799794B   JOSE                    GOMEZ          TX         90012484379
23B31455455957   HELEN                   VASQUEZ        CA         48046374554
23B3154462B931   BEATRIZ                 RUIZ           CA         45073845446
23B3163125B232   KEVIN                   SHANNON        KY         90014166312
23B3183AA5B571   DCHON                   POWDELL        NM         90011578300
23B32538493724   BRENDA                  HOWARD         OH         64504075384
23B33A21441245   WILBERT                 BROWN          PA         90012890214
23B34126991528   LAURA                   GARCIA         TX         90005921269
23B3414A191522   JESSICA                 AVILA          TX         75027681401
23B34326391828   BRYANT                  WHITTAKER      OK         90014233263
23B34569147945   CALVIN                  LEONARD        AR         24007635691
23B34638177534   DAVID                   BRANSON JR     NV         43095556381
23B34714872B42   JUAN                    PALACIOS       CO         90011847148
23B35211985938   JOSH                    MURRAY         KY         90013652119
23B3525929189B   RICHARD                 CREWS          OK         90014152592
23B352A7285834   MANNY                   AGUILAR        CA         90000872072
23B35395957B85   MICHAEL                 PURDY          PA         90014973959
23B3545164B261   RACHELL                 OWNES          NE         90014914516
23B35553991522   SERGIO                  TOBIAS         TX         75073705539
23B35745A9794B   JOSE                    MARTINEZ       TX         90013787450
23B3593829189B   ALONDRA                 PORTILLO       OK         90009969382
23B35965A7B471   CASSANDRA               BROWN          NC         90010689650
23B362A825B271   ERIK                    BLEDSOE        KY         90010222082
23B36428A7B449   JASON                   RIDENHOUR      NC         90002254280
23B3666639794B   PHILIPP                 TESCH          TX         90010806663
23B36A8284B281   QUAVONDACE              PETTIFORD      NE         90014880828
23B37696881661   IRENE                   GONZALEZ       MO         90000966968
23B379A4255957   MIGUEL                  FLORES         CA         48075079042
23B38149391522   FREEMAN                 WHITE          TX         90000541493
23B3815A45B571   JULIO                   ELIAZ          NM         35095651504
23B3823797B471   JASMINE                 GRANT          NC         90014682379
23B38269751333   LAWRENCE CHRISTINN SHARPBRIGHTMAN      OH         90008302697
23B3832539136B   LIZETH                  SINKLER        KS         29057153253
23B38675247952   PATRICIA                BARDALES       AR         24033006752
23B38894691541   MONICA                  HURRUTIA       TX         90012198946
23B38972A4B588   NEALON                  ADAMS          OK         21557149720
23B3932639189B   GARY                    WALLER         OK         21069793263
23B3965955B232   MATTHEW                 KNUCKLES       KY         90014166595
23B3B237885938   JOYCE                   OVERSTREET     KY         67060412378
23B3B26839189B   KELLY                   LAWRENCE       OK         90011042683
23B3B624491534   LORENZA                 ROQUE          TX         75051166244
23B4152214B543   SHARMEAL                WOODS          OK         90010985221
23B419A1255957   CARLA                   DEL REAL       CA         90012949012
23B41A22347952   MIGUEL                  VELAZQUEZ      AR         24052180223
23B42226441245   KAREN                   MANKEY         PA         51079232264
23B4227A772B32   GLADYS                  CORPUS         CO         33075302707
23B42296872B88   FRANCES                 TAFOYA         CO         90006762968
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23B42365631453   GLENN        MCKINNEY                 MO          27559793656
23B42399A33639   STEPHANIE    GILES                    NC          90011293990
23B4285865B232   JERRY        NALLEY                   KY          90015048586
23B4379289794B   LETICIA P    CERVANTEZ                TX          90004407928
23B43888472447   MIA          TROFIMUK                 PA          90010858884
23B439A947B425   FRANCINE     MOTT                     NC          11016849094
23B449A9881661   ESSENSE      LONG                     MO          29010039098
23B45535391828   ARSENIO      ROMERO                   OK          21092475353
23B455A152B931   SONG         YANG                     CA          90013365015
23B4617245B232   BATISTA      RAFAEL                   KY          90010091724
23B4627A772B32   GLADYS       CORPUS                   CO          33075302707
23B4664168594B   JESSICA      JONES-FULLER             KY          67056316416
23B4668544B588   RICHARD      ORTIZ                    OK          90003156854
23B46936581661   OSCAR        COOPER                   MO          29010039365
23B47385255957   DANIEL       DIAZ                     CA          48006893852
23B4778565B232   SHELIA       TETRICK                  KY          68038957856
23B48143A72B32   ELSIA        RUIZ                     CO          90007931430
23B48239872B32   ELSIA        RUIZ                     CO          90013062398
23B4826384B261   CHACOIYA     WILLIAMS                 NE          90010312638
23B4831728594B   VANESSA      CAMACHO                  KY          67079463172
23B48519331453   MARKIA       ALL                      MO          90014615193
23B48828281661   MEGAN        MCCLEARY                 MO          90009168282
23B4883A991541   ANTONIO      GOMEZ                    TX          90011058309
23B49325772B42   AMBER        STARNES                  CO          90008923257
23B4941699184B   GENEE        SNIDER                   OK          90001904169
23B49533191541   SAMANTHA     GARCIA                   TX          75036295331
23B49967341245   MEISBERGER   T RYAN                   PA          90008399673
23B4997467B471   QUASHANDA    PATTERSON                NC          90015159746
23B4B29865B232   JONATHAN     FORMICA                  KY          90010882986
23B4B425972B88   LINDA        GARCIA                   CO          33092744259
23B4B829991541   JOSE         ALVARADO                 TX          90014558299
23B51255A9136B   RICARDO      JACOBO                   KS          90006982550
23B5141465715B   UNISA        KANU                     VA          81069904146
23B5161A78594B   GEFFREY      HIRST                    KY          90004906107
23B51641755957   LINDA        LOPEZ                    CA          48097876417
23B51714191828   CARLOS       LOPEZ                    OK          90012287141
23B51853291522   MARTHA       DOMINGUEZ                TX          75009858532
23B5319899155B   MAYRA        RAMIREZ                  TX          90014881989
23B53215955957   CARINA       FERNANDEZ                CA          90014902159
23B5332265B271   CATHY        MC MASTERS               KY          68072173226
23B5366915B161   PRISCILLA    DAVIS                    AR          23074446691
23B53729991522   YAMIL        REYES                    TX          90009687299
23B5395879136B   JOYCE        WILSON                   KS          90012749587
23B53A6922B931   JUAN         GONZALEZ                 CA          90012910692
23B5438A472B88   TANIA        TAYLOR                   CO          90007793804
23B54427184353   ROSA         ROBINSON                 SC          90013764271
23B5443A391541   BERTA        MORENO                   TX          90014664303
23B54833247952   TORRANCE     CUMMINGS                 AR          24071978332
23B54835772B42   RICARDO      VALENCIA                 CO          33067758357
23B5542232B281   DAMOND       LITTLE                   DC          90004424223
23B5568315B271   MICHAEL      SCHWITZ                  KY          68021636831
23B55749A51325   JOSHUA       CLIFFORD                 OH          90009987490
23B5582779136B   FRANCISCO    HERNANDEZ                KS          90011008277
23B56214291522   VANESSA      MUNOZ                    TX          90013262142
23B5634555B571   ANTHONY      LOVATO                   NM          90012143455
23B5677294795B   NATASHA      TERRY                    AR          90008287729
23B56A29647952   CONSUELO     CRUZ                     AR          24078470296
23B5718547B471   LESLIE       TORRENCE                 NC          90004291854
23B5733415B271   DENISE       EDDINGTON                KY          90005393341
23B57441347922   ANGELA       GROSS                    AR          90011714413
23B5826885B232   MARY         MCFALL                   KY          90006142688
23B58785984364   ERIKA        GARCIA                   SC          19089507859
23B588A785B531   MARTHA       GUTIERREZ                NM          90006988078
23B58AA4141245   CRYSTAL      ROBERTS                  PA          51034320041
23B59113A9794B   MICHAEL      PRITULSKY                TX          90012191130
23B594A4972B88   ESTELA       HERNANDEZ                CO          33028414049
23B59539272B38   EDUARDO      CAMACHO                  CO          90010735392
23B597A1191522   TOMAS        MORALES                  TX          75016097011
23B59AA799794B   PAYGO        IVR ACTIVATION           TX          90015000079
23B5B4AA791241   TY           LUSK                     GA          90010474007
23B5B513547826   SHANNON      CLEVELAND                GA          90015205135
23B5B745191828   JUAN LUIS    NOGUERA                  OK          90010287451
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23B5B89125B232   JAMESON     WILLIAM                   KY          90011588912
23B5BA8412B931   MARIA       GONZALEZ                  CA          90014920841
23B61132641245   JESSICA     NOLDER                    PA          90009221326
23B61241572B88   PAYGO       IVR ACTIVATION            CO          90011662415
23B6143424B281   DAL         KAMI                      NE          90014994342
23B615A4591522   BERTHA      PEREZ                     TX          90013165045
23B6168365B271   MARCOS      GUZMAN                    KY          68055916836
23B62477231631   JAMES       MERCADO                   KS          90014224772
23B6288377B471   EVELYN      HERNANDEZ                 NC          90014948837
23B63349172B88   RAYMOND     BARGAS                    CO          33047663491
23B63499A9184B   ELISHA      MORALES                   OK          90000974990
23B63561155957   ALEX        FLORES                    CA          48053235611
23B6368A191522   SILLER      GLORIA                    TX          90008846801
23B64186691828   JEREMY      LODGE                     OK          90014811866
23B64617255957   ELI         FELIPE                    CA          90012776172
23B649A879794B   VERONICA    OBIEDO                    TX          90009669087
23B65A58472447   DEBRA       DEABENDERFER              PA          90010640584
23B6636A87B449   PORTIA      FULWILEY                  NC          90014583608
23B6651185B538   ERICA       RUIZ                      NM          90001295118
23B6692A37B471   DARELL      MYERS                     NC          90012719203
23B67252331453   MATHEW      MAYFIELD                  MO          27597282523
23B67358991828   DE          RODRIGUEZ                 OK          90008073589
23B675A1791522   JESICA      BUENROSTRO                TX          90014435017
23B678A9655957   JENNIFER    RUNNION                   CA          90002988096
23B67A4525B161   ROBIN       HOWARD                    AR          23084960452
23B67AA724B261   LETICIA     BARAJAS                   NE          90012430072
23B6826897B423   REGINA      HUNTER                    NC          90004642689
23B6872147246B   DOUG        MCKAIN                    PA          90005277214
23B6873A15B271   SHERRYL     VIALDORES                 KY          68027387301
23B6879339794B   LYDIO       RUBIO                     TX          74093777933
23B6933614B28B   ASHLEY      CRONK                     NE          90011193361
23B6934A24B543   LORI        HAMILTON                  OK          90010093402
23B6949464B261   BENJAMIN    OLIVA                     NE          27036034946
23B69536955957   JULIO       CESAR                     CA          90004195369
23B69646A2B931   JESSICA     MORALES                   CA          90013306460
23B69889891828   GAIL        SCYFFORE                  OK          90000488898
23B6B17672B86B   FRANCISCO   RODRIGUEZ                 ID          90000991767
23B6B339872B32   ANGELICA    ALANIS                    CO          90009453398
23B6B617543593   CORY        HEBERT                    UT          90011856175
23B6BA1119136B   SHANEE      HOWARD                    KS          29085730111
23B6BA38484364   PEGGY       PALMER                    SC          90011130384
23B71479151369   TARA        RANDALL                   OH          66028464791
23B717A945B247   MELINDA     HARKLESS                  KY          90003137094
23B71A73A72447   VIOLET      TEMPLER                   PA          51083900730
23B71A7AA72B32   ROSA        VALDERAS                  CO          90006590700
23B72332191528   MARIA       CANALES                   TX          90005923321
23B7236345B571   ANTHONY     CLARK                     NM          90013343634
23B72A1689136B   LUZ         LOZANO                    KS          90015210168
23B73734631433   REGINA      WATSON                    MO          90004237346
23B7391328B17B   HERMILIO    JEREZANO                  UT          31064159132
23B74591287B87   ANGELINA    ROBINSON                  AR          23095815912
23B74645931433   NICKI       ARMAN                     MO          27581776459
23B7478544B261   ANGEL       JOHNSON                   IA          90010107854
23B75487381661   VICTORIA    HEAGY                     MO          29045234873
23B7567245B167   NEDRA       RIVERS                    AR          23088346724
23B7591949189B   NOEMI       RAMIREZ                   OK          90014649194
23B76338391241   JANETT      JOHNSON                   GA          90011143383
23B7659375B167   BRANDON     SHAW                      AR          23038235937
23B76727672B23   KRISTINA    CARROLL                   CO          90014247276
23B76782372447   JESSE B     BEATTIE                   PA          90014507823
23B772A975B232   SHAWN       EARSERY                   KY          90007172097
23B7797224B261   TIMOTHY     MARSH                     NE          27094729722
23B78258972B32   BEVERLY     RISLEY                    CO          90010642589
23B782A9887B87   KAREN       PRATT                     AR          23019852098
23B78652381661   WILSON      BROWN                     MO          29010046523
23B78752A7B449   HELEN       CONNOR                    NC          90011077520
23B79524972B32   ERICA       CRUZ                      CO          90006845249
23B79526872447   RICHARD     LANGIN JR                 PA          90014635268
23B7956215B271   JOSE        MORALES                   KY          90015155621
23B797A7A4B588   JOSE        PADILLA                   OK          90014057070
23B79983291541   LUPE        GARCIA                    NM          75074879832
23B7B1A944B281   VICKY       SHOWMAN                   NE          90013131094
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23B8122614B543   DANIEL        CASTELLUZZO             OK          90010262261
23B8149739136B   LINDY LOU     VAUGHAN                 KS          90013274973
23B8189894B588   CEFERINO      MALDONADO               OK          90000288989
23B82277A5B531   CE            SATTERFIELD             NM          90010072770
23B82693591541   ALONSO        PEREZ                   TX          90015126935
23B827AA84B588   ISABEL        ALEJOS                  OK          21567267008
23B82A36331631   NATALIE       SWITZER-HAULE           KS          90004200363
23B83615991828   LATONIA       ROBERSON                OK          90014196159
23B83642541245   ANTOINETTE    WILEY                   PA          90014156425
23B83991493727   KATRINA       SHAHAN                  OH          64529949914
23B8422584B281   ANGELA        VAMPOLA                 NE          90006562258
23B843AA491541   LORENA        ALVARADO                TX          90008113004
23B84479887B87   DEBORAH       MORRIS                  AR          23007884798
23B845A8772447   JUSTIN        FLEMING                 PA          90014415087
23B848A2141245   SANDY         SMITH                   PA          90008588021
23B8545A661932   ZACK          BILBREY                 CA          90000334506
23B85494272B41   MARYLEONA     HOLMES                  CO          90011514942
23B85A7169155B   HILDA         GONZALEZ                TX          75047030716
23B8626944B261   LESVAN        TORRALVO                NE          90002372694
23B86371891828   MICHAEL       OLMOS                   OK          90012223718
23B86448884364   LEONARD       FINLEY                  SC          19052314488
23B8657687B449   ELSY          LOPEZ                   NC          90014945768
23B86853A9794B   OBISPO        TAX                     TX          90015108530
23B86A4629155B   ERIQUE        VARGAS                  TX          90010360462
23B88254491828   PAUL          HARRIS                  OK          21063982544
23B88487972447   SHARONDA      ROBINSON                PA          90011464879
23B8858994B588   PHILLIP       DAVIS                   OK          90013555899
23B88663972447   DANIEL        CARUSONE                PA          90013236639
23B886A2191541   ROCKER        CHICK                   TX          75036706021
23B88791131631   ELIZABETH     DECKARD                 KS          22035127911
23B8913714795B   SUSAN         MENJIVAR                AR          25091941371
23B8B322772B42   ANGEL         RAMOS                   CO          33075273227
23B8B72414B261   ALBERTO       HERNANDEZ               IA          27091347241
23B8B7A674795B   ELSA          CALDERON                AR          25059617067
23B9126295B531   MARISA        BENTZ                   NM          90006712629
23B9167852B931   MANUEL        OLIVARES                CA          45080986785
23B92853372481   AMY           MARTIN                  PA          51029398533
23B92888991541   JANET         CARMONA                 TX          75013808889
23B93157191528   ERICKA        GONZALEZ                TX          90000951571
23B93212984364   TWYLAN        RENEE                   SC          90000302129
23B9329A155957   FREDERICK     JONES                   CA          90002062901
23B93345691828   JOSE          MADRIGAL                OK          90010723456
23B9336364B281   COBY          POINTS                  IA          90013943636
23B93838A7B449   DANIELLE      DAVIS                   NC          90013778380
23B9421974B281   KATHLEEN      KELLOGG                 NE          90013852197
23B94557972B32   JALIA         GARZA                   CO          90012205579
23B94654441245   DEISHA        WILEY                   PA          90014156544
23B9511894B261   JESUS         CHAVEZ                  NE          90012971189
23B95169A51343   NICOLE        GILREATH                OH          90001441690
23B95364291522   VERONICA      LOPEZ                   TX          75026673642
23B9568799189B   HECTOR        AGUILAR                 OK          90014056879
23B9599A472B42   CRISTAL       LEYVA                   CO          90013629904
23B959A5881661   TRACY         TAFOYA                  MO          90007079058
23B96278A4B281   OKELEY        HOENOU                  NE          90015012780
23B9629115B571   ASTRIL        ORLAGUA                 NM          35093872911
23B96339181661   CHARLES       RUE                     MO          29076053391
23B9636969136B   HELEN         TAYLOR                  KS          90012303696
23B9655299184B   TERRELL       JONES                   OK          21087035529
23B9658865B161   ARMSTEAD      MAKESHA                 AR          23007175886
23B9666A191828   MARIKA        MASON                   OK          90010686601
23B96798A84364   RAVEN         HARTWELL                SC          90010297980
23B9681184B588   CHRISTOPHER   ROBINSON                OK          90012588118
23B96878955957   RALPH         MONTEJANO               CA          90000138789
23B97249355936   SHARNAY       SOUZA                   CA          90005842493
23B9791A547952   ANTHONY       MALOY                   AR          90005439105
23B97974487B59   FOLANDA       WILLIAMS                AR          90005699744
23B98447872447   DONTE         LEWIS                   PA          90011064478
23B98574A5715B   NEFUSIE       GUDISA ABDI             VA          81002805740
23B98753A91541   ALEJANDRA     RODRIGUEZ               TX          75085887530
23B9888417B449   JAVIER        CRUZ                    NC          11065088841
23B98915791522   PATRICK       WARD                    TX          90011859157
23B9934A69155B   FABIAN        BOTELLO                 TX          90009403406
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23B99562272B88   YESENIA     MARES                     CO          33070315622
23B9989465B531   JOSEPH      SOTO                      NM          90010658946
23B9992379794B   MALLORY     THURMON                   TX          90013389237
23B9994668B188   RONALD      CLARK                     UT          90010349466
23B999A157B471   KELLY       FOX                       NC          90003539015
23B99A6912B931   LUCAS       GILLILAND                 CA          90013320691
23B9B246391541   GUADALUPE   MADRID                    TX          75088712463
23BB126435B244   MIGUEL      LEMUS                     KY          90013302643
23BB134498594B   AMY         BELOMY                    KY          67091963449
23BB13A1572B42   DESIRRE     BABB                      CO          33073123015
23BB199129155B   MARGARITA   PEREZ                     TX          75083659912
23BB2318772B88   JESSICA     EVANS                     CO          33012063187
23BB2352191828   BRANDON     BENNETT                   OK          90008573521
23BB2571391828   RONESHA     JONES                     OK          90013045713
23BB268925B571   JOSE        LOPEZ-AMPARA              NM          90011196892
23BB311212B931   BREANN      SALAS                     CA          90012471121
23BB32A9372B88   EDGAR       TISCARENO                 CO          90011662093
23BB3683131433   DANNETTA    CLAIBORNE                 MO          90004236831
23BB3732855957   JEREMY      CAUDLE                    CA          90011577328
23BB3981293721   SARAH       SHARP                     OH          64512039812
23BB3A8755B271   CAROLYN     LEWIS                     KY          90009160875
23BB3AA6172B42   JESSICA     GARCIA                    CO          33052970061
23BB54A294B281   BONEY       PATEL                     NE          27091504029
23BB58A1472B42   KENDRA      HOPE                      CO          90000168014
23BB6118172447   BRANDY      CRAMER                    PA          90015451181
23BB6496A2B931   ANGEL       TRUJILLO                  CA          90009624960
23BB661A17B471   SHAWN       A CRAWFORD                NC          11096866101
23BB6A3A44B588   LAWRENCE    JOHNSON                   OK          90014640304
23BB727785B161   ANGELA      RAINEY                    AR          90012992778
23BB741432B27B   CALETA      JOYNER                    DC          90010434143
23BB7425755957   JOSE        GUTIERREZ                 CA          48000974257
23BB7948991528   ERIKA       CAMACHO                   TX          75093169489
23BB7A6515136B   ADAM        TEEPEN                    OH          66077600651
23BB8335133639   ANDREA      OUTLAW                    NC          90014083351
23BB8758972B42   ELEUTERIO   HERNANDEZ CALVA           CO          90012217589
23BB8AA4872B88   JORGE       MANUEL                    CO          90012240048
23BB9299A9712B   WILLIAM     PALMER                    OR          90012212990
23BB9337193773   SHAWN       HALL                      OH          64596653371
23BB9466772B98   GUZTAVO     GALAVIZ                   CO          90013304667
23BB953AA72447   BRITTANY    BOYER                     PA          90012065300
23BB9975731453   SHEREE      GURLLY                    MO          90014829757
23BB9A8915B161   TARA        DAVIS                     AR          23090480891
23BBB159A5B531   RAY         MARTINEZ                  NM          90013221590
241111A745B271   MYTICA      MYERS                     KY          90010481074
24111A32A7B471   KENNETH     WRIGHT                    NC          90008480320
241123AA272B98   JOSEPH      CORDOVA                   CO          90000213002
2411278114B588   PATRICIA    HUGHES                    OK          21578267811
241135A3941245   ERIC        FISCHER                   PA          90013085039
2411436362B27B   LORENZO     ESCOBAR                   VA          90005173636
2411494685B139   ALI HAMA    DICKO                     AR          74560199468
2411518777B471   CLARISSA    MERITT                    NC          90013461877
2411532A372B88   MARIA       GUTIERREZ                 CO          33029203203
24116A7645715B   FLORES      ALEXANDER                 VA          90005480764
2411757235B571   CHERIE      AUSTIN                    NM          35094465723
2411815845B271   LINSEY      JONES                     KY          68008221584
2411994A77B471   MELEIA      CURRY                     NC          11066599407
2411995847B347   SOFIA       FLORES                    VA          90003169584
24119A6135B161   RAYMUNDO    HIGINIO- MARTINEZ         AR          90012730613
2411B183291522   IRMA        RECENDEZ                  TX          90010701832
2411B897972B32   DANIEL      WILLES                    CO          33040928979
24121A46291828   KAYLA       MITCHELL                  OK          90009940462
241228A699794B   VIRGINIA    PINEDA                    TX          90014938069
2412479442B27B   WILLE       JACKSON                   DC          81012247944
2412535152B27B   SHERMAINE   GRAHAM                    DC          90006793515
2412542119184B   EMILY       FREEMAN                   OK          21020164211
2412588A97B471   ANNA        YOUNG                     NC          90009118809
24126377A72B88   DOMONIC     BARRIOS                   CO          90011593770
2412683479155B   BRIAN       BERGER                    TX          90010308347
2412686A491953   STELLA      CARPENTER                 NC          17080158604
24126A95161985   JUVENTINO   LOPEZ                     CA          90011760951
24127395172B32   JAVIER      FLORES                    CO          90007293951
2412756134B588   RICHELLE    DRIVER                    OK          90005995613
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24127633A5B271   NOE          GARCIA GARCIA            KY          90009706330
24129A75993727   FELISHA      ROY                      OH          90013600759
2412B237A7B449   BOOKER       HOPKINS                  NC          90013422370
2412B421472B32   CYNTHIA      CRESPIN                  CO          90011044214
2412B665857157   CESAR        LARIOS                   VA          90002406658
2412B697293767   AMY          AKERS                    OH          90005726972
2412B739131453   VICTOR       MACBRIDE                 MO          27597697391
2412B76734B281   WILLIAM      DICKEY                   NE          27046867673
24132457887B59   MARTHA       HANDEL                   AR          23069934578
24133522A4B588   CHRISTO      SHARP                    OK          90014635220
241335A4471935   TYRONE       ADAMS                    CO          90012875044
2413375697B471   CHANEL       WORTHLEY                 NC          90014687569
24133834572B42   MELISSA      YAMILETH                 CO          90011888345
2413461A24B588   SAMANTHA     SMITH                    OK          90010956102
24134668724B43   VALERIA      PERSON                   DC          90013946687
2413549918B171   ADRIAN       ORTEGA                   UT          90001844991
24135A11391953   JUAN         RAMIREZ                  NC          90011520113
2413677867B471   JASON        ARGUETA                  NC          90014687786
2413685555B161   LARRY        DAVIS                    AR          90008088555
24137662A72B42   DAN          GOULET                   CO          90013886620
24137875A57157   SERGIO       PINEDA                   VA          90006508750
241384A7385892   JEFFERY      HALL                     CA          90007334073
24138583772B88   RAYMOND      HINSLEY                  CO          33002505837
241386A967B471   EVAN         TONEY                    NC          90009496096
241387A5591525   EDWARD       L MILLER                 TX          90002377055
2413882A79184B   ERNEST       WEST                     OK          21004588207
24138939A91828   HEAVEN       CAUDLE                   OK          90013659390
2413944AA9196B   HOLLI        MCKINNIS                 NC          17092494400
2413958839184B   REX          BIGELOW                  OK          90012945883
24139739A5B161   NIKIYAH      WATKINS                  AR          90014667390
2413B263971935   MANUEL       PORTILLO                 CO          90014362639
2413B294591828   KIMBERLY     EVANS                    OK          21056842945
2413B478372B88   SARAH        GARZA                    CO          33053544783
2414197252B931   LUIS         VAZQUEZ                  CA          45093249725
2414198637B422   ASHLEY       SIMMONS                  NC          11006039863
24141A6925B28B   LOLITA       JENKINS                  KY          90001970692
24142249572B42   JORDAN       REDMOND                  CO          90006652495
2414252962B27B   KADIATU      ALPHA                    DC          81080635296
2414263A681644   TAMBRA       WILLIAMS                 MO          90011516306
24142675172B32   EDGARDO      RODRIGUEZ                CO          90011786751
24143576A61986   PABLO        CRUZ                     CA          90010525760
2414394AA72B88   NEIRINAURA   HERNANDEZ                CO          90014959400
24143A79455957   GARRETT      VAZQUEZ                  CA          90008710794
24144551472B32   JEHELY       ESPINOZA                 CO          90013295514
24144A65293731   BILLI        DAVIS                    OH          90015020652
2414543665B161   TABITHA      BLACKBURN                AR          90015214366
24145A17691541   GASTON       CONTRERAS                TX          90011950176
24145A65293731   BILLI        DAVIS                    OH          90015020652
24146A5195B161   KIESHANYA    WHITTAKER                AR          90014360519
241471A225B571   BRUCE        BLACKMAN                 NM          90006681022
2414751A691541   KING         MONTIEL                  TX          90012585106
24147782872B32   VENASSA      ALBA                     CO          90002127828
2414778A291828   LAURA        BASURTO                  OK          90009257802
24147AA257B449   TONYA        MONIQUE NEWTON           NC          90014790025
2414823335B271   JULIUS       KENNEDY                  KY          90011352333
241483A6731453   NICOLE       SCHNURR                  MO          90013833067
2414842269794B   OSCAR        AGUIRRE                  TX          74060444226
24148A95541245   THOMAS       GAVULIC                  PA          51015270955
2414945457B449   ARMANDO      BALTAZAR                 NC          90010294545
24149685A91541   STEVE        PEREZ                    TX          90014556850
2414B221255957   JOEL         GARCIA                   CA          90007172212
2414B424233677   STEVEN       TAYLOR                   NC          90001264242
24151246A55957   LATOYA       MAXWELL                  CA          90013882460
24151473887B87   BRITTNEY     JASPER                   AR          23009044738
241518A394B261   KEITH        BLANCHARD                IA          27028508039
2415337424B281   FERNANDO     DE LA ROSA               NE          27086333742
2415359942B931   LORETTA      MILLS                    CA          45045555994
2415368855B333   MARGGI       MCKINNEY                 OR          90008516885
2415375565B161   LARRY        CONLEY                   AR          90013707556
24153A83A91953   KESETE       EYASSU                   NC          90010710830
2415456A971935   LUIS         HUCHIN                   CO          32016055609
24154A6434B281   CESAR        TORRES                   NE          27017060643
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2415535492B232   MARCUS            GILES               DC          90004083549
241559A6A24B55   ISABEL            GALLO HERNANDEZ     VA          81084809060
2415635957B449   RASHAUN           STEVENSON           NC          90008603595
24157263224B55   LEARY             BOWSER              DC          90007402632
2415761A884364   JAMES             BROWN               SC          19027306108
2415764A491522   ALBERTO           AGUILAR             TX          90009336404
2415775525B161   DEVANA            DOBSON              AR          23002247552
241579A3572B88   JANINA            SANDERS             CO          90013139035
2415867624B588   TIM               CALDWELL            OK          90001086762
24158919A91541   MIGUEL            VALLE               TX          90008789190
24159738972B32   D-ANTHONY         JONES               CO          90014837389
2415989537B633   IDELINA           RAMIREZ             GA          90011358953
2415B699257157   MANUEL            ORTIZ               VA          90010846992
2415B771361558   MIGUEL ANGEL      HERNANDEZ           TN          90015497713
2415B87149184B   CINDY             HAIRE               OK          21091348714
241613A554B588   DUSTIN            BAKER               OK          90012453055
24162515A71935   AUTUMN            NELSON              CO          90013225150
24162A25781644   MISAEL SALVADOR   AGULAR              MO          90013950257
24162A89391241   TRACY             AITKEN              GA          90012760893
2416315A471933   LAWRENCE          MCCLAIN             CO          90010751504
2416326627B449   TERRICA           HIGHTOWER           NC          90014152662
24163AA5891356   JOSE              RODRIGUEZ           KS          90014830058
24164172372B88   JENNIFER          VELA                CO          90014451723
2416496475B271   LORI              EPPLER              KY          68042299647
24164A98985938   GENE              MACKEY              KY          90007050989
24165A9957B644   QUANTORIA         GREEN               GA          90008850995
241669A3187B87   ANGELA            BILLINGS            AR          23025839031
24166A2575B271   CASSI             ALLEN               KY          68051820257
24167534A4B588   MARCELA           IBARRA              OK          90015285340
24167567A91241   MARTHA            BLANDING            GA          90015245670
241676A497B449   ANA               AMAYA               NC          90008016049
24167A41981644   MARVA             ABROUGHT            MO          90013950419
24167A5532B27B   SHONTEL           ALEXANDER           DC          90014680553
241683A5687B87   SHAWNDELLA        BENNETT             AR          23088943056
24169178A55957   SHAWNTEL          CORTEZ              CA          48016231780
2416B19614B588   DAVID             STANTON             OK          21544341961
24171126487B87   DOROTHEA          WILLIAMS            AR          23088461264
241719A3791241   CARMEN            FRAIZER             GA          90002729037
2417231214B281   STACEE            JUSTUS              NE          27067333121
2417234A672B32   JERMEY            HALSTEAD            CO          90013933406
241724A4391356   RYAN              DUNNAM              KS          90009114043
2417316254B588   VINCENT           HOGG                OK          90011511625
24173AA6791828   HALEY             CONLEY              OK          90000860067
241749A1687B87   CHIQUITA          EVANS               AR          23033319016
24174A38391541   SOCORRO           RODRIGUEZ           TX          90000520383
24174A8884B588   YESENIA           CABRERA             OK          90012620888
241753A6A2B27B   RONALD            PETERSON            DC          90014293060
2417572714B588   ELISA             LUEVANO             OK          21554167271
241766A9455957   WENDY             OROZCO              CA          90012286094
2417744154B588   FRANCISCO         MENDOZA             OK          90015224415
2417746579155B   NORMA             SIRRA               TX          75035694657
24177578272B32   ARELY             TORRES              CO          33059235782
24177A6373B355   JANETH            HENRY               CO          90011480637
24178335372B88   DONNA             ELLIOT              CO          90008413353
2417875912B27B   IGOR              MILOSEVIC           VA          81016467591
24178868A7B449   AMBER             NUNUZ               NC          90002618680
241792A939189B   BRITTNEY          LITTAU              OK          90010982093
2417963194B281   ALISHA            DUNLAP              IA          90006096319
2417965525B271   WANDA             LEE                 KY          90009056552
24179A15161996   SILVIA            CERVANTES           CA          46066770151
2417B4A1791953   JUANITA           JONES               NC          90001844017
2418128A25B271   IROLVIS           LARA-BOYCE          KY          90009032802
241814A6A4B281   VIRGIL            MOEHRING            NE          27001674060
241816A6A84364   LUZ               VAZQUEZ             SC          90013226060
2418171775B571   PATI/ELIAZ        DIAZ/ZARATE         NM          35054457177
2418174199189B   SAMANTHA          SHAIREZ             OK          21081797419
241822A5631453   ANTHONY           LEZY                MO          90015182056
24182A9429155B   TONY              QUINTANA            TX          90010080942
24182A97372B88   TRISHA            MAKI                CO          33074760973
241831A5355957   CRYSTAL           MORENO              CA          48093521053
2418342329184B   BRADLEY           BLAIR               OK          90013654232
2418351782B249   WAKEEN            EDWARDS             DC          81017615178
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2418391645B571   DELFINA     CASTILLO                  NM          35085149164
241854A9691828   MARTIN      WILLIS                    OK          90011564096
241862AA731453   LEAH        PRICE                     MO          90015052007
2418656A391953   AJA         ASH                       NC          90012395603
241871A244B588   DOMINQUE    LAMEY                     OK          90010121024
2418795284B588   JONATHAN    CRAIG                     OK          90015159528
241882A3A31453   EDDIE       WOODFIN                   MO          90001522030
2418838994B261   BARBARA     COOPER                    NE          90007153899
24188A2937B449   KEISHA      ADAMS                     NC          90000340293
24188A92872B42   JAY         BARTON                    CO          33009790928
24189353A5B161   VONDA       MORRIS                    AR          23086963530
24189582672B88   AMY         CEBALLOS                  CO          90014935826
2418998134B588   JERROD      PEDRO                     OK          90014439813
24189A2482B27B   SHIRLEY     BEARD                     DC          90012510248
24189A37131453   KEVIN       RITROVATO                 MO          27585270371
2418B535491356   AUDWIN      PORTER                    KS          29079335354
2418B67A172B88   SOLOMON     LOPEZ                     CO          90013416701
2418B69A77B449   SHAKAEDA    BYERS                     NC          90012436907
2418B83167B449   MARCUS D.   JACKSON                   NC          11057898316
2419115534B588   CHARLENE    MASCOTE                   OK          90015381553
24191418A31631   DEANNA      MCWITHEY                  KS          22065894180
2419182747B423   SUMATRA     SMITH                     NC          90005948274
2419185944B261   GEOVANY     AGUILAR                   NE          90012358594
2419214AA81644   JOSE        FELICIANO                 MO          90013951400
24192711572B88   SAIRA       NEVILLE                   CO          90004917115
24192782872B42   VENASSA     ALBA                      CO          90002127828
2419292AA9184B   VENUS       WILSON                    OK          21008519200
241932A837B358   MANUEL      HERRERA                   VA          81028332083
2419345A691828   DEVENA      POWELL                    OK          90012854506
24193597A2B27B   MARQUITA    WRIGHT                    DC          90012835970
241939A8A91541   NANCY       LOPEZ                     TX          90008009080
241941A8A5B571   TAMINICH    KRISTINA                  NM          35054891080
24194278A91522   AMANDA      RODRIGUEZ                 TX          90005272780
2419465498B179   MELISA      DICKINSON                 UT          90005556549
2419471525B271   ANA         HERNANDEZ                 KY          90001057152
24194716472B88   JESSICA     SANCHEZ                   CO          33058297164
24194994172B42   JOHN        DURAN                     CO          33033549941
2419499662B27B   VERNON      JOHNSON                   VA          81082549966
2419528939794B   ISSABELL    CASTRO                    TX          74062152893
2419559558B172   ANDY        VANDENOVER                UT          90008405955
2419628879184B   GUADALUPE   VERGARA                   OK          90006552887
24196427572B88   JADE        WINTERHALDER              CO          33073674275
2419643322B27B   AHMAD       ABDALLAH                  DC          90012684332
24196473372B42   ISTVAN      BAKA                      CO          33020764733
24196874787B59   JOE         SMITH                     AR          90009548747
2419692717B449   VALERIE     MCCRAY                    NC          11064119271
241977A2572B32   HERON       ESTRADA                   CO          90014477025
24197A32791953   ALONZA      HUNTER                    NC          90010950327
2419821734795B   TANISHA     REED                      AR          25044252173
2419985117B449   PAMELA      JONES                     NC          11011538511
2419B6A2372B88   RICKY       MUNIZ                     CO          90011696023
2419B77282B931   LANORA      GRIFFIN                   CA          90009977728
2419B7A8771935   LUIS        SANTIAGO                  CO          90012877087
241B164945B271   REBEKAH     TIDBALL                   KY          68095746494
241B1832585938   MARIA       MUNOZ                     KY          67096638325
241B2125891942   JORGE       VAZQUEZ                   NC          90006711258
241B256437B471   CHRISTINA   CANNIE                    NC          90012925643
241B267A731631   TAMMY       COLEMAN                   KS          90008756707
241B28A1431453   ANNETTE     CROFT                     MO          90015528014
241B316A772B88   JIM         VALLEJOS                  CO          90014781607
241B322439155B   VERENIZ     RUIZ                      TX          90011242243
241B3473391582   FRANCISCO   VILLA                     TX          90009964733
241B349AA91522   TYRONE      GREENE                    TX          90003464900
241B4143691356   KAREN       MCNAMARA                  KS          90014551436
241B463534B281   CATINA      WOODFORK                  NE          90010596353
241B4824A2B27B   OMAR        AMURRIO                   VA          90012278240
241B4891491828   TONYA       HATFIEOD                  OK          90007188914
241B4945781644   SKYE        TAUILIILI                 MO          90013949457
241B531517B358   FADI JA     ALARAMIN                  VA          90011543151
241B5A37A31453   CHYRESE     TROTTER                   MO          90014690370
241B643425B271   WANDA       HAYES                     KY          90015004342
241B6A58491828   NICOLE      JACKSON                   OK          90011450584
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241B717A79189B   SCOTT        HOWELL                   OK          90001781707
241B728729184B   MAI          CHANG                    OK          90012382872
241B72A1691356   ADAM         CALDWELL                 KS          90013202016
241B762548598B   SANDRA       RASMUSSEN                KY          90004326254
241B7975791522   TELEZ        LORENZ                   TX          90010329757
241B839369184B   PAYGO        IVR ACTIVATION           OK          90013963936
241B8466A72B42   GUSTAVO      ROSALES                  CO          33040404660
241B856437B471   CHRISTINA    CANNIE                   NC          90012925643
241B86A4131631   BARRY        BROWDER                  KS          22042776041
241B8853A5B161   MARIA        PAREDES                  AR          90012238530
241B8979672B32   JOEL         ZAMORA                   CO          90013529796
241B8A17291541   ROBERTO      ARTIAGA                  TX          90012840172
241B8AA1A5B571   LEONARDO     IBARRA                   NM          35060900010
241B9311631631   JESSICA      LAWYER                   KS          90009763116
241B9499555957   BRITTANY     SELF                     CA          90008874995
241BB22884795B   MANUEL       MEDINA                   AR          25083402288
241BB234455957   SANDRA       GONZALES                 CA          48052092344
241BB48319189B   TERAI        LEAIS                    OK          90014894831
241BB842391828   BECKIE       CARR                     OK          90001518423
241BB849544B62   ROSALYN      BULLARD                  OH          90014408495
241BBA83172B32   FAUSTINA     CARBAJAL                 CO          90014200831
242113AA241245   JOHN         SHAFFER                  PA          51035473002
24212311A4B551   MALIKA       MAYBERRY                 OK          90014633110
2421276919376B   DENISE       RINEHART                 OH          90010847691
24213A25872B32   MARTA        MORENO                   CO          33008900258
24213A81791356   ANAVESSY     MATTA                    KS          90015280817
24213AA174795B   MARIA        RODRIGUEZ                AR          25094670017
2421434764B261   MARY         PATTERSON                NE          27017473476
2421459182B27B   JEFFREY      WHITE                    DC          90013125918
24214663A5B271   SAMANTHA     GAITHER                  KY          90014636630
242146AA155957   RALPH        IZQUIERDO                CA          90006136001
2421693115B161   TYNESHA      GRIFFIN                  AR          90011199311
2421694949184B   CHAD         GRAY                     OK          90015129494
24216A12455957   JOSE         GONZALEZ                 CA          90015090124
24216A5A972B27   SCOTT        PHILLIPS                 CO          33023190509
2421714374B588   TEDDY        TESKE                    OK          90012721437
242176A9A85844   WENDY        BETHGE                   CA          90010196090
2421794619184B   MARCQUEL     EDWARDS                  OK          90013889461
2421795A54B261   TIFFANIE     RICHARD                  NE          90013189505
24218146772B35   ASHLEY       TRYELS                   CO          90013101467
24218448972B88   NIDYA        NORIS-FERNANDEZ          CO          33052124489
242198A4791828   JIMMY        HAMMONS                  OK          21097068047
2421B12895B161   HUBERTA      NEWBY                    AR          90014511289
2421B197272B32   SUN VALLEY   YOUTH CENTER             CO          33003771972
2421B424591541   PATRICK      OFALLA                   NM          75013214245
2421B564A55957   RAQUEL       RUIZ                     CA          90013255640
2421B91399155B   SALVADOR     ACEVEDO                  TX          90012639139
2421B99A831453   TARIA        HESS                     MO          90013579908
2421B9A1172B88   ESTRELLA     TALAMANTES               CO          90013489011
2421BAA367B471   TONY         JACKSON                  NC          90004830036
2422178729155B   RAMON        GONZALEZ                 NM          90008767872
2422221817B422   KATHRYN      CAREW                    NC          11079062181
2422222477B449   WALTER       DLAIR                    NC          11029402247
2422283644B588   MILTON       CHAVEZ                   OK          90010318364
24222962A9184B   JESSICA      MACIAS                   OK          90009859620
2422359885B54B   WILLIAMS     PADILLA                  NM          90015145988
2422362A67B471   VANESSA      LAMAR                    NC          90014696206
2422399454B588   OCTAVIO      ALBA                     OK          90004119945
24223A7289155B   SONIA        SIERRA                   TX          90002270728
24223A97172B32   LUIS         GUTIERREZ                CO          33071410971
24223A99555923   ANGELA       HERNANDEZ                CA          90015160995
242244A1172B32   MIGUEL       BARRON                   CO          90004894011
2422634279155B   DANIEL       ALCALA                   TX          75079803427
2422673A391828   LORENA       RIVERA-CEJA              OK          21090267303
2422694A12B931   ALICIA       CHANEY                   CA          90002879401
2422726987B449   ROGER        CHACON                   NC          90013422698
2422763322B232   LILLIAN      MACFARLAND               VA          90010466332
2422786A491953   CHARLENE     HARRIS                   NC          17074778604
2422844829189B   TARESHA      HARRISON                 OK          90011394482
24229275336B95   TOGI         LUAPITOFANUA             OR          90004742753
2422975654B261   DENA         PUTNAM                   NE          27068527565
2422979195B271   WILSO        SOCOP                    KY          90011937919
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24229944A91241   CRYSTAL           GREEN               GA          90009599440
2422B36147B449   JAZQUELINE        NICHOLS             NC          11000063614
2422B3A8531453   ELZEE             MAJOR               MO          90015153085
2422B531691541   GLORIA            SALAZAR             TX          75087065316
2422B933455957   NORA              FLORES              CA          90000639334
2423182692B232   LATOYA            JACKSON             DC          90004088269
242318A419189B   SUSIE             ANDERSON            OK          90008328041
24231A29291541   ELIZABETH         LOPEZ               TX          90012170292
2423222794B588   CESAR             ESPARZA             OK          21510592279
2423265334B281   JAIME             ERIN                NE          90011796533
2423281215B271   MATTHEW           MOHR                KY          68098258121
2423292294B261   SHEILA            LEIGHNER            IA          27041229229
242332A929155B   ERIKA             GALARZA             TX          75080992092
24233816972B88   JULIE             FAIRCHILD           CO          33055828169
242338A3151369   VAUN              MITCHELL            OH          66097448031
24233A19791953   LATESHA           WINSTON             NC          17043620197
24234299372B32   JOHN              GURULE              CO          33025232993
2423497789189B   CHRISTINE         BOWMAN              OK          90014179778
24234A9467B471   JOAQUIN           NATAREN             NC          90010730946
24235567472B42   ROEL              MATA                CO          33033555674
24235944572B88   MIKE              PERALTA             CO          90014759445
24236A73591828   COURTNEY          ST CLAIR            OK          90014610735
2423721247B471   EUREKA            BYNUM               NC          90014272124
242375AA172B32   COLLEEN           ESPARZA             CO          33094845001
24238513172B42   DAVID             DAVIS               CO          90010625131
2423922937B449   MONTAYA           DANIELS             NC          90012082293
2423951429152B   ALBERTO           MENDOZA             TX          90009595142
2423B153691356   LEON              CARTER              KS          29018421536
2423B55675B571   BRENDA            HELMICK             NM          35087075567
2423BA86931433   DAVIDSON          JEROME              MO          27594600869
2424124615B271   CLIFFORD          WEBB                KY          68002912461
2424192229155B   SELENA            ROSALES             TX          90004989222
24241A94791953   EUGENIA           JENNINGS            NC          90009830947
24242151A72B32   JUAN ANTONIO      PARRA MARQUEZ       CO          90015141510
2424255399184B   BOBBY             MCKILLIP            OK          90014055539
24242897376B84   FABIAN            MORALES             CA          90008988973
242432A8684364   MAUREEN           ROACH               SC          90014902086
24243439A91953   RENEE             TUCKER              NC          90010374390
242435A452B27B   ANTOINE           CAIN                DC          90004265045
24243688A9184B   MARK              THOMPSON            OK          21082516880
24243A64672B42   ROXANNE           HERRERA             CO          90013520646
24244294A9155B   GABRIELA          MARISCAL            TX          90011242940
24244342A31631   KURT              COLEMAN             KS          90015153420
24244A8542B27B   KAREN             BRANCH              DC          90014810854
2424517654795B   AMY               BENDICK             AR          90010551765
2424579379184B   AARON             MISAK               OK          90003767937
2424589A17B449   LATASHA           HARDEN              NC          90006068901
242458A434B231   MELVIN            MELENDEZ            NE          27024748043
24245A3299155B   CRYSTAL ANNETTE   LOPEZ               TX          90008410329
24246179A2B27B   VANESSA           BROWN               DC          90010571790
2424628675B271   CLARENCE          KAYS                KY          90013362867
24246647A31453   NYQUITA           CRINER              MO          27559966470
24246A5419155B   IGANCIO           MARTINEZ            TX          75097840541
24247121A72B53   ELICIA            LOVATO              CO          90012751210
24247248A9155B   JUAN              HERNANDEZ           TX          75097842480
24247582A72B42   MARANDA           KILLEN              CO          90013295820
2424778437B274   ANDREW            RODENBUCHER         AZ          90013927843
24247A16391541   LUZ               CUEVAS              TX          90005710163
2424831687B449   ERICA             MITCHELL            NC          90013743168
24249759472B88   FELIX             ORTEGA              CO          33062307594
2424B17AA9155B   LINA              LEYVA               TX          75031141700
2424B362272B42   MICHAEL           GEORGE              CO          90013083622
2424B623572B42   ORIANA            JHONSON             CO          90014726235
2425184695B271   BRITANY           GRIFFIE             KY          90013878469
2425197949189B   MARTIN            BITTLE              OK          90011049794
24251A19A72B88   TESSA             VIGIL               CO          90012170190
24252A38891522   RAUL              DE LA CRUZ          TX          75014200388
24253152A57157   MICHAEL           OFORI               VA          81010491520
24253864172B32   CESAR             LOPEZ               CO          90014918641
2425392972B931   HERNANDEZ         ROBERTO             CA          90000839297
24254A9984B56B   FANNY             ERAZO               OK          90012680998
24255167272B32   GLORIA            PRIETO              CO          90012871672
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24255662272B41   JULIE       ANGELO                    CO          90006016622
24255A82254123   ANDREA      MATLOCK                   OR          90007120822
2425619A384364   KRYSTLE     REESE                     SC          90013601903
2425651979184B   ANDREW      BLEVINS                   OK          90014855197
24256656672B32   DIEGO       SALAZAR C                 CO          33071606566
24256A47355957   RAFAEL      HERNANDEZ                 CA          90006040473
2425767A776B52   RUBEN       TIRADO                    CA          90002556707
2425822427B471   TEAZHA      WADE                      NC          90011712242
24258258A84364   ANGEL       BAILEY                    SC          90010372580
2425884374B588   SHAQUANDA   MITCHELL                  OK          90009628437
2425926424B588   LYDIA       PANTHER                   OK          90009172642
24259383A71935   KENNETH     BALDWIN                   CO          32016043830
24259A6237B471   NAZARIO     BRITO                     NC          11047800623
2425B28587B471   JOHN        BOOTH                     NC          11048562858
2425B46855715B   ALBA        GONZALEZ                  VA          90000434685
2425B725691541   TOMMY       MARTINEZ                  TX          90011967256
2425B85269189B   PAUL        MOURA                     OK          90013198526
2426147A891953   MICHAELA    GRANT                     NC          90013994708
242618A569155B   KERI        SMITHERS                  TX          90000468056
2426195A291541   AMANDA      TAPIA                     TX          90010749502
2426291282B27B   PEDRO       NAVA                      DC          81092109128
24262A3579184B   JERRY       WHARTON                   OK          90013720357
2426367759184B   LAURI       PETERS                    OK          90010656775
24263683572B32   DEANA       AMPTMAN                   CO          90010246835
24263714772B88   RAFAEL      ENCARNACION               CO          90000557147
2426428237B449   ALBERTO     SORTO                     NC          90013422823
24265394572B32   ABRAHAM     MUNOZ                     CO          90012403945
2426558449189B   KRISTY      PETERS                    OK          21083735844
2426678A672B42   CHICA       SEXY                      CO          33052557806
242674AA872B38   NOEMI       MEDINA                    CO          90014844008
2426767357B471   TIRNEKA     ROSS                      NC          90014696735
24267A2A747952   JOEY        SCHOGGINS                 OK          24054130207
24267A71791541   ARTURO      VASQUEZ                   TX          75040940717
2426851979184B   ANDREW      BLEVINS                   OK          90014855197
242689A1772B32   SUSAN       CHANDLER                  CO          90006469017
2426997A72B27B   JEFFERY     FORD                      DC          90011579707
2426B166991522   IRENE       GARCIA                    TX          90007061669
2426B46794B261   BRIAN       HANKE                     NE          27072334679
2426B81979155B   MARIA       GOJARA                    TX          90008768197
2426BA2A24B281   BRANDON     GOSWICK                   NE          27074950202
24271424872B88   TANIA       GUILLEN                   CO          33001644248
2427166A64B261   MARIA       PAULA MENJURA             NE          90013316606
24273435A84364   MONICA      QUIROZ                    SC          90009964350
2427449AA84364   EDDIE       LASOS                     SC          90013094900
2427472714B588   LIZANDRO    SIFUENTES                 OK          21503437271
24275688A51369   LISA        JOHNSON                   OH          66024176880
2427628657B449   BRADFORT    CLINTON                   NC          11059842865
242762A769184B   LINDSEY     ANTWINE                   OK          90008342076
2427636789189B   WILLIAM     JONES                     OK          90013093678
2427641512B27B   EMELINA     YANEZ                     DC          81019574151
24276A55655957   ELIZABETH   GUIZAR                    CA          90015160556
242771A924B588   EUSTACE     PAIGE                     OK          90013551092
242773A9855957   IRENE       LOPEZ                     CA          48043583098
242773A9A91828   KENNETH     KARNS                     OK          90009373090
24277914A71935   GLENDA      ESPINOZA                  CO          90003029140
24278A3385B571   MOISES      GRIEGO                    NM          35044480338
2427928A65B571   SHELLY      MANN                      NM          90001622806
24279A25772B88   MARICELA    RAMOS                     CO          90013260257
2427B517141245   CANDICE     ROBINSON                  PA          51089885171
24281149672B32   OMAR        ARGUETA                   CO          90012431496
2428159265B36B   OSCAR       FLORES GARCIA             OR          90004295926
24281645498B72   TONY        JACKSON                   NC          90011916454
2428176989184B   JEREMY      JONES                     OK          21097127698
2428214AA41245   LEANNE      BIELEC                    PA          51002801400
2428297A891522   JOSUE       HERNADEZ                  TX          90011129708
242832A9291541   ERIKA       GALARZA                   TX          75080992092
242844A6141245   JAMES       ROEDLER                   PA          51039894061
2428459424B588   CLYDE       LAVIOLETTE                OK          21558005942
242859A2A72B42   CONSWELLA   GIBSON                    CO          90004719020
24285A51672B32   BILL        MCCAINN                   CO          33095800516
24285A85785938   CHANEL      SMITH                     KY          90007650857
2428649674B588   NICOLE      ERVIN                     OK          90014194967
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24286828872B88   JUDITH       GARCIA                   CO          90013638288
24286912172B42   INOSENCIO    NAVA VASQUEZ             CO          33095549121
2428753465B571   HEMERECK     ULIBARI                  NM          35004465346
24287A97A4B588   NATOYA       KNAPPS                   OK          90008620970
24287A99191541   NORMA        SEPULVEDA                TX          90011150991
2428863874B281   ISRAEL       GARCIA                   NE          90012466387
24288819A41245   ALBERT       PICKENS                  PA          90000998190
2428882775B271   GREGORY      FORD                     KY          68056818277
2428897A172B88   CYNTHIA      EAKINS                   CO          33071629701
2428B23422B841   FRACES       APACHECO                 ID          90007062342
2428B44414B261   RICHARDSON   EDIONSERI                NE          27044374441
2428B74A491356   JERMICHAEL   JORDAN                   KS          90013837404
2429169879184B   CASSANDRA    RAMIREZ                  OK          90010986987
2429175134B261   TOLISHA      GREEN                    NE          90002577513
24291A2925B161   RYNESHIA     SANDERS                  AR          90014780292
24291A7A591522   HERMINIO     TAFOYA                   TX          90001870705
24291A9899794B   CARLOS       SANCHEZ                  TX          90001430989
24292145A31453   AASHYA       QUARLES                  MO          90012301450
2429289A691522   MICHAEL      MARQUEZ                  TX          90008348906
242934A9272B32   SHAW         KIM                      CO          90009354092
24293771A91522   WILLIAM      ROACH                    TX          90005027710
2429422914B281   F            ZENON                    NE          27071572291
24294395A24B55   MARCOS       LIUZZI                   VA          90010543950
2429458AA4B588   TRACY        AARON                    OK          90012825800
2429545385B161   ANTHONY      JOHNSON                  AR          90015214538
2429568912B27B   AKEEM        JACKSON                  DC          90008846891
24295722272B88   RAFAEL       HURDADO                  CO          90015127222
24295967772B88   JAMIE        VENEGAS                  CO          90013779677
2429646A472B32   SELINDA      COSTA                    CO          33087344604
2429674775B161   MICHAEL      SMITH                    AR          23066567477
24296A13631453   ALFRED       DANIEL                   MO          90004410136
24297176924B55   ARKEL        BIRDGEWRITER             MD          90015531769
2429868A62B27B   DEBORAH      HICKSON                  DC          90013186806
24298A5942B232   LILLIAN      GREENE                   DC          81080150594
24298A77272B88   SEAN         RILEY                    CO          90012640772
24299AAA297173   JOSE         MARTINEZ REYES           OR          90007830002
2429B189647952   TINA         NGUYEN                   AR          90008471896
2429BA1779189B   JESSICA      GOEBEL                   OK          90012500177
242B149A271935   JERRY        HARRIS                   CO          90015274902
242B184335B161   JEMORL       RINCHER                  AR          23006988433
242B1A2814795B   MICHELLE     CHAVEZ                   AR          25006890281
242B2177272B32   NELSON       MARCUS                   CO          90014021772
242B221339189B   AIDE         ALVARADO                 OK          90012902133
242B23AA731453   SHELLY       DIXON                    MO          90015153007
242B2576981644   PIERA        ROSS                     MO          90011395769
242B2849572B88   LEONARDO     GODOY FALCON             CO          90014558495
242B3166355957   ERIC         BREAUD                   CA          90014351663
242B3171641245   ANDREA       SAVILLE                  PA          90005731716
242B3624A31631   ZONA         BALLOU                   KS          90006166240
242B3A24755931   ALEX         GARCIA                   CA          90010920247
242B4299A5B271   KIMBERLY     SHIVELY                  KY          90005232990
242B51A515B571   ANTONETTE    ORTIZ                    NM          35094221051
242B538A14B261   LINDA        MULHOLLAND               IA          90007693801
242B54AA92B931   JEFFERY      LEE                      CA          90010904009
242B581419155B   SANDRA       LOPEZ                    TX          75092308141
242B59AA42B27B   MARQUITA     GREEN                    DC          90011579004
242B6253255957   NATHANIEL    STEFFENS                 CA          90012092532
242B6297791356   SABRINA      MCGOWAN                  KS          90014852977
242B6489724B55   ELIZA        CORADO                   VA          90013884897
242B662569184B   WILLIAM      DAVIS                    OK          90015016256
242B664917B449   JERRY        REID                     NC          90015116491
242B7828191541   WALTER       CONNOR                   TX          75031968281
242B829334B261   ALFREDO      SANCHEZ                  NE          90004862933
242B865A784364   YVONNE       WATERS                   SC          90002386507
242B88A9671935   KELSEY       MILLER                   CO          90006438096
242B8A72431453   MICHAEL      BRADSHAW                 MO          90001350724
242B9381372B88   JACQUELINE   B COMMINELLO             CO          33041243813
242B9495391522   MARIANA      GANDARA                  TX          75002334953
242B9A9824B281   NICHOLAS     PETERKA                  NE          90004940982
242BB258A9189B   ERIC         SAMPLE                   OK          90014082580
242BB571991525   NELLY        LIMON                    TX          90014435719
242BB692A4B261   KATY         RUBIALES                 NE          90014286920
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242BB717555957   MARCUS         PIPPINS                CA          90013937175
2431161439189B   JOYCE          WARE                   OK          90012346143
2431294A971935   JOHN           JAQUEZ                 CO          90015199409
24312A36772B32   JOSE           JIMENEZ                CO          90001330367
24312A76131631   REBECCA        WALTERS                KS          90015270761
2431511795715B   KENDRA         VILLANUEVA             VA          90004101179
2431547829794B   CARINA         LEON                   TX          74095434782
2431673987B471   TERRI          REED                   NC          11078097398
2431735614B281   DAVID          MAYEN                  NE          90000433561
243196A8771935   JENNIE         ZERFAS                 CO          32009756087
24319842472B42   LUZ            TORRES                 CO          90001308424
2431B29274B261   GEORGE         BECKWITH               NE          90002072927
2431B425272B42   YUSUF          MUSAALI                CO          90009834252
2431B443931631   MARIE          MCDONALD               KS          90007354439
2431B514751333   DWAYNE         HAYES                  OH          90012685147
2431B66762B27B   SHIRLEY        BROWN                  DC          90005936676
2431BA29831433   GINA           ANTHONY                MO          90001450298
2432142825B271   FEDERICO       VEGA                   KY          90010504282
2432257764B588   BRAHAYAN       COTA                   OK          90014125776
24322916187B59   LISA           BUDD                   AR          23072209161
24323192772B42   ERIKA          GUILLEN                CO          90014091927
2432362719189B   KAWONNA        WARD                   OK          90014836271
2432377227B471   TIAZSA         PARHAM                 NC          90014697722
2432434284B588   BRYAN          ALVERADO               OK          90013803428
243254A517B358   MAURICIO       GONZALEZ               VA          90005044051
2432599445B271   JESSICA        WATTS                  KY          68079889944
2432678947B471   MISSY          DUMLAP                 NC          90014697894
2432686185B271   LICET          IMBERT-MATOS           KY          90014738618
2432713814B261   NORBERTO       IBANEZ                 NE          27085791381
2432749274B261   JOSHUA         VILLEGAS               NE          90014234927
2432754258598B   SARAH          WALSH                  KY          90013485425
24327AA1591828   KIMBERLY       SETWART                OK          90009010015
243285A274B588   MITCHELL       EVANS                  OK          90014855027
243291AA69155B   EDUVIGES       VILLA MORENO           TX          90008261006
24329A3535B571   SERGIO         AGUILAR                NM          90004360353
2432B818891953   JOSEFA         GONZALES               NC          90013568188
2432B886A5B271   NATHANIEL      PEARSON                KY          90015128860
2433238574B261   JILL           SMARTY                 NE          90014673857
24332588A91241   LESLIE         JOHNSTON               GA          14570615880
24332914187B87   EDNA           DUNN                   AR          23088799141
2433322A591828   SERGIO         CABELLO                OK          90011002205
243339AA87B471   GREENE         ALESIA                 NC          90011409008
2433565175B271   TREMIKA        MITCHELL               KY          90012166517
2433631A45B571   ISRAEL         MEDINA                 NM          90010573104
24336567A91522   JOSHUA         CHAVIRA                TX          90012285670
24337689A72B88   CECILIA        LOPEZ                  CO          90014816890
2433796417B471   QUINTIK        BERRY                  NC          90014729641
24337A8294B588   EVA            ROUBERT                OK          21558260829
243382A6557157   TRAVIS         TUCKER                 VA          90012122065
2433868615715B   CARLOS         RODRIGUEZ              VA          90000926861
24339864A71935   NANCY          HARVEY                 CO          90007438640
24339A3A472B88   HECTOR         VELOZ LUEVANO          CO          90007310304
2433B417651325   LUIS ALBERTO   CALIX                  OH          90013124176
2433B74A57B449   CHARLES        CLARK                  NC          11058077405
2433B81987B471   LORENZO        LEWIS                  NC          11003548198
2433B878831453   CASSANDRA      KEYES                  MO          90015118788
2433B949331453   JASMINE        JAMES                  MO          90013839493
2434133A331453   ALICIA         GARCIA                 MO          27509103303
2434221879794B   CHRISTOPHE     MARTIN                 TX          74004632187
243423A3991953   IVAN           SINDORF                NC          90015123039
24344558372B88   RONAL          PEDRIN                 CO          33045845583
2434566164B588   MARIA          JAY                    OK          90010456616
24345A53155957   MICHAEL        TAYLOR                 CA          48090640531
24346A5A39155B   JUANITA        MERCADO                TX          75075010503
24346A89984364   DELVETON       CHESTNUT               SC          90013370899
2434857162B27B   RICARDO        LOVE                   DC          90012565716
2434938792B27B   XAVIER         WYNN                   DC          90014103879
243494AA39155B   DOMINGUEZ      DAVID                  TX          90011244003
2434982A15B271   CARMEN         BORDES INFANTE         KY          90013238201
24349A55587B87   SHARON         CHAPMAN                AR          90014290555
2434B224291356   BETTY          FARMER                 KS          29019642242
2434B478A7B449   PEDRO          BARRON                 NC          90011254780
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2434BA66647952   CINDY       KING                      AR          90008040666
2435128439184B   KOURTNEY    STONE                     OK          90009862843
2435132A291953   GABRIELA    GUZMAN                    NC          90013973202
2435135A991541   JOE         RIVERA                    TX          90010933509
24351465972B42   JORGE       VIZARRO                   CO          90011944659
2435272A691828   SHANE       REED                      OK          90014757206
24354177672B88   AGUIRRE     MISAEL                    CO          90007401776
2435421A65B271   TASHANNA    BOLDEN                    KY          90006932106
24354882172B25   NICOLE      PALMA                     CO          33098338821
2435517152B27B   ANTHONY     STODDARD                  DC          90014571715
243553A357B449   NAHOMY      BELEN                     NC          90013423035
24355624A4B588   APRIL       TURNER                    OK          90008446240
2435568325B571   JESSE       DICKERSON                 NM          90004566832
243564A1A81644   ASHLEIGH    CRAVEN                    MO          90013954010
243566A9A91356   JENNY       MCINTYRE                  KS          90005706090
2435713A94B261   KEVIN       WIMES                     NE          90014281309
2435734A372B32   CRISTINA    VILLALON                  CO          90007483403
2435857777B449   SHERIKA     STREETER                  NC          90008605777
2435884444B261   LUIS        MORAN                     NE          27033918444
2435946344795B   JUSTIN      HUNSLEY                   AR          25058524634
243597A6172B42   JANIE       IALPANDO                  CO          90012917061
2435B23484B261   LUCAS       LACY                      NE          90011522348
2435B35755715B   LEONEL      GUADALUPE VILLA LOBOS     VA          90004503575
2435BAA9A55957   KIMBERLY    UTIERREZ                  CA          90013000090
24361369A5B161   KENESIA     DAVIS                     AR          90004153690
2436148169184B   JENIFER     BODIRSKY                  OK          90014314816
24361A54931445   SHONTA      WEBB                      MO          27511510549
2436222135B161   SHARON      TURNER                    AR          90014152213
24362345172B88   MICHELLE    JACKWAY                   CO          90006273451
243628A5172B32   JOSE        HERNANDEZ                 CO          90010778051
24364875972B42   PRECIOUS    GAMA                      CO          90004468759
24364A8937B449   BLANCA      TORRES                    NC          90014480893
24365587672B42   JIMMY       GONZALES                  CO          90010935876
2436711514B261   MELANIA     FRANCO                    NE          90014621151
2436737A491953   VU THOI     NGUYEN                    NC          90013533704
2436778289155B   VICTORIA    AGUILAR                   TX          90011567828
24367868A7B449   AMBER       NUNUZ                     NC          90002618680
24367975872B88   ANTHONY     JIMENEZ                   CO          90012909758
2436823615B271   CARLOS      ALBERTO                   KY          68088972361
2436829954B281   CHERI       LAING                     NE          90007532995
2436911A35B271   REBECCA     MCCUBBINS                 KY          90014781103
24369215A31433   SHERICO     WHITE                     MO          27574332150
24369657A4B261   DEANNA      JAYNES                    IA          27007696570
2436B118181644   MIGUEL      MENDOZA                   MO          90014671181
2436B647847952   WILLIE      LOVE                      AR          24095716478
2437137A255957   PAUL        GARCIA                    CA          90015173702
24371A39772B88   DANNY       MATTORANO                 CO          90000620397
24372287872B42   ALEX        GOUDESEUNE                CO          90013172878
243723A3671935   MARIA       HERNANDEZ                 CO          90010413036
24372634A91522   ROCIO       CARMONA                   TX          90013646340
2437265AA31479   MONIQUE     SLEETS                    MO          90013136500
2437349522B242   LATIA       PLOWDEM                   DC          90007754952
243734A5184364   CRUZ        BERRIO                    SC          90013654051
2437353172B27B   DAJUAN      ROWN                      DC          90012785317
24373611872B42   TAVIA       EMERSON                   CO          90014146118
2437381168594B   DONTAY      CARTER                    KY          90003658116
2437388A987B59   CD          RICHARDSON                AR          23024938809
24373A54A55957   LEE         TAMAYO                    CA          90004680540
2437439854B261   ALEXE       ANDERSON                  NE          90009713985
2437447837B471   REBECCA     DAVIS                     NC          90011104783
24374523A91522   ABIGAIL     MENDOZA                   NM          90010415230
24375123872B88   ANTHONY     CHAVEZ                    CO          90012791238
2437518215715B   MD          JAKIR HOSSAIN             VA          90013681821
24375A1AA31631   MICHELLE    THORNTON                  KS          22095180100
2437623619794B   ALEJANDRO   MARTINEZ                  TX          90003192361
2437631A791541   KARLA       MONTES                    TX          90012573107
24376548A57133   CARMELO     CHAVARRIA                 VA          90006485480
24376A9635B161   ANGELA      STUART                    AR          23051860963
2437713A32B27B   WALTER      TRIPPLETT                 DC          90011501303
24377179A2B27B   WALTER      TRIPPLETT                 DC          90014761790
2437723A472B42   DIEGO       LOPEZ                     CO          33042532304
2437735A572B88   FRANKLIN    KEELS                     CO          33011243505
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2437738684B588   LUIS          MOLINA                  OK          90007323868
2437828A931453   STEVEN        SMITH                   MO          90009192809
243787A2155931   ISMAEL        MAZANO                  CA          49084257021
24378A33791522   ZAMORA        ANGEL                   NM          90011610337
24379566172B32   RAYMOND       BURCH                   CO          90014495661
2437B12245715B   DAVID         CRUZ                    VA          90000901224
2437B41A191356   ARELY         DOMINGUEZ               KS          90008744101
2437B454155957   ALBERT        COTA III                CA          48069024541
2437B7A637B449   KWON          RATLIFF                 NC          90007927063
2438148539155B   RAFAEL        BELTRAN                 TX          75071924853
24381A12191953   MICHELLE      MAH                     NC          90012330121
24382412872B88   KAREN         SANDOVAL                CO          90011594128
2438298754B588   ABIGAIL       MALLONEE                OK          21557969875
2438342682B27B   EDWARD        HARRIS                  DC          90013614268
24383673A7B471   EMMANUEL      GBARBEA                 NC          11091166730
24383A3264B588   MARIN         KARINA                  OK          90014010326
24384167A91828   BRIANNA       DAILY                   OK          90013241670
2438435655B271   BRAD          JEFFERY                 KY          90010493565
24384448A71935   MARIO         FLORES                  CO          32040604480
2438497399184B   JENNA         DOBSON                  OK          21011759739
2438594379155B   CARLOS DIN    DE LEON                 TX          90010439437
243861A2281644   REBEKAH       MILLSAP                 MO          90012201022
2438713797B449   RONY          ORELLANA                NC          11003811379
2438731595B271   CRISTIANE     SANTOS                  KY          68009043159
2438744469184B   BRITTANY      CHAPLIN                 OK          90009864446
2438747614B261   JULIA         RELFORD                 NE          90013354761
24387793A91828   TREY          STEVENS                 OK          90010797930
24387AA6985999   MARIO         GERMAN-LECHUGA          KY          90010610069
2438893977B471   JOSEPHINE     STARR                   NC          90014699397
2438965279155B   YOMARA        MENDEZ                  TX          75007476527
2438B137872B42   BARBRA        MAES                    CO          33084961378
2438B564781644   SANDRA        RAMOS                   MO          90014945647
2438B788A41245   JAMES         JONES                   PA          51041477880
24392914724B55   NELSON        MARTINEZ                VA          81046259147
24392A2154B588   GUADALUPE     CORTEZ                  OK          90015280215
24392A9119189B   ANEL          ALVAREZ                 OK          90010250911
2439313A55715B   LORDA         CHAVARRIA               VA          81043761305
24394495676B4B   ASHLEY        ABELL                   CA          90012414956
24394879272B32   BARRETT       JEREMY                  CO          90007278792
243948A9257157   BONNIE        NAPPER                  VA          81011358092
2439529125715B   EDELMIRA      REYES                   VA          90000302912
24395769372B88   RUYOU         WANG                    CO          90012707693
2439672434B261   MONICA        ROBINSON                NE          90002477243
243972A4171935   EDIN          TALOVIC                 CO          90003382041
2439782A291828   TAMISHA       RIVETS                  OK          90011468202
2439895577B449   PAYGO         IVR ACTIVATION          NC          90013669557
24398A25472B88   JESSICA       SANCHEZ                 CO          90011490254
24399165972B32   JONELLE       CASAREZ                 CO          33081441659
2439944578B332   MELISSA       PRESSLY                 SC          90012554457
24399761A9189B   KARRA         SULLIVAN                OK          90009317610
243999A6A47952   NORLEEN       MILLER                  AR          90007319060
24399A2A724B55   WILLETTA      CARTER                  DC          90009380207
2439B74455B271   KEVIN         DIEHL                   KY          90013227445
2439B77787B449   BERTHA        MILLER                  NC          11088637778
2439B853241261   TONI          TAYLOR                  PA          90001068532
243B111484B588   BRANDI        GILKEY                  OK          90013361148
243B143A49184B   JAMES         NOWLIN                  OK          90011544304
243B155757B449   THEODORE      BROWN                   NC          90011735575
243B162A585951   ASHLEY        BATTS                   KY          90001756205
243B1998A2B27B   SHONTIA       PANNELL                 DC          90011579980
243B2357191356   JAIME         HERNANDEZ               KS          90007793571
243B2416371935   CHRISTOPHER   MCCULLOCH               CO          90015134163
243B2737A91828   CHRISTY       HAMILTON                OK          90010247370
243B2AA285B57B   MARK          GURULE                  NM          90010060028
243B3952991522   JORGE         GONZALEZ                TX          90005499529
243B4145791522   VIRGINIA      LUDWIG                  TX          90013801457
243B4661531453   JIMMY         LASTER                  MO          27538726615
243B4A8A39189B   JAMES         TODD                    OK          90014570803
243B5531572B32   LYNNE         CHAVEZ                  CO          90010415315
243B593155B271   DALE          KELLEY                  KY          90003519315
243B615919794B   JOSE          MOLINA                  TX          90007041591
243B64A9472B88   KRYSTA        WALTERS                 CO          90011594094
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243B7194897122   MONICA       RUIZ                     OR          90009731948
243B792929155B   PRISCILA     HERRERA                  TX          90009229292
243B9118481644   SOLOMON      ABEBE                    MO          90009341184
243B9483184364   SYRAN        AUSTIN                   SC          90008854831
243B953A272B88   MICHAEL      GOMEZ                    CO          90000395302
243B9882171935   JASON        STANLEY                  CO          90012878821
243BB498A72B42   MINOTT       TANA                     CO          33016254980
243BB976861937   FABIAN       BERNSTEIN                CA          90014009768
243BB981772B88   MARIA        RODRIGUEZ                CO          90004209817
24411946872B88   RICARDO      RODRIGUEZ VAZQUEZ        CO          33046719468
2441259945B271   MARK         PIERCE                   KY          90013025994
24412994A31631   MARCELO      ALFARO                   KS          90001139940
2441331157B449   CRYSTAL      MILLER                   NC          11006733115
2441349815B271   TANISHA      COOK                     KY          68045644981
24414183472B42   ANTOINETTE   MARTINEZ                 CO          33075451834
2441477574795B   CHRISTINA    GUZMAN                   AR          25064897757
2441496687B471   MARTHA       CORREA                   NC          90014729668
2441555A24B261   CRISTOPHER   TROTTER                  NE          90005495502
24417154A72B32   RANDY        ARAGON                   CO          33011121540
2441774495B571   MARIA        ARREDONDO                NM          90009957449
244177A875B161   DECHAUNTA    KENDRICK                 AR          90009177087
24418218672B32   EFREN        GARCIA                   CO          90000802186
24418811872B42   CLAUDIA      SIMENTAL                 CO          33078578118
2441885289184B   CAMERINO     JIMENEZ                  OK          90009928528
2441885A94B588   BRITANI      STEWART                  OK          90015048509
2441934664B261   JENIFER      WINSCOT                  NE          27003813466
2441963552B931   ALBERTO      VASQUEZ                  CA          90003346355
24419649A7B471   TIANA        GORDON                   NC          90014706490
2441B122A31433   PAMELA       ADAMS                    MO          27589171220
2441B188191953   CARMEN       AGUILAR                  NC          90014991881
2441B316184344   BEVERLY      HILZENDAGER              SC          19050983161
244217A2271935   AMBER        GABELMAN                 CO          90012987022
24421A1199189B   STACY        LOPEZ                    OK          90013540119
24422258A5B232   MICHELLE     EDWARDS                  KY          90007462580
244225A749189B   SHEREE       ELMORE                   OK          90010525074
2442291217B449   CHAKIRA      WOODARD                  NC          90014599121
24422AA927B449   REGINA       SMITH                    NC          90009850092
2442381754B588   SILVER       FRIES                    OK          90010358175
24424199776B62   SCOTT        SPRIMONT                 CA          90013101997
24424215A72B42   KACEY        CAMPBELL                 CO          33097142150
2442421697B644   LASHONDA     WILLIAMS                 GA          90014012169
2442443815B271   KAYLA        GUEST                    KY          90012054381
2442492535B161   KIMBERLY     LEE                      AR          90014849253
2442494755B571   LAUREN       SADOWSKI                 NM          35095219475
24426682472B88   EDUARDO      SARABIA                  CO          90013416824
24426969A81644   JEFFREY      HOLLAND                  MO          29044819690
24427A5828B394   MICHELLE Y   DAVIS                    SC          90011850582
24428352A9189B   CATALINA     GOMEZ                    OK          90014853520
2442866457B471   ADRIAN       LOPEZ                    NC          90014706645
24428996572B88   LUIS         FRANCO                   CO          33012139965
2442961755B161   BECKY        TONE                     AR          90013626175
2442B1A554B261   WALLACE      HARPER                   NE          90015581055
2442B455571935   MEGAN        MCCABE                   CO          90011244555
2442B498381644   CHANELE      CHRISTINE                MO          29058034983
2442B51A35B271   KIARA        TENNYSON                 KY          90013725103
2442B842872B88   GUSTAVO      SANDOVAL                 CO          33060178428
2442B935171923   JUSTIN       MOSS                     CO          32065679351
2442BA9AA7B471   JAVIER       HERNANDEZ                NC          90010210900
2443155337B449   GREGORY      BRYANT                   NC          90004535533
24432895672B88   TATIANA      BONILLA                  CO          90013048956
24433976972B88   JEFF LEE     EVANS                    CO          90013159769
24433A9857B471   ANGELICA     BENITEZ                  NC          90003490985
2443494294B261   MEAGEN       JOHNSON                  NE          90014799429
2443513A42B27B   OC           ANDREWS                  DC          90013051304
244352A5431453   TAMMY        ROBINSON                 MO          27547972054
24435A47285938   ADRIANNE     RAGLIN                   KY          90005220472
24435A8829184B   TERI         TERRY                    OK          90012010882
2443715825B271   LILY         B                        KY          90014291582
244376A787B471   LATASHA      CRAWFORD                 NC          11010866078
2443774A672B88   RAUL         REZA                     CO          33067077406
2443782734B281   CORY         PRATER                   NE          90010608273
2443836573B144   JAMES        ROY                      DC          90002443657
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24438A61591241   WEDNESDAY    THOMAS                   GA          90013480615
2443995467B471   HANNA        PHIFER                   NC          90009549546
24439A6A49189B   KIM          MICHAEL                  OK          90010050604
2443B27997B471   JASMINE      ROBINSON                 NC          90010432799
2443B795772B42   SHAWN        ELLIOTT                  CO          90012747957
2444184255B161   RUBUN        NIMS                     AR          90013828425
24441A7919184B   MARIA        JONES                    OK          21088010791
2444221824B588   TIMEKA       ALEXANDER                OK          90014562182
24442682572B88   MARCELO      FLORES                   CO          33041236825
24443173872B88   LENNON       BARNICA                  CO          90014451738
244449A8576B84   FABIAN       MORALES                  CA          90008989085
2444544A631453   DAVID        STICE                    MO          90015274406
24446345A9794B   ALEJANDRO    GONSALEZ                 TX          90006713450
2444678A491828   SHANICE      ROSS                     OK          90008617804
2444748A585938   JOSE         GUTIARREZ                KY          90002304805
2444757769189B   VIRGINIA     HORTA                    OK          90010765776
244476AA771925   DAVID        RYVER                    CO          90002426007
24447745A7B471   IVAN         MORALES                  NC          90014707450
24448557672B32   MARTHA       CORTES                   CO          90015135576
244487A375B271   LEWETTE      HOTT                     KY          90004517037
2444889672B27B   MILTON       PARKER                   DC          90002348967
2444919855B161   CHRISTOPHE   HEIDELBERG               AR          23014841985
2444919A84B261   ROY          TOWNSEND                 NE          90011461908
2444988844B588   ATTALLAH     BIRDSONG                 OK          90011068884
24449A9117B274   HUNTER       HAYWARD                  AZ          90011950911
2444B27A172B32   SHEENA       EATON                    CO          90011062701
2444B54447B449   DINA         GARCIA                   NC          90006135444
2444B762891541   SCARLA       CRUZ                     TX          90015207628
2445196387B449   ANTOINETTE   ROGERS                   NC          90013219638
2445228449155B   ELVIRA       BARRAZA                  TX          90004962844
2445258245B161   TAMMY        BURRELL                  AR          23064875824
24452863472B42   KAYLA        SHULTZ                   CO          90012498634
24454218A72B32   MIKE         BEYARD                   CO          90011962180
2445511A791525   LUCY         MARTINEZ                 TX          75088731107
2445557A57B449   TIAFA        BRAWLEY                  NC          90011275705
2445639849184B   SEIGLINDE    OWENS                    OK          21036743984
2445653954B281   PAT          FISHER                   NE          27093035395
244567A6771935   CLEO         MARTINEZ                 CO          32017197067
24456A75591356   SARAHI       HERNANDEZ                KS          90014330755
2445719347B449   J            ROCK                     NC          90008811934
24457464A85938   JEFF         JACOBS                   KY          90004904640
2445759A47B449   KALIMAH      WILLIAMS                 SC          90011255904
2445873717B471   REGINA       HILL                     NC          90007777371
2445918A263B27   WARREN       MEYERS                   CO          90012461802
2445984647B471   JON          HUGGINS                  NC          90002828464
2445989985B271   JUSTIN       HUFFINES                 KY          68014418998
2445B643A5B271   MELISSA      HUBBARD                  KY          90015276430
24462975A4B548   TEENA        LEWIS                    OK          90004549750
24463652672B88   THOMAS       MALONE                   CO          90010146526
244636A6391522   SERGIO       CORDAVA                  TX          90012996063
2446384A74B588   OLAN         JOHNSON                  OK          90012038407
2446421719155B   LUIS         TREVIZO                  TX          90000662171
24465816A91541   IRIS         LEYVA                    TX          90010298160
244666AA372B88   JACSON       MACOSKEY                 CO          90014586003
2446699767B449   TASHA        LEAKE                    NC          90014789976
2446715729189B   JOHNNIE      JOHNSON                  OK          21085371572
2446729565B271   DENISE       BURKHEAD                 KY          90014102956
24467858872B88   LAZARO       GARCIA-RIOS              CO          33089848588
24468266872B88   ARACELI      MURGA                    CO          33013252668
2446895485B57B   JOSEPH       JARAMILLO                NM          35030979548
244689A1791522   GERARDO      VASQUEZ                  TX          90011959017
2446913369184B   MICHELLE     BREITHAUPT               OK          21033301336
24469412A55957   JUAN         ORTIZ                    CA          90013624120
244699A9385938   MELODIE      CLARK                    KY          90009079093
24469A64A2B27B   AL           MILLER                   DC          90013640640
2446B32185B271   CARL         COMSTOCK                 KY          68082223218
2446B73417B471   SUZANA       LOPEZ                    NC          90008907341
24471675291B38   SHA-HE       CROSS                    NC          90011706752
244717A264B261   CARLOS       SALAZAR AGUILAR          NE          90011557026
2447244878B172   LILIA        JIMENEZ-VAZQUEZ          UT          31077924487
24472877872B88   EDWARD       ANTWAN-BELL              CO          33014208778
2447317454B261   GABRIELA     GOMEZ                    NE          90012711745
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244735A529189B   BETTY         VILLA                   OK          90010555052
2447445567B449   DEMONTREUS    WALLACE                 NC          90014174556
2447522352B232   PILAR         PALACIOS RAMIREZ        DC          90004112235
24475A25491953   ISABEL        DE LA CRUZ RUIZ         NC          90012780254
244763A5171935   TODD          ELENGA                  CO          32092933051
24476565372B32   PAULINE       PERKO                   CO          90013065653
24476984272B42   SHARLENE      LITTLE                  CO          33096129842
2447721534795B   TARA          FARIAS                  AR          25073622153
24477498A7B471   ALEJANDRA     RESTREPO                NC          11003704980
24477841772B32   MATTHEW       HARVEY                  CO          33015238417
2447791167B449   RONALD        JACKSON                 NC          11038129116
2447874A672B88   CEC           BOS                     CO          90014887406
2447952584B588   DENISSE       MENDOZA                 OK          90013595258
2447B39395B161   ALLAN         SMITH                   AR          90015503939
2447B591272B32   HECTOR        CONTRERAS               CO          90009135912
244813A634B261   DEMO          WHISPERING RIDGE        NE          90010013063
24481429772B32   JOSIE         MARTINEZ                CO          90004894297
244827A6A41245   SCOTT         PARSONS                 PA          90002527060
24482A65472B42   AJ            ALLEMANT                CO          33010210654
2448314637B386   DAMILOLA      FAGBBERNO               VA          90008761463
24483979A71935   BRIAN         WHITLATCH               CO          90009959790
24484621772B88   MANUEL        GONZALES                CO          90004106217
24484A3839184B   HALEY         SLAYBAUGH               OK          90012680383
2448522115B271   VICKI         GREEN                   KY          90010262211
2448593359189B   BRANDON       TALIAFERRO              OK          90014759335
2448632A69184B   JENNIFER      ATWELL                  OK          90008723206
2448681A872B32   JADE          JONES                   CO          33017428108
24486A39591241   SHANTE        COX                     GA          90013370395
24486A8649189B   SILVIA        HERNANDEZ               OK          21001280864
24486A96755957   AMBER         PUCKETT                 CA          90010580967
24487382572B42   JOSE          CHAB MAY                CO          90013883825
2448785167B471   BRENDA        PATTERSON               NC          90014708516
24489362A4B588   JORGE         DE ARO                  OK          90009573620
24489AA9231631   KIM           SLOVER                  KS          90007580092
2448B815872B32   CARLOS        DAVILA                  CO          90011958158
2448B921691953   CRYSTAL       HICKS                   NC          90014969216
2449184622B27B   PATIENCE      OPARA                   DC          90002248462
24492368372B32   ADRIANA       GARCIA                  CO          33071773683
2449285167B471   BRENDA        PATTERSON               NC          90014708516
24493411872B32   JOSE          GOMEZ                   CO          33092834118
2449349157B449   ROSELYN       MOLLAY                  NC          11000784915
24494116A91241   DONALD        FOWLER                  GA          90007131160
2449441A89155B   AURELIO       HERNANDEZ               TX          90011244108
2449467517B471   JAVIER        LOPEZ                   NC          90008026751
24495518724B55   EBONY         SHELLEY                 DC          90014815187
2449625639155B   JAVIER        CANALES                 NM          75022622563
2449659557B449   ERICK         WADE                    NC          90011255955
2449661485B571   ROBERT        WILKENSON               NM          90002876148
2449731777B471   CONSTANCE     BELLE                   NC          11017653177
2449742879155B   ARACELI       HERNANDEZ               TX          75058324287
2449848A75B161   JOSE          PAZ                     AR          90002244807
2449888757B423   ALCIA         ALLISON                 NC          90001698875
244988A6372B42   ALAN          RAMIREZ NORBERTO        CO          90012138063
24499492A5B257   CHRISTOPHER   MARTIN                  KY          90011914920
2449949619189B   RUTH          LEWIS                   OK          90012184961
2449985167B471   BRENDA        PATTERSON               NC          90014708516
24499A7154795B   FERNANDO      URESTI                  AR          25075650715
2449B113491356   SHAWN         AXE                     KS          90010571134
2449B85167B471   BRENDA        PATTERSON               NC          90014708516
244B1888991541   RAFAEL        RAMIREZ                 TX          75065788889
244B1A3289189B   DAVID         VANDYNE                 OK          21076840328
244B256965B536   CESAR         VELAZQUEZ               NM          90009965696
244B2881284364   JORGE         VAQUIER                 SC          90012518812
244B2954181644   ALICIA        OLIVER                  MO          90006919541
244B3417155957   JOSE          ROSAS                   CA          90003724171
244B384849184B   ABBEY         GREGORY                 OK          90003768484
244B3861A98B32   ANNIEBELLE    SMITH                   NC          90001238610
244B395284B588   DORLYN        GOMEZ                   OK          90014999528
244B5688772B32   MAGDALENA     CORRALES                CO          90014176887
244B6319272B32   MARLENE       ZAHN                    CO          33041233192
244B6634A5B161   ANTOINETTE    WILLAIMS                AR          23092286340
244B6716591828   ANAHI         GUZMAN                  OK          90012997165
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244B6A21131631   JACLYN       LINARES                  KS          22084570211
244B6A67272B42   JASON        SMITH                    CO          33000090672
244B7221191828   ALEXIS       KING                     OK          90001632211
244B7365355957   BRENDA       JARAMILLO                CA          90013343653
244B7591681644   SAUL         GARCIA HERNADEZ          KS          90010335916
244B7818472B32   ARACELI      SANCHEZ                  CO          90012908184
244B7947472B42   DANYELLE     BRISENO                  CO          90010179474
244B7998384364   RAMON        MORALEZ                  SC          90011279983
244B8148A91356   JAMESHA      PRICE                    KS          29007121480
244B817632B32B   MAICO        BARILLAS                 CT          90013961763
244B83A357B449   NAHOMY       BELEN                    NC          90013423035
244B848564B281   JENNIFER     MADDOCKS                 NE          90013114856
244B9237972B32   JULIO        RODRIGUEZ                CO          33093972379
244B927135B271   JENNA        PARRIS                   KY          90015122713
244B9788A91541   MARIA        GALLARDO                 TX          75057627880
244BB15175B161   DAMARCUS     THROWER                  AR          90013901517
244BB257272B29   ANGELA       GRAHAM                   CO          90014562572
244BB476987B59   SHANNA       YOUNG                    AR          23056344769
244BB676A91953   TERRIKA      IRVIN                    NC          90007716760
244BB936931453   ANTHONY      SIMINO                   MO          90014879369
244BBA59372B88   JEFFREY      LANGFORD                 CO          33092640593
2451151A85B161   LASHAWN      GULLETTE                 AR          90014745108
24511572472B32   TONY         MARTINEZ                 CO          90014595724
24511A9679155B   VERONICA     AGUILAR                  TX          75041300967
2451282AA7B471   CHAQUITA     MATHIS                   NC          90014718200
24513347A91953   DARLENA      HOOD-WRIGHT              NC          90012183470
2451389449189B   DUSTIN       CULVER                   OK          90012258944
2451434964B588   NANCY        MCKINNEY                 OK          21532753496
2451465567B471   TAMEKA       EDWARDS                  NC          11059636556
2451473524B261   JOAN         MAGLICIC                 NE          27093857352
2451486A491241   LOUISE       PRATHER                  GA          14589068604
2451533AA72B32   GILBERTO     MENDEZ                   CO          33063093300
24515947472B88   FORTUNATO    MONROY                   CO          90002039474
245164A2884364   DAVID        SCOTT                    SC          90005484028
2451658412B27B   JEANIE       BATES                    DC          90010395841
2451697994B261   ROCHELLE     BELGRAVE                 NE          27085249799
245173A239189B   LISBETH      ZUNIGA                   OK          90000213023
24517894572B88   TERESA       LOTTIE EARLE             CO          90008438945
2451917584B588   JUDY         LOUNSBERRY               OK          90009351758
2451978145B936   PATRICK      STENHOUSE                WA          90012887814
24519987372B42   ANASTACIO    GARCIA                   CO          33090529873
2451B593184364   MARQUES      BROWN                    SC          19020895931
24521223287B87   RENARTA      GIVINS                   AR          90007762232
24521A47A8B159   COLTON       BENSON                   UT          90009590470
2452213A281644   KAT          ALEMAN                   MO          90011411302
2452248914B281   JAMES        BACON JR.                NE          27087464891
24522612A5B271   TENISHA      COMPTON                  KY          90013376120
245226A6791828   LADONNA      PICKUP                   OK          90014636067
2452282535B571   LINDA        SHAKESPEARE              NM          90000618253
2452293958B15B   MELANIE      LLOYD                    UT          90008729395
2452352885B271   ANGELA       KENNEDY                  KY          90010875288
2452498A67B471   CLAUDIA      LAYNEZ                   NC          90010249806
2452579384B261   MICHELLE     SMITH                    NE          27016837938
2452683415B571   GRISELDA     RAMIREZ                  NM          35017088341
24526894172B88   BARRON       FILEMON                  CO          33053548941
24526A5A785938   JOEL         DIAZ                     KY          90003040507
2452749757B666   LINNETTA     HOSEA                    GA          90013444975
24527798A71935   GUADALUPE    VERA                     CO          32046667980
245286A4181644   ERIC         JONES                    MO          29094726041
24529161876B49   LAURA        ARMENTA                  CA          90008041618
245292AA791541   DINA         VILLALOBOS               TX          75091042007
2452B357572B42   SYLVIA       TAMIRANO                 CO          90014023575
2452B4A5A7B471   DELORIS      BATES                    NC          90003024050
2452B753984364   CHRISTOPHE   MCGEE                    SC          19002957539
2452BA4AA7B449   KRISTNE      GLADDEN                  NC          90010360400
24531A2945B161   DAVID        MOSLEY                   AR          23084930294
24532933972B32   ANGELICA     CASTILLO                 CO          33057639339
2453338175B161   GERI         MILLER                   AR          90009493817
24533684672B32   JORGE        VALDOVINOS               CO          33082456846
24533A8522B242   CHIDI        NWOSU                    DC          81012060852
24534337972B23   STEPHEN      RODDAM                   CO          90011673379
2453485549189B   MAADOLFINA   MONDRAGON                OK          90012638554
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2453544734B281   DIANA        CONTRERAS                NE          90010544473
24535A2339184B   ANAI         PALACIOS                 OK          90009880233
2453635924B588   SHELA        RIGGIE                   OK          90011903592
245363A755B571   VANESSA      LUCERO                   NM          90006053075
2453694145B161   LATONYA      DAVIS                    AR          90014919414
24537799772B21   SUSANNA      WINN                     CO          90004307997
24537A1A691356   CYNTHIA      PULIDO                   KS          90014430106
24537A48A7B471   RUDY         AGUILA                   NC          90014710480
2453821724B281   JENNIFER     SILKETT                  NE          27054352172
2453825799189B   CARLESHIA    WHITE                    OK          21064792579
24538384A84364   JUDY         WALTERS                  SC          90014093840
24538938872B88   ZACKERY      OSTHEIMER                CO          90001079388
2453978975B271   DANA         BARNETT                  KY          90013347897
2453995615715B   ANTONIO      BACALSO 3                VA          90005079561
2453BA26991953   PHILLIP      LOVERDI                  NC          17077980269
2453BA6A991522   ANNETTE      ARMENTA                  TX          90011050609
24543A4A955957   JENNY        OWENS                    CA          90014620409
24543A66A9189B   BILLY        COOPER JR                OK          21067760660
245441A3255957   SUNSHINE     AGULIAR                  CA          48064631032
245442A8871935   RAMON        TORRES                   CO          90012942088
2454475777B471   TONYA        HAMILTON                 NC          90012087577
24544958A72B32   JOSE         BUSO                     CO          90011769580
24544A4512B232   TRACY        FORD                     DC          81015090451
2454542557B484   JENNIFER     MEEKS                    NC          90013774255
24545682972B21   MARGARITA    AGUIRRE                  CO          90002976829
2454613832B27B   JENNIFER     CAMPBELL                 DC          90012731383
2454632A255957   PASTOR       HUERTA-COLMENARES        CA          48057723202
2454638724B281   TERESA       CHAVEZ                   NE          90010613872
2454716294B588   SOFIA        DOMINGUEZ                OK          90013881629
2454757A561997   HERIBERTO    VARGAS                   CA          46004065705
24548251A91356   BRINA        GEELZUNAS                KS          90011002510
2454865255715B   ERIKA        PONCE                    VA          90000966525
24548A84931453   MAE          BOUDREAUX                OK          90013880849
245493A657B449   JENNY        WASHINGTON               NC          11086173065
2454964945B161   GUCCI        LAFLARE                  AR          90009606494
2454B335A91356   KIM          PRYOR                    KS          90012643350
2455258422B27B   ANGELA       GREEN                    DC          81094775842
24552659172B32   KEVIN        DIAZ                     CO          90011466591
24552915591B38   HERBER       VASQUEZ                  NC          90015449155
245529A287B449   DONALD       BROADWAY                 NC          90000849028
24552A8A87B471   CONSUELO     VERA                     NC          90004900808
2455487A947952   WAYLON       HURD                     AR          24007298709
24554A26387B87   RODNEY       SIMMONS                  AR          23012050263
24554A5565B161   KRYSTAL YN   HILL                     AR          90013550556
24555315472B88   SILVERO      LOPEZ JOSE               CO          90014543154
2455571649189B   ANDY         WILLIAMS                 OK          21066107164
2455586377B449   JONATHAN     SMITH                    NC          11007268637
245565A7855957   ROMELLIA     MELGOZA                  CA          90013555078
24556641A51369   ALLEN        MURRY                    OH          66058256410
2455756179189B   OSCAR        YOUNG                    OK          21056605617
24557729A91541   FRANCISCO    CAMACHO                  TX          75099237290
24558343A72B32   ANGEL        CRUZ                     CO          33039303430
2455881937B471   MELISSA      MONTOYA                  NC          90008058193
24558A3842B27B   RICHARD      MULLEN-EL                DC          90012180384
2455985555B161   LARRY        DAVIS                    AR          90008088555
2455B12435B161   JAMES        LOVE                     AR          90014511243
2455B33892B27B   DOMINIQUE    EASTERLING               DC          90015303389
2455B417A72B88   RAQUEL       POOL                     CO          90015214170
2455B44685B271   SHLBY        JACKSON                  KY          90012054468
2455B474481644   JAMI         MORRIS                   MO          90011694744
2455B99154B281   JESSICA      ASHCRAFT                 NE          90010479915
2456136653B324   DAWN         VIGIL                    CO          33085463665
24561439672B42   BRIAN        GRAGG                    CO          90006424396
245614A149155B   MONICA       VIDANA                   TX          75065814014
2456166527B449   JANICE       RAY                      NC          11008226652
2456185269189B   PAUL         MOURA                    OK          90013198526
2456227524B588   GERMON       GONZALEZ                 OK          90009072752
24562A42672B42   ERNESTO      CARAVEO                  CO          90010220426
245633A2272B88   ELIZEBETH    BAKER                    CO          90013073022
24563829572B88   ELIZEBETH    BAKER                    CO          90011148295
2456398782B27B   DION         SMITH                    DC          90015189878
2456439679184B   JENNIFER     SOUTH                    OK          21052373967
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24564448A7B362   MISRAK          ZELEKE                VA          81059504480
2456473562B232   MICHELLE        MCKENZIE              DC          90004117356
24564A6757B471   ROXANNE         DAVIS                 NC          11092040675
2456547A684364   JESSE           HENDERSON             SC          90014034706
24565557572B42   RICH            HERNANDES             CO          33021625575
2456565344B588   TRAVIS          MEEK                  OK          90008526534
245659A872B931   ESTHER          ANGUIANO              CA          45089899087
24565A2269184B   MARY            HITCHCOCK             OK          90014780226
2456629437B449   SHEILA          HUBERT                NC          11044032943
2456721725B271   ANN             MS.                   KY          68044062172
24567465172B42   KASIE           JARAMILLO             CO          90008534651
2456B128791953   SIMONE          THORNTON              NC          90013741287
2456B73844B588   BILLIERAE       EDWARDS               OK          90012987384
2456B74599155B   AIDE            MORALES               TX          90008997459
2456B949791541   MARIA           HERNANDEZ             TX          75015819497
2457179454B588   ANTONIO         ORTIZ                 OK          90007287945
2457238675B271   JESSICA         AVIS                  KY          90013863867
24572A32184364   PARIS           GREEN-SMALLS          SC          19049790321
245731A477B471   GREGGORG        COVINGTON             NC          90010211047
2457352747B449   ANTOIN          GRAVES                NC          90014135274
2457452885B271   ANGELA          KENNEDY               KY          90010875288
2457494894B588   CHAD            RUIMVELD              OK          90009629489
2457519115B571   IRIS            OROZCO-SOTO           NM          35011461911
2457549522B242   LATIA           PLOWDEM               DC          90007754952
24576122872B32   NATHAN          PETERSON              CO          90014911228
2457661A35B271   WILIAMS         PEYTON                KY          90012886103
2457665344B588   TRAVIS          MEEK                  OK          90008526534
24577A78384364   CHRISTOPHE      HAYES                 SC          19043380783
245795A744B281   RIKKI           CASAREZ               NE          90010615074
24579975A91541   ISABEL          VILLA                 NM          90012139750
2457B612691528   SHANTELL        EDGERTON              TX          75093766126
2457B63A584364   JONATHAN        SEABROOK              SC          90011486305
2457B71832B27B   CARL            BROWN                 DC          90011367183
2457B767491541   LORENA          GAMBERT               TX          90011127674
2457B94A391953   SZILARD         PUSZTAFALVI           NC          17033709403
2458234A39155B   PETRA           BARRERA               TX          75098053403
2458237853B358   ANGELICA        RIVERA                CO          33015803785
2458245637B449   YAKIRA          BELLAMY               NC          90007124563
2458262A791356   ANGELA          KIESLING              KS          90013606207
2458269779184B   DWAYNE          REED                  OK          90014836977
24582768587B87   JOSE            MALAVE                AR          23054467685
2458346A293742   TIFFANY         BROWN                 OH          90009454602
2458357354B588   RAELINDA        GALLAGHER             OK          90012895735
2458434A29189B   RAENASHIA       DAVIS                 OK          90006203402
245845A474B588   DEMETRIA        WASHINGTON            OK          90014885047
24584A33891356   ANDRE           ALLEN                 KS          29007180338
2458514375715B   MARLENA         MELENDEZ              VA          81028371437
24585712872B32   GRISELDA        MERCADO MONTENEGRO    CO          33054537128
2458572A684364   MARY            WARING                SC          90006527206
2458584344B261   JANICE          VELASQUEZ             NE          27061198434
24585A25A57157   EMMANUEL        OPOKU                 VA          81023160250
24586483972B21   MIKE            MARTIN                CO          90004214839
2458673884B588   RAYMOND         BELL                  OK          90010177388
2458682195B271   CONNIE          DENNIS                KY          90011148219
2458743755B161   MARGARET        ODEM                  AR          23068944375
2458747549184B   RANDY           PRIDGIN               OK          90012354754
245876AA16193B   JUARRES         ERICXK                CA          90001666001
24587775A81644   MONIKA          SAMUELS               MO          29086047750
2458779729155B   SERGIO          TREVISO               TX          90002297972
2459145768B16B   HANNAH          JONES                 UT          31004044576
24591561A91522   RENE            VELAZQUEZ             TX          90013325610
2459263767B449   NURIS           MOREIRA               NC          90011256376
2459314A241245   MISHA           MCSHANE               PA          90000521402
24593AAA17B449   SASHA           COOK                  NC          11047960001
2459445A131631   JESUS           RETANA                KS          22013214501
24594484A72B88   OSCAR ARMANDO   ALVARADO PREZA        CO          90008414840
2459461945B271   ANDI            RAMIREZ               KY          90015136194
24594A7829794B   JULISSA         SALAZAR               TX          74016070782
2459535A172B32   LILIANA         LIMAS                 CO          90009603501
2459539838B132   GERALD          RACKHAM               UT          90011663983
245958A4191828   JAVIER          GUTIERREZ             OK          90009428041
2459639A47B449   JANAE           JOHNSON               NC          90002143904
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2459665822B27B   DANIEL           GONZALES             VA          81015906582
24596A96191522   IRMA             DAVILA               TX          90008260961
24596AA4791541   SANDRA MARCELA   PEREZ                TX          90013460047
245972A7891828   NEIL             SIFFERATH            OK          90009772078
2459742A94B261   CHRISTINA        CHINOWTH             NE          90000654209
24597432A7B449   SHAWANDER        ALSTON               NC          90013384320
2459755129794B   NORMA            GONZALES             TX          90006825512
245975A5872B88   JUAN             DELA CUERDAS         CO          90012095058
24597A62491541   MARICELA         GONZALEZ             TX          90014880624
2459912449189B   SAHIRA           GASPAR               OK          90013241244
2459922A44B28B   KATHLEEN         WHITE                NE          90007042204
24599798A5B161   ANTHONY          STALLCUP             AR          23092887980
2459B1A429184B   AMANDA           EWING                OK          90012731042
2459B426A72B42   KEVIN            REYNOLDS             CO          90013554260
2459B631A4B281   HEVER            HERNADEZ             NE          90012326310
245B1122291953   ALEX             JONES                NC          17043821222
245B176682B232   GILMAR           ARIAS                DC          81005157668
245B2319A9184B   KASANDRA         PILANT               OK          21094553190
245B2551A71935   ASHLEY           GALPIN               CO          90011245510
245B2622972B42   MURPHY           REGINA               CO          90010496229
245B297A53B171   LARRY            BLACKWELL            DC          90005099705
245B3859591B38   JASMINE          BANKS                NC          90015388595
245B3A2945B571   SHELLYANN        BACA                 NM          90010510294
245B498629189B   ADRIAN           ESPINOZA             OK          90012889862
245B5272391356   SANDRO           GARCIA               KS          90014922723
245B541154B588   CHRISTOPHER      BLANCHARD            OK          90012524115
245B613A281644   KAT              ALEMAN               MO          90011411302
245B685595B571   GABRIRLA         MUNOZ-LEYVA          NM          90011618559
245B7133891241   KIMBERLY         MCDONALD             GA          90012961338
245B73A9484364   NAKIA            LEWIS                SC          19046023094
245B7664A24B55   SHIRLEY          HAMLETT              VA          90012466640
245B7716291953   HARD             CORE                 NC          90012287162
245B7839141229   KATHY            VOLPONI              PA          51040308391
245B8566472B32   VERONICA         MARTINEZ             CO          90013065664
245B8686785938   STACY            GUMM                 KY          90003026867
245B8879331631   LARRY            ZENNER               KS          22091848793
245B9156871935   MINNIE           RIVERA               CO          90011921568
245B9381131631   EDUARDO          BRAVO                KS          90010353811
245B9912191828   CRISTOBAL        DIAZ                 OK          90008219121
245B9A29491522   MICHAEL          DUMOULIN             TX          75027460294
245B9AA2155957   DAILENE          CALDERON             CA          90012800021
245BBA6559189B   FOUSTO           RANGEL               OK          90013670655
246113A157B449   MAXINE           WASHINGTON           NC          90013923015
2461177312B232   YVETTE           MILES                VA          90010707731
246117A1791241   FRANK            ELMORE               GA          90012467017
24611923187B59   BYRON            GREGORY              AR          23058869231
2461225599189B   ALMARELY         ROJAS                OK          90011502559
246155A6691828   KENNIE           MORALES              OK          90006225066
24615962172B88   MARTIN           RODRIGUEZ            CO          33031229621
24617517172B88   SUNNY            ROBARDS              CO          90014895171
246175A7281644   CHERISE          CLEMENT              MO          29022615072
2461835954B281   MICHAEL          CRAVEN               NE          27095493595
2461849195B161   CARL             GARNER               AR          90012384919
2461868A641245   KENNETH          BROWNFIELD           PA          51068856806
2461889A181644   RAFAEL           GUTIEREZ             MO          90014158901
2461963257B449   ROCHELLE         CARTES               NC          90014406325
24619A4429184B   ANTRON           WRIGHT               OK          90011800442
2461B296391541   ANGELICA         SANCHEZ              TX          90014602963
2461B591691356   GLADYS           RECINOS              KS          90012385916
24621A48851329   TYLER            HAYS                 OH          90012620488
2462288124B588   JENNIFER         WARRIOR              OK          90006518812
2462316219155B   MIGUEL           FLORES               TX          90010481621
2462332999794B   MGADALENA        PEREZ                TX          74028633299
2462359A293757   FRANK            PUJIA                OH          64556165902
2462487822B27B   DEVAUGHN         JARVIS               DC          90010208782
24624A19791541   ELI              TOTO                 TX          75098620197
24624A51A71948   BLANCA           TODAKEE              CO          32066890510
2462522472B931   EDNA             WATKINS              CA          45037532247
24625384872B32   RUBEN            RODRIGUEZ            CO          90001263848
2462551599155B   JAIME            BENITEZ              TX          90011245159
2462559864B261   DEBORAH          BAKER                NE          27089285986
2462593679184B   PRISCILLA        ESCARSEGA            OK          21010239367
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2462613179155B   ARCELIA      VELASQUEZ                TX          90013631317
2462629A891828   JOHN         ROSE                     OK          21098452908
24626314472B88   CHRIS        PARMITER                 CO          90009373144
24627195372B42   JESUS        BUSTILLOS                CO          90012151953
24627787672B88   MONIQUE      GARCIA                   CO          90014577876
24627A44341245   ALMA         JOHNSON                  PA          51039990443
24627A99391828   DEIDI        CRUZ                     OK          90012410993
2462823AA91522   NADINE       ULLRICH                  TX          75063962300
24628953A71935   APRIL        GARCIA                   CO          90013039530
2462B372291522   ARACELI      ATILANO                  NM          75024153722
2462B9A794B588   JARRID       DUPUIS                   OK          21564529079
24631867372B42   MARISOL      QUIROZ                   CO          33017358673
24632397172B42   JEANNETTE    ALVAREZ                  CO          33093023971
2463349422B931   ALEXANDER    ULLOA                    CA          90013744942
2463438649184B   PARSCHE      BARNETT                  OK          90013933864
24634492272B32   MARTINA      CHAVEZ                   CO          90012454922
2463451A672B88   RODRIGO      PEREZ                    CO          90013585106
24634A4122B27B   JAY          WILLIAMS                 VA          90012180412
24635447A31297   NAKIDA       MINNION                   IL         90009824470
24635892972B88   RUDY         GALLEGOS                 CO          33071908929
24636349A72B42   MARCO        VARGAS                   CO          90006373490
24636851A91953   TONY         BIGGIE                   NC          90015018510
24637879A91541   LAURA        HERNANDEZ                TX          90012808790
246378A2A91828   MICHELLE     WALLACE                  OK          90011458020
2463819119152B   LIDIA        LUNA                     TX          90012271911
24638252572B32   LAWRENCE     WHITTAKER                CO          90006942525
2463844A44B588   KRYSTLE      HENDERSON                OK          90011174404
24638966172B42   AIMEE        BENNIS                   CO          33093619661
24638A17691541   GASTON       CONTRERAS                TX          90011950176
24638A71191828   SUAN         MUNG                     OK          90013350711
24639816172B42   JOSE         GARCIA MUNOZ             CO          90004158161
2463B28544B588   BECOY        HAWKS                    OK          90013272854
2463B39815B271   CANDELARIA   TIU                      KY          90008573981
2463B437372B88   TODD         REINHARDT                CO          90014454373
2463B441A71935   MATTHEW      HEADLEY                  CO          90011324410
2463B585384364   ARTHUR       HAMILTON                 SC          90013355853
2463B625A72B42   VICTOR       BAILEY                   CO          90009496250
2463B966691522   WENDY        SANDOVAL                 TX          90011409666
24642176A71935   VERONICA     HUITZACUA TORRES         CO          90004161760
24643462A55957   RAUL         ALDAMA                   CA          90013694620
24643A5A94B281   CHARTESA     GORUM                    NE          90002640509
246445A225715B   JUBENAL      TORRES                   VA          90004155022
24644A6A991522   ANNETTE      ARMENTA                  TX          90011050609
24645528672B42   KENYA        MARCUS                   CO          90013065286
246455A1984364   REGINALD     COULTER                  SC          90014495019
24645896872B88   TRINA        MINEAULT                 CO          90013048968
2464659A52B27B   JOHNATHAN    BURDEN                   DC          90012775905
2464786877B494   DAN          DEMPSEY                  NC          90008568687
2464797A831453   TYRONE       PATRICK                  MO          27593649708
24647AA7172B88   DORA         ARGUETA                  CO          90013530071
2464816A79184B   VICTORIA     HERNANDEZ                OK          90009941607
2464963144B588   FRANK        TANNER                   OK          90008966314
2464996A841245   RENEE        SCANLON                  PA          90012409608
2464B1A6891828   LINSEY       PANCOAST                 OK          21009201068
2464B949584364   HUGOR        SOUSA                    SC          90014859495
2464B99953B192   TERESA       VASQUEZ                  VA          81066669995
2465139799184B   BLANCA       CONTRERAS                OK          90010613979
2465278299184B   NATOSHA      WILLIAMS                 OK          90010127829
2465294A355957   NANCY        GUZMAN                   CA          48007989403
24654524372B32   ANTONO       ALVARES                  CO          90007165243
246547A9631631   MATTHEW      MAUPIN                   KS          90009557096
24655476772B88   MICHELLE     MARTINEZ                 CO          33042464767
2465599A781644   JESSICA      TAPIA                    KS          90014159907
24655A25731433   CRYSTAL      ODOM                     MO          27505840257
2465667A891522   DANIA        DUQUE                    TX          75016666708
2465674544B261   ROSA         NOLASCO                  IA          90013137454
24656816A84364   WILLIAM      CRISEL                   SC          19089998160
246579A624B261   JESSIE       BEAUGARD                 NE          27078599062
2465814785715B   LILIA        MEDINA                   VA          81025241478
2465827119794B   RAY          JR                       TX          90008472711
246596A3571925   GLADY        VASQUEZ                  CO          90009546035
24659A7919152B   RICARDO      ONTIVEROS                TX          90008410791
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2465B2A769184B   TAWNY        GRAY                     OK          90010332076
2466179A971935   DERRICK      VALDEZ                   CO          90011247909
2466187374B541   GLENDA       DEER                     OK          90002138737
24662822672B42   KIMBERLY     LOFTIN                   CO          90009388226
24662AA2591828   JERMEL       HURST                    OK          90008230025
24663131A7B449   HENRIETTA    MOORE                    NC          11069191310
24663488372B88   TIERRA       RYAN                     CO          90011594883
2466362964B588   STEPHANIE    INGRAM                   OK          90003786296
24663A9277B471   TERRI        HUNTLEY                  NC          90014720927
246641AAA91828   MARLA        COLE                     OK          90004641000
2466422377B449   PAYGO        IVR ACTIVATION           NC          90011552237
2466468145B161   KIMBERLY     SMITH                    AR          90015116814
2466535264B281   LISA         WATKINS                  IA          90010433526
2466556A691828   BRUCE        SIMPSON                  OK          21041565606
24665643772B88   WAYNE        NELSON                   CO          33054326437
2466672744B588   DAVID        DELANA                   OK          90008917274
2466675297B471   ALEJANDRA    OCAMPO                   NC          90001727529
24667A71772B88   TERRY        STOKER                   CO          90006410717
24667AA1171935   ARNOLDO      NUNGARAY                 CO          32064330011
2466836757B457   VICENTE      GIL                      NC          90010383675
2466847347B449   NICOLE       RHYNES                   NC          90013084734
2466852A39155B   HILARIO      CADENA                   TX          90011245203
24669A57A91541   LUIS         DE LA CRUZ               TX          75035670570
2466B178631453   TIA          MONIQUE                  MO          90011231786
2466B258984364   SHANA        WADE                     SC          90003142589
2466B61635B271   BRITTANY     SLEMMONS                 KY          90012906163
2466B74A24B261   NOEL         GRANADOS                 NE          27093167402
2467121497B435   CONCEPCION   BARRERRA                 NC          90012582149
24671234372B42   RAMONA       MENDEZ                   CO          33036192343
2467146959184B   RUSSELL      THORNGREN                OK          90013764695
2467186275B271   JAMES        EDWARDS                  KY          90013928627
2467199564B261   RYLEAH       BROWN                    NE          90012179956
2467239A94B588   JUANITA      VAZQUEZ                  OK          90005293909
2467256755715B   EDGARDO      TERCEROS                 VA          90001225675
24672937972B88   ALDO         LOPEZ                    CO          33065459379
2467317A64B281   ZACH         KERMEL                   NE          27065731706
24673923172B88   DEVON        MAESTAS                  CO          90014879231
24674135A9155B   LUIS         DOMINGUEZ                TX          90001881350
24674753A85938   GARRETT      STARK                    KY          67015827530
246748A9572B32   ARACELI      MENCHACA                 CO          90012338095
2467541612B27B   KEON         BROWN                    DC          90012834161
24675554A4B261   MERCEDES     HOLLERUP                 NE          90008735540
2467571255B271   YAEMI        CABRERA                  KY          90011917125
2467671784B261   JEREMY       BOLAN                    NE          27084697178
2467683A631453   DONOVAN      SUGGS JR                 MO          90012388306
246784A717B471   OSCAR        BARRIGA                  NC          90013924071
2467867934B261   DANEL        MORRIS                   IA          90013186793
2467924115B161   KERI         ROBINSON                 AR          90014072411
2467B227991828   DAVID        KUHN                     OK          90015002279
2467B256572B88   CRAIG        DESMET                   CO          33087602565
2467B299491241   JASMINE      MARBERRY                 GA          90013152994
2467B519A81644   MUNDIE       WEDDLE                   MO          90003265190
2467B53392B27B   EBONI        MCLEAN                   DC          90015205339
2467B991391522   DENISSE      MOLINAR                  TX          90013119913
246814A9991356   KARLOS       TAYLOR                   KS          90005034099
24682388572B88   RAY          ASIAS                    CO          90005453885
2468324662B27B   ALEYSHA      COFFIELD                 DC          90015172466
24684386A7B471   NICOLE       MOORE                    NC          90013003860
246851A2A57133   SILVIA       RODAS GALINDO            VA          90012941020
2468534589184B   DAWNELL      TERRY                    OK          21008643458
246854A1872B41   RONALD       SHOWERS                  CO          90001114018
24685974872B88   HOLLY        MEYER                    CO          33004339748
2468626244B588   KAYDEE       IRUEGAS                  OK          90012652624
2468722835B271   ANDREW       BUREN                    KY          90010102283
246882AA991541   BILMA        GONZALES                 NM          90000662009
24688488A2B27B   MILTON       GENOVEZ                  VA          90014154880
24688895A24B55   WHITNEY      DOWELL                   DC          81081808950
2468943825B161   BRENDA       REED                     AR          23007154382
2468971A272B32   KYLE         BRYAN                    CO          90000277102
246897A379184B   MIA PACHEE   VANG                     OK          90014297037
2468985496196B   BRYAN        STANDKE                  CA          90002218549
2468B254851325   BINETA       DIENG                    OH          90012312548
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2468BA59881644   ROJELIO       ZARATE                  MO          90014160598
2468BA6A691953   KAREN         HARRIS                  NC          90005810606
2469114495B571   KEVIN         YEAGER                  NM          90008511449
24691955A5B271   KIYA          WILLIAMS                KY          90001179550
24692228A7B449   SINDY         GUCEDA                  NC          90012962280
24692A16372B42   PENELOPE      QUINATANA               CO          90009560163
24692A2225B571   JOEL          RIOS                    NM          35091200222
2469351314B588   PORTIA        POUNDS                  OK          21557845131
24693838872B32   RUTH          SILALAHI                CO          33023468388
2469397A55B161   JULIAN        WILLIS                  AR          90015559705
2469433235715B   DEBORAH       AHENKA                  VA          90004893323
24695637A71935   MANUEL        HERNANDEZ               CO          90012956370
24695782A2B232   MELLISSA      COOK                    DC          90012577820
24695962A91541   SARAH         SANCHEZ                 TX          90010639620
24696118A72B31   JULIA         LOYA                    CO          33077521180
2469657794B588   LAMAR         JOHNSON                 OK          90011805779
2469726284B261   FRANK         STEWART                 NE          90015092628
2469746734B588   ANNA          TALAVERA                OK          90014844673
24697516A9184B   PATSY         HARDESTY                OK          90014755160
2469751755B571   JENNIFER      LOPEZ                   NM          90003925175
2469787265715B   JOSE JAVIER   ROMERO AGUILAR          VA          90003228726
2469836777B449   ALIDA         LOPEZ                   NC          90014833677
2469841AA4B281   INGRID        ALVARADO                NE          90000984100
24698A3252B27B   ERIKA         QUIROZ                  VA          90014450325
24699473372B42   FRANCISCA     SOTO                    CO          33090234733
24699915476B53   BEATRIZ       PEREZ                   CA          90010849154
2469B29234B588   JULIAN        CHAVEZ                  OK          90014152923
2469B7A395B161   DAVID         COURTNEY                AR          23072907039
2469B855381644   JUWAN         QUARY                   MO          90010478553
246B161972B27B   EDGAR         RENDON                  DC          90003326197
246B1627693767   DEBORAH       ADKINS                  OH          90001846276
246B18A5661986   BELEN         MORALES                 CA          90013228056
246B229134B588   PHILLICHIA    NEWBY                   OK          90010672913
246B2958391953   DEBORAH       GAITHER                 NC          90005179583
246B2A55272B88   SCHRESE       WELLS                   CO          90010970552
246B381A884364   CARLOS        SOSA                    SC          90011268108
246B3983A91541   JONATHAN      GARCIA                  TX          90010139830
246B42A8891522   RICK          DURAN                   TX          90013462088
246B452884B588   CHRISTY       HOUSE                   OK          90013985288
246B4696791541   JESUS         ARANDA                  TX          75092846967
246B477719189B   NATHANIEL     NASH                    OK          21013307771
246B5864191828   JAN           DIXON                   OK          90011088641
246B5AA4455936   MARIO         JIMENEZ                 CA          90012280044
246B619A191881   CRYSTAL       BAILEY                  OK          90011501901
246B6387531631   DENNIS        ALCOX                   KS          90014843875
246B664577B449   ELLIO         MUNOZ                   NC          90011256457
246B6656191241   ROSALINDA     DORSEY                  GA          14593426561
246B785369189B   SANTIAGO      SUAREZ                  OK          90009418536
246B7A18A87B87   KEYANA        ANDERSON                AR          23037240180
246B823267B471   LAWRITA       MINTON                  NC          90014142326
246B83A429189B   KATHERINE     STILL                   OK          21019213042
246B9351672B88   CARLOS        ARELLANO                CO          90012663516
246B9499855997   ANGELICA      PEREZ                   CA          90006064998
246B9541176B53   SABINO        VARGAS                  CA          90012355411
246BB996691522   JESUS         LARA                    TX          75078819966
2471213A391241   SHEWANDA      MCCARR                  GA          90014081303
2471276942B27B   TIMOTHY       GREEN                   DC          90013037694
2471317659155B   JOSEPH        QUARTERMANE             TX          90008771765
247133A4572B32   YOLANDA       VAZQUES                 CO          90011063045
247137A8155957   JOEL          SANDOVAL                CA          90012867081
247143AA25B161   SONDRA        ELLIS                   AR          90014763002
2471454552B27B   JHONE         SHASHURA                DC          90013135455
24714598A91953   LAWANDA       JACKSON                 NC          90007825980
2471486695B161   NIA           HARVELL                 AR          90015598669
24715A6277B449   LUIS          LOPEZ                   NC          90012230627
2471628A65137B   KATHERINE     MALONE                  OH          90014482806
2471636325137B   FRANK         MALONE                  OH          90012783632
24716A74381637   ISHA          BRITTEN                 MO          90001610743
24717A4879189B   JEFFREY       DEWEESE                 OK          90009190487
2471857A54B588   MARYLYN       ALVAREZ                 OK          90013455705
24718742472B42   TOMAS         ARELLANO GARAY          CO          90013247424
24718A79372B88   PABLO         REYES-SANTILLO          CO          90013140793
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2471927AA5B161   SEAN        THOMPSON                  AR          23094982700
24719329A5B271   SHARRONDA   JACKSON                   KY          68036123290
2471B441731453   JANEE       BOLDEN                    MO          90014144417
2471B84685B571   DAVERI      LECHUGA                   NM          90011728468
2472152774B261   JUSTIN      PORTER                    NE          90008415277
247221A3372B32   GENEVIEVE   MACIAS                    CO          90005211033
2472243644B588   JUSTIN      HURLEY                    OK          90011454364
24722A44871935   PAUL        OVERSTREET                CO          32089330448
2472315127B471   MARLON      THOMPSON                  NC          90014731512
24723217572B42   TWALLA      BLACKSHER                 CO          90014652175
24723732A71935   DEREK       ORNELAS                   CO          90014927320
2472377AA91522   CUEVAS      IRENE                     TX          90001637700
2472421AA91356   DON         SMITH                     KS          90013692100
2472456A172B32   DONALD      FRATZ                     CO          33092815601
2472489572B86B   JONATHAN    KLINE                     ID          90011678957
2472552999155B   CELIA       SANDOVAL                  TX          90009725299
2472558849189B   HEATHER     BUCHER                    OK          21044835884
2472566AA4795B   HUGO        SANCHEZ                   AR          25010246600
2472577A13146B   GWENDOLYN   PENDLETON                 MO          90003837701
2472623714B281   MICHAEL     ROLLINS                   NE          27098422371
247263A389189B   KRISTIE     BENSON                    OK          90001303038
2472662534B588   NIKITA      MOSLEY                    OK          90012826253
24727176972B32   YADIRA      GONZALEZ                  CO          33059741769
2472758494B588   ISMAEL      SALAS                     OK          90010905849
24728823A57124   ELIZABETH   BELTRAN                   VA          90008028230
247288A555B161   VALERIE     CALVIN                    AR          23054398055
24729167672B88   PATRICK     PEOPLES                   CO          90001851676
24729324272B32   FERNIE      GANDARA                   CO          33035493242
2472953577B471   MARIA       FRANCISCA LOVO            NC          90011805357
24729895A71935   SARAH       SZENDRODI                 CO          90007358950
2472B352441245   JENNIFER    MROZ-TOMER                PA          51080113524
2472B69A97B471   LUIS        ROMERO                    NC          90009096909
2473183977B471   LATIA       LANDY                     NC          90014738397
247349A1991541   GUADALUPE   SOLORZANO                 TX          90006919019
24735232372B32   EARLE       BENNETT                   CO          33080512323
2473544839189B   JOAQUIN     DEL RIO DIAZ              OK          21029214483
24735AA9455957   SEBASTIAN   HUARACA                   CA          90008300094
2473639854B261   CHRISTIE    BURGESS                   IA          27088403985
24736622272B88   JORGE       OLIVAS                    CO          33072436222
24736778172B32   DEBORA      RODRIGUEZ                 CO          33004747781
2473718867B471   SANTARIEO   ROSEBORO                  NC          90014731886
247379AA591522   ZARKY       BENJAMIN                  TX          90014389005
2473837545B271   DALTON      ENGLE                     KY          90015603754
2473874855B161   QUENTIN     DANIELS                   AR          90014457485
24739326772B32   ANGEL       VILLA                     CO          90013733267
24739A7199189B   ANGELA      BECKHAM                   OK          21071800719
2473B15627B471   PATRICIA    WILSON                    NC          90014731562
2473B167391541   MONICA      TREVIZO                   TX          90011401673
2473B338271935   KANDIS      KEYS                      CO          90012963382
2473B562655957   EVELYN      BOGARIN                   CA          90011355626
2473B56899155B   LUZ         LOPEZ                     TX          90011245689
2474127512B27B   BRYAN       KINARD                    DC          81075532751
24741811172B88   SAMUEL      ORTIZ                     CO          33096258111
2474354142B86B   KAYLENE     ST JOHN                   ID          90002165414
247438A9891541   LORENZO     AYALA                     TX          90014838098
2474428544B588   BECOY       HAWKS                     OK          90013272854
2474488755B271   MICHELLE    SALMON                    KY          68063218875
24745274A2B27B   MONTE       NAPOLEAN                  DC          90014362740
2474616694B261   JESSICA     ROBINS                    NE          90010381669
24748A25972B42   BRANDON     BROCKINGTON               CO          90012660259
2474943644795B   REYNALDO    HERNANDEZ                 AR          25055264364
247498A9291541   LUZ         REYES                     TX          75077538092
2474B295A2B931   JUAN        ESPARZA                   CA          45051642950
2474B43719189B   TONYA       NICKLES                   OK          21031524371
24752A85377572   SAMATHA     WOLFE                     NV          43078520853
2475423514B281   JENNIFER    CAMPER                    NE          27097112351
2475424A172B88   MANUEL      ALMADER                   CO          33071522401
2475437497B449   DAVID       ROSEBORO                  NC          90013743749
24755149472B32   SHEENE      FROST                     CO          90007551494
2475525842B27B   JOSHUA      LEE BROWN                 DC          90012462584
247556A975B161   COURTNEY    PARKER                    AR          90012856097
2475692924B588   SAICEULL    DRAKE                     OK          90009129292
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2475694955B276   TYEISHA        GARNER                 KY          68013439495
2475727872B27B   TIMARRA        SMITH                  DC          90008942787
24757279872B38   VICTORIA       MORUA                  CO          33017772798
2475762784B281   URSULA         BLUNT                  NE          27029306278
24757792172B42   BENITA         DE LUNA                CO          33061377921
24758693772B88   SARAH ASHLEY   LEWIS                  CO          90014716937
2475965717B449   JAMES          GRIFFIN                NC          11070226571
24759795A5B271   DONALD         MATTINGLY              KY          68010317950
2475B347291522   MINA           ORTEGA                 TX          75004733472
2475B392A72B42   MICHELLE       HARLESS                CO          90012303920
2475B91185B271   DAVID          LAWLESS                KY          90014339118
2475BA6239155B   TANYIA         QUINONEZ               TX          90010500623
2476153A24B588   MARIA          CORADO                 OK          21508775302
24761748A5B161   CHRISTON       SHACKLEFORD            AR          90014557480
2476185A95B333   LAURITA        SANCHEZ GOMEZ          OR          90005648509
24761A92355957   JOSE           GARCIA                 CA          90012050923
2476239169184B   ESTHELA        ARIAS                  OK          90013853916
247626A544B588   KOURTNEY       WLATER                 OK          90015026054
2476333995B571   JOYCE          GILMORE                NM          35095053399
24763A2664B588   JEFFREY        WILSON                 OK          90010190266
2476443619155B   ALFREDO        MARQUEZ                TX          75023414361
24764823A91953   ALISHA         HORTON                 NC          90013288230
24764A26472B32   MICHAEL        DELODOVICO             CO          33087350264
2476556A131631   MARIA          CROWE                  KS          22084165601
24765A13951329   FREDERICK      LONG                   OH          90012420139
2476687A272B42   MELISSA        BORQUEZ                CO          33088718702
24766A37231453   NATOYA         WOODS                  MO          90014690372
2476718154B28B   RICARDO        SALVEDRA               NE          90009391815
247682A3871935   CHRIS          BOYETR                 CO          90014772038
247685A4172B32   CODY           CARSON                 CO          33002055041
24769A4299155B   GUADALUPE      VILLALPANDO            TX          75008990429
2476B227572B32   DOMINICK       FLORES                 CO          90015222275
2476B499155957   MARCIAL        CORNELIO               CA          90013744991
2476B622672B88   MARIE          RIVERA                 CO          90008776226
2476B691791522   SANCHEZ        GLORIA                 TX          90013646917
2476B839181644   BRANDY         HOUSE                  MO          90015248391
2477137AA7B471   JONATHAN       GAINES                 NC          90011573700
2477177A272B88   MICHAEL        CORDOVA                CO          33055507702
2477248A15B271   EDGAR          NAVARIJO               KY          90002054801
2477249824B588   DOUGLAS        CARTER                 OK          21530074982
247728A327B449   SOBRINA        CONCEPCION             NC          90011258032
24773517172B88   SUNNY          ROBARDS                CO          90014895171
2477438614B261   CHRISTINE      WIECH                  NE          27002903861
247746A4531453   CHARLES        SIMMONS                MO          90011986045
24774912124B75   LIMBERDT       SILES                  VA          90010309121
24774989472B88   AMY            PURSER                 CO          33013649894
247756A6784364   YVETTE         SANCHEZ                SC          90013966067
24776164572B32   BRANDIE        TACORONTE              CO          90014231645
24777A68272B88   RYAN           RAMSTETTER             CO          90013210682
24779A6267B449   BRITTANY       COLLINS                NC          90010360626
2477B33475B161   ALLEN          HAYES                  AR          23093013347
2477B768A91953   CINDY          DIAZ                   NC          90013237680
2478151434B588   CRYSTAL        WILLIS                 OK          21587985143
2478157A771935   ADRINA         BRENA                  CO          90003355707
24781914A5B271   YOANNY         VAZQUEZ                KY          90012689140
24781922A91928   PATRICE        RUSH                   NC          90007989220
24781A25781644   KAYLA          SMITH                  KS          90013160257
2478225255B161   L              FOY                    AR          23087442525
24782A66A9794B   MARK           WHITMORE               TX          90003250660
2478419562B27B   NICK           BEAN                   DC          90013731956
2478428824B588   JAMES          DICKERSON              OK          90013102882
2478446645B161   BRITTANY       MCDONALD               AR          90014314664
2478451299189B   DRENICK        CHISM                  OK          90010205129
24784A97A4B261   JUDY           HUNTER                 NE          27003660970
2478528487B471   JAMES          DAVIS                  NC          90014732848
2478541193B374   LEONARDO       CASTELLANOS            CO          33075514119
24785439972B32   KIM            PERKINS                CO          90012604399
2478547A37B449   JOSE           REYES                  NC          90014174703
2478573389155B   GOMAR          MOBILE HOMES INC.      TX          75032717338
2478576562B27B   ANNA           METZGER                DC          81033497656
2478596A49184B   SHIRLEY        BLEDSOE                OK          90015009604
2478626AA5B271   RICHARD        JUDD                   KY          68000252600
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2478629724B588   TASHONDA      RUSSELL                 OK          90015172972
247863AA193757   DEIRDRE       JOINS                   OH          90008463001
247869A4791356   TOYON         WILLIAMS                KS          90013849047
24787991772B42   TYRE          FALLS                   CO          90015309917
247881A8385998   ADRIAN        HOUSTON                 KY          90013401083
247882A7571935   FELIX         CERVANTES               CO          90011252075
2478931A131453   MARKITA       MEEKINS                 MO          27511943101
24789654472B42   SANTOS        GOMEZ                   CO          90013976544
2478966A384364   JOCELYN       MONIQUE                 SC          90015126603
2478967619136B   SALVADOI      ALVINO                  KS          29006306761
24789A56872B32   RUSTEN D      MERVIN                  CO          33064310568
24789AA3A72B42   GLORIA        GARDEA                  CO          33084470030
2478B428691541   ELIZABETH     LOPEZ                   NM          90013304286
24791A51861986   JOE           ALFRED                  CA          90012640518
24792247387B87   LATINA        MYERS                   AR          90007202473
2479332122B27B   KARLOS        MCDOWELL                DC          81039313212
24793838A72B42   JAVIER        ROJAS                   CO          33042578380
2479412289184B   TIMIA         BAUL                    OK          21047631228
24794917872B42   WILLIAM       ERNEST POMERLEAU        CO          90002709178
24794A81A71935   REGINALD      BLAKEY                  CO          90014370810
247957A7A91356   PAMLA         HOUGHAM                 KS          90012447070
2479587229794B   BRANDON       COLEMAN                 TX          90003648722
24795925272B88   ESTEP         MICHAEL                 CO          90007459252
2479624624B588   JERRY         WALKER                  OK          90004672462
24797159A2B27B   RODRIGUE      PONDEM                  DC          90012741590
2479732317B471   VERNON        BOWEN                   NC          90014733231
24797453272B32   FRANCHESCA    AMAYA                   CO          90014374532
2479793A25B271   ANTONIO       TAYLOR                  KY          90003189302
247984A9431453   MISCHA        SHELTON                 MO          90015194094
247989A639155B   GUADALUPE     HERRERA                 TX          90006859063
24798A6734B588   STEPHEN       HARDING                 OK          90013540673
24798A92291828   MELISSA       JONES                   OK          21016780922
2479984A97B471   CHRISTY       HILL                    NC          90007428409
2479988244B261   LENEA         LONG                    NE          90010908824
2479B12665B271   VICKI         VACCARO-SHANKS          KY          90006021266
2479B271391356   ELENA         MARTINEZ                KS          90011122713
2479B527272B32   NICHOLAS      GALLEGOS                CO          90013585272
2479B9A1191356   ALEXIA        RAMIREZ                 MO          90015069011
247B1243A9184B   ASHLEY        HAMMER                  OK          90014552430
247B1412972B32   KARINA        ARANDA                  CO          90013084129
247B166279155B   DULCE         SAUZEDO                 TX          90013846627
247B2287391828   MICHAEL       NORRIS                  OK          21050352873
247B27A7972B42   MARCUS        JAMES                   CO          33096737079
247B338377B449   MERISAI       LATIMER                 NC          90003223837
247B3563971935   JUAN          MUNIZ                   CO          32084905639
247B3782691522   GIL           BUSTILLOS               TX          75006907826
247B613765B571   NICOLE        HOLGUIN                 NM          90010511376
247B616419189B   SARAH         MALAS                   OK          90011221641
247B668794B231   JUAN          CASTRO                  NE          27080936879
247B6818972B42   LAURA         CLARK                   CO          33051238189
247B688729184B   KATHELEEN     LOWE                    OK          90008038872
247B6933872B32   EDMUND        DEHERRERA               CO          33056369338
247B728964B281   RENEE         KEELIG                  NE          27013042896
247B7293691356   ANGELINA      SCHMIDT                 KS          90014302936
247B747389184B   NEISHA        SUTTON                  OK          90014064738
247B7955277523   MICHAEL       PACINI                  NV          90007339552
247B7A4A391828   COREY         FIRSHER                 OK          90012910403
247B835319155B   DANIEL        MUNOZ                   TX          90005713531
247B9312455957   ROSA          GARCIA                  CA          48018393124
247B96A138B151   DANIELLE      PRESHA                  UT          90013316013
247BB33849189B   GEORGIA       LOWE                    OK          90003113384
247BB631891541   PMAR          MORENO                  TX          90012776318
247BB793691828   MICHAEL       ROWENS                  OK          21005507936
247BB843257157   DWAYNE        GILLIARD                VA          90005138432
2481114375B271   ROGER         DAVIS                   KY          90012081437
248116AA39189B   IISHA         ELLIS                   OK          90010606003
2481246452B931   BRANDY        TAVARES                 CA          45084504645
24812583A91953   ARACELIS      VAQUERO                 NC          90008465830
2481333687B471   BYI           ROLAND                  NC          90014733368
2481337445B571   BRY           ESTRADA                 NM          90008513744
2481349139184B   LUIS JAVIER   BANOS                   OK          90009944913
2481376A44B261   BENEDICTO     GARCIA                  NE          90000277604
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1293 of 2500


2481386347B449   LISA                   OLSEN             NC       90005828634
2481476A37B449   FRANCISCO              HERNANDEZ         NC       90002637603
2481512629189B   LYDEANA                HELDSTAB          OK       90012081262
24815A17A71935   JUAN DE LA CRUZ        CASTANEDA         CO       90003950170
2481657665B161   DIANA                  ROBLES            AR       90014855766
24816879372B32   JOSEPH                 REYNOLDS          CO       90008068793
24816AA9931453   MARANDA                RUSH              MO       90014190099
2481718462B232   LATIA                  DURRETT           DC       81009561846
2481763174B551   CORA                   BOYKINS           OK       90010826317
24818432A72B88   DAVID                  ALLEN             CO       33086224320
24818558A81644   LINDA                  PEAK              MO       29057865580
2481885865B571   SERGIO                 ROBLES ELISALDE   NM       90009708586
248192A795B161   VERNA                  FREEMAN           AR       90010562079
24819554A7B484   KITA                   ADAMS             NC       90010495540
2481973215B271   RONIQUE                ALEXANDER         KY       90014727321
2481B11439189B   KAMERTRA               DANIELS           OK       90012841143
2481B256891356   KAREN                  OCHOA             KS       90010272568
2481B64715B161   JEFFERY                ABBOTT            AR       23020076471
24821147A85931   KIM                    ELRIDGE           KY       67081891470
2482126A291541   MARTIN                 MARTINEZ          TX       90015202602
2482144955B257   TABATHA                BEISLER           KY       90011674495
2482166A455957   PAUL                   ROCHA             CA       48075076604
2482235137B471   PHILLP                 TATE              NC       90014733513
2482289248B182   ROMELL                 PETERSON          UT       90008988924
24822A42355957   RON                    GONZALES          CA       90015070423
2482318879155B   ALBERTO                VAQUERA           TX       75082191887
24823A2782B27B   LAKISHA                BRADFORD          DC       81013810278
24823A56A91953   JOHN                   KWASNIK           NC       90009170560
2482463224B588   TERRY                  EFFINGER          OK       90003786322
24825596A7B449   JENNIE                 HOLMES            NC       11062315960
2482586519794B   ANA                    GARCIA            TX       74063768651
248266A824795B   WILLIAM                FALK              AR       25080286082
24826A94785938   TAMARA                 DIXON             KY       67017540947
2482785289184B   CRAIG                  ELLIS             OK       90010908528
2482795AA9155B   JAVIER                 RUIZ              TX       90009299500
2482848929794B   ALBERTO                SIC               TX       74015464892
24828A17372B32   MENACHEM               KRAMISH           CO       90012950173
24828AA5791522   ANGIE                  CAMP              TX       90013420057
2482954994B281   KYLE                   ROGERS            NE       90005275499
2482977A78B16B   SARAH                  WARCUP            UT       90010647707
24829914A5B271   YOANNY                 VAZQUEZ           KY       90012689140
24829995A91241   SHEENA                 SHEPPARD          GA       90013969950
24829A16231453   NAOMI                  VAYE              MO       90015080162
2482B38A291241   CARVIN                 LASSETER          GA       90005123802
2482B549131464   TIFFANY                AXTON             MO       90013935491
2482B558691522   MARJORIE               LOBDELL           TX       90012685586
2482B86535B271   BONNIE AND STEPHANIE   SAUER             KY       90011678653
2483116A84B261   CINDY                  PETERSEN          NE       27047891608
24831316672B88   DANIEL                 OLIVAREZ          CO       33076273166
2483146A155957   MARIA                  MOTA              CA       48000324601
24832A69531631   SHAWN                  ANDERS            KS       90003910695
2483311632B232   DENISHA                TOYE              DC       90012461163
248332A8A91828   LENITA                 PARRY             OK       21003002080
2483353A233627   LISA                   GARNER            NC       90014195302
2483357A77B449   LADYRIKKKA             WILLIAMSON        NC       11005345707
2483373A791241   STACY                  JONES             GA       90013297307
2483424A64B281   JOSE                   ABREGO            NE       90004132406
2483439615B571   HERMELINDA             ESCOBEDO          NM       90002773961
2483484629794B   JENA                   BYBEE             TX       74010828462
2483497147B449   FERMIN                 CABRERA           NC       11054429714
248351A8471935   DEBBIE                 GARCIA            CO       32052771084
2483568A381644   LATIQUE                PAYTON            MO       90006906803
2483621822B27B   EDITH                  LOPEZ             DC       90014502182
24836338272B42   FRANCHON               MCGHEE            CO       90012513382
24836657172B32   MARIO                  TORRES            CO       90011896571
2483749854B588   PAYGO                  IVR ACTIVATION    OK       90013284985
24837588A98B32   KALIFA                 CARTER            NC       90011335880
2483799619189B   RAMIREZ-RODRIGUEZ      PATROCINIO        OK       90010959961
2483814A72B27B   HUGO                   HERNANDEZ         DC       81014631407
2483837A77B471   SHELLY                 GIDNEY            NC       90014733707
2483861625B271   PATRICIA               CHAPMAN           KY       90013506162
24838AA4481644   KEVIN                  BLACK             KS       29015940044
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24839A9952B27B   TAUREAN      BAILEY                   DC          90013880995
2483B277A91541   MICHEAL      FLORES                   TX          90009822770
2483B37657B471   KEANNA       LEWIS                    NC          11045913765
2483B42767B435   PATRICE      WHITE                    NC          90006524276
2483B62A791241   RAVEN        HEYWARD                  GA          90014386207
2483B698872B88   JAMES        FLOOD                    CO          90009326988
2483B86525B271   TOMMIE       OUSLEY                   KY          68011088652
2484147345B571   JOANN        JACKSON                  NM          35062344734
24841645A72B32   GENELLE      AUSTIN                   CO          90003956450
2484248238594B   DONESIA      HAYES                    KY          90013914823
2484287982B27B   GEANE        DUPITAS                  DC          90012138798
24842A26672B32   KENETH       GROSS                    CO          33002830266
2484324135B271   MELANIE      HUFF                     KY          90010822413
248436A1191541   ANGELICA     GARCIA                   TX          90009206011
2484427289184B   LORNE        BIRDCREEK                OK          90005882728
2484431A672B42   ADRIAN       YANKANA                  CO          33064253106
2484465355B571   ABRAHAM      POWELL                   NM          90010816535
24845371A55957   NICK         MACHADO                  CA          48097763710
24845761887B59   CLOTHIELDA   HOLLOMAN                 AR          23041217618
2484599342B27B   DANA         HUNT                     DC          90011589934
24845993A7B471   MARIA        NAVARRETE                NC          90014749930
24845A73131453   ROGER        GREEN                    MO          90015210731
24847252972B88   RAEANNION    HITT                     CO          90014132529
24847A53A85938   JERRY        TOWNSEND                 KY          67037860530
24847A6164795B   ANGELITA     BLACKBURN                AR          25074030616
2484938A484342   MICHELE      OESMANN                  SC          90007483804
2484945A44B261   ERIC         WIIG                     NE          90009574504
24849558A81644   LINDA        PEAK                     MO          29057865580
24849843172B42   DONALD       BARNES                   CO          33067838431
2484986A491953   STELLA       CARPENTER                NC          17080158604
2484992A39189B   ELISHA       JONES                    OK          90011389203
24849A5554B281   JOSE         CHICAS                   NE          90000450555
2484B28637B449   ASA          CALDWELL-HARRIS          NC          90008622863
2484B631955957   NICOLETTE    MANGINI                  CA          48092156319
2484B969691953   RAFAEL       CATEMAXCA                NC          90007929696
2484BA46181644   LEANNE       JACOBSON                 MO          90010270461
2485199912B27B   CLIFTON      CRUMP                    DC          90011589991
2485257249189B   ERIC         BELL                     OK          90013015724
2485261969184B   DARREN       MEANS                    OK          90009946196
24852685A91522   CECILIA      RAMIREZ                  TX          75076826850
248529A124B281   RENEE        WALKER MOSER             NE          90011939012
2485336A172B42   SABINA       RAEL                     CO          90013653601
24853544387B87   TERESA       SANDERS                  AR          23027805443
24853A5435B127   MELANIE      CHAPMAN                  AR          90006050543
2485433222B931   JOAQUIN      GARCIA                   CA          90005263322
24854673A4B261   MILBURN      FRAMPTON                 NE          27069906730
24854943672B88   JAQULENE     DEFRANCE                 CO          90000289436
24854A29455957   GABRIELA     MARES                    CA          48083910294
24855739A91356   ZAFERINA     SAENZAPARDO-RODRIGUEZ    KS          90014697390
2485597117B449   CHRONICLES   WATKINS                  NC          11010909711
2485664A94B261   TONYA        LEE                      NE          90014396409
248569A4684364   VIVIAN       WILLIAMS                 SC          90013829046
24856A93855957   EDUARDO      LEOS                     CA          48003550938
2485788549184B   TAMEKA       HARDY                    OK          90012708854
2485892598B159   JANE         MAY                      UT          90003749259
24858967A91541   JESUS        CERVANTES                TX          90014409670
2485B339A8B151   ROBERT       HUERTA                   UT          90003943390
2485B39667B471   RAFAEL       GARCIA                   NC          90014733966
2485B487855957   IGNACIO      AGUILAR                  CA          90000694878
2485B81425152B   MARIA        VARGAS                   IA          90013898142
24861A5524B588   SHARMAINE    BURRIS                   OK          21557690552
24862879372B32   JOSEPH       REYNOLDS                 CO          90008068793
24862A41354162   BRAD         ARMSTRONG                OR          90015490413
24864299A31453   MARLENE      CORNELL                  MO          90005852990
2486441679184B   JOHNNY       INGRAM                   OK          90014664167
24864546A31453   ANYAI        JOHNSON                  MO          90013345460
24864935A72B88   MIGUEL       AYALA                    CO          90012479350
2486496437B471   BEATRIZ      SANCHEZ                  NC          90002929643
2486517869184B   NORMA        HUIDOBRO                 OK          90012051786
2486567487B141   NYAJAL       CHAKIN                   ND          90014996748
2486653489155B   DAPHNE       MONTALVO                 TX          90004315348
24866A11584364   HASSONA      SIMMONS                  SC          19058750115
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2486841597B471   TAMARA         WASHINGTON             NC          90014734159
2486847525B271   RICK           BREWER                 KY          90001074752
248694A394B281   JILL           MCNULTY                NE          90002494039
24869742772B32   MIGUEL         GAYTAN                 CO          33084517427
2486B317681644   ROSARIO        ROMO                   MO          90014163176
2486B536577523   FRUTOSO        VARA                   NV          90013495365
2486B77729189B   SHANETTA       WALTON                 OK          21047067772
2486BA78672B32   PORTIA         JOHNSON                CO          90000800786
2487111A384364   CEDRIC         SMITH                  SC          90014091103
2487147413B358   JULIE          JENKINS                CO          90011834741
2487149347B449   HATTIE         WASHINGTON             NC          90013674934
2487182857B276   CRYSTAL        HITON                  NV          90012228285
24872453A81658   MARGARITA      RENTERIA               MO          90014204530
2487256A591522   EZEQUIEL       OLIVAS                 TX          90013905605
24873325172B32   SARAH          SARABIA                CO          90011063251
24873791A91241   JALISSA        GREEN                  GA          90008307910
2487443A231453   TERESA         HENDERSON              MO          90011234302
24875123972B32   EDDIE          GONZALEZ               CO          90013451239
2487521544B281   GUADALUPE      VALDIVIA-GARCIA        NE          27044592154
2487556835B161   VALERIE        STRIBLET               AR          23064535683
24875623A81644   CASSAUNDRA     ROBINSON               MO          29029036230
24875689372B42   SHERRY         HALL                   CO          33058516893
248759A8831433   BRITTANY       SUMMERS                MO          90002279088
24877593A84364   CHUCK          VEACOCK                SC          19046275930
2487837A272B42   DANE           KING                   CO          90012663702
24878578972B88   MICHAEL        ROPER                  CO          90008415789
24878689887B59   XAVIER         KIRKLIN                AR          90015326898
248789A2731433   DEMETRIA       JOHNSON                MO          90012319027
2487B17A972B32   OSHIA          WALKER                 CO          90001431709
2487B27357B471   ASHUNDA        SINGLETON              NC          90013092735
2488151177B449   LAURA          PALMA                  NC          90013765117
24883A88291356   LYNNA          PACE                   KS          90006120882
2488451119184B   TROY           SHOATE JR              OK          21059255111
2488492A591541   JESSICA        ANDRADE                TX          90012629205
2488582135B161   PATRICIA       MCCARTY                AR          90012658213
2488587857B471   FATIMA         PEREZ                  NC          90014738785
2488645754B553   JASON          EDMON                  OK          90011134575
24886474A2B27B   CHRISTINE      SIMMS                  DC          90009944740
2488658459184B   JERRY          LANDRUM                OK          90008505845
24886774A7B471   ELISA          HERNANDEZ              NC          90008857740
24886839672B88   SHAWN          MARTENSWARNER          CO          33095548396
2488792529155B   MARISOL        WILLIAMS               TX          90010299252
2488817597B422   GUILLERMO      ARTEAGA                NC          90012351759
2488849259189B   BLANCA         MORENO                 OK          90007934925
2488882424B588   JESSICA        ZAMORA                 OK          90004818242
248888A5591522   PAYGO          IVR ACTIVATION         TX          90010008055
24888A73A24B55   IRA            EVANS                  DC          90010550730
2488913734B588   JUAN           GONZALEZ               OK          90014951373
2488955845B271   AMANDA         COOPER                 KY          68092705584
2488B524584364   ERIC           SCOTT                  SC          90014035245
2488B81455B571   BRITTANY       INGRAM                 NM          90006358145
2488B9A4A85938   GEORGANNA      DAVIS                  KY          90008589040
2488BA7A341272   CHRISTY        WILLARD                PA          90013360703
2489237A871935   TAYLOR         WOOLDRIDGE             CO          90001593708
2489255575B571   MARIA          CHICA                  NM          90011775557
2489329934B588   CHELSEA        MOAD                   OK          90014712993
2489338815B271   ANA            ARCE-CACERES           KY          68059673881
24894963A31433   RODNEY         WILLIAMS               MO          27591579630
2489712A391953   SHANEL         ROYSTER                NC          90014621203
2489743227B471   BERTIN         SAUCEDO                NC          90014734322
2489746A74B588   KENA           JONES                  OK          90004814607
24897549A72B42   JUANA          CEBALLOS               CO          33058225490
2489771A791541   ROSA           AGUILAR                TX          90013437107
2489834262B27B   TAJUDEEN       OLANIYAN               DC          90014983426
24898A86185938   MANUEL         GARCIA                 KY          67005660861
248997A2597B41   CARL           GRONBERG               CO          90014637025
2489B24925B571   MARTHA         MCELYEA                NM          35045742492
2489B3A7372B29   ERIC WILLIAM   PETRICH                CO          90003803073
2489B661371935   BRADLY         CONN                   CO          90012966613
2489B852572B42   CARLOS         QUINTANILLA            CO          33011838525
2489BAAAA4B588   JEANA          NICHOLS                OK          21557680000
248B115157B471   COREY          FLOYD                  NC          90012541515
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248B116319189B   SASHA        ROBERTSON                OK          90012651631
248B125A391541   JOSE         MUNOZ                    TX          75035632503
248B1A9AA4B281   DAN          PETERSON                 NE          90011810900
248B2A85531453   PAVIELLE     JONES                    MO          90014410855
248B333587B471   THEODORE     ROBERTS                  NC          90014733358
248B367515B271   BRITNEY      ISAACS                   KY          90011926751
248B3697872B42   TERELLE      FIELDS                   CO          90012866978
248B4542791953   EMANUEL      CRUZ MOORE               NC          90010785427
248B473472B27B   JOSE         NAVARRO                  DC          90013607347
248B473615B161   MONTIEL      AVALOS                   AR          23064817361
248B4926891953   ROSALIO      LOPEZ                    NC          90012799268
248B4947171935   HARNEK       SAHOTA                   CO          32039109471
248B523927B449   DAMZAR       DIMGLEY                  NC          90014702392
248B5731571935   JOHN         STURGIS                  CO          32054687315
248B5944191356   PABLO        RODRIGUEZ                KS          90015309441
248B594979184B   STEPHANIE    APFELBACHER              OK          90012399497
248B6957841245   DWIGHT       HAWKINS                  PA          51072339578
248B7244271935   EDWARD       KNIGHT                   CO          90009602442
248B7417A91522   JOSEPH       MOTA                     TX          90013284170
248B7989172B42   KRISTI       WEBBER                   CO          33083809891
248B826985B161   ANGELA       CAULDWELL                AR          23088652698
248B82A4451369   CHRISTOPHE   WOLFE                    OH          90013082044
248B8727972B32   MICHAEL      VIALPONDO                CO          90014657279
248B8797872B42   HELEN        KEMP                     CO          33052167978
248B917812B27B   TRINESE      BEASLEY                  DC          90013901781
248B9673A4B261   ROBERTO      SENA                     NE          90012356730
248B9AA9731453   CHIQUITA     NEWBY                    MO          90008230097
248BBA9AA4B281   DAN          PETERSON                 NE          90011810900
24911526A5B161   CYNTHIA      BOSTON                   AR          23019695260
249116A1872B42   RODNEY       DAVIS                    CO          33077546018
24911A96693767   BRYAN        BROWN                    OH          90013490966
2491235A471935   FELIPE       GARCIA                   CO          32010983504
2491274145B161   JULIA        COUSETTE                 AR          23072087414
24912A2195B271   GARFIELD     WEBB                     KY          90014900219
2491377477B449   BIRKTI       ABRHA                    NC          90014727747
2491382264795B   DEBORAH      GREEN                    AR          25063618226
2491443297B471   ORLANDO      JACKSON                  NC          90001314329
249145A8855957   AMELIA       AVALOS                   CA          90008535088
24914658172B88   AMANDA       MIERA                    CO          90014516581
249146A4641245   NATASHA      SIDDIQI                  PA          90010586046
2491527647B449   MARIBEL      CASTILLO                 NC          90014152764
2491543299189B   MARIO        CARDONA                  OK          90013844329
2491584814B281   ARTURO       MIRANDA                  NE          27065658481
24915973A72B88   CALEB        THOMAS                   CO          90012989730
249164A6471935   ALISA        POULTON                  CO          32050434064
249175A4331453   LATONYA      GRAY                     MO          90011235043
2491779565715B   KAILA        TANKSLEY                 VA          90001297956
249177A3571935   CARLOS       MENDOZA                  CO          90013967035
24917837372B88   JUSTIN       MATTOCKS                 CO          90013638373
2491787A391953   RONALD       TURNER                   NC          90014878703
2491818827B449   NATASHA      DAVIS                    NC          90014771882
24918541572B88   STACEY       IRVIN                    CO          90012215415
2491896A791953   DIANE        ROSSI                    NC          90012289607
2491926254B588   RAY          BRADSHAW                 OK          90013012625
2491B937A91522   JESSE        CHAVEZ                   TX          90015049370
2491BAA4A55957   MADALYNN     MAKEKAU                  CA          48048990040
2492128A47B449   SHAWN        DILLHUNC                 NC          90012952804
24921677172B32   KATHY        DEGALDO                  CO          90009096771
249221A615B257   CARMIN       GLOVER                   KY          90011891061
24922395472B32   VICTOR       GERMAIN                  CO          33018763954
2492241259189B   CAROLINA     JARAMILLO                OK          90008294125
2492339319189B   KYLE         BLAIR                    OK          90013653931
24923412172B42   VINCENT      RODELL LEE               CO          33087044121
24923817A4B588   SHEMIKA      CRYER                    OK          90008428170
24924253A7B449   JYMECIA      BENSON                   NC          90007462530
24924A25191522   VALERIA      POBLANO                  TX          75067420251
24925384472B42   HEATHER      WILSON                   CO          90010163844
24926933672B42   GILBERTO     CORTES                   CO          33071279336
24927357A7B471   AYESHA       BENNETT                  NC          11011443570
2492739595B271   SASHA        BARD                     KY          90014793959
2492754165B161   BRIUANNA     GREEN                    AR          90014695416
24927A92291828   MELISSA      JONES                    OK          21016780922
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2492821932B232   JOSE        HERRIQUEZ                 DC          90004802193
2492933635B161   LATRYCE     TAYLOR                    AR          23020673363
24929378A9189B   CORIE       BUTLER                    OK          21081953780
2492991835B271   ALICIA      LILLY                     KY          90008229183
2492B438691522   JOE         MONTANA                   TX          90011084386
2492BA4567B471   ISMAEL      TERAN                     NC          90004260456
2493125672B27B   DAVID       ESCALANTE                 DC          90008822567
24931A4249155B   CORAL       CORTES                    TX          90009360424
249321A5931631   JONATHAN    FITZGERALD                KS          90005341059
24933631A72B32   CESAR       DE LA ROSA                CO          90014466310
2493451A531453   AINYE       GREENE                    MO          90011235105
24934997A91541   LUIS        VALDEZ                    TX          90004509970
24934A5969189B   AMANDA      BROWN                     OK          90011890596
24935A33372B88   BEATRIZ     CONTRERAS                 CO          33080720333
24935A3615B271   PATRINA     SALTSGAVER                KY          90014600361
2493663669189B   ANGELETTE   SMITH                     OK          90013696366
24936A32691541   MARIO       MORENO                    TX          90012170326
24936A54391241   KIM         WILL                      GA          90009940543
249378A3171935   GABRIEL     MCKNIGHT                  CO          90014148031
24938454872B32   JANIS       ARAGON                    CO          33098714548
249392A7991241   YOLANDA     DRYER                     GA          90014552079
2493B11A755957   DANIEL      POTEETE                   CA          90011681107
2493B6A9731453   DEVONTE     MILLER                    MO          90013876097
2494151A951369   CARLOS      LOPEZ                     OH          66017475109
2494199985B271   HANNAH      THIEMAN                   KY          90014909998
2494231884795B   TOM         HENSON                    AR          25047783188
2494357587B471   MAYTOYA     CURETON                   NC          90014735758
2494364A27B435   VANESSA     PATTON                    NC          90011116402
2494414A831433   LATRINA     TAYLOR                    MO          90007411408
24944821A72B32   KOREY       BUEHLER                   CO          90007978210
24945893A97122   MICHAEL     EGLI                      OR          90011458930
24945A75972B32   CRIS        HAYLOR                    CO          90003310759
24945AA125B271   MARVIN      JOHNSON JR                KY          68094620012
2494623924B588   AURORA      MALDONADO                 OK          90010832392
2494624A591541   LORINA      ORTEGA                    TX          90009862405
249462A625B271   PATRICIA    BORDERS                   KY          90014162062
24946454A91241   SKIPPER     COX                       GA          90014924540
2494674285B333   DONNA       HANSEL                    OR          90012397428
24946A37391953   SHYLENA     DAY                       NC          17001650373
249476A642B249   ANNA        CHICAS                    DC          90000136064
24947A4A381644   DAVID       YEWELL                    MO          29016810403
2494826397B449   JENNIFER    WALSH                     NC          11006122639
24948793A4B588   DAVID       DAVIS                     OK          90013187930
24949321A91241   YAKARIA     KEEL                      GA          90014933210
2494938929184B   FRANKLINE   ALJEANDROP                OK          90003893892
2494965477B471   ALISA       MACKEY                    NC          11087376547
24949745872B88   GUADALUPE   AVILA GARCIA              CO          33095187458
24949A8643B352   JAMES       MARTINEZ                  CO          33076190864
2494B326572B32   CRISTIAN    PEREZ                     CO          90013463265
2494B977371935   ANNE        MULLER                    CO          32097809773
2495139897B449   HERLIN      VENTURA                   NC          90013743989
2495236A772B42   DANIEL      FORBIS                    CO          90013503607
2495238164B588   JESUS       CALDERON                  OK          90014173816
249523A899189B   BRYAN       THURMAN                   OK          90012023089
24952422972B42   SABRINA     MALDONADO                 CO          90002464229
2495364724B52B   PATRICIA    DURDEN                    OK          90011146472
24953659A7B471   JAMAL       HOLMES                    NC          90014736590
24953A47291241   JOSHUA      MCLENDON                  GA          90013930472
24953A94672B32   YOLANDA     VELAZQUEZ                 CO          90008760946
24954118872B32   SHIRLEY     VILLEGAS                  CO          90013401188
24954426A72B42   KEVIN       REYNOLDS                  CO          90013554260
2495555582B27B   JERMAINE    JACKSON                   DC          90012555558
249559A769155B   LUIS        HERNANDEZ                 TX          90008649076
2495641964B261   ESTER       CORTEZ                    NE          90013644196
24956937872B88   MICHAEL     WORKMAN                   CO          90012479378
24956A9524B588   LAWRENCE    WILSON                    OK          90014640952
249576A975715B   ISABEL      SANDOVAL                  VA          90001276097
249581A3731453   KEDA        MCROBERTS                 MO          90005601037
24958313472B88   TIM         TRIPP                     CO          33058293134
2495B116891828   BLIA        LOR                       OK          90014691168
2495B243855957   GONZALO     PEREZ                     CA          90014802438
2495B826371935   AARON       MESTAS                    CO          90015098263
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2495B829391241   DEBRALEE         COBB                 GA          90014558293
2496161397B449   MICHAEL          SMITH                NC          90003386139
249616AA37B471   JAMARION         ROSEBORO             NC          90007726003
2496173545B271   JOSEPH           WHELAN               KY          68021687354
249621A8154162   SAMUEL           STRANGE              OR          90014921081
2496226525B161   SANDRA           STEWART              AR          23029212652
249624AA45B271   TIERRA           WRIGHT               KY          90014224004
24962617A72B42   LETICIA          VALIENTE             CO          33051826170
2496266424123B   RONALD           CIORRA               PA          90014476642
2496394A341245   HENRY            CARPENTER            PA          90001299403
24963A8876B247   JAVIER           QUINONES             CO          37065170887
249655A3955957   MARION           ROSS JR              CA          48017275039
2496648947B449   CHARLES          RANDALL              NC          11035224894
249665A5691986   MIGUEL           ADAME                NC          90012115056
24966A3535B161   BRITNEY          LAMBERT              AR          90004970353
2496752657B449   MARCOS           ROJAS                NC          90013675265
24967762872B32   JONATHAN         KEEGHAN              CO          90014307628
2496793865715B   MARIE            DEDINA               VA          90006329386
24967A8876B247   JAVIER           QUINONES             CO          37065170887
2496838425B161   ADOLFO           CENDEJAS             AR          90002633842
2496886A557157   OLIVIA           LLOYD                VA          90002368605
2496932A55B271   CHAD             MUDD                 KY          90015313205
2496B315991541   LILANA           ROBLERO              TX          90011523159
2496B417172B32   SAM              SNAKES               CO          90014944171
2496B553A81644   WILLIAM          BARRETT              MO          90013535530
2497112949155B   MARTHA           DE LA RIVA           TX          75001921294
2497144425B571   MISTEEQ          VIGIL                NM          90010714442
2497153867B471   TOMIKA           BRIGHT               NC          90007725386
2497161A272B88   CARLOS           VALLES               CO          90009826102
249736A3971935   SHAWNNA          EMILIO               CO          32011736039
24973A1A541245   LESTER           JACKSON              PA          51066530105
2497437752B27B   KIMBERLY         LEWIS                DC          90013013775
249756A4881644   DARON            WILLY                MO          90003616048
24976985872B32   ZANTEL           ABAD                 CO          90012589858
2497737323B391   DALE             ALBRECHT             CO          90002393732
249774A9391953   LEROY            MELTON               NC          90015034093
2497832129189B   FREDA            SMITH                OK          90014313212
24979919972B32   DONNA            BLEDSOE              CO          90000989199
24979A17551333   KARMIA           ADKINS               OH          90011110175
2497B237955957   OVIDIO A         SAUCEDA              CA          90005042379
2497B344972B32   WELTON           TUCKER               CO          90011063449
2497B394591534   MARIA DE JESUS   OROZCO               TX          90013713945
2497B4A5872B42   JASON            MITCHELL             CO          33048204058
2497B739672B88   ROMONDE          WEBSTER              CO          90013157396
24981153A91828   TAKEA            DARKO                OK          90009921530
249826A1831453   CHRISTOPHER      CALLAWAY             MO          90011236018
24982A6114B588   RICARDO          GUTIERREZ            OK          90010970611
2498365719155B   ERIBERTO         CHAVEZ               TX          75076766571
249841AA472B32   LEANN            TRUJILLO             CO          90007151004
2498421175B571   ANNA             BOLIVAR              NM          35033892117
2498477875B271   MALIK            PHILLIPS             KY          90014297787
249848A419184B   KEN              BUCHER               OK          21045168041
249856A8241272   ELAINE           PHILLIPS             PA          90010126082
24985919872B42   BRENDA           CHAVEZ               CO          33013089198
2498612399189B   TYLER            SHELL                OK          90015531239
24986186A91541   MARIA            GALLEGOS             TX          90013721860
2498666A291828   BRANDY           BLACKFOX             OK          90009316602
2498749934B588   STEPHANIE        MCCARTHY             OK          90012074993
2498782A271935   MICHAEL          DIAZ COLON           CO          90013238202
2498788457B471   CRISTEN          ALEXANDER            NC          90014738845
2498922929184B   JOSE             DURAN                OK          90014992292
249892A2991522   JUAN             GOMEZ                TX          90012702029
2498954369155B   RAFAEL           ZUNIGA               TX          90009535436
24989A16891356   BELLA            ROE                  KS          90010010168
2498B15475B936   DIANE            FALL                 ID          90005191547
2498B46987B449   EDUARDO          AYALA                NC          11060624698
2498B9A8191541   MAYRA            MACIAS               TX          75089319081
249913A8372B42   KURT             HERTEL               CO          90013103083
24991586972B42   JAMES            ANDERSON             CO          90013295869
249929A2677576   DIRK             JACOBSEN             NV          90006799026
2499333A24B261   OLIVIA           BAKER                NE          90013273302
2499371769189B   CHERYL           STARKEY              OK          90013257176
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2499412157B449   PABLO JUNIOR      MORA                NC          90012211215
24994598972B42   LEONARDO          ORTIZ               CO          33011165989
2499474255B571   SABRINA           MARTINEZ            NM          35055427425
249957AA54B588   VINICIO           RODAS               OK          90010677005
249974A3172B32   TAMMY             WILSON              CO          90003984031
249974AA933B96   CHRISTINA         ERVIN               OH          90012814009
2499829424B261   BENITO            HERNANDEZ           NE          90013942942
2499856A37B449   ELADIO            LOPEZ               NC          90013675603
2499977892B27B   TIANDRA           HASKINS             DC          90014767789
24999A8A831453   CHRIS             KLUND               MO          27593200808
2499B77174795B   MARIA             LANDEROS            AR          25055167717
2499BA79981644   LETICIA A         SCOTT               MO          90015050799
249B124365B271   TAMMIE            ORTIZ               KY          90013092436
249B1277955935   ROCHELLE          ROBINSON            CA          90013642779
249B26A4331631   JEROME            CHRISTMON           KS          90007826043
249B31A5855957   CINDY             MORA                CA          48010241058
249B322944B261   MONA              JOHNSON             NE          27029972294
249B329A891828   JOHN              ROSE                OK          21098452908
249B352A691953   ERICA             THOMPSON            NC          17051255206
249B3598931453   JASMINE           RODRIGUEZ           MO          90009795989
249B4374681644   ARLOWA            ADAMS               MO          90014163746
249B4A57491522   MERCEDES          LOPES               TX          90007450574
249B4A8A691541   ROSA              MALDONADO           TX          90010900806
249B5497772B32   MARTHA            LANDEROS            CO          90005664977
249B5546191541   JOE               MARIN               TX          75078075461
249B5669291828   DONNELL           WASHINGTON          OK          21059116692
249B5949491241   CATHY             VACCARI             GA          90003559494
249B62A7A8B16B   JOYCE             OLIPHANT            UT          90009952070
249B684A672B42   JULIUS            MCCOY               CO          33097528406
249B7259191525   MAYRA             LOZANO              TX          75056092591
249B7274291522   EVA               RUIZ                TX          90012372742
249B756715B571   JOSEPH            WRIGHT              NM          35008765671
249B8331231631   NANCY             SANDOVAL            KS          22039243312
249B846777B471   LAKITA            WILLIAMS            NC          90014734677
249B923464B261   DAMIAN            POLLACK             NE          27072252346
249B9515472B32   DEBBIE            MATHIS              CO          33067995154
249B954874B588   FELICIA           MATHEWS             OK          90013825487
249B988229155B   MARGIE            HERNANDEZ           TX          75052378822
249BB63532B32B   JEAN              POLICAT             CT          90013486353
249BB678471935   CARRIE            RAYOR               CO          90012966784
249BB878691953   RODRECO WELBORN   VALDEZ              NC          90011948786
249BB9A1791356   CLAUDIA           HUIZAR              KS          90015049017
24B1116A38B182   GHISLAINE         HOMAN               UT          31023581603
24B112A254B281   CHRISTINE         BOETEL              NE          27093432025
24B11329691528   DAVID             HINOJOSA            TX          75093533296
24B1146834B588   SOCORRO           HERNANDEZ           OK          90010984683
24B11635355935   LILILIAN          BRYSON              CA          90012776353
24B11799755957   STEVEN            OLIVER              CA          90008487997
24B11917A5B161   ANNA              SIMMONS             AR          90010819170
24B13415A4B281   ELIZABETH         THEULEN             NE          90010594150
24B1352235B571   ASHLEY            REED                NM          90009225223
24B13937336B95   MELANIE           CUNNINGHAM          OR          44525909373
24B1488269189B   SHERRY            PURDOM              OK          21017818826
24B14A96931631   SHERYL            DORSEY              KS          90003700969
24B15268655957   TOSHIA            LEE                 CA          90010572686
24B15A87A91953   BARBARA           DALE                NC          90011510870
24B1645AA9184B   ELVIRA            MORENO              OK          90011404500
24B16734625138   CASSANDRA         MILLER              AL          90014727346
24B17121372B88   CURTIS            HESTER              CO          90008991213
24B17241755957   LOUIS             MERCADO             CA          48002392417
24B17251A4B588   MAREALE           GARRETT             OK          90010912510
24B1752A291893   MARY              ZACHERY             OK          90010795202
24B1823965B271   NANCY             ROBINSON            KY          68046952396
24B1861757B471   TERWHA            GLASS               NC          90008026175
24B18717A72B32   JERMAN            JAVIER              CO          90014657170
24B18A5257B471   ALICIA            JENKINS             NC          90014670525
24B191A2647952   DORGUINA          CHANCEY             OK          24010271026
24B19246891542   ANTONIO           HERNANDEZ           TX          90013082468
24B1B528591356   ALBERTO           MACIAS              KS          29048345285
24B2129A12B27B   WILLIAM           CORLEY              DC          90014292901
24B21615791522   CHRISTOPHR        MUNOZ               TX          75085916157
24B2168889184B   DAWAN             STIGGER             OK          90014836888
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24B21A96A91828   STEPHANIE    HOLMBURG                 OK          90012330960
24B22284A7B449   CARLOS       GONZALES                 NC          90014112840
24B223A4557157   JUAN         VEGA                     VA          90011363045
24B2259154B588   JOSH         BOBO                     OK          90015185915
24B22686772B42   MANUEL       CALDERON                 CO          33061426867
24B23138291356   JEON         DAVIS                    KS          90014601382
24B2336455B271   OROZCO       PEREZ                    KY          90014083645
24B24256585938   CARLA        GONZALEZ                 KY          67030172565
24B24916461994   LILIA        ONG                      CA          46037269164
24B251A112B27B   GODFREY      JALOH                    VA          90013361011
24B25662672B32   BRISSA       MANRIQUEZ                CO          90013966626
24B25774784364   ROSHELL      WALLS                    SC          90013777747
24B25861172B42   MICHAEL      NEWTON                   CO          90010928611
24B25A59291828   DEVIN        WINN                     OK          90013380592
24B2633A95B161   BRIDET       FARMER                   AR          90014713309
24B2671A291828   JUSTIN       BECKWITH                 OK          90006037102
24B26818591541   IRENE        VILLEGAS                 TX          90012388185
24B27189391828   SERGEI       ZAGORODNY                OK          90006011893
24B27199A4B588   JONATHAN     DYKES                    OK          90015601990
24B2737179155B   WILL         SMITH                    TX          75083263717
24B2759A14B281   EDITH        AVANT                    NE          27042665901
24B276A1891522   JESUS        BARRAGAN                 TX          90006416018
24B2777567B457   FELICANA     PERREZ                   NC          90010507756
24B2833547B471   TAMIKA       GAMBLE                   NC          90010953354
24B2833644B588   BROOKE       WALLACE                  OK          90014663364
24B28417481644   NALLEY       ROSARIO                  MO          90000114174
24B2874869155B   FERNANDO     VAZQUEZ                  TX          90010777486
24B2876A872B42   KANE         ACOSTA                   CO          90015137608
24B2917A291241   ANDRE        TYSON                    GA          90012011702
24B2935A471935   BRAYN        BALL                     CO          90010903504
24B2B112941245   ANDREA       ASHER                    PA          51087791129
24B2B125391522   JUDITH       MACIAS                   TX          75050301253
24B2B265357124   OSCAR        MALDONADO                VA          90007992653
24B2B28717B449   JAVEL        EVANS                    NC          90012622871
24B3128393B355   MARIA        AGUILERA                 CO          90010722839
24B32663931453   LACEY        HENDRIX                  MO          90010306639
24B32826155957   DOLORES      RODRIGUEZ                CA          90008058261
24B33865591241   EMBER        HUNTER                   GA          90012988655
24B33886681644   REBECA       LOPEZ                    KS          90013948866
24B34257172B32   CARLOS       RUIZ                     CO          90008092571
24B3435754B281   KYLE         SPEIGHTS                 NE          90011793575
24B347A8881644   MELISSA      BITTIKER                 MO          90010087088
24B3517652B232   LATISHA      CHAPMAN                  DC          90004071765
24B3519575B271   DONNA        ROISOR                   KY          90006041957
24B35837731453   ARTIS        BEATY                    MO          90009218377
24B36925481644   ERIC         JONES                    MO          90009939254
24B3773294795B   JOSE         FLORES                   AR          25095097329
24B3814639189B   DEMERTRICE   HARDRICK                 OK          90012231463
24B38559584364   JOSE         PUGA                     SC          90013105595
24B38692491953   JUSTIN       REYNOLDS                 NC          90001106924
24B3871847B399   JOSE OSCAR   COLINDRES                VA          90005597184
24B39726572B42   EDGAR        ROMERO                   CO          90012097265
24B3B29565B271   DENISE       BURKHEAD                 KY          90014102956
24B3B373687B87   FELICIA      MILLER                   AR          23032083736
24B3B412831453   DEBRA        CHANDLER                 MO          27571794128
24B3B485A55957   SCOTT        MASON                    CA          90012424850
24B412AA731453   LEAH         PRICE                    MO          90015052007
24B4145495715B   EDWIN        GUZMAN                   VA          90000404549
24B4155784B588   SARAH        BRAXTON                  OK          90012335578
24B41865972B32   NICHOLAS     DEBELLE                  CO          90000928659
24B4228739794B   LAKIESHA     MINOR                    TX          90002622873
24B424A865B161   JESIKA       LONG                     AR          90014984086
24B4257735B271   BOBBY        POWERS                   KY          90011025773
24B4287A457157   LORRAINE     GADSDEN                  VA          81088578704
24B42898A71935   JASON        PARRY                    CO          90012818980
24B42A6A691522   MARIO        JIMENEZ                  TX          90012730606
24B43722A81644   SARAHY       VELASQUEZ                MO          29041267220
24B455A7491541   MIRELLA      SANCHEZ                  TX          90003775074
24B455AA191522   CARLOS       ECHEVARRIA               TX          90008605001
24B4598469189B   KIRA         HAMBLIN                  OK          90008969846
24B4614A672B32   MATTHEW      HAYES                    CO          33070311406
24B46418351326   TAMMY        MCQUAID                  OH          90014744183
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24B4642134B261   RHONDA              ROBINSON          NE          27076954213
24B4685645B161   CHRISTOPHER         SMITH             AR          90014208564
24B46A51191356   ROBERT              KASPER            KS          90009360511
24B47218991828   ALEXANDRA           FOREMAN           OK          90013122189
24B4766449184B   WILMER              FLORES            OK          90003766644
24B4785A591953   TRAY                WILSON            NC          90015078505
24B48164797173   SARAH               EAGLE             OR          90010531647
24B4824287B449   PAIGE               HANSBROUGH        NC          11028872428
24B48386671935   JEFFREY             LANGWORTHY        CO          90015133866
24B48589231453   MICHELLE            BAIK              MO          90010405892
24B4875973B127   DELMER              PORTILLO          VA          90005807597
24B48898A7B423   HENRIETTA           SMITH             NC          90008428980
24B488A154B261   LINDSLEY            ESTES             NE          27009168015
24B4912575B571   ART                 HERRERA           NM          35067641257
24B49173397173   JOE                 GLOVER            OR          90010531733
24B49318171935   JOSE DE JESUS       AMEZCUA           CO          90013053181
24B49699141229   ICB                 INC               PA          90007066991
24B4972935715B   URANIA              LOPEZ             VA          81026067293
24B49789481644   BETTY               MASON             MO          29029267894
24B49862291828   JAVIER              GARCIA            OK          21069488622
24B4B373A31631   BILL                DEAN              KS          22004093730
24B4B591172B32   OLUSEGUN            ADENOWO           CO          33093055911
24B4B73435B271   DANNIELLE           DUGAN             KY          90013147343
24B4B836191828   EMPRAIM             LIGGINS           OK          90014648361
24B4B998184364   MARIO               VALLADARES        SC          90013109981
24B51119772B42   KEITH               FARLEY            CO          90008301197
24B515A5A4B261   MIKLE               LESSLEY           NE          90015165050
24B5165859189B   RENEIA              LOWE              OK          90010736585
24B51662A91541   ANNIE               HOLSEY            TX          75061056620
24B5171725B271   JEREMY              ALLEN             KY          90007087172
24B51938191356   ELENA               PACHECO           KS          90012009381
24B5233AA5B571   JUAN                ALVAREZ           NM          90010503300
24B5297554B588   MADELINE            KEMPER            OK          90014019755
24B53189891953   DIANA               DE ANDA           NC          17039391898
24B53291571935   MARK                STEINER JR        CO          32087992915
24B53748591541   MARIO               VALDEZ            TX          75064577485
24B538A8191356   JAZMIN              JIMENEZ           KS          90012418081
24B5517A191541   RICARDO             HERNANDEZ         TX          90006101701
24B5522435B571   CORRINE             MAES              NM          35009692243
24B55587491356   SANTIAGO            GARCIA            KS          90014675874
24B558A359189B   GABRIELA            VASQUEZ           OK          90012058035
24B5632532B27B   JOHN                JOHNSON           DC          81051353253
24B5645A34B588   GERVIN              GONZALEZ          OK          90015004503
24B57488872B42   AMANDA              NEWTON            CO          90013054888
24B5788315B161   ANGEL               ALLEN             AR          90015208831
24B58177131433   JENNIFER            STRAUTMAN         MO          27590141771
24B5835299184B   HEATHER             HANSEN            OK          90013203529
24B5866728B149   BECKY               RASMUSSEN         UT          90012706672
24B58698272B88   LAURA               BUSBY             CO          90004916982
24B58A16891828   RASHEED             OLAONITEKUN       OK          21007890168
24B58A97A72B32   ABIGAIL             GARCIA            CO          90012420970
24B58AA9391241   CERRELL             ROBBINSS          GA          90014780093
24B59A64891241   BRYAN               EVANS             GA          90011970648
24B5B893A91541   GUADALUPE           APODACA           TX          90000148930
24B5B932991828   JESUS               AGUILAR           OK          90009539329
24B6118899794B   JOSE                RAMIREZ           TX          90000991889
24B6126864B28B   DENNIS              ZAGER             NE          90013002686
24B61277985999   SHIRLEY             CRANK             KY          90012082779
24B6167977B471   CHRIS               TINDAL            NC          90014766797
24B61853184364   DELPHINE            MOORE             SC          19045838531
24B61A3A191541   LEO                 MELENDEZ          TX          90012850301
24B61A79372B88   PABLO               REYES-SANTILLO    CO          90013140793
24B62139691926   STEPHANIE           DUPREE            NC          17030881396
24B62548624B55   LAVERIA             WHITBY            DC          90009905486
24B6273195B271   CYNTHIA             TERZO             KY          90003607319
24B63438391541   JUAN                LOPEZ             TX          90009284383
24B643A6872B32   FREDERICK GARRETT   KING              CO          90011413068
24B64699187B87   ELOISE              SELBY             AR          23016056991
24B64A98855957   SHILA               HARRIS            CA          90012840988
24B6557395B571   ARTURO              COCA              NM          35092015739
24B65722341245   LATESHA             MURRAY            PA          51069957223
24B6669519184B   ANGELA              VANDIVER          OK          90013626951
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24B6698A231631   DANIELLE    TUCKER                    KS          22006969802
24B66A68291953   NOE         MORALES                   NC          90013980682
24B6725A42B27B   SHERTI      HENDRIX                   DC          90014332504
24B67439691541   EDUARDO     MADRID                    TX          90010314396
24B67474472B88   CONNIE      HENDRICKS                 CO          33063454744
24B6754262B27B   SHERTI      HENDRIX                   DC          90011615426
24B6779735B271   RHANDI      THOMPSON                  KY          90013847973
24B67815347952   RAFAEL      MANJARREZ                 AR          24038418153
24B678A3791522   PERLA       HERNANDEZ                 TX          90015058037
24B6791773B39B   CINDY       ANDERSON                  CO          90011469177
24B6851875B161   DOMINQUE    COATS                     AR          23002835187
24B69349A87B87   LEE         STOKES                    AR          23071393490
24B69571891953   EUGENIA     WIMBUSH                   NC          90015245718
24B6983979184B   PATRICE     GREEN                     OK          90009858397
24B69A6422B281   TELISA      SETTLES                   DC          90004040642
24B6B673691356   LUPITA      CONTRERAS                 KS          90014376736
24B6B734372B32   ERIC N      VASHTI                    CO          33045727343
24B6B99154795B   AMANDA      CARSTEN                   AR          90012239915
24B71211472B32   MIGUEL      FLORES                    CO          90011062114
24B71841591828   LOGAN       WEDDLE                    OK          90014128415
24B71A94191522   JOSE        LOPEZ                     TX          75031800941
24B72273681635   CHRIS       GREENWALD                 MO          90010682736
24B72298A7B449   KENISHA     BILLUPS                   NC          90011252980
24B72399291356   RACHEL      MARTIN                    KS          90013243992
24B7242495715B   JOSE        ARANA                     VA          90005344249
24B72538284364   RONALD A    CONNICK JR                SC          90014555382
24B72755347952   MONICA      PRUITT                    AR          90005007553
24B72A45857157   LUIS        BONILLA                   VA          90003490458
24B73245A91522   RAUL        BAUTISTA                  TX          90011942450
24B74135A31631   DAWIT       TSEGAY SIELE              KS          90014071350
24B74429991241   KRISTEN     PINHEIRO                  GA          90014064299
24B7443387B274   STEFANIE    GETTMANN                  AZ          90012044338
24B74582191356   RAY         CLARK                     KS          29034195821
24B74622572B88   TONY        MAUBACH                   CO          90014386225
24B7482A79184B   ERNEST      WEST                      OK          21004588207
24B7499A291541   JUAN        SERRANO                   TX          90014729902
24B7514A591522   DERYL       CURTIS SR.                TX          75023531405
24B7516889184B   DAISI       CARDENAS                  OK          21085261688
24B7522869189B   DARREL      RUFF                      OK          90011702286
24B7565225B271   TIMOTHY     MILLER                    KY          90014886522
24B75852171935   ALFONSO     CHAVARRIA                 CO          32024018521
24B76135672B88   TOMMY       HUFF JR                   CO          33009371356
24B761A8257157   LUCAS       GARCIA                    VA          90003081082
24B7623584B281   MELISSA     DE LA CRUZ                NE          90011742358
24B76276487B59   ANGELA      HARRIS                    AR          90002942764
24B7741125B271   DUSTY       KEY                       KY          90004354112
24B7766672B931   TOMMY       PATTERSON                 CA          45097376667
24B77912572B88   NAVARRA     MOUA                      CO          90006459125
24B78133A91522   SYLVIA      GRANILLO                  TX          75087231330
24B78325131631   MIRNA       RUVALCABA                 KS          90009413251
24B78493691241   JONATHAN    PERAZ                     GA          90011904936
24B7856534B588   KEVIN       GILBERT                   OK          90014345653
24B7864A972B88   FRANCISCO   GARCIA                    CO          90013066409
24B7869265B271   CONTESSEA   SPEAKS                    KY          68040296926
24B787A8655957   RICKEY      GREEN                     CA          90012787086
24B7934964B261   MONIQUE     COOPER                    NE          27045753496
24B79976972B88   JEFF LEE    EVANS                     CO          90013159769
24B7B67465B271   LUCIO       RAMIREZ ROJO              KY          90011866746
24B81358772B42   JACKIE      TORRES                    CO          33006813587
24B8152359184B   KENAN       FRIDAY                    OK          90012845235
24B81588155957   MANUEL      DUUARTE III               CA          48069555881
24B81678771935   KEOKI       SMYTHE                    CO          90014266787
24B81738272B32   NENA        MARTINEZ                  CO          90014837382
24B81A72491541   VICTOR      CORTEZ                    TX          90013410724
24B8234A32B27B   CHRIS       EDWARDS                   DC          90013813403
24B8239817B471   JERSON      ESTRADA                   NC          90013553981
24B82682491356   ANGELA      HAYNES                    KS          29073746824
24B82854591522   ALMA        CORTEZ                    TX          90011828545
24B82957931453   NIKKI       MITCHELL                  MO          90001379579
24B82A85972B88   SHAWN       RIDDELL                   CO          90009930859
24B83445291522   JOSHUA      LOPEZ                     TX          90007604452
24B83856381637   ROBERT      HENDERSON                 MO          90012558563
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24B84122872B88   ERIC         BAILEY                   CO          33049761228
24B84321772B32   MAYTE        PAREDES                  CO          33010003217
24B84819184364   BAYRON       MONROY                   SC          90013668191
24B84A5772B931   JESSICA      APODACA                  CA          90005550577
24B84A6362B27B   TIMOTHY      THOMAS                   DC          90014520636
24B8512137B449   RAJAI        ROBINSON                 NC          90009081213
24B85142331453   NICHOLE      CHICK                    MO          90012451423
24B8554419184B   THOMAS       HINDS                    OK          21090285441
24B85828A9189B   TAMRA        RUHMANN                  OK          21029998280
24B86441284364   JESSE        PURVIS                   SC          19010314412
24B86462191522   IVONNE       DIAZ                     TX          75064114621
24B8646535B161   JAMIE        LOCKETT                  AR          90013764653
24B86769A9794B   LUCAS        PEREZ                    TX          74077117690
24B87A43372B88   YOLANDA      CABRAL                   CO          33026990433
24B88362391541   ISABEL       PINEDA                   TX          90010853623
24B8882AA72B32   LISA         CRAIG                    CO          90005218200
24B8958185B161   MARTHA       VALASQUEZ LOPEZ          AR          90012035818
24B8963327B449   ROSALIND     CRAIG                    NC          11040916332
24B89A51872B32   MELISSA      GLANDER                  CO          90014730518
24B8B284A72B88   DAWN         FUENTEZ                  CO          33079372840
24B9224A34B281   MICHAEL      SNODGRASS                NE          90011652403
24B9256437B471   CHRISTINA    CANNIE                   NC          90012925643
24B9295A75B271   BRIAMA       GROVES                   KY          90011689507
24B92A68431631   MINDY        BROCKUS                  KS          90014030684
24B93118371935   JOSE         SANDOVAL                 CO          90015271183
24B93165491241   BRIAN        MOYO                     GA          14540111654
24B93423355957   ANA          LOPEZ                    CA          90010664233
24B9392144B261   WILLIAM      RIVERA                   NE          90013929214
24B93A51587B59   HURBERT      CORBIN                   AR          23055250515
24B94299184364   ELY          DRIGGERS                 SC          19086512991
24B9438184B588   SHERRY       NUSZ                     OK          90013533818
24B9448A791953   TRACY        TOOMER                   NC          17004724807
24B94627391356   CARLOS       GALVEZ                   KS          29026186273
24B94844691828   GREG         LYTLE                    OK          21005218446
24B95276957133   DANIEL       MUNOZ                    VA          90011742769
24B952A8891356   GAYLORD      RICHARDSON               KS          90007762088
24B95378891828   GREGORY      KIRBY                    OK          90013283788
24B9542A972B32   NORMA        GONZALEZ GOMAEZ          CO          90005774209
24B95444531453   ANTOINETTE   BURKS                    MO          90013544445
24B95454191953   MYCHEL       WILLIAM                  NC          90009024541
24B9561562B927   JAMIE        SIMMONS                  CA          90010476156
24B95767355957   KIM          ACEVEDO                  CA          90013047673
24B9593842B27B   DANAY        HARPER                   DC          90012939384
24B95A1165B161   MANUEL       RIOS                     AR          90015610116
24B96199391522   PRICILLA     RODARTE                  TX          90007231993
24B9657185B571   DENISE       GERSBECK                 NM          90001485718
24B96A67591241   JOHNNY       RHODES                   GA          90009280675
24B96A8A587B87   SAMANTHA     HURST                    AR          23068530805
24B97147791541   CYNTHIA      SCHAFER                  TX          90002221477
24B9732845B161   DOMINIGUE    VINSON                   AR          90012633284
24B97631A9189B   JUSTIN       BRASSFIELD               OK          90006566310
24B98333291522   ALEX         G.                       TX          75083113332
24B98669572B88   DANA         RODRIGUEZ                CO          33041726695
24B9872714795B   SANTIAGO     GARCIA                   AR          25076207271
24B98938872B42   ZACKERY      OSTHEIMER                CO          90001079388
24B99238655957   MIGUEL       RAMIREZ                  CA          48017902386
24B99319921626   ROSA         OZANICK                  OH          90013893199
24B99571291356   JACKIE       ELGIN                    KS          90012865712
24B9967695B161   AMANDA       DAVIS                    AR          23013876769
24B9B51517B449   SADRIGA      GIBSON                   NC          90009315151
24B9B56437B471   CHRISTINA    CANNIE                   NC          90012925643
24BB1136931453   SATCHEL      DONALD                   MO          90010281369
24BB1916384364   JEREMY       WOOD                     SC          90014839163
24BB23A6291953   MARIA        MORENO                   NC          90014963062
24BB3232141245   CALVIN       GOODMAN                  PA          51003512321
24BB3563172B42   ELAINE       PRATT                    CO          90012935631
24BB3863191949   CARMEN       SLOAN                    NC          90012868631
24BB3A33961999   FELICIANO    ARREARAN                 CA          90012570339
24BB425827B449   MARCOS       CORTEZ                   NC          90012952582
24BB463315715B   GLORIA       SANCHEZ                  VA          81012696331
24BB4643287B59   SANDRA       BENNETT                  AR          23040716432
24BB464898B17B   MILAN        FITZGERALD               UT          31001156489
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24BB4A4744B261   CARLOS       RAMOS                    NE          90010890474
24BB547965B161   DELILAH      HODSHIRE                 AR          90015004796
24BB5863191949   CARMEN       SLOAN                    NC          90012868631
24BB598A44B588   MARTIN       ARIAS                    OK          90012679804
24BB5A65972B73   ANNETTE      JACOBS                   CO          90009170659
24BB636397B435   DAILLA       PETERSON                 NC          90010883639
24BB6447291541   CHRISTOPHE   BREAZEALE                TX          90000484472
24BB685A891828   TRAVIS       HYATT                    OK          90008188508
24BB6992541245   MATTHEW      DEMBRWOSKI               PA          51012569925
24BB6A1117B471   KRISTEN      SHARPE                   NC          90014670111
24BB7A1117B471   KRISTEN      SHARPE                   NC          90014670111
24BB8229891522   GRACE        GANDARA BELTRANN         TX          75028952298
24BB9531391541   RENE         VALADEZ                  TX          90008575313
24BB9599391522   MARIBEL      CHAVIRA                  TX          90011435993
24BB998A191953   TANYA        WILLIAMS                 NC          17033249801
24BBB17179155B   NITER        ALVIN                    TX          90011241717
24BBB4A7891522   MARTHA       TREVIZO                  TX          90012894078
24BBB638131453   DEEZ         NUTS                     MO          90015026381
24BBBA3582B232   KIZZIE       KING                     DC          81047180358
25111478172B88   DULCE        BANCHEZ                  CO          90011294781
25111957A3B388   AUGUSTINE    MADERA                   CO          90012219570
2511214A24B588   MARTHA       SANCHEZ                  OK          21545511402
2511243624B281   JUSTIN       CHERRY                   NE          27044654362
25112795A9189B   KELLY        WILLIAMS                 OK          21025437950
25112A7A757157   DOUGLAS      ROSS                     VA          90010290707
2511335A43B388   NEVA         SMITH                    CO          90007873504
2511357275B271   MACKENZA     SIMPSON                  KY          90014105727
2511364762B839   KHTER        HOSSIN                   ID          90013936476
2511435659155B   MARTHA       GARCIA                   TX          90008873565
25114529872B32   EDGARDO      HERNANDEZ                CO          33010945298
2511453879794B   MICHAEL      CAPPS                    TX          90014875387
2511614827B471   SGASGS       GFGHSDF                  NC          90008241482
2511635155B592   MONICA       WYCHE                    NM          90002833515
25116A1289136B   ABEGAY       VARGAS                   KS          90013940128
25116A5469794B   CARLOS       TAMAYAC                  TX          90010360546
25116A5859189B   GEORGINA     GUZMAN                   OK          90015190585
25117189272B42   MARTINA      GARCIA                   CO          90009511892
2511768934795B   JOSUE        AYALA                    AR          90007836893
251177A899155B   LYZETH       VARGAS                   TX          75098467089
2511797A99136B   NICK         SANTIAGO                 KS          90013239709
251182A1791522   VANESSA      RODRIGUEZ                TX          75025072017
251185AA89189B   GARY         STEVENSON                OK          90005535008
2511868544B588   ENRIQUE      RESENDIZ-CHAVEZ          OK          90012786854
2511934282B27B   JUSTIN       SHROUT                   VA          90012373428
2511973689794B   KENNETH      THORNTON                 TX          90013547368
2511B35135B571   ANTOINETTE   HERRERA                  NM          90012203513
2511B74135B161   MEGAN        BEAL                     AR          90013777413
2511B7A769155B   JAZMINE      RENTERIA                 TX          90012337076
2512128A37B471   UNSHANEKI    MURRAY                   NC          90014512803
25122629372B42   SHANE        NELSON                   CO          90012536293
25123245272B32   JOSE         RAMIREZ                  CO          33085712452
2512345165B271   EARNIST      GAITHER                  KY          90008594516
251237A3841245   JAKE         GRAY                     PA          90005837038
2512381855B271   JERMICA      DORSEY                   KY          90011578185
251239A5471943   ROSE         NELSON                   CO          90014229054
25123A8A25B161   JADA         JOHNSON                  AR          90007750802
251241A479155B   DANTE        MONDRAGON                TX          90013001047
25124A2A691828   MARIA        GONZALES                 OK          21082370206
2512564444B588   LAKELL       FRANKLIN                 OK          90011476444
2512568985B271   NATHANIEL    YURT                     KY          90013466898
25125759272B88   MATHA        MUNOZ                    CO          33075297592
251267A914B588   JENNI        COWAN                    OK          90012907091
25127216572B88   MARIA        MENDEZ                   CO          90012512165
25127256772B32   IVAN         GALINDO                  CO          33068682567
2512815929184B   MICHELLE     BAGRAVE                  OK          90010541592
2512816654B588   PRINCESS     THELISMA                 OK          90015001665
25128176A2B232   SHIRLEY      BENTON                   DC          90006541760
2512833217B471   LAKEESHA     BRIGHT                   NC          90011173321
2512835A55B271   DONALD       HEBERT                   KY          90013303505
2512941387B656   CORNELIO     GOMEZ                    GA          90001294138
2512B2A352B839   JANET        HOLST                    ID          90013022035
2512BAA949155B   VERONICA     RAMIREZ                  TX          75045270094
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2513162514B588   THAD         BREEDING                 OK          90010856251
25131A4379794B   HANNAH       WILKINSON                TX          90013840437
251322AA89189B   KLAYTON      HICKMAN                  OK          21000102008
2513254642B839   MANUEL       CORONA-ORTIZ             ID          42031245464
2513267819184B   MICHELLE     WILLIAMS                 OK          90012346781
2513362A855957   NICHOLAS     PIMENTEL                 CA          90008036208
251338A225715B   ALFREDO      BARRIENTOS               DC          81012658022
25133A51472B88   FAITH        SMITH                    CO          90013750514
2513417815715B   TIGIST       ALEBEL                   VA          90012071781
2513427249136B   JAMES LEE    HULS                     KS          29013502724
2513455925B161   JABARI       HAWKINS                  AR          90015205592
2513488A59155B   ANTONIO      DAVILA                   TX          75035788805
2513496535B271   JERALD       MCCARDLE                 KY          68095929653
25134A21A2B839   KAROLYNN     LARSON                   ID          90009410210
2513516A681661   TREVOR       WARNER                   MO          90008981606
25136479A41245   CAREY        TWIGGER                  PA          90011824790
2513676649136B   JORGE        HERNANDEZ                KS          90013967664
25136A38581633   LORA         JOHNSON                  MO          90015070385
2513795A84B588   ALAN         ELLMORE                  OK          21557129508
25137986772B88   LAURA        ARGUELLO                 CO          33090459867
25137A4529136B   RACHEL       WILSON                   KS          90013940452
2513819869184B   JERI         MCCAIG                   OK          90010541986
251384A614B261   JOSEPH       KASUN                    NE          27009404061
2513865637B449   CHRISTOPER   SMITH                    NC          11052296563
2513874A92B839   CLARENCE     KONERTZ                  ID          90006927409
2513885935715B   HEIDY        PEREZ                    VA          90005788593
25139169372B32   CARLOS       DELGADO                  CO          33008291693
2513918214B281   FRANK        DEAN                     NE          27096711821
2513932685715B   AURELIO      ROMERO                   VA          81091363268
2513951575B571   ESTEBAN      BERNADAC                 NM          90006435157
2513952A78598B   JEFFREY      PORTER                   KY          90004315207
251397A7A51328   ANGELA       CONSTABLE                OH          90008957070
2513B22177B449   JAMAL        DERR                     NC          90001822217
251411A117B477   VALESKA      IBANEZ                   NC          11026511011
2514166269136B   ALLYSON      TOYLOY                   KS          90014006626
25141A23A47834   LAMONT       GREENLEE                 GA          90014530230
25141A28731453   COREY        CROWDER                  MO          90001890287
25141A53581633   CHARLES      JEFFERYS                 MO          29001060535
25142169A5B161   LOLITA       COTTON                   AR          90007141690
2514222369184B   NORA         ALMAZAN                  OK          90010542236
25142633772B32   DENISE       ALANIS                   CO          90011036337
2514288674B588   CRYSTAL      TURNER                   OK          90013008867
25142A1949189B   VERONICA     MARTINEZ                 OK          90014020194
2514347299136B   ANA K        SIGALA                   KS          90013304729
2514356757B449   KENNETH      BERNES                   NC          11013735675
25143651372B32   JACOB        BRENNAN                  CO          90012706513
251438A769189B   JESUS        HARO                     OK          90014348076
251441A897B471   DYLAN        LOPEZ                    NC          90011261089
251442A535715B   JAIME        MENJIVAR                 VA          90005162053
25144395772B42   SERGIO       LUEVANO                  CO          90012843957
251443A329136B   ADAM         HILL                     KS          90004973032
251449AA472447   MARILYN      STULL                    PA          90004179004
2514553265B161   EDGAR        TEC                      AR          90013255326
251455A672B839   TINA         CONNELLY                 ID          42060405067
25145A1749794B   RIGOBERTO    ROSAS                    TX          90010690174
251465A8555957   REY          MATUS                    CA          90014465085
2514676439189B   IAN          LEWIS                    OK          90011617643
2514689A472B88   MIGUEL       BUENROSTRO               CO          90009958904
251469A449136B   SHAWNA       LEEKS                    KS          29017079044
251471A337B477   CHARLES      ROSEBERRY                NC          11078081033
25147736372B32   VICTOR       MORELO                   CO          90010767363
251477A3593731   RICHARD      SHUYZ                    OH          64582877035
2514832649794B   OBISPO       TAX                      TX          90013013264
251483A6424B48   SHANISE      LEE                      DC          90013113064
25148741A91522   SHEENA       PETERSON                 TX          90014107410
25148757A91893   DEANN        WELLS                    OK          90007737570
2514877899184B   TEENA        CATES                    OK          21054207789
25148A6687B471   IKEACHER     GARRIN                   NC          90014940668
251491AA69189B   DARIN        BALES                    OK          21087481006
2514931129155B   JOSE         LEOS                     TX          90001273112
2514951635B161   C SUE        STOVALL                  AR          23076925163
2514978715715B   JOSE         VILLALTA                 VA          90006577871
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2514B41A64B588   ASHLEE          HAHN                  OK          90015334106
2514B574A5B161   MARINA          CORNEJO               AR          90015435740
2514BA8974B281   AHSELMO         MENDEZ                NE          27043930897
2515172589136B   CHRISTA         GUMM                  KS          29013257258
251519A7251329   JOHNATHAN       LAMB                  OH          90001619072
2515276A172B42   CATRICE         CHAVEZ                CO          90013027601
25152A71291522   YVONNE          PARGA                 TX          90012300712
25152A89A9136B   CESAR           VEGA                  KS          90013940890
25153742772B88   COBY            ROMERO                CO          90013367427
2515411485B161   CHERI           PEER                  AR          23086121148
2515434A133642   PRISCILLA       BLACKWELL             NC          90006793401
251543A1271928   HAYLEE          EHRLICH               CO          90011893012
2515487A17B477   JOE             TOWEY                 NC          90011178701
25154A68872B42   STEPHEN         ALLY                  CO          90002870688
2515543664B281   JOSE MIGUEL     LOPEZ                 NE          90015124366
25155A2345B571   ESTHER          BARLEA                NM          90000720234
2515623A172B88   DANNY           LONG                  CO          33005232301
2515647A961939   FRANCIS         PELLETIAIRE           CA          46094074709
2515672547B477   ANDREA          TOLBERT               NC          11009687254
25157432372B32   MARK            FILLEY                CO          90007444323
25157478A72B42   MISAEL          BATALLA               CO          33011424780
2515793212B839   JAMES           MILLER                ID          42083689321
251584A4372B32   LARRY           DOMINECK              CO          33009334043
2515857632B27B   SYLVIA          GRIPPER               DC          90014725763
251591A2772B88   LUZ             GARCIA                CO          33002761027
2515926117B471   APRIL           HARRISON              NC          90014442611
251594AA64B281   RUDRA           CHAPPELL              NE          90015094006
2515953859794B   REYES           RENDON                TX          90002455385
25159635872B32   EVA             WILLIAMS              CO          90010186358
2515968827B449   LARRY           HICKS                 NC          11006186882
2515B24A171928   CHARELS         WILSON                CO          90013612401
2515B52265B161   JOHN            KORDSMEIER            AR          90013895226
2515B578255957   ANA             NEGRETE               CA          90009445782
2515B635747952   SHAVONDA        GAMBLE                AR          24077626357
2516178184B281   DALE            PERRY                 NE          90000267818
2516183AA84364   STOKES          LAKYSHA               SC          19088518300
2516261724B261   MARY            MULDER                NE          90014156172
25162A4435715B   MIRWAIS         NASARI                VA          81082920443
25162A99685946   CHRIS           STEERS                KY          90008430996
2516372512B27B   GREGORY         TROTTER               DC          90012797251
25164722172B88   JOSE            GARZA                 CO          33055927221
251647A8A72B32   JOHN            BERNAL                CO          90014557080
2516517324B588   JESSICA         GERHART               OK          90011901732
2516559A991582   SAUL            CASTANEDA             TX          75088365909
2516588A193731   DAVID           CHATMAN               OH          90014778801
2516613A691828   AMANDA          CAMBERS               OK          90013291306
251661A3172B32   VANESSA         TOWNER                CO          90012471031
2516644414B261   CRAIG           ROBERTS               NE          90012534441
2516686587B471   TAMMY           HELMS                 NC          90014758658
2516761469189B   STEVEN          PATTON                OK          21028176146
251678A2371928   BRIAN           SMITH                 CO          32044208023
25167A38372B88   ARMANDO         FRANCIA               CO          90002400383
25167A7625B232   ARLESIA         SANDERS               KY          90008850762
251682A7991522   KRYSTAL         RIVERA                TX          75030692079
25168A2354B261   BREANN          DODD                  NE          90013920235
25168A5679155B   SHIRLEY         BOLEN - GONZALEZ      TX          90015270567
251692A684B281   JOHN            VODICKA               NE          27066262068
25169AA1A85938   MICHELLE        JOHNSON               KY          90010970010
2516B24339184B   MICHAEL         BERRYHILL             OK          90012722433
2516B26A89155B   SARA            RODRIGUEZ             TX          75059352608
2516B47694B261   LIDUVINA        TAMAYO                NE          90012984769
2516B68827B449   LARRY           HICKS                 NC          11006186882
2516B868272B88   TRINA           HERNANDEZ             CO          90006678682
2517117A74795B   SARAH           DASH                  AR          25001481707
2517144897B471   SERGIO          VASQUEZ               NC          90012484489
2517148294B588   LANCE           CARNEY                OK          90012294829
2517176A991522   ROMERO MATIAS   MATIAS                NM          90010957609
25171A79271928   BOBBIE          BARTH                 CO          90013260792
25172155A33B96   PATRICIA        LOMBARDO              OH          90014041550
251726AA19794B   JOYCE           ALBA                  TX          90013016001
2517292144B281   BREE            GILBERT               NE          90012579214
2517339719155B   VIRGINIA        PRECIADO              TX          75028443971
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2517352629794B   EDUARDO      TOC                      TX          90014915262
2517359999189B   JOEL         GUTIERREZ                OK          21044265999
2517396354795B   HEIDE        LEMKE                    AR          25064659635
251743AA891241   TONY         THOMAS                   GA          90003933008
25174794A31631   AMANDA       COX                      KS          90014567940
251754A3472B88   MARIA        FALCON                   CO          90013244034
251756A777B373   HILDA        VENTURA                  VA          81042286077
251757A3A72B42   ADRIAN       LOPEZ                    CO          33043037030
25175A82A72B32   RODRIGO      BANUELOS                 CO          90008890820
25175AA8281661   HEATHER      TARBOX                   MO          90010990082
2517659729189B   KRISTIN      HIGNITE                  OK          90011755972
2517668419155B   CARLOS       DELGADO                  TX          75080146841
25177154172B32   KENT         MARTIN                   CO          90015181541
25177647A91828   GLENDA       PETTIT                   OK          90003016470
25177A66872447   ELAN K       THOMPSON                 PA          90010730668
25178A9249794B   TATYANA      MITCHELL                 TX          90015210924
2517946875B571   CLARA        FONSECA                  NM          90012774687
25179AA7231453   GENEVIEVE    DRESTE                   MO          90011980072
2517B591493731   LORENA       PORFIRIO                 OH          90013675914
2517B993157157   SWINDELL     SIMMONS                  VA          90011199931
2517BA42655957   ELOI         MARIN                    CA          90011640426
2518179659794B   ROBIN        MIRANDA                  TX          90013297965
2518224A657157   PAUL         PHOLEN                   VA          90013292406
2518259852B27B   TYRONE       MARSHALL                 DC          90013195985
2518385855B36B   KAYLEIGH     ANN-ACKERMAN             OR          90002038585
25183892172B42   QUANISHA     DAVIS                    CO          33015128921
2518413732B27B   ANGELA L     PRICE                    DC          90014581373
2518415925715B   SARDAR       ALI                      VA          81083721592
2518486A54B588   ERIK         BELCHER                  OK          90012428605
25184A46771943   RAQUEL       GROTJAHN                 CO          90014240467
25185315A9136B   EDWIN        MEJIA                    KS          90012873150
2518553435715B   ANGELA       LOPEZ                    VA          90012105343
2518562799155B   ELIZABETH    GARCIA MARTINEZ          TX          75031066279
25185899A91522   RAUL         HUERTA                   TX          90003768990
2518597447B471   SCOTT        SEMELSBERGER             NC          90015369744
251862A932B932   WAYMON       STANCELL                 CA          90001132093
25186A74157157   TIMOTHY      DADZIE                   VA          90012030741
25187349872B32   SCOTT        LIEBELT                  CO          33043813498
2518776964B281   ROBERTA J    STARK                    NE          90013957696
25187879972B42   ANTHONY      WHITE                    CO          90000818799
2518861314B281   VERSIE       ANDING                   NE          27011186131
25188AA968B137   NICOLE       BARTON                   UT          31098620096
2518958A45715B   OSCAR        BERDUO                   VA          81069435804
25189848172B32   CORY         BANTOCK                  CO          33068408481
25189A16691522   LAURA        BORJON                   TX          75097450166
2518B294A31433   CRISSIE      HAGENS                   MO          90010592940
2518B352791828   DONNA JEAN   CHANDLER                 OK          90013633527
2518B751491522   ERIKA        CASAS                    TX          90005857514
2518BA2465B571   AIREL        NAVARRO                  NM          35088630246
251911A379136B   STEPHANIE    MURILLO                  KS          90013941037
2519124297B449   ALEX         FORTE                    NC          90002372429
2519174655715B   WILMER       BNILLA                   VA          90012877465
2519291837B471   TRIMECHIA    COE                      NC          90010459183
2519323339189B   RICHARD      TODD                     OK          90013712333
2519336A693767   MELISEN      DERKSEN                  OH          90012683606
2519356849184B   DONCIELA     DREW                     OK          21060145684
2519371A272B42   DEBBIE       COOK                     CO          33001547102
2519524277166B   DONNA        MITCHELL                 NY          90015442427
2519525552B27B   STANLEY      HARRIS                   DC          90013772555
2519538A75B352   NENA         SWEENEY                  OR          90009393807
2519582A99136B   QUINTON      LARSON                   KS          29068778209
2519623434B588   MONICA       YBANES                   OK          90014662343
2519628795B161   ISAIAS       MARTINEZ                 AR          90012022879
25197311472B88   JUANA        RUIZ                     CO          90008193114
2519831317B477   MELVIN       HERRING                  NC          90011363131
251988AAA72B42   JOHN         SANDOVAL                 CO          90014978000
2519899A961979   JAMIL        BEDUHI                   CA          90012629909
25198A1A172B88   ADAM         KNAPP                    CO          90013800101
2519926634B281   CARLOS       AREVALO                  NE          90014892663
2519951A55715B   YOVANI       ARDON                    VA          90008125105
2519B17855B592   KIMBERLY     BACA                     NM          90013081785
2519B696884341   TONY         ARENSDORF                SC          90000886968
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251B1174972447   JESSICA                 MEHALL             PA     90014171749
251B1275A97949   TRANSITO                GARCIA             TX     90001522750
251B156382B27B   PATINA                  WILLIAMS           DC     90010235638
251B2281872B88   OLIVIA                  ARCINIEGA          CO     33088012818
251B2453781637   ALMA                    FRANCO             MO     90009274537
251B2637A9155B   LORENA                  SERVIN             TX     75080146370
251B293548B151   LUIS                    MEJIA              UT     31009359354
251B3238991949   KARINA                  MORA RUIZ          NC     17081932389
251B3516771928   NELSON                  WALLACE            CO     32061935167
251B446A84B281   PAULA                   MARQUEZ            NE     90002224608
251B455425B571   JEREMIAH                WEIL               NM     90011625542
251B471A581637   CESAR                   PADILLA            MO     90013607105
251B4A55672B88   ARTURO                  QUIROGA-BADILLO    CO     33009300556
251B5A3AA7B471   EMILIA                  MORENO             NC     90014880300
251B699829189B   SHADE                   BROWN              OK     90010729982
251B716539376B   PORSHA                  GRESHAM            OH     90012501653
251B718329155B   JULIETA                 IBARRA             TX     90013681832
251B734282B27B   JUSTIN                  SHROUT             VA     90012373428
251B7487891881   STANLEY                 GORDON             OK     90006614878
251B784354B588   CECILIA                 CAMPBELL           OK     90010728435
251B7897771923   AURDRELYS               MARTEN             CO     90012828977
251B7A9919155B   NORMA                   SEPULVEDA          TX     90011150991
251B7AA2941251   JONATHON                ECKERT             PA     90012670029
251B814A45715B   CRISTINA                ROMERO             VA     90011781404
251B8397191542   VIRGINIA                ALONSO             TX     90012673971
251B845642B27B   YESENIA                 CARRANZA-MORALES   DC     90012344564
251B8727131453   ANITRA                  SHANNON            MO     90014677271
251B8A53A7B471   KEMMERLY                CHAPMAN            NC     90011260530
251B8A9A485938   ANTONIO                 WEBB               KY     90001440904
251B912469136B   CAMMIE                  BELTON             KS     90010911246
251B942255715B   WILLIAM                 SALGADO            VA     90011634225
251B9559981661   MICHELLE                ANTONYSHYN         MO     90014745599
251B9565393731   MARIA                   MORGAN             OH     90013245653
251B96A624B261   HECTOR                  DIAZ               NE     27057006062
251B9788277574   JUAN                    GARCIA             NV     90003407882
251B9838771928   ROCIO                   RAMOS              CO     32063008387
251B998A39155B   SAIRA                   MANCINAS           NM     90009629803
251BB385757157   JOSE                    NOLASCO DIAZ       VA     90014533857
251BB434772B32   JEANIE                  HOLZWARTH          CO     33083154347
251BB439972B42   JOHN                    QUINTANA           CO     90011304399
251BB45A957B9B   KIM                     ELLARD             PA     90010404509
251BB82A931433   VICKY                   MCKOY              MO     90010838209
2521133A572B88   SALVADOR                GUTIERREZ          CO     90011573305
2521164229136B   REYNA                   ORTIZ              KS     90013436422
25211A58272B88   MAGDALENA               ZETINA             CO     33070420582
25211A76672447   ROB                     MARSH              PA     90010070766
2521257929184B   MATTHEW                 OLSEN              OK     90012785792
2521259A75B271   LAURA                   MARTIN             KY     68000175907
2521293145B161   TINA                    MARBLEY            AR     90005119314
2521361242B839   JUAN                    HURTADO            ID     90013716124
2521423399136B   KAREN                   LINAREZ            KS     90013942339
2521457393B388   STEVEN                  MOORE              CO     90001095739
2521476779155B   HILDA                   GOMEZ              TX     90014047677
25214A1749794B   RIGOBERTO               ROSAS              TX     90010690174
2521535219136B   FREDY                   MARTINEZ           KS     90012183521
2521622755B161   ANTONIO                 GOODWIN            AR     90007812275
25216AA389794B   UBALDO                  RUIZ CARLOS        TX     90014110038
2521742985B161   LYNN                    SCROGGINS          AR     23028604298
25217518A71928   JAMES                   MCHENRY            CO     90014675180
2521787A981661   MARIA TERESA DE JESUS   SANCHEZ GARCIA     MO     90014928709
25217AA337B471   EMILY                   ESTRADA            NC     90013620033
25218A37781637   RODNEY                  GREEN              MO     29005370377
25218A97172B42   LAKEISHA                SHELTON            CO     90013390971
25219121272B32   MARIO                   ORONA              CO     90013221212
25219899A5B271   JULIE                   MAASEN             KY     90011558990
2521B2A442B839   CECILIA                 REYES              ID     90014162044
2521B69455B271   LACHANCE                ADAMS              KY     90012236945
2522147689136B   ANTONIA                 DUE?AS             KS     29016224768
25221589487B87   CAROL                   STATEN             AR     23073735894
252215A5791522   RUDY                    ZUBIA              TX     75088205057
25221A9A455957   MARIA                   OCHOA              CA     90007180904
2522211999184B   EDNA                    SMITH              OK     21077471199
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25222783172B88   DANESSA      WASHIGHTON               CO          90012677831
25222A66691522   MARIA        DE LEON                  TX          75046250666
25223391A85938   JESSICA      JNES                     KY          90004233910
25223A99291522   CAROLINA     ROBLES                   TX          75045220992
2522427A972B42   WELDON       BYRD                     CO          33014232709
252249A4672B35   JACQUELINE   MABBITT                  CO          39098769046
25225295372B32   LANEY        BECKER                   CO          90010752953
2522596395B571   SAMUEL       PEREZ                    NM          90003219639
25225A99591522   KENIA        MARQUEZ                  TX          75065930995
25226574A72B88   JEROLD       LALO-HERNANDEZ           CO          90007215740
2522661345B271   ELISHA       ROGERS                   KY          68009876134
252266A262B962   XELDA        OITERONG                 CA          90004296026
2522676757B471   ASHLEY       WHITLOCK                 NC          11095587675
25227A1615B571   JACQUELYN    HAMPTON                  NM          90014950161
2522866552B839   VENANCIO     RIVERA                   ID          90001726655
2522895A89136B   ASHLI        FLETCHER                 KS          90010939508
2522934125B161   MICHELLE     JONES                    AR          23096383412
2522969727B477   DENTON       MCKINNON 3               NC          90013146972
252297A517B477   SHAMIKA      CONTTON                  NC          90010807051
25229AA9493731   ELIZABETH    BOWLING                  OH          90012020094
2522B17925B271   ALISHA       CARGILL                  KY          68039521792
2522B32374B588   CRISTAL      HERNANDEZ                OK          90013593237
2522B52127B477   SHANRIQUA    HENDERSON                NC          90010525212
2522B695872B32   DON          VOLAK III                CO          33044016958
2522B752393731   JACQUELINE   SCOTT                    OH          90009847523
2522B83995B571   LAUREN       SMITH                    NM          90000178399
2522BA98891525   CARLA        MORENO                   TX          90008770988
25231152A57157   WINCHELL     PARENT                   VA          90014701520
25231287272B88   LOURDES      GONZALEZ                 CO          33038652872
2523131559136B   TOM          STRICK                   KS          90013943155
2523157157B477   GARY         MOSS                     NC          11005015715
25231A1515B342   TONY         NABORS                   OR          44521810151
2523246632B27B   RHEUTHELIA   SIZER                    DC          90009404663
252325A4A5B271   TAMARA       HARRAWAY                 KY          90014365040
2523265A331453   PAMELA       HATTEN                   MO          90012176503
2523268875B571   MANUELA      SOTO                     NM          90002936887
252327A7691828   TACARRA      CREGGETT                 OK          90013007076
2523424494B588   KENTON       BOWENS                   OK          90014822449
2523499382B839   ELIZABETH    CERDA                    ID          90014719938
252354A852B27B   CHIQUITA     PAIGE                    DC          90015124085
2523682999189B   GEORGE       KAKOMA                   OK          90003338299
2523728255715B   EULOGIO      VALDERAMA                VA          81004282825
2523793A59189B   BONNIE       SMITH                    OK          90012479305
2523811A55B271   STEPHENNE    KASAL                    KY          90015041105
2523827885B571   PATRICK      ANAYA                    NM          90014622788
2523872A481637   LENA         ADAMS                    MO          29079897204
2523888729155B   DIANA        SEGURA                   NM          75009428872
25239479472B32   JANELLE      BACA                     CO          90010604794
2523993A59189B   BONNIE       SMITH                    OK          90012479305
2523999A19136B   MONICA       CHAVEZ                   KS          90013139901
2523B14A15B271   QUETNEN      CARROLL                  KY          90011251401
2523B549972447   JANELLE      BIAS                     PA          90014055499
25241669A9794B   SHUNTERICA   KING                     TX          74078506690
25242124A4B281   AUTUMN       COLVIN                   IA          90009471240
2524232395B271   JASON        WESTBROOK                KY          68035493239
2524274949189B   ROBIN        DEACON                   OK          90009067494
25242982272B32   ELVIN        GUTIERREZ                CO          90005899822
25242A42272B88   AMALIA       HERNANDEZ                CO          90001330422
2524342A13B364   MICHAEL      LUCERO                   CO          33087154201
2524362155715B   MISHA        SAMUELS                  VA          90011786215
25243A3237B471   NADJA        FORD                     NC          11020860323
2524424917B471   MARTEEN      WOOD                     NC          90011262491
252442A879184B   FRANK        BOWMAN                   OK          90011872087
2524458449794B   TRANIKA      MONTGOMERY               TX          90005965844
2524482429189B   TERRANCE     NICHOLS                  OK          21071578242
252451A1155957   TERESA       VALENZUELA               CA          48084081011
25245A33591881   CYNTHIA      DANIELS                  OK          90010840335
252462A8691522   JENNIFER     MANSFIELD                TX          90012712086
25246353A2B27B   GENESIS      SMITH                    DC          90010213530
2524658192B839   BENITO       SOTO                     ID          90002515819
252467A514B588   DARL         GORUM                    OK          90010867051
25246893A5715B   ERICA        HARRIS                   DC          90005698930
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2524819292B27B   MARIALINDA        HERNANDEZ           DC          90000451929
252484A439136B   RYAN              DUNNAM              KS          90009114043
25248633A55957   CYNTHIA           MORA                CA          90012526330
25248788A9189B   MISTY             PEARSON             OK          90008007880
2524975155B571   JESSE             CORONADO            NM          90008527515
25249A81372B88   JOSE DE LA CRUZ   ORTIZ DELAO         CO          90009720813
2524B884151325   ERIC              DARPEL              OH          90010898841
25251116A2B841   JOEL              LOPEZ               ID          90009591160
2525123124B58B   RITA              HYPDLIYE            OK          90010182312
2525126419155B   AMY               GILES               TX          90014242641
2525133464B588   CHERLY            LYONS               OK          90004583346
2525148479794B   ERICKA            MORGAN              TX          90015174847
2525194772B841   JOEL              LOPEZ               ID          90012919477
25252281772B32   NORMA             RODRIGUEZ           CO          33087952817
2525299932B839   ELVIA             SANCHEZ             ID          90003609993
2525358775715B   VICTOR            GONZALEZ JUAREZ     VA          90006415877
2525369459794B   LEONOR            GARCIA              TX          74058066945
25254119A71943   SADE              JOHN                CO          90005351190
2525497695B271   NATASHA           CROWDUS             KY          90013829769
2525532544B588   PRISCILLA         JOHNSON             OK          90014623254
2525584794B261   CHARLES           DICKSON             NE          27001488479
25255984272B88   MICHAEL           BLAKE               CO          90014249842
2525647615B161   OCTAVIO           LOPEZ               AR          90013114761
25256491A72447   KRISTA            CRAWFORD            PA          90011474910
252564A1972B32   KATHY             LIPPINCOTT          CO          90003014019
25256A9AA9184B   ELIZABETH         DOUANGMANI          OK          90012260900
2525796294B261   MIGUEL            GARCIA              NE          90013249629
25257973A72B32   NATASHA           BOYD                CO          33017369730
2525886199155B   PATRICIA          GARCIA-SANCHEZ      TX          90015298619
2525897A49136B   PAUL              EDWARDS             KS          29035819704
25258AA5751328   CAROL             GIBSON              OH          66018530057
252592A734B588   LINDA             GREEN               OK          90001642073
252592A8872B88   WENDY             SAMORA              CO          90014452088
2525938122B839   ORTIZ             THELMA              ID          42039983812
2525951A89155B   ALEJANDRO         HERRERA             TX          90012245108
2525B293772B88   GENEVIEVE         TENORIO             CO          90011332937
2525B2AA791522   DINA              VILLALOBOS          TX          75091042007
2525B545157531   SERGIO            RODRIGUEZ           NM          90007055451
2525BA38A55921   JOANNA            GARCIA              CA          90012300380
25261236A51328   JOSHUA            PETERS              OH          66047102360
25261331272B32   CHARLES           MARTINEZ            CO          90014753312
252618A8A72447   JOSHUA            SHORT               PA          90013958080
25261AA337B471   EMILY             ESTRADA             NC          90013620033
2526232879794B   IESHA             HARRIS              TX          74016003287
2526261243B364   MARTHA            TORRES-RECINOS      CO          33029596124
25262766A9155B   JESSICA           MARIN               TX          90013807660
2526344549184B   LARICA            COMPTON             OK          90013674454
2526373594B588   MARTINA           MARTINEZ            OK          90002207359
2526385195B161   MARQUETTA         PURDIMAN            AR          90012788519
2526395992B839   ELISA             ACUNE               ID          90011499599
25263A99851328   DUSTIN            GRAY                OH          90012450998
2526448969136B   KEVIN             FREEMAN             KS          90013944896
2526469532B839   LINDSAY           SALINAS             ID          90012866953
2526527869155B   MARIA             FIERRO              TX          75080352786
2526553514B588   RACHAEL           CAMBRON             OK          21537965351
25265566397B49   VICTOR            ENCARNACION         CO          90012935663
2526685249794B   CINTHIA           GARCIA              TX          74031568524
25266913A57157   JOSE              ROMERO              VA          90008519130
252669A2655935   JOSE              MORALES             CA          90014999026
25266AA4872B32   MIGUEL            ANAYA               CO          90009640048
2526714799794B   RANDY             RAMIREZ             TX          90005701479
2526825A62B27B   SHAWN             SCOTT               DC          90014592506
252686A5272447   PAUL              ACKLES              PA          51055576052
25268745772B32   MARGARET          WITT LING           CO          90010737457
25269464A72B88   NYCOLE            OWENS               CO          90000404640
2526954A39189B   KAY               FRANCES             OK          90011525403
2526B27429794B   MARIA             SALDANA             TX          74015262742
2526B84119155B   PRICILIA          SAUCEDO             TX          75046038411
25271369772B32   OLIVIA            MARTINEZ            CO          33033093697
252716A4555957   JUAN              PACHECO             CA          90010056045
25271861A72B42   NATHAN            STEWART             CO          90013588610
25271A92281661   DAVID             KITCHEN             MO          90000860922
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25271AA9381633   DAVON           WALKER                MO          90015210093
2527265589794B   PAYGO           IVR ACTIVATION        TX          90011606558
25272A2355B271   CRYSTAL         WALKER                KY          90007600235
2527377578594B   STACI           FERRELL               KY          90001047757
2527414639189B   ANGIE           PITTS                 OK          21075571463
2527461549155B   MIRIAM          CHAVEZ                TX          90007906154
25275267172B88   BLANCA          LOPEZ                 CO          33012872671
2527562619184B   TERRY           WILLMAN               OK          90013166261
2527593429155B   ANTONIO         LOZANO-RIVERA         TX          75088789342
25275992A4B588   DON             DANIELS               OK          90011959920
2527675987B45B   AVIS            CLOUD                 NC          90009237598
2527821592B839   HOLLY           FRANK                 ID          90010802159
2527821719155B   CAROLINA        SERRATO               TX          90012382171
2527831775B271   ROSA            GLENN                 KY          90013933177
2527844362B839   HOLLY           FRANK                 ID          90011644436
2527915517B471   SUSAN           JOINES                NC          90002931551
2527989849189B   AMARI           BENSON                OK          21046428984
2527B46272B839   GEORGE          SNIDER                ID          90014564627
2527B89935715B   ABAMNEH         YESHITILA             VA          90012318993
2527B8A3471928   JOSUE           MCGEE                 CO          90014088034
2528138757B471   SKY             ELKINS                SC          90014913875
2528148774B261   JERRY           SIME                  IA          90010954877
2528149922B232   RACHELLE        THOMPSON              DC          90005314992
2528227169136B   SERGIO          GALINDO               KS          90013852716
2528244792B27B   DONNA           MARIA                 DC          90011494479
2528276239794B   JAIRO           GOMEZ                 TX          90015037623
25283345A57157   HUNBERTO        ALFORO                VA          90009713450
25283447A4B281   TIEARA          MITCHELL              NE          90014434470
2528346949155B   MARIA ANTONIA   MANRIQUEZ             TX          90005424694
2528374A272B32   JOSE            OCON                  CO          90013497402
252838A5272B88   ITZEL           ENRIQUEZ              CO          90013068052
25283A61772B42   JENELLE         COX                   CO          33061060617
2528558A49794B   RAMIRO          CHAVEZ MOTA           TX          90013075804
252855A342B232   NICOLE          ROBINSON              DC          90005315034
2528572344B596   MARVETTA        MOSLEY                OK          90014687234
25285A99572B32   DORA            NATAREN MANUELQ       CO          33069210995
25286194A2B839   JOSHLIN         ROWE                  ID          90004331940
2528655AA4B588   MARTIN          MALDONADO             OK          21574625500
25286589572B42   ENGELKING       BRANDT                CO          33020085895
2528695184B281   ANGELES         FLORES                NE          90014259518
2528712A631453   ERICA           DUKE                  MO          90002501206
2528764595B571   LUISA           MARTINEZ              NM          90014726459
25287A48851329   TYLER           HAYS                  OH          90012620488
25287A65481637   JOSE            GUZMAN                MO          90012490654
2528887937B471   BELVA           HOPPER                NC          11002228793
25288A89581661   LAURA           WELLS                 MO          90014170895
252892A2481633   LATOYA          BURCHFIELD            MO          90014902024
252895A6A81638   SYLVIA          JAMES                 MO          90013615060
25289665A44B75   JAMES           BACHMAN               OH          90014146650
25289A87631453   LUIS            RAMIREZ               MO          90012030876
2528B193751328   PAUL            ERICKSON              OH          90014041937
2528B216757157   DANIEL          FLORES                DC          81098632167
2528BA54672B88   ROCHELLE        BRICKER               CO          33085980546
252916A639136B   NADINE          PRADO                 KS          90013156063
25291A3845B161   ALISHA          WINKLER               AR          90014500384
2529212219794B   TATYANA         MITCHELL              TX          90014641221
252933A759184B   TIFFANY         CRANE                 OK          90010873075
25293424A2B27B   ELLIOT          GROSS                 DC          90000524240
252938A879155B   RITA            COBOS                 TX          90013298087
2529427885B571   PATRICK         ANAYA                 NM          90014622788
2529446315715B   JOSE            MOLINA                VA          90012884631
252945A2672447   NATALE          TITUS                 PA          90009365026
252945A447B477   SHERITA         SPENCEER              NC          90008855044
2529516A34B588   ANNA            MARTINEZ              OK          90001771603
252951A2171928   SARAH           BURKE                 CO          90014651021
2529559A29794B   ELIZABETH       DIXON                 TX          90014465902
2529589575B161   CHERRY          BURGESS               AR          90011458957
2529595185B571   SHAWN           LEONARD               NM          35054639518
2529634887B449   LORENA          ABARCA                NC          90004683488
2529649859155B   JOSE            ORNELAS               TX          90005424985
252966A685715B   CAMACHO         MILTON                VA          90011606068
2529719A69136B   ORIDANIA        ORTIZ                 MO          90011531906
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2529767A67B471   ROBIN          CRAWFORD               NC          90012786706
2529769425753B   DANIEL         HIGGINS                NM          90014826942
2529848589184B   BRIAN          ERNEST                 OK          90014004858
2529849642B839   ALEXANDRIA     DAVIS                  ID          90012844964
2529857219155B   WILLIAM        GUTIERREZ              TX          90014605721
2529857295B161   KIMBERLY       MOORE                  AR          90015205729
2529931329184B   IESHA          KING                   OK          90013443132
2529932765B271   JACQUELINE     WALKER                 KY          90011253276
25299376272B88   ALFONSO        GARCIA                 CO          90003373762
25299A35181633   MISS           HESS                   MO          29052440351
2529B955251328   BRITTANY       HOGAN                  OH          90013359552
252B112967B471   KARON          KIKER                  NC          90011261296
252B116457B477   RODRIGO        VARGAS                 NC          90015041645
252B1337472B88   CELESTE        VAN DEN BOS            CO          90003853374
252B1381336165   LILLIAN MOYA   ARZAVE                 TX          90012993813
252B1681881661   SHALLEY        RENEE                  MO          90009886818
252B178245B571   SABRINA        CHANDLER               NM          90011137824
252B2441497B4B   ALFREDO        NUNEZ                  CO          90006064414
252B244954B261   KOKOU          AKAKPO                 NE          27001054495
252B2558283289   JOSE           CARAZA                 UT          90014955582
252B3275141245   YOLIANETTE     RIVERIA                PA          90003342751
252B3A75571928   SANDRA         RUACHO                 CO          32000810755
252B4367A4B588   LATASHA        MISHION                OK          90010543670
252B436924B231   HEATHER        GARRETT                NE          90005403692
252B4711331453   BRIAN          WIDEMAN                MO          27544287113
252B4711657157   SHEANA         PEAKE                  VA          81067197116
252B566499794B   ERICA          HARDY                  TX          90007296649
252B5778A31631   JUAN           VELARDE                KS          22003917780
252B5883355957   MARIA          ARROYO                 CA          90002498833
252B588A472447   CHRISTOPHER    SOFALY                 PA          90003568804
252B58A3591241   SHARON         BYESON                 GA          14570628035
252B681865B571   ANGEL          GONZALES               NM          90014588186
252B691719189B   STACY          VILLAPANDO             OK          90013929171
252B746619184B   ALEXANDRA      SILVIA                 OK          90013974661
252B74AA34B261   SEYDOU         BAH                    NE          27013954003
252B756385B571   JESUS          SANCHEZ                NM          35010355638
252B7A6546B862   JEFF           BENNETT                WI          90015610654
252B816A971928   JOSE           GONZALEZ               CO          90000331609
252B8246831433   BRIDGETTE      WATSON                 MO          90011712468
252B869745B571   BRANDI         NIETO                  NM          35028766974
252B8A3715B571   CHAVEZ         RUTH                   NM          35072480371
252B9316672B88   DANIEL         OLIVAREZ               CO          33076273166
252B9486881661   EDITH          CARREON                MO          90014914868
252B977729189B   DEANNA         HARNEY                 OK          21097207772
252B986394B588   CATRINE        MAYES                  OK          90007118639
252B989619184B   JENNA          SANDERSON              OK          21079068961
252B9A89161925   JAMES          JADLOC                 CA          46045230891
252BB22577B471   DA             DA                     NC          90014172257
252BB55784B261   PIERRE         SAGITTEH               NE          27035775578
252BB93325B271   TRAVIS         CADDO                  KY          90013229332
2531126855B271   AMANDA         STEPHENS               KY          90014582685
25311947272B32   JOSE           VELA                   CO          90002699472
2531197552B839   TERRI          HARRINGTON             ID          42010709755
253122AA89189B   KLAYTON        HICKMAN                OK          21000102008
2531279719184B   FELIPE         PORTILLO               OK          90012587971
2531334345B271   MISTY          OBRIEN                 KY          90011023434
2531367329136B   CESLO          ESPANA                 KS          90007476732
2531375286196B   RATHANA        NAM                    CA          90012607528
25313A34881637   RANDY          CROUCH                 MO          90008940348
2531483187B471   KESSHIA        BISHOP                 NC          11076568318
25315A51581637   TRAVIS         HENKE                  MO          90012900515
2531685A351365   JEANNETTE      RICE                   OH          90010288503
25316A56931433   GREGOREY       BAILEY                 MO          90000700569
2531718812B27B   CAPRICE        CRAWFORD               DC          90013041881
253172A3985938   SYLVIA         MIKE                   KY          90012762039
2531752A793731   MELISSA        YAQEEN                 OH          90014125207
2531811619136B   CODY           YOUNG                  KS          90000651161
253184A5755957   BYRON          VELEZ                  CA          90013044057
2531925A581633   ROCHELLE       CURTIS-OTTO            MO          29034672505
25319A21355957   DESIREE        GRIEGO                 CA          90015080213
2531B198472B32   MICHAEL        SHELLS                 CO          90002601984
2531B688591522   GARCIA         PEDRO                  TX          90010076885
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2531B753A7B471   PAULETTE      FAULK                   NC          90001527530
2531B999691528   SANDRA        LUJAN                   TX          90006529996
2532153135B33B   PATLAN        MONDRAGON               OR          90009275313
2532153A39794B   BONIFACIO     MORENO                  TX          90011245303
2532167A281637   MARTIN        JIMENEZ                 MO          90014156702
2532179665715B   SANDRA        CENTENO                 VA          90008437966
25321918372B88   NICEFORO      DIAZ                    CO          90000259183
25321A53155939   ADAM          WEAVER                  CA          90008870531
25322774172B88   ANTONIO       PASOS FLORES            CO          90013557741
2532296A491221   KENDRA        SMITH                   GA          90014039604
25322977A2B975   EVER          LEON                    CA          90015119770
2532348589155B   GRACIELA      VELASQUEZ               TX          90009804858
2532356A24B588   NORA          RAMIREZ                 OK          90002305602
2532383735B161   CHRISTOPHER   IVR ACTIVATION          AR          90013788373
2532422A172447   LESLEE        TENNEY                  PA          90001922201
2532461A17B477   BRENDA        ADDISON                 NC          11010176101
2532465879136B   YOLANDA       ALCALA                  KS          90013946587
25324A6A92B27B   ROCHELLE      EDWARDS                 DC          90010310609
2532514179136B   SCOTT         MCINTYRE                KS          90010221417
2532517759155B   SAMANTHA      HUNNICUTT               NM          90012851775
2532667773B377   SERGIO        ROCHA                   CO          90014126777
25326919972B88   JUAN          GONZALEZ                CO          33094759199
25326A8683B333   ELIZABETH     HOGG                    CO          90002400868
2532739769155B   GENOVEVA      MILAN                   TX          90013353976
2532748579136B   THIRD         BOYD                    MO          90007354857
253277A9472B88   HARDUNA       FOFANA                  CO          90003217094
253279A1972B32   DION          GRIEGO                  CO          33088009019
2532815813B464   JEANETTE      HILLEARY                WV          90015341581
2532826789136B   JIM           INMAN                   KS          90010932678
2532837A59189B   MIA           HARRIS                  OK          21040963705
25328941A5B271   TERRI         MOORE                   KY          90006659410
25329365772B32   EDWARD        JONES                   CO          33018863657
25329383472B88   LINDSAY       VARDEMAN                CO          33064203834
25329879376B8B   HUGO          PENITEZ                 CA          90014708793
2532B1A7555957   ARTHURO       GONZALEZ                CA          90006551075
2532B32879794B   IESHA         HARRIS                  TX          74016003287
2532B453781637   ALMA          FRANCO                  MO          90009274537
2532B593891828   REBEKAH       CRAVEN                  OK          90015365938
2532B88129189B   RHONDA        DELP                    OK          21075608812
25331A53755957   NASARIO       PEREZ                   CA          48083360537
25332273A4B281   SARAH         SMITH                   IA          90008482730
2533253835B271   CHRISTINA     SON                     KY          68007705383
2533297552B27B   MONTRESSA     BUTLER                  DC          90013459755
25332A5A581633   BRETT         BRISCOE                 MO          90014030505
2533312765B161   PAMELA        BELCHER                 AR          90015161276
253331A329155B   MARIBEL       OLIVERA                 NM          90009231032
253333A7851369   JAMIL         MONEY                   OH          66077483078
2533369392B27B   EDDIE         PALEMR JR               DC          90005546939
2533418743B164   LAVINA        HARDY                   DC          90006881874
25334882A4B261   TERESA        MENDEZ                  NE          27018368820
2533498334795B   SHANNAN       BRINK                   AR          25025349833
25335268272B88   RYAN          REYNOLDS                CO          90013002682
25335396A5B936   ESTRELLA      CONTRERAS               WA          90015353960
25335467372B32   ANAHY         MUNOZ                   CO          90007894673
25335771176B53   ERICA         LEON                    CA          46041407711
2533598559155B   RUBEN         VALLES                  TX          90014019855
2533619A42B839   ELVA          GARCIA                  ID          90015201904
2533652355B271   JOSE          ALVAREZ                 KY          68007595235
253368A649136B   ADAN          CANELA                  KS          90013948064
25336A11871928   BETTY         TERRY                   CO          90013140118
25336A29531631   JUDE          KASPER                  KS          90014100295
2533754815715B   ALEXANDER     GUILLEN                 VA          90014005481
25337A9A59794B   PAULINO       THEODORO                TX          74068900905
25338446372B42   LUIS          GONZALEZ                CO          33091864463
253384A5191522   CARLOS        BUSTAMANTE              TX          90009954051
2533867332B839   ISABELLE      ABREGO                  ID          90012436733
2533881564B281   GARY          FOWLER                  NE          27027778156
2533894744B592   TIFFINE       JOHNSON                 OK          90012339474
25338A5735B571   MOORE         MATTHEW                 NM          90000720573
2533913559155B   CHRISTINE     AVILA                   TX          75039901355
2533951A99794B   SHEA LYN      BLOCKER                 TX          74079765109
2533996839189B   SARAH         HARJO                   OK          90011029683
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2533B111881661   MR               THOMPSON             MO          29001101118
2533B11922B27B   LORENA           FIGEROA              DC          81039301192
2533B318131453   ALLEN            GREEN                MO          27590113181
2533B421754123   SANDRA           PARKER               OR          90008634217
2533B757A2B839   ANDY             GARCIA               ID          90003347570
2533B917691828   ANTONIA          CARRENO              OK          90012979176
253416A479189B   RITA             JACKSON              OK          90008706047
25341A1559184B   BETTY            VISOR                OK          21087310155
25341A87481661   JENNIFER         ORTEGA               MO          90012270874
253421A2755957   LORENZO          GUTIERREZ            CA          90013271027
2534238A181633   DEBBIE           DECAVELE             MO          90010093801
2534257A44B588   RODRIGO          JAUREGUI             OK          90013365704
25342A15791522   JOSE             TORRES               TX          90012040157
25342A2189189B   GINA             RAIGOZA              OK          90005010218
25343297A5715B   VALDOVINOS       DINORA               VA          90013302970
2534331779136B   ROSANNA          MARQUEZ              KS          90014573177
2534348683362B   KEITH            LEAKE                NC          90008714868
25343958A81661   ERIC             MCCUBBIN             MO          90014609580
253443A589794B   EDELMIRA         GARCIA               TX          74037683058
2534549555715B   LUIS FELIPE      MIRA                 VA          90009944955
2534578942B27B   CECILIA          DOKU                 DC          81014007894
2534582779189B   CASEY            PETRUNAK             OK          90009508277
2534583174B588   ANGLEA           BROWN                OK          90001808317
2534591999794B   VICTOR           TUMAX                TX          74007489199
2534672939155B   SAMUEL           MARTINEZ             TX          75083197293
2534686649155B   GRACIELA         HERNANDEZ            TX          90015118664
253468A659136B   MICHELLE         WALKER               MO          29059138065
2534743817B471   WALTER           ROSA DE PAZ          NC          90012314381
253474A879189B   JACKIE           CHEADLE              OK          90013734087
2534754525715B   WILSON           VASQUES              DC          90013645452
2534789947B471   WALTER           ROSA DE PAZ          NC          90014908994
25347A2A171928   HAROLD           BRIDGERS             CO          90012210201
2534848589184B   BRIAN            ERNEST               OK          90014004858
2534887295B571   SUSAN            WILLIAMS             NM          90008528729
25348912272B32   DACI             BLANCHARD            CO          90002839122
25348A69757157   CANDICE          BIBBS                VA          90010970697
25348A75572B88   CHRISTAL         GONZALEZ             CO          33046070755
2534917614B588   KYLIE ANNA       KOOS                 OK          90010551761
2534969249794B   LIANA            GUTIEREZ             TX          90013916924
2534986A972447   MARY             KASACJAK             PA          51006598609
253498A649136B   ADAN             CANELA               KS          90013948064
2534B5A234B588   LESLEY           LENA                 OK          90005355023
2535187AA9794B   DAVID            MARTINEZ             TX          90014588700
25351A6825B161   ANDREA           GATEWOOD             AR          23030390682
2535289475B271   LANETT           COGBURN              KY          90014568947
2535359989184B   DORA             PEREZ                OK          90014525998
2535389739136B   ANDREW           HICKS                KS          90014908973
2535418514B588   LARRY            DUPREE               OK          90004141851
2535464359184B   BRITTANI         CANDIOTO             OK          90013226435
2535499227B471   MARIELA BAILON   DOLORES              NC          90008239922
25354A23551333   ROBERT           PEREZ                OH          90008990235
25355365376B62   ANA              BRITO                CA          90013693653
25355A85372B23   CARLOS           HILL                 CO          90001320853
2535616784B281   EVENCIO          MARTINEZ             NE          27040301678
2535691A77B471   APRIL            FANT                 NC          90012119107
25356986A81638   KORINA           EUERRA               MO          90012089860
253572A414B261   RACHEL           VAIAOGA              NE          27095802041
2535761449184B   BRIAN            HILL                 OK          90015296144
2535814684B281   SERGIO           MARTINEZ-DIAZ        NE          90014171468
2535848287B449   CHERRY           JACKSON              NC          11086194828
25358A9119794B   WILFIDO          CHAN                 TX          90010040911
25359591772B88   ALMA             ALMANZA              CO          90005675917
25359A95772B32   ADOLFO           HERNANDEZ            CO          90009740957
25359AA7A9794B   ROCIO            VASQUEZ              TX          90014720070
2535B493871928   URICK            PHILLIPS             CO          90014534938
2535B81237B477   TOMMY            PHILLIPS             NC          90003418123
2535B891684364   TANESHA          GREEN                SC          90000948916
2535B897693767   DANTE            WITHERSPOON          OH          90013158976
2536161899155B   MARCO            ORTEGA               TX          75084386189
2536177757B471   MARIO            AMAYA                NC          90012237775
2536225347B494   ALICE            POWELL               NC          90013602534
2536226989136B   LATREECE         ESTES                KS          90014712698
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253622A984B588   EBONIE          MCBROOM               OK          90010552098
25363195272B42   HERNANDEZ       JOSEPH                CO          90013651952
2536333486B862   MICHAEL         WAGNER                WI          90015373348
2536366265715B   FELICIA         SMITH                 VA          90011646626
2536374329136B   MARIA           BARRIENTOS            KS          90006077432
2536421764B588   KATIE BRIANNA   KOOS                  OK          90010552176
25364314272B32   RENA            ROY                   CO          33060213142
253647A165B571   MERCIE          APODACA               NM          90012667016
25364972A9189B   DEBBIE          SLAUGHTER             OK          90013209720
25364A91685B6B   BARBARA         FALGOUST              FL          90015510916
25364A9469155B   ELIZABETH       CABRALES              TX          75080150946
25365423A91522   CLAUDIA         SILVA                 TX          90012904230
25365538772B88   RANDY           CORLEY                CO          33046065387
2536596175B161   WALTER          MILLER                AR          90015059617
2536699534B281   NICHOLAS        JEROME HARRIS         NE          90012389953
2536777599155B   ANA             DURAN                 TX          75097627759
2536863869794B   LUIS            VASQUEZ               TX          90013826386
25368797172B88   MARTHA          MIRAMONTES            CO          33055647971
253687A712B839   JAVIER          DELHOYO               ID          42061387071
2536947977B423   DARICK          JONES                 NC          90011964797
25369547A7B449   ARTURO          TEPOZ                 NC          90001035470
2536B33A87B471   STACEY          COLEMAN               NC          11090813308
2536B586971943   QUOC            HUONG                 CO          90010305869
2536B62819155B   SILVANA         BECERRA               TX          75007066281
2536B75AA81661   MS              ROBINS                MO          90001877500
2536B87AA9794B   DAVID           MARTINEZ              TX          90014588700
2537183A75B271   STEVE           RIOS                  KY          90009568307
25371957972B42   CHRIS           HAMMERBERG            CO          90013109579
2537212A87B449   JAMES           MURRAY                NC          90003771208
2537222217B471   BRENDA          SIMTSON-CARRION       NC          90015552221
25372A25A5B161   SEDRICK         LEDBETTER             AR          90013860250
2537321615715B   BENNY           MEJIA                 VA          90004832161
2537347649189B   DIEGO           OCHOA                 OK          90003694764
2537365792B839   MASON           OLIVEIRA              ID          90014566579
2537369195B571   TANYA           BELONE                NM          90009906919
2537411765715B   JOSVEL          ACEVEDO               VA          90006621176
25374197572B32   CODY            LORENZ                CO          90012981975
2537424927B471   TROY            BRELAND               SC          90011242492
253742AA19136B   SANDRA          DIAZ                  KS          29004342001
25374742572B32   JASON           PETTID                CO          90013897425
25374A82985938   JOEY            BENTON                KY          67091330829
25375216A4B281   CHRISTINA       PITMAN                NE          90015172160
2537551A85B271   BARBARA         GANDY                 KY          68006885108
25375652A4B261   MARCI           OWENS                 IA          90010956520
2537567169794B   JUVENAL         GONZALES              TX          90013156716
25375814A91522   CARMEN          HENRIQUEZ             TX          90014858140
2537597272B27B   JORGE           JIMENEZ               DC          90013519727
2537698844B261   CALETA          SMITH                 NE          90010959884
253769A1972B44   EVER            MORALES               CO          90010399019
2537724A14B281   DAVON           WYNNE                 NE          90014852401
25377381572B88   ELIZABETH       DAIGLE                CO          90008103815
253774A723143B   LANCE           DEJONG                MO          90014764072
2537829524B588   APRIL           RING                  OK          90010552952
25378A93172B32   CINDY           POPPE                 CO          90013650931
25378AA535B571   JOSE            ESTRADA               NM          90014590053
2537935475B571   JASON           FULLER                NM          90000363547
2537966A493731   RANEY           WORTHHAM              OH          90011616604
253799A764B588   DENISE          TOLSON                OK          90008889076
2537B113A55957   VALERIE         CRAWFORD              CA          90008351130
2537B223971943   ROSEMARY        DOUD                  CO          32075182239
2537B23727B477   EVELENE         BROWN                 NC          90010562372
2537B27179794B   KAREN           LAWRENCE              TX          90014162717
2537B318881637   DERRAE          DAVIS                 MO          90012943188
2537B43A37B449   ELOISA          LOPEZ                 NC          90013344303
2537BA51371928   GINGER          PATIK                 CO          90006720513
2537BA55381661   KYLE            HARPER                MO          90014180553
25381439472B88   DANNETTE        SPRATTLER             CO          90013624394
25381A61581661   ANTHONY         JACKSON               MO          90014180615
25382128A4B261   NIKKI           BRYSON                NE          27065721280
2538224552B27B   KIMBERLY        HERNANDEZ             DC          90003372455
2538289729155B   KELLY           ACOSTA                TX          90012978972
25382998372B42   PAM             MARSH                 CO          90001649983
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25382A69457157   ANGELA       LEWIS                    VA          81073250694
2538327887B471   CAROLE       BROWN                    NC          90014852788
2538365315B571   MICHAEL      LOVE                     NM          90013086531
2538385369136B   TERRY        HAMILTON                 KS          29050728536
253842A915B571   ASHLEY       CHAMBERLAIN-TAFOYA       NM          90014762091
25384334A2B27B   KYREE        KENNY                    DC          90013063340
253845A159136B   ANDRE        DICKENS                  KS          29003255015
2538485679376B   VENITA       YOUNG                    OH          90007888567
25385928472B32   EDUARDO      OCHOA                    CO          90015189284
25386197572B32   CODY         LORENZ                   CO          90012981975
2538666652B232   ARTHUR       BUNDY                    DC          90005316665
25387427772B88   TONI         HAMMERBERG               CO          33017864277
2538791834B281   HARLEY       HUKSINS                  NE          90013879183
25387AA695B571   RAFALE       TORRES                   NM          90014590069
2538836189136B   MARIA        AVILA                    KS          29058363618
25388944A5B161   MARILIN      MORALES                  AR          90014119440
2538896A455957   OSVALDO      ENRIQUEZ                 CA          48088899604
2538992994B588   HECTOR       AREVALO                  OK          90010919299
2538993929136B   ALMA         ESTRADA                  KS          90013949392
2538996999189B   TERESA       KEEVER                   OK          21065649699
2538B254A2B27B   TYRONE       BENNINGS                 DC          90010992540
2538B2A3255977   MARIA        DE JESUS                 CA          90010832032
2538B338651328   BENNY        ADKINS                   OH          66072073386
2538B36A69155B   ADRIANA      AGUILAR                  TX          90014203606
2538B538772B88   RANDY        CORLEY                   CO          33046065387
2538B64454B261   CHRISTY      SCHLUETER                NE          27060726445
2538B74875B161   HEATHER      BRIGGF                   AR          90014647487
2538B83524B588   CHRISTOHER   HAYS                     OK          90012998352
2539185494B588   JESUS        CORDONA                  OK          90015138549
2539284942B839   ESTANISLAO   DIAZ                     OR          90011698494
25392969A51328   FORREST      HAINES                   OH          90002289690
2539299A871943   KIMBERLY     ARGO                     CO          32010249908
25393144172B88   TITUS        BLOSSER                  CO          90009321441
2539319985B161   TOMIKA       VERGES                   AR          90008971998
253934A1593731   REUBIN       BEAVERS                  OH          90000824015
25393585A9136B   LASHELL      WILLIAMS                 KS          90014855850
2539364295B271   DARIUS       SIMPKINS                 KY          90013016429
2539375499189B   DAVID        VALDEZ                   OK          90011627549
2539377524B261   TOLIBJON     MARUPOV                  NE          90011767752
2539434652B839   MONICA       ARREDONDO                ID          90012893465
25394378572B88   MICHELLE     NAVA                     CO          90011573785
2539461A48432B   YURI         TOLEDO                   SC          90011216104
25394A3995B571   JENNIE       ADAMS                    NM          90014590399
253951A969184B   SHELBY       FOX                      OK          90015421096
2539525157B471   CATHERINE    CLINE                    NC          11036932515
2539574629136B   VISMAL       TORRES                   KS          90007787462
2539656318B145   JUAN         GONZALEZ                 UT          90008005631
2539667199184B   JASON        SHAFFER                  OK          21018646719
25397A17A5B161   MATILDE      PALOS                    AR          90003180170
25397A5535B571   EREMITA      MARQUEZ                  NM          90013010553
25398358772B32   VERONICA     BAUTISTA                 CO          90013513587
2539846819155B   BLANCA       SANTILLAN                TX          75020164681
2539851265B571   ALFRED       GRIEGO                   NM          90009495126
253985A169184B   SERGIO       GARCIA                   OK          90010685016
2539881362B839   JUAN         RUIZ                     ID          90013938136
2539884499794B   RANDI        GARCIA                   TX          90015088449
25398A84A81661   SHAWN        HOGAN                    MO          90014180840
2539936324B221   LACEY        HUMPAL                   NE          27080163632
25399468A71928   WALTER       BUTLER                   CO          32012744680
2539948189189B   THOMAS       MOODY                    OK          90014714818
25399A71272447   MARI         WYCKOFF                  PA          51089290712
2539B71869136B   EDUARDO      LOPEZ                    KS          90013027186
2539B87995B333   CHRIS        HOFMANN                  OR          90014668799
2539B964991828   BONNIE       PAUL                     OK          90007559649
2539B983872B32   NICOL        SYVERTSON                CO          90013159838
253B2689272447   SHANNON      SWERTZER                 PA          90009046892
253B276254B281   AUTUM        ATHAY                    IA          90013947625
253B32A557B449   CHELITA      LITTLE                   NC          11013272055
253B353562B232   MICHAEL      SAMUELS                  DC          90005315356
253B381689794B   PATTY        NAVARRO                  TX          90008738168
253B3966972B32   TOMAS        ESCAMILLA                CO          90012809669
253B397739155B   JOSE         HOLGUIN                  TX          90013329773
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253B3A68997949   HORACIO      LOPEZ MARTINEZ           TX          90009520689
253B4381472B88   LOUISE       BAILEY                   CO          33033163814
253B447414B588   JUDITH       AGUIRRE                  OK          90014544741
253B453917B471   EDWARD       MARSHAL                  NC          11066875391
253B462484B261   TIANNA       WATKINS                  NE          90003636248
253B4794472447   JOHN         YOTUM                    PA          90015537944
253B4946672B42   MARY         CORONADO                 CO          90005509466
253B542A94795B   ISMAEL       POLANCO                  AR          90002404209
253B5436651328   STEPHANY     DALLINGER                OH          66078034366
253B582322B235   DOMINIQUE    MOORE                    DC          90013318232
253B5833931631   ALFRED       ANGEL                    KS          90010488339
253B611A99189B   ANTHONY      DOWD                     OK          90001971109
253B625675B271   ROBERTO      FRANCO                   KY          90001472567
253B6336372B88   DERON        JOHNSON                  CO          90009693363
253B6519357157   MELISSA      JONES                    VA          90010955193
253B691665B571   AMANDA       BOGUSKY                  NM          90014589166
253B6957793731   HELPING      HANDS                    OH          90012179577
253B731177B471   ROBERT       BRAWLEY                  NC          90013363117
253B743469136B   RICHARD      ISABELL                  KS          29041084346
253B744627B477   JOSHUA       GHEBREMICHAEL            NC          11063684462
253B7773357157   JEROME       CARTER                   VA          90006237733
253B77AA172B32   CRISTINA     FLORES                   CO          33059297001
253B791A131631   MARIO        CABRAL                   KS          90014099101
253B797459794B   TYRELL       THOMAS                   TX          90013919745
253B7A73781661   MATT         NORTHCUTT                MO          90010990737
253B827A84B531   KAREN        HOLLAND                  OK          90010632708
253B876153B383   CHRISTINA    PANCZYK                  CO          33080217615
253B891665B571   AMANDA       BOGUSKY                  NM          90014589166
253B8AA554B261   ASHLEI       RICKER                   NE          27050870055
253B9127776B4B   ALI          ESLAMI                   CA          90000541277
253B92AA89189B   KLAYTON      HICKMAN                  OK          21000102008
253B9516393723   CHRISTA      ROBERSON                 OH          90007915163
253B973A761996   JESUS        SANCHEZ                  CA          90009617307
253B988264B588   JESSICA      CHANCE                   OK          90014968826
253B9967941245   MARCIA       LUSTER                   PA          90002929679
253BB263391241   TIFFANY      BATTLE                   GA          14579732633
253BB5A472B839   CRISTI       PULLEY                   ID          90013645047
253BB89869155B   LORENZO      JIMENEZ                  TX          90012348986
253BBA7599794B   CRISTIAN     MERCADO                  TX          90013630759
253BBA86791828   LINDA        JAMISON                  OK          90014290867
2541118654B588   LASHAWN      WILLIAMS                 OK          21509091865
2541135779155B   VIRGINIA     LUDWIG                   TX          90009813577
2541158219155B   MIRANDA      HOLGUIN                  TX          90014605821
25411A42493731   DAEONNA      DAVIS                    OH          90000410424
2541295179136B   SATRINA      DOYAL                    KS          90001269517
25413294972B32   MARIA        TORRES                   CO          33017932949
254136A2781633   JAMI         DAY                      MO          90011066027
25414167A4B588   ALEXANDRIA   WOODMANSEE               OK          21510661670
2541462745B271   BARBIE       PARKER                   KY          90007196274
2541538415715B   TERESA       HENRIQUEZ                VA          90010333841
2541542445135B   RANDY        SCHNEIDER                OH          90008834244
254158A289155B   MARTIN       BETANCOURT               TX          90012668028
2541657A72B839   ANTONIO      GONZALEZ                 ID          90009945707
254165AAA4B588   TAYLOR       WOODS                    OK          90013645000
2541668A272B88   ROBERTO      LEON                     CO          90009276802
2541691545B161   MICHELLE     LOVE                     AR          90014559154
2541725125B161   RODNEY       WARREN                   AR          90010832512
25417721272B88   MARK         GARDNER                  CO          90001627212
25417A4339155B   CRYSTAL      CASTREJON                TX          90010210433
2541898992B232   BARBARA      WICKER                   DC          90005319899
25419A2425B271   TAMIKA       JONES                    KY          90014120242
25419A3665B571   ROXANNE      CHEVEZ                   NM          90014590366
2541B298693731   DENISE       GREGORY                  OH          90014702986
2541B621291828   WAKELLAH     WEST                     OK          90006496212
2541B898833686   LATOYA       JONES                    NC          90011428988
2541BA8499794B   JOHN         QUACKENBUSH              TX          90014770849
2542118579155B   MIRIAM       HOLGUIN                  TX          90002661857
25421743A5B271   ASHLEY       JENNINGS                 KY          90008717430
25421A81971928   CHANTRY      CAMPBELL                 CO          90012740819
2542235379184B   LANA         TURNER                   OK          90014353537
25424218A85938   WILLAIM      FANNIN                   KY          67079912180
2542445139794B   EDMONDO      IBARRA                   TX          90006384513
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2542452A372447   DEBRA          JARMON                 PA          90013175203
25424784A91522   LILIA          FLORES                 TX          75035197840
2542482585B571   CLAUDIA        AVILA                  NM          35015478258
254252A5271943   STEPHANIE      LANKFORD'IRWIN         CO          90014712052
254252A569713B   MIESHA         BROWN                  OR          90015322056
25426195A7B471   JOEL ORLANDO   TICAS                  NC          90013921950
2542636464B588   NARNETTA       SHAW                   OK          90012853646
2542642A771943   MARISOL        SALGADO                CO          90008274207
254271A264B261   ARTURO         TORIBIO                NE          90010481026
2542737A15B571   JANEEYEE       SCHELLS                NM          35017843701
25427A7624B281   RHONDA         MINER                  NE          90014440762
25427AAA951328   MARY           KELLEY                 OH          90010160009
2542849677B477   ALEXUS         LEE                    NC          90011154967
2542874465B161   SHAMELLE       MORGAN                 AR          90012557446
2542914922B27B   ROBERT         WILLIAMS               DC          90013721492
2542921547B477   TIMOTHY        GUINN                  NC          90011892154
25429A55781637   COLLIN         BELL                   MO          90009220557
25429A7277B477   TIMOTHY        GUINN                  NC          90011480727
2542B12A981661   SANDRA         MELGAR                 MO          90014181209
2542B1A949189B   AMANDA         TAYLOR                 OK          90014741094
2542B21339136B   REYES          GRANADOS               KS          90009122133
2542B23239794B   YOLANDA        SILVA                  TX          74045332323
2542B284191522   MARGIE         GOMEZ                  TX          90010642841
2542B63642B839   MICHAEL        WILSON                 ID          42072496364
2542B872A5B271   LASHAY         SMITH                  KY          90009618720
2542BA11871928   ROBERT         HAMMOND                CO          90009180118
2542BAA5381633   LAMONTAE       MAYS                   MO          90014440053
25432A31791522   BLANCA         ESQUIVEL               TX          75084250317
25432A51777534   ADRIAN         BAUTISTA-LOPEZ         NV          90009410517
2543321A341245   PATRICIA       ZIGAROVICH             PA          51069302103
2543345774B221   COURTNEY       KIDD                   NE          27014434577
2543377774B261   MODESTA        LEDESMA                NE          90014237777
2543396A831631   ALMA           MARTINEZ               KS          22033699608
2543451159155B   CINDY          MARTINEZ               TX          90008275115
25434772724B46   DALE           MILLER                 DC          81024987727
25434A3554B281   ANGEL          GARCIA                 NE          90014700355
2543511849189B   JUAN           SANTILLAN              OK          90011431184
2543727365715B   NORMA          NOLASCO                VA          81012932736
2543786354B261   JESSICA        ARMSTRONG              IA          90015118635
25437AA5931433   JEROME         STONE                  MO          90013140059
25438A6179155B   ROSA           GONZALEZ               TX          75023650617
25439686A5B161   TIM            VAUGHAN                AR          23092886860
25439A3995B571   JENNIE         ADAMS                  NM          90014590399
2543B215181637   MIKELA         OLIVER                 MO          29010862151
2543B43219189B   JULIO          CAMPOS MARTINEZ        OK          90010094321
2543B575371943   ESTEBAN        CASTRO                 CO          90000575753
2543B8A2A81633   SHAUN          KNOX                   MO          90012168020
25441A52557157   ERIC           HERNANDEZ              VA          90011500525
25441A68772B88   CRYSTAL        RAMIREZ                CO          33046060687
2544213A472B88   CASEY          COWELL                 CO          33054121304
2544262355715B   CARLOS         ROBLES                 VA          81046216235
2544265335B161   MARIA          BOWERS                 AR          23092116533
25442925872B32   JASMINE        ROJAS                  CO          90010799258
254429A5551328   JENNIFER       JOHNSON                OH          66098409055
25442A3995B571   JENNIE         ADAMS                  NM          90014590399
25442A62A9155B   ANGELA         LOESCH                 TX          90005690620
2544317119136B   BRISA          ARTEAGA                KS          90015261711
254439A669184B   ILEN           CUVA                   OK          90012639066
2544419692B222   JORGE          USEDA                  VA          90010841969
2544485352B27B   MIRKA          SHEPHARD               DC          90013128535
2544541319155B   ARMANDO        PEYNADO                TX          90008694131
2544556425715B   OBED ISAI      ARQUETA                VA          90013085642
25446161A31433   LAWANDA        MOSS                   MO          90001371610
2544621349184B   TOMIKA         VERSER                 OK          90011242134
25446751972B42   JUAN           CASILLAS               CO          33089617519
25446759A2B27B   WILLIAN        STANCIL                DC          90014007590
25447329A77381   ABEL           FLORES                  IL         20509683290
2544775137B471   JOHN           PINCKNEY               NC          90015457513
25447A6179155B   ROSA           GONZALEZ               TX          75023650617
2544931A79189B   TRACY          MOORE                  OK          90000523107
2544957222B27B   WILLIE         GLOVER                 DC          90014715722
2544B11899136B   CHRISTIAN      ZAVALA                 KS          90013951189
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2544B22829794B   CARMEN      IBARRA                    TX          90013422282
2544B322357157   JENNIFER    ROWSON                    VA          90014603223
2544B36919155B   LAURA       BENTLEY                   TX          90013893691
2544B494472B32   KATHLEEN    WEBER                     CO          33085184944
2544B644757157   JENNIFER    RAWSON                    VA          90013486447
2544B7A1572447   DANIELLE    REDMAN                    PA          51041827015
2544B8A667B471   SHANA       JACKSON                   NC          90013028066
2544BAA5793731   SAMANTHA    RAAB                      OH          90014800057
25451197A81637   REBECCA     VOORHEES                  MO          90008001970
25451483A72B88   JORDAN      GRACE                     CO          90013874830
25451A21331631   JAMIE       SCHANTZ                   KS          90015020213
2545244252B839   GARCIA      LETTIZIA                  ID          90005944425
2545411639184B   BEN         MCLEAN                    OK          90015421163
2545433385B167   JOANNA      TANNER                    AR          90014713338
25454686A4B261   WENDY       MOROZ                     NE          27094096860
254546A4555957   JUAN        PACHECO                   CA          90010056045
25454757972B88   JUSTINE     PENA                      CO          90013047579
2545483A25715B   GLORIA      DE PAZ                    VA          90008138302
25454A5AA61986   ADRIANA     DIAZ                      CA          90013240500
2545521A551369   NICOLE      SCHULER                   OH          66006952105
2545579932B839   LEOPY       TSHIPAMA                  ID          90009957993
25455839A5715B   OSCAR       FLORES                    VA          90013618390
25455A13531453   MARIE       BECNEL                    MO          90010430135
25456213572B44   SHANNA      CATHEY                    CO          90010862135
254568A722B27B   LEONARD     SMITH                     DC          90011968072
25456A68597B41   BRADLEY     JUDKINS SR                CO          39083230685
25457736772B88   MARK        SCHALL                    CO          90014667367
2545781882B839   ASHLEY      ROBINSON                  ID          90013938188
2545817775B271   ALEASHA     SMITH                     KY          90004351777
2545915A272B32   DEZIREE     HOLMAN                    CO          90014631502
25459422572B88   MARIA       MARTINEZ                  CO          90011574225
2545986899184B   CHARLES     WALKER                    OK          90013868689
2545B396793731   SIA         ROBINSON                  OH          90012953967
2545B952757157   CAMERON     RIFE                      VA          90015089527
2545B997A71943   SHANITA     GALLOWAY                  CO          90014789970
2545BA64772B88   MOULIKAH    JORDAN                    CO          90012790647
25461157A4B281   GRACIELA    HERNANDEZ                 NE          90004361570
25462156A9155B   ISABEL      GOMEZ                     TX          90010271560
2546371252B839   JUDY        GERHLS                    ID          90015237125
2546375969184B   CLINTON     GRIFFITH                  OK          90012177596
2546463662B839   BRITTANY    BOLEN                     ID          90011716366
25464696A91522   JOELLA      VELEZ                     TX          75054106960
25464AA717B471   LATOYA      DAVIS                     NC          90014330071
254651A657B471   MYRON       CHAPMAN                   NC          11085421065
2546599642B27B   RAMON       THOMAS                    DC          90005949964
25466379A91522   SALVADOR    COLLAZO                   TX          90008763790
2546664A272B88   JONATHAN    GEISLER                   CO          90011576402
25467643972B88   MELINA      MARTINEZ                  CO          90011576439
2546866934B588   ANITA       FLORES                    OK          21582096693
25469312A4B281   YOLANDA     MONTUFAR                  NE          90010243120
2546947799136B   ROSA        GARCIA                    KS          90014564779
25469635972B88   DEBORA      PINCKNEY                  CO          33096426359
2546B31514B261   ABRAHAM     GARANG                    NE          90012793151
2546B36A12B27B   TIFFANY     RAMSEY                    DC          90012373601
2546B77972B232   LUISA       MADRID DE JIMENEZ         DC          90000887797
2546BA15231433   NICOLE      KING                      MO          27596500152
2547173594B588   MARTINA     MARTINEZ                  OK          90002207359
2547221969184B   ROBIN       MATTINGLY                 OK          90011222196
2547259A57B477   KISHA       DAWKINS                   NC          11006455905
2547266279155B   LORENZO     CHACON                    TX          75066146627
254729A9455957   MARTIN      ROMERO                    CA          48015569094
25472A8114B261   IAN         DODGE                     NE          27095120811
254733AA491528   SUSANA      VICENTAINER               TX          75008483004
25473654172B88   LUIS        HERRERA                   CO          90011576541
2547371455715B   PAULOS      YACOB                     VA          90012537145
2547378729136B   ARACELI     RODRIGUES                 KS          90007227872
25473AA2671943   PATRICIA    EXLINE                    CO          32012510026
254753A185B571   KRISTINA    FRIEND                    NM          90012063018
2547562A172447   BLAISE      DAWSON                    PA          90012566201
2547615855B271   CHRIS       SOTO                      KY          90010101585
2547754A591828   KATIE       JONES                     OK          90012155405
2547762662B839   KIM         GIVENS                    ID          42068276266
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2547785A772447   HENRIETTA       SHEARER               PA          90010118507
2547811852B839   SUZANNE         BRADY                 ID          90012941185
25478174172B88   PEDRO           RODRIGUEZ             CO          33022471741
254784A977B471   LUCIA           PEREZ                 NC          90012634097
25479138472B32   EDITH           CASTRO MORALES        CO          90013321384
25479A4825B936   VICKY           SALDIVAR              WA          90001960482
2547B156772B88   LUCINDA         CONDE                 CO          90010521567
2547B627A51328   MICHAEL         STEGEMOLLER           OH          90009586270
2547B65A181661   MELISSA         MILLER                MO          29081966501
2547B88359155B   ANGEL           HERRERA               TX          90013008835
2547B9A1431433   JOEI            LANGCASTER            MO          27567599014
2548111279794B   VERONICA        DIAZ                  TX          90013681127
2548168264B588   MARITZA         CALDERON              OK          90012306826
25482257372B88   LOURDES         MONARREZ              CO          90002072573
25482857A55957   KATHY           DELING                CA          90011108570
2548286199155B   PATRICIA        GARCIA-SANCHEZ        TX          90015298619
25483161587B87   BENNIE          GARRETT               AR          23056861615
254838A3471928   JOSUE           MCGEE                 CO          90014088034
25485A51172B88   JUAN            NORIEGA               CO          33080170511
25485A9329184B   WILLIAM         WHINERY               OK          90011010932
25486A94393731   LATOYA          MILLER                OH          64518020943
2548716A181637   NINA            ANDERSON              MO          29002011601
254875A3241245   JACQUELINE      DOUTHETT              PA          90010545032
2548795637B471   LATONYA         WOODS                 NC          90012989563
25487982A71928   BRITTANY        JONES                 CO          90015279820
25488472672B88   MARCHELLE       KIRBY                 CO          90002224726
2548946924B281   LISA            HANEY                 IA          90004184692
2548974119189B   ROBERT          HILL                  OK          21023597411
254897A177B466   ANTOINE         GLOVER                NC          90008707017
2548B14969794B   IRENE           MORENO                TX          90007341496
2548B225A9184B   BRIAN           HALL                  OK          90012272250
2548B28555715B   JOSE MORIS      CALDERON              VA          90013922855
2548B687A71943   CHEYENNE        SATHRE                CO          32040856870
2548B73335B161   TIFFANY         COULTER               AR          90014957333
2548B82529376B   JAMES           THOMAS                OH          90005778252
25491161872B88   JESENIA         BERNAL                CO          90012921618
2549128363B391   TYSON           ADAIR                 CO          90007282836
254916A5257157   CHARLIE         COLATO                VA          90010606052
25491AA1351328   CHRIS           GODLEY                OH          90012100013
2549268747B471   DAYLVIN         MCILWAINE             NC          90006716874
25492A1434B281   VANESSA         YOUNG                 NE          90004120143
2549324119136B   LUIS            GALINDO               KS          90011152411
25493492572B88   VALENCIA        LOPEZ                 CO          90002834925
2549363717B471   LEODEGARIO      SOTO                  NC          90014546371
25494275A81661   IVAN            PACHECO SANDOVAL      MO          90014182750
254942A5281633   JERMAINE        BROWN                 MO          90014902052
2549477724B261   JOHN            PLOG                  NE          27034137772
254948A384B588   TIMOTHY         BRADFORD              OK          90010558038
2549491A172B88   ASHAUNAISE      GAINES                CO          33022469101
25494A9673B127   GLEN            ELLE                  DC          90011450967
2549575187B471   BRITTANY        BENJAMIN              NC          90010587518
2549653745B161   MIKE            MORNING               AR          90013155374
254965A7371943   CODY            NORTON                CO          90014115073
2549664999794B   CHARLES         JOHNSON               TX          74008566499
25496A36891828   SHANTORRIA      LEWIS                 OK          90012130368
25496A5969155B   JOSE            CASTRO                TX          90014010596
25497642A9184B   DARRYL EDWARD   WINFIELD              OK          90010556420
2549779A381661   JADERAH         ROBINSON              MO          90008987903
2549796419794B   SANDRA          NOLASCO               TX          90006089641
2549817A24B281   TYLER           PEARSON               NE          90014811702
2549927869136B   CARLOS          HERRERA               KS          90013952786
2549933215B571   ELSPERANZA      LAURENCE              NM          90010093321
2549B226381637   JOSE            LUIS SANCHEZ          MO          90011422263
2549B572272B32   CORRINA         LOPEZ                 CO          90011975722
2549B964971943   RIGOBERTO       SANCHEZ               CO          90013819649
2549BA6612B27B   XAVIER          ROBINSON              DC          81016720661
254B118245B571   STAR            MEEKS                 NM          90004241824
254B13A342B839   TRACY           NELSON                ID          90011783034
254B15A424B588   STATIA          JACKSON               OK          90013715042
254B173854B261   JOSE            PANIAGUA              NE          27080567385
254B1761A91828   NIKITRA         MAYHUE                OK          90014057610
254B1928571928   BRENDA          HURT                  CO          90010869285
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254B292492B839   TRICIA       DOUGHTY                  ID          90004189249
254B2A84A81661   SHAWN        HOGAN                    MO          90014180840
254B3118857157   KRISTY       VANDALE                  VA          90000431188
254B345775B571   LOURDES      CORTEZ                   NM          35094434577
254B3667A93752   CANDACE      BEVAN                    OH          90001716670
254B388175B161   AMOS         RAY                      AR          23005648817
254B3954481637   JUAN         ARAGON                   KS          90013859544
254B411119189B   LATISA       MASON                    OK          90005901111
254B427125B271   JULIE        HARL                     KY          68093842712
254B445277B471   KENDRIS      BUTLER                   NC          90013294527
254B519599155B   ELIZABETH    CAMACHO                  TX          90011541959
254B51A599184B   ANITA        RITTER                   OK          21004141059
254B5569391828   TAMMIE       DAVIS                    OK          90008725693
254B594447B471   PABLO        MARTINEZ                 NC          90010459444
254B637837166B   JOANNE       PONCE                    NY          90014783783
254B6659631433   ROCK         STAR                     MO          27581606596
254B6881472447   ANGELA       KEDRAC                   PA          90010118814
254B743A972B88   NORMA        MARTINEZ                 CO          90008644309
254B8356581633   ANTHONY      EMANUELE                 MO          29086643565
254B859319136B   JUSTINO      MARQUEZ                  KS          29052355931
254B9545172B32   DIEGO        SANDAVAL                 CO          90006405451
254B9597641251   JOHN         CUNNINGHAM JR            PA          90000215976
254B9944193767   JAY          JONES                    OH          90008449441
254B9AA9451328   SCOTT        ROBINSON                 OH          66056110094
254BB31595B271   JOHN         CAPPS                    KY          90003693159
254BB77965B161   RAIDA        BUNCHE                   AR          90007567796
2551218644B261   MELISSA      MILLER                   NE          27093421864
2551218995B161   VENUS        JOHNSON                  AR          23073731899
255121A515B271   ANTHONY      BROWN                    KY          90014491051
2551256682B839   ELIVA        EZPARZA                  ID          90013045668
2551273A381637   OSCAR        MENJIVAR                 MO          90003487303
2551285379136B   DUSTIN       BALDWIN                  KS          29089398537
255128A844B281   VELA         JAMES                    NE          27046098084
2551324259794B   JERLENE      PARNELL                  TX          90013932425
2551418282B839   LUIS         LOPEZ                    ID          90012941828
25514427172B42   JASMINE      COTTON                   CO          33090694271
25514845A9136B   CHRISTINA    ROSS                     KS          90004258450
2551525412B839   JANELLE      BIRD                     ID          90009302541
25515263372B42   TARA         MONTOYA                  CO          90014532633
25515634A7B449   THERONE      POE                      NC          11096666340
2551639164B588   TERRY        PARKER                   OK          90012853916
25516833172B42   RICKY        BIASAIDO                 CO          90010208331
2551712825B571   JONATHAN     ZAVALA                   NM          90014591282
2551753992B839   ADAM         BAIN                     ID          90012695399
2551779A293731   BOBBY JEAN   WIREMAN                  OH          90010417902
2551813795715B   MAYRA        DIAZ                     VA          90012041379
25518242A41229   DENISE       KENNEDY                  PA          51059652420
2551859835B161   MARCUS       WHITE                    AR          90014775983
25518613A9155B   MIGUEL       FLORES                   TX          90001826130
2551899664B261   OFELIA       CAMACHO                  NE          27061959966
2551918299189B   RAMON        ORTIZ                    OK          21067011829
255191A5931433   DELORES      SMITH                    MO          27564121059
2551931A79136B   LUIS         GODOY                    MO          90013953107
25519A58355957   GLORIA       PEREZ                    CA          90004260583
25519AA4993731   JASON        MCCLELLAND               OH          64510240049
2551B198872B32   CODY         WHITED                   CO          90014781988
2551B452A9794B   ADELINA      CARADANAS                TX          90000284520
2552115615B571   RANDELL      SIMS                     NM          90014591561
25521186476B71   IVAN         ESTRADA                  CA          90008591864
255211A4855935   JOSE         ARTEAGA                  CA          90011161048
2552135893B364   SURAFEL      MOHAMED                  CO          90011623589
25521583A55957   PATRICIA     GARCIA                   CA          90005345830
25522319272B42   JUAN         ROMERO                   CO          90011993192
2552235893B364   SURAFEL      MOHAMED                  CO          90011623589
25522377A71928   DAVID        SINCLAIR                 CO          32001383770
255227A3372B88   BRANDON      CHAVEZ                   CO          33034757033
2552339959794B   LAUNITA      LLANAS                   TX          90008733995
25523A6A147952   LUCY         VILLAVICENCIO            AR          24061630601
2552411A881633   CARRIE       CORNWELL                 MO          29030071108
25524126672B88   TIERRA       SPRINGER                 CO          90009101266
2552434699794B   ANTONIO      SALAZAR                  TX          90013933469
2552477623B356   QUIRING      BRIAN                    CO          33018087762
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2552535935B571   TIFFANY          TIFFANY              NM          90008393593
2552552945B271   JOHN             GRIDER               KY          68006785294
255256A1791227   GUSTAVO          PENA                 GA          90014096017
2552615925715B   SARDAR           ALI                  VA          81083721592
25526161A71928   SETH             SUTTON               CO          32038501610
2552639289794B   ERICK            MIRANDA              TX          90013933928
255266AA24B588   COURTNEY         BYRD                 OK          21556866002
2552677955B271   TERA             CHARLESTON           KY          68040297795
25527449A5B271   MIRES            HEGGIE               KY          90000194490
2552765727B477   MAURICE          YOUNG                NC          90011446572
2552785174B588   BIRON            DE LEON              OK          90013728517
25528144172B42   ROGER            TAGBO                CO          33083931441
2552826425B161   LOUIS            WILLAMS              AR          90013362642
2552876A44B588   ADRIAN           THOMAS               OK          90008377604
255289A6441245   AUGUSTUS         DAVIS                PA          90011829064
25528AA682B975   OFELIA           PACHECO              CA          90008730068
25529452A9794B   ADELINA          CARADANAS            TX          90000284520
25529AA1351328   CHRIS            GODLEY               OH          90012100013
2552B11327B471   HECTOR           REMIGIO              NC          90011181132
2552B22A493731   TOD              SAMS                 OH          90000412204
2552B24434B261   DAWN             KELLER               NE          90009852443
2552B24849794B   ALAN             DIMAS                TX          90013932484
2552B56912B27B   PAYGO            IVR ACTIVATION       DC          90013785691
2552B71A14B588   SABRINA          DUPREE               OK          21524667101
2552B886A72447   MICHAEL          BECKOWITZ            PA          90013478860
255319A7791828   LYNN             NEWMAN               OK          21074189077
255321A5A71943   NATHAN           REEDY                CO          90015341050
2553244A157157   EMIL             ALVAREZ              VA          90012674401
2553317A62B27B   EMANUEL          GROSS                DC          90010281706
2553332315B271   RON              SPADIE               KY          90013933231
2553368759794B   TOBIA            WASHINGTON           TX          90010396875
25534A83591522   REYMUNDO         BARRAZA              TX          90002370835
2553559754B261   AITI             GURUNG               NE          90008045975
2553583332B839   THOMAS           ORELLANA             ID          90013938333
25535A85A9136B   IVETTE           VIVEROS              KS          90008510850
25535AA195B161   DEJUAN           WRIGHT               AR          90013280019
2553623A24B588   BRETT            SCHAEFER             OK          90015302302
2553735619189B   PAMELA           KIESLICH             OK          21072663561
2553765214B281   LORI             RIEDERER             NE          27097436521
25538118A57157   SHAMS            SHAMSUDDIN           VA          90012231180
25538876872B42   MATTHEW          JORDAN               CO          90011518768
255388A469794B   ULISES           HERNANDEZ            TX          74063158046
255391A365B161   JIMMIE           BURGESS              AR          90013931036
2553962599155B   LILIANA          BERNAL               TX          90008946259
25539782172B42   ESTRELLA         VAZQUEZ              CO          90006957821
25539A51A57157   RHINA            BONILLA              VA          90001320510
2553B383951328   TARA             TELINDA              OH          90007323839
2553B3A925715B   MARGARITA        FRANCO               VA          81092383092
2553B767593731   MITCHELLE        DIXON                OH          90004307675
2553B928957157   EDMUND           COMBS                VA          90001809289
25541363A9136B   CARLOS           YUMAN                KS          90013953630
2554174A291528   CAMPOS           CARMEN               TX          75094677402
25541828472B88   ISAIAH           GARCIA               CO          90012858284
25542453A57157   MARY             KAMARA               VA          90013634530
2554255985B571   MARES            LYNN                 NM          90004375598
25543323A9136B   AIDA             HERNANDEZ            KS          90013953230
255434A359794B   MILTON           MALTEZ               TX          90015094035
25544112A55957   NICOLAS          PIMENTEL             CA          90006081120
25544566A9136B   KEVIN            ESTRADA              KS          90014395660
2554468759794B   TOBIA            WASHINGTON           TX          90010396875
2554477159184B   TARA             GRAY                 OK          90010557715
255451A2191522   AARON            HIGAREDA             TX          90000761021
255451A5138522   RAUL AND KARLA   GUARDADO             UT          90014071051
2554528A672B42   MELISSA          FOWLER               CO          90014842806
2554594215B375   SARAH            MORALES              OR          90012469421
255466A5457157   OSCAR            RIVERA               VA          90010896054
2554685224B588   RONALD           TODD                 OK          21556858522
2554686875B271   JOSH             EDWARDS              KY          90011468687
25547A24771928   ORLANDO          ROMERO               CO          90012400247
25547A67831453   L                WIMBLEY              MO          90010150678
25548698A93731   NICOLE           LAGUIRE              OH          64517006980
2554931415715B   WARD             THOMAS               VA          90013303141
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2554987839184B   MARGARITA     MALDONADO               OK          90014548783
2554B138131453   AMY           RENNER                  MO          90006191381
2554B323748B23   TINA          LINN                    AZ          90014313237
2554B62A55B323   DAVID         WEST                    OR          44573336205
25551164472B88   ELVIRA        ESPARZA                 CO          90012921644
25551443272B32   MARGARITA     TUTTLE                  CO          33086384432
2555168767B471   LAURA         JAMES                   NC          90012056876
25551A5365715B   JONAH         BRYANT                  VA          90010380536
255523A354B588   ANGELIA       HITSMAN                 OK          90010213035
2555242689136B   JAVIER        TRUJILLO                KS          90003154268
2555371372B839   DALLAS        JORDAN                  ID          90014527137
25553856272B88   ELIDA         AMAYA                   CO          90010358562
2555411119189B   LATISA        MASON                   OK          90005901111
255542A7881633   CHRISTOPHER   MORGAN                  MO          90014412078
2555446599136B   CORY          JEFFERSON               KS          90007014659
2555516315B571   RACHAL        MCHUGH                  NM          90010461631
25555271272B88   JONATHAN      MARTINEZ                CO          90013612712
2555539689184B   DEBRA         HATTAN                  OK          21032183968
2555547A17B477   ASHTON        JACKSON                 NC          11089534701
255559A9472B32   LEZLY         MELENDEZ                CO          90013019094
2555632929794B   LORENA        LOPEZ                   TX          90013953292
2555633825B161   KEVIN         LEVON                   AR          23064943382
2555646625B571   ANSELMO       CHAVEZ                  NM          90011634662
255568A964B588   OSCAR         TRAYLR                  OK          90008018096
2555715A95B161   KENNY         WOMACK                  AR          23009901509
25557682672B32   CECILIA       TRUJILLO                CO          90012826826
2555921A64B261   STACIA        JOHNSON                 NE          27060082106
2555947429794B   BILLIE FAYE   WORKMAN                 TX          90013954742
2555999885715B   EDEN          COLINDRES               VA          90009529988
2555B112655957   MARK          SERRANO                 CA          90007371126
2555B168441245   DARLENE       KUHN                    PA          51087461684
2555B367957157   HECTOR        VASQUEZ                 VA          90013383679
2555B552371928   MARIA         HICKS                   CO          90010335523
2555B73474795B   MONICA        VILLALOBOS              AR          25047827347
2556122984B261   JAKOB         DAVIS                   NE          27017832298
2556159A784364   MYRON         COOPER                  SC          90003305907
2556191845B161   MACK          CHUKES                  AR          23021289184
25562413A91241   MIRA          BOOKOUT                 GA          14512994130
25563255A71943   TINA          RUIZ                    CO          32078552550
255634A7672B42   MAVIS         LEVY                    CO          90012844076
2556363185715B   CRYSTAL       GABRIELLE               VA          90005346318
2556458555B571   JOHN          GUTIERREZ               NM          90014915855
255645A865B161   ANTHONY       STOKES                  AR          90015235086
2556482425B271   WILMA         PRIDDY                  KY          68073498242
255648A8272B88   JESUS         DOMINGUEZ               CO          90000778082
25564A24984364   DERRICK       RIVERS                  SC          90005880249
2556521A92B27B   QUENTIN       HARDY                   DC          90013902109
25565235172B32   KIMBERLY      MYERS                   CO          33059052351
2556582939189B   ROBERT        BUTLER                  OK          90014728293
255664A349189B   STEPHANIE     DOBBS                   OK          21002254034
25567173A72B32   FERNANDEZ     FREEMAN                 CO          33050261730
25567311A84364   ERICA         CHAVEZ                  SC          90007993110
2556776A65B571   EVANGELINE    BACA                    NM          90009807606
2556831879198B   LOUIS         ORJI                    NC          17065103187
25568A64871928   DANA          MARTINEZ                CO          90013470648
2556922835B571   LIZETH        CASTRO                  NM          90004242283
25569275A55957   MARTHA        ZAVALA                  CA          48026462750
2556932119189B   MICHAEL       LEWIS                   OK          21094883211
2556944949184B   ARONICA       PAYNE                   OK          90014704494
255694A1285831   ADRIAN        CRISAN                  CA          90010314012
2556B54A12B839   VINCENT       ANDREW                  ID          90012955401
2557148774B588   TYLER         MARCHESE                OK          90012574877
25572769A72447   NELSON        ARNOLD                  PA          90014647690
2557283189189B   HOWARD        SUMMERS                 OK          90014728318
25572AA4993731   JASON         MCCLELLAND              OH          64510240049
2557351A89136B   OSCAR         HURITA                  KS          90014065108
2557397359794B   JERIKHA       WIESE                   TX          90014999735
255739AA12B394   JULIA         RODRIGUEZ               CT          90014449001
25573A24251328   DEBRA         HOBSON SPICER           OH          90014170242
2557436272B839   JOSE          NUNEZ                   ID          42015563627
2557441A157157   JOSE          MORENO                  VA          81092674101
2557447985B571   BELVA         STAMPS                  NM          90007524798
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2557476824B588   VERONICA      RIOS                    OK          90012337682
2557544442B839   DANIEL        MINGA                   ID          42088874444
2557549A35715B   JORGE         GUZMAN GOMEZ            VA          90000734903
2557573685B161   JERRICA       MASON                   AR          90011017368
25575A3A99184B   TYLER         GATTIS                  OK          90013830309
255761A649136B   IVETH         ALVARADO                KS          90012081064
2557656789184B   SHELBY        KEITH                   OK          90015285678
25577274772B88   JESSICA       FLORES                  CO          90013612747
2557747715B571   KELLY         BADGLEY                 NM          90011634771
2557774449794B   CAMELO        HERNANDEZ               TX          90014047444
2557798479189B   PAUL          CORRAO                  OK          21076169847
25578295672B42   CHRISTOPHER   LUCERO                  CO          90012622956
25578482A5B571   JOELDA        OTERO                   NM          90009814820
25578831472B88   MARIO         AVALOS                  CO          33059438314
2557885A531433   AARON N       GIBSON                  MO          90010548505
2557927827B496   ANNESIA       BEHARRY                 NC          11086532782
2557953929794B   KIM           BUTLER                  TX          74069725392
2557B38275B161   LISA          BOWMAN                  AR          90011323827
2557B61439184B   KAMITA        SCRAPER                 OK          90002696143
2557B949991241   NATHANIEL     ROBERTS                 GA          90001519499
2557BA4849155B   JESSICA       CARLOS                  TX          75032220484
2557BA6A631631   PHILLIP       GREEN                   KS          90014160606
2558116392B839   JD            EMLER                   ID          42005211639
25581562176B62   OSCAR         ROSALES                 CA          90005885621
2558157567B471   ESTUARDO      SANTOS                  NC          90011265756
255817A5641245   SEAN          TURNER                  PA          51048007056
25581839A5715B   OSCAR         FLORES                  VA          90013618390
255822AAA9794B   LORENZO       CRUZ                    TX          74078232000
2558297212B839   JASON         MOORE                   ID          42092399721
25583132572B88   CRYSTAL       FIELD                   CO          33040271325
2558324A89184B   CHYANNA       PATTERSON               OK          90012142408
2558328A35B271   JESSICA       DAVIS                   KY          90013582803
2558329A955957   NATALIE       VESS                    CA          90013462909
2558496535B271   REYCHELLE     ADAMS                   KY          90014129653
25585166A2B27B   CHRISTINE     COLLINS                 DC          90010931660
2558522A39794B   OLIVIA        TORRES- FRAGA           TX          90014172203
2558579437B471   EDITH         MARTINEZ                NC          11059857943
2558655859189B   SARA          HUTCHISON               OK          90014305585
2558729474B261   BOBBI         SIMET                   IA          27005372947
25587912276B56   JULIA         OCHOA                   CA          90015199122
255883A2731631   EHRICH        COOPER                  KS          90010403027
25588A99872B32   DEBRA         JORGENSEN               CO          90010900998
2558B351972B42   MIGUEL        CHAVEZ                  CO          33065843519
2558B4A4841272   KENISHA       KIRBY                   PA          51017354048
2558B58A84B261   BRANDON       MERKELEY                NE          90002415808
2558B664381661   MARCIA        GERRING                 MO          90014186643
2558B966593731   STEVEN        BULLOCK                 OH          64574099665
2558BA4262B839   SHIRLEY       MESA                    ID          90015020426
2558BA6A572B88   KIMBERLY      BUCHER                  CO          33066790605
2559146A79136B   CAMILLE       DROMAN                  KS          90013954607
2559168A781661   PATRICK       GERRING                 MO          90014186807
2559194A591528   OLGA          REYES                   TX          75078809405
2559257A47B477   MOISES        PAZ                     NC          90012655704
2559289354B588   SHERRI        SMITH DAVIDSON          OK          90013728935
25593A52672B32   SAMEERAH      AZZAWI                  CO          33082700526
2559447144B261   BRIANA        PALMA                   NE          27034024714
2559528445715B   ELDA          CAZANGA                 VA          90013642844
2559542499794B   MARTHA        POMPEYO                 TX          90014174249
25595738672B32   EDGAR         ANGULO                  CO          90009137386
2559598149184B   KENNETH       JONES                   OK          90015149814
25596147A72B98   MARIA         BANUELOS                CO          33014601470
255962A2A81633   ANGELA        MACDONALD               MO          90010622020
25596A51272B88   AARON         GRAY                    CO          90012010512
25596A72891528   DAVID         PENA                    TX          75094710728
2559827929155B   CLAUDIA       GARCIA                  TX          90013682792
2559847449189B   JORDAN        MATHIS                  OK          90011574744
2559852897B471   RAMIRO        HERNANDEZ               NC          90006605289
255987A317B477   CHARLES       JAMESON                 NC          11076447031
2559964149794B   GERARDO       HERNANDEZ               TX          90014176414
2559B135A31631   ROBERT        JOHNSON                 KS          90011021350
2559B18472B27B   MOE           PARKER                  DC          90014581847
2559B193372B32   LEMMIO        TOWNSELL                CO          90013811933
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2559B224755957   JODYNE      TRIPLETTE                 CA          90008722247
2559B244972B88   MARCELA     SANCHEZ                   CO          90010602449
2559B49785B271   DAMIAN      RIVERA                    KY          90000194978
2559BA24751328   REBEKAH     KILBURN                   OH          66009040247
2559BA7324B588   REVIS       HALEY                     OK          90014830732
2559BA8685715B   ADRIENNE    JARMON                    VA          90007870868
255B146A15B161   JOSHUA      RHODES                    AR          90012884601
255B153A457157   WILMER      ORTEZ                     VA          90009005304
255B176719136B   TABATHA     FOSSETT                   KS          29034897671
255B21A615715B   KATHLEEN    COX                       VA          90010471061
255B2332272B32   KARI        PENNINGTON                CO          33089843322
255B2467171928   JUANA       LANZAS                    CO          90012994671
255B2616771928   ALLEN       MATOXEN                   CO          90013016167
255B2669A7B471   THEODORE    KENNEDY                   NC          90013226690
255B26A6A72447   THOMAS      WOLOSYN                   PA          51098406060
255B2747A31453   LISA        JIMENZE                   MO          27561637470
255B2832157157   JENNIFER    HERCULES                  VA          81004718321
255B313A65B571   STEVEN      GLENN                     NM          90004241306
255B3629881661   FREDDIE     MITCHELL                  MO          90009976298
255B377845B271   JAMES       NORRIS                    KY          90013597784
255B382244B588   CHRIS       BRANSCUM                  OK          90003148224
255B4158172B32   JACLYN      TRIZIO                    CO          33044891581
255B416624B281   JONATHAN    COTE                      NE          90015321662
255B483959155B   MOE         BROWN                     TX          90014578395
255B48A1391522   ELIZABETH   LAZO                      TX          75025148013
255B5429261958   LINDA       WHITE                     CA          90012614292
255B591699189B   CRYSTAL     HOLMAN                    OK          90007289169
255B6222177541   JESUS       MORA CARRILLO             NV          90002612221
255B6593571943   ED          WILLARD                   CO          90010255935
255B659729794B   ALBERTO     MENJIVAR                  TX          90015215972
255B6816257157   DAYNA       GILLIS                    VA          81061988162
255B683A481637   SAUNDRA     HUNTER                    MO          90010618304
255B6988A9794B   MODESTO     RODRIGUEZ                 TX          90011929880
255B728A672B42   MELISSA     FOWLER                    CO          90014842806
255B737A59189B   GERARDO     HERRERA                   OK          90011633705
255B767A19155B   ROGELIO     DONACIO                   TX          75048496701
255B7841472B32   DANIEL      BOYO                      CO          33086998414
255B8214A71928   OSCAR       HERNANDEZ                 CO          90013732140
255B858794B281   WILLIAM     HAYNES                    NE          90013695879
255B8972457157   ELIZABETH   CARLUS                    VA          90015339724
255B8A67681661   JAMES       ROARK                     MO          29022210676
255B8A93131453   CHELENA     PYE                       MO          27520680931
255B9266593731   JESSICA     MARRIOTT                  OH          90013752665
255B972579136B   DAN         PETERSON                  KS          90011167257
255B988949136B   LUCIO       POSADAS                   KS          29055158894
255BB25339155B   KARMEN      RODRIGUEZ                 TX          75085562533
255BB3A9891528   EDGAR       PEREZ                     TX          90006003098
255BB834791893   ALMA        AGUERO                    OK          90011598347
2561145725B571   MARTY       SANCHEZ                   NM          90011044572
25611A83691828   FELIPE      VAZQUEZ                   OK          90008510836
25612351A9136B   MILAGROS    GUZMAN                    KS          90007543510
256128A6A91522   DIANA       LOPEZ-BARRAGAN            TX          90006358060
25612A48772B42   MIGUEL      GREEN                     CO          33047740487
25612A55381633   MONICA      LANE                      MO          90005330553
25612AA724B588   JESSY       BROWN                     OK          90011960072
2561383A171928   ALBERT      ATKINS                    CO          90007738301
2561396A59155B   TRAVIS      BRITTAIN                  TX          90011139605
2561439475B571   SILVIA      GONZALES                  NM          90005773947
25614894872B32   CIJI        RAMIREZ                   CO          90013258948
25614A8224B588   CHRISTIAN   RHODES                    OK          90014810822
2561576759136B   JOSE        ALBERTO                   KS          90015207675
25615826672B32   JORGE       NAVARRO                   CO          90013608266
25615A4159794B   PAYGO       IVR ACTIVATION            TX          90015250415
256163A1A9794B   YAJAHIRA    GOMEZ                     TX          90007793010
2561646A15B571   ROSE        SNOW                      NM          90013154601
2561751524B588   PEARL       PATTERSON                 OK          90013645152
2561757292B839   JOSE        MALDEONADO                ID          42039495729
2561778275B161   ROGER       WEBB                      AR          90013777827
25618635476B53   ADOLFO      CRUZ                      CA          90001306354
256189A8772B88   BONNIE      HARRISON-HALL             CO          33016389087
25619526572B32   ANTONIO     ALVARENGA                 CO          33064695265
2561974695B161   EBONY       GETER                     AR          23060497469
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2561B11462B839   GIL             SOTO                  ID          42050871146
2561B572793731   SHARIA          BAILEY                OH          90013355727
2561B88299189B   ARNOLD          FUEL JR               OK          21040378829
2561BA86A7B477   LANYIA          MCCOLLOUGH            NC          90011190860
2562143A35B571   BLANCA          VALLES                NM          90014604303
25621983A9184B   FELIX           SANCHEZ               OK          90002569830
25622141A71928   RICK            BAKER                 CO          32086681410
2562317925B271   CHRISTINA       LAWRENCE              KY          90013211792
25623259A5B161   DAVID           DE LA CRUZ            AR          90014382590
2562353164B588   LATISHA         JAMES                 OK          90011355316
2562365417B471   ELBA PATRICIA   SANCHEZ FLORES        NC          90014546541
2562375355715B   AMILCAR         SANCHEZ               VA          90006247535
256237A4872B88   MARIA           HERNANDEZ             CO          90012837048
25623A5A355957   MARIA           BARRAGAN              CA          90015520503
25624567A9136B   JESUS           RODRIGUEZ             MO          90013955670
2562457819184B   APRIL           WILLIS                OK          90013925781
2562475274B261   LASHEY          LAWVER                NE          27014587527
2562486822B839   SAMANTHA        JOESPH                ID          90013638682
2562498352B27B   DON             JACKSON               DC          90014909835
2562543895B571   SARAH           GUTIERREZ             NM          90014604389
256254A362B839   DAVID           WAGEMAN               ID          42075824036
256254A839155B   MARIA           MENESES               NM          75096704083
2562631A891522   MIRNA           SOTO                  TX          75088583108
2562695124B588   BRANDON         SMITH                 OK          90014569512
25626A38572B32   CESAR           MORALES               CO          90012640385
2562792A193731   KALESHA         BAILEY                OH          64589709201
25627934554B63   DAVID           DENNIS                VA          90015399345
2562843127B471   LEANDRIA        BERRY                 NC          90013374312
25629274972B32   LAWRENCE        CARRASCO              CO          33039202749
2562943715715B   KENNY           ANDRADE               VA          90011654371
2562964A391522   RAMONA          VASQUEZ               TX          75001186403
2562B266A81633   ANTHONY         MACK                  MO          90003692660
2562B283572B42   DARREN          BORUCKI               CO          90012142835
2562B335372B88   LATASHA         MACK                  CO          90005273353
2562B495A81661   MISHEL          RODAS                 KS          90009204950
2562B68265B571   ANGELIQUE       PENA                  NM          90005056826
2562B742631466   LISA            OWENS                 MO          90013437426
256318A4A81633   KNEIKA          ROBBINS               KS          29043588040
25632499672B88   JOSE            GONZALEZ              CO          90013874996
2563317465715B   RIGOBERTO       ALVAREZ               VA          81035641746
2563395A854121   BEATRIZ         PEREZ CONTRERAS       OR          90012439508
2563441145B571   LETICIA         MADRID                NM          35000094114
25634A89731631   DAVID           FLEMING               KS          90009660897
2563515AA57157   IBETH           URREA                 VA          90014481500
2563558255715B   ALEJANDRO       NGEL                  VA          90013165825
256361A5A57157   ALANA           PROCTOR               VA          90015291050
25636273A5B271   LEONDE          ROBINSON              KY          68007532730
2563629994B588   PAULINE         ANDERSON              OK          90014282999
2563632184B261   NAKIA           SHARPE                NE          90001693218
25636484A7B362   NARGIS          DANISHMANDI           VA          81017654840
2563716662B27B   AMBER           BORROGHS              DC          90014971666
2563757764B261   PARKER          BROWN                 NE          90013885776
2563758315B271   ANDREW          HYLE                  KY          68042595831
25637585172B42   EUGENIO         TORRES                CO          90014485851
25637643A61999   KARLA           AGUILLA               CA          46089516430
2563764A771928   RONALD          KRUSE                 CO          90000656407
25637A29A72B32   CLAUDIA         LOZA                  CO          33084940290
25638179A5B271   CASSANDRA       WETHERBY              KY          90010281790
25638597A71928   DESIREE         GARDNER               CO          90012985970
2563927324B281   MICHELLE        SHAKESPEARE           NE          90013712732
25639295A91522   BLANCA          VALDIVIEZO            TX          75086832950
2563966174B261   AMOU            FARIAL                NE          90010936617
2563B18894B261   RUSSELL         SPAWN                 NE          27003701889
2563B194342562   LESLEY          SALUSKIN              WA          90015361943
2563B267591522   ERNESTO         SIMENTAL              TX          90009702675
2563B27522B27B   ANIBAR          MARTINEZ              DC          90012882752
2563B298693731   DENISE          GREGORY               OH          90014702986
2563B782381637   RONELL          VINCELL               KS          90010607823
2563B7A767B471   RAYMOND         BENNETT               NC          90008927076
2563B885A72B32   DESEAN          MBROWN                CO          90013008850
2563BA8574B281   TIANA           CROWDER               NE          90013540857
25641225A2B27B   TYREEK          LAMBRIGHT             DC          90013922250
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256415AA891528   JORGE            MUNOZ                NM          75094725008
2564181A99155B   RENE ALEJANDRO   VALDEZ               TX          90012808109
2564198712B839   JOSE RENE        RAYON                ID          90003579871
25641AA6991828   MARISOL          RAMIREZ              OK          90012430069
2564225987B477   MICHAEL          TURNER               NC          90013052598
2564279A871928   ANDRE            DYER                 CO          90013167908
2564284139136B   RAYMOND          GOSLING              KS          90013968413
256429AA45B271   TONI             MITCHELL             KY          68055189004
25643973A57157   LATRICE          JONES                VA          90014509730
2564523A79189B   DEREK            HARBIN               OK          90011642307
25645785472B88   MARIBEL          PRADO                CO          90015127854
25645A8447B477   LINDA            GWING                NC          90008110844
2564644537B471   ARACELI          GARCIA LOPEZ         NC          11067564453
2564655535B571   CHRISTOPHE       DEMPSEY              NM          35019985553
25646A45281633   ANNA             RODIGUEZ             MO          29036320452
2564715492B839   EDUARDO          DUENAS               ID          42042081549
2564746694B588   TOMMY            WOODS                OK          90010564669
2564796A59155B   TRAVIS           BRITTAIN             TX          90011139605
2564914A941245   LEBRUN           ANTHONY              PA          51006571409
256493A119184B   SCOTT            LESTARGE             OK          21094303011
2564981469155B   ANGELICA         MARTINEZ             TX          90012668146
256499A1751328   ANTHONY          BEHERY               OH          90010369017
2564B399672B88   MARIA            YESENIA              CO          90013953996
2564B92725B571   DWAN             CHAVEZ               NM          90006459272
2564B991141245   STEVE            ROUGH                PA          51060309911
2565122579189B   KAREN            MATHEWS              OK          90003702257
2565125667B477   AMY              TURNER               NC          90013052566
256525A399184B   LUISA            SUAREZ               OK          90009575039
256528A515B271   ANTHONY          JOHNSON              KY          90010138051
25652A83581637   TERRENCE         SMTIH                MO          29088740835
2565381A12B839   BRIAN            STAGGS               ID          90009158101
2565429495715B   MELODY           COLLINS              VA          81093592949
2565484139136B   RAYMOND          GOSLING              KS          90013968413
2565511A591528   IVANNA           TORESS               TX          75094731105
2565529454795B   MARIA            PATINO               AR          90002422945
2565548A672B32   JOSE             ROSALES              CO          90007214806
2565551939155B   TORRES           KATHY                TX          90009825193
2565562A193731   ELISA            WELBAUM              OH          64515236201
25656243572B88   PATRICIA         CANNON               CO          90001952435
2565637339155B   MARIO            PENA                 TX          90014203733
2565684139136B   RAYMOND          GOSLING              KS          90013968413
2565726999184B   KRISTY           WHITELEY             OK          21065962699
25657466572B21   EUNICE           WALKER               CO          33014274665
2565759A991828   ANA              TREJO                OK          90008515909
2565769A62B839   JUANITA          ARGUELLO             ID          90011316906
256585AA39794B   DEE              ROBERTS              TX          74007945003
256588A149136B   RONY             CASTILLO             KS          90000148014
2565932789136B   ANDREW           BOYKIN               MO          29077323278
2565947244B588   MICHAEL          LYON                 OK          90010564724
2565974182B839   DAWN             BEVAN                ID          90008367418
2565B19794B541   KARL             KALKBRENNER          OK          21567841979
2565B566655931   VICKY            BECERRA              CA          90009385666
2565B821755957   ONELIA           FERNANDEZ            CA          90012678217
2565BA3345715B   DAVID            FIGUEIREDO           VA          90001630334
25661A2964B281   KYLE T           LOWERY               NE          90011180296
2566273A15B571   AMBER            SPIERS               NM          90002037301
2566349779794B   JOSE             SILLNAS              TX          74001704977
256634A1151328   ANDREA           RITCHIE              OH          90013124011
256636A2672B42   JASON            FIMPLE               CO          90009726026
2566372819184B   STEVEN           YARNELL              OK          90010717281
25663A9A32B27B   LAJOYE           LOFLAND              DC          81047680903
2566436899136B   CARISSA          DIAZ                 KS          90008743689
2566471A14B588   DONNA            LAIR                 OK          90013767101
2566479317B399   KASHIF           KHALIL               VA          90005297931
25664A47881633   DWAIEN           ROBINSON             MO          90013990478
25664A52693731   JONI             MOORE                OH          90008830526
256653A155B271   CLIFFTON         HARDIN               KY          68008263015
256653A7581661   JOSE             NAZARIO              MO          90015163075
25665536A81637   ANN              BOSS                 MO          90012135360
2566654812B839   CRISTINA         AGUAYO               ID          90008955481
2566692347B471   TADRYN           MAIPI                NC          90014599234
25667121272B32   MARIO            ORONA                CO          90013221212
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2566764575715B   DM           MENDOZA                  VA          90012656457
2566837A772B42   DAVID        CARROLL                  CO          33097433707
2566964A49136B   ESTRELLA     GONZALEZ                 KS          90014876404
2566B47A781633   JEANNIE      HUGHES                   KS          90015094707
2567111634B553   JENNIFER     MIX                      OK          90011331163
25671458A9189B   MISTY        HASKETT                  OK          90013934580
2567156584B281   NATHAN       GUNTER                   NE          27055085658
2567172647B471   BRAULIO      ALBAREZ                  NC          11077687264
2567176955B571   DEISY        MARTINEZ                 NM          90013067695
25672121272B32   MARIO        ORONA                    CO          90013221212
2567241312B839   RAFAEL       MAGANA-LUA               ID          90011844131
2567263647B471   JOSE         ROMERO                   NC          90011266364
25672674772B88   GLORIA       HERNANDEZ                CO          90008826747
256727A874B588   CHAD         ALBEE                    OK          90001917087
25672A96A9794B   LESLIE       CHAVEZ                   TX          90014610960
2567319139184B   AMANDA       EDWARDS                  OK          21094191913
2567328839794B   MARY         ARELLANO                 TX          90001692883
2567357665B271   JAMES        NELSON                   KY          90014045766
25673685A57157   TIMOTHY      WALTON                   VA          90013226850
2567382934B261   JUAN         GARCIA                   NE          90008158293
2567387464B588   STEVEN       HAYS                     OK          90014038746
25673A4579155B   OLIVAREZ     MARIA ANA                TX          75031130457
256741A4A9794B   JORGE        GOMEZ                    TX          90014611040
2567448597B471   PARIS        MCLEAN                   NC          11058464859
2567481A172447   LAUREN       RACIOPPO                 PA          51014548101
2567515557B471   STEVEN       CHISHOLM                 NC          11003001555
25675198572B88   ASHLEE       GARCIA-PEREZ             CO          33067191985
2567534A772B42   LILIANA      ALDRETE                  CO          90011253407
256754A322B839   TROY         STEPHENS                 ID          42058184032
2567566462B27B   OIHKLHL      FGJHFKUYK                DC          90009986646
256756A4A4795B   JAMMIE       FISHER                   AR          90012586040
2567594174B261   ESVEIDY      MALDONADO                NE          27074839417
25675A62691828   ROBERT       CRUCE                    OK          90014390626
2567616552B839   FELICIA      COHEN                    ID          90011471655
256772A429155B   VONDERRICK   HARTELY                  TX          90015282042
25677323997B41   SHAWN        BERGERON                 CO          39044823239
2567795977B471   AMIKAR       ESCALANTE                NC          90012989597
25677A8A22B27B   CORNELIA     BECK                     DC          90007780802
2567816774B588   ADRIANA      HERNANDEZ                OK          90015001677
25678672A71928   ROBERTA      BAILOR                   CO          90014486720
2567888575B328   DEWITT       RHODES                   OR          44553998857
25678A86251328   JAMES        FINLEY                   OH          90000320862
2567939279794B   CYNTHIA      SANCHEZ                  TX          90014643927
256795A279189B   CHANDRA      HARRISON                 OK          90014705027
256796A1672B32   EROKA        THURMAN                  CO          90003096016
2567974429155B   ELENA        TOVAR                    TX          75069837442
25679A6715B161   ATHENA       MAHANEY                  AR          90013540671
2567B24245B271   KEITH        JACKSON                  KY          90006722424
2567B44A32B839   JOEL         VELEZ                    ID          42065064403
2567B465471928   TARYN        CARTER                   CO          90013374654
2567B487471943   DANIEL       CARTAJENA                CO          90011054874
2567B514691828   DAVID        SMITH                    OK          90003655146
2567B542455957   DIANNE       ESCALERA                 CA          90000115424
2567B67369794B   ANA          TZUNUN                   TX          74018056736
2567B96582B27B   SARA         GONZALEZ                 VA          90011519658
2568129874B281   GILBERTO     OSCOBAR                  NE          90014822987
25681683A5B33B   KENNETH      LIEBL                    OR          90011626830
25682255972B32   VICTORIA     CABALLERO                CO          90012952559
25682477A72447   KEITH        WHITNER                  PA          90010324770
25683223A81661   MOISES       FRAIRE                   MO          90014162230
2568332569136B   ABRAHAM      RODRIGEZ                 KS          29085633256
25684141A71928   RICK         BAKER                    CO          32086681410
256845A669794B   PAUL         PRADO                    TX          90014615066
2568466145B271   ARLETTIA     ADKINS                   KY          90002986614
2568486419155B   JESUS        PALACIOS                 TX          90014578641
2568494239189B   TERRY        MARTIN                   OK          90012519423
25684998A9136B   JEFFREY      CARLSON                  KS          90013969980
25685A43A72447   KIMBERLY     ZAMENICK                 PA          51019440430
25686298A2B27B   ASLEY        SPENCER                  DC          90012122980
25686A66172B32   TERRY        CRUICKSHANK              CO          33089150661
2568874A34795B   ROBERTO      GONZALEZ                 AR          90004627403
2568887259136B   MELISSA      JONES                    KS          90015088725
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25689858A71943   JOSHUA       GADWAY                   CO          90012578580
25689AA552B839   CORY         WEEKS                    ID          90009760055
2568B585655957   BRENDA       GUZMAN                   CA          90013635856
2568B58859136B   DANIEL       RIVERA                   KS          90006325885
2568B85A52B27B   TALISHA      JUDD                     DC          90009738505
2568BA11A5715B   GENESIS      CASTILLO                 VA          90013760110
2568BA9642B839   TAUD         WIGHT                    ID          90009660964
2569158415B161   SHAWNDA      WASHINGTON               AR          23061585841
2569186419155B   JESUS        PALACIOS                 TX          90014578641
25691896672B88   ELIAS        JAQUEZ                   CO          33000958966
25693912472B42   DANIELLE     MONTOYA                  CO          33072879124
2569448837B471   CESAR        ZALAZAR                  NC          90011854883
2569467854B261   JULIO        ROSAS                    NE          90013556785
2569471819184B   EDSON        OCAMPO                   OK          90011487181
2569485A491522   VICTORIA     SAENZ                    TX          90013198504
2569519784B261   DIANA        KELLER                   NE          27086091978
25695727272B32   DAMARA       HERNANDEZ                CO          90013307272
25695814A9189B   VERONICA     AGUIRRE                  OK          21068838140
2569621784B588   SIMONE       HIPP                     OK          90013872178
256963A2972447   MICHAEL      BARNES                   PA          51037423029
2569686232B27B   LONEICE      BUNDY                    DC          90005548623
25697216A61982   JOANA        MONTANE                  CA          90011542160
2569765674B588   ANDREA       MCCULLAR                 OK          90010566567
256976A8893731   HANNAH       WILCHER                  OH          90013356088
2569781927B393   ROBERTY      CLAROS                   VA          81040868192
25697A44731631   JESENIA      SOSA                     KS          22060710447
2569816A685938   VIRGIL       PEMBEK                   KY          90005691606
256982A239794B   DENISE       MARTINEZ                 TX          90014632023
25699194A81633   DEONNA       CRENSHAW                 MO          29002331940
256992A959794B   KATHY        MCCOY                    TX          90014632095
2569931A651328   JOSE         JARAMILLO                OH          90008553106
256993A625133B   MELISSA      PUTTEET                  OH          90011653062
256999A469184B   ROBERT       BENNETT                  OK          90015189046
2569B26347B471   ROMELIO      CANO                     NC          90008252634
2569B47375B571   NAOMI        BETANCOURT               NM          90011564737
2569B4A479794B   TERESA       SANTISO                  TX          90006864047
2569B587A57157   MARK         POIRIER                  VA          90012065870
2569B723581637   GAIL         CUBIE                    MO          90013127235
2569B952172B42   DANA         RAY                      CO          33031059521
256B113697B477   RAMIRO       MARTINEZ                 NC          90010001369
256B1145281661   ROSA         SOTO                     MO          90005191452
256B1335357157   TAMMY        EVANS                    VA          81014303353
256B144755B571   ARMENDARIZ   THOMAS                   NM          90008184475
256B1569393731   JESSE        SCHROTE                  OH          90013355693
256B157844B588   CHRISTINA    MCKINNEY                 OK          21560445784
256B1591831453   DONMINCK     LEWIS                    MO          90014235918
256B1723291522   ALFREDO      HIDALGO                  TX          90011027232
256B2481136121   SERGIO       CHRISTPHER               TX          90008394811
256B266299794B   SALVADOR     CORREA                   TX          90014176629
256B2729791893   JULIANA      JENKINS                  OK          90010507297
256B327342B927   PATRICIA     SHAW                     CA          90015012734
256B332619136B   TERESA       RAMOS                    KS          29040333261
256B349219189B   ALEJANDRA    MATIAS                   OK          21085854921
256B354675715B   JOSE         RAMIREZ TRUJILLO         VA          90013095467
256B366585B936   DAVID        GESELLCHEN               ID          90013866658
256B3A94341245   CHRISTINA    MCNEESE                  PA          51013570943
256B4272691241   CURTIS       SINGLETON                GA          14515612726
256B429442B232   DEVIN        STOKES                   DC          90005352944
256B439279794B   CYNTHIA      SANCHEZ                  TX          90014643927
256B4542651328   DANA         TAULBEE                  OH          90011145426
256B493355715B   LORENA       CAMARILLO                VA          90015149335
256B4A9399189B   SCHYLER      HART                     OK          90015310939
256B5348797132   KENDALL      BANKS                    OR          90007733487
256B5526891221   TAMESHIA     BRINSON                  GA          90003285268
256B558819155B   CECILIA      COMPOS                   TX          75089255881
256B56A524B281   DAVID        DURHAM                   NE          90005436052
256B5925951328   DEANNA       BROWN                    OH          66034849259
256B627612B27B   CHARISHIA    LANGLEY-PETERS           DC          81075352761
256B6377A57157   DOMINGO      RIVAS                    VA          81023893770
256B6783A71928   SARAH        CASDEN                   CO          90011307830
256B689354B588   SHERRI       SMITH DAVIDSON           OK          90013728935
256B692332B839   MELISSA      JOHNSTON                 ID          42083619233
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256B724215B161   RODERICK     SMITH                    AR          23044432421
256B7521772447   DIANA        BLUMERAITIS              PA          51044255217
256B755319136B   TOMAS        ROJAS                    KS          90013955531
256B756674B261   DELIA        HERNANDEZ                NE          90008795667
256B762269184B   JAVIER       TORRES                   OK          90013806226
256B863944B281   RENAE        KECK                     NE          90010156394
256B8812757157   MARIO        GITON                    VA          90013418127
256B9254257157   ORALIA       ROMERO                   VA          81052202542
256B9275793731   DAMON        LANE                     OH          64526502757
256B9525291828   NANCY        ANGEL                    OK          90013265252
256B9715481633   JAYME        SMITH                    MO          90004707154
256B9833831453   SHANNON      HAYES                    MO          90012718338
256BB12A59184B   DONTE        CHAFFIN                  OK          90014451205
256BB191593731   BRANDON      REED                     OH          90012091915
256BB438191828   TYLER        ARCHER                   OK          90011884381
2571121587B471   LEYBIN       ROMERO                   NC          90014752158
2571128199155B   ESMERALDA    LOPEZ-SANCHES            TX          90011992819
25711375372B88   ILYTHIA      REED                     CO          90008073753
2571137965715B   ANA          MENDOZA                  VA          90011383796
25711A8719184B   CHRISTINA    RICHMOND                 OK          21079630871
2571322695B271   TANCE        MILLER                   KY          90008412269
25713A4859136B   TOMAS        FIGUEROA                 MO          90005170485
2571418494B281   DAWN         SMITH                    IA          90000271849
257141A2971928   ROBERT       WILLMORE                 CO          32039301029
2571456A331631   OSWVALDO     VALVERDE                 KS          90014165603
25714744872B32   JAKE         MARQUEZ                  CO          90013497448
257154AA433B96   STEVEN       CLARK                    OH          90013984004
25715A2644B281   JEREMY       MADSEN                   IA          90015310264
2571673A131433   PABLO        NAVA                     MO          27506607301
25716816A72447   CARL         PRAGER                   PA          90005378160
2571699865B344   HOSVIT       ESCOBAR                  OR          44563189986
25716A1817B471   ALTAGRACIA   TEJEDA                   NC          90014830181
2571765299184B   CHRISTI      SMITH                    OK          90009796529
257177A637B471   JOEL         PINEDA                   NC          90009097063
257177A8671928   PAUL         ANDERSON                 CO          90013767086
2571799519155B   DANIEL       RODRIGUEZ                TX          90011139951
25718141A5B271   ASHLEY       SANDERS                  KY          90013541410
2571865A857157   LISA         GEKALLA                  VA          90011216508
2571868487B449   CHRISTA      ASHFORD                  NC          90002666848
257187A8255957   CLAUDIA      FREDRICK                 CA          90012907082
257192A7872B32   CALVIN       BONNELL                  CO          90013042078
2571B37435B571   JESSE        MARTINEZ                 NM          35040123743
2572128534B588   BRANDON      FARRIES                  OK          90014552853
2572247A191828   JUAN         HERNANDEZ                OK          21096184701
2572254334B588   DIANA        TELLO                    OK          90013925433
2572264324795B   JACOB        SKELTON                  AR          90012086432
25722A1245B571   JESSICA      CORONADO                 NM          90012240124
2572322869184B   EDUARDO      SALGERO                  OK          21077842286
2572349AA4B588   CARLOS       O ROURKE                 OK          90012444900
2572386199155B   PATRICIA     GARCIA-SANCHEZ           TX          90015298619
2572482814B281   JODI         TONKINSON                IA          27025668281
25724994372B41   NERI         KIM                      CO          90010849943
257253A224B588   RUBEN        BERMUDEZ                 OK          90013753022
2572541259794B   LAVETTE      ARNOLD                   TX          90014644125
257254A217B477   BONNIE       WHITLEY                  NC          90011214021
2572556884B281   GREG         DARLING                  NE          27090695688
257264A217B477   BONNIE       WHITLEY                  NC          90011214021
25726A8199136B   ALBERTO      VASQUEZ                  MO          90015180819
2572719954B261   ANGELA       WILLIAMS                 NE          90013901995
2572726759155B   YVETTE       CARRASCO                 TX          75079012675
2572766719184B   JOSE         ARGOMANIZ                OK          21075526671
257276A499189B   MONICA       ORTIZ                    OK          90013096049
2572773A15B571   AMBER        SPIERS                   NM          90002037301
2572835117B449   TEHERRAH     DAUGHTRY                 NC          90005203511
25728368872B88   MELODY       AGUIRRE                  CO          90011493688
2572845A372B42   LASHAY       ADAMS                    CO          90011304503
2572845A671943   FRANCES      INGRAM                   CO          90013164506
2572849812B839   TIMOTHY      PURYEAR                  ID          42029454981
257284A369189B   ASHLEY       GRESHAM                  OK          90005664036
2572854484B261   EVA          JUDITH                   NE          90013385448
2572877952B232   TAKIA        LAWSON                   DC          90005707795
2572957549155B   MARIA        CHAVEZ                   TX          90011545754
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2572999A47B449   SAMUEL          SPEARS                NC          11089369904
25729A96A9136B   T               CLARE                 KS          29045730960
2572B11157B477   CHRISTINA       JOHNSON               NC          11004071115
2572B16A14B588   STEVEN          RICHEY                OK          90015011601
2572B552141245   TAMMY           HOPKINS               PA          51011555521
2572B95872B86B   ASHLEY          LAPPIN                ID          90013409587
2572B971455957   JONATHAN        COSIL                 CA          90013039714
2572B983731433   SYLVESTER       HUFFMAN               MO          27557619837
2573185629155B   MOISES          LANDEROS              TX          90011328562
25731A14572B88   DAVE            LEHMAN                CO          33085280145
2573262749155B   RENE            ALFARO                TX          90008696274
2573264947B471   CASEY           WAGNER                NC          90011266494
25732A48931453   SHAQITA         WILLIAMS              MO          90004910489
25732AA9531433   AMOS            JACKSON               MO          90006740095
257332A1457176   AMILCAR         ALVARADO              VA          90009492014
257333A684B281   CHAYA           GEORGE                NE          90009493068
2573385A581637   TIMOTHY         LEACH                 MO          90012408505
25734441572B53   MICHELLE        NOLL                  CO          90001564415
2573458795B161   NATE            BURROUGHS             AR          90015565879
25734667A93752   CANDACE         BEVAN                 OH          90001716670
257347AA391241   AFRICA          PAYNE                 GA          90006117003
2573483459155B   EVELIN VARGAS   GAEZ                  TX          90004618345
25734A37951328   DAVID           MASSEY                OH          66096070379
2573528374B588   BRITTANY        WILLIAMS              OK          90006682837
25735AA5272B88   JUSTIN          VASHSAW               CO          90013860052
2573612455B271   CRYSTAL         YATES                 KY          90013611245
2573658565B571   STAPHANIE       VILLEGAS              NM          90009165856
25736941172B42   BALLAR          CHRISTOPHER           CO          33075369411
2573695135B161   TYWON           ROUSE                 AR          90007429513
2573724552B27B   KIMBERLY        HERNANDEZ             DC          90003372455
2573789142B839   NURA            LA DUKA               ID          90014328914
2573889512B839   KEVIN           MCCLOUD               ID          90011208951
25738A5295B161   MICHELLE        BARNETTE              AR          90011050529
2573921949136B   JOSE            PALAFOX               KS          90009912194
2573932685715B   MOHAMUD         ALI                   VA          81027633268
2573935555B271   KIM             MOORE                 KY          68011563555
257393A529184B   IRAIS           MARTINEZ              OK          90013563052
2573967414B261   SUK             RAI                   NE          90014046741
2573B1A8172B42   MARLON          MONZON                CO          33031541081
2573B47827B477   KIMBERLY        WATKINS               NC          90011214782
2573B497257157   WILLIAM         WOOLFREY              VA          81046464972
2573B587681661   MICKEL          SCOTT                 MO          90009345876
2573B93718B172   TYSON           BLANCO                UT          31077779371
257413AA29189B   ASHLEY          CHERYL                OK          90009303002
2574143AA9184B   ARCELIA         GARCIA                OK          90010564300
2574155265B161   KALA            HARRIS                AR          90010965526
257417A589155B   LIZBETH         RODRIGUEZ             TX          90013397058
25741A5275B259   JASON           MURI                  KY          90015160527
2574324175715B   CATHERINE       JONES                 VA          90013882417
2574339799136B   MIRIAM          AGUILAR               KS          90014023979
2574349742B839   THERESA         HIGLEY                ID          90010994974
2574359294B588   JESSIKA         IVY                   OK          90011425929
25743795272B88   AMY             HOWARD                CO          90008437952
2574397555B271   MARVIN          SAMUELS               KY          90014989755
257441A379189B   JILLIAN         DUVAL                 OK          21038621037
2574487629155B   CINDY           CASTANEDA             TX          90014578762
25744AA399155B   DEBRA           LOPEZ                 TX          90010710039
2574515377B471   MELISSA         SOLORZANO             NC          90015101537
2574628219155B   ADRIAN          RIVAS                 TX          90011992821
257463AAA71928   LEANN           DERK                  CO          90006813000
25746436A2B27B   BOLANLE         OLUFISOYE             DC          90014284360
25746554A5B571   REBECCA         CHAVEZ                NM          90014605540
257466A944795B   SAUNDRA         TAYLOR                AR          25035816094
2574693447B471   GINNY           SAEFONG               NC          90014369344
25746A74172B32   MAGDALENA       LARA                  CO          33088430741
25746A78151328   KYLE            BISHOP                OH          90012850781
25746A95181633   CRISTINA        VALADEZ               MO          90014690951
2574723A89794B   JOSE            OLALDE                TX          90015182308
2574793339189B   JENNIFER        MANGUM                OK          21038379333
25748292A71943   GATOR           BODYNE                CO          90015152920
257484A8472447   BRENDA          VARELA-SANTIESTEBAN   PA          90012824084
25748615A4B261   JERMEY          THOMAS                IA          90014956150
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2574864459136B   CRISTIAN    DIAZ                      KS          90014046445
25748866372B32   DOMINICK    GALLEGOS                  CO          90014698663
25748A3695B571   WAYNE       CHAVEZ                    NM          35093950369
257494A5271928   MELISSA     ABBPTT                    CO          90012904052
25749795A9189B   LAREAMER    LOFTIN                    OK          90012187950
2574B293772B42   GUADALUPE   MUNOZ                     CO          33002322937
2574B66649794B   MICHEAL     HOWELL                    TX          90004766664
2574B796A91553   CECILIA     CASTILLO                  TX          90000667960
2574B923191522   NAYELI      ARGUELLO                  TX          75025039231
257512A7A5B271   ASHLEE      CORNELL                   KY          90013032070
257513A124B549   JHOBANY     CRUZ                      OK          90010013012
25751A42231631   CHRIS       HYMER                     KS          90007880422
2575296575B161   FLORENCE    GILLIAM                   AR          90013919657
2575297665B57B   CARMEN      DURAN                     NM          90004689766
25752A6514B281   ANTHONY     MATLEY                    NE          27038630651
25753A68872447   BLAIR       JONES                     PA          90003820688
2575576689794B   SHANE       BUSSART                   TX          90014667668
2575596439136B   ROSALBA     MENDOZA                   KS          90013819643
257567A9781637   JAMEAL      SCARVERS                  KS          90014107097
2575782986194B   JUAN        YESCAS                    CA          90013888298
25757984772B32   RYAN        WRIGHT                    CO          90010089847
25757A8767B477   JAMES       BROWN                     NC          11093210876
257582A9971943   STEPHANIE   GONZALES                  CO          90012912099
2575837554B281   TALAT       SHABBIR                   NE          90009633755
257588A4791828   JIMMY       HAMMONS                   OK          21097068047
25758A95255957   ROBERTO     CISNEROS-GARCIA           CA          48097970952
25759172872B32   NANCY       GALVEZ                    CO          90004211728
25759252972B88   BRITTNI     HAMM                      CO          33005612529
2575935375B271   TIARA       DAVIS                     KY          90013933537
2575942449189B   PATRICIA    WHITE                     OK          21009184244
2575988289184B   MISSY       JONES                     OK          90004268828
2575B84829184B   GREYVIS     AGUILAR                   OK          90014848482
2575BA95172B42   TEAGUE      HARRISON                  CO          90013080951
2576187A171928   JOSEPH      MILLER                    CO          32027388701
2576198269794B   JASMINE     BEST                      TX          90014669826
257619A342B839   SHI         KADERLY                   ID          90013209034
2576252745715B   SANTOS      ERAZO                     VA          81034275274
2576326A355957   MARIBEL     ALCANTAR                  CA          90000702603
2576336989155B   CARLTON     BOYD                      TX          75079013698
2576361414B261   OLUYINKA    JAKEREDOLU                NE          90004926141
2576367384B588   JACOB       HARRELL                   OK          90014876738
2576377929136B   MICHELLE    RHODES                    KS          90008747792
2576398269794B   JASMINE     BEST                      TX          90014669826
25763A1A72B839   MELLISA     COSTILLA                  ID          90003330107
2576556525B161   WILLE       SWINTON                   AR          23081515652
25765A5732B27B   QUANITA     SINGLETARY                DC          90010250573
2576656385715B   JUAN        LEMUS                     VA          81043455638
2576656817B477   SUSAN       SIMPSON                   NC          90011225681
2576677525715B   MICHAEL     ADAMS                     VA          90012697752
25766888172B88   ANGELA      MURILLO                   CO          33039838881
25766A57151328   JOHN        FAULKNER                  OH          90002660571
25767197A7B471   MI          RAHLAN                    NC          90013921970
2576774419189B   ALECIA      MCCOY                     OK          90014277441
257677A4431631   DARIN       DUNCAN                    KS          22057697044
25767A1294B281   KIMBERLY    FREEMAN                   NE          27013340129
2576856169136B   JANNETH     ASTORGA                   KS          90012665616
2576878452B839   MICHELLE    MITCHELL                  ID          90013167845
2576934789155B   CHARLY      CHARLY                    TX          90009263478
2576959845B161   TRACY       HEARD                     AR          90014915984
25769642372B42   TONYA       RENEE                     CO          90002866423
2576973587B471   JATANGELA   MASON                     NC          90007747358
2576993A172447   RAYMOND     CLEMONS JR                PA          90013319301
2576B3A4472447   TAMMY       GOODWIN                   PA          51085153044
2576B46459155B   SALVADOR    MARTINEZ                  NM          75057444645
2576B471451561   DOMINIQUE   BLACKSTOCK                IA          90015344714
2576B491881661   NATHAN      DONNELSON                 MO          90010284918
2576B627781633   CHRIS       MENTZER                   MO          90013936277
2576B656672B88   LAURA       FOX                       CO          33079186566
2576B753251328   JEREMY      DAYTON                    OH          90011147532
2577134515B172   KOREY       PORTEE                    AR          90015403451
257715A2533677   CARLTON     GRAVES                    NC          12094475025
2577185A491522   VICTORIA    SAENZ                     TX          90013198504
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25772123A9189B   AARON        BRYANT                   OK          90014091230
25772153872B32   ZENA         BARRERA                  CO          90013621538
2577259735B571   JACQUELINE   MARCOTT                  NM          90014605973
2577274A581633   MELANIE      CARTER                   MO          90014837405
25772A4485715B   LAKNDAR      GABBABI                  VA          90011240448
2577333A971928   ROBERT       SCOT                     CO          90012673309
2577565939794B   RAVEN        LAWRENCE                 TX          90014676593
2577577827B471   ROBERT       DEPUTY                   NC          11005287782
25775AA5581661   FERNANDO     AGAMA                    MO          90001060055
2577619637B471   NAKEVIA      HARVELL                  NC          90014841963
25776262A57157   JACQUELINE   ROXANA SORTO RIVERA      VA          90006692620
25776619972B88   ALMA         GUTIERREZ                CO          33062636199
2577688485B271   ELISHEBA     SARVER                   KY          68008228848
2577696622B839   TROY         BUTTS                    ID          42087309662
257769A1185946   ASHLEY       WEISBRODT                KY          90013459011
2577728624B261   LQUAITA      RUSSELL                  NE          90011092862
2577796884B281   KATHLEEN     GOULD                    NE          27076989688
25777A4435B271   DANA         NORBURY                  KY          68098790443
2577823364B281   ADAM         GALLAGHER                IA          90010562336
2577836864B261   JESSICA      HANSON                   NE          27082943686
2577922845B571   JEREMY       CARRILLO                 NM          35051442284
25779372572B32   LORETTA      BENAVIDEZ                CO          90013193725
257793A919155B   JASMON       WILHITE                  TX          90010313091
2577957769136B   MARIBEL      HERNANDEZ                KS          90014025776
25779A1659189B   SPARKLE      HOLLOWAY                 OK          21011590165
2577B276881633   CHRISTOPHE   HOLTZCLAW                MO          29094622768
2577B27A276B62   MATTHEW      DEAN                     CA          90008432702
2577BA6677B477   KESHIN       DAWKINS                  NC          90006700667
2578124294B588   DENNIS       ROBINSON                 OK          90014662429
2578128632B27B   SHIFFEN      BROWN                    DC          90006162863
257813AAA91522   JUAN         SILVA                    TX          90015033000
2578168497B471   ALI          A ALNAHASH               NC          90012636849
25781974572B32   PACZOSA      MELISSA                  CO          33024929745
25782391A71943   BEATRICE     NUNEZ                    CO          90001943910
2578257769136B   MARIBEL      HERNANDEZ                KS          90014025776
2578264252B839   JASON        SMITH                    ID          90013016425
257833A2172B32   DEBRA        COHEN                    CO          90014803021
2578459827B435   JOLETTA      ROBINSON                 NC          90011865982
25784882A31631   BRIAN        COLLINS                  KS          90009418820
2578495374B297   ELVIN        HOLLOWAY                 NE          90004099537
2578561235B571   RUBEN        BACA                     NM          90014606123
2578596AA55957   JUANITA      VALADEZ                  CA          90009409600
25785A26772B32   VALENTINE    JOSEPH VIGIL             CO          90009070267
257862A7372B32   JOSHUA       MCCULLEY                 CO          90013122073
2578642359155B   LUIS         VILLA                    TX          90013934235
2578717882B27B   LAWRENCE     WOOD                     DC          90008861788
2578844929794B   RONY         ESTEBAN                  TX          90014684492
257884A8693731   MARIA        BOLANOS                  OH          64570744086
2578859727B449   RODRIGO      MORAN                    NC          11043785972
2578896289155B   ADAN         MONTANEZ                 TX          90014409628
25789A56431453   JEANETTE     EDWARDS                  MO          90013910564
2578B12995715B   ARELI        HERNANDEZ                VA          81041641299
2578B449872B32   JOSHUA       SEARS                    CO          90014464498
2578B46512B839   TYLER        QUINN                    ID          42089014651
2579168535B571   OMAR         TALAMANTES               NM          90008556853
25791768672B42   SAM          LOVATO                   CO          33041127686
2579178A171943   LYNNEL       DEMONTINEY               CO          90014397801
25791854472B32   JOSHUA       MARTINEZ                 CO          90012858544
257923A4991522   KRISTOPHER   GERMANY                  TX          90010293049
2579293982B27B   CESAR        ARIAS                    DC          90010469398
25792A6A74B281   MICHAEL      NAGEL                    NE          90005880607
2579321772B28B   JENNIFER     LOUIS                    DC          90014152177
2579359179189B   MICKEY       FRENCH                   OK          90014465917
25793A3965B271   ANATASHA     LANE                     KY          90013240396
25794149A2B839   BEN          GLASGOW                  ID          90015151490
2579421772B28B   JENNIFER     LOUIS                    DC          90014152177
2579445685715B   ASHLEY       BRANCH                   VA          90002654568
25794574A72B88   JEROLD       LALO-HERNANDEZ           CO          90007215740
257957A279155B   KARINA       MACIAS                   TX          90010347027
2579586592B839   TRACY        EGAN                     ID          42049298659
2579666975B571   HARRY D      SMITH                    NM          90004756697
2579762419136B   MARLON       JONES                    KS          90008526241
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2579799159794B   ELIJAH      NELSON                    TX          90010439915
25797A3592B839   MICHAEL     CHRISTENSEN               ID          90013940359
2579828292B839   LAWRI       JACKSON                   ID          42037912829
2579912392B232   JAMES       NICKENS                   DC          90009141239
2579998532B839   DANA        SPRATT                    ID          90009359853
2579B146931453   SHERRI      RANDALL                   MO          27567711469
2579B19814B588   TAYONTE     BAGEY                     OK          90005481981
2579B1A1181637   IVERY       MOORE                     MO          90013561011
2579B479581633   LANA        TAYLOR                    MO          90009954795
2579BA8574B261   HTUN        WIN MAUNG                 NE          90015160857
257B1151593731   LATAYA      BENNET                    OH          90014941515
257B1321171943   BRANDY      LINO                      CO          90013883211
257B1364191522   MARISELA    HERNANDEZ                 TX          90008053641
257B16A1651328   SAMUEL      LAY                       OH          90003046016
257B1A2539136B   JOSE        VEGA                      KS          90006280253
257B21A994B588   MYQUAWN     MITCHELL                  OK          90011621099
257B2526161959   HAROLD      NICELER                   CA          90004615261
257B2529831433   JANE        DELLING                   MO          27536395298
257B257114B281   BETTY       GRIFFIN                   IA          90013765711
257B262819152B   DAVID       GUZMAN                    TX          90002406281
257B341844B281   RICHELLE    FOSTER                    NE          27045464184
257B3578372B32   MARIA       VERA-MEDINA               CO          33029215783
257B3778736121   JOHNNY      MARTINEZ                  TX          90002177787
257B4196991828   SCOTTI      QUIROZ                    OK          90008511969
257B461454795B   LAZARO      LOPEZ                     AR          25014456145
257B465595B271   JAMES       SANDERS                   KY          90003356559
257B5289A55957   CAMILE      CHASE                     CA          90013252890
257B544344B261   VERONICA    STUART                    NE          27050784434
257B631914B281   DANETTE     FARMER                    IA          27016133191
257B6531471943   BRANDI      RUHE                      CO          32045595314
257B6977161935   MARTHA      AVILA                     CA          90012449771
257B7173771928   KIM         WICHERT                   CO          90012681737
257B736317B471   LISENBY     RANDALL                   NC          90013983631
257B771298B15B   FRANKLIN    RUIZ                      UT          90005407129
257B7A14771928   JEFF        MUNOZ                     CO          90013740147
257B8554781633   PATSY       CHOWNING                  MO          90001845547
257B8954731453   HANNAH      RUBIN                     MO          90013959547
257B8A67A72B42   TRACY       ZILLION                   CO          33034410670
257B959799155B   ANDRE       WASHINGTON                TX          75056985979
257B9A15A91885   JOSEPH      RAMSEY                    OK          90009090150
257BB19229794B   JENNIFER    CRUZ                      TX          90014631922
257BB233793731   MAURA       NIXON                     OH          64540652337
257BB4A9481661   APRIL       HEWITT                    MO          90014244094
257BB557271928   MONICA      RASCON                    CO          90014225572
257BB99AA9155B   JAIME       HOLGUIN                   TX          90011139900
257BBA9132B839   KATIE       WRIGHT                    ID          90006200913
2581122955B235   TISA        CUNNINGHAM                KY          90002902295
2581143A371943   ANDREA      CORTEZ                    CO          32000654303
2581146A37B399   WILMER      MEJIA                     VA          90003614603
25811483A4795B   MARTIN      KEITH                     AR          25045074830
2581167779136B   CAMERON     CRISP                     KS          90014746777
25811A9A581637   CHRIS       NARAMORE                  MO          90013490905
2581252132B981   MIGUEL      CIBRIAN                   CA          90012615213
25812793972B88   MICHAEL     DORVAL                    CO          90011577939
25812853A5B571   DEEANNA     CHAVEZ                    NM          35061638530
258128A542B27B   ANDREW      SEEGERS                   DC          90013448054
2581295999189B   REBECC      EIDSON                    OK          90009859599
25812A11771943   OSCAR       RODRIGUEZ                 CO          90001140117
25812AA9971943   DIANA       ROMERO                    CO          32020730099
2581333234B588   NICOLE      CONALLY                   OK          90003653323
2581366954B588   MICHAEL     WELCH                     OK          90013046695
25813818A2B839   JOANN       HAGADORN                  ID          42078478180
25814115572B32   DE JESUS    IGNACIO                   CO          90012791155
258144A6A93731   NOEL        CORTES                    OH          90012264060
2581474445715B   CARLOS      TORRES                    VA          90001877444
25814A7515B571   LANAY       GALLEGOS                  NM          35047620751
25815425A5715B   BYRON       VELIZ                     VA          81076384250
25815483A4795B   MARTIN      KEITH                     AR          25045074830
258154A229184B   ELIZABETH   MERCADO                   OK          90005144022
2581566883B384   ISABEL      CHACON                    CO          90008076688
2581641987B471   VIRIDIANA   SALDANA                   NC          90013544198
2581782464B261   HEATHER     BUDKA                     IA          27050298246
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2581792725B571   DWAN        CHAVEZ                    NM          90006459272
2581858452B27B   CATALINO    ASCENSIO                  DC          90009835845
2581871855B271   DAWN        DUVALL                    KY          68046187185
25818756A4B588   ADRIAN      GONZALEZ                  OK          21509497560
25818887A85951   JEFF        ALSIP                     KY          66042228870
25818898A4B281   NICHOLAS    EPP                       NE          27039358980
2581917472B839   ABLE        GARZA                     ID          90010131747
2581954152B839   KIRSTINA    TAYLOR                    ID          90008765415
2581983634B588   SHARON      DAVIS                     OK          90008018363
2581991A651328   ONISSA      MCCARLEY                  OH          90013079106
25819A4152B27B   SHADAWN     WATTS                     DC          90014160415
25819A56A72B88   ARTHUR      HENDERSON                 CO          90005440560
2581B21A772447   KYLIE       MOUCHERON                 PA          90011012107
2581B631755957   SOPHIE      GOMEZ                     CA          90003766317
2581B83737B449   NEVILLE     TAYLOR                    NC          90003028373
2581B92A585999   KRISTINA    REINERT                   KY          90014799205
2581B94589184B   TEQUILA     FRANKLIN                  OK          90014759458
2582151895715B   CESAR       MONTANO                   VA          81020295189
2582165685B342   JOHN        MATTI                     OR          90009366568
25821954A9184B   PERLA       ROJO                      OK          90010569540
2582232474B588   MANUELITO   VALLEY                    OK          90010573247
25822A26161935   EFFRAIN     BENAVIDEZ                 CA          90009040261
2582317332B27B   MARK        WHITE                     DC          90010341733
25823327372B32   NANCY       FOUST                     CO          90006513273
25823A2465B571   HELENA      BACA                      NM          35052960246
2582411365B571   VANESSA     MONTOYA                   NM          90007251136
2582411825B271   EDWARD      SAND                      KY          90012211182
2582468113362B   JAMES       HOLMES                    NC          90010666811
258247A489184B   SUSIE       AL-TALL                   OK          90011457048
2582489142B27B   TINA        JOHNSON                   DC          90005698914
2582558144B588   KARA        SCHOECH                   OK          90013065814
2582619439184B   MARIAH      PHILLIPS                  OK          90015061943
258261A3A93731   LATASHA     KNIGHT                    OH          90004241030
25827216A7B471   JESUS       RUIZ                      NC          90014752160
2582738169794B   JAIME       MOSLEY                    TX          90014743816
258275A7671943   JOSHUA      CANTRELL                  CO          90013335076
25828A5A12B839   MARIA       GONZALES                  ID          90013940501
2582973235B571   ARIANNA     GOULD                     NM          90003467323
25829832672B32   MICHELLE    COLLEEN                   CO          90012648326
25829A8847B471   WILFRED     CLEMENTE                  NC          90011770884
25829AA379155B   ALFREDO     SOTELO                    TX          90011140037
2582B16264B261   JOSE        RAMOS                     NE          27015941626
2582B197171935   ROBERT      SANFORD                   CO          32092091971
2582B847955957   REBECCA     HAMILTON                  CA          48049798479
2582B855A9155B   DANIEL      ALCALA                    TX          90013298550
2582B8A5A91828   TARA        MCDONALD                  OK          21040588050
25831377672B42   FRANCISCA   MONTANEZ                  CO          33021603776
2583141479184B   LEE         SCOTT                     OK          21027884147
25831A5A791828   BEVERLY     BREWER                    OK          90013700507
2583214634B261   REBECA      BECERRIL-MARTINEZ         NE          90013521463
25832226172B88   JESUS       CHAVEZ                    CO          33044932261
25832351472B32   ANTHONY     OBERT                     CO          90011373514
2583241357B858   BRAIN       DAVIS                      IL         20551814135
25833739A5B271   VERNON      ARMSTRONG                 KY          90014817390
2583416889189B   JAMES       MILLER                    OK          90011651688
25834276A81633   ERNESTO     VALAZQUEZ                 MO          90012722760
2583455A69189B   KAYSHA      BYRLEY                    OK          90014705506
2583456599794B   HELEN       DAVISS                    TX          90014745659
2583491119184B   NIKKI       WOOTEN                    OK          21064829111
25834961772B88   LONNY       MONTOYA                   CO          90014399617
258352A3481633   RHONDA      VANN                      MO          90008912034
2583548179794B   ERIC        GARCIA                    TX          90007364817
2583549764B281   KANTRELL    HARRIGTON                 NE          90013774976
258355A164B588   LEVI        PORTEN                    OK          90012445016
25835A1979184B   JEFFER      CUTIC                     OK          90010570197
25836577A4B281   RALPH P     AVOLIO                    NE          27071025770
25836664472B88   AMY         MARCOTTE                  CO          90014686644
2583668159794B   MARLINE     RODRIGUEZ                 TX          90014096815
2583733275715B   BLANCA      VILLANUEVA                VA          90002323327
25837A1A472B32   NORMA       DELINT                    CO          90007960104
2583849129794B   ALICIA      MARTINEZ                  TX          90007344912
25838531772B32   ALICIA      LONGSINE                  CO          90007895317
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258385A2857157   ROBERT          ROTCHFORD             VA          90010845028
25838A77472447   CHARLES         MASON                 PA          51046610774
2583936114B588   AMBER           HARKNESS              OK          90002433611
258395A1661985   JERMIAH         VINCENT               CA          90002555016
2583972915715B   ROCIO           LORES                 VA          90002077291
2583976399184B   JACQUELINE      PRINCE                OK          90012867639
2583B27687B471   KAROL           RIVERA                NC          90012752768
2583B422681637   HYUN SOOK       KIM                   MO          90013384226
2583BAA439155B   RENE            PALMA                 TX          90011140043
2584125A22B27B   GERALD          SIMPSON               DC          90014102502
258415A2857157   ROBERT          ROTCHFORD             VA          90010845028
258418A4A57157   SHARNITA        JUGGINS               VA          90008118040
25841A45171928   REGINA          RING                  CO          90012850451
2584241179189B   KAREEM          BROWN                 OK          90011924117
2584245895B571   KENNETH         MESSLER               NM          90014594589
25842631A91889   LISA            COLEMAN               OK          90004226310
2584276AA51328   KAITLYN         CLASS                 OH          90008487600
258432A9772447   VINETTA         SEIGAL                PA          90014042097
258432AA972B32   ALDO            BONILLA               CO          90013232009
2584344A772B42   PATRICK         BYRNE                 CO          90010124407
2584367485B571   TOMEY           ANAYA                 NM          90014606748
2584444464B281   RANDY           ORDUNA                NE          27013644446
2584521679794B   JULIA           MENDEZ                TX          90001042167
2584544199155B   MARIA           CARDENAS              TX          90012604419
25845462A71943   YOLANDA         TOMAS                 CO          90012344620
2584578852B839   STEPHEN         KING                  ID          90011637885
258461A332B27B   CYNTHIA         MCLEAN                DC          90015201033
258462A588B15B   YARET           AVALOS                UT          31088612058
2584633414B281   JOSE            CAMOPOS               NE          27052023341
2584671A49155B   MICHELLE        RODRIGUEZ             TX          90013057104
258469A465B271   TIERRA M        FOSTER                KY          90008829046
2584742454B588   BRANDON         TIPTON                OK          90010574245
2584759512B27B   JOSE            FLORES                VA          81044035951
25847943A91522   GRACE           MARTINEZ              TX          75025469430
2584839279794B   CYNTHIA         SANCHEZ               TX          90014643927
2584844814B281   ANNA            SIEGEL                IA          27052764481
2584874A85B271   ORQUIDEA        DIAZ-RODRIGUEZ        KY          90009307408
2584881267B422   ALFONSO         NARANJO GARCIA        NC          90012928126
2584896577B471   BRIONNA         RODDEY                NC          90013799657
2584967692B839   ANTHONY         OHARE                 ID          90010226769
25849A8955B161   BRITTNEY        ISBY                  AR          90005150895
2584B3A412B27B   NICOLE          SHELTON               DC          81014263041
2584B44784B588   AARON           SMITH                 OK          90005054478
2584B48957B457   RA QUIALL       LAND                  NC          90010804895
2584B529761934   LISA            THOMPSON              CA          46005195297
2584B88597B477   ASHLEY          STROTHER              NC          11001218859
2585156874B281   JAMES           LAWSON                NE          90010605687
258521A8885951   JOSH            BOWMAN                KY          66017501088
2585341A681633   SUSAN           SADDLER               MO          90013554106
25853711372B88   BRIAN           SHAW                  CO          33064337113
2585396545B271   ANGEL           CLAY                  KY          68040439654
258539A7831453   MARVIN          TERRALL               MO          27515389078
2585448954B261   SHAUNESSY       HENDERSON             NE          90008174895
2585488385B271   VICTORIA        TAYLOR                KY          90006088838
2585536A39794B   JOSE            VARGAS                TX          90014763603
25855627272B42   MARIE           VELASQUEZ             CO          90011546272
25855A33191522   CRYSTAL         CARRILLO              TX          90002690331
25856667A97121   ESTELLA         HERNANDEZ             OR          90014386670
25857412772B42   MEREDITH        ROZDILSKY             CO          33041134127
2585743249794B   KALIE           KRUSE                 TX          90014764324
2585749634795B   BRANDY          FERNANDEZ             AR          90006694963
2585777A35715B   MARIA           HERNANDEZ             VA          90007397703
2585852474B588   REGINNE         MITCHELL              OK          21509125247
2585864A92B839   OLIVIA          VAZQUEZ               ID          90002326409
25858692A91828   ANDRES AUDIEL   ROCHA-CORTINAS        OK          90014846920
2585886119794B   FELIPE          HERNANDEZ             TX          74059758611
25858A4474B281   JOSE            MORALES               NE          27028870447
2585936A491828   MIRIAM          DUARTE                OK          90008513604
258593A1931453   LEONIA          COATS                 MO          90006153019
2585962659794B   SHAAKIR         CRENSHAW              TX          90014766265
2585977A351328   STEFAN          TALLEY                OH          90010407703
2585B146491528   JANETH          CHAVIRA               TX          90006751464
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2585B17164B588   JOSEPH       SPARKS                   OK          90014841716
2585B23A941245   ANTONNE      TURNER                   PA          51066452309
2585B42955B172   KHADIJAH     AQUIL                    AR          23037014295
2586128A84B281   ANNETTE      CARROLL                  NE          90010942808
258624A695B271   HEATHER      WILCOX                   KY          90005234069
25862985972B32   REGINA       ARCHIBEQUE               CO          90013159859
2586318A255957   MARICELA     HERNANDEZ                CA          48024131802
25863515572B42   THAIS        MICHAEL                  CO          90010375155
258635A3A81661   DELORES      ROLLINS                  MO          29051515030
2586437484B933   CORY         SHAW                     TX          90001053748
2586439939136B   TINA         HUBBARD                  KS          29085933993
25864A6A64B588   ISABEL       PERALES                  OK          90014830606
258652A139794B   ALMA         VENEGAS                  TX          74072942013
2586594359189B   JOHN         NENGSSOUA                OK          90006029435
258662A139794B   ALMA         VENEGAS                  TX          74072942013
25867786A72B32   KIMBERLY     TOVAR                    CO          90011037860
25867A43A5715B   RAFAEL       TENAS                    VA          90010280430
2586829839794B   KEN          STONE                    TX          90014772983
25868313772B35   AMANDA       MENDEZ                   CO          90014563137
258683A9851369   ASHLEY       PENNINGTON               OH          66019543098
25868A3962B27B   PAMELA       PHILLIPS                 DC          90008050396
25868A3A15B161   BRITNEY      CAMPBELL                 AR          90013860301
25868A45171928   REGINA       RING                     CO          90012850451
2586923724B281   DANIELLE     VAUGHN                   IA          90006242372
2586957645B571   GINA         CHACON                   NM          90010675764
2586964215B161   GAYLON       ANDERSON                 AR          23006966421
2586B22A781661   TAMEKA       HANKS                    MO          90011402207
2586B42A255957   SARAH        RORIGUEZ                 CA          90007134202
2586B74289189B   CHELSEA      BICKFORD                 OK          90014557428
2587115937B471   CLAUDIA      MARTINEZ                 SC          90012801593
25871413A9794B   JAZALCIA     HAWKINS                  TX          90014774130
2587149393B127   MICHAEL      WHEELER                  DC          90011084939
2587158A791522   VERONICA     SALAS                    NM          75044935807
2587167769136B   BRANDI       AMPARANO                 KS          90014046776
2587193729189B   JOEL         GRIMES                   OK          90000929372
25871A81881633   BRIAN        HOUSE                    MO          90012020818
258721A228B184   LORRAINE     ANDERSON                 UT          90007871022
25872273172B42   CINDY        ORTIZ                    CO          33014392731
2587242825715B   RUBELIO      NAJARRO LOPEZ            VA          90009824282
2587251A761921   ADEEB        JABO                     CA          90008355107
25872A9292B839   BRIAN        SIMMONS                  ID          42062920929
2587318214B261   FRANK        DEAN                     NE          27096711821
258743A547B471   HASAN        BORE                     NC          90012713054
25874A58341245   JAMIE LYNN   MANDARINO                PA          90000870583
25874A7519155B   KATHLEEN     LOPEZ                    TX          75087160751
2587532879794B   IESHA        HARRIS                   TX          74016003287
2587582314B553   SARAH        WEST                     OK          90012988231
258762A359136B   JESUS        FIGUEROA                 KS          90009182035
2587632595715B   ABRAHAN      ESTRADA                  VA          90001513259
2587737435715B   REINERIA     CASTRO LOPEZ             VA          81030373743
2587756A39189B   TIFFINY      BYRD                     OK          90013285603
2587775249184B   LISA         CANALIER                 OK          90012487524
25877886A71928   JOHNNY REY   TRAVES                   CO          90009208860
25878359872B32   MARK         LANDIN                   CO          90011373598
2587897764B281   SHELIDRA     DEAN                     NE          27098909776
2587957386B862   NIKKI        MILLER                   WI          90015395738
25879A4729794B   JUAN         LOPEZ                    TX          74042650472
2587B26A59189B   ERICA        LAPHAM                   OK          90011652605
2587B58454B261   CECILIA      ORTEGA-HERNANDEZ         NE          90014045845
2587B5A1872447   SUMMER       SAGER                    PA          90010265018
25881539A5B271   HEATHER      BLAKE                    KY          90014495390
258819A394B261   CHRISSTINA   JONES                    NE          27007459039
25882197172B32   JENNIFER     CUNNIGHAM                CO          33089011971
2588244119184B   FRED         PHILLIPS                 OK          90015004411
25882A7914795B   YANIRA       LISETH                   AR          90006480791
25884955472B32   DEON         RUYBAL                   CO          33036169554
2588532595715B   ABRAHAN      ESTRADA                  VA          90001513259
25885A21331433   CHERYL       DEFRANCE                 MO          90011190213
2588631479189B   NORMAN       JACKSON                  OK          90011653147
2588676379136B   AMY          TELLO                    KS          90014917637
258867A545B271   LORI         CROSIER                  KY          90003187054
258872A6691522   TANA         SANTIVANEZ               TX          75050472066
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25887322172B32   ESTELA       HERNANDEZ                CO          33049123221
25888147772B42   LIZETH       ARMENDARIZ               CO          90009621477
2588814912B27B   TAVON        BROWN                    DC          90014581491
2588832657B471   TISHAWNA     BAXTER                   NC          11015463265
2588915A481637   LATEEA       WILLIAMS                 MO          29046571504
25889A8845B161   BRITTANY     KELLEY                   AR          90013650884
2588B312755957   RYAN         WASHINGTON               CA          90002533127
2588B868681633   ROBIN        PETREE                   MO          29011708686
2588B96347B471   CINDY        BUTTER                   NC          11036409634
2588BAA6172B42   JESSICA      GARCIA                   CO          33052970061
2589142779155B   ARTURO       FERNANDEZ                TX          90009264277
25892211A31631   JOSE         BECERRA                  KS          90014182110
2589238A772447   MINDY        PRAYER                   PA          90011183807
25892545A4795B   ADAM         GABBARD                  AR          25058355450
25892723A93731   ASHLEY       JOHNSON                  OH          90014447230
258931A9691528   FERNADO      FLORES                   TX          75045281096
2589321399136B   ASHLEY       HUMERICKHOUSE            KS          90012002139
2589328767B471   VERONICA     DE LA PAZ                NC          11050192876
2589384972B27B   LEYON        ARNOLD                   DC          90009098497
25894855572B32   JODIE        CALHOUN                  CO          90012858555
258949A729189B   GARY         BRUMLEY                  OK          21088589072
2589532699155B   JUAN         MARQUEZ                  TX          90003583269
25895468672B42   VINCENT      VIGIL                    CO          90011304686
2589571894B281   BRANDY       HOLMES                   NE          90004037189
2589617419794B   JACQUELINE   COREAS                   TX          90010631741
258961AA75B571   ALINA        CARDOZA                  NM          90014571007
25896845398B42   TYWON        CHAPMAN                  NC          90012528453
2589733212B27B   MACHELL      KORNEBAY                 DC          90011563321
2589734A82B898   JOSE         RODRIGUEZ                ID          90013753408
2589735A39189B   ALVIN        LINCOLN                  OK          90013073503
25897831A4B281   PATRICK      FRANCAVILLA              NE          90001588310
2589813977B471   FELICIANO    LUNA                     NC          90013851397
25898347A9137B   AMBER        COOPER                   KS          90015123470
2589867787B477   SHANNON      WILSON                   NC          90012446778
2589895945B342   JOSEPH       RANKINS                  OR          90015139594
2589897484B261   PARKER       CHENEY                   NE          90007229748
2589918885B271   SHERRY       LINDSEY                  KY          90013671888
2589992365715B   ARECELY      CABRERA                  VA          90014179236
25899A73A4B582   MAURICIO     MALDONADO                OK          21588080730
25899A88381661   NINA         CARROLL                  MO          90003670883
2589B362A4B553   CHRIS        WELCH                    OK          90010873620
2589B66562B839   DAVID        ZEDWICK                  ID          90009196656
2589B97A79794B   LYNDEE       HARRISON                 TX          90014799707
2589BA83131453   ASHLEY       RIVERS                   MO          90010220831
258B111754B261   KARMINA      ORTIZ                    NE          90010961175
258B12A7272B32   PERICKS      ATAMBLUE                 CO          90013932072
258B14AA651328   ERIN         ROOK                     OH          66022504006
258B1572371943   MICHAEL      ADER                     CO          32007275723
258B1591A9794B   ROBERT       TREVINO                  TX          90011545910
258B169939794B   JOSE LUIS    TIRADO                   TX          90014686993
258B181145B571   D            REED                     NM          35094658114
258B185229189B   LARHONDA     BROWN                    OK          90014728522
258B2492572B88   DAVID        FEARHEILEY               CO          33020994925
258B24A275B571   LUIS         VALENZUELA               NM          90004244027
258B2A26571943   JOSHUA       HUTSHINGS                CO          90003730265
258B3443471928   DUSTEN       KENNEDY                  CO          90009374434
258B344715B271   MELISSA      DAVIS                    KY          68045854471
258B3467A81661   MARRESHA     WHITLEY                  MO          90014214670
258B363475B571   GEORGINA     MARTINEZ                 NM          35008466347
258B3732272447   JESSICA      WELLS                    PA          51016217322
258B456584B281   NATHAN       GUNTER                   NE          27055085658
258B5646957157   JAHIR        CAMPA                    VA          90005086469
258B5A3939189B   GAIL         FRANK                    OK          90011650393
258B5A69757157   CANDICE      BIBBS                    VA          90010970697
258B6117771928   LORA         WILLIAMS                 CO          90014461177
258B6133181637   KEVIN        TOTTEN                   MO          29091941331
258B651185B571   BIANCA       RUIZ                     NM          90008535118
258B656169136B   JANNETH      ASTORGA                  KS          90012665616
258B684919155B   CARMEN       CASTRO                   TX          75072148491
258B6A8757B471   PEDRO        BENITEZ PERES            NC          90011770875
258B6AA3657157   YENI         GARCIA                   VA          90007790036
258B711342B27B   KEVIN        BROWN                    DC          81005381134
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258B7543371943   JANET        BUSTILLOS                CO          32020355433
258B7785272B42   JEFFERY      COLOMBO                  CO          90007247852
258B8536731432   REANE        SMITH                    MO          90010805367
258B8864172B32   JAIR         NUBE                     CO          90012898641
258B8A34A72B88   MITCHELL     MUMMA                    CO          90013020340
258B9119471928   PETERSEN     DAVIS                    CO          32012121194
258B9367572B32   CARMEN       TREVISO                  CO          90013583675
258B97A264B261   CARLOS       SALAZAR AGUILAR          NE          90011557026
258B985359794B   MATTHEW      DESKIN                   TX          90014698535
258B99AA25B571   JOSEPH       PADILLA                  NM          35012469002
2591175389184B   TANYA        WOOLLARD                 OK          21092557538
2591179479794B   ISRAEL       DANIEL                   TX          90011567947
25911A1115715B   ABIGAIL      SEJAS ALVAREZ            VA          90012170111
259121A942B839   KATHLENE     SPRADLIN                 ID          42087341094
2591223274B261   BRIAN        MORRISON                 NE          27097332327
259122A449155B   ZAIDA        SAENZ                    TX          90013832044
259124A6A81633   ARMAND       BAKER                    MO          90014174060
2591324422B27B   STEVEN       BENFORD                  DC          81048052442
25914327772B32   TEMIA        STEWART                  CO          90012393277
25914698672B88   ANGEL        FERNANDEZ                CO          90013786986
2591522A39794B   DAVID        MITCHELL                 TX          90014802203
2591545A831453   SUSAN        SKIBENSKI                MO          90013224508
259163A119155B   MINERVA      ESPINOZA                 TX          90013683011
25916792272B32   CHERYL       MORRISON                 CO          90014337922
2591686232B27B   LONEICE      BUNDY                    DC          90005548623
25917A75655957   FATIMA       BAILEY                   CA          90008570756
2591819925B571   MELODIE      FITCH                    NM          90002611992
25918351A31631   NICHOLAS     KENNEDY                  KS          90014183510
2591846AA93731   GEORGE       HATFIELD                 OH          90013074600
2591881A831453   KELLY        WHITE                    MO          90001658108
2591894514B281   NICOLE       TIMMERMANS               NE          90011209451
2591946A491952   TOKI         SMITH                    NC          90010964604
2591963885715B   EDGAR        ORDONEZ                  VA          81091746388
2591995842B27B   JANANCIA     COOPER                   DC          81014279584
259199A815B571   GUMERCINDO   GUTIERREZ-ROBLES         NM          35061219081
25919A17981633   ROXANA       ROMERO                   KS          90011900179
2591B168A91522   KARLA        ALVAREZ                  TX          90009481680
2591B436772B88   MARIA        ROSALES                  CO          90008534367
2591B713471928   ROSEMARY     PRICE                    CO          90010917134
2592167114B261   LATISA       CROWDER                  NE          27057406711
2592226174B588   JAQUELINE    WASHINGTON               OK          21566982617
2592255529184B   RAVEN        CRABTREE                 OK          21073285552
2592259352B839   CHRALES      EDWARDS                  ID          90009945935
2592273973366B   DERRICK      PENDER                   NC          90011147397
2592286457B666   TRELISE      GLANTON                  GA          90001678645
25923438872B32   BRUCE        CRESS JR                 CO          33011364388
2592393649189B   TARA         STANLEY                  OK          90009039364
259239A799155B   BRITTANY     BUTLER                   TX          90006749079
2592434A351328   RONALD       SLAVEN                   OH          90014133403
2592454975715B   JOSE         MARTEL                   VA          90009895497
25924A44472447   LORI         REICHARD                 PA          51042850444
259252A145715B   CARMELITA    SPEIGHTS                 VA          81010332014
2592536847B477   LASHAN       MANN                     NC          11014623684
2592553657B449   MARTA        CUEVAS                   NC          11036925365
2592561389155B   RAMON        VARELA                   TX          75078896138
2592578A52B232   CHARLES      GOLDSMITH                DC          90009347805
259257A5333669   ROBIN        SAMUELS                  NC          12029737053
25925811272B32   JULIAN       QUEZADA                  CO          90015128112
259261A125715B   EVELISSE     SANTIAGO                 VA          90014161012
25926626372B32   MICHAEL      BEIZA                    CO          90013876263
25926A3277B471   GAVIN        LESESNE                  NC          11028960327
25927791172B88   BERNARD      DEWITT HOUSE             CO          90014937911
25927A9395B161   MARJORIE     MITCHELL                 AR          23040560939
2592834612B249   DENNIS       HARRIS                   DC          90001763461
25928539372B42   EDNA         PORRAS                   CO          90006005393
25928584A71943   VICTORIA     CALDERON                 CO          90013215840
2592873485B161   DEMEATRIC    MCTYER                   AR          23095857348
25928A14191828   JON          COLE                     OK          90002240141
25928A77641245   JOANA        MORALES                  PA          90008680776
2592912324B261   KATHERINE    CZAPLEWSKI               NE          90010961232
2592929945B161   LESLIE       MARSHALL                 AR          90015012994
2592949634795B   BRANDY       FERNANDEZ                AR          90006694963
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25929672A71928   DAVID        QUITERIO                 CO          32010116720
2592B468955957   TRISH        MARTINHO                 CA          48061054689
2592B498631433   ELLA         JONES                    MO          27598024986
2592BA2349155B   JESSICA      REYES                    TX          90005140234
2592BA8152B839   JESSICA      STEVENS                  ID          90014790815
2593219925B571   MELODIE      FITCH                    NM          90002611992
259322A1631433   KADEJA       LAHAI ' TUMAGOI          MO          27507652016
2593232744B281   BRITTANY     BROCKMAN                 IA          90009173274
259323A8581633   CHRISTINA    PALAAMO                  MO          29091983085
259329A5791828   ELSO         JUAREZ                   OK          21088829057
2593386575715B   DANIEL       HERNANDEZ                VA          90012228657
25933875672B88   SOCORRO      RAMIREZ                  CO          33019238756
2593389A14B281   BLANCA       TELLES                   IA          27097738901
2593437A791828   KATHRYN      COLE                     OK          21028813707
2593441A472B88   MONIQUE      RODRIGUEZ                CO          33040404104
2593542629189B   MIRIAM       JONES                    OK          90011654262
2593571AA57157   JOSE         CASTILLO                 VA          90014857100
25935AA872B27B   LAKIESHA     BROWN                    DC          81001600087
259366A5191522   HUMBERTO     HERRERA                  TX          75030206051
2593837899189B   KATHRYN      VABERBER                 OK          21086313789
2593881437B471   TRACY        MCCLURE                  NC          11090058143
259398A727B471   TIERRA       CAMP                     NC          90011268072
25939A72A81637   CHARMETRIA   MCDANIEL                 MO          29005690720
25939A9672B27B   RAMON        CRUZ-CANALES             DC          90008050967
2593B12315B571   MARIA        MORALES                  NM          35011211231
2593B55574B261   JOSH         CRAIG                    NE          90003445557
2594112912B232   TIMOTHY      LANE                     DC          90014421291
25941239972B53   RICHARD      TERRY                    CO          90005672399
25941A24771928   ORLANDO      ROMERO                   CO          90012400247
25942325372B88   MARTHA       LOPEZ                    CO          90013533253
259425A8991828   JOSE         RANGEL                   OK          90008515089
2594291465B161   TONI         GOODRICA                 AR          90007509146
2594299839794B   CHERYL       SUTHERLIN                TX          90014839983
25942A4639184B   CLARENCE     COLEMAN                  OK          90008180463
25943375972B42   JOHN         MYERS                    CO          33001593759
2594352439184B   VIRGINIA     AYERS                    OK          90010865243
2594361654795B   MARIA        PEREZ                    AR          25067766165
25943668A4B588   MARTRICE     WALKER                   OK          90008756680
2594377485B571   DANIELLE     SNIDER                   NM          90013067748
25943A23791828   LAMIA        GARZA                    OK          90012490237
25944161172B32   JUAN         ANAYA                    CO          90011451611
2594425165B161   MEGAN        MARSHALL                 AR          90011862516
2594431A372B88   JOSE         CAMPOS                   CO          90007413103
259444A1785925   JOHNATHON    HENSLER                  KY          67083544017
259444A3772B88   GUSTAVO      CASTNEDA                 CO          90012874037
2594489799155B   STEVEN       PARTAIN                  TX          90014578979
2594511732B839   CHRISTINA    WERRE                    ID          90001341173
2594595199155B   DENISE       ORTEGA                   TX          90007559519
2594611687B471   DARYL L      SHARPE                   NC          90010471168
2594632552B27B   MELISSA      STACKHOUSE               DC          90004093255
2594646569189B   DIANA        JAIMES                   OK          90011654656
2594657AA4B261   ROBYN        CHRISTOFFERSEN           NE          90015025700
259469A1931453   GENETRIA     BYARS                    MO          90012769019
2594725245136B   WILLIAM      BELL                     OH          90002222524
25947546A9189B   AMANDA       AILEY                    OK          90013355460
2594777575B571   JESUS        BARRIOS                  NM          90014607757
2594785565B271   TIMOTHY      REEDER                   KY          90013708556
25947A5A35B161   WANDA        CHANDLER                 AR          23048870503
2594948A331453   MARCUS       HAYES                    MO          90013374803
2594955985B161   TRACY        REED                     AR          90013395598
25949811A72B42   EDDIE        SONS                     CO          90010358110
2594B324881661   JENIFER      MENCIA                   MO          90011373248
2594B639A91522   LYDIA        GARCIA                   TX          75075656390
2594B7A789155B   JESUS        GARCIA                   TX          90005217078
2595164954B281   STEVEN       GRABENSCHROER            NE          90014126495
2595168A171928   DEE          JONES                    CO          90012516801
2595173165B571   ERICA        MARTINEZ                 NM          35076477316
2595195A39189B   AMELIE       MARTINEZ                 OK          90012889503
2595322695B161   CRAIG        GLINN                    AR          90013352269
25953353272B2B   ANTHONY      MATTERN                  CO          90011503532
259535A129189B   JENNIFER     WALTERS                  OK          90011655012
25953796A91522   JORGE        MUNOZ                    TX          75096667960
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2595398119155B   GUILLERMO   ALCALA                    TX          75058579811
2595398523363B   RUBEN       CHAVEZ                    NC          90005519852
25953A39781661   CAROLYN     STACY                     MO          90011100397
2595446A681633   ELIZA       BARR                      MO          29067714606
25954512572B44   SERVANDO    VIDANA                    CO          90010415125
2595465677B477   DEMARIO     BROWN                     NC          90009176567
25954877172B32   JAMIE       WELBY                     CO          90013898771
25954A95693731   CATRINA     ELY                       OH          64526330956
2595512985B161   DEBORAH     PRIEBE                    AR          90013931298
2595519A24B588   MARCUS      CLAY                      OK          90002011902
2595558A871943   HARVEY      FLOWERS                   CO          90005225808
25955859A4B231   DELORIS     SARTEN                    IA          90002528590
25955A5947B471   JACOB       GONZALEZ                  NC          90014440594
259564A1372447   RICHARD     SIMMONS                   PA          90013634013
25956636372B88   GINA        VILLARREAL                CO          33025626363
25956A37772B42   ELIZABETH   COOKE                     CO          33072420377
259572AAA9155B   LUIS        MORENO                    TX          90012892000
259575A439136B   OSCAR       VARGAS                    KS          90013245043
25958A94572B42   ARMANDO     RIOS                      CO          33001020945
25959A4357B449   WALTER      SUSSWELL                  NC          11047980435
2595B13495B161   DOMNIQUE    WALKER                    AR          90008171349
2595B327A9189B   GARY        COOK                      OK          90006883270
2595B36969184B   CANDY       SIDDIQUI                  OK          90009093696
2595B41142B839   CONNIE      GRANGER                   ID          42005084114
2595B6A979136B   HUSS        KEY                       KS          90012666097
2595B788372B32   DAVID       CASTILLO                  CO          90002057883
2595B816457157   CONRADO     PEREZ JR                  VA          81027678164
2595B93184B281   CINDY       PICKENS                   NE          90005379318
2595B994571943   DARRYL      WILLIAMS                  CO          90015129945
2595B99AA9155B   JAIME       HOLGUIN                   TX          90011139900
2596133419155B   FRANSICO    MORALES                   TX          90002343341
2596153615715B   ALEXANDER   MARTINEZ                  VA          90001515361
2596167787B471   MONTEIZ     BAPTIST                   NC          90009196778
25961A94885938   DONALD      BERNARD                   KY          67074880948
2596243892B27B   TORRIE      WILSON                    DC          90012904389
2596266464B588   ROXANNE     VEATCH                    OK          90012636646
25962AA5571943   KEVIN       GRANFORS                  CO          90012630055
25964458A93731   BRIAN       GARBER                    OH          90012854580
259646A139189B   ANDREW      CARTER                    OK          90011656013
259661AA872447   LONNIE      ROSS                      PA          90012441008
2596667599155B   DIEGO       MARTINEZ                  TX          75016886759
25966759372B32   CORY        GUZMAN                    CO          90011387593
259668A8831631   TIMOTHY     KEMP                      KS          90014038088
2596743369184B   ASHLEY      WILLIS                    OK          90014684336
2596791254B281   JOSE        MUNOZ                     NE          90015149125
2596839527B449   NZUZI       KINSAKA                   NC          90002943952
259683A7281661   OSCAR       RODRIGUEZ                 KS          90012023072
2596882999189B   ERICKSEN    CHRISTIAN                 OK          90005048299
2596B491484364   DAVID       BRADWELL                  SC          19005314914
2596BA92971928   CLARISSA    JOE                       CO          90014750929
259711A1381661   CELINA      MELENDEZ                  MO          29010731013
25971238A51328   MARK        FANNIN                    OH          90013622380
25971A47551365   DENSON      CONN                      OH          90014160475
25971A5832B839   SHAWN       BAKER                     ID          90013420583
25971A83A51365   DENSON      CONN                      OH          90002290830
25971AAA972B42   FAVIOLA     GODOY                     CO          90007340009
25972873A91828   DARRIN      JONES                     OK          90014758730
25973239A9189B   HORACE      RAY                       OK          90014572390
259733A2371933   DEWAYNE     SMITH                     CO          90003453023
2597398A981661   ALINE       NEELY                     MO          90011789809
25973AA3255957   MONICA      BERMUDEZ                  CA          90013110032
259744A3781637   RICK        TESCHKE                   MO          90003454037
2597459485B271   BLEH        HTOO                      KY          90010055948
25974882672B42   JOHN        ADAMS                     CO          90012298826
259753AA19184B   EATRICE     WHITE                     OK          90010253001
25975415A5715B   ERMIDES     GRIJALVA                  VA          90011414150
2597553A257157   EUGENIA E   FRIEL                     VA          90001795302
2597613599155B   MARTHA      EGURE                     TX          90009751359
2597698539136B   TERESA      ALTUZAR                   KS          29066909853
25976A3255715B   DANA        SPRINGS                   VA          90011910325
2597748274B281   ERNESTINE   ALSIDEZ                   NE          27082374827
2597767115B571   PAUL        CASTILLO JR               NM          90011786711
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259778A215715B   JORGE         RENTAS                  VA          90012878021
25977A45A72B32   LORA          LAGUARDIA               CO          33040140450
25979456772B32   JUAN          ARIAS                   CO          33023054567
2597B555791528   ROSA          MARTINEZ                TX          90006535557
2597B55584B588   JUDY          HANKS                   OK          21517245558
2597B589631631   ZACHARY       CARNAHAN                KS          90010925896
2597B773331453   CHIMERE       MITCHELL                MO          90011127733
2597B86714B261   AKOELE        AKPABLI                 NE          90015118671
25981176272B42   AMANDA        MCCLELLEN               CO          33035601762
2598193852B839   LILIAN        SANDOVAL                ID          90002609385
2598232259155B   SYLVIA        HERNANDEZ               TX          90011193225
25982548372B42   BILLY         SNIDER                  CO          33005145483
2598259254B261   JESSY         TARUMOTO                NE          90014435925
25982612A72B32   JOHN          INFANTE                 CO          90003276120
259828A284B588   COOWESTA      GRAY                    OK          90006018028
25983A6269184B   MIRANDA       JEFFRIES                OK          90013270626
25983A79371928   NAYELI        SALINAS                 CO          90011940793
2598448747B471   JARED         GIBSON                  NC          11076704874
25984664572B32   IRIS          HERNANDEZ               CO          90012716645
25984854A9189B   CHRISTY       SMITH                   OK          21062788540
2598516817B471   KAROLYN       SMITH                   NC          90011581681
2598534239184B   BARBARA       TORRE                   OK          90008953423
2598537385B161   KELLEN        SUMMONS                 AR          90007663738
25985918772B42   ASHLEY        SANCHEZ                 CO          90013659187
2598611635B161   TYSHANNA      SCALES                  AR          90015151163
2598626655B571   CESAR         GRAJEDA                 NM          90008712665
2598753279184B   LUCERO        HERNANDEZ               OK          90013675327
2598779315B571   MICHELLE      LENTE                   NM          90008557931
2598792932B839   SHY           BAKER                   ID          42086069293
259891A325B161   CLARA         ELLIS                   AR          90008051032
2598984A65B571   CANDICE       WIERWILLE               NM          90014608406
25989A92A41245   CASSANDRA     SMITH                   PA          51009540920
2598B491284364   PATRICE       STEVENS                 SC          90003934912
2598B52179155B   JOSE          ANDRADE                 TX          90009265217
2598B995757157   LOIDA         MEJIA                   VA          90007669957
2599153A85715B   MORENA        PINEDA                  VA          81087805308
2599155465B28B   DAVID         MONEY                   KY          90005675546
2599159387B274   MARIA         LOZPEZ                  UT          90012635938
259917A4772B32   LADY          PINEDA                  CO          33097827047
2599182779136B   JONATHAN      PAINE                   KS          90010958277
2599182A99184B   JON           WILLIAMS                OK          90004768209
2599254522B839   DEANNA        REED                    ID          90011005452
2599331A99155B   ARIANA        VILLARREAL              TX          90013683109
2599343972B27B   IRMA          RIVERA                  DC          90000284397
2599345A181633   AMANDA        PERKINS                 MO          90008074501
2599354995B571   JAMES         ALLEN                   NM          35078815499
25993A32455957   YOLANDA       PACHECO                 CA          90012340324
259944A844B581   HENRY         GUNN JR                 OK          21552504084
2599553775B571   JASON         WILKINSON               NM          35062405377
2599662449152B   JOSE          MUNOZ                   TX          90010476244
25996634872B88   MATTHEW       CRUZ                    CO          33056386348
2599693A87B471   CHRISTOPHER   FLETCHER                NC          90014119308
2599843952B27B   TIANA         SMITH                   DC          90012904395
25999127672B88   KIRSTINA      TORRES                  CO          90012241276
25999548A91522   ERNEST        GONZALEZ                TX          75097865480
2599967A681661   PAMELA        CASTEEL                 MO          90003036706
2599995959189B   JADEN         VINES                   OK          90013399595
2599B87A351328   CHRISTINA     PAULEY                  OH          90014728703
259B1283A93731   VELMA         COLEMAN                 OH          90014992830
259B1539771943   MELISSA       GREGORY                 CO          90007205397
259B1539A5B271   HEATHER       BLAKE                   KY          90014495390
259B172685B571   ALYSON        JONES                   NM          90014607268
259B292384B281   MARCHE        ROBINSON                NE          27003879238
259B2A85571928   CHRIS         ROWELL                  CO          90005350855
259B3514191522   LUIS          CONDE                   TX          90008745141
259B361647B456   ELIAS         ORELLANA                NC          90009786164
259B383A185844   GABRIEL       HERNANDEZ               CA          90004308301
259B3A64555957   GARY          JONES                   CA          90012560645
259B3A97191528   ARMANDO       URIBE                   TX          90002810971
259B4224231433   CRYSTAL       JONES                   MO          90011742242
259B425A157157   NANCY         IZAGUIRRE               VA          90008402501
259B431935B161   CHARLES       WELLS                   AR          23040883193
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259B437224B582   EDIN                MALDONADO           OK        90005363722
259B4A8897B471   KINDAL              PERRY               NC        90008260889
259B5136A5B161   SHENITA             MOORE               AR        90013241360
259B526424B588   LYDIA               PANTHER             OK        90009172642
259B5546231453   ANITA               MCCLAIN             MO        27560025462
259B58A9591828   FABIAN              CHAIRE-HERNANDEZ    OK        90008658095
259B629659155B   ALFREDO             TORRESDAY           TX        90013682965
259B6569731631   AMMON               OHLSON              KS        90004795697
259B686375B271   IRENIA              BARBAN              KY        90011258637
259B698A984364   DANIELLE            MOLTER              SC        19078719809
259B7583A5B161   FREDDIE             WILLIAMS            AR        90010125830
259B7711A85938   RAUL                CORTEZ              KY        67069657110
259B7929172B88   ALEJANDRO           OROZCO              CO        33005129291
259B837579189B   TRINA               SKINNER             OK        90008583757
259B8636291522   MICHELLE            GALLARDO            TX        90011196362
259B8887272B88   ELI-LEONA           RANGE               CO        33010798872
259B9368271943   ANGELINA            TRUJILLO            CO        32030763682
259B9781751328   KEVIN               HOPKINS             OH        90014727817
259B991989155B   VINCENT             VILLARREAL          TX        90013009198
259BB263831453   TEIRA               HOWARD              MO        90014562638
259BB282691528   MARISSA             ANCHONDO            TX        90006532826
259BB664A72447   MEGAN               ALT                 PA        90007776640
25B1123444B261   CRYSTAL             NAVA                NE        90013502344
25B11322471943   IAN                 BAUGH               CO        90005033224
25B11414571932   RUBEN               GARCIA              CO        90011274145
25B11514A9155B   JOSE                GARCIA              TX        90013655140
25B1163674B588   CHRISTOPER          STEPHENS            OK        21576166367
25B11883331453   PAYGO               IVR ACTIVATION      MO        90013808833
25B12114A9713B   RACHELLE            STRANGE             OR        90007781140
25B12228A81637   EGYPT               SMITH               MO        90001982280
25B12336641245   RODNEEKA            LEWIS               PA        51001153366
25B1233A791828   LUZ                 RODRIGUEZ           OK        90000543307
25B1276495B571   MATTHEW AND MARIE   ORTIZ-GONZALES      NM        90014517649
25B13242471943   MARGARET            GARCIA              CO        32010592424
25B13338681661   CHRISTINA           MASON               MO        90014573386
25B1368A372B88   LUIS                ARO                 CO        90014476803
25B1382512B839   ALFRED              ARAGON              ID        42027838251
25B13843172447   CHRISSIE            CHAMBERS            PA        90014928431
25B1393989794B   FLAVIO              UTUY                TX        90013929398
25B1416A99189B   JOSE                MARTINEZ            OK        90011601609
25B1434A471928   TANILLE             BUDETTI             CO        90012273404
25B1451919713B   MARTIN              AVILA               OR        90012495191
25B1474775B571   ANDRES              MENDOSA HERNANDES   NM        90013427477
25B14856291828   JAMES               JOHNSON             OK        21094588562
25B1497564B588   RAMON               RASADO              OK        90014129756
25B1546A12B839   JANINE              TIPPON              ID        90010904601
25B15A7A19794B   MATEO               HUINAC              TX        90010270701
25B16346272B88   NATHANIEL           ROMERO              CO        90007153462
25B16753791528   JEREMEY JOHN        MAZZA               TX        90005987537
25B1698895B571   VALERIE             SILVA               NM        35032079889
25B17173393731   DAVID               RODGERS             OH        90013591733
25B1755115B571   MARTHA              HERNADEZ            NM        90008515511
25B1782289136B   JOSE                MALACARA            KS        90008468228
25B17896691522   TOM                 BREITLING           TX        90000908966
25B17A3849184B   ZAR                 WIN                 OK        90012260384
25B18217731453   SELONA              QUARRELS            MO        90003792177
25B18245681637   LEONARDO            HERNANDEZ           MO        90012862456
25B1848166B862   DANDRE              DANIEL              WI        90015504816
25B1854847B471   KATHLEEN            MEADOWS             NC        11001965484
25B18659281661   ASHLEY              EMERY               MO        90014166592
25B18A65893731   TEANA               OVERSTREET          OH        64568340658
25B19132881637   KENNETH             SHEPHERD            MO        90014711328
25B19556255957   JESSICA             MONTOYA             CA        48013435562
25B19592185938   TONY                GILPIN              KY        67000245921
25B19657372447   DANELLE             STUMP               PA        51078946573
25B19A17781668   ROBERT              FERGUSON            MO        90013280177
25B19A2779136B   MARIO               ARANDA              KS        90007940277
25B19A68371943   JUSTIN              FISCHER             CO        32082190683
25B1B56224B588   RICHARD             REED                OK        90013715622
25B1B76495B571   MATTHEW AND MARIE   ORTIZ-GONZALES      NM        90014517649
25B1B854972B88   MELINDA             HART                CO        33073258549
25B1B9A999794B   TEXAS DEPT          CRIMINAL JUSTICE    TX        90015009099
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25B21383391528   MILDRED           VENEGAS             NM          75091753833
25B21486572B42   REGINA            NATIVIDAD           CO          33043074865
25B216A3A81661   MANDEO            RODELA-PANDO        MO          90014166030
25B21816772447   ROGER             MILLIRON            PA          90009188167
25B22122981633   CHRISTAL          HARRIS              MO          29043591229
25B22318491522   VERONICA          HERNANDEZ           TX          90004953184
25B22459A72B88   STEPHEN           HUNT                CO          90013254590
25B2246229136B   KELLY             SIMS                KS          90012484622
25B22712171943   LEJONETTE         GRAY                CO          90014047121
25B22748981661   ADAN              NAVARRETE           KS          29067667489
25B2278997B477   PRUDENCI          ESCOBAR             NC          90014817899
25B2291462B27B   TIARA             GOMILLION           DC          81078779146
25B2293829155B   MARIA             SILVA               TX          75071029382
25B22A3AA7B471   EMILIA            MORENO              NC          90014880300
25B22A9339189B   RANDY             FULPS               OK          90013540933
25B2329745B271   RACHEL            KESSINGER           KY          90013882974
25B2352882B27B   LAKEISHA          JACKMAN             DC          90005015288
25B23537672B32   ROCKY             FEDERICO            CO          90009505376
25B23635671943   DEILBER           FUENTES             CO          90010776356
25B23849591885   JOLANTA           ALONSO              OK          21088118495
25B23965372B42   RODRIGO           CASTRO              CO          90012429653
25B24195891522   ERLINDA           ESTRADA             TX          75024131958
25B24214A4B588   TRICIA            COLVIN              OK          21582512140
25B243A715715B   SANDRA            MALDONADO           VA          90004233071
25B2443559189B   MIREYA            RISSER              OK          90012504355
25B244A2991828   ATHUR JAMES LEE   ROY                 OK          90006904029
25B24637191383   MELISA            ALLEN               KS          90002826371
25B24892281633   JILLIAN           HENDRIX             MO          90008818922
25B24959541245   CLYDE             DEMUS               PA          51062199595
25B25346893731   KEVIN             SIMMONS             OH          90009133468
25B25849571943   ERIC              EDWARDS             CO          90010758495
25B258A3797121   MATT              ZOOK                OR          90012668037
25B25999355935   ESTHER            DELGADO             CA          90012679993
25B26347555957   ROBERT            PARAMO              CA          48026453475
25B26798A57157   JENNIFER          MURPHY              VA          90000797980
25B26A32441245   CAROL             GAULT               PA          51036890324
25B2734A872B42   BRITTANY          BENDZ               CO          90012483408
25B2741624B281   DAWN              LEE                 NE          27054364162
25B274A3272B88   ESPERANZA         JARAMILLO           CO          90007944032
25B2771A65B161   MISTY             BOUPHASAVANH        AR          23047127106
25B27A22131433   SAPRINA           COOKSEY             MO          90011710221
25B28449A2B27B   CHINA             COWAN               DC          90004234490
25B28456347826   KAREN             WASHINGTON          GA          90012424563
25B28571731631   GLORIOUS          POLITE              KS          90011275717
25B28A6545715B   MICHAEL           WHIFFEN             VA          90013730654
25B2916289155B   LAURA             ZALCE               TX          90013221628
25B2922595715B   JAVIER            GAYTAN              VA          90009342259
25B2957959189B   TRACI             HENDRICK            OK          90014465795
25B2965A893731   LADONNA           WATSON              OH          64547656508
25B296A754B281   THOMAS            BARDEN              NE          27063806075
25B2B372A7B471   KERLIN            GUERRERO            NC          90012343720
25B2B519891522   JESSICA           PAZ                 TX          90011605198
25B2B521872497   JONATHAN          BILLHEIMER          PA          90006405218
25B2B567971928   YESICA            PRIETO              CO          90013785679
25B2B6A719155B   VIRGINIA          LARA                TX          75011656071
25B2B88829136B   KENNETH           POWELL              KS          90002708882
25B31223355936   KELLY             GILSON              CA          90009982233
25B3175695B271   TED               STIVERS             KY          90012447569
25B31784A91528   ROLANDO           MUNDO               TX          90005987840
25B3178592B839   DAVID             WILLIAMS            ID          90014497859
25B3247365B571   ALYSIA            RAMIREZ             NM          90011624736
25B3261117B471   LISA              MASSEY              NC          11014756111
25B32858872B88   TWILA             HOPKINS             CO          90003958588
25B3386435B271   ANDREW            HOWELL              KY          90010498643
25B338A549189B   BRANDY            CURRY               OK          21018338054
25B33924971924   OLIVIA            SOTELO              CO          90014859249
25B3412524B553   ANDERSON          CHRISTOPHER         OK          90008051252
25B3466AA93731   DAVID             JONES               OH          90010376600
25B34A6A981637   DEENA             DOWNEY              MO          90014810609
25B352A6657157   ANA               MOZ                 VA          90014532066
25B35577971943   MARIA             ALVARADO            CO          90014615779
25B3582892B839   APRIL             ROBINSON            ID          42046638289
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25B36128555923   PATRICIA         HARRIS               CA          49091831285
25B36384631433   JEFF             DAVIDSON             MO          27502743846
25B36487991241   VERONICA         JOHNSON              GA          14549154879
25B3669672B27B   JOSE             ORELLANA             DC          90010766967
25B36753172B32   AMBER            RASMUSSEN            CO          33005127531
25B36774271943   OLGA             MALDONADO            CO          32057197742
25B36879831453   NATHAN           DUNCAN               MO          90011178798
25B36938551328   LOUIS            ROOK                 OH          66016799385
25B37873672B88   PAIGE            MENZOR               CO          90004918736
25B3788812B839   DANIEL           GARCIA               ID          90008308881
25B37889A5B571   DARLENE          ORTEGA               NM          35000178890
25B37976672B32   SAMANTHA         HERNANDEZ            CO          90011109766
25B37A7467B644   BRITTANY         PORTER               GA          90010280746
25B381A7A4B588   FFR20456 PEDRO   PEREZ                OK          90014231070
25B38325793731   BRITTNAY         MILLER               OH          90014623257
25B3919A44B52B   ANA              GALINDO              OK          90010361904
25B392A1171928   YOLANDA          HERNANDEZ            CO          90000902011
25B39432181661   BRYON            WEBB                 MO          90006994321
25B39552472B32   BRIAN            KENYON               CO          90007045524
25B39745A71943   FRANCES          RIDER                CO          32092157450
25B3989349794B   CARLA            MUNSUN               TX          90014918934
25B3995819189B   EYRA             ROMERO               OK          21084679581
25B3B431597B53   DAWDY            YVONNE               CO          39093584315
25B3B45929189B   BENZIE           BROOKS               OK          21045164592
25B3B57155715B   AUDELINA         BARRIOS              VA          81030455715
25B3B751755957   AMIE             CAMPBELL             CA          48033377517
25B3BA43A4B588   MONEEK HOWELL    MICHAEL ROGINS       OK          90013230430
25B41214372B42   WORM             INC                  CO          33090082143
25B41622281661   KEYANA           BROWN                MO          90014166222
25B4165299155B   ADRIAN           SEGURA               TX          90010766529
25B42419557157   MARVIN           RODRIGUEZ            VA          90014064195
25B42736472B32   SIMONE           HERRERA              CO          90014457364
25B42776971943   TARON            MORRIS               CO          90013887769
25B42A13A81633   TINA             BAIRD                MO          90013420130
25B4368172B839   VICKIE           MOSQUEDA             ID          90013136817
25B436A489184B   JOSUE            RODAS                OK          90014156048
25B43869A71943   BRITTANY         YANCEY               CO          90013748690
25B43A19381661   FIDENCIO         MORALES              MO          29017910193
25B4411A49155B   PAUL             CENICEROS            TX          90011541104
25B44139572B42   RICHARD          RAMIREZ              CO          33036241395
25B44465A2B839   KIMBERLY         BLECHINGER           ID          90006784650
25B44572A72B32   TINA             LEVY                 CO          33033535720
25B44699593731   BRITTNAY         STEWART              OH          90008836995
25B4471565B571   V                SANCHEZ              NM          35085097156
25B4476545B271   MICHAEL          WALLACE              KY          90015197654
25B4479A955957   JUAN             PEREZ                CA          48001407909
25B45429781661   TROY             JONES                MO          90009974297
25B458A9655957   KIM              ENS                  CA          48078698096
25B45913751328   CHRISTOPHER      GARITSON             OH          90008579137
25B45A43A4B588   MONEEK HOWELL    MICHAEL ROGINS       OK          90013230430
25B46457871928   REESE            MILLER               CO          90004104578
25B46744661935   ADRIANA          CORONA-GASTELUM      CA          90012207446
25B4693672B931   TIM              BERG                 CA          90011649367
25B46A5585B271   SHERRICE         JACKSON              KY          90002730558
25B47566981633   WENDY            NAJO                 MO          90003525669
25B47824184364   CHELSEA          PRIEST               SC          19081758241
25B47845231631   JOHNNY           FREDERICK            KS          90015118452
25B4798755B271   EMMA             HARDIN               KY          90011249875
25B4811489794B   CHRISTINA        WILLIAMS             TX          90012891148
25B4835712B839   BETTY            CROCKER              ID          90012533571
25B4862292B27B   KRISTIAN         HONESTY              DC          90008196229
25B48A9984B588   LOLITA           COLBERT              OK          90014690998
25B48AA9672B88   ABDIEL           HERNNADEZ            CO          33048880096
25B495A4A55957   DANIEL           GONZALEZ             CA          90014155040
25B4981395B571   DEMARIUS         HARRIS               NM          90014518139
25B49845655936   CHRISTINA        EMERY                CA          90001508456
25B49912157157   BLANCA           NOGALES              VA          81064739121
25B49A2239794B   WILMER           OROZCO               TX          90012470223
25B4B4A3872B32   VANESSA          GARCIA               CO          90007894038
25B5137744B281   GABRIELLE        ELLIOTT              NE          27086383774
25B51473857157   CHARLIE          PERCHIANO            VA          90011174738
25B5193759184B   ESTELLA          HERNANDEZ            OK          90010539375
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25B52256A72B88   MIKE           MESFIN MEKONEN         CO          90013612560
25B5256579184B   KECIA          HILL                   OK          90012465657
25B52574171943   RUBEN          GUZMAN                 CO          32022375741
25B5271A19155B   SANDRA         MACIAS                 TX          75096207101
25B52A3549794B   PEGGY          HAMMOND                TX          90012470354
25B52A58272B88   MAGDALENA      ZETINA                 CO          33070420582
25B53199171928   COUNTRY        CAT                    CO          32016641991
25B5357249794B   JOSUE ISMAEL   NINO                   TX          90013295724
25B535A827B477   ARETHA         SMITH                  NC          90014875082
25B5365452B232   SQUIETTA       AMIN                   DC          90001146545
25B53718A31631   TIMOTHY        MCDONALD               KS          90012587180
25B53772A9136B   TIFFANY        SIPPLE                 KS          90013937720
25B5424A871928   PATRICIA       ARELLANO               CO          90014992408
25B5449229189B   PAMELA         JOHNSON                OK          90003934922
25B5492487B477   HEMAN          SPELLER                NC          90014849248
25B5545484B281   MIKAEL         FREEMAN                NE          90010424548
25B5546399136B   RUBEN          ORTEGA                 KS          29050634639
25B5567222B27B   KAMECIA        MALLORY                DC          90011826722
25B559A963B352   FLOR           CRAWFORD               CO          33064819096
25B5651A881633   KENNETH        BENTLEY                MO          29001055108
25B56963672B88   LUZ            VARGAS                 CO          33040499636
25B57782991522   MARIA          ANDAZOLA               TX          75048567829
25B5792289189B   EFRAIN         CORONA                 OK          90015089228
25B58124941245   SEAN           MCPHERSON              PA          90011821249
25B58233191522   LIZETH         SANCHEZ                TX          75003142331
25B58565172B42   JERRY          SCHELL                 CO          90009045651
25B58966431631   DEVIN          WERD                   KS          90013969664
25B59149372B42   LUIS           RAMIREZ                CO          90003271493
25B5944214B588   JOSE           HERNANDEZ              OK          90015144421
25B5959152B27B   THERESA        DIXON                  DC          90013865915
25B59596193122   JASMYNE        DANIELS                KY          90013025961
25B5977244B281   ALEMNESH       GEBREYES               NE          90012297724
25B5B766472B88   JOSE           EUSEBIO                CO          90013557664
25B6122A871928   TOM            WILLIAMS               CO          90000632208
25B61549991B35   MAYRA          DELGADO                NC          90013845499
25B617A8172B88   ENRIQUE        SALINAS                CO          90012607081
25B6193769155B   JUAN           JIMERNEZ               NM          75066939376
25B61A4129794B   CHRISTIAN      PAZ                    TX          90013310412
25B62147172B42   HECTOR         SOTELO                 CO          33020461471
25B622A9757157   SANDRA         JIMENEZ                VA          81063392097
25B62335472B32   ZACK           HOOVER                 CO          90000213354
25B6272649794B   ARTURO         DURAN                  TX          90011847264
25B62791333686   AMELIA         JONES                  NC          90010907913
25B62A78881633   ERIKA          NELSON                 MO          90008260788
25B62A87691522   VERONICA       RAMOS                  TX          75068020876
25B6313732B27B   ANGELA L       PRICE                  DC          90014581373
25B63643155957   RODRIGO        DURAN                  CA          90015226431
25B63A2429794B   ALVARO         VELASQUEZ              TX          74043220242
25B64152272B32   VICKY          RUANO                  CO          33041361522
25B6482984B588   GONZALO        CORONADO               OK          21560728298
25B64892593743   ELANIA         SPAMM                  OH          90008958925
25B64A1969155B   ALBERTO        GUERRERO               TX          75013710196
25B65491661929   LETICIA        GOMEZ                  CA          46007584916
25B65562131631   PHILLIP        HAINES                 KS          90010485621
25B6568A44B588   STEVE          PHELPS                 OK          21537436804
25B6591539155B   ARTURO         JARA                   TX          90011509153
25B66259291828   WINNETTE       BROWN                  OK          90008492592
25B67481472B88   RAYBRIAN       ARNOLD                 CO          90002804814
25B6768345B161   TRACI          CHILDRESS              AR          90005436834
25B67833355957   FRANCISCO      SALCIDO                CA          90012538333
25B6787995B271   GARY           ALLEN                  KY          68042408799
25B68151971943   CINDY          WALT                   CO          32091621519
25B68195A9155B   SUSAN          LOPEZ                  TX          90012771950
25B6869439794B   DORY           SEALES                 TX          90010806943
25B6924824B588   JAMES          PRATT                  OK          90012852482
25B69284A6B862   JESSICA        CLARK                  WI          90015592840
25B6955989189B   JAKE           HAUBRICH               OK          90011615598
25B6B967155957   ISMAEL         LOPEZ                  CA          90013109671
25B6B998372447   WILLIAM        OHARA                  PA          90013119983
25B7132A672447   STEPHANIE      MARINOFF               PA          90011953206
25B7139855B271   SIARA          GORE                   KY          68042113985
25B7142799794B   SHAMEKA        OAKS                   TX          90012874279
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25B72462891828   CHASIDY           EDENS               OK          90013274628
25B72542772B42   SHARA             OATES               CO          33042535427
25B7257A481661   KHIYANDRE         BELL                MO          90009785704
25B72841481633   TIONA             NEELY               MO          90012938414
25B7297665715B   JAQUELIN          DELCID              VA          90006619766
25B72A3258B16B   JOSHUA            THOMPSON            UT          90008090325
25B73286981637   EARL              MASON               MO          90012422869
25B73584193731   JEFFREY           MOLTON              OH          64515235841
25B73682A81661   LUIS              RAMIREZ             MO          90014166820
25B7374132B839   MIRANDA           JOHNSON             ID          90013167413
25B73783A9136B   VICTOR            RAMIREZ             KS          90000137830
25B7384775B571   ERICCIA           DAVIDGE             NM          90014518477
25B73959184364   YOLONDA           GAILLIARD-BROWN     SC          19023889591
25B7398135B161   YAMESSA           BOHANNON            AR          90007809813
25B73A4787B476   ALONSO            OCHOA               NC          90010450478
25B73A78172B88   SILVIA            GARCIA              CO          33039570781
25B7411489794B   CHRISTINA         WILLIAMS            TX          90012891148
25B7415A691828   RAUL              DELGADO             OK          90010751506
25B7443682B27B   ANNELL            BUGGS               DC          90011124368
25B74495781637   ANDREA            BAILEY              MO          29012714957
25B744A845B271   STEPHEN P         GRUBBS              KY          90012274084
25B74521A61929   MARIO             MARQUEZ             CA          90006655210
25B7496692B27B   ANNELL            BUGGS               DC          90013619669
25B751A2291828   XION              KUE                 OK          90014741022
25B7588933B384   ZACHARY           FLACH               CO          90009218893
25B758A5381633   DONALD            NOBLE               MO          90012328053
25B75A72541245   PATRICIA          NESTOR              PA          51028830725
25B75AA617B471   JASON             BIRD                NC          90015160061
25B766A8271943   BRITTANY          DUGGER              CO          32070296082
25B76975A7B471   HINNA             JOHNSON             NC          90014159750
25B76A69A9136B   SHAVEL            RICE-MOORE          KS          90014900690
25B7719859155B   ELIZABETH         ROSALES             TX          75053531985
25B77323255957   JOEL              MEJIA               CA          90014583232
25B77333A9184B   KRYSTAL           IRVING              OK          90013743330
25B7736814B281   SHANETRA          WATTS               NE          90005293681
25B77415272B32   HEIDI             HIRSCH              CO          33015014152
25B77567485938   WILLIAM           STAFFORD            KY          90005245674
25B77672491528   JOSE              MIRAMONTES          TX          75021126724
25B777A244B588   JOHNATHON         ADAMS               OK          21524637024
25B7781719184B   KRYSTAL           IRVING              OK          90015248171
25B7842552B839   JASON             BROWN               ID          42009884255
25B785A492B975   BRENT NATHANIEL   CUTERI              CA          90012245049
25B7864575B161   DONNA             THOMPSON            AR          23082826457
25B7881269794B   SECUNDINO         CUA                 TX          90006838126
25B7922812B27B   CRYSTAL           KITT                DC          90014662281
25B79341931453   NIKO              DRAKE               MO          90014143419
25B7957272B839   SCOTT             WARNER              ID          42011665727
25B7964344B261   LAKEISHA          TURNER              NE          90014636434
25B7B43137B656   SUPRENA           WYATT               GA          90011414313
25B7B82219136B   CHRIS             EVERETT             KS          90013938221
25B7BA5A151328   ALLISON           KOELBLIN            OH          90000230501
25B8145439794B   LUCERO            GRANADOS            TX          90009514543
25B81824691828   AUSTON            GOE                 OK          90015308246
25B81A57A81661   SHAWNTA           PRICE               MO          29015160570
25B82399971928   BEN               GOODWIN             CO          90007893999
25B82424593731   TAMRA             WIKOFF              OH          90011254245
25B8257714B281   PATRICIA          BANDERAS MARTINEZ   NE          90009985771
25B8262447B477   IRIS              WATSON              NC          90014876244
25B8273497B449   MICHAEL           MOORE               NC          11043827349
25B82748443551   DUSTIN            BURCH               UT          31012877484
25B82927831453   JASON             WITTE               MO          90013829278
25B82A4895B161   ERIC              KIDD                AR          90000830489
25B82AA6457157   IRIS              MOLINA              VA          81080830064
25B83116793731   GREGORY           LEE                 OH          64524481167
25B8334A49189B   CONNIE            SMITH               OK          21085233404
25B83392957157   DOMINGO           VELASQUEZ           VA          90012473929
25B8345465B271   MARGARET          SLOAN               KY          68043064546
25B83528371928   CRYSTAL           BAILEY              CO          32050695283
25B843A3671928   MARIA             HERNANDEZ           CO          90010413036
25B84624871928   LATOSHA           BOWMEN              CO          90012786248
25B84718372B88   SEFERINA          RIVERA              CO          33066897183
25B84A7757B471   GUOI              BAHLBI              NC          90008230775
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25B85755A51328   THOMAS        SORRELL                 OH          90011327550
25B85A6834B281   BRIAN         LANAM                   NE          90007930683
25B85A76457157   ALFREDO       HERNANDEZ               VA          90012960764
25B863A764B588   LINDA         GLOVER                  OK          21590673076
25B86449271928   CHRISTOPHER   MEEHAN                  CO          90012414492
25B8649655B271   OMAR          DE LA CRUZ              KY          90000674965
25B864A735B161   ANTWONE       DANIELS                 AR          90014884073
25B8674A92B839   CLARENCE      KONERTZ                 ID          90006927409
25B86868957157   JULY          BARBARAN                VA          90014228689
25B871A9372447   LEA           SLUSAR                  PA          90014471093
25B87799731433   MICHELLE      SANFORD                 MO          90010587997
25B87829172B25   PEREZ         ZULEMA                  CO          33024558291
25B87984A9189B   SUSAN         NELSON                  OK          90006449840
25B8822A581637   PETER         SHAPIRO                 MO          90014122205
25B88399593731   CHAD          MAYES                   OH          64588083995
25B88564771943   EMMA          HOLMES                  CO          90010305647
25B88812331433   THOMAS        CAESAR                  MO          90010588123
25B892A225B571   LA SHAWN      PEOPLES                 NM          35093962022
25B89517572B32   DAWN          GREEN                   CO          33087975175
25B89693181661   DANNY         WALKER                  MO          90014166931
25B8969717B477   QWASHALA      DAWKINS                 NC          90014876971
25B89749855957   JESUS         VILLAPANDO              CA          90001587498
25B8991874B281   KIMBERLY      PLUMMER                 NE          27096109187
25B8B43549189B   SANDRA        PRICE                   OK          90010724354
25B8B5A685B571   JOSE          BENCOMO-CHAVIRA         NM          90011625068
25B8B618A72B42   GENE          BERRY                   CO          90002896180
25B91374271943   JOSE          RODRIGUEZ               CO          90013683742
25B91382961939   CHRISTOPHER   LAWRENCE                CA          90003103829
25B91681184364   LARETHA       ADAMS                   GA          19012646811
25B9182137B471   HUMBERTO      DELGADO                 NC          90010168213
25B92329A91522   MARTHA        JORDAN                  TX          90005613290
25B9249364B281   KENDAL        MORELAND                NE          90015494936
25B9253A671923   MICHEL        DECKER                  CO          90002175306
25B92541757157   GERMAINE      HACKEY                  VA          90012995417
25B92758581633   ROBERT        TRUSS                   MO          29001057585
25B92984A9189B   SUSAN         NELSON                  OK          90006449840
25B93172472B42   JAMES         RUBESNE                 CO          90015101724
25B933A295B161   KATE          THIPASEUTH              AR          90005793029
25B9347A99794B   VICTORIA      BOHLER                  TX          90012524709
25B93675593731   PATRICK       DOOLAN                  OH          90013006755
25B93745272B42   KATHRYN       PARENT                  CO          90011947452
25B9374A19189B   DAJAUNNA      MOORE                   OK          21019027401
25B9378A371928   CARLA         PAYNE                   CO          90013247803
25B9397974B588   ANTHONY       HAWTHRORE               OK          21556999797
25B93A3675715B   KIERSTA       WOOLFREY                VA          81065790367
25B94227972447   GEORGE        DIAZ                    PA          90001112279
25B9469A491522   SANDRA        VALDEZ                  TX          90012886904
25B95383472B32   JENNIFER      RODARTE                 CO          90012753834
25B95859661992   HECTOR        ARECHIGA                CA          46016348596
25B9613889184B   MICHAEL       LAMB                    OK          90012851388
25B9659385B161   ARIHANNA      STARKS                  AR          90013355938
25B96716981661   ERIC          SPEARMAN                MO          90014167169
25B9679144B588   BRANDEN       BUCHANAN                OK          90010537914
25B9682539184B   JENNIFER      HARPER                  OK          90015258253
25B97189181637   RANDY         HALL                    MO          90012731891
25B9732175715B   ONELIO        VILLATORO               VA          90011633217
25B97763172B88   JOHN          LIBBY                   CO          33069697631
25B9785882B839   SELENE        MEJIA                   ID          90014518588
25B9789119794B   JACOB         MENTZ                   TX          90009908911
25B97972172B42   GLORIA        MORALES                 CO          90009119721
25B9838862B839   FRANCISCO     ALVARADO                ID          90014273886
25B98494971928   BEATRICE      PEREZ                   CO          90014404949
25B98514591828   MICHAEL       HUTTON                  OK          90010775145
25B9851A957538   LUIS          GUTIERRES               NM          35509855109
25B98773A81661   STEVEN        DODDS                   MO          90009477730
25B987A425B571   MAYTE         URBINA                  NM          90014587042
25B99248472447   JEFFREY       KROFCHIK                PA          90013802484
25B9944892B27B   MASUMA        CHOWDHURY               VA          90012714489
25B994A164B281   LENNY         RUBEK                   NE          27080764016
25B9975562B27B   NATALIE       THOMPSON                DC          90011327556
25B9993A781633   MARVIN        BRUNTMYER               MO          29087399307
25B9B14245B271   KENZIE        KAPPEL                  KY          90015061424
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25B9B19249155B   JESUS       ALEJANDRO                 TX          75076461924
25B9B1A5A4B588   CASSANDRA   WELLMAKER                 OK          90013231050
25B9B68A181661   SYDNIO      BROWN                     MO          90015026801
25B9B6A492B839   JENNY       COLLARD                   ID          90001176049
25B9B719693767   TAKEISHA    PERKINS                   OH          90011407196
25B9B826771928   MATT        YOUNG                     CO          32045818267
25B9B873A81687   MICHAEL     MAY                       MO          90002058730
25B9B897881687   MICHAEL     MAY                       MO          90012948978
25BB1154731453   LEOLA       JACKSON                   MO          27521491547
25BB118649136B   SENO        BLACK                     KS          90013941864
25BB129785715B   SORAYA      DEL VALLE                 VA          90012162978
25BB131A772B88   LEELEE      PEREZ                     CO          90013853107
25BB2259391828   FLEETA      DAVIS                     OK          90009342593
25BB244469184B   SANDRA      SANCHEZ                   OK          90013394446
25BB266599189B   CHARLES     CURTIS                    OK          21091166659
25BB2787193731   ANGELA      HUFFMAN                   OH          64532087871
25BB282419794B   OLGA        VILLANUEVA                TX          90008438241
25BB3434491522   ILIANA      CERINO                    TX          75041014344
25BB3551A57157   JUSTIN      TERRELL                   VA          90014725510
25BB3949485938   LASHA       HADDIX                    KY          67024189494
25BB411454B281   KRISSY      THORNBURG                 NE          27047911145
25BB46A8A93731   MATILDA     SENAYAH                   OH          90013966080
25BB5327371943   JARED       CARTER                    CO          90015423273
25BB5535393731   KENYATTA    LINDER                    OH          64593355353
25BB5964771943   JESUS       BUSTAMANTE                CO          32083429647
25BB59AA74B588   KEVIN       SKELTON                   OK          21557029007
25BB6417A71928   SARA        BOYSON                    CO          32061844170
25BB6955657157   DONALDO     VELASQUEZ                 VA          90001659556
25BB7A11872B32   LETICIA     RODRIGUEZ                 CO          33045900118
25BB7A17976B22   PAOLA       ORTIZ                     CA          90014210179
25BB8A4212B27B   FREDDIE     JACOBS                    DC          90013960421
25BB9455291828   GENEA       BOYCE                     OK          90015084552
25BBB256772447   SUSAN       RUPP                      PA          90015342567
25BBB3A9781633   FERNANDO    MANUEL                    MO          90013193097
25BBB562431433   ADAM        MOELLERING                MO          27535685624
25BBB65989136B   MAGGIE      THOMAS                    KS          90013936598
25BBB835172B42   MELISSA     LUCERO                    CO          33077888351
25BBBA6359155B   JESSE       YANEZ                     NM          90014140635
26111383A91953   TYSHELL     PERRY                     NC          90014613830
2611179422B27B   PATRICIA    JONES                     DC          90008857942
26111895972B32   ALFREDO     HERNANDEZ III             CO          90012478959
2611191585B161   SAM         NORRIS                    AR          23019219158
2611273945715B   YAA         DUAH                      VA          90006137394
2611278689189B   JESSICA     HOLAHTA                   OK          90014867868
2611343582B27B   DENICE      SAVAGE                    DC          90012204358
2611459482B232   DONNA       PERKINS                   DC          90005825948
26114A5947B449   ROBIN       MARTIN                    NC          90014580594
2611528984B281   WANDA       NICHOLS                   NE          27030422898
2611546584B261   PAULA       RAMSEY                    NE          27017964658
26115498572B29   IVAN        BENATINSKY                CO          90001364985
26115575372B32   DEVONIE     ROMERO                    CO          90014485753
2611563569136B   GLORIA      RUSELL                    KS          29007596356
2611597A74B521   AMANDA      TOTSCH                    OK          90008399707
26116A5417B471   APOLINAR    PEREA                     NC          11020140541
26116A9469184B   DERRICK     WALKER                    OK          90013830946
2611784964B588   JUSTIN      HARTWELL                  OK          21511698496
2611821845B271   EDWIN       BROWN                     KY          68004272184
26118638172B32   FRANCISCA   STEVENS                   CO          90013506381
26119A5972B96B   JOSE        VALENCIA                  CA          45006020597
2611B288384364   CLAUDIA     PEREZ-REYES               SC          19013892883
2611B58313B364   CLYDE       LAY                       CO          33049005831
2611B76759189B   MARCOS      MENDOZA                   OK          90014867675
2611B786A72B42   JOSE        JUAN ARAIZA               CO          90000467860
26121638A4B588   LUCELLY     ARCILA                    OK          90009796380
2612187779136B   GARY        HICKS                     KS          29009388777
26121A1367B477   WILLIAM     SPRINKLE                  NC          11032840136
2612217812B27B   MANUEL      GUTIERREZ                 DC          90013271781
2612222A95B57B   FLORENCIO   TERRAZAS                  NM          35010542209
2612232A34B588   JAMES       DIGGS                     OK          90007833203
2612365469712B   QUAYSHAUN   SANDERS                   OR          90010556546
26126A7A955957   MAIRA       ANDRADE                   CA          90011430709
26127319A55977   KARINA      RIOS                      CA          90012393190
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261278A769184B   PEDRO             LOPEZ               OK          21066758076
261281A3A9184B   DIANA             PANTOJA             OK          90013831030
2612833835B271   WILLY             BLANE               KY          90012283383
2612838489136B   VALERIE           WESLEY-BROWN        KS          29014503848
2612846A572B42   JEFFREY           REYNOLDS            CO          90011874605
261285A3972B32   NEAL              JONES               CO          90011895039
2612B94799184B   SANDY             MCCARTY             OK          21084519479
2612BA59555977   EDITH             CELIS               CA          90012340595
2613113592B232   VICTORIA          BRANCH              DC          90001971359
2613115A79189B   VALENCIA          HADLEY              OK          90014301507
2613125379184B   MUHAMMAD          DURRANI             OK          90013252537
261318A7191522   SALOMON           POLANCO             TX          75012848071
261319A514B261   SARAH             BECKMAN             IA          27069499051
2613236A991528   JOSE              ZAMORA              TX          75095203609
26133354772B88   MARK              HILL                CO          90014633547
26133548372B29   ARIEL             BROUILLET           CO          90014355483
261347A9772B42   ROBERT            WILLIAMS            CO          90013527097
26134896172B32   MARK              ISACCS              CO          90012458961
26134A7A961921   MARTHA            RAMIREZ             CA          90011460709
26135634A81661   DONNIE            JAMISON             MO          90010846340
261361A2572B32   ANDREW            MONTOYA             CO          90014071025
26136A51457157   ANTHONY           THOMAS              VA          90012030514
26137335691B44   ASHLEY            BELL                NC          90014363356
2613762A44B261   HEATHER           OBARA               NE          90000406204
261376A3955957   OSCAR             PONCE               CA          90014946039
26137A2844B281   TONI              KELLY               NE          90004600284
2613913819136B   TERRY             AWASOM              KS          29008551381
2613954A484364   CHRESS            JACKSON             SC          90015175404
2613969324B261   SHAYLA            KERNELL             NE          90010156932
2613B479191522   ELIJAH            TAYLOR              TX          90010274791
2613B68559712B   LENA              BROWN               OR          90010536855
2613B71957B477   ANTHONY           RENDLEMAN           NC          90006857195
26141313572B88   YESI RAQUE        HERNANDEZ           CO          33076133135
261413A9572B32   TINA              TRUJILLO            CO          33067843095
2614152744B588   EDUARDO           ROJAS               OK          21514855274
2614184379189B   ROBERT            SWANFELD            OK          90014868437
26141A39655977   JOSEFINA          BECERRA             CA          48073080396
2614241A955977   JULIE             HILL                CA          90009264109
2614393637B449   KAREN             WILKERSON           NC          90009139363
2614437437B449   DWAYNE            WORTHINGTON         NC          90000613743
261451A8431631   PAYGO             IVR ACTIVATION      KS          90007421084
261454A4684364   JAMES             BROTHERS            SC          90012874046
2614584A455957   REBECCA           LAM                 CA          48067458404
26146211A4B588   CAROLYN           ALSUP               OK          21589602110
2614647474B281   JEOVANY           MIRANDA             NE          90006544747
2614782979184B   MARIA FELIX       MADERA              OK          90011808297
26148163472B73   SHAQUOYA          HODGES              CO          90013061634
2614854279155B   EZEQUIEL          APARICIO            TX          90010065427
2614875488B188   YASMIN ANDREINA   PEREZ               UT          90011767548
2614886315B54B   MANUEL            HURTADO             NM          90014638631
26149214A72B42   ANNMARIE          PRESTON             CO          90014542140
261499A4A72B29   GEORGE            PALM                CO          90012799040
26149AA4A91828   MARCO             COOK                OK          90014650040
2614B249355977   BENJAMIN          LIRA                CA          90009792493
2614B322555977   PAUL              PERRY               CA          90003923225
2614B57A991828   CANDACE           LOGAN               OK          90010125709
2614B81249155B   DANIEL            SEGURA              TX          90006448124
2614BA8A44B261   NICOLE            DUFFIELD            NE          90011010804
2615237165714B   MARVIN            MARQUEZ             VA          90007493716
2615341A991522   ROBERT            LUCERO              TX          90013444109
26153589A93727   JASMINE           KIDD                OH          90008645890
2615366A272B29   KRISTI            AMAROSA             CO          90002326602
26155384772B98   PATRICIA          AGUILAR             CO          90001293847
2615568A891522   GONZALE Z         AMANDA              TX          90002546808
26155A8564795B   VELDA             ALANIS              AR          90010330856
2615636619189B   ERICA             MAGEE               OK          21019283661
26156988A84364   TAMMY             HAMILTON            SC          90006619880
26157A7867B477   ROBERT            MCCASKILL           NC          11018380786
26157A88455957   ANNA              HERNANDEZ           CA          90003430884
2615892145715B   LUIS              ECHALAR             VA          81077319214
261589A9A91522   MARCO             CAMPOS              TX          90009559090
2615911949184B   ALLEN             HUBBARD             OK          90013831194
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2615B888791241   CALVIN       SHIGGS                   GA          90008758887
2615B951384364   BRIAN        HOOPER                   SC          90008869513
26161185372B32   LUPITA       ROMANO                   CO          90010741853
2616137859155B   GABRIEL      DIAZ                     TX          75020443785
2616146512B27B   TAQUISHA     BRANCH                   DC          90012324651
26161A5125714B   AMANDA       DAYSON                   VA          90000120512
26162116A72B88   ROBERTA      RATCLIFF                 CO          33020751160
26163476172B88   MICHAEL      YAZZIE                   CO          90012794761
26163854A57157   CAROLINA     ESCOBAR                  VA          81022478540
261639A179189B   PAULA        GUTIERREZ                OK          90014869017
26164814572B32   CRISTHIAN    CARRASCO                 CO          90003358145
26165261772B32   AHUEDON      JONES                    CO          33033572617
2616572A731433   ROBIN        CHAFFIN                  MO          27589407207
2616655997B449   TASHIBA      MCCLELLAN                NC          90002705599
26166824272B29   DANELL       BAKER                    CO          90013868242
26167214A72B42   ANNMARIE     PRESTON                  CO          90014542140
26167476872B88   BRANDON      LOPEZ                    CO          90012794768
26167489672B29   EDITH        CISNEROS                 CO          90014994896
2616891289189B   ARMIDA       FLORES                   OK          90014869128
26169567872B32   JULIO        MORALES                  CO          33041845678
2616962814B261   RANDY        ALLEN                    NE          27035246281
2616B63189184B   BRIDGETT     WRIGHT                   OK          21018056318
2616B733455957   ERNESTO      RODRIGUEZ                CA          90015197334
26171716A72B88   MARGARITA    GARCIA                   CO          33056357160
2617176566B381   RON          GUTOWSKI                 NH          90014197656
26171A51491522   RUBIO        GABRIEL                  TX          75097670514
26172211A9184B   KALY         MCMANUS                  OK          90009032110
2617297A65B571   ANGELIC      ROMERO                   NM          35046909706
2617334517B422   AZIEB        WOLDU                    NC          90001453451
2617349529155B   ERIKA        TORRES                   TX          75096884952
261734A212B232   YOLANDA      PHARR                    DC          90003314021
26173A85484364   BRADLEY      JIMENEZ                  SC          90001660854
2617458A19189B   FELICIA      RAMOS                    OK          90010365801
26175991172B29   JUAN         MARTINEZ                 CO          33002119911
26176A84972B32   BERTHA       MORALES                  CO          33023420849
2617762375B161   JAY          SOLOFF                   AR          90003856237
2617829324B592   SANTOS       HERNANDEZ                OK          90012732932
26178327A91953   MANUEL       CABRERA                  NC          90008693270
26178A12257157   TIM          SERGENT                  VA          90012240122
26179438A2B232   JOHN         WAYNE                    DC          90005834380
26179634672B32   TABATHA A    HALSELL                  CO          33054176346
2617985664B261   SHELLY       MARSOLEK                 NE          27014148566
26179949A55957   MARIA        RUIZ                     CA          90013049490
2617B34319184B   ASTASHA      HELTON                   OK          90009093431
2617B46585B37B   BANGBA       ASEKA                    OR          90013404658
2617B884291383   TAMARA       SANDERS                  KS          90006448842
2618193218B324   SYRETTA      LONG                     SC          90009159321
26181A21957157   JULISSA      CLIMA                    VA          90012180219
26182A8868B184   JORGE        GARCIA                   UT          90007740886
2618377465B161   SHOPIELYNN   LAISEN                   AR          90011087746
2618438634B261   KENNETH      WORTMAN                  NE          90007503863
2618447887B477   JONATHAN     WILLIAMS                 NC          90007484788
26184624A91953   ANNA-MARIE   STARNES                  NC          17029226240
26184668772B32   SATENIK      HAVANISYAN               CO          33092346687
2618495A29189B   ANGELIC      BARRIOS                  OK          90014869502
26184A6539184B   ALLISON      DAUGHERTY                OK          90012090653
26185119372B32   BRIANNA      BROWN                    CO          90014391193
26185297372B29   ANTHONY      FERONA                   CO          90013812973
26186549972B32   VANESSA      BACA                     CO          90012655499
2618658914B261   ERNESTO      RIVERA                   NE          90012115891
26186738A4B588   CHASITY      WHITE                    OK          90013367380
26186A7795B161   TRESSIE      JACKSON                  AR          23005880779
2618773719189B   ERSELL       BEARD                    OK          90012547371
26188335172B88   MIRNA        MEJIA                    CO          33052233351
26188463772B32   GETHSEMANE   TEMPLE                   CO          33034844637
2618896659189B   JACQUELINE   DAVIS                    OK          90014869665
2618967455714B   OBISPO       JUARES                   VA          90004406745
261896A393B364   TERRI        MEANS                    CO          90006966039
26189829172B32   BRANDY       JONES                    CO          90011038291
2618B3A494B281   JOSE         ROLANDO                  NE          90000173049
2618B75A47B449   JOHN         COFFIN                   NC          90011477504
2618BA75261985   JUAN         BENAVIDES                CA          90006380752
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2619197199189B   DEAWNA         BROWN                  OK          90014869719
26192131772B29   JEREMIAH       CHILDS                 CO          90008811317
2619274977B449   ROBIN          HAYES                  NC          90013597497
26192A6434B281   LORAINE        LAFFERTY               NE          90010500643
2619397369189B   GLORIA         LUJANO                 OK          90014869736
26193AA4255977   ORLANDO        MENDOZA                CA          90007990042
26194A4227B471   CLEOFE         REYES                  NC          90004260422
26195A9675598B   SERGIO         LOPEZ                  CA          90009610967
2619664A441B41   BAYRON         MENDEZ                 MD          90003086404
26196692A55931   MARGARITA      GUTIERREZ              CA          49061156920
2619682639155B   ELIZABETH      SIERRA                 TX          90005458263
2619789182B28B   GINA           MILLER                 DC          90010508918
2619798189189B   CHRISTINA      RYAN                   OK          90014869818
26198131A5B161   EARL           WESTBROOK              AR          23020451310
2619839A19184B   LAURI          MAGANA                 OK          90014583901
2619944274B588   DEVON          BENNET                 OK          90014624427
261B12AAA2B27B   ANA            ESCOBAR-RAMIREZ        DC          90012372000
261B1631A4B543   ELMA           ELIAS                  OK          90008306310
261B18A9272B42   NELSON         CARRILLOS              CO          33071948092
261B1A8149189B   LAURA          CIROCCO                OK          21003690814
261B2116281661   ERIC           J PETERSON             MO          90001891162
261B2285391828   JACKIE         CAFFEY                 OK          21096652853
261B2334941245   SHYRON         DYER                   PA          90012663349
261B2427A5B161   THERESA        JOHNSON                AR          23075284270
261B2558172B32   ROBERT         KASLOW                 CO          33027985581
261B2571131631   JIM & MELODY   HARRISON               KS          90015205711
261B275339155B   MANUEL         CASAS                  TX          75098777533
261B314154B281   SHERIE         OROZCO-RAMIREZ         NE          90004521415
261B3226855957   NORI           PACHECO                CA          90007842268
261B3513793753   CHRIS          MORELAND               OH          90000545137
261B443422B27B   ERIKA          ARNOLD                 DC          90013204342
261B444585B247   CANDACE        SCOTT                  KY          90014794458
261B448565B571   JOEL           RODRIGUEZ-MIRAMONTES   NM          90003374856
261B4698151322   DANIEL         PFIRMAN                OH          90004006981
261B4852931631   REBECCA        GRACY                  KS          22097638529
261B5A39831631   JOHN           ROBINSON               KS          90000130398
261B6435172B88   DERRICK        OGMAN                  CO          90012634351
261B6445155977   EVA            ARENIVAS               CA          90012574451
261B656A94B261   GRACE          MONTES                 NE          90013225609
261B6926A91953   AKUL           NGONG                  NC          90014499260
261B6987572B29   TENEILL        THOMPSON               CO          90013829875
261B69A7A84364   TERRY          WALTON                 SC          90013769070
261B7155891953   JOSSELIN       ESCOBAR                NC          90015141558
261B7226855957   NORI           PACHECO                CA          90007842268
261B7432791828   SHAWN          MITCHELL               OK          90014874327
261B752727B471   SHERYL         HILL                   NC          90013215272
261B85A9A84364   CHRESS         JACKSON                SC          90015175090
261B8625391522   KAYLA          WILSON                 TX          90013566253
261B864584B592   STEVEN         NICHOLS                OK          90001096458
261B877699184B   CARMEN         GIBNEY                 OK          90010757769
261B8817955977   JANET          PUGA                   CA          48047448179
261B8916151369   KATHERINE      UPSHAW                 OH          90009089161
261B9235A84364   GUY            AHLSTROM               SC          90014802350
261B9297A5715B   JAUNTO         DE LEON                VA          81015722970
261B9434291953   EVELIO         GARCIA                 NC          90011254342
261B954A29155B   VERONICA       MIRAMONTES             TX          75036605402
261B9938857157   ROBERT         GOFFREDO               VA          81025869388
261B9A38891241   ELIZAMA        BECERRA                GA          90006110388
261B9A81972B32   STACI          VIGIL                  CO          90011950819
261BB645481661   OMINI          ANDERSON               MO          29048956454
26212526472B42   SHAWN          DOZIOR                 CO          33052675264
2621275894B261   BRANDON        BYRD                   NE          90014957589
2621282915B161   ERICA          PITTS                  AR          90010998291
26213482272B29   MARCO          JIMENEZ                CO          90012374822
2621364655B161   EMILY          IVES                   AR          90014696465
262138A5291528   SANDRA         HERNANDEZ              TX          75093798052
26213A6595715B   CLADI          GARCIA                 VA          90006330659
26213A78372B42   ALMA           PLAZOLA                CO          90004910783
2621462169136B   LASHEIA        WILLIAMS               KS          90006796216
2621468A59184B   RICARDO        SALINAS                OK          90001986805
26214A3719189B   MICHAEL        HEATH                  OK          90014870371
26215876372B88   MICHAEL        KLEIST                 CO          33036558763
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2621592A84B281   BRANDY       GERREN                   NE          27026399208
26215A64191522   BRANDY       LIPAROTO                 TX          90003890641
2621618A972B29   ANTOINETTE   BAKER                    CO          90014741809
26216658A72B42   SOCORRO      PERALES                  CO          33058766580
26217761724B6B   JOSE         COLINDRES                VA          90013527617
26217A84857157   JORGE        GOMEZ                    VA          90000650848
262194A335B161   KEVIN        CURRY                    AR          90013054033
26219927A4B281   AMANDA       TAYLOR                   NE          90010299270
2621B117884364   CHANCE       ROBERTS                  SC          90013951178
2621B39924B588   MYCHAELA     DAVIS                    OK          90010863992
2621B774691828   RAFAEL       TORRES                   OK          90014727746
2622115274B261   RONALD       KARNETT                  NE          27047561527
2622139A19184B   LAURI        MAGANA                   OK          90014583901
2622173249152B   JORGE        GIBBS                    TX          90008677324
26221733472B32   MARIA        GONZALES                 CO          90011597334
26221847372B88   ANA          MARTINEZ                 CO          90013028473
26222A73781661   WILL         SHAUIB                   MO          90010500737
2622389474B261   STEVE        FOSTER                   NE          27002108947
26223A55777523   ALLAN        LEMUS                    NV          90010680557
2622475425B161   MONTEZ       PORTER                   AR          90014567542
262248A4855977   SILVIA       URBANO                   CA          90014468048
2622581269184B   ARMANDO      MUNOZ                    OK          90010758126
26225A18251369   ADAM         THOMSSON                 OH          66092940182
26225A4567B471   ISMAEL       TERAN                    NC          90004260456
2622628568B324   CHANDRIA     DICKERSON                SC          90000992856
262263A1A7B477   ASHLEY       SANDERS                  NC          90011623010
2622657854B261   JEFF         BANFIELD                 NE          90005435785
26226691572B32   MARIA E      LOZANO                   CO          33054176915
26226A5789189B   GRANT        LOHNBAKKEN               OK          90014870578
262274A665B571   JOLEANA      PARMENTIER_LUJAN         NM          35088584066
26227729A41245   THOMAS       SUPRA                    PA          90006387290
262283AA272B29   LORRAINE     SANTANA                  CO          33048353002
2622867839189B   KELLY        PARKER                   OK          90014876783
2622B66697B477   AMAIIA       JIMENEZ                  NC          90012676669
2622B88139136B   VICTOR       SILVEYRA                 KS          29033758813
2622B95338B182   JEREMY       PAINTER                  UT          90007809533
2622BA59781661   LELA         CONLEY                   MO          29063590597
2622BA6A59189B   JEFF         DAVID                    OK          90014870605
26231A91885938   SAMUEL       RODRIGUEZ                KY          90009580918
26232953772B29   CHANTAE      MARTINEZ                 CO          90005949537
2623317289184B   SUE          DUNCAN                   OK          90013831728
262333A4472B42   MIKE         LOPEZ                    CO          90010733044
2623437946B134   ARTEMIO      LLERNANDEZ               MS          90015363794
26234446772B29   NOE          OSORNIO                  CO          90014444467
2623444699155B   NANCY        LOPEZ                    TX          75094484469
262346AAA4B281   EMILY        MCVEY                    NE          90011706000
2623477927B449   MANUEL       SANCHEZ                  NC          90015187792
2623486495B161   MICHEAL      HILL                     AR          90012878649
26234982272B29   MARIA        CARDOZA                  CO          33074109822
26235416972B88   MONICA       GOODBURN                 CO          33050794169
2623559374B281   JODI         HOMER                    NE          90006405937
2623635859155B   ANA          CENICEROS                TX          90002733585
26236758772B32   JAVIER       CRUZ                     CO          33002357587
2623819A45B28B   ABEL         DELGADO                  KY          90000471904
26239424A85B6B   MICHELLE     HOULDIN                  FL          90015424240
262394A215B243   GLORIA       JACOBS                   KY          90015114021
26239571A57157   LASHANDA     BAKER                    VA          90010285710
2623978944B588   TYREKE       JONES                    OK          90006847894
2623B224576B8B   DANIELS      ALAN HINTON              CA          90013072245
2623B77925B161   DORIS        CLINKSCALE               AR          23020677792
262415AAA57157   MIZANE       BORELAND                 VA          90013935000
2624188157B449   WILBERT      BROGAS                   NC          90013248815
2624247A74B588   BRANDON      HUGHES                   OK          90012464707
2624289825B571   LORIANN      ROMERO                   NM          90003378982
2624339575B571   ANTHONY      MARTINEZ                 NM          35092893957
26243839A91522   JOSE         ESCARCEGA                TX          75083258390
2624456397B449   ALONZO       WASHINGTON               NC          90014755639
2624545A872B88   ROSALES      SALVADOR                 CO          90000904508
2624567849189B   NICHOLLAS    LANKFORD                 OK          90014876784
26246292A57157   JESSICA      PAREDES                  VA          90012752920
26246668872B42   ADRIAN       ONTIVEROS                CO          33023376688
2624732635B161   SHUNATEL     SAIN                     AR          90014573263
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2624745124B553   ARTURO       RODRIGUEZ                OK          90010674512
2624745659133B   MEOLETHA     NEWTON                   KS          29003674565
26247978272B32   BOBBIE       ROLLINS                  CO          90014579782
262487AA39189B   JOELLA       BEBEE                    OK          90014877003
2624893132B232   BREANNA      WOMACK                   DC          90005839313
26249338172B42   CAROLINE     PASILLAS                 CO          90010233381
26249469A9184B   MONICA       MARKHAM                  OK          21049174690
2624971852B27B   AJA          BRYCE                    DC          90015097185
26249765472B88   VANNESSA     SOTO                     CO          90004107654
2624B671377562   FRANCO       BRIAN                    NV          90008356713
26251A8A94B281   GINA         KENNEDY                  IA          90008050809
2625267237B477   ISAAC        VIVEROS BAUTISTA         NC          90011626723
2625298464B261   BROOKE       TIEDEMAN                 NE          27052579846
2625321A831631   CLAUDE       HALE                     KS          90013932108
2625498A591241   GEORGE       BETTERSON                GA          14579569805
2625573A14B588   SAYLOR       HANNA                    OK          90014027301
26255936172B88   RHENNA       RIVERA                   CO          33078929361
2625619584B261   TRISHA       CHLEBINSKI               NE          90002741958
2625673369189B   NOE          THOMPSON                 OK          90014877336
2625842639136B   ANA          ROTHWELL                 KS          90006774263
26258429272B29   REBECCA      CASTILLO                 CO          90015264292
26258587172B29   ANGEL        RAMIREZ                  CO          90013055871
2625874169189B   ANSHANIQUE   MONDAINE                 OK          90014877416
2625916823B333   JOSHUA       JOHNSON                  CO          33054471682
2625969499184B   ALISON       THOMAS                   OK          90008716949
26259A57384364   AMBER        WILLIAMS                 SC          90010920573
2625B484191522   NORMA        HERNANDEZ                TX          75007764841
262611A5A72B88   ARMANDO      TORRES                   CO          90009801050
2626128212B27B   BRIAN        COLES                    DC          90012442821
2626132839184B   BETTY        ARROYO                   OK          90014623283
262614A119155B   OMAR         GUZMAN                   NM          75008304011
2626219815B226   PEGGY        LEWIS                    KY          68058321981
2626257819184B   ROBERT       MILLION                  OK          21034225781
2626275993B347   BRIAN        MARTIN                   CO          90005617599
2626286465B271   ANGELA       RANEY                    KY          90000318646
26262A14155957   BRIANA       HERNANDEZ                CA          90014820141
2626316A431445   JOHN         SHARKEY                  MO          90013331604
2626337A872B32   THOMAS       MCGETTIGAN               CO          90014443708
2626354AA9155B   EZEQUIEL     RUBIO                    TX          75098245400
2626423785137B   KASEY        VAUGHN                   OH          90011222378
2626425364B588   JESSICA      HAYES                    OK          90013092536
2626469892B27B   PHILLIP      PUGH                     DC          90013686989
26264A98255957   ERNESTO      RAMIREZ                  CA          48062350982
26265632A5B571   AMANDA       ABERLE                   NM          90013616320
26265A9AA47942   CHARLIE      MATTHEWS                 AR          25070020900
26266587A31631   MONTANA      HOLTFRERICH              KS          90013485870
2626776269189B   KRISTINA     LONG                     OK          90014877626
26267A57872462   NICOLE       GEORGE                   PA          90008490578
26268879A72B86   JUAN         ASTORGA                  CO          90005478790
26268A74872B29   AMANDA       SORRENTINO               CO          90008210748
26268AA7A5B571   CRYSTAL      CASAREZ                  NM          90004700070
2626962637B471   SHAWN        COLLINS                  NC          90014866263
2626B18274B588   VINCENT      JONES                    OK          90014001827
2626B425855957   LAURA        RODRIGUEZ                CA          90012684258
2626BA2182B232   TERRENCE     STROMAN                  DC          90005840218
26271145672B29   ILEANA       MARTINEZ                 CO          90005101456
262722A1957157   RUBEN        ROMERO                   VA          90006282019
26272381A9184B   KATHERINE    BROWN                    OK          90009893810
26272483A57157   RATHA        SARATH                   VA          90011614830
2627289369189B   BRYAN        LA NEAR                  OK          90008858936
26272921272B32   JAMES        GEHRIG                   CO          90012249212
26273115A61951   ANTONIO      PAREDES                  CA          90011401150
26273585A55977   JESSICA      CASTELLANOS              CA          90014155850
2627377229189B   NAKESHA      MARTIN                   OK          90014877722
2627435A284364   SHAWN        BROWN                    SC          90011293502
262745A9591241   KAREEMIA     POLITE                   GA          90005515095
2627477739189B   MICHAEL      JAROSZ                   OK          90014877773
2627551A741245   JOANN        MILLER                   PA          90014745107
26275912772B88   ROSEANGELA   GALLEGOS                 CO          90012219127
26275956A55977   DEBORAH      FELIPE                   CA          90007639560
2627659914B261   MICHEAL      KNOLL                    NE          90013555991
26276A31372B42   JULIO        SULCA                    CO          33069810313
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262777A2791953   SARAH           DUNN                  NC          90013137027
26278162772B29   JAIME           HERRERA               CO          33002791627
262784A324B281   DENISE          BOJE                  NE          27022084032
2627852247B471   WILLIAM         ECKERMAN              NC          90007415224
2627915477B477   MARK            LEDFORD               NC          90000881547
2627931A472B88   DANIEL          VALDEZ JR             CO          33044663104
26279A17972B26   ANTHONY         BEREAL                CO          90001660179
26279A96A84354   ANTOINE         MALONE                SC          90014520960
2627B116291522   JESSICA         RASCON                TX          90014761162
2627B242A91528   LISA            DE LA O               TX          75017532420
2627B91175B161   DEMETRIUS       SPENCER               AR          90011089117
26281531A72B29   TODD            BENSON                CO          90014105310
26281956A55977   DEBORAH         FELIPE                CA          90007639560
26281A44A41B26   MARK            PELLINGER             MD          90015440440
2628213422B27B   LISA            ADELAKUN              DC          90001421342
26282473472B42   LIDIA           DIAS                  CO          33090474734
2628338845B161   TERRY           COLLINS               AR          90014573884
2628353A15B571   CATHERINE       NELSON                NM          35015705301
2628361A455977   ANAYA           PATRICK               CA          90008396104
26283643372B88   ERIKA           MARTINEZ              CO          90013496433
26283751672B42   JENNIFER        ARELLANO              CO          90011307516
262839A7872B32   THOMAS          MOREY                 CO          90012459078
26285169572B88   DOMINGO         ASENCIO               CO          90013821695
2628534357B477   HEATHER         CARTER                NC          90011633435
262857A892B27B   TINA            HAWKINS               DC          90010067089
26286522972B29   MAURA           BAUTISTA              CO          90005775229
2628656594B588   LASHAWN         TURNER                OK          90013695659
26286663672B42   PHIL ANTHONY    JUAREZ                CO          90015366636
26286A38A4B261   ASHLEY          ZAPETA                NE          90014530380
2628782AA91522   DEZERAE         VANVERTH              TX          90013828200
262878AAA81661   JULIA           CORE                  MO          29040228000
26287A84357157   JOSE            ROMERO                VA          90007330843
2628834945B375   TONY            MORGAN                OR          90005703494
2628942955B161   TAYLOR          EVERETT               AR          90014574295
26289592772B29   EVELIN          PACHECO               CO          90015145927
2628964AA31631   JONNIE          HODGES                KS          22087856400
262898A7A9184B   MARCELINO       LEAL-PEREZ            OK          21000798070
2628B28824B564   ERIC            CALHOUN               OK          90012192882
2628B38A172B32   OFELIA          BENITES               CO          90013273801
2628B546172B32   ALICIA          MARTINEZ              CO          33064055461
2628B868457157   ELMER ENRIQUE   CORTEZ NOLASCO        VA          90007718684
26291A6539184B   ALLISON         DAUGHERTY             OK          90012090653
26292613972B88   CASSANDRA       GARZA                 CO          90007866139
26293A29A84364   MICHAEL         COHEN                 SC          90014330290
2629437A955977   FELIPE          LOPEZ                 CA          90010913709
262943A929184B   LISA            RUSHING               OK          90009903092
2629463119155B   JULIE           SOTO                  TX          90001146311
26295299A5715B   ROSA            MONTESINOS            VA          81078752990
26295413772B88   SHANELLE        LOPEZ                 CO          33071434137
26295A85A9136B   LORETTA         WALLER                KS          90007910850
26296221791B38   ELGAR           GUIFARRO              NC          90015432217
2629648767B477   LAURA           MARTINEZ              NC          11049684876
2629687A972B42   EVELYN          SAILAS                CO          33071598709
26297252A8B151   LONNIE          TRUJILLO              UT          90003452520
2629742763B347   ARACELI         BELOERA               CO          90003544276
26297463572B35   MARGARET        NOVARIA               CO          90008074635
2629785A29189B   ALEX            MARTIN                OK          90014878502
262986A4672B42   ANGEL           MORALES               CO          33011366046
26298789772B88   WINNIA          SANCHEZ               CO          90013637897
26298A35372B32   BETTY           SCOTT                 CO          33067030353
26299A3779155B   AIME            TERAN                 TX          75045100377
2629B889972B29   NELSON JOEL     GALDAMES CRUZ         CO          90007558899
262B1179231631   JEFF            HALE                  KS          22065671792
262B197369189B   GLORIA          LUJANO                OK          90014869736
262B2421871224   KATIE           LAUDON                IA          90001284218
262B25A5685998   TAYLOR          BAKER                 KY          90010605056
262B299379189B   LATOYA          OSBORN                OK          90014869937
262B3672A51339   SABRINA         BARROWS               OH          90011206720
262B3742257157   LISA            SMITH                 VA          90013507422
262B3789831631   OSORNIO         VICENT                KS          90012067898
262B399379189B   LATOYA          OSBORN                OK          90014869937
262B399934B261   COREY           SCHWALM               NE          27096219993
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262B412949189B   JERRY        KELLEY II                OK          90013221294
262B461249184B   CORIE        MCGUIRE                  OK          90001316124
262B4896691522   DANIEL O     HURTADO                  TX          90007028966
262B5442881661   SANDRA       SIMENTAL                 KS          90009304428
262B656517B449   CARRIE       GRANT                    NC          11080375651
262B67A175B161   ERICA        LEMONS                   AR          90014567017
262B7496491227   WORKS INC    RIVER OAKS WATER         GA          14506114964
262B7573572B32   LYDIA        HINOJOS                  CO          90013255735
262B761574B261   EDWARD       MCMAHON                  NE          90007036157
262B7926572B88   ABEL         PIZANA                   CO          33098849265
262B8874672B32   ALEJANDRA    GARCIA                   CO          90013318746
262B88A529184B   TAD          SAMPSEL                  OK          90009398052
262B8939A55957   CLAUDIA      MARR                     CA          90012549390
262B8A8315B271   DIANA        HORN                     KY          68084010831
262B9629855957   JESSICCA     GOODMAN                  CA          48089556298
262BB32989189B   DONALD       DEBOSE                   OK          90013293298
262BBA92857157   YORLENI      PALACIOS                 VA          90013050928
263113A5772B29   NICKI        DEE                      CO          90013753057
2631313294B521   MARILYN      MOORE                    OK          21517361329
26314343472B29   MIRIAM       MARTINEZ                 CO          90012413434
2631447142B27B   SHELLEY      RHODES                   DC          81058694714
26314A24A91522   JAIME        LUNA                     TX          75077410240
2631523334795B   MARIA        BERRUM                   AR          25079512333
26315342972B38   SHANNEN      SILVA                    CO          90009253429
2631535714B588   KITTRA       WEISS                    OK          90013433571
2631548A151333   GAYE         HUMPHREY                 KY          66089404801
2631599489155B   OSCAR        NUNEZ                    TX          90000949948
2631653A872B88   MIKE         SMITH                    CO          90013855308
2631689549184B   RONNELLE     SIMS                     OK          90013838954
26316A13772B32   ELEAZAR      CUNYAS                   CO          90014590137
2631713859189B   ANGELA       MCGREGOR                 OK          90007411385
2631869399184B   MICHAEL      BANKS                    OK          90011986939
26318859A72B88   NAKIA        BOYCE                    CO          90013028590
2631B156491828   YESIKA       GONZALEZ                 OK          90012451564
2631B439193757   IDA          COCHRAN                  OH          64556834391
2631B631872B29   PATRICK      DESELMS                  CO          90001586318
26322887772B32   ANGELICA     GARCIA                   CO          90014868877
2632358749184B   DYANE        NEAL                     OK          90013535874
2632375844B588   EDUARDO      IBARRA AGUINAGA          OK          90012547584
2632468394B281   CHARLES      SPRAY                    NE          90001196839
26325174A72B29   KARLA        CHAVIRA                  CO          90005521740
263254A764B588   JENNA        THOMAS                   OK          21586664076
2632554919184B   DANIEL       THORNTON                 OK          90013915491
2632565A92B27B   HELENA       JOHNSON                  DC          90006486509
2632593789189B   JOSE         ALVARES                  OK          90014879378
263266A8A91528   YURIDIA      CARBAJAL                 TX          90006806080
26326745A9184B   CHARLES      REED                     OK          90013237450
2632756A47B449   JENNY        HERNANDEZ RENTERAL       NC          11058455604
2632786984B588   GREGORIO     ARZOLA                   OK          21573338698
2632795A79189B   RITA         CUELLAR                  OK          90014879507
26327A84A3B333   STEVEN       SWEENEY                  CO          90002850840
263281A8657157   EMMA         HOLLINS                  VA          81006811086
2632845643B39B   JACQUELINE   SALAZAR                  CO          33086384564
263287A5272B32   TAMUNGO      MISAGWE                  CO          33011847052
2632895A79189B   RITA         CUELLAR                  OK          90014879507
2632942644B588   MARIA        RODRIGUEZ                OK          90012774264
2632995A79189B   RITA         CUELLAR                  OK          90014879507
26329998197B67   MICHAEL      FLORES                   CO          90007159981
26329AAA831631   TIKEYAA      EDWARDS                  KS          90007100008
2632B853757157   IRMA         SIMS                     VA          90011628537
2632B9A497B449   JUAN A       RODRIGUEZ                NC          90014009049
2633186269189B   MIGUEL       ROJO                     OK          90009608626
2633213A984364   PARIS        COAXUM                   SC          90014901309
263323A9477523   JOELEEN      HARMS                    NV          90014583094
2633247192B232   LAKENYA      TWITTY                   DC          90005854719
2633415535B571   ABEL         DIAZ                     NM          35056881553
26334496972B88   JOLENE       MANZANARES               CO          90012794969
2633497489189B   ROBIN        BERTELLI                 OK          90014879748
26335144872B42   CHAS         RICHARDSON               CO          90013821448
26335384A4B281   JOHN         WALLACE                  NE          90002263840
26335745772B88   ANGELIC      VIGIL                    CO          90014147457
26336245472B88   JASON        TOUCHSTONE               CO          90012852454
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26336873972B32   JOYCELYN     HARDIN                   CO          33055518739
2633688176B931   REYNA        CRUZ                     NJ          90015008817
26336A79747965   DOUGLAS      LUBBE                    AR          90007770797
263371A2931631   LASHIRA      WOODS                    KS          90002951029
2633735467B449   BRIANNE      BOYCE                    NC          90012113546
2633751822B27B   HASHIM       BONEY                    DC          90005575182
2633758884B588   REBECCA      RATLIFF                  OK          90001175888
263376A5872B35   LORENA       CASTRUITA                CO          90011046058
26337733872B29   RAQUEL       PARRAS                   CO          33097547338
2633828A34B588   NICOLE       CARSON                   OK          21590842803
2633866935B161   BRANDI       HOLMES                   AR          90014576693
26338983772B88   JOSE         ESTRADA                  CO          90012779837
26338A7A876B4B   SANTOS       VASQUEZ                  CA          90011460708
26339617172B73   CARMEN       ORTIZ                    CO          33071856171
2633B59895B161   ERICA        JEFFERSON                AR          90013685989
2633B638591522   ANA          GARCIA                   TX          90013356385
2633B71834B281   JESSICA      ROSE                     NE          27025147183
2633B921A4B588   ANGELA       VINEY                    OK          21558499210
2634166935B161   BRANDI       HOLMES                   AR          90014576693
26342358372B29   BILLIE       POWELL                   CO          90013603583
2634292A37B275   BLANCA       BARRASA                  AZ          90014319203
2634314685B232   ANGELA       DEBERRY                  KY          90008531468
2634351194B588   JAMES        MELAND                   OK          90013465119
26343A3A15B161   CAROLYN      SMITH                    AR          23055120301
26343A9235B571   JUDY         DUTIL                    NM          90003380923
2634451234B588   TAMMY        CUTLER                   OK          90008035123
26344A32272B88   JESSE        VAZQUEZ                  CO          33002540322
263474AA884364   ELLIS        FUNNEY                   SC          90013114008
26347A65472B32   ABDULLATIF   HAGI SHIRWA              CO          33022980654
2634859524B588   ROSXCOE      HAWKINS                  OK          90014455952
26349A4A772B32   ALEX         TUJILLO                  CO          90014490407
2634B876972B88   ADAM         LIVSEY                   CO          90014418769
26351388572B44   LUZ          ASCENCIA                 CO          90010433885
2635212A472B42   EMELIA       ESPINAL                  CO          90014321204
2635268445136B   PATRICIA     WHITMIRE                 OH          66015756844
2635272169189B   MARIA        NUNEZ                    OK          90014887216
2635284228B168   CLAUDIA      REANEY                   UT          90014538422
2635336925B161   NAKISHA      DEADMON                  AR          90013223692
263534AA884364   ELLIS        FUNNEY                   SC          90013114008
2635368445136B   PATRICIA     WHITMIRE                 OH          66015756844
2635423199184B   DAELYN       DOWNING                  OK          90013832319
26355489172B29   KARLA N      RODRIGUEZ                CO          90012374891
26356322172B32   GAIL         MARMO                    CO          33067033221
2635655894B588   RENE         ORTEGA                   OK          90014945589
2635656A52B27B   HARVEY       DENT                     DC          90014655605
2635666315B161   TOYA         JACOB                    AR          90014576631
2635713299184B   ANGELA       MOORE                    OK          90012901329
26357586872B29   AL           GARCIA                   CO          90014715868
2635775618B136   ADRAINE      UHOUSE                   UT          90009827561
26357A4339189B   HOLLY        LEWELLIN                 OK          90014880433
2635837842B27B   JADA         PARKER                   DC          90013843784
2635838465B57B   TENESHA      ROBBINS                  NM          90009043846
26358582972B32   IRENE        PANDO                    CO          33014285829
26358A4339189B   HOLLY        LEWELLIN                 OK          90014880433
2635929A37B449   TANIA        FLORES                   SC          90014152903
2635B25547B449   MARIA        RAMOS VIDAL              NC          90013982554
2635B31377B449   MORGAN       HUNTER                   NC          90001983137
2635B6AA772B29   FAUSTINITA   MARTINEZ                 CO          90004106007
26361321572B88   RICARDO      PEREZ                    CO          33076663215
26361717672B98   OLIVIA       MANZANO                  CO          90008647176
2636171944B261   JOHN         BEAMAN                   IA          90014417194
26361A6539184B   ALLISON      DAUGHERTY                OK          90012090653
2636223494B588   AHNDREA      BOYIDDLE                 OK          90008762349
263631A6572B88   JUSTINA      SALLE                    CO          90008541065
2636358552B27B   RENEE        FLOURNOY                 DC          90010215855
2636361849184B   JENNIFER     MAXEY                    OK          90010656184
2636364625B161   ASHLEY       TATE                     AR          23000636462
2636415654B281   TARNESHA     MIDDLEBROOKS             NE          27075551565
2636418A197132   PHILIP       PATTERSON                ID          44591471801
26365397572B32   MELISSA      GILLISPIE                CO          90011993975
263657AA855957   ORLANDO      JIMENEZ                  CA          90015387008
2636668A672B29   MICHEAL      GRUCEL                   CO          90015026806
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2636674965752B   DAVID                MELCHER          NM          90010687496
2636722825B271   MICHAEL              G. KELLY         KY          68095442282
263675A8691528   LLUVIA               PALACIOS         TX          90001945086
2636761284B588   JENNIFER             RUTH             OK          90011126128
26367933372B42   AMANDA               FRYE             CO          33006899333
26367A1348B182   WENDY                BARNEY           UT          31054850134
26368A7195B161   TERESA               BUNCHE           AR          23073710719
26369333172B32   JUAN                 TORRES           CO          90011483331
26369457A85B32   JONISHIA             WHITAKER         FL          90015394570
26369A54257157   DAVY                 CHAWU            VA          81027480542
2636B2AA572B32   ATALIA               MARRUFO          CO          90002222005
2636B767991953   FRANCISCO            NAVA MENDOZA     NC          17022767679
2636B8A519189B   NATALIE              FOSTER           OK          21088298051
2636B9A726193B   DOROTHY              HENTON           CA          46086319072
2637131392B27B   RACHEL               EVERETTE         DC          90013243139
2637197154B281   MELINDA              DOMINGUEZ        NE          27015159715
26371AA724B588   BRITANY              LATTA            OK          90010700072
2637217A991528   MILCHA               BERMUDEZ         TX          75084681709
2637242755B161   LAURA                ECKLER           AR          23010064275
2637288175715B   WALTER               LOPEZ            VA          81079058817
26373624887B69   DORETHEA             THREADGILL       AR          23001366248
26373763A72B32   JAMES                MONTOYA          CO          90007427630
263739A3572B88   JUSTINE              TRUJILLO         CO          90013989035
26374A7449189B   JASON                BILLS            OK          90014880744
26375481176B67   TERESA               HOLGUIN          CA          90012504811
2637562958B324   ANGELA               HOLLEN           SC          90012626295
26377478872B42   CHRISTOPHE           GUIVER           CO          33021434788
2637861294B588   CHELLE               JONES            OK          90010136129
2637867624B261   RAFAEL               GONZALEZ         NE          90012466762
2637874AA91522   MARTHA               ESTRADA          TX          90012017400
2637887579155B   JOSE                 HERNANDEZ        TX          90002408757
26378A8189189B   KEVIN                ROBINSON         OK          90014880818
26379246A5B161   SHAVETA              MCKAY            AR          23084002460
26379A8189189B   KEVIN                ROBINSON         OK          90014880818
2638139414B588   CRUZ                 ROMAN            OK          90010983941
2638179755B247   HUBERT               PAYTON           KY          90014967975
2638264A961974   MARICELA             BARBOSA          CA          90003476409
26382A15391828   ANDREA               BURGESS          OK          90012330153
26382A8569189B   PAMELA               ZUIDEMA          OK          90014880856
2638339AA84364   JOHN                 CAMPBELL         SC          90005983900
2638415295B161   JEREMY               MILAM            AR          90011091529
263846A2655957   JUAN                 ORTIZ            CA          90001506026
263856A274B261   AUSTIN               SULLIVAN         IA          90009176027
26385A97191953   INFINI               HERNANDEZ        NC          17027810971
2638643524B588   ADAM                 JOHNSON          OK          90007834352
2638737692B395   LUT                  MUHAMMAD         CT          90014173769
2638852584B588   STEPHANIE            MARTIN           OK          90007605258
263888A2855957   YLSSA                ARIAS            CA          90013608028
2638BA8189189B   KEVIN                ROBINSON         OK          90014880818
26391416472B29   BETINA               GALINDO          CO          90013694164
2639178367B449   CRISSILA             VINES            NC          90004417836
2639231214B281   ANDREW               MINISTER         NE          27008283121
26392A7145B244   KIM                  BYARS            KY          68094530714
26393898A4B553   MARIA                FIERRO           OK          90003738980
2639431A15135B   DONNA                KNOTTS           OH          90003623101
26394919572B42   RUDOLPH              LEE              CO          90013509195
26394A75972B32   NATALIE              HOLIFIELD        CO          33094890759
26395127A55989   REBECCA              SLONE            CA          90011301270
2639523A99184B   TERRY                ELLISON          OK          21063912309
2639526814B588   TERESA               SELLERS          OK          21589322681
26395316672B86   BOUBAKARY            SOUMAH           CO          90008503166
2639561237B449   CLAUDIA              JUAREZ           NC          90002506123
2639667627B471   CASSANDRA            SMITH            NC          90002266762
26397127A55989   REBECCA              SLONE            CA          90011301270
26397139472B29   PANFILO              CALVA            CO          33063611394
2639715295B161   JEREMY               MILAM            AR          90011091529
263972A259184B   HOPE                 WIDNER           OK          90000592025
2639766425B161   MARTISHA             WRIGHT           AR          90013296642
2639819364B281   SCOTT                IVERSON          IA          27000301936
26398475672B29   JOSE                 HERNANDEZ        CO          33008934756
26398559172B32   ANNETTE              PALMA            CO          90002235591
26399425A72B42   MANUELA DEL CARMEN   KANTUN-KANTUN    CO          90013264250
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26399475172B29   COSME        DUARTE                   CO          90011234751
2639952315B161   KENESHA      WITHERS                  AR          90008895231
2639969667B477   JOSSUE       FONTES SANCHEZ           NC          90012236966
26399A13272B32   KRISTOPHER   GARCIA                   CO          90014160132
2639B125691241   FREDDY       BURNSED                  GA          14591081256
2639B26424B58B   ELIZABETH    CABRAL                   OK          90008842642
2639B419331631   BRYANT       HOWARD                   KS          90008604193
2639B4AA355935   JUVENTINO    RAZO                     CA          90013104003
2639B59A29155B   LISA         NARANJO                  TX          75098275902
2639B93489136B   RIQEL        FREEMAN                  KS          29097519348
263B1144991953   ROBERTO      ROMERO                   NC          90006271449
263B1172A5B271   WENDY        WHITE                    KY          68040841720
263B144832B235   BERNICE      RINK                     DC          90000974483
263B169193B352   FRANK        MARTIN                   CO          90006196919
263B1A1AA9189B   ANGELEA      LEE                      OK          90003430100
263B1AA166196B   RAMATOU      MEWADA                   CA          90008990016
263B2151972B41   KARIME       LOPEZ                    CO          90009671519
263B2195884364   BRANDON      TYLER                    SC          90015251958
263B2227191893   MARY         SWEEDEN                  OK          90004182271
263B291965715B   TEODORO      RAFAELANO                VA          81078759196
263B3497572B32   JANIS        PHILLIPS                 CO          33077114975
263B385849189B   JAMAL        HONOR                    OK          90014878584
263B423514795B   LINDA        DENARD                   AR          25074932351
263B4347291828   ANDREW       GOFORTH                  OK          90007283472
263B4556A72B29   ADAM         HUERTA                   CO          90007405560
263B4711A7B449   GABRIEL      JUAREZ                   NC          90015137110
263B4751657157   EDWIN        PORTILLO                 VA          90012527516
263B4886255977   MIGUEL       RODRIGUEZ                CA          90008738862
263B4958991953   SARA         CIESLA                   NC          17078679589
263B5491972B88   MARISELA     RENTERIA                 CO          90012794919
263B557652B27B   ENSEEBIO     OHCAN                    DC          90010685765
263B571A947952   JENNIFER     COLLINS                  AR          24018817109
263B5725933638   SAUL         GALLEGOS                 NC          90001697259
263B617368B182   ASTELLA      BROADHEAD                UT          90004581736
263B6271531631   ANYELICA     CASTENEDA                KS          90011202715
263B62A639184B   KENNETH      NICHOLSON                OK          21020892063
263B687A64B281   WYATT        BELL                     NE          90006358706
263B689114B261   CARMEN       AGUILAR                  NE          27005618911
263B876454B588   APRIL        DOTSON                   OK          90004057645
263B895567B477   SHELBY       DAVIDSON                 NC          90012469556
263B8A42255957   NANCY        PRIETO                   CA          48077560422
263B9199A72B42   JUDITH       GARCIA                   CO          33055221990
263B921A755977   SUSANA       MURILLO                  CA          90013232107
263B96A159184B   NICK         FLEMONS                  OK          90010656015
263B9962172B32   SHERI        KRESAL                   CO          33080669621
263BB48282B27B   KALIA        HILTON                   DC          90010384828
26411743272B88   SOSTENES     FLORES                   CO          90009677432
264124A7151369   JIMMIE       ADAMS                    OH          66004534071
26412778872B29   MAXAMILLIO   GALLEGOS 3RD             CO          33015637788
2641296729184B   SARA         CLINGAN                  OK          90005679672
26412A2A42B27B   JESUS        REYES                    DC          81014480204
264135A7257157   LUIS         RENDON                   VA          90013935072
2641364223B388   AYANNA       RUSSELL                  CO          90008586422
2641626694B281   SATARA       SLOAN                    NE          27001522669
26416963A72B42   ROBERT       SIGARST                  CO          90011889630
2641713679189B   MARKISHA     BRADFORD                 OK          90009601367
2641821999189B   REES         HODGES                   OK          90006712199
2641835A531433   JEROME       BONFANTI                 MO          27584953505
26418A27841245   BRAD         DOFNER                   PA          51015100278
26419347A57157   ATIF         ZIA                      VA          90012943470
2641B19247B471   DEINER       RAMIREZ                  NC          90009691924
2641B924676B71   GUILLERMO    PEREZ                    CA          46070939246
2641BAA7A72B32   RUBEN        DIAS                     CO          90005280070
2642288617166B   JENNIFER     BABINSKI                 NY          90015548861
2642295844795B   MICHELLE     HIGGINS                  AR          25081899584
264238A527B477   LASHWN       LIPSCOMB                 NC          90003978052
26424394372B29   GOTWALD      MISHA                    CO          90011353943
2642451A277562   MELANIE      ERIKSEN                  NV          90006665102
2642529375B571   CRYSTAL      PLANTE                   NM          90003382937
2642543A172B42   CASTULO      GONZALEZ                 CO          33091524301
26426642172B29   REBECCA      MARTINEZ                 CO          90014076421
2642679855B161   YARIBETH     FASON                    AR          90014887985
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2642746562B27B   DULCE         RUBI                    VA          90012444656
2642753485B54B   KEN           WOOLARD                 NM          90010135348
2642836152B27B   LASHANNON     WALLER                  DC          90009893615
26429261672B42   SHAWN         GOSSELIN                CO          90013912616
2642B125791522   MAGDALENA     DE LARA                 TX          75064001257
2642B197155977   DIANNA        SANCHEZ                 CA          48073101971
2642B473897121   GERALD        MORTON                  OR          44502824738
2642B55854795B   JOHN          MOBLEY                  AR          90005605585
2642B77A75B571   RIGOBERTO     VALENCIANO              NM          35076477707
2642B887233636   MELODY        ARCHIE                  NC          90009538872
2642B99144B588   AMY           WITCHER                 OK          21558469914
264313A7157157   MACARIO       MONTES                  VA          90012533071
264316AA631631   STEDMAN       DUMAS                   KS          90014226006
2643174785715B   LUIS          JASHIMOTO               VA          90006317478
26432585A4B588   DOMINIC       SMITH                   OK          90007605850
2643281A772B32   IRIS          MARTINEZ                CO          90010348107
2643295539189B   DEWANNA       BEHN                    OK          90013719553
26432A72572B42   NATASHA       POWELL                  CO          33068770725
26435A2379136B   IGNACIO       FERNANDEZ               KS          90008550237
26435A44A81661   RICKY         SIGMON                  MO          29034600440
26435A56872B88   ANGELA        MITCHELL                CO          90013610568
26435A84455977   ALEJANDRINA   RAMIREZ                 CA          90013120844
264365A7372B88   ERIC          HOLMES                  CO          90010095073
26437676A41245   MICHAEL       A COSTANZO              PA          51074386760
26437976272B29   JANET         AGIURRE                 CO          90011859762
2643865A655957   FRANCISCO     SANCHEZ                 CA          90014516506
2643893362B931   RODNEY        THOMPSON                CA          45084269336
2643931A484364   ANTHONY       QUINTANA                SC          90013033104
26439358872B29   RAQUEL        PEREZCEDILLOS           CO          33002933588
2643973474B592   MAGATTE       SARR                    OK          21576277347
2643B71A172B32   WENDY         HEYWOOD                 CO          33096137101
26441A61931631   LOYD          BRODY                   KS          22012450619
2644229A372B29   ROSANELL      WILHAM                  CO          90009122903
26442484672B42   BLANCA        AGULIAR                 CO          90014904846
2644292A37B275   BLANCA        BARRASA                 AZ          90014319203
2644379482B96B   GHAZIE        ASSAKER                 CA          90003057948
2644481214B261   SALLY         HEDRICKS                IA          90014638121
26445565972B29   ALICIA        TARANGO                 CO          90009185659
2644576399189B   OSCAR         RIOS                    OK          90014887639
2644592817B449   GLORIA        LOPEZ                   SC          90001719281
26445983272B88   BRIE          WALKER                  CO          90008469832
2644647A657157   JAY           HERNANDEZ               VA          90010764706
26447861472B29   MARY          ROJAS                   CO          33096948614
26448A69455957   JOSEPH        TORRES                  CA          90013890694
26449976672B42   DAVID         ATZ                     CO          90008069766
26449A75391953   ELIAS         BALTAZAR-NARVAEZ        NC          90014480753
2644B84284B261   JOHN          MCDERMOTT               NE          27082918428
2644B978572B42   MARIA         RODRIGUEZ               CO          33030029785
2645122214B261   HOLLIS        BOURN                   NE          27097242221
26451541A91241   GILBERTO      TZANAHUA                GA          90005155410
2645191A551369   DEBBIE        LYKINS                  OH          90003469105
264519A4541245   LYNN          CRONIN                  PA          51052859045
2645217992B931   MARTIN        PLASCENCIA              CA          45030451799
26452632372B42   VICTORIA      HALLOWELL               CO          33042806323
2645295432B27B   RAVEN         THOMAS                  DC          90011189543
26453866872B88   PATRICIA      GAYTAN                  CO          90001278668
2645494254B592   KELLY         CONLEY                  OK          90002349425
2645552862B237   TILLIE        WASHINGTON              DC          90001025286
264559A715B161   GERRY         PEARSON                 AR          23093209071
26455A99931631   ANA           CAMPOS                  KS          90004490999
26456478672B29   LUCIA         CALZADA                 CO          90011234786
2645675445B161   KARA          PARSLEY                 AR          90011107544
2645676984B531   CHERYL        BURKHALTER              OK          90010027698
26457393A55957   JESUS         SALAZAR                 CA          90013423930
26458199872B88   MICHELLE      MORALAS                 CO          90008121998
2645B2A6A9136B   OLIVIA        ZAMBRANO                KS          29037252060
2645B666151369   DEWEY         MARTIN                  OH          66073236661
2645B882291522   MARGIE        HERNANDEZ               TX          75052378822
2645B99162B27B   KENYETTA      BRYAN                   DC          90015329916
26461429124B83   ANDRE         WILSON                  DC          90012364291
26462175872B88   VICENTE       CARBAJAL                CO          33026001758
26462A6884B588   TEARSTINE     MCDANIEAL               OK          90012740688
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2646331A881661   DANIEL         MORALES                MO          29009793108
2646358255715B   GABRIEL        CERVANTES              VA          90002155825
2646438A19136B   S              HODGES                 KS          29047773801
26465537572B42   EVAN           TARVER                 CO          90007945375
264656A494B588   KRISTINA       KAY                    OK          90014866049
2646585649189B   MATHEW         CAMPBELL               OK          90014888564
264662A2797122   VERONICA       MONTOYA                OR          90008962027
2646632619189B   ABBY           VILLEDA                OK          21065963261
26466383972B32   IRMA           HOLGUIN                CO          33079503839
2646655682B27B   ANTHONY        KYLES                  DC          90009055568
26466799587B69   LINDA          BANKS                  AR          90011787995
2646681289184B   GAIL           THOMAS                 OK          90012408128
26467114372B42   ESPERANZA      DENA                   CO          90002641143
2646721164B261   WENDY          BESSE                  NE          90015202116
2646785899189B   CHRISTINE      PASTRANA               OK          90014888589
26468198772B88   MICHELLE       GASCA                  CO          90001841987
2646821875B36B   ROWANA         ADAMS                  OR          90004032187
2646839139189B   KACI           OZBUN                  OK          90014903913
2646852587166B   CHRISTINE      BUCK                   NY          52012535258
26468A38A4B261   ASHLEY         ZAPETA                 NE          90014530380
2646916134B261   DEAN           THOMPSON               NE          90014441613
264696A8655957   BETTE          IERONIMO               CA          90014356086
26469A87693757   SHAWNETTA      WHITE                  OH          90009590876
2647225195752B   RICH           HERDEN                 NM          90010012519
26472656972B23   NOEMI          PEREYRA                CO          33014236569
26473649372B32   GABRIELA       GONZALES               CO          33019436493
2647389739189B   JOSE           BOTELLO                OK          90014888973
26473A87172B42   ZACHARY        HOWSER                 CO          33045520871
26475A99572B32   JOLENE         TORRES                 CO          33005340995
264764A5755957   BYRON          VELEZ                  CA          90013044057
26476518972B88   RENAY          HOFFSCHNEIDER          CO          90012795189
26476A87172B42   ZACHARY        HOWSER                 CO          33045520871
2647728539184B   WILLIAM        LOONEY                 OK          90013832853
26477918172B42   LIDIA          DESNACHEZ              CO          33073429181
26478467172B88   STEVEN         SALGADO                CO          90000374671
264791A339136B   REGINA         MCCLANAHAN             KS          90005291033
264794AA94B261   SAMUEL         GORDILLO               NE          27057954009
26479694372B32   RUFINITA       CHAVEZ                 CO          33053666943
26479755A72467   ELAINE         WALKER                 PA          90013927550
2647B44897B449   SYMPHANY       HOLMES                 NC          90014144489
2647B472372B32   APRIL          TRIMBLE                CO          33005224723
2647B875572B88   KRISTANNE      CORDOVA                CO          90004208755
2647B886491953   CELESTE        RODGERS                NC          90006208864
26481299972B29   DEBBIE         PADILLA                CO          90013272999
2648157367B477   TINA           BURRIS                 NC          90010175736
26481786A2B27B   ALISA          HARPER                 DC          90008427860
26481975772B88   SARANCHIMENG   BYAMBASUREN            CO          90009229757
26482A54872B88   DEANA          BARGAS                 CO          33053150548
26483A12655977   TRALAINE       KEEL                   CA          90011540126
26483A49855986   ROBIN          ROBINSON               CA          90005970498
26484689A57157   SHEKU          KONNEH                 VA          90012686890
26484748772B42   SARAIT         RAMIREZ                CO          90012177487
26485333A81661   KYLE           RICHARDSON             MO          29087093330
2648551355715B   DAWNA          WATSON                 VA          81016035135
26485781472B88   JAMIE          ARMSTRONG              CO          33025607814
2648637164B588   KASEY          SUTTON                 OK          90010873716
2648742115136B   LUCHAN         PRICE                  OH          90001204211
2648762958B159   CHRISTOPHER    ELLIOT                 UT          90004286295
2648768675B271   SHEBA          SIMMS                  KY          68018726867
264876A6291953   WELINTON       PEREZ                  NC          90011376062
26488367572B88   ANGELA         MARTIN                 CO          90013343675
2648968555B571   CHARLENE       RODRIGUEZ              NM          35079486855
26489687172B42   LUCILA         MONTIEL                CO          33042146871
2648B18497B471   SEFERINO       CRUZ                   NC          11024241849
2648B2A7A72B88   RAYMOND        RUIZ                   CO          90012802070
2648B2AA172B29   DEANNE         ADDISON                CO          33030602001
2648B47159184B   BELIA          BECERRA                OK          21074254715
2648B741231448   LAUREN         POWELLS                MO          90002837412
2648B898791522   FRANK          CABRAL                 TX          90013108987
2648BA65255977   ADAM           CLARK                  CA          90001010652
26491679972B32   HERNANDEZ      MANUEL                 CO          90015326799
2649181AA57157   IVAN           SEGOVIA                VA          90009198100
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26492AA394B588   MEGAN          STINNETT               OK          90005100039
26493247572B32   GABRIELA       JIMENEZ                CO          90013792475
2649325379189B   LARRY          FORTENBERRY            OK          21003812537
264933A472B232   KRISTIE        PRICE                  DC          81005913047
2649354638B151   EMRAL          OZZEHIR                UT          90002515463
2649428815B28B   RHONDA         HENDRICKS              KY          90002462881
264948A5457157   CATRINA        MEHR                   VA          90012688054
2649514689184B   DALLAS         WHISENHUNT             OK          90008601468
26495629772B88   LAURA          HEMLEIN                CO          33002026297
26497188572B32   DAVID          CORDOVA                CO          90010391885
264979A5491828   ROBERTO        RUIZ                   OK          90013929054
26497A8857B471   MISAEL         FUENTES                NC          90003040885
2649818397B449   HEATHER        ROSENBALM              NC          11078021839
2649918792B27B   KIA            HENDERSON              DC          90012791879
2649922555B571   TANYA          RODRIGUEZ              NM          35082742255
2649B528991953   PAULA          BEST                   NC          90002455289
2649B82139155B   JOSE           BUENO                  TX          90004328213
264B1191584364   JUAN           JIMENEZ                SC          90015261915
264B169A385823   RICA           LEHMANN                CA          90003096903
264B1972331433   WILBERT        SIMMS                  MO          90011569723
264B2243941245   MELISSA        FOFLYGEN               PA          51010642439
264B2588A72B88   JAMES          LEBERT                 CO          33008175880
264B294199136B   SANTOS         FELICIANO              KS          90009229419
264B312532B27B   SHANELLE       HOWELL                 DC          90013151253
264B3243941245   MELISSA        FOFLYGEN               PA          51010642439
264B3599772B88   CIPRIANO       DURAN                  CO          90012155997
264B3AA195B571   GABRIEL        MONTOYA                NM          90004100019
264B4659993727   SHALONDA       EGLER                  OH          90012886599
264B4895A57157   CHRISTOPHER    MARTINEZ               VA          90013508950
264B517A391953   JOSEPH         SPOKES                 NC          90008361703
264B518437B449   NIVA           KISER                  NC          11086371843
264B5448791828   CESAR          FERNANDEZ              OK          21068684487
264B629A572B88   MONCIA         LEYBA                  CO          33088192905
264B73A1255977   ALYSSA         DIAZ                   CA          90013483012
264B811AA81661   ANTONIA        DIAZ                   MO          90001111100
264B8A52A55977   YVETTE         GOMEZ                  CA          90002010520
264B951A52B27B   MICHEAL        MCBRIDE                DC          90014995105
264B9589572B32   BRAD           GRAHAM                 CO          33049345895
264B986799184B   JENNIFER       CAMPBELL               OK          90014828679
264BB432455977   JESSICA        CASTRO                 CA          90015034324
264BB93159155B   IVETTE         GUTIERREZ              TX          75074889315
2651112899155B   LACHUNDRIA     AGUIRRE                TX          75089851289
2651155294B588   LASHAND        BUFORD                 OK          90010495529
2651273825715B   BYRON          GONZALES               VA          90000527382
26512A7514B588   THIOMY         TRINH                  OK          90015080751
26514551A84364   BECKY          WHITE                  SC          90007185510
2651456884B588   CHERE          OSBORNE                OK          90009545688
2651497879189B   KENT           ROBB                   OK          90014889787
26514A2437B477   MARIA          PENA                   NC          90011690243
26514A59772B88   BRIAN          GASSMAN                CO          90008490597
2651519224B521   ERIC           SMITH                  OK          90004661922
2651569462B962   YADIRA         LOPEZ                  CA          90012716946
2651619524B588   CARLA          LEWIS                  OK          90009131952
2651657A372B32   SHARON         KAYE                   CO          90003865703
2651699819379B   CLARENCE       WILLIAMS               OH          90012989981
2651734395592B   DAVIANNA       MARTINEZ               CA          90001273439
26517742A57157   LUIS ERNESTO   ANGELES TORRES         VA          90008717420
26517943872B32   STEVEN         WRIGHT                 CO          33006179438
26518A4A372B32   CATHY          PREST0N                CO          90009690403
26518A92857157   YORLENI        PALACIOS               VA          90013050928
2651936A591528   MARIBEL        SNYDER                 TX          75047703605
2651988A87B471   SHAQUNA        FAUNTLEROY             NC          90007358808
2651B13489155B   LIZETTE        ESPARZA                TX          75026891348
2651B855672B42   AERIK          EDWAD WILLIAMS         CO          90013068556
265222A239136B   KENNETH        KERNS                  KS          29016922023
265222A974B521   ROCHELLE       LAWRITSON              OK          90003992097
2652254A19184B   RONALD         RUNNELS                OK          21078925401
26522A9397B477   LATRISH        SEIGLE                 NC          11007280939
2652321A89136B   JAMIE          REDIC                  KS          29035302108
26523534472B29   VICTORIA       ARMENTA                CO          33010505344
2652354495B161   JOHN           WILLIAM                AR          90002245449
265235A484B261   JORDAN         MCGUIRE                IA          90011015048
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2652447A84B588   JENNY       BLAINE                    OK          90012674708
26524499172B32   HEATHER     MCLEOD                    CO          90002574991
26524A24791522   DARELL      HOLLIS                    TX          90014780247
26525442972B88   ORALIA      VEGA                      CO          90007244429
2652573457B477   NANCY       TROUTMAN                  NC          11011317345
26525818A55977   JENIFFER    HANSON                    CA          90006518180
26526158A91528   RUBEN       QUEZADA                   TX          75052471580
2652642759189B   EMILIANO    GONZALEZ                  OK          90014904275
2652649115B271   CHARLES     PARRIGAN                  KY          68028244911
2652656A972B32   EDSON       VIVAR                     CO          33003335609
2652659144B588   CARL        HINES                     OK          90012945914
2652761A57B462   KIMBERLY    MCCOLLUM                  NC          90001066105
2652789719184B   JAVIER      CASAS                     OK          90013838971
26528548372B29   ARIEL       BROUILLET                 CO          90014355483
26528AA639189B   SEIKAM      TOUTHANG                  OK          90014890063
26529142972B42   JUAN        DEVORA                    CO          90010691429
2652995839189B   MANUEL      LOPEZ                     OK          21072939583
2652B444372B29   JOHN        LOPEZ                     CO          90013744443
2652B483591522   ESTRELLA    VALERIO                   NM          75002344835
2652B549381661   LORENA      OMANA                     MO          90012285493
2652B631755957   SOPHIE      GOMEZ                     CA          90003766317
2652BA83241245   STEVEN      KING                      PA          51063920832
2653157725B161   KESHON      CLAY                      AR          90014585772
2653211572B27B   FREDDIE     WARE                      DC          90012381157
2653221819184B   STEVE       FOX                       OK          21066142181
26532726372B29   STEPHANY    FUERTE                    CO          90006957263
265327A715B161   HEATHER     BALLARD                   AR          90014877071
26532947972B88   LAVON       SMITH                     CO          33045309479
26533386A4B521   TAMMY       TIGER                     OK          21582433860
2653346225715B   ANA         VASQUEZ                   VA          81046744622
26533527572B88   LOUISA      MANESS                    CO          33027075275
26533693A91522   GILBERTO    MORALES                   TX          90008716930
2653477734B261   DAVID       MANKAMYER                 NE          27096077773
26535295272B32   TAMRA       SANCHEZ                   CO          90010472952
26535332A71948   HENRY       GRUBBS                    CO          90010593320
26535873572B88   JAIME       RIZO                      CO          90002178735
26535A2859189B   RODNEY      BELK                      OK          90014890285
26536622A84364   LEVANI      DOS SANTOS                SC          90009676220
265369A6472B32   MELISSA     LUALLEN                   CO          90004699064
2653725617B449   SANDRA      CORBERA                   NC          90012412561
2653769979189B   JANA        TATE                      OK          21075156997
26537A7642B27B   ASIA        FERGUSON                  DC          90012320764
2653862195753B   STEPHANIE   BRASEL                    NM          90014186219
2653BAA1631433   MIAH        LOVE                      MO          90004020016
26541431A55957   JOSE        RAMIREZ                   CA          90013194310
2654198315B161   SEAN        MACKEY                    AR          90008979831
2654223517B449   KAREN       PEREZ                     NC          90012092351
26542455A84364   JERENE      GILLIAN                   SC          90012884550
265427A4872B29   VICTOR      DELGADO                   CO          90010267048
26542974A55977   GUADALUPE   AGYLUZ                    CA          90014189740
2654428679189B   SHYLA       MCKINNEY                  OK          90005162867
2654495395B271   AMANDA      ALLEN                     KY          90001689539
26544A6117B449   GEORGE      WISE                      NC          11080470611
2654563345B271   FERNANDO    RIVERA                    KY          68031246334
26546138472B29   MARIAH      MONTANO                   CO          33062321384
265464A285B161   EDWARD      SHELTON                   AR          23083244028
2654725195752B   RICH        HERDEN                    NM          90010012519
265474A435B161   CYNTHIA     WALKER                    AR          23011474043
2654777514B521   PHILIP      HATFIELD                  OK          21556207751
26547864A9136B   CHRISTINA   BLACKSHER                 MO          90011788640
26548784672B29   JUAN        CABALLAERO                CO          90009617846
2654B37559184B   DANNA       SMITH                     OK          90002043755
2654B61A991828   BETTY       PRESSLAUER                OK          21048176109
26551928972B32   KIMBER      DURAN                     CO          33074899289
26551A23341245   DAVID       LEE                       PA          90012210233
2655265519184B   FLOR        CASTRO                    OK          90008656551
2655272A355977   CLIFFORD    THOMPSON                  CA          90000397203
265529A5872B42   FLOR        RODRIGUEZ                 CO          33074859058
26553298272B32   MASON       NOLAN                     CO          33054182982
26553483A91828   KATHERINE   TUITE                     OK          90015204830
265539A215715B   ENRIQUE     MEJIA                     VA          90009539021
2655434545715B   ZAHRAA      ALDULAIMI                 VA          90002943454
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26554377A91241   ELIZABETH   SYKES                     GA          14516343770
2655452A655977   RAMON       MARTINEZ                  CA          90008375206
2655553A372B88   SCOT        EDWARDS                   CO          90012795303
2655566524B588   SARA        ROWELL                    OK          90014816652
2655581299189B   ESTEFANY    OLIVERA                   OK          21052068129
26556711A7B449   GABRIEL     JUAREZ                    NC          90015137110
26556A9654B261   GREGORY     WHITE                     NE          27061650965
26557313A77523   JASMINE     BARBAN                    NV          90009473130
2655741785B161   DAVID       JONES                     AR          90006144178
2655838469155B   JUAN        CORTEZ                    NM          75076573846
26558588A5B571   LAURA       MONCADA                   NM          90008735880
2655884A57B449   TENIKA      SIMPSON                   NC          11052528405
26559A11A5B571   MISTY       MARTINEZ                  NM          35053450110
26561254872B32   CHELSEA     ROBBINS                   CO          90014432548
2656147314B564   DYLAN       RODIG                     OK          90013304731
265621A2872B25   AARON       MANDEL                    CO          90014351028
2656248A57B471   RODNEY      WINGATE                   NC          11014084805
2656299379189B   MIKE        WILLIAMS                  OK          21039959937
265629A288586B   GIL         SAVAGE                    CA          90000169028
2656314819189B   ORTEGON     VINCENT                   OK          90005031481
265635A4691953   CATHY       BOVE                      NC          90012215046
26564127172B42   FAVIOLA     SOTO GUERRA               CO          33027001271
26564A48291953   DAYSI       RIVERA                    NC          90011940482
26564AA4772B88   VICTOR      RODRIGUEZ                 CO          33068800047
2656541A984364   TASHEMAH    GADSDEN                   SC          90012324109
26565483572B88   MIGUEL      ARANDA                    CO          90011274835
26567616A31631   SHAWN       PHELPS                    KS          90013916160
26567A14731453   CHARITY     TWINE                     MO          90004150147
265684A9272B42   MALCOLM     LEWIS                     CO          90003744092
2656B17142B27B   DENISE      HINNANT                   DC          90013161714
2656B59A391522   MARIO       SIFUENTES                 TX          90010915903
2656B8A2972B29   ALAN        KIMPEL                    CO          33000648029
2656B937957157   RINA        GARCIA                    VA          90009589379
265722A4191522   RICHARD     TORRES                    TX          75086052041
265736A4597122   ELIAS O     YOUNG                     OR          90011626045
26573A2417B449   MERISSA     MORROW                    NC          90003000241
2657411A67B449   PABLO       SALAZAR                   NC          90013911106
26574A2414B281   DANIEL      PRIBYL                    NE          27038990241
26574A48955957   JUAN        ALVAREZ                   CA          90007840489
26575815A84364   ANA         PEREZ                     SC          90013528150
26575AA384B521   SHANE       STRATTON                  OK          90004620038
2657741415135B   ELAINE      SMITH                     OH          90011654141
2657853834B261   JHOZEL      TEODORO                   NE          90013545383
2657872657B449   SCOTT       MCKINNEY                  NC          90013167265
2657881864B521   MICHEAL     GREEN JR.                 OK          21575238186
2657883347B471   MARLON      SIRRON                    NC          11086508334
2657894925715B   LEONARDO    HERNANDEZ                 VA          81016169492
2657921999184B   SHAWNA      WHITEHEAD                 OK          90012322199
2657B961591542   ANA         QUEZADA                   TX          90012689615
2658167224795B   MORINA      KIJIDRIK                  AR          25043796722
26581A2524B521   JACQUELYN   ANNANDERS                 OK          90004620252
2658225137B633   JENNIFER    CORTES                    GA          90011332513
2658269A84B261   LURA        JACKSON                   NE          90002086908
26582A87691953   MIGUEL      DUTRA                     NC          90013730876
26583A15691828   KATHERINE   BRADFORD                  OK          21079340156
26583A88691953   TAMARA      STUBBS                    NC          90008970886
2658415597B449   JUAN        AGUILAR                   NC          90012751559
26584532972B88   MIGUEL      PALACIOS                  CO          90012795329
2658481155B161   GLORIA      HILL                      AR          90014588115
2658521A331453   PATRICIA    ROBINSON                  MO          90007242103
26585A4344B521   LEIGHANNA   PERRRIN                   OK          90004620434
2658638867B423   MARGARITA   CARDENAS                  NC          11002013886
2658644A581661   EARL        GRAYSON                   MO          29008194405
2658695213144B   FRED        DEAN CODY                 MO          90002199521
26586AA967B449   GUILLERMO   FLORES BARTOLON           NC          11016160096
26587167A84364   TOM         KELLY                     SC          90006361670
2658773829189B   SHARI       TAYLOR                    OK          21043187382
26587A53357157   MALYAN      HENRY                     VA          90002290533
26588216672B42   JOSE        LOPEZ                     CO          90014542166
2658829474B281   EDWIN       GARCIA                    NE          27007652947
26588985972B86   SOPHIA      COLON                     CO          90008779859
26588A8169184B   BILLIE      CAMPBELL                  OK          90014510816
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2658944945B161   TIM         JONES                     AR          90011094494
2658976A44B261   BENEDICTO   GARCIA                    NE          90000277604
2658997437B666   LUZ         SUAREZ                    GA          90010689743
2658B218933B96   PEDRO       OSCAR                     OH          90015172189
2659117844B261   AMBER       HATHAWAY                  IA          27097231784
2659233449136B   ROB         LASLEY                    KS          29035253344
26593694772B29   MICHEAL     SILLETTO                  CO          90010486947
26595445A72B41   ANDREW      HURTADO                   CO          90012474450
2659561754B261   NOE         VARGAS                    NE          27079876175
26595764572B32   TIKI        JOHNSON                   CO          90014587645
2659676984B531   CHERYL      BURKHALTER                OK          90010027698
2659677754795B   JOSE        MARTINEZ                  AR          25023487775
26596979972B88   EMANUEL     ARMENDARIZ                CO          33053889799
2659744269184B   JORDAN      CHYENNE                   OK          90007734426
26597821272B29   FATIMA      ALDABA                    CO          90001858212
2659792799194B   YULIANA     VELAZQUES                 NC          90005799279
2659799A67B323   SANTIAGO    CORTEZ                    VA          90005209906
2659B31119184B   ERICA       MAKINS                    OK          90014553111
2659B693191967   SHELIA      CEPHUS                    NC          90001726931
2659B9A4184364   TANYA       JAMES                     SC          90003909041
2659BA61472B88   JOSE        JAUREGUI                  CO          90012840614
265B211892B962   DARLANE     SCOTT                     CA          90010781189
265B2421491828   GERARDO     CARDENAS                  OK          90013524214
265B2552372B32   EMILY       BORSICK                   CO          33037395523
265B2673255977   ANGEL       BRISTOL                   CA          90010196732
265B38A8272B88   LORETTA     SMITH-OWENS               CO          33084608082
265B397879189B   KENT        ROBB                      OK          90014889787
265B4427861974   ALMA        RODRIGUEZ                 CA          46052544278
265B44A1472B32   AMBER       BORREGO                   CO          90011234014
265B469649184B   TENNILE     HARRIS                    OK          90009906964
265B497879189B   KENT        ROBB                      OK          90014889787
265B5354A72B32   FRAISER     OSCANOA                   CO          90009923540
265B57A425B161   SASHA       GARDNER                   AR          90014877042
265B57A6A3B38B   JOSEPH      JCOLTA                    CO          90013357060
265B586574B588   RAMONA      DELGADO                   OK          90014918657
265B5A6694123B   TOM         MCCONELL                  PA          90011340669
265B6748A9189B   TRACY       YAWS                      OK          21004347480
265B712325B571   RHONDA      SEDILLO                   NM          35034221232
265B7469757157   VICTOR      SOTO                      VA          90010734697
265B767932B27B   MARCUS      MINOR                     DC          81014506793
265B7893955977   JAMIE       CHAVARRIA                 CA          48017618939
265B8726755957   ANGELA      VANHOEK                   CA          48027467267
265B9619A41245   MATT        MOCKABEE                  PA          90000526190
265B9748572B29   ADRIAN      SALINAS                   CO          90012347485
265B978A372B42   MARLENE     ROMERO                    CO          33007507803
265BB28542B232   LAVONYA     STROMAN                   DC          81014322854
26611A61655977   VERONICA    MARTINEZ                  CA          90014290616
2661264654B588   RONDA       COOK                      OK          90007796465
26612855872B29   MARIA       MARTINES                  CO          90014198558
266135A7361932   BETTY       RICHMOND                  CA          46000205073
2661373484B261   MATT        MCCLARY                   IA          90012437348
26613A2917B477   BETHANY     MORGAN                    NC          90002150291
2661458535B571   CHARLES     DODGE                     NM          90006955853
26614765A7B471   ALEX        HARTLEY JR.               NC          90003237650
2661553AA5B161   GENEVA      SANDERS                   AR          90013415300
26615988A5B271   CODY        BEAUCHAMP                 KY          90002809880
26615A73631631   MARIO       BENJAMIN                  KS          90013770736
2661694679136B   CYNTHIA     ELLISON                   KS          90009049467
2661812259155B   MAYELA      LEON                      TX          90005481225
26619965A2B27B   ABIGAI      JIMENEZ                   DC          90013819650
2661B49419189B   ERIN        STRAESSLE                 OK          90007304941
2661B574972B29   ALLISON     FISHER                    CO          90013105749
26621A8A491828   CHRISTI     WATSON                    OK          90013630804
266226A887B449   LISA        HOLDEN                    NC          11046576088
26623851A51369   GARY        BUNGER                    OH          90006798510
26623A2562B232   JOSEPH      SMITH-EL                  DC          90005880256
26624487872B32   CHRISTIE    MCKAY                     CO          90010994878
26624675872B88   CLAUDETTE   TRUSTY                    CO          33040986758
2662514A461996   TIDWELL     MASONERY                  CA          46005231404
26625413A7B449   DENNIS      BOYD                      NC          90011324130
2662577A872B32   J JESUS     GARCIA-GONZALEZ           CO          90014587708
26625AA895B161   HECTOR      ZAVALA                    AR          90009000089
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2662722474B234   SANDRA        STERN                   NE          27093342247
2662812A291522   DAVID         RAMIREZ                 TX          90001841202
2662849419189B   ERIN          STRAESSLE               OK          90007304941
2662879694B588   KELLEY        LISS                    OK          90002277969
266298A9231456   BOB           JOHNSON                 MO          90008648092
2662B388A72B88   KAMEISHA      WILEY                   CO          90003843880
2662B892844345   EBONY         JACKSON                 MD          90000848928
26631239272B42   ALFONSINE     UWIZEYE                 CO          90006302392
2663167428B17B   TAMIRA        ORELLANA                UT          31050696742
2663196475B161   RENA          DRAYTON                 AR          90014589647
2663215115B271   MORCO         ANTONIO                 KY          68020491511
2663296475B161   RENA          DRAYTON                 AR          90014589647
26633529A91522   EDGAR         SANCHEZ                 TX          90014845290
2663373599184B   SARAH         BENFIELD                OK          90011407359
266339A7424B48   ANA           ERAZO                   VA          81015189074
2663451A67B462   BEATRIZ       HERNANDEZ               NC          90011755106
2663481544B588   EDGARDO       CORTEZ                  OK          90012128154
2663527162B27B   JACKIE        CAMPBELL                DC          90008122716
2663547369184B   ASHLEE        PRITCHET                OK          90007954736
26635477672B32   BERNADETTE    OCHOA                   CO          33091374776
26635622972B88   LUIS          MENDOZA                 CO          90001606229
26635633A4B521   SANDRA        RIOS                    OK          21590136330
26635A38572B42   IRMA          MARTINEZ-SANTIAGO       CO          90000460385
2663654854B588   VICTOR        CAMPUZNO                OK          90004025485
26637176372B27   DOROTHEA      QUINGLY                 CO          90009621763
266372A9972B88   FLORA         STARK                   CO          90012802099
266373A2972B32   VERONICA      VILLALBAS               CO          90008623029
2663938A372B32   RANDY         RADER                   CO          33070763803
26639A58A91589   CERVANTES     BRAULIO                 TX          90001480580
2663B148272B88   JUAN MANUEL   ALVARADO                CO          90012001482
2663B1A2872B25   AARON         MANDEL                  CO          90014351028
2663B488951369   SHANDA        WHITE                   OH          90008184889
2663B863284364   ASHLEY        SHAW                    SC          90014888632
2663BA76931631   EDITH         CERVANTES               KS          90010240769
26641834A9189B   RICHARD       RUHL                    OK          90014918340
26641976672B42   ADRIE         GARCIA                  CO          90014639766
2664254484B261   EVA           JUDITH                  NE          90013385448
26643834A9189B   RICHARD       RUHL                    OK          90014918340
2664489795B161   MELVIN        HANEY                   AR          90014888979
2664496584B588   VERONICA      MONTELONGO              OK          90012189658
26645785472B88   ERIC          ESTRADA                 CO          90005477854
2664673637B424   MONSERRAT     ESCOBEDO                NC          90012827363
2664745994B588   ERICK         LUEBECK                 OK          90000504599
26648126672B29   DEBORA        MANUEL                  CO          90000521266
2664838815B161   SHIQUITA      JOHNSON                 AR          90011523881
2664917A372B88   LLUVIA        BENCOMO                 CO          90008841703
26649411A9184B   LENNISON      BAEZ                    OK          90014914110
2664B627372B29   KENNETH       KENNEDY                 CO          33010516273
2664B666855977   ANGELICCA     RODRIGUEZ               CA          90013646668
2664BA6A691953   ROBERTO       ZUNIGA                  NC          90004310606
2665148949155B   KENNY         DURLING                 TX          75093604894
266515A172B27B   DANIEL        BELTON                  DC          90003005017
2665177A52B27B   MARKETA       WRIGHT                  DC          90014617705
26652894A55957   TAUNYA        PATTERSON               CA          90014308940
26652A38991953   CONCEPCION    PRADO TORRES            NC          90005560389
26653A11585938   TODD W        MINGEY                  KY          67072710115
2665451345B161   SHENITA       TUCKER                  AR          90011095134
266545A2631631   BRANDY        RICHARD                 KS          90012155026
26654993472B29   MONICA        QUINONES                CO          90015189934
26655A61972B42   ABBY          KING                    CO          33053550619
26655A65272B88   TOMMY         SENA                    CO          33065460652
2665663859189B   BRANDY        STOREY                  OK          90012936385
26656718572B29   ADAM          SALAZAR                 CO          90014697185
26656A7534B588   VALERIE       STUBBS                  OK          90010700753
266571A667B449   ANTOLIN       ESPINOSA                NC          90012291066
266572A5655957   ANGEL         QUINTERO                CA          90009592056
26657A1637B471   JANETTE       JUAREZ                  NC          90002900163
26657A9299155B   ESTHER        CASTRO                  TX          75000280929
266582A6872B32   MARCO         A LOPEZ                 CO          90012872068
2665833775715B   SHANIA        ROBERTS                 VA          90002293377
26658768672B42   ARELY         ZELAYA                  CO          90013237686
2665895899155B   LORENA        GONZALEZ                TX          90002059589
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2665899A241259   JUSTIN        ZORA                    PA          90007119902
2665938584B261   GILBERT       JORDAN                  NE          90000933858
26659829272B32   BACA          LORIE                   CO          33067978292
2665986189189B   ASHLEY        BOWEN                   OK          90014918618
2665B129357157   JOSE          URIAS                   VA          90002461293
2665B38482B27B   LAWANA        JONES                   DC          81014333848
2665B529772B32   DESARI        MORTENSEN               CO          90005065297
26661291172B42   JAY           MCMULLEN                CO          33081252911
2666156474B588   SAMANTHA      MCCLOSKEY               OK          90012885647
26661632A91828   LIBRO         MARTINEZ                OK          90009196320
266621A659184B   SHERRY        MERRELL                 OK          90009031065
26662425472B32   JUAN MANUEL   COYOTE                  CO          90011444254
26662A98572B88   NATHAN        KILGORE                 CO          90008470985
26663766272B32   EDDIE         MARTINEZ                CO          90014587662
2666398527B334   AGUSTIN       VACA                    VA          90008989852
266639A4881661   CAROYLN       SPAIR                   MO          90011579048
26664A17672B88   CARLOS        MEDINA                  CO          90014160176
26664AA1657157   ISABEL        HERNANDEZ               VA          90013940016
26665136972B32   MICHAEL       REYNOLDS                CO          90012391369
2666554A372B42   BERNARD       JOHNSON                 CO          33095715403
26665597272B29   JANETH        TREVIZO                 CO          90013475972
2666572934B588   TIESHIA       FREDERICK               OK          90011147293
2666642534B588   VULNAVIA      ROYSTER                 OK          90014644253
26666574A7B449   ENRIQUE G     MIRANDA AGUSTIN         NC          90007615740
2666687599152B   DIANA         VARELA                  TX          90008608759
2666739A955931   EDUARDO       MARQUEZ                 CA          90012823909
26668126672B29   DEBORA        MANUEL                  CO          90000521266
2666816629155B   MONICA        ROMERO                  TX          75086781662
2666887699184B   HECTOR        AGUILAR                 OK          21020708769
266695A7831631   AMEE          MOON                    KS          90013545078
2666B782972B29   STARLENE      THOMPSON                CO          90014847829
2666B93A784364   PAT           MEDLOCK                 SC          90010519307
2666BA33655977   MARIO         PEREZ                   CA          90011360336
266712A8A55977   MARCUS        FAGUNDES                CA          90014752080
2667187849155B   APOLONIO      RAMIREZ                 TX          75069638784
2667196A276B21   BRAD          BLACKSON                CA          46091739602
2667245552B27B   LISA          TAYLOR                  DC          81039464555
2667261AA57157   MARLETTE      QUIN-PARKER             VA          90011306100
26672728A7B449   DARLA         MELANSON                SC          90014487280
2667368653B348   PHILLIP       GARCIA                  CO          33070846865
26673797772B32   JORDAN        HOGH                    CO          90012647977
2667386284B588   DEMETRIE      SMITH                   OK          90013158628
26674437172B32   JERRY         SHANNON                 CO          90012854371
26675117272B32   AMANDA        VARGAS                  CO          90012631172
2667546A257157   JAMES         JHONSON JR              VA          90014014602
26675A96772B86   MARIE         MAESTAS                 CO          90008240967
2667673644B281   KATRINA       HARRIS                  NE          90008647364
266768A6731453   EDWARD        BEVEL                   MO          27593918067
2667697A255977   ALONDRA       GOVEA                   CA          90001269702
26677262372B32   YURI          MORENO                  CO          90012062623
26677957A84364   RONDAIZIA     GRAVES-TITUS            SC          90008319570
2667851523B348   LISA          BARCELONA               CO          33006625152
266787A1631488   WALTER        HAMMOND                 MO          90002107016
266791A955B161   JERRY         CHAMBERS                AR          90014591095
26679883A72B88   BRIAN         SCHWALEN                CO          90013108830
2667B983531631   QUANEISHA     YATES                   KS          90008949835
26681398772B32   JOHNNIE       WARREN                  CO          90006053987
2668192284B261   AMANDA        LIND                    NE          27095359228
2668228394B281   FELIX         ADAME                   IA          27054422839
2668231632B232   MIGUEL        ORTIZ                   DC          90005883163
2668339759189B   KAMETRIA      BARBER                  OK          90012643975
2668494579136B   MARIA         MORALES                 KS          90006559457
266851A955B161   JERRY         CHAMBERS                AR          90014591095
26685A74972B29   SANDRA        OLIVAS                  CO          90004500749
26687756A57157   CRISTINA      GOMEZ                   VA          90004747560
26687A4949189B   ANDREW        HEMINGER                OK          90003410494
2668848169155B   YESICA        ESTRADA                 TX          90005504816
266887A6584364   ARDELL        DIARRA                  SC          90012867065
266897AA684364   VANESSA       MITCHELL                SC          90012137006
2668B41819184B   ERRICA        FOSTER                  OK          21018884181
2668B613672B88   SEAN          COFFMAN                 CO          90009566136
26691162472B86   JANE          MAESTAS                 CO          90008241624
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2669146969184B   DIANA                FLOYD            OK          90007734696
26691542A91953   JAYLIN ALIA NICOLE   SMITH            NC          90005005420
266924AA972B42   RANDI                RAMIREZ          CO          90009204009
2669251A14B261   NOHELY               PEREZ            NE          90012095101
2669295499184B   DON                  GOTCHER          OK          90013109549
2669311A772B32   JOSE                 ESCOVAR          CO          90013581107
26693547372B26   ELFAZ                SHEERAW          CO          90012785473
2669397479184B   TONYA                TERRY            OK          90015209747
26694178672B42   ROSALIE              BENAVIDES        CO          33090691786
2669419A755977   PEDRO                TAFOLLA          CA          48009341907
2669434485B161   TAJIAH               ROBERTS          AR          90012673448
26694659772B32   MATTHEW              ROBBS            CO          33018106597
2669569A372B32   REED JR              ROBERT           CO          90010976903
2669578484B588   ANDREA               BUSS             OK          90010957848
2669628985137B   JENNIFER             WILSON           OH          90007582898
26696917572B42   IVAN                 SCHABACKER       CO          90013289175
26696948A4B261   MARY                 MEISTER          NE          90014769480
26697394576B82   EMMANUEL             IBANEZ           CA          90003533945
2669773529184B   JOSEPH               PIRO             OK          90010017352
2669799744B588   GINA                 KILPATRICK       OK          90012099974
26699719672B29   ADRIANA              GONZALEZ         CO          90014697196
2669981434B281   FRANCISCO            BECERRA          NE          90007178143
26699973972B88   KENNETH              THORNE           CO          90008719739
26699A76581661   NICHOL               BARNES           MO          29030090765
2669B213655957   ERIKA                MORA             CA          90005592136
2669B548A72B88   TRACY                DANIELS          CO          33050275480
2669B873957176   KARLA                ALFEREZ          VA          90008908739
2669B97A757157   JOSE                 PALACIOS         VA          81029119707
266B1189731631   MARSHA               HALL             KS          22084571897
266B1383172B32   CASIMIRO             ZAMORA           CO          33095763831
266B1742372B29   MARTHA               BALBUENA         CO          90013357423
266B1761655957   CLARA                GLASPIE          CA          90012867616
266B1917291828   JACOB                MCGUIRK          OK          90014779172
266B2328391241   KERRI                LEWIS            GA          90002903283
266B2646972B88   JORDON               CRAWFORD         CO          33046276469
266B283A172B32   JOSEFINA             ROJAS-LEDESMA    CO          90009488301
266B2892257531   JUDITH               NELSON           NM          90012988922
266B3482372B42   TYLER                DALK             CO          33089804823
266B4392672B32   IGNACIA              CARRILLO         CO          33046993926
266B44A6591522   KRISTIAN             FUENTES          TX          90012304065
266B4595151369   BETH                 SCHROER          OH          66012295951
266B5122472B29   DAVID                NAJERA           CO          33088521224
266B5235172B88   JON                  JANSEN           CO          33007602351
266B5353A72B29   JUDITH               MORENO           CO          33025083530
266B538A34795B   JUTON                LOCKHEART        AR          25043773803
266B585394B588   TAYNA                KEENEY           OK          90012388539
266B594679136B   CYNTHIA              ELLISON          KS          90009049467
266B596284B261   LYNETTE              BLACK            NE          27024549628
266B676715B571   MIREYA               GUERRERO         NM          35029417671
266B738495B271   KRISTIN              PHILLIPS         KY          68016823849
266B833287B449   ADRIAN               JORDAN           NC          90013533328
266B847554B261   LAWRENCE             MCLUCAS          NE          27018664755
266B8546457157   JESUS                MARINERO         VA          90009555464
266B87A5191953   RACHEL               JUSTICE          NC          17066377051
266B939263B355   ALICIA               HERRERA          CO          90013143926
266B939468B17B   WILLIAM              MUSA             UT          90011103946
266B93A9A51369   AMANDA               HATFIELD         OH          90010743090
266B972859184B   JULIO                MIRANDA          OK          90012377285
266B983AA84364   STOKES               LAKYSHA          SC          19088518300
266B9915291953   MAYRA                RODRIGUEZ        NC          90012029152
266B9A16572B88   MATTHEW              MORRIS           CO          90007430165
266BB421A7B477   MARKISKIA            HENDERSON        NC          90012244210
266BB552972B86   KRISTI               SMITH            CO          33012925529
266BB81932B27B   LITALIA              PEGRAM           DC          90012558193
26711488672B42   DUSTIN               GOUGH            CO          90010354886
26712168A72B42   MELANIE              COE              CO          90013271680
26712441272B29   JOSHUA               TRUJILLO         CO          90012864412
267124A8372B32   SOLOMIE              ALEBACHEW        CO          90013254083
2671448887B477   BEVERLY              GRIM             NC          11016964888
26714657276B62   ERNESTO              MUNOZPEREZ       CA          90001266572
26714744472B32   SALVADOR             GARCIA           CO          90012897444
26714A8419184B   LISA                 CANNON           OK          90011750841
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2671511A79155B   LUCY        MARTINEZ                  TX          75088731107
26715255A5B271   JOSEPH      TYPROWICZ                 KY          68011692550
2671542817B449   BARBARA     LYNCH                     NC          90012854281
2671586624B588   ROY         WILLIAMS                  OK          90009068662
26715A37584364   DENISE      MOSLEY                    SC          90013930375
26716892172B88   CECILIA     BRABO GODOY               CO          90009368921
2671711734B261   ANGEL       CERVANTES                 NE          27008271173
2671753A461994   ROMAN       DIAZ                      CA          46097015304
2671773385B571   LUCERO      BRITTANIE                 NM          35077737338
26717816172B32   MONICA      MCNEILLY                  CO          90015188161
2671798469189B   ANA LAURA   NUNEZ                     OK          90014919846
26717AA9991831   RONALD      JAMES                     OK          90012630099
26718A3414B261   HOUSTON     ALEXANDER                 NE          27084190341
26719336772B32   JANEE       OSBORNE                   CO          90003433367
2671946627B449   LUTHER      RANKIN                    NC          90014324662
2671963935B161   NYLA        HARLEN-COHN               AR          90001956393
267199A6485998   HARRY       IVEY                      OH          90008399064
2671B12A457157   JORGE       MONTECINOS                VA          90008541204
2671B131A91953   VERONICA    MURGA                     NC          90006991310
2671B473A4B588   JORNAE      DEAN                      OK          90002064730
2671B5AAA5B161   SULANDA     NELSON                    AR          23095505000
2671BA28A84364   MATT        LARA                      SC          90014910280
26721374A51369   HELEN       ROBERTS                   OH          66030853740
26721429A5B161   JOSE        GUADALUP                  AR          90012604290
26723167772B32   JORGE       NAAL                      CO          90014971677
26723A9734B261   DEBBIE      BASS                      NE          90013840973
2672465847B471   MELODY      GREEN                     NC          11019736584
26724725672B32   MANUEL      SOTELO                    CO          90012907256
26725182672B32   SAVANAH     MARTINEZ                  CO          33088151826
26725347772B29   DANYLE      DAVIS                     CO          90010163477
2672626714B521   GLENDA      MCGUIRE                   OK          90008682671
267265A489155B   VARGAS      BEATRIZ                   TX          75011175048
26726A78261979   MARTIN      VILLAREAL                 CA          90007810782
26727553172B42   LADRAYE     SHAW                      CO          33095395531
2672794719136B   TENIKA      FREELON                   KS          29004219471
26727A2999189B   JEREMY      ULLRICH                   OK          90014920299
26727A93272B32   SERGIO      ESPARZA                   CO          90011690932
26728173A91582   NANCY       MARQUEZ                   TX          75063801730
26728313272B88   RECCO       JOHNSON                   CO          33077323132
26728753872B32   ROGOBERTO   VIVEROS-BACA              CO          90012617538
267287A7A7B449   JEREMY      ROTARIUS                  NC          90005557070
2672899569184B   CHRIS       KING                      OK          90000279956
2672899689136B   GRACE       HERRERA                   KS          90005279968
26729A3759189B   MARIA       CONTINAS                  OK          90014920375
26729A38A7B449   SHAQUIA     HOOD                      NC          90012400380
26729A92A41245   QUENTIN     DZARA                     PA          90012490920
2672B318A55977   SHANNON     ANGEL                     CA          90000143180
2672B3A669184B   KENNETH     LYNCH                     OK          90001963066
2672B451457157   FRANCIS     CHENEVEKT                 VA          90012674514
2672B911955957   ENRIQUE     GARCIA                    CA          90014779119
267313AA891953   TYEESHA     COOPER                    NC          90010013008
2673144875715B   MELISSA     LOPEZ                     VA          81016484487
26731864372B42   DENNY       BANDY                     CO          33034248643
26732248572B29   MATTHEW     MEDINA                    CO          90012562485
2673274394B588   SHAUN       MOSER                     OK          90010417439
26733178672B88   IMARI       SMITH                     CO          90013081786
2673336919155B   EVA         AGUILAR                   TX          90007563691
26734269A57157   ANABEL      ORTOLA                    VA          90013542690
2673437A341245   GRETA       PEGHER                    PA          51002233703
26734991624B46   ASHA        SCOTT                     DC          90007249916
26736274272B88   ROSENDO     SOLIS                     CO          90013752742
2673669422B241   HEATH       LEWIS                     DC          90011846942
26736935572B29   VIRGINIA    ALEXANDER                 CO          90014099355
267369A979184B   AYME        ZUNIGA                    OK          90013839097
2673718AA4B52B   MICHAEL     OWENS                     OK          90010721800
267373A619189B   JOSE        SANCHEZ                   OK          21074313061
2673826A97B477   ASIA        BENTON                    NC          11052682609
26738448472B32   JAZMIN      SEPULBEDA                 CO          33015024484
2673866658598B   DOUGLAS     NOEL                      KY          90007706665
267386A7291522   MAGALY      MENDOZA                   TX          75042656072
26739194A7B449   ABIGAIL     MEDRANO                   NC          11076851940
2673948115B161   JARMON      LLOYD JR                  AR          90012604811
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26739515472B29   GIOVANNI     GONZALEZ                 CO          90012375154
2673B24454B261   NICOLE       SCARBORO                 NE          27009812445
2673B872355957   MEGAN        MCINTIRE                 CA          90014908723
2673B8A345B571   YVONNE       ROMERO                   NM          35056978034
267412A6331433   RACHEL       PAGE                     MO          27541262063
267419A8472B88   OSCAR        MONTEAL                  CO          90012809084
26741A8845B161   CARLOS       CHAY                     AR          23016190884
26744177A91828   ANGELICA     PINA                     OK          90008481770
26744835172B42   KEITH        DEMPSEY                  CO          33021588351
2674484A77B449   DILLON       BLACKWELDER              NC          90014568407
26745563372B88   ALBERTO      PAREDES                  CO          90002215633
26745726A91522   ARMIDA       TREVINO                  TX          90014917260
26746821A57157   KIMBERLY     RUCKER                   VA          81052328210
2674718AA4B52B   MICHAEL      OWENS                    OK          90010721800
267479A334B261   IAN          GOMEZ                    NE          90009609033
2674824AA9184B   DERRICK      DAILEY                   OK          90014152400
26749149872B32   SANDRA       GARCIA                   CO          90011061498
2674B832525138   MARSHA       STEWART                  AL          90013038325
2674B957672B42   JACQUELINE   AGUILAR                  CO          33084919576
26751159972B88   CESAR        ALVAREZ                  CO          33067621599
26751A66372B32   JASON        SMALL                    CO          90012470663
2675218399136B   JAVIER       HERNANDEZ                KS          90015321839
2675227AA4B521   NATASHA      DORSEY                   OK          90006682700
2675236769184B   JULIO        BAROJAS                  OK          90015103676
26753169A7B449   FABIAN       ROBINSON                 NC          90014821690
2675332A79155B   GARCIA       ARELY                    TX          90012303207
26754A2A384364   DAYAMI       MCCANTS                  SC          90010750203
26754A88572B88   ISSAC        MARTINEZ                 CO          90015120885
26755563172B88   NELSON       MARES                    CO          33014245631
2675563364B261   IRIESELA     VALENTE                  NE          90010436336
2675572A884364   ISRAEL       SANCHEZ                  SC          90008647208
26755A15171925   ROXANNE      ROMERO                   CO          90012390151
2675767129189B   BRITTNEY     JONES                    OK          90014926712
26757AA8472B29   ROSENDA      HERNANDEZ                CO          90008710084
2675812314B588   JAQUATTEA    AUGUSTINE                OK          90010701231
2675885795B271   KOR LONDA    MCCROMINS                KY          68066648579
2675885A35B326   GABRIELA     MORALES                  OR          90005738503
26758999272B29   FLORENTINO   ANTILLAN-TREMILLO        CO          90012959992
267597A2591828   RANISHA      ROCHELL                  OK          90014067025
26759973272B29   RANDALL      BOYLES                   CO          90000999732
2675999A24B261   KATRINA      HOTKA-TRUEMPLER          NE          90012099902
2675B59879184B   SHERITA      MORRIS                   OK          90013835987
2675B654672B29   JUANA        REYES                    CO          33040676546
2675B992657157   LEONARDO     BERMUDEZ                 VA          90010739926
2676113957B336   LISA         SAEZ                     VA          81057081395
2676226984B588   TILLY        FRANCO                   OK          90006732698
267622A1472B88   JOSHUA       GILDEN                   CO          90011972014
2676244839189B   JOAQUIN      DEL RIO DIAZ             OK          21029214483
2676377174795B   MARIA        LANDEROS                 AR          25055167717
26764736A9184B   MARIA        PADILLA                  OK          90010017360
2676496A37B449   LASHAE       WALKER                   NC          90013239603
2676592934B281   SYLVIA       HOLST                    NE          27029089293
26766743672B88   LORRIE       MARTINEZ                 CO          33013377436
26766A29672B32   TRAVIS       MARRICLE                 CO          33032000296
267672A3591828   JANELLE      JARCHOW                  OK          90011022035
26767523972B88   BRIAN        NASTICK                  CO          33034615239
2676754464B281   LEAH         BROWNING                 NE          27074725446
26768638972B29   ROBERTA      GOLDAMMER                CO          90012926389
26768891772B32   KRISTIE      TSINNIJINNIE             CO          90014868917
26768A43257157   MONRIQUE     SARCENO SALGUERO         VA          90012690432
26769154572B88   CARLOS       PAREDES                  CO          33091091545
26769167172B29   MARGO        DIXON                    CO          33008721671
2676982252B232   CHANELL      HODGE                    DC          90005888225
2676997395B571   BRYCE        HARPER                   NM          90008359739
2676B949872B42   VALERIE      DIACK                    CO          33095509498
2677117345B54B   BRENDA       PADILLA                  NM          90015381734
2677281269189B   SARAH        CORNELISON               OK          21052448126
26773122A4B588   ANGEL        WALKER                   OK          90012741220
2677334A77B449   BRIANNA      TRAVELL                  NC          90002883407
2677387555B161   CRISTINA     KAIN                     AR          23008028755
2677398358B168   SHAYLEE      WHEELER                  UT          90002779835
2677471849184B   BRENDA       SEALS                    OK          21062837184
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26776156472B29   JOSE            HERNANDEZ             CO          90011581564
2677692782B27B   DARREN          ANDREWS               DC          90008979278
26777539272B88   DORA            ZUNGIA                CO          90011275392
26778242972B32   TIFFANY         MUNOZ                 CO          90013712429
2677849A44B261   JULIUS          SHIELDS               NE          90011504904
26778A16857157   ROGER           COALEANO              VA          81029280168
2677976372B27B   CHANEL          JENKIN                DC          90015097637
2677989849184B   PAIGE           DANIEL                OK          21063658984
26779AA1351369   DELORES         HALL                  OH          66015090013
2677B133372B88   JESUS           TREVIZO               CO          90008471333
2677B2AAA7B471   TRIASSA         DUBOR                 NC          90002962000
2677B33787B471   TRIASSA         DUBOSE                NC          90014003378
2677B6A4155977   ALYSHA          SUMAYA                CA          90012006041
2678172549189B   DYLAN           ANNEX                 OK          90014927254
26782151672B88   KRISTY          RAAB                  CO          33015261516
2678243465B161   LAURA           MELENDEZ              AR          90014704346
26782439772B32   COLLIS          CLARK                 CO          90012854397
2678245A172B42   ALCALA MANUEL   HURTADO               CO          90012024501
2678262A371935   CLARA           FOWLER                CO          32094886203
2678276514B588   DEBRA           RUCKER                OK          21552707651
26782998A36165   ROBERT          RAMIREZ               TX          90012969980
26782A3269184B   BOBBI           CASE                  OK          90009740326
2678371A672B42   TINO            GONZALEZ T G          CO          90010927106
26784677A4B588   TRISHA          JACKSON               OK          90014046770
26784723172B29   JIM             WADDELL               CO          33088327231
2678477885B161   BRITTANY        ROBINSON              AR          23008127788
26785A38472B42   RICHARD         GARCIA                CO          90012830384
26786439772B32   COLLIS          CLARK                 CO          90012854397
2678676114B588   RAVEN           MILLER                OK          90014417611
26786791A57157   NORMA           JOVEL                 VA          90013327910
2678739A591953   FELICIA         YOUNG                 NC          90008763905
26787A3A65B161   SUZETTE         ELLIS                 AR          23089930306
26787A54991986   DARIUS          OSBORNE               NC          90013300549
26788466272B29   DAVID           CALDERON              CO          90012574662
26789A47371935   SAUL            OROZCO                CO          90011160473
2678B224155977   ITZEL           ACOSTA                CA          90013182241
2678B475721677   CHRISTINA       MORRISON              OH          90011154757
2678BA53455957   MYEISHA         WORMLEY-JOHNSON       CA          90013460534
267918A4361995   ANGELICA        RODRIGUEZ             CA          90004468043
26791932272B88   WAYNE           GRIFFIN               CO          90009389322
26792126A7B449   GLORIA          YATES                 NC          11098011260
26792171A9184B   MICHAEL         EUBANKS               OK          90007361710
26792318A72B88   ISELA           MENDOZA               CO          90015073180
26792AAA77B471   MIGUEL          SALGADO               NC          11086170007
2679376894B261   TRACY           BARTOETT              NE          27079497689
2679394952B542   JULIO           BRIONES               AL          90015019495
267944A893B352   MICHAEL         LITTLEHORN            CO          90004854089
2679451162B232   CHRISTEN        MCBRYDE               DC          90008895116
2679475632B27B   DARLENE         BURTON-DORSEY         DC          90012807563
26795326372B27   LUCILLE         WASHINGTON            CO          33000513263
26795A6834B261   BRIAN           LANAM                 NE          90007930683
2679645524B588   TRISTA          GILBERT               OK          90003004552
2679722854B588   CREE            HILL                  OK          90015112285
2679839172B27B   MIA             CARTER                VA          90015213917
26799283272B88   MARIA           GAMBOA                CO          33098902832
26799772A84364   RUSHIA          ROBERTSON             SC          90013047720
267997A1891953   FRANCIS         WHEELER               NC          90013627018
2679989265B161   TAMIKA          BLOCKER               AR          23064778926
267B136A572B32   MAHIPIYA        WHITE CALF            CO          90011073605
267B1635684364   SIMON           LICONA                SC          90013936356
267B1978991828   APRIL           CHANCELLOR            OK          90010659789
267B2868831631   WILMA           WILLIAMS              KS          22026978688
267B31A6255977   OLIVER          GODINEZ               CA          90013161062
267B3577A81661   TAMMY           RICHARDSON            MO          29081145770
267B3778131433   CHARLOTTE       AUTTIN-HOLT           MO          27541247781
267B413A531433   DARRYL          ELLIS                 MO          27575431305
267B452775B161   MILTON          WHITAKER              AR          23000355277
267B5133172B88   FELIPE          QUINTANA              CO          33001261331
267B5268A2B27B   EARL            NELSON                DC          90008032680
267B554A857157   PEDRO           QUISPE                VA          90010465408
267B5843561989   DORA            CANO                  CA          90004528435
267B6481291522   GEORGINA        ANTILLON              TX          90008774812
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267B6513793753   CHRIS            MORELAND             OH          90000545137
267B66A172B86B   GABINO           FRANCO               ID          90014996017
267B6844655957   LOURDES          VICENCIO             CA          90007168446
267B697519189B   RENSO            ZAVALA               OK          90014919751
267B7343684364   CHRISTINA        MILLS                SC          90010523436
267B7427A5715B   YOLANDA          VARGAS               VA          81042414270
267B7632357157   JAMAL            WALKER               DC          90012336323
267B79A1472B29   MARIO            VARGAS               CO          33087209014
267B822494B543   LACHRISA         DUPREE               OK          90001612249
267B8622931631   MANUELA          PUCHI                KS          90013566229
267B8878243551   SHANNON          ASHBY                UT          90000888782
267B8A74984364   MIRANDA          NEALY                SC          90014570749
267B9363A4B588   EBONY            JARRET               OK          90012453630
267B9576184364   JASMINE          BROWN                SC          90014875761
267B96A279184B   CANDY            WATKINS              OK          90009746027
267B9759972B29   SUSAN            BUTLER               CO          90011897599
267B986A472B32   CHRIS            ROSS                 CO          90008268604
267BB583472B32   SONNY            FISCHER              CO          90014595834
267BB949A72B53   JUSTINA          HONEA                CO          90010869490
26811411A9189B   LENNISON         BAEZ                 OK          90014914110
26812248672B42   RAUL             VALDEZ HERNANDEZ     CO          90009532486
268124A713366B   DORIAN           HARDY                NC          90011454071
268127A4331453   JERMANIE         BRYANT               MO          27564667043
26813194972B88   WILLIAM          JR                   CO          90011961949
268136A579155B   ALEX             RAYOS                TX          90005486057
2681393812B27B   BENJAMIN         MCDANIEL             DC          90009529381
2681435319184B   HUE              CULVER               OK          90012963531
2681441564B588   IONE             GRAHAM               OK          90013104156
268151A474B588   SAMANTHA         JOHNSON              OK          90004451047
2681547255715B   SEAN             BOWLES               VA          90005014725
2681552174B261   CELETHIA         BURTON               NE          90012095217
2681575825B37B   SCOTT            PAYNE                OR          90008607582
26815A1122B27B   WILLIAM          FRIDAY               DC          90012240112
26815A21691953   ANGELA           CHAMBERS             NC          90011350216
26815A6A761977   MIGUEL RICARDO   SOTO RICO            CA          90012680607
268165A689184B   ANA              GARCIA               OK          90014245068
26817138A5B244   JAMIKA           DRAKE                KY          90010881380
268171A2791828   SAMANTHA         HARRISON             OK          90013631027
26817236A91522   MARIA            ALVAREZ              TX          90013642360
26817A73991522   OTILIA           QUINTANA             TX          90014910739
26818931272B32   JESUS            TALAMANTES           CO          90011179312
2681921A591953   SARAI            ESCOBAR              NC          17085642105
268192A7491828   DAVONTE          WILLIAMS             OK          90000582074
2681948274B261   DAWN             HARTLEY              IA          90014834827
268195A7941245   HAYLEY           KING                 PA          90002355079
2681963565B161   HAGLER           MYESHA               AR          90011096356
268197A179136B   BUBBA            HETTMAN              KS          29055987017
2681B445591828   DEISY            SANTANA              OK          21015734455
2681B48382B27B   BRIAN            MARSHALL             VA          90014484838
2682166165B571   ANTHONY          WOOD                 NM          90006476616
2682179424B261   SERGIO           AGUSTIN              NE          90011017942
268223A7181661   JESSICA          HERNANDEZ            MO          29079873071
2682368254B261   LESHA            HARRIS               IA          90011026825
2682463437B449   EDUARDO          NENGITUKULA          NC          90011916343
268247AA19184B   CLARISSA         HOWARD               OK          90010207001
26824A5725B571   CASSANDRA        CARRILLO             NM          35061100572
2682578A94B588   EVINYN           QUIJADA              OK          90006197809
268268A1781661   SANTOS           HERNANDEZ            MO          29002178017
26827735672B88   NATLEY           WOODS                CO          90008977356
26827974372B42   JANNIELLE        FLORES               CO          90012119743
26827A84672B42   JENNIFER         RODRIGUEZ            CO          90013070846
2682844262B27B   FELICIANO        GATICA               DC          90003604426
2682889769155B   SIMONA           HERNANDEZ            TX          75087358976
26828914A7B449   SADE             HOUGH                NC          90012869140
26829A8A37B471   MAURICE          CARROLL              NC          90009700803
2682B597272B29   CARLOS H         ROLDAN               CO          90011235972
2682B63A172B88   KARLA            CERECERES            CO          33009586301
2682B88645598B   SAMUEL           FLORES               CA          90003008864
2682B8A269189B   DANIEL           LAWRENCE             OK          90014928026
26833181472B32   GUADALUPE        TALAVERA             CO          90011061814
2683439427B477   SHAUNTA          MOORE                NC          90004223942
26834A37672B88   KELLY            HAMILTON             CO          90013770376
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2683536154B281   THUBO        ACHWIL                   NE          27074983615
26836335172B98   WANDA        RAMEY                    CO          33095083351
2683655377B471   GALVAN       AGUILAR                  NC          90002095537
2683659137B449   DANISHA      PATTERSON                SC          90010965913
268368A2691828   TRESSIE      SWEARINGEN               OK          21025548026
2683742685B571   OSCAR        BARRIGA                  NM          90009144268
268377A989136B   BRIDGETT     FITZPATRICK              KS          90008337098
2683912219184B   ROSA         RABANALES                OK          21044931221
2683945828B17B   MONICA       MUNOZ                    UT          31047844582
26839527A57172   MIGUEL       CASTRO                   VA          90008695270
26839549172B29   CHARLENE     SOLANO                   CO          90001365491
2683B13A34B588   THERESA      MITCHELL                 OK          90009811303
2683B22A155977   ARTURO       GONZALEZ                 CA          90013602201
2683B4A4584364   COURTNEY     FERGUSON                 SC          90013944045
26841431A72B88   CHRISTINA    JENSEN                   CO          90014474310
26841777472B42   EVELIN       MELENDEZ                 CO          90010887774
2684183155715B   MELUIS       MARTINEZ                 VA          90005458315
26841A63A51369   GWENDOLYN    WILLIAMS                 OH          90003260630
26841A73772B32   CONCEPCION   GALVAN                   CO          90012470737
2684265775B161   RANEL        LOWE                     AR          90011096577
2684292619184B   LANEISHA     HUGHES                   OK          90010869261
2684449792B232   DOMINICK     STOVER                   DC          90005894979
2684472257B471   NOLBERTO     CHAVARRIA                NC          11094227225
2684562194B261   RUSS         MYRICK                   NE          27037516219
268457A985B161   CAROLE       WILSON                   AR          90009097098
2684627117B449   AKBAY        DEFNE                    NC          11064382711
2684663A29189B   JASON        HENDRIX                  OK          90011886302
2684697329184B   LAURA        OWEN                     OK          90012029732
2684935167B457   REBERAH      WASHINGTON               NC          90012273516
2684967644B531   CONSUELO     ESTRADA                  OK          90006296764
2684B13214B261   ROSLAND      HENDERSON                IA          90012421321
2684BA95331631   SHERI        GONZALEZ                 KS          90014750953
2685173A99184B   FERNANDO     PALESTINA                OK          90011407309
26851A42A5B57B   CLARA        SERRANO                  NM          90009090420
26852173672B32   ROBERT       ESQUIBEL                 CO          90011061736
26852879A72B29   JUAN         ASTORGA                  CO          90005478790
26852A28331453   JAMES        TROY                     MO          90004270283
2685429494795B   SONNY        JONES                    AR          25095242949
2685458865B161   MARK         CLARK                    AR          23087685886
26855548772B29   GABRIEL      GALLARDO                 CO          90009565487
2685582779189B   ANGELIA      HANSEN                   OK          90014928277
2685653364B588   ALYSSA       TOLSON                   OK          90012685336
2685679954B261   JESSICA      MILLER                   NE          90011017995
26856A11997122   NOEL         MENDEZ                   OR          90013250119
2685774544B281   JOSE         BERNARDINO               NE          90006457454
26857A7347B449   RICHARD      MEDLIN                   NC          90014710734
2685834614B281   JOHN         STONE                    NE          27012513461
2685917222B27B   PAUL         BASSE                    DC          90001311722
26859426872B32   ALLEN        HALKO                    CO          90013364268
2685973A284364   JONATHON     SIMMONS                  SC          90013607302
2685B27912B27B   NORMA        LEON                     DC          81027502791
2685B32252B926   MALCOM       WRIGHT                   CA          90000963225
2685B461172467   BETH         MOORE                    PA          90008594611
2685B484491828   NICOLE       GREEN                    OK          90015124844
2685B949972B88   JOSH         SALCIDO                  CO          33012699499
2685BA2947B449   DARRYL       CARSON                   NC          11067520294
268613A1172B32   MARGARITA    LEON                     CO          33054503011
2686234492B27B   DIANE        LAMBRIGHT                DC          90010393449
2686253364B588   ALYSSA       TOLSON                   OK          90012685336
2686321164B261   WENDY        BESSE                    NE          90015202116
2686326774B581   ASHLEY       ELMORE                   OK          90014332677
26864714372B42   OSCAR        BUENO                    CO          90010927143
2686515137B644   SHANTAE      SAVAGE                   GA          90010641513
2686565889155B   JOSE         GONZALEZ                 TX          75099146588
26865779572B88   DONALD       ARMSTRONG                CO          90000377795
268661AA731631   JOSE LUIS    JACQUEZ                  KS          90013601007
2686755465B28B   DAVID        MONEY                    KY          90005675546
2686796A472B32   TASHA        SHAW                     CO          90012139604
26868478A4B588   JAMES        WHITE                    OK          90005024780
2686882859136B   SARA         DIAZ                     MO          90003358285
268693A9591522   ARTHUR       DE STEFANO               TX          90014523095
268696A579155B   ALEX         RAYOS                    TX          90005486057
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2686B39584B281   JESSICA     SISNEROS                  NE          90008653958
2687181295B161   SHARONDA    FLINT                     AR          90009098129
26872A2A931631   JON         BOYD                      KS          90009540209
2687383A99184B   BREANA      BROWN                     OK          90009398309
2687384A781661   KELLIE      COLLINS                   MO          90010518407
268741A1A72B32   GRISEL      MARQUEZ                   CO          90001931010
2687461AA84364   VALORIE     DRAYTON                   SC          19001506100
26874A8139155B   ADRIANA     GONZALES                  TX          75084250813
26875AA8471924   STEPHEN     GONZALES                  CO          90007870084
2687653789184B   OLGA        TORRES                    OK          90002195378
2687692727B471   ANTOINE     ISLES                     NC          11064269272
26877463572B88   DON         DOBRANSKY                 CO          33087594635
26877A1735B271   STEWART     SHARPE                    KY          68093580173
2687829359189B   MANUEL      MEMIJE                    OK          90010202935
26878711772B29   ANITA       GARCIA LEON               CO          90002737117
2687978824B281   ZAMZAM      JIMALE                    NE          90011647882
2687986382B27B   ZACK        JOHNSON                   DC          81078228638
2687992392B232   DION        MCCLURE                   DC          90005899239
2687B233257157   SUSANA      CASTILLO GUERRA           VA          90012732332
2687B94839184B   MATEO       LOPEZ                     OK          90015289483
2687BA41555977   CHRIS       ORTIZ                     CA          90000410415
2687BAA5391528   JESUS       ZARATE                    TX          90006880053
2688117A184364   KRISTEN     ALLEN                     SC          90013941701
2688271999184B   STACYE      CHERNISKY                 OK          21070087199
26882A41157157   AMILCAR     GOMEZ                     VA          90009020411
268833A119189B   SCOTT       LESTARGE                  OK          21094303011
26883575272B88   SARA        REDLER                    CO          90011275752
2688366362B27B   MARK        JOHNSON                   DC          90001036636
2688414324B588   ANITRA      FLEEKS                    OK          21558221432
2688476A831631   BRIANA      ALFORD                    KS          90013917608
2688522A82B27B   DON         WALKER                    DC          90010412208
2688526A72B27B   LAPREKIA    GILBERT                   DC          90012832607
26885A6315B161   HUGH        EASTWOOD                  AR          90010390631
2688665572B27B   JUNE        MARSHALL                  VA          81014416557
2688744642B962   CHVONNE     MACINTOSH                 CA          90009424464
2688759742B931   JUAN        MORALES                   CA          90006425974
268878A546196B   JANETH      MALDONADO                 CA          90008078054
2688795535592B   MARIA       ESCAMILLA                 CA          90008679553
26888339972B32   LATONYA     WILLIAMS                  CO          33005853399
2688989994B261   RAUL        JARQUIN                   NE          90015098999
2688B17358B17B   ASHLEY      TAYLOR                    UT          90010171735
2688B654355957   ROXANA      VASQUEZ                   CA          90015396543
2688B992791241   WILLIE      LEWIS                     GA          90011419927
26891575172B32   MARIA       GUILLEN                   CO          33045125751
268919A589189B   JEREMY      BILLINGSLY                OK          90014929058
2689255A97B449   CAROLINA    FUENTES                   NC          90013525509
2689263539155B   IVAN        DURAN                     TX          90005486353
2689391149189B   OCTAVIO     MEDRANO                   OK          90014929114
2689445874B588   JOSE        FRANCISCO                 OK          90004124587
2689491149189B   OCTAVIO     MEDRANO                   OK          90014929114
2689492397B449   VANESSA     SPRING                    NC          90012869239
26894A11157129   LESLIE      WHITE                     VA          90001420111
2689511337B422   JOHANNA     GONZALEZ                  NC          90013581133
2689527347B449   HEATH       POLSON                    NC          90012092734
26895A83172B32   LISA        TALMADEGE                 CO          33048670831
26896239172B88   ERICK       MARTINEZ                  CO          90012802391
2689631774B588   TABITHA     KING                      OK          90014093177
2689666924B588   MALEA       BARNETT                   OK          90011126692
2689672589136B   CHRISTA     GUMM                      KS          29013257258
26897622972B29   MICHAEL     PICKTELL                  CO          90011236229
26897758872B53   KIMBERLY    PETTERSEN                 CO          90006057588
2689817182B27B   MANOR       ZAPET                     DC          90004311718
268982A979152B   BRYAN       VALLE                     TX          90001502097
2689835264B261   BERNARD     PARCHMENT                 NE          90013493526
2689864AA55957   FAYE        PEREZ                     CA          90011116400
2689891374B281   VICENTA     JIMENEZ                   NE          27061599137
26898981297B41   IDRIS       AHMAD                     CO          90006139812
2689918357B477   BRANDI      CHRISTENBURY              NC          11010171835
2689922682B27B   ANA         OBELIZ                    DC          90008422268
26899A5869155B   LURDES      GARCIA                    TX          90009250586
26899A6439136B   JOSE        MARIA PEREZ               KS          90003360643
26899A66172B29   LORENA      TRUJILLO                  CO          33062500661
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2689B211991828   M             DIXON                   OK          90014352119
2689B598831631   GEOMAR        CERVANTES               KS          90012745988
2689B951472B29   REBECCA       FRAZIER                 CO          90013829514
2689B953672B88   MAYRETH       BARRAZA                 CO          90012629536
268B1784172B42   VALERIE M     ROBLES                  CO          33085067841
268B2233955947   ANDY          FLORES                  CA          90013892339
268B251A657157   ZULMA         CONTRERAS               VA          81052565106
268B254A472B32   KWING HO      YAN                     CO          90009715404
268B3143172B88   NORMA         SANCHEZ                 CO          33079161431
268B3336861939   PECOLIA       GREEN                   CA          46043903368
268B42A274B521   TANYA         LASSAK                  OK          21572482027
268B431473B347   KATHERINE     CRUZ                    CO          33016793147
268B4592381661   TIFFANY       SLATER                  KS          90010515923
268B4A1A27B449   DERRICK       BARBER                  NC          90014810102
268B5176384364   JASON         FLEMING                 SC          90001261763
268B5422331453   DAVID         WILLIAMS                MO          90002144223
268B574759189B   JAVIER        LOPEZ                   OK          90014927475
268B5798331492   MARSHALL      CLEMONS                 MO          90006367983
268B57A5491953   ALEJANDRO     LOPEZ                   NC          90004517054
268B5951672B42   TERRY         BURKE LINDEMAN          CO          33082399516
268B619367B477   JESSICA       FARRIS                  NC          90003211936
268B697832B844   OLGA          HARPER                  ID          90012079783
268B6A93855977   EDUARDO       LEOS                    CA          48003550938
268B72A8A4B588   DEREK         KIGHT                   OK          90013732080
268B7389391522   ELVA          FERNANDEZ               TX          75085733893
268B745867B449   ERIC          CARPENTER               NC          11045864586
268B7787A72456   JENNIFER      WHITE                   PA          90007447870
268B7879881661   ROXIE         TURNMAN                 MO          29044758798
268B891557B449   WESLEY        FISHER                  NC          11032749155
268B8965555977   JESUS         REYES                   CA          90010799655
268B9553972B88   ROBERT        SHENEFIELD              CO          90007395539
268B9656555977   MICHAEL       TAFOYA                  CA          90012076565
268B985289136B   CLAUDIA       MORA                    KS          29055328528
268BB138531631   JANIECE       DELAGARZA               KS          90002501385
268BB593481681   SONYA         LOVE                    MO          90005875934
268BBA6647B449   MARSHA        GANDY                   NC          11092310664
2691138415B271   MARK          WILSON                  KY          68043393841
2691141132B27B   ANDERSON      LIRIANO                 DC          90012314113
2691212A155977   DORA          MULLEN                  CA          90015291201
2691216A681661   TERRY         FOLDEN                  MO          29073181606
26912185A25138   JOSE          LOPEZ                   AL          90015501850
26912782376B21   KACEY         BLANDA                  CA          90001737823
26913651172B32   MARIA         F DE MUNOZ              CO          33070166511
26913AA7891953   TIP           TIP                     NC          90010450078
2691474429155B   ELENA         TOVAR                   TX          75069837442
26915169672B32   DIANE         VIGIL                   CO          33094901696
26915AA7355957   LUIS          RAMIREZ                 CA          90011170073
2691628374B588   LOIS          QUEZADA                 OK          90015072837
26916451672B32   JOSE          CORDOVA                 CO          33039174516
269164A298B136   MIKKEL        ROSS                    UT          90000964029
2691691155715B   MARIA         GUARDADO                VA          81016279115
2691699184B521   JACOBO        MORALES                 OK          90005559918
2691875254B588   LEANN         KNIGHT                  OK          90015167525
26918A2A172B32   STACY RENNE   PASSAFIUME              CO          90013780201
2691951134B261   DAVID         BRUNING                 NE          90008595113
2691955A231453   CHERYL S      WALDROP                 MO          90010105502
2691B191A91241   WINDLAE       ANDREWS                 GA          90011771910
2691B244572B88   MARIA         MEDINA                  CO          90012802445
2691B8A7472B42   JERRY         STEVENS                 CO          90012088074
2691BA5829189B   GEORGE        SMITH                   OK          90009760582
2692129395B161   ROXANA        HERBABDEZ               AR          90014602939
2692231717735B   COURTNEY      SMITH                   CO          90001193171
2692334185B161   LISA          WOODS                   AR          23086673418
2692342A255977   SARAH         RORIGUEZ                CA          90007134202
2692368582B27B   ANNIE         YALEGUE                 DC          81016346858
26925A53272B42   COURTNEY      ANDERSON                CO          90014200532
2692633142B27B   JOSEPH        JACKSON                 DC          90010893314
26926421372B29   ROSA          RIBAS                   CO          33015704213
26926816172B32   ALMA          NUNEZ                   CO          33063088161
2692757649184B   MITCHELL      LEE                     OK          90013985764
269279A5572B88   SANDRA        RASCON                  CO          33022269055
2692985A872B32   ERIK          EDUARDO                 CO          90003488508
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2692993255B271   RICHARD     GOODIN                    KY          90001319325
2692B923291522   ADRIAN      FLORES                    TX          90012889232
2692BAA458B151   AMANDA      CROSBY                    UT          90009170045
26931741172B42   MICHAEL     MOULTON                   CO          90012127411
2693285394B588   TAYNA       KEENEY                    OK          90012388539
2693286412B27B   DONNELL     SMITH                     DC          90008108641
269331AA69189B   KAYLA       ENOS                      OK          90014931006
2693481112B926   LUIS        DE ARCOS                  CA          90007478111
26934826872B29   ALI         ALSHIBLY                  CO          90013858268
26935292A81661   SANDRA      ROBINS                    MO          29097932920
2693598463B179   LARRIEKA    KNOX                      DC          90011939846
26936593472B42   KITZI       SMITH                     CO          90014555934
2693711717B477   TRACY       WILSON                    NC          90002731171
26937524472B29   PORTILLO    MANUEL                    CO          33015705244
269381A1772B32   RENATA      GALVAN                    CO          90011931017
2693844215B571   RICHARD     SANCHEZ                   NM          35057144421
2693876632B27B   SHAWN       BELTON                    DC          90002707663
26938A25985938   LUISA       RAMOS                     KY          90012320259
26939198972B32   MARIBEL     GONZALEZ                  CO          33062011989
2693927285B37B   KIMBERLY    JARVIS                    OR          90006442728
26939A2467B449   GUSTAVO     MADORA                    NC          90006650246
2693B579157157   SAYQUAN     CARTER                    VA          90012745791
2694113A49189B   JOSEPH      IANNAZI                   OK          90014931304
269421A5272B88   IRENE       VARRUETA                  CO          90004501052
26942364A55977   MARIA       GARCIA                    CA          48078533640
26943173672B32   ROBERT      ESQUIBEL                  CO          90011061736
26943254172B88   JASMINE     CORRAL                    CO          90012802541
2694362AA9184B   MARCOS      SALDIVAR                  OK          90015146200
2694455744B553   CHADRIC     BLOOMER                   OK          90006405574
269447AAA41245   BRUCE       RANDOLPH                  PA          51042257000
26945448A9184B   JOSE        OVIODO                    OK          90009924480
2694749A29136B   RICARDO     ANDRADE                   KS          29035824902
2694787965B571   JONES       TAFT                      NM          90005318796
2694814744B281   WILBERT     SMITH                     NE          90002131474
26948A42172B29   ANASTACIO   HUICOCHEA                 CO          33076940421
26949617A72B32   SMITH       RENE                      CO          33095266170
2694B195A55957   MARGARET    VILLEGAS                  CA          48014941950
2694B264772B29   JEFRIES     RIANNE                    CO          90010192647
2694B6A8841245   DAVID       DININNO                   PA          90007226088
2694BA17855977   MIRIAN      LOPEZ                     CA          48036690178
26951A34A72B29   KACEY       AUMILLER                  CO          33040700340
2695215764B588   RONY        RAMIREZ LOPEZ             OK          90013391576
26953141A9189B   CHRISSIE    LACEY                     OK          90014931410
2695354764B261   JOSE        ALVAREZ                   NE          27049185476
26953A77A9184B   LARRY       DOODLEY                   OK          21016910770
2695443339155B   MANUEL      RODRIGUEZN E              TX          90007074333
26954A63572B32   NICOLE      BALLEGEER                 CO          90012580635
26955469872B88   JAIME       PEREZ                     CO          90004714698
26955A4882B27B   ANISHA      BLAND                     DC          90014520488
269566A877B449   WILLIAM     COOK                      NC          90013616087
26958558372B29   NOE         TORREZ                    CO          90008635583
26958A8534B261   RUDEY       BISSONETTE                NE          27016080853
26959587A72B29   VIRGINIA    ARAGON                    CO          90014715870
2695B21514B588   DENZEL      AKINMOLADUN               OK          90014732151
2695B411257157   BETTY       WRIGHT                    VA          90012844112
2695B447872B42   SUSAN       SCOTT                     CO          90012324478
26962571172B88   BETH        RICCI                     CO          33073735711
269627A2887B87   CAROL       WILLIAMS                  AR          23022817028
2696295419184B   DONALD      ELLIS                     OK          90013839541
26963654972B29   ALEJANDRO   GUIVARA                   CO          90011236549
2696435269184B   JONATHAN    BRAY                      OK          90015343526
2696436A455977   TINA        WALKER                    CA          48044203604
2696439535B54B   HUGO        MERCADO                   NM          90013903953
2696593812B27B   BENJAMIN    MCDANIEL                  DC          90009529381
2696639152B27B   CHRISTAIN   GRAY                      DC          90010893915
269663A2A76B71   SCOTT       FLAHIVE                   CA          90013153020
26966513A61935   MARTHA      VASQUEZ                   CA          90010005130
2696672749184B   PABLO       GONSALEZ                  OK          21007267274
26967515972B32   ROSA        GAYTAN-DE SALAS           CO          33079545159
2696775355B271   EBELYN      LABRADA                   KY          90000877535
2696893497B449   YOLANDA     FEE                       NC          90009829349
2696911294B261   ADELA       VAZQUEZ                   IA          90013661129
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26969178A9189B   DERRICK       RUSSELL                 OK          90014931780
269693A6484364   IVAN          ATALAIA                 SC          90009103064
26969572772B88   KRYSTAL       RAEL                    CO          33044665727
26969595A57157   ELSA          CRUZ                    VA          90011045950
2696B2A179184B   AMANDA        HERNANDEZ               OK          21054712017
2696B944471924   DAVID         RODRIGUEZ               CO          90007919444
2696BAA334B588   STEVEN        HARRIS                  OK          90010560033
2697287712B27B   KANIESHA      TILLER                  DC          90002108771
2697295AA55977   MARINA        GUEVARA                 CA          90012079500
26972A89651353   TYLAN         COHN                    OH          90014130896
2697398157B471   TRALETTA      BANKS                   NC          11074059815
26973A13772B32   KAYLYN        LILLY                   CO          90014160137
2697471737B477   MISTY         KISER                   NC          11011717173
269748A9991528   EZEQUIEL      HLUZ                    TX          75090458099
2697535475B571   TYLAN         TIDELL                  NM          90003403547
2697571A172B32   SANDRA        ESQUEDA                 CO          90009087101
26975A4A691522   ANTONIO       PAIZ III                TX          90011090406
26975AA8377371   WHITNEY       WHITE                    IL         90000680083
2697661A472B32   TAMI          MARTINEZ                CO          90014486104
2697683189155B   JUAN          BELMAN                  TX          75096368318
26976A9A451369   QUINITITRA    BAKER                   KY          90008790904
26977332A2B232   CHARLES       ANEKE                   DC          90001973320
2697747752B27B   FLAVIA        FORD                    DC          81083954775
2697914715B271   ANDREA        WILLIAMS-HALSELL        KY          68052241471
2697B516172B29   ADRIAN        PASILLAS                CO          90011405161
2697B51A691249   RAMONA        BAUCOM                  GA          90000685106
26981A98885949   NANCY         WILSON                  KY          90012440988
2698212417B477   HATHO         BURRIS                  NC          11081901241
2698248249184B   FRANSISCO     RODRIGUEZ LOPEZ         OK          90009874824
26982798672B32   GILBERT       MENDEZ                  CO          33023927986
2698283384B281   ELIZABETH     FITZGERALD              NE          27001358338
26982AAA45B271   WILL          HOLLENQUEST             KY          68056480004
26983275672B88   EDWARD        DAVIS                   CO          90004962756
2698356765B161   MICHELLE      DREHER                  AR          90014605676
2698385394B588   TAYNA         KEENEY                  OK          90012388539
2698437334B261   JESUS         ARANDA                  NE          27068823733
2698543734B582   ALVERTO       ARVIZO                  OK          90009224373
2698556765B161   MICHELLE      DREHER                  AR          90014605676
269857A2791953   IVAN          SANTOS                  NC          90011417027
2698594A384364   JUAN CARLOS   BAUTISTA                SC          90013949403
26985A84672B42   JAVIER        MORENO                  CO          90010670846
2698648274B261   DAWN          HARTLEY                 IA          90014834827
2698756765B161   MICHELLE      DREHER                  AR          90014605676
26987A44972B32   RODOLFO       LOPEZ                   CO          33047840449
26987A82A41245   MELISSA       KRAFT                   PA          51060950820
269883AA84B261   CHRIS         MANZER                  NE          90005243008
2698856765B161   MICHELLE      DREHER                  AR          90014605676
2698865479189B   YVONNE        RABON                   OK          90008726547
2698865A657157   VIOLET        GOMEZ                   VA          90012746506
269891A9781661   BENJAMEN      JAMES                   MO          29030021097
269892AA991953   JOLINDA       CLAPP                   NC          90008772009
2698976697B471   FRESNEL       NKOSI                   NC          90009227669
26989814272B42   JESUS         TORRES                  CO          33090438142
26989A3734B588   RONNIE        THOMAS                  OK          90011430373
2698B229472B27   STACY         VALDEZ                  CO          90008362294
2698B277657157   MICHELLE      BRISCOE                 VA          90010722776
2698B6A695B161   KIERRA        WALKER                  AR          90003126069
2698B94654B521   RENAE         BURBRIDGE               OK          90007389465
2699173517B449   PRISCILLE     NTUMBA                  NC          90014897351
269917A4255957   MEGAN         RHEA                    CA          90010627042
26991A7144B281   LINDA         HALBERT                 NE          27095580714
269922AA872B29   OSCAR         SILVA                   CO          90007732008
26992696972B42   JODINE        LUCERO                  CO          90015086969
2699326672B27B   JOHN          SCOTT                   DC          90015042667
2699357799184B   BETTY         LOCKETT                 OK          21032395779
26995694A5B161   KEVIN         HELMES                  AR          90014696940
269956A137B449   MONTEA        MOORE                   NC          90003046013
26995A4275B571   STELLA        TORRES                  NM          35066860427
2699625716B247   ROBIN         GUTIERREZ               AZ          90014132571
2699643267B449   HARRY         NUNEZ                   NC          11094394326
26996A21672B32   DEHART        JEANETTE                CO          33098600216
2699721293366B   ALRITA        WILLIAMS                NC          90002782129
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2699795759184B   LYNNE        SWANFELD                 OK          90001769575
269991A4884364   AARON        HENSON                   SC          90013951048
2699937762B241   ANTHONY      PREACHER                 DC          90009603776
2699965177B471   GLORIA       COUIGTON                 NC          90011236517
2699B72392B232   DOMONIC      GARRETT                  DC          90005727239
2699B724972B88   ANDREW       GORMAN                   CO          90010527249
269B163545B161   FRANCES      DONALD                   AR          23020456354
269B1671555977   VERONICA     FLORES                   CA          90005256715
269B213215B571   TIM          CHISM                    NM          90003401321
269B2283484364   REYES        RAMIREZ ORIZABEL         SC          90013942834
269B2558955957   ORTENSIA     HERRERA                  CA          90009325589
269B3683255957   BLANCA       OSUNA                    CA          48034376832
269B371A972B88   IMELDA       DIAZ                     CO          33076307109
269B4194272B88   CHRISTINA    MA                       CO          90012851942
269B4439272B42   ANN          CADWELL                  CO          90013924392
269B5343A72B29   EDWARD       HARSHAW                  CO          90012003430
269B5612A5B161   LEE          GALLOWAY                 AR          23008806120
269B592A44B261   SHARON       HERRERA                  NE          27098179204
269B5A46491241   LAURANCE     SCHMIDT                  GA          90009160464
269B6959272B32   OMAR         HERNANDEZ                CO          90014999592
269B71A715B161   MONIQUE      HARPER                   AR          90008611071
269B724374B588   KAYAN        BRISTOL                  OK          90010592437
269B738834B588   MYKEL        SHERRILL                 OK          90014013883
269B7A69A57157   REZA         SHANIZI                  VA          81074510690
269B8372691959   WACKIMA      WRIGHT                   NC          90010153726
269B8428761974   TRINIDAD     ORTEGA                   CA          46009854287
269B8778851369   LAURACIA     MACHUCA                  OH          66040467788
269B8A71391522   SARAHI       GUZMAN                   TX          90011150713
269B92A675715B   BINIYAM      TOGGIA                   VA          90012202067
269B94A8272B32   CORNELIO     LECHUGA                  CO          33010144082
269B9A3532B27B   WENDY JO     HAYNES                   DC          90007330353
269BB28374B588   LOIS         QUEZADA                  OK          90015072837
26B11221691953   JUDY         SPEIGHT                  NC          90002272216
26B11421955957   SERGIO       FUENTES                  CA          48002804219
26B1193874B261   PAMELA       WATER                    NE          90011009387
26B12298631631   CHRISTINA    REISWIG                  KS          90009582986
26B12348491582   GLORIA       GANDARA                  TX          75050943484
26B12362276B82   OLGA         HERNANDEZ                CA          90013733622
26B12445472B29   YOLANDA      CARBAJAL                 CO          90003264454
26B13326884364   ERLINDA      ORTIZ                    SC          90013683268
26B13366871933   DANIEL       COKER                    CO          90004573668
26B1429A733654   TAMMY        DONOVAN                  NC          90008792907
26B1434194B521   MEDINO       SERGIO                   OK          90006983419
26B146A8351369   CHRISTINA    SHARP                    OH          90006996083
26B14937A72B88   JOHN V       NGUYEN                   CO          90011479370
26B15921272B32   TOYIA        MORRIS                   CO          33011089212
26B1592719189B   ACACIA       PRUETT                   OK          90011529271
26B1645299189B   CECEILA      WALKER                   OK          90008764529
26B164A4757157   EMIDIA       PORTILLO                 VA          90013934047
26B16544591828   JOSH         MAY                      OK          90008445445
26B1668193362B   KIMBERLY     MOORE                    NC          90004576819
26B1698A761979   MICHELLE     ELIZONDO                 CA          90010359807
26B16A76484364   BRIDGETTE    WALKER                   GA          90011280764
26B17258572B29   SONIA        ONTIVEROS                CO          90008632585
26B1733247B449   SHAWNTASIA   MCGILL                   NC          90010793324
26B1734777B666   LETRICIA     FREIGHTMAN               GA          90012643477
26B17AA2972B42   ANGELA       HAWKINS                  CO          33051830029
26B18159772B88   MARIA        PICAZO                   CO          33091551597
26B1986799184B   JENNIFER     CAMPBELL                 OK          90014828679
26B19A56991953   CLAUDE       KAZADI                   NC          90011450569
26B1B284855977   RON          YBARRA                   CA          90011032848
26B1B38789189B   CRYSTAL      DAVIS                    OK          90011043878
26B21874255977   MATTHEW      MARTINEZ                 CA          90012868742
26B21A3A272B42   SULMA        GONZALEZ                 CO          33040270302
26B21A98991547   MARIO        MENDOZA                  TX          90012690989
26B2225757B449   LAFAIOL      JACKSON                  NC          90002262575
26B22419991953   KRISTOPHER   HARRIS                   NC          90012364199
26B22658A51333   ARIYALE      TWITTY                   OH          90003686580
26B2288352B27B   STACEY       WILLIAMS                 DC          81050608835
26B22A7219184B   RUTH         ROBERTS                  OK          21049750721
26B2318194B588   ASHLEY       MOSELEY                  OK          90015101819
26B2341177B462   JOEL         SANDWICK                 NC          90004204117
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26B23443472B29   DARLENE         ORTIZ                 CO          33070964434
26B2384495715B   FILANDRO A      NAVARRO               VA          81077798449
26B2394669155B   RITA            MARQUES               TX          90003979466
26B24745555957   DEANN           KENNEDY               CA          90004677455
26B24796661999   JOSE LUIS       JUAREZ                CA          90010247966
26B2485769189B   MARSHA          HENNESSEY             OK          90014818576
26B25537A72B29   SHANDI          CATHCART              CO          90013965370
26B2624925B161   FALLON          ARMSTRONG             AR          23020312492
26B2633A991953   MYKIA           BAILEY                NC          90014213309
26B2656885B161   FALLON          WITHERS               AR          90013485688
26B26822A9189B   KAYLA           THURBER               OK          90014768220
26B2727555B161   YVONNE          HARRIS                AR          23005442755
26B27346A4B261   WILLIAM         LEWTON                NE          27045603460
26B27563857157   BERKLEY         WATERBURY             VA          90002635638
26B2823145B271   GARRY           JENNETTE              KY          90009662314
26B2886A49189B   MARY            RUPE                  OK          90014818604
26B28AA184B588   TIFFANY         SPENCE                OK          90008740018
26B2921384B521   GEMMA           TORRES                OK          21517232138
26B29672931433   CRYSTAL         WALTON                MO          27564826729
26B29741972B53   KRISTINA        STOLL                 CO          33097437419
26B2B587391241   LISA            DILLON                GA          90001695873
26B2B85749189B   MICKEAL         MABERY                OK          90014818574
26B2B91A27B449   NADIA           HARRIS                NC          90010649102
26B31143572B29   ARACELI         REYES                 CO          90010501435
26B3166A291953   GERON           HYKE                  NC          90001466602
26B31A56391828   HOLLY           HINE                  OK          90013630563
26B3255415B271   DONNI           CARBY                 KY          68019295541
26B34421A57157   AKWASI          BERPONG               VA          81014304210
26B3447717B477   JEFFREY SCOTT   RAMSEY                NC          90011294771
26B34742A81661   LORI            GRUBER                MO          29013957420
26B35233A4B261   MARIA           HERNANDEZ             NE          90014752330
26B359A7A84364   TERRY           WALTON                SC          90013769070
26B361A112B27B   KAHLID          MAFTON                VA          90015021011
26B362A464B261   TONI            LEWIS                 NE          27068972046
26B3631A891589   MARISELA        SALGADO               TX          75039033108
26B3658582B27B   ANDRE           CUMMINGS              DC          90012785858
26B3682544B588   MELODY          CURTIS                OK          21558678254
26B36877A9189B   CANDI           MAYES                 OK          90014818770
26B36957681661   CAROL           MONTGOMERY            MO          29082189576
26B3818A455977   LETICIA         JONES                 CA          90014971804
26B38213681668   NORTHSTAR       CONSTRUCTION          MO          90009652136
26B383A1591522   DIANA           ANDRADE               TX          75084163015
26B38774591828   BRENTON         GUINN                 OK          90014727745
26B38866972B88   VANESSA         CARABAJAL             CO          90014418669
26B3916A79184B   LOGAN           MACMILLAN             OK          90014421607
26B39474455977   REBECCA         CAMARENA              CA          90015024744
26B3979AA9136B   HUSSEIN         MALISAW               KS          90003487900
26B398A9A57157   FRANCIA         GONZALEZ              VA          90007348090
26B3B162291522   DEBORAH         HILBERT CRUM          TX          75040021622
26B3B675884364   SEAN            DIEHL                 SC          90007226758
26B3B8A875B161   JAMES           PICKENS               AR          90014868087
26B41328A91522   EDNA            ALVARADO              TX          90013923280
26B4134699189B   FABILA          LOERA                 OK          21012023469
26B41678A9184B   TAYLOR          DOMRES                OK          90013026780
26B42625972B29   ERIONNA         TOVAR                 CO          90014426259
26B4265882B27B   EMILIO          MATOS                 DC          90012996588
26B42797391522   NENCY           LICANO                TX          75025517973
26B42835891579   CECILIA         ENRIQUEZ              TX          90007738358
26B42914891352   INEZ            FRY                   KS          90010819148
26B42919172B32   DAN             MARES                 CO          33045379191
26B42A93391953   HEMAN           CANTARERO             NC          90015140933
26B4313799136B   KEITH           POUGHERTY             KS          90009751379
26B4346677B477   VERN            EDWARDS               NC          90000864667
26B43469185938   BECKY           GARNER                KY          67010114691
26B43726784364   DELANEY         SMALLS                SC          90014747267
26B43971191241   SERGIO          CORRAL                GA          14528409711
26B439A779189B   RUSHONTI        LEWIS                 OK          90014819077
26B43A14141245   DANIELLE        HASKIN                PA          51018750141
26B43A7484B588   MARY            SPAULDING             OK          90014130748
26B44383684364   IRVIN           SMITH                 SC          90014783836
26B44428A57157   LUIS            LOVATO                VA          90013934280
26B444A897B449   ROBERT          BARCELLO              NC          90010044089
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26B44582231631   RONALD             CRUMBLE               KS       22004665822
26B44999555957   ANNETTE            ATTILANO              CA       90014769995
26B45241672B32   TIFFANY            OWENS                 CO       90013402416
26B45665855957   MARVIN             CARAVANTES            CA       90009946658
26B4596945B344   GREGG              SPEER                 OR       90010259694
26B4684124B261   TYLER              TIETSORT              IA       90014158412
26B4698245B57B   BELINDA            GALLEGOS              NM       35028419824
26B4719284B588   JANET              CHANEY                OK       90000441928
26B4767675B375   DEBORAH            SAIF                  OR       90015026767
26B47736672B88   LISA               ANDERSON              CO       33068507366
26B47A87691953   MIGUEL             DUTRA                 NC       90013730876
26B4811379184B   ELVIA              NAYEEM                OK       90011421137
26B4823767B449   JOHN               LINEBERGER            NC       11008762376
26B4829294B281   IRESHA             GUNTER                NE       90002602929
26B48841397121   APRIL              MECKERT               OR       90009388413
26B49484491522   DANIEL             CERA                  TX       90006994844
26B4992A272B88   NATHAN             SPEAR                 CO       90009329202
26B4B379172B88   JUAN CARLOS        CORONA JARAMILLO      CO       90013043791
26B4B43485B57B   DANIEL             GONZALEZ              NM       90009534348
26B4B6A5398B52   ANGELA             HUDSON                NC       90010846053
26B4BA8179155B   DESIREE            VELAZQUEZ             TX       90007390817
26B5118779155B   ROSALINDA          AGUIRRE               TX       75019781877
26B52115672B88   PEDRO              ARRAS                 CO       33077321156
26B52717855977   AUDREY             CRAWFORD              CA       48091747178
26B52A2A67B477   REBECCA            COLUMBIA              NC       90013440206
26B53388A4B521   CHARLES            HUMPHREY              OK       90004593880
26B537AA791953   TAYLOR CHRISTINA   DUNN                  NC       90012987007
26B54A8717B477   REBECCA            COLUMBIA              NC       90014080871
26B56884784364   NOVELLA            ROBINSON              SC       90014278847
26B56A55831631   STACY              WATLEY                KS       90012900558
26B57954931631   AMBER              WILSON                KS       22059439549
26B57AA339189B   JEREMIAH           BROYLES               OK       90014860033
26B58463272B42   LINDA              KRUMHOLT              CO       90013524632
26B58468772B42   LINDA              KRUMHOLT              CO       90013294687
26B58583372B42   LINDA              KRUMHOLT              CO       90004955833
26B5872964B588   ROLAND             LEWIS                 OK       90014237296
26B58A56172B42   LINDA              KRUMHOLT              CO       90013590561
26B5943242B27B   ERICK              CELESTINO             DC       90012204324
26B5969399184B   SARAH              RAGSDALE              OK       21068216939
26B59989555936   BERTHA             TORRES DE RODRIGUEZ   CA       90014419895
26B5999459189B   TIARON             SMITH                 OK       90014819945
26B5B44429189B   JAIME              OCHOA                 OK       90004014442
26B5B66564B588   EDUARDO            MUNOZ                 OK       90004046656
26B5B667272488   DARLENE            BOOHER                PA       90007086672
26B5BA58272B32   MAGDALENA          ZETINA                CO       33070420582
26B61233751369   EDWARD             MARSH                 OH       66045852337
26B62118484364   NYA                MOSES                 SC       19054861184
26B62756491522   LYDIA              GALARZA               TX       90014437564
26B62A25891582   ROSA               BATIZ                 TX       75063460258
26B62AAA89189B   BLANCA             MARIN                 OK       90014820008
26B63252455977   AMANDA             FREITAS               CA       90014832524
26B6341974B543   RICKETA            DAVENPORT             OK       90009164197
26B635A532B27B   TAMARA             PUGH                  DC       90010845053
26B6375217B477   YOLANDA            BYERS                 NC       11015817521
26B6376614B261   GARRETT            EURE                  NE       27091117661
26B64385555957   ANDY               MARTINEZ              CA       90010773855
26B6495779189B   SHALANDA           TURNER                OK       90003429577
26B649A6272B42   CESAR              ARREOLA CHAVEZ        CO       90010679062
26B65186372B88   JACQUELINE         ROMERO                CO       33074521863
26B65841472B32   RUBEN              MADRIJAL              CO       33042568414
26B66251555957   JESUS              OSEGUERA              CA       90013742515
26B66633472B42   DIANE              CANDELARIA            CO       33078536334
26B66973191953   SANDRA             KNIGHT                NC       17035259731
26B6777A34B261   JAMES              EVERY                 NE       90014527703
26B6812919189B   MELODY             SHELTON               OK       21087201291
26B6987917B449   JENNIFER           SHANNON               NC       90009598791
26B6B2A4391953   BRIAN              CONYERS               NC       17094172043
26B6B344684364   KEOSHE             SIMMONS               SC       90013863446
26B6B595272B32   RALPH              LOPEZ                 CO       90011885952
26B7168885B255   DON                TWYMAN                KY       90005566888
26B7186815715B   MARIA              BAIRES                VA       90007608681
26B7191277B477   DEXTER             PLESS                 NC       90012469127
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26B71A4685B271   RIDDLE          SPRINGER              KY          68017320468
26B71A86372B32   ANTHONY         DOLIF                 CO          33076390863
26B7226914B261   NORMA           CARDENEZ              NE          90009252691
26B72311655977   SAUL            CASTRO                CA          90012953116
26B72465455986   RICARDO         DAVILLA CEBALLOS      CA          90001814654
26B72A41272B32   JOSE            ALEX                  CO          90012470412
26B72A72172B88   MARK            DIX                   CO          90014070721
26B7327A455977   ROMAN           MARQUEZ               CA          90009082704
26B7374194B261   TERRI           KNUTSON               NE          90002937419
26B73948955957   RICARDO         CAMPOS                CA          90014819489
26B741A8291828   AMBER           WALLEN                OK          90012671082
26B74623872B42   HOWARD          MAER                  CO          33050876238
26B7496657B449   LIZBETH         ESPINOZA              NC          90007609665
26B7593689184B   VIRGINIA        WHITE                 OK          90014649368
26B75A4179189B   CARNISHA        PEARSON               OK          90014860417
26B75A7149136B   GUADALUPE       OROZCO                KS          29003470714
26B7661114B261   JULIA           GALLOWAY              NE          27034426111
26B7669134B245   STEVE           STANEK                NE          90003826913
26B7746212B249   FLEISHIA        COWARD                DC          90012944621
26B774A1441245   MICHAEL         SHEVLIN               PA          51077014014
26B777A1A4B281   ANGELICA        LOPEZ                 NE          90001907010
26B77952855977   IVONNE          CASTILLO              CA          90012989528
26B782A8A55957   CORTNEY         GIBSON                CA          90015572080
26B78498872B32   MIGUEL          FLORES                CO          33094884988
26B792A288B15B   LADJANE         CARVALHO              UT          90012712028
26B79411355977   AYRON           HENSHAW               CA          90002484113
26B81756385999   JENNIFER        OBRIEN-CORTS          KY          90008497563
26B8244365B161   JERRELL ISAAC   THOMAS                AR          90002944436
26B82583881661   ALFRED          SCOTT                 MO          90001325838
26B82A4789184B   SARAH           REDMAN                OK          21009180478
26B83462A55957   RAUL            ALDAMA                CA          90013694620
26B8353347B471   LINDA           MENDEZ                NC          90000645334
26B84149A91547   HIRAM           GANDARA               NM          90010841490
26B84276391953   DANITRA         JOHNSON               NC          90013482763
26B84996591522   HERNANDEZ       PERLA                 TX          90010339965
26B8523847B471   KENNETH         LITTLE                NC          90004992384
26B85556547895   NATHANIEL       JORDAN                GA          90013455565
26B85933984364   JALISA          SMALLS                SC          90015139339
26B8595414B588   ANGELA          MOORE                 OK          21573129541
26B85A4A351333   CHRISTOPHER     GRIFFIN               OH          90008550403
26B86643231631   MATHEW          LOW                   KS          22067936432
26B8665A54B231   MICHAEL         BEISTER               NE          27098026505
26B87377857157   ZACHERY         SIMMONS               VA          90014213778
26B8848249184B   JOLENA          DOLPH                 OK          90007434824
26B891A4A5B344   DMYTRO          OZDOYEV               OR          90009661040
26B89529851343   TIFFANY         PARKS                 OH          90008975298
26B89767991828   KELLEY          ISAACSON              OK          21054437679
26B89774691953   STEPHANIE       DAVIS                 NC          90008677746
26B8999225B271   RAMAR           MOTEN                 KY          68058639922
26B89A77772B88   COURTNEY        LEMMINGS              CO          90011670777
26B8B468A2B27B   JUAN JOSE       CATALAN               DC          90014994680
26B915A6472B42   JOEL            TORRES                CO          90012905064
26B91A6359189B   MISTY           DAWN                  OK          90014860635
26B92484372B88   JUSTIN          SMITH                 CO          90005484843
26B9395794B281   ILIANA          COLIS                 NE          90005079579
26B94A84991241   KEVIN           ORR                   GA          14584970849
26B9523255715B   MAURICIO        ADRIASA               VA          90003192325
26B9636224B281   TINA            JEFFREY               NE          27086413622
26B9695227B633   SANDRA          SLAUGHTER             GA          90001149522
26B96A68791528   MARGARITA       SALAS                 TX          75074880687
26B9756A372B29   GABRIEL         MACIAS-GALARZA        CO          33040765603
26B98252881661   GREG            HENEHAN               MO          90003682528
26B98331991828   KELLA           MCQUIGG               OK          21060283319
26B98453831432   MARK            BRENNAN               MO          90002304538
26B98486272B88   ELEUTERIO       MERCADO RODRIGUEZ     CO          90003444862
26B98579357157   HORACE          PENDERGRASS           VA          90013505793
26BB1264572B42   ARMANDO         PROVENCIO             CO          90002652645
26BB15A3581661   EBONY           BROOKS                MO          90006795035
26BB2358991953   FENTON          JOLLY                 NC          17048373589
26BB35A2272B29   MICHELLE        PADULI                CO          90012835022
26BB41A5A4B281   CHRIS           HIKE                  NE          27078291050
26BB442A52B27B   PHILLIP         LEE                   DC          81012984205
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26BB484AA9189B   JUSTIN           LOGAN                OK          21083808400
26BB4924984364   ADAM             ZOUCHA               SC          19002649249
26BB499A172B88   ROSARIO          JUAREZ               CO          33095729901
26BB518A472B88   EDITH            LOPEZ                CO          90015181804
26BB5239A2B27B   MEBRATU          AGDE                 DC          90011162390
26BB5562872B32   LYDIA            WAYSUABA             CO          33043375628
26BB595234795B   TIFFANY          STRAUGHAN            AR          25082449523
26BB5A64972B42   JANINE           CHACON               CO          90008210649
26BB61A3772B32   CHRIS            SOON FAH             CO          90012631037
26BB632657B477   ANGELA           AQUINO               NC          90011283265
26BB683AA5B161   TAMEKA           WYATT                AR          23090778300
26BB6A6A99184B   JUSTIN           JACKSON              OK          21095920609
26BB7122857157   BRUCE            LOVITT               VA          90011741228
26BB7358591534   JORGE            CARPET               TX          75018403585
26BB7396991953   CHRISTIE         YOUNGS               NC          90013573969
26BB7433855957   DAVID            MIRANDA              CA          90013054338
26BB7663291828   DANIEL           NUNN                 OK          90009446632
26BB8333391241   APRIL            BROWN                GA          90009763333
26BB8731791828   ADOLFO           CANO                 OK          21047017317
26BB9414231433   STPHEN           BONNER               MO          27585154142
26BB961339136B   ADRIANA          SANTOS               KS          29035756133
26BB982669184B   JORGE            DIAZ                 OK          21053918266
26BB9A95472B88   MARIA            TERESA               CO          33077790954
26BBB1A6272B88   PERRY            LEVERT               CO          90012001062
26BBB372A57157   JARROD           WALLACE              VA          90013933720
26BBB516172B88   ANTHONY          RUSSON               CO          90007975161
26BBB8A669155B   MANUEL           LUJAN                TX          75093588066
2711126762B27B   ROBBIN           HERRING              DC          90009072676
2711139817B449   NYASIA           CARR                 NC          90014743981
2711188899189B   SHELBY           WHINERY              OK          90012318889
2711267275B271   ANTHONY          BONNER               KY          90003296727
27112A6A291356   DANIEL ANTONIO   TRUJILLO PEREZ       KS          90014060602
2711365424B588   MAGDIEL          RIOS                 OK          90011476542
2711388619136B   BRITTANY         RIEVES               KS          90009408861
271146A5791592   ISAIAH           LAWSON JR            TX          90013046057
271157A1972B29   REBECCA          ZIDERMAN             CO          90014167019
27115A1352B27B   MELANIE          TURK                 DC          90014790135
2711724799184B   NASHIRA          WINSTON              OK          90010772479
271172A369794B   MIGUEL           OLVERA               TX          74029932036
271176A9581638   CHYLIYAH         HENDERSON            MO          90013896095
2711787A872B88   GRISELDA         CARMONA              CO          90011948708
27118464A81661   DIANA            WEBER                MO          29077894640
27118A63381637   ROBIN            STAUFFER             MO          90013810633
2711969567B471   RIRA             JOHNSON              NC          11040556956
271196A2591592   TANIA            MARIE TREJO          TX          90001736025
271197A472B27B   ELIZABETH        VENTURA              DC          90009217047
271198A879155B   ROSA             CARDENAS             TX          90014608087
2711B17A29184B   DENISE           GONZALZE             OK          90010321702
2711B2A7191356   ALEX             AUTREY               KS          29063672071
2711B33815B28B   HAROLD           WELCH                KY          68073713381
2711B356A7B471   JOANN            JONES                NC          11004223560
2711B5A3981638   STEVETTA         DICKERSON            MO          90002475039
2711B69584B521   GERRARDO         CERVANTES            OK          90005796958
27121114972B88   MANDY            BENSON               CO          33060741149
27121249876B69   SANTIAGO         MARTINEZ             CA          90004792498
2712195135B342   MARIA            HERNANDEZ            OR          90012829513
27123489772B29   ERICA            TORRES               CO          33063664897
2712416414B281   SANDRA           ABRAMS               IA          90007471641
2712528A455957   ELISEO           GARCIA               CA          90000512804
27125344398B32   CEDRIC           MILLER               NC          90007973443
27125A52172B88   MARISOL          ENRIQUEZ             CO          33093460521
2712664599155B   JOSE             DIAZ                 TX          90005346459
2712713772B27B   TERRENCE         JONES                DC          90004941377
27127325A55957   DAVID            SMITH                CA          90015143250
2712761469189B   TED              CRISP                OK          21034546146
2712779279184B   ALISHA           OWEN                 OK          90014697927
271279A575B571   JESUS            OAXACA CARRASCO      NM          35055179057
2713149244B261   ROSA             VARGAS               NE          90009204924
2713159924B588   REYES            WILLMER              OK          21574515992
27131783472B29   SONIA            ESTRADA              CO          33050027834
271318A2193757   DWANA            WOULLARD             OH          90007568021
27131A77185822   ROBERT           BLOCHER              CA          46034010771
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2713266845B529   LINDA         FRIESEN                 NM          90000456684
27132844372B42   DUSTYN        PLATT                   CO          90011768443
2713294279136B   JANET         BRAVO                   KS          29083419427
27134314172B29   LOUIS         DIXON                   CO          90008753141
2713434819155B   MYRIAM        MACHADO                 TX          75014913481
2713448515598B   LEOBARDO      LOPEZ                   CA          90012574851
2713456634B261   AFI           GBEKODOU                NE          90003015663
2713544237B449   SHEQUILA      GOODMAN                 NC          90014744423
2713566684B551   MICHAEL       LEGGE                   OK          90011856668
2713652654B588   SHELLY        GLOVER                  OK          21559195265
2713658315B57B   EDWIN         SANCHEZ                 NM          90014805831
27136589472B42   MARCO         GONZALEZ                CO          90015225894
271379A5291828   YASMIN        TREVIZO                 OK          90008019052
27138139372B88   ADAM          LUJAN                   CO          90007511393
27138166872B29   LISA          BLUFORD                 CO          33023221668
27139357A91592   NORMA         GARCIA                  TX          75083113570
2713B216144B22   DIANA         BRINGARD                OH          90014572161
2713B42239155B   MICHAEL       JONES                   TX          90010264223
2713B464A55957   KANE          AGUILAR                 CA          90000514640
2713B885491828   VICENT        SALAZAR                 OK          90010738854
2713B923185958   ANTHONY       LAWSON                  KY          90012229231
2713BA1A77B471   TIFFANY       HIGH                    NC          11011940107
271413A3381661   SARETA        WISE                    MO          90004443033
271415A714B588   RYAN          BAKER                   OK          90012515071
27141627A72B29   CHRIS         EDELEN                  CO          33073826270
27141A4234B588   RACHEL        ENDRESS                 OK          90014690423
27142221A91592   VALENZUELA    NORMA                   TX          90002772210
2714258222B27B   TRACIA        MATTHEWS                DC          81045255822
2714276259184B   JAMES         FLYNN                   OK          90012407625
27142A3884B261   MARIA         PINEDA                  NE          90011110388
2714332719184B   LETICIA       PEREZ                   OK          90001593271
2714395A75B271   JOSE          TORRES                  KY          90009219507
27144725A2B363   MONICA        MILLER                  CT          90011107250
271451A234B588   LAKESHA       JUDY                    OK          90014831023
27145A1897B449   ESPERANCE     KASINDE                 NC          90000260189
27146464A9136B   JUAN          CALDERA                 KS          90015214640
2714691984B521   CHRISTOPHER   CLARIDGE                OK          90002799198
2714768669184B   JACALYN       KETCHERSIDE             OK          90014446866
2714784277B471   INES          JARQUIN                 NC          11017378427
2714794347B449   PAMELA        ALSBROOKS               NC          11089519434
2714B29525B222   JOESPH        OWENS                   KY          90008372952
2714B47655B271   KORI          KLEIN                   KY          90008954765
2714B866881638   RICHARD       LANE                    MO          90014458668
2714B949891592   ARACELI       ALVEREZ                 TX          90005189498
2715125595B161   SHIRLEY       JAMES                   AR          23062282559
2715146927B449   TASHA         JOHNSTON                NC          90014744692
27151A81972B29   PATRICIA      RAMIREZ                 CO          90012930819
27151A83881638   REVA          BUTTERS                 MO          90014650838
2715355A585822   CLEOPATRA     MASHIE                  CA          90009215505
2715383249794B   ENEDELIA      JUAREZ                  TX          74095318324
2715387715B271   ABDEL         KASSEM                  KY          90014898771
27153A2375B161   SANDRA        BUTLER                  AR          90007070237
2715432A69184B   PAYGO         IVR ACTIVATION          OK          90015283206
2715496975B271   MARY          SONKO                   KY          68031419697
2715524114B521   SONIA         PINEDA                  OK          21556672411
271554A6341245   SAMUEL        SIMONS                  PA          51077194063
27155532A61982   OFELIA        NUNEZ                   CA          90009065320
27155712172B29   MEGALI        RAMIREZ                 CO          90014167121
2715653799189B   JONATHAN      GLENN                   OK          21047355379
2715661142B27B   RENEE         WILLIAMS                DC          90008906114
27157126372B88   SHARI         SEBOEK                  CO          33008701263
271573A7A91881   REYNALDO      TORRES                  OK          90007293070
2715755692B264   MARCUS        DOWLING                 DC          90000875569
27157884A85938   JOSH          DOFOUR                  KY          90011828840
2715816A14B281   CAROL         PANDIS                  IA          90001341601
2715824A898B42   RAMONA        OLIVER                  NC          90004132408
2715834342B27B   DONETTA       WILLIAMS                DC          90013923434
27158869376B69   CARL          WORTHINGTON             CA          90006718693
2715954264B261   TERRY         LARSEN                  NE          27060915426
2715977219189B   STEVEN        MICHAEL                 OK          21072177721
2715B212181638   ANTONIO       ALVARADO                MO          29050502121
2715B64264B281   SHANELLE      LEWIS                   NE          27070166426
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2715B716131453   BRYANT         WHITLEY                MO          27595817161
271613A3491828   ARNOLD         RODRIGUEZ              OK          21011963034
2716235239136B   PEDRO          LOPEZ                  KS          29067813523
2716237554B281   ALTHEA         LANE                   NE          90002533755
27162396472B29   SARAH          WHINERY                CO          90010313964
271626A8955957   ALEXA          ESPINO                 CA          90012296089
2716359365B271   ELISE          STEVENSON              KY          90012005936
27164742972B42   HALL           RICHELE                CO          33014867429
271647A5381691   TAMMY          FOSTER                 MO          90001457053
2716624979184B   SHERICE        JONES                  OK          90015172497
2716695349155B   DAVID          BAYLON                 TX          90014619534
27166A48A4B521   CRISTI         BOOTH                  OK          21569470480
27166AA4631631   CARLA          BURNEY                 KS          22096120046
2716753865752B   CARL MONIQUE   JAQUEZ                 NM          90013005386
27167A81791356   MEGAN N        CLEMENT                KS          90010950817
27167AA539189B   DALE           DENNIS                 OK          90011180053
2716843A784364   THOMAS         KIMBALL                SC          19017964307
2716948947B449   ASUNCION       PAZ                    NC          90014744894
2716B224191592   YAMEL          GONZALEZ               TX          75094932241
2716B575851369   CYNTHIA        DAVIS                  OH          90009485758
2716B97425B271   BRITTANY       SEARS                  KY          90013349742
27171472A4B281   PAMELA         PERRY                  NE          90003484720
27171688572B88   NORMA          CHAVEZ                 CO          33023656885
271716A579155B   APRIL          TARIN                  TX          90011676057
271727A832B27B   RODERICK       NEAL                   DC          90013157083
27173477572B29   ROBERT         TAFOYA                 CO          33096944775
27173A6184B588   DONNISHA       BROWN                  OK          21536800618
27174235A93731   MATT           BLAKE                  OH          90007472350
27174347A91828   JUAN CARLOS    GUERRERO               OK          90002473470
2717536234B261   CHLOE          LAMAY                  NE          90004993623
2717557AA9189B   GILBERTO       HERNANDEZ              OK          90000625700
2717586619189B   SHANI          FIERKE                 OK          90015348661
27175A44691241   ROBERT         SMITH                  GA          90014760446
2717626794B588   NIKKI          GUZMAN                 OK          90006972679
271765A2831631   APRIL          REED                   KS          90012125028
2717681562B27B   TIFFANY        EVANS                  DC          90009538156
27176AA464B261   JESUS          HERNANDEZ              NE          27042750046
27177A22A9189B   LASHAWNDA      TAYLOR                 OK          90013170220
27177A9A381661   DANE           DAHLSTROM              MO          90011050903
27178124372B29   KEONDRA        TURNER                 CO          90011831243
2717853555B271   BRANDON        THOMPSON               KY          90014815355
2717857657B424   DELFINA        SALAZAR SALAZAR        NC          90011255765
27178A7199189B   THANG          DAL                    OK          90015130719
2717929172B27B   IVANIA         ZELAYA                 DC          81086252917
27179529672B42   KRISINE        LONG                   CO          33015175296
2717972994B588   ANTONIO        BARRIOS                OK          90013267299
2717B36599136B   WILVOR         GUILLER                KS          90014113659
2717B424431453   UNICERE        COX                    MO          27578954244
2718121984B588   CHAVON         CRAIGS                 OK          90014632198
2718167169184B   DEMARCUS       BENNETT                OK          21074106716
2718172457B471   VILMA          REYES                  NC          11046997245
27181854272B29   OSCAR          GUTIERREZ              CO          33074148542
2718215A176B4B   WENDY          CARRILLO               CA          90010491501
2718329459184B   KIMBERLY       EVANS                  OK          21056842945
271842A3A4B588   JZAMIEL        BELL                   OK          90014622030
27185182A9184B   CONNIE         ARREDONDO              OK          21037761820
2718546357B449   FELICIA        JOHNSON                NC          90005004635
27185A84A91592   LUIS MIGUEL    SOLANO GARCIA          TX          90013210840
27186167472B29   DELILAH        RODRIGUEZ              CO          90010951674
2718621A143523   ANABEL         GUADARRAMA             UT          90001482101
2718665973366B   HARRIET        BYRD                   NC          90009406597
2718693583B333   PABLO          IBARRA                 CO          90008269358
2718854369155B   DINA           OZETA                  TX          75082825436
27188747472B42   ROSA           CHAVEZ                 CO          90011897474
27188931676B82   DELFINA        HERNANDEZ              CA          90007169316
2718948A59155B   AMBER          GONZALES               TX          90013424805
2718958A29136B   DEREK          WATTS                  KS          90013525802
27189A37385822   REYNALDO       ESCOBEDO               CA          46009580373
27189AA947B471   GINA           LUJAN                  NC          90012000094
2718B345555957   SANTIAGO       GONZALEZ               CA          90008693455
2718B361193731   LISA           PARKS                  OH          64591113611
2718B69A69184B   CYNTHIA        FERNANDEZ              OK          90010506906
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2718B822381638   JASMINE             SCOTT              MO         90013038223
2718B927731631   JOSEPH              GIBBS              KS         90007359277
2718BA2365B161   ALICIA              BREEDLOVE          AR         90009410236
2719156957B449   STEVEN              JAMES              NC         90014745695
27191592572B21   MELISSA             HABERMAN           CO         90005375925
271918A4472B42   RENEE               RODABAUGH          CO         33094648044
2719234189136B   RICARDO             HERON              KS         90009233418
2719336874B521   STEPHANIE           ESTES              OK         90004363687
2719358415B271   CORNELL             WILLIS             KY         90014865841
27194486983B87   RYAN                PEREZ-GARCIA       TX         90013344869
2719492A44B521   KHEELIN             MARTIN             OK         90012799204
271953A397B449   ATIBA               RICHARDS           NC         90014763039
27195524A72B88   ANNA                PRYER              CO         33075575240
2719572835B571   FRANCO DE LA ROSA   ANAHI              NM         90011277283
271957A847B484   KEISHA              LEACH              NC         11029127084
2719593579155B   JOSEFINA            MURILLO            TX         75007279357
27196176572B29   PATRICIA            ARCHULETA          CO         90013191765
271967A9291528   JOSE                MAGALLANES         TX         90001737092
27196883A57128   ELWIN               GUEVARA            VA         90011828830
27197175872B29   ALEXIS              GOMEZ              CO         90001861758
2719733134B588   BETTY               MALLETTE           OK         90008163313
2719771425B271   JOAQUIN             GOMEZ              KY         90007587142
2719871619136B   JESSICA             STANLEY            KS         90014847161
2719936754B588   ANTONIO             RAY                OK         90010913675
271998A4391828   TIFFANY             HOLDER             OK         90009468043
27199914672B88   GERARDO             HERNANDEZ          CO         33097039146
2719B11A43B39B   PAUL                GERHARDSTEIN       CO         90014631104
2719B374657172   JESUS               AMAYA              VA         90006743746
2719B738572B98   MOISES              GARCIA-HERNANDEZ   CO         90010647385
2719B998572B29   MICHAEL             MAHONEY            CO         33000659985
271B11A839184B   WILLIE              BIGGINS            OK         90008371083
271B128915715B   PABLO               GUZMAN             VA         90004172891
271B1854472B35   JEREMIAH            MITCHELL           CO         90010028544
271B211759184B   LORI                JARVIS             OK         21034461175
271B224149794B   ELVIA               URETA              TX         74094922414
271B2316133636   AKIMYA              BARNEY             NC         12009133161
271B25A459155B   ROSA                GARCIA             TX         90011675045
271B2848A4B588   DANIEL              HARRIS             OK         90011608480
271B337727B449   CHINETHA            TEDDER             NC         90014743772
271B418A29184B   EDEN                COLE               OK         90013431802
271B4449631453   TIM                 MCMORRIS           MO         27525204496
271B4479781637   JUSTIN              PYLE               MO         29077324797
271B4485291356   LETICIA             LOPEZ              KS         90013314852
271B476299189B   ANNA                ATCOSTA            OK         90009297629
271B479454B261   TABITHA             RODENBOUGH         NE         90015167945
271B4A18372B29   JOSEPH              MORENO             CO         90013760183
271B6334185938   CHELSEA             ALLEN              KY         90013043341
271B671359155B   PORFIRIO            MORALES-BUNKER     TX         75046707135
271B6818681637   KIARA               WATTS              MO         90007208186
271B7164731453   JONES               DARRELL            MO         27560611647
271B732299136B   JULIA               ROGERS             KS         90011263229
271B732319155B   MIGUEL              ROSALES            TX         75090633231
271B73A3272B42   ASHLEY              SHEMANSKE          CO         90007203032
271B747149152B   GUADALUPE           MENDOZA            TX         90006914714
271B86A3531453   KOSTA               LONGMIRE           MO         90011556035
271B885519155B   NORMA               AGUILERA           TX         90014108551
271B8A3992B27B   ROLANDO             EDWARDS            DC         81075120399
271B9382991241   TYKIBA              SMITH              GA         90013263829
271B9679481648   JERRY               LONG               MO         29027836794
271B9825881661   FERNANDO            ARIZPE             MO         90011258258
271BB34124B521   JAMES               GRAHAM             OK         90008923412
271BB43565715B   DIANA               BUSTAMANTE         VA         90000244356
271BBA8259136B   DEANGELA            BOYD               KS         90005200825
2721131759184B   CECIL               HARJO              OK         90013493175
272121A9841245   RYAN                FOGARTY            PA         90007171098
27212774A93731   ROBINSON            LAVONNE            OH         90003707740
27212792776B53   IZAMAR              TORRES             CA         90011877927
27212A29791833   ALICE               JOHNSON            OK         21076380297
27212A7869155B   GUADALUPE           ESPARZA            TX         90011680786
2721467415B571   GARY                WEINRICH           NM         90005246741
2721476A255957   KEVIN               SHORTNACY          CA         90014957602
27214A57655957   STEVEN              AGUIRRE            CA         90009670576
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2721541383B365   JESUS            NAJERA               CO          90003384138
27215716572B88   MARIA            SANCHEZ              CO          90011117165
2721582487B494   JOHN             KOSTOPOULOS          NC          11023288248
27215958672B29   LORI             TRUJILLO             CO          90013009586
272163A219184B   FRANKIE          DELATORRE            OK          21057453021
2721647659794B   ADELLA           SILVA                TX          74002974765
27216731672B29   ROBERT           STEWART              CO          90014167316
27216A24881648   ERMINIA          LOPEZ                MO          29078100248
27216A66A55957   RYAN             MEYERS               CA          90002060660
2721746184B261   TYSA             HURLBUT              NE          90014694618
2721834257B449   CRISTINE         PLYLER               NC          90014763425
27218599172B42   JEFFREY          NOLL                 CO          90012975991
27218A87533638   TERRY            ELLIS                NC          90004020875
2721916367B435   MARGARITO        ARIAS                NC          90012531636
2721934972B27B   MELVIN           DEAN                 DC          90013923497
27219A1824B261   RYAN             COOK                 NE          90014360182
27219AA349189B   TOSHIKO ANGELA   BLEVINS              OK          90013860034
2721B2AA94B541   ANTWAN           GREEN                OK          90002982009
2721B449957564   TOM              HANSEN               NM          90012864499
2721B66A485938   SELENE           QUINTANA             KY          90007266604
2721B99864B588   JASON            TROUT                OK          90008409986
27221264272B88   BRENDA           ROMERO               CO          90005112642
27221488272B29   FABIAN           MARTINEZ             CO          33000904882
2722165A95B571   PEREA            TOMMY                NM          90011296509
2722197239184B   NICOLE           PERIDORE             OK          21046019723
272219A8391356   MARIBEL          CARBALLO             KS          90011049083
2722248289155B   ERICA            ROSALES              TX          90015214828
27222527572B88   ELIZABETH        SCHAEFFER            CO          90010315275
27222A65181638   RACHEAL          TALBERT              MO          90015010651
27222AA1172B88   CHOMPHET         LY                   CO          90010350011
272233AA385822   JEFFREY          FIDLER               CA          90013343003
2722346669136B   ELENA            GALDAMEZ             KS          90015214666
2722393784B261   TIFFANY          KESTER               NE          27014629378
27223955272B42   WAYNE            BRUNI                CO          33065689552
27224437A91356   ELIZABETH        FALCON-ORTIZ         KS          90012774370
27224938272B88   JOSEPH           MIGNEREY             CO          90011609382
27224A94147952   ELISA            HERNANDEZ            AR          24080050941
2722559A893731   OLLIE            MARTIN               OH          64571895908
272255A554B588   CHRISTINE        ADAIR                OK          90012035055
27225932A7B449   JAMAL            KEITH                NC          90011349320
2722613A99794B   JOSE             RODRIGEZ             TX          74044811309
2722619619155B   ANA              MENDOZA              TX          75070361961
2722655995B271   DARNISHIA        BURNS                KY          68089015599
2722671A797B4B   KYLA             HINES                CO          39076037107
272268A9A84364   AGNES            LEVINE               SC          90003298090
2722696189189B   MOISES           JIMENEZ              OK          90012689618
2722898A75592B   JESUS ANTONIO    CASTILLO             CA          90011989807
27228AAA991541   MARIA            FLORES               TX          90010170009
272294A2761992   JOE              DRUMMOND             CA          90009194027
27229A7687B449   TAJA             CARTER               NC          90014180768
2723132A52B92B   HERMILIA         IBARRA               CA          90006053205
2723133164B261   ARMANDO          GUTIERREZ            NE          27065143316
2723139784B588   MICHAEL          HOLT                 OK          90010233978
2723194347B449   PAMELA           ALSBROOKS            NC          11089519434
2723297975B226   SHAREKIA         GREEN                KY          90004709797
2723316939155B   MARINA           PEREZ                NM          90000121693
2723319819136B   LETICIA          LINARES              KS          90015261981
272336A5891547   JULIO            GARCIA               TX          90012666058
27233886572B88   DAVID            BRUNT                CO          90008258865
27234438572B42   BRIDGET          ALEXANDER            CO          90005214385
272344A769184B   ALICIA           OLMOS TREJO          OK          90003474076
2723494A24B588   MARIA            PEREZ HERRERA        OK          90013559402
27234A34672B88   MERCEDEZ         BENITES              CO          33096060346
27234A95672B31   JESUS            SOLIS                CO          90003190956
2723568A57B449   ALEXANDER        MALDONADO BANEGAS    NC          11023706805
27235727A72B88   MIKE             LONG                 CO          33064887270
27235836472B29   RENEE            CASIAS               CO          33088208364
272362A247B666   HUGO             PEREZ                GA          90011652024
2723657865715B   JOSE             LARA                 VA          90000255786
272367A9A81638   SILVIA           VEJAR                MO          29017677090
2723724714B281   LINDA            MACK                 NE          27043522471
2723733549184B   XIMENA           LUNA                 OK          90015013354
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27237445698B52   JOSE           CUEVAS                 NC          90005514456
2723762529189B   BRITTNAY       ROGERS                 OK          21084926252
27237649A61997   GONZALES       JOSAPH                 CA          90001736490
27237A87A4B588   JOSELUIS       SERRANO                OK          90006730870
2723838A95B271   LAKESHA        CHANEY                 KY          90014593809
2723983A272B88   ARSENIA        HANSEN                 CO          90014168302
2723B472593731   EARL           BUSH                   OH          90010224725
2723B96699155B   EVELYN         CARBAJAL               TX          90014619669
2724117887B449   GEORGIANNA     HARRISON               NC          90010371788
2724268A791356   DENISE         MCGEE                  KS          90013536807
2724361A34B521   QUINDALE       ALLENSWORTH            OK          90005356103
2724477A59189B   ELVIA          MEDEL                  OK          90009677705
27246165A7B471   DALLAS         LANDRUM                NC          90001561650
2724622A772B29   LANCE LEON     BARTOW                 CO          90014672207
2724739184B588   KRISTEN        ORTEGA                 OK          90012433918
27247A3799184B   BRYAN          GEESAMAN               OK          90006830379
27248732572B29   JOSE           TREJO                  CO          90014817325
27248A3344B588   ANDRES         RAMOS                  OK          90011550334
2724913A12B27B   ELVERA         SNOW                   DC          90014791301
2724927584B588   KAROLINA       MENDEZ                 OK          90014822758
27249992372B88   JEANNE         SALKILL                CO          33034649923
2724B347A55957   JUANITA        MELCHOR                CA          90014063470
2724B68989136B   NARAYAN        REGMI                  KS          90015026898
2724B888285822   MASOOD         KHAN                   CA          90011128882
2724BA6319184B   AARON          DOWNS                  OK          90010050631
2725119A931631   AARON          HUGHES                 KS          22001261909
2725162154B261   BRIAN          ADAMS                  NE          27055256215
2725277969184B   RUSSELL        JACKSON                OK          90000407796
27252858498B52   GUADALUPE      RICARDO                NC          90009618584
272529A494B261   FRANCISCO      ESTRADA                NE          27060039049
27253A8853146B   TAMIKA         SMITH                  MO          90009070885
2725446A591828   CHRISTOPHER    CHENEY                 OK          90011614605
2725611635715B   JAMIE          ARTIGA                 VA          81089781163
2725683612B27B   TAKIYAH        WILSON                 DC          90010438361
2725734147B471   AKYA           CANADA                 NC          90009913414
2725764115B161   LAAIA          SAMADI                 AR          23065076411
2725786119184B   CHERYL         LOVE                   OK          90015278611
27257A2A877338   LEANA          WALKER                 IL          20503850208
27258762372B29   CATHY          SIEP                   CO          33057057623
2725884779794B   WILLIE         HOUSTON                TX          90004528477
27258A3975B144   MYEISHA        THOMAS                 AR          90013440397
272593A829155B   DANIEL         ALATORRE               TX          90012793082
2725963A17B449   CHARLOTTE      CHERRY                 NC          90014746301
2725B2A179189B   SUSAN          SMITH                  OK          21073672017
2725B742572B29   DEANDRA        RUYBAL                 CO          90014167425
2725B969281648   JIM            PERRY                  MO          29026949692
2725BA57991828   MARITZA        GUZMAN                 OK          90012410579
2726115449794B   ROSALYN        WILLIAMS               TX          90002451544
2726122675715B   ROSA           BARRILAS               VA          81089782267
2726162452B27B   JAUQUINNA      DAVID-KELLY            DC          90008146245
2726196589155B   ROBERT         AVALOS                 TX          90014619658
27262AA5591592   MONICA         GONZALEZ               TX          90009720055
27263676472B42   SHAWN          SIKORSKI               CO          90013226764
2726439A17B449   OSCAR          LOPEZ                  NC          90014763901
2726499889155B   JESUS          RIVAS                  TX          90014629988
27264A21791541   SONIA          GUTUIERRES-DUENA       TX          90011610217
27264A79631453   MARY           IRVING                 MO          90011840796
2726564937B449   JOSE ANTONIO   MARTINEZ MURILLO       NC          90014746493
2726571A831631   DAVID          HANSLEY                KS          90013457108
2726622194B541   ELMER          GABRIEL                OK          21554672219
2726669733B323   DARLA          BENNETT                CO          33006846973
27266758772B29   JOSEPH         CORDOVA                CO          90014167587
2726724A69155B   PONCIANO       ESTRADA                TX          90003172406
27267759972B29   TAYLOR         CISNEROS               CO          90014167599
2726781592B27B   CHARISMA       DIONNE                 DC          81011948159
2726829144B588   JAVIER         MCGEE                  OK          90013622914
2726841129155B   MELANIE        REBOLLO                TX          75013964112
27268596A7B484   ELICIA         JOSIE                  NC          90007085960
2726927A991828   HOUARI         PITA                   OK          90012822709
27269A16A4B588   MARK           HARRIS                 OK          90010380160
2726B674891241   ALBY           PODOLSKI               GA          90004516748
2726B753372B29   JENNIFER       MCMURRAY               CO          33072427533
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2726B89115B271   VANIA       HAIR BY                   KY          68017688911
27271346A55957   OMAR        LORENZO                   CA          90008713460
2727165A476B69   GONZALO     ACOSTA BARRAZA            CA          90012076504
27271979572B42   TEANA       CHAVEZ                    CO          90003479795
27271AA1193731   YOLONDA     FROST                     OH          64522620011
272732A699155B   GEMA        VILLAREAL                 TX          90011682069
27273346A61995   NEIL        WARD                      CA          90006133460
2727363384B261   ARMANDO     HENANDEZ                  NE          27087776338
272742A929155B   PATRICK     WILLIAMS                  TX          90011682092
27274379572B88   SANDRA      SUAREZ                    CO          90004383795
2727546424B261   JOVAN       MURRY                     NE          90014694642
2727553A19155B   LUISA       LUNA                      TX          75083335301
272755A6851369   MERK        JOHNSON                   OH          90007295068
27275811A2B27B   ESTELLA     HOLLINS                   DC          81089848110
272759A249136B   MICHAEL     RICE                      KS          90012239024
27275A67397B4B   JUSTIN      BOWERS                    CO          39068530673
2727632669184B   LEIBER      MARTINEZ                  OK          90009523266
2727667477B449   ALKANANI    ARKAN                     NC          90014746747
2727673684B588   TRINIDAD    PEREZ                     OK          90014897368
27276A3A57B471   LUIS        MORAN                     NC          90012000305
2727776599136B   ELIZABETH   SANTILLO                  KS          90011567659
27277A8495715B   DEVIN       JOHNSON                   VA          90005510849
2727851344B261   LENA        BEDFORD                   NE          90015115134
2727931979184B   KAY         ROBISON                   OK          90010383197
2727942322B987   BLANCA      RUIZ                      CA          90013054232
27279461572B88   KOFI        AMAKYE                    CO          33086374615
27279744372B42   CLAUDIA     GONZALEZ                  CO          90003067443
27279A9947B471   LAKEMA      YOUNG                     NC          90008000994
2727B14469189B   JOEL        MARTINEZ                  OK          90010721446
2727B278157157   LUIS        ASCENCIO                  VA          81000682781
2727B53144B521   MICHAEL     LAWRENCE                  OK          90007565314
2727B585391592   EMILIO      MIRAMONTES                TX          90014225853
2727B618784345   SHAWN       SWINTON                   SC          19006366187
2728133599379B   MELISSA     LOVIN                     OH          90012423359
2728155129189B   CAMELLE     COLEMAN                   OK          90014885512
2728185A25B161   CYNTHIA     WILLIAMS                  AR          23031578502
2728192214B281   JEFFREY     PRUETT                    IA          27011249221
272819AA355957   DARNELL     JOSEY                     CA          90012779003
2728227859136B   RICHARD     JOHNSON                   KS          90008732785
272822A2281638   NICHOLAS    MCCALE                    MO          90013422022
27282438572B42   JESUS       GARCIA                    CO          90004384385
2728366735B161   BRITTANY    COGSHELL                  AR          90006836673
2728423A89184B   VASQUEZ     SERIO                     OK          90000102308
2728464249136B   ALISON      SMART                     KS          29076486424
27284A17872B88   IVAN        HERRERA                   CO          90010210178
27284A47972B29   ALFREDO     CASTRO                    CO          33096300479
27284A8977B435   ROSELIN     QUINONEZ                  NC          90008250897
27285553672B42   AQUINA      ROGERS                    CO          33083955536
2728588817B449   CLARA       ELLERBEE                  NC          90003978881
2728668944B588   WILLIAM     CRONIC                    OK          21589666894
2728678399184B   MICHAEL     DETAR                     OK          90015217839
27286A6549136B   SKYLINA     TERRYCAVE                 KS          90009760654
27287963472B29   ELTEONTE    AKINS                     CO          90015169634
27287A48184344   LUIS        CANSIGNO                  SC          90013460481
2728871134B588   AUTUMN      HAMMONS                   OK          90015137113
27288A42885938   SUNNY       MARSHALL                  KY          90010990428
27289657A2B27B   GALE        MILLNER                   DC          90010736570
2728B58A77B471   SHIRLEY     GAINEY                    NC          90001945807
2728B616331433   REVA        LEWIS                     MO          90003596163
2728B69929189B   ANDRA       SAMUEL                    OK          90013916992
2728B89324B58B   DEBRA       JOHNSON                   OK          90008778932
27291A99A85822   GUILLERMO   FIGUEROA                  CA          90012660990
2729229A89189B   SHEANA      HILL-BROWN                OK          90014502908
272922A2381637   WANDA       CRAWFORD                  MO          29003672023
2729235742B27B   DONNA       CLAUS                     DC          90006773574
272927A274B281   RONDA       FINK                      IA          27094027027
2729286849136B   LAWRENCE    MATTHEWS                  KS          90010608684
2729318137B484   CHERYL      BARNHILL                  NC          90007101813
2729362A181638   LAROCK      THOMPSON                  MO          29084876201
272936A812B23B   NOE         MARTINZ                   DC          90006566081
27293A5829184B   GEORGE      SMITH                     OK          90009760582
2729426A155957   PATRICIA    BRIENO                    CA          90000832601
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272942A297B484   JODY         MARTIN                   NC          90007102029
2729459584B588   ESSENCE      ROBERTS                  OK          90013435958
2729493887B449   MARLEN       GARCIA                   NC          90012179388
27295139972B88   NANCY        ZUNIGA                   CO          90006061399
27295A6259794B   BRANDON      HALL                     TX          90010720625
27296649A55957   JOHANNAH     HERNANDEZ                CA          48081036490
27296724872B88   ISMAEL       HINOJOSA                 CO          33046247248
27296952A91828   BRUCE        DEDMON                   OK          90009019520
27296955972B42   TONY         GEHRING                  CO          90012769559
2729737197B484   SIERRA       HUFF                     NC          11079073719
2729743939184B   JOHN         REGER                    OK          90001504393
272976A9771221   TYRIQUE      GOODMAN                  IA          90015616097
2729773744B588   SHENIA       RANDON                   OK          90014897374
27297A16191356   JAMES        KINYON                   KS          90010290161
27297A46972B29   JESSICA      CARTER                   CO          33065520469
27298438A76B69   HARRY        BISHOP                   CA          90011744380
2729855337B449   LORITA       FAIR                     NC          90010405533
27298951A91889   JENNIFER     DOWN                     OK          90008739510
27298A88276B21   LUCIA        HERNANDEZ                CA          46068180882
27299A93331453   JAZZIAH      JOHNSON                  MO          27560480933
2729B135691241   WALTER       OCHOA                    GA          90001311356
2729B376593731   DAVID        OWENS                    OH          90013833765
2729B751355957   ANGIE        MAYA                     CA          90012057513
2729B81384B588   YSENIA       SANCHEZ                  OK          90008708138
272B1145572B88   REBECCA      FLETCHINGEER             CO          33057271455
272B153927B449   LUIS         ROSALES                  NC          90014745392
272B18A6381638   CODE         CALVEN                   MO          90012168063
272B211867B449   SADIE        BRAXTON                  NC          90011051186
272B2239172B42   MAGIC STAR   MORENO                   CO          90010872391
272B2312455957   ROSA         GARCIA                   CA          48018393124
272B266119155B   JOSE         VAZQUEZ                  TX          90011676611
272B3241157157   ISABEL       ORELLANA                 VA          81030942411
272B3A65872B29   ERIBERTO     OROZCO                   CO          33077250658
272B3A67584364   SYREETA      GILLIARD                 SC          90010640675
272B4134872B88   BEATRICE     VIALPANDO                CO          90012931348
272B417289136B   JAMES        WEAVER                   KS          90013491728
272B4727672B29   SANTIAGO     SANCHEZ                  CO          90014167276
272B4848472B88   CINDY        SERRATO                  CO          90014688484
272B4968785822   FABIAN       LOPEZ                    CA          90015329687
272B5531872B53   JAMES        DOUGLAS                  CO          90010015318
272B5582291592   NASSER       AL-SHAMESI               TX          90010155822
272B5729A72B29   NAYELLI      ROJAS                    CO          90014167290
272B5A1AA55957   VICTOR       GARCIA                   CA          90011250100
272B643A191528   OCTAVIO      QUININEZ                 TX          90005844301
272B6771672B29   ISAAC        HERRERA                  CO          90012677716
272B7849391828   AMABILIO     BAUTISTA                 OK          21090658493
272B78A239136B   FLOR         VIOLETA                  KS          90008028023
272B8153A5B571   JEFFERY      DITTMAN                  NM          90010541530
272B85A7572B88   RYAN         THOMSON                  CO          33080925075
272B954987B449   ORLANDO      AMAYA                    NC          90014745498
272B956974B588   TAMRA        SIMS                     OK          90015255697
272B965387B471   LETISHA      DIALLO                   NC          90011056538
272B9661A5B271   JOSEPH       BENNETT                  KY          90010966610
272B9A6185B271   CHEQUINTA    BUTLER                   KY          90013810618
272BB27855B271   MARIBEL      MIRANDA FLORES           KY          90014752785
272BB31989794B   ROSARIO      ROMERO                   TX          90002563198
272BB71447B484   CRYSTAL      RABON                    NC          90006997144
27311212572B88   BERENICE     STENNER                  CO          33049062125
2731128A872B29   ELIZABETH    ILLA                     CO          33016442808
2731343939184B   JOHN         REGER                    OK          90001504393
27314293172B29   CELESTE      ABEYTA                   CO          90001712931
273142A2391241   ALEX         BROOKES                  GA          90010172023
2731439A872B88   CYNTHIA      WEBB                     CO          33011763908
2731466192B27B   RITA         HENDERSON                DC          90005106619
27314827A9189B   ROBERT       HENDRICKSON              OK          90015258270
273149A444B521   MICHEAL      FRIDAY                   OK          90013759044
2731524145715B   NANCY        HENRIQUEZ                VA          90000262414
2731526795B161   LINDA        BRUNSON                  AR          23027702679
27315412172B29   STEVE        MAES                     CO          90001164121
27315524A31631   SHIRLEY      TERRY                    KS          22027625240
2731569914B261   RACEAN       LOWE                     NE          90014126991
27316264A91356   MARISOL      MIRANDA                  KS          90011662640
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2731644A291592   OSCAR         HERRERA                 TX          90013084402
2731664447B471   JACKIE        FOUTZ                   NC          11015946444
27316947476B69   ALFREDO       MURILLO                 CA          90006929474
2731697572B27B   SERAJE        ASSI                    DC          90002679757
27317163972B88   MARISELA      HERNANDEZ               CO          90001951639
27317556872B42   JUDITH        ZINDA                   CO          33026355568
2731866345B271   RONIKA        TAYLOR                  KY          68092426634
2731869889189B   TERRENCE      LAMONT                  OK          90012346988
27318926672B42   JUANITA       ORTEGA                  CO          90013959266
273195A2585822   BRENDA        CASTELLANOS             CA          90005105025
2731982717B449   BRITANY       WALLACE                 NC          90014748271
27319922972B29   ADELA         SANCHEZ                 CO          33018259229
2731B82398B56B   VERO          SILVA                   CA          90013788239
2732116512B86B   AMBER         WHITAKER                ID          42083581651
273212A2285938   DARLEENE      POPE                    KY          90007362022
2732156A93B365   ANGELA        KENNEPOHL               CO          90012485609
27321736A8B123   STEVE         WAITE                   UT          90001757360
27321A83172B88   HILDA         LOPEZ                   CO          33049060831
2732226898B56B   GUILLERMO     CONDO                   CA          90013052689
2732286669184B   JEFFERY       LYNCH                   OK          90014598666
27322A7922B27B   RAQUEL        JUAREZ                  DC          90000230792
2732329679184B   JAMES         SHELTON                 OK          90012482967
2732384957B449   YOLANDA       MCCAIN                  NC          90014748495
27323AA8776B21   TRAVIS        WIMMER                  CA          90009200087
27324318672B42   BERNADETTE    CONE                    CO          33062733186
27324488172B29   CHANTELL      SOLIS                   CO          90000794881
2732483A35715B   ALEX          GARCIA                  VA          90003258303
27324A4925B571   CESAR         VILLALOBOS              NM          35054380492
2732555252B27B   SHAQUITA      HOLMES                  DC          90006325525
27326A1974B521   DONNIE        WILSON                  OK          21517620197
273272A585B571   IMELDA        OLIVARRIA               NM          35007652058
2732778759136B   ISMAEL        PEREZ VAZQUEZ           KS          90011267875
2732834765B571   LETICIA       CUNNINGHAM              NM          90012563476
2732839A191525   MARIA         DURAN                   TX          75022973901
27328557872B42   ROMO          FEBE                    CO          90010405578
273288A529136B   KATHERINE     DCHOOLEY                KS          90002658052
2732899664B588   ANQUESHA      FRIDAY                  OK          90003729966
2732973629794B   REINA         L PEDRAZA               TX          74096057362
2732B187891541   MAYRA         CERDA                   TX          75014761878
2732B213655957   ERIKA         MORA                    CA          90005592136
2732B418831453   TIMOTHY       WALKER                  MO          27579394188
2732B78694B261   NATHAN        GODIN                   NE          90015297869
2732B954172B29   BRUCE         ALAN                    CO          90003589541
2732BA17691592   LEAH          VELA                    TX          75026770176
2733117679794B   CONSUELO      REYNA                   TX          74006121767
2733139A161939   CLIFFORD      BIGWOOD                 CA          90014983901
2733144724B261   GERARDO       BERNABE                 NE          27057124472
273318A2951331   DILLOM        HOGAN                   OH          90011268029
27332383572B88   STEH          ROLIND                  CO          90013123835
2733246647B449   ELSI          BONILLA                 NC          90012604664
2733255A572B42   ERNESTO       GUERRERO                CO          90013535505
2733296985B247   JOSH          HERALD                  KY          90003649698
2733332574B261   JENNIFER      KOMOR                   IA          27051533257
2733333459155B   MICHELLE      CROSBY                  TX          90011683345
27333885976B69   LORENZO       SANTOS                  CA          46050778859
27333A57631453   CHARLOTTE     WHASHINGTON             MO          27515140576
273342A329189B   CHAMIKKA      SLOAN                   OK          90010482032
2733433459155B   MICHELLE      CROSBY                  TX          90011683345
27336599A4B588   JUDITH        DURON                   OK          90013845990
2733695729189B   TONYA         THOMAS                  OK          90009609572
273371A7291356   STACEY        GOLDEN                  KS          90015311072
27337522A97121   SIERRA        WEST                    OR          90011515220
2733893497B449   CHRISTOPHER   GRIGGS                  NC          90014749349
2733898889155B   OSCAR         RODRIGUEZ               TX          75033529888
2733917A491833   ROBERT        WALKER                  OK          90006811704
27339426A7B471   CAROLYN       PITTS                   NC          90010334260
273396A645B271   JOHN          REICHLE                 KY          90012856064
2733989A391592   JENNIFER      VEDOY                   TX          90012788903
2733B785172B29   BRENDA        GUASRDADO               CO          90014167851
2733B875191541   MOSES         MENCHACA                TX          90010958751
2733BAA4472B88   TODD          OJA                     CO          90010350044
2733BAA9481648   TODDISHA      FRAISER                 MO          90009510094
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273417A784B261   LUIS          CASTREJON               NE          90001677078
2734181919136B   DIEGO         HINOJOSA                KS          90006768191
27342796672B88   CRAIG         RIGLER                  CO          90000497966
2734387875B271   TRACY         WALKER                  KY          90012538787
2734421985715B   NOE           SALVADOR                VA          90007822198
273446A3A6196B   PATRICIA      CUETO                   CA          90008616030
2734567344B261   WESLEY        VAVRA                   NE          27019206734
2734668218B337   MURIEL        JERNIGAN                SC          90001136821
27346692A91592   LUIS          DEL MERCADO             NM          75039876920
27346A7129155B   JOHNATHAN     MOORE                   TX          90014630712
27347A65A72B88   ISAAC         GARCIA                  CO          90012240650
2734828969189B   AJUANIA       BUYCKES                 OK          90005192896
2734855187B449   SELRENA       HARRELL                 NC          90014765518
2734887439155B   MARIA         MARQUEZ                 TX          90002098743
2734969184B588   ANNA          PHILLIPS                OK          90014356918
2734969779189B   DANIEL        BAUDER                  OK          90014176977
27349786572B29   ZANDRA        CELAYA                  CO          90014167865
27349A83881638   REVA          BUTTERS                 MO          90014650838
2734B61A385822   JEREMIAH      BRYANT                  CA          46035036103
2734B78815136B   RICKS         CVETANKA                OH          66061277881
2734B86529155B   JORGE         NUNEZ                   TX          75014348652
2734B951355957   VICTOR        HERNANDEZ               CA          90006669513
2734BA1534B588   WENDELL       BYRLEY                  OK          21598150153
2735121222B27B   GET           MONEY                   DC          81012232122
2735133849184B   CHRISTOPHER   SHANE                   OK          90013903384
27351786572B29   ZANDRA        CELAYA                  CO          90014167865
273527A449155B   LISA          VIGIL                   TX          75019057044
27352981472B29   DELORES       GONZALES                CO          33051909814
27353648472B88   MIKIELLA      LOBATO                  CO          90014966484
2735398239184B   DOROTHY       LEFTWICH                OK          21072989823
2735441357243B   SHANE         HANNA                   PA          90004454135
273546A4481638   JAZMAN        DAVIS                   MO          90011536044
27355A17685822   EDGAR         CARDOZO                 CA          46074280176
27356138A85822   HIMERIO       GARCIA                  CA          90011491380
2735647282B27B   RONALD        WILSON                  DC          90014794728
273564A9272B88   EUGENIO       ZAPATA                  CO          90013684092
2735672749794B   LANDON        LEWIS                   TX          90005117274
2735746299184B   KENDEL        JOHNSON                 OK          21015814629
2735818934B588   KYLE          FISHER                  OK          90013251893
2735841769189B   XENIA         JOHNSON                 OK          90002014176
2735883282B27B   KATHY         JACKSON                 VA          81014688328
2735893AA55939   TAYLOR        MICHELLE                CA          49010999300
27359684A5B271   JENISHA       BAKER                   KY          90011996840
2735972749794B   LANDON        LEWIS                   TX          90005117274
27359A46972B88   MARIA         MONSIUVIAS              CO          90013940469
2735B526A61986   MARIA         GARICA                  CA          90009295260
2735BA7129155B   JOHNATHAN     MOORE                   TX          90014630712
27361336A9155B   NAJERA        STEPHANIE               TX          90012413360
2736147282B27B   RONALD        WILSON                  DC          90014794728
2736193A44B588   RUBEN         FUENTES                 OK          90011499304
2736325447B328   ANIL          TREHAN                  VA          90000452544
27363416772B29   LESTER        SOWARDS                 CO          33030544167
27363754772B88   SETH          ANTILL                  CO          33004587547
27363A54131433   DEBBIE        SHIFFLETT               MO          27586280541
2736415443B379   JOSE          SCENSIO                 CO          90010391544
2736427929184B   ESTEVAN       MIRANDA                 OK          21091472792
2736468429155B   FERNANDO      BONILLA                 TX          90014196842
2736469A981638   BENNIE        MAPLE                   MO          90012786909
27365786572B29   ZANDRA        CELAYA                  CO          90014167865
2736618449152B   REYNALDO      SOLIZ                   TX          75026781844
2736619779136B   PATRICK       GARNER                  KS          90013651977
27366877A7B449   YANET         MOREL                   NC          11091818770
27366A5274B261   SHIRLEY       RICHEY                  IA          90011710527
27366AA5955957   ROSA          HERNANDEZ               CA          90013760059
2736814A19136B   CHARLENE      BRIDGEFORD              KS          90004731401
273681AA59189B   MARSHA        HENNESSEY               OK          90014811005
27368645376B8B   ALEJANDRO     SOLORIO                 CA          46083716453
2736941569189B   TICHELLE      TIGER                   OK          21011784156
27369694A85822   SORAYA        SOTO                    CA          90012386940
27369A91793731   BETTY         KLINE                   OH          90008940917
2736B962591241   DARLENE       JONES                   GA          90014719625
27371411272B88   JOHNATHAN     DAHARSH                 CO          90013684112
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2737215942B27B   NYGARI      OTTLEY                    DC          81029091594
27372266A72B88   STEFANIE    HERERRA                   CO          90005502660
27372411A4B588   ARIEL       REEVES                    OK          90007274110
273731A125B571   VERONICA    DURAN                     NM          35012521012
27374367A31453   BRITNEY     TRIPLETT                  MO          27576303670
2737479A572B88   LIZETH      ESPINOZA                  CO          90012817905
2737641A49155B   ASHLEY      QUIROZ                    TX          90011684104
2737675585B271   MARK        RUSSELL                   KY          90010847558
2737699269189B   TEREANCE    SMITH                     OK          21004599926
273772A5485822   JENNIFER    BIEN                      CA          90011782054
2737761A37B449   SONYA       CHAMPION                  NC          90014766103
2737793219155B   CHAVEZ      MARIA                     TX          90006279321
273782A485B571   ANNA        PADILLA                   NM          90008752048
2737858914B281   MARY        BROWN                     NE          27012925891
27378A58885822   STEVEN      ROBERTS                   CA          90002100588
273798A889155B   MARIA       TERRAZAS                  TX          90014638088
2737B18539155B   VIRIDIANA   MONTOYA                   TX          90010821853
2737B269655957   ROXANNE     STODDARD                  CA          90006952696
2737B271593731   JOSHUA      ANDERSON                  OH          90014172715
2737B4A8A9184B   NELIDA      PEREZ                     OK          90006364080
27381433172B42   MARGARITA   CASTANEDA                 CO          33057954331
27382314A5B571   SHERRI      NAVARRO                   NM          35078733140
2738363654B588   PARTRICIA   YANEZ                     OK          90014256365
2738363889184B   EVAN        VAN SLOTEN                OK          90013796388
273836A265B271   BENJAMIN    BLUITT                    KY          90014836026
2738425945B571   MIREYA      LOPEZ                     NM          90010542594
27384477672B29   AMY         BAKER                     CO          90012654776
2738461997B471   MISTY       VALDEZ                    NC          11091356199
27384A7AA4B261   SHARON      WALLACE                   NE          90005880700
27384AA1681661   LETICIA     SANCHEZ A                 MO          90010320016
27385862A72B42   JOEY        LEWIS                     CO          33089378620
2738628229184B   JESSICA     HINES                     OK          90009222822
2738658535B271   WAYNE       KALLIN                    KY          90012655853
2738666417B449   JAKORI      PLESS                     NC          90014766641
273866A2381638   JONATHAN    DOUGLAS                   MO          90014196023
2738677814B541   JOE         ALEXANDER                 OK          21538067781
2738758964B588   SUSAN       HERNANDEZ                 OK          90013535896
2738782449155B   ORTEGA      JAIME                     TX          90011858244
27387897772B88   LEONARDA    TARIN                     CO          90014698977
273878A534B261   ALEXIS      HUNTOON                   IA          90009078053
2738871762B27B   WONDIRAD    WORKINEH                  DC          90013157176
2738891789189B   MARIA       MARRUFO                   OK          90012979178
273895A342B27B   DANIELLE    RICHBOW                   DC          90014795034
27389751A9184B   JESSIE      TABER                     OK          90013287510
2738975A14B281   DAVID       DEBOLT                    NE          27021327501
2738997324B261   AMANDA      WALKER                    NE          90011349732
2738B16984B588   ROY         MILLS                     OK          90013301698
27393311672B29   MARIO       ROBLES                    CO          90011833116
2739342389189B   JEREMY      FLANIGAN                  OK          90013274238
2739345195B161   SHEKIA      CARLOCK                   AR          90007744519
2739359A481661   FREDA       SUBER                     MO          29098015904
27394211472B42   MIGUEL      SANTANA                   CO          90013862114
2739423349184B   RON         TUNER                     OK          90012242334
2739473755B571   FROILAN     RAMIREZ                   NM          35015917375
2739474249379B   RON         BARKLEY                   OH          90005297424
27394954372B42   BRANDY      HAMILTON                  CO          90013879543
27394A92961982   NICOLE      WOOLFOLK                  CA          90009470929
2739555817B449   MALIK       ADAMS                     NC          90015055581
27395657A4B261   DEANNA      JAYNES                    IA          27007696570
27395A12891833   ANGELICA    MAXWELL                   OK          90007570128
2739642A591592   SOCORRO     VEGA                      TX          90014154205
27396492A4B261   WANETTA     RICHARDS                  NE          27073034920
2739675569136B   KATHY       SMITH                     KS          29049727556
2739717A89136B   CARLOS      DOMINGUEZ                 KS          90013881708
27397466A91241   TAWONA      ANDERWS                   GA          90014134660
2739827845B271   SONAM       GURUNG                    KY          68074432784
27398486772B88   BLANCA      ARAIZA                    CO          33041054867
27398793A85822   ANABEL      SOTO                      CA          90010597930
2739917985715B   ANA         SALGADO                   VA          81046411798
2739941579133B   PAULA A     CADY                      KS          29083064157
2739948874B221   TALISA      JENKINGS                  NE          90009314887
273994A9372B29   MARICELA    ZAVALA                    CO          90009814093
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27399652872B42   CRISTOPHER   CHASE                    CO          90012916528
27399839572B88   MICHAEL      KEMP                     CO          90011458395
27399A45991356   JUAN         MONCADA                  KS          29039330459
27399A91672467   JULIA        WILLIAMS                 PA          90011340916
27399A99693731   CHRISTINA    HERNANDEZ                OH          64515190996
2739B35212B27B   MYESHA       HILL                     DC          90013133521
2739B772285822   ERIC         G ENCINARES              CA          90012617722
2739B9A2991356   OSVALDO      HURTADO                  KS          90010709029
273B1121384364   EDITH        BLUNTT                   SC          90003301213
273B172147B449   BRENDETLA    SPENCER                  NC          90014747214
273B1A2399155B   CESAR        BARRAZA                  TX          90014630239
273B1AA1172B88   CHOMPHET     LY                       CO          90010350011
273B2577941245   ROBERT       GALLOCHER                PA          90005315779
273B263117B471   CANDACE      BARRINGER                NC          90011496311
273B267A555957   MIGUEL       CORONA                   CA          90013926705
273B278719794B   FIDEL        DESANTIAGO               TX          90000357871
273B369184B588   ANNA         PHILLIPS                 OK          90014356918
273B371982B934   LISBETH      GALAN                    CA          90012067198
273B4357885822   ROBERT       MILLER                   CA          90012393578
273B515764B588   TIMOTHY      JONES                    OK          90010011576
273B5347691528   GUSTAVO      VALDEZ                   TX          75041373476
273B5976185822   MARCOS       CASTILLO                 CA          90012499761
273B5A8649189B   JEREMY       WEST                     OK          90012410864
273B6532851889   JOSEPH       RETOS                    NY          90009555328
273B6576691592   ZAIDA        SANCHEZ                  NM          75087835766
273B679AA4B588   MICHELLE     WILLAMS                  OK          90013917900
273B6A45A55957   ESMERALDA    DE LEON                  CA          90003260450
273B724645B271   LARREE       COOMER                   KY          90009922464
273B798334B261   LINDA        WHITE                    NE          90015339833
273B822689136B   MAYRA        FLORES VAZQUEZ           KS          90006082268
273B8342455957   NADIA        LOPEZ                    CA          90011243424
273B856934B58B   ROBERT       MORPHIS                  OK          21514825693
273B866A585822   DAN          KRENTZ                   CA          46011266605
273B8762191356   KRYSTAL      OLDHAM                   KS          90015167621
273B935469189B   ELFIDIO      CORONADO                 OK          90005903546
273B9834631433   ALICA        COLLINS                  MO          27542938346
273BB46479184B   CARMETHIA    CLEMONS                  OK          90013784647
273BB57AA55957   KRYSTAL      SHOWALS                  CA          90009565700
273BB773672B29   EDUARDO      GOMEZ                    CO          90014167736
273BB993391833   DANYELLE     SANDERS                  OK          90008579933
27411558176B69   LEONARDO     VALENCIA MENDEZ          CA          90006375581
274116A9491592   JUAN ANGEL   ROCHA                    TX          90012876094
27411A74491356   HUGO         GALINDO CANO             KS          90014070744
2741217665B271   PEDRO        CASTRO                   KY          68057521766
2741238757B471   APRIL        WHIDEMAN                 NC          90008643875
27412494A9189B   ELIANA       SALDIVAR                 OK          90014824940
27412694272B29   MARTHA       MALDONADO                CO          33081846942
2741288849794B   WENDY        RAMOS                    TX          90004458884
27413211A41245   STEPHANIE    MCCARTNEY                PA          51044232110
27414582372B29   ENRIQUE      PAREDES                  CO          90001455823
2741562A955931   ERIC         BENITEZ                  CA          90011236209
2741598479136B   GENEVA       BROWN                    KS          90006799847
274159A9172B88   RUBEN        DELGADO-GUARDADO         CO          33047049091
274161A9876B69   EFIGENIA     CRUZ                     CA          90006841098
2741662919184B   IDALIA       ESCOBEDO                 OK          90009656291
2741694435B271   BRANIGEN     WALLACE                  KY          90002909443
2741726275B571   BONIFACIO    HERNANDEZ                NM          35096632627
2741744975136B   BOBBY        JOHNSON                  OH          66055044497
2741863987B449   ALLEXYS      PAIGE                    NC          90013596398
2741867934B521   BRANDY       KING                     OK          90005936793
2741872A391241   ALFREDO      CRUZ                     GA          90014957203
27418A75972B88   JULIANNE     FRESQUEZ                 CO          90010110759
2741931865B161   DEANDREA     ANDERSON                 AR          90010543186
2741B272872B29   BLANCA       DOMINGUEZ                CO          90004212728
2741B35AA7B449   BARBARA      CASON                    NC          90014773500
2742138347B449   TORI         IVEY                     NC          90014773834
2742138642B27B   ANTONIO      MAIS                     DC          81010653864
2742177A59155B   DULCE        GOMEZ                    TX          75098707705
2742196215B271   JUNET        GONZALEZ                 KY          90012539621
2742214332B27B   REGINALD     MCCORD                   DC          90000841433
2742225535B569   CARLA        CISNEROS                 NM          90004722553
2742325124B261   MICHELLE     TRUDELL                  NE          27058362512
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274234A327B471   MARIA        MAYA                     NC          11047234032
27424319A85646   EVELYN       ROSARIO                  NJ          85007553190
2742437139155B   GUADALUPE    CRUZ                     TX          90009923713
27424447A72B88   DAGOBERTO    AVILA                    CO          90012874470
274248A7272B29   ELOY         GUTIERREZ                CO          90014168072
27427243172B29   IAN          COCHRAN                  CO          90014842431
27427551A9155B   KRYSTAL      MILLIORN                 TX          90000485510
2742762367B471   SHIRLEY      SIMPSON                  NC          90004676236
2742772AA51369   DEZARE       JORDAN                   OH          90010497200
27428722A76B69   JOSE         LEDESMA                  CA          90010607220
2742885719189B   LARISSA      GRITTS                   OK          90009678571
27428862972B88   EMANUEL      RENDON-DIAZ              CO          90014688629
27428A47857157   JAMES        TURNER                   VA          90003470478
2742926295B271   CHIQUITA     HARPER                   KY          68063812629
2742926574B261   KELLY        MILFORD                  NE          27019292657
2742951832B27B   JAMES        JACKSON                  DC          90014515183
27429989A31433   STEPHANIE    SMITH                    MO          90007999890
2742B632991592   CHARLES      GRANTZ                   TX          75044176329
2742B686181638   KALYNN       MURRAY                   MO          90008266861
2742BA44791828   JOSE         ORELLANA                 OK          21098460447
274316A1191528   LORENZA      VASQUEZ                  TX          75078726011
27431885A93731   COREY        RUNYON                   OH          90008098850
2743258814B521   NICOLE       PAISLEY                  OK          90010845881
2743277214B261   SARA         MAZUR                    NE          27019297721
2743319A79155B   CAROLINA     PONCEDELEON              NM          75098711907
2743323332B839   DANIEL       GARCIA                   ID          90001912333
2743346369189B   DUSTIN       SANG                     OK          90012994636
27433568672B29   ESPERANZA    MARTINEZ                 CO          90004505686
27434A8645B571   DYLAN        HARKES                   NM          90008060864
2743513A29155B   ROSA         TEPEZANO                 TX          90014631302
27435456A91828   JENNIFER     HARDIN                   OK          90014864560
2743596519184B   STEVEN       AUSTEN                   OK          90012659651
27436593572B29   GUILLERMIN   DE SIERRA                CO          33056345935
27436A1729184B   ROBERT       TURNER                   OK          90008540172
27436A7979794B   THERESA      ROBINSON                 TX          90005400797
27437172524B46   EVA          TALIAFERRO               DC          90015061725
2743729A59136B   ISAIAS       FUENTES                  KS          29004322905
2743752119155B   CESAR        TORRES                   TX          75033835211
2743755A79794B   JAMIE        ELLEDGE                  TX          74015435507
2743951679155B   JOSE LUIS    SANCHEZ                  TX          90011685167
2743971119189B   DIANNA       PICKENS                  OK          21089237111
2743979932B27B   KAWARA       TIMOTHY                  VA          90009657993
2743B331931631   JAMES        INGRAM                   KS          22090413319
274415AA193731   AUBRIE       HOPKINS                  OH          90014605001
27441773A81661   STEVEN       DODDS                    MO          90009477730
2744181919136B   DIEGO        HINOJOSA                 KS          90006768191
27441A39141245   JOSEPH       FAZIO                    PA          51013790391
2744224577B471   JEFF         BLANTON                  NC          11002802457
274423A1791828   HEATHER      MORRIS                   OK          90014413017
27442562772B42   GREGORIO     SALOMON                  CO          33024395627
274425A8A93731   JAQUATA      HOWARD                   OH          90014875080
27442815972B29   PRICILLA     SANCHEZ                  CO          90014558159
27442832A55957   ALEX         VALENZUELA               CA          90009268320
274434A2972B42   ANTHONY      PREITO                   CO          33012984029
2744496754B588   CYNTHIA      MINOZ                    OK          90014169675
274451A129189B   PEDRO        BUSTOS                   OK          90014811012
2744637537B471   SARA A       SHUNKWILER               NC          90011483753
274466A865B271   LAMONDRE     SANDERS                  KY          90014836086
2744675742B27B   MARTINA      GOMEZ                    DC          90010737574
27447533A91356   ROBERT       BUCK                     KS          90012245330
27447A52431631   FELICIA      COOLEY                   KS          22025470524
2744813164B261   THOMAS       FREED                    NE          90014141316
2744831585B571   JAZMIN       CASTRO                   NM          90010543158
2744869699136B   JUAN         GACHUZ                   KS          90004006969
2744947865B177   VICTORIA     BOOKER                   AR          90013754786
27449A64981661   ROXANA       LOPEZ                    MO          90011400649
2744B538672B42   SOMMER       KRUSKAMP                 CO          33006505386
2744B598A25245   ADELYA       WILLIAMS                 NC          90001935980
27451381A91528   SOLEDAD      MARTINEZ                 TX          75093873810
274517A6691592   DAVID        MONAREZ                  TX          90012857066
27451897772B88   LEONARDA     TARIN                    CO          90014698977
2745219A491592   MARIA        FERNANDEZ                TX          75043471904
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2745233A661985   MARTIN      PEREZ                     CA          90012343306
2745243A94B261   EDMIA       MCGARY                    NE          27096094309
27452742572B29   DEANDRA     RUYBAL                    CO          90014167425
27452758A7B449   ISRAEL      ALVAREZ                   NC          90013497580
2745276814B281   CINDY       JOHNSON                   NE          27093257681
274529A3291589   ELIZABETH   CASTILLO                  TX          75097149032
27453421372B88   VANESSA     VELASQUEZ                 CO          90012264213
27453676772B29   SALVADOR    GARCIA                    CO          90006506767
274539A9A31631   LINDA       WINEGARNER                KS          22084249090
2745428395B271   RHONDA      LANGFORD                  KY          90006142839
2745453217B449   MANNIE      FRESH                     NC          90014775321
274546AA791592   ALAN        FONSECA                   NM          75067836007
2745489519189B   DAVETTA     CAYSON                    OK          90009678951
2745654359155B   ANGEL       RIVERA                    TX          90011685435
27456A3577B471   JOSEPH      WATSON                    NC          90012000357
27456A94581661   MALINDA     GARDNER                   MO          29087700945
27457576A7B471   DAVON       HOWARD                    NC          90010055760
27457A72357531   PABON       FELIX                     NM          90003740723
2745844329184B   SHAWANNA    ASHLEY                    OK          90004134432
274588A9772B29   AMY         ZARAGOZA                  CO          90014168097
27458A58581638   SAMANTHA    CAMPFIELD                 MO          29060860585
27459124A85822   AUSTIN      MOSES                     CA          90014341240
2745916889155B   JAVIER      GARCIA                    TX          90014631688
27461283472B88   CLAUDIA     DOMINQUEZ                 CO          90006662834
27461539A91592   NOEMI       DE LA CRUZ                TX          90014625390
2746157542B27B   CARLOS      PAYNE                     DC          90014795754
274616A7681661   SARAH       WOODROME                  MO          90009346076
2746296535B36B   EULALIO     CONTRERAS                 OR          90003029653
2746314159198B   STEPHANIE   YORK                      NC          90011011415
27463471A5B36B   ANA         TAPIA                     OR          90007624710
2746399814B281   CINDY       KROULEK                   NE          27024389981
27464772A72B42   MARVIN      TEMPLE                    CO          90005227720
2746497A24B261   JAMES       GOULD                     NE          90004419702
27464A41755957   THEODORE    RAMIREZ                   CA          90004010417
2746527757B358   RONALD      BARBA                     VA          90001472775
2746531585B571   JAZMIN      CASTRO                    NM          90010543158
27465954A85822   OBDULIA     DURAN                     CA          46066559540
27465A87691356   SYMPHANEE   WILLIAMS                  KS          90010950876
27466171A41245   RICHARD     SUTPHEN                   PA          90011691710
2746619479136B   ROBERTO     COLIN                     KS          90010611947
2746631497B699   ETTA        WILLIAMS                  GA          90004333149
2746751554B281   JEFFREY     GARVEY                    IA          27041985155
2746763219184B   VET         EZELL                     OK          21029256321
2746784194B588   ASHLEY      SHINAULT                  OK          90013688419
2746894215B571   VANESSA     SALGADO                   NM          90009029421
27469A2562B27B   SUNDAE      BOLDWARE                  DC          81021570256
27469A39981638   TERESA      SAGE                      MO          90013600399
2746B54759155B   JORGE       PEARSON                   TX          90011685475
2746B67574B588   JACKIE      RODGERS                   OK          90002356757
2747132A65715B   MANUEL      ORTEGA                    VA          90003263206
2747191729189B   SILVERIA    OCHOA DE CHAIREZ          OK          90013459172
2747341A372B29   NORBERTO    CAMACHO                   CO          90011834103
2747419559155B   ALMA        GUTIERREZ                 TX          90009831955
2747428129189B   ENRIQUE     SALDANA                   OK          90006082812
2747435994B261   NICOLE      BENTZINGER                NE          27065093599
27474A75272B88   CESAR       PENA                      CO          90013940752
2747557529189B   ANGELES     TORRES                    OK          90013795752
2747564579184B   DANIELLE    CARTWRIGHT                OK          21065636457
27475A2A88B176   LAUREN      MCDANIEL                  UT          90004000208
274761A4491828   LETICIA     MASEDO                    OK          21017361044
274766A8493731   JASON       HOWARD                    OH          90014106084
27477479A91528   ARMANDO     SILVA                     TX          75012564790
2747846129184B   CECILIA     GARFIAS                   OK          90004254612
27478541972B88   REINA       VELASQUEZ                 CO          90013125419
2747861215B571   YVONNE      SANCHEZ                   NM          90004016121
2747888889155B   LLUVIA      SIGALA                    TX          75037018888
27478923A9794B   WHITAKER    MORRIS                    TX          74017269230
2747921237B449   CHAREE      CAMPBELL                  NC          90014782123
2747968922B965   MIGUEL      ZAMUDIO                   CA          90013676892
27479A75A72B29   TIMOTHY     FULTON                    CO          90013880750
2747B161185822   SERGEY      RUDOY                     CA          90010971611
2747B82194B588   RUBY        FRICK                     OK          21586158219
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274816AA157157   CONSTANCE    ABBAL                    VA          81016186001
2748178844B261   ADAM         HANNA                    NE          90014547884
2748187189155B   ROSALIA      PONCE                    TX          75098888718
27482A2179136B   JOSELYN      GRAHAM                   KS          29073580217
2748316512B27B   GARY         RIDGLEY                  DC          81095581651
27483827A9136B   OLOPEZA      SILVINO                  KS          90010948270
27484A55881638   CHARLES      SNYDER                   MO          29009990558
2748544579155B   CARLOS       GUZMAN                   TX          90013224457
27486375A93731   JUSTIN       VAMOS                    OH          90009053750
27486743172B88   SERINA       DURAN                    CO          90012557431
274874A5691592   FERNANDO     GONZALEZ                 TX          90014384056
2748751AA5715B   AURA         OROCHENA                 VA          90000285100
2748775625B571   ARACELI      GARCIA                   NM          90011297562
2748851AA5715B   AURA         OROCHENA                 VA          90000285100
2748887764B261   DUANE        KUGLER                   NE          27036468776
274889A259136B   MARCO        GUARDADO                 KS          90011429025
27488A8197B449   WILLIAM      FULLER                   NC          90014790819
274893A235B571   SAMANTHA     SIMON                    NM          35088503023
2748975337B462   EDWIN        MENJIVAR                 NC          90006377533
2748995717B449   EDITH        SANCHEZ                  NC          90001629571
2748B24767B449   LAURA        GRASSO                   NC          90014782476
2748B24A981638   ANDY         HARDEN                   MO          90013062409
2748B319472B88   SUSAN        FERNANDEZ                CO          33040023194
2748B32279189B   CATHIE       HOLLINGSWORTH            OK          90009503227
2748B33A49155B   VERONICA     RODRIGUEZ                TX          90012803304
2748B5A5685998   TAYLOR       BAKER                    KY          90010605056
2749227765B545   JARED        POWELL                   NM          90003512776
274922A1331631   JAARED       OLSON                    KS          90003542013
2749282557B471   LILLIAN      BARRETT                  NC          90011058255
274928A259189B   ABRIL        ARTEAGA                  OK          90011968025
2749359179155B   PRISCILLA    REYES                    TX          90011685917
274937A964B588   DEWEY        GILDER                   OK          90006377096
27493A23772B29   MARTHA       ALONZO                   CO          33015540237
2749424179155B   ANTONIO      FLORES                   TX          90014632417
27494845172B88   ASHLEY       STOCKMYER                CO          33035158451
2749511452B27B   JACQUELINE   HARRIS                   DC          90013141145
27495A2A881639   GARY         SOUKUP                   MO          29013810208
2749629317B449   ALIREY       DALTON                   NC          90014782931
274968A789136B   EDUARDO      ARRAZOLA                 KS          90001178078
27496AA4793731   MARY         BRANSCOMB                OH          90003470047
27497653472B88   RAY          ROMERO                   CO          33039596534
2749822942B27B   SHAWN        OAKCRUM                  DC          81010772294
2749857634B553   SHALETHA     GILBERT                  OK          90006855763
27499174472B88   DIANA        ORTEGA                   CO          90009351744
2749919673B333   LEAH         ARAGON                   CO          90008741967
274996A2357157   BUFFIE       NEDITCH                  VA          81016196023
2749B552885822   MANUEL       VELASQUEZ                CA          90008985528
2749B5A474B588   LEKEISHA     MARTIN                   OK          21516185047
2749B7A2793731   JACKIE       PIERCE                   OH          90012017027
2749B98A391241   NASHARA      JOHNSON                  GA          90014089803
2749BA3A791592   AMY          BABCOCK                  TX          90014390307
2749BA43191528   VALERIE      VALLES                   TX          75094190431
274B1249791828   JESSICA      BROUSSEAU                OK          90000662497
274B188267B449   ARIANA       SORIANO                  NC          90009298826
274B226655B571   JOSEPH       GARCIA                   NM          90010542665
274B2339572B29   AMINDRA      VARGAS                   CO          90007553395
274B2367291356   RICARDO      RODRIGUEZ                KS          90013293672
274B24AA572B88   JOAN         LOUGHRAN                 CO          33014884005
274B27A492B27B   MONEA        SMITH                    DC          81010627049
274B282A89189B   SUMMER       WILSON                   OK          90009678208
274B2866777399   MARY         WICKRAMASEKERA           CO          90012248667
274B29A975B271   SHERMOND     BOBBITT                  KY          68082559097
274B317A29189B   DENISE       GONZALZE                 OK          90010321702
274B344634B588   BENNIE       ANDERSON                 OK          21592184463
274B3551891828   TONY         HEARD                    OK          90013895518
274B355A79155B   MICHELE      CARISON                  TX          90012955507
274B3696872B42   BENJAMIN     PALMA                    CO          33058006968
274B4163472B29   KENNETH      TENNYSON                 CO          90012151634
274B473A15B271   SARAH        TRONCIN                  KY          90010027301
274B514A172B29   ROBERTA      TURNEY                   CO          33054211401
274B613474B588   TE           MANG                     OK          90013311347
274B6273441245   LYNYRD       DAYTON                   PA          90004812734
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274B6322272B42   ALEJANDRA      ZAMBRANO               CO          90005193222
274B664622B27B   LEONARD        POE                    DC          90003266462
274B673448B137   SIDNEY         SMITH                  UT          90013307344
274B6A72791241   KADIJAH        PENDERGRAPH            GA          90014610727
274B733A272B29   ISMAEL         LOPEZ                  CO          90011833302
274B8159391592   JESUS          LOZANO                 TX          75095111593
274B835345B54B   CHARMANE       JACQUEZ                NM          90014483534
274B8825972B29   PATRICIA       TIBBETTS               CO          33005268259
274B893A372B42   RONALD         FREDERICKS             CO          33082729303
274B9421872B88   KERI           HAYNES                 CO          90010474218
274B9525491828   NELY           VERAZQUEZ              OK          21058745254
274B9873A91833   ATTRELL        REDRICKS               OK          21038348730
274BB632391592   RAMON          VITAL                  TX          75047036323
2751265719155B   JOSIE          MCCLEARY               TX          75089246571
275126AA92B27B   LINDA          HILL                   DC          90014796009
2751294549136B   PORSCHE        HASKINS                KS          90013229454
27512AA1585938   MARJORIE       POOL                   KY          67022950015
27513191A72B86   PATRICIA       BARRON                 CO          33017421910
27513265772B42   ECTOR          IXCHOP                 CO          33084132657
2751349244B521   ROBERTO        ZAYATE                 OK          21563224924
2751421215B161   BEVERLY        BERRY                  AR          23007472121
2751432757B449   SELENA         MOORE                  NC          90014783275
2751479669189B   LIANN          ALFARO                 OK          21061257966
2751482227B471   MONICA         TORAIN                 NC          90008858222
27514857A5B571   JOSEPH         TREJO                  NM          35011658570
275156A7591828   BLANCA         LOPEZ                  OK          21050126075
27516879A91241   NIESHA         CLARK                  GA          90012038790
27516A43A72B42   ANGELINA       DAVILA                 CO          33093070430
27517873472B88   SERGIO         MARTINEZ               CO          90012858734
2751788574B281   DENEAN         CARLSON-ROZIC          IA          27087858857
27517A94377541   CASCIE         HENDERSON              NV          90000530943
275183A8691592   EUNICE         GONZALEZ               TX          90010423086
2751849964B588   MARTIN         ACEVEDO                OK          90013674996
2751874819136B   CYNTHIA        ACOSTA                 KS          29001357481
2751938AA4B588   WENDY          WELLS                  OK          90014553800
2751961345B271   TAYLOR         HENRY                  KY          90014836134
2751979757B449   PEPPER         PERRELL                NC          90001887975
2751B435A76B69   BRENDA         GARRISON               CA          90009014350
2751B55A991592   SHAY           DUCKETT                TX          90014625509
2751B58472B27B   LUIS           MAYEN                  DC          81010905847
2752142489189B   OLGA           MEDRANO                OK          90008664248
27521544572B29   MICHAEL        NIXON                  CO          33010805445
275219A7236165   ROSEMARY       MONTOYA                TX          90014709072
2752211A491592   BRIAN          GAYTAN                 TX          90012611104
2752235269794B   FREDDY         AMOSIE                 TX          90011193526
2752313877B449   JAMIE          OVERCASH               NC          90011131387
2752359764B588   RASHUNNA       MORRIS                 OK          90013435976
2752364A691828   JUAN           CEBELLOS               OK          90013896406
27524552172B88   LIVINIA        VOIGT                  CO          33022465521
2752491944B588   SANDRA         CABRERA                OK          90007559194
2752495289379B   KAYLA          YOUNG                  OH          90007869528
2752498A591356   BRUCE          OGDEN                  KS          90015119805
275249A8585822   THOMAS         MCBRIDE                CA          90012999085
27524A33591828   ARTHUR         ENGLISH                OK          21099020335
275258A4785822   GERARDO        CASTILLO               CA          90013338047
2752612215715B   STEVEN         MARTINEZ               VA          90000291221
27526463372B88   AZUCENA        VILLARREAL             CO          90013424633
275277A5381661   TERRANCE       ADGER                  MO          29077897053
27527882872B29   DONNA          DONOHOO                CO          33015538828
27527A5A59189B   GLENDA         DINORA                 OK          90014540505
27528574A72B29   JEROLD         LALO-HERNANDEZ         CO          90007215740
27528967A72B42   COREY          BEECH                  CO          33073759670
27528A1114B261   M DEL CARMER   CARRIZALEZ             IA          90004500111
2752912633B365   MARIA          ROMERO                 CO          33017391263
27529476572B27   CHARLES        HARVEY                 CO          90009964765
2752949145752B   MARIA          CARRILLO               NM          90010864914
27529689372B42   YARA EDITH     ZUBIA-RODRIGUEZ        CO          90013626893
27529A89972B88   SALVADOR       SOLANO                 CO          90000250899
2752B492172B29   KIMBERLEY      SORRENTINO             CO          33057504921
2752B884291383   TAMARA         SANDERS                KS          90006448842
2752BAA2A41299   ART            BECKAS                 PA          90014470020
2753128259155B   ANDREW         JASSO                  NM          75046462825
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275319A915B271   MAHOGAMY      BROWN                   KY          90001609091
2753324935B161   FWATULA       WALKER                  AR          23014512493
275333A112B27B   PHILLIP       LANE                    DC          90013723011
27533834176B69   RAFAEL        GONZALEZ                CA          90009888341
27533841172B29   DREW          RUNGE                   CO          90014168411
2753384A75B538   LONNIE        DEHERRERA               NM          90001448407
27533AA3555957   DONALD        GOODLOW                 CA          90003390035
2753488784B588   CAMERON       SMOTHERMAN              OK          90009738878
27535782A91592   NEFI          ALANIZ                  TX          90006317820
2753622139136B   EBERTO        ROMERO                  KS          29033682213
27536526A2B27B   MARIA         FLORES                  DC          90006665260
27536A1A531631   FAITH         BARROWS                 KS          90006600105
27536A7343B38B   FELICITY      HERNANDEZ               CO          90012870734
2753772A37B449   TONIE         FORTE                   NC          90004907203
2753795922B27B   DONNELL       BROADWAY                DC          90010749592
27538357672B88   MARISELA      RUIZ                    CO          90011893576
275383A959189B   CHARLES       ECKELT                  OK          21073703095
2753865334B588   MICHAEL       HERRIAN                 OK          21556646533
27539373A72B42   KAY           REICHERDT               CO          33085283730
2753939165B271   TERRANCE      ANDREW                  KY          90014663916
2753965194B521   VERENCE       SANCHEZ                 OK          90007146519
27539917872B29   CARLY         DYSON                   CO          90014169178
2753B16765B271   DAGEN         HUDSON                  KY          90014961676
2753B44A581637   EARL          GRAYSON                 MO          29008194405
2753B462A72B29   JOSE          MARTINEZ                CO          90011834620
2753B47795B161   CHARLENE      ESTES                   AR          23071334779
2753B641381648   LAWANDA       DAVIS                   MO          29032216413
275412A9672B29   ISAIS         VALDEZ CORTEZ           CO          33068262096
275415AA791828   JOSE CARLOS   FUENTES                 OK          90004265007
2754274199184B   SABRINA       FARRIS                  OK          90014327419
275434A282B27B   BRITTANY      RICHARDSON              DC          90013924028
2754386734B261   ARON          MAYA                    NE          27026408673
2754464465715B   DORIS         WASHINGTON              VA          90000296446
2754465699189B   LUIS          PRESA                   OK          90012016569
2754475313364B   STEPHON       LEIGH                   NC          12010927531
2754513A44B281   ANNETTE       SHANNON                 NE          27083601304
2754548377B449   ANDRESHA      BYRD                    NC          90014784837
275455A789136B   JESSICA       PIPER                   KS          29071955078
2754638634B588   KAQUEESE      WILLIAMS                OK          90011383863
27546A8139155B   ADRIANA       GONZALES                TX          75084250813
2754833119184B   BRIDGET       ALLISON                 OK          90007923311
27548969172B29   KEISHA        VELASQUEZ               CO          90015169691
275489A9791828   LASHUAN       WATTS                   OK          90013929097
27548A19172B42   JORGE         DURAZO                  CO          33021860191
2754965484B521   CHRISTOPHER   HARKLEROAD              OK          90002506548
2754967579155B   ELIZABETH     GONZALEZ                TX          90011686757
27549A9635B28B   ERIN          MOTT                    KY          68013620963
2754B53974B261   FRANCES       FORTENBERRY             NE          90003655397
2754B996671925   DEBRA         VANBUSKIRK              CO          38038119966
2754BAA2A4B281   LANCE         ZIMMER                  NE          27064910020
2754BAA6381638   EMMA          WOODARD                 MO          90007780063
2755221922B27B   ROBERT        BELT                    DC          90013142192
27552881A93767   ANTONIO       MAUFFET                 OH          90014538810
2755294A45B161   CHEQUINE      HILLERY                 AR          90004819404
2755366374B588   NIVA          LOCKETT                 OK          90013456637
27553A5A55B271   DAISY         PERKINS                 KY          90003760505
2755466387B449   MERCY         KEAR                    NC          90009116638
27554684A9155B   VERONICA      DESERAY                 TX          90011686840
27555218A72B88   MONIQUE       THOMAS                  CO          33089602180
275556A2731433   JAMES         LACROIX                 MO          90001176027
2755581215B571   MARCOS        POQUE                   NM          90011298121
2755727145715B   MARTIN        GOMEZ                   VA          90000502714
2755928AA5B271   YUNIKKA       REESE                   KY          90001992800
27559939A9189B   LILLIE        CALDWELL                OK          90014569390
27559A36172B88   IRMA          CASILLAS                CO          33005000361
2755B21419155B   MARIA         ALMANZA                 TX          90000762141
2755B53A972B88   AMANDA        THORTON                 CO          90011015309
2755B783572B29   ALEKSEY       SHELAMOV                CO          33047757835
2756142953B348   YOLANDA       MATA CAMACHO            CO          90008674295
275616A7772B29   ROSA MA       CASTILLO                CO          33062456077
2756173A14B261   DANA          BOTOS                   NE          27095037301
2756537679136B   TINA M        HUBBARD                 KS          90014703767
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27565618A5B271   CHRIS        THOMAS                   KY          90014876180
27565746372B42   GREGORY      DAVIS                    CO          33092477463
275658A8A91592   MINERVA      ALVAREZ                  TX          90013048080
27565A5177B471   DESHIA       STARKES                  NC          90007530517
2756636844B588   REBECCA      BLAIR                    OK          90008973684
27566552376B69   VIVIENNE     CUMMINS                  CA          46006705523
27566892672B88   ABELARDO     GONZALES                 CO          33076448926
27566A93931433   INDIA        WILLIS                   MO          90005500939
27567362A85822   MELISSA      MELCHIONE                CA          90013243620
2756754925B571   DEANNA       TRUJILLO                 NM          90003955492
2756778A972B29   ELIJAH       MENDEZ                   CO          90012677809
27567876A81648   TRICIA       VANDRUFF                 MO          29026968760
2756823562B27B   DEVIN        ARMSTRONG                DC          90013142356
275688A4472B29   EVANGELINA   AMAYA                    CO          90011838044
27568A6714B281   BRICE        TCHEGNINOUGBO            NE          90011270671
27568A7A65B571   DAVID        HOLGIN                   NM          90006460706
2756999A29189B   KENNEDY      SMITH                    OK          90015179902
2756B314A4B588   JOSH         BOWLES                   OK          21532783140
27571214572B29   BYRON        CLARK                    CO          33015532145
27572164672B29   JULIO        OVANDO                   CO          33081451646
27572225772B42   GUILLERMO    DIAZ-SIERRA              CO          33091402257
275723A8181638   CRAIG        MCCORD                   MO          29031713081
2757242934B588   MARK         BUCHANAN                 OK          90005534293
2757258AA31453   DONNA        LONG                     MO          90010685800
2757321192B229   DONTE        MILLS                    DC          90012032119
2757334357B449   MIRIAM       VALLES                   NC          11080883435
2757361A65598B   SUSANA       GONVALEZ                 CA          90009916106
27573857672B29   ENRIQUE      MORALES                  CO          90014178576
27573A8687B377   ADRIENNE     JARMON                   VA          90007870868
2757419419794B   VICTOR       GONZALES                 TX          74019271941
2757421455B271   AMBER        DOWELL                   KY          90011532145
2757435559136B   ROSA         VALLES                   KS          90015013555
27574A24272B42   ADRIANA      CUEBAS                   CO          90004690242
275751AA89189B   XAVIONA      WILBORNE                 OK          90009691008
2757548A772B29   KARINA       PUENTE                   CO          90011834807
27577764772B88   JEAN         GALLEGOS                 CO          90011387647
2757875935B271   YUSIEL       LEYVA PINA               KY          90011177593
27578A46191828   JESS         GARRISON                 OK          90009490461
2757956759155B   CONCEPCION   ROBLES                   NM          90013425675
27579857572B29   DULCE        GARCIA                   CO          90014178575
27579952672B88   MALINDA      LYTLE                    CO          33094109526
2757B37955B271   TIFFANY      BOTT                     KY          90013343795
2757B773172B88   WILLIAM      COVINGTON JR             CO          33027627731
2757B84779794B   WILLIE       HOUSTON                  TX          90004528477
27581222A7B449   LIDIA        GARCIA                   NC          11051732220
2758232174B588   MEGAN        FITCH                    OK          90000843217
2758254957B449   K            JEL                      NC          90014785495
275837A299155B   MARIA        PAREDES                  TX          90014797029
2758396469189B   JUDY         BILLINGS                 OK          90012689646
27583A19731631   DANIEL       STOGNER                  KS          90010130197
275841A2393731   MELANIE      BRUMMETT                 OH          90010271023
27584648472B88   MIKIELLA     LOBATO                   CO          90014966484
2758561665B271   ALVINA       WALKER                   KY          90014836166
275858A7672B88   DAWN         ROE                      CO          90011988076
27585A41591241   ERICA        ELLIOT                   GA          90014850415
2758616549155B   MARCO        FRIAS                    TX          75033221654
27586A1629189B   CHRISTY      WAGNER                   OK          90015270162
2758755612B86B   CRAIG        DEVENEY                  ID          90009225561
2758766822B27B   ERICA        MOBLEY                   DC          90012586682
2758786A49155B   JESUS        GAONA                    TX          90014788604
2758854147B449   BRISHAWNA    THREATT                  NC          90014785414
2758912147B449   PATTY        RADASZEWSKI              NC          90014791214
2758934759189B   TISHA        GABLE                    OK          90015023475
2758941657B449   ROSHENE      WHITFIELD                NC          90014674165
27589761A91577   ROBERT       HENDERSON                TX          90011717610
275897AA831631   LUZ          GAITAN                   KS          90009957008
2758B162891356   TINA         NWOGOR                   KS          90013581628
2758B181691828   DAVID        DAVISON                  OK          21013091816
27591356A81661   JENNIFER     THOMPSON                 KS          29022543560
2759147847B471   LYDIA        REYES                    NC          90012184784
2759215925B271   VERONICA     STANTON                  KY          90009481592
2759225869155B   VALARIE      SAENZ                    TX          90014632586
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275926A4593731   DANIEL           MOUNCE               OH          90014606045
27592926A7B471   RICK             MCGRIFF              NC          11042009260
27593379A85822   SAHAR            ABUNADI              CA          90011333790
2759345829155B   ANTONIO          RUBALCABA            TX          75070594582
27593852472B88   JOSUE            JIMINEZ              CO          90010028524
27593949772B42   IDELFONSO        TORRES               CO          90001259497
275955A1491541   FRANCISCO        VILLA MORALES        TX          90005395014
2759563935B161   RACHEL           FLOWERS              AR          90002196393
27595842224B43   HERMAN           JACKSON              DC          90007228422
27595A8489184B   ROBERTS          STACEE               OK          90008080848
27596319A55957   ROSIO            TAFOYA               CA          90014753190
275963A8891833   JOE              SHEPPARD             OK          90010983088
2759648A893731   TARA             ALSPAUGH             OH          90007194808
27596519A4B281   DEBRA            WALKER               NE          27092975190
2759795479152B   MAYRA            MUNIZ                TX          90011509547
275984A4157157   JUAN             ALVAREZ              VA          81077734041
2759867195B571   WAYNE            NAHA                 NM          90009156719
2759929889184B   ROSITA           BYAS                 OK          21097192988
27599668976B71   CHRISTIAN        DEROSE               CA          90006896689
2759983A585822   AMNER            GARCIA               CA          90012268305
2759B231891356   IVAN             MARINEZ              KS          90014512318
2759B29629155B   GABRIELA         NAVARRO              TX          75088442962
2759B492541245   STEPHANIE        MARTY                PA          51054534925
2759B914A72B29   NORMA            ALMARAZ              CO          33061009140
2759B97152B357   MANUEL DEJESUS   LIRIANO              CT          90013099715
275B15A154B261   CARLA            SELLERS              NE          90005855015
275B1A1399189B   ADRIANA          TORRES               OK          21004040139
275B2A6484B261   MELISSA          RIDGE                NE          90005390648
275B3414997122   MELLISSA         SPARKS               OR          90001134149
275B3445181637   MARGARET         MARTIN               MO          29093924451
275B344A293731   MIKE             WARE                 OH          90012424402
275B355285B271   CINDY            STEVENSON            KY          68043765528
275B3885391592   JANEESE          JURADO               TX          90010458853
275B395332B27B   GWEN             THOMAS               DC          81077999533
275B4653185822   DEBORAH          PRIOR                CA          90013046531
275B46AA99155B   MIGUEL           RIVERA LOPEZ         TX          90011686009
275B4925155957   JORGE            SOLORIO              CA          90004979251
275B51A485B271   JENNIFER         ABERNATHY            KY          90014931048
275B588517B471   PAUL             ROGERS               NC          90011278851
275B6274772B73   ROSA             CORTEZ               CO          33095892747
275B6285A91356   MARISOL          BARAJAS              KS          29074252850
275B6476572B42   JAMES            BROWN                CO          33006344765
275B65A4991828   KAYLA            DOSS                 OK          90014485049
275B667417B471   JUAN             TAPIA                NC          90005186741
275B6749133636   MALICIA          GLOVER               NC          12008727491
275B725999189B   TYDEREIA         PATTERSON            OK          90014562599
275B735539155B   JOSE ANGEL       RAMIREZ              TX          90014863553
275B76A5A9155B   PRISCILLA        PERKINS              TX          90011686050
275B837214B261   WILLIAM          VAUGHN               NE          90012283721
275B839554B588   ADRIAN           BURDEX               OK          90012783955
275B8417885822   ANDREW           NUNEZ                CA          90013834178
275B8573855957   JOSE             AVALOS               CA          90014245738
275B8982191592   LIZETT           CHAVEZ               TX          90011379821
275B9368855957   YARITZA          CRUZ                 CA          90012193688
275B94AA176B69   ANA              SANCHEZ              CA          90010614001
275B9617291241   BETTY            JEAN                 GA          90013026172
275B9649593731   BRENDA           TELLIS               OH          64589166495
275BB19A281661   CYNTHIA          ARMSTRONG            MO          90011001902
275BBA91981638   RUDIS            FRANCO               MO          29066310919
276126A5581638   ROY              MCCANSE              MO          90013096055
27613378A9136B   MARIA            GUTIERREZ            KS          29039343780
276137A4691528   ANDRADE          TRANSPORTATION       TX          90003287046
27613866272B88   ROSALBA          ESCOVEDA             CO          90014578662
2761393342B27B   MARY             CEPHAS               DC          90002479334
2761425734B588   MORRISON         DEWAYNE              OK          90011322573
27614413472B29   BLANCA           SALMERON-LOPEZ       CO          90010554134
2761446183B127   TEARA            BEALLE               DC          90001514618
276144A134B588   RODERICK         MORRISON             OK          90012714013
27614782A91592   NEFI             ALANIZ               TX          90006317820
2761482A385822   ALFRED           MASON                CA          46060808203
27614873172B29   GENOVEVA         VEALASCO             CO          90014168731
2761498A17B471   JANELLE          ROBINSON             NC          11064989801
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276155A259136B   TONYA         DENHAM                  KS          90004865025
276155AA491828   RICCO         WILLIAMS                OK          90014425004
27615A43591356   LUIS          RODRIGUEZ               KS          29014690435
2761864719184B   DWAYNE        DANIELS                 OK          90014906471
27618913A55957   JUAN CARLOS   PEREZ                   CA          90013549130
2761B231193731   PATRICE       LITTLJOHN               OH          64505072311
2761B268A9155B   LORENZO       VARGAS                  TX          90014632680
2761B45769136B   TONYA         SERAFIN                 KS          90011274576
2761B518172B42   NANCY         WILLIAMS                CO          90000795181
276214A342B27B   JUSHELLE      POWELL                  DC          90013144034
27621945A72B42   INA           GARCIA                  CO          90012289450
2762234435B571   GLORIA        LUJAN                   NM          90004723443
27624159272B29   ANTONIO       CALDERA                 CO          90011821592
27624483A81637   NYKITA        PENN                    MO          90005794830
27624536A55957   ASHLEY        SALCIDO                 CA          90009275360
2762518458B178   ROBERT        BUCKLEY                 UT          90013641845
2762571728B16B   JESSICA       SANDERSON               UT          90004987172
27626619872B29   AERNI         LYTLE                   CO          90004506198
27627159272B29   ANTONIO       CALDERA                 CO          90011821592
27627214A57157   NGUYEN        NGUYEN                  VA          90004362140
2762727479155B   APRIL         CORONA                  TX          90014632747
2762911399155B   IGNACIO       VILLA                   TX          75015231139
27629431772B88   ALEIDA        ROJAS                   CO          90013254317
27629524A72B29   ZULIEMA       ALVARDO                 CO          90011835240
2762967989184B   JEFF          CLAYBOURN               OK          21057126798
27629A1317B449   COURTNEY      HALL                    NC          11024090131
2762B193A5B333   GERRICK       ADACHI                  OR          90004651930
2762B412A91241   LEO           LEE                     GA          90014564120
2762B753572B42   KASSANDRA     REDLEAF                 CO          90011987535
2762B815591828   SIERA         LAFFOON                 OK          90014758155
2762B921491592   RUBEN         CORDERO                 TX          75095059214
2763125134B261   JOHN          MYERS                   IA          90013492513
27631272A4B281   PENNY         MCCLARNON               NE          90008952720
27631332487B87   RICHELENE     IRBY                    AR          23025463324
276318A7693743   NICOL         ELZEY                   OH          90008788076
276324A7991592   GABRIEL       HIGADERA                TX          90009224079
27632549472B29   DEANNA        COTTER                  CO          90011955494
27632851672B88   DIANA         PACHECO                 CO          90003188516
2763316765B271   DAGEN         HUDSON                  KY          90014961676
276338AA32B27B   MILTON        ZACARIAS                DC          90013158003
276352AA755957   VANESSA       CARRERA                 CA          90003422007
27636134872B88   JOSELUIS      SALAZAR                 CO          90013941348
2763629499136B   STAR          ROBINSON                KS          90004262949
2763637869155B   NADINE        RODRIGUEZ               TX          90010113786
27636A3672B27B   GEMECHU       ALEMBO                  DC          90008760367
276372A815B271   HERBERT       GARNER                  KY          90011472081
2763732964B261   MIGUEL        ANTONIO                 NE          90012163296
2763757669136B   ZAKIA         TURNER                  KS          90013335766
27637799872B42   PAUL          LUCERO                  CO          90013377998
276383A9A31433   ANDRE         COVINGTON               MO          90001393090
27638A32272B88   MIRIAM        PEREZ                   CO          33060120322
27639278A91828   LINDA         JUSTICE                 OK          90006072780
27639469872B29   OTSMARO       ZELAYA                  CO          90008174698
276396AA377534   JEREMY        WOOD                    NV          90001636003
2763995979136B   WARREN        WHITE                   KS          29031119597
2763B176681648   ISAIAS        AMAGA                   MO          90001431766
2763B312872B88   LANA          GARCIA                  CO          33062423128
2763B69A84B588   JONATHAN      RICE                    OK          90010906908
2763B786972B29   ERICA         TORRES                  CO          90012677869
2763B952555957   ASIA          TAFOLLA                 CA          90014779525
2764134244B588   DEBORAH       DUNN                    OK          90012133424
27642A3312B856   RANDY         COX                     ID          42082520331
2764325937B449   DAVID         SERRANO                 NC          90006612593
27643367A9184B   SHAUN         COLLINS                 OK          90013803670
2764343A54B588   AIDA          ALARCON                 OK          90004814305
27643977A41245   SHANEMA       GRAHAM                  PA          51030129770
2764439474B261   MOISES        MORENO                  NE          90006163947
2764446A75B571   EMILIO        LOPEZ                   NM          90001664607
27644875172B88   CODY          SANSON                  CO          90012858751
27646445A91592   ROBERTO       GUERRERO                TX          75050364450
2764656289155B   MARIBEL       AGUILERA                TX          75052355628
276467A3172B42   RENEE         MEDINA                  CO          33015207031
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27647736A4B261   LANCE         DALTON                  IA          90013587360
2764821984B588   CHAVON        CRAIGS                  OK          90014632198
27648A95191356   ZANE          SCHULER                 KS          29020020951
27649747A4B588   JAIME         GASPAR                  OK          90013527470
2764B23579189B   TOMAS         MENDOZA                 OK          90013232357
2764B612291592   ISAAC         RODRIGUEZ               TX          90012526122
2764B641591592   MARIA ELENA   ROMERO                  TX          90007526415
2764B82772B27B   CORINE        CURRY                   DC          90013158277
2764BA67A5B271   ALICE         MORRIS                  KY          90009170670
2765112867B449   GERMAINE      FORD                    NC          90014791286
2765112AA76B69   RUSSELL       HAMERDINGER             CA          90011781200
27651189872B88   EBONY         TURNER                  CO          33047131898
27651271A9136B   DERRICK       WEAVER                  KS          29042262710
276513A6791828   MIRANDA       EMSLEY                  OK          90014583067
2765149199155B   MARCO         LUNA                    TX          90003974919
2765149725B271   REBECCA       HURST                   KY          90014844972
2765331944B588   OLVIA         WRIGHT                  OK          21503743194
2765413799189B   JOSEPH        WITWER                  OK          90009871379
2765418835B271   EDWIN         BRODLEY                 KY          90014571883
2765446574B588   SAMANTHA      DURKEE                  OK          90006264657
2765515412B27B   WARREN        FISHER                  DC          81011091541
27655739672B29   APRIL         STALNAKER               CO          90002217396
27655894A93731   RACHEL        THOMPSON                OH          90006328940
2765628399155B   JOSE          SOTELO                  NM          90014632839
2765628684B261   LORENZO       LASON                   NE          90007062868
2765634849136B   BRANDIE       PHINNEY                 KS          29002673484
27656443A9189B   JACOB         HYMER                   OK          21089014430
2765668634B588   DIANGELO      ANDERSON                OK          21577966863
27657639672B29   JOSH          OTRADIOVER              CO          90004506396
2765767625B161   TABITHA       MERRITT                 AR          90013546762
2765832554B588   TOMAS         OLGUIN                  OK          90006563255
2765837479794B   ISIDRO        RODARTE                 TX          90000763747
2765872114B281   RICARDO       DOMINGUEZ               NE          27035487211
27658736172B42   MARK          DEGEORGE                CO          90000427361
2765881869189B   ANGEL         BARROWS                 OK          21082068186
2765886257B449   QUENYA        PETTIS                  NC          90009618625
2765925442B27B   DEBORAH       THOMAS                  DC          90004322544
2765981A957157   LAREINA       MARSHALL                VA          90003718109
2765B2A122B27B   JYNELL        PAIGE                   DC          90009752012
2765B2A2655957   ANDREW        MARTINEZ                CA          90014182026
2765B328585822   MARIA         AVILA                   CA          46050163285
2765B79A891592   CASTANON      DAVID                   TX          90012427908
2766122895715B   DAVID         AGUILAR                 VA          81019112289
2766125329155B   ANTONIO       MESTA                   TX          90012012532
2766217A37B449   ALONZO        LAWRENCE                NC          90014791703
276626A8372B88   KURT          MORRIS                  CO          90006346083
2766271A35B161   KARYETTA      BROWN                   AR          90010557103
27662984372B29   DARIUS        MONTGOMERY              CO          90012699843
2766315A955935   ARMANDO       OROZCO                  CA          90008261509
2766368199155B   IMMANUEL      SALAS                   TX          75006736819
2766375629155B   CHRISTIAN     SALAS                   TX          90005617562
27663A9915592B   DALIA         GARCIA                  CA          90011140991
276641A2491828   EDIL          CHICAS                  OK          21011871024
27664329672B29   ROSA          LOPEZ                   CO          90002343296
2766517319189B   MICHAEL       VILLEGAS                OK          21077321731
27665397472B88   EILEEN        MOONEY                  CO          33052643974
27665959A91241   ASHLEY N      LAWTON                  GA          90015089590
27666149A9155B   DANIEL        GALLARDO                TX          75080981490
2766852819155B   DIANA         FLORES                  TX          90004915281
27669A12981638   MARIA         PINO-DOMINGUEZ          MO          90012320129
2766B85A951338   JULIA         ROHS                    OH          90006678509
2766B936741245   TIMOTHY       MEEHAN                  PA          51036959367
2766BAAA55B161   PLEAS         GRAY                    AR          23094520005
2767115569794B   LULI          GUTIERREZ               TX          90004721556
27671187872B88   CHEYNA        SANDERS                 CO          90014881878
2767129787B471   AMARI         GIBSON                  NC          90010642978
2767153955B571   LIA           PEDERSEN                NM          90009545395
27671568672B42   GERARDO       VILLAR                  CO          33072695686
2767193749184B   CINDY         HERDER                  OK          21013859374
2767194A49155B   GRISELDA      ZAMORA                  TX          90013009404
276727AA255957   JUAN          VALDEZ                  CA          90007597002
2767332684B521   ALESHA        DAVIS                   OK          21556773268
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276743A995B271   MARCELLA     DUNCAN                   KY          90007093099
27675891272B29   HOPE         SMITH                    CO          90014168912
2767623657B449   DEANGELO     BAKER                    NC          90014792365
2767625422B27B   FREDI        SOLIS                    DC          90014802542
27676912A91592   ERIKA        ROMERO                   TX          90010729120
27676A9557B471   ABDULE       MEADERS                  NC          90012000955
27676AA4485822   MARTIZA      GASTELUM                 CA          90010030044
2767722455B177   SHERRY       BROWN                    AR          90003262245
27678A47291828   CALVIN       ROUSE                    OK          90009450472
276792A635B271   ALI          HASSAN ARFAH             KY          90002722063
27679459A7B449   ZENA         GOINGS                   NC          90014654590
2767951939155B   SONIA        RIOS                     TX          75015235193
2767983459184B   CONNIE       EVANS                    OK          90011068345
2767B49624B588   JESSICA      NICHOLE                  OK          90008784962
2768191A22B27B   TYRONE       SMITH                    DC          90013969102
2768196A791383   TANISHA      KEYS                     KS          90008659607
27682877A3364B   DAVID        JAMISON                  NC          90011678770
27683256A7B449   KATINA       DAVIS                    NC          90014792560
2768359834B281   ALEXANDRIA   WILLIAMS                 NE          90000255983
27683663A85822   SAUL         TENDERO                  CA          90014456630
2768367A481637   JIM          STARK                    MO          29049966704
27683AA2487B69   BOBBY        DRANDRIGE                AR          90008060024
2768425422B27B   FREDI        SOLIS                    DC          90014802542
276847A4376B69   SEVERIANA    SERAFIN                  CA          46005507043
2768544119136B   ASHLI        FLETCHER                 KS          90002264411
2768567A991828   KEVIN        CROSS                    OK          90013266709
2768577A791592   OSCAR        LOPEZ                    TX          90012167707
2768591A781661   JONES        NICOLES                  MO          90013539107
276861A389189B   BRUCE        YATES                    OK          90014811038
276863A489155B   MANUELA      VARELA                   TX          90008003048
2768671A49136B   KEITH        BRENTLINGER              KS          90014347104
27686A4169184B   ANABELL      CONDE                    OK          90014740416
2768711545B271   SHAWN        RADFORD                  KY          90014001154
27687254672B88   CONTRA       HERNANDEZ                CO          90010342546
2768791694B588   CYNTHIA      STEPHENS                 OK          90013409169
27687A61387B69   CHIENNA      DORROUGH                 AR          90010020613
2768825385B271   CANDICE      BURBRIDGE                KY          68076802538
27689159A5B271   JOSE         ESPINOSA                 KY          90008801590
2768921365B571   DESIREE      PURLEY                   NM          35063442136
27689487872B88   ROSE MARY    ENRICO                   CO          90009944878
2768B1A5991241   ERIN         BRUTCHER                 GA          90005161059
2768B79AA81661   EDWIN        BELGRAVE                 MO          90008917900
2768B894893731   JENNIFER     GRANGER                  OH          90006328948
2769194159136B   KENNETH      MOORE                    KS          29034449415
27692777772B88   HOLLIE       GELLINGER                CO          90011117777
27692779772B88   LEONID       KRUGLIK                  CO          90000447797
2769343632B27B   GERALD       ALLEN                    DC          90008564363
2769343A991241   ALEXANDRIA   GREGORY                  GA          90015114309
2769438325B571   MARGARITA    MARTINEZ TREVINO         NM          90001303832
2769475A52B27B   KERRY        DAVIS                    DC          90003267505
27695519A72B29   MIGUEL       ONTIVEROS                CO          33074575190
27695661A93731   TISHE        NELSON                   OH          90010216610
27695687A93731   HOLLIE       BLYTHE                   OH          90014606870
2769598935B161   JUANITA      BURKS                    AR          90010559893
2769633429155B   FLOR         OLIVAS                   TX          90014633342
27696998372B42   JOHN         SANTISTEVAN              CO          33061069983
2769699A29189B   KENNEDY      SMITH                    OK          90015179902
27697121A5B271   RENESHA      BROOKS                   KY          90014001210
27697149A81638   CARMESHA     CRAIG                    MO          90014841490
27697AA4291933   ANN          CLOSS                    NC          90002380042
2769829489184B   ERIN         LIERLY                   OK          21030952948
2769829A67B449   GABRIELLE    KINGE                    NC          90014792906
2769887765B271   SANDRA       CASTRO                   KY          90014738776
2769B59739189B   CELIA        MALDONADO                OK          90013535973
2769B84284B281   TISHA        POINTER                  NE          90008588428
2769B852455957   CRISTAL      MARTINEZ                 CA          90014518524
276B131119184B   FELEISHIA    MCKINZIE                 OK          90014713111
276B1342176B69   SNOW         ROBERT                   CA          90007043421
276B1863591828   JOSH         ULREY                    OK          90007668635
276B244377B449   TARA         WHITE                    NC          90009994437
276B2493172B29   VIOLETA      CENICEROS                CO          90011834931
276B258729136B   JENNIFER     LAYNE                    KS          90011185872
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276B2683355957   CHRISTINA        GARCIA               CA          90015076833
276B2697191356   WHITNEY          BUNTING              KS          90012606971
276B2A84681638   ANTHONY          ZICARELLI            MO          90014650846
276B4816691927   BRUCE            STRICKLAND           NC          17036728166
276B483499184B   MATTHEW          SCHMIDT              OK          21027268349
276B5183891592   PAOLA            QUINONEZ             TX          75070011838
276B632A772B42   KRISTI           MORRISON             CO          33085133207
276B6563672B29   JOLENE           MARTINEZ             CO          90014155636
276B666497B449   CLAUDIA          LEIVA                NC          11077756649
276B683159136B   RONALD           NORRIS               KS          29081798315
276B7467872B88   FARRELL          HOLLINGSWORTH        CO          90002814678
276B762724B261   KRISTI           HADDEN               IA          27026756272
276B781185B571   VINCENT          PALMERI              NM          35014668118
276B8569A5B271   TIFFANY          POWERS               KY          68039945690
276B936A591592   JAYSON           CONROY               TX          90001433605
276B966339794B   JUAN             GONZALES             TX          74088616633
276B982545B571   JANEYA           GARVISO              NM          90002918254
276B9A34391592   ANA              LOPEZ                TX          90014390343
276B9A3659189B   CASEY            DAWN                 OK          90011180365
276B9A6A88B176   CLAUDIA          PINOLA               UT          90013780608
276BB926691356   MIRANDA          OLEY                 KS          90012359266
276BB9A3281638   VIRGINA          ORTIZ                MO          90004539032
2771226849184B   MARIA            PEREZ                OK          90009892684
2771228715B161   ROBERTA          COLLINS              AR          90008862871
2771298967B449   VANN             POY                  NC          90012379896
277129A1472B29   ALLISANDRE       ELENA                CO          90014169014
2771329455B271   AMY              ELLIS                KY          90013392945
2771365339184B   JEWELLS          PARMELL              OK          90015546533
27713794A5B161   TIMOTHY          MIXON                AR          23015967940
27713835172B42   ROBERT           BACA                 CO          33050158351
27713A97872B88   PRISCILLA        TRUJILLO             CO          90013940978
2771522A293731   DOUGLAS          ENGLE                OH          90010222202
2771578A272B88   TERESA           SAVALA               CO          33064807802
277158A855B271   MELISSA          WHITLOW              KY          68038768085
27715A2885715B   LUIS ALEJANDRO   RIVERA               VA          90005820288
2771615272B27B   PHILLIP          FORD                 VA          90013231527
2771692169189B   VALARI           MCCONNELL            OK          21078169216
27716A43872B88   TRAVIS           FINAZZO              CO          90014860438
27716A98372B88   AOCHI            APUNGU               CO          90013940983
2771717917B373   BRANDON          BARBER               VA          81017041791
2771733447B449   RONY             RONY                 NC          90007973344
2771747717B471   HOMERO           BENITEZ              NC          11035004771
2771775A247952   WALETHA          BELL                 AR          24041307502
2771828573B333   OLIVER           KUKLENSKI            CO          90013022857
27718971972B29   BRANDON          COUTLAKIS            CO          90011799719
27718A32272B88   MIRIAM           PEREZ                CO          33060120322
27719A8324B588   MIYA             BROWN                OK          90013570832
2771B31577B449   DEIOR            SHIPP                NC          90014793157
2771B3A389155B   PATRCIA          REYES                TX          90014633038
2771B915172B29   NOE              JIMENEZ              CO          33010999151
277212A499136B   JESSICA          VAZQUEZ              KS          90011282049
2772131984B281   CODY             DARGES               NE          90011273198
2772132217B449   FREDDIE          BROWNLEE             NC          90014793221
2772175734B588   JOSEPH           HARDEMAN             OK          90008027573
277225AA572B29   ADOLFO           MAZIAZ               CO          90005155005
2772353389184B   MIRANDA          LEAK                 OK          90002295338
27723A82185822   BARBARA          DURAZO               CA          90011180821
27724739A9189B   SONYA            PECK                 OK          90009707390
2772475A891356   JOSE FRANCISCO   MORA CALVO           KS          90015157508
2772527825B571   DARCY            BULAND-DEVALLEJOS    NM          90013492782
2772529614B261   YAMDAARE         YAMEOGO              NE          27088912961
277258A479184B   JENNIFER         LANNING              OK          90001288047
277261AA676B69   YENY             PALACIOS             CA          90007091006
2772635379155B   ALLY             COLUNGA              TX          90011693537
27726372672B88   ISABEL           VALAZQUEZ            CO          33036823726
2772657415B271   TREVOR           MORTON               KY          90010645741
2772665A455931   BEATIRCE         CORDOVA              CA          90012606504
27727249372B29   ELENA            BELTRAN-MEDINA       CO          90008472493
2772733222B27B   KELLY            ODEMNS               DC          90014803322
2772772779155B   JOSE             ANDRADE              TX          75001727277
2772934867B449   NERISSA          WILLIAMS             NC          90014793486
27729721472B42   KATHLEEN         WELTY                CO          90009927214
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2772B17134B281   MAURICIO     ANAYA                    NE          90010521713
2772B3A6491828   MAGALI       CONDE                    OK          21077573064
2772B79545B36B   LUIS         GONZALEZ                 OR          90005797954
2772B945755957   SERENA       DIASO                    CA          90012779457
2772BA4444B261   ALFREDO      NAVARRO ROBLES           NE          90011350444
2773114855B271   GREG         BRYANT                   KY          90002881485
27731191372B29   V ALARIE     STEGALL                  CO          90015121913
27731555572B25   AMAIDA       TRUJILLO                 CO          33003615555
27731878A31453   TAMMY        FLIEGER                  MO          27515258780
27731946A91828   SHAWN        OLIVER                   OK          90010429460
27731A75561935   MICHAEL      PULIDO                   CA          90004130755
277322A3672B42   MARIBEL      RODRIGUEZ                CO          90010942036
2773233222B27B   KELLY        ODEMNS                   DC          90014803322
2773245265B271   KEITH        SAVAGE                   KY          90015504526
2773332A64B261   CHERYL       PIEMONTESE               NE          90014153206
2773336777B449   ROSA         MORRIS                   NC          90014793677
2773483624B588   ELISEO       GOMEZ                    OK          90012988362
2773483664B521   LYNDON       HAWKINS                  OK          90013488366
2773537537B449   LETASIA      LEWIS                    NC          90014793753
27735A1679184B   ALLAN        CANTRELL                 OK          90012110167
277367A5191528   JUANA        SALAS                    TX          90003287051
277369A4A72B29   DANIEL       VERAZ                    CO          90014169040
2773782A19155B   DIEGO        HERNANDEZ                TX          90013058201
2773848579136B   TAMIE        BUCKLER                  KS          29007534857
2773848599184B   JASHON       FUSHON                   OK          90013784859
27738499172B88   THAI ROBBY   XIONG                    CO          90015024991
2773916557B471   JO ANNA      HAYES                    NC          90007581655
2773B144A81661   YAHNA        REID                     MO          90015441440
2773B35A97B449   DAYSI        SALMERON                 NC          90014793509
2773B914755957   RCHARD       EDWARDS                  CA          90012149147
27741683572B42   NICHOLAS     DAVIS                    CO          90013796835
27742384A7B449   YARI         ALEMAN                   NC          90014793840
2774238A293731   WILLIAM      TINCHER                  OH          90000283802
2774249287B328   JOSE         LOPEZ                    VA          81013584928
2774269754B588   MARY         ERVIN                    OK          90005276975
2774284319155B   SAMUEL       BARRERA                  TX          90014638431
27743761572B42   MIREYA       SANCHES                  CO          90010667615
27743836A72B73   ALISHA       KISNER                   CO          90001658360
2774391AA72B29   SHERRI       LANDRUM                  CO          90014169100
2774439647B449   DANIA        LAGOS                    NC          90014793964
27744836A72B73   ALISHA       KISNER                   CO          90001658360
2774488924B261   ASHLEY       WHEELER                  NE          90006798892
2774527662B27B   URSULA       DAVIS                    DC          90013232766
2774533222B27B   KELLY        ODEMNS                   DC          90014803322
2774558879189B   ANGELA       HALL-OTIS                OK          90013775887
277458A6772B42   CHARLES      SHANKS                   CO          90012918067
2774628242B27B   MALIK        SHELTON                  DC          90013232824
27746662A91356   RONALD       CARRUTHERS               KS          90013536620
27747322976B4B   DORA         FLORES                   CA          90011963229
27748384A7B449   YARI         ALEMAN                   NC          90014793840
2774B37777B449   ROSA         VILLAFANA                NC          90014793777
2774B939191241   ARNITRA      STILES                   GA          14590359391
2775182399189B   SHANTEL      DIXON                    OK          90009708239
2775271189155B   MARIA        BANDA                    TX          90001287118
2775295217B449   NATINHA      HOLLOMAN                 NC          11084639521
27753193A31631   LOREN        HERMRECK                 KS          22061701930
2775369945B276   HAROLD       LAWSON                   KY          90012046994
2775378367B449   LISA         REID                     NC          11008427836
27753855872B88   JULIE        REYES                    CO          90004498558
2775425195B271   T            SLOAN                    KY          90013512519
2775444A291592   OSCAR        HERRERA                  TX          90013084402
277547A4A91241   SHAMONICA    MAXWELL                  GA          90005127040
27754949172B88   BIANCA       ANEMA                    CO          90012349491
27757188372B88   RICK         ORTIZ                    CO          33095071883
2775729215B161   MARIO        GOMEZ                    AR          23004862921
2775731869155B   EFREN        MAESE                    TX          90014633186
2775737A472B42   MARLAND      RUSH                     CO          90013093704
27757A81791356   MEGAN N      CLEMENT                  KS          90010950817
2775826A32B27B   DIANE        DAVIS                    DC          81016372603
2775833439155B   JOSE         RAMOS                    TX          90013773343
2775869945B571   APRIL        MONTANO                  NM          90007486994
27758A3547B471   JUNIOR       ZUNIGA                   NC          11028580354
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2775924132B27B   EDGARDO        GUERRERO               DC          90010782413
2775968624B261   DARNELL        WEBB                   NE          90014836862
2775B36619189B   ERICA          MAGEE                  OK          21019283661
2775B94A672B88   CAROLINA       BORJAS                 CO          33072139406
2775B955193731   NICOLE         PERRY                  OH          64505569551
2775B97437B471   VICOR          MANUEL                 NC          90011059743
27761336672B29   ROSA           BRAVO                  CO          33091453366
27761A4169184B   ANABELL        CONDE                  OK          90014740416
2776221A54B588   KAILEE         LAWRENCE               OK          90007562105
2776329115B271   VANESSA        ELLIS                  KY          68039932911
2776349915B271   VANESSA        ELLIS                  KY          90012324991
27763794A76B69   JOSE ARMANDO   HERNANDEZ ROJAS        CA          90007117940
277642A6A9136B   OLIVIA         ZAMBRANO               KS          29037252060
2776466A441245   PAULINE        SHIELDS                PA          51026546604
27764A6A291241   FRANKIE        WILSON                 GA          90014030602
2776518189155B   JENNIFER       DOMINGUEZ              TX          90011321818
2776572194B588   BENTON         MECCAULEY              OK          90006217219
2776627469189B   CHRISTY        HUTCHCRAST             OK          21011392746
277673A5972B88   PAUL RICARDO   CASTORENA VILLA        CO          90008393059
2776765937B422   SHELDON        DAVIS                  NC          11015196593
2776787A972B42   JOHN           MITCHELL               CO          90003018709
27767A31885822   MICHAEL        MENGLE                 CA          90010700318
2776849A681638   SAM            PARK                   MO          90009704906
2776942AA7B449   NICOLE         WHITWORTH              NC          90014794200
2776B46A74B588   KENA           JONES                  OK          90004814607
2776B78699189B   ANGEA          GIBSON                 OK          90008097869
2777166A185938   CODY           MATHIS                 KY          67088046601
277723A432B27B   RENEE          JONES                  DC          90014803043
27772479272B42   BENITO         ALVARADO               CO          33064314792
2777293114B261   ROBERT         JONES                  NE          90010339311
27772A5539189B   METRIA         SMITH                  OK          90011180553
2777349625137B   DENISE         HOPSTER                OH          90010914962
27773789272B88   MARLYN         SIFUENTES              CO          90011117892
2777399289189B   MARGARET       AVILA                  OK          90006309928
27773A9A591592   JAIME          JARAMILLO              TX          90012950905
27774A8979155B   JOEY           HERNANDEZ              TX          75010840897
2777552544B261   TRACI          LEWIS                  NE          27010625254
27775668572B42   YESENIA        PACHECO                CO          90011436685
2777642AA7B449   NICOLE         WHITWORTH              NC          90014794200
2777654229136B   NELSON         RECINOS                KS          90012485422
277769A179189B   HELEN          WAKEFIELD              OK          21003779017
2777741974B588   ROBERT         CARR                   OK          90013824197
27777497254B84   XIOMARA        GARCIA                 VA          90005724972
2777943A87B449   CINDY          CALDERON               NC          90014794308
2777944879189B   OSIE           MCQUARTERS             OK          21018984487
2777B298372B42   HEIDI          DURAN                  CO          33044702983
2777B32129155B   PERLA          TORRES                 TX          90014633212
2777B37284B521   REDA           BOYER                  OK          21552683728
2777B42AA7B449   NICOLE         WHITWORTH              NC          90014794200
2778161982B27B   REJENE         FIELDS                 DC          90007366198
2778245934B521   FRANCISCO      GUERRA                 OK          21563794593
2778314164B261   JERMAINE       HARRIS                 NE          27033931416
2778336777B449   ROSA           MORRIS                 NC          90014793677
2778488797B449   ODONALD        YOUNG JR               NC          11072348879
2778513213B35B   CHRISTIAN      BALL                   CO          39087131321
2778534292B27B   ANTONIO        TAYLOR                 DC          90013233429
2778538984B521   CASSANDRA      MASSEY                 OK          90014713898
27785916772B29   APOLINAR       OROSCO ALCARAZ         CO          90014169167
27785A6779184B   ASHLEY         RUEHLE                 OK          90013810677
27786543472B88   KIDST          KITAW                  CO          90013165434
2778661585B161   ERIK N         GREEN                  AR          23079936158
2778661623B35B   STEVE          MORALES                CO          90008696162
27787857572B29   DULCE          GARCIA                 CO          90014178575
2778789749136B   LEISLIET       MARQUEZ-VICENTE        KS          90013748974
2778812989184B   SANDRA         ALCANTAR               OK          90009901298
2778885354123B   MEGHAN         HENDERSON              PA          90005878535
2778B224791356   RHONDA         JONES                  KS          90013932247
2778B33222B27B   KELLY          ODEMNS                 DC          90014803322
2778B37892B249   DARLENE        HUNTER                 DC          90001423789
2778B4A415715B   JUAN           OLIVERA                VA          90004754041
27791A2464B261   DEBBIE         SPENCER                IA          27082850246
2779248827B449   LILIAN         ORTIZ                  NC          90014794882
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2779291714B261   NITA              COTTON              NE          27015179171
2779316475B571   DIAS              MIGUEL              NM          90004521647
2779319A191592   YESENIA           PEREZ               NM          75016791901
2779332129155B   PERLA             TORRES              TX          90014633212
2779348219155B   CHARYTIN          BALTAZAR            TX          90011694821
277934A699189B   CHRISTOPHE        SMITH               OK          21002034069
2779377147B471   SYLETHIA          MOBLEY              NC          90013867714
27794194A91528   JOELLIE           VALENCIA            TX          90004031940
277942A3991592   CRYSTAL           VILLA               TX          90013122039
27794457572B88   KARI              WELSH               CO          90005164575
2779477542B27B   DERRICK           MOBLEY              DC          81017097754
2779547567B449   MARIO             LAGOS               NC          90002824756
27796266372B29   VIRGINIA          CHI                 CO          33027652663
2779728465B571   RICHARD           CARPENTER           NM          35092472846
277972A329189B   CHAMIKKA          SLOAN               OK          90010482032
27797845276B69   JOSE LUIS         RAMIREZ             CA          90007128452
27797A1389136B   DANA              SMITH               KS          90014980138
2779859959136B   CONNIE            NICHOLS             KS          29078075995
2779895837B449   DAMARIS           AYALA               NC          90014809583
2779928269155B   JAVIER            CONTRERAS           TX          75037902826
2779943135B271   HUBERT            WALKER              KY          90002884313
27799518372B88   MARIA             LOPEZ               CO          90014745183
2779978912B27B   MELVIN            CAMPOS              DC          81098667891
27799A9119136B   MAGALY            SOLIS               KS          29035080911
27799A9955715B   JUANITA MARIANN   WILLIAMS            VA          90004010995
2779B277931453   SHANNA            ROWAN               MO          27515262779
2779B489941245   SHEBRINA          HILL                PA          51042504899
2779B496891828   JANEY             DORR                OK          90009654968
277B1224755957   JODYNE            TRIPLETTE           CA          90008722247
277B123722B27B   DONALD            JONES               DC          90002512372
277B233825715B   YURI              BERENICE RAMOS      VA          90014383382
277B2487A91541   ELECTRICAL        HIGH PRO            TX          75035074870
277B421729184B   CHRISTOPHER       AGUIRRE JR          OK          90012912172
277B4455172B35   SCOTT             JENSON              CO          90009914551
277B522A291356   ISMAEL            MARTINEZ            KS          90014692202
277B616789189B   BRANDON           HAYNES              OK          90003051678
277B6972672B88   EARL              PALMER              CO          90006809726
277B71A7757157   RENE              MARROQUIN           VA          90003461077
277B732727B471   SONYA             SMITH               NC          90009903272
277B774379136B   ELBER MENAHEN     CASTANDEA SAMAYOA   KS          90013637437
277B783119184B   NAOMI             MORRIS              OK          90010948311
277B826642B27B   MIKE              GREEN               DC          90014802664
277B8916A91592   MARIA             ORDAZ               TX          90014779160
277B896A472B88   TASHA             SHAW                CO          90012139604
277B9341357157   TANIA             SALGADO             VA          90006493413
277B9351872B29   ANNE              PIERCE              CO          33070283518
277B95A2A72B88   LACEY             PATRICK             CO          90001815020
277B9681691828   JOYCE             RUPERT              OK          90010386816
277B9789855957   SARA              MEZA                CA          90014027898
277BB26A172B88   ELIUD             HERNANDEZ           CO          33062422601
277BB274531631   VON               ENSEGIN             KS          90013862745
277BB38779189B   JAMES             EDGAR               OK          21096013877
277BB525985822   ERICA             LEE                 CA          46009635259
277BB6A1A81648   SHENOWA           ROBINSON            MO          90010186010
277BB833A72B29   RICARDO           CARRILLO            CO          90011838330
2781136777B449   ROSA              MORRIS              NC          90014793677
27811541872B42   ALONSO            MEDINA              CO          90002175418
2781154519184B   MATTTHEW          MULLINS             OK          90012405451
2781176282B229   WOODROW           GIVENS              DC          90011447628
2781233935B139   YOLONDA           WINSTON             AR          90013323393
2781257144B281   EARLENA           HUDSON              NE          27095765714
27814714A72B29   RONNIE            GUTIERREZ           CO          90013087140
2781538A555977   JESUS             RODRIGUEZ           CA          90005173805
2781555927B471   MAURICE           EDWARDS             NC          90011335592
2781598AA91525   LOURDES           MERAZ               TX          90009399800
2781766A681661   RENADA            LOPEZ               MO          90007816606
27817A9379136B   ASHLEY            FRANKLIN            KS          29082660937
27818156372B42   DARNELL           ANDRUS              CO          90007791563
2781825A281638   NOE               MONDRAGON           MO          29083832502
2781853537B449   JOSE              LEON                NC          90014795353
2781866459136B   ANASTASIA         LOCKE               MO          29030656645
27818AA5A55957   MANUEL            VANHOFWEGEN         CA          48028930050
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2781B198272B88   TIM          PICKETT                  CO          90006781982
2781B38A172B29   FERNANDO     VICTORIO-SARMIENTO       CO          33038193801
2781B433A72B42   ALVARO       ARROYO LOPEZ             CO          90008934330
2781B654691828   KEISHA       DAVIS                    OK          21033316546
2781B719684364   CATHLEEN     DOCHERTY                 SC          90013157196
2781BA2495B271   FONEISHA     HENRY                    KY          90000930249
27821638972B88   TANDRA       LEWIS                    CO          90008266389
2782245A25B271   REBECCA      HOGAN                    KY          90011954502
27822531176B52   MANUEL       LIRA                     CA          90013905311
2782269169184B   JERRI        LAWRENCE                 OK          21003506916
278238A855B271   MELISSA      WHITLOW                  KY          68038768085
2782431423144B   LEATRICE     SHAW                     MO          27514683142
2782497139189B   SERGIO       SOTO                     OK          21089379713
2782498455B271   OLIVE        NYIRAMABAN               KY          90014949845
27824A17672B88   GARCIA       REGINA                   CO          90010950176
2782631619155B   REYMUNDO     DURAN                    TX          90015083161
27826A19385B32   MARCOS       PEREZ-D                  FL          90015470193
2782713599184B   RAYMOND      DAVALOS                  OK          90012041359
27827A68172B29   DALIA        CHAVEZ                   CO          33014720681
27827A7367B449   AMBER        RIDGELL                  NC          90013700736
27828353A71925   VANESSA      LOPEZ                    CO          90004873530
2782836777B449   ROSA         MORRIS                   NC          90014793677
2782893344B553   SHIMITRIA    MILLER                   OK          90012659334
2782B193172B88   KALI         RODGERS                  CO          33032491931
2782B278993731   KYLE         WIEDENHEFT               OH          64575442789
2782B868791B44   PAYGO        IVR ACTIVATION           NC          90015288687
2782B8A2A91356   LUKE         KOVACH                   KS          29039528020
2783148A176B69   SHERRY       DEFRANSISCO              CA          90012724801
278321A4172B42   ANTHONY      STANO JR                 CO          33054131041
27832A4884B588   JAIME        SANDERS                  OK          21551580488
2783311A491592   JOSE         LOPEZ                    TX          90013211104
27833333A55957   KYLE         APPLEGATE                CA          90014393330
27833383572B29   CARELYN      ADAMS                    CO          90008403835
2783374799193B   CHRISTIE     HERDING                  NC          90001287479
27834435A7B449   NICOLE       FULLER                   NC          11080314350
2783474799193B   CHRISTIE     HERDING                  NC          90001287479
27834A67881548   KAREN        PRIGGE                    IL         90014250678
2783536A385822   WALTER       HASLOP                   CA          90012793603
278353A899155B   ALEJANDRA    GOMEZ                    TX          90005133089
2783559A993731   ALTON        HERRON                   OH          90011205909
278355A115B161   PRISCILLA    HENSON                   AR          23004325011
27835641A4B581   KATREECE     LAMOUR                   OK          90012606410
27836191A81637   PAPER        DRAPER                   MO          90003971910
2783636779155B   DARLENE      LARA                     TX          90014633677
2783657297B449   TIFFANY      OLIVER                   NC          90014795729
27837417772B42   MARGARETTA   FNU                      CO          33091474177
27839737A51338   PAMELA       AUSMAN                   OH          90011977370
27839A6175B271   SUSAN        MCARTHUR                 KY          90015110617
2783B57297B449   TIFFANY      OLIVER                   NC          90014795729
2783B578A5715B   CARLOS       MERLOS                   VA          90005565780
2783B593124B46   JOSE         ROJAS                    VA          81061535931
2783B6A4391241   COLIN        KERRIGAN                 SC          90015306043
27841674376B69   DENNIS       PIERCE                   CA          90011806743
2784236132B27B   DRADORANCE   BLACKMON                 DC          90014803613
2784238225B271   HOLLY        DEAN                     KY          68022203822
2784352144B281   DENNIS       DIEMER                   NE          27029455214
278441A112B27B   KAHLID       MAFTON                   VA          90015021011
2784433A25B571   RAMON        VALENZUELA               NM          35087883302
2784437814B588   DESMON       FRAZIER                  OK          90013013781
27844955A85822   APRIL        SANCHEZ                  CA          90011109550
2784499515B161   MERCEDES     FENNELL                  AR          90010569951
27844A79A72B42   GERARDO      DE LA RIVA MARTINEZ      CO          90010690790
27844AAA181638   AUSTIN       MOYER                    MO          90014230001
2784662969189B   ALTISHA      BOYD                     OK          90011416296
27846636A4B261   TASHA        ALLEN                    NE          90011706360
27846A5235B271   WOODS        LUCILE                   KY          90000710523
2784746A84B261   PAULA        MARQUEZ                  NE          90002224608
2784771A35B571   AURORA       CANO                     NM          90005397103
2784852879155B   MARIANA      HERNANDEZ                TX          75015665287
278486A837B449   APRIL        BARBER                   NC          90014796083
2784B34912B856   MELISSA      CARVER                   ID          42051463491
2784B578591592   WILFREDO     FEBRES                   TX          75010995785
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2784B5AA99136B   JESUS       GONZALEZ                  KS          90015215009
2784B85A84B261   CECILO      AGUILERA                  NE          90012038508
2785115925B271   VERONICA    STANTON                   KY          90009481592
2785241A39794B   GABRIEL     COLLAZO                   TX          74046214103
27852A15A31453   SHARON      BILBARY                   MO          27502420150
27852A97972B88   MARIE       MARTINEZ                  CO          90014850979
27853276172B29   DARCEL      PINKSTON                  CO          90000102761
27854124972B88   ON 1        DYNASTY ENT.              CO          33021741249
2785461892B27B   VERNON      L HUNT                    DC          90005226189
2785469474B588   CALEB       GUIDRY                    OK          90003586947
27855138672B42   JENNIFER    REYNOLDS                  CO          90014381386
2785589724B588   AMY         LOYD                      OK          90011338972
2785646594B531   JOE         COMET                     OK          21551154659
278564A1951369   LAURA       RESETARITS                OH          90007474019
27856957972B29   MANUEL      TORRES                    CO          90014169579
27856A27A85822   MARTIN      BARANDA                   CA          46038670270
27856AA545B161   DAVID       WEATHERLY                 AR          90004330054
2785743655B257   LATASHA     CLYBURN                   KY          90011824365
27857516A9189B   JENNIFER    NORMAN                    OK          21096985160
27857987176B69   MARIA G.    DIAZ                      CA          90007169871
27858741172B42   ARELY       GONZALEZ                  CO          90014687411
27858A6849155B   PAULA       CARREJO                   TX          90009560684
27859126572B88   DANIEL      RUBIO                     CO          90013941265
2785941247B471   TICOBE      DUPONT                    NC          11059294124
27859634872B42   CHARLOTTE   OLIVAS                    CO          33043796348
2785B53284B281   MELISA      RICHTIG                   NE          90006425328
2785B95574B531   KAREN       MELTON                    OK          90012589557
2786139449184B   MAYRA       LUNA                      OK          90012423944
2786146759189B   AMANDA      GARCIA                    OK          90015204675
27861593A47952   JANICE      NOLAN                     AR          24009045930
27861751A9184B   MICHEAL     MORGAN                    OK          90015137510
2786231714B261   ANGELA      GARZA                     NE          27067753171
2786248965B271   NIKKI       GORE                      KY          90006554896
2786314227B471   APRIL       EASON                     NC          90006781422
2786354965B571   RAYMOND     SERNA                     NM          35096905496
27863667A81638   KEVIN       HELWIG                    MO          90014416670
2786376617B449   MICHELLE    FALLIE                    NC          90014797661
2786386494B588   AMBER       RINGWALD                  OK          21502438649
2786396A272B29   MANUEL      ZARATE                    CO          90014169602
27864876A81638   TRICIA      VANDRUFF                  MO          29026968760
27864AA9272B29   HILDA       ESRTRELLA                 CO          90011840092
27865118A55957   MAGDALENA   QUINTERO                  CA          90009791180
2786519267195B   ISABEL      RENZ                      CO          90008311926
2786534434B588   KATIE       WISE                      OK          90001373443
2786538119189B   GLENN       STEWART                   OK          21057033811
2786566869155B   BARBARA     AMARO                     TX          75075606686
2786654215B271   STACIE      CRAVEN                    KY          68062525421
2786665735B571   MARIA       WELCH                     NM          35088366573
27866A11A72B29   KEYANTY     HSU                       CO          90011840110
27867356A9184B   LESLIE      HICKS                     OK          21099713560
278673A8572467   CASSANDRA   ALEXANDER                 PA          90015343085
2786788445B271   DANIEL      TUBERVILLE                KY          90015158844
2786795659189B   JAMI        CARTER                    OK          90009449565
27867A35391356   RENE        SANTIAGO PEREZ            KS          29015480353
2786816135B161   ANGLE       STANLEY                   AR          23086861613
2786834259196B   THIERNO     DIALLO                    NC          90005293425
27868616172B42   MARTHA      ROBITZ                    CO          90012826161
2786891614B588   MELISSA     LEHENBAUER                OK          21545429161
27868A97981661   LATONYA     TATUM                     MO          29040710979
2786B1A745B161   KOKI        CROUCH                    AR          90010571074
2786B2A5841245   DONE        WILLIAMS                  PA          90005642058
2786B379A2B27B   DEWAYNE     ADDISON                   DC          90014803790
2787138215B571   IRMA        ACEVES                    NM          35014693821
2787216972B27B   BRADFORD    HOLMES                    DC          81005651697
2787223429136B   FRANK       IBRAHIMOVICH              KS          90011572342
2787242924B28B   MELAKU      TASSEW                    NE          90011904292
2787349A785822   PONTIUS     MALMBERG                  CA          90013984907
27874129872B88   MATTHEW     KELLY                     CO          90013941298
2787438942B27B   LATONYA     EDMONDS                   DC          90014803894
2787476AA4B281   SHANTE      ROBY                      NE          90008617600
27875A45191528   ALEJANDRO   MONTELONGO                TX          90003290451
2787667A455931   ZAIDA       MERAZ                     CA          90005826704
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27876A73491356   ALEXA       ROJAS                     KS          90013060734
27877316A91356   PETER       HAMAM                     KS          90012613160
27877822972B42   MARISELA    TRUJILLO                  CO          33004668229
2787786379189B   AKICHA      SMITH                     OK          90014048637
2787858412B839   SORIN       GHIMBASANU                ID          42047115841
2787865699155B   PATRICIA    MEDINA                    TX          90011696569
2787926439155B   MARISSA     ORTIZ                     TX          75001912643
2787935489184B   ERNEST      TAYLOR                    OK          90011403548
27879646472B42   DANIEL      GRAHAM                    CO          90013036464
27879A89891592   ARAIZA      KIANI                     TX          75096560898
2787B2A2A91547   JIMMY       MORRIS                    TX          90011352020
2787B38112B27B   MARCO       THOMAS                    DC          90014803811
2787B42754B281   TERRY       SHORT                     NE          27035344275
2787B65349155B   ELVIA       DELGADO                   TX          90011696534
2787B777772B88   HOLLIE      GELLINGER                 CO          90011117777
2787B967757157   MONTREZ     GREER                     VA          90002919677
2788142A45B271   BARRY       MCALLISTER                KY          68083654204
2788181964B588   ARIEL       PIERCE                    OK          90011408196
2788269467B334   JOSE        RAMOS                     VA          81035506946
27883A98457157   KIMBERLYN   PERKINS                   VA          90002920984
2788424147B471   GREGORY     SMITH                     NC          11003062414
2788457769189B   ALYSCIA     WINNETT                   OK          90012705776
27884758872B88   VIOLA       ESCALANTE                 CO          90013057588
27884A8A54B521   MINDY       RODRICK                   OK          90003680805
27884AA8991592   CRISTAL     LOPEZ                     TX          90013450089
2788549414B261   JOSE        MORALES                   NE          90014664941
27885A69A5B571   MAE         JACKSON                   NM          35075570690
2788697385B271   SAMANTHA    BENNETT                   KY          68076829738
27886A68581637   JOHN        MATHEWS                   MO          29054550685
27887136672B88   MICHELLE    AVALOS                    CO          90013941366
2788722119155B   JANETTE     RAMOS                     TX          90012032211
2788741A52B27B   LENARD      JONES                     DC          90014804105
27887962672B29   MICHEAL     BLAKNEY                   CO          90014169626
27888339172B88   MARTHA      GUERRERO                  CO          33089883391
2788911834B261   TRACEY      MARSHALL                  NE          27030441183
2788B11A531631   CHRISTAL    YOUNG-WELCH               KS          22040751105
2788B49A751346   MARIA       BARNES                    OH          90008674907
2788B547491828   TONYA       GREGORY                   OK          21071615474
2788B6A6191356   DOMINIC     DAVIS                     MO          90012766061
27891359172B88   JUANITA     WARD                      CO          90014903591
278916A8272B88   RODOLFO     RUIZ                      CO          90000446082
2789183945B271   STEPHANIE   FORD                      KY          90009598394
2789237994B581   FELICIA     IRWIN                     OK          21554713799
2789264575B271   LARRY       BOOTH                     KY          90014876457
2789269A84B588   BILL        DAUGHERTY                 OK          90007446908
27892925672B88   CARLOS      RIOS                      CO          90007919256
27893162172B88   FRANK       DERRERA                   CO          33043241621
27893934A33648   ALICIA      ARMSTRONG                 NC          90004699340
278941A1933654   JOLENDA     PINNIX                    NC          90011021019
2789431245B571   JOEL        CASARRUBIAS-GOMEZ         NM          90009693124
2789451845B271   KAREN       MEDDLES                   KY          68015815184
278954A5A84566   JOSEPH      PANNET                    NY          90015394050
2789636A29155B   OSCAR       GAYTAN                    TX          75015543602
2789638459184B   TANEKA      HUMPHREY-JOHNSON          OK          90009013845
27896392872B29   NICOLE      MONRAGON                  CO          90014763928
2789693133B38B   JOHN        BLANCHARD                 CO          90012319313
278975A5781661   TERESA      SHEDD                     MO          29011115057
27898282572B88   ASHLEY      FRIZZELL                  CO          90014062825
2789997184B588   ICIDRO      BANDA                     OK          90015309718
27899AA937B449   MARTIN      HERNANDEZ                 NC          90003210093
2789B3A625B271   ELIZABETH   DURAN                     KY          90009223062
2789B436331631   RONALD      ACKLIM                    KS          22097454363
2789B642772B29   CLAUDIA     MONCADA GARCIA            CO          33053476427
2789B915A4B261   CARLOS      CORRAL                    NE          90008209150
278B18A839155B   ANA         CARRILLO                  TX          90000778083
278B192A472B42   JOSH        SANDOVAL                  CO          90015299204
278B2488772B42   ADAN        TORRES                    CO          33090574887
278B2933372B29   WILLIAM     LOHMAN                    CO          90011839333
278B2A7A67B666   TEROONIA    EVERETT                   GA          90010870706
278B2A88A4B281   RODERICK    FLOTT                     NE          27086470880
278B3379731277   EDWARD      LAND                       IL         90015373797
278B35A1855957   SUZETTE     MODDY                     CA          90004775018
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278B3653276B69   MARIA       ROJAS                     CA          90010726532
278B3789272B88   MARLYN      SIFUENTES                 CO          90011117892
278B397842B27B   BYRON       FULLER                    DC          81006299784
278B3A62181638   CHIRS       HARRIS                    MO          29044070621
278B4279A9189B   TRACY       NEWTON                    OK          90011472790
278B447424B588   JENNIFER    RENTFRO                   OK          90011164742
278B448382B27B   GILDA       GONZALEZ                  DC          81086564838
278B45A1A9155B   CHARYTIN    BALTAZAR                  TX          90011695010
278B5344A81638   TIFFANY     GREER                     MO          29020343440
278B5457131453   DELBERT     REEVES                    MO          27578294571
278B5724972B42   MARIA       ARMENDARIZ                CO          33094127249
278B582839136B   ERENDIRA    ROJAS                     MO          29054918283
278B6112731631   DONTE       MCGILL                    KS          90007451127
278B622729155B   ZAMORA      NUBIA                     TX          75013552272
278B6235755957   CRYSTAL     QUAIR                     CA          90012872357
278B6432591528   MICHAEL     KNIGHT                    TX          90008114325
278B663117B471   RENEE       RAYNOR                    NC          11078966311
278B7117672B88   RICARDO     SILVA                     CO          90013941176
278B7344491592   MALINDA     GREEN                     TX          90006083444
278B74A8931488   VIVIAN      COLLINS                   MO          90007174089
278B7669493731   SHATARA     CONNER                    OH          90014616694
278B769144B588   BONNIE      BEAVER                    OK          90014316914
278B7911A85822   AZADEH      KHAMOOSHI                 CA          90012099110
278B7934491356   ABEL        HERNANDEZ                 KS          29041999344
278B7936351369   SHAWN       MCLUCAS                   OH          66008579363
278B7AA7284364   LASHANDA    ABRAHAM                   SC          19089390072
278B8287781638   CHRIS       BLACK                     MO          90014712877
278B879599184B   KARLEY      MCGILL                    OK          90014577959
278B891359184B   ORLANDO     GONZALEZ                  OK          90008619135
278B93A6791828   MIRANDA     EMSLEY                    OK          90014583067
278BB138591833   WILLIE      HILL                      OK          21009071385
278BB46875B195   JAMES       URSERY                    AR          90012144687
278BB529881661   DEETTA      LASSITER                  MO          90015305298
2791134A985888   KEVIN       DUNN                      CA          46090903409
2791139939155B   JULIETA     GONZALEZ                  TX          90014633993
27911766172B88   MARIA       CHACON                    CO          33046097661
279121AA697B67   HERMINDA    HERNANDEZ                 CO          90007841006
279124A854B588   SAMUEL      RECINOS                   OK          90001244085
27912818A9184B   LEMUEL      WHITESIDE                 OK          21028908180
279128AA241245   JOSEPH      MUBANGA                   PA          90002708002
27913132772B88   ESTELA      IBARRA                    CO          33002171327
2791348175B571   RAYMOND     SOTO                      NM          35010184817
2791361452B27B   JAIME       SANCHEZ                   DC          81001286145
27913858A9155B   ROSALINDA   SOTO                      TX          90014638580
2791466445B271   LYNDSAY     BARNES                    KY          90002726644
2791562A193731   RONALD      BOYD                      OH          90014856201
279158A712B934   JUAN        PANTEJA                   CA          90012938071
27915A5159189B   ERICA       WALKER                    OK          90009720515
27916975672B29   BENITO      CARRILLO                  CO          90014169756
27916A2964B588   SIMONE      KNIGHT                    OK          90012510296
2791757517B358   AARON       MCLAUGHLIN                VA          81002555751
2791823759198B   ESPERANCE   LUNGENI                   NC          90000662375
279184AA54B566   SHAWN       CLEMENTI                  OK          90014714005
279189AA572B29   JAVIER      RODRIGUEZ                 CO          33092529005
27919239272B42   RICARDO     VANENZUELA                CO          90014092392
2791937879155B   VICTOR      SALAZAR                   TX          90012793787
2791951A172B29   EDDY        MORENO                    CO          33096065101
2791966429136B   JESUS       GONZALEZ                  KS          90011576642
2791979329155B   MARY        GONZALES                  TX          90010357932
27919A77131631   WESLEY      SUTTE                     KS          90013730771
27919AA975B271   ALNOLDO     MICHEL                    KY          90013930097
2791B177191356   ALEJANDRO   MACIAS-AYALA              KS          90015101771
2791B65144B564   MERVIN      NICHOLS                   OK          90011706514
2791B75AA81638   ABIGAIL     MARQUEZ                   MO          90014077500
2792113587B276   RICHARD     STARCHER                  CO          40596961358
2792125759184B   VERA        LECLAIR                   OK          90013072575
279212A225B271   JACOB       SZARAZ                    KY          90012702022
2792137259189B   STEPHEN     ROGERS                    OK          90003933725
2792156119155B   JOSE        TERRAZAS                  TX          75055465611
2792213A89136B   CORY        SLAUGHTER                 KS          90013631308
27922394A72B29   GISSEL      VENZOR                    CO          90004753940
2792397139184B   SERGIO      SOTO                      OK          21089379713
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279239A2881638   VIRGINIA     MELENDEZ                 MO          90014139028
27923A12591528   MIGUEL       RODRIGUEZ                TX          75094290125
2792416625715B   JEFF         HIGGINS                  VA          90000381662
27924217772B88   SHATERICA    SADE TRYELS              CO          90013942177
279246A1185822   LULU         ALFARO                   CA          90007296011
279246A4172B29   JOHN         KOLIOPOULOS              CO          33012186041
279248A1855931   CECILIA      IBARRA                   CA          49030178018
2792575719136B   RACHEL       GRIFFITH                 KS          29065557571
2792623187B449   WILLIAM      WHITLOW                  NC          90011462318
27926282A5B271   PERNELL      JOHNSON                  KY          90005002820
2792644637B471   CHARDRAE     ODEM AND CAROL STEELE    NC          90012394463
2792743545B571   VALERIA      LUEVANO                  NM          90001304354
2792777145B271   LUNGU        KAPITA                   KY          68076837714
27927A58793731   NOE          ALAS                     OH          90014010587
2792838A34B281   LAQUEDA      MOORE                    NE          90008833803
279285A7772B29   LOURDES      MORALES                  CO          90000435077
2792871A19184B   CLAUDIA      RUBI                     OK          21043277101
27928993A91356   JEFF         CRITES                   KS          90004729930
27928A1555B271   REBECCA      FRITH                    KY          68025140155
2792922759155B   CARLOS       MARTINEZ                 TX          90001312275
2792924124B261   LEON         WORTMAN                  NE          90015032412
2792B479872B29   HILARY       HINDS                    CO          90011594798
2793228839198B   EARL         LEE                      NC          90003752883
2793289729155B   ALONDRA      MURRILLO                 TX          75096958972
2793311239155B   MIRIAM       CARBAJAL                 TX          75002151123
27934563A91592   GEORGINA     HERNANDEZ                TX          90010935630
2793459895B571   BERNIECE     CHAVEZ                   NM          90000845989
279346A2551369   MARGAUX      ROBERT                   OH          66026296025
2793476459184B   RACHELLE     MONTGOMERY               OK          21062777645
2793491922B394   BRUCE        LOCKWOOD                 CT          90014429192
2793574219189B   ELIZABETH    JOYCE                    OK          90012187421
27935899A72B88   RYAN         ONEAL                    CO          90014698990
27936239372B29   NICOLE       WIDDLE                   CO          33011032393
2793642164B281   MAKIA        TERRELL                  NE          27093034216
2793724519189B   SONYA        MCCANN                   OK          21080142451
2793774889136B   PABLO        HENANDOZ                 KS          90009067488
2793775679155B   LUIS         SAUCEDO                  TX          90008757567
27937A58A91528   RAYMUNDA     SILVER                   TX          75040610580
27937A91A81637   GLENDA       GUINA                    MO          90006760910
27938416A9155B   SUSANA       ARAUJO                   NM          90014634160
2793861A931631   VERNON       JENNINGS                 KS          90010206109
27938734572B29   J            JONES                    CO          90012397345
2793885584B281   JACOB        HICKS                    NE          90001308558
2793941699189B   IVAN         HONEYCUTT                OK          90014844169
279394A8481652   CHRISTINA    CLEVENGER                MO          90007624084
2793961345B271   CHARISSE     KING                     KY          90010646134
2793992367B449   RONALD       BARNES                   NC          90014799236
27939A52476B4B   ELEAAZAR     LOPEZ MORALEZ            CA          90012280524
2793B182785822   THOMAS       RYAN                     CA          90013111827
2793B923A91592   JOSE         PINERO                   TX          90015239230
2794128299155B   DERICK       CAMACHO                  TX          90003202829
27941584376B69   EDUARDO      SOTO                     CA          46057145843
2794181327B449   CAMILLA      ERVIN                    NC          90010358132
27941A53491828   JENNIFER     SNYDER                   OK          90010740534
2794228A29189B   ARLINDA      DOCTORMAN                OK          90012592802
2794269774B261   CAROL        DENNY                    NE          27045686977
27942885172B29   PAIGE        FRANKLIN                 CO          33082118851
2794292367B449   RONALD       BARNES                   NC          90014799236
27942AA4355957   DOUGLAS      SMITH                    CA          90002020043
2794327322B27B   ANTOINETTE   KIRKPATRICK              DC          90015052732
2794332634B588   CLEMENTE     AKUFO                    OK          90007833263
27943416A9155B   SUSANA       ARAUJO                   NM          90014634160
2794371899794B   JUNA         GARCIA                   TX          90002537189
279437A834B521   MICHAEL      LEONARD                  OK          90011017083
2794454654B281   JOHN         HENDERSON                NE          90011275465
2794486A472B88   MARY         REDDY                    CO          33012388604
2794535A857124   SANDRA       FIGUEROA                 DC          90004603508
27945A4225B271   AUSTIN       DUFF                     KY          90013490422
27946922A9136B   YAHAIRA      PEREZ                    KS          90013899220
279473A7872B29   JEFFERSON    MEDINA                   CO          90015243078
279476A2831492   LAQUITA      EGGLESTON                MO          90010066028
2794898554B588   SHAWNTE      DAVIDSON                 OK          90014859855
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27948A14481638   AMELIA       MAPLES                   MO          90014600144
27948A3389189B   GENOVEA      SOSA                     OK          21013600338
2794959729136B   DEMETRIUS    SMITH                    KS          90014835972
27949781A4B261   TINA         MAROW                    NE          90006057810
2794B956277584   RICHARD      TIMMERMAN                NV          90001239562
27951478972B29   MIRIAM       SOLANO                   CO          90009944789
27951831A93731   NATTIE       BOWERMAN                 OH          64557608310
27952312A91828   CUAHUTEMOC   DURAN                    OK          21007243120
27952358A72B42   ANAIS        SALCIDO                  CO          90009583580
2795292367B449   RONALD       BARNES                   NC          90014799236
27952A27193731   EDDE         STIDHAM                  OH          90012180271
279532A2A76B69   MARIA        CISNEROS                 CA          46013592020
27955148772B42   BERRIOS      JESSICA                  CO          90008441487
2795521AA4B281   SHARON       ENNIS                    NE          27078892100
27955463972B88   BRYENNA      GONZALES                 CO          90014784639
2795577719189B   KENDRA       ARTHUR                   OK          21062107771
27956288A91241   ELMER        MENJIVER                 GA          90000172880
279564A515715B   FRANCES      JENKINS                  VA          90006614051
27956551A4B261   KENNETH      CLAYTON                  IA          27079455510
27956A1155B271   IZAIH        MASK                     KY          90013930115
27956A86291828   BAILEY       ROBINSON                 OK          90015290862
27957352A9189B   CATALINA     GOMEZ                    OK          90014853520
2795785735B271   BARBARA      COOK                     KY          90012668573
2795794287B449   JAMEEL       ANTHONY                  NC          90014799428
27958455572B29   MIREYA       QUEZADA                  CO          90012754555
27958A63193731   JOHN         ELLISON                  OH          64534050631
2795947A191241   VICTOR       GALVAIN                  GA          14585044701
2795972764B588   JOSEPH       LOPEZ                    OK          90002557276
2795985622B27B   DADITU       MOSISSA                  DC          90001838562
279599A4472B88   JAIME        YBARRA                   CO          90014689044
27959A1679184B   ALLAN        CANTRELL                 OK          90012110167
27959A87841272   DANIEL       BELL                     PA          90012460878
2795B193376B69   DONGKYUN     YU                       CA          90011831933
2795B1A569189B   GUSTAVO      SALAZAR                  OK          90014371056
2795B459A91356   KOURTNEY     JACKSON                  KS          29016264590
2795B69414B588   BRENDA       GUZMAN                   OK          90010286941
2795B92A39189B   GUSTAVO      SALAZAR                  OK          90014549203
27961123A72B88   CHRISTOPHE   FREEMAN                  CO          90000251230
27961486976B69   ANTONIO      GARCIA                   CA          90011834869
27961966A71936   BENJAMIN     PHILLIPS                 CO          90009329660
27961A2A831631   KEVIN        FLEURY                   KS          90014500208
2796266424B588   KRISHLA      DYE                      OK          90005536642
2796272695B271   SUSAN        BRILEY                   KY          90007877269
2796292679184B   JUSTIN       DAVIS                    OK          21043089267
2796351169189B   MICHAEL      STEWARD                  OK          90012835116
27964642372B86   MICHAEL      PARRIS                   CO          90000836423
2796516475B571   DIAS         MIGUEL                   NM          90004521647
279653A454B588   CAROLYN      PARKER                   OK          90015093045
2796593A87B471   NANCY        DIAZ                     SC          90001889308
27965A8539189B   KATIOYA      TURNER                   OK          90009730853
2796736285B271   NASECAH      MCTIER                   KY          90002943628
2796857A65B161   SHERRY       HENLEY                   AR          23000905706
2796898259155B   JOSE         ESQUIVEL                 TX          90014829825
27968997A4B281   EDWARD       BREITENSTEIN             IA          27003949970
27968A87655957   JOSE         SOLORIO                  CA          90005800876
2796915A172B88   DENNIS       WILLIAMS                 CO          90013941501
279693A5576B53   NORBERTO     MARTINEZ                 CA          90002163055
2796B741751338   LINDA        HARRISON                 OH          66016787417
27971859A91592   GLORIA       ARENAS                   TX          90013218590
2797215869184B   RAMONA       DRYWATER                 OK          90014991586
27972166A81638   MICHAEL      WHITEBEAR                MO          29041071660
279723A9893731   KENNETH      THOMPSON                 OH          64505653098
27972717A5B571   ROSALINDA    DELGADO                  NM          35062837170
2797472859189B   DMARCO       ADAMS                    OK          90011967285
27974984372B29   YADIRA       IBARRA                   CO          90014169843
2797546A54B281   TRACIE       WARD                     NE          90012704605
27976964A55957   STEVE        LUNA                     CA          90014779640
27976A6188433B   REGINALD     WILKES                   SC          90006010618
27977A7445B271   MICHAEL      STALLINGS                KY          90012290744
27978A74781637   WRETHA       MADRIGAL                 MO          90005520747
27978A9324B261   ELIZABETH    JUDEVINE                 NE          90012700932
2797959625137B   ANDRE        BUSH                     OH          90007665962
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2797B5A712B27B   MICHELLE    COLLINS                   DC          90014805071
2797B981791592   ARTHUR      CRAWFORD                  TX          90009739817
2797BA24685B21   LATORISHA   ALLEN                     FL          90015410246
2797BA8A64B592   MIQUEL      GOMEZ                     OK          90011740806
2798172749189B   PABLO       GONSALEZ                  OK          21007267274
2798178399184B   MICHAEL     DETAR                     OK          90015217839
279823A517B449   VONNETTA    HART                      NC          11093653051
2798267A741245   JADA        CARABOLLO                 PA          51010656707
27982A4A691534   CLAUDIA     GARCIA                    TX          90010770406
27982A5664B281   KHORI       MCFADDEN                  NE          27074460566
2798329949184B   RONNELL     GARDNER                   OK          90014872994
279834A649136B   ANDREA      RANDLE                    KS          90014714064
27983625844B62   STEVE       LANESE                    OH          90014156258
2798421155B271   SASHA       BEATTY                    KY          90014982115
27984326376B69   MARIA       RICARDEZ                  CA          90007243263
2798444255B376   HERMAN      HAWKINS                   OR          90002314425
27984AA9172B29   EDUARDO     ESCOTO MONCIVAIS          CO          33021120091
2798515A191528   NORMA       VILLANUEVA                TX          90005861501
2798516587B449   JESSIE      HOUSTON                   NC          90011111658
2798587552B27B   EDUARDO     GOMEZ                     DC          90002628755
2798593614B521   BRENDA      DENISON                   OK          21524729361
2798628739794B   LAKIESHA    MINOR                     TX          90002622873
2798695514B281   MARIA       HARO                      NE          90006229551
27986A98331433   MICHEAL     FLETCHER                  MO          27510320983
2798736A291528   BERNABE     GONZALEZ                  TX          75055853602
2798762A78B15B   JOSE        GONZALEZ                  UT          31024086207
2798778389155B   CORINA      MENDOZA                   TX          90011697838
2798779949189B   SCOTT       MARINER                   OK          90014537994
2798866769184B   PATRICIA    RAMIREZ                   OK          90014376676
2798884195B271   JORGE       HERNANDEZ                 KY          90014548419
27989727A9136B   ANGEL       DIXON                     KS          90014117270
2798985784B588   ANIBAL      AVILA                     OK          21534028578
27989A79372B29   PABLO       REYES-SANTILLO            CO          90013140793
27989AA6641245   WILLIAM     RUMP                      PA          51087750066
2798B2A1672B29   SANTIAGO    JUAREZ                    CO          33087232016
2798B84284B588   LAUREN      BUSKIRK                   OK          90014398428
2798B843191828   BRITTANY    ALSTON                    OK          90011968431
27991156672B88   GABRIELLA   DIPENTINO                 CO          90013941566
27991211372B86   ANDREIA     DOS SANTOS NAZARIO        CO          90012732113
2799122554B588   LATOSHIA    HUETT                     OK          90012642255
2799124239184B   SAM         HUNTER                    OK          90008072423
279913A1631453   MICHAEL     HARRIS                    MO          90007113016
27993727A72B42   JASON       FUENTES                   CO          33028367270
2799397339136B   JOSE        ZUNIGA                    KS          90013029733
27993A33581638   WILLIAM     SIMMONS                   MO          90006510335
2799412929189B   SHEM        PETERS                    OK          21001301292
2799492525B255   BLAINE      KNOOP                     KY          90008979252
2799494A891241   ESQUIPULA   GOMEZ HERNANDEZ           GA          90014539408
27995137772B88   GREGORIO    SANTAY AJANEL             CO          90000251377
2799596A381661   ANGELA      MITCHELL                  MO          90011529603
27995A89577338   JUAN        ALVOR                     IL          90015490895
2799641295B271   ADAM        TAPPER                    KY          68017434129
2799649124B261   CINDY       JOHNSON                   NE          90003864912
2799667A49184B   JACOB       DURANT                    OK          90011086704
2799743A985822   STEVE       LAI                       CA          90012244309
2799843555B271   ALLYSHA     MILLER                    KY          90012784355
279985A7891828   WILDER      LOPEZ                     OK          21001985078
2799881659189B   MELISSA     MARTINEZ                  OK          90006808165
27998869972B88   MACIEL      SAUCEDO                   CO          33013108699
2799964A291828   ILONA       HUGHES                    OK          90002126402
2799B647191828   GRISELDA    LEYVA                     OK          90013906471
279B1AAA29189B   JAMES       PRESTRIDGE                OK          90003190002
279B224774B261   SAMUEL      BLANCO                    NE          90010012477
279B354225B271   WENDY       WALLACE                   KY          90012745422
279B3757872B88   SHERRY      MARTINEZ                  CO          90010377578
279B514A572B88   GABRIELA    RIVAS- DELGAGO            CO          90013941405
279B5687131631   CECILIA     FRIDAY                    KS          22083966871
279B56A2491828   SHENA       HAYES                     OK          90013986024
279B5724A91833   ANADALE     KAHRIMAN                  OK          90005297240
279B5945672B42   NANCY       MARTINEZ                  CO          33067549456
279B621A285822   CHAREE      JAMESON                   CA          90001032102
279B6227293731   TOMMIE      TINCHER                   OH          64510722272
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279B628242B27B   JACQULINE    PETWAY                   DC          90013242824
279B628A891828   VILMA        AMBROSIO                 OK          90013072808
279B631994B521   BRANDON      KETCHUM                  OK          21509473199
279B6328981661   CHARLES      MACKEY                   MO          29082393289
279B648899155B   JOSIE B      WADE                     TX          75015544889
279B6712A5B271   SHELIA       WEBSTER                  KY          90013187120
279B7487572B88   JEREMY       IREY                     CO          90013424875
279B761679184B   MARIAH       SCRAPER                  OK          21079776167
279B8114633646   LOMARK       BARREN                   NC          90009401146
279B818569189B   ASHLEY       HOPWOOD                  OK          90014681856
279B8392A85822   ALEX         SANCHEZ                  CA          90003393920
279B9A24741245   SAMUEL       BROWN                    PA          51051590247
279BB531531473   MARC         WELCH                    MO          90002395315
279BB664671923   DANIEL       DAVIDSON                 CO          90005226646
279BB685871221   DAVID        FUENTES                  IA          90014696858
27B118A9A72B29   VINCENT      VARGAS                   CO          33090738090
27B12436591833   FOWLER       DENESHA                  OK          90002464365
27B12818A5B271   JASON        ROCKEFELLER              KY          90015198180
27B1358195715B   HECTOR       ROMERO                   VA          90000235819
27B1369283B174   MARIA        CHILIGUAY                VA          81045626928
27B1372699184B   SARAH        FRANKLIN                 OK          21027317269
27B137A395B271   STEPHANIE    ROSE                     KY          90012247039
27B13992585822   AFSAN        HAMZEHPOOR               CA          90010469925
27B13A62581661   CARLA        JACKSON                  MO          90015030625
27B13A95555923   CLEMENCIA    CORTEZ                   CA          90013910955
27B143A9857157   JAMAL        LACY                     VA          90012923098
27B1527472B27B   TODD         SCHIFFMAN                DC          90013522747
27B15322991979   ANGEL        ALFARO                   NC          17067023229
27B15324755957   KELSIE       VILLASENOR               CA          90015143247
27B1532755B271   CHRISTOPHE   JONES                    KY          68094623275
27B1546A69136B   THOMAS       GIESLER                  KS          90011444606
27B1644179189B   HEATHER      HENSBERGER               OK          21039834417
27B1672374B281   ANDREW       JANOS                    NE          27028507237
27B16963157B85   SHEENA       KLECHA                   PA          90011029631
27B17582285822   JASON        LEE                      CA          46073025822
27B17828891833   FREDRICK     REESE                    OK          90002778288
27B17984357B85   DANNY        KLECHA                   PA          90011029843
27B17A7A291828   DEBRA        BAHE                     OK          90014740702
27B18836A72B42   MICHELLE     BANECKS                  CO          90013598360
27B18947772B88   ANA          MARTINDEL CAMPO          CO          90001299477
27B18948172B29   YARIDZHA     MENDEZ                   CO          90011829481
27B18A58A85822   MYRA         PUNAY                    CA          90013040580
27B19248691828   JANELLE      WHITE                    OK          21088162486
27B19425831631   DON          KIRK                     KS          90013434258
27B19594172B42   MERIS        ALDANA                   CO          90002225941
27B19A5534B261   NIOKA        BRAGGS                   NE          27081980553
27B1B199A9189B   CHELA        PEDROZO                  OK          90012101990
27B1B52785B271   JEANNE       DELEON                   KY          68074635278
27B1B652693731   SHERYL       MANN                     OH          64547366526
27B1B71A291528   DALIA        RONQUILLO                TX          90005827102
27B2158782B27B   DAISY        THORNE                   DC          90014785878
27B21635185822   AIOTEST1     DONOTTOUCH               CA          90015116351
27B21654391241   ALFREDO      CARBALLO-ROMERO          GA          90015126543
27B21668372B29   JUAN         VILLALOBOS               CO          33010796683
27B21692391592   JOSE LUIS    BAILON                   TX          90001586923
27B228A514B261   JANET        MAPES                    NE          27090648051
27B2295A99189B   LIZBETH      MOGUEL                   OK          21035629509
27B22A1479155B   YOLANDA      OROZCO                   NM          75042760147
27B22A92355957   JOSE         GARCIA                   CA          90012050923
27B23621785822   HERNAN       BARRETO                  CA          90011516217
27B24329A91592   KARLA        OLIVAS                   TX          75005003290
27B246A9491356   ANAYELI      SEREAVIO                 KS          90010766094
27B2476597B449   KENNITH      HURR                     NC          90011517659
27B2482644B281   DWAINE       GOINGS                   NE          90009438264
27B24855947952   JENNIFER     HALL                     AR          24069518559
27B2486732B229   TIA          LEWIS                    DC          90005748673
27B24AA3255923   GERMAN       MENDOZA                  CA          90014820032
27B25159257157   SARDAR       ALI                      VA          81083721592
27B25689155957   T            BELLA-MENDOZA            CA          48000216891
27B2596AA2B27B   DAIQUON      STEPHENS                 DC          90014789600
27B25A72991356   NEDJO        SUSLJIK                  KS          90006050729
27B26352857157   MARIO        HERNANDEZ                VA          90004893528
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27B26582572B42   STEVEN            PEDERSEN            CO          33096555825
27B27225281638   SHANNON           NOVAK               MO          29020132252
27B27259555957   UBER              SOTO                CA          90010042595
27B273A1993731   STEVE             BARTON              OH          90014963019
27B2753939155B   VICTOR            GARAY               TX          90012955393
27B2755389189B   PHYLLIS           STOKELY             OK          21003745538
27B2775149184B   LATRICIA          WRIGHT              OK          90005117514
27B27851291592   MARIA             HERNANDEZ           TX          90009098512
27B28614285822   BENJAMIN          DUNN                CA          90011756142
27B2862819184B   MAN               CING                OK          90010706281
27B28667831631   GRISELDA          SAENZ               KS          90006746678
27B28937657128   OSVALDO           BORDA               VA          81053439376
27B2967315B271   JOESPH            THOMPSON            KY          90013686731
27B2998424B281   MEIA              WINDHAM             NE          90012189842
27B29A4339155B   LINDA             ARELLANO            TX          75046280433
27B29A66A9184B   MARGARITA         RILLA               OK          21061030660
27B2B538655957   ARACELI           JIMENEZ             CA          90004195386
27B2B629531433   JACQUETEEN        PETERSON            MO          27592706295
27B2B87644B261   TRISHA            DOWNEY              NE          90011348764
27B3125319155B   CHRISTOPHE        GARCIA              TX          75050772531
27B3145789189B   MARTIN            MCOLLUM             OK          90014614578
27B31711572B42   ROBERTA           QUINTANA            CO          90013467115
27B3221557B484   PANCHO            RODRIGUEZ           NC          90004232155
27B3296999136B   BRIANNE           HUBBART             MO          90010329699
27B3323A89189B   VASQUEZ           SERIO               OK          90000102308
27B3335A691592   PAMELA            DOMINGUEZ           TX          90013863506
27B3364494B588   ELEUTERIA         VENEGAS             OK          90010966449
27B33A7AA72B42   SONJA             RUTHERFORD          CO          33017290700
27B3429827B449   MERCEDES          FRANCO              NC          90014742982
27B3433194B588   DAJANEAA          CRAINE              OK          90013673319
27B34421572B42   VANCE             WALKER              CO          90010824215
27B34428293731   JASON             WHALEY              OH          90013124282
27B34737772B88   OSCAR             HERNANDEZ           CO          33059437377
27B34A73185822   YOVAN             GUTIEREZ            CA          46098690731
27B34A91991828   LEEANN            DAY                 OK          90014600919
27B3538514B281   MICHAEL           WOODS               IA          90010513851
27B3545235B271   SHERION           MACKLIN             KY          90012034523
27B35753285822   LEONILO           CASTILLO            CA          90014477532
27B3592474B588   DONNA             JOHNSON             OK          90011889247
27B362A8141245   PHYLLIA           TOBIAS              PA          51086532081
27B37139A51369   SIMPSON           BONNER              OH          90007211390
27B37262261992   KARL              BURCH               CA          90004242622
27B3746244B553   VERONICA          GONZALEZ            OK          90012784624
27B37774A93731   ROBINSON          LAVONNE             OH          90003707740
27B3822777B449   JOSE              RAMOS               NC          90009282277
27B38484272B42   DELMAR            MARTINEZ            CO          90012584842
27B3866A791592   DAMIEN            MCKENNA             TX          90010946607
27B3882239189B   SANDRA            PATTON              OK          21063198223
27B38A9285B571   JAVIER            RUIZ                NM          35007690928
27B3918A691356   ESAU              AVARENGA            KS          29080371806
27B39764961963   MONICA            GERBELLA            CA          90014217649
27B39A67A91592   ELIZABETH         RIVAS               TX          90011040670
27B3B263281637   MARISIA           MURILLO             MO          90008622632
27B3B42AA31453   LESHELL           FAIR                MO          90004934200
27B3B8A8872B88   JOHN              JACKSON             CO          33021008088
27B41143285822   SUSANA C          NARANJO             CA          90009111432
27B41A8A781638   TIFFANY           TYLER               MO          90012710807
27B42475291592   FRNKIE            LERMA               NM          90012154752
27B42546A76B69   PAUL              BELSON              CA          90006665460
27B4288184B588   TERRY             WALLER              OK          90014778818
27B42925672B42   JUAN              HIDALGO             CO          90014639256
27B43165341245   ALICIA            PURTER              PA          90007461653
27B4351327B425   JAQUELL AINJULL   BECKWITH            NC          90006975132
27B44187691592   JAMES             BROWN               TX          90009621876
27B44457A5B161   COUNTIS           BURL                AR          23063904570
27B44922881638   SULEYMA           ARAGON LEIVA        MO          90011989228
27B45179A72B42   JACOBI            TURNER              CO          90013511790
27B4531455B161   YVONNA            ALEXANDER           AR          90010873145
27B45999391592   JAZMIN            VEGA                TX          75061619993
27B45A99A81638   ALIYA             LOGAN               MO          90013320990
27B46667772B29   DANIEL            TEODORO             CO          90014166677
27B4679A755957   STEPHANIE         LOZANO              CA          90006907907
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27B46835191356   CHERYL       MEANS                    KS          29006408351
27B47184472B42   CARLOS       CARBAJAL                 CO          90003861844
27B47237931631   SHELIA       LAPLANTE                 KS          90002422379
27B47321A91356   MARIO        SOTO                     KS          29070903210
27B47588191241   ALLLISON     TUTEN                    GA          14532845881
27B4764774B588   SARAH        CLAUNCH                  OK          90014356477
27B47722491828   JHONASTIN    REYNOLDS                 OK          90013887224
27B48196491241   ARTURO       HERRERA                  GA          90013451964
27B48754A91979   CARLOS       SANCHEZ                  NC          90010737540
27B48937891356   JOSE LOPEZ   GARCIA                   KS          29080819378
27B493A147B449   ROCHELLE     POOLE                    NC          90014743014
27B4966589136B   BRIAN        HOOVER                   KS          29095106658
27B49722491828   JHONASTIN    REYNOLDS                 OK          90013887224
27B49A5AA31631   LAUREN       JANZEN                   KS          22005850500
27B49A79755957   FABIEN       LEDEZMA                  CA          90011550797
27B4B12592B27B   TIRU         BITUL                    DC          90010861259
27B4B14625B161   JANNEL       PARKER                   AR          23073891462
27B4B528A9184B   AMBER        ASHTON                   OK          21009435280
27B4B65754B582   LONSZETTA    BAIDEN                   OK          90011386575
27B4B91879155B   JESUS        RAMOS                    TX          90009279187
27B5154667B471   CARLOS       PAREDES                  NC          11014515466
27B52286381648   PATTY        PHILLIPS                 MO          29070032863
27B52916276B69   CAROLINA     VARGAS                   CA          90007459162
27B5315A49189B   MARISOL      DELGADO                  OK          90008711504
27B53396181638   KEITH        TOLBERT                  MO          90003253961
27B53654191241   CHERINA      RIVERA                   GA          90012996541
27B53666572B29   MARIA        RODRIGUEZ                CO          90004916665
27B5371A824B43   ROLLINS      BEY                      DC          90011137108
27B53A16455957   LORENA       SILVA                    CA          90001270164
27B53A45191356   AMY          CRUTCHFIELD              KS          90013860451
27B53A55672B29   PATRICIA     ROSA                     CO          90004470556
27B5447A491528   HERNANDEZ    JOSEPH                   TX          90001274704
27B5485617B449   SHAWN        CONNELL                  NC          90000318561
27B55399172B29   ROLANDO      VARGAS                   CO          33097003991
27B5542759136B   CHARLES      COTE                     KS          90010954275
27B5568219184B   CLIFFORD     WEBSTER                  OK          21083436821
27B55A42255957   CHRISTINE    WHITACRE                 CA          90001270422
27B561AA94B588   DAVID        GRISSOM                  OK          90010401009
27B5676219155B   MARIA DEL    MORALES                  TX          90000777621
27B56818591356   STACEY       COSTON                   KS          90004668185
27B5797788B137   COZETTE      SORENSEN                 UT          31024709778
27B57A11491241   NATASHA      COLLINS                  GA          90015150114
27B57AA4291592   NORMA        CASTILLO                 TX          90013930042
27B5875764B592   CLAUDIA      BRAVO                    OK          90011177576
27B5921164B261   WENDY        BESSE                    NE          90015202116
27B59422291833   KYISHA       LENTZ                    OK          90009544222
27B59771672B29   ISAAC        HERRERA                  CO          90012677716
27B5B712861992   JASON        HALLIBURTON              CA          90013267128
27B5B755472B88   HONORIO      MELCHOR                  CO          33071167554
27B6124935B271   DANIELLE     SMITH                    KY          90012912493
27B613AAA4B521   GWENNETTA    TURNER                   OK          90002833000
27B6175935B271   YUSIEL       LEYVA PINA               KY          90011177593
27B61836672B29   JUANA        MEDINA                   CO          90014178366
27B6197A39184B   LIAN         THANG LAM                OK          90014569703
27B6218289794B   TIFFANY      WASHINGTON               TX          74055371828
27B62781991356   LATASHA      WILSON                   KS          90011337819
27B63216455931   KENNETH      ATRAT                    CA          90005192164
27B63314291592   JACQUELINE   HOWARD                   TX          90014543142
27B6334115715B   MARIA        DEL CARMEN MARTINEZ      VA          81089553411
27B6339819136B   YADIRA       REYES                    KS          90011853981
27B63673272B29   ANDRES       LOPEZ                    CO          90014166732
27B6378949184B   ALBERTA      WATSON                   OK          21038007894
27B6444689155B   THOMAS       GREGORY                  TX          90011674468
27B64668485938   WILLIAM      SEXTON                   KY          90009666684
27B646A7A55957   GUSTAVO      RAMIREZ                  CA          90012296070
27B64812776B67   JAMES        BAYER                    CA          90000548127
27B65223591528   RAMON        ESPINOZA                 TX          90007152235
27B6541A791828   MICHAEL      MAXWELL                  OK          90007664107
27B65447391356   CODY         FOSSETT                  KS          90014894473
27B66484991241   DENNAYSHA    ROPER                    GA          90014484849
27B66A7495715B   CLAUDIA      OROSCO                   VA          90000240749
27B66A98691356   AMADOR       JUAREZ                   KS          29073820986
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27B67299A5137B   PEGGY       NICE                      OH          90012132990
27B67595572B88   JERALYN     STANDING                  CO          90009945955
27B67742591241   HANNAH      BROWN                     GA          90014067425
27B67991172B29   BLANCA      RAMIREZ                   CO          90011829911
27B67A88455957   RACHEL      SANCHEZ DE CARRERA        CA          90015100884
27B67AAA12B27B   MADINA      CALLAHAN                  DC          90014790001
27B68396A91241   JOEPHINE    MINOR                     GA          90014503960
27B68457972B29   GORGE       GARSIS                    CO          90008704579
27B68A19372B88   JAYDEN      THOMAS                    CO          90013940193
27B6911A99189B   SANDRA      DEVILLE                   OK          90010351109
27B69A1879136B   KNYCOLE     HARPER                    KS          90000590187
27B6B1A122B27B   JULIO       LEMUS                     VA          90007241012
27B6B2A3972B29   DENNIS      NESBY                     CO          90013022039
27B6B351872B42   ANNE        PIERCE                    CO          33070283518
27B6BA26791592   LEONEL      DE LA CRUZ                TX          90011000267
27B7133287B449   MARIA       SOLIZ                     NC          90008953328
27B713A879184B   ROXANNE     GIBBS                     OK          90014853087
27B713A9193731   LAMARK      FISHER                    OH          90005693091
27B7158865715B   ALBERTO     VALENCIA                  VA          81089565886
27B71A39676B69   EDVIN       MARTINEZ                  CA          90006670396
27B72198131631   HELENA      MARTIN                    KS          22005961981
27B72263A4B521   MINDY       HOOPER                    OK          90010732630
27B7249944B588   DAWN        CLOWER                    OK          90010274994
27B73475A55957   MARGARITA   PENA                      CA          90009504750
27B73622157157   TIANNA      WINBUSH                   VA          81015576221
27B73991776B52   STEVEN      ZAVALA                    CA          46032789917
27B7594624B281   JESSICA     HAJEK                     NE          27024689462
27B76296381661   JAIR        MELENDEZ                  MO          29015052963
27B76612284382   AMANDA      MADISON                   SC          90005996122
27B76813A81638   CARRIE      DUNLAP                    MO          29044748130
27B76934893731   TONYA       STEVENS                   OH          90013909348
27B77182291542   FILIBERTO   HERNANDEZ                 TX          90002181822
27B7725815B271   JONATHAN    HAMMACK                   KY          68021222581
27B77447A5B35B   LAURA       HABER                     OR          44510724470
27B77685172B29   TAT         MINH                      CO          90014166851
27B778A4785639   JUAN        MARTINEZ LOPEZ            NJ          90010018047
27B77A44991833   LESLEI      HOUSTON                   OK          90001720449
27B78239491881   DEWAYNE B   BARNES                    OK          21035092394
27B7839869136B   MARIA       BETANCOURT                KS          90014173986
27B78815591828   GUADALUPE   ESCOBEDO                  OK          90005788155
27B78925672B88   ANAHI       MIRANDA                   CO          90010299256
27B79292172B88   BERTHA      GARCIA                    CO          90002692921
27B79562441245   MELANIE     SMITH                     PA          90007505624
27B79618A72B29   KYLE        BARRON                    CO          33013286180
27B79865791241   ANTONIO     HAMILTON                  GA          90013598657
27B7B165893731   DASHAWN     RICE                      OH          90011191658
27B7B4A8143523   RUBEN       SOTO                      UT          31009604081
27B7B91399155B   SILVIA      CHACON                    TX          90014619139
27B7B94134B261   LINDENA     JIDE-JUBILEE              NE          90005859413
27B8177987B449   LYNERA      INGRAM                    NC          11052497798
27B82625751369   AURELIO     MORALES                   OH          90007266257
27B82A7384B261   GUILLERMO   DOMINGUEZ                 NE          90012220738
27B8344319155B   YVETTE      CASTILLO                  TX          90013424431
27B83444481638   TARA        WEBB                      MO          90010994444
27B834AA94B281   CHELSIE     MCALLISTER                IA          90009604009
27B835A6376B69   JEANNIE     DULAY                     CA          90010565063
27B8369729794B   CANDIDO     CANGAS                    TX          90010406972
27B8383645B57B   JOSEPH      BOYD                      NM          90011688364
27B83847591528   PERLA       LOYA                      TX          75044958475
27B83854472B88   JEREMIAH    MITCHELL                  CO          90010028544
27B83A5475598B   ELDA        MARTINEZ                  CA          90001360547
27B83A65772B42   NATASHA     SANTISTEVAN               CO          90008930657
27B84177285822   JORGE       ESQUIVEL                  CA          90005381772
27B8448229155B   JOSE        ALVAREZ                   TX          90011674822
27B84591951329   RACHAEL     PFEIFFER                  OH          90006065919
27B84A43191592   JOE         B                         TX          90010180431
27B84A82A72B29   RICARDO     TAPIA                     CO          33010220820
27B85849372B42   COLE        WURL                      CO          33061828493
27B8597589189B   RODNEISHA   SMITH                     OK          90012499758
27B8614A472B29   PETE        BONEY                     CO          33017841404
27B8631139794B   KRISTAO     JOHNSON                   TX          90002563113
27B86588191241   ALLLISON    TUTEN                     GA          14532845881
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27B868A925B271   GERARD      GREEN                     KY          68019128092
27B87274785822   SADAF       NEROMAND                  CA          90014752747
27B8733785B271   NIGHT       TAMBO                     KY          90015273378
27B87536A9374B   TRAVIS      TIPTON                    OH          66047675360
27B87669491356   SANTA       EMIGRIO                   KS          90014216694
27B87763391592   ZAMORA      TRANSPORT INC             TX          90003377633
27B879A9581661   JAMES       ETH                       MO          90013649095
27B88324391828   LINDSEY     BOSWORTH                  OK          90014713243
27B8884918B384   MONICA      RILEY                     SC          90012128491
27B88964872B29   JOHN        AXEL THEORINE             CO          33000599648
27B8897685B161   TONYA       HUNTER                    AR          90012549768
27B89395591592   JANET       TOVAR                     NM          90013693955
27B89634141245   JOSEPH      VAUGHN                    PA          51063886341
27B8985929155B   JOSE        CHAIREZ                   TX          90013098592
27B8B7A779155B   ELIAS       RIVERA                    TX          90005597077
27B91191A5B271   KELSEY      MOORE                     KY          90014701910
27B91211831437   LOIS        MOORE                     MO          90010122118
27B91438A41245   DAVID       DICKERSON                 PA          51054624380
27B915A2672B29   FEY         LAWSON                    CO          90014295026
27B9196444B261   BILL        BOS                       IA          27033899644
27B9197479184B   TONYA       TERRY                     OK          90015209747
27B91A8239198B   THOMA       JOHN                      NC          90007220823
27B92116872B88   FREDDY      SANCHEZ                   CO          90011211168
27B9228A157157   KAREN       QUINN                     VA          81015512801
27B9256A691592   VERONICA    MONTELLANO                TX          90009405606
27B92687772B29   ROSHONDA    GERTIE                    CO          90014166877
27B928A9A9184B   ELENA       MUNOZ                     OK          90011478090
27B92A9794B588   LINDSEY     MORRIS                    OK          90013040979
27B9319139184B   KENDA       OSBORN                    OK          90012451913
27B933A397B449   ATIBA       RICHARDS                  NC          90014763039
27B9362194B281   RUSS        MYRICK                    NE          27037516219
27B93632881638   AMANDA      SMITH                     MO          29038476328
27B9388885B571   FAITH       PLATERO                   NM          90002668888
27B9489474B261   JENNIFER    HERSKIND                  NE          90011348947
27B94993391828   DANYELLE    SANDERS                   OK          90008579933
27B9537347B449   RAYDOMA     STCKEY                    NC          90014743734
27B95621A5B271   KATHERINE   HALL                      KY          68093916210
27B95692972B29   LESLIE      SALDANA                   CO          90014166929
27B95AA6431453   MILLER      PETER                     MO          27560520064
27B96567231631   TERUA       BROWN                     KS          90014905672
27B97117781638   GLORIA      HOOKER                    MO          29070201177
27B975A2184364   ANNETTE     ROLLERSON                 SC          19056885021
27B97632493731   DARION      BREWER                    OH          90009876324
27B97772791592   LILI        CAMACHO                   TX          75044677727
27B97A73A81648   LARRY       MCCOY                     MO          29025500730
27B98416A31631   GUSTAVO     CARRILLO CRUZ             KS          22063754160
27B985A684B281   VERONICA    FLORES                    NE          27008705068
27B98679A91592   IRMA OCON   MENDIVE                   TX          90012856790
27B98682981648   SARA        ARMENDARIZ                MO          29016196829
27B9928549155B   ROSALBA     BARRIOS                   TX          90012792854
27B99533291528   ERIKA       CANO CALDERON             TX          90003275332
27B99537255957   DANETTE     GAYTON                    CA          90011645372
27B9B472781633   CARMEN      GONZALES                  MO          90014174727
27B9B85155B571   MARIA       TRUJILLO                  NM          35076878515
27B9BAA9593731   PAISLEY     ROBINSON                  OH          90008210095
27BB1387181646   TERA        BUTLER                    MO          90001333871
27BB1645472B29   SUJEY       JAUREGUI                  CO          90014166454
27BB1A1A59136B   TERESA      MADRIGAL                  KS          29063940105
27BB266597B484   LISVET      LOPEZ                     NC          90006836659
27BB2812631453   MIKE        MORRISON                  MO          27517188126
27BB2835793731   SHEENAN     PHIPPS                    OH          90012358357
27BB2979185822   ROSA        GARCIA                    CA          46004229791
27BB2A94755957   RENEE       BARBER                    CA          90001420947
27BB3173572B88   SCOTT       ALLEN                     CO          90014531735
27BB368879189B   EVA         BOWIE                     OK          90009286887
27BB3984A61935   ADELA       RODRIGUEZ                 CA          90010809840
27BB4139193731   ANDREA      MCKAY                     OH          64554861391
27BB421779136B   OMAR        ANTONIO                   KS          29051212177
27BB432A581638   DWAYNE      HOLLINSHED                MO          90015303205
27BB4655291356   MARIA       GUERRERO                  MO          29046476552
27BB47A1941245   MELISSA     MILIAUCKAS                PA          51079967019
27BB5199184364   OSCAR       GONZALEZ                  SC          90006651991
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27BB628155B571   ANTOINETTE    MORA                    NM          90012702815
27BB757579155B   ANTONIO       TORRES                  TX          75019415757
27BB767A181661   ROLANDA       ROULETTE                MO          90009696701
27BB774A891592   FABIOLA       NEVAREZ                 TX          75004457408
27BB7A48981638   JACLYN        REDMOND                 MO          90007810489
27BB7A5859184B   MELONEE       WILLIAMS                OK          21087670585
27BB814529155B   REBECCA       GARCIA                  TX          90007141452
27BB8522A2B27B   ELEASSIA      KINCAID                 DC          90014785220
27BB8918185938   PEGGY         WADKINS                 KY          90013119181
27BB8A65255957   ADAM          CLARK                   CA          90001010652
27BB911994B261   MARK          WEBER                   NE          90014261199
27BB9287A7B449   NATASHA       STUCKEY                 NC          90014742870
27BB9698531631   COREY         WRIGHT                  KS          22059076985
27BB9718561951   ISABEL        CHAVEZ                  CA          90006407185
27BBB25999794B   LUIS          TORRES                  TX          74011142599
27BBB395455957   RICARDO       CRUZ                    CA          90006603954
27BBB476431439   MOONEKE       WILSON                  MO          90013784764
27BBB9A3A5B271   EALY          DENISE                  KY          90015129030
2811115679184B   LARRY         LANG                    OK          21074571567
28112429A2B27B   CARLOS        FUENTES                 DC          90014174290
2811379267B449   JEWEL         GARDNER                 NC          90014047926
2811392625B161   HENRY         JOHNSON                 AR          90011549262
2811449A972B88   ARVIONNE      COLEMAN                 CO          90013934909
2811551A47B449   KEYLA         RUBY                    NC          90009055104
281157A3581637   MILTON        AJPOP                   MO          90001007035
28115A39431631   VICTOR        TRILLO                  KS          22096130394
2811655969189B   LAURA         MCCLAIN                 OK          90012145596
2811669614B281   SILVIA        BARDERAS                NE          27009536961
28116793A7B449   JIMMY         ESPINOZA                NC          90014047930
28117915A55957   DAISY         NEGRETE                 CA          90001229150
281194A1141245   KARMELL       HARRIS                  PA          51000604011
281195A7A5B271   JENNIFER      WATERS                  KY          68087035070
2811963A472B29   JAVIER        HERRERA                 CO          90011276304
2811B65337B471   DARLENE       POWELL                  NC          90012226533
2811BA8324B588   PATRICIA      NICKELBERRY             OK          90008570832
2812197114B988   JENNIFER      ORTA                    TX          90015449711
2812199854B261   DONALD        HORSCHAR                NE          90014429985
28122527872B88   JAMES         JAMES                   CO          90004755278
2812263A572B88   ELIZABETH     MARIN                   CO          90013926305
2812364274B281   ROBERT        MORRIS                  NE          90013176427
28123813272B42   ALFREDO       CHAVEZ                  CO          33075228132
2812431585B271   JUAN CARLOS   SOSA                    KY          90013403158
2812433A54B281   ADAM          VINER                   IA          90012733305
2812474A72B27B   ANDRE         LEWIS                   DC          90015147407
28124847672B88   JOHN          PEREZ JR                CO          90013628476
2812492255B161   CHASTITY      JONES                   AR          23080729225
28124A3575B571   MANUEL        NAJAR                   NM          35055510357
28124A9454B988   VALDA         JENKINS                 TX          90003870945
2812543334B988   CHAD          MILLER                  TX          90014964333
2812629274B988   CODY          ALLEN                   TX          90015392927
28126935A5B271   BEVERLY       JOHNSON                 KY          90006329350
281275A992B962   SINATH        PHEAP                   CA          90012055099
2812799454B988   WOODROW       GLAUDE                  TX          90012079945
28128686572B88   ALISSA        HANFF                   CO          90002176865
2812914819189B   EDIE          SULLIVAN                OK          90009351481
2812918A14B261   REX           SCHMIDT                 NE          27062601801
2812986A94B281   YESENIA       MARTINEZ                NE          27072488609
2812B29942B27B   BENJAMIN      BUSH                    DC          90014362994
2812B446431453   DEBORAH       OWENS                   MO          27566384464
2812B77319184B   DANIEL        PITTMAN                 OK          21016367731
2812B83615B571   ROY           THUNDERCLOUD            NM          90011708361
2813113989189B   ALICIA        BLEDSOE                 OK          90013861398
2813174935593B   MARTHA        CHAVEZ                  CA          48014047493
28131759472B42   PEDRO         CHAVEZ                  CO          90011877594
28131939972B29   ADRIANA       SOTO                    CO          90011779399
28131A32881691   ERIN          ASHBRROK                MO          90010430328
28131A7724B281   JASON         BUCK                    NE          90013410772
28132A42757157   MARIA         ESPINOZA                VA          90013380427
28133253A72B29   VANESSA       GALLEGOS                CO          90015042530
28133266872B88   ALBERTO       MARTINEZ                CO          33024552668
2813356469189B   BRYAN         PATRICK                 OK          90015195646
2813449555B271   DEMETRAA      LEWIS                   KY          90012524955
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28135375A72B42   JESSICA       CHERNILA                CO          90003323750
28135747A4B988   OSCAR         LARA                    TX          90015007470
281358A274B588   MIRANDA       ROSAS                   OK          90001258027
28135A2379184B   ANDREA        DENNIS                  OK          90013780237
2813682537B449   TAMIKA        GAMBLE                  NC          90014048253
28136938972B88   RICARDO       MENDEZ                  CO          90012019389
28138378872B29   ROSA          PEREZ                   CO          90009253788
2813846635B271   COBY          DUNN                    KY          90014564663
28138856A5B571   DANIELLE      PADILLA                 NM          90013158560
2813B676772B42   LETICIA       ALVAREZ                 CO          90008466767
2813B78755B271   KAT           DADDY                   KY          90012347875
28141586A91241   ANTONIO       HERNANDEZ               GA          90003435860
28141682A9184B   CLARISA       SOSAVILLANUEVA          OK          90014756820
28141A67751328   VICKI         TAYLOR                  OH          90005540677
28142369A91528   JULIE         SAENZ                   TX          90005713690
2814236A131453   MARIE         THEODORE                MO          27513333601
2814245137B435   JAMAL         HUNTLEY                 NC          90013814513
2814265145B271   JOHNNIE       BONNER                  KY          90012366514
281427A955B571   APODACA       SHAHIN                  NM          90013087095
28142A62591241   C D B GREEN   READ NOTES              GA          90008200625
28143717A4B588   OWOLE         LAWANI                  OK          90001047170
28143746672B29   KATHLEEN      VILLEGAS                CO          90007507466
2814426774B281   CHARISMA      FLOWERS                 NE          90013932677
2814434659184B   SHAVONNE      WHITEHEAD               OK          90011143465
2814593A25B571   NADINE        CRUZ                    NM          90011709302
28145A1779184B   WILLIE        SMITH                   OK          90010520177
28145A9642B572   ANTONIO       LARIOS                  AL          90014520964
2814617314B581   MARVIN        MONTERROSO              OK          90000461731
28146493A5B254   BELINDA       JENKINS                 KY          90005614930
28146716372B29   NASTASSJA     TODD                    CO          33094577163
2814673A491241   SHIRON        WILLIAMS                GA          90012817304
28146A4145B571   ANTHONY       SOTO                    NM          90008710414
2814728375B271   BARBARA       RICHARDS                KY          90013652837
2814769686B931   ALI           GUNAYDIN                NJ          90015226968
2814778694B521   DANA          BOLDING                 OK          90007357869
281482A564B281   OCTAVIEA      MCGHEE                  NE          90007582056
281483A477B449   MEREDITH      MUNGIN                  NC          11025353047
2814B577972B41   JANEY         GRENZ                   CO          90014045779
2814B84857B347   LESLY         RUBI FUENTES            VA          81027958485
2814B89784B988   ASHLEY        ROWRY                   TX          90013308978
2814B988281526   CASSIE        ORCHOLSKI                IL         90014769882
28151A9695B571   TABITHA       TORRES                  NM          90003580969
281522A5691356   IVAN          OCHOA                   KS          90012252056
28152636772B29   MARIA         VILCHIS                 CO          33085566367
28153452572B42   RONDA         MENDEZ BURGOS           CO          90014174525
2815373735B571   ALFONSO       GRANADOS                NM          35095067373
28153755172B88   ESTER         JUAREZ                  CO          90006447551
28153A69172B29   CHILITA       BETTS                   CO          90002920691
28154378872B88   JOSE          PARRA                   CO          90006753788
2815449232B27B   TYRONE        HUNTER                  DC          90014914923
28155392172B88   JEROAN        ADAMS                   CO          33054663921
2815551947B471   IRBEN         MAZARRIEGOS             NC          11079755194
28155A2A991356   EDGAR         ERAZO                   KS          90013080209
28155A8695B571   KATHLEEN      HAINES                  NM          90003440869
2815617522B27B   MARY          LINDSAY                 DC          81004971752
2815636AA4B988   ROBERT        GLISSON                 TX          90015333600
28156A42641281   CEDRICK       BRIGGS                  PA          90014990426
28156A79272B88   MANUEL        MACIAS                  CO          33091380792
2815833649794B   RAFAEL        ALVARADO                TX          74004583364
2815834392B27B   ANTONIO       JEFFRIES                DC          81006743439
28159278A41248   TRACY         LANE                    PA          90013402780
2815945175B271   RICHARD       LARGE                   KY          90004224517
2815B28A184382   DARLENE       LEDFORD                 SC          90009372801
2815B51A372B42   JENNIFER      TORREZ-HOLGUIN          CO          33081365103
2815B657791547   ISMAEL        CHAVEZ                  TX          75039226577
2815B712491828   TYSHEKA       ELLIS                   OK          90008767124
2815B864231453   CHARLES       COGSHELL                MO          90010718642
28162AA2A5B571   ALFONSO       DEOCAMPO                NM          90013300020
281633A5957157   MORENA        ALAS                    VA          90013933059
2816352794B531   EDWIN         GONZALEZ                OK          90013365279
2816395572B86B   DORA          STINNETT                ID          42090479557
2816433A95B181   MONICA        NADEN                   AR          90009803309
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2816438A72B27B   VALENCIA       ADAMS                  DC          90011523807
2816458827B449   JAMES          HARRIS                 NC          90014095882
2816577595B161   MARIE          SNEED                  AR          90012697759
2816578A29184B   NORBERTA       OJEDA                  OK          90006117802
2816637444B281   DENNIS         LOGUE                  NE          90013963744
28166431172B42   ELIZABETH      THORSTENSON            CO          90000104311
2816661754B988   TRACY          BARNES                 TX          90013866175
28166626872B29   MARTHA         RAMIREZ                CO          90008826268
28166A46181633   JORGE          MARTIENEZ              MO          90012470461
28167739672B29   LINDSEY        WYATT                  CO          90009577396
2816894384B233   DENNIS         CURTIS                 NE          90009219438
28169296172B88   CHRIS          RAKES                  CO          90002432961
2816934A24B281   NIKKI          HOLLINGSWORTH          NE          90013513402
2816B245861982   MURUGANANDAM   JAYABALAN              CA          90010462458
2816B354481637   LISA           JONES                  MO          90012273544
2816B518A2B27B   JENNIFER       GARCIA                 DC          90011405180
2816B868591547   JORGE          DIAZ                   TX          90013918685
28172226797B41   RONDA          REDMAN                 CO          90012772267
28172249A72B88   CYNTHIA        SCOTT                  CO          90011692490
2817457595B271   DOUGLAS        KEY                    KY          90014035759
2817541A791833   VIKKI          MORGAN                 OK          90007604107
28175422A72481   DANA           DILLARD                PA          51017324220
2817564159189B   MATHEW         BAILEY                 OK          90009256415
2817573829184B   JAMIE          WOOD                   OK          90012827382
2817622A49189B   SHERRY         BRADSHAW               OK          90001652204
28177134A72B29   CELIA          QUINONEZ               CO          33050501340
2817718985592B   AUGUSTINE      GARCIA                 CA          90008151898
281773A4641455   MARCIA         RAMEY                  WI          90011613046
28177636272B88   JERMIAH        SYRON                  CO          90013086362
2817787785B271   ERNEST         KING                   KY          68066638778
2817811A881633   JEANINE        LEVY                   MO          90012861108
2817911684B261   SAMANTHA       GINTZ                  NE          27068521168
28179491872B88   SAUL           CASTANEDA              CO          90013934918
28179667A7B449   TIFFANY        MOORE                  NC          11012886670
2817969125B571   VIRGINIA       GALLEGOS               NM          90009516912
2817997384B988   PAYGO          IVR ACTIVATION         TX          90015189738
2817B117772B42   BRUCE          RUSSELL                CO          33051471177
2817B552891356   FLOR           GARCIA                 KS          90009805528
28181872454B32   DARRELL        FLYNN                  VA          90004048724
2818196184B261   MONIQUE        CLEMENTS               NE          90000809618
2818248A92B27B   JASMINE        JOHNSON                VA          90009954809
2818362239794B   PAMELA         MCMILLEN               CO          74003446223
2818372A372B88   NIKOLAS        ADAMS                  CO          90014817203
2818381629189B   SHELLY         TUMMONS                OK          90014728162
2818434A881633   JUANITA        JACKSON                MO          90005833408
281844A3891833   KIMBERLY       REAMEY                 OK          90007484038
2818463A572B88   ELIZABETH      MARIN                  CO          90013926305
2818467275B271   MATHEW         RICHARDSON             KY          90014416727
2818493665B571   GLORIA         CHAVEZ                 NM          35092489366
2818574755B161   LISA           COLEMAN                AR          90009787475
2818578889189B   TAMI           HARRIS                 OK          21009037888
2818617932B27B   KESHAUNA       MUHAMMAS               DC          90010401793
281868A5991828   MELVON         WHITE                  OK          21002868059
28187549772B35   DAVID          MONTOYA                CO          90003545497
28187A4672B27B   GREGORY        SPRIGGS EL             DC          90004440467
2818837654B988   JUAN           DE LA CRUZ             TX          90013383765
2818871654B281   MISS           RUSSELL                NE          90000817165
2818B62AA6B649   DESTINY        JOHNSON                KY          90014616200
281918A424B281   TUAN           NGUYEN                 NE          90005158042
28191A89581637   JAYME          SHARP                  MO          90002530895
2819259A451328   LAVINA         BROWN                  OH          66011455904
28192A8635B571   YVONNE         SANDOVAL               NM          35071970863
28193A41A57157   HIRAM          RIVERA                 VA          90009920410
28194A1195B271   JOSHUA         DILLANDER              KY          90013610119
2819541795B271   ANGELA         ALDRIDGE               KY          68057174179
28195489A4B531   ELAINE         HODNETT                OK          90012224890
281957A4481633   SAMUEL         GUTIERREZ              MO          90015127044
28195A3154B521   BRIAN          CRANFORD               OK          90012370315
281962A6A81633   ALEX           PASAYES                KS          29081432060
2819693184B281   CINDY          PICKENS                NE          90005379318
2819781979184B   JENNIFER       HUGHEY                 OK          90004098197
28197A2634B588   SAUNDERA       HOPGOOD                OK          90009970263
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2819827452B222   BRASHAR        JAMES                  DC          90012172745
2819848842B27B   STEVEN         MCPHERSON              DC          90002174884
28198574A77534   DARLA          WARD                   NV          43091635740
2819869A73B35B   JAHMEL         NORRIS                 CO          90014186907
28198A24751328   REBEKAH        KILBURN                OH          66009040247
2819921359184B   KATY           COLLINS                OK          90010472135
281994A754B988   TAMMY          ROCKA                  TX          90010954075
2819952972B27B   MARCY          THORTON                MD          90015405297
28199918A57157   JOSE           GUZMAN                 VA          90015319180
2819B111691547   CHRISTOPHER    CASTILLO               TX          90011151116
2819B119431453   PRISCILLA      PATTERSON              MO          90011071194
2819B249A72B88   CYNTHIA        SCOTT                  CO          90011692490
2819B52245B571   JULIETTE       BALDONADO              NM          35089285224
2819B54565593B   CAROLYN        LONG                   CA          90012235456
2819B734272B88   AMANDA         VAUGHN                 CO          90012667342
2819B755A91828   JOSH           WOODS                  OK          90004957550
281B1132761979   AMIRA          AZZU                   CA          90001331327
281B116622B27B   DENNIS         CASTELLANOS            DC          90015001662
281B133234B588   NICOLE         CONALLY                OK          90003653323
281B142A45B271   SHIRLEY        WILLIAM                KY          90010144204
281B172A17B422   CHRISHAWNA     HAMMOND                NC          90013997201
281B176689184B   ELYSSA         WHITE                  OK          90013717668
281B1AA9757157   NATHANIEL      ROSS                   VA          90002600097
281B241A32B27B   YULONDA        HALL                   DC          90010804103
281B253A357157   OSCAR          MAJANO                 VA          90010315303
281B2723281633   JOSHUA         HEMBERGER              MO          90011107232
281B2877877355   CALESTINE      STRAIN                  IL         90003998778
281B3296A31631   TRACY ELAINE   BOWEN-KHAMALA          KS          90011562960
281B3353191528   DANIEL         MUNOZ                  TX          90005713531
281B3595143551   JOSE           GARZA                  UT          90009155951
281B36A954B588   MAYRA          GUTIERREZ              OK          90011946095
281B3814791241   JACQUELINE     ECHOLS                 GA          90011258147
281B3856691241   NATHANIEL      BRACK                  GA          90014788566
281B3878141245   TAMMI          DICK                   PA          51027708781
281B423333B35B   CRISTIAN       RAMIREZ                CO          90011042333
281B4668191828   KAREN          PUCKETT                OK          21059586681
281B4877877355   CALESTINE      STRAIN                  IL         90003998778
281B5364631631   CRISTAL        PEREZ                  KS          90008123646
281B538117B471   MARYJOSE       VELASQUEZ              NC          11077353811
281B632737B399   NADIA          REANGBER               VA          90009823273
281B639329189B   CORTNEY        TAYLOR                 OK          90014473932
281B662215B271   CALHOUN        JOSHUA                 KY          90004836221
281B6662A9155B   ANGEL          ARZATE                 TX          75051116620
281B736113B333   NICOLE         TOWNSEND               CO          90011363611
281B7598791547   JOANA          PULGARIN               TX          90015175987
281B8559872B29   ELDA ISABEL    CHAVEZ-ORTEGA          CO          90008825598
281B85A3785965   ANNIE          HALL                   KY          66062045037
281B876A44B261   MARTHA         ZABALETTA              NE          90007047604
281B918547B259   MELA           BORREGO                NM          40517261854
281B983434B234   LYNAE          HANSON                 NE          27061598343
281B9A88872B42   JENNIFER       CHAVEZ                 CO          90011720888
281BB665191828   MARSHA         MCNEILL                OK          21001326651
281BB795291833   BRANDY         TIDWELL                OK          90014877952
281BB876631453   MYRA           DAVIDSON               MO          90014658766
28211431672B42   JULIO          CESAR                  CO          90015184316
2821143AA2B27B   VONNIE         GREEN                  DC          90014614300
282116A539184B   RICHARD        POPER                  OK          90013516053
2821234A32B226   PATRICIA       BISHOP                 DC          90013003403
2821238347B471   MARTIN         HAMILTON SR            NC          11030853834
2821256464B261   MICHAELA       SANDOVAL               NE          90014865646
2821355A172B88   CARMEN         ROBREDO                CO          33001915501
28214A15772B29   MARIA          PEREZ                  CO          33091840157
2821572315B161   ROCHELLE       NOONER                 AR          23073217231
2821614264B588   MATHEW         HITSMAN                OK          90010981426
28216284272B29   ERIC           ARELLANO-DOMINGUEZ     CO          90015042842
28217198A81633   FELICIA        LOPEZ                  MO          90011311980
28217634A7B449   GILSI          MOTINO                 NC          90005766340
2821764894B988   TAMMY          SELF                   TX          76583316489
282177A8431453   TYRONE         LESLIE                 MO          90010247084
2821823555B571   PEREZ          JESUS                  NM          90000702355
2821834394B261   STEVE          BROWN                  NE          27088973439
2821866619155B   JULIA          CALZADIAS              TX          90006636661
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28219115372B29   FRANCISCA         MARTINEZ            CO          33095301153
282193A8181638   LORENZO           FLECHER             MO          29016633081
282196AA157157   EUGENIO           HERNANDEZ           VA          90002316001
2821B159951328   SEAN              EVANS               OH          90011941599
2821B965351338   TERRI             HAMILTON            OH          90009659653
28221245A91592   JULIO             GOMEZ               TX          75047582450
2822145174B281   PAYGO             IVR ACTIVATION      IA          90013174517
28221494272B88   MIGUEL            RAMIREZ             CO          90013934942
282217AA191547   MANUEL            PADILLA             TX          75080887001
2822252122B27B   BETHLHAM          ARGAW               DC          90012475212
2822256239184B   CURTIS            JONES               OK          90013785623
2822293A757157   LARIZA            MERCADO             VA          90013369307
282242A8371925   COLLEEN           CRAGOE              CO          90001722083
2822433A291528   MARIA             MORENO              TX          90001943302
2822476315B243   THERESE           BOSH                KY          68074627631
28224A7A276B4B   HUGO              SANCHEZ             CA          90009680702
2822634795B271   NOBERTO           GUZMAN              KY          90010753479
2822673655B271   JANINE            PEREZ               KY          90015217365
28226879A4B261   FAUSTINO          LOPEZ-BARCENAS      NE          27059268790
2822763882B27B   MERCEDES          CASTILLO            DC          90003966388
2822852A49184B   OSCEOLA           FOX                 OK          90012435204
2822912349794B   SAMMY             CAMPOS              TX          74073231234
2822923165B271   SHANNON           HURT                KY          90009272316
28229246672B42   AMY               MCKEE               CO          90006262466
2822B85795B271   JAZMINE           TRICE               KY          90013778579
2822B88225B571   DIANA             SOLIS               NM          90014618822
2823182774B988   ROBIN             HALLAHAN            TX          90012488277
28231A76331453   AMY               PITSCHNER           MO          90014670763
28232561176B69   JOVANHY           MARTINEZ            CA          90011595611
2823285745B271   CRISTY            ASHLEY              KY          90006368574
2823288535B571   DAVID             BACA                NM          90014618853
2823289397B449   TERENA            DUMAS               NC          90014088939
28232A43185991   REBECCA           KIDWELL             KY          66010750431
2823388645B571   REZHANE           MCNAIR              NM          90014618864
28233892A72B35   DEBI              WALTON              CO          33068978920
28234996772B29   MARIA             GONZALEZ            CO          90007099967
282349A455B271   LAWANDA           FOSTER              KY          90012849045
2823547485B271   SANDERS           MEGAN               KY          90006934748
2823697794B588   ITZEL             CERVANTES           OK          90012279779
282379A685B271   KENNETH           RUFF                KY          90013009068
2823817863B35B   MARIA             DURAN               CO          33063631786
2823839965B571   HULL              RENELL              NM          90000703996
2823852269184B   CHRIS             RIOS                OK          21026125226
2823927329189B   SHELBY            THOMIS              OK          90009342732
2823947935B342   KYLE              SMITH               OR          90014784793
2823967566364B   PAYGO             IVR ACTIVATION      MO          90011386756
28239A25A9184B   CORRIAN           KAUFMAUN            OK          90011050250
2823B1A914B988   RONNIE            BANKS               TX          90011391091
2823B29117B449   JAQUARN           WALLALE             NC          90014152911
2823B637693727   MARIAH            WILSON              OH          90011376376
28242286772B88   ZANE              SCHAFFER            CO          90011692867
282423A8257157   MARNIE            LARY                VA          90002383082
2824245464B588   CHARLES           BLOODWORTH          OK          90012734546
2824437A876B69   DAVID             NICHOLS             CA          90008633708
28244A32491592   LINDA             KOLOKOLO            TX          90006840324
2824515789184B   HEAVEN            JONES               OK          90003441578
2824598899189B   MARTIN            VILLAVISENCIA       OK          90010069889
28246536772B42   SYLVIA            SANCHEZ             CO          90013225367
2824729A45B271   RON               SPADIE              KY          90013932904
2824816A19189B   RAFAEL            SAAVEDRA            OK          21000021601
2824817474B588   JAMES             CUNNINGHAM          OK          21578421747
2824819765B161   COREY             BAILEY              AR          23092061976
28248921872B25   YAVICELA          RIZO MUNOZ          CO          90005509218
2824933819189B   TOBY              SOLOMON             OK          90015113381
2824951419184B   GWENDOLYN         MCINTOSH            OK          90002275141
28249761572B88   MARIA GUADALUPE   MUNOZ               CO          90013297615
28249A39431631   VICTOR            TRILLO              KS          22096130394
2824B236857157   MINUETTE          BROCK               VA          90010392368
2824B246A4B261   JOEL              TRIANA              NE          27019932460
2824B34134B581   STANLEY           ABEL                OK          90010163413
2824B585991592   MARTHA            FABELA              TX          90014655859
2824B637272B88   LUIS              MURO                CO          90013926372
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2824B688391828   CRYSTAL      ROBOL                    OK          90014756883
2824B975672B88   MARGARITA    ABARCA                   CO          90013529756
2825119784B261   VALERIE      MCDOUGLE-GABA            NE          90006841978
2825168959199B   ASHLEY       STANLEY                  NC          90001096895
2825271424B521   HARVEY       LYNN                     OK          90008357142
28252A2A172B42   MA. TERESA   LOMELI-DIAZ              CO          33032640201
2825366A772B88   ANGELA       FLORES                   CO          33055576607
282538A2931453   FELICIA      LARKINS                  MO          90009928029
28253A2A52B27B   EARL         JOHNSON                  DC          90012800205
28253A75191241   SHAWANA      PINKSTON                 GA          90013400751
28253A96A25144   EDDIE        GALTFELTER               AL          90014560960
282542A1851322   JAMES        HELTON                   OH          90009892018
2825461A981637   MILES        DEAN                     MO          90005396109
28254A35972481   WILLIAM      NICHOLSON                PA          90011690359
282553A354B588   ANGELIA      HITSMAN                  OK          90010213035
28255889872B42   NORA         JURADO                   CO          90015118898
2825742714B261   MICHEL       HOLEMAN                  NE          90013374271
2825745112B27B   GREGORY      MULDROW                  DC          81014724511
28258299A72B29   AYALA        GONZALEZ                 CO          90015042990
282584A3791241   ALFRED       PERRY                    GA          90014784037
28258658172B29   GILBERT      VALENZUELA               CO          90005676581
2825953A34B588   JOHN         GRAHAM                   OK          90014885303
28259565A91542   RICARDO      MONZON                   TX          90013565650
28259A8534B281   RUDEY        BISSONETTE               NE          27016080853
2825B779A85965   LORI         FRANKLIN                 KY          90005717790
2825BA29872B29   ISRAEL       GARCIA                   CO          90010740298
2826117A74B588   SARAI        RODRIGUEZ                OK          90014611707
2826169139189B   ELVIRA       PUGA                     OK          21031206913
2826288134B521   DAVID        ALEGRIA                  OK          90007398813
2826351235B271   RYAN         TERRY                    KY          90014935123
2826492735B571   JONTELLE     LEYBA                    NM          90014619273
2826566A34B588   KATHERINE    JACKSON                  OK          21578966603
2826585614B261   XAVIER       CHAIDEZ                  NE          90013258561
2826629464B261   MICHAEL      ROGERS                   NE          90012682946
2826632365B161   TABITHA      COFFER                   AR          90010843236
2826664424B588   JENNIFER     STARK                    OK          90012536442
28266AA2A31631   MARK         STRUBLE                  KS          22030740020
2826739124B588   JEFF         GORDON                   OK          90015533912
2826766A12B27B   DOMINIC      ISHMELL                  DC          90014756601
2826858185B571   AMANDA       WRIGHT                   NM          35057585818
2826871414B588   MARIELA      HERRERA                  OK          21548937141
28269317A91356   MICHAELLE    BROOKS                   KS          90014193170
28269998376B67   JOHN         SORTOME                  CA          46016899983
282699A8231453   MYRA         TAYLER                   MO          27585989082
2826B162736B77   LA NAUNG     LAHTAW                   WA          90015361627
2826B169772B42   CARLOS       ORTIZ                    CO          33080641697
2826B25714B548   LEON         AWES                     OK          90010002571
2826B82339189B   MARIANA      SANTOS                   OK          90012828233
2827134815B271   NANCY        ESTES                    KY          68075613481
2827187147B449   ELMER        MARTINEZ                 NC          90010748714
2827225314B261   YOLANDA      DELTS                    NE          90013952531
28272349272B29   ISAAC        SMITH                    CO          90000363492
2827284A791592   FERNANDO     YANEZ                    TX          75095558407
28272A14691547   KIMBERLY     VICK                     TX          75051100146
282731A589184B   JAYVIS       SPENCE                   OK          90015071058
28273476872B29   ANGELA       GUTIERIEZ                CO          33067954768
2827396A281633   RONJALO      DIXON                    MO          90014159602
282741A997B471   KATIE        SIEKKINEN                SC          90008101099
2827437A69155B   SILVIA       LOPEZ                    TX          75025623706
28274675A4B988   KARL         FRAGSTEIN                TX          76577136750
28276293872B88   RUBY         VALDEZ                   CO          90010972938
2827737882B23B   BROOKE       PLEAS                    DC          90008063788
2827778582B27B   EJIKE        NWANKWO                  DC          90007367858
28277A12A31453   LADONNA      SMITH                    MO          27508150120
282782A6A85965   AMY          COOK                     KY          66024392060
2827865A191528   MONICA       GARCIA                   TX          75048376501
2827876715B161   JANET        HALL                     AR          23053517671
2827897326193B   ANDREW       LISK                     CA          90008859732
28278A39831631   JOHN         ROBINSON                 KS          90000130398
28278A4119376B   JAMES        WALKER                   OH          90000320411
2827995439189B   CHRIS A      MARTIN                   OK          21034199543
28279A62691592   LETICIA      MORENO                   TX          90012840626
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2827B384951328   RASHID          TAYIDI                OH          90014673849
2827B63755B271   JOESPH          HART                  KY          90014036375
2827B668891828   KEJUAN          HUGHES                OK          90010286688
2827BA61191547   SAUL            TERESO                TX          90010310611
282814A125B571   BEN             SANDOVAL              NM          90011714012
282822A7791828   STEVEN          GUTEKUNST             OK          90012112077
2828265637B471   ALEXANDER       PORTER                NC          11083146563
2828271214B988   JESSICA         CRABTREE              TX          76563797121
28282716236B77   FRED            QUALLS                OR          90014357162
28282A28881638   JACINTA         THORNTON              MO          29001470288
28283839A51328   JAMES           HALL                  OH          66058898390
2828432AA4B588   MARY            PATTERSON             OK          90015173200
2828455A291241   ROBIN           YOUNG                 GA          90014055502
28284839A51328   JAMES           HALL                  OH          66058898390
282852A6591547   DIANA           GUERRA                TX          90011522065
28285645472B29   GONZALEZ        VICTOR                CO          90007156454
28285A57591356   MIGUEL          AGUILAR SANTIAGO      KS          90010420575
2828679635B271   ANDRA           WOODS                 KY          90013837963
2828784799374B   AMY             LEWIS                 OH          90008178479
2828788364B281   ANGELA          CUNNINGHAM            NE          90013488836
282885A2757157   TOMMY           HOLIDAY               VA          81048625027
28288853A5B571   RACHEL          BROWN-WALKER          NM          90005448530
28288AA6891241   TANYA           GADSON                GA          90014790068
2828911957B449   SAMERRA         CLOTTER               NC          90014931195
2828912929189B   KELLY           COYLE                 OK          90000901292
28289425A57157   PRINCESS        KABBA                 VA          90000594250
2828B37464B261   CHRIS           BURNS                 NE          27030753746
2828B949376B69   LEANARDO        CHAVEZ                CA          90011159493
2828B99927B449   PETRON          ESCOLANTE             NC          90008169992
2829148139189B   BRYAN           GIBSON                OK          90014014813
2829245A391833   DOROTHY         MAYHUE                OK          21087524503
2829262982B27B   CARL            DADE                  DC          90012736298
28292A48891241   JEREMY          SIMS                  GA          90014790488
2829334869184B   CHARLES         TAFF                  OK          90014983486
28293753A54121   FAITH           BOOTH                 ID          42079907530
28293835572B88   DAN             BROADER               CO          90013488355
28293A37593742   CHINAH          POWELL                OH          90008850375
28294516872B88   LORENZO         MORENO                CO          33054645168
2829491A581633   MONTGOMERY      LAWSON                MO          90013519105
2829517AA31453   JOHN            TERRY                 MO          90007011700
2829527274B261   CURRY           DAVIS                 NE          90012152727
28295355A91547   ADRIAN          LOPEZ                 TX          90014673550
28295A48891241   JEREMY          SIMS                  GA          90014790488
28298733A4B588   ERIKA           COLEMAN               OK          21554027330
2829885265B571   VIRGINA         CALABAZA              NM          90006688526
2829947244B261   JOSE            VAZQUEZ GUTIERREZ     NE          90015124724
282994A8891828   LEAH            MORTON                OK          90012694088
2829975824B588   DEREK           FORSHEE               OK          90013587582
2829981329189B   PATRICIA        GAINES                OK          21063268132
28299A47A57176   CARLOS          PEREZ                 VA          90008960470
2829B3A9772B29   ROBERT          YOUNG                 CO          90015043097
2829B667891589   ROBERTO PABLO   FLORES                TX          90002906678
282B11A6881638   ARETHA          BROOME                MO          29085541068
282B1278172B29   MARIA           AGUILERA              CO          90015042781
282B1312851328   RICKY           SIMMONS               OH          90010973128
282B146714B988   JORDAN          BERNARD               TX          90013144671
282B21A3172B88   LORI            CURTIS                CO          33054661031
282B244734B52B   LADONNA         WILLIAMSON            OK          90006924473
282B279125B271   TONSHAY         PORTER                KY          90009567912
282B2838276B69   RUTH            NAVARRO               CA          90008838382
282B354934B588   SHERAYA         BRIGGS                OK          90013825493
282B3785451328   SHELLEY         BOOKHEIMER            OH          66098927854
282B3AA6772B88   MARGARITA       LORATOS               CO          33046280067
282B3AA975B161   BRANDI          NALLEY                AR          90011550097
282B4858891592   VERONICA        MARTINEZ              TX          90007888588
282B5528476B62   JOSE            PANDURO               CA          90001755284
282B7139772481   KARLTON         DENNIS                PA          51017361397
282B7227851358   BRANDON         DRAKE                 OH          90003452278
282B7698531631   JENNIFER        SMITH                 KS          22069786985
282B7947451328   MIGUEL          NAVRRO                OH          90014979474
282B811A657157   TAWANDA         BOGGS                 VA          90014901106
282B831834B281   CARLOR          GRAHAM-WESTBROOK      NE          90000483183
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282B9472172B88   FRANSISCO     CEBALLOS                CO          90014734721
282B9695457157   WINFIELD      DEPPE                   VA          90011976954
282B974239794B   JUAN          HERNANDEZ               TX          74073227423
282B9776A41245   DANIEL        DONAHUE                 PA          90011217760
282B98A319184B   TERRANCE      GILLEY                  OK          21081228031
282BB299381633   CURTIS        HARRIS                  MO          90012682993
282BB735261985   OSCAR         COBIAN                  CA          90010417352
282BB756657157   JOSE          ORELLANA                VA          90014587566
282BB843591241   AMIRA         BACON                   GA          90014748435
2831144A19184B   KIMIKO        BROWN                   OK          90013724401
2831157277B449   DANIA         MCCRAY                  NC          90011085727
2831266484B988   YIMIN         HE                      TX          90012346648
2831315992B27B   ALISHA        BARNES                  DC          81080001599
2831372785B161   TYWANNIA      WILSON                  AR          23084287278
2831455A751353   JANE          MORRIS                  OH          90008865507
2831458815B271   DANIEL        VARGAS                  KY          68082865881
2831487155B571   MARIA         CAMERENA                NM          35070378715
283164A944B261   JOSE          MEDINA                  NE          27080494094
283178A614B261   JAVIER        GARCIA                  IA          27094258061
2831847765B571   BEATRIZ       CHAVEZ                  NM          90010244776
28318775A7B449   KENISHA       MILLER                  NC          90014097750
2831912885B571   DOMINIQUE     LARRIBAS                NM          90010871288
2831963335B271   SHAWNA        HAUDENSHILD             KY          68037846333
283197A1672B29   MYRA          B                       CO          90011277016
2831981A572B29   TEMESGEN      BERAKI                  CO          33062578105
2831B24155B161   SAM           CARROLL                 AR          23060802415
2831B24454B261   NICOLE        SCARBORO                NE          27009812445
2831B415691592   LAURA         ALCALA                  TX          90012314156
2831B43552B987   JOHNNY        BADIE                   CA          90005074355
2831B49AA4B988   DAVID         DUVAL                   TX          90009134900
2831B59197B471   OSCAR         AREBALO                 NC          90001765919
2832228994B281   RANDALL       TOMSU                   NE          90013452899
28322366872B88   MARIA         CHAVEZ                  CO          33006483668
28322A2444B261   MANUILA       JOHN                    NE          90014560244
28322A83A41245   BENJAMIN      COCHRAN                 PA          51046410830
2832334897B422   NOEL          EWING                   NC          90013793489
28324216476B69   EDGAR         DIAZ                    CA          46030262164
2832496A991241   THOMAS        MUTCHERSON              GA          90012759609
28324998172B29   JOHN          ALMAGUER                CO          90008729981
2832562AA5B571   VIDAL         RODRIGUEZ               NM          90006136200
28325A6554B281   SANTIAGO      VALADEZ                 IA          27090770655
2832665455B271   STACY         BECKHAM                 KY          90012446545
283266A1872B42   MARIA         ELIAS                   CO          33090876018
2832749114B281   CARLOS        REYES                   NE          27001044911
283278A924B588   MELVIN        LEWIS                   OK          90009318092
28328236A51328   JOSHUA        PETERS                  OH          66047102360
2832896655B161   LATASHA       BEST                    AR          90004819665
28329321372B29   ASHLEY        CORONADO                CO          90015043213
283295A584B588   RITA          ROBERTS                 OK          90003035058
2832B154A31433   JEANNINE      MCFADDEN                MO          90004611540
2832B36362B27B   KELLY         EDDINGS                 DC          90014693636
2832B779791592   GENARO        FIGEUEROA               TX          75010797797
2832B93214B281   YOLANDA       VALENCIA                NE          27046369321
28331126672B42   ANDRINA       LEAHY                   CO          90012111266
2833169944B281   CONNIE        COCO                    NE          27012906994
28331A3987B449   TANYA         TURNER                  NC          11049400398
28331A75191241   SHAWANA       PINKSTON                GA          90013400751
28332571872B88   LETICIA       HERRERA-MENDOZA         CO          90014775718
28332867A57138   SANTOS RUAL   PORTILLO                VA          90013868670
28333321572B42   GRANT         NICHOLSAN               CO          90012903215
2833376A591547   ALEJANDRO     VALENZUELA              TX          90005847605
28333A24A4B281   ROSHEA        JONES                   NE          27000140240
28333A75151328   DELVIN        HARRIS                  OH          90014760751
28334623A5B571   PATRICIA      MADRID                  NM          35065086230
28334655A87B87   E             MCMAHAN                 AR          23024486550
2833528A64B588   JANET         VELASCO-MARTINEZ        OK          90013572806
2833554865B177   AMBER         HARRIS                  AR          90010935486
28335639A91547   VICTOR        MATA                    TX          90005576390
2833569A17B449   VICKIE        GRIER                   NC          11058636901
28335A68881633   JERQUAN       BOTLEY                  MO          29094040688
28337923472B42   HERIBERTO     NAVA-MARTINEZ           CO          90013259234
2833867814B588   EDWINE        TISDALE                 OK          90013006781
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2833877664B267   MICHELLE         WORLEY               NE          90008987766
28338A4A59184B   RAQUEL           CONN                 OK          90012970405
2833B4AA231453   DANIEL           MENDEZ               MO          90011564002
2833B64789155B   VERONICA         PEREZ                TX          75091576478
2833B832172B29   BRYAN            DECKER               CO          33000208321
28341A6769189B   VICTORIA         BURTON               OK          21082670676
2834241419155B   ELOISA           RIVERA               TX          75047014141
283439A229189B   ANNA             CARLISLE             OK          90015429022
2834428714B261   JEFFREY          GUDE                 NE          27020042871
2834474A272B42   STEPHAN          POHANIC              CO          90002817402
2834546824B588   JESSICA          WILLIAMS-KOWALCIK    OK          90014714682
28345719472B29   ANA              VELASQUEZ            CO          90011277194
2834595564B281   HALEY            SPRINKEL             IA          90006459556
2834636429184B   ERICA            GULLICK              OK          90011393642
2834733264B281   MICHAEL          WHITE                NE          90013853326
28347888A91592   CAROLINA         OBLICK               TX          90007668880
28348156572B88   MARIA DE JESUS   MARTINEZ             CO          90011941565
283483A7891592   IGNACIO          DELGADO              TX          90010723078
2834913A472B42   ARIANE           PENNINGTON           CO          90008841304
28349253372B98   HILDA            DIMARCO              CO          90004312533
2834953284B588   JAMES            ROY                  OK          90014065328
28349591972B88   MEGAN            MILLS                CO          33021485919
2834B25692B27B   JERMAINE         WILLS                DC          90015022569
2834B39A944B75   ISABELLE         FERRER               OH          90013943909
2835115118B16B   REX              MUHLESTEIN           UT          90013781511
28351376A72B88   ROBERT           CARPENTER            CO          33035483760
2835161585B271   DONNIE           MORRIS               KY          68022156158
283525A7261997   ORVEL            BROWN                CA          90008365072
2835288619184B   GRACIELA         MUNOZ                OK          90006978861
2835291A581633   MONTGOMERY       LAWSON               MO          90013519105
2835352A581633   JOHNNY           BRACKINS             MO          29011545205
283538A495B571   ALBERT           OCHOA                NM          90011088049
2835434A19184B   JUAN             RODRIGUEZ            OK          21006223401
283546AA44B261   ANDRES           ORDAZ PEREZ          IA          27072746004
28354714972B88   ANTONIO          BORUNDA-FIERRO       CO          90002307149
28354A81651328   FLOYD            ADAMS                OH          90002010816
2835549559189B   VICTOR           RAMIREZ              OK          90014174955
2835587AA76B69   CARLOS           MORALES              CA          90008798700
28355A32657123   JOSE             VENTURA              VA          81031340326
2835816879184B   TAH'VONNY        COFFEY               OK          90012661687
2835921892B27B   SHERWOOD         HARDY                VA          90012802189
2835953A376B69   ALEJANDRA        CASTALLANOS          CA          90014245303
28359A4A691534   CLAUDIA          GARCIA               TX          90010770406
2835B447641281   FALLON           HANBURY              PA          90004534476
2835B897981638   MELISSA          MCNUTT               MO          90004018979
2835BA2775B571   DANA             WASHEE               NM          90014620277
2836156114B588   ANDREW           HOLT                 OK          90010245611
2836173679184B   TIA              PRESLEY              OK          90014337367
28361996698B2B   JOSE             HERNANDEZ            NC          90015159966
2836269114B281   BARBARA          GERMANY              NE          27091546911
2836327222B27B   COLELL           HUNTLEY              DC          90013232722
2836449A157157   JENNIE           DELLINGER            VA          81087044901
2836463942B27B   LENA             CARTER               DC          81036336394
2836464614B261   NICOLE           NYBERG               NE          27023596461
2836534182B27B   ANTAWON          VENEY                DC          90014883418
2836544154B988   MARTHA           THOMPSON             TX          90012684415
28365474997B41   GERONIMO         ROMERO               CO          90012664749
28365879472B88   MARK             BECHLER              CO          90002838794
2836589814B281   KELLIE           MCCOY                NE          90014778981
28365A62391592   MARTIN           LASCANO              TX          90008250623
28365AA3581633   WENDY            ORELLANA             MO          90012480035
283672A1672B42   DEVIN            ALLINGHAM            CO          90012042016
283674A5A91241   ERICA            SMOKES               GA          90014804050
28367A57591356   MIGUEL           AGUILAR SANTIAGO     KS          90010420575
2836828399184B   TANYA            MERCADO              OK          90014582839
2836B989872B29   DEDRA            KING                 CO          90009639898
28371193A91547   ROBERTO          FLORES               TX          90010371930
2837136114B521   AMBER            HARKNESS             OK          90002433611
2837153999189B   MERCEDES         REVELS               OK          90014015399
2837171A691356   ROYCHELL         CARTER               KS          90013427106
28371818A81646   LEVANDER         MAYO                 GA          90009018180
2837184129184B   VERONICA         CAMARENA             OK          90010718412
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2837274487B468   JESSICA        HELMES                 NC          90004527448
2837326A32B232   DIANE          DAVIS                  DC          81016372603
283739A4472B42   JOEL           CHAIDEZ                CO          90012029044
2837424132B264   LEON           WILKERSON              DC          90012252413
28374715274B56   JESSICA        CHAPMAN                OH          90010987152
2837494825B161   TERENCE        CALLIHAN               AR          23076829482
2837512575B271   ELIZABETH      WHITE                  KY          90008911257
2837541944B261   JULIO          GARCIA NUNEZ           NE          90013924194
2837654AA51328   MEGAN          NICHOLS                OH          90014995400
283765A8172B88   JAVIER         PALOMINO               CO          90014735081
283768A8172B29   GRETA          CHAVEZ HERNANDEZ       CO          33071868081
2837741854B988   ERIC           BARTHOLAMEN            TX          90014154185
2837753312B892   BELEN          GARCIA                 ID          90010875331
2837799419189B   AARON          JOHNSON                OK          90009859941
28378294872B29   KYLE           SIGNS                  CO          33098682948
2837893824123B   GEORGE         MISLANOVIH             PA          90004959382
2837B396291241   STACY          STRICKLAND             GA          14584443962
2837B6A419155B   AVANTE         PLUMBING               TX          75001616041
2838158214B588   DYLAN          CANALES                OK          90011965821
28383569A5B271   RICHARD        MADDOX                 KY          90014535690
283835A189184B   ROGER          MIKLES                 OK          90013015018
2838399749184B   GUISELA        OROZCO                 OK          90013839974
28383A99A9184B   ROGER          MIKLES                 OK          90013840990
2838423569184B   IRENE          TRINIDAD               OK          21009052356
28384532A91592   ARLENE         BYNUM                  TX          90008915320
2838493915B571   FRANCES        ROMERO                 NM          35019079391
2838496244B551   BILLY JR       BURKS                  OK          90013829624
28385356672B88   JARIN          SUDDRETH               CO          90011693566
28385825A5B161   SAKEYSHA       HUNTER                 AR          90001688250
28385A79472B29   TIFFANY        BYRD                   CO          90015030794
28385A9994B261   SHAWN          SHELY                  NE          27020070999
28386A76451344   PATRICIA       SCRAIN                 OH          90001540764
2838758A87B449   OTIS           HEMPHILL               NC          90001705808
28387A31991833   WILLIAM        WORKMAN                OK          90012780319
2838B438A91828   LESLIE         PALAFOX                OK          21006434380
2838B477731453   NEKETIA        FULTON                 MO          90014694777
2838B654457157   MATTHEW        THOMAS                 VA          90013226544
2839154124B596   TASHARA        WRIGHT                 OK          90012655412
2839316357B449   MARY           LOPEZ                  NC          90014131635
2839373A87B471   DOREEN         GOVERO                 NC          11091397308
28393A13681633   ASGHAR         JAVADI                 MO          90012480136
28393A63386438   EUGENO         VELASCO                SC          90014120633
2839476565B271   NOVELLA        ANTHONY                KY          90005267656
2839524895B571   STEPHANIE      SANCHEZ                NM          90008352489
283962A1A91828   HERMELINDA     MOLINA                 OK          21080252010
283969AA44B261   KELSEY         SCOTT                  NE          27008929004
28396A64957157   KRISTEN        BRUNNGRABER            VA          90008960649
28397155A5B571   ROBERT         RAMIREZ                NM          90012571550
2839736559189B   ANGELA         MCDONALD               OK          90000913655
2839749A291828   ZENZAL         ALSTON                 OK          90004234902
2839812159184B   ED             JAMISON                OK          21001261215
2839853837B449   MARIA TERESA   CHAVEZ BERNAL          NC          90014105383
28398A23A31433   LESLIE         LOPEZ                  MO          27556330230
2839967168B166   CYNTHIA        HARPER                 UT          90014656716
2839996994795B   LAURA          BARELA                 AR          25013259699
283999A8631631   RONNIE         PHILLIPS               KS          90000629086
2839B15987B449   IVAN           RIVERA                 NC          90001841598
2839B599272B42   BEVERLY        SCOTT                  CO          33095475992
283B116A691828   ANGELINE       DRAKE                  OK          90012611606
283B137245B571   MARIA          CASTILLO-NEVAREZ       NM          35076393724
283B1566A4795B   SAMUEL         LOPEZ                  AR          25033815660
283B185289189B   TYLISA         MORRIS                 OK          90013848528
283B1A7117B471   DETRIA         HARRIS                 NC          11014320711
283B1AA6891241   TANYA          GADSON                 GA          90014790068
283B227454B592   KRISTI         PEREA                  OK          90015252745
283B2318891833   SUSAN          PAINE                  OK          21019113188
283B2853891828   DARIN          WOLFF                  OK          90014898538
283B3613161925   CLAIRE         CORADO                 CA          90001936131
283B3696391828   JIMMY          DALE                   OK          90014396963
283B411779189B   MONTE          BROWN                  OK          21072751177
283B416A24B588   NIKOLYA        BROWN                  OK          90011171602
283B4787391828   KATHERIN       BREWER                 OK          90012597873
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283B483217B449   TERENA          DUMAS                 NC          90014258321
283B4991A51328   ANGELA          HARRIS                OH          90004089910
283B523552B27B   RILDER          TERRERO               DC          90013662355
283B587754B588   ASHLEY          GREESON               OK          90009918775
283B6194876B69   MARIA           SUAREZ                CA          90009101948
283B621164B281   AKPOKLI         FLODO                 NE          90002122116
283B6373A8B159   MEGAN           HEAPS                 UT          90008153730
283B6496291592   SOCORRO         TRUJILLO              TX          90012814962
283B6939472B88   ARTURO          LOPEZ BENITEZ         CO          90014049394
283B716432B27B   RUQUYAH         AHMAD                 DC          90007871643
283B8641572B88   LUIS            MURO                  CO          90013926415
283B9138991833   SHAYA           ZWIRTC                OK          90014921389
283B9394191828   JOHN            KING                  OK          90014883941
283B967989184B   JEFF            CLAYBOURN             OK          21057126798
283B973577B449   CHRISTIAN       PONCE                 NC          90014097357
283B997A191592   VICTOR          HERRERA               TX          90013429701
283BB277A3B35B   LORENZO         FERRER                CO          90007782770
283BB46784B261   MICHAEL         MERCER                NE          90014874678
283BB567791528   GEORGINA        RUIZ                  TX          90005715677
283BB639572B29   ELMAR           MONTENEGRO            CO          90015046395
2841251549189B   ANGELA          DOWELL                OK          90004255154
2841334474B588   YOLANDA         CASAS                 OK          90011363447
2841414A591833   BRIAN           FAIR                  OK          90000241405
284144A359794B   SOTERO          CISNEROS              TX          74021064035
28414565A31453   BRITNEY CHRIS   MILES                 MO          90014695650
2841463619155B   VIOLA           LASCANO               NM          75083876361
2841494775B271   JULIUS          GREEN                 KY          68014099477
28415523572B88   AARON           VALDERAS              CO          90014735235
28415911A91828   ROSA LINDA      GAMBOA                OK          21026319110
28416565A31453   BRITNEY CHRIS   MILES                 MO          90014695650
28417523572B88   AARON           VALDERAS              CO          90014735235
28417622A81633   ROBERT          BRAUSE                MO          90014176220
2841824369189B   PAYGO           IVR ACTIVATION        OK          90014362436
28418348572B88   ISIDRO          PEREZ                 CO          90012033485
2841982A931453   RAQUEL          DASILVA               MO          27596598209
28419A64685991   NORMA           PALACIOS              KY          66044860646
2841B346491241   ERICK           POWELL                GA          14593863464
2841B415A5B161   JOSE            VILLALVA-MORALES      AR          90000944150
28421358A85991   BRYAN           BEAL                  KY          66011163580
28421461972B88   STACY           BENNER                CO          90012204619
2842148A172B42   PATRICIA        ROBLES-ROBLES         CO          33056974801
284215AAA9189B   KENNETH         HIBBS                 OK          90014175000
2842189239184B   HEILEY          DEFFLER               OK          90011068923
2842198227B449   KENTERLL        LITTIE                NC          90014519822
28421A8324B588   CATHERINE       ESPERE                OK          90011510832
2842312529184B   JESSICA         HANNAFORD             OK          90012731252
2842359A372B42   GRISEL          VARGAS                CO          33003945903
2842485815B271   ROBIN           LEE                   KY          90013598581
28425541176B69   VERONICA        MARES                 CA          46022745411
284255AA181633   TAMMY           ROGERS                MO          29025385001
2842562712B27B   GARY            LOVE                  DC          90013976271
2842584569794B   PAM             CHMELAR               TX          74020918456
28426496772B88   MUGAMBI         KITHAMA               CO          33049464967
28426A7A65B571   JASON           BROOMFIELD            NM          90011720706
2842714A591833   BRIAN           FAIR                  OK          90000241405
2842752754B281   DANIEL          BEERMAN               NE          90014355275
2842782424B588   LINDA           COLLINS               OK          90015188242
284285A1785991   KRISTIN         MONACO                KY          90006705017
28428724172B88   REBECCA         SUSAN GUTIERREZ       CO          33091867241
28428A2753B333   ELIZABETH       OJEDA                 CO          90011070275
28429145A91881   BRANDON         SILAS                 OK          21001311450
284291A3241245   KAREN           MAGLICCO              PA          51092641032
2842933749376B   DANIELLE        HOSKINS               OH          90012433374
2842933A291592   RAYMOND         SANCHEZ               TX          90013313302
2842998272B27B   ROBERT          JONES                 DC          90007969827
2842B112A91833   JASON           GALLAGHER             OK          90009391120
2842B193231631   SCOTT           BEHRENT               KS          22004331932
2842B23169189B   EVANGELINE      NEWTON                OK          90007882316
2842B524672B88   ROXANN          PADILLA               CO          90014735246
2842B554381633   DIANA           GOMEZ                 MO          90011475543
2842B56985B271   JOSE            JIMENEZ               KY          90013055698
2842B7AA491547   CLAUDIA         DE LEON               TX          90010137004
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2842B96437B471   APRIL        ROGERS                   NC          90004149643
28431AA9191592   MANUEL       SILVA                    TX          75050660091
284321A5657157   LEONIDAS     HERNANDEZ                VA          90014531056
2843237324B988   MICHAEL      THOMPSON                 TX          90015513732
28432693A5B271   ALOOR        KUAL                     KY          90014416930
28432957A91828   ARDELIA      JACKSON                  OK          90010059570
28434213972B29   BERTHA       HERNANDEZ                CO          90005492139
28434572A4B588   RODGER       MARSH                    OK          90014885720
2843511A84B261   RACHEL       SOLBERG                  NE          27028631108
2843541615B571   ODELIA       BACA                     NM          35074374161
2843682949184B   AGELINA      MARTINEZ                 OK          90009818294
2843689A491592   CARMEN       SERRANO                  TX          75097528904
28436914A91542   JESUS        CORTEZ                   TX          90009839140
2843712378B153   MARK         LINDQUIST                UT          90004541237
28437849A31631   MARY         HOLLUMN                  KS          22011848490
2843858832B27B   NIGEL        BELMAN                   DC          90014725883
2843947154B261   DAVID        TORRES                   NE          90010774715
28439797372B88   RAINA        DELGADO                  CO          90001627973
2843985585B271   NOELVIS      GARCES                   KY          90013218558
2843B22224B588   MONA         ARNOOD                   OK          90015472222
2843B22A957157   RAMON        VASQUEZ                  VA          90010412209
2843B313891592   LUIS         RIOS                     TX          75019163138
2843B568441245   KIMBERLY A   SPRIGGS                  PA          51044055684
2843B578297B4B   MARISOL      BETANCOURT               CO          90012615782
2843BA25931453   TIAUNA       HUNTER                   MO          90014050259
2844125595B571   DENISE       COLLINS                  NM          35007092559
284418A9991356   SHANTEL      RICHARDSON               MO          90009538099
28442135572B29   CONNER       GRIFFIN                  CO          90006771355
2844238A431631   REBECCA      BARNETT                  KS          22076103804
28443161A5B571   ELEAZAR      IXMATLAHUA               NM          90011721610
28443344872B42   ADELAIDO     PEREZ                    CO          90014003448
2844354A35B271   JASON        HAYDEN                   KY          90012525403
2844354A82B27B   DEVONTE      WHITE                    DC          90015165408
2844386425B571   PHILLIP      SANDERS                  NM          90012838642
28443A64557157   KEITH        ABEL                     VA          90014550645
28444171A91547   JESSIE       HUERTA                   TX          90011211710
284445A6585965   JULIE        WRIGHT                   KY          66060835065
28444746A81637   TATIANA      LAURY                    MO          90000917460
2844554525B271   JORDAN       FULLER                   KY          90014565452
28446527572B88   MARITZA      HERNANDEZ                CO          90014735275
2844787524B588   SHANNON      BRACKETT                 OK          90005328752
2844912754B588   RICHARD      CONWAY                   OK          90009951275
284496A8884342   AMIN         MALDONADO                SC          90005156088
2844B979672B42   RACHEL       SNYDER                   CO          33066419796
2845128A957157   JEFF         BATTIS                   VA          90011242809
28451A34A51328   KEVIN        OHLER                    OH          66003640340
2845232A631453   NICOLE       YOUNG                    MO          90002223206
2845284AA2B27B   GABRIELLA    EDWARDS                  DC          81088848400
28453869872B88   BROQUELL     ARGUELLO                 CO          90003138698
28454529A4B521   LEONARDO     GRANADOS                 OK          21584305290
28454696872B88   LAVONNE      EVENS                    CO          33020496968
2845546455B271   ROBERTO      GARCES                   KY          90009904645
28455766A72B29   PABLO        GALVAN                   CO          90011277660
28456137172B42   GAIL         VELARDE GUERRERO         CO          33082541371
28456979772B29   CARINA       RENTERIA                 CO          90000239797
2845779912B27B   PERCELL      RYLAND                   DC          90015277991
28458756572B88   EXZERT       WATSON                   CO          33000397565
2845886112B27B   DEMARCO      HASKINS                  DC          90012808611
2845952645B571   REYES        APARICIO-REGALADO        NM          35024105264
2845B2A9857157   JAIME        FLORES                   VA          90002602098
2845B459381633   SUNNY        SNODERLY                 KS          90013154593
2845B9A7731453   CRYSTAL      RICHARDSON               MO          90007509077
2846219545B571   JORGE        GONZALES                 NM          35056921954
2846281829184B   RAUL         GONZALEZ                 OK          90012188182
2846311553B35B   MADOSHI      KAMARA                   CO          90001711155
2846473919189B   CARMEN       NAVARRO                  OK          21015337391
28465371672B29   NOE          DUENAS                   CO          90015043716
2846549564B281   ELENA        ORNELAS                  NE          27036734956
28465693772B42   SOLOMON      VASQUEZ                  CO          33038426937
28465787172B88   ANTHONY      GONZALEZ                 CO          90008507871
2846623452B27B   RUTH         BAYLOR                   DC          90012992345
2846681954B988   JAMI         MCLAUGHLIN               TX          90002868195
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284684A4372B88   OLIVIA             CONTRERAS          CO          33042324043
2846851374B581   LAKESHIA           LOVELESS           OK          21594655137
28468812872B29   FELICIA            WILLIAMS           CO          90015058128
28469328872B42   RACHELLE           CAMACHO            CO          33097473288
2846995194B588   LAURA              IBARRA             OK          90008539519
28469A7687B449   PATRICIA           THOMPSON           NC          90015150768
2846B1A2291356   NICHOMI            DODDS              KS          90004911022
2846B41899189B   JENNA              DEMOPOULOS         OK          21095384189
2846B51355B571   HOLGA              CARRILLO           NM          90013915135
284723A4291528   CHRISTINA          VALDEZ             TX          90010913042
2847267627B362   GIOVANA            CHANG              VA          90012906762
2847282A79184B   STEPHEN            MILLER             OK          90015278207
2847351144B588   PERLA              SALAZAR            OK          90008785114
28473969872B86   DAGOBERTO          GONZALEZ           CO          33020129698
28473A4969155B   VIRGINIA           RODRIGUEZ          TX          90011960496
28474151172B29   ROMINA             RIOS               CO          90003071511
2847442644B988   BETHANY            CHRISTMAN          TX          90015254264
2847479814B261   PATRICK            MARION             NE          90010447981
2847528994B281   MICHAEL            MILLER             NE          90011792899
2847613A191547   MIGUEL             VELA               TX          90012521301
284766A4991547   MARIA              RAMIREZ            TX          90012546049
28477A4514B261   KELLEY             SANDERS            NE          27096530451
28479188A9184B   BOSTON             HARDEMAN           OK          90003931880
284793A479155B   PETE               ARNDT              NM          75015003047
2847B469591933   DAVID              WILLIS SR          NC          90000394695
2847BA58591828   DEBORAH            FAULK              OK          90008410585
2848241995598B   PERNELL            LONG               CA          90009394199
2848278584B261   ROBERTO            SABALE             NE          90012927858
284828A455B271   NICOLE             BURNS              KY          68064968045
28483625A72B88   KASIE              MEMMER             CO          33086446250
2848451AA91828   NIXON              LOPEZ              OK          21094025100
2848471395593B   EDWARD             CANELA             CA          90008037139
2848476194B588   CATRINA            WEATHERFORD        OK          21503047619
2848496A39189B   KAREN              LEDBETTER          OK          21089389603
28484AA2981633   CARLEDA            SANCHEZ            MO          90013860029
2848566A62B27B   FRANSWAU           BROWN              DC          90012046606
28486312672B88   JORGE              RODRIGUEZ          CO          90012763126
2848675134B521   SARA               FENDER             OK          90006937513
2848675872B892   MICHAEL            MORRIS             ID          90013437587
2848691552B27B   GJHB               TDYFRXT            DC          90012809155
2848755974B261   VIRGINIA           CATOB              NE          90009415597
2848788824B281   MIKEISHA           RUSSEL             NE          90009998882
28489867372B29   LEYLA              KHAMESIPOUR        CO          33015738673
2848991675B271   AMBER              THOMAS             KY          90010519167
2848BA3AA76B69   JUANA              MUNOZ              CA          90012440300
2849163884B261   SERVANDO           PERALES            NE          27081686388
2849188745B271   CARRIE             BODEMANN           KY          68039888874
2849237AA91828   MARIA DE ROSARIO   LEDEZMA            OK          90009233700
284939A4257157   ANGELINA           BEMBRY             VA          90010719042
2849425A972B29   DEANNA             BARAJAS            CO          90008342509
284945A1891592   HILDA              ALFARO             TX          75005565018
28494989A7B449   EBER               NOLASCO            NC          90014679890
2849499825B271   MARY               HOLT               KY          90013509982
28494A52181638   ANDRE              ROBINSON           MO          90001010521
28494A82991828   JOSE               TORRES             OK          90012040829
28495362A85965   CELIA              PEARSON            KY          66055523620
2849542A87B449   JERRY              STRANGE            NC          90012814208
2849544719184B   BREANN             HARRIS             OK          90014514471
28495614A72B29   BRIAN              LEWNO              CO          33015626140
284962A794795B   CHRISTINA          CROSSLAND          AR          25033122079
2849713474B261   SHYLA              MARTINEZ           NE          90014171347
2849725769184B   RICHARD            SCOTT              OK          90012882576
2849772A885875   ERIC               TAJANLANGIT        CA          90010067208
2849926314B588   ANDREA SIMONE      THEUS              OK          90014502631
2849927359189B   DARCY              ALEXANDER          OK          21023112735
2849995582B27B   PETER              CHANG              DC          90015229558
28499A92776B56   GLORIA             LIMA               CA          90014290927
2849B151491547   CHRISTOPHER        TREVIZO            TX          90012521514
2849B37145B571   CHRISTINE          GARCIA             NM          90011163714
2849B3A3131453   AARON              VICKENS            MO          27561703031
2849B53214B588   GLENN              RAY                OK          90015315321
2849B61A79189B   KATHERINE          JONES              OK          90002696107
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2849B64454B988   DANIEL       LOZANO                   TX          76595956445
2849B944772B88   JUSTIN       DEBACA                   CO          90014049447
2849BA3774B588   EMILY        RITTGERS                 OK          90013540377
284B1397357157   AMANUEL      MEKURIA                  VA          81051303973
284B28A2A5B161   ALINO        FIELDS                   AR          90001258020
284B312769184B   VICTORIA     SHAFFER                  OK          90012721276
284B3269531453   LETONYA      BELL                     MO          27512992695
284B3545691833   BILL         COX                      OK          90014515456
284B3A78257157   SANDRA       SYKES                    VA          81018410782
284B4269531453   LETONYA      BELL                     MO          27512992695
284B517A976B53   MARIO        RUIZ                     CA          90001471709
284B5268791241   ROBIN K      MCCALLAR                 GA          90010162687
284B547824B588   MICHELLE     REEVES                   OK          90008824782
284B5682785991   KAREN        ROSS                     KY          66031166827
284B634769184B   KATRINA      GEATCHES                 OK          90014413476
284B6716372B29   FRANCISCO    URIAS                    CO          33004237163
284B697A591528   VICKY        BARRON                   TX          90007769705
284B713825B571   LINDA        SANDOVAL                 NM          90009331382
284B8442891547   GUILLERMO    MARTINEZ                 TX          75020604428
284B8679691542   CARLOS       VAZQUEZ GARCIA           TX          90007296796
284B8881291356   PAYGO        IVR ACTIVATION           KS          90014728812
284B937779189B   TOMM         JOHNSON                  OK          21063153777
284B9847381633   JASMIN       CRUZ                     KS          29034898473
284B9A9769184B   WENDY        SKIDGEL                  OK          90008970976
284BB79235B571   JOSE LUIS    LOPEZ                    NM          90011717923
284BB989172B88   DANIELA      SALAIS                   CO          90008659891
285112A994B261   DAVID        HEARN                    NE          90002562099
2851139A45B161   JACQUALINE   OVERSHON                 AR          90005573904
2851191984B588   FELIPE       GARCIA-CANDIA            OK          90012639198
2851223825B571   JOSEPH       HAYNES                   NM          90001492382
285123A792B27B   DAVID        HARIS                    DC          90004803079
285125A7A9794B   CHRISTELLA   SAENZ                    TX          74009325070
2851341A15B571   DANA         CADENA                   NM          35005234101
2851537845B571   WOOD         ROYAL                    NM          90011123784
2851547369189B   LATOSHIA     KELLEY                   OK          90014694736
28515843A91592   ANITA        RAMOS                    TX          90005238430
28515A2493B39B   STEVEN       PERRY                    CO          33049340249
2851636A55B271   DONALD       BURTON                   KY          90007383605
2851653752B27B   ROBERT       MILLENDER                VA          81049665375
2851684723B356   RALPH        SPARKS                   CO          90004898472
28516A8A657157   TIM          JOHNSON                  VA          90013020806
2851739755B271   JORGE        RODRIGUEZ BERNAL         KY          68046633975
2851824949184B   TERESO       ESPARAZA-DURAN           OK          90013722494
28518362A4B988   CYNTHIA      ABRAM                    TX          90012293620
2851876644B988   STEPHEN      ALLEN                    TX          90013887664
2851883425B161   YOLANDA      HALL                     AR          23089778342
28518921672B61   SIGFREDO     QUIJADA                  CO          90008289216
2851893454B588   VALENTE      IBARRA                   OK          21581079345
28519963672B61   CARMEN       GUTIRREZ                 CO          90008289636
2851B6AA331453   ALICIA       CALHOUN                  MO          90014706003
2851B794685991   DERRICK      SMITH                    KY          90006797946
28521A9A555921   RENE         ESCARCEGA                CA          90012990905
28522A52881633   TONISHA      COUSER                   KS          29066310528
2852412885B271   TYREE        TOLLEY                   KY          90013271288
2852436665B271   TYREE        TOLLEY                   KY          90011373666
28524416A72B29   JUAN         SANDOVAL                 CO          90006764160
2852444A872B88   NICOLE       MAGANA                   CO          90007154408
2852447489184B   JEREMY       BRADBURN                 OK          90013724748
2852469189184B   WILLIE       MYERS                    OK          90011516918
2852541A172B88   TIKA         WALKER                   CO          90006984101
285254A5191833   SIR          JOHNSON                  OK          90010504051
285265A922B27B   QUINCY       BAIRD                    DC          81038865092
28526857672B29   CHANEL       CHABLIBRATTON            CO          33015628576
285268A4372B42   BRITTNAY     MANTYCH                  CO          90011008043
28527117A31453   HEATHER      LOWE                     MO          90005111170
2852756A19189B   BLAHO        SINGER                   OK          90014315601
2852763264B281   GELISA       MILLER                   NE          90013266326
2852785745B571   DAMIEN       SAAVENDRA                NM          35035208574
28528358472B88   ROBERT       TRUJILLO                 CO          90000783584
285288AA39189B   JACOB        PALMER                   OK          90010748003
285297A5291534   MARIA        CALANCHE                 TX          90012737052
28529A48257157   MAURICIO     ALVAREZ                  VA          90011250482
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2852B665831631   KIMBERLY      NEWTON                  KS          22026146658
2852B97582B27B   JOSE          SALVADOR                DC          90012809758
2853125A75B161   REGINALD      BONNER                  AR          23000232507
2853249674B988   KELLY         HINSON                  TX          90013634967
2853428455B571   RAFAEL        BARRAZA                 NM          90014632845
28534A45191528   ALEJANDRO     MONTELONGO              TX          90003290451
28534A8A791828   JEREMY        PARKER                  OK          90009120807
2853516479184B   BRYANT        ADAME                   OK          21094981647
2853519834B281   ANDRAE        TAYLOR                  NE          90010211983
2853548354B988   BRITTNEY      SMITH                   TX          90000614835
2853696729155B   ROMERO        YADIRA                  TX          90006709672
28536979972B42   ZACK          WALSH                   CO          33041559799
2853718995B161   VENUS         JOHNSON                 AR          23073731899
28537375A91828   JENIFER       BARRETT                 OK          90012783750
2853759672B27B   BRADERICK     FARMER                  DC          90014725967
2853843597B449   ZENAIDA       GONZALEZ                NC          11008794359
28538842572B88   JOSE          HERNANDEZ               CO          33077708425
2853894675B271   JENNIFER      MURELL                  KY          68006839467
285389A782B841   GEORGE        JIMENEZ                 ID          90014709078
2853961724B281   MARY          MULDER                  NE          90014156172
2853966725B271   ANDERSON      COLEMAN                 KY          68071636672
2853B24577B449   GLENNA        BENJAMIN                NC          11049772457
2853B655672B88   ELIA          TRUJILLO                CO          90013926556
2853B845681633   MARK          WINTERS                 MO          90015378456
2853B86337B471   RHONDA        TINDAL                  NC          90000868633
2854196729155B   ROMERO        YADIRA                  TX          90006709672
2854229225B255   RUTH          LINN                    KY          90002712922
28542487A9155B   ISAIAS        GUTIERREZ               TX          90011034870
2854252739184B   CINDY         DELOSSANTOS             OK          90003935273
2854363559184B   RENEA         HARRALL                 OK          90006206355
2854396A64B281   JOSE          GUTIERREZ               NE          90004989606
285439AA25B333   REGINO        MALDONADO               OR          90011419002
28543A23557157   TONYA         SULLIVAN                VA          90007750235
28543A37A4B588   APRIL         BRAVO                   OK          90012370370
28544224A9189B   LORENA        MUNOZ                   OK          90003302240
28544382A72B88   NEIL          BENSON                  CO          33016533820
2854493714B988   ALVIN         CHILDRESS               TX          90010039371
2854497974B588   JENNISER      HOWE                    OK          90000609797
2854578855752B   KELLY         SMYER                   NM          35571577885
28545A6954B588   TYANN         PEAVEY                  OK          90006090695
2854658159184B   WESLEY        JOHNSON                 OK          90012615815
2854717359189B   DEBORAH       NELSON                  OK          90011431735
28547651A4B588   VALARIE       CARTER                  OK          90012476510
2854775A272B88   BIMMER        TORRES                  CO          33052957502
28548295372B88   LINSAY        LEMMER                  CO          90012702953
28548348A91528   TERESA        SALINAS                 TX          75061263480
285487AA18B137   DENNIS        WEIGHT                  UT          31023337001
2854945614B588   SANDRA        MARTIN                  OK          21590804561
2854B218461931   ROBERT        WILLIAMS                CA          90008712184
2854B61735B161   MARIA         TADEO                   AR          23002906173
2854B63972B27B   LASHAWN       NOBLES                  DC          90013186397
2855171989189B   TJ            COVINGTON               OK          90009987198
2855181185598B   SERGIO        ACEVEDO                 CA          48082788118
28551A53457157   JAMES         GUNN                    VA          90010490534
2855283212B931   DONNA         DIXON                   CA          45069868321
2855297614B588   LUKE          EDWARDS                 OK          90003449761
285547A6731453   ANTOINEK      BANKHEAD                MO          90014707067
2855571A631453   CHRISTOPHER   SHINALL                 MO          90014707106
28556363A5B571   ASHLEY        SGALA                   NM          90002963630
2855662A99794B   SHAWN         JENKINS                 TX          74086866209
28556A5A872B88   MICHELLE      TAFOYA                  CO          90009520508
2855726344B588   TAMMIE        TURNER                  OK          90010342634
2855734A481668   MARLA         BANKS-HENSLEY           KS          90013813404
2855829255B271   BEVERLY       THOMAS                  KY          68036412925
28558A98191356   VALERIE       RUIZ                    KS          90013640981
2855943259794B   ALFONSO       TAJIBOY                 TX          74024734325
28559548A2B27B   MATTHEW       CASEY                   VA          90015085480
285599A285B271   LATASHA       WISE                    KY          90001569028
2855B143691547   JULISSA       AYALA                   TX          90012521436
2855B297576B69   LEILANI       SILVA                   CA          46006722975
2855B62A691833   SUMMER        TAFOYA                  OK          90009456206
2855B898631453   CHRISTINA     PLUMMER                 MO          90014718986
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2855BA23557157   TONYA        SULLIVAN                 VA          90007750235
28561237A72B42   DEZZERAE     VIGIL                    CO          90010222370
2856177949184B   JAMES        SIMMS                    OK          90009477794
2856179595B571   GUADALUPE    NUNEZ                    NM          90007967959
2856187A331433   MICHAEL      JOHNSON                  MO          90008648703
285618A667B449   JESICA       GUTIERREZ                NC          90014108066
2856292815B161   SANDRA       CONLEY                   AR          23065919281
28562A21936B77   CRISTENA     ORELLI                   OR          90005520219
2856417729184B   EDITH        KEASLING                 OK          90013871772
2856527664B988   RODNEY       PUGH                     TX          90008192766
2856557A44B281   REGINA       MINTON                   NE          27003215704
285664A765B161   COURTNEY     FAVALORA                 AR          23069374076
2856683A69184B   CHRISTINA    CRAWFORD                 OK          90013118306
2856745332B27B   RENEE        JACKSON                  DC          81014974533
28567828A9184B   TRISTA       MATHEWS                  OK          90014788280
2856792A481633   ALAN         SHARP                    MO          90013629204
28567AA514B988   KENNETH      MAYFIELD                 TX          90007650051
28568454672B29   STEVEN       SHELTON                  CO          90010644546
285685AA276B69   JUAN         MONTELONGOS              CA          90009475002
2856884147B449   VICTORIA     KELLER                   NC          90014148414
28568851A91547   BERNADETTE   BARBA                    TX          90009628510
28569618872B42   DOUGLAS      DOHMAN                   CO          90009946188
2856B44144B588   ARACELY      APODACA                  OK          21553824414
2856B763231453   RASHEID      BROWN                    MO          90014707632
2856B776A61992   RUBEN        ROLDAN                   CA          90002417760
2856B882491592   MARISOL      RODRIQUEZ                TX          90010738824
28571398A4B988   PERCY        ALLEN                    TX          90012203980
2857155782B27B   ALBA         CASTRO                   DC          90011245578
2857163674B588   ARELY        GUZMAN                   OK          90015066367
2857288515B271   JOYCE        PEARSON                  KY          68024198851
2857338612B27B   JOSE         VARGAS                   DC          81014803861
2857359545B571   PATSY        HOLMES                   NM          90013075954
2857396984B588   TAMMIE       BRISCOE                  OK          90009479698
28573A65657157   FREDYS       SIGARAN                  VA          90012920656
28574423A2B841   JORGE        TORRES                   ID          90009244230
28574488A9184B   ACEY         NEWMAN                   OK          21075064880
285756A5891592   JONATHAN     FLORES                   TX          90009956058
285759A377B494   TAQUE C      THOMAS                   NC          90005909037
285761A3681637   EDIN         GARCIA                   MO          90009151036
28576562572B42   BARBARA      EDWARDS                  CO          33037935625
28576672A2B27B   JASON        RICHARDSON               DC          90008376720
28577213372B29   ALEJANDRA    TORRES                   CO          90001712133
28577882A31453   TERRY        SCHNELTING               MO          27505248820
28578388772B29   PALMER       DAN                      CO          90009543887
2857899719184B   GARY         CARSON                   OK          90010189971
28579435572B42   RONDA        SIMPSON                  CO          90014344355
2857999A172B88   VICTORIA     BARD                     CO          33004359901
28579A72691592   OSCAR        AVILA                    TX          75013900726
2857B34724B281   BRANDON      STARKS                   NE          27086933472
2857B919891528   NANCY        SALDANA                  TX          75081339198
28581975A4B988   ARES         ETEMADI                  TX          90010359750
28581A3843147B   ROBERT       MCNEAL                   MO          90006050384
28583851A81638   JOWANA R     JOHNSTON                 MO          90007228510
2858485124B588   KRISTINA     WILLIAMS                 OK          90014928512
28584A8664B988   WILLIAM      NIXON                    TX          76506720866
28584A9789184B   LISA         CLAGG                    OK          90011320978
28585361A5133B   SHERRI       MOERMOND                 OH          90007643610
2858586337B471   RHONDA       TINDAL                   NC          90000868633
2858737775B571   ANDREA       DIMAS                    NM          90014633777
285875A5691833   JARRET       SOETEN                   OK          90013345056
2858774137B449   LAURA        HAGER                    NC          11031977413
28587A1397B471   CHARLINE     BURROUGH                 NC          90007630139
285887A424B521   LEHMAN       BOYCE                    OK          90001327042
28588856272B88   SHANTELE     MITCHELL                 CO          90008508562
2858924A592864   VICTOR       COTA                     AZ          90015312405
2858B233691833   DANICA       CAMPOS                   OK          21097802336
2859137A35B571   MONICA       BENCOMO                  NM          90012563703
2859157224B588   SHEVON       KENDRA                   OK          90011055722
2859223367B471   HORACE       DUGGINS                  NC          11002532336
2859313589189B   COURTNEY     STOUT                    OK          21027491358
2859326724B588   LAPERCIOUS   MOORE                    OK          21510142672
28593723444B75   PATRICK E    FLANAGAN                 OH          90014007234
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2859415A64B588   BARRY         BIGLOW                  OK          21566231506
2859448A89184B   NORMA         MERIDA                  OK          90015094808
285949A6372B42   KELLY         JOHNSON                 CO          33083269063
2859513234B588   ALEXANDER     DAVIS                   OK          90014731323
2859632295B571   PHILLIP       AVILA                   NM          35086353229
2859645654B261   JOHN          OCONNOR                 NE          90013524565
28596A7934B988   ALBERTO       ENRIQUE                 TX          90013940793
28596A8A572B42   JAMES         ALARID                  CO          90009320805
2859711695B257   PAMELA        WEDDINGTON              KY          90003381169
2859728395B271   TANIKA        ROGERS                  KY          90010522839
28597A39697B4B   DENNIS        PFOHL                   CO          90000310396
285982A975B271   JOE           THACKER                 KY          68049002097
285991A9471923   ERIKA         DEVINS                  NV          38065281094
2859956554B281   JULIA         DAVIS                   IA          27041625655
2859B233157157   PAOLA         PACHECO                 VA          90010502331
2859B37A35B571   MONICA        BENCOMO                 NM          90012563703
2859B56814B588   SAMUEL        QUIJAS-TORRES           OK          90010875681
2859B77AA9152B   ADANESNE      PACHECO                 TX          90004947700
285B12A142B27B   DONNA         HOUGH                   DC          90014652014
285B194755B271   DEBRITA       WELLS                   KY          90013779475
285B1966372B88   CHRISTOPHER   ZAVALA                  CO          90014169663
285B222814B588   HELEZETTA     WILLIAMS                OK          21540602281
285B2526391547   GISELA        MONTOYA                 TX          90014685263
285B2725781638   VERONICA      GONZALEZ                MO          29013567257
285B286A991833   SHEILA        WILSON                  OK          90013888609
285B2883672B29   TODD          JOHNSON                 CO          33084748836
285B2896257157   UNDRE         DRAWN                   VA          81011668962
285B2957A91828   THALIMIKA     FORBES                  OK          90010339570
285B311A84B261   RACHEL        SOLBERG                 NE          27028631108
285B4571591833   LUSRETIA      BARRIENTOS              OK          90007235715
285B4861391592   MAYRA         VELAZCO                 TX          75054078613
285B511685598B   JOSE          GARCIA                  CA          48012291168
285B5396672B42   DAVE          DAVIDSON                CO          90010153966
285B564255B571   DESTINY       MARTINEZ                NM          90011886425
285B6142991547   UNI           HAN                     TX          90012521429
285B644735B571   DEBORAH       JONES                   NM          35028504473
285B673884B281   JILL          SHRADAR                 NE          27004787388
285B744944B521   HENRY         HUTCHINSON              OK          21555434494
285B7716591592   EDGAR         CHAVEZ                  TX          90014927165
285B816549189B   PATRICIA      AKERS                   OK          90013831654
285B837524B588   PAYGO         IVR ACTIVATION          OK          90012573752
285B947525B161   KATHERINE     HOPPER                  AR          90009864752
285B9641691534   ADRIAN        GONZALEZ                TX          90010916416
285B973969184B   CARLENA       LITTLEHEAD              OK          90015147396
285B9813A91592   JEANETT       GANDARA                 TX          90012868130
285B988252B27B   TREVON        LINDSEY                 DC          90014798825
285BB653A2B27B   NAJI          COPELAND                DC          90001436530
28611772A85991   MATHEW        DAVID                   KY          90006887720
2861182259189B   ANTONIA       TORRES                  OK          90015038225
28612548A9155B   CHRIS         SALDANA                 NM          75047065480
28613895972B42   CHRIS         MARQUEZ                 CO          33035728959
2861433669184B   RHEA          SMITH                   OK          90014563366
28614441A7B449   NAILAH        CAREW                   NC          90013164410
28614A9169184B   JEWEL         ANDREWS                 OK          90014610916
28615692172B42   GERALD        SMITH                   CO          33093176921
28615697672B88   VIOLET        LEMOINE                 CO          90013926976
286168A324B281   SHANNON       DURKAN                  NE          90012338032
28616A18141245   AMANDA        ROY                     PA          51010890181
2861737659189B   ERIKA         FERGUSON                OK          90014263765
2861776834B588   DENISE        ELIX                    OK          90007447683
28617A6167B449   DEMAROUS      NASH                    NC          90011000616
2861843234B588   CHERI         CAIN                    OK          90013694323
28619543972B88   FRANKIE       COOPER                  CO          90014735439
286199A137B449   TERRONDA      BUMPASS                 NC          90014109013
2861B37564B261   MIGUEL        GONZALEZ                NE          90011143756
2861B5A9691592   VICTORIA      STEWART                 TX          90014485096
2862126817B449   DENISE        BERRY                   NC          11094332681
286214A9481637   TANESKA       ROBINSON                MO          90005414094
2862263684B588   PHILLIP       PRIEBE                  OK          90006466368
2862292387B449   WENDY         BOLES                   NC          11013499238
28622AA2481638   DANIEL        MELO                    MO          29061770024
28624187936B77   JARRETT       LYNCH                   WA          90015521879
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2862421344B28B   CHRISTOPHER         JONES                 NE      90009552134
2862422444B281   ALVAREZ RODRIGUEZ   IVAN                  NE      90013832244
2862451915B571   MARIZOL             GRANADOS              NM      35068425191
28624994A91833   LUKE                TIMMONS               OK      21001999940
28624A17291547   IVONNE              MACIAS                TX      90013920172
28625899A31453   GREGORY             DELL                  MO      90014708990
2862617729184B   JASON               TATRO                 OK      21083541772
2862643A52B27B   LINDA               THORPE-HODGES         DC      90012814305
286264A4A91592   DAISY               ORTEGA                TX      90013104040
2862659344B588   STACEY              BLATNEY               OK      90003785934
28626A8834B281   JOSHUA              ORTTILL               NE      27077530883
28627359172B88   JOSE                FLORES                CO      33096613591
2862782152B27B   JOSE                MANZANARES            DC      90009178215
28627A64491547   JOSE                HINOJOSA              TX      90007290644
28627AA2A91356   BRANDON             STEVENSON             KS      90010450020
28628A8A293724   KEISHA              DUNN                  OH      90002470802
2862992679189B   JUSTIN              DAVIS                 OK      21043089267
2862B352291828   GLENN               HARLEY                OK      90008833522
2862B39175B571   MARTHA              RODRIGUEZ             NM      35003533917
2862B6A425B259   ANGELA              KNIGHT                KY      90002096042
286315A6585965   JULIE               WRIGHT                KY      66060835065
2863165629184B   CLAUDIA             CALDERON              OK      90004906562
28631682A57157   JACOB               AYALA                 VA      90012966820
2863171292B27B   GREENE              MICHAEL               VA      90008987129
286322A899155B   RUDY                SANCHEZ               TX      90006712089
286324A699184B   MARIETTA            WILLIAMSON            OK      90012244069
28633275A9155B   GORGE               VELLELA               TX      75079092750
286335A385B257   CHRIS               ASHBY                 KY      68015085038
28634192372B29   RAQUEL              GUTIERREZ             CO      90011451923
2863452A74B261   CATHY               JORDAN                NE      90013095207
28634757A91833   JULIE               RAMIREZ               OK      90004717570
2863486427B449   OLGA                BASEMO                NC      90006938642
28635159A9184B   SAMANTHA            PEEL                  OK      90008581590
286356A755B161   PORCHA              HUNTER                AR      90011126075
2863575585B271   MARK                RUSSELL               KY      90010847558
28635A36272456   PAMELA              JOHNSON               PA      90006880362
28635A3654B588   NICOLE              GREEN                 OK      90009570365
28635AAAA8B137   PATRICIA            SANTILLAN             UT      90004870000
286365A1172B88   RYAN                SPEAR                 CO      90013935011
28636848A91592   FELIPA              NAJERA                TX      90007188480
28636A77991828   JOYCE               BAILEY                OK      21066370779
2863849865B161   MARIA               RAMIREZ               AR      23022874986
2863899212B987   TERESA              HAMRICK               CA      90012699921
2863937117B449   STEPHANIE           ROBINSON              NC      90010373711
2863967245B161   NATALIE             STEVENSON             AR      23018106724
2863968389184B   FRANCISCO           GONZALES VILLALOBOS   OK      90009416838
28639838872B29   WHITNEY             JORDAN-TRUJILLO       CO      90004098388
28639A7169189B   MONIKA              WOLF                  OK      90014780716
2863B26539184B   SHAYLA              PERKINS               OK      90010472653
28641AA732B27B   TIGIST              FISSEHA               DC      90007480073
2864264134B521   RACHELL             RHODES                OK      90005246413
28643282A2B27B   TENIKA              FENNER                DC      90001732820
2864474532B249   JUANITA             DOWDY                 DC      90002487453
2864487A14B588   NICQUELL            OMEZ                  OK      90013498701
2864494939184B   URIEL               CORTEZ                OK      90002059493
2864549629189B   JAMES               OFFICER               OK      21006224962
2864565795592B   CIRENIO             GUTIERREZ             CA      90010786579
2864572485B161   VERNON              MORGAN                AR      90000727248
2864576424B564   PEECH               JOHNSON               OK      90000577642
28646233372B88   ANGEL               CRUZ                  CO      90003282333
2864642147B471   JESUS               LOPEZ                 NC      11077354214
28646558572B29   ISABEL              MELGOZA               CO      90009855585
28646664A91356   CLARENCE            MCWILLIAMS            KS      90011206640
28647155972B29   ROBBY               ORR                   CO      90002771559
2864835125598B   MICHELLE            MARTINEZ              CA      90005673512
2864958484B281   CELIA               MITCHELL              NE      27051925848
2864B55577B471   KATHY               RALEY                 NC      90010905557
286519A9372B42   HUGO                RODRIGUEZ             CO      90012489093
286524A8472B42   CARLOS              MUNOZ                 CO      33042834084
2865347369189B   LATOSHIA            KELLEY                OK      90014694736
28654176A91356   MARTHA              RAMIREZ               KS      90013331760
2865494945B271   LESLIE              PERKINS               KY      90012949494
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28655219872B29   SHANNON     GIARRUSSOM                CO          33090492198
28655A5A69155B   JAVIER      CARRILLO                  TX          90008750506
28655AA347B449   GLORIA      RESENDEZ                  NC          90014110034
286563A2231453   STACY       STUBITS                   MO          90007813022
2865793A64B988   JOE         GARRICK                   TX          90014179306
28657A83991547   ELIZABETH   BARRAZA                   TX          75043550839
28658186A72B42   ERIC        VELA                      CO          33048741860
2865819479184B   THERESA     COLE                      OK          90014051947
2865839684B261   AISHA       RICHARDSON                NE          90012063968
28658695A91833   TIFFANY     HALL                      OK          90008386950
28658A88631453   KEYONNA     BELK                      MO          90014720886
286593A164B988   ANITA       DYSON                     TX          76560403016
2865964A272B42   MARIE       VELASQUEZ                 CO          90011096402
2865B84754795B   BLANCA      SAENZ                     AR          25088178475
2865BA41631453   RAYSHAWN    STEEPLES                  MO          90014720416
2866141532B841   NESTOR      INGA                      ID          90012714153
28661641A9189B   SHARON      BARRIOS                   OK          90014026410
2866211A631631   LISA        TAYLOR                    KS          22021151106
2866227A974B97   HEATHER     HALL                      OH          90010232709
28662698A31433   JASMINE     BAILEY                    MO          90004616980
28663178172B42   VERONICA    FRANCO                    CO          90005331781
2866379462B27B   BRENDA      WOODLAND                  DC          90010517946
2866399395B271   CARMEN      FRYE                      KY          90011419939
2866474224B281   SELINA      SANCHEZ                   NE          90000367422
28664771A4B988   TAMMY       CONLEY                    TX          90014787710
2866485984B261   RABIN       SUBBA                     NE          90014488598
286653A5691356   SHANDA      HUGHES                    KS          29040053056
2866641854B988   ERIC        BARTHOLAMEN               TX          90014154185
2866717574B281   NOAH        SUTTON                    NE          27064701757
2866816A69184B   ANDRE       BARR                      OK          90013891606
28669381A4B281   MORGAN      SHARON                    NE          27054333810
2866B518A91592   MANUEL      CUEVAS                    TX          90014485180
2866BA6489155B   JESUS       ROMANILLO                 NM          75007700648
2867156987B449   ROSARIO     DELGADO                   NC          90005395698
2867166964B521   JAQUAY      LAQUALLA                  OK          21516476696
28671A66172B88   KIMBERLY    BELL                      CO          33042400661
2867248675B161   MARSHUNDA   THOMAS                    AR          90012874867
28672871A57157   CLAUDIA     ESCOBAR                   VA          90012118710
28672885A31453   TONY        HENDERSON                 MO          90014308850
2867317249189B   NADA        MOSTOFI                   OK          90007751724
2867355732B27B   TYRONICA    WILLIAMS                  DC          90012815573
28673598336B77   AGNES       ONDIEKI                   OR          90004835983
2867366964B521   JAQUAY      LAQUALLA                  OK          21516476696
28674296772B29   LILIANNA    MORALES VILLAREAL         CO          90010242967
2867625A59189B   REBECCA     THOMAS                    OK          21065902505
286763A954B588   TANNER      POLK                      OK          90012373095
28676419A2B27B   WILLIE      SHORTER                   DC          90014724190
2867727455B571   VANESSA     PEREA                     NM          90014642745
2867736664B521   RHONDA      MILIA                     OK          90005533666
286776A5631456   JUSTIM      RINGLING                  MO          90004956056
28678123A5B271   MARCOS      ORTIGOZA                  KY          68070401230
2867854812B27B   WESLEY      PINKNEY                   DC          90015295481
28678A6224B988   TRAVIS      COLLINS                   TX          90013950622
2867982575B571   DARLENE     ALVARADO                  NM          35040238257
28679A4324B988   MICHAEL     DOUCET                    TX          90010730432
28681451272B42   VERINA      RIVERA                    CO          33055514512
2868229474B521   COREY       DAVIS                     OK          21516482947
286828A354B281   EDGAR       MARTINEZ                  NE          90014918035
28683217172B42   JORGE       HERNANDES                 CO          33051212171
2868325545B571   JORDIAN     PACHECO                   NM          90014652554
286833AA59189B   JONNY       PORTER                    OK          90013403005
28684217172B88   VIC         BARBOSA                   CO          90012752171
286857A9757157   JUAN        AGUILAR                   VA          90000557097
28685A59491528   JOSEPH      OBER                      TX          75095050594
2868614758B15B   DELO        LIU                       UT          31088461475
28686158A3364B   LETICIA     GRANADOS                  NC          90014781580
28686269472B88   ESTEBAN     RODRIGUEZ                 CO          33053162694
286877A2941245   LEANNE      ZERR                      PA          51020927029
28688679772B98   ROBIN       JONES                     CO          90011846797
2868876149189B   CAROLINA    RIOJAS                    OK          90010737614
2868922444B588   ABRAHAM     MENDUS                    OK          90015032244
2868922514795B   TOVAR       MANUEL                    AR          25096062251
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2868938389184B   HUGO          MARIN                   OK          90014823838
28689459172B29   ANGEL         BARELA                  CO          33052064591
2868B446491592   RAMON         CASTILLO                TX          75081904464
2868B611131453   WENDY         WEIGHT                  MO          90011566111
2868B61395B571   ANTONIO       SOLIS                   NM          90014616139
2868B746791828   ANTHONY       WHALEN                  OK          90000967467
2868BA9994B988   NICOLE        COLLINS                 TX          90013950999
28691A2577B449   JAHNIEL       CABRERA                 NC          90008720257
2869218425B571   NANCY         ABEYTA                  NM          35062051842
2869273845B161   BOBBIE        HAMPTON                 AR          23018187384
28693218172B88   SANCHO        SANDOVAL                CO          90013052181
2869359344B588   STACEY        BLATNEY                 OK          90003785934
2869359385B271   ROY           TAYLOR                  KY          90005595938
28693AA949189B   ANTHONY       COX                     OK          90014050094
28694126872B88   DAVID         PENA                    CO          90013991268
2869518A691828   CING          LUN                     OK          90015321806
2869556629189B   TAMEKIA       COLBERT                 OK          21081045662
286963A4451333   SHAWN         ALCHELE                 OH          90009573044
286965A755B571   APRIL         RHODES                  NM          35060565075
2869747895B571   RACHEL        BOETTGER                NM          35088044789
286974A7544B75   PAUL          GRIMM                   OH          90014014075
28697551472B88   CHRISTOPHER   BARRETT                 CO          90014735514
28697817472B42   ALEJANDRO     OLIVAS                  CO          33084778174
2869798415B333   MONICA        MONROY                  OR          90015039841
28697A95A91828   JONI          SHELTON                 OK          21048060950
28697AA4A93727   DEBBIE        PARKER                  OH          64560510040
2869844144B281   JEFF          KETZEBACK               IA          90011814414
28698617A72B88   LETICIA       VALIENTE                CO          33051826170
2869874939184B   THOMAS        CRAGER                  OK          90013737493
28698751972B29   YVONNE        GONZALES                CO          90002337519
2869993712B27B   COURTNEY      MERCER                  DC          90010869371
2869B364691547   MARIBEL       CASTRO                  TX          90013933646
2869B3A265B571   BRITTANY      GUTIERREZ               NM          90014643026
286B119795B571   ASTRID        CAHUEX                  NM          90008631979
286B1666657157   SARAH         GRANT                   VA          90013796666
286B218849184B   LACY          BOFFER                  OK          90013901884
286B2385A5B257   JOSH          LAFEVER                 KY          90008553850
286B2837591592   ODALYS        VILLANUEVA              TX          90013178375
286B2A5A531453   LISA          LOPEZ                   MO          27593180505
286B2AA379189B   EMILY         BURNS                   OK          90012520037
286B3429A91356   DEANNA        TURNER                  KS          90014764290
286B369AA72B42   KRIS          FRANK                   CO          33072606900
286B375A27B449   FATIMA        PORTILLO                NC          90009877502
286B3A17536B77   RACHELL       GONZALEZ                OR          90007850175
286B433929184B   HILDA         LEYVA                   OK          90009143392
286B4791591592   PANCHO        MARTINEZ                TX          75086867915
286B5148672B42   MARTHA        LOPEZ-MAGALENO          CO          90007931486
286B53AAA4B988   LEONARDO      CABRAL                  TX          90014703000
286B5711131631   VICHET        MENG                    KS          22075947111
286B7233881637   SHARDAE       JONES                   MO          29003222338
286B7244672427   DALE          MCCANDLESS              PA          90014312446
286B7645281633   MONICA        ALBERTY                 MO          90014756452
286B8155972B42   ERASMO        DIAZ                    CO          90013731559
286B8318972B29   VALERIE       VIGIL                   CO          90011533189
286B8921A31453   TANESHA       GRIFFIN                 MO          90014719210
286B8A84157157   CAROLINA      AMAYA                   VA          90015020841
286B9192591592   ERIC          MARTINEZ                TX          75090291925
286B92A1A72481   CANDY         KIMMELL                 PA          90007092010
286B944A49189B   JAMES         MCNABB                  OK          21049894404
286B9725172B29   JOHN          CERECERES               CO          33037217251
286B978728B166   CAROLINA      MARQUEZ                 UT          90004877872
286B9865281638   TAMMY         LOPEZ                   MO          29077108652
286B9928691356   JUANA         SOTO                    KS          90001419286
286B9968672B88   HECTOR        MEZA                    CO          90013259686
286BB13255B271   SCOTT         MORGAN                  KY          90003031325
286BB424A91833   HOLLY         SCOTT                   OK          21012804240
286BB452672B88   HILARIO       SANDOVAL                CO          33001484526
28711716976B22   IVAN          BALLIN                  CA          90014357169
28711A8154795B   MICHAEL       LEWIS                   AR          25096620815
287136A149189B   AMY           BREVILLE                OK          90014886014
28713A6A131277   VELMA         HUDGINS                  IL         20520190601
28713AA9581646   FRANZ         GA                      MO          29002690095
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2871423359189B   KAREN         DAY                     OK          90012162335
2871547417B449   KARA          RYDILL                  NC          11008154741
2871567854B588   REBECCA       WILLIAMS                OK          21559656785
28715A6589184B   ERNESTO       MARTINEZ                OK          90007740658
28715A9192B232   NETA          VAUGHT                  DC          90008890919
287161A225B571   JOSE          HERRERA                 NM          35059751022
2871637439184B   WYATT         SHELDON                 OK          90004893743
28716A98331631   DION          RIEDEL                  KS          90013050983
28717217936B77   VICTORIA      SMITH                   WA          90015362179
28717849372B29   JONATHAN      MAX                     CO          90011278493
28717A6679184B   SUSANA        WAYD                    OK          21066670667
28718324A51328   CAMERON       KELSY                   OH          90013353240
287184A1191828   ENNI          AGUSTINE                OK          90012784011
28718567A9184B   BRITTANY      ESTES                   OK          90013725670
287186A1872B88   SEAN          MILLER                  CO          33082776018
28718A37891547   NANCY         LOPEZ                   TX          75030470378
28718A4915B571   CARLOS        MEDRANO                 NM          90010770491
28719144A9184B   MICHAEL       ROGERS                  OK          21003441440
2871946A59189B   CHRISTOPHER   CHENEY                  OK          90011614605
28719586A91844   JOSE          OLCON                   OK          90013015860
28719A5945B161   JESSICA       WILLIAMS                AR          23087210594
2871B177A81633   STACY         MCQUEEN                 MO          29063991770
2871B9A2731631   DENNIS        MOLER                   KS          22074189027
2871BA4495B271   MARQUITA      CHAPMAN                 KY          90014730449
2872214714B988   IVAN          CORDOBA                 TX          90011401471
2872219849184B   LISA          MCCLISH                 OK          90012731984
28722687572B29   MATHEW        COMER                   CO          90015046875
28722A43391833   MELISSA       HERNANDEZ               OK          90011330433
287231A842B27B   ROBERT        HALL                    DC          90015301084
2872356144B261   JUAN          ROMERO                  NE          90015445614
2872381A931433   RICHARD       MARKS                   MO          90004618109
28723AA519189B   ULISES        MAZARIEGOS              OK          21092730051
28724477A91547   ARMANDO       RUIZ                    TX          75000924770
2872496A79184B   ORLANDO       GONZALES                OK          90013779607
2872524224B281   MARIA         SANTIAGO                NE          27017112422
2872526764B261   ANGELA        JONES                   IA          27038422676
2872643754B281   ANGELIQA      LOPEZ                   NE          90014744375
28726458672B42   NICOLE        GUTIERREZ               CO          90012644586
28726A48A5B161   SHIRLEY       FELEMONS                AR          23007050480
2872786235B571   DAVID         NERI                    NM          90011728623
2872B119A91828   ARCILA        VILLALPANDO             OK          90011431190
2872B45484B281   AGRIPINA      PACHECO                 NE          90011284548
2872B66245592B   ALYSSA        RODRIGEZ                CA          90014786624
2873159917B423   PRETTY        LADY                    NC          90012555991
28731A45385991   DON           WILLIAMSON              KY          90007000453
2873258745B271   ELAINE        SHELTON                 KY          90002785874
28732861772B29   JOSE          VILLAGRAN               CO          90011278617
28733833372B88   DARRELL       JACKSON                 CO          90012048333
2873437794B281   MISTY         CEBALLOS                NE          90001043779
28734415972B88   DARYL         EASON                   CO          90011624159
287345A874B988   BRIAN         TREGRE                  TX          90012645087
28735771372B88   GLORIA        TORRES                  CO          90009737713
28736682A9184B   CLARISA       SOSAVILLANUEVA          OK          90014756820
28736685572B29   GRETCHEN      TAYLOR                  CO          33017496855
28737427A9189B   LEON          ALEMAN                  OK          21093584270
2873768179184B   CANDRA        DREW                    OK          90009206817
2873837775B571   LIZBETH       RUIZ                    NM          90014643777
2873928259184B   ARMANDO       SANDOVAL                OK          90010472825
2873975A55B571   ERICA         BACA                    NM          90002647505
2873B326891592   SANDRA        VASQUEZ                 TX          75021263268
2873B494772B29   ANGELIA       ALKINS                  CO          90002464947
28741198772B98   MARIA         SALAZAR                 CO          90010061987
2874138388B16B   CONNIE        GASCAS                  UT          90005543838
2874148434B52B   JOEL          MCCRACKEN               OK          21553614843
28742496972B88   SAMANTHA      SHIPWASH                CO          90013244969
2874256114B588   RAY           BALDERAS                OK          21559815611
287425A6331453   TIM           LOWE                    MO          90010305063
2874316964B281   DENISE        COBB                    NE          90007741696
28743184A5B571   ALEJANDRO     BORJAS                  NM          35038571840
2874343679189B   ALEXANDRA     HOLLAND                 OK          90009284367
2874498A791833   CORNELL       ROLLAND                 OK          90014979807
287451A614B988   JOSH          JOHNSON                 TX          90014141061
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28745323A57133   GLENDA        APARICIO                  VA        90013663230
287453A874B588   EVER          PEREZ                     OK        90010753087
2874541254B261   OMAR          SAMATEH                   NE        90010294125
28745948972B88   SANDY         RAMIREZ                   CO        33045239489
2874612879184B   KIM           MOORE                     OK        90011201287
2874632A39189B   GRISELDA      PADILLA                   OK        90003973203
2874698424B281   TENISHA       VAWSER                    IA        90012219842
28746A95457133   JOSE          PORTILLO                  VA        90010580954
28747127272B88   KURT          ALTHOFF                   CO        90013991272
28747A3A457564   AMANDA        HALLADAY                  NM        35586010304
28748776672B88   ADRIANNA      KOCAK                     CO        90012857766
2874893744B588   ARTHUR        JOHNSON                   OK        21510569374
28749493472B29   ANDREW        DENNIS                    CO        33020134934
2874B178A91241   BRIAN         CURBY                     GA        14588411780
2874B3A6991547   MARIZA        GUILLEN                   TX        90011713069
2874B4A1957157   BANDITSEREN   OTGONBAYAR                VA        90010534019
2875338A24B281   VALERIE       LIZZIE                    NE        27084943802
28753754772B88   ZYANYA        CHARLES                   CO        33035107547
2875378444B261   HALLE         SHERLOCK                  NE        90007607844
2875475834B521   KELLEY        DAVIS                     OK        90005247583
287553A6491592   NORMA         PARRA                     TX        75086623064
2875543155B571   DEIDRE        MORGAN                    NM        90014644315
2875574154B988   MADALYN       BROWN                     TX        90004587415
2875584AA2B27B   GABRIELLA     EDWARDS                   DC        81088848400
2875639154B281   CHRISTOPHER   MILLER                    NE        90015303915
2875664A791592   JOSE          ROMAN                     TX        90001026407
28757A83931631   AMY           CUTSHALL                  KS        22096620839
2875829A672B42   ROSALINDA     DE ROBLES                 CO        90013642906
2875874A872B29   GLORIA        ROBINSON                  CO        90009407408
2875B647291356   STANLEY       MULDREW                   KS        90015186472
2875B71584B281   DENISHA       THOMAS                    NE        90013977158
2875B99465B271   LAKISHA       OLIVER                    KY        90010529946
28761766A31453   AMERIA        CHAPPLE                   MO        90014727660
28761877372B88   EDWARD        FRIESS                    CO        90011138773
28761955A97B23   HENRY         BUSS                      CO        90006889550
28763331A91547   PRISCILLA     ORTIZ                     TX        75057163310
2876361994B588   RICARDO       REYNA                     OK        21591046199
28763A9119189B   LISA          BIEKER                    OK        90005360911
28764669436B77   SEGH          JOHNSON                   WA        90015456694
287646A3431453   DAWN          TUCKER                    MO        90014636034
28764A7A291828   JILL          AGUILAR                   OK        21003990702
28765617172B42   COLLIN        ANDREW ZANKER             CO        33084886171
2876588397B449   KHUCH         RAHLAN                    NC        90001038839
2876663969189B   JOSHUA        STACY                     OK        90012676396
2876673729184B   JOSE          FERNANDO RODRIGUEZ        OK        90010767372
28767244A2B27B   ELLIS         ANDERSON                  DC        90009562440
28767756572B88   VICTORIA      HARVEY                    CO        90012397565
28768638172B42   DULCE         HERNANDEZ                 CO        33040176381
2876875734B261   KIRSTEN       WEIKLE                    NE        90009837573
2876913542B27B   JAMES         TAYLOR                    DC        81058151354
2876975399184B   INDRIT        VUCAJ                     OK        90012557539
2876981A931453   LARHONDA      HOLMES                    MO        90014728109
2876B182157157   ANTHONY       BLACK                     VA        81009691821
2876B25972B27B   JOHN          CUNNINGHAM                DC        90002652597
2876B65137B449   FELIX         LOPEZ                     NC        11097776513
2876B697A72B88   DARREN        MAESTAS OR JANETH VILLA   CO        90013496970
2876BA2984B261   CANDAC        JIPSON                    NE        90001410298
2877117A891528   JOSE          RAMIREZ                   TX        90003301708
28771593536B77   MARTINA       SALAMANCA                 OR        90008365935
28772432672B88   PATRICIO      PISANA                    CO        90012734326
2877245629155B   NORMA         ARGUELLES                 TX        90006714562
2877343335B571   ANTONIO       MONTOYA                   NM        90012034333
2877413315B161   PAULA         MILLS                     AR        90009941331
28774333172B25   JUSTIN        CARPENTER                 CO        33028953331
2877496982B987   MAXIMINO      TORRES                    CA        90015019698
28774AA254B988   MACARIA       VELASQUEZ                 TX        90014110025
28775132772B88   GRACIELA      MARTINEZ                  CO        90005621327
2877535337B471   HECTOR        LOPEZ                     NC        11004623533
287753A8881687   ELEANOR       RAMIREZ                   MO        90010073088
2877599937B449   ZENAIDA       HERNANDEZ                 NC        90010749993
287777A3681633   ABEL          G                         MO        90014137036
28777834172B42   YOLANDA       PACHECO                   CO        33012638341
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28777A2549184B   GEINER      MIRANDA                   OK          21017000254
28777A8345B538   ROGELIO     ORTIZ                     NM          90013900834
287783AA77B449   MERCEDES    CASTRO                    NC          90014153007
287786A447B471   CELINA      STITT                     NC          11036176044
28778795A9184B   COREY       COATS                     OK          90002157950
2877957A19184B   KAREN       DUNN                      OK          90002675701
2877983789376B   SANDRA      MCCOLLUM                  OH          90006508378
2877994729189B   LAURA       SANCHEZ                   OK          90014169472
28779A1639376B   TIMOTHY     VANHOOSE                  OH          90001050163
2877B433436B77   FIDEL       GOMEZ                     OR          44571824334
2877B768557157   MARCELLA    BARKSDALE                 VA          90005437685
2877B818931453   COZET       LATIMORE                  MO          90014728189
28781397A71923   JANA        HAYES                     CO          90013243970
28783961172B29   NOLBERTO    OJEDA                     CO          33076079611
2878473772B27B   LAKIVA      MCGHEE                    DC          90012817377
28784897A31453   ALIESHIA    PIERCE                    MO          27512028970
28784A69591589   MARISELA    RIOS                      TX          75072380695
28785835972B29   JESUS       DE LEON                   CO          33098538359
2878631737B449   ALICIA      HERNANDEZ                 NC          90014153173
2878645785B571   ROBERT      EBERT                     NM          90014644578
2878762A691833   SUMMER      TAFOYA                    OK          90009456206
28787A12491547   CESAR       CARRASCO                  TX          90005110124
2878887A893724   LAWRENCE    NWOYEOCHA                 OH          90011808708
28788918A93724   NAKEMEA     BIRDEN                    OH          64559909180
28788A5A272B88   STEPHEN     DEYERLE                   CO          90011950502
2878922364B261   NICOLE      COX                       IA          90014702236
2878965742B27B   JASMINE     DAVIS                     DC          90014526574
2878B59515598B   OLGA        RODRIGUEZ                 CA          90011205951
2878B739A31631   TOSHA       REED                      KS          90012557390
2878B829A4B988   JOSEPH      WHITE                     TX          76540568290
2878BA2A72B27B   DELFINA     RAYMUNDO-GUDIEL           DC          90008800207
287918A2372B42   JOHN        BERRY                     CO          90014768023
2879198335B571   JOSEPH      MANZANARES                NM          35057339833
28791AA9272B88   KARINA      ARROYO                    CO          90012640092
287941A8341245   DAN         SCHUESSLER                PA          51057481083
2879425379184B   LARRY       FORTENBERRY               OK          21003812537
2879431166194B   KEN         EDWARDS                   CA          90008723116
2879477762B27B   DONNA       CHRISTIAN                 DC          90012817776
2879513489184B   ASHLEY      ROSS                      OK          90013741348
2879546314795B   ANDREA      PEREZ                     AR          25064594631
28795A2284B281   DAVID       SANSON                    NE          90012120228
2879717595B161   MONICA      HUMPHREY                  AR          23033421759
2879749A857157   LAUREN      WATTS                     VA          90014154908
287977A5391833   MARCELINO   DIAZ                      OK          90003957053
2879817A97B368   MOHAMED     HUSSEIN                   VA          90001301709
28798954772B88   PERRY       MESKIMEN                  CO          90008509547
2879939385B571   MICHAEL     ROGERS                    NM          90014913938
287996A3391592   MARCO       CORONEL                   TX          90013876033
2879B444372B29   GABRIELA    CATRO                     CO          33061854443
2879B567391833   JACQUE      BEAVER                    OK          90013165673
2879B72A49189B   KRISTINA    BACHMAN                   OK          90006417204
287B169237B486   GENA        LYNN MOORE                NC          90007136923
287B2342872B29   NICK        ACOSTA                    CO          90004503428
287B2893891241   BOBBIE      WHITE                     GA          90010018938
287B3381A4B281   MORGAN      SHARON                    NE          27054333810
287B3496972B88   SAMANTHA    SHIPWASH                  CO          90013244969
287B3633931631   KYLIE       HENDERSON                 KS          90010886339
287B3862857157   MANUEL      ALVARENGA                 VA          90010528628
287B3972891547   LISA        SKELTON                   TX          90002179728
287B3A8A331453   DANIEL      REBERT                    MO          90007510803
287B458A34B28B   BRANDON     KAUFMAN                   NE          90013055803
287B4858671943   ALEXANDRA   PHILLIPS                  CO          90006608586
287B5164291547   FRANCISCO   RODRIGUEZ                 TX          90014731642
287B522A941245   JANET       TERRY                     PA          51060432209
287B5539157157   DANNIEL     TENEZ                     VA          90013815391
287B591912B27B   CLIFTON     GARY                      DC          90009179191
287B6327A91547   CARDOZA     JORGE                     TX          90014373270
287B66A1A2B27B   JOHNNY      BRATTON                   DC          90012816010
287B6885191833   JULIE       THORNBRUGH                OK          90003888851
287B731A591547   WILFREDO    TORRES                    TX          75084623105
287B844659189B   PATRICIA    ALFARO                    OK          90011854465
287B871A15B571   ANGIE       FIGUEROA                  NM          35041357101
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287B8767957157   JASON        BERMUDEZ                 VA          90014887679
287B9358A4B261   IGNACIO      DEMUNER                  NE          90012913580
287B93A8A57157   ANTONIA      ALEMAN                   VA          81064303080
287BB363181633   JOEL         JACKSON                  MO          90014113631
287BB4A3272B42   RYAN         STUART                   CO          33067074032
287BB852491592   CODY         AMMONS                   TX          90012428524
288112A782B264   AVIS         THOMPSON                 DC          90014092078
28811518772B88   LUIS         APODACA                  CO          90013935187
28811875672B88   DEZMEN       SANCHEZ                  CO          90005138756
2881455835B571   JUAN         OERA                     NM          90003055583
2881494152B27B   MIGUEL       MERINO                   DC          81078379415
2881592527B449   A JA         WALKER                   NC          90008339252
2881733517B471   LESLIE       BLAKENEY                 NC          11069643351
28817573372B88   MIGUEL       DEGOLLADO                CO          90014735733
2881829515B161   MARK         SHAW                     AR          23091792951
2881845A851351   VALERIE      LANDERS                  OH          90011384508
2881855835B571   JUAN         OERA                     NM          90003055583
28818831272B29   HECTOR       MORELOS                  CO          90008828312
28819651A91356   FRANCISCA    HERNANDEZ                KS          90013226510
2881997994B588   MISTY        THOMPSON                 OK          90010759799
28819A25A72B88   BELLA        URBINA                   CO          33098290250
28819A3223144B   ALICIA       HUDSON                   MO          27542240322
2881B177131453   JODY         BRISON                   MO          90005961771
2881B1A3291528   FELIX        ARROYO                   TX          90005741032
2881B36872B27B   DAJHAN       SETTLES                  DC          90014843687
2882145484B521   NIKENYA      COX                      OK          90002514548
2882154459184B   ELISA        PUENTE                   OK          90009015445
28821A46791547   MARK DAVID   RODDY                    TX          90013920467
2882262A591356   JUDE         JEULCIAS                 KS          29088526205
28823842772B88   ISAAC        GONZALES                 CO          90013488427
2882397394B261   APRIL        WARREN                   NE          90015069739
28823A8194B261   JOAL         NISTL                    NE          90008300819
28824A23457157   SEBASTIAN    GONZALEZ                 VA          81054140234
28824A52831453   CEPEDA       WHITE                    MO          90014730528
28825232272B88   CINDY        FLORES                   CO          90013962322
2882542534B541   JUANITA      JONES                    OK          90011124253
2882562A77B422   GLADYS       MCCULLOUGH               NC          11007516207
2882573679184B   TIA          PRESLEY                  OK          90014337367
28825867A92864   SONIA        WETMORE                  AZ          90014658670
2882597999189B   ERICK        DIONICIO                 OK          21014869799
28825A16591833   CLIFFORD     BRUNELLE                 OK          90013360165
28826218A7B449   ELISEO       GARCIA                   NC          11038032180
288264A6772B88   BRISA        MONREAL                  CO          90004214067
288273AA95B271   LAVINA       COLE                     KY          68081163009
2882771714B261   EDWARD       SPENCER 4TH              NE          27056117171
2882878665B271   AIMEE        PAWLEY                   KY          90009747866
2882894519184B   WILLIAM      KOZIK                    OK          90006239451
2882946A692864   KAREN        MENDEZ                   AZ          90015054606
2882951514B261   ROBERT       JENSEN                   NE          90014075151
2882977557B449   TINA         NICHOLS                  NC          11067477755
2882B269372B29   ELENA        GREEN                    CO          33004362693
2883127A772B29   MONICA       CASTILLO                 CO          33048902707
2883195687B471   ROMANUA      JONES                    NC          11047959568
28831A46791547   MARK DAVID   RODDY                    TX          90013920467
28832372972B42   PAMALA       MILLER                   CO          33041563729
2883257164B988   LEENORA      NELSON                   TX          90014625716
28832844672B29   LOURDES      CABRIALES                CO          33084658446
2883351222B926   CAMMY        WOODY                    CA          90004185122
2883428827B449   CANDIDO      RIOS                     NC          90002302882
2883468A64B988   ROBYN        CHILDRESS                TX          90012116806
2883477965B271   CHAD         BEST                     KY          90013947796
28835845172B88   MELINDA      HERNANDEZ                CO          33094538451
2883732265B571   BLANCA       CHAVEZ                   NM          90013033226
2883734A15B271   APRIL        WATKINS                  KY          90014793401
2883899314B588   WANDER       OMERO                    OK          21559299931
28838A51391547   ELIZABETH    BENCOMO                  TX          90013920513
2883B2A2857593   GABRIELA     BAEZA                    NM          90013272028
2884139832B389   CLAYTON      SWEET                    CT          90013653983
28841411472B42   JAMES        COFIELD JR               CO          33073464114
2884184274B281   DOMINIC      MOSIORI                  NE          90004028427
28842522872B88   MARLENE      BORGES                   CO          90013935228
2884294915B161   PRESTON      YANCY                    AR          23022919491
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2884332A272B29   ANDREA            JACKSON             CO          90005493202
28843A5A536B77   ANIVAL            CALDERON            OR          44520130505
2884514629189B   MARIA             LUGO                OK          90004811462
28845315272B29   ADAM              ROMERO              CO          33040043152
2884545747B449   VALERIE           GARRETT             NC          90009294574
28845566A57157   MELISSA           WASHINGTON          VA          90011965660
2884651849184B   EDUARDO           IBARRA              OK          90000255184
28846989272B88   RICHARD           CRATEN              CO          33095519892
288472A3857157   MONSTER           SCAPES              VA          90010572038
2884733874B988   C HAD             HUMPHERY            TX          90013033387
2884749A872B42   GENA              BARLEY              CO          33076194908
2884757524B988   C HAD             HUMPHERY            TX          90010345752
28847576472B88   MIKE              BIRD                CO          90014735764
28847AAA931453   GLENDA            HAWKINS             MO          90014750009
2884837319376B   RAFIK             HAKIM               OH          64530583731
28848431972B29   GLORIA            ESPINOZA            CO          33051854319
28849322272B29   LISA              MCALLISTER          CO          90005493222
2884987569794B   LAKIESHA          TENNELL             TX          74050258756
28849A99572B88   JUSTIN            STRIEGEL            CO          33074220995
2884B35584B281   DWIGHT            HOWARD              NE          90014603558
2884B466281637   SHARIKA           THOMPSON            MO          29035554662
28851231A4B588   LASANDRA          GILBERT             OK          90013232310
2885149AA91828   MARIA             PEREZ-SALDIVAR      OK          90010984900
2885328539184B   LEVI              MILLER              OK          90012252853
28853A3764B261   TINA              POINTER             NE          27065250376
28854322372B88   EDIN              ARGETA              CO          90010083223
2885443817B449   DEBORAH           GATEWOOD            NC          90014154381
2885484634B261   LISA              NOAH                NE          27063688463
28854A36A9189B   ANNEKA            ROBERTSON           OK          21035260360
2885567694B588   STACY             HESS                OK          90012346769
2885673A143551   MARIO             OROZCO              UT          90008997301
28856817372B29   JOSE              GARCIA              CO          33071068173
28856AA534B261   ANTONIO           ZARZA               NE          90012400053
2885727712B572   TOMASA            SOLIS JUAREZ        AL          90015042771
28857341A91828   ADAM              PEARSON             OK          90012193410
28857583472B88   NICK              PROCOPIO            CO          90014735834
2885768892B27B   RENEE             SILVERS             DC          90010196889
28857727472B29   MIKE              GALLEGOS            CO          90015047274
28857A1384B588   JOSE              RIVAS               OK          90000910138
28858423A5B571   STEPHEN           KNISELY             NM          90011734230
2885979135B161   ONTARIO           ADAMS               AR          23095007913
28859A2559184B   DIANE             YOUNGBIRD           OK          90008630255
2885B532597B41   SALVADOR          RODRIGUEZ           CO          90006415325
2885B791A91592   CHRIS             YTUARTE             TX          90012057910
2885BA75161551   CHRISTIAN         MARTINEZ            TN          90014660751
2886181AA81633   SHAVONNA          BROWN               MO          90003298100
28861A28591356   THOMAS            MCCRAY              KS          29009540285
288626A285B271   MANTRELL          PARKER              KY          68073256028
2886281184B988   ANDREA            WHITE               TX          76556158118
2886287A172B29   LORENA            GUTIERREZ           CO          90001178701
28862949A91828   SHERYL            MCGHEE              OK          21011289490
288629A942B962   CHRISTINE         WORTHY              CA          45000649094
288642A862B27B   GERALD            WILLIAMS            DC          90011962086
288643A4177363   SERGIO            BARRIOS              IL         20502303041
28866324872B88   MELISSA MONIQUE   SANCHEZ             CO          90010083248
28867A7149184B   JUDY              TALYOR              OK          21035730714
2886824874B281   VICTOR ALONSO     JIMENEZ             NE          90012392487
2886844689184B   PA H              YANG                OK          90007464468
2886871954B261   ROY               WINTERS             NE          90001087195
2886937334B52B   ROBERT            OSIFE               OK          90012103733
2886975A972B42   MANUEL            JIMENEZ             CO          33076547509
2886999A57B449   JOTHAN            WILSON              SC          11039799905
2886B522872B88   MARLENE           BORGES              CO          90013935228
28871985397B37   JAMIE             COOK                CO          90009939853
28871A52831453   CEPEDA            WHITE               MO          90014730528
28871A85472B88   FELIPE            CERYANTES           CO          33067130854
28872266972B88   JAIME             GUTIERREZ           CO          90010522669
2887247725B161   DANIEL            EVANS               AR          23093574772
28872A9684B281   NICHOLS           BRYCE               NE          90012110968
2887313819184B   JOSE              CRUZ                OK          90002801381
2887348237B449   DAFNE             CANTU               NC          90014154823
28873A18472B88   PETRA             BELLO               CO          90004410184
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2887417A391528   CHRISTINE   GUERRERO                  TX          90005741703
2887418619189B   JESSE       STEPHENS                  OK          90008251861
288742A123146B   SHANE       KEELE                     MO          90000732012
28874A6579155B   LOUIE       BELIS                     TX          75017440657
2887511415B161   PATRICIA    ALSELMI                   AR          23098621141
2887555575B571   MELISSA     BROWN                     NM          90014645557
2887564475B571   MICHAEL     GRIEGO                    NM          90008436447
2887564479189B   KATRINA     TOLES                     OK          90012076447
2887632999184B   TYLER       ELLIS                     OK          90013043299
288765AA557157   JOSE        MARTINEZ                  VA          81090955005
28876A4199155B   SERGIO      JASSO                     TX          75007810419
2887731717B471   ASHLEY      ANDERSON                  NC          90001563171
28877583472B88   NAITUN      SEIN                      CO          33079455834
2887783139184B   KIMBERLY    MARCELLUS                 OK          90014788313
28878813172B88   ERRICK      RODRIGUEZ                 CO          90013048131
28878847472B29   MICHAEL     HERNANDEZ                 CO          33011628474
2887964234B988   AMY         SMITH                     TX          90011006423
28879912A81633   LAURA       GUTIERRES                 MO          29089809120
28879A55131631   KAYCIA      SUTTON                    KS          22050950551
2887B347572B42   TEWDRUS     ANDETSION                 CO          90007563475
2887B867691828   MINDY       NEESE                     OK          21093078676
2888147959184B   TIM         MOLLOY                    OK          21019424795
28881858472B29   ROBERTO     AVALOS                    CO          33059068584
28881A8987B449   PATRICIA    MCNEILL                   NC          90012220898
28881A9499189B   DENNIS      CARLISLE                  OK          90015430949
2888231294B281   MICHAEL     CONNELLY                  NE          90013933129
288826A814B261   DONNIE      FRANCIS                   NE          27039686081
288828A2951328   BRYAN       ELLIS                     OH          90005248029
2888295474B281   DAVID       GONZALEZ-GARCIA           NE          90012229547
288833A315B393   JAVIER      OROZCO                    OR          90011413031
28883493A91592   SANDRA      WATSON                    TX          90012204930
28883A1745B525   JESUS       LOPEZ                     NM          90013620174
2888673A97B449   MARTIN      CHAVEZ                    NC          90010107309
2888761774B988   MONICA      SANCHEZ                   TX          90012786177
28887843972B42   OMAR        GOVEA                     CO          33091198439
2888787217B449   TASHA       STURDIVANT                NC          90014488721
288878A9657157   AIMAO       BARRE                     VA          90010578096
28887949A91828   SHERYL      MCGHEE                    OK          21011289490
28888812A31453   DEBRA       SMITH                     MO          90001778120
2888936435B271   MICHAEL     FOGGY                     KY          90014703643
2888951A791356   MALINDA     BROWNLEE                  KS          29000995107
28889852A57157   STEFFANY    JOHNSON                   VA          90005698520
2889117A17B449   DIANA       HEINRICH                  NC          11066011701
28891343472B29   JADE        HERRERA                   CO          90011533434
2889181A791356   LEDET       BROWN                     KS          90009578107
28891A68272B42   BRENDA      BARRON                    CO          90013560682
2889329132B27B   ASIA C      BROWN                     DC          90012922913
2889442719184B   GRISELDA    GOMEZ                     OK          21038694271
28894468672B42   RACHEL      ZOKAITIS                  CO          90014104686
2889547834B281   VIRGINIA    ORTIZ LOPEZ               NE          90003794783
288965A444B261   NATE        BURRELL                   NE          27083465044
28896AA7841245   ADAM        CLARK                     PA          90005450078
2889735715B571   VICENTE     ROSALES                   NM          35084823571
2889749639184B   DAWN        HELTON                    OK          21087674963
288978A9A41245   DANIELLE    RIES                      PA          90000538090
28898174772B88   MISTIE      HENSLEY                   CO          33065221747
28898685472B42   MARIA       REYES                     CO          90014426854
2889949A55B571   ANTONIO     GONZALES                  NM          35092184905
2889949A591833   COLBY       MURPHY                    OK          90011344905
2889998194B281   JESSICA     RODRIGUEZ                 NE          90012429819
28899A4A572B88   EMILIA      SAUCEDO                   CO          90007470405
2889B258372B88   FLOR        TAPIA                     CO          33050172583
2889B466991592   MARIA       CRUZ                      TX          75000694669
2889B514172B42   MARCIA      DRISCOLL                  CO          33061805141
2889B738291542   ENRIQUE     LAWLER                    TX          75018987382
288B1337157157   KIMBERLY    GEORGE                    VA          81009553371
288B1421272B29   RUBEN       TRUJILLO                  CO          33055114212
288B1571772B88   ANNABELLE   RIVERA                    CO          90014735717
288B234257B449   JHANEE      BLOUNT                    NC          90014153425
288B249419155B   ANTHONY     COOK                      TX          75007934941
288B2945A41245   JOSEPH      MCDADE                    PA          90005449450
288B2A38472B29   MICHELLE    PETTIFORD                 CO          90009820384
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288B2AA3931453   VINCENT        JACKSON                MO          90015120039
288B334887B449   EDGAR          JARAMILLO              NC          90014153488
288B3814A31453   UVETTE         MORELAND               MO          90012788140
288B3A93191547   RUBEN          MARTINEZ               TX          75080870931
288B4351657142   JOSE           FUENTES                VA          90001843516
288B4359891541   ROBERT         ZAMBRANO               TX          90011393598
288B4523A5B571   ROMOLO         CHAVEZ                 NM          35096735230
288B4624A9184B   MIRIAM         DURAN MUNOZ            OK          90013196240
288B472839184B   MIRIAM         MUNOZ                  OK          90010127283
288B548475B571   NICOLE         MARTINEZ               NM          90014644847
288B5972931433   FELICIA        HUDSON                 MO          90004619729
288B6115A9189B   WILLIAM        HUFFMAN                OK          90014061150
288B6382791592   MARTHA         SOTELO                 TX          90008113827
288B6814A31453   UVETTE         MORELAND               MO          90012788140
288B6843A3B352   ALBA           SOLIS                  CO          90011368430
288B6949157157   LETICIA        HERRERA                VA          90012519491
288B711584B281   ESTHER         MALDONADO              NE          90009961158
288B761115B161   CHRIS          WILLIAMS               AR          23021476111
288B7959A72B88   MAGDALENA      BAILON                 CO          90000409590
288B7A2539184B   AUDRA          LEWIS                  OK          90010130253
288B8234872B42   YVETTE         J O MAES               CO          33033092348
288B8429425138   SCOTT          HERNANDEZ              AL          90014504294
288B864A35B571   LIZY           SALVIDREZ              NM          90011416403
288B8895672B29   RASCON         MELISA                 CO          90010948956
288B893A691592   CYNTHIA        VASQUEZ                TX          75054659306
288B896A257157   JOSE           RAMIREZ                VA          81054289602
288B9566A31433   THERESA        BARTON                 MO          90008615660
288B9793491828   DAVID          RODRIGUEZ              OK          90013777934
288B98A6472B42   LUIS           BATISTA                CO          90009058064
288B993114B588   ROXANNE        STREET                 OK          90009029311
288BB469581633   LONNIE         RIDDLESPRIGER          MO          29075494695
288BB49419155B   ANTHONY        COOK                   TX          75007934941
288BB887291356   CRYSTAL        MARCUS                 KS          90004398872
288BB99A37B449   JOSE P         REYES                  NC          90014169903
2891146274B261   RICHARD        CLARK                  IA          27060424627
2891157A125144   FELICIA        ROBINSON               AL          90014575701
2891223289189B   JANA           EVANS                  OK          90002482328
28912A95191828   GISELLE        GUZMAN                 OK          90015100951
2891343A34B281   MARLON         DEVERS                 NE          90011314303
28914A12891547   JAIME          SANCHEZ                TX          75094570128
28914A67372B88   MARIA          MEDRANO                CO          33051280673
28915849272B42   CONCHITA       HERNANDEZ              CO          90004998492
28916327A72B29   MARIA          BARAJAS                CO          90004433270
289172A7872B88   JOSE           BUSTILLOS-GAMBOA       CO          33042052078
2891743439184B   DAVID          FOX                    OK          21013864343
2891759944B261   QWANISHA       MITCHELL               NE          90015295994
2891846684B588   CHARLES        MCCRACKEN              OK          90015094668
2891971674B281   ANTUNASHEAKA   MIDDLEBROOKS           NE          90011707167
28919A12257157   JAY            MORALES                VA          90014160122
2891B217491547   CANDELARIA     MORALES                TX          90011372174
2891B28A35B571   LAURA          RAMIREZ                NM          35029552803
2891B645591356   CRYSTAL        EVERIDGE               KS          90012716455
2891B75AA85928   LOUIS          SPEARS                 KY          90007677500
2892137A531453   ROSHANDA       BALENTINE              MO          90014733705
289216AA372B88   CRUZ           QUEZADA                CO          90014736003
28921864A4B541   ANNIE          BROWN                  OK          90013048640
2892236644B588   COQUESA        LARNEY                 OK          90006553664
28922482A91828   AMED           PLASCENCIA             OK          90011864820
2892297914B988   JOHN           SOLIS                  TX          90012289791
28922A3A791592   JOSE           FABELA                 TX          75013380307
2892413679189B   DAVID          MCGILL                 OK          21088071367
28924446A31453   DEBBIE         WOODARD                MO          90010164460
2892454769713B   YVONNE         WAINIS                 OR          90012085476
2892456A27B449   VICTOR         CANTU                  NC          90014155602
28926A82691547   AURORA         FRANCO                 TX          90000910826
28927893572B29   JOHN           RODRIQUEZ              CO          33072788935
28927899A91356   LEONA          GARCIA                 KS          90008688990
2892826477B449   ARMANDO        RENTERIA HERRERA       SC          90010452647
28928A9119189B   OLINDA         SALDIVAR               OK          90013520911
289294A522B27B   CLARE          MOOYE                  DC          81064214052
2892952A17B471   MARIAN         SUTTON                 NC          90000915201
28929743A91833   KAYSHA         JAMERSON               OK          90008507430
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2892B43A985965   EMANUEL       JUREZ                   KY          66024804309
2892B446A5B271   HANNON        CINDY                   KY          90006184460
2892B4AA891547   YAZMIN        TORRES                  TX          90013934008
2892B656591356   ERIC          MIMS                    KS          90014416565
289313A156194B   SHAWNN        PARKER                  CA          46072583015
28931637972B42   HERNANDEZ     ADAN                    CO          33000866379
2893281222B27B   REINA         HERNANDEZ               DC          81085608122
289328A149189B   JOHN          WALKER                  OK          21003638014
28932911172B88   TEODORO       MUNOZ                   CO          33000459111
28932A91691828   JEWEL         ANDREWS                 OK          90014610916
28933348A91547   LEONARDO      VASQUEZ                 TX          90007113480
2893375A591241   KIERA         MCLEAN                  GA          14576797505
28934341772B29   DEBRA         OKWALE                  CO          90011533417
2893443919184B   BREANA        CARNE-MCPHERSON         OK          90012514391
28934567A7B644   LEAH          UNWIN                   GA          90002785670
2893523295B54B   ANGELISA      YAZZIE                  NM          90014472329
2893558814B521   CARRIE        GEE                     OK          21516575881
28935A55781633   TANYA         DAVICKSON               MO          90007880557
2893628A181637   ADISALEM      ASFAN                   MO          29055112801
2893644612B264   TSEGMAMLAK    MOHAMMAD                DC          90012774461
289364AA49184B   MIRNA         CIFUENTES               OK          90012834004
289368A7791547   VIANEY        CORRAL                  TX          75083268077
2893693117B471   FAYE          BAKER                   NC          11072829311
28937AA7431432   YVONNE        TAYLOR                  MO          90001800074
289385A6472427   FRENCHYS      AUTO                    PA          90010805064
2893867A95B271   ZENDRA        EVANS                   KY          68081056709
2893892474B281   CARLOS        MARTINEZ                NE          90007609247
28939425A5B571   MIGUEL        RODRIQUEZ               NM          90013474250
2893955364B988   LEILANI       ROSETTE                 TX          90004995536
2893B485272B29   LUZ           MCCLENDON               CO          90003254852
2893B485972B88   DERRICK       MITCHELL                CO          33077714859
2893B831291528   RAQUEL        MONREAL                 TX          90007108312
2893B865657157   ALBA          GRANADOS                VA          81012448656
2893BA41791592   PONSE         OLGA                    TX          90011200417
2894138798598B   RONDA         SCHWEITZER              KY          66037563879
289418A6691592   ELIZABETH     FERNANDEZ               TX          90014098066
2894213814B281   NORBERTO      IBANEZ                  NE          27085791381
289422A894B582   RUBEN         MUNOS                   OK          90013892089
2894235229184B   KEVIN         PLUNKET                 OK          90014413522
28942372A9189B   MARIA         SANTOS CRUZ             OK          21071223720
2894253345B271   DORIAN        JOSEPH                  KY          90010535334
28942758A72B88   TANYA         DURAN                   CO          33042397580
28943567A85865   SACHIYO       TAKASAWA                CA          90011655670
2894426845B244   ROBERT        WATERBURY               KY          90008952684
2894639199794B   KEITH         PINNEY                  TX          74017983919
2894687625B271   DOMINGO       ROJAS-GOMEZ             KY          90010938762
2894727897B422   JOHN          MATHEWS                 NC          90012702789
289476AA951331   KEVIN         KENNY                   OH          90000676009
2894895A37B449   SPENCER       SALAS                   NC          11081639503
2894918589794B   JANNETTE      SALAZAR                 TX          74013451858
2894962214B988   LEONARDO      CABRAL                  TX          76551776221
2894B863172B42   LANA          RUPP                    CO          33066688631
2895125774B988   JOSEPH        SCOTT                   TX          76586282577
28951577A91592   DORA ISELA    MOLINA                  TX          90007805770
28951A57A91547   CHRISTOPHER   KRAUSE                  TX          90013920570
28952123A5B271   MARCOS        ORTIGOZA                KY          68070401230
2895223172B892   DONALD        WHITTINGTON             ID          90008572317
289526A988B188   LIZ           GREUEL                  UT          90012636098
28953795372B88   JOSE          BARRAGAN                CO          90012857953
28954A62191547   FRANCISCO     ACOSTA                  TX          90013920621
2895518279189B   ROCIO         RODRIGUEZ               OK          90014061827
289551A363B356   MARIA         BLANCO RODRIGUEZ        CO          90009681036
289554AA191241   PAYGO         IVR ACTIVATION          GA          90011574001
2895562AA57157   MELISSA       MONROE                  VA          90010016200
2895563775B571   MARELLA       DALGAI                  NM          90014646377
28955A8614B988   DICKIE        SPICKARD                TX          90009500861
28956187572B29   KEITH         GUMMIN                  CO          90009261875
2895662147B449   JEL           K                       NC          90014156214
2895759A851328   SARAH         ISAACS                  OH          90006105908
2895899689155B   LIVIA         FLORES                  TX          75049849968
28959A31657157   EMMANUEL      BOCKARIE                VA          90014160316
2895B525A85965   JOHN          TAYLOR                  KY          66033405250
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2895B57A772B42   ARTHUR        EVANS                   CO          90013445707
2895BAA744B281   MICHAEL J     BOUQUET                 NE          27048350074
2896145139184B   SONJA         ALDRIDGE                OK          90010434513
28961468A63635   YEATS         THURMOND                MO          27500774680
2896288887B449   DIANE         SPRING                  NC          11052158888
28962986A31453   JERRY         MORGAN                  MO          27565349860
28963564672B42   KATRINA       MOORE                   CO          33010835646
2896485A33B352   ROMEO         NICHOLSON               CO          90011538503
289658A2531453   CORTEZ        MINNIS                  MO          90011568025
2896722669189B   RONALD        OBRIEN                  OK          90014062266
2896748177B451   JOSE          MEDRANO                 NC          11094124817
2896768A62B27B   PARIS         ELLIS                   DC          90014306806
28967A1549189B   RONALD        OBRIEN                  OK          90014070154
2896827A791828   DANIEL        RODRIGUEZ               OK          90011512707
28968658472B29   VICTORIA      HINOJOS                 CO          90010656584
2896888852B27B   IBRAHIM       ANWAR                   DC          90006538885
28969526A72B42   OSTIN         HERNANDEZ               CO          90012895260
2896B868631277   LARENA        WARNER                   IL         90015408686
289713A7A5B259   AMY           WINTERS                 KY          68018873070
2897233239184B   JASON         WILLIAMS                OK          90010933323
2897355447B471   MARIELA       GIRON                   NC          90004335544
2897374A49184B   LAVERL        TILTON                  OK          21037917404
28973A85A5B161   MARCUS        BROWN                   AR          90004220850
2897467984B261   TERRY         SORTINO                 NE          27073096798
2897537584B588   SINGLETON     NICOLE                  OK          90014173758
2897567895B271   ROSALINDA     ALLEN                   KY          68024166789
2897578A181638   JENNISE       TURKS                   MO          29032897801
28976A5834B521   AMBER         HERRIN                  OK          90000990583
2897763A691547   LUPITA        CORDERO                 TX          75089276306
2897894737B449   MARIA         RUIZ                    NC          90007949473
28978A96231453   ALYSSA        MEYER                   MO          27581160962
2897927479189B   CHRISTINA     BARBER                  OK          21004232747
28979634A91356   TANICHIKA     WILLIAMS                KS          90014866340
2897B929691592   ALEJANDRA     PEREZ                   TX          75016819296
289819A8191547   MARTIN        KENNEDY                 TX          90014239081
2898211777B449   JESSICA       ANTHONY                 NC          90001541177
28982296772B29   ELIZABETH     JIMENEZ                 CO          90000942967
289823A5881638   STEPHEN       TYRELL                  MO          90001383058
2898272A472B88   IRAN          BLANCO                  CO          90006967204
28982823A5B571   RENA          CROWTHER                NM          90012668230
289828A214B261   SHUNTA        PAUL                    NE          27046438021
289837A977B328   JUAN          AGUILAR                 VA          90000557097
2898394195B271   THOMAS        TAYLOR                  KY          68016069419
289844A942B229   TWAN          WEAVER                  DC          90001624094
2898491789184B   SERGIO        ALBA                    OK          90009599178
28985515A91528   DANIEL        SANO                    TX          90003305150
2898766885B571   JOHNELLE      LONG                    NM          90014646688
28987A5A52B27B   ERICKA        JAMES                   DC          90013180505
2898828A281633   LAVONNE       MCFADDEN                MO          90013652802
2898887A884382   MICHAEL       HARKNESS                SC          90005228708
28989454A9189B   LASHION       REYNOLDS                OK          90012284540
2898959535B571   JENNIFER      MAESTAS                 NM          35077035953
28989A28372B88   SHERYL        PURCELL                 CO          90012780283
2898B325191356   YVONNE        LOVE                    KS          29059703251
2898B454281633   JULIO         AROYO                   MO          90011164542
2898B56414795B   BOBBY         PARKER                  AR          25033665641
2898B784191592   FABIAN        GRIEGO                  TX          75071647841
2898BA69572B88   MAIRA         GOMEZ                   CO          90014850695
28991266A4B281   JUANA         ALBERTO                 NE          90010212660
28991337172B88   RAVEN         ZENT                    CO          90014763371
289935A3926759   NADJY         TYLER                   PA          90013005039
28993796A85965   KATHERYN      LARISON                 KY          90010797960
28994178A4B281   JOHN          SALAZAR                 NE          27091611780
28995423236B77   ELODIA        VALENCIA                OR          90015094232
2899559175B271   JAMES         PERRY                   KY          90014935917
28995AA764B261   KARLA         GARRITY                 NE          27001530076
289978A7A4B988   NECIL         BECKETT                 TX          90000718070
2899814A181633   CHRISTOPHER   HARRIS                  MO          90003791401
2899854179184B   CHRISTINE     GURROLA                 OK          90014915417
2899945814B588   CHANTA        CARILLO                 OK          90010754581
28999A6544795B   JAMES         MCCULLOUGH              AR          25087620654
2899B336A91833   LISA          CUDJO                   OK          21051483360
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2899B35322B27B   DANIEL            VELAZQUEZ MATIAS     DC         90010423532
2899B39144B588   LUCILA            RAMIREZ              OK         90014963914
2899B759957531   DAMBRA            DABNEY               NM         90009727599
2899B95644B281   DIEGO             BARRERA              NE         90012129564
289B1213372B88   ALEJANDRA         TORRES               CO         90001712133
289B1469772B29   JOSUE             BLANCO               CO         33029194697
289B1718291828   ANDREA            LAWRENCE             OK         21055617182
289B1962257157   NICKOLE           CROMARTIE            VA         90014159622
289B275854B988   MICKIA            TOLER                TX         90002317585
289B3291854B84   ISHAM             COLEMAN              VA         90005342918
289B3982A4B261   FORGN             PIERCE               NE         27087219820
289B4554685991   ERIK              NIEDERKORN           KY         90007195546
289B4736891547   GEORGINA          TREJO                TX         75081177368
289B4826A72B42   KENDRA            BURBACH              CO         90012758260
289B484197B471   BILL              DOLLAR               NC         11069688419
289B543497B471   EYOSIAS           ARGAW                SC         90007464349
289B6352191547   MARIA             ANDAVAZO             TX         90011063521
289B689349152B   MARTHA            VALLES               TX         90001758934
289B721817B449   DONALD            ESTES III            NC         11088852181
289B7426991547   STEPHANIE         ESCOBAR              TX         90012624269
289B773879189B   ANTONIO           CARBAJAL-HERNANDEZ   OK         90012347387
289B7824A9184B   LESLIE            SELFRIDGE            OK         90011648240
289B7849572B42   CARMEL            TANSEY               CO         33083368495
289B858395B571   JAMES             LEE                  NM         90014645839
289B893414B588   TERESA            CONN                 OK         21579279341
289B9695172B88   SAMUEL            HIMES                CO         90010746951
289B9766872B29   BRENDA            DORN                 CO         90009847668
289B986269184B   ANDRES            MORAN                OK         90008658626
289B9966A4B261   MATT              LONG                 NE         27020519660
289BB21A54B588   STEPHANIE         WILLIAS              OK         90013262105
289BB3A9491356   MAURINO           JIMENEZ              KS         90013563094
289BB584772B88   ABEL              RICALDY              CO         90004015847
289BB721657157   SANDRA            MCCRORY              VA         90013127216
28B11448472B29   NANCY             ROJAS                CO         33067774484
28B11976272B21   LEIGH AND JASON   HAGIN                CO         90009989762
28B12135591828   PEDRO             ARROYO               OK         21095171355
28B13444685991   DANIELLE          GADD                 KY         90008924446
28B13531A5B161   ERIC              DOBBINS              AR         90007545310
28B13792191547   CLAUDIA           MATA                 TX         75059877921
28B13883691356   MARIA             BAUTISTA             KS         90000558836
28B1428539189B   JACKIE            CAFFEY               OK         21096652853
28B1542365B571   VICTOR            ORTIZ                NM         90014294236
28B1542779189B   JEFF              BAXTER               OK         21032524277
28B15755391241   LINDA             BROWN                GA         90011607553
28B16162191828   DANITA            DENNIS               OK         90010171621
28B1664134B261   CANDY             JONES                NE         90013766413
28B16711A91592   ZAIRA             SALINAS              TX         90013627110
28B16735472B88   MICHAEL           HARRISON             CO         33076967354
28B1682259794B   JOSEPHINE         PADRON               TX         74004018225
28B17439372B42   TERENCE           BRADSHAW             CO         90013104393
28B17846731631   TINA              COSTER               KS         90013608467
28B17956772B29   MARISOL           VALBUENA             CO         33078199567
28B17A7A74B261   NEFTALI           ZARAZUA-PENA         NE         27043510707
28B1862114B261   CARLOS            VELASQUEZ            NE         90013296211
28B18A76452B58   WHITLOCK          CINDY                CA         90000820764
28B19479A91547   ARMANDO           SILVA                TX         75012564790
28B1966264B588   ARACELI           OJEDA                OK         90012516626
28B1966699155B   JESUS             MEZA                 TX         90006536669
28B19722A9184B   ASHLEY            PRICE                OK         90003497220
28B19876772B88   SANDRA            LOPEZ                CO         90014098767
28B1B365891592   CRYSTAL           AVILA                TX         75091483658
28B1B61835B571   ADELA             URTIAGA              NM         90014616183
28B1B865291828   ALOMERO           LOPEZ                OK         21039348652
28B1B98A891356   AMBER             TIMMONS              KS         90009579808
28B2123485B571   MICHAEL           GIBSON               NM         90011702348
28B2147AA4B588   HERMAN            PEREZ                OK         90000394700
28B21585472B88   ANGEL             ARINAGA              CO         90013235854
28B2167A44B231   MIKE              WENNINGHOFF          NE         27087266704
28B21962591241   DARLENE           JONES                GA         90014719625
28B21A15981633   COLLIS            LEE                  MO         29000940159
28B22452591241   ALONZO            GLOUD                GA         90007464525
28B22585991592   MARTHA            FABELA               TX         90014655859
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28B2264575B571   DORIAN      FRENIERE                  NM          90014616457
28B2291A631433   DETRICE     RAY                       MO          90008719106
28B22A8464B588   CAMILO      GONZALEZ                  OK          90010330846
28B2364575B571   DORIAN      FRENIERE                  NM          90014616457
28B23728181633   MONICA      TURNER                    MO          90013157281
28B24294972B42   CHRIS       MEIKLEJOHN                CO          90010212949
28B2459895B161   TOMMIA      SHELTON                   AR          23029125989
28B2464575B571   DORIAN      FRENIERE                  NM          90014616457
28B2475914795B   DAVID       WARD                      AR          25007477591
28B24761151328   KEITH       MCINTOSH                  OH          66053677611
28B24997891542   ANTONIETA   TREVINO                   TX          90007409978
28B2561A472B88   TRAVIS      CONOVER                   CO          33000586104
28B25648131453   LATRELLE    YANCEY                    MO          90014656481
28B26345991547   ARTURO      CEBALLOS                  TX          90008423459
28B2654455B271   BIANCA      ROTA                      KY          68013465445
28B2687669184B   ANGELICA    JUAREZ                    OK          90008448766
28B26A99791828   MARCO       LARIOS                    OK          90014470997
28B27389981633   LUPEE       AGUILAR                   MO          90014893899
28B2753714B521   MARIA       GODINEZ                   OK          90005165371
28B2764897B449   MICHELA     CORNETT                   NC          90014046489
28B2837419189B   BRIDGETT    MCNEILL                   OK          90010373741
28B28499A91592   MARCO       RODRIGUEZ                 TX          90004014990
28B28772136B77   KARINA      GUITRON                   OR          90004287721
28B29442691592   GUADALUPE   MADRID                    TX          75097244426
28B2945669184B   MISS        JORDAN                    OK          21078474566
28B2949664B281   DARYL       WADE                      NE          90009244966
28B2B912572B42   SANDRA      LEAL-BECERRA              CO          33085709125
28B2BA45151328   ZACHARY     STEFFES                   OH          90014630451
28B31519957157   ROXCANA     RAMOS                     VA          90014135199
28B31951691592   CRISTIAN    TELLEZ                    TX          90014179516
28B32239257157   JORDAN      HOGAN                     VA          90013172392
28B32273461995   ELLEN D     NEHRKORN                  CA          46053252734
28B32644672B42   DARNISHA    JOHNSON                   CO          90014906446
28B32679672B88   MODESTA     ARCHULETA                 CO          90002836796
28B3287354B281   ELIZABETH   WAL                       NE          90014348735
28B32933981637   SAMANTHA    MILLER                    MO          29064149339
28B32937291592   OFELIA      GONZALEZ                  TX          90012859372
28B32959785965   SHANNON     SUNN                      KY          90015079597
28B33428A4B588   STEPHANIE   DOTSON                    OK          90011024280
28B33558872B29   NATALIE     YOUNG                     CO          33015685588
28B3452463B384   LISA        BARNICA                   CO          90012725246
28B3571455152B   SHIRAH      LEWIS                     IA          90014737145
28B36363976B69   BEATRIZ     AMBRIZ                    CA          90008493639
28B3684544795B   TRACEY      RUSSELL                   AR          25015958454
28B375A3A9184B   MARISELA    HERNANDEZ                 OK          90010135030
28B3764679189B   TEVIN       BURKS                     OK          90012436467
28B3784544795B   TRACEY      RUSSELL                   AR          25015958454
28B38164785965   ROLANDO     GARCIA                    KY          90015081647
28B38376191547   MIGUEL      CASTANEDA                 TX          90003473761
28B3838A55B161   KAURON      MAYO                      AR          90013313805
28B3861AA4B281   SANCHA      KANE                      NE          90015096100
28B3948942B27B   PHYLLIS     M. FERNANDORS             DC          90013144894
28B399A634B261   MASON       ALTHEA                    NE          90000719063
28B4114155B331   KATHLEEN    PHIPPS                    OR          44597641415
28B42581893762   THERESA     HAMBACH                   OH          90012565818
28B42849492864   JOSE        ESTRADA                   AZ          90015368494
28B42A41491592   EVENE       JIMENEZ                   TX          75097610414
28B43489272B88   BAILEY      CARPENDER                 CO          90013934892
28B438A8491828   MARIO       BEARD                     OK          90009748084
28B4419285B271   LORENZO     BARRERA                   KY          90012031928
28B441A614B281   DIANE       HERNANDEZ                 IA          27086891061
28B45681772481   ASHLEY      RAGER                     PA          90006156817
28B46329457157   FRANCIS     CARDOZA                   VA          90012203294
28B4678354B281   TIMOTHY     JACOBS                    NE          90001547835
28B4689649189B   ROBERTO     CORREA                    OK          21057978964
28B46947351328   FELECIA     JOHNSON                   OH          90013139473
28B4741194B281   NICOLE      LAFOE                     NE          90011814119
28B47658751328   KEEGAN      WOOLDERIDGE               OH          90012226587
28B48191755935   SHUMA       YOUNG                     CA          90004691917
28B48199293767   BETH        HOBBS                     OH          64517471992
28B48228893724   MARIA       YUPA                      OH          90009712288
28B48297991241   SHANTE      FREEMAN                   GA          90014722979
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28B48693372B42   FRANK        VASQUEZ                  CO          90009526933
28B48884991592   ANTELMO      GARCIA                   TX          75046888849
28B48A32281633   CHRIS        MAGUIRE                  MO          90013190322
28B49663991547   YVONNE       ORTIZ                    TX          75087906639
28B49725891828   LATEASE      DELOUISER                OK          90013537258
28B4977385B271   JOSHUA       AYERS                    KY          90014927738
28B4985412B572   AMBER        HARRIS                   AL          90014148541
28B4B245772481   JOHN         KARPEL                   PA          51083682457
28B4B858491356   WILLIAM      BAUER                    MO          29022908584
28B5122882B27B   FRANK        BROWN                    DC          90012792288
28B5131979184B   DEWAYN       GIBBS                    OK          90010963197
28B515A8A72B88   EVELIO       MENDEZ                   CO          33024885080
28B51669541245   RYAN         DUNLAP                   PA          51024976695
28B5167219184B   MARLENE      LOZANO                   OK          21093556721
28B52353872B88   CHRISTOPHE   RICHARDSON               CO          33096863538
28B5274995B571   THOMAS       ZUNI                     NM          90006317499
28B52783557157   MAXIMO       MACIAS                   VA          90014497835
28B531A5172B29   JOSE         HURTADO                  CO          33028361051
28B53735281633   MATT         YABRRA                   MO          90012047352
28B53854A5B571   REYNOLDS     BRITTANY                 NM          35020008540
28B5388249184B   MAURICE      BUNCH                    OK          21018038824
28B54376191547   MIGUEL       CASTANEDA                TX          90003473761
28B547A2191889   MARITZA      ESPINOZA                 OK          90012587021
28B55154331453   LARRY        HENDERSON                MO          27574641543
28B5612414B521   NICOLE       HUDSON                   OK          21563461241
28B56175151328   BRIAN        SMITH                    OH          90000431751
28B5635265B161   FRANK        GIVAN                    AR          90002063526
28B56516A5B271   BROOKE       IMHOF                    KY          90015215160
28B56529597132   DOUGLAS      GERHOLD                  OR          90011885295
28B5737259184B   STEPHEN      ROGERS                   OK          90003933725
28B57635A57157   STACEY       MATTHEWS                 VA          90011516350
28B5834672B27B   CELESTE      HAYNES                   DC          90015133467
28B58596872B42   ARMANDO      BOTELLO                  CO          33089215968
28B58639A91828   ANGELA       TUNNELL                  OK          90013336390
28B5884124B261   TYLER        TIETSORT                 IA          90014158412
28B59233691356   RENE         OJEDA                    KS          29078242336
28B59397857157   ELIZABETH    COSGROVE                 VA          90000893978
28B5955988B147   CORY         GREEN                    UT          90012075598
28B5971914B281   DONSHA       MAYFIELD                 NE          90014717191
28B5996859184B   MELISSA      RAIMONDI                 OK          90012579685
28B5B35244B261   SHEENA       WESTERFIELD              NE          27046743524
28B5B759891356   TATSY        BROWN                    KS          29095177598
28B5B7A2A4B521   MICHELLE     CARMICHAEL               OK          90012597020
28B6163572B27B   NORA         GARCIA                   DC          81094036357
28B6219314795B   MARIA        SANDOVAL                 AR          25054371931
28B62869891828   JUAN         ESCOBAR                  OK          90014598698
28B634A6791592   ROXANNA      MARTINEZ                 TX          90006434067
28B6366127B449   TYECIA       STEELE                   NC          90009666612
28B63725431453   ROBIN        ARMSTEAD                 MO          90014657254
28B6436265B271   TODD         CHAMBLEE                 KY          90003133626
28B64443791547   JAIME        CORREA                   TX          90014934437
28B64467851322   AARON        RANDOLPH                 OH          90011774678
28B64579A7B449   CHARLES      NORWOOD                  NC          11007715790
28B65356A9184B   JESSICA      HERNANDEZ                OK          90014683560
28B65624581633   JEFFREY      GALINDO                  MO          90011186245
28B65636291828   RENEE        KELLER                   OK          90014536362
28B662A989189B   DAWN         TERHUNE                  OK          90008242098
28B6638384B281   RICARDO      DAUBMAN                  NE          90005723838
28B67534451328   JORDAN       POWELL                   OH          90010575344
28B67913172B29   JANESE       STAGGS                   CO          33054599131
28B6826854B261   DEBRA        SCHABER                  NE          90010782685
28B684A557B449   STEFAN       NADZAM                   SC          90009014055
28B6866172B27B   LUVINIA      CARTER                   VA          81015896617
28B68988591356   FRANCISCO    ESCARCEGA                KS          90001679885
28B68A72185965   STANLEY      YOUNG                    KY          66038130721
28B69278A41248   TRACY        LANE                     PA          90013402780
28B69311172B88   CASSANDRA    GIBNEY                   CO          90012763111
28B6931619184B   APRIL        TRUE                     OK          90014663161
28B69412591241   LYNNE        BRACKINS                 GA          90010774125
28B6969A131631   KEVIN        WALTER                   KS          22033586901
28B6989765B161   DENISE       PURIFOY                  AR          23087288976
28B6B2A3A2B27B   SHAQUITA     WILSON                   DC          90014762030
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28B6B678A85884   RUTH           MORALES                CA          90008906780
28B6BA91691833   SANDI          PRYOR                  OK          21097040916
28B71228472B29   PATRICK        QUINN                  CO          90015042284
28B71417872B42   MARIA          RIVAS                  CO          90012834178
28B71787391833   PHILLIP        HAYMOND                OK          90015447873
28B71A21A7B644   GERARDO        GARCIA                 GA          90013690210
28B72141691833   STEFAN         BRYANT                 OK          90011521416
28B7235124B261   MABEL          SANCHEZ                NE          27050863512
28B72534A31453   WILLIAM        NEIL                   MO          90011145340
28B7277965B161   GION MARIAH    RUSSELL                AR          90011547796
28B72842A9189B   JORGE          HERNANDEZ              OK          21034008420
28B7295193366B   SAMANTH        CHANDLER               NC          90011829519
28B73669291534   ANA            CALDERON               TX          90007816692
28B7376164B588   MIGUEL         MORENO                 OK          21572967616
28B73A95991241   WINTON         WATERS                 GA          14572410959
28B74114454185   BRIAN          CUNNINGHAM             OR          90014201144
28B7425794B588   REVA           NEWTON                 OK          21559582579
28B74368431433   MATHEW         COX                    MO          27517063684
28B74633491241   FRANCISCO      GASPER                 GA          90010226334
28B7498859184B   CHARLES        JOHNSON                OK          21062009885
28B75124757157   TAHRIE         BREVARD                VA          90007931247
28B7549474B588   STEVEN         HAYS                   OK          90014814947
28B757A515B571   CHRISTANNE     JULIAN                 NM          90014617051
28B75895181633   JAMEELAH       WASHINGTON             KS          90011998951
28B75A32691828   LORA           REYNOLDS               OK          90010080326
28B7612658B184   LAURIN         LOWRY                  UT          90014521265
28B7613963B333   JOSEPH         TORRES                 CO          90000251396
28B76568A4B261   VINCE          EBERHAND               NE          90010265680
28B7713A72B27B   SHIRLEY        HOPKINSON              DC          90013421307
28B7757754B281   CACHE          STURDEVANT             NE          90014775775
28B7771435B161   LAMONT         HOLMES                 AR          90014807143
28B7786334B521   STEPHANIE      BUTTS                  OK          21505808633
28B77962957157   DESARAY        LEWIS                  VA          90011189629
28B78452785965   AMY            ALLEN                  KY          66002804527
28B7846519184B   CLAUDIA        GOMEZ                  OK          90013394651
28B78495531453   NIYA           DOYLE                  MO          90014364955
28B7887442B27B   MARCUS         SPANN                  DC          90015218744
28B788A552B27B   MARCUS         SPANN                  DC          90013118055
28B79259191547   MERICA         BRIGHT                 TX          75004422591
28B7926379184B   LATONYA        OGANS                  OK          21091492637
28B79659A4B988   SHARITA        WALKER                 TX          90000946590
28B7976379794B   ISMAEL         MARTINEZ               TX          74010077637
28B79A79585991   JOSEPH         OLDIGES                KY          66073230795
28B7B666772B88   JAVIER         HERNANDEZ              CO          90010816667
28B81159891241   KATRINA        SCOTT                  GA          90014731598
28B8126794B588   NIKKI          GUZMAN                 OK          90006972679
28B8239675B271   KEVIN          MUSINSKI               KY          90007103967
28B8251414B261   EDRUN          BOYER                  NE          27029215141
28B82616291828   ESMERALDA      MONSIVAIS              OK          90005966162
28B82696891592   JUAN           GONZALEZ               TX          90003866968
28B82A43591833   JUDITH         MIZE                   OK          21013050435
28B8313257B449   TIM            GREEN                  NC          90011951325
28B83525151328   BRIAN          HOWELL                 OH          66046015251
28B8352994B281   ASHLEY         ANDERSEN               NE          90011675299
28B8448865B271   TERRY          ALLEN                  KY          68021574886
28B8458597B449   LINDA          SIMMONS                NC          11003695859
28B85187672B29   CATOSHA        BENJAMIN               CO          90013471876
28B85262691547   JOE            HERRERA                TX          90013202626
28B854A594B261   PATRICIA       ODINAS                 NE          90003134059
28B85697A31453   STEPHANIE      BATES                  MO          90014166970
28B856A4191828   JOHNNY         RAMIREZ                OK          21005156041
28B85958972B42   CODY           OSBORNE                CO          33028399589
28B86661291547   CYNTHIA        CRUZ                   TX          90009846612
28B86728131453   REGINALD       RICHARDSON             MO          27517857281
28B8742655B271   JESSICA        MOHR                   KY          90014484265
28B87451857157   NATHALIE       AGUIRRE                VA          81046984518
28B87653181633   JOANA          CALHOUN                MO          29001026531
28B87A85A5B271   ALI L.         MADDUX                 KY          90010510850
28B8829925593B   MELINDA        PHILLIPS               CA          90000762992
28B88A6A32B27B   DEMETRIA       MURPHY                 DC          90011190603
28B8935368B831   VAMEIHENGALU   HUHANE                 HI          90015443536
28B895AA48598B   MARY           LIVELY                 KY          90013205004
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28B89982372B29   NICOLE      HALL                      CO          90012719823
28B8B495531453   NIYA        DOYLE                     MO          90014364955
28B8B792372B29   ANGELICA    VAZQUEZ                   CO          33040857923
28B8B819691833   SARAH       GORDON                    OK          90003448196
28B8BA7215B571   YVONE       SIAZ                      NM          35091700721
28B9133A95B571   DREW        BENAVIDEZ                 NM          35091453309
28B91744672B42   BACTAZAR    HILDEBERTO                CO          33078427446
28B91A9547B471   LAWANDA     MICKEL                    NC          11040910954
28B92268A4B261   ANDREA      HENDERSON                 NE          90005382680
28B92541591592   ANN         HERNANDEZ                 NM          75000815415
28B925A2272B88   SAM         MEILS                     CO          33026435022
28B92967791356   KATHRINE    COLLINS                   KS          90001049677
28B93181291528   RUTH        MARTINEZ                  TX          90003291812
28B93711A5B571   NEVA        ARGUELLO                  NM          35007337110
28B93832A72B42   MARIA       MENDOZA                   CO          33088938320
28B942A534B588   FELICIA     WILSON                    OK          90012382053
28B95458872B42   RAYMOND     VIGIL                     CO          33072484588
28B95592581638   TIMOTHY     SMITH                     KS          29014255925
28B9595979189B   ALEX        GOMEZ                     OK          90011149597
28B96144681637   TRINA       WILLIS                    MO          29089011446
28B96245991241   LINBURG     ELLISON                   GA          90014732459
28B9649822B962   JOHN        CASTILLO                  CA          90010674982
28B9652694B261   TRICIA      BARBER                    NE          27010215269
28B97465881637   CATHY       LUTTRELL                  MO          29013694658
28B97A3544B281   MANUEL      SANCHEZ                   NE          90013920354
28B97A3839184B   STEPAHNIE   SANCHEZ                   OK          90010270383
28B9826262B27B   JUDY        LINDSEY                   DC          90012842626
28B9838194B281   CHARLES     NEWSON                    NE          90013903819
28B9872285B571   JASMINE     BASELA                    NM          90011707228
28B98A37872B29   GORDON      SCOTT VOEGTLIN            CO          33095300378
28B99471791828   TOSHA       COWANS                    OK          90013634717
28B99981A4B281   SHAKIARA    DAVIS                     NE          27003649810
28B9B28439155B   DELILAH     MARTINEZ                  TX          90006622843
28B9BA4A69189B   CECILIA     DE RIO-AMBRIZ             OK          90014370406
28BB1134227B45   BERTHA      MANRIQUES                 KY          90013921342
28BB1535891356   JUANA       ARITA                     KS          90012245358
28BB1539291241   WILLIAM     BLANCHARD                 GA          90007665392
28BB1564431453   SHAWN       NANCE                     MO          90010465644
28BB2511891528   ANNALICIA   QUINTANA                  TX          75062835118
28BB2539291241   WILLIAM     BLANCHARD                 GA          90007665392
28BB2821385965   TIM         EUBANKS                   KY          66068758213
28BB3138576B69   ROXANNE     HOBSON                    CA          90002851385
28BB316792B27B   REGGIE      B                         DC          90012791679
28BB35A4685965   SHERRY A    SMITH                     KY          90006685046
28BB5221472B88   ROBERT      NEUMAN                    CO          33072112214
28BB5563857157   BERKLEY     WATERBURY                 VA          90002635638
28BB5592291881   ERIN        CAMPBELL                  OK          90005025922
28BB646452B27B   JAMES       PYLES                     DC          90014844645
28BB717A391828   MIGUEL      ZACARIAS                  OK          21019881703
28BB7257972B42   EDER        BARRAZA                   CO          90013552579
28BB756459155B   ROBERT      GARZA                     TX          75017655645
28BB832944B521   SARA        ALSEPT                    OK          21563443294
28BB8341136B77   HAZEL       BIRCH                     OR          44590053411
28BB885A89189B   GLEN        HINCH                     OK          21086478508
28BB8A16691592   NORMA       SOTO                      TX          90009160166
28BB925919189B   LILIANNA    AVELA                     OK          21032372591
28BB939974123B   GAIL        MCCUNE                    PA          90007543997
28BB9554291356   ANA         GARCIA                    KS          29046575542
28BB9666A5B271   DONALD      LAMBERT                   KY          90008086660
28BB9846691241   CHAKA       HYMON                     GA          90014718466
28BBB38A891547   LAURA       GONZALEZ                  TX          90010943808
28BBB524185965   LINDA       RAUEN                     KY          90015055241
28BBB72544B261   ANTHONY     KITT                      NE          90001107254
28BBB746691592   JOSE        BARRIENTOS                TX          90012027466
28BBB993172B42   RICHARD     WOERNER                   CO          90013119931
29111731672B42   NANETTE     MENDOZA                   CO          33008997316
2911181582B27B   KELLY       ROOSEVELT                 DC          81012628158
29112826854B6B   LOURDES     BOWENS SMITH              VA          90008728268
2911354819155B   JULIO       VASQUEZ                   TX          90014245481
29114358A91522   ESTEBAN     MURO                      TX          90005403580
29114492A55957   FERNANDO    BENITEZ                   CA          90005074920
2911735544B582   LATASHA     STEVENSON                 OK          21595783554
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29117811A72B84   JOSE        TREJO                     CO          33071518110
2911842822B357   LASHANDA    FRANKLIN                  CT          90012544282
291185A8A5B271   CHVANDA     HENLEY                    KY          90005335080
291188A2531453   ASHLEY      NELLUMS                   MO          90014548025
2911957A19189B   WHITNEY     BURKE                     OK          90005305701
29119733972B42   JOHN        TREJO                     CO          33095397339
2911B872A4B261   DANIEL      KING                      NE          90009998720
291214AAA91953   DARNELLA    DAVIS                     NC          90014024000
2912232817B783   SHAWN       WILLIAMS                  CA          90015183281
2912364497B449   FOREST      WALKER                    NC          11089526449
29123A2575B571   BRENDA      FLORES                    NM          90013010257
29123A9145B161   WILLIAM     DURHAM                    AR          90005610914
2912489839189B   EBONY       SYAS                      OK          90014308983
2912516799184B   JOSEPH      CLOUD                     OK          90013411679
2912523517B449   BERNETTA    LATRICE POLK              NC          11060532351
2912566832B229   MARITZA     MARQUINA                  DC          90008666683
29125788887B87   YVETTE      MOORE                     AR          90010017888
2912714535B161   TANYA       HARRIS                    AR          90014811453
2912734A151328   MARRY       TUNING                    OH          90012023401
291277A195B28B   DENISE      ARMSTRONG                 KY          90005827019
291286AA93B333   KENYA       BARTHELEMY                CO          90007886009
29128863787B87   LATRICE     LOWE                      AR          23032338637
2912939655B571   ERIK        PIERCE                    NM          90015013965
2912B2A5191592   LUIS        CARRILLO                  TX          90014692051
2912B559391953   JOSEPH      MBOMBO                    NC          90005875593
2912B856387B87   TAKEYLER    WHITE                     AR          23013578563
2912B928755944   ALEJANDRO   RAMIREZ                   CA          90014999287
2913168215B571   DAVID       GRANADOS                  NM          90012876821
2913255943B15B   NIGEL       ANTHONY                   MD          90014885594
2913339819189B   LAQUETA     CHERRY                    OK          21060303981
2913424269189B   CHRISTY     RYAN                      OK          90015062426
29134742572B42   MICHELLE    ASWAD                     CO          33011367425
29134A4145B571   ANTHONY     SOTO                      NM          90008710414
2913532965B161   ANDREA      PLUMMER                   AR          90014803296
29135381A5B571   VANESSA     SALAZAR                   NM          90014763810
29135A3625B571   MARIA       ROBLEDO                   NM          90012790362
291362A7A55957   CORINA      REYNA                     CA          90002972070
2913642A84B261   JUAN        OCHOA                     NE          90013414208
291366A997B449   MIKE        SMITH                     NC          90010526099
2913683645B161   SHARON      HENLEY                    AR          23077678364
29136A62431453   DERRICK     MCDANIEL                  MO          90012950624
2913732735B343   IVAN        RODRIGUEZ                 OR          44586583273
291374A717B471   DARMARCO    STOKES                    NC          11003934071
2913845A17B334   MERLYN      QUINTANILLA GONZALEZ      VA          90006184501
2913883645B161   SHARON      HENLEY                    AR          23077678364
291394A9931453   SYLVIA      BECKS                     MO          90007984099
291396A445B271   JON TODD    FUCHS                     KY          90012096044
2913987429184B   LATRICE     PANNELL                   OK          90011078742
2913996777B449   TAMEKA      BURNO                     NC          11011379677
2913B67546196B   JULIE       ROBERTS                   CA          90013206754
2913B925451328   ANGEL       RIELAGE                   OH          90002969254
2913B962584364   SHARONDA    DELESLINE                 SC          90007659625
2914287644B261   ANABEL      AVALOS                    NE          27072028764
29145342987B87   TOYEDITH    RICHARDS                  AR          23080993429
2914564A591953   JANE        SMITH                     NC          90003906405
291456A869184B   CASIMIRO    GALLARDO                  OK          90006636086
29145985A55997   RAFAEL      AGUILAR                   CA          90011469850
291461A6451328   KIMBERLY    BRAY                      OH          66089751064
29147115A91828   RACHEL      HARBERT                   OK          90014001150
2914811389155B   MARICELA    CASTRO                    TX          90006491138
2914814A587B87   ADRIEN      THOMPSON                  AR          23032481405
2914858A99184B   ROBIN       GILMORE                   OK          21037215809
2914987A387B87   SHANICA     IVERSON                   AR          90015428703
2914B298887B87   EBONY       WRIGHT                    AR          90014212988
2914B329431453   MARSTINE    WATFORD                   MO          90015253294
2914B67A581667   BRENDA      JOHNSON                   MO          90009746705
2914BA6733366B   JAKEETA     WILEY                     NC          90012570673
2915122327B449   MARIA       ALVAREZ                   NC          90010682232
2915217765B571   BRIA        LOPEZ                     NM          90004911776
2915241A481633   OSCAR       DE LA CUEVA               MO          29011494104
29152561997B69   LESLIE      HILGENBERG                CO          90012435619
29152A5435B127   MELANIE     CHAPMAN                   AR          90006050543
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29153235A91522   ALFREDO      AMAYA                    TX          90007602350
29153881A9155B   ANA          VALDEZ                   TX          90012858810
2915561299155B   MANUEL       HERNANDEZ                TX          90004946129
2915563397B449   JUAN         GARCIA                   NC          90014916339
29155699A57133   MARIA        EGUIGURE                 VA          90003276990
29155AA1572B84   JOSE         SALAZAR BURCAIGA         CO          90004540015
2915634195B161   SHARONDA     BURKES                   AR          90014803419
2915683714B588   DANIEL       VANVALKENBURG            OK          90009298371
29156A42551328   RONDA        MCCOY                    OH          90013680425
2915725485B571   RODLYN       MURO                     NM          90014252548
291586AAA55957   ALISHA       CASTRO                   CA          90014266000
291597A234B588   KAREN        WILLIAMS                 OK          90015027023
2915B473491522   MICHELLE     GARCIA                   TX          90004894734
2915B848A91953   CLAUDIA      ADAME                    NC          90007948480
291614A919184B   ESTAFAN      ABARCA-JAIME             OK          90009334091
29161A6435B571   ERIC         GRIEGO                   NM          90013990643
29161A68351336   TERESA       SMITH                    OH          66052070683
2916242377B449   SANDRA       GARCIA                   NC          90012814237
29162592572B84   CHRIS        LYNCH                    CO          90011715925
29162594572B21   SARAH        FREDERICK                CO          90007075945
2916344A19184B   MARIA        GONZALEZ                 OK          90014504401
2916429397B449   SIAMIRAMYS   GAYLE                    NC          90013922939
2916484415B571   ANNA         DELANO                   NM          35036658441
29164A6A94B281   CHARLES      VOGELE                   NE          90013190609
2916516479184B   BRYANT       ADAME                    OK          21094981647
29165744A7B323   PAULINE      SHAW                     VA          81081167440
2916587155B571   LUCAS        TOMPKINS                 NM          90014428715
29167868272B84   TRINA        HERNANDEZ                CO          90006678682
29167A78855957   SALVADOR     DELGADO                  CA          48000540788
2916841797B449   KENIA        VENTURA                  NC          90014964179
2916842249189B   ANDREA       MARTINEZ                 OK          90006154224
2916887225B57B   CYNTHIA      JIMENEZ                  NM          90012168722
2916998418B16B   KIMBERLY     ROCKWOOD                 UT          90002119841
2916BA3685B571   CARMEN       LARA HERNANDEZ           NM          90003810368
2916BA5A52B242   VICENTE      BONIFACIO                DC          90007740505
2917178629155B   ROSIE        OROZCO                   TX          90006997862
29171A55131453   BRIONNA      ROBINSON                 MO          90014050551
29172391A91528   ALIDA        RAMIREZ                  TX          75000723910
29172671A7B393   CASSIO       MENEZES                  VA          90009266710
29172A4935B271   KEVIN        CANDLER                  KY          90006650493
2917316885B161   DIANE        JACKSON                  AR          90012251688
2917411135B161   MARCO        HERNANDEZ                AR          90001581113
2917442577B449   CHANDLER     E                        NC          90014294257
2917514825B271   TRACY        BYERS                    KY          90011171482
2917616885B161   DIANE        JACKSON                  AR          90012251688
291764A169155B   MARIA        MONTOYA                  TX          90010774016
29176A45991522   FELIPE       AVILA                    TX          90000690459
29176A73355957   VANESA       JARAMILLO                CA          48085350733
29177412A81633   SELESTINO    DELAO                    MO          90014934120
2917836A85B161   ALBERT       MORRIS                   AR          90014803608
2917861999155B   HOWARD       THOMAS                   TX          90011886199
2917923337B449   RODOLFOQQ    SANCHEZ                  NC          90013602333
2918143347B449   MICHAEL      HOGLEN                   NC          90010524334
2918248139184B   LISA         DURAN                    OK          90015304813
2918291229189B   KETWAINETT   DREW                     OK          21050609122
29182A1A391522   JORGE        ROBLES                   TX          90010360103
2918321499155B   LUZ          SALOME                   NM          75063102149
2918355814B261   MICHAEL      CONNELLY                 NE          90013935581
29183A9184B281   ANSELMO      RAMIREZ                  NE          27064270918
2918426189155B   STEVEN       MARTINEZ                 TX          90010482618
2918444A34B261   SUSAN        FULLER                   NE          90013414403
29184685472B84   IMELDA       BLANCO                   CO          33038056854
2918473194B281   VERNON       WILLIAMS                 NE          27027497319
2918531324B245   DAWN         COLDWELL                 NE          27005823132
2918566117B471   LINDA        OWENS                    NC          11020546611
2918665747B449   JONATHAN     HOLMES                   NC          90007036574
2918763727B471   CHERRELL     KING                     NC          90004356372
29187A7834B588   DOMINIC      WILBURN                  OK          90013550783
2918888A987B87   JOE          JACKSON                  AR          23091978809
29189334687B87   CHRISTOLYN   BROWN                    AR          90014063346
29189361A9155B   ESTEBAN      RODRIGUEZ                TX          90006103610
2918995374B588   DANA         HALL                     OK          21560179537
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29189A96181633   KAREN        NUNEZ                    MO          90013270961
2918B21685B161   DARIUS       WILKERSON                AR          90011652168
2918B6A7981633   KIARA        GILLESPIE                MO          90014536079
2918B836961985   EDA          MARTINEZ                 CA          90013778369
2919119955B571   JARED ALAN   SHARP                    NM          90014601995
291913A3597B69   FANYA        ARMENDARIZ               CO          90014983035
2919157995B271   MARIELA      GOMEZ                    KY          90006675799
29191A3688B135   JULIAN       VENEGAS                  UT          90005710368
2919232595B244   JOHN         KOZUMPLIK                KY          90014813259
2919234892B965   NAYELY       LOPEZ                    CA          90011993489
291927A975B571   REYNA        ARAGON                   NM          35087717097
2919284315B244   JOHN         KOZUMPLIK                KY          68056218431
29192A48287B87   KENYOTTA     BELL                     AR          90002950482
2919429617B449   CARLOS       ZUNIGA                   NC          90013922961
2919445A14B588   MARIA        CORDERO                  OK          21577434501
29194472A91953   STEVEN       FAULKNER                 NC          90014014720
2919459949155B   MARTHA       GUTIERREZ                TX          75022585994
2919477543B388   JORGE        CHAVEZ                   CO          33090797754
2919525354B588   MANUEL       GONZALEZ                 OK          90010712535
2919555144B588   TONY         LAREDO                   OK          90015345514
2919585879155B   JUAN         CARLOS                   TX          75069468587
29195AA8331453   REGINA       DAVIDSON                 MO          90011180083
2919639125B161   JEREMY       FRANKLIN                 AR          90014803912
29196473287B87   CANDIDA      BRIAN                    AR          90014614732
291976AA451328   RICK         SPURLING                 OH          66091836004
29198771A4B281   CHRISTINA    JOHNSTON                 NE          27071167710
29199349198B72   DOROTHY      ALLISON                  NC          90008863491
2919B36869189B   HERBERT      ISHEE                    OK          90015063686
291B1683A7B449   ARELY        LOPEZ ROBLERO            NC          90014476830
291B2389955957   RAMON        RUIZ                     CA          90007893899
291B2548287B87   TAMEKIA      PUGH                     AR          90014045482
291B388145B571   CARLOS       LARA                     NM          35005988814
291B4338984359   MAYA         SMITH                    SC          90008483389
291B4456A9155B   ARMANDO      MEZA                     TX          90001004560
291B4584872B84   ELISSA       ARNEL                    CO          33094305848
291B46A165B571   DIANA        ORNELAS                  NM          35094806016
291B4935691522   YASMIN       VARGAS                   TX          90011179356
291B6387972B42   MARTA        SOLORIO                  CO          90013783879
291B7516451336   COLLEEN      CAMPBELL                 OH          66006205164
291B7822444B62   ANTHONY      BULLARD                  OH          90014408224
291B821A47B449   SHON         HALL                     NC          11015832104
291B87A364B588   REGINA       FEDERICO                 OK          90009297036
291B9671A51328   IGNACIO      GARCIA                   OH          90014866710
291BB5A637B449   DELMI        MATA                     NC          90014885063
291BB716A91241   FRANCISCO    HERNANDEZ                GA          90009177160
292125A135B161   ANOTONA      PHILLIPS                 AR          90014805013
2921473A491881   RHALONDO     CROOMS                   OK          90001487304
29214A3834B588   MAVY         RIOS                     OK          90013790383
29214AA1A51336   URENA        GONZALEZ                 OH          90014540010
2921512884B245   MANUEL       BERMUDEZ                 NE          27076651288
292154A3887B87   JETHRO       DOGINE                   AR          90010914038
292155A515B271   PEGGY        EMBRY                    KY          68062405051
29215A3264B588   DAVID        WRIGHT                   OK          90009300326
2921627519184B   ERICK        LOPEZ                    OK          21007682751
29216A4525B271   KEISHANNA    HUGHES                   KY          90005620452
2921727A27B471   MICHEL       SOOW                     NC          11047152702
2921743A49189B   JAMES        NOWLIN                   OK          90011544304
2921792A651328   DOUG         MCCROSSIN                OH          90002369206
292179A545B571   AMANDA       QUINTANA-FLORES          NM          90009959054
29217AA6951336   JOHN         MAKLEM                   OH          66016770069
2921834347B449   JERMAINE     TOWNSEND                 NC          11085243434
29218685172B84   CHALANA      SIMS                     CO          33084216851
2921963869184B   FAITH        PEDE                     OK          90012316386
2921B197291592   YVONNE       GALINDO                  TX          75044961972
2921B19A65B571   STEPHANIE    GALLEGOS                 NM          35085881906
2921B232191828   CHARLES      UPSHAW                   OK          21050582321
2921B433438523   GREGORY      IPSON                    UT          90014804334
2921B636131631   DEBRA        HALL                     KS          22033466361
2921B88A461995   LINDA        HENSELL                  CA          90011788804
2921B967193737   APRIL        EDWARDS                  OH          64564119671
2921BA31A91953   SOAKI        KEBI                     NC          90011330310
2921BA76591522   HECTOR       AGUILAR                  TX          90009680765
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29221A7A191953   MATT        MCANDREW                  NC          90009920701
2922212695B161   TASWANN     POUNCY                    AR          90008301269
292222A6931453   ALEX        BUTLER                    MO          90009902069
292223A9272B42   EDGAR       MOS                       CO          33087003092
29222A46731631   CARTER      BRANHAM                   KS          90004770467
292235A2951328   TOM         VUNAK                     OH          90013865029
292235A399184B   LESLIE      CASEY                     OK          90002875039
2922464495B271   YASMINE     CROOM                     KY          90005766449
29224A2215B571   CLOE        GARCIA                    NM          90013170221
2922534345B271   MISTY       OBRIEN                    KY          90011023434
292253A454B588   KATHERINE   LAKEEY                    OK          90002033045
2922558895B161   VERA        CRUMPTON                  AR          90014805889
2922568A581633   PATRICIA    HARRISON                  MO          29001716805
292256AA391592   GONZALEZ    MAYRA                     TX          75042176003
2922654369184B   PAOLA       CARDOSA                   OK          90012965436
29226A47363B96   ROBERT      ENRIQUEZ                   IL         90015210473
2922741749184B   AARON       HITWCHCOCK                OK          21011714174
2922763569184B   BREONA      SALLIS                    OK          90014526356
2922798385B571   ROSA        GIBBS                     NM          90010089838
2922863635B161   CHAD        PINKSTON                  AR          90000866363
2922931349184B   JUAN        HERAS                     OK          90011093134
2922B442787B87   CALENE      REED                      AR          23000634427
2922B485772B42   CAMILLE     TRICHIE                   CO          90007044857
2922B6A9743523   KAYLA       JOHNSON                   UT          90013406097
2922B7A289184B   CHRISTEN    JONES                     OK          90013007028
2922B8A9655957   MARTIN      JOHNSON JR                CA          48092948096
2923131A92B931   CHRISTINA   LACOMBE                   CA          45067913109
2923149515135B   DEBRA       MAYS                      OH          66015524951
2923168934B261   ROCHELLE    BERRY                     NE          27047466893
29232934172B84   CRISTINA    GONZALES                  CO          33070499341
29233169A87B87   TIJUANA     WEBSTER                   AR          90011111690
29233254A5B181   MAXINE      SABB                      AR          90012102540
29233958A87B87   SLYVESTER   PARKER                    AR          90010019580
29233A81731433   JENNIFER    ESTES                     MO          27594250817
29236273A85822   JORGE       HIDALGO                   CA          90003952730
29236A4249189B   ERNESTO     RODRIGUEZ                 OK          90015090424
29237A3419155B   LESLIE      NUNEZ                     TX          90001010341
292381A1372B84   JENNY       WEST                      CO          33012471013
2923869667B449   KAREN       NUNEZ                     NC          90004096966
2923887239189B   JENNIFER    MCNABB                    OK          90015108723
292388A875B161   EURANA      JONES                     AR          90014058087
29239684A5752B   ALICIA      MINICH                    NM          90000836840
29239A7559155B   MARIA       NEVAREZ                   TX          90014250755
2923B267355957   ANDREA      LIMAS                     CA          90006262673
2924119784B588   BERTHA      MEDINA                    OK          90011071978
292412A2781633   ASHLEY      BOWLES                    MO          90010982027
2924145744B261   JOHN        SWARTZ                    NE          27021004574
2924169525B161   VELRITA     CAMPBELL                  AR          90014806952
29241AA3A91953   RAISSA      MABOLIA                   NC          17070110030
2924238397B449   KIMLEANG    NGUN                      NC          90013943839
2924276524B281   MARCELA     ANTUNEZ                   NE          27012717652
29242A5414B245   NOE         RESENDIZ                  NE          27075620541
2924311189184B   PATRICIA    GUERRERO                  OK          21018851118
2924335959184B   YURDIA      URQUIZA                   OK          90011303595
2924384239155B   OFELIA      ZAVALA-LEDEZMA            TX          75073178423
2924432A351328   MATTHEW     STEPHENS                  OH          90010633203
2924458515B571   GUADALUPE   MONTOYA                   NM          35017185851
2924532A19189B   DEBORAH     SILKEY                    OK          90015003201
2924556997B449   DANYAIL     HARRIS                    NC          90014035699
2924593694B281   LEAH        CROSS                     NE          27042699369
29246215272B29   ERNEST      FERGUSON                  CO          33087922152
2924633A987B87   ALISHA      GOODLOE                   AR          90013953309
2924635A672B42   DAVID       MARES                     CO          90011483506
29246A5344B588   DEBRA       BRUCE                     OK          90012730534
29246A71A9376B   DANIELLE    ROGERS                    OH          90013940710
2924733785B571   JOSE        GONZALEZ                  NM          90014253378
29247661972B84   ALFREDO     GUERRERO CERECERES        CO          33049506619
2924786275B271   JAMES       EDWARDS                   KY          90013928627
2924793819155B   YVETTE      OCHOA                     TX          75077739381
29248A13351336   KELLI       CONNER                    OH          90008970133
29248A89651328   REVA        HALL                      OH          90011020896
2924933A19184B   LATICE      TYLER                     OK          90011093301
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2924997A163643   FRANK        WHITEHURST               MO          90012409701
2924B22835B271   JESSECA      HUDOPETT                 KY          68094652283
2924B86395B161   MICHAEL      MURPHY                   AR          90012398639
29251379587B87   SANDRA       GARDNER                  AR          90011943795
2925155417B471   SHAVONNA     HARRISON                 NC          11020985541
2925274339155B   MARY ANN     PAIZ                     TX          90009477433
29252A28A4B588   MARIE        WRIGHT                   OK          90013510280
29253679272B42   TERRIE       HOLMES                   CO          33043456792
2925372A631453   ALISHIA      MORGAN                   MO          90014877206
29254338A9184B   LAURA        BRICKER                  OK          90011093380
29254655287B87   KAESHA       ALLEN                    AR          23047076552
29254A76772B42   ALFREDO      TOVAR-PINEDA             CO          33014270767
292553A235B161   MARCUS       BROWN                    AR          23065353023
2925555724B588   SHANIQUA     LOGAN                    OK          90011285572
292556A3991241   CHRISITINA   DEFOE                    GA          14574996039
29255A79A91592   AARON        GALLEGOS                 TX          90013470790
292563A235B161   MARCUS       BROWN                    AR          23065353023
2925756249184B   JOHN         PADGETT                  OK          90012875624
292577AA95B571   MELISSA      CORDOVA                  NM          35076867009
29257A88372B29   MARIBEL      LUJAN                    CO          90009830883
29258133772B29   ELIZABETH    ANDRADEAGUIRRE           CO          90006751337
29258244172B84   ANAID        RIVERA                   CO          33041312441
2925862A591592   CARMEN       SALDANA                  TX          90007936205
292588A1372B41   GONZALEZ     GAVINO                   CO          90008648013
29259A31851336   MARY         SWEET                    OH          66047690318
2925B1A1551328   NATHAN       SKAGGS                   OH          90012461015
2925B42465B161   DANIELLE     MORGAN                   AR          90014814246
2925B67217B449   MITCHELLE    ACOSTA                   NC          11077246721
29261193172B42   KALI         RODGERS                  CO          33032491931
2926141439184B   DESTINEE     MITCHELL                 OK          90012954143
2926188A29189B   DOUGLAS      HOUSE                    OK          90012598802
2926191535B571   MABLE        HERRERA                  NM          35073639153
2926192A94B281   CESAR        ARAUZ DE LEON            NE          27028479209
29262A1263B39B   SHERYL       BEEN                     CO          90012400126
2926325AA55957   VICTORIA     RAMIREZ                  CA          90014192500
2926415A39155B   NATALIE      SALAZAR                  TX          90003041503
2926447AA72B84   BRIANA       NIEBAS                   CO          90005894700
29265522A87B87   JAMES        NELSON                   AR          23028885220
29265A81A9189B   ELISA        SALAZAR                  OK          90012260810
2926696239184B   FRANSICO     ZUNUN                    OK          90012339623
2926746825B271   GEORGE       KIRBY                    KY          90012464682
2926761964B553   LISA         BROOKS                   OK          90011106196
2926917882B27B   RAMON        MERINO-GUERRERO          DC          90006761788
2926993257B449   SHAQUASIA    ANDERSON                 NC          90014559325
29269A81A9189B   ELISA        SALAZAR                  OK          90012260810
2926B159251336   TROY         AYERS                    OH          90011171592
2926B325255957   RICKI        TAYLOR                   CA          90015503252
2926BA46972B42   JESSICA      CARTER                   CO          33065520469
2927124155B271   LANA         ALBIN                    KY          90001672415
2927126599155B   ENRIQUE      PIZANA                   TX          90010482659
2927148718B168   VERONICA     GUTIERREZ                UT          90010334871
29271751672B42   JUSTIN       ANDERSON                 CO          33065447516
2927225143B333   RONALD       HERDT                    CO          33089662514
2927241659184B   JACQUELYN    WELCH                    OK          90012954165
29272874A91828   AARON        MCCLAIN                  OK          21078148740
2927294925B571   MICHAEL      BEGAY                    NM          90003869492
29274595587B87   SHEILA       MANNS                    AR          90015375955
2927548594B588   NICHOLAS     REIER                    OK          90010294859
29275A3955B161   JOSE         RAMIREZ                  AR          23098850395
29276265972B42   CLAUDIA      LOZOYA                   CO          90012272659
2927626599155B   ENRIQUE      PIZANA                   TX          90010482659
2927648414B588   DREDON       TURNER                   OK          90011164841
2927699525B375   JEFFERY      REED                     OR          90008169952
29276A23841252   JONATHAN     GOUGHLER                 PA          90012540238
2927778A587B87   CHARLES      NANCE                    AR          23022937805
2927815239189B   PATRICIA     SOULERET                 OK          90015091523
2927847884B588   BRITTANY     CASS                     OK          90008644788
2927921A655957   MARIA        MARTINEZ                 CA          48070882106
29279A96591525   MARCOS       LARANIAGA                TX          90004000965
29279A9729155B   PATRICIA     VELASQUEZ                TX          90014250972
2927B45695B571   JOSE         SAENZ                    NM          90014454569
2927B47774B261   MEAGEN       WEISS                    NE          90011064777
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2927B495191953   JAZSALYN     MCNEIL                   NC          17087564951
2927B7A7631631   MOLLY        CARSON                   KS          90014247076
2927BAA5172B84   MITCHELL     HRDLICKA                 CO          33094310051
29281793A61994   MAYRA        PIMENTEL                 CA          46084527930
29281A14291592   JESUS        GUERRERO                 TX          90001870142
2928216629189B   JUAN         VALADEZ                  OK          90015091662
292825A6772B42   ROSS         MCMILLION                CO          33066125067
29282A66755957   DESTYNEE     BALDERAS                 CA          90006890667
292835A3455957   SARA         OVERSEN                  CA          90011795034
2928374489155B   NORMA        MONAREZ                  TX          90002397448
29284A29451343   ALVARO       DIAZ                     OH          66002080294
29285145587B87   FREDRICK     BEE                      AR          90013031455
29285238A72B84   ANNA         BAKER                    CO          33095872380
2928657574B588   ERIC         PETTIT                   OK          90012175757
2928713A985822   ANTONIO      MARTINEZ                 CA          90005651309
2928723479184B   CARLOS       AVLES                    OK          21014812347
2928769669184B   EFREN        LEDEZMA-SANCHEZ          OK          21090186966
292879A4731631   SCOTT        RIDDLE                   KS          90003869047
292879AA591953   ARISHONNE    RICHARDSON               NC          90014559005
29288A89991528   ROBERTO      OBREGON                  TX          90000610899
2928B354191522   OSCAR        HERNANDEZ                TX          75093853541
2928B71958B171   MARYANN      ERICSON                  UT          90003467195
2928B816481633   JNAI         RUBIN                    MO          90002518164
2928B99595B271   PHYLLIS      BAKER                    KY          90014899959
292915A6491953   CALVIN       HARRIS                   NC          90014095064
2929184585B571   ZACKERY      MCCULLOUGH               NM          90005658458
2929332497B449   STEVEN       JACKSON                  NC          90000363249
29293A2845B161   BRITTNI      MASON                    AR          90013950284
29293A4A891522   CAROLINA     GONZALEZ                 TX          90008450408
2929451315B571   FELICIA      CALDWELL                 NM          90011645131
2929461695B141   REGINALD     BURNS                    AR          23096126169
29294973372B42   DENA         GONZALEZ                 CO          33095569733
29295375272B42   LINDSEY      FANDEL                   CO          90011933752
2929617882B27B   RAMON        MERINO-GUERRERO          DC          90006761788
2929688489184B   ORLANDO      PERSON                   OK          90014208848
2929793814B281   AMY          SCHULZE                  NE          27031539381
2929838A291592   ARLENE       SALIDO                   TX          90011053802
292986A8922439   JESSIE       GONG                     NE          90010546089
2929913AA91953   CAROL        COOPER                   NC          90011521300
2929946A984364   STANLEY      HAINES                   SC          19059674609
2929B53295B271   KATHY        CAREY                    KY          90012585329
2929B618351336   JUSTIN       FOSTER                   OH          90011556183
2929B73439184B   TERRELL      WASHINGTON               OK          90008727343
2929B78585B161   ADRIAN       JACKSON                  AR          90012137858
2929B89A891522   ISABEL       CISNEROS                 TX          90010038908
2929B94A15B571   DANIEL       GONZALES                 NM          35029489401
2929B953472B84   ANGELA       FREY-REYNOLDS            CO          33099259534
292B119345B571   DESIREE      TRUJILLO                 NM          90010361934
292B144659713B   BILLY JOE    FARRAR                   OR          90010554465
292B2614551336   ANGELA       WEBER                    OH          90011336145
292B2729A91592   HERRERA      LAURA                    TX          90009907290
292B3283691828   CECELIO      STIDHAN                  OK          21048442836
292B329969155B   MARGIE       MUNOZ                    TX          75074912996
292B3575291528   CUSTOMER     WIRELESS                 NM          90000385752
292B3655755957   JEAN         JONES                    CA          48047736557
292B3986A22971   CAMILO       ESCARCHA                 GA          90015539860
292B4163651336   LATASHA C    HILL                     OH          90007421636
292B46A2831453   CHARLI       CUNNINGHAM               MO          90012616028
292B5328A5B538   HELENA       CASTILLO                 NM          90011093280
292B5416781633   DAVID        DEAN                     MO          90006724167
292B551525B571   BETTY        LANGLEY                  NM          90011725152
292B65A3A31453   GABRIELLE    STEWART                  MO          90015115030
292B6A43A4B245   BRYSON       WILSON                   NE          90008200430
292B7185191528   KRISTINE     GREER                    TX          75012151851
292B733414B281   JENNIFER     UPDERGRAFF               IA          90010733341
292B746235B161   AMBER        RAY                      AR          90011654623
292B827659155B   JOSE         ARRIAGA                  TX          90004272765
292B868435B571   JAVIER       BECERRA                  NM          90013276843
292B881455B271   TIFFANY      VISSERS                  KY          90014598145
292B9334231631   JOYCELYN     BAKER                    KS          90014173342
292B93A577B449   FLORIDALMA   PINTO                    NC          90013923057
292B9517281633   JANET        STEWART                  MO          29001105172
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292B9557A4B261   ANTONIO      CASARAS                  NE          90013965570
292B9759497173   ARLETTA      QUADRO                   OR          90001297594
292B998A151328   LONNIE       JUSTICE                  OH          66018959801
292BB39585136B   HEATHER      SMITH                    OH          90011683958
292BB496131631   DAVID        LOMBARD                  KS          90014974961
292BB96A172B29   FRANCISCO    ANDRADE                  CO          90005189601
2931113469184B   KHIREE       THOMPSON                 OK          90014451346
2931192529189B   RACHEL       MARTINEZ                 OK          90015109252
29311962A87B87   SHERENEY     MOSS                     AR          90005379620
29311A44161992   ISRAEL       TALAVERA                 CA          90004930441
29312258A31631   DOMINIQUE    TROTTER                  KS          90013942580
2931236A487B87   ANGELAQ      HILL                     AR          90014573604
2931272267B449   JIMMY        DONNELL                  NC          90012527226
29312981272B61   STEPHANIE    TAFOYA                   CO          90015049812
2931327959184B   JORGE        TREJO                    OK          90014172795
2931337114B245   KUDRON       MICHAEL                  NE          27040803711
29313684A7B449   BLUK         ROMAH                    NC          11033906840
29315774297B41   HECTOR       DIAZ                     CO          39048587742
2931599837B449   PANSY        SMITH                    NC          90008549983
29316A41A53B28   DORTHEA      LANGWORTHY               CA          90011420410
2931864399189B   CATHERINE    DARKO                    OK          90013836439
29318AAA931453   MARSHA       NORMAN                   MO          90014580009
2931B28374B588   LOIS         QUEZADA                  OK          90015072837
2931B748A85822   GRACIELA     DIAZ                     CA          46006747480
2931B92A49189B   KWUAN        SANDERS                  OK          90015109204
2931BA2759184B   KEAUNNA      FOSTER                   OK          90011110275
2932321399184B   JOEL         GONZALEZ                 OK          90012802139
29323A33691828   MARCUS       WHITED                   OK          90005790336
2932447755B161   SHANE        BERRY                    AR          23085094775
2932485214B281   SARAH        CHAMBERS                 NE          90010538521
29324A3229189B   ELVIN        OLVIA                    OK          90004240322
29327271672B42   SARAH        DILLON                   CO          33095422716
2932819289155B   ROSE         MORALES                  TX          75061451928
29328A3739189B   ASHLEY       LEATH                    OK          90015120373
29329745172B84   GERI         LEMMING                  CO          33065557451
2932B43555B571   DEBRA        HUNTER                   NM          90005114355
2932B4A684B588   ROBERT       BAKER                    OK          90014534068
2932B74455B343   DARIO        MOROTE                   OR          90005947445
2933183885B271   ARIAN        PADRON                   KY          90010688388
2933212657B449   BRITTNY      WILLIAMS                 NC          90011481265
29332397A71923   JANA         HAYES                    CO          90013243970
2933293819155B   ROSANA       GARDEA                   TX          90009249381
29332A68872B29   MARTIN       MERCADO                  CO          33083520688
2933446385B161   MABLE        FAIR                     AR          23092224638
29335169787B87   MIKAELA      GARCIA                   AR          90013341697
2933537847B471   BRYAN        ANDERSON                 NC          11099133784
2933569295B161   JESSICA      LEE                      AR          90014816929
2933573947B449   ALEJANDRO    MELCHOR                  NC          90012527394
29336A6899189B   MICHEL       DUDLEY                   OK          21084280689
29337185287B87   LATASHA      CARLOCK                  AR          23054471852
293387A1791241   DAVID        MIKE                     GA          90011697017
2933935354B281   ERICK        NIEMEIR                  NE          90005573535
2933972834B261   JUAN         TORRES                   NE          90014847283
2933973964B588   HUNTER       VAUGHN                   OK          90011027396
2933975965B281   SHAUN        HODGES                   KY          90011187596
2933B131A7B449   COURTNEY     WALLACE                  NC          90011401310
2933B815255957   MARIA        ALVAN                    CA          90013058152
2933BA4A991522   MICAH E      ALLEN                    TX          90013710409
2934125197B471   DEBORAH      HOLLIS                   NC          11027442519
2934126669189B   MCBRAYER     LADONNA                  OK          90006482666
29341269787B87   MARJORIE     ABRAHAM                  AR          23095042697
2934176397B449   MONIKA       MACON                    NC          90004097639
29342997A4B245   EDWARD       BREITENSTEIN             IA          27003949970
293431A725B271   BRIANA       KELLER                   KY          90011421072
293434A527B435   LATAYA       MCCLURKIN                NC          90013824052
2934353A14B588   SHERRY       MOWDER                   OK          90013485301
293438A4791953   ELIZABETH    MEXICANA                 NC          90002108047
29344213572B29   MARIA        MONTOYA-SANCHEZ          CO          33090412135
29344975787B87   SHANNON      WILLIAMS                 AR          90014889757
293455A679189B   ALEXANDRIA   PARKER                   OK          90015115067
29345924A31631   RONNY        THOMAS                   KS          90010959240
2934642269189B   HERBERTINA   KENDRICKS                OK          90007564226
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2934BA83272B29   JESUS               MARTINEZ           CO         90006640832
2935152789189B   MICHAEL             BEAMON             OK         90015115278
29351653A5B571   ESPERANZA           BACA               NM         90004126530
2935191282B27B   TEKO                BOSTICK            VA         81059229128
2935276515B338   DANIEL              BARELA             OR         90005387651
29352A9A791953   LATINA              COSTON             NC         90013720907
2935326799155B   GARAY               CESAR              TX         90010482679
29353387972B84   FRANCISCO           GUEVARA            CO         33073483879
2935497644B588   SHERRIL             PERRY              OK         90013329764
2935515344B281   AGNES               GERI               NE         90008481534
29355329372B42   FEDERICO            LOPEZ              CO         90012303293
2935549344B588   BRITTNI             JENKINS            OK         90012314934
29355564A87B87   YASHIKA             MORRIS             AR         23086675640
2935556518B172   STEVE               WOFFINDEN          UT         31059405651
2935567A987B29   MARVIN              CARTER             AR         90015236709
2935639A897949   DORA                CRUZ               TX         74098363908
29356596587B87   MARCUS              GIVENS             AR         90005385965
2935686148B17B   SARITA              CAREY              UT         31059218614
2935716A64B245   ADRIAN              MOSS               NE         90008051606
2935754A172B42   CONSTANCE           MCCARTNEY          CO         33079015401
2935755285B571   CHRISTINE           VILLALOVOS         NM         90011755528
29358272672B42   MARCUS              HILL               CO         90014962726
29359393A85822   ERIC                HERBST             CA         46003543930
2935956994B588   MISTY               KEOUGH             OK         90012625699
2935B17765B161   NIKKI               COLEMAN            AR         23022141776
2935B32474B261   GABRIELLE LUCILLE   HORTON             IA         90014903247
2935B483291828   CHRISTINEA          KEARSE             OK         90013644832
2935B633572B29   LEONEL              ESCOBAR            CO         33013216335
2935B648781691   LORI                HENDRIX            MO         90005346487
2935B766654122   DEANNA              IBRAHIMI           OR         90014607666
2935B93A451336   TERRY               PAYNE-JACKSON SR   OH         90012869304
2935B997731433   JAMES               CHING              MO         90013959977
2936124A791522   LETICIA             RODRIGUEZ          TX         90008172407
29361481672B42   MARTIN              CRITCHFIELD        CO         33035124816
293614A2531453   ANTHONY             WHITE              MO         90013364025
29362924387B87   KERRANZD            WALTON             AR         23000919243
29363331172B84   VALENTINA           TALAVERA           CO         33077653311
29363A4245B571   DAVONTE             QUINTANA           NM         90014320424
29364118372B42   CECILIA             REYES              CO         33015021183
2936433A28432B   VICTORINO           DELGADO            SC         90013673302
29364358172B84   EFFIE               SIMS               CO         33040823581
2936525AA55957   VICTORIA            RAMIREZ            CA         90014192500
29366663487B87   CATHY               RICHARDSON         AR         23020116634
293669A789189B   BAUDEL              GUZMAN             OK         21010669078
2936716124B588   JOSE                BORJAS             OK         21584951612
2936722887B449   SANDRA              SANTOS             NC         90014232288
2936774164B261   PAPA                MENSAH             NE         90014917416
2936861735B161   MARIA               TADEO              AR         23002906173
29368AA9831631   STEVEN              FORSTER            KS         90012060098
2936936574B245   PHAT MAMA           FLEMING            NE         90010763657
2936978A22B841   KATIE               ROWE               ID         42068727802
2936B829222971   GILBERTO            LOPEZ              GA         90015578292
2937111675B271   ROGER               FRAME              KY         90002481167
2937151314B245   ANDRELL             ROBINSON           NE         90011765131
2937157584B588   DIANE               WEST               OK         90000215758
2937196A29184B   JUAN CARLOS         TERRAZAS           OK         90012409602
2937236677B449   NELCI               CERRATO            NC         90013923667
29373391172B84   MARIA LUZ           MORENO             CO         33071523911
293743A6291522   ISMAEL              ARRIAS             TX         90015123062
2937534764B245   MARY                PATTERSON          NE         27017473476
29375383A4B588   DORA                MENDOZA            OK         90006823830
2937646A231631   MOSES               UANZI              KS         90013754602
29376661572B42   ANGELA              PERKINS            CO         33055026615
2937767394B596   DELOIS              JOHNSON            OK         90005036739
2937814239184B   ALEJANDRO           LUNA               OK         90012981423
2937849354B281   ELDA                ARGUETA            NE         27097854935
293795A9231631   VERROD              HARRIS             KS         90007125092
2937B2A6472B84   LISA                MAESTAS            CO         90010972064
2937B795491528   JAZMIN              SOTO               TX         75005577954
2937B846A91522   GRISELDA            MORALES            NM         75096008460
2938143A372B84   DALIA               MINJARES           CO         90003564303
29381AA3591592   MARIA               HERNANDEZ          TX         90013910035
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29382A58551336   ASHLEY       ROSS                     OH          90011520585
293831A119189B   MELANIE      RABON                    OK          90015121011
2938323929155B   ROGELIO      ENRIQUEZ                 TX          90006632392
2938381A455957   JOSE         MORENO                   CA          90005428104
2938426279155B   ERICA        MARTINEZ                 TX          75084522627
2938429549189B   BARBARA      HALL                     OK          21033452954
29385A54372B84   JOHN         GORZELANSKI              CO          33050620543
2938726A987B87   PAYGO        IVR ACTIVATION           AR          90011612609
293881A895B161   SUZANNE      CALDWELL                 AR          90011671089
2938877679184B   QUINTEN      HARPER                   OK          90011097767
2938937325B161   DENESHA      ANDERSON                 AR          90002593732
2938941567B471   NORVELLE     WINCHESTER               NC          11038654156
293895A2A22971   AMILCAR      LUNA                     GA          90015465020
2938968754B588   YOLANDA      GRANT                    OK          90005566875
2938974894B596   MARIA        KYSER                    OK          90009307489
29389752872B42   HUMBERTO     POLANCO                  CO          90009827528
2938B815A4B281   MARK         WIEDERIN                 NE          27045898150
2938B833472B84   VALERIE      VALDEZ                   CO          33052638334
2938B897391528   PATRICIA     RUIZ-DE CERVANTES        TX          90013518973
2939181AA2B27B   DARLENE      EDDY                     DC          81021708100
2939217784B588   KRISTYL      ONEAL                    OK          21550001778
2939278819155B   MARY JANET   PESANTE                  TX          90009597881
2939436175592B   ERIC         JONES                    CA          90010583617
293944A4A5B271   PHILLIP      RONNIGER                 KY          90007224040
29395837272B42   ARTURO       GUTIERREZ                CO          33040978372
2939585467B471   ANGELES      NAVA                     NC          90004358546
29395A8785B571   DESIREE      ELVIRA BALDONADO         NM          90012920878
2939663355B571   JASHEENA     CLAH                     NM          90012316335
2939664335B271   BRANDY       WALDRIDGE                KY          90014296433
29396A26887B87   KENYATA      HILL                     AR          90011620268
2939715A47B449   ERICA        WHITE                    NC          11042831504
2939839AA7B449   HILDA        ESCOBAR                  NC          90013923900
29399152872B42   ALFREDO      ABAD                     CO          33068901528
2939917645B271   JILL         CHERRY                   KY          90011011764
29399797857B85   MELISSA      FALCO                    PA          90015347978
2939B523A72B29   LUCAS        GAWRYL                   CO          33030625230
2939B53819155B   JUAN         GONZALEZ                 TX          75073185381
293B11A6291953   MAYA         BURNS                    NC          90013261062
293B197367B449   CATHEY       BLACK                    NC          90007599736
293B1A51491522   ANTHONY      PINEDA                   TX          90014600514
293B222564B281   CATHELEEN    GONZALES                 NE          90010912256
293B366A231453   CHERON       MORGAN                   MO          90013206602
293B3919798B42   OSCAR        MEJIA                    NC          90007879197
293B4282184364   MARLENE      GARCIA                   SC          19035532821
293B437315B571   JULIAN       SOTELO                   NM          35070193731
293B43A3391522   DENISE       MORALES                  TX          90005093033
293B443665B271   AARON        BALDWIN                  KY          68044934366
293B4846A31631   BRITTANY     KNIGHT                   KS          90014828460
293B485222B543   BLAKE        KNIGHT                   AL          90015538522
293B487769155B   ANTONIO      MARTINEZ                 TX          90014638776
293B4A68331453   GEORGE       MCLEMORE                 MO          90014810683
293B5694555935   JOSE         JUAREZ                   CA          90008476945
293B579774B281   ALEXIS       COOPER                   NE          27054127977
293B6379155957   SYDNEY       REYES                    CA          90004833791
293B676999184B   LEMEKA       HAMPTON                  OK          90008347699
293B6969991592   JULIO        RAYGOZA                  TX          90013209699
293B742445B271   EDWARD       HOLT                     KY          68084184244
293B7618491522   SARAH        PEREZ                    TX          75072616184
293B88A719155B   SALOMON      POLANCO                  TX          75012848071
293B8A18A87B87   ARRETTER     LAMPKIN                  AR          90010920180
293B974485B571   BRIANNE      DEIN                     NM          90014367448
2941322759189B   ROY          SONES                    OK          90015122275
2941414147B471   ROSICELA     SIFUENTES                NC          11033681414
2941426454B588   ALISIA       WATSON                   OK          90013832645
29414278187B87   CARL         DAVIS                    AR          90010742781
2941459A991522   ARTURO       HEREDIA                  TX          90013775909
2941521829155B   NELSON       RIVERO                   TX          90015262182
2941617239184B   JAYME        LANSDALE                 OK          90014771723
2941619AA91522   RODOLFO      GONZALEZ                 TX          90008911900
29416266372B42   JEFFERY      HILL                     CO          90004972663
2941662824B261   MARVIN       THOMAS                   NE          90013936282
294168A347B449   GILBERTO     MEDINA                   NC          90012528034
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2941731565B161   CASSANDRA     RUSSELL                 AR          90011673156
2941736949184B   ANDREA        GREEN                   OK          90012363694
2941744A35B571   EDITH         JACQUEZ                 NM          35094564403
2941956655B571   JUAN          GARCIA                  NM          90014785665
2941961989189B   ALONZO        CALIXMACEDO             OK          90010296198
2941964784B588   CYNOVAH       ROBERTS                 OK          21551696478
2941B13927B449   COREY         BELL                    NC          90013961392
2941B325955957   CHRISTOPHER   MARTINEZ                CA          90014033259
2941B732131453   JEREMY        MELTON                  MO          90010877321
29421431A21683   MICHEAL       EGANE                   OH          90015254310
294219A7985822   RAFAEL        REYES VILLAMAR          CA          46016329079
2942228589184B   ALAN          DELGADO ROSALES         OK          90012802858
2942286684B588   LISA          PETERSON                OK          90012968668
29422957372B29   JOSE          CARRILLO                CO          33016679573
2942388894B588   FERNANDO      CAMACHO                 OK          90014178889
294248A7181633   NATACHA       MINME                   MO          29080728071
2942499827B449   KELVIN        LESANE                  NC          90011939982
29424A55741243   AMANDA        L. KIGER                PA          90009270557
2942591A39184B   CHRISTEN      BURKHEAD                OK          90011099103
2942634762B242   RENEE         HARRIS                  DC          90001473476
29427A3844B56B   HORTENCIA     MARTINEZ                OK          90014870384
29427A89455957   JUSTIN        BRUMM                   CA          90006040894
2942832184B592   JOE           BANKSTON                OK          90003233218
294285A9A51336   MELLISSA      RONAN                   OH          90004145090
2942926A851336   DEIRRDRA      DEVERAUX                OH          66020132608
294295A5491953   FREDERICK     REAVES                  NC          90010995054
294298A145B271   ANGELA        BASIL                   KY          90003708014
2942B18854B588   MICHELLE      METCALF                 OK          90012651885
2942B712372B42   LINDA         MCCOY                   CO          33036727123
2942B753672B4B   KHRISTIAN     TOUHY                   CO          90014417536
2942B951391528   LUISA         GOMEZ                   TX          75094849513
294316A964B245   SAVON         CARABALLO               NE          90011766096
29432672987B87   BEN           COLLIER                 AR          90014486729
2943282657B449   ANTWANETTE    ENGLISH                 NC          90012528265
2943358725B36B   JENNIE        MC CAIN                 OR          90007845872
2943362A951328   TERA          SKEENS                  OH          90014716209
29433869A47826   BRAYLON       ANDREWS                 GA          90012498690
294341A765B571   TERRENCE      ALLEN-WILLIAMS          NM          90014321076
29434542624B46   PAULINA       WILDER                  VA          81086105426
294356A964B245   SAVON         CARABALLO               NE          90011766096
2943589A591528   CESAR         LECHUGA                 TX          75094348905
294361A7331453   BRENDA        GREEN                   MO          90011441073
2943681897B278   LUIS          RUIZ ZUNO               AZ          90011238189
294369A737B471   SHANEKA       BROWN                   NC          11043919073
2943774164B261   PAPA          MENSAH                  NE          90014917416
2943812679155B   CORINA        OLIVAS                  TX          90012991267
2943867619189B   EVA           GUITIERREZ              OK          90015126761
29438A54372B84   RICHARD       WRIGHT                  CO          33038980543
2943938349184B   NATALIE       WHITE                   OK          21066853834
2943977AA97B37   BRITTANY      HATTAN                  CO          90010777700
2943983847B449   KIMBERLY      SWAIM                   NC          90000308384
2943B251A85822   JOHN          KELLY                   CA          46068482510
2943B4A3391953   JUSTO         MARTINEZ ESPONOZA       NC          90002154033
2943B598A55957   DELIA         CRUZ                    CA          90013335980
2943B67A99189B   JANET         HARPER                  OK          90015126709
2943B969551328   JOHNI         MCINTOSH                OH          90014449695
2943B9A4A4B551   ALBERTO       RAMIREZ                 OK          90001589040
29441154172B42   ARMANDO       GAMEZ                   CO          90013331541
29441243A51328   CORTNEY       HAMILTON                OH          90015112430
29441A12581633   DEVIN         NIGHTENGALE             KS          90010200125
29441A76972B84   ELIZABETH     HUMPHREYS               CO          33095410769
2944241544B245   RANDAL        KENDALL                 NE          27001684154
2944265812B27B   NIKIA         GOOLSBY                 DC          90001986581
2944268389189B   ALEJANDRO     LOPEZ                   OK          90015126838
294429A5A31631   KRISTOPHER    HISEN                   KS          22004789050
29444488A91953   DAVID         BARBEE                  NC          90003694880
2944465929155B   EDDIE         TALAMANTES              TX          90010376592
2944513879152B   JESSICA       HAWKINS                 TX          90008091387
2944524A65137B   RICHARD       GORSUCH                 OH          90003872406
294471A455B571   MARIA         DORADO                  NM          35046861045
29447524A4B588   MARIA         GONZALEZ                OK          90009785240
2944752A69189B   UNKNOWN       UNKNOWN                 OK          21014705206
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2944768A291953   BLANDINA      PAZ                     NC          17095056802
29449659787B87   ANTHONY       WASHINGTON              AR          90015316597
2944BA3834B245   JULIA         GUILLIAMS               NE          90009000383
2945158A691522   AURORA        ESCOBAR                 TX          90014925806
2945178539189B   GABRIELA      RODRIGUEZ               OK          90012037853
29451855272B42   ROSALBA       GARCIA                  CO          90008658552
2945245A44B588   DEAN          CLODFELTER              OK          90013264504
29453792787B87   SHASHANA      WARFIELD                AR          23028747927
2945392675B161   KENTON        SKARDA                  AR          90014879267
29454265172B42   JOSE          RODRIGUEZ               CO          33010752651
2945428374B588   LOIS          QUEZADA                 OK          90015072837
29454746A4B261   ADRAIN        ADAMS                   NE          27031097460
294547A3833B31   PAYGO         IVR ACTIVATION          OH          90004367038
2945666554B261   JOSE          OZUNA                   NE          90013936655
29456736372B42   VICTOR        MORELO                  CO          90010767363
2945748329155B   LORENA        GONZALEZ                TX          90012614832
2945818987B471   RAYSON        HOWARD                  NC          11091351898
2945883429184B   SHAKENNA      RECESS                  OK          90014858342
2945923664B588   TYREE         COFFEY                  OK          90006212366
2945927429184B   KIMBERLY      THOMPSON                OK          90013412742
294592A685B36B   TERESA        HIGH                    OR          90014722068
29459711A4B261   AMBER         PEARSON                 IA          90014817110
29459A61997122   CINDY         ADAMS                   OR          90007830619
2945B116655957   ROSE          CONTRERAS               CA          90009771166
2945B18485B338   JOHN          GREER                   OR          44527271848
2945B388391953   JUAN CARLOS   VILLARREAL              NC          90015213883
2945B625351328   BILLY         LITTLE                  OH          90014756253
2945BA32491828   DAVID         HANDLEY                 OK          90012490324
2946188AA5714B   LORENZO       HAIRSTON                VA          90013008800
2946234764B245   MARY          PATTERSON               NE          27017473476
2946278285B161   CARRIE        BROWN                   AR          23056247828
29462A5159189B   THANG         PUI                     OK          90015140515
2946339A75B271   KRISTINA      JAGGER                  KY          90013503907
2946358A17B449   JULIET        WEBB FLIP               NC          90014175801
2946396239184B   JERIKA        CROSSLAND               OK          90013739623
2946647564B588   HOLLY         PATTERSON               OK          90008874756
29468627887B87   TANESHA       THOMAS                  AR          90012266278
2946874139189B   MONTREIL      KIRK                    OK          90015127413
29468899A5B271   JESSIE        RIDGEWAY                KY          90014028990
29468A27772B42   HECTOR        BARON                   CO          90012600277
2946911144B261   KOKOU         ATSOU                   NE          90014801114
294696A9285822   CARMEN        VELARDE                 CA          90010266092
2946996375B161   TOREAL        JONES                   AR          90014879637
29469A83472B42   ERNESTINA     VILLASANA-PEREZ         CO          33072720834
2946B192A9155B   SALVADOR      DOMINGUEZ               TX          90009171920
2946B287491592   NATALY        MORENO                  TX          75029742874
2946B658472B42   DOMINIQUE     LOPEZ                   CO          90012826584
2947174879189B   MARTHA        LOPEZ                   OK          90015127487
2947187A755957   MANUEL        ESPINOZA                CA          90010418707
2947192A791592   KARLA         LECHUGA                 TX          90013629207
29472336572B42   LOURDES       RIVERA                  CO          90004013365
2947278127B449   ANGELICA      MONTERO                 NC          90012837812
29472799387B87   ANTONETT      CONNER                  AR          90014727993
2947288674B588   AMANDA        SLUDER                  OK          90012498867
29473879A7B471   ALEXANDRIA    GEIGER                  NC          11002918790
294747AA651336   TIM           OBRIEN                  OH          66008717006
2947488869155B   BEBEE         ROCHELLE                TX          90011218886
2947571679184B   APRIL         WRIGHTEN                OK          90007187167
29475A1A89155B   SERGIO        VILLARREAL              TX          75004040108
294761A449189B   SPARKLE       JOHNSON                 OK          90014941044
2947676679184B   ZACHARY       MATHER                  OK          90014347667
2947744685B161   RHONDA        BARNES                  AR          90014884468
2947756625B571   CYSTAL        ARAGON                  NM          35032845662
29477852A81633   TANYA         TAYLOR                  MO          29059268520
2947913177B449   YADIRA        VALERA                  NC          90014411317
2947969514B261   DEBORAH A     LEMR                    NE          27039666951
2947B214951328   ROBIN         WIRTLEY                 OH          66082922149
2947B29634B588   ROSA          ALATORRE                OK          90013832963
2947B73299189B   TERESA        MAY                     OK          90015127329
2947B83239155B   DIANA         NEVAREZ                 TX          90009158323
2947BA55A91528   MARIA         CARRILLO                TX          90003250550
2948151165B571   ALLAN         FOSTER                  NM          90007495116
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2948177849189B   DARRYN        DAVIS                   OK          90015127784
2948331815B571   LYDIA         LUCERO                  NM          90014513181
2948391359155B   CATHERINE     JONES                   TX          90010079135
2948395439155B   YADIRA        OKELLY                  TX          90014779543
29485A36155957   CARMEN        LEON                    CA          48074110361
29486197A7B471   CHRISTINA     BROWN                   NC          11047191970
29486A1684B245   KARI          AMEGANDGI               IA          90009500168
2948772A84B261   JACINTO       TORRES                  NE          90013937208
29487855872B98   JULIO         HERNANDEZ               CO          90008068558
2948843835B271   EILEEN        OLIVER                  KY          90006304383
29488615A57176   DEMETRIAS     TOWLER                  VA          90007906150
294886A9991542   MARTHA        VELARDE DE RAMIREZ      TX          90013066099
2948995275B271   SHANIECE      WILLIAMS                KY          90015159527
2948B3A6861433   CHRISTOPHER   HESSON                  OH          90014103068
2948B773A9189B   SHARKEYA      FREEMAN                 OK          90015127730
2949238415B571   NORMA         QUEZADA                 NM          90013553841
294924A6551336   ROGELIO       LOPEZ                   OH          90008664065
2949325665B271   AARON         BEAMER                  KY          90011012566
294934A299189B   WILLIS        LADON                   OK          90015134029
29493753A72B42   MANUEL        GOMEZ                   CO          90011477530
2949461A89184B   CRYSTAL       BALDRIDGE               OK          90007956108
294949A3951328   PAYGO         IVR ACTIVATION          OH          90010049039
29494A85833631   JAMIE         MOORE                   NC          90007680858
2949529429184B   TANYA         THOMPSON                OK          90014202942
2949545267B449   LOUIS         BARAJIS                 NC          90014274526
294955A2291547   RAUL          ORTEGA                  TX          90010475022
29496A9177B449   DANIELLE      DAVIS                   NC          90006500917
294973A255B161   PAMELA        ROBERTSON               AR          23006343025
2949764695B571   GABRIEL       REYES                   NM          90009536469
29497A5A457531   SHERYL        BEYER                   NM          90008010504
2949951547B449   DIANA         CASTRO                  NC          90006665154
29499A98472B42   ELOY          RODRIGUEZ               CO          90015140984
29499A9A491592   MICHELLE      VILLANUEVA              TX          90013470904
2949B259731631   BLAINE        REEDER                  KS          90013802597
2949BA5A457531   SHERYL        BEYER                   NM          90008010504
2949BA94A4B281   EVELYN        WAKEFIELD               NE          90013730940
294B1352572431   NICOLE        GARUCCIO                PA          90008303525
294B151994B588   TINA          LEE                     OK          90012425199
294B1966991828   TANYA         GRAY                    OK          90011919669
294B2385591592   RICHARD       ERSKINE                 TX          90009753855
294B23A9A5B19B   JAMES         HARRIS                  AR          90006063090
294B254459193B   TERENCIA O    BELTRAN                 NC          17013045445
294B254A34B281   JOSHUA        GARDNER                 NE          90010725403
294B273695B271   ROLANDO       ESPINOSA                KY          68062947369
294B316739155B   MARTIN        JUNIO                   TX          90014251673
294B3486A9184B   ANTHONY       WHITE                   OK          90015304860
294B3539651336   TARA          HUSSONG                 OH          66045435396
294B418A62B229   NAKISHA       COOK                    DC          90004231806
294B457AA4B233   JEANETTE      DEFORD                  NE          90014425700
294B4637387B87   PAYGO         IVR ACTIVATION          AR          90014596373
294B481249184B   STACIE        REED                    OK          90011098124
294B514127B449   CARLOS        CHACON                  NC          90013171412
294B5256291522   LILIA         SALAS                   TX          75053562562
294B526634B588   LORETTA       WARE                    OK          90005962663
294B564637B449   EVANY         WILLIAMS                NC          90010536463
294B564AA9189B   OLVIN         GARCIA                  OK          90015126400
294B6368654B32   KARINA        CANALES                 VA          90009433686
294B6424787B87   ROSHAWNDA     FLOWERS                 AR          90013874247
294B6483A51336   HEATHER       OPENSHAW                OH          90012454830
294B717584B588   KATHERINE     ASHTON                  OK          90015161758
294B7655291828   GEORGIANNA    MCCLELLAN               OK          21016156552
294B7989441259   MICHAEL       CHAMBERS                PA          90001099894
294B7A72151336   BARBARA       LAWSON                  OH          66001100721
294B81A5491828   DEBRA         CAPERS                  OK          90004641054
294B8978791592   EDDIE         OCHOA                   TX          90013149787
294B9799891241   VERA          BROWN                   GA          90009277998
294B982A79184B   MAGGIE        HARPER                  OK          90011098207
294B996334B245   ROGER         LINDELL                 NE          27081369633
294B9A1287B449   GILBERTO      REYES                   NC          90013930128
294B9A3844B56B   HORTENCIA     MARTINEZ                OK          90014870384
294BB676331631   TIM           NEWTON                  KS          22024196763
294BB74485B571   BRIANNE       DEIN                    NM          90014367448
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2951117833B324   CHARLES       TUHOLSKI                CO          90013241783
2951138189184B   VICTOR        ROMERO                  OK          90014203818
2951163154B245   BEN           KABOUREK                NE          90003726315
2951231164B543   MICHELE       VOLPE                   OK          90009113116
29512422A9189B   IVAN          SWEENEY                 OK          90015134220
29513277A91383   JASON M       TIRK                    KS          29073682770
29513425172B42   DENISE        HAVENS                  CO          33002114251
29513819A5756B   GERMAN        CORRAL                  NM          90009948190
29513AA6181633   STEPHANIE     SAND                    MO          90013790061
2951413624123B   MARCOS        SACHIS                  PA          90012641362
29516A91751328   ROBERT        PHILPOT                 OH          66076160917
29518158687B87   BRIUNA        MOORE                   AR          90005441586
2951827567B449   CURTIS        WALKER                  NC          11094152756
2951832A831631   KEVIN         BURKE                   KS          90007373208
29518924872B42   ERIKA         ORONA                   CO          33046409248
29518A82851328   SRINATH       RAGHAVENDRAN            OH          90010350828
295193A864B588   MARCO         ZAMORA                  OK          90004293086
2951988A387B87   PAYGO         IVR ACTIVATION          AR          90013668803
2951B3A8687B87   AUTUM         NELSON                  AR          90014733086
2951B43A14B588   SUSY          QUINTERO                OK          21583354301
2951B77914B245   MANUEL        GARCIA                  IA          27064017791
2951B8A8855957   MONIQUE       SANCHEZ                 CA          90009688088
29521698872B86   MILLIE        ELIZABETH ELMER         CO          90009956988
2952175624B261   OLIVIA        CAMPOS                  IA          90013937562
29522A41287B87   BRITTNEI      AUSTIN                  AR          90012190412
2952336994B261   STANLEY       BAUER                   NE          27021603699
29523A32551336   JAMESHA       BROOKS                  OH          90014300325
29524A94881633   DORA          PEREZ                   MO          90014350948
295251A595B571   JHONY         CHAVEZ                  NM          90006951059
29525A96972B42   DANIEL        DOMINGUEZ               CO          90006730969
29526533A72B42   KATHY         BLANCHARD               CO          33094665330
2952689665B571   MARISOL       QUIRANTE                NM          90011648966
2952779675B271   MARCOULLA     NESBITT                 KY          90008107967
29527865687B87   VICKIE        LANE                    AR          90013998656
2952793579184B   SHANE         ROBERTSON               OK          90012349357
295286A1561957   CAROL         BREHMER                 CA          90009566015
2952957885B36B   JOSE          SALAZAR                 OR          90005195788
2952976189189B   ROXANA        IBARRA                  OK          21073467618
2952978754B245   MINDY         LILE                    NE          90001867875
2952B511291828   CRHISTIAN     PEDROZA                 OK          90012995112
2952B753631631   SHANE         HORNING                 KS          22014377536
29531A79191B38   ARIEL         DUNN                    NC          90015130791
295321A8A9155B   AZUZENA       NEVAREZ                 NM          75006261080
295323A725B571   PATRICK       FARFAN                  NM          90000873072
29532AA7655957   ADRIAN        LEON                    CA          48027020076
2953561997B471   MISTY         VALDEZ                  NC          11091356199
29536847A31631   JASON         WARREN                  KS          90005958470
29537A68551328   TOM           TOMLINSON               OH          90000120685
29538837A85822   SUZETTE       SUTFIN                  CA          90004048370
29538994972B84   JULIE         WARREN                  CO          90005039949
295391A1187B87   DESHANNAN     RUSSELL                 AR          90011001011
2953936897B449   JUAN          ROQUE                   NC          90013923689
2953957879155B   LORENA        AGUIRRE                 TX          75056095787
2953958395B571   JAMES         LEE                     NM          90014645839
2953B1A1A91828   KATHERINE     TUITE                   NE          27014591010
2953B293291953   RUTH          FRYAR                   NC          90013092932
2953B379957128   CARLOS        CHIVALAN                VA          90001163799
2953B44794B588   HELENE        HARDWAY                 OK          90013954479
2953B58AA5B271   AMBER         HALL                    KY          90013575800
2954159A251328   VINOTHKUMAR   BALAKRISHNAN            OH          90010305902
2954167694B261   JOSE          RAMOS                   NE          90013386769
2954174725B271   ROBBINS       FAMILY                  KY          90010907472
2954234299184B   RACHEL        GARDUNO                 OK          90014203429
2954293399155B   ALEJANDRA     MENDEZ                  TX          90011219339
2954337394B588   DAMARIS       CASTRO                  OK          21583813739
2954349A49189B   MATEO         AGUILAR                 OK          90015134904
295435A574B245   LAUREL        NELSON                  IA          27090525057
2954425A881633   KEISHA        MERIWETHER              MO          90014872508
2954589264B588   EARNEST       WILLIS                  OK          21559938926
29546AA4897B4B   ROSA          NUNEZ                   CO          90010840048
2954725A491592   CARLOS        SANTIAGO                TX          75096872504
2954767355B161   PATRICIA      CARRILL                 AR          23002156735
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2954852697B449   TERESA      NORMAN                    NC          90005865269
2954B175131453   ROBERT      EVANS                     MO          27500621751
2954B34299184B   RACHEL      GARDUNO                   OK          90014203429
2954B569A9155B   VERONICA    GUZMAN                    TX          90009195690
2955122A99155B   ELIZABETH   CARO                      TX          90009642209
295521A7655957   CARLOS      FRANCO                    CA          90011451076
295522A3A55957   FRANCISCO   ZARAGOZA                  CA          90013502030
2955237A891828   WALTER      MULLINS                   OK          90000283708
2955282755B571   MARIA       CHAVEZ                    NM          90009918275
29553A37172B42   DAVID       GARCI                     CO          33076310371
29554878972B42   OSCAR       RUBIO                     CO          33091908789
29554A3515B571   FERNANDO    VIRAMONTES GURROLA        NM          35005340351
29555554A47965   CHRISTINA   RIDENOUR                  AR          90014085540
29555A2349184B   AUBREY      WILLIS                    OK          90012330234
29555A89872B42   KINAAN      HAMED                     CO          33000850898
2955651555B338   KIMBERLY    DILLON                    OR          90000575155
29556754672B42   RON         BARELA                    CO          90014637546
29556A37A8B151   ROQUE       STARLA                    UT          90004690370
2955731729184B   CRISTINA    VERGARA                   OK          90013413172
29559277A91383   JASON M     TIRK                      KS          29073682770
29559345A9184B   CHASE       KEENE                     OK          90014203450
29559862887B87   TAMARA      SHELTON                   AR          23015968628
2955B4A2991828   GRADY       KERSH                     OK          90012314029
295635A6555957   PATRICIA    ALVES                     CA          48034545065
295638A8191953   ERIKA       HERNANDEZ JIMENEZ         NC          17052518081
29563A19A31631   NICK        CROSS                     KS          90010660190
2956431825756B   JOSE        MIRANDA                   NM          90014183182
29564A39151328   ELAINNA     KIMBLE                    OH          90012390391
2956534A476B62   JOSE        CHAVEZ                    CA          90008043404
29566882787B87   MECHELLE    HAMPTON                   AR          90008628827
2956726359155B   ELSA        TAYLOR                    TX          75002392635
2956733713B39B   CHAUNCEY    WARREN                    CO          33032213371
2956852699189B   CODY        COSHATT                   OK          21079905269
2956996149155B   ELIZABETH   ESCOBAR                   TX          90010499614
2956B298691953   JESUS       PEREZ                     NC          90011452986
2956B35355B271   MARK        MARTEN                    KY          68020393535
2956B384272B42   BLANCA      MUNOZ                     CO          33050473842
2956B448491889   JALEAN      RUBLE                     OK          90010544484
2956B715281633   ARLANDO     BURNS                     MO          90010897152
2956B993555957   FERNANDO    NINO                      CA          90007609935
2957112439189B   TERENCE     BANKS                     OK          90015141243
29572A59872B42   JESSE       ANDRESON                  CO          33016130598
2957333A393721   VINCENT     BERRY                     OH          64549253303
29574338A72B42   JESSE       GAST                      CO          33049493380
29574A1699155B   ARACELI     GARCIA                    TX          90007430169
29574A47572B84   PABLO       GUZMAN                    CO          33058080475
29574A88751336   JEFFERY A   JOHNS                     OH          90015300887
2957577524B245   TOLIBJON    MARUPOV                   NE          90011767752
29575A15A9184B   KIM         AGENT                     OK          21094700150
29576245A81633   JAMES       JOHNSTON                  MO          90004442450
2957652175B569   MIGUEL      GAVAN                     NM          90011755217
2957778589155B   CYNTHIA     CRUZ                      TX          75004017858
2957817939184B   CAROLIN     RANDOLPH                  OK          90014771793
2957922674B245   DEBRA       BOLDEN                    NE          27021672267
2957B391A9155B   GLADYS      LUNA                      TX          90004313910
2957B491187B87   JAMMIE      ROUSE                     AR          90014944911
2957B883555957   SALLY       LEON                      CA          48053668835
2958131452B955   JOSE LUIS   OCHOA                     CA          90013943145
2958165A391828   MAGGIE      MCCLARY                   OK          90010526503
2958178374B245   FRANKLIN    WILLIAM                   NE          27092597837
2958299A15B161   KRISTIE     JOHNSON                   AR          23000479901
295829A3787B87   JORDAN      QUARLES                   AR          90015109037
2958343889189B   ANTIWAN     SIMMONS                   OK          21081424388
2958482AA7B449   STEVEN      GAITEN                    NC          90011958200
2958483789184B   SHELA       NORTHCROSS                OK          90014858378
295851A6891522   LUIS        JURADO                    TX          90012731068
29585A72751328   MIKE        CLARK                     OH          90013270727
2958627A454162   JOSHUA      ALVAREZ                   OR          90014032704
29586A1317B449   DENICE      FRANCO                    NC          90013930131
29587695987B87   TYNISHA     PARKS                     AR          23079226959
2958833A393721   VINCENT     BERRY                     OH          64549253303
2958915465B271   WANISHA     WHITE                     KY          90000931546
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2958942717B449   KAREN        SOSA                     NC          90006694271
29589617A91828   NANCY        MACHORO                  OK          90002196170
29589A7749189B   SANDRA       FANNIN                   OK          90015150774
2958B51214B592   NATHAN       EDWARDSON                OK          90008595121
2958B51A251328   JOHNATHAN    LAMB                     OH          90005765102
2958B92415B571   SUSIE        MAEZ                     NM          35015359241
2958B96A685822   MIKHAIL      ABRAMOV                  CA          90013589606
2959121A791592   MARCO        LOPEZ                    TX          90008302107
295913A367B449   ROBERT       MCCCAULEY                NC          90008883036
2959153498B188   JACOB        NEILSEN                  UT          90003765349
295927A8491522   VICTORIA     ANAYA                    TX          90011577084
2959411319189B   JABARI       BURKS                    OK          90009531131
29594766872B42   MELISSA      GUZAINO                  CO          90012837668
2959487A331453   CARL         MEEKS                    MO          90012878703
29594A21987B87   JOSEPH       MEANS                    AR          23061080219
2959562115B571   YVONNE       CORDOVA                  NM          35067856211
2959638587B449   KAREN        MARTINEZ                 NC          90013923858
29598764A72B42   ANGELA       BARRIOS                  CO          90002607640
29598A73A91933   BENIYAM      TESFAYOHANNES            NC          90002660730
2959931984B261   WILLIAM      MOSLEY                   NE          90003963198
29599A4969155B   VINOD        VASON                    TX          90014770496
2959B96614B281   DOUGLAS      TSOKA                    NE          27089469661
2959BA64291522   EDUARDO      BALDERAS                 TX          75002540642
295B1133431453   STEPHANIE    RHODES                   MO          90009331334
295B11A834B245   ERIN         BULANDA                  NE          90000871083
295B136A987B87   CANDRA       LITZSEY                  AR          90013933609
295B1384691828   JODI         SALLIS                   OK          90014563846
295B177A691592   MARIO        JIMENEZ                  TX          90012887706
295B1A54591828   CHYNNA       BLAIR                    OK          90009510545
295B21A595B571   JHONY        CHAVEZ                   NM          90006951059
295B2369741295   NAVARRE      DIXON                    PA          51079073697
295B2399572B27   BRIAN        BEECHER                  CO          90001993995
295B3144272B42   AMY          MINOR                    CO          90012571442
295B3698987B87   ALYSSA       RAYBURN                  AR          90013196989
295B421385B161   MELESSIA     PIPPEN                   AR          90014362138
295B436A772B29   ROSA         RODRIQUEZ                CO          33062403607
295B5796891953   COREY        BRITTON                  NC          90015167968
295B5818991592   ELIZABETH    RODDIGUEZ                TX          75010848189
295B5A71672B29   MARIA        OROZCO                   CO          33050350716
295B6926191828   ROSIE        MCQUARTERS               OK          90012189261
295B731845B375   MARIA        GONGORA                  OR          90000803184
295B733889155B   MARIA        OLIVARES                 TX          75065393388
295B748979189B   CURTIS       CORLEY                   OK          21018054897
295B8135151328   DONIE        JONES                    OH          90015541351
295B822287B471   RICARDO      MORA                     NC          90008902228
295B824379184B   JACQUELINE   CALDWELL                 OK          21003972437
295B99A4331453   RHONDOLYN    WEST                     MO          90005559043
295BB44865B271   AUBREY       HELLER                   KY          90014404486
295BB664991592   MIGUEL       BERMUDEZ                 TX          90010916649
295BB79884B281   KRISTY       WOLFF                    NE          27074177988
295BBA6A891828   DENA         RITCHIE                  OK          21000410608
2961173895B161   ANGELA       HAYNIE                   AR          90000867389
2961186769155B   AARON        DIAZ                     TX          90009918676
2961219929189B   CARMEN       MENDOZA                  OK          90007141992
29612271572B42   RUBI         RODRIGUEZ                CO          33052992715
2961571685B571   TIFF         MCNIGHT                  NM          90012877168
2961591775B271   CHRIS        STEPP                    KY          90001989177
2961612A65B161   SCHANNA      BANKS                    AR          23005761206
2961663A855957   DONNA        BREWITT                  CA          90009826308
2961777A531453   CURTIS       SLEET                    MO          90014827705
29618278587B87   ICELLO       HAYNES                   AR          90013472785
29618599A91953   JORGE        MORALES                  NC          90015105990
296191A494B588   VIVRE        VARGAS                   OK          90012861049
2961958869184B   IVAN         KNIGHT                   OK          21045025886
29619874A91828   AARON        MCCLAIN                  OK          21078148740
29619A7157B471   ANTWANIQUE   MCGOWAN                  NC          90005720715
2961B4A275B571   CODY         CLEMENS                  NM          90014874027
2961B564187B87   KRYSTAL      EVANS                    AR          90011215641
2961B841651351   TONI         DIFIORE                  OH          90011278416
29621441487B87   TRUMORROW    RAINY                    AR          23005134414
296219A2831453   TYNERRIA     HALL                     MO          90009789028
2962277564B261   JOEL         CRUZ                     NE          90013937756
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2962321367196B   NICOLE                GUERRA             CO       90014332136
2962337724B261   MARIA                 LOPEZ PEREZ        IA       90013153772
296235A1291828   SHARMEKA              PURNELL            OK       90015155012
29623A1467B449   VIANEY                PRADO              NC       90011940146
296245A774B261   AHMED                 ELSAMADONY         NE       90003255077
2962492289155B   DANIEL                GUILLEN            TX       90003529228
29624A59391828   MICHAEL               PHILLIPS           OK       21038230593
2962539A451331   CARL                  HENNEMAN           OH       90010683904
2962542877B462   AGUSTIN               HERNANDEZ          NC       11019564287
29625751772B84   ARACELI               MARTINEZ CARMONA   CO       90011717517
29626978A4B588   MARIO                 AMBROCIO           OK       90015199780
2962737785B571   CARLA                 ORDONEZ            NM       90014373778
2962738617B449   GUILLERMO             MOLINA             NC       90013923861
296273A4291528   CHRISTINA             VALDEZ             TX       90010913042
29627A4484B588   MARTIN                GARCIA             OK       90008060448
296285A4A76B62   JUAN                  PARADA RIVAS       CA       90009165040
29629458887B87   RUTHIE                MADDEN             AR       90014154588
29629A64172B42   JON                   NEIMAN             CO       33089160641
29629A7934B261   LILLIE                BRADFORD           NE       90008090793
2962B284351328   CINDY                 LOWERY             OH       90010192843
2962B3A348B151   JUAN                  FUENTES            UT       90013553034
2962B62114B588   ANOTHNY               PRESENT            OK       90013906211
2962B92429189B   JAMES                 GOOD               OK       21014999242
29631161A55957   GUADALUPE             VILLAREAL          CA       90007781610
29631747787B87   TIARA                 TERRY              AR       90006517477
29631A5874B588   SHERICKA              MCCOY              OK       90010890587
2963344A15B571   LEONOR                GONZALES           NM       35096564401
29633579772B42   LINDA                 CALDWELL           CO       33006805797
296341AA291592   THOMAS                MILHOLLAND         TX       90013471002
2963436135B271   THERESA               SUMMERS            KY       68019663613
2963512174B245   KATHRYN               RECKINGER          NE       27032471217
2963533649155B   MARCO ANTONIO         PEREZ              TX       90003283364
296358A5972B42   ROBERT                JAQUES             CO       33093098059
296368A929155B   MELISSA BILL          VILLAREAL          TX       90004278092
29636A1844B245   TRACY                 SLAVIN             NE       27088100184
2963864225B571   GENEVIEVE             ABEYTA             NM       90014226422
2963B62739189B   JOHN                  MELLOR             OK       90015176273
2963B99215B271   MARIA                 LOPEZ              KY       90004029921
2963BA8394B261   MARK                  POLITO             NE       27073880839
296411A5391522   LUANA                 RUEDAS             TX       90013351053
2964146445B247   SEAN                  COFFEY             KY       90003134644
29642492872B84   DON                   HOLLIDAY           CO       33051794928
2964381352B229   JERENA                HALLMON            DC       90001688135
2964425474B261   ANDREW                SECORA             NE       90012762547
296442A985B571   HERBERT               DUGEON SENIOR      NM       90013422098
296444A657B449   JAMES                 BENNETT            NC       90013904065
29644874872B61   GENERAL MAINTENANCE   SERVICE LLC        CO       90013428748
2964639247B449   JAIME                 MARTINEZ V         NC       90013923924
29646558272B23   CLARENCE              MOYER              CO       90010135582
29647399972B84   MONIQUIE              OBARSKI            CO       90007473999
2964767789189B   JASMANY               ROCHA              OK       90015176778
29647A1779373B   WILLIAM               HALE               OH       90003630177
29648296124B43   LASHONDA              WALKER             DC       81027392961
2964863A47B449   GILBERTO              FLORES             NC       90010676304
2964954135B161   TERESSA               ASHFORD            AR       23063655413
2964B79184B281   ROSALIA               SALAZAR            NE       27015947918
29651A48387B87   TRESSA                ROBINSON           AR       90010280483
2965231A44B588   ERIKA                 GARCIA             OK       90002773104
2965269A49189B   LAVADA                GRIFFIN            OK       90015176904
296536A5391525   MARIO                 CHAVEZ             TX       90012366053
296536A5587B87   D'ANDREA              KINDALL            AR       90013926055
29653A68331453   GEORGE                MCLEMORE           MO       90014810683
2965478A94B261   ROBERT                SMITH              NE       90013937809
296552AA391241   DAISY                 WILSON             GA       14580692003
2965582799155B   ARTURO                MONTERO            TX       90004278279
2965639247B449   JAIME                 MARTINEZ V         NC       90013923924
29656614A87B87   JOHN                  POLK               AR       90013926140
2965682459155B   LUCIA                 PEREZ              TX       90013358245
2965684297B449   DERISHA               BALDWIN            NC       90010538429
296575AA19184B   TRACY                 HOPKINS            OK       90011115001
2965783785B271   DWIGHT                HICKSON            KY       90009718378
29657A3924B245   JUDY                  JONES              NE       27053030392
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29658318A91953   WENDY         SALGADO B               NC          90011093180
2965954149155B   STEPHANIE     TORRES                  TX          90013565414
29659816A41281   JANELL        HOWARD                  PA          90013618160
2965B227985875   DAVID         MOORE                   CA          90010992279
2965B44797B449   JULIO         ESQUVIEL                NC          90014894479
2965B515897122   EUSEBIO       TEREZA                  OR          44535645158
2965B73575B271   VENANCIO      LOPEZ                   KY          90014327357
2965B98959155B   ANGIE         LUCERO                  TX          90011219895
2966135124B588   TELISA        MCKENZIE                OK          90012663512
29662379276B8B   ALEX          BARWNER                 CA          90009903792
2966285369184B   JENNIFER      HAUGHN                  OK          90014638536
29663416A72B42   LUCIA         RIOS                    CO          90013504160
2966352985B271   CHRISTOPHER   GARDNER                 KY          90014855298
2966355435B244   LUCKOSONDO    SYLLA                   KY          90014355543
296639AAA81633   ANDRES        HERNANDEZ               KS          29001029000
296646A2755957   STARLENE      STOKES                  CA          90003166027
296646A5A7B33B   JOSE          GUEVARA                 VA          90003706050
29665684A55957   LUPE          CARDENAS                CA          90011886840
2966639654B245   PAYGO         IVR ACTIVATION          NE          90010583965
29666431972B29   IVON          RODRIGUEZ               CO          90000124319
2966688A74B261   ROSENNE       OLSON                   NE          90010218807
29667962572B84   DUNG          DINH                    CO          90002159625
29669455287B87   TANISHA       LOVE                    AR          90010024552
2966952A95B271   SHANNON       PERRY                   KY          90013975209
2966967927B449   DANIEL        FORTHMAN                NC          90012816792
29669943A4B588   DAVID         JONES                   OK          90011959430
2966995739184B   JORGE         DOROTEO                 OK          21000819573
29669A66781633   AMANDA        MOON                    MO          90011120667
2966B21339155B   DANIEL        FRANCO                  TX          90012092133
2966B839A4B588   CHRYSTA       BROUSSARD               OK          90011338390
2967111444B261   SEAN          BROZAK                  NE          90010851144
2967249515B271   EDWARD        BOLIN                   KY          90014724951
2967297874B281   BRANDON       MEYER                   NE          90004499787
2967366699155B   YARATZED      GONZALEZ                TX          75010356669
29674822A7B449   TOUDD         BROWEN                  NC          90013228220
29675A78351328   REBECCA       HACKER                  OH          90012390783
2967622AA91522   IRMA          BUSTAMANTE              TX          75073622200
2967638A84B261   SIARA         MITCHELL                NE          90010253808
2967648589155B   EDUARDO       DE LEON                 TX          90012214858
29677355A91528   ROSA          RUIZ                    TX          90005803550
2967773A291522   IRMA          MENDOZA                 TX          75045067302
29677A58341252   THOMAS        CROOKHAM                PA          90011130583
2967834317B422   FERNANDO      CALIHUA                 NC          90010503431
29679459A91592   ROGELIO       DELGADO                 TX          90006894590
2967B1A459189B   WILLIAM       CHILDS                  OK          21053241045
2967B36AA77534   THALINA       JORDAN                  NV          90001513600
2967B446181633   PEDRO         VELAZQUEZ GUTIERREZ     MO          29004984461
2967B95757B449   ERNEST        SASSE                   NC          90012809575
29681671172B84   ED            SISK                    CO          33057616711
2968197792B962   FABIOLA       RUBIO                   CA          90012139779
29681A7A691828   BERRY         WASHINGTON              OK          21075490706
29682216472B42   TINA          CHRISTINE SANCHEZ       CO          33038562164
2968229444B596   THERESA       COX                     OK          90013982944
296828AA657544   PATRICIA      GONZALES                NM          90004548006
2968348515B338   DANAYA        PFEIFER                 OR          44569544851
296834A7991525   GABRIEL       HIGADERA                TX          90009224079
2968396549152B   MARIAM        KABARITI                TX          90009739654
2968438644B261   ROBERT        BREWER                  NE          27018003864
29684813587B87   CHANDA        WILLIAMS                AR          90012288135
296867A6191522   MIRNA         GUTIERREZ               NM          75053977061
2968785787B666   TAMMY         HARRISON                GA          90011518578
2968893A861435   JORGE         CABRERA                 OH          90015279308
29689925387B87   ANGELA        BILLINGS                AR          90013189253
2968993A29189B   NASHAUN       SHAW                    OK          21029549302
2968B229791592   JORGE         RODRIGUEZ               TX          90015202297
2968B41524B261   KRYSTAL       LITTLE                  NE          90013154152
2968BA7A831631   CHRISTIE      WILLIAMS                KS          90010660708
29691551A4B281   KIMBERLY      MCMAHON                 NE          90008295510
2969166A391522   EVANGELINA    LUCERO                  TX          90014026603
29691A87691828   ERMELINDA     THOMAS                  OK          21043400876
2969224577B449   GLENNA        BENJAMIN                NC          11049772457
2969258A691522   AURORA        ESCOBAR                 TX          90014925806
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29692914A5B571   JAIME         GOMEZ                   NM          90002889140
29692A8837B435   LORENA        JIJON                   NC          90012670883
2969336595B571   CARLOS        BERMUDEZ                NM          90009793659
29693724772B42   KENYETTA      WILSON                  CO          90013077247
2969392429189B   JAMES         GOOD                    OK          21014999242
2969393747B362   SABINA        ROMERO                  VA          90001659374
2969615619155B   AVELINO       VELEZ                   TX          75043061561
29697A1535B571   MARY          BRUNDIGE                NM          35051080153
2969825715B271   CHARTRICE     WITHERS                 KY          90013212571
2969856335B161   ANGELA        BURT                    AR          23060985633
29698945A91592   MARCO         ALVARADO                TX          90012929450
29699559787B87   CHARLOTTE     PARKER                  AR          90013935597
2969956519184B   GABRIEL       BLAKE                   OK          21091015651
29699A6A891592   ASHELY        ZAMBRANO                TX          90010770608
2969B313891522   CARLOS        ARGUELLES               TX          90003093138
2969B32644B245   NICOLAS       RAMIREZ                 NE          90001083264
296B115214B588   ANGEL         ELLIS-POWELL            OK          90010041521
296B2361485822   BRANDON       MOORING                 CA          90000603614
296B2369672B42   ANGEL         AGICEA                  CO          90011953696
296B259159189B   SHANNON       HARBESTON               OK          90015175915
296B2A5A351328   DANIEL        SANTOS                  OH          90013930503
296B3745191522   JOEL          VILLEGAS                TX          90014887451
296B378114B281   CRAIG         GAITHERIGHT             NE          90002457811
296B496969155B   ISABEL        LOPEZ                   TX          90011679696
296B4A5817B449   CHYNNA        CHONG                   NC          90006150581
296B5125155957   ALEJANDRA     LEPEZ                   CA          90015371251
296B5225831453   SATASHA       ROOKS                   MO          90011172258
296B547617B471   CAROL         BLACK                   NC          11098044761
296B5543791522   JOVANNA       MENDOZA                 TX          90014965437
296B6249581633   JESSICA       CAZENAVE                MO          90010242495
296B62A9936121   RAENELL       MCCORD                  TX          90010172099
296B659359189B   RENAE         EISENBERGER             OK          90015175935
296B6639191828   DEBBIE        HARRIS                  OK          21001966391
296B67A675B271   JANAY         KELLY                   KY          90014757067
296B699A491953   JEANNOT       BOMBUTSHI               NC          90014749904
296B6A23591592   CHRISTINE     AGUILERA                TX          90010390235
296B736624B588   DAVID         PHILLIPS                OK          21537713662
296B74A455B271   NICK          JACOBS                  KY          90012524045
296B7529651328   STEVEN        SLADEK                  OH          90013015296
296B785739155B   JESSICA       NAVARRO                 TX          90004188573
296B8252691828   HAILEY        MARTIN                  OK          90013752526
296B837339155B   ANA           TORRES                  TX          90009083733
296B86A9A51328   JAMES         MARTIN                  OH          90014476090
296B886A991528   RAMON         GARCIA                  TX          90007118609
296B8A9165B271   RICHARD       STEWART                 KY          90014820916
296B9955581646   WENDY         ORELLANA                MO          90007839555
296BB1A6481633   AURELIO       ROMERO                  MO          90007561064
296BB835A9189B   SARA          BASFORD                 OK          90003338350
2971195124B588   APRIL         ROBINSON                OK          90014469512
2971198834B281   LUIS MARTIN   TORRES                  NE          90012869883
2971414A341243   CHRISTOPHE    MOORE                   PA          90001701403
297144A9991528   RAYMOND       CANTRELL                TX          90001714099
29714686687B87   TRISHA        MCCOY                   AR          90015176866
2971491A44B261   EMILY         CRAWFORD                NE          27032299104
297153A255B571   YESENIA       CABRAL                  NM          35091383025
2971592A64B261   JANICE L      AHERNS                  IA          27050989206
29715AA139155B   ALFREDO       ROMAN                   TX          90011220013
29716242487B87   LINDA         GATEWOOD                AR          23089532424
2971644757B423   BERNARDINO    LARA MARCOS             NC          90013924475
29719239A91522   VIANEY        ORTIZ                   TX          90012642390
2971964AA91522   VIANEY        ORTIZ                   TX          90008556400
2971968A891953   JUANA         SILVERIO                NC          90014166808
2971982A557593   KATHLEEN      GARCIA                  NM          90007488205
2971B147991592   KARLA         BUENROSTRO              TX          90015031479
297213A6647952   BRENDA        MOTT                    AR          90000913066
29721839387B87   VICTORIA      JACKSON                 AR          90013938393
29721A48384364   MAURICE       ALLARD                  SC          19021590483
2972244139184B   MARILYNN      WEST                    OK          21070794413
297224A717B449   OSCAR         BARRIGA                 NC          90013924071
2972362435B271   MARIE         MAYES                   KY          90008906243
29723A8655B571   MARIA         HOLGUIN                 NM          35083350865
2972417297B449   JAVARES       BLAKELY                 NC          90015131729
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2972427A791592   CRISTINA      DELGADO                 TX          90008382707
2972443619189B   JANET         SMITH                   OK          90015214361
2972731A191828   CHRISHANNDA   AYERS                   OK          90013963101
297278A9591522   ROBERT        SORIANO                 TX          90010358095
2972888965B271   VICKI         NICHOLS                 KY          68028818896
2972947249189B   TANNEQUA      LEWIS                   OK          90009534724
297298A4A31453   TORY          MITCHELL                MO          90013188040
2972B433191592   JOSUE         RIVAS                   TX          90010814331
2972BA9A581633   CHRIS         NARAMORE                MO          90013490905
2973141498B159   JAMES         HANKS                   UT          90006724149
29731739787B87   LISA          BROWN                   AR          90009067397
2973263763364B   TERRY         WHITE                   NC          90012646376
2973352AA51336   TASHA         DAY                     OH          66020175200
2973389419189B   MATHEW        ALLISON                 OK          90007208941
2973491315B254   RICHARD       BURCHETT                KY          90009769131
2973549339189B   SHALONDA      LUNSFORD                OK          21097494933
2973614415B195   CHARLIE       JORDAN                  AR          90015071441
297362A3131453   SAMMY         BROWN                   MO          90004622031
2973668297B449   CHARTINA      BOOZE                   NC          90011506829
2973744579189B   TONY          MURRAY                  OK          90015214457
29737459A72B29   DANIEL        FUENTES                 CO          33038874590
2973766799184B   OSCAR         RAMIREZ                 OK          90014686679
2973777289152B   JANETTE       HERNANDEZ               TX          90012457728
2973927235B271   RACHEL        ROSARIO                 KY          68019682723
29739467A5B571   LUIS          BUSTILLOS               NM          90014374670
2973B19927B449   KENYA         THOMAS                  NC          90014971992
2973B742131631   JESSIE        PAYNE                   KS          22015407421
2973B92324B281   MARIA         TAMAYO                  NE          90005799232
2974144749189B   PETER         TOWSON                  OK          90015214474
2974244749189B   PETER         TOWSON                  OK          90015214474
2974336A191592   DAVID         RUBIO                   TX          90014453601
2974346194B588   KRYSTAL       CAMPUZANO               OK          21563654619
2974378A471923   HILARY        SHINN                   CO          90003637804
297437A2487B87   LAUREN        BROWN                   AR          90015177024
297438A3685822   AARON         LAMOT                   CA          90002728036
2974574119184B   NANCY         IVEN                    OK          90011117411
297464A717B449   OSCAR         BARRIGA                 NC          90013924071
29746529A5B271   MIKE          REYNOLDS                KY          68065625290
2974666195B571   MARIA         SAENZ                   NM          35060736619
2974685719184B   JACKIE        WILSON                  OK          90000988571
2974721684B588   CHRISTINA     TORRES                  OK          90006542168
297478A8591592   JOSE          SOLORIO                 TX          75052088085
29747A66372B42   LARISSA       NEELEY                  CO          33008420663
29748A2119155B   DAVID         ALVARADO                TX          90011220211
2974984799189B   REBECCA       SIMS                    OK          90011608479
2974B566191828   EARLOW        LIRA                    OK          21011425661
2974B99A691953   PATRICE       HIGH                    NC          90002229906
2975139A491828   BRANDY        PATRICK                 OK          90006113904
2975184799189B   REBECCA       SIMS                    OK          90011608479
2975189175B161   SHARON        SMITH                   AR          23039428917
29751A14A57581   ANTONIO       SEDILLO                 NM          90012300140
29753A5A391828   RAYMOND       LEE                     OK          90010530503
29754A88887B87   RUBY          COLEMAN                 AR          90009330888
2975521415B271   MICHAEL       PHELPS                  KY          68091172141
2975532857B449   WENDY         BANEGAS                 NC          90001263285
29755969A51328   FORREST       HAINES                  OH          90002289690
2975655274B588   RACOYA        THOMAS                  OK          90007435527
2975684944B588   GIBRIAN       RIVAS                   OK          90015018494
29757755A81633   DOUGLAS       TYSON                   MO          90009237550
2975846A84B588   JESSE         HARMON                  OK          90010734608
2975911735B271   BADD          ASZ                     KY          90012331173
2975962559155B   RAMON         ROMERO                  TX          90002576255
2975B263351328   SAMANTHA      KIRBY                   OH          66058432633
2975B988985822   ADA           QUINONEZ                CA          90003169889
29761A96472481   ASHLEY        JOHNSON                 PA          90001410964
2976272875B571   MARTIN        CANALES                 NM          90006217287
29762A77784364   WILLIAM       WRIGHT                  SC          90007130777
2976351449155B   ROSAURA       ALFARO CERVANTES        TX          90012575144
29763A55851328   JAMIE         LAMBERT                 OH          90011890558
297641A1191522   CLAUDA        HERNANDEZ               TX          90008451011
29765271A3B352   ALPHONSO      BASS                    CO          33035312710
2976591934B281   DOROTHY       GILLMAN                 NE          27030799193
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29765A2884B588   REY          PRICE                     OK         90011970288
29766A36691592   ORLANDO      AVALOS                    TX         75077250366
2976733A555957   IVETTE       CHAIDEZ                   CA         90011333305
29767682572B84   LANA CORIE   MEDINA                    CO         90002016825
2976819694B281   DIONDRE      MITCHELL                  NE         27026651969
29768582A4B588   BRIAN        WALKER                    OK         90005665820
2976897332B221   CAROLYN      CLEMONS                   DC         90014499733
2976919739155B   WEST         SLOAN                     TX         90014801973
2976935365B271   JEFF         GILBERT                   KY         90012933536
2976B21182B221   KENYATTA     ALI                       DC         90002602118
2976BA96472481   ASHLEY       JOHNSON                   PA         90001410964
2977143A85B571   CYNTHIA      CLEMENTS                  NM         90003274308
29771816976B4B   SERGIO       RODRIGUEZ                 CA         90011778169
29771948A5B161   LASHALL      HOWARD                    AR         90002039480
2977235754B588   ASHLEY       TIPPIT                    OK         90013833575
2977273AA51328   ANDREW       RITTER                    OH         66040057300
2977424887B449   HEDDY        ALVES GARCIA              NC         90010542488
297742AA681633   MORRIS       CORNLEY                   MO         90000492006
2977443895B35B   MARIA        RODRIGUEZ                 OR         90010004389
29774585A4B541   DANIELLE     WALKER                    OK         90012585850
2977489A451328   NATHAN       HEATHCOCK                 OH         90010678904
2977648A291522   AIDEE        OROZCO                    TX         75094014802
297766A695B19B   RENEE        GARCIA                    AR         90012516069
29777288A91828   PHIL         MCARTHUR                  OK         21007932880
29777A7345B271   DARNELL      TAYLOR                    KY         90014700734
2977854A79189B   TRE          ROBINSON                  OK         90015215407
2977887115B271   LACIE        WILLIAMS                  KY         90001618711
29779854A51328   TERESA       DEAN                      OH         66040858540
2977B742585822   ASHLEY       DODGE                     CA         90011577425
2977B76A15B571   WALDREIA     CLARK                     NM         90005007601
297811AA255957   YAZMIN       SANCHEZ                   CA         90009641002
2978274A25B161   JAIME        LOPEZ                     AR         23001287402
2978311A991592   JORGE        RODRIGUEZ                 TX         90013471109
2978328835B271   JAMES        JONES                     KY         90007922883
29783299A91828   MICHAEL      BEVINS                    OK         90015002990
29783A5784B588   KAREN        CARDONA                   OK         90011380578
2978424A24B245   CHERITA      VELAND                    NE         90012602402
2978438939155B   ANTONIA      BUSTAMANTE                TX         75011153893
29784A2915B271   JOSEPH       HUNT                      KY         90005190291
2978534929184B   MELISSA      SHAW                      OK         90014213492
297855A134B281   NIM          TAMANG                    NE         90010555013
2978576314B588   VICTOR       CARRAON                   OK         21588717631
2978742245B161   SHERYL       CARMICHAEL                AR         23002184224
2978748899155B   ANDY         GALLARDO                  NM         90012494889
2978864355B571   ALEXIS       BAROS                     NM         90014936435
29788A7664B261   RAN          GURUNG                    NE         90012740766
297898A2691522   MARGARITA    SIFUENTES                 TX         90002098026
2978B664931453   ANTONIO      RILEY                     MO         90001296649
2978B74854B281   TRACY        MORGAN                    NE         90012447485
297918A575B571   MICHELLE     DEWEY                     NM         90003148057
2979198454B281   KANDACE      CHAMBERS                  NE         27090039845
2979382255B271   REALLY       REAL JR                   KY         90008678225
29794771872B84   JEN          SCHMIDT                   CO         33049957718
2979669487B449   ADILIO       MARTINEZ                  NC         11018426948
29797223A61994   DEBRA        JONES                     CA         90013712230
2979725435B571   ANNETTE      ARAGON                    NM         35093482543
29797A68591828   MYESHA       WINSTON                   OK         90004190685
29797A94351323   MONTE        GATES                     OH         90013940943
29798217A72B42   JEFF         GARCIA                    CO         33051502170
2979967345B271   KIARA        FOWLER                    KY         90003386734
2979BA7557B457   NATASHA      WELBORN                   NC         90007890755
297B129A191828   JOHNNA       MIZER                     OK         21007932901
297B175785B161   AXLEXIS      ALVAREZ                   AR         90011697578
297B1A95A87B87   MUVEDEMO     ID UR MOBILE CONNECTION   AR         90003110950
297B378147B449   LUDI         GARCIA                    NC         90003007814
297B419267B449   SINDY        BANNESA                   NC         90011401926
297B451467B449   MATERRANCE   RORIE                     NC         90010125146
297B491229155B   SILVIA       HERNANDEZ                 NM         75027039122
297B5297481633   DAVON        DAVIS                     MO         90012702974
297B5385255957   DANIEL       DIAZ                      CA         48006893852
297B5681631453   MARCEL       HARRIS                    MO         90013486816
297B58A9955957   RICARDO      ALVARADO                  CA         90014998099
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297B5978272B42   AVINA         CRUZ                    CO          90008559782
297B6586491522   ALEX          MONTOYA                 TX          90013905864
297B65A4281633   ADAM          WARD                    MO          90013405042
297B6839431631   TERANCE       WHITE                   KS          90011988394
297B719585B571   TRACY         ELDRIDGE                NM          90013421958
297B787689189B   JESSIE MAY    WARTSON                 OK          21087318768
297B7993291953   TYESHA        DAY                     NC          90013709932
297B8292691828   JUDY          BRUSVEEN                OK          90002772926
297B8447A72B84   CORA          HOLLAND                 CO          90008634470
297B8926391953   PEDRO         CHAJ                    NC          90013559263
297B8986551328   EUGENIO       MARTINEZ                OH          90009689865
297B8A18A31631   MOLLY         NAIL                    KS          22007990180
297B955759155B   ANDRE         THOMAS                  TX          75022725575
297B9746681633   CHRISTINE     WILSON                  MO          90000937466
297BB119851328   STEPHANIE     REPP                    OH          90014031198
297BB17494B553   VIRIDIANA     PACHECO                 OK          90007631749
297BB211172B42   JAHAZIEL      RODARTE                 CO          33098032111
29811377A85999   STEVEN        JONES                   KY          66001963770
29811557772B84   KRISTIN       RINCONES                CO          90013215577
2981186685B571   MONICA        MACIAS                  NM          90004398668
2981214A733628   SOLIS         INGRITH                 NC          12070571407
2981299128B15B   ALFREDO       MARTINEZ                UT          31090589912
298133A6784364   KAYLA         GUNTERMAN               SC          90010573067
2981345845B271   PATRICIA      MEREDITH                KY          90013314584
2981423A25B571   LUIS          PUENTEMORENO            NM          35087802302
2981493124B261   KYWANNA       MUMPHREY                NE          90009409312
29815AA5631433   PAUL          WEISS                   MO          27568980056
29816895787B87   CHERRY        BURGESS                 AR          90011458957
29816A1AA5B271   TERRY         ALLEN                   KY          68011200100
2981751645B333   CHARLES LEE   WANKE                   OR          90012575164
29817634A9189B   LONDI         VASQUEZ                 OK          90015216340
29817A7664B261   RAN           GURUNG                  NE          90012740766
29818214872B84   FILIBERTO     SAUCEDO                 CO          90005312148
2981839285752B   CARLOS        MARTINEZ                NM          90011563928
29818A4569155B   JANET         ACOSTA                  TX          90011220456
2981B461555957   JOHN          HERRERA                 CA          90013604615
2981B766472B84   MELISSA       MAY                     CO          90007357664
2981B865191522   OSCAR         GUTIERREZ               TX          90015168651
2981B92684B261   MICHAEL       RAUMAKER                NE          90009409268
29821778A72B4B   MICHELLE      FORSYTHE                CO          90008797780
298218A8A9189B   RICK          NEDOM                   OK          21081278080
29821A58731453   PORTIA        WINSTON                 MO          90014810587
2982245937B449   FRED          TRACY                   NC          90010704593
2982254334B261   TYLER         ALLARD                  IA          90013775433
2982268375B243   YOLANDA       REDMOND-GLENN           KY          90006426837
29823444A9155B   LUCY          LEDESMA                 TX          75020284440
2982378429189B   BRENDA        TORRES                  OK          21045937842
2982385A761932   JORDAN        MARTINEZ                CA          90011378507
29823A2724B588   CHAQUANA      THOMPSON                OK          21518750272
2982419719155B   DOUGLAS       TINELL                  TX          75020041971
2982514925714B   WILBER        ABAD                    VA          81008631492
2982642767B449   ANDRES        CONTRERAS               NC          90013924276
2982645297B449   LERON         PRECEND                 NC          90014854529
298264A329184B   SALVADOR      GUERRA                  OK          21074294032
2982685494B245   DANZELLER     ECHITINAW               NE          27018908549
2982715555B571   GABRIEL       ESPINOZA                NM          90007661555
29827171A51328   ASHLEH        SPURLING                OH          90013941710
298271A7151336   STEPHEN       TOMPKINS                OH          66057411071
298278A9A72B42   VINCENT       VARGAS                  CO          33090738090
2982974534B281   RENAZYA       TORRES                  IA          90007977453
2982B397191241   TAMMY         DAUGHTRY                GA          90009593971
2982B53AA81633   KAYLA         COX                     MO          90009405300
2983138344B261   BRADLEY       DUST                    NE          27075203834
29831711672B42   PEDRO         CASTRO                  CO          33098447116
2983199339184B   JESUS         MAZORIEGO               OK          21068669933
29832A92A91828   RODERICK      COLE                    OK          90012570920
2983339364B281   JORDAN        PAVELKA                 NE          90006153936
2983364434B588   CYNTHIA       STIRES                  OK          90004336443
29834599272B42   DAVE          WOODS                   CO          90013825992
29835A4A27B449   MIRIA         GUEVERA                 NC          90013930402
2983718195B571   LINDA         BAZAN                   NM          90011651819
2983733754B588   STEPHANIE     WAGGONER                OK          90015033375
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29837554987B87   BARBARA            ADROW               AR         90014575549
2983883789184B   SHELA              NORTHCROSS          OK         90014858378
29839A45A87B87   PAYGO              IVR ACTIVATION      AR         90014570450
2983B38729189B   BRIAN              MEADOWS             OK         21026333872
2983B83A233642   WESLEY             SCOTT               NC         90009758302
2983B923481633   ALESHIA            FLETCHER            MO         90009399234
2984161555B271   DONNA              LEE                 KY         90011026155
2984185144B588   KRISTEN MICHELLE   SANDERS             OK         90013668514
2984186759184B   EMILY              FROST               OK         90010148675
2984245865B271   RUTH               HOEFLIN             KY         90013314586
298424A8785822   MYRNA              DOUGALL             CA         90009574087
29842582A4B261   ALEXIS             PACHECO             NE         90011615820
29842965A22971   BRANDEN            WILEY               GA         90015519650
29842AA8131453   VONDA              WILLIAMS-HALL       MO         90013850081
2984337499184B   HECTOR             RESENDIZ            OK         21033693749
2984375135B571   JOE                BACA                NM         90009287513
29844345287B87   SHAVON             MILLER              AR         90013073452
2984469399155B   MARIA ANTONIA      SALAZAR             TX         90012026939
29844714972B29   MIGUEL             RUBIO               CO         90003287149
2984539A49184B   MICHAEL            DORLAND             OK         90014583904
29845486887B87   EVA                JOHNSON             AR         23082744868
298454A735B571   GUADALUPE          MENDOZA             NM         35054734073
2984646312B962   ROSA               HERNANDEZ           CA         90014094631
2984665936B931   CLAUDIO            HERNANDEZ- FLOREZ   NJ         90015366593
29846A14555957   FELIPE             NUNEZ               CA         48016960145
298471A565B571   VALARIE            GARDUNO             NM         35030251056
2984888A45B571   SCOTT              RANSOM              NM         90008588804
2984B31124B588   TENNISE            ROBERTS             OK         90005623112
2984B85315B271   JAMIE              RANES               KY         90014358531
2984B87699189B   HECTOR             AGUILAR             OK         21020708769
29852699A4B56B   JOANNA             MELEGATTI           OK         90005676990
29854A56131453   SAUDIA             PIERCE              MO         90010730561
2985539567B471   FELIX              LOPEZ               NC         90003153956
298553A374B281   KELLY              MCDONALD            NE         27098413037
298576A524B245   BOBI               SVENNNINGSEN        NE         90012086052
2985785764B261   ETHEL              HODGES              NE         90013938576
298589A129184B   BRENDA             DRAPP               OK         21078519012
2985926469155B   CHARLES            TURNER              TX         90000372646
29859A25972B84   BARRY              BAXTER              CO         33087190259
2985B13242B229   DARRELL            STEVENS             DC         90001461324
2985B192272B29   MARTHA             MARTINEZ            CO         90006851922
2985B32949189B   OQUELY             GONZALEZ            OK         90015223294
2985B427591592   OSCAR              CEIJAS              TX         90001174275
2985B64599184B   CLAUDIA            GOMEZ               OK         90012446459
2985B78954B588   MONICA             THOMAS              OK         90009697895
2986139694B588   JUSTIN             JONES               OK         90012743969
298614A5987B87   JUNE               STEWARD             AR         90014474059
2986154455B338   CASEY              FOWLER              OR         44525015445
2986159345B271   ERIN               ROBERTSON           KY         90013005934
2986257925133B   KRISTIE            WIEMER              OH         90013775792
2986354569184B   DAVIN              BOGGAN              OK         21089975456
298637A7A72497   JUDITH             CORONA              PA         90003037070
298639A9172B84   CRIS               PARKER              CO         90001229091
29864A41981633   CARLOS             GIRAUDY             MO         29094980419
2986658349189B   MARLA              MOODY               OK         90015235834
29866A7A872B4B   HEATHER            BARTH               CO         90009040708
2986828872B242   JAMES              ALDRIDGE            DC         90008762887
2986841689155B   KARINA             LOPEZ               TX         90009084168
2986844785B161   ZENA               GREEN               AR         23002804478
2986895672B221   ABSHIR             ADAM                VA         90002509567
298696AA49189B   TIKCHA             JOHNSON             OK         90015236004
298697A7851336   AMBER              MAGGARD             OH         90008167078
2986992664B245   KELSIE             FLATT               NE         90008709266
2986B48697B449   CATALINA           HERNADEZ ALMARAS    NC         90010544869
2986B696972B84   SIMMS              JODON               CO         33056736969
2987166A891522   SILVA              RAMIREZ             TX         75097486608
29871994A8B147   GABRIEL            OLIVA               UT         90011769940
29872A31751325   DONNA              MOORE               OH         90000820317
29873282972B42   MARY               JENSEN              CO         90007662829
2987378559189B   TABITHA            SALOM               OK         21030617855
2987415389155B   NORMA              GUAJARDO            TX         90014501538
2987541A99184B   AMY                SCHAEFER            OK         90013414109
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1476 of 2500


2987543877B449   MARIA         AGUILAR                 NC          90013924387
2987551637B449   ERICA         CHINCHILLA              NC          90010545163
29875636376B71   ASHLEY        CAVERO                  CA          90012726363
2987592529155B   CAROLINE      MARTINEZ                NM          90015329252
29875A2499189B   DENNIS        TATUM                   OK          90014150249
2987624884B261   PRECIOUS      CLARK                   NE          90009142488
29876792887B87   JAWAUNAKA     JORDAN                  AR          23049237928
29876A3314B588   JENNIFER      TOVAR                   OK          90011430331
29877427887B87   ORA           ASH                     AR          90008854278
29877725A91522   ALVAREZ       ALVAREZ                 TX          75040327250
29878441A81633   BRANDON       RIVERA                  MO          90013414410
29878A88791953   CARLOS        MONTALVO                NC          17062520887
29879346372B84   VANG          LEE                     CO          90002193463
2987966714B261   NICHOLE       SHEARD                  NE          27030076671
2987984859189B   NANCY         HOLLINGSHEAD            OK          21076958485
2987B299751328   ROBERT        COFFMAN                 OH          90013952997
2987B777891592   OSCAR         MATA                    TX          90010887778
2987B832591953   SONYA         MOORE                   NC          90010908325
29881324A91828   CIARA         PALONE                  OK          90005773240
2988148374B221   TERRIE        MILLER                  NE          90012214837
2988211384B588   CHRISTOPHER   CLARK                   OK          90009271138
29882567487B87   YOLANDA       CLEVELAND               AR          90013945674
29882683372B29   EH            PAW                     CO          90006776833
29882A9315B571   CLAUDIA       PARRA                   NM          90010560931
2988315234B588   NANCY         BREEDEN                 OK          90009701523
2988329235B571   HEATHER       FISHBACK                NM          90014842923
2988359139184B   KATIE         SPENCER                 OK          90015045913
29885653172B42   FRANCISCO     GARCIA                  CO          90004046531
2988583692B92B   MIGUEL        MENDOZA                 CA          90012998369
298867A2881633   AJA           BEEKS                   MO          90000627028
29886A13291592   DANIEL        ALVARADO                TX          75099640132
29887947A81633   TANIKA        SULLIVAN                KS          90013699470
2988845349184B   BAMBI         CHERRY                  OK          21060024534
2988851525B571   CAROL         WASHBURN                NM          90002875152
2988865747B449   ETIENNE       SADOHOUNME              NC          90002956574
29889538436B77   MATTHEW       DUSKY                   OR          90010315384
2988974884B588   FORREST       FREEMAN 111             OK          21559727488
29889A38355957   LILLIAN       VENTURELLA              CA          48094880383
2988B5A8872B84   ANN           CGUE                    CO          33059705088
29891A4359155B   ROSALES       BLANCA                  TX          90011430435
29892A53755957   VICTORIA      SANCHEZ                 CA          90013130537
2989527155B271   RAYMOND       JEFFRIES                KY          90013212715
2989528627B449   AUSTIN        LONG                    NC          90010742862
298958A2251336   MELODY        WATERS                  OH          90015228022
2989739387B449   KELVIN        WALKER                  NC          90014873938
298973AA25B161   VICKI         SHEPARD                 AR          23011323002
2989797447B449   VALERIA       REYES                   NC          11079799744
2989874884B588   FORREST       FREEMAN 111             OK          21559727488
2989947A591592   RED           HUDSON                  TX          90010814705
2989B612A91592   GARY          PIZANA                  TX          90014176120
2989B87A172B42   JAMES         BARTH                   CO          33006568701
2989B91559376B   JAMES         CRASE                   OH          90014889155
298B14A3A5B571   BIENVENIDO    OTERO-ORDONEZ           NM          90013074030
298B151A591522   ABRAHAM       NEVAREZ                 TX          90008685105
298B16A6591522   ANGEL         LARA                    TX          90014156065
298B1733657581   PRISCILLA     MORENO                  NM          35517307336
298B1A22855957   MARTHA        ROJAS                   CA          90001040228
298B214595B571   JANET         SAIZ                    NM          90008621459
298B2163491828   JULIA         BRUSVEEN                OK          90013511634
298B2281581633   GLENDA        AGUIRRE                 MO          90014642815
298B2378991592   JESUS         RAMIREZ                 TX          90011053789
298B285589155B   BERTA         GARCIA                  TX          75074268558
298B28AA787B87   LUTHER        WHALEY                  AR          23089318007
298B2A93991941   ROSIE         JONES                   NC          90006010939
298B3151172B42   CARMELINA     VENEGAS                 CO          33075331511
298B33AA381633   PATRICIA      LAMPKIN                 MO          29034083003
298B3523291528   SANDRA        RODRIGUEZ               TX          90005825232
298B5235451328   CLAYBURN      BIRD                    OH          90013932354
298B549814B261   MEGAN         ROLLINS                 IA          27015294981
298B591999155B   DAVID         UENO                    TX          90004279199
298B6123591953   ADAM          WHITE                   NC          90012251235
298B6385551328   RACHEL        ELERICK                 OH          90003083855
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298B67A8372B42   MELISSA     RIVERA                    CO          33042617083
298B6913172B42   DYLAN       RIVERA                    CO          90010809131
298B7269751336   JEFF        ASHER                     OH          66026982697
298B757399189B   OLGA        AVINA                     OK          90014195739
298B766A191828   LILIANA     RODRIGUEZ                 OK          90014916601
298B7772A4B245   SHAWN       COOPER                    NE          27095537720
298B797425B571   MARY        JAQUEZ                    NM          35074749742
298B8589881633   LISA        HYATT                     MO          29056135898
298B8743451328   MARIA       IRVIN                     OH          66087527434
298B891924B588   JOSE        GONZALEZ                  OK          90013009192
298B8A4537B42B   RICHARD     MORGAN                    NC          90009530453
298B9362951336   ANTONIETA   ESCALANTE                 OH          90014823629
298B9388751328   LAURA       RIGDON                    OH          90014803887
298B9A2975B161   CLARA       JENKINS                   AR          23002640297
298BB248651336   DENNIS      WESSEL                    OH          90006962486
298BB33A34B588   HERBERT     DUNCAN                    OK          90009693303
298BB648991522   BELEN       CONTRERAS                 TX          90005656489
298BB685191592   ABRAHAM     ORTEGA                    TX          90009566851
2991339369155B   GERALD      DITZ                      TX          90002663936
29913556A72B29   RODNEY      PEACOCK                   CO          33011305560
2991372279155B   DITZZ       GERALD                    TX          90010377227
2991432789184B   CARLOS      CONTRERAS                 OK          90012513278
2991486324B245   MARIA       SUAREZ                    NE          27000278632
29914892A4B261   AMILCA      VASQUEZ                   NE          90013938920
299153A5291525   MARIA       FLORES                    TX          75007173052
2991576454B588   ELVERINIA   GARCIA                    OK          90013857645
2991639924B245   AUSTIN      PUCKETT                   NE          90011773992
2991731AA9155B   MOISES      DIAZ                      TX          90014683100
2991769A59155B   MOISES      DIAZ                      TX          90015206905
29918231672B42   PAUL        COUTURE                   CO          33009072316
2991824514B245   DIANA       ANDREASEN                 IA          27069522451
2991859149155B   SABRINA     VARGAS-ORTIZ              TX          75068645914
2991BAA2891241   TONYA       THORPE                    GA          14589980028
2992183238B179   RAYMUND     HARRIS                    UT          31037448323
2992185A69155B   ARTURO      ESPINOZA                  TX          75087168506
2992341A391828   KRYSTAL     WILLIAMS                  OK          90014304103
2992461719184B   FRANCISCO   GARCIA                    OK          21004856171
2992481573B333   ART         VALENTINE                 CO          90008468157
29924A68455957   ITELA       MAYORAL                   CA          90013860684
299256A2251328   TARA        TELINDA                   OH          90013956022
2992629638B172   RAMIRO      MARROQUIN                 UT          31085562963
2992641619184B   KERRY       NEELEY                    OK          21056854161
2992658115B571   TAMARA      FRANCISCO                 NM          35092915811
2992685525B271   AUSTIN      STINSON                   KY          90011208552
29927997572B42   SOCORRO     CUEVAS                    CO          90004689975
299281A8372432   RONALD      KERNS                     PA          90011661083
29928341872B42   LEI         LONGAKER                  CO          90014083418
299283A865B571   MARIA       LOPEZ                     NM          90008243086
299286A875B375   JOHN J.     HALVORSON                 OR          90010046087
2992B676A9189B   KAY-LONI    TAYLOR                    OK          90015236760
2992B9A129184B   BRENDA      DRAPP                     OK          21078519012
2993121957196B   CADEEJAH    CHAFFIN                   CO          90010502195
29932A2197B449   SUGELY      DELCID BANEGAS            NC          90013930219
29932A6699189B   CLEO        JACKSON                   OK          90015240669
29933535987B87   BRITTNEY    ALLEN                     AR          90006925359
299357A8972B84   ALAINA      RADECKY                   CO          33083857089
2993596A431631   LISA        CULVER                    KS          90012659604
299361A734B281   JEREMY      BELT                      IA          90002071073
2993672935B161   CARL        LAWSON                    AR          90012587293
299375A4355957   NATASHA     GONZALEZ                  CA          90013775043
29938458472B42   SUSAN       SPIES                     CO          33053554584
29938A15484364   JAMES       WHALEY                    SC          90008150154
2993B197831631   CANDICE     KETCHAM                   KS          22080341978
2993B2A194B588   GLENDA      SILIEZAR                  OK          90015312019
2993B53634B245   ANDRADE     ESPINOZA-ZULEYMA          IA          90003415363
2993B599A91592   ALEX        FUNES                     TX          90012735990
2993B59A751328   KEVIN       STEINBRUGGE               OH          90002245907
2993B821587B87   TERESA      LAPOOLE                   AR          23086458215
2994188519155B   VICTOR      MORALES                   TX          90009938851
29942226272B42   GERMAN      SALGADO MALDONADO         CO          90012332262
2994227825B271   MARK        WEAVER                    KY          90014932782
2994273A29155B   IRMA        MENDOZA                   TX          75045067302
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2994343AA9184B   ARCELIA      GARCIA                   OK          90010564300
2994412AA4B281   TRACY        HUERTA                   NE          90010401200
29944878372B84   JOHN         MARTINEZ                 CO          33050998783
299448A7791592   ARTURO       VENEGAS                  TX          75081098077
29944A84A72B25   THERRIN      JONES                    CO          90012510840
2994528324B588   ANA          BRAVO                    OK          90009702832
299457A5855957   VERONICA     GONZALEZ                 CA          90011227058
2994595867B449   SASHA        HENDERSON                NC          11088019586
299462A2285822   KIMBERLY     MARTINEZ                 CA          90011592022
29946993672B42   NICHOLAS     VERBLE                   CO          90013809936
2994811555B333   IGNACIO      VARGAS                   OR          90014551155
299493A8A87B87   PAYGO        IVR ACTIVATION           AR          90012893080
2994B261A87B87   SHARONNA     ASHLEY                   AR          90013352610
2994B316A51336   JOHN         MANUEL                   OH          90012913160
2994B48565B571   TOBI         GENTRY                   NM          90005114856
2994B578791522   SAUL         ESPARZA                  TX          90009955787
2994BA69431448   MERCEDES     HODGES                   MO          90011720694
2995111834B281   TRACEY       MARSHALL                 NE          27030441183
2995143A291522   CHRISTINA    REDER                    TX          75054064302
299516A4391953   EBONY        HARTSFIELD               NC          90011016043
29951A25455957   TINA         JIMENEZ                  CA          90003910254
2995238925B571   ROB          LYDICK                   NM          90013413892
2995261217B449   ERIKA        BARTON                   NC          11089326121
2995265585B271   KAYLA        MORRIS                   KY          68055746558
29952789A51336   NATASHA      WEIER                    OH          66059157890
2995398295B571   MAGGIE       SORRELL                  NM          90012639829
29953A89431631   JOHN         SIMMS                    KS          90011980894
2995513434B245   CAROL        KOZICKI                  NE          90009501343
29956277972B84   MARIO        GARCIA                   CO          90009792779
2995883789184B   SHELA        NORTHCROSS               OK          90014858378
29958AA6451336   ISSAC        DIGGS                    OH          66094790064
2995911454B245   JORGE        DIAZ ESPINO              NE          90000571145
29959645572B29   RENEE        AMBROSEN                 CO          33032316455
2995982939155B   JOSE         DE SANTIAGO              TX          90013488293
2995B54329184B   TINA         SKJERSETH                OK          90012485432
29961199197B4B   RACHEL       SIPPEL                   CO          90004221991
2996161315B571   TAMARA       TAPIA                    NM          90008676131
2996165674B588   ANDREA       MCCULLAR                 OK          90010566567
29961A31585822   NICOLE       HOUSHAN                  CA          90008610315
29961A65891953   RENE         GAMEZ                    NC          90011830658
2996228994B261   RANDALL      TOMSU                    NE          90013452899
29962459672B42   SYDNIE       RILEY                    CO          90012414596
2996314A987B87   JONATHAN     BOYKIN                   AR          90011241409
29963963472B29   SIMONA       CORREA                   CO          33088679634
29965451472B29   KAYLEN       HOLLIS                   CO          90002814514
29965482698B42   RUDY         ARANA                    NC          90010334826
2996588163144B   TAMMY        HUNT                     MO          90015178816
2996626714B588   ADRIANA      CHAVARRIA                OK          90010722671
29966785A55936   CHERRIE      BYARS                    CA          90013367850
29966A16455957   MICHAEL      SASIN                    CA          90010780164
299676A979184B   JOHN BEATY   WORTHAN                  OK          21094566097
29967A52291592   SAMUEL       MUNOZ                    TX          75071830522
2996824637B449   FILIBERTO    ESTRADA                  NC          90013602463
29968AAA751325   ASHLEY       WILLIS                   OH          90006860007
29969183A91528   FRANCISCO    ALVIDREZ                 TX          75087091830
2996992289136B   ASHLEY       OLDFIELD                 KS          90002279228
2996B136291522   RAUL         ADDEMAN JR               TX          90013151362
2996B14299155B   GABRIEL      DELACRUZ                 TX          90015131429
2996B14839189B   CADY         RITTETOE                 OK          90015241483
2996B576755957   BRITTNEY     THOMPSON                 CA          90007405767
2997219A491828   MARTHA       MARES                    OK          90012561904
29972678772B42   STEVE        SCHNARR                  CO          33069796787
2997278217B33B   RAHIMA       SAFI                     VA          90009307821
29973811472B84   RAMIRO       SANCHEZ                  CO          90011718114
2997434464B245   KEYSHA       CORTES                   NE          90013773446
29974A6384B588   DAISY        MENESES                  OK          90014680638
29974A6447B449   MARIO        GRANDE                   NC          90012020644
29975983A91828   DEMYA        WILKERSON                OK          90002609830
2997653834B588   ALBERTO      SOLANO                   OK          90014025383
2997717A99155B   ERICKA       GUERECA                  TX          90011221709
29977262172B42   ANA          MARTINEZ                 CO          90010012621
2997829A491828   FELICIA      MATHENEY                 OK          21011752904
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2997834355B161   JOSE          SANTOS                  AR          90004693435
29978892687B87   MICHEAL       SCOTT                   AR          90006738926
2997B984231433   JOHN          TAYLOR                  MO          90004459842
29981951487B87   COURTNEY      OTIS                    AR          90013949514
29981A4825B271   LATONDRA      HUFFMAN                 KY          90013120482
29981AA913B347   EDUARDO       ESCOTO MONCIVAIS        CO          33021120091
299827A649184B   CHRISTOPHER   DAVIS                   OK          90011137064
2998288487B449   ROSE          WALKER                  NC          90006518848
29985A8A291592   ROBERTO       RODIGUEZ                TX          90005300802
29986373A51336   DERRICK       DAVIS                   OH          90014773730
2998686214B245   JALISA        WILLIAMS                NE          90012308621
2998796249184B   RAMONA        CHEZEM                  OK          90012989624
29987A62972B42   RENEE         STAPLETON               CO          90012870629
29987A7635B271   JESSICA       DAVIS                   KY          90011000763
2998838274B261   JULIA         BREKEL                  NE          27068373827
29988A2669155B   RICHARD       PONCE                   TX          75088380266
2998935165B271   JUSTIN        CHRISTMAN               KY          90015323516
29989414387B87   GABRIELLE     WHITMORE                AR          90011014143
2998B27617B386   JENNIFER      GREENFELD               VA          81035792761
2999141A44B25B   THOMAS J      YABLONSKI               NE          27074264104
2999156A491522   SEAN          GRAY                    TX          75070345604
29994161272B42   VERONICA      OROZCO                  CO          33010421612
29994588A72B29   MAYRA         BALTAZAR                CO          33074295880
299947A494B588   SKYLER        HENDERSON               OK          90012387049
2999482227B449   CECELIA       DONYEN                  NC          90002708222
29994A2375B271   LATRECE       WARE                    KY          90013980237
29995137A72B38   LAURA         LAMB                    CO          90006161370
2999558774B281   LUCIO         GUZMAN                  NE          27061305877
2999568539184B   YOLANDA       GALLEGOS                OK          90010826853
2999673687B471   LYNETTE       DIXON                   NC          11047237368
2999698A15B571   BRENDA        BLANDO                  NM          35050519801
2999719A931433   DEBRA         WOLFF                   MO          90010021909
2999855A372B42   TAMMY         BELLAMY                 CO          90012125503
299992A9191522   ANITA         ALVARADO                TX          90007372091
2999951339184B   VALERIE       JAMES                   OK          90014215133
29999A6664B588   ANDREA        PALOMO                  OK          90014520666
2999B62862B265   KEVIN         CURTIS                  DC          90012016286
2999BAA689189B   NICK          WASHINGTON              OK          90005310068
299B1126487B87   DOROTHEA      WILLIAMS                AR          23088461264
299B142339184B   ALTHEA        COMPHER                 OK          90014214233
299B155384B551   GREG          WENGER                  OK          21591495538
299B1814891528   SINDIA        TORRES                  TX          75081388148
299B28A715B271   KIM           YONS                    KY          90011088071
299B297975B271   DEANTE        CUMINGHAM               KY          90013269797
299B2A26255957   MALAYKHAM     VONGMANY                CA          48088020262
299B51A7151336   JACINTO       CHAVEZ                  OH          90012211071
299B5582891522   ESMERALDA     CONTRERAS               TX          75037525828
299B591327B471   KENNEDI       TERRELL                 NC          90004539132
299B662935B161   CLIFTON       CHARLES                 OK          90011206293
299B7154A7B449   SHENA         OSBORNE                 NC          90002031540
299B7258955957   VICTOR        GARCIA                  CA          90000872589
299B765A391592   JASON         GONZALEZ                TX          90004166503
299B7674731631   LEONARD       BAILEY JR               KS          90012796747
299B844357B449   DAGOBERIO     BANEGAS                 NC          90013924435
299B949124B588   JOHN          YOUNG                   OK          90005104912
299B9897787B87   BRIAN         SHANNON                 AR          90002468977
299BB34915B271   MONTESEA      MANNING                 KY          90009163491
299BB55164B588   YALONA        KING                    OK          90014015516
29B11868772B42   HANNAH        SUH                     CO          90012848687
29B11A6695B271   CHRISTINA     RHODES                  KY          90015320669
29B12667972B84   MIRNA         CALVA                   CO          90009636679
29B128A245B161   KIARA         MARSHAEL                AR          90001088024
29B131A9591522   FRANCISCO     CHAVEZ                  TX          75079201095
29B13651491953   WAN           PUIH                    NC          17014626514
29B13883584364   TERRENCE      DICKSON                 SC          90011288835
29B13892472B42   NICOLE        CAMPBELL                CO          33032748924
29B1418A39189B   DONNA         PLATT                   OK          90015051803
29B14836331453   EUGENE        CUFF                    MO          27544578363
29B15177191528   SONIA         GONZALEZ                TX          90005781771
29B15459351336   CHERYL        ACKERMANN               OH          90005764593
29B1565774B261   VEVE          ADANILENTE              NE          27059396577
29B15A18772B84   MARIAH        CASILLAS                CO          90008490187
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29B16564491522   MARIE       ORRICK                    TX          90014935644
29B169A5555957   MATT        JOHNSON                   CA          90012289055
29B16A52831631   TRACY       WILLIAMS                  KS          90014300528
29B17139A7B449   DORA        PINA                      NC          90013961390
29B17177191528   SONIA       GONZALEZ                  TX          90005781771
29B17188131631   JOHN        BIAGINI                   KS          22081411881
29B1771A991828   VICTOR      TORRES                    OK          90010507109
29B17988531448   JA'NET      MORGAN                    MO          27539849885
29B18116191241   PATRICK     MIKELL                    GA          14571521161
29B1822617B449   KENDRA      DIXON                     NC          90001642261
29B18495485949   NAKIESHA    TAYLOR                    KY          90015214954
29B1869A491953   ALBERTO     SANTOS                    NC          17081426904
29B18968491828   TAY         BREWER                    OK          90013399684
29B18A9295B356   MORGEN      STAR-BUHLER               OR          90002240929
29B1924949184B   MITCHELL    BOWEN                     OK          21038682494
29B1978424B588   BRIAN       HALE                      OK          90011557842
29B19A4177B449   BETTY       SIMPSON                   NC          90014610417
29B1B17119189B   MONIQUE     MOORE                     OK          90015051711
29B21491191522   CLEO        SAIZ                      TX          90013104911
29B2157315B161   KAMILANA    GAITHER                   AR          90012785731
29B21582651336   TRISHA      WILSON                    OH          66039525826
29B22168691953   STEPHEN     BELL                      NC          90012051686
29B2236899155B   ELIA        TRUJILLO                  TX          90015033689
29B22776991592   ERNESTO     CHAVIRA                   TX          90011577769
29B22A1454B588   XAVIER      GRAVES                    OK          90013790145
29B22A3947B449   ERICA       BURDINES                  NC          90014300394
29B2335499155B   EMA         ARMENTA                   TX          90006103549
29B23517751336   CHASIE      ROBINSON                  OH          90012885177
29B2373544B245   JANICE      BAUMGARTNER               NE          27036137354
29B23826291522   RUDY        M                         TX          90009528262
29B2398AA61995   SLOANE      GRAFT                     CA          46016989800
29B23A9269184B   YOLI        PAREDES                   OK          90006150926
29B2486444B245   DYCHELLE    GRIFFY                    NE          90013568644
29B2557315B161   KAMILANA    GAITHER                   AR          90012785731
29B25A43155957   CHERRI      WOOMMAVOVAH               CA          48006420431
29B25A4984B245   LISA        SKINNER                   NE          27071800498
29B2673395B571   RICKY       JIMENEZ                   NM          90010207339
29B26AA9A7B449   HLAT        ROMAH                     NC          90011940090
29B275A8A4B245   DAVID       JAIMES                    IA          27072555080
29B27725781633   RICKIE      MOORE                     MO          90015187257
29B27948781633   BALTAZAR    CALDERON                  MO          90010389487
29B28259391828   FLEETA      DAVIS                     OK          90009342593
29B2831584B588   MARK        WADZECK                   OK          90003753158
29B28575851328   HAROLD      SOUTHARD JR               OH          66013675758
29B29694651336   KERRIE      HANEY                     OH          90013316946
29B2B174587B87   MIGUEL      SANTOS                    AR          90014861745
29B2B46565B161   MARLON      RAGLIN                    AR          90014794656
29B2B52235B268   BRENDA      CRAIG                     KY          90007395223
29B2B676672B42   EMMA        LIMAS                     CO          33015656766
29B2B925655957   GREGORIO    SANTIAGO                  CA          90001319256
29B2BA9467B449   FRED        MOORE                     NC          90012860946
29B311A655B571   DESIREE     CHAVEZ                    NM          90007861065
29B31284231453   KALEB       BENARD                    MO          90015252842
29B3196244B588   LAKESHA     JACKSON                   OK          90013329624
29B31A99A71925   TIMOTHY     GARBISO                   CO          90006170990
29B3218953B333   BABARA      HANCOCK                   CO          90005111895
29B3235A431453   ROBERT      WEBB                      MO          90014443504
29B32554591592   DANIELLA    VALENZUELA                TX          90007935545
29B32566651336   MOHAMMED    ALI                       OH          90012655666
29B33928581633   SUSAN       SOTTORIVA                 MO          90001439285
29B33AAA57B449   JENNIFER    VICKS                     NC          90013930005
29B34317387B87   CANDICE     HENDERSON                 AR          90015113173
29B34362151351   JENNIFER    RUTH                      OH          90006453621
29B34524285875   ANDRES      SUAREZ                    CA          90012725242
29B34555891828   SAHER       ANWAR                     OK          90015015558
29B34823A91592   OMAR        MALDONADO                 TX          90015138230
29B3521A385822   MARITZA     PEREZ                     CA          90011962103
29B35478631631   DOUGLAS     MEYER                     KS          22092464786
29B3548A691953   ROBERTO     TORRES                    NC          17091294806
29B35495157128   JUAN        JIMENES                   VA          81025454951
29B354A1761921   ADELINE     JOHNSON                   CA          46086324017
29B3616157B449   DENISE      GRANT                     NC          11050721615
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29B36663487B87   CATHY        RICHARDSON               AR          23020116634
29B36682572B84   LANA CORIE   MEDINA                   CO          90002016825
29B37673651336   VIRGINIA     KEMPLIN                  OH          90006356736
29B38227391592   VERONICA     BUSTAMANTE               TX          90010812273
29B3833719184B   LEOBARDO     DIMAS                    OK          90012363371
29B3839234B281   LESLY        FLORES                   NE          90010113923
29B3844855B271   HATTIE       SMITH                    KY          90014134485
29B384A225B161   EBONI        JONES                    AR          90014154022
29B384A719155B   FLOR         PRIETO                   TX          75043394071
29B38745672B84   MANUEL       AGUAYO                   CO          33002487456
29B38869831453   MARCUS       WOODSON                  MO          90013898698
29B39128287B87   JACQUELYN    MCBRIDE                  AR          23009461282
29B3942994B261   CHARLEY      JACKSON                  NE          90012754299
29B39516972B42   BYRON        SOTOS CAMPOS             CO          90009005169
29B39631751328   ROY          DEATON                   OH          90014866317
29B3972939189B   CHRISTELLA   EDWARDS                  OK          90003277293
29B39A28455957   MELISSA      GONZALEZ                 CA          48052910284
29B3B15294B588   EDITH        HUMBERT                  OK          90014421529
29B3B1A1291522   LUIS         MARQUEZ                  TX          75087691012
29B3B956551331   JAMES        SHIRK                    OH          90013449565
29B41189731453   TAHWANA      PITTMAN                  MO          90009811897
29B41279A5B161   BRIAN        BROOKS                   AR          23017702790
29B416AA69155B   CORONADO     RITA CORONADO            TX          90005016006
29B4192575B271   VICTORIA     CARTER                   KY          90013579257
29B4212855B271   TYANN        NEBLETT                  KY          90014581285
29B4215734B261   MARIO        MORENO                   NE          90010911573
29B4229389184B   DILLON       KING                     OK          90011982938
29B4255A55B161   ARQUIS       JONES                    AR          90014795505
29B4287664B281   AMY          QUEEN                    NE          27051268766
29B42887691522   ANGEL        RIVERA                   TX          90013548876
29B429A799189B   ROBERTO      GONZALEZ                 OK          21062559079
29B431A3672B42   MARIA        CALZADA                  CO          90013691036
29B43749631277   BOYE         JEFF                     CA          20569137496
29B43972891522   MICHELLE     MADRID                   TX          75005029728
29B4448869184B   RAQUEL       LANE                     OK          90011074886
29B44676891828   JOE          MCNABB                   OK          21042576768
29B44A88481633   CHERYL       LUCKENBAUGH              MO          90010880884
29B4543469189B   SUSAN        TALLEY                   OK          90003274346
29B455A179184B   JOSE         MARTINEZ                 OK          90011075017
29B45685485955   JANICE       DURRAH                   KY          90006426854
29B457A5191592   YANET        RAMIREZ                  TX          90012927051
29B45969781633   ALFRED       WILLIAMS                 MO          90012719697
29B45A22751336   MATHEW       TRACE                    OH          90011900227
29B46762855977   YVONNE       LUNA                     CA          90005797628
29B46929172B42   IVONNE       COBOS                    CO          90011469291
29B469AA14B261   RUBEN        PALOS                    NE          90012999001
29B4724249189B   KARLY        MCDOWELL                 OK          90015052424
29B48199572B84   FERNANDO     FLORES                   CO          90007121995
29B48276887B87   DESMOND      JENKINS                  AR          23050092768
29B4846544B588   SHAWN        ALEXANDER                OK          90013894654
29B4949639189B   DAWN         HELTON                   OK          21087674963
29B4991599184B   KELLY        DON                      OK          90012269159
29B4B737A4B588   JENNIFER     WOOTEN                   OK          90006077370
29B5128114B588   MIRTA        GRAMAJO DE LEON          OK          21519692811
29B51A1879184B   TAMARA       KITTRELL                 OK          90014200187
29B51A53972B84   GLORIA       DELACRUZ                 CO          90002840539
29B51A6AA85822   GREG         LARSON                   CA          90001120600
29B5216814B261   DEJANIERA    RUCKER                   NE          27072281681
29B5279A74B543   BOBBIE       ANDERSON                 OK          90014407907
29B52891191953   FIDEL        RUIZ-SILVIA              NC          90012628911
29B53229A72B42   ESPERANZA    SANTILLON                CO          90011202290
29B5328597B449   SCOTT        SMITH                    NC          90013922859
29B535A6A72B84   JULIO        DE LA ROSA               CO          90011715060
29B536A9785822   CLINTON      GERSTENSLAGER            CA          46090346097
29B5433A24B281   DEBARA       KREEGER                  NE          27037043302
29B54441791528   CARMEN       SANCHEZ                  TX          75094574417
29B5447479189B   JULIO        ALVARADO                 OK          21009984747
29B5516325B571   DIANA        TORRES                   NM          90014251632
29B5525374B588   CHRISTINE    GRAYSON                  OK          90011192537
29B5526125B36B   SAMANTHA     HOBBINS                  OR          90010802612
29B55962451336   CLAUDETTE    HOWARD                   OH          90013139624
29B56186385822   IRENE        LANCASTER                CA          90008341863
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29B56252776B53   JAMES           LEUTH                 CA          90009572527
29B5639736B134   NORMAN          ARRINGTON             MS          90014593973
29B56523751336   CANDUS          WILLENBRINK           OH          90013045237
29B5666279155B   ALFREDO         REYES                 TX          90012726627
29B5729A44B281   SARA            SPINDLER              NE          90004372904
29B57415831631   AMAL            MEKAEIL               KS          90003824158
29B57485955957   JANET           ALAPISCO              CA          90013984859
29B58598391528   MAYRA           NEVAREZ               TX          75094055983
29B5873519155B   MARIA           FERNANDEZ             TX          90009807351
29B591A6172B42   SONYA           ORONA                 CO          90013881061
29B59542455957   BRENDA          MORALES               CA          48071495424
29B59598391528   MAYRA           NEVAREZ               TX          75094055983
29B5987A24B245   SARA            ORTEGA                NE          27060408702
29B5B22577B449   GUADALUPE       CORTEZ                NC          90013422257
29B5B262A7B449   NIKIA           THAMES                NC          11096442620
29B5B422355944   MARIA           CORIA                 CA          90014974223
29B5B618451328   JAIME           GREEN                 OH          90013266184
29B5B846781633   SHANTALLE       STEELE                MO          90007558467
29B5B862491592   JOANNA          LOPEZ                 TX          75091798624
29B5B94787B386   JOSE            A. GUERRA JR          VA          81091019478
29B612A6691828   RICHARD         STEINER               OK          90014522066
29B614AA551328   TRACI           RISNER                OH          66066914005
29B6166AA9155B   TERRY           FERNANDEZ             TX          75018816600
29B6226895B571   MOJGAN          SAADWAND              NM          90001322689
29B6243A931453   RYAN            YOUNG                 MO          90013624309
29B62645254185   MARINA          CARRION               OR          90006186452
29B6297A555957   JESUS           ACOSTA                CA          90002639705
29B63682381633   ALICE           HUMPHREY              MO          29001096823
29B6391465B135   PEGGY           NELSON                AR          90006079146
29B6441385B271   WILLIE          MCKINNION             KY          90003744138
29B6453695752B   ERIC            GARZA                 NM          90005375369
29B65574672B42   KARLA           RIVERA                CO          33050325746
29B66995A84364   JESSE           HALFHILL              SC          19043699950
29B6714517B449   RAUL            HERRERA               NC          90011451451
29B67333287B87   DEN             CLOUTIER              AR          90015113332
29B67334585822   MIKERU          TSUNODA               CA          90008343345
29B6815884B245   CHRIS           OCONNOR               NE          27016091588
29B6859AA4B588   TAYLOR          KRETCHMAR             OK          21501315900
29B68777661995   SANTOS          VARGAS                CA          90007857776
29B68845231453   SUNSHINE        RAYN                  MO          90003938452
29B695A9872B42   MARIA           PEREZ                 CO          90008355098
29B69A43972B21   GRISCELA        MARQUEZ               CO          90001670439
29B6B22147B471   ANNETTE         RATCHFORD             NC          11003932214
29B6B3A2672B84   MATTHEW         DESIMONE              CO          90012743026
29B6B674472B42   LEANNE          CARRENDER             CO          33051176744
29B72285931453   CRYSTAL         BROOKS                MO          90012402859
29B72575191953   AGUSTIN         CISNEROS-GONZALEZ     NC          90011475751
29B73689291592   ERIKA           AVINA                 TX          75084376892
29B73754685822   MANUEL          DIAZ                  CA          90004187546
29B73813A9155B   CHRIS ALBERTO   GARAY                 TX          90012178130
29B7384835B571   GYPSY           PURCELLA              NM          90014718483
29B73AAA655957   ADRIAN          PONCE                 CA          90013970006
29B7422825B271   ALBERTA         PEREZ                 KY          68013092282
29B7429249189B   CHRISTY         BEESLEY               OK          90015052924
29B74826791522   JUAN            PEREZ                 NM          75093838267
29B7529249189B   CHRISTY         BEESLEY               OK          90015052924
29B75294791241   TROI            KHAN                  GA          90003932947
29B76524187B87   CARNISHA        LEE                   AR          23054705241
29B76562351336   JOSUE           PABLO                 OH          90012445623
29B7674429155B   ROBERTO         GOMEZ                 TX          90014557442
29B76997891828   MICHAEL         RECORD                OK          90014379978
29B76A7675B571   DOLORES         VALLEJOS              NM          90012920767
29B7721285B257   APRIL           BROCK                 KY          90010452128
29B7726284B588   LEANDRA         PRICE                 OK          90014712628
29B77335891528   GRACIELA        VENEGAS               TX          75094063358
29B77A4563B333   NORMA           CABRERA               CO          90011490456
29B7859879184B   PEYTON          MASON                 OK          90011075987
29B78691184364   GUADALUPE       MACUIXTLE             SC          19005396911
29B7878425B271   CIERRIA         FARMER                KY          68077237842
29B7899769189B   STEPHANIE       POWELL                OK          90013029976
29B79155372B84   JESUS           FAVELA                CO          33097161553
29B7941A451336   TREVOR          ROBINSON              OH          90015584104
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29B79633685822   SOFIVA       POPAL                    CA          90006246336
29B79796187B87   BRANDON      WRIGHT                   AR          90014957961
29B7B55262B645   SCOTT        HALFHILL                 WA          90015275526
29B7B581A7B471   MANGUILA     SANCHEZ                  SC          90001855810
29B7B896151336   BELINDA      WASHINGTON               OH          66075068961
29B7B8A8131433   HARRIET      WILKS                    MO          27573668081
29B815A244B261   EVA          QUINTANIA                NE          90013935024
29B8192444B261   LISA         HALL                     NE          90004029244
29B8232A45B341   MISTY        UNDERWOOD                OR          44588603204
29B82848191828   KESELAR      MITCHELL                 OK          21020228481
29B83313691953   LEAH         NEWKIRK                  NC          90013963136
29B8343615B271   SHANNON      RAMSEY                   KY          90014234361
29B8361A92B242   DOUGLAS      CARTER                   DC          90002836109
29B83A87A51328   ALI          SHAH                     OH          90015290870
29B84147791828   RANDALL      LIGGINS                  OK          90011371477
29B84734381633   ROBERTA      BARR                     MO          90001277343
29B851A729184B   JAMES        EDWARDS                  OK          90006551072
29B85416972B84   JOSE         GALVAN                   CO          33056974169
29B8614325B161   DENOTRA      SPEED                    AR          90008111432
29B86539191592   VICTOR       LUNA                     TX          90013365391
29B867A5A9155B   BRYAN        ANDRADE                  TX          90011217050
29B86862481633   BOBBIE       SILLER                   MO          90009498624
29B873A959189B   VIRGIL       DAVIS                    OK          90015053095
29B8784969184B   SHREETA      BUYCKES                  OK          21008178496
29B87899291828   JUSTIN       BROWN                    OK          90010508992
29B878A6151336   MARK         HESS                     OH          66089248061
29B8831A39184B   DAMEYAN      LYONS                    OK          90012793103
29B88A64155957   GLORIA       DONEZ                    CA          48047590641
29B8971A64B588   JOSE         ONREAL                   OK          90013497106
29B8B175255957   TAMMY        GARRISON                 CA          90015121752
29B8B2AA887B87   NAKITA       MCLEMORE                 AR          23007272008
29B8B58A251328   ERICK M      BUMGARDNER               OH          90012695802
29B8B6A4876B62   NOEMI        RODRIGUEZ                CA          90006656048
29B8B89615B271   VICKIE       RUSHING                  KY          90007158961
29B8B91619155B   ELENA        GUILLEN                  TX          75086979161
29B91274491522   ROSA         MELENDEZ                 NM          90007342744
29B91493391592   IRMA         CHAVARRIA                TX          90002414933
29B91899831453   MISTI        COTTON                   MO          90014398998
29B9195AA5B375   ROBERT       FENNELL                  OR          90008749500
29B91A31831631   JOHN         OSLER                    KS          22086610318
29B92487881633   DAVID        SHULL                    MO          29037674878
29B92971131442   TAMI         GENTRY                   MO          90000909711
29B93366955957   SHANELL      HARRISON                 CA          90011993669
29B93445681633   GINA         HULSEY                   MO          90011944456
29B9356942B229   JESUS        SEGURA                   VA          90007395694
29B9414419155B   ROSA         CARRERA                  TX          75036861441
29B9424959184B   MICHAEL      ANTWINE                  OK          90014712495
29B9444755B571   ARMENDARIZ   THOMAS                   NM          90008184475
29B94789491592   NORMA        QUINATANA                TX          75032737894
29B94883491953   CHREL        MOORE                    NC          90010988834
29B95254291522   ISELA        GOMEZ                    TX          90014472542
29B95322981633   CHARLES      SCOTT                    MO          90015153229
29B954A795B571   JOEL         FERNANDEZ                NM          90004764079
29B95829291522   NOE          MENDOZA                  TX          75001898292
29B9586479155B   IRMA         CEBALLOS                 TX          75013818647
29B95A85591B38   JASON        HITCHCOCK-SIVAK          NC          90013790855
29B96416191828   SID          HADNOTT                  OK          21042554161
29B9645145B571   JOSHUA       HALLADAY                 NM          90008184514
29B9681487B449   TINA         JARRETT                  NC          90013918148
29B97295A9155B   ERICA        GRANADOS                 TX          90013412950
29B973A8791241   RENEE        PLUMMER                  GA          90009543087
29B9749457B449   ALTAVIA      BLAKENEY                 NC          11015114945
29B974A298B136   MIKKEL       ROSS                     UT          90000964029
29B97689597B41   ROBERTA      DINKEL                   CO          39014886895
29B98163A91828   MAYA         STEVENS                  OK          90013281630
29B98273372B42   JULIO        CARRILLO                 CO          90014942733
29B982A8A51336   ROGISTINE    WARD                     OH          90011872080
29B99A68551336   MELLISA      FLOYD                    OH          90010010685
29B9B126951328   ANTHONY      AMAND                    OH          90012161269
29B9B48A251336   STEVE        SMITH                    OH          90012174802
29B9B73869184B   CANDICE      COLBERT                  OK          90014917386
29BB152A391592   ALEJANDRA    HERNANDEZ                TX          90007935203
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29BB158224B588   ISRAEL       RUIZ                     OK          90001375822
29BB246889155B   IGNACIO      MUNIZ                    TX          90014244688
29BB295135B161   TOMMY        PUCKETT                  AR          90008469513
29BB316769184B   SHANTELL     MARCETTE                 OK          90004971676
29BB31A2791592   JESUS        CORRAL                   TX          75051171027
29BB3293351336   JUAN         ROSALES                  OH          90009452933
29BB3747191522   GABRIEL      VIRGEN                   TX          90008357471
29BB3949187B87   JENNIFER     SMITH                    AR          23091449491
29BB4521472B42   JOSE         VALENCIA                 CO          90007825214
29BB5782955957   MIGUEL       AVILA                    CA          90012307829
29BB57A469184B   PAYGO        IVR ACTIVATION           OK          90014787046
29BB6124124B43   JOBEL        LOPEZ                    DC          81017531241
29BB6166381633   JESSICA      SLATES                   MO          90014631663
29BB627627B449   BESSY        MIRANDA                  NC          90013922762
29BB649285B271   BROOKE       FAVORS                   KY          90014824928
29BB664839155B   RAMON        AVILA                    TX          90010496483
29BB6863491828   ASHLEY       PATTOM                   OK          21086798634
29BB7572872B42   ANGELINA     FRAIRE                   CO          33092325728
29BB76A2951336   PATRICK      HARPEN                   OH          90010806029
29BB844325B161   REGINALD     WILLIAMSON               AR          90014794432
29BB8715891828   RACHEL       YOUNG                    OK          90008587158
29BB879775B271   JENNIFER     REEVES                   KY          90015307977
29BB8856431453   ALEX         GUTIERREZ                MO          90009938564
29BB8A14331485   YIN          HTUN                     MO          27595670143
29BB9133772B84   JAIME        ARMENTA                  CO          33050181337
29BB923525B271   AMANDA       ENGLAND                  KY          90011122352
29BB936514B588   DEANNA       JONES                    OK          21585513651
29BB945A54B281   DESIREE      BYRD                     NE          90008074505
29BBB99499189B   DAVID        DAVIS                    OK          90009859949
2B11117737B471   JARION       STRAITE                  NC          90013551773
2B111275771948   SHAMICA      GOOLSBY                  CO          90006252757
2B11137512B892   JOHN         BURTCHETT                ID          90003013751
2B111697172B38   DEBORAH      EDWARDS                  CO          90000846971
2B111751691522   ROSA         RUVALCABA                TX          90014397516
2B111883674B79   TENYSHA      VAUGHAN                  PA          90008838836
2B11199A655957   HARLEY       DAVIDSONS                CA          90009519906
2B111A98251343   MONET        BANKS                    OH          90011260982
2B112189A84364   CELIA        TORRES                   SC          90013921890
2B112334172B98   KESUAN       PREVOT                   CO          90012113341
2B112344874B79   TYLER        KNOX                     PA          90013743448
2B112471A91592   JONATHAN     FLORES                   TX          90012474710
2B11247812B892   DEBI         RUHE                     ID          90010004781
2B112556831453   RICK         MILLER                   MO          90015305568
2B11279378B334   BRITTANY     FRAZIER                  SC          90014357937
2B11293624B588   ELVETTER     EALOM                    OK          90012229362
2B112965655957   AUDREYANNA   VAZQUEZ                  CA          90014359656
2B112A4A571948   AVENCIO      CARDENAS                 CO          90004170405
2B11317412B27B   AYANNA       FLOWERS                  DC          81053691741
2B1131A5651343   JAMES        MASON                    OH          90011261056
2B113329884364   CANDELARIO   LUNA MOLINA              SC          90012693298
2B113349942336   JENNIFER     CALHOON                  TN          90013563499
2B113669191828   JERMEA       VANN                     OK          90008826691
2B11382655B271   TONISHA      FIELDS                   KY          68011938265
2B11418544B261   ERIN         BROWN                    NE          90011971854
2B114187691522   NORA         SEVILLANO                TX          90010331876
2B114236781637   DEVIN        HAWKER                   MO          90013542367
2B114935A74B79   NANCY        PUGLIESE                 PA          51005799350
2B11517814B245   JOE          PIRSON                   NE          27000921781
2B11531467B449   CAROL        STEELE                   NC          11060993146
2B115668555941   TINA         HERNANDEZ                CA          90006976685
2B115673557157   ISAIAH       KANNAMORE                VA          90013566735
2B115A6174B588   SANDRA       HAYS                     OK          90010430617
2B11613A14B588   DONNA        GRAHAM                   OK          90004951301
2B11619592B892   SARAI JEAN   PETERSON                 ID          90012001959
2B116359885965   JOHN         DOE                      OH          90003623598
2B11637A58B334   KEITH        TAYLOR                   NC          90013213705
2B1163A1785965   JODI         FUHRMAN                  KY          90013553017
2B116625584364   OLIVIA       WASHINGTON               SC          90001286255
2B116753971948   MARVIN       GAITHER                  CO          90014177539
2B1172A6393773   CANDY        JOHNSON                  OH          64554572063
2B117513351343   KRISSHON     MARTIN                   OH          66040305133
2B11758774B281   LUCIO        GUZMAN                   NE          27061305877
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1485 of 2500


2B1178A9185938   MARILYN     LAKES                     KY          90008958091
2B11837A78B17B   GRANT       ANDERSON                  UT          31013943707
2B1183A8291251   DEANNA      MORENO                    GA          90001913082
2B118533591828   CECIL       CREAMER                   OK          90004145335
2B118634191541   BERNALL     RICARDO                   TX          90003676341
2B118672287B21   AMBER       NUNN                      AR          90014226722
2B118A54481446   LINDSAY     HANSEN                    PA          90013870544
2B119437631631   ASHLEY      JACKSON                   KS          90010784376
2B11989274B28B   KERRY       GARTNER                   NE          90010718927
2B11993877B471   ALBERTO     SALGADO                   NC          11046099387
2B119A43361967   SUMMER      PASHBY                    CA          90002590433
2B119A67274B79   GUY         THOMAS                    OH          90013950672
2B11B14272B232   GENI        RUIZ                      VA          90003141427
2B11B21822B839   JASON       PLUGER                    ID          90014782182
2B11B43A274B79   NANCY       HARNER                    OH          90014214302
2B11B485257157   PEDRO       ALVAREZ                   VA          81021734852
2B11B732172B98   JOSE        DEL TORO                  CO          33012567321
2B11B77484B245   ARVIE       COLLINS                   NE          90005317748
2B11B983351343   HOZAY       CLOROS                    OH          90008099833
2B121222172421   KRISTINA    KELLER                    PA          90013382221
2B121377391828   REBECCA     MERRITT                   OK          90013003773
2B12148225B271   JENNIFER    WINDELL                   KY          90013264822
2B121549191522   STEPHANIE   REYES                     TX          90010635491
2B1215AA75B167   CAMERON     MCGEE                     AR          90014375007
2B121957455957   PRISCILA    BUITIMEA                  CA          90012419574
2B1219A1291241   DUSTIN      DOWNARD                   GA          90013129012
2B122189984364   JEOVANI     GONZALEZ                  SC          90003971899
2B12224852B839   KERRY       RENARD                    ID          90013942485
2B12241A49189B   RACHELL     DOWNS                     OK          90014344104
2B122544472421   LAYLA       FRANCO                    PA          90005345444
2B122569155941   RICHARD     HILL                      CA          49068205691
2B12275863147B   CLOTEL      MEANS                     MO          90011417586
2B122963A5B161   MARY        LYONS                     AR          23023569630
2B12319888B334   SGAYLA      WILLIAMS                  NC          90011091988
2B123525985965   LOREN       SHOEMAKER                 KY          66081245259
2B12395567B449   REYNO       LEOCADIO                  NC          11013719556
2B1239AA985938   LUIS        ANDRADE                   KY          90014109009
2B12456A485938   MICHELLE    LOGAN                     KY          90015455604
2B12535A387B59   MARCIE      MARTIN                    AR          90010613503
2B12589415B271   ROSS        LAZROVITCH                KY          90013368941
2B12592215B161   BRENDA      OWENS                     AR          23097449221
2B125A32493742   RHONDA      ANDERSON                  OH          64513440324
2B12633435B271   MARK        GARBER                    KY          90010593343
2B126464272B98   DONALD      HARVEY                    CO          33039934642
2B1264A2291541   BIANCA      LOZANO                    TX          90013284022
2B12671782B839   CATHERINE   KENT                      ID          90014627178
2B126A9657B471   ESMERALDA   ZRUZ                      NC          90009480965
2B127246581637   JANUARY     SCOTT                     KS          90014272465
2B12752645B161   BOBBY       PARKER                    AR          23080325264
2B12758564B281   DAMARIS     RODRIGUEZ                 NE          90013025856
2B127644685988   COURTNEY    SCOTT                     KY          90015516446
2B12767899189B   CHRIS       ANDERSON                  OK          90014666789
2B127694951343   JULIAN      ROBINSON                  OH          90013306949
2B1277A9A71948   TONY        CISNEROS                  CO          32011417090
2B12787249794B   BELINDA     THOMAS                    TX          90007378724
2B1281A777B699   LAKEISHA    MILES                     AL          15008771077
2B12825AA91592   MARIA       RAMOS                     TX          75013392500
2B128416884364   LATAYA      CARTER                    SC          90014444168
2B129211591592   GLORIA      MARCO                     TX          90010502115
2B12925A72B839   RICK        FOX                       ID          42095412507
2B12966339794B   JUAN        GONZALES                  TX          74088616633
2B12B144391522   ROSA        CARRASCO                  TX          75096651443
2B12B52717B471   CARLOS      ORTIZ                     NC          90013115271
2B12B65749189B   ANNA        DARR                      OK          90012646574
2B12B69258B334   JESSICA     PLESSNER                  NC          11069676925
2B12B863155957   ISSAC       KLOSTER                   CA          90012278631
2B12B999681661   NORMA       RENTERIA                  KS          90010179996
2B1315A477B449   LINDA       STONE                     NC          11006335047
2B131741531453   SIERRA      WALKER                    MO          90013127415
2B13193A684364   ANTWAN      BROWN                     SC          90014599306
2B13244768B334   ALEXIS      MILLER                    NC          90014674476
2B13248695B167   ALEX        ARNOVICH                  AR          90013354869
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2B13249425715B   CALDERON      TOSATADO                VA          90004594942
2B132749972421   LACSEY        MOWRY                   PA          90013047499
2B132A89891541   ALEXIS        CASTEAL                 TX          90013760898
2B13316595B167   ERNESTO       VELASCO                 AR          90014591659
2B13324714B281   YOLANDA       YATES                   NE          90012522471
2B13325562B839   CHRIS         BLETHEN                 ID          90013942556
2B133458447952   WENDY         ROGERS                  AR          24029234584
2B133856251343   ARRICK        COLEMAN                 OH          90014108562
2B134749972421   LACSEY        MOWRY                   PA          90013047499
2B1347A2455957   ALFRED        TAMALLO                 CA          90009767024
2B1347A5A31453   SHAWN         EDWARDS                 MO          27511727050
2B134821147952   LARISSA       FLANAGAN                AR          90006768211
2B134895857157   TAESHON       AGEE                    VA          90014718958
2B134A33385988   CHANDA        VASQUEZ                 KY          90007480333
2B135222A4B281   BRAD          WRIGHT                  NE          90015142220
2B135477A91592   ARMANDO       RUIZ                    TX          75000924770
2B135625A85988   ANNETT        BARCELLES               KY          90015426250
2B135672281637   MANEIK        DOOLEY                  MO          90013236722
2B135A3725B167   ALANNA        NIGHSWONGER             AR          90013460372
2B136148291522   PATRICIA      KENNEDY                 TX          90008091482
2B13629A551343   MICHAEL       LINDSLEY                OH          90013652905
2B136552172B42   SHANTEL       QUINTANA                CO          33087695521
2B13657A257157   FAUSTINO      PENA                    VA          90012505702
2B13659817B699   AKESHIA       WILLIS                  GA          15014695981
2B136612131433   HOWARD        HAYDEN                  MO          27509686121
2B136A51791528   GUADALUPE     ARRAS                   TX          75048290517
2B136AA598B334   PEDRO         LUNA MENDOZA            SC          90015300059
2B137378184364   AMY           RICHARDS                SC          19040053781
2B137522391522   PIMENTAL      GRACIELA                TX          90005715223
2B137689491541   ISHA          LOPEZ                   TX          90013656894
2B13768A455957   BLANCA        BRITO                   CA          90011476804
2B137721755936   FELIPE        VAZQUEZ                 CA          90002397217
2B13786693147B   JACKQUELINE   OWENS                   MO          90002278669
2B138263185938   RODRIGO       HERNANDEZ               KY          90010912631
2B138284581661   NANCY         MORRIS                  MO          29067372845
2B13831642B94B   ALFREDO       QUINTERO                CA          90012703164
2B138436151343   EMILY         DIXON                   OH          90013084361
2B138647591885   MICHAEL       DENNEY                  OK          90011116475
2B138A84455941   DANNY         MARTINEZ                CA          90014850844
2B138A8639189B   DAVID         HAYES                   OK          90011220863
2B13914935B167   LORRIES       BARNETT                 AR          90011321493
2B13944464B245   MICHAELA      MURPHY                  NE          27027704446
2B1395A3172B98   PAUL          GRIESS                  CO          33046645031
2B13968174B281   KEVIN         HERNANDEZ               IA          90014166817
2B139A9845715B   MILTON        CALLEJAS                VA          90006540984
2B13B2A544B588   MARCO         VALDEZ                  OK          90008012054
2B13B63685B271   JENNA         KEELING                 KY          90015266368
2B13B83995715B   HART          WILLIAM                 VA          90011678399
2B13B918441245   KATHRYN       SIMS                    PA          51037669184
2B13B9A1957157   JOSE          MARQUEZ                 VA          90014419019
2B13B9A9372421   ASHLEY        GRIFFIN                 PA          90014559093
2B13BA4A991592   MONICA        LEMUS                   TX          90004950409
2B141228391541   ESMERALDA     MENDOZA                 TX          90009742283
2B14132A947952   BARBARA       MOORE                   AR          90013543209
2B141521855941   SABRINA       OSUNA                   CA          90013195218
2B14171A99189B   VICTOR        TORRES                  OK          90010507109
2B14179115B271   GABRIEL       VAZQUEZ                 KY          90009047911
2B141988572421   JUSTIN        BARTLETT                PA          90013049885
2B14223A241365   TIFFANY       WINTERS                 MA          90015352302
2B142262691522   DARRYL        BURFORD                 TX          90011382626
2B14226368B17B   LEVI          COLLINS                 UT          90007292636
2B142521487B21   TONNOR        FRAZIER                 AR          90015395214
2B142699A7B449   SHONDA        STRAITE                 NC          11052576990
2B142713884364   CHARLES       AHERN                   SC          90014897138
2B143184647952   JENNIFER      GRIFFIN                 AR          90014041846
2B1432A7557157   JOCK          BROWN                   VA          81072512075
2B143853191541   ANA           HERNANDEZ               TX          90012938531
2B144461671948   MICHAEL       ELLIS                   CO          90014164616
2B1444A9957157   ERIKA         IBANEZ                  VA          90006364099
2B14474A19184B   DAJAUNNA      MOORE                   OK          21019027401
2B144759A5B167   PATRICK       NORRIS                  AR          23088927590
2B14494594795B   FREEDOM       CASEBOLT                AR          25013089459
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2B14526A184364   ALAN                BARNWELL          SC          90009172601
2B14541622B839   THERESA             GOIN              ID          42088734162
2B14544142B264   DAMARIS             WARREN            DC          90011134414
2B14564159794B   AMANDA              FLOWERS           TX          90014666415
2B145661191592   RAMIRO              GONZALEZ          TX          75019026611
2B145A8322B229   FREDDIE L.          HALL JR.          DC          81017350832
2B14643822B892   JEFF                BENOIT            ID          90012694382
2B14664435B167   MICHELE             LIGHT             AR          90014606443
2B146A29885988   PAYGO               IVR ACTIVATION    KY          90009630298
2B147141272421   KENNETH             HARRIS            PA          90014741412
2B147141972B42   DAVID               ANDERSON          CO          90014701419
2B147423872B42   REBEKAH             CARPENTER         CO          90008694238
2B147453372B98   AFEWORKI            TEKLE             CO          90014184533
2B147467155957   LAURA               ASHLEY            CA          48084684671
2B147561487B59   AYLA                PERKINS           AR          23049985614
2B1475A3951343   ERICA               CAUTHEN           OH          90009895039
2B147885985938   CARLA               SMALL             KY          90002528859
2B147A49685965   RUSSELL             VANCE             KY          90013660496
2B148457A22971   SANTOS              JIMENEZ LOPEZ     GA          90015494570
2B148667891828   WILLIAM             HARRIS            OK          90001306678
2B148815441245   TRACEYLYNN          ALCANTERA         PA          51044538154
2B148915572B98   MARGARITA           CAMPOS            CO          33087119155
2B1491A9372B42   JENNIFER            ZIMMER            CO          33030831093
2B149258891828   CRYSTAL             GODWIN            OK          21081382588
2B1494A715B167   ROSALYND            GILBERT           AR          23013834071
2B1496A8691541   GRACIELA            GARCIA            TX          90004786086
2B14982514B245   COLLEEN M           HUG               NE          27030138251
2B14B174457157   CHRISTINA           HUGHES            VA          90014711744
2B14B299424B55   IRENE               WILLIS            DC          90012272994
2B14B2A2387B87   BERRY               RICE JR.          AR          23065272023
2B14B44154B588   MICHAEL             WYATT             OK          90012994415
2B14B451371948   JERY                VOGT              CO          90014164513
2B14B451A57157   JOSE                SORTO             VA          90010454510
2B14B48338B334   TONI                GLADDEN           SC          90014794833
2B14B787555957   RAUL                GONZALES          CA          90014787875
2B151235A8B17B   LUIS                GUTIERREZ         UT          31021212350
2B151613231631   CURTISS             HOWARD            KS          90013096132
2B151933985965   CRYSTAL             BRITTON           KY          90003289339
2B152143A5715B   MARYAN-RUNN AHMED   SHARIF-GURE       VA          90013751430
2B15225942B839   RICHINA             DAVIS             ID          90013942594
2B15286765B571   JOSE                LOZANO            NM          90007168676
2B152A35972B98   CESAR               ORTIZ             CO          90015140359
2B153349994954   GABRIELLE           TANCIK            CA          90015243499
2B153821157157   TORI                SHAW              VA          90010818211
2B153929A5B167   ALANDA              CATES             AR          90011059290
2B154139255941   GABRIEL             LOPEZ             CA          90007861392
2B154197881637   SHARON              LINDSAY           MO          90014111978
2B15425525715B   IBETH MABEL         IRAHETA           VA          90015182552
2B154273885938   DERRICK             MILLER            KY          67007072738
2B15479458B334   ERNESTO             PEREZ             NC          11053497945
2B154847572B98   ANNABELE            NUNEZ             CO          33010178475
2B15513844B588   TIFFANY             CALDWELL          OK          90012741384
2B155536885938   CARMEN              HAFLEY            KY          90014715368
2B155696187B21   TAMMIE              KEELING           AR          90014016961
2B155AA1A41245   JOANNA              MOORE             PA          90012720010
2B15643878B334   ONIQUA              CHISOLM           NC          90013384387
2B15651149794B   JUAN                AGUIRRE           TX          74053535114
2B156566A31631   JASON               PHILLIPS          KS          90012225660
2B1565A5191522   ALEJANDRA           VELSAZCO          TX          90002685051
2B156A5A551343   MARIANO             DELRIO            OH          90011500505
2B157259A4B588   MONICA              DUDLEY            OK          90014582590
2B157265591592   YESENIA             GARCIA            TX          90014032655
2B15726614B281   JEFFREY             WILLIAMS          NE          90006272661
2B157462372B98   BRUNO               CHAVEZ            CO          90014184623
2B15833A687B87   BRITTANEY           DOOLITTLE         AR          90015263306
2B15871689189B   MARILU              LAZALDE           OK          90014667168
2B158A1985B531   GLORIA              LUCERO            NM          35069190198
2B158A2279794B   CEFERINO            AGUILAR           TX          74006020227
2B158A33385965   CARIE               BELL              KY          90006830333
2B158A89A91241   JAMALL              GREEN             GA          90014710890
2B15911AA4B281   ABEL                ALEXANDER         NE          90006801100
2B159187581661   LANETTE             JACKSON           MO          90011191875
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2B159316191592   OSCAR         ORTEGA                  NM          75095533161
2B159492484364   LATISHA       SHARPE                  SC          90013314924
2B15971799189B   LATRYCE       BRUNSON                 OK          90014667179
2B15993195B271   RON           BARAS                   KY          90013849319
2B159949247952   HIRAM         MORAN                   AR          90015609492
2B15B26444B261   COLTON        BENSON                  IA          90013832644
2B15B567672421   MICHAEL       WISOILI                 PA          90014225676
2B15B698287B21   RENEE         INGRAM                  AR          90011186982
2B15B941685938   FRANCK        MOUITHYS                KY          90007379416
2B15B944A87B87   AISHA         HENRY                   AR          23031479440
2B16126639189B   DALE          CULPEPPER               OK          90010152663
2B161329971948   BYRON         HARDAWAY                CO          90007423299
2B16136114B245   ANTHONY       TAMAYO                  IA          90002643611
2B161559791241   JOSE          NACHES                  GA          90015055597
2B161781A72B98   JESUS         RODRIGUES MUNEZ         CO          90001937810
2B16217659189B   GABRIELA      RODRIGUEZ               OK          90011221765
2B162661891828   MICHEAL       ADKISM                  OK          90009386618
2B163212172B98   RODOLFO       CHACON                  CO          33096362121
2B163319285988   TAMATHA       WILLOUGHBY              KY          90014163192
2B16357187B699   TAMISHIWA     KING                    GA          15083775718
2B1635A944B245   RICHARD       HENNINGS                NE          90000295094
2B16369944B588   MICHAEL       CASTEEL                 OK          90002696994
2B163816A5B167   PAYGO         IVR ACTIVATION          AR          90012678160
2B163856671948   CHRISTOPHER   ROBERTSON               CO          90014498566
2B163958187B87   RICHARD       WILLIAMS                AR          23088519581
2B163991791528   VICTOR        AVILA                   TX          75092229917
2B16417879189B   SABRINA       ARAIZA                  OK          90011221787
2B1646AAA91528   SABINO        SALAS                   TX          75003916000
2B16488367B471   LESHAUNDRA    SHERROD                 NC          90013098836
2B16493912B892   ANGELIQUE     DAUENHAUER              ID          90000299391
2B164974272B98   JEREMIAH      VAN HORN                CO          90012699742
2B164A3375715B   ROSA A.       REVELO                  VA          81019430337
2B165139A72421   BRIAN         UPDEGRAFF               PA          90008641390
2B165167585965   SHONA         SPENCE                  KY          90005661675
2B16518355B161   KRISHONDA     ROSS                    AR          90002791835
2B165616391592   MANNY         TERRAZAS                TX          90012716163
2B165947647952   JUANA         JAIME                   AR          24090769476
2B166165A85965   FLORENCE      LANDRUM                 KY          66068071650
2B16618355B161   KRISHONDA     ROSS                    AR          90002791835
2B16619A651343   ISSELMOU      FALL                    OH          90013951906
2B16624A98B17B   ARTURO        CABELLO                 UT          31002202409
2B16651282B892   DELAYNNE      ADAMS                   ID          90003195128
2B166546791241   JAMESHA       NORMAN                  GA          90014635467
2B166614455941   YOLANDA       MENDOZA                 CA          49036736144
2B166833191592   FELIPA        WOOD                    TX          90013238331
2B166A54191522   JAVIER        VALENZUEL               TX          90013360541
2B167165A85965   FLORENCE      LANDRUM                 KY          66068071650
2B1671A1991541   HECTOR        ZUNIGA                  NM          90009801019
2B167463587B59   LESTER        YOUNG                   AR          90010934635
2B16772187B449   SHERYL        MASSEY                  NC          90014807218
2B16815AA71948   LASHAUNA      JONES                   CO          32013811500
2B168215757157   ELIZABETH     MENDOZA                 VA          90007552157
2B168663A51343   PAUL          DANIELS                 OH          90013096630
2B16882732B975   ROSY          CHAVEZ                  CA          90012148273
2B168AA857B471   CARMEN        MERINO                  NC          11011390085
2B169143A7B699   RAMIRO        MORALES                 GA          15038621430
2B169188531453   CHRISTOPHER   CONLEE                  MO          90013191885
2B169192351343   SHEILA        SUDBERRY                OH          90013951923
2B169371685938   HECTOR        GONZALEZ                KY          90012973716
2B1696A8A4B281   LUZ           MONARREZ                NE          27083826080
2B1697A5371948   JERRY         HARRIS                  CO          90011547053
2B169839291592   JIMMIE        KETCHAM                 TX          75050958392
2B16992134B261   SCOTT         BUTLER                  IA          90014309213
2B169A17387B59   ALCORTA       RICHARD                 AR          90014520173
2B16B452987B59   BRANDY        SLOAN                   AR          23024514529
2B16B89A731453   CIARA         BASKIN                  MO          90008498907
2B16B98332B839   TYLER         MILLER                  ID          90003269833
2B16BA63872B98   ANGEL         SANCHEZ                 CO          90013000638
2B171442181661   JESSICA       WASHAM                  MO          90012664421
2B171467A72B98   TSRRAELA      VELASQUEZ               CO          90014184670
2B17161A931433   GLEN          BRYANT                  MO          90003836109
2B17166412B839   GALI          AGILUR                  ID          90000546641
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2B17217865B271   MELANIE        NEHMZOW                KY          90011101786
2B172585291541   ALICIA         CORDOVA                TX          90009605852
2B17263869794B   LUIS           VASQUEZ                TX          90013826386
2B172916272B98   GUILLERMO      CASTRO                 CO          90000889162
2B172A6A155941   HEATHER        WALSH                  CA          49086230601
2B172A6A491522   ADRIAN         NUNEZ                  TX          90008120604
2B172A97691592   FELIPE         GONZALEZ               TX          90010860976
2B1732A679189B   PATRICK        ARMSTRONG              OK          90011222067
2B1733A2374B79   ROBBY          DOERR                  PA          90013653023
2B173781281637   ED             BROWN                  MO          90008507812
2B173832191592   ARACELLI       TORRES                 TX          75009328321
2B17386855B167   TODD           SEGER                  AR          90014458685
2B173A27472B98   JOSE           BARBA                  CO          33047190274
2B17539995B271   BIRKHA         GURUNG                 KY          90012073999
2B175958787B59   DELLA          DAVIS                  AR          23056999587
2B175A52991592   CLAUDIA        GARCIA                 TX          90013660529
2B176256384364   ROSANNA        TRACY                  SC          19026332563
2B176444171948   CINDY          THOMPSON               CO          32006574441
2B176592A7B449   SHELBY         SANDERS                NC          90014815920
2B17676117B471   DOMITLA CRUZ   JIMENEZ                NC          90012437611
2B176893731492   JAMI           OVERY                  MO          90002318937
2B176A2A45B167   ANDREA         BLY                    AR          90010670204
2B176A78691592   DOMINICK       TURNSIPSEED            TX          90014260786
2B177365551343   LESLIE         JOHNSON                OH          66062063655
2B177592A7B449   SHELBY         SANDERS                NC          90014815920
2B177647A31453   BRANDON        CANNON                 MO          90015126470
2B17789974B281   VICENTE        FOX                    NE          90013398997
2B178292657531   CONSTANCE      YOUNG                  NM          90012642926
2B178386A87B21   DERRY          TEARSON                AR          90013993860
2B178465557157   VIRGINIA       PAUCCAR                VA          90014854655
2B178653955957   GEORGE         CASARES                CA          90011966539
2B178864572B98   MA DEL ROCIO   GUTIERREZ-DAMIAN       CO          90012668645
2B179323A72421   TAD            SCHAEFFER              PA          90014493230
2B17952517B449   LAISHAH        GLOVER                 NC          11070855251
2B179789A85938   RAUDALL        PERRY                  KY          90012487890
2B17991A185955   CAROL          ALLEN                  KY          90000339101
2B179A9712B892   WINDELL        JACKSON                ID          42010960971
2B17B15A287B21   MATTHEW        BARNETT                AR          28006241502
2B17B64722B839   DEBORAH        LADUKE                 ID          42039126472
2B17B745972B98   MARNIE         ANDERSON               CO          33073817459
2B17B848384364   VERA           NELSON                 SC          90013848483
2B17B922891241   JOANNA         MCGRAW                 GA          14505869228
2B18124544B588   CHRISTEN       CRAWFORD               OK          90012672454
2B18131445B531   FELICIA        PADILLA                NM          35066833144
2B181433A4795B   STEPHANIE      BURNS                  AR          90001574330
2B18143872B892   TREVA          NAVARRETE              ID          90009294387
2B18174627B449   KAVON          GREEN                  NC          90014807462
2B182318A84364   TENITA         FLOYD                  SC          90011383180
2B182337931453   BRADLEY        WORSHAM                MO          90012703379
2B182468287B21   BRENDA         KEIR                   AR          90015504682
2B182A7314B588   LISA           KENNEDY                OK          21578730731
2B18336419794B   TAHANNA        PHORN                  TX          90015103641
2B183522555941   DIANE          MYRICH                 CA          90013195225
2B183934372B42   CARLOS         OROZCO                 CO          90012639343
2B183A12241245   DENISE         LYNCH                  PA          51054000122
2B184176193773   JOHN           WHITT                  OH          64585151761
2B184219187B21   CAROLYN        SHANDS                 AR          90015232191
2B184522A51343   ASHLY          MALOTT                 OH          90010385220
2B184865255957   VINA           WHEAT                  CA          48037918652
2B184A69885988   ROY RAY        TERRY                  KY          90000620698
2B185114A85965   MICHELLE       PENICK                 KY          90012721140
2B185329A91592   SYLVIA         SAENZ                  TX          90010233290
2B185339891541   ZAARETH JU     SALVADOR-SOLANO        TX          75032083398
2B185421191592   ANTONIA        ORTIZ                  TX          75059724211
2B1855A4671948   KRYSTAL        JAVIER                 CO          90014165046
2B18589518B188   REBECCA        KRUEGER                UT          90007308951
2B185929491528   RAQUEL         MURGA                  TX          90003339294
2B186276157157   TWUMMAA        OFEI                   VA          90011402761
2B186436474B79   LISA           POULIN                 OH          51090944364
2B1866A8772421   TOM            BRADY                  PA          90010406087
2B186858685938   YAMINI         RAY                    KY          90010508586
2B186A4468B334   SALVADOR       LOPEZ LOPEZ            NC          11070760446
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2B1873A675B271   RYAN         JONES                    KY          90014153067
2B187487881637   KARA         H                        MO          90014824878
2B18757618B188   VERONICA     MARTINEZ                 UT          90000195761
2B187721355957   JUDITH       FLETCHER                 CA          48085647213
2B18788849189B   MARCO        DIAZ                     OK          90011958884
2B187892687B59   MICHEAL      SCOTT                    AR          90006738926
2B18792342B892   SHIRLEY      GRAY                     ID          42014209234
2B18798AA51343   AUBRE        WEATHERSBY               OH          90008859800
2B188128A4B261   NIKKI        BRYSON                   NE          27065721280
2B1886A3251343   RUTH         BRAZEAL                  OH          66048326032
2B188991484364   BRITTANY     JONES                    SC          90015259914
2B188A8A55B167   MUVEDEMO     ID COMPLETE WIRELESS     AR          90003110805
2B189173A91251   SEVERINO     HERNANDEZ                GA          14503981730
2B189281757172   MICHAEL      MUNDELL                  VA          90003372817
2B18943A35B571   RALPH        ARCHULETA                NM          90007314303
2B189729774B79   BYRON        SEGLE                    OH          51083797297
2B18B27A791397   JUANA        GARCIA                   KS          90006482707
2B18B3A722B892   GERMAN       DE LACRUZ                ID          90013033072
2B18B581191397   MONTSERRAT   PEREA                    KS          90013115811
2B18B94975B167   MONICA       TURNER                   AR          90011349497
2B18BA69885988   ROY RAY      TERRY                    KY          90000620698
2B18BA81287B59   MARANDA      ALFORD                   AR          90013780812
2B19153559794B   GABRIEL      CARRASCO                 TX          74028395355
2B191642972421   STEVE        BRZEZINSKI               PA          90008106429
2B19213594B588   RICHARD      MARSHALL II              OK          90015171359
2B1921A2391522   GLORIA       RODRIGUEZ                TX          75017511023
2B192211A2B892   TERESA       WEST                     ID          90007762110
2B192A76271948   MANUEL       THAYNE                   CO          32012680762
2B19319124B281   JAMES        SEVERA                   NE          27007131912
2B19326699189B   LATOYA       ROWE                     OK          90011222669
2B193493A5B161   CLEASTER     DAVIS                    AR          23004714930
2B19362462B839   JOSE         CHI CORDERO              ID          90015216246
2B193861572B98   LANI         ANDERSON                 CO          33085228615
2B19393A585988   BREE'ANA     THOMAS                   KY          67015869305
2B193989A55941   DEMETREAL    EDWARDS                  CA          90006029890
2B194421A93773   DEBRA        FARRIS                   OH          90009864210
2B19445779189B   GUANEKA      WILLIAMS                 OK          21089944577
2B194472172B98   THEODORIC    SHERWIN                  CO          90014184721
2B194565274B79   SAMANTHA     ASBURY                   PA          90013065652
2B194636757157   JUAN         BONILLA                  VA          90013986367
2B19491585B167   SAM          NORRIS                   AR          23019219158
2B194A2765B161   KAREN        JOHNSON                  AR          90013340276
2B195286491522   ARTURO       LARA                     TX          90014202864
2B19551215B936   AMIE         GENTRY                   ID          41015765121
2B19556595B571   SANDRA       CHAPARRO                 NM          35006585659
2B195654A85988   CURTIS       WILLKERSON               KY          90011926540
2B195953184364   APRIL        BLODGETT                 SC          90014599531
2B195A2292B839   CLEMENTINE   CYIRAMAHORO              ID          90011150229
2B196355357157   JOHN         ABEL                     VA          90001023553
2B19641262B892   RANDI        COWAN-DALTON             ID          90013034126
2B196552A9184B   KRISTEN      HANCOCK                  OK          21043945520
2B196751871948   SILVIA       ROMERO                   CO          32038447518
2B19697986196B   BOB          CROMWELL                 CA          46006319798
2B19712189184B   LAKESHA      PEEPLES                  OK          90013891218
2B19729135B571   OSCAR        SANCHEZ                  NM          35095772913
2B197618281637   AMILCAR      RODOLFO                  KS          90013056182
2B197A34487B21   JASON        WEATHERFOR               AR          90015500344
2B197A66585938   MATTHEW W    BROCK                    KY          90003900665
2B197A72172B98   MICHAEL      BALDWIN                  CO          33061810721
2B19857244B281   FELIPE       ENRIQUEZ                 NE          90008555724
2B198925391241   SYLVIA       TAYLOR                   GA          90011219253
2B198A42681661   ARTASHA      LOONEY                   MO          90014880426
2B199181674B79   KRISTY       JACKSON                  OH          90001231816
2B19924615715B   OSCAR        FLORES                   VA          81011502461
2B1992A5271948   DESIREE      ROMERO                   CO          90014362052
2B199334691522   NOHEMY       BROWN                    TX          90007083346
2B199633887B21   BOBBY        BUTLER                   AR          90015576338
2B1996A787B449   LATASHA      CRAWFORD                 NC          11010866078
2B199895A9184B   JORGE        PANDO                    OK          21084238950
2B199A55151343   TYAN         WINBUSH                  OH          90011500551
2B199A6585715B   KATHERINE    LEAKE                    VA          90011930658
2B19B33788B334   LIDIA        VAZQUEZ                  SC          90014963378
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2B19B3A385715B   SUCELI        MAZARIEGOS              VA          81057433038
2B19B85663B384   RAFAEL        MUNOZ                   CO          33067898566
2B19B89A251561   KODJO         ABATHAN                 IA          90015448902
2B1B114414B245   ADAM          LEWIS                   NE          27088121441
2B1B1163355957   LUIS          CARBALES                CA          90013431633
2B1B2426155957   MELISSA       VANZANT                 CA          90008974261
2B1B2431891541   VARGAS        MARTHA DOLORES          TX          75068284318
2B1B246459184B   JORDAN        TREIS                   OK          90000614645
2B1B25A6A4B588   NACOLBY       BEARD                   OK          90013455060
2B1B2674631631   LURETO        REYES                   KS          90002406746
2B1B269844B245   WILLIE        AUSTIN                  NE          90010546984
2B1B2756485965   ELLEY         CABRERA                 KY          90014147564
2B1B2917961982   VINCENT       GORDON                  CA          90002769179
2B1B3159691522   ROBERTO       LOPEZ                   TX          90005881596
2B1B33AA191592   MAGDALENA     CASSIO                  TX          90008453001
2B1B382684B281   CARL          JACKSON JR              NE          27064698268
2B1B388595715B   CHRISTOPHER   MACHUCA                 VA          90012108859
2B1B4283A81687   LESLIE        ESKRIDGE                MO          29009302830
2B1B4343951343   ATHENA        WHITTAKER               OH          90006333439
2B1B437774B281   BILLIEJOE     DUNHAM                  NE          27029453777
2B1B459527B449   KYRIE         BRUT                    NC          90014805952
2B1B4723491528   JOSHUA        GALVEZ                  TX          90003337234
2B1B4A38391592   MELISSA       HERNANDEZ               TX          90001710383
2B1B5582785988   MATT          WILLOGHBY               KY          90015545827
2B1B56A998B334   KIMYADA       MOSES                   SC          90012966099
2B1B6753372B98   BRITTENEY     JERKINS                 CO          90011937533
2B1B712382B892   PEPPER        HERNANDEZ               ID          90010241238
2B1B7722591541   RACHEL        SANCHES                 TX          90010847225
2B1B7867571948   TRICIA        LUCERO                  CO          32016388675
2B1B816347B449   TOSHA         MILLER                  NC          90014901634
2B1B8488985938   BEVERLY       HUTCHINSON-TERRY        KY          90014564889
2B1B848A74B588   AJULINA       ADENYA                  OK          90011494807
2B1B859487B699   ELAINE        HATCHETT                GA          15045215948
2B1B913129184B   FRANK         FREEMAN                 OK          21025041312
2B1B953539189B   BRENT         CATO                    OK          90006155353
2B1B955814B588   MARK          WALLACE SR              OK          21552145581
2B1B9564872B42   ESPERANZA     MARTINEZ                CO          33095765648
2B1B9595491241   ISIAH         PASLEY                  GA          90012755954
2B1B9937731631   ROBERT        HOOD                    KS          22070779377
2B1B9958A87B59   PAYGO         IVR ACTIVATION          AR          90015339580
2B1B9A2572B839   DOUGLAS       EISENBERG               ID          42004780257
2B1B9A44455957   REYNA         SANCHEZ                 CA          90014440444
2B1BB176321737   ANGEL         CORAVO                  IL          90011951763
2B1BB421451397   NYLUAL        LOVE                    OH          90015524214
2B1BB59A25B271   DEBBY         BRINSON                 KY          90013225902
2B1BB639791541   HERIBERTO     OLIVAS                  TX          90004406397
2B1BB647691528   EDUARDO       LOZANO                  TX          75091866476
2B1BB92325B167   SAHWANA       ELLIS                   AR          90014559232
2B2111A152B839   ALBERTO       SOTELO                  ID          90012621015
2B211222431631   OLGA          HIGAREDA                KS          90014442224
2B2113A8587B87   VALERIE       SMITH                   AR          23093943085
2B21195399189B   LYLA          CERVANTES               OK          21064759539
2B211A22885938   CASAUNDRA     LEWIS                   KY          90010920228
2B2121A215715B   ABUBAKAR      KAMARA                  VA          81005771021
2B21236A78B17B   MELINDA       CUCCIA                  UT          31023053607
2B21245364B267   KUDRNA        LARRY                   NE          27098004536
2B212468887B87   TRACY         JONES                   AR          90001054688
2B21249469189B   KENDRA        JOHNSON                 OK          90014054946
2B2127A832B232   PHYLLIS       LANE                    DC          90003147083
2B212A48A72B98   MICHELLE      SMITH                   CO          90002830480
2B213128231453   FREIDDIE      OWENS                   MO          90011031282
2B213279941286   TIFFANY       THOMAS                  PA          90010822799
2B21341A35B161   ELIZABETH     PANIAGUA                AR          90006814103
2B213517431631   JARVIS        DUALNEY                 KS          90007035174
2B213711A2B232   STEPHANIE     RICH                    DC          90003147110
2B21375A572421   COCHELLE      WILSON                  PA          90003407505
2B21421A272B98   JORGE         RUIZ                    CO          33051722102
2B214231655941   BALERIA       ORITZ                   CA          90005102316
2B214572372482   DIANE         RUGH                    PA          90013685723
2B21482AA8B17B   ANGELICA      MUNOZ                   UT          90008678200
2B214997847952   TIFFANY       MCDADE                  AR          24066259978
2B215165185965   ZACH          WARTMAN                 KY          66009921651
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2B2152A3281637   MARISOL     LOPEZ                     MO          90011352032
2B2153A5672421   LISA        MOAN                      PA          51087843056
2B215522155957   ALEJANDO    DELATORRE                 CA          90015095221
2B215829872B42   DIANA       GONZALEZ                  CO          90007718298
2B21615848B334   ADA         GUTIERREZ                 SC          90001571584
2B216257481637   JERRY       MASTERSON                 MO          29006952574
2B2165A467B449   CHERRY      WILLIAM                   NC          11053035046
2B21673619794B   ZEFERINO    CRUZ                      TX          90013037361
2B216746991522   CYNTHIA     CARRILLO                  TX          75074517469
2B21684A64B281   LUIS        ARAGON                    NE          90014168406
2B21687444B588   OTILIA      ESTRADA                   OK          90015148744
2B217246471948   BRIAN       MACKES                    CO          90013402464
2B217413984364   TIMOTHY     TAMBURRINO                SC          90013804139
2B21756979184B   DEMARCO     CORBIN                    OK          90009175697
2B217677787B21   HEATHER     CROW                      AR          90015076777
2B217738855941   DIXIE       TRISTAN                   CA          49076497388
2B217797691541   ERICK       ALCANTAR                  TX          90013667976
2B217869991323   AMY         PEER                      KS          90001088699
2B21795A672B98   ROBERT      DAVIS                     CO          33020879506
2B217A17291828   JUDY        CARTEE                    OK          90013650172
2B218148481637   JEFFREY     ABBOTT                    MO          90013271484
2B21819928B168   CAROLINA    SERRANO                   UT          90005731992
2B218384987B21   JOSH        RANKIN                    AR          90015243849
2B21846A38B17B   MARINO      SANTILLAN                 UT          31032294603
2B21858482B839   VERONICA    LONGDEN                   ID          90014825848
2B218615855957   JESUS       DE DIOS                   CA          48096736158
2B2188A1A85965   TERESA      BEGNOCHE                  KY          90000588010
2B21894564B281   MARISELA    MOLINA                    NE          27033859456
2B219188487B21   WILL        MCMINN                    AR          90015371884
2B2191AA44B281   MONICA      GOLDEN                    NE          90010641004
2B219284191541   LAURA       MALDONADO                 TX          90013902841
2B219479293773   NICHOLAS    PIEKUTOWSKI               OH          64555514792
2B219842872B42   CAMILLE     CORDOVA                   CO          33012538428
2B21B196947952   MISHECK     MGWENYA                   AR          24039961969
2B21B25346147B   HAILEY      PYLES                     OH          90014232534
2B21B61A47B449   LASHUNDA    MCMOORE                   NC          90014816104
2B21B79775B161   ASHIA       BRASON                    AR          90013777977
2B21B91612B892   CANDY       MESTAS                    ID          90003119161
2B221427A91828   JASMINE     WOOTEN                    OK          90011634270
2B221516447952   MIKAYLA     ENGLISH                   AR          90008495164
2B2217A362B27B   DARETTE     ORAHAM                    DC          90010587036
2B221A3238B17B   MARIO       GARCIA                    UT          90007510323
2B221A8992B892   SARAH       YORK                      ID          90006350899
2B222454931631   SYLVESTER   ADIMEKWE                  KS          90009324549
2B2225A4355957   NATASHA     GONZALEZ                  CA          90013775043
2B222A42351336   TANESHIA    BROWN                     OH          90013490423
2B222A96991528   TONI        BRISENO                   TX          90006520969
2B223357A55957   ARMIDA      MARTINEZ                  CA          90015213570
2B22346A491582   ADALBERTO   OROZCO                    TX          90010864604
2B223545572B42   RAFAEL      RUIZ                      CO          90012465455
2B2236A518B334   ANTONY      CURRY                     SC          11000156051
2B223991191522   SUZANNA     JORDAN                    TX          75017519911
2B2239A5285938   ANDREA      BLACK                     KY          90009939052
2B22419584B588   ASHLEY      ROLEN                     OK          90009321958
2B22427599184B   GARY        MCKINNEY                  OK          90007362759
2B22438227B699   ASIA        STINSON                   GA          15044863822
2B224529784364   CAYSHA      SMITH                     SC          90011265297
2B22461517B449   SAMARIA     WILLIAMS                  NC          90014816151
2B22475734B245   KIRSTEN     WEIKLE                    NE          90009837573
2B22491A185988   BRANDON     SLAUGHTER                 KY          90014799101
2B225113851343   SARA        GRABER                    OH          90015251138
2B2252A7791522   MARK        LUNA                      TX          75013312077
2B225315191541   JAVIER      RUBIO                     TX          90010283151
2B225458787B21   BOBBY       BUTLER                    AR          90015414587
2B22546768B17B   NICOLE      CRESPIN                   UT          90004364676
2B225637385988   JASMINE     KING                      KY          90008096373
2B22566A18B56B   GARRY       INDIANA                   CA          90015496601
2B225867A74B79   JAMIE       DWYER                     PA          51027148670
2B2258AA69189B   APRIL       PHILLIPS                  OK          90014688006
2B225A83A8B17B   NICOLE      RIDLEY                    UT          90013110830
2B226129255941   MARIA       GASTELUM                  CA          49065231292
2B22615732B839   JOSEFINA    CRUZ                      ID          90007991573
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2B226221A5B167   MARVEL        MCMASTER                AR          23031222210
2B226316751343   DORTHY        BAUER                   OH          90011533167
2B226398161985   REBECA        RON                     CA          90011803981
2B226398384364   KIMBERLY      ZADONIA                 SC          90003433983
2B226497A72B98   JOANA         HERNANDEZ               CO          90014184970
2B226971491251   GILBERTO      VENTURA                 GA          14516799714
2B226A3357B471   MARCUS        BAKER                   NC          90013130335
2B226A74A81637   MARISSA       LEA                     MO          90014480740
2B226A98391241   AHMAD         SHAMSIDDIN              GA          14597990983
2B22733A39189B   JAQUILA       MEEKS                   OK          90011223303
2B227535991241   SHAAUNTAE     JONES                   GA          90007165359
2B227577672421   GREGORY       RUSSELL                 PA          90003365776
2B227678291241   VICKI         WELLS                   GA          90008406782
2B22783A555957   ADANELI       MEDRANO                 CA          90006418305
2B2281A8191828   JASMINE       CERVANTES               OK          90012881081
2B228256487B87   VALERIE       SMITH                   AR          90002472564
2B228373651343   CHUCK         WEBB                    OH          90014993736
2B228497672B98   CHRISTOPHER   TAPP                    CO          90014184976
2B22853418B334   PAMELA        MCPHAUL                 NC          11006595341
2B228AA6457157   IRIS          MOLINA                  VA          81080830064
2B22913A99794B   JOSE          RODRIGEZ                TX          74044811309
2B22975312B839   DANITA        WILKEN                  ID          90003557531
2B229A27231631   DENNIS        WRIGHT                  KS          22006160272
2B229A6A391241   LINDA         GLOVER                  GA          90011230603
2B229A94287B87   PAULINE       RAYA                    AR          90002940942
2B22B61517B449   SAMARIA       WILLIAMS                NC          90014816151
2B22B73A47B699   BRUCE         BONAPARTE               GA          15002697304
2B231119471948   ROCHELLE      WILSON                  CO          32010831194
2B231363572B42   NICOLE        GALLEGOS                CO          33027983635
2B23168A555941   EVA           SANTOS                  CA          49089916805
2B231934A91541   ARACELY       AGUIRRE                 TX          90013779340
2B231997751336   ALEXIS        WHEELER                 OH          66017199977
2B232194451336   JUANISHA      GIBSON                  OH          90002771944
2B23221445B161   GEORGE        MUMPHREY                AR          90013232144
2B23244A891522   MIA           DANIELLA                TX          90002264408
2B232562961932   CATHERINE     FAHEY                   CA          90008965629
2B232635872B98   LUCILA        LUEVANO                 CO          33001906358
2B232711491828   LEKEISHA      KIMBROUGH               OK          90008377114
2B2328A314B261   KATELYNN      BROWN                   NE          27001128031
2B233198191828   COURTNEY      CHERMACK                OK          90012611981
2B233475885988   JHERAN        MOORE                   KY          90014394758
2B233721555941   YVETTE        ROJAS                   CA          90012517215
2B23412365715B   JOSE          LOPEZ                   VA          90012201236
2B234436372B98   RIGOBERTO     MALDONADO               CO          90008604363
2B23443758B17B   MARIE         ROMRELL                 UT          90013934375
2B23459955B271   PAULA         SMITH                   KY          90013395995
2B23494342B839   SUE           MONSON                  ID          42092339434
2B234999655941   ELVIS         MENDOZA                 CA          49008399996
2B23499A251336   MENEBERE      TANIGUCHI               KY          90012499902
2B23516429794B   EFRAIN        TAJIBOY                 TX          90012741642
2B235511391592   GEORGE        HIGADERA                TX          90014025113
2B23591875B167   JANA          MCDOUGAL                AR          90011089187
2B236386A85988   CHASITY       INGRAM                  KY          90012163860
2B23667A347952   ERICA         ACEVES                  AR          90015016703
2B23692914B245   RICH          TINNELL                 NE          27008689291
2B23777A251336   LEOPOLDINA    GARCIA                  OH          90010257702
2B237985691592   VERONICA      GUERRERO DE GONZALEZ    TX          90014759856
2B237A18971948   AUTUMN        JAMES                   CO          90012870189
2B238167A84364   SHAKEETE      RIVERS                  SC          90014811670
2B238239141299   ROSEMARY      PAGANO                  PA          90001312391
2B23858827B471   JAMES         HARRIS                  NC          90014095882
2B239667272421   DARLENE       BOOHER                  PA          90007086672
2B23969489189B   CONSUELO      ESCALANTE               OK          90004266948
2B239939571948   ELIZABETH     LOPEZ                   CO          90008809395
2B23B3A9751336   MARTINA       BOOKER                  OH          90002373097
2B23B448951343   ANDREW        LEE                     OH          90013004489
2B23B56A687B59   TIFFANY       TRIPP                   AR          90012705606
2B23B75919184B   SHAUNDORA     CARTER                  OK          21073697591
2B23B81A271948   VIRGINIA      NAVA                    CO          90014178102
2B241125831453   SMYTHE        GAIL                    MO          90000601258
2B241337A85965   SUZANNE       TASAYCO                 KY          90013963370
2B241686187B59   KIMBERLY      SCARVER                 AR          90014806861
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2B24184414B588   ERICKA        DURHAM                  OK          90012308441
2B24187274B588   JASMINE       THOMPSON                OK          90013718727
2B24245134B521   YVONNE        FUENTES                 OK          90006054513
2B24248565715B   MARIAPIA      ORDONEZ                 VA          90011824856
2B242662131453   ROBERT        SEAGER                  MO          90015126621
2B242681231631   TRACY         GRIFFITH                KS          90009016812
2B242797885938   SHONTA        CHRISTOPHER             KY          90012377978
2B242A4A99184B   TIA           TATE                    OK          21049780409
2B24318A293773   ROY           HUTCHINS                OH          64524561802
2B24356949184B   KAREN         BEATTY                  OK          21074465694
2B243674147952   AMANDA        MASTRI                  AR          90001676741
2B243817272B98   JOSE          RUIZ                    CO          33083048172
2B243883287B59   JAQUAN        LASLEY                  AR          90015258832
2B243A88887B87   RUBY          COLEMAN                 AR          90009330888
2B24423384795B   MARJORIE      GRIJALBA                AR          25072072338
2B244382374B79   DAVID         BOYD                    OH          90011073823
2B244391884364   JANELL        CLARKE                  SC          90009983918
2B244459691522   NAKIA         PRINCE                  TX          75003234596
2B244562991541   SERGIO        RODRIGUEZ               TX          90011465629
2B24465645715B   JOSE          ARGUETA                 VA          90011066564
2B244959472421   DANIELLE      STONE                   PA          90013429594
2B244AA159184B   KIMBERLY      SETWART                 OK          90009010015
2B245276151336   WILLIE        MOORE                   OH          90013012761
2B24536A89189B   JOHN          FLAKE                   OK          90011223608
2B245531555941   ROY           RENDON                  CA          49070475315
2B24577A281446   ASHLEY        HIGBY                   PA          90013827702
2B24594879184B   MAGYN         PASSMORE                OK          90010379487
2B246412A87B87   TELISHA       JONES                   AR          90004284120
2B2465A2772B98   LORENZO       GUADIAN                 CO          90014185027
2B24671A491541   TAMARA        CORDERO                 TX          90013377104
2B246AAA57B471   MORGAN        COON                    NC          90013100005
2B24724A485988   SHARON        CORMAN                  KY          90008972404
2B24759998B17B   ROBERT        REED                    UT          90005075999
2B24765117B449   DANIEL        MOTA                    NC          90014816511
2B247897385988   WILLIAM       HATTON                  KY          90014038973
2B247A91591541   BRENDA        RODRIGUEZ               TX          75055340915
2B248214371948   MIRANDA       WIMSETT                 CO          90011902143
2B24826349794B   EMILIANO      TIRADO                  TX          90014502634
2B248412A87B87   TELISHA       JONES                   AR          90004284120
2B24869492B931   FREDDIE       DUNN                    CA          45075466949
2B2486AA141245   DANIEL        TICKNER                 PA          51085506001
2B248A4374B261   CHRISTOPHER   OSBORNE                 NE          90014630437
2B248A53991251   JENNIFER      JONES                   GA          90001630539
2B248A77391592   ADRIAN        GARCIA                  TX          90009060773
2B249251157157   JESUS         ARREGUIN                VA          90014972511
2B2492A5641245   RADMILA       DAKIC                   PA          51008282056
2B24933279184B   DESTINY       ROHLING                 OK          90015303327
2B24936915B167   AMANDA        VANCE                   AR          90014343691
2B24949395B28B   RICHARD       HOWARD                  KY          90012994939
2B249667247952   CHARLES       OLIVER                  AR          24006956672
2B2496A9172B98   MARISELA      HERNANDEZ               CO          90011726091
2B249A55387B87   ANTONIO       BUCHANAN                AR          90011750553
2B24B27A472B42   EFREN         RAMIREZ                 CO          33061072704
2B24B68814B281   MIKE          STERBA                  NE          27048306881
2B24B697431453   GENE          RAYFORD                 MO          90014056974
2B251334791541   THANIA        QUINONES                TX          90011803347
2B2514A1693773   HEAVEN        HOFF                    OH          64531074016
2B251612A55957   SUSANA        VALDININOS              CA          90013706120
2B25192535B271   LAURA         DAVIDSON                KY          90013829253
2B252187172B42   JOSE          VERA                    CO          90012411871
2B25239547B449   MANUEL        GARCIA                  NC          90008583954
2B25276AA91528   ANGELA        OLMOS                   TX          90006927600
2B253144887B87   DAVE          JOHNSON                 AR          23061821448
2B25332239794B   ELOUISA       SANCHEZ                 TX          90014583223
2B25339959794B   LAUNITA       LLANAS                  TX          90008733995
2B25345A797B4B   MARIANA       TRUJILLO                CO          90008344507
2B25356877B449   MEKA          BLACKMON                NC          90011515687
2B25366257B449   MARCO         MORENO                  NC          90014816625
2B253794355941   LEOBARDO      RIOS                    CA          49074537943
2B253825385938   SABRINA       CARPENTER               KY          90012328253
2B253956A87B59   LORI          KRIK                    AR          90013049560
2B25423279794B   IRMA          SANCHEZ                 TX          90013332327
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2B254581284364   RAHEEN       HART                     SC          90014585812
2B254954431453   MICHELLE     STEAHLE                  MO          90007519544
2B25496A457565   MARLENE      NEVAREZ                  NM          90011459604
2B254A3579189B   JOYCE        MONTGOMERY               OK          90002160357
2B255377391541   CASSANDRA    SAENZ                    TX          90014153773
2B255A53291522   SARA         BARRIOS                  TX          75019590532
2B255A86971221   MARIO        GOSS                     NE          90015580869
2B256166851343   LILIA        LINARES DOMINGUEZ        OH          90014171668
2B2561A5457157   WILLIAM      GIAMPA                   VA          90009651054
2B2563A9484364   NAKIA        LEWIS                    SC          19046023094
2B25642667B699   KRISTINA     GENTLE                   GA          90004464266
2B256438787B87   BARBARA      BLUNT                    AR          23089934387
2B25653789794B   MARCUS       FLOWERS                  TX          90011305378
2B256AA6A41245   RODOLFO      RAMOS                    PA          51047410060
2B257239651343   JAMES        BAKER                    KY          90013952396
2B257463674B79   CHAMPAYNE    BRAY                     PA          90006844636
2B257A3794B261   LINDA        ORR                      NE          90013410379
2B257A6492B839   GARY         MARSHALL                 ID          90009030649
2B258667272421   DARLENE      BOOHER                   PA          90007086672
2B258853191592   PAULA        HERNANDEZ                TX          90007398531
2B258929A31631   JUNE         DIDON                    KS          90013259290
2B25893419189B   GREGORY      LEE                      OK          90014669341
2B258945791541   AILEEN       SERRANO                  TX          75042609457
2B259239651343   JAMES        BAKER                    KY          90013952396
2B259326651336   KAREN        SNELL                    OH          66047043266
2B259331591241   MELISSA      WINTERS                  GA          90007833315
2B259669591592   ADAM         TERCERO                  TX          90015096695
2B25B133855935   MARTIN       ARCE                     CA          90012681338
2B25B27524B588   GABRIELA     MATAMOROS                OK          90015292752
2B25B714372B98   JIMMY        BURKEN                   CO          90013087143
2B2613A745B161   CLARENCE     THORNTON                 AR          23000233074
2B261943731453   DARTELO      PERES                    MO          27589809437
2B26198442B839   JAMES        BELCASTRO                ID          42078809844
2B261A9649794B   ROLANDO      VASQUES-SIC              TX          74092870964
2B262399351336   SHARIAH      PRICE                    OH          90011603993
2B262427685965   LINDSEY      PENDLETON                KY          90014174276
2B26252374B281   GEOFFREY     MARSHALL                 NE          90004885237
2B262887452B3B   AMANDA       DAVALOS                  AZ          90014748874
2B26289899184B   KYLE         BEMORE                   OK          90010008989
2B26322312B892   LAURA        LUNA                     ID          90013612231
2B26322552B892   REYES        BARAJAS                  ID          90013592255
2B263343391241   VIRGINIA     LANIER                   GA          14573513433
2B26345282B27B   JOYCE        SWAILES                  DC          90013414528
2B263471791541   SARA         REYES                    TX          90012154717
2B26357739136B   LOURDES      GUIZAR MENDOZA           KS          90013115773
2B263841171948   RANDY        RODRIGUEZ                CO          90007328411
2B26388424795B   DEBRA        JOHNSON                  AR          25078848842
2B26392265B571   BERNICE      JARAMILLO                NM          90004719226
2B26394369189B   ANGELA       JONES                    OK          90005189436
2B263A24A61877   ROBERT       WATKINS                   IL         90014420240
2B26419294B261   SAMUEL       COSTANZO                 NE          90011411929
2B2644A165715B   SOMPRATHAY   THAMMAWNG                VA          90009204016
2B264624491522   JORGE        GARCIA                   TX          90011876244
2B264A64991241   TRINA        THOMAS                   GA          90008360649
2B264A85974B79   RONNIE       DICKEY                   OH          90014580859
2B26531AA4795B   CHARLES      HOPKINS                  AR          90010413100
2B2654A7487B21   ANJELIQUE    MOORE                    AR          90015244074
2B26565A25B531   JOSE         VARGAS                   NM          90005916502
2B265676A57157   THERESA      GAITHER                  VA          90012766760
2B26594289189B   DANIELLE     BRUNER                   OK          90014669428
2B26598578B334   CARLOS       MORALES                  SC          90013929857
2B266582672B42   MARTHA       CUARA                    CO          90012765826
2B266675781637   SHONNESHA    MORGAN                   MO          90007596757
2B266832A87B59   YASHICA      MARTIN                   AR          23023928320
2B267163781661   DEMETRIUS    WILLIAMS                 MO          90014911637
2B2672A9691241   MELISSA      KELLY                    GA          90011222096
2B26786933B185   TUAN         NGUYEN                   VA          90014238693
2B267A41555957   DWAYNE       WILSON                   CA          90011320415
2B267A64831453   SHANTE       CRISFIN                  MO          27589040648
2B267AA8557121   NERIS        RAMIREZ                  VA          90001620085
2B268165291522   ADOLFO       CASTOR                   TX          75039691652
2B2681A774B245   ROSA         GONSALEZ                 NE          27027581077
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2B268391A8B17B   DAVE         REEVES                   UT          31083743910
2B2683A832B892   LUIS         GONZALEZ                 ID          90007523083
2B26854435715B   JOSE         HERNANDEZ                VA          81032855443
2B26858892B892   LUIS         GONZALEZ                 ID          90012405889
2B2685A9872B98   MICHEAL      HAYS                     CO          90014185098
2B268857991828   CHALISHA     JOHNSON                  OK          90010608579
2B268972A5B161   DWAYNE       ELLIOTT                  AR          23012289720
2B268A6AA4B588   ANATASIA     JEZREAL                  OK          90005690600
2B2693A319794B   QUEENA       LINGJUN                  TX          90010783031
2B269539972B42   MISTY        LAMBERT                  CO          33044415399
2B26961934B588   INGRID       JONES                    OK          21559186193
2B26986335715B   FRANSICO     HERNANDEZ                VA          90010198633
2B269863891828   KATHERINE    KINTER                   OK          21073078638
2B269944984364   MISTY        GREEN                    SC          90012309449
2B269956A87B59   TAMEA        HARRIS                   AR          90013259560
2B26B567A51343   QUINCY       ROBISON JR               OH          90013085670
2B26B759671948   SERGIO       GOMEZ                    CO          32060747596
2B271114A55957   RONALD       SPANKE                   CA          48090811140
2B271724972B42   KIMBERLY     ANDERSON                 CO          33083597249
2B27172765B167   AZURDEE      ANTRADE                  AR          23064697276
2B27194377B358   HERBER       HERRERA                  VA          90002779437
2B271A3815B531   VICKEY       JONES                    NM          35069240381
2B272598687B87   TIFFANY      MAYS                     AR          23090805986
2B27277A131433   GWENDOLYN    PENDLETON                MO          90003837701
2B27323989794B   JOSE ANGEL   MENDEZ                   TX          90013042398
2B273341285938   MAURICE      CAMPBELL                 KY          90008543412
2B2734A2991522   LINDA        JASSO                    TX          90013574029
2B27363A372B98   ASHLEY       FLANAGAN                 CO          90011726303
2B27364A184364   BERNARD      MOSLEY                   SC          90015066401
2B273A63231453   BERNICE      MCCRENDON                MO          27536860632
2B274237572421   ASHLEY       BOOHER                   PA          90005132375
2B274387991241   AISHA        MOBLEY                   GA          90010573879
2B274596257157   CLAUDIA      MENDOZA                  VA          90012465962
2B2745A5A9794B   CARLOS       PEREZ                    TX          90013085050
2B274686657157   BEATRIZ      GUEVARA                  VA          90012446866
2B27472457B449   CRYSTAL      JONES                    NC          90014817245
2B274914751336   MICHELLE     MCCAIN                   OH          66055399147
2B27514714B245   MUHAMMAD     FARHAN                   NE          90010131471
2B27524935B271   DONALD       BEARDEN                  KY          90013652493
2B2755A879189B   THOMAS       FLAVIN                   OK          90011225087
2B275695A91541   KARINA       FRASER                   TX          75077256950
2B275726291522   ERICA        OCHOA                    TX          90013557262
2B275AA517B471   CAMILLE      MORROW                   NC          90011130051
2B27616534B588   LATASHA      ELAINE                   OK          90010351653
2B2762A4571948   SHARON L     MUSE                     CO          90000492045
2B276336191241   TERRENACE    GRANT                    GA          90014833361
2B276387891828   JUAN         LUEVANO                  OK          90002793878
2B276788755941   ANGELICA     AMADA                    CA          90014617887
2B27687377B449   JAMES        DAVIS                    NC          90014868737
2B276897397B58   JASON        WATT                     CO          90014738973
2B276998785938   MELISSA      DIALLO                   KY          90011319987
2B2769AA772B98   JENNA        GONZALES                 CO          90010569007
2B276A55384364   ERNESTO      LOPEZ                    SC          90012650553
2B27724877B362   NIXSO        CASTELLANOS              VA          90003212487
2B2774A7355957   FRANCISCA    CALLEROS                 CA          48081184073
2B277511872B98   DAVID        COLIN                    CO          90014185118
2B2777AA147952   THERESA      NOGAAR                   AR          90008897001
2B277935891227   NATASHA      BURROUGH                 GA          90004959358
2B277A61431631   PAULA        KNAP                     KS          22076880614
2B278336331453   LIL JOHN     ROBERTSON                MO          27540273363
2B278415A93767   JAMES        TOBER                    OH          90001264150
2B27849545B167   PHILIP       WILSON                   AR          23013914954
2B2787A8447952   JACOB        JOHNSON                  OK          90015127084
2B278846571948   LINDA        PRESSLEY                 CO          90011118465
2B278989431453   DENNIS       SAAL                     MO          90014889894
2B278A9865715B   OSCAR        PONCE                    VA          90013720986
2B279112585938   SIERRA       ROMERO                   KY          90013481125
2B279492A85938   RODRIQUEZ    WASHINGTON               KY          90015534920
2B2797A1884364   ASHLEY       GATHERS                  SC          90011497018
2B27989452B892   NICOLE       BORES                    ID          90009678945
2B27B563955957   JORGE        ALVAREZ                  CA          90008305639
2B27B7A2591522   RENEE        GOMEZ                    TX          90009957025
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2B27BA5122B892   AMANDA        BLAIR                   ID          90000300512
2B28199827B471   KELVIN        LESANE                  NC          90011939982
2B282427991528   DIANA         JACQUEZ                 TX          90003344279
2B28257918B334   KENDRICK      PERRY                   SC          90010745791
2B2825A5872B42   JORGE         MADERA                  CO          90010035058
2B282836884364   KRISTEN       HUCKS                   SC          90007998368
2B282A2A791522   PAOLA         ALONZO                  TX          90013340207
2B283111547952   JAJ           JHAH                    AR          90011901115
2B283336385965   MARGIE        NUNN                    KY          66059923363
2B283645891592   PRISCILLA     LEMUS                   TX          90012866458
2B283824893753   ABSALOM       HULL                    OH          90001298248
2B28418525B571   ISABEL        GARCIA-HERNANDEZ        NM          90005431852
2B28426945B531   BELEN         BULLOCK                 NM          35069242694
2B28442155B167   FREDRICK      NORWOOD                 AR          90011414215
2B28511722B232   IRIS          GARCIA                  DC          90005701172
2B285173791828   KIM           ALLISON                 OK          90008731737
2B28517855B167   DAVIN         ALLEN                   AR          23018401785
2B28519552B892   CYNTHIA       TRIPLET                 ID          42031971955
2B285281781652   SHAWN         LOTHAMER                MO          29091262817
2B285927251336   ANTHONY       KESSLER                 OH          90007849272
2B28593769794B   ALMA          MARCELA                 TX          90005169376
2B28625A99794B   JUSTIN        KINGH                   TX          90014542509
2B286281781652   SHAWN         LOTHAMER                MO          29091262817
2B28645625715B   JAZMIN        GOMEZ                   VA          90013654562
2B28646439132B   PEDRO         RUIZ                    KS          90012694643
2B286475A4B281   KATY          PAKENHAM                NE          90013574750
2B2867A532B892   TANIA         CARRENO                 ID          90013067053
2B28712915B571   MELANIE       COTTER                  NM          35039371291
2B2878A495B161   DARWIN        TORREZ                  AR          23063128049
2B288147891522   DANIEL        GARCIA                  TX          90014531478
2B288273351343   BELINDA       WYCHE                   OH          90011552733
2B28856A587B21   CHARLES       TAYLOR                  AR          28009225605
2B288844691528   HECTOR        ALARCON                 TX          90005918446
2B28889A431453   MICHELE       THOMPSON                MO          90012998904
2B288A9249189B   LAKESHE       HERNDON                 OK          21005740924
2B289484284353   JACINDA       FRAISER                 SC          90014814842
2B28983829189B   LASHON        ANDERSON                OK          90011448382
2B28B339A91522   FELIX         RODRIGUEZ               TX          90012423390
2B28B35A384364   TONY          WARD JR                 SC          19016563503
2B28B513751336   MULUBERHAN    ADAMO                   OH          90013995137
2B28B59525B167   BRITTNEY      BLUE                    AR          90007985952
2B28B85A94B261   DOLORES       HENANDEZ                NE          90014108509
2B28BA66531448   TODD          RENO                    MO          90001120665
2B29133114B245   MAURICE       SEYMOUR                 NE          26096113311
2B29139718B334   GERALDINE     PORTER                  SC          11023703971
2B29151A12B892   JAMISON       COBB                    ID          42067405101
2B29175239184B   MARIA         RODRIGUEZ               OK          90002067523
2B291754291522   JESUS         GUERRERO                TX          90013967542
2B29185882B839   LISA          MACKLEY                 ID          90010178588
2B2918A8A9189B   RICK          NEDOM                   OK          21081278080
2B2923A3372421   CHRISTIN      LECOCQ                  PA          90013863033
2B2923A9431453   GREGORY       RUTHERFORD              MO          90013513094
2B292417172B42   MONIQUE       GONZALES                CO          90012584171
2B29253287B471   DOMINGO       SALINAS                 NC          90003185328
2B292788155941   VINCENT       WALSH                   CA          90014027881
2B292964855957   LEANN         STEVENS                 CA          90013279648
2B292A44185988   BRITTANY      SHINDLEBOWER            KY          90015310441
2B293482361982   ELAINE        FRANCES                 CA          90011344823
2B29369125B167   ABRAHAM       MORENO                  AR          23032616912
2B293A8614B281   JEAN BAPTI    MAWAWA                  NE          90014170861
2B29419668B334   IVAN          QUEVEDO                 NC          90013921966
2B294276A4B588   MICHAEL       GUNSALLIS               OK          90015292760
2B294284971948   EDITH         CONSAVAGE               CO          32023162849
2B29479529189B   KALESHA       GORDEN                  OK          90014687952
2B294A2162B27B   KERRY         PRICE                   DC          90001880216
2B29511762B232   RAPHAEL S     WEST                    DC          90003151176
2B295151193773   KEVIN         WASHINGTON              OH          64530861511
2B295177471948   BECKY         HAGER                   CO          90009251774
2B295379291592   CHRISTOPHER   KVINTUS                 TX          90011203792
2B29539814795B   JUSTIN        THOMAS                  AR          90006243981
2B29542359794B   CARLA         SALAZAR                 TX          90009994235
2B29552545B161   PATRICIA      BAKER                   AR          23024655254
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2B29556A131631   MARIA       CROWE                     KS          22084165601
2B29558A585938   RUSSELL     FLORENCE                  KY          90015555805
2B295679531453   NOREEN      CLARK                     MO          90012826795
2B29569454B281   BRASAD      RAI                       NE          90011986945
2B29596225B167   MARY ANN    FISCHER                   AR          90013829622
2B295A21A5715B   PABLO       FLORES                    VA          90012200210
2B297139A81637   ALLYSUN     OTT                       MO          29079511390
2B29722474B588   AMBER       TAFT                      OK          90008992247
2B2975AA34B521   THOMAS      COOK                      OK          90011025003
2B29787355B161   JONIE       BLOCK                     AR          90011808735
2B2978A3672B98   KRISTINA    BUNCH                     CO          33077638036
2B29792A42B892   ROSA        GUERRERO                  ID          90013059204
2B29869715B271   HOLLY       BRYANT                    KY          90002306971
2B298763372B42   ANTHONY     VIGIL                     CO          90008767633
2B299156191582   CEJA        KARLOS                    TX          90001541561
2B299256A72B42   MIRANDA     STEWART                   CO          90010772560
2B2994A695B161   MILTON      WATSON                    AR          23078084069
2B29957A691589   WILLIAM     CUETO                     TX          90010615706
2B2997A9784364   BRITTANY    COULSTON                  SC          90008137097
2B299894557157   MOVIN       MINOR                     VA          90011048945
2B29B19865B167   MARY E      WILLIAMS                  AR          90014851986
2B29B47515B271   QUENTON     MULLINS                   KY          68071654751
2B29B485991241   DOMINICK    FUTCH                     GA          90013224859
2B29B54828B17B   ANTHONY     FREESTONE                 UT          90010415482
2B29B783857157   JENNIFER    DITH                      VA          90013127838
2B29B97A79189B   PRENTICE    SELLS                     OK          90014669707
2B29BA9A272B42   ANGELA      CORDOVAL                  CO          33043940902
2B2B119832B892   TERESA      WINKLER                   ID          42023731983
2B2B121A38B334   NIESHA      TOMAS                     NC          90009282103
2B2B159A64B588   MONIQUE     SADLER                    OK          21552515906
2B2B19AA955941   ROBERT      COTA                      CA          90003899009
2B2B1A86381637   VICKIE      BLATT                     MO          29074210863
2B2B2131591528   SERGIO      GIJON                     TX          75091911315
2B2B236627B666   DEBORAH     TALLEY                    GA          90013183662
2B2B2384351343   LATRICIA    LEWIS                     OH          90004903843
2B2B239164B588   MARIA       ESCALERA                  OK          90012963916
2B2B242145B571   JUAN        CARRASCO                  NM          35012594214
2B2B25A4372421   TRACY       FREEDLINE                 PA          51010125043
2B2B27A712B892   ROBERT      BURTON                    ID          90004047071
2B2B287272B27B   AIDA        OLKKONEN                  VA          81026248727
2B2B293337B386   PATRICK     WARREN                    VA          90008839333
2B2B296467B449   ERICKA      MILLER                    NC          90003119646
2B2B3197231631   BOBBY       SANDERS JR                KS          22046201972
2B2B3236A8B334   BRANDON     HUNTER                    SC          90010352360
2B2B335755B161   ANGELA      LEWIS                     AR          23034493575
2B2B3394674B79   JASON       MONIGOLD                  OH          90013973946
2B2B341262B892   RANDI       COWAN-DALTON              ID          90013034126
2B2B3635485988   ANDRE       LAROQUE                   KY          90002366354
2B2B3646191828   CORY        CRENSHAW                  OK          90008376461
2B2B3678572B98   JORGE       HERNANDEZ                 CO          90011866785
2B2B3776985938   CORITTA     ROBERTS                   KY          90013377769
2B2B3812331453   LADONNA     GILMORE                   MO          90014838123
2B2B387665B167   LUCY        RIOS                      AR          90008908766
2B2B413712B892   MARIO       ROJAS                     ID          42010811371
2B2B44A7831453   MELISSA     VILLARS                   MO          27536884078
2B2B46A4987B21   ADAM        JOHNSTON                  AR          90013926049
2B2B483715B271   JOANN       STOBER                    KY          68089668371
2B2B4916272B98   GUILLERMO   CASTRO                    CO          90000889162
2B2B491835B271   VONTASIA    LYN                       KY          90013829183
2B2B4973685938   BRITTANY    RAMIREZ                   KY          90015019736
2B2B5257691828   SANDRA      GUERRA                    OK          21087702576
2B2B5324791241   MITHCELL    LAND CORP                 GA          14536513247
2B2B5345191541   JORGE       VASQUEZ                   TX          75034233451
2B2B5658751343   FEDERICO    TORRES                    OH          90009896587
2B2B5891951337   KEESHA      JACKSON                   OH          90011608919
2B2B595A672421   DAKOTA      PATRICK                   PA          90014549506
2B2B627599184B   GARY        MCKINNEY                  OK          90007362759
2B2B6328451336   JAVIER      TORRES                    OH          90014113284
2B2B6397191592   FERNANDO    URIAS                     TX          75092283971
2B2B6576171948   DANIELLE    BUCKNER                   CO          90014415761
2B2B66A9291251   RICHARD     DUNSTON                   GA          90004696092
2B2B6711491241   TILWONER    WILLIAMS                  GA          90013127114
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2B2B686A39794B   PEDRO        GARCIA                   TX          90006948603
2B2B731832B839   COREY        THOMAS                   ID          90013943183
2B2B7321451336   JOSEPHINE    STRINGER                 OH          66092123214
2B2B73A775B271   BETHANY      TAYLOR                   KY          68085083077
2B2B7456891541   JAVIER       RAMIREZ                  TX          75089844568
2B2B7482991528   PAYAN        E ELENA                  TX          75008124829
2B2B755A391241   FRANK        STINEY                   GA          90015325503
2B2B75A292B892   ROXANA       NAVARRO                  ID          90013935029
2B2B7638491592   OLIVIA       HERMOSILLO               TX          90010966384
2B2B771A85715B   VINCENT      MILLER                   VA          90013047108
2B2B7743387B21   SAMANTHA     WHITE                    AR          90009087433
2B2B7832681661   TANISHA      HENDRICKS-BELL           MO          90009998326
2B2B784A64B281   LUIS         ARAGON                   NE          90014168406
2B2B831522B892   JON          EVERITT                  ID          90007953152
2B2B847994B588   SHARON       KURTZ                    OK          21591574799
2B2B8567291522   ELVA         HERNANDEZ                TX          90014405672
2B2B8979655941   JAZMIN       IRENE SOTO               CA          49049729796
2B2B9111847952   ZACKARY      STEINMETZ                AR          90013901118
2B2B92A965B167   ADRIAN       GRAY                     AR          90009862096
2B2B9384587B21   CONNOR       FRAZIER                  AR          90015243845
2B2B9994647952   MISTY        WALTERS                  AR          24089179946
2B2B9995951343   MAYRA        RODRIGUEZ                OH          90011579959
2B2BB312891592   PATRICIA     SUTTON                   TX          90014993128
2B2BB34384B281   LORI         MERRILL                  IA          90014553438
2B2BB58293B131   JONATAN      HERRERA                  VA          81017855829
2B311152A81637   MATEO        POLING                   MO          29025531520
2B31128135B271   TRAVONE      MARSHALL                 KY          90015152813
2B31178452B931   ANA          HERNANDEZ                CA          45035317845
2B311AA137B471   CHRISTINE    CALDWELL                 NC          11075050013
2B31225514B245   LISA         MARTIN                   IA          27030142551
2B31249312B892   DONNA        TELDESCHI                ID          42002144931
2B3125A7372B98   SOCORRO      GAYOSSO                  CO          33013845073
2B31267A231631   TRINA        CAREY                    KS          22039026702
2B3126A3485988   ASHLEY       ENGLE                    KY          90013156034
2B31271314B281   SANDRA       MAYS                     NE          90001097131
2B312927291241   CHALON       BENTON                   GA          90002679272
2B313246731631   JENNIFER     MONTANEZ                 KS          22061872467
2B3132AA38B334   DANIEL       VILLALVAZO               NC          90013932003
2B313426831433   MONICA       BAILEY                   MO          90008994268
2B313435891828   MENHYON      TAYLOR                   OK          90014354358
2B313934A4B245   ROLANDO      HERNANDEZ                NE          27004609340
2B31419685715B   CARLOS       ESCOBAR                  VA          90011691968
2B3142A154B245   JAMES        LEWIS-HYTREK             IA          90011012015
2B31512932B839   MISTY        MAYO                     ID          90001341293
2B315164761877   DANIEL       MEYER                    IL          90015371647
2B315297291241   TASHERA      ROBINSON                 SC          90014752972
2B315398384364   BRIAN        DUNN                     SC          19045583983
2B315441A4B588   MISAEL       CRUZ                     OK          90013794410
2B31546115B167   MARIA        PLANT                    AR          90014564611
2B315486685946   GLENN        DALSANTO                 KY          66098324866
2B31555187B449   VANDANA      AHMED                    NC          90001145518
2B31576812B892   ALLISON      CONLEY                   ID          90013067681
2B3157A516147B   FERNADO      PABLO                    OH          90014247051
2B3158AA69189B   APRIL        PHILLIPS                 OK          90014688006
2B315A78772B42   CHARLES      ROBERTS                  CO          90012730787
2B316592155957   ALICIA       BURTON                   CA          48004455921
2B31659A99376B   JAZZIE       PIGGIE                   OH          90005155909
2B31682964B588   ZANDRA       SMITH                    OK          90009648296
2B316935972B42   SHANE        GEYER                    CO          90002409359
2B317217191541   ROGELIO      SOTO                     TX          75037802171
2B3172A754B245   BOBBIE       FRAZIER                  NE          27047722075
2B31737A891828   TERESA       MENDOZA                  OK          90012913708
2B3173A312B839   MARIBEL      NEVAREZ                  ID          90010883031
2B31779475B167   CAMERON      MCGEE                    AR          90013797947
2B317943957157   GLORISMEL    PENA                     VA          90000879439
2B317A23991592   MARTHA       MANRIQUEZ                TX          90006150239
2B317A8A184364   TAJAVIOUS    WILLSON                  SC          90011090801
2B318247791885   GEORGINA     FLOREZ                   OK          90009972477
2B318435457157   ROXANA       LOPEZ                    VA          90010684354
2B31845492B839   PRISCILLA    BARRIENTES               ID          42005764549
2B31847414B261   WAZARIATOU   OURO-BERE                NE          27070274741
2B31868337B449   DONALD       WOOLARD                  NC          90014886833
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2B318992A31631   BARBARA      ADAMS                    KS          22096399920
2B318A1515B167   JASON        RODRIGUEZ                AR          90014800151
2B318A45291592   MANUEL       ALVAREZ                  TX          90010220452
2B31919155715B   JOSE         HERNANDEZ                VA          90007131915
2B31934555B167   TABITHA      MCCAULEY                 AR          90013833455
2B319383951343   TARA         TELINDA                  OH          90007323839
2B31939AA71948   GARY         MARTINEZ                 CO          32078783900
2B31966A591251   ANGELA       BRUTTON                  GA          14515666605
2B319767A4B588   ELMER        CARRETO                  OK          90013477670
2B31983848B334   BETZY        MORCILLO                 SC          11054828384
2B319849A54B89   CHASE        PHILLIPS                 VA          90015068490
2B319913272B98   JACOBO       VAZQUEZ                  CO          90014349132
2B319918441245   KATHRYN      SIMS                     PA          51037669184
2B31B124881661   LEONARD      CRUCES                   MO          90013831248
2B31B29895B161   ANDREW       FARMER                   AR          90007262989
2B31B463587B59   ANDREW       MCCLUSKY                 AR          23007854635
2B31B84285B167   WHILLIAM     HENDERSON                AR          90014288428
2B31B84A272421   HEATHER      LOUGHLIN                 PA          90013828402
2B31B89477B471   PAUL         MAY                      NC          11097058947
2B31B9A6A91528   MARTINEZ     JOANN                    TX          90010299060
2B32178618B334   JESSICA      HALL                     SC          90000527861
2B321863A51343   ARNITA       JENKINS                  OH          66038958630
2B322159476B62   EZAU         MARTINEZ                 CA          90001251594
2B32225A45715B   ALFREDO      MENDOZA                  VA          90011692504
2B322279172421   DESIREREA    SERENA                   PA          90001982791
2B322753351343   DARRON       GRAHAM                   OH          90005117533
2B32319749794B   JEROME       BALDWIN                  TX          90000501974
2B323551A7B471   RONALD       WILLIAMS                 NC          90013875510
2B32364A891592   ROLANDO      RUBIO                    TX          90014196408
2B32368542B839   SAMUEL       BACA                     ID          90014156854
2B323816691241   MARY         NAVA                     GA          90014388166
2B32381939189B   MARLA        ROYAL                    OK          90011228193
2B32391974B588   NATHAN       COTNER                   OK          90000739197
2B324251A47952   TIK          MANITHONG                AR          90000972510
2B32428A351336   MICHEAL      MCMILLEN                 OH          90013802803
2B324899581637   D            JAMES                    MO          29066868995
2B32524229184B   SHANNON      MORIN                    OK          90004002422
2B32535435B271   RHONDA       SWOPE                    KY          90013893543
2B325489A7B449   ANGELICA     DOVENMUEHLE              NC          90013914890
2B32571564B588   NIKKI        CRUMPTON                 OK          90008627156
2B32577917B449   ANGELICA     DOVENMUEHLE              NC          90011127791
2B3258AA74B281   LETITIA      CHANEY                   NE          27047638007
2B325921297B58   JULIETTE     WATT                     CO          90014739212
2B326765557157   JULIO        CAMACHO                  VA          90013047655
2B326873A4B588   SUSANA       ROSALES                  OK          90007848730
2B326972471948   DORI         BROWN                    CO          32045979724
2B3269A879189B   DIANA        SANTIBANES               OK          21079599087
2B327321691828   SANTELL      SPEARS                   OK          90010653216
2B32761975B531   ALMA         ROCHA                    NM          35016316197
2B327783A87B21   KRISTOPHER   FLYNDER                  AR          90015557830
2B327815172B38   MINDY        VALDEZ                   CO          90006888151
2B327A1A351343   DAVINA       STACY                    OH          66034180103
2B327A6515B161   TAWANNA      WILSON                   AR          23002490651
2B32829785B167   BRANDON      PATTERSON                AR          90011432978
2B328437974B79   ELIZABETH    HIGHLAND                 PA          90011574379
2B32845A391522   ANDREA       LICON                    TX          90014674503
2B328A35791828   JASAM        MIRANDA                  OK          90013310357
2B328A8944B281   LARRY        GASTON                   NE          27017290894
2B329435A57157   HEREMIAS     BARRIOS                  VA          90014884350
2B329651485965   CAITLANDT    BILL                     KY          90011516514
2B329698491522   WREN         LEANNE                   TX          75065586984
2B329921691592   SERGIO       VALLES                   NM          90002839216
2B329978657157   DE ANA       COX                      VA          90007559786
2B32B152A81446   DAKOTA       LINDSTROM                PA          90014081520
2B32B49872B839   JOSE         VAZQUEZ                  ID          90006374987
2B32B54912B892   SOPHIA       GUAJARDO                 ID          42000765491
2B32B64919189B   NANCY        ARZOLA                   OK          90011226491
2B32B923287B87   MOSO         FOSTER                   AR          90011789232
2B32B962A9184B   JESSICA      MACIAS                   OK          90009859620
2B33116A171948   MARGARET     FERGUSON                 CO          90008811601
2B33118674B281   AMANDA       WAKEFIELD                NE          27011241867
2B33166717B323   MATTHEW      ALVERY                   VA          90005026671
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2B331961181446   JON             SLYE                  PA          90015089611
2B331A9569189B   SABRINA         SPENCER               OK          90013580956
2B3323A3671948   MARIA           HERNANDEZ             CO          90010413036
2B33262462B839   JOSE            CHI CORDERO           ID          90015216246
2B332918681668   MATTHEW         RAMIREZ               MO          90012509186
2B33314849184B   NATISHA         HALL                  OK          21003591484
2B333174584364   AMBER           JAMES                 SC          19009651745
2B33326632B892   JAME LARRY JR   SNELL                 ID          90004572663
2B333426485965   TONYA           DEITZ                 KY          66041784264
2B33352A672B98   FIDENCIO        HERNANDEZ             CO          90014185206
2B333838685938   QUENESHA        MCADOO                KY          90014548386
2B334451347952   BEATRIZ         ROQUE                 AR          90014944513
2B3344AA39184B   TRIKEISHA       CALLOWAY              OK          90014034003
2B3348A184B281   SAMUEL          BELTRAN               NE          90012528018
2B335131A84364   SHAVON          HEYWARD               SC          90011091310
2B33516A98B334   EMMA            GARY                  SC          90010031609
2B3353A1791522   CRISTINA        DIAZ                  TX          75024783017
2B335738987B21   KELLY           MITCHEL               AR          90015567389
2B335819487B59   CARL            JACKSON               AR          90010998194
2B335898A71923   JASON           PARRY                 CO          90012818980
2B33599179184B   COURTNEY        JAMES                 OK          90014299917
2B336169772421   ANTHONY K       KANKOSKI              PA          90005441697
2B3361A769794B   DESTINY         DIAZ                  TX          90014911076
2B33636972B839   ROBERTO         ARAIZA                ID          90013943697
2B33662A82B27B   OCTAVIUS        BOLER                 DC          90014756208
2B336829977355   NANCY           ROBLES                IL          20589258299
2B336893985938   CHARLOTTE       BUTLER                KY          67000488939
2B336A3734B588   DUSTIN          LEWIS                 OK          21579280373
2B337154147952   CHARLES         SHIRLEY               AR          24034881541
2B337381191522   LESLIE          MUNOZ                 TX          90011813811
2B337411191541   JUAN            ESTRADA               TX          90015134111
2B337456A5B161   RHONDA          ALARIAN               AR          90011814560
2B33771A72B892   JORDAN          REYES                 ID          90011827107
2B337847572B42   JORGE           SOTO-CHAVEZ           CO          90012088475
2B33791227B449   KENDLE          MCGILL                NC          90014819122
2B33834552B839   SKY             COSTEN                ID          90014773455
2B33844A191592   STEPHANIE       DELGADO               TX          90010274401
2B338644855931   ADELA           FREGOSE               CA          90001346448
2B33875A82B892   YVETTE          MUJAWAYUHI            ID          90012447508
2B33891319794B   DARRICK         HENDERSON             TX          90013829131
2B339167261995   MARIA           TREJO                 CA          90005361672
2B339281651343   MICHAEL         WALLACE               OH          90004932816
2B339AA599184B   JOSHUA          YOUNG                 OK          90010220059
2B339AA775B167   ROBERT          WEBB                  AR          23016390077
2B33B3A8A9794B   GRACIELA        RODRIGUEZ             TX          90012853080
2B33B435784364   SHALEKA         GATHERS               SC          90007004357
2B33B855887B59   JO              GREER                 AR          23039478558
2B33B876272421   MELISSA         JUKES                 PA          90014138762
2B341356785988   MARBELLA        GONZALES              KY          90013233567
2B34191227B449   KENDLE          MCGILL                NC          90014819122
2B341925141365   MICHELLE        JOHNSON               MA          90010879251
2B341992581637   JULIE           ELLISON               MO          90014189925
2B341A41591592   ESTER           CHAVEZ                TX          90011150415
2B34227674B588   KARKEN          MCCUTCHEN             OK          90001862767
2B342339191522   JO ANNE         GOMEZ                 TX          75085263391
2B34238A981637   BRITTANY        NUNEZ                 MO          90007693809
2B342772455957   JOSE CARLOS     CUERLLA               CA          90011877724
2B3427A2891592   FLORENCE        MYRA                  TX          75053407028
2B343423951365   JOEY            PORTER                OH          66053984239
2B343626531631   AUSTEN          WRIGHT                KS          22008726265
2B34372174B588   DOUG            RICHEY                OK          90015487217
2B34372217B449   MARIA           SAAVERDRA             NC          11065357221
2B343749391592   AUDON           ROSALES               TX          75065607493
2B34376114B261   ANGELA          VASQUEZ               IA          90011257611
2B3439A775B167   KELLY           MCCULLOCH             AR          90012909077
2B343A41657157   ALHAJL          CONTEH                VA          90014360416
2B34455528B334   NOEOMI          MORRISON              NC          90002505552
2B34512A64B261   WILLIAM         HENDERSON             NE          27015841206
2B34538138B334   QUA             RICHARDSON            SC          90003623813
2B34576479794B   EBONY           RAY                   TX          90014277647
2B345792787B21   TAMMIE          KEELING               AR          90015567927
2B34598164795B   JOSHUA          WILSON                AR          25066229816
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1502 of 2500


2B346289971948   KIMBERLY       MONGE                  CO          32067792899
2B346336455941   CRYSTAL        MOBLEY                 CA          90012823364
2B34651864B261   RILINDA        HELDART                IA          90014765186
2B346665A84364   YANETH         PAZ                    SC          90003176650
2B346789172421   NICOLE         WARSING                PA          90015137891
2B3468A7531453   TAYONDA        GARRETT                MO          27561598075
2B347131A84364   SHAVON         HEYWARD                SC          90011091310
2B347141585938   MICHAEL        CARTER                 KY          90011321415
2B3471A6651255   VENICIA        VELASQUEZ              KS          90014071066
2B3476A1491541   JOANNE         MUNOZ                  TX          90000146014
2B3477A2972B98   PRISILLA       FERRER                 CO          90011727029
2B34792774B281   ROSA ISELA     BENITEZ AVILA          NE          90014179277
2B34795485715B   EDELMIRA       SALAZAR                VA          90012319548
2B34812AA5B167   EDNA           PEEL                   AR          90007221200
2B34848225B356   SHARON         DIETER                 OR          44531294822
2B348528577568   MONIQUE        CRUZ                   NV          90014925285
2B348637A72B98   EDWARD         ROJAS                  CO          33041566370
2B348723455941   RIP            WASHINGTON             CA          90010037234
2B3487A8491592   CLAUDIA        LANDEROS               TX          90010627084
2B348982A47952   DAVID          ARENA                  AR          90013839820
2B348A99541245   ANNE           BEIBER                 PA          51039540995
2B34913159189B   CLARISSA       SCHMECKPEPER           OK          90014671315
2B34916262B931   DENNIS         LOVEALL                CA          90006451626
2B349232285988   APRIL          EXUM                   KY          90013242322
2B34928672B892   TERRY          STEELE                 ID          42048232867
2B3494A755B167   SHATIA         WARFIELD               AR          90005884075
2B349654155957   TINA           GARNICA                CA          90006046541
2B349736971948   ALEXANDER      TENNISON               CO          90014167369
2B349971755941   DEBBIE         WEST                   CA          90012129717
2B34B8A479184B   DIEMIEN        SHOPLICK               OK          90009368047
2B34BAA822B892   SHEILA         PRIVETT                ID          90014980082
2B351121185965   OLIVIA         DONEGAN CRROK          KY          90011091211
2B351152772B98   SUT            E                      CO          90012791527
2B351219872B98   BRIZA          MARTINEZ               CO          90014762198
2B3512A649794B   ALEJANDRO      MEDRANO                TX          90014172064
2B351418985988   NEVIL          BOND                   KY          67087824189
2B35143A591828   MARY           STUBBS                 OK          90009544305
2B35189165B271   T              DIRTY                  KY          68024988916
2B352159A91828   ERICA          DEMPSEY                OK          90010241590
2B3528A6A5B271   JOHN           DOEL                   KY          90014098060
2B352965891592   CLEOTILDE      CASAS                  TX          75094069658
2B353337585938   JOSE           NINO                   KY          90015153375
2B353742471948   ELIVIS         CALEDERON              CO          90014167424
2B35375685B167   LAMOND         JACKSON                AR          23084317568
2B35412A52B27B   ROSA           BARRERA                VA          90004521205
2B35427695B161   NICOLE         RELEFORD               AR          90009362769
2B354339881661   TIM            CLIFTON                KS          90015243398
2B3545A1855994   PINKIE         PIRTLE                 CA          90013375018
2B354851A4B281   JOSEPH         CONDE                  NE          90014188510
2B355232A84364   MARQUIS        JUDGE                  SC          19009622320
2B355414931631   RONALD         TWEED                  KS          90009654149
2B355617787B87   OSCAR          LEFLORE                AR          23051326177
2B355749471948   ELIZABETH      PORRAS                 CO          32040657494
2B355A83172B25   DEMETRIUS      STRONG                 CO          90010100831
2B356154272B98   NATALIO        ROMO                   CO          90013131542
2B35623635715B   JEANNETTE      OBANDO                 VA          90008282363
2B35646A351343   DAWN           SHORT                  OH          90013954603
2B3568AA147952   LETICIA        MARTINEZ               AR          24073588001
2B3568AA191592   SAWYER ELSA    ELSA                   NM          90007518001
2B35718684B592   CARNELIUS      SIMON                  OK          90014761868
2B357257291828   GUSTAVO        MORALES                OK          90003562572
2B3573A9991522   DANIEL         ALEMAN                 TX          75015353099
2B357854631453   CAROLYN        LOLLIS                 MO          90010288546
2B357864572B98   MA DEL ROCIO   GUTIERREZ-DAMIAN       CO          90012668645
2B357A3442B892   SAMUEL         COOPER                 ID          90013410344
2B357A37761982   ROBERT         BOLDEN                 CA          46041510377
2B358161555941   SANDRA         MARQUEZ                CA          49002371615
2B3582A264B261   MICHAEL        NOUN                   NE          90008182026
2B358456393754   ALISHA         WILLIAMSON             OH          90006694563
2B358947351561   MISTY          CARICO                 IA          90014629473
2B358A23191828   KIMBERLY       HOPE                   OK          90012050231
2B35913159189B   CLARISSA       SCHMECKPEPER           OK          90014671315
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2B35935534B261   BILLY JOE    PINALES                  NE          27008483553
2B359452772B98   JACKIE       HERRERA                  CO          90004794527
2B359584157157   VALENTIN     CASTANEDA                VA          81093375841
2B3595A9172B42   FELISHA      MALINOSKY                CO          33085195091
2B359654584359   EZETTA       GIBBS                    SC          90007766545
2B35981A55B167   TYRONE       HAYNES                   AR          90014378105
2B359A64985938   CALEB        GRIMES                   KY          90013190649
2B35B31665B271   EDWARD       MILLET                   KY          90001093166
2B35B559272B42   GABRIEL      ARELLANO                 CO          33024295592
2B35B61129189B   GRACIE       PARSON                   OK          21035376112
2B35B624831631   ALAN         MEYER                    KS          22003886248
2B35B88625B531   SHELIKY      SANCHEZ                  NM          90010748862
2B35BAA7A2B892   LAMBERTO     OVIEDO                   ID          90013320070
2B3612A162B27B   SHANNON      WALLACE                  DC          90004792016
2B36133A572B42   HEATHER      BANEULOS                 CO          90014623305
2B3613A615B259   MONICA       CARTER                   KY          68085583061
2B361486751343   EDGAR        ORTIS                    OH          90013954867
2B3617A7A7B471   WENDY        STEVENSON                NC          11048387070
2B36193934B281   MICHEL       PAYNE JR                 NE          90014179393
2B36197A44B261   IMELDA       BECERRIL                 NE          27015539704
2B361A85274B79   TARA         THOMAS                   PA          90010920852
2B362197172B42   KACY         MCMILLIN                 CO          90014841971
2B36226857B471   PEARLINE     HARRIS                   NC          90011702685
2B362362A7B449   MARIA        RODRIGUEZ                NC          11074473620
2B362647591592   JUAN         CASTILLO                 TX          90012866475
2B36285694B588   MARIA        AGUAYO                   OK          90011138569
2B36293665B167   CHRISTIE     RICHARDSON               AR          23062379366
2B36334A991582   RUBEN        ALMANZAR                 TX          90011183409
2B3633AA64B588   MARTHA       BORJAS                   OK          90009403006
2B36369525715B   AURELIO      ARIM                     VA          90012046952
2B3645AA74B281   TINA         RIEHLE                   NE          90002785007
2B364698151343   COURTNEY     FELDHAUS                 OH          90013086981
2B364779871948   BRENDA       CASTRO                   CO          90014167798
2B36511314B581   CALISTA      HULLETT                  OK          90011211131
2B36517544B521   JOSE         CASTILLO                 OK          90011221754
2B365364391828   MICHAEL      BENNETT                  OK          90013163643
2B365376372B98   TAMARA       MYERS                    CO          90001183763
2B36545954B281   JANO         AHMED JAMA               NE          90011644595
2B3657A9281637   SAMUEL       ARELLANO                 MO          90013247092
2B36582219189B   KELLY        DENNISON                 OK          21000298221
2B36588A74B245   ROSENNE      OLSON                    NE          90010218807
2B36589535715B   ANTONIETTE   JONES                    VA          90010058953
2B3659A167B639   GEREMIAS     HERNANDEZ                GA          90006429016
2B36616262B931   DENNIS       LOVEALL                  CA          90006451626
2B36627695B167   JOSEPH       HOLLIS                   AR          23098002769
2B366296A4B261   RICHARD      PHILLIPS                 NE          90011032960
2B3662A6772421   ANGELA       LAMBERSON                PA          90005542067
2B36639A172488   EMILIE       GREINER                  PA          90011413901
2B36646649184B   LUIS         SOLIS                    OK          90009964664
2B366A44185988   BRITTANY     SHINDLEBOWER             KY          90015310441
2B36716433B275   LAMIKA       DOBSON                   DE          90009881643
2B36746454B261   JUAN         GUEVARA                  NE          27035134645
2B367569584344   CORDERRIO    WILLIAMS                 SC          90014155695
2B3675A949184B   GAIL         WRIGHT                   OK          90000695094
2B367829387B21   VALARIE      CLIFTON                  AR          90014308293
2B367A42871948   IVAN         ARMENTA                  CO          90013070428
2B368169191528   MARCOS       GONZALEZ                 TX          75014781691
2B36834355B167   RICKEY       BOWDEN                   AR          90014873435
2B368792787B59   SHASHANA     WARFIELD                 AR          23028747927
2B36885687B449   MARTAYZA     BARNES                   NC          90006168568
2B368A9359189B   DAVID        BICKLE                   OK          21070230935
2B36922135593B   GABRIEL      MARTINEZ                 CA          90004732213
2B3693A125B255   KELLY        STITH                    KY          90013693012
2B36969754B281   TANEA        HOLT                     NE          90008106975
2B3698A3A91525   COUNTS       ROBERT                   TX          90004118030
2B36B22968B137   JENNIFER     BARNES                   UT          31033122296
2B36B68362B839   AGUSTIN      OLVERA                   ID          90012326836
2B36B732491541   TANYA        KENNEBREW                TX          90009887324
2B371A21593773   ZACHERY      KILBY                    OH          90009070215
2B372153A93773   JESSICA      JOHNSON                  OH          64515641530
2B372462271948   CHERIE       CLARK                    CO          90006794622
2B372669A2B892   JULIE        WALLACE                  ID          90013076690
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2B373143A51343   LACRESA       THOMPSON                OH          90005241430
2B3732A3341245   SHARON        KNIGHT                  PA          90000382033
2B37341859794B   MARIO         CAMACHO                 TX          90006524185
2B373852187B59   BARBARA       BESS                    AR          23069898521
2B373888491528   VICK          ZEPEDA                  TX          90005918884
2B374122157157   ROLANDO       HIPOL                   VA          81027921221
2B3741A8191522   VALERIE       ALVARA                  TX          75008801081
2B37431884B588   MICHAEL       GUTIERREZ               OK          21551753188
2B37449A891522   HAGCO         REYES                   TX          90004954908
2B374672672B98   JUDY          MORGAN                  CO          33070646726
2B3747A1991B35   REYMUNDO      LOPEZ                   NC          90015417019
2B3748AA191592   SAWYER ELSA   ELSA                    NM          90007518001
2B374948147952   ELIZABETH     LINCKS                  AR          24000149481
2B374989785988   RIGOBERTO     LOPEZ                   KY          90005579897
2B37499862B839   NEVA          NOE                     ID          90012409986
2B374A35A2B839   NEVA          NOE                     ID          90014000350
2B37559298B17B   STEFFEN       SOLLER                  UT          90010415929
2B375598791592   MIKE          MARTINEZ                TX          75006075987
2B37569314B281   JOHNARIA      ELLINTON                NE          27089066931
2B37591329184B   MARISSA       MILES                   OK          90005439132
2B375989871948   MICHAEL       ZAPATA                  CO          32042869898
2B375A11193767   SHANIECE      EVANS                   OH          90004970111
2B375A86885988   JENNIFER      ISAACS                  KY          67032310868
2B376144181661   ASHLEY        INGELS                  MO          90002641441
2B376441487B59   TRUMORROW     RAINY                   AR          23005134414
2B376669A2B892   JULIE         WALLACE                 ID          90013076690
2B37667164B588   STORMY        WALKER                  OK          90013786716
2B3766AA35B161   ASHLEY        HARRIS                  AR          90011816003
2B37681779184B   EDDIS         FRAIRE                  OK          90010368177
2B376A76A31453   SHANICE       GRANT                   MO          27581970760
2B377137771948   DAVID         HARRIS                  CO          90012471377
2B37733469184B   BARBARA       ARTHUR                  OK          90014263346
2B377339685988   CHARLES       VANCLEVE                KY          90013413396
2B3775A8257157   RICHY         SMITH                   VA          90015035082
2B377669A2B892   JULIE         WALLACE                 ID          90013076690
2B378198255957   GABRIEL       AYALA                   CA          90007611982
2B378218431631   SHEILA        MORENO                  KS          22014442184
2B37826417B699   TAWANA        RAGLAND                 GA          15055142641
2B378475A87B21   THOMAS        ANDERSON                AR          90013874750
2B378673681637   KIM           MARTIN                  MO          29013796736
2B378727355957   GABRIEL       AYALA                   CA          90012157273
2B37875865715B   OMAR          CANALES                 VA          90012797586
2B3792A855B271   MICHELLE      WARR                    KY          68013252085
2B379327171948   MAGALI        DIAZ                    CO          90006803271
2B37936669794B   THERINA       TAYLOR                  TX          90007653666
2B3793A2855941   ERIBERTO      GUZMAN                  ID          49024653028
2B3793A7291522   JORGE         COBIAN                  TX          75017853072
2B37941195B571   ESCAMILLA     ALEJANDRA               NM          90007194119
2B379729774B79   BYRON         SEGLE                   OH          51083797297
2B37995139189B   OTILIA        BAUTISTA                OK          21015669513
2B37B33957B471   EBONIE        MOODY                   NC          90007053395
2B37B41744B267   PAUL          FISCHER                 NE          90004004174
2B37B53A987B59   SYLVIA        JONES                   AR          90014315309
2B37B862451361   AMANDA        WORKMAN                 OH          90010568624
2B38116284B588   LEEMARCUS     GROVE                   OK          90012721628
2B381388191592   LUIS          DIAZ                    TX          90012833881
2B38151317195B   ANTHONY       WARFIELD                CO          90010265131
2B3817A994B281   JAYMIE        FOYNN                   NE          90009967099
2B381889887B59   ANGEL         PREE                    AR          90010108898
2B38194A74B245   JERRET        POINTS                  IA          90009679407
2B381A43241245   ELIZABETH     SIWO                    PA          51087900432
2B382117731694   ELEUTERIO     MEDEROS                 KS          22051491177
2B3821A915B271   JULIE         PETERSON                KY          68084071091
2B38224514B261   RICHARD       ROGERS                  NE          27016072451
2B382356691592   CRISTINA      BUSTAMANTE              TX          90014813566
2B3826AAA4B281   MARIA         BOJORQUEZ               NE          27085896000
2B382A59651343   LISA          ROSS                    OH          90012970596
2B382A79A85938   HEATHER       HILTON                  KY          67056850790
2B383157A9189B   MARIA         LUCENA                  OK          90014671570
2B383264381661   CHRISTOPHER   YOUNG                   MO          90012092643
2B383316191592   JOSE          LOPEZ                   TX          75095623161
2B383429A72421   DONNA         JACK                    PA          51067854290
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2B383745431453   MONICA         LEGGETTE               MO          27564637454
2B383885791828   SHAWNA         BRIDGES                OK          21094278857
2B38397A24B245   MANUEL         BRAVO                  NE          27023929702
2B3842A3A7B449   JOANA          ESCOBAR                NC          90005382030
2B3844A8881637   STEPHEN        JOHNSON                MO          90013634088
2B384647387B59   DANTRIONE      MIXON                  AR          90012266473
2B38526A72B892   SEAN           ROSADO                 ID          90013452607
2B38542785B167   CASEY          THOMAS                 AR          90014364278
2B385772174B79   TERRI          SHRIVER                OH          90011997721
2B38584827B471   JUAN           ANDRADE                NC          90010818482
2B385868591522   GILBERT        CANALES                TX          75065918685
2B386197891522   OSCAR          GUERRERO               TX          90010111978
2B386533872B98   PAUL           WILLIAMS               CO          90014185338
2B386766931453   KAREN          MCKINNEY               MO          90014957669
2B38696534B588   CATHALEEN      BOWEN                  OK          90009769653
2B386A1A39184B   MARK           CUSTER                 OK          90009150103
2B38715449184B   BROOKE         WASHINGTON             OK          90014741544
2B387573172421   JEFFREY        STEIN                  PA          90014165731
2B3875A4A9184B   RITCHIE        GRIFFIN                OK          90014715040
2B387A18191592   ELIZABETH      GUTIERREZ              NM          90014650181
2B388217A47952   ERIC           MOORE                  AR          90012242170
2B3882A517B425   MARIA          BOL                    NC          90013872051
2B3882A6872421   ROBERT         HOLT                   PA          90006832068
2B388745651343   ANTHONY        SHARP                  KY          66040237456
2B388A67491592   FRANK          TONCHE                 TX          90014560674
2B388A88972421   MISTY          JOHNS                  PA          90015200889
2B389824887B59   MARCUS         DAVIS                  AR          90010998248
2B389A19972421   KENYOTTA       HEADEN                 PA          90014100199
2B389A31491522   DAVID          ACEVEDO                TX          90012650314
2B389A76781637   SANDRA         CAMPOS                 MO          90005630767
2B38B533872B98   PAUL           WILLIAMS               CO          90014185338
2B38BA39787B59   LATORYA        JACKSON                AR          90010380397
2B39124A877523   CODY           GALLEGOS               NV          90006442408
2B39142892B892   DAVID          BANKS                  ID          42041054289
2B391469A4B261   JUAN           GURROLA                NE          27091064690
2B391631271221   LETICIA        RAMIREZ                IA          90013946312
2B391778172B98   PAULA          FLORES                 CO          33071767781
2B3917AA72B827   ANTONIO        MENDOZA                ID          90011117007
2B391826554191   TIM            LASBY                  OR          90014758265
2B391A33691828   TIMOTHY        HAMILTON               OK          90013650336
2B39233A84B588   LINDAKAY       HOWELL                 OK          90008053308
2B39299915B161   JENN           JOHNSON                AR          23068919991
2B393157A72421   MICHAEL        MILLS                  PA          90014181570
2B39353528B334   MIGUEL ANGEL   ROJAS ROJAS            SC          90013175352
2B393736551343   JORDAN         BALDRICK               OH          90013307365
2B393A92187B21   DEMETRIUS      LONG                   AR          90015610921
2B39411964B588   JOHNNY         HILL                   OK          90013061196
2B394192A7B449   CHARLENE       HOWIE                  NC          11090911920
2B3943A1591582   ERNESTO        SALAS                  TX          90000383015
2B39461577B699   GABRION K      MYERS                  GA          90011086157
2B39461965715B   ANTULIO        LOPEZ                  VA          81010526196
2B39525A381637   RICHARD        BETTS                  MO          90011322503
2B395299255957   MARIA          SEGURA                 CA          90010542992
2B395858397173   JUANA          ALVARADO               OR          90012668583
2B395932691525   CARLOS         ALVARADO               TX          90003359326
2B395AA685715B   VENUS          BATTLES                VA          90012320068
2B39613987B699   TIMOTHY        ALEXANDER              GA          15010311398
2B39638A79189B   JEREMIAH       NORTON                 OK          90005363807
2B397271591592   JOAN           CLARY                  TX          90005642715
2B397343381661   FRANCES        PICKINS                MO          29058663433
2B397534991541   JAIME          ERNANDES               TX          90012145349
2B39769175715B   RUSSELL        JOHNSON                VA          90012086917
2B397726685938   CESSIE         COFFEY                 KY          90003327266
2B39788A987B21   JOCELYN        WATHERFORD             AR          90015248809
2B398756584364   ROBERTO        GONGORA                SC          90015037565
2B398761171948   MARTIN         LOPEZ                  CO          90012777611
2B398852172B42   MICHAEL        GOLDMAN                CO          33076418521
2B3989A959794B   ERAIZA         ROJAS                  TX          90015179095
2B39912794B261   ASHLEY         CRADDOCK               NE          27063821279
2B399295755941   MARVIN         DAVIS                  CA          90011982957
2B399362A85988   ARMONTY        ENGLISH                KY          90014773620
2B39956512B892   CORI           HANSEN                 ID          90007965651
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2B39964238B17B   JONATHAN     LUTTRELL                 UT          31087266423
2B399829791592   CARLOS       VALADEZ                  TX          90002068297
2B399A99972421   STEPHEN      ROBERTS                  PA          90010570999
2B39B5A6557157   JOSE         PALACIOS                 VA          81039065065
2B39B67628B137   SHELLY       PAY                      UT          90015116762
2B3B1272A5B167   NORA         CHAVEZ                   AR          23055012720
2B3B1496274B79   COREY        SMITH                    OH          51082614962
2B3B234555B167   TABITHA      MCCAULEY                 AR          90013833455
2B3B238A981637   BRITTANY     NUNEZ                    MO          90007693809
2B3B2412671948   ABRAHAM      AVILA                    CO          32049264126
2B3B2962172B98   ROSA         GUARDADO                 CO          90012859621
2B3B315884B588   VICENTE      IBARRA                   OK          21502061588
2B3B3239484364   LETICIA      TENORIO-REYES            SC          90015022394
2B3B3424672B42   BRIAN        BILEK                    CO          33037934246
2B3B363126147B   JOSEPH       MILLER                   OH          90014236312
2B3B3A8724B281   CALEB        LONG                     NE          90014170872
2B3B4177A4795B   COLBI        LASITER                  AR          25080971770
2B3B47A2791541   ELIZABETH    FALLON                   TX          90008787027
2B3B4895A87B59   BRITTANY     GATEWOOD                 AR          23068438950
2B3B4983672B42   ANGELO       MARTINEZ                 CO          90014799836
2B3B5539184364   ANDREW       JOSEPH                   SC          90008335391
2B3B5639655957   YESNIA       ESPINOZA                 CA          90012666396
2B3B5844191828   ELOISA       GARCIA                   OK          21063688441
2B3B5861987B87   LARRY        TATE                     AR          23052288619
2B3B5A7195715B   PATRICIA     LOPEZ                    VA          81011390719
2B3B6178291528   JORGE        GONZALEZ                 TX          75009171782
2B3B6237655941   FEDERICO     RODRIGUEZ                CA          90014262376
2B3B6256991592   LEONARDO     POGGIO                   TX          75053812569
2B3B6665391828   NOEL         LEMBKE                   OK          90003616653
2B3B69A659189B   NICOLE       STANFORD                 OK          21065639065
2B3B7142971948   SANDRA       CAULEY                   CO          32037811429
2B3B71A2885938   CRYSTAL      SPILLMAN                 KY          67019301028
2B3B72A9187B59   SCHERRIE     PARKER                   AR          90014522091
2B3B7947785965   THOMAS       MCGOY                    KY          90009059477
2B3B81A9193773   JOHN         SCROGGINS                OH          64596811091
2B3B825A94B588   SHERRY       WEBSTER                  OK          90014582509
2B3B8AA9172B42   JESSIE       CRAWFORD                 CO          33045560091
2B3B921555B271   ANDREA       SMITH                    KY          90011392155
2B3B9228155957   EMC          MINOR                    CA          90001492281
2B3B9468893773   ALYSA        PRICE                    OH          90011004688
2B3B9692191522   YOLANDA      ESTRADA                  NM          90010576921
2B3B983784B281   JON          ORDUNA                   NE          90014868378
2B3BB116591541   ELSA         MACIAS                   TX          90011261165
2B3BB4A734B588   KEVIN        CHANDLER                 OK          90010704073
2B3BB764384364   CAROLINE     HUTCHINSON-REID          SC          19006617643
2B3BB88A38B334   KAREN        RAMOS                    NC          11016428803
2B3BB946891522   JESUSQ       RUIZ                     TX          90012909468
2B3BB983251336   KAYLA        FLETCHER                 OH          90011389832
2B41134565B271   IZAIAH       MASK                     KY          90009193456
2B4116A387B429   TAMMY        MEDLIN                   NC          90011376038
2B411781451343   TONY         SUTTON                   OH          66015717814
2B411877972B42   TRACY        BOYCE                    CO          33081708779
2B411A35A91997   JOEL         LAZALDE                  NC          90005160350
2B411A56A85965   ROGER        KEENEY                   KY          90012190560
2B411A81A91828   KEISHONNA    JACKSON                  OK          90009740810
2B412125391541   MELIZA       GUYE                     TX          75088801253
2B412249184364   LATHRONA     JOHNSON                  SC          90011092491
2B412325493773   JASON        REED                     OH          90004043254
2B412954787B59   ERICA        LEMONS                   AR          90014569547
2B4129A4681661   MARCIA       VANDERGRIFF              MO          29066999046
2B412A21491828   SHANNON      MACE                     OK          90013540214
2B41341145B271   TINA         HUNT                     KY          90010814114
2B41344A372B98   CHRISTIANA   BUTLER                   CO          90010484403
2B41347957B699   MICHAEL      BIEBER                   GA          15002414795
2B413762A9184B   MARIO        RIOS                     OK          90004157620
2B413873391241   MITRIA       MOBLEY                   GA          14514718733
2B413956787B59   CYNTHIA      JOHNSON                  AR          23090279567
2B413A26872471   GERALD       CRISPIN                  PA          90007970268
2B414118791241   JOHN         PATRICK                  GA          90013441187
2B41412A52B892   JOSE         VALDIVIA                 ID          42064481205
2B4141A5593753   LUCIEN       WRIGHT                   OH          90013931055
2B41441A99794B   DEMETRIA     GRAY                     TX          90008344109
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2B414539455941   CORINA            VERCHER             CA          90004545394
2B41453974B281   ROXANA            MARITZA             NE          90011645397
2B414A3954B281   CRISTIAN          DE LA CRUZ          NE          90014180395
2B4153A3257157   ANTHONY           RAMIREZ             VA          90005813032
2B415467571948   BRENDA            BOND                CO          90009654675
2B415589A72B42   WILLIE            HAGER               CO          33053645890
2B4156AA691522   MONICA            BELTRAN             TX          90010636006
2B41659985B161   DERRON            KING                AR          23072625998
2B41664A385988   CHRISTIAN         GLOVER              KY          90014986403
2B41671435B167   JENNIFER          ROBIN-SETTLE        AR          90010807143
2B41672448B17B   LORI              WHITE               UT          90003067244
2B416728851343   LASHAUNA          CONYERS             OH          90013097288
2B41718768B17B   JENNIFER          CHRISTEN            UT          31057871876
2B41719154B261   WILLIAM           RAMSEY              NE          27075041915
2B41728252B892   MARIA             LOPEZ               ID          90004002825
2B417343955957   TRACY             MCWILLIAMS          CA          48050123439
2B41755548B168   CATHY             HARRIS              UT          90006775554
2B417764872B42   ANTONIO           HILL                CO          90014757648
2B41779349794B   MOHAMMADMEIHDI    SHAFIEE             NC          90008647934
2B41781565715B   EMILIO            HERNANADEZ          VA          90011698156
2B417A46251336   SHANE             COLWELL             OH          90012330462
2B419143785988   CASSANDRA         BLAIR               KY          67091061437
2B41949A647952   GERARDO           GONZALEZ            AR          24002984906
2B419762A9184B   MARIO             RIOS                OK          90004157620
2B419772557157   PAYGO             IVR ACTIVATION      VA          90015537725
2B419835771948   AMANDA            MEYER               CO          90012788357
2B419935272421   JASON             RUTAN               PA          90010579352
2B419A3565B232   BRITTNI           SMALLWOOD           KY          90012650356
2B41B434271948   TIA               LEVY                CO          90011264342
2B41B794287B87   ERIC              PATTON              AR          90011837942
2B42127325B271   MICHAEL           SMITH               KY          90011862732
2B4215A647B449   JANICE            JONES               NC          90013315064
2B421821271925   NATALIE           LUJAN               CO          90007398212
2B42194A54B588   JEREMY            BUTLER              OK          90015139405
2B422634752B27   KYRA              NIETO               AZ          90012716347
2B42265369184B   JUAN              CERDA               OK          90014886536
2B42269AA51343   NICK              REED                OH          90003036900
2B422723131631   ANGEL             MAIN                KS          22010087231
2B42275329794B   NADIA             GALVAN              TX          90014957532
2B423144391592   MELENDEZ MARTHA   O                   NM          90003711443
2B423228985938   SHAVANNA          FAULKNER            KY          90014562289
2B423714881637   HILDA             GOMEZ-MARTINEZ      KS          90013697148
2B423836A87B21   FRANCES           BASS                AR          28058958360
2B423864271948   RAUDEL            CORONADO            CO          90013458642
2B42411555B161   PT                LA QUE BUENA        AR          90007131155
2B4246A834B245   JESAMARI          HERNANDEZ           NE          27082986083
2B424752284364   NAOMI             WYNN                SC          90005137522
2B42478148B17B   TOBIAS            WALDEMAR            UT          90005027814
2B42498A29184B   ALONZO            SHEPHARD            OK          21092439802
2B424A75491828   JESSICA           ROGERS              OK          21085040754
2B425267551336   NEIL              ISRAEL              KY          90015542675
2B425373487B21   CHALEA            TINER               AR          28050973734
2B426271872B98   DAVID             GUERRERO            CO          90005032718
2B42644A991592   JUANA             MARTINEZ            TX          90012424409
2B42646A257157   JAMES             JHONSON JR          VA          90014014602
2B426A3A691541   HECTOR            DE LA CRUZ          TX          75002060306
2B426A59571948   FABIAN            WOODS-ALANIZ        CO          90006270595
2B42736368B334   DENNIS            JEFFERIES           SC          90011193636
2B427634391541   VICTOR            ARANDA              TX          75062946343
2B42778A891592   HIGINO            CEDILLO             TX          90012037808
2B427A1AA5B271   EDITH             NDIAYE              KY          90013710100
2B428151157157   SHONDA            WILLIAMS            VA          90014721511
2B428492A84364   SELENA            WILLIAMS            SC          90014004920
2B42849639189B   DAWN              HELTON              OK          21087674963
2B428497491592   CHRISTOPHER       MEZA                TX          90015304974
2B42899954B281   CASEY             CADDELL             IA          90009249995
2B429154A2B839   JERRY             COOKSON             ID          90004831540
2B42936139794B   MELENDEZ          GEORGE D            TX          74029023613
2B429462771221   DANIELLE          BLISS               IA          90013954627
2B429785551343   OSCAR             MEJIA               OH          90013087855
2B42B161531453   MODESTA           PERALES             MO          90003291615
2B42B168A2B892   AUGUST            MOSER               ID          90009251680
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2B42B1A7972B98   CELESTE       BALDERRAMA              CO          90014231079
2B42B27959189B   ERIKA         HERNANDEZ               OK          90014882795
2B42B39A551561   MERICA        ROBBINS                 IA          90014633905
2B42B79895B167   FRANCINE      BILLINGS                AR          90008307989
2B42B84138B17B   JARED         ANDERSON                UT          90009868413
2B42B85577B699   TARA          PATTERSON               GA          90006008557
2B42BA4634B281   KRISTOPHER    KNIGHT                  NE          90014180463
2B43149A89379B   LATONYA       JONES                   OH          64575164908
2B431A4877B449   MICHAEL       PROWELL                 NC          90014870487
2B432457291828   ELIZABETH     CHALAKEE                OK          90011144572
2B43271A351388   MARIA         MARTINEZ                OH          90010137103
2B432727A84364   MAURO         CRUISINBERRY            SC          90015287270
2B432868691241   TORRIS        SMITH                   GA          90005738686
2B43351144B588   PERLA         SALAZAR                 OK          90008785114
2B433939684364   CHARLES       WASHINGTON              SC          90015119396
2B43414352B839   RICK          STEFFENS                ID          42097301435
2B434387655957   SHEILA        COX                     CA          48075163876
2B43439485715B   LINDSAY       POINELLI                VA          90013553948
2B434588472B42   MANUEL        VILLANUEVA BUSTILLOS    CO          90013045884
2B434764281661   ANESHA        SIMMONS                 MO          29023387642
2B43494A74B588   MARIA         SANROMAN                OK          90015139407
2B43498485B531   JOSE          CASTILLO                NM          35085459848
2B43531617B471   NORMA         MENA                    NC          90011313161
2B435563555941   AMANDA        NAYELI                  CA          90011085635
2B435586191592   VICTOR        GRAJIOLA                TX          90004765861
2B43578892B892   JOSHUA        KILLEBREW               ID          90013077889
2B435893751336   LAVONDA       MILON                   OH          90013878937
2B43615425B167   TINA          TOWNSEND                AR          90014961542
2B436494855957   MARIA         CARDENAS                CA          90004684948
2B436533885938   PORSCHE       CARTER                  KY          67037665338
2B43658827B471   JAMES         HARRIS                  NC          90014095882
2B43682472B892   PAYGO         IVR ACTIVATION          ID          90013078247
2B43684665715B   NANCY         TALBERT                 VA          90011698466
2B43697392B931   LYNN          TAYLOR                  CA          45031119739
2B437173A72B42   MICHELLE      VELASQUEZ               CO          33050041730
2B437532787B21   ANTHONY       WRIGHT                  AR          90015425327
2B437771831453   LESLIE        WHITE                   MO          90009157718
2B438445A61986   JUDITH        MARTINEZ                CA          46073424450
2B43849214B281   ANGELA        DANIELS                 IA          90013114921
2B438568172B98   MARIBEL       VILLA                   CO          90014185681
2B439168A2B892   AUGUST        MOSER                   ID          90009251680
2B439246471948   BRIAN         MACKES                  CO          90013402464
2B4392A3987B21   KATRINA       LAWSON                  AR          90007682039
2B43971785B344   TONY          RODRIGUEZ               OR          90008367178
2B43B14478B334   TONYA         THAMAS                  SC          90012831447
2B43B515291541   AMANDA        OLIVAREZ                TX          90014075152
2B43B65695715B   NESTOR        HERNANDEZ               VA          90005516569
2B441324187B21   JIMMY         STALLCUP                AR          90014913241
2B441517257157   JUAN CARLOS   DE LEON                 VA          90013265172
2B44163317B449   LAURA         SALGADO                 NC          11032246331
2B441886191541   VIVIANA       ALVIDREZ                TX          75017908861
2B4418A6772B42   REBECCA       HERNANDEZ               CO          90009238067
2B442387755941   MONIQUE       MARTINEZ                CA          90014793877
2B442419284364   PAMELA        GRAHAM                  SC          90012934192
2B4425A663B388   IAN           CANDELARIA              CO          90006365066
2B443622851343   LINDA         DIXON                   OH          66098666228
2B4437AA687B59   LISA          HIGGINS                 AR          23068087006
2B443815955957   KELLY         BROWN                   CA          48086098159
2B443834591828   CONNIE        EVANS                   OK          90011068345
2B44393227B471   LUIS          CAMPUZANO               NC          90002049322
2B44426A951343   RONALD        DUNCAN                  OH          90004892609
2B44475449794B   LUCIANO       OLALDE                  TX          90015267544
2B444814851336   SAMANTHA      DUFFUS                  OH          66005968148
2B444A31791592   RAUL          GARCIA                  TX          90013220317
2B44514478B334   TONYA         THAMAS                  SC          90012831447
2B445617584364   LEE           POWERS                  SC          90012626175
2B44564978B334   ALISHA        WEATHERS                SC          90013376497
2B44587184B28B   DEREK         WILLEFORD               NE          90010908718
2B445952257157   JOSE          TORRES                  VA          90011049522
2B44599AA5B271   DESIREE       INGRAM                  KY          90013609900
2B445A2112B892   JAMES         HIXON                   ID          90013090211
2B446429141286   STEPHEN       GALASKI                 PA          90013314291
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2B44656694B588   EBONY            SAMPLE               OK          21548765669
2B44657622B892   BLADIMIR         MASCORO              ID          90015035762
2B446611991952   GERTRUDE         MERRITT              NC          90011166119
2B446668331433   WANDA            DONALD               MO          27587746683
2B446685291522   SYLVIA           AGUIRRE              TX          75090696852
2B44686999794B   JUAN FRANCISCO   CXAJ                 TX          90014038699
2B4469A5181637   SALVADOR         RAMOS                MO          90004969051
2B446A5554B261   JOSE             CHICAS               NE          90000450555
2B447256472B42   MELANIE          HICKMAN              CO          90010012564
2B4472A3987B21   KATRINA          LAWSON               AR          90007682039
2B44733A16195B   MARGARET         SMITH                CA          46057233301
2B44778594B588   FORREST          REDDING              OK          90002767859
2B44782195B167   JOHSUA           HAMMOCK              AR          90014578219
2B447922A5B271   DOROTHY          PEOPLES              KY          90013079220
2B447925671948   CHRIS            MANN                 CO          90012419256
2B448675847952   EVELIA           KING                 AR          24000656758
2B448A9374B281   EVER             GONZALE              NE          90009810937
2B449136A2B839   CHARLES          WILSON               ID          90011661360
2B44937914B281   RICHARD          MCGEORGE             IA          27093363791
2B44976547B449   JOSE             SAVEDRA              NC          90009047654
2B44984359189B   CHRIS            MAXWELL              OK          21002508435
2B449858247952   DARYL            BIGELOW              AR          90013118582
2B44B36368B334   DENNIS           JEFFERIES            SC          90011193636
2B44B69992B839   BRENDA           LAGUNAS              ID          90007796999
2B44B7A6755957   PATRICIA         HILL                 CA          48066737067
2B451521371948   GIORGIO          LAVIGNE              CO          90015125213
2B45215A391541   CECILIA          MARTINEZ-AMAYA       TX          90014281503
2B452187991528   FRANSISCO        SAPIEN               TX          90001761879
2B452372991828   JANI             BLAKESLEY            OK          90012833729
2B45241A291522   WRIGHT           CLAY                 TX          90010944102
2B45244565B531   LILENY           RODRIGUEZ            NM          90005924456
2B45269884B261   MARSHAL          SMITH                NE          90008306988
2B452997281661   JORDAN           COBIAN               MO          90012379972
2B4529A818B334   ATENOGENES       LEON                 SC          90012799081
2B452A97987B87   BREONNNA         JOHNSON              AR          90012570979
2B453186531453   LAKRESHA         MOZEE                MO          90014301865
2B453261657157   MELODY           PARKER               VA          90008042616
2B45333184B261   DANIEL           POLAN                NE          90014643318
2B45361355B571   DENIELLE         GALLEGOS             NM          90013456135
2B45382747B33B   MIGUEL           GUEVARA              VA          90011578274
2B453964A2B839   JESSICA          GOMEZ                ID          90012349640
2B4539A3685965   BILLY            MCMILLIAN            KY          90007959036
2B454684381637   DANNY            HOOD                 MO          29094276843
2B454687181661   JASMINE          PRECIADO             MO          90014816871
2B454724347952   MERLIN           DURAN                AR          90013687243
2B455284231453   LASHONDA         THURMAN              MO          90005012842
2B455411651336   ASHLEIGH         SCHWARM              OH          90012834116
2B455449A91522   BRIDGET          OLARIBATA            TX          90010344490
2B45548274B588   DYNITA           LUKE                 OK          90011704827
2B455586287B59   EMMA             MCBRIDE              AR          23073465862
2B455694455957   PEGGY            OLEA                 CA          48084326944
2B455A6848B17B   CARROLL          MUSSECH              UT          90006890684
2B456258484364   JALEESA          YOUNG                SC          90010212584
2B45632967B471   PABLO            VARELA               NC          90013963296
2B456929287B59   DOMINIQUE        SHORTER-FOOTS        AR          90005429292
2B45716414B281   MARIA            LOPEZ                NE          90011821641
2B457232381637   ANTHONY          JAMES                MO          90008692323
2B457343584364   JORGE            LOPEZ                SC          90009593435
2B45746925B167   DEANNA           NUNLEY               AR          90013074692
2B457627724B55   TIFFIANY         SUMTER               VA          90013496277
2B45775738B17B   DELFINA          LOPEZ                UT          90009237573
2B45855318B334   ANTONIO          SORCIA               SC          11073385531
2B458637481661   JOSE             RAMIREZ              MO          90013556374
2B45885962B839   MATT             FORSBERG             ID          90014428596
2B4589A8291541   JESSICA          GUERRERO             TX          90010029082
2B458A29A51561   TIRHAS           GEBREJENSAI          IA          90015140290
2B459158697949   JULIE            GONZALES             TX          90013601586
2B45972359794B   DIANE            DAVIS                TX          90000107235
2B459936291528   SERGIO           BLANCO               TX          90003539362
2B45B26843B39B   TRAVIS           JOHNSON              CO          33064532684
2B45B28695B571   ROSA             REYES                NM          35057562869
2B45B46862B839   ANNIE            NICKEL               ID          42082684686
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2B45B475887B21   ALLEN        GIVENS                   AR          90015424758
2B45B652671945   ANA          VIDAL-GOMEZ              CO          90008046526
2B461177741252   SHAQUESE     KELLEY                   PA          90014851777
2B461219A5B167   CHRISTOLYN   BROWN                    AR          90007822190
2B461518A9189B   TAMMY        REATHER                  OK          90014715180
2B461555291592   JOSE         ORONA                    TX          90014715552
2B46218AA4B281   LUIS         MARTINEZ MONTELONGO      NE          90014181800
2B462755891997   KARINA       SANTILLAN                NC          90007747558
2B462888171948   TJ           TURNER                   CO          90012798881
2B462A42457157   KENNETH      TIMMONS                  VA          90014360424
2B463285251336   CARLA        BROWN                    OH          66069472852
2B463382781661   BROOKE       ROSS                     MO          90011513827
2B46345648B334   LILIANA      ROMERO                   SC          90014064564
2B463515884364   HERMELINDA   RODRIGUEZ                SC          90015165158
2B46358969189B   ASHLEY       HAMILTON                 OK          90014695896
2B46376637B449   GUADALUPE    MATA                     NC          90014877663
2B463928A8B17B   RONALD       LAMAR                    UT          90010579280
2B46412584B521   MARICELA     HERRARA                  OK          90001571258
2B464164384364   JENA         BROWN                    SC          90014271643
2B464237A61921   ROJ          ALI                      CA          90006832370
2B46425962B839   JASON        LOPEZ                    ID          90011612596
2B464566472B42   JOSEPH       SAMPSON                  CO          90002755664
2B46551315B161   JERRY        BOSWELL                  AR          90010325131
2B46656149189B   APRIL        SNELL                    OK          21059415614
2B46658979189B   VIANEY       NIETO                    OK          90014695897
2B4665A155B167   REGINA       REAVES                   AR          90011895015
2B4665A373145B   DANA         YOUNGBLOOD               MO          90013085037
2B4666A1185988   BILL         UNSELD                   KY          67037326011
2B466969271958   OTIS         WILLIAMS                 CO          90000959692
2B466A97591541   MARIA        MARIN                    TX          90011540975
2B467557A31631   JAMELE       HILL                     KS          90012525570
2B46759A29189B   KAILEY       GUEST                    OK          90014695902
2B467724461877   ORIELLE      MORRISON                 IL          90015357244
2B4678A1651336   LAKEIYA      JENNINGS                 OH          90009468016
2B4679A5385988   TARA         BEATTY                   KY          90010899053
2B468194A4B261   BOB          BULLER                   NE          27000861940
2B468224991592   DAVID        OLIVER                   TX          90015102249
2B46845224795B   JENNIFER     DUNN                     AR          25008024522
2B469135141295   KEVIN        BROWN                    PA          51018001351
2B469315685938   LISA         HUTCHINSON               KY          90013003156
2B46957519184B   JUAN         SANCHEZ                  OK          90012745751
2B469836591241   GWENDOLYN    LLOYD                    SC          90014598365
2B469A72255957   GINA         RAMOS                    CA          90014790722
2B46B193772421   JUSTIN       CRISSMAN                 PA          51057241937
2B46B1A1971948   ELIZABETH    BOYD                     CO          90002031019
2B46B678A3B35B   GINIA        GUTIERREZ                CO          90001316780
2B46B6A1A85965   SYLVIA       GIBSON                   KY          90007646010
2B47169A347952   RICHARD      PALMER                   OK          24024146903
2B47177514B245   MICHAEL      BARNES                   NE          27039167751
2B4717A675715B   MIRIAM       HODGKINS                 VA          90012807067
2B471823885965   GARRETT      WALLAC                   KY          66068828238
2B47187A32B892   MIKA         RAMIREZ                  ID          90008308703
2B471921957157   TYRONE       WILLIAMS                 VA          90005089219
2B472259247952   STEPHANIE    HUGHES                   AR          90012702592
2B47249714795B   MARTIN       FINCH                    AR          25052734971
2B472575191592   LAURA        BASURTO                  TX          90014855751
2B47312584B261   ALBERTO      AVINA                    NE          90011771258
2B4735A4785965   JESSE        WOOD                     KY          90011095047
2B473635791522   MARTIN       ROSALES                  TX          90012166357
2B47379137B449   KATHERINE    MILLNER                  NC          90014877913
2B473933481637   DIONNE       BEACH                    MO          29073179334
2B474158351561   RAY          GARCIA                   IA          90014641583
2B474498987B59   JAMAL        THOMPSON                 AR          90015164989
2B474A33931699   HEATHER      SCHOOLEY                 KS          90007760339
2B475267A5B167   YVETTE       GARCIA                   AR          90014012670
2B47536A99794B   CHARLOTTE    HELM                     TX          90013563609
2B47549685B271   KRYSTA       HARPER                   KY          90014044968
2B475586687B21   KEELY        HENSON                   AR          90013915866
2B47578422B892   PEARLA       VEGA                     ID          42007997842
2B47587915715B   EVELYN       PINEDA                   VA          90010268791
2B475993A93753   NATE         JAQUES                   OH          90000989930
2B476226455941   CAROLINA     GALEANO                  CA          90003782264
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1511 of 2500


2B476347291541   NORMA C           SANCHEZ             TX          90004773472
2B476477172B98   PATRICIA          GUITIERREZ          CO          33050134771
2B47691287B471   RACHEL            ORANGE              NC          11078409128
2B476A99557157   JUANITA MARIANN   WILLIAMS            VA          90004010995
2B477239272B42   MARGARITA         IBARRA              CO          90014002392
2B477379381661   MELQUIADES        AVILA               MO          90012273793
2B47767762B839   ROGER             MCGOUGH             ID          90013946776
2B47781715B271   LAQUITA           THOMAS              KY          90013498171
2B477A5665B167   JENNIFER          RODGERS             AR          90001820566
2B477A73491541   JOCELYN           RAMOS               TX          75050020734
2B478258293773   JOYCE             FUGATE              OH          90004382582
2B47825855B271   MERLAINE          BALENGOLA           KY          90014782585
2B478422A5B369   JACOBO            ZARATE VALERIANO    OR          90007514220
2B47843828B831   SHANNON           ROBBINS             HI          90015374382
2B47916995B271   TYVA              SOWELL              KY          90009711699
2B4793A279189B   AUBREE            HAMBY               OK          90013403027
2B4796A8955941   LEE               XIONG               CA          49010766089
2B47B24245715B   SARINA            CLEMENTS            VA          81013482424
2B47B391A85988   JESSICA           JNES                KY          90004233910
2B47B624397B3B   JULIE             DERAAD              CO          90005776243
2B47B677591541   HERIBERTO         SANTOYO             TX          90010666775
2B47B993A93753   NATE              JAQUES              OH          90000989930
2B48149914B588   LINDA             DEPEW               OK          90003654991
2B481A85991828   CIARRA            HICKS               OK          90010880859
2B482127572B98   RANDLE            ROMERO              CO          90012791275
2B48212A271933   JUAN              CASTRO              CO          90012431202
2B482883A91828   KARISSA           ALGER-ROOT          OK          90014258830
2B482A71685988   FRED              BOGGS               KY          90012030716
2B483254887B59   TONYA             MONK                AR          23005672548
2B48326599794B   BATTISTA          JONES               TX          74033642659
2B483472185988   TERRY             MEYER               KY          67049074721
2B48356737B471   ASHLEY NICOLE     GRIER               NC          90013875673
2B483575A5B167   NIKKI             DEAN                AR          23062995750
2B483814981661   ANTHOTNY          ROBERTSON           MO          90014628149
2B483A2A42B931   WILSEN            GORGES              CA          90009820204
2B483A55485938   MELINDA           FLORENCE            KY          90013930554
2B484743255941   MICHAEL           GONZALEZ            CA          90015007432
2B48524159189B   WILL              RHODES              OK          90000512415
2B485498A91383   GUSTAVO           ROBLES              KS          90004194980
2B485646472B98   JOSE              MUNOZ               CO          90002716464
2B485646A87B21   JACK              COOGUSE             AR          90015396460
2B4856A377B471   MIGUEL            GARCIA-ENRIQUEZ     NC          90014566037
2B4858A4987B87   KENISHA           HOWARD              AR          90007698049
2B485983191582   ANA               ROSALEZ             TX          90012209831
2B486115A74B79   VANESSA           ROSE                OH          51014161150
2B486381151343   JAMIE             SOUTHERLAND         OH          66005173811
2B4864A5657157   PAYGO             IVR ACTIVATION      VA          90012034056
2B486623455941   CESAR             ALTAMIRANO          CA          90008206234
2B48671419184B   CHRISTOPHR        MILES               OK          21089247141
2B4867A494B245   JOSHUA            HINTON              NE          90012367049
2B486A6725B167   KAYLA             HEMPHILL            AR          90011900672
2B487122A81661   MARGRETTE         COLLINS             MO          90010871220
2B487171491522   RACHEL            GUSMAN              TX          90013481714
2B487528685938   ROBIN             BRADLEY             KY          90006815286
2B488252685938   CHRISTOPHER       GRIFFIN             KY          90014372526
2B488547384364   KAYLA             MIZZELL             SC          90014865473
2B488555291592   JOSE              ORONA               TX          90014715552
2B488868371948   MAXIMINO          CUEVAS              CO          90006388683
2B488984A85938   CHRISTOPHER       GRIFFIN             KY          90011199840
2B488A8A15B531   GERALDINE         BRYANT              NM          35069530801
2B48913464B588   ERNESTO           VAZQUEZ             OK          90009441346
2B48917184B245   EDDIE             JOHNSON             NE          90003381718
2B48933939184B   LINDA             WYNNE               OK          90009873393
2B489455487B59   MARY              MORTON              AR          90012774554
2B489498685965   AMY               WILLEN              KY          90013724986
2B4895A6A2B892   KACEY             FULKERSON           ID          90008575060
2B48981617B449   RAMAON            DEANDA              NC          90014878161
2B48B136391241   BRADLEY           FLANDERS            GA          90014091363
2B48B28A48B179   AROHA             BRUMFIELD           UT          90006712804
2B48B48717B471   STARLA            THOMAS              NC          90004254871
2B48B57712B839   EDENIA            ANGULOO             ID          42033115771
2B48BA62272B42   JORGE             RUEDA               CO          90012210622
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2B491132471948   TIFFANY         HITER                 CO          90003981324
2B49132559794B   EDWIN           MCGOWEN               TX          90015283255
2B49151735B161   TYRON           SMITH                 AR          90011825173
2B49167A572B42   JOSEPH          GIACINTO              CO          33051586705
2B49178247B471   PAYGO           IVR ACTIVATION        NC          90009527824
2B491789481637   DONNIE          KING                  MO          90003537894
2B4924AA672B42   ROBERT          PEASLEY               CO          90007404006
2B49264A39794B   BATES           DESMOND               TX          90012726403
2B4927A3172B98   SUGEY           CHAVEZ                CO          90014187031
2B49373839184B   RANDY           MORAN                 OK          90013877383
2B49383A585988   DOROTHY         WATKINS               KY          90003238305
2B494247587B87   EVELYN          ACREE                 AR          90011732475
2B495286651343   SERENITY        HILL                  OH          90012552866
2B49535953B32B   LORENA          GONZALEZ-SAUCEDO      CO          90009843595
2B495659191592   MARCELA         GALICIA               TX          75070116591
2B495969A7B471   SHAWNA          HANSEN                NC          90001089690
2B495A2385B531   MICHELLE        GUTIERREZ             NM          35006610238
2B495A51191541   MANUEL          CHACON                TX          75013310511
2B49621425B271   JOSE            AMAYA                 KY          68039042142
2B49625A684364   CARLOS          MOURA                 SC          90011172506
2B49667932B839   JODI            DEERFIELD             ID          90014696793
2B497279172B42   EDWARD          KIEFER                CO          90011352791
2B49734899189B   LACONIA         DANIELS               OK          90011233489
2B497447651336   ANNETTE         JACOBS                OH          66013344476
2B497564631453   MARILYN         LINDSEY               MO          90011205646
2B49774825B271   ERNEST          DUCKWALL              KY          90012387482
2B497777551343   BRIAN           BLALOCK               OH          90014147775
2B49778738B334   FRAZIER         HOYLES                SC          11019827873
2B497828272B42   BRENDA          BROWN                 CO          33016218282
2B497834531631   PHONSAY         VILAYCHITH            KS          90013428345
2B49796939184B   ANDREA          KING                  OK          21068399693
2B498125951343   SAVANNAH        LUSK                  OH          90002381259
2B4982A9985965   AMBER           RICE                  KY          90013692099
2B498353255957   JUAN            ALBA                  CA          48082583532
2B49854595B161   DENIESE         MILLS                 AR          90011825459
2B498671755941   LILLIAN         WARREN                CA          90008926717
2B498828481637   ELIZABETH       SERRANO               MO          90014008284
2B499442A43586   JACQUELYNE      BIRK                  UT          90015554420
2B499584385965   SAMANTHA        HOLLINGSWORTH         KY          90011095843
2B499898172421   JACK            VENTRICE              PA          90001418981
2B49993A191582   RICHARD         ARELLANO              TX          75003589301
2B49B38879184B   JAMES           LEWIS                 OK          21035383887
2B49B537584364   MARCUS JEROME   GALLASHAW             SC          90012115375
2B4B131553368B   BARRY           OHAM                  NC          90001673155
2B4B139A655957   LOLA            VALDEZ                CA          90002963906
2B4B163892B892   CODY            LEE                   ID          90006336389
2B4B271312B839   KATHY           SEGURA                ID          42031247131
2B4B297489189B   TANYA E         VITALE                OK          90011229748
2B4B2A21931453   PAMELA          HUNTER                MO          90014690219
2B4B37AA993773   ARLENE          CRAIN                 OH          64512267009
2B4B4474987B21   DAWN            QUINN                 AR          90014824749
2B4B4674285965   MARK            BAUDENDISTEL          KY          90014626742
2B4B4762A9184B   MARIO           RIOS                  OK          90004157620
2B4B4979951343   RUBEN           ALONZO                OH          90014109799
2B4B4A6534B548   DANIA           PETTIT                OK          90011210653
2B4B531515715B   JORGE           VASQUEZ               VA          81012833151
2B4B5352255957   EDITH           MARTINEZ              CA          90007333522
2B4B53A9431453   GREGORY         RUTHERFORD            MO          90013513094
2B4B5684A5B271   LORETTA         CASON                 KY          90012166840
2B4B5883991541   EDGAR           VALDIVIA              TX          90012948839
2B4B613987B699   TIMOTHY         ALEXANDER             GA          15010311398
2B4B6231191828   MICHELLE        HOPKINS               OK          21063772311
2B4B6323855957   DULCE           GARCIA                CA          90007573238
2B4B6448385938   SAMANTHA        CONWAY                KY          90008374483
2B4B672A92B931   TENNILLE        LANE                  CA          45066717209
2B4B67A699189B   ALEXANDER       PAZ                   OK          21070457069
2B4B681444B245   CALVIN          ALLEN                 NE          27022108144
2B4B686592B892   MARIA           RUIZ                  ID          42003908659
2B4B6895572B42   DAVID           BUSCH                 CO          90007718955
2B4B6A72687B59   JEREEL          JONES                 AR          90001120726
2B4B726592B839   VANESSA         SIERRA                ID          90008572659
2B4B812A79794B   CELIA           ORTIZ                 TX          90012281207
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2B4B814A457157   XIOMARA      AREVALO                  VA          90012581404
2B4B8191A2B931   LISSETT      SUSTAITA                 CA          45038401910
2B4B8255584364   KENNETCH     FERGUSON                 SC          90014172555
2B4B8267785988   YVETTE       BYRD                     KY          90014692677
2B4B8344972B98   ASUCENA      PARRILLA                 CO          33092303449
2B4B83A219184B   FRANKIE      DELATORRE                OK          21057453021
2B4B857AA91828   GILBERTO     HERNANDEZ                OK          90000625700
2B4B863627B699   WINIFRED     WILLIAMS                 GA          15031716362
2B4B8A2342B839   SCOTT        STEVENS                  ID          90010240234
2B4B931144B245   JOSE         CONTREDAS                NE          90002223114
2B4B9A58557157   ROBERO       RIVAS                    VA          90012390585
2B4BB397457157   MONIQUE      STOKES                   VA          90013053974
2B4BB76125715B   RAQUEL       BARBER                   DC          90012837612
2B4BBA98687B59   MARIO        BROWN                    AR          90002950986
2B511331191828   CATHERINE    SWIFT                    OK          21060213311
2B511434591541   ANA          AVILA                    TX          75019674345
2B511476671948   MARIANA      ZAVALETA                 CO          32099264766
2B511767A5715B   LY           LONG                     VA          90009587670
2B512197291592   ALEJANDRA    MUNOZ                    TX          90009441972
2B512726231631   LUPE         HERNANDEZ                KS          90001137262
2B512739738524   ALVA         AMADOR-OLVERA            UT          90011437397
2B512849184364   BOBBY        WASHINGTON               SC          90014798491
2B512924187B59   DEELEGANCE   PRITCHETT                AR          90014499241
2B51332319189B   CORY         SAMPLES                  OK          90014723231
2B51344894B588   JELMY        MONTERROSO               OK          90014824489
2B51349344B281   JONH         GRANT                    NE          90013114934
2B51374194B588   MONTRELL     SMITH                    OK          90012867419
2B51376872B839   ALISHA       CAWAGDAN                 ID          90009387687
2B514832971948   STORMIE      DAWN                     CO          32074988329
2B51495A791241   JONATHAN     OJEDA                    GA          90015349507
2B514973A9184B   MARKUS       STEPHENSON               OK          90008709730
2B515444687B59   JOSEPH       SANCHEZ                  AR          90014314446
2B5154A4291251   JENNIFER     SAULS                    GA          14593584042
2B515615485965   BONITA       JACKSON                  KY          90013986154
2B516166291522   EDNA         HERNANDEZ                TX          90012831662
2B5163A5572B42   PATRICIA     BELILES                  CO          33065183055
2B51643A24795B   ALMA         SOLTERO                  AR          90012464302
2B516727A5715B   WANERGES     HERNANDES                VA          90013807270
2B516822381637   BETTY        QUIRINO                  MO          90013378223
2B516932A2B892   RYAN         BURHAM                   ID          90012359320
2B516A89655994   TEODORO      MARTINEZ                 CA          90004030896
2B5175A5A51336   LINDA J      MILLER                   OH          90010285050
2B517A55347952   VICTORIA     TURNER                   AR          90013290553
2B51862732B892   CHRISTINE    GUTIERREZ                ID          90014086273
2B5187A1272B42   MIRANDA      GOMEZ                    CO          33005097012
2B518814A2B839   AUTUMN       NELSON                   ID          90014728140
2B51891AA8B17B   KEVIN        BEARDALL                 UT          31040749100
2B519133191967   MARISOL      ARMAS                    NC          90003381331
2B519431187B21   ASHLEY       JOHNSON                  AR          90015034311
2B51956A35B167   KRYSTINA     RHODES                   AR          90011545603
2B519581387B59   JANICE       REED                     AR          23008525813
2B5197A2947952   JOHN         KING                     AR          90013187029
2B519A7622B931   RUBY         BEHRENS                  CA          45090410762
2B51B24645B161   DORIS        CURRENT                  AR          23053252464
2B51BA26781661   RAFAEL       DOMINGUEZ                MO          90001160267
2B521165231453   CHAROLETTE   WILLIAMS                 MO          90009161652
2B521182855957   BRIGITTE     REED                     CA          90009791828
2B52127274B588   AHLEY        GRAVES                   OK          90014982727
2B521365671948   JENNIFER     CANTRELL                 CO          90013403656
2B521643193773   GREG         KARJALA                  OH          64526536431
2B52174244B261   SAWNSURAE    MARION-PHELPS            NE          90014177424
2B522138381661   WILLIAM      DANNAHOWER               MO          90015041383
2B522859957188   REDA         OUAMRANE                 VA          90006068599
2B5228A5951336   AMBER        SCALF                    OH          66080998059
2B522961977534   RICHARD      JAMES                    NV          43040699619
2B52299762B27B   DEANTHRA     STANLEY                  DC          90005159976
2B52319574B281   CRYSTAL      MCCRACKEN                NE          27023701957
2B5238A4355936   THERESA      VARO                     CA          90003618043
2B5244A1385938   RAHYSOLINN   SWEN-PETERS              KY          67031044013
2B5244A3691541   SERGIO       CABRAL                   NM          75034424036
2B52458A75B271   LAWANDA      WHITE                    KY          68006185807
2B52475479189B   MEGAN        BROOKS                   OK          90003957547
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2B52493499189B   MEGAN         BROOKS                  OK          90013189349
2B524981371948   STEVEN        SCOTT                   CO          32071679813
2B524A14481637   KIMBERLY      NICHOLS                 MO          90010010144
2B525316274B79   STEVEN        CAMPBELL                PA          90009543162
2B52533A39184B   NOAH          KINSEY                  OK          90013163303
2B5253A894B281   MELQUIADES    FRAGA-CISNEROS          NE          90014183089
2B5254A5791828   JENNIFER      FOSTER                  OK          90008384057
2B52565A15715B   FOZIYA        HASAN                   VA          90004246501
2B52569739189B   SHARLENE      ROBLEDO DESIREE         OK          90005636973
2B52569985B249   BENNY         MCCLURE                 KY          90014316998
2B525897872B42   JOSE LUIS     LOPEZ                   CO          90009658978
2B525996284364   JUSTIN        HOTCHKISS               SC          90012969962
2B526267272421   JENNIFER      MELE                    PA          90012622672
2B52646A257157   JAMES         JHONSON JR              VA          90014014602
2B52661867B699   ALISSA        BROWN                   GA          15040776186
2B52693332B27B   ZUBAIDAA      SUBAH                   DC          90002129333
2B52726414B245   JON           MANJARREZ               NE          90008182641
2B528134157157   SHAUN         PETTWAY                 VA          90015401341
2B5284A3291828   DEANZA        MIMS                    OK          90010694032
2B52856742B892   RINA          RAI                     ID          90015035674
2B528576557157   CEDRIC        SMITH                   VA          90012965765
2B528716A2B892   RINA          RAI                     ID          90005947160
2B528746672B98   KATHLEEN      VILLEGAS                CO          90007507466
2B52878A75B161   DARRY         SMITH                   AR          90011827807
2B52937539184B   JOSEPH        MCDAVID                 OK          90014763753
2B529447455941   STEPHANIE     LUERA                   CA          90013084474
2B529635191592   MARIA         BACA                    TX          90013776351
2B529636872B42   MARIA         DE JESUS SANDOVAL       CO          90012856368
2B529748691541   JUAN          AREVALO                 TX          90012967486
2B529A9A891522   DANIELA       VAZQUEZ                 TX          90014510908
2B52B477491541   KRITZIA       PEREZ                   TX          90002094774
2B52B593784364   FIMONE        HINES                   SC          90005465937
2B52B811755941   WENDY         VALDEZ                  CA          90011328117
2B52B82A272B98   PEDRO         CHAVEZ                  CO          33020428202
2B52B86514B588   TIM           CURRAN                  OK          21506108651
2B52B96745B167   TRAVIS        DAVIS                   AR          90015309674
2B52BA6A74B281   HENRY         STEVENS                 IA          90001180607
2B531A2935B167   DEVIN         HALLADAY                AR          90015010293
2B5327A6791541   NATALY        RODRIGUEZ               TX          90013527067
2B53292927B449   LATOSHA       MILLER                  NC          90014879292
2B533151681637   JERRY         NAAS                    MO          90006831516
2B533212755957   VIRGINIA      ALONZO                  CA          48066892127
2B533542871948   KELLY         MURPHY                  CO          90007985428
2B533584472421   SHEENA        ARBUCKLE                PA          90013335844
2B5345A1455931   VICTOR        RODRIGUEZ               CA          90011595014
2B53461687B449   OMAR          MAURICIO-SULVARAN       NC          90014166168
2B534715161877   RICHARD       BOWLING                 IL          90015377151
2B53481275593B   SOCORRO       LUPIAN                  CA          90006958127
2B534A78131453   NATALIE       FAIR                    MO          90009860781
2B53533959184B   DEBRA         FISHER                  OK          21025143395
2B535416891241   SHARON        PETREA                  GA          90014714168
2B53566A47B471   MALIK         ATKINSON                NC          90014176604
2B53578538B334   ALEXANDER     STORMER                 SC          90014697853
2B535791472B98   BRIAN         BRONSON                 CO          90009237914
2B53613712B839   DERECK        CARRELL                 ID          42077421371
2B536396991828   LISA          ROBERTS                 OK          90012283969
2B5363A4891541   ADAM          BRANTNER                TX          90011883048
2B53664999794B   CHARLES       JOHNSON                 TX          74008566499
2B53667259189B   JACKIE        RAELYNN                 OK          90014696725
2B536688272B98   DONALD        MARTIN JR.              CO          90011866882
2B537217797121   SOBIA         PHARR                   OR          90004182177
2B53753469794B   YOLANDA       WORKMAN                 TX          74006435346
2B538199191592   CHRISTINA     PENA                    TX          90015081991
2B53852447B449   SCOTT         WILLIAMS                NC          90012965244
2B538A27A91541   JESUS         OCHOA                   TX          75015280270
2B539146455941   AMERICA       CRUZ                    CA          90012131464
2B53928654B261   DWAYNE        TRIPLETT                NE          90010482865
2B53932922B839   ANITA         BROYLES                 ID          42026583292
2B539593572B98   SILVIA        HERNANDEZ               CO          90014185935
2B539A2699794B   JOSE MARCOS   LOPEZ MONTOYA           TX          90015290269
2B53B153771948   JR            WRIGHT                  CO          32066991537
2B53B3A8387B59   PAUL          OBASADE                 AR          90013443083
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1515 of 2500


2B53B43A44B261   EDILIN         RODRIGUEZ              NE          27077474304
2B53B542771948   JR             WRIGHT                 CO          90014115427
2B53BA11A4B245   ERIC           WOMOCHIL-TORREZ        NE          27010010110
2B541242891528   MARIA ELENA    GARCIA                 TX          90006042428
2B541416891241   SHARON         PETREA                 GA          90014714168
2B541A59393767   LAWRENCE       PURDOM                 OH          90004600593
2B542149585965   JOSHUA         LYNCH                  KY          90011481495
2B5421A755B271   LISA           MICHELLE               KY          90011051075
2B542321191828   SANJUANITA     BARBOZA                OK          90014843211
2B542344455941   MATEO ANDRES   URIBES                 CA          90014463444
2B54241485B162   KHADIJAH       SAFEEULLAH             AR          90013564148
2B542A84991241   KEVIN          ORR                    GA          14584970849
2B54341634B588   ROCIO          GARCIA                 OK          90012694163
2B5437A955715B   CLAUDIA        SORTO MENBRENO         VA          90010987095
2B543866591528   ISIDRO         MEDRANO                TX          75092018665
2B544594472B98   JENNIFER       CALDERON               CO          90014185944
2B54464738B334   MICHELLE       WATERS                 SC          90014766473
2B544654657157   TANYA          AREVALO                VA          90012866546
2B544767751336   CONSUELLA      MENDOZA                OH          66013837677
2B544822131453   KATHY          HUBBARD                MO          27538278221
2B545A3A972B98   EDWARD         LOVATO                 CO          33077110309
2B546154991522   JUANITA        GALLARZO               TX          90005361549
2B546517547952   MARISELA       MACIEL                 AR          90010305175
2B546783985938   KITTRANE       RICHARDSON             KY          90014127839
2B5467AA65715B   CHANTEL        HUTCHINSON             VA          90012047006
2B5469A5A61996   MILDRED        BARRON                 CA          90004509050
2B54718954B588   AMY            PIERSON                OK          90011681895
2B547357681637   JENNIFER       REDE                   MO          90013853576
2B54773A581661   RODNEY         WILEY                  KS          90001847305
2B547815347952   JHON           JONES                  AR          90015488153
2B54796A831631   ALMA           MARTINEZ               KS          22033699608
2B547A22891592   CARMEN         RAMIREZ                TX          90013310228
2B547A8527B449   VOM            LIAN                   NC          11098970852
2B54828362B892   JESSICA        AMADOR                 ID          90001312836
2B548419A31631   LYNN           CLARK                  KS          90014664190
2B548985181661   JOESEPH        WING                   MO          90014639851
2B549749991541   DAVID          CHAVEZ                 TX          90015127499
2B549771951343   DEBRA          PARKER                 OH          90006467719
2B549891A71221   DOWAYNE        ANDERSON               IA          90015518910
2B549966472421   RACHEL         RAVETTO                PA          90012019664
2B549967191251   NATARSHA       KIZER                  GA          14533049671
2B549A5862B232   JUNIOR         KARGBO                 VA          90006330586
2B54B27484B261   MADELINE       RADCLIFF               NE          90014632748
2B54B96A69189B   RANDY          FRANKS                 OK          21025139606
2B54BA5324B261   YESENIA        HERNANDEZ              NE          90011260532
2B55116687B471   OLGA           MATHUR                 NC          90013281668
2B551417491251   ANTONEAL       MOODY                  GA          90002934174
2B551627A72B42   RICARDO        ACOSTA                 CO          33041176270
2B5517A8585965   RAYMOND        GRAHAM                 KY          90014307085
2B55182A55B333   KYM            WHITTEN                OR          90010018205
2B551847A84364   MANUEL         ZAVALA                 SC          19035298470
2B5518A1372B98   ADAM           JAMES                  CO          90011038013
2B551945791828   JUAN           HERNANDEZ              OK          90005839457
2B552121391592   DANIEL         ACOSTA                 TX          90014511213
2B5521A2591541   ELSA           SANCHEZ                TX          90004571025
2B552519591522   JEANETTE       OFILI                  TX          90002745195
2B55268829189B   COURTNEY       MITCHELL               OK          90014696882
2B552776772B42   LUIS           JUAREZ                 CO          90011187767
2B55286554B588   KENNETTA       WASHINGTON             OK          90007718655
2B55328877B471   CONDARIUS      MASON                  NC          90006472887
2B553517285938   SAMANTHA       MOONEY                 KY          90015475172
2B5536AA972B98   MATTHEW        DAVIS                  CO          90014186009
2B55384629794B   JENA           BYBEE                  TX          74010828462
2B553858941245   AGATHA         REED                   PA          51067308589
2B55412425B271   LAMONT         WALTON                 KY          68009201242
2B5542A769794B   JOSEPH         CHOKA                  TX          90004752076
2B554441972421   CHERYL         JOHNSON                PA          90011824419
2B554522824B6B   AN THONY       HARRIS                 DC          90004315228
2B554546772421   JOSHUA         MOSLEY                 PA          90014625467
2B55489A487B59   ANNETE         RICHARDSON             AR          90011978904
2B555129172B98   CORY           KING                   CO          33035401291
2B55518399189B   ANTONIO        ESPARZA                OK          21018601839
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2B555191584364   DANIEL       WILSON                   SC          90006811915
2B55529669189B   ANTONIO      ESPARZA                  OK          90014852966
2B55579218B17B   JOHN         LANGI                    UT          90012947921
2B5561A5285965   WILLIAM      TURNBULL                 KY          90007701052
2B556367A47952   MARY         TYLER                    AR          24083963670
2B556628971948   JOSEPH       MONTOYA                  CO          90007636289
2B55697122B892   BELINDA      GUARDADO                 ID          90012239712
2B556989A91522   ANA          MEZA                     TX          75023889890
2B557451A91828   JUAN         BAUTISTA                 OK          90008384510
2B557464A8B17B   ERIC         ANDRADE                  UT          90006894640
2B55748345B271   KAREN        MOSER                    KY          68053324834
2B557627155957   GUADALUPE    MOSQUEDA                 CA          48027066271
2B557854585965   MERRY        RUSS                     KY          90014868545
2B55786452B839   MORGAN       HILEMAN                  ID          90012338645
2B55832A651336   ROBIN        SPEED                    OH          90013903206
2B55866A844B62   MICHELLE     LANSE                    OH          90014156608
2B558683972B98   JOANN        COULSON                  CO          33020886839
2B558797687B21   NECOLE       MOSBY                    AR          28049077976
2B558888987B59   ADRIANA      MOORE                    AR          90011328889
2B559262A91541   CLAUDIA      CHAVEZ                   TX          90006732620
2B559263881637   SUMMER       HIPPLE                   MO          90013762638
2B55945474B261   JOSE         ELIZONDO                 NE          90006784547
2B55B2A6651336   KEVIN        BOLIN                    OH          90014922066
2B55B41A651336   LAREAN       HEDGES                   OH          90007134106
2B55B444991592   BERNADETTE   BLACK                    TX          90013984449
2B55B75994B245   JAMES        SCOTT                    NE          27002027599
2B55B931693773   LEAH         TOLLEY                   OH          90006689316
2B561121541231   TONYA        CARSWELL                 PA          90008841215
2B561165847952   KRESHA       CRISP                    AR          90002121658
2B56153AA72B98   MELISSA      DOMINGUEZ                CO          90005735300
2B5616AA972B98   MATTHEW      DAVIS                    CO          90014186009
2B561A54A91592   BRYAN        DOLLZ                    TX          90013080540
2B56225572B839   JESSICA      HERRERA                  ID          90009582557
2B56259A68B334   CYNTHIA      BROWN                    SC          11042225906
2B5628A579189B   PAUL         BUSER                    OK          21088308057
2B56311265B271   RANDALL      LEWIS                    KY          90012671126
2B563419257157   SAVILEE      BLACKMON                 VA          81072314192
2B56361A59794B   JUAN         GARCIA                   TX          90012136105
2B56433245B167   WINETTE      BYRD                     AR          23075493324
2B56452247B471   KATINA       DIXION                   NC          90007335224
2B564627A72B98   DUBALE       SHIBESHI                 CO          33056926270
2B56497754B25B   TIMOTHY      MAHER                    NE          90006309775
2B565168987B59   CHARLIE      ROGERS                   AR          90011411689
2B56525814B245   BERTA        JIMENEZ                  NE          27080312581
2B565269991241   JAY          NOBILI                   GA          90013302699
2B56547654B261   TRISHA       CHLEBINSKI               NE          90014884765
2B565662841255   NANCY        POELLOT                  PA          90006026628
2B565976572B42   FELIX        MESTAS                   CO          33004249765
2B56618432B892   JIMMY        CHRISTY                  ID          90000791843
2B56635A584364   IRENE        HOLBACK                  SC          90013263505
2B566643831453   LAKISHA      WILLIAMS                 MO          90014846438
2B566665455957   HORTENCIA    GARCIA                   CA          90009176654
2B566762685938   LONIE        MALECOTE                 KY          90015557626
2B566823555941   JOSE LUIS    GONZALES                 CA          49033408235
2B566997A7B449   KATHERINE    GARCIA                   NC          90014879970
2B56753774B281   ROSARIO      CASTILLO                 NE          27005045377
2B56786972B892   ARTHUR       DOMINGUEZ                ID          42041948697
2B56822352B892   YVONNE       ZAVALA CASTELLANOS       ID          90011392235
2B568329731453   MARLON       BROWN                    MO          90012723297
2B5685A7585938   MAGALI       QUIROZ                   KY          90012835075
2B5685AA377977   JAVARIUS     BASS                     IL          90014275003
2B568773331554   ASIA         JACKSON                  NY          90015477733
2B56879374B588   FOXY         STARNES                  OK          90015097937
2B568834791541   MELISSA      MARQUEZ                  TX          75015368347
2B568A7A14B261   RHODWELL     YOWANO                   NE          27090090701
2B56911A75715B   GRACE        MINUS                    VA          90004451107
2B569151572B35   INSEOK       LEE                      CO          90008351515
2B569164491541   ROSA         LOPEZ                    TX          75016831644
2B569173471948   DIANE        TAPSCOTT                 CO          90002471734
2B56957AA87B59   PATRIC       DAVIS                    AR          90012995700
2B56959834B261   ALEXANDRIA   WILLIAMS                 NE          90000255983
2B56B122A2B27B   MARIA        CERQUERA                 DC          81011781220
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2B56B76A35715B   WENDY         MIRANDA                 VA          90015237603
2B56B995887B21   VIRGIL        YARBROUGH               AR          90013709958
2B57115679794B   MICHEAL       HOWELL                  TX          90014811567
2B571716972421   GARY          LOUGHNER                PA          90006527169
2B5717A239184B   LISA          MENELEY                 OK          21046977023
2B571878291592   PRECILLA      GUERRERO                TX          75083188782
2B571998A7B449   DONNETA       GRAHAM                  NC          90014879980
2B57236415B167   NICK          YARBERY                 AR          90015563641
2B57269565715B   PEDRO         LOPEZ                   VA          81012906956
2B57281818B133   ADOLPH        MESSADO                 UT          90012128181
2B57292784B281   WILLIAMS      LEAH SUE                NE          27073289278
2B5729A4991828   JUANITA       DIES                    OK          90006129049
2B572A27171948   BRANDI        BACHECHI                CO          32033400271
2B573147591828   RICHARD       MICHELL                 OK          21013511475
2B573148172421   CHRISTINA     WOLBERT                 PA          90014641481
2B573295891241   MATEO         GARCIA                  GA          90012162958
2B57332859184B   DONNELL       THIERRY                 OK          90004943285
2B57364727B471   NICOLE        DIXON                   NC          11027806472
2B57368115B167   RICARDO       MENDEZ                  AR          90015616811
2B573A83451336   MIGUEL        SANCHEZ                 OH          90010250834
2B57431654B281   RUTILLO       SARAGOZA                NE          27000853165
2B5746A3672B98   NIGUEL        VIGIL                   CO          90014186036
2B574712A91241   SHANIECE      RIELY                   GA          90011237120
2B574824981637   ANTONIO       PPEREZ                  MO          90013378249
2B574967431453   KARINA        ROSAS                   MO          90013169674
2B575331491522   JOAQUINE      GALACHE                 TX          90008093314
2B575651A91828   RENEE         PATRICK                 OK          90006916510
2B57572679189B   ESMERALDA     LOPEZ                   OK          90014697267
2B57574812B839   ROBERT        AHLEFELD                ID          90011567481
2B576138131631   JASON         CATRON                  KS          90012581381
2B576216185938   KEITH         BROWN                   KY          90011892161
2B576238872421   LEON          PATTON                  PA          90014642388
2B57627984B261   KELSEY        SCOVILL                 NE          90014632798
2B57628518B17B   KAMILL        CORRY                   UT          31008442851
2B57649195715B   MIKE          BENNETT                 VA          90011854919
2B57669364B261   RACHEL        MALLORY                 NE          90014676936
2B577282384364   TONY          BROWN                   SC          90015152823
2B577513485938   TREENIA       NUTTER                  KY          67098575134
2B577753991522   MARIA         GUERRERO                TX          90013577539
2B57796419794B   SANDRA        NOLASCO                 TX          90006089641
2B577997587B59   TINA          ROSS                    AR          23012729975
2B577A87891592   IGNACIO       LUNA                    TX          90014720878
2B57859A14B588   JMICHAEL      FORD                    OK          90015015901
2B578633A71948   ARACELY       GUILLEN                 CO          90012646330
2B578696433122   ANA           CRUZ                    IL          90014746964
2B5786A8491522   LAURA         SOTO                    TX          75009856084
2B578A86885938   HARLOD        WIGLESWORTH             KY          90014130868
2B57935387B471   JEESE         VEGA                    NC          90013123538
2B57935389184B   BLANCHE       SCYFFORE                OK          21033293538
2B579723351336   CLINT         LOVINS                  OH          66003857233
2B5797A7A5B161   LOUIS         MILLER                  AR          23075187070
2B57B12884B588   JAMES         SHAW                    OK          90001441288
2B57B467387B59   SHEILA        CURRY                   AR          90014084673
2B57B684151356   CHRISTOPHER   OLINGER                 OH          90002246841
2B57B716972421   GARY          LOUGHNER                PA          90006527169
2B57B716A91828   NICOLE        BANNING                 OK          90010707160
2B57B793155941   LARRY         WAY                     CA          90010847931
2B57BAA7691522   IRMA          VILLAGRAN               TX          75018390076
2B581863A51343   JOSEPH        FOSTER                  OH          66095728630
2B581A54547952   SHAWN         PALMER                  AR          90011310545
2B582512255941   JESSICA       QUINONES                CA          90012315122
2B5826A4172B98   ELIER         BENITEZ                 CO          90014186041
2B583179384364   JAMARIA       MYERS                   SC          90011171793
2B583458491541   RAMONA        RUIZ                    TX          90015174584
2B58384354B281   JOHN          KENNA                   NE          90015028435
2B583885571948   LEONARDO      GARCIA                  CO          90014178855
2B58416A44B261   AUDREY        KOWSKIE                 NE          90013621604
2B585136787B21   MISTY         DRENNEN                 AR          90013601367
2B5851A2A4B261   LORENA        GONSALEZ                NE          90015121020
2B585357551343   KIMBERLY      KELLY                   OH          90008893575
2B58572272B892   SOPHIA        GARZA                   ID          90008807227
2B58573699794B   JOSE FELIPE   SANCHEZ                 TX          90013167369
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2B585787A5B271   REGINALD       FRAZIER                KY          90011757870
2B585956955941   LEDUC          STEVEN                 CA          49067589569
2B58596A57B373   JOSEPH         TYLER                  VA          81088619605
2B58651A391241   ROBBIN         MERVIN                 GA          90008755103
2B586597A9189B   CHRISTOPHER    CRADDOCK               OK          90011235970
2B58711612B839   TRACEY         WERNER                 ID          90013391161
2B58713614B261   CARLA S        EVANS JR               NE          90011261361
2B58719A931453   DEBRA          WOLFF                  MO          90010021909
2B58748419794B   LUIS ALBERTO   RODRIGUEZ              TX          90015224841
2B5874A255715B   PATRICIA       FULLER                 VA          90012774025
2B58753A35B167   JACK           HUNTER                 AR          90015535303
2B58769234B281   RANDY          NORTHHORN              NE          90011406923
2B58782627B471   CHINO          BURCH                  NC          11048058262
2B587A73691541   GRACIELA       ARELLANO               TX          90008840736
2B587A86791251   DAVID          ALLEN                  GA          90003790867
2B58826139184B   ELIZABETH      ALLEN                  OK          21021422613
2B588419381661   EDDIE          CHRISTIAN              MO          90010424193
2B58858425B167   GASTON         COLEMAN                AR          90015605842
2B588713791541   ROSA           GONZALEZ               NM          90004267137
2B588975387B59   RAYSHONE       HOLLOWAY               AR          90004889753
2B589129A55997   MANUEL         VELAZQUEZ              CA          48093061290
2B5892A875B271   CARLOS         ADAM                   KY          90009992087
2B589531A91828   EUSEBIO        VASQUEZ                OK          21064915310
2B589733555941   JOSE           GARCIA                 CA          90014027335
2B5898A419794B   TIM            SHERROUSE              TX          74015528041
2B589A1147B449   ALESHIA        ANDERSON               NC          90014880114
2B58B19925715B   ABEL           RODRIGUEZ              VA          90009551992
2B58B364491592   JESSICA        VILLARREAL             TX          75014273644
2B58B4A294B281   BONEY          PATEL                  NE          27091504029
2B591236524B83   ELMER          CABRERA                DC          90008822365
2B59128375715B   JAMES          DOWDY                  VA          90000662837
2B591342951343   SHADAKA        MONGHAN                OH          90008283429
2B591515991828   ROTHENIA       NEWTON                 OK          90005795159
2B59259615715B   JOSE           HENRY BONILLA          VA          90014215961
2B592754A9189B   JENNIFER       MADISON                OK          90014697540
2B59289A593767   TIFFANY        DAVENPORT              OH          90011928905
2B592929685938   ROMAN          BHUJEL                 KY          90007529296
2B593157A9794B   RAUL           HERNANDEZ              TX          90014821570
2B593491A72B42   WILLIS         ALEXANDER BLAND        CO          90010134910
2B5936A642B892   CRYSTAL        ODREN                  ID          90013226064
2B59377A95B271   DONNA          AMON                   KY          90014917709
2B594199472B42   JENNIFER       GONZALEZ               CO          33089921994
2B59476457B449   PARTY          SUPPLY                 NC          90014887645
2B595229671948   TAYLOR         JAMES ROBERT           CO          32065422296
2B59546314B281   BENITO         LEONIDES               NE          90014184631
2B59556644B261   CRISTINA       NURRY                  NE          90007645664
2B59571188B831   K              GNECHTEN               HI          90014787118
2B595843A91241   TONY           SANDERS                GA          14570638430
2B59595955B167   CRYSTAL        FRALIN                 AR          23037489595
2B595A8877B449   LEONEL         CERRITOS               NC          90014880887
2B59615575B271   LARRY          CORNETT                KY          90015171557
2B596258984364   NOLA           GRAHAM                 SC          90013762589
2B59647514B588   TAKEITA        JACKSON                OK          90008504751
2B596682491522   CLAUDIA        LEAL                   TX          90005276824
2B596787291541   BRIANDA        BAILON                 TX          75071897872
2B5967A4957157   MARLON         GUZMAN                 VA          90009197049
2B596A97A5B531   ARNOLDO        ARVIZO                 NM          90005930970
2B597189155941   BARBARA        ARANDA                 CA          90010571891
2B597212A81661   JAMES          SANTIAGO               MO          29060422120
2B5974A7991251   SABRINA        DELOACH                GA          14551474079
2B597859431448   CLIFFORD T     MORRIS                 MO          27576278594
2B598238251343   LEOPOLDO       GARCIA                 OH          66020152382
2B598746261558   MAKE           SIRITHASACK            TN          90003897462
2B598A97A5B531   ARNOLDO        ARVIZO                 NM          90005930970
2B599279681637   MARCELL        SMITH                  MO          90013332796
2B599618672B98   MELANIE        HEATH                  CO          90002706186
2B599634147952   SABRINA        BEVARD                 AR          24071946341
2B599659855941   ELEANOR        GALAVIZ                CA          90012926598
2B599799871948   KEVIN          URRUTIA                CO          90014637998
2B59B213791541   HECTOR         GARCIA                 TX          75005772137
2B59B326472B98   AUDREY         BARTOE                 CO          33077433264
2B59B71425715B   JOSE           AGUILAR                VA          90013127142
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2B59B715691592   ALMA        MACIAS                    TX          75050347156
2B59B71725B271   PAULISHA    JORDAN                    KY          68068907172
2B59B726757157   ISAAC       SALGADO                   VA          90015127267
2B59B96197B471   DONMARIO    JEAN-BAPTISTE             NC          90014769619
2B59BA7795B531   MICHELLE    BOND                      NM          90005930779
2B59BA8138B17B   ANTHONY     WARREN                    UT          90002730813
2B5B123A68B17B   THOMAS      ALDER                     UT          90006892306
2B5B1319685938   LEE         COLEMAN                   KY          67040643196
2B5B1421685965   JUDY        RAY                       KY          90001664216
2B5B146A22B839   RICKY       GALLEGOS                  ID          90014464602
2B5B1488372B98   DAVID       SCHLOTE                   CO          90012874883
2B5B18A2991528   CLAUDIA     ARTALEJO                  TX          75010988029
2B5B1989387B87   MICHEAL     WILLIAMS                  AR          23019149893
2B5B1A66157157   JOSE        RIVAS                     VA          90010420661
2B5B2578772B98   NOHEMI      RAMIREZ                   CO          90014185787
2B5B3137A91541   GEROMINO    LUEVANOS                  TX          75051501370
2B5B324234B261   RENAULD     FOX                       NE          90014632423
2B5B328814B281   HIROFUMI    BAGSIC                    NE          90014182881
2B5B3644591592   ANA         DAVILA                    TX          75061026445
2B5B367885B531   MICHAEL     DIAZ                      NM          90005926788
2B5B3925972B98   LORRAINE    APODACA                   CO          90012139259
2B5B4191761921   MIGUEL      DUARTE                    CA          90012211917
2B5B4521691828   KATIE       BUTLER                    OK          90009785216
2B5B4583284364   ANGEL       PEREZ                     SC          90010575832
2B5B461799189B   HEATHER     RICHARDSON                OK          90014696179
2B5B4957491241   JOSE        REYES                     GA          90012209574
2B5B4A4A191541   ANNA        OLIVAS                    TX          75034430401
2B5B4A91A87B59   ALVIN       SHELTON                   AR          23029890910
2B5B5331172B98   VALENTINA   TALAVERA                  CO          33077653311
2B5B56A174B245   ADALBERTO   RIVERA                    IA          27022816017
2B5B5897455957   MATTEW      DELGADO                   CA          90013828974
2B5B5988A87B59   PATRICIA    WILLIAMS                  AR          90002239880
2B5B614A381637   MARCUS      JACKSON                   KS          90014841403
2B5B679275B167   RANAE       BALLARD                   AR          90009157927
2B5B697995B271   KEVIN       EUGENE                    KY          90014899799
2B5B7271641252   JOHN        ARCA                      PA          90014092716
2B5B734277B449   LADY        FOSTER                    NC          90007653427
2B5B7581872B98   ABRAHAM     MARTINEZ                  CO          90014185818
2B5B758292B839   THOMAS      NEWELL                    ID          90001785829
2B5B78A1451343   REGENIA     JONES                     OH          90012008014
2B5B8232A4B588   ELOISA      SALGADO                   OK          21558912320
2B5B8257A2B892   KHALIL      SHARRAD                   ID          42004272570
2B5B865177B471   TABITHA     BUSH                      NC          90015236517
2B5B8A69181661   ZACHARY     RICHARDSON                MO          90013780691
2B5B8A73785988   KATHY       BRADLY                    KY          90011850737
2B5B9238551336   ELISHA      CALHOUN                   OH          90001292385
2B5B9311731631   SHANNON     GILBERT                   KS          90014663117
2B5B945112B892   AURELIA     DUENAS                    ID          90001004511
2B5B9583672B98   HECTOR      MURGUIA                   CO          90014185836
2B5BB122287B59   PAMELA      SUMEY                     AR          90007661222
2B5BB17437B449   MONTY       BORCHARDT                 NC          90014901743
2B5BB26565B167   KHADEJA     PAYNE                     AR          90002482656
2B5BB68A95715B   JORGE       MARTINEZ                  VA          90009696809
2B5BB92824B553   STEPHANIE   RANGEL                    OK          90014859282
2B5BB9A312B27B   NELSON      GOMEZ                     DC          81085519031
2B6111A235B271   CHRYSTAL    LYMES                     KY          90013351023
2B61163175B161   DINA        HENDERSON                 AR          23090376317
2B61164452B839   KARISA      HUSSINYAR                 ID          90012586445
2B611A9222B242   GILBERTO    PEREZ LOPEZ               DC          90001600922
2B612342285636   HELADIO     CRUZ                      NJ          90002373422
2B61252112B892   JERRY       COOK                      ID          90013245211
2B612584657157   BESSY       VILLALOBOS                VA          90011425846
2B6125AA172421   DEVON       CARTER                    PA          90014715001
2B612648891541   ELSA        HERNANDEZ                 TX          90011986488
2B61285555B161   ALMA        GAYTAN-PINA               AR          90011838555
2B61285945B271   LUSHES      BENSON                    KY          68068248594
2B612A13351336   JAMIE       SEIFER                    OH          90015410133
2B612A87157157   BESSY       VILLALOBOS                VA          90014690871
2B613749555941   CRYSTAL     GUTIERREZ                 CA          49089567495
2B61413915715B   GRISELDA    SARAVIA                   VA          90014621391
2B614275784364   LYNETTE     NELSON                    SC          19026712757
2B614446985965   PATRICK     RIGGS                     KY          66028014469
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2B614727772B42   CAROL        GUSTAFSON                CO          90013067277
2B61518445B167   MEGAN        STANTON                  AR          23090771844
2B615365485965   NICOLE       FERGUSON                 KY          66017053654
2B615426A91541   BRENDA       RUBIO                    TX          90012024260
2B615881791592   HORTENCIA    ORDONEZ                  NM          75032778817
2B615A8674795B   MICHAEL      SAMPLES                  AR          90014060867
2B61661A984364   DWAYNE       JENKINS                  SC          90005026109
2B61678825715B   SANDRA       CUVARRUBIAS              VA          81018047882
2B61692379794B   KESHIA       CHAMBERS                 TX          90010719237
2B61738564B588   SHARYCA      TURNER                   OK          90003693856
2B6174A5291592   FLOR         ESPEJO                   TX          90010714052
2B61766499794B   CHARLES      LOCKETT                  TX          90014576649
2B61775A872B98   GREGORY      ZWART                    CO          90000537508
2B617792181661   SAMANTHA     PAPPAS                   KS          29001637921
2B617862A55941   VERONICA     BASURTO                  CA          90001378620
2B617A9314B261   JULIE        WITCOFSKI                NE          27043190931
2B618197491241   BRYANT       BIGHAM                   GA          90015351974
2B61897592B839   BRANDON      BECKER                   ID          90013949759
2B619541587B21   GABBY        HYDE                     AR          90014585415
2B61979279189B   ALISHA       OWEN                     OK          90014697927
2B61983A781661   BRIANNA      PROCTOR                  MO          90014568307
2B61991A67B471   JOSE         PEREZ                    NC          90013249106
2B61B83545B161   PAUL         KUSTURN                  AR          90011838354
2B61B862184364   ANGEL        PRIOLEAU                 SC          90004358621
2B61B96594B588   TA-MYRA      ADAMS                    OK          90013599659
2B621141676B82   ELIZABETHE   RIVERA                   CA          90006331416
2B621147181637   TERI         OWNES                    MO          90005151471
2B621372491828   JACQUELINE   BARONE                   OK          90013253724
2B621692185965   SHANA        TURNER                   KY          90012396921
2B6216A3431453   DESTANEE     EARVIN                   MO          90009856034
2B621917872421   TINA         REITER                   PA          90013079178
2B622313872421   ANTHONY      TRIANO                   PA          90014763138
2B62233A57B471   FELICIA      WRIGHT                   NC          90013963305
2B62244114B588   CONNIE       HALL                     OK          90009784411
2B62249AA5B531   MARISELA     VASQUEZ                  NM          35002714900
2B622698A91541   RAMON        PONCE                    TX          90006046980
2B62279279189B   ALISHA       OWEN                     OK          90014697927
2B622929372B98   ANDREW       CHAVEZ                   CO          90014999293
2B622A1749794B   RIGOBERTO    ROSAS                    TX          90010690174
2B623141281637   ERIC         PARRISH                  MO          90014811412
2B623269291528   JOSEPH       VILLAGOMEZ               TX          75092032692
2B623291147952   CORLISS      BUTLER                   AR          24015352911
2B623659685938   RONALD       HOWARD                   KY          90015296596
2B62377839184B   WINIFRED     BRAGGS                   OK          21007257783
2B62379749189B   SYDNEY       LEWIS                    OK          90014697974
2B623A25551336   JADE         DARKS                    OH          90012740255
2B62442A57B471   GEORGE       MATHIS                   NC          90013124205
2B62481969189B   VERONICA     HERNANDEZ                OK          90014698196
2B62483459184B   JAMES        STONE                    OK          90014448345
2B624A25685965   JULIA        STARNES                  KY          90014780256
2B62529A14B281   CONNIE       POFF                     NE          90008072901
2B6252A739376B   DEVONNE      JORDAN                   OH          90004292073
2B625314671948   JAZMINE      ROWE                     CO          90009253146
2B625348285938   ELEANOR      COOPER                   KY          90009583482
2B625458455941   SANDRA       PARRA                    CA          90002084584
2B626293185965   ADALBERTO    HERNANDEZ                KY          90015052931
2B626788972421   RICHARD      WASHINGTON               PA          51012447889
2B6268A639189B   GINA         GREEN                    OK          90014698063
2B6269A8A91592   ARLENE       BARRAZA                  TX          90008819080
2B62737457B471   AMARIS       CHELLE                   NC          90014373745
2B627583691828   SHARON       CRAWFORD                 OK          90013455836
2B627796491243   MARY         VILLWOK                  GA          90008847964
2B627957991589   DANIEL       GARDEA                   TX          90009519579
2B627964281637   GERMAIN      RIVERA                   KS          90005379642
2B62797592B839   BRANDON      BECKER                   ID          90013949759
2B628238451343   DEMETRIUS    DAVIS                    OH          66098012384
2B62828444B261   JULIE        LEONARD                  NE          90014632844
2B62831615B167   CAIYLYN      WHITFIELD                AR          90014163161
2B62855778B17B   BLANCA       GARCIA                   UT          31077145577
2B6295A169794B   DIANA        NORTHUP                  TX          90010415016
2B629753A97121   SILVIO       ALVAREZ                  OR          44549957530
2B6297A542B27B   JAMES        NUNEZ                    VA          81084267054
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2B62999AA5B161   WESLEY        SHULER                  AR          90011839900
2B629A67185938   JESSICA E     HINKLE                  KY          90010840671
2B629A8925B531   MARIA         MCMULLEN                NM          35069820892
2B62B1A7187B21   BRITTNEY      HALFMAN                 AR          90014591071
2B62B34AA7B471   CLAUDIA       CATAPANO                NC          90009213400
2B62B3A7591241   GEORGE        MALONE                  GA          90015123075
2B62B5A814B521   LAKEESHA      GIVENS                  OK          21504115081
2B62B79279189B   ALISHA        OWEN                    OK          90014697927
2B62BA44A5B271   DERRICK       SHORT                   KY          90013030440
2B631433191828   JOHN          BRADLEY                 OK          90010794331
2B63143932B892   JAMES         DAVIS                   ID          90009824393
2B631577574B79   DANYELLE      MITCHELL                PA          51066585775
2B63158AA9794B   MICHEAL       GREEN                   TX          74020795800
2B63162A285938   CARLA         ALCORN                  KY          67042346202
2B631741A91522   AMANDA        WALL                    TX          90008287410
2B6317A542B27B   JAMES         NUNEZ                   VA          81084267054
2B63191A371923   DAWN          WIESNER                 CO          90007799103
2B632322991541   EDWARD        NASH                    TX          90014173229
2B6326A112B892   TERESA        THORNE                  ID          42033856011
2B63281A28B334   KIMBERLY      MAYFIELD                NC          90004498102
2B63285373B384   DION          GOUNTANIS               CO          90011558537
2B63328444B261   JULIE         LEONARD                 NE          90014632844
2B63372755715B   NORMA         SERRANO                 VA          81069977275
2B63374619189B   LATESSA       WALLACE                 OK          90011237461
2B633A86A5B271   JACK          GILES                   KY          68016350860
2B633A96591828   TIM           OWENS                   OK          90001720965
2B63416722B839   TIFFANY       BENJAMIN                ID          42047491672
2B6343A755715B   JOSE          ALEMAN                  VA          90001153075
2B63469415B531   TIMOTHY       LANDRY                  NM          90005946941
2B634A43155957   CHERRI        WOOMMAVOVAH             CA          48006420431
2B634A98372421   TIMOTHY       POWELL                  PA          90014780983
2B63556968B334   CHESICA       SINCLAIR                NC          90001045696
2B635573685965   KEVIN         LEEK                    KY          90014035736
2B63589977B471   EMELIA        WUREN                   NC          90012378997
2B636197772B98   FERNADO       TORRES                  CO          90012921977
2B6361A3387B59   SAMIR         SALAAM                  AR          90012771033
2B636212555957   ROSIO         ALDACO                  CA          90006262125
2B63637875B271   LINDSAY       MAHONEY                 KY          68066913787
2B63677A55B167   JERRY         FULMER                  AR          90012387705
2B6368A4387B21   PAYGO         IVR ACTIVATION          AR          90014658043
2B63692825715B   PAYGO         IVR ACTIVATION          VA          90011709282
2B636A11A3B352   JANET         PINK                    CO          90009600110
2B63716992B892   ZARAGOZA      ANGELICA                ID          42092371699
2B63748A951321   DONALD        THOMPSON                OH          90012324809
2B6378A2593773   VICKIE L      CORBETT                 OH          90003268025
2B638455672B98   A             A                       CO          90012124556
2B638969851336   DAVID         MACINNIS                OH          90014519698
2B63916769794B   LEONADRO      ZARATE                  TX          90013131676
2B63984465B167   AMBERLY       BURNLEY                 AR          90014168446
2B639A55991828   ANGEL         TACKETT                 OK          90013650559
2B63B33A181446   REBECCA       WAID                    PA          90014793301
2B63B485891828   TROY          ESTES                   OK          90013384858
2B63B824791592   ARTURO        SAPIEN                  TX          90013238247
2B641253155957   XAVIER        TELLEZ                  CA          90008092531
2B64125959189B   ELIZABETH     AVANDA                  OK          21067112595
2B64128712B839   KIERA         STONE                   ID          90011992871
2B641637547952   JAMIE         IRABURO                 AR          24007426375
2B641A94A31631   PAMALA        FLORENTIN               KS          22092950940
2B64246465715B   ISMELADA      OCHOA                   VA          90011194646
2B642527661982   KABURIA       JEACQUE                 CA          90007445276
2B642749A9184B   PAYGO         IVR ACTIVATION          OK          90013107490
2B642886684364   ERIN          MOTHERSHED              SC          90012678866
2B64297282B839   SANJA         BABIC                   ID          90012339728
2B64324344B261   SHANNA        SELPH                   NE          27085812434
2B643386A71948   RONALD        MCKIM                   CO          90015273860
2B643563987B59   DELONTAE      LOVE                    AR          90013595639
2B64357789794B   ERICK         VELEZ                   TX          90012935778
2B6437A595715B   GUILLERMINA   BAUTISTA                VA          90006177059
2B643A74555941   JOHN          HILLENBURG              CA          90000680745
2B64476112B931   ALEJANDRO     PATINO                  CA          90000747611
2B64477A84B281   DONTAVIS      JOHNSON                 NE          90013017708
2B644857A9189B   JULIO         CASTANEDA               OK          90014698570
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2B6448A7771948   ROY            MORIN                  CO          90012828077
2B6449A112B23B   CLARENCE       WILLIAMS               DC          81014959011
2B6451A2891522   ZULEMA         SOLORIO                TX          90013761028
2B645343A31453   ALEXIS         JOHNSON                MO          90013723430
2B645483785988   ALECIA         MEANS                  KY          90005574837
2B64639A89184B   ROSA           PINON                  OK          90007593908
2B64654642B839   MANUEL         CORONA-ORTIZ           ID          42031245464
2B646744751336   JASON          WILKINS                OH          66034947447
2B646976A3B368   ANDRES         SAENZ CHAPARRO         CO          90014999760
2B647264487B87   GLORIA         PHILLIPS               AR          90012682644
2B647339291522   LLOANA         VIRRUETA               TX          90011823392
2B647595577371   PAYGO          IVR ACTIVATION         IL          90014425955
2B647795581637   SHANNON        MARTIN                 MO          90007697955
2B64779A451336   EVELYN         ANDERSON               OH          66000097904
2B6477A6672421   JENNIFER       SCHWEIZER              PA          90014807066
2B647A51931453   ALICE          BUTLER                 MO          27558910519
2B647A91972B42   CECILIA        RODRIGUEZ              CO          33014230919
2B648141A93773   LARUKO         WOODS                  OH          64557101410
2B64818442B839   JENNIE         OZUNA                  ID          42091051844
2B648393485938   REBECCA        FLINCHUM               KY          90014843934
2B648518577568   RODRIGO        ESTRADA-SALAZAR        NV          43008975185
2B64854965B167   JESSIKA        VINCIL                 AR          90014205496
2B64917429184B   RANFERI        PAXTOR                 OK          21040021742
2B64955132B892   MIKE           LISBY                  ID          90007975513
2B649553A4B588   BETTINA        BOWENS                 OK          90009645530
2B649615287B59   SABRINA        RAYA                   AR          90012996152
2B6496AA63B32B   PATRICK        MARSHALL               CO          90001496006
2B649892557157   JORGE          GRANADOS               VA          90004228925
2B64B552247952   KELSEY         CLAYTON                AR          24048545522
2B64B582155939   RACHEL         CISMEROS               CA          90014235821
2B64B5AA381661   MECHIA         TAYLOR                 MO          29070325003
2B64B86A181637   EDWARD         ADAMS                  MO          29074348601
2B64BA7A172B98   ROSALBA        ORTEGA                 CO          33050630701
2B651353981661   TEQUILA        PARKER                 MO          90014573539
2B651542291541   MELISA         ARRIAGA                TX          90008715422
2B65222534B588   COLBY          PARKS                  OK          21564762253
2B652365A71948   JOSH           FREEMAN                CO          32029913650
2B65245964B245   RUSHEENA       KIRK                   NE          90005194596
2B65253414B281   REYNA TERESA   GUZMAN GARCIA          NE          90014185341
2B652847961877   ZARIA          THOMPSON               IL          90015498479
2B65294519189B   WILLIAM        KOZIK                  OK          90006239451
2B652A11291241   MICHEAL        JOHNSON                GA          90011240112
2B652A9469794B   TIARA          HILL                   TX          90003640946
2B653247255957   JESUS          BUSTAMANTE             CA          90011262472
2B653328172B42   JANET MARIE    VALERO                 CO          90013343281
2B653453A91241   PRISCILLA      WILLIAMS               GA          90013754530
2B654619997B68   SILVIA         HERNANDEZ              CO          90007906199
2B654948847952   SHANTE         WAUGH                  AR          90001409488
2B65496869794B   DEMETRIS       MCGREW                 TX          90013109686
2B654982184364   DAVID          GODLEY                 SC          19042089821
2B655142471948   OSCAR          GALLEGOS RIOS          CO          90010451424
2B655177385636   JANINE         ROAMES                 NJ          90009341773
2B655178857157   SALVADOR       CAMAD                  VA          90013231788
2B6553A7131453   SILLAH         FATOU                  MO          90009943071
2B65551625B167   MISTY          DOUGHERTY              AR          90014185162
2B65559249184B   STEPHEN        REMINGTON              OK          21074475924
2B65587372B839   GENARO         RODRIGUEZ              ID          90013948737
2B655999755957   JACINTO        SANCHEZ                CA          90001669997
2B656433A2B839   ESTEBAN        ORNELAS                ID          42084664330
2B656A2A77B449   RAYMOND        KIRKPATRIC JR          NC          11083310207
2B657382185965   TIM            CALDWELL               KY          66045613821
2B657516184364   WILLIAM        GRAHAM                 SC          90005665161
2B657781A2B892   BRAD           MCGEE                  ID          90013967810
2B657878A4B588   GUMARO         DELOERA                OK          90015148780
2B65794754B261   DECHELLE       STARKS                 NE          90008179475
2B65822165715B   YISHAK         BEKELE                 VA          90015252216
2B658229655957   ALEXANDRIA     PETERSON               CA          90008302296
2B65832417B471   CHRIS          BROWN                  NC          11086443241
2B658581672B98   JAVIER         ARCHAGO                CO          33075625816
2B658665131453   THOMAS         LONG                   MO          90010366651
2B658781787B87   MAL            WHITE                  AR          23085197817
2B659614781661   AVILA          BARBARO                MO          90002746147
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2B65B22382B892   KATRINDA     GONZALEZ                 ID          90013612238
2B65B24A672B98   TIFFANY      HICKS                    CO          90014752406
2B65B524457157   JOHN         ROSS                     VA          90014425244
2B65B76457B449   PARTY        SUPPLY                   NC          90014887645
2B661174671948   MARTINA      BENITEZ                  CO          90014201746
2B661732691528   MYRA         LUNA                     TX          75092057326
2B662317455941   KAO          THAO                     CA          90012123174
2B662468791528   NORMA        DIAZ JIMENEZ             TX          90003354687
2B66259455715B   SHUKRI       IBRAHIM                  VA          90011855945
2B662A1137B449   ANTHONY      GRAY                     NC          11016280113
2B662A3A491828   ALEJANDRO    REYES                    OK          90012070304
2B663112172B98   JOSE         MARTINEZ                 CO          33005661121
2B66324454795B   MARIA        HERNANDEZ                AR          90013092445
2B663273584364   JOHNNIE      HOLMES                   SC          90009172735
2B663333231631   ARACELI      MARTINEZ                 KS          90004823332
2B663435255941   REBECCA      CANSLER                  CA          90013214352
2B66378184795B   MARIA        HERNANDEZ                AR          90008187818
2B66427918B17B   DONALD       DEAN                     UT          90009252791
2B664456871948   JOSE         VIALPANDO                CO          90011154568
2B665173681637   ADRIANA      HERNANDEZ                MO          90011201736
2B66558895715B   NARCISA      GOMEZ                    VA          90011955889
2B665667272421   DARLENE      BOOHER                   PA          90007086672
2B665797855941   MARIA        HERNANDEZ                CA          90010917978
2B665A35957157   MAYBELL      NAUARRETE                VA          90001800359
2B665A68847952   MARIE        NONNEMACHER              AR          90007940688
2B665A69591541   MARISELA     RIOS                     TX          75072380695
2B6661A6A91828   SHANNON      ARNOLD                   OK          90013841060
2B6661A794B588   ALICIA       SMITH                    OK          90010011079
2B666379591522   MARISELA     VARGAS                   TX          90008103795
2B666A91681661   THERESA      TAYLOR                   MO          90013780916
2B667252191541   RAMON        MENDOZA                  NM          75032362521
2B667384957157   GRICELDA     BERRIOS                  VA          81090633849
2B667448861999   SAMUEL       STEWART                  CA          90010384488
2B667794651343   LUTHER       LITTLE                   OH          90009957946
2B6677A7A7B471   HOUSTON      GEORGE                   NC          90009157070
2B667853781637   SHANE        SELF                     MO          90015008537
2B66833552B839   MCDOWELL     RICH                     ID          90010283355
2B6686A8831453   JAMES        SCHRAMM                  MO          90013836088
2B668841191592   KRISTEN      CORDOVA                  TX          75039938411
2B668998181661   SABRINA      MALONE                   MO          90014629981
2B668A31491828   MIGUEL       GUERRERO                 OK          90007670314
2B668A6595B161   JACQUELINE   LANGFORD                 AR          23069060659
2B669332384359   PATRICIA     MOORE                    SC          90003683323
2B66939A681661   JOANN        EWING                    MO          29026473906
2B66945988B17B   MARICELLA    VENSURA                  UT          90009124598
2B66946252B892   ROSE         KNIGHT                   ID          90013364625
2B669623555941   JULIETA      LUPERCIO                 CA          49069686235
2B66968815B271   DENISE       VAUGHN                   KY          68013736881
2B669978391592   DANIEL       RAMOS                    TX          75010289783
2B669A7A14B281   BRE          CROSBY                   NE          90013390701
2B66B199791522   EDUARDO      CALLEROS                 TX          90010671997
2B66B3A767B471   JENNIFR      NELSON                   NC          90008673076
2B66B48882B839   MAYRA        LEON                     ID          90012444888
2B66B67645B167   ETHAN        HENDRICKS                AR          90014186764
2B66B78825715B   SANDRA       CUVARRUBIAS              VA          81018047882
2B671166384364   HAROLD       MORRISON                 SC          90014101663
2B67171AA57157   DARWIN       CABRORA                  VA          90014577100
2B67181244B588   JAMES        MCNEELEY                 OK          90009798124
2B671A21771948   JULIAN       JIMENEZ                  CO          90011270217
2B672246385988   STACY        ROBERTSON                KY          90005132463
2B67239A431631   ADRIANE      RADER                    KS          22081943904
2B67249745B161   MARILYN      SMITH                    AR          23037334974
2B672637972B98   ISELA        GANDARA                  CO          90014186379
2B672824887B59   MARCUS       DAVIS                    AR          90010998248
2B672A25A71948   EULALIO      GARCIA                   CO          32024390250
2B672A8A684364   JULIE        GODWIN                   SC          90013720806
2B67343642B27B   HAKEEM       BILAL                    DC          90006334364
2B673776987B21   PAYGO        IVR ACTIVATION           AR          90014797769
2B67378A471948   MELISSA      HAWTHORNE                CO          32021797804
2B674145591528   DANIEL       GONZALES                 TX          75092061455
2B674213372B98   KARLIE       MORALEZ                  CO          90011242133
2B67441389794B   TELMA        VASQUEZ                  TX          90001994138
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1524 of 2500


2B674534585965   KEVIN            LINNEMANN            KY          90003185345
2B674548181661   TOMMIE           BELKE                MO          29061385481
2B674674755957   DAVID            NUNES                CA          90014736747
2B6756A839184B   FRANCHESKA       WILLIS               OK          90004886083
2B67574A691522   MARIBEL          GONZALEZ             TX          90004077406
2B676356291522   GUSTAVO          CHAVEZ               NM          75062443562
2B676387855957   JUAN             RODRIGUEZ            CA          48007133878
2B676391A71948   PAYGO            IVR ACTIVATION       CO          90013403910
2B676494A5B161   SHEILA           COX                  AR          90013644940
2B6764AA79189B   CALYA            BUTLER               OK          21095294007
2B676588584364   RHODA            WHITE                SC          90010255885
2B676648851343   EMI              PARROTT              OH          90013596488
2B677177A9189B   ANGELICA         PINA                 OK          90008481770
2B677318284364   ASHLYN           BURCH                SC          90013973182
2B677926291541   JUAN             ALVAREZ              TX          75087009262
2B678359597992   DANNY            OWENS                TX          90014683595
2B67855784B281   RHONDA           FREEMAN              NE          90001385578
2B678747671948   G                JONES                CO          32077097476
2B67922382B892   KATRINDA         GONZALEZ             ID          90013612238
2B679714971948   DOMINICK         BARTLONE             CO          90014947149
2B67989879189B   BRANDY           SHWARTZ              OK          90011238987
2B679A1514B245   MICHAEL          GILLENWATER          NE          27012800151
2B679A21771948   JULIAN           JIMENEZ              CO          90011270217
2B67B311857157   WILFREDO DERAS   SONIA DERAS          VA          90014863118
2B67B839431631   TERANCE          WHITE                KS          90011988394
2B67B987671948   LUZ              GONZALEZ GOMEZ       CO          90014179876
2B681132585938   SHANNON          WILLIAM              KY          90014051325
2B68145A52B892   MARIA            GARCIA               ID          90001564505
2B681471197183   JACKY            CHAN                 OR          90010824711
2B681661331453   ASIA             THOMPSON             MO          27561296613
2B68194A272B98   BARRON           LAURA                CO          90005399402
2B68212A891522   EFREN            MARTINEZ             TX          90011521208
2B68225429189B   CAROLYN          PARTSCH              OK          90014942542
2B682421385965   ANGEA            TAYLOR               KY          66024004213
2B682642472B98   NATHAN           FORTENBERRY          CO          90014186424
2B68286337B471   RHONDA           TINDAL               NC          90000868633
2B6829A2191828   DUSTA            CROMIS               OK          90015189021
2B682A6182B839   JESUS            BALDERAS             ID          90011280618
2B68369885B167   JUAN             TAMBRIZ              AR          90014216988
2B683889793773   THERESA          GOLLIHUGH            OH          64596898897
2B683945A87B87   FLORENA          WRIGHT               AR          23003099450
2B684233A2B839   GUADALUPE        JUAREZ               ID          90014642330
2B684251A9189B   ANNIE            CAITLIN              OK          21044802510
2B684639A87B87   LASHONDA         BRAZELL              AR          90009736390
2B68487A47B449   ARIMISHER        GLENN                NC          90014888704
2B685357557157   JOSEPH           ADJALOKO             VA          90012783575
2B68556399136B   TINA             CAMPBELL             KS          90005825639
2B685644A72B98   SANDRA           CHAVEZ               CO          90014186440
2B68594174B281   ESVEIDY          MALDONADO            NE          27074839417
2B685A6194B245   THOMAS           KUBILA               NE          90008430619
2B685A94A93742   ANGELA           RODGERS              OH          90005720940
2B68622372B839   TONYA            BAGLEY               ID          90001322237
2B686469785965   DORIS            OOTEN                KY          90012054697
2B68688124B261   JESSICA          WOODARD              NE          27017028812
2B6869A8347952   CHARLES          MILOR                AR          90015119083
2B686A27431453   REBECCA          JACKSON              MO          90010730274
2B687485A55941   SANDY            SISAKDA              CA          90014184850
2B687825572B42   JULIAN           NAVARRO              CO          90003588255
2B68786868B17B   KEITH            KENDALL              UT          90010028686
2B68838675B161   JOHN             SANDERS              AR          90004583867
2B688443291828   TOMIOTHY         HATCHER              OK          90006564432
2B688611A9189B   HARLAN           USSREY               OK          90008456110
2B688937391241   JOHN             WILLIAM              GA          90011899373
2B68919339794B   MARIA            LOPEZ                TX          90013731933
2B689318A31631   ANGELA           ALEXANDER            KS          90012013180
2B689531371948   PATRICIA         LEAVITT              CO          32017595313
2B68974392B27B   TAYNON           HILL                 DC          90007187439
2B68B328822477   CONNIE           REDSTRONG             IL         90011183288
2B68B418541261   MELISSA          BRADLEY              PA          90004944185
2B68B58919189B   CHRISTIE         RAYMOND              OK          21015035891
2B68B8A169794B   JUAN PABLO       TINOCO               TX          90012548016
2B691122391881   CHARLES          OATES                OK          90010971223
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2B69124495715B   NATALIE     BRISENO                   VA          90006492449
2B69124A185988   RENEE       SEALS                     KY          90011092401
2B691291251343   ANDREW      COOK                      OH          90011272912
2B69131A691541   BELINDA     MORENO                    TX          90003403106
2B691882131433   KEYANNA     LATHON                    MO          90014298821
2B691994372B98   ARTHUR      AGUIRRE                   CO          33068779943
2B692531185938   NICOLE      BRADLEY                   KY          90011185311
2B69284815B167   LESILE      MORALES                   AR          90014478481
2B69287357B449   ADIN        OROZCO                    NC          90014888735
2B692A79972B98   JOHNNY      ROYBAL                    CO          33069610799
2B6934A2191828   WAYNE       CRANE                     OK          90007564021
2B69352194B588   CHRISTIAN   DASHUN                    OK          90015245219
2B693666257157   TYRONE      DAVIS                     VA          90007006662
2B693741591522   EDGAR       PEREZ                     TX          75068747415
2B693928374B79   MACOMICO    SLAYTON                   PA          51047649283
2B694179587B21   JAMES       HOOLEY                    AR          90014871795
2B69463679189B   BRANDY      COX                       OK          21070296367
2B69468215715B   WENDY       MORALES                   VA          90007086821
2B69471739794B   MARSHAL     WORTHAM                   TX          90015037173
2B694977772B98   ROBERT      NAVARRO                   CO          90012889777
2B695111991828   MICHAEL E   MYERS                     OK          21011441119
2B695248572B98   MARIA       ESCOBAR                   CO          33063072485
2B69533AA57157   DONALD      RICHMOND                  VA          90012753300
2B695524491522   SOLIS       MARISELA                  TX          90006015244
2B69562484B261   TIANNA      WATKINS                   NE          90003636248
2B69613824B245   TENETHA     COLLINS                   NE          90006941382
2B69616982B892   KRISTINA    FITTS                     ID          42032051698
2B6961A4A91522   ALEJANDRO   RIVERA                    TX          90012631040
2B696456585938   TEREKA      GUIN                      KY          90011164565
2B69722355B167   ARLESHIA    MORGAN                    AR          90004062235
2B69753472B839   HEATHER     HOLM                      ID          90014575347
2B697566672B42   IRVIN       GARCIA                    CO          33038815666
2B697596491592   MONICA      CANO                      TX          90011575964
2B697663981637   NIKOLAS     DJIKO                     KS          90013666639
2B69771474B588   JOSE        HERNANDEZ                 OK          21578107147
2B697994291241   IRVING      NICHOLS                   GA          14573549942
2B697A17131453   JERWANDA    MASSEY                    MO          27546750171
2B698393847952   AMANDA      HALL                      AR          90014703938
2B698589891522   AMBER       LARA                      TX          75065895898
2B698816261979   ERIC        MIRELES                   CA          90007478162
2B69881A54B521   KRISTINA    ROMERO                    OK          90011728105
2B6988AA94B588   ANDRES      MONTES                    OK          90010518009
2B69915319189B   TAYOUR      WILSON                    OK          21002671531
2B699197881637   SHARON      LINDSAY                   MO          90014111978
2B6991AA54B281   JAMIE       PLATER                    NE          27034221005
2B699648672B98   JAMES       THOMAS                    CO          90014186486
2B69999A45B161   MATEO       REYES                     AR          90001999904
2B69B474685965   VINCENT     CRUPPER                   KY          90014694746
2B69B661331453   ASIA        THOMPSON                  MO          27561296613
2B69B826647952   ANDREA      RODIRGUEZ                 AR          90014918266
2B69B92384B261   JON         SUTTON                    NE          90011569238
2B69BA16341245   RICKI       PHILLIP                   PA          90011550163
2B6B122184B281   CHRISTINA   NEGRETE                   NE          27066842218
2B6B12A8372B36   SEAN        DUNWOODY                  CO          90001112083
2B6B12A999794B   MARIAH      CHILDS                    TX          90011462099
2B6B162412B249   EBONY       TATE                      DC          90001896241
2B6B1768A91522   MARTIN      SOLTERO                   TX          75012377680
2B6B1A5A884364   DAMARIS     LARA                      SC          90000720508
2B6B2285A72421   LAUREN      RUPERT                    PA          90013942850
2B6B23A3257157   ANTHONY     RAMIREZ                   VA          90005813032
2B6B283369794B   ALEJANDRO   HUINAC                    TX          74052878336
2B6B2A5434B281   ELIZABETH   BRITO                     NE          90012040543
2B6B3126155957   JUDITH      ALVIRA                    CA          90014331261
2B6B314532B839   ROSENDO     RIVAS                     ID          42090571453
2B6B3668584364   ROBBIE      BURRIS                    SC          90014416685
2B6B3713533122   BEVERLY     PETERSEN                  IL          90011027135
2B6B376984B245   JEANIE      HALL                      IA          90009887698
2B6B3A3985B161   LAKISHIA    FISHER                    AR          23023300398
2B6B422339189B   DARLENE     MCDUGLE                   OK          90011002233
2B6B428A831453   TINISHA     WATSON                    MO          90011902808
2B6B4396451343   SHAWN       ROBINSON                  OH          90009943964
2B6B45AA172421   DEVON       CARTER                    PA          90014715001
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2B6B5386785938   CIPRIANO      SANTIANGO               KY          90002153867
2B6B555577B471   LATICIA       COOKE                   NC          90011115557
2B6B576A19189B   TINA          OBERST                  OK          90014697601
2B6B592219794B   VELT          WALLACE                 TX          90014129221
2B6B5A56555923   MARY          BRAMBILA                CA          90007850565
2B6B6312981661   RACHEL        ALLISON                 MO          90007703129
2B6B676465715B   REYNALDO      CHAVEZ                  VA          90011867646
2B6B6A58784364   RASHIED       WHILDER                 SC          19065280587
2B6B7616972B98   ADRIAN        GONZALEZ                CO          90014186169
2B6B782254B521   PATRICIA      RODRIGUEZ               OK          90010778225
2B6B78A252B839   ERICK         JIMENEZ                 ID          90013948025
2B6B78A325715B   JOSE          GUEVARA GARCIA          VA          81057828032
2B6B7A59591522   JOHNY         SAPIEN                  TX          75010730595
2B6B8672185938   VICTOR        FERNANDEZ               KY          67017576721
2B6B8679581637   CATHERINE     BARTOW                  MO          29080726795
2B6B913A291522   OSCAR         ESTRADA                 TX          90014931302
2B6B9488291541   LILY          ESTRADA                 TX          90001214882
2B6B94AA872B98   MARK          JAIME                   CO          33096634008
2B6B9537872421   ROSE          MORRISS                 PA          90014725378
2B6B9665331453   JULIE         RIDGELL                 MO          90015126653
2B6B9668687B59   SHEILA        CURRY                   AR          90014086686
2B6B994879184B   MAGYN         PASSMORE                OK          90010379487
2B6B9982A4795B   WALTER        AGUILAR                 AR          90002479820
2B6BB274991828   LEMONT        JACKSON                 OK          90015322749
2B6BB648A81637   KRYSTAL       NASHONDRA               KS          90011736480
2B6BB854991592   BALDOMAR      SALAZAR                 TX          90000708549
2B6BB915181661   MAGDALENA     CHAPA                   MO          90014629151
2B711577A91241   CIERRA        CRONK                   GA          90013755770
2B71175269189B   ALYNE         BEAVER                  OK          90014707526
2B71215A291592   SAMUEL        WINTERS                 TX          90013181502
2B71216927B471   MARIA         CERECEDA                NC          90013131692
2B7122A455B356   NUNO          VILLA JERINO            OR          90003722045
2B712512831453   CEDRIC        LIBENGO                 MO          90013255128
2B71312277B666   TERRELL       DAVIS                   GA          90005951227
2B71322939794B   SHACQUELINE   REED                    TX          90008952293
2B71342A172B98   EVELYN        ARCHULETA               CO          90004434201
2B713651972B98   ROBERT        PATERSON                CO          90014186519
2B71374A287B59   TIERRE        HAWKINS                 AR          90014247402
2B713771171948   THOMAS        RUSSELL                 CO          90014477711
2B71438389189B   STUART        COTTRILL                OK          90015153838
2B714424A31699   MARTIN        HEFLEY                  KS          90011544240
2B714616291522   ALMA          DE GONZALEZ             TX          75085856162
2B714A8497B471   MI NENA       BELLA                   NC          90007110849
2B715129A5B167   EVANGELINA    RODRIGUEZ               AR          23073281290
2B715551157157   EVELYN        HERRERA                 VA          90010045511
2B71578594B588   BENNIE        HOUSTON III             OK          90011457859
2B715A31551343   BRANDON       BACK                    OH          90014520315
2B71655AA81637   KWEC          REH                     MO          29027945500
2B71664484B281   SAMUEL J      SIMPSON                 NE          90014186448
2B716793341245   THOMAS        PRYOR                   PA          51033207933
2B716939991541   LEVI          REYES                   TX          75020699399
2B716AA387B449   LATICIA       BEATTY                  NC          90011430038
2B716AA389189B   CINDI         BENNETT                 OK          90011240038
2B717131691541   MARTHA        REYES                   TX          90000721316
2B71718934B261   KATIE         KELLY                   IA          90015161893
2B717299951343   TENERINA      SEARLES                 OH          90011272999
2B71764512B892   JOSHUA        MEADOWS                 ID          90011496451
2B71835A29189B   EVELYN        ANDREWS                 OK          90008043502
2B718375287B21   KAYLA         FRAZIER                 AR          90015253752
2B718389472B98   RUBEN         DELGADO                 CO          90001713894
2B718669787B59   TONDRA        TAGGART                 AR          90014916697
2B71898772B27B   FOLASADE      OGUNWUMIJU              DC          90010569877
2B71932A191541   RUBEN         MENCHACA                TX          90013203201
2B71934392B892   NELLA         THURMAN                 ID          90014973439
2B719422557157   JUAREZ        FAUSTO                  VA          81067694225
2B719562661877   DONALD        OBRIAN                  IL          90015555626
2B71974634B543   KIMBERLY      PRINCE                  OK          90010897463
2B71999652B839   MARIA         ELENGA                  ID          90013949965
2B719A47785938   ANA           ROSALES                 KY          90012120477
2B71B445857157   NORMA         LEDON                   VA          81013184458
2B71B448171948   CATHERINE     BOGLE                   CO          32083164481
2B71B858A4B553   TAMMY         SNIPES                  OK          90007298580
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2B721486A7B471   MARINA        PEREZ RAMIREZ           NC          90013634860
2B721615191592   IVONNE        RAYGOZA                 TX          75096196151
2B721994772B98   LEEANNA       OVIEDO                  CO          90011729947
2B721AA5587B59   TRACIE        JACKSON                 AR          90012270055
2B72242185B536   AGNES         GARCIA                  NM          35056554218
2B722486A9794B   JENNIFER      LORDEN                  TX          90009774860
2B722615191592   IVONNE        RAYGOZA                 TX          75096196151
2B72299652B839   MARIA         ELENGA                  ID          90013949965
2B7229A225B167   WILLIAM       SMITH                   AR          90014239022
2B722A62A5715B   CESAR         AGUSTIN                 VA          90000100620
2B72338162B94B   LAURIE        BRADSHAW                CA          90011333816
2B723549257157   PAULA         ARCHIE                  VA          90011045492
2B723817A57B85   JOSE          GUZMAN                  PA          90013998170
2B723A46A84364   EDWINA        GRANT                   SC          90009860460
2B723A53571948   HERMEN        FAUSON                  CO          90014330535
2B7241A775715B   YURIDIA       BENITE                  VA          90013521077
2B724492185965   ED            LANGDON                 OH          66082004921
2B72478299189B   IYISHA        ROBINSON                OK          90014707829
2B7247A9987B59   JARDENA       SWANN                   AR          90015187099
2B724966587B59   DESTINY       PARKS                   AR          90012729665
2B724A7A571948   KRISTY        MOCK                    CO          90014180705
2B725133891522   MANZANO       ADRRIANA                TX          75000241338
2B725184A57157   CARMEN        SANCHEZ                 VA          90015301840
2B72569387B699   DAWN          ELCOMBE                 GA          90004596938
2B725783972B98   JOHNETTE      HARRIS                  CO          33001127839
2B725A34791547   GUSTAVO       VASQUEZ                 TX          90012640347
2B725A77451561   LORI          COKER                   IA          90015140774
2B726356381661   MIA           MONROE                  MO          90012373563
2B726615691528   JOVANNA       ECHEVARRIA              TX          90003356156
2B72661964B588   LISA          BROOKS                  OK          90011106196
2B726675272B98   KAREN A       CRAIN                   CO          33001916752
2B726755691541   DAVID         JIMENEZ                 TX          90015127556
2B727339255941   LUIS          MANZO                   CA          90011983392
2B7279A8891592   VALERIA       MARTINEZ                TX          75041809088
2B727A8635B167   JARROD        WARE                    AR          90014240863
2B72842112B892   CHRIS         TAYLOR                  ID          90010654211
2B728488A81661   CHRISTINA     HEDBERG                 MO          90010344880
2B72897812B839   KIMBELY       ROSE                    ID          90013949781
2B728A79931631   JOE           RICHARD                 KS          90003650799
2B728A9295B161   ELVIS         ABSTON                  AR          23068860929
2B729241447952   CHRISTINA     ADAMS                   AR          24088882414
2B729266555941   ERIKA         BLANCO                  CA          90009572665
2B72978299189B   IYISHA        ROBINSON                OK          90014707829
2B7298A9A2B892   SHANE         GREVER                  ID          90002158090
2B72B373887B59   JOANA         TAYLOR                  AR          90012183738
2B731111955957   CALISTRO      CARRILLO                CA          90010051119
2B731184391933   DAISY         FERNANDEZ               NC          90013031843
2B73119144B261   JULIE         BIERANOWSKI             NE          90005201914
2B73145A647952   KIZZIE        LEWIS                   AR          90010884506
2B731634241245   CHADD         SIMPSON                 PA          51088296342
2B73182858B334   JESSICA       MCCAIN                  SC          90008648285
2B7318A3A9189B   ANTHONY       STODDARD                OK          90014708030
2B7323A162B27B   TIJUANA       SILVERS                 DC          90008103016
2B732469791592   KARINA        ALVAREZ                 TX          90011864697
2B732564451343   DONALD        WILSON                  OH          90006815644
2B73256A87B449   TARQUITA      BARNETTE                NC          90011055608
2B73281325B167   LISETTA       DUKE                    AR          23078538132
2B73281A47B471   LUIS          MUNOS                   NC          90014248104
2B733289347952   VILMA         LOPEZ                   AR          90005592893
2B73341A955957   JULIE         HILL                    CA          90009264109
2B7337A5672421   DANA          LOZANO                  PA          90015107056
2B734165561877   DANE          CHASTAIN                 IL         90015371655
2B7341A6547952   MARIA         JARAMILLO               AR          90015011065
2B7341AA671948   KATHY         LARRISON                CO          90014181006
2B73425A685988   CHESTER       MILLER                  KY          90006402506
2B734399331631   WENDY         YATES                   KS          90014433993
2B7347A5672421   DANA          LOZANO                  PA          90015107056
2B734871285639   ROSAURA       OLARTE                  NJ          90013928712
2B734995993773   JAMAR         BLUE                    OH          90001809959
2B735145651336   LESLIE        ADAMS                   OH          90007501456
2B73537125B167   CHRISTOPHER   FLYNN                   AR          90011603712
2B7357A5672421   DANA          LOZANO                  PA          90015107056
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1528 of 2500


2B735836181637   KENITH          MOZEE                 MO          90012928361
2B735974931453   ANTWONET        DAVIS                 MO          27534449749
2B735A2494B281   GERSON          KAPI                  NE          27064760249
2B735A5177B449   KAROL           IGLECIAS              NC          90014890517
2B735A5344B588   TAKEYLA         ELLISON               OK          90007370534
2B73625684B261   CHRIS           ARMBRUST              IA          90009042568
2B7364A5181661   TONY            BARBOUR               MO          90010644051
2B73654354B261   SANTOS          SAENZ                 NE          27097855435
2B736A53885965   WILLIAM         MCMURRAY              KY          90009880538
2B736A7A485938   JEREMY          BOGGS                 KY          90013740704
2B737148791541   ALEJANDRO       ARRIELO               TX          90015231487
2B73765969794B   CORIE           ANDERSON              TX          90009856596
2B738616A2B839   ANGELA          DITTIMUS              ID          90011896160
2B7391AA48B334   KRISTEN         DAWKINS               SC          90003641004
2B73925A751331   JESSE           GREER                 OH          90009992507
2B73962664B261   SARAH           TRIPP                 NE          90006086266
2B739787155957   ROBERTO         RAMOS                 CA          90014947871
2B739891491828   PATRICIA        EVANS                 OK          21072508914
2B73B17872B839   LARISSA         SLAGEL                ID          42070301787
2B73B53329189B   BRITTANY        ASHWOOD               OK          90014715332
2B73B576451343   GUADALUPE       FRANCO                OH          90002095764
2B741142581637   ANTHONY         ADAM                  MO          90014811425
2B74144829794B   PAYGO           IVR ACTIVATION        TX          90014054482
2B741518185938   ECOSHIA         JONES                 KY          67063615181
2B741591661986   RUTH            GONZALEZ-LOZANO       CA          90014005916
2B74238175B167   CHRISTOPHER     WHITFIELD             AR          90014253817
2B7424A8485965   ANNA            SKEEN                 KY          66056724084
2B74297445B167   CHRISTOPHER     WHITFIELD             AR          90014569744
2B742A52A9189B   DENNIS          SUITOR                OK          21001500520
2B742A5829794B   JAIME           GOMEZ CONTRERAS       TX          90012930582
2B743541647952   JESSICA         FLEMONS               AR          90012255416
2B7438A829189B   BRIAN           SELLERS               OK          90014708082
2B743915455957   MIREYA          VAQUEZ CASTRO         CA          90011729154
2B744824791592   ARTURO          SAPIEN                TX          90013238247
2B744A32A72B42   CHAPMAN         SHAYLENE              CO          90012500320
2B74542419189B   KENT            FECHNER               OK          90015104241
2B745657372B98   CHRIS           CRINGLE               CO          90014186573
2B74566A25B271   RODRICA         ANDERSON              KY          90010636602
2B745953691522   FILOMENA        SAINZ                 TX          90004749536
2B746145287B87   LINDA           WOODARD               AR          23030781452
2B746168657157   DORIAN          TORRES                VA          90013401686
2B7462A3651343   QUNEISHA        BURNS                 OH          90013112036
2B74672175715B   JOSE NORBERTO   MACHADO               VA          90006267217
2B746818471948   BRIAN           JOHNSON               CO          90012528184
2B7468A5491828   VINA            MOORE                 OK          90013988054
2B746A1A79794B   ELIZABETH       MCFALL                TX          90012470107
2B746A3832B839   TONIA           BARROSO               ID          90010490383
2B746A8689794B   OLIVIA          DANIEL                TX          74017640868
2B747537772B42   OSCAR           SOLTERO               CO          33001225377
2B74756962B892   REBBECA         RIVERA                ID          90013475696
2B747868947952   MELINDA         GALL                  AR          90007788689
2B74792457B42B   GODEY           MOREIDA               NC          90012429245
2B74798632B839   MOHAMMED        ABED                  ID          90013949863
2B747A29185965   KELLI           MARTIN                KY          90013650291
2B747A8277B377   DAVID           NAUHEIMER             VA          90012650827
2B7481A7791522   CARMEN          ERICKSON              TX          75079381077
2B748825155957   SIRENE          CERVANTES             CA          48079588251
2B748876847952   KOSCHA          WASHINGTON            AR          24098338768
2B749172987B59   WAYMON          JACKSON               AR          90013071729
2B74962A92B839   TERESSA         STEPHENS              ID          90001916209
2B749751172B42   ANTHONY         HENDRICKS             CO          33003537511
2B74B292384364   ALEXIS          SHELTRAW              SC          90013492923
2B74B36524B59B   TRESA           WIMMS                 OK          90014103652
2B74B4A8591522   ALEJANDRO       ESCOBEDO              TX          90002384085
2B74B691547952   JAMES           JONES                 AR          90007606915
2B74B956391528   ISRAEL          DURAN                 TX          90004429563
2B751987391522   ANTONIO         RIVERA                TX          90004789873
2B751A2754B588   LEONEL          ABELINO               OK          90012680275
2B7525A852B839   JOSHUA          FEJERAN               ID          90011755085
2B752633131453   ANA             VEGA                  MO          90014606331
2B753285231631   DEBORAH         JAGGER                KS          22004762852
2B754136781637   JOSHUA          MILLER                MO          90006131367
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2B754A85472B98   OMAR          VALLE                   CO          33035250854
2B755831185988   JOSHUA        GARRARD                 KY          90001718311
2B75626625B243   HAL           BRACKNEY                KY          68014282662
2B75648582B839   TOM           DEARDEN                 ID          90014464858
2B7565A844B245   FERMANDO      LOPEZ                   NE          90010115084
2B756659172B98   CHRISTOPHER   JOHNSON                 CO          90014186591
2B756724A5B167   ABIGAIL       RESENDIZ                AR          90014257240
2B75684269189B   MARTHA        BOLADO                  OK          90014708426
2B756957391592   MARICARMEN    CRUZ                    TX          90015119573
2B757238457157   GERMAN        CRUZ                    VA          90002542384
2B757388A4B281   BOBBY         LUSTER                  NE          90010393880
2B75744449184B   ROSETTA       STILL                   OK          90012844444
2B757731384364   JESSIE        CARSON                  SC          90014087313
2B757844131453   RASHIKA       BRANTLEY                MO          90012688441
2B7578AAA4B245   ISKANDAR      JALILOV                 NE          90004178000
2B7579AA857157   CARLOS        AVALOS                  VA          90014209008
2B75813274B588   LARISSA       VOSS                    OK          90015211327
2B758215261985   MARICELA      MURRIETA                CA          90011542152
2B758236881637   WESLEY        RANDOLPH                MO          90015022368
2B758939291592   ANGEL         MONTEZ                  TX          90004729392
2B75928582B839   LUIS          JUAREZ                  ID          90005612858
2B7593A8791528   ANA           VALADEZ                 NM          90008703087
2B759613491522   HUGO          CARRANZA                TX          90010196134
2B75961457B449   JERONE        HOEY                    NC          11051976145
2B7599A6585965   NICOLE        GIBBS                   KY          66025999065
2B759A45672B98   PETRA         MUNOZ                   CO          90008760456
2B75B13824B261   TENETHA       COLLINS                 NE          90006941382
2B75B535791592   ADAN          FAVELA                  TX          90014095357
2B75B72767B699   BRENDA        JORDAN                  GA          90012117276
2B75BA36955941   JUAN          ROSAS                   CA          90009800369
2B76112A751336   RONALD LEE    LONG                    OH          66038961207
2B761811A4B261   MYRTLE        FAIRCHILD               NE          27043788110
2B761861671948   HASTIN        MOORE                   CO          90010908616
2B761A55972B42   CABRERA       ERICK                   CO          33050890559
2B76229214B261   GIL           LAGUNAS-PEREZ           NE          27092092921
2B7626AA99184B   HARDEN        SUSAN                   OK          90014936009
2B7629A8585965   ADOLFINO      GUERRERO                KY          66013199085
2B763141A5715B   DEBORA        CANALES                 VA          81076651410
2B76347169189B   GARY          BURAS                   OK          90003144716
2B76359429184B   FARHANNA      NASIR                   OK          90010285942
2B763939691541   GERARDO       GARCIA                  TX          75037789396
2B76414379794B   PATRICIA      AUSTIN                  TX          90005361437
2B764548951343   JOSE          SANCHEZ-REBOLLO         OH          90009965489
2B764711A91828   JENNIFER L    WALKER                  OK          90015287110
2B76473A472B42   DAN           PARKER                  CO          33074817304
2B764829257157   TONY          TUNER                   VA          90008838292
2B764A5627B449   RAUL          SALINAS                 NC          90014890562
2B765443A21683   ANNE          TYSON-SABIR             OH          90015044430
2B765451181637   JOCELYN       ALLEN                   MO          90007344511
2B76594365715B   MARIO         CASTRO                  VA          90012209436
2B766281A31433   SERENA        HARRINGTON              MO          27549262810
2B766475655941   VICTORIA      CARMONA VALLEJO         CA          49039004756
2B766AA5A7B449   ANDREA        OLIVER                  NC          90010160050
2B76733339794B   JUAN          MEJIA                   TX          90015273333
2B76743285B167   AMBER         MAPLES                  AR          90014644328
2B767655A9189B   HAYLEY        ELIZABETH               OK          90002786550
2B76778652B892   ANGELA        REED                    ID          42016277865
2B76784484B261   DULCE         VARGAS                  NE          27011288448
2B76785684B543   JOSE          RAMIEREZ                OK          90010868568
2B767989A5715B   IRMA          MARQUEZ                 VA          90005539890
2B767A56781661   SHANIES       NEAL                    MO          90014630567
2B76838A385965   ANDREW        MCKINNEY                KY          90014513803
2B76852A557157   JESSENIA      GOMEZ                   VA          90007825205
2B768578691541   RAMON         ZUBIA                   TX          75034355786
2B768662791251   ELIZABTH      BELLE                   GA          90004516627
2B768748672B98   MELANIE       VASTARDIS               CO          33039307486
2B7691A6381637   RUTH          GRAY                    MO          90014751063
2B769585471948   CHRISTINE     SEBER                   CO          32087985854
2B769637781661   ZELPHA        RODGERS                 MO          29062186377
2B76B214485965   TIM           MCCULLOUTH              KY          90012762144
2B76B384631631   GAIL          PETTI                   KS          90009633846
2B76B5A859794B   KEYONE        JOHNSON                 TX          90014675085
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2B76B652191828   NANCY        LOPEZ                    OK          90011066521
2B76BA51772B98   ALFONZO      HERNANDEZ                CO          33081870517
2B771117A5715B   SALVADOR     MORENO                   VA          90009751170
2B771241351343   STEVE        BREUNIG                  OH          90013112413
2B771326157157   NICOLE       PALMER                   VA          81028963261
2B77134685B531   DOMINIQUE    SUMMERVILLE              NM          90003733468
2B77149695B271   KEYTHEN      GANT                     KY          90011384969
2B771695372B42   RAUL         DURON                    CO          90011426953
2B77183225B356   JOSE LUIS    ARAIZA                   OR          90001508322
2B77191A37B471   AMANDA       YOUNGBLOOD               NC          90008219103
2B772262951343   JASON        BAIN                     OH          66090252629
2B77232828B147   CHAD         HANSEN                   UT          31092683282
2B77268929794B   NORA         SALDANA                  TX          90013046892
2B772A5384B588   BECKY ROSE   JOSLIN                   OK          90006510538
2B772A85351336   DARNESHA     CHANDLER                 OH          90014090853
2B773363A71948   PAT          HARTNETT                 CO          32000243630
2B773381291241   KASIYA       MCINTOSH                 GA          90015083812
2B773677A55941   FABIAN       SAMANIEGO                CA          90010436770
2B773783A47952   SANDRA       VASQUEZ                  AR          90014747830
2B773828751343   MICHAEL      SHAVER                   OH          90014158287
2B7739A8A72B98   VERONICA     GONZALES                 CO          33036109080
2B774291191528   OMAR         DEL TORO                 TX          75092092911
2B77483945B271   STEPHANIE    FORD                     KY          90009598394
2B774A1252B839   DESERAY      VIENOLA                  ID          90013950125
2B774A33931699   HEATHER      SCHOOLEY                 KS          90007760339
2B775154857157   MARIA        FLORES                   VA          90012771548
2B77516735715B   MARINA       MONTERROSA               VA          90007931673
2B775488691592   KEMMETT      CHILDERS                 TX          90013864886
2B775871884364   NADARA       HOFFMANN                 SC          90013878718
2B776188781661   DARIENNYS    DOMINGUEZ                MO          90015011887
2B776322972B98   JAVIER       AYALA                    CO          33009743229
2B776412691522   MICHAEL      HAINER                   TX          90012444126
2B77667444B261   BRENDA       DREW                     NE          90013356744
2B77679A17B449   SALUD        SIERRA                   NC          90007627901
2B77684A891592   MELISSA      GAMBOA                   TX          75020298408
2B77717839189B   TIFFANY      HOLDMAN                  OK          90011241783
2B777841491592   ULYSSES      GRAJEDA JR               TX          75088578414
2B7781A8533651   MARLA        AREVALO                  NC          90007531085
2B778274987B59   JACQUELINE   GRIGFTY                  AR          90015092749
2B778562A85938   MATILDE      AGUSTIN                  KY          67018885620
2B77859A755957   ROD          FITIAUSI                 CA          48093385907
2B77867864B588   LUCIANO      SMITH                    OK          90006846786
2B7787A749189B   MATTHEW      CLARK                    OK          21050187074
2B7791A2351336   TERESE       CHIALASTRI               OH          90012901023
2B779283A91522   JAZMELLY     AMAYA                    TX          90013142830
2B77933A24B281   CONSTANCE    HOUTZ                    NE          90011493302
2B77971A94B261   RYAN         WOLF                     NE          90012697109
2B77974244B261   SAWNSURAE    MARION-PHELPS            NE          90014177424
2B77B199457157   MARIBEL      OROZCO                   VA          90008191994
2B77B329971948   BYRON        HARDAWAY                 CO          90007423299
2B77B385772B42   JOCELYNN     YORK                     CO          90012693857
2B77B42547B471   LINDA        WALTON                   NC          90003764254
2B77B61438B17B   IVAN         RIVERA                   UT          90011696143
2B77B88415B167   JESSICA      GARRETT                  AR          90014288841
2B77B889872B98   RYAN         ROBERTS                  CO          33022228898
2B77BA68485965   JASON        SIMS                     KY          66007210684
2B781148451336   ANGELA       GLANCY                   OH          90011201484
2B781597285938   KAREN        TREJO                    KY          90011065972
2B781642191541   CORINA       VASQUEZ                  TX          90012166421
2B78187915B167   CAROL        BARNETT                  AR          23058998791
2B78216865B167   MARY         DANIELS                  AR          90013451686
2B782329631453   TEREATHA     WILLIAMS                 MO          90010773296
2B782A8794B588   CINDY        FLORES                   OK          90014300879
2B78311482B27B   EVON         MUSGROVE                 DC          81039771148
2B78321539189B   LAURA        STRONG                   OK          90004442153
2B783249587B21   MARGARITA    BRYANT                   AR          90011052495
2B7832A162B839   MARIYA       BAY                      ID          90014492016
2B7832A419794B   VERA         AYERS                    TX          90002692041
2B7832A4872B98   FELICIA      SUAZO                    CO          33045792048
2B783336691592   MARIA        ESPINO                   TX          75033393366
2B783745751343   RACHELLE M   POWERS                   OH          90000847457
2B7837A862B892   RODNEY       BURKHEAD                 ID          90014497086
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2B78388584B261   JUNE             CURTIS               NE          27016828858
2B784323A41245   TONI             ADAMS                PA          51072103230
2B784335755957   LUIS             GONZALES             CA          90011853357
2B784386357157   ADARA            SULUESTER            VA          90013583863
2B78444584B261   ROBERT           GALVAN               IA          90001914458
2B784542885938   VAQUERA          CRUZ                 KY          67052745428
2B784911A31453   CRYSTAL          YOUNG                MO          90010939110
2B7851A1791522   SAHID            HOLGUIN              TX          90014471017
2B78523562B931   GARY             MAYLE                CA          90000342356
2B785365385938   LAURISSA         VARGAS               KY          67002033653
2B78568124B261   BICH             LE                   CO          27003136812
2B78571AA8B334   ROBIN            CLIFTON              SC          90009157100
2B786119491828   LISA             REED                 OK          90009621194
2B786433855941   OSAMA            FATTAH               CA          49074544338
2B78686434B261   DONTA            WRIGHT               NE          90013608643
2B787368572B42   ROBERTO          SORIA                CO          33038163685
2B7874A4391528   EDUARDO ALONSO   SALINAS              TX          90005924043
2B787924781661   LARRY            LEEK                 MO          90014109247
2B78817748B17B   CHARLES          SHEPARD              UT          90006951774
2B788322481661   DEBORAH          L ELLIS              MO          90010353224
2B788373151356   PAM              ROBERTSON            OH          90013773731
2B788711671925   CHAD             LADUKE               CO          90009547116
2B788A12291541   JAIME            PARRA                TX          90013780122
2B78935A75715B   THOMAS           HOLMES               VA          90012483507
2B78954A357157   LORENA           COLINDRIS            VA          90012185403
2B789662784364   CARRIE           BROWN                SC          90010246627
2B7896A9981661   MICHAEL          ROBERTSON            MO          90013276099
2B789762A9189B   MARIO            RIOS                 OK          90004157620
2B78981697B471   VELASQUEZ        WIELMAN              NC          90009438169
2B78986A34B281   SALAT            MUSA                 NE          90014858603
2B789872571948   KARL             MANN                 CO          90013508725
2B78B194451343   MELLANIE         BEGLEY               OH          90005611944
2B78B251451336   ERIC             MADDEN               OH          90012272514
2B78B3A9961999   ISIDRO           MORENO               CA          90009133099
2B78B621491541   RAMON            VALLES               TX          90014886214
2B78B62777B471   EDWARD           GRIER                NC          90010066277
2B78B7A835B271   MIGUEL           FRIAS-OLGUIN         KY          90015137083
2B78B818A9184B   JOHNA            BENDELE              OK          90001668180
2B78B944A9794B   ERNEST           PACKARD              TX          90014739440
2B791194881661   MICHAEL          MILLER               MO          90011521948
2B791242693757   JOSEPH           PETITTO              OH          90010592426
2B791666231277   CHRISTIAN        BARRIGA               IL         90010216662
2B791737591528   JULIE            MORENO               TX          90003357375
2B791898691952   LORRAINE         RIVERA               NC          90006528986
2B791A25341245   RONALD           THOMPSON             PA          51061600253
2B791A88691828   GWENDY           QUINTERO             OK          90002090886
2B79225615B167   DARREN           ORTIZ                AR          90001782561
2B79237A19794B   JENNIFER         SCHUBACH             TX          74065413701
2B792554472B42   DAISY            VALLEZ               CO          33095515544
2B792592A81637   JEANNA           LANDERS              MO          90010205920
2B792698984364   ANTHONY          BUSCH                SC          90009856989
2B792946591541   LORRAINE         ORTIZ                TX          75007339465
2B792A13351346   DEMETRIUS        FIAMAWLE             OH          90006780133
2B792A31787B59   MARQUITA         WILLARD              AR          90015230317
2B793147485938   JERRY            MARSHALL             KY          90013991474
2B793239291541   VIRGINIA         SAUCEDO              TX          75075392392
2B79327875715B   CLAUDUIA         GONZALEZ             VA          90012352787
2B79339934B281   DEE              DAVIS                NE          90014763993
2B793644951336   LATOYA           PRICE                OH          66013996449
2B793A49184364   TERRELL          OWENS                SC          90014540491
2B793AA9433126   GALVINO          FERNANDEZ             IL         90014360094
2B79414A591541   MICAELA          MOTTU                TX          75027981405
2B79437913B386   ATHENA           PEREA                CO          90000433791
2B794488891522   MATA             JHON                 TX          90009214888
2B7949A2285988   EUSEBIO          LIZARDO              KY          90006519022
2B794A95A87B59   JARESHA          BATTLES              AR          90013940950
2B79525AA55957   VICTORIA         RAMIREZ              CA          90014192500
2B7953A854B588   AIMEE            SANCHEZ              OK          90006773085
2B7957A7491541   ROBERTO          CHACON               NM          75034347074
2B79598665715B   SHEUMAR          SONGW                VA          81017179866
2B7961A8A7B449   FRANK            LUCAS                NC          90014891080
2B796211455957   ESTEBAN          ALVAREZ              CA          90011982114
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1532 of 2500


2B796489131433   RICKIE        SMART                   MO          27599134891
2B7965A2581681   ROBERT        NITSCH                  MO          90012515025
2B796696985938   RON           FOSNAUGHT               KY          90011846969
2B7966A3131631   MARY          BOOKOUT                 KS          22063666031
2B79675392B839   ZACHARY       FULGHAM                 ID          90015207539
2B797221855941   JAMES         MCDOWELL                CA          90004602218
2B797669272B98   JOHN          MCAFEE                  CO          90014186692
2B797897A4B281   MARIA         ORTIZ                   NE          90014448970
2B79794988B17B   STEVEN        WILDE                   UT          90012699498
2B79835865B356   MARTHA        VALLADARES              OR          90005253586
2B798669472B98   JOSE          MARTINEZ                CO          90014186694
2B79891539189B   JESSICA       FIARRIS                 OK          90014709153
2B798941291528   ANAHI         PEREZ                   TX          90002919412
2B798997755941   ROY           TOBAR                   CA          49000759977
2B798A47771948   LALANA        WEIMER                  CO          90012510477
2B798A9A59794B   PAULINO       THEODORO                TX          74068900905
2B799286491592   TRAVIS EVAN   FITTA                   TX          90007772864
2B79941A257157   DAVID         CASTILLO                VA          90009004102
2B799669872B98   MARIA         HIDALGO                 CO          90014186698
2B79984815B167   LESILE        MORALES                 AR          90014478481
2B79B598355941   URIEL         ESTRADA                 CA          49044825983
2B7B1279851343   SONYA         SIMS                    OH          90014452798
2B7B144613B324   EDDER         HERNANDEZ               CO          90010314461
2B7B1864391828   ADAM          THOMAS                  OK          90015308643
2B7B1874355957   DORIA         AMADOR                  CA          48010978743
2B7B227A831453   CRYSTAL       BERNAD                  MO          90013772708
2B7B24AA47B471   OOIR          HERNANDEZ               NC          90014684004
2B7B276515B161   THERESA       JOHNSON                 AR          90001437651
2B7B276559184B   ADA           CLARK                   OK          90012047655
2B7B3367A57157   TARIQ         MAHMOOD                 VA          81065653670
2B7B3432A71945   MYRA          FULLER                  CO          90012254320
2B7B363784B281   JOSE          MIRANDA                 NE          90014186378
2B7B389467B449   KAJAUN        ARCHER                  NC          90014888946
2B7B39A6772B98   RAM           BHANDARI                CO          33092369067
2B7B4273A85938   SHEMETRIA     SIMPSON                 KY          90012742730
2B7B445A361558   CRISTOPHER    CHEATAHM                TN          90015534503
2B7B457A772B42   NANCY         ALLEN                   CO          33013515707
2B7B51A4785965   BRANDON       HAYNES                  KY          66017211047
2B7B563784B281   JOSE          MIRANDA                 NE          90014186378
2B7B577837B471   JOYCE         ALEXANDER               NC          11073817783
2B7B5A4A387B21   JERRY         BUSDY                   AR          90014930403
2B7B6169457157   TAMMY         GONZALEZ                VA          90014271694
2B7B623977B449   TAIDE         ALMEIDA                 NC          11016962397
2B7B634975B167   KAY           WOOD                    AR          90009133497
2B7B6A44957157   JOHNSON       BROWN                   VA          90013360449
2B7B6A96751336   HAROLD        SAPP                    OH          90012650967
2B7B7195A2B892   KRYSTA        HOADLEY                 ID          42004351950
2B7B7531A93773   ANTHONY       AIELLO                  OH          64557805310
2B7B755549184B   ROSA          CANTERO                 OK          90013885554
2B7B7661131453   YVONNE        CLAMOT                  MO          90007336611
2B7B774679189B   STEPHANIE     PARKER                  OK          90014707467
2B7B781124B281   PAYGO         IVR ACTIVATION          NE          90014258112
2B7B783349184B   KYM           LAWRENCE                OK          21094278334
2B7B8154291522   SUZANNE       HUERTA                  TX          75089731542
2B7B8246791828   DANIEL        SHERIDAN                OK          90014962467
2B7B853415715B   JAVIER        ATAPORA                 VA          90009875341
2B7B869AA57565   ENRIQUE       HERNANDEZ               NM          35505986900
2B7B86A1872B42   MARIA         ELIAS                   CO          33090876018
2B7B91A3457157   CLARENA       ARIAS                   VA          90001781034
2B7B9366191592   ANA           MENDOZA                 TX          90012913661
2B7B93A974B588   ADRIANA       NEVAREZ                 OK          90011053097
2B7B944968B17B   DON           MITCHELL                UT          31029644496
2B7B98A2171948   HEATHER       HUGHES                  CO          32024838021
2B7BB159972B98   EDNA          LOVE                    CO          33093321599
2B7BB396291592   ISAAC         OTERO                   TX          90005033962
2B7BB56A271948   ASHLEY        GREENE                  CO          90013345602
2B7BB89A15B28B   KIMBERLY      WEEDMAN                 KY          68012738901
2B7BB934191592   YADIRA        MORA                    TX          75060849341
2B7BBA21771948   JULIAN        JIMENEZ                 CO          90011270217
2B7BBA83687B21   CRYSTAL       EATON                   AR          28087860836
2B811634A81637   VINCENT       BURGESS                 MO          90014776340
2B811692631631   PATIENCE      THOMAS                  KS          90012496926
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2B811799272B98   MELANIE     DARCEY                    CO          90014607992
2B81217545B167   JUDITH      GONZALES                  AR          23026911754
2B812451271948   CARLOS      FERRAIRA                  CO          90005524512
2B81264922B249   AVIS        ALLEN                     DC          90001256492
2B812692A91967   MICCA       PACE                      NC          90007106920
2B81283439184B   ELLIA       DE LA ROSA                OK          90014478343
2B812861291828   BROOKE      BRADSHAW                  OK          90014368612
2B81289A891528   CHARLENE    WALKER                    TX          75089948908
2B8128A1451336   JASON       CARMICHAEL                OH          66014288014
2B813372871948   ANGELICA    MEDINA                    CO          32075723728
2B81341665715B   KARLA       BETANCO                   VA          90006234166
2B81355A172B98   MANUEL      DIAZ                      CO          33061665501
2B81364435B167   MICHELE     LIGHT                     AR          90014606443
2B81367264B245   JOSEPH      HAMILTON                  NE          27005036726
2B81383379794B   LINDA       HAMMETT                   TX          74053048337
2B814177972B42   JUAN        CASTANEDA                 CO          90012031779
2B81421545B271   MELODIE     DURHAM                    KY          90011392154
2B81468124B245   BICH        LE                        CO          27003136812
2B81478652B892   ANGELA      REED                      ID          42016277865
2B8147A7A51336   FRANCES     GARR                      OH          90008177070
2B81511819189B   LYNN        SILKEY                    OK          21002541181
2B8151A392B232   CARYNN      GRAY                      DC          90001151039
2B81547675715B   JOSEPH      BADWE                     VA          90011724767
2B815754772B42   SETH        ANTILL                    CO          33004587547
2B81579878B17B   KHALID      MOHAMAD-SINDY             UT          90013487987
2B815A2228B171   DAVE        CRUZ                      UT          90006530222
2B81653247B471   XAVIERA     SHERRIL                   NC          90013375324
2B816539372B98   MICHELLE    MCMULLIN                  CO          33046795393
2B81661914B588   HENRY       VAR                       OK          90008826191
2B81689A75B167   CLINT       EDWARDS                   AR          90005298907
2B816A33791582   LUIS        MORENO                    TX          90012210337
2B817141A87B59   NICHOLAS    SWINEY                    AR          90005831410
2B817192691541   MARIZA      JIMENEZ                   TX          75043261926
2B81721885715B   ROSA        RIVERA                    VA          90000462188
2B817318281661   FELIPA      NAVARRETE                 MO          29090293182
2B817437687B21   JESSICA     SIMMONS                   AR          28047514376
2B817879151343   RENEE       WYNN                      OH          66025278791
2B817A9752B839   KEVIN       SHOECRAFT                 ID          42081780975
2B818534772B98   GUADALUPE   RODRUIGUEZ                CO          90007485347
2B81862974B245   NIQUISHA    TAYLOR                    NE          27005036297
2B81865169794B   SANTOS      VELAZQUEZ-                TX          90010346516
2B818673787B87   DEMETRIUS   DUBOIS                    AR          90012266737
2B818864A9189B   JESUS       RUBALCABA                 OK          90010098640
2B818944551343   TARA        GIBSON                    OH          66089149445
2B819552491828   MICHAEL     ELIZONDO                  OK          90013975524
2B819627257157   MAMIE       FURAHA                    VA          90010716272
2B819751672B42   FRANCISCO   CORREA                    CO          90006717516
2B819817587B59   DANIALLE    EASON                     AR          90014098175
2B819A69181661   APRIL       VANZANDT                  MO          90014880691
2B81B27462B892   DESIREE     ALANIZ                    ID          90013592746
2B81B64257B471   ALVIN       MERRTT                    NC          90015026425
2B81B79454795B   NEIL        RAGLAND                   AR          25073407945
2B81B93155B271   MARIA       GONSALES                  KY          90013919315
2B81B995891828   SARA        LYLE                      OK          90011199958
2B81BA55687B59   BRITTANY    BRADLEY                   AR          23098390556
2B81BA69431453   EDJUAN      ELBERT                    MO          90002000694
2B82134659189B   SHAVONNE    WHITEHEAD                 OK          90011143465
2B8213A194B588   JANAY       LONG                      OK          90009173019
2B8215A2757157   TOMMY       HOLIDAY                   VA          81048625027
2B82194874B588   KARISA      GLEASON                   OK          90014169487
2B82218967B449   KAMBIZ      GAROUSSI                  NC          90014891896
2B822358191522   ROSA        MARQUEZ                   TX          75005843581
2B82241A15B167   DESMOND     MAULDIN                   AR          90009654101
2B822787785965   ALICE       BAKER                     KY          66092337877
2B823131461877   CHRISTINE   HEARD                     MO          90009151314
2B82324335B271   LAUREN      PHELAN                    KY          90015112433
2B823442391592   JOHANA      MOYA                      TX          75047594423
2B823673472B98   KOOLAIDRA   JACKSON                   CO          90014186734
2B823686147952   OAKES       JASON                     OK          90014446861
2B823716684364   LAKISHA     SMALLS                    SC          90004647166
2B82431649184B   MITCHELL    RAY                       OK          21085073164
2B82434655B271   JUAN        CHAVEZ                    KY          90013603465
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2B824375A91241   JACQUELINE   BAILEY                   GA          90015363750
2B824548491997   CARLOS       ERAZO                    NC          90004455484
2B82483214B281   JAMES        REED                     NE          90001198321
2B824844955941   ARCADIO      TORRES                   CA          90007868449
2B824A95751336   JENNIFER     THOMPSON                 OH          90012680957
2B825298191541   SANDRA       ROSALES                  TX          75055702981
2B825348A9794B   CELENDA      YOUNG                    TX          90008413480
2B82548A584364   ALICIA       GREENE                   SC          90013334805
2B82556932B892   BRIDGET      MUSSAW                   ID          90009575693
2B825624772B42   ANGELA       BROWN                    CO          90012476247
2B825673772B98   ADRIAN       NEWBERN                  CO          90014186737
2B8257A2355941   CASELENA     YANG                     CA          90011487023
2B82587A931453   DAVID        SMITH                    MO          90010288709
2B825915851336   TOMARKUS     JONES                    OH          90012959158
2B82621387B471   BARBARA      SONKO                    NC          11094962138
2B82623838B17B   GABRIEL      MARTINEZ                 UT          90008692383
2B826325587B59   ANTONIO      BRAZELL                  AR          90014463255
2B826394A7B449   MARBEL       SANTOS                   NC          90009623940
2B826535531453   ERIKA        MARTINEZ                 MO          90013675355
2B826843491522   SARAH        MEGLIORINO               TX          90014768434
2B826943A55941   AMIRTPAL     SRAN                     CA          90014039430
2B82712458B133   TARA         INGRAM                   UT          90008401245
2B82713189184B   ALEXIS       SCOTT                    OK          90014801318
2B827388991933   SHELBY       WALKK                    NC          90001933889
2B8273A4372B42   MORGAN       MCBRIDE                  CO          90011093043
2B827924972421   JENNIFER     GALORE                   PA          90015229249
2B82884945B167   MICHELLE     BARNETTE                 AR          90014618494
2B829198851356   ANITA        WRIGHT                   OH          90012391988
2B829327371948   JERMAINE     WILLIAMS                 CO          32011433273
2B829348291541   KRISSTIAN    ALVAREZ                  TX          90007953482
2B829385451336   JUSTIN       KITCHEN                  OH          66073243854
2B82963578B165   ANA          PENA                     UT          90013886357
2B82B571251343   PAULINE      SPARKS                   OH          90001525712
2B82B621A91522   JAVIER       CAMACHO                  TX          90005596210
2B82B66885715B   JESUS        CARDOZO                  VA          90010016688
2B83127439184B   ERIC         CORDOVA                  OK          21065702743
2B83155215B375   JEFF         VANGORDER                OR          44515635521
2B83157354B261   SANDRA       MEDRANO                  NE          90012255735
2B83158529794B   GLORIA       WALTON                   TX          74052935852
2B83175A45B271   HEATHER      ALDOSARI                 KY          90005007504
2B83191957B449   MARIA        ROBLES                   NC          11014429195
2B831A7377B699   CASSIE       JONES                    GA          90008480737
2B832237772B42   PAULETTE     TOPPIN                   CO          33089732377
2B832564891522   LUIS         QUINTANILLA              TX          75049485648
2B832844471948   DWAIN        DAILY                    CO          90015268444
2B83286765B167   MICHELLE     BARNETTE                 AR          90014618676
2B83297235B271   ANDREW       BROXSON                  KY          90014879723
2B83328445B167   JAN          ADKINS                   AR          23058232844
2B833419691522   JAMES        MUNOZ                    TX          90004204196
2B83356699189B   PATRICIA     HANDLEY                  OK          90014715669
2B833842277576   ERIKA        REYES-GARCIA             NV          90002768422
2B833913193773   BRENDA       WILSON                   OH          90012439131
2B8339A1251343   REGINALD     TILLER                   OH          90014019012
2B83421377B43B   MARCELINO    ENAMORADO                NC          90001722137
2B8343A717B449   PATRICIA     ROBINSON                 NC          90014903071
2B834674372B98   PEYTON       MANNING                  CO          90014186743
2B834766681661   GREGG        GRAY                     MO          90013627666
2B835193731631   KIMBERLY     CARLYLE                  KS          22046141937
2B83524665715B   SAUL         CORTEZ                   VA          81013572466
2B83562A355941   AURIEL       RAMIREZ                  CA          90011416203
2B83563A39184B   ILIANA       ROMERO                   OK          90015196303
2B83568A657157   MIGUEL       UMANA                    VA          90013636806
2B835746A2B839   MARIA        CONTRERAS                ID          90014657460
2B836289357157   ROBERT       HARPER                   VA          90014332893
2B836358A2B892   BRIAN        THORELL                  ID          90002253580
2B83712A885965   TIM          FULLER                   KY          90010481208
2B837155187B21   DEBBIE       BROWN                    AR          28042941551
2B8371A7987B87   PATRICIA     SMITH-WEATHERLY          AR          23009551079
2B837214A2B892   JANICE       GALLEGOS                 ID          90006372140
2B83747194B261   MARY         SWEDENSKY                IA          90010824719
2B83819549189B   ANTHONY      YOUNG                    OK          90009171954
2B838251A91528   GILBERTO     FLORES                   TX          75055912510
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2B838317884364   LEIGH       BELL                      SC          90001693178
2B838611585965   JACQUELYN   HOWARD                    KY          90014706115
2B83887A891522   MONICA      JARA                      TX          90013868708
2B83896275B161   LOYCE       BLAIR                     AR          23051449627
2B839448591592   JOSE        HINOJOSA                  TX          90014154485
2B839818471948   BRIAN       JOHNSON                   CO          90012528184
2B83B349555957   LUCIA       FERNANDEZ                 CA          90011843495
2B83B359584364   MORGAN      CULBREATH                 SC          90014853595
2B83B383A7B449   DAVID       LUNA RIOS                 NC          90012073830
2B83B386247952   AMBER       WESTBOOK                  AR          90015613862
2B83B43339794B   ASHLYNN     ROBERTS                   TX          90013084333
2B83B91755B167   VERONICA    HOLLY                     AR          90014659175
2B83BA2969184B   LISA        HILL                      OK          90014300296
2B83BA83187B59   ZAIRE       CARPENTER                 AR          90010380831
2B841142A5B167   ALBERT      ESPINOZA                  AR          90015331420
2B84118A485965   SHANE       COLLIER                   KY          90012721804
2B84134849189B   LEKESHA     SIMMONS                   OK          90008353484
2B841879251336   BRIAN       GANS                      OH          90007148792
2B842128881661   LESLIE      KERN                      MO          90004401288
2B842369A9189B   RAUL        BAUTISTA                  OK          90011243690
2B842A8985B161   INGMER      ZELAYA                    AR          23054670898
2B843269881637   DIANNA      BARBOUR                   MO          90011422698
2B84337754B261   MARISOL     CASTILLO                  NE          27005853775
2B84344992B839   JENNIFER    GRAY                      ID          90011284499
2B84398319189B   KIMBERLY    WORLEY                    OK          90005269831
2B84428315715B   DARRYL      WYRE                      VA          81030912831
2B84438549794B   IRMA        GARCIA                    TX          90013053854
2B84443287B699   JASMINE     HAYES                     GA          15043954328
2B844615A51343   NICOLE      OWENS                     OH          90010106150
2B84467364795B   JESSICA     LEMKE                     AR          90000226736
2B845111787B59   ISRAEL      JEFFREY                   AR          90014991117
2B84526515B271   MISHA       MOSS                      KY          90012842651
2B84547542B892   NATALIE     THOMAS                    ID          90012934754
2B845583A4B245   STEVEN      HECKER                    IA          90003735830
2B845632291592   ROBERTO     HERRERA                   TX          75096346322
2B845655281661   ROSEANN     JACKSON                   MO          29001236552
2B845A41A91241   CHARLES     MCCOY                     GA          90014930410
2B845A6519794B   NICOLAS     DIAZ                      TX          90015100651
2B846323991522   DANIEL      MARTINEZ                  NM          75065593239
2B84638A672421   JUDITH      JONES                     PA          90015243806
2B846441487B87   TRUMORROW   RAINY                     AR          23005134414
2B84644194B281   DARREL      HARRY                     NE          27061774419
2B846639957157   DANIEL      FISSEHA                   VA          90013386399
2B8467A6731453   JAMES       SWYERS                    MO          90015127067
2B846869681637   ARTURO      MARTINEZ                  MO          90012758696
2B846A3865B271   OMAR        CRUZ REYES                KY          90008670386
2B84735A451343   ERICA       FERGUSON                  OH          90013113504
2B8473A534B261   ALICIA      ESPARZA                   NE          90013833053
2B84751122B839   SEAN        HUBJAR                    ID          90013415112
2B84774349184B   AUDREY      TOOMBS                    OK          21001927434
2B84792767B471   ANTHONY     HERRIOT                   NC          90014779276
2B847A7867B866   SAMMIE      JOHNSON                    IL         90000430786
2B84813A871948   LORI        WARNER                    CO          90011551308
2B84816992B892   ZARAGOZA    ANGELICA                  ID          42092371699
2B848526185988   AMANDA      GONZALES                  KY          90005475261
2B84853A284364   PASCUAL     RAMOS                     SC          90012655302
2B848622831453   LATECIA     HILL                      MO          27513886228
2B848848457157   FLOR        DIAZ                      VA          90012448484
2B8488A4555957   DANIEL      JACUINDE                  CA          90012608045
2B8492A927B471   SHAITA      MILLER                    NC          90008732092
2B849513791828   JOLESHA     BARBER                    OK          90010305137
2B84958592B27B   ZENAIDA     GRANGENO                  DC          90003155859
2B849833555941   LAURIE      AINSWORTH                 CA          90010298335
2B849844471948   HEIDIE      LOPEZ                     CO          90015258444
2B849973A5B271   BRANDON     WRIGHT                    KY          90014879730
2B849A38181637   MARCELINO   GARCIA                    MO          29077700381
2B849A4533B384   RANDY       PATRICK                   CO          33091060453
2B849A45A71948   HEIDIE      LOPEZ                     CO          90015240450
2B84B149384364   ARMON       SESSOMS                   SC          90014711493
2B84B7A6241245   JOHN        TATE                      PA          51095237062
2B84BA69181661   APRIL       VANZANDT                  MO          90014880691
2B85118122B931   PATRICK     BRYANT                    CA          90000861812
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2B85135A451343   ERICA       FERGUSON                  OH          90013113504
2B851436151336   RYAN        BRUNER                    OH          90011504361
2B85153999184B   GULIER      LIBRADO                   OK          90007595399
2B85173325B167   KEVIN       EVANS                     AR          90014677332
2B85176AA2B892   LILLEY      TRACEY                    ID          90010027600
2B852373891522   NICOLE      PENA                      TX          90011763738
2B85239187B471   MARISELA    HERNANDEZ                 NC          90013253918
2B852471372421   SANDIE      GREENE                    PA          51065964713
2B8525A865B531   JOSEPH      VIOLA                     NM          35055065086
2B85339A885938   SHIRLEY     GILLIAM                   KY          90015113908
2B853669872B98   MARIA       HIDALGO                   CO          90014186698
2B85385A39794B   MATTEW      BUTLER                    TX          90014708503
2B85397A47B449   MICHELLE    MCINNIS                   NC          90011559704
2B853A8A32B892   RON         HORTON                    ID          90013140803
2B85462272B839   VESPERA     ARAGON                    ID          90002716227
2B8549A2251343   JASIA       MAYS                      OH          90014159022
2B855411381637   MICHAEL     ARNOLD                    MO          29063494113
2B855644491592   GUILLERMO   GOMEZ                     TX          90013776444
2B856242831631   BETH        COOPER                    KS          22004522428
2B856648A5B271   MATTHEW     MCKNIGHT                  KY          68015976480
2B85732334B281   OSCAR       GARCIA-PELAYO             NE          27076843233
2B85746A347952   VICTOR      ORTEGA                    AR          90013674603
2B857812A31631   JARA        SHOEMAKER                 KS          90014118120
2B85825927B471   DOUGLAS     STEADWELL                 NC          90014582592
2B8584A729189B   JODY        CARLTON                   OK          90011244072
2B85881149184B   SUMMER      MURPHY                    OK          90013188114
2B8591A884795B   ALEXIS      RODRIGUEZ                 AR          90014811088
2B859613861558   STEVEN      ADAMS                     TN          90015536138
2B859843671221   KEITH       GRAY                      IA          90014088436
2B85992199189B   BOBBIE      SELF                      OK          90012959219
2B859969631453   ALISHA      ROBINSON                  MO          27545829696
2B859A78391828   DOROTHY     NORTON                    OK          21065920783
2B85B111872B98   DANA        BAIN                      CO          33004641118
2B85B32252B892   CHRISTINE   BENNETT                   ID          90000673225
2B85B6A8831631   AARIKA      ALBER                     KS          90013506088
2B85BA1252B839   DESERAY     VIENOLA                   ID          90013950125
2B86163317B449   LUIS        REYES                     NC          11044776331
2B861675A72B98   ANTONIO     CASTILLO                  CO          33030976750
2B86186565B343   PERCY       WHITING                   OR          90008908656
2B862197331631   GEOVANY     ORTIZ                     KS          90010031973
2B86276294B588   QUINTIN     DAVIS                     OK          90015107629
2B862889231453   MICHAEL     WILLIAMS                  MO          90014188892
2B86294112B839   KALI        WOODALL                   ID          42072189411
2B862A68193773   NICHOLAS    STRINGER                  OH          90014580681
2B862A7599184B   JEFF        LAWSON                    OK          90012100759
2B86316114B588   AMBER       BRAWDY                    OK          90010711611
2B86375149794B   CRYSTAL     ENNELL                    TX          90013587514
2B863965372B36   GAYLE       JORDON                    CO          90011349653
2B863A38A2B892   STEVEN      BLANCHARD                 ID          90013410380
2B864686272B98   FRANCISCO   CAMPOS                    CO          90014186862
2B864955287B21   JOHN        BARNES                    AR          28011109552
2B8649A425B167   DANIEL      FETTERMAN                 AR          90014699042
2B865349572B98   SHARON      MATA                      CO          90004373495
2B865A69A85965   JOHN        AUTON                     KY          90015090690
2B86667235715B   JOSE        CACERES                   VA          90008716723
2B866687372B98   LUIS        ESTRELLA                  CO          90014186873
2B866884591522   ANTONIO     HERNANDEZ                 NM          90006538845
2B8668A259189B   COCOA       PRATT                     OK          21070958025
2B866951687B59   PAYGO       IVR ACTIVATION            AR          90014139516
2B866A71772B42   VICTOR      MANUEL VASQUEZ PERDOMO    CO          90012620717
2B86737615B161   NEIL        DILLARD                   AR          23085553761
2B86759AA81637   STEVEN      WEED                      MO          90007885900
2B867633531453   LONNIESE    PERKINS                   MO          90013446335
2B867687372B98   LUIS        ESTRELLA                  CO          90014186873
2B867A8197B471   MICHAEL     HULME                     NC          90013290819
2B86843673B329   BARBARA     TRUJILLO                  CO          90008084367
2B868642947952   SANDRA      DUNCAN                    AR          24079556429
2B868653591828   HUE         VANG                      OK          90013756535
2B86868519189B   MERCEDE     GUNTER                    OK          90014716851
2B86871A655957   EDWARD      CORDEIRO JR               CA          48089397106
2B86887A891528   JOSE        MUNOZ                     TX          75092118708
2B869489471948   SHONEL      EVANS                     CO          90012504894
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2B86972AA55941   RICHARD     JUAREZ                    CA          90010797200
2B869792251336   WILLIAM     WHITTAKER                 OH          66039997922
2B869853391592   CORNELIUS   SHULER                    TX          90006678533
2B869983985988   SHELBY      DILEO                     KY          67015049839
2B869A38485938   TYRIQUE     WITE                      KY          90015130384
2B86B63497B362   SEUNG       HONG                      VA          90014476349
2B86B64A54B261   MARIA       ARROYO                    NE          90014696405
2B87182A871948   MICHAEL     HINER                     CO          90012828208
2B872491585965   ALLEN       THORPE                    KY          90012474915
2B872749791522   ALICE       CARRASCO                  TX          90009837497
2B87283A37B328   MARIA       CULPEPER                  VA          12054028303
2B872A35881661   AMBER       TAYLOR                    MO          90012940358
2B872AA285B531   LEE         WALKER                    NM          35069730028
2B87324524B588   CASSANDRA   WORTHY                    OK          21545132452
2B873411757157   CARLOS      CHIRINOS                  VA          81033364117
2B873457987B59   SHANIQUE    IVERSON                   AR          90008254579
2B873591A55957   ALBERTO     MENDOZA                   CA          48043565910
2B873698A51336   WALTER      DEES                      OH          90010676980
2B87384A747952   JORGE       GARCIA                    AR          90014758407
2B873A3882B27B   MARION      BRAY                      DC          90006760388
2B873A42474B79   CARRIE      DUNN                      OH          51009010424
2B87425734B588   MELISSA     NAVE                      OK          90007862573
2B87446269184B   TERRENCE    JOHNSON                   OK          90014694626
2B87461A83125B   SHERMAINE   OLIPHANT                   IL         90013026108
2B87481265B271   SHERMAN     WILSON                    KY          90012628126
2B874A96591828   TIM         OWENS                     OK          90001720965
2B87512964B261   SAMANTHA    MARTINEZ                  NE          90012181296
2B87533179794B   CHERMECE    WHITE                     TX          90014943317
2B875596491592   MONICA      CANO                      TX          90011575964
2B875785691522   VALERIA     PALMA                     TX          75014357856
2B876489385938   STEVEN      WALKINS                   KY          90010884893
2B8764A6351343   ARIANNA     RANDLE                    OH          90012234063
2B87656A261939   MARIA       MONTOYA                   CA          90007735602
2B876675A72B98   ANTONIO     CASTILLO                  CO          33030976750
2B876739431631   RAQUEL      VILLESCAS                 KS          90013297394
2B876956351336   BRENEVA     GRIFFIN                   OH          66033369563
2B877437884364   GLORIA      BOLEN                     SC          90007104378
2B877491757157   DON         MENEZ                     VA          81082624917
2B877A87671948   THOMPSON    MICHAEL                   CO          32038370876
2B87824765B167   DALE        PRIVETT                   AR          23094672476
2B878624787B59   BIANCA      CLARK                     AR          23019966247
2B878A84231453   OMARR       JONES                     MO          90013800842
2B87922279794B   WILLAIMS    COLLINS                   TX          74017152227
2B87941417B449   DARIUS      PATTERSON                 NC          11012544141
2B879593671948   WILLIAM     ALGREEN                   CO          32007825936
2B87962448598B   DENNIS      JONES                     KY          66058356244
2B879A47A93754   ERWIN       CHAPPEL                   OH          90010010470
2B87B129791251   BOBBIE      DENNIS                    GA          90012331297
2B87B167751336   ALISHA      PHELPS                    OH          90012181677
2B87B1A1257157   REBECCA     LOPEZ                     VA          90015051012
2B87B246247952   KEVIN       WILLIS                    AR          24098432462
2B87B272A91933   LATOYA      BETHEA                    NC          90010332720
2B87B357491374   CHANTE      DEAN                      KS          90014603574
2B87B69179189B   EARL        HASLEY                    OK          90014716917
2B87BA81491828   LAURA       CIROCCO                   OK          21003690814
2B88115749794B   NIKOLAS     HAVENS                    TX          90014811574
2B881518491522   BETTY       VARGAS                    TX          90011435184
2B881648341245   FOSTER      JOHNSON                   PA          90006266483
2B881858793773   MICKEY      BERAN                     OH          64515798587
2B881976891541   NELIA       NAVARRETE                 TX          90014469768
2B881A4A99189B   TIA         TATE                      OK          21049780409
2B88252A885938   LATOYA      DAVIS                     KY          90010015208
2B883155A72B98   ALISHA      HERNANDEZ                 CO          90005421550
2B883258A71948   MARIA       STOGSDILL                 CO          90014182580
2B88326764B245   CORA        BEERY                     NE          90005582676
2B88327259794B   ANTONIO     OOTSEY                    TX          90015312725
2B883439787B59   KANDIS      BRIGGS                    AR          23036744397
2B883595491828   JAMES       KENNEDY                   OK          90012435954
2B88371499189B   BRANDI      DAVIS                     OK          90014717149
2B883A69A4B588   SANDI       MURRY                     OK          21564590690
2B884515681637   JESSICA     BOUDROW                   MO          90013835156
2B884637391528   MARIA       CARDOZA                   TX          75072896373
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2B885238A91522   MARTHA      MALDONADO                 TX          75018632380
2B88536374B261   ISLIA       SALLES                    NE          90012353637
2B885795591547   OLIVER      CABALLERO                 NM          75021137955
2B885882485938   KRISTIN     HELENBURG                 KY          67091658824
2B886424A4B588   LENA        STONE                     OK          90014894240
2B88654915715B   ANGEL       SANTOS                    VA          81013615491
2B886827733678   AIDA        NOYOLA                    NC          90013948277
2B8872A352B839   JANET       HOLST                     ID          90013022035
2B887317741245   DAVID       ZECHENDER                 PA          51015153177
2B887484772B42   MATHURIN    INNOCENT                  CO          33052604847
2B8876A6355957   MARIA       MENDOZA                   CA          90012726063
2B88779692B892   AUBREA      PATTERSON                 ID          42009567969
2B88825359794B   JOSE        TUMAX                     TX          90014992535
2B888371A55957   FRANCESCA   PICCININO-GOLEMAN         CA          90013443710
2B8884A7251343   DAVID       HILLARD                   OH          90011534072
2B888773631631   MARIA       GOCHENOUR                 KS          90010137736
2B888865285938   AMELIA      GONZALES                  KY          90012398652
2B888912751343   DAVID       HILLARD                   OH          90012179127
2B888A9892B86B   CYNTHIA     STEWART                   ID          90014290989
2B889471691528   BUNTHOFF    STEPHEN                   TX          90003604716
2B88949634B261   ELIZABETH   DAVIS                     IA          90013654963
2B88B12197B277   MARK        HANVEY                    AZ          90005671219
2B88B6A4691541   FUENSANTA   HERNANDEZ                 TX          75047766046
2B88B797851343   MARLENE     KELLY                     OH          90006277978
2B88B813A4B588   ROBERTA     FRANKLIN                  OK          90014898130
2B88B81A891592   ISRAEL      AVILA                     TX          75090908108
2B891577887B59   WILLIE      JACKSON                   AR          90014065778
2B891682272B42   MICHEAL     AMBROSEN                  CO          33017646822
2B891736491541   HERNANDEZ   JOSE                      TX          90006617364
2B892226281661   LIZETH      OROZCO                    MO          90006382262
2B892255285B32   DOMINIC     ROLLINS                   FL          90012082552
2B892353672B98   CRUZ        OROZCO                    CO          33041313536
2B892566691241   TAMMY       STONE                     GA          14586565666
2B892637271948   JESUS       CASTRO                    CO          32085196372
2B89364A17B471   LEANA       BONNER-HUNTER             NC          90014846401
2B893728451336   AMY         RAWLINGS                  OH          66099057284
2B8937A4697B67   FAHIMA      AHMAD                     CO          39007237046
2B894272672B36   JAMES       MCSWANE                   CO          90012082726
2B8946A9285965   JASON       SHATZER                   KY          90014516092
2B894A82A84364   BETTY       FERGUSON                  SC          90014380820
2B8954A9772B98   CHRISTY     IVORY                     CO          90006724097
2B895511591241   ANDRE       WARREN                    GA          90015565115
2B89567474B245   NINA        LUICILLE                  NE          90008906747
2B895849387B59   DARRELL     JORDAN                    AR          90012088493
2B895883872B42   GUILLERMO   BEJARANO-MIRANDA          CO          33055008838
2B896222491522   CELIA       ORTIZ                     TX          90012332224
2B896398755957   ANTONIO     JIMENEZ                   CA          48090343987
2B896821285965   SYMEISHA    MASON                     KY          66079048212
2B897162281637   MIMI        DAVIS                     MO          90013821622
2B89735579189B   WYNETTE     JONES                     OK          90013583557
2B897955355941   KAREN       COTE                      CA          90007869553
2B89797495715B   MARISOL     PALASIO                   VA          90013309749
2B89832865B531   JASON       HOWELL                    NM          90005973286
2B89849969794B   DEVONTE     WEST                      TX          90015074996
2B898631351343   AMY         NASCIMENTO                OH          66032326313
2B89869964B588   CASSIDY     PATTERSON                 OK          90015536996
2B89876AA2B892   LILLEY      TRACEY                    ID          90010027600
2B89879A157157   EUGENE      MARTIN                    VA          90014777901
2B898915693773   ANGEL       DILLON                    OH          64585959156
2B898952281637   BYAMUNGU    DANY                      MO          90012869522
2B899339985965   SHARON      BROAD                     KY          66026373399
2B899569457157   LESLIE      HINTZ                     VA          90014015694
2B8995A647B699   DAVID       KING                      GA          15041435064
2B89961917B471   MANUEL      ZUNIGA                    NC          90013606191
2B89998685B161   ARMANDA     PARKER                    AR          23031869868
2B89B136185938   KENA        GREENLEE                  KY          90000161361
2B89B182481637   CHE         JEFFERSON                 KS          90013641824
2B89B1A652B892   KAY         CLARK                     ID          90002141065
2B89B332A91522   JOSHUA      COLLINS                   TX          90011023320
2B89B385387B87   CHARLES     ROUSE                     AR          23019163853
2B89B681155957   JUAN        NAREZ-DUARTE              CA          48052406811
2B89B781691241   BRENDA      RODRIGUEZ                 GA          90013477816
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2B8B1457784364   ARIAL       MURRAY                    SC          90008474577
2B8B156144B245   JUAN        ROMERO                    NE          90015445614
2B8B187645B271   SALANICA    BROWN                     KY          90009168764
2B8B191567B471   MARIO       AGUILAR                   NC          90008219156
2B8B2336484364   COURTNEY    KING                      SC          90003243364
2B8B241712B892   DAWN        HOLBERT                   ID          90007924171
2B8B2867347952   JOESPH      HIGGINS                   AR          90014748673
2B8B2957591828   OLENE       CRAVEN                    OK          21073309575
2B8B3257941245   DAVID       PAXON                     PA          51061922579
2B8B32A7A91541   MARY        ATILANO                   TX          75012342070
2B8B3332787B59   WENESH      MOKUA                     AR          23072573327
2B8B339242B96B   AGUSTIN     RAYGOZA                   CA          90008833924
2B8B351149794B   JUAN        AGUIRRE                   TX          74053535114
2B8B368837B471   MICHAEL     ONYEGBULEM                NC          11022516883
2B8B3A7272B892   GORRINGE    DESAREE                   ID          90011470727
2B8B465115715B   PALWASHA    ABDI                      VA          81067696511
2B8B4731391828   CODY        BARCLAY                   OK          90010327313
2B8B5523591592   JUAN        ACOSTA                    TX          75087505235
2B8B569294B261   LATINA      DEVOL                     IA          90013816929
2B8B569864795B   DEANNA      WYATT                     AR          90006036986
2B8B5972585965   NATOSHA     LEWIS                     KY          90009159725
2B8B5A35171948   PAULA       BUMGARDNER                CO          90002370351
2B8B6162791541   CARLOS      HERNANDEZ                 TX          90012051627
2B8B616422B232   BILLY       JOHNSON                   DC          90006331642
2B8B638464B588   JUAN        MARTINEZ                  OK          90014593846
2B8B658435B247   SHEILA      SHONTZ                    KY          68051145843
2B8B667A472B98   DEENA       LEWIS                     CO          90007476704
2B8B69A534B261   LALIA       HART                      NE          27087159053
2B8B712537B699   JENNIFER    LOZANO                    GA          90013251253
2B8B7132151343   SHEILA      WHITE                     OH          66003551321
2B8B7137A61877   DANILLE     CORT                      IL          90015381370
2B8B7214A9794B   MICHELLE    STORRS                    TX          90014842140
2B8B7364147952   ROBERT      HENRIQUEZ                 AR          90010953641
2B8B74A5557157   ALEX        ESTRADA                   VA          90012374055
2B8B751979184B   KAYLA       JENSEN                    OK          90009195197
2B8B7563481637   RYAN        MCCAULEY                  MO          29011005634
2B8B7641972B42   ALONSO      AGUILAR                   CO          33032236419
2B8B7938A4B261   GUADALUPE   MARTINEZ                  NE          90014789380
2B8B7947785965   GREGORY     GRIFFITH                  KY          90012599477
2B8B828242B839   CHELSEA     JOHNSON                   ID          42087842824
2B8B858499184B   OMAR        MEJIA                     OK          90013885849
2B8B8619972B42   SERGIY      ZHURBA                    CO          90012516199
2B8B879199794B   ADEN        BECERRA                   TX          74088257919
2B8B897757B449   TIANDRA     REID                      NC          11091139775
2B8B8A1892B261   SHASHIKA    WASHINGTON                DC          81012890189
2B8B913717B471   LORIE       MOORE                     NC          11009831371
2B8B926A24B281   GODINEZ     JUAN MARTIN               NE          27013252602
2B8B9283157157   STEFANI     MASON                     VA          90014152831
2B8B9672372B98   KELLY       JOHNSON                   CO          90014186723
2B8BB17239189B   JUAN        OROZCO                    OK          90005891723
2B8BB26859713B   MAVIS       JACOB                     OR          90014612685
2B8BB368691541   SANDRA      ABEYTIA                   TX          90013343686
2B8BB494191592   BRENDA      RENTERIA                  TX          90015344941
2B8BB9A9785938   GREGORY     CONN                      KY          90011149097
2B8BBA19251346   DEMETRIUS   FIAMAWLE                  OH          90006780192
2B8BBA7362B839   HAWA        SEITUAH                   ID          42047170736
2B911298355941   JAMIE       PRICE                     CA          49002542983
2B91255242B892   MICHAEL     DE VAUL                   ID          90010595524
2B91259469189B   VERONICA    SMITH                     OK          90002535946
2B913178971948   JESSICA     WILMOT                    CO          32091471789
2B9134A5585938   MAYRA       LEYVA                     KY          90011324055
2B913831651343   KATE        IVENSO                    OH          90003188316
2B9138A599184B   MELVON      WHITE                     OK          21002868059
2B913952655957   DEISY       MARTINEZ                  CA          90004889526
2B9139A212B892   MURAGIZI    SEBASTUTSI                ID          42001819021
2B91412444B245   AMANDA      JANE KING                 NE          90009681244
2B914149A81637   CARMESHA    CRAIG                     MO          90014841490
2B914272587B59   NEKETHIA    FRENCH                    AR          90008772725
2B91452459184B   ROSA        MIRANDA PANDO             OK          21020445245
2B914A89391592   VENY        RAMOS                     TX          75096240893
2B9156A3384364   SHANEQUE    STEVENSON                 SC          90012066033
2B91611A12B261   TIAWANA     WALKER                    DC          81016391101
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2B916265791528   MILAGROS      RAMIREZ                 TX          75057692657
2B91662655B271   GRETCHEN      CUTRER                  KY          68048366265
2B9166A9285965   JASON         SHATZER                 KY          90014516092
2B916A87281637   KARI          STANBERRY               KS          90014540872
2B917146657157   AMBER         HOLLAND                 VA          90010401466
2B91714854B588   FARHIYO       GULD                    OK          90014861485
2B9173A717B471   ROSA          BILLER                  NC          90014613071
2B917423991828   MICHAEL       BAILEY                  OK          90013774239
2B91748572B839   CRYSTAL       ROBINSON                ID          42011434857
2B917854172B73   KATHRYN       ROSE                    CO          90009808541
2B917A54A47952   JANICE        PRICE                   AR          90010410540
2B918366651343   RICK          FRANKENFIELD            OH          90013413666
2B91941A485869   JULIANA       JORGENSEN               CA          90010674104
2B9196A187B449   COLOMBE       OSSIHOU                 NC          90000276018
2B91988452B839   AMANDA        CASPER                  ID          90003578845
2B91989154795B   NICKI         JONES                   AR          90010688915
2B919986585965   LISA          MOORE                   KY          90014759865
2B919A62574B79   JOCELYN       JONES                   OH          51055610625
2B91B211591541   RICHARD       VELASQUEZ               TX          90010242115
2B91B272455957   LINK          ROBINSON                CA          48084132724
2B91B8A487B471   TRACY         MCCLURE                 SC          90013138048
2B91BA8824B588   ASHLEY        AYERS                   OK          90015310882
2B9211A614B588   DONALD        KELLEY                  OK          90007361061
2B921224531453   ERIKA         HAMMOND                 MO          27507322245
2B921417551336   BRADLEY       MORRIS                  OH          90015314175
2B9217A9457157   CURTIS        THOMAS                  VA          90015207094
2B921888672B98   CYNTHIA       SHAFER                  CO          90006128886
2B921A93841245   DEBORAH       CALDWELL                PA          90005290938
2B92228762B892   RACHE         GARCIA                  ID          90006942876
2B922567A85965   DEBBIE        COMBS                   KY          90004865670
2B922573781661   SHANTA        MURRELL                 MO          90010925737
2B9225A2185965   DEBBIE        COMBS                   KY          90011545021
2B922957691541   GUSTAVO       MEZA                    TX          90014569576
2B92296835B525   JEROME        VALDEZ                  NM          90004939683
2B923595231456   JAMES         TOWNS                   MO          90008795952
2B92434AA85988   SARAH         WILLOUGHBY              KY          90009483400
2B92479764B281   TELINA        MICKLES                 NE          90004577976
2B92486489184B   JOSEPH        COUTURIER               OK          90007978648
2B924872A55957   CHRISTOPHER   MUNDELL                 CA          90011518720
2B92519A64B588   BETTY ANNE    BECKER                  OK          90002721906
2B92549A34B261   LARRY         NICHOLSON               NE          90013394903
2B925558771948   ANNJERI       BASS                    CO          90015095587
2B925673447952   JOY           ALLARD                  AR          90011856734
2B926277584364   PAUL          WELLS                   SC          90014462775
2B926379A51336   LORI          CARR                    OH          90011093790
2B92643374B592   ANDREW        POWERS                  OK          90014264337
2B926653A5B167   BRITNEY       STUART                  AR          90014796530
2B92714A27B471   JARVIS        BYERS                   NC          90014801402
2B927394371948   JOSEPH        LUCERO                  CO          90014183943
2B9276A452B987   ROBERT        FOSS                    CA          45070576045
2B927725547952   HECTOR        HERRERA TORRES          AR          90001707255
2B92773438B17B   JERRY         MILLS                   UT          90007007343
2B927744A4B588   DIANA         BASTANI                 OK          90012497440
2B92782665B271   ANTWON        EARSERY                 KY          90012508266
2B927963224B55   P             COLLINS                 DC          81028159632
2B928A67691592   MARIA         MONJE                   TX          75040110676
2B928AAA585988   CARL          COLES                   KY          90006260005
2B928AAA66194B   TRAVIS        PAVAO                   CA          46080420006
2B92917392B892   KATIE         LINZE                   ID          42094251739
2B92917A881637   KYLIN         ROBINSON                MO          90014571708
2B929219391592   ERIC          MUNOZ                   TX          75089682193
2B92938665B167   ISHYA         STEWART                 AR          90008673866
2B929414655957   BRITTANY      WEDDERBURN              CA          48020954146
2B929472185988   TERRY         MEYER                   KY          67049074721
2B929478A5715B   GLADIS        MOLINA                  VA          90007934780
2B92968A67B449   DENIS         BAQUEDANO               NC          90003846806
2B929A8A291828   SRAH          MCGRATH                 OK          90008390802
2B92B466531631   DAVID         GARCIA                  KS          90014874665
2B92B993A55941   OSCAR         MENDOZA                 CA          90014039930
2B92B9A424B281   JAVIER        GARIVO                  NE          90009589042
2B92BA19887B59   VICTOR        BRISENO                 AR          90014120198
2B9311A9791528   MILAGROS      GONZALEZ                TX          75092131097
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2B931476285938   JAHCOBBIE      JONES                  KY          90007884762
2B931681931453   ARTICHER       THOMAS                 MO          90009316819
2B931854291522   JAMES          TSOSIE                 TX          90014088542
2B93196432B839   MARTHA         ESPINOZA               ID          90000279643
2B93234584B281   TOM            JOHNSON                NE          27013643458
2B93247824B261   MICHAEL        BECKA                  NE          27015084782
2B93248854B588   JOSHUA         BARRERA                OK          90009834885
2B932531A2B839   MICHAEL        LABELLE                ID          90013385310
2B93321778B17B   LAURIE         LEE                    UT          31089762177
2B933531A2B839   MICHAEL        LABELLE                ID          90013385310
2B93378699189B   JESSICA        GALLAWAY               OK          90014717869
2B933A72A7B471   ERVIN          GONZALEZ               NC          90011130720
2B93434492B931   JACQUELYN      GENOVA                 CA          45049223449
2B934633955941   WA             LOR                    CA          49098836339
2B934A13155957   REFUGIO        PADILLA                CA          90003440131
2B935697272B98   CAMILA         LOPEZ                  CO          90014186972
2B936373691592   PAUL           GUZMAN                 TX          90014983736
2B93645875B271   DAVID          ALCORN                 KY          90012974587
2B936621A93773   WILLIE         LINDSEY                OH          90011746210
2B936649472B98   NANCY          GONZALEZ               CO          33002196494
2B93696232B839   ALEX           HINOJOSA               ID          90011569623
2B936A63855941   LAURA          SHOAFFNER              CA          90011190638
2B93729952B931   CYNTHIA        RODRIGUEZ EGBAIYETO    CA          90004352995
2B93753894795B   BLANCA         HERNANDEZ              AR          90005605389
2B937697672B98   ANGELITA       CANTU                  CO          90014186976
2B93779689189B   TYRONE         THOMAS                 OK          90014717968
2B93783264B245   JESSICA        LYNN BOWERS            IA          90011028326
2B937856A5715B   JORGE          VENTURA                VA          90011738560
2B937861331631   JACOB          SHOCKLEY               KS          90013648613
2B93786317B699   TYESIA         OESTRICHER             GA          15052718631
2B937A84787B87   TREY           AUSTIN                 AR          90001690847
2B9383A339189B   RACHEL         ADAMS                  OK          21093083033
2B93855565B167   MARK           WRIGHT                 AR          90013965556
2B93872519794B   CASTILLO       RAMON                  TX          74012187251
2B93876A551336   CHRISTY        CLANCY                 OH          90009477605
2B938819161994   RUBEN          ESTUDILLO              CA          90005348191
2B93927AA9184B   CORIE          MELLAND                OK          90011182700
2B93959724B281   BRAD           WEBER                  NE          90013115972
2B93994934B245   LINDA          NEWKIRK                IA          90002229493
2B93B17432B839   LETIA          ANDERSON               ID          90012691743
2B93B19734B261   ROD            DELEZENE               NE          27055031973
2B93B22365B167   JESSE          BLASINGAME             AR          90014822236
2B93B478931453   MARY           STONE                  MO          90005114789
2B93B61949189B   ELIZABETH      SOLIS                  OK          90011246194
2B93B696972B98   PETER          SMITH                  CO          90014186969
2B93B83A993754   KENITHA        HORTON                 OH          90004348309
2B9413A8455941   JESUS ACOSTA   FARIAS                 CA          90014043084
2B941788191541   MARTIN         MALDONADO              TX          75019177881
2B94183524B245   ASHLLEY        DUARTE                 NE          90007918352
2B941873287B59   JUSTIN         DUNN                   AR          90013658732
2B941991985938   KENYAL         ROBINSON               KY          90013709919
2B941AA4351343   DARRIS         BATES                  OH          90014160043
2B942359A71948   ANGELA         MARTINEZ               CO          32098123590
2B942493572B98   CORA           GARCIA                 CO          90014774935
2B94252AA93773   SHAUNNA        SULLIVAN               OH          64536575200
2B942537A7B471   ISAI           JUAREZ                 NC          90001135370
2B942615391522   EDITH          SOTO                   TX          75075786153
2B9427A532B892   TANIA          CARRENO                ID          90013067053
2B942889951336   JODI           QUICK                  OH          90011528899
2B94317559184B   IYNA           GRAHAM                 OK          90009481755
2B943342747952   JOEY           KIRKSEY                AR          90013783427
2B943435A9189B   BILL           DAVIS                  OK          21054394350
2B9434A4971948   CHESTER        KENDRICK               CO          90014184049
2B9436A962B839   SOLOMON        PETROS                 ID          90012786096
2B943862793773   ELIZABETH      VALERIO                OH          64597418627
2B944139455957   ELIHUT         BERNABE                CA          90006701394
2B944632285965   DEBRA          MURDOCH                KY          90007866322
2B944A89891241   DANIEL         MEDINA                 GA          90013730898
2B9454A1691541   NANCY          SCHAAR                 TX          75040714016
2B9456AA391828   LAKERESHA      DAVIS                  OK          90010886003
2B94592525B167   EVA            PRADO                  AR          23067679252
2B94594A181637   RANDY          JOHNSON                MO          29044709401
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2B946115881637   DOUGLAS      MARTIN                   MO          90012401158
2B946532155957   GARNETT      CLAYWELL                 CA          48090535321
2B94672299189B   HORTENSE     ANDERSON                 OK          90011247229
2B946A4355B167   LINDA        DEAN                     AR          90012310435
2B94749A37B435   LENANDO      SPRINGS                  NC          90011244903
2B9478A119189B   ITZEL        VILLALOBOS               OK          90014718011
2B948342A7B471   GUSTABO      ORTIZ                    NC          90010513420
2B948433451343   LISA         SWAIN                    OH          90013114334
2B948A93291541   CARMEN       VELAZQUEZ                TX          90013800932
2B949126341365   TOM          SUPERNEAU                MA          90014941263
2B949333785965   NIKKI        NICKELL                  KY          90011133337
2B94952522B931   PHILBERT     MARTINEZ                 CA          45058295252
2B94B18572B839   SEAN         GIAMBO                   ID          90013951857
2B94B385491828   RONALD       GARRETT                  OK          21060423854
2B94B74814B281   TINA         CREIGHTON                NE          90013857481
2B951151357157   PEDRO        HERNANDEZ                VA          90002501513
2B95187A755957   MARY         AGUIRRE                  CA          90013628707
2B95237A355957   RODNEY       IRVEN                    CA          48034083703
2B95253214B245   JAYSON       FERRIN                   NE          27033235321
2B952774381637   RONADNC      FORD                     MO          90004347743
2B953269787B59   JORDAN       TILLMON                  AR          90014132697
2B95327325B271   YVONNE       FERRELL                  KY          68006782732
2B9538A1357157   JOSUE        MUNDO                    VA          90006628013
2B953A1844795B   JUAN         GARCIA                   AR          90011870184
2B954262951343   JASON        BAIN                     OH          66090252629
2B954866693773   JASON        JACKSON                  OH          90009758666
2B954941585965   CARL         CARTER                   KY          90008889415
2B955115131453   PAMELA       NASH                     MO          90012461151
2B95528783B332   ROBERTA      FARLEY                   CO          33045952878
2B955529191241   EBONY        HILLS                    GA          90005045291
2B95582639794B   LETICIA      ARMENTA                  TX          90008768263
2B955A44A51343   JAMES        LYKINS                   OH          66040370440
2B956147191528   JOSE         BONILLA                  TX          75006391471
2B9568AA185949   TIMOTHY      NEWSOME                  KY          90000718001
2B957372A31453   CONNIE       HAYES                    MO          27576383720
2B957497947952   HECTOR       GUZMAN                   AR          24019044979
2B95756114B281   DON          ANDERSON                 IA          27088245611
2B957643391528   MARIO        SANCHEZ                  NM          75079676433
2B957789A51336   LUTRICIA     LUMAINE                  OH          90011917890
2B9578A2671948   PHILLIP      PRIESTER                 CO          32048058026
2B957A6766194B   THOMAS       DEL MONTE                CA          90000390676
2B958329491528   ANABEL       RIVERA                   TX          75092133294
2B958684785938   JULIO        HERRERA                  KY          90013796847
2B9586A914B281   MAYRA        AVALOS                   NE          27076726091
2B958929191828   STACY        QUEEN                    OK          90013899291
2B95926169184B   WHEATINA     BONNER                   OK          90013882616
2B95959615715B   PEDRO        ARMANDEZ                 VA          90009775961
2B95971564B588   RASHEDA      EHOBO                    OK          90006667156
2B9597A3172B98   SUGEY        CHAVEZ                   CO          90014187031
2B95B34245B271   STEPHANIE    POLLARD                  KY          90012703424
2B95B61A84B261   ANDREW       FRY                      NE          90014656108
2B95B763155957   CONCEPCION   CASTANEDA                CA          90004927631
2B95BA53757157   DARIOUS      THOMAS                   VA          90004230537
2B96142175715B   RAFAEL       VARGAS                   VA          90013204217
2B961545871948   MIGUEL       HERNANDEZ                CO          90012315458
2B961882A93773   BEN          VONDERHEIDE              OH          64565058820
2B962741971948   MORGAN       WILL                     CO          90010637419
2B962848451343   KYANA        WHITE                    OH          90008428484
2B962965381637   DEVIN        HUTTON                   MO          29007299653
2B962A26491541   IDCEE        ROSALES                  TX          90004790264
2B963435951343   KELLY        WILSON                   OH          90013114359
2B963796285965   MARIA        STIENE                   KY          90003187962
2B9643A9791241   DEMETRIE     HALL                     GA          90013703097
2B964547A87B21   JOSEPH       BUCKLEY                  AR          28039525470
2B96455854B261   TEARA        SWEET                    NE          90009195585
2B964621A91522   JAVIER       CAMACHO                  TX          90005596210
2B964624861925   LOVELYN      ALBANO                   CA          46095216248
2B965324A33646   KAYLA        DELAMADRID               NC          90004223240
2B965418772B98   APOLINAR     PENA GALLEGOS            CO          33094054187
2B96569534B261   JEFF         DAMGAARD                 NE          27001096953
2B9657A3172B98   SUGEY        CHAVEZ                   CO          90014187031
2B966288655957   PEGGY        LEWIS                    CA          90003752886
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2B9663A329184B   BRIANNA      KREBSBACH                OK          90013593032
2B96655787B471   ULISES       MORTERA AGUEROS          NC          11092665578
2B96666957B449   ELISA        MATA                     NC          90014906695
2B96669A25715B   FITSUM       FASIL                    VA          81013876902
2B966714772B98   MIGUEL       FUENTES                  CO          90002067147
2B967184781637   MIGUEL       LESTAPIER                MO          90005691847
2B9675A4451343   TAMIKA       FLUELLEN                 OH          66034485044
2B967729951336   SARAH        HOUSTON                  OH          90008177299
2B96775914B261   ROJEAN       MARSHALEK                NE          27002837591
2B96779734B588   DEAUNTRE     GAINES                   OK          90014117973
2B96862275B531   CATHERINE    SANCHEZ                  NM          35069766227
2B968737461995   RICHARD      SMITH                    CA          90007937374
2B969131691522   MARTHA       REYES                    TX          90000721316
2B969325957157   JOSE         DIAZ                     VA          90012313259
2B96941A491881   SILVIA       SALAS                    OK          90011244104
2B969679555957   BETTY        STOKES                   CA          48030496795
2B969728891828   MONICA       VELA                     OK          21052707288
2B96983A69189B   MARISELA     GONZALEZ                 OK          90014718306
2B969966351336   MONICA       SLAUGHTER                OH          90012079663
2B96B116A55957   EDGAR        ROMERO                   CA          48013141160
2B96B156A5B271   TIMOTHY      CASPER                   KY          90012861560
2B96B534131453   PAMELA       JORDAN                   MO          27563705341
2B96B57784795B   BRITTANY     MITCHELL                 AR          90004025778
2B97113849189B   WAYNE        EALICK                   OK          21088311384
2B9713AA587B87   GARY         NEAL                     AR          23002143005
2B97157444B245   MODESTO      DEL CID MORALES          NE          27000175744
2B971832A91522   CARLOS       SALAS                    NM          75021718320
2B971963747952   AKUA         CARTER                   AR          24086659637
2B972493591541   PEDRO        LOYA                     TX          75057474935
2B97256662B839   GREGORY      JOHNSON                  ID          90011895666
2B9726A2171948   ERIKA        MARSHALL                 CO          90012696021
2B972774485938   CHARLES      WHITLOCK                 KY          90008117744
2B97293739184B   PHYLLIS      MILLER                   OK          21090599373
2B972A8317B278   DAWYNE       SANCHEZ                  OK          90012460831
2B973176A55957   ROSEMARY     TORREZ                   CA          48038311760
2B9732A585B271   DAVID        HINES                    KY          90014612058
2B97343824B245   CARLOS       VASQUEZ                  NE          90008964382
2B97394842B892   SCOTT        SLATER                   ID          90010459484
2B97412A151343   TARREN       BLAND                    OH          66004131201
2B974297651336   CHRIS        ABEL                     OH          66016462976
2B974439572B42   JERRY        BURTON                   CO          90003634395
2B9746A7331453   LATOYA       WILLIAMS                 MO          90003156073
2B97484189189B   VIRGINIA     BLANKS                   OK          90014718418
2B97488498B17B   TIFFINI      DENHAM                   UT          90011698849
2B975845291541   JAVIER       RODRIGUEZ                TX          90012808452
2B97596419794B   JAYDEN       PATTON                   TX          90014949641
2B97651A14B588   BONNIE       RICHESIN                 OK          21569175101
2B97669957B449   DEISY        PEREZ                    NC          90014906995
2B97685629189B   TYLER        DAVIS                    OK          90014718562
2B977133391528   VANESSA      SARINANA                 TX          90014011333
2B9771A8385938   KEITH        SMITH                    KY          90015301083
2B97755265B271   SHARON       SIMMS                    KY          68017255526
2B977889651343   TYANN        HARRIS                   OH          90009508896
2B97824662B892   JOY          BURNIGHT                 ID          90010812466
2B978273672B98   SARITA       GALLEGOS                 CO          33061672736
2B978283957531   YVONNE       REYES                    NM          35509272839
2B978782285965   DIANE        MULLINS                  KY          66043587822
2B978968A9794B   JOSE ANGEL   GAMEZ                    TX          90012429680
2B97915A59189B   ZACHARY      DUTY                     OK          90010401505
2B9796A455715B   QUINCY       JONES                    VA          90003056045
2B979775A55941   DAISY        ROMERO                   CA          90013397750
2B97986784B588   KENT         MCGRATH                  OK          21551978678
2B97B1A834B281   ERIN         BULANDA                  NE          90000871083
2B97B543491541   MIKE         TUMMOLO                  TX          90010635434
2B97B72245715B   CRISTIAN     ESCOBAR                  VA          90011927224
2B98138639184B   LINDSEY      REEL                     OK          90014503863
2B981849887B87   LAKIESHA     REED                     AR          90003118498
2B981A58987B59   PEARLENE     DAVIS                    AR          23061320589
2B982186984364   MARI         POWELL                   SC          90012441869
2B982569855957   RAUL         NUNEZ                    CA          90014435698
2B98268445B167   JORGE        ALVARADO                 AR          90014846844
2B98286679189B   CHARLES      BLACKWELL                OK          90014718667
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2B98333194B592   RAY            TYLER                  OK          21584963319
2B98334A872B98   YESICA         CHAVEZ                 CO          90004263408
2B983691791528   MANUELA        CALZADIAS              TX          90010376917
2B9839A3391541   NORMA          SAUCEDO                TX          90006409033
2B98425975B167   ROGER          JOHNSON                AR          90012082597
2B98433332B892   TERRY          EMMETT                 ID          90013143333
2B98445875B271   HALEY          NEWTON                 KY          90002134587
2B98449322B839   NIGEL          CLEMENTS               ID          90002504932
2B9847A469794B   RICARDO        ORTIZ                  TX          90012917046
2B984981191522   RICHARD        CISNEROS               TX          75034469811
2B985234347952   BARBARA        THOMPSON               AR          90009872343
2B9853A4791589   MIRIAM         HERNANDEZ              TX          75019563047
2B98586A75B167   NORA           SOTO                   AR          23054048607
2B985A2864B245   KIYANA         PERRY                  NE          90008540286
2B986162431631   LISA           IROMANTU               KS          22031541624
2B98625975B167   ROGER          JOHNSON                AR          90012082597
2B98627695715B   DANIEL         MUNOZ                  VA          90011742769
2B986343155957   MARIA          OCHOA                  CA          90009393431
2B98658352B892   MARIA          JIMENEZ                ID          90015035835
2B98673A14B245   HILDA          ZAMORA                 IA          27089967301
2B9877A9972B98   SILVIA         CARRASCO               CO          90014187099
2B987A13A51343   SARA           FUHRMAN                OH          90014160130
2B98838754B281   OSCAR          CUADRA                 NE          90013403875
2B988645931453   NICKI          ARMAN                  MO          27581776459
2B98868559184B   DAVID          MOLL                   OK          90013886855
2B98888135715B   RENE ARCIDES   GONZALES               VA          90004268813
2B98934342B839   KEVIN          DAVIS                  ID          42007103434
2B9895A465715B   XID            FAGGIONI               VA          90011875046
2B98B666391592   SUSANA         JUAREZ                 TX          75000186663
2B98B71AA47952   TAVEN          MORRIS                 OK          90015447100
2B98B778255994   LURAY          SCHUSTER               CA          90013667782
2B98B89822B232   LUCIA          CASTILLO               DC          90007078982
2B98B92AA85938   COURTNEY       GREENWELL              KY          90014639200
2B98B99A157157   DONNA          GRANADOS               VA          90006019901
2B99157894B281   ALFONSO        MARTINEZ               NE          90015175789
2B991677691383   RUTH           MUTINDA                KS          90004536776
2B991719385938   BRITTANY       COOPER                 KY          90012947193
2B991771A91251   SOPHIA         EARLY                  GA          14509907710
2B991795A91241   KENNETH        HAYNES                 GA          90012077950
2B991A68741269   NICHOL         JACKSON                PA          90015180687
2B992141291592   LUBIA          VALDEZ                 TX          90009831412
2B992218481661   STEPHANIE      COKER                  MO          90011672184
2B992317891528   VICTOR H       VALENCIA               TX          90006523178
2B992377A71948   MARIA          HONEYCUTT              CO          90014713770
2B99239372B27B   ALVIN          VOWEL                  DC          90000873937
2B99294A391241   MIKE           THOMPSON               GA          90004259403
2B992989191522   ELIZABETH      DEL TORO               TX          75009769891
2B992A53357157   ABIBATU        KAMARA                 VA          90012530533
2B99327148B17B   CAMILLE        CLARDY                 UT          90001872714
2B993285187B87   BRITT          MURRAY                 AR          23031982851
2B99368872B892   SHAYNE         WEST                   ID          90012756887
2B993712772B98   ASHLEY         GARCIA                 CO          90014187127
2B99379537B471   DAVID          HAWTHORNE              NC          90011167953
2B99386274B261   TROY           LAWRENCE               NE          27045138627
2B99391372B27B   NESDON         HARRIS                 VA          81050419137
2B994144591592   ALICE          PORTILLO               TX          75007381445
2B994998A91241   JOHN           GREEN                  GA          90011199980
2B995397A85938   NIKKI          CAUDILL                KY          90014193970
2B99633449794B   MIGUEL         SAJCHE                 TX          90015093344
2B996372591241   ANDRE          WALKER                 GA          14571743725
2B996728872B98   MARIO          CASTRO                 CO          90014187288
2B996AAA59189B   GENIENE        HERNDON                OK          90011250005
2B997127A7B471   NORMAN         ACOSTA JACKSON         NC          11081891270
2B99714A455941   PAUL           CORTEZ                 CA          49085021404
2B9971A374B588   BRIDGET        PRESTON                OK          90011851037
2B997488871948   JENNIFER       TURNER                 CO          90014184888
2B998167257157   MIRA           ARNAOUT                VA          90013931672
2B99827A185938   CHARMMISHA     WEATHERS               KY          90011052701
2B998746472B98   GREG           LOPEZ                  CO          90006057464
2B99887465B271   DONASHEA       TAYLOR                 KY          90014298746
2B998894672B98   CESAR          GARCIA-AGUIRRE         CO          33061548946
2B998A78855957   SALVADOR       DELGADO                CA          48000540788
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1545 of 2500


2B9993A952B839   EDGAR            VARGAS               ID          90013953095
2B9995A7291241   WANDA            HORNE                GA          90003035072
2B99B4A5433678   PABLO            DELGADO JR           NC          90009954054
2B99B79AA2B839   MIGUEL           VALDIVA              ID          90002877900
2B99B871355941   MISAEL           CHOLULA              CA          90010758713
2B99BA37581661   AMBER            SERGENT              MO          29002790375
2B9B1295285965   ASHLEY           CENTERS              KY          90011132952
2B9B137465B167   MEGAN            ANDERSON             AR          23091283746
2B9B1529457157   IVETTE           ALACHE               VA          90010625294
2B9B2313572B42   JAMES            MARSHALL             CO          33094613135
2B9B2724A9189B   BRITTANY         CARTER               OK          90014717240
2B9B279117B471   ANDRZEJ          LABINOWICZ           NC          90013137911
2B9B311792B892   JAVIER           CARMONA              ID          90006051179
2B9B3326791541   ESTELA           VASQUEZ              TX          90013753267
2B9B3447787B59   KATRENA          ALEXANDER            AR          90014834477
2B9B4162255941   THAO PAO         LEE                  CA          90001591622
2B9B434A191522   CECILIA          MONA                 TX          75019743401
2B9B445A147952   MEGAN            HAND                 AR          24015564501
2B9B457824B245   CHARLES          GARCIA               NE          90005345782
2B9B4657971948   COSME            GOMEZ                CO          90004156579
2B9B51A4572B98   DION             COWDEN               CO          90002841045
2B9B555344B245   REBECCA          JACKSON              NE          90007835534
2B9B57A1291522   ANGELICA         BANUELOS             TX          75018637012
2B9B663594795B   GERARDO          BARBOZA-HERNANDEZ    AR          25097966359
2B9B6724A9189B   BRITTANY         CARTER               OK          90014717240
2B9B6848887B87   AUGUSTUS         LEE                  AR          23004128488
2B9B6953951343   IWANA            SMITH                OH          90014159539
2B9B7215772B98   LAN              LI                   CO          33079812157
2B9B7297891541   FRANCISCO        JUAREZ               TX          90013662978
2B9B7398384364   CHRISTINA        MCABEE               SC          90013093983
2B9B7427291241   RACHEL           BRANNEN              GA          90015084272
2B9B7464872B42   LUIS             SANDOVAL             CO          90004184648
2B9B7612455941   LESA             BELL                 CA          90013956124
2B9B7655A8B17B   SANTIAGE         LOPEZ                UT          90007006550
2B9B7719A84364   ARTURO           MENDONES             SC          90011647190
2B9B778612B892   TRAVIS           HYDE                 ID          42040497861
2B9B782922B839   JENESSA          SHOECRAFT            ID          90010788292
2B9B787A947952   FAYE             JOHNSON              AR          90003558709
2B9B8364A71948   WILLIAM          LAKE                 CO          90009813640
2B9B8467A72B42   SABINA           MENDEZ               CO          33081234670
2B9B8646572B98   FERNANDO         SAN MIGUEL           CO          33072006465
2B9B868A52B892   JEFF             HOLMS                ID          90013296805
2B9B884A141365   BRANDON          BOLTE                MA          90014718401
2B9B8889157157   KANIRAN          MIRZA                VA          90014548891
2B9B9269591828   JORDAN-MELISSA   HENDERSON            OK          90010332695
2B9B9293A55957   ADRIANA          GONZALES             CA          48065232930
2B9B956189189B   ERIKA            BANDA                OK          90011245618
2B9B9714187B59   MIGUEL           GARCIA-DE LOS        AR          90014597141
2B9BB11612B839   TRACEY           WERNER               ID          90013391161
2B9BB132281637   KRISTINA         GESSLER              MO          90002951322
2B9BB23842242B   DEBBIE           ARTUS                 IL         20564212384
2B9BB29A59794B   JUAN             GALVAN               TX          90015192905
2B9BB863887B59   DONNA            JACKSON              AR          23077048638
2BB111A834B261   KARISSA          SPAULDING            NE          90006681083
2BB1123AA91522   SCOTT            LOPEZ                TX          90006432300
2BB11465557157   VIRGINIA         PAUCCAR              VA          90014854655
2BB11519371948   MOSES            VARGAS               CO          90000495193
2BB1153635B571   SHARON           DAVIS                NM          35082715363
2BB11627974B79   TOMEKO           MCCALL               PA          90015566279
2BB1167285715B   JOSE             LAINES               VA          90015156728
2BB1225434B588   HENRY            HICKS                OK          90015512543
2BB12257A72B42   MICAH            YOUNG                CO          90014822570
2BB12272891522   ALLTECH          AUTO CENTER          TX          75048962728
2BB12392493753   JESSICA          BAKER                OH          90002233924
2BB1275225B271   GEORGE           HILL                 KY          68006917522
2BB13286371948   HANNAH           HERNANDEZ            CO          90009812863
2BB1341454B281   AARON            VALDEZ               NE          27060494145
2BB13585372B98   FIRST            CHRISTOPHER          CO          90010615853
2BB1392692B931   MARGRET          BARNETT              CA          90014939269
2BB14119741269   BRANDY           SCHNEIDER            PA          90013291197
2BB14189572421   SHAMMI           SINGH                PA          90007911895
2BB14354A7B449   REGINALD         ALEXANDER            NC          90014803540
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1546 of 2500


2BB14357157B85   RICHARD      YEFKO                    PA          90014863571
2BB14359357161   CANDIDA      IRAHETA                  VA          90010953593
2BB14454387B59   NICKEY       BRIGGS                   AR          23066624543
2BB144A3672B98   RENE         GUTIEREZ                 CO          90014184036
2BB15439681637   JAABRON      BALL                     MO          90011864396
2BB1553A261877   KIM          MURPHY                    IL         90014125302
2BB1575269184B   MARIA        RUIZ                     OK          21067587526
2BB1578629189B   KIMBERLY     DANIELS                  OK          90003637862
2BB15AA4A2B892   ORA          WINSTON                  ID          42041570040
2BB1614A391528   SONIA        MEDINA                   TX          90003331403
2BB162A6572421   SCOTT        KNAPP                    PA          90007052065
2BB163A652B931   DUSTIN       KENT                     CA          45097393065
2BB16537247952   GLADYS M     GREEN                    AR          90007365372
2BB16576A87B59   DEBORAH      THOMAS                   AR          23040435760
2BB17195355941   PETE         REYNOSA                  CA          90010071953
2BB17236284364   ANDREA       GATHERS                  SC          90007972362
2BB17287491522   IVE          MUNOZ                    TX          90011322874
2BB174A9172B98   ENRIQUE      SANCHEZ                  CO          90011264091
2BB1753215B271   BOBBY        BLACKFORD                KY          90009255321
2BB17994736165   VERONICA     TUDOR                    TX          90009849947
2BB17A7A14B281   SARAH        GONZALEZ                 NE          90002460701
2BB18112385938   SHEENA       PUCKETT                  KY          90011121123
2BB18476987B59   SHANNA       YOUNG                    AR          23056344769
2BB1884835B167   HIGINIA      LOPEZ                    AR          90005188483
2BB1885AA81661   SHERRI       BYERS                    MO          90014518500
2BB19192A5B167   NATUREL      BROWN                    AR          90010591920
2BB1934538B334   CRYSTAL      WEEKS                    SC          90015573453
2BB1968235B271   NIKKI        GORMAN                   KY          90002746823
2BB19936572421   TAMIKA       HUGHLEY                  PA          90011109365
2BB1B133887B59   SARAH        JONES                    AR          90013121338
2BB1B37987B449   CHARIST      BAKER                    NC          90008453798
2BB1B53338B159   ALEXANDREA   COOK                     UT          31006505333
2BB1B53635B571   SHARON       DAVIS                    NM          35082715363
2BB1B56997B449   LUZBI        AGUILAR                  NC          90014815699
2BB1B573724B6B   RAKECO       ANDERSON                 MD          90011865737
2BB1B698881661   PAYGO        IVR ACTIVATION           MO          90010276988
2BB1B6AA791251   DUSTIN       CAVNAH                   GA          90011866007
2BB1B775991592   TERESA       PACHECO                  TX          90009117759
2BB1B92692B931   MARGRET      BARNETT                  CA          90014939269
2BB1B978231433   LANEZE       DOOM                     MO          27594879782
2BB21577491541   JOSE         PACHECO                  TX          75067845774
2BB21897185938   DAVID        BANN                     KY          90011048971
2BB22424197121   SACANNA      RUSH                     OR          90004214241
2BB2343A231453   LANDER       CRAYTON                  MO          90011434302
2BB23651651336   DARREN       FRIDLEY                  OH          90010636516
2BB23681485938   DARREN       RUSIN                    KY          90014406814
2BB23A5398B334   DARRELL      SMITH                    NC          90010600539
2BB24175455957   MARY         BROWN                    CA          48002591754
2BB2425555B531   MELISSA      YANNI                    NM          35087962555
2BB2432A15753B   DILLON       WHITAKER                 NM          90014113201
2BB2437679184B   SAMATHA      CORBET                   OK          90011073767
2BB2439177B449   MARY         EVANS                    NC          90014803917
2BB24576555941   ENRIQUE      PACHECO                  CA          90012065765
2BB24692663621   WHITNEY      QUICK                    MO          27578616926
2BB246A5251336   MONIQUE      SAVAGE                   OH          90015066052
2BB24918687B59   JALISA       GARNER                   AR          90014569186
2BB24967191241   KYLE         JOHNSON                  GA          14577349671
2BB24A62A4B261   JOSH         RICHARDSON               NE          27013330620
2BB25298484364   RODREGUIS    BUTLER                   SC          90013572984
2BB25367891241   ADAM         WEBB                     GA          90010383678
2BB253A777B699   ALONZO       PIETT                    GA          90007473077
2BB25422885965   LARRY        SEBASTIAN                KY          66007134228
2BB2594A54B281   RICHARD      WILSON                   NE          27054989405
2BB2654315B167   LAWRENCE     TAYLOR                   AR          23087585431
2BB2654975B271   MARLON       ELLIS                    KY          68011425497
2BB26784972B98   ANGELA       BAKER                    CO          90009767849
2BB26894651343   TERELL       HYTCHYE                  OH          90011258946
2BB27688785938   RYAN         CASEY                    KY          90015376887
2BB27915691522   JUANA        MIRAMONTES               TX          90009989156
2BB27A4678B334   ALTON        HARVEY                   SC          90014180467
2BB2811878B17B   ROBER6       CROWTHER                 UT          90014291187
2BB28228A55941   JOHNATHAN    DOMINGUEZ                CA          90013972280
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1547 of 2500


2BB28395391592   JAIME         RATLIFF                 TX          75041203953
2BB28582385965   DAN           GRIDLER                 KY          66001735823
2BB28827172B98   DAVID         MEDINA                  CO          90001268271
2BB29184691592   GEORGE        ORDONEZ                 TX          90015081846
2BB292A9131631   MARCYLLA      FINLEY                  KS          22052282091
2BB2B163591592   NORMA         LOPEZ                   TX          75063641635
2BB2B1AA42B839   JOHN          GUNTER                  ID          90013941004
2BB2B36117B449   ANGELO        ELLIS                   NC          90014803611
2BB2B36A45B531   JAMES         CASTILLO                NM          90006863604
2BB2BA16693773   BRANDY        BAYES                   OH          64584130166
2BB31114147952   MICHAEL       KNAULS                  OK          24013621141
2BB3114145B271   DARLENE       DONIGAN                 KY          68036301414
2BB31143772B98   JULIANNE      VAROS                   CO          90010921437
2BB311A1831631   DAN           MICHAELS                KS          90012071018
2BB31226472B42   JORDAN        FINLEY                  CO          33000892264
2BB31243681637   MARISA        REEDER                  MO          29050842436
2BB314A2655957   CHARLES       STOUT                   CA          48096024026
2BB31561287B59   CLEASHONDRA   OWENS                   AR          90013615612
2BB3168592242B   ADOLFO        MARTINEZ                 IL         90008886859
2BB31942231453   ANNIE         BASSETT                 MO          27561769422
2BB3196A17B471   NANCY         CARTER                  NC          90014139601
2BB31A5985715B   HEIDI         JANET BONILLA           VA          81077500598
2BB321A8587B59   PAYGO         IVR ACTIVATION          AR          90012971085
2BB32236291592   GLORIA        PACHECO                 TX          90005252362
2BB32299A9184B   SUSAN         CALLOWAY                OK          90007132990
2BB32518755941   CHRISTINA     ACOSTA                  CA          90013195187
2BB32743387B21   SAMANTHA      WHITE                   AR          90009087433
2BB32778191522   GABRIEL       ROSAS                   TX          90013967781
2BB32848555957   JOSE          ZENDEJAS                CA          90012468485
2BB32A87691828   ERMELINDA     THOMAS                  OK          21043400876
2BB3341A272B98   TASHEYLA      PARHAM                  CO          90014184102
2BB3368364B281   MARILYN       RODINE                  IA          27031056836
2BB339A3581637   ANDRES        MALDONADO               MO          90013679035
2BB33A5A951343   AMBER         DANIELS                 OH          90013950509
2BB33A6687B471   LYNZEE        ROBINSON                NC          90008190668
2BB33A86285988   CHRIS         KEVER                   KY          90013900862
2BB34181674B79   KRISTY        JACKSON                 OH          90001231816
2BB34283831453   HAEDAR        FARES                   MO          90011522838
2BB3432A981661   NAUD          JAIMEZ                  MO          90005033209
2BB3433A987B59   ALISHA        GOODLOE                 AR          90013953309
2BB344A3A91541   MARIA         LOPEZ                   TX          90014574030
2BB34543433691   TAMAR         COFER                   NC          90007945434
2BB34652651336   CATRINA       SHEEHY                  OH          90014536526
2BB348A7133686   GREGORY       HORNE                   NC          90011328071
2BB3492619184B   ODIS          NUTT                    OK          90009729261
2BB3494A59189B   LLIM          MANIQUEZ                OK          90014659405
2BB35143691592   SANDRA        GARCIA                  NM          90012901436
2BB3517218B334   CALVIN        BOATWRIGHT              SC          11096111721
2BB35181671948   VIRGENMINA    LABOY                   CO          90006251816
2BB3534AA51336   CHRISTOPHER   TODD                    OH          90012343400
2BB3555629794B   KELSIA        MCDADE                  TX          90015015562
2BB35861184364   ERVIN         BROWN                   SC          19069708611
2BB35AA8171948   KELLY         NEECE                   CO          90014650081
2BB3623987B699   NEATRA        HUFF                    GA          90011032398
2BB36541531631   DARYEL        NELOMS                  KS          90009735415
2BB3692479189B   TIMOTHY       HUNTER                  OK          90011219247
2BB37517984331   GLENDA        MARSHALL                SC          19070125179
2BB3765945B167   HEIDI         ADDIE                   AR          90010986594
2BB3772462B931   CECILIA       SOLORIO                 CA          90014967246
2BB37787572B42   JOHN          MONTOYA                 CO          33064487875
2BB37A41281637   MICHAEL       SCOTT                   MO          90004040412
2BB38159185988   ALICIA        WILLIAMS                KY          90010991591
2BB38618741245   BENJAMIN      BRAZELL                 PA          90003926187
2BB387A5987B87   MIGUEL        GARCIA                  AR          90014967059
2BB38A41991828   JESUS         SIERRA                  OK          90009570419
2BB3934565B167   DESTINEE      AVERY                   AR          23030693456
2BB39593587B59   MELODY        CRAIE                   AR          90013955935
2BB39694951343   JULIAN        ROBINSON                OH          90013306949
2BB3972462B931   CECILIA       SOLORIO                 CA          90014967246
2BB39814431631   OYNAELA       PAYNE                   KS          90007578144
2BB39926A55957   MARCOS        CASTILLO                CA          90014379260
2BB3994729189B   MICHAEL       SMITH                   OK          90014659472
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1548 of 2500


2BB3B189491541   IRMA        PATRICIA                  TX          75088241894
2BB3B31647B496   CHARLES     DWIGHT                    NC          11041963164
2BB3B332981637   LEANN       PERRINE                   MO          90002523329
2BB3B69A791522   ARMIDA      PUGA                      TX          75088296907
2BB3B78114B261   CODY        STICKNEY                  NE          90014107811
2BB4112A48B17B   SKYLER      THOMAS                    UT          90011681204
2BB41267A7B471   ESAYAS      DENEBERU                  NC          90004772670
2BB41399585988   LUKE        WATTS                     KY          90013273995
2BB41462171948   EILENE      MPHILLIPS                 CO          32012194621
2BB41741187B59   MASHESHA    CLARK                     AR          90013967411
2BB4175355B271   LESLIE      EDWARDS                   KY          90006757535
2BB41868A91251   ROSELLA     THOMAS                    GA          90011648680
2BB4193919189B   SANDRA      MORRIS                    OK          90011219391
2BB4194514B281   MARICRUZ    MOLINA                    NE          90009169451
2BB4198415B167   TONIA       BURRUS                    AR          90012659841
2BB4221175B167   RIDGE       LONG                      AR          90008972117
2BB42596672421   MICHAEL     HAYDEN                    PA          90013825966
2BB4267529184B   LAQUITA     MORELAND                  OK          90012086752
2BB4291A32B892   REYNA       QUINTERO                  ID          90011079103
2BB43449585988   MEGAN       ARREGUN                   KY          90011964495
2BB4345692B892   CARLOS      SIGMOND                   ID          90011944569
2BB4367899189B   CHRIS       ANDERSON                  OK          90014666789
2BB4372755B167   DANIEL      RAY                       AR          90013837275
2BB43893771221   JESSE       RODRIGUEZ                 IA          90015498937
2BB443A8671948   BELINDA     GUZMAN                    CO          90014163086
2BB448AA572B98   JOSE        MONTANEZ                  CO          33031338005
2BB44928391893   NOEL        AUSTIN                    OK          90006669283
2BB4523A755941   YAZMIN      BELTRAN                   CA          90013972307
2BB45A65451336   TANIA       CHALA                     OH          90014700654
2BB46175251343   TONY        PADGETT                   OH          66073531752
2BB46352487B87   DROXINE     BARRON                    AR          90001733524
2BB46751A5B571   FRANK       GARCIA                    NM          35035887510
2BB46918276B53   CAROLINA    SANTOYO                   CA          90010509182
2BB46A91257157   OSCAR       VASQUEZ                   VA          90003590912
2BB472A8587B59   TINA        BEARD                     AR          90012842085
2BB473A7181661   SAMANTHA    DICKINSON                 MO          29014313071
2BB47882691522   BRIANNA     RONQUILLO                 TX          90015048826
2BB47981674B79   TOM         SOBOTA                    OH          90012319816
2BB4799A772B42   LORENZO     CHAVEZ                    CO          33044589907
2BB47A7A191522   MARIA       MORALES                   TX          90012270701
2BB4854A141245   AMBER       JONES                     PA          90002505401
2BB48868631631   NIKKI       LOVE                      KS          90010798686
2BB48964A2B839   JESSICA     GOMEZ                     ID          90012349640
2BB48A96685988   CHERYL      WILLS                     KY          90011500966
2BB49243251336   ASHLEY      SAWYER                    OH          90003812432
2BB49277191241   DEMON       WEICKERSON                GA          90011362771
2BB4969542B892   DALE        SLAGEL                    ID          90014356954
2BB49A52351343   VICTORIA    WOOFTER                   OH          66046390523
2BB4B17238B334   TISSAN      SIMPSON                   SC          90015281723
2BB4B28799794B   XOCHITL     DE LA TORRE               TX          90001502879
2BB4B424172B98   ANGEL       RODRIGUEZ                 CO          90014184241
2BB4B426355941   HEATHER     WILLIAMS                  CA          90013474263
2BB4B472185988   TERRY       MEYER                     KY          67049074721
2BB4B671591522   AIDE        SAENZ                     TX          90007216715
2BB4B6A112B892   CHEYENNE    AGUIRRE                   ID          90014836011
2BB4B6AA247952   GABRIELA    REYES                     AR          90011396002
2BB5146144B588   CANDACE     BARRY                     OK          90014674614
2BB5178879184B   NICOLE      LANDRUM                   OK          21072377887
2BB51935371948   CHRISTIAN   MARIN                     CO          90012469353
2BB52131355941   ALEX        CUEVAS                    CA          49015951313
2BB52453457157   ROSA        CARDOZA                   VA          90009104534
2BB52598772B98   ROCIO       MARTINON                  CO          90010615987
2BB52818A9189B   JOHNA       BENDELE                   OK          90001668180
2BB5328664B588   STEVA       BOWERS                    OK          90012242866
2BB53291855957   ADRIANA     ALVARADO                  CA          90015162918
2BB532A9731433   SHARMEL     MYER                      MO          27584752097
2BB53314851336   KELLI       MACK                      OH          66085413148
2BB53535172B42   HARDIN      ANDRE                     CO          33036195351
2BB53581751343   DALE        DINGLE                    OH          90009315817
2BB5365A891592   JORGE       ARMENDARIZ                TX          90007746508
2BB53A26671948   TEMESGEN    BAYABLE                   CO          32012130266
2BB54119874B79   VICTOR      RUIZ PEREZ                PA          90014901198
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1549 of 2500


2BB5425A88B17B   CLAUDIA      CASAGRANDE               UT          90010082508
2BB54368247952   TAMARA       NEAL                     AR          24088773682
2BB5445189794B   MICHAEL      MARTINEZ                 TX          90010364518
2BB54636885965   CARRIE       BAKER                    KY          90005766368
2BB5464189184B   EDEN         ANDRADES                 OK          90009586418
2BB54A8972B839   MARLENA      RANGEL                   ID          90002180897
2BB55141787B21   DANNY        BAITMAN                  AR          90015161417
2BB552A542B839   MARCY        WEST                     ID          42083252054
2BB55656985988   JESSICA      BURDEN                   KY          90008556569
2BB55834A7B328   SHIRLEY      HUFFMAN                  VA          90013648340
2BB558A3636146   CYNTHIA      PEREZ                    TX          90011908036
2BB55A1399189B   BILLIE       REID                     OK          90013210139
2BB55A84771948   JESSICA      RAMIREZ                  CO          90008750847
2BB56143287B21   VICTORIA     KENRICK                  AR          90015451432
2BB56389731631   MIRANDA      COSTILLA                 KS          90014723897
2BB5646A64B588   ANTHONNY     DOAN                     OK          90013254606
2BB5653A291828   COURTNEY     RICHARDSON               OK          90012185302
2BB5656394B261   KAILEY       EDELMAN                  NE          90012225639
2BB57143155957   KYLE         HORN                     CA          90013731431
2BB5719AA47952   JULIO        ABRAJAN                  AR          90013651900
2BB5738412B892   ALLEN        HUNTER                   ID          42072283841
2BB5746447B449   BREEAHNAH    WILLIAMS                 NC          90014804644
2BB57471191592   RENE         LOPEZ                    TX          75047584711
2BB57474172421   AUTUMN MAR   CAPPELLI                 PA          51005524741
2BB5788894B281   KISHA        FLOWERS-JANES            NE          90000138889
2BB5789654B261   DAVID        LEDESMA                  NE          90014628965
2BB57A6A95715B   OSCAR        OSBALDO                  VA          81090440609
2BB5812A72B892   RALPH        ROBERTS                  ID          42080171207
2BB5821448B334   MICHELLE     PARKER                   SC          90014812144
2BB5839745B167   KELLY        GLYMP                    AR          90011823974
2BB5853115B161   ROMAN JR.    LITTLE                   AR          23070735311
2BB58566431699   CECILIA      BAILON                   KS          22012185664
2BB58792687B59   JAMIKA       SINGLETON                AR          90014817926
2BB58A84287B21   VALERIE      DERINGER                 AR          90015180842
2BB59269431453   TAWANNA      SIMMS                    MO          90013642694
2BB59686397B22   DIRK         MILLARD                  CO          90007026863
2BB5B141855957   JEREMY       KOELEWYN                 CA          90013091418
2BB5B337A47952   MARIA        VEGA-MARTINEZ            AR          90007533370
2BB5B33999184B   JASON        MACGILLIVRAY             OK          90009563399
2BB5B411571948   YAIMARAR     LIMA                     CO          32098314115
2BB5B53247B471   XAVIERA      SHERRIL                  NC          90013375324
2BB5B533285988   ALICIA       OVERHOLSER               KY          90008785332
2BB5B945353983   ETHAN        REDRICKS                 OK          90012959453
2BB5B97229189B   ROBIN        WILLIAMS                 OK          90014659722
2BB6113A491828   DUSTIN       HAMILTON                 OK          90011121304
2BB6131215B167   ALEJANDRO    MEDINA                   AR          23065243121
2BB61373791592   DAVID        HARVIN                   TX          90012133737
2BB61432731631   JUDY         SMITH                    KS          90012284327
2BB61589471948   MICHAEL      SINSABAUGH               CO          90009185894
2BB6198759794B   JUAN         GUZMAN                   TX          90004829875
2BB619A2491241   CHAVANNA     DUNN                     GA          90013859024
2BB61A33791541   RAMRIEZ      MYRNA                    TX          75078400337
2BB61A99772421   JAMES        LIBENGOOD                PA          90007930997
2BB62327371948   KE ALI       GOODWIN                  CO          90014163273
2BB62456A9794B   FRANCISCO    LEYVA QUIDADA            TX          90012054560
2BB62799593727   CHRISTY      R LAWLESS                OH          90008757995
2BB62814591522   BLANCA       OLAGUE                   TX          90012568145
2BB629A3638524   MARIA        GARCIA                   UT          31036089036
2BB63451947952   BRENDA       MARROQUIN                AR          24038404519
2BB635A265715B   JONATHAN     MCELVY                   VA          90009625026
2BB63771487B59   EDDIE        JOHNSON                  AR          90000447714
2BB6377174B245   B            COBB                     NE          90005597717
2BB63A34391241   ELIXIS       HARRIS                   GA          90014560343
2BB63A57A91828   SHARONDA     FOSTER                   OK          21090790570
2BB64167755957   CHARLIE      MACOMB                   CA          90013331677
2BB64239172B98   MELODY       MCALLISTER               CO          33008702391
2BB64329887B59   EDNA         PRICE                    AR          90007483298
2BB6438629184B   RICHARD      OSTRANDER                OK          90014993862
2BB64883391541   ISABEL       LIRA                     TX          90008938833
2BB64927351331   PRISCILLA    FRANKLIN                 OH          90004189273
2BB64A72751343   CHARLES      GLASS                    OH          90003140727
2BB6517878B17B   JESSE        SANCHEZ                  UT          90011681787
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1550 of 2500


2BB65353591592   ERIKA       RUIZ                      TX          75085683535
2BB65691691323   NATHANIEL   HAYES                     KS          90014266916
2BB6572522B892   SHAUNTA     AMANDA                    ID          90003007252
2BB6593919189B   SANDRA      MORRIS                    OK          90011219391
2BB6622589794B   PEDRO       VASQUEZ                   TX          90014192258
2BB6685459189B   ROBERT      KROBOTH                   OK          21086688545
2BB66A73151343   MARK        FANTETTI                  OH          90013950731
2BB6793A651336   JONATHAN    SUGGS                     OH          90009949306
2BB6796815715B   ANA         MONJARAS                  VA          90013309681
2BB6799864B281   ROBERTO     GUTIERREZ                 NE          90001139986
2BB68133185965   JULIE       BROOKS                    KY          66003371331
2BB68566A5B271   EFREN       JIMENEZ                   KY          90013635660
2BB68577955957   MERLE       HICKS                     CA          90009585779
2BB68699A5B167   TERRA       MURRY                     AR          23070246990
2BB6891A391541   JAVIER      CAMACHO                   TX          90012499103
2BB68927187B21   PAMELA      NEEL                      AR          90015439271
2BB69121891592   MANUEL      HARAMILLO                 TX          90002031218
2BB69615131453   ROBERT      BROWN                     MO          90014056151
2BB69738855941   DIXIE       TRISTAN                   CA          49076497388
2BB6B12682B839   EMILY       DAVIS                     ID          90010411268
2BB6B422684364   KALA        SEABROOK                  SC          19042634226
2BB6B462791592   CRUZ        ACOSTA                    TX          90015154627
2BB6B63397B471   MILTON      ESCOBAR                   NC          90012536339
2BB6B741172B98   RODRIGO     LOPEZ                     CO          90013067411
2BB6B754681661   MICHAEL     HILL                      MO          90014627546
2BB6B77599794B   WILLIAM     OLYSLAGER                 TX          90014377759
2BB6B88752B232   ANDRE       CLANVILLE                 DC          90006328875
2BB7121414B588   GARY        DEJEAR                    OK          90010702141
2BB71292985965   DUSTIN      MEECE                     KY          66001892929
2BB71512A51336   HEATHER     KREIDENWES                OH          90015175120
2BB71821754191   RYAN        DUNLAP                    OR          90007398217
2BB7195622B839   MARK        KING                      ID          90012909562
2BB71A8A17B449   STEVE       DREHER                    NC          11035340801
2BB721A9372421   FALLON      KIGER                     PA          90014941093
2BB72543231453   ASHA        PERRYMAN                  MO          90015305432
2BB725A912B229   RANDY       SMITH                     DC          90006605091
2BB7275617B449   SHIRLEY     BLACKWELL                 NC          11073247561
2BB72764957157   PAYGO       IVR ACTIVATION            VA          90015537649
2BB72789151343   GREGORY     GARDNER                   OH          90011677891
2BB7297657B699   WILLEKA     RUTLEDGE                  GA          15005569765
2BB72A92874B79   DAVID       MONIGOLD                  OH          90014620928
2BB73116A2B892   DELIA       GUTIERREZ                 ID          42060971160
2BB732A9891828   DANY        RODRIGUEZ                 OK          90002862098
2BB73435672B98   ROBEN       DIEKMANN                  CO          90014184356
2BB73453A87B87   BRANDY      FREEMAN                   AR          90014984530
2BB73471857157   TUESDAY     LITTLE                    VA          90015034718
2BB73798271948   ALEXIS      KYLE                      CO          90010587982
2BB73A1648B17B   JAKE        SAMORA                    UT          90010470164
2BB74411847952   DEIDRA      THOMAS                    AR          90005604118
2BB7493A17B449   KEISHA      HUTCHINSON                NC          90014859301
2BB74984191592   MARIA       SEGURA                    TX          90000279841
2BB749A3A71948   ADAM        WIK                       CO          90010679030
2BB75188971948   JUAN        LOPEZ                     CO          90010301889
2BB75435672B98   ROBEN       DIEKMANN                  CO          90014184356
2BB75845A7B471   DIEGO       DE LEON                   NC          90010358450
2BB7643519794B   RICARDO     ORTIZ                     TX          90010694351
2BB76A2527B471   LANITIA     WESTBROOK                 NC          90011160252
2BB76A4234B588   RACHEL      ENDRESS                   OK          90014690423
2BB77116981637   AVERY       WILLIAMS                  MO          90004201169
2BB7715939794B   RAMIRO      JUAREZ                    TX          74039501593
2BB77311472B42   MARIA       DE LEON                   CO          90007263114
2BB7732312B892   AMPARO      DIAZ                      ID          90013173231
2BB7733A34B588   LINDA       MAISCH                    OK          21586093303
2BB77427685988   JACOB       CANTRELL                  KY          90013974276
2BB78162585988   JEROD       MORTON                    KY          90009841625
2BB78244591522   JUAN        GONZALEZ                  TX          75023772445
2BB78536931453   SAM         GIARDINA                  MO          90003045369
2BB78862181637   LETANGDRA   HAGGINS                   MO          90014008621
2BB79296171948   NELSON      GARCIA                    CO          90015082961
2BB7953567B449   JAMES       WALTON                    NC          90014805356
2BB7956525715B   ALEX        TORRES                    VA          90005795652
2BB79812157157   CARLA       JOHNSON                   VA          90013848121
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1551 of 2500


2BB79945181637   JACQUELINE      BIRCH                 MO          29004689451
2BB79A85251343   CARLA           MATOS                 OH          66003160852
2BB7B179191592   ALEJANDRO       CANALES               TX          75068241791
2BB7B463674B79   CHAMPAYNE       BRAY                  PA          90006844636
2BB7B591387B87   KAREN           WALLS                 AR          90014105913
2BB7B98234B588   MELISSA         GUM                   OK          90011609823
2BB8122255B571   CHERIE          QUINONES              NM          35035902225
2BB8123837B278   MARIA A         TANNER                NV          90014282383
2BB81516A61877   CEIRRA          LYNN                   IL         90015455160
2BB816A9A87B87   CHRISTOPHER     MAYZES                AR          90014996090
2BB82145581661   JESSICA         BEARS                 MO          90011991455
2BB82381731433   ALMA PATRICIA   TORRES ROJO           MO          90003833817
2BB82686855941   KEYIA           MAYWEATHER            CA          49080946868
2BB827AA59184B   KARNETHA        JORDAN                OK          90008947005
2BB83362547952   DARELL          WILKINS               AR          24004843625
2BB8347A631433   TERRIE          PARCHMON              MO          27572074706
2BB8388488B334   BRIAN           SAVAGE                SC          90014288848
2BB84218185938   FRAN            ROBLIN                KY          67065542181
2BB8434A881637   ERIC            PRENTICE              MO          90014273408
2BB84446985965   LOVELESS        JAMIE                 KY          90013724469
2BB84454A8B17B   PINE            BRENDA                UT          90010414540
2BB8447662B839   THIS            THAT                  ID          90007834766
2BB84727993773   KRISTY          POCAIGUE              OH          90006687279
2BB8484945B171   ANNETTE         HERRON                AR          23041968494
2BB8528A672B38   ILIANA          CORONADO              CO          33082632806
2BB85493391828   QUATRILLA       BARNETT               OK          90013224933
2BB8553579794B   MARTIN          AMAYA                 TX          74015405357
2BB85539772B98   NICKI           RAYMONDE              CO          90013315397
2BB8563844B281   SANDRA          BRAHATCEK             IA          90014166384
2BB85A39471948   KAREN           HOFFMAN               CO          90001990394
2BB861A7987B59   PATRICIA        SMITH-WEATHERLY       AR          23009551079
2BB86941155957   ROBERT          LAMBERT               CA          90011309411
2BB86A96A91541   MARCELA         CUELLAR               TX          90007570960
2BB87282691828   JESUS           HERRERA               OK          90013812826
2BB8741618B17B   SHAUNA          BLUNDELL              UT          31093724161
2BB87448993773   TANDACE         RICHARDSON            OH          90005314489
2BB87526872B42   RYLEIGH         OBRIEN                CO          90014345268
2BB87528785938   CHRIS           RAVEN                 KY          90014715287
2BB87546891592   ALFONSO         MADRID                TX          90011695468
2BB8767895B167   RACHEL          ERWIN                 AR          90013596789
2BB88452A72B35   HECTOR          JUAREZ                CO          90003544520
2BB88472872B47   JASON           SMITH                 CO          90009044728
2BB88478272B98   OSIRIS          SANDOVAL              CO          90011724782
2BB88542384364   YATIAA          PRICE                 SC          90015415423
2BB88582374B79   JESSE           JAMES                 PA          90013695823
2BB886A8471948   CLYDE           RICHARDSON            CO          32062566084
2BB8894A341245   HENRY           CARPENTER             PA          90001299403
2BB88A27A2B839   SPENCER         HARMER                ID          42026200270
2BB89134191534   MARLENA         CEBALLOS              TX          90003621341
2BB8954289794B   AL              STEW                  TX          90015055428
2BB8B12844B588   EMILY           BONILLA               OK          90009501284
2BB8B284247952   RICHARD         SCHAEFFER             AR          90004882842
2BB8B45972B839   MARIA           HOWARD                ID          42085444597
2BB8B595A74B79   LAWAN           LIVINGSTON            OH          90012565950
2BB8B63794B281   KARLA           MEJIA                 NE          90014166379
2BB8B66762B892   SAUL            CUEVAS                ID          90004826676
2BB8BA11291541   CONCEPCION      VILLALVA              TX          90012770112
2BB91114A91522   AMELIA          RODRIGUEZ             TX          90008531140
2BB91164985938   MISTER          DAWSON                KY          90002601649
2BB9142914B261   CHEYENNE        PECHA                 IA          27072014291
2BB9155A141245   JEWELL          LEDBETTER             PA          51061705501
2BB9164A555941   ALISHA          GARRISON              CA          49098916405
2BB91A76284364   NANCY           BOWENS                SC          90012710762
2BB922A7A74B79   ASHLEY          HIGHLEY               PA          51067272070
2BB923A6391541   KARLA           JACOB                 TX          75079973063
2BB9286555B271   DAWN            RALEY                 KY          68012728655
2BB9287382B229   ANDRE           BECTOR                DC          90010758738
2BB92A41A2B839   SHUKRIA         AKRAM                 ID          90012720410
2BB9355A59794B   MARIO           CUC                   TX          90012975505
2BB93626191564   ANNET           CASTILLO              TX          90007896261
2BB93821171948   MUSAAB          AL HAMDANI            CO          90007278211
2BB9386994B588   HERIBERTO       DAVILA                OK          90011438699
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1552 of 2500


2BB9392A785938    GUADALUPE    BARBERENA               KY          90010809207
2BB9425999794B    LUIS         TORRES                  TX          74011142599
2BB943A3391828    RACHEL       ADAMS                   OK          21093083033
2BB9467225715B    CLAUDIA      SANTIAGO                VA          90015176722
2BB94A63655957    JOEL         SILIVA                  CA          90013720636
2BB95333284364    BENJAMIN     LEE                     SC          90003433332
2BB95413731631    MARILYN      MURPHY                  KS          22054224137
2BB9612A651343    JEREMY       SCOTT                   KY          90013951206
2BB96131184364    TWANNA L.    DAVIS                   SC          90011121311
2BB96426155941    RAYMOND      MEDINA                  CA          90012884261
2BB9663844B281    SANDRA       BRAHATCEK               IA          90014166384
2BB967AA19189B    ALEJANDRO    DIAZ-ORTIZ              OK          21077907001
2BB9711854B261    PRISCILLA    WANGUI                  NE          27036441185
2BB9738567166B    RICHARD      BROWN                   NY          90005573856
2BB97737587B59    FRANCHESKA   HUNTER                  AR          23024757375
2BB97928887B21    LOLA         MITCHELL                AR          90015439288
2BB97A18181637    QUYLA        SIMPSON                 MO          90014090181
2BB98119572B42    DENNIS       STACEY                  CO          33019331195
2BB9817A57B471    JOHNNIE      SANDS                   NC          90014741705
2BB981A255B161    CARLETTE     EAGLES                  AR          23089781025
2BB9837429794B    SALVADOR     GONZALEZ                TX          90014463742
2BB98522387B59    SHIRLYNN     CLEMONS                 AR          23025325223
2BB98A5834B543    ROBERT       KING                    OK          90011050583
2BB98A99371948    ZURI         TORIBIO                 CO          90010620993
2BB9923729189B    JORDAN       MESTAS                  OK          21013362372
2BB993A7284364    JANICE       MARCELINO               SC          19085403072
2BB9975827B449    STEPHANIE    ROBINSON                NC          11007667582
2BB9998665B271    MARIA        SOLIS                   KY          90008669866
2BB9B19289794B    KADESHA      BLACKSHEAR              TX          90014601928
2BB9B338A87B87    TANISHA      LANGEL                  AR          23079863380
2BB9B612491528    LEYLA        ZEIDAN                  TX          75002576124
2BB9B9A948B334    JONATHAN     GARCIA                  NC          90014829094
2BBB1667491554    JORGE        NORZAGARAY              TX          75064666674
2BBB1731572B42    MARKAYZHA    GUTIERREZ               CO          90013867315
2BBB2253191241    ANTONIECE    EDWARDS                 GA          90014152531
2BBB262729184B    ANTHONY      COX                     OK          90014686272
2BBB2824957157    GILMA        SARAVIA                 VA          81060418249
2BBB299A551343    TERRY        JONES                   OH          90013949905
2BBB3437861963    CESAR        LOPEZ                   CA          90013794378
2BBB3452A4B281    NIKOLE       MYNSTER                 NE          27088874520
2BBB3497255957    PAYGO        IVR ACTIVATION          CA          90013604972
2BBB3678755941    ALFONSO      CASILLAS                CA          49098686787
2BBB399A551343    TERRY        JONES                   OH          90013949905
2BBB3A89291522    ERICA        ROOK                    TX          90008090892
2BBB4113987B87    LESLIE       MONTGOMERY              AR          23063791139
2BBB43A155B167    DAMIEN       MITCHELL                AR          90012903015
2BBB453139794B    MARIA        VILLANUEVA              TX          90013965313
2BBB4A8969189B    KRISTEN      REID                    OK          90008860896
2BBB5164291541    MONICA       MORALES                 TX          90013151642
2BBB519289794B    KADESHA      BLACKSHEAR              TX          90014601928
2BBB531682B931    LEVI         LOGSDON                 CA          90011253168
2BBB53A1681637    SCOTT        SMITH                   MO          90010873016
2BBB583284795B    RUSTON       PERRY                   AR          25060958328
2BBB5843287B59    ROSETTA      GIDDENS                 AR          90013238432
2BBB6259147952    FIDEL        CASTRO                  AR          24069472591
2BBB6286384364    AUSHAULAY    SMITH                   SC          90013102863
2BBB6482655957    MARY         PALOMERA                CA          90015174826
2BBB6695887B59    CRYSTAL      FREEMAN                 AR          90015226958
2BBB6832692886    GAVIN        STANLEY                 AZ          90015268326
2BBB6A1584B588    AMANDA       THOMPSON                OK          90015480158
2BBB6AA5A2B839    JESSICA      HALLQUIST               ID          90014320050
2BBB74A9172B98    ENRIQUE      SANCHEZ                 CO          90011264091
2BBB814712B839    ROSA         ORTEGA                  ID          42035221471
2BBB824722B229    TERRI LYNE   BRISCOE                 DC          90013252472
2BBB8346955941    JOSE         PENA                    CA          90013263469
2BBB8589291541    ERNESTO      RAMIREZ                 TX          90015115892
2BBB891A78B17B    JODI         SMITH                   UT          31065939107
2BBB8965572B42    JAMES        CONTRERAS               CO          90013439655
2BBB9273787B87    EMMA         HILL                    AR          90001732737
2BBB9A38655957    JANET        GRANA                   CA          90013750386
 3111167955B281   SHANNA       KENT                    KY          90007316795
311122A4A55949    TATIANA      JAMISON                 CA          90010662040
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1553 of 2500


3111247722B93B   MARIE       RIOS                      CA          90009224772
3111346617B471   DALLAS      MURRY                     NC          90004614661
3111376338B162   LETA        KULA                      UT          90013747633
31113A8345B52B   ROGELIO     ORTIZ                     NM          90013900834
3111419572B871   JESSICA     JOHNSTON                  ID          90003231957
3111448555B393   TYLER       PORTNOY                   OR          90010684855
3111522235B393   AMY         WOOD                      OR          90002722223
31115A1844B943   SERGIO      CABELO                    TX          90014870184
3111624532B93B   KATHY       HERRERA                   CA          45004922453
31116867A8B162   MELISSA     PEDERSEN                  UT          31085718670
3111694555B393   EILEEN      LIHPAI                    OR          90014169455
3111847567B639   TEKEEMA     COLEMAN                   GA          90014214756
3111874A491232   COBY        GAINES                    GA          90014897404
3111882712B93B   ALEXANDER   MADERA                    CA          90015078271
31118958872B76   MARIA       HERNANDEZ                 CO          33002209588
3111922417B449   MARIA       ROJAS                     NC          90013942241
3111924182B835   TONIA       BENBROOKS                 ID          42075642418
3111953428B16B   RUBEN       ARREDONDO                 UT          90007625342
3111959A57B449   ESTET       ROJAS                     NC          11007595905
311198A1791893   ROCHELLE    WALTON                    OK          90010658017
3111B281951339   JUSTIN      SEELYE                    OH          90014492819
3111B35857B639   YOLANDRA    SMITH                     GA          90007153585
3111B426136143   MARIBEL     LOPEZ                     TX          90015084261
3111B59997B449   MICHAEL     LANDERS                   NC          90013255999
3111B657831424   BILL        MIDOWELL                  MO          27561796578
3111B91957B471   ANTHONY     SLOAN                     NC          90014369195
3111B91A34B943   HYNECIA     SIMPSON                   TX          76576529103
3112111687B471   SAMERIA     GILLESPIE                 NC          90005161168
3112153227753B   JUSTIN      HEMPHILL                  NV          90013885322
311215A6A71954   MICHAEL     FOURTNER                  CO          38089275060
31121A32554165   TRACEY      SMITH                     OR          90012260325
3112283175B161   TAMARA      SOLEE                     AR          90009608317
3112288A241258   SUSAN       SNYDER                    PA          51096588802
3112294355B393   FRANCISCO   MENCHU                    OR          90008859435
31123A3396B397   JOSEPHINE   RUNGE                     NH          90014330339
31123AAA591584   MIGUEL      AGUILAR                   TX          90011540005
3112419168B14B   VICTOR      DIAZ                      UT          90008691916
3112472235B393   LAUREN      FIFIELD                   OR          44550047223
3112475487B492   DEANNA      PARKS                     NC          11008107548
311258A265B393   NERY        CHAVIRA                   OR          90009858026
3112622328B162   KELIEANN    VAN LEUVEN                UT          90009002232
3112658765B156   TENAHIA     BROWN                     AR          90010325876
31126746A91584   GLORIA      CARRILLO                  TX          90011227460
31127111A41285   MONAE       BARNETT                   PA          51048491110
3112723637B492   MONA        JENKINS                   NC          90013252363
311273A875B393   GILBERTO    PICHARDO-PALACIOS         OR          44586033087
3112791827B471   ERNESTO     RAMOS                     NC          11010209182
31127984A72B76   JOSE        HERRERA                   CO          33047729840
3112799962B835   ALONSO      BALLESTEROS               ID          90003739996
3112863A67B43B   ALLISHIA    WIGGINS                   NC          90004616306
3112871257B449   VICKEY      FLETCHER                  NC          90011407125
31128A56431424   ASHLEY      DENTON                    MO          90010910564
311299A7491232   LAKIA       FOUST                     GA          90015089074
3112B4A7841258   CLARISSA    DREWERY                   PA          51041554078
3113177724124B   GENEVIEVE   FREEMAN                   PA          90011737772
3113212A151369   LAWANDRA    NEWELL                    OH          90006471201
31132747A8B16B   CANDY       FREDRICKSON               UT          90014167470
31132857A91371   MARCUS      CHAMPION                  MO          29034878570
311328AA977544   URIEL       ROJAS                     NV          90012688009
3113326A836143   ANITA       RAMIREZ                   TX          90003422608
3113355385598B   REED        SIMPSON                   CA          49039805538
3113357727B471   PACO        GAVARRELE                 NC          90015045772
31133A1198B16B   RON         YERAGE                    UT          31005210119
3113411662B871   CHRISTINE   MAY                       ID          90005161166
3113425352B93B   MARISOL     VERGARA                   CA          90014752535
311347A1655949   ANGELA      GONZALEZ                  CA          90014517016
31134A9194B943   JUAN        GARCIA                    TX          90001790919
31135687A2B93B   MARGARITA   LEDEZMA                   CA          90012996870
31136911A2B835   BA          TUN                       ID          90012519110
31136A1A55B23B   MARELYS     SILVA                     KY          90006390105
3113818227753B   MARIA       GARCIA                    NV          90009971822
3113825862B87B   ROCHELLE    BRAMLETTE                 ID          90004812586
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31138583A84368   PABLO         NAVA BARRAGAN           SC          90012615830
3113988416B981   FRANCISCO     BAUTISTA                NJ          90012678841
3113999938B16B   CRISTA        DAVIS                   UT          90010809993
31139A23255949   AURELIO       GUNZALES                CA          90011520232
3113B222255972   MARIA         VELASQUEZ               CA          90003752222
3113B54A75B52B   JULIETA       SAUCEDO                 NM          90011485407
3113BA2112B871   JACQUELINE    MINIZ                   ID          90010240211
31141A66141285   TINA          LAPP                    PA          90014430661
3114237778B162   SABRINA       MALAN                   UT          31012093777
3114296557B471   TANGY         REID                    NC          90012289655
311437A6241285   BRANDEE       RABINEK                 PA          90013507062
3114385442B559   LOIS          JAIMES                  AL          90014138544
3114426477B639   DOMINIQUE     PERDUE                  GA          90014622647
3114442AA41285   TARELL        ADDISON                 PA          90014774200
31144618A5B281   SAMANTHA      GREEN                   KY          90008566180
31144643472B76   DONALD        DINGWALL                CO          33082796434
3114475117B492   GLADYS        HERNANDEZ               NC          11033377511
3114519A851369   POPLO         SANSHEZ                 OH          90004201908
311454A8991831   CHRISTOPHER   JOHNSON                 OK          90012994089
3114631238B162   MONICA        JUDD                    UT          90011913123
3114642A55B393   KAYLA         BOWELS                  OR          90014704205
3114672777B639   JESSICA       JOHNSON                 GA          15085037277
311467A2672B76   BEATRIZ       CASTANEDA               CO          90007177026
3114699232B87B   JAVIER        CORONA                  ID          90015549923
3114713A141277   AUSTIN        LANE                    PA          90013311301
3114717145B393   ELIZA         WARRICK                 OR          90013191714
3114725897B639   TINISHA       BOLDEN                  GA          90006702589
3114734282B87B   AUSTIN        TILLER                  ID          90014843428
311473AA377544   KORTNEY       SLATON                  NV          90015593003
3114792A97B43B   CLARA         JUAREZ                  NC          11014649209
31148374A36143   PAUL          GARCIA                  TX          90014143740
3114856285598B   SUSAN         ARCHER                  CA          90014325628
311485A277B639   JACKQUELINE   WIMBERLY                GA          90011945027
31149329A91371   SILVIA        HERNANDEZ-SANCHEZ       KS          90014983290
3114936A431424   SHEILA        KIRKLAND                MO          90014983604
3114977317B449   YUK           RAHLAN                  NC          90013857731
3114981565B393   CRYSTAL       HETTERLY                OR          44566808156
31149A15A36143   EUNICE        GARCIA                  TX          90010650150
3114B278391371   MARIA         BUSTILLOS               KS          90009242783
3114B71957B492   ANTHONY       RENDLEMAN               NC          90006857195
3114B741A2B835   MELISSA       BELL                    ID          90014077410
3114B8A3141277   EDWARD        WHITE                   PA          90014648031
3115117915B281   DEBBIE        WEIDAUER                KY          90009391791
3115141915B393   JESSICA       STAHL                   OR          90012274191
3115183167753B   MONICA P      CORDOVA                 NV          90005388316
3115187865B52B   BERNICE       CORIZ                   NM          35053778786
311519A278B16B   LEWIS         KEYES                   UT          90010769027
3115247915598B   MIGEL         FARIAS                  CA          90006904791
31152715A77544   LEOPOLDO      ARCE                    NV          90013977150
3115369727B639   TRAYVOND      ROBERTS                 GA          90014216972
311537A5555949   STEVIE        PETERS                  CA          90014517055
3115488272B586   JAMES         RENEMAN                 AL          90015098827
31154A59791371   MARTHA        LONGORIA - ORTIZ        KS          90012080597
3115524772B835   E             PEARSON                 ID          42066952477
3115544392B87B   DONALD        LEITERMAN               ID          90013964439
3115573425B281   PATRICK       CRADY                   KY          90002887342
3115599834B943   CHRISTINA     SHELTON                 TX          90011729983
31156846A7B492   ORLANDO       GARCIA                  NC          90002778460
31156934A36143   MANDY         MARTINEZ                TX          73535009340
31156966A7737B   HAROLD        SOUTHERN                 IL         90013999660
3115713545598B   MANUEL        MARAVILLA               CA          90012681354
3115737A697126   BENJAMIN      HUERTA                  OR          90012073706
3115779AA36143   JOSE          RAMIREZ                 TX          90012697900
31158A2632B87B   LILIANA       MALDONADO               ID          90014780263
3115986785B52B   JENNIFER      AGUIMATANG              NM          90014308678
31159A4117753B   CYNTHIA       PRICE                   NV          90009250411
3115B51714B943   MARISSA       CANTU                   TX          90014945171
3115B646191893   DAVID         STONEBARGER             OK          21066126461
3115B677455949   SANDRA        VARGAS                  CA          90012636774
3115B757454165   KARRIE        STONE                   OR          47023637574
3115B842991584   FLOR          LOPEZ-RAMOS             NM          90012638429
3115B864191232   MICAH         LEVEL                   GA          90015228641
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3116141A17B449   OCTAVIO       CARDENAS                NC          11009234101
3116157122B87B   CHRISTIE      ARMSTRONG               ID          90009685712
3116189252B93B   CASSANDRA     NELSON                  CA          90004978925
31162435948B23   JESSICA       BAUGHMAN                UT          37020864359
3116279A48B16B   DRENA         MORALES                 UT          90001047904
31162A18431424   MISAEL        LOPEZ                   MO          90009350184
31162A1A647931   CHARLENE      WHITE                   AR          90007760106
31163127372B76   JOSE          REYES                   CO          33047471273
3116328A784368   JARBAS        OLIVEIRA                SC          90014892807
3116348625B156   MAVIS         PRYOR                   AR          23083654862
3116351567B492   MARIA         CARDONA                 NC          90014825156
311636AAA7B429   EDMOND        BROWN                   NC          11017616000
3116372237B639   FELICIA       BUCKNER                 GA          90006547223
31163981872B88   NATASHA       PERRY                   CO          90001019818
3116429542B93B   MARICELA      VERVER                  CA          90012362954
311644A3391584   CLAUDIA       IVETTE FAVELA           TX          90005014033
3116453428B16B   RUBEN         ARREDONDO               UT          90007625342
3116474945B52B   MARY          GARLEY-MOORE            NM          35024507494
3116488A22B87B   CASSANDRA     OGDEN                   ID          90014718802
3116544875B393   CHRISTINA     WHITE                   OR          90011884487
3116589415B281   JUANITA       ELLIOT                  KY          68078478941
311662A5191371   KEVIN         SOLECKI                 KS          29015952051
3116642A155972   RAMON         VELIZ                   CA          90012214201
31166887A2B93B   EMILENA       CASTRO                  CA          90014728870
31167A6438B16B   ALEX          GURRERO                 UT          31091180643
3116822A251369   MELANIE       MAYE                    OH          66000882202
311682A9721631   JARRED        BARKLEY                 OH          90015302097
3116863562B93B   SANDRA        SCARLETT                CA          90011026356
3116887437B449   DENISE        BOSWELL                 NC          90011878743
3116986858B162   CHELSEY       WILLIAMS                UT          31046818685
3116987265598B   DANNY         SALAS                   CA          90013528726
3116B226441258   TERRELL       CHAPMAN                 PA          90014582264
3116B58742B87B   HELEN         PEARMAN                 ID          42034945874
3116B818291371   VANESSA       MCGEE                   KS          90000628182
3116B867A41285   DAN           MOSSO                   PA          90011658670
3116B97A87B639   TERESA        WILLIAMS                GA          90010539708
3116BA8514B943   GASPER        HERRERA                 TX          90014920851
3117139427B492   SHANNA        WHITE                   NC          90010243942
31171A3422B835   KERRY         NELSON                  ID          42091180342
3117267A67B492   SALLY         BARNEYCASTLE            NC          90000906706
3117361A84124B   MATTHEW       RANDOUR                 PA          90000256108
31173A1694B943   NICHOLE       JACKSON                 TX          76534230169
3117542637B492   LAPORCHE      BROWN                   NC          90014714263
3117548652B559   ANNIE MAE     PRIDE                   AL          90015064865
3117563898B16B   MARVIN        LEGER                   UT          90013496389
31175911A36143   MICHAEL       FEWTHER                 TX          90014279110
3117593A52B93B   MARSHA        DAVIS                   CA          90013919305
3117663412B835   LYDIA         OLVERA                  ID          42034546341
3117721135B58B   BARABARA      SIERRA                  NM          90009412113
3117721A17B639   VERONICA      CARNES                  GA          90010782101
311776A2397B44   KATRINA       DIEHL                   CO          39015556023
3117771927B449   LINDA         KANE                    NC          90009747192
3117775615B393   DANIEL MARK   DINNEEN                 OR          90005617561
3117868A47B639   DEMETRICA     JACKSON                 GA          90008106804
31178774A5B281   CANDICE       TWYMAN                  KY          90002887740
3117948445B52B   IRENE         CASTILLO                NM          90002584844
3117997582B87B   JOSEFINA      CORTEZ                  ID          90009019758
3117B733A98B33   JUAN          AGUSTINIANO             NC          90007727330
3117B93652B586   MONICA        WADE                    AL          90014639365
3117BA2875B281   VICTORIA      TWYMAN                  KY          90011650287
3118134A82B835   JAKE          FOX FARRELL             ID          90006813408
3118211192B87B   SHAWNA        HATCH                   ID          42062591119
31182131672B76   DIANE         CECILIA YANKTON         CO          33048491316
31183125A2B93B   MONICA        AMBRIZ                  CA          90010611250
31183155A4B967   ERIC          GALLIER                 TX          90013581550
311831A572B871   KIMBERLY      LOBACH                  ID          42064491057
3118323995B52B   ELIZABETH     ROMERO                  NM          90002722399
31183924A41285   ROSEMARY      IRONS                   PA          51074469240
31183A6422B835   BARBARA       WOODS                   ID          42063820642
3118452585B393   MERITIDE      BONAMI                  OR          90008585258
31184547A7B492   CHARITA       VALENTINE               NC          90011065470
3118469147B639   VICTORIA      CLARK                   GA          15096486914
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3118533A67B471   FREEDY        G                       NC          90013663306
3118554517B492   MITCH         KOTLINSKI               NC          90012745451
31185A18541258   JOYCE         BECK                    PA          90006330185
311866A2397B44   KATRINA       DIEHL                   CO          39015556023
3118699118B16B   CYNTHIA       BROWN                   UT          31079849911
31187297A72496   MICHAEL       HICKS                   PA          90010402970
3118778A94B943   SAUL          BATELLO                 TX          90015017809
31187825A55972   NANCY         MENDOZA                 CA          90012248250
3118791427B471   MURIEL        WILSON                  NC          90014639142
3118872945598B   JACKILINE     FEQUEROA                CA          90012887294
31189263A7B639   JIMMY         COBB                    GA          15056532630
3118962414124B   STACEY        EVANS                   PA          51052416241
31189A4757B471   TATTIANA      JACKSON                 NC          90014580475
3118B31335B393   SAMUEL        JONES                   OR          90010423133
3118B3A2571996   NIGEL         KERR                    CO          32036183025
3118B519691371   SARA          LAXTON                  KS          90011155196
3118BA79391831   JANET         SHORT                   OK          90009190793
3119135847753B   RICARDO       COLMENARES              NV          90013893584
31191761A77544   ASHLEY        PARKERSON               NV          43009297610
3119245A62B93B   TOM           HONG                    CA          90014984506
3119269774B281   PATRICIA      ADAMS                   NE          90008416977
311927A6141277   MELVINA       STRONG                  PA          51029977061
311927AA37753B   CARLOS        SANCHEZ                 NV          90013427003
3119296287753B   KATRINA       ESPARZA                 NV          90003679628
3119315645598B   CRISTINA      BARAJAS                 CA          49087821564
3119324A691584   MARIA         LOZANO                  TX          75053782406
3119453772B93B   ANGELA        TOSTA                   CA          90001005377
3119453855B156   KENYATTA      CONNORS                 AR          90005725385
3119455312B87B   CELIA         ESPINOZA                ID          42018345531
3119633662B871   BENNETT       BRAY                    ID          90010883366
3119653247B453   EDWARD        LITTLE                  SC          90014095324
31196A4865B393   BEVERLY       SEYMORE                 OR          44587040486
31197212A8B162   ANNA          DOUGAL                  UT          31092352120
3119725A451339   MELISSA       COOK                    OH          90011362504
3119737A136143   ANGELA        PENA                    TX          90001323701
3119746A991371   KYLE          WRIAHTSMAN              KS          90012824609
3119757785B393   NICK          BARNES                  OR          90015165778
31197A1592B835   AUTUMN        ROBINSON                ID          42010250159
31197A24491232   RAY           HARRIS                  GA          90011600244
3119842987B639   TIFFANY       PARKER                  GA          90011644298
31198742972B76   CARLOS        ALVARADO                CO          33040347429
31198A77947931   JAMIE         BOWEN                   AR          90011000779
3119914172B871   MEGAN         LINSENMANN              ID          42096671417
31199918A5598B   CHRISTINA     GIBSON                  CA          90010209180
3119B647336143   SAVANNA       LOPEZ                   TX          73550416473
311B1234281642   CHRISTOPHER   CASSIDY                 MO          90007882342
311B1242191232   TERRENCE      MASON                   GA          90014382421
311B2A23941277   THAUNG        SHWE                    PA          90015120239
311B2AA642B87B   KURTIS        KNIGHT                  ID          42048080064
311B33A417B471   TANDRALA      HOOD                    NC          90011033041
311B3493372496   TARA          BROWN                   PA          90014834933
311B363777B639   TYRONE        SAUNDERS                GA          90009686377
311B36A577B449   IRIS          BOJORQUEZ               NC          90012086057
311B4861191232   LAURA         BULLOCH                 GA          90014728611
311B498A391371   JOSHUA        WISE                    KS          90014319803
311B4A95255949   RODNEY        GARDENER                CA          49006580952
311B5154151369   MATT          LOONEY                  OH          66092641541
311B517A861925   IRENE         CASTRO                  CA          90006521708
311B558695B393   JOE           LUKER                   OR          90014035869
311B5824A7B492   SAUL          QUIROZ                  NC          90013838240
311B59A2191537   CRUS          MONTOYA                 TX          90013759021
311B5A7268B16B   JEREMY        OLIVA                   UT          90015080726
311B61A837753B   TAMARA        HESS                    NV          43066461083
311B6697491584   LUIS          LOM                     TX          90012176974
311B7586431424   MICHELLE      ASHLEY                  MO          90014885864
311B77A8191584   GERARDO       RAMIREZ                 TX          75001747081
311B8341391584   BLANCA        PERALES                 TX          90012753413
311B83A4685951   PAUL          RHODES                  KY          90012903046
311B85A457753B   LACEY         DAVIS                   NV          90015025045
311B8717972496   NICKIE        WHIPKEY                 PA          90010057179
311B878262B93B   CRESCENCIO    TORREZ                  CA          90009267826
311B885352B87B   KACY          REYNOLDS                ID          42084788535
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311B887615B52B   GABRIELE    ARAGON                    NM          35037598761
311B894715B93B   LISA        MADSON                    WA          90014039471
311B939A45B156   BARBARA     NELSON                    AR          23067893904
311B9967455949   ABEL        AVILA                     CA          49016309674
311BB183877544   KARI        CLEMENTS                  NV          90000661838
3121182657B639   MICHAEL     MAGANA                    GA          90014238265
31212432A8B16B   MARK        BAPTISTE                  UT          90009624320
3121248342B93B   KODY        MCNAIL                    CA          90015554834
3121373A772496   ROBERT      MILLER                    PA          90013697307
3121447514B225   JOYCE       MILLER                    NE          90001594751
312146A3155921   ROBERT      LOPEZ                     CA          90002686031
3121497114124B   ASHLEY      MESSINA                   PA          90011839711
3121598264B943   REYNA       BAUTISTA                  TX          90014449826
3121611412B87B   RUSSEL      MASSEY                    ID          90012231141
3121628282B87B   THOMAS      PENA                      ID          90014462828
3121651562B93B   LUIS        GARCIA                    CA          90009305156
3121696557B471   TANGY       REID                      NC          90012289655
3121735575598B   GLADIS      TAPIA                     CA          90007903557
31217462636B77   ASHLEY      BEDDOE                    OR          90006774626
3121752A981642   LAURA       CRABTREE                  KS          90004025209
3121785845598B   LEONEL      HERNANDEZ                 CA          90012348584
312188A845B156   AURORA      BLAKE                     AR          23083838084
31218958A7B43B   PHAT        HAWKINS                   NC          90005779580
31218A84491584   ALFONSO     RODRIGUEZ                 TX          75092490844
3121B18A655972   ALAN        PACHECO                   CA          90013511806
3121B196785835   COLBY       MICHAEL                   CA          46046401967
3121B2A584B943   LANCE       GANS                      TX          90013032058
3121B2A8731424   PAYGO       IVR ACTIVATION            MO          90013422087
3121B38515B393   RICHARD     MINNICK                   OR          90011503851
312211A217B449   AMANDA      SMITH                     NC          90014271021
3122127712B87B   JONI        FISHER                    ID          42090432771
3122146917B492   TIA         JONES                     NC          11043564691
31221A13493744   MICHAEL     ABNEY                     OH          64500880134
3122328524B943   CHRISTA     BALEY                     TX          90015052852
3122335955B52B   SARAH       MOORE                     NM          90015153595
3122496A34B943   PEGGY       JONES                     TX          76572599603
3122514A65B393   MELINDA     BAKER                     OR          44543471406
3122544817B449   BRENDA      VAZQUEZ                   NC          90012874481
31225A82391371   CANDY       WILLIAMS                  KS          90000850823
3122761145B281   TARA        DAVIS                     KY          68096496114
3122833485B156   IDA         MURPHY                    AR          23000483348
3122838987B449   CASSANDRA   LEACH                     NC          11047443898
31228AA552B87B   DELEON      TERESA                    ID          90010120055
312296A243B352   RUBEN       GARCIA                    CO          90007646024
312297AA67B639   VANIA       MOORE                     GA          90003437006
31229A37141285   JAMES       WOODSON                   PA          51029080371
31229AA854124B   JAMEY       WAUGH                     PA          90002390085
3122B12225B393   MARCELL     GARCIA                    OR          90014831222
3122B576936143   TOMAS       GARCIA                    TX          90014285769
3122B91A97B639   MERCEHELL   CUNNINGHAM                GA          90014239109
3122BA78951339   WHITNEY     PRITCHARD                 OH          90009180789
3123117754B954   MELISSA     DIXON                     TX          90005971775
3123128332B835   GABRIELLE   PEREZ                     ID          90005752833
3123212A791584   MIRANDA     MANUEL                    TX          75084121207
31232663A5B393   AGUSTIN     VAZQUEZ                   OR          90010016630
31232731848B55   NIKKI       SMITH                     AZ          90014017318
3123354457B492   LINDA       WHITEMAN                  NC          90014455445
3123356632B87B   ISRAEL      REYES                     ID          90015105663
3123391314B281   ANNETTE     BROWN                     NE          27062399131
3123472174B943   WILFRED     LEDAY                     TX          90011567217
3123485285B393   YADIRA      DIAZ                      OR          44511128528
31234928472B76   JENNIFER    KOPPHANSON                CO          90002059284
312353A887753B   GLENNA      WEST                      NV          43080093088
31235677A2B93B   NICHOLAS    ENERO                     CA          45088956770
312356A4784368   CESAR       CANALES                   SC          90014836047
3123587448B16B   DANIEL      CADENA                    UT          90010458744
3123641794B281   LAXMAN      DAHAL                     NE          90008644179
31236A9589125B   JERON       CONYERS                   GA          90012740958
31237356572B76   ACTS        RESOURCE CENTER           CO          90013903565
3123737345135B   CELESTINE   FRIERSON                  OH          90005433734
3123746882B835   AMANDA      SMIT                      ID          90001614688
3123764A95598B   AIOTEST1    DONOTTOUCH                CA          90015116409
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3123797AA41277   LEANDREW    MULDROW                   PA          51034079700
3123841635598B   CRYSTAL     GOMEZ                     CA          90012954163
312384A152B87B   KIMBERLY    ARCHABAL                  ID          90003374015
3123864A95598B   AIOTEST1    DONOTTOUCH                CA          90015116409
312386A1641277   MANDY       SAVAGE                    PA          90007586016
31238779A7753B   RICARDO     HERRERA                   NV          43030997790
3123912946B241   GEORGE      WICK                      AZ          90013151294
31239399A7B639   RODRIGO     LOPEZ                     GA          90011653990
3123992647B43B   TERRENCE    JAREMKO                   SC          11026129264
3123B627191371   MIKE        MORGAN                    KS          90011156271
3124247797B471   SUSANA      SAUCEDO                   NC          90014434779
31242A4455B593   RENEE       SHERFY                    NM          90001010445
31243115A5B281   CONNIE      RUSSELL                   KY          90011651150
31243A8997B639   TRAKETA     MOSES                     GA          90014240899
31244A61184594   JESSICA     PALMATIER                 NY          90014540611
31245183A5B529   JOE         GARCIA                    NM          90012601830
3124521368B162   ERIC        TAYLOR                    UT          31048352136
31245583A72496   SHERISE     COLLINS                   PA          51002715830
3124558667B432   CHRISTY     MARROQUIN                 NC          90013355866
31245A35636143   JOE         TIJERINA                  TX          90014650356
31245A81291584   ESMERALDA   LOZANO                    TX          90012400812
31245A81654165   CAITLIN     CANTER                    OR          90014070816
31246119A7B471   HAWANII     FUNDERBURKE               NC          90013401190
312461A155B393   ANN         MURRELL                   OR          44514241015
31246214A84368   SAMANTHA    DUPONT                    SC          90003592140
3124689A491232   KEVIN       FALLIN                    GA          90000488904
3124698247B492   WILLIAM     BREST                     NC          90013859824
31246A57431458   SONYA       WILLIAMS                  MO          90009090574
312471A5972B76   MARTHA      PACHECO                   CO          33098231059
3124764A47B639   SHERITA     THOMAS                    GA          15075456404
3124779217B471   AMY         HONEYCUTT                 NC          90013757921
31247893A91232   NICOLE      SHARP                     SC          90003968930
3124835897B43B   TRESCHA     MCILWAINE                 NC          90004623589
3124877152B871   CHARLENE    HOWARD                    ID          42009167715
312489A2A91959   BEATRICE    BOWMAN                    NC          18005139020
3124915757B639   CHARMIENE   CARR                      GA          90015221575
31249871998B23   MICHAEL     GARDNER                   NC          90009658719
3124988A377544   EMMA        FOUVALE                   NV          90015338803
3124B17A641277   JHON        ROCK                      PA          90014131706
3124B26727B471   DAMION      DAVIS                     NC          11019832672
3124B429936143   ROSIE       QUINTANILLA               TX          90004674299
3124B822991232   RASHEEDA    HUNTER                    GA          90014578229
3124B934391584   SYLVIA      GALLEGOS                  TX          90008609343
3125127927B639   JOAN        MOORE                     GA          15088992792
312515A2A84368   JONATHAN    SANCHEZ                   SC          90014855020
3125199978B16B   ROBERTO     CASANOVA                  UT          90014179997
3125288385B52B   SANDRA      CASTILLO                  NM          90003188838
312528A3884368   DENA        RAULERSON                 SC          90014858038
31252A2657753B   ERIC        WINCHESTER                NV          90010270265
31252A56241277   MELODY      VESCIO                    PA          51072330562
31252A63A41258   DARLENE     MELLOTT                   PA          51087080630
312532A1454165   FRANK       UHL                       OR          90014442014
3125336A57B639   CRYSTAL     DOZIER                    GA          90014473605
3125346A65B281   NORMA       MARTIN                    KY          90010474606
3125429772B93B   SHERIKA     THOMAS                    CA          90015512977
3125448268B16B   ALYSON      PETERSEN                  UT          31039324826
31255436A7B449   BECKY       CEPHAS                    NC          90010954360
312555A944B281   RICHARD     HENNINGS                  NE          90000295094
3125565592B87B   JAZMINE     HOWARD                    ID          90011186559
31256449A7B449   JOAQUIN     ORTEGA-CANELA             NC          90012874490
3125649538B16B   SUNNY       TLVAR                     UT          90014414953
3125688A48B162   DANNY       GRAFF                     UT          31034818804
31256A43354165   JOHN        KNOWLES                   OR          90013990433
3125771A584368   MARCOS      HERNANDEZ MORALES         SC          90003317105
3125815342B835   BRENT       WALLER                    ID          90013931534
312589A4672496   ANDREA      OHLER                     PA          90013699046
3125921698B16B   TRACY       HARDY                     UT          90007602169
312597A8641285   ANTHONEY    HARTMAN                   PA          90015187086
31259A5212B835   CHERI       HELMICK                   ID          42003450521
3125B2A1551339   DANNY       CRONAN                    OH          66029902015
3125B337A72455   ALEXIS      KUHN                      PA          51029503370
3125B718641285   JEREMY      SONNER                    PA          90014777186
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3125B898754165   MELISSA     MARINEZ                   OR          90011438987
3125B96665B393   ALEX        HAINES                    OR          90013459666
3126142134B943   EDRICK      HARRISON                  TX          90010954213
3126149414B281   JOSE        MORALES                   NE          90014664941
3126169717B449   SHANNON     YOUNG                     NC          90013836971
3126216A83B352   JOHN        ZAYAC                     CO          33046721608
3126239377B449   JANINE      MERAZ                     NC          90014173937
3126319A491584   JANETH G    RIVERA                    TX          90008251904
3126359124B943   ALEXIA      NED                       TX          90011775912
31264475172B76   MULUMEBET   GEBREMESKEL               CO          33002214751
31264A33947931   THOMAS      BROWN                     AR          90010750339
3126542952B835   KODET       SIBEIYANDE                ID          90006924295
312669A765B393   JACOB       ROSALES                   OR          90013939076
31267826A8B16B   CHAYO       REMO                      UT          90002918260
31268449A7B449   JOAQUIN     ORTEGA-CANELA             NC          90012874490
3126864982B871   JOHN V      BELVEAL                   ID          42062156498
3126943972B87B   TERESA      LIZBY                     ID          90013724397
3126945845B393   RAEMI       CARTER                    OR          90013544584
31269643A31639   MICHELLE    DEHAVEN                   KS          90008616430
3126B63892B871   ERICA       MORENO                    ID          42008396389
3126B897557B79   ALEXIS      MCCLURE                   PA          90013888975
3126B8A634B544   ELIZABETH   LUSTER                    OK          90010888063
3126B941691371   JULIO       OLGAZA                    KS          90013579416
3127114822B93B   DANIELLE    EVANS                     CA          90003041482
312711A7954165   JONATHON    BAILEY                    OR          90007431079
3127145315B281   REGINALD    PETTY                     KY          68095764531
3127186922B871   SERGIO      CHAVEZ-TORRES             ID          42057858692
31271A8557B639   ERICA       JOHNSON                   GA          90011660855
3127212322B87B   TOBY        BROWN                     ID          42046941232
3127225572B835   NATE        MARTIN                    ID          90014012557
31272A6627753B   JASON       SELPH                     NV          90010960662
31272A81272496   MICHAEL     FIRESTONE                 PA          90009430812
3127319832B271   PAUL        FLIPPIN                   DC          90004091983
3127343364B281   ALICIA      SEXTON                    NE          27056944336
3127357152B871   JULIANA     TOLVES                    ID          42097395715
31273843A77544   PAUL V      HINOJOSA                  NV          90000668430
3127397442B835   LAURA       RODRIGUEZ                 ID          42025629744
3127422A37753B   ANGEL       ZAVALA                    NV          90013732203
31274724A77544   DANIEL      ELLIOTT                   NV          43042717240
31274813A91232   GENEVA      PATTERSON                 GA          90009728130
3127538764124B   JULIUS      BURCH                     PA          51072543876
3127556367B471   LUIS        VASQUEZ                   NC          90012475636
3127561117B639   MARKIS      JOHNSON SR                GA          90014306111
31276145A2B835   NICOLE      PATTEN                    ID          90015391450
31276A89191831   LUCRETIA    VERNER                    OK          90003460891
3127789A755972   CARLOS      GONZALEZ                  CA          90014998907
3127796A777544   PENNY       FULLER                    NV          90015269607
3127813244B943   JAY ALLEN   VIDRINE                   TX          76527101324
3127843542B835   REHANA      MOHAMMAD                  ID          90006444354
3127915377B492   KALA        PATTON                    NC          90013551537
31279372A61931   JESUS       MATEO                     CA          90000293720
3127941945B393   ALICIA      MORALES                   OR          44591494194
312794A637B43B   JIM         HORN                      NC          90006034063
3127966A277544   JOSE        FLORES                    NV          90004246602
3127B19387B492   ABERLARDO   PENALOZA                  NC          90006631938
3127B294A91831   LINDA       FRANKS                    OK          90010402940
3127B352855972   DAMARIS     HERNANDEZ                 CA          90014843528
3127B574172496   RUSSELL     MILLER                    PA          90012505741
3127B668284368   CLEIDE      LONG                      SC          90003336682
3127B893547931   KAREN       SANCHEZ                   AR          90013188935
31281715A7B471   MARA        MARTINEZ                  NC          90013577150
31281A2AA31657   ELVIN       ALVAREZ                   KS          90009060200
3128257AA7B639   TAWANA      WELLS                     GA          90014255700
3128346365B156   SADIE       CLOOS                     AR          90000254636
31283494957B79   MARIA       SCRUGGS                   PA          90014974949
312834AA82B835   CARL        BAILEY                    ID          90012914008
3128448512B93B   DEBORAH     JONESCOATES               CA          90013274851
3128487142B835   JENNIE      TIMMONS                   ID          90000628714
3128554458B16B   ANNE        BAMBROUGH                 UT          90012705445
312856A2191831   CLAUDIA     MORALES-SALINAS           OK          90012776021
3128645A955949   GEORANNY    MONTONO                   CA          90015144509
3128672567B43B   PERRY       PRICE                     NC          11011757256
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31286A1714B943   DUANE       GOBERT                    TX          76504400171
31286AA5791232   LINDA       JOHNSON                   GA          14556070057
3128766684124B   AMENAH      MOSES                     PA          90004966668
3128769A791584   AMY         PILLOW                    TX          90013946907
31287AA765598B   JULIAN      FLORES                    CA          49017720076
3128919727B639   ANJINETTE   WILLIAMS                  GA          90014251972
312893AA151339   MISTI       CARTER                    OH          90014923001
312899A7354165   ASHLEY      HARPER                    OR          90009409073
3128B358184368   PHIL        JONES                     SC          14594843581
3128B495691232   SHENICE     JENKIS                    SC          90013934956
3128B85285B281   JOANNA      LANGLEY                   KY          68040698528
3128BAA5A4B281   ANGEL       GARCIA VARGAS             NE          90012760050
3129124917B449   CASANDRA    SMITH                     NC          90013172491
3129136247B471   RENE        ORELLANA                  NC          90014003624
3129164335B52B   MICHAEL     GONZALES                  NM          90013466433
3129174732B93B   SANTOS      NIEVES                    CA          90014057473
31291A2972B835   KARLA       GARCIA                    ID          90000610297
3129226197B639   BENJAMIN    GARCIA                    GA          90014252619
31292A21177544   DANIELLE    REWIS                     NV          90014760211
31293917872B76   CACEY       ROBINSON                  CO          90002879178
31293A9A551339   CASSADY     MOORE                     OH          90014930905
3129425815B393   MARIA       HUIZAR                    OR          44560382581
3129466A95B385   SHANNON     WHITLOCK                  OR          90007756609
3129498495598B   JASON       TREVINO                   CA          90014069849
3129554387B43B   ROBENSON    CHRISTOPHER               NC          11017965438
3129559595137B   CASSANDRA   PETERSON                  OH          90012525959
3129617367B449   KRYSTINA    HAIRSTON                  NC          90011461736
3129618348B166   JOSHUA      LAMBSON                   UT          90001491834
312961A7291831   SANDRA      QUIROZ                    OK          90008011072
3129639A82B835   LIZBETH     REYNOSO                   ID          42046643908
3129699657B43B   ANSLEM      NWABUISI                  NC          11014239965
3129743295598B   KEYLAN      GALLOWAY                  CA          49087994329
3129743765B52B   MARNIE      DERDEN                    NM          90012114376
31297619A7B492   DARYAN      CHILDERS                  NC          90013846190
31297824A2B871   MCURDY      COLIN                     ID          90008938240
3129792722B835   CORTNEY     ANDREWS                   ID          90013579272
3129797838B16B   SHALLE      SIMMONS                   UT          90013119783
31297A6A151339   FRANK       BOTOS                     OH          90013910601
31298A6952B835   MELODY      LANE                      ID          90012490695
312998A6A55972   KARRI       MERRITE                   CA          90011798060
31299A94A9375B   EBONY       FARMER                    OH          90009870940
3129B449372B63   DEBRA       MENDOZA                   CO          90001144493
3129B896191584   ROSARIO     AGUIRRE                   TX          90006798961
3129BA9A955962   JORGE       NINO                      CA          90003090909
312B1125441285   SHAWNA      FULTON                    PA          51096121254
312B1662491584   HERMILA     DELGADO                   TX          90013946624
312B1857651578   MABEL       ZIATY                     IA          90015398576
312B18A9351339   STEVE       GEBHARDT                  OH          66040508093
312B1947431424   LINETH      ARAUZ                     MO          90005229474
312B19A554B281   TAMI        WRAY                      NE          90006259055
312B1A6475598B   CHERICE     ASHMORE                   CA          90013110647
312B236117B449   PHYLLIS     BRADLEY                   NC          11036223611
312B2373491232   MEGAN       BUCHANAN                  GA          90014873734
312B241A34124B   JACOB       GILLON                    PA          51047744103
312B2462791584   JULIA       MORA                      TX          75044484627
312B259A131424   JOHN        NEELY                     MO          90012775901
312B2616447931   TREVOR      LEMMOND                   AR          90011906164
312B327A498B25   STARLA      SPRY                      NC          90012442704
312B345395598B   CATY        HOEUNGPASEUTH             CA          90014304539
312B464834B943   LUZ         FIGUEROA                  TX          90008766483
312B492988B16B   CRAIG       SIMPSON                   UT          31001849298
312B52A8654165   CASSANDRA   BIRDSELL                  OR          90001012086
312B5487A91232   ALICIA      ANTHONY                   GA          90011354870
312B5527551339   DAVID       TIBBS                     OH          90004055275
312B585217B492   ERIC        BERRYHILL                 NC          11054958521
312B6673A72496   NICOLE      STOKES                    PA          51021476730
312B698A147931   MARIA       RICHARD                   AR          25083429801
312B733815598B   ESTHER      OCHOA                     CA          90013653381
312B7512591371   JOHNNA      NIMMO                     KS          90006785125
312B7593384368   ANICETO     LOEZA DELGADO             SC          90014835933
312B775112B835   DAISY       ALVAREZ                   ID          42025387511
312B7886691831   TONYA       BAUGH                     OK          90013188866
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312B7A1767753B   SILVIA         MORALES-CHAVEZ         NV          90015150176
312B8299951339   SHAUNA         MONK                   OH          90014922999
312B866A17B449   TROY           CAMBELL                NC          11079056601
312B8671691584   ALEJANDRA      MACHUCA                TX          90011246716
312B867A236143   ROBERT         DECKARD                TX          90012026702
312B915127B639   MELISA         MACKEY                 GA          90012151512
312B9264491232   LENA           RUTH                   GA          90013072644
312B9317257B79   RACHEL         HESS                   PA          90014593172
312B974637B639   TONY           GRIFFIN                GA          90011647463
312B9761741285   BRENDA         STAR                   PA          51082247617
312B976674B943   EDUARDO        CEDILLO                TX          90015027667
312B98AA391525   FRANCIS        BLUMENTHAL             TX          90004008003
312BB265836143   ABILENE        LONG                   TX          90013782658
312BB2A415B393   JESSICA        BROOKSHER              OR          90001872041
31311421A2B87B   SAIED          ALZHAIRI               ID          42062144210
3131194825B393   DAVID          JAMES                  OR          90013939482
31311A82141277   ADAM           CINNA                  PA          51094820821
3131224922B87B   PAYGO          IVR ACTIVATION         ID          90012592492
3131246747B471   HEATHER        CULLINGFORD            NC          11047134674
3131267612B87B   CESAR          CHAVEZ                 ID          90013986761
3131329515598B   JAY            BLAKE                  CA          49022262951
31313759136B77   JENISE         BRAULT                 OR          44537447591
3131439815B281   KELSEY         WRIGHT                 KY          68050903981
313144AA67B471   EMILY          DIXOM                  NC          90011034006
3131453347B492   MARANDA        THOMPSON               NC          90014975334
31314726776B21   GASPAR         RAMIREZ                CA          90005507267
3131497617B471   SHANNON        HARRIS                 NC          90014609761
3131559387B492   KELLE          TALLMAN                NC          90015085938
3131596A836143   BELINDA        BARTAY                 TX          90014269608
3131598A841277   DONNA          WILSON                 PA          51080779808
31315A84891584   JUAN ENRIQUE   SILLAS                 TX          90014090848
3131614677B639   KARRIS         FRAZIER                GA          90008731467
313162A1941251   DENISE         MORRISON               PA          90005942019
31316311A2B835   JOSE           AVILA                  ID          90002833110
313167A8A77544   RUBICELLA      VALDES                 NV          90001507080
3131695115B393   CHARITY        WILLIAMS               OR          90013939511
31316A39591584   LEO            MANRIQUEZ              TX          90011540395
31317292A4B281   CHRISTOPHER    HEMBERTT               NE          90014012920
31317351572B76   PAMELA         SCRIVEN                CO          90002003515
3131943122B87B   TERI           RHODES                 ID          90013584312
31319AA8976B45   KENNETH        JOSEPH                 CA          46055030089
3131B65935598B   JERRY          MARTIN                 CA          90013966593
3131B677184378   LUIS           ZARAZAU                SC          90007296771
3132128A255949   WILLIAM        CARTER                 CA          49030232802
3132165A991831   CRISTINA       GUFFEY                 OK          21079486509
31321678A2B93B   MANUEL         PADILLA                CA          90013056780
3132177997B471   APRIL          COFFEY                 NC          90014767799
3132193A651369   MIKAYLA        OLDHAM                 OH          90013229306
31321A36272496   PAMELA         JOHNSON                PA          90006880362
31321A93491232   WILLIE         REYNOLDS               GA          14590160934
31321AA5A51369   CINDERALLA     TOLEDO                 OH          90013210050
31322621A91584   JAVIER         CAMACHO                TX          90005596210
3132323232B93B   CLAUDIA        MIRANDA                CA          45075792323
3132369862B835   STEVE          DAVID                  ID          90001996986
3132392A791232   CLIATON        DANIELS                GA          90010479207
31324346A4B281   JOANNE         CHIWENGO               NE          27033163460
313251A777B384   YANETH         ALVARADO               VA          81017211077
313258A868B16B   GAIL           FORTE                  UT          31085318086
3132637155B393   DAN            WATSON                 OR          44556863715
3132736272B93B   RICK           MARSHALL               CA          90015303627
3132786348B16B   MARINO         LOPEZ                  UT          90009818634
3132789427B639   RANDY          CARLSON                GA          90015028942
3132836268B16B   JULEE          HOKE                   UT          90008573626
3132838224B943   MICHAEL        MAYFIELD               TX          90002213822
3132887A441285   JOHN           MCGRATH                PA          51047348704
31328A4422B281   SIERRA         CUNNINGHAM             DC          90008290442
3132942A547931   CARLOS         UMANA                  AR          90006824205
3132969554124B   RANDIE         TRUMP                  PA          90012216955
3132B35145598B   VANESSA        OSEGUEDA               CA          90013653514
3132B3A6591371   DAVID          BERKLEY                KS          90015533065
3133258237B471   MYISHA         BURKETT                NC          90013485823
3133275747B639   NANCY          SANKS                  GA          90014307574
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3133299218B16B   LASHELL        GANDARA                UT          31001279921
3133329988B16B   DEIDRE         FERNANDEZ              UT          90011132998
3133346755B393   NEHIMA         CHAKISSO               OR          44505734675
31334639A31625   TOMARA         TREGO                  KS          90006606390
31335267698B21   DAVID          REYES                  NC          90006892676
313352A3777544   ANGEL          MEZA                   NV          43095652037
3133644898B162   RYAN           FORD                   UT          90010584489
3133683817B471   RENE           DIAZ                   NC          11009998381
3133786592B871   MARIA          RUIZ                   ID          42003908659
31337A62141258   DEANNA         HUNT                   PA          90013740621
31338263A84368   DARWIL         PRADA                  SC          90014182630
3133882158B16B   JUDE           CARUSO                 UT          31076228215
31338852572B76   CHRIS          STRATTON               CO          90000448525
31339215A41258   BETH           TERRANOVA              PA          51008092150
3133963292B93B   CECILIA        LOPEZ                  CA          45092146329
3133B116277544   CARMEN         HERNANDEZ              NV          90009481162
3133B31162B871   NIYER          ACOSTA DIAZ            ID          42038833116
3133B67485B281   TASHA          WHITE                  KY          90011566748
3133B67648B16B   AUSTYN         MILLER                 UT          90012756764
3133B693551369   JOSH           SMITH                  OH          90014846935
3133BA69572496   RUTH           MURPHY                 PA          90014030695
3134129718B162   HECTOR         BELTRAN                UT          31014842971
3134188327B471   JESSICA        JOHNSON                NC          11090638832
31341A98636143   ALEXANDRA      HALL                   TX          90013880986
3134283A191232   YVETTE         THOMAS                 GA          90010278301
3134299747737B   CHEILIA        EVANS                   IL         90012959974
313434A497B492   MARICA         MOSS                   NC          90013424049
31345367A36143   DESIREE        VALENZUELA             TX          90014853670
313462A5777338   TIFFANY        EDWARDS                 IL         90011602057
313463A367B471   MECHUL         YELDELL                NC          11051983036
3134665592B835   TAMILYNN       GARLOCK                ID          90001056559
3134666492B93B   BRIAN          LONG                   CA          90001366649
3134699A385944   PATRICK        BESSLER                OH          66042279903
3134739778B16B   WENDY          SMITH                  UT          90008673977
3134761577753B   OZZIE          VERNON                 NV          90012556157
31347A84351339   ANDREINA       ARIAS                  OH          90012390843
3134831287B639   RICHARD        WAGES                  GA          15074383128
3134844147B471   LATRINA        ANTLEY                 NC          90011034414
3134954997B471   CHRISTIAN      MENDEZ LOPEZ           NC          90014865499
3134967768B16B   DELORES        BITTON                 UT          90013436776
313496A477B492   SHAQUEA        WHITE                  NC          90014526047
31349844A91831   KELLEY         KOHLER                 OK          90013638440
31349AA2254165   TAWSHA         MCKINNEY               OR          47052530022
3134B198191831   JOIAN          CRAWFORD               OK          90001311981
31351A7457B851   AUBREY         GRAY                    IL         90015410745
313528A447B639   ANNETTE        THOMAS                 GA          90014308044
313532A835B52B   ANTONIO        CHAVEZ AMAYA           NM          35037602083
3135342672B281   CORNELIUS      WORLEY                 DC          90010554267
313535A652B835   WALTER         WESLEY                 ID          90014115065
313538A727B471   TIERRA         CAMP                   NC          90011268072
3135469688B16B   SERENA         RODRIGUEZ              UT          90013346968
3135491A672B76   TINIKA         ROBERTS                CO          90004269106
31354A9A191232   ANN            SELERS                 GA          90014830901
3135561544B281   GLORIA         HERNANDEZ              NE          90008896154
3135596332B835   KAREN          ALLEN                  ID          42095749633
3135684515B281   MARTIN         GUTIERREZ              KY          90009258451
31356956A2B835   JEAN           HOGLE                  ID          42030499560
313573A5455972   VIRGINIA       MONTOYA                CA          48075883054
3135787A991584   IVONNE         DE LUNA                TX          90010968709
31357A5725B393   ANDRES JOVAN   CASTRO GOMEZ           OR          90007030572
31357A6852B871   BONNIE         LITTLW                 ID          90007640685
3135818185B393   IRON           JONES                  OR          90007691818
3135859A54B281   JANARD         LEWIS                  NE          27031995905
3135874A754165   ANTHONY        CIOTTI                 OR          90011427407
3135879842B93B   JAMAL          FORD                   CA          90013447984
313589A855B52B   RICHARD        CANDELARIA             NM          90001499085
313593A2A91584   ISELA          INIGUEZ                TX          75020983020
313593A8484368   DAVIDA         WILLIAMS               SC          90011213084
3135969255B393   JODY           LEDOUX                 OR          90010016925
3135B549691359   ANTONIO        LOVE                   KS          90002485496
3135B635141277   AIMEE          WINKLER                PA          90013606351
3135B97974124B   WALTER         RAMOS                  PA          90009789797
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3136151615B393   REBECCA         GILBERTSON            OR          44515205161
3136169A336143   JULIO           BALADEZ               TX          90011146903
3136185137B471   SHEENA          BEACH                 NC          11003588513
3136191784B943   HANNAH          BODDEN                TX          76527799178
31361986372B76   ARIZBETH        TELLES                CO          33091519863
313619A955B52B   TONY            USHER                 NM          35001589095
3136212452B871   MANUEL          GARCIA                ID          90015481245
31362216A4B281   MARK            BAKER                 IA          27057892160
3136278638B16B   HANNON          STEVE                 UT          90008157863
3136331A75598B   AUDRE           LEWIS                 CA          90014793107
31363A11A7B471   ASHLEY          HARRIS                NC          90008850110
3136419A25B281   JOSEPH          THOMAS                KY          68090311902
31364218672B72   YADIRA          JUAREZ                CO          90013662186
3136513A14B943   LUIS            GARNICA               TX          90011831301
31365182A36B77   DAVID           ALMAZAN               WA          90014071820
313661A367B639   LATASHA         QUARTERMAN            GA          90014311036
3136719635B52B   PATRICIA        DELATRINIDA           NM          35017661963
3136723698B16B   ELVIS           DUPREE                UT          90011992369
31367468957B79   JAMES           KEARNS                PA          90014274689
313675AA784368   JULIO           HERNANDEZ             SC          90014355007
31367A4117753B   CYNTHIA         PRICE                 NV          90009250411
3136857417753B   MARCELA         DE LA TORRE           NV          90014005741
31368A2197B43B   JESSICA R       HEATH                 NC          11013370219
31369165A7B492   MASHONDE        FOX                   NC          90009821650
3136925725B281   WILLIAM         FUGATE                KY          68051042572
3136932557B639   TRINNEY         FLAKES                GA          90014613255
31369A79741277   CHRIS           GEISLER               PA          90007560797
3136B12354124B   LEA             EDMONDS               PA          90010521235
3136B135136143   ROMERO          JUAREZ                TX          90013591351
3136B394541285   ERICK           CHISOM                PA          90011923945
3136B547591831   LILLIE          FAULK                 OK          21005845475
3136B872A91371   MARIBEL         RODRIGUEZ             KS          90001768720
313712A3291831   ROBERT          WALKER                OK          90002992032
3137139A891232   JAMELLE         JACKSON               GA          90008313908
31371459A72496   KRIS            YOUNKIN               PA          51036964590
3137171122B87B   MOLLIE          ANTONNACCHI           ID          42064777112
31371943A91543   DENISE          GOMEZ                 TX          90008629430
313724A1A55972   ANTONIO         PARRA                 CA          90014774010
313729A3191371   ARMANDO         GUITIERREZ            KS          90008499031
313732A2936143   JOE             AGUAYO                TX          90008202029
313734A594B281   JULIO TEXIDOR   RAMOS                 NE          90013564059
31373775A55949   ALEJANDRO       REYES                 CA          90014717750
3137392295598B   ROBERTO         DE LEON               CA          90013119229
3137397745B52B   KARLA           TALAMANTES MARTINEZ   NM          90013319774
31373A86941285   SELENA          EANNETTE              PA          90012140869
3137425682B835   MIGUEL          LUNA                  ID          90012182568
313742A547753B   ROBERTS         LEE                   NV          43051132054
31375A22154165   DONAL           STOLL                 OR          47081840221
313792A8972B76   CALVIN          CUNNINGHAM            CO          33013762089
3137965137B43B   TIA             HORTON                NC          90004656513
3137B193155949   EVELYN          QUIROZ                CA          49004061931
3137B2A7577544   JUAN            LOPEZ                 NV          90010442075
3137BA35491584   MARIA           ROCHA                 TX          90006590354
3138182615B546   RICHARD         POUNDERS              NM          90004308261
3138247A82B835   ZOILA           LUNA                  ID          90012934708
31382AA4141285   NANCY           NOYOLA                PA          51093390041
313833A814124B   MILDRED         TYLER                 PA          51068573081
31383432A2B835   STEPHANIE       BENAO                 ID          90013984320
3138376568B16B   GABRIELA        SPIVEY                UT          31052347656
31384941A8B16B   KARILYN         TAYLOR                UT          90015259410
31384997A7B449   KING            DOOM                  NC          90013639970
3138568515B52B   JESSICA         TRUJILLO              NM          35063616851
3138742A241277   DAWN            TAYLOR                PA          90001914202
3138827495598B   VERONICA        V GARCIA              CA          49091252749
313888A778B16B   EDDIE           GALLEGOS              UT          31041528077
3138933257B471   CARLOS          OCHOA                 NC          90001033325
3138B233336143   DOMONIQUE       DAVENPORT             TX          90013582333
3138B774155949   STEPHANIE       TABALDO               CA          90014677741
3138B991591831   PAYGO           IVR ACTIVATION        OK          90014279915
31391AA735B52B   AMANDA          GARCIA                NM          90009160073
313924A7791584   BEATRIZ         GARCIA                TX          90012534077
3139258474B281   PATRICK         SHANNON               NE          27034675847
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3139317172B835   CHRISTINE    BARRIETUA                ID          90002811717
3139317894B281   ANDREW       SMITH                    NE          27051061789
3139329765B52B   ANASTACIA    BARELA                   NM          90012832976
3139339932B835   TAMMY        ROBISON                  ID          90007843993
3139432362B835   REBECCA      MARTINEZ                 ID          90010273236
313945A583B35B   ANDREW       WAYNE TRIGG              CO          33049755058
3139463A691371   MAYRA        JURADO                   KS          90010256306
31394A9972B871   JOHN P       AGUIRRE                  ID          90010870997
313951A5454165   AMIE         PATTISON                 OR          90012271054
3139551487B639   CHASTANEES   WARE                     GA          15089275148
31397A3255598B   BEATRICE     RAMOS                    CA          90007400325
31398274A51339   JAMES        BLACKFORD                OH          90007522740
3139841984B943   ELIZABETH    RUIZ                     TX          90011844198
31398944A8B16B   DUSTIN       MILLER                   UT          90013959440
313989A525598B   ROSELY       ARREOLA                  CA          90001229052
3139913275598B   DAISY        ARELLANO                 CA          90010751327
3139927638B16B   WILLIAM      COOK                     UT          90002282763
313992A7854165   DAVID        FLEHARTY                 OR          90014832078
313992A9A5B52B   ANNE         STEPANOVIC               NM          90012882090
31399686A7B492   TANAI        NIXON                    NC          90013506860
313997A8A55972   DAVID        GONZALEZ                 CA          48028407080
3139B667141285   GARY         BROWN                    PA          51048486671
3139B82A136143   RANDALL      WARD                     TX          90013698201
313B1453A2B93B   SAL          TAMKAL                   CA          90003414530
313B1457855949   REGINA       MIRELES                  CA          49037714578
313B1637591232   MARTELL      ROBINSON                 GA          90002116375
313B1A34A4B943   ISHIA        IRVINE                   TX          90009630340
313B2343684368   ERNESTINA    REYES                    SC          90004503436
313B235A961999   JESUS        GONZAZLEZ                CA          90011043509
313B2863255972   GUADALUPE    PAZ                      CA          90011418632
313B354A291584   VERONICA     MIRAMONTES               TX          75036605402
313B356A447931   RAQUEL       MORENO                   AR          25027855604
313B3817A72426   KELLEY       SHANNON                  PA          51098888170
313B397127B449   TRANSITO     SAVALA                   NC          90011909712
313B3A65891538   FELIZA D     GALINDO-INSURRIAGA       TX          75036200658
313B457874B943   KEITH        ZENO                     TX          90008825787
313B4659255972   ELIZABETH    MARTINEZ                 CA          90015266592
313B495658B16B   REBECCA      BITTON                   UT          90008129565
313B4A2667B449   LAURA        DOMINGUEZ ABRAHAM        NC          90013960266
313B5A9394B943   RICKY        BAILEY                   TX          90005000939
313B6698791584   GERARDO      CHAVEZ                   TX          90013946987
313B6721251369   IMELDA       VELSQUEZ                 OH          90011367212
313B678A141258   LAMONT       JOHNS                    PA          90008207801
313B681222B871   THOMAS       FREINWALD                ID          90014738122
313B694212B93B   NAOMI        PULIDO                   CA          45003199421
313B7178792886   GVISEL       MARTINEZ                 AZ          90014721787
313B7218581653   TINA         FANTROY                  MO          29080332185
313B77A162B835   KELLI        GEATES                   ID          42041937016
313B7879291584   SASHA ANN    ANSELMAN                 TX          90015018792
313B811932B87B   STANLEY      COURVILLE                ID          90010641193
313B8459972496   ROY          BLACK                    PA          51096034599
313B8723A9125B   TRENIA       BROWN                    GA          90010807230
313B8939877544   JOSE         PACHECO                  NV          90002749398
313B8A4154B281   PRICILA      FERGUSON                 NE          90006310415
313B9252651578   RANDALL      INGRAM                   IA          90014452526
313B959A197B21   JOSE         HERNANDEZ                CO          90005425901
313B972A88B16B   SHARRON B    FOWLER                   UT          31008317208
313B9949284368   EDRA         ORTIZ                    SC          90010419492
313B9989191584   MAYELA       ANGEL                    TX          90007639891
313BB17A484368   ALISON       HAYNES                   SC          90004501704
313BB297891881   NESTORE      LOPEZ                    OK          90011472978
313BB486136143   DEIDRA       WILLIAMS                 TX          90008794861
313BB572272B76   JOSE         GARCIA                   CO          90001665722
313BB871541285   MARK         NEMETH                   PA          51007648715
3141111834B281   TRACEY       MARSHALL                 NE          27030441183
3141117595B156   JORDAN       HAAS                     AR          23017221759
31411745A3B339   ANNETTE      MAXWELL                  CO          90008717450
3141185677B639   EZEQUIEL     CRUZ                     GA          90003848567
3141195488B162   MORTA        BORRELO                  UT          90006349548
31411A7745598B   ISAAC        YBARRA                   CA          90013030774
3141223942B93B   VIVIANA      AGUILERA                 CA          90015202394
31412591357B79   BARRY        SMITH                    PA          90015055913
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3141262A84B281   NICOLE          INCONTRO              NE          27049786208
3141283592B871   WHITNEY         SHAUGHNESSY           ID          90001428359
31412A7435B393   REY             MENDEZ REYES          OR          44515580743
31413A1A991584   EDUARDO         HERNANDEZ             TX          75095870109
3141412A472B76   PABLO           MARTINEZ              CO          33060871204
31414493A41285   CHARLES         COLLIER               PA          51013994930
31414529A77544   JUAN            CASTENEDA             NV          43072135290
3141459918B16B   ROBERT          BARNEY                UT          31091135991
3141465828B162   TERENCE         NIELSEN               UT          90014126582
314147A555598B   ANDREA          RICH                  CA          90011437055
3141514277B449   TWYLLA          MCHAIR                NC          90010871427
31415323A31424   MICHAEL         WELCH                 MO          90014843230
3141548185B281   BUMARO          ROBLES                KY          68084394818
3141552794B544   EDWIN           GONZALEZ              OK          90013365279
3141572168B162   CARLOS          TORRES                UT          90001787216
3141596655B393   JUSTINE         THIBEAU               OR          44510999665
3141627497B492   SUSSY           RODRIGUEZ             NC          90010762749
3141689AA84368   LUIS            ALMENDAREZ            SC          90005268900
3141693167B449   ANTHONY         GORDON                NC          11073739316
3141777882B871   MARGARITA       GONZALEZ              ID          90015497788
314188A9854165   PHIL            KUZNETOSV             OR          90014928098
3141922524B943   TINA            BENTON                TX          76569352252
3141925127B449   CARLOS          REMBENT               NC          90012692512
314193A1151339   NATASHA         MOLSTAD               OH          90014873011
3141959885B393   MICHAEL         CLARIZIO              OR          90004075988
314198A235598B   SERGIO TINOCO   ALBINO                CA          90004798023
31419A3232B835   SHEILA          SCHOFIELD             ID          42088060323
3141B741591371   ARTHUR          EASERWOOD             KS          90012397415
3141BA3245B156   CHRISSYE        ESKEW                 AR          23069870324
3141BA63A7B471   TAROD           RATLIFF               NC          90014750630
3142199632B93B   MATHEW          GOSLING               CA          45096689963
31421A12A8B162   JESSICA         SMITH                 UT          90012770120
314222A387B471   LONNIE          MITCHELL              NC          90013192038
31423613A7B639   JESUS           RUIZ                  GA          90002466130
3142376242B93B   SERGIO          TORREZ                CA          45039437624
3142386735598B   SABRINA         SERVANTES             CA          90001278673
31423974A5B393   CHARLES         NANCE                 OR          90012389740
31423AA627753B   NATALIE         AQUINO                NV          90013680062
3142432747753B   MARYLANDER      TALLEY                NV          90011393274
31424738A8B162   MARIA           RODRIGUEZ             UT          31049417380
3142483852B871   PU              AH                    ID          90011928385
3142521435B156   DOILE           BRADLEY               AR          23043802143
3142571762B835   JORGE           RUIZ                  ID          90014707176
3142623315598B   AIOTEST1        DONOTTOUCH            CA          90015122331
31426668A91831   KATRINA         JOHNSON               OK          90010466680
31426A12A72496   LARRY           SCOTT                 PA          90011190120
31426A35761559   FRANKITA        DAVIS                 TN          90008300357
314273A377B471   DANIEL          SALGADO               NC          11076813037
31427456A41258   JESSICA         MORRIS                PA          90011414560
314276A5977544   DANIEL          JULIAN                NV          90014136059
3142899455B393   MARGARET        COOK                  OR          90013939945
3142992A141285   CARRIE          KADUCK                PA          51074129201
3142B467677544   MIGUEL          CHAVEZ                NV          90013854676
3142B68A17B359   ADAMA           KANU                  VA          81010686801
3143166A785933   LUCIA           PARKS                 KY          90006346607
31431A81691584   IRMA            CABRERA               TX          90002560816
314333A427B492   BRANDY          WORLEY                NC          90010333042
3143367365B281   JUAN            GOMES                 KY          68005716736
31433A44855972   SIRDEY          ISNA                  CA          48007960448
3143446997B449   MARCELLA        STEELE                NC          90012874699
31434734A7B639   CAROLYN         WILLIAMS              GA          90008387340
314351A345B281   LAURA           RIKER                 KY          90014631034
31435883A51339   AARON           WILDER                OH          90013278830
31435928172B76   TOMI            WRIGHT                CO          90002879281
31435A8A45B281   LAURA           RIKER                 KY          90010250804
3143619175B393   MEGAN           HANNER                OR          90012081917
314362A875598B   JORGE           MORENO                CA          90009692087
3143632222B93B   SARA            RODRIQUEZ             CA          90014993222
3143729765B52B   ANASTACIA       BARELA                NM          90012832976
3143754327B471   VINCENT         JONES                 NC          90011535432
3143786A754165   DONNA           GILLILAND             OR          90011358607
31437A3978B16B   LORNA           CAZARES               UT          90014600397
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31437AA8277544   JESSE        OLIVERES                 NV          90015390082
3143815755B52B   JOLIE        SIMMONS                  NM          90014531575
314389A165B156   JAMEEL       AKBAR                    AR          23064939016
3143963512B87B   GUSTAVO      MELENDEZ-RIVERA          ID          90014436351
314398A4555949   ANA          CARDONA                  CA          90004468045
31439A8945B52B   PATRICIA     ESTRADA                  NM          35010670894
3143B71A151339   BOBBY        LEE                      OH          66074557101
3143B96A47B449   YVONNE       CAMPBELL                 NC          90009539604
3143BA52A72496   JENNIFER     COBIN                    PA          90011390520
3144119977B639   ANTHONY      COOLEY                   GA          90005051997
31441424A5B52B   MAGDALENA    VERGARA                  NM          90010934240
3144166562B87B   TINA         MEREDITH                 ID          42084126656
31441A39577544   SUSANA       ORTIZ-RAMIREZ            NV          90002110395
31441A92941277   TIFFANI      MILLER                   PA          90010430929
3144235A551347   DANETRA      WILLIAMS                 OH          90008553505
3144242627753B   VICTORIA     GARY                     NV          43082814262
3144268129125B   PATRICK      JACKSON                  GA          90006646812
3144274187B639   ANITA        LOTT                     GA          90014617418
3144343697B471   SHAGAREAN    BAKER                    NC          90011204369
31443AA675B393   SANDRA       COLBERT                  OR          90012840067
3144432987753B   TAMMY        MONTERO                  NV          43091113298
3144446537B639   JANIYA       BORSEY                   GA          90012524653
31445216972B2B   PEDRO        GUTIERREZ                CO          33090612169
3144551942B87B   DIEGO        SOTELO                   ID          90006225194
3144646595B52B   MARIO        RAMIREZ                  NM          90009844659
31447914A5B281   MARK         WILLIAMS                 KY          90013749140
31447A33455972   ENANG        SEE                      CA          90012580334
3144912655B52B   BERNADETTE   ZAMORA                   NM          90004991265
3144917837B492   SELENA       HENSLEY                  NC          90004891783
3144977944B943   SERENA       RUBIN                    TX          90010887794
3144989A651339   KRISTY       MARCUM                   OH          90014768906
31449992A3B161   SHEDRICK     BECKS                    DC          90013459920
3144B2A9791584   JUAN         MOLINA                   TX          90006922097
3144B68A87B471   FERDINAND    JOHNSON                  NC          90001096808
3144B861A5B393   DAN          DRASBEK                  OR          90007698610
3144B991547931   AMANDA       CARSTEN                  AR          90012239915
3144BA15941258   ANDREW       DICKEY                   PA          90012370159
3145164342B87B   CHEYENNE     GRENINGER                ID          90011406434
3145184A67B639   LACEY        JOHNSON                  GA          90014618406
31451A17A2B93B   JERAME       FUNK                     CA          90009640170
3145211882B93B   RACHEL       MAZZARIELLO              CA          90013671188
31452518A4B281   GUY          BROWN                    NE          27091905180
3145271137753B   AUNU         ROBINSON                 NV          90011867113
3145279848B162   ANDREW       THOMPSON                 UT          31017447984
3145313468B16B   MARIA        CASTANON                 UT          90014721346
3145324365B156   MIGUEL       MARTINEZ                 AR          23060792436
31453353A5B591   ANNA         CHACON                   NM          90013253530
3145344372B93B   CARLOS       MARTINEZ                 CA          90015324437
31454649A2B87B   CLOYD        KASPER                   ID          42011576490
314554A278B16B   TARA         WENTLAND                 UT          90012084027
3145595727B639   TAYLOR       WILLIE                   GA          15035689572
3145611845B393   ANGELA       BEAUDOIN                 OR          90010511184
31456223A2B93B   TY           CUMMINS                  CA          90013352230
3145684645B52B   HUGO         GONZALEZ                 NM          35092758464
314574A427B449   ARACELI      CASTRO-ESPINOZA          NC          11073964042
3145757A272B76   JESUS        RIVAS                    CO          33047795702
314577A6777544   JUAN         CACHO-HERNANDEZ          NV          90014787067
314579A5151339   WILLIAM      SILVA                    OH          90013559051
3145813325B281   MONTEZ       MCCRARY                  KY          90001101332
314581AA747931   DANNY        MCGARRAH                 AR          25040341007
3145829677B492   SILVIA       MORGAN                   NC          90014942967
3145848317B851   MONIQUE      MYLES                     IL         90008204831
3145B33A47B492   FANT         MENDEZ                   NC          90006843304
3145B65445B52B   RAFAEL       NIETO                    NM          90008156544
3145B75A891831   FOSTER       KATELYN                  OK          90008247508
3146138A154165   ANGLIA       ESTAGIN                  OR          47036733801
314622AA931424   ANGELA       NELSON                   MO          90014542009
3146233317B471   LINDA        HASKINS                  NC          11092063331
3146252512B871   LAURA        CRUZ                     ID          42021415251
3146262427B449   JWAN         ROBINSON                 NC          90009986242
3146328292B93B   CYNTHIA      WILLIAMS                 CA          90013282829
31463A2137B471   KRISTEN      LOVE                     NC          90014800213
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1567 of 2500


3146431497B639   DAVID       FRANKLIN                  GA          15078823149
3146485425598B   PORSHA      SMITH                     CA          90007348542
31464A3492B87B   JOHN        JANKOWSKI                 ID          90015060349
31464A3A67B492   HUGO        LOPEZ                     NC          90009530306
31465A1917B449   TOMMY       HEAVNER                   NC          90013750191
31465A39691831   JUILIA      ACHMETOV                  OK          90008640396
3146669A38598B   JAMES       RISTER                    KY          90013236903
3146694485B52B   DEVIN       ROGAN                     NM          90012659448
31466A64891584   DESTINTY    CEJA                      TX          90013000648
31466A7712B93B   TANYA       CARTER                    CA          90014560771
3146733515598B   ADRINA      VARGAS                    CA          90013023351
3146743694B281   DEWANNA     SMITH                     NE          90014374369
3146764A75B557   JUAN        GRIJALVA                  NM          90002646407
3146796755B52B   KIPP        MOORE                     NM          90009809675
3146822172B93B   MARTHA      ROCHA                     CA          90003942217
3146855938B16B   EDDIE       MARTINEZ                  UT          90014375593
3146863618B162   JOSE        FERNANDEZ                 UT          90014016361
3146893A48B157   LEWIS       CLEAVELAND                UT          31069349304
314692A885B365   RAINER      WILD                      OR          90009472088
3146935617B471   ANGELA      MCHAM                     NC          90011493561
3146935854B943   LUCY        PEACOCK                   TX          90005983585
314696A568B16B   EUGENNE     SMILEY                    UT          31045826056
3146B23315598B   AIOTEST1    DONOTTOUCH                CA          90015122331
3146B525655949   BRUCE       ANDERSON                  CA          49081785256
3146B612272496   MATTHEW     CIAMPANELLI               PA          51060856122
3146B697651369   TAMARA      SCRATCH                   OH          90012796976
3147117A291371   ROSENDO     VASQUEZ                   KS          90012401702
314711AA77B449   GLORIA      GALLARDO                  NC          90013031007
3147171777B434   MARIA       INIGUEZ                   NC          90014507177
3147181415598B   ASHLEY      JONES                     CA          49091418141
3147253428B16B   RUBEN       ARREDONDO                 UT          90007625342
3147274637B639   TONY        GRIFFIN                   GA          90011647463
31472A25536B77   ARMANDO     HERNANDEZ RELLES          OR          44542090255
3147433412B835   DAVID       SANTOS                    ID          42029493341
3147439132B871   ANN         MCLAUGHLIN                ID          90014953913
3147476447B449   TONY        WALKER                    NC          90013207644
31475345A55949   CELESTE     HERRERA                   CA          49052483450
3147575294124B   MALLORY     BOGGESS                   PA          90000257529
31475752A54165   JAMES       COX                       OR          90012817520
3147699532B835   STEVEN      MOCABY                    ID          90015289953
31476A23991584   GONZALEZ    VALERIA                   TX          90011680239
3147756595598B   MARIA       JAURIQUI                  CA          90013915659
314776A327B492   ALMA        CASTRO                    NC          11068306032
3147785652B87B   JIM         JOHNSON                   ID          90012298565
31477A62491584   NORMA       CONTRERAS                 TX          90011540624
31477A85541277   BRITTNEY    CHRISTIAN                 PA          90013390855
3147885347B471   LSUNNIA     WOODLEY                   NC          11033068534
314791AA172B76   RON         NETTLES                   CO          33050421001
3147B33392B835   JANE        VAN DOREN                 ID          90012383339
3147B658336B77   SANDY       MEZA                      OR          90004106583
3147B865172B37   HEATHER     FRANK                     CO          90010828651
314813AAA36143   RAMIRO      DELEON                    TX          73580823000
3148151A37B639   CHEVETTE    MARSHALL                  GA          90014625103
3148186687753B   BIANCA      MARTINEZ                  NV          90011388668
31481A59591584   ABIGAIL     LOPEZ                     TX          90013840595
3148287552B93B   BEATRIZ     FUENTES                   CA          45094208755
3148323A98B16B   SANDRA      BARRAZA                   UT          90010382309
3148341988B162   MITCH       STODDARD                  UT          90014024198
31483A22891952   ISHAWN      SHOULDERS                 NC          90009750228
3148498187B639   BRITANNY    STURGIS                   GA          90014319818
31484A63891584   SAMBULA     RICARDO                   TX          90011540638
3148639725B52B   CHELSEA     CANFIELD                  NM          35003673972
314866A9A41285   DENNIS      CARINI                    PA          90014756090
3148699592B871   RUBEN       ESTRADA                   ID          90014079959
3148776A391831   WILISA      STOKES                    OK          90011137603
31487A8572B835   AMANDA      MARTINEZ                  ID          90003150857
31488542A77544   LAURA       ROSENBURG                 NV          43083715420
3148868665B393   GAI         HUGHES                    OR          90014996866
3148894457B471   ALVARO      PEDROZA                   NC          90008639445
31488A78961962   ALMA        MONTES                    CA          90008340789
3148938127753B   ANTONIO     DIAZ                      NV          90010773812
3148951A377544   TIMOTHY     MARTIN                    NV          90015385103
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3148997185B52B   PAULA               JACKSON           NM          35082079718
3148B775491584   MANNY               RUBIO             TX          90013947754
3149131662B221   MARLENE             JOHNSON           DC          81000993166
31491323A31424   MICHAEL             WELCH             MO          90014843230
31491469A36143   BRANDON             PEEL              TX          90013124690
3149171298B162   AGUSTIN             ESTRADA           UT          90014867129
31492748A91531   GABRIEL             TERRAZAS          TX          90001107480
31492754A54165   SARA                POWELL BUTRICK    OR          47055187540
31492932372B2B   JUSTIN HAREL        MACK              CO          90005599323
3149315314B281   KHALID              MEHMOOD           NE          90011831531
3149331622B835   DANIEL              GONZALES          ID          90011403162
3149364185B281   LEEDRA              DICKERSON         KY          90008316418
3149426795B52B   CARLOS              LOPEZ             NM          90009752679
3149434587B471   DESEANTE            THOMPSON          NC          11073733458
3149446542B93B   JESSE               IBARRA            CA          90015444654
314957A5191363   SARAY               OSORIO            KS          90008777051
314959A417B449   KENNETH             JONES             NC          90012889041
3149669367B449   ISABEL DEL CARMEN   AMAYA             NC          90014196936
31497357A7B471   ANELY               VELASQUEZ         NC          90014103570
31497A78141277   WALESKA             TORRES            PA          51095260781
3149815A42B87B   JUAQUIN             CHAVEZ            ID          90013431504
3149841A284368   BLANCA              PEREA             SC          90006494102
3149843265598B   YOLANDA             GALINDO           CA          90000374326
3149858237B471   MYISHA              BURKETT           NC          90013485823
3149874272B871   BRANDON             BJORNN            ID          90015117427
3149983A391371   VICENTE             SANDOVAL          KS          29061948303
3149993A45B281   MARY                RIOS              KY          68050769304
3149B114455972   CHRISTOPHE          MAESTAS JR        CA          48001161144
3149B15A141285   ROBIN               HATTEN            PA          90008861501
3149B879151339   TIERRA              MARSHALL          OH          66007018791
3149BA6A24124B   JANICE              MCCLUNG           PA          51093940602
314B139585B52B   RUBEN               JAIME             NM          35052603958
314B144887B471   PANSY               SMITH             NC          90014064488
314B147127B471   BRITHNEY            BROOKS            NC          90011034712
314B1A43891831   ELIZABETH           ROJAS             OK          90014120438
314B218147B449   JUAN                BARRERA           NC          90015321814
314B246472B87B   BRENDA              WILLIAMS          ID          90013964647
314B3276491549   JAVIER              ALFARO            TX          90011992764
314B3417A77544   RICHARD             PERRONE           NV          90015424170
314B3991872496   LOIS                JACOBS            PA          51051649918
314B4216972B2B   PEDRO               GUTIERREZ         CO          33090612169
314B486939156B   PADILLA             JORGE             TX          90009548693
314B4892172496   VICKIE              FISHER            PA          51093178921
314B532258B15B   JENNIFER            CORSI             UT          31016773225
314B5368691371   LESLIE              SOTO              KS          90003703686
314B5437157173   KENNY               ANDRADE           VA          90011654371
314B5589593761   KAMNY               PAYNE             OH          90013345895
314B577662B835   JAVIER              MATA              ID          90013427766
314B618915B281   PATRICIA            CONAWAY           KY          90008571891
314B625512B93B   LAURA               SANDOVAL          CA          90011402551
314B6323941277   JACOB               JONATHAN          PA          90001473239
314B651615B52B   DAYNA               BACA              NM          90012585161
314B6526155972   PRECIOUS            HAMPTON           CA          90012885261
314B665138B16B   ADDISON T           REES              UT          90012296513
314B6919151369   ALBERTO             ENIESTA           OH          90012869191
314B6983A2B835   KEN                 CLARK             ID          42079369830
314B76A8691584   ALEJANDRO           PAGES             TX          90008676086
314B7865241277   JOHN                THOMA             PA          90013958652
314B854935B52B   NICOLE              ROACH             NM          90013775493
314B8627672496   VANESSA             PARSONS           PA          51001376276
314B8924491881   PAMELA              DE LA BRUERE      OK          90007639244
314B8A9435B393   JON SCOTT           CARMICHAEL        OR          90010480943
314B9236291831   JESUS               MOLINA            OK          21065302362
314B9313977544   HEATHER             BLANTON           NV          90015013139
314B9586591584   ORALIA              RAMOS             TX          75054195865
314BB672391232   JAVON               BUSBY             GA          90011926723
314BB8A7441258   DON                 HOWELL            PA          90013528074
314BBA23855972   SAMANTHA            CASTRO            CA          90002300238
314BBA7697753B   RANDY               BARTEL            NV          43050390769
315116A442B93B   AYAD                ZAIYA             CA          90003236044
315124AA951369   ED                  COMBS             OH          66086544009
3151262144B989   TERRENZE            CANTUE            TX          90001326214
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3151276A12B871   JASON       LINDQUIST                 ID          90002827601
31512A4AA93744   DUSTY       IRVIN                     OH          90012520400
31512AA7498B25   RODNEY      REDFEARN                  NC          90002150074
3151316A155949   JESSE       LOPEZ                     CA          49091451601
3151319A491537   VERONICA    FLORES                    TX          75094421904
31513A6765B52B   MARISOL     GUTIERREZ                 NM          35085680676
3151425525B52B   KIMBERLY    CHIWEWE                   NM          35028522552
3151452362B835   DAVID       SUMMERS                   ID          42009355236
31514937A41258   TIMOTHY     THOMAS                    PA          90014599370
31514986A31424   LESLIE      PHILLPS                   MO          90015149860
315149A3991554   RUBEN       URANGA                    TX          90003509039
3151519A68B162   NICOLE      ROBISON                   UT          31003721906
31515618176B7B   KAREN       WINN                      CA          90000966181
31515741A47931   CHAROL      KELLY                     AR          90013607410
3151587625B281   DOMINGO     ROJAS-GOMEZ               KY          90010938762
315159A1591371   ANGELA      BARKLEY                   KS          29015139015
31515A34872455   GINNY       FRAZIER                   PA          51031900348
31515A75577544   MARIA R     PADILLA                   NV          90010770755
31516231A8B494   LORETTA     SCOTT                     NC          90011852310
3151625445598B   JORGE       GARCIA                    CA          90009812544
3151658A35B393   DENNIS      TURNER                    OR          90012325803
3151734385B281   RONDA       TAYLOR                    KY          68050763438
31517A77191584   RICARDO     QUINTANA                  TX          90014400771
3151816A551339   CHRIS       MCINTOSH                  OH          90009671605
315187AA236B77   MARCO       MARIN                     OR          90010457002
3151947875598B   LILIA       REYES MARTINEZ            CA          90007554787
3151961A731424   FRED        REED                      MO          27579876107
3151967AA4B544   TERESA      SAMS                      OK          90008946700
315199A4572496   WARREN      SISCO                     PA          90009759045
31519A68541277   ASHLEY      STOKES                    PA          51069910685
3151B15543B35B   DANIEL      CHAVEZ                    CO          90012991554
3151BA3735B59B   FELECIA     VALDEZ                    NM          90014070373
3152117424B943   KEASHUN     WALKER                    TX          90002551742
31521A2232B93B   VALERIE     ZAMORA                    CA          90013740223
31521A7272B835   THOMAS      FREINWALD                 ID          90014710727
3152223322B835   CRYSTAL     VAZQUEZ                   ID          90014272332
3152294344124B   MATTHEW     MEERDO                    PA          90010999434
3152356365B281   BRITTANY    BROWN                     KY          68095805636
3152371147B639   TONIA       FRYNE                     GA          90014627114
3152426357B471   TONYA       WHITE                     NC          90002062635
315246A3141277   HARRY I     BECHTOL                   PA          51069076031
3152475397753B   LUIS        VALENZUELA                NV          90013367539
3152486998B162   LAUREANO    ARELLANO                  UT          31046058699
3152532819379B   SHANNA      GILLIAM                   OH          90003673281
3152628447B639   MELANIE     BROWN                     GA          90005482844
3152658A17B471   EDWIN       RUIZ                      NC          90011535801
31526A83272496   MELISSA     HILL                      PA          90014700832
3152733165598B   MARIE       MACIAS                    CA          90006783316
3152748185B393   ROSAMARIA   ESPINO ABURTO             OR          90012264818
315281A885B393   MONICA      ALLOTEY                   OR          44508211088
31529687A5598B   FRANK       HERNANDEZ                 CA          49012296870
3152988982B87B   MAEGAN      WILSON                    ID          90014398898
31529A5132B871   ISREAL      MONTIEL                   ID          90013930513
3152B737791584   CESAR       HERNANDEZ                 TX          90014887377
31531581A2B93B   ERNESTO     GARCIA                    CA          90011385810
3153171A455949   LETICIA     SALINAS                   CA          90009097104
3153185AA7B639   NAOMI       WEBB                      GA          90014628500
315322AA42B871   STEPHANIE   GUARDIOLA                 ID          90013852004
3153252317753B   PEDRO       AGUAS                     NV          43006805231
3153357975B281   DONNA       BONDS                     KY          90009685797
31533A4337B471   RAVEN       HARPER                    NC          90014510433
3153428657B639   JAMES       THOMAS                    GA          15074272865
315357AA891584   REECE       CRUSOE                    TX          90013967008
31535A53284368   JORGE       RAMIREZ                   SC          90006480532
3153621548B16B   SHEA        BREHM                     UT          90012142154
3153656A15598B   DIANE       GOMEZ                     CA          49093505601
3153735162B87B   MARLEE      KELDOW                    ID          42017063516
3153748314B281   MARIEA      MEIER                     NE          90012294831
3153827A87753B   ALEJANDRO   VALENCIA                  NV          90010372708
3153918414B943   AARON       SAM                       TX          76563921841
31539A5A572B76   JUAN        SILVA-SOTO                CO          33076670505
31539A78431621   BRANDON     LABARGE                   KS          90004360784
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3153B37422B835   JAMES       COPELAND                  ID          90001783742
3153B41387753B   SALESH      JATAN                     NV          90007664138
3153B64972B871   LYNDA       COLLINS                   ID          90013976497
3153B67578B16B   AUSTIN      RICHARDS                  UT          31045386757
3153B862891232   CHRIS       WILLIAMS                  GA          90012308628
3153B881177544   DANIELLE    HON                       NV          43053278811
3153BA5842B871   ALEJANDRO   MARTINEZ                  ID          90013930584
3154111282B835   JAVIER      BALADEZ                   ID          90013431128
3154155A755949   EFREN       SOTELO VALDOVINOS         CA          90001685507
3154179314B943   SARAH       FURTAW                    TX          76509207931
3154188668B16B   GUSTAVO     REGUS                     UT          90014778866
3154285812B835   ALFREDO     LOPEZ                     ID          42006328581
3154314945B398   SHANE       PRYCHUN                   OR          90009851494
3154414945B398   SHANE       PRYCHUN                   OR          90009851494
3154432152B835   JOHN        CONTE                     ID          90004253215
3154458734B281   JEREMY      PASCALE                   NE          90012205873
315451A127B449   Q           DOUGLES                   NC          90013721012
3154523572B93B   STEPHEN     MANDLER                   CA          90013752357
3154632918B16B   RODOLFO     TREJO                     UT          31018463291
3154678917B471   LOUVENIA    BRANT                     NC          90013237891
31546A2365B393   BREANNA     MARSHALL                  OR          90012950236
3154714577B639   RODNEY      PETERSON                  GA          90009861457
31548651A55949   ANDREA      FERNANDEZ                 CA          90009176510
3154865624B281   BRYAN       RUIZ                      NE          90012716562
3154876772B242   JOSEPH      SMITH                     DC          90012777677
3154923762B835   MEGAN       GALLIVAN                  ID          90009842376
3154999A291371   NANCY Y     ESQUIVEL                  KS          90004819902
315499A678B16B   DUANE       SIMMONS                   UT          90013289067
3154B19555B156   EDWARD      GREEN                     AR          23011411955
3154B362255972   HELIA       ALEXANDRE                 CA          90009443622
3154B518391232   BRANDY      WATTS                     GA          14571525183
3154B7A2881642   BRADLEY     WRIGHT                    MO          29001787028
3155115527B639   SONYA       RANSOM                    GA          90014631552
3155139955B393   JESSICA     OLIVER                    OR          90003193995
31551426A91831   RANEE       MCCAUSE                   OK          21020874260
31551723A72B76   GREGORIO    BENAVIDES                 CO          90002527230
3155221982B93B   DASY        BOUTDY                    CA          90011442198
3155224335598B   HANBERTO    BERDUGO                   CA          90014242433
3155236977B471   MERIDA      MERIDA                    NC          90008193697
3155279582B835   CLINT       WHITE                     ID          42042827958
3155289A65B393   CARLA       VAIDA                     OR          90011958906
3155542A185688   SHAWN       BARNES                    NJ          90001524201
3155584724B281   JORDAN      WICHERT                   NE          90014228472
3155649234B943   ADAM        DUCOTE                    TX          90005014923
3155776A82B835   MARIA       ESCOBAR                   ID          42073627608
31557AA4754165   KEVIN       LENHART                   OR          47076710047
315583A8431424   ANGELA      DAVIS                     MO          90007733084
3155885AA5B52B   DANIEL      ESTRADA                   NM          90005388500
3155932167B449   YOFINES     AGUILAR                   NC          90015093216
3155944AA77544   APRIL       WILSON                    NV          90015564400
3155948795B393   LEEANNE     CHAVEZ                    OR          44552764879
3155973A15598B   MARK        MONTAYA                   CA          49000477301
31559987A7B639   DEBRA       ALLEN                     GA          15085949870
3155B733941258   MATT        TRAPUZZANO                PA          90000017339
3155B97564124B   KRIS        MYDEN                     PA          90010029756
3155BA99631424   DOMANAQUE   WALKER                    MO          90010780996
3156115835598B   CRISTINA    VAZQUEZ                   CA          90013851583
315614A245B52B   KARENNINA   RAFAEL                    NM          90009094024
3156326AA7B449   ARCHIE      JACKSON                   NC          11065732600
3156338742B835   FRANCISCO   VALENCIA CHAVEZ           ID          42052933874
31563A3A993772   GEORGE      ROEBUCK                   OH          64514820309
3156483187B471   JOESATTER   SMITH                     NC          90013278318
31565469A5B393   CORY        SCHOFIELD                 OR          90013554690
3156587672B93B   FRANCISCO   AGUILAR                   CA          90015208767
3156625A37753B   ROBERT      NIELSEN                   NV          43092222503
315663AA331432   ASHELY      BARSH                     MO          90006983003
31566514A8B162   DEBRA       CUSTOMER                  UT          90015025140
31566A77A55949   ROSA        RAMIREZ                   CA          90014770770
31566A94331424   JANICE      FOWLER                    MO          27578370943
3156726512B93B   AMANDA      DESOUZA                   CA          90012572651
3156742822B87B   DAYNA       SLUDER                    ID          90010664282
31567922A7B471   ULISES      GONZALEZ                  SC          90013689220
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3156875795B52B   JUDITH      LOZANO                    NM          35055657579
3156879117B471   ASHLEE      CADOGAN                   NC          90015107911
31568A36272496   PAMELA      JOHNSON                   PA          90006880362
31568A65991584   ANTONIO     RUBIO                     TX          90012780659
3156943162B835   NICOLE      NIETO                     ID          90009464316
3156967755B393   JESSICA     GUFFEE                    OR          90011906775
31569A33A57599   REYES       CRISTEL                   NM          90007880330
3156B297491584   RAYMUNDO    SIMENTAL                  TX          90012962974
3156B37365598B   RACHEL      VALDIVIA                  CA          90014823736
3156B4A298B16B   JAMES       WHEELER                   UT          90007334029
3156B86312B835   RAFAEL      GARCIA-GONZALEZ           ID          42069028631
3156B983554165   REBECCA     MACHADO                   OR          90012839835
3156BA96257569   EDDIE       DELOSSANTOS               NM          90014590962
3157133A62B871   SANDY       ROBISON                   ID          42075253306
31571716236B77   FRED        QUALLS                    OR          90014357162
3157213A27B471   SA JARTON   CAMP                      NC          11098991302
3157261138B162   TINA        THOMAS                    UT          90012916113
3157298475B393   VIRGINIA    BRIGGS                    OR          90009809847
315741A8791831   RESHONDA    DAY                       OK          90014411087
315746AA65B393   AMY         STROM                     OR          90002566006
3157551518B162   CLAUDIA     TACHIQUIN                 UT          31041145151
31576555A41285   SHAQIUAN    TYLER                     PA          90002095550
3157668514B943   DEWEY       VAUGHAN                   TX          76564846851
3157689718B162   JASON       BULLOCK                   UT          90005218971
3157753288B162   LAKIN       YANEZ                     UT          90015195328
3157761978B16B   JOHN        DE ANDA                   UT          31072466197
315776A425598B   CHRISTINA   MORALES                   CA          90015306042
3157811425B52B   ESTHER      QUEZADA                   NM          90014161142
31578869A4B943   CAROL       LEEN                      TX          76527808690
315789AAA72496   ROB         MINCIN                    PA          90013589000
3157B69285B393   CARMEN      LEMUS-MARTINEZ            OR          90014856928
3157B738241285   LORNA       BROOKS                    PA          90003887382
31581142A5598B   LIZETTE     RODRIGUEZ                 CA          49078481420
3158155748165B   KEVIN       MITCHELL                  MO          90009155574
315819A4251369   ROBERT      FARRELL                   OH          90007999042
31581A32191831   HELEM       AGUILAR                   OK          90011900321
31581A7458433B   MICHEAL     PECK                      SC          90003500745
315824A2141277   KEYA        WARREN                    PA          90012944021
3158319762B87B   DANIEL      AFLETT                    ID          90014531976
3158386915598B   DOMENICA    BARRIOS                   CA          49019558691
3158414737753B   JOHN        JOHNSON                   NV          90009321473
3158441A136B77   NICOLE      MC BRIDE                  OR          90010904101
315849A825132B   RACHEL      SMITH                     OH          90011999082
3158528552B871   KEITH       WHEELER                   ID          42006332855
3158529AA7B429   CARLA       YOUNG                     NC          90006432900
3158541A136B77   NICOLE      MC BRIDE                  OR          90010904101
31585AA264B954   MELANIE     NED                       TX          90009530026
31586121A4B281   STACY       CARABANTES                NE          90002881210
3158621692B93B   REMI        KERN                      CA          45059092169
31586A9177753B   DOUGLAS     ESTRADA                   NV          90013680917
3158749A12B93B   RYAN        SAWYER                    CA          90012464901
31587A79191584   RAMONA      COREA                     TX          90007190791
3158812535B393   TINO        FARNUM                    OR          90014831253
3158877AA4B559   MANUEL      MORFIN                    OK          90012557700
315892A4991232   DARLEEN     RUGER                     GA          14575632049
3158B91A57753B   MERCEDEZ    CARILLO-GONZALEZ          NV          43050879105
3158BA72141285   LOUISE      SMITH                     PA          90011840721
315916A5791584   ROSA        GURRA                     TX          75091126057
3159172275B393   WENDY       WEST                      OR          44579717227
31591A4195B52B   MARIO       RIOS                      NM          35059350419
3159284248B16B   SOFIA       CAMPOS                    UT          90012638424
3159288362B93B   SUSIE       MOJICA                    CA          45006808836
3159297A77B639   SOPHIA      MADISON                   GA          90014639707
31592A4135B281   LIZ         HAZARIAN                  KY          90008780413
3159413A45B393   RICKY       HEAGLE                    OR          90011311304
31594281A72496   DARLENE     POUNDS                    PA          90014702810
3159438572B93B   NELSON      GUTIERREZ                 CA          90012833857
3159446712B93B   NELSON      GUTIERREZ                 CA          90013264671
315944A6951339   ELIZABETH   FRANZ                     OH          90008184069
3159463A291584   MELISSA     VERDUZCO                  TX          90009166302
3159464232B93B   NELSON      GUTIERREZ                 CA          90013476423
3159495665B52B   AMY         SERRANO                   NM          35088629566
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31594A2332B93B   NELSON      GUTIERREZ                 CA          90010390233
3159542657B449   CYNTHIA     HAUENSTEIN                NC          90014584265
3159568637B471   JASON       HOSLEY                    NC          90015206863
3159632318B16B   ADRIANA     PEREZ                     UT          90004743231
31596A21591831   PAULETTE    FOSTER                    OK          90007630215
31596AA6555972   BILLY'S     DRYWALL                   CA          90007950065
315973AA151339   MISTI       CARTER                    OH          90014923001
3159794965B52B   ALEJANDRA   MARQUEZ                   NM          90006419496
3159795287753B   SHAUNA      ISRAEL                    NV          90006769528
3159879A391584   ERICA       HERNANDEZ                 TX          90014847903
3159891825B281   ERIKA       GLENN                     KY          90012619182
31598A17377544   MARIA       HERRERA                   NV          43079210173
3159922155B52B   MARIA       ANGEL                     NM          35048452215
31599438536B77   HERLINA     MOLENS                    OR          90012724385
31599A64451369   DANYALE     MARSHALL                  OH          90006590644
31599A92291371   JUAN        PEREZ                     KS          90013930922
3159B27732B871   DEBORAH     OBRIEN                    ID          90006002773
3159B839491584   SULEMA      LOPEZ                     TX          90012918394
3159B93577B639   LAVON       PRIDGETT                  GA          90014639357
3159B9A2A91831   ADELA       CASTANEDA                 OK          90014769020
315B116447753B   EFRAIN      HERNANDEZ                 NV          90015151644
315B1256841285   MARIA       LOURDES                   PA          51050342568
315B1293691831   BARNETT     CONNER                    OK          90004952936
315B13A768B16B   MARIA       CERVANTES                 UT          90012753076
315B1499A72B76   IGNACIO     DELGADO                   CO          33089404990
315B1741572B88   MOLLY       CUEVAS-RAMOS              CO          33092757415
315B2229A72496   DEONTA      DAVIS                     PA          90003592290
315B24A252B871   WAYNE       RISNER                    ID          42042964025
315B2745191831   JUAN LUIS   NOGUERA                   OK          90010287451
315B288527753B   MARIA       CHAVEZ                    NV          43017708852
315B3146755949   ALI         SALEH                     CA          90014151467
315B3A5947753B   NICOLAS     JIMENEZ                   NV          90007440594
315B418514B281   BRIAN       GONZALEZ                  NE          27032081851
315B4431A4124B   THOMAS      SCHMEL                    PA          51032404310
315B444227B639   JALEESA     DIXON                     GA          90011714422
315B463955B281   KATHY       FOLEY                     KY          90010506395
315B48A742B93B   PANCHOVIA   GG                        CA          90009058074
315B59A694B943   SHONDA      EDMONDSON                 TX          76507839069
315B612A885944   TIM         FULLER                    KY          90010481208
315B618228B16B   SUZIE       VILLAREAL                 UT          90000981822
315B635A65598B   DULCE       PEREZ                     CA          90000743506
315B64AA291232   LACY        COLLINS                   GA          90013544002
315B658918B162   CHRISTINE   LARSON                    UT          31040035891
315B673577B449   CLARENCE    JONES                     NC          90014127357
315B6841977544   EDITH       HOWARD                    NV          43023598419
315B728A82B93B   ALEJANDRA   CAZARES                   CA          90013592808
315B7317751369   CHRISTIAN   WRIGHT                    OH          90013283177
315B744828B162   ANGIE       SORENSEN                  UT          90010474482
315B8575993767   SHAWN       THIGPEM                   OH          90009625759
315B8629A91831   JAY         BENSON                    OK          90010646290
315B8694A8B16B   ROBERT      MOWBRAY                   UT          90013606940
315B885535B52B   BRYANT      JONES                     NM          90013348553
315B9173577544   DESIREE     AGUSTINE                  NV          90015211735
315B959A37B449   RONALD      MOORE                     NC          90011085903
315BB131741258   STACY       KELLY                     PA          90012611317
315BB616955935   DANIELLE    ZAPATA                    CA          90011656169
315BB773236143   HERLINDA    AGUIRRE                   TX          90012977732
315BB881A72496   ASHLEY      AKERS                     PA          90012568810
31611739372B76   JOSE        FLORES                    CO          90010627393
3161246875B52B   CLARA       FONSECA                   NM          90012774687
3161386775598B   BRANDY      LOPEZ                     CA          49016178677
3161397555B393   LAURA       RITCHIE                   OR          90014769755
3161417297B639   THOMAS      MABRY                     GA          90014641729
3161561875B393   SEAN        DOODY                     OR          90007706187
3161595488B16B   TROY        BRADFORD                  UT          90010479548
31615A93547931   LILIANA     SILVA                     AR          25083620935
31616897A2B93B   KEVIN       NUNEZ                     CA          90013058970
31616A88A51339   MARLIEN     BRANDONBURG               OH          90015370880
3161743815B52B   GUADALUPE   GONZALES                  NM          90013014381
3161768562B87B   MIRSAD      EKIC                      ID          90009486856
3161844A177544   ELSA        CAMACHO                   NV          90000264401
3161854A42B871   RON         BASSETT                   ID          42092995404
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3161877177B471   BILLY         RAY JR                  NC          11090077717
31618A82141285   ADAM          CINNA                   PA          51094820821
3161954886B981   ANN           SCHNEIDER               NJ          90014555488
3161969282B871   SHARA         BELKHEIRI               ID          42092546928
3161989212B93B   JUSTIN        CASE                    CA          90015498921
3161B32295B52B   PHILLIP       AVILA                   NM          35086353229
3161B739A91831   LINDA         JOYCE                   OK          90002777390
3161B757491584   ANDY          ESCOBAR                 TX          90012067574
3161B82495B393   SARA          STONE                   OR          90004678249
3161B825655972   FRANCISCA     TORRES                  CA          48061068256
3161B936431424   DEMETRIUS     BIGGS                   MO          90012079364
3162246797B471   MICHAEL       NEW                     NC          90013344679
31622A9A35B52B   MIRIAM        PALOMINO                NM          35065530903
3162339614B943   LEITH         DEJEAN                  TX          90004723961
3162378375B398   JOSE          BARAJAS-CRUZ-           OR          90004107837
3162399195B393   MICKI         BRITAIN                 OR          90013989919
3162519A57B432   ALEJANDRO     HERNANDEZ               NC          90001951905
31625916572B76   SHLEY         MARTINEZ                CO          90013229165
3162664787753B   COREY         CORREA                  NV          90010336478
3162677227B449   BRIGGET       GRAHAM                  NC          90007287722
31626AA5A91831   LUZ           SUAREZ                  OK          90009970050
3162716455598B   JORGE         MORENO                  CA          90012991645
316272A875598B   JORGE         MORENO                  CA          90009692087
316276A522B93B   IVY           HICKS                   CA          90007906052
3162797865B393   LISA          FUENTES                 OR          90005669786
316281A7493772   DELLA         FASSETT                 OH          90006601074
3162863A491584   AMANDA        ARENIVAR                TX          90014356304
3162921383B35B   RACHAEL       JOHNSON                 CO          90008492138
3162935568B16B   BRITTNEY      WEAVER                  UT          90014283556
31629627A4B281   SH-SHAWNA     GILL                    NE          90012566270
3162995435B156   ANGELA        SCHOEN                  AR          90010879543
3162B281A7753B   SUSANA        CORTES                  NV          90014132810
3162B41577B492   FANIELLE      ROBINSON                NC          11077624157
3162B536191232   JEFFREY       HILL                    GA          90014475361
3162B629184334   RICHARD       POWELL                  SC          90007736291
3162B937555972   ANGEL         VILLANUEVA              CA          90015219375
3162BA4375B393   SATIVA LYNN   DUNHAM                  OR          90011650437
3162BA79891232   JEFFREY       HILL                    GA          90014910798
3163132678B162   DELLA         WARD                    UT          90014983267
31631643A8B166   DAWN          CARTER                  UT          31057516430
3163168A255949   CHUE          VANG                    CA          90015196802
31631958A41277   JEANNETTE     QUINONES-GARCIA         PA          90015229580
3163198A42B871   SARAH         TOMKO                   ID          42032929804
3163255917753B   ROBERT        MORANDI                 NV          90011925591
3163261424B281   BERTHA        SIMIANO                 NE          27031146142
3163284459125B   SHAUNTA       JONES                   GA          90001688445
3163338A731424   DYARA         WILLIAMS                MO          90014983807
3163344732B835   TONI          BARNS                   ID          90013214473
3163347A88B16B   MANDY         CLEMENT                 UT          90011054708
316337A6341277   HUNTER        SPARKS                  PA          90014917063
3163383797B471   ENRICCO       BOOKER                  NC          11048738379
316343A478B162   JAMES         BURNINGHAM              UT          31040853047
316353A7893761   ALONZO        LATTIMORE               OH          90001003078
3163547397B449   CHANICE       SMITH                   NC          90014974739
316355A8731433   FLANESA       CLEMON                  MO          27501135087
31635685A7753B   MELISSA       KERSEY                  NV          90008376850
3163595A931424   CAROLYN       MCCRAY                  MO          90014339509
316364A8891831   CARL          FISHER                  OK          90013524088
3163665434B281   CHE           STUBBLEFIELD            NE          27064426543
31637261A61931   CYNTHIA       MARTINEZ                CA          90010602610
3163764774124B   PHILLIP       TINKER                  PA          51061816477
3163773754B281   HUNTER        PETERSON                NE          90012337375
31637A66154165   SHIRLEY       DORGAN                  OR          90008890661
316385A4755949   SUZY          SAGHERIAN               CA          90015065047
3163951A58B162   BEN           WALL                    UT          90012635105
316398A3191584   TORI-RAE      MCLELLAN                TX          90013948031
3163B287951369   SARINA        JACKSON                 OH          90013152879
3163BA22A5B52B   CRYSTAL       PONCE                   NM          90014570220
3164116A631424   QUEENS        COLLINS                 MO          90002321606
3164163874B943   CLARENCE      LETROY                  TX          76591866387
316418A3691584   JENNIFER      CALLEROS                TX          90013948036
316423A775598B   TERRY         PLATA                   CA          90012803077
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316426A547B492   CORNELIA     GORDON                   NC          90014826054
3164284197B471   VALENTA      RODRIGUEZ                NC          90010408419
316431A125B393   LENORA       OBAK                     OR          90013941012
3164375118B16B   NANCY        LAW                      UT          90012587511
3164387427753B   JENES        CARTER                   NV          43042278742
31644A6985B52B   MARYANN      CHAVEZ                   NM          90001400698
31644A7A391584   FELICIA      BALDERRAMA               TX          90011540703
3164514747B639   VALENTINA    MANRIQUE                 GA          90011741474
31645191A2B871   LOURDES      CARBALLADO               ID          90013261910
3164567292B87B   ALMA         ESCOBAR                  ID          42082286729
3164594778B162   CHRISTIAN    BOJORQUEZ                UT          90014839477
31645A6447B449   MARIO        GRANDE                   NC          90012020644
31645A96136143   ROBERT       GRIMALDO                 TX          90012190961
3164633AA5B156   PRISCILLA    MCVAY                    AR          23086503300
3164729382B835   LUIS         GRANILLO                 ID          42058572938
3164764378B574   JOSE         VELASQUEZ                CA          90013906437
3164787985598B   CAROLLANN    COLEMAN                  CA          90015378798
316484A5431424   SCOTTIC      PEBBLES                  MO          90012524054
3164897442B87B   MARIA        GONZALEZ                 ID          90014069744
3164912767B43B   SOCORRO      CRUZ                     NC          90005341276
3164913652B871   SHYANN       FERRIS                   ID          90015371365
3164919485B156   CHARLES      FOSTER                   AR          23087521948
3164949592B835   SETH         HARPER                   ID          42022834959
3164B38512B835   AMIE         SUMSION                  ID          42022093851
3164B437791371   ESPERANZA    GARCIA                   KS          90013334377
3164B46A27B639   BRIANA       COOP                     GA          90014644602
3164B63452B87B   TIMOTHY      WOODS                    ID          90015186345
3164B7A4A7B492   MALLORY      BRICE                    NC          11053057040
3164B86972B93B   ALFRED       VALDEZ                   CA          45088198697
3164B881A5598B   NA           THAO                     CA          90015068810
316511A655B393   JOSE         CARRETO                  OR          90013941065
3165143A551369   KRAIG        MILLER                   OH          90009854305
31651A1317B449   CHARLES      SCRIVEN                  NC          90000220131
3165212897B449   MIGUEL       TORRES                   NC          90014431289
316521A9455949   ANTHONY      BOGGS                    CA          90008121094
31652377A7B471   LUCIA        MARQUEZ                  NC          90014273770
316525A152B93B   SONG         YANG                     CA          90013365015
31652634A91831   CHELSEY      MARSHALL                 OK          90013626340
3165267794B281   MARLENE      GARCIA                   NE          27032026779
316528A874B943   KERRI        RAAB                     TX          76553048087
3165298A94124B   BERNARD      RYCE                     PA          90006349809
3165366157B471   NATHANIEL    BROWN                    NC          90011536615
3165386195B281   ABDULSAKOR   ASADULLHA                KY          68041658619
316538A8554165   GRACIELA     CHINO-AVILEZ             OR          90009788085
3165415842B87B   DARREN       FRANKLIN                 ID          90002091584
3165416AA7B639   LEON         DAVID                    GA          90014651600
3165476438B162   ROBERT       ROJAS                    UT          31006997643
316553A7377544   CHRIS        BOWERS                   NV          90013993073
3165564854B281   MS           SMITH                    NE          90012316485
31655AA8191831   AMANDA       MULANAX                  OK          90004110081
3165625587B492   OMAR         HARDY                    NC          90002072558
3165629992B93B   MAIRA        GUZMAN                   CA          90014332999
3165698A591584   JAMES        MILLER                   TX          90013329805
31656A1A577544   MARTHA       SANCHEZ                  NV          90008870105
31656AA6541285   DANTE        WILLIAMS                 PA          51026290065
316573A5A77544   LORENA       PRADO                    NV          90000173050
3165779275B393   TARA         ELLIOTT                  OR          44522237927
31657A13491232   LOUVISA      LOVEWINE                 GA          90009110134
3165813887B471   MADELINE     CASIANO                  NC          90015011388
3165897372B93B   GUADALUPE    GUDINO                   CA          90009259737
31658A6317B492   JESUS        GUTIERREZ                NC          90005470631
3165932918B16B   RODOLFO      TREJO                    UT          31018463291
31659614A36143   BREANNA      GARCIA                   TX          90014756140
31659925A8B16B   MICHELLE     OLIVARES                 UT          90003619250
31659AA265598B   JOSE         VAZQUEZ                  CA          90010960026
31659AAA155949   JAVIER       RAMIREZ                  CA          90015250001
3165B46527B492   MELODY       REINHARDT                NC          90012394652
3166154A841258   ELIZABETH    EHRHART                  PA          90011665408
31661858A51369   BRIDGETTE    MORRIS                   OH          90009958580
3166283A955972   ELIZABETH    RUTH                     CA          48057778309
3166294785B393   PENG         WANG                     OR          44572459478
31662A5957753B   HELEN        WONG                     NV          90006470595
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3166353287B471   CHRISTIAN    GUERRERO                 NC          90014725328
31663628A72496   EARNEST      BURNSWORTH               PA          90010526280
3166421827B449   ROSE         HARRIS                   NC          90011362182
3166433365598B   CHRIS        JAMES                    CA          49042983336
3166435257B471   KIERRA       LANEY                    NC          90001293525
3166466AA72496   TAMIKA       BURKE                    PA          51048936600
31664A8165B52B   JUAN         MAGANA                   NM          90015210816
316651AA291232   CICELY       TRAPPIO                  GA          90013081002
3166562375B393   BRANDON      DIXON                    OR          90012026237
3166599894B55B   ALTUNE       ULMER                    OK          90008339989
3166623647B639   RAVEN        BREWER                   GA          90013772364
31669259A91831   JANET        SMITH                    OK          90014282590
31669A6742B93B   LINDA        SALGADO                  CA          90012080674
3166B17218B16B   STEVEN       EDWARDS                  UT          31005071721
3166B378257128   ANA          GONZALES                 VA          81095963782
3166B53928B349   STEVEN       MOORE                    SC          90005375392
3166B71314B281   GILBERT      HARTMAN                  NE          27091577131
3166B783341277   NED          TRBOVICH                 PA          51044997833
3166B87524124B   JAQUAN       LEECH                    PA          90003008752
3166B966191584   ISSAC        MARQUEZ                  TX          75030759661
3167133A77B639   TONISHA      ARCHIBALD                GA          90014653307
31672229A72496   DEONTA       DAVIS                    PA          90003592290
3167324617B359   OSCAR        FLORES                   VA          81011502461
3167358127B471   MARIA        GAYTAN                   NC          11061195812
3167393924B281   BENJAMIN     VALDEZ                   NE          90014859392
3167593912B93B   RAMON        RAMIREZ                  CA          90013789391
3167598793B391   TIMOTHY      SANDROWSKI               CO          33091129879
3167612474B281   CHIRSTPHER   COPELAND                 IA          90011111247
31676662836B43   DAMARIS      VAZQUEZ                  WA          90015206628
3167738AA91584   LIVELY       CASTRO                   TX          75000623800
3167759552B93B   DALE         ZIMMERMAN                CA          90012935955
3167762275598B   HILDA        GUERRERO                 CA          90010846227
3167766898B162   ANNA         BARNEY                   UT          31004146689
3167817215598B   MARIANO      DIAZ                     CA          49081211721
316784A3351369   NORA         BRENES-ACOSTA            OH          90011464033
316784A4151339   CINDY        BALLINGER                OH          66027364041
316787A554B52B   RYAN         LLOYD                    OK          90001277055
316787A6491584   ELIAH        SALAZAR                  TX          90014357064
31678A78372496   ANNA         MURPHY                   PA          90013700783
31678A83636143   TEJEDA       CIPRIANO                 TX          90015170836
3167918278B162   KATHY        RAMIREZ                  UT          90014291827
3167968972B93B   EDGAR        SANDOVAL                 CA          90010566897
3167999639125B   MATTHEW      OLSON                    GA          90014559963
31679A8837B449   JUNIOR       ORTIZ                    NC          90014530883
3167B41217B449   ALISA        BOYCE-WALLACE            NC          11095534121
3167B586431424   MICHELLE     ASHLEY                   MO          90014885864
3167B746172496   CARL         CHILDS JR                PA          90012977461
3167B78712B93B   KARA         MALDONADO                CA          90009867871
3167B91152B87B   STEVEN       RAWLINS                  ID          90008599115
3168115A92B93B   CHRISTINA    MARTINEZ                 CA          45004821509
316814A4151339   CINDY        BALLINGER                OH          66027364041
3168174994B281   JOSE         SANCHEZ                  NE          90004787499
31681865172B37   HEATHER      FRANK                    CO          90010828651
31681A78372496   ANNA         MURPHY                   PA          90013700783
3168229417B639   SHRANDA      WATKINS                  AL          90001562941
316826A792B835   HILLIARY     MILLER                   ID          90013516079
3168273542B559   LATOSHIA     BRAZILL                  AL          90014147354
3168273A27B471   EMMA         SANDERS                  NC          11072207302
316832A762B87B   AMY          BATCHELOR                ID          90015572076
31683A6554B281   SANTIAGO     VALADEZ                  IA          27090770655
31683A9A391584   BLANCA       LOZANO                   TX          75030450903
3168417768B162   DAVID        LINDSEY                  UT          90014061776
316843A928B162   MARIA        ZAMORA                   UT          90011263092
3168443285B393   JOSE         MARTINEZ CUIRIZ          OR          90011584328
3168454582B93B   RAMON        PEREZ                    CA          90015305458
31684818A72471   MICHAEL      DOWNS                    PA          90008638180
3168522615598B   ANDRES       CARRASCO                 CA          90012082261
3168547A141258   NIKINA       KIEFER                   PA          90013044701
316865A717B639   RUBY         WILLIAMS                 GA          90009255071
31686A2465B393   ANGELIC      WATERMAN                 OR          90006970246
3168751245132B   DEBRACCA     WORTHY                   OH          90009645124
3168754855B393   MATTHEW      DAVID                    OR          44553375485
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3168785A82B93B   ALLISON         MCCLAIN               CA          90014108508
3168923177753B   AMIR            HOWARD                NV          90013542317
3168956467B471   SHIRTOIA        HUNTER                NC          11001855646
3168979A391584   ERICA           HERNANDEZ             TX          90014847903
3168B38652B871   SAVANAH         BROWN                 ID          90011103865
3168B415A54165   KAY             VIRGILIO              OR          47092184150
3168B447172496   BONNIE          UPTONGAYE             PA          90010984471
3168B788A36143   JACOB           FLORES                TX          90014587880
3168B928881685   VICTORIA        KIMMEL                MO          90013859288
3169126A95B52B   IVAN            ROMERO                NM          90010812609
31691A5A77B639   CAROLINE        FARRAD                GA          90014680507
3169234144B534   FERMIN          CARRANCO              OK          90014943414
3169268282B871   DOUG            GARLOCK               ID          42093626828
3169317615B393   POMPOSO         MALDONADO             OR          44523231761
3169341317753B   FRANCISCO       GOMEZ                 NV          43016714131
3169355157B449   DAVID           CALDWELL              NC          90013225515
3169381552B871   MOIRA           KELLY                 ID          42085108155
31694571A36143   ARNOLD          MARTINEZ              TX          90002895710
3169491588B16B   REBECCA         SINGLER               UT          31017199158
31694A5A291371   HALEY           EISENHOWER            KS          90004170502
3169566898B162   ANNA            BARNEY                UT          31004146689
3169569232B871   JESUS           RUIZ                  ID          90014816923
3169638A97753B   MECHILLE        ALLAIN                NV          90014893809
3169641AA41258   AMY             SINGLETARY            PA          51036584100
3169669472B871   CARRIE          RODRIGUEZ             ID          42073426947
31696A1122B871   CARRIE          RODRIGUEZ             ID          90011150112
31696A38791371   MICHAEL         SMITH                 KS          90014730387
3169729965598B   JOSEPH G        GARCIA                CA          90007902996
3169735492B87B   ADAM            FREDRICK              ID          42014263549
3169853215B281   XAVIER          SHISHOLM              KY          90009685321
31698A13672496   TIFFANY         SWANEY                PA          90014350136
3169937112B835   LONNY           SHEPHERD              ID          42020583711
3169B253741277   JAMELLE         DUNCAN                PA          90014712537
3169B59A131683   RICHARD         WOODWARD              KS          90003655901
3169B882577544   KEVIN           DALESSANDRO           NV          90012758825
316B116127B449   CHANTELL        CHILES                NC          11067261612
316B129292B87B   LISA            LEWIS                 ID          90010252929
316B131465B269   ROBERT          CALDWELL              KY          68096083146
316B1371651339   MICHAEL         EBNER                 OH          90010933716
316B1619955949   ZACHARY         MARSHALL              CA          90011046199
316B1736641285   JAMES           GLOVER                PA          90011667366
316B1852291831   CATHERINE       NORMAN                OK          90010108522
316B1A5838B16B   DANA            CARTWRIGHT            UT          90009650583
316B1A6A52B93B   CRUZ            GARCIA                CA          45028500605
316B2133191584   SANDRA          CARO                  NM          75062241331
316B21A7491531   HAROLD MELVIN   LILLEBO               TX          90011721074
316B259312B871   MARTIN          MUNOZ                 ID          42049875931
316B281A736143   CYNTHIA         CANTU                 TX          73513088107
316B317587B639   SHAWNTHA        DUNLAP                GA          90014601758
316B3175884368   CHRISTOPHER     CRANK                 SC          90011891758
316B3473491537   LORRAINE        PEREZ                 TX          90015054734
316B3594291584   RAQUEL          ARRAMBIDE             TX          90005595942
316B3A49A97131   JENNIFER        SHOEMAKE              OR          90012320490
316B3AA2351339   TRAVIS          CAUDILL               OH          66000590023
316B451177B639   SIDNEY          CHILDS                GA          90010485117
316B456135B393   KENIA           ESPINO                OR          90011865613
316B4949391232   SARAH           BYNES                 GA          90012099493
316B517A491232   KEIONNA         CLAY                  GA          90014831704
316B533337B449   AUCAS           DAVIS                 NC          90011643333
316B534314124B   TISHAWN         DENT                  PA          51087003431
316B596345598B   KAMI            SHORT                 CA          90004749634
316B6115A31424   BRENDA          BARNES                MO          90013931150
316B6126155972   OSCAR           HERNANDEZ             CA          90012301261
316B6454577544   FRANCISCA       MARTINEZ-DE CADENA    NV          90012354545
316B65A595598B   PABLO           MARTINEZ              CA          90014905059
316B662A37B471   GASPAR          HERNANDEZ             NC          90008386203
316B673554B281   DENISE          LEWIS                 NE          90004067355
316B687858B162   MANUEL          VEGA                  UT          90015198785
316B71A3577544   KELLY           BERGSTROM             NV          90013221035
316B71A512B871   KRISTIN         CONTRERAS             ID          42034331051
316B731954B547   CHERYL          TODD                  OK          90011843195
316B7422141258   CINDY           SMITH                 PA          90009044221
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316B82A7651369   NATASHA     PARKS                     OH          66028582076
316B873412B87B   BRIAN       CHANCE                    ID          90014517341
316B87AA12B871   SANTOS      REYES                     ID          42009047001
316B88A765B52B   MARISELA    BERNAL MARTINEZ           NM          90013638076
316B8A8615598B   SHAO        LIN                       CA          90011940861
316B9476641277   JASON       BELL                      PA          90009534766
316B9494277544   SAMANTHA    MORGAN                    NV          90014244942
316B94A517B471   LENISE      BROWN                     NC          90002684051
316B977225B156   MARSHA      JOHNSON                   AR          90013517722
316B97A5255972   SHONDA      FOLEY                     CA          48035857052
316B986897B445   GOVELLA     TOWNSEND                  NC          90001678689
316BB11617B639   ALVIS       FRANK                     GA          15021541161
316BB458191952   AKIN T      SEZENOL                   NC          90010854581
316BB4A5554165   DANIEL      PROVANSAL                 OR          90013274055
316BB78562B871   KENNY       LANHAM                    ID          42073027856
31711323A31424   MICHAEL     WELCH                     MO          90014843230
3171146532B835   BONNEY      CODR                      ID          90002504653
3171194627B492   ANNA        BESS                      NC          90012179462
3171212734B281   AKU         ITEGI                     NE          90001961273
3171227A57B471   BRANDON     BISSOON                   NC          90012662705
317123A3855949   ISIDRO      BAEZ                      CA          90011483038
317124A5741258   ASHLEY      BALDAUF                   PA          51081654057
31713418A8B162   DANIEL      PERRY                     UT          90007864180
3171367937B492   JOGE        PEREZ                     NC          90012506793
317142A7854165   DAVID       FLEHARTY                  OR          90014832078
3171434774124B   ARSEAN      HUMPHREY                  PA          51009953477
3171463215B393   MICHAEL     RUTHERFORD                OR          44592336321
3171545232B835   KAILEA      GOFF                      ID          90007594523
3171552619125B   TANIKA      BELL                      GA          90004255261
3171554937B639   LAWRENCE    HARRIS                    GA          15034485493
3171563537B449   REGGIE      HENDERSON                 NC          90002116353
3171565AA2B871   GINA        HALLMAN                   ID          42073196500
3171592912B93B   IGNACIO     RODRIGUEZ                 CA          45035439291
3171652A67753B   BRETT       NELSON                    NV          90005945206
3171661762B93B   SUMMER      MARINESE                  CA          90013016176
3171671575B52B   ZALLEY      MUNOZ                     NM          90000127157
31716A62177584   JENNIFER    RICHARDSON                NV          90008960621
3171816517B43B   YESENIA     HERNANDEZ                 NC          11026371651
3171978618B16B   LYNN        WELCHMAN                  UT          31096927861
3171B241191831   FRANK       SCHUETTE                  OK          21062252411
3171B446836143   JASMINE     BELMARES                  TX          90014714468
3171B53A37B492   CHRISTINA   ROBERTS                   NC          90012905303
3171B817551339   CURTIS      NEAL                      OH          90010218175
3172135437B471   HENRY       RAMOS                     NC          11001023543
31721421A7B43B   SABRINA     SHEALEY                   NC          90005344210
31721878A91967   KEYANNA     HICKS                     NC          90011938780
3172193455B281   ROBYN       SANDERS                   KY          90011659345
31722357A91584   OSVALDO     FELIX                     TX          90005253570
3172278665B52B   LAYLA       SALAZAR                   NM          90005577866
3172292514124B   ROBIN       KRALIK                    PA          90000339251
3172321378B16B   MARIA       HINOJO                    UT          90014162137
3172377982B93B   BAUDELIA    MACIAS                    CA          90011917798
31723A82491371   ADAM        GRAVES                    KS          90004290824
31723A99241285   GELLINDA    GRIFFEY                   PA          90012400992
31724848763B27   JOSE        GARNICA                    IL         90006358487
31724AA227B449   MUNOZ       BRIZEDA                   NC          11063180022
31725292872B37   JOSE CRUZ   MEDINA                    CO          33093232928
317254AAA91831   ANGELA      RODRIGUEZ                 OK          90009614000
3172581A231424   LARRY       JACKSON                   MO          90009668102
31726776A4B943   GEORGE      ATCHISON                  TX          90001827760
317268A7847931   ELIZABETH   ROCHA RUIZ                AR          90012398078
31726A1238B162   ENRIQUE     BARRERA                   UT          90003480123
3172736A851369   JOSHUA      BIBB                      OH          90014703608
3172821888B162   NISHA       PARMLEY                   UT          90014062188
317288A3441285   JAMES       MURPHY                    PA          90014318034
31728A5667B449   ANTHONY     MCILWAINE                 NC          11017370566
3172932A431424   SENOBIA     CROSS                     MO          90013053204
3172945785B52B   LACHELLE    FARIAS                    NM          90013444578
3172965792B835   ARTURO      DUARTE                    ID          42020666579
3172974A936143   TOM         RENDON                    TX          90012387409
317297A6251339   PAMELA      WENDLING                  OH          66065207062
3172B73792B87B   BRETT       RAINEY                    ID          90014347379
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3172BA7315598B   THERESA               ALEXANDER       CA          90003340731
3172BA78372496   ANNA                  MURPHY          PA          90013700783
3173113244B943   JAY ALLEN             VIDRINE         TX          76527101324
31731A27936143   TAMMY                 RICHTER         TX          90006460279
3173218A25B385   ALMA                  ADAME           OR          90011661802
3173241425B156   KIM                   COX             AR          23069564142
3173364275598B   BRANDI                ZIMMERER        CA          90005406427
3173369A35B393   ROLANDO               BARRERA         OR          44520926903
3173387298B16B   NICOLE                MARTINEZ        UT          31015758729
3173478A251339   WILLIAM               MCCOY           OH          90001217802
3173539A67B492   ERICA                 BURRIS          NC          11093673906
3173547515B393   MICHAEL               DINAN           OR          44511324751
3173559977B43B   SHALLAH               JUSTICE         NC          90014445997
3173572A67B639   LACARA                JONES           GA          90012827206
3173579614B281   AMANDA                TAYLOR          NE          90013487961
317357A585598B   JOSEPH                ACUNA           CA          49023297058
3173687752B871   TAYLOR                DAVIS           ID          90011308775
31736A23181642   LADONNA               GRAVES          MO          29079940231
31736A68736143   STARR                 SAVOY           TX          90014010687
3173711245598B   CATANA                TEODULA         CA          90013681124
317374A315B393   RUBY                  PEREZ           OR          44590854031
31737A64655949   ERNESTO               ESTRADA         CA          90015120646
3173976A191831   JOSE                  RAMOS           OK          90002437601
31739781A8B16B   CAROL                 CHEATWOOD       UT          90010647810
31739853472B76   JUANITA               TINAJERO        CO          33094028534
3173987897B471   MIGUEL                MARTINEZ        NC          90010408789
3173B51568B16B   DUSTY                 PORTER          UT          31042605156
3173B588141277   DARLENE               BRUDER          PA          51045035881
3173B813591584   RENE                  QUINONEZ        TX          90011248135
3174159717B639   DIANNE                FORD            AL          90014665971
31742111A55972   HILDA                 TORRES          CA          48058401110
3174218887B471   DENITA                PERRY           NC          90014061888
3174239914124B   FELECIA               TOCA-MORAN      PA          51083313991
317429A1591584   ELVA                  VERA            TX          90006019015
31742A96141258   JOHN                  MITCHELL        PA          90012370961
3174358688B16B   SARA                  BAGGETT         UT          31058455868
317436A4591831   JULIO CESAR           MIRANDA         OK          90013686045
31743A4284B281   KIM                   MATHEWS         NE          27025610428
3174415823B352   JOSE                  CARDENAS        CO          90007181582
31744A2364B592   CINTHYA               ARIAS           OK          90012660236
31746138A31424   MIEASHIA              JONES           MO          90014701380
31746A1377B471   CARLOS                LOPEZ           NC          11027520137
31746A82691584   MARIA                 GREER           TX          90011540826
317478A5641277   DALE                  CROWELL         PA          90014368056
3174792478B162   TRENT                 OSWALD          UT          90011969247
31747A16891584   SYLVIA                VACIO           TX          90006230168
317481A775B536   MARYLYNN              CARRASCO        NM          90002241077
31748411A91584   CLAUDIA               BERNAL          TX          75090884110
31748A5377B471   PETER                 HLAING          NC          90013470537
3174B19454B281   GUY                   HOLMQUEST       NE          90014041945
3174B241A91371   THOMAS                CERON           KS          90015342410
3174B47515B393   MICHAEL               DINAN           OR          44511324751
3174B531336B77   WILLIAM               LUDAHL          OR          90005865313
3174B59717B639   DIANNE                FORD            AL          90014665971
3174B62197B386   FRANTZ                BASTIEN         VA          90002586219
3174BA8392B93B   MARY                  BURGESS         CA          45040350839
31751A7662B835   ERIC                  VENABLE         ID          42094780766
31752867A8B162   ROSEMARIE             ALDRICH         UT          90010698670
3175334915B52B   JAVIER                ARAUJO          NM          35040193491
317539A1131657   SHAMEKA               HARRINGTON      KS          90014639011
3175488647B449   MICHAEL               GIBSON          NC          90014508864
31754AA6251369   KELSEY                DUFFY           KY          90005800062
3175568A351369   STEVEN                DELOACH         OH          90013916803
317556A467B471   MARCUS                BOLICK          NC          90014156046
3175636295B52B   RACHEL                BLANCO          NM          90012913629
31756A81536143   NORMA PARRY BRUSCHA   GIBSON          TX          90008000815
3175772127B449   ANTHONY               CLYBURN         NC          90009107212
3175781242B871   THOMAS                FREINWALD       ID          90014738124
3175814557B492   BELINDA               BESS            NC          90002471455
3175829228B162   JASON                 TISDALE         UT          31084242922
317588A582B93B   SONIA                 VALENZUELA      CA          45066308058
3175942382B871   SHELBY                YORK            ID          90013514238
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3175969135B281   MARGIE           ADCOCK               KY          68093646913
3175B286777544   KERRY            GEHLKEN              NV          90007842867
3175B367855972   ESTHER           FLORES               CA          90008563678
3175B57152B87B   JULIANA          TOLVES               ID          42097395715
3175B959691584   ALEJANDRO        ARREOLA              TX          90013209596
3175BA79141258   ROBERT           MEDVED               PA          90013610791
3175BA83191584   VICTOR           GONZALEZ             TX          90011540831
3176153345B393   MONICA           TAPIA                OR          90013355334
31761559A7B471   KEVLA            GADDY                NC          90014455590
3176168444B281   TINA             GRAY                 NE          90013976844
3176177327B639   JERRENA          HILL                 GA          90014667732
3176272432B835   ANDREW           MAIN                 ID          90006507243
3176446932B835   NATHAN           HOBBS                ID          90011914693
3176458867753B   JORGE            VARGAS-NAVA          NV          90011925886
3176477757B449   MARIO            AMAYA                NC          90012237775
3176583925137B   EDGAR            LOPEZ                OH          90012248392
317662A885B393   ELIJAH           FISHER               OR          90010632088
317662AA154165   MAYGN            PATTON               OR          90007582001
317673A7291371   ANTONIO          NAPE                 KS          90012243072
31767517672B76   SHANNON          HIGGINBOTHAM         CO          33052035176
31767771A91232   JANETT           JOHNSON              GA          90013607710
3176788847B471   ALISSIA          REED                 NC          11004548884
3176817332B87B   JON              SCHIRIPA             ID          90008511733
31768265A41285   STACEY           HEMINGWAY            PA          51033722650
3176844565598B   WILLIAM          DISNEY               CA          90012954456
31768536A5B156   ANDREW           STORY                AR          90014175360
3176918677753B   CLAUDIA LIZETH   CORTEZ               NV          90010521867
31769512A55949   ELVIS            GILLIES              CA          49011665120
31769991A7753B   JAIRO            AREVALO              NV          90012619910
31769A29277544   LENA             MURPHY               NV          90005950292
3176B474177544   AMANDA           GAVIN                NV          43059194741
3176B67922B835   JUAN             DELAGADO             ID          90013866792
3176B78787B639   TATIANA          THOMAS               GA          90011337878
3176B9A4491831   RAMIRO           MORIN                OK          90014769044
3177122944124B   EDWARD           JONES                PA          90012702294
3177142862B835   ROBERT           JOHNSON              ID          90014264286
317721A484B281   CHRISTINA        DAVENPORT            NE          90005421048
3177221A791831   MARIA            GRAY                 OK          90009342107
3177253A841277   MARKIA           PURDOM               PA          90014725308
3177293487B449   ALVARO           RAMIREZ              NC          90007329348
31774A29A91893   MARQUIS          JONES                OK          21051630290
3177523648B162   KEN              TEMPLE               UT          31041232364
31775248A71996   KRISTEN          FELCH                CO          90009772480
3177577932B835   ANTHONY          CASTLE               ID          90014067793
31776232A51339   LINDSEY          JENKINS              OH          90013552320
3177675884B281   SHARI            GRAHAM               NE          90014887588
3177697997B449   CRAIG            DAVIS                NC          90014469799
31776A4615598B   CRYSTAL          TREJO                CA          90010960461
3177763987753B   YUMA             MCGINTY              NV          90008256398
3177797654124B   RONALD           ESSER                PA          51031349765
31777A35A91584   MARTINEZ         CHRISTIAN            TX          90011970350
317786A817B449   ERNESTINA        CORTEZ               NC          90015336081
3177891877B471   ISRAEL           SHANKLE              NC          90011249187
3177897924124B   PAUL             KOHLER               PA          51087509792
3177929345B555   ROSEANNA J       GARCIA               NM          90003222934
317797A7972496   ELDEN            HARPER               PA          51079877079
31779A2148B162   CHRISTIAN        LOZA                 UT          90012190214
31779A6145B156   SHANIKA          DOZIER               AR          23043950614
31779A77A55949   ROSA             RAMIREZ              CA          90014770770
3177B38392B93B   JASMINE          OVIEDO               CA          90014893839
3177B837431424   CHRISTINA        MILLER               MO          90011958374
3177B838984368   CLAUDIO          NAVA-NAVA            SC          90007368389
3177BA4752B87B   NICHOLAS         SCOYNI               ID          90015390475
31781258772B31   MARIA            DIOSDADO             CO          90008802587
31781575172B76   STEFANIE         FLOREZ               CO          90004825751
317819A5572496   AMY              MICKENS              PA          90002499055
31781A16341277   SATERA           SMALLS               PA          90014090163
31782A62291979   EDWIN            GUZMAN               NC          90002030622
3178323A941285   STEPHANIE        HAGOOD               PA          90013912309
3178377A57B492   LAURA            HERZING              NC          90014597705
3178389472B93B   FRANCISCO        GARIBAY              CA          90009978947
317838A3131424   LAKESHA          JOHNSON              MO          90010808031
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31783996872B36   KIRSTEN     DAVIES                    CO          90002409968
3178475577B639   TONYA       WILLIAMS                  AL          15005177557
31785349A4B281   EDDIE       KELLOGG                   NE          90013393490
3178536A672B76   DONNA       RYAN                      CO          90005423606
3178538127B471   KEVIN       BROWN                     NC          11001283812
3178547235598B   JASON       BETANCOURT                CA          90013194723
3178584457B449   CHRISTINE   JONES                     NC          90008648445
3178619135B393   JASON       DE PAZ                    OR          44584101913
3178625997B449   MARIA       HERNANDEZ                 NC          11034832599
3178641A677544   FIDEL       DELAROSA MONTES           NV          43085574106
3178661132B871   GERRY       LOWE                      ID          90008286113
3178667397B639   NITESHA     ADAMS                     GA          15010186739
31786A33331424   BOBBY       WASHINGTON                MO          90009910333
317876A492B93B   RAYMOND     MULDER                    CA          90002956049
31787A6A377544   CRISTIAN    CHAVEZ                    NV          43071650603
3178874188B162   LESLEY      LAFFERTY                  UT          90003107418
31788958A7B43B   ERICA       BLACK                     NC          11022719580
3178958A791232   TYRE        SMITH                     GA          90015195807
31789852A72496   LISA        COLE                      PA          51015438520
3179129375B156   WILLIE      MAY                       AR          23058092937
3179178917B471   LOUVENIA    BRANT                     NC          90013237891
3179227315B52B   VALERIE     LEYBA                     NM          90014842731
3179233237B449   MICHELLE    MASSIE                    NC          11058063323
3179287665598B   XIONG       LEE                       CA          90015588766
3179288412B93B   CYNDI       KOPECKI                   CA          45051628841
31792961A4B281   ROBERT      FAUST                     NE          90014859610
3179323315598B   AIOTEST1    DONOTTOUCH                CA          90015122331
3179323A572B76   ANGEL       ORTIZ                     CO          90009332305
3179355432B93B   JUSTIN      JEWETT                    CA          90009995543
317935A4855972   JASON       PETTY                     CA          48090485048
3179393767B471   LYNDIA      CORTES                    NC          90010409376
3179399417B449   ANGELA      WILLOUGHBY                NC          11080529941
3179416775B52B   AARON       DOMINGUEZ                 NM          90006501677
3179446A255972   ROGELIO     ORTIZ                     CA          90006784602
31794A52391587   MARIA       MATA                      TX          90011180523
317951A4491584   RAQUEL      FAVELA                    TX          90011251044
3179657432B87B   ALBERT      ELLIS                     ID          90008275743
3179746315598B   MARIA       PIMENTEL                  CA          90013204631
317974A547753B   CONNIE      NELSON                    NV          90006734054
3179777257B639   ALFREDO     AYALA                     GA          90011777725
31797A4625B281   JEFF        CLARK                     KY          68002220462
31797A75631424   LAMARCUS    PRUIETT                   MO          90015130756
3179866712B835   MATTHEW     ELLIS                     ID          90012866671
3179882A741285   BRIAN       SCOTT                     PA          90010088207
3179978657753B   LONA ANN    FULLER                    NV          90013297865
31799A51647931   TREVOR      HUTTON                    AR          90013940516
3179B31382B871   DANA        MCPHEETERS                ID          90010623138
3179B75885B52B   JOSE        LUCERO VALENZUELA         NM          90009247588
3179B974A91371   NAKIA       EZELL                     KS          90005749740
3179BA44972B76   RODOLFO     LOPEZ                     CO          33047840449
317B127897753B   ERNESTO     TRUJILLO                  NV          90013912789
317B12AA272496   LETITIA     FRYE                      PA          51035392002
317B1868572B76   JASON       BEAUMONT                  CO          33048508685
317B21A8141277   DYAN        JONES                     PA          51009231081
317B2891772B76   NANCY       LOPEZ                     CO          33020438917
317B395A191232   KEANDRA     JENKINS                   SC          90011999501
317B3A3884B281   MARIA       PINEDA                    NE          90011110388
317B4627951339   BRYAN       JARBEAU                   OH          90012326279
317B542838586B   JAMES       CARLSON                   CA          46034554283
317B544538B162   MARCELA     BANUELOS                  UT          90014444453
317B5497625632   JOEL        LOPEZ                     AL          90013954976
317B572167B43B   JACKIE      MILLINGTON                NC          11093947216
317B5946551339   ASHLEY      MESSER                    OH          90001819465
317B5A7A651339   DENNIS      DUNBAR                    OH          90010840706
317B7A27472496   KIERRA      GIBSON                    PA          90014690274
317B823715B52B   C           COFFIELD                  NM          35054472371
317B8499572496   CHERYL      WIDERNER                  PA          90014284995
317B853764124B   BRAD        WRIGHT                    PA          90008855376
317B8697A7B449   BRIAN       HILLMAN                   NC          90003586970
317B8732651339   DONNA       WAGES                     OH          90006067326
317B874183147B   MARK        HOUSTON                   MO          90012947418
317B888338B162   ADRIANNA    TERRIQUEZ                 UT          90011778833
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317B8895833626   TAVIRO       ROYSTER                  NC          90000318958
317B9181477544   ADAN         GUZMAN-GONZALEZ          NV          90014861814
317B927615B393   STACY        CHRISTENSON              OR          44595192761
317B98A9572496   KAREN        STEWART                  PA          90013468095
317BB17768B162   DAVID        LINDSEY                  UT          90014061776
317BB31998B16B   TULIO        GONZALEZ                 UT          90013793199
317BB428672496   KAYLENA      HARREL                   PA          90014654286
317BB479291831   HUGO         LOPEZ                    OK          90009884792
317BB87395B281   PHYLLIS      JANHA                    KY          68067968739
3181259984B281   JACOB        LEWIS                    NE          90014705998
318126A937B639   ERIKA        BELL                     GA          90014676093
3181354852B93B   PLAY         BOY                      CA          45093095485
318144A2541258   VALERIE      RAMAGE                   PA          51063124025
31814A3652B835   ASHLEY       FINCH                    ID          90013540365
3181523A42B87B   DAVID        BRYENTON                 ID          90012872304
3181524A65B156   TANYA        FITZGERALD               AR          23050182406
31815336A7753B   JUAN         DIAZ                     NV          90005613360
31815416A91584   ARMANDO      ROGELIO MANZO            TX          90009234160
3181555A12B835   JESSE        STARKEY                  ID          42086185501
3181574242B93B   MIGUEL       CARRERA                  CA          90013167424
3181611157B639   GABRIEL      DENT                     GA          90014681115
3181677385B393   BIN          YANG                     OR          44533697738
31817221172B83   ESTHER       LEAKS                    CO          90003952211
3181822462B93B   BRITANIE     HALLMON                  CA          90010002246
318187A987753B   JAVIER       MARTINEZ                 NV          90015177098
3181916697B639   JEANETTE     STONEBACK                GA          90014681669
31819444A2B93B   JUAN         LOMELI                   CA          90012494440
318196A9831424   OPAR         DIXON                    MO          90014886098
3181972284B281   ROBERT       MEYERS                   IA          90012637228
31819962A4124B   JIM          WENGER                   PA          90004939620
3181B57954B534   ELMER        AREVALO                  OK          90011625795
3181B635972496   BRANDON      FRANKS                   PA          90014136359
31821188598B61   ESSENCE      WATSON                   NC          90003831885
318213A162B87B   MICHELLE     ACKERMAN                 ID          90006473016
318215A4451369   TAMIKA       FLUELLEN                 OH          66034485044
318216A3236143   JESSICA      HERNANDEZ                TX          90007816032
318218A317B471   SHAWN        MILLER                   NC          11014958031
318218A4855972   JESS         AHUMADA                  CA          48015478048
31821A3745598B   REGINE       ALONZO                   CA          90013710374
31822196A51339   JULIE        MELTON                   OH          90009061960
3182227477B639   KINGSLEY     JONES                    GA          90009912747
3182319138B16B   KAMI         SVENDSEN                 UT          90004721913
31823461A7B449   LASSHANDA    CHAMBERS                 NC          90013144610
3182352324B281   JOSE         CHAVARRIA                NE          27091165232
31823A48176B45   NATHANNAEL   WREN                     CA          90008720481
3182417317B639   SYMMONE      WILLIAMS                 GA          90014681731
3182479262B93B   NIKKI        MICHENER                 CA          90011947926
318247A9341258   RJ           MCGINNIS                 PA          90003477093
318247AAA41285   LEN          YANCEY                   PA          51049797000
3182538A154165   TINA         MERCURIO                 OR          90014563801
31825A3815B281   TRINA        CARTHEN                  KY          90003700381
31826A37757B79   MARK         TOMCHAK                  PA          90013870377
318275A1A91584   LORENA       GUTIERREZ                TX          90004295010
318282AA541277   MARGARET     KULKOWSKI                PA          90009762005
318284A7172B76   JARED        ROBERTS                  CO          33008494071
3182869987B639   TAMEKIA      JACKSON                  GA          90001716998
3182B52238B162   DANIEL       PERRY                    UT          90007865223
3182B661331424   JAYLA        JOHNSON                  MO          90013466613
3182B698441258   CHRISTOPHE   BARTON                   PA          51082236984
3182B7A215598B   FRANCISCO    VASQUEZ                  CA          49001207021
3182B87124B943   GARY         YOUNG                    TX          90004378712
3182B957351339   TIMOTHY      ESTES                    OH          90014199573
3182B99655B52B   RAMONA       BARAY                    NM          35033229965
3182B9A4391881   CLAYTON      COLEMAN                  OK          90010629043
3183116697B639   JEANETTE     STONEBACK                GA          90014681669
31831341A51369   SCOTT        MEADOWS                  OH          66046893410
3183188412B93B   CYNDI        KOPECKI                  CA          45051628841
3183233985B156   CARMELITA    JACKSON                  AR          23046183398
3183269354124B   JAMES        MAMULA                   PA          90013636935
3183276A131424   JOHNESE      OWENS                    MO          27505757601
31832A9815B393   NICKESHA     BRYAN                    OR          90007260981
3183312817B43B   PATRICE      MCGRIFFIN                NC          11014801281
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31833151A36B77   BLAYNE          EDWARDS               OR          90014451510
31833159A55972   VALERIE         SANCHEZ               CA          90003991590
3183316825B393   ARMANDO         SANTOYA               OR          90013941682
31833A5A77B639   CLEOPATRA       HARRISON              GA          90014700507
318348A525B52B   MARK            MARTINEZ              NM          90001318052
3183525797B639   MELVIN          PENDLETON             GA          90014682579
318353AA32B93B   PAULINA         CASTILLO              CA          90010843003
318354A8141285   MEGAN           DANIEL                PA          90012674081
3183663762B835   CRYSTAL         OSBORN                ID          42098966376
3183668252B871   ALEIA           RIVERA                ID          90013296825
318368A2672496   SHANE           BURKHOLDER            PA          90013508026
318368A654B943   CHARLES         JOHNSON               TX          90006488065
3183B23964B931   CHARITY         BRANAM                TX          76581072396
3183B559991371   PETRINA         EDWARDS               NE          90014705599
3183B85725B161   RONALD          MARTIN                AR          90008738572
3183B9A437753B   KADYBETH        THOMPSON              NV          90003509043
3184123284B943   STACEY          GUIDRY                TX          90006352328
31841298A41285   DANA            CHEDWICK              PA          90008032980
3184134317B492   AMICKE          ADAMS                 NC          90001423431
3184238367B639   SHELLEY         MILLS                 GA          90014913836
31842429A7753B   DAVID           BARAJAS               NV          90010914290
31842533A55972   SERGIO          SAUCEDO               CA          48029585330
318426A692B93B   DAVID           CESENA                CA          90013676069
3184298442B87B   DAWNA           KETTER                ID          90011609844
3184433668B16B   FRANCISCO       URBINA                UT          90014993366
3184461594B559   CHRISTINE       QUINN                 OK          90012596159
3184476955B393   PATRIK          MARTIN                OR          90015267695
3184478A891584   CRYSTAL         CONNER                TX          90000497808
3184487954124B   JEFF            CHIEFFO               PA          51035618795
318465A7391831   WALTER          LOPEZ                 OK          90012825073
3184683558B16B   ADRIANNE        MURRAY                UT          90004848355
3184814A736143   APRIL           VELA                  TX          90011301407
3184876817B449   DEBORAH         YOUNG                 NC          11079677681
31848A2684124B   HAROLD          GOOLSBY               PA          90010490268
31848A31971923   MARIO ANTONIO   CRUZ                  CO          90002130319
31849A58655972   ERENDIRA        ALCANTAR              CA          90013470586
3184B21267B449   JOSE            MENDOZA-MAJANO        NC          11018162126
3184B34377B492   TERRY           BREEDLOVE             NC          90009933437
3184B345551339   KIMBERLEY       YOUNGBLOOD            OH          90012863455
3184B369336143   JOSE            GUTIERREZ             TX          90014333693
3184B3A7855949   JOHNNY          NAVARRO               CA          90013343078
3184B662951369   RANJIT          PILLAI                OH          90013926629
3184B713377544   ORLANDO         FUENTES               NV          90009967133
3184B76A15598B   DION            BRAWLEY               CA          49034267601
3184B79417753B   VICTOR          GUEVARA               NV          43018987941
3185122487B492   BERT            SCOTT                 NC          90013282248
3185147235B253   ISMER           RAMIREZ               KY          68091014723
31851A25847931   MAKWAN          SCROGGINS             AR          90013580258
318536A7324B42   GLENDA          RAMOS                 DC          90008026073
31854242A55949   ANDRE           BLEDSAW               CA          90009432420
31854A46A91371   CHRIS           KIRBY                 KS          29020290460
31854A87841277   DANIEL          BELL                  PA          90012460878
3185552232B93B   ROGELIO         GALAN                 CA          45001395223
318559A1491831   CRISTINA        DUARTE                OK          90013639014
3185656662B93B   JAMES           GARNER                CA          90013065666
318567A637B449   TESHELLE        SANDWICK              NC          11082227063
31857491A77544   INEZ            ANDRIUS               NV          90010954910
3185789139125B   DONALD          LAMBERT               GA          90010148913
3185828142B87B   GABRIELA        GOMEZ                 ID          90001032814
3185864377B639   JOHNATHAN       EVANS                 GA          90014686437
31858643A7B639   COLBY           PEEBLES               GA          90011796430
31859A3527B492   QUITINA         FOSTER                NC          90013310352
31859A6A47753B   SHAUN           HEIKKINEN             NV          90010760604
3185B626571947   PHILIP          BISHARA               CO          32091636265
3185B7A5A5598B   DELIA           PALMA                 CA          90009987050
3186121494124B   JENNIFER        PESTOK                PA          51069912149
3186172934B943   YASMIN          MONTGOMERY            TX          90004907293
318618A7A4B281   JEFF            GIBLER                IA          90013488070
3186242194B542   JAMES           MAXEY                 OK          90014384219
3186257882B87B   JENNA           KER                   ID          42000405788
318638AA95B281   APRIL           GRIGSBY               KY          90002898009
3186444517B639   GREGORIO        CORRILLO              GA          90011924451
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3186573187B639   SHELTAVIA     MILES                   GA          90014687318
3186574562B93B   JULIO         PACHECO                 CA          90014747456
318663A4291831   DENISE        BUNNER                  OK          21044543042
3186643A141258   JALEESA       HOWARD                  PA          90013304301
3186644A347931   OSCAR         SANCHEZ                 AR          90013804403
318667A3841258   JAKE          GRAY                    PA          90005837038
31866A3928B162   MIGUEL        VEGA                    UT          31085910392
3186718425B393   TRACEY        BURBANK                 OR          90013941842
3186862217753B   KIMBERLY      WISEMAN                 NV          43086696221
3186958242B835   THOMAS        FREINWALD               ID          90014765824
3186963688B16B   KITTIE        PEACOCK                 UT          31098656368
3186979773B325   BACA          REBA                    CO          33015147977
3186987892B87B   DEREK         BOWMAN                  ID          90013478789
3186993792B87B   MARIA         AVALOS                  ID          90010419379
31869A95A7B639   WANDA         LEE                     GA          15057550950
3186B942436143   RAFAEL        CORDOVA                 TX          90014149424
3187165827B471   MARINA        TUESTA                  NC          11025516582
318717AA491584   HECTOR        MORENO                  TX          75067087004
318718A117B449   MIRNA         TRUJILLO                SC          11088668011
3187234187B449   SEVERIANO     GONZALEZ                NC          90014173418
318723A9351369   KRINA         GRIFFIN                 OH          90010103093
31872827772B76   ERICA         SILVA                   CO          90000668277
3187295292B871   JANET         BRIGGS                  ID          42012719529
318731A6936143   YESENIA       CRUCES                  TX          90014801069
3187361122B835   CHRISTOPHER   GOODIN                  ID          90010036112
31873A5355B281   CAZELLA       WATKINS                 KY          68002220535
3187412425598B   ANSEL         HENDRICKSON JR          CA          49090141242
3187452712B93B   REYNA         LUCERO                  CA          90015115271
318745A252B87B   BRET          MARVIN                  ID          90010075025
3187485A47B471   ANTONIA       WILLIAMS                NC          90009588504
3187518425B393   TRACEY        BURBANK                 OR          90013941842
3187576372B87B   SOPHIA        HERNANDEZ               ID          90015597637
31875A98A36143   DEONTA        CHITTY                  TX          90015170980
31876141A5B281   TYRIESHA      DOUL                    KY          90011661410
3187616755593B   ROSHANDA      SMITH                   CA          90007781675
3187626A536143   ANN           THOMAS                  TX          90013612605
3187661544124B   LADEA         TERRELL                 PA          51012056154
31876899A54165   SHAYLA        LANDEROS                OR          47096058990
31876968A8B16B   TRINA         RAMIREZ                 UT          90009849680
31876A5A95B393   BARBARA       MARTINEZ                OR          44515420509
3187725458B16B   DALE          TORONTO                 UT          31064372545
318781A487753B   MARIA         GONZALES                NV          43054291048
318788A6441285   DESIREE C.    HALL                    PA          90004878064
3187926A841277   SCOTT         PENNY                   PA          90014102608
3187B13572B87B   MEGAN         AGNEW                   ID          90013411357
3187B151A31494   JOSEPH        ROSS                    MO          90010751510
3187B574451369   EVETTA        COLEMAN                 OH          66050335744
3187B963755972   ALEJANDRO     RODRIGUEZ               CA          48098139637
31881192A5B281   SHAWMECA      GRAVES                  KY          68089221920
3188129658B16B   TAMI          SMITH                   UT          31023352965
318823A427B492   PAUL          ROKICKI                 NC          90014663042
3188256175B52B   JANE          SEELE                   NM          35049785617
318825A8991584   MONICA        SELLS                   NM          90007255089
318827A585598B   REBECCA       BARHAM                  CA          90000387058
318827A8155972   JOSEPHINE     HUERTA                  CA          48013357081
3188346768B162   STEPHEN       WING                    UT          31066574676
31883A5277B471   BRYAN         SHAW                    NC          90014580527
3188427635B393   BRAD          ROTHENBERGER            OR          44558672763
31884311A41277   APRIL         TURNER                  PA          90014073110
3188447165B52B   MARGARITA     PEREZ                   NM          35046434716
3188475145B398   AMBER         RHOADS                  OR          90010767514
3188532417B492   RAQUEL        ANDRADE                 NC          11015503241
3188549A691584   JOHN          HAYNES                  TX          75021044906
3188575447B471   EMILY         RUSSELL                 NC          11094027544
3188585535B281   CRYSTAL       KILGORE                 KY          68050438553
3188612327B471   KEVIN         KESSLER                 NC          90013051232
3188657A67B639   LAMEL         JORDAN                  GA          90002835706
3188674662B835   JACOB         ANACKER                 ID          90011107466
3188716749152B   FERNANDO      LARA                    TX          90014891674
3188758A95598B   CATHERINE     HILL                    CA          90012305809
3188772447B495   KARLA         CORTEZ                  NC          90008997244
31887778A51369   ANTHONY       HEART                   OH          90004347780
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3188813314B989   ALTHEA                  BROWN            TX       76508121331
318887A184123B   RAYCO                   PROPERTIES LLC   PA       51093757018
3188883A236143   LAURIE                  BURTON           TX       73597518302
3188958762B871   NAPHTALI AND ADRIANNA   CORTEZ           ID       90014705876
318897A742B93B   RAFAEL                  CRUZ             CA       90009207074
3188B57AA7B492   VERONICA                CANEAL           NC       90010665700
3188B89A97B639   SADARIA                 JACOBS           GA       90014688909
3188B979972496   HOLLY                   GUTHRIE          PA       51095859799
3189143915B52B   ROSA                    ORTEGA           NM       90013364391
31891A84955949   ALEJANDRA               ESPINOZA         CA       49081870849
3189217262B93B   SANDRA                  BLAIR            CA       90014271726
318927A5747931   BRADLEY                 MCINTYRE         AR       25003147057
3189296978B16B   LONDON                  PORTER           UT       90013129697
3189349385B156   VANESSA                 DUNN             AR       23053674938
3189366972B93B   SUZIE                   VIDALES          CA       90010696697
318939A278B16B   LEWIS                   KEYES            UT       90010769027
31893A8AA72B76   JESUS                   CORREA           CO       33035610800
3189463968B179   CHRISTOPHER             NESTMAN          UT       90011876396
31894A9348B162   MAIRA                   ROBERTSON        UT       31079150934
3189522384B943   AMANDA                  BLACKWELL        TX       76508392238
318955A9391371   NIKKI                   SHARP            KS       90011895093
3189568A22B93B   MAIS                    YOUSIF           CA       90013376802
318956A7955972   LARRY                   MARQUEZ          CA       48043766079
3189578555B52B   ROSARIO                 SILVA            NM       35074637855
318961A867B639   SHONTA                  CLARK            GA       15086581086
3189718337B639   PATRYCE                 LIGON            GA       90014691833
31898764A91232   MATTHEW                 OLLIFF           GA       14583747640
31899187772B76   GERARDO                 BANUELOS         CO       90002161877
3189936A191371   SANDRA                  RODRIGUEZ        KS       29067643601
3189955592B87B   JENIFER                 SANFORD          ID       42092915559
3189976614124B   MARTHA                  LAWRENCE         PA       90010437661
3189B284472B76   CARLOS                  MORENO           CO       90013962844
3189B375A61925   JUAN                    RUIZ             CA       46077643750
3189B572391232   TIFFANY                 EDWARDS          GA       90014055723
3189B6A6836B71   RAFAEL                  PINEDA           OR       44560156068
3189B752381642   DENISE                  COX              MO       90006917523
3189B764A7B492   JOVAN                   SEWELL           NC       90004917640
3189B814854165   JESSE                   YOAKUM           OR       90010688148
318B1131291932   ANA                     TICAS MORENO     NC       90014961312
318B1261851339   VICTOR                  THOMASE          OH       90015322618
318B2187377544   SHANNON                 GEIST            NV       90000401873
318B22A847B639   KRISTEN                 LEGEAR           AL       90014672084
318B3671591371   MECHELLE                HIBPSHMAN        KS       90009096715
318B3916855972   SHEENA                  PENSOTTI         CA       90010459168
318B3A6217753B   JACOB                   BENDER           NV       43073090621
318B415798B162   PAYGO                   IVR ACTIVATION   UT       90012811579
318B4179891831   JUAN                    LEAL             OK       21050171798
318B449495B253   SHEREKA                 FIRMAN           KY       90011534949
318B44A565B52B   CALEN                   BOGUSKI          NM       90009404056
318B4714955949   JOE                     VALENCIA         CA       49098727149
318B477275B281   VICTOR                  HILLERICH        KY       68081177727
318B4A7147B639   QUINTERA                KING             GA       90014680714
318B645262B871   SARAH                   SUTTON           ID       42013724526
318B653157B639   TRISTAN                 THOMPSON         GA       90014675315
318B6947831663   SHEILA                  ANDERSON         KS       22093059478
318B7846881642   JEANNEAN                GRIFFIN          MO       90004998468
318B813215B393   OLIVA                   CUEVAS           OR       44598901321
318B846A241285   LACY                    DANIELS          PA       90008904602
318B86A837B449   DELIO                   MORA MARTINEZ    NC       11078356083
318B874715598B   TENNEILLE               KNIGHT           CA       49006027471
318B8AA6177544   LIDIA                   BARAJAS          NV       43044650061
318B9362355972   DARWIN                  AUBREY           CA       48019263623
318B93A2A5B393   ROBERT                  HAMILTON         OR       44521943020
318B9537941258   JOSEPH                  MAZZA            PA       90013395379
318B96AA131433   STEPHANIE               CLAY             MO       90011866001
318BB485791831   LUIS                    ZURITA           OK       90010384857
318BB53754124B   RAY                     MORROW           PA       90010935375
318BB642472496   SHALAN                  THOMAS           PA       51004346424
3191166848B16B   JAIME                   RUIZ             UT       90008676684
3191179525B52B   CHELSEA                 STARKS           NM       90013457952
3191198334124B   SARAH                   HETRICK          PA       90003889833
31911A1AA5B393   AMY                     HEINRICHS        OR       44575830100
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1585 of 2500


31912152A51369   PAMELA       TEKULVE                  OH          90012601520
319121A3A51339   TIAH         ADAMS                    OH          90014621030
3191264265B52B   TERESA       LICON                    NM          35083236426
3191331637B639   MARTAVIOUS   HILL                     GA          90014693163
3191335557B639   ROSA         JONES                    GA          90011813555
3191335785B393   SHERITA      GLASS                    OR          90013583578
3191343845B161   LATRESE      LYONS                    AR          90001614384
3191357262B871   TERESA       PORTER                   ID          90013575726
3191399968B16B   CRISELDA     CASTRO                   UT          90013849996
3191436A451323   RON          DENICOLA                 OH          90004993604
3191445487B492   RENE         LAUREANO                 NC          90010394548
31914A4412B871   ELIZABETH    TERRILL                  ID          42083100441
3191534667B639   SHANEA       BUIE                     GA          90014693466
3191685294124B   FRANCINE     SHAPERA                  PA          51047408529
319169A318B162   WESLEY       HEPPLERS                 UT          31002489031
3191744712B871   KAY          PETERSON                 ID          42042224471
319174A4647931   ANGELA       RITTER                   AR          90014154046
3191813612B835   HUNTER       JOHNSON                  ID          90012751361
3191836567B639   STEPANIE     MCDOWELL                 GA          90014693656
3191B714636143   ROBERT       HERNANDEZ                TX          90012537146
3191B815841258   MONIKA       HILLS                    PA          90007628158
3191BA7755B52B   FLAVIO       PRADO-AVALOS             NM          90012710775
3192121328B16B   HAZEL        GUMBS                    UT          90014232132
31921391672B83   ROBERT       HERNE                    CO          33065913916
31921545297B57   JASON        COOVER                   CO          90010075452
3192225312B871   SEBASTIAN    MORFINES                 ID          42089572531
3192273655598B   RICKY        ARENIVAZ                 CA          90013767365
319229A5A5B281   JEREMY       BALLARD                  KY          90003409050
3192313AA2B835   DAKOTA       CLEVERLY                 ID          90014341300
3192339697753B   ALICIA       BRAUSEY                  NV          90003723969
3192356A551339   JUSTIN       MCGLOSSON                OH          90013025605
3192359672B835   AMANDA       ALEXANDER                ID          90004075967
3192388A972B76   CHISTOPHER   OSWALT                   CO          90006838809
31924157572B76   JAMES        MULLINS                  CO          90000581575
3192444867B639   VALENCIA     COLVIN                   GA          90014694486
31924467A72496   EARL         BURNWORTH                PA          51079464670
3192573A67B639   JEYVIN       SMITH                    GA          90014127306
31925AA6677544   GINA         SIDLE                    NV          90014720066
3192645672B559   DAVIDA       GUNN                     AL          90014144567
3192663599125B   CHARLES      PRIESTER                 GA          90007466359
319279A5A5B281   JEREMY       BALLARD                  KY          90003409050
319285A667B449   CRYSTAL      WEEKLY                   NC          90012875066
31928A9775B393   BOBBIE       MARSHAL                  OR          90014720977
3192953192B93B   CARLA        DE LANCY                 CA          90012495319
3192968124B281   BICH         LE                       CO          27003136812
3192968455B545   ANTHONY      RIVERA                   NM          90013786845
3192B11487B492   AUDREY       JETER                    NC          90011421148
3192B46115598B   JORGE        EVANGELISTA              CA          49000914611
3192B63A95B52B   ANDREA       SALAZAR                  NM          90010346309
3192B747A8B16B   CANDY        FREDRICKSON              UT          90014167470
3192B92188B157   GORDON       PUTNAM                   UT          90010519218
3192B986241285   BRIAN        YOTS                     PA          90007129862
3193178582B93B   LUIS         ALFARO                   CA          90013087858
31931A41A77544   COLLEEN      DYKMAN                   NV          90014370410
3193274942B835   ANASTACIA    CALAMACO                 ID          90006247494
31932927A7B639   DANIELLE     SAVAGE                   AL          90001079270
3193373A27B471   SANDRA       POTTS                    NC          90006367302
3193395485B393   DENAE        STITES                   OR          44531169548
3193455287B449   GWEN         HOLDEN                   NC          90013225528
31934927A7B639   DANIELLE     SAVAGE                   AL          90001079270
31934A8837753B   JUAN         MUNOZ                    NV          90015150883
3193559747B639   CATHERINE    POWELL                   GA          90014695974
3193571A447931   SAUL         RIVERIA                  AR          25071017104
31935844A5B52B   JARRED       GAUNA                    NM          90011498440
3193662372B93B   MICHELLE     BRATTON                  CA          90008206237
31936A1A42B87B   GLORIA       AMADOR                   ID          90013450104
3193893A12B87B   MARTIN       WILLIAMS                 ID          90009759301
3193936648B162   RONDA        THORNTON                 UT          90010543664
3193995A691584   VERONICA     BELTRAN                  TX          90013949506
31939A7848B16B   TAMMIE       NICHOLS                  UT          90013470784
3193B54257B639   TAMMI        WALKER                   GA          90014695425
3193B6A2772496   JAMIE        GRAHAM                   PA          90014956027
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3193B8A8A31424   DIANA         MALONE                  MO          90013628080
3193B95A691584   VERONICA      BELTRAN                 TX          90013949506
3194258A391584   PATRICIA      CANGAS                  TX          90014015803
3194268198B16B   DONALD        OWENS                   UT          31036636819
31942887A2B93B   EMILENA       CASTRO                  CA          90014728870
3194293264123B   GREGORY       MAYO                    PA          90006329326
3194294342B871   STEPHANIE     WARNER                  ID          90011309434
3194351342B835   BRETT         MARSHALL                ID          42053105134
3194361882B871   HEATHER       WALLACE                 ID          42012236188
3194376545B393   AMBER         PATRAW                  OR          90000357654
31944171A51369   SEAN          MITCHELL                OH          90014331710
3194454645B393   LATRINA       MADISON                 OR          90014085464
31944981A8B16B   NANCY         ISAACS                  UT          31073349810
319456A3191371   TONYA         HOPKINS                 KS          90009266031
319458A552B93B   GABRIEL       URBINA                  CA          90011618055
3194649967753B   ANDREW        SNYDER                  NV          43016324996
31946A26691831   CATHERINE     LANHAM                  OK          90014260266
319473A8391584   ANA           CASTILLO                TX          75094563083
3194789A47B492   ANSORN        TUTTANON                NC          90011788904
31948239176B44   LUSA          DE LA CRUZ              CA          90014122391
31948457A47931   JEFF          BOLDRA                  AR          90003514570
3194872785598B   GEORGE        PARKER                  CA          49086997278
3194887475B281   DEBORAH       BOSTON                  KY          68098598747
3194B317261435   MICHAEL       MCKNABB                 OH          90013803172
3194B373891584   ALMA          MAGERS                  TX          75092273738
3194B425951369   KEN           PATRICK                 OH          90004624259
3194B85872B93B   MIGUEL        CERDA                   CA          90013368587
3195136635B393   ARMANDO       SANCHEZ                 OR          44511173663
319513A6155972   SIERRA        KARLA                   CA          90004183061
3195158928B16B   SHARI         L AVERY                 UT          90008705892
3195169154B281   MICHAEL       CURPHEY                 NE          90013976915
3195247857753B   JOSEPH        VILLALVA                NV          90010214785
3195292482B871   ROGER         FAULL                   ID          90004719248
3195317494124B   JOSEPH        CORSO                   PA          90003861749
3195323337753B   LYDIA         DOWDY                   NV          90014992333
3195434212B87B   TERRENCE      BOLES                   ID          90012863421
3195531587753B   IRA           KIMBALL                 NV          90006133158
319555A9655949   NORMA         MACIAS                  CA          90012905096
319567AA751337   T             THOMAS                  OH          90009557007
319575A795B393   MEGAN         BROWN                   OR          90011895079
3195783377B639   FREDRICK      BOWSER                  GA          90014698337
31957A72891584   GABRIELA      LUNA                    TX          90013000728
319585A2951339   DESTINY       MCDANIEL                OH          90015605029
3195896534B281   FRED          BRUCE                   NE          90011209653
3195944822B835   RUBY          MIER                    ID          90014554482
3195958425B52B   IGNACIO       HERNANDEZ               NM          35006745842
3195B47617B639   ANGELA        MASON                   GA          90011824761
3195B958772496   CHRISTOPHER   CROMO                   PA          90014739587
31961342A91232   TIFFANY       PRETTY                  GA          90013943420
31961538A36B77   MARISA        MELINA                  OR          90015175380
31961945A5598B   RAFAEL        DIAZ                    CA          49052969450
31961A92891952   CANDACE       SUTTLES                 NC          90002660928
3196228A991371   KARIA         MYERS                   KS          90010342809
3196246435B393   ROBERT        SCHNEIDER               OR          90013754643
3196257645598B   VANESSA       PLACENCIA               CA          90015155764
3196285A17B639   CHERWANDA     JONES                   GA          15073228501
3196378785B393   CULVER        KRISTI                  OR          90011807878
31964143A51369   ABDALLAH      MUSA                    OH          66066581430
3196428622B871   MARIA         GUTIRREZ                ID          90001452862
3196443845B52B   EMILIO        ACOSTA                  NM          90002294384
3196443A62B871   FABIO         SOLANO                  OR          90013164306
31964858A4B943   DARLENE       ROSE                    TX          90000768580
3196515884124B   ALBERT        MASSUCCI JR             PA          51043491588
31965281A7753B   SUSANA        CORTES                  NV          90014132810
3196563777B471   KAREN         BRANCH                  NC          11084506377
31965A8A457128   HUGO          BERNAL                  VA          90010210804
31965AA512B93B   CYNTHIA       HINOJOSA                CA          90011670051
3196646647B639   SUSAN         DRISCOLL                GA          90012514664
319665A397B492   ROBERTA       GIVENS                  NC          90012935039
3196698954B281   JESUS         SANCHEZ                 NE          90011079895
3196712397B639   OCTAVIA       WYATT                   GA          90014701239
3196776A977544   BREANNA       SAMANIEGO               NV          90010467609
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3196813137B639   JOSHUA         ZUVER                  GA          90014701313
3196817365B393   MARIA          AYALA                  OR          90001731736
319682A6547931   BILLY          DAVIS                  AR          90014812065
3196848162B93B   ALEXIS         OCHOA                  CA          90015324816
3196848925B393   FLOR OLVERA    MIRIAM SANCHEZ         OR          90013274892
31968AA548B179   CHRISTA        BAILEY                 UT          90014530054
3196943867B639   CORENTHIA      FERGUSON               GA          90014914386
319694A3755972   RUBEN          GARCIA                 CA          48003314037
3196986342B93B   REBECCA        ESPHRZA                CA          90014878634
3196B231A41258   DANA           YEARMOSKI              PA          90005502310
3196B268855972   GONZALO        GARCIA                 CA          90012962688
3196B399731424   BRAIN          KASKO                  MO          90012213997
3196B45517B471   GERALD         GIVENS                 NC          11079674551
3197164144B281   VALENTINE      RED                    NE          27081936414
3197321737B639   HOLLY          GUTJRIE                GA          90014702173
31973291A91243   TISIA          BOYLES                 GA          90013382910
31973662A31424   LATEACE        GRAY                   MO          27508716620
3197412767B471   JOSE           CONTRERAS              NC          90002161276
3197425887B639   SONY           RIVERS                 AL          90014702588
319745A185B281   JONETTA        GIRTON                 KY          90001255018
3197552A94B943   ANNA           HERNANDEZ              TX          90010885209
3197553A291232   THYLLIS        MCKOY                  GA          90012385302
3197556839372B   MORRE          ASHLEY                 OH          90014975683
3197596185B281   JESSICA        HADSELL                KY          68062849618
31975A71681642   LETICIA        MARTINEZ               MO          29040400716
31976A34A47931   THOMAS         STEVENS                AR          90012140340
31976AA3991343   REY DAVID      MARQUEZ-VALENZUELA     KS          29090480039
3197723112B871   AMIE           MOFFETT                ID          42062172311
3197724A27B492   DANA           LITSCOMB               NC          90010562402
3197732567B639   CAROLYN        COPELAND               GA          90011043256
3197737337B471   MARIA          PEREZ                  NC          90014003733
3197765A651339   SOMMWR         SIMS                   OH          90014076506
3197839315B393   DWAYNE         NASH                   OR          90011123931
319792A5331424   STACEY         LOESING                MO          90006102053
319797A842B835   CHANTELLE      KATES                  ID          42034557084
3197B11212B93B   BREANN         SALAS                  CA          90012471121
3197B157591371   CESMINA        DELA PENA              MO          90011191575
3197B19A67B639   ANNA           DYKE                   GA          90014701906
3197B775254165   DAVID          HEADLEY                OR          90015137752
3198139228B16B   MANUEL         ALVAREZ                UT          31034403922
319819A185B393   MARIA          ZACARIAS               OR          90008309018
3198351A261982   RYAN           TRISTANAUX             CA          90003265102
319835A5491932   JOSE           RIVERA                 NC          90012715054
3198412875132B   KAREN          PERRY                  OH          66020221287
3198426193B391   JAMES          MCCLOSKEY              CO          90009282619
3198489597B449   ALVARO         HERRERA                NC          90013818959
319848A5155972   DENA           GONZALEZ               CA          48024378051
31984A2772B871   ISABEL         CARRASCO               ID          42061960277
31984A91991831   PORSCHA        DANIELS                OK          90013150919
3198538324B531   MICHELLE ANN   RIDENOUR               OK          90009993832
3198547984B989   STEPHANIE      GRANT                  TX          90001624798
31985919A55972   SUSANA         RODRIGUEZ              CA          90001869190
319862A227B471   JONIKA         TIMS                   NC          11006902022
3198644427B639   ZACHARY        ECKELMANN              GA          90014704442
31986444A36143   ANDY           MOLINA                 TX          90013424440
3198645748B162   JERRY          HOUSEKEEPER            UT          31089554574
3198711A78B162   MANUEL         SANTILLAN              UT          90012921107
3198753618B162   MANUEL         SANTILLAN              UT          90005305361
3198833668B162   ANGELICA       HERNANDEZ              UT          90013353366
31989793A91232   AMAKA          EBOKA                  GA          90013607930
3198B1A5A7B449   JOSE           GONZALEZ               NC          90012231050
3198B1A972B93B   ALEX           SERRATO                CA          90000621097
3198B43318B162   MANUEL         HERNANDEZ              UT          90014164331
3198B518291831   KIARHA         GALBRAITH              OK          21021845182
3198B845261972   GLORIA         ZIMMERMAN              CA          90014118452
3198B84618B162   MICHAEL        R MILLEN               UT          31034628461
3198B86628B162   IVONNE         HERNANDEZ              UT          90014108662
31991521A77544   REBECAH        CARRARA                NV          90013295210
319918A5A2B93B   JAMES          RUIZ                   CA          90012808050
3199258935B241   LINDA          GAMBLE                 KY          68057305893
3199261A48B162   SAM            EDWARDS                UT          90012786104
3199288247B639   SHANIQUA       ALDRIDGE               GA          90014668824
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31993586A77544   STEVEN              HOLTEN            NV          90013815860
3199453A87B639   SHAQWONA            SIMMONS           GA          90014705308
3199491758B162   MANUEL              SIBRIAN           UT          90014109175
31994918A36143   ELIZABETH           CANTU             TX          90013509180
3199527595B52B   FRANK               MCMURTREY         NM          90014842759
319959A118B16B   MARIA               ENCINAS           UT          90014459011
31995A47772496   FRANK               TUNSTILL III      PA          51065780477
3199619917753B   GERALD              ECKART            NV          90015091991
3199639885B52B   PAULA               MARQUEZ           NM          90014073988
3199654357B639   SHARON              WESTBERRY         GA          90014705435
31996AAA251339   ELLERED             WILLIAMS          OH          90014830002
3199793632B93B   PEDRO               MARTINEZ          CA          90013909363
3199854987B639   DRENTA              JONES             GA          90014705498
3199865594B943   ALFRED              BERRY             TX          76537786559
31999556A7B639   DANA                CAMPBELL          GA          90014705560
3199959812B835   JOAN                SAMPLES           ID          42091845981
3199B159872B23   WILLIAM             MANSFIELD         CO          90000981598
3199B239A7B449   RUBEN               PALACCIOS         NC          90002502390
3199B815572B76   RICHARD             HRICKO            CO          33047498155
3199B86985B281   BRANDON             TRAVIS            KY          90010488698
3199B91915B593   CARLOSJUAN          COCA              NM          35095019191
3199BA59691584   DANIEL              RAMIREZ           TX          90006510596
319B121277B639   JASMINE             ANDERSON          GA          90014692127
319B138928B162   TALISHA AND CASEY   FORBUSH           UT          90009143892
319B14A3455972   SUHEY               CASTANEDA         CA          90013964034
319B1673155949   JON                 MARTINEZ          CA          90011036731
319B223622B835   AMURI               KASOMO            ID          90009042362
319B2511151369   KAITLIN             BUTTERY           OH          90014885111
319B261967753B   MANUEL              DOMINGUEZ         NV          90014176196
319B292927B449   JHON                PETERSON          NC          90014099292
319B299745B281   CLAYTON             EDIE              KY          90010209974
319B2A93536143   DEE                 MARTINEZ          TX          90003490935
319B331267B492   MATHEW              KHAMSANHLONG      NC          90014483126
319B3393451341   TAMMIE              CARTER            OH          66094023934
319B363228B162   EFRAIN              SAIZ              UT          90014106322
319B3823591584   BLANCA              ORTIZ             TX          90000448235
319B38A325B52B   DAWNMARIE           MAGANA            NM          35069968032
319B41A554B281   ROLAND              BUSBY             NE          90012861055
319B459615598B   OMAR                SEGURA            CA          90000335961
319B45AA255964   MARIA               CHAVEZ            CA          90007995002
319B481A777544   MONAE               SMITH             NV          90009798107
319B4A56255936   CARMEN              FIGUEROA          CA          90008180562
319B534357B492   FREHIWET            TEWELDEBRHAN      NC          11094613435
319B583198B162   BILL                BAUMER            UT          90009398319
319B5A79A7B471   JOSE                ANTONIO           NC          90013630790
319B5AAA251339   ELLERED             WILLIAMS          OH          90014830002
319B625197B639   RONGELA             DANIEL            GA          90014692519
319B637625B393   RANDALL             SPRAGUE           OR          90000623762
319B654365598B   ABBEY               HER               CA          90014795436
319B65A538B162   MICHELLE            PALMENO           UT          90006195053
319B672814B943   PAULA               WILIAMS           TX          76592247281
319B6919147931   PATRICIA            HUGGINS           AR          25022259191
319B69A822B93B   PAUL                STALLARD          CA          90014619082
319B7134854165   MICHAEL             SPEAKLANDER       OR          90013801348
319B7255A91371   YOLONDA             KILENZA           KS          29094942550
319B752662B871   JULIENE             ORLOB             ID          42066685266
319B782AA7B471   RAY                 DINH              NC          90005638200
319B7962891584   PRISCILLA           BARRON            TX          90013209628
319B7A78741285   DANA                HILL              PA          90004740787
319B824217B449   ARMANDO             SALDANA           NC          90014812421
319B849687753B   ANA                 NUNO              NV          90013104968
319B868624B281   WAYNE               DAILEY SR         NE          27005616862
319B918287B43B   REGINA              CROSSON           NC          11015011828
319B986967B492   IMAREE              BURRIS            NC          90011318696
319BB49667B449   KAREN               MCNEELY           NC          90009584966
319BB4A817753B   GABBY               BARRY             NV          43054554081
319BB92855598B   ASHLEY              KRIKORIAN         CA          90013749285
31B1113627B492   SARAH               INGRAM            NC          90011341362
31B1123368B162   ASHTON              WHEELER           UT          90007752336
31B1124A951369   EBANY               FOSTER            OH          90011252409
31B1132A64B943   CHARLES             PICKERING         TX          90011693206
31B1168A35B393   GREENLINE           DELIVERY          OR          90013956803
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31B116A5941285   KRISTY       DOMOSTOY                 PA          90013396059
31B11893691893   BARBARA      BARRON                   OK          21036658936
31B12119791537   CRYSTAL      TAFOYA                   TX          75095941197
31B12155554165   AUSTIN       MOST                     OR          90014221555
31B1279285598B   LUZ          CHAVARIN                 CA          90012617928
31B12AA912B871   WILLIAM      LAABS                    ID          42082250091
31B1338825B52B   KELLY        ISAAC                    NM          90000433882
31B1364A484368   SANDRA       QUIROS                   SC          90011726404
31B1374345B393   CHEZARAY     SAMPSON                  OR          90008897434
31B14331793761   KAITLIN      JUSKAE                   OH          90008463317
31B14786477544   EDWARD       SNOOKS                   NV          90015347864
31B14949451369   BRITTANY     MOORE                    OH          66087489494
31B15687355972   JOY          FRAUSTO                  CA          48025536873
31B1576737B639   SHONDREA     GIBSON                   GA          15054457673
31B15899191232   JAMES        BULLOCH                  GA          14570888991
31B163A334B281   AGHA         HARPER                   NE          90012003033
31B17599391371   DAWN MARIE   BALION GARCIA            KS          90012835993
31B17813791584   GRISSEL      TOVAR                    TX          90012438137
31B1783475B393   LISA MARIE   HSU                      OR          90013938347
31B17A72157599   DAVID        PROTEXTOR                NM          90004940721
31B18157184378   BRIAN        ROBINSON                 SC          14586211571
31B18765191831   NICHOLAS     SWINDELL                 OK          21002767651
31B18998491584   CESAR        GONZALEZ                 TX          90011679984
31B1927862B87B   SHERRY       HORTON                   ID          90013932786
31B1984984B943   SALVADOR     CARDENAS                 TX          90006898498
31B19A16184378   IVAN         ALTAMIRA                 SC          90005820161
31B1B17528B162   TOM          WAKOLEE                  UT          31066891752
31B1B389155972   KAYLA        BAILEY                   CA          90014123891
31B1B42492B87B   JOSE         HERNANDEZ                ID          90013724249
31B1B516455972   ALEJANDRA    SUAREZ                   CA          90009275164
31B1B712651339   STEPHEN      KISER                    OH          90009367126
31B1B759536143   AMANDA       PONCE                    TX          90011397595
31B21148491371   GARY         FELDER                   KS          90014281484
31B2116A991584   NICOLAS      RODRIGUEZ                TX          90014471609
31B2167A685866   MARK         WASHINGTON               CA          90010726706
31B21785384368   BRETT        MCCOMAS                  SC          90013947853
31B21966A91831   DEWAYNE      NEWTON                   OK          90007879660
31B21A45354165   MARIE        MILLER                   OR          47089500453
31B222A8254165   WHISPER      WEST                     OR          90014902082
31B22456991232   MICHELE      ERVIN                    GA          90011284569
31B229A8155972   JOHNNY       RIVERA                   CA          90011619081
31B23157472496   JOSH         MONOSKY                  PA          51072381574
31B23512A36143   KIMBERLE     GAITAN                   TX          90011925120
31B2365165598B   LUIS         JIMENEZ                  CA          90012876516
31B2417315B393   JOSH         DAVIS                    OR          90010071731
31B2444852B871   ANGEL        PETRAGALO                ID          42027614485
31B2463487B492   ANDREA       LESLIE                   NC          90013856348
31B247A1954165   CYNTHIA      LITTLE NATION            OR          47046057019
31B24984931424   AIRIKKA      CORRIGAN                 MO          90012749849
31B2546397B639   AMIE         COLLINS                  GA          15053364639
31B25495172496   THOMAS       PETTY                    PA          90012764951
31B25624398B23   EMILY        WOODS                    NC          90006406243
31B25643A41258   AMY          LOCKHART                 PA          90005076430
31B25668547931   ANGELICA     CARRILLO                 AR          25045546685
31B25784655949   SONYA        MCCRANE                  CA          90012697846
31B26A4A384368   ADALID       TORRES ARTEAGA           SC          90013950403
31B26A6797B43B   AMANDA       GIBBS                    NC          90013180679
31B27575951369   VANESSA      ANN SMITH                OH          90006025759
31B27635251339   JESSICA      FULTZ                    OH          90008936352
31B2765657B449   OLIN         THOMPSON                 NC          11093456565
31B28353251369   REGINA       PERRY                    OH          90004943532
31B28396255949   PATSY        AUGUSTUS                 CA          90008863962
31B28433436143   ASHELY       SALAS                    TX          90012374334
31B287AA731424   AMY          CONAWAY                  MO          27546107007
31B2912777B471   TONYA        HALL                     NC          90009411277
31B29168A55972   DANIEL       GARCIA                   CA          90010831680
31B292A1451369   TAMARA       JOHNSON                  OH          90012092014
31B29396691584   DEYANIRA     HERNANDEZ                TX          90011283966
31B2954462B93B   BEATRIZ      RUIZ                     CA          45073845446
31B29732A7B492   FREDDIE      WATSON JR                NC          11025837320
31B2982927B492   RODNEY       RANKIN                   NC          90010148292
31B29999655939   JERRY        NEVES                    CA          48065629996
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31B2B41352B225   NICOLE         BROADUS                DC          90014884135
31B2B859936143   NICOLE         RODRIGUEZ              TX          90012788599
31B2B8A4A91584   OLGA           SOTO                   TX          75064028040
31B2B91127B476   MICHELLE       DARBY                  NC          11008889112
31B2B97218B16B   JENNIFER       MONTOYA                UT          90010769721
31B2BA6A584378   RHONDA         BENTLEY                SC          90004410605
31B2BA7512B93B   ERIC           DURAN                  CA          45074590751
31B31245451331   ERICA          LUNCAN                 OH          66017182454
31B3142A541285   AMANDA         WESTON                 PA          90011654205
31B3154497B32B   RICARDO        GONZALES               VA          90013305449
31B3198852B871   SANDRA         PETERSON               ID          90002579885
31B31A57841258   BRANDON        LAY                    PA          51065310578
31B3229897B471   WILLAIMS       FITSPATRICK            NC          90002622989
31B3248534B281   LINDA          BURTON                 NE          27076814853
31B3249245598B   JENNEQUA       GREEN                  CA          49075814924
31B32856191584   MARIA          GUILLEN                TX          90008608561
31B3288359156B   OMAR           RAMIREZ                NM          90013938835
31B3359A55598B   REY            FLORES                 CA          49005595905
31B3396765B393   CRYSTAL        NEWMAN                 OR          90005989676
31B33A24384368   CARLA          QUITERIO               SC          90013340243
31B33A3A12B93B   JAMIE          WARREN                 CA          90012980301
31B34361547931   BRANDY         ARMSTRONG              AR          25017153615
31B34495772B32   MUNKHTSETSEG   CHADRAABAL             CO          90007824957
31B345AA68B16B   MARTIKA        VIGIL                  UT          90008305006
31B34787891371   OSWALDO        MARTINEZ-GARCIA        KS          90015217878
31B34915172496   CHARLES        RANKIN                 PA          90010809151
31B34A5585598B   ZIAD           ALEXANDER SHAMMA       CA          49006680558
31B34AA6681642   DERRICK        JOHNSON                MO          29068520066
31B35522291584   ISELA          DIEGO                  TX          90009165222
31B3573645598B   LUZ MARIA      MONTOYA                CA          90014537364
31B3631215598B   NORA           SANCHEZ                CA          90014053121
31B3636792B871   DON            CATALANO               ID          90007523679
31B368A4677544   CRISTIAN       GONZALEZ               NV          90013338046
31B37365977544   ROSA           MORENO                 NV          90002603659
31B37418591584   LUCY           GARCIA                 TX          75039484185
31B37436691831   HORTENCIA      DELGADO                OK          90001554366
31B381A8A7B476   LAKECHIC       HEARN                  NC          90013391080
31B382AA941285   TINA           GLOBIS                 PA          90001692009
31B3872A18B162   CHRISTINE      SPARR                  UT          31090257201
31B38A5585598B   ZIAD           ALEXANDER SHAMMA       CA          49006680558
31B3923335B393   PAMELA         TRAUM                  OR          44500262333
31B3967485598B   KENNY          GERAD                  CA          90012076748
31B39677A5B52B   JULIA          MENDEZ                 NM          90011146770
31B397A267B639   IKEA           CARTER                 GA          90014557026
31B3986817B639   IKEA           CARTER                 GA          90014208681
31B39972951369   SHARNELL       HIGGINS                OH          90013929729
31B3B24598B16B   SHERRICK       TROY                   UT          90012072459
31B41349172496   JOHN           THOMAS JR              PA          51075133491
31B42311431424   JASAHN         WARD                   MO          90015173114
31B42384472496   MICHELE        MILLER                 PA          51083133844
31B4312328B16B   SHERYL         BIGELOW                UT          31000801232
31B43153791232   CYNTHIA        WILLIAMS               GA          90014451537
31B4346417B492   LAWANDA        LATHAM                 NC          90010214641
31B4351195B393   TANISHA        MARTIN                 OR          90001455119
31B43585247931   CARMEN         SANABRIA               AR          90014665852
31B43A4397753B   DAVID          PERRY                  NV          90014830439
31B4442248B162   BROOKE         HEMSATH                UT          90013954224
31B44563991584   EMMANUEL       SILVA                  NM          75053775639
31B44622636143   KACEY          MENCILLAS              TX          90014086226
31B4474A251339   KIARA          WALKER                 OH          90013287402
31B44862647931   NOE            PACHECO                AR          25084328626
31B45581936143   JESSICA        EDDLEMON               TX          90015515819
31B45662A91831   ALISUN         RICKENBAH              OK          90013636620
31B45748A54165   AMANDA         CULVER                 OR          90014917480
31B45A9714124B   KIRK           GONZALES               PA          90012710971
31B4624A691967   RASHAUD        DAYE                   NC          90013602406
31B46491291584   MARIA          MADRID                 TX          75011284912
31B4673497B471   GLENDY         VILLEDA                NC          90012697349
31B4684987B434   SANDRA         FORNELL                NC          90012538498
31B46866151339   DANA           PRUITT                 OH          90014308661
31B47313791584   ALBERTO        ORTIZ                  TX          90014803137
31B473A5441277   STEPHEN        JOHNSON                PA          51000743054
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31B4768AA5B281   CORDELIA    PORTER                    KY          68002976800
31B47733751578   UINICIO     CEVALLOS                  IA          90015237337
31B47787491831   MABEL       TAFOYA LICEA              OK          90010037874
31B47AAA341285   LAMAR       RUSSELL                   PA          90012050003
31B48247284368   HORACIO     HERNANDEZ                 SC          90011902472
31B48389977544   ELSA        ZAMORA CAMPOS             NV          90014333899
31B4885328B162   KAMIE       YOUNG                     UT          90012268532
31B49338257B79   KELLY       LUNGER                    PA          90012823382
31B49351191831   NANCY       CORDOVA                   OK          90011443511
31B4942198B162   ROBERT      FAIRCLOTH                 UT          90010544219
31B4954937B639   AYANA       THREATT                   AL          90014605493
31B49829A5598B   ROCIO       MARRUFO                   CA          49035918290
31B49A96941258   CARMELO     WINTER                    PA          90014520969
31B4B39217B449   HOUSTON     VERMILLIAN                NC          90014883921
31B4B723A2B87B   RAMON       HERNANDEZ                 ID          90002057230
31B5115542B87B   JEFFREY     KASPER                    ID          42082221554
31B51175447931   LUIS        GALLARDO                  AR          90011721754
31B51566972B76   GILBERTO    CASTANON                  CO          90001005669
31B5158A691584   JOSE        GONZALEZ                  TX          90002815806
31B5196932B835   PILY        JAIMES-MARIN              ID          90012629693
31B52A5A491371   CITY WIDE   AUTO BUFF                 KS          90011870504
31B53586431424   MICHELLE    ASHLEY                    MO          90014885864
31B5469295B156   CHERYL      HODGES                    AR          23012146929
31B5496648B16B   MINDY       OSTBERG                   UT          31098779664
31B5515414124B   KIMBERLY    ROMANO                    PA          51098811541
31B55664941285   THOMAS      SORICE                    PA          90014316649
31B5581897B449   KENNETH     FULLER                    NC          90013478189
31B5582A47B492   CALEB       PASTULA                   NC          90015018204
31B55A17291537   CARLOS      MIRANDA                   TX          90003600172
31B5616784B943   LAQUINTA    HALL                      TX          90014781678
31B56281951339   JUSTIN      SEELYE                    OH          90014492819
31B56A46455972   MARIA       BELTRAN                   CA          48092490464
31B585A2391371   ANGEL       GARCIA                    KS          29009435023
31B58848841277   MICHAEL     ELIOU                     PA          51023018488
31B58A4125B52B   JORGE       PUENTES                   NM          90010580412
31B59131731424   TRACY       GORDON                    MO          90013081317
31B5932632B93B   TONI        REDDITT-HORN              CA          90014193263
31B59724792853   TOM         SCHMIDT                   AZ          90014477247
31B59776791371   JESUS       ROSALES                   KS          90006287767
31B59826251339   KAYLA       PENNINGTON                OH          90015328262
31B599AA941258   JOHN        ROZELL                    PA          51025059009
31B59A71A47931   HECTOR      MARQUEZ                   AR          90008620710
31B5B637492886   SANDRA      BORJON                    AZ          90015396374
31B5B711531424   SARAH       TIEFENBRUN                MO          90014587115
31B5B99562B871   CHRYSTAL    MENDOZA                   ID          90013649956
31B5BA65891371   ROBERT      CONSTANT                  KS          90010730658
31B6117744B943   DUSTIN      DEVILLIER                 TX          76505051774
31B6129A177544   VALARIE     WINTERS                   NV          90010252901
31B61784A31424   DENECIA     ROBINSON                  MO          90014717840
31B61892891831   ANNA        MONTOYA                   OK          90011408928
31B61A96891584   MARY        ALEMAN                    TX          75035170968
31B6224373B352   YENI        GUEVARA                   CO          90005742437
31B62591A7B43B   REGINALD    PARKER                    NC          11081625910
31B6292357B639   WILLIAMS    LEE                       GA          90011599235
31B62997351339   KIMBERLY    KING                      OH          66057209973
31B6312715B52B   CHYANN      GARCIA                    NM          90009371271
31B63567A8B147   DANIEL      CHAPPELL                  UT          90012655670
31B64144536143   MARCUS      MUELLER                   TX          90014711445
31B64147691883   CORTNEY     MCKERRELL                 OK          90014801476
31B64339A5B281   ANTHONY     SIMS                      KY          90003183390
31B6444392B835   DONALD      LEITERMAN                 ID          90013964439
31B64497872B2B   CHRISTINA   BAXMAN                    CO          90010814978
31B6496A377544   MARIA       DECAMARENA                NV          43006409603
31B64A32755949   RANDI       SKARET                    CA          49081120327
31B65111236B77   CONTESSA    ROBERTS                   OR          90003621112
31B651A1355972   BENJAMIN    SWONGER                   CA          48033391013
31B65219777544   HEATHER     WRIGHT                    NV          43020232197
31B6524282B93B   KATRINA     STANCELL                  CA          45099402428
31B655A4655949   NOELIA      PEREZ                     CA          90001325046
31B66132891831   CLEOTIS     DEAN                      OK          21025751328
31B66217751369   MARAH       WITHERS                   OH          90014562177
31B66526731424   ELIZABETH   REINERS                   MO          27526425267
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31B6714A155949   ALEJANDRO    VAZQUES                  CA          49018121401
31B6726318B162   RICHARD      HANSEN                   UT          31058052631
31B67659A2B871   DUSTIN       DEPUE                    ID          90012226590
31B683A1377544   JOSE         MELCHOR                  NV          43018703013
31B6843A97753B   ELIZABETH    OLVERA                   NV          43098674309
31B68522A41285   FELICIA      LEE                      PA          90011655220
31B69338551369   CHRISTINA    PROST                    OH          90013403385
31B6956365B52B   JOSE         PUENTES-SANCHEZ          NM          90012245636
31B6998924B281   LOURIA       DEVERS                   NE          90011059892
31B69A42191371   ERIKA        BARRON                   KS          90011540421
31B6B335891371   REBECCA      SCRIVER                  KS          90015373358
31B6B4A784124B   MICHELLE     LUCAS                    PA          90012394078
31B6B523336143   THERESA      TOLDERT                  TX          90006955233
31B6B622151369   JOSEPH       ROBINSON                 OH          66063316221
31B6B64827B639   NELSON       QUEZADA                  GA          90003826482
31B6B67455B156   JACQELIYN    ESTES                    AR          23000906745
31B6B88787B471   GEORGE       RODRIGUEZ                NC          90013828878
31B71128191851   EMMA-LEE     SAXTON                   OK          90012791281
31B71232A72496   JAMIE        FOSTER                   PA          51043362320
31B71294155972   EMILY        DOMINGUEZ                CA          90010922941
31B7134167B492   PAYGO        IVR ACTIVATION           NC          90009593416
31B713A9741285   JEAN         GRAVES                   PA          90009583097
31B7177A55598B   TIFFANY      DELANCEY                 CA          90011317705
31B721A7355949   CHRISTINA    FLOREZ                   CA          49032031073
31B7316452B835   RAYMOND      WONG                     ID          90010161645
31B7331A72B93B   ANA          DANIELS                  CA          90014683107
31B7352362B835   LYUBOV       ANRIYCHUK                ID          90014985236
31B7359922B871   LARRY        FRY                      ID          42088205992
31B73648851339   THOMAS       SMITH                    OH          66070466488
31B73717472496   LINDA        RICHARDSON               PA          90000487174
31B73892A41258   RICHARD      STUTZZ                   PA          90012368920
31B74444A51339   KENNETH      MUGRAGE                  OH          90011964440
31B746A9377544   FRANCHESCA   ESQUER                   NV          90014076093
31B7478152B87B   TONY         AMARO                    ID          90012347815
31B74A2A88B16B   DEBBIE       THACKERAY                UT          31031130208
31B756A8A91549   FREDA        HUDSON                   TX          90008086080
31B75816191543   CARMEN       CARDOZA                  TX          90011328161
31B75832254165   ANGELA       GARCIA                   OR          90009908322
31B7589857B639   CALAIE       SMITH                    AL          15084398985
31B7616687B471   TASHA        BELL                     NC          11078551668
31B7693547B639   PEGGY        DAVIS                    GA          90015219354
31B77422191371   RAYMONDO     VALDEZ                   KS          90012444221
31B77647991584   SUSANA       MONREAL                  TX          90011246479
31B7768377B471   STEPHEN      BELTON                   NC          90013546837
31B78161955949   MARIA        NUNEZ                    CA          49081711619
31B78172551369   RYAN         GERSHON                  OH          90014811725
31B7819168B14B   VICTOR       DIAZ                     UT          90008691916
31B78629991232   BETTY        COLE                     GA          14524446299
31B786A688B162   GARY         MORGAN                   UT          90014456068
31B7B23382B87B   JESSICA      FUNKE                    NV          90006962338
31B7B356455972   PEDRO        CRUZ                     CA          90012553564
31B7B532A7753B   FRED         NORTH                    NV          90013905320
31B7B577391543   MARIA        PUENTES                  TX          75062125773
31B7B59992B93B   ALFREDO      MARTIN                   CA          90009225999
31B7BA68184368   GREGORIO     SIFUENTES                SC          90011020681
31B81455972496   VICKIE       BOWERS                   PA          90010074559
31B8152174B943   KEANA        GIRON                    TX          90014795217
31B815A3551369   AMY          MCINTOSH                 OH          90015305035
31B8167A25B391   TENESHA      REESE                    OR          90014626702
31B8173645598B   LUZ MARIA    MONTOYA                  CA          90014537364
31B8195757B471   ALEJANDRO    RIOS                     NC          11027069575
31B81A62791371   ROXANA       ORELLANA                 KS          90009070627
31B82228291232   TIFFANY      MCBICKER                 GA          90004542282
31B8237727753B   DANIEL       CRUZ-RIOS                NV          90011973772
31B8243645B52B   LAURA        MARTINEZ                 NM          90014864364
31B82484A4B281   MITCHELL     TYLER                    NE          90000124840
31B8279462B87B   ERICA        KOGER                    ID          42079887946
31B8281A654165   SARAH        BLALOCK                  OR          47093478106
31B82884A72496   ANGELA       HLATKY                   PA          51086748840
31B82951491584   CESAR        MARTINEZ                 TX          75020619514
31B8314137B492   SHATIMA      SHARPE                   NC          90005981413
31B8381635B156   REV DON      AKINS                    AR          23066348163
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31B83824A2B871   MCURDY      COLIN                     ID          90008938240
31B84493385965   ANGIE       LEE                       KY          66096584933
31B84529791584   FRANCISCO   VALLES                    TX          90014685297
31B847A575B52B   GUADALUPE   DEJESUS                   NM          35048827057
31B848A4A55949   GUSTAVO     RAMOS                     CA          49074988040
31B84964991831   BONNIE      PAUL                      OK          90007559649
31B85241891232   LAKISHA     PASSMORE                  GA          90008822418
31B8564965B52B   VERONICA    SAIZ                      NM          35088336496
31B8587A636143   ANNA        GUAJARDO                  TX          90014738706
31B85A51A77544   JANNA       SWARTZLANDER              NV          90007590510
31B85AA1491584   ESTELA      REZA                      TX          75040130014
31B8612A572B76   ALEX        VUCASOVICH                CO          90003151205
31B86333555972   ALFORD      OVERACKER                 CA          48049203335
31B8658862B87B   HELEN       EASELY                    ID          90015515886
31B865A3841277   SALVATORE   ANTHONY                   PA          90012835038
31B868A925B156   C EUGENE    JOHNSON                   AR          23005388092
31B87446954165   BRANDON     GROVES                    OR          47031934469
31B8761292B835   ALEX        AQUINO                    ID          90014176129
31B8773317B449   LINDA       SIMMONS                   NC          90002097331
31B87A3264B531   KATHERINE   MARTIN                    OK          90012430326
31B87A51A77544   JANNA       SWARTZLANDER              NV          90007590510
31B8816982B93B   CARLOS      ARRIAGA                   CA          45017701698
31B8848588B162   ROB         GOGONI                    UT          90010264858
31B88488A72496   ALEX        RICHTER                   PA          90014694880
31B88652651369   ROSE        WILSON                    OH          66087506526
31B8875177B449   DANIELA     DIAZ                      NC          11076477517
31B88845631424   SHELDON     BROCKELBANK               MO          90012228456
31B88AA514124B   NIKITA      WENSEL                    PA          90003760051
31B8928AA7B639   VALERIC     DOMINGO                   GA          90012492800
31B89368154165   STEPHANY    LINTS                     OR          90004333681
31B8963124B943   ALEXIS      GIRON                     TX          90014796312
31B89863641285   GERALD      PARKER                    PA          90014398636
31B8992758B16B   LYNN        MARKOS                    UT          31090799275
31B8B147655972   JUAN        LOPEZ                     CA          90012011476
31B8B39842B93B   JESSICA     KNIGHT                    CA          45016673984
31B8B3A1377544   JOSE        MELCHOR                   NV          43018703013
31B912AA82B835   MEGAN       SAVAGE                    ID          90000112008
31B9135794124B   KATHERINE   JAMERSON                  PA          51055303579
31B91919436B77   MARISOL     SANCHEZ FFR14391          OR          90008999194
31B91969A7753B   ROBERTO     PEREZ                     NV          43078879690
31B92635491584   RAYMOND     HERNANDEZ                 TX          90013946354
31B93339836143   VICTOR      TORRES                    TX          90014913398
31B9339135B393   RUDY        M LEAN                    OR          90012593913
31B93812741258   HOPE        GAMRET                    PA          90014538127
31B93A9A57753B   MARY        JENSEN                    NV          43075110905
31B9459952B871   LAURA       SCHNEIDER                 ID          90009515995
31B9462927753B   LORRIANE    RUSCELLI                  NV          90013726292
31B9463198B162   DAN         MARTINDALE                UT          31008466319
31B94A7812B87B   CASEY       PHARIS                    ID          90004040781
31B95261841277   ERIC        SIMPSON                   PA          51001202618
31B95641A7B471   PAMELA      PHILLIPS                  NC          90009366410
31B95A76474B97   JOSE        MARTINEZ                  OH          90014050764
31B962A815B52B   LEROY       CANDELARIA                NM          90012022081
31B96388A31626   SUELLEN     PARCEL-AMSLER             KS          90013883880
31B96539131424   VANITYE     BRADFORD                  MO          90011425391
31B9759387B492   KELLE       TALLMAN                   NC          90015085938
31B97943A9125B   MAREASIA    JOHNSON                   GA          90005209430
31B97A6A851339   RUBY        JOHNSON                   OH          66009470608
31B98223A41291   STEVIE      ROBERTS                   PA          90008572230
31B98239791584   ESTHER      RODARTE                   TX          90009942397
31B98635691232   ARIANNA     MOUNDS                    GA          90012996356
31B99342991371   NEISA       HERNANDEZ                 KS          90012623429
31B99A27472496   KIERRA      GIBSON                    PA          90014690274
31B9B174681642   CARLA       SANDERS                   MO          29001871746
31BB1452855949   JIMMY       ESQUEDA                   CA          90014404528
31BB154925B393   MEGAN       UPMEYER                   OR          44508475492
31BB1861191232   LAURA       BULLOCH                   GA          90014728611
31BB1873761999   JENNIFER    MCINTOSH                  CA          90010698737
31BB199315598B   WENDY       OHM                       CA          90002119931
31BB243622B835   SHEILA      CLAIRMONT                 ID          90009954362
31BB277A44B943   RAMIRO      SANCHEZ                   TX          90014687704
31BB2A77351339   CAROL       GWIN                      OH          90007450773
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1594 of 2500


31BB3321172B76   CATHERINE      TRUJILLO               CO          33038883211
31BB3776541231   BRIAN          BIGLEY                 PA          90008547765
31BB388438B162   ALEJANDRA      SANTOS                 UT          90007268843
31BB3962791831   VERLINE        CHERRY                 OK          21076189627
31BB3A84891584   JUAN ENRIQUE   SILLAS                 TX          90014090848
31BB42A5A91232   SAKINAH        BROWN                  GA          90013582050
31BB42AA355949   JASUS          RUIZ                   CA          49069852003
31BB479844B943   KANISHA        HALL                   TX          90014687984
31BB5671931849   TAMERA         FLETCHER               LA          90014576719
31BB6261277544   CARISSA        COX                    NV          43050372612
31BB6A2A355949   KATELAND       JIMENEZ                CA          90012270203
31BB8213377544   TEXEIRA        KELLY                  NV          90010752133
31BB848878B162   ANDRES         MALDONADO              UT          31091314887
31BB8632591584   JENNIFER       BURLESON               TX          90006026325
31BB88A5631424   AMY            CANNON                 MO          90006428056
31BB899217753B   MANUELA        CHAVEZ                 NV          43003629921
31BB9123A91584   RICARDO        MORALES                TX          75081981230
31BB921A641258   FELICIA        THOMPSON               PA          90013472106
31BB9267891371   JIM            INMAN                  KS          90010932678
31BB9347872496   DANNY          OPENBRIER              PA          51092993478
31BB9482472B76   MACKENSIE      BACCADORA              CO          90013744824
31BB977A141285   WILLIAM        FILLER                 PA          51079617701
31BB9893691893   BARBARA        BARRON                 OK          21036658936
31BBB36272B87B   JOSE           NUNEZ                  ID          42015563627
31BBB52562B29B   DARIUS         JENNINGS               DC          90013595256
31BBB919254165   CALDWELL       BEN                    OR          90011979192
31BBBA11661982   GOUGLAS        WILLIAMS               CA          90001850116
31BBBA91877544   HORTENCIA      CASTANEDA              NV          90002200918
3211117528B162   SHERYL         WEATHERFORD            UT          31091891752
3211146197B471   DONALD         THOMAS                 NC          90003904619
3211177584124B   MICHAEL        BETZ                   PA          90010307758
32111A56355972   EDWARD         DURAN JR               CA          48015990563
3211343A98B166   DALTON         POIKE                  UT          90010394309
3211418284B943   ALICE          WILLIAMS               TX          90013871828
32114A9782B93B   AMANDA         HUFFMAN                CA          90012790978
321157A9655972   PEDRO          HERRERA                CA          90006967096
3211583A591531   ALMA           GEPHART                TX          90012118305
3211591A55598B   TINA           LOPEZ                  CA          49064709105
3211598645B156   LATISHA        FRANKLIN               AR          90007869864
3211667122B87B   JASON          WHITE                  ID          42036306712
3211749A32B93B   MARY           NUNES                  CA          90002604903
32117A3A572452   DAVID          A PARSON               PA          90005690305
32118872A7B639   JUAN           RUIZ                   GA          15091978720
3211892967B449   DENISE         ARCHIBALD              NC          90010629296
321191A822B93B   JAVIER         GOMEZ                  CA          90012791082
3211952A38B16B   KACY           UKENA                  UT          31060445203
3211996A291831   SHERRY         PAYTON                 OK          90008549602
32119A6154124B   CHEMERS        STANLEY                PA          90012650615
3211B11745B156   QUEEN          HARDEN                 AR          23031421174
3211B127A5B156   ARTENCE        DEAN                   AR          90005101270
3211B48964B943   MARIA          MEGIO                  TX          90014864896
3211B547377544   KARLA          CORNEJO                NV          43082745473
3211B78512B871   VINCE          LEFFLER                ID          90013157851
3212161332B871   DIANNA         DUGGER                 ID          90014726133
32121A56247931   CHRISTINE      WEST                   AR          90014740562
3212243A75B52B   DIANA          MARQUEZ                NM          90013164307
321231A6147931   ISMAEL         MARTINEZ               AR          25001401061
3212333635B398   DEBORA         GUTIERREZ-             OR          90006533363
3212368A641277   NAKIA          GIST                   PA          90010666806
3212373114B281   KAROLINE       MARTINEZ               NE          90013857311
32123A9935B156   ROSALBA        MONTOYA-TORRES         AR          90012490993
3212474557B639   CRYSTAL        GREEN                  GA          90014767455
321248A365B52B   JACOB          DELONG                 NM          90012128036
3212737467B639   DANYEL         SUMBRY                 GA          15077433746
3212748462B87B   JACOB          DIAZ                   ID          90014844846
321277AA947931   CHRISTIAN      DE LA ROSA             AR          90014177009
32127A8617B43B   CALANDRA       ROWLAND                NC          11012520861
3212811767B492   THELMA         GLENN                  NC          90003201176
3212863887B471   MEIDY          HERNANDEZ              NC          90010646388
3212886146B397   TONYA          SPENCER                NH          90014768614
3212933784B943   ALEX           OSEGUERA               TX          90015123378
3212976A654165   THORNTON       TANYA                  OR          90010807606
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3212982A172B76   ANTONIA            PEREZ               CO         90002948201
3212B315491831   RODNEY             LEDDINS             OK         90014023154
3212B562254165   RICHARD            LYON                OR         90015445622
3212B736751369   AMY                OWENS               OH         90013897367
3213229587B449   MIYA               HARMON              NC         90013352958
3213234437B492   TRACY              PEARSON             NC         90014453443
3213234812B835   LAURA              GOUWENS             ID         90010853481
3213377844B943   JK                 GRIFFIN             TX         90013237784
3213428A572496   SCOTT              HOLLOWAY            PA         90015132805
32134489A72B33   PAMELA             FISHER              CO         33005484890
3213452878B162   GUILLERMO          SILVA               UT         31091365287
3213522A22B871   JESSICA            MARTINEZ            ID         90013272202
3213577427B639   ORLANDO            HARVILEY            GA         90010857742
3213587828B16B   COURTNEY N         BUXTON              UT         90010658782
3213673295B52B   JULIA              AVILA               NM         35027687329
3213674A291563   KROP               JESSICA             TX         75045897402
3213695335598B   JOSE               CINTORA             CA         90003269533
32137251A41258   SUZANNE            MORGAN              PA         51067222510
32138335A5B393   JESSICA            DAWKINS             OR         90014793350
321389A9977544   GREGORY            LARA                NV         90010989099
321392AA14B943   TRAMEIKA           HOLMES              TX         76580372001
32139531A77544   DAVID              SALAZAR             NV         90008075310
3213954734124B   LYDIA              REDMAN              PA         90003185473
3213958317B639   QUINTIN            SNOW                GA         90007185831
3213959357B492   MONTREAD           MANNING             NC         90013975935
3213962A891831   JOSE               SORIANO             OK         21092066208
3213963288B179   MERY               HERRERA             UT         90011246328
32139AA3255972   JENE               FEDERICO            CA         90010670032
3213B128141277   TANAEYA            ANDERSON            PA         90014991281
3213B13792B87B   HOLLY              HUETHER             ID         42062731379
3213BA6595598B   JOHNNY             CLEARY              CA         49005950659
3214248A791563   GLADYS             BUSTAMANTE          TX         75095804807
32142914A3B391   CHARLES            ENSLOW              CO         90009989140
3214355438165B   CRYSTAL            CLARK               MO         29058595543
321436AA32B93B   RENEE              FRAZIER             CA         90013236003
321438A5193767   RICHARD            WALTERS             OH         90004958051
32144255A41277   RYAN               PATALSKY            PA         51091462550
3214425815B269   LARRY AND SHARON   RENFRO              KY         90007402581
3214485255B156   ANNETTE            FIELDS              AR         23027628525
32144AA722B93B   BRIAN              REDDEN              CA         90012990072
3214521A141258   JENNIFER           MIHELCIC            PA         90010552101
321454A4836143   JEREMIAH           FOX                 TX         90014624048
3214557625B393   EMMANUEL           HENREID             OR         90007425762
3214597945B59B   LUIS               FERNANDO AGUILERA   NM         90004219794
321464A832B87B   STEPHEN            GLAZE               ID         90009184083
321473A685B156   JERMEY             MURRAY              AR         90013893068
32147624A31424   CULLEY             WELLS                IL        90015516240
32148687472B76   VIRGINIA           GONZALEZ            CO         33062546874
3214957134B943   FRANCISCO          SANCHEZ             TX         90002835713
3214977687B639   RAVEN              TRIPP               GA         90014987768
32149835524B88   MONIQUE            HILL                MD         90014618355
3214B16757B43B   ERIK               RAMIREZ             NC         90003581675
3214B271377544   JAMIE              EYERLY              NV         90011882713
3214B386772B76   AARON              ESCOBEDO            CO         90005713867
3214B471291531   LUISA              LEYVA               TX         90010354712
3214B49A28B166   DALLAS             CHRISTENSEN         UT         31004804902
3214B558191563   PATRICIA           GUTIERREZ           TX         90013715581
3214B68A254165   JASMINE            ALTMAN              OR         47017706802
3215147A62B93B   TERESA             MOJICA              CA         90014414706
32151593A84368   WILLIAM            BLAKE               SC         14595505930
32151A7184124B   TIMIKA             NOEL                PA         90011280718
32151AA582B871   CRYSTAL            POWERS              ID         42079960058
3215284332B835   MARIA              CRUZ                ID         42042868433
3215286634B281   AMBER              BAKER               NE         90013738663
321528A4631424   MONTRELL           NASH                MO         90010398046
321531A6877544   EFRAIN             CUENDIS             NV         43025141068
321538A615598B   LORENA             ALVAREZ             CA         49007628061
3215514525B393   SAMUEL             HERNANDEZ           OR         90014871452
3215532564124B   BRIDGET            MALONE              PA         90014323256
3215573A47B492   REBECCA            BADGER              NC         11093927304
3215575148B162   REED               HASSON              UT         31091147514
3215589435B393   PAVEL              NICKOLAYCHUK        OR         90013498943
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3215612695B156   TASWANN         POUNCY                AR          90008301269
3215642552B87B   MARY            MAY                   ID          42009994255
3215684845B52B   DAVID           GLOVER                NM          90013958484
3215746977B425   PEDRO           GARCIA                NC          90008644697
3215758295B156   SANDRA          GARLAND               AR          23039535829
3215839458B162   AUDREYCELESTE   SEXTON                UT          90004093945
3215841A62B871   MANUEL          FLORES DELHOYO        ID          90012874106
32159466A31424   MILTON          ISAIAH                MO          90013894660
3215947417B492   JENNIFER        BRUCE                 NC          90013564741
3215951494124B   BRIAN           ORDEAN                PA          90011565149
3215985634B586   DANA            ANDERSON              OK          90011168563
3215992628B162   SCOTT           ROBINSON              UT          90007549262
3215B14197B471   STEPHANIE       HUNT                  NC          90013331419
3215B212455951   GERARDO         VELAZCO               CA          90005802124
3215B282351339   VALENCIA        GRAY                  OH          90008342823
3215B69325B156   CLARICE         GRIFFIN               AR          23078086932
3215B694431424   TAMMY           GOWER                 MO          90015556944
3215B8A1A7B639   MELLISA         CREASMAN              GA          90013928010
3215B993351369   MARCUS          LEE                   OH          90011339933
3215BA27651369   JEREMY          MILLER                OH          90012850276
3216113265B393   HECTOR          MERAZ                 OR          44582111326
3216123A947931   HEATHER         PATTERSON             AR          90009452309
321613A1463639   STACEY          MCGOWAN               MO          90014973014
32162931372B76   RIGOBERTO       PONCE                 CO          90008949313
32162A4925B393   TROY            KIRK                  OR          90011370492
321631A4991531   MARCO           GONZALEZ              TX          90012131049
321633A1463639   STACEY          MCGOWAN               MO          90014973014
3216388342B87B   MARVIN          CASTANEDA             ID          90013038834
32163A9442B93B   MELINDA         OREJEL                CA          45055550944
3216411817B471   WALTER          WINGO                 NC          11092091181
3216412967B43B   TIFFANY         ATKINSON              NC          11054501296
32164A1468B162   JACOB           LEVI                  UT          90005490146
3216511374B943   JESUS           ENRIQUEZ              TX          90012061137
32165A53291356   ANDREA          BROOKS                KS          90010740532
3216628A85B393   ERIKA           RUSSUM                OR          90006432808
3216635985B156   ESHE            MUSTAFA               AR          90015203598
3216636152B93B   MARCOS          CHAVEZ                CA          90011503615
321663A475B52B   CHRIS           LISTER                NM          35040663047
32166726272B76   DESIREE         ROMERO                CO          90001207262
3216676998B16B   SHARON          WILKINSON             UT          31059887699
32166841A72496   JAKE            LEE                   PA          90014668410
3216687732B871   SHAUNA          EMARA                 ID          90011798773
3216866757B425   JOHNNY          ARGTA                 NC          90013296675
32168A3615B156   BOBBIE          CARRANZA              AR          23057860361
3216B13522B871   MARIBEL         CORTEZ                ID          90013521352
3216B568757153   ROXANA          GUEVARA               VA          90001495687
3216B788454165   YELDEZ          ASMUS                 OR          90008127884
3216B883791831   EDWIN           WEBB                  OK          21070638837
3216B96A451339   BRANDY          BOLDEN                OH          90009879604
3216BA5388B162   JESSE           CURTIS                UT          31043650538
3217164747B471   KRISTE          SMITH                 NC          90010646474
32171789A5B52B   GEORGE          DARBY                 NM          35016547890
32171AA9547931   JAIME           RODRIGUEZ             AR          25007150095
3217246684B281   MARIANA         GOMEZ                 NE          90013784668
3217259192B871   GUADALUPE       CASAS PUEBLA          ID          42059235919
32172842A51339   MELISSA         LAWSON                OH          90010888420
32173A42191563   SAUL            MARTINEZ              TX          90013250421
321741A4455972   MARISELA        CHAVEZ                CA          90014311044
3217451962B871   CHRISTY         KIRK                  ID          42009205196
32174A74371996   MARY            GONZALEZ              CO          90015100743
3217617134B943   JUAN            COLINDRES             TX          90013131713
3217674A291356   YESENIA         LUNA                  KS          90005637402
32176922A2B87B   EVONNE          MOWDY                 ID          90009399220
32176927A7B425   LISA            HADLEY                NC          90009639270
3217722944B281   MONA            JOHNSON               NE          27029972294
3217746347B449   IESHA           VAZQUEZ               NC          90013974634
3217794274124B   RALPH           OLIVERIO              PA          51098119427
3217878957B449   TRINA           HOLLIS                NC          90009677895
3217B27A17B492   RANDY           MCLEOUD               NC          90014622701
3217B3A9791563   ADRIANA         AVALOS                TX          90000243097
3217B527341258   CHRISTINE       JACKSON               PA          90007905273
3218138174B281   ROBYN           SCHMITZ               NE          27061013817
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3218146523B163   WIL         VARLACK                   VA          90007334652
321814A572B835   WILLIAM     SLAWSON                   ID          90008624057
3218165972B835   WILLIAM     SLAWSON                   ID          90013826597
3218181A98165B   MARCO       RAMIREZ                   MO          90004428109
3218222117B471   MARTHA      BARAHONA                  NC          90012742211
321826A4A91563   HECTOR      GARDEA                    TX          75090336040
32182A4238B162   RUBEN       CABALLERO                 UT          90013340423
3218346115B393   DANIEL      JOHNSON                   OR          90008484611
3218349242B835   WYATT       DAVIS                     ID          90014874924
3218535918B162   SHERRY      BROWN                     UT          31081013591
3218642374123B   NICOLE      GIVEN                     PA          90009854237
3218688449375B   SHANE       JONES                     OH          90011938844
32186981A4B943   JAMES       HOWARTH                   TX          90014659810
3218735A272B93   LEAH        SKIEWICS                  CO          90012603502
321874A655B393   LORI        WILLIAMS                  OR          90014794065
3218754294124B   DZHABBAR    ISLAMOV                   PA          51068565429
32187918A31424   NATASHA     NEWBURN                   MO          90011009180
3218831A15B536   DANIEL      SAMPSON                   NM          35083933101
3218841A391356   TOMAS       MOTA                      KS          90011874103
3218867662B835   JANINE      MORGAN                    ID          90008416766
32189166A91531   LORI        JOHNSON                   TX          90013591660
321896A1A4B943   TIARA       GARRICK                   TX          90014926010
32189AA6655951   JAVIER      GARCIA                    CA          49087370066
3218B118A91531   MARISOL     LARA                      TX          90012571180
3218B333A7B639   HENRY       RAMIREZ                   GA          90009093330
3218B35614B281   DAVID       MAYEN                     NE          90000433561
3218B5A7A5B52B   KELLY       MARTINEZ                  NM          90008045070
3218BA82891563   RODOLFO     TERRAZAS                  TX          90012610828
3219166945B52B   CARLA       BOSELLI                   NM          90001726694
3219182A291356   DEMETERIA   HENDRIX                   KS          90002828202
321922A4184368   YESSICA     ANHALT                    SC          90011532041
3219244942B835   GUY         ARBUCKLE                  ID          90007544494
3219279494B943   MARIA       CISNEROS                  TX          90015187949
32193431A7B43B   JAIRO       LOPEZ                     NC          90003744310
321941A652B93B   LAURIE      LASATER                   CA          45046831065
3219451257B471   MARCIA      PETERSON                  NC          90015335125
32194512A4124B   REBECCA     THOMPSON                  PA          90013315120
32194A74455939   SABINO      ROCHA MORALES             CA          90007780744
3219533144B943   VITA        RAYMOND                   TX          76596323314
32195A7632B835   MARY        SPEARWALKER               ID          42091520763
3219614134124B   NATHIA      CAMARGO                   PA          51016651413
321965A6151369   MICHELLE    LEDBETTER                 OH          66083285061
3219694565598B   FELIPE      YERENA                    CA          90012639456
3219698568B162   GARY        LININGER                  UT          90013649856
32196A2544B943   MAXIMINO    AVILA                     TX          90010300254
3219769835B52B   RAMIREZ     MARICRUZ                  NM          90010826983
3219848758B16B   ALFREDO     VELAZQUEZ                 UT          90012174875
321986A492B871   RYAN        OLIVER                    ID          90009446049
3219938787B429   JORGE       NATIVI                    NC          90010813878
3219973985B52B   KELLY       MCFARLANE                 NM          35031157398
321998A818B162   VALENTE     HUERAMO                   UT          90006958081
32199AA6A5132B   PAUL        LOCKARD                   OH          90006960060
3219B443472496   AMMANUEL    CASSA                     PA          90002064434
3219B55465B156   DUSTIN      KRAPF                     AR          90015455546
3219B796551339   DAVID       COLTER                    OH          66012357965
321B147A95B393   DEBRA       GRIGGS                    OR          90003924709
321B148A65B156   BERNARD     MAZUREK                   AR          23083824806
321B176984B281   JEANIE      HALL                      IA          90009887698
321B1A82455936   VICTORIA    MACIEL                    CA          90010710824
321B273442B871   THOMAS      AUSTIN                    ID          90013537344
321B28A2747931   YAMILET     LOPEZ                     AR          25027878027
321B3113555951   CELIA       AMESQUITA                 CA          90007371135
321B31A155B141   VANQUESHA   GRANT                     AR          90001541015
321B3229851369   AUNDREA     GRUBB                     OH          90005052298
321B3983A9375B   TOM         WITTEN                    OH          90009819830
321B3A6247B639   BRENDA      WILLIAMS                  GA          90013810624
321B424495B52B   JOSE        BETANCO                   NM          90013872449
321B447745B52B   SHERI       HARKINS                   NM          90011134774
321B574762B871   CAROLE      HAMMACK                   ID          42061747476
321B5836972496   AMANDA      MILLER                    PA          51069498369
321B594AA2B835   AMY         PERDIG                    ID          90014999400
321B599297B43B   LASHANDA    CUTHBERTON                NC          90003279929
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321B5A65555951   FREDRICK         MITCHELL             CA          49093380655
321B5A78A4124B   WILFRED          KASTROLL             PA          90013580780
321B6115354165   YOLAND           DAVIS                OR          90015251153
321B612484B943   ALEJANDRO        CIBRIAN              TX          90010271248
321B6172291831   MINDY            ELLIS                OK          90000471722
321B6764947931   JOSE MANUEL      HERNANDEZ            AR          90012627649
321B6A6964B943   AMY AND IBANEZ   ABDIEL               TX          90010070696
321B769A75598B   ANDREA           VASQUEZ              CA          90010236907
321B81A667B425   ERIK             RUIZ SILVA           NC          90013141066
321B834618B162   STEVEN           DEEMS                UT          90014093461
321B835415B52B   JOSE             GUSTAVO              NM          35007633541
321B899384B943   RACHEL           BONNETTE             TX          90013409938
321B8A6964B943   AMY AND IBANEZ   ABDIEL               TX          90010070696
321B99A694B943   SHONDA           EDMONDSON            TX          76507839069
321BB31775598B   NELLIE           RODRIGUAZ            CA          90009183177
321BB491155972   OCTAVIO          BURCIAGA             CA          48016134911
321BB51415598B   PEDRO            PORRAS               CA          90006905141
321BB8A4757126   JANET            NYARKO               VA          90014788047
321BB95254124B   JOSH             MARTIN               PA          90015429525
321BBA6237B492   SHELIA           MOORE                NC          90010870623
3221122A72B87B   VINCENT          PELCH                ID          90014832207
3221123842B871   RIAM             TALIB                ID          42001312384
3221126217B639   ALEXANDRO        VELAZQUEZ            GA          90004262621
322115A9991356   LAURA            GALAVEZ              KS          90011035099
32211A3915B393   KUKENA           BUZEYI               OR          90011540391
32211A77951369   MAGHAN           CREECH               OH          90004910779
322123A2151369   HEATHER          SHELTON              OH          90014693021
3221257235598B   ANGELIQUE        CHAVEZ               CA          90006145723
3221377527B639   INEZ             THETFORD             GA          90014757752
32213829A4B943   LACRETIA         HOLMES               TX          90012778290
3221391AA2B87B   LISSA            NELSON               ID          42033219100
3221451697B492   JESSICA          MILLER               NC          90013995169
3221496262B835   ROBERT           DYAS                 ID          42042869626
32214A7417B639   GALISA           HENDERSON            GA          90012040741
32214AA324124B   DAVID            ALSTON               PA          51077610032
3221538A972496   CHRISTOPHER      RAFFLE               PA          90008333809
3221576957B43B   ANTOINE          ORR                  NC          11065297695
32215AA4291543   ADRIANA          CASTRO               TX          75016240042
3221663719797B   CHRIS            JACOBE               TX          90008096371
3221665822B835   JOLENE           WESTMORELAND         ID          42097906582
3221791525598B   CLARA            CELANI               CA          49002599152
32217AA927B449   ALEN             ALEN                 NC          90008710092
3221826835598B   AMBER            HULSEY               CA          90009092683
3221834A572B76   LEVI             ABEYTA               CO          33016223405
3221855128B162   LESLI            MARTINEZ             UT          31086485512
3221885518B162   DAVID            MARTINEZ             UT          90012388551
32218A39251369   NAW              WIN                  OH          90012850392
32218A44976B44   JORGE            GIMENO               CA          90012790449
3221929775B393   NATASHA          COY                  OR          90009602977
32219528A7B492   ROBERT           KNIGHT               NC          90013535280
3221B22518B162   CLARK            BETHERS              UT          90013572251
3221B981A5598B   SUNNY            CASTRO               CA          90001239810
3221BA57291831   MISTY            MOORE                OK          90014600572
3222111614B943   WAYNE            DRAKE                TX          90001621161
3222151A831639   HEATHER          ARREDONDO            KS          22076805108
32221A48484368   JAIRO            HERNANDEZ            SC          90011570484
322222A974B281   SHIRLEY          SOPCICH              NE          27013242097
322223A387B471   ERIC             JONES                NC          90011893038
3222279167B43B   DEYSI            CARDENAS             NC          11003917916
32222989A7B492   TAMIA            HAYES                NC          90013579890
32222A9585B156   LASTER JR        NOWDEN               AR          90013750958
3222332445B52B   ANNA             MARTINEZ             NM          35098553244
3222339295B393   VICTOR           CASTILLO             OR          90014213929
3222397898165B   LUIS             RAGGOZA              MO          90001259789
3222472225B52B   EMILY            GUTIERREZ            NM          35079797222
32225626A2B871   ANGEL            BOYD                 ID          90008486260
32226181372B76   LUZ MARIA        HERNANDEZ            CO          33087351813
3222619924124B   SUSAN            EICHLER              PA          51001281992
3222693155B156   OSCAR            RAMIREZ              AR          23025379315
3222742A17B449   RENEE            CARTER               NC          90000144201
32227A3A53163B   CHARLES          KEPFORD              KS          90009170305
3222827534B929   BARBARA          FREGIA               TX          90006862753
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3222833364B281   JEANETTE        DAVIS                 NE          90008303336
32228A62A5B156   RYNETTA         GRANT                 AR          90012030620
3222912222B87B   MARIAN          JIMENEZ               ID          90011141222
3222946285B52B   JENNIFERDAWN    WIDENER               NM          90008744628
322297A7A5B156   JASMINE         BROWN                 AR          90014467070
3222B343591531   MONICA          RODRIGUEZ             TX          90011553435
3222B546355972   STEVEN          GOMEZ                 CA          90007815463
3222B779391531   ROSA            DEMERCADO             TX          75094357793
3222B845741277   ROBERTO         SCAMPONE              PA          90008928457
3223114565B156   CHANDLER        KEIAIRA               AR          90014421456
3223144817B492   CHRISTOPHER     BURCH                 NC          90014154481
3223159374B281   SHEENA          SNYDER                NE          90013765937
3223177535598B   ALFONZO         REGINO                CA          90012587753
32231A86951339   ZAKIRIA         CONYAR                OH          90013510869
32232184A7B639   SHAMIKA         BEASLEY               GA          90014281840
3223245665B393   SIERRA          GOLDEN                OR          90014794566
322337A934B281   DON             GLYNN                 NE          90014777093
3223387418B14B   ROLANDO         CHAVEZ SOTO           UT          90012068741
3223397A791531   CARLA           PEREZ                 TX          90005259707
3223666554B943   CALVIN          HARRISON              TX          90014426655
3223666A191531   DAVID           ANAYA                 TX          75030276601
32236AA365598B   JOSHUA          YANG                  CA          90014560036
3223713645598B   RICHARD         HERNANDEZ             CA          49083031364
3223728712B835   RICKI           RADFORD               ID          42034972871
3223752954B281   CHRISTOPHER     BROWN                 NE          90014865295
3223785887B449   ZANDRA          RICHARDSON            NC          90014228588
3223929385B393   KRISTIN         FINSTAD               OR          44511582938
3223932372B871   MARK            CHANDLER JR           ID          42054313237
3223939145B156   STEVEN          BOBO                  AR          23092493914
3223B941291356   JESUS           MEJIA                 KS          90008549412
3223BA4967B449   OSCAR           SANCHEZ               NC          90007150496
3224158A65B52B   JOSE            BETANCO               NM          90014155806
32241725A2B835   ERIC JASON      MACFARLANE            ID          90014887250
3224234632B87B   SALVADOR        RODRIGUEZ             ID          90015313463
3224259688B16B   MAILE           KYNASTON              UT          90013675968
32242A8352B93B   MARIA           GUERRERO              CA          90011830835
3224327A52B835   EBOR            BRUNO                 ID          90004792705
3224383A531424   CALEB           JOHNSON               MO          90001038305
3224422855B393   DELBERT         STONE                 OR          90010872285
32244516A51339   TALENA          ROBERTS               OH          66008385160
32244A6415B393   MARY            RAAB                  OR          90010770641
322452AA784368   JOSE LUIS       CERDA HERNANDEZ       SC          90007562007
3224535A941277   ROBERT          CIORA                 PA          51064813509
3224557368B162   CASTRO          IVAN                  UT          90014155736
3224638577B639   WENDY           PIERCE                GA          15034263857
3224649295B393   AISHA           BROWN                 OR          90014794929
3224658184B281   RAYFORD         HAYNES                NE          90012395818
32246667272B76   JESSE           RENDON                CO          90012926672
3224666912B871   JACOB           WILCOX                ID          42042806691
322468A2A7B471   LISA            BUCKALOO              NC          11082178020
3224792937B492   GEORGIA         M LIPSCOMB            NC          90010089293
322481A2991531   CARMEN          ADAME                 TX          90013381029
3224851673B352   ANDREW          SMITH                 CO          90001655167
3224881248165B   ARLETHA         CAL                   MO          29048268124
3224896242B87B   ATHENA          SANDERS               ID          42096539624
3224B288841258   GERALDINE       HAINES                PA          90009782888
3224B488654165   VITA            FUGATE BROWNLEE       OR          47056014886
3224BA95131424   MARURICE        GARBRY                MO          27561660951
32251142A4B281   KERRI           FREEMAN               NE          90005751420
3225138A691563   ELIZABETH       AMADOR                TX          75096513806
3225229812B87B   SALVADOR JR     LOPEZ                 ID          90012562981
322525A4891831   RANDY           CURRY                 OK          90010275048
32252AA722B93B   BRIAN           REDDEN                CA          90012990072
3225381712B93B   TIM             LEWIS                 CA          90014068171
32253856372B37   MARIA           LUZ MENDOZA           CO          90011578563
3225423A172B76   ROBERT          MATTHEWS              CO          33062552301
32254432A2B93B   SANDRA          ARAMBULA              CA          90011834320
3225453615598B   MARIANNE        FAIR                  CA          49000445361
32254867A7B492   FREDA LAVERNE   TYSON WILLIAMS        NC          90007448670
32254941A72496   LUCAS           VICTOR                PA          90005439410
322552A3254165   ARMANDO         ALVAREZ               OR          90014092032
322553A9A7B639   OCTAVIUS        PULTEPPER             GA          90012343090
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3225549768B16B   CRYSTAL     NELSON                    UT          31083324976
3225563755B393   BRIAN       OAS                       OR          90001616375
3225635745B156   JACOB       NOWLIN                    AR          90013903574
3225645A551369   MARILYN     JONES                     OH          90014364505
32257A4995B52B   EMALINA     RODRIGUEZ                 NM          90010660499
3225866997B639   REYEZ       OLMAN                     GA          90013006699
322595A9677544   KELLY       HAMON                     NV          90014905096
3225978372B835   BRETT       PINSON                    ID          42090307837
3225B57847B639   RAYMOND     WILLIS                    GA          90013005784
3225B629791831   CORY        FIELDS                    OK          90012906297
3225B91817B492   KARLA       AVILA                     NC          90014269181
3226184332B835   JULIUS      ROMERO                    ID          90012038433
322618A5836143   KENNETH     JEFFORIES                 TX          90014698058
32261A7745598B   MATTHEW     ESCOTO                    CA          90002690774
3226258995B156   MICHAEL     MCDANIEL                  AR          90006165899
3226314284B281   LEVETTE     HALL                      NE          90006811428
3226315475B52B   JUDITH      RASCON                    NM          90015081547
3226351652B835   MILLER      TINA                      ID          90004735165
3226386692B87B   JOHN        HOADLEY                   ID          90002558669
322642A4831424   LANEE       MERRIDITH                 MO          90013152048
3226476535B393   JESUS       SAN MARTIN                OR          44504717653
3226534A12B871   TAMARA      WELCH                     ID          42091503401
3226838712B871   FAIRY       HITCHCOCK                 ID          42046283871
3226854468B16B   JACKIE      REEVES                    UT          31031005446
3226867A961925   MIKE        MURPHY                    CA          90010916709
32268693A36143   LORETTA     NAVARRO                   TX          73589786930
3226875885598B   NANCY       ROJAS                     CA          90013427588
3226878287B639   SHAI        WILLIAMS                  GA          90010907828
3226884A55B393   TRACEY      LAMANCE                   OR          44511588405
322693A395B393   JOHN        WALTERICH                 OR          44514233039
3226953667B471   VALERIE     MASON                     NC          11066765366
3226983495598B   STEVE       BENAVIDEZ                 CA          90014488349
3226999A74B943   LINDA       BAYARD                    TX          90005529907
3226B44875B52B   CHRISTINE   CALLOWAY                  CA          35087014487
3226B79424B281   SERGIO      AGUSTIN                   NE          90011017942
3227155384B943   EPITACIO    CASTILLO                  TX          90012835538
3227192522B835   LUCAS       ROBLEDO                   ID          42074659252
32271A56591563   RODRIGUEZ   BLANCA                    TX          90008760565
3227261962B87B   NATALIE     MCAFFEE                   ID          42033806196
32272A1A977544   JOSE        GUTIERREZ                 NV          43056960109
3227312A277544   DANIEL      DAVIDSON                  NV          90014921202
3227315345B156   SARALENE    MCFADDEN                  AR          90014051534
322731A345733B   LAURA       LAURA RODRIGUEZ           MO          90011091034
3227321174124B   CAROLINE    SCHMIDT                   PA          51005002117
3227326A72B835   SEAN        ROSADO                    ID          90013452607
32273769972B76   TABITHA     FAZZIO                    CO          33016227699
32273913A36143   THERESA     CANO                      TX          90009479130
3227412A977544   PASCUAL     SEGURA                    NV          90014921209
3227416A736143   MARY        GARZA                     TX          90005191607
3227423462B871   HECTOR      CORVERA                   ID          90013402346
3227435774124B   KIMBERLY    CORDELL                   PA          51089863577
322744A3A3B351   SARAH       MORGAN                    CO          33071984030
3227454254B943   RAMON       REYES                     TX          90013195425
3227469795598B   BRENDA      MALDONADO                 CA          90012816979
32274A3822B93B   ROB         DOGG                      CA          90013000382
3227517942B871   BRANDEE     SLAGEL                    ID          42079001794
3227542617B471   GABRIEL     MERCADO                   NC          90008894261
32275562A2B871   TULLEN      TARVER                    ID          90015395620
322756A514B943   RODOLFO     TINOCO                    TX          90011136051
3227652A97B422   KEISHA      FAGGART                   NC          90009325209
3227657472B835   TONYA       CARTER                    ID          90007545747
3227717498B147   GLORIA      BOBADILLA                 UT          90010151749
3227747614B943   BRIGIDA     SORIANO                   TX          90006084761
32277729A91831   TORENCE     WOODS                     OK          90013157290
3227836A28B16B   PATRICIA    MENDOZA                   UT          90013053602
3227866772B93B   MARIA       CALDERON                  CA          90006436677
322789A335B156   ERICA       WILLIAMS                  AR          90015449033
3227957595B52B   JESUS       CARRERA                   NM          90011135759
3227964492B93B   MATT        GRAYSON                   CA          90015016449
322796A455B393   DYLAN       ANTONS                    OR          90014796045
3227994562B87B   KEITH       WINDER                    ID          90001519456
3227B225351339   DAVID       CHEWNING                  OH          90013802253
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3227B254A91831   TAMMY          G PEGG                 OK          21041392540
3227B9A8931424   LARRY          GREY                   MO          90011349089
3227BAA2A54165   PETTYJOHN      ANITA                  OR          90006030020
322813A5572455   SHERRY         BRAGANO                PA          51007093055
3228151467B449   MISTY          SHINE                  NC          90005925146
3228164352B87B   CHRISTINE      LAWSON                 ID          90010436435
322816A5A84368   QUANEISHA      MYERS                  SC          90015126050
3228214782B835   EDDIE          BOSWELL                ID          90014711478
3228283A791531   MAYRA          CAMPOS                 TX          90012908307
322828A955598B   ISABEL         NUNEZ                  CA          90003628095
32282A82A8B16B   TOBY           CARPENTER              UT          90005210820
32283AA5191356   JUANA          DERAS                  KS          90000440051
3228428167B425   JENNIFER       EDWARDS                NC          90008252816
322844A138B16B   TONI           PEREA                  UT          90014664013
3228462642B93B   AUSTREVERDO    ESQUIVEL               CA          90015216264
32284A2738B166   HENRY          LOPEZ                  UT          31037050273
3228621765B156   SHARON         SHEPHARD               AR          90013362176
3228662945B393   NICOLE RENEE   TLUSTY                 OR          90014796294
3228679545B393   SEAN           VORACHAK               OR          90014817954
32286A6667B639   PHILLIP        STOREY                 GA          90012530666
3228734418B162   MARIA          GARCIA                 UT          31061003441
32287926A41258   KEVIN          JOHNSTON               PA          51016859260
32287A5872B835   LAWRENCE       ARCHULETA              ID          90006500587
3228814A94124B   SERETTA        CAMPBELL               PA          51012611409
3228815424B943   TIMOTEO        VAZQUEZ                TX          90015091542
3228915312B871   SHANNON        BOEPPLE                ID          42021501531
3228956724B583   BRENDA         MYERS                  OK          90002055672
3228957272B87B   SCOTT          WARNER                 ID          42011665727
3228B44675598B   DRYDEN         MANNON                 CA          49033584467
3228B55187B449   JAMES          FREEMAN                NC          11049825518
3228B619872496   RICHARD        BAER                   PA          90013196198
3228B634691356   MONYAL         FRANKLIN               KS          29012676346
322919A774B943   KELLY          BLANCO                 TX          76542339077
32291A72654165   AUSTIN         DUPRE                  OR          90015190726
3229255A291531   CAROLINA       CHAVEZ                 TX          90006305502
32292A57955972   ADELINA        MARTIN                 CA          90006270579
322934A6741277   JUSTIN         CHARMO                 PA          90014024067
322935A1191563   LUIS           DOMINGUEZ              TX          75071105011
3229363A65B393   EDWARD         SANTOYA                OR          90014796306
3229372182B93B   JOSE           GUZMAN                 CA          90011907218
3229455995598B   FRED           WALKER                 CA          49050565599
3229484354B943   ANTHONY        ROSENTRETER            TX          90015258435
3229492977B639   SHELDON        PARKER                 AL          90013679297
322949A787B449   HOLOEGARIO     LOPEZ                  NC          90012159078
32295A7A591563   HERMINIO       TAFOYA                 TX          90001870705
3229663615B52B   AZUSENA        ORTIZ                  NM          35017866361
322967A4984368   ALFRED         YOUNG                  SC          90008437049
322968A545598B   CARLOS         MONTANO                CA          90014898054
32296A65876B7B   JESUS          GUILLERMO              CA          46005330658
3229719142B87B   AMANDA         GRAY                   ID          90014571914
32297322A4B281   TYRESHA        TEMBERLAKE             NE          90005433220
322973A727B492   JIMMY          CARTER                 NC          11095393072
32297A89654165   THOMAS         PETERSON               OR          90014240896
3229839888B147   ELSI           BOBADILLA              UT          90009303988
3229866145B393   SARA           CATT                   OR          90014796614
32298AA9972B76   MADISON        CARLENO                CO          33058440099
32299288A2B871   KYLE           GUSTAFSON              ID          90011152880
3229B395291831   DAVID          VALDEZ                 OK          90013963952
3229B675151339   DUSTIN         SANDERS                OH          90010896751
3229B739191563   ARACELI        DELGADO                TX          75041267391
322B1118A31424   KAREN          TAYLOR                 MO          90012441180
322B142532B93B   JOHN           DOE                    CA          90014554253
322B1979441285   ALINA          BIVINS                 PA          51096789794
322B223357B471   KARLA          MILLER                 NC          11064652335
322B25A668B166   RUTH           MINNIS                 UT          31086465066
322B279417B492   GYAGUS         WALLACE                NC          90012747941
322B33A582B93B   BIANCA         GONZALEZ               CA          90013123058
322B349342B871   THADEUS        GRAHAM                 ID          42058434934
322B34A7841258   JOSE           IBARRA SANCHEZ         PA          51066034078
322B392A72B87B   AMELIA         BANOS                  ID          90001119207
322B419AA5B156   BRANDI         BROADWAY               AR          90014621900
322B42A6541277   RAYMOND        COOK                   PA          90011402065
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322B4311754165   KARRIN        RADCLIFFE               OR          47075863117
322B4432272496   RONALD        MARTRAY                 PA          51097734322
322B4766191563   SHANNON       GORHAM                  TX          75014157661
322B497637B43B   ALEJANDRO     MONTANO                 NC          90003869763
322B5177A54165   ASHLEY        BAIRD                   OR          90013751770
322B5339657153   BASHIRU       KANU                    VA          90006403396
322B551754B943   RUTHIE        MILLER                  TX          90014645175
322B5A1465593B   HELEN         PEABODY                 CA          48059610146
322B618892B835   LINDA         KEENA                   ID          90014061889
322B626214B943   ROUSHAUNDA    GIRON                   TX          90001042621
322B6336391531   STACY         ZAVALA                  TX          90014843363
322B6719531424   CHARKENA      JONES                   MO          90011567195
322B691265B156   ROBERT        DANIELS                 AR          90002219126
322B715727B639   CHRISTOPHER   HULING                  GA          90014901572
322B7346A91563   CINDY         HUERTA                  TX          90012583460
322B76A1836143   LAURA         JACKSON                 TX          90015006018
322B7751477544   AMBER         LUCAS                   NV          90011137514
322B78AA341277   NAIM          NURIDDIN                PA          90013848003
322B7A3252B871   JAMES         DAVIS                   ID          42010390325
322B833914B52B   LEON          WALLACE                 OK          21521073391
322B8537141277   JEFFREY       DZIAK                   PA          51066705371
322B8559A7B43B   SHEMEKA       SCALES                  NC          90009525590
322B878A936143   ROSENDO       VELA                    TX          90013857809
322B8794191831   KYRA          RIOS                    OK          90003067941
322B8965A2162B   CHELLI        TYE                     OH          90014399650
322B922AA24B54   ROBERT        WOODS                   DC          90001382200
322B9869191531   MERCEDES      IBARRA                  TX          75004308691
322B996A231424   CORY          BRASFIELD               MO          90011009602
322B9AA4291563   ADRIANA       CASTRO                  TX          75016240042
322BB34345598B   DANIEL        MONTEZ                  CA          90009183434
322BB54A151369   PAPA          NDIAYE                  OH          66032425401
322BB627291356   LEONARD       ABRAM                   MO          90012996272
322BB655877544   RACHEL        DIMENCO                 NV          43010056558
322BB81568B16B   FLORENCIO     GARCIA                  UT          90006838156
322BB82142B87B   ALEX          SERDYUKOV               ID          90015118214
322BBAAA172496   ALBERT        DEVITO                  PA          51090470001
3231158AA91831   CRYSTAL       ROBINSON                OK          90013935800
32311A2334B943   MARIA         VILLA                   TX          76569570233
3231233187B471   GUADALUPE     MATTA                   NC          90004923318
3231262342B93B   KARIMA        PIMENTE                 CA          90008066234
32312A8514124B   NATHAN        YOCKEY                  PA          90014470851
3231387AA84368   GORGONIO      SOTELO                  SC          14591278700
3231439182B87B   MARIYA        PESINA                  ID          90014923918
3231448AA51369   EDWIN         STURGILL                OH          90001984800
3231456716192B   JOSE          BARRAZA                 CA          90003835671
3231484448B162   AMORETTE      SIGHTS                  UT          90013438444
3231493442B871   THOMAS        DUDLEY                  ID          90003789344
3231533A147931   RAMON         VILLA                   AR          25096313301
3231566832B93B   MARITZEL      MONTERO                 CA          90000546683
3231574494B943   ELGIN         JENKINS                 TX          76500847449
3231641397B43B   TINA          STEWART                 NC          11083404139
3231641452B87B   DAWN          TIMMONS                 ID          42096484145
3231649895B156   VINCENT       GRAGG                   AR          90007724989
3231684332B871   JULIUS        ROMERO                  ID          90012038433
32316A1AA54165   DENISE        RANIREZ                 OR          90013510100
3231797582B87B   JOSEFINA      CORTEZ                  ID          90009019758
323197A565B393   KYLE          GABLE                   OR          90014797056
3231B373197939   LATRICIA      NELMS                   TX          74029453731
3231B5A5791531   JADIRA        LUNA                    TX          90014865057
3231B6A992B871   ANDREW        PIPER                   ID          90012166099
3231B872791356   JOSEPH        MANIS                   KS          29011548727
3232114585598B   ELOINA        ALVAREZ                 CA          90007791458
3232149218B166   JEFF          NORMINE                 UT          90002054921
323219AA647931   JONATHAN      KILLEN                  AR          90007879006
3232215998B162   BRITTNY       RODRIGUEZ               UT          90015581599
3232313377B471   PATRICK       NEFF                    NC          11068181337
3232422344124B   PATRICK       SMITH                   PA          51051102234
3232474515B52B   AUDI          BALDONADO               NM          90014097451
32324A3147B471   KHAGENDRA     DARGEE                  NC          90010340314
3232514358165B   SALOMON       GODINEZ                 MO          90005821435
3232549577B492   ALICE         CHAMBERS                NC          90014814957
32325A84336143   SILVIA        VALENCIA                TX          90012240843
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1603 of 2500


3232648842B871   MARK        MARTINEZ                  ID          90010684884
32326A24172496   KISA        CROPP                     PA          90013940241
32326AA145B546   GEORGETTE   PADILLA                   NM          90005850014
32327159A36143   EDGAR       MONJARAS                  TX          90008941590
32327A16547931   AMANDA      COMBS                     AR          25084950165
32328A2535598B   ROBERT      GONZALEZ                  CA          90005970253
32328A7168165B   LETICIA     MARTINEZ                  MO          29040400716
3232B557A5598B   ROSALINDA   GOMEZ                     CA          90013385570
3232B55A647931   STEVEN      HENSLEY                   AR          25072935506
3232B7A615B393   JOHN        HINDS                     OR          90014797061
3232B9A122B93B   DANIELLE    MACHADO                   CA          90014839012
323312A732B93B   MARILISA    GARCIA                    CA          90013712073
3233164868B162   CONSUELO    SANDOBAL                  UT          31011146486
323318A8555972   ANITA       GARCIA                    CA          90014588085
32331A4875599B   MARIA       SANTOS                    CA          90006680487
3233254315B393   PAUL        LAZARUS                   OR          44564395431
3233261795B52B   TONY        CHAVEZ                    NM          90011136179
3233283137B453   JOSHUA      LOVE                      NC          11064798313
32332A4A32B835   RAYMOND     MAGEE                     ID          90008500403
3233357377B639   PAYGO       IVR ACTIVATION            GA          90012305737
3233373A777544   BILL        DALLMAN                   NV          43037327307
3233438887B492   JACQUEI     GREENE                    NC          90014353888
3233439854B943   ROBERT      MORGAN                    TX          90003673985
32334A77936143   MARIA       PERALTA                   TX          90012180779
3233551812B87B   CHRIS       YOUNG                     ID          42067175181
3233555AA8B586   JOSE        AGUSTIN                   CA          90014995500
3233568717B43B   SUSAN       CANNON                    NC          90003286871
32335A3144B943   JOSE        DE LA CRUZ                TX          90013930314
3233619A977544   JOSE        FERRER                    NV          90006161909
3233688315B156   TERRA       HORTON                    AR          90014778831
32337636A4124B   SARAH       BURROWS                   PA          90012626360
323385A7A7B492   PATRICIA    VILLEGAS                  NC          90003795070
3233885A547931   JASON       CRABB                     AR          90012238505
3233887714124B   TARA        VINCENT                   PA          51031868771
3233929854B943   AMBER       BOLAND                    TX          90014282985
32339412372B76   JIMMY       DOUANGPHACHANH            CO          90005714123
3233995A37B639   TREY        JETT                      GA          90013019503
3233997A75B156   CRYSTAL     WILLIAMS                  AR          90014709707
32339A25891563   RICARDO     ARELLANO                  TX          90015310258
3233B142691563   HAYDE       ARANA                     TX          90010291426
3233B2A845B393   MORGAN      SCOTT                     OR          44562992084
3233B464251369   JACKIE      RICE                      OH          90014484642
3233BAA2984368   MICHELLE    MORALL                    SC          14574360029
3234123633363B   LISA        BROOKS                    NC          90014162363
32341378A2B93B   RUSS        ALCORN                    CA          90005883780
3234223135B156   WILLIE      STARR                     AR          90014142313
323422A3947931   ANABEL      PEREZ                     AR          25062302039
32342326A7B471   LEROY       EDOUARZIN                 NC          90009933260
3234237232B87B   JOEY        HANSEN                    ID          90013283723
3234237317B492   MISTY       BRYSON                    NC          90010633731
32342AA2841298   MATT        DEMITRAS                  PA          90000110028
3234338415B52B   TENERIO     ELIZABETH                 NM          90007763841
323436A2341277   RACHEL      WRIGHT                    PA          90001966023
3234457782B835   KELLY       STROUD                    ID          90011955778
3234466475B393   FAATOIA     LAULU                     OR          90014806647
323447A2251369   IVAN        ORTEGA                    OH          90015597022
3234481672B871   JAYME       SACKETT                   ID          90013828167
32345278A8B162   BRIAN       BUCKNER                   UT          31034162780
3234556A92B835   VICTORIA    FLORES                    ID          90010895609
3234582142B87B   ALEX        SERDYUKOV                 ID          90015118214
32345A28147931   MICHELLE    CHAVEZ                    AR          25006890281
3234773435B393   BETTY       PAZ                       OR          90014797343
32348454A41285   SHANICA     VAUGHN                    PA          51046814540
323484A1472B27   ELLEN       BOELKE                    CO          33076934014
3234876657B471   PAUL        KABER                     NC          90015217665
32348A64691831   FELICIA     CHASE                     OK          90014810646
3234944567B471   TORIANO     GRAYBILL                  NC          90007744456
3234997A277544   AMALIA      VEGA DE NIEBLA            NV          90012469702
32349A64454165   HOWARD      SKELTON                   OR          90011900644
3234B16AA4B281   JEFF        HUFF                      IA          90013961600
3234B47768B162   IRVING      ACEVEDO                   UT          90010764776
3234B48537B639   MARTHA      COLBERT                   AL          90011924853
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3234BA53551369   JASMINE        JETER                  OH          66015510535
3235132A647931   RUDY           YONAMINE               AR          90011243206
3235211A75B156   ERICA          LILIANA-JUAREZ         AR          90012491107
3235219515B52B   ADRIAN         MARTINEZFIERRO         NM          90010371951
3235256438B162   ANTONIA        MORELOS                UT          90010645643
3235385137B471   SHEENA         BEACH                  NC          11003588513
3235391865B253   MELLISSA       COBLE                  KY          90008099186
3235417617B449   NATASHA        SPRINGS                NC          90010981761
3235573758B16B   JERRY          TUTTLE JR              UT          31046187375
3235596A547931   PAYGO          IVR ACTIVATION         AR          90014999605
32355995A63625   CHARLES        SILVER                 MO          90001699950
32356446872B76   NICHOLAS       CABAZOS                CO          90003174468
3235647192B87B   DAMIAN         MANJARREZ              ID          42082634719
3235739972B835   ALICIA         MARTS                  ID          90011103997
323576A5891831   JEREMIAH       WARD                   OK          90014176058
3235814528B166   CR             ORTIZ                  UT          90010481452
3235831662B93B   SALVADOR       AVILA                  CA          90013653166
3235893657B471   JENNIFER       GRIFFIN                SC          90003729365
3235B3AA991356   EMILIANO       BARGAS                 MO          90009873009
3235B58A347931   FERNANDO       PENA                   AR          90014495803
3235B91A23B365   KYLE           MENUEZ                 CO          33049709102
3235B98995B52B   SHARON         MADRID                 NM          35011649899
3235BA15A51369   MIRANDA        BROWN                  OH          90014560150
3236144528B162   ANTONIO        CERVANTES              UT          90009474452
3236152A42B871   SHARON         LACKAFF                ID          42033385204
323626A265B393   GLORIA         HUTCHINSON             OR          44511836026
32362942424B53   MIRIAN         PALACIOS               DC          90004379424
32362A33231424   CHRIS          PRETZ                  MO          90013990332
3236337518B16B   SHELLEY        COX                    UT          90013803751
3236363A15B52B   ANDRES         MARTINEZ               NM          90015096301
3236424885B52B   MARCOS         MARES                  NM          90013872488
323643A4357153   MIRIAM         PORTILLO               VA          90001563043
3236498957B492   JEMYRAN'EE     WEAVER                 NC          11073239895
32364A77891831   BILLY          RUSSELL                OK          90006920778
3236529964B943   THOMAS         DUNCAN                 TX          90014812996
32365331A5B393   EARL           MATTHEWS               OR          44513653310
3236555858B162   ANTONIO        CORONA                 UT          90015305585
3236558362B87B   BILLY          SMITH                  ID          90008065836
32365899A4B281   CATHI          GARABRANDT             NE          27063148990
3236591494B943   MADALYN        VAZQUEZ                TX          90014839149
3236655537B639   ROBIN          HOWARD                 GA          90015005553
3236667567B471   BRANDON        PARTAIN                NC          90000626756
323677AA68B162   SANDRA         DIAZ                   UT          90013627006
32367A9645B52B   JAN            SCHROEDER              NM          35069690964
3236875245B393   CHRISTINA      SAFSTROM               OR          90014797524
3236994775B156   PAYGO          IVR ACTIVATION         AR          90008349477
3236B288A7B492   NIDIA          WILLIAMS               NC          90014622880
3237153635598B   KELLY          METZ                   CA          49081935363
3237166475B393   FAATOIA        LAULU                  OR          90014806647
3237313192B835   EBERARDO       BANOS                  ID          42038081319
323733AA42B871   HEIDI          WALSH                  ID          90013623004
323734A632B93B   OSCAR          JIMENEZ                CA          90013924063
3237353754B943   EBONY DENISE   LAVAN                  TX          90011905375
3237361332B871   MARY           BITNER                 ID          90013636133
32373A2877B449   CALUDIA        HERNANDEZ              NC          90014880287
32373A65131424   PATTI          IVES                   MO          90008710651
3237426945B156   G AND H        JANITORIL SERVICE      AR          23052462694
3237433252B87B   DYLAN          LANE                   ID          90013963325
32374589A91587   ADRIANA        CHACON                 TX          75012155890
3237497647B639   CHIQUITA       HAWKINS                GA          15038569764
32374A2477B43B   AUSEDCIA       OVALLE                 NC          11027290247
3237565A62B835   MIRANDA        EADS                   ID          90009576506
3237569135B393   CHIO           SAECHAO                OR          90014806913
3237591A22B87B   YVONNE         VALENZUELA             ID          42044799102
32375A87991563   LIDIA          CAMPOS                 TX          90008890879
323761A3547931   ALFREDO        FLORES                 AR          90012211035
3237634867B471   DAMION         PEARSON                NC          11084343486
3237657A92B835   MCKENZIE       PERRIN                 ID          90005185709
3237663524B943   IRASEMA        SABAIZ                 TX          90004366352
3237672595B393   BASUKUMBI      WAMULUMBA              OR          90014807259
323773A1391356   DERRICK        DUNN                   KS          90014923013
3237748922B871   SARA           ALONSO                 ID          90009954892
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32377A4427B639   MICHELLE      MCLESTER                GA          90014750442
3237825837B471   JUDY          HOUSE                   NC          90014822583
3237859752B871   PATTY         CARRIILLO               ID          90009725975
323788A9572496   KAREN         STEWART                 PA          90013468095
3237916575B393   MIGUEL        MEJIA                   OR          90010581657
3237922978B162   TONY          RICARDES                UT          31092742297
323794A5347931   PREACHER JR   BALOS                   AR          90014934053
323795A437B449   ANDREA        HOLT                    NC          11065965043
32379A9952B87B   JOSE MANUEL   RUIZ SANDOVAL           ID          90005800995
3237B23417B471   LOMAMI        OTEKA                   NC          90014592341
3237B58995B156   DANIEL        GOFF                    AR          90014455899
3237B66242B87B   JASON         UHLENHOPP               ID          42043836624
32381552A77544   RACHELLE      MILLER                  NV          43090075520
3238161472B93B   JONAS         DOMINGUEZ               CA          45071596147
3238183632B871   TRAVIS        ELLIS                   ID          90014128363
3238191564B281   AMOS          LACKORE                 NE          90005379156
323824A268B162   CARMA         WILLIAMS                UT          31086224026
32383627A2B871   MISTY         SPOOR                   ID          90013046270
32383818A54165   SHERRY        JOHNSTON                OR          90012938180
32383957A4B281   BEVERLY       WILLIAMS                NE          27011039570
3238399A191531   ERNESTO       AMEZAGA                 TX          90015129901
32383A8415598B   EVELYN        ALVAREZ                 CA          90014130841
3238461762B93B   SUMMER        MARINESE                CA          90013016176
3238466142B835   KRISTEENA     MIDDLEBROOK             ID          90012606614
32384A64A2B871   CHRISTINA     DUNBAR                  ID          90014780640
32385A1518B162   GREGORY       WARNER                  UT          31071750151
32386A7A65598B   MANUEL        ROCHA                   CA          49053720706
323873A322B93B   SAUEL         RUBEN                   CA          90013153032
3238742474B281   JOSE LUIS     GUERRERO                NE          90010464247
3238755212B87B   COLLEEN       CONDON                  ID          42001485521
3238758892B93B   PATRICIA      SORIA                   CA          90014525889
3238779965B393   IONELA        BENTEA                  OR          90014807996
3238796294124B   MARISA        DUSETZINA               PA          90012489629
3238993A77B492   STEPHANIE     RICE                    NC          90012469307
3238B415451339   ERIC          CALHOUN                 OH          66081334154
3238B41695598B   ART           ALARCON                 CA          90011384169
3238B732A2B87B   DAVID         ESPARZA                 ID          90010667320
3239123857B639   ARIN          ADAMS                   GA          90008272385
3239231532B93B   BIANCA        GONZALEZ                CA          90013123153
3239231AA54165   KRISTIN       STUCKRATH               OR          47093483100
3239241A25B393   KAREN         FRANCO                  OR          90005804102
323924A868B16B   CHRIS         SLY                     UT          31047844086
32392833A77544   JONATHAN      RAMIREZ                 NV          90013088330
3239284A42B871   CAMRON        BRISTOW                 ID          42050868404
32392981A55931   MARIO         GUERRA                  CA          90009559810
32393978A4B281   CRYSTELL      ORENT                   NE          27076979780
32393AA4A5B375   GREGORIA      CUALIO                  OR          90009720040
3239448675598B   ARMANDO       LOPEZ                   CA          49064344867
3239478415B52B   ANTHONY       SANCHEZ                 NM          90014637841
3239493A35B393   RON           LIEB                    OR          90014819303
32394AA394B943   IRIS          OLIVA                   TX          90013770039
3239681A691531   MARIBEL       GOMEZ                   TX          75020628106
3239743212B87B   CLAUDIA       PEREZ                   ID          90013584321
3239756854124B   DARLA         POPE                    PA          51050115685
3239768375B156   DIANNE        WILLIAMS                AR          23012966837
3239846A641285   CASIE         WOODS                   PA          90002584606
3239848894B281   JINORA        GARCIA                  NE          90014114889
3239916A15B156   TERRI         GAINES                  AR          90013701601
323991AAA2B871   DAWN          SKANK                   ID          90001191000
32399A5A855972   PAULINE       ZAMUDIO                 CA          48027520508
3239B16418B16B   CRYSTAL       ARENDTSEN               UT          31058651641
3239B3A5661993   GLEN          HAVENS                  CA          90011183056
3239B5AA68B162   ANDRES        CORDOBA                 UT          90010225006
323B125682B87B   MARY          ROBINSON                ID          42066332568
323B12A4291531   ALFREDO       RAMIREZ                 TX          90013592042
323B1413577544   CORRINE       TOLMAN                  NV          90009574135
323B182888165B   IRENE         GARCIA                  MO          90012288288
323B197932B835   GRAYSON       STODDARD                ID          90013659793
323B223927B471   YOLANDA       HALL                    NC          90001812392
323B2662447931   SCOTTY        CASSIDAY                AR          90002286624
323B274955598B   MARIA         JACINTO                 CA          90013167495
323B27A4677544   MIRNA         RUIZ-RICO               NV          90014967046
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323B36A3747931   SOSA              MARTINEZ            AR          25050476037
323B3826436143   RACHEL            SALAZAR             TX          90010268264
323B4417851339   MELISSA           WILSON              OH          90008644178
323B44A1A7B492   JASON             LUCAS               NC          90011464010
323B45A8991531   LISA              LOPEZ               TX          90006075089
323B48AA491831   WILLIE            ROBERSON            OK          90014478004
323B4911A5B393   MIKE              JONES               OR          90014819110
323B513547B449   MARIO FRANCISCO   MORALES ORTEGA      NC          90012741354
323B5561391531   MICHELLE          HOLGUIN             TX          90014435613
323B5A3A52B93B   JESUS             LOPEZ               CA          45016760305
323B5A9A551369   TESA              PETTWAY             OH          66095040905
323B5AA8972496   EBONY             KELLAM              PA          90013940089
323B618697B471   MICHAEL           LASSITER            NC          90013921869
323B61A2455972   FELICIA           MORENO              CA          90012271024
323B6479A4B281   CRYSTAL           DIMAS               NE          90013534790
323B693A57B639   JAZMON            BURTON              GA          90014909305
323B7118247931   JESUS             ESCOBAR-PADILLA     AR          90013051182
323B7341384368   GUZMAN            SANTIAGO            SC          90009763413
323B761712B87B   RACHEL            TEWS                ID          42018786171
323B7868191831   JOSHUA            LOCKRIDGE           OK          90000808681
323B8224341258   GARY              HARRISON            PA          51038672243
323B8787A72B76   LAWRENCE          PRICE               CO          90002947870
323B881254B943   FAYA              WILLIAMS            TX          90013318125
323B9254972496   LORI              GRIFFITH            PA          90014992549
323B929932B93B   TRUDY             NORTHERN            CA          45034102993
323B973415598B   MARGARITA         ARREDONDO           CA          49084297341
323B9A58491525   OSCAR             GONSALEZ            TX          90012870584
323BB15824B943   ALEXANDER         ZAMORA              TX          90015091582
323BB36637B449   MARIA             ROJAS               NC          90015173663
323BB625A36143   MARK              TORRES              TX          90014176250
323BB868A8B166   JASON             GROVER              UT          90002608680
323BBA3715B52B   MAXIMILIAN        MARTINEZ            NM          35027380371
3241114AA31424   BROOKE            STRODE              MO          90011011400
32411242A4124B   DENISE            KENNEDY             PA          51059652420
32411924A55972   EVA               ZAVALA              CA          48057649240
32411A2215B156   GIDEON            TRIF                AR          90013930221
3241238178B162   JORDAN            BAYINGTON           UT          90014343817
3241241224B943   KAYLON            FIELD               TX          90012754122
3241256295B52B   FIDEL             AVILA-LOZANO        NM          35007055629
32414472A4124B   FELIPE            ALONSO BARTOLO      PA          90006954720
3241456547B449   EARL              WHITE               NC          90001085654
324149A3A91831   BRADLEY           CUNNINGHAM          OK          21004619030
3241514417B471   ERIBERTO          CASTRO              NC          90013891441
3241583AA4B943   ANTHONY           GOUDEAU             TX          76510228300
324158A7184368   AURORA            BARRIENTOS          SC          14503228071
3241688262B87B   JACOB             MONTGOMERY          ID          42085098826
3241841475B393   CELINE            ANDEREGG            OR          44532964147
3241879577B492   CRYSTAL           WEATHERS            NC          90011307957
324191A358B18B   ROXANN            AUSTIN              UT          90012481035
3241B14872B87B   DEBBIE            DAVIS               ID          42056971487
3241B218572B35   LEROY             GURULE              CO          90013582185
3241B256A55972   PRESTON           FOLEY               CA          90010322560
3241B28788165B   PHILLIP           JOHNSON             MO          29010752878
3241B35497B639   CARLISA           COPELAND            GA          90013343549
3242155287B639   DORAZE            MURRAY              GA          90009585528
324217A317B471   XIOMARA           SARAVIA             NC          90013937031
32421A8868B16B   WALKER            MCBRIDE             UT          31021720886
3242225A35B393   JAMES             WATT                OR          90014382503
324224A512B87B   RUSS              HAM                 ID          42055244051
3242276437B447   TASHYKKA L        SLADE               NC          90011027643
32422776A91831   CHELSEA           JORDAN              OK          90009397760
32422A25631424   ARNETHA           WHITE               MO          90013020256
32422AA545B52B   KIM               HINE                NM          90015140054
324231A384B943   ROXIE             GUILBEAUX           TX          90013931038
324231A694124B   WALTER            CLINE               PA          90008051069
3242339A855972   BRIAN             VIERA               CA          48047993908
3242347782B87B   JENNIFER          HILLHOUSE           ID          90014694778
3242371675B393   MARIA             NEGRETE             OR          90005347167
3242372457B471   VILMA             REYES               NC          11046997245
324237A5791531   LUDIVINA          RODRIGUEZ           NM          90003227057
32423A76936143   ALISON            MIDKIFF             TX          90010940769
324248A9291831   ALICE             KINMON              OK          90013458092
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3242517A78B162   ASHLEY        SUTTON                  UT          31091461707
32425964A55972   CAMISHA       CHATMAN                 CA          90011439640
3242598838B166   ADAM          STEPHENS                UT          90010799883
32425A77691232   BRANDI        TOODLE                  GA          90002170776
3242619257B471   ANORE         HOWARD                  NC          90006631925
3242638545B52B   NIKKI         MORGAN                  NM          90010953854
3242737A777544   MARCOS        QUINTANILLA             NV          90015183707
3242782382B835   NOEL          QUILANTAN               ID          90014778238
32427897936B77   DANIEL        MORFIN                  OR          90013058979
3242811527166B   KEVIN         JOHNSON                 GA          90010071152
3242858648B162   ARMANDO       BARBOSA                 UT          31002715864
3242858A755951   MARCELINO     FRANCO                  CA          90002435807
3242885345B52B   ZONIA         GONZALES                NM          35033098534
324288A6A91831   JONATHON      ARCHAMBEAU              OK          90000868060
3242925462B93B   DAVID         ORTEZ                   CA          90014532546
32429498A51369   DIAMOND       G                       OH          90013964980
324294A4954165   VERSINIA      WALKER                  OR          90014104049
3242966162B835   JEFF          MAYER                   ID          90013536616
324297A6251339   PAMELA        WENDLING                OH          66065207062
3242982985B393   JIMIS         ALEXANDER BETANCO       OR          90014808298
3242B32415B393   BRIAN         GRUSKIN                 OR          90011273241
3242B51575B52B   SAMUEL        HICKS                   NM          90014625157
3242B62642B93B   AUSTREVERDO   ESQUIVEL                CA          90015216264
3242B68A654165   CHRIS         FAIN                    OR          47060056806
3242B93A82B87B   ALEXYS        YOUNG                   ID          90003599308
3242B968451339   DAVID         REYNOLDS                OH          66004079684
3242BAA7955972   EDWARD        LEMUS                   CA          90009800079
3243136392B835   TIA           SATECHER                ID          90007673639
32432151A47931   BETTY         HARRY                   AR          90011231510
3243296994B281   TROY          CHASE                   NE          27002579699
3243316618165B   JUAN          ZARAGCZA                MO          29068421661
32433946A4B943   ANGELICA      VANEGAS                 TX          90014839460
3243416732B93B   TONY          ORTIZ                   CA          45076681673
3243432644B22B   PRISCILLA     DEBRO                   NE          90008013264
32434349A2B255   INDIA         CARTER                  DC          90000943490
3243488575B156   AERIAL        SCOTT                   AR          90010948857
324353A4451369   JUSTINE       BURNS                   OH          90010993044
32435A9245B393   TEISA         FUKOFUKA                OR          44548550924
3243617684124B   KARISSA       PETRUZZI                PA          51000241768
324361A7355972   NOEL          LOZANO                  CA          90012851073
3243657157B492   GARY          MOSS                    NC          11005015715
32436663A51369   JEFFRY        FLINT                   OH          90010456630
32436A25631424   ARNETHA       WHITE                   MO          90013020256
32436A3778B16B   AMBER         NEWELL                  UT          90008960377
3243729327B492   ALLEN         BILLY                   NC          90013222932
3243746647B449   MARIA         PERIC                   NC          11096534664
3243847142B255   SHELLEY       RHODES                  DC          81058694714
32438A28831424   MACHAEL       REGNA                   MO          90009010288
3243988255598B   JESUS         ROMERO                  CA          90011168825
32439969872B76   DONAVAN       GARCIA                  CO          90001869698
3243B47994124B   IONA          LOFTON                  PA          51046014799
3243B66A22B87B   MARIA         ESPINOZA                ID          90014156602
3244173812B87B   MEGAN         GUMPP                   ID          42083347381
3244254A291563   MARIA         CANO                    TX          90011035402
324427A6151339   JARED         COLLINS                 OH          90013627061
32442859A55972   DANIEL        ALAMILLA                CA          90014158590
32442A1292B835   RACHEL        COOK                    ID          42083570129
3244383475B393   NATASHA       ROTH                    OR          90014808347
3244421794B281   CRYSTAL       LEIBER                  NE          90013812179
3244448275B393   KEARA         HAGER                   OR          44549024827
3244464782B835   ERIC          KASTEN                  ID          42009866478
3244481A557128   VICTOR        VASQUEZ                 VA          90002338105
3244544362B93B   SACHINJEE     SIMUGH                  CA          90013664436
32445458636B77   JUAN          LOPEZ                   OR          44512914586
3244555612B871   JANET         CRAVENS                 ID          42006885561
3244581532B835   AMADELIA      VARGAS                  ID          42003268153
3244622494B943   KEESHA        JONES                   TX          90013542249
3244651445B393   ALEJANDRO     DIAZ                    OR          44582575144
3244713185598B   DARLENE       HAWKE                   CA          90014391318
32447169A91531   JACOB         CRUZATA                 TX          90012211690
3244777734B281   DAVID         MANKAMYER               NE          27096077773
3244967832B835   JOSE          OLMUS                   ID          90014546783
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3244979A65B52B   ASA         RUTH                      NM          90014637906
324498A9121929   JOYCE       HEROUX                    IN          20535688091
32449A2417B471   ROBIN       TEAHL                     NC          11006020241
3244B24314B281   MAURTICE    BAUGH                     NE          27094312431
3244B33118B162   KINA        FANGUPO                   UT          31084873311
3244B398255951   FREDDY      ZEPEDA                    CA          49057233982
3244B91A55B156   STEPHANIE   OLVERA                    AR          90014779105
3245132884B281   LUCIA       SIMON                     NE          90009543288
3245166977B471   TONY        SIMPSON                   NC          11003666697
32451684472B76   STEVE       LUCIANO                   CO          90003176844
3245197A17B639   BREONNA     MCGHEE                    GA          90012209701
3245258494B281   JAMES       LARAVIE                   NE          90011395849
3245279927B471   WILLIAM     STEWART                   NC          90013167992
3245337892B871   CHRISTIAN   HOLBROOK                  ID          90013393789
3245338827B639   EDWARD      SILVAS                    GA          90011693882
3245381137B492   JUANITA     BROWN                     NC          90006498113
324538AA691563   BLANCA      TRUJILLO                  TX          75089148006
32453A39491232   JOHN        SIMMONS                   GA          90013520394
32453A64941285   JASON       NEWMAN                    PA          90008830649
32454621A2B871   KIM         SMITH                     ID          90013636210
32454A33354165   VIDAL       MARTINEZ                  OR          90006770333
3245538274B281   JULIA       BREKEL                    NE          27068373827
3245741467B639   NATASHA     WASHINGTON                AL          90008314146
3245753314B281   RONALD      POLKINGHARN               NE          27048605331
3245783955B393   JESSE       MILLER                    OR          90014808395
32457A8A885933   MARVIN      ROBERTSON                 KY          67075470808
3245828933B38B   KENSI       NOZIME                    CO          90001142893
3245838377B471   JAMES       TONETTI                   NC          90000653837
324585A9151339   RAMENIA     CHISHOLM                  OH          66069575091
3245894625B393   IGOR        KASHUL                    OR          90014819462
3245942165B393   LINDA       WESLEY                    OR          44564434216
3245958A441277   LINDA       LUTTON                    PA          90014505804
3245B12515B156   YULANDA     SPEED                     AR          90007731251
3245B1AA27B471   HARI        BASMENT                   NC          90004291002
3245B29A18B162   DON         RILEY                     UT          90007552901
3245B838854165   MERCEDES    SALINAS GUSMAN            OR          90009268388
3245BA2928B166   LONGMIRE    RICHARD                   UT          90004530292
3246172275128B   MARIA       DELTORO                   CO          90012107227
32461A68891831   MARK        WHITED                    OK          90008070688
3246291A255933   MARTHA      TAPIA                     CA          90007719102
3246334568B18B   NICK        GOSDIS                    UT          31032353456
32463972A91356   JUAN        CONTRERAS                 KS          90014899720
32464177A2B835   SHANNON     STONE                     ID          90014501770
32464271372B33   DAVID       RADKE JR                  CO          90008052713
3246439188B166   JINNY       BRIMLEY                   UT          90010103918
3246439232B871   SONDES      AHMED                     ID          90008383923
3246474732B87B   ELISEO      DURAN                     ID          90010437473
3246483AA51339   LUIS        SEGURA                    OH          90014958300
324649A7791544   ESTHER      MEYERS                    TX          90013119077
3246511717B639   SAMUEL      GOMEZ                     GA          90007991171
324652A434124B   MARRY       STEICHER                  PA          90014312043
3246534812B871   CHRISTY     THOMAS                    ID          90015333481
3246552472B835   KAREN       FORREY                    ID          90010455247
3246554412B87B   TIM         TALLEY                    ID          42008165441
3246584155B393   JUANITA     GLASS                     OR          90014808415
3246594295B52B   FRANCISCA   FILETO                    NM          35035349429
32465A63591563   JOSE        MIRANDARIVERA             TX          75098750635
3246631848B16B   JOSE        ESPINOSA                  UT          31017743184
3246687684124B   JON         ARGRO                     PA          90013118768
3246724142B87B   ELIZABETH   STEELEI                   ID          90012452414
3246739AA7B471   TYQUANE     CHANDLER                  NC          90014533900
3246777732B87B   BRODY       VOLKERS                   ID          90013197773
3246857272B87B   SCOTT       WARNER                    ID          42011665727
3246915628B16B   JOSH        JAMISON                   UT          90013381562
32469AA574B943   HEIDI       TORRES                    TX          90013570057
3246B263941285   JERMORE     GATEWOOD                  PA          90010562639
3246B27A257367   TWANESHA    GRANT                     MO          90014212702
3246B47438B166   RICH        HERBON                    UT          31094104743
3246B549436143   DESIREE     GARCIA                    TX          90003375494
32471662A77544   ANA         GARZA                     NV          90004946620
32471A5184B281   MARK        NUNEZ                     NE          90006880518
3247284A27B471   ROBERT      SCHLALINE                 NC          90014828402
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3247593324B221   RIKKI           FREEMAN               IA          90001419332
32475A6775B156   JOSE            WINDER                AR          90013420677
3247619A73B399   GONZALEZ        GABRIEL               CO          90011151907
3247812315598B   DIANNA          ORTEGA                CA          49025101231
3247817897B471   ALEXANDER       ONOH                  NC          11033031789
3247947235B253   ISMER           RAMIREZ               KY          68091014723
324795A477B449   JOYCE           JONES                 NC          90000165047
3247985A391531   VALENTINA       ISAAC                 TX          75028718503
32479AA5591563   ADRIANA         SOTELO                TX          75049800055
3247B1A1991883   ELIZABETH       GARLAND               OK          90012731019
3247B25824124B   LYNN            TATE                  PA          51059462582
3247B885447931   DALE            NICHOLS               AR          25096748854
3247B92144B943   DARLENE         KUNZE                 TX          90014119214
3248114374B943   EILIANA         REYES                 TX          90014941437
3248121A22B835   DONNIE          CHAVEZ                ID          90000442102
3248131794B943   ROBERTO         HERNANDEZ             TX          90011443179
3248148712B93B   JEFF            VALDEZ                CA          90006794871
32481712A8165B   ANTONIO         OLFIELD               MO          90002237120
3248215275B156   MACEO           KING                  AR          90014981527
32482153A2B87B   KELLY           NIELSON               ID          90012361530
32482376A91563   AVERY           MACK                  TX          90012033760
3248247214B943   JACOB           HARRELL               TX          90014464721
32482745A55972   LOPEZ           GUADALUPE             CA          90005017450
32482A57891356   WONSHET         BESHAH                KS          90003750578
32482A98A31424   JUSTIN          CRUTCHER              MO          90013020980
32482A9AA8B162   CATHLEEN        METTEN                UT          90010490900
32483231A91531   JOSE            SOSA                  NM          90014672310
3248364A584368   MARTA           MESA                  SC          90004346405
3248449614B943   FRANK           SHELVIN JR            TX          90007694961
3248452595B52B   PAMELA          SARABIA               NM          90014625259
3248456442B93B   NAOMI           ORTEGA                CA          90012805644
3248472A457153   ABEL            CARRNAZA              VA          90006497204
3248474375598B   TIFFANY         RODRIGUEZ             CA          90012897437
3248474854B943   CARROLL         ARNOLD                TX          90008457485
3248499697B449   STEVEN          PADGETT               NC          11019909969
32484A74291563   YVONNE          DOVENBARGEN           TX          75010920742
3248535222B87B   JENNIFER        VERNON                ID          42099263522
324853A238B16B   THOMAS          NEVAREZ               UT          90014083023
3248573A355972   MAYRA           MARITNEZ              CA          90014217303
3248597237B449   EDIMAR ALEXIS   CANO BENITEZ          NC          90015019723
3248598373B365   KEVIN           DEVER                 CO          90013599837
32485A42131424   OREAIL          MCWILLIAMS            MO          90002270421
3248666A52B835   TITO            REYES                 ID          90011316605
32487827272B47   MARIA           ANTUNEZ               CO          90003848272
32487848A91563   OLGA            NAVARRO               TX          90005418480
3248867AA2B93B   GRISELDA        RABAGO                CA          90012526700
3248878454B943   LAWRENCE        GRAFF                 TX          76597237845
32489177A2B835   SHANNON         STONE                 ID          90014501770
32489372472B76   LITONYA         PARKER                CO          33016243724
3248967364B281   JOHN            OLSUFKA JR            IA          90012106736
3248B4A938144B   BEVERLY         KEY                   PA          90013674093
3248BA7625B23B   ARLESIA         SANDERS               KY          90008850762
3248BA89141258   SEAN            WAGNER                PA          51010910891
3249112734B281   AKU             ITEGI                 NE          90001961273
3249158572B87B   CINDY           FERGUSON              ID          90007795857
32491962A8B166   WILLIAM         LEWIS                 UT          31049739620
3249227A75B156   ACE             COLINS                AR          90013202707
3249258527B471   LUIS            MORA                  NC          11089695852
3249281A97B639   RATHALNAL       DANIELS               GA          90012748109
3249284757B639   TAMEKA          MORALES               GA          90014518475
324928A495B52B   ALBERT          OCHOA                 NM          90011088049
3249315625B393   GLORIA          HERNANDEZ             OR          90002251562
324931A597B471   YADIRA          ROSALES               NC          90013111059
3249325A691563   ROBERT          MORALES               TX          90013642506
3249355472B87B   CONSTANCE       GABIOLA               ID          42009045547
3249363875B546   THERESA         VIGIL                 NM          90014746387
3249433457B449   SHAWNA          HEATH                 NC          90009723345
3249446667B471   HUMBERTO        OROSCO                NC          11090834666
3249479545B156   JOHN            ROBINSON              AR          90013287954
3249481192B835   JANA            GOODWIN               ID          42016918119
32495962A8B166   WILLIAM         LEWIS                 UT          31049739620
3249787758B16B   KELLI           MILLER                UT          90013488775
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3249844598B162   ANDREA        MORTENSEN               UT          90012704459
3249865188B16B   GODINA        ABRAHAM                 UT          90008266518
3249868334124B   JOYCE         JACKSON                 PA          90006766833
32498696A2B871   TAYLOR        HOFF                    ID          90001126960
32498A3AA7B449   BRITTANY      BARKER                  NC          90013600300
3249926674B943   MONIQUE       GALLIGOS                TX          76509212667
3249951567B449   ANGELA        MCNEILL                 NC          11072205156
32499A1A42B871   GINA          MASTERS                 ID          42082690104
32499A77177544   FUSTINO       SALAS                   NV          43077120771
3249B439851339   AMANDA        COPHER                  OH          66046974398
3249B48862B835   DARREN        RALLS                   ID          90015144886
3249B559151354   ROSA          CRUZ                    OH          66088855591
3249B665651369   LADONNA       GRAY                    OH          90002146656
3249B96745B393   CHRIS         GREEN                   OR          90014819674
3249BA51A4B943   JENNIFER      CASTILLO                TX          90011280510
324B1459977584   FRANCISCA     DE SILVERIO             NV          90001224599
324B189224B281   NORMAN        HARMS                   NE          90014648922
324B1994451339   CHASSIDY      ROBINSON                OH          90006699944
324B24AAA31424   HECTOR        REYES                   MO          90014154000
324B25AA84124B   ROMY          THOMPSON                PA          90011575008
324B2722391831   FA RANA       HOMAS                   OK          90014317223
324B2742A91563   MARIA         OJEDA                   TX          90011397420
324B285562B871   ALFREDO       MORALES                 ID          42079438556
324B314A44B281   DARRELL       WIGHTMAN                NE          90012861404
324B31A657B449   MCKENZIE      WARD                    NC          90014191065
324B335848B16B   STACEY        PULLEN                  UT          31071113584
324B362642B93B   AUSTREVERDO   ESQUIVEL                CA          90015216264
324B5738477544   YOLANDA       ACOSTA                  NV          90010537384
324B576137B471   OSCAR         HARO                    NC          90015447613
324B5A71A2B835   DANIELLE      MITCHELL                ID          90010170710
324B6754761559   TAMON         CARTER                  TN          90015567547
324B6779891563   YVETTE        SANCHEZ                 TX          90010967798
324B719527B639   KENYATTA      AUSTIN                  AL          90010471952
324B72A8491831   MARTHA        RUIZ                    OK          90013882084
324B731634B943   DERRICK       GREEN                   TX          90012753163
324B739882B835   JAMIE         DEWITT                  ID          42089593988
324B7975491356   AMALIA        TERRONES-HIPOLITO       KS          90000149754
324B7AA4A36143   JAMIE         OLGUIN                  TX          90013820040
324B818628B16B   DONNA         JOHNSON-CLOSE           UT          90014841862
324B81A382B835   TIANA         DOVEL                   ID          90013171038
324B827822B871   MEICHELL      DALE                    ID          90013822782
324B914264B943   MONIQUE       MAYSIELD                TX          90002411426
324B9142936143   WALTER        RUIZ LOPEZ              TX          90003881429
324B937197B449   K SHUN        GUILLIAM                NC          90012633719
324B9982A8B162   SHAWN         PIERCE                  UT          90013479820
324BB159755951   VANESSA       REYES                   CA          90003641597
324BB3A9A84368   TIM           BORDERS                 SC          14574353090
324BB43275B393   ESPERANZA     GALINDO                 OR          90000544327
324BB58284B281   TYREE         FANNING                 NE          27091165828
324BB682541285   CINDY         SIRCELY                 PA          51006666825
3251142165B393   JULLIANA      CASTRO                  OR          90000134216
32511A2457B639   JOHN          BROUSSARD               AL          15065640245
325123A915B393   TODD          STILES                  OR          90000933091
325123A918165B   GENEVA        MURPHY                  MO          29023763091
32512659A91952   YADIRA        PENALOZA                NC          90012156590
32512A68954165   JOIY          JOHNSON                 OR          47055480689
3251325538B162   MARTIN        MARTINEZ                UT          90013572553
3251339144B52B   ANGELA        JOHNSTON                OK          90011693914
3251367972B835   JASON         ANDERSON                ID          90014546797
3251428872B93B   JENNY         SANDOVAL                CA          90015242887
325149AA641277   TYLER         GRAFF                   PA          90007619006
32514A55151339   AMY           PAGE                    OH          90015430551
32514A8745B52B   MARIA         SAENZ                   NM          35098240874
3251514997B492   SEFRINO       CRUZ                    NC          11090211499
3251634622B93B   MARY          PHATCHER                CA          45014193462
3251652278165B   LEVAR         HUDSON                  MO          90010145227
32517225472B76   FRANCISCA     MAJALCA                 CO          33061742254
3251754A85B393   JACK          ANGUS                   OR          90008485408
3251792A22B871   STEVE         LEAVITT                 ID          42076849202
3251896AA4B943   SOTORO        VAZQUEZ                 TX          90011459600
3251897955B393   NANCY         ROSAS                   OR          90014819795
325193AA951339   MICHELLE      GEISLER                 OH          90012823009
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3251B159572496   CHRYSTIAN        STONE                PA          90011391595
3251B257547931   MELVIN           MELENDEZ             AR          90007922575
3251B64274B281   ESTELA           ORELLANA             NE          27063776427
3251B652641277   DEBORAH          DRAPER               PA          51066586526
3251BA1344B24B   LUIS             PLASENCIA            NE          27007790134
3252154A891831   VAHNEIMON        HAOKIP               OK          90014805408
3252163497B43B   SANDRA           MARQUEZ              NC          90000676349
3252164724B281   ALEJANDRO        GARCIA               NE          90012546472
3252177332B871   MARIA            HERNANDEZ            ID          90013707733
3252254355B52B   BLANCA           BUGARIN              NM          90011385435
32523321A51369   ELIZABETH        BACK                 OH          90010403210
3252332844B943   ALVIN            JONES                TX          76581783284
32523378A7B471   MUANA            MUKUAMU              NC          11074553780
3252363352B93B   JEREMY           TIDWELL              CA          90012876335
325243A5691531   NIDIA            FELILX               TX          75085043056
325244A714B943   IRIS             OLIVA                TX          90003924071
3252461652B93B   AMEL             ARCHULETA            CA          90001446165
3252488975B52B   BENJAMIN         PALMER               NM          90011538897
3252547AA91831   ROSAURA          PALOMINO             OK          21023034700
32525797A85873   BICHLIEN         TRAN                 CA          90007797970
3252663768B16B   LUKE             ADAMS                UT          31033426376
32526A4932B835   MARVIN           LAWRENCE             ID          90011490493
32526A86731424   PAYGO            IVR ACTIVATION       MO          90015320867
32527338A91356   BRANDON          SANDERS              KS          90014323380
325274AA17B492   TANSEY           HENDERSON            NC          90010634001
32527AA8A4124B   JHON             JOHNSON              PA          90011870080
32527AA918B162   LAURA            FERNANDEZ            UT          31074830091
325283AA791356   JAVIER           CAMARGO              KS          90012733007
3252847A655951   KHUNTHY          RUN                  CA          90013194706
3252869632B93B   ROLAND           BERNARD              CA          90012876963
3252883427B471   DORIS            VALLADARES           NC          90003388342
32528A68531451   ASHLEY           DONEGAN              MO          90014790685
32529265A84368   LORENA           VEGA                 SC          90004132650
325296A5936143   ALAX             SALAS                TX          90010966059
325297A422B835   MARLIN           LANDERS              ID          90012607042
3252B11534B281   REBECCA          GONZALEZ             NE          27068051153
3252B59332B93B   HORTENSIA        VILLA                CA          90012875933
3252B689354165   JOHN             BRUEHL               OR          90014466893
32531463A2B87B   ROSITA           JARAMILLO            ID          42007534630
32531481136B77   SABIN            AHMIC                OR          90012204811
3253199435B393   TEQUILA          LEDAY                OR          90014819943
3253219A277544   MARCELINA        TORRES               NV          90012931902
3253237154B943   MARTHA           GONZALEZ             TX          90014043715
3253256925598B   MARGARITO        CONTRERAS            CA          49092855692
3253363615598B   AIOTEST1         DONOTTOUCH           CA          90015116361
3253367594B281   JULIO            AVILA                NE          90015136759
325346A6691531   DIANA            FLORES               NM          90015076066
32534789A4124B   KEVIN            CLEVENGER            PA          51002457890
32534A8A87B449   AMINAH           SHAKUR               NC          11046250808
3253581424124B   MALIK            HATCHIN              PA          90013958142
3253622384B943   AMANDA           BLACKWELL            TX          76508392238
3253627A177544   JOSE             MENDOZA              NV          43089572701
3253632325598B   CARLYN           RICHBURG             CA          49015673232
3253659A24124B   STEVEN           GONSAR               PA          90012015902
32537524572B76   ELVIRA           RUELAS               CO          33094545245
3253767195B156   REGINA           WATSON               AR          90003566719
3253774882B835   MACHAEL DWAYNE   KUHN                 ID          90013317488
3253789378B162   JANILEE          HUTCHINGS            UT          90008928937
3253836495598B   VANESSA          PENA                 CA          90013073649
32539253872B76   LATASHA          FULKS                CO          33044142538
32539953A36143   NINA             GOMEZ                TX          90008709530
325399A885598B   SAUL             PEREZ                CA          90011169088
3253B479A8B15B   STACEE           ORAWIEC              UT          90008524790
3253B56412B87B   ALISSA           DUNLAP               ID          90012845641
3253B5A5254165   CHARLES          PRICE                OR          90012665052
3253B86765134B   ERON             HORSLEY              OH          90001418676
3254143175B156   JACQUELYN        BUCHANAN             AR          23054794317
3254173344B281   PATRICK          STARR                IA          27083657334
3254199895B393   NICOLE           KRANER               OR          90014819989
32541A82836143   GLORIA           DAVIS                TX          90001120828
3254226963B39B   HALE             SOYSTER              CO          90004092696
32542557A7B639   CANDACE          BILLUPS              AL          90012535570
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32542889A91563   ADRIANA       CHAVIRA                 TX          75005438890
3254311617B639   ALVIS         FRANK                   GA          15021541161
3254314385B156   CYNTHIA       GUILLEN-RUIZ            AR          90000761438
3254363692B835   DIMBIL        MUGOLO                  ID          90009376369
3254368AA47931   VALARIE       WILKERSON               AR          90013166800
3254375845598B   JANET         AHUMADA                 CA          49036007584
32543839A91563   JOSE          ESCARCEGA               TX          75083258390
3254477A15598B   ROSA          FRANCO                  CA          90011777701
3254495337B639   KEITH         CAMPBELL                GA          90013879533
325449A638165B   TRAVIS        JONES                   MO          90002509063
32544A3617B471   JUAN          GARCIA                  NC          90012100361
3254545214B281   MICHELLE      MORENO                  NE          90000714521
32545A3645B393   THOMAS        WALKER                  OR          90010320364
3254677A747931   ROLLA         WONNE                   AR          90015137707
32546A1515B393   ADRIANNA      BENNETT                 OR          90014820151
325483AAA36143   RAMIRO        DELEON                  TX          73580823000
3254845682B835   JOSIAH        REYES                   ID          90014374568
3254881187B425   TRACY         PEELE                   NC          90006588118
32548A56272B41   BARBARA       AMES                    CO          90010440562
3254952988B16B   NATALIE       MEROLA                  UT          90015125298
3254B44344124B   JONATHAN      ARDELEAN                PA          51096184434
3254B781697126   NICOLE        MAJEWSKI                OR          44511587816
3254B86112B93B   LUIS          ALFARO                  CA          90012878611
3254B943491531   MARTHA        MALDONADO               TX          75016989434
3255154398B183   CORI A        BAKER                   UT          90010005439
3255174572B93B   MEMO          DIMAS                   CA          45097517457
325519A5847931   DONALD        SAMSON                  AR          90014589058
3255273945B393   STACY         SLOTKIN                 OR          44547787394
32552746A91531   JESSICA       MELENDEZ                TX          90006297460
3255276185B156   ASHTON        HOLDEN                  AR          90013017618
32553149536B77   ANA           GONZALEZ                OR          90014481495
3255345842B835   BILLIJO       BROWN                   ID          42042494584
3255417142B93B   MARIBEL       RIO                     CA          90012891714
3255447744B943   ALICE         ADAMS                   TX          76511114774
3255532632566B   JUDY          SHINE                   AL          90010953263
32556364A5B393   VALERIO       GONGORA                 OR          90014813640
32556A45436143   MARIA         MENDOZA                 TX          90012300454
32556A68241258   MANI          BHATTARAI               PA          90011370682
3255712A12B857   ROSA          DURAN                   ID          90015131201
3255738598B162   ELIZAH        GIFFORD                 UT          90014083859
32557AAA451339   ISSA          SHIELDS                 OH          90010940004
325582A3651339   CARRIE        FRYE                    OH          90013302036
3255889358B16B   WILL          RANEY                   UT          31098888935
32558A4985B156   KAMERON       FINNEY                  AR          90001630498
3255916587B639   JACQUASHA     HOWARD                  GA          90011901658
32559437A36143   LEO           ALANIZ                  TX          90010494370
3255B14898B16B   CARRIE LYNN   KISEL                   UT          90011601489
3255B39625598B   PEDRO         RANGLE                  CA          90012763962
3255B53194124B   BRITNEY       JONES                   PA          90011285319
3255B691347931   JIMMY         SCALES                  AR          90010286913
3256174364B943   ANTONIO       MEJIA                   TX          90014567436
325617A277B471   ADJOKE        BELLO                   NC          90013977027
3256232844B943   ALBERTO       MORALES                 TX          90011303284
32562A69572496   RUTH          MURPHY                  PA          90014030695
3256333324B281   ANGEL         SHOMAKER                IA          90012013332
3256363132B87B   CHRISTY       PAYNE                   ID          90012696313
3256387417B492   JERRY         UNDERWOOD               NC          90009368741
32563A23A91531   EMERALD       AGOSTO                  TX          90006280230
3256438194124B   ROBERT        BARNA                   PA          90011913819
32564A73436B55   BRET          MCCARTY                 OR          90011750734
3256517A15B52B   MIA           DIMAS                   NM          90013281701
32565821572B76   ELSA          ORTEGA                  CO          90006978215
3256584544B586   STAR          STEPHENS                OK          90001768454
3256642147B425   JESUS         LOPEZ                   NC          11077354214
3256645568B16B   ASHLEY ANN    BLUEMEL                 UT          90014584556
3256663715598B   AIOTEST1      DONOTTOUCH              CA          90015116371
3256664455B52B   ROBIN         DUPREE                  NM          90003026445
3256716A391587   KRISTY        MARTINEZ                TX          90013981603
3256747639374B   MELISSA       TYLER                   OH          90001934763
3256754A85B393   JACK          ANGUS                   OR          90008485408
325685A9A61559   RANDY         ROMENAS                 TN          90015565090
3256865677B639   DRASHAWN      DENSON                  GA          90006596567
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32568A1A55B52B   DAVID           KRUCHOSKI             NM          90012690105
32568A2635B393   SARAH           WILSON                OR          90014820263
32569223A72496   GREGORY         HENRY                 PA          90013952230
325698AA82B871   TARAH           MAUGHAN               ID          42018088008
32569A2635B393   SARAH           WILSON                OR          90014820263
3256B124791563   HECTOR          PINEDA                TX          90012271247
3256B219655921   CHE             KING                  CA          90000562196
3256B31378165B   SANDRA L        GARRETT               MO          90006083137
3257113A641258   TONENE          PALMER                PA          51092231306
3257224115598B   SERGIO          MENDOZA               CA          90012802411
325724A7A91531   LOYA            GARCIA                TX          75085724070
3257351575B557   IVAN            PARAMO                NM          35035255157
325737A3693761   HEATHER         MOORE                 OH          90007097036
32573A2577B492   CANDANCE        RUFF                  NC          90009320257
3257445A436143   NAMOMI          MONROY                TX          90010974504
3257447772B835   SHEILA          BEDARD                ID          90010884777
32574483A2B93B   MARIO           TAPIA                 CA          90013744830
3257491912B87B   OCATIVIO        GARCIA                OR          90014409191
3257588432B871   PETER           WILSON                ID          90002318843
3257616648B16B   BETTY           GOMEZ                 UT          90013031664
32576456772B76   JUAN            ARIAS                 CO          33023054567
3257682678B16B   KEONI           P RUNNELS             UT          90010358267
3257759277B425   KENNETH         WALLACE               NC          90007685927
325775A282B93B   ALEJANDRO       TAPIA                 CA          90013745028
32577921A5B393   JAMES           NEIL                  OR          90011509210
3257812A22B835   ANGELINA        TAPIA                 ID          90015161202
3257813668B16B   PEEL            BRADY                 UT          90009451366
3257839995B156   ANDREA          WHITE                 AR          90014103999
325792AA172496   JENNIFER        KENNEY                PA          90010082001
3257B436136143   DESAREA         CASTILLO              TX          90010974361
3257B47972B93B   PATRICK         RENTERIA              CA          90013744797
3257B6A917B386   CYRIL           ONYEMEZIKEYA          VA          81081506091
3257B822484368   MIGUEL          CRUZ ROSALES          SC          90011958224
32581246A5B156   SHAVETA         MCKAY                 AR          23084002460
3258251475598B   DORA PATRICIA   AGUILAR               CA          90008425147
3258257A354165   SAMANTHA        LEDGETT               OR          90011295703
3258285425B156   SHANE           DAUGHTERY             AR          90008348542
3258318497B449   MARIANA         ARGUELLES             NC          90009951849
3258328A247931   BRIAN           TARDE                 AR          25043892802
32583871A41285   SHAKIRA         ONEIL                 PA          90011528710
32583948A5B393   OSCAR           GONZALES              OR          90007829480
32583A45291356   RACHEL          WILSON                KS          90013940452
3258434825B52B   ALAN            FRANKLIN              NM          35046043482
325843A7451369   LISA            BRUNER                OH          66032933074
3258458538B166   ASHLEY          COOK                  UT          90007795853
3258471AA91531   FERNIE          RUELAS                TX          75014367100
32585A17284368   MARIE           DAWKINS               SC          90007470172
32585A6392B835   MARICELA        LOPEZ                 ID          90015270639
325871AA24B534   AISHA           SAWYER                OK          90008011002
3258732238B162   STEVE           HUGEL                 UT          90002423223
3258817932B87B   NATHALYA        WARD                  ID          90015351793
3258821954B281   CHRISTINA       GALAVIZO              NE          27037702195
3258827A751339   EVAN            BESS                  OH          90009982707
3258855232B395   NECO            PARMLEE               CT          90014145523
3258878188165B   JUSTIN          CORNWELL              MO          90002527818
325887A5754165   MYESHIA         DICKINSON             OR          47072977057
3258922A784368   JUANA           GUERRERO              SC          14507262207
3258933278B166   ALICIA          JIMENEZ               UT          31001563327
3258946235B156   BERNADETTE      HUMBERT               AR          90007984623
3258966428B162   TIMOTHY SCOTT   DAVIS                 UT          90014786642
3258B199A61925   ROSA            NAVARRO               CA          90006051990
3258B45A85598B   MERCEDES        HERNANDEZ             CA          90003414508
3258B618891563   MARIA           GONZALEZ              TX          90005846188
3258BA2462B835   SARAH           GARZA                 ID          90000690246
3259174474124B   DENNIS          CIRRINCIONE           PA          51065787447
3259258382B395   NECO            PARMLEE               CT          90014145838
3259276975598B   ANGELA          JUAREZ PEREZ          CA          90015047697
3259337417B492   PAYGO           IVR ACTIVATION        NC          90014283741
32593524A5B393   FRANCISCO       ROMERO QUINTERO       OR          90002235240
3259379725B156   ALORA           FLOWER                AR          90015117972
32594223A72496   GREGORY         HENRY                 PA          90013952230
325942A728B16B   LUZ             TABARES               UT          90011512072
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3259444262B93B   ROBERTO      ACOSTA                   CA          90012954426
3259454127B492   LARRY        BURNS                    NC          90014945412
325948AAA5B156   PATRICIA     LEE                      AR          23096118000
3259539237B471   SADIE        EDMOND                   NC          90014533923
325958AA38B16B   JOSE         SANTOS                   UT          31082288003
3259712182B835   KENNETH      DRUMMOND                 ID          90015061218
3259744262B93B   ROBERTO      ACOSTA                   CA          90012954426
3259816352B871   DALLAS       BATES                    ID          90014781635
32598925A4B281   JOUSH        VARRA                    NE          27059879250
325989A255598B   MERCEDES     MORALES                  CA          49091239025
32598AA1461557   SAMANTHA     ROBINSON                 TN          90015430014
3259B16954B943   ADRIENE      BERNARD                  TX          90012661695
3259B356A91356   JESSE        MORGAN                   KS          90010123560
3259B99574B281   EMMA         MARTINEZ                 NE          90008669957
3259BA5847B639   LATRINA      WALKER                   GA          90002800584
325B117A241285   MCCAL        REDMAN                   PA          90005561702
325B1838891356   DONALD       LUDEMANN                 KS          29011568388
325B1A94784368   ELVIA        SALDIDOA                 SC          90015220947
325B2723291531   MYRIAM       MENDEZ                   TX          75091147232
325B27A8872B76   CARMEN       AGUILERA                 CO          33072207088
325B2A92641258   LISA         BECK                     PA          51069980926
325B389912B93B   ALEJANDRA    AGUIRRE                  CA          90012858991
325B3966891232   JACQUELINE   SMALL                    GA          90014609668
325B4729A8B162   CLINTON      COLLINS                  UT          90014277290
325B475387B639   SHANICE      CLOWERS                  GA          90014687538
325B517454124B   BELINDA      JEFFERSON                PA          51013681745
325B5228584368   KENT         WATKINS                  SC          90012912285
325B564944B943   KATHERINE    ISLAS                    TX          90013126494
325B5881351339   WILLIE       HUNTER                   OH          90004638813
325B596915B393   LILIANA      TORRES-GONZALEZ          OR          90014819691
325B618AA2B835   ANNA         VALLARD                  ID          90009331800
325B649127B449   LA           LARICETT                 NC          90012124912
325B663AA5B52B   VERONICA     SANCHEZ                  NM          35011536300
325B694758B162   DAYSHA       DAVIS                    UT          90011229475
325B7168755951   GABRIEL      MANZANO                  CA          90012211687
325B7199977544   JONATHAN     GLAB                     NV          90002921999
325B7251A4124B   PAMELA       SMITH                    PA          51031662510
325B7426755927   ROSSANO      MARTINEZ                 CA          49019874267
325B7748251322   BRUCE        HABLUTZEL                OH          90001707482
325B776924B943   JOSE         BARRON                   TX          76514207692
325B783848B162   JUNG         CH0                      UT          90011998384
325B796915B393   LILIANA      TORRES-GONZALEZ          OR          90014819691
325B811582B835   AARON        LONG                     ID          90002691158
325B86A484B943   DEANNA       BRICKEY                  TX          90014566048
325B8942991531   NORMA        PEREZ DE CAMPO           TX          75063549429
325B8A26636143   NORMA        OLIVARES                 TX          90012740266
325B9573436143   ISRAEL       MORENO                   TX          73506085734
325BB11885B393   GREG         PIERE                    OR          90008021188
325BB46972B93B   JENA         HIGGINS                  CA          90012794697
325BBA5827B639   ALVIN        BROOKS                   GA          90011020582
325BBA6624B943   KATINA       BROWN                    TX          90010390662
3261129262B835   JACKIE       KENNEDY                  ID          42091812926
326118AA191243   CAROL        BERNARD                  GA          90012388001
3261199962B87B   ALONSO       BALLESTEROS              ID          90003739996
326119A3A84368   YVONNE       GIDDEN                   SC          90011489030
32611A2947B639   CONNIE       PETERSON                 GA          90013710294
32612183A36143   JONATHAN     PEREZ                    TX          90014201830
3261283387B471   SARA         VASQUEZ                  NC          90008208338
32612997A54165   RACHELL      BENNETT                  OR          47070659970
326132A7591563   CAROLINA     SOLANO                   TX          75039222075
3261342785B393   FERNANDO     AYALA                    OR          44511484278
3261367537B429   SHELLEY      PERRY                    NC          90004066753
3261388A636B77   JACK         ROUSE                    WA          90012168806
32613AA8936143   ROMINA       OLALDE                   TX          90011970089
3261454685598B   CLARICE      WASHINGTON               CA          90015085468
3261458467B492   LAKOYA       MCLEAN                   NC          11086425846
3261498987B449   RAFAEL       TORREZ                   NC          11096599898
32614A6A831424   KATRINA      WILLIAMS                 MO          90014760608
3261526665598B   CURTIS       ORTEGA JR                CA          90014952666
3261546A42B835   NATHAN       HOPFENBECK               ID          90003284604
326156A715B52B   KIMBERLY     FERNANDEZ                NM          90009566071
3261594134B943   DERRICK      BOUTTE                   TX          90012629413
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326168A1341277   SHANDELL    QUINLAN                   PA          51036418013
3261691784B943   HANNAH      BODDEN                    TX          76527799178
32616A2593B391   BARRY       BAXTER                    CO          33087190259
32616A52791831   SHERYL      WATTS                     OK          90014740527
3261787727B449   ELIZABETH   POTTER                    NC          11016188772
326188A6241258   TOMAR       HAYES                     PA          51028608062
3261971322B835   JOSEPH      MARTINEZ                  ID          90011147132
3261B17444B943   KEVIN       ORTIZ                     TX          90008391744
3261B29777B449   AVERY       COVINGTON                 NC          90013152977
3262126687B449   RIGOBERTO   GUTIERREZ                 NC          90012482668
3262131354B943   LISA        STARK                     TX          76590233135
326216A7955972   AMANDA      MARTINEZ                  CA          90013376079
326219A3A84368   YVONNE      GIDDEN                    SC          90011489030
32621A4315B393   JOSE        MARTINEZ                  OR          90014820431
326221A7855951   KATIE       WHALA                     CA          49043101078
326222A172B93B   PETER       MEIN                      CA          90012952017
326239A427B449   TWEE        TWEE                      NC          90009969042
3262431952B87B   LILLIAN     BAKER                     ID          90009283195
32624A9854B943   MERY        GARCIA                    TX          90015110985
3262598712B87B   MICHELLE    HORNER                    ID          90015059871
32625A98654165   KEENAN      HUBBARD                   OR          90013630986
32626949A41232   GLORIA      HARTAGE                   PA          51089549490
3262872318B166   SEAN        BUIST                     UT          90006837231
3262928352B835   VANESSA     GUERRERO                  ID          90013452835
32629594A4B943   MONICA      NUNEZ                     TX          90012845940
3262971A691232   ALBERTO     FLORES                    GA          14500707106
3262992785B393   BINOD       SUWBBA                    OR          90011509278
3262B17535B52B   MATTHEW     VIGIL                     NM          90013291753
3262B528272496   DEJAUN      GRAHAM                    PA          90013555282
3263183985B393   MIRANDA     CAMPBELL                  OR          44598348398
3263225917B471   PORCHA      FRAZIER                   NC          90008042591
32633212A71232   SHIRLEY     OBREIN                    IA          90006982120
3263326848B166   SUSAN       HUDSON                    UT          90004182684
326334A7A5598B   GLORIA      GUTIERREZ                 CA          90014164070
32633629372B76   LETICIA     NAVARRETE                 CO          33053006293
3263443772B87B   TERRY       SHIPTON                   ID          90011074377
3263457232B871   RACHELL     FALAPPINGEAGLE            ID          42006795723
3263471228B166   KAREN       ROWE                      UT          31058027122
32635344A7B449   MARKISHIA   HENDERSON                 NC          90012993440
32635A54251338   HOLLY       SCHLOSS                   OH          66041520542
32635A77141258   JUSTINA     DAVID                     PA          51093470771
3263749A741277   URSULA      CORDIAL                   PA          51083504907
32638A68591531   OSCAR       SOLIS                     TX          75071310685
3263B168547931   RALPH       CASSIDY                   AR          90012451685
3263B326284368   LAKIASHA    WHITE                     GA          90013433262
3263B751555959   SHEILA      HUDGENS                   CA          90006907515
326419A257B425   JOHN        HOWELL                    NC          11079759025
32641A74A61982   MATIAS      RODRIGUEZ                 CA          90012340740
3264262865598B   PAULA       BANDA                     CA          49031626286
3264284945B393   GABRIELA    CHAVEZ                    OR          44592148494
32642A3A52B93B   JESUS       LOPEZ                     CA          45016760305
326439AA472496   ADI         BUWAWA                    PA          90012479004
3264428567B471   LISA        WINKLER                   NC          90004982856
3264441582B871   CASSANDRA   MCKIERNAN                 ID          90007714158
32644599A41285   STACEY      SUMMERVILLE               PA          90005575990
326453A6891356   DAWN        VAN FLEET                 KS          29008723068
32645A6A555972   TED         TERRY                     CA          48064410605
3264629A272496   MICHAEL     STONE                     PA          90006352902
3264642827B449   RONLENE     BROWN                     NC          11035554282
326477A422B835   MARLIN      LANDERS                   ID          90012607042
3264785A577544   ANGEL       ANDRACA-GARCIA            NV          90004428505
3264798614124B   HEATHER     RIZZO                     PA          51008279861
32647A25951339   LYNN        REEDY                     OH          66003050259
32647A56491232   JOSEFINA    REYES                     GA          90004490564
32647AA365598B   JOSHUA      YANG                      CA          90014560036
3264833333B351   PAUL        LIPSCOMB                  CO          90006683333
3264873294124B   DONNA       DIVITO                    PA          51008477329
3264883212B87B   DUSTIN      BARBER                    ID          90013608321
32648A6265B52B   JOSHUA      TERRONES                  NM          90010080626
32648AA2155951   ANGEL       PERALES                   CA          49085490021
326494A535B393   FOLA        ARIGBON                   OR          44507644053
3264971197B449   NINA        EADDY                     NC          90011587119
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3264992712B961   COLETTE      ZAVALA                   CA          90001709271
3264B43665598B   PABLO        GONZALES                 CA          49050184366
3264B48597B471   PATRICIA     LEONE                    NC          11067594859
3264B864691356   CINTHYA      CLEMENTE HERNANDEZ       KS          90008118646
3265114AA5B52B   LEEANN       ROBINSON                 NM          90006161400
326515A1791531   MARLENE      MELENDEZ                 TX          90013395017
3265182A94B281   JORDAN       WALLAR                   NE          90005788209
3265191627B492   MARTE        EDWARDS                  NC          90013879162
3265211254124B   RAYNELL      BARNETT                  PA          51086791125
3265247557B471   ZACH         TOTH                     NC          90015544755
3265255575B52B   ALEXANDER    GRAHAM                   NM          35098445557
3265264122B93B   EDGAR        OCHOA                    CA          90012966412
32652A6855B393   DORTHY       UHRICH                   OR          44511490685
326532A6A5B52B   HONORIO      MENDOZA                  NM          90012182060
32654221A41285   KEDRA-LYNN   TUCKER                   PA          51020842210
326542A3777544   ANGEL        MEZA                     NV          43095652037
32654376A84368   DARENE       SHAW                     SC          14542443760
3265492147B639   DANIEL       BOYZO                    GA          90006959214
32654A2155B156   KEITH        JONES                    AR          90010640215
3265545A47B639   WILLIE       CHANEY                   GA          90013714504
3265564A855972   KIM          SIMS                     CA          90011946408
326562A9841258   SHERIELL     BEY                      PA          51088662098
32656367A84368   MIGUEL       HERNANDEZ                SC          90008723670
3265645842B835   REBECCA      HOSFORD                  ID          90013484584
3265669342B87B   JASON        HUTCHINSON               ID          90012886934
3265677672B93B   KENNY        LLOYD                    CA          90012967767
3265687124B943   RUTH         ZAPATA                   TX          90008358712
3265747A487B41   TAMEKA       HOPKINS                  AR          90015024704
3265755787B639   TACEY        THOMPSON                 GA          90014635578
3265849738B162   GARRETT      ROWLAND                  UT          90013304973
32658A16A54191   MICHAEL      PHILPOT                  OR          47030090160
32658A5AA2B871   SHEILA LEI   BARBOUR                  ID          90006630500
326594A4291531   LAURA        ACOSTA                   TX          90011414042
32659793A54165   DIANE        JENKINS                  OR          90012877930
32659A33A41285   RICKY        MOODY                    PA          51022440330
3265B211251369   ANGILEE      SMITH                    OH          90001202112
3265B68444B943   STEPHANY     GARZA                    TX          90014866844
3265B771691356   YESHI        DEFERSHA                 KS          90006247716
3266145615137B   JAMES        HEMMERLY                 OH          90000864561
32661594A4B943   MONICA       NUNEZ                    TX          90012845940
3266236454B943   SIERRA       LAMBERT                  TX          90011953645
3266269387B449   SAMANTHA     HOOEY                    NC          90012086938
326629A6141258   LAUREN       LIKOVICH                 PA          90010949061
32662A41877544   JAMIE        DALE                     NV          90013260418
32662A4444124B   RONALD       GILL                     PA          90013080444
32663714672B2B   GLEN         WILSON                   CO          33022697146
3266423718B16B   TYRONE       LAVINE                   UT          31084942371
32664243A2B871   ISABEL       HERNANDEZ                ID          90007652430
3266439545B156   BRANDY       LOPEZ                    AR          90015143954
3266611A991356   DEBORAH      WILMOTH                  MO          90004241109
32667786272B76   DEANDRA      JAUREQUI                 CO          90009367862
3266789387B449   SHARON       HALLEY                   NC          90015118938
3266831375B181   ASPEN        GILL                     AR          90009243137
3266848915598B   NAOMI        HAGERDON                 CA          90011194891
3266865978B16B   FERNANDO     MENDOZA                  UT          90009936597
326687A5254165   KARMA        BEACHEM                  OR          90009327052
3266954728B166   RICHAR       ANGELES                  UT          90007165472
3266959557B471   AUSENCIA     OVALLE                   NC          90015505955
3266964177B639   SHEAD        BOOKER                   GA          15043126417
3266B59A791831   REBECCA      DAWES                    OK          90012665907
3266B8A428B162   KEVIN        SULLENBERGER             UT          90010668042
32671741136B77   JAMES        LAMAR                    OR          90012007411
3267213218B16B   SAM          MARTINEZ                 UT          31086151321
3267215897B471   HISELA       DUNLAP                   NC          90014051589
3267219645B393   KELLY        MOORE                    OR          90014881964
3267261AA36143   YURI         SANCHEZ                  TX          90010376100
3267389684B943   JENNY        BYRD                     TX          90014578968
3267425337B659   TINA         ROBINSON                 GA          90012252533
3267436237B449   LUZ          RUIZ                     NC          90014913623
3267497125B557   ELISA        MARTINEZ                 NM          90006369712
3267618358B162   PAUL         BARTH                    UT          31089571835
32676693A91831   KEILA        MILLER                   OK          21042726930
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32676A5667B495   MARILYN     LATTER                    NC          11004340566
3267713295B393   LORI ANN    GIGEAR                    OR          44571751329
3267755A64B943   RAYMOND     WASHINGTON                TX          90001065506
32677A7A32B87B   PAYGO       IVR ACTIVATION            ID          90015400703
3267889352B87B   AMANDA      ROBERTS                   ID          42056938935
32678AA2484368   MIGUEL      HERNANDEZ                 SC          90011580024
3267911147B492   MARQUISE    LEDBETTER                 NC          90011311114
32679131A61981   MARY        PRUDEN                    CA          90009771310
3267B31652B93B   MARCOS      CAP                       CA          90013823165
3268112454B943   FERNANDEZ   CHAVEZ                    TX          90013551245
3268143A82B87B   JESUS       MEJIA                     ID          42085644308
3268181918B162   ADAM        PALMER                    UT          90003798191
32681A1572B93B   BETTY       BRAMBILA                  CA          90013020157
32681A84336143   SILVIA      VALENCIA                  TX          90012240843
32681A96A47931   AARON       HELMS                     AR          90014170960
32682337436B77   KARIY       EMMETT                    OR          90005033374
32682A1572B93B   BETTY       BRAMBILA                  CA          90013020157
3268353514124B   JENNIFER    PASINSKI                  PA          51081905351
32683644A4B281   DAUN        LINDSAY                   NE          27044846440
326836A275B52B   BIANCA      MARTINEZ                  NM          90009166027
32684562A41277   ERIN        CROSBY                    PA          51077395620
3268544525B52B   SANTOS      TRUJILLO                  NM          90015554452
3268594315B393   GLICERIO    SORIANO                   OR          44566759431
3268618248B16B   JAYMIE      QUINTANA                  UT          31061501824
3268641517B639   NATHANIEL   JENKINS                   GA          90004634151
3268652875B393   JOSE        GALINDO                   OR          44535695287
3268733237B471   MICHELLE    MASSIE                    NC          11058063323
3268766227B639   DANIELLE    COMBS                     GA          90011396622
3268785777B449   JOSE        NAVARRO                   NC          11089278577
326879A9855951   SANTOS      ARTIAGA                   CA          49053219098
3268814435B393   MARIA       SANDOVAL                  OR          90012691443
3268871552B835   LEONEL      GARCIA                    ID          90013537155
3268925A655972   STEWAR      DWAYNE                    CA          90013052506
3268953A954165   JAMES       WAGNER                    OR          90013205309
3268982AA5598B   ABRAN       HERNANDEZ                 CA          90013598200
3268996124B943   BENITO      VARGAS                    TX          76547619612
3268B137884368   PIERINA     JAEN                      SC          90013481378
3268B177A7B449   FABIAN      DIRCIO                    NC          11018501770
3268B2A325B393   TRINA       MCCURTY                   OR          90014882032
3268B91655B52B   CARLOS      MARQUEZ                   NM          35096029165
3268BA4367B471   MELVIN      JONES                     NC          90010720436
3269152544124B   ANDRE       JOHNSON                   PA          51069275254
326915A625598B   MARIO       IXMATLAHUA                CA          90004735062
326919A942B93B   ROBERT      VERGARA                   CA          90000139094
3269236A82B93B   SHARON      TRIBBLE                   CA          45070593608
3269268763B335   KELLEY      STOCKTON                  CO          33023746876
32692916A4B943   LAURA       CAMPOS                    TX          90003799160
32692929A41258   JUDITH      BOBEL                     PA          51055819290
3269346882B87B   DAVID       BRYENTON                  ID          90007384688
3269366712B93B   NICHOLAS    GALLEGOS                  CA          90012146671
3269392A554165   KERRY       HOOGSTAD                  OR          90008509205
32693A1332B871   KABRISHA    PEARSON                   ID          90005410133
3269427A55B23B   DAVID       HUFFMAN                   KY          90012352705
3269459552B835   NICHOLAS    ALPHIN                    ID          90008675955
32694A53477544   CLAUDE      NORRIS                    NV          90004000534
32695799A7B471   DORIS       LARA                      NC          90010167990
32695875A2B871   DOROTHY     RASE                      ID          90014248750
3269622A42B93B   GARRY       MONTANO                   CA          90013022204
3269637412B835   JOSH        FINCH                     ID          42052893741
3269641737B471   JAIRO       PEREZ                     NC          90010044173
3269664834B943   LUZ         FIGUEROA                  TX          90008766483
3269669A272496   BARBARA     ROADMAN                   PA          90013156902
3269677838B162   LISA        OLANDER                   UT          31013187783
3269746352B87B   GALEMORE    RAE                       ID          90004754635
3269763735B52B   ANGIE       ROMERO                    NM          90014336373
3269774377B43B   SANDY       DIAZ                      NC          90005837437
3269776418B16B   ROSALVA     BRENNAN                   UT          90014917641
3269897275598B   MARIO       MENDOZA                   CA          90009609727
3269B169555972   ESTER       REYES                     CA          90009301695
3269B44328B16B   HELEN       VILLARRUEL                UT          31028954432
3269B592136143   LACEY       GARCIA                    TX          90014885921
3269B66A98B162   BRUCE       OLSEN                     UT          90014126609
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3269B837A2B87B   ALICIA      JONES                     ID          90014458370
3269BA2928B166   LONGMIRE    RICHARD                   UT          90004530292
326B1398641277   ALLISON     BRIDGETT                  PA          51015323986
326B144187B492   CHARLES     BROWNING                  NC          90013634418
326B2257547931   MELVIN      MELENDEZ                  AR          90007922575
326B267415B52B   AYME        SOLIS                     NM          90014866741
326B334452B835   CONNIE      SULLIVAN                  ID          42088593445
326B343518B162   SHONDELL    DESHILLIE                 UT          90014854351
326B385314B281   JASON       FOWLER                    NE          27086868531
326B4413431424   JONATHAN    COPPAGE                   MO          90014154134
326B4622754165   LORIE       RICHARDSON                OR          90006136227
326B4A8492B93B   ERICKA      MUNOZ                     CA          90012920849
326B5128391831   ANDREW      SEAY                      OK          90009111283
326B526A991356   ANGELICA    ESPARZA                   KS          90014392609
326B538435B156   ERIC        RAGLIN                    AR          23044123843
326B544365B395   NAOMI       MAYHEW                    OR          90005744436
326B555615B393   MIGUEL      FIGUEROA                  OR          90004305561
326B5962157153   FERNANDO    RAMIREZ                   VA          90006509621
326B6159277544   ANTONIO     AGUILAR-HERNANDEZ         NV          90005591592
326B624655B52B   HECTOR      LOYA                      NM          35051722465
326B6349A8B16B   TAHLIA      GOCHEZ                    UT          90013743490
326B6565836143   ANGELICA    AYALA                     TX          90002645658
326B69A5631487   BRITTANY    MYERS                     MO          90011359056
326B6A52651339   ORVILLE     GRIFFIN                   OH          66075570526
326B7117572B27   SE          AUTO                      CO          33016601175
326B7963A51339   DANIEL      SNYDER                    OH          90009869630
326B7A7612B87B   KAILAMI     TURTON                    ID          90015450761
326B8283131424   CORI U      WINFIELD                  MO          27561572831
326B854577B492   SIERRA      MUCKELVENE                NC          90014805457
326B8828491831   DAMEYOME    HOLLAND                   OK          90012938284
326B888A55B52B   ABRAHAM     RUIZ                      NM          90013188805
326B92A9A7B449   TEIGNESH    NURA                      NC          90010052090
326B92AA341258   ANGELA      DOURLAIN                  PA          90010942003
326B944988165B   ORLANDRA    BROWN                     MO          90001264498
326B9651554165   JESUS       ECHEVERIA DELGADO         OR          47085806515
326B9A88191531   JESUS       DAVILA                    TX          90014580881
326BB181241277   DANA        CUTLER                    PA          51087481812
326BB26357B471   TONYA       WHITE                     NC          90002062635
326BB596333634   LADONNA     WARDLOW                   NC          90011565963
326BB934972496   CHANTEL     ISBELL                    PA          90013519349
3271174135B156   JUANITA     HOLMES                    AR          90010267413
32713A87377544   CHARLES     MCINTOSH                  NV          90011570873
3271422A184368   CONSTANCE   SIMMONS                   SC          90014142201
32715969724B35   JAMILA      JEFFERSON                 MD          90014809697
3271599222B93B   ROMALDO     LASARO                    CA          45017249922
32715A5384B281   SAMANTHA    HOPWOOD                   NE          90000250538
32715A88455972   CESAR       SALAZAR-ANGULO            CA          90008140884
32715A9155B393   JEFFERY     BENA                      OR          90014890915
3271624964B281   AMANDA      NEVE                      IA          90015472496
3271629A35598B   ALEX        JIMENEZ                   CA          90014332903
3271843875B52B   ANDREA      WATCHMAN                  NM          90014964387
32718671A77544   CALISTA     SNYDER                    NV          43081436710
3271883A791531   MAYRA       CAMPOS                    TX          90012908307
32719491A2B93B   GEORGE      RAMOS                     CA          90013024910
3271B31122B93B   MARIA       ARACELI                   CA          90006443112
3271B62525B156   TANGELA     LEAK                      AR          90014126252
3271B69688B16B   SERENA      RODRIGUEZ                 UT          90013346968
3271B825647931   LUZ         DURAN                     AR          25036238256
3271B89312B87B   JAIMITO     VELAZQUEZ                 ID          90007988931
327212A357B43B   BRITTANY    FLOYD                     NC          90003912035
3272149335B393   JACKLIN     PAUL                      OR          90014764933
3272174477B385   EVELYN W    GRANT                     VA          90003767447
32721A7617B639   LEKESHIA    POWELL                    GA          15091200761
3272291995B393   TARA        SCHWEIZER                 OR          44533539199
3272343424B943   WILLIAM     PEREZ                     TX          90014174342
32723A6712B835   MARY        PIERCE                    ID          42019170671
3272458945B156   JANICE      JONES                     AR          23095235894
32724895936B77   LACROY      BRANDON                   OR          44557998959
32724993A7B43B   CARMEN      A. GOODMAN                NC          90007359930
32724A3855B393   BHIM        KHATIWADA                 OR          90000370385
3272533315B393   COLUMBA     GALLEGOS                  OR          44538233331
3272592135B52B   CARMEL      CARTER                    NM          35007969213
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327267A9191831   MARIA           MAMAH                 OK          21055247091
3272687538B162   BRANDON         ROBERTSON             UT          90007558753
32726A97836B77   MARTINEZ        JUNIOR                OR          90010090978
3272774764B943   MARIA           FLORES                TX          90012137476
3272864248B162   MEGAN           RUST                  UT          90011506424
3272873117B449   HUMBERTO        GOMEZ                 NC          90010147311
3272942767B639   DUANTA          CARROLL               GA          15051494276
3272943A15B156   JOHN            TOMASSINI- GIETZEN    AR          90014114301
3272975953B324   ERNEST          WALKER                CO          90013557595
327297AA751339   CHARLES         BENTON                OH          66084357007
3272984557B43B   PEACHES         GRISSETT              NC          11042348455
32729A98391563   YAZMIN          CORDERO               TX          90010790983
3272B24925598B   GERARDO         GARCIA                CA          90012802492
3272B382657367   BOB             BROWN                 MO          90015613826
3272B41495132B   DANIELL         GATEWOOD              OH          90007724149
3272B476991563   CAMERON         BARRAGAN              TX          90006734769
3272B5A6391356   MATTHEW         TANNER                MO          90015185063
3272B86A691952   TIRFE           NEGASH                NC          90008988606
3272B871A24B54   JAMES           JONES                 DC          90006178710
3273191775B52B   RYAN            CANDELARIA            NM          90006749177
327319A6991531   PERLA           GARCIA                TX          90013629069
32732215A84334   NATASHA         VALENCIA              SC          90000562150
3273281A891893   BOBBI           WARRINGTON            OK          21039408108
3273297757B449   TIANDRA         REID                  NC          11091139775
3273454937B639   COURTNEY        TARVER                AL          90006725493
3273482A931424   SIOBHANN        SMITH                 MO          90009868209
3273484118B166   VIVIAN          TABAHA                UT          90003438411
327353A1347931   MORNAN          BEZ                   AR          90014163013
3273542A97B639   LUIS            OSORIO                GA          90003594209
3273559447B492   CHRISTINA       PRYOR                 NC          90014805944
3273561374B281   MARQWISHA       BROOKS                NE          90013776137
3273575A185866   SUSAN           WYATT                 CA          46089687501
3273714565598B   ANTONIO         GOMEZ                 CA          90014941456
32737427A72B93   MICHELLE        PHILLIPS              CO          90010584270
3273787457B449   RENA            CRAWFORD              NC          90015048745
32737A2A12B93B   ALFREDO         MARTINEZ              CA          90013090201
3273815825B393   KENNETH SCOTT   BANNICK               OR          90014891582
32738478A91563   RAQUEL DUE      NES MURPHY            TX          75058354780
3273862662B871   IGNACIO         LIMON                 ID          90014076266
327386AA65598B   NANCY           NAVA                  CA          90009356006
3273934718B166   MELISSA         NEIMOYER              UT          90009943471
3273961542B87B   AMANDA          DIAZBRARRIGA          ID          90011236154
32739785336B77   JOSE            GUTIERREZ             OR          90009287853
3273B961A7B492   HELEN           MCKISSICK             NC          11037589610
3273BA7194B281   ROI             HANG                  NE          27074880719
3274111A336143   TOMMY           PODILLA               TX          90004841103
3274173535B156   GEORGE          WASHINTON             AR          90012127353
3274184312B87B   LAURI           THURSTON              ID          42030038431
3274185177B492   AMANDA          GRIFFIN               NC          11011988517
32741A9A136B77   SHARON          MYLES                 OR          44522790901
3274231A14B281   CASANDRA        BENJAMIN              NE          90008453101
3274275337B471   EUGENIO         MORALES               NC          90012847533
32742A4345B393   TIFFANY         SPRINDSTED            OR          90007370434
327431A3577544   GUADALUPE       ULLOA                 NV          43098511035
32743427A72B93   MICHELLE        PHILLIPS              CO          90010584270
3274391465B156   CYNTHIA         CREWS                 AR          23084889146
32744348A4B943   GRISELDA        GALLEGOS              TX          90014773480
327464A112B87B   MICHAEL         DENNIS                ID          90015124011
3274666465598B   JOHN            GALVAN                CA          49043376646
32746676A91831   JOSE-LUIS       RAMIREZ               OK          90004316760
3274723262B87B   CAROL           CONSER                ID          42002362326
32747643A2B871   MOHSEN          MOHAMMADI             ID          42090706430
3274782634B943   GENELLE         BOUDREAUX             TX          76559518263
32748281A72496   JESSICA         SEISAY                PA          90013622810
327482A5151339   APRIL           HELVEY                OH          90013462051
3274923A57B639   CYRIL           GORONGAYIN            GA          90015132305
3274981922B871   JOSHUA          DAVIS                 ID          42031058192
3274B691591531   KARLA           MORALES               TX          90007666915
3274BAA728B162   JORGE           ALVAREZ               UT          90002780072
3275146A24B954   TROY            HOPKINS               TX          90005504602
3275199112B871   RHONDA          ASHCRAFT              ID          42006609911
32751A84747931   JESUS           BARRON                AR          90014780847
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3275286775B52B   ROBERTO        ESPINOZA               NM          90013628677
32752951A8B166   MARIA          ANGUIANO               UT          31046549510
3275298867B639   ROBIN          DIXON                  GA          15007789886
3275325A136143   AUNISHA        KITCHENS               TX          90010992501
3275394487B639   MYEKA          WILLIS                 GA          90004879448
327539A977B421   CHAD           STEELE                 NC          90009119097
3275475352B835   CARLY          MAIURO                 ID          42098327535
3275494998165B   JOANNA         MARTIN                 MO          29075639499
3275531A15598B   MARIA A        DIAZ MARTINEZ          CA          49001613101
32755615A5B393   CAROL          BUERKLE                OR          44555976150
3275563427B639   MARLENE        VAZQUEZ                GA          90008046342
3275573584B943   ROGER          THOMAS                 TX          90009497358
3275628927B492   ANNESSHA       BROWN                  NC          90012202892
3275659297B33B   JUAN           CLAROS                 VA          81018175929
3275675A42B835   JACK           WATSON                 ID          42083427504
32756AA695598B   YOLANDA        SERNA                  CA          90006450069
3275714A736143   MCDADE         ZHANE                  TX          90012721407
3275721482B87B   MAC            GUY                    ID          90005812148
32757352A91531   PEDRO          BUENTELLO              TX          90012273520
32757A5447B471   PEACOX         CHAKUANNA              NC          11069010544
3275864597B492   ANA            ABARCA                 NC          90005606459
32758A1562B871   NINA           ROJAS                  ID          42040780156
32758A78547931   JUSTIN         MOORE                  AR          90003210785
327592A6954165   EDGAR          PEREZ                  OR          90013752069
3275956862B871   JESSICA        PARTON                 ID          90014605686
32759A28791563   HANK           CORTEZ                 TX          90013690287
3275B155A5598B   LENORA         GARCIA                 CA          49020941550
3275B543736143   RIETTA         VASQUEZ                TX          90014925437
3275B795A4B22B   MIRANDA        MORROW                 NE          90014747950
3275B7A834124B   DAVID          DUTKA                  PA          90011217083
3276123A74B281   JOSE           RODRIGUEZ              NE          90013292307
3276196618B16B   BETTY          GOMEZ                  UT          90013019661
327621A8741258   BRANDY         GARY                   PA          90009601087
3276262547B492   TAMMY          SANDERS                NC          90014806254
32762A8865598B   MICHELLE       BENGE                  CA          90002020886
3276395A97B639   MICHELLE       NELSON                 GA          90012009509
32764234A91531   HECTOR         REYES                  TX          90013592340
3276438152B835   SUZIE          BELL                   ID          90004323815
32764385572B76   SHEENA         DAEBELLIEHN            CO          33099273855
327653A3136143   PETER          MACIAS                 TX          90013653031
3276542197B639   DOMINGO        PUCKETT                GA          90010804219
32765A6887B449   MICHAEL        MATTHEWS               NC          90013790688
32766136A5598B   PEGGY          MAGALLANES             CA          90013281360
32766363A8B162   TAYLOR         ZILLIG                 UT          90014863630
3276675778B166   BRADY          MAYCOCK                UT          90007197577
32766A8237B449   LYNNE HOWARD   WHITE                  NC          90014810823
32766A96791531   YVES           TSHIMANGA              TX          90014510967
32766AA4A91531   LORENA         TORRES                 TX          75016290040
32767398472B24   JOSHUA         CORDERO                CO          90013513984
3276758138B162   TYLER          MANN                   UT          90005695813
3276773788B16B   DANIEL         JOHNS                  UT          90015517378
327678A2A5B156   COREY          FORD                   AR          90009408020
3276799434B943   DARWIN         DEJEAN                 TX          90003419943
327686A3236143   JESSICA        HERNANDEZ              TX          90007816032
327687A5851369   KISHA          SMITH                  OH          90008597058
327687AA354165   JUSTIN         SPELLMAN               OR          90013877003
3276912137B43B   JONATHAN       FISHER                 NC          11011821213
3276961494B531   SONYA          ANDERSON               OK          90012916149
327696A9277544   ARACELI        ACOSTA                 NV          90003526092
3276B18627B449   RICHARD        GAST                   NC          90014211862
3276B273191531   DORA           GALLARDO               TX          90011312731
3276B465691531   DANIEL         BECERRA SUSTAITA       TX          90014224656
3276BA35955972   WILLIAM        EQQLESTON              CA          90014530359
3276BAA782B87B   NATHAN         PICKERING              ID          90009440078
32772234A91531   HECTOR         REYES                  TX          90013592340
3277226734124B   SHEILA         ANDERSON               PA          51016102673
3277233854B281   WHITNEY        WADE                   NE          90014813385
3277332172B871   DAROLD         MARTIN                 ID          42057103217
327735A214B281   KELLY          HAMELL PEREZ           NE          27042075021
3277374953363B   ANGEL          WILSON                 NC          90004837495
3277433174124B   KRISTY         DEFELICE               PA          51015033317
327748A6741277   KELLY          WORSHAM                PA          90015328067
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32775296A5B393   YOSELIN       JIMENEZ                 OR          44513582960
3277588715B156   LATESHIA      COOPER                  AR          90010998871
3277634943B326   GARY          JOHNSON                 CO          90001293494
32776754A54165   DANILO        AGUILERA                OR          47094137540
3277679745B156   RENEE         POE                     AR          90014907974
3277755927B471   SHANE         WHEELER                 NC          90014675592
3277791934B943   JASMINE       WILLIAMS                TX          90012509193
32779298136B77   JEFF          HESS                    OR          44564522981
3277953867B492   JEFF          MANNING                 NC          90007735386
3277B147224B35   GREG          SAYER                   DC          90010001472
3277B196341258   DANNY         SPENN                   PA          90010561963
3277B199685655   YUNIOR        BRAVO                   NJ          90013931996
3277B257A8B183   EVER          SANCHEZ                 UT          90011902570
3277B438855972   JOHN          PARKER                  CA          48054994388
3277B578851347   PATRICE       WOODFOLK                OH          66010705788
3277B6A8A8165B   LACIE         LOCHIANO                MO          29039276080
3277B9A4891356   ALFREDO       SOLIS                   KS          29013589048
3277BA99151339   ADRIENNE      BURKS                   OH          90014710991
327811A7655972   MIGEL         RAMIRES                 CA          48087401076
3278147238B162   KRISTINA      PYLE                    UT          90013374723
3278168345598B   EDUARDO       SANTOS                  CA          90000256834
3278263244B281   TERESA        MINARD                  NE          90011426324
3278263642B871   MICHAEL       WILSON                  ID          42072496364
3278282237B639   ANA           TORRES                  GA          90015238223
3278292915598B   ELVIRA        CISNEROS                CA          90013789291
3278347572B93B   HARLIN        HARRIS                  CA          45005054757
3278359498B16B   ANGELINA      LINGELBACH              UT          90011415949
3278478958B162   JARED         NELSON                  UT          31091887895
3278499AA8165B   TIMOTHY       DEFOOR                  MO          90010569900
3278594125B156   CYNTHIA       BELL                    AR          90014569412
3278616954B943   ROUSY         WATKINS                 TX          76522871695
3278648564124B   VICTOR        ALSTON                  PA          51057594856
3278651452B835   ANTHONY       MARSH                   ID          90013545145
3278749385598B   MIRIAM        MENDOZA                 CA          90013234938
32788149A36143   DANIEL        PADIERNA                TX          90008891490
3278857A641285   SHACARRA      RUSSELL                 PA          90010785706
32789183A36143   JONATHAN      PEREZ                   TX          90014201830
3278B196341258   DANNY         SPENN                   PA          90010561963
3278BA65291356   PEDRO         HERNANDEZ               KS          90001880652
3279154412B87B   CHARMAINE F   SKAGGS                  ID          90010345441
32792232A91356   JAMES         STEWART                 MO          90013332320
32792928A55972   JERRY         LITTLE                  CA          90000309280
327931A432B93B   FRANCISCO     IBARRA                  CA          45057681043
32793A75A4B281   MARIO         GRADY                   NE          90012830750
3279424A45598B   BRENDA        GOMEZ                   CA          49071262404
32794438A91893   KIM           JAMISON                 OK          21066624380
3279446228B162   MALENA        MANCHEGO                UT          90011874622
3279493287B492   BREANNA       ELLIS                   NC          90014419328
3279515A74B561   MICHAEL       WALDEN                  OK          90008441507
3279628472B871   GREGORY       MILLER                  ID          42065602847
3279727174B943   ASIA          BENNETTE                TX          90008692717
3279754A836143   YVONNE        CARDENAS                TX          73517055408
3279855A84B943   BETTIANA      CHARLOT                 TX          90013115508
32799329A77544   ROSA          FLORES                  NV          90011623290
3279954962B87B   AMANDA        FUHRIMAN                ID          90012615496
3279B13917B873   SHARI         LOVE                    IL          90011321391
3279B17925B393   KORYEON       JENKINS                 OR          90014891792
3279B855591531   MARLENE       RIVERA                  TX          90009238555
3279B912691232   MICHELLE      ROBINSON                GA          90004009126
3279BA52731424   CANDICE       WATSON                  MO          90013860527
327B1A6144B943   TASHLA        LAWRENCE                TX          90014160614
327B211A98B16B   DAVID         BROOKS                  UT          31062901109
327B245A15598B   ROBERTA       BRACAMONTE              CA          49047104501
327B246767B492   SAMUEL        PEREZ                   NC          90013094676
327B2523336143   MANUEL        BALADEZ                 TX          90014645233
327B255A35B156   DESHAWN       BRADLEY                 AR          23076815503
327B25A5136B77   PRESTON       SCHLEICHARDT            OR          90011885051
327B287A684368   LATASHA       MILLER                  SC          90013678706
327B2938891531   VIANNEY       AVILA                   TX          75099269388
327B3223791563   CARLOS        NEVAREZ                 TX          75020232237
327B335534B943   MICHAEL       THIBEAUX                TX          90014733553
327B3455854165   GODINEZ       APOLINAR                OR          90011594558
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327B3658977544   GUADALUPE     CONTRERAS-RODRIGUEZ     NV          43013396589
327B3A4444124B   RONALD        GILL                    PA          90013080444
327B456285B393   WALID         SALLOUT                 OR          90008965628
327B47A6151339   JEREMY        MYERS                   OH          66057967061
327B486582B93B   GABRIELLA     DIAZ                    CA          90002138658
327B4AA594B943   DULCE         ARELLANO                TX          90012850059
327B531A991831   CHRISTINA     BOTTOMS                 OK          90013663109
327B54A9351339   KENNETH       BLANKENSHIP             OH          90014934093
327B5874136143   MARC          LIRA                    TX          73501908741
327B5A34254165   NERI          LUNA                    OR          90000970342
327B5A5A82B87B   JULIAS        MTAMBALA                ID          90008300508
327B627595B156   SHAMON        LEE                     AR          90012592759
327B6572651339   PAMELA        SHORT                   OH          66068475726
327B6885941277   MELVA         MCKNIGHT                PA          90013958859
327B6A9527B449   REDYN         SLAVADOR                NC          90013320952
327B7235691531   SYLVIA        SERNA                   TX          90014692356
327B7455391356   JACKIE        HOYLE                   KS          90015084553
327B7824641258   VANESSA       NAZAREK                 PA          51076258246
327B7934754165   ALEXIS        COPELAND                OR          90013759347
327B7A45855972   TERESA        MADRIGAL                CA          90014990458
327B8142851369   PHYLLIS       HOSKINS                 OH          66077471428
327B824957B429   JONDA         CALDWELL                NC          90008882495
327B8298951369   DONNA         RUDD                    OH          90015002989
327B8323A51339   TODD          CARPENTER               OH          90003983230
327B8A12141277   MICHAEL       VETRECIN                PA          51051880121
327B912714B281   MICHELLE      MORRIS                  NE          27027361271
327B9382791563   MARIA         LUPERCIO                TX          90009923827
327B994A95B52B   CHRISTOPHER   GRIEGO                  NM          90013819409
327BB191451339   KATHERINE     PATRICK                 OH          66066571914
327BB353591563   LAURA         AMAYA                   TX          90002333535
327BB45387B639   LAKEVIA       HILL                    GA          90007924538
327BB837451369   MARCOS        ESPINOZA                OH          90014318374
327BBA4662B871   KEVIN         MCGINLEY                ID          42032130466
3281135987B449   PATRICIA      JUAREZ                  NC          11066883598
3281141287B492   NIKKI         CERNA                   NC          90011754128
3281159612B93B   MELCHOR       CAZARES                 CA          90012405961
3281213A85B156   REBEKAH       WILLIAMS                AR          90014691308
3281223A947931   HEATHER       PATTERSON               AR          90009452309
3281235572B835   SUSAN         ARNOLD                  ID          42025783557
3281327614B943   JESIE         SMITH                   TX          90015242761
3281343772B87B   SANDRA        SCHWARTZ                ID          90010954377
3281354A35B52B   CHARLENE      VALLEJOS                NM          90011855403
3281396935B393   MICHELLE      BOOTH                   OR          44524039693
32814596A7B471   JENNIE        HOLMES                  NC          11062315960
32814762A4B281   CHRISTOPHE    SMITH                   IA          27051597620
328152A7236143   JOSE          CANO                    TX          90010312072
32815A9137B639   CANDY         JONES                   GA          90015330913
3281639533B391   FLOYD         JAMES                   CO          90002183953
328165A175B52B   ENRIQUE       BAYLON-HERNANDEZ        NM          90012645017
32816857A7B492   JOSE          REYES                   NC          11067178570
328168A718B183   BRIGHT        ANDREW KEITH            UT          90009628071
32816A8617B449   JILLIAN       GROSSKOPF               NC          11007510861
3281737454124B   ANTHONY       WILLOE                  PA          51034203745
3281815464124B   PATRICE       FITZPATRICK             PA          90012101546
3281858745B393   ROBERTO       SALAS                   OR          90014895874
3281918A94B943   CESAR         NOE ALANIS              TX          90014961809
3281B59628B16B   SANDRA        BANUELOS                UT          90011415962
3281B69A791544   STEPHANIE     VALERIO                 TX          90009676907
3281B886A2B871   RACHEL        EDWARDS                 ID          90011148860
3281B97767B425   BALBINO       ESPINOA                 NC          90008979776
328211A382B93B   KELLY         KING                    CA          90013911038
3282151785598B   JODYANN       OSBOURNE                CA          90009355178
3282153194B281   SUSAN         LOVSTAD                 NE          90011915319
32821A92291831   MARIA         ARMENDARIZ              OK          90008640922
32822458A54165   NICOLE        REINWALD                OR          47016704580
3282261515B393   MICHAEL       STICKLE                 OR          90014896151
3282278652B835   AMBER         STANLEY                 ID          90014637865
3282283828B16B   RACHEL        BARNETT                 UT          31089538382
3282339778B16B   WENDY         SMITH                   UT          90008673977
32823761A8B162   JEFF          ROUSE                   UT          31040707610
3282415122B835   SHEILA        GRIMES                  ID          42084961512
3282529298B162   DANICA        NELSON                  UT          90004302929
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3282531437B449   EVARISTO           GARDUNO            NC          90008743143
32826539A2B835   JENNIFER           BENGER             ID          42051525390
3282697212B87B   EDITH              TOVAR              ID          90014729721
32826A82855972   JAMES              ROWLEY             CA          90013030828
32827244372B76   SERGIO             RODRIGUEZ          CO          33048362443
32827864276B21   DAVID              GORMICAN           CA          46073448642
32827A8657B492   DANA               JACKSON            NC          90013460865
3282811472B871   JOHN               ORELUS             ID          90012491147
32828122A2B87B   LAMAR              WEST               ID          90009891220
3282823457B492   SONIA              ESPINOZA           NC          11056922345
3282945322B93B   OSCAR              GONZALEZ           CA          90013134532
3282998455B156   THERESA            CATES              AR          23065999845
3282B263257153   ALBERTO            VILLANUEVA         VA          81082482632
3282B76997B639   JANICE             DAVIS              GA          15098207699
3282B892A5B393   JOSHUA             MILLER             OR          44575828920
3282BA3A18B162   TOMOYA             ITO                UT          90000210301
328312A794124B   TELAN              JONES              PA          90014082079
32831553276B58   MARGARITA          OROZCO             CA          90013385532
328317A264B943   SHANTE             SMITH              TX          90013777026
3283195A155951   LIESWA             CHEA               CA          90002879501
328319A3A5B52B   CHRISTINE          VELARDE            NM          90011139030
32831A98651369   RAY                CRAIN              OH          90011930986
32832761672B76   RONALD             HEISER             CO          90006527616
3283356992B871   MATTEW             MILLER             ID          90012065699
3283395372B835   JENIFER            DAVISON            ID          42000169537
3283396284B943   ASHLEY             WALDON             TX          90012479628
32833A45291356   RACHEL             WILSON             KS          90013940452
328341A342B93B   JULIO              HERNANDEZ          CA          90013141034
328342A5131424   SHANNON            FLYNN              MO          27510092051
3283453AA84368   ELLESTON           DONALD             SC          90004305300
32834741A5598B   JILL JANELLE       LOWER              CA          90008507410
32834A7618B16B   FRANCISCO          PANTOJA            UT          90012980761
3283515475B52B   JUDITH             RASCON             NM          90015081547
3283571297B492   FAUSTINO           RAMOS              NC          90013177129
3283616982B835   KRISTINA           FITTS              ID          42032051698
32836843772B76   FEDERICO           SANDOVAL           CO          33041788437
32836A5244B943   MARIA              ZAMORA             TX          90012860524
32836A86554165   KENDA              SWADER             OR          47059120865
3283728587B449   ANTOINETTE         BARNETT            NC          90012842858
328374AA391831   DUSTIN             GADDY              OK          90014104003
32837686A9152B   CASTILLO           MONICA             TX          75051286860
3283775337B471   EUGENIO            MORALES            NC          90012847533
32838A23855972   OLIVIA             MEDINA             CA          90006420238
3283952454B943   MANUEL             GARCIA             TX          90011625245
3283B166831424   CURTIS             BALDWIN            MO          90008751668
3283B747391531   DIANA              GONZALEZ           TX          90009327473
3283B912333626   KARISA             TURNER             NC          90015089123
3284116167B471   NOLVIA             MORAN              NC          90006211616
328413A322B93B   SAUEL              RUBEN              CA          90013153032
3284242552B87B   MARY               MAY                ID          42009994255
3284333795B156   ELUNDRIA           SMITH              AR          90010883379
32845A7988598B   ELIZABETH          SAMS               KY          90014480798
3284616464B943   JOSUE              GUERRA IGLESIAS    TX          90003601646
3284638955B385   PATRICK            BENNETTE           OR          90013733895
3284643695598B   VERA               GAITAN             CA          90013894369
32846658124B6B   MISAELOMAR         ALFRARO LAINEZ     DC          90001066581
328467A1941285   TAMMY              DIETRICH           PA          90009087019
3284734327B851   JORGE              AZPEITIS            IL         90003423432
3284738434B52B   MARIO              AMBROCIO           OK          90001633843
3284772165598B   RICHARD            RAYA               CA          90012907216
328483A2A36143   FELLICIANO         CERVANTEZ          TX          90013893020
3284951634124B   JEFFREY            EATON              PA          51007095163
3284988A72B87B   MARCUS             MONTONGRY          ID          42089378807
3284B228947931   EMMA               RIOSDEGARCIA       AR          90014992289
3284B368791831   ANDRES             PUERTA             OK          90013663687
3284B63712B93B   ANSELMA CARDENAS   CARDENAS           CA          90013926371
3284BA4718B166   BRYAN              THOMPSON           UT          31017140471
32851883A8B16B   MARCUS             KING               UT          90013328830
32852A85A41258   JOE                KOSSARTH           PA          51032210850
3285549485B393   JAYNE              YOUTSEY            OR          90007754948
3285664197B471   MIGUEL             JUAREZ             NC          11081496419
3285672712B87B   GANGA              SARKI              ID          90012247271
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3285716515B156   MARY        MACK-PETERSON             AR          23089281651
32857265A31424   MIGUEL      DUENAS                    MO          90006892650
3285738A38B162   REES        RASMUSSEN                 UT          31022283803
3285816257B639   ERICA       ELDER                     GA          90001701625
32858357A2B93B   SANDRA      BLAIR                     CA          90006983570
3285851192B87B   SAMANTHA    SPINAZZOLA                ID          42093875119
3285862A336B77   KYLE        MCBRIDE                   OR          44512736203
3285948894B281   JINORA      GARCIA                    NE          90014114889
3285B11A247931   BRYONY      STEPHENS                  AR          90005511102
3285B176351339   ANGELA      EVANS                     OH          66008391763
3285B18144124B   JANIECE     GRUSGEWSKI                PA          51095401814
3285B785655972   HUGO        TORRES                    CA          90012127856
3285B7A264B943   SHANTE      SMITH                     TX          90013777026
3285BA86591893   JAIME       LIRA                      OK          21066310865
3285BAA5A77367   ANTHONY     NASH                       IL         90008510050
3286134912B871   MELISSA     CARVER                    ID          42051463491
32861987A2B87B   JULIE       SPENCE                    ID          42020669870
32861A52731424   CANDICE     WATSON                    MO          90013860527
32861A99151339   ADRIENNE    BURKS                     OH          90014710991
3286214934B943   ALEXIS      KENNERSON                 TX          90013451493
328627A1A91356   JEANETTE    MARTIN                    KS          90014067010
32862829372B76   JOSLYNN     MERCADO                   CO          33088358293
32863A57A44365   TAMARA      MINTER                    MD          90012380570
32863A64191563   FERNANDO    CABRERA                   TX          90014440641
32863AA218B162   MARIA       GALLEGOS                  UT          90014490021
328642A5591356   AUTUMN      GREEN                     KS          90014092055
32864562A36143   JEREMY      LOPEZ                     TX          90004265620
3286465777B471   MARIO       CONDE                     NC          90012936577
328646A192B93B   MICHAEL     JIMINEZ                   CA          90013156019
3286491137B449   CASSANDRA   STACEY                    NC          90013239113
3286543514B281   DARREN      JOHNSON                   NE          90000494351
3286548A64B534   JANELLE     MARTINEZ                  OK          90010914806
32865513A4124B   SERENA      COPENACE                  PA          90011695130
3286669672B871   BRUCE       MITCHELL                  ID          90009576967
3286676155B52B   ADRIANA     PEREZ                     NM          90014437615
3286683717B449   PRESLIN     CARDOZA                   NC          90012958371
3286712148B166   CHADWICK    RICHELLE LYNN             UT          90004601214
3286725495B393   RACHEL      HOLCOMB                   OR          90014912549
32867A89251354   JASON       SHOWELL                   KY          90012100892
3286834568B166   ELIZABETH   KEILMAN                   UT          31017403456
3286863398B162   PAYGO       IVR ACTIVATION            UT          90012696339
3286969282B93B   JAMES       LEE                       CA          90013156928
32869792A7B449   ADONIS      LOPEZ                     NC          90004697920
3286B462472B76   RACHEAL     MAES                      CO          33062944624
3286B95628B162   JEFFERY     NELSON                    UT          90013719562
3287119984B943   ERICA       BANDY                     TX          90015201998
32871367A5598B   MIKE        HENDERSON                 CA          49072233670
3287194872B87B   SHAYNE      WOOD                      ID          42058029487
328724A218B16B   MELANIE     WOODS                     UT          90005944021
3287312245B52B   FERNANDO    MENDOZA                   NM          35083771224
32873629A8B162   CINDI       RUELAS                    UT          90014886290
3287385934B943   ESMERALDA   GONZALEZ                  TX          90006858593
3287422728B162   SHELLY      REID                      UT          90003472272
3287447737B449   VUM         GO LIAN                   NC          90010834773
3287492625598B   ARTURO      ZAMORA                    CA          90003709262
3287539A172496   MARY        TAYLOR                    PA          90005403901
3287611A52B835   ANTHONEE    STEPHENSON                ID          42000331105
32876156A4124B   DONNA       ADAIR                     PA          90011421560
3287621747B471   MARIE       FENELON                   NC          90008532174
328763A3155951   SARAH       FICKLE                    CA          49016873031
3287644535B156   CHRIS       DOBBINS                   AR          90010914453
3287676338B162   LETA        KULA                      UT          90013747633
3287687717B639   ELSA        REYES                     GA          90014848771
3287694585B393   RANDALL     ROBBINS                   OR          90014899458
3287744754B943   JEFFERY     DUBON                     TX          90010844475
328778A4291531   ZANDRA      GARCIA                    TX          75082128042
3287946132B93B   CYNTHIA     GOMEZ                     CA          45049184613
3288142644B943   ROLANDO     MORALES                   TX          90013304264
3288174157B471   JOSHULA     CRANK                     NC          90010947415
328823A6591831   KEVIN       SANDERS                   OK          21043653065
3288261375B393   FERNANDO    BRAVOE                    OR          90005776137
3288294338B162   JANET       MAYA                      UT          90012329433
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32883AA8A55972   AGUSTINE         MONTIEL              CA          90010230080
328842A1551339   KRISTA           FUESTON              OH          90014612015
3288448862B835   KIMBER           GRANT                ID          90012074886
328846A7772B24   GLORIA           ESSIG                CO          90008156077
3288523717B639   LEAKESHA         MILLER               AL          15014162371
3288556A97B639   DASHA            HAMILTON             GA          90012285609
3288623135598B   AIOTEST1         DONOTTOUCH           CA          90015122313
3288735185598B   JOSE             CISNEROS             CA          49052673518
3288794862B93B   ROBERT           MAXIM                CA          90013159486
32887AA915B393   JESSICA          OHALLORAN            OR          90014900091
3288827225B385   ESTELA           NOVA                 OR          90006052722
3288886672B871   CASSIE           COLEMAN              ID          90013208667
32889655A54165   RYAN             CAMPBELL             OR          90009896550
3289122215B52B   JOSE             QUIROZ               NM          35077512221
3289156792B93B   RICARDO          TORRES               CA          90014115679
3289191187B471   ELLEN            RATLIFT              NC          11091699118
3289239157B471   PEDRO            PORTILLO             NC          90013253915
328927A9654165   KATRINA          CHAUDOIR             OR          90007267096
3289298527B492   SHAQIA           SIMSON               NC          90010999852
32892A5842B93B   ROSE             BELL                 CA          45072260584
3289318212B871   KRISTINA         GARCIA               ID          42044501821
3289349495B393   PEDRO            LOPEZ                OR          90010424949
3289368A691563   DEMITRI          MARTINEZ             TX          90006136806
3289382264124B   CANDICE          IARRUSSO             PA          90013428226
3289417875B52B   YALUANY          CHAN                 NM          90013291787
3289485912B835   MATT             SMITH                ID          42097428591
32894A7A53B352   FLOYD            FLETCHER             CO          33090490705
32895256A36143   MARIO HERBERTO   VASQUEZ              TX          90013962560
32895438A5B52B   MICHELLE         CARO                 NM          90009604380
3289588588B162   CHRISTINA        MARRUFO              UT          90011158858
3289625495B393   RACHEL           HOLCOMB              OR          90014912549
3289656789375B   JOSH             MILLER               OH          90010645678
32897272A5598B   ANTONIO          MORALES              CA          90014182720
3289734A62B87B   KAYLA            FLINK                ID          90014123406
32897585A51339   CHARLES          SOUDERS              OH          90015205850
3289788A75B156   CONNIE           DUCKETT              AR          90000218807
3289796124B943   BENITO           VARGAS               TX          76547619612
3289854324B943   EFRAIN           CASTANEDA            TX          90011645432
32898979A91563   ALEJANDRA        DE LA PENA           TX          90007509790
3289911868165B   CHRIS            ELLIOTT              MO          29023281186
3289B54588B162   BEATRIZ          GARCIA               UT          90011315458
3289B5A115B156   KRISTI           HOWARD               AR          90003655011
3289B85747B449   PEDRO            ROJAS                NC          90004488574
3289B92A12B835   PATRICK          MCDONNELL            ID          90012299201
328B1139A5598B   ANTHONY          CURRILLO             CA          90013171390
328B14AA391831   DUSTIN           GADDY                OK          90014104003
328B154118B162   LEEANN           LEE                  UT          90014695411
328B1653691563   APRIL            VASQUEZ              TX          90001556536
328B1A5A136143   LORENA           ZUNIGA               TX          90012740501
328B217925B393   KORYEON          JENKINS              OR          90014891792
328B2214672496   KYLAH            RICHARDSON           PA          90014042146
328B2376251339   LARRY            WAGERS               OH          90013003762
328B2667791232   CHARLES          MOBLEY               GA          14523206677
328B27A664B943   DASHARI          OWENS                TX          90013877066
328B284632B395   ANTONIO          GILBERTH             CT          90014478463
328B317585B393   I                M                    OR          90012921758
328B3258836143   ANTONIO          PATINO-ROJAS         TX          90003192588
328B398647B471   VERONICA         FRANKLIN             NC          90015559864
328B419244B943   TRACIE           HANKS                TX          90012831924
328B468157B639   TIFFANY          JONES                GA          15006766815
328B4A3963B325   ERICA            DIAZ                 CO          90010500396
328B5262951369   BEVERLY          DUNN                 OH          66033702629
328B546917B449   SHAQUINTA        MCCAIN               NC          11044724691
328B54A9436143   CADEJA           DEMBO                TX          90010994094
328B63A3991563   ROCIO            ACOSTA               TX          90001633039
328B652712B87B   MICK             WARE                 ID          90006845271
328B6559541277   TIFFANY          SMITH                PA          51079355595
328B693895598B   ROXI             MONJE                CA          90012039389
328B6A8592B93B   LUIS             GARCIA               CA          90013090859
328B752655B555   TERRI            TORRES               NM          90010815265
328B7584151369   KAREN            BROWN                OH          66057965841
328B7912755972   SAVANNAH         OSEGUERA             CA          48011179127
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328B7A8918B162   WILSON         COBB                   UT          90014000891
328B8826A2B835   GAUDENCIA      MENDOZA                ID          90008438260
328B8A44672496   LORI           RANKIN                 PA          90014180446
328B929A557153   PRIMO          BUSTOS                 VA          90004012905
328B9332791531   ANA            DOMINGUEZ              TX          90014933327
328B9396536143   PEDRO          MARTINEZ               TX          90014553965
328B948137B492   RODNEY         RICHARDSON             NC          90005854813
328B9631631424   PANDORA        SHEPARD                MO          90011376316
328B974A94124B   CHRIS          CORTAZZO               PA          90006467409
328B9A21A7B639   PATRICE        JACKSON                GA          90013780210
328B9AAA891356   NICOLE         RUCKER-MARTIN          MO          29087060008
328BB11378B16B   ANGELA         LUCERO                 UT          31072481137
328BB24872B87B   DAVID          POSTON                 ID          42059372487
328BB422391531   ALICIA         CISNEROS               TX          75010224223
328BB474991531   OSCAR JR       CORPUS                 TX          90012654749
328BB523751369   MELISSA        LYONS                  OH          66055205237
328BB952951339   JESSICA        ROWLAND                OH          90014539529
328BB9A2A91356   VICTOR         CHAVEZ                 KS          90012909020
3291152432B835   CHRISTINA      KNIGHT                 ID          42089405243
32911A3543B39B   ROBERT         ARNOLD                 CO          33075370354
3291267375598B   AUSTIN         LAGROTTA               CA          90009996737
3291269332B871   CHAZ           VARGASON               ID          90014906933
329128AA35B177   BOBBY          CARTER                 AR          90011988003
3291315574B281   AMBER          SMITH                  NE          90013481557
329136A7691959   ANTONYA        LADSON                 NC          90015056076
32913A15372496   ANNA           LUCAS                  PA          90014240153
3291486862B87B   CARLOS         GOMEZ-RIVERA           ID          90012978686
3291569378B16B   ROBERT         CONLON                 UT          90014626937
3291598598165B   SAMUEL         VARGAS JR.             MO          29024659859
3291667174B943   PATRICK        DAVIS                  TX          76510836717
32916A42847931   MARGARITA      MARTINEZ               AR          90014180428
3291732387B492   LUIS           MINIER                 NC          90013103238
329176AA95B52B   FELIPE         LANDEROS               NM          35062176009
32917A4A555972   MISTY          FENSTERMAKER           CA          48035940405
3291922135598B   GUAFALUPE      DICKERSON              CA          49094022213
329192A3336143   MELISSA        CORTEZ                 TX          90014142033
32919515772B41   LUIS           PINEDA                 CO          90013875157
3291B28262B87B   JASON          ALEXSANDER             ID          90013482826
3291B365141277   KIMBERLY       STILTS                 PA          90012823651
3291B479681681   JOSH           KURTZ                  MO          90010914796
3291B67385B156   JUNE           BAILEY                 AR          90006666738
3291B97A136143   ROSALINDA      LEOS                   TX          73503449701
329215A8A91831   CHRISTOPHER    BUTTS                  OK          90011885080
3292188178B16B   MARK           WEAVER                 UT          31070118817
3292198A472496   CYNDI          ONELL                  PA          90009759804
32921A95531424   FAYE           COOPER                 MO          90011330955
3292265962B93B   DANIEL         ALBRIGHT               CA          45012526596
32922928A91356   LENKA          BROWN                  KS          29088089280
329245A8755972   CHUCK          MEEKS                  CA          48051455087
32925A42991531   JESUS          HERNANDEZ              TX          90006040429
3292617134B943   JUAN           COLINDRES              TX          90013131713
3292626687B43B   DARNELL        BARBER                 NC          90009002668
32926A3372B87B   GEORGE         STEWART                ID          42020520337
32927451924B42   ANA            QUINTEROS              DC          81025104519
3292788742B395   MALISHA        ALCHELUS               CT          90014158874
32927894472B76   LUIS           GOMEZ                  CO          33031798944
32927A13191531   JOSE LUIS      VAZQUEZ                TX          75074370131
3292813192B93B   PATRICK        HANNA                  CA          90012511319
3292817855B199   RICKY          ENGLAND                AR          23011411785
3292836AA4B281   MARY A         BICE                   NE          90013923600
329286A9291831   FELECIA        GIBSON                 OK          90014626092
3292954672B87B   DUSTIN         GUINN                  ID          90004755467
3292B19248B16B   CHAD           ANDERSON               UT          31077351924
3292B294A7B492   GARFIELD       SAUNDERS               NC          90013292940
3292B611172B76   JOSE           LARA                   CO          33096096111
3292B91664B281   BRANDON        ORNAT                  NE          90014369166
3293125635B52B   ARACELI        ESPINOZA               NM          90015202563
3293159725598B   LUIS ANTONIO   GOMEZ                  CA          90003995972
32932A1A825655   RASHUN         CROOK                  AL          90014080108
32932A44A8B162   RYAN           ROTELA                 UT          90012570440
32932A85A5B393   PAUL           WARDE                  OR          90014900850
3293322815B156   WEALEY         SMITH                  AR          90006252281
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3293355782B835   EMILY             MCKNIGHT            ID          90013155578
32933A85A5B393   PAUL              WARDE               OR          90014900850
32934642A8165B   DAVID             CHAMBERS            MO          29023816420
32935373A91356   JESUS             GUILLEN             KS          90012303730
3293542532B87B   GINA              CHAPA               ID          90012854253
3293573744B943   VANESSA           MUNGUIA             TX          90015097374
3293662A336143   ANGELA            REMIREZ             TX          90011006203
32936A88984368   TINA              LOPEZ               SC          90006370889
3293722314B281   JAMIE             TALLANT             IA          90003612231
3293722515B393   KATIA             PROPHETE            OR          90011992251
32937695872B76   COMETTO           LUIS MARIE          CO          33029616958
32937A8A191831   OCTAVIO           HERNANDEZ           OK          90008630801
3293822384B221   TERESA            ASHLER              NE          90011942238
329382AAA55972   MARCEL            URANGA              CA          90013362000
32938792A91831   CHERYLLN          GEISER              OK          90003127920
3293938A72B93B   SUNNY             DHILLON             CA          90014993807
329395A548165B   FRED              MOORE               MO          29053535054
3293B119741277   TIFFANY           COX                 PA          90014941197
3293B515526759   JAMAL             ELLIS               VA          90007925155
3293B82927B471   THEODORE          WHITE               NC          11005878292
3294178494B943   LAVINIA           ANTOINE             TX          90007827849
3294191382B93B   JOHN              BLAZE               CA          90013179138
32942126A72496   NELLIE            MEADOWS             PA          90012701260
329424A977B639   SHICOLA           HAND                GA          90002654097
329425A519152B   ALEJANDRA         VELSAZCO            TX          90002685051
32943462A31424   DAPHYNE           GARROTT             MO          27581964620
3294468972B871   SHERRY            SHATTO              ID          42097346897
3294472984124B   CHARLES           RANDALL             PA          90012057298
32944768A5B156   DWIGHT            RAY                 AR          90005057680
32944847A5B52B   ANGELA            LUCERO              NM          35008428470
3294512537B492   LEO               MORALES CASAS       NC          11093231253
3294584682B835   ZACARIAS          SALAZAR             ID          42034658468
32945A53A8B16B   BRENT             BLANCH              UT          31011920530
329461AA354165   SARA              TODD                OR          90014541003
3294672A34B943   SAM               HENDERSON           TX          76566707203
3294715754B943   LASAUNDRA         YOUMAN              TX          90003971575
3294717932B886   SHAWN             ALLEN               ID          90013491793
3294781825598B   BERNADETTE        ROCHA               CA          90010248182
32947A23884332   VERONICA          FABERS              SC          90013450238
32947A4175B393   GLENDA            WANN                OR          44560020417
32947A86584368   FERNANDO          RIVERA              SC          14549040865
3294854227B639   OLA               MCMILLIAN           GA          15009515422
3294872465B52B   CECILIA YOLANDA   RIVERA ROBLES       NM          90013507246
32949179A91531   JOEL              REYES               TX          90013951790
3294948495B393   LAKISHA           HENDERSON           OR          90008864849
32949652A5B52B   EFRAIN            VASQUEZ             NM          90012226520
3294997577B639   VALARRIN          DENISE              GA          90014979757
3294B21657B492   VERONICA          GUTIERREZ           NC          90010422165
3294B25A591563   JAZMIN            RODRIUEZ            TX          90013302505
3294B989136143   ROSEMARY          CABALLERO           TX          90011999891
3295138632B87B   JANET             FIOKOUNA            ID          90010053863
32951693A31424   LORI              MCDONALD            MO          90014856930
3295258A891563   MIRIAM            RODRIGUEZ           TX          90011525808
32952A96955972   MARIO             GARCIA              CA          90012610969
3295321898B16B   ROUECHE           NOEL                UT          90013232189
329534A234B943   JOSE GUADA        ROCHA ACOSTA        TX          90000244023
3295356744124B   ZELLETTIA         BRANTLEY            PA          90014275674
329541A855B393   UNDREA            EUBANKS             OR          90014901085
32954A15391831   RENEESHA          JACKSON             OK          90014450153
3295545357B449   CRISTIAN          CABUTO              NC          90013304535
3295576A38B16B   CHERYL            BAGGS               UT          90000837603
32955955472B24   ANDREW            METSALA             CO          90001539554
3295697185B52B   JENNIFER          MARTINEZ            NM          90011139718
32956A43254165   AMANDA            PLOUGH              OR          90012510432
3295757238B16B   JASON             HESLOP              UT          90015345723
32957A47457153   ELODIA            ALVAREZ             VA          90006900474
32957A5684B943   DAMON             JAMES`              TX          76557530568
329587A5472496   CHARLES           NUTT                PA          90014177054
3295993787B43B   WILLIAM           MILLER              NC          11027119378
3295B351187B64   DERICE            ROBY                AR          23011293511
3295B747755972   DARLENE           HOOKS               CA          90012567477
3295B856A91531   ROSI              NAZARIO             TX          75090218560
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3296111165B393   BRENDA       JIMENEZ                  OR          90014901116
3296111495B156   DERRICK      WRIGHT                   AR          90013061149
32961A88772496   DANIEL       MILLER                   PA          90010560887
32961A9242B93B   ROSA         CONTRERAS                CA          45010340924
3296211425B393   TRACEE       BARBER                   OR          90014901142
3296229774B281   AMBER        THORTON                  NE          90014592977
3296249438B162   SHANNON      SEARLE                   UT          90005644943
3296273232B87B   DEREK        PLATT                    ID          90009377323
32962792772B24   MAGDALENO    ALANIS                   CO          90014087927
3296345642B871   ALEX         GILES                    ID          90011454564
3296384832B871   IRMA         ENRIQUEZ                 ID          42044358483
329638A3951339   AMY          KING                     OH          90011398039
32964A57291831   MISTY        MOORE                    OK          90014600572
32965A1A85B393   LINDSAY      PIRTHALL                 OR          44581170108
3296645A161993   VEN          GUERRERO                 CA          46007644501
3296649835B156   TALISHA      HENDERSON                AR          90011154983
3296763A291232   AMANDA       SAPP                     GA          90007986302
32967A3785B52B   GRACE        GUTIERREZ                NM          90012950378
329693A3251339   NINA         HIGHLEY                  OH          90011133032
32969476A31424   MARIANE      FORTENBERRY              MO          27573204760
3296983A891544   JAZMINE      UNDERWOOD                TX          90011418308
32969AAA441277   RONALD       ROSE                     PA          51013990004
3296B238972496   ALAN         DOROGI                   PA          90007822389
3296B28A484368   VICTORIA     BRAVO                    SC          90014512804
3296B838847931   MARIA        HERNANDEZ                AR          90004958388
32971134A5B161   CHIQUITA     ANDREWS                  AR          90013481340
3297154987B639   KEVIN        WHITE                    GA          90014875498
3297179215598B   MRIA         LOMELI                   CA          49025967921
3297182815B52B   JOSAL        OVIDA                    NM          90009658281
3297189598B162   ABRAHAM      VEGA                     UT          90010868959
3297197697B449   TOYA         DAMON                    NC          90012179769
329719A125B52B   JOE          THWEATT                  NM          90013569012
3297269115B393   BRISA        ORTEGA                   OR          90010106911
32972A2697B471   NATASHA      TAYLOR                   NC          90014360269
32973263A2B835   KIEFER       CAFFERTY                 ID          90013852630
329732A9891885   NICOL        TALAMANTES               OK          90014112098
3297332765B393   YIAN         VEY SAETERN              OR          44583113276
329735AA32B871   NATALIA      VASQUEZ                  ID          90010345003
3297389494B281   JESSE        SCHAEFER                 NE          90015128949
3297426837B639   JOSE         GONZALES                 GA          90005602683
3297611425B393   TRACEE       BARBER                   OR          90014901142
3297612655B253   TANIA        CANADAY                  KY          90006151265
329762A767B471   ELISEO       SANCHES                  NC          90007052076
3297645A441258   RHODA        RILEY                    PA          51051654504
32976557A8B162   VERNON       BENNETT                  UT          31047715570
329766A3772B76   MARIA        RAMIREZ                  CO          33091416037
3297693632B87B   NICK         DAVIS                    ID          90014349363
3297735A28B16B   KELVIN       STEWARD                  UT          31002863502
3297741228B166   BRYAN        MURPHY                   UT          31033854122
32978492A8B162   PATRICIA     KEELE                    UT          31083314920
3297872595598B   CHAUNTREAS   WALKER                   CA          49012797259
32978A3785B393   THERESA      STEVENS                  OR          90004340378
3297935A751369   CELESTINE    BARROW                   OH          90015113507
329793AA45B52B   RUBEN        CASTILLO                 NM          90007803004
32979461A5598B   YESENIA      RUIZ                     CA          90014164610
329796A347B43B   TIFFANY      ROBERTS                  NC          11080646034
32979A73191356   TIMOTHY      JONES                    KS          90010360731
32979AA942B835   PAUL         KEISER                   ID          42041650094
3297B24655B156   JOSE         MODICA                   AR          90012502465
3297B27A751339   EVAN         BESS                     OH          90009982707
3297B2A817B449   CATHY        STACEY                   NC          90014172081
3297B34327B639   CHINA        BROWN                    GA          90013253432
3297B911977544   ANGEL        ALTAMIRANO               NV          43074559119
3297B973A4B281   MARCUS       MITCHELL                 NE          90013419730
3298111A172496   CAROL        SANDERS                  PA          51089941101
3298113397B471   JAMAL        GATES                    NC          90013071339
3298149177B449   GELSOMINA    CAMPOS                   NC          90014634917
3298268835B393   DEVIN        APPELO                   OR          90008166883
329831A2991563   CARMEN       ORTEGA                   TX          90006011029
32983A55854165   WILLIAM      MONSOOR                  OR          47063930558
32984332A7B471   DIANA        ORTEGA                   NC          90014863320
3298446762B835   AMANDA       HEADY                    ID          90002164676
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3298468A42B871   JASON         LOPEZ                   ID          90014886804
32985A77891356   SANDRA        ARROYO                  KS          90001460778
329878A6551369   MARCOS        OCAPMO                  OH          66006078065
32987A8958165B   TAMIKA        ASH                     MO          90013720895
329885A5391356   LYTIA         ERNST                   KS          90007745053
3298B313672B63   BETTINA       ELDER                   CO          90009553136
3298B3AA45B52B   RUBEN         CASTILLO                NM          90007803004
3298B553972B36   SERGIO        MIRANDA                 CO          33083465539
3298B629A8B16B   TARA          HALVERSON               UT          31063676290
3298B938291831   CRYSTAL       HAMILTON                OK          21083109382
3298B94597B639   ERICA         JONES                   GA          90010879459
3299161573B326   JASMIN        GOEBEL                  CO          90007556157
32991696236B95   BULMARO       CANALES                 WA          90014036962
3299171632B835   MICHELLE      GROW                    ID          42033377163
3299286497B639   GENARD        JOHNSON                 GA          90008808649
3299316648B16B   BETTY         GOMEZ                   UT          90013031664
3299331945B52B   MARK          SANCHEZ                 NM          35051723194
32993418A4124B   CHRISTIAN     LOWE                    PA          90014264180
3299451248B162   KEVIN         WILCOX                  UT          90014385124
3299457365B156   SALLY         HINKLE                  AR          90013925736
3299491425B58B   LORETTA       MONTOYA                 NM          90007149142
329968A122B871   SONJA         HOOEERMUNOZ             ID          90003558012
32996A2735B52B   ROBERT        GONZALES                NM          35062850273
3299744A655972   ERIKA         GONZALEZ                CA          90009084406
32997585A7B471   JASON         FELIX                   NC          11083125850
3299782145B156   REGINALD      WAYNE                   AR          90015218214
329979A4736143   GARY          FLOOD                   TX          90007949047
3299821418B16B   JAY           SWIFT                   UT          90012112141
3299825A65B156   CHRISTOPHER   GREENWOOD               AR          90013712506
32998565A41277   TAMARA        JONES                   PA          51099565650
329991A567B471   CHINEMYE      MBA                     NC          11065961056
32999A6282B87B   MALINA        ACEVEDO                 ID          42046080628
3299B211431424   ANDRE         ARMSTRONG               MO          27510512114
3299B54918B166   MELANIE       JONES                   UT          90002075491
3299B764A51369   PAMELA        MARTINEZ                OH          90009637640
3299BA24A6B397   KEVIN         NEAL                    NH          90009510240
329B125A751339   MEGAN         CROMER                  OH          90011312507
329B1658131424   BALITA        HEARN                   MO          90013636581
329B171348B16B   ELISA         LOZANO                  UT          31013307134
329B1992355972   MONICA        OVIEDO                  CA          48001639923
329B2439677544   VICTOR        HURTADO                 NV          90000334396
329B324658B16B   ALYSIA        VARBLE                  UT          90013602465
329B374913B351   MIKE          HWA-LEE                 CO          33091947491
329B37A215B52B   JEREMY        POTER                   NM          35059447021
329B4211972496   WALTER        RICHARDSON              PA          90014232119
329B431355B393   HUBERT        BERRY                   OR          90013813135
329B4359172B24   ABEL          GUADARRAMA              CO          90001123591
329B4382551369   MARK          ECKSTEIN                OH          90013053825
329B439A491563   BLANCA        PEREZ                   TX          90008333904
329B45A237B639   LASHAUNA      JONES                   AL          90014935023
329B479247B471   TEMPEST       PROPST                  NC          90008347924
329B4792A5598B   JOSE          HERNANDEZ               CA          90013367920
329B4796377523   JERALD        GILLEM                  NV          90002997963
329B48A2972B76   CAROLINA      RODRIGUEZ               CO          33081858029
329B498665598B   ALICIA        URBIETA                 CA          90012089866
329B498867B492   CHRISTI       SENTER                  NC          90009859886
329B5311284368   LEON ALVIN    HUDSON SR               SC          90011213112
329B5337141277   COLIN         CRAIG                   PA          51063013371
329B564952B93B   MELINDA       MAUPIN                  CA          45012336495
329B569648B16B   JACOB         GEORGE                  UT          90011766964
329B631925B52B   MELISA        FERMAINT                NM          35020503192
329B634995B393   NANCY         TYRRELL                 OR          44544093499
329B6656A5B156   JAMIE         BEAM                    AR          90011066560
329B697624B281   TONYA         FLETCHER                NE          90002989762
329B71A738B162   JD            GIBBONS                 UT          90009011073
329B7823A2B871   KRISTINA      MARION                  ID          90013778230
329B8387891831   CRYSTAL       DAVIS                   OK          90011043878
329B8456251369   ALEJANDRO     SANCHEZ                 OH          90010304562
329B8513954165   MALIKKHIA     MCRITCHIE               OR          90009405139
329B8617172B76   DON           MILLER                  CO          33082476171
329B8759491531   JONARTHAN     DURAN                   TX          90014737594
329B8873972496   BOBBIE        PACE                    PA          90001698739
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329B8885755972   CHARLES      WHITE                    CA          90013228857
329B9739936143   CONNIE       CHADWELL                 TX          90014807399
329B9A26547931   DAWN         HORTON                   AR          90014180265
329BB117236143   REBECCA      MARTINEZ                 TX          90004561172
329BB344554165   SHERI        GRANT                    OR          90011623445
329BB599191356   CRISTOBAL    GONZALEZ                 KS          29066415991
329BBA17755951   ANDREA       SERRANO                  CA          90002880177
32B11156636143   FRANCISCO    CORTEZ                   TX          90014041566
32B1124197B639   LEYCHA       IGLESIAS                 GA          90010782419
32B1154817B43B   WILLIAM      DURHAM                   NC          11056315481
32B11642151369   DAVID        WOLFE                    OH          90012686421
32B1223A391563   MARIA        VALDEZ                   TX          90015322303
32B1243428B162   ESITA        KINIKINI                 UT          90013324342
32B12689347931   JOSUE        AYALA                    AR          90007836893
32B1274A191356   CHRISTINA    HARRIS FRAZIER           KS          29029597401
32B1291282B93B   GUADALUPE    GARZA                    CA          45050649128
32B1292435598B   ISAAC        ALFARO                   CA          90011159243
32B129A5655951   JACKIE       BRASWELL                 CA          90008669056
32B12A65141277   GREGORY      MUNDY                    PA          51027760651
32B1334522B93B   JOSE         JACOBO                   CA          90014833452
32B1339153B324   CHRISTINA    MULLINS                  CO          90010113915
32B135A315598B   NICOLE       MOORE                    CA          90008505031
32B13A8775B52B   JESSICA      PHILLIPS                 NM          35056370877
32B1427867B23B   DAVID P      PONZI                    CO          33065442786
32B145A9391531   JESSICA      ORTIZ                    TX          90011095093
32B1491284B281   TOBY T       SCOBEE                   NE          90012379128
32B149A915B52B   ANNA         MARTINEZ                 NM          35006199091
32B1525487B639   TIFFANY      FREEMAN                  GA          90011382548
32B1525635B52B   ARACELI      ESPINOZA                 NM          90015202563
32B15256672B76   ROBIN        MANLEY                   CO          90005102566
32B15287A7B429   WILFIDO      AGUILAR                  NC          11081562870
32B15296141277   LAURA        FRANZ                    PA          90001022961
32B15A7817B449   EUGENE       GREEN                    NC          90014840781
32B1616852B93B   RUTH         PRIETO                   CA          90012781685
32B1644387B359   ALBA         RODRIGUEZ                VA          90005914438
32B1644765B393   HIRAM        LIZARRAGA                OR          44537844476
32B1651A487B27   TYLER        BOLTON                   AR          90014865104
32B1667124124B   MARK         PATTERSON                OH          90000226712
32B1669832B87B   DERIK        STANDLEY                 ID          42014126983
32B16A23972496   SARA         SHALLENBERGER            PA          90014060239
32B17543291563   JESUS        CORIA                    TX          90002395432
32B1769847B449   MIKAELA      VANCE                    NC          90014596984
32B177A6336143   LISA         PEREZ                    TX          90014697063
32B17934A91831   LASHAN       COX                      OK          90008819340
32B17985531424   BRANDI       FOOT                     MO          90002399855
32B18467A7B639   RAYSHAWNDA   HICKS                    GA          90013494670
32B18658572496   TRACY        SCHOMER                  PA          90012866585
32B18839955972   JUSTIN       GONZALES                 CA          90013028399
32B19212591356   VALENTINE    URBARO                   KS          90014042125
32B1939295B393   VICTOR       CASTILLO                 OR          90014213929
32B19865572496   CARL         TREMBA                   PA          51030358655
32B1B36AA4B943   JESSE        MARTINEZ                 TX          90012833600
32B1B842A8B162   MANUEL       LOPEZ                    UT          31087678420
32B1BA9289375B   LINDA        NEWSOME                  OH          90010190928
32B2114115B52B   TRAVIS       SIPERKO                  NM          90013671411
32B2114525B393   SAMUEL       HERNANDEZ                OR          90014871452
32B2164547B449   TYQUAN       WARD                     NC          90013816454
32B219A9A41258   EUGENE       BANKS                    PA          90005109090
32B21A2A35B156   LESLEY       WILLBANKS                AR          90011050203
32B21A51191831   STEPHEN      TWEEDY                   OK          90003950511
32B2222885598B   JOSE         REYES                    CA          90010462288
32B22462291531   GEORGE       TORRES                   TX          90012304622
32B2252997B471   AUSTIN       TOURTT                   NC          90015475299
32B2256792B871   MELODY       NEWMAN                   ID          42076855679
32B22856655972   RAMONA       SAUCEDO                  CA          48035368566
32B2344784B943   LINDA        LEVINE                   TX          90013714478
32B23575941277   DANIELLE     MANKER                   PA          90013825759
32B2368AA47931   VALARIE      WILKERSON                AR          90013166800
32B2435122B93B   YESENIA      VALENCIA                 CA          45069123512
32B24533831424   MAKEESHA     WILLINGHAM               MO          90000815338
32B2493944B281   FELIX        AYIKA                    NE          27004469394
32B2515837B639   RONNIS       TOLBERT                  GA          90014621583
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32B25265791531   VERONICA        HAMBRICK              TX          75012232657
32B25283854165   KATHERINE0810   MILLER                OR          90015082838
32B255A647B425   SHARI           WOUD                  NC          90011145064
32B25883331663   MAHOGANIE       JACKSON               KS          90012688833
32B26224372496   TIA             FRYER                 PA          90000942243
32B2644452B93B   MONICA          TALAMANTE             CA          45085854445
32B26576172B76   ROSA            TAPIA                 CO          33016155761
32B2698237B449   DAMONN          GRAHAM                NC          11053259823
32B2748AA2B93B   COLTON          HUMPHREY              CA          90011774800
32B27575155972   KRISTIE         HAMILTON              CA          48021155751
32B27589491531   MAGNOLIA        GONZALEZ              TX          75009415894
32B27724955951   EDUARDO         MARTINEZ              CA          49006497249
32B279A9A8B16B   JASMIN          BRACERO               UT          90011949090
32B2829464B281   MICHAEL         ROGERS                NE          90012682946
32B2839295B393   VICTOR          CASTILLO              OR          90014213929
32B28561854165   TRACY           JONK                  OR          90014575618
32B289AA24B943   KENNETH         CROCHET               TX          90013879002
32B2949278165B   ANNA            ARREGUI               MO          29029524927
32B29A87276B53   RUBI            RAMIREZ               CA          90011350872
32B2B34817B449   JOHN            SWEENEY               NC          90013053481
32B2B368291563   RAMON           MACIAS                TX          90013963682
32B2B36918B162   EDUARDO         VAZQUEZ               UT          31046703691
32B2B371941285   CHRISTIAN       IVORY                 PA          51038943719
32B2B983347931   SHANNAN         BRINK                 AR          25025349833
32B3112492B835   PURNI           ADHIKARI              ID          90008891249
32B3196A97B495   VERNELL         MILLS                 NC          11004619609
32B32267747931   ALICIA          ALLEN                 AR          90013062677
32B32514741285   WILLIAM         THOMAS                PA          51095045147
32B32824855972   VANECIA         MORENO                CA          90014468248
32B32A43555951   SHAWN           MCDUFFEE              CA          49016530435
32B33243641285   HAROLD          BOLIN                 PA          90010102436
32B33669831424   KEVIN           CORLEONE              MO          90015556698
32B3369935B393   JASON           FRAINEY               OR          90014786993
32B33754147931   OFELIA          GALDAMEZ              AR          90013137541
32B3388655B52B   ZALOMON         SANTIAGO-SANTIAGO     NM          90010358865
32B3421547B492   ALISHIA         ROGERS                NC          90014682154
32B3438275B156   MAY             THOMAS                AR          23091943827
32B3499312B87B   DANNY           JANES                 ID          42041389931
32B3528497B425   TRINA           JERRY                 NC          11081312849
32B3536832B87B   LANCE           BARG                  ID          90002213683
32B3556665B393   HOLLIE          KUNZ                  OR          90014785666
32B3577AA51369   TIM             BROERMAN              OH          90004497700
32B35898541277   EDUARDO         CISNEROS              PA          90014398985
32B3591A336143   JOSE            LOPEZ                 TX          90014819103
32B35A5658B16B   ZACHARY         BRANDLEY              UT          90015090565
32B3626217B639   ALEXANDRO       VELAZQUEZ             GA          90004262621
32B36548455972   SUZANNE         CANDELL               CA          48074165484
32B36668891563   BERENICE        MENDOZA               TX          90012896688
32B3736485B52B   STEVEN          ZIMMERMAN             NM          35068063648
32B3742A491831   ASHELEY         YANG                  OK          90009004204
32B37468691881   MARK            BUSENBURG             OK          21013054686
32B37487672496   SABRINA         YEALEY                PA          90014724876
32B37722A5B156   CHARLES         THOMAS                AR          90013297220
32B3783954B281   TYREE           STOVALL               NE          90015178395
32B3797437B639   LUZ             SUAREZ                GA          90010689743
32B38464251369   JACKIE          RICE                  OH          90014484642
32B3853715B393   ADRIAN          ROSAS                 OR          44563115371
32B3863132B871   CHRISTY         PAYNE                 ID          90012696313
32B3868748B162   DANIEL          ROBISON               UT          90012366874
32B38735261945   MARIA           VASQUEZ               CA          90002627352
32B3958934B943   ANITAL          LEWIS                 TX          76588985893
32B3971457B471   CHARLOTTE       KNOTTS                NC          90014767145
32B3985324B562   DONNA           GAFFNEY               OK          90008508532
32B3B11337B449   TANYA           ABRAMS                NC          11097761133
32B3B399A7B471   MICHAEL         MILES                 NC          90013373990
32B3B94552B87B   YOLANDA         CUEVAS                ID          90011909455
32B411A834B943   HOWARD          PRICE                 TX          90007671083
32B41863951339   MIKE            COLLINS               OH          90013228639
32B4198738B162   KELLY           HORTON                UT          90007789873
32B41A3A54124B   LESLIE          BROWN                 PA          90007420305
32B422A897B492   PAMELA          MITCHELL              NC          11030262089
32B4252A651363   JOSE            DIAZ-JIMENEZ          OH          90014685206
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32B42633184368   SHANNON      NALLEY                   SC          90013226331
32B4287877B471   LATONYA      TYSON                    NC          11013898787
32B428A285B393   CAMERON      FAULHABER                OR          90014898028
32B43126472496   ROBERT       RANKIN                   PA          90015131264
32B43293955972   CARRENO      LORENZO                  CA          90014372939
32B43364A73221   PEDRO        SANTIAGO                 NJ          90015403640
32B4338914B943   TARA         MAY                      TX          90010853891
32B4356AA4B281   LAURIE       BAYLY                    NE          27098325600
32B43724A2B87B   JEFFERY      ALLEN                    ID          90014457240
32B43774431424   RYAN         EDDINS                   MO          90005497744
32B44225691356   CHRISSY      DAVIS                    KS          90013072256
32B44558897939   NICHOLE      WILSON                   TX          74013275588
32B44674191563   JESUS        PALACIOS                 TX          75089136741
32B4476134124B   ALFONZO      STROZIER                 PA          90013647613
32B4513154B281   MARTIN       WALKER                   IA          90014771315
32B4523675B52B   RACHEL       ZAMORA                   NM          90015222367
32B4553615598B   PATRICIA     GAMEZ                    CA          90011405361
32B455A772B87B   BRANDEE      BRIGGS                   ID          42093795077
32B4563534124B   EDMUND       DOLBY                    PA          90002846353
32B46173163663   ANTHONY      GEILER                   MO          27507971731
32B46276651369   LASHELLE     CARTER                   OH          66035042766
32B46418155951   LUCIANO      SILVA                    CA          49051074181
32B46459991531   PATRICIA     VIDALES                  TX          75011614599
32B47441251339   CAMERON      DAY                      OH          90013324412
32B4796618479B   MARTINA      HERRERA                   IL         90014629661
32B47A79A5B156   STEVE        TAYLOR                   AR          90010050790
32B4829632B835   MONICA       MAGANA                   ID          90014092963
32B491A144B943   LAZARO       RODRIGUEZ ESCALONA       TX          90012061014
32B4924A47B471   TSHILANDA    KABEYA                   NC          11051102404
32B49344547931   SHELLY       MAYFIELD                 AR          25073993445
32B4949475B375   NICOLE       PRECIADO                 OR          90014764947
32B49627472B76   DULCEPAOLA   SANCHEZ-HUERTA           CO          90006306274
32B4969552B93B   ADRIEANA     LOZANO                   CA          90014816955
32B49712555972   EUFRACA      CAMPOS                   CA          90008167125
32B4994AA7B639   JERMIL       ESHUN                    AL          90013679400
32B49A41851369   KIMBERLY     ROGERS                   OH          90013070418
32B4B32718B16B   JOLENE       TRESEDER                 UT          90013553271
32B4B679841277   VINCENT      TALOTTA                  PA          90003106798
32B4B94AA8B166   TRACY        EGGELSTON                UT          90007909400
32B4BAA945B156   MARK         CROSS                    AR          90013750094
32B51299255972   BALTAZAR     BACA                     CA          90003222992
32B51354647931   THELMA       SNODGRASS                AR          25026473546
32B51373157153   JOSE         ALVAREZ                  VA          90011373731
32B518A915B52B   MARIALUISA   REYES                    NM          35054198091
32B5214925598B   PHAKDY       SRIRI                    CA          90014431492
32B5243A75B393   ROBERTH      MORRIS                   OR          90000584307
32B53477672496   DESIREE      MCKINNEY                 PA          90013384776
32B53828136143   CHRISTINA    CASTILLO                 TX          90009648281
32B54491841277   LORI         TAUTKUS                  PA          51055694918
32B5457498B16B   QUETZALLI    BALLESTEROS              UT          90009565749
32B54584757153   STEPHANIE    ARMEANU                  VA          90000945847
32B5482877B425   SHAMIKA      PARKS                    NC          90015088287
32B5556642B961   JUAN         GUERRERO                 CA          90012715664
32B55783A5B557   MARGARITO    CORRAL                   NM          90013357830
32B56626A5B393   DAVID        HART                     OR          90003556260
32B5667255598B   ONECHAN      LOUANGPHOM               CA          49053496725
32B568A7291356   CORYEON      GASKIN                   KS          90014128072
32B57315A31439   PATRICIA     JONES                    MO          90013963150
32B57A1877B425   JAZMINE      BANKS                    NC          90015090187
32B58333A71923   LA DONNA     BEARDIN                  CO          32016733330
32B58673331424   DINH         RAHLEN                   MO          90015556733
32B59286791531   CORONELL     ROBERT                   TX          90008492867
32B5B526691531   JOHNATHAN    JASSO                    TX          90010255266
32B5B893751369   DARRYL       ERBY                     OH          90015178937
32B5BA9655598B   JULEE        ROGERS                   CA          90007520965
32B61222741285   G            FRAZIER                  PA          90010392227
32B6127748B183   SERGIO       HIGUERA                  UT          31082522774
32B61654A61993   JAIME        ROMAN                    CA          46014886540
32B622A224B281   SCOTT        KEMP                     NE          90012952022
32B62531336143   EVA          GONE                     TX          73596525313
32B6255248165B   BRIAN        MALTBIA                  MO          29053495524
32B6277A35598B   ABELARDO     HERRERA                  CA          90013037703
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32B6288465B255   CHRISTA      LAWS                     KY          90009668846
32B62949284368   EDRA         ORTIZ                    SC          90010419492
32B6371365B393   CASSANDRA    CAVE                     OR          90002617136
32B6379857B471   THOMAS       WHITE                    NC          11072397985
32B63869141277   TERRI        CLAPPERTON               PA          90008958691
32B63A38351339   HANNAH       STRANGARITY              OH          90015530383
32B6429568B162   HERNAN       SANCHEZ-ANGULO           UT          31063972956
32B64672472B76   SAID         ZOUITINE                 CO          33016156724
32B6478267B471   BRYAN        STANE                    NC          90015357826
32B647A5191531   ANTONIO      OJEDA                    TX          75096457051
32B6484464B943   LIZABETH     PAREDES                  TX          90001458446
32B6513368B16B   SUBRINA      BOEHLENDORF              UT          31006461336
32B65219491563   ALEXIS       ORTIZ                    TX          75077042194
32B65678154165   NICHOLAS     JOHNSON                  OR          90012826781
32B6575412B871   KYLE         SALWEI                   ID          90005187541
32B65773991232   SOFIA        GARCIA                   GA          90004857739
32B65A73851339   CODY         MILLER                   OH          90011010738
32B6612695598B   MIGUEL       PENA                     CA          90014131269
32B67131877544   MARTA        VIRGEN                   NV          43090761318
32B6713798B16B   DIANA        ROBLES                   UT          31058661379
32B67234141277   KENNY        REDD                     PA          90009092341
32B67823291563   ANGEL        FLORES-ROMAN             TX          90012748232
32B67916491831   CHRISTINE    BARKER                   OK          21084859164
32B67A2A87B639   JOSE         DOMINGUEZ                GA          90012670208
32B67A3477B471   LONNIE       ONEAL                    NC          90012710347
32B67A61451339   LEE          CARTER                   OH          90012330614
32B6823442B871   ROSE MARIE   BRAVEHEART               ID          90013512344
32B68528941285   REGGIE       LAWRENCE                 PA          51038315289
32B685A1291356   LORENZO      MARQUEZ                  KS          29008345012
32B68753591831   RAFAEL       ROSALES                  OK          90010457535
32B6899264124B   LAKEY        BROWNLEE                 PA          90011279926
32B69153157123   LUIS         CENTENO                  VA          90013061531
32B6922767B471   RUTH         STURDIVANT               NC          11068342276
32B6944544B281   LEVI         LANDROM                  NE          90013874454
32B6961142B871   ESTHER       SALDIVAR                 ID          90015096114
32B69931691356   JORGE        SANCHEZ                  KS          90011599316
32B6B11A14B929   ERIC         MINGO                    TX          90014881101
32B6B631472496   LIVIA        COCHRANE                 PA          90010556314
32B6BA11591531   IVETTE       MONTANA                  TX          75082250115
32B71354451369   THOMAS       KIDD                     OH          90014563544
32B71635191563   JOE          OZAETA                   TX          90007396351
32B72138677544   STEVEN       ROARK                    NV          90014141386
32B72225136143   TOM          BROWN                    TX          90010892251
32B7222957B425   JAKAYLA      RUSSELL                  NC          90011672295
32B724A5191563   JUAN         SALAS                    TX          75050804051
32B7283944124B   DJ           AMP                      PA          90009758394
32B73118551369   REBECCA      SCHIERLOH                OH          66062711185
32B7314775B156   HUMBERTO     RUIZ                     AR          90013881477
32B7348517B639   LATOYA       LOCKHART                 GA          90010704851
32B73623977544   MORIAH       COPELAND                 NV          90006456239
32B73784757153   GERALDINE    MADRID                   VA          81058737847
32B7396A841277   CANEGIE      COMPUTER SVC             PA          51004489608
32B739A155B393   BINJA        BALOLA                   OR          90004799015
32B7423577B43B   LATASHA      CLYBURN                  NC          90007152357
32B743A2151369   HEATHER      SHELTON                  OH          90014693021
32B7495857B425   JAMES        CROON                    NC          90013099585
32B74A18931424   DIANA        STOKES                   MO          90000530189
32B75353791356   RUBEN        ESCAMILLA                KS          90007873537
32B75365355972   JEFF         LOVETT                   CA          90014463653
32B7553795B141   BRENDA       STRONG                   AR          90014015379
32B7558448165B   CRYSTAL      NERY                     MO          90001735844
32B75A5A85B141   BRENDA       STRONG                   AR          90014260508
32B7685AA91531   JESICCA      GALINDO                  TX          90013468500
32B7718897B471   HOPE         R WOODY                  SC          90006141889
32B77881591531   MARITZA      MUNOZ                    TX          90006378815
32B7793852B93B   DAISY        AGUILAR                  CA          90011789385
32B78181791587   JEANETTE     GAYTAN                   TX          75065011817
32B78193891356   SANTOS       LINO                     KS          90013341938
32B79315655972   JAIME        RODRIGUEZ                CA          48029963156
32B79573291356   ADRIAUNNA    COKES                    KS          90011305732
32B795A1247931   BRENDA       SALDIERNA                AR          25060045012
32B7963612B871   DAVID        ROSE                     ID          90011106361
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32B79935491831   ALBERT          MAST                  OK          21083249354
32B79A5515B52B   FRED            PADILLA               NM          35044080551
32B7B112855972   MASOU           SEE                   CA          48008261128
32B7B16122B835   ARNOLDO         ROSAS                 ID          90011121612
32B7B736691538   DANIEL          MARTINEZ              TX          75094607366
32B7B85927B471   JAMES           SHEAR                 NC          90012098592
32B7B9A8572496   KORY            LANGLEY               PA          51066309085
32B7BA91591356   JOSE G          RIVERA                KS          29010020915
32B81229191893   STEPHEN         PFOHL                 OK          90001082291
32B81243841258   EARL            COLUNALE              PA          90002602438
32B8215348B166   SONJA           LOKEN                 UT          90007061534
32B8236257B449   LAURA           SEWELL                NC          11031743625
32B8268A291531   ADRIAN          GOMEZ                 TX          75017526802
32B826A817B639   ERIN            POINDEXTER            GA          90014106081
32B827A942B835   LARRY           SEVERNS               ID          90013047094
32B8296A62B871   SERGIO          BLANCO                ID          90014739606
32B8326474B943   BRADLEY         DUMMITT               TX          90005942647
32B8327118B16B   MARTINEZ        LARRY                 UT          31093502711
32B83496991563   MICHEAL         BARRER                TX          90006004969
32B83647691531   SYLVIA          CARRANZA              TX          90008426476
32B83666A54165   JESSICA         WILLIAMS              OR          90013976660
32B839A897B639   MELTON          BATTLE                GA          90015179089
32B85425A5B156   RALP            DOVE                  AR          90013044250
32B8575467B471   JEAN            WALLE                 NC          90013017546
32B857A288B166   MELODY          LASER                 UT          90004287028
32B85A97355972   DON             LAXSON                CA          90012840973
32B86233331424   SAEED           SAEED                 MO          90009832333
32B86438A5B393   CHRIS           MORELAND              OR          44555944380
32B8646395B52B   ANNA            ORTIZ                 NM          35034074639
32B8668828B162   DAVID           ANDERSON              UT          90003396882
32B86986672496   SCOTT           VANSICKLE             PA          90000319866
32B8712A17B639   CORNELIUS       FORTSON               GA          90014581201
32B87287351369   KAYLA           MEYER                 OH          90008942873
32B8748888165B   JAY             GLADNEY               MO          29011104888
32B8752358B16B   ANTONIO         VELAZQUEZ             UT          90011915235
32B87777677544   SAMUEL          DIXON                 NV          43074497776
32B87A47191232   TELISA          CRECTH                GA          90014740471
32B87A6417B495   JUSTICE         BAEH                  NC          90003710641
32B8827325B52B   BRIAN           SEAMAN                NM          35007652732
32B88278772496   HENRY           SWOPE                 PA          90013932787
32B8879178B16B   BALBINO         PAVON-CASTRO          UT          90010657917
32B88A75A47931   JOSE            CARDENAS              AR          90014810750
32B8922A94124B   DOROTHY         JORDEN                PA          90011282209
32B8934645598B   MIGUEL          RAMOS                 CA          49085863464
32B8974A631424   LACRESHIA       EDWARDS               MO          90004247406
32B8B54418B162   RICHARD         MCEWAN                UT          31000035441
32B8B5A6A36143   PEARL           CANTU                 TX          90012145060
32B8B657247931   BONNIE          JORDAN                AR          90012566572
32B8BA96191563   OSCAR           ROSALES               TX          75068930961
32B91173836B77   FIDEL           NAPUTI                OR          90008701738
32B91328272B76   GRACE           BUSTILLOS             CO          33014523282
32B91635251339   JOSEPH          MULLINS JR            OH          66031546352
32B91A24447931   ADALY           BARRIENTOS            AR          90006900244
32B9225237B639   MICHAEL         BIRKS                 GA          90013412523
32B9238838B16B   DANIEL          CAFOUREK              UT          90014353883
32B92411872B76   SERVANDO        ARTEAGA               CO          33082454118
32B92419141285   JUSTIN          SMIDA                 PA          90006624191
32B92422A91531   MABEL           SANCHEZ SAENZ PARDO   TX          75066354220
32B9269712B871   PAUL            THOMAS                ID          42073076971
32B9274665598B   TAMARAH         JONES                 CA          90013457466
32B92889291563   REBECA          MARTINEZ              TX          90014258892
32B93137284368   EVA             LOPEZ                 SC          90013791372
32B9334632B871   SALVADOR        RODRIGUEZ             ID          90015313463
32B9334A57B639   MONIQUE         NAPPER                GA          90010633405
32B9379895B393   PEDRO           MENDEZ                OR          90005187989
32B9384372B87B   TIM             JOHNSON               ID          90009088437
32B93844A51369   MIRANDA         JUNG                  OH          66024048440
32B9391A441277   NICOLE          BOSCIA                PA          51007969104
32B93952791356   JOSE            HERRERA               KS          90002759527
32B93AA3255972   JENE            FEDERICO              CA          90010670032
32B94461A2B87B   MICHAEL         MCBRIDE               ID          90012054610
32B944A744B281   MISSTEY MARIE   ALBERT                IA          90009854074
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32B9457417B471   WADE D      BENDER JR                 NC          90001435741
32B9485987B425   DAVID       LEE                       NC          90013678598
32B94A16155972   ALASSAI     CASTILLO                  CA          48076580161
32B9536737B471   DOLORES     JALEMUELA                 NC          90011193673
32B9539AA2B93B   PIRSCILLA   LOPEZ                     CO          90011793900
32B9563A25B156   DIAMOND     WRIGHT                    AR          90013536302
32B95866855972   IRMA        CUEVAS                    CA          90009378668
32B95A3AA91831   VIANEY      BUSTOS                    OK          90010690300
32B95A6594124B   THOMAS      MCCALLISTER               PA          51002250659
32B9615348B166   SONJA       LOKEN                     UT          90007061534
32B9644447B449   CIRELY      MICHARY                   NC          90012914444
32B96475891831   TARA        HAVLICK                   OK          90015004758
32B96893872496   ALYSSA      SCHROYER                  PA          90012888938
32B97356472496   TEANN       WINGROVE                  PA          90013933564
32B97544484368   KAROL       PRADO                     SC          14522015444
32B97857A55955   TONY        WILDEY                    CA          90009868570
32B9796A761925   ARACELI     GONZALEZ                  CA          90002099607
32B98114A9152B   AMELIA      RODRIGUEZ                 TX          90008531140
32B98149A91356   MARIA       SANCHEZ                   KS          29043131490
32B98268254165   ANGELA      LISKEY                    OR          90009502682
32B982A4641258   DARCEL      ZIGLER                    PA          51024882046
32B98584651339   HEATHER     KERBY                     OH          66086655846
32B9879827B639   ARNULFO     SERANO                    AL          15056607982
32B98979372496   BRIAN       CLARK                     PA          90010019793
32B9931137B43B   MERCY       MOREIRA                   NC          11012513113
32B9965677B471   ROSIO       ROJAS                     NC          90000626567
32B99935354165   JUSTIN      SPRIGGS                   OR          90004579353
32B99A1595B156   PHILLIP     BANKSTON                  AR          90013750159
32B9B6A9154165   ETET        SPOTSWOOD                 OR          90012356091
32B9BA6A65598B   DEBBIE      YOUNG                     CA          90014710606
32BB133687B449   BRIANA      THREATT                   NC          90010383368
32BB1344691537   DAHINE      OLAGUIVEL                 TX          90011783446
32BB1464A77534   LYNN        KUKUK                     NV          90009924640
32BB191A87B425   JEROME      ELLIS                     NC          90014789108
32BB246994B954   ALLEN       ROSEMORE                  TX          90012244699
32BB266717B639   TEANNA      SMITH                     GA          90013296671
32BB289383B325   IRENE       GOODELL                   CO          90003188938
32BB295A576B61   JOSE        RODRIGUEZ                 CA          90013329505
32BB325732B93B   JOHN        CHITTIM                   CA          45096802573
32BB3368654165   SAMUEL      LINVILLE                  OR          90010263686
32BB364742B871   MARIA       LOPEZ                     ID          90013776474
32BB3838847931   BERLY       CARDONA-BATRES            AR          90013348388
32BB3A38741258   JAMES       MCKINITH                  PA          90010550387
32BB3A7487B425   JABAR       DAYE                      NC          90013640748
32BB4167A7B492   MICHAEL     RAMSEY                    NC          11070611670
32BB4211A91356   LINDA       ISRAEL                    KS          90012852110
32BB423594B943   EFRAIN      HERNANDEZ                 TX          90002752359
32BB4294831424   MARQUIS     RICHARDSON                MO          90014272948
32BB4584636143   NICOLE      TUMLINSON                 TX          90013455846
32BB4791231424   SIMONE      BROWN                     MO          90012727912
32BB489978B16B   DYLAN       MCQUIRK                   UT          90013508997
32BB513797B492   AMANDA      ATKINS                    NC          90013661379
32BB5268491356   CRICKET     WIRELESS                  KS          90009982684
32BB5288291831   LATOYA      LITTLEJOHN                OK          90012722882
32BB532712B93B   ALFREDO     TORRES                    CA          90014393271
32BB6445155951   JOE         HERNANDEZ                 CA          49016524451
32BB6496A91356   DEMARCUS    MEDLOCK                   KS          90009904960
32BB68A2272496   RUTH        KEFFER                    PA          51049578022
32BB691527B449   VICTOR      MANRIQUE                  NC          11021059152
32BB6926236143   CAROL       VILLARREAL                TX          90012139262
32BB6939491531   ROCIO       OYERVIDEZ                 TX          90015159394
32BB6A97355972   DON         LAXSON                    CA          90012840973
32BB7174391232   ALFONSO     JUAREZ                    GA          14503881743
32BB7661A4124B   MICHAEL     CORR                      PA          51018936610
32BB799525B52B   ZULMA       LEYVA-RIOS                NM          35005259952
32BB8265836143   ABILENE     LONG                      TX          90013782658
32BB839132B871   JEREMY      SMITH                     ID          90010163913
32BB858A92B835   JOSUE       CAMACHO                   ID          42055125809
32BB875595B557   MARTHA      CERVANTES                 NM          90011517559
32BB8A2A951347   SHARON      WORKMAN                   OH          90003710209
32BB938444B943   REAGAN      JONES                     TX          76579733844
32BB952A157153   INGRID      FLORES                    VA          90006475201
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32BB996765B52B   GLORIA       CARBAJAL-SAUCEDO         NM          35071029676
32BB9972851369   TOMMY        WITT                     OH          90011339728
32BB999352B93B   SANDRA       FOSTER                   CA          90012859935
32BB9A24391356   MARINA       MIRANDA                  KS          29015600243
32BB9A47591831   NAQUISHA     JORDAN                   OK          90014600475
32BBB477291531   ANA          RODRIGUEZ                TX          75067834772
32BBB531241277   TERRI        DERKAS                   PA          90003925312
32BBB789151369   PATRICIA     CRAWFORD                 OH          90004077891
32BBB9A597B43B   ISMAEL       REYES                    NC          11012999059
3311222354124B   MICHAEL      FERITA                   PA          90014382235
3311259A451339   TIFFANY      MILLER                   OH          90013925904
3311263A74B54B   NAKISHA      RICH                     OK          90012666307
3311296197B471   CHRIS        BYRUN                    NC          90009969619
33112A57291831   RICKY        WILLIAMS                 OK          21046340572
33113A8914B943   STEPHANIE    MONTGOMERY               TX          90002200891
3311432274124B   DORRAINE     GREEN                    PA          90002873227
3311471494B281   SUI ZA       LEN                      NE          27021537149
3311526938B162   BREANNA      DAVIS                    UT          31048502693
3311548828B14B   FRANCISCA    MORALES                  UT          90012774882
3311564812B871   NOE          HENSON                   ID          90011196481
331157A9655972   PEDRO        HERRERA                  CA          90006967096
3311612247B639   KELSIE       FAINE                    GA          90011351224
3311617767B492   ANTHONY      LATHAN                   NC          90015111776
3311637918B162   BRIAN        SIMPSON                  UT          90004303791
33116415A4B943   LINDA        HAILEY                   TX          76553604150
3311646235598B   DAVID        GOMEZ                    CA          90001754623
3311739A38B162   ANGELA       JENKINS                  UT          90012533903
3311798673B39B   CLARK        DUNCAN                   CO          90001339867
33117A36451369   ALICE        DESTEFANO                OH          90013120364
33117A63572B37   KATTYA       CUBAS                    CO          90012150635
3311994757B471   LE TASHIA    STEPHENS                 NC          11017399475
33119A98341277   JOANNE       PERHOSKY                 PA          51096010983
3311B766977544   JESSICA      BROWN                    NV          90012617669
3311B82627B639   VALENCIA     WILSON                   GA          90001918262
3311BA44147931   JUAN         HERNANDEZ                AR          25042030441
3312191718B162   MARUCIO      PELAGE                   UT          90015109171
3312281478B162   TYLER        WEBB                     UT          31020338147
3312335588B16B   RON          MEDEIROS                 UT          31031973558
331235A4461986   DAVID        MARTELL                  CA          90013445044
3312593867B492   RONNIE       NIX                      NC          11006099386
3312613135132B   ANDREA       DUBOSE                   OH          90006071313
33126A51972B2B   ARICA        BRAKE                    CO          90011530519
3312722144B943   DEBBIE       GARZA                    TX          90012862214
3312846568B16B   JUAN PABLO   ORTEGA                   UT          90011854656
3312934965B52B   ADELAIDA     ORNELAS                  NM          90015123496
33129728A91831   LARRY        BARNES                   OK          21097437280
33129A1855B393   KRISTINA     LOUISE                   OR          90010690185
3312B146491893   JOHN         HANNA                    OK          21017241464
33131235A91584   MARIA        CARRERA                  TX          75059302350
3313141A391371   SANDRA       SALAZAR                  KS          90014814103
3313171714B281   DALILA       GUTIERREZ                NE          27089707171
33131A1294B943   YURI         CARDENAS                 TX          90008980129
331321A6451369   LAWONDER     ALLEN                    OH          66048521064
3313224288B16B   CURTIS       KISH                     UT          90013982428
3313259755B393   PHOEBE       JANIS                    OR          90014445975
3313298734124B   CHARNITA     COGDELL                  PA          51072639873
3313359A17B471   VANICCA      YOUNG                    NC          11091675901
3313429658B16B   TAMI         SMITH                    UT          31023352965
3313435A47B43B   WILT         CHAMBERLIN               NC          11065523504
3313467215B156   ARACELY      GARCIA                   AR          90015436721
3313586662B835   NATOSHA      BURROLA                  ID          90005948666
3313592127B43B   VAUGHN       BUCHANAN                 NC          90003779212
3313624832B87B   SUNNIE       FREEMAN                  ID          90014862483
3313652354B586   LAUREN       PEREZ                    OK          90012015235
3313654928B162   JD           CRUSER                   UT          90010075492
3313666897B471   CHRIS        KIRKLAND                 NC          11086826689
3313756335B52B   MATTHEW      JIMERSON                 NM          90004205633
3313832A24124B   DAVE         YELICH                   PA          90009613202
331383AA754165   ZACH         BIGGS                    OR          90011673007
3313855817B449   ANNE         WADE                     NC          90011765581
3313887A98B16B   KAREN        JENSEN                   UT          90010178709
3313894186B397   FIDEL        GARCIA                   NH          90015239418
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33139176A7B449   WENDY          VANEGAS                NC          90011671760
3313B17A55B52B   JUDY           MARCUS                 NM          90012271705
3313B19814B943   EVA            TORRES                 TX          90012341981
3313B49A491563   SAM            CASTILLO               TX          75089324904
3313B57A355972   TERRI          WOLFE                  CA          90006685703
3314122A741258   KHRISTOPHER    HARDY                  PA          90012962207
3314215115598B   TAMI           BEVINS                 CA          49059141511
3314343865598B   MIRNA          GARCIA                 CA          90013934386
3314348877B492   REGAN          SUMMEY                 NC          90013354887
33143768A4B281   LOLLA          TAYLOR                 NE          90001617680
33143A2975B52B   HERACLIO       ATENCIO                NM          90012310297
3314467A391371   GLEN           STRECKER               KS          90007786703
331449A855B52B   RICHARD        CANDELARIA             NM          90001499085
3314552115B156   CAREVIA        FLOWERS                AR          23030455211
3314568115B393   JOSHUA         BLAND                  OR          90007256811
3314628554B943   ROBERT         MCADAMS                TX          90004092855
3314637158B162   CARY           WOODFIELD              UT          90014933715
3314651652B87B   DAVID          TORRES                 ID          90009375165
3314683488B16B   MICHELLE LEE   STONE                  UT          90004058348
33146AA247B492   DEBORAH        WALL                   NC          90013700024
3314813775B52B   GRANT          RAINA                  NM          90008351377
3314835374B281   VALERIE        MEISINGER              NE          27088663537
331483A1936143   MARY           GUERRA                 TX          90008193019
3314857AA8B16B   SOFIA          ESTRADA                UT          90015415700
3314866628B16B   RYAN           VEGA                   UT          90013836662
3314871715598B   RICKIE         WYLE                   CA          90015077171
331487A1791563   ANA            MUNOZ                  TX          90005467017
3314895723B348   INES           MOLINA                 CO          90000139572
3314921A55598B   JUAN           GONZALEZ               CA          90010442105
3314B74987B43B   TAYLEN         HARP                   NC          11011197498
3314B9A945598B   JOHNINIETA     MCCALEB                CA          49033919094
3314BA47351369   JOSE           GUERRERO               OH          90004590473
3314BA7695B393   TAMEKA         KENT                   OR          90015340769
3315144944B541   HENRY          HUTCHINSON             OK          21555434494
3315163164B592   JAMES          MCDONALD               OK          90009916316
3315189665B393   AMANDA         DOWNING                OR          90007968966
33152115172B35   PATRICIA       TAYLOR                 CO          90007751151
3315242195B393   RUSTY          SHAVER                 OR          90013724219
3315245842B87B   BILLIJO        BROWN                  ID          42042494584
33152833A5B52B   ROSARITA       ABEYTA                 NM          90014108330
331531A444124B   BRIANNA        GRAHAM                 PA          90014781044
33153448872B27   MARK           SEARCY                 CO          90006384488
3315349474B943   STEVEN         STELLY                 TX          90014554947
33153599A4124B   NALYNN         HOWARD                 PA          90013425990
33154467A5137B   JULIE          ROBINETTE              OH          90007784670
3315447984B943   RONALD         BABINO                 TX          90012744798
331545AA784378   STEPHINE       KNOX                   SC          90004535007
331553A9351339   SHAVONNE       SINGLETARY             OH          66002623093
3315571485B52B   HARRY          MORRIS                 NM          90011927148
33156A46355972   MARIA          MEDINA                 CA          90007440463
3315786592B242   MARK           LOVE                   DC          90001618659
3315795A55B545   ELIZABETH      HOLGUIN                NM          90006899505
3315838792B87B   JUANITA        DEVALLE                ID          90010643879
3315851857B471   LAURIE         GREENE                 NC          90006885185
3315882335B156   MONIQUE        OAKLEY                 AR          23025058233
33158A43536143   JUSTIN         CLIFFORD               TX          90010010435
3315996725B52B   JOEL           TREJO                  NM          90013829672
3315B81988B16B   MASON          MILLER                 UT          90012058198
3315B961554165   CARRIE         LOCKHART               OR          47007549615
3316176A32B87B   NANCY          FAUVER                 ID          90014447603
33161A3997B449   TIMOTHY        GRAVES                 NC          90009980399
3316217A451369   DOMINIQUE      ADKINS                 OH          90002521704
3316267215598B   HELEN          SKIPWORTH              CA          49002996721
3316389A18B162   ALEX           SANTOS                 UT          90013488901
3316425412B87B   KENDRA         WILLIAMS               ID          90014382541
3316488428B16B   MIKE           ZUPAN                  UT          90006018842
33164AA5391563   MARIA T        OCHOA                  TX          75066990053
3316551942B835   DANIEL         SPORTIIELLO            ID          90013695194
3316552642B835   JAMI           PICKREL                ID          90015275264
3316775312B93B   PATRICIA       HEYDEN                 CA          90004297531
3316985557B471   RICARDO        MARTINEZ               NC          11046528555
3316B118741277   MICHELLE       KILLER                 PA          90002351187
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3316B15848B16B   LARRY ARTHUR   RUBEN                  UT          90012611584
3316B3AA841258   MARK           JHON                   PA          90013963008
3316B548551339   TEDDI          VEATCH                 OH          90014575485
3316B599A4124B   NALYNN         HOWARD                 PA          90013425990
3316BA5234B281   SAMANTHA       MARTINEZ               NE          90014780523
3317117935598B   GABRIEL        DE LA PENA             CA          90014801793
331721AA655972   ILIANNA        CARRASCO               CA          90012751006
3317286924B281   TERRELL        ROOKS                  NE          90004748692
3317344A32B835   JODY           CROZIER                ID          42016394403
33173651A55936   FRANCISCO      ARELLANO               CA          90013316510
3317471538B16B   DAVID          UHREY                  UT          31090677153
3317477252B242   SHANIKA        HORTON                 NC          90001407725
3317536365B393   TROY           BRAZEAL                OR          90011243636
33175A71391563   RUBEN          RAMIREZ                TX          75038500713
3317649727B471   JUAN           URBINA                 NC          11052064972
33176A3858B16B   LUIS ENRIQUE   HERNANDEZ              UT          90013890385
3317743142B835   MELANIE        CRUTCHER               ID          90008834314
33177472A51339   NIKKI          WORISCHECK             OH          90013234720
331776A1A4B281   ANTON          MCNAIR                 NE          27073936010
3317856295B52B   YUMILKA        SALGADO                NM          90010145629
3317894122B871   JESSICA        LANDIN                 ID          90011359412
331792A437B43B   SHAKIRA        ANDERSON               NC          90014382043
3317987152B835   ELISA          LARSON                 ID          42018928715
3317B442741258   JAMES          LEWIS                  PA          90002154427
3317B644891893   SILVIA         ROMANO                 OK          90013206448
3317B914347931   JACQUILINE     LEWIS                  AR          90013479143
33181136A7B34B   LEON           TWYMAN                 VA          90011021360
3318181848B16B   JOSHUA         BOYD                   UT          90010698184
33181911A5B52B   ANGEL          MONTOYA                NM          90013699110
3318227688B162   KAREN          VARNER                 UT          90003552768
3318328352B871   VANESSA        GUERRERO               ID          90013452835
3318347315598B   YOLANDA        LOPEZ                  CA          90008584731
3318353285B52B   MATTHEW        ORNELAS                NM          35009575328
3318425322B871   RACHEL         RODRIGUEZ              ID          90012872532
3318457147B32B   JOSE           LEMUZ                  VA          81012395714
3318574234124B   WILLIAM        STROTHERS              PA          51059147423
3318651692B87B   NOICOLE        MARIE                  ID          90015205169
3318687614B943   CHALSEY        JOSEPH                 TX          90009088761
33186A52247931   JUAN           GUERRERO-REYES         AR          90013860522
33187311A2B871   JOSE           AVILA                  ID          90002833110
33187A21691831   MELISSA        ESTES                  OK          90008170216
3318825A94124B   RICHARD        THOMA                  PA          90010822509
33188373A41285   ELIZABETH      HALE                   PA          90011913730
3318879325598B   ALFREDO        MORENO                 CA          90011227932
33189433A2B835   KRISTIN        THOMPSON               ID          90014724330
3318972754124B   CRYSTAL        GLOVER                 PA          51031477275
3318999998B16B   JANET          ROGERS                 UT          90007679999
33189A92257599   RUTH           MEDINA                 NM          35595210922
3318B465955972   MARIA          HERNANDEZ              CA          90015144659
3318B4A645B393   JIMMY          ANDERSON               OR          90013444064
3318B62315B156   ELIZABETH      ALSTON                 AR          90013776231
3318B67A591371   MICHAEL        CRESPI                 KS          90015126705
3318B6A2A91371   YULIANA        PAEZ                   MO          90010966020
3318BA58491371   SHAWN          WILLAIMS               MO          90011460584
3319162752B835   RIGOBERTO      BAUTISTA               ID          90014176275
33192A61854165   DENA           FERGUSON               OR          47089780618
33192AA4577544   MAURICIO       TORRES                 NV          90006000045
3319351757B492   RODDY          ORR                    NC          90009245175
331937A1655972   VALERIE        AVITIA                 CA          90011297016
3319393287B449   TIFFANY        MUNGO                  NC          11064799328
3319398685B393   TOMAS          SAQUIC LARES           OR          90012119868
3319447855B156   STUART         BROWN                  AR          90015534785
3319462844124B   JOSHUA         PHILIPS                PA          90014176284
33195152A2B835   RENEE          MILLER                 ID          42088731520
3319529922B559   ROBBIE         RANSOM                 AL          90014172992
3319529A15B156   JAMES          LOCKHART JR            AR          90015122901
33195A2795B393   RODRIGUEZ      JESSICA                OR          44549020279
33196262A5B52B   ANTOINETTE     LYNN                   NM          90014382620
3319669AA8B162   WILLARD        WHITAKER               UT          31052986900
331968AA631424   ROBERT         SCHAFER                MO          27561998006
33196A17751369   JUAN           DIAZ                   OH          90007550177
3319718464B281   JENNIFER       ODONNELL               IA          90007631846
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3319779284B943   PRISCILA     CIBRIAN                  TX          90012747928
3319793718B19B   DERRICK      NIELSON                  UT          90013269371
3319849428B16B   NICHOLAS     SHAFFER                  UT          90012644942
33199318A55921   CAROLINE     DAVIS                    CA          49007983180
3319B949791525   ZOILA        HIGAREDA                 TX          75029109497
331B1443691831   RASHAYA      PEOPLE                   OK          90012684436
331B1758454165   MICHELLE     SOLTERO                  OR          90010697584
331B1924841251   DAWN         MORRISON                 PA          90011089248
331B33A982B835   CALVIN       FRATES                   ID          90014343098
331B3445251339   JAREL        TILLIS                   OH          90006334452
331B3642A41225   TONI         LONG                     PA          51026296420
331B383A191371   WILLIAM      DIETZMAN                 KS          29060328301
331B43AAA7B639   JACQUELINE   FLOYD                    GA          90012383000
331B4567A5B156   JASMINE      STOCKER                  AR          90015085670
331B462348B162   DEBORAH      STEED                    UT          90010346234
331B481988B16B   MASON        MILLER                   UT          90012058198
331B4A53484378   SARAH        ADKINS                   SC          90013910534
331B5396491893   ALECIA       BYAS                     OK          90002163964
331B5517351339   JAMES        SHUMAKER                 OH          90012985173
331B577218B162   ABRAHAM      LARA                     UT          90015097721
331B591257B492   JAVA         KRAY                     NC          90014259125
331B671175B156   AMBER        REAGAN                   AR          90015557117
331B781133B132   ROSA         NERIO MIRANDA            VA          90013618113
331B7A67472B38   ERIC         FLING                    CO          90007910674
331B8423447931   SHANICA      REDDEN                   AR          90013314234
331B848565B156   YOLANDA      RADCLIFF                 AR          90014414856
331B8A61691563   GRISEL       JIMENEZ                  TX          90012910616
331B92A9251369   SOLETHA      BERRY                    OH          90003982092
331B936668B162   ERIC         PASTERNAK                UT          90012533666
331B957A32B87B   TRISHA       BARNETT                  ID          90011985703
331BB684A2B871   TODD         ALAN                     ID          42051376840
331BB9A8651369   SCOTT        MICHEL                   OH          90013939086
3321256355598B   AMANDA       NAYELI                   CA          90011085635
3321283168B162   ANDREW       SMITH                    UT          31079068316
3321349885B156   VIRGINIA     SMITH                    AR          90012844988
332135A5A8B14B   LUIS         TORRES                   UT          31001615050
33213784A4124B   ALLYSON      KLEIN                    PA          90013857840
33213913633B57   JOANN        JACOBSON                 OH          90014019136
3321392715B393   JOHN         AUSTIN                   OR          44522039271
3321411752B87B   STACEY       ROSS                     ID          90014571175
3321429957B471   DESHANNON    SANDERS                  NC          11067242995
3321519675B156   LAFE         JOHNSON                  AR          90008551967
3321553854B943   BRIGIDO      ANGELES                  TX          90000325385
33215A7734124B   SENETTE      HARRISON                 PA          90005430773
3321623772B835   MARIA        ROBLES                   ID          90014942377
33216638A31424   DANIEL       NANEY                    MO          27581086380
3321757A44B922   JOSHUA       DOURESSEAU               TX          76508405704
3321786827B492   WILLIAM M    HOLMES                   NC          90008018682
33217A6164B943   VIRGINIA     IZQUIERDO                TX          90014740616
3321831612B871   RICHARD      ROUYAS                   ID          90000643161
3321885517B471   DARRYL       STEWARD                  NC          90003548551
33219242A5598B   ADAN         AYALA                    CA          90010852420
33219A62891371   SHERRY       MARTIN                   KS          90014540628
3321B14255598B   ALEJANDRO    GARCIA                   CA          90004981425
3321B1A1141258   SHELDON      CLARK                    PA          90013081011
3321B2AA355972   BRIAN        ROBINSON                 CA          90014992003
3321B462A51369   CESAR        OPEZ                     OH          90014464620
3321B514A5B52B   DAVE         BERMAN                   NM          90009875140
33222A9857B449   WINSTON      DEHART                   NC          11073630985
3322315384124B   SUSAN        CASE                     PA          90014311538
3322338484B943   JARVIS       BENTON 1ST               TX          76586883848
332242A479125B   JESSICA      BLAIR                    GA          90001692047
3322467782B871   LUCUS        PERSONS                  ID          90008486778
3322626617B492   CARLA        ARMSTRONG                NC          11017252661
3322641A15B557   LOPEZ        RICKI                    NM          90010684101
33226649A91563   ELVIRA       DE LA ROSA HERNANDEZ     TX          90013166490
3322732824124B   QUANTRILLO   EPPS                     PA          51088703282
3322784584B281   DUKHAN       MUMIN                    NE          90004568458
332285A6672B63   BRITTANY     HEACOCK                  CO          90010215066
33228A25847931   MAKWAN       SCROGGINS                AR          90013580258
3322959365B393   KELLY        BASTOS                   OR          90007925936
3322989A64124B   JOSEPH       DIETZ                    PA          51070118906
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332299A278B16B   MARTIN            JAMES               UT          90010699027
332299A672B87B   SCOTT             RUCH                ID          90014129067
3322B2A155B156   JERRY             PRYOR               AR          90008552015
3322B3A9351339   SHAVONNE          SINGLETARY          OH          66002623093
3322B7A112B871   CHRIS             KNUTSON             ID          42000277011
3322B973141277   FAITH             QUARLES             PA          51097389731
3323126213B348   ROBERT            SEACHRIST           CO          33097142621
3323126958B162   KAREN             TORRES              UT          31044422695
33231A1715B52B   ROSE              OTERO               NM          90002100171
33231A25655927   MARIBEL           ESQUIBEL            CA          90005710256
3323278465B156   DAIGAN            CROSBY              AR          90011437846
3323285155B393   HENRY             JONES               OR          44506018515
33232895A54165   JEAN              MILLER              OR          90000428950
3323293915B393   JENNIFER          LOMAGO              OR          90014769391
33232A3145B156   MONTAGO           MARTIN              AR          90015440314
3323341257B492   ROSALYN           CURRY               NC          11050704125
3323365635B52B   LUZ ELVA          JUAREZ MORALES      NM          35075186563
33233685A4124B   KEITH             WALLACE             PA          90011416850
3323437532B871   JEFFREY           KEMP                ID          42004693753
33234423A55972   LUISANA A         PERAZA              CA          90012984230
3323518885B393   SHELLY            THOMAS              OR          44556441888
332352A692B87B   ROGER             SAUVAGEAU           ID          42064652069
3323642A247931   JILBER HUMBERTO   ORIAN               AR          90014874202
3323665A35B156   QUINCY            HOLLISTER           AR          90009156503
33236A95647931   CHRISTIAN         ALVARENGA           AR          25080520956
3323715115598B   ALEJANDRA         SAHAGUN             CA          90012711511
3323724562B871   DONNY             TORRES              ID          90008372456
3323749885B156   VIRGINIA          SMITH               AR          90012844988
3323761497B639   PETER             MCBROOM             GA          15046636149
33237874A5B52B   JULIE-ANN         CORTEZ              NM          90014278740
3323816867B639   BRIDGET           DOWNS               GA          90011091686
33238A17854165   MARILYN           MAGILL              OR          47014220178
3323946762B871   AMANDA            HEADY               ID          90002164676
3323947697B492   MELANIE           HOVIS               NC          11053954769
3323B27734B281   GINA              POOL                NE          90014782773
3323B33154124B   LANEI             PETERSON            PA          90008603315
3323B51A351369   JUAN              RYES                OH          90007065103
3323B691441285   JESSY             SENCHES             PA          90014056914
3323B737251339   MICAELA           PEEBLES             OH          90011267372
3323B94217B492   HEATHER           GONTER              NC          11041949421
3324318322B87B   MIKE              ADAMS               ID          42070391832
3324383144B943   TANIQUA           BANKS               TX          90004048314
3324398A551339   DEBORAH           ISAACS              OH          90013979805
3324539444B943   TYLER             JOHNSON             TX          90012683944
3324584658B162   TUG               TODD                UT          90012428465
3324595562B871   REBECCA           JONES               ID          90012999556
3324677765B545   DARLENE           ARMIJO              NM          90014147776
3324693962B835   IZABEL            GARZA               ID          90014339396
3324695535B393   CORY              ELIA                OR          90015069553
3324772657B492   KEISHA            SHERER              NC          90007907265
3324796634B943   LESLY             GUZMAN              TX          90013659663
3324867192B87B   KANDICE           SANTO               ID          42005376719
3324886464B943   KAYLA             DAVIS               TX          90014888646
3324B15194B943   MOISES            GARZA               TX          90012831519
3324B3A6A2B835   DAWN              SHANK               ID          90013983060
3324B552651339   IMRAN             IQBAL               OH          90014165526
332519A3551369   DIANA             TARLEY              OH          90014849035
3325221244124B   PETRICE           TAYLOR              PA          90001612124
3325222692B871   NABOR             DIAS                ID          90009172269
3325336767B492   HELLEN            GILLIAN             NC          90014453676
33253A1645598B   TORN              CHEK                CA          49014500164
3325424618B162   LUIS              CERRITENO           UT          90011152461
332549A452B871   MUSSA             SHIHIM              ID          90013629045
3325532A24124B   DAVE              YELICH              PA          90009613202
3325668523B348   FERNANDO          GONZALES            CO          90010626852
33257639A4124B   DEANDA            LOKELANI            PA          90014176390
3325829717B492   VENITA            YOUNG               NC          11078032971
3325937187B492   BRIAN             LITTLEJOHN          NC          90006803718
3325957677B639   NATANAEL          GARCIA              GA          90009155767
332595A714124B   ARIANA            ADKINS              PA          90015235071
332596A4391563   ROSA              CORREA              TX          75054116043
3325B888551594   KAREN             VEAL                IA          90015368885
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3326197AA91831   HEATHER     WILKERSONS                OK          90008739700
33261A12651369   JOSEPH      MULLINS                   OH          90014800126
3326237912B871   MICHAEL     WILSON                    ID          90015383791
3326244845598B   JOSE        SEPULVEDA                 CA          49048364484
332633A397B639   PAMELA      WILLIAMS                  GA          15073793039
332635A4551339   ALICIA      DEATON                    OH          66043525045
3326479455B339   VICENTE     MARTINEZ                  OR          44057227945
3326534812B871   CHRISTY     THOMAS                    ID          90015333481
3326545984B943   NATONAEL    SANCHEZ                   TX          90006174598
3326574A657126   PINNEY      JAMES                     VA          90008967406
332657A4284378   DONNA       WILSON                    SC          14547697042
33267354A8B494   RITA        WASHINGTON                VA          90012433540
3326832492B87B   FLO         MARTINEZ                  ID          42014413249
3326869984124B   MAXINE      TAN                       PA          90011416998
3326917384B943   STEVE       SANCHEZ                   TX          90015101738
3326929187B471   LA RISSA    LOVE                      NC          90006612918
33269918A51339   TOYA        CALHOUN                   OH          66014169180
33269A2215B156   GIDEON      TRIF                      AR          90013930221
3326B24AA51328   COURTNEY    BOWSBY                    OH          66086202400
3326B34664124B   ERIC        ROBINSON                  PA          90008123466
332717A3891371   MIRIAM      TLAXCALTECA-ROMERO        KS          90013537038
33272266A55972   MARTIN      RAMIREZ                   CA          90000362660
3327282562B835   RENEE       WEST                      ID          42069538256
33272A13741285   PAIGE       SHONWILER                 PA          90003560137
332736A4944394   LAKEISHA    SPEARMAN                  MD          82022856049
3327377888B162   ROBERTO     VALENCIA                  UT          90012977788
3327452324B943   TONIA       SCOTT                     TX          90003565232
33274914A4124B   JOHN        SWENCKI SR                PA          51011239140
3327544837B471   TONI        WILLIAMS                  NC          11054654483
3327582614B943   TANIA       COLEMAN                   TX          76591418261
3327634712B871   NINA        LOGAN                     ID          42092373471
33276AA579125B   LINDA       JOHNSON                   GA          14556070057
3327753385B52B   MAXINE      ARAGON                    NM          35089135338
3327754274124B   LEASER      SLOAN                     PA          90010245427
3327793757B492   AMANDA      ATKINS                    NC          90013659375
33277A2227B492   KEITH       SEIGLE                    NC          90011320222
3327936864B534   STEPHANIE   DRENNAN                   OK          90008843686
3327962A95598B   JOSE        CASILLAS                  CA          90010316209
3327B26A15598B   JOHNNY      GONZALEZ                  CA          90014022601
3327B859561557   LOUIE       WALTERS                   TN          90015398595
3327B98955B52B   MARIA       BARRON                    NM          90009679895
3328147562B871   VINCENT     TRYON                     ID          90010814756
33282189A2B835   HEATHER     WILCOMB                   ID          42015861890
3328298645B156   BRENDA      FRIERSON                  AR          90014339864
3328332938B162   ANTONIO     AGUILAR                   UT          90014213293
332834AA677544   DELGADO     NOELIO                    NV          90007234006
33283A3522B835   MISTY       BOYNTON                   ID          90013590352
3328416897B492   CARMEN      DANIELS                   NC          90015601689
33284221A84378   WONDA       CHATMAN                   SC          90014172210
3328431874B943   EDGER       LUA                       TX          90013253187
33284713A91563   BLANCA      RAMIREZ                   TX          90011307130
3328495288B16B   TRISHA      BROOKS                    UT          90006469528
33284A86551369   JOSEPH      FANNING                   OH          90013130865
3328588427B639   ROBERT      HAMMOND                   GA          15016708842
3328636574B281   CARLOS      LARA                      NE          90007753657
3328636615598B   MARIBEL     SAENZ                     CA          49079443661
3328657577B471   GLADIS      TRIMINIO                  NC          11004075757
33287259A5B52B   ELENA       PULIDO                    NM          35083112590
332872A1941285   ALEICA      CLEMM                     PA          51002992019
3328769744B943   LILIA       FIGUEROA                  TX          90014866974
3328899315598B   FABIAN      AVILA                     CA          90006289931
3328981717B492   PARIS       ADAMS                     NC          90011108171
33289A36241258   ANDREA      BAUER                     PA          51038190362
3328B584741277   CYNTHIA     CEPHAS                    PA          51033105847
3328B918336143   ASALIA      MARTINEZ                  TX          90009569183
3328BA17854165   MARILYN     MAGILL                    OR          47014220178
3329117A784378   KATLIN      BRISTOL                   SC          14568591707
33291541A91831   KAYLA       WATSON                    OK          90013075410
3329178475B156   VELRITA     CAMPBELL                  AR          23082007847
3329194A791563   ANGELA      GUARDADO                  NM          90006939407
332924A342B871   DAVID       KIRBY                     ID          90011874034
3329263562B835   SARAH       VAY                       ID          42078456356
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3329292937B492   GEORGIA      M LIPSCOMB               NC          90010089293
3329318432B87B   JIMMY        CHRISTY                  ID          90000791843
33293661297B67   CHARLES      GROSS                    CO          90002796612
3329417813147B   BRADLEY      THOMURE                  MO          90014281781
3329444928B16B   ANTONIO      AGULIAR                  UT          90013044492
3329527567B492   CURTIS       WALKER                   NC          11094152756
33295A62891371   SHERRY       MARTIN                   KS          90014540628
3329673822B87B   RANDY        DOBRSKY                  ID          90013237382
3329723AA5137B   KRISTINA     HALL                     OH          66053012300
3329769A72B835   BEMA         NOWELL                   ID          90013826907
3329779374B561   CAROL        CASS                     OK          90001177937
33297AA442B87B   JESUS        RAMIREZ                  ID          90006650044
332988A2351369   DORIAN       MCGLOTHIN                OH          66012028023
33298A5997B639   NAKITA       FLUELLEN                 GA          15019420599
3329964565B52B   LIZZETH      GUTIERREZ                NM          35038036456
332997A2391371   KAMILAH      JACKSON                  KS          29061217023
33299AA962B87B   CORBIN       BROWN                    ID          90013650096
3329B63615598B   AIOTEST1     DONOTTOUCH               CA          90015116361
3329B73988B16B   SARAH        TOMNEY                   UT          31069187398
332B12A825B156   BONNIE       POTTS                    AR          90010982082
332B153377B639   WILLIE       PIETT                    GA          90010935337
332B1817791831   JOSH         CARROLL                  OK          90011918177
332B2365291563   LILIEL       RIOS                     TX          75058153652
332B2889254165   DOMINIC      CORBIN                   OR          47082328892
332B295749125B   DORIS        EZELL                    GA          90014109574
332B311AA7B449   REINA        LOPEZ                    NC          90011401100
332B323245598B   JOSEPH       GONZALEZ                 CA          90013122324
332B329912B828   PIEPKORN     LORI                     ID          42096152991
332B3437877581   DONALD       LAWVER                   NV          90007454378
332B347572B93B   HARLIN       HARRIS                   CA          45005054757
332B355425B593   JEREMIAH     WEIL                     NM          90011625542
332B3968151339   GEORGE       MIKE                     OH          90004589681
332B4356191371   LAQUINTA     COLLINS                  KS          90013093561
332B493288B16B   JOSE         HERNANDEZ                UT          90009629328
332B497898B162   ALEJANDRA    ARRISCORRETA             UT          90005889789
332B4A1927B883   SANDRA       CHAVEZ                    IL         90013630192
332B5265254165   CHARLES      BURKE                    OR          90010102652
332B54A664B943   BEANY        MILLA                    TX          90014734066
332B581247B471   PATRICIA     HERNANDEZ                NC          11077108124
332B588745598B   KRISTINA     PERALES                  CA          49097118874
332B5914255972   LUISA        PATGHER                  CA          48028419142
332B6152961474   JAMIE        HIGGINBOTHAM             OH          90014761529
332B63A6136143   RICHARD      ALLEN                    TX          73513163061
332B6A27A41277   PAMELA       SAAL                     PA          90014610270
332B7359291563   ROLANDO      SALAS                    TX          90003883592
332B73A8154165   COURTNEY     SLAVEN                   OR          90010733081
332B7428155939   CECILIA      LOPEZ                    CA          90009364281
332B7925491371   ALONSO       MORALES PEREZ            KS          90013469254
332B9189A5B58B   DAVID        ROCHA                    NM          90004381890
332B9523751369   CANDUS       WILLENBRINK              OH          90013045237
332B952975598B   JIMMY        AVILA                    CA          49007085297
332B96A222B835   LORI         STON                     ID          90006866022
332B9A72291831   KEVIN        SPIVEY                   OK          90012730722
332BB447291893   EMILLIO      SHANNON                  OK          90014364472
332BB63574B943   ALEJANDRO    GONZALEZ                 TX          90012566357
332BB948A55933   ISAURA       VASQUEZ                  CA          90001529480
3331155275B393   JACKIE       KELLEY                   OR          44579185527
33311AA595B52B   STEPHANIE    BAUTISTA                 NM          35098440059
333126A265B156   LAKESIA      EDWARDS                  AR          90013596026
3331397A951369   STEVEN       RANSOM                   OH          90014119709
3331469544B281   MINDY        MANNING                  NE          27072166954
3331493992B835   DAVE         ASLETT                   ID          90014369399
3331538862B87B   FRANCISCO    ALVARADO                 ID          90014273886
33315A9A18B162   JON          ISAACSON                 UT          90013650901
3331631A184378   LUIS         NERI                     SC          90015233101
333167A5471937   SONYA        NAYLLI                   CO          90010637054
3331746937B492   IVONNE       LOPEZ                    NC          90011944693
3331751325598B   MIGUEL       CORDOVA                  CA          90014895132
3331877415598B   AMYLOIS      WEST                     CA          90015137741
3331B588736143   GUSTABO      TREVINO                  TX          90008615887
3331B62662B871   EMILY JANE   DANIEL                   ID          90004446266
3331B731291563   VERONICA G   RAMIREZ                  TX          90005437312
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3332147534B281   MAKAELA      CONKLIN                  NE          90014784753
333216A7336143   MALLORY      PEREZ                    TX          90002366073
33322221A7B43B   YVONNE       DAVIS                    NC          11009792210
3332271A65B393   WILBERTH     PINTO VAZQUEZ            OR          90000637106
3332299A98B162   DONALD       PASCAL                   UT          31001489909
33323191A4B955   CAMILLA      DORSEY                   TX          90001461910
33323A37155972   MARGARITA    VASQUEZ                  CA          90014340371
3332423912B87B   ARTURO       MUNOZ-CHAVOYA            ID          90008792391
33324329A91371   SEMERIA      HALL                     KS          29014383290
33324577A8B162   WILL         FRANCIS                  UT          90013495770
3332465377B492   STEVEN       WEST                     NC          90011186537
33324972A4B943   VICTOR       GAMBOA                   TX          90007649720
3332511924B281   BRENNA       HOFFMAN                  NE          27059611192
3332572614124B   ANTHONY      CARTER                   PA          90014177261
3332623A32B87B   LANCE        WALKER                   ID          42098302303
333271A543B132   DEMARCO      AVENT                    DC          90012571054
3332725537B639   GEORGETTE    JONES                    GA          90011352553
33327744A4B943   JASMYNE      WILLIAMS                 TX          90013187440
33327A95347931   SUSAN        TYREE                    AR          90013140953
333283A319125B   MAURICIO     LOPEZ                    GA          90002063031
33328A3372B87B   JASON        WILLIAMS                 ID          90007290337
33329577A8B162   WILL         FRANCIS                  UT          90013495770
33329A19591831   JAVID        FALCON                   OK          90012970195
3332B177754165   MICHAEL      TRATHEN                  OR          90012471777
3333218237B43B   MARJORIE     PIERCE                   NC          11027351823
3333316A554165   ANGEL        ARAMBULA LARA            OR          90001761605
33333533372B47   ANA ABEL     DIAZ                     CO          90014895333
3333515568B16B   JACOB        BOSWELL                  UT          90013401556
3333559199125B   SONIA        SCOTT                    GA          14556125919
33337229A5B393   EDVIN        MACHIC                   OR          90015312290
3333746524B943   MONICE       THOMAS                   TX          90012634652
3333886537B492   LONNIE       HILDERBRAND              NC          90004288653
33338A4A85B52B   JONES        JENNIFER                 NM          90013290408
333391AA851339   TONY         HEATON                   OH          90011781008
3333942A271937   CHRISTINA    PERRY                    CO          90008364202
33339A4395B393   EVETTE       BONNER                   OR          90001520439
3333B172551339   KENDRICK C   DAVIDSON                 OH          66043871725
3333B329151369   SALLY        HAMILTON                 OH          66081063291
3333B46A97B449   ZACHARY      SMITH                    NC          11008994609
3334224495B393   OMAR         GLOMEZ                   OR          90014992449
3334319464B943   URSULA       GEORGE                   TX          90010631946
33343471A47931   JAMES        FRENCH                   AR          90012074710
3334388893B132   CHRISTOPER   RICHARDSON               DC          90004868889
3334515354B281   MITCH        CARTER                   IA          27004711535
3334621974B521   ELIZABETH    BROWN                    OK          21506592197
3334665348B162   JACQUES      PEGUY                    UT          31090226534
3334671155598B   SEILA        AYALA                    CA          49081157115
3334718A55B393   ANNA         SHAPIRO                  OR          44582421805
3334859243B39B   MOHAMED      LAKOUAS                  CO          90013385924
3334893217B449   JOSE         GONZALEZ                 NC          90015229321
3334895847B449   JOSE         GONZALEZ                 NC          90011899584
333496A1191831   JUMAL        HARRIGAN                 OK          90008696011
3334997724B943   JONATHAN     GILLIAM                  TX          90014599772
3334B16885B156   DIANE        JACKSON                  AR          90012251688
3334B3AA981621   JAMES        RANDALL                  MO          90004173009
3334B64232B87B   LANCE        FESLER                   ID          42024406423
3334B8A3A5598B   EDUARDO      GODINEZ                  CA          90014688030
3335158617B449   CARLOS       LONG                     NC          11086605861
3335293194124B   DAMITRA      PENNY                    PA          90010969319
33353A83455972   MARIBEL      RAMIREZ                  CA          48060620834
3335411815B393   BRANDI       RAYMOND                  OR          44594681181
333552A5347931   DONALD       REDDEN                   AR          25038292053
3335551775132B   CHASIE       ROBINSON                 OH          90012885177
3335554745B156   NELLIE       STEPHENS                 AR          23080815474
333555A2A55972   JENNY        PENA                     CA          90014865020
333555A6341258   LISA         MCGOUGH                  PA          51064465063
3335681232B835   BERNICE      GARCIA                   ID          90011978123
333568A3247931   KIM          JORDAN                   AR          90013208032
3335712228B162   MICHALE      GALLAGHER                UT          90001821222
3335712252B87B   DIETRICH     JOHNSON                  ID          42044681225
33357479A54165   HEATHER      HOLLOWAY                 OR          90000844790
3335793A647931   MABEL        LECHUGA                  AR          90015219306
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3335822817B43B   MARCELINA        HERNANDEZ            NC          11027362281
3335834932B835   RAYMOND          CORDEN               ID          42073553493
333587A8554165   LEVI             TERREL               OR          90011707085
3335921362B87B   DUSTIN           SURBROOK             ID          42077232136
333593A7654165   SHARON           QUEST                OR          90012313076
333594A1891584   AMBER            FUENTES              TX          90011174018
33359666636B77   CRYSTAL          WILLIAMS             OR          90003166666
3335973667B471   RHONDA           DAVIS                NC          11074697366
3335B419741285   JAMES            GEORGE               PA          51006514197
3335B738136143   MARISELA         YBARRA               TX          90011047381
3335B942291563   NIDIA GABRIELA   LIMOS                TX          90008709422
3336155832B835   MAGEN            NIELSEN              ID          42024075583
3336186485B156   LEROY            MCBRIDE              AR          90011048648
3336231815B52B   LINDA            MONTOYA              NM          35006853181
333632A6791563   MARGARITA        OROZCO               TX          90004952067
3336334582B87B   TYLER            STEWART              ID          42027913458
333636A7251369   ELLAINE          BROWN                OH          66039356072
3336425145B393   SEAN             HOWARD               OR          90009042514
3336442A22B871   ANDREW           DAVIS                ID          90012114202
33364438A5598B   CHARLES          STRICKLAND           CA          49052404380
33364686224B35   GERALD           BUTLER               DC          81008936862
3336499227B471   CHARLES          CHAMBERS             NC          11095009922
33365219A47931   ALMA             VIGIL                AR          25010642190
3336548344124B   MARILYN          MAURO                PA          51016354834
333656A2591831   MELISSA          SHELL                OK          90013236025
3336614754124B   BEN              UMPHRIES             PA          90003001475
3336645885B393   MELISSA          ALLEN                OR          90015324588
33366613472B47   EMIL             TAHERI               CO          90004896134
33366A3392B871   PAYGO            IVR ACTIVATION       ID          90014900339
3336728AA5B393   JUAN             CORTEZ               OR          90010672800
3336774A841258   STEVE            ALI                  PA          90014417408
333677A928433B   JULIE            MYERS                SC          90012087092
33368519A2B87B   TIFFANY          BARREIRO             ID          42059755190
333695A838433B   DEBRA            BERENS               SC          90004855083
33369A73341285   ANTOINETTE       PINNICK              PA          51014440733
3336B62763B161   DENNIS           FERNANDEZ            VA          81093006276
3336B686A41291   BERNADETTE       KNICELY              PA          90003556860
3336B8A3247931   KIM              JORDAN               AR          90013208032
3336B8AA38B16B   JOSE             SANTOS               UT          31082288003
3336BA2257B471   BERENICE         ESPINOZA             NC          11012080225
333711A244B943   ROSE             PAPIZAN              TX          90007071024
3337124884124B   GAIL             FELTON               PA          90001122488
3337142375B393   ANAHI            SANDOVAL             OR          90013724237
3337154772B871   DON              GALLION              ID          90010065477
333728A128B16B   TINA             ORRIS                UT          90001178012
3337325882B871   AUSTIN           WHITE                ID          90015382588
333733A317B639   FELECIA          EDWARDS              GA          15058443031
33373A3244124B   MARGO            DOSS                 PA          51053570324
33373A42141285   ANTIONETTE       HAWKES               PA          51008030421
3337452722B93B   JUVENTINO        PENA JR              CA          45055725272
33374847472B47   CONNIE           COBB                 CO          90011418474
3337538A291893   BEATRICE         LEE                  OK          21089113802
3337579164124B   RAM              SHAH                 PA          90014177916
3337626A791525   MARIA            GUTIERREZ            TX          90001502607
33376564A7B492   PORFIRIO         PENA                 NC          11014085640
33376573A41258   COLIN            DAVIS                PA          51008835730
3337657934B943   ELOISA           LOPEZ                TX          90009615793
3337658745B393   RICARDO          BARRERA              OR          44517145874
3337735352B87B   DAWN             THOMAS               ID          90010463535
3337763615598B   AIOTEST1         DONOTTOUCH           CA          90015116361
3337764472B835   ABEL             GARCIA               ID          90013796447
3337772A64B943   STONY            MILLER               TX          76517767206
3337797567B43B   TAMARIA          TURNER               NC          11049509756
3337812444124B   ERIC             PERDUE               PA          51064311244
3337B414751339   MARSHALL         HUNT                 OH          90011734147
3337B54885B52B   STEPHANIE        GONZALES             NM          90010275488
3337BA7A45598B   CARLOS           HUERTA-GONZALEZ      CA          90008610704
33381347A4B281   ELIZABETH        BENNETT              NE          90007293470
3338134965B393   PHILIIP          DIGREGORIO           OR          90008763496
3338199184B943   MARIA            INFANTE              TX          90012439918
3338256912B87B   ALANA            BRADEN               ID          42092975691
3338327289125B   JOSEPH           COCHRAN              GA          14570692728
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3338344235B557   MARIO         GARCIA                  NM          90001354423
3338347985B52B   BELVA         STAMPS                  NM          90007524798
3338367A455933   MARINA        CHAVEZ                  CA          90009946704
33383A1894B281   TERA          FORD                    NE          90015230189
3338447A15B52B   JAMES         CORN                    NM          35081344701
333848A922B871   SHANNON       PAUL                    ID          42059118092
33385372A4B943   DESTINY       YATES                   TX          90012053720
3338542A241285   ROBERT        MCMASTER                PA          51033834202
3338649585598B   TAYLOR        CHAFFIN                 CA          90008924958
3338666564B281   ANDREA        TALBOT                  NE          90014786656
3338685723B132   MARIA         HAUSAUER                VA          90011468572
33386A8774124B   LISA          VIETMEIER               PA          51095620877
333871A9255972   JEREMY        KECHLOIN                CA          90010911092
3338726564B943   PHYLLIS       MAY                     TX          90005232656
33387438A5B393   TIMOTHY       RUSH                    OR          90010984380
333879A672B835   JOEL          READER                  ID          90013119067
33387A2517B639   SHAREN        KING                    GA          15084100251
33387A77777367   ROBERT        DINSMORE                 IL         90015480777
33387A84151339   PAYGO         IVR ACTIVATION          OH          90014590841
3338866564B281   ANDREA        TALBOT                  NE          90014786656
3338874165B52B   ROSALVA       RINCON                  NM          90006987416
333891A3151339   KRISTI        PAYNE                   OH          90014591031
3338929234124B   JACKIE        JONES                   PA          90009682923
3338988594124B   EARL          GARDNER                 PA          90014178859
33391731A54165   DARLA         BROWN                   OR          90010207310
3339173948B16B   ALYSON        GOULD                   UT          90014487394
3339288594124B   EARL          GARDNER                 PA          90014178859
3339345A15B156   SAMANTHA      WATSON                  AR          23007154501
33393A92A47931   QUAN          CARR                    AR          25056730920
3339444395B393   DUSTIN        HUSEMANN                OR          90014324439
3339485627B492   MELISSA       THOMPSON                NC          11087518562
33395227772B27   ROXANNA       HICKS                   CO          90013082277
3339533732B835   ANDRES        DIAZ                    ID          42059383373
3339742A791371   CHRISTOPHER   ANDERSON                KS          90011304207
3339747985B52B   BELVA         STAMPS                  NM          90007524798
33397494A2B87B   MELISSA       CASEY                   ID          90001764940
3339816242B87B   NATHANIEL     CONWAY                  ID          90008301624
33398599372B2B   ANDREA        MADRIGAL                CO          33084305993
3339938322B835   MAE           FERGEL                  ID          90001963832
33399635A51339   TAMMY         FLETCHER                OH          90012176350
3339B61815B52B   ADRIANA       ROMERO                  NM          90010886181
3339B76122B87B   JULIE         STARKEY                 ID          90010307612
3339B995A2B828   RICHARD       PAYNE                   ID          90008679950
333B119958B16B   JAKE          A CAWLEY                UT          90009301995
333B187575B59B   PAIGE         LOVATO                  NM          90005868757
333B277444B943   OSMIN         CRESPO                  TX          90012187744
333B282585B52B   CLAUDIA       AVILA                   NM          35015478258
333B291A951369   TAMMI         KELLY                   OH          90009769109
333B3165491584   PATRICIA      LOYA                    TX          90003581654
333B3456955927   STEPHANIE     FLORES                  CA          90013884569
333B347953B326   THEODORE      KRUGLET                 CO          90002464795
333B372814B943   PAULA         WILIAMS                 TX          76592247281
333B3A86451369   NAKEBA        BARNES-PORTER           OH          66098510864
333B41A3291975   BRENDA        PEREZ                   NC          90011761032
333B4493547931   MIKALE        POSEY                   AR          25001814935
333B4A6A72B835   GREG          MORRIS                  ID          90007440607
333B5298254165   TRACEY        BAY                     OR          47042102982
333B5347436B77   KRISTIE       CLARK                   OR          90009083474
333B558534124B   JEFF          IVORY                   PA          90006335853
333B585A75B393   DONJRAYE      WHITE                   OR          90015108507
333B6497755972   JORGE         PATLAN                  CA          90013364977
333B68A6151369   MARK          HESS                    OH          66089248061
333B696A35B52B   LUIS          VILLA                   NM          90011949603
333B7216A7B492   ANASION       GOOD                    NC          90010122160
333B7493547931   MIKALE        POSEY                   AR          25001814935
333B781254B943   FAYA          WILLIAMS                TX          90013318125
333B7A36554165   CAROL         CANTER                  OR          90010270365
333B821978B162   MARQEL        LINO                    UT          90012872197
333B831A65B156   T             WMS                     AR          23091203106
333B8367591563   MARTINEZ      JOSEPHINE               TX          90009993675
333B884367B471   PILAR         ALVAREZ                 NC          90004378436
333B8A79147931   ATLENTA       MORELIK                 AR          90004990791
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333B981619125B   SHANTEL        BUNTHOFF               GA          14513498161
333B9A7A591371   DEBORAH        WILLIS                 KS          90014540705
333BB13185B393   MARIA INELDA   SALAZAR HERRERA        OR          90012471318
333BB27952B871   RUSSELL        BUFFINGTON             ID          42089812795
333BB419A91831   WILLIAM        GOERISCH               OK          90008694190
333BB46774124B   CHRISTOPHER    AVIGANIO               PA          90002524677
333BBA54551339   RYAN           CLICK                  OH          90005160545
333BBA6634B281   KRISTEENA      SCARPINO               NE          90011680663
3341112745B156   DANA           PEARSON                AR          23017011274
3341166458B16B   FRANSISCA      LOZANO                 UT          31072856645
3341185885B393   SALOME         HIDALGO                OR          44562758588
334125A868B16B   BRODY          S JACOBSEN             UT          90009095086
334133A2751369   MARIO          LARKIN                 OH          66039343027
3341383A54124B   ALICE          SELLU                  PA          90013238305
33413AA477B639   TWILLA         BOOKER                 GA          15015310047
33414112A91584   KAREN          VIRAMONTES             TX          75021251120
33414854A4B586   NATHAN         MURDOCK                OK          21592188540
33414A8345598B   DEDE           LOERA                  CA          49059270834
3341511557B639   LATASHIA       FITZPATRICK            GA          15082821155
3341598964B943   ROSALBA        DE HOYOS               TX          76534449896
3341627748B16B   GABRIEL        RAMIREZ                UT          90012082774
3341642384124B   MECCA          BEY                    PA          90013914238
3341675542B835   MARIA          SANCHEZ-SQUIRE         ID          42058297554
33417A2956B397   FIDEL          GARCIA                 NH          90015240295
33418784976B44   ALBERTO        GONZALEZ               CA          90000597849
33418A3858B19B   CARLO          BURGOS                 UT          90001390385
3341921765B156   RAYMUNDO       TAPIA                  AR          90014412176
3341967A991549   MARTHA         RIOS                   TX          75065026709
3341B314A91831   DEANNA         THOMPSON               OK          21012773140
3341B48545B52B   ELFIDO         RIO-CASTILLO           NM          90013814854
3341B637591371   IRVING         BUSTAMANTE             KS          90014176375
3341B66114B281   JENIFFER       BESCH                  NE          90014396611
3341BAA672B87B   DAWN           BROWN                  ID          90006650067
33421AA344124B   JJ             SIRLIN                 PA          51091460034
33422622A7B492   LISA           MELTON                 NC          11086916220
334231A1A5B156   DAVID          ANCA-CHAN              AR          90014941010
3342394344B943   FORREST        PITRE                  TX          90002629434
3342398A721631   KIM            WEB                    OH          90015069807
3342419525B52B   JOSEPH         LANE                   NM          90010651952
3342454114B943   JANEI          YOUNG                  TX          90014075411
3342464217B449   CONSTANCE      LIVINGSTON             NC          11082186421
334252A535B52B   LAURA          LOPEZ                  NM          90008642053
3342565945B393   CORY           GABER                  OR          90012026594
33425A95324B25   LAPRE          HOLMES                 DC          90006970953
33426123A4B281   AMI            BELT                   IA          90014791230
3342616994124B   REBECCA        ROBERTS-MCPHERSON      PA          51032751699
3342649355B156   RODNEY         COLEMAN                AR          23021734935
33426A5375B52B   LUCERO         BENTIA                 NM          35026210537
3342792387B471   BRANDON        COLLINS                NC          90011169238
33427935A4124B   ERIC           FABEC                  PA          90014179350
3342836545B393   ABDI           AHMED                  OR          90001083654
3342847A841258   BAYLON         SLOAN                  PA          51027884708
3342849762B835   JOANNA         HAIRES                 ID          90011604976
33428857A5598B   ANA            BERBER                 CA          49014558570
3342888268B16B   MICHEAL        SIMPSON                UT          90014978826
3342919838B14B   JUAN           PEREZ                  UT          90014881983
3342943995B52B   KARIMA         DOMINGUEZ              NM          90012184399
3342B6A3685621   MARIA          CHEVEZ                 NJ          90012466036
3342B93184124B   PANGAL         NGAL                   PA          90014179318
3342BA65A4B281   KYLEIGH        WALKER                 IA          90014790650
3343193654124B   JILL           IRVIN                  PA          90014179365
33431A4172B87B   SABRINA        CARVER                 ID          90013540417
3343275135B393   ALEX           TOWNSEND               OR          44538217513
3343325855598B   JOHNNY         GUERRERO               CA          90006102585
3343358358B16B   HAWKES         RUSSELL                UT          90008615835
3343398837B471   ELDA           VELASQUEZ              NC          90001769883
3343417494B281   ANNIE          MCKENNA                NE          90014791749
33434329636B77   DANIEL         RYBAK                  OR          90008443296
33434377A41258   JOSHUA         JOHNSON                PA          90010963770
334351A268B16B   RYAN           QUINN                  UT          90015571026
33435AA3441258   VERNIECE       WANNAMAKER             PA          51086670034
3343649782B93B   CAPONE         GIRONDA                CA          90003994978
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334365A1851339   PAM            FIELDS                 OH          90014625018
33436737272B36   SHEILA         DONAHUE                CO          33041047372
334368A9547931   JULIANN        LAISO                  AR          90015188095
33436A5925598B   MARGARITA      SAMPEDRO-TRINIDAD      CA          49053550592
3343725855598B   JOHNNY         GUERRERO               CA          90006102585
3343772792B87B   SANDRA         ACKERMAN               ID          90007637279
3343848A48B16B   DAVID          GOODA                  UT          31081214804
3343875769125B   LONNIE         BEASLEY                GA          90005507576
3343896297B492   MICHAEL        PACZKOWSKI             NC          90008089629
3343B16234B281   TROY           THUNDERSDADT           NE          90014791623
3343B25877B32B   JOSE LUIS      JIMENEZ                VA          90012122587
3343B69A37B471   QUINTA         DUNLAP                 NC          11024536903
3343B7A3791831   LELA           ABRAHAM                OK          90015167037
3343BA2245B156   CARRIE         SUMMONS                AR          90001630224
3344142937B471   BRANDY         SMITH                  NC          90009534293
3344151555598B   KARLA          VALENZUELA             CA          90014895155
334422A417B492   VIRGINIA       GUZMAN                 NC          11077552041
3344272A85B393   HAILEMICHAEL   TESFAMARIAM            OR          90005207208
33442742A91563   VIOLETA        MARQUEZ                TX          90015107420
33442A6A631424   YOLANDRA       SMITH                  MO          90001040606
33443A18A91371   MARYJANE       SAALE                  KS          90014770180
33444192A51369   NATHAN         EALY                   OH          90014541920
3344467548B162   DAVID          ANDERSON               UT          90013496754
334448A342B87B   WILLIAM        WRIGHT                 ID          42029318034
3344498162B871   MARK           SANDER                 ID          42063749816
3344559196192B   CARMELTIA      MADRIGAL               CA          90006235919
33446634A55972   RAYMOND        CASTELLANOZ            CA          48096856340
3344733328B16B   ANTHONY        BURSON                 UT          90013063332
334484A857B492   ANGEL          VALDEZ                 NC          90002914085
334497A3941258   AMBER          PHILLIPS               PA          51077327039
3344B47952B87B   KATHY          LITTLE                 ID          42088504795
3345184544B943   DELWYN         KIEL                   TX          90012918454
3345185672B87B   DANIELLE       WRIGHT                 ID          42073868567
3345185855598B   SONYA          GONZALES               CA          49082788585
334519A445B156   OTIS           SMITH                  AR          23006449044
3345244418B16B   RENE           GARCIA                 UT          90001664441
3345249494124B   CHERELL        PARKER-COLLINS         PA          90011824949
3345286932B93B   PATRICIA       TAFOYA                 CA          45081458693
33452A29591371   MARYJANE       SALE                   KS          90014770295
33453198A5B156   MARIE          FLOWERS                AR          23072961980
3345326AA7B492   MICHAEL        BURTON                 NC          90015052600
334543A914B281   LISA           BARANISHYN             NE          90014793091
3345463524B943   IRASEMA        SABAIZ                 TX          90004366352
3345491437B492   MARIA          REQUEND                NC          90012599143
3345497157B386   FRANCOIS S     HARRIS                 VA          90003469715
3345543799125B   ANTOINETTE     SMITH                  GA          14556364379
3345577952B835   LUCINDA        CERVANTES              ID          90000807795
33455A9375B156   TAMARA         COLEY                  AR          23058260937
3345627535B59B   MARGARITA      LOPEZ-PONCE            NM          90012672753
33456A32551339   TIFFANY        SWAN                   OH          90014630325
33457154972B23   BRAD           EATON                  CO          33088551549
3345715A87B492   MEOSHA         CALDWELL               NC          90014811508
3345829A34124B   LIANA          DUDEK                  PA          51003852903
334593A352B87B   WILLIAM        SCHANZ                 ID          90006443035
3345996264124B   JON            HANSON                 PA          90014179626
33459A56251339   AJHEA          PRUDEN                 OH          90011600562
3345B235851339   ADAM           TAYLOR                 OH          90011782358
3345B285855972   DENICE         LUDDEN                 CA          90014812858
3345B426284378   HERMAN         LARA                   SC          90012734262
3345B487547931   MARY           MARRIOTT               AR          90012814875
3345B5A455B156   JARRELL        DAMIEN                 AR          90013545045
3345B73A84B281   RYAN           STEINSPRING            IA          90012887308
3345B884A36B77   ANTONIO        ROMERO                 OR          44504248840
3345B92928B162   ANTHONY        KNAPP                  UT          90007449292
3345BA17A41258   NATE           THOMAS                 PA          90013950170
33461A1167B449   MILTON         JACKSON                NC          90011780116
33461A86191831   LETICIA        BERNAL-GRANADOS        OK          90001760861
3346212754B943   TIFFANY        ENGLISH                TX          90014781275
3346242964B281   CARLOS         NIEVES                 NE          90007804296
3346338AA5B52B   CHRIS          FARIS                  NM          90014623800
3346379424B943   AMANDA         MOCK                   TX          90013837942
33463A76136143   ROXANNA        GAMBOA                 TX          90010910761
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334641A2991584   NATALIE             MYERS             TX          90007211029
33464579772B93   MICHAEL             DELMONICO         CO          90008405797
3346469147B639   VICTORIA            CLARK             GA          15096486914
33464AA1151369   PAUL                HALL              OH          90010900011
33465163A57544   JOIE                FLORES            NM          90012511630
334652AA64124B   DENA                STEELE            PA          51070082006
3346598265B52B   GEORGE              GALLEGOS          NM          90013769826
33466365A4B281   JASMINE             DOUGLAS           NE          90014793650
334664A5291831   MICHAEL             BRYDIE            OK          90013374052
33467165A5B52B   VICTORIA            MARTINEZ          NM          90001881650
3346748154124B   JENNIFER            GREEN             PA          90015124815
3346912292B87B   LORRIE              STEPHENS          ID          42091151229
3346B49A22B871   GRACE               HERRERA           ID          42094024902
3346B69117B471   JAVIER              NUNEZ             NC          11047066911
3346B91415B23B   MIA                 TONEY             KY          68081139141
3346B99715B393   FRANK               WATERHOUSE        OR          44510259971
33471A5725598B   MARIA DEL ROSARIO   GODINEZ           CA          90003880572
3347217988B16B   ANNA                RAMIREZ           UT          90015541798
3347311A85B52B   ROSIO               NAVARRO           NM          35057131108
3347473517B492   JESUS               PALMEROS          NC          11084477351
33474A26941285   SHARMEL             WASHINGTON        PA          90013080269
3347577522B871   IZAMARY             OLIVAS            ID          90013097752
33475A7567B471   ELISA               GARCIA            NC          90010820756
3347685975B52B   JOHN                MONTANO           NM          90014828597
3347788738B16B   CATHERINE           SCHOOLY           UT          90003178873
3347793562B87B   JAMES               WHITMORE          ID          90009819356
3347868514B943   JOSHUA              CURTIS            TX          76524446851
3347936838B16B   CONNER              VON ALMEN         UT          90007513683
3347941A985824   JADEN               ROSS              CA          46048024109
3347944492B87B   EMMANUEL            SOLANO-LEMUS      OR          90010194449
334798A2571932   MELISSA             CASILLAS          CO          90007828025
3347992737737B   CATINIA             WEST               IL         90011759273
33479A6A691371   NENA                HAWKINS           KS          90013990606
33479A9A85B393   MONNA               EARD              OR          44500440908
3347B178641258   LAURA               ZRALKO            PA          90013261786
3347B217547931   ANITA               SANDLIN           AR          90013432175
3347B25672B87B   NICHOLAS            KNUDSON           ID          42000162567
3347B673641285   QUINCY              LOAN              PA          90012916736
3348123962B87B   REGINALD            STATES            ID          42083412396
334812A4851369   JOHNY               JACKSON           OH          90014752048
3348242722B871   JONELLE             BLACKER           ID          90011534272
3348273978B16B   AMAYA               GREGORY           UT          90012777397
33482A3A291266   ABRAHAM             BOWEN             GA          90001500302
3348315122B871   MANUEL              GARCIA            ID          90015501512
334835A645598B   HECTOR              URIAS             CA          90014855064
3348433872B828   MARIYA              SHAPOSHNIK        ID          42050123387
334854A4541258   DEANNE              FULMORE           PA          90007844045
3348561137B43B   TABATHA             COLE              NC          90002266113
3348639944B281   STEVEN              GARCIA            NE          90014793994
3348639974B943   LILIAN              PILLOW            TX          90012773997
3348641225B156   TIFFANY             HOWARD            AR          90013054122
33486587A51339   CATHY               WALTES            OH          90014665870
3348727282B241   JOHNNY              BROCKMAN          DC          90006612728
3348798985B156   RODERICK            HOPSON            AR          90012679898
3348819482B871   RUSSELL             GOLDSMITH         ID          42024591948
3348853844B943   AUSTIN              SPENCER           TX          90007695384
3348871397B471   JOSE                HERNANDEZ         NC          90013367139
334888A4691563   BONILLA             MARTA             TX          90005408046
33488A2A354165   JANICE              LANGIS            OR          90008950203
3348937414124B   AALIYAH             KING              PA          90010493741
3348956A63B132   TONYA               THORNTON          DC          90012665606
3348B416351578   TOMEKA              WALKER            IA          90014144163
3348B74865B156   LASSANDRA           GREEN             AR          90009157486
3348B9A813B132   JOYCE               SAWYER            DC          90008879081
334916AA42B871   BRITTANY            LAROCCO           ID          90013996004
33491A68651383   BETHANY             LINDER            KY          66091630686
3349257352B871   RON                 ZECHMANN          ID          42011665735
3349286227B471   MAURICE             MCKENZIE          NC          11051308622
33493158A91831   TOU                 VUE               OK          90008711580
334933A525B393   RAFAELA             CERECER           OR          44542043052
3349378A85598B   FLOR                MARTINEZ          CA          90000767808
3349585942B87B   SABRINA             STAMPER           ID          90013998594
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33495A91A71939   TRUMAN      VAN AUKEN                 CO          90012420910
3349667185B393   CHRIS       DODGE                     OR          90004916718
3349864894124B   TYLER       DOLANCH                   PA          90004986489
334994A9651369   RASHEDA     MURPHY                    OH          90008744096
3349B43937B471   JOSHUA      HARVELL                   NC          90009534393
3349B44818B16B   LIBERDY     VALDEZ                    UT          31047324481
334B1159A5B393   JORDAN      DELA CRUZ                 OR          90014511590
334B1171A54165   VICKI       MAYNARD                   OR          90006621710
334B157A941258   WENDY       SACCO                     PA          90000375709
334B161763B392   MARISA      GEORGE                    CO          33023546176
334B236917B492   JOSEPH      KHUPPI                    NC          90011903691
334B266A85B156   JIMMARICA   JONES                     AR          90010956608
334B281254124B   ROBERT      GEIGER                    PA          90014818125
334B336478B162   NATALIE     TANNER                    UT          31092643647
334B341AA31424   CHANTE      BANKS                     MO          27586954100
334B6516351339   BRANDI      CRIHFIELD                 OH          90014605163
334B6614336143   AUDREY      GARZA                     TX          90010276143
334B734142B87B   TONYA       CRONISTER                 ID          90002263414
334B753569152B   PABLO       AVILA                     TX          90009335356
334B77A934B943   NICOLE      REID                      TX          90007647093
334B7831554165   SAMUEL      FARRIS                    OR          47098548315
334B899465598B   DEEANN      TARANGO                   CA          90014639946
334B9478155972   RAMOS       RAYMOND                   CA          48014324781
334B9667757B79   HEATHER     PETROSINO                 PA          90013856677
334B9793141277   MELISSA     CSOKULTY                  PA          90001007931
334BB71264B531   SPANISH     COVE LTZ LLC              OK          90006127126
3351148667B449   VERTINA     OLEARY                    NC          11083774866
3351194147B639   KENNETH     HOLLIS                    GA          90009339414
3351212588B16B   AARON       RANDALL                   UT          31016571258
33512326576B53   SERGIO      MONTIEL                   CA          90003133265
3351234362B871   NICOLAS     DIAZ                      ID          90009663436
3351243824B281   GABRIELA    SANDOVAL                  NE          90014794382
33513451824B46   MICHELLE    BAILEY                    DC          90006414518
33513A4419125B   ANTHONY     BEST                      GA          14516390441
3351455252B871   MELISSA     COON                      ID          90006075525
33514A22541258   JUSTIN      MEYERS                    PA          90013950225
33514A8534124B   KEN         SCHWARTZER                PA          90009870853
3351598794124B   ALBERT      JOHNSON                   PA          51048679879
33518439A7B639   RENISHA     HINTON                    GA          15088964390
3351847425B393   MARIE       RAMBUL                    OR          90011904742
335186A417B471   SEBRENA     CHAMBERS                  NC          11042356041
3351971767B449   ELSA        MORALES                   NC          11091407176
3351B22635B156   PATRICIA    HOLMES                    AR          90014252263
3351B79287B639   KAYLA       WILSON                    GA          15075227928
3352136377B492   TONY        RAINEY                    NC          90015603637
3352142A391831   MICHAEL     OVERACK                   OK          90002964203
3352246A191563   VIVIS       GARCIA                    TX          90009164601
3352263995B393   MATTHEW     GOLLYHORN                 OR          44505986399
3352427954124B   JESSICA     KISTNER                   PA          90015012795
3352438977B492   MYCAL       SELF                      NC          90014963897
335246A975B52B   BEVERLY     KIMBRELL                  NM          90013906097
3352541897B492   BADER       ALRFOOH                   NC          90008064189
3352557A941285   RHONIKA     JOHNSON                   PA          51017495709
335262A9851369   JACLYN      BURT                      OH          66054952098
3352652482B871   ESTELA      SALAZAR                   ID          90005625248
3352713482B87B   RENEA       FEARN                     ID          90008441348
3352731A88B162   BRENDON     CRAPO                     UT          90013063108
3352789888B16B   DEBBIE      DRAPER                    UT          31081118988
335288A1941258   JENNIFER    DEPIETRO                  PA          90012908019
335292A3351339   JESSICA     COMBS                     OH          90014672033
3352931925598B   ANDREA      GONZALES                  CA          90010993192
33529366A7B471   FRANCINE    SMITH                     NC          11046873660
3352B356941285   FELECIA     BURT                      PA          90014413569
3352B5A3291831   JAMAEL      RICHARD                   OK          90008725032
3352B781291537   JUAN        FRANCO                    TX          90008997812
3352B81A555972   MARIO       CHAVEZ                    CA          90013748105
3352B917391563   HECTOR      GOMEZ                     TX          75026449173
3353173268B162   MANUEL      TERRONES                  UT          90008067326
335317A4631491   MONICA      HARRIS                    MO          90000177046
3353221978B162   MARQEL      LINO                      UT          90012872197
3353235945B156   ANNETTE     SHEAD                     AR          23072033594
3353246284B281   AARON       TRAYNHAM                  NE          90014794628
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3353349A15598B   JESSIE      CHA                       CA          90013234901
3353369254B281   TERRI       CARLSON                   NE          90013226925
3353446414B281   ADISLADO    CRUZ BELLO                NE          90014794641
3353558188B16B   RYAN        HOLLAND                   UT          90014885818
3353649782B93B   CAPONE      GIRONDA                   CA          90003994978
3353668634124B   SHAYLA      HAMILTON                  PA          90010636863
3353721134B943   JUAN        ORTIZ                     TX          90002402113
3353722A155972   MARCENE     FEENSTRA                  CA          48076672201
3353766738B16B   DOREEN      C STONE                   UT          90008926673
3353892454B943   TAMIKA      LOCKWOOD                  TX          90009809245
3353961A78B162   LACARO      DE JESUS                  UT          31035766107
3353973A67B639   SUSAN       ARMSTRONG                 AL          90003147306
3353B161755972   SAUL        CAMACHO                   CA          90005641617
3353B229751339   NICHOLAS    MILLER                    OH          90014502297
3353BA3225B52B   MARGARET    MATRTINEZ                 NM          90010630322
3354169A44124B   PATRICE     HAMPTON                   PA          51038836904
335417A6154165   ANTHONY     BAXTER                    OR          47025497061
33541A12936143   STEPHANIE   MARTINEZ                  TX          90012530129
3354213917B639   SYRINA      STOKES                    GA          90011111391
3354257364B943   JOSH        BOUDREAUX                 TX          90014705736
3354271745598B   SONIA       NAVARRETE                 CA          90014667174
33542A7622B87B   JOSHUA      PAULSEN                   ID          42068010762
3354348767B492   LAURA       MARTINEZ                  NC          11049684876
3354349352B871   ABIGAIL     LEACHMAN                  ID          90010814935
3354365882B835   ADEN        ALI APT E103              ID          90015066588
3354383695B52B   GABRIEL     SANCHEZ                   NM          90012878369
3354447734124B   DAWN        BROCK                     PA          90012934773
3354451365B52B   DAVID       LARRANAGA                 NM          90009765136
3354475189125B   BRIAN       PRIESTER                  GA          90000427518
3354483418B162   RAUL        ALFARO                    UT          31000988341
3354525A454165   JEANIE      MACKAY                    OR          47001562504
3354612264124B   JAMES       BOTHA                     PA          90014181226
33546726A91243   SHAKIARA    COOPER                    GA          90014617260
33546947A36143   ALBERTO     ALVARADO                  TX          73520649470
3354699A454165   KERRY       RAVERT                    OR          47041139904
33547943676B44   HILARION    LEON                      CA          46003319436
3354825134124B   MARTINA     PRICE                     PA          90011082513
3354849184B943   CLARESSA    CUNNINGHAM                TX          90006074918
3354855285598B   PAUL        MORALES                   CA          90000235528
33548A4267B449   DWAYNE      GANTT                     NC          11094350426
3354914352B835   RICK        STEFFENS                  ID          42097301435
3354942695B536   JANICE      LUCERO                    NM          90001474269
3354958882B87B   JARED       BARKER                    ID          42020125888
3354986792B871   JESSICA     LLOYD                     ID          90003748679
3354B33337B43B   KHADIJAH    CRAWFORD                  NC          90002253333
3354B44125598B   DAVID       AGUIRRE                   CA          90010904412
3355136764B943   JUAN        VENTURA                   TX          90004223676
3355195287B492   PRADEL      THOMPSON                  NC          90010969528
33552446972B2B   BRETT       ALLEN                     CO          90001644469
335524A6184369   KYMBERLY    MOSELY                    SC          90002144061
3355269A391831   CHARLOTTE   HENSON                    OK          21081526903
3355331164B532   FRANCINE    ELLIS                     OK          90012083116
33554932A2B87B   RYAN        BURHAM                    ID          90012359320
3355588318B16B   SANDRA      GOMEZ                     UT          31060248831
3355632498B162   SHYANN      BRYANT                    UT          90014103249
335565A1941285   THEODORE    PARKER                    PA          51026245019
3355679544124B   TONY        YANKOSKI                  PA          51000617954
3355748A84B943   VONN        SOSTAND                   TX          90005724808
3355753585B52B   GARY        BROWN                     NM          35039075358
3355764972B835   LYNDA       COLLINS                   ID          90013976497
3355771895598B   CHRISTINA   FLORES                    CA          90009877189
33557914972B37   CINDY       HAUKE                     CO          90008609149
33557A1377B43B   CARLOS      LOPEZ                     NC          11027520137
3355846887B492   EUGENE      FIELDS                    NC          90011124688
335584A4751369   TAMMY       KRUG                      OH          90000174047
3355938A32B87B   ROXANNA     RAMIREZ                   ID          90015453803
3355965464B943   MARTIN      GUTIERREZ                 TX          90012536546
3355B2A2141258   MICHAEL     DANGELO                   PA          90000362021
3356273722B87B   BIERNAT     ALEX CODI                 ID          90009727372
3356373448B162   JEFFRIN     SANCHEZ                   UT          90010827344
3356386155598B   STEPHANIE   CASTILLO                  CA          90013058615
3356416A62B871   NICHOLE     MAGER                     ID          42092501606
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3356422982B835   AUBREY         CHAPMAN                ID          90006092298
335644A498B162   STEPHEN        SPARKS                 UT          90005424049
33565884A36B77   ANTONIO        ROMERO                 OR          44504248840
335662A724124B   BARINDER       SINGH                  PA          90000502072
33566734A7B639   CAROLYN        WILLIAMS               GA          90008387340
33566987A3B393   BERLINDA       ROMERO                 CO          33076529870
3356718598B16B   SELENA         VILLANUEVA             UT          90012911859
3356836838B162   HARLEY         ADAMSON                UT          90014703683
3356912945B52B   KAREN          METELITS               NM          90000791294
3356979432B87B   SCOTT          COLBURN                ID          90015447943
3356B51268B162   SAMANTHA       BREITMEYER             UT          90008085126
33571346736B77   ANGEL          MARIO                  OR          90014963467
3357142435B393   MIRNA          ALVILA                 OR          90014754243
33571AA2255972   SAMUEL         CANAS                  CA          48071580022
33571AA8141285   NICHOLAS       PARAS                  PA          51068550081
33572179A4124B   SOYOUNG        CHOW                   PA          90014181790
335722AAA47931   STEPHANIE      MARTIN                 AR          90011462000
33572328A51339   LETICIA        KELLER                 OH          90013833280
33572331272B25   PATRICIA       SCURLES                CO          90000943312
335742A635B393   JOSE           VALDEZ                 OR          90015212063
3357445445B156   KATHLEEN       MCBRIDE                AR          90006214544
3357448572B835   CRYSTAL        ROBINSON               ID          42011434857
33574A48A4B943   JUNE           MOLENDA                TX          90013060480
3357586248B162   MAECIE         ILL                    UT          90015098624
3357618814124B   MANNY          SILVA                  PA          90014181881
3357677512B835   DAVID          SHORT                  ID          90010667751
335772AA251369   MARY           HIGNITE                OH          90007472002
3357783485B156   ADOLFO         GOMEZ                  AR          23001478348
3357911279125B   LISA           ECCLES                 GA          90005631127
3357919A74124B   TYQUAN         DAVIS                  PA          90014181907
3357961697B471   JERCLL         ROBINSON               NC          90011156169
3357BAA868B16B   HEIDI          HADLEY                 UT          31006180086
33581A2632B87B   JEREMY         GRIGGS                 ID          42079580263
3358258775B52B   JENNIFER       CARDENAS               NM          90007525877
3358378335B52B   ANA LAURA      MOREIRA                NM          35086517833
3358461334B943   MARTIN         LOPEZ                  TX          90003596133
3358481A355972   MIGUEL         MORALES                CA          90010288103
3358489A35598B   STEVE          CHAMP                  CA          90012728903
3358511837B471   WILLIAM        MILLER II              NC          11009901183
3358595252B255   BARBARA        MCCRARY                DC          81035519525
3358596915B393   CHARITY        KELLEY                 OR          44562469691
33585A41441285   CHARLENE       WRIGHT                 PA          51023330414
3358654A25B393   BRUCE          BOWER                  OR          90009325402
33587AA8A51339   CLAYTON        LACY                   OH          90014730080
335882A4351369   SHARAINE       HUFF                   OH          90008452043
3358898A291584   RIGOBERTO      QUIROZ                 NM          75057309802
33588AA8A51339   CLAYTON        LACY                   OH          90014730080
3358976715B393   SHAVONA        WILLIAMS               OR          90013527671
3358B22384B943   AMANDA         BLACKWELL              TX          76508392238
3358B58A92B87B   RON            HOOKER                 ID          42074525809
3358B634591563   ALEJANDRA      CASTRO                 TX          90008476345
33591682A91831   JEFFERSON      GORMAN                 OK          90012746820
335921A5776B44   CHRIS          HERNANDEZ              CA          90001771057
3359242195B393   JAMES          BRUCE                  OR          90009764219
33592A7775B156   SAGRARIO       JAMIE                  AR          90009110777
33595194476B7B   ELDA           GALINDO                CA          90000781944
3359626A25B52B   SANDRA         DIAZ                   NM          35041822602
33596AA717B43B   MARGARET       MARTIN                 NC          11073610071
3359821A94124B   ADAM           PHILIPS                PA          90014182109
3359883488B16B   MICHELLE LEE   STONE                  UT          90004058348
3359981932B871   BIANCA         ARREDONDO              ID          90013088193
33599A19161972   CHAVA          GENDELMAN              CA          46042930191
3359B3A2A5B393   ROBERT         HAMILTON               OR          44521943020
3359B55A947931   KYLE           MYERS                  AR          90013675509
3359B681272B35   IRIS           GUZMAN                 CO          90009636812
335B1293441285   SHAWN          RANALLO                PA          90012482934
335B15A7455972   ALBERTO        BARRAZA                CA          90010235074
335B168634124B   SHAYLA         HAMILTON               PA          90010636863
335B1914491371   ALAN           HERANDEZ               KS          90014159144
335B259315B52B   NARCISO        NEVAREZ                NM          90014545931
335B3346291563   ANGELA         ERICKSON               TX          90012853462
335B37A864124B   DAVID          HANEY                  PA          90014027086
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335B459565B393   BRANDI        BLACKFORD               OR          90015175956
335B4821851339   DAVID         LYKINS                  OH          90014668218
335B486735598B   DIAMOND       DIAMOND                 CA          90012668673
335B4937491563   RUBEN         MONDRAGON               TX          90013379374
335B5366451339   KIMBERLY      AKERS                   OH          90014693664
335B541395B393   ROBERT H      SUITOR                  OR          90012464139
335B5428755972   LUPITA        RICO                    CA          90011074287
335B568587B43B   QIANA         HINTON                  NC          90000146858
335B6157A41285   JENNIFER      GREENWALT               PA          90014801570
335B6358951369   DANIEL        LOUISE                  OH          90012183589
335B726819125B   ALEXANDER     DOMENECH                GA          90008862681
335B7A8235B393   JARED         BIRCHFIELD              OR          90007430823
335B8177655939   ISABEL        HERNANDEZ               CA          90001171776
335B81A584124B   MAUNJALEIC    HOWARD                  PA          90013551058
335B882142B87B   ALEX          SERDYUKOV               ID          90015118214
335B9273551369   CARRIE        CARR                    OH          90013132735
335B9661836143   ADELIT        BALADEZ                 TX          90011326618
335B98AA191563   LETICIA       ACOSTA                  TX          75050398001
335BB518A5B52B   TRACY         LINDSEY                 NM          90003145180
33611373A41258   DAVE          BROWN                   PA          90013963730
336114AA491584   JESSICA       OROZCO                  TX          75054584004
33611A2777B449   JONELL        SUTTON                  NC          90005090277
3361221254124B   JAMES         BAZZANO                 PA          90014182125
336127A6154165   ANTHONY       BAXTER                  OR          47025497061
3361288A384378   NAIMA         RIVERS                  SC          90000328803
33613396A8B16B   JOSHUA        COON                    UT          90014453960
3361352472B871   KRISTIN       ENDERS                  ID          90007525247
3361396A551339   WHITNEY       RUFFIN                  OH          90014749605
3361476527166B   ZANE          SPENCER                 NY          90015477652
33614924A54165   ANNA          MURRAY                  OR          90013319240
336149A7A4B281   ISABEL        CRISTINA                NE          90006549070
336153AA981621   JAMES         RANDALL                 MO          90004173009
33615A39155972   VICTORIA      FONSECA                 CA          48012070391
3361659595598B   MARIA         DOMINGUEZ               CA          90013885959
3361672A191563   GREGORY       CARPENTER               TX          90014647201
33616861A5B393   KELSEY        TAYLOR                  OR          90014248610
336172A3491831   RUSSELL       BLAN                    OK          90011892034
3361748A78B16B   CHANDRA       HENNESSY                UT          90011324807
33618A6752B871   BARBARA       KIRK                    ID          90013960675
33618AA477B492   BRITTANY      FARRIS                  NC          11057320047
3361956A57B492   JOSE ARTURO   MENDOZA                 NC          90002215605
3361987532B835   PATRICIA      PETET                   ID          42003518753
33619A19991893   DAWN          DEBOSE                  OK          21034100199
33619A64291831   WHITNEY       PERKEY                  OK          90013670642
33619A8543B132   KAREN         JOSEPH                  DC          81088850854
3361B26125B52B   BOBBIE        VANBERG                 NM          90005722612
3361B523784378   ANTHONY       BOLDEN                  SC          90014905237
3361B75334B943   LORIE         GUILLORY                TX          90012517533
336215A228B162   BRYAN         BRAILSFORD              UT          90004075022
3362161895B52B   ROBERT        WILLIS                  NM          90007526189
3362187315598B   SANDRA        VENTURA                 CA          90008628731
3362286A851339   JENNY         SANDLIN                 OH          90013408608
33622A65591831   SCOTT         SENF                    OK          90014730655
3362349355B156   ROSEMARIE     RIVERS                  AR          23008954935
3362422464B281   DANIEL        METHER                  IA          90013962246
3362451692B87B   SERGIO        ESPINOZA                ID          90010625169
3362584615598B   MARBELLA      OREGON                  CA          49018398461
33625A38A31424   ASHLEIGH      PILLA                   MO          27570180380
3362626318B162   RICHARD       HANSEN                  UT          31058052631
3362685A15598B   MARY          ARTHUR                  CA          90012898501
3362689815598B   MEAGAN        ALONSO                  CA          90005818981
3362766725598B   JEVON         WALDROP                 CA          90011326672
3362796344B943   LESTER        LOUISE                  TX          90015309634
336289A7A4B281   ISABEL        CRISTINA                NE          90006549070
33628A8927B471   VANESSA       MCINTOSH                NC          11017150892
3362B178436143   PEDRO         OLALDE                  TX          90009251784
3362B245441258   HOLLY         SENNETT                 PA          51081782454
3362B7A9447931   NICOLE        MCLENDON                AR          90014337094
3362B929591371   DANA          OGEDA                   KS          90015139295
3362B948351369   PAUL          BUSCH                   OH          90013139483
3362BA91391371   DANIEL        ALVARADO                KS          29014430913
33631247A2B835   THOMAS        ARAGON                  ID          42050232470
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3363178297B471   MARIA           KONYAKHINA            NC          11046807829
33631A2875B393   MELISSA         FISHER                OR          44596730287
33631A3A68B16B   MISTY DAWN      KESLER                UT          90006510306
33631A6317B43B   RUBEN           JARAMILLO             NC          11027590631
33632A7515B393   TAYLOR          HOLMES                OR          90011090751
3363311318B16B   EVELYN          BUENROSTRO            UT          31013181131
3363316718B162   VIRGINIA        VILLA                 UT          31062441671
3363349A37B639   LASHERRY        BROWN                 GA          90014804903
3363486244B943   JOSE DE JESUS   GUDINO VILLANUEVA     TX          90009658624
33634A4784B592   JOEL            MORALES               OK          90006300478
336354A2491371   ALEJANDRA       GUZMAN                KS          90015174024
3363558A155972   RAUL            RODRIGUEZ             CA          48027195801
3363678742B871   JOE             LEYBA                 ID          42054877874
33637A2285B52B   NIURVE          LEONPRIETO            NM          90014760228
33637A3175598B   BARBARA         REYA                  CA          90004730317
336382AAA8B16B   JOHSUA          NERIA                 UT          90010912000
3363918275598B   DEBORAH         RAY                   CA          90014801827
3363934288B16B   ROBERT          PAINTER               UT          90013623428
3363954512B871   JIM             WALLACE               ID          90011885451
3363967755598B   ASHAUNTE        PHELPS                CA          90012336775
3363B34158B494   PAYGO           IVR ACTIVATION        VA          90015363415
3363B485A7B43B   SHONTAVIA       BUCHANAN              NC          90009074850
3363B52877B492   SANTEL          COSHAY                NC          90013835287
3364151852B835   THOMAS          STEWART               ID          42077105185
336415A9241285   JEFF            HAZEL                 PA          90013885092
33642A11A5B156   KIMBERLY        BONES                 AR          23009200110
3364372255B393   MICHELLE        MARLOWE               OR          44521297225
33643A1895594B   MARY            WOODWARD              CA          90014840189
33643A89384378   MANUEL          SANTOS                SC          90013840893
3364487A82B87B   SHELLY          MATHISON              ID          42057788708
3364543388B16B   JOSEY           ABBOTT                UT          90012934338
33645578A47931   LINDA           ALMARD                AR          90014445780
33645A6398B16B   ERIC            HARNS                 UT          90015300639
33645A91A4124B   SHEARLIE        BRITT                 PA          51045030910
3364614444B281   SHEILA          WARNER                NE          90011641444
3364632894124B   DONNELL         PEARL                 PA          90014183289
3364656865598B   KATHY           GONZALEZ              CA          49047025686
3364692317B639   KAMADI          MCCANTS               GA          90001379231
33646A33A5B156   LAKEISHA        MONTGOMERY            AR          90009330330
33647A1472B835   JAMES           SULLIVAN              ID          42005930147
3364813192B93B   SIMON           SALAS                 CA          45091331319
3364813468B16B   SHAWN           DURAN                 UT          31018721346
3364828122B87B   COURTNEY        KRAUSE                ID          90006662812
3364949474B943   STEVEN          STELLY                TX          90014554947
3364B1A4141285   JOHN            BRUSH                 PA          51093011041
336518A185B156   TAMEKA          ROBERSON              AR          90015278018
33651A12591831   SERENA          HEATH                 OK          90003090125
33651A47791563   TANYA           BACA                  TX          75087970477
33651A79541285   NICK            BROWN                 PA          90015450795
33651A8458B16B   STACY           CARYTON               UT          31043920845
3365219845B52B   DULCE           ANGELES-FLORES        NM          35077401984
3365264372B87B   JENNIFER        MARTINEZ              ID          42045876437
3365581A15B52B   JOELYN          BOYD                  NM          90013858101
3365655A67B492   LEIGHANNE       FLEMING               NC          90013135506
3365656A691563   MANUEL          OROZCO                TX          90013225606
3365679948B162   ADAM            WHIPPLE               UT          90010007994
33657933A5B393   SARAH           CROWLEY               OR          44549449330
3365793A391563   ALBERT          BARBA                 TX          75086259303
3365836685598B   ROSALIE         GAYLAN                CA          90001713668
3365939324B281   DIANA           LATIN                 NE          90014803932
3365978527B492   REBECCA         SPRINGER              NC          90002777852
3366284585B52B   NICOLE          OWENS                 NM          35007828458
3366285775B393   GLENN           CHARLESTON            OR          90010918577
33662A39A51339   JOANNA          WOFFRD                OH          90014870390
336636A6572B41   PAULINE         ROMERO                CO          90013446065
3366429637B471   DEANA           BOYD                  NC          11080742963
336645A6191371   MARIO           OSORIO                KS          29014215061
3366493684B281   LUIS            MARTINEZ              NE          27072609368
3366632494124B   CORTNEY         STEINER               PA          90014183249
3366691832B87B   ZEMY            DHWARA                ID          90012699183
33666A2A284378   CARMELO         OROPAZ                SC          90013240202
3366753154124B   LAKEYA          THORNHILL             PA          90013835315
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3366864682B87B   ALI           FATHI                   ID          90014346468
3366874525598B   JANICE        CLEM                    CA          90012737452
33668A8698B16B   JOHN          SMITH                   UT          90014680869
3366935344B281   CHASITY       RHODES                  NE          90003993534
336697A264B943   SHANTE        SMITH                   TX          90013777026
3366B59217B449   CARLOS        AGULAR                  NC          90011845921
3366B645436B77   CHRISTOPHER   HOLMQUIST               OR          90014766454
3366B794547931   NEIL          RAGLAND                 AR          25073407945
3367272A641285   NIKEYA        EACKLES                 PA          90013987206
33673A57291831   RICKY         WILLIAMS                OK          21046340572
336742A2357367   PAYGO         IVR ACTIVATION          MO          90009202023
336751A5A8B162   PAUL          THOMSON                 UT          90013731050
3367534384124B   ERNEST        HARRIS-STEWARD          PA          90014183438
3367549395598B   ALBERTO       ORTIZ                   CA          90012054939
336758A5581579   CYNTHIA       PANIAGUA                 IL         90010658055
3367599967B471   FOWLER        LATONYA                 NC          90002319996
3367646457B492   IVZ VELA      CUETO                   NC          90009574645
336771AA85598B   JOHN          PARKER                  CA          90012431008
33677683A54165   KATHLEEN      LILLY                   OR          47080246830
33677A73991563   MARIO         NUNEZ                   TX          90011540739
336784A455B52B   ARTHUR        WILLIAM                 NM          90005224045
336784A4941285   LORI          GIGANTE                 PA          51068654049
3367854888B162   DAVENPORT     DAVID                   UT          90009775488
3367948725B156   ALEJANDRA     SEGOVIA                 AR          23077104872
3367B117A91563   CHRISTINE     AGUILAR                 TX          90013311170
3367B412947931   KRISTIN       KEMP                    AR          90013464129
3367BA1A25B393   PANIKI        MASUDI                  OR          44569960102
3368135658B162   AMELIA        PRICE                   UT          31017923565
336814A2591563   MARIBEL       GOMEZ                   TX          75089214025
3368159A48B16B   RECHELL       GOMEZ                   UT          90007275904
3368232978B16B   MARIA         CERVANTES               UT          90015343297
3368318858B16B   LELAND        LLOYD                   UT          90013881885
3368345152B871   ISABEL        LOPEZ                   ID          90011874515
3368365355B277   VERNON        FAWBUSH                 KY          90008956535
33683977A91371   CHIAN         WATSON                  MO          90014179770
3368425344B943   JAKAYLA       HOLLOWAY                TX          90012652534
336851AA747931   DANNY         MCGARRAH                AR          25040341007
3368634664124B   NENA          HARRELL                 PA          90014183466
3368667425B52B   BUSH          ARSENIO                 NM          35059226742
3368791135B555   TAMANI        ORTIZ                   NM          90014109113
3368946A936143   SHONTEL       JONES                   TX          90013064609
3368996A741285   KATTIE        SUMLER                  PA          90013279607
3368B495891371   BRIDGET       EAGAN                   KS          29078334958
3368B841941285   WILLIE        WILLIAMS                PA          51092078419
3368B89192B871   MICHELLE      BERRY                   ID          90015568919
3369145684B281   MARICRUZ      ROQUE                   NE          27062494568
3369145945598B   PEDRO         RODRIGUEZ               CA          49023874594
3369183A551339   STEPHANIE     VANDENBURGH             OH          90014888305
3369185A48B16B   NAOMI         ANSONE                  UT          31079768504
3369333742B87B   MATILDA       ROMAN                   ID          42077443374
33693511376B45   VICTOR        NUNEZ                   CA          90010985113
3369464AA4B281   SHANE         KNEIFEL                 IA          90014246400
336949A588B162   MATTHEW       WARREN                  UT          90015109058
3369625732B871   HEIDI         BOYMAN                  ID          90007882573
336965A8991831   KIARA         MACK                    OK          90014835089
3369666595B156   PRISCILLA     SINGLETON               AR          90008526659
3369732415B253   BORIS         MONTALVO-SOCARRAS       KY          90010733241
3369778288B16B   JAMES         LALONDE                 UT          31061297828
3369811765B52B   ROSA          VALDEZ-ECOBER           NM          35087961176
33698A1754B542   ERIC          HARRIS                  OK          90009310175
33698A65872B31   WENDY         LEAR                    CO          90008200658
33699A76491371   STEVE         THORNTON                MO          90009130764
3369B299591831   TRECIA        MCKNIGHT                OK          90005612995
3369B572A2B871   REED          KERR                    ID          90009535720
3369B631284378   RAMEL         HUNTER                  SC          90010996312
3369B72877B492   CHELSEA       CHILDERS                NC          90009677287
3369B73A27B449   THOMAS        TEDDER                  NC          11071947302
336B117654B281   CURTIS        BEDFORD                 NE          90014891765
336B133947B492   CALEB         PASTULA                 NC          90015013394
336B1659491584   VICKY         SANCHEZ                 TX          75051986594
336B18A232B87B   KIMBERLY      ALDERSON                ID          90015118023
336B218534B281   GANESH        KAMI                    NE          90014891853
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336B231994B281   TIFFANY G      ANDERSON               NE          90014803199
336B253815B156   NARA           SMITH                  AR          90011225381
336B2625A8B162   BRENTA         EHL                    UT          90013776250
336B2825455972   PAYGO          IVR ACTIVATION         CA          90013278254
336B2894991563   FRANK          NUNEZ                  TX          90012588949
336B28A6351369   CHARLES        SIZEMORE               OH          90004358063
336B3432291831   ALFONSO        COBOS                  OK          90015304322
336B365354124B   LESLIE         ANGER                  PA          90011046535
336B3794A5598B   RYAN           EHRLICH                CA          49069557940
336B423745B52B   VIRGINIA       CHAVIRA-FIERRO         NM          90010402374
336B4623491831   CANISHA        GIBBS                  OK          90013926234
336B4982151339   NOEMI          PEREZ                  OH          66036749821
336B5178A91831   DANIEL         VERGARA                OK          90009011780
336B599334124B   JAMES          WILLIAMS               PA          51061569933
336B638334B943   JOSE           HERRERA                TX          90004703833
336B662544B281   RAFAEL         RAMIREZ                NE          90014796254
336B6824141285   ANITA          BROWN                  PA          90010478241
336B694915B393   LERAY          RADKEY                 OR          44579279491
336B6A2918B16B   TRAVIS         MCCUBBIN               UT          90008970291
336B732972B835   DEZERAE        PHILLIPS               ID          90010653297
336B7877397B31   MAGGIE         PARRA                  CO          90011158773
336B798594B281   LATASHA        JONES                  NE          90000369859
336B9485391371   LETHEL         DAVIS                  KS          90008404853
336B959932B87B   MIKE           WOODWORD               ID          90011145993
336BB226A5B398   LEONEL         MARTINEZ GONZALEZ      OR          90003492260
336BB368A41258   GLORIA         COWHERD                PA          51049163680
3371124645598B   SANDY          PHAKORNKHAM            CA          90013032464
3371142532B87B   RACHEL         LUNA                   ID          90013124253
3371223734B281   NICHOLS        LYNNE                  IA          90012212373
3371274432B255   TURNESE        WILKINS                DC          90012787443
3371312897B492   JOZEPH         SHALASH                NC          11043441289
3371371825B156   ROY            HAMMONS                AR          23026127182
3371381424B943   SHARON         CORVILLE               TX          90015168142
3371412712B87B   JENNIFER       TENEYCK                ID          42089691271
3371426347B449   AUTUMN         PAWLICK                NC          90002812634
337145A5136143   CRUZ           AGUILAR                TX          90011205051
337145A6791371   JEFF           BRENNEMAN              KS          29090745067
3371513688B16B   CHRISTOPHER    GOMES                  UT          90005771368
3371633292B87B   FRANSISCO      CHAVEZ                 ID          90013953329
33716A48141285   JOSEPH         KREBS                  PA          90009850481
3371746617B449   RACHEL         ROBINSON               NC          11097174661
33717598A91831   ASHANTI        COULTER                OK          90008725980
33718264191B44   TODD           LEBER                  NC          90015192641
337184A2851369   KAREN          HYTCHYE                OH          66039554028
3371883488B16B   MICHELLE LEE   STONE                  UT          90004058348
3371938814B281   JOSETTE        PENN                   NE          27043793881
33719A55691371   MIGUEL         ESPARZA                KS          90015100556
3371B152547931   MARVIN         MAGANA                 AR          25078741525
3371B32494124B   CORTNEY        STEINER                PA          90014183249
3371BA63531424   MICHEAL        DAVISON                MO          27583310635
3372121174B943   MELVIA         BRADLEX                TX          90015012117
3372122257B471   CRISTIAN       HERNANDEZ              NC          11029502225
3372147A34124B   ROSSLYN        FREEMAN                PA          51022634703
33721A4352B835   HARRY          KISTER                 ID          90009830435
337222A3584378   NATASHA        JOHNSON                SC          14502292035
3372242325B52B   FLOR           ARBALLO                NM          90002644232
33723296A5B156   TONYA          COURTNEY-NICHOLS       AR          23019432960
337234A582B835   GLEN           KISER                  ID          90004144058
33723541A4B281   MARIA          RIVAS                  NE          90014805410
33723A7232B871   KAREN          RASMUSSEN              ID          42098790723
337245A467B639   SHONDA         RANSOM                 GA          90009685046
33725375A91831   JENIFER        BARRETT                OK          90012783750
3372561357B639   DWIGHT         PHILLIPS               GA          90011356135
3372631498B16B   KEVIN          DOMINGUEZ              UT          90013883149
337263A352B87B   AARON          BOYER                  ID          90015533035
3372648462B835   JACOB          DIAZ                   ID          90014844846
33726995A51369   JOE            HARRINGTON             OH          90009869950
3372748252B835   STEVE          GUERRERO               ID          42091344825
33727A8137B43B   KEISHA         LUNDY                  NC          90007070813
3372811152B835   MICHAEL        BURKE                  ID          90014811115
33728422A4124B   HENRY          CAVIL                  PA          90014184220
3372859982B871   SAMANTHA       GARCIA                 ID          90009565998
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33728A28681642   MARIE        CARTER                   MO          90012260286
33728A31455972   STEFANI      BUTLER                   CA          90006960314
33728A4A791584   SANDRA       ARTALEJO                 TX          90007280407
33728A55791563   JOSE         HERRERA                  TX          90012640557
3372978165598B   JOSE         DELGADO                  CA          49085607816
3372B739191893   ALISON       ROSE                     OK          21035527391
33731528A4124B   EDWIN        LOVE                     PA          51027915280
33731A59354165   DARREN       CHMELA                   OR          47070510593
3373218252B93B   CRYSTAL      HOLLIS                   CA          45060191825
337325A557B449   APRIL        REDMOND                  NC          11069835055
3373261A62B835   FLOYD        LAY                      ID          90013326106
3373296454B943   LASANDRA     HAMILTON                 TX          90005659645
337335AAA55959   MINDY        MCINTYRE                 CA          90004385000
33733A1A75598B   NADIA        ZARAGOZA                 CA          90006220107
33733A43951369   TASHA        SHAZIER                  OH          90013140439
3373472273B132   CARLOS       QUEZADA                  MD          90013047227
3373512955B393   KETCHER      ERIC                     OR          44556171295
33737267A41285   RYAN         LIVINGSTON               PA          90010392670
337373A6191563   ANA          HERRERA                  TX          75096153061
3373755514124B   VINCENT      SYLVESTER                PA          51049185551
33737AA1761945   DAVID        WEISBROD                 CA          90008810017
3373818A17B449   EDWARD       HALL                     NC          11059861801
3373889A14B943   DWIGHT       PITTS                    TX          76593348901
3373892994124B   FABIEN       MOREAU                   PA          51096259299
3373997467B639   CHEVELLE     INGERSOLL                AL          90003709746
33739A9862B871   ELESHA       PACE                     ID          42045760986
3373B158941258   KARL         JOHNSON                  PA          51007431589
3373B98964B943   ROSALBA      DE HOYOS                 TX          76534449896
3374135A63B352   MICHAEL      CONKLIN                  CO          90004963506
33741552A55972   MICHELLE     PEREZ                    CA          48061735520
33741858A54165   WILLIAM      FLETCHER                 OR          47045268580
3374319244B943   TRACIE       HANKS                    TX          90012831924
337442A5651339   TOBIAS       ROGRIGUEZ                OH          90007292056
33744443A2B87B   PU           AH                       ID          90012074430
33744481A91563   SANCHEZ      ALMA                     TX          90004824810
3374475782B871   LORI         HALL                     ID          42042887578
337451A152B87B   ALBERTO      SOTELO                   ID          90012621015
3374523685B156   RONNIE       THOMAS                   AR          90001472368
3374545A691831   NIGEL        WITHERSPOON              OK          90010464506
33746225A33634   MELODY       ATKINS                   NC          90011552250
3374658987B873   YAMINAH      SMITH                    IL          90014145898
3374682634124B   MAANDEEP     SHARMA                   PA          90013968263
3374763974B281   KEVIN        JONE                     NE          90014806397
33747785A8B162   MAINETTE     BARNES                   UT          90006397850
3374869542B93B   CURTIS       CRISP                    CA          45093226954
3374B715641285   DANIEL       ROWE                     PA          90015167156
3374BA6A53B391   MICHAEL      KUMMET                   CO          33047500605
33752471A36143   JESUS        GARCIA                   TX          90007864710
3375254474124B   JUDITH       ONDECHEK                 PA          90003965447
3375279414438B   KIZZY        CORBITT                  MD          90014627941
3375311A647931   STEPHANIE    OAKLEY                   AR          90014581106
337534A445598B   NAOMI        ALVARADO                 CA          90013674044
33753553A3B132   SANTOS       HERNANDEZ                DC          90015145530
3375357672B871   RUBY         ZARAGOZA                 ID          90013545767
3375371538B16B   DAWN         CASTILLO                 UT          90006027153
3375436277B492   MARKEVIOUS   DURHAM                   NC          90011323627
3375485188B162   PAHL         BENCH                    UT          31000928518
33755952A47931   VIENGMANY    POUNTHAHEANGSY           AR          90013479520
3375619177B471   LAURA        CLOWERS                  NC          90008171917
3375653144B534   MARCUS       SMITH                    OK          90008125314
33756933A5B393   SARAH        CROWLEY                  OR          44549449330
3375748254B281   CHRIS        NICHOLS                  NE          90006284825
3375767174B943   PATRICK      DAVIS                    TX          76510836717
33757A1665598B   JAVIER       MOLINA                   CA          90015310166
337582A4331472   DEBRA        STUKENBROCK              MO          90001662043
3375842652B87B   AARON        MUCK                     ID          90015364265
3375867A841285   SHARON       BROWN                    PA          90012746708
33758731A5B156   ASHLEY       HOLLIS                   AR          90013787310
3375979284B943   PRISCILA     CIBRIAN                  TX          90012747928
3375985A52B871   ROBIN        SALINAS                  ID          90009978505
33759884A36B77   ANTONIO      ROMERO                   OR          44504248840
3375B23155598B   ELIZABETH    FLORES                   CA          90012772315
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3375B39957B471   MARIO       ASHBY                     NC          11045053995
3375B86572B835   MARGARITA   URRUTIA                   ID          90014208657
3375B96212B835   ZULEICA     ALCANTAR                  ID          90011349621
3375BA87831683   SHAWN       WHITE                     KS          22038300878
337611A8731683   WILLIAM     ROBEY                     KS          22021431087
3376126A391831   VICTOR      POWERS                    OK          21029952603
337613AA95598B   PALAFOX     ANTONIA                   CA          90007673009
3376226272B835   TYRA        SMART                     ID          90006652627
3376231A871932   LAMONT      SPEARS                    CO          90007013108
3376244467B43B   TONI        MOODY                     NC          11056724446
33762628636B21   MARK        HALLER                    OR          90010056286
33762918A5598B   ELOISA      LOPEZ                     CA          49060569180
337636A792B871   THERESA     KELLY                     ID          42027576079
33763A85391831   KATIOYA     TURNER                    OK          90009730853
33764577A2B871   MARCOS      HOWARD                    ID          90013775770
3376486347B449   LESTER      CASTELLANOS               NC          11039638634
3376488345598B   JESSE       RAMIREZ                   CA          90011398834
3376565924124B   JOHN        CONKLIN                   PA          90014186592
3376566362B835   RON         ZECHMANN                  ID          90001996636
33765A33551369   TINA        FITZWATER                 OH          90013590335
3376642235598B   ALICIA      CARBAJAL                  CA          90009184223
3376674645B156   ORLANDO     WASHINGTON                AR          90014207464
33766A1397B449   JANET       LANGLEY                   NC          90005580139
33766A8A455972   GINA        MUNOZ                     CA          90009390804
3376731354B943   LISA        STARK                     TX          76590233135
337675A2991584   DANIEL      CASTILLO                  TX          75054845029
3376828875B156   WILLIAM     CAMPBELL                  AR          23002352887
337686A315B52B   PAYGO       IVR ACTIVATION            NM          90012516031
337688AA14B281   TYLER       WESTFALL                  NE          90007848001
33768A2262B871   JEANIFER    BIGLER                    ID          90010100226
337694A794B943   REGINA      BRANTLEY                  TX          90014714079
3376973578B162   GUADALUPE   ALCANTAR                  UT          90012737357
33769A74854165   VICTOR      ELVIS                     OR          90005380748
3376B55314B954   MONICA      ROMAN                     TX          90014465531
3376B568891831   ALICIA      VALVERDI                  OK          21058525688
3376B6A145B393   ROGERS      MITCHELL                  OR          90015176014
3376B744557128   FLOR        GARCIA                    VA          81026137445
3376B83A12B871   JUSTIN      LEFEVRE                   ID          90007568301
3376B918191371   FRANCISCO   CACIQUE                   KS          29054789181
3376B98644B943   KAYLA       HERON                     TX          90015019864
3376BA29741258   LASHAY      GALMER                    PA          90013400297
3377181344B281   JAMES       SINNETT                   NE          90006658134
33771971336B77   CABRERRA    RAUL                      OR          90004229713
3377299715B156   BEVAN       STREET                    AR          90008619971
33772A14491831   SAMANTHA    REMICK                    OK          21063030144
3377377398B162   MARIA       VILLASENOR                UT          31017007739
33773836A47931   BECKY       SUMMER                    AR          90013768360
3377384A44124B   ASHLEY      KRAMER                    PA          51074228404
3377428AA31424   APRIL       CHAMBERS                  MO          27577752800
33774A9414B524   JULIUS      DILLAHAUNTY               OK          21577090941
33774AA9151369   MICHAEL     HARGIS                    OH          90014510091
3377522644124B   MARY        DIMAGGIO                  PA          51079562264
3377561A24B943   MARCUS      DAVIS                     TX          76524396102
33775A58991563   ALDOLFO     IBARRA                    TX          75089180589
3377615A59152B   AIDA        SALCEDO                   TX          90001711505
3377698774B281   BOGDAN      GOLOGAN                   NE          90014719877
337775A447B471   RICHARD     BACCICHETI                NC          11084835044
3377767757B43B   DANIEL      MARTEN                    NC          11058346775
3377789955598B   DANIEL      RODRIGUEZ                 CA          90011038995
33777A18691831   KRYSTAL     DEVORE                    OK          90008980186
3377897865B156   TROY        SIMS                      AR          23056769786
33778A9184B281   FLOR        BRAVO                     NE          90000230918
3377945577B43B   CELSO       FLORES                    NC          11011604557
33779762A7B492   KATRINA     BOYD                      NC          90008197620
3377976932B835   CHALET      PRIETO                    ID          90005237693
33779A6545B393   ELISABETH   MARTIN                    OR          90010660654
33779A99154165   ELI         MILES                     OR          90013340991
3377B46854B967   DARLENE     WOODWARD                  TX          76588124685
3377B6A9791537   LEONORA     PRESS                     TX          90010216097
3377B84A45598B   SHERRI      HESTER                    CA          90010188404
3377B934241285   GINGER      WAUGH                     PA          90015229342
3377BA3312B87B   RANDY       COX                       ID          42082520331
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3378178874B281   TYREESES     WALTON                   NE          90014807887
33781836A7B492   DANO         CRAWFORD                 NC          90013518360
3378188314B943   STEVEN       LEBLANC                  TX          90005108831
33781A18A51369   JASON        HUGHES                   OH          90009860180
3378295266B397   KRISTY       LAMBERT                  NH          90014769526
3378333893144B   DONNA        PERRY                    MO          90003983389
3378343142B93B   FAHMI        ALSUMERI                 CA          45026054314
3378363475B52B   TAMARA       SOPIWNIK                 NM          90014266347
3378379754B281   TYREESES     WALTON                   NE          90014807975
3378419942B871   KENNETH      MUDD                     ID          90010291994
3378449922B835   JONA         COCHERN                  ID          42031324992
3378458637B471   ARDERRICK    FANT                     NC          90000145863
33784AA3491371   MONICA       GAULT                    KS          90012950034
33785143A3B38B   AMANADA      VANMATRE                 CO          90011221430
337851A7941285   NICK         CARPENTER                PA          90011021079
3378533A95B156   EDDIE        LEONARD                  AR          23069033309
3378569A62B87B   THOMAS       MCCORKLE                 ID          90005036906
337857A515B393   DEANDRE      MORTA                    OR          90014027051
337862A9191563   MARIA        MOLINAR                  TX          90009022091
3378674717B492   SIERRA       HALL                     NC          90013697471
3378741A141277   AGUILAR      MORENO                   PA          51028284101
3378754A784378   EARNEST      BOZEMAN                  SC          90009735407
3378779A455972   ANGEL        CALDERON                 CA          48085827904
3378794742B835   VERONICA     MARTINEZ                 ID          90010889474
33788371A7B492   ELBIA        HERNANDEZ                NC          90015113710
337883A212B871   ZANDEL       MCDONALD                 ID          42014583021
3378842712B835   TIFFANY      SPARGO                   ID          42025094271
3378844678B162   FELIP        GABRIEL                  UT          90008474467
33788951A5B156   CARMELLA     CHAMBERS                 AR          90011949510
3378939A654165   JAMES        GILL                     OR          90007703906
3378B132A51369   FOREST       MANSON                   OH          90013831320
3378B42345B52B   JOSE         RODRIGUEZ MARTINEZ       NM          35090134234
3379116645B52B   LORENZO      MORALES HERNANDEZ        NM          90012231664
3379164372B871   JENNIFER     MARTINEZ                 ID          42045876437
33791AA2855972   ANGELICA     REINA                    CA          90004850028
33793666A5B52B   VALERIE      MONTOYA                  NM          90014036660
33794331357B79   KENDELL      SMITH                    PA          90015273313
3379479A65B52B   RICHARD      WALKER                   NM          35007587906
33795126A5598B   SAMANTHA     BURCIAGA                 CA          90013471260
337962A8641277   TNAI         WILLS                    PA          51022652086
3379695845B393   KEVIN        YORK                     OR          44563349584
33796A78541258   JACQUELYNN   SMITH                    PA          90012000785
3379772518B16B   BENJAMIN     MAISEY                   UT          90015327251
33797815A55939   IRAI         OREGON                   CA          90012998150
3379817A77B449   TSAHI        HARRIS                   NC          11070441707
3379825938B162   BRITNEY      BIRD                     UT          90007262593
3379829837B471   IVERY        POTLOW                   NC          11068962983
3379865684B943   JAVIER       BALDOMERO                TX          90011526568
33798A14541277   WALTER       GADZALA JR               PA          51056530145
33799256A47931   JONATHAN     HERNANDEZ                AR          90013282560
337994A2141258   JOAN         MORENA                   PA          51052514021
337994A448154B   JULIA        GARCIA                    IL         20528064044
337996A465B393   MICHAEL      BRAVIO                   OR          90013656046
33799A8897B639   ALICIA       GLENN                    GA          15033150889
3379B17197B492   JANOVIA      BROOKS                   NC          11072471719
3379B39365B156   SHEQUITA     DOTSTRY                  AR          90015203936
3379B41A72B87B   ERICA        FRONTERAS                ID          90007314107
3379B773636B77   EVANISTO     MONTES                   OR          90011967736
3379B877391831   JESSE        MARTINEZ                 OK          90013898773
3379B88154B281   MATTHEW      SCHULZE                  NE          90014808815
337B1423124B25   GAIL         HART                     DC          90003374231
337B17A584B281   SUSAN        ZAHN                     NE          27061807058
337B219482B835   RUSSELL      GOLDSMITH                ID          42024591948
337B2245436143   VALENTINE    GARCIA                   TX          90011452454
337B388927B492   DEMETRIA     MILLS                    NC          90010988892
337B4AA695B393   LAURIE       SIMMS                    OR          90010270069
337B595A58B16B   RHONDA       GUTIERREZ                UT          90011069505
337B6179A5B156   ADAM         BURDESS                  AR          90014871790
337B6313891563   RAUL         CASTRO                   TX          75036943138
337B6318836B77   BRIAN        LAVEN                    OR          90004353188
337B6499555972   JULIA        MARTINEZ                 CA          90009324995
337B7114551339   MELINDA      MCGEE                    OH          90011791145
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337B731874B943   EDGER               LUA               TX          90013253187
337B735124124B   TADEVOSYAN          LILYA             PA          90014183512
337B741647B639   APRIL               BARDGE            GA          90004764164
337B749735B52B   MARIANO             MARTINEZ          NM          90008884973
337B7718791563   MANUEL              PORTILLO          TX          90002827187
337B78A5291831   TAD                 SAMPSEL           OK          90009398052
337B795945B393   TALIAH              FRANKLIN          OR          90014689594
337B7A3A155972   CECILIA             CHAIREZ           CA          48049090301
337B818585B58B   MARIA ROSARIO       LUJAN             NM          90011751858
337B818935B156   KMBERLY             DOEBELE           AR          23003811893
337B9169251369   JONATHON            CHARLES           OH          90001211692
337BB217484378   RICARDO             LOPEZ             SC          90010172174
337BB377A91371   NAYELI              CARRILLO          KS          90011253770
337BB39165B156   MICHELLE            PEARSON           AR          90010963916
3381175834124B   KEVIN               SINGLETON         PA          51017297583
33811A34591563   CELIA               CAMBEROS          TX          90000410345
3381282134B943   FREDA               DAILEY            TX          76598598213
3381533A87B471   SANDRA              MYRICK            NC          11074173308
33815AA218B16B   LONNIE              SUTTON            UT          90002960021
33816319A4B281   JONATHAN            THOMAS            NE          90014903190
3381717A951369   GLORIA              WALKER            OH          90013141709
3381738877B449   JOSEPH V            ZOLTAK            NC          90011793887
3381788744124B   ERLENE              CLANCY            PA          90015038874
338179AA65B156   AUDREY              HERVEY            AR          90015319006
338185AA741285   ALICE               GREEN             PA          51067945007
33818A2527B471   LANITIA             WESTBROOK         NC          90011160252
3381962294B943   DEMARUS             CUELLAR           TX          90014196229
3381B328791831   TERRI               FINNIGAN          OK          21058213287
3381B43248B16B   REBECCA             ARCHULETA         UT          31015314324
3381B44182B871   MICHAEL             AUSTIN            ID          90014664418
3381B516391371   ASHLEY              PECINA            KS          90011265163
3381B65A25B393   BRIAN               SCHMIDT           OR          90003186502
33821571A36143   ARNOLD              MARTINEZ          TX          90002895710
3382159774B943   WONDA               LEWIS             TX          90014785977
33821A39247931   EDUVINA             VERA              AR          90014830392
3382244262B835   DANIELLE            RASMUSSEN         ID          90012444426
33822897A2B871   LININGER            ROSE              ID          90007568970
3382323715598B   JASMINE             WILLIAMS          CA          90013422371
33823357A8B167   KEVIN               CHRISTIANSEN      UT          31039123570
3382395967B471   RAVEN               PRIDGE            NC          90008399596
33823A3A551339   CECILLIA            KEMPF             OH          90011840305
3382464877B449   CARA                KENNEY            NC          11095026487
3382482812B87B   TABITHA             HECKATHORN        ID          90010248281
3382532474B281   GABRIELLE LUCILLE   HORTON            IA          90014903247
33826924A4B281   LAFAYETTE           NELSON            NE          90011559240
33827156A5B156   KEITH               HARPER JR.        AR          23077351560
3382731A891893   DONNA               BOWERS            OK          21098603108
3382733934B281   JENNIFER            FURNISS           NE          90014903393
33827A26A5598B   JAZZMINE            APODACA           CA          90013010260
33828291A8B16B   APRIL               APPLEBY           UT          90013072910
33828619A8B16B   MARIA               VELAZQUEZ         UT          90011326190
3382928874B943   VICTOR              ESCAMILLA         TX          76562942887
338296A7891563   MICHELLE            OLIVAS            TX          90005976078
3382B253355972   MARCO               BECERRA           CA          90009622533
3382B423341285   RAY                 SECOLI            PA          51077634233
3382B56A57B492   JOSE ARTURO         MENDOZA           NC          90002215605
3382B799354165   DEBRA               VILLA             OR          90013747993
3382B96558B162   CHRISTINE           MILLER            UT          90007619655
3382BA4788B16B   JOSEPH              VANDRIMMELEN      UT          31086160478
3383147175B156   JASON               PYLE              AR          90013804717
338319A237B449   VALERIE             PERKINS           NC          90007109023
33832455A4B943   PAOLA               RODRIGUEZ         TX          90010854550
33833377A91371   NAYELI              CARRILLO          KS          90011253770
33833485A5598B   VERONICA            CASTRO            CA          90010904850
3383389A44124B   KAREN               NEAL              PA          51041398904
3383471815B156   ANITA               POPE              AR          23036267181
338353A475B52B   CHRIS               LISTER            NM          35040663047
33835661A9379B   TISHE               NELSON            OH          90010216610
338362A467B492   JASHAD              BARNETT           NC          90011412046
338368A229155B   LIUS                RAMIREZ           TX          90008458022
3383721177B43B   KENNETH             HUEY              NC          11081722117
3383737815B393   MICHELLE            DE LA CRUZ        OR          90003633781
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33837A7665B156   MARQUIS         DAVIS                 AR          90014890766
33838323A7B639   ROSA            HILL                  GA          90011753230
3383866997B492   MARIA MARLENE   CASTILLO              NC          90015376699
338389A834B943   JOSE            PEREZ                 TX          90013169083
33838A89A5598B   BRANDI          WILLIAMS              CA          90011110890
3383963162B87B   JOEY            SABATINO              ID          90015616316
338396A3751329   LAKEISHA        RODGERS               OH          90008566037
3383B1A1155972   RENEE           HUPP                  CA          48029701011
3383B357991584   JULIAN          CORRAL                TX          90007283579
3384133A141258   JAMAL           BLAIR                 PA          90013953301
3384284AA5B156   JAMES           BRADFORD              AR          23072578400
338428A285B59B   ROSA            TORRES                NM          90012768028
338431A675B156   DEVANTE         WARE                  AR          90012191067
3384442728B162   MARTHA          LEMUS                 UT          90004364272
3384469978B162   HYRUM           RAWLINSON             UT          90014106997
33846A69A72B36   SANDRA          ROBINSON              CO          33080180690
33847131A41258   DANYELL         MOORE                 PA          90012641310
33848214A51339   COLLETTA        DAY                   OH          66060562140
3384827AA41258   SAM             SMITH                 PA          90013952700
338493A7A47931   TIFFANY         LOVEALL               AR          90013443070
338498A264B943   VICTOR          SANDOVAL              TX          90010958026
33849A2567B639   PATRICIA        BANKS                 GA          90005080256
3384B4A2855972   DAVID           RODRIGUEZ             CA          90010984028
3385175695B52B   FRANCINE        GONZALES              NM          90014837569
3385194374B943   JUAN            VEGA                  TX          90007739437
33851A1512B93B   BEN             DANIEL                CA          90006650151
3385462874124B   CRISEENA        JOHNSON               PA          51096266287
3385476592B87B   KATHY           HOBBS                 ID          42094647659
33854788A41285   SAMUEL          MAKIESE               PA          90013527880
3385499545B391   ANTONIO         LOPEZ-GONZALEZ        OR          90014659954
3385517118B179   OFA             TAIESE                UT          90014961711
3385589685598B   ABEL            CRUZ                  CA          49002718968
33856A4788B16B   JOSEPH          VANDRIMMELEN          UT          31086160478
3385852252B87B   LORI            GREEN                 ID          90009345225
3385926117B471   LUIS            MEJIA                 NC          90008682611
3385965738B162   MENDEZ          GRACIELA              UT          90009776573
3385973A755972   JOANN           KEENEY                CA          90011437307
33859A1323B132   OLVIN OMAR      CHIRINOS MENDEZ       DC          90000960132
33859A94A7B43B   KIMONA          THOMAS                NC          11011650940
3385B56232B835   JAMES           KENT                  ID          90009165623
3385B949A5B393   LARRY           TOOLEY                OR          90010709490
3386167662B93B   ELIZABETH       RODRIGUEZ             CA          90000406766
3386248575B393   GLADYS          GUTIERRES             OR          44533024857
3386294118B16B   LUIS            BRIONES               UT          31090249411
3386343A991371   PATRICIA        NOON                  KS          90013364309
3386385A67B449   KENDALL         MAYS                  NC          90011018506
3386542A92B835   VERONICA        KINNEY                ID          90013954209
338662A265B59B   AUDRIA          BILLER                NM          35091212026
3386669127B639   ALLISTER        MARSHALL              GA          15012806912
33867242A55972   TAMARA          RAMEY                 CA          48056422420
33868984A4B943   FREDERICK       GREEN                 TX          90014639840
33868A1A88598B   JUDY            SPENCER               KY          90010330108
33868AA832B871   TETA            MULISA                ID          90015430083
3386942528B162   JASON           HARPER                UT          90010004252
33869454A7B492   JAMES           EUBANKS               NC          90009584540
3386B46312B871   MOHAMMAD        MOHAMMADI             ID          42081444631
3386B644751369   JOHNITA         DUKES                 OH          66090166447
3387226435B52B   ANGELA          FRANCO                NM          35059852643
33872422A2B835   DUSTIN          HOOPER                ID          90015094220
3387283144B943   TANIQUA         BANKS                 TX          90004048314
3387289878B16B   CHRISTOPHER     GALVIN                UT          90011068987
3387327183B132   HERU            WALMSLEY              VA          90012762718
338735AA45B393   JONATHON        TICHROB               OR          90015345004
3387391495B52B   MATTHEW         GOMEZ                 NM          35092459149
33873AA5941258   ROBERT          GOBCIO                PA          51008400059
3387434795B393   ADAM            LAZENBY               OR          90005103479
3387519787B492   ANDERSON        JORDAN                NC          90009731978
3387665AA2B835   GINA            HALLMAN               ID          42073196500
3387667447B639   DOMOUIQUE       RALEIGH               GA          15011486744
33877141A8B162   FREDY           GARCIA                UT          90013661410
3387725A472B23   SONIA           GARCIA                CO          33095442504
3387742957B492   ANGELICA        JIMENEZ               NC          90003454295
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33877855A54165   MARY         MILLER                   OR          47021258550
338784A385598B   OVONDA       WILLIAMS                 CA          49069904038
338785AA75598B   ROSALINDA    PEREZ                    CA          90010905007
3387969A554191   IAN          STRAUSS                  OR          47066716905
3387B433791371   JOHN         BRASWELL                 KS          90009814337
338817A6655972   RICHARD      MCHALEY                  CA          48017057066
3388273452B871   SARAH        ESHELMAN                 ID          42010157345
33882AAA655972   JAMAR        JONES                    CA          90015340006
33883524A91831   ANTHONY      CLARK                    OK          90005695240
3388427687B492   GUADALUPE    LOPEZ                    NC          90011412768
338854A822B835   REBECCA      CALLIER                  ID          90004124082
33885652A7B492   EBONY        SHARPE                   NC          90012556520
3388581584124B   PAULA        VOLKMAN                  PA          90002458158
3388634695B393   ANNA         DOYLE                    OR          90014873469
338863A412B835   KABONGO      MAKULATA                 ID          90014523041
33886792A4124B   BARBIE       BECKLEY                  PA          51038127920
3388757AA4B281   RICHARD      LARA                     NE          90007465700
3388787297166B   RONALD       DIEBEL                   NY          52018168729
338878A128B16B   TINA         ORRIS                    UT          90001178012
33888A31254165   LORENA       SEDANO-ROBLEDO           OR          90002280312
338892A7A5B393   KARI         MILER                    OR          90014992070
3388931468B16B   NICOLE       JAMIESON                 UT          31037723146
3388B257641258   STEPHANIE    STEEB                    PA          90014802576
3388B439536143   ERIC         CUELLAR                  TX          90014574395
3388B67A141277   KAHN         WILLIAMS                 PA          51070066701
3389244358B162   SHELLY       CAMARA                   UT          90005994435
33892A4555598B   SANDY        THAO                     CA          90002570455
3389318384B943   TANYA        LEWIS                    TX          76596951838
3389331395B393   SHERESE S    WILLIAMS                 OR          90003903139
338934A1344B5B   ANTONIO      TOBIAS                   OH          90014324013
33893A7552B871   J.           ALLEN                    ID          42011450755
3389454845B156   MARK         SMITH                    AR          23044445484
33894A74A2B871   JAUN         PAZ                      ID          90010660740
3389551445598B   KIM          NEWTON                   CA          90013675144
33896758A91563   MARK         CHAVIRA                  TX          75076627580
33897479872B36   QUINCY       WILKINS III              CO          90007824798
338974A655598B   MARIA        GARCIA                   CA          49035694065
3389854184B531   ASHLEY       RICHARDSON               OK          21587705418
3389917794B943   ANTONIO      BARAJAS                  TX          90005211779
3389949188B162   MARK         STIMSON                  UT          31081944918
3389B386941277   EVELYN       WASHINGTON               PA          51065823869
3389B7A1954165   CYNTHIA      LITTLE NATION            OR          47046057019
338B117214B547   BRENDA       BAKER                    OK          90010831721
338B122825B156   GWENDOLYN    FORD                     AR          90010102282
338B155297B43B   SHERIKA A    JAMESON                  NC          11056735529
338B1665355972   ELIZABETH    RUTH MOSS                CA          48028536653
338B1A87A2B871   CLEMENTINE   NZAMURERA                ID          90013960870
338B337982B87B   JENNIFER     STINSON                  ID          90014553798
338B5389531475   JOHN         JOHNSON                  MO          90003143895
338B5549251369   TRACEY       RICHMOND                 OH          66002455492
338B5A49991371   ROBERTO      ESPARZA                  KS          90012470499
338B618A15598B   MARIA        NAVARRO                  CA          49060501801
338B667485B52B   TRAVIS       HARDY                    NM          90012246748
338B7283A91584   ILEEN        BARRERAS                 TX          90007282830
338B73A757B449   JONATHAN     ESPARZA                  NC          90011793075
338B857875B156   DANIELLE     HEDRICK                  AR          90014785787
338B8736791563   ROLANDO      RIVERA                   TX          90006607367
338B8776741258   DANIEL       HANCOCK                  PA          90014727767
338B932A955972   DALIA        MARTINEZ                 CA          48092253209
338B991828B162   JOSE         GARCIA                   UT          90015139182
338B999855598B   SABAS        GARCIA                   CA          49049129985
338BB2A4541258   JOHN         HARRIS                   PA          90013952045
338BB3A4554165   RHIANNON     PELROY                   OR          47070513045
338BB78A87B384   KATHERINE    HERNANDEZ                VA          90004627808
338BB79924B943   FRANCISCO    GUTIERREZ                TX          90014207992
338BB925755955   MARC         DE LA CRUZ               CA          90010269257
338BBAA245B393   DESIREE      CANTU                    OR          44576980024
3391147665B379   ROBERT       SPENCER                  OR          44507614766
33912559136B77   JEFFREY      PETERSON                 OR          44548255591
33912839A51369   DENISE       BRANDENBURG              OH          90013018390
3391298864B943   JOAQUIN      VENEGAS                  TX          76541369886
33913286933B55   RUTH         JAHRIG                   OH          90014222869
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33913A3332B87B   ANTHONY      DOUGHERTY                ID          90015540333
33913A8673B132   JAVON        GILBERT                  DC          90011960867
3391435857B639   YOLANDRA     SMITH                    GA          90007153585
339146A1A2B871   DENNIS       ALLOWAY                  ID          42019366010
339153A825598B   JACK         PASQUALE                 CA          49096963082
3391552382B87B   TABITHA      JOHNSON                  ID          90014095238
33916427A7B492   ROSE         MCCOY                    NC          90003934270
3391756412B835   ALISSA       DUNLAP                   ID          90012845641
3391763495B52B   NATALIE      FAJARDO                  NM          35097486349
3391784867B492   KEROY        FARR                     NC          90011008486
3391814A254165   MYCHAL       BOOTH                    OR          90014371402
3391968568B162   NAOMI        ORTEGA                   UT          90014606856
33919A48A5598B   LOU          VANG                     CA          49018120480
3391B139A36B77   BLANCA       ARROYO                   OR          90002831390
3391B59A955972   MONICA       ROLDAN                   CA          90001685909
3392161244B943   ALBERTO      CARDENAS                 TX          90015126124
3392164412B835   BARBARA      MORRISON                 ID          90012456441
33921812A2B87B   MEGAN        EDWARDS                  ID          42008328120
339222A8A5B358   NICK         CARATTINI                OR          90012682080
33922A42441258   DEBRA        PRUCHNITZKY              PA          51022560424
3392436A57B492   VINCENT      CARTER                   NC          11065053605
3392455562B835   SCOTT        MEDLIN                   ID          90015455556
3392471128B16B   TYREN        BROWN                    UT          90013697112
3392495A772B23   CHARLES      REED                     CO          90008669507
33927A7222B87B   JUSTIN       RAY                      ID          90014800722
33928249272B2B   JAMIE        HOLUB                    CO          90001792492
3392849A82B87B   WENDY        WEST                     ID          90014404908
3392867828B162   DONALD       KIMBLE                   UT          90009626782
33928A11841258   TYRONE       BROWN                    PA          90013060118
3392928372B87B   AARON        CONWAY                   ID          90015332837
3392B227A2B87B   STEPHEN      SMITH                    ID          90013132270
3392B25A85598B   ROSIE        GARCIA                   CA          90012742508
3392B55175B156   SHERRELL     POLITE                   AR          90009555517
3392B87967B449   MICHELLE     MOORE                    NC          90002368796
3392B951791563   JAIME        CERVANTES                TX          90008689517
3392BA5252B87B   STEPHEN      SMITH                    ID          90013980525
3393184145598B   JENNIFER     MARTIN                   CA          49084268414
3393237785B52B   SAMANTHA     MIERA                    NM          90014303778
339324A2A41258   NICOLE       PORTERFIELD              PA          90013954020
3393263672B87B   BELIN        ALIAS                    ID          90011626367
3393578792B871   SANDEE       SMITH                    ID          42038337879
33937A9662B87B   CARLOS       FARIAS                   ID          90002200966
33937AA415B52B   LAURIE       TORRES                   NM          35031040041
33938393357B79   GARCIA       FELIZ                    PA          90015023933
3393855717B449   TALEENA      ASHLEY                   NC          11084535571
3393926A45598B   OLIVER       GODINEZ                  CA          49008572604
3393956A42B871   SHANNON      TEAGLE                   ID          42092345604
3393B59997B43B   TIMOTHY      NEAL                     NC          90009655999
3393B64A94B943   ADRIANA      NAVA                     TX          90015126409
3393B6A4991831   NORRIS       BRANDON                  OK          21051666049
339414A2951369   ANGELE       BLACKSHEAR-BROWN         OH          90001004029
3394191478B162   NEFI         GOMEZ                    UT          90001319147
33943A2362B835   CRAIG        HENKE                    ID          42073560236
3394442362B87B   TESA         WELDEN                   ID          90009624236
3394529655B52B   OSCAR        MONTE-REYES              NM          90010822965
33945A63941285   PATTY        MOREAU                   PA          90000720639
3394683A38B16B   KILI         NAU                      UT          90009338303
3394686A251369   SHILO        BURCH                    OH          90009868602
33946A61791831   SAMANTHA     JONES                    OK          90014190617
3394715348B162   MARIA        VICENTE                  UT          90008581534
3394719595598B   AUNJELI      KINGSBURY                CA          90015011959
3394856A991371   SONYA        RHODES                   MO          29078715609
339495A3451369   ASHLEY       WAHL                     OH          90013155034
3394B18122B871   RICHARD      DILLON                   ID          42016631812
3394B1A7954165   LAWRENCE     SARGENT                  OR          47092381079
3394B23425598B   MARINA       TORRES                   CA          90009542342
3394B279684368   NAIL SALON   SHE AND HE HAIR          SC          14522522796
3394B51664B943   DAZARAE      NOEL                     TX          90005185166
3394B87A15B264   BRENDA       BENDER                   KY          90014918701
3395119448B16B   KIMBERLEE    PILARCZYK                UT          90002691944
3395232117B639   JESSICA      TALLEY                   GA          90007923211
3395286142B871   DARREN       RODRIGUES                ID          90002498614
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339532A5655933   CRISTOBAL          ESTRELLA           CA          90009182056
3395342275B398   RAFAEL             OROZCO             OR          90011334227
3395396A191563   NIDIA C            MARTINEZ ROMO      TX          75049049601
3395534222B87B   NATHAN             RIJNIAK            ID          90013983422
3395635863B132   FLORENCE JUANITA   STUBBS             MD          90014993586
33956A6894B281   DAVID              BIVENS             NE          90014910689
33957452572B23   ALICIA             ORTIZ              CO          90011984525
33957614A54165   ROMAN              HARRIS             OR          90013916140
33957A4125B393   CASEY              BLACK              OR          90011310412
3395892344B943   RUTH               HERNANDEZ          TX          90011809234
3395926755598B   DANITA             GEARY              CA          90011152675
3395946A841277   CHRISTA            HALL               PA          51088274608
3395965112B871   JUAN ALBERTO       CASTILLO           ID          90012546511
3395972414B943   MELISSA            DAVIS              TX          90002787241
3395976225598B   DANITA             GEARY              CA          90014707622
3395B435491371   HARMS              NICHOLAS           KS          90002144354
3395B613241285   TIMOTHY            HALSEL             PA          51093586132
3396113257B492   ERICA              NUNEZ              NC          90011011325
3396146278B162   NORMA              RODRIGUEZ          UT          90015194627
3396212182B87B   CHARLES            COOK               ID          42027581218
3396215938B162   ANDRES             PRADO              UT          90013671593
3396321752B87B   ROMAN              FERNANDEZ          ID          42003672175
339632A924B943   CHAKEERA           BROOKS             TX          90011052092
3396334AA7B492   ISAM               HAJIBANA           NC          90000683400
33964237A8B16B   KRISTA             BRYCE              UT          90010172370
3396436185B156   KIM                JOHNSON            AR          90000473618
33964AA9654165   LUKE               NOVAK              OR          90013600096
3396526818B162   DAWN               MURDOCK            UT          31034582681
3396583552B87B   CHRISTOPHE         DESMARAIS          ID          90003058355
3396633172B87B   RODNEY             PENDLETON          ID          90014823317
3396666645B156   ROBERT             SALAZAR            AR          23062716664
33967A7775B393   PHEPEE             GRUDE              OR          90010800777
3396864217B471   BRITTANY           NASH               NC          90014156421
3396868AA31424   JESSICA            PERRY              MO          90007266800
33968A5A455972   CATHERINE          LEIVA              CA          90008700504
3396B495891371   BRIDGET            EAGAN              KS          29078334958
3397155A431424   DANA               BEATY              MO          27573245504
3397193967B449   PERDO              ALONSO             NC          90011799396
3397332193B161   JENNIFER           BURNEY             DC          90001633219
3397446418B16B   KRISTEN            OWENS              UT          90007164641
3397472377B639   BETH               FUENTES            GA          90011067237
33975687A5B52B   LEMUEL             JONHSON            NM          90006466870
339758A824B943   THOMAS             CHAPMAN            TX          90008928082
3397634795B393   ADAM               LAZENBY            OR          90005103479
3397641475598B   VANESSA            MOBLEY             CA          90008634147
3397655947B471   EDWIN              CHINCILLA          NC          90006855594
33976762797B31   LETICIA            AGUILERA           CO          90002777627
3397737164B532   DAVID              COLEMAN            OK          90004083716
3397891675B345   RENE               OCHOA              OR          90011009167
3397B568291538   FRANK              RUBIO              TX          75033185682
3398131372B835   GABRIEL            MONTERO            ID          42008343137
3398149934B943   HOLLIE             BARRAS             TX          90004044993
33981A6A55B156   DARREL             BRILEY             AR          23088400605
3398292345B536   LUIS               GUTIERREZ          NM          90011299234
3398338937B492   MARIA              VERATOLENTINO      NC          90012803893
33983A69A5B156   DAVID              HIGGINS            AR          90008630690
3398414AA7B449   NIKELAH            GAINES             NC          11042891400
3398446624124B   CATRINA            HERRING            PA          51026034662
3398446994B943   ALLEN              ROSEMORE           TX          90012244699
3398471685B156   RONALD             WILLIAMS           AR          23091587168
3398493617B639   EDWARD             MOORE              GA          90006489361
339853A3755951   JESUS              ESCALERA           CA          90009123037
33985AA324B943   ELIAB              CIBRIAN            TX          90012380032
3398622282B835   JOSEPHINE          PATTEE             ID          42073062228
3398652432B871   GREEN              BEN                ID          42094085243
339876A4691371   ADRIANA            DOMINGUEZ          KS          29086966046
3398821735B52B   KIMBERLY           BLEA               NM          90013652173
33988A1815598B   ARTHURO            REYES              CA          90013840181
3398911525B52B   ERIC               TELLES             NM          90014071152
3398972292B87B   OLIVIA             FERGUSON           ID          90010037229
3398B17278B16B   TRICIA             MAYO               UT          90010971727
3399179332B835   JACOB              BREWER             ID          90013027933
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3399217534124B   OYBEK        BAVAJANOV                PA          90010881753
3399242298B16B   TONY         FAUSTO                   UT          90010014229
33992545A91371   DAKOTA       FOX                      KS          90013075450
3399272A25B156   TARSHA       JOHNSON                  AR          90006787202
339927A275B52B   ARLIEGH      JOHNSON                  NM          35024047027
33992A25441285   JAY          BELL                     PA          90014360254
3399322965B393   JENNIFER     HARP                     OR          90014282296
3399327138B16B   KIMBERLEE    BENAVIDES                UT          31093452713
3399347122B835   SHASTA       RUIZ                     ID          90006224712
339937A5441285   TACHARA      HAWTORNE                 PA          90015417054
3399386527B471   LATISHA      DIXON                    NC          90004308652
33993AA118B162   RICARDO      MARTINEZ GUTIERREZ       UT          90015170011
3399433997B43B   SHELIA       NICK                     NC          11011933399
3399448814B554   CAMILA       ANDRADE                  OK          90011454881
33994675A32573   MICHELLE     DENNIS                   TX          90012126750
3399545422B87B   DANIEL       BARREIRO                 ID          90015594542
3399583655B358   TRACY        GARD                     OR          90009938365
33995A4535598B   EVANGELINA   GONZALEZ                 CA          49017380453
33996688A5B393   DAVID        THONGSY                  OR          90014616880
3399688257B492   SHAMIA       BUSH                     NC          90009728825
3399718965B156   SARAH        GRULKE                   AR          90011101896
3399725245B52B   ALLISON      SHAW                     NM          90012212524
3399773A14B943   DAVIS        TRAVOR                   TX          90014957301
3399887474B943   DESTINY      TAYLOR                   TX          90014408747
3399911152B87B   MICHAEL      BURKE                    ID          90014811115
3399947375B557   NAOMI        BETANCOURT               NM          90011564737
3399996955B393   TAMI         DESHIELDS                OR          44555699695
339B121615B52B   CAREN        D'ORNELLAS               NM          35052362161
339B166652B871   AMANDA       OLSEN                    ID          90007236665
339B1883754165   MAIRA        URENDA                   OR          90014928837
339B1A83291563   CINTHIA      CRUZ                     TX          75051510832
339B228552B87B   KEITH        WHEELER                  ID          42006332855
339B24A2155972   LAURIE       GONZALEZ                 CA          90008724021
339B312465B393   JIMMY        DRENNAN                  OR          90011541246
339B367517B449   ZAKIYYAH     MUHHAMMAD                NC          90011796751
339B3797991371   EDGAR        RAMIREZ                  KS          90012217979
339B389464124B   ANDREW       STOKAN                   PA          90003408946
339B499755B156   QUINTHIA     THOMAS                   AR          90015529975
339B5A22255972   ANNA         AVALOS                   CA          90000660222
339B622472B835   ADRIANA      GARCIA                   ID          90010732247
339B686142B871   DARREN       RODRIGUES                ID          90002498614
339B698767B449   WINNIE       CHEUNG                   NC          90011869876
339B952277B449   YOLANDA      RUIZ                     NC          90005365227
339B962155598B   JAMES        JOHNSON                  CA          90012156215
339B9689591893   LESLIE       MAXWELL                  OK          21089336895
339B987895598B   CATOLINA     VELASQUEZ                CA          90002588789
339BB483591525   LUIS         PONCE                    TX          90008074835
33B1143644B943   ALEJANDRO    IGESIAS                  TX          76556954364
33B1169895B393   ELIZABETH    BEADLE                   OR          44569626989
33B12784354165   KURTIS       DANIEL                   OR          90012187843
33B12883141258   HYSHEIA      SCOTT                    PA          51009878831
33B12A68491563   JERRY        DOMINGUEZ                TX          90012720684
33B13758A91831   CHRISTOPHE   PFLUEGER                 OK          21083887580
33B1432854B943   JOSHUA       GUNNER                   TX          90012823285
33B1433122B87B   CARLOS       CAMACHO                  ID          42033283312
33B1534A151369   MARRY        TUNING                   OH          90012023401
33B1579466B392   ANGELA       DION                     NH          90011957946
33B15942591831   MICHELLA     WOODS                    OK          90010949425
33B1597A141277   SHELLY       CINKAN                   PA          51090609701
33B15A42177523   EDWARD       AGUILERA                 NV          90008750421
33B1633523B39B   JAMES        EBERLY                   CO          90007073352
33B169A615B156   L            CROSS                    AR          23024709061
33B17166254165   SHANNON      WIKOFF                   OR          90006701662
33B17371391371   LYN          DOYAL                    KS          29033073713
33B17432591831   YOLANDA      SANTIAGO                 OK          21061574325
33B1832544B281   DEON         FISHER                   NE          90014773254
33B18424591584   JUAN         CASTANEDA                TX          75032394245
33B18462891831   CHASIDY      EDENS                    OK          90013274628
33B18926651369   BURMARO      GUMAZ                    OH          90009719266
33B18A44336143   RAUL         GARCIA                   TX          90011010443
33B19318A51339   SONYA        MCCULLER                 OH          90010613180
33B19775A5598B   MARJORIE     SILVA                    CA          49025707750
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1665 of 2500


33B1B382772B23   CECIL        CARTER                   CO          33052663827
33B1BA3A585835   EDGAR        SALDIVAR                 CA          90006620305
33B1BA9245B393   TEISA        FUKOFUKA                 OR          44548550924
33B22776551369   TREVON       WHITE                    OH          90013937765
33B22994155972   PAULA        BREITMEYER               CA          48045229941
33B23523336143   THERESA      TOLDERT                  TX          90006955233
33B23547231424   DIONNE       NELSON                   MO          90006195472
33B23587291831   CHRISTY      SPENCER                  OK          90015085872
33B2425379125B   MIKE         GREEN                    GA          90014102537
33B2447875B393   STACEY       WILLS                    OR          44562314787
33B2451962B835   CASSANDRA    TRAPP                    ID          90008805196
33B2473758B16B   ELDON        LOGHRY                   UT          90013807375
33B24AA9A91831   BRENDA       BOYD                     OK          90002530090
33B2513A936143   ANTONIO      ROMERO                   TX          90002001309
33B25614791563   ANGEL        ALMEIDA                  TX          90014346147
33B265A184B943   JAIME        SAUCEDA                  TX          76581845018
33B2662327B492   RONALD       TREMAIN II               NC          90014716232
33B26888491563   YVETTE       ROSALES                  TX          75009288884
33B268AA255972   MONICA       GPNSALEZ                 CA          90012708002
33B2716662B87B   GINA         DENNIS                   ID          42092411666
33B27284751339   GARY         GILPIN                   OH          90011132847
33B2738825598B   SIYAH        PARKER                   CA          90010903882
33B2846798B162   CONCEPCION   SEGURA                   UT          90013494679
33B2862744B943   JEMMIAH      MCGREW                   TX          90014406274
33B2919815598B   ROXANNE      VASQUEZ                  CA          90010301981
33B297A869375B   JARED        ROBERTS                  OH          90010127086
33B29956155936   DORA         GARCIA                   CA          90009329561
33B29A4495B52B   CARLOS       ROBLES                   NM          90013210449
33B2B27267B639   ANTONIO      HITCHCOCK                GA          90014842726
33B2B343584378   FRANCISCO    ALEGRIA                  SC          90014993435
33B31341791371   RYAN         KRUSKAMP                 KS          90006353417
33B3146465598B   MARIA        GONSALEZ                 CA          49060444646
33B314A7841285   MARQUISE     MONTGOMERY               PA          90013884078
33B31633447931   CARLOS       LEMUS                    AR          90006726334
33B3177A87B474   ALEXIS       RODRIGUEZ BLANCO         NC          90014807708
33B3199316194B   GILBERT      RODRIGUEZ                CA          46076849931
33B32448293761   ANGI         ENNIS                    OH          90008284482
33B33512431424   SHORTY       MILTON                   MO          27518815124
33B33517751339   MARCUS       CASH                     OH          90014575177
33B33671198B25   WILLIAM      MCPHATTER                NC          90014656711
33B3371425B393   PAOLA        CUEVAS                   OR          90011617142
33B3391528B162   AMANDA       KINDER                   UT          90014309152
33B33A77441258   DAVID        DIXON                    PA          51082140774
33B34177A47931   MARY         SALAS                    AR          25028691770
33B3428964B943   KASANDRA     GARZA                    TX          90012612896
33B34738155972   ALFREDO      FARIAS                   CA          90010937381
33B34A5358B16B   HEIDY        STUFFLEBEAM              UT          90004700535
33B3593A87B471   NANCY        DIAZ                     SC          90001889308
33B35968941258   ALBERT       PETERSON                 PA          51007699689
33B3598532B87B   RICK         HANCOCK                  ID          90013109853
33B35A3998B162   CYNTHIA      RIGBY                    UT          31027370399
33B36126447931   DINA         PERLERA                  AR          90003391264
33B3616A291371   YURI         VICHIS                   KS          90002691602
33B3621315B156   DAISY        GOMEZ                    AR          90013302131
33B36238784378   FERNANDO     MONTANO                  SC          90013752387
33B37126377367   JESSICA      STINSON                   IL         90013471263
33B37286391584   CESAR        PRIETO                   TX          75054682863
33B3743228B16B   JOEL         BRAEGGER                 UT          90007324322
33B3743335598B   MANUEL       GARCIA                   CA          49092264333
33B3759874B221   CARMELITA    ROGERS                   NE          90013145987
33B37742491563   LUIS         RIVERA                   TX          90015097424
33B3815945B156   ANDREA       HENRICHS                 AR          90002421594
33B385A5A55972   MOISES       FLORES                   CA          90014085050
33B39442141285   JAZZEE       JONES                    PA          90014464421
33B395A4A61437   RONALD       PARKER                   OH          90013935040
33B3964815B156   SHAWN        HALEY                    AR          23006766481
33B3982597B471   FELICE       MCGRILL                  NC          90009028259
33B3B12818B16B   VALEERO      ENRIGUE                  UT          90001441281
33B3B349391831   APRIL        MITCHEL                  OK          21054723493
33B3B462591584   ESTHER       RUEDA                    TX          90000964625
33B3B61842B87B   JESSICA      CORNING                  ID          90003416184
33B3B81797B492   RANDI        BRIDGES                  NC          90005468179
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33B4131185B524   ANA           LEDEZMA                 NM          90010563118
33B4147AA91563   ANTONIO       ALVAREZ                 TX          75059504700
33B41656991371   LETICIA       AGUIRRE                 KS          29081266569
33B41918655972   VERONICA      ACOSTA                  CA          90011099186
33B42237591563   AMPARO        WOO                     TX          90013602375
33B4275855B52B   ANNA          TRUJILLO                NM          35043287585
33B4284475B226   TYRONE        ACKLIN                  KY          68049418447
33B42897684378   LEANDREA      MIKELL                  SC          14591928976
33B4317525598B   FELIX         LOPEZ                   CA          90001951752
33B4357694124B   ROSALIND      JOHNSON                 PA          90010275769
33B43648991563   OMAR          HERNANDEZ               TX          90013286489
33B43742757164   ERICK         SMITH                   VA          90001327427
33B4432854B281   KALISHA       KING                    NE          90014773285
33B44395A8B162   APRIL         MELLOR                  UT          31043153950
33B44397854165   KIRK          WILSON                  OR          47062913978
33B4474644124B   DENNIS ROXY   SCULLION                PA          90013597464
33B44749355972   OLGA          GODINEZ                 CA          48030687493
33B4519A644B26   MICHALE       MARASCH                 OH          90014551906
33B45878491525   JULIAN        VEGA                    TX          90010388784
33B46223A4124B   THOMAS        SPARJCAR                PA          90013422230
33B4655385598B   EDUARDO       FELIX                   CA          49033625538
33B4722A74B943   ALEXI         RAMOS                   TX          76513482207
33B47374841258   DINAH         BROWN                   PA          90010763748
33B47397791831   ARMARDINA     GAYTAN                  OK          21039523977
33B4742892B835   MARISELDA     MEDINA                  ID          90013174289
33B4772445B393   MITCHELL      MILLER                  OR          44592517244
33B4788195B393   MARK          BENTHIMER               OR          90000798819
33B47933251369   JESSICA       WELLS                   OH          66099039332
33B47A4455B52B   DORA          MARTINEZ                NM          35003620445
33B48223A4124B   THOMAS        SPARJCAR                PA          90013422230
33B48237291584   ADRIANA       RAMIREZ                 TX          75082492372
33B48262291371   DENNIS        PARKER                  KS          90012752622
33B4829494B281   RUBICELA      CORTES                  NE          90014772949
33B4844A591831   CALEB         HUNTER                  OK          90014414405
33B48589347821   COURTNEY      WOOD                    GA          90001385893
33B48A55836B77   EDUARDO       RODRIGUEZ               OR          90005060558
33B48A7558B162   LUZ           NUNEZ                   UT          31071660755
33B491A8791371   ALFONSO       HERNANDEZ               KS          29029421087
33B4B32415B156   ERNEST        PORTER                  AR          90011483241
33B4B39424B943   JORGE         GUZMAN                  TX          90015313942
33B4B44A955972   DANIEL        CABRAL                  CA          48091974409
33B4B51935B546   PEBBLES       JEAN-PAUL               NM          90012245193
33B4B52592B93B   MICHELLE      SIZELOVE                CA          90005305259
33B4B76832B87B   DONNY         SCHDMIT                 ID          90009247683
33B4B77727B492   CHARLENE      COSTNER                 NC          90011317772
33B51182984378   SANTOS        TECUM                   SC          90014961829
33B511A522B871   DAWN          LEWIS                   ID          90004681052
33B52439384378   ANTHONY       GRANT                   SC          90014774393
33B52656751369   FRANK         GARBER                  OH          90009746567
33B5316547B492   NASHEIKA      HAMILTON                NC          90012831654
33B5415747B495   SAMANTHA      ROSEBORO                NC          90011321574
33B5435734B281   TAMAR         KNIGHT                  NE          90014773573
33B54618A91563   JUANITA       BALANDRAN               TX          75089336180
33B5526818B162   FERNANDO      CARROLL                 UT          31038482681
33B5558524B943   NICOLE        GUILBEAU                TX          90010365852
33B572A624B943   TIFFANY       JONES                   TX          90013432062
33B574A3891371   LESLIE        TOMITA                  KS          29088094038
33B5772A185991   ELMA          PEREZ                   KY          90012817201
33B5783368B16B   MARTHA        DOMINGUEZ               UT          90012848336
33B57998384378   ISMAEL        LOPEZ                   SC          90014519983
33B57A39191831   RONALD        BAKER                   OK          21083700391
33B5867425598B   RAMON         RAMIRES                 CA          49096366742
33B587A3A91563   ASHLEY        RODRIGUEZ               TX          90011307030
33B588A654B936   CHARLES       JOHNSON                 TX          90006488065
33B58A77691831   RHUSHONDA     MCINTOSH                OK          90014440776
33B596A1A7B639   ADRIAN        SMITH                   GA          90011086010
33B5978A472441   CAROL         COLLINS                 PA          90010747804
33B59973741285   MEAGAN        ACRIE                   PA          51031269737
33B5B227A91831   ROBIN         LUELLEN                 OK          21003632270
33B5B24954124B   CARLOS        GOMEZ                   PA          90012412495
33B5B89A941285   TERRA         MONROE                  PA          51023018909
33B61231241258   MELANIE       CANCILLA                PA          90009422312
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33B61397854165   KIRK         WILSON                   OR          47062913978
33B6154585B536   AURELIO      CORRAL                   NM          90005335458
33B61858547931   SARA         LIJANLIK                 AR          90015178585
33B6222645B52B   JESS LUIS    GALLEGOS                 NM          90014232264
33B62261551338   NICHOLAS     ALEXANDER                OH          90012502615
33B622A414B943   ALANA        MORGAN                   TX          76564902041
33B62398591563   MARCELO      RAMIREZ                  TX          90008453985
33B6258367B492   MERCEDES     ACOSTA                   NC          90015325836
33B62829231444   TEANNA       SMITH                    MO          90004098292
33B6346595B52B   MARIO        RAMIREZ                  NM          90009844659
33B64349491831   DAUNTREL     MOORE                    OK          90012843494
33B64367591563   MARTINEZ     JOSEPHINE                TX          90009993675
33B643A3991371   REYNALDO     LUNA                     KS          90014943039
33B64682441285   ERIK         HARGRAVES                PA          90011406824
33B6496354B943   PATRICK      KENNERSON                TX          90014469635
33B65171855972   JACQUELINE   MAGOON                   CA          90004891718
33B6524487B471   KELLY A      WAGNER                   NC          90006412448
33B65957191563   CATALINA     GRAY                     TX          75020889571
33B67193641285   ALAINA       DEMUS                    PA          90010261936
33B67421555972   DERIC        MCCLELLAN                CA          90012394215
33B6837267B492   AUDREY       GLAZE                    NC          90013473726
33B68A5544B943   CHRISTIE     APLON                    TX          90012710554
33B692A632B835   CATIE        SUTHERLAND               ID          42073222063
33B69757A3B132   EBONY        PAIGE                    MD          90011067570
33B6998785B52B   ROBERT       LEIJA                    NM          90011049878
33B69993755972   BRIAN        AVERY                    CA          90000719937
33B6B25225B393   ALFREDO      ALVES                    OR          44526382522
33B6B599255972   ANA          ESTRADA                  CA          90013095992
33B6B674151369   JENNIFER     DONNELLON                OH          66030366741
33B7251325598B   MIGUEL       CORDOVA                  CA          90014895132
33B7255648B16B   LOREEN       NARIARI                  UT          90006085564
33B72A6222B87B   PAYGO        IVR ACTIVATION           ID          90012460622
33B7325225B393   ALFREDO      ALVES                    OR          44526382522
33B7376A58B16B   AUSTIN       PULVER                   UT          31015347605
33B73866284378   EDGAR        PIOQUINTO                SC          90015218662
33B74544355972   ANA          SANCHEZ                  CA          90010685443
33B74822761921   CLAY         PHELPS                   CA          90013748227
33B74974461921   CLAY         PHILPS                   CA          46000519744
33B7546435B52B   NAOMI        BLACK                    NM          35011244643
33B7614417B449   ENRIQUE      GONZALEZ                 NC          90011861441
33B761A4954165   PAYGO        IVR ACTIVATION           OR          90012911049
33B76389A2B87B   ANGELA       AVILA                    ID          90004733890
33B7639A15598B   VERONICA     GUERRA                   CA          49060173901
33B7671732B559   ADDIAN       LOPEZ                    AL          90014157173
33B77525384378   MANDY        SUTTON                   SC          90014045253
33B78A6725B52B   VICTOR       VILLALOBOS               NM          90008920672
33B78AA8161993   MICHAEL      COLON                    CA          90001990081
33B7B137584378   PAYGO        IVR ACTIVATION           SC          90014661375
33B7B22144B943   DEBBIE       GARZA                    TX          90012862214
33B7B53784B943   RAMONA       WILSON                   TX          90013995378
33B7B726955972   ARAZELI      SILVA                    CA          90012777269
33B7B79715B52B   MAYA         MADERA                   NM          35026817971
33B8121335598B   ERIC         MARTINEZ                 CA          90014452133
33B8169647B639   TRACEY       PERKINS                  GA          90011086964
33B81751A2B871   TONY         HAN                      ID          42034367510
33B81816741258   NICOLE       RIPLEY                   PA          90012368167
33B8235645B52B   HANNAH       GIST                     NM          90013833564
33B8239697B445   TONIA        PENDLETON-JENKINS        NC          90012923969
33B823A275B52B   REBECCA      GIST                     NM          35084573027
33B8285395598B   ERICA        PHELPS                   CA          90010248539
33B8337765B156   WILLIE       CALVIN                   AR          23027453776
33B84452877544   ROMAN        OROZCO                   NV          90013714528
33B84614791563   ANGEL        ALMEIDA                  TX          90014346147
33B86398591831   JOSE         RAMIREZ                  OK          90013313985
33B8647475B52B   LINDSEY      WORK                     NM          90003474747
33B87283A7B449   WILLIAM      KIRKPATRICK              NC          11054452830
33B87717651339   JAMILY       BUSH                     OH          90014497176
33B8788818B162   LEOPOLDO     LOPEZ                    UT          31059338881
33B88113941277   MICHAEL      ANDREWS                  PA          90005141139
33B88534391831   MARY         HERNANDEZ                OK          90011105343
33B8857AA7B492   MIRANDA      BLACK                    NC          90007995700
33B8896285B393   LYNDA        WILSON                   OR          90013409628
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33B8976968B162   LUCIA              REAL                 UT        90006157696
33B8993A155972   JEFFREY            GOULD                CA        48013269301
33B8B38195B156   BRIAN              COSBY                AR        90015033819
33B8B651154165   CHRISTOPHER        KURZ                 OR        90002436511
33B8B823151369   LIONEL             BROWN                OH        90013938231
33B91186484378   SEBASTIAN          NUNGARAY             SC        14506251864
33B91A18477544   ROBERTO            CASTANEDA GONZALES   NV        90005520184
33B91A2512B871   FRANK              YADON                ID        90014900251
33B91AA9551339   JAVIER             RIVERA               OH        90011180095
33B9211647B384   ELVIS              DIAZ                 VA        90002921164
33B9228695B52B   ROSA               REYES                NM        35057562869
33B9267866192B   YENINE             GARCIA               CA        90012176786
33B9273A25B156   MELISA             MANIRATH             AR        90010257302
33B93246191831   ELAINE             WILLIAMS             OK        21088862461
33B93727691232   SHARI              CECIL                GA        14504727276
33B944A562B87B   AMY                MARSHALL             ID        90011954056
33B95173A4124B   ELECTA             RAWLS                PA        90002781730
33B9547824B281   ASHLEA MAY         WIGHT                NE        90014774782
33B9563622B87B   VICKY              KOWALSKI             ID        42015136362
33B9574A18B16B   AMBER              STODDARD             UT        31042427401
33B95A9A491563   LAURA              GONZALEZ             TX        75089330904
33B96999151369   DOUGLAS            COOLEY               OH        66077109991
33B9748384B281   JAMAR              BLACKBURN            NE        90014774838
33B97854951369   BEJAMIN            HAMBRICK             KY        90013938549
33B9833337B449   DJO                HH                   NC        90000763333
33B9849144B943   DYLAN              PREJEAN              TX        90012824914
33B989A388B162   FILIPE             FONSECA              UT        90014139038
33B9975517B639   SHAMOAN            TOOMBS               GA        90011087551
33B9991725B52B   RUFINO             VARELA               NM        90009159172
33B9B11257B471   BEVERLY            GODFREY              NC        11076741125
33B9B2A4554165   ANDREW             PERTON               OR        90013932045
33B9B43424B943   WENDY              MELONSON             TX        90005544342
33B9B45647B43B   HECTOR             MEDRANO              NC        11051564564
33B9B571491371   DA FINEST          LIL MAMA             KS        29064985714
33B9B83A991563   MANUEL             GARCIA               TX        75006778309
33BB138272B835   ALFREDO            RODRIGUEZ            ID        90013253827
33BB2265A77544   DAISY              VARGAS               NV        90009152650
33BB2296851369   DESIREE            SAMS                 OH        90010752968
33BB269955B393   JOHNNY             PARKER JR.           OR        44595066995
33BB2858984378   MARIA              JUAN                 SC        90009688589
33BB33A2241285   GLENN              HARVEY               PA        90014563022
33BB3694551369   RICHARD            BODLEY               OH        90014876945
33BB3783672B35   CHARLES            MONROE               CO        90004767836
33BB3839791524   JOHANNA            LASCANO              TX        90011088397
33BB3923A8B162   JOHN               MCKAY                UT        31004629230
33BB4182A8B16B   CURTIS             KISH                 UT        90013981820
33BB4488654165   VITA               FUGATE BROWNLEE      OR        47056014886
33BB5231641258   CATHY              MORROW               PA        90008372316
33BB53A112B871   JARED              BLICKENSTAFF         ID        90014773011
33BB5474255933   CARLOS             SOLIS                CA        90010454742
33BB5532655972   RICHARD            PICANSO              CA        90014435326
33BB5A3A13B132   ERIC               HYDE                 DC        90010310301
33BB6516391371   GABRIELA DANIELA   MARTINEZ             KS        90012405163
33BB6963841252   DIANA              MICHELUCCI           PA        51080119638
33BB69A625B393   MICHAEL            WILLIAMS             OR        90001349062
33BB6A6A97B657   VERONICA           KEYS                 GA        90013380609
33BB764914B943   KARINA             DEHOYOS              TX        90013606491
33BB7744991371   ALEJANDRO          VILLALOBOS           KS        90011357449
33BB7AA365598B   ROSIE              BARRAGAN             CA        90010090036
33BB812A15B393   KIANOOSH           DANESHJO             OR        90014031201
33BB81A318B162   OMAR               PEREZ                UT        90012531031
33BB8298577367   SUE ANN            THOMPSON              IL       90012102985
33BB8398154165   SUSAN              GRAVES               OR        47015543981
33BB8419291831   PATRICK            MCALEVEY             OK        90014934192
33BB8911891893   HEATHER            WARD                 OK        90010659118
33BB89A1954165   JENA               MOORE                OR        90012519019
33BB92A312B87B   DOTTIE             CHAVEZ               ID        42014672031
33BB9387654165   SHELBY             BERRY                OR        47053353876
33BB962319125B   TIA                FISK                 GA        14546406231
33BB9775951369   DAVID              WILKS                OH        90013937759
33BB985A284378   SHAKIA             SAXON                SC        90011088502
33BB9868191563   AUDREY             LATHROM              TX        90014338681
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33BBB32654B943   MONDAI        RUBIN                   TX          90012843265
33BBB665191563   BRENDA        CASTILO                 TX          90007856651
33BBB69962B835   ERIN          HALL                    ID          42017756996
3411141A92B87B   BIANCA        GROTH                   ID          90006454109
3411175A34124B   TAMARA        PUGH                    PA          90013947503
3411184247B639   JANICE        TRICE                   GA          90014258424
3411292237B639   TRAB          LOWSKEE                 GA          90014609223
3411326A154165   CHRISTIAN     WILLIAMSON              OR          90009862601
3411368857B639   LASHUNDA      CUNNINGHAM              GA          15085976885
3411398A791831   STEPHANIE     TAYLOR                  OK          90012649807
34113A1A97B449   JULIO CESAR   HERNANDEZ               NC          90013990109
3411445455B156   FELISIA       MONTGOMERY              AR          23084154545
341152A597B449   EBONI         DAVIS                   NC          90013922059
3411543912B93B   VANESSA       SANCHEZ                 CA          45006214391
3411569172B871   ANTHONY       RAMIREZ                 ID          90014016917
3411583425B393   CHRISTINA     KNATT                   OR          90009738342
3411686A27B639   ANTHONY       MCMILLIAN               GA          90001018602
3411724A77B395   PIERRE        TONDJE                  VA          81074352407
3411772325598B   MICHAEL       FITZPATRICK             CA          49068677232
3411843555B156   KARISSA       VEASEY                  AR          90013894355
34118629A5598B   CARMEN        PEREZ                   CA          90013966290
34118866A51383   COREY         SAYLOR                  OH          90009078660
34118A53A8B16B   BRENT         BLANCH                  UT          31011920530
3411939455B156   FELICIA       BRASS                   AR          90008563945
341193A5691563   DANIEL        LOPEZ                   TX          75019693056
3411957664B547   KHALID        ALOTHMAN                OK          90010685766
34119623A4B281   ANNETTE       AMATO                   NE          90002156230
3411974A64B542   JOEY          KHALIQ                  OK          90014577406
3411B49347B639   MARLA         MITCHELL                GA          90010484934
3411B96724124B   DAVID         HANSEN                  PA          90001489672
3412128A151339   BOBBIE        CLIFFORD                OH          66096532801
34121A8385B52B   ZACHARY       JACKSON                 NM          90010690838
34122A4654124B   JASON         BELL                    PA          90012720465
34122A5664B281   MARIA         SEBASTIAN               NE          90012580566
34122A67931424   PETER         ANDERSON                MO          27587450679
34123311272B76   MIGUEL        CERON                   CO          90000373112
3412342242B871   ARMANDO       VILLALBA                ID          42044684224
3412364492B87B   SID           ROSE                    ID          42065176449
3412388AA21821   BOBBY         BECKER                  MN          90015568800
341238A458B16B   DERRICK       MELLISSA                UT          90010068045
341239A745598B   DARIO         ALGABA                  CA          90007539074
341245A332B835   TIFFANI       PAGE                    ID          90012445033
34124A89455972   JESSICA       GOAD                    CA          90013890894
3412539915B156   CHARLES       BROWN                   AR          90014173991
3412568924124B   JEFFREY       PARKER                  PA          51055776892
341256AAA41285   KATIE         SMERECKY                PA          90012866000
3412627185598B   LUIS          RIVAS                   CA          49000842718
3412665574B943   KENNETH       BARLOW                  TX          90009736557
341268A557B449   DAMONTA       ALEXANDER               NC          90015258055
34126A7919152B   RICARDO       ONTIVEROS               TX          90008410791
3412717778B16B   LAURA         ROE                     UT          90013991777
3412744257B639   DAVID         ANDERSON                GA          90013374425
3412757A155951   EUGENIA       PEREZ                   CA          49042705701
34127787A5B156   KIMBERLY      BLANKS                  AR          90012617870
3412785817B429   TERRY         BOWSER                  NC          90013928581
3412862757B639   EDGAR         GOMEZ                   GA          90012236275
34129114A91563   AMELIA        RODRIGUEZ               TX          90008531140
3412929A591831   CRYSTAL       GILL                    OK          90009832905
3412B12345B156   STEPHANIE     BOONE                   AR          90010991234
3412B633391563   BENJAMIN      GALVEZ                  TX          90009696333
3412B647431424   LORENZO       OWENS                   MO          90010406474
3412B799641277   DEANNA        PLETCHY                 PA          51087217996
341311A832B835   BRENT         MASSEY                  ID          90012211083
3413143877B449   ONIQUA        CHISOLM                 NC          90013384387
34131749A91831   SHANE         KENNEDY                 OK          90007977490
341319A654124B   ROBERT        FURGIUELE               PA          90009559065
34131A92491831   SHANE         KENNEDY                 OK          90015220924
3413222535B52B   TANISHA       MARQUEZ                 NM          90013912253
3413252278B16B   NATHAN        RICHARD                 UT          90013715227
3413265187B492   DANIEL        MORENO SILVA            NC          90011466518
3413289672B835   JULIA         MORSE                   ID          90009958967
3413354A45B393   JOSE          GUTIERREZ               OR          90012275404
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34133635124B72   LASHAWNNA    LEWIS                    DC          90002676351
34133773A54165   ROBERT       PERRY                    OR          90014687730
34133A59872B76   JESSE        ANDRESON                 CO          33016130598
34133A75761963   TOMAS        SILVA                    CA          90011300757
34134175A41285   DENISE       CONLEY                   PA          51007671750
34134A9527B492   ESTER        HERNANDEZ VAZQUEZ        NC          11013040952
3413569485598B   GINA         SOLIS                    CA          49064396948
3413579454B281   SCOTT        KLEMMENSEN               NE          27098507945
34135A26454165   TANEESHA     GRAHAM                   OR          90011750264
34135A28255972   DIANELA      OCHOA                    CA          90015010282
3413626217B492   DENNIS       ADAMS                    NC          90001652621
34136AA997B449   MAURICE      BROOKS                   NC          11088520099
34138127A7B492   TAWNYA       BRADLEY                  NC          11020561270
341394A6554165   BRITNEY      SEIDERS                  OR          90013644065
3413982212B835   THOMAS       FREINWALD                ID          90014738221
341398A8861963   RHEA         HUNTER                   CA          90009678088
34139A4697B492   MONSHKA      BOYD                     NC          90011000469
3413B111A55951   ANNE         CLARK                    CA          49097111110
3413B19887B471   MARIA        GOMEZ                    NC          11045241988
3413B3AA94B943   JULIA        GLOSTON                  TX          90010203009
34141AA712B835   CELIA        BELTRAN                  ID          42017870071
3414217185B52B   ALONSO       CARAVEO                  NM          35095231718
3414244AA41258   MICHAEL      WASHINGTON               PA          90013044400
3414293425B156   ADRINA       JENNINGS                 AR          90012769342
3414319157B492   SHARON       CARR                     NC          90014001915
3414345514124B   ANTOINETTE   JAKSON                   PA          51077414551
3414392235B393   LARISA       ZALOZH                   OR          90001589223
3414536687B449   TARYN        WILLIAMS                 NC          90001393668
3414537467B639   DANYEL       SUMBRY                   GA          15077433746
34145A5662B93B   ANDREA       PRADO                    CA          90014660566
34146755A2B835   SANTANA      CANTU                    ID          90014277550
3414741592B835   DANIEL       BARRETT                  ID          90015004159
3414825A84B943   ENRIQUE      ZARAGOSA                 TX          76550242508
3414837737B449   NINA         LESLIE                   NC          90005563773
3414843128B16B   WILLIAM      CARTER                   UT          90015094312
3414851222B835   MARIBEL      VARGAS                   ID          90012445122
3414921837B43B   AURELIO      OSORNIO                  NC          90003352183
34149959A91831   BRITTNEY     MONTGOMERY               OK          90014519590
34149A87161963   IOLA         DOTTS                    CA          90011300871
34149A95A7B639   WANDA        LEE                      GA          15057550950
3414B46635B393   MARIE        THOMPSON                 OR          90014834663
3415356437B449   CHRISTINA    CANNIE                   NC          90012925643
34154199A55972   YESENIA      CISNEROS-ESPINOZA        CA          90013621990
3415462545B393   DEANDRE      MENDOZA                  OR          90013476254
3415489825598B   CARLOS       TREJO                    CA          49068718982
34156323A91563   EZEQUIEL     SOSA                     TX          90014823230
34156A52291831   CURTIS       SEMLER                   OK          90012380522
3415725A261982   PAUL         TIMLIN                   CA          90012962502
3415742654B943   TENISSHA     ALBERT                   TX          90002264265
3415819757B639   MICHELLE     STOKES                   GA          90013951975
3415877332B87B   JORDAN       SMITH                    ID          90013437733
34158A7768B16B   LINSAY       HAWTHORNE                UT          90013770776
3415934AA55951   VICKI        WEBSTER                  CA          49095573400
341593A1191232   OLIVIA       RAY                      GA          14595533011
3415957637B639   NEFERETTI    DAVIS                    GA          15024605763
3415B55557B639   GEORGE       GUICHET                  GA          90008585555
3415B95657B639   LAKISHA      GIFFORD                  GA          90014379565
3415B99815B52B   BEAU         SALAS                    NM          35064609981
3415BA83141285   CURTIS       BRADLEY                  PA          51041410831
341615A535B52B   JASON        BOHANNON                 NM          90014155053
34161A6717B449   SANTOS       MARTINEZ DE ANDRADE      NC          11083910671
3416222147B492   ANNETTE      RATCHFORD                NC          11003932214
3416327214B281   JUDY         BUDKA                    NE          27054492721
34163424572B76   MARIA        TOVAR                    CO          33067074245
34163921A7B449   MATTHEW      EDWARDS                  NC          90013189210
341643A453145B   GERNICE      GAYFIELD                 MO          90011463045
3416458595B52B   ROGELIO      MASIAS                   NM          90012905859
34165517672B76   TIMOTHY      SULLIVAN                 CO          33080015176
3416633172B87B   RODNEY       PENDLETON                ID          90014823317
3416655625B347   JULIE        NORBY                    OR          90010615562
34166A2A251339   RYAN         WALDEAR                  OH          90015540202
3416845462B93B   GEORGE       ALMEIDA                  CA          45050744546
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34168652A4B281   BOYD        AMBERSON                  NE          27085176520
3416876764B281   STEVEN      JONES                     IA          27048327676
34168A94261963   LAKISAH     WILLIAMS                  CA          90001880942
3416939467B471   NICOLIA     MCCREE                    NC          11039823946
341697A352B871   LENDIS      HERNANDEZ                 ID          90013987035
34169A49A41258   JENNELL     LEWIS                     PA          51009630490
3417116144B281   NIJAH       TYLER                     NE          90011071614
3417162692B835   CRYSTAL     INGERSON                  ID          90010186269
3417292742B93B   JOSE        RUIZ                      CA          90015349274
341732A5955972   VIRGINIA    ACEVEDO                   CA          48045642059
3417346512B87B   NANCY       JUAREZ                    ID          90015394651
341737A797B43B   JOEL        FLORES RODRIGUEZ          NC          90003607079
3417451728B16B   SAM         HERRERA                   UT          90010015172
3417464224B281   SHEILA      CHANDLER                  NE          27098426422
3417491422B871   JON         WRIGHT                    ID          90008219142
34175582A4B989   ELLA        HILL                      TX          76513455820
3417566A597994   ASAREL      PATINO                    TX          73510536605
34176178472B76   VINCENT     VEGA                      CO          90000801784
3417888665B52B   MARGARITO   AMAYA                     NM          35055598866
3417931995B52B   ERIKA       WINNIEKOFF                NM          90002023199
3417934A361984   MARTIN      GARCIA                    CA          90010073403
3417B62932B871   SUZANNE     CARRASCO                  ID          90013556293
34182A9567B492   KATHY       ROYAL                     NC          90013370956
3418335842B835   HEATHER     GARDNER                   ID          90007263584
3418342487B492   ZENAIDA     CERROS                    NC          90001694248
3418377A35B52B   ERIKA       SALAZAR                   NM          90007037703
3418446232B871   OLGA        ZAVALA                    ID          90012064623
3418461725B393   ELVIA       ZUNIGA                    OR          90013946172
3418596127B639   GENE        SAVAGE                    GA          90003339612
3418772652B87B   ROSA        AYALA                     ID          90009887265
34187A4515B156   CHRIS       ROBERTSON                 AR          90013080451
34188131A2B835   JACOB       BALCERZAK                 ID          90014131310
3418957A65B156   LORRAINE    FALAZAR                   AR          90005695706
3418979432B93B   DEEP        SOUTH                     CA          90013697943
3418999554B281   HEATHER     ROWAN                     NE          27013929955
34189A4915B393   JUAN        ANGELES                   OR          44512120491
34189A8792B835   TAMMY       WELLS                     ID          90013750879
3418B31562B93B   CHARLENE    BUCK                      CA          90011393156
3418B475954165   SORCCIA     FORRESTER                 OR          47091714759
3418B81724B54B   MIRACLE     SIMMONS                   OK          90012448172
3419134572B871   STEVE       BURTON                    ID          90008793457
34191633A2B871   ALISA       ALDRICH                   ID          90013906330
34191A5577B492   ANGELA      MCCONNEAUGHEY             NC          90008120557
34192524A55951   RICHARD     TROYN                     CA          49093605240
3419299755B393   LYUBOV      AGAYEVA                   OR          90001649975
3419395684B569   CURTIS      COURSEY                   OK          90010059568
34194A3717B43B   VANESSA     SMITH                     NC          11048370371
3419518174B281   AMBER       STANISLAUS                NE          90001661817
3419536577B639   MARY        NAIK                      GA          90008893657
3419685345B52B   ALEX        LOPEZ                     NM          90011918534
34196A5567B639   JANIE       ERIN                      GA          90014280556
3419717142B93B   ANGELICA    AGUINAGA                  CA          90005611714
3419772985B52B   MANUEL      BUSTILLOS                 NM          90012867298
3419795A851339   LEAH        SEBRIGHT                  OH          66004879508
3419817142B93B   ANGELICA    AGUINAGA                  CA          90005611714
3419858115598B   RAFAEL      ESPINOZA                  CA          90010505811
3419882947B639   CRYSTAL     BUTLER                    GA          90013968294
3419BA31241285   DURGA       RIZAL                     PA          90001630312
3419BAA974B281   ANNETTE     HUERTA                    NE          27006120097
341B12A2A7B639   BRENELLA    STREETER                  GA          15008712020
341B133AA5B199   MICHEAL     ASHCRAFT                  AR          23084553300
341B154585B393   RUTHII      COMPTON                   OR          90014415458
341B163995B393   MATTHEW     GOLLYHORN                 OR          44505986399
341B2289855972   CARLOS      FELIX                     CA          48087202898
341B22A987B639   FRANCES     COFER                     GA          90014742098
341B275455B52B   MARK        JARAMILLO                 NM          90014087545
341B283428B16B   DIANNA      ROMAAY                    UT          90002208342
341B2A1295B156   BRADLEY     GUTHREY                   AR          90008150129
341B2AA9161963   DIANE       MOSES                     CA          46090510091
341B4132454165   JORDAN      VALADEZ                   OR          90012431324
341B42A8855972   LUIS        LARIOS                    CA          90013812088
341B464432B835   RANDY       GREER                     ID          90004746443
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341B499715598B   TARA             WASHBURN             CA          90002359971
341B528512B93B   JESSICA          ABBEY                CA          90012092851
341B548422B87B   WAYNE GARDNER    BENJAMIN             ID          90007874842
341B55A275B52B   MARIA            CLIFFORD             NM          90014155027
341B568722B871   JYNI             TOWNSEND             ID          42002996872
341B5999654165   KODI             MASON                OR          47093959996
341B693815B52B   EMILIO           ESQUIVEL             NM          90014169381
341B6A5472B871   TEDDY            LEYBA                ID          42046520547
341B6A7A254165   STACY            WEST                 OR          47014950702
341B7271A2B87B   JUSTIN           ARTHUR               ID          90002772710
341B788594124B   EARL             GARDNER              PA          90014178859
341B7972291831   MIGUEL           GARCIA               OK          90013249722
341B8841644B45   JONATHAN         SHABAZZ              OH          90011108416
341B9437497126   TRACY            BLOOM                OR          90011034374
341B978855B393   SANDRA           GOMEZ HERNANDEZ      OR          44554477885
341B986482B835   YVETTE           NORMAN               ID          90014038648
341BB16417B449   ANTONIO          CONTRERA             NC          90013961641
341BB4A7661963   TRINA J          GARNER               CA          90004994076
341BB514454165   CHARLENE         WILSON               OR          47037285144
341BB71197B639   HELEICE          HARVILEY             GA          90013947119
3421167652B93B   ESMERALDA        ALBERTO              CA          90012866765
3421188A95598B   ELENA            REYES                CA          90012788809
3421226A92B871   LORENZO          MEDINA               ID          90013832609
3421327657B386   EDWAR            MENDOZA              VA          90004052765
3421334AA41285   CACHET           HALLOWAY             PA          90015203400
3421342555B393   DAVE             BROWN                OR          90006394255
3421395425598B   BENJAMIN         BETITA               CA          49034019542
3421411752B87B   STACEY           ROSS                 ID          90014571175
342145A7241258   JOSH             KENNERLY             PA          51005215072
3421536928B16B   SHELLY           SHEPHARD             UT          90008453692
34215489285B54   COLT             SHINDLE              FL          90012924892
3421552884B281   COURTNEY         PORTER               NE          90013865288
3421684515598B   JESSICA          LOPEZ                CA          90005678451
34216A6442B871   MARY             WINTER               ID          42090480644
342178A452B87B   TANIA            TORRES               ID          90014178045
34217A58A91831   JOSHUA           DRY                  OK          90013940580
3421816847B639   XAVIER           BILLINGSLEY          GA          90011011684
3421975162B87B   WILLIAM          HOWELL               ID          90014127516
3421987177B639   AJOULONDAY       MATHIS               GA          90010068717
3421B12A44124B   RASHAUN          HUMPHREY             PA          90013901204
3421B915A93762   KAFUI            AVOTRI               OH          90013719150
3421BA61655972   MICAELA          ALLES                CA          90009670616
3422114494B281   FREDY            RAMOS                NE          90010321449
34221392A7B639   LEONEL           LOPEZ                GA          90013963920
3422152865598B   VANESSA          VILLAGRANA           CA          90010685286
3422262A15B393   JOSE             ABARCA               OR          90013676201
3422311447B639   LEONIE           MORGAN               AL          90011011144
3422347697B492   MELANIE          HOVIS                NC          11053954769
342236A1531424   STACIA           HUGHLEY              MO          90010206015
34223A59761963   CHRIS            OBERT                CA          46065710597
34223AA1136B77   KRISSY           DUBOIS               OR          44571510011
3422467A372441   BRIAN            HAWKINS              PA          90009026703
34224A4662B87B   JOSH             ROSSI                ID          90014360466
34225522A72468   ROBERT           NETTING              PA          90008735220
3422613215598B   GUSTAVO          GAYTON               CA          49056411321
3422615922B835   TJ               WALBRIDGE            ID          42089991592
3422666A491563   NILSA            LEON                 NM          75044396604
3422711125B393   LAURA            GALLEGOS             OR          90003101112
3422739552B835   JOHN             KELLY                ID          90013643955
3422767584B281   THOMAS PATRICK   GOONAN               NE          90005706758
3422931762B835   JACOB            BRUNTON              ID          42096763176
342293A127B639   SONYA            SEALS                GA          15021483012
3422976242B93B   SERGIO           TORREZ               CA          45039437624
3422B575A61963   VINCENT          TOWNES               CA          90000665750
34231A1342B93B   CHRISTY          PROCTOR              CA          90010900134
342324A537B449   BRANDON          TAYLOR               NC          90013284053
3423338617B492   CHERYL           MCDONALD             NC          90014873861
34234322972B76   HARRISON         CHARLESWORTH         CO          33088343229
3423438915B52B   JOYLYNN          RHINEHART            NM          90007683891
3423484814B281   BRENDA           LOPEZ                NE          27051928481
34234A5612B93B   MARIA            TOVAR                CA          90014540561
3423681157B639   CLARENCE         POLLARD              GA          90013978115
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34236A7372B93B   JOSE                ACATITLA-DIAZ     CA          90005580737
3423723564B281   BRITTNEY            DAVIS             IA          90012702356
3423753458B16B   ROSENDO             MELENDREZ         UT          90011175345
3423781157B639   CLARENCE            POLLARD           GA          90013978115
342381A6131424   CONSTANCE           SMARR             MO          27562361061
3423841824B281   PAUL                HAWS              NE          27052824182
3423968485B52B   CARLOS              DURAN             NM          90014946848
3423B275231424   WILLIE              PARTRIDGE-WALSH   MO          90011122752
3423B6A7261963   CHRISTINA           CALIXTRO          CA          90013896072
3424128362B835   JESSICA             AMADOR            ID          90001312836
3424194632B93B   DIANA               PELAYO            CA          90010559463
34242435672B76   ANGELICA            RAMIREZ           CO          33002844356
3424296792B87B   JEREMY              ORM               ID          42012649679
342431A714124B   JEFF                LOGAN             PA          51039691071
3424371995B393   CYNTHIA             ALLEN             OR          44508047199
3424456715B156   APRIL               HAYES             AR          90013925671
342447A4741258   ERIN                AITON             PA          51073537047
34246243272B76   ANNALISA            ORTIZ             CO          33082432432
3424687525B393   PEDRO               XIAP              OR          90014378752
3424694655598B   EDDIE               MARTINEZ          CA          90015269465
34246A65191563   FRANCISCO           LOPEZ             TX          90012200651
342476A1A41285   TENICIA             MCLEAN            PA          51047586010
3424779985B393   COLLIN              AUE               OR          90015337998
3424849832B871   BILLIE              BARNES            ID          42080854983
34248A1777B492   TERRENCE            DURANT            NC          90014740177
34249169A5B393   MICHAEL             BAIRD             OR          90006691690
3424926524124B   MARCY               DEMITRAS          PA          90003592652
3424937948B16B   GUSTAVO             BALCAZAR          UT          90010903794
3424962A455972   SILVERIO-LEONIDES   ORLANDO           CA          90012886204
3424B986351339   BRITTANY            FUGATE            OH          90003789863
3425192972B871   DEANNA              BENTON            ID          90004709297
3425196148B16B   ANGELO              ESCOBEDO          UT          90013949614
34251A3A772B76   ERMINIA             CANDELANIE        CO          33078100307
3425212612B87B   TONYA               ALDERMAN          ID          90009171261
34252828A91563   RICHARD             KERN              TX          75045568280
3425284945B156   CHALUKANA           JONES             AR          90003238494
3425316167B449   J ARMANDO           ZAPATA            NC          90012591616
3425318912B835   RAUL                ARAIZA            ID          90007441891
3425415252B93B   EVERETT             JOHNSTON          CA          90012241525
34254671172B88   LISA                LYNN-HOLLOWAY     CO          90001336711
34255173A5598B   MICHAEL             PEREDA            CA          90013461730
3425576224124B   DAVID               HOLLISTER         PA          51042977622
34255A92155951   GEORGINA            SALAZAR           CA          49070700921
3425625995B52B   SUSAN               DARLING           NM          90012552599
34256A85A55951   MONICA              DELTORO           CA          49089620850
3425721822B87B   ASHLEY              HART              ID          90007882182
34257512436B77   CORY                CALDWELL          OR          44541155124
3425765195B156   SHERIKA             LAMB              AR          90013756519
34257A1112B93B   MIGUEL              GUTIERREZ         CA          45038760111
34257AA9791563   EYDEL               RICO              TX          75090100097
34258183172B23   MARISSA             BUSTAMANTE        CO          90010871831
3425819842B871   JOSE                RODRIGUEZ         ID          42097781984
342581AAA51339   CHAD                WILLIAMS          OH          90005191000
3425945AA61963   LUCIA               RUFFIN            CA          90014044500
34259A3A64B281   BRIAN               CHMURA            NE          90012160306
3425B174791831   LAINEY              BLADES            OK          90008841747
3425B29425598B   ALICIA              LOPEZ             CA          90014822942
3425B3A5355972   MARIA               RUIZ              CA          48034853053
3425B659672B88   AMANDA              KASPER            CO          90013386596
3425B9A394124B   MICHELLEL           JOHNSON           PA          90013889039
342614A2741285   JONY                GABBER            PA          90013964027
342621A952B871   JOSUE               ORTEGA            ID          90005151095
3426266A191831   PHILLIP             LUSTER            OK          21095916601
3426279422B93B   ERIK                ROMO              CA          90013137942
34262818A5B52B   SHANNON             CLEMANS           NM          90007568180
34262A2AA72B76   APRIL               PAUL              CO          90005890200
34263674A2B835   VICKIE              MCCUISTION        ID          42025946740
342641A8391963   ALEJANDRO           CAMACHO           NC          90013131083
34264343A91563   MARTHA              HERNANDEZ         TX          75024503430
3426515992B871   MICHAEL             CARR              ID          42022841599
34266758172B25   ANDREW              JAY STEVENS       CO          33084257581
34267A2988B16B   ANGELINE            MUNGUIA           UT          90013950298
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1674 of 2500


34268233A41258   SHARLANAE   COOK                      PA          90014622330
3426924914124B   JOY         CORBIN                    PA          51088412491
342694A8A61963   WILLIAM     CLARK                     CA          90006684080
3426957245B393   MIKE        GRITMAN                   OR          90012695724
3426957637B492   JOSHUA      MILLER                    NC          90010735763
3426987397B639   CARLOS      LOPEZ                     GA          90014888739
3426B142955972   JAMES       TIIDWELL                  CA          90010801429
3426B715191831   ANGELICA    AGUIRRE                   OK          21002467151
3426BA81291563   JEZIKA      ROMAN                     TX          90014680812
34271341A72455   RENEE       EILER                     PA          51007603410
34271856A7B639   JUANITA     RILEY                     GA          90014778560
34271981A2B87B   IRENE       LAGUNAS                   ID          90011359810
3427235842B835   HEATHER     GARDNER                   ID          90007263584
342727A7591563   ADELA       LOZANO                    TX          90008017075
3427297782B237   TOPAZ       MCCOY                     DC          90008399778
3427395892B871   CRYSTAL     BLY                       ID          42005009589
34273A9A72B87B   DONNA       PRUETT                    ID          90014030907
34274351A55951   LELA        ELISALDE                  CA          90003323510
342751A587B639   TONYA       MCNEIL                    GA          90011651058
3427525824B281   GOPAL       BISWA                     NE          90011982582
3427536324124B   JAMAAL      NIXON                     PA          51012433632
3427618212B871   KRISTINA    GARCIA                    ID          42044501821
3427761754B281   NOE         VARGAS                    NE          27079876175
342792A3451339   SARAH       FOSTER                    OH          90009972034
3427983215598B   NORMA       LOPEZ                     CA          90012108321
3427B651561963   MARIA       CASTILLO                  CA          90013246515
342812A7941258   TELAN       JONES                     PA          90014082079
3428139887B639   RUBY        CALHOUN                   GA          90014873988
3428179688B16B   DALTON      GEARY                     UT          90014957968
34282A25A41258   JAMES       PAOLINO                   PA          90010380250
34283286A4124B   LINDA       POREMBA                   PA          90008612860
3428366635598B   ELIZABETH   PROVOST                   CA          90004526663
3428387929125B   JAMES       BROWN                     GA          90000158792
3428414A772B76   CHRIS       MARTINEZ                  CO          33063041407
3428468A55B393   JAMES       ROACH                     OR          90013866805
342846A1151339   AARON       PYLE                      OH          66095256011
3428485147B449   AMANDO      CHAVEZ                    NC          90013218514
34284A7695B156   KRASHONNA   WILLIAMS                  AR          23035660769
3428538354124B   MARC        BEVIER                    PA          90005573835
34285513A91831   TANIKA      JOHNSON                   OK          90010985130
342859A467B449   THAO        PUIH                      NC          90012159046
3428628915B393   LATOYA      GILBERT                   OR          90014722891
342867A4861963   ROBERTO     NAVARRO                   CA          90012157048
34287175272B76   ANGELA      HERNANDEZ                 CO          33062731752
3428733395B52B   CORINA      ROSALES                   NM          35017903339
3428737294B281   PHYLLIS     SANDERS                   NE          90008603729
3428774422B87B   JESSICA     HOWINGTON                 ID          90013157442
3428787315598B   YENI        RIVAS                     CA          90002118731
3428828A15B545   TANYA       ESTRADA                   NM          90005732801
3428833865598B   BEE         VANG                      CA          90013043386
3428841577B492   AMY         HAWKINS                   NC          11009994157
3428925A82B835   JASON       KELSO                     ID          42049522508
3428985644B943   ISAIAS      MORN                      TX          90003708564
3428B12414124B   SHANA       REYNOLDS                  PA          90002741241
3428B753691831   NICOLE      HAWKINS                   OK          21073997536
3429116288B346   MAYELY      VELASCO                   SC          90014941628
342916A5661963   DANICA      AIKEN                     CA          90012486056
3429175877B639   BRUCE       KEITH                     GA          90008857587
34292721A61963   EDWIN A     LOPEZ                     CA          90009617210
3429325A891563   ROSA        CINTRON                   TX          75066362508
3429331267B492   MATHEW      KHAMSANHLONG              NC          90014483126
34293372A5B52B   CAROLYN     STEELE-GRANT              NM          35051923720
3429337925598B   ELVA        DE CHAVEZ                 CA          90011253792
34293A7382B87B   PATRICK     HEINTZ                    ID          90012790738
3429469A151339   DONALD      TURNER                    OH          90015126901
3429551652B835   ROSA        BERNABE                   ID          90013485165
3429575A341285   BETTY       BYRNE                     PA          51094507503
34295A9245B393   OLLIE       MARISCAL                  OR          90011950924
3429698497B639   PATRICIA    ADAMS                     GA          15078849849
34297164A41285   STACY       REIS                      PA          90013681640
3429794277B639   CARLOS      HINTON                    GA          90002639427
34297979A2B87B   ROBERT      HILDEBRANDT               ID          90013169790
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34297982A51594   JHON          MILLER                  IA          90014399820
34298497672B76   JOSE          MEDINA                  CO          33016134976
3429853AA55972   SHAWNTEL      PAREDES                 CA          90013825300
3429862357B43B   VIRGINIA      LEWIS                   NC          11020486235
3429975846194B   SEGIO         CARMONA                 CA          90007997584
3429B16575B393   MIGUEL        MEJIA                   OR          90010581657
342B119217B449   SYMONE        STEWART                 NC          90003731921
342B2523651339   TRACY         CARTER                  OH          66096085236
342B2524961963   CHARLES       LONG                    CA          90007695249
342B2813447931   SHANNON       GOBER                   AR          25014998134
342B294A385688   THOMAS        BECHTEL                 NJ          90008199403
342B2A5715B52B   KAREN         LAVINE                  NM          35042540571
342B2A8797B492   KEESHA        ADAMS                   NC          90003060879
342B2A9515598B   CRISTINA      GARZON                  CA          49077150951
342B341962B87B   WAYNE         JOSLEYN                 ID          42082644196
342B3A18491232   TRAVIS        ALDRIDGE                GA          90002180184
342B3A55151339   CASANDRA      MORRIS                  OH          90011810551
342B4475491831   DONYETTA      DYSART                  OK          90014074754
342B456765B393   DAN           KING                    OR          90013865676
342B572755132B   SAMUEL        CAMPBELL                OH          90005327275
342B672654B281   MARIBEL       MEJIA-GENCHI            NE          90014037265
342B736162B87B   CARRISA       SENNER                  ID          90014713616
342B7436341258   REBECCA       POLLICE                 PA          51083084363
342B7883A5B156   THEODIS       TIDWELL                 AR          90009588830
342B841174B281   MURIEL        MARY                    NE          27052864117
342B8517172B76   ROGER         BACA                    CO          90002905171
342B856948B16B   MICHAEL       HARBAUGH                UT          31052525694
342B867877B449   SAUL          JIJON                   NC          90013866787
342B8712191831   GEOVANY       TORRES                  OK          90012797121
342B87A8A91563   CYNTHIA       HERNANDEZ               TX          90009467080
342B885547B639   JUAN          OLVERA                  GA          90013968554
342B9258851339   MARY          WATSON                  OH          90013922588
342B9393891563   LORETO        ARRIETA                 TX          90010123938
342B96AAA7B492   JANNEKE       WARD                    NC          90010776000
342B9861285824   DAVID         GENZLER                 CA          46089118612
342BB296791563   ROSA ESTHER   MANRIQUEZ               NM          90013962967
342BB85142B835   JENNY         TRULL                   ID          42082298514
342BB944A84381   TANIKA        THOMPSON                SC          90010869440
343112A3551339   KANDI         SUMPTER                 OH          66050532035
3431213264124B   DALENA        DAMA                    PA          51085571326
343121A7491831   BRETTNEY      LOWE                    OK          90013941074
3431279247B639   ANDREA        MARTIN                  AL          90012237924
3431332517B639   JACQUELINE    POSEY                   GA          90011013251
34313346A2B87B   JEFFREY       SATTER                  ID          90006793460
34313551A72B76   JOSE          PADILLA RODRIGUEZ       CO          33091835510
343137A648B16B   COREY         ATKINSON                UT          90012197064
3431427448B16B   EILEEN        USCANGA                 UT          90003002744
3431447255598B   MARIE         BERNAL                  CA          90010634725
3431629662B87B   LUCILA        WALTHAL                 ID          90013232966
343172A7991831   TAMIKA        JONES                   OK          90008892079
3431759A38B16B   JORDAN        WRIGHT                  UT          90014665903
3431949565B52B   ANTONIA       MARTINEZ                NM          90012044956
3431951875598B   CLAUDIA       SANTOS                  CA          90015455187
3431975364B281   JENNIE        JONES                   NE          90010107536
3432197AA4124B   RAY           MILLER                  PA          90009909700
34321A49451339   SHAWN         REECE                   OH          90011010494
34322A8378598B   JONATHAN      PANELINAN               KY          66025670837
3432431372B871   KEN           HODGES                  ID          42082673137
34324459A61924   TRACY         BENNETT                 CA          90013944590
343254A712B871   PATRICIA      FORD                    ID          42060224071
3432551765B393   FLOR          SIBAJA MARTINEZ         OR          90004255176
3432561738B16B   CESAR         ONTON                   UT          90013276173
34325A7669125B   ASHLEY        DRIGGERS                GA          90003110766
343269A635B156   FIDEL         PILA                    AR          23079729063
3432735737B449   TAMARA        RANSOM                  NC          11025913573
34327371174B46   PAYGO         IVR ACTIVATION          OH          90014543711
3432766662B93B   SHANNELL      GREEN                   CA          90012886666
3432964518B16B   CINDY         JENSEN                  UT          31094616451
3432B132855972   LORRI         REQUEJO                 CA          90014321328
3432B54594B943   DIEGO         SANCHEZ                 TX          90004175459
3432B58A42B93B   CATHERINE     VILLA                   CA          90015135804
3432B738341285   JOSHUA        KRESS                   PA          90000877383
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3433128125B393   ANDY           MAES                   OR          90001002812
34331852585B31   NATHAN         BAYS                   FL          90012038525
3433221627B639   CAROL ANN      WIMBERLY               GA          90010352162
3433225697B492   DONZELL        WILLIAMS               NC          90013012569
3433228387B639   GREG           JACKSON                GA          90011122838
3433269A151339   DONALD         TURNER                 OH          90015126901
3433346494B281   JASON          CAWTHON                NE          27034624649
343335A5A41285   GLENN          WEATHERS               PA          51031215050
3433429732B87B   VICTORIA       GARCIA                 ID          90014032973
3433463547B492   JAVIER         ARCE                   NC          90011206354
3433477A472B32   REBECCA        ROMERO                 CO          90002647704
343354A9591831   PATRICIA       CLINE                  OK          90012974095
3433599227B492   ALFONSO        CRESTONIO              NC          11071779922
34335A3A64B281   JENNIFER       BREWER                 IA          90009250306
34335A6A871656   AJUAYE         MUFUNGIZI              NY          90015440608
34335AA4641285   KIRK           PETRULLI               PA          51014120046
34336816A41258   SUSAN          MCCOY                  PA          90014648160
3433697385B156   VANTRICE       LITSEY                 AR          90007859738
343373AA847976   PHILIP         WITCHER                AR          90011563008
34337A3A57B639   CHREE          CUNNINGHAM             GA          15090100305
3433B13952B87B   PATRICK        WEST                   ID          42081471395
3433B17818B16B   TAMARA         ADAMS                  UT          90009171781
3433B856A91831   ADAM           THOMAS                 OK          90009988560
343416A972B93B   SABRINA        CAMACHO                CA          90006426097
3434186594124B   MARQUISE       SHEPHERD               PA          90013958659
3434199662B87B   BRAD           ELUMBAUGH              ID          90015129966
34341A1212B87B   SANTIAGO       GOMEZ                  ID          90010130121
343423A7141285   KIMBERLY       HOLZER                 PA          90006333071
3434267A34B281   RICHARD        IFEKANDU               NE          27074436703
3434364964B281   CHARLES        STEIN                  NE          90002206496
3434483544B943   KATHLEEN       BAILEY                 TX          76596998354
3434624398B16B   ARMANDO        ALEJO                  UT          31042412439
3434638917B639   FRANCISCO      OLMOS                  GA          90013483891
3434779A155972   DEBRA          CALVO                  CA          48069217901
3434795592B93B   DONNA          STEELY                 CA          45079849559
34347A67431447   LATASHA        PEARSON                MO          90012610674
3434858A68B16B   JEREMY         HARDIE                 UT          90007075806
3434912897B43B   WENDY          FUENTES                NC          90007371289
3434978597B395   JEANNE         TONDJE                 VA          81074357859
3434B23782B835   JASMINE        SMITH                  ID          90007682378
3434B79845B156   ANTWON         STATON                 AR          90012507984
3434B835A55972   EVA            LICON                  CA          90013138350
3434B8AA88B16B   SHELLY MARIE   MORRIS                 UT          90014458008
34351763A91543   RONALD         FISHER                 TX          90011987630
34351A4814124B   MILISSA        GARRIS                 PA          51033820481
3435315582B835   CLAUDIA        CERON                  ID          90012661558
3435353712B835   REW            PETERS                 ID          90011655371
3435389A25598B   FRANCISCO      BENTALPUK              CA          90012488902
3435418795B393   BOB            MARTIN                 OR          90013501879
34355A8882B871   TOBI           BURNS                  ID          42025970888
343561A392B93B   MARIA          ZACARIAS               CA          90005381039
343562A2991232   ERNESTO        HERNANDEZ              GA          90005202029
3435653792B871   CHERYL         MOLONEY                ID          42039345379
34357756A55972   RUBEN          ROGEL                  CA          90008997560
3435791275B156   MARKESHA       JONES                  AR          90011879127
34357A1367B492   WILLIAM        SPRINKLE               NC          11032840136
3435826967B492   IVAN           WRAY                   NC          90010382696
3435875A15598B   JANE           THAO                   CA          49097507501
3435995365B393   BREANNA        DEEWHICT               OR          90014129536
3435B461A4B281   ALEXIS         WATT                   IA          90014914610
3436181172B93B   JUNE           MEDEIROS               CA          45029298117
34363622A91831   DEONTE         LOWE                   OK          90014876220
3436396127B639   GENE           SAVAGE                 GA          90003339612
34363A99A2B195   ADA            SANCHEZ                NJ          90014400990
3436435382B93B   TRISTAN        AVIS                   CA          90012883538
3436489145B393   MELANIE        HICKS                  OR          90006108914
3436521823B152   YVONNE         NSONG                  DC          90013922182
34365335672B76   NICHOLAS       YORK                   CO          33088133356
3436736697B639   TAMIKA         CRAWFORD               GA          90014033669
34367498A91563   JUDY           MARQUEZ                TX          75082334980
3436878215598B   CHEE           MOUA                   CA          90005097821
3436943397B43B   ADAIA          CALEBRO                NC          90008594339
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3436952A17B639   BRITTANY          SALAZAR             GA          15001695201
343696AA15B52B   CHEVELL           HOUSTON             NM          90015306001
3436B139A7B449   ERIKA             ORTEGA              NC          90005221390
3436B4A8951339   KARLY             PENNINGTON          OH          90011014089
3436B73915B156   TASHUNYA          PORTER              AR          90015127391
3436B835741258   DMONEY            EXIT                PA          90012378357
3436B9A3951339   JAE               RIVERA              OH          90015139039
3437145967B395   MARIE             TONDJE              VA          81074364596
343714A695B156   LOUISE            GARRETT             AR          90010994069
3437161335598B   JUSTIN            ROBINSON            CA          90011456133
3437184657B449   LAMARCUS          DAVIDSON            NC          90013418465
3437186A191359   PABLO             SANTOS              KS          29028638601
3437267174124B   JUSTIN            GRIFFIN             PA          90010276717
3437269322B87B   DENA              GRENICKO            ID          90010956932
343741A145B156   SESLIE            JONES               AR          90012071014
34374585A9125B   ANN               HUNTER              GA          14557715850
3437493222B93B   SUMMER            ROBINSON            CA          90013469322
3437524142B835   TRACE             MARTIN              ID          90010632414
3437537822B93B   JENNA             REYES               CA          45086973782
3437538192B871   JOSE              RODRIGUEZ           ID          90014753819
3437633935598B   YVONNE            SANCHEZ             CA          90012883393
34376A24561963   PAUL              RUPP                CA          90012190245
34376A5747B639   ANITRA            SIMS                GA          15053700574
3437711622B835   JONATHON          BRANDEMIHL          ID          90009601162
343777A2141258   ROSANNA           LA CAVA             PA          51037237021
34378137A7B449   CHIRIS            HOUSTON             NC          90013041370
343781A1691543   ANA               HERRERA             TX          90009011016
3437877417B639   ANTOINE           SMITH               GA          15083257741
3437898426194B   MARIZOL           ULLOA               CA          90009239842
3437925697B492   BRIAN             DAVIS               NC          90012252569
34379938A5B393   SHELLY            WATTS               OR          44541739380
34381141172B76   ISAAC             JARAMILLO           CO          33083371411
3438183992B93B   JOSE              MADRIGAL            CA          90012268399
3438246A541285   MARK              SOSTER              PA          90013964605
3438275846194B   SEGIO             CARMONA             CA          90007997584
34382848A91563   JENNY             LOERA               TX          90014778480
3438365A67B492   CHARLES           GRAHAM              NC          90014796506
3438384345B52B   RAMIRO            HERNANDEZ           NM          35059758434
34384A7865B252   CSAM              WHEATLEY            KY          90000790786
3438541852B835   REGINA            ANDREE              ID          90012174185
3438573762B87B   DELIA             LERI                ID          90015117376
3438676258B16B   DAMON             CONROW              UT          90014467625
34386A9735B52B   JASON ALEJANDRO   RODRIGUEZ           NM          90010280973
34388518A61437   REZA              ATASHKHOOEI         OH          90013955180
3438857795B393   KUMAR             RAI                 OR          90003405779
3438B42212B93B   FRED              ESTRADA             CA          45076444221
3438B73287B449   SEVERIANO         NAVARRO             NC          90014137328
3438B83142B835   HOLLY             KIMBRELL            ID          90012138314
3438BA4564124B   CHERYL            ROLAND              PA          90014600456
343913A298B147   BENJAMIN          AMEGASHIE           UT          90011503029
3439169254B943   ATANASIO          RAMIREZ ZAVALA      TX          76597026925
343921A3532573   PATRICIA          BROWN               TX          90015361035
343935A265B52B   KAY               HESS                NM          90008555026
3439369A151339   DONALD            TURNER              OH          90015126901
3439471327B449   VIVIAN            LOVE                NC          90011577132
34394775436B77   BLANCA            PAT                 OR          90009997754
3439488317B639   DARIUS            PRATHER             GA          90008628831
3439581874124B   DANIELLE          TAYLOR              PA          51074648187
3439582588B16B   JANICA            MCCLOUD             UT          90010348258
3439636815B393   JAIRO             CORDOVA             OR          44552993681
3439693685598B   MANG              MOUA                CA          49000269368
34398268A4124B   JASMINE           LITTLE              PA          90011132680
3439868857B639   LASHUNDA          CUNNINGHAM          GA          15085976885
34398A4885B393   TERRI             LINN WELDON         OR          90013880488
3439993A34B281   MELISSA           HARDNETT            NE          27092259303
34399AA9851339   DEBBIE            SMITH               OH          66038700098
3439B6A5151339   JENNIFER          COOK                OH          90011016051
3439B8A378B16B   JAY               SHURTLIFF           UT          31040668037
3439B919155972   HOANG VAN THI     TRAN                CA          90012369191
343B146835B393   RICARDO           HALL                OR          90012104683
343B277A52B835   RON               RODRIGUES           ID          42087357705
343B295774123B   DONALD            LARGENT             PA          51062159577
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343B295782B871   ALLISON      RIBORDY                  ID          42095839578
343B374AA5598B   FRANCISCA    VALDEZ                   CA          49087577400
343B3939491563   IVANA        ROCHA                    TX          90003529394
343B3A6664124B   JESICA       KHASKIN                  PA          90012710666
343B535A654165   RICHARD      ROEBUCK                  OR          90011763506
343B578A82B87B   CRAIG        OLIVER                   ID          90006877808
343B664422B87B   DEBRA        CLARK                    ID          90001336442
343B72AAA61945   CEDRIC       MC GOWIN                 CA          90001842000
343B7753951339   TERRY        NOLDER                   OH          66030777539
343B77A817B471   TERRY        GRIER                    NC          90012157081
343B8929955972   VANESSA      WOODS                    CA          90007199299
343B9362A7B449   EVELYN       MANAIZA                  NC          90004263620
343B9A4785B393   OSCAR        MUNOS                    OR          44525780478
343BB166361963   DUSTIN       IVY                      CA          90014951663
343BB3A3541285   DENETTA      JOHNSON                  PA          51086163035
3441146545B156   LASHA        JACKSON                  AR          90010994654
34411719A91831   JAVIER       ESTEBAN                  OK          90014587190
3441225917B449   BERENICE     MONTERA                  NC          11067472591
3441341A541285   MITZI        HAMPE-BROOKS             PA          51087984105
3441348172B93B   ESMERALDA    PANIAGUA                 CA          90014504817
3441352635B393   JOSE         SANTOS                   OR          90003345263
3441479157B639   LATOYA       CROWDER                  GA          90014037915
34415A71591563   MARIBEL      ALBA                     TX          75012810715
3441646A24B954   TROY         HOPKINS                  TX          90005504602
3441696185B52B   PETER        RAPSTINE                 NM          90014429618
34417A16355933   JAVIER       BERNABE                  CA          90005860163
3441834A42B871   MELINDA      CAMPBELL                 ID          90009643404
3441871A72B87B   JEREMY       BALLOU                   ID          90009157107
3441879112B835   ALLISON      HUDDLESTON DA 3RD        ID          42039997911
3441946AA2B87B   ERIC         BROCKBANK                ID          90013274600
3441965968B16B   DUSTIN       KAY                      UT          90011346596
344197A9554165   SELINA       DEAL                     OR          90005977095
3442135A47B43B   SHAWNTEL     HOBSON                   NC          11014903504
3442196A37B449   LAUREN       COOPER                   NC          11049519603
344223A722B87B   KAY          ANDERSON-PETERSON        ID          90006963072
3442373135B156   ERIC         BARNETT                  AR          90013017313
3442427A15B393   JARED        MOORE                    OR          90008762701
34424321A47931   KATI         ELMORE                   AR          90005383210
3442555182B93B   SONIA        DORADO                   CA          90013945518
34426174772B76   BRENDA       LOCKHART                 CO          33002711747
3442664375B156   BRITTANY     ROSE                     AR          90015236437
3442746974B943   MARCUS       YOUNGER                  TX          76565674697
34427717A4124B   RONALD       PRICE                    PA          90015117170
344277A9154165   SUSAN        SIEN                     OR          47008077091
34427A33161945   LORI         WILLIAMS                 CA          90006570331
3442839A44B943   VANESSA      SWAN                     TX          90004493904
344284A6255951   AMBER        TAYLOR                   CA          90007104062
3442923A55B393   MICKI        KING                     OR          44570422305
3442B63327B492   SHANTINEYA   HOWELL                   NC          90015126332
3442B77487B639   RUSSELL      PEARCE                   GA          15012017748
3442B963754165   DEBBIE       MAZUREK                  OR          90015119637
3443142A87B639   BRANDI       COPENNY                  AL          90011144208
3443155492B871   SALLY        JOHNSON                  ID          90003845549
34432124A31424   SHUNICE      MITCHELL                 MO          90006901240
3443254464B281   LEAH         BROWNING                 NE          27074725446
3443275245B156   TONIA        ROCHELL                  AR          23089667524
3443279822B93B   DERRICK      BARNETT                  CA          90014157982
34433288A41277   BOBBI        ROGOSZ                   PA          51046992880
3443334274B943   MARIA        GOMEZ                    TX          76573183427
3443377295B393   RUBIE        RODRIGUEZ                OR          90012837729
3443541872B93B   MICHELLE L   KLAMM                    CA          45006284187
3443611A15598B   CLUDIA       VALTAZAR                 CA          49010051101
34437949572B76   DOUGLAS      LOPEZ                    CO          90002839495
3443848A22B87B   JOHN         BITTICK                  ID          90008464802
34438828A4B281   EVETTE       DORSEY                   NE          90002848280
3443B983155972   BAUDELIA     ARAMBURO                 CA          48013119831
3444155355B52B   SERGIO       CIGARROA                 NM          90011925535
344417A1355972   PAMELA       ZAMORA                   CA          48004647013
3444271327B449   VIVIAN       LOVE                     NC          90011577132
3444274387B639   ASHLEY       RAMSEY                   GA          90013027438
3444391277B639   JOSE         PACHECO                  GA          90014889127
3444546835598B   REY          FEREYRA                  CA          90011204683
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3444649837B639   T                SMITH                GA          15047254983
3444716418B16B   CRYSTAL          ARENDTSEN            UT          31058651641
344478A8755972   JOSE             PALAMAREZ            CA          48027178087
3444886468B16B   WESLEY           MELTON               UT          90011448646
344493A682B87B   DENISA           TAHIROVIC            ID          90003533068
3444B18462B93B   ANTONIO          ROBLES               CA          90011281846
3445145565B545   RENEE            OLAVE                NM          90011524556
3445161155B393   JAMES            STOCKWELL            OR          90012826115
3445228312B87B   DEBBIE           RIVERA               ID          42020072831
344522AA733B88   GARY             WEEKLEY              OH          90015212007
34452A94254165   CASONDRA         ANDERSON             OR          90006960942
3445323322B87B   ROSALINDA        ESPARZA              ID          42092882332
3445377285B52B   TIFFANY          BURTE                NM          90014327728
344547A268B147   ANGEL F          NUNOZ                UT          90000917026
3445491935598B   JAMES            LYNDAY               CA          90008179193
3445563275B393   ANTOINE          HALL                 OR          90014886327
34455823772B76   EDWIN            ISRRAEL              CO          90003798237
34455A16751339   STEVEN           WEBER                OH          90014570167
3445882945598B   DAYJANIQUE       BROWN                CA          90011858294
3445981832B871   RICARDO          SANCHEZ              ID          90008598183
3445982868B16B   MIYA             WOODLING             UT          90015288286
3445B27A891563   NANCY            HARRIS               TX          90006062708
3445B54774124B   CENTORRIA        SPELLS               PA          90012395477
3445B61A661963   DENISE           GARRETT              CA          46077136106
3445B85778B16B   ENRIQUE          DOMINGUEZ            UT          90014958577
3445BAA1172B76   ROSALINA         CIBRIAN              CO          90008000011
34461639A91831   ANGELA           TUNNELL              OK          90013336390
34462A5885598B   JOHNNY           FLORES               CA          49053410588
344634A644124B   JOHN             RAY                  PA          90014144064
3446385255B156   LEONEL           OROZCO               AR          90011888525
34463A37473221   KEVIN            FITZ                 NJ          90014370374
34463A6967B492   POOH             COLLINS              NC          90012200696
3446433358B16B   JACQUELYN        PIERCE               UT          90013953335
3446443554B943   CHARLOTTE        HARRIS               TX          90010764355
344656A725B393   TRAVIS           LOWERY               OR          44536106072
3446613A461963   CHRISTIAN        REYES                CA          90015251304
3446713528B16B   LISA             STRONG               UT          90010431352
34467A2515B52B   RAFAEL           ORNELAS              NM          35051760251
3446824824B281   FORTENBERR       SAKIA                NE          27066462482
3446833358B16B   JACQUELYN        PIERCE               UT          90013953335
3446927985B56B   RAQUEL           CANTERO              NM          36008582798
3446983587B639   LORY             CAMPBELL             GA          90010118358
3446B173891831   PATRICK          CUNINGKIN            OK          90013941738
3446B315A55972   VANESSA          MORFIN               CA          90013933150
3446B438361557   LAKEIYA          LOCKWOOD             TN          90015384383
3446B43A87B639   CHINIKACHATMAN   CHATMAN              GA          90011034308
34471131A51339   JAMES            ELDRIDGE             OH          90011321310
3447283187B471   KESSHIA          BISHOP               NC          11076568318
3447324325B156   ANGEL            TELFORT              AR          90013252432
3447428922B93B   MICHALE          YATES                CA          90012532892
3447697762B93B   MARIA            CARRILLO             CA          90010249776
3447724724B943   JOSE             GONZALEZ             TX          90000412472
3447775727B449   MARIO            ELLIOT               NC          90013767572
3447795A52B87B   ANTHONY          ROTONDO              ID          90013479505
3447829712B871   HAILEE           MOALA                ID          90009912971
3447853147B471   MARY             BROOKS               NC          90002795314
3447916A551339   CHRIS            MCINTOSH             OH          90009671605
34479514A91563   LETY             GARCIA               TX          90012135140
34479583A4124B   JACQUELYN        BAUER                PA          90012105830
344798A315B393   GLEN             HOLLAND JR           OR          90010068031
3447B91A541297   TAMEKA           ADAMS                PA          90010699105
3447B967457123   CLAUDIA          MENENDEZ             VA          90001929674
3447BA8A12B871   JOESPH           COLLINS              ID          90011210801
3448137A35B393   CARRIE           TODD                 OR          90014603703
34481472672B76   CARLOS           NAVA                 CO          33016144726
3448147A92B87B   ROCHELLE         GRANDEY              ID          90010224709
3448243335B156   BRITTNEY         SEBASTIAN            AR          90013524333
3448247562B87B   BILLY            NEAL                 ID          90013294756
34483219A5598B   FREDDIE          DELGADO              CA          90011502190
3448376884B563   PAMELA           CASTLE               OK          90001067688
34483897A54165   ANDERSON         NICOLE               OR          90004688970
3448399A591232   WILLIE           JONES                GA          14515649905
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34483A1145B156   LATOYA       ROBERTSON                AR          90013660114
3448578327B449   MARK         JOHNAON                  NC          90015327832
34486167272B41   ELSA         SWAHN                    CO          90011661672
3448656A22B871   TAMARA       ALLEN                    ID          42052435602
3448669475B156   LAKEISHA     IRBY                     AR          23092476947
3448797787B449   FELICIA      CATHEY                   NC          11025629778
3448812675B393   SILVER       PHIL                     OR          90010391267
3448828165593B   ANTONIA      RAMOS                    CA          48076862816
3448835572B835   SUSAN        ARNOLD                   ID          42025783557
344884A2241285   THOMAS       MILIAUCKAS               PA          51037034022
34488A76431424   MEKA         GILLIAM                  MO          27562450764
3448917158B16B   ROBERTA      LOMELI                   UT          90014471715
3448B35765B156   SHAWN        RATLIFF                  AR          23028363576
3449182877B449   KAYLA        MOISE                    NC          90014728287
3449183995B52B   LAUREN       SMITH                    NM          90000178399
34491A8873B152   MAYA         WARREN                   DC          90008100887
3449246124B281   HEIDI        PARSONS                  NE          90015084612
3449266182B871   BRITTANY     ARBUCKLE                 ID          90014556618
3449291A62B87B   NICHOLAS     NELSON                   ID          90011429106
3449459A857124   STEVE        BAKER                    VA          90006955908
3449489318B16B   LACIE        ATMORE                   UT          31034808931
3449518735598B   TRACY        GONZALEZ                 CA          49062661873
3449561962B93B   FRANCES      ROBERTS                  CA          90009056196
3449616862B87B   SHAWNA       HATFIELD                 ID          42047611686
34496A13491831   WILLIAM      KEIFER                   OK          90010170134
344972A354124B   MAXWELL      POULOS                   PA          90014382035
34498945A7B449   PATRICA      LEAK                     NC          90012299450
34498949A41285   LARA         LAMPENFIELD              PA          51032199490
34498A8628B16B   MONICA       ZAMRA                    UT          90010920862
3449945359125B   GABRIEL      JIMENEZ                  GA          90013964535
3449978A441277   LUANN        JEFFREY                  PA          51012797804
3449B39847B449   CHRIS        SCOTT                    NC          90001393984
344B116967B639   NAOMI        DAVENPORT                GA          90012581696
344B134A361963   PAULINE      MARTINEZ                 CA          46053343403
344B13A7661963   TAYLOR       NEAO                     CA          90014543076
344B1657751339   JASON        LOVILL                   OH          90010666577
344B2292351347   MIKE         BRIGGINS                 OH          90003762923
344B252767B471   LAWRENCE     LINDSAY                  NC          90002795276
344B3623341258   WENDELL      BRADSHAW                 PA          90003186233
344B3A16461963   TASHEEN      DAVENPORT                CA          90013000164
344B4A24341285   MICHEAL      STAPINSKY                PA          90002990243
344B4A8278B273   ANGELA       DARLING                  VT          90014220827
344B528415598B   MARICELA     OLIVO                    CA          90014702841
344B5986141277   SHIRLEY      EDWELL                   PA          90014199861
344B6712554165   DAKOTA       SKYE                     OR          90013847125
344B6924555951   ALAN         PENA                     CA          49014679245
344B69A485B156   SANDRA       CURTIS                   AR          90013829048
344B7442641258   JAMAR        BOXLEY                   PA          51006834426
344B7917A8B16B   OCTAVIO      HERNANDEZ                UT          90011359170
344B7A41991538   JERRY        CHAPARRO                 TX          75083980419
344B825A94124B   DENIECEA     WYNN                     PA          90009702509
344B9573472B76   CHRISTOPHE   WEBER                    CO          33068205734
344B9A6125B156   HARRY        PILGRIM                  AR          90009470612
344BB23617B492   RACHEL       TORRES                   NC          90004022361
344BB416A61927   HAYDEE       VAZQUEZ                  CA          90012564160
344BB776754165   JANELL       BROWN                    OR          47093027767
344BB9A368B16B   MARIA        GARCIA                   UT          31036089036
3451176568B16B   ANGELA       ECKLER                   UT          90014047656
34511817A2B834   THOMAS       CURL                     ID          42019718170
3451185867B449   LINDA        SALAZAR                  NC          90013458586
34511A65261963   ALAN         FIELD                    CA          90013000652
3451237515B52B   YOLANDA      ARAANDA                  NM          90004643751
3451259997B449   KAMYA        CHAMEY                   NC          90003525999
34512654A91563   CURTIS       DAVIS                    TX          90014066540
3451265852B87B   PAUL         PETERSEN                 ID          90005106585
34512964A51339   TRACY        MACK                     OH          90012769640
3451341552B835   TERESA       CENISEROS                ID          90013544155
3451344134B281   BRIAN        NIGHSWONGER              NE          27090444413
3451373177B639   NINA         COPPER                   AL          90014727317
3451479892B87B   SANTIAGO     SARMIENTO                ID          90000657989
3451485524B943   GERALD       HATCH                    TX          90006348552
34514A1155B156   LAMAR        LAGRANT                  AR          23081480115
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34514A25361963   LASHEA      FULTON                    CA          90007430253
3451568474B281   CRAIG       BOUKAL                    NE          90011086847
3451583A961963   MICHEALE    EDWARDS                   CA          90008318309
34515AA6A7B384   ERICK       LOPEZ                     VA          81030700060
34517411A7B449   TASHIA      WILSON                    NC          90011104110
3451819A92B871   ANDREZ      DIAZ                      ID          90013471909
3451854817B639   BUCK BUCK   ALSTON                    AL          15024445481
3451886A94B927   ROCIO       GUILLEN                   TX          90002658609
345188A237B471   MARGARET    DAVIS                     NC          11069918023
345192A332B87B   JON         LARSEN                    ID          42087602033
345193A5255972   ARLENE      MATNEY                    CA          48015873052
3451945543B324   LEOPOLDO    MARTINEZ                  CO          33095364554
345198A614124B   KYLE N      WILSON                    PA          90012188061
3451B362361963   ARMANDO     QUINTERO                  CA          90000483623
3451B82437B622   SHARON      LEWIS                     GA          90011888243
3451BA18A2B835   STEVEN      SNOW                      ID          90009330180
3452136464B944   KRSNA       FONTENET                  TX          71005703646
345217AA92B835   MARIA       QUIJANO                   ID          90013137009
3452215994B281   LIDDICK     MICHELLE                  IA          90013441599
3452228A161963   DANIEL      BISHOP                    CA          90002742801
3452235835598B   ERICA       GARCIA                    CA          90014613583
345238A4891831   DALE        WERTS                     OK          90011168048
34524337A2B87B   SHAMSULL    SAFI                      ID          90010343370
345246A118B16B   GUTIERREZ   JENNIFER                  UT          90000676011
34524832A7B639   AUCTAVIA    MORGAN                    GA          90012388320
3452591247B347   SANDRA      CABANA                    VA          90000649124
3452763412B87B   HECTOR      RAMIREZ                   ID          42081466341
3452867315B52B   COURTNEY    CRITES                    NM          90014106731
345291A875B393   KYLE        BENEDICT                  OR          90011951087
34529721572B93   NAM         NGUYEN                    CO          90011917215
3452B595991837   CHARLES     ZIPP                      OK          90011085959
3452B918831432   JAMES       STIDHAM                   MO          27515269188
345318A8241285   DELONTE     HAYNES                    PA          90014788082
34531A69291563   ANA         MC MANUS                  TX          90011450692
3453252A84B597   CHRISTINE   MASON                     OK          90009855208
3453273567B43B   ARMANDO     LOPEZ                     NC          90003367356
3453334815B277   JOSPH       WATSON                    KY          90007033481
3453383574B569   AARON       MOREHEAD                  OK          90009418357
3453558492B93B   DESIREE     REYMUNDO                  CA          90015005849
345361AA75B52B   MORGAN      HIBBERD                   NM          90014261007
345363A9A7735B   GLEN        LONGSTREET                 IL         90012633090
3453666885B393   SUMMER      WESLEY                    OR          44506146688
3453742724B281   TODD        DAVIS                     NE          27031164272
34537A1647B449   ANGELA      PRUITT                    NC          90008890164
3453833488B16B   TAMMY       STAPLES                   UT          90013673348
34539639A91831   ANGELA      TUNNELL                   OK          90013336390
3453B163A7B639   ELKI        VAZQOEZ                   GA          90012411630
3453B394755972   RICHARD     ST CLAIR                  CA          90011453947
3453B48A455972   REYNA       HERNANDEZ                 CA          90014404804
3453B4A372B87B   ANJANETE    GALLEGOS                  ID          90011324037
345419A3841285   STACIE      WILLIAMS                  PA          51069479038
3454255547B639   PORTIA      MAYE                      GA          90012505554
3454351467B639   TAVARA      LOWE                      GA          90013155146
3454361517B449   SERGE       ARNAUD                    NC          11003506151
34543A51141285   GEORGE      BADEAU                    PA          90014100511
34543AA9441285   JASON       HANN                      PA          90012680094
3454439482B93B   LAN         DINH                      CA          90012603948
345445A882B871   TONY        RITCHIE                   ID          42096835088
34544937A2B835   BLANCA      BENAVIDES                 ID          42087109370
34544A5337B471   KEISHA      MCNEIL                    NC          11083310533
3454512587B449   MATTHEW     HENRY                     NC          90013651258
3454532894B281   CHRISTINE   BATISTE                   NE          27003613289
3454563A455972   CINTHYA     MORALES                   CA          90013696304
3454588A585943   ANTWON      LEWIS                     KY          90011938805
34546A66255972   LUIS        ALVAREZ                   CA          90015500662
3454843A27B639   MONIQUE     MCMURRAY                  GA          90014114302
345486A1941258   ANTONIO     RENE                      PA          90012476019
3454915628B16B   JOSH        JAMISON                   UT          90013381562
3454958375598B   CHLOE       VALENCIA                  CA          90012445837
34549A4877B492   BERNARDO    MONTOYA                   NC          11077490487
3454B63195B333   DAVID       HARTLEY                   OR          90003616319
345513A9841277   STEPHANIE   WESTFALL                  PA          90005413098
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3455155A62B871   MIGUEL ANGEL   AGUIRRE                ID          90011825506
34553A54191563   ALFONSO        PACHECO                NM          75039030541
34554A67291563   MARIA          VILLALOBOS             TX          75089500672
34554A71854165   JOY            BEST                   OR          90013920718
3455556417B449   TONY           MONTGOMERY             NC          90013195641
3455595154B943   PAULA          DAIGLE                 TX          90008379515
3455599272B392   MADELYNE       TRUJILLO               CT          90014859927
34555A14A5B52B   ANNA           MARTINEZ               NM          90004750140
34555A68A4B281   RAQUEL         SERRANO                NE          27043170680
345576A455B52B   TRAVIS         COLLINS                NM          90012806045
3455864919125B   MARCUS         LUCKY                  GA          90001456491
3455917A941455   KATE           HART                   WI          90015511709
34559811A4124B   ABDALLA        OSMAN                  PA          90013228110
3455B36112B835   IAN            LANE                   ID          90014003611
3455B77948B124   STACEY         TEIXEIRA               UT          90001197794
3455B881331424   MONTY          LACKEY                 MO          90007688813
3456121169125B   BLAINE         SWANSON                GA          90003682116
3456167595B52B   JAMES          SANCHEZ                NM          90014846759
3456177997B639   DEDRA          SCHULTZ                GA          90014507799
34561A66655972   MONIQUE        HERNANDEZ              CA          48052230666
34561AA8941258   HOPE           FLETHER                PA          90012230089
3456247785598B   GISSEL         CALDERON               CA          90012934778
34562A2975B393   SCOTT          NOEL                   OR          90014320297
3456317158B16B   ROBERTA        LOMELI                 UT          90014471715
3456318147B492   TONYA          HERRING                NC          90010711814
3456327765B393   DEBRA          POWERS                 OR          90013392776
3456386A87B492   ERIC           HANG                   NC          90010748608
34564178A2B87B   CHARLYNN       GOLLER                 ID          90004991780
3456518525B52B   SHAVON         WILLSON                NM          35090841852
34565384A4124B   RANDOLPH       HICKMAN                PA          90011133840
3456614862B835   ROBYN          RINGKAMP               ID          42063471486
3456616A85B156   ARTELLIA       LITTLE                 AR          23085781608
3456755312B93B   DANIEL         COBB                   CA          90009375531
34567786A31424   BYUNGHEE       PARK                   MO          90007687860
3456862A48B536   JESUS          REYES                  CA          90015226204
34568A2A54B532   CHARRON        HARDING                OK          90013470205
34569137572B76   JOSE           DE JESUS RAMOS         CO          90001851375
3456934927B639   CHARLES        CROWELL                GA          15096883492
3456B737554165   KIMBERLY       CRACOLICE              OR          90013537375
3456BA96831424   CAROLYN        TYSON                  MO          27594640968
34571253A8B16B   ALISHA         EVANS                  UT          90004572530
3457192242B87B   LISA           TOVAR                  ID          90011429224
34575287A91831   ZAM            NUAM                   OK          90011382870
3457591427B492   MARK           VERNON                 NC          90014369142
3457725942B835   MARICRUZ       MATA                   ID          42096852594
3457892237B639   VICTOR         MONTOYA                GA          90012679223
34578A8854124B   DARREN         MOORE                  PA          51014300885
34579483A43524   TAHNEEE        HOOLEY                 UT          90009274830
3457B211591831   ROBERT         MORRISON               OK          90013942115
3457B233491563   NICOLAS        PLACENCIA              TX          75081672334
3457B28928B18B   BELLAMY        NENTWICH               UT          90011802892
3457B46245598B   GILBERT        GARCIA                 CA          49089034624
3458234587B43B   MARCIA         CALDERN                NC          90003443458
345824A932B93B   SHAUN          WRIGHT                 CA          90014644093
3458377425B156   KIMBERLY       BLANKTON               AR          23053717742
3458428215B393   SAMANTHA       BINNS                  OR          90013892821
3458458452B93B   MELISSA        RUIZ                   CA          90010975845
34585424272B25   JUSTINA        NAY                    CO          90003824242
34585A5742B221   GREGORY        MIMS                   DC          90001140574
3458622172B87B   ESTELLA        VERA                   ID          42072192217
3458688435B52B   ROBERTO        NUNEZ                  NM          35087888843
345883A5651339   BRIAN          ALCORN                 OH          90008833056
345885A884B281   KATTY          ARIAS                  NE          90007095088
34589244A91543   ELIZABETH      GENOVA                 TX          75067862440
34589362A8B16B   JEFFREY        SCHMITT                UT          90014473620
3458974252B87B   SANDRA         MEDINA                 ID          90012697425
3458983247B639   TIFFANY        KIMBROUGH              GA          15041148324
34589A23461963   TERRY          JOHNSON                CA          90008630234
3458B188691831   NICHOLAS       CORLEY                 OK          90010981886
3458B213391831   ABEL           TORRES                 OK          90013942133
3458B272A41258   FRED           DALVERNY               PA          51021992720
34591462676B8B   MICHELE        C HERINGTON            CA          46080194626
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3459172154B281   TOMAS       DOROTEO                   NE          27007037215
3459182325598B   PATTY       DELEON                    CA          90008828232
3459185738B16B   ELIZABETH   CASTANEDA                 UT          31064718573
34592464A7B449   TINA        GEER                      NC          90010954640
3459294732B93B   JOSE        FIERRO                    CA          90010979473
3459376A531424   MARK        SEYMORE                   MO          90010857605
345938A6755951   DIANA       SOLANO                    CA          49071808067
3459392445B156   LAKESSESA   SHAVERS                   AR          90013709244
3459412212B87B   DENISE      HYLTON                    ID          90014021221
34594522A55939   NOE         FRAUSTO                   CA          90006085220
3459489327B639   JOSE        MATEO                     GA          90010508932
34594A31754165   MADELINE    PACKARD                   OR          90007090317
3459563169125B   PETE        MCCOY                     GA          90007396316
34596775898B26   MIASHA      MCDOWELL                  NC          90010807758
345977A569125B   PATRICK     ELLISON                   GA          14557757056
3459835687B492   JERRY       ADAMS                     NC          90013903568
34599211A41277   NICOLE      FEDELL                    PA          51042722110
3459B455A41285   LINDA       LEWIS                     PA          51096994550
3459B51427B449   JOCELYN     JOHNSON                   NC          90012235142
3459B722141277   RICKI       STEWART                   PA          51087497221
3459B755351339   TRAVIS      JONES                     OH          90012587553
345B11A252B871   MEAGAN      HAYES                     ID          90013381025
345B1915761963   YORYET      RODRIGUEZ                 CA          90001129157
345B247645B393   SEAN        ISON                      OR          90014834764
345B311517B492   JOHNNETTA   LOWERY                    NC          90014581151
345B3413541285   SHERRY      NORKEVICUS                PA          90001124135
345B3838254165   CRAIG       EVANS                     OR          90011868382
345B4145776B7B   GRISELDA    HERNANDEZ                 CA          90009771457
345B41A572B835   ERIC        JUAREZ                    ID          90004001057
345B459748B16B   ERIC        CHAVEZ                    UT          90010015974
345B4A3577B639   TAMEKA      DAVIS                     GA          15089120357
345B5663841258   RICHARD     PSUTY JR                  PA          51074826638
345B5877A41285   LYNN        CHIESA                    PA          90013148770
345B5945861963   MAYRA       SANCHEZ                   CA          90008389458
345B61A6772B76   ROSA        JIMENEZ                   CO          90010271067
345B647425B393   KAREN       LOWE                      OR          90012074742
345B651848B273   MERRY       JAN                       VT          90014845184
345B683874124B   LARONZO     WADE                      PA          90003188387
345B6874655972   PEDA        SANCHEZ                   CA          90011928746
345B711A461963   CHAD        ALVAREZ                   CA          90004761104
345B841214B524   RACHEL      YATES                     OK          21583664121
345B8A89541285   KRISTY      BUCKHOLTZ                 PA          90014060895
345B922114B561   ELVIS       SOLIS                     OK          90008582211
345B942112B871   HOWARD      MCDANIEL                  ID          42062384211
345B94A7A41285   DAVE        DROSSART                  PA          90006364070
345B9813A51341   BRIAN       COFFMAN                   OH          90014248130
345B993365B393   CHRISTINA   HENRY                     OR          90013799336
345BB3A4991563   NORMA       CASTANEDA                 TX          90013963049
345BB44197B397   SALLU       FULLAH                    VA          90013964419
345BB56232B835   MARIA       URBINA                    ID          42081545623
345BB75864B547   JIMENEZ     RUIZ                      OK          90010607586
345BB86317B639   TYESIA      OESTRICHER                GA          15052718631
345BBA5264124B   MELISSA     HACKENBERG                PA          51063450526
3461152525B393   RONALD      ULERY                     OR          90014475252
3461225297B639   MARCIA      WILLIAMS                  GA          90014122529
34612475A31424   KIMBERLY    DUCKWORTH                 MO          90013334750
3461254A72B87B   ANNA        WINTER                    ID          90012475407
3461366887B492   MARCO       ACOSTA                    NC          90012146688
34614A9417B43B   BRYNETTE    PARKS                     NC          11015240941
3461545352B835   BAL         MAGAR                     ID          90002454535
3461624968B16B   ANGEL       FLORES                    UT          90004352496
3461695A47B639   BRITTNEY    CALDWELL                  GA          15029409504
34616A12A91563   DORIS       SHELDON                   TX          75005300120
34617211A41277   NICOLE      FEDELL                    PA          51042722110
3461728547B639   MARCELLA    JOSEPH                    AL          90011042854
3461773A12B835   TED         ROMERO                    ID          90006777301
3461817834124B   DONALD      MOSS                      PA          90007751783
34618387A55951   SAMULE      HOOKER                    CA          90005653870
34618532A5B52B   JAZMAIN     MONIQUE                   NM          90005705320
3461925297B639   MARCIA      WILLIAMS                  GA          90014122529
34619932A5B277   JOHN        KUCHENBROD II             KY          68039919320
3461997542B93B   MICHELLE    YEAGER                    CA          90010919754
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3461B25297B639   MARCIA       WILLIAMS                 GA          90014122529
3461B56AA41258   JASON        PUNIAK                   PA          90008855600
3461B6A554B943   ANTHONY      BRANCH                   TX          90004586055
3461BA3A95B156   BLAND        CORY                     AR          90000480309
3462131698B183   GALDINA      PADILLA                  UT          90007963169
34621512476B58   LUVIA        PONCE                    CA          90006055124
3462185667B43B   KEN          SLAGLE                   NC          11027958566
346218A6755972   KATY         SEIRANO                  CA          90008188067
3462333A37B449   IVAN         SANCHEZ TORRES           NC          90012923303
3462367512B871   RAY          ARES                     ID          90014516751
3462412762B87B   HOLLY        RICHIE                   ID          90014211276
3462418622B871   JENNIFER     HENDERSON                ID          42042641862
3462459638B16B   APRIL        SIMMONS                  UT          90013335963
3462514635B156   CAROLINA     TORRES                   AR          90014941463
34625A34747931   JONATHAN     CORTELLACCI              AR          90009390347
3462645A67B449   TIEASH       DANTZLER                 NC          90014574506
3462742938B16B   DANIEL       HERNANDEZ                UT          90014474293
3462789947B43B   FELICIA      COLEMAN                  NC          11016098994
34627A24A84374   RHONDA       SCOTT                    SC          90014890240
3462917672B87B   SAMUEL       MALAMA                   ID          42009251767
3462996712B93B   JERRI        CANDELARIA               CA          90011009671
34629987776B8B   JAIRO        SANCHEZ                  CA          90014339877
34629A4865B393   JACOB        LANG                     OR          44538260486
3462BA6517B639   LANITA       PASSMORE                 GA          90013700651
346321A767B492   ARSENIO      HAMILTON                 NC          90011001076
3463464512B835   JOSHUA       MEADOWS                  ID          90011496451
3463471164124B   TERRENCE     OGLETREE                 PA          90011337116
3463481242B87B   RICHARD      DRENNON                  ID          90002678124
34635791A5132B   SHARONDA     BATES                    OH          90011937910
34635937A2B871   NINA         HUTTON                   ID          42059239370
34635943A5B52B   ENRIQUE      CABRERA                  NM          90004219430
3463641A491563   CARLOS       JONES                    TX          90013934104
34636464676B44   VALENTIN     MUNOZ                    CA          90008424646
34636673A5598B   MAY          GOREE                    CA          90009046730
3463669312B87B   ANGELA       CHARLTON                 ID          90014026931
3463683A351339   JESSICA      WALLEN                   OH          66019998303
3463717834124B   DONALD       MOSS                     PA          90007751783
346374A714B281   AMY          MOLLOY                   NE          90004774071
3463825444B281   GERALD       GEHR                     NE          90006312544
3463846795B156   RONNIE       JOHNSON                  AR          90014864679
3463861267B492   RACHEL       ADAMS                    NC          90009916126
3463888298B16B   JEFF         ANDERSON                 UT          90011408829
346396A565B52B   YVETTE       SANCHEZ                  NM          35052926056
3463B329491831   SARAH        BURK                     OK          21031323294
3463BA2452B835   ALI          OGO                      ID          90010950245
3464126527B639   TIMOTHY      PATTON                   GA          15086822652
3464169455B52B   ERICA        VANARSDALE               NM          90014106945
3464184732B93B   JAHAZIEL     GARCIA                   CA          45069838473
34641935A41455   RYAN         KEIZER                   WI          90003299350
3464197717B492   KIMBERLI     GRIMES                   NC          90014509771
346419A485598B   DAVID        MARTINEZ                 CA          90012769048
346426A4254165   AMBER        WARTENBEE                OR          47057366042
34645A74255972   DAVID        GONZALEZ                 CA          90015240742
3464612922B871   ALEX         GOLDSTON                 ID          90009501292
34646181A7B639   ZANDRA       JACKSON                  GA          90012001810
3464626A92B871   LORENZO      MEDINA                   ID          90013832609
3464675815B393   JR           KEENE                    OR          44589827581
34646A43391563   ROCIO        FLORES                   TX          90013070433
3464723272B835   DAWN         PORTUGAIS                ID          42064522327
346475A1141285   KRISTEN      DELO                     PA          90013675011
3464768397753B   MELISSA      COLEMAN                  NV          90004986839
3464813595B52B   JESUS        DOMINGUEZ                NM          90010291359
3464816454124B   ANDREA       CARPENTER                PA          90000671645
3464B78915B52B   SARAH        RUIZ                     NM          35021047891
3465152417B639   TERRANCE     MAXWELL                  GA          90003155241
3465185A461963   MYCHAQUELL   SHIELDS                  CA          90012358504
34651A61591538   MARIA        GONZALES                 TX          90007980615
3465363584B561   LADONNA      SANTANA                  OK          21551666358
34653A2215B393   DONNIE       HINES                    OR          90009840221
3465411762B87B   VINCENT      LAYTON                   ID          90013821176
34654A2A14124B   SAMANTHA     GRIMM                    PA          90012710201
3465538934B281   TANIA        GONZALEZ                 NE          90013923893
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3465645595B338   DEREK       FURROW                    OR          90007704559
3465718375B52B   PIECHER     ESTRADA                   NM          35013991837
3465729968B183   DAVID       STANDING                  UT          90000182996
3465857714B281   ALCIA       MCINTOSH                  NE          90010325771
3465869572B835   JOHN        URQUIDI                   ID          42086166957
3465941914B281   PATRICIA    VANHORNE                  NE          90012174191
3465B117751339   ANTONIO     MATON                     OH          90015551177
3465B19735B253   TUNYA       WILLIAMSON                KY          68041501973
3465B881761963   FARIDA      BEDAHI                    CA          46075828817
3465B976941285   ROBIN       MILLER                    PA          90013309769
34661455172B27   DESIREE     MIRANDA                   CO          33087094551
3466272252B835   IRVING      ALEMAN                    ID          90001457225
34663154A2B87B   COREY       JACOBS                    ID          42009771540
3466395518B16B   ESTEBAN     PEREZ                     UT          31086929551
34663A75972B76   JORGE       OROZCO                    CO          90005870759
3466526215B393   CARBONELL   RIAZANOV                  OR          90013662621
3466572A77B43B   KEOSHA      MISNHEIMER                NC          11017317207
3466629658B16B   TAMI        SMITH                     UT          31023352965
346664A2131424   MARIA       PINTOR                    MO          27562224021
3466669917B639   MARCUS      BROOKS                    GA          90014246991
3466734552B87B   JAMES       ZIES                      ID          90005723455
3466762322B93B   ALMA        GARCIA                    CA          45048576232
3466781A955972   ANTONIO     CARDENAS-CHAVEZ           CA          90012628109
3466794734124B   JOHAN       CALLIBER                  PA          90010309473
3466861965B156   ANGEL       BARNOM                    AR          90011006196
3466866112B87B   SUSANA      BARBOSA                   ID          42011086611
34668A4752B93B   DIANA       GOMAR                     CA          90013240475
3466951972B835   CHAD        CROSBY                    ID          42046775197
3466969375B393   ANN         LAW                       OR          90009026937
3466969528B16B   JEFFREY     CHARLESWORTH              UT          90012676952
3466992625598B   ARTURO      ZAMORA                    CA          90003709262
34669A31791563   SONIA       HERNANDEZ                 TX          90003060317
34669A63751339   DONALD      ENAMORADO                 OH          66012630637
3466B7A467B492   JANIE       CALDWELL                  NC          11090637046
3467154625B393   ROBERT      SMITH                     OR          90000915462
34671A6277B492   ROBERT      MAYER                     NC          90012030627
3467223192B93B   CRYSTAL     CEMBRAN                   CA          90013662319
34673185A5B52B   ALICIA      BERNAL                    NM          35018621850
3467333362B871   MICHELLE    THIEL                     ID          42092713336
346743A6454165   SHERRIL     FAULKNER                  OR          90012003064
3467448937B492   LINDSAY     TILLEY                    NC          90014834893
3467533AA5B199   MICHEAL     ASHCRAFT                  AR          23084553300
3467566884B547   BRIAN       PLUMMER                   OK          21557816688
34675936A5B52B   MONIQUE     SALAS                     NM          90012619360
34675A5217B449   SHARRINA    SINCLAIR                  NC          90005900521
346764A2755939   CHRIS       HERNANDEZ                 CA          90001044027
3467665388B16B   CAROLINA    BARRIOS                   UT          90009276538
34676A4212B871   ERIKA       JIMENEZ JARAMILLO         ID          90014200421
3467821815B393   SHAWNTAE    JOHNSON                   OR          44510662181
3467B189755972   LEONARDO    CANO                      CA          90013731897
3468143988B16B   MICKAEL     DUNKLEY                   UT          31015894398
3468182475B156   CASSANDRA   SMITH                     AR          23093578247
34682278333B88   ADA         ROBERTS                   OH          90011802783
346824A547B639   LATOSHA     MUFF                      GA          90011054054
3468335588B16B   RON         MEDEIROS                  UT          31031973558
34683A19291831   JOEL        SEWELL                    OK          90007990192
34684434A5598B   BOUALAY     INTHAVONG                 CA          90013014340
3468624714B281   DIANA       HAFERMANN                 NE          27084862471
34686AAA161963   CRYSTAL     SMITH                     CA          90012270001
346871A4681557   JOSE        CRUZ                       IL         90001121046
3468728555B393   REMUNDO     CAMPOS                    OR          44573902855
34688982A7B359   OCDULIO     CASTANEDA                 VA          90009139820
34688A6334B281   IRAIDA      HERNANDEZ                 NE          90014690633
34689434A5B156   PEGGY       WATSON                    AR          90012494340
3468944838B16B   STEVEN      MORITZ                    UT          90010884483
3468967827B449   SHIVON      JOLLY                     NC          90014846782
3468997492B871   NATALIE     REITAN                    ID          90008469749
34689A7927B639   PHILOMENA   OGUCHI                    GA          90006610792
3468B142961963   HUMBERTO    ZEPEDA                    CA          90012991429
3468B286A2B835   CHERYL      MCDONALD                  ID          90004022860
3469186252B87B   KRISTINA    DELAGARZA                 ID          90013588625
3469211465B156   ANICIA      BUTLER                    AR          23057181146
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3469324A67B492   JAMES                   HARRIS           NC       11067812406
3469334975B156   KAY                     WOOD             AR       90009133497
34693A1587B639   JOSUE                   RIVERA           GA       90009710158
34693A31355972   ERICA                   BANUELOS         CA       90014330313
34694347436B77   KRISTIE                 CLARK            OR       90009083474
3469477535B156   MARKUS                  PERRY            AR       23078257753
3469499225B393   CARLA                   NAVARRETE        OR       90007639922
3469575677B449   MELAINE                 JOSEPH           NC       90014247567
3469615264B281   LATRINA                 ABERNATHY        NE       90008711526
3469824A62B93B   NATASHA                 VARGAS           CA       90013282406
34698477998B25   JARISA                  SIMON            NC       90011524779
34698A67755972   TERRY                   WILDERMUTH       CA       90010810677
3469952198B16B   VALERIE                 LARKINS          UT       90014765219
34699743A4B281   SHAWN                   EGGING           IA       90013407430
3469B244791831   SAQUIDA                 THOMAS           OK       90014052447
3469B261555972   ERIKA                   LLAMAS           CA       90013922615
3469B84515598B   JESSICA                 LOPEZ            CA       90005678451
346B11A9455972   ALMA                    CASTRO           CA       90012561094
346B163557B449   ROSA                    MORALES          NC       90014306355
346B178A88433B   FELICIA                 GRAHAM           SC       90007337808
346B1A59291831   JONATHAN                SMITH            OK       90004730592
346B256858B16B   IRVING                  GARNICA          UT       90014965685
346B261254B943   RODNEY                  SHIELDS          TX       76517686125
346B3364755951   EUSEBIO                 VELASQUEZ        CA       90005653647
346B3572A91563   CESAR                   QUINONES         TX       90012815720
346B388668B16B   GUSTAVO                 REGUS            UT       90014778866
346B39A645132B   LORA                    WATTS            OH       90005109064
346B439462B93B   STEVEN                  MENDEZ           CA       90011713946
346B4513191563   ANGELINA                VILLARREAL       TX       75011475131
346B571A531424   SHAELYNN                HARPER           MO       90011417105
346B6467541277   SARAH                   MEISING          PA       90002144675
346B6892472B76   VICTOR                  RODRIGUES        CO       90008618924
346B789254B281   LISA                    NICE             IA       27070828925
346B8419A8B16B   THERESA                 OQUENDO          UT       90010164190
346B8815241285   ERNESTINE               THOMAS           PA       90014068152
346B886974B281   AMY                     MILBOURN         NE       90015128697
346B898697B639   TERRILL                 HICKEY           GA       15001369869
346B8A4264124B   LAMAR                   BATIE            PA       51050800426
346B8AA1A7B449   JUAN                    VELASQUEZ        NC       90015090010
346BB27578B16B   COLBY                   KAP              UT       90007732757
346BB335672B76   SYLVIA                  JAIME            CO       90003173356
346BB71145B359   CHARLES                 CLONTZ           OR       90003637114
3471129968B183   DAVID                   STANDING         UT       90000182996
3471158762B835   NAPHTALI AND ADRIANNA   CORTEZ           ID       90014705876
34712A8518B16B   MICHAEL                 SEEGMILLER       UT       31053910851
34713624536B77   FELIPE                  VICTORIANO       OR       90004656245
3471379955B52B   KEVIN                   CAHALO           NM       90014097995
3471432832B87B   TAELOR                  HILLER           ID       90014043283
3471523782B835   JASMINE                 SMITH            ID       90007682378
3471627AA7B639   TANISHA                 RICHMOND         GA       90002132700
3471734524B562   KEEGAN                  EISENHARDT       OK       90011603452
3471768484124B   MONIQUE                 PETERSON         PA       51093946848
3471785897B492   PAYGO                   IVR ACTIVATION   NC       90013808589
3471793665598B   CARLA                   LEIJA            CA       90015329366
3471822392B93B   KIMBERLY                COPUS            CA       45017102239
3471889157B43B   ALFREDO                 CRUZATA          NC       11028018915
3471989157B43B   ALFREDO                 CRUZATA          NC       11028018915
34719AA9831424   TRACEY                  THINGPEN         MO       90008550098
3471B517991563   MARISELA                TORRES           TX       90014455179
3472111135B393   CHERYL                  CLARK            OR       90011181113
3472132615B156   KALEB                   TAYLOR           AR       90013503261
34722537A7B639   WESLEY W                SMITH            GA       15000215370
3472335244124B   JENNIFER                MROZ-TOMER       PA       51080113524
3472366435B52B   DONNA                   MORE             NM       90001866643
3472378845B393   SHELBY                  NORSTORM         OR       90012437884
347242A224B281   SCOTT                   KEMP             NE       90012952022
3472491694B943   THOMAS                  RODRIGUEZ        TX       76507019169
3472523417B639   MILLICENT               MOORE            GA       15088402341
3472634554B281   TAMMIE                  ARMSTRONG        IA       27042593455
3472649322B871   BAILEY                  BARNETT          ID       90002204932
3472683585B393   LATRISHA                RICE             OR       90009748358
34727732A2B87B   DAVID                   ESPARZA          ID       90010667320
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347289A5898B26   TRENA        WOODLAND                 NC          90008869058
3472B68662B835   TAPYTHA      STEWART                  ID          90015346866
3472B9A4A5598B   DEBRA        WOOD CAROLE              CA          49029199040
3473131537B639   DONALD       TOLBERT                  GA          90014153153
3473132547B449   TANQUILA     FOSTER                   NC          90012543254
3473242632B835   BRUCE        BALDWIN                  ID          90015564263
347328A8291831   MARICELA     GONZALEZ                 OK          21015438082
3473328947B639   LORRAINE     WALKER                   GA          15019442894
347333A7341455   LAUREN       RICK                     WI          23528243073
3473342A74124B   WALTER       STEVENS                  PA          51074944207
3473343472B93B   KATHY        ELLIS                    CA          90015324347
3473426914124B   CINDY        WANG                     PA          51090032691
3473478848B16B   LINDI        GLOVER                   UT          90000427884
3473494472B835   ERIC         COOK                     ID          90010799447
347349A825B156   TRAVIS       WALTON                   AR          90013479082
34734A91591831   MARIA        RODRIGUEZ                OK          90006590915
347351A8972B76   ROBERT       HAYNIE                   CO          90005871089
34735A3264B943   JOHN         WILSON                   TX          90011900326
3473614754B281   MELISSA      MOLCZYK                  IA          90006151475
3473616454124B   ANDREA       CARPENTER                PA          90000671645
34736757A7B639   CLYDE        STREETER                 GA          90009087570
3473813827B492   TIA          SIHABOT                  NC          90013541382
347382A1591831   KATHRYN      GELSINGER                OK          21083242015
34738955136B77   RYAN         GILBERT                  OR          90013799551
3473916665B393   JUSTIN       HITE                     OR          90012321666
3473B32542B871   ALICIA       BARAJAS                  ID          90015013254
3473B41179125B   RUTH         AMES                     GA          90005574117
3473B64275B156   KIMBERLY     SMITH                    AR          90013436427
3473B82678B16B   KEONI        P RUNNELS                UT          90010358267
3473B914891232   TIFFANY      BAILEY                   GA          14578229148
3474161287B449   SABINA       MENDOZA                  NC          90003666128
34741A35754165   ROB          COOPER                   OR          47037430357
3474237A74B281   JOHN         BALDWIN                  IA          90013223707
3474242AA72B76   PAUL         PRYOR                    CO          33063004200
34742A5A661963   JUAN         HERNANDEZ                CA          90014900506
347438A644B943   EDGAR        MORONES                  TX          76515648064
347441A424124B   JUNE         LEY                      PA          51090511042
34744662972B76   JERICA       BURRIS                   CO          90010026629
3474475A155972   ABEE         ALVAREZ                  CA          90012997501
3474491255B52B   BRENDA       TAYLOR                   NM          35095499125
3474538A73B127   CARMELO      PALACIOS FLORES          DC          90006913807
34745586A51339   BRITTANY     COOPER                   OH          90013635860
3474667437B492   ANTHONY      SANDERS                  NC          11087416743
34746916A91831   PETRA        GAIMBOA                  OK          21066719160
3474868757B639   JAMAL        GREER                    AL          90014156875
3474984592B93B   CARMEN       RECIO                    CA          90014638459
3474B18977B449   MARCELLUS    JONES                    NC          90007861897
3474B197A7B492   BRANDY       ROSS                     NC          90013061970
3474B492497B33   OFELIA       MIGUEL MARTINEZ          CO          90002324924
3474B89A491563   VERONICA     HERNANDEZ                TX          90012848904
3474B963691831   DESTINI      ULRICH                   OK          21010279636
3474B9A2841258   ZIPPORAH     BALDRIDGE                PA          51078239028
3475123972B93B   VEDA         MALONE                   CA          90014702397
3475149A491563   SUSAN        GOMEZ                    TX          75069004904
3475167212B87B   TRACY        BULLOCK                  ID          90014546721
3475193795B52B   JACQUELINE   MARQUEZ                  NM          90014729379
3475362475B156   BOB          MICKISICK                AR          90014936247
3475481757B471   DEBRA        JOHNSON                  NC          11020968175
3475492315B52B   CYPRIANO     LEYBA                    NM          35051749231
3475549674124B   NICOLE       WOODON                   PA          90011134967
3475553232B87B   TAMARA       NARAD                    ID          90004795323
3475561A461963   MICHAEL      FORDHAND                 CA          90011946104
3475564415B37B   LISA         HUBBARD                  OR          90008196441
3475627694B281   JOSE         JUAREZ                   NE          90004092769
3475634435598B   ALEXANDER    DELA GARZA               CA          90015313443
3475682382B835   NOEL         QUILANTAN                ID          90014778238
3475742414B943   RAY          BRICKEY                  TX          90006234241
34757AA365598B   JOSHUA       YANG                     CA          90014560036
34758254A2B835   ROCKY        YORK                     ID          90008592540
34758518A54195   THOMAS       HOLSER                   OR          90013235180
34758A9388B16B   JAMES        BYBEE                    UT          31001190938
3475B7A5A7B639   MARTY        EPPS                     GA          90013157050
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34761124A5B156   ROSALIA       FLOWERS                 AR          90004021240
34761497A8B16B   SHUNDRA       THOMAS                  UT          31034404970
347615A575598B   ADRIANA       SEPULVEDA               CA          90003875057
34761A1A94B281   VALARIE       PENIX                   NE          90013790109
34762A5635B156   BENJAMIN      HILL                    AR          90015120563
347637A5A7B639   MARTY         EPPS                    GA          90013157050
3476385924B281   HOLLY         NELSON                  NE          90014898592
34763A3395B393   NELSON        MORALES-VIERA           OR          44593320339
3476462125B393   TEVIS         WILSON                  OR          90012526212
3476493162B871   CHARLES       KIRKPATRICK             ID          90012259316
3476521985598B   MARCELINO     GONZALEZ                CA          90010512198
347652AA35598B   ALBERTO       HERNANDEZ               CA          90015482003
34765427A7B492   MANOLO        AMBROCIO                NC          90012574270
3476585A751339   NICELY        SCOTT                   OH          90007668507
34765881A91563   AILEEN        AGUILAR                 TX          90009678810
34765A2237B471   STACEY        WALKER                  NC          11016380223
3476625742B93B   OWAYSHA       BROWN                   CA          90014542574
34766275772B76   ROSSI         GOMEZ                   CO          33080622757
34766654A7B492   SHARON        DAWKINS                 NC          90007036540
3476753A42B87B   STEPHANE      GONZALEZ                ID          90012145304
34767A2217B657   MAURICE       WILLIAMS                GA          90010540221
3476833A62B871   JESSICA       WRIGHT                  ID          42007733306
347687A974B281   KELLY         FLINK                   IA          90011327097
3476911762B87B   VINCENT       LAYTON                  ID          90013821176
3476B16914124B   STACEY        GREEN                   PA          90005261691
3477193925B393   JUANA         HERNANDEZ               OR          44532049392
3477258322B93B   JUAN          CASTRO                  CA          45076505832
34772A3812B871   CLARA         STEVENS                 ID          90002400381
34774437A2B87B   YOSELIN       SORIANO                 ID          90013534370
3477482A131424   ARNEL         ALLEN                   MO          90010588201
3477524A85B156   SHAWNTEESA    NASH                    AR          23076392408
3477572495598B   EDUARDO       MARTINEZ                CA          49006497249
3477592A37B639   DERIDRA       UPSHAW                  GA          90011059203
347764A7291537   ESTHER        GREY                    TX          90012484072
3477664972B87B   ALISHA        BAKER                   ID          90002766497
3477725232B93B   DORA          TAFOYA                  CA          45097742523
3477754925B52B   MARK          ENCINIAS                NM          35084495492
3477821134B943   JUAN          ORTIZ                   TX          90002402113
3477892A44B281   SHARON        HERRERA                 NE          27098179204
3477897317B639   EMMA          TATE                    GA          90014159731
347798AA52B93B   GUILLERMO     GARCIA                  CA          90011138005
34779A5422B871   ALIREZA       ZABIHI-GILVAN           ID          90015150542
3477B74135598B   LEOBARDO      SANTIAGO                CA          90001897413
3477B844897B21   DANIEL        KING                    CO          90002518448
3477B86354B943   TIFFANY       SPEARS                  TX          76568038635
3478156192B93B   MELTRON       CLAXTON                 CA          45092865619
3478192632B871   KYLE          HARTWIG                 ID          90014849263
347822A9791563   JOANNE        RODRIGUEZ               TX          90014012097
3478282284B54B   RANFERI       CARRILLO                OK          90012888228
3478342532B93B   ISABEL        IBARRA                  CA          90014114253
3478396114B281   CHRISTOPHER   BROWN                   IA          90014969611
3478422955B331   MARGARITA     CERON SILVA             OR          90004332295
3478494754B281   MYLA          SHEPPARD                NE          90013599475
347857A638B16B   DARCEY        ZIMMERMAN               UT          90007357063
34785A6217B43B   CHAQUISE      SIMELTON                NC          90012750621
3478642A62B871   ANA           REYES                   ID          90011764206
3478658A25B393   RICARDO       RAMIREZ                 OR          90010955802
3478668A67B449   MARIE         BROWN                   NC          11033776806
3478828629152B   JOE           SAUCEDO                 TX          75005002862
3478863715598B   AIOTEST1      DONOTTOUCH              CA          90015116371
347893A3755951   JESUS         ESCALERA                CA          90009123037
3478962465B393   ADAM          TORRES                  OR          90011466246
3478B69998B163   JEREMIAH      PETERSON                UT          31037716999
3478B8A7691831   PEDRO         LOPEZ                   OK          21066758076
3478B99692B87B   MONIQUE       SHAKLEE                 ID          90013879969
3478BA9A941277   GERALD        TIMMERMAN               PA          51084470909
3479135222B835   SAVANNAH      PETERSEN                ID          90013623522
34791645A8B16B   CORBAN        SUMMERS                 UT          90009626450
3479228A25B156   MANUEL        ORTIZ-GONZALEZ          AR          90013382802
34792316A41258   ALLEN         LYONS                   PA          51008323160
3479327445B393   WINTER        ROSE                    OR          90012212744
34793A9549152B   JOSE          LUNA RESENDIZ           TX          90010770954
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3479413AA7B639   ARNEL        TATE                     GA          90014161300
3479417A12B87B   DEBORAH      SEARLES                  ID          90015271701
3479521557B492   PANCHO       RODRIGUEZ                NC          90004232155
3479533642B835   ABEL         CASTILLO                 ID          90010673364
3479566692B835   TYREE        OSRANA                   ID          90015556669
3479569987B639   ANDY         BROWN                    GA          90014386998
3479618577B492   APRIL        JENKINS                  NC          11003771857
3479628315598B   JOSE         ALEZANDO                 CA          49090412831
3479641555B52B   CHRISTINE    GARZA                    NM          35013414155
3479744675598B   MARCO        GARCIA                   CA          90010524467
3479773655B393   JAVON        PURIFOY                  OR          90014157365
3479779522B835   SHANNON      BURTON                   ID          90009627952
3479797215B52B   JOEL         PEREZ                    NM          90014099721
34797A1A891831   OLINDA       SALDIVAR                 OK          90011980108
347987A6251339   RICARDO      FOENTES                  OH          90014947062
34798A41741258   DAVID        OPFAR                    PA          90014090417
3479951174124B   JOHN         HALL                     PA          90011135117
34799A61755972   ERMENIA      RODRIGUEZ                CA          48086430617
3479B93534124B   CHRISTOPHE   STARLING                 PA          51076489353
347B177A354165   RONALD       KOPE                     OR          90012627703
347B217497B492   TEVIN        MACCASKILL               NC          90013651749
347B233A841277   NICOLE       UYSAL                    PA          51062613308
347B2591291831   CHRISTIE     WILLIAMS                 OK          90012305912
347B25A6451339   JAMES        SIMPSON JR               OH          90007955064
347B3774941285   MICHELLE     THOMAS                   PA          51064757749
347B386765B156   ROGER        THOMAS                   AR          90000368676
347B398257B639   TYTIANA      CHERRY                   GA          90014469825
347B415585B52B   ANNIE        GRIEGO                   NM          35063281558
347B418495598B   LEWIS        LARRY                    CA          90010511849
347B431722B87B   MARTINA      CAMILLO                  ID          42076473172
347B438427B492   FELICIA      MASON                    NC          11064243842
347B4628336B77   TRAVIS       WOODS                    OR          90011716283
347B484252B871   NICLOETTE    PEED                     ID          90011748425
347B5822191831   KELLY        DENNISON                 OK          21000298221
347B583A251339   EDDIE        PRITCHARD                OH          90014908302
347B6644631424   LASHALL      RUFFIN                   MO          90001726446
347B675A15B393   TINA         HAZEL                    OR          44501087501
347B711495598B   MARIA        REYS                     CA          49029581149
347B7399551339   JIMMY        CUMMINGS                 OH          90015583995
347B8342855951   MARIA        GARCIA-PESINA            CA          49014953428
347B8655641258   FREDRICK     JACKSON                  PA          51067736556
347BB2A647B449   COREY        DURHAM                   NC          90014482064
347BB33817B639   LAQUITA      WHITAKER                 GA          90012733381
3481137584B281   ANTHONY      WARE                     NE          90010983758
3481154217B43B   GIDGET       BELL                     NC          90003375421
3481165525598B   KATRINA      BERLANGA                 CA          90007256552
3481257862B93B   DAVID        GOMEZ                    CA          90012725786
3481358348B164   JONI L       GOODMAN                  UT          31015515834
3481451A37B449   DIMAS        SALDIVA                  NC          90013405103
3481585A161984   EDGAR        CARREPO                  CA          46010238501
3481719357B43B   ANTONIO      HOLLIS                   NC          90002771935
348174A257B492   JASON        CARAWAY                  NC          90014844025
3481797472B87B   RICK         JIMERSON                 ID          42089889747
3481894485B156   TEMESHA      MCCRAY                   AR          90013519448
3481B412263623   JENNIFER     CLIFTON                  MO          27518144122
3481B81A77B492   GLENN        BREWER                   NC          90012828107
3481B941A8B16B   PAYTON       GILMORE                  UT          90010389410
3482124162B835   KRISTINA     ADCOCK                   ID          90013832416
34821328A54165   JEREMY       MARK                     OR          90007603280
3482134A24B281   JENNIFER     MINSHALL                 NE          90010513402
34821832772B76   MINERVA      MARES                    CO          90006888327
3482332345B545   PAUL         MARQUEZ                  NM          90014683234
3482416225B393   SEAN         PICHARDO                 OR          44566011622
3482421387B471   JOHN         SIMMONS                  NC          11074972138
34824433A2B835   KRISTIN      THOMPSON                 ID          90014724330
3482452A75132B   T.           WILLIAMS                 OH          66016355207
3482576747B639   CORTNEY      BELL                     GA          90004987674
3482584997B449   DANIEL       SALGADO                  NC          11076748499
3482797717B492   KIMBERLI     GRIMES                   NC          90014509771
34827A53363629   SHAWN        CURTNER                  MO          90004010533
3482923A741285   SHAWN        MOODY                    PA          51020802307
3482998AA36B77   ESCEBELL     CAROLINA                 OR          90003039800
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348311A6161963   RICHARD     HEDGPETH                  CA          90014451061
3483228565B52B   SERGIO      TORREZ                    NM          35053452856
3483275265598B   FIGUEROA    ERIC                      CA          90004117526
3483298AA4B281   ERIC        WASHINGTON-MCKINNEY       NE          90003089800
34833248A91563   MANUEL      ESTRADA                   TX          90015152480
348338A9161963   RICHARD     HEATH                     CA          90014078091
34833A69836B77   DALE        RENTZ                     OR          90012230698
3483494737B436   MARIA       RUIZ                      NC          90007949473
3483568957B639   MITCHELL    MILLER                    GA          90011346895
3483652277B449   DWIGHT      GERALD                    NC          90012915227
3483663875598B   AIOTEST1    DONOTTOUCH                CA          90015116387
348383A3691831   RAMONA      BOONE                     OK          90010793036
3483842615B393   JAMES       MILLER                    OR          44562474261
3483979315B52B   MICHELLE    LENTE                     NM          90008557931
3483B41A62B871   RECHELLE    MIRANDA                   OR          90014934106
3483B76A391563   LORENZO     GARCIA                    TX          75089367603
3483B9A117B639   RASHARD     MONIGAN                   GA          15059019011
3484166525743B   FRED        MORGAN                    IN          90011326652
34841A7417B449   TALIA       MASSEY                    NC          90014950741
348427A855B52B   MARTIN      CHAVEZ                    NM          90008337085
3484286482B835   YVETTE      NORMAN                    ID          90014038648
3484316A12B87B   ALEJANDRO   VIDRIO                    ID          90007891601
3484377997B639   DEDRA       SCHULTZ                   GA          90014507799
34844556A55972   JOSE        RODRIGUEZ                 CA          90012165560
34844678A5B156   JOSHUA      HERNANDEZ                 AR          90001876780
3484518777B492   FEDERICO    ROJAS                     NC          90002871877
3484562832B87B   LOGAN       BARSANTI                  ID          90006706283
3484572674B943   DWIGHT      LEBLANC                   TX          90001087267
34845A55241258   DERRICK     ESTES                     PA          90014460552
3484655837B639   AQUILLES    AGUILAR PEREZ             GA          90014165583
3484663437B449   TIARA       MOBLEY                    NC          90014686343
34846749A4124B   TYREE       BROWN                     PA          90011787490
34847185A4124B   WILLIAM     VELEZ                     PA          90013271850
34847865A61984   ADRANA      MACIAS                    CA          90007638650
3484819475B52B   DIANE       ESQUIVEL                  NM          35071781947
348482A1341277   SONYA       JOHNSON                   PA          90006842013
3484842912B835   LIZ         JARAILLO                  ID          90015564291
34848A1285B156   ROLLY       COVET                     AR          90010120128
348491A347B639   CHARLES     JOSEPH                    GA          15092051034
348491A644124B   COLLEEN     MONAGHAN                  PA          90012581064
34849922A4B281   SYLVESTER   RHODES                    NE          27066169220
3484B64A35132B   TRISH       LANDERS                   OH          90004536403
3484B852241285   TANIA       TAYLOR                    PA          90004838522
34851A82191831   THOMAS      WILBANKS                  OK          90008880821
34851A99351339   KEVIN       STEVENS                   OH          66027180993
3485263875598B   AIOTEST1    DONOTTOUCH                CA          90015116387
3485366845598B   PIAYENE     MOUA                      CA          90011456684
348538A5791563   CARLOS      GRIMES                    TX          90004628057
348538A9291563   ELIZABETH   LOPEZ                     NM          90006608092
3485419735B156   LAVONICA    MCGEE                     AR          90014711973
34854863A91563   VANESSA     ACEBES                    TX          90012138630
3485558174124B   THOMAS      BITTNER                   PA          90011335817
348565A377B449   MICHELLE    WILLIAMS                  NC          11082795037
3485664875B52B   CELCILIA    STRADER                   NM          35037916487
34856AA5891563   ERNIE       AGUIRRE                   TX          90009120058
348574A257B492   JASON       CARAWAY                   NC          90014844025
3485848295B393   BRYAN       DOWLING                   OR          90009594829
3485993897B492   THOMASINA   MCLEAN                    NC          90014599389
3485B45954124B   TIM         WHITTINGTON               PA          90001354595
3486123837B492   JEANETTE    DAVIS                     NC          11087782383
34861819772B76   ASHLEY      MOORE                     CO          33075898197
3486219122B87B   SARA        QUIMBY                    ID          42073241912
3486232747B449   MIKE        LONG                      NC          11006463274
34862A3238B16B   KRISTA      WHITELEY                  UT          31037240323
3486319A82B835   ROWDY       ROBLING                   ID          90013681908
3486357652B871   RANDOLPH    SNOWBALL                  ID          90011875765
348643A967B492   DERIUS      MILLS                     NC          90010813096
34865A3974B281   ERICA       LEYTHAM                   IA          90012260397
34865A5A77B449   LONNIE      BROWN                     NC          90011980507
34865A87A7B639   JUAN        SANCHEZ HERNANDEZ         GA          90010090870
34866228974B7B   MICHELLE    PRICE                     OH          90014872289
348667A954B281   MARIA       GARCIA                    IA          90013807095
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3486749135B52B   MARYBEL       RUIZ                    NM          90015124913
34867626A2B93B   KARLA         GONZALEZ                CA          90012456260
3486794857B639   MARY          REEVES                  GA          15095369485
3486835915B393   JOSE          CHAN RISCAJCHE          OR          90014803591
3486862287B492   DANIELLE      REID                    NC          90012426228
3486897A82B871   ROSY          GONSALEZ                ID          90013329708
34868A99241285   DANYELLE      COLEMAN                 PA          51016510992
3486924294124B   RICHARD       TUITE                   PA          90014652429
3486979A44B281   JOEL          ORTIZ                   NE          90007517904
34869A89191563   CLAUDIA       SERRANO                 TX          75010280891
3486B12992B835   AMBER         HOFFER                  ID          42055241299
3486B257941258   BETHANY       DERBY                   PA          90012182579
3487144732B87B   VIRGIL        TURNER                  ID          90002004473
3487214452B93B   THOMAS        GALAN                   CA          90012761445
3487237167B492   EVELENE       BROWN                   NC          90010893716
34873344A7B429   JOSE          ALFARO                  NC          90014823440
3487459385B156   JENNIFER      OBARR                   AR          90012915938
3487492413B365   SUSAN         CORBIN                  CO          33050689241
3487497377B639   JASMEKEA      FITZPATRICK             GA          90010129737
3487515884124B   ALBERT        MASSUCCI JR             PA          51043491588
34875693A9125B   VERNARD       JONES                   GA          90002726930
3487614257B449   DIANA         ASKEW                   NC          11002781425
3487645237B395   CAROLYN       JOHNSON                 VA          90012394523
34876A33191563   JASMINE       LARA                    TX          90013110331
3487733985B393   BLANCA ERI    FIGEROA                 OR          90014903398
3487753392B835   TICHELLE      BERG                    ID          42082445339
3487831747B639   KATHLEEN      WHITEHEAD               GA          15029073174
3487888A35B393   JAMES         PARKER                  OR          90003128803
3487988795598B   ESTHER        VASQUEZ                 CA          90007808879
34879A6922B871   FRANK         GOMEZ                   ID          90008970692
3487B12662B871   TAMMY         SNOW                    ID          90012361266
3487B237A5B52B   NATHANIEL     HOEFER                  NM          90013072370
3487B73517B471   LINIAH        HAND                    NC          11068847351
3487B76887B449   MARCOS        LIMA                    NC          90010257688
348813A475B156   ROBERT        JUSTICE                 AR          90012903047
34881A28A2B93B   MARIA         PAYNE                   CA          90013910280
34881A5427B639   DWANTAVIOUS   DAVIS                   GA          90014390542
34881A66751339   STEVEN        GREGGER                 OH          90015370667
3488274849152B   CELIA         SAPIEN                  TX          75077257484
3488293852B93B   NANCY         TIDMARSH                CA          90014929385
3488295AA5B156   TERESA        GRIFFIN                 AR          90003059500
34882A2237B471   STACEY        WALKER                  NC          11016380223
348837A3241285   MATT          QUINCE                  PA          51046337032
3488444952B271   ISHA          EDWARDS                 DC          90009154495
3488537675598B   MIGUEL        ALMAQUER                CA          90011513767
3488549857B492   NARENI        SILVD                   NC          90007334985
3488569377B639   MARCUS        SCOTT                   AL          15006726937
348857A2355972   JORGE         ACEVES                  CA          90012137023
348858A942B835   LANA          STEPHENS                ID          42015058094
34885995A61963   DARIO         GRANADOS FLORES         CA          90013989950
34886639A41258   LARAI         JOYNER                  PA          90013596390
3488689252B93B   DAVID         MOORE                   CA          90007408925
3488695162B871   JEFF          WALKER                  ID          90014849516
34886A27954165   ASHLEY        PYLE                    OR          90013570279
3488915AA55951   NINFA         ZAMORA                  CA          90005711500
3488952965B393   JULIA         OLSON                   OR          90012645296
3488976582B835   LACEY         BALDWIN                 ID          90002737658
3488B29A741258   CHANTELLE     MILLER                  PA          51078002907
3488B33312B87B   GLORIA        MUNOZ                   ID          42035823331
3488B36AA91563   JUAN          VERDUGO                 TX          90013833600
3488B494591563   JUAN          VERDUGO                 TX          90015034945
3489115AA55951   NINFA         ZAMORA                  CA          90005711500
3489221455B156   LADEIDRA      MOORE                   AR          90013622145
3489262397B32B   WILLIAN       PEREZ                   VA          90010766239
34893A35951339   BRIDGETTE     ADAMS                   OH          90007760359
3489482718B16B   SHANE         FURNISS                 UT          31019948271
3489683257B639   ANDRES        RUIZ NUNEZ              GA          90014178325
3489691A441258   MIKE          VITOVICH                PA          90004849104
34896A23531424   MICHAEL D.    NORRIS                  MO          27574820235
34898683A7B449   CRYSTAL       BROADIE                 NC          90014846830
34899556457B79   TIA           SPEARS                  PA          90014835564
34899747A2B857   MICHAEL       COLEMAN                 ID          42093267470
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3489982A42B29B   MONTANETTE     MILLER                 DC          90012428204
3489B162941285   LENORA         CORNICK                PA          90013961629
3489B191491232   GILBERTO       HERNANDEZ              GA          90007411914
3489B316255972   AMY            JUAREZ                 CA          48094023162
3489B59185B52B   GERALDINE      DURAN                  NM          90012905918
3489BA31A51339   LANCE          WELLS                  OH          66040960310
348B1386A4B281   HILARIO        SMITH                  NE          90013223860
348B1443491538   STEPHANIE      ARMENDARIZ             TX          90013154434
348B147662B835   ROGER          HANCE                  ID          90014344766
348B1613241285   TIMOTHY        HALSEL                 PA          51093586132
348B184A491885   LORRAINE       PEREZ                  OK          90001378404
348B26A5A61963   YESENIA        HERNANDEZ              CA          90012486050
348B326344124B   SAMANTHA       COTTRELL               PA          90007752634
348B3263661963   MICHAEL        COLORUNDO              CA          90014122636
348B3476A36B77   MICHAEL        POLEN                  OR          90000144760
348B359A92B93B   JAMIL          TALIB                  CA          90012615909
348B3A1A355972   JAYMIE         MCCLAIN                CA          90010940103
348B3A2137B639   CHELSEA        CONWAY                 GA          90006440213
348B416575598B   VICTOR         LOPEZ                  CA          90012281657
348B421942B87B   MARIA          GARCIA                 ID          90011482194
348B4544631424   DONNELLA       BUFORD-LOVE            MO          90010435446
348B486762B93B   ROSA           ORANDAY                CA          90014638676
348B54A454B943   VALERIE        WHITE                  TX          76509884045
348B568927B639   FARMONTA       BROWN                  GA          15080366892
348B577745B52B   KIMBERLY       CASTILLO               NM          90012977774
348B5888455972   KAYCEE         SMITH                  CA          90013158884
348B5927A55972   BRITTANY       SERPA                  CA          90014429270
348B59A5361963   MIKE           HAWK                   CA          90012239053
348B6388191831   RINA           RESENDIZ               OK          90014913881
348B6A3417B449   ZONOBIA        WHITE                  NC          11075840341
348B75A9151325   MARVIN         HATCHER                OH          66060765091
348B767862B87B   TODD           MYERS                  ID          90010316786
348B78A644B281   EBONY          HILL                   NE          90010468064
348B8586455972   LUIS           BOLELLO                CA          48049435864
348B8A2214B943   OLEAN          HABORS                 TX          90012330221
348B9115A7B639   YVETTE         DANIELS                GA          90007501150
348B9131477368   SHARON         RAMSEUR                 IL         90015171314
348B923294B281   AMBER          PRICE                  NE          27005522329
348B94AA85B393   LACY           TURLEY                 OR          90012734008
348BB377331424   KATHY          WILLIAMS               MO          27562163773
348BB79A25B156   DEMETRIUS      THOMPSON               AR          90011007902
348BB883441277   CHARLENE       CARROLL                PA          90005958834
348BB95A472B32   TREIVA-MARIA   JOHNSON                CO          90004919504
3491133A155972   NICOLETTE      QUIRAPAS               CA          48079703301
3491136A754165   STURMAN        STEVEN                 OR          90012553607
34911683A8B16B   ANDREW         ADAMS                  UT          90014736830
3491261414B281   PAULA          PEAK                   NE          27089266141
3491321225B156   SCOTT          BELMAREZ               AR          23096492122
3491333532B871   URIEL          CASTILLO               ID          90013833353
3491351A191232   VERONICA       FIELDS                 GA          90009645101
3491397754B281   DANIEL         SULLIVAN               NE          27079599775
34913A8845B52B   ADRIAN         MARTINEZ               NM          90010950884
3491412A98B16B   PARKER         AMY                    UT          90009011209
3491532232B871   PAYGO          ACTIVATION             ID          90014993223
34915347572B88   MOISES         SALAS                  CO          33089173475
3491551755B393   PATRICIA       CRUZ MOLINA            OR          90015125175
3491616314B281   LISA           MCALPINE               IA          27099061631
3491628445B52B   LUIS           PALMA                  NM          35097692844
3491663875598B   AIOTEST1       DONOTTOUCH             CA          90015116387
3491666255B58B   JERRY          ESPINO                 NM          90007866625
3491674A95B393   JOSEPH         DOSS                   OR          90014367409
3491758A27B492   JAMES          OATES                  NC          90015035802
3491885548B16B   RYAN           CAMERON                UT          90004218554
34918A57891563   ANGELICA       GURROLA                TX          90010100578
3491992152B835   JOEL           HOCH                   ID          90004079215
3491B556741258   MARY E         SHIPERS                PA          90002485567
3491B579A4B943   ALEXIA         NED                    TX          90001145790
3491B642991563   FELICIA        MEDRANO                TX          90013296429
3492133864B281   NATHAN         CLIFTON                NE          27054013386
3492167535598B   MARCOS         GARCIA                 CA          90010516753
3492193232B93B   PATRICIA       DORAN                  CA          45074009323
34921A8882B923   CESAR          DOMINGUEZ              CA          90011140888
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3492266415B375   ROBERT            GARCIA              OR          90004436641
3492421318B16B   CASSAUNDRA        LUCERO              UT          31024582131
3492438832B93B   BILLY             PEREZ               CA          90012743883
34924A59351339   JESSICA           ALLEN               OH          90001780593
3492511497B471   ARECELI           ARETEAGA            NC          11038101149
3492529335598B   MACLAVIO          MALDONADO           CA          90012902933
34925A12A54165   GREGORY           CASTANEDEZ          OR          90012780120
3492614887B639   LEONEL            MORALES             GA          90014891488
349263A225B345   JORGE             MIRANDA             OR          90006443022
3492675162B87B   MALLISSA          MORRIS              ID          42043967516
3492735712B871   TESSA             TOWNSEND            ID          42093703571
3492741197B449   TADELE            MARYEA              NC          90012944119
3492744A451339   HECTOR            ESCOBALES           OH          66013354404
3492882A62B871   HAROLD            BROTHERS            ID          90009968206
34928897A91563   MARIANA           SOLIS               TX          90011298970
34928A34561963   GEORGE BARRAGAN   ROBLES              CA          90011460345
349293A612B835   SIOBHANN          MARRON              ID          42034403061
349294AA97B449   MODESTO           NAVARRO MARTINEZ    NC          90013194009
34929895A8B16B   ANDREA            PETERSON            UT          31087878950
3492B137155972   MICHEAL           MARTINEZ            CA          90000681371
3492B871954165   SHAWN             STEELE              OR          90003608719
3492B97757B639   CATRINA           WILLIS              GA          90010519775
3493258477B471   ADA               KANTE               NC          90002285847
34932AA5951339   AMANDA            DEATON              OH          66069300059
3493321A141285   THOMASINA         HELMS               PA          51012902101
3493364762B871   CLARISA           NITU                ID          90008596476
3493412737B639   SHANTAVIA         HERBERT             GA          90012121273
3493416A341285   LISA              GREEN               PA          90014811603
34934635A51339   JENNIFER          FRAZIER             OH          90002536350
34935892A91831   DENISE            MEADOWS             OK          90012718920
349371AA75B52B   ALINA             CARDOZA             NM          90014571007
34937A2237B471   STACEY            WALKER              NC          11016380223
34937AA234B281   JAHANA            GRACE               NE          27091720023
349382A747B43B   STEPHANIE         RICE                NC          11017342074
349392A2591831   DENNY             PALACIOS            OK          90012332025
3493935765B52B   ALEJANDRO         PEREZ               NM          90014783576
3493B53155B393   JEFF              WESSON              OR          90005585315
3493B64597B492   ANA               ABARCA              NC          90005606459
3493BA64251339   ANTHONY           HENDERSON           OH          90007030642
3493BA82955972   MAX               GRACIA              CA          90014200829
3494328584B281   ALEXIS            BACH                NE          90015542858
3494359772B87B   ALICIA            PURDY               ID          42012575977
349443A548B16B   ANDRE             A NAVA              UT          90009553054
349448A597B449   JOSE              CHAVEZ              NC          90009928059
349451A584B281   AMADOU            DIOP                NE          27061761058
3494545895B156   ELLA              HUMPHREY            AR          23071694589
3494577A72B87B   KRISTA            BRANDER             ID          90014237707
34945A65391831   MD MAHBUB         ALAM                OK          90008970653
3494676455598B   MAURO             HERNANDEZ           CA          90011987645
3494762457B639   TYANNA            TAYLOR              GA          90014186245
349482A957B492   BRENT             QUICK               NC          90010792095
3494851682B835   SHAUNA            BUTTARS             ID          90011085168
3494971A95B156   ELIZABETH         MAGSSY              AR          90013757109
3494B379241258   KATHLEEN          BOVA                PA          51043693792
3494B51A15598B   DEANNA            FRECH               CA          49001995101
3494B779561963   PEGAY             PAYNE               CA          90011297795
349512A717B449   KAYLAH            GORDON              NC          90005702071
3495167692B871   KIMBERLY          FREEMAN             ID          90003396769
3495238634124B   DAMERA            PITTS               PA          90012683863
349525A814B281   WANDA             KRAMER              IA          27047375081
3495271664B542   TAMICCA           JONES               OK          90014727166
34952A1272B871   MARISOL           ARELLANO            ID          90012230127
34952A4262B87B   IZABELLA          MARTINEZ            ID          90014830426
3495318352B871   JOSE              MORA                ID          90006031835
349535A237B639   LASHAUNA          JONES               AL          90014935023
3495477A751339   RODNEY            ISBELL              OH          90008527707
3495533A72B87B   JOSE              MILANEZ             ID          90010823307
3495636835B393   ROSMERI           G                   OR          90015213683
3495689A961963   TRINIDAD          JACINTO             CA          90011578909
34956A3775B393   ROSMERI           GUSMAN              OR          90006850377
3495766A95B58B   JUAN              BARRAZA             NM          90010826609
34957A91941277   JAMES             OBRYAN              PA          90012940919
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3495B22522B93B   DANA          SUMPTER                 CA          45071052252
3495B34AA91967   DIONNE        WILLIAMSON              NC          17043523400
34961A1894B281   OMAR          OROZCO                  NE          90013620189
34962674A41285   KOLB          DEB L                   PA          51099006740
34962A13851339   KAITLYN       SKIDMORE                OH          66089250138
3496451285B52B   FRANCISCO     GUERRERO-SIFUNETES      NM          35065415128
3496523715B52B   GREG          FLORES                  NM          35005712371
3496544A572B76   STEPHANIE     FAVRO                   CO          33063024405
3496558559125B   MOKINA        POLITE                  GA          90013625855
3496559199125B   MONIKA        POLITE                  GA          90001115919
34965A53991563   KASSANDRA     LUCERO                  TX          90003610539
3496651A141258   SAVANNAH      KEIBLER                 PA          90013615101
3496653435598B   JAMES         MOORE                   CA          49088075343
3496668A67B449   MARIE         BROWN                   NC          11033776806
3496674812B835   THOMAS        BROWN                   ID          90011067481
3496697542B93B   MICHELLE      YEAGER                  CA          90010919754
34966A39741258   WAYNE         HEGERTY                 PA          51050050397
349678A5891563   ROCIO         GOMEZ                   TX          90007788058
349679A512B835   DIANA         GAMMEL                  ID          90013209051
34967A6893B324   GHIDE         ASGODOM                 CO          90006380689
3496815567B471   ROBERT        SMITH                   NC          11006221556
349682A447B449   CINDY         MEZA                    NC          90013922044
3496881A32B87B   DANA          SNEBOLD                 ID          90000608103
3496B454541277   RICHARD       MILLER                  PA          90006634545
3496B68A491831   MELISSA       BOESE                   OK          21050966804
34971274A91831   DEVLIN        RAMEY                   OK          21037972740
3497146845598B   MICHAEL       GARCIA                  CA          49011344684
34971A5537B639   ALECIA        UPSHAW                  GA          90012360553
349729A452B93B   JENNY         SANDOVAL                CA          90011259045
349739A642B835   SABIT         BEKTIC                  ID          42017189064
34973A3925B52B   PAT           LEROY                   NM          90014650392
3497535987B449   LARRY         HUNTLEY                 NC          90014653598
3497574882B93B   PATRICIA      QUINTERO                CA          90011467488
3497812625B393   IGNACIO       RUIZ                    OR          90002821262
3497833734B281   DEANNA        BUCKINGHAM              NE          90005403373
3497985924B281   HOLLY         NELSON                  NE          90014898592
3497B22522B93B   TIFFANY       ALVAREZ                 CA          90012762252
3497B2A8451339   ZACHARY       SKIDMORE                OH          66089252084
3497B454891563   RAUL          CRUZ                    TX          75014484548
3497B4A7641277   MICHAEL       MARRON                  PA          51034554076
3497B54A941285   ROBERT        ROJTAS                  PA          90004675409
3497B6A3991831   CHELSEA       DUNCAN                  OK          90012596039
349816A634B562   JAMIE         PALERINO                OK          90006246063
3498252A655951   JESSICA       MORENO                  CA          90005715206
3498269727B492   JACGUELINE    MS DOWELL               NC          11055756972
3498374A95598B   GERARDO       HUERTA                  CA          90000767409
3498435685598B   MARK          BROOKS                  CA          90013043568
3498454858B195   ERIC THOMAS   EMILLEE THOMAS          UT          90005715485
3498487322B835   WILLIAM       WALTERS                 ID          90013188732
34985A24161474   ANTONYA       ALLEN                   OH          90014290241
34986457A2B93B   NIKKI         VAUGHN                  CA          90013324570
3498671342B835   GUY           NASH                    ID          42041267134
3498697A761963   VICKY         JACKSON                 CA          90013919707
349873A7161963   JOHN          ROWLAND                 CA          90013033071
3498771395598B   CHRISTI       CECIL                   CA          90001387139
349889A574B285   DYLAN         WARREN                  NE          90004169057
3498991787B471   KEVIN         FAIR                    NC          11093669178
3498B132341277   RASHAWNDA     THOMPSON                PA          51038571323
3498B72155B393   DOUGLAS       PACHNIK                 OR          90015077215
3499123132B93B   ROSAMARIA     PUEBLA                  CA          45053152313
3499228355598B   ANTONIO       MAGANA                  CA          90013922835
349922A558B124   LISA          SCOTT                   UT          90001182055
34992362972B76   JOSEPH        LOPEZ                   CO          33026223629
3499236527B492   JAMES         OATES                   NC          90014973652
349924A427B449   HUGO          RAMIREZ                 NC          90012174042
3499364528B16B   RICKY         GENTA                   UT          31007186452
3499364852B835   FRANCINE      ALBRECHT                ID          90012256485
3499392367B449   SHATARA       DEAS                    NC          90013399236
3499442A85B393   SAMUEL        ORTIZ                   OR          90013054208
3499473742B835   MAKENNA       SCHULER                 ID          90013967374
3499486584B597   MATTHEW       BELLAH                  OK          90010718658
34996457A5598B   NORMA         TORRECILLAS             CA          90000934570
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3499659547B43B   ROBBIE       IZZI                     NC          90006675954
3499684427B639   LAMAR        SLAUGHTER                GA          90014768442
349991A495B156   PATRICIA     CASTELLANO               AR          23088031049
3499944322B93B   ANDREA       COLLINS                  CA          90011264432
3499961A354165   SERAFIN      PEREZ OLIVERA            OR          90013646103
3499B25322B87B   JOHNNY       TOVAR                    ID          90014912532
3499B897A91563   MARIANA      SOLIS                    TX          90011298970
349B1451555972   MARIA        GONZALEZ                 CA          48090304515
349B158147B449   OSCAR        ANDRADE                  NC          90010375814
349B2234655951   AMALIA       HERNANDEZ                CA          90005712346
349B24A139152B   ROSA MARIA   ESCORZA                  TX          90005164013
349B264834124B   DEBRA        BAILEY                   PA          90012786483
349B318725B156   ERIC         COLEMAN                  AR          90015181872
349B3666255951   IVAN         PATINO                   CA          49070986662
349B411A484748   SANDRA       RODRIGUEZ                 IL         20513951104
349B423A651339   CHINA        PHILLIPS                 OH          90013982306
349B521545B375   JULIO        TORRES                   OR          90008142154
349B5526231424   BRENDA       ROBERTS                  MO          90010965262
349B599985B156   KIMBERLY     POWELL                   AR          90014019998
349B5A8444124B   ALEXANDER    LEEHR                    PA          90013940844
349B689A82B871   DEANN        KOCHMEIER                ID          42087068908
349B7135251339   CARA         HENRY                    OH          66030111352
349B71A8841277   HECTOR       GAONA-AVILES             PA          90007971088
349B7566772B32   EDWARD       GOODWIN                  CO          90010195667
349B759635598B   RACHEL       SEAGRAVE                 CA          90010515963
349B8598A5B156   JENNIFER     WALKER                   AR          90013165980
349B938612B93B   CHRIS        STONE                    CA          90014663861
349B9395691831   JUAN PABLO   LUNA                     OK          90010863956
34B11528861963   WILLIAM      MCCASTLE                 CA          90012065288
34B11848491563   LORENZA      RAMIREZ                  NM          75043398484
34B118A8631424   TERRANA      LYNN                     MO          90004838086
34B1192245B52B   NANETTE      LOPEZ                    NM          90014729224
34B1199527B639   PAMELA       JOHNSON                  GA          90013939952
34B12122691831   CHRISTY      CARTWRIGHT               OK          90012051226
34B1239835B393   YESENIA      AGUILERA                 OR          90005753983
34B1292A741277   MICHELLE     SINGER                   PA          51028449207
34B13125531424   JEWEL        HUNTER                   MO          90011001255
34B1314684124B   DONALD       KESTNER                  PA          51016841468
34B132A1472B76   IVIS         DONAIRE                  CO          90004332014
34B1351532B87B   JENNIFER     SHARP                    ID          90011685153
34B13691255951   GONZALO      PERALES                  CA          90001026912
34B1373AA41277   TWANDA       JOHNSON                  PA          51037867300
34B14A44561963   SCOTT        JACKSON                  CA          90012920445
34B1566692B87B   WENDY        KIDDER                   ID          42089376669
34B1567652B93B   ESMERALDA    ALBERTO                  CA          90012866765
34B1587814124B   SUSAN E      GIVNER                   PA          90011198781
34B16714791563   EBENEZER     ANOM                     TX          90012867147
34B1682A351339   KELSEY       STOCKUM                  OH          90013658203
34B1683162B93B   MARIA        LUGO                     CA          90014248316
34B1686537B639   MICHAEL      WOODLAND                 GA          90014078653
34B17112331424   MARCUS       DAVIS                    MO          90013541123
34B1746A12B835   CHRISTINE    RIDGWAY                  ID          42036464601
34B17832191831   BRIAN        HINSHAW                  OK          90013678321
34B1787AA55972   ISAAC        SANDOVAL                 CA          90011468700
34B17A38857B79   BELINDA      WILLIAMS                 PA          90015050388
34B183A5A41258   JAMES        BROWN                    PA          90006503050
34B1864858B16B   BREANN       CHAPPEL                  UT          90013646485
34B1998897B639   RACHEL       SANTOS                   GA          90009279889
34B1B61167B639   DANICA       SAXTON                   GA          90014726116
34B21A38391563   MELISSA      HERNANDEZ                TX          90001710383
34B22172161963   JUAN         CARBAJAL                 CA          46016071721
34B22274761963   JUAN         CARRVAJAL                CA          46099072747
34B22354A2B87B   STEVEN       PIPKIN                   ID          90013543540
34B22499841258   LUCKY        LUCIANO                  PA          90014554998
34B2259A441277   JASON        WYANT                    PA          90011435904
34B2345257B492   JUAN         VILLARREAL               NC          90012804525
34B23894961963   RAYMOND      BEYTO                    CA          46081758949
34B248A757B492   EMILY        MOSS                     NC          90009758075
34B25314954165   NICHOLE      COSNER                   OR          90009453149
34B2568992B93B   AUTUMN       ROSE                     CA          90012866899
34B25A1883B39B   WILLIAM      FOSTER                   CO          33079900188
34B26222255972   FRANCISCO    MENDOZA                  CA          90012482222
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34B26774A41277   ANTHONY        AYERS                  PA          90013197740
34B2694295B156   ANESHA         GONER                  AR          90013349429
34B26A2455598B   LUIS           JOHNSON CORTEZ         CA          90011310245
34B2756534B281   TROY           SMITH                  NE          27043315653
34B277A6391563   HECTOR         MAGALLANES             TX          90009387063
34B27894851321   CHRISTINE      YOUNGER                OH          90000818948
34B27983355972   MISTI          GONZALES               CA          90011029833
34B279A765598B   KA             XIONG                  CA          49056739076
34B28877954165   MICHELL        SCHULTZ                OR          47007188779
34B2911682B871   MICHAEL        SEWARD                 ID          42091011168
34B2919258B16B   BRITTANY       PEATS                  UT          90010721925
34B2977588B16B   JOSEPH         BURTON                 UT          90015167758
34B2977885B393   TYRIN          HARRIS                 OR          90013467788
34B29A4274124B   STEPHON        COOPER                 PA          90011130427
34B31347541258   MICHAEL        MURPHY                 PA          90012433475
34B31925A5B52B   MONICK         SALAZAR                NM          35055029250
34B3246A97B43B   ZACHARY        SMITH                  NC          11008994609
34B33425372B76   NANCY          VARGAS                 CO          33074474253
34B33617155972   TERRY          SILLS                  CA          90012156171
34B33856341258   BENJAMINIA     SMITH                  PA          51008608563
34B33914A91232   ALTON          BRANNEN                GA          90012089140
34B3438315B52B   JUDY           ZORDEL                 NM          35095833831
34B3445314B52B   GRICELDA       GOMEZ                  OK          90010594531
34B3568A47B639   DEMETRICA      JACKSON                GA          90008106804
34B356A838B16B   TRACEY         ARCHIBALD              UT          31078686083
34B359A424124B   CAITLIN        CULLEN                 PA          51075329042
34B3615957B449   KONSTANTINOS   AMVRAZIS               NC          90013961595
34B3673267B492   VICTOR         SLIVA                  NC          90010757326
34B3677152B87B   STEVE          COKER                  ID          90013467715
34B36994761963   JAMEEL         ZILLO                  CA          90014889947
34B3717848433B   CRETA          MIDDLETON              SC          90000721784
34B37617891831   IRENE          MCCOURT                OK          90014906178
34B3765572B835   TAMMY          VALUET                 ID          42076646557
34B37757855972   ROXANNE        WILLIAMS               CA          48010667578
34B37895291831   DAULTON        DAY                    OK          90013778952
34B38523931424   TERRIE D       GREENE                 MO          90002275239
34B3873987B639   HILL           EUGEINA                GA          15095137398
34B3896A72B87B   RODNEY         AKERS                  ID          90014739607
34B39398454165   ORIVA          LUNA                   OR          90015263984
34B3942512B93B   KIMBERLEE      BLOYED                 CA          90006864251
34B39A4684124B   CHRIS          ROBINSON               PA          90011070468
34B3B815A7B639   BRITTNI        SEARCY                 GA          90014888150
34B3BA3645B393   THOMAS         WALKER                 OR          90010320364
34B4134695598B   STEPHANIE      SANCHEZ                CA          49065203469
34B42691391563   DENISE         FRIAS                  TX          90013196913
34B42A31254165   DAVID          ISAACSON               OR          47090370312
34B43871672B32   WHITNEY        DEGROOT                CO          90001878716
34B43877A4124B   JOSHUA         RIVERA                 PA          90014018770
34B43A5718B16B   MARIO          TOLENTINO              UT          90015340571
34B4434615B393   SHERRI         HUTCHISON              OR          44538633461
34B44A5397B639   DARRELL        PETERSON               GA          90015250539
34B4547294124B   CENTERRIEA     CARPENTER              PA          90002194729
34B45918A61963   DENISE         VALENCE                CA          46016119180
34B46148A7B639   TIFFANY        DIXON                  GA          90013941480
34B461A487B43B   LEYDI          ALVAREZ                SC          11071341048
34B4893A741258   CHARLES        KANNERLY               PA          90007069307
34B48959755972   ALFREDO        ALARCON                CA          90010939597
34B4922375B393   TANISHA        SANDERS                OR          44509112237
34B49242A5B393   ERIC           RAMEY                  OR          90010942420
34B49358841285   ALEXZANDRA     FISHER                 PA          51011443588
34B4961117B43B   KELLI          GRAY                   NC          11018126111
34B4B15165B393   MAURICIO       ORTIZ                  OR          90011211516
34B4B373155951   MARTHA         BERROS                 CA          49028653731
34B4B619A7B449   SHONTELLE      WILSON                 NC          90014686190
34B513A265598B   HEAVENLY       JOHNSON                CA          90015573026
34B519A3951339   JAE            RIVERA                 OH          90015139039
34B5228512B93B   JESSICA        ABBEY                  CA          90012092851
34B5254144B221   EDDIE          HILLIARD               NE          90001035414
34B528A5941285   JASON          BLACK                  PA          90005788059
34B52A39791831   HAROLD         EARL                   OK          90013940397
34B5312632B87B   JOSE ZAPATA    ZAVALA                 ID          90004291263
34B53784141277   ANNIE          SLIVKA                 PA          51056317841
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34B53918661963   RICKY        JOHNSON JR               CA          90011299186
34B54514A91831   ANTONIO      JASSO                    OK          90013045140
34B553A6461963   MICHELLE     SCHREIBER                CA          46016143064
34B5558535B156   CHARLES      STEWART                  AR          90015125853
34B55713A4B281   DONNA        GARLUE                   NE          90006937130
34B55812636B77   ENGRACIA     ESCOBAR                  OR          90002238126
34B5628242B87B   SHELLIE      AYRES                    ID          42007552824
34B5648912B871   NICHOLE      GONZALES                 ID          42038214891
34B5839812B871   SAMUEL       LONGSTREET               ID          42037803981
34B58984991563   JUDITH       LEANOS                   TX          75045499849
34B5949A855951   JORGE        NAVARO                   CA          90003314908
34B5961442B871   PEDRO        PEREZ                    ID          90002116144
34B61254A2B87B   SHIRLEY      GERNES                   ID          42098722540
34B61779791549   DARIO        RODRIGUEZ                TX          90002817797
34B61AA2551339   JASON        WILLIAMS                 OH          90004880025
34B62621241258   DEAN         MILKO                    PA          90013846212
34B6285722B87B   FRANCO       MEDINA                   ID          90010768572
34B632A7741285   DORA         SCHWARZ                  PA          90003702077
34B63332655972   KELSEY       FERNANDES                CA          48038763326
34B6345955B393   ANDREW       SCHAFFER                 OR          90009174595
34B64711991831   BRONSON      BROWN                    OK          21071567119
34B65295A5B393   ANNE MARIE   ETUNDY                   OR          90003792950
34B65875455972   ISARAEL      ACERO                    CA          90004988754
34B66635251339   JESSICA      FULTZ                    OH          90008936352
34B66951955972   JENNIFER     RYAN                     CA          48000339519
34B66AA1A7B492   JIMMY        WHETSTINE JR             NC          11002740010
34B67274554165   OSCAR        CALDERON                 OR          47019602745
34B6756825B177   KEVIN        LEE                      AR          23007745682
34B6835384124B   STEPHANIE    JARZYNKA                 PA          51039363538
34B68558A7B639   TANISHA      BOSWELL                  GA          90011005580
34B68579A31424   NATHAN       MORGAN                   MO          90008995790
34B6865AA2B87B   GINA         HALLMAN                  ID          42073196500
34B68747454165   SHANNON      LINGERFELT               OR          47089837474
34B6932477B639   TURONICA     RANEY                    GA          90014053247
34B69362455972   EDUARDO      RUEALCAVA                CA          90012463624
34B69512631424   STACEY       MOSMAN                   MO          27593775126
34B69658851339   PEGGY        BROWN                    OH          90006606588
34B6993217B449   ORLANDO      ARTEAGA                  NC          90013629321
34B69A5592B87B   AMBER        WALTERS                  ID          90009890559
34B6B759741258   RICHARD      FAZIOO                   PA          90006767597
34B6BA18591563   MARIE        MORENO                   TX          90007840185
34B7135812B835   ALISON       CROW                     ID          90001763581
34B71435A8B16B   HARDEN       BURGIN                   UT          90008604350
34B71469241285   TONY         LITTLE                   PA          90014024692
34B7165985598B   TERESA       NEGRETE                  CA          90001836598
34B719A838B16B   DARREN       CURTIS                   UT          90013949083
34B7228244124B   DAEQUALE     PLOWDEN                  PA          90015122824
34B7299A65B393   TAMMY        OLIVERIA                 OR          44584219906
34B7321785B156   ISAIA        PEREZ                    AR          90012762178
34B733A465B393   ANDRES       JIMENEZ                  OR          44564133046
34B736A9A41258   ALESCHIA     WATKINS                  PA          90014886090
34B7385495B52B   CARLOS       HERNANDEZ                NM          90011058549
34B74864A91563   CESAR        CORDERO                  TX          90003008640
34B75373791831   KRYSTLE      MARQUEZ                  OK          90014133737
34B7546935598B   ALFREDO      ALCAZAR                  CA          49094964693
34B756A318B16B   DAVID        WELLS                    UT          31087356031
34B7663A72B835   ANTHONY      CUMMINGS                 ID          90013536307
34B76727281686   RICHARD      JOHNSON                  MO          29002357272
34B7759328B16B   LUTHER       ROWELL                   UT          90012415932
34B7765582B87B   ARNE         PIETZ                    ID          90007296558
34B77833155972   ARGENIS      TORRES                   CA          90001978331
34B782A3741258   DERRICK      THOMPSON                 PA          90014112037
34B78858655972   MARLENE      CORONA                   CA          90013038586
34B7933429152B   BONNIE       MARIN                    TX          90009553342
34B79A29557B79   MALAYJAH     MITCHELL                 PA          90015140295
34B7B48972B87B   HANNA        BRITTON                  ID          90009214897
34B7B64315B156   GONZALO      GONZALES                 AR          23015696431
34B7B95457B639   HELEN        PIERSON                  GA          15001469545
34B81179A3B152   EMMANUEL     ALLOTEY                  DC          90004381790
34B81212A5B52B   BENITO       HERNANDEZ JR.            NM          35051592120
34B81395A41455   CARMEN       BERRY                    WI          90014043950
34B8269587B639   NORMAN       HALL                     GA          90005816958
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34B828A922B87B   SHANNON           PAUL                ID          42059118092
34B839A4241258   LISA              KROWCHAK            PA          90008119042
34B8414354B281   DENIS FRANCISCO   NAVAS               NE          90013931435
34B8455372B93B   BARBARA           ASHWORTH            CA          45025145537
34B84618355951   LAURA             VALENCIA            CA          90002906183
34B8481A37B639   MYCREATISHA       DAVIS               GA          90013088103
34B8515957B449   KONSTANTINOS      AMVRAZIS            NC          90013961595
34B851A817B449   URSULA            THOMPSON            NC          90010501081
34B85869551339   SARAH             PROFFITT            OH          90010998695
34B861A9491563   BERNICE           QUEZADA             TX          75081871094
34B8624A95B156   ANGELA D          MCFADDEN            AR          23002052409
34B866AA88B16B   ELIZABETH         DAVIS               UT          90013676008
34B8694A141277   OLIVER            ALLAN               PA          51062559401
34B86972791831   PANKAJ            KHANAL              OK          90013939727
34B871A972B93B   ALEX              SERRATO             CA          90000621097
34B87611141285   VANESSA           JOHNS               PA          51077046111
34B8843285B156   TANYA             BROWN               AR          90013874328
34B8864634B281   DOROTHY           DROSZ               NE          90003786463
34B8878255B393   REGINA            PERTON              OR          44506927825
34B8969614B281   MURIEL            YOUNG               NE          27093586961
34B8987325598B   MARCO             MORALES             CA          90012788732
34B8996635B156   DEMETRIA          WINSTON             AR          90003709663
34B8B1A5291831   APRIL             MARTINEZ            OK          90013321052
34B8B21377B492   ANTHONY           WATSON              NC          90013922137
34B91375591563   DOZAL             RAUL                TX          90012423755
34B9145527B639   TIARA             HARDNETT            GA          90013944552
34B92521191232   TONYA             HAZEL               GA          14572825211
34B9352447B639   DAVID             SMITH               GA          90013965244
34B935A612B93B   GILDARDO          GONZALEZ            CA          45089795061
34B9453295B393   LYNNETTE          BRYCE               OR          90014615329
34B94617154165   TONY              ROCKWELL            OR          47033086171
34B9467568B16B   FRANKIE           SPACKMAN            UT          90015066756
34B94A7252B871   EVELYN            TRUJILLO            ID          90014980725
34B94AAA561474   KALI              POULSON             OH          90015230005
34B9577195598B   DANIEL            KNOX                CA          90014067719
34B9583AA2B93B   JAIME             SAMUELS             CA          90014938300
34B9613545B943   RYAN              WEAVER              WA          90015081354
34B9623A47B449   FLINN             RAY JR              NC          11063042304
34B96862555972   RAY               PEREZ               CA          90004498625
34B9694A454165   MARISOL           BECERRA             OR          90003669404
34B9718458B16B   ROBERT            BUCKLEY             UT          90013641845
34B975A5436B77   ALEJANDRO         MEZA                OR          90000115054
34B975A7272B76   MANUELA           DE LACRUZ           CO          90006775072
34B9799429125B   EVONNE            MARTIN              GA          14554809942
34B983A847B492   WILLIAM           SPRINKLE            NC          11055053084
34B9968152B87B   JENNIFER          ROBERTSON           ID          42051596815
34B99A91261963   JESUS             HERMOSILLO          CA          90012990912
34B9B339241285   GEOFFREY          KAECHER             PA          90015203392
34B9B678A7B471   ABEL              RAMIREZ             NC          90014216780
34B9B961941277   DONTAE            HOLLOWAY            PA          90014829619
34BB145A13B239   WALTER            ALEXANDER           DE          90015394501
34BB1871861963   MARGARET          DEASON              CA          46068718718
34BB1A55855972   TRISTAN           EVANS               CA          48045430558
34BB3253755972   ILIANA            GARCIA              CA          90014682537
34BB3371A2B835   ZACHARY WAYNE     ISON                ID          90008403710
34BB338717B639   JADA              THOMAS              GA          15086293871
34BB3439655972   RICK              SORRIA              CA          90013344396
34BB424567B639   ALYSIS            MOSES               GA          90013202456
34BB452432B871   CHRISTINA         KNIGHT              ID          42089405243
34BB4878655972   HECTOR            ANGUIANO            CA          90014468786
34BB497562B835   SHARON            BOLTZ               ID          42037599756
34BB521544B943   STEVEN            CHATAIN             TX          90006102154
34BB555477B639   APRIL             GLOVER              GA          90009975547
34BB6527991563   ALEXIS            DELGADO             TX          90007775279
34BB6934951339   ASHLEY            HOBBS               OH          90006129349
34BB695832B93B   NANCY             LANE                CA          90011609583
34BB7A11A31424   LOUISE            STUART              MO          90004940110
34BB8316151339   MICHELLE          SODDERS             OH          90013393161
34BB8735691563   ILSE              BRITO               TX          90012927356
34BB8769741258   BRANDI            ANDERSON            PA          90000417697
34BB9831591831   EDWIN             FIGUEROA            OK          90002108315
34BBB149536B77   STEVE             JOHNSON             OR          44585081495
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34BBB2AA331424   JESSICA          WARE                 MO          27556552003
34BBB53A691945   DIAMOND          SPIVEY               NC          90008975306
3511138967B492   JANET            PAGAN                NC          11091913896
3511166952B871   SHEILAH          SARMIENTO            ID          90014586695
3511186A75B156   TARA             JOHNSON              AR          23067628607
35112A44572B76   ADAN             CARDOZA              CO          33088330445
3511374487B471   LISA             AUSTIN               NC          90009047448
3511475A141258   FLORENCE         KAMARA               PA          51053787501
3511495185B52B   SHAWN            LEONARD              NM          35054639518
3511499198B166   ALAN J           PORTER               UT          90004079919
3511512357B492   JENOHN           LEWIS                NC          11087591235
35115A4924B281   EDWIN            OLIVEROS             NE          90012160492
35115A8795B344   THOMAS           HARRISON             OR          90006580879
3511628922B87B   CAROLYN          RUBY                 ID          42060112892
3511638842B87B   ALLICEN          MARTINEZ             ID          90015213884
3511762855B325   MARIA            GRACIANO             OR          44544316285
3511775857B492   SHATEAMA         FRIDAY               NC          90008967585
35118226872B76   GREGORIO         VALLES               CO          33061862268
3511852975598B   TREVOR           ROBINSON             CA          90013215297
3511869792B835   YAEL             MORENO               ID          42042406979
351187A5A91831   DAVIS            LANE                 OK          21040067050
351189A3991371   MIKE             AUTEN                KS          90011029039
3511961215B52B   CHRITINE         GRIEGO               NM          35000876121
3511995222B835   JOHN             HOADLEY              ID          42074499522
3511B74754B275   HEIDY            HERNANDEZ            NE          90010667475
35123547A5B393   HOWARD           FELIX                OR          90011675470
3512461497B492   FRANKIE          LOWERY               NC          90009016149
3512528335B52B   RAMONA           CRUZ                 NM          90009712833
3512576965B526   CHANCE           WARD                 NM          90010847696
3512599198B166   ALAN J           PORTER               UT          90004079919
3512655655B52B   LELA             DIMAS                NM          35060495565
35126A11847931   MARSHA           WALKER               AR          90013630118
3512762A97B639   JACQUELINE       STROTHER             GA          90002816209
3512B29235598B   JEFFREY          RAMIREZ              CA          49004252923
3512B2A1641258   SIMONE           CALDWELL             PA          90013282016
3512B626531424   JULIO            VARA-DIAZ            MO          90010016265
3512B724391891   LATANA           GONZALES             OK          90015187243
3512BA7695B52B   ARMON            LUNA                 NM          35005470769
3513164667B492   MARIA            LOPEZ                NC          90004096466
35131828A91584   JOSELYN          GOMEZ                TX          75057458280
351331A6A57138   ANANIAS          RICE                 VA          90007671060
35133A65491371   SKYLINA          TERRYCAVE            KS          90009760654
35133A98791563   CAROLYNE         ORDONEZ              TX          90011490987
3513494857B639   MARY             REEVES               GA          15095369485
3513543735B52B   YVETTE           CHAVEZ               NM          90012214373
3513591428B16B   NICOLE           STREBEL              UT          90011479142
35136A68131424   JOHN             DAMES                MO          90004040681
3513748874B275   JENNIE           SELLERS              NE          90014724887
3513749618B16B   ALANA            HOWES                UT          31092074961
3513749A355936   NORMA            ANZALDUA             CA          90014894903
3513799577B425   CHRIS            HARRISON             NC          90009259957
3513869312B87B   BILLIE           KILLIAN              ID          42017506931
3513951314B54B   LORETTA          CARSON               OK          90010435131
3513B372A7B425   PRISCILLA        BOWMAN               NC          90011163720
3513B46994B275   LESA             HALL                 NE          27097774699
3513B74737B639   LLOYD            CULTON               GA          90005767473
3513B83852B871   ANGELA           HOLTON               ID          42010948385
3513BAA8754165   TIFFANY          MC CAIN              OR          47034940087
3514111382B835   HEIDEE           ROSS                 ID          42061511138
3514139398B16B   RICHARD          DEAN                 UT          90000783939
3514167515B52B   MICHAEL          MARTINEZ             NM          35088896751
3514184152B871   TIFFINY          MOORE                ID          90008558415
35142181A91891   DYLAN            NUTT                 OK          21077811810
3514232394B54B   FAYE             THOMAS               OK          90010233239
351435A2172B76   ANGIE            BORUNDA              CO          33052115021
3514373452B835   GRANTANDASHLEY   WILSON               ID          90014437345
35144138A41258   BRITTANY         DIAMOND              PA          51045141380
3514417222B871   JAMES            FIVECOAT             ID          42006671722
3514459A591563   JOHN             BOWLER               TX          90013845905
351446A1791371   GABINO           CARRERA              KS          90012176017
3514484262B835   NATHAN           TOVAR                ID          90013438426
35144A3A15598B   LISETTA          BELL                 CA          49094720301
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3514541128B16B   AMIE        MBEWAS                    UT          90015464112
35145A44591831   DEEANNA     EDENS                     OK          21000280445
3514748A641277   CANDACE     FOSTER                    PA          90009394806
3514764937B639   JESSICA     WILLIAMS                  GA          90015146493
351476A2291584   DESIREE     REYES                     TX          90013116022
3514827295598B   BEATRIZ     LIZAMA                    CA          90010272729
35148832A61963   HUGO        LOPEZ                     CA          90005118320
3514928418B16B   MAYRA       RAMIREZ                   UT          90010752841
3514B387771937   ALEXCIA     GARCIA                    CO          90014973877
3514B44485B344   MABELI      SANTIAGO                  OR          90015064448
3514B495891831   KEENA       THOMPSON                  OK          90009804958
35151281A51339   MICHAEL     MCCANDLESS                OH          90007192810
35151A6A94124B   TERRI       MORGAN                    PA          51002270609
351522A695B52B   KRYSTAL     ROMERO                    NM          35068272069
35152521A41258   HELEN       BURGESS                   PA          51023955210
3515283814B275   CASEY       LANE                      NE          90011258381
35152A66155972   ROCHA       ALEJANDRA                 CA          48014540661
3515311278565B   RAFAEL      SEIJO                     NJ          85007271127
3515327137B639   NAKEBA      RUTHERFORD                AL          90014872713
3515398355B52B   EDITH       CHAIDEZ                   NM          90010319835
3515416535B52B   JOHN        OLES                      NM          90014931653
3515422214B275   MARISA      UTTERBACK                 NE          27067972221
35154A43491831   SHANNON     DAVIS                     OK          90014180434
3515534427B425   PRISCILLA   BOWMAN                    NC          90014143442
3515559178B16B   ISMAEL      GARCIA                    UT          90013895917
3515676A391371   GIOVANI     VALDEZ                    KS          90007797603
35156A43A4124B   ESSENCE     WRIGHT                    PA          90011200430
3515739565B181   PRECIOUS    JONES                     AR          90008303956
35157A32541277   ROB         PURVIS                    PA          51031760325
3515816724B275   LISA        AUSTIN                    NE          27060501672
3515876762B835   SHAWN       COLLINS                   ID          42000757676
3515883364124B   KIMIAO      SAKAI                     PA          90010848336
35159A71A41285   ROBERT      BLACKWELL                 PA          90011250710
3515B224A61963   KINGSTON    MORGAN                    CA          90005952240
3515B32455B52B   ADRIANA     ESPINOZA-ESPINOZA         NM          90008003245
3515B696731424   LAKESHA     MOORE                     MO          90010036967
3515B72185B344   ALVARO      FLORES                    OR          90008697218
3515BAA6641258   JACKIE      BENNETT                   PA          51007460066
351618A4141285   JON         SKALOS                    PA          90010288041
35162288A55936   MARIA       GARCIA                    CA          90012492880
3516239824124B   JOHN        DAERR                     PA          90007373982
3516256812B871   MARK        BAIRD                     ID          90010255681
3516317347B425   VIOLA       JOHNSON                   NC          90008921734
3516356A491563   ERICA       ROCHA                     TX          75056755604
35164838A61963   PAUL        STEPHENS                  CA          90009268380
3516492762B87B   CHRISTINA   EVENSON                   ID          90013349276
3516599A141258   JESSCIA     NAGEL                     PA          90007079901
3516615997B492   VERONICA    GARVIN                    NC          90015301599
3516697764B275   BAKHODUR    SAITOV                    NE          90014829776
35167897A54165   ANDERSON    NICOLE                    OR          90004688970
351686A3261963   DAVID       CORCOLES                  CA          90010476032
351692AA74B542   TARA        TOMISKA                   OK          90014772007
35169AA5891563   RAMON       ELIAS                     TX          90003300058
3516B326A51328   EMMET       WINSLOW                   OH          66016933260
3516B57642B835   DAWN        STRYD                     ID          90006605764
3517119335598B   VICTOR      MENDEZ                    CA          90008541933
3517187625B52B   RICHARD     DEAGUERO                  NM          90011438762
35171A9134B275   LEROY       RIED                      NE          27058350913
3517235527B639   JEFFERY     WHITE                     GA          90014863552
351733A1661963   MARICELA    OCHOA                     CA          90011503016
351734A525598B   MIGUEL      NEGRETE                   CA          90010384052
35173599A61945   DULCE       MOTA                      CA          90007875990
35173689A7B492   NICHOLE     TOUVELL                   NC          90014576890
3517484344B275   GASPAR      LARIOS                    NE          90015568434
351748A237B639   BRANDON     JONES                     GA          90008078023
3517514A25B393   WILFREDO    BRUNES                    OR          90013111402
3517627755B393   SARA        REEVES                    OR          90012492775
3517632282B835   FORREST     RAWLS                     ID          90010243228
3517664A291371   JOSE        VARGAS                    KS          90014726402
35177447A2B835   HOWARD      POLLOCK                   ID          90012684470
3517817439152B   SHARELY     PEREZ                     TX          90011311743
3517828934B281   AMANCIO     RODRIGUEZ                 NE          90014892893
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351783A288B166   CRYSTA           STANFIELD            UT          31061043028
3517865894124B   AMANDA           MELLINGER            PA          51097626589
351795A7141258   DUSTY            COCHRAN              PA          51090935071
3517B67235598B   NIKI             NGONKHAMBY           CA          90008586723
3517B689A7B492   NICHOLE          TOUVELL              NC          90014576890
3517B83795598B   ANDREW           MOLINA               CA          90011778379
3518218A351382   AMANDA           ARMONTROUT           OH          90005701803
3518232754B275   ANDREW           JUDE                 NE          90010693275
3518249A57B425   PAULA            MAINE                NC          90014074905
3518264387B359   ANGELA           RIANO                VA          90011476438
35182944A55972   VICTORIA         LOPES                CA          90011799440
35182A35141285   CONNIE           REED                 PA          51056150351
3518433415B393   MAZIN            DAWOOD               OR          44591473341
35184A53591371   JUSTIN           HARRIS               KS          90014530535
35185328A54165   AUGUST           WERNICKE             OR          47093753280
35185AA4891563   DESSARAY         GONZALES             TX          90013850048
3518617935B344   JOSEPH           CODDINGTON           OR          44578811793
351862A688598B   SAMUEL           MCCORD               KY          66013272068
35186648A7B639   KIERA            WILLIAMS             GA          90011306480
3518676164B281   KIM              GALLOWAY             NE          27061637616
3518765524124B   MIRIYA           VERGOT               PA          90008946552
35187791298B25   ELMER            RIOS                 NC          90012927912
3518879948B166   HUSS             C RYAN               UT          90006037994
3518882627B492   AMANDA           FORD                 NC          90011898262
3518887145B344   JOY              FASBENDER            OR          90014918714
3518B187661925   FRANCISCO        OLVERA               CA          90006341876
3518B79792B87B   MIKKI            HICKMAN              ID          90012057979
3518B83214124B   ASIA             KNIGHT               PA          90013448321
3518B849A51321   HOPE             REHN                 OH          90008938490
3519163A35598B   YALEMZER         SHIFERAW             CA          90010736303
3519182654B275   MARCIA           MANHART              NE          27033348265
351919A6291232   VALERIE          VIRGIL               GA          14575479062
35191A2692B871   BRYAN            ALEXANDER            ID          42066340269
3519227525B52B   JESUS            HERNANDEZ-DIEZ       NM          90012952752
35192634A54165   ISIDRO           TAJONAL              OR          90014026340
3519315A741258   SCOTT            GUTHRIE              PA          90015111507
35193434A2B835   LEDY             MUNOZ                ID          42028414340
3519348882B871   MAGDALENA        YADO                 ID          42061824888
351943A6272B76   STEVEN           LOWELL FROID         CO          90002903062
3519524A12B87B   COURTNEY         DERR                 ID          90012332401
3519537AA4124B   DANYELLE         RUMP                 PA          90004443700
3519572142B871   MAKAMBO          MAMBOLEO             ID          90012857214
3519573452B835   GRANTANDASHLEY   WILSON               ID          90014437345
3519587128B166   KRISTY           SASSER               UT          31088468712
351958A6861963   SERGIO           CELAYA               CA          90009408068
3519629A34124B   LIANA            DUDEK                PA          51003852903
351962AA97B449   TIARA            HARRIS               NC          90011692009
35196387A91891   JOSE             LOPEZ                OK          21017583870
35196841372B76   ASHLEY           AGUILAR              CO          90004388413
3519772924B281   CHRISTINA        THORNLEY             NE          90014237292
35197874A2B871   JACKIE           BOLES                ID          42096498740
3519791545B393   JESSE            VOETBERG             OR          90012859154
3519865717B639   OLLIE            MAHONE               GA          15028006571
35198A15491584   TREJO            MONICAA              TX          90014660154
35198A7168B16B   ANDREW           ABNER                UT          90015310716
35198A71A41285   ROBERT           BLACKWELL            PA          90011250710
3519948542B871   MARYSSA          VALENCIA             ID          42006364854
3519955A27B425   CLARISA          GOMEZ MEZA           NC          90013485502
3519B166A2B871   JOSEPH           GALLEGOS             ID          90013271660
3519B17A355972   XOCHITLE         ZAVALETA             CA          90013171703
3519B35848B16B   ROSE             GALLEGOS             UT          31077073584
3519B743731424   SHARON           JONES                MO          90014687437
351B149A85B393   KENNETH          HAGEN                OR          90011674908
351B1698761963   SUZAN            BUTRUS               CA          90003276987
351B181664124B   WILLIAM          PHILLIPS             PA          51003168166
351B2259461963   PEDRO            MURILLO              CA          90008532594
351B25A8241285   LAURA            FARMER               PA          90015045082
351B2623141258   DAVID            MICHALEK             PA          51041756231
351B282667166B   DENNIS           ROBINSON             NY          90015348266
351B3415354165   MICHAEL          LOCKBAUM             OR          90014744153
351B3449255972   RUSSELL          CORTEZ               CA          48037854492
351B389524124B   CHANDRA          RAI                  PA          90010938952
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351B3948A7B492   YONHY         ARRIAGA                 NC          90011689480
351B4173255972   SARA          GAONA                   CA          90014721732
351B41A384B281   EVERARDO      GOMEZ                   NE          90013501038
351B4616491371   MARIA         CASTULO                 KS          90006366164
351B4712191232   MARIA         CHATMAN                 GA          14584417121
351B4874555972   OMAR          ARELLANO                CA          90012858745
351B4A2112B87B   ASHTON        TURNER                  ID          90013800211
351B53AAA5B557   CHRISTINA     PEREZ                   NM          35073913000
351B578452B835   FELIX         ARGUETA                 ID          90011637845
351B5919555972   GONZALO       CHAVEZ                  CA          90011089195
351B5A64241285   DOREEN        LEWKOWICZ               PA          90014250642
351B67A617B449   YOLANDA       SMITH                   NC          11023467061
351B713498B179   SHEENU        BURTIS                  UT          90012101349
351B745245B156   JERMAINE      MORRIS                  AR          23094764524
351B7472155972   CARMEN        LOPEZ                   CA          48078944721
351B7793A61962   MAYRA         PIMENTEL                CA          46084527930
351B836132B87B   DUSTIN        HOWELL                  ID          90011203613
351B8393661957   HEATHER       MACK                    CA          90010003936
351B913A95B344   VANESSA       GONZALEZ                OR          90000631309
351B9439191563   JENNIFER      WILLIAMS                TX          75097364391
351B9567A7B639   CHRISTOPHER   CLEMONS                 GA          90013475670
351B9A1997B425   GEORGE        SANTIAGO                NC          90012070199
351BB31288B16B   LARRY         LEE                     UT          90007223128
3521111A77B471   BRYAN         LIRA                    NC          90010071107
3521149454B275   EDWARD        CONDON                  NE          90010014945
35211A43A4B275   JACEN         ROBINSON                NE          90015580430
35211AA8231424   SCHANEL       MILTON                  MO          90011110082
352126A764124B   JOVECA        LEONARD                 PA          51035526076
3521365942B871   RACHEL        STINER                  ID          90014056594
3521496954124B   EBONEE        HILL                    PA          51019549695
3521523267B449   SARAH         POSEY                   NC          90011692326
3521595988B329   SHATIRI       MOORE                   SC          90014649598
352168A379125B   INEZ          BOONE                   GA          14558478037
35216A1AA5B393   AMY           HEINRICHS               OR          44575830100
3521737A45B393   TERI          LOVIG                   OR          90006203704
35218A71461963   ALICE         SMITH                   UT          90005120714
3521964865B156   ROWENA        HAMPTON                 AR          23074496486
3521971A32B871   LAURA         KELSO                   ID          42033687103
35219A2964B52B   DEZMON        PARKER                  OK          90010970296
3521B22144124B   JAMES         LUNN                    PA          90014402214
3521B5A6457B79   ALISHA        LOEFFLER                PA          90014975064
3521B84625598B   RAFAELA       ARIAS                   CA          90009198462
3521BA33591371   CRISTY        MILINA                  KS          90015550335
3522137325B181   TONI          REAVIS                  AR          90001723732
3522291698B166   MARY          CHRISTENSEN             UT          31039529169
3522293155B156   LAKIM         GORDON                  AR          23093339315
3522334335B52B   RICKY         HORTON                  NM          90013003433
3522424574B275   SHERRY        VIETH                   NE          27093282457
3522482A141285   ARYLECIA      WILLIS                  PA          90012318201
352248A965B344   TIFFANY       CLEARY                  OR          44584288096
35225578A91972   SALBADOR      AMADO                   NC          90006585780
3522581295B52B   AYMARA        NIEVES                  NM          90003198129
3522582874B275   KATIE         KROM                    NE          27075398287
3522634112B87B   TREASURE      DAVIS                   ID          90011973411
3522667735B52B   ANGELA        ULIBARRI                NM          90006096773
35227A45291371   FELICIANO     ZAMORA                  KS          90003760452
35228482A7B43B   GERTRUDE      JOHNSON                 NC          90001724820
352284A6A91891   LARITA        DUNN                    OK          90012974060
3522914467B639   ESTELA        MORALES                 GA          90006911446
3522916582B871   ROCIO         RODRIGUEZ               ID          90013731658
3522944862B835   STEVEN        KENNEDY                 ID          90012174486
3522B957554165   MARCI         WOODY                   OR          90007819575
352317A772B87B   DAVID         DERRICK                 ID          90006557077
3523184925B52B   PAT           GONZALEZ                NM          35029588492
3523229A15B52B   MICHAEL       SANCHEZ                 NM          35002352901
3523235217B425   SHERA         LYONS                   NC          90014653521
3523247192B835   DAMIAN        MANJARREZ               ID          42082634719
3523273A38B166   STEVEN        LAUB                    UT          90006147303
352329A6591891   CRYSTAL       SMITH                   OK          90014779065
3523322494B275   CARRIE        SHALLBERG               NE          90013882249
35233277A7B449   TASHA         MCCULLOUGH              NC          90011692770
3523349159152B   RICHARD       CHAPARRO                TX          90008524915
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3523375A45598B   CHRISTOPHER        SMITH              CA          90015127504
35235A34891563   JULIE              OZONE              TX          75043820348
35235A4254B275   MARLA              UTTERBACK          NE          90001730425
35236278A51339   ROGER              TAULBEE            OH          90007362780
3523664567B492   SHANIKA            BURRIS             NC          90011056456
3523744434124B   DOLORES            GRIFFIN            PA          90007744443
3523769153B352   ASHLEY             PARKER             CO          90010776915
3523769445B344   THOMAS             DIAZ               OR          90015126944
35238A41791371   KAYFRANCES         JONES              KS          90011120417
35239258A91891   JEANIA             WEST               OK          90012502580
352392A5347931   DONALD             REDDEN             AR          25038292053
3523931125B393   BRIAN              HUGH               OR          90012503112
3523B64567B492   SHANIKA            BURRIS             NC          90011056456
3523B917961963   STEVEN             BINGHAM            CA          90001329179
3523BA61231424   ANJELIQUE          LEVENBERRY         MO          27562590612
3524119A841258   WILLIAM            YOUNG              PA          90013541908
352411A4191584   RAISA              MCINTYRE           TX          90009071041
3524159564B281   MARIA              MOLINA             NE          27056695956
35241A67591891   AMBER              WICKER             OK          90005980675
35241AA535B344   CIRENIA            GARCIA             OR          90008140053
3524278345B344   SHAWN              REID               OR          90015167834
35243A11847931   MARSHA             WALKER             AR          90013630118
35243A7458B273   LESLIE             AIKEN              VT          90014300745
35243AA5655936   DANIEL             LOPEZ              CA          90009310056
35243AA767B639   TASHEEMA           JERNIGAN           GA          90013590076
352442A5347931   DONALD             REDDEN             AR          25038292053
352445AA972B76   ALFRED             GRIEGO             CO          33096295009
35244696172B27   JOSE               ALBERTO            CO          33062596961
3524482885598B   MARY               KEENE              CA          90013448288
35244939A51382   JEFFREY            HOLMES             OH          90006499390
35244AA482B871   JONAS              HERNANDEZ          ID          90012050048
3524525458B16B   DALE               TORONTO            UT          31064372545
3524551834124B   VICTOR             HANKINSON          PA          90010045183
3524664422B87B   THOMAS             VILLANUEVA         ID          90013966442
3524676985B344   CORINA             HINOJOSA           OR          90010197698
35247A1614124B   DUSTIN             KIEFER             PA          51080810161
35247A5568B16B   TONYA              LEVEY              UT          90003460556
3524844612B871   NICOLE             BENNETT            ID          42022174461
352484A232B835   KIM                GROSS              ID          90011004023
35248AA2741277   RICH               FETTE              PA          90014480027
35249A27841277   EARL               SIMMS              PA          51078710278
3524B1A8291371   JAMES              DAY                KS          90015461082
3525115927B492   EVELYN             POPLIN             NC          90012181592
352514A514124B   BRANDON            KEIFFER            PA          51084294051
3525232574B281   JENNIFER           KOMOR              IA          27051533257
3525264612B835   KAYLA              MILLER             ID          90006126461
3525312AA3B365   NEIL               NEUDORFF           CO          90003491200
352534A9841285   MARVELL            SCROGGINS          PA          90010014098
3525351254124B   ERICA              THORNTON           PA          90013555125
3525364318B166   LYNNE              HARKNESS           UT          31018936431
3525399A891584   DIANA              HUIZAR             TX          90002489908
3525471444124B   MELANIE            COX                PA          51023507144
3525527515598B   FERNANDO RAMIREZ   SANCHEZ            CA          90005572751
3525539A48B16B   JULIE              MONTGOMERY         UT          31086123904
3525545795B344   JULIA              GALAZ              OR          90009704579
352554A955B344   NANCY              BLANCAS            OR          90014814095
35255754A4B281   UBALDO             LOPEZ              NE          90014547540
3525584717B449   ARISTA             LIPSCOMB           NC          90001028471
3525586562B87B   LINDA              PYPER              ID          90010888656
3525626A42B871   DENIS              LETELIER           ID          42058852604
3525628A27B492   MINNIE             WORLEY             NC          90012042802
3525734877B471   REINA              RIVERA REYES       NC          11041293487
3525755352B87B   JULIE              LAUB               ID          90010305535
3525776165598B   RAMIRO             GONZALES           CA          90015127616
35257AAA34124B   NATIKA             PROCTOR            PA          51074750003
35258179A4B281   MARIO              GRADY              NE          90014651790
3525898278B166   VENIECESHA         WOODALL            UT          31000109827
35258AA177B425   VICTOR HUGO        BERMUDEZ           NC          90012570017
35259129A55972   DARREN             DAVIS              CA          90003691290
3525954262B835   JOHN               WAGNON             ID          90014495426
3525992857B425   CANDICE            STUB               NC          90013399285
3525996232B835   JOHN               WAGNON             ID          90013719623
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352599A2A7B639   TAMINIKA      MARTIN                  GA          90013719020
3525B358291584   ANTONIO       WONG-ROMERO             TX          90011653582
3526114142B871   MELISSA       HAMMER                  ID          42065211414
3526171917B449   MARY BETH     NADEAU                  NC          11069237191
3526197987B471   LATASHA       JANT                    NC          11085569798
3526235228B16B   JUSTIN        GARNER                  UT          90009493522
352628A2555936   MAURICE       MCCLAIN                 CA          90001508025
352635A5431424   MICHAEL       MARION                  MO          90009625054
3526377818B16B   ANIESA        GONZALES                UT          31041787781
3526421562B241   DANA          CARROLL                 DC          90013052156
3526449A57B425   PAULA         MAINE                   NC          90014074905
352645A8972B76   JUAN          ALANIZ                  CO          33012205089
3526472322B835   MORAIMA       NUNEZ                   ID          42017207232
3526483A691371   DANIELA       HERNANDEZ               KS          90007108306
35264A62791584   JORGE         REYES                   TX          90014660627
352655A1791563   JESICA        BUENROSTRO              TX          90014435017
3526589575B344   MEAGAN        JUDKINS                 OR          44566758957
352661A919376B   CHRISTOPHER   ERB                     OH          90005661091
3526692675B156   DAZARAY       LEWIS                   AR          90002739267
3526764A354165   AUBREE        QUEZADA                 OR          90009506403
35267A47355936   CARIMEN       VALERIANO               CA          49053650473
3526821145598B   JHON          PEYTON                  CA          49092912114
352686A414B281   DONNA         CROSBY                  NE          27078016041
3526943A82B835   RAY           CAMPADONIA              ID          42010914308
3526979658B16B   MICHAEL       BURNES                  UT          90013447965
3527134427B425   PRISCILLA     BOWMAN                  NC          90014143442
3527196688B16B   HUGO          RESENDIZ                UT          90015299668
352737A869125B   MICHELLE      CALDWELL                GA          14510687086
35273A82A5B393   JOSE          BARRETO                 OR          90014860820
3527437377B639   APRIL         SCHADERS                GA          90014863737
3527494595B393   ELIZABETH     HIRATA                  OR          90002189459
35274A26A76B45   ADELA         VENEGAS                 CA          90010680260
35274A98172B76   MARIO         ALVEAR                  CO          33087130981
35275289A61963   SELENA        ZWARTJES                CA          90009172890
3527569412B87B   BRENDA        SISCO                   ID          90012236941
3527591845B393   ABDIFATAH     MAILEH                  OR          90011579184
3527594835B359   ALISHA        PAGE                    OR          90012199483
3527633735B156   STRAWBERRY    ADAMS                   AR          90014643373
35276611276B75   DARRYL        KING                    CA          46090316112
3527697573B161   MIRTHA        MORENO                  VA          90004549757
352781A9191563   LEROY         HYDER                   TX          90010731091
3527859532B87B   ROBERT        CRISSMAN                ID          42095135953
35279722A5B156   JUAN          CRUZ                    AR          23090827220
3527B146647931   OVIDIO        ORTIZ                   AR          90012731466
3527B696641297   TERRANCE      JOHNSON                 PA          90000996966
3527B96458B163   BRIAN         WILLIAMS                UT          90010079645
3527BA39A3B132   ELSA          LOPEZ REYES             DC          90003170390
3528145634B281   MEG           LARSEN                  NE          90014914563
3528157545598B   LUIS          BERNABE                 CA          90014415754
3528299514B281   TRACY         ERWIN                   NE          27085049951
35283563A5B393   MOHAMED       BESHIR                  OR          90011965630
35283574A91831   REBECCA       TENPLETON               OK          21082105740
35283A52272B25   VICTOR        FLORES                  CO          90014290522
3528444335B344   JESUS         RICO SILVA              OR          90014814433
3528451A34124B   DANIEL        BILBY                   PA          90011425103
35285234A91563   ANTONIA       MORRISON                TX          90009722340
3528571494B275   WILLAMAE      GAMBLE                  NE          27066227149
35285A2A991584   JASMINE       ARANDA                  TX          90013950209
35285A7473B35B   BARBARA       READY                   CO          90004600747
35286358A2B835   KALI          MCLANE                  ID          90010613580
35286A2A941277   CHRISTINE     TECK                    PA          51006260209
35286A37151382   STEVE         BARNES                  OH          66096880371
3528751544124B   DANIAL        KELLER                  PA          90006345154
3528755A391543   ISREAL        HERNANDEZ               TX          90005065503
3528774925B393   ALICIA        RIOS                    OR          44572697492
3528837497B425   CHRISTINE     LAM                     NC          90001913749
35288A4774B275   ELIZABETH     ZASTERA                 NE          90014610477
352896A2A5B52B   ROBERT        NICHOLS                 NM          35061136020
3528B719A41277   BERNARR       TUCKER                  PA          51006047190
3528B965361557   REBECCA       KING                    TN          90015449653
3529121352B87B   MARY          KNIGHT                  ID          90014612135
3529139685B52B   MIRNA         LASCAN                  NM          90005033968
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3529167142B835   KELLY       IRVING                    ID          90000906714
3529215425B393   ALINA       OTTERSBERG                OR          90013111542
35292263676B47   JOHN        PATTERSON                 CA          90012722636
3529235A691831   PATRICK     THOMPSON                  OK          21069463506
3529262762B87B   BRADLEY     WOODS                     ID          90006316276
35292875A5598B   CHRIS       LINDBERG                  CA          90007118750
3529374177B449   LUIS        HERNANDEZ                 NC          90013177417
3529378282B871   TARA        HILL                      ID          42031677828
35293A53A91584   FERNANDA    RAMIREZ                   TX          90006450530
3529418A591584   GILBERTO    BERDEJA                   TX          90013371805
3529514645598B   ABOBAKER    ALAMRANI                  CA          90014151464
3529548915B52B   DAVID       FAVA                      NM          90013094891
3529578175B344   ROBERT      WHITFIELD                 OR          44581847817
3529621165B344   ISABEL      RASAS                     OR          90013182116
3529641942B871   SCOTT       SELBY                     ID          90013324194
3529861135B344   REBECCA     GLYNN                     OR          44562306113
3529893A15B393   TIMOTHY R   BYINGTON                  OR          90012999301
35298A89291584   JOSE        FLORES                    TX          90014660892
3529912624124B   ERICA       ROWE                      PA          90005001262
352995A445B344   MAGDALENA   SALAZAR                   OR          44513305044
3529969948B16B   APRILEE     HUNT                      UT          31030186994
3529B2A617B639   ERNESTO     VASURTO                   GA          90006302061
3529B55324124B   MEGAN       BETTS                     PA          90013495532
3529B671357B79   SHAKEENA    WHITMORE                  PA          90013816713
3529B731951382   VONDALE     ELLERY                    OH          90005707319
352B122982B835   VICTOR      CURETON                   ID          90005842298
352B165517B639   ELAINE      HORNE                     GA          15086606551
352B1716291891   AMBER       LOWERANCE                 OK          90013737162
352B17A8954165   CESAR       GARCIA                    OR          90005267089
352B21A9541285   JOHN        LEGRANDE                  PA          90011251095
352B253A92B871   ASIA        JUAREZ-BELTRAN            ID          42010025309
352B3357591891   CHRISTA     SMITH                     OK          90013963575
352B3425455972   MARIA       VILLA                     CA          48043324254
352B4274891831   CATHY       CROW                      OK          21068452748
352B4613354165   VOLESKY     KRISTY                    OR          90013956133
352B5471641285   ZAKEEYIA    JEMISON                   PA          51048904716
352B575868B16B   ADRIANA     ANGUIANO                  UT          90013827586
352B5A32231439   ALICIA      HUDSON                    MO          27542240322
352B6172191831   TENAJ       JONES                     OK          90014181721
352B689483B351   CANDYCE     DARDANO                   CO          90012848948
352B718587B639   CRYSTAL     MOSS                      AL          90011101858
352B723987B449   TONY        WILLSON                   NC          90005362398
352B7333741277   STACEY      EUBANKS                   PA          51093563337
352B7788847931   BLANCA      LEAL                      AR          90011517888
352B8346891371   JUAN        SALAZ                     KS          90012253468
352B8361955936   RAUL        LEON                      CA          90013453619
352B8489A7B425   TIM         GRAHAM                    NC          90013964890
352B93A9591891   CHASIDY     WICKS                     OK          90011023095
352B964727B639   TASHA       SANDERS                   GA          90014906472
352B981A77B492   GLENN       BREWER                    NC          90012828107
352BB133955936   ERIKA       AGUILAR                   CA          49076711339
352BB15887B449   MARQUIS     HILL                      SC          11084281588
352BB29485B338   TYLER       JAMES - HENSLEY           OR          90001412948
352BB788651339   JAMES       LITTLE                    OH          90007097886
3531263A72B871   MELISSA     MARKS                     UT          90001326307
3531277667B639   JAMES       DOWELL                    GA          90004257766
3531287585B393   MARGARET    TIGNER                    OR          90015068758
35312976A61963   ELDRED      SEPHUS                    CA          90001429760
35312A2558B16B   MARIA       LOPEZ                     UT          90002620255
353131A3991584   JUAN LUIS   REYES                     TX          90014661039
3531356494B281   BRADLEY     NOWEL                     NE          27075055649
35313A19691584   WENDY       MONREAL                   TX          90014740196
353144A6941285   VALERIE     VAN HOLT                  PA          51055044069
3531575162B87B   MALLISSA    MORRIS                    ID          42043967516
35315817A54165   SONDRA      VARGAS                    OR          47012298170
35315A2644124B   ELAINE      LAWSON                    PA          90004760264
3531713528B16B   LISA        STRONG                    UT          90010431352
353174A8A91371   SHAWN       YARBERY                   KS          90012894080
35317949A7B639   JOEL        STEPHENS                  GA          90014609490
3531887367B492   EVELENA     DAWKINS                   NC          11049238736
35318A6325B156   FREDA       GAY                       AR          23093140632
35318A9537B639   STEPHANIE   FEGGINS                   GA          90013330953
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3531951A141277   RANDI            ROMINE               PA          51063195101
3531954287B425   JEREMY           MIDDLETON            SC          90015515428
35319663A51337   JAQUANNA         MOSES                OH          90007956630
3531B136791891   EBONY            SHERMAN              OK          90014701367
3531B14715B393   JACKIE           SHANKLE              OR          44533271471
3531B381A4B275   BETSY            MEDINA               NE          90011483810
3531B459655936   CHRIS            LOPEZ                CA          90015334596
3531B94AA8B16B   CARILYN          BUNPAI               UT          90012789400
3531B95975B393   GHUFRAN          AMER HAMMOOD         OR          90010259597
3532125A191584   VANESSA          VELEZ                TX          90008942501
35321A11454165   AMY              UNDERWOOD            OR          90002630114
35321A3288B137   JOHN             ANDREASEN            UT          31068080328
3532265555598B   SVAY             SCOTT                CA          90010786555
3532371294124B   DIANNNA          PATTERSON            PA          90005207129
3532386757B639   HAYWARD          BANKS                GA          15014928675
3532396A551382   JASON            TYNER                OH          90006499605
3532397698B16B   JODIE            MONTES               UT          31004039769
3532591577B425   MICHELLE         BENNELT              NC          11086829157
35326385A5B344   ALEBERTO         MENDOZA              OR          90012763850
3532656542B871   CESAR            RODRIGUEZ            ID          42097145654
353267A7647931   DANIEL           HOLSTON              AR          25019877076
35326AA464B521   LYDELL           CALHOUN              OK          90010990046
3532725575B52B   PATRICICA LEAN   ALBERT               NM          90006792557
3532945374124B   MICHAEL          HIPKISS              PA          90014684537
3532B393455972   GERARDO          GONZALEZ             CA          90013253934
3532BA55A41277   DANA             CONTI                PA          51081360550
35331281A41258   BEN              WARE                 PA          90012722810
35331A26961963   VIRGINIA         LOPEZ                CA          90010110269
3533224678B16B   KEVIN            LEE                  UT          31026182467
35332AA127B639   FELECIA          JONES                GA          15051610012
3533318728B16B   ANTHONY          SINE-DAMATO          UT          90002101872
3533364284B281   LYNDA            WRIGHT               NE          90012076428
35333879172B76   VERONICA         DOMINGUEZ            CO          33056188791
3533482A141277   DAMITRA          PENNY                PA          51009488201
35334A32791584   STEPHANIE        RAMOS                TX          90010780327
3533517934B275   DEBORAH          ABRAM                NE          90009151793
3533527385598B   SAMUEL           SALAZAR              CA          90014102738
3533582AA91584   ROBERT           GARCIA               TX          90014668200
35335847654B9B   ROSA             EUBANK               VA          90005888476
35335A4677B639   LAKISHA          BEASLEY              GA          15009920467
35335A47254165   ANTONIO          GONZALEZ             OR          47066150472
35336138A5B393   MITCHELL         ROGERS OBRIN         OR          90010271380
3533624885B344   JASON            LUCZAK               OR          90009102488
3533659725598B   LUIS ANTONIO     GOMEZ                CA          90003995972
35336A21A2B871   KATHRYN          WURTZ                ID          42012340210
353373A5A91371   BELLA            ROE                  KS          90009993050
3533842845B344   CESAR            GARCIA               OR          90013124284
3533857442B835   SHAYLA           HUFMAN               ID          90005675744
3533913875B344   AMELIA           CHAVEZ               OR          90006541387
3533B838791584   CARLOS           FIERRO               TX          90004368387
35341A5794B275   DAVID            ADAMS                NE          27056410579
35342A42154165   DWANNA           TAPIO                OR          90002630421
3534324387B492   MARK             PRATT                NC          11015112438
3534325947B639   KAMISHER         SUMBRY               GA          90005602594
353437A825598B   JERILYN          YOUNG                CA          90012917082
3534382514B275   RICHARD          ROSAS                NE          90015358251
35343A9A541258   STEPHANOS        MAVROIDES            PA          90003250905
35344144A4B544   EMILY            MARTINEZ             OK          90002991440
3534555495B52B   CHRISTOPHER      WILLIAMS             NM          90011125549
3534571452B87B   CLAUDE           BAHATI               ID          90015087145
3534629478B273   TRISHA           ODELL                VT          90015352947
3534674342B871   JONATHAN         SNYDER               ID          90001867434
35346A9194124B   JAMES            OBRYAN               PA          90012940919
353475A3547931   PATRICIA         STOUT                AR          90008705035
3534763612B87B   PATRICK          O BRIEN              ID          42075306361
3534781487B449   TINA             JARRETT              NC          90013918148
3534873217B639   MARISSA          KNOWLES              AL          90015107321
35348778A5598B   MARGARITO        RIVAS                CA          90015127780
353493A9A47931   FELICIA          BROWN                AR          90004643090
35349A1125B344   SALVADOR         HERNANDEZ            OR          90011730112
3534B956755972   DANIEL           AGUILAR              CA          48032709567
3534B958341258   MICHAEL          COYLE                PA          90010689583
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3535152467B471   IRMA         DEJUAN                   NC          90010285246
353516A8291891   HEATH        HALL                     OK          90012726082
3535174364B275   JEANETTE     FENNER                   NE          90004777436
3535297684B281   MARIA        ANTONIO-MATEO            NE          27007209768
353534A5461963   CARMEN       RAMIREZ                  CA          90009254054
3535389A72B923   STEPHANIE    CERVANTES                CA          90012488907
35354592A55972   RUBEN        HERNANDEZ                CA          48084285920
3535544A77B639   JAKEITHA     MCCRAY                   GA          90014824407
3535648264B275   CHRISTINA    TOUCHSTONE               NE          90015244826
3535661565B52B   ALEJANDRA    QUEZADA                  NM          35082916156
3535714255B344   MIGUEL       ARROYO                   OR          90013221425
35357194883B74   MICHAEL      WOODS                    NM          90012781948
3535824377B492   JARRET       LIPSCOMB                 NC          11039092437
3535833615B393   GONZALO      CRUZ-GUTIERREZ           OR          44562453361
3535925695B344   HUQUI        ALVARADO                 OR          44500182569
3535B414455972   EVELYN       RIVERA                   CA          90014964144
3535B749947931   NATASHA      WESTENDORF               AR          25085827499
3535B96722B87B   FRANCES      JOINER                   ID          90010679672
3535BA41A2B871   CINDY        FORRESTER                ID          90013290410
3536172A47B449   ISIDOR       OLEA-MOCTEZUMA           NC          90011697204
3536182137B425   SALVADOR     ZAVALA                   NC          90015308213
353618A8841258   THOMAS       MATELA                   PA          90013098088
3536284982B871   LEE          YATES                    ID          90007448498
35363A1527B639   CONNIE       MATSHALL                 GA          90004750152
35363A88191371   SCHONTELL    DONNELL                  KS          29085880881
3536497425B52B   MARY         JAQUEZ                   NM          35074749742
35364AA232B871   TRENTON      BOWNE                    ID          90015280023
3536575118B147   MARIA        LOPEZ                    UT          31054397511
3536777322B87B   ROSANNE      SAIZ                     ID          42005507732
3536818AA2B268   TRACI        NOLEN                    DC          90002401800
3536B64A291371   JOSE         VARGAS                   KS          90014726402
35371A85261963   FREDRICK     BURBANK                  CA          90006620852
35372583A4B281   BRIANNA      GATUS                    NE          90007635830
3537383714124B   MARGUERITE   FLEMING                  PA          51092648371
3537383964B275   JENNIFER     NUDING                   NE          90013478396
35373A8345598B   DIANA        SANCHEZ                  CA          90005540834
3537457A931424   GUADALUPE    DELACRUZ                 MO          90009875709
353746A2641277   JENEE        OLIVER                   PA          90011136026
3537473168B166   CARL         TUKE                     UT          31023987316
353747A1991831   JUNE         RIVERA                   OK          90008857019
353754A924B281   SHANNON      PEEBLES                  NE          90010234092
35375697A47931   NERA         JIBAS                    AR          90014866970
3537576457B639   QADEVA       FRYE                     GA          15050587645
3537597237B492   DAN          GAUSE                    NC          90013319723
35375A8178B16B   TIFFANY      QUIBELL                  UT          90013290817
35376296A55972   ANTHONY      TRUJILLO                 CA          90010992960
3537676A38B164   CHERYL       BAGGS                    UT          90000837603
353767A7631424   ROMEO        MONTEZ                   MO          90014627076
35376A63154151   EMILEE       ELLIOTT                  OR          47025060631
3537711175B344   TONY         RIVERA                   OR          90005601117
35378339A2B87B   JAKE         COTTRELL                 ID          90009963390
3537853458B16B   ROSENDO      MELENDREZ                UT          90011175345
3537881385B344   GERALD       HAGMAN                   OR          44521418138
3537897295598B   JOHN         XIONG                    CA          90012419729
3537B33972B835   CHARLES      FERDIG                   ID          90012253397
3537B455291232   JESSICA      PATTERSON                GA          90006024552
3537B49362B871   STEPHANIE    HOLMES                   ID          42079604936
3537B526591891   SHAWNTA      VENSON                   OK          90011865265
3537B78425599B   TORRES       MONDOZA                  CA          90012657842
3538142A785943   LISA         CROWE                    KY          90014624207
3538148267B449   EJUP         MYSTAFA                  NC          90006834826
3538177735B344   CHRISTINE    JUPP                     OR          90014687773
353819A3555972   HECTOR       VALLEJO                  CA          90011109035
3538249A55B393   PALOMA       VALEZUELA                OR          44546424905
35382733972B36   BRYAN        COOK                     CO          33074267339
3538293A35B344   MUSTAFA      HASSAN                   OR          44590939303
35382AA915B52B   MARIAELENA   SANCHEZ DE MARRUFO       NM          35019290091
3538312827B425   JAMES        SHRURONE                 NC          11078161282
353832A525598B   CARLOS       BLANCO                   CA          49076002052
3538331A44B569   NAILA        GARCIA                   OK          90010663104
3538351A85B393   DAYNA        SANDERS                  OR          90012575108
35383A3824124B   SHARIECE     SCOTT                    PA          90011980382
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35383A96891371   ALONZO      WILLIAMS                  KS          90010820968
3538423854B281   CHERI       SNELL                     NE          90014692385
3538466897B471   CHRIS       KIRKLAND                  NC          11086826689
35384A4685B52B   ROSARIO     BARRAZA                   NM          90005820468
353851A2491891   JESSICA     BENEFIEL                  OK          90007051024
35385A1637B639   LENN        WASHINGTON                GA          90006010163
353868A125B156   JASMINE     THOMAS                    AR          23013718012
35386A49454165   HEIDI       CHESSELET                 OR          47082140494
35387277A4B281   REX         JONES                     IA          90014852770
35387626A7B449   BRITTANY    ACKER                     NC          90006766260
3538815655B52B   CRISTINA    MISKOWIZZ                 NM          90010461565
3538834A791563   LIDIA       POBLANO                   TX          90000143407
3538877665B52B   CRISTINA    MISKOWIZZ                 NM          90010467766
3538894594124B   DANA        WILLIAM                   PA          90014729459
35388A18554165   NONA        CAMACHO                   OR          90014820185
3538951174B275   TERRY       LARSON                    NE          90005695117
353897A2491831   RICKY       BLEDSAW                   OK          90011577024
3538B63725B393   JAMES       JACKSON                   OR          90012486372
35391599A91563   YAZHID      MONTEJANO                 TX          90013175990
3539167597B639   TAKIA       WATSON                    AL          90012286759
3539214655598B   OMAR        ALGHAZALI                 CA          90014151465
3539325A67B436   MANUEL      PLASCENCIA                NC          90009522506
353946A935B393   ZAHID       ORTEGA                    OR          44579386093
3539565745B52B   STEVE       SANCHEZ                   NM          90007406574
3539566115B156   ELBERT      DAVIS                     AR          90002046611
35395A76391371   ADAM        GROSS                     KS          90015550763
3539621378B16B   MARIA       HINOJO                    UT          90014162137
35396246A91563   MARIA       MOJICA                    TX          75065112460
3539738564124B   DOLORES     COSOL                     PA          90014323856
3539769875B344   GEORGE      SPELMAN                   OR          90013216987
353981A148B16B   ROSA        LOPEZ                     UT          31085861014
35398227A54165   LEVI        URTON                     OR          90012962270
3539868468B166   RACHEL      POWELL                    UT          31062286846
3539876167B492   KRISTEN     DAGLEY                    NC          90014147616
3539878415B393   KENYATTA    KINNEY                    OR          44560807841
353987A4141258   JOSEPH      YORK                      PA          51001977041
35399625A31424   ANICSSA     LOWERY                    MO          90010896250
3539B4A6491371   ANDREA      RANDLE                    KS          90014714064
3539B55882B871   ESTELLA     RASS                      ID          90002475588
353B1161151594   PANCHO      PANTORA                   IA          90015121611
353B11A5391831   PATRICIA    OTOMEWO                   OK          21072091053
353B128A15B545   TANYA       ESTRADA                   NM          90005732801
353B1682591563   CLARIZA     JIMENEZ GARCIA            TX          90013236825
353B176615B393   MICHELLE    DEWEY                     OR          44513187661
353B1893647931   CATHERINE   CARLOCK                   AR          90015118936
353B19A1791831   BETO        CHAVERO                   OK          90012479017
353B2232391831   ROGELIO     DE LIRA                   OK          90014182323
353B267A15598B   MICAELA     GARCIA                    CA          90002066701
353B2717584326   NAYELI      CRUZ                      SC          90014447175
353B275687B492   MARCO       AGUILERA                  NC          90013187568
353B276A455972   DEREK       CARTER                    CA          90012527604
353B2968A2B835   JOURDAN     SALINAS                   ID          90010229680
353B3133191563   VERONICA    WATKINS                   TX          90006261331
353B324624B281   MARTHA      GUZMAN                    NE          27098152462
353B342697B449   BEATRIZ     RAMOS                     NC          90011694269
353B3798A5B156   CLEO        PORTER                    AR          23084897980
353B4666193782   ANGEL       HUNT                      OH          90011426661
353B468817B492   SATORIA     GARCIA                    NC          90001216881
353B5A38A7B492   NASHUA      CRISE                     NC          90011060380
353B6265255936   JESSYCA     PINEDO                    CA          90015202652
353B651467B639   TAVARA      LOWE                      GA          90013155146
353B655765B338   SARA        SANCHEZ                   OR          90009455576
353B669412B871   JEANNIE     MORSE                     ID          90000806941
353B683955B344   MYCHAL      AMELL                     OR          90014558395
353B6961791831   JORGE       MONTELONGO                OK          90008649617
353B7476691563   CHARLENE    MARTINEZ                  TX          75001724766
353B754915B344   LAURA       MULLER                    OR          90013115491
353B772237B639   ARNESIA     SMITH                     GA          90014767223
353B8233955972   RAYMOND     ARMDRUSTER                CA          90009832339
353B94A4361963   SAMANTHA    PEREZ                     CA          90011994043
353B95A9391584   JESSICA     ORTIZ                     TX          90011095093
353B964765B344   AMBER       BRANCH                    OR          90013336476
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353B9924355936   MARIA         RAMOS                   CA          49067099243
353B9947691371   JASE          HERNANDES               KS          90003539476
353BB82865B344   YOLANDA       CHAVEZ                  OR          90014558286
353BBA65776B47   RACHEL        SMITH                   CA          90008610657
3541115884B275   JESSE         SMITH                   NE          90010331588
35411461A91563   NORMA         PACHECO                 TX          90014424610
35411A79447931   FELICIA       REED                    AR          25000340794
3541262985B393   RONAL         SCHAFFNER               OR          90014986298
3541275718B16B   CHRISTINA     BARRERA                 UT          31029107571
35412A7812B221   VANESSA       THOMAS                  DC          90008700781
3541354A65B393   CAROLIN       CHAMBER                 OR          90013085406
3541386155B393   FELIP         CRUZ                    OR          90002728615
3541422272B87B   APRIL         HAMMONS                 ID          42045062227
3541429A176B47   OFELIA        JAMBEAU                 CA          90001212901
354145A3233649   CHRISTIAN     GARVIN                  NC          90014705032
3541467842B871   OSHEA         ABNEY                   ID          90015006784
354147A3951594   JIM           BURK                    IA          90014117039
3541491848B16B   CODY          CHRISTIANSON            UT          90012359184
35414AA715B156   REBECCA       JOHNSON                 AR          23077270071
35414AA987B471   TISA          RORIE                   NC          90010050098
3541823717B639   LATASHA       MCCRAY                  GA          90010352371
3541856864B547   SHELLY        WATKINS                 OK          90012445686
3541946A55B344   KEISHANNA     BRICKLEY                OR          90007634605
3541991662B87B   SARA          SERRATO                 ID          90001809166
3541B41215B52B   RANAE         FORD                    NM          35064364121
3541B71A272B76   FERNANDO      GONZALEZ                CO          33089747102
3541B99923B132   DESHANTA      LINDSAY                 DC          90003279992
35422A31291584   EDWARD        ANTUNEZ                 TX          90013010312
3542334A441285   WILLIAM       VINCZE                  PA          51056333404
3542343128B16B   WILLIAM       CARTER                  UT          90015094312
354237A635598B   STEVEN        VALENCIA                CA          90015007063
3542392397B639   BRIANA        WILLIAMS                GA          90014919239
3542448275598B   ALEXIS        MARTINEZ                CA          90013004827
3542483169125B   KEVON         FUTCH                   GA          14559258316
3542522315598B   WENDY         LEMUS                   CA          90009082231
3542567232B87B   NICK          SEFEROS                 ID          90010966723
35425713A2B871   MALERIE       SMITH                   ID          90009097130
3542596372B87B   KATHRYN       EAVENSON                ID          90014319637
35426335A3B38B   PORSHA        DANIEL                  CO          90008793350
3542651A172B76   JOANNE        STRANG                  CO          33092385101
3542672924B281   JAVIER        FLORES                  NE          90013207292
3542754767B425   ANTHONY       SHEPHERD                NC          90001025476
35427A37141258   MICHELLE      UNGLAUB                 PA          51035430371
3542875232B87B   ADIDJA        MULENDELA               ID          90012437523
3542885A17B639   CHERWANDA     JONES                   GA          15073228501
35428A2295B344   NASIRDUDDIN   SHAIK                   OR          90012590229
3542928575B545   JOHN          PEREZ                   NM          90008382857
3542951915B393   MATTHEW       INGRAHAM                OR          44577595191
35429868A91891   TAMARA        WILSON                  OK          90011048680
3542B21A37B449   AL            MORA                    NC          11058442103
3542B432291891   KEVIN         GENN                    OK          90005334322
3542B5A182B871   BOBBY         TRICE                   ID          90014715018
3542B94297B436   CHRISTINA     KNOX                    NC          90007769429
3542BA1547B425   STEFANIE      KEEVER                  NC          90007710154
3542BA1A44B534   JEFFREY       HYDEN                   OK          90004390104
3542BA9A35B344   JEFFREY       JACKS                   OR          90014000903
3542BA9A68B16B   DEVONA        COVEY                   UT          90002090906
3543122A154165   LINDA         BENNETT                 OR          47081152201
3543126527B639   TIMOTHY       PATTON                  GA          15086822652
3543168465B344   RAYMOND       BOEN                    OR          44548656846
35432541A7B639   ERICA         BELL                    GA          90014715410
35432A63991371   JOSE          HERNANDEZ               KS          29051890639
35433112A4124B   ERIC          COOK                    PA          90014081120
3543346992B835   KEVIN         BECKER                  ID          90002364699
3543599787B449   ANTHONY       FULWILEY                NC          11059249978
35436A4484B592   CRYSTAL       FOWLER                  OK          21513940448
3543753A255972   ROBERTO       SANCHEZ                 CA          90014265302
35437885A4124B   MICHELLE      PARAS                   PA          90005028850
354379A2431424   LAURA         HOTCHKISS               MO          90012519024
3543832885B393   JAMIE         MENDEZ                  OR          90001103288
354397A828B16B   RICARDO       RIOS                    UT          90015117082
3543B89975598B   BRYAN         EVANS                   CA          49088958997
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3543BA32447931   JASON       PETERSON                  AR          25077820324
354415A152B871   FABIO       CORONADO                  ID          90014715015
354421A182B871   AARON       CHAMBERS                  ID          90015351018
3544321227B492   JAMES       DAVIS                     NC          90014852122
354435A5891584   MICHAEL     TORRES                    TX          90010675058
35443A9912B835   STACY       WARD                      ID          90011190991
35444A33891584   LUCIA       CARREON                   TX          75035790338
354451A614B54B   QUINTON     PRINCE                    OK          90010461061
3544547317B492   JOHN        SHIPTON                   NC          90014604731
3544574927B639   MARIO       RUSSELL                   GA          90011307492
3544591812B835   SALVADOR    MAURICIO RAMIREZ          ID          90012159181
35445A28691584   ROCIO JOE   HUEREQUE                  TX          90004530286
3544634675B393   BOBBY       TITUS                     OR          90002953467
3544644218B16B   DENNIS      WIEGMANN                  UT          31011174421
354474AA941258   MARILYN     MANNING                   PA          51088264009
3544859AA2B871   ZACHARY     CROOKS                    ID          90002045900
3544893995B393   SAMUEL      SALMERON                  OR          90015299399
3544969445B344   THOMAS      DIAZ                      OR          90015126944
3544B11152B87B   MICHAEL     BURKE                     ID          90014811115
3544B28995B393   RYAN        HASKINS                   OR          44512702899
3544BA33891584   LUCIA       CARREON                   TX          75035790338
3544BAA3A41258   TIMOTHY     SMITH                     PA          90007080030
35451A3364B275   DIEGO       LARES                     NE          90014990336
3545213212B835   GERALD      HODGES                    ID          42025351321
3545213A98B16B   DIANE       HARLEY                    UT          90004811309
354525A955B344   EMMANUEL    GARCIA BARAJAS            OR          90010855095
3545291482B87B   MARIA       VILLALOBOS                ID          90012829148
3545298926B264   JOHN L      EADIE                     AZ          90014039892
3545326114124B   MYRA        WILCOX                    PA          51080962611
354532AA641285   DENA        STEELE                    PA          51070082006
35453A84172B36   LUANN       DAY                       CO          33016960841
3545629382B871   LUIS        GRANILLO                  ID          42058572938
3545629AA5B52B   MARK        OWENSBY                   NM          35051222900
3545677657B639   ELIZABETH   CAMACHO                   GA          90003797765
35456A13191891   TRICIA      PARKER                    OK          90013630131
35457662A61963   RAQUEL      PEREZ                     CA          90010486620
35457A55391831   METRIA      SMITH                     OK          90011180553
3545848924B281   MARY        DAVENPORT                 NE          27056854892
35459A1565B344   JOSE        NAVA                      OR          90013690156
3545B1AA141258   DONNA       CROSBY                    PA          51038271001
3545B328A4124B   VINCENT     KELLY                     PA          90011493280
3545B611191584   ARIEL       CARMONA                   TX          90011656111
3546126974B281   ANTONIO     GUERRERO                  NE          90008382697
3546147A355936   SERGIO      RIVERA                    CA          49047284703
3546173625B393   SEAN        KEARNEY                   OR          44530257362
354629A4331424   JOHNNY      THOMAS                    MO          90011989043
354644AA37B492   ANGELA      NEESE                     NC          90014584003
3546556414124B   DAWN        BUNDY                     PA          51000175641
3546566667B471   DARNELL     SIMPSON                   NC          90010656666
3546613A641285   CHRIS       GATTO                     PA          90003971306
3546694915B52B   CHAMRON     MARTIN                    NM          35046549491
3546739324B281   JEREMIAH    WALL                      NE          90010423932
35467439A91831   LATOYA      GOUDEAU                   OK          90014184390
3546851985B156   N           KING                      AR          23029985198
3546916535B52B   JOHN        OLES                      NM          90014931653
354697A1961963   MUSTAFA     AHAMADAZET                CA          90010487019
3546B15387B639   MONICA      CULPEPPER                 GA          90010381538
3546B723891563   ARMANDO     MONTEZ                    TX          90002107238
3546B77398B16B   ISAAC       TIRADO                    UT          90012587739
35471297A91371   SALLY       ELROD                     KS          29011772970
3547173675B52B   ERIC        JARAMILLO                 NM          90008287367
3547198AA91891   PAYGO       IVR ACTIVATION            OK          90006159800
35471A26891563   DOMINIC     BRICENO                   TX          75027310268
35471A44A5598B   GRISELDA    CERVANTES                 CA          90011520440
354742A7A8B16B   GUILLE      GONZALEZ                  UT          90009362070
3547441547B449   BRANDY      CATES                     NC          90010474154
3547538237B639   TASHA       EVANS                     GA          90012173823
35475547A5B344   SAMANTHA    GAFFKE                    OR          90009485470
3547564998B16B   JENNIFER    MEJIA                     UT          90015316499
3547615517B395   HILDA       MENSAH SABLA              VA          90000181551
3547633A14124B   ROBERT      FONNER JR                 PA          51014153301
35476489A5B156   CLARESSA    DAVIS                     AR          23008244890
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354766A524B275   JENNIFER     ROUSEAU                  NE          90014226052
35476A48541285   MAURICE      GLASS                    PA          90005630485
3547778A161972   MICHAEL      ROCCO                    CA          90005037801
3547797115B393   ANDRES       AYALA-GALVAN             OR          44560369711
3547819685598B   EBONY        LAWSON                   CA          90003981968
35478286A7B471   WAHTIKA      SMITH                    NC          11017792860
35478A44654165   MARIA        FARNSWORTH               OR          90011090446
3547928595B344   MELODY       HERLOFSON                OR          90013672859
3547B17947B492   JERRY        REID                     NC          11019931794
3547B454641285   CAROLYN      VAVRO                    PA          90014514546
3547B455691371   KEVIN        MOORE                    KS          90014814556
3547B85134B281   IRMA         NUNEZ                    NE          27013078513
35481531A8B166   MICHELLE     JENSEN                   UT          31062305310
3548258428B16B   LINDSEY      NEVILLE                  OR          31074895842
3548259182B835   ANNMARIE     BELLEZZI                 ID          90003505918
35483812A5B344   ISABELL      OPEZ                     OR          90007888120
3548414525598B   LUIS         BARRIEL                  CA          90004331452
3548488364B275   ANGELA       CUNNINGHAM               NE          90013488836
354871A595B393   FNAN         FASSIL                   OR          90010081059
3548769315B52B   ABRAHAM      ORTIZ                    NM          35082206931
35487A6315598B   DIANE        WESTERBERG               CA          49089130631
3548821657B492   TINA         HUFFSTICKLER             NC          90013872165
35488A74672426   MARY         GROOMES                  PA          51083640746
35489175A5B52B   JESUS        ANGUIANO                 NM          90014431750
354892A7641258   DORIAN       GRAY                     PA          90013812076
3548966354B275   EVA          HOUCK                    NE          90011206635
35489A6A241277   STAISEY      ZUZAK                    PA          51084480602
3548B244A41258   JOSEPH       CONSOLO                  PA          51095152440
3548B26717B425   KYXANA       LEACH-CRAWFORD           NC          90013282671
3548B479A91831   RALF         SPRENG                   OK          21089984790
3548B695161963   KYZAYA       MITCHELL                 CA          90010916951
35491689A8B16B   DEDE         FLORES                   UT          90004066890
35492626A7B449   DEMONICA     MEALER                   NC          11007816260
3549288138B16B   JOHN         WISNER                   UT          90014518813
35492A87991544   LIZETH       GARCIA                   TX          75091570879
3549337157B492   BRANDON      MAGNESS                  NC          90013273715
3549362272B835   TIMOTHY      HEAD                     ID          90013526227
3549382887B639   ENRIQUE      CAMACHO                  GA          90003798288
3549448658B166   JAMAL        GOODE                    UT          90004194865
3549465A791563   ADAM         REYES                    TX          90012286507
354948A7154165   KIMBERLY     PARDEE                   OR          90010518071
35494A5785B393   SEAN         JORDAN                   OR          90009860578
354954A425598B   RAUL         ORTEGA                   CA          90013094042
3549564162B835   JANA         HUMPHERYS                ID          42048646416
354956A2854165   DANIEL       HANSON                   OR          90010686028
3549583A941277   GEORGIA      REILLY                   PA          51042718309
3549593277B492   KATHRYN      KIRKLAND                 NC          90012129327
3549612A22B87B   ANGELINA     TAPIA                    ID          90015161202
3549639297B429   THRUMOND     THOMAS JR                NC          90003143929
35496531A8B166   MICHELLE     JENSEN                   UT          31062305310
3549689255B52B   CHRISTOPHE   GARCIA                   NM          35009678925
3549725357B425   YANA         CARDONA                  NC          90012142535
3549747A761987   WILLIAM      DUPONT                   CA          90009564707
354975A3A5598B   JULIA        ENRIQUEZ                 CA          90001985030
3549825688433B   GERALDINE    CONNOR                   SC          90008602568
3549862954124B   JAMES        BROWN                    PA          90013916295
3549B52122B257   MAYNOR       ROMERO                   DC          90003285212
3549B811651347   JOSE         GARCIA                   OH          90010888116
3549B967A72B63   MARTHA       DIAZ MARTINEZ            CO          90013519670
354B133535B344   DALIA        ESPINOSA                 OR          90011993353
354B1514191584   MARTIN       ZAMARRIPA                TX          75081535141
354B229549155B   MIGUEL       ARELLANO                 TX          90006562954
354B2582855972   ERICA        DE LIRA                  CA          90015105828
354B265A38B16B   TRAE         CHAPPELL                 UT          90007816503
354B2785955936   ANALEE       GONZALEZ                 CA          90013827859
354B332874B281   ECTOR        MARTINEZ                 NE          27070173287
354B333468B16B   TIMOTHY      MCCONNELL                UT          90007943346
354B372962B871   KIM          MACHADO                  ID          42071867296
354B39A244124B   LORI         STOKES                   PA          51090679024
354B417732B87B   VICTOR       GANIAIEANY               ID          90012721773
354B4273355972   PAUL         ZUNIGA                   CA          48027052733
354B433468B16B   TIMOTHY      MCCONNELL                UT          90007943346
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354B4989954165   VALARIE       HOBAN                   OR          47012309899
354B4A83155936   RUBEN         ROMERO                  CA          49033920831
354B5231261945   MERRILEE      HODGES                  CA          90002682312
354B5345291232   SADE          VENSON                  GA          14510623452
354B53A5154165   SAM           WOODRUFF                OR          90012363051
354B549552B871   RICHARD       MATA                    ID          90014824955
354B55A8754165   CHRISTINA A   CLARK                   OR          90010785087
354B623762B835   MEGAN         GALLIVAN                ID          90009842376
354B7541841285   RENEE         COPE                    PA          51084595418
354B79A9791584   ANTONIO       CORTEZ                  TX          90014669097
354B845A591831   NICHOLAS      ESTES                   OK          90013044505
354B846325B393   ROSALVA       MELCHOR                 OR          44559554632
354B8814A2B87B   THOMAS        FREINWALD               ID          90014738140
354B916A355936   LUCIA         FREITAS                 CA          49039101603
354B9227A54165   LEVI          URTON                   OR          90012962270
354B9551461963   RAQUEL        PEREZ                   CA          90010485514
354B964895598B   DENISE        AKBAR                   CA          49078996489
354B967148B16B   ESTHER        ROBERTSON               UT          90014496714
354BB74645B58B   MARK          BALDUCCI                NM          90010467464
354BB81A855921   ARMANDO       TORRES                  CA          90011388108
354BB94A991584   EDUARDO       DELGADO                 TX          90002569409
354BB982447931   CHASE         HORTON                  AR          90009569824
3551169255B52B   WALTER        SOLIS                   NM          90008606925
3551244AA91563   SYLVIA        RUIZ                    TX          75004804400
3551269384B275   JANET         GARCIA                  NE          90012316938
3551331254B281   DYNESHA       JOHNSON                 NE          90013753125
3551377662B871   MIGUEL        NUNO                    ID          90010967766
3551414157B425   ERICK         HERNANDEZ               NC          90015231415
35514AA498B166   ANDREW        CLARK                   UT          90006250049
3551537822B871   TRAVIS        NIELSON                 ID          90013383782
355154A884B275   LEKISHIA      WILLIAMS                NE          27059874088
3551568615B393   ALEIS         WRIGHT                  OR          90012006861
3551594482B87B   CHRISTOPHER   KREMER                  ID          90014409448
35515A4848B16B   NICOLE        ROBERTS                 UT          90000120484
35516391A61963   IGNACIA       RODRIGUEZ               CA          46027353910
35516A5A791831   ELIZABETH     LOPEZ                   OK          90011580507
35517315A4B281   MARSHA        PITTMAN                 NE          90010203150
355177A865B344   TANGAZUAN     TELLEZ                  OR          90015127086
35517A9117B425   DOUGLAS       SILER                   NC          90013170911
3551815784B281   ERIK          PALAFOX                 NE          27061041578
3551882512B87B   ALFRED        ARAGON                  ID          42027838251
3551935615B393   KAYLEN        BRIEN                   OR          90005483561
3551B415A8B16B   LIZBETH       CASTANEDA               UT          90013404150
3552158A87B639   JAMES         JONES JR                GA          90012245808
35521A6415B393   DAVIER        TORRES                  OR          90011640641
3552239824B275   SAMUEL        GUTIERREZ               NE          90012723982
35522637A4124B   KAREN         WARMAN                  PA          90014096370
355227A322B835   JONI          MORRIS                  ID          42005307032
3552282A97B471   TASHA         MILLER                  NC          90001088209
3552333885B393   ANTHONY       MACCARIO                OR          44591133388
3552415665B156   RICKY         BURNETT                 AR          90010511566
3552459917B471   SHUNTA        DANIELS                 NC          90005565991
3552512455B393   CARRIE        GREEN                   OR          90015181245
3552514332B871   KARRIE        BAKER                   ID          42013181433
3552629955B344   GUSTAVO       CANCHOLA VAZQUEZ        OR          90012392995
3552629A725632   GEORGE        CHAVEZ                  AL          90015342907
355267A7631424   ROMEO         MONTEZ                  MO          90014627076
355275AA25598B   SALVADOR      VENTURA                 CA          90010115002
35527994A47931   ERICA         MURPHY                  AR          25003099940
3552878A155936   JOSE L        ZAMORA                  CA          90011877801
3552945947B449   ERIKA         GARCIA                  NC          11057094594
3552B339791371   EARLENE       EDDY                    KS          90009513397
3552B744491232   TERRI         LOVE                    GA          14504357444
3552B76A14124B   MICHAEL       DOWDEN                  PA          51032167601
3552B84417B449   ANASTASAIA    RYSKAMP                 NC          11087688441
3552BA3422B87B   KERRY         NELSON                  ID          42091180342
3553113914B281   JEFF          COOPER                  NE          27035031391
355313A6391371   JUAN          GONZALEZ                KS          90000113063
355314A8155936   FRANK         LOPEZ                   CA          49076024081
355324AA241258   STACI         PARKER                  PA          90009994002
3553342428B329   PAYGO         IVR ACTIVATION          SC          90012854242
35533A41391584   CLAUDIA       GARDEA                  TX          75067220413
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35534687A47931   LACRECIA     SAMUELS                  AR          90014176870
35534A4118B16B   CHAD         MCCLOY                   UT          90014750411
35535799A61963   JACQUELINE   BOWLING                  CA          90001737990
3553579A37B639   NICHOLE      SLAUGHTER                GA          90013347903
35535A8425B344   SEMISI       FONUA                    OR          90006160842
355367A422B871   MARK         JACKSON                  ID          90005077042
3553719735B344   JOHN         MACCORKINGDALE           OR          44587541973
3553738555598B   DOMIRA       JACINTO                  CA          49018383855
355377A9247931   ELMBER       MAGANA                   AR          90008987092
3553831145B393   BYRON        HARRIS                   OR          90014783114
3553847717B471   DELMAR       VASQUEZ                  NC          90009944771
35538739A5B156   KINA         BURTON                   AR          23026777390
3553893388B16B   LEON         SHUMWAY                  UT          90012309338
3553B371355936   ROSE         REYNOSO                  CA          49011133713
3553B411247931   RICHARD      SIMON                    AR          90014074112
3553B6A9631424   RACHELLE     LEONARD                  MO          90004446096
3553B746455972   NATALIE      VALDIVIA                 CA          48044427464
3553B862491584   ELIDA        MARTINEZ                 TX          75005578624
355413A934B281   DEBORAH      WILSON                   NE          90007553093
3554177A52B87B   MARIAH       CASTRO                   ID          90013457705
35541A9A83B343   ROBERT       DREILING                 CO          33040420908
35542125A91891   JOE          FORD                     OK          90013451250
35543828A61963   BLANCA       GARDINI                  CA          90001788280
35543A44347931   LINDA        PROCTOR                  AR          90003390443
3554411622B87B   MOUSSA       FANGAMOU                 ID          90010961162
3554435595B344   JESUS        TRUJILLO                 OR          90011993559
35544378A2B871   PENNY        MCCALL                   ID          42074533780
35544A1A991584   EDGAR        LOPEZ                    TX          90014670109
3554554467B425   JACK         EYRICH                   NC          90008935446
3554566582B87B   JULIE        JONES                    ID          42054896658
3554569874B22B   MARIBEL      MINIZ                    NE          90002566987
3554658A291891   RIP          OHLEY                    OK          90011985802
355489A3147931   COLLISTA     SHOELEN                  AR          25084429031
35549183A91831   REYNALDO     SANTOS                   OK          90011581830
3554958444124B   SUSAN        MARTELLI                 PA          51031425844
3554B72632B835   WAYNE        WALLIS                   ID          90014177263
3554B728A8B166   DAVE         DAHLBERG                 UT          90009137280
3554B73552B87B   JESSICA      JIMENEZ                  ID          42046087355
3554B78175B344   RICHARD      CANICH                   OR          90004257817
3555173135598B   LORENA       ROJAS                    CA          90014077313
355522AA32B87B   BARRY        BALLEW                   ID          42053872003
3555268984B281   MIGUEL       BARILLAS                 NE          90012126898
35553135A8565B   ANGELICA     MERCADO                  NJ          90011161350
3555364278B166   TINA         RAYLEY                   UT          90007116427
3555411AA43575   TIANDRA      SAZAMA                   UT          31070471100
355546A5791371   JULIO        AAME                     MO          90004166057
355549A4691584   BRANDY       GONZALEZ                 TX          90002699046
35554A5944B275   ROBYN        GILLIGAN                 NE          90012130594
3555529145598B   JENNY        LEOS                     CA          90005062914
3555558777B471   NANCY        GALIMI                   NC          11017795877
35555A51141277   JENNY        PINEDA                   PA          51047420511
3555683567B639   PATSY        MORRIS                   GA          90005178356
3555685755B393   DANYELLE     KNAPPER                  OR          44512628575
3555828772B834   JANET        WILLIAMS                 ID          42032812877
3555831354B261   CLINTON      PRESNELL                 NE          90012093135
3555859564124B   ZAKIA        JONES                    PA          90010175956
3555883817B639   SANDRA       HICKS                    GA          15041988381
3555B28A35B269   ERICA        ROBISON                  KY          90005832803
3555B51812B835   CHRIS        YOUNG                    ID          42067175181
3555B677654165   GRACIE       QUATIER                  OR          90014936776
3555B91A64B281   CLAUDIA      AGUERO                   NE          27009509106
3556116825B344   CINDY        DITTMER                  OR          44508341682
3556122694B281   EDITH        TELULE                   NE          27020792269
35561689A7B425   KRISTA J     BILLINGSLEY              NC          90010626890
355618AA55598B   BRIGETT      RODRIGUEZ                CA          49086068005
355624A2491563   JOANNA       SILVA                    TX          75048954024
35562A52254165   PRISCILLA    BURKHART                 OR          90000400522
35562A8437B471   PAUL         GLENN                    SC          90007600843
3556319AA91831   JAMES        RYON                     OK          90011581900
3556326A87B449   BRIGETTE     MASSEY                   NC          11037492608
355632A117B492   LATOYA       ORMSBY                   NC          90014932011
3556335815B393   ELLA         RUTH BURTON              OR          44586323581
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35564A92A7B449   ARLENE        ANGELES                 NC          90014710920
3556513464B559   ERNESTO       VAZQUEZ                 OK          90009441346
35565453A4B281   JOSE          SOLORIO                 IA          90014824530
3556548565B344   CRESENCIO     JIMENEZ M               OR          44534254856
355657A342B87B   MELLISSA      CARR                    ID          90010327034
35567629A4B281   CARRI         NELSON                  NE          27020706290
3556775AA55972   VALERIE       ANALLA                  CA          90014317500
3556776415598B   JUAN          CHOVEZ                  CA          49073727641
3556776687B639   JASON         ZEIGLER                 GA          90013507668
3556782474124B   DANA          MAY                     PA          90000588247
3556789967B471   CARLOS        ESTRADA                 NC          90010118996
35567A5535B393   SAUL          MENDOZA                 OR          90014970553
35568AA752B835   CYRUS         CASE                    ID          90008430075
3557118728B16B   ANTHONY       SINE-DAMATO             UT          90002101872
35571217A72B25   DIAMOND       PORTER                  CO          90003062170
3557171832B871   COURTNEY      RICHTER                 ID          90012917183
3557224144B275   DAVID         ABEL                    IA          90013962414
3557317424B281   LAROYCE       WESLEY                  NE          27005181742
3557323455598B   SHERRA        VALDEZ                  CA          49074802345
355735A9351382   ELIZABETH     REIFF                   OH          66093055093
3557425184124B   KAYLA         SMITH                   PA          90012112518
3557437A597B67   SARAH         DELANGE                 CO          90001283705
3557472275B344   ROY           CALDWELL                OR          90011567227
3557549644B275   MICHELLE      BAKER                   NE          90014654964
3557568857B639   KATRINA       LEWIS                   GA          90011216885
35575A6182B871   ARON          HOLM                    ID          90009500618
3557639594124B   DAVID         LAW                     PA          90013963959
3557665955598B   ANAYELI       ARRIAGA                 CA          90014816595
3557682527B639   CHRISTOPHER   JOHNSON                 GA          90014018252
355773A994B275   CINDY         ANTHONY                 NE          27032983099
3557765245B344   GASPAR        QUINTANA                OR          44546626524
3557839827B436   JOSE          FUNES                   NC          90001523982
355794A394124B   MARCELLUS     HAMPTON                 PA          90014324039
3557951665B393   SAMAD         HINTON                  OR          90011685166
3557B524A91584   SANDRA        REYES                   TX          90004695240
3557B78817B425   BRIA          BENNETT                 NC          90011217881
3558133968598B   VANESSA       HUMBERT                 KY          90010403396
3558138AA4124B   WILLIAM       MOORE                   PA          90002633800
35582A19691584   WENDY         MONREAL                 TX          90014740196
35582A23791891   JENNIFER      GARRETT                 OK          90011000237
35582A2A451339   JASON         BUKER                   OH          66057010204
355832A1854165   BONNIE        GOLLIHER                OR          47021482018
3558485A155972   CANDELARIA    ROMERO                  CA          90014878501
35584A1637B639   LENN          WASHINGTON              GA          90006010163
35584A49591942   MERCY         NDAMBIRI                NC          17084220495
3558516635B52B   ANTHONY       CRAWFORD                NM          90014441663
35585748A91563   FELIX         ESTRADA                 TX          90014257480
355862A7591891   NICHOLAS      HOBBS                   OK          90010552075
3558633458B166   GUILLERMO     SALAZAR                 UT          31002523345
3558686A52B87B   RAQUEL        OLDERA                  ID          90014558605
3558724617B639   CODY          HARDING                 GA          90009992461
3558743A497126   ALBERTO       MORALES MILLAN          OR          90006804304
3558757477B492   ALEXIS        HATTEN                  NC          90014605747
35587A44555936   NANCY         SANTATE                 CA          49011750445
3558938A391891   CHRISTINE     HANKINS                 OK          21050593803
35589A2665B52B   GUILLERMO B   CHAVEZ                  NM          90005560266
3558B19A747931   ROBIN         GUYLL                   AR          90013231907
3558B22A591831   CHRISHANA     LOTTIE                  OK          90011582205
3558B993372B33   CARMENZA      UNGER                   CO          33016539933
3559142A955936   KAETA         BROWN                   CA          49053144209
355915A8741285   MICHELLE      SIMS                    PA          90004025087
3559226727B425   ELIJAH        KEELS                   NC          90012342672
3559371838B16B   APRIL         HAMBY                   UT          90014577183
35593A6917B449   ROMINA        ONOFRE                  NC          11036300691
3559435217B471   KEEONA        HEDRICK                 NC          11019303521
3559442522B835   MARIAH        THELEN                  ID          42000224252
3559475AA55972   VALERIE       ANALLA                  CA          90014317500
3559476175598B   REYANN        JIMENEZ                 CA          90012017617
35594A6955598B   CHRISHA       CHRISPENS               CA          90013770695
35594A73391563   RICK          CUELLAR                 TX          90010210733
3559556253B132   BRANDON       NEWELL                  MD          90015365625
35595A57791371   JESUS         GONZALEZ                KS          90007980577
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3559616527B639   OKEVIA       MCKELVEY                 GA          90013311652
355965A8991584   STEPHANIE    GUTIERREZ                TX          90013495089
3559676775B344   BENJAMIN     HOBBS                    OR          90014607677
3559724144B275   DAVID        ABEL                     IA          90013962414
3559737265B393   REGINA       KINAS                    OR          90006113726
355977A172B835   NICHOLE      HUGHES                   ID          90003517017
355983A464B275   ANGELIA      PATINO                   NE          90012253046
35599433A41258   RICHARD      CASH                     PA          51096024330
3559992988B16B   YVONNE       BEGAY                    UT          90010329298
35599A7148B17B   MATTHEW      ANDERSON                 UT          90007210714
3559B14947B492   CHARLES      HAYNES                   NC          90013041494
3559BA6A87B449   DONTARIOUS   BAKER                    NC          90014160608
355B1189A7B449   MARIA        GARCIA                   NC          11033481890
355B1A8A731424   JONELL       JONES                    MO          90014880807
355B2131854165   JARED        ANDERSON                 OR          90010521318
355B24A127B492   CHARLES      BREWINGTON III           NC          90006284012
355B2AA877B425   DANNY        RIVERA                   NC          90012770087
355B3363985835   GABRIEL      AZOULAY                  CA          46074173639
355B3987891563   ANABEL       PENA                     TX          90003429878
355B4157491563   PATRICIA     VALDERRABANO             TX          90013891574
355B439477B425   ANNDRIA      CHAMBERS                 NC          90008743947
355B43A1555936   ANA          MATAMBU                  CA          90012823015
355B4665791371   SHASHANA     OBERIE                   KS          90012256657
355B46A7591563   KC           DUTCHOVER                TX          90012426075
355B483914B281   TED          GEHLING                  NE          27012848391
355B4979691584   ALBERTO      FALCON                   TX          90011659796
355B5177391831   ISHA         WHITE                    OK          21029331773
355B551194B275   JUAN         MERCADO                  NE          90011955119
355B578955B52B   DAVID        SUTTON III               NM          90013617895
355B5986231424   SEPTEMBER    MILES                    MO          90001359862
355B6124455936   SOFIA        HERNADEZ                 CA          49008301244
355B634A554165   CHERI        BLACK                    OR          90003643405
355B6367872B76   SERGIO       ESPARZA                  CO          90006713678
355B698A45B344   DECHEN       DOLKAR                   OR          90014839804
355B6A6897B492   CHARISSA     RECKERS                  NC          90014450689
355B711152B87B   MICHAEL      BURKE                    ID          90014811115
355B747562B87B   VINCENT      TRYON                    ID          90010814756
355B7A63441285   KAREN        DREWERY                  PA          51088980634
355B8131854165   JARED        ANDERSON                 OR          90010521318
355B842815598B   JOHN         PAREDES                  CA          90011064281
355B85A564124B   MELISSA      RICHARDS                 PA          90010465056
355B8696391891   JIMMY        DALE                     OK          90014396963
355B899845B52B   ELIZABETH    LUNA                     NM          35033289984
355B8A34591831   VANESSA      SWAINSTON                OK          90011580345
355B8A7375B344   KENNETH      WISEGARVER               OR          90013470737
355B9299841258   WALTER       DOTHARD                  PA          51007442998
355B935522B871   VERLETTA     ANDERSON                 ID          42089663552
355B9368872B76   BIANCA       NAJERA                   CO          90006713688
355B937A77B851   MARIELA      RODRIGUEZ                 IL         90011263707
355B959954B559   JOHN         PASCHAL                  OK          90008555995
355BB46A84B281   PAULA        MARQUEZ                  NE          90002224608
355BB538291584   RUTHIE       HERNANDEZ                TX          90011805382
355BB56942B871   JD           LEWIS                    ID          90010255694
355BB59445B398   SILVIA       RAMOS-CRUZ-              OR          90004365944
355BB982141258   VICKIE       ANDERSON                 PA          51039409821
35611632A4B954   ISAIAS       BROWN                    TX          90011916320
3561215747B639   LAQUASHA     WILSON                   GA          90015201574
3561248A591831   CRISANTEMA   RODRIGUEZ                OK          90014184805
3561273487B471   GABRIELLE    JACKSON                  NC          11003277348
3561285915B52B   ARACELI      TORRES-CHAVEZ            NM          35057168591
35612A59191584   AMBER        MCJUNKIN                 TX          90014670591
35613A7AA4B275   JOSE         TORRES                   NE          90014620700
356141A9491831   AMANDA       TAYLOR                   OK          90014741094
35614A61391563   MAGDALENA    RIVAS                    TX          90000670613
3561538275598B   CARMEN       ROCHA                    CA          49040763827
356158A682B871   PHILIP       RODRIGUEZ                ID          90010828068
356158A857B449   LASHARI      MANN                     NC          11005668085
35615AA227B492   MUNOZ        BRIZEDA                  NC          11063180022
3561638755B344   YAIR         OCHOA                    OR          44550873875
3561787522B835   JAMES        JOHNSON                  ID          90015228752
3561837464B281   STEFANI      SAMUELS                  NE          90012173746
3561965A391584   TRILLO       MITL                     TX          75035846503
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3561B465891831   BENJAMIN     PAREDES                  OK          90014184658
3562212578B16B   OYUKI        HERNADEZ                 UT          90002711257
35622487A5B344   MAPENZI      TEMBO                    OR          90008584870
35622661A2B835   DARREN       BORCHARDT                ID          90014366610
3562285115B393   ANA          ACOSTA MORA              OR          44589078511
3562288984B281   ASYRIA       REECE                    NE          90014078898
3562312772B871   MICHAEL      MCCARVER                 ID          90011951277
35624A7562B871   KRISTINA     ALBERSON                 ID          42080460756
3562529334124B   MICHELLE     GRIEGO                   PA          51086032933
356252A5291584   MICHELLE     CARDONA                  TX          90011662052
3562577365B344   JONATHAN     ROWELL                   OR          90014607736
3562592862B87B   SANDRA       BANKS                    ID          42006459286
3562596AA2B871   KEITH        HARNEY                   ID          90014509600
35625A7445B52B   PERMA        SAAVEDRA                 NM          35053370744
356263A145B344   SANTIAGO     SOLISE                   OR          90008023014
3562678865598B   ROBERT       WEATHERS                 CA          49076097886
35626A83672B76   LUIS         MENDOZA PLASCENCIA       CO          90008440836
3562741615B38B   MARGARITA    ARCEO                    OR          90008384161
3562784214B559   MARISSA      SEVILLA                  OK          90010208421
3562786145B52B   MARIAH       SANCHEZ                  NM          90014398614
356278A2755972   PAUL         NEVAREZ                  CA          90011168027
3562839A15B52B   ANGELA       PERRY                    NM          90012283901
3562852977B449   MICHAEL      SMITH                    NC          90011705297
35628585A91371   TRISTA       KENNEDY                  KS          90014535850
3562987515598B   DENNIS       RABENA                   CA          90011468751
3562B49925B52B   MIGUEL       ORDONEZ                  NM          90010184992
356313AA24124B   JOHN         SHAFFER                  PA          51035473002
35631411A41285   CLAIR        SIBBLE                   PA          90014574110
35631413A61963   PRISCILLA    ROMERO                   CA          90010504130
3563147862B871   ANDREA       COX                      ID          90013374786
3563184745B344   MARIA ROSA   RAMIREZ                  OR          90013388474
356325A4554165   BEATRIZ      CRUZ                     OR          90003585045
3563347585B52B   MISSEY       DURAN                    NM          90013374758
356337A1A31424   GERALD       HEBRON                   MO          90015027010
3563385722B29B   ERLINDA      MARQUINA                 DC          90008698572
3563398912B871   KANDIE       HART                     ID          42094689891
356339A2291891   ERICA        REED                     OK          21055699022
35633AA365B393   LENDY        SANCHEZ                  OR          44512640036
35633AA628B16B   ARINA        VALLANUEVA               UT          90011460062
3563473859125B   KIMBERLY     WILSON                   GA          90003037385
35634977A5598B   HERIBERTO    VASQUEZ                  CA          90012419770
3563573547B449   PABLO        SALAZAR                  NC          90012347354
3563591464B275   HEISTAND     GAMBLE                   NE          90002419146
35636289A5B344   DANIEL       VASQUEZ                  OR          90015082890
35638558A2B828   ANGIE        PRESCOTT                 ID          90001205580
3563917215B52B   DAWN         MOLISEE                  NM          35096161721
356399A2291891   ERICA        REED                     OK          21055699022
35639A37355936   ROSALINA     MENDEZ                   CA          90012800373
3563B488555972   J            MURRILLO                 CA          90010714885
3563B56737B639   ALICIA       MORRIS                   GA          90012065673
3563B984231424   CATRINA      QUARELLS                 MO          90014629842
3563BA3A491563   JOSE         ROSALES                  TX          90006240304
35641969972B25   DARIAN       DURAN                    CO          90010869699
356422A119125B   JACK         INY                      GA          14558982011
35642AA534B52B   HEATHER      WILLIAMS                 OK          90010290053
3564316A82B87B   JARED        JONES                    ID          42087861608
3564346518B16B   JACKIE       GOODE                    UT          31079864651
3564355A25B344   RICARDO      LOPEZ                    OR          90013125502
3564359A28B16B   VALERIE      HERNANDEZ                UT          90014725902
3564476952B871   CHRISTINA    WILLIAMS                 ID          90002367695
3564525A97B492   JOSEPH       SERVIDIO                 NC          90013552509
3564545912B871   RODERICK     SHEIRBON                 ID          90014464591
356467A787B386   MARIA        FLORES                   VA          90013727078
3564691312B87B   TONY         CONNER JASON             ID          90003809131
35646A3A85B393   STEPHANIE    YOST                     OR          90009750308
35646A7527B492   STEPHEN      FERGUSON                 NC          90013330752
3564729162B87B   ALEXANDER    PEEL                     ID          42085732916
35647A6685B393   DAVID        BEST                     OR          44529100668
35648233A54165   ANTONIA      ANRADE-GARCIA            OR          90010662330
3564839512B87B   DALE         GOWIN                    ID          42071593951
3564844955B393   MARYANN      FROGGE                   OR          90013974495
356484A915B52B   JOSHUA       SANCHEZ                  NM          90014354091
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356496AA62B871   JOSE          CARDENAS                ID          90004206006
3564992525B52B   JOSIE         DIAZ                    NM          90011089252
3564B13612B871   JULIE         COWGER                  ID          90013151361
3564B466741285   JANELLA       PARKER                  PA          90014294667
3564B64725B344   MARIA         TERESA SANCHEZ LOPEZ    OR          44512676472
3564BAA898B16B   JESSICA       MCINTIRE                UT          90014740089
3565131567B639   ANTHONIO      WILLIAMS                GA          90010263156
3565133455598B   SANTOS        HERNADEZ                CA          90005443345
3565136647B449   MARIA         CARBAJAL                NC          90012363664
35651414A2B87B   ADELA         ROMAN                   ID          90009624140
35651A3977B492   STEPHANIE     STEFFES                 NC          90008230397
35651A5299125B   CHRISTOPHER   DICKENSON               GA          90012400529
35652A71691831   CONETHA       GERMANY                 OK          90012770716
3565318482B871   SANTOS        CHAPA                   ID          42045001848
3565326417B639   TAWANA        RAGLAND                 GA          15055142641
3565329334124B   MICHELLE      GRIEGO                  PA          51086032933
3565359A28B16B   VALERIE       HERNANDEZ               UT          90014725902
356536A4841258   LAVONNE       PITTS                   PA          90010746048
3565375A191563   CRUZ          VILLANUEVA              TX          75042077501
35654237A91891   STEPHEN       MOSCHAK                 OK          90010022370
356542A4941285   CHARMAYNE     TURNER                  PA          90012142049
3565489177B639   COURTNEY      TARVER                  AL          90011308917
3565513457B639   RALFAUEL      CRENSAW                 GA          90011001345
35655A39631424   DAVID         PATTERSON               MO          90014630396
3565627394124B   TANEISHA      REDMAN                  PA          51066152739
3565763A391563   LORENZO       RUBIO                   TX          75092606303
356576A353B35B   PATRICIA      TALAMANTES              CO          90002236035
35657959A7B425   MICHAEL       MILLER                  NC          11081039590
3565831574B275   EVELIN        MEDRANO                 NE          90004913157
35658466572B76   RIGOBERTO     CABANAS                 CO          33058594665
356584A4454165   AUTUMN        MOSLEY                  OR          47017484044
3565854895B344   KIRIN         STRUNK                  OR          44576205489
35658661654B99   GORDON        TOEVS                   VA          90008306616
35659661654B99   GORDON        TOEVS                   VA          90008306616
356599A717B639   LARETHA       JOHNSON                 GA          15002219071
3565B61A241258   DAWN          EMERY                   PA          90010966102
3565B77587B639   TREMELL       JACKSON                 GA          90011997758
3565B96594B275   ROBERT        HENRICKSON              NE          90003249659
3566162415B358   MARIA         LAGUNAS                 OR          90007826241
3566171A572B76   POWELL        TASHEKA                 CO          33016147105
3566179425B344   JOSHUA        JOHNSON                 OR          90014577942
3566188698B16B   JUSTINA       AGIULAR                 UT          90014578869
35661A7A17B425   AMBER         DAVILA                  NC          90015190701
35662497972B76   JULIUS        HINTON                  CO          90006714979
3566318798144B   LASHAUNDRA    HOUSE                   PA          90015411879
3566341465B393   MELLISSA      HEREFORD                OR          90012324146
35663A86191891   CALVIN        MCALLISTER              OK          90013050861
35663A8AA7B449   MARIBEL       AVILA                   NC          90011850800
35664769798B61   ROSA          IGLESIAS                NC          90002447697
3566528474B281   DAVID         ROSS                    IA          90014892847
3566589A691563   DAISY         TORRES                  TX          75010618906
3566759A591563   JOHN          BOWLER                  TX          90013845905
35668161A91563   KRYSTEN       CARDENAS                TX          90010271610
3566842532B871   GINA          CHAPA                   ID          90012854253
35668585A91371   TRISTA        KENNEDY                 KS          90014535850
3566937AA7B639   CURTIS        YOUNG                   GA          15068773700
35669A37A7B492   ULISES        CHEGUE                  NC          90008460370
3566B347991891   DARRELL       TERRELL                 OK          90007363479
3566B52915B393   CYNTHIA       KELLEY                  OR          90011185291
3566B66664B281   NICK          STOM JR                 IA          27035066666
3566B9A2431424   LAURA         HOTCHKISS               MO          90012519024
356711A3A91584   CARLOS        DAVILA                  TX          90014671030
3567185714B561   JOSH          AYERS                   OK          90008648571
3567191A77B639   JESSICA       PERRY                   GA          90014789107
3567248245B344   SILVIA        RODRIGUEZ               OR          44572454824
3567349414B281   GLENDA        SMITH                   NE          27059784941
3567365164124B   JENNIFER      KARADEEMA               PA          90014236516
3567477178B16B   GINO          ARELLANO                UT          90013757717
35674A62781685   LUZ           NUNEZ                   MO          90002360627
35674A72541277   KATELYN       EVANS                   PA          51058870725
35675877A4124B   LYNN          CHIESA                  PA          90013148770
35675884872B76   SERGIO        GARCIA                  CO          33063698848
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35675A5A391371   JULIA       PROBY                     KS          90011410503
3567646674B275   MATTHEW     HANDERSON                 NE          90012604667
356772AA541285   MARGARET    KULKOWSKI                 PA          90009762005
3567761515B393   CORY        THOMPSON                  OR          90011686151
3567793A347931   LILIANA     ALDACO                    AR          25084419303
3567812A654165   RACHAEL     BARRAZA                   OR          90010541206
356792A1491563   MICHAEL     CALLAGHAN                 TX          90007482014
356798A9141277   MELANIE     PRATLEY                   PA          90005278091
3567B1A3455972   VANESSA     MEDEL                     CA          90014061034
3567B47A451382   JOSHUA      DURBIN                    OH          90011414704
3567B652391584   APRIL       MORENO                    TX          90013116523
3567B6A9A4124B   ALESCHIA    WATKINS                   PA          90014886090
3568134625B52B   DANIEL      MAY                       NM          90002813462
3568181744B281   WINNE       PERRY-CHAWIRA             NE          90009408174
35681A8794B281   JENNIFER    DELGER                    NE          90013240879
3568256422B871   STACY       RITTER                    ID          90006905642
3568264745B557   ALEGANDRA   BERNAL                    NM          90012586474
356832A3672B32   ANTONIO     LANDA                     CO          33095192036
3568334737B453   DARLENE     HARDING                   NC          90011193473
35683451A5B393   CAROL       PARKER                    OR          44589724510
3568399652B87B   CAMDEN      MALDONADO                 ID          90007709965
35683A55A5B52B   JULIAN      SANDOVAL                  NM          90012020550
3568456759372B   OMAR        MENDEZ                    OH          90001555675
3568481415B52B   LUIS        PAREDES                   NM          35093908141
35686377A8B329   CHRIS       MCTIER                    SC          90015413770
3568656655B52B   JUAN        GARCIA                    NM          90014785665
3568658785B344   PETER       MUI                       OR          44500845878
3568725335598B   ERICA       CRUZ                      CA          90011312533
3568742A391563   MIKE        ENCISO                    TX          75048644203
3568856837B425   JEROME      IKARD                     NC          90010465683
3568873592B835   GLENN       MILLER                    ID          90010807359
3568931612B835   RODNEY      WHITE                     ID          42019203161
3568947812B87B   ADWAR       ABU ZAHRA                 ID          42009674781
3568948314124B   DANIELLE    WRIGHT                    PA          51012284831
3568975A191831   JESSICA     BOWEN                     OK          90011587501
3568998737B639   ALEX        BOYKIN                    GA          90005219873
35689A64A61963   SUSANA      GASCON                    CA          90002940640
3568B896855943   DENISE      QUIROZ                    CA          90011618968
3569144692B871   EMILY       RAY                       ID          42011824469
3569164398B16B   LORENZO     ZAZUETA                   UT          90010536439
3569175567B639   ARTESIA     BRYANT                    GA          90013597556
3569188162B87B   MANDY       WHITEHEAD                 ID          42083438816
356932A3A4B275   GLENNETT    GRANT                     NE          27060882030
35693A65591563   SHAIMA      AZABY                     TX          90010690655
3569482494B281   ROBERT      RYAN JR                   NE          27035078249
35694A3315B344   LUCINDA     HILT                      OR          90013260331
35695772A47931   MIKO        BOTLA                     AR          90015017720
35696A31555972   NOVA        KRSTIC                    CA          48033860315
35696A8A951382   KELLY       MCKINNEY                  OH          90006720809
3569729168B16B   JAXSON      FARR                      UT          90012452916
3569729257B471   CHADWICK    LEE                       NC          11090452925
356977A5455972   JOSE        LARA                      CA          48017307054
35697A85891891   MARLON      YOUNGER                   OK          90008920858
3569877148B16B   LETICIA     CASTANON                  UT          31085667714
3569971715B344   JOSE        RUANO                     OR          44557227171
3569973657B492   SUSAN       PETERSON                  NC          90011677365
3569B124655936   GRICELDA    PACHECO                   CA          90011521246
3569B31794B275   DEANNE      OFLAHERTY                 NE          27083583179
3569B4A4441258   ERICKA      SMITH                     PA          90009634044
3569B71452B871   CLAUDE      BAHATI                    ID          90015087145
356B1332841285   DESSIE      FERGUSON                  PA          90011253328
356B1617654165   JOHN        BULLARD                   OR          90015036176
356B195639125B   RODNEY      HAMILTON                  GA          14525329563
356B2236361963   ANTONIO     MONTEJO                   CA          90010492363
356B25A375B393   CARL        BURNS                     OR          90015525037
356B267578B166   SERGIO      PENA                      UT          31015676757
356B277387B639   ISAIAH      LESTER                    GA          90014107738
356B3272A91831   RAY         COMBS                     OK          21017132720
356B333117B449   KAREN       SHERRILL                  NC          90002483311
356B3383241285   ANDRES      PEREZ-SDEEN               PA          90014573832
356B342995598B   STEPHEN     JOHNSON                   CA          90010724299
356B5484331424   JOSEPH      HOLT                      MO          90007974843
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356B5585A91371   TRISTA        KENNEDY                 KS          90014535850
356B571A18B16B   KARINA        RUIZ                    UT          90012057101
356B5863855936   JOSEPH        GALVAN                  CA          90002088638
356B5A41A91584   LOURDES       PEREZ                   TX          90014670410
356B6257561963   NAMUUN        NARANAMGALAN            CA          90010492575
356B62A6641258   TROY          FREEMAN                 PA          90005442066
356B6481855972   TINA          PENA                    CA          90004964818
356B6A8428B16B   MICHAEL       MERRIL                  UT          90001850842
356B7122354165   JEFF          NICKELSON               OR          47097111223
356B819814124B   BRIDGET       BOYD                    PA          90015241981
356B83A745B393   FERNANDO      PAEZ                    OR          90013843074
356B929334124B   MICHELLE      GRIEGO                  PA          51086032933
356BB26212B828   JENNY         MOORE                   ID          90012652621
356BB61A154165   ANYSHIA       GOMES-BROOKSHIRE        OR          90015036101
3571133212B87B   JAIMA         CLINGE                  ID          42042433321
3571157A841285   TERESA        MINOR                   PA          90014585708
3571192785B52B   MARLAINE      CALLAHAN                NM          90014499278
3571197935B344   ALEJANDRO     MANCERA                 OR          90010259793
35711A9A754165   SIERRA        PETERS                  OR          90000330907
3571264A24124B   ROBERT        MORTON                  PA          90014096402
3571297585B52B   AMANDA        CHAVEZ                  NM          90011879758
3571326A17B471   GARY          MCADAMS                 NC          11034572601
3571343365598B   MARCCELA      MARTINEZ                CA          90013604336
3571396A941252   TIMOTHY       DEY                     PA          90014969609
35713A78441285   CALVINA       TERRELL                 PA          51033400784
35713A8737B639   BYRON         BRASSELL                GA          15092480873
35713A92154165   DONALD        JOHNSTON JR             OR          47048740921
35714337A5B393   JENNIFER      DIETL                   OR          90007863370
3571444677B449   CHRIS         SCOTT                   NC          11082744467
3571462187B425   CARLOS        ALFARO                  NC          90001066218
3571462838B16B   JAMIE         MARSHALL                UT          90013566283
35714A43A54165   MARIA         GUZMAN                  OR          90014630430
3571555815B393   DANIAN        TOWNER                  OR          44577795581
357157A4191232   LAVANN        WIGGINS                 GA          90003687041
35715AA9851339   DEBBIE        SMITH                   OH          66038700098
3571625997B425   KAMERON       RUCKER                  NC          90013082599
3571627745B344   STEPHANIE     HORRELL                 OR          90010902774
3571648198B16B   PATRICK       SPENCER                 UT          90012434819
357164A8891831   LAQUITA       WARTAN                  OK          90001234088
35716564A41285   LANAYA        BERRY                   PA          90014575640
3571662757B471   ANGELA        SPRINGS IVEY            NC          11079726275
3571692588B16B   PATRICK       SPENCER                 UT          90013869258
3571796537B471   HAZEL         ESPINOZA                NC          90010039653
357182A834B275   COLBY         LOCKWOOD                NE          90013542083
357184A5141258   MICHAEL       FAUST                   PA          51078454051
3571862749155B   JESUS         GRAJEDA                 TX          90007536274
35718935657B79   DAVID         NICHOLAS                PA          90011249356
3571922972B871   MICHAEL       SCHWARTZ                ID          90010842297
3571B214A8B16B   ANN           KELSO                   UT          90008112140
3571BA1357B639   ANGELA        WILSON                  GA          90012310135
357213A644B281   ASHLEY        BUSH                    NE          90013963064
35721655A31424   MISTY         SANVITO                 MO          27562456550
3572219455598B   SANTOS        CORTES                  CA          90006461945
357228AA631424   ALISHA        PAIGE                   MO          27566268006
3572325717B639   TRINITY       MILLER                  GA          90013772571
357238AA55598B   BRIGETT       RODRIGUEZ               CA          49086068005
3572432937B639   ALBERET       ROSSER                  GA          15080113293
3572443A25B38B   BETHANY       BROOKS                  OR          90008084302
3572495A151382   ANITA         CHAPMAM                 OH          66021069501
3572496557B492   EYORSALEM     KASAYE                  NC          11091109655
35724A2665B52B   GUILLERMO B   CHAVEZ                  NM          90005560266
3572545975B344   MARTIN        VIRGEN CASTREJON        OR          90011794597
3572558355598B   RUTH          BERNAL                  CA          90009805835
35725A25981672   ELOIS         WALKER                  MO          90013760259
3572635247B639   CARLOS        GOMES                   GA          90012813524
357264A164B275   ROCIO         ROMERO                  NE          27089594016
3572659869125B   DONNALD       JACKSON                 GA          90002795986
35726A31191543   GERARDO       RODRIGUEZ               TX          75085250311
3572762384B275   TERI          CADY                    NE          90002866238
35727A7887B639   ANNA          CASTIGLIA               GA          90013560788
3572842837B492   BOBBY         WILLIAMS                NC          11084024283
3572843797B449   SHONTANICA    HOWARD                  NC          11085304379
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3572899115B269   YVONNE      HARROD                    KY          90006199911
35728A22A91543   ERNESTO     PEREA                     TX          75006390220
3572926965B536   TROY        GRIMES                    NM          35088902696
3572BA27641258   TINISHA     WYATT                     PA          90011000276
3573126A891831   MAHANNAD    AL CHAMAT                 OK          90002792608
3573146994B275   LESA        HALL                      NE          27097774699
3573154767B425   ANTHONY     SHEPHERD                  NC          90001025476
357318A242B87B   IRMA        YBARRA                    ID          90012228024
3573338518B166   ZACHARY     ALLEN                     UT          31068033851
35733A33741285   SHAMARYA    BURTON                    PA          90010640337
3573414A555972   VERONICA    NUNEZ                     CA          90013311405
3573428644B281   GLENN       SEMIN                     NE          27051792864
3573452344124B   ADAM        RYAN                      PA          51018025234
3573495518B16B   ESTEBAN     PEREZ                     UT          31086929551
3573566788B16B   JUANA       GALLEGOS                  UT          31048956678
357369A6991831   AMANDA      WHITE                     OK          90011589069
35736A9837B449   GYAN        BISWA                     NC          90011850983
3573772115B393   RANDY       ROSE                      OR          44579557211
3573955625B52B   GLADYS      GRADO                     NM          90011125562
357398A774B275   PATRICIA    RENTERIA-AVALOS           NE          27089738077
35739A34991371   MISHA       CHAVEZ                    KS          90014090349
3573B213141285   AUTUMN      STEVENS                   PA          51004372131
3573B446355936   VIOLET      GUZMAN                    CA          90014974463
3573B66547B425   TYLOR       PERRY                     NC          90014546654
3573B6A477B471   TIERNEY     WILKES                    NC          11042386047
3573B853885965   TONYA       MANSER                    KY          90005208538
3574116412B835   RACHEL      JONES                     ID          90007611641
3574213912B87B   REMONA      HTOO                      ID          90009601391
3574432155598B   GILBERT     MENDOZA                   CA          90014753215
3574457935598B   ERICA       GONSALEZ                  CA          90011125793
3574486582B871   RODOLFO     BRAN CHAVIRA              ID          42012138658
35744A4556B264   STEPHEN     TORRES                    AZ          90014040455
3574643A65B393   WILLIAM     ALFONSO-HERNANDEZ         OR          90012614306
3574731372B871   GABRIEL     MONTERO                   ID          42008343137
35748396A7B639   RUBEN       LARA-LARA                 GA          90015133960
35748A1A44124B   THOMAS      SCHAFFER                  PA          51034410104
35749429A91371   JASON       LADY                      KS          90013544290
3574947A591584   CARLA       CORRAL                    TX          90011664705
3574B19115B52B   DEVON       JOJOLA                    NM          90013491911
3574B374154165   JOSH        GAROUTTE                  OR          47084693741
3574B455A91891   EDWARD      ALLEN                     OK          90007224550
3574B641991563   ELVIRA      MELENDEZ                  TX          75075486419
3574B82687B425   ANGELA      BLAND                     NC          90012058268
3574B89227B639   JAQUAN      JONES                     AL          90015248922
3574B921791831   SHEILA      FARLEY                    OK          90011589217
3575161868B16B   MARIA       LLAMAS                    UT          31078586186
3575186775B344   GILBERTO    PENA                      OR          90014618677
35751A25841285   MARJORIE    MCALLISTER                PA          90008500258
35751A4685B52B   KADEE       JARAMILLO1613 TWINBE      NM          90001010468
3575232342B87B   JON         LONG                      ID          90006203234
3575248572B835   JAMI        MURILLO                   ID          90009724857
3575294A491371   PHIL        BOLLINGER                 KS          90014579404
35752994A5598B   JEFFREY     CLEMENTS                  CA          90014709940
3575318678B16B   JULIA       HAMBERLIN                 UT          90012271867
3575386A491563   JESUS       GAONA                     TX          90014788604
3575455964124B   FRANCES     VOELKER                   PA          90001825596
3575521415B344   TINA        WILSON                    OR          90012902141
35755268A2B87B   NOELANI     PRESCOTT                  ID          90011002680
35755479A91584   ARMANDO     SILVA                     TX          75012564790
3575562985B393   ROXANA      MILLER                    OR          90015096298
3575571452B871   CLAUDE      BAHATI                    ID          90015087145
35755A9113B132   SAMUEL      JACKSON                   VA          81010960911
3575715685B344   NICOLAS     TREJO LOPEZ               OR          90013961568
3575861542B835   LAFON       SCOTT                     ID          90014696154
3575879AA7B639   DANIEL      GAINS                     GA          90010027900
35758A4556B264   STEPHEN     TORRES                    AZ          90014040455
3575929542B87B   ALFONSO     ALLEN                     ID          90014392954
3575B13585598B   SARAH       HUXLEY                    CA          90012291358
3575B225141258   RICK        SPEAKMAN                  PA          90009132251
3575B47842B87B   MITCHELL    JIMENEZ                   ID          90013574784
3575B616A91371   JONATHAN    KILANOSKI                 MO          29045626160
3576113135598B   ALEX        CUEVAS                    CA          49015951313
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3576234745B393   KRISTIE     CLARK                     OR          90009083474
3576357684123B   GABRIEL     GARNER                    PA          90005585768
35764A5525B344   ANDREW      WERNER                    OR          90005390552
35764A6843B357   GLORIA      LEANOS                    CO          33094740684
3576578429125B   DONALD      BILLEY                    GA          14559077842
3576584255B344   ADRIANA     ANDERSON                  OR          90004048425
35765866972B76   MERCED      ESPINOZA                  CO          90009208669
3576628612B87B   PORTIA      ELTON                     ID          42026042861
357663A975B393   CHRISTA     BOGGS                     OR          90012793097
35767648472B76   ALBA        PEREZ                     CO          33077326484
357688A595B52B   LISA        BACA                      NM          35060148059
3576893117B471   DASHONN     QUINN                     NC          11058139311
35768A37A31424   DEADRINNE   BANKS                     MO          90014640370
3576B47A561963   JESSICA     MARTINEZ                  CA          90014944705
3576B4A8991831   CORDELL     VY                        OK          90000244089
3576B61147B471   CARL        WILLIAMS                  NC          11036776114
3577184A85B52B   JOSEPH      CHAVEZ                    NM          90000628408
3577189528B16B   JOHNNY      PALACIOS                  UT          90011538952
357724A4241258   JOHN        MCCLENDON                 PA          90013494042
357725A174B275   SELENA      CHAVEZ                    NE          90002265017
3577262AA7B449   GENEVIEVE   ROBERTS                   NC          90014346200
3577268A841285   JENNIFER    CALIO                     PA          90014576808
3577295AA7B449   GENEVIEVE   ROBERTS                   NC          90012509500
35773684A41285   RICHARD     ROBERTS                   PA          90014576840
3577394A15B393   KELLY       SNYDER                    OR          44571429401
3577465AA31424   DECARLOS    MOORE                     MO          90011506500
3577484832B871   IRMA        ENRIQUEZ                  ID          42044358483
357753A115B344   CANDACE     SMILEY                    OR          90007203011
3577552728B167   JESSICA J   SHAW                      UT          31032725272
3577563515B393   STEPHANIE   POEHLER                   OR          90002016351
35775A89A5598B   BRANDI      WILLIAMS                  CA          90011110890
357763A3591891   CRYSTAL     ALEXANDER                 OK          90012873035
357764A513B132   REGINALD    MCMICKINS                 DC          90008404051
35777277A51337   JESSICA     GADBERRY                  OH          90002172770
35777A91731424   SHARRON     WESLEY                    MO          90014640917
3577847234B281   JESSICA     CARR                      NE          27085434723
3577862592B871   LUISA       CERVANTES                 ID          90013226259
3577931447B492   OMAR        RAMIREZ                   NC          90007163144
3577B865A2B257   TANYA       HARRIS                    DC          90001318650
357815A284B281   SHANTEL     HORN                      NE          90014865028
3578195797B471   TONYA       SPRUILL                   NC          11019929579
35782A8537B492   LILIAN      IZAGUIRRE                 NC          90012160853
35783693A4124B   LARRY       LEGEZA                    PA          90013916930
35783A1437B639   LYDIA       MCCRRACKEN                GA          90010630143
3578514238B16B   JULIO       BARRAGAN                  UT          90014591423
3578658777B492   DAWAN       MYERS                     NC          90013615877
3578746895B52B   ESMERALDA   GARCIA                    NM          90010154689
35787542A72B76   ROSA        VALENCIA                  CO          90012675420
3578767914124B   RACHAEL     CASKEY                    PA          51084266791
3578827664124B   WILLIAM     BRANCH                    PA          90014342766
357883A2861921   NORMA       RANGEL                    CA          90008753028
35788A35254165   RANDALL     WILLIAMS                  OR          47028640352
35788A45655936   ARACELLI    RODRIGUEZ                 CA          49058560456
35789535A55972   FGSFG       FGSFGS                    CA          90015095350
3578993392B835   MELANIE     MAGGARD                   ID          42010799339
3578B211A7B639   LOUIS       HILL                      GA          90001812110
3578B235961963   PENNEY      CRAWFORD                  CA          90006942359
3578B428255972   LEONARD     LUJANO                    CA          90013394282
3578B52475598B   GRACIELA    VALDEZ                    CA          90004855247
3578B58517B395   BELINDA     HOOVEN-FOSSIE             VA          90002735851
3579113A65B393   ALLAN       FRERIS                    OR          90012711306
3579133894124B   CYRA        NORTON                    PA          90000493389
3579183987B492   KENYATTE    CLEMMER                   NC          11012578398
3579211337B492   GENEVA      DAVIS                     NC          90009171133
35792732A5B344   SHAMRA      MONTOYA                   OR          90012717320
35792981A2B835   JUDY        RUSSELL                   ID          42016559810
3579327575B52B   MARIA       CERA                      NM          35070972757
3579337978B16B   CASSANDRA   CRESPIN                   UT          90014623797
3579349444124B   TAMIKA      JOHNSON                   PA          90002784944
3579537857B425   SAMANTHA    WILLIAMS                  NC          90002593785
3579562A48B166   JOHNSON     LUKE                      UT          90005456204
35795A6127B449   HANA        MAHMOUD                   NC          90011710612
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3579694685B393   STEVIE       HOGGANS                  OR          90001769468
35797159A2B87B   CASSANDRA    YRBY                     ID          90013551590
3579732157B639   ANDREA       GRANT                    GA          90001903215
357973A2241285   KIMBERLY     OLIVER                   PA          90010193022
3579772A44124B   ROBERT       GRAY                     PA          90005207204
3579826372B871   PEDRO        ORELLANA                 ID          90013792637
3579878247B639   ROBERT       ALDERETE                 GA          90013867824
3579987655B393   JESSE        JOHNSON                  OR          44509208765
35799923176B45   ZORAYDA      VALENTIN                 CA          90010349231
35799A98491371   RICKIE       VAUGHN                   KS          90014830984
3579B53857B492   PATRICIA     SELLERS                  NC          90008905385
3579B576991371   TYLER        MULLANE                  KS          90014915769
3579B597A91831   ANISSA       WESLEY                   OK          90014185970
357B1133361963   TAMARA       LEHMAN                   CA          90013541333
357B1165341258   ALICIA       PURTER                   PA          90007461653
357B128735B52B   TASHA        SOUZA                    NM          90010912873
357B153224B275   DIANNA       JACKSON                  NE          27087755322
357B182A57B425   SHASTA       CHAMBERS                 NC          90012938205
357B212315598B   PRINCESA     LOPEZ                    CA          49086851231
357B3535A41285   JENNIFER     TAGG                     PA          90014575350
357B3638391563   GREGORY      MEJIA                    TX          75095796383
357B36A4291831   JAMIE        ODONNELL                 OK          21087086042
357B391754B281   TRACY        HANSEN                   NE          27044599175
357B3A3A75B52B   LAURIE       LEVINE                   NM          35059870307
357B4179433626   OSCAR        ZONABRIA                 NC          90002041794
357B4538391525   IRMA         COBIAN                   TX          90014705383
357B454762B835   GABRIELA     MARTINEZ-ROMERO          ID          90006875476
357B456945B52B   NOEL         GUZMAN-FAUDA             NM          90011465694
357B51AA661963   VERENICE     VELAZQUEZ                CA          46037461006
357B5685A7B449   JANICE       WILSON                   NC          11050626850
357B621A17B639   VERONICA     CARNES                   GA          90010782101
357B712487B449   LATORA       HOWARD                   NC          90014041248
357B716452B87B   ANTONIO      CAMACHO                  ID          90008861645
357B7611754165   JANE         WHEELER                  OR          90014646117
357B763718B166   ARNOLD       HEMPHILL                 UT          90012436371
357B7751555972   NOVIA        ROMO                     CA          90012927515
357B795824124B   LINDA        GREENE                   PA          90013129582
357B83A6A41258   JOE          FARNCISCUS               PA          51066613060
357B851989375B   REBECCA      MOORE                    OH          90010485198
357B8533655972   ELIZABETH    NAVARRETE                CA          90009885336
357B8572691371   LEANNE       GRAY                     KS          29096505726
357B878A74B281   JACQUELINE   VILLEGAS                 NE          90013427807
357B87A7454165   KRISTE       LYONS                    OR          90015127074
357B883888B16B   TIMOTHY      NEAL                     UT          90010778388
357B8A69354165   ANDREW       DELORME                  OR          90000840693
357B919345598B   YESSENIA     SOTO                     CA          90013871934
357BB133361963   TAMARA       LEHMAN                   CA          90013541333
357BB29677166B   JACLYN       DOUCIMO                  NY          90015502967
3581118414124B   DUVALL       AIKEN                    PA          51047601841
358131A828B16B   MARTIN       MURO                     UT          31021901082
3581364A991891   DERRICK      BARNES                   OK          90012086409
3581469565B393   JESSE        CAAMAL RUIZ              OR          90012126956
3581473615B52B   NANCY        GRAEBER                  NM          35066967361
3581478498B16B   ARIEL        VINE                     UT          90001847849
3581493712B835   MARISOL      LOPEZ                    ID          42027819371
3581549187B425   GILEVALDO    RUIZ                     NC          90006284918
358154A4191831   CLAUDIA      GARDEA                   OK          21000484041
3581589565B375   CHAD         HENSEL                   OR          90009498956
3581652542B835   AGUSTIN      GARCIA                   ID          90001285254
3581664A391563   JOHN         FREDERICK                TX          75052796403
3581727225B393   JULIA        FLORES TORRES            OR          90011902722
3581782364B275   OMAR         VALDIVIA                 NE          90013838236
35818A1827B639   MELVIN       CARTER                   GA          90014470182
35819251A41285   CHRYSTYN     BALLARD                  PA          90014612510
35819863A41285   BRANDY       RATTENNI                 PA          90014578630
3581B84464124B   TOI          JOHNSON                  PA          51034448446
35821A79655972   LORENA       CARRILLO                 CA          90001930796
358221A3991821   AMANDA       SECONDINE                OK          90008621039
3582234A78B16B   ALEXANDRIA   BUCKNER                  UT          90015493407
358224A8391563   JUAN         MUNOZ                    TX          90008994083
35822A72A4B929   ARTURO       VARGAS                   TX          90002280720
35822A81A5598B   SANTOS       SANTAGO                  CA          90010290810
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1723 of 2500


3582336454124B   MARK         MICKMAN                  PA          90013963645
35823476A91563   EMILIO       MORENO                   TX          75031624760
358234A192B871   LORRAINE     CONLEY                   ID          42014254019
358235A152B835   FABIO        CORONADO                 ID          90014715015
358242A6491563   CONNIE       RAMIREZ                  NM          90013032064
35824587A8B16B   ROBERT       SWAIN                    UT          31070615870
3582587684B281   RICHARD      DRURY                    NE          90002138768
3582594A49375B   KAMMEY       WALKER                   OH          90010629404
35826956672B76   KARINA       MONARREZ                 CO          33081679566
3582762A95B52B   ALEXANDRIA   SHIELDS                  NM          90011026209
35827AA435B264   TERRON       DOTSON                   KY          90006330043
358283A1491371   MAURO        SANCHES                  KS          90014313014
358289A447B639   LAURA        SMITH                    GA          90000759044
3582934342B871   KEVIN        DAVIS                    ID          42007103434
358296A6254165   BAMBI        WALKER                   OR          90001736062
35829746A7B425   GELLE        ROBINSON                 NC          90009257460
35829A66547931   VELDA        ALANIS                   AR          90010330665
3582B54915B156   TRESA        RAGAN                    AR          23041755491
3582B85892B835   JOSEPH       HAMMETT                  ID          42090778589
3583126448B16B   BRIAN        DALLINGA                 UT          90015182644
358316A285B393   CECILIA      PINEDA                   OR          44563306028
3583211164B275   JESSICA      DUNN                     NE          90014471116
3583251635B52B   CYNTHIA      SANDOVAL                 NM          90013905163
35832A2287753B   JESSEE       FRYE                     NV          90004430228
3583325462B835   LEVI         PINES                    ID          90007612546
3583349187B449   CRYSTAL      LIOUMS                   NC          90005224918
358335AA25598B   ADOLINE      MARTINEZ                 CA          90010725002
3583421857B639   KRISTINA     COPRIDGE                 GA          90001322185
358346AA75B52B   ALMA         DELGADO                  NM          90011306007
3583487342B835   YOLANDA      MARTINEZ                 ID          90005378734
3583523587B449   IVAN         RODRIGUEZ                NC          90011712358
3583561A941258   RAE          SMITH                    PA          90008736109
3583599318B16B   CHRISTINA    GARNER                   UT          31065629931
35835A27155921   JUAN         HERNANDEZ                CA          49013820271
3583636654B281   CARLOS       CHAVOYA                  NE          27074083665
35836726A5B393   MARTHA       BENITEZ                  OR          90013517260
3583697752B835   CINDY        TILFORD                  ID          42076169775
35836A5248B16B   DARSI        SHEPHERD                 UT          31004360524
35836A78455936   FERNANDO     MARQUEZ                  CA          90015090784
3583745448B16B   JULIA        HERNANDEZ                UT          90006064544
3583766897B639   DERECK       MOTLEY                   GA          90012066689
358389A7791371   TERRELL      DAVIS                    KS          90014599077
35839484A2B87B   DAVID        PETERS                   ID          90014584840
3583974147B492   WILLIAMS     CREWS                    NC          90014347414
35839A6815B344   GENY         SANTIBANEZ               OR          44550910681
3583B244A91831   MAYRA        MUNOZ                    OK          90011312440
3583B365141277   RONALD       SMITH                    PA          51089043651
3583B37147B492   TERESA       STARR                    NC          11023753714
3583B74767B639   MAE          THOMPSON                 AL          90015107476
35841A1465B344   NOE          NONOAL                   OR          90010200146
358421A8691891   TEMARKEYA    OLIVER                   OK          90012641086
35842661A91831   CORY         ERNST                    OK          90014186610
358428A3331424   JAMES        WHITE                    MO          90011368033
3584294614124B   TODD         HURST                    PA          51046379461
35842A6A491563   TURY         CONTRERAS                TX          90012670604
3584323A16B264   BENJAMIN     HELEN                    NV          37085992301
35843946A7B639   CHRIS        GILYARD                  GA          90008789460
3584442785B52B   PAUL         ARELLANO                 NM          90013984278
358447A4161963   YVETTE       MAGANA                   CA          90010547041
3584481142B871   JANE         TRINH                    ID          90000808114
3584652437753B   JOSHUA       BATEMAN                  NV          90000825243
35846A86141258   JAMES        DALEY                    PA          90010650861
35847191A5B345   PEARL        BOSWELL                  OR          90005381910
3584739A95598B   HUGO         DIAZ                     CA          49048143909
3584752437753B   JOSHUA       BATEMAN                  NV          90000825243
3584816415B52B   ERIK         PIZARRO                  NM          90010871641
3584837675B393   RICARDO      AMBRIZ                   OR          90000223767
3584841525B344   DANELLE      XICARA                   OR          90013184152
35849533772B23   JOSE         TREVIZO                  CO          90012415337
3584998A161963   TRAVIS       THOMAS                   CA          46085689801
35849A86891891   KELLY        PROCTOR                  OK          90003700868
3584B239955972   JOE          ENGLE                    CA          48086662399
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3584B33458B166   CABALLERO     RUBEN                   UT          31013273345
3584B47A77B492   ALEJANDRA     NUNEZ                   NC          90014884707
3584B589791584   KEITH         JORDAN                  TX          90011665897
3585115725B344   LINN          FORNSHELL               OR          90005351572
3585119A88B166   DENA          BRADY                   UT          31007221908
3585155835B52B   JUAN          OERA                    NM          90003055583
3585167635B359   DEREK         JACKSON                 OR          90002476763
3585346A25B52B   DESIREE       SOSA                    NM          90013184602
35853A25A91563   SANTIAGO      VALDEZ                  TX          75085660250
358542A5991584   JANETH        ANGUIANO                TX          90014672059
3585456515B344   DESIREE       SWEARINGEN              OR          44589735651
3585517513B132   DARNELL       COOPER                  DC          90013891751
3585593685B393   NABY          SOP                     OR          44513309368
3585667635B359   DEREK         JACKSON                 OR          90002476763
358568A6255972   JUAN          ALCANTAR                CA          48012238062
3585711A141258   LINN          KEITH                   PA          51039471101
3585774385B393   RONNY         GOWAN                   OR          90014917438
3585846522B835   ALLEN         BAUER                   ID          42058514652
3585B335155936   GUADALUPE     SUAREZ JR               CA          49037403351
3585B81885B52B   SILVIA        RIVERA                  NM          90009638188
3585BA28361963   JUANA         ESTRADA                 CA          90005840283
35861284A55972   NUBIA         GUTIERREZ               CA          90012402840
3586265827B639   ANTHONY       POLLAND                 GA          15010896582
358636A3A2B835   KAREN         ROBLES                  ID          90013096030
3586381234124B   DESSENSE      JOSEY                   PA          90012848123
35863928272B76   PATRICK       MARQUEZ                 CO          90009689282
3586525122B586   ASIA          KING                    AL          90014132512
3586578A755936   SETH          BISCAGLIO               CA          90014987807
3586585462B87B   DAWN          PIXLER                  ID          90014898546
3586658548B16B   ANTHONY       HOLMES                  UT          90013205854
3586812777B639   VASU          DESAI                   GA          90010051277
358682AAA8B16B   ESCOBEDO      RITA                    UT          90012842000
3586884812B871   MICHELLE      GUDGEL                  ID          42014918481
35868A1774124B   NANCY         DARLINGTON              PA          90006260177
3586931AA5B393   THEO GERARD   SWEETING                OR          90015113100
358694A415B52B   LORA          TAYLOR                  NM          90007584041
3586B314451594   ROSE          SMITH                   IA          90015263144
3586B58215B344   GABINO        ESPINDOLA               OR          44572455821
3586B69A755972   NOEMI         MOTA                    CA          90014496907
3586BA54291584   ROSA          GONZALEZ                TX          90013030542
35871732A2B87B   DAVID         ESPARZA                 ID          90010667320
358731A394B281   CHRISTIAN     CAMPOS                  NE          90013241039
3587325144124B   DANTE         WILLIAMS                PA          90010952514
35873289A7245B   STEALA        KRISTON                 PA          90011022890
35873582A7B471   ELVIRA        PEREZ                   NC          11064925820
3587455A691831   DANIEL        GANN                    OK          90014275506
3587546544B275   MICHAEL       GOODWIN JR              IA          90004814654
3587556A355972   RAMONA        CARLOSSERRANO           CA          48005725603
358765A9A31424   BRITTANY      OATS                    MO          90014645090
358766AA131657   STEVEN        MYER                    KS          90006846001
3587784237B639   ROSALYN       POWELL                  GA          90009358423
3587885952B87B   AARON         CHAFFER                 ID          90015228595
3587886468B16B   WESLEY        MELTON                  UT          90011448646
3587927957B639   KIARA         JACKSON                 GA          90015262795
3587982627B449   CHINO         BURCH                   NC          11048058262
3587B443341277   MATT          WRIGHT                  PA          51076284433
3587B48A841258   CARLA         WILSON                  PA          90008524808
3587B93A151382   DANIEL        RICHARDS                OH          66051649301
3587BA69A91371   RYAN          OMALLEY                 KS          90003670690
3587BA7982B87B   CARISSA       CANTU                   ID          90012870798
3588139238B166   KELLEY        SHAUNE                  UT          90006803923
3588153A731424   FELICA        ADAMS                   MO          90014645307
3588212314B281   ROLANDO       CHI-XOOC                NE          27079291231
3588236A59152B   MYRNA         SOTO                    TX          75082423605
3588344772B87B   IBRAHIM       ABDIRAHMAN              ID          90013044477
35883645A41285   JAMAL         JACKSON                 PA          90014586450
3588392935B52B   ASHLEY        SCHNEIDER               NM          90014569293
3588443982B87B   HAZEN         SVEDERUS-DAY            ID          42000894398
358845A718B16B   MICHAEL       GARCIA                  UT          31018115071
35885A83854165   ROBIN         HITCHOCK                OR          47092930838
3588696747B492   DANIEL        SMITH                   NC          90001069674
35886A1A88B16B   JUSTIN        COTY                    UT          90010780108
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35887A69A91371   RYAN          OMALLEY                 KS          90003670690
3588815785B344   MARIA         CASTILLO                OR          44586701578
3588897195598B   STEVE         ACUNA                   CA          90014009719
3588958452B87B   ALEJANDRINA   FLORES                  ID          90013635845
358897AA431424   JACOB         CLARK                   MO          90013087004
3588B1A6491537   ADRIAN        SANTOS                  TX          90009991064
3588B236831657   CURTIS        KITCHEN                 KS          90008632368
3588B31112B87B   VANESSA       VARGAS                  ID          42004333111
3588B46762B871   RUTH          CRISSMAN                ID          90006634676
3588B47485B393   JESUS         PALMO                   OR          90009614748
3588B515A91891   STEPHANIE     BAUGHMAN                OK          90008435150
3588B76924124B   QUINTIN       HOOPER                  PA          90011427692
3588B996491831   MISTY         ACEVEDO                 OK          90008999964
3588BAA838B16B   EDGAR         DIAZ                    UT          90010780083
3589198817B492   ROY           PETERSON                NC          90015119881
35892127A8B166   JASON         WISER                   UT          90013381270
3589232185B555   FRANK         MORALEZ                 NM          90007843218
3589253554B275   LASHUNDA      BLACK                   NE          90008425355
358925A658B16B   COLTON        OWEN                    UT          90013575065
35892A33355951   PEDRO         SERRANO                 CA          90000540333
35892A3975598B   DOMONIQUE     NOELLE                  CA          90013650397
3589314772B87B   RODOLFO       NUNEZ                   ID          90006401477
35893225A91584   JOVITA        QUINONES                TX          90014672250
35893637A31424   TIERA         SIMMONS                 MO          90002136370
3589643A391891   CHRISTINA     FAULCONER               OK          90009464303
3589658412B87B   THOMAS        FREINWALD               ID          90014765841
35896A77141285   WILLIAM       TORNABENE               PA          90015240771
3589877525B344   LORRAINE      SUNDERMAN               OR          44528207752
358988A342B835   WILLIAM       WRIGHT                  ID          42029318034
35898981A55972   JODAN         PECK                    CA          90012719810
3589986737B425   JALESSA       REDMOND                 NC          90007978673
3589B36345598B   JOSE          ESCOBAR                 CA          90008693634
3589B6A655B52B   CAROLYN       ROMERO                  NM          90003536065
3589BAA9791584   ANN           DOUMA                   TX          90011670097
358B199972B871   LIDUVINA      PINEDA CRUZ             ID          90006099997
358B236392B835   TIA           SATECHER                ID          90007673639
358B273592B835   GLENN         MILLER                  ID          90010807359
358B2A6188B166   SAMUEL        WATERBURY               UT          31029820618
358B339797B359   MANFREDY      CENTENO-LOPEZ           VA          90001683979
358B33A2A54165   CRISTOPHER    WILLUWEIT               OR          90015133020
358B35A1691584   HEZDEL        PILLADO                 TX          90010435016
358B3838591891   MICHAEL       WARREN                  OK          90015198385
358B4774891584   MYRIAM        FERNANDEZ               TX          90008777748
358B47A735B52B   NAOMI         SENA                    NM          90003857073
358B499595B52B   MAGDALENE     SENA                    NM          90014199959
358B517552B835   JOY           BURNIGHT                ID          90013291755
358B51A987B639   TAQUINTIN     HODO                    GA          90011051098
358B5642833634   RODERICK      STINSON                 NC          90001696428
358B5692491563   JUANNA        LARA                    TX          75089566924
358B5926741285   RICHARD       CONTI JR                PA          90001879267
358B624812B87B   BRODY         STATES                  ID          42067902481
358B6514291587   NYDIA         ESTRADA                 TX          90001225142
358B664985B52B   ESTEFANA      LAZALDE                 NM          90004786498
358B665942B871   RACHEL        STINER                  ID          90014056594
358B677837B449   ARIANNA       MOULTRY                 NC          90010647783
358B692335598B   MARLON        STUBBLEFIELD            CA          90010889233
358B6984861945   ROBERTO       LEON                    CA          90006419848
358B6A18291371   ROSA          FERNANDEZ               KS          90010340182
358B714A454165   KRISTI        MERCER                  OR          90004671404
358B7285341258   KAREN         GABLE                   PA          51074382853
358B7591A76B61   NOE           VELASQUEZ               CA          46010145910
358B84A6741258   KIA           BROWN                   PA          90013474067
358B879452B871   RAI           RAI                     ID          90007987945
358B9186491831   BARRY         UZZEL                   OK          90013241864
358B9849891891   SKYLAR        BROWN                   OK          90010288498
358BB269A54165   CHRISTINA     MCMILLAN                OR          90015132690
358BB55985B52B   JESUS         MONCLOVA                NM          90013455598
358BB8A6A5B344   BEN           HUFFMAN                 OR          44575228060
358BB94455B156   ANTWIN        LACY                    AR          23042789445
3591169A691831   KIMBERLY      HOPKINS                 OK          90014186906
3591171864124B   JENNIFER      CASTOR                  PA          90013917186
3591177727B492   NICHOLE       BROWN                   NC          90014907772
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3591263592B835   JOSE           RICO                   ID          90010016359
35912858A2B87B   ROXANNE        RODRIGUEZ              ID          42047208580
3591339447B639   MECHELE        VIRGIN                 GA          15033303944
359137A177B449   MICHELLE       JONES                  NC          90008357017
3591387812B835   DELMA          FLORES                 ID          90012718781
359142A697B492   LEIGHANNA      MGILL                  NC          90014662069
3591446598B166   FERNANDO       CURIEL                 UT          31071894659
3591466557B639   TRAMAINE       DAVISON                GA          90015086655
35915182A91538   GEORGINA       MARTEL                 TX          75064521820
3591525A577531   JOSE           NAJERA                 NV          90015012505
3591761965B52B   ELVIA          OCHOA-RAMIREZ          NM          90011136196
3591779715B393   THOMAS         CLAYTON                OR          90012037971
3591789662B871   KRYSTANJA      GLENN                  ID          90010578966
35918796A7B449   ANNIE          RICHARD                NC          11081327960
35918A12154151   DELILAH        HILL                   OR          90009610121
35918A65691584   EDUARDO        ESPINOZA               TX          90011670656
35919112A2B835   AGIM           SELACI                 ID          42005331120
3591945545B344   EDUARDO        MAYO                   OR          44592384554
35919818A54165   MICHAEL        DUNPHY                 OR          90006118180
3591983627B425   RAVEN          WHITE                  NC          90012548362
3591B143755936   LUPITA         HERNANDEZ              CA          49017791437
3591B183991584   ALEJANDRA      PONCE                  TX          90009701839
3591B712941285   TAMICA         SMITH                  PA          90014587129
3591B73155B393   YIEN           SAECHAO                OR          90013517315
359214AA17B639   AARON          LUCKEY                 GA          15044894001
3592217735B344   TERRY          DOTY                   OR          44597251773
3592227A847931   PAM            BAKER                  AR          90011982708
3592237222B87B   JIMMIE         LANE                   ID          42012983722
35922A1A15B393   MADLEEN        REYES                  OR          90013850101
3592372722B871   NANCY          EAKIN                  ID          42006507272
3592485938B16B   ASHLEY         DUKE                   UT          90001078593
3592485A72B871   LUIS           SANDOVAL               ID          90009588507
3592525A52B835   CAMI           TURGURNO               ID          90013072505
3592527A555936   SERGIO         FRANCO                 CA          90014752705
3592534515B344   LILIAN         ESTRADA                OR          90013133451
3592578247B639   ROBERT         ALDERETE               GA          90013867824
359262A1591563   MERCEDES       YANEZ                  TX          90007952015
35927247A2B835   WILLIAM        SWAPP                  ID          90011532470
35927539A91371   TOBIAS ALLEN   DARNIELLE              KS          90014395390
35927648A5B52B   MARICELA       ANDAZOLA               NM          35018136480
35927A86885943   HARLOD         WIGLESWORTH            KY          90014130868
3592838A85B52B   JAMES          DIAZ                   NM          35007023808
3592883694B275   MARISA         MIRAMONTS              NE          90012168369
3592B47875B344   BECKY          ANN                    OR          90007674787
3593113614B281   NICOLE         COTTEN                 NE          27087111361
3593113A661963   DESTENY        MATHENY                CA          46014011306
3593114345B344   ROBERT         MEDLEY                 OR          90013451434
35931238A91584   ELVIA          AGUILAR                TX          90014672380
359312A167B492   THERESA        WATKINS                NC          90011152016
3593155955B156   JOHN           WARD                   AR          90000665595
359315AA55598B   MANUEL         IZQUIERDO              CA          90014095005
35931853A4B275   LOU            BUCK                   NE          27040688530
35931A74A91563   RICHARD        DOMINGUEZ              TX          75084120740
3593213315598B   OLGA           VALDEZ                 CA          49071601331
3593234265B393   ASHLEY         ARCIGA                 OR          90014543426
3593289118B273   JOSE           PEREZ                  VT          90015478911
35932A28547931   FREDERICK      BARKER                 AR          90014760285
359332A3591232   JAMES          SIMS                   GA          14588652035
35934333A7B492   CRYSTAL        GARRISON               NC          90014653330
3593447389379B   RENEE          MILLER                 OH          90008734738
3593469462B871   TIM            ARNETT                 ID          90015006946
3593473475B344   BETH           COLE WOODRUFF          OR          44545147347
3593477797B425   YVONNE         SHARPE                 NC          90014867779
3593527785B52B   VINCENT        ALDERSON               NM          90010662778
3593549355B393   NORA           MAKIN                  OR          90015404935
359355A3291584   CYNDIL MARIE   APODACA                TX          90011815032
359362A962B871   CANDICE        SIMPSON                ID          42088052096
35936A2487B639   KIANA          RAMOS                  GA          90014610248
3593732422B835   MICHAEL        MAIN                   ID          90013773242
3593735425B52B   CARLSO         CHEVEZ                 NM          90002873542
35937466A55972   YVONNE         CARRASCO               CA          48035734660
35937795A91584   ROBERT         KYLE                   TX          90010767950
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35937A4694B281   LEDENE        PEARSON                 NE          90013740469
35937A63855936   GEREMIA       ALEJANDRO               CA          90015470638
3593811395B393   RAGINA        GRAY                    OR          90012301139
35938411A5B344   MIGUEL        GARCIA                  OR          90012374110
3593975357B471   CHRISTOPHER   STORM                   NC          90013287535
3593983954B281   SANDRA        GUILFOYLE               NE          27056938395
3593991615B23B   TIM           PRINCE                  KY          90006049161
35939AA9447931   KATHERINE     SMITH                   AR          90010990094
3593B85635B393   ALEX          DAVIS                   OR          90011688563
359424A922B835   JEFF          WESTBROOK               ID          42033394092
3594254594B281   BRIAN         ALLEN                   NE          27032785459
3594523334B275   MEAGAN        GUBSER                  NE          90008002333
3594586297B639   EVA           SANAGUSTIN MORENO       GA          90013508629
3594612435B344   DARLA         DUNHAM                  OR          90005601243
3594643182B871   GINA          MALONEY                 ID          90010844318
35946543A54165   DAVID         HAWK JR                 OR          90012915430
3594665394124B   DEBRALYNN     FERRARO                 PA          51029026539
3594743445B393   HOM           NEPAL                   OR          90001864344
3594759A391563   PETER         NERIA                   TX          90010885903
3594791112B835   YOLANDA       CUEVAS                  ID          42053949111
35947A87991584   MARIA         ALVIDREZ                TX          90011670879
3594868192B87B   ZACHARIAS     HERNANDEZ               ID          90004786819
3594911824124B   SHERVA        WOODS                   PA          90012651182
35949451A72441   RONALD        CAMPBELL                PA          90001564510
3594B258947931   TIMOTHY       ROBERTS                 AR          25061772589
3594B41797753B   ROBERTO       TORAL-RODRIGUEZ         NV          90012624179
3594B66784B275   DOMINGO       RALIOS                  NE          90014856678
3594BA97591584   WILLIAM       ALEMAN                  TX          90011670975
3595155212B87B   KC            FARRAR                  ID          42081885521
359517A5941258   AMY           SCHMIDT                 PA          90011187059
359518A558B16B   ROBERTO       VILLARREAL              UT          90004648055
3595227765B393   DEBRA         POWERS                  OR          90013392776
3595325827B492   MARIA         MONZON                  NC          90001792582
35953463672B76   DAVID         PADILLA                 CO          90002904636
3595366534124B   SHANNON       GRUBER                  PA          90014286653
3595424894B281   JEREMIAS      MENDOZA                 NE          27005712489
35954525A4B275   KATY          PAFFORD                 NE          90003505250
35954612972B76   LEONEL        FLORES                  CO          33063276129
35954A89261973   JESUS         FIGUEROA                CA          90009640892
35955431A91891   MARIA         CALVILLO                OK          90015174310
3595544397B639   ASHLEY        DOZIER                  GA          90014864439
3595545915B393   DARRAN        WESTFALL                OR          44534664591
359554AA64B281   CHRISTINA     FOOTE                   IA          27091914006
3595586A67B425   SHERJUARA     BAXTER                  NC          90014868606
359559A1391891   AMANDA        CAMPBELL                OK          90012029013
35955A3877B425   PAYGO         IVR ACTIVATION          NC          90010190387
35955A85154165   JOSHUA        BUCKLEY                 OR          90010580851
3595631313B352   DAVID         GALLEGOS                CO          90013293131
3595732335B52B   PAUL          VANDECAR                NM          35057593233
3595783117B639   ANDREW        PARIS                   GA          90013518311
35957899A5598B   JOSEPH        LANEY                   CA          90014848990
3595799772B87B   TENNILLE      MURPHY                  ID          42089689977
35957A2113B325   CARLOS        VILLALOBOS              CO          90009640211
3595846958B16B   RANDY         RUPE                    UT          90003464695
3595851617B639   TAWONDA       MATHIS                  GA          90014635161
35958A92757121   MIGUEL        LAZO                    VA          90012730927
3595912852B871   NOOR          ARABZADA                ID          42086961285
3595943315B393   HEATHER       SIMERSON                OR          90010304331
3595977A131424   KEVANTE       BOYD                    MO          27517507701
35959981A2B87B   JUDY          RUSSELL                 ID          42016559810
3595B38292B871   JOSE          REYES                   ID          90012243829
3595B539741258   JEFFERY       THERMOND                PA          90013755397
35961369A5B393   EDWARD        MITCHELL                OR          90014333690
35961536A2B871   FRANCISCO     CONTRERAS               ID          90014865360
3596229255B393   JENNIFER      BLAYCLOCK               OR          44588492925
3596262A18B191   SHAWANA       BENTLEY                 UT          90006656201
3596363812B871   YURI          FRENEITES               ID          90007816381
3596422A361557   RICARDO       PENA                    TN          90015432203
3596447747B386   DAVID         CRUZ                    VA          90011624774
359644AA591891   KELLEY        JACKSON                 OK          21052844005
3596516255B393   REX           PAYNE                   OR          90013301625
3596518224B281   KACETTA       ONEFEATHER              NE          90007871822
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359652A9A7B639   ELKI           VAZQOEZ                GA          90012412090
35965A5794B275   DAVID          ADAMS                  NE          27056410579
35965AA9772B76   DOLORES        BERUMEN                CO          33068340097
35966628A7B657   ZAVIER         CAREY                  GA          90010226280
3596671875B393   CHRIS          OMOLETSKI              OR          90007017187
3596685915B344   LULIT          HAILE                  OR          90011868591
3596693117B492   LUIS           MIGUEL MEDEL PIZA      NC          11063239311
3596714189375B   EMEKA          NIFFA                  OH          90014041418
3596754145B344   MIKE           RAND                   OR          90004175414
3596792828B166   TAMI           HOLLY                  UT          31057459282
3596846195B52B   JOE            PACHECO                NM          90014414619
35968471A31424   WENONA         BAKER                  MO          90014654710
3596894642B87B   JOHN           WAGNON                 ID          90012079464
3596B454A61963   KENNETH        DUKES                  CA          90010564540
3596B77397B425   ROKESHA        DANIELS                NC          90013087739
3596B91165B52B   LANCE          CARDONE                NM          90000799116
3596BA85355936   KAREN          VELASQUEZ              CA          49011550853
3597138652B835   DANIJEL        TRAVAR                 ID          42059023865
3597195A98B16B   JENNIFER       GUTIERREZ              UT          90012979509
3597198324B954   ODEL           FORBES                 TX          90009069832
3597419A99125B   GLORIA         JOHNSON                GA          90006071909
35974352A8B166   CLAY           KOURBELAS              UT          90004283520
3597475782B835   CHRISTINA      SPROAT                 ID          42017557578
359755A6541258   MICHAEL RORY   BENN                   PA          90012705065
3597625298B16B   VANESA         RAMOS                  UT          31017102529
3597633685B344   HUMBERTO       RAYA                   OR          90014633368
3597656195598B   DIANNA         RODRIGUEZ              CA          90010725619
3597689312B87B   PATRICIA       STIMSON                ID          42015058931
3597723364B281   ADAM           GALLAGHER              IA          90010562336
3597832125B52B   WESLEY         WINKLEPLECK            NM          35068133212
3597859495B344   SEVERO         BRANO                  OR          90013295949
3597867137B639   TAMARA         STARK                  GA          90010466713
35978A74A7B639   WALTER         BRIDGES JR             GA          15063430740
35978A9935B52B   DEANNA         HERRERA                NM          90006060993
35979437A3B332   LYNN           BROWN                  CO          90010104370
3597986424124B   WILLIAM        SNOOKS                 PA          90010118642
3597B13277B471   OUSMANE        KONE                   NC          11061261327
3597B136955931   RAUL           DELATORRE              CA          90013011369
3597B429191563   JAZMIN         PARRA GUILLEN          TX          90014374291
3598263317B639   MARCY          WALKER                 GA          15004076331
35982A98541258   DAVE           WOOD                   PA          90013900985
3598311135B344   IGNACIO        PENA                   OR          90011571113
3598319667B492   DIANA          CROMER                 NC          11049791966
3598345427B639   JOEDAVE        ROBERSON               GA          15012964542
3598349552B871   RICHARD        MATA                   ID          90014824955
3598377A22B871   CHARI          SMITH                  ID          90011977702
3598384A42B87B   JOSHUA         LUNDQUIST              ID          90004428404
3598418173B352   KATHRYN        MARES                  CO          90008241817
35986281144B45   GILBERT        GLASS                  OH          90014112811
3598655528B179   VICTORIA       SANCHEZ                UT          90013955552
3598677842B87B   KRYSTAL        ESTERLINE              ID          42083977784
35986A45691869   MANDIE         CRAWFORD               OK          21070910456
3598715182B835   DANIEL         EVANS                  ID          90014781518
3598825665B141   ELIZABETH      GRAVES                 AR          90013702566
3598826A45B344   AMY            DEROSSO                OR          90002252604
3598973384B281   JESSICA        PITT                   IA          90007207338
3598B259391584   JASMINE        LICON                  TX          90014672593
3598B613761963   COURTNEY       ALTMAN                 CA          90011296137
3598B7A3291563   RAMON          ARREOLA                TX          75058917032
35991A93631424   CURTISTEAN     DOSS                   MO          90011330936
3599227725598B   ESMERALDA      RECENDEZ               CA          90005692772
359926A567B492   JOHANNA        JOHNSON                NC          90013566056
35992A23855972   DENNIS         KINCAID                CA          90007990238
35992A59691371   FAUSTO         CASTANEDA              KS          90007060596
3599313575B393   LOLA           SANCHEZ                OR          44556551357
359931A964124B   LISA           IRWIN                  PA          51093991096
3599413575B393   LOLA           SANCHEZ                OR          44556551357
3599434722B835   BROOKE         RAST                   ID          90012133472
3599461345B344   NARCISO        CRUZ RODAS             OR          90013696134
35994A96591563   CELINA         RODRIGUEZ              TX          90002230965
35995A76355972   ESPERANZA      REYES                  CA          48059770763
3599617552B871   JOY            BURNIGHT               ID          90013291755
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3599645545598B   JAMIE        VASQUEZ                  CA          90013604554
3599668A57B639   STEPHANIE    RENA LUKE                AL          90012626805
3599678922B87B   ELLEN        RILEY                    ID          42091367892
3599771A484345   PATRESA      POMPEY                   SC          90014707104
35997A76691831   TEVIN        ROBERSON                 OK          90011600766
3599929A391584   STEPHANY     HERNANDEZ                TX          90001722903
35999A58597153   DEBBIE       HYNEMAN                  OR          90008680585
3599B67A191831   THEO         MCCULRE                  OK          21065386701
359B122263B152   JAMES        FLOYD                    DC          81015572226
359B154A531424   CHRIS        STRATE                   MO          90009045405
359B1A1472B871   JAMES        SULLIVAN                 ID          42005930147
359B2379441258   TIARA        JOHNSON                  PA          90013013794
359B294754B281   DECHELLE     STARKS                   NE          90008179475
359B296142B87B   ROBERTA      GROTH                    ID          90013769614
359B299272B26B   YIETA        JOHNSON                  VA          90014849927
359B2A4774B275   ELIZABETH    ZASTERA                  NE          90014610477
359B324817B492   SODONIA      LEDET                    NC          90014652481
359B359A95598B   AUGUSTA      MAXWELL                  CA          90014825909
359B4283133681   VIRIDIANA    GUTIERREZ                NC          90012492831
359B4A3934B275   JUSTIN       BAKER                    NE          27003020393
359B526165B375   BRANDON      PUGH                     OR          90013592616
359B543A15B52B   KATHLEN      DYER                     CA          35056854301
359B597115B344   ARACELI      TORRES JAIMES            OR          44528959711
359B5A5A791538   ALBERTO      GONZALEZ                 TX          75093570507
359B69A3491584   ANASTASIO    BUASTAMANTE              TX          90012159034
359B6A82591563   MERCEDEZ     GUTIERREZ                TX          75010630825
359B7177691371   GRECIA       ARROYO                   KS          90005681776
359B7289391891   MARTA        STARR                    OK          90010182893
359B745A14B281   STEPHANIE    POPE                     NE          27033634501
359B77A372B871   KELSEY       NELSON                   ID          90013767037
359B786912B835   EMELY        JEFFREYS                 ID          90015088691
359B7946155972   CRYSTAL      ARRIAGA                  CA          90011109461
359B7A7754B275   JUAN         AXUME                    NE          90014480775
359B852A132573   AGUSTIN      PEREZ                    TX          90015025201
359B878754124B   SYLVIA       MATHEWS                  PA          90014887875
359B881785B344   MISTER       MEANER                   OR          90015128178
359B8866491563   FRANK        MARTINEZZ                TX          75056468664
359B8A5A82B835   JEFF         PALAGI                   ID          90003010508
359B936A261963   PEDRO        LOPEZ                    CA          46082783602
359B94A165B52B   KAYLA        RASMUSSEN                NM          90013944016
359B985594B275   MARIA        GONZALEZ                 NE          90006078559
359B9862172B25   VERONICA     HART-TAYLOR              CO          90012748621
359B9A36391584   NORAH        QUIZ                     TX          75035920363
359BB15294B281   MICKI        CARR                     NE          90014931529
359BB667255972   JOSEFINA     CAVALLERO                CA          90013046672
359BB691155936   HERMELINDA   ZENDEJAS                 CA          49067206911
35B11122855936   BARBARA      GIL                      CA          90011931228
35B11235A55947   GUSTAVO      JORGE                    CA          90008272350
35B1124347B425   RODNEY       LIVINGSTON               NC          11093152434
35B11359955972   ERIKA        RODRIGUEZ                CA          48052483599
35B1198914B281   KELLY        COX                      NE          27074929891
35B12375A8B16B   JEFF         JOHNSON                  UT          90008303750
35B1243845B393   MICHEAL      STOY                     OR          90001044384
35B12711191563   RODRIGUEZ    VIRGINIA                 TX          90008657111
35B12A1137B639   TONIKA       MURPHY                   GA          90010380113
35B12A4115B252   SINDA        BISACKY                  KY          68014770411
35B1337175B52B   HECTOR       GUTIERREZ                NM          35066363717
35B13438341258   VIRGINIA     PETERS                   PA          51041674383
35B13746291584   ATELIANA     SELESITINA               TX          90011787462
35B1375335B344   JACQUELYN    SMITH                    OR          44596977533
35B13878651382   JORGE        DOMINGUEZ                OH          66046138786
35B14432291563   ARTURO       ASTRORGA                 TX          75004774322
35B14633447931   CARLOS       LEMUS                    AR          90006726334
35B1474684124B   NICOLE       JAMES                    PA          90014327468
35B14772791891   WILLIAM      DIDWAY                   OK          90013287727
35B14A87A7B471   TAMMY        PETTYJOHN                NC          90004230870
35B15245755972   MIA          MEEKS                    CA          90013392457
35B1539767B449   ANGEL        DOMINGUEZ                NC          90012413976
35B1543395B52B   CAMARENA     ISELA                    NM          90006594339
35B1559A18B16B   WENDY        GROW                     UT          31007605901
35B15768341277   BONNIE       THOMPSON                 PA          51085097683
35B15927554165   DAVID        MAISH                    OR          47075509275
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35B1623115B344   ALLEN       COONS                     OR          44591072311
35B1637464B281   STEFANI     SAMUELS                   NE          90012173746
35B16617191584   KATIA       GARDEA                    TX          90011646171
35B16948691232   TIESHA      RHANEY                    GA          90004539486
35B17175291891   JERRY       SMITH                     OK          90013551752
35B17343531424   CHELSEA     THOMAS                    MO          90003913435
35B1735AA61925   MELVA       CASTRO                    CA          90012193500
35B1762962B871   JASON       BLANKENSHIP               ID          42078556296
35B18422291831   KYISHA      LENTZ                     OK          90009544222
35B18613891563   BELEN       LOPEZ                     TX          90011086138
35B18628491891   JOANNA      GALLEGOS                  OK          90014336284
35B1883535B52B   DOLORES     VASQUEZ                   NM          90011808353
35B188AA24124B   CONNIE      WIMBUSH                   PA          51095408002
35B189A6754165   TALAYKA     SZILLAT                   OR          90014689067
35B1B131A4B281   SHANA       HAZEN                     NE          90013301310
35B1B96263B352   JACOB       RUFF                      CO          33018659626
35B1B977A55936   RIANNA      MARTINEZ                  CA          90015339770
35B21197731424   RYAN        BLANCHARD                 MO          90010381977
35B217A565B156   DONATO      TORRES                    AR          23091447056
35B21A53141431   VALESIA     RODGERS                   WI          90003880531
35B21A56891831   KASSI       SHIELDS                   OK          21039900568
35B2219156192B   DOLORES     PALOMINO                  CA          90007491915
35B22237A9155B   ANALU       SOLIZ                     TX          90007892370
35B2256862B835   JESSICA     PARTON                    ID          90014605686
35B22599331424   CHERYL      SHUMATE                   MO          90014515993
35B2266775B233   NICOLE      BOYD                      KY          90013136677
35B22A7425B156   CESAR       LINARRES-MARTINEZ         AR          23081020742
35B2335738B166   ARMANDO     MABIL                     UT          90008993573
35B23865991831   DESTINY     THOMAS                    OK          90011558659
35B23943791563   LUIS        MELENDEZ                  TX          75089719437
35B2453834124B   CHARLENE    WEBB                      PA          90012595383
35B27415572B76   GAYLE       HANN                      CO          33082334155
35B27653651339   BRET        LAND                      OH          90006896536
35B27685891831   BILLY       HARJO                     OK          90015166858
35B278A415B385   KIMBERLY    SCHIEWE                   OR          90000498041
35B27A9292B835   MANE        VERA                      ID          90014160929
35B2857A32B835   MAISARA     MATATA                    ID          90013305703
35B2859664B275   TYLER       SPRACKLIN                 NE          90015435966
35B2867474B281   NINA        LUICILLE                  NE          90008906747
35B286A2141258   MIKE        WOODSON                   PA          90005496021
35B28846441285   MATIKA      BROWN                     PA          90014018464
35B28927651382   BELCI       ORTIZ                     OH          66050739276
35B28A26A7B425   MINOR       TRISTAN                   NC          90012390260
35B2B16597B425   JAMES       SHUFORD                   NC          90001011659
35B2B329155936   MILDRED     LAMATTINA                 CA          49080963291
35B2B35315B23B   BRANDI      MACK                      KY          90012363531
35B2B381555972   JOEY        PERRY                     CA          90009583815
35B2B824791563   NORA        LOPEZ                     TX          90013968247
35B2BA1385B156   DANTE       MILES                     AR          23078120138
35B31385961963   JEAN        ANGAYEN                   CA          46076323859
35B3141577B492   FANIELLE    ROBINSON                  NC          11077624157
35B31585791831   DERRICK     FARLEY                    OK          90014885857
35B3161A68B16B   ISABEL      BASSETT                   UT          31089896106
35B31966991584   THIAGO      FIALA                     TX          90011599669
35B3221615B393   MIGUEL      DAVILA LOVERA             OR          44574892161
35B32571491525   DAVID       GONZALEZ                  TX          75053765714
35B3338A991371   DIDIER      HERRERA                   KS          90011313809
35B33592972B76   GREGORIO    GOMEZ                     CO          33069965929
35B3392262B87B   ALEXIS      BEARD                     ID          90014149226
35B3449625598B   VICTORIA    BALERO                    CA          49044754962
35B3498557B639   PAULETTE    HOWELL                    AL          90014739855
35B34A99654165   DONNA       STUCKY                    OR          90015230996
35B3514697B425   CHAD        WHITE                     NC          90013921469
35B35635A5B344   CHRISTIAN   VAZQUEZ-RAMOS             OR          90012366350
35B35731241285   JOSEPH      FLORIOLLI                 PA          90006237312
35B35931691584   LORRAINE    ESTRADA                   TX          90014659316
35B35A2354B281   KELVIN      CULLINS                   NE          27085440235
35B35A93363629   LINDA       MCKINNEY                  MO          90011890933
35B3622795B393   ATLANTIDA   LANE HOWE                 OR          90013932279
35B3623565B344   JACOB       REAM                      OR          90012002356
35B37132291584   LORENZO     CASTILLO                  TX          90008761322
35B37481191891   CHARLES     GAYE                      OK          21021004811
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35B3762837B425   TOBE        ONWENN                    NC          90008826283
35B37928555972   DAVID       RAMIREZ J.R               CA          48076779285
35B37A5824B563   RAUL        TORRES                    OK          90010780582
35B3837A555972   ADA         COTA                      CA          90009743705
35B3865272B835   ALMA        ORTIZ                     ID          90003406527
35B38832891584   ALFONSO     CHAVARRIA                 TX          75035628328
35B3889A331424   SEJI        EDWARDS                   MO          90012148903
35B3896172B871   ANDREA      GRIGGS                    ID          42071529617
35B3912674B275   DUSHUAN     HOGAN                     NE          90015031267
35B3B598933682   PEDRO       MORAN                     NC          90006035989
35B3B5A174B275   ICEL        CASTELLANO                NE          90015555017
35B3B68824124B   ANDREA      BELLAVANCE                PA          51082026882
35B4113192B87B   BRYAN       SOMERVILLE                ID          90013301319
35B4136675598B   JORGE       PARKKERR                  CA          90005963667
35B41372772B76   BRITTANY    SENA                      CO          90006003727
35B4187942B835   GERARDO     SAMANO                    ID          42015918794
35B418A8755936   LIZBETH     MARQUEZ                   CA          90007538087
35B4195454B281   FREDDY      ALCORN                    NE          27059589545
35B41968141285   NICOLE      DIX                       PA          51044319681
35B42285261963   KEVIN       GALLAGHER                 CA          90000612852
35B4237917B639   RENAE       HOMAS                     GA          90002643791
35B4258834B281   MARKELL     PARKS                     NE          90014155883
35B4282729125B   MELODY      ROWE                      GA          90005578272
35B4311944B275   CRYSTAL     ROBERTS                   NE          90001421194
35B4354145B344   MIKE        RAND                      OR          90004175414
35B435A9461963   KEVIN       GALLAGHER                 CA          90012445094
35B4395A391891   DORETHA     LEE                       OK          90011319503
35B4443678B16B   JARED       EMPIE                     UT          90010324367
35B4461117B639   LATASHA     CRAWFORD                  GA          15051126111
35B4477894B281   JOSHUA      OJOMO                     NE          90012727789
35B4537A35B393   CARRIE      TODD                      OR          90014603703
35B4545495B156   BRENDA      REED                      AR          23089384549
35B4547934124B   ZIAIRE      JONES                     PA          90013194793
35B454A2A47931   OSCAR       MONSEVAIS                 AR          90013624020
35B4614A761963   HECTOR      HERNANDEZ                 CA          90009721407
35B46885191563   VICTOR      MORALES                   TX          90009938851
35B4743697B471   LAMONT      TONSUL                    NC          11004824369
35B478A922B835   TONY        EAGANS                    ID          90015308092
35B47952141258   ZACHARY     BRENNER                   PA          51077479521
35B47A79584351   CAROLINE    BROWN                     SC          90001610795
35B4815857B449   CARMEN      MALDONADO                 NC          11025391585
35B482A5354165   DEENA       HOGAN                     OR          47023602053
35B48341991563   DELFINA     FLORES                    TX          90004843419
35B48458931424   TIMOTHY     LOEHR                     MO          90007994589
35B48533654B27   CYNTHIA     CRAIN                     VA          90006305336
35B487A774B281   KAREN       OCHOA                     NE          90015117077
35B48A75755936   JENNIFER    MONTGOMERY                CA          90015500757
35B48AA7741258   PAMELA      BROWN                     PA          51086670077
35B4984515B344   LEMUS       DE RODAS                  OR          90013218451
35B49A5685B546   ARFAEL      VARELA                    NM          90010220568
35B4B787447931   LYDIA       UPTON                     AR          90009987874
35B51221341258   DOROTHY     MARANO                    PA          51007812213
35B51737151382   JOHN        CANNON                    OH          66051787371
35B5182AA91584   ROBERT      GARCIA                    TX          90014668200
35B5188635B393   LINDA       HOLEVAS                   OR          90015318863
35B52384A91371   WILLIAM     BROWN                     MO          90014873840
35B52398961963   MICHELLE    MCDONALD                  CA          90011263989
35B52613551382   DAWN        TUCKER                    OH          90005696135
35B5285365B52B   AMANDA      CORDERO                   NM          35082908536
35B5352552B871   DAWN        MONTANO                   ID          42050945255
35B5371942B87B   ROCIO       REYES                     ID          90012417194
35B5376397B425   CHARLOTTE   STEELE                    NC          90002497639
35B53787255936   EDELIA      CORTES                    CA          90015317872
35B5421617B43B   FELCIA      GARNER                    NC          11028142161
35B542A395B393   CHARITY     KEYES                     OR          44592382039
35B54952791891   VIVIAN      PAGE                      OK          90008969527
35B54A24A2B87B   JESSE       SWAIN                     ID          42017500240
35B5544897B639   DEANNA      SMITH                     GA          90014854489
35B5565494B275   ZACHARY     HADDEN                    NE          90012266549
35B56117A54165   JEFFERY     FINSTER                   OR          90010571170
35B5612985B156   JANEA       THOMAS                    AR          90014661298
35B56199554165   BRITTANY    BABB                      OR          90014721995
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35B56918541258   SHANNON         REIGHERT              PA          90010149185
35B569A8491891   ZACH            STEVENS               OK          90010319084
35B5761A37B449   DAVID           LITTLE                NC          11062416103
35B57723291371   JOSE            ORDAZ-MOTA            KS          29019457232
35B582A7947931   CHRISTINA       CROSSLAND             AR          25033122079
35B5858447B471   RAMONE          FOMBY                 NC          90000505844
35B5876335B393   PHILLIP         SIMS                  OR          90004987633
35B58A95755936   MARIBEL         GARCIA                CA          90012800957
35B5934574B275   ALANNA          GIBSON                NE          27042523457
35B59393A91891   LISA            SPRADLIN              OK          90010813930
35B5945565B344   JADE            FREUND                OR          44550054556
35B5B42357B449   PHILLIP         ANABEL                NC          90011824235
35B5B94118B16B   DAVE            KING                  UT          90014829411
35B61116A5B393   ROBERTO         LOPEZ                 OR          44550351160
35B61445254165   GLENN           JAMES                 OR          90010764452
35B6165115B344   EIZER ENRIQUE   CHAVARREA CHIM        OR          90015126511
35B6277517B639   LAKETHIA        FORD                  GA          90011427751
35B6291A555972   RICHARD         HAMILTON              CA          90010919105
35B6295652B835   GABINA          MENDEZ JIMENEZ        ID          90014549565
35B62A51391891   ELIZABETH       GROSS                 OK          90002830513
35B63428547931   MASON           DELUCCI               AR          90011364285
35B6359615B156   COURTNEY        BOOTH                 AR          90012565961
35B6363A72B835   ANTHONY         CUMMINGS              ID          90013536307
35B6382729125B   MELODY          ROWE                  GA          90005578272
35B6398434124B   JENNIFER        ORTIZ                 PA          90014909843
35B6398922B871   EULID           HENRY                 ID          90012629892
35B6453672B871   MICHELLE        PRUITT                ID          90012435367
35B64A11661963   TORIBIO         GUERRERO CALOCA       CA          90005600116
35B65117855972   LINDA           LEDBETTER             CA          48038061178
35B65267841285   WILLIAM         CROWELL               PA          90014512678
35B65517A4B275   DALTON          PERRY                 NE          90014105170
35B6564588B166   HURLEY          ASHAVETT              UT          90003506458
35B65811741258   MAHAWA          SHERIFF               PA          90010718117
35B65A45951594   BRANDI          MCFADDEN              IA          90014510459
35B65AA4851369   SAJAH           WOODS                 OH          90008490048
35B6624A554165   CHAVEZ          CHAVEZ                OR          90014722405
35B6643614B281   CRHISTIAN       ROJAS-ROSETE          NE          90013814361
35B66743861963   KELLY           BRIGEFORTH            CA          90008517438
35B67139994997   KELLY           WARD                  CA          90014241399
35B67447857B79   THOMAS          HOGAN                 PA          90014874478
35B674A8233B57   NATHANIEL       MCDONALD              OH          90014134082
35B67743861963   KELLY           BRIGEFORTH            CA          90008517438
35B6841854B559   OLGA            CARREON               OK          90010024185
35B6B327A55936   LEYDI           DAZA                  CA          90008423270
35B6B986655972   TANAJA          ANDREWS               CA          48059189866
35B6BA89272B32   RYAN            MCPEAK                CO          90012060892
35B713A837B639   TYECHA          ERIGHT                GA          90013973083
35B7194A12B835   ALEX            PERCOLLA              ID          90009969401
35B72342291371   JAYMUS          SMITH                 MO          29034163422
35B72372A5598B   ELIZABETH       YANEZ                 CA          90014743720
35B7278175B52B   GABRIEL         SANCHEZ               NM          35006007817
35B72A5427B639   DAQUANE         WILLIAMS              GA          90011250542
35B7311484B541   MARTY           DE-LEON               OK          21587321148
35B7426A854165   THOMAS          MILLER                OR          90015262608
35B7447417B449   STEPHEN         PERKINS               NC          90007284741
35B74681691525   TABATHA         VALDES                TX          90010346816
35B75137891563   CARMEN          DURAN                 TX          75062871378
35B75A9A833682   BRIANNA         BRASWELL              NC          90001620908
35B7678862B871   CHARLOTTE       KNAPP                 ID          90010077886
35B7685628B166   NORMINE         B JON                 UT          90005448562
35B7693617B449   RHONDA          SHIPP                 NC          90003009361
35B771A922B871   STEVE           COLEMAN               ID          42090251092
35B77327A4124B   JAMES           FRANKLIN              PA          90013473270
35B78172291891   KAREN           SWENSON               OK          90010891722
35B78196891563   ZULEMA          BERNAL                TX          90007841968
35B7822A14B281   MAURICES        SCOTT                 NE          90014832201
35B7828A561963   FILIMON         BUSTOS                CA          90011502805
35B7847222B835   RAYMOND         RANSON                ID          90009644722
35B7854A75B344   DOUGLAS         DENBOLE               OR          90008085407
35B78694855936   GINA            SOLIS                 CA          49064396948
35B78962955972   NORA            ALVARADO              CA          90011399629
35B78A53941285   BRITNEY         BARNES                PA          90014250539
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35B7B163191831   TAMMY        ROGERS                   OK          90003461631
35B7B16818B147   MARCO        ALMONTE                  UT          31082911681
35B7B463147931   SAM          ROBINSON                 AR          25034244631
35B7B656591831   CHELSEA      ALLRED                   OK          90013366565
35B7B88685B156   TABITHA      RICKS                    AR          23056598868
35B7BAA1191584   RACHEL       RIOS                     TX          90008340011
35B8156825598B   BOBBY        GONZALES                 CA          49046355682
35B81579254165   MISTY        SHNEIDER                 OR          47089235792
35B8173864B275   JOSH         COBERLY                  NE          90015577386
35B8184A15B156   AMANDA       DAVIDSON                 AR          90010508401
35B81A1A85B393   LISKA        BATES                    OR          44514680108
35B82254841258   JOHN         NOCINE JR                PA          90013572548
35B822A1A55936   MORRIS       DAVIS                    CA          90015332010
35B82A2622B835   MARLEN       SANCHEZ                  ID          42025300262
35B82A27A4B281   GARY         MILLER                   NE          90009390270
35B8353182B87B   JUDITH       OSBORNE                  ID          90009725318
35B84272191563   ALMA         RUIZ                     TX          75031232721
35B84331791371   JUAN         MARTINEZ                 KS          90014813317
35B8462119125B   JANDALIRA    HAWKINS                  GA          90009386211
35B8491638B166   MILTON R     BOWCUTT                  UT          90004079163
35B84A77155972   KIMBERLY     SEPEDE                   CA          48031320771
35B8588597B492   ASHLEY       STROTHER                 NC          11001218859
35B8619465B536   ELVIS        RODRIGUEZ                NM          90002011946
35B862A5691371   TAMALA       HENDERSON                KS          90013352056
35B86479485943   CANDI        GREEN                    KY          90005574794
35B86579A91891   NEANDREA     HARRIS                   OK          90011065790
35B86A92433688   DEMETRIUS    WHITE                    NC          90005180924
35B87114931424   MADELINE     CUTTS                    MO          90013861149
35B8741234124B   KENNETH      MINTON                   PA          51014914123
35B87527355972   JULIAN       SALINAS                  CA          48048835273
35B8761825598B   JOSEPH       FERRARO                  CA          90000126182
35B87AA498B166   ANDREW       CLARK                    UT          90006250049
35B883A917B471   SURAJ        BHUJEL                   NC          90011563091
35B89242255936   ANTHONY      SOLIS                    CA          90015572422
35B8951265598B   LOPEZ        ADRIANA                  CA          90005785126
35B8985A461963   MYCHAQUELL   SHIELDS                  CA          90012358504
35B8B773631424   VAN          THANG                    MO          90014517736
35B91985981667   BRANDON      REED                     MO          90014689859
35B92465757B79   JUSTIN       YOURGLIVCH               PA          90014874657
35B9248912B835   NICHOLE      GONZALES                 ID          42038214891
35B9259A65B344   LANDY        PINON-GONZALEZ           OR          44559775906
35B92961755972   GRACIELA     GARCIA                   CA          90011029617
35B93743A91831   JEANNINE     COKER                    OK          21032127430
35B93A3A791563   NOEMI        REAZOLA                  TX          75069150307
35B93A64241285   DOREEN       LEWKOWICZ                PA          90014250642
35B9433A991831   RODRICK      WHITESIDE                OK          90014703309
35B9464792B835   PORFIRIO     CERDA                    ID          90014876479
35B94656591831   CHELSEA      ALLRED                   OK          90013366565
35B9493384124B   SALIM        BAMIRA                   PA          90014769338
35B9539A891831   KIMBERLIE    PENDERGRASS              OK          90014813908
35B953A832B835   ANDY         SCHANZ                   ID          42060573083
35B96136291371   ALUDA        WANA                     KS          90015001362
35B9625A65B52B   MICHAEL      PINO-FERNANDEZ           NM          90013332506
35B96A46891584   JESSICA      HERNANDEZ                TX          90011650468
35B97159991371   FELIX        VIDARTE                  KS          90013891599
35B97168776B8B   GUADALUPE    TORRES                   CA          90001031687
35B971A614124B   CHRISTINE    MCANDREWS                PA          51033251061
35B97286191563   JONATHAN     RIOS                     TX          90013532861
35B9732627B639   RICARDO      RIVERA                   GA          90012293262
35B97741391232   JONAH        BRYANT                   GA          14580387413
35B97929654165   JAMES        KASHUBA                  OR          90014989296
35B98293891371   BRAINNA      NOEL                     KS          90010822938
35B98321A4124B   DAVID        MARUSCAK                 PA          51018013210
35B9861883B132   WILMER       JUAREZ                   MD          90006786188
35B9869312B87B   BILLIE       KILLIAN                  ID          42017506931
35B98A6887B639   KRISTINA     JORDAN                   GA          90014580688
35B9918368B166   JAMES        ALEXANDER                UT          31024801836
35B9997245B177   JAVIER       PAREDES                  AR          90013909724
35B9BA35355972   MIKE         BOLEY                    CA          48033980353
35BB1247654165   ESSA         GANDY                    OR          90014672476
35BB12A384124B   RANDY        JOHNSON                  PA          90014122038
35BB142362B871   TESA         WELDEN                   ID          90009624236
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35BB151445B52B   ALAN          DRIGGERS                NM          90005965144
35BB162198B16B   VALENTINE     DOMIGUEZ                UT          90014486219
35BB18AAA7B639   OLLIE         THOMPSON                GA          15036988000
35BB395A691563   CONCEPCION    CARDONA                 TX          90010479506
35BB39A1691584   RICARDO       DOMINGUEZ               TX          90014659016
35BB4223991563   STEPHANIE     MADRID                  TX          75003482239
35BB437657B639   JADA          BILLINGGSLEY            GA          90014823765
35BB4457A91891   JOHN          ASHWOOD                 OK          90009944570
35BB4663A47931   JAMES ALLEN   FISHER                  AR          90010836630
35BB4844747931   JAMES ALLEN   FISHER                  AR          90008428447
35BB49A1691584   RICARDO       DOMINGUEZ               TX          90014659016
35BB4A77541277   LORI          KUHN                    PA          90002910775
35BB5138331424   ERIC          JOSEPH                  MO          27563821383
35BB546697B449   CHAKELA       BROWN                   NC          90012874669
35BB5711441258   JOSEPH        POGANY III              PA          51072717114
35BB6134641252   GAIL          MITCHELL                PA          51020861346
35BB7147955936   HERNANDEZ     PATRICIA                CA          49015271479
35BB73A4491359   ANGELINA      SANTOS                  KS          90013033044
35BB7493547931   CHANTHA       PHORIMAVONG             AR          90011174935
35BB756797B639   TYP           PATTERSON               GA          90014005679
35BB786985B344   JACOB         JUDKINS                 OR          44566758698
35BB861757B639   APRIL         DAVIS                   GA          90010366175
35BB87A7631424   ROMEO         MONTEZ                  MO          90014627076
35BB89A2647931   AVELINA       PEREZ                   AR          90014599026
35BB954145598B   LUIS          RENTERIA                CA          90008935414
35BB95A152B835   FABIO         CORONADO                ID          90014715015
35BB9691A7B492   ELMER         RODRIGUEZ               NC          90012866910
35BBB33692B87B   TERESA        VERMEULEN               ID          90007163369
35BBB46744123B   MURTAZA       ALI                     PA          90012234674
35BBB984191831   JAIRO         MEDINA                  OK          21076359841
36111528A7B492   CURTIS        GIBBS                   NC          90015185280
36111564176B89   JULIAN        ASTORGA                 CA          46088035641
36111A3252B871   RUDY          ORTIZ                   ID          90012500325
3611224112B835   DIANNE        HOBBS                   ID          42053012411
36112A5844B281   AMANDA        MYNSTER                 NE          90015080584
3611337962B871   MICHAEL       ROGERS                  ID          90007663796
361137A8361963   AIMEE         JUANITAS                CA          90013077083
3611494795B52B   ADAN          ACOSTA                  NM          35095079479
3611626844124B   AGNES         WHITE                   PA          90013392684
3611775237B471   DAVID         FERGUSON                NC          11008477523
3611786697B492   CELIA         TOLENTINO               NC          90007708669
36117A6914124B   BRENDEL       BRUSKAL                 PA          90014540691
36118A68671955   JENNIFER      CRUZ                    CO          38005810686
3611951572B871   JESSICA       KREBS                   ID          42007775157
361197A9361963   JACOB         ROZANSKI                CA          90013077093
3611B16212B87B   NOEL          LEYVA                   ID          90013661621
3611B21A531424   KIMBERLY      HAYNES                  MO          90014762105
3611B72632B835   WAYNE         WALLIS                  ID          90014177263
3611B858776B89   YOLANDA       OROPEZA                 CA          90013728587
3611BA99241258   DANIEL        EGER                    PA          90003730992
3612113832B835   CASSANDRA     COOK                    ID          90006421383
3612119987B346   BRYCE         GAITHER                 VA          90012391998
3612169A561963   MARTHA        TASSI                   CA          90013926905
3612224795B52B   MICHAEL       P GILKISON              NM          35071612479
3612239642B87B   MELISSA       CARRINGER               ID          90000173964
36122641672B76   KENNETH       WILLSON                 CO          33016086416
361227A322B835   JONI          MORRIS                  ID          42005307032
36123766776B89   GRISELDA      RODRIGUEZ               CA          46019647667
3612378A79125B   DANIEL        BARBOT                  GA          90009467807
36123A16761963   STACY         ALBERTSON               CA          90002790167
36124853772B76   GERARDO       CASTRO                  CO          90000168537
361252A6155951   MAYRA         CERNA                   CA          90007182061
3612653842B87B   CHRISTINA     WARREN                  ID          90013395384
361265A627B639   ROSA          ROBLES                  GA          90001825062
3612662664B281   JENNIFER      MYRE                    IA          27028856266
3612694645B52B   FRANK         SANCHEZ                 NM          90015139464
361276A758B16B   TYRILL        MOORE                   UT          90002986075
361277A182B559   CARL          BITTNER                 AL          90010627018
3612887134124B   JANELLE       HINES                   PA          51076048713
3612931628B16B   JUAN          RAMON                   UT          90015463162
3612933714B576   ABIGAIL       MALLONEE                OK          90010393371
361299AA44B281   KELSEY        SCOTT                   NE          27008929004
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3612B442451339   NICHOLAS    ZIMMERMAN                 OH          90015374424
3612B91AA91891   DNICCKO     CUBIT                     OK          90013719100
3612BA24157138   ROBERTO     QUINTEROS                 VA          90012130241
3613123135B52B   EDWORD      DELFIN                    NM          90009872313
36131454776B44   MARIA       ALFARO                    CA          90007294547
36133167374B7B   TIMOTHY     CLAYTOR                   OH          90013931673
36133225276B89   SEVERO      MUNOZ                     CA          90011822252
36133495476B61   SILVIA      LORES                     CA          90013924954
361336AA361963   JEFF        BOLES                     CA          90002856003
36133795A91891   COREY       COATS                     OK          90002157950
3613429112B871   ED          MCDORNELL                 ID          90007052911
3613437772B93B   MINDA       SAXTON                    CA          90014523777
3613439887B639   RUBY        CALHOUN                   GA          90014873988
3613447942B87B   AMANDA      WOODS                     ID          42058334794
36134637776B89   PABLO       DOMINGUEZ                 CA          90012996377
36134A9A68B16B   DEVONA      COVEY                     UT          90002090906
3613519748B16B   HOLLIE      DAYTON                    UT          90002231974
361352A765B52B   GABRIEL     HERNADEZ                  NM          35038432076
3613623382B93B   CHREIA      JACKSON                   CA          90013152338
3613623714B281   JESSICA     NAVARRETE                 IA          27082432371
36136265A8B16B   MARSHALL    WHITE                     UT          90013912650
3613627A251382   BRIAN       GANNAWAY                  OH          66025882702
3613666522B87B   BRITTANY    GRAHAM                    ID          90010686652
3613692838B124   UBALDO      PINEDO                    UT          90013739283
3613721367B492   PEGGY       BYNUM                     NC          90008602136
36137292876B89   CARIEL      QUINLY                    CA          90010182928
36137A2725B38B   MELANIE     CHURILLA                  OR          90012420272
36139683A2B87B   TONYA       SANTENS                   ID          90011916830
3613B52637B639   BILL        ROBINETTE                 AL          90004385263
3613B785791831   JESUS       RUIZ                      OK          90002647857
3613BAA295B161   CALVIN      WHITE                     AR          90008630029
3613BAA782B871   CESAR       AYLLON                    ID          90012800078
3614128672B87B   TERRY       STEELE                    ID          42048232867
36142797672B76   BERTHA      CORDERO LEZAMA            CO          33069277976
3614396A476B89   LUIS        MIGUEL                    CA          90011019604
36144736A91942   DAVID       ROADMAN                   NC          90009807360
3614563292B93B   SALVADOR    JIMENEZ                   CA          90010706329
361464A215B253   JASON       JOHNSON                   KY          90014114021
3614663485B535   ADAN        HERNANDEZ                 NM          90001306348
3614785872B93B   MIGUEL      CERDA                     CA          90013368587
3614915382B871   DAVE        KILBURN                   ID          42032631538
3614983982B93B   CHANNY      KHIN                      CA          90008388398
3614994577B639   JAIKEIA     CHATMAN                   GA          15019229457
3614B614936143   CLAIRESSA   MENDOZA                   TX          90008896149
3614B625284368   JEFFREY     KING                      SC          14591076252
3614B636991584   TOAY        RIOS                      TX          90010536369
361516A554B281   HILARIO     NAJARRO                   NE          90004246055
36151786A91891   GLYNDA      SHIELDS                   OK          90010267860
361523A7231424   BRANDI      GAY                       MO          90010073072
3615299A941285   ALANA       LOWMILLER                 PA          51079089909
361529A5155972   GUILE       LEMUS                     CA          48087409051
3615356878B16B   RANDY       ARCHULETA                 UT          90014835687
3615426245593B   DEREK       BROWN                     CA          90009912624
3615488482B93B   MARIA       CHAVEZ                    CA          45051878848
3615633275B156   ANTHONY     AMAKWE                    AR          23092453327
3615661644124B   MICHAEL     WITTMANN                  PA          90014546164
3615673278598B   SONYA       SUTTON                    KY          90014167327
3615687782B871   EMMA        HUMPHREYS                 ID          42030318778
361573A1A31424   CHRIS       CHATMAN                   MO          27581483010
3615783A161963   AMANDA      DONAVIN                   CA          90013078301
3615854212B93B   BRUCE       WALKER                    CA          90011415421
3615877467B639   SHANIQUA    BURKS                     GA          90004267746
361598AA854154   MICHELLE    LEMON                     OR          90006388008
36159A8412B93B   MARIA       GONZALEZ                  CA          90014920841
3615B25642B871   TIFFANY     JOHNSON                   ID          90010942564
3615B791591584   MARIA       VILLA                     TX          90010207915
3615BA2225B393   MARCUS      EWING                     OR          90015140222
3616163835B52B   RANDY       NELSON                    NM          35058026383
36162134753B95   JESUS       GOMEZ                     CA          90013911347
3616213A555972   RIGOBERTO   MEDINA                    CA          90010821305
3616217657B639   MATTHEW     WILSON                    GA          90013691765
361629AA97B449   EDELMIA     LOPEZ                     NC          90010229009
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36162A2644B521   JERRY       CLARK                     OK          90000910264
3616312A161963   MARCIA      VAZQUEZ-GUILLEN           CA          90011881201
3616462664B281   JENNIFER    MYRE                      IA          27028856266
36165417A91584   GUERRERO    PRIMERO                   TX          75036014170
3616588487B639   SANDRA      BRODERICK                 GA          90013648848
36167173A4B531   ANDY III    BOYD                      OK          21537431730
3616755A176B89   JORDAN      VAN TONGEREN              CA          90011195501
3616798375B52B   CRYSTAL     PENA                      NM          90014569837
361684A7891891   EDNA        BRYANT                    OK          90014494078
361686A1431424   JOHNNY      MITCHELL                  MO          90014746014
36168A1895B156   DADRIAN     SHELLS                    AR          23006920189
3616922982B871   AUBREY      CHAPMAN                   ID          90006092298
361692A6361921   JOSEPH      RUBALCABA                 CA          90008302063
3616966897B471   CHRIS       KIRKLAND                  NC          11086826689
3616BAA4391891   JOHN        HARE                      OK          90013190043
36171788A2B241   JEANETTE    RUSSELL                   DC          90007227880
36174421876B89   MATHEW      MCDONNA                   CA          90014844218
3617546512B835   TYLER       QUINN                     ID          42089014651
3617562A97B449   RAYMAND     SESS                      NC          90000606209
3617578965B52B   JOEL        MARTINEZ                  NM          35019777896
36175A93991544   SERGIO      CABRAL                    TX          75068970939
3617661AA2B871   ALEXIS      AVILES                    OR          90013476100
3617712A52B835   CRYSTAL     MCQUISTON                 ID          90014521205
3617779415B393   TAILEE      MATHIS                    OR          90006327941
36177AA1A91584   VICTOR H    GARCIA                    TX          90011810010
36178588A41285   BARBARA     PACHECO                   PA          90008855880
3617889A651339   KRISTY      MARCUM                    OH          90014768906
36178A11651339   JOSEPH      DOWNEY                    OH          90013860116
36178A4217B449   KAREN       HOLMAN                    NC          11032990421
361795A4191563   PETE        JURADO                    TX          90007865041
36179823A2B835   KRISTINA    MARION                    ID          90013778230
3617985872B93B   MIGUEL      CERDA                     CA          90013368587
3617B23A151339   ISAIAS A    RIVERA                    OH          90009622301
3618122885B52B   PATRICK     CORDERO                   NM          35050932288
3618129A231424   STEVEN      JOHNSON                   MO          90014762902
3618136915B393   CASE        ARAM PATRICK              OR          90000223691
36182162A8B273   VICTOR      PEREZ                     VT          90013931620
36182181A2B93B   RAFAEL      GALVAN                    CA          90014441810
36182A11591584   EDGAR       RUIZ                      TX          90011810115
3618413774B281   PAUL        HOWARD                    NE          90012681377
36184325A91831   LATESHA     COWANS                    OK          90014373250
36184395672B32   MARY        TRUJILLO                  CO          90014813956
3618512665B52B   MARIA       SANCHEZ                   NM          35029521266
36185A6612B871   CHRISTI     HILL                      ID          90013380661
3618739364124B   MIKE        RITTLE                    PA          90002333936
3618744A12B93B   ARTURO      TAPIA                     CA          90013874401
3618765174124B   LINDA       MCCLUNG                   PA          90006036517
36188A7797B639   SHILON      WILLIAMSON                GA          90003450779
3618953167B639   VIRAL       PATEL                     GA          90015185316
36189A67591891   AMBER       WICKER                    OK          90005980675
3618B2A692B871   ROGER       SAUVAGEAU                 ID          42064652069
3618B554181621   CASSANDRA   MARTIN                    MO          90005145541
3618B558A31424   LANA        WATSON                    MO          90006855580
3618B732361963   MARIA       GONZALEZ                  CA          90004197323
3619248477B362   JOSE        MEJIA                     VA          90012644847
361927A1976B89   CHUD        FUKUDA                    CA          90012077019
3619283487B32B   SANTAS      BONILLA                   VA          90006558348
3619294A891831   ELMER       MANTZ                     OK          90006219408
36192A37136B95   ROSA        SANCHEZ                   OR          90006850371
361932A6136143   MARIEL      LICERIO                   TX          90001222061
3619341374B281   SHAYLINN    COLEMAN                   NE          90013114137
3619363987B492   KEYONIA     BARNETTE                  NC          90013276398
3619432494B281   ROBERT      BUMGARDNER                NE          27062173249
3619436714124B   THOMAS      HALEY JR                  PA          51087853671
3619451A37B639   IESHA       JOHNSON                   GA          90013685103
36194696776B89   MICHELLE    AARON                     CA          90014166967
36194A5385B52B   TANYA       MARTINEZ                  NM          35004620538
3619566452B871   LIVIA       FRY                       ID          90006436645
36195687A7B639   MICHAEL     JACKSON                   GA          90013376870
36196572A51382   MICHEAL     COLDIRON                  OH          90015035720
3619732A32B835   JACOB       FRYE                      ID          90009073203
3619746948B16B   KEITH       JOSLYN                    UT          90014944694
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3619777992B29B   EDWINA             LLOYD              DC          90002157799
36197A17155972   EVANGELINA         HERNANDEZ          CA          48090890171
36197A8717B471   SARA               CHANEY             NC          11092960871
36198794A31424   STARLETA           SCOTT              MO          90014747940
3619882314B281   MELISSA            SCHRAEDER          NE          90012398231
36199A9577B449   MILAGROS           CRUZ               NC          90013040957
3619B392391891   KELI               LILES              OK          21086183923
3619B937672B9B   JOSE               VALENTIN           CO          90013959376
3619B96158B16B   DARREL             MARTINEZ           UT          90012719615
361B113735B52B   SAMUEL             CASTILLO-MENDOZA   NM          35021541373
361B125642B871   TIFFANY            JOHNSON            ID          90010942564
361B132625B156   SHANITRA           WILLIAMS           AR          23073713262
361B249A57B449   PAMELA             BARNES             NC          11072714905
361B264385B393   ERICA              TRUJILLO           OR          44512856438
361B2649176B89   BRENDA             CORDERO            CA          46087276491
361B272564B281   JOSEPH             FITZGERALD         NE          90013357256
361B27A5547931   BARRY              FENSTAMAKER        AR          25022397055
361B28AA57B639   STANFORD           GREEN              GA          90012598005
361B297557B639   TERRY              WILLIAMS           CO          90010599755
361B3232385866   ALEX               GOMEZ              CA          90012872323
361B4157576B89   DARELYN            CESAR              CA          90011091575
361B5572655972   PEDRO              SUN                CA          90012835726
361B565527B639   SHIRLEY            HARMON             GA          90009466552
361B573257B471   RAFAEL             DUARTE             NC          11069287325
361B5A16891584   SYLVIA             VACIO              TX          90006230168
361B5A73297B44   JOSE               ALDANA             CO          90011930732
361B6311841285   ROBERT             NICKELSON          PA          90012993118
361B6758576B89   CLAUDIA            SANCHEZ            CA          90011867585
361B6A29161924   RYAN               WIEST              CA          90003660291
361B7786A91891   GLYNDA             SHIELDS            OK          90010267860
361B798837B471   ELDA               VELASQUEZ          NC          90001769883
361B9614731424   MELISSA            WILKES             MO          90011326147
361BB258951339   KARA               DEATON             OH          90014792589
361BB388855951   MARIO              GARCIA             CA          49053943888
361BB55312B87B   JIM                DAVIDSON           ID          90014625531
361BB716455972   MARTHA             ALATORRE           CA          48086727164
361BBA6297B492   MYEISHA            LIPSCOMB           NC          90014840629
36211483A5134B   JASON              RILEY              OH          66069274830
3621151AA3B352   JOYCE A            TUCKER             CO          33003935100
3621239947B492   OSHANDIA           HALL               NC          90014643994
3621257652B93B   RUBEN              ALVARADO           CA          90013365765
3621344914124B   ALBERT             SIMON              PA          51028294491
36213A78791584   JERON              ALMEIDA            TX          90011810787
36214513672B76   BERNIE             GIBSON             CO          33002835136
36214573476B89   RODSDALE SHERWIN   WILSON             CA          90009875734
3621465992B835   DAVID              RICHARDS           ID          42060616599
362147A347B639   TRINKA             WELLS              GA          90010917034
3621485555B52B   ZACHARY            FOSTER             NM          90012198555
36215647772B76   MARIA              RODRIGUEZ          CO          90001836477
36215925A41258   JENNIFER           SEARS              PA          90006739250
36217176376B89   DANIELLA           CALDERON           CA          90013501763
36217237376B89   GERMAN             NICHOLAS           CA          90014062373
36217A87A91584   HERNESTO           GALINDO            TX          90011810870
3621869A761963   LIAM               FITZGERALD         CA          90011716907
3621887897B639   CHANEL             PARKER             GA          90014738789
3621928A776B89   JANICE             COGLIANESE         CA          90007622807
3621B355291831   ALICIA             PIMENTEL           OK          90014373552
3621B72568B16B   YOSIBEC            ARGUETA            UT          90013027256
3622153157B471   DORIS              MALDONADO          NC          90005365315
36221915A5B393   JORDON             ROSE               OR          90010169150
362229A112B835   JOE                GAUDLIP            ID          42008789011
3622366AA41258   MICHAEL            DAVIS              PA          51088586600
36225A43736143   JOE                GARCIA             TX          90001090437
362262A192B871   CHRIS              FARR               ID          42087422019
3622733155B161   DOMINIQUE          PERKINS            AR          90001563315
362276A812B93B   CRISTINA           MORFIN             CA          90014076081
36227845597B44   FABIAN             GRANADOS           CO          90008088455
36227A34451382   BLAIR              HOLLOWAY           OH          66020530344
3622884237B639   ROSALYN            POWELL             GA          90009358423
3622898865B545   ALEX               KOTA               NM          35076339886
3622B131761963   ADRIANNA           MADRIGAL           CA          90014861317
3622B293991831   SAUNDRA            MILLER             OK          90009452939
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3622B32732B835   ANITA       LINARES                   ID          90006663273
36231A3514124B   MARLON      LINDROS                   PA          90013680351
3623266772B835   SHELLEY     COREY                     ID          90014446677
3623318488B16B   ERICA       MENDOZA                   UT          90014531848
362342A4841258   TIMOTHY     GRUBJESIC                 PA          90007542048
36234745A4124B   KEISHA      JETTER                    PA          90009667450
3623478282B835   TARA        HILL                      ID          42031677828
3623543892B871   CODY        PAYNE                     ID          90010654389
3623554257B492   ANGELA      PRATT                     NC          90014755425
36235637576B89   DAMON       ARMELIN                   CA          90015156375
3623679A24B943   DAVID       VELEZ                     TX          90003947902
362373AA541258   KEARA       SMITH                     PA          90014213005
36237965A41285   ANGELO      KAULE                     PA          90002009650
3623824382B93B   CHOUA       VUE                       CA          90011192438
3623897237B639   JEREMY      JOHNSON                   AL          15003089723
3623928318B16B   KAYSHA A    CUNNINGHAM                UT          90010522831
36239447776B89   LUIS        GONZALEZ                  CA          90013074477
3623B134955972   BENITO      MORALES                   CA          90013881349
3623B287961963   MOYAD       YOSEF                     CA          90002922879
3623B3A7676B45   PEDRO       URIBE                     CA          90009853076
3623B54532B87B   STACEY      SANDERS                   ID          90003835453
3623B569891584   JESSIE      OLIVA                     TX          90013645698
3623B66A17B492   SHAUNA      MONTGOMERY                NC          90009396601
3624141727B639   WILLIE      INGRAM                    GA          90012894172
36241A51555921   JEFF        MALSKI                    CA          90012680515
36241A72851339   JILL        BLACK                     OH          90014180728
36241A85991891   DEVONTE     JORDAN                    OK          90014800859
3624217AA7B449   BRIAN       LOWERY                    NC          11084781700
3624243312B828   GLENN       MCPHAIL                   ID          90004574331
362425A2A91584   FELIPE      JARAMILLO ROMERO          TX          75099335020
3624359637B639   YOLANDA     MALAVE                    GA          90013505963
3624359A65B52B   JESSICA     CASILLAS                  NM          35070455906
362441A682B871   SHERRY      BOLES                     ID          42019891068
36244663A4B597   TRINA       WEST                      OK          90002346630
3624613A161963   EHSAN       AL SABAHI                 CA          46045311301
3624644215B52B   JOSE        SANTOS                    NM          35014864421
36246A15576B89   NORBERTO    AGUILAR                   CA          90014920155
36246A82751382   BRAFORD     HOGUE                     OH          90008570827
3624715312B93B   ARTIKA      LAL                       CA          90012671531
3624732937B639   ALBERET     ROSSER                    GA          15080113293
3624761397B471   EMMA        ALVAREZ                   NC          90006716139
36249223A51339   JONATHAN    PATRICK                   OH          90009282230
3624937682B93B   YVONNE      GARZA                     CA          45015743768
3624947955B393   ELISEO      TREJO                     OR          90013934795
36249AA4391538   RENE        PALMA                     TX          90011140043
3624B61A461963   TINA        DAVIS                     CA          90010616104
3624B796191891   JERRY       OLSOM                     OK          21046957961
3625115AA51382   ALYSHA      HOOVER                    OH          90011731500
362514AA94B281   SAMUEL      GORDILLO                  NE          27057954009
3625221444124B   MICHELLE    SCHUELKE                  PA          51079532144
362525A857B639   TINISHA     DOWELL                    GA          90010985085
362543A544124B   HOPE        TOOMEY                    PA          90005443054
362543AA651339   KLARENCE    BAKER                     OH          90014823006
3625497722B87B   ZAINA       UMUHIRE                   ID          90002389772
36254A42391584   CHRIS       CARTER                    TX          90013010423
36255444672B23   ARAPAHOE    HOUSE                     CO          90012324446
3625563982B835   KYLA        TOOMBS                    ID          90014016398
3625637787B639   CHANCES     GOMEN                     GA          90014723778
362566A4841285   MELISSA     DALE                      PA          90012026048
3625738918B16B   SHAUNA      JUDKINS                   UT          31031383891
3625781A92B87B   GUILLERMO   RODRIGUEZ                 ID          90012888109
3625783144124B   THOMAS      HENNIQUAN                 PA          51083888314
362578A477B471   LUCANA      JIMENEZ                   NC          90011048047
3625847397B639   KIMBERLY    BARRETT                   GA          90008594739
362584A9491831   JASMINE     SHERRILL                  OK          90014374094
3625889A52B242   NIKKIA      MOORE                     DC          90014848905
3625979362B835   TERA        DIPPI                     ID          90013587936
3625996934B281   DEREK       VANWYNGARDEN              NE          90014869693
3625B822191584   OLIVIA      ANDRADE                   NM          75069018221
3625BA86A2B871   DIANA       JOHNSON                   ID          42087300860
3626239A261963   LAKEYSHA    BOWLES                    CA          90012873902
362631A4831441   KATIE       MALDONADO                 MO          90006201048
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3626378384B54B   DOLORES      THUMEL                   OK          90012777838
36264A86936143   MONICA       GARCIA                   TX          90000250869
362659A838B16B   BRIANNA      RODRIGUEZ                UT          90010939083
3626727277B639   LAMIKA       SHONTEA                  GA          90012832727
36267619A91891   BILLY        CLAUNTS                  OK          90008956190
3626782965599B   PAMALA       HAMILTON                 CA          90007838296
3626834215B52B   CHRISTIAN    GAUCIN                   NM          90001143421
3626981922B835   JOSHUA       DAVIS                    ID          42031058192
3626B334691584   IVETTE       VASQUEZ                  TX          90009223346
3627111265B156   MONA         DAVENPORT                AR          23059161126
3627111667B639   RETA         MURPHY                   GA          90014091166
3627196445B52B   GLORIA       COVARRUBIAS              NM          35081469644
3627229A941431   CLAUDE       EDWARDS                  WI          90010382909
3627295877B492   VICTORIA     ISAAC                    NC          90002619587
36272A94A36143   MANUEL       VARGAS                   TX          90011690940
3627337534B281   DANIEL       DE LA CRUZ               NE          90011323753
36274574A91891   YARDEKA      HOGSHOOTER               OK          90014725740
3627467A67B492   SALLY        BARNEYCASTLE             NC          90000906706
3627485317B639   BRITNEY      FORD                     GA          90013248531
3627498A631424   JOHN         STRECKER                 MO          90005409806
36274A3562B87B   BRADY        MCKENZIE                 ID          90004970356
3627563922B871   LISA         HOWELL                   ID          42078206392
362764A468B16B   DESIREE      TEUSCHER                 UT          90014974046
362766A1576B89   SERGIO       FLORES                   CA          90012866015
3627679622B87B   DOROTHY      GUTIERREZ                ID          42017637962
36277115A4124B   NATE         ESTES                    PA          90011871150
3627764217B492   JOY          BARDGE                   NC          90012846421
3627799487B492   HENRY        CURRY                    NC          90012009948
3627826625B52B   ISABEL       PRICE                    NM          90002992662
3627963A861963   ADBI         ADBILLAHI                CA          46068166308
362797A114124B   THERESA      SPEZZANO                 PA          90008457011
3627B651961963   FRANCISCO    BERNAL                   CA          90014826519
3627B6A112B871   SHAWN        CARR                     ID          90014166011
3627B94529125B   MARLO        PHILLIPS                 GA          14515709452
3628119149155B   JESSICA      TORRES                   NM          75086911914
3628193288B16B   JOSE         HERNANDEZ                UT          90009629328
36281A8A372B76   MAGDALENA    VILLALOBOS               CO          90006040803
3628241817B639   GERALDRINE   ROBERTS                  GA          90011024181
3628292184124B   AMBER        WILLIAMS                 PA          90011589218
3628349A191831   LEEANN       WOODRUFF                 OK          90014814901
3628374315B156   TAJUANA      HAMPTON                  AR          23086387431
3628422A531424   LYNESHA      EDMONDSON                MO          90014772205
36284646A5B52B   CLAUDIA      PEREZ                    NM          90002256460
36284A29491584   MICHAEL      DUMOULIN                 TX          75027460294
36284A72555951   SIKANDER     SINGH                    CA          90006340725
3628535A255964   ROSALVA      VILLAGAS                 CA          90007673502
36286125A2B93B   MONICA       AMBRIZ                   CA          90010611250
3628663935B156   GARRY        CHENAULT                 AR          23076586393
3628757477B639   SELENTHIA    BLACKSHEAR               GA          90015055747
36287749A91584   SILVIA       CALLES                   TX          90014747490
36287855A5B398   MARIA        SEELIG                   OR          90007948550
36288182776B89   SAUL         SUARES                   CA          90004501827
36288A5A351382   THOMAS       JOHNSON                  OH          90015040503
3628914567B639   JUDY         WINSTON                  GA          15006961456
362895A3A7B492   ERASMO       ROBLES                   NC          11051235030
36289A8467B639   JOMEKIA      DAVIS                    GA          90013900846
3628B14264124B   JEFF         FEDELE                   PA          90009861426
3628B212661963   SOCORRO      RODRIGUEZ                CA          46062352126
3628B8A1376B89   CHRIS        WENZEL                   CA          90010938013
3629185422B871   RUBY         SCOFIELD                 ID          90014008542
362922A1155972   MARIBEL      ARCHER                   CA          90010912011
3629256797B492   TESSICA      BYERS                    NC          11086265679
36292758576B89   CLAUDIA      SANCHEZ                  CA          90011867585
362928A9A5B393   RAYMOND      MOSLEY                   OR          44560478090
3629315447B639   AARON        BELL                     GA          90014501544
3629319992B871   REBBECCA     CASTILLO                 ID          90014631999
362934A1391831   RUTANYA      SIMON                    OK          90012984013
3629369368B16B   LEONARD      CHILES                   UT          90011576936
362938A8461963   HEATHER      ALLAN                    CA          90004998084
36293A9152B93B   RIM          TOUN                     CA          90015310915
3629415258B16B   LYDIA        REYES                    UT          90010441525
36294323876B89   JASON        ARBIZU                   CA          90003323238
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36294A82141285   LOUIS         LEON JR                 PA          51025390821
3629528A261963   MARCELINA     NUNEZ                   CA          90014792802
3629576297B639   DOROTHEA      BRYANT                  GA          90012297629
3629627672B586   MARGARET      WILSON                  AL          90014712767
3629632452B835   JAKE          WERLE                   ID          42084353245
3629679A23B388   JESUS         GONZALEZ                CO          90011387902
362968A7291891   LEWIS         LEE                     OK          90013408072
3629698454B281   ANTON         GOODWIN                 NE          90012719845
36296997876B89   YADIRA        ESTRADA                 CA          90011629978
3629721894124B   ANNA          FILOTEI                 PA          51001532189
3629799542B871   SCOTT         SUDOL                   ID          90001339954
36298211A61963   JOSE          GONZALES                CA          90003222110
3629843277B492   QUINTAVIUS    COLEMAN                 NC          90012134327
36298655172B76   JOSHUA        TORRES                  CO          33016096551
3629889284124B   PIYUSH        ANGRA                   PA          51053558928
36299765A8B163   IETI          MAGEO                   UT          31088757650
3629B13252B93B   CARMEN        SOTO                    CA          90012731325
3629B756A72B76   MARY          HEREIDIA                CO          90002327560
3629B976161963   MIGUEL        MORENO                  CA          90003299761
3629BA5532B871   CODY          WEEKS                   ID          42032310553
362B1633391891   MALINDA       HALLIBURTON             OK          90008856333
362B165A651339   SOMMWR        SIMS                    OH          90014076506
362B218487B639   DEMETRIUES    HARMON                  GA          90013431848
362B3772891584   ALEJANDRA     GARCIA                  TX          90009377728
362B3A83491831   BRYAN         PLAMER                  OK          21013050834
362B4818676B89   JOHN          MC CLURE                CA          90012988186
362B549934124B   TANNI         HERRING                 PA          90013644993
362B631435B156   DOLORES       OLVERAA                 AR          23076133143
362B655442B871   HEATHER       WINSTON                 ID          90012875544
362B6576372B76   LIZDE         CASTANEDA               CO          90005955763
362B694A54B281   EDNA          CONTRERAS AGUILAR       NE          90012619405
362B716A87B492   RAMON         RODRIGUEZ               NC          90014511608
362B7864A55951   NANCY         TEREJANO                CA          90010588640
362B839A241258   MICHELE       CALABRESE               PA          51025963902
362B931564124B   RITA          OLIVER                  PA          90009513156
362B952592B835   GERRY         MORRIS                  ID          42029485259
362BB135776B89   OFELIA        VENEGAS                 CA          90014971357
362BB362376B58   LEODELGARIO   HERNANDEZ               CA          90006063623
362BB65652B871   JOHN          MOSQUEDA                ID          90005526565
362BBA72761986   JOSUE         DIAZ                    CA          90010790727
3631345865B393   CAAMAL        GUMERCINDO              OR          90009124586
3631351A355972   JULIE         ALAFA                   CA          48029865103
363139AA77B639   JUDY          HORNE                   GA          90011979007
3631419637B492   IVY           WITHERS                 NC          11043881963
3631427522B835   JUAN          HERRERA                 ID          90014552752
36314779A2B93B   BATISHWA      BARCHEM                 CA          45005847790
363155AA291831   JON           KRAMER                  OK          21045355002
3631688857B639   EARNESTINE    PERRY                   GA          90001838885
363168A755B393   CASEY         WEIGEL                  OR          90011438075
36317265A84326   ALICCA        EVANS                   SC          90013482650
3631856778B16B   KATIE         GALLEGOS                UT          90010985677
3631877A87B492   DRANDON       LUNA                    NC          90015117708
3631931172B871   JOSHUA        WARREN                  ID          90001843117
3631962AA55972   ANALILIA      PAREDES                 CA          90012026200
3631984A261963   SALEM         SULAIMAN                CA          46051778402
3631996865B393   ROBERT        STEELE                  OR          90006679686
3631B58695B52B   ANDREW        PEREA                   NM          35011535869
3631B84512B871   STEVE         LILES                   ID          42017448451
36321492A61963   JOHNNY        MORONES                 CA          90013944920
3632162184B541   KATHY         HUNT                    OK          90013296218
36323622A91584   FRANCISCO     GARAY                   TX          75088566220
36323793872B63   CHRISTINA     ESPINOZA                CO          90011437938
3632575A65B393   LAWRENCE      VAN BRUNT               OR          90013027506
36325795A91891   COREY         COATS                   OK          90002157950
3632587832B93B   ROLANDO       RODRIGUEZ               CA          45005858783
36325A8644124B   KEVIN         MIKULAN                 PA          90014540864
36326124A5B393   SCOTT         HAGGERTY                OR          44512961240
36326227A31424   KAYLA         FREEMAN                 MO          27545572270
363266AA64B281   WILLIAM       JOHNSON                 NE          27076136006
363269A5355951   MARIA         OROZCO                  CA          90011079053
36327416176B89   LARRY         SMITH                   CA          90002404161
363276A8A8B16B   MARK          AHLSTROM                UT          90010986080
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3632835369125B   MIKE          CEDAR                   GA          90005963536
36328463A4124B   KEITH         ARNOLD                  PA          90003664630
3632871777B449   AURELIA       MARTINEZ                NC          90000607177
36328A86591891   LEAH          RUSSEL                  OK          21062850865
3632924867B449   GENEVIEVE     MAYELA                  NC          11047482486
36329424272B25   JUSTINA       NAY                     CO          90003824242
3632996934B281   DEREK         VANWYNGARDEN            NE          90014869693
36329A32755972   JESSICA       URIARTE                 CA          48012480327
36329A8467B639   JOMEKIA       DAVIS                   GA          90013900846
3632B282A5B52B   ONRAE         HAYES                   NM          90013742820
3632B439731424   DELORES       VALENTIN                MO          90014774397
3633145A12B871   GARY          ALLOWAY                 ID          42066424501
3633214A95B52B   JOLYNE        LUJAN                   NM          90007251409
3633244418B16B   CYNTHIA       JOHNS                   UT          90015514441
3633292A24124B   JOSHUA        GRAYSON                 PA          90013409202
36332A8932B871   JARREA        TYNEZ                   ID          90009330893
3633314587B492   PATRICIA      HILTON                  NC          90005171458
3633324AA5B393   NATHAN        RONSPIESS               OR          44583392400
3633365827B367   SUSAN         CLARK                   VA          90001856582
36333A95A8B16B   SCOTT         SENN                    UT          31046880950
363347A228B16B   MICHAEL       MORLEY                  UT          90010367022
363351A5451382   JACOBO        OLIVQRES                OH          90015041054
36335A4922B835   BECKY         JENSON                  ID          42016520492
3633731982B835   CINDY         PALOMARES               ID          90012553198
3633735532B87B   BRANDON       HARRINGTON              ID          90012203553
36337893A91831   AMIE          CLARK                   OK          90003208930
36337922A7B492   JACK          EARLEY                  NC          90014129220
3633833155B161   DOMINIQUE     PERKINS                 AR          90001563315
363392A177B492   DOUGLAS       NEWMAN                  NC          11075622017
3633964174B281   GARY          CONYERS                 NE          27087186417
3633B4A6541258   CHRISTOPHER   KATCHUR                 PA          90014214065
3633B531231424   SAM           BOWMAN                  MO          90004635312
36341188A72B34   ADRIANA       BARRAZA                 CO          90008421880
363419AA451382   LASHANA       GARCIA                  OH          90009009004
36341A41A51382   ALEX          SAYAS                   OH          90009670410
3634228A791831   STEPHANIE     CARTER                  OK          90010822807
3634356677B639   SONDRA        PHILLIPS                GA          15034125667
3634389192B87B   FERNANDO      GARCIA                  ID          42012288919
36343A1944B943   DARRELL       ORTEGO                  TX          76588840194
3634418A87B851   ANGEL         PADILLA                  IL         90010421808
3634434A87B492   SHANNON       HILL                    NC          90010343408
3634494625B536   LUIS          LEDEZMA                 NM          90005729462
3634532925B52B   LUZ           AGUILAR                 NM          90009023292
3634618765B52B   MICAELA       CARDOZA                 NM          35016891876
363463A352B93B   KENNETH       RUSSELL                 CA          90008973035
36346A38A7B639   VERONICA      EPPS                    GA          15036290380
363471A8841285   SHANTE        MOORE                   PA          90013911088
3634722467B639   BUDDY         KIDD                    GA          90013762246
36347288A7B639   BUDDY         KIDD                    GA          90014182880
3634729445B393   KATHERIN      GARRETTE                OR          90010752944
3634766162B835   PAT           O SHEA                  ID          42041336616
36348616A5B393   CHIVARA       DAUGHERTY               OR          90011956160
36349176276B89   LYNN          OSUNA                   CA          90012081762
36349A9374B281   MARA          MARTINEZ                NE          90012670937
3634B172736143   ANDREA        FLORES                  TX          90008301727
3634B46672B87B   ANITA         STAPLETON               ID          90014614667
3634B68747B492   SANDRA        ADAMS                   NC          11006186874
3634B711955951   DEBORAH       DELGADO                 CA          90010597119
3635146417B639   ESTHER        HOOD                    GA          90004004641
36353556A61963   TERESA        LAWRENCE                CA          90004385560
36354647876B89   FABRICIO      GALAN                   CA          90014016478
3635473592B87B   AGEDA         ANDRADE                 ID          90014987359
36355477A2B93B   HANNAH        PARKER                  CA          90014714770
3635574A155972   JUAN          MARQUEZ                 CA          48068127401
3635637675B393   RICARDO       AMBRIZ                  OR          90000223767
36356722A91584   JAMIE         THOMAS                  TX          90014167220
3635722242B835   CHRIS         SCHAEFER                ID          90014372224
3635787A697B44   ASHLAN        STANTON                 CO          90012788706
36357A77341258   SENETTE       HARRISON                PA          90005430773
36358473657B79   KAHSEEM       CROOK                   PA          90013934736
3635961477B492   HELM          MARY                    NC          11094646147
3635B79317B492   JEFFREY       BRADLEY                 NC          11087317931
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3636117985B52B   PASCUAL         CAMARILLO             NM          90015081798
36361253A2B87B   CATHERINE       PLUM                  ID          42051272530
363616AA591891   JENNIFER        GRAVES                OK          90010886005
36362545A76B89   RICHARD         MAGANA                CA          90014965450
3636287195B546   ROSEANN         GUTIERREZ             NM          90013148719
3636341165B393   DAVID           RASH                  OR          90014074116
3636369832B93B   CARLOS          VALENCIA              CA          45092296983
36363A87A61963   JACOB           SCHOENLEBER           CA          90011440870
3636498687B492   DENISHA         WILSON                NC          90009899868
363649A9A7B639   BARSHAL         WILLIAMS              GA          90013229090
36364AA912B871   CINDY           COLF                  ID          42072970091
3636522257B436   ANGEL ANGELES   AGUILAR               NC          90009492225
3636686475B52B   JOESIHA         HAYNES                NM          90010688647
36366A26631424   CHANDRE         DILLARD               MO          90009410266
3636799412B871   WADE            NELSEN                ID          42054129941
3636857364B281   LEVI            WIELER                NE          90012905736
36368636676B89   MYRNA EDITH     CALCANEO              CA          90014876366
36368A94731424   WHITNEY         SCOTT                 MO          90014780947
36368AA267B639   WHITNEY         SWANSON               GA          90012900026
3636912527B376   ANDREW          HELEAN                VA          90001731252
3636981342B93B   VICTORIA        MEYER                 CA          45066208134
3636B57A841258   SAMMYAH         TURNER                PA          90014215708
3637144A17B492   DENISE          BINGHAM               NC          11001154401
363726A9341258   LINVARD         BARBER                PA          51095626093
36373457A91584   LIDIA           RUIZ                  TX          90011564570
36373A73676B21   CASEY           TROTTER               CA          46027980736
36374226176B89   ELOY            VASQUEZ               CA          46061002261
363742A432B871   REBECCA         CARTER                ID          90015162043
36374457A91584   LIDIA           RUIZ                  TX          90011564570
3637494A855951   KAROL           RIOS                  CA          49056189408
3637523262B871   BLANCAMONICA    FARIAS                ID          90014632326
36375543A61963   CAROLYN         REGO                  CA          90005895430
3637564272B93B   JILL            SMITH                 CA          45083146427
3637598977B639   NATARSHA        ARMOUR-JOHNSON        GA          15029899897
3637725295B393   FERNANDO        MENDEZ HERNANDEZ      OR          90005382529
3637743977B639   KIM             JENNINGS              GA          90011024397
3637793562B835   JAMES           WHITMORE              ID          90009819356
36379A94876B89   WALTER          COLON                 CA          90013770948
3637B266131424   ANNETTE         BOYKINS               MO          90011062661
3637B694655951   OSVALDO         REYES                 CA          49030526946
36381429754B62   DEREK           HICKS                 VA          90006404297
363819A2491891   VANIA           ESSERT                OK          21073669024
3638223424124B   JULIE           CARLISLE              PA          51093312342
3638257154B281   KEVIN           ARMSTRONG             NE          27021645715
36382A18A51382   CAMILLE         NORTON                OH          90009120180
36382AA997B639   HELENA          JAMES                 GA          90013300099
3638378644B281   TINA            SCHOVILLE             NE          90010947864
3638393667B639   OCTOVIA         RIVERA                GA          90013229366
36384A2888B16B   SENAIDA         MORADO                UT          31086300288
3638576532B835   JUAQUIN         CHAVEZ                ID          90013467653
3638731422B871   WILBER          MARTINEZ              ID          42094283142
3638738927B639   VANESSA         BRYAN                 GA          90012963892
3638883A991891   CHARLOTTE       STALLINGS             OK          90010978309
3638925642B871   TIFFANY         JOHNSON               ID          90010942564
36389AA7431424   YVONNE          TAYLOR                MO          90001800074
3638B177531424   ZEKE            DOUGLAS               MO          90014781775
3638B33A351339   KYLE            LARISON               OH          66013633303
3638B49767B471   TERESA          FARMER                NC          11049524976
3639284535B393   MIKE            KIDWILER              OR          44512998453
36393139A55972   JUANA           COBOS                 CA          90014331390
3639335187B639   BRITNEY         WILSON                GA          90009643518
36393785A7B492   ARMANDO         GONZALEZ              NC          11072207850
3639383535B393   TODD            POKORNY               OR          44552038353
36393A38461963   JOHNNY          QUEMUEL               CA          90013950384
36393A82455951   GONZALO         SANCHEZ               CA          90006450824
36393AA3A51392   ANGERINE        LANE                  OH          90002690030
3639432254124B   KATHRYN         SICKELS               PA          90001533225
3639455997B639   ANTOINETTE      HOLLOWAY              GA          90003005599
3639483644B281   KARLA           SKOW                  IA          90012898364
363952A697B492   TILA            CRUZ                  NC          90014472069
3639535622B871   JOE             STEARNS               ID          42085033562
3639618164124B   PADAM           GURUNG                PA          51015151816
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3639626987B395   REDAR                MTUGOBA          VA          90010412698
363963A5372B76   ULISES               RUEZ             CO          33077473053
3639664475B393   JOSE                 DAVILA           OR          90009136447
36396A4982B835   WALLACE              BOLSTRIDGE       ID          90012570498
36396A9252B871   TAWNI                WENDLAND         ID          90014760925
36396AA782B87B   CESAR                AYLLON           ID          90012800078
3639865322B87B   MIKE                 DAVIS            ID          42092446532
363986A2941285   EDWARD               BLACKMON         PA          51069436029
36399131A91831   TERRANI              DOUGLAS          OK          90014611310
3639B118255951   FIDEL                VASQUEZ          CA          90010591182
3639B491591831   GEROGIA              NINO             OK          90014814915
3639B735991891   DOUGLAS              WHITTENBERG      OK          90011387359
363B1129391584   VERONICA             SANCHEZ          TX          90000281293
363B1367A8B16B   TIFFANY              BUTTARS          UT          31031933670
363B1A5882B87B   OZZY                 PEREZ            ID          90015040588
363B234155B52B   JEREMY               JONES            NM          90006113415
363B297762B835   JENNIFER             MURPHY           ID          90000819776
363B29A673B352   ROBERT               OUIMETTE         CO          90008769067
363B353894B281   ROBERT               RAYMEND          NE          27046135389
363B355897B449   ERICK                GONZALEZ         NC          11061105589
363B3588A5B393   ANALILIA             CHAVEZ           OR          90010455880
363B378A38B16B   WINTERS              MICHELLE         UT          90003087803
363B3852191831   PENNY                WATSON           OK          21001838521
363B3A21541285   TAMECA               DUMAS            PA          90012040215
363B4131761963   ADRIANNA             MADRIGAL         CA          90014861317
363B4264A61963   KATIE                GARCIA           CA          90013942640
363B456778B16B   KATIE                GALLEGOS         UT          90010985677
363B5495355972   JAIME                CRUZ             CA          48073104953
363B599A591891   KIMBERLY             GLASS            OK          90010719905
363B6428751321   TAMATHA              JONES            OH          90006134287
363B681788B16B   SHELLY               MCGILL           UT          90012118178
363B6A7312B93B   PERLA                GARCIA           CA          90012810731
363B7463A31424   THELMA               WHITE            MO          90005694630
363B8412531424   ROSETTA              JOHNSON          MO          90014774125
363B8A56955951   ALEJANDRO            GONSALEZ         CA          90010680569
363B9132691584   VANESSA              GONZALES         TX          90014461326
363B9568561963   EVAN                 EDGAR            CA          90014185685
363B9648431424   MEGHAN               THOMAS           MO          90007546484
363BB492151339   STEVE                MABE             OH          90007994921
363BB558391584   LOURDES              VALENZUELA       TX          75061895583
3641115797B492   CANDI                USSERY           NC          90008641579
3641126192B835   IAN                  ARMSTRONG        ID          42024612619
36411372A36143   TIFFANY              ALANIZ           TX          90002873720
36411A77391831   MAUREEN              BUNCH            OK          90014400773
36413211A31444   SADIA                MOHAMED          MO          27579872110
364136A7A7B492   JOCOBUS              VERMEULEN        NC          90011336070
36413717A91886   SIERRA               COUNTS           OK          90014937170
3641395A572B76   HUGO                 ORDAZ            CO          90005969505
3641454388B16B   MAI                  YANG             UT          90013715438
3641458885B52B   JEANNIE              AUSTIN           NM          90010535888
36414A77761963   LEONDRA              WHITAKER         CA          90014770777
3641618447B639   KEVIN                MOSEY            GA          90007461844
364166A8751339   TRACY                PHILLIPS         OH          66076606087
3641748257B639   ALFONZO              CHARRIEZ         GA          90014674825
36417793A76B89   GUADALUPE            DOMINGUEZ        CA          46017157930
36418152A2B87B   RENEE                MILLER           ID          42088731520
3641991537B492   LINDA                HARRIS           NC          90011199153
36419A79A91891   LINDA                SCOTT            OK          90011420790
3641B549436143   DESIREE              GARCIA           TX          90003375494
36421255A51382   MARLO                SINGH            OH          90015052550
364214A1A55972   ANTONIO              PARRA            CA          90014774010
36421A97991891   RICHARD              DUTRA            OK          90014380979
364225A5355951   MARIA                VACA             CA          90001055053
3642313882B93B   GERALDINE            LOUISE           CA          90013821388
364232A799156B   STEPHANIE            ARENAS           TX          90012542079
3642361917B639   JULIE                BLEDSOE          GA          15001966191
3642533282B87B   SASHA                HOUGHTALING      ID          90010873328
3642575962B87B   ANTONIETA            SEDANO           ID          42088867596
3642598965B52B   BLANCA               GRANILLO         NM          90006259896
36425A7537B639   TYRONE               CODY             GA          90014470753
364263AA941285   DONALD               PARKER           PA          51032193009
3642688452B87B   VIRGINIA ANN-MARIE   ANSAH            ID          90008768845
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36427399376B89   LUIS EDUARDO   MEDINA                 CA          90013923993
36427431A31424   MALCOLM        JOHNSON                MO          90014784310
364278A1355972   CALEB          OWENS                  CA          90003488013
3642821424B281   JENNIFER       REEDER                 NE          90009832142
36429636276B89   GILBERTO       VIGIL                  CA          90007856362
3642B415A8B16B   LIZBETH        CASTANEDA              UT          90013404150
3642B421551339   RUSSELL K      MABERY                 OH          66045724215
3642B846491584   PHIL           BROWN                  TX          90014748464
3642BA28761963   RAYMOND        SHARP                  CA          90006520287
3643174275B52B   ORTIZ          ROSA                   NM          90007497427
36432354976B89   MARC           WIDEMAN                CA          90013103549
3643353132B871   ALLEN          HANSCOM                ID          42050255313
364338A934B597   KHRISTIAN      SUDBROCK               OK          90001988093
36433A28184381   MYRNA          JIMENEZ                SC          90004000281
36433AA6384368   MIGUEL         MARTINEZ               SC          14506990063
36434156576B89   ALFONCE        LOPEZ                  CA          46001651565
36434784124B89   ROY            ARNOLD                 DC          81015657841
36434A7A485921   JEREMY         BOGGS                  KY          90013740704
36436A31A41285   ANGELA         PEARSON                PA          90014890310
3643754A68B268   TANYA          LAPORTE                VT          90014965406
3643755127B639   VICTORIA       URPANO                 GA          90012595512
3643854432B93B   JUANITA        CASTILLO               CA          90012785443
3643933595B52B   MARY           TORREZ                 NM          90003583359
3643B475336143   ARLEEN         WEISE                  TX          90006524753
3643B716376B89   ARMANDO        HERNANDEZ              CA          90012087163
3643B86845B393   JONATHAN       VINZANT                OR          90014718684
3643BAAA24B281   JEANNETTE      EVANS                  NE          90014100002
3644191A491831   DONALD         ARMSTRONG              OK          90014409104
3644289AA55951   BRESHIA        ROBINSON               CA          90011078900
36442AA7755972   MARIA          ESPINOZA DE MORENO     CA          48039700077
3644326577B471   DONTE          MOBLEY                 NC          11042792657
3644344845B52B   GILBERT        LOPEZ                  NM          35058384484
3644436982B87B   ADRIANA        HERNANDEZ-ALVARDO      ID          90008033698
364446A734B531   JESSICA        EDDINGS                OK          90010956073
3644499875B52B   NILA           LOPEZ                  NM          90006799987
3644665A64B943   MARY           KEYES                  TX          90005586506
3644673544B281   MABLE          TOSTENSON              NE          27012907354
3644691A94B554   KIELA          HOWARD                 OK          90004709109
36447349A36143   EDGAR          TINAJERO               TX          73556903490
364483A3251382   TROY           SLI                    OH          90015053032
3644851767B639   RENARDO        PAGGETT                GA          90012925176
3644854698B16B   CATHY          ROSENBAUM              UT          31036625469
3644B431761963   JUSTIN         KNOPS                  CA          90013124317
3644B73675B156   LUCILLE        BELL                   AR          90013667367
3644B783A5B393   MARINA         LEYTNER                OR          90009397830
3644B853455972   AIDA           CORONA                 CA          90011408534
36451168A41285   DEATRICE       MENA                   PA          90007521680
3645177A751382   RODNEY         ISBELL                 OH          90008527707
3645244592B835   MISTY          WARNER                 ID          90008164459
3645293A64124B   LUANA          LILLO                  PA          90011979306
3645312537B639   THADDEUS       WILLIAMS               GA          90013231253
3645332947B492   TELA           SIMS                   NC          11090373294
3645376427B639   TIM            HEDGECOCK              GA          90013347642
3645473272B835   MELISSA        ALLEN                  ID          90014177327
3645537774124B   LAWRENCE W.    HANLEY                 PA          90004293777
36456472A2B93B   BRADFORD       SANTIAGO SR            CA          45093274720
36456848A7B492   SHERRY         FIESTAS                NC          11038478480
3645686217B449   SHERRI         WLEFFORD               NC          11097098621
36457147A91584   FLAVIO         GARCIA                 TX          90013011470
3645748AA91831   ELSA           NUNEZ                  OK          90011714800
36457A8514B943   NELSON         BODDEN                 TX          76565060851
3645818212B87B   GLORIA         MILLS                  ID          42038261821
3645854994B569   JENNIFER       MODESTO                OK          90010385499
364594A7261963   WALEED         ISSA                   CA          90011634072
3645976322B871   ANYA           RODRIGUEZ              ID          90012177632
3645B544831424   EPIPHANI       DALE                   MO          90014785448
3645B849741251   URBAN          HOUSING                PA          90011508497
3645B861791584   EZEQUIEL       DELARIVA               TX          90014748617
3645B91192B93B   ROYCE          BERNAL                 CA          90007189119
3646271A54B281   DEANNE         MATHEWS                NE          90015137105
36462A39A76B89   SIERA          OWENS                  CA          90014670390
36463A5818B16B   HEATHER        KAP                    UT          90015010581
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36465A19151382   DERRICK          REAL                 OH          90008810191
3646617A691831   YADIRA           ROMERO               OK          90006681706
3646631777B639   KATE             KIMBER               AL          90015023177
3646671775B393   APOLINAR         GONZALEZ             OR          90012347177
3646756115B156   WILLIAM          SMITH                AR          23092945611
3646756685B52B   BETTINA          SANCHEZ              NM          90000655668
3646786AA61981   ERNESTO          RODRIGUEZ            CA          90003138600
36467A14755972   HELEN            HOEL                 CA          90010690147
3646834615B393   SHERRI           HUTCHISON            OR          44538633461
36468777176B89   MARTHA           RODRIGUEZ            CA          90011197771
3646883447B639   DARRELLL         LITTLE               GA          15090338344
3646886582B835   RODOLFO          BRAN CHAVIRA         ID          42012138658
3646934797B492   MILES            CORTEN               NC          90013353479
364695A4291831   ROSA             CALVERT              OK          90011715042
3646B535155972   DANIEL           SANCHEZ              CA          90012555351
3646B946591584   RICARDO          RODRIGUEZ            TX          75061899465
3646BA21A7B492   SEAN             JARRETT              NC          90012870210
3646BA97651339   BEVERLY          SUDDUTH              OH          66048070976
3647137372B93B   RIETA            BRAMER               CA          90012483737
36471473776B89   JON              ABRIL                CA          90000724737
364716A835B52B   COLLEN           MEEK                 NM          90015126083
3647179A161963   CESAR            GOMEZ                CA          46097697901
3647198254B281   HEATHER          WALMER               NE          90014449825
36472A1494124B   JONATHAN         BARCLAY              PA          90014060149
36472A64455972   MARY             JANE                 CA          48033260644
3647423717B639   ANTONIO          STURGILL             GA          90011462371
36474266376B89   DIANA            ARACELY              CA          90015282663
3647486884B294   TIM              BOLLINGER            NE          90009528688
36475175772B76   TERESA           WISSEH               CO          90014631757
36475178A72B76   TERESA           WISSEH               CO          90009561780
3647529715B52B   YURIANA          OROZCO               NM          90011482971
3647536684B943   DARIA            WILLIAMS             TX          90011153668
3647563327B639   JOEL             CAMPOS               GA          90004786332
3647589699155B   MONICA           LOPEZ-URIBE          TX          90013088969
36475997276B89   CARLOS           CERVANTES            CA          46097609972
3647646538B16B   JASON            CARRIERE             UT          90014814653
3647824297B639   ASHLEY           BROOKS               GA          90015302429
36478389276B89   CERGIA           BUENO                CA          90010373892
3647839694B281   DEBRA            PETRY                NE          90013163969
3647915A591537   ANGELICA         CAZARES              TX          90012411505
3647952894B281   ISAAS            GARSIA               NE          90010015289
364797A4951363   HEIDI            GASTON               OH          66081797049
36479A2342B87B   SCOTT            STEVENS              ID          90010240234
3647B332A2B87B   ALEXANDRIA       MULANIX              ID          42085793320
3647B4A797B639   AMBER            GOODSON              GA          90004644079
36481A32476B89   NATALIA NICOLE   HUSZCZ               CA          90002930324
36482A23391891   MELINDA          WOLTERS              OK          90014610233
36482A96655972   SLVIA            CONTRERAS            CA          48082450966
3648312537B639   THADDEUS         WILLIAMS             GA          90013231253
36483199A76B89   JADA             JACKSON              CA          90015101990
3648389467B471   SHIRLEY          JAMISON              NC          11094938946
364845A142B87B   SADDAM           NASSER               ID          90005235014
3648569362B835   REBECCA          SUAREZ               ID          90009526936
3648638834B281   CHARLES          NEWSON               NE          90012813883
3648744242B835   DAVID            JACKSON              ID          42028274424
3648776248B16B   ERICA            LOPEZ                UT          90010987624
364883A6461963   LAKIESHA         JACQUETT             CA          46041033064
3648B117A7B639   JEREMIAH         NIXON                GA          90013261170
3648B7A3355972   GLRNDA           PATINO               CA          90004867033
3648B8A9A2B835   SHANE            GREVER               ID          90002158090
364933A6461963   LAKIESHA         JACQUETT             CA          46041033064
3649373A57B639   SHERITA          JONES                GA          90013477305
36493AA652B871   APRIL            STEVENSON            ID          42085870065
3649424525B393   ERNESTO          VALDIVIA             OR          44532042452
3649431497B639   ASHLEY           MRAZIK               AL          90013633149
3649499A34124B   JYNIENE          HUNT                 PA          90004989903
3649539948B16B   CARLOS           GONZALEZ             UT          90015553994
3649578962B87B   BRITTNEY         RICHARDS             ID          42025657896
36495A96391891   SASHA            HOUSTON              OK          90013450963
36495AA965B52B   JAIME            IBARRA               NM          90012800096
364964A8572B76   BARBARA          SHEARER              CO          33063104085
3649689717B639   PINTO            GARZON               GA          90010268971
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364969A3177366   RAFAEL        AYALA JR.                IL         20511769031
364977A413B365   ESTRADA       FERNANDO                CO          90006887041
36497853A8B16B   TERRY         GREEN                   UT          90012138530
3649787665B52B   TINA          LOPEZ                   NM          90010688766
3649799384124B   BRANDA        BURRELL                 PA          90006769938
36498538776B89   FREDI         NUNEZ                   CA          90014625387
3649855A87B449   TAMARA        GILLESPIE               NC          11064955508
36499373A51339   DERRICK       DAVIS                   OH          90014773730
3649948352B835   TINA          FLORES                  ID          90004054835
3649951A991232   NIKIA         HOLCOMBE                GA          14578755109
3649955139379B   ANGELA        EBBING                  OH          64531065513
3649B46294B576   TONY          HARRISON                OK          90007874629
3649B493191584   LAURA         DUARTE                  TX          75028274931
3649B4A972B871   GEORGE        SNIDER                  ID          90013344097
3649B753361963   JUAN          RODRIGUEZ               CA          90011787533
3649B8A467B492   ELIEL         CULLES                  NC          90013008046
364B2394351359   MIKITA        SMILEY                  OH          90010703943
364B3262A3B352   CECILIA       MERAZ                   CO          90004712620
364B3639361963   DAVID         LIBERATO                CA          90003066393
364B3848751382   MITCHELL      MILLER                  OH          66031548487
364B3865141285   THERESA       CIPICCHIO               PA          51065248651
364B38AA94124B   SONNI         MCKINNEY                PA          51093708009
364B3A5947B471   MEOSHA        TANNER                  NC          11061740594
364B431692B871   KIM           VOLM                    ID          90013673169
364B4332841258   ANVIL         WALLACE                 PA          51091923328
364B5377491831   JOSE          BENITO-VAZQUEZ          OK          90013023774
364B549724B281   MIKE          WOODRUFF                NE          90010834972
364B5531A7B639   JOHN          WAYNE                   GA          90013605310
364B5754991831   LACY          KYSAR                   OK          90002777549
364B648855B393   MICKAYLA      BRIDGER                 OR          90014414885
364B715582B87B   TEDD          GUSHARD                 ID          42091541558
364B723398B16B   MELISSA       REYES                   UT          90010372339
364B7285763625   KIM           KELLER                  MO          90010022857
364B771574B281   BRANDON       SHIRLEY                 NE          27090637157
364B789124124B   ALEX          IRWIN                   PA          90015118912
364B81A7676B89   AMANDA        BIGGS                   CA          90014591076
364B82A444124B   SHAWN         NALLEY                  PA          90011292044
364B85A725B58B   MELISSA       JACOBSEN                NM          90007135072
364B8742161963   CYNTHIA       GONZALEZ                CA          90009657421
364B883844B576   MARK          HART                    OK          90010768384
364B9587A91584   JESSICA       PENA                    TX          75040605870
364B986152B871   KAREN         OWENS                   ID          42022738615
364BB494276B89   HILDA         MENCIAS                 CA          90014714942
364BB741A86436   CHALVIALIER   MCCULLOUGH              SC          90011167410
364BB98415B52B   CHRIS         RODRIGUZ                NM          35088939841
36511A68531424   ASHLEY        DONEGAN                 MO          90014790685
3651218117B471   HAROLD        ACKER                   NC          90005751811
3651231617B639   SELESTINE     JACKSON                 GA          15048373161
36512A38791584   LAURA         ZAMARRIPA               TX          90013950387
3651313A861927   ROSY          LOMASENG                CA          90015191308
3651313A92B93B   MARQUES       EMMA                    CA          45077811309
3651366A755972   MARY          SEE                     CA          48066336607
3651451A15B393   LANITA        CROSS                   OR          90014825101
36514961A91584   MARIBEL       AYABAR                  TX          90010499610
36514A75276B89   MARIA         BRIZUELA                CA          90007780752
3651551264B943   SHARMAINE     TAYLOR                  TX          76515895126
3651669595B386   JENNIFER      POAT                    OR          90008826959
3651926482B835   CASSIE        WALLACE                 ID          90006112648
3651931857B471   VETRA         LYNCH                   NC          11092133185
365196A267B449   CHRISTINA     HELMS                   NC          11082486026
36519A92731424   JACQUELINE    HARRIS                  MO          90014790927
3651B369151382   TIANA         ABERNATHY               OH          90015063691
3651B38842B87B   BONNIE        SCOTT                   ID          42061773884
3651B43625B555   ADAM          STOCKTON                NM          90014494362
3651B61668B16B   STEVEN        FROSTAD                 UT          31090036166
3651B724861963   DANIEL        ELLIOTT                 CA          90014187248
3651B832471955   DANA          BIGAM                   CO          90014878324
36522A97576B89   ALEJANDRINO   PRADO                   CA          90014310975
3652343535B52B   DEBRA         SIMPSON                 NM          90002174353
3652363842B871   WILLIAM       WALTERS                 ID          90013046384
365237A8861963   SOLEMIA       DANTONI                 CA          90014797088
3652392715B393   ROBERTO       VARGAS                  OR          44583149271
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3652513712B871   MARIO       ROJAS                     ID          42010811371
36525A7327B639   VICTOR      SEALS                     GA          90001440732
365261A5A91584   DANIEL      MORENO                    TX          90005801050
3652644782B835   JOSEPH      WEATHERBY                 ID          42009704478
3652651917B639   APRIL       LEWIS-HARRIS              GA          90013565191
3652657434124B   JULIE       ADAMS                     PA          90010535743
3652772765B52B   ETTA        TSOSIE                    NM          90010767276
365277A7476B89   ALIN        MEDINA                    CA          46015367074
3652783917B492   MARIO       SILVA                     NC          90013988391
3652784455B393   JENNIFER    FRANKLIN                  OR          44584198445
3652874462B93B   OTIS        RODRIGUEZ                 CA          45035647446
36528A45A91891   KATHRYN     ALDRIDGE                  OK          90009300450
36529782A41285   AMY         RATHBURN                  PA          90011517820
3652B823A2B835   THOMAS      FREINWALD                 ID          90014738230
3652B8A2961963   MARTHA      BALENCIA                  CA          46054408029
365311A6A31424   SHARON      BRADFORD                  MO          90014791060
3653185375B52B   SAMANTHA    SCHWARTZ                  NM          90012708537
36532196576B89   DIANA       MENDEZ                    CA          46098341965
3653385575B52B   CARLOS      MAX                       NM          90013598557
3653452959152B   GEORGE      MCGUIRE                   TX          75010075295
36534661A76B89   ALAA        ESSA                      CA          90006326610
3653495532B871   MICHAEL     MAHANEY                   ID          90015089553
36535A16A4B943   TRACY       DERUTTE                   TX          90005940160
365362A874B281   NOE         HERNANDEZ                 NE          90000292087
3653697937B471   MISAEL      ALMONTE                   NC          90004149793
3653795447B639   EBONY       COCHRAN                   GA          90010919544
36537991787B41   ARIANNA     WHITAKER                  AR          90013339917
3653976564B943   CURLEY      MCZEAL                    TX          76588377656
3653B255251339   BRIAN       RIDDELL                   OH          90014512552
3653B564336143   JENNIFER    RODRIGUEZ                 TX          90013535643
3653B624441258   CASSANDRA   DUTRIEUILLE               PA          51076056244
3653B85934B943   CRYSTAL     DIAZ                      TX          90006848593
3653BA6787B376   PAUL        AZUMAH                    VA          90001480678
3653BA86976B89   RACHAEL     CHAPMAN                   CA          46048470869
3654112537B639   THADDEUS    WILLIAMS                  GA          90013231253
36541154A2B87B   COREY       JACOBS                    ID          42009771540
365416A992B835   ANDREW      PIPER                     ID          90012166099
36541A1975B52B   MARY        MULLER                    NM          90011940197
36541A64A31424   RON         DRAKE                     MO          90011410640
365421AA991525   MELISSA     AVITIA                    TX          90013021009
36542272A31441   SHEILA      SMITH                     MO          90012702720
3654258915594B   GUADALUPE   MIRANDA                   CA          90014345891
36543171A7B492   CHER        DRAWDY                    NC          11094761710
3654326157B639   ASHLEY      HARRISON                  GA          90010972615
3654397924124B   PAUL        KOHLER                    PA          51087509792
3654416392B871   JD          EMLER                     ID          42005211639
36544483A91584   LAURA       FLORES                    TX          90014764830
3654454715B393   VALENTIN    PONCE                     OR          44574365471
3654472337B639   DAVID       DENSON                    GA          90009247233
36544739A2B835   RACHEL      NASH                      ID          42028857390
3654511424124B   ALISA       GRACE                     PA          51086481142
365456A7141285   JAQUON      JENNINGS                  PA          90013766071
3654637244B563   ROSARIO     MARIN                     OK          90012273724
36546487472B76   CATHERINE   PUMPHREY                  CO          90000984874
365464A1391525   CORDOVA     MARIA                     TX          90005584013
36546822A55951   JESSE       XIONG                     CA          90009288220
3654731667B492   LAURIE      IM                        NC          90014043166
365473A568B16B   JUSTIN      HALSTED                   UT          90011983056
36547736976B89   RAMA        ANTONIO                   CA          90000327369
36547942A91972   GARRETT     GRAY                      NC          90013349420
3654837517B449   RANDY       LOGAN                     NC          11068543751
3654848A48B16B   RIDDLER     LAW                       UT          90014434804
3654B14415B393   DONALD      ALLEN JR                  OR          44575741441
3654B283791584   MARGARITA   VILLANEDA                 TX          75015802837
3655168535B52B   OMAR        TALAMANTES                NM          90008556853
36552A63691584   ERICKA      CAMPOS JONES              TX          75036190636
3655312174B281   NEREYDA     YNZUNKA                   NE          90004301217
3655314115B52B   JENNIE      ROMERO                    NM          35047821411
3655496535B52B   DUSTIN      DANIEL                    NM          90012719653
36554A73651339   EDITH       SARABIA                   OH          90015060736
3655512537B639   THADDEUS    WILLIAMS                  GA          90013231253
3655597A84B569   KAMACITA    MANUEL                    OK          90011329708
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3655642A35B393   SYLVIA       SMITH                    OR          90013114203
3655653824B281   VIRGIL       KNIGHT                   NE          90014235382
3655676162B835   OCTVIO       MALDONADO                ID          90010647616
36556793276B89   PATRICIA     GUTIERREZ                CA          90007647932
36558A41472B76   DANIEL       REYES                    CO          33016110414
3655982137B43B   TAWANNA      AYALA                    NC          11028548213
36559889A41285   KIMBERLY     KENNEDY                  PA          90001858890
3655B38567B376   BRASILIANO   OZUNA                    VA          81054863856
3655B88454B281   MATRINA      GREER                    NE          90014878845
3655B96194124B   SHAWN        BOYD                     PA          90013599619
36561A3132B87B   KENDRA       TORES                    ID          42022420313
3656214564124B   CARA         MCCLURE                  PA          90014621456
36564A4A74B281   MOORE        MIRANDA                  IA          90007850407
3656597924124B   ALLEN        METZ                     PA          90013689792
365663A7755972   ELISABETH    FLORES                   CA          90015193077
3656659928B16B   OLGA         GONZALEZ                 UT          90014835992
36566611676B89   LINDA        BACA-MAGANA              CA          90014266116
3656692754B285   MICHELLE     JACKSON                  NE          90010429275
36566A1334124B   REBECCA      NAMAN                    PA          90008510133
3656727722B871   CHRISTIAN    NASH                     ID          90014232772
3656757642B87B   DAWN         STRYD                    ID          90006605764
36568537A81622   RENEE        TOLEFREE                 MO          29012795370
3656929A22B835   JOSHUA       DANIEL                   ID          90013742902
3656936455B393   LISA         ASCURA                   OR          90010313645
3656B3A6691584   JUAN         CASILLAS                 TX          90012583066
3656B75757B639   VENICER      SURLES                   GA          15090297575
3656B96197B492   OTONIEL      GARCIA                   NC          90014809619
3657188112B87B   KENNETH      MONTGOMERY               ID          42096368811
36572623972B25   KATHERINE    OCHSNER                  CO          33079056239
36572921A91584   ESTHER       RASCON                   TX          75086269210
36573A6334B281   OMAYRA       RIVERA                   NE          90003610633
3657453A94124B   ANGALIQUE    VISCINTI                 PA          90012255309
3657462294124B   ANGALIQUE    VISCINTI                 PA          90001696229
3657544255B52B   NORBERTA     RODRIGUEZ                NM          90014854425
36575783A91831   WAKEL        BURKS                    OK          90014417830
36575AA912B87B   CINDY        COLF                     ID          42072970091
3657967958B16B   IRIS         CHAMAGUA                 UT          90014446795
36579783A91831   WAKEL        BURKS                    OK          90014417830
3657B71317B449   CORY         WESTBROOK                NC          11039837131
36581259572B24   MICHELLE     STROY                    CO          90009092595
3658129952B93B   EBONIC       BATCHELOR                CA          90013072995
3658146952B871   ELENA        MARTINEZ-RODRIGEZ        ID          90001364695
36582335A4124B   JENNIFER     BLACK BURN               PA          51096463350
36582688A2B871   DAVID        RUSSELL                  ID          90013396880
3658386967B443   MILLIE       MILLER                   NC          90010338696
3658474199125B   CANDICE      HYMON                    GA          90005967419
3658477495B393   MARIA        NEWELL                   OR          44573847749
3658552858B16B   ROBERT       GARDER                   UT          90007935285
365868A5576B89   JESSICA      JIMENEZ                  CA          90008788055
36586A6862B93B   JACK         JILL                     CA          90010280686
3658766A536143   ASAREL       PATINO                   TX          73510536605
3658832252B835   CHRISTINE    BENNETT                  ID          90000673225
365885A6176B89   ROGELIO      SANCHEZ                  CA          90003925061
36589A2132B871   LYNARD       OLIN                     ID          90011930213
3658B248A31424   ASHLEY       BROWN                    MO          90014792480
3658B33A193757   AMANDA       MOSHENKO                 OH          90007923301
3658B653655951   VICTOR       PUEBLA                   CA          90003266536
3658B656276B89   JUAN         DE LA CRUZ               CA          46069216562
3658B6AA37B492   PAYGO        IVR ACTIVATION           NC          90009156003
3658BA4652B87B   WILLIAM      MAUGHAN                  ID          90013910465
3659148274B281   ERNESTINE    ALSIDEZ                  NE          27082374827
3659161835B52B   NORA         COOPER                   NM          90005926183
3659196117B639   ANTHONY      WALKER                   GA          15011689611
3659197525B393   MEGAN        PEIRCE                   OR          44513059752
36592157A54154   ERIC         SESSIONS                 OR          90002461570
3659223857B639   ARIN         ADAMS                    GA          90008272385
3659247132B871   JUAN         MORALES                  ID          90014634713
3659292914B943   WILMA        YOUNGER                  TX          76553809291
3659411892B87B   CHRIS        SCHMIDTZ                 ID          90003381189
36594124A5B393   CHERELL      CALKINS                  OR          90003901240
3659441A27B639   KAYLA        RORER                    AL          90015334102
36594834144B62   ADAM         MAYNARD                  OH          90015378341
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36594A41991232   ANGEL        BALDERRAMA               GA          14500970419
36594A4834124B   ANN          SMITH                    PA          90004760483
3659576835B156   JACQUELYN    MCMILLLAN                AR          90004087683
365972A432B871   REBECCA      CARTER                   ID          90015162043
36598877A91891   TRACY        ARMSTRONG                OK          90014158770
36599397476B89   ALIDA        RIVERA                   CA          46001193974
36599A5662B93B   ANDREA       PRADO                    CA          90014660566
3659B224176B89   PEYTON       COOPER                   CA          46027652241
3659B267891891   LEANDRA      SMITH                    OK          90014602678
3659B755A4B943   NAKETHIA     JOHNSON                  TX          90005187550
3659B79735B345   LARRY R      HOLLER                   OR          46082267973
3659B94678B16B   BRIAN        LEATHEROW                UT          31027779467
365B1265191831   JOHNSON      THURMECIA                OK          21086882651
365B1672555964   AMANDA       SEGURA                   CA          90001926725
365B1698731424   DARRYL       HARRIS                   MO          27534886987
365B1945891395   LATONYA      LAVERNE                  KS          90013849458
365B2484A61963   MITCHELL     MAASCH                   CA          90006434840
365B2776A76B89   RAMON        AVILES                   CA          90005837760
365B2935355951   SHIDAY       JORDAN                   CA          90011079353
365B315915B393   LARRY        HARRELL                  OR          90003511591
365B3353591891   SKYLOR       PIERCE                   OK          90015003535
365B3921855972   MIGUEL       ORTIZ                    CA          48097469218
365B3928341285   NADIR        CHANOUNE                 PA          90013959283
365B4795151382   CHAD         REINHARD                 OH          66098157951
365B4994791891   SCOTT        COOK                     OK          90008879947
365B5587661963   TRINIDAD     AVILES                   CA          90005925876
365B5612351339   KATY         HOLTHAUS                 OH          90014676123
365B572584B521   ANDRIA       CHANEY                   OK          90008497258
365B6419A5B555   REVEILLE     BALLINGER                NM          90000884190
365B664594B943   MEKA         MORRIS                   TX          90005476459
365B6916291584   THANIA       SIERRA                   TX          90014749162
365B741152B93B   CRISO        REYES                    CA          45000994115
365B7A6115B393   MICHAEL      HIDALGO                  OR          90015200611
365B827572B835   RHONDA       BUSHONG                  ID          90015112757
365B833585B393   KARIN        KEITA                    OR          44509903358
365B8578691891   DARIAN       WOLTERS                  OK          90009265786
365B8A6A891831   JAMES        COSPER                   OK          90015060608
365B943A64B521   HILDA        OLVERA                   OK          90010784306
365B9556551339   TONYA        MCCULLOUGH               OH          90014175565
365B988935B58B   MANUEL F     GARCIA                   NM          35060668893
365BB46195B393   JEANNE       BAILEY                   OR          44507414619
3661113465158B   VICTOR       MOLINA                   IA          90013891346
36611882676B89   CHRISTINE    MICHAEL                  CA          90014528826
3661213332B835   MARIA        VEGA                     ID          90014691333
36612182A55972   EVANGELINA   LOPEZ                    CA          48008061820
3661415518B14B   JIMMY        LAKE                     UT          31092121551
3661425877B449   DAJUAN       RICKS                    NC          11046972587
3661515518B14B   JIMMY        LAKE                     UT          31092121551
366156A3355972   MIKE         BLANKS                   CA          48003836033
3661633A75B393   JUSTIN       DODSON                   OR          44517673307
3661638A52B93B   DAVID        ZEPEDA                   CA          90010333805
3661642442B871   MARIA        SALAZAR                  ID          90010954244
366176A755B181   DARNETTA     SLAUGHTER                AR          23089396075
36617A5195B52B   JOEL         ROMO                     NM          35006730519
366193A1455972   JOSE         MURILLO                  CA          90001163014
3661B262741285   JUDITH       KENNEDY                  PA          51059712627
3661B886351339   ARTHUR       CARPENTER II             OH          90013598863
36621527676B89   LEHNBREG     JANEL                    CA          90013315276
3662168517B492   EBONY        LOVE                     NC          90014556851
3662195A231493   CHRISTINA    PIERCE                   MO          90015129502
36622362A2B871   CHRISTIAN    ANDERSON                 ID          90013673620
3662258768B16B   EVANGLINA    SALAZAR                  UT          90015095876
3662266962B93B   NATALIE      SNYDER                   CA          45085366696
36623415A61963   RAYAN        OZBIRN                   CA          90014904150
36623553276B89   MARGARITA    OROZCO                   CA          90013385532
3662473822B835   BILL         BROWN                    ID          42095257382
3662598847B471   BARBARA      WEST                     NC          11042439884
36626575A51339   SHIRESE      PARKER - GARRISON        OH          90011805750
3662667882B871   GUDALUPE     JIMENEZ                  ID          42094066788
36626A27261963   CJ           WORTH                    CA          90013970272
36628476457B79   TERESA       TLATENCHI                PA          90013804764
36628A83A61963   YADIRA       OCHOA AVILA              CA          90013970830
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3662915447B639   AARON          BELL                   GA          90014501544
3662925572B871   JESSICA        HERRERA                ID          90009582557
3662934157B471   EDWING         LOPEZ                  NC          11009013415
3662B346141285   DANIELLE       BUTTON                 PA          51025533461
3662B838631424   ARTHUR         JACKSON                MO          90014768386
3662B91A17B449   KENDALL        REYNOLDS               NC          11077269101
3662B9A4A2B871   ELLEN          SPARKS                 ID          42055699040
3663121362B857   DUSTIN         SURBROOK               ID          42077232136
36632653A2B871   KEVIN          LABRONTE               ID          42078466530
3663446185B393   MARK           PALITY                 OR          90006784618
3663478692B871   PAUL           JOHNSON                ID          42030827869
3663638138B16B   DILLAN         HESTER                 UT          90014873813
3663718585B52B   JULIO          CHACON                 NM          90015081858
36637221A51382   DARYL D        BUCKNER                OH          90011592210
3663724882B871   FERNANDO       PERALTA                ID          90000462488
3663775964B281   PAYGO          IVR ACTIVATION         NE          90015387596
36637761A55964   JUAN           VARGAS                 CA          90001907610
3663889857B639   GLORIA         BENSON                 AL          90009418985
36638A7A941285   ANTHONY        CLARK                  PA          51001080709
36638A8944B281   JAVIER         ALFERES                NE          90007900894
3663986545B156   NICHOLE        FLORES                 AR          90001438654
366399AA78B16B   WILLAIM        MASSIE                 UT          90011509007
36639AA722B835   CRYSTAL        DOMBECK                ID          90014570072
3664162795B358   MARGARITA      MARTINEZ ESTRADA       OR          90012206279
366423A4791584   DIANA          MARTINEZ               TX          90003683047
366426A949379B   ALAN           COPE                   OH          90004406094
3664273A12B835   SARAH          RODRIGUEZ              ID          90008277301
3664312689152B   FRED           APODACA                TX          75062441268
3664324224124B   DAWN           HENCHELL               PA          90011592422
36644191A51339   JOSHUA         ROBERTS                OH          90011201910
3664513162B835   LUCILLE        PERRENOUD              ID          42029111316
3664549175B156   ERIC           DAVIS                  AR          90004854917
3664553118B16B   ELADIA         LOPEZ                  UT          90014625311
3664577898B16B   ANTONIO        BRAMBILA               UT          90013487789
3664634852B871   CHRISTINA      MONTERROSO             ID          90014613485
3664634A241285   LEHRMAN        DAVID                  PA          51090423402
36646653327B96   ISRAREL        SANCHEZ OROZCO         KY          90015536533
3664684A391891   LORENZO        RUCKER                 OK          90013468403
36646A2128B16B   MASON          HARDMAN                UT          90014360212
3664727824B281   ADAM           PENRY                  NE          27097162782
36647A71776B89   CARACHURE JR   ADAN                   CA          90012190717
3664976545B52B   GLENDA         KIEFER                 NM          90003847654
3664B2A237B495   LAQUEENA       HOWARD                 NC          11011602023
3664B35622B835   JOE            STEARNS                ID          42085033562
3664B4A1A7B639   KENYADA        CRAWFORD               GA          90010974010
3664B57555B52B   WILL           TABET                  NM          90011955755
3665145427752B   HUGO           VASQUEZ                NV          90010084542
3665277924B281   RICO           VIPALES                NE          90011507792
366536A835B52B   COLLEN         MEEK                   NM          90015126083
36653876A4124B   EDDIE          LOCKE                  PA          90014508760
36654417A61963   DAVID          KING                   CA          90002394170
36654418972B76   ABDUL          MAALIK                 CO          33065524189
36654A17141258   JOHN           DENHAM                 PA          51070270171
3665571894124B   MARQUIA        CHARAE                 PA          90009087189
3665574482B87B   ALEJANDRA      ESTRADA                ID          90014917448
36656947A51339   KATIE          CROY                   OH          90013349470
36656A3775B393   ADRIANNA       BAUTISTA               OR          90010870377
3665737A42B685   GLORIA         MCGEE                  WA          90015513704
36657466536B95   RUBEN          LEMUS                  OR          44507094665
3665762838B16B   JAMIE          MARSHALL               UT          90013566283
3665765A85B52B   EDGAR          RODRIGUEZ              NM          90012286508
366576A3461963   SALAM          MANSOOR                CA          90011666034
3665925337B639   MARK           SOLOGUB                GA          90008912533
3665987A851382   DOROTHY        THOMAS                 OH          90011288708
3665B53184B281   JOSE           HERNANDEZ              NE          90011365318
3665B584676B89   MALLORY        STEVENS                CA          90010355846
3665B6A287B639   WHITNEY        SWANSON                GA          90015316028
3665B73672B87B   STEPHANIE      FAIR                   ID          90000177367
3665B83587B639   LORY           CAMPBELL               GA          90010118358
3665B96675B52B   TANITA         DUNCAN                 NM          90014829667
3666152724124B   DARRELL        BIGRIGG                PA          90013545272
36661662A5B52B   FORO           MARTINEZ               NM          90013936620
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3666171372B871   DALLAS       JORDAN                   ID          90014527137
3666224A97B639   MICHEAL      JONES                    GA          90009482409
3666253845B393   MARLANA      GREEN                    OR          90014705384
3666368A772B34   MICHELLE     MOE                      CO          90007216807
3666374757B492   GREG         COXUM                    NC          90014157475
3666491642B93B   EVELIN       GONZALEZ                 CA          90014779164
36664AA415B393   SCOTT        GARRISON                 OR          90012760041
36665536A7B449   CRISTIAN     JUAN                     NC          90004305360
366657A4791891   CHARLES      ADAMS                    OK          90014307047
3666595A972B32   CHRIS        QUINTANA                 CO          90006179509
366661A3591891   SHIRLEY      HOLMES                   OK          90015311035
366669A4555972   MARTIKA      VASQUEZ                  CA          90014729045
36669469A7B492   DEMETRIO     REYES                    NC          90013924690
36669565A2B835   CHRIS        THOMPSON                 ID          90012845650
36669A5677B639   ALFONZO      WILLIS                   GA          90013150567
3666B742955927   GUADALUPE    REYES                    CA          90010647429
366718A6572B76   JOSE LUIS    CASTANDA                 CO          33087788065
3667211955B393   LESLIE       TORRES                   OR          90009101195
36672294576B89   ELI          MIRANDA                  CA          90013832945
366728A652B87B   KATELYNN     HELGET                   ID          90011298065
366734A1355972   MARK         SANCHEZ                  CA          90012664013
366738A6872B76   LUIS         HERNANDEZ                CO          33062048068
3667428A92B93B   SHAMON       LIWI                     CA          90015392809
36675478A7B471   JOSE         MORENO-CRUZ              NC          11039694780
36675532A7B492   FRANKIE      BRAZIL                   NC          11044085320
3667592885B52B   STEPHANIE    LUERAS                   NM          90011439288
36675A13A76B89   SUSAN        BRADFORD                 CA          90000740130
3667631A191584   MARIA        DE JESUS LOPEZ           TX          75095823101
3667775A427B96   ROMEO        ORTIZ                    KY          90013967504
3667787372B835   MARY         STOCKTON                 ID          90006288737
3667825297B359   EMILIO       AGUILERA                 VA          90010142529
3667831A191584   MARIA        DE JESUS LOPEZ           TX          75095823101
36678596A76B89   STEVEN       RUOPOLI                  CA          90014835960
3667949868B16B   BRUNO        SCHLUETER                UT          90015184986
3667951278B16B   STEPHANIE    MCRAE                    UT          90012695127
3667994155B23B   BRIA         RAYFORD                  KY          90006899415
3667B223741258   DAVID        NEAL JR                  PA          51000212237
3667B516957121   RAMONA       HARRIS                   DC          90010805169
3667BAA7A51382   COURTNEY     VAUGHN                   OH          90011280070
3668213A52B871   JOANNE       TURNER                   ID          42096641305
36682244976B89   CRYSTAL      GARCIA                   CA          90012282449
36682429A76B89   YANET        GONZALEZ                 CA          90013304290
36682569872B76   ABRAHAM      MEDELLIN                 CO          33082495698
3668341975B393   HEIDI        ANDERSON                 OR          44513214197
3668367955B156   STEPHANIE    THOMAS                   AR          23040096795
36683A8A94B281   BILLY        BROWN                    NE          27016770809
36684146A2B835   JACK         BLACK                    ID          90003381460
3668417464B55B   WILLIAM      MITCHELL                 OK          21580541746
366843A8531424   EARNESTINE   BRANON                   MO          90011073085
36685194A4B943   TONI         EVANS                    TX          90009571940
3668544872B871   MELISSA      KRAMER                   ID          90013084487
3668548728B16B   WILLIAM      SMITH                    UT          31014744872
3668551537B449   BRANDON      BELL                     NC          11016295153
3668557A831424   FATIMA       MCFARLAND                MO          90014795708
36685622A7B492   LISA         MELTON                   NC          11086916220
3668658725B393   BARBARA      SWAFFORD                 OR          44569305872
3668778394124B   EMILY        SPANGENBERG              PA          51004037839
366879A653B38B   MARIO        BLANCO                   CO          90011169065
3668838227B639   KIZZY        JOHNSON                  GA          15086243822
3668878754B281   SAMANTHA     HERNANDEZ                NE          90014727875
36688A5517B384   RODRIGO      SOTO                     VA          90009160551
36688A6382B87B   JOSE         GUERRERO                 ID          90001640638
3668998942B87B   BREANNA      ACHOLS                   ID          90014959894
3668B475591537   SALLY        NEVAREZ                  TX          90012734755
3668B64884B281   REBECCA      HARRIS                   NE          90002406488
3668B75378B16B   ANGEL        IBARRA                   UT          90013297537
36691273A7B449   JAMES        WELLS                    NC          11007012730
3669131564124B   RITA         OLIVER                   PA          90009513156
3669162218B16B   RONDA        ALEXANDER                UT          90013716221
3669193737B471   JADA         HARDING                  NC          90008179373
36691A59741285   YASMEEN      SOUTHERS                 PA          51027450597
36692429976B89   MARIA        VARGAS                   CA          46054374299
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36692837A4124B   JACQUELINE   GREEN                    PA          90008788370
36692A86591891   LEAH         RUSSEL                   OK          21062850865
36692AA4825123   SILVIA       RAMOS                    AL          90015440048
3669333444B281   ERICA        HEARD                    NE          90012313344
3669371124B281   ERICA        HEARD                    NE          27088677112
36693A57691584   RAUL         RUYGAZA                  TX          75098650576
36693A6A771921   MARK A       HENDERSON                CO          32098180607
3669453784124B   DANIEL       SNYDER                   PA          90002595378
3669544AA5B52B   ANDRES       ANDREW                   NM          90008614400
3669583198B16B   PAYGO        IVR ACTIVATION           UT          90014478319
3669594522B871   BRINA        NEWBERRY                 ID          42018159452
3669625372B522   ASHLEY       WINSTON                  AL          90012022537
36696615A41258   CINDY        GORDON                   PA          90010206150
366978AA331424   KELLY        KRUEGER                  MO          27562968003
36698A73976B89   NORA         PACHECO                  CA          90012620739
3669927444B281   TIMOTHY      TAMBE                    NE          90012642744
3669942168154B   KARRE        GITZINGER                 IL         90007654216
3669B2A6991831   REANNA       BARNES                   OK          21087532069
366B1279171931   JOE          NICCOLI                  CO          90001962791
366B13A2851339   RICHARD      SLAGLE                   OH          90012503028
366B172912B871   SHERYLL      WILSON                   ID          90014717291
366B1752224B27   PAULO        SALOMAO                  DC          81087717522
366B1886191543   ELEAZAR      CARDOZA                  TX          90011328861
366B1A6534124B   CHARLES      WILSON                   PA          90010110653
366B227884B281   KENNETH      ROBINSON                 NE          90014352788
366B2343176B89   NORA         MOLINA                   CA          46005233431
366B2392655972   JACOB        ORTIZ                    CA          48001433926
366B28A9561963   ALLISON      KEYS                     CA          90014188095
366B356385B52B   DAVID        ROMERO                   NM          35007185638
366B3726572B2B   PATRICIA     MANZANARES               CO          33096297265
366B399727B471   TIAH         HUBBARD                  NC          90003159972
366B42A4761963   ZELLASTEIN   MITCHELL                 CA          90013492047
366B432988B16B   NELDA        POTTER                   UT          90014173298
366B4644655972   GUS          ARISTA                   CA          90013016446
366B489667B384   JOSE ANGEL   MEMBRENO CAMPOS          VA          90006448966
366B4A29272B76   VALLEJO      ELIZABETH                CO          90010030292
366B5818931424   SAMIYA       BASS                     MO          90014858189
366B6495261963   DALTON       OGDEN                    CA          90011754952
366B6842355951   DONNIKA      MCCRAY                   CA          90011128423
366B7335231424   STEPHANIE    MYERS                    MO          90014793352
366B753A47B492   JONI         HAMRICK                  NC          90005815304
366B7745A7B639   LAKEISHA     EUBANKS                  GA          90014777450
366B7765755951   JANELLE      HAMILTON                 CA          49062697657
366B784A131424   LARRY        HODGE                    MO          90014858401
366B785112B871   JAIME        CASTRO                   ID          90007848511
366B785A257126   LESLI        PEREZ                    VA          90012448502
366B797885B52B   ANGELA       SOTO                     NM          35086809788
366B829A55B52B   LUIS         TRISTAN                  NM          90002342905
366B8759491831   RAMONE       MALONE                   OK          90009627594
366B89A7387B64   ARNIKA       MURRAY                   AR          90009439073
366B942815B52B   ROSE         MYERS                    NM          35072784281
366B9469691584   LUIS         GALLEGOS                 TX          90006724696
366B975585B391   BRAD         BROWNING                 OR          44554677558
366B991215B393   KRISTINE     JONES                    OR          90000979121
366B99A222B871   RODICA       GHIBASANU                ID          90007849022
366BB26437B639   GERALDINE    PORTER                   GA          90013432643
366BB319731424   JAMILLAH     SYMONE                   MO          90014793197
366BB3A6136143   TIPHANE      TIPPIN                   TX          73516273061
366BB453891543   FRANCISCO    DURAN                    TX          90001004538
36711A12951382   CHRIS        GRAHAM                   OH          90011280129
36712249A91584   CLAUDIA      MAZANAREZ                TX          75092072490
36714249A91584   CLAUDIA      MAZANAREZ                TX          75092072490
3671519787B492   KEVIN        CATHCART                 NC          11032281978
367153A3991831   ISAIAH       BARNETTE                 OK          90015293039
3671541562B93B   BRAD         BORBOA                   CA          45059264156
3671571627B639   JOANN        JOHNSON                  GA          90009457162
36715A28A61963   MARIA        CARRILLO                 CA          90014820280
36715A8A25B52B   YVETTE       GONZALES                 NM          90013710802
36716348776B89   RUDY         SAARHEIM                 CA          90015213487
3671713A92B93B   MARQUES      EMMA                     CA          45077811309
3671774573B38B   SARAH        MANN                     CO          90006477457
3671839A84B52B   SUMMER       HEARON                   OK          90011053908
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36718473A41258   DEEPAK KUMAR   PASUPULA               PA          90011214730
367184A2951382   MYRON          FENDERSON              OH          90013164029
36718A3754124B   MATTHEW        HART                   PA          90012850375
36718A78257335   ELAINE         BROOKSHAW              MO          90015300782
36718A94455951   MARTHA         LOPEZ                  CA          90011500944
3671919A92B93B   RANDI          FISHER                 CA          90000801909
3671923917B639   JOSEPH         PORTER                 GA          90010502391
3671B2A4631493   RICHELLE       STILES                 MO          90013252046
3671B335831424   KIMBERLY       GOLATT                 MO          90011073358
3671B451641258   WILLIAM        CLIFFORD               PA          51082804516
3671B6A643B352   KEVIN          DWYER                  CO          90000536064
3671B78448B16B   TRUJILLO       DAVID                  UT          90009427844
3671B84754B597   TIMOTHY        SAATHOFF               OK          90005448475
3672187A24B281   SARA           ORTEGA                 NE          27060408702
3672278288168B   DENNISE        BASS                   KS          90008337828
36722A9462B87B   JORGE          HERNANDEZ              ID          90013590946
3672352122B871   JEN            GUEVARA                ID          90007195212
3672352AA61927   JORGE          LOPEZ                  CA          90012375200
367243A487B471   CORTNEY        JENKINS                NC          11093663048
3672512242B87B   EMILY          CLEGG                  ID          90010961224
3672555914B281   CONNIE         MCGHEE                 NE          90009615591
36725823A91831   BRIAN          BOYLES                 OK          21030028230
3672585292B871   CYNTHIA        STEWART                ID          90014168529
36725A45861963   BRYAN          MANUEL                 CA          90014820458
3672662155B546   TERESA         ARMENDARIZ             NM          90013396215
3672688584B281   JUNE           CURTIS                 NE          27016828858
3672719112B87B   AMANDA         TEMPLETON              ID          90010971911
3672864198B16B   CHERYL         CASEBOLT               UT          90013716419
3672881637B449   NARAYAN        DHAURALI               NC          90004638163
3672918A12B87B   VICTORIA       NSABIMANA              ID          90011211801
3672927A841258   PAUL           THOMPSON               PA          51009462708
3672935455B393   JESAEL         FAJARDO                OR          44522703545
36729569872B76   ABRAHAM        MEDELLIN               CO          33082495698
36729934A2B871   PAT            CLARY                  ID          90008199340
3672B129561999   KELLY          ALPERS                 CA          46081221295
3672B632851339   JYASMINE       WILSON                 OH          90014716328
3673118835B156   NORMA          THOMAS                 AR          23097461883
367314A822B871   REBECCA        CALLIER                ID          90004124082
36731739976B89   PORFIRIO       MARTINEZ               CA          46002807399
3673217827B639   SHARON         NURSE                  GA          90014521782
3673235582B93B   NANCY          MEDINA                 CA          90010363558
3673235895B393   PAULA          WILSON                 OR          90002643589
36732795A91891   COREY          COATS                  OK          90002157950
3673317415B52B   PEGGY          FAHRENHORST            NM          35094071741
3673327482B87B   ATTILA         REKTOR                 ID          90015212748
367338A994B281   SHARITA        TOLBERT                NE          90011188099
3673448A32B87B   BARBARA        BURNS                  ID          90009824803
3673465847B449   BENITO         GAMBOA                 NC          11086006584
3673565368B16B   BRIAN          GREENFIELD             UT          31074066536
36735874A91831   JOYCE          BOTKINS                OK          90009388740
36736496A55972   JUENCIO        GARCIA                 CA          90005954960
3673695845B393   JON            BOLICH                 OR          44584919584
36736A72761963   MARCELLO       DIGIOVANNI             CA          90014820727
367372A125B156   TANYA          WASHINGTON             AR          23065872012
3673961867B639   ALISSA         BROWN                  GA          15040776186
3673B384455951   RENE           BETANCOUA              CA          90005903844
3673B81542B835   LINDA          GARZA                  ID          90014178154
3673BA3355B52B   ARTHUR         TELLES                 NM          35035950335
3674165372B93B   SCOTT          ARNEBECK               CA          90015296537
36742794A55972   JOSETA         GARCIA                 CA          48092297940
36742A13191963   WILLIAMENA     TAYLOR                 NC          90012110131
3674375572B93B   ADELINA        DURAN                  CA          90013027557
3674428294124B   LAMAR          CHILDS                 PA          51093012829
3674493987B449   KEAIRA         CHAFFIN                NC          90000439398
3674529447B492   JESSICA        HILDERBRAND            NC          90005192944
367456A2541258   ANGEL          CASTAPHENY             PA          51036556025
3674661265B296   CIARA          MORRIS                 KY          90014156126
3674749A291584   LAURA          CHAVEZ                 TX          90003194902
3674815685B156   MONICA         WILLIAMS               AR          90006621568
36748381476B89   NOE            SANCHEZ                CA          90009693814
3674876957B492   BROOKLYN       ROBERTS                NC          90012117695
36748A54555951   TERESA         MADRON                 CA          90003270545
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3674B1A892B835   JOSHUA        LOCKNER                 ID          90013581089
3674BA2A551339   MICHAELA      PEEBLES                 OH          90010480205
367519A3261963   ALICIA        BURNETT                 CA          90003879032
367526A2191584   GRACIELA      ESCOBAR                 TX          90014766021
36752776A76B89   RAMON         AVILES                  CA          90005837760
36752A7134124B   CHRISTOPHER   HILL                    PA          90010110713
3675321887B376   EDUARDO       MAJANO                  VA          90005912188
3675372A25B156   TARSHA        JOHNSON                 AR          90006787202
3675478762B93B   KEVIN         GARCIA                  CA          90011417876
36754A38791975   ANGELA        WHITE                   NC          17083570387
367566A2191584   GRACIELA      ESCOBAR                 TX          90014766021
3675772882153B   MICHAEL       DRENNEN                 CO          90011847288
3675781A12B93B   DANIEL        CISNEROS                CA          90011418101
36757887697B31   DWAIN         ALLEN                   CO          90011438876
3675793612B87B   RICARDO       ALANIS                  ID          42088029361
36757A6715B156   MYRNA         WHITEHEAD               AR          23096260671
36757A86561981   RANDALL       PRUDEN                  CA          90009770865
3675856737B492   MARBIN        DOMINGUEZ               NC          90002845673
3675872595B393   JAMES         WINFIELD                OR          44585917259
3675884332B87B   MARIA         CRUZ                    ID          42042868433
36759674787B41   YELENA        PETROUKHINA             AR          23094526747
367599A3261963   ALICIA        BURNETT                 CA          90003879032
3675B3A137B639   MARQUITA      WEST                    GA          90008353013
36761A58A8B16B   ANNA P        HERNANDEZ               UT          90004080580
36761A9657B639   WALTER        BARKER                  GA          90003050965
367636A5391584   ELVIA         RIOS                    TX          90014766053
36764464A41285   ADAM          LONG                    PA          51024384640
3676463A561963   MARCO         LOPEZ                   CA          90005366305
36764A68391544   HERLINDA      ALVARADO                TX          75020210683
3676567415B393   HEIDI         EATON                   OR          90012616741
3676578587752B   DIEGO         RIOS-REYES              NV          90013037858
36766442A8B16B   RACHEL        BOYD                    UT          90012524420
36766623A61963   JULIA         SMITH                   CA          46080786230
367674A6151339   ORHAN         KUP                     OH          90014354061
367676A6A91584   ARMANDO       LUNA                    TX          90014766060
36768243172B76   DAWN          IBARRA                  CO          33088462431
36769218476B89   VERONICA      MARTINEZ                CA          90012192184
3676934A42B835   CHANEE        GRANT                   ID          90009343404
3676951934124B   KIMBERLY      BOYD                    PA          90013705193
3676971952B87B   BRANDA        WILTON                  ID          90013547195
36769A51941285   MELISSA       HUFFMAN                 PA          51077860519
36769A9552B93B   FELECIA       QUIALES                 CA          90008680955
3676B1A8491891   JACQUELINE    WILLIAMS                OK          90014361084
3676B477861963   RODRIGO       OCAPMO                  CA          90002324778
3676B48A65B393   JASON         ANDERSON                OR          90013214806
3676B57793B121   FELIX         SALAZAR                 VA          90002755779
3676B818157138   DIANA         LUGO                    VA          90008688181
36771219A2B93B   ANTONIA       MELGOSA                 CA          90014442190
3677218A576B89   SIGIFREDO     VARGAS                  CA          90002801805
367726A6A91584   ARMANDO       LUNA                    TX          90014766060
36775A54361963   REBEKAH       WILLIAMS                CA          90014870543
36776951A9125B   JENA          HILL                    GA          14567419510
36777435576B89   ABEL          AYALA                   CA          46012264355
3677748755B393   MELISSA       MCKENZIE                OR          90001594875
3677817747B492   CARLOS        BECTON                  NC          90014621774
3677B94447B639   CAMEISH       MARTIN                  GA          90012309444
3677B999591891   BETTY         MCDONALD                OK          90010569995
3677BA28341285   ANDREW        KRIVOSH                 PA          90014020283
36781634A4124B   DANIELLE      ZURAWSKY                PA          90013926340
36781972A7B639   THERESA       BROWN                   GA          90012679720
3678359874B522   KIMBERLY      GABEL                   OK          90012645987
36784273672B76   ELIODORA      CABRERA                 CO          90002892736
36784862A55972   JEFFERY       MEGRARGEE               CA          90014158620
3678524A461963   CASEY         BANEGAS                 CA          90006462404
3678574712B835   CATHERINE     BURBANK                 ID          90009107471
36785A26A55951   YURIANA       MENCHACA                CA          90011080260
3678618A65B156   SHANITRA      WHITFIELD               AR          23085751806
3678619635B52B   JOHNSON       GENEVIEVE               NM          35091771963
36786331572B76   DONI          MARSELIES               CO          33063143315
367866A8361963   DYLAN         AGUAYO                  CA          90011696083
36786A92141258   MARTHA        HARSHAW                 PA          51081850921
367874A475B156   MARGARET      FLOYD-CAMBELL           AR          90012464047
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36787959576B89   JAVIER            PEREZ               CA          90001569595
3678797352B835   WILLE             JAMA                ID          90006949735
3678879A751339   MATTHEW           LANDERS             OH          90012537907
3678927232B871   CLARISA           LEON                ID          90013892723
367894A8985933   FRANKIE L         GIBSON              KY          67075874089
3678B125A5B156   CHERYL            HARRIS              AR          23057691250
3678B355772B32   JUAN              REYES               CO          90006173557
3678B85244B281   STACI             MILLER              IA          90012218524
367917A317B492   KIMBERLY          LAWHON              NC          11046737031
3679186537B471   JULIA             SANCHEZ             NC          90006628653
3679235614B281   CHAD              BOYER               NE          27072853561
36792A8342B871   MARCOS            PLASCENCIA          ID          90003220834
367943A814124B   CANIE             LUTTRELL            PA          90008103081
36794594A2B93B   ANTHONY           MILTON              CA          90012045940
36795416A31424   DOROTHY           OWENS               MO          90011074160
36795595A41258   CHANTAL           WILLIAMS            PA          51091615950
3679688A24124B   CANDESS           WARD                PA          90004818802
36797347272B76   KARLA             GUZMAN              CO          33009043472
3679741952B87B   THERESA           BURCHAM             ID          42081264195
36797A21431424   TAMECA            WALKER              MO          90011340214
36797A2982B835   ALEC              WRAY                ID          90008080298
367985A982B871   ESAI              SALSIDO             ID          90014705098
36799A2562B835   MICHELLE          SANTOS              ID          42007630256
367B1651891584   AIDA              PARDO               TX          90010556518
367B1759357B79   DAVID             NESBITT             PA          90015357593
367B18AA87B449   KAITY             CAMMOCK             NC          11076568008
367B223718B16B   MARGIE A          SOWERS              UT          90004262371
367B267315B393   VIVIAN            LIHPAI              OR          90014666731
367B3567691584   DELFINA           MARTINEZ            TX          90014765676
367B3712376B89   JACKIE            ESCOBAR             CA          90013087123
367B37A618B16B   KIMBERLY          LARKIN              UT          31068797061
367B38A7976B89   ALFREDO           QUINONES            CA          90011438079
367B4179A91891   AMBER             MCDONALD            OK          90014791790
367B441944124B   JOSEPH            BROWN               PA          90011294194
367B4591976B89   ABEL              HERNANDEZ           CA          46009785919
367B463335B156   DAANDREAL         ROBINSON            AR          23071856333
367B4A5364124B   JOSEPH            BROWN               PA          90013910536
367B5238576B89   JUAN              SANCHEZ             CA          90013512385
367B5398891891   ELIJAH            MAYES               OK          90013473988
367B5636231424   NICK              STADLER             MO          90014796362
367B579957B471   OLGA              MARTHE              NC          11094157995
367B6378351382   JAMIE             TAYLOR              OH          90008663783
367B685114B943   JASMINE           CUNINGHAM           TX          90005918511
367B6896651341   DERRICK           SARVER              OH          90009248966
367B6935A51339   MELISSA           ROBINSON            OH          90004989350
367B752687B639   KAWANNA           THOMAS              GA          15081285268
367B7717651594   TARA              MAGAR               IA          90013787176
367B7796A8B16B   NATALIE           FLEMING             UT          31081767960
367B8258141285   ROBERT            GORE                PA          51093002581
367B8352731424   JESSICA           BAILEY              MO          90011073527
367B859274124B   KENNEDY           PARRISH             PA          90012525927
367B8642A76B89   JUANA             OLIVARES            CA          90014746420
367B9383884755   WILBER            MENA                VA          90000173838
367B9494191584   BRENDA            RENTERIA            TX          90015344941
367B9681193762   DEEZIGNERS        EDGE                OH          90010016811
367BB172541258   DESTINEY          OSTERRITTER         PA          90014241725
36811994A51382   ROGER             BREWER              OH          90009499940
3681212A955972   RIVAS             RENE                CA          48038301209
3681261417B449   BRYNETTE          PARKS               NC          11064136141
368145A5441258   DARON             KENNEY              PA          51002855054
3681477265B52B   MARIA GUADALUPE   ORNELAS             NM          90014887726
368149A8855951   JACKIE            OLIVAREZ            CA          90011479088
36815512791B82   MAURICE           CRAFT               NC          90015155127
3681593712B871   AMY               ROBINSON            ID          90012139371
36816776A41258   DANIEL            DONAHUE             PA          90011217760
36816A14661963   AMEER             SHAMMO              CA          90014860146
36816AA2598B61   LISA              STRICKLAND          NC          90010570025
3681732A572B76   RENE              TERRAZAS            CO          33038263205
3681B22832B93B   YURIPSE           CUEVAS              CA          90008092283
3681B59A991891   DESHUN            SUTTON              OK          21070265909
3681B8A757B492   EMILY             MOSS                NC          90009758075
3682151A55B52B   ANTONIO           MARTINEZ            NM          90014155105
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3682175127B639   CHARNISE     ELIAS                    GA          90013377512
36822155A5B52B   ROBERT       RAMIREZ                  NM          90012571550
3682261692B835   SHANNON      NARTE                    ID          90006876169
3682267827B328   HECTOR       ESCOBAR                  VA          81069516782
36822A62A55972   JOSE         SALTOS                   CA          90010040620
3682337817B449   TECORA       WILSON                   NC          11025133781
368257A6391584   MARIO        GONZALES                 TX          90011827063
36825A2394B281   FRIEDA       ROGERS                   NE          90003690239
36826273A5B156   LILLIE       TUCKER                   AR          23031052730
3682652534B281   SARAH        SEWELL                   NE          27091375253
3682696895B52B   JOSE         CONTRERAS                NM          35086329689
36826A2A96B241   GEORGE       WICK                     AZ          90013170209
3682757662B87B   MAIA         BARRAGAN                 ID          90008085766
3682782922B871   JENESSA      SHOECRAFT                ID          90010788292
36829863576B89   ARLIN        VERDUZCO                 CA          46092098635
3682B19A92B93B   RANDI        FISHER                   CA          90000801909
3682B81A57B639   UNKNOWN      CALLER                   GA          90011518105
3682B9AA355921   BETTY        ARCHULETA                CA          49058349003
3683132864124B   MNIQUE       STAPEL                   PA          90013293286
3683324445B393   JAZMINE      PEREZ                    OR          90013632444
368333A6A2B87B   RUBEN        MARQUEZ                  ID          42071933060
36833A3237B639   KENNETH      WORD                     GA          15087410323
36834215A61963   ANA          SANTOS                   CA          90008092150
3683434A455951   THOMAS       GRADY                    CA          90003273404
3683494424124B   PARRISH      CAMPBELL                 PA          90014299442
3683538892B93B   VANESSA      CEJA                     CA          90014973889
36835A45661963   MARIA        CRUZ                     CA          46076550456
36837A75984326   DELL MARIA   VILLEMAIRE               SC          90013670759
36838211A7B492   RUBY         STYLES                   NC          11015992110
36838674A4B554   SANDRA       ELIX                     OK          90010886740
368389AA34124B   DANIELLE     CZAJKOWSKI               PA          90013219003
36839153A61963   JOE          BARRAZA                  CA          90012471530
3683974457B639   TIFFANY      THOMAS                   GA          15028337445
3683974997B492   BELINDA      KINGSTON                 NC          90013497499
36839767A76B89   ARTHUR       LUJAN                    CA          90014837670
3683B153261963   CELESTINO    HERNANDEZ                CA          90014891532
3683B61322B93B   KATHY        CRAWFORD                 CA          90010576132
3683B831A51339   JON          ROUTZAN                  OH          90009808310
3684191AA4B524   BRIANDA      CHAVEZ                   OK          90005909100
36841A44441285   SCOTT        STEVENS                  PA          90014810444
36841A7266194B   OMAR         ABUDEH                   CA          90011940726
3684214A355951   ANNETTE      FERNANDEZ                CA          49088751403
368424A9391584   ANA          HERNADEZ                 TX          90014774093
36842A96451339   DONNA        BELTZ                    OH          90004210964
368433A4541258   ALAN         HASKINS                  PA          90014243045
368436A9572426   STEPHEN      CHUPINKA                 PA          51083996095
36843898476B89   BENJAMIN     MONTEZ CRUZ              CA          90014658984
3684418262B871   ESMERALDO    VIVERO                   ID          90013781826
3684442442B871   MARIA        SALAZAR                  ID          90010954244
3684454674124B   TAALOR       MACKENZIE EVANS          PA          90011295467
3684477552B87B   YVONNE       ZAVALA                   ID          90014687755
36845461A5B52B   EDUARDO      ALEMAN                   NM          90012154610
3684555592B871   JENIFER      SANFORD                  ID          42092915559
36846656A51339   BRANDY       WAHL                     OH          90013096560
368468A682B871   BRITTNIE     COONROD                  ID          90013538068
3684745295B393   ROBERT       ARELLANO                 OR          90014694529
3684931252B871   SHAWNA       LYNNE                    ID          90000653125
3684951142B87B   JOEL         ROSALES                  ID          42003985114
3684999875B52B   FRANKIE      MARTINEZ                 NM          90012469987
3684B211651392   BEVERLY      ROWE                     OH          90002152116
3684B759A31424   DONNA        GEORGEVICH               MO          90004317590
3684B83518B16B   KILEY        SORENSEN                 UT          31089948351
3684BA4674124B   MARTIN       ALI                      PA          90014060467
3685165A88B16B   RAFAEL       RIOS                     UT          90004196508
368523A752B835   JUANITA      KASUMU                   ID          90013033075
36852472A91323   VIRGIL       CRUMPTON                 KS          90010344720
3685272697B639   ZAKIYYA      ROYAL                    GA          90010987269
3685296757B471   ANDREW       MCLENDON                 NC          90004169675
36852A45991891   BETH         LAWSON                   OK          90005530459
3685384417B449   BERTHA       GOMEZ                    NC          11082628441
3685417A561963   LILIANA      VALDEZ                   CA          90011711705
3685556584124B   ALYSSA       WELSH                    PA          90011295658
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3685566392B93B   JOSEPHEEN    KAWAR                    CA          90013966639
3685585575B52B   CARLOS       MAX                      NM          90013598557
368562AA24B281   GULOGIO      CARMONA                  NE          90015112002
36856A48671923   RACHEL       WILSON                   CO          90009680486
3685765222B87B   DONNA        KRAMER                   ID          42092736522
3685855352B871   CASSANDRA    SPARKS                   ID          90015305535
3685861852B871   JAMIE        MICHEAL                  ID          90013936185
3685914255B535   ARTURO       ZAMBRANO                 NM          90012121425
3685986617B639   CHRIS        ANDERSON                 GA          15031158661
3685989694B281   SHANNON      WEBER                    NE          27071218969
3685B416891584   JOVANNA      REY                      TX          90014774168
3685B95934B943   MICHAEL      REDD                     TX          90007089593
3686339A84B52B   SUMMER       HEARON                   OK          90011053908
3686377815B52B   KAITLYN      HOLT                     NM          90009047781
368644A2391584   RICARDO      AGUILAR                  TX          75061934023
3686547735B393   EDDIE        MILLER                   OR          44597714773
36865675776B89   SANTIAGO     JAIME                    CA          90011546757
3686642925B393   KEN          ATWATER                  OR          44547334292
36866659297B37   KIMBERLY     PONCE                    CO          39027896592
3686842A97B639   JACQUELINE   GRANT                    GA          15085104209
3686B328681628   DIANE        HAYES                    MO          90011253286
3686B3A937B639   QUEENETTA    RICHARDSON               GA          15048033093
3686B94817B492   TINA         PATTON                   NC          11065549481
3686BA26651339   KELLY        YOUNG                    OH          90010540266
36871176A8B16B   STEVEN       PEREA                    UT          90005431760
3687199AA5B52B   ZACHARIAH    GUTTERIEZ                NM          90010689900
3687235455B156   EDWARD       SANDERS JR               AR          23002493545
368723AA791831   STEPHANIE    L SHEPHERD               OK          90014473007
3687264478B16B   CARLOS       FONTANEL                 UT          90013716447
3687337482B835   LISA         THOMETZ                  ID          42076283748
3687356145B393   LAURA        MENDOZA T                OR          90007255614
36873A9A955972   ALICIA       DELGADO                  CA          90008940909
36874123A8B16B   JUDITH       RUBALCAVA                UT          90003081230
3687415172B241   NORMA        LAZO                     DC          81067631517
36874364A2B87B   CESAR        GUADARRAMA               ID          42083883640
36874585A7B449   TIFFANY      PLESS                    NC          90008285850
3687466637B471   NADIA        PONCE                    NC          11006886663
368756A898B16B   WOOLSEY      GRANT                    UT          90011426089
36876519A2B871   TIFFANY      BARREIRO                 ID          42059755190
36876572976B89   ROBERTO      LARA                     CA          90014355729
3687845447B639   TRENEYZA     KING                     AL          90014714544
36878A37191891   SCOTT        SWAN                     OK          90013550371
368792A182B835   J            MENDOZA                  ID          90010062018
36879A64231424   CODY         WISHOM                   MO          90014870642
3687B7A7A2B93B   ELISIA       MUZQUIZ                  CA          90013717070
3687B868491891   AMANDA       GRAY                     OK          90010988684
36881736176B89   MORGAN       COPELAND                 CA          90002967361
36881A37A51339   KIMBERLY     SILAS                    OH          90004230370
36881A63741258   MALORI       SATARIANO                PA          90004760637
3688259A44124B   KATIE        BYRNE                    PA          51074395904
3688284AA91584   RABEL        GUIJARRO                 TX          90011828400
368828A577B639   DORTHENIA    THOMAS                   GA          90011048057
3688291394B281   ALVARO       MOLINAR                  NE          90008449139
3688368664124B   MELINDA      GICONI                   PA          90014926866
3688489934124B   JENNIFER     MATLAS                   PA          90014778993
3688524887B492   JEANNA       PEOPLES                  NC          90014702488
36885337A7B639   MARTHA       DIXON                    GA          90011123370
3688622824B281   TRAVIS       BINGER                   NE          27096602282
368862A854124B   MICHEAL      WEIBLINGER               PA          90003622085
368865A4991831   DENISSE      BENGOCHEA                OK          21027945049
3688666342B871   ROSITA       GOMEZ                    ID          42087206634
36886A3137B495   JAMES        CARTER                   NC          90011590313
3688712897B492   JOZEPH       SHALASH                  NC          11043441289
36888212372B76   TESSA        WILLIAMS                 CO          33063162123
368883A555B393   ELAINE       PHARR                    OR          90014583055
368889A395B536   GABRIEL      SANDOVAL                 NM          90002439039
3688915745B161   KENNETH      COOK                     AR          90008501574
36889718A55972   SEAN         MCGILL                   NV          48097787180
3688B11347B639   KENESHA      GRIFFIN                  GA          90014561134
3688B314461963   FARLEY       RONNA                    CA          90003413144
3688B827391584   DESSERAY     GONZALEZ                 TX          90014778273
3689175554B281   ARETHA       FOYE                     NE          90005357555
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36892876A31639   MICHELLE    RICKLEFS                  KS          90013138760
3689295AA8B16B   MADELEINE   WESTBROOK                 UT          90002699500
36892A33141285   RENEE       ROPER                     PA          90001980331
36893A38161963   JOVANY      VARGAS                    CA          90014960381
3689419165B156   CHRISTINE   MARTIN                    AR          90002511916
36894A61331424   ELLSWORTH   BROWN                     MO          90011460613
3689556684B559   JOSE        REYES                     OK          90010575668
36895623341B49   HENRY       CABRERA                   VA          81069366233
3689596372B87B   KASAUNDRA   LAKIC                     ID          42076429637
3689623A14B55B   ANGELINA    GOMEZ                     OK          90001282301
368968A8A61927   LOURDES     MENDOZA                   CA          90013458080
36898A38161963   JOVANY      VARGAS                    CA          90014960381
36898A7917B334   ESALE       UMANYUNDU                 VA          81014620791
3689936237B639   KEFRIN      FEARSON                   GA          90009743623
368996A364B563   MARIA       CAMACHO                   OK          90010286036
3689B236136143   IRIS        ZUNIGA                    TX          90008182361
3689B51385B52B   JUDITH      ARZOLA                    NM          35080845138
368B126449125B   MONICK      SMITH                     GA          90007642644
368B1265A7B639   KASHY       PATEL                     GA          90012572650
368B183994124B   LORI        RUPINSKI                  PA          51034868399
368B215125B52B   ALEX        CASTILLO                  NM          90009911512
368B2533555972   JOSE        MURILLO                   CA          90014515335
368B315387B639   MONICA      CULPEPPER                 GA          90010381538
368B349512B87B   ROBBIN      HANKINS                   ID          42068264951
368B35A8455972   YOLANDA     STOCKTON                  CA          48036995084
368B3675991584   LAURA       GONZALES                  TX          90011826759
368B397A12B93B   SYLVIA      ALEJO                     CA          90006139701
368B3A79631424   MARY        IRVING                    MO          90011840796
368B4221955972   KEVIN       FOSTER                    CA          90009412219
368B4676491831   JULIAN      BECKWITH                  OK          90014466764
368B478232B93B   JAMAIL      ABUZIADA                  CA          90014187823
368B4AA738B16B   AMANDA      WHEELWRITGHT              UT          31000890073
368B5369476B89   OSCAR       PEREZ                     CA          46022773694
368B5A46761963   BRANDON     RYF                       CA          90011700467
368B6412876B89   SANDRA      CHOLULA                   CA          90014814128
368B6445191891   COLLIN      SWANAGAN                  OK          90013234451
368B695197B639   AISHA       MOSES                     GA          15059369519
368B7422155972   HELEN       MARTINEZ                  CA          48086874221
368B787A54B544   BROOKE      GRIFFITH                  OK          90010858705
368B7A5574B281   BLAKE       WEBSTER                   NE          27054010557
368B811967B277   LUIS        ACOSTA                    CO          40552421196
368B9366A41258   GINA        OVESNEY                   PA          51051003660
368B9723491891   DEBRA       RICHERSON                 OK          90013487234
368BB453631424   GLYNIS      COLLINS                   MO          90009134536
368BB47255B52B   LIDIA       ROMERO                    NM          90009854725
368BB565541258   ALICIA      DEFRANCES                 PA          90004845655
368BB76A355972   JESUS       TURNER                    CA          90014467603
3691137484B281   MARLA       MERGER                    NE          27085753748
3691217937B639   MECHELLE    JOHNSON                   GA          90014551793
3691219452B835   JUSTINA     SANTERO                   ID          90012611945
3691395912B871   GARY        HAMBY                     ID          42075019591
3691447334B281   JENNIFER    POPE                      NE          27071194733
369149A9A7B32B   IRMA        CABRERA HERNANDEZ         VA          90002909090
3691534A65B393   BEVERLY     DANIEL                    OR          90005363406
3691651655B557   ALBERT      MADRID                    NM          90002205165
3691687557B639   GERENY      FORD                      GA          90014418755
3691799A155962   KODY        MARTIN                    CA          90001539901
3691832A38B16B   DALYCE      LAFLEUR                   UT          31000973203
369187A764124B   MITCHELL    BELEY                     PA          51010907076
3691886A59125B   JAMAL       WALKER                    GA          14518038605
3691926474B943   BRADLEY     DUMMITT                   TX          90005942647
3691B123351382   KIMBERLY    KAZEE                     OH          90009501233
3691B191451339   KATHERINE   PATRICK                   OH          66066571914
3691B49598B16B   KYLE        WATSON                    UT          31028044959
3691B878972B4B   OSCAR       RUBIO                     CO          33091908789
3692111867B449   REGINALD    KNOX                      NC          11036911186
369226A5531424   LISA        STAPLETON                 MO          90011076055
3692283247B639   BENJAMIN    BARROW                    GA          90011238324
3692463A525621   SUSIE       CARROLL                   AL          90015176305
3692481988B195   HEIDI       DAY                       UT          31086928198
36924A55891831   MONA        MINTON                    OK          90014450558
3692526825B52B   SUZETTE     HULSE                     NM          35043762682
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3692555A36B241   DAMARI         OROZCO-RUIZ            CO          90012155503
36925584472B76   DONNA          RUBIL                  CO          33002705844
36925759A61557   LEONARD        ADAMS                  TN          90010307590
3692672964124B   KAYLIA         SMITH                  PA          51013097296
36926A5917B471   ANDREA         NUNEZ                  NC          90001620591
36927A2462B835   SARAH          GARZA                  ID          90000690246
369284A6831424   LYNN           GRAYBILL               MO          90011904068
3692881197B471   RICHARD        TAYLOR III             NC          11082508119
36929261A91584   LETICIA        NAPOLES                TX          90014212610
3692944945B52B   MYRNA          FERNANDEZ              NM          90008954494
3692B583555972   LILIANA        BANUELOS               CA          90013965835
3692B83164B531   AMY            BRADSHAW               OK          90008978316
3692B887176B89   JUSTIN         ANTONIO                CA          90013038871
3693112A18B16B   SIERRA         DALTON                 UT          90014331201
36931142A3B169   JULIA          EDWARDS                MD          90010541420
36931556A7B449   RAVEN          JANT                   NC          11024705560
3693194182B93B   SHELLY         ANDRE                  CA          45098019418
369321AA261963   MILO           SOLANO                 CA          90007291002
36932891A5B52B   THEODORE       SEDDON                 NM          90012228910
36932AAA12B835   LINDA          SPRINGER               ID          90000840001
3693422797B639   MARGARITE      LAMB                   GA          90001412279
3693564393B38B   NICOLE         FARROW                 CO          90009926439
369357A997B471   ANTONIO        ROLLINS                NC          11049587099
36935A5587B639   CINDY          GILYARD                GA          90012060558
36936A84991584   JERRY          MENOZA                 TX          90010920849
3693748A361963   DANIEL         OCONNER                CA          90011724803
3693885A731424   TAMMY          BAKER                  MO          27581758507
3693937967B492   ASHLEY         FLOYD                  NC          11080993796
3694153594B281   LORI           WOOSLEY                NE          27058235359
369415A3A91584   FERNANDO       LOPEZ                  TX          90014775030
36941767A76B89   ARTHUR         LUJAN                  CA          90014837670
3694183AA7B492   KAYLA NICOLE   SMITH                  NC          90007638300
36941A29341285   TRACY          KOPP                   PA          51001680293
3694227A431424   BRITTNEY       MOORE                  MO          90014872704
3694313367B492   STEVE          RAYMON                 NC          11073501336
36943A2282B871   JEFFREY        MCCALLUM               ID          90013160228
36943A24341285   ADRIENNE       FLORA                  PA          90003590243
369446A935B393   ZAHID          ORTEGA                 OR          44579386093
36944A89751339   SHELBY         MURPHY                 OH          66011080897
3694533A22B835   CRISTIAN       CONTRERAS              ID          90013433302
3694543267B492   STACY          ROBINSON               NC          90014724326
3694547742B93B   JENNIFER       DWITT                  CA          45049394774
36946117676B89   MINA           SANDOVAL               CA          90015181176
3694617688B16B   AMANDA         AUSTIN                 UT          90015301768
36947754A31424   BRANDY         MCCADNEY               MO          90010027540
3694817A32B87B   JEFF           HOARD                  ID          42034041703
3694846264B281   TIA            BECKER                 NE          90007904626
3694881718B16B   MATTHEW        EDDINGTON              UT          31023188171
36949584676B89   MALLORY        STEVENS                CA          90010355846
3694966882B93B   KARLA          VALENCIA               CA          90012226688
3695126A68B16B   NANCY          BANDA                  UT          90012902606
3695134275B393   CARLOS         RODRIGUEZ              OR          44594243427
3695178735B181   YALANDA        COTLAGE                AR          90010517873
36951A99331424   DORIS          MILES                  MO          90004640993
36952A81655972   PRISCILLA      BROOKS                 CA          90003580816
36952A93631424   JEREMY         WATKINS                MO          90006680936
369541A2631424   KEITH          LAWRENCE               MO          90001441026
3695427497B492   ASHLEY         DALTON                 NC          90009762749
3695564138B16B   TINA           MCCLAIN                UT          90015106413
3695669AA51339   MELISSA        JANDLE                 OH          90014046900
36956979A41258   NETTE          SOWELL                 PA          90008799790
3695752248B191   LINSEY         SARGENT                UT          90009945224
3695764248B16B   DEBORAH        TERKELSON              UT          31079736424
3695799514B281   PABLO          HERNANDEZ              NE          27002749951
36958A22785939   CANDACE        KEEN                   KY          90014190227
36959535A5B386   PETER          PERALTA                OR          90005795350
3695954A241258   JAMES          COACH                  PA          51090035402
3695B898191584   ALFREDO        CERECERES              TX          75017918981
36961254A51339   PAT            MEYER                  OH          90006792540
369618A942B871   LANA           STEPHENS               ID          42015058094
36962163276B89   SALGADO        HUMBERTO               CA          90001771632
36964248376B89   MIGUEL         RAMIREZ                CA          90014672483
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3696463A691891   CINNAMON         HUGHES               OK          90005736306
3696474A67B639   DEANDRA          HEYWARD              GA          90013807406
3696531337B449   FRED             PATTERSON            NC          90014493133
3696563A555951   JOANNA           GONZALEZ             CA          49080566305
3696568877B449   FRED             PATTERSON            NC          90002636887
36965A88A2B871   TODD             WESTON               ID          90003540880
369661A3991584   RAUL             LOPEZ                TX          75091231039
3696657A42B871   ANTHONY          BALDWIN              ID          90014645704
3696757A42B871   ANTHONY          BALDWIN              ID          90014645704
369678A8A31424   DIANA            MALONE               MO          90013628080
3696874432B835   DANIEL           DISMUKE              ID          90012947443
36968AA4991891   EMILY            FRIX                 OK          90014160049
3696926648B16B   SHAY             CHAVEZE              UT          90011522664
3696941712B93B   ELSIE            SARGENT              CA          90014524171
3696975275B52B   GRETCHEN         SCHMIDT              NM          35035317527
3696987382B835   JACOB            MARSHALL             ID          90007808738
3696B139555972   JAVIER           CHAVEZ               CA          90014831395
3697152962B87B   JESSIE           MONAHAN              ID          90014835296
36972312572B76   OSCAR            FIERRO               CO          33063173125
36972485676B89   SANDRA           GONZALEZ GUZMAN      CA          90010984856
3697267374B943   CHRISTOPHER      WIKIFFE              TX          90007296737
36972A4A555951   EUGENE           WOODS                CA          49016300405
3697412384B576   SHAYNA           PALMER               OK          90010851238
3697435A98B16B   TONI             SALONIS              UT          90002373509
3697483352B93B   NANCY            SENA                 CA          90012398335
3697483784B281   PETER            YIECH                NE          90009158378
36974AA612B93B   DULCE            MARIA                CA          90010460061
36975514576B89   JESSICA NICOLE   ARENAS               CA          90003815145
36975A77A5B393   KAILASH          GAJMER               OR          90010000770
3697628927B492   FIDEL            LOPEZ                NC          90011172892
3697641659374B   SENNIE           KEYSER               OH          90009484165
3697677A481672   CARLA            CRUZ                 MO          90012457704
36976AA9461963   ELSA             MARTIN               CA          90000450094
369772A5A24B54   RIGO             ESCOBAR PEREZ        VA          90011382050
3697855312B835   TEDDY            BOSTICK              ID          90009725531
369789A355B264   CRAIG            GREENWELL            KY          90006149035
36979A36391584   PEDRO            CARILLO              TX          90011830363
3697B19147B639   TIFFANI          WHITE                GA          90010991914
3697B28692B87B   PRASERT          KLINGKLA             ID          90009332869
3697B294391584   DORA             ROBLES               TX          90005392943
3697B587355972   BIANCA           SANCHEZ              CA          90006065873
3697B746455951   ALEJANDRO        ESTRADA              CA          90014717464
3697B75A376B89   ISRAEL CRUZ      MARTINEZ             CA          90004387503
3697B8A9855951   ALEJANDRO        ESTRADA              CA          90012498098
3697B926A4124B   URSULA           WRIGHT               PA          51076279260
3698147267B471   VILMA            MUNGUIA              NC          90006814726
3698183752B871   BRIANNA          TRIMBLE              ID          90015118375
36982A54555972   SILVIA           SANCHEZ              CA          90013560545
3698314A22B93B   JOSE             AVALOS               CA          90014891402
3698448834124B   CHARLSE          COPPINGER            PA          90011364883
36984A3457B639   COURTNEY         HARRIS               GA          90011610345
36984A87A61986   ALBERTO          BARRAZA              CA          90012170870
3698517A62B871   CHANDRA          ADHIKARI             ID          90007471706
3698561772B871   JASMINE          LOMAX                ID          90014646177
36985A41685996   ARTHUR           HAYDEN               KY          67058660416
3698651652B87B   ROSA             BERNABE              ID          90013485165
3698779622B835   EDU              LOZANO               ID          90012807962
36988473576B89   TELESNIKOV       JULIAN               CA          90001504735
3698874A491891   DEBRA            KOVAR                OK          90015127404
36989997876B89   YADIRA           ESTRADA              CA          90011629978
36989AA2A5B393   CARLOS           BURGOS               OR          90012260020
3698B177A2B93B   JERONIMO         DELGADO              CA          90012971770
3698B41312B87B   AUDRIANA         DURAN                ID          42002214131
3698B528991543   ROQUE            DAVILA               TX          90009805289
3698B679655951   FRANSISCO        VELAZQUEZ            CA          49091496796
3698B985851339   ROBIN            THAXTON              OH          90012389858
3699136192B87B   MIKE             VILLARREAL           ID          42001943619
3699252775B393   JUSTIN           KUNTZ                OR          90014915277
36993187A91831   GREG             ALLEN                OK          90015081870
369933A297B639   KISHANA          FISHER               GA          90010993029
36993593A91891   GUILLERMINA      PRADO-BARBOSA        OK          90013885930
3699371A891584   HECTOR           HERRERA              TX          90000187108
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36994137776B89   VICTORIA      HUNT                    CA          90014901377
36994661A31424   CARLA         IANKE                   MO          90011076610
369948AA22B87B   JAMES         COLLINS                 ID          42077458002
3699512445B156   LAWONDA       TURNER                  AR          23077961244
3699538662B871   SANDRA        WHITE                   ID          42054773866
36995849A55972   JOSEPH        HERNANDEZ               CA          90012988490
3699611577B639   LEVON         NOID                    GA          15094091157
3699622A12B87B   KAYLEIGH      RAMOS                   ID          90009172201
36996539972B76   MARYEN        CABANAS                 CO          90004535399
369967A185B393   BETTY         ANDERSON                OR          90012287018
3699786812B559   LAMETRIA      HENDERSON               AL          90014658681
3699922497B449   EDITH         BOYD                    NC          90004942249
36999575A5B393   KENNETH       WALBERG                 OR          44513775750
3699B345131424   KEISHA        HAZE                    MO          90008723451
3699B44595B393   RANDY         BENJAMIN                OR          90012754459
3699B94354124B   MELISA        PERKINS                 PA          90008169435
369B124A87B639   RONY          PEREZ CIFUENTES         GA          15085702408
369B1444691831   IVAN          EASILEY                 OK          90004924446
369B164972B87B   LYNDA         COLLINS                 ID          90013976497
369B219192B835   ALEJANDRO     JIMENEZ                 ID          42017971919
369B2316541285   HEATHER       MILLER                  PA          51045993165
369B2468A91584   LETICIA       VARELA                  TX          90014774680
369B286834124B   CHRISTINE     MARINO                  PA          51065518683
369B299732B87B   LAVAUN        JAUREGUI                ID          42091969973
369B3A6135B131   WILLIE        GILMORE                 AR          90011070613
369B45A197B639   JHOAN         ANTONIO SANTIAGO        GA          90001475019
369B464364124B   REGINA        SMITH                   PA          51061086436
369B4994276B8B   KASEY         CRITZ                   CA          90009349942
369B5722791891   SHANE         THOMPSON                OK          90015127227
369B5874191584   MICAH Q       ALLEN                   TX          90011828741
369B6288991891   ROBIN         LARSEN                  OK          90005412889
369B749217B639   TOMAS         VALDEZ                  GA          90014254921
369B7658A7B639   BERNICE       GARY                    GA          90014226580
369B8388A61963   ERICA         OLEA                    CA          90014383880
369B8634851382   DALE          THOMAS                  OH          66064316348
369B872155B52B   MARIA         AVALOS                  NM          35040617215
369B876A42B87B   MARK          MCCOY                   ID          90006847604
369B918427B639   MELISSA       MICKENS                 GA          90013241842
369B948A48B16B   DAVID         GOODA                   UT          31081214804
369B9697151382   RENEE         CHRISTON                OH          66010156971
369B9A19791544   ELI           TOTO                    TX          75098620197
369B9A7A361963   ALBERTO       ROMERO                  CA          90012400703
369BB79782B847   KAREN         GARRUTO                 ID          90014057978
36B1123642B835   KEITH         BESHEARS                ID          90006802364
36B11825991831   MICHAEL       BYRNE                   OK          21085378259
36B1291362B871   RHONDA        BECK                    ID          90006789136
36B12947661963   FIRAS         ADAM                    CA          90000919476
36B13347A7B639   JILLIAN       PRICE                   GA          90013703470
36B13426A51339   PHILL         NORMAN                  OH          66034504260
36B135A3361963   LAURA         ALVARADO                CA          46059455033
36B13A1647B492   JOSE ISREAL   JIMENEZ                 NC          90009300164
36B1431A32B835   PARSHU        ADHIKANI                ID          42007443103
36B1524A341285   DAVID         JEFFERIES               PA          90012642403
36B15581591831   SANDRA        RATLIFF                 OK          21095745815
36B15711641258   EUGENA        ALEXANDER               PA          90011207116
36B16157876B89   CHARLES       YARBROUGH               CA          90012171578
36B1665162B87B   JAREIDI       LOPEZ                   ID          90010596516
36B16A9312B871   JESUS         PEREYRA                 ID          42084830931
36B1726985B156   ANGELA        CAULDWELL               AR          23088652698
36B17451491891   DESTINY       POTTER                  OK          90013914514
36B17539791831   JONATHAN      BRISTOW                 OK          90014365397
36B17776941285   AMONDAI       ALEXANDER               PA          90006227769
36B17798951382   TIFFANY       WHITMIRE                OH          90014537989
36B17A65351339   RUSSELL       MABRY                   OH          90013000653
36B185A9941258   VINCENT       BROOKS                  PA          90007795099
36B1866A961963   LENORA        FLOWERS                 CA          90012116609
36B1873677B449   NTEE          STEERE                  NC          11068457367
36B19127831424   SHATINA       LONGMEYER               MO          90014741278
36B19213576B89   RYAN          THOMAS                  CA          90013292135
36B19723761963   MIGUEL        CERVANTES               CA          90015217237
36B1B368676B89   NICOLE        OTTONALLBEE             CA          90013873686
36B1B48567B384   JEFFREY       TRUAX                   VA          90013324856
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36B1B796851339   KAREN       COLDIRON                  OH          90013107968
36B1B97532B87B   CHASE       MC CUBBINS                ID          90015119753
36B1B99217B384   JEFFREY     TRUAX                     VA          90012289921
36B2126972B835   JOEL        VERDUZCO                  ID          42084752697
36B21396693762   INC         FRE FLO DISTRIBUTION      OH          64573993966
36B2149695B135   PATTY       BRADFORD                  AR          90012134969
36B2174137B471   LOUISE      BARRINO                   NC          90010947413
36B21937A4B547   ALTA        LITTLECALF                OK          90014079370
36B22118831424   KELTON      BRYANT                    MO          90014761188
36B23A1A991584   EDUARDO     HERNANDEZ                 TX          75095870109
36B2455917B639   ELLIS       HOLLINHEAD                GA          90015075591
36B24655455972   CARLOS      HERNENDEZ                 CA          48067116554
36B24846351339   JOSH        DEATON                    OH          90013988463
36B25332A41285   SUSAN       BOULIERS                  PA          90010233320
36B25494A2B835   MELISSA     CASEY                     ID          90001764940
36B25622191584   JOHN        COWGILL                   TX          75042776221
36B2575567B492   ROMAN       RAMIREZ                   NC          90013787556
36B2664592B87B   MINDY       MCGREW                    ID          42011286459
36B2736915B393   TIFFANY     WOODARD                   OR          44520803691
36B27974655972   AARON       RAY                       CA          90012979746
36B28242984368   MAGDALENA   DELLE VALLE               SC          90002122429
36B28499461963   RUBEN       MARTINEZ                  CA          90013034994
36B28716A2B835   CAROL       ARNOLD                    ID          90011307160
36B29352776B89   CRUZ        FERNANDEZ                 CA          46086143527
36B29426351382   ANTHONY     HARRIS                    OH          90014994263
36B295A582B93B   DONA        SHEAR                     CA          45013935058
36B296A6791891   LADONNA     PICKUP                    OK          90014636067
36B29775333625   JAMIL       MORAVIAN                  NC          12090907753
36B29826751339   MICHAEL     DORN                      OH          90014928267
36B2B4A8351382   ANDREW      GRAY                      OH          90014994083
36B2B816191891   AMANDA      KIMBRELL                  OK          90011938161
36B2BA6252B93B   BRANDY      BRYANT                    CA          90013190625
36B31266272B76   JOSE        ALVARADO                  CO          90009422662
36B3133792B93B   LASHANTI    MOLLETT                   CA          90012083379
36B3136137B639   KARISMA     SMITH                     GA          90011213613
36B31548991584   FREDERICK   VOGLEWEDE                 TX          90014745489
36B32335A4B929   MISAEL      FLORES                    TX          90010873350
36B32448572B76   PAIGE       BRIANZA                   CO          90005954485
36B32725251347   JENNIFER    SAPP                      OH          66077947252
36B32884691831   ANGELES     LAZARIN                   OK          90011698846
36B33156576B89   ROQUE       GALAN                     CA          90012191565
36B3334A231493   NED         HORRELL                   MO          90014093402
36B34158151339   KELLY       GROSS                     OH          66034541581
36B3437A531424   MARSHELLE   WOODLAND                  MO          27531403705
36B3442848B16B   FELICIA     NOVOA                     UT          90010814284
36B3529618B16B   FRANCISCO   AVALOS                    UT          90009082961
36B3537628B16B   PHILLIP     DYKEMAN                   UT          90011293762
36B35464761963   LUCIA       HERNANDEZ                 CA          90013604647
36B355A827B639   ROBYNN      FIELDS                    GA          15041365082
36B36256441285   KEYONA      BROCTOR                   PA          90012642564
36B3626187B384   COELHO      JOAO                      VA          90011982618
36B3626552B87B   DERRICK     DOTY                      ID          90010252655
36B36442876B89   CLEMENTE    MENDOZA                   CA          90003984428
36B3652A951339   HEATHER     SMITH                     OH          90006305209
36B3666A52B871   TITO        REYES                     ID          90011316605
36B3679A955972   JESUS       ALBERTO                   CA          90011317909
36B36938455972   MARK        SANCHEZ                   CA          90003189384
36B36A8642B87B   DERRICK     DOTY                      ID          42045690864
36B36A9977B492   JOSE        HERNANDEZ                 NC          90015580997
36B3734994B261   DINAH       TONG                      NE          90004293499
36B39351961963   FREDERICK   YOUNG                     CA          90013023519
36B3951355B52B   HOLGA       CARRILLO                  NM          90013915135
36B39723391584   GILBETO     MONASTERIO                TX          90014897233
36B39744291831   ACE         WEST                      OK          90013067442
36B3988767B639   TURQUOISE   LILLY                     GA          15081008876
36B3B747A51321   TIMEKA      YOUNG                     OH          90001757470
36B41217131424   CHELSEA     MCDERMOTT                 MO          90014742171
36B4122A841285   LINDA       ELLIS                     PA          51039092208
36B41441651382   ERICA       DUMAS                     OH          90014994416
36B41831551339   JOSE        GASPAR                    OH          90010688315
36B42122A51339   TIARA       SHACKELFORD               OH          90001121220
36B4256478B16B   SHAWNTAYE   ELAM                      UT          90015285647
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1763 of 2500


36B42A54391584   SANDRA      GARCIA                    TX          75073440543
36B4311667B639   RETA        MURPHY                    GA          90014091166
36B43482741258   TANYA       MILLS                     PA          90014284827
36B435A5555951   ROSARIO     GALLEGOS                  CA          90003245055
36B4414512B835   CLAUDIA     SAENZ                     ID          90012121451
36B44327991891   KATHY       ONEAL                     OK          90010883279
36B4449914B281   BRYANNA     ALLEN                     NE          90006564991
36B4455497B449   TERESA      WATKINS                   NC          11050415549
36B4546A376B89   LEONOR      POZOS                     CA          46004544603
36B4648655B52B   MARYLU      ROYBAL                    NM          35043364865
36B4659AA51339   BRITTANI    CUMMINGS                  OH          90014585900
36B46713191587   MARTHA      SANCHEZ                   TX          90004567131
36B467A9161963   LOGOVAE     MAPUSUA                   CA          90012727091
36B46833691561   ALBERTO     PENA                      TX          75035738336
36B47184661963   ALONDRA     VILLANUEVA                CA          90011581846
36B47277676B89   VICKY       CANSECO                   CA          46086582776
36B4766798B16B   ANGELA      ANDERSON                  UT          90012566679
36B48243851382   CYNTHIA     GILL                      OH          90011692438
36B4824824B281   REINA       GIRON                     NE          27035612482
36B48456A91584   ARMANDO     MEZA                      TX          90001004560
36B48751A2B87B   TONY        HAN                       ID          42034367510
36B49349391587   SAMUEL      HERNANDEZ                 TX          75073383493
36B4985127B639   TONY        PALMER                    GA          15081388512
36B4B24414124B   FRANCES     KINNER                    PA          51087862441
36B4B8A5936B95   ALFREDO     MARTINEZ GUERERRO         OR          90005978059
36B51489455972   ROSIE       ALVAREZ                   CA          48088204894
36B5151187B471   AMANDA      CROWELL                   NC          11089675118
36B51597461963   ALEX        MONTES                    CA          90012025974
36B517A4763625   BRANDON     BIRLEW                    MO          90002287047
36B51974955951   HERIBERTO   GARCIA                    CA          90005399749
36B5212515594B   KARLA       KESTING                   CA          90012691251
36B5256145B545   CECILIA     CARLDERWOOD               NM          35077265614
36B52932836143   JESSICA     MARES                     TX          73518319328
36B53556172B76   JEREMY      GREEN                     CO          33063215561
36B5375958B16B   DAVID       SAWYER                    UT          31030157595
36B53A8467B449   LESLIE      CHOATE                    NC          90011840846
36B5413A48157B   BEVERLY     ADAMS                      IL         90001621304
36B54344871963   SHAWN H     CRAWFORD                  CO          90007233448
36B54836761963   VIOLETA     COURTER                   CA          90006668367
36B55224A76B89   ROBERTO     LOPEZ                     CA          90013072240
36B55282A31424   KENNETH     BROWN                     MO          90014742820
36B5529AA51339   IMRAN       IQBAL                     OH          90008622900
36B55755561963   JOANN       PALADO                    CA          90015237555
36B561A9154122   GREGORY     L DEWAR                   OR          90006621091
36B56245555951   GUADALUPE   LOZA                      CA          90011332455
36B5626454124B   BRANDEN     KUCICH                    PA          51039652645
36B56693A36143   LORETTA     NAVARRO                   TX          73589786930
36B57467472B76   BRANDON     COLE                      CO          90005954674
36B58115851321   CHASSIDY    BONER                     OH          90009261158
36B5875112B871   DAISY       ALVAREZ                   ID          42025387511
36B59439851339   AMANDA      COPHER                    OH          66046974398
36B5979384124B   TOSISHA     AVERYTT                   PA          90014597938
36B5992487B639   SHERMAN     MORRISON                  GA          90013809248
36B5B17783B391   PENELOPE    PAMMANT                   CO          33000021778
36B5B287385927   CHARLES     CHAMPLIN                  KY          90013552873
36B5B598A55972   PATRICIA    CASTRO                    CA          48053235980
36B5B71412B871   CANDY       GENTRY                    ID          90011347141
36B613A8691537   JOSE        DE SANTIAGO               TX          90009083086
36B61823A2B835   KRISTINA    MARION                    ID          90013778230
36B6183672B93B   LUIS        QUIROZ                    CA          90012098367
36B61AA6991831   JAVIER      CRUZ                      OK          90011700069
36B62599476B89   ENRIQUE     REYES                     CA          90011165994
36B62749891584   JOEL        LOPEZ                     TX          90011807498
36B63365444398   DOLORES     BROWN                     MD          82008553654
36B63527255951   CRYSTAL     SIERRA                    CA          90010585272
36B64235791979   EVRIN       FLETCHER                  NC          11085462357
36B6426125B52B   BOBBIE      VANBERG                   NM          90005722612
36B6451AA55951   BIANCA      MARTINEZ                  CA          49016075100
36B6456292B87B   KORI        BATT                      ID          90002355629
36B6528412B93B   J           C                         CA          90008832841
36B6531537B471   SHERTANA    MILLEN                    NC          90006043153
36B65619691891   ANDREA      CRAWFORD                  OK          90003826196
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36B6577A391967   MARIA             CAMACHO             NC          90011597703
36B66329451339   JAMES             AKERS               OH          90014083294
36B6638477B492   DWIGHT            KIMBLE              NC          11055433847
36B66459561963   ALLAN             VASQUEZ             CA          90013024595
36B67344376B89   JOSE LUIS         ARRIETA             CA          46026993443
36B67472131424   SHONTAE           DOWLEN              MO          90008614721
36B67721655951   MICHAEL           RANGEL              CA          90011077216
36B6799A57B639   JOSUE             VALLEJO             GA          90006599905
36B6847212B93B   MARIA OR SANDRA   LOPEZ               CA          90014414721
36B68562561963   TERRY             HOLSTEIN            CA          90014765625
36B68571891584   QUNONEZ           OCTAVIO             TX          90004145718
36B6858A441285   LINDA             LUTTON              PA          90014505804
36B68783172B76   P                 ARCH                CO          33063217831
36B68995A73221   ALEJANDRINA       GONZALES            NJ          90014779950
36B69725355972   MARIA             SANCHEZ             CA          90010597253
36B6976A331424   TASKA             BOYD                MO          27547527603
36B69859A4B281   JESSICA           PAYNE               NE          90003498590
36B69A3592B871   DIANE             HANSEN              ID          90011310359
36B69A53191831   DAISY             ACOSTA NUNEZ        OK          90011700531
36B6B33562B871   SARA              JANE                ID          90014783356
36B6B339591891   CLAYTON           JOHNSON             OK          90011003395
36B6B51AA5B52B   CHANTAL           TORRES              NM          90012425100
36B7122972B835   CHRIS             WISHNEY             ID          90013902297
36B71331676B89   MARIA             RAMIREZ             CA          90014743316
36B7171947B639   RAYMOND           MATTEO              GA          90008847194
36B72472A2B93B   BRADFORD          SANTIAGO SR         CA          45093274720
36B7419A14B943   TRINA             JOHNSON             TX          76568551901
36B74342391584   JESSICA           FUENTES             TX          90014403423
36B74669581672   MARCO             PARADA              MO          90012676695
36B74772355972   YANIRA            VISCAWA             CA          90003737723
36B7488472B835   STONY             FLETCHER            ID          42071578847
36B7493922B87B   ANDREA            FRANCE              ID          90010949392
36B75147191537   FRANK             HISA                TX          90014321471
36B75533A55972   JOSE              RIOS                CA          90010995330
36B7571834124B   BORIS             TAFKOV              PA          51055747183
36B7617A131424   CORTEZ            CLARK               MO          90014761701
36B76224497B67   THERESA           WARD                CO          90012382244
36B7624A861962   MARCO             GUTIERREZ           CA          90011922408
36B7631144124B   MATT              KASTLE              PA          90012683114
36B7639875B393   DAVID             BARNS               OR          90010983987
36B7685487B639   TEMPIEST          WILLIAMS            GA          90014738548
36B76999A76B89   BRIANDA           PADILLA             CA          90002879990
36B776A532B87B   CLINT             FITCH               ID          42058226053
36B7792984B569   ANGELA            KING                OK          90012239298
36B77972551339   JUSTIN            CARTER              OH          90014379725
36B78488691891   FAWN              CLAUNTS             OK          90011534886
36B7874294124B   RICHARD           PHILLIPS            PA          90006517429
36B7885872B93B   MIGUEL            CERDA               CA          90013368587
36B7926A47B639   ALFREDO           STERLING            AL          90005112604
36B7937822B871   GENEVIEVE         GARTHNER            ID          42097343782
36B7959A551339   RENEE             TAGGART             OH          90014155905
36B7983395B393   MARIA             NAVARRO             OR          44512098339
36B79AA2861963   COLTON            HUTCHERSON          CA          46048250028
36B7B24197B639   LEYCHA            IGLESIAS            GA          90010782419
36B7B59884124B   ROBERT            FREEMAN             PA          90014545988
36B81886255972   JESSICA           KEARNEY             CA          90007528862
36B8229545B393   ANJEANETTE        BROWN               OR          90005162954
36B82411A61963   LANE              THOMPSON            CA          46007294110
36B8258AA51382   KATHLEEN          WHITE               OH          90006815800
36B82768941258   BRUCE             KRAUS               PA          51069567689
36B83281391584   GISSELLE          PAGAN               TX          90014772813
36B8347442B93B   LUIS              ALVAREZ             CA          90012734744
36B835A6A61963   ERICA             ERICKSON            CA          90010585060
36B8391A77B639   JESSICA           PERRY               GA          90014789107
36B8392915B393   MESHA             CAUSEY              OR          44545639291
36B8463744B592   PORFIRIO          CARRENO             OK          90006126374
36B849A2372B76   LENA              RAIBON              CO          33058219023
36B84A48A5B393   MICHAEL           WATSON              OR          90001020480
36B8584222B871   DANEL             BREWER              ID          90013968422
36B85993151339   DAVID             WINWARD             OH          90012089931
36B86282761963   BARBARA           HOLT                CA          90003292827
36B86A61951382   GERMAN            VELASQUEZ           OH          66077270619
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36B87271A51776   ELAZARAL    PADRON                    OH          90014052710
36B87411A2B87B   DAVID       OLSON                     ID          42057404110
36B8771364B943   ASHLEY      COLLINS                   TX          90004277136
36B87994451339   CHASSIDY    ROBINSON                  OH          90006699944
36B88158361963   ADRIENNE    MCFEDDEN                  CA          46047301583
36B8816578B16B   THAYNE      HANSEN                    UT          90007121657
36B88351931424   SARAH       DAVIS                     MO          90014743519
36B8859A951339   NICK        RUDDER                    OH          90015445909
36B8918257B471   CHRIS       HILL                      NC          90001991825
36B8B242336143   MELINDA     GARCIA                    TX          90000512423
36B8B35862B871   CASSIE      ROBERTS                   ID          42027833586
36B8B84677B639   BRANDY      KUYKENDALL                GA          90014308467
36B8B98695B393   CHRISTINE   CANNON                    OR          90015119869
36B9163A55B393   CANDICE     MARTINEZ                  OR          90015196305
36B91766993762   TIFFANY     RICHTER                   OH          90006897669
36B91782451382   DONNA       HOWARD                    OH          90003067824
36B91944493782   NICOLE      WHEATON                   OH          90006499444
36B91A34741258   DARON       ROBINSON                  PA          90014210347
36B92142941285   BARBARA     MOORE                     PA          90013251429
36B9243985B52B   NICHOLAS    MANCHA-MILLER             NM          90012074398
36B928A5493761   JAKELIA     JONES                     OH          90009438054
36B93181A76B89   RACHEL      ALBERTON                  CA          90004771810
36B93863255951   OLGA        CHAIDEZ                   CA          49037818632
36B9418A77B449   PORTIA      LUELCH                    NC          90011841807
36B94333A7B639   AARON       JONES                     GA          15006953330
36B95175491831   FELIPE      HERNANDEZ                 OK          21034721754
36B95424591584   MARTHA      GUERERRO DE GARCIA        TX          75058674245
36B9573465B156   LISA        MCGUIRE                   AR          23095487346
36B96827A5B52B   ANNA        GUTIERREZ                 NM          90012828270
36B96989854122   LUIS        TORRES                    OR          47088819898
36B96A2467B639   LOUISE      DIXON                     GA          90012030246
36B97469891831   STEVE       DOBSON                    OK          90015174698
36B97499655972   RICHARD     REYNOSO                   CA          90011954996
36B9788385B52B   TRACY       BLAND                     NM          35044988838
36B9788957B449   EDWARD      GLOBAL PROJECTS           NC          11010098895
36B98297951382   MANOLO      VENTURA                   OH          90015012979
36B9848992B93B   ETHEL       AUSTIN                    CA          90013184899
36B98567461963   ALEXANDER   MARROW                    CA          90013925674
36B99343451382   LETICIA     HAWKINS                   OH          90014263434
36B9954172B87B   DELIA       PIMENTEL                  ID          42078515417
36B9974477B492   JADA        MCKINNEY                  NC          11032767447
36B99917855951   MICHAEL     PARKER                    CA          49052169178
36B99988A41258   JAYMIE      LICKEL                    PA          90001619880
36B9B689691831   ANDRAE      MORRIS                    OK          90014366896
36B9B766993762   TIFFANY     RICHTER                   OH          90006897669
36B9B836A55972   ANA         GUERRA                    CA          90000358360
36B9BA58376B89   MIRIAM      RODRIGUEZ                 CA          90000290583
36BB129314B989   MONIQUE     GREGORY                   TX          76585632931
36BB1296855951   MADINE      WILLIAMS                  CA          90005842968
36BB137922B93B   MARINA      JUAREZ                    CA          45058043792
36BB158352B835   WILLIAM     WILLIAMS                  ID          90014225835
36BB1626551339   SONIA       MORALES-ALANIZ            OH          66016856265
36BB2173A91891   KARENA      RICHARDSON                OK          90001091730
36BB225785B393   GREGORY     DUPRE                     OR          90014202578
36BB239235B52B   DEBRA       SATARAIN                  NM          35086983923
36BB337137B639   JESSICA     BURTIN                    GA          90011313713
36BB35A6841258   WILLIAM     WAS                       PA          90014205068
36BB4316855972   MATT        GONZALEZ                  CA          90014923168
36BB442667B639   DONIS       MEDLEY                    GA          90012254266
36BB4641251382   KRISTY      EHRHARDT                  OH          90009296412
36BB4729A51339   WILLIAM     BOND                      OH          90014887290
36BB4886161963   ANGELA      FARMER                    CA          90002118861
36BB54A732B835   BRETT       RICE                      ID          90012954073
36BB5562561963   TERRY       HOLSTEIN                  CA          90014765625
36BB565917B639   SHANICE     PARKER                    GA          90015066591
36BB578262B835   WILLIAM     BRETT                     ID          90010147826
36BB5786851382   JOSUE       COLON                     OH          90014987868
36BB587165B52B   DENISE      ROMERO                    NM          35050078716
36BB5A31151339   EMMA        NEW                       OH          90012410311
36BB636724124B   JACLYN      LOUDERMILK                PA          90000633672
36BB6558291584   MARIA       MENESES                   TX          90014745582
36BB6A62261963   JUAN        BAEZA                     CA          90013920622
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36BB715242B87B   IVETTE      VIERNES                   ID          90004261524
36BB7257341285   RANDALL     PETERSON                  PA          90013542573
36BB7257991831   CHRISTY     DEMERY                    OK          21001072579
36BB743738B16B   RONALD      WOOLINGTON                UT          90015514373
36BB8A47372B76   MANSUR      LOOM                      CO          90006420473
36BB921715B24B   MICHAEL     RIORDAN                   KY          68014992171
36BB9296384368   JOHN        OUTING                    SC          14570652963
36BB9298236143   APRIL       CASTILLO                  TX          90005272982
36BBB44442B835   REBECCA     FARRO                     ID          90007284444
37111137A4B281   TIM         WILCOX                    NE          90009241370
3711137894B583   HILDA       BRIONES                   OK          90001663789
37111A6A92B87B   PENNEY      SUSAN                     ID          90013150609
371151AA271923   DESHAUNA    DRUMMOND                  CO          90014921002
3711556482B87B   ETHEL       MASSEY                    ID          42067255648
3711576837B639   TAAENA      JACKSON                   GA          15081777683
3711612294124B   GREG        MORAN                     PA          51029611229
3711734185B371   CHRIS       WIDENHOFER                OR          90002983418
3711775187B492   JAIME       SADLER                    NC          11029337518
37119A6A791893   ILSE        LOPEZ-GONZALEZ            OK          90015150607
3711B37894B583   HILDA       BRIONES                   OK          90001663789
3711B83315132B   JC          DALHOVER                  OH          90009068331
3711BA7235B393   TUL         BASNET                    OR          90012890723
3711BA74391831   SIERRA      HOWELL                    OK          90010990743
371211A652B835   MICHAEL     CROSSLEY                  ID          90014241065
3712122187737B   SHAVON      GIBSON                     IL         90015442218
3712132752B87B   BETH        MENCHACA                  ID          90010783275
3712139227B639   MICHAEL     VESPUCCI                  GA          90004263922
3712232355B393   MARIA       GRAYSON                   OR          90006253235
3712233757B639   DOMINIQUE   FLAGG                     GA          90014873375
3712234624B275   SUSAN       MYRES                     NE          90007043462
37122357A4124B   SHAWN       KICZAN                    PA          90009463570
37122A26A7B422   MINOR       TRISTAN                   NC          90012390260
3712389A191584   PERUSQUIA   ESMERALDA                 TX          90009228901
37123A91341285   CRYSTAL     MANKER                    PA          51025780913
3712443A35598B   OMAR        MARTINEZ                  CA          90008244303
3712452963B365   JOSE LUIS   ONOFREE                   CO          90005645296
3712697A82B871   CHRISTINA   ADAMS                     ID          90011009708
371269AA191584   LINA        MONTOYA                   TX          90007209001
3712766135B52B   GEORGE      GALLEGOS                  NM          90012286613
3712775215B156   KASEY       BURNAM                    AR          23082267521
37127A4427B639   MICHELLE    MCLESTER                  GA          90014750442
37129248A4B281   JORDAN      JONES                     NE          90010982480
3712944862B87B   CRYSTAL     GROVER                    ID          90004814486
3712B45582B87B   SHAWN       SENSIBAUGH                ID          90013984558
3712B46377B639   PENNY       WILSON                    GA          90008924637
3712B589A91543   RODRIGUEZ   TERESA                    TX          90003775890
3712B65A37B492   NICOLAS     VENTURA                   NC          90014086503
37132169A91831   TRISHA      RAMIREZ                   OK          90010991690
3713255537B492   TYALISHA    SHEPPARD                  NC          90000375553
3713328735B52B   TASHA       SOUZA                     NM          90010912873
3713365644B281   SAID        WARDHEERE                 NE          90015276564
3713482714B275   TERESA      GRAJEDA                   TX          27000378271
37135211A55972   ALICIA      GARCIA                    CA          48014052110
3713589595B52B   SETH        SANTOS                    NM          90014338959
37135A28531424   FONDA       WALTON                    MO          90014940285
3713736447B639   KEYONA      WELL                      GA          90014593644
3713786A141285   PATRICIA    BICKERTON                 PA          51090138601
371387A7431586   MARIA       SUNSHINE                  NY          90015587074
3713B3A175598B   MICHAEL     ALTAMIRANO                CA          90012653017
3713B8A4741285   JESSICA     CRAWSHAW                  PA          90010968047
3714181A42B835   TONI        VANCE                     ID          90014548104
3714193185B52B   ROBIN       LARGE                     NM          90008959318
3714237A141258   CHRISTINA   NOYES                     PA          90009103701
371423A223147B   STACY       STUBITS                   MO          90007813022
371424A278B16B   JOSE        MARTINEZ                  UT          90006134027
3714326A58B16B   RENATA      THURGOOD                  UT          90005122605
37144268A41258   AMIE        HUGHES                    PA          90012882680
3714439362B871   PAULINA     MARTINEZ                  ID          42012893936
3714457892B835   JESSE       MARTINEZ                  ID          42037675789
3714472A32B871   JUAN        LOPEZ                     ID          90015087203
37145315172B41   ETHAN       JONES                     CO          90014473151
37148A27191893   NATALIE     ALVARADO                  OK          90015140271
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37149A45497B31   MANUEL      GARCIA                    CO          90006310454
3714B23877B639   ANGELA      BREWER                    GA          90014152387
3714B33A47B492   FANT        MENDEZ                    NC          90006843304
3714B442391893   NYESHI      CHRISTEL                  OK          90013554423
3714B49A67B639   GERALD      BENSON                    GA          90001804906
3714B81862B835   THOMAS      FREINWALD                 ID          90014708186
3714BA36155972   LUIS        SANTIZO                   CA          90015090361
37151924572B76   ERICK       HERNANDEZ                 CO          33011599245
3715352A841285   JENNIFER    BATTEN                    PA          90004305208
37153A3155B52B   RUBEN       MAESTAS                   NM          90002860315
3715491644B281   JENNIFER    MASON                     NE          27002059164
3715574292B871   ATOSHA      NGOYI                     ID          90005517429
37156218257B79   JAKE        SCHAFFER                  PA          90014112182
3715663694B531   SHELA       RUNNER                    OK          90008276369
371579A882B871   AUBREY      ELLIOTT                   ID          90005079088
3715821437B639   ANGEL       GONZALEZ                  GA          90014392143
3715879462B871   ERICA       KOGER                     ID          42079887946
37158A5244B275   STEVEN      FISCUS                    NE          90003790524
3715935527B492   ADALBERTO   CAZARES                   NC          90011563552
3715951975B393   WHITNEY     RUSSEL                    OR          90008335197
3715984225598B   VERONICA    RUSSELL                   CA          90009748422
3716134564124B   MICHELLE    MARTINDALE                PA          51041923456
371632A4991232   DARLEEN     RUGER                     GA          14575632049
3716378A48B16B   DANIEL      BAGFORD                   UT          90007317804
3716411244B281   TREKO       MCINTOSH                  NE          27093501124
3716428112B871   VERITY      SELF                      ID          42020782811
3716443675598B   PAULA       LANDIN                    CA          90014854367
3716474617B492   CANDICE     EARLY                     NC          90014097461
371652A5641258   RON         STETTNER                  PA          90010992056
371661A644124B   APRIL       GAINES                    PA          51095781064
371662A8641258   JALEM       TURNER                    PA          51083652086
37167641A55972   GUSTAVO     MORALES                   CA          48092346410
3716768324B275   SHELBY      MILLER                    NE          27029276832
37167836A55933   ANA         GUERRA                    CA          90000358360
3716783764B281   RONI        ORTIZ                     NE          27024998376
37168A18191584   NORMA       TORRES                    TX          90014820181
37168A4A697B31   JOSE        PASILLAS                  CO          90008020406
3716911287B639   DANIELLE    WINDOVER                  GA          90011481128
371696A774B281   VICKI       BRESSMAN                  IA          27095176077
37169A18191584   NORMA       TORRES                    TX          90014820181
3716B369A2B871   ROSALBA     VILLA                     ID          42039133690
3717126762B87B   CORALEE     HELLICKSON                ID          90010582676
3717151652B835   CLAYTON     DUNN                      ID          90009705165
37171766A5B393   TAMI        SHANNON                   OR          90013467660
37171A95191584   ANTHONY     NAVARRO                   TX          90009160951
37174A22891584   JESUS       ALONSO                    TX          90014820228
37174A8425598B   LARRY       KELLEY                    CA          90013970842
37175A8535B393   SHAWNA      SWANSON                   OR          90012430853
37176148A91893   CHANTEL     DEAN                      OK          90010111480
3717655654B944   JUAN        MOTA MARTINEZ             NC          90009465565
3717683412B835   ALFONSO     NAVARRO                   ID          90007488341
37176AAAA36143   IDELLA      BARNES                    TX          90014780000
3717713A52B871   JOANNE      TURNER                    ID          42096641305
371772A6341285   JAMES       BAILEY JR                 PA          51041252063
37178339A91942   MILLY       CARMENATY                 NC          90009653390
3717844352B871   ALBERT      HINOJOSA                  ID          90013624435
37178468A4B281   PRENTISS    SIMMONS                   NE          90014714680
37178532A41258   A1          BROKERS                   PA          90012315320
3717917987B639   JANICE      LOWE                      GA          90014741798
37179364633B95   MICHELLE    SHELLOW                   OH          90015063646
37179A9144B576   MANDY       MILLER                    OK          90010500914
3717B26644B281   CATRINA     FILKIN                    NE          27079132664
3717B52345B52B   RUDOLFO     MCMANN                    NM          90013265234
3717B715833B57   SHARON      CROSS                     OH          90014047158
3718125115B52B   LILIA       ORTIZ                     NM          35058162511
37183A89191831   PIERCE      GREGORY                   OK          90008370891
37184914A2B871   RICHARD     CARTER                    ID          90015269140
3718526574124B   LEONA       CABBAGESTALK              PA          90010932657
3718591437B395   DONALD      SALGADO                   VA          90010769143
3718613155B393   DONNA       ARRIOLA                   OR          44538421315
3718635564B954   KEISHA      PREVOST                   TX          90014653556
3718636155B52B   JENISE      DEUTSAWE                  NM          90007613615
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37186823A4B281   THIDARAT     HEMSATH                  NE          90010278230
37186A8999156B   MIRIAM       ROBLEDO                  TX          90008500899
37187269A41285   LEONARD      BUTLER                   PA          90011122690
3718793A257569   REBECA       JONES                    NM          90014409302
3718877965B393   LAWRENCE     SCHRADER                 OR          90013257796
3718B121A2B87B   ANDREW       PALOWMERA                ID          42033441210
3718B919A7B449   CARLOS       GARCIA                   NC          11045379190
3718B93634B275   JOSEPH       WOLF                     NE          27093199363
3718BA2375598B   SHENIECE     HOPKINS                  CA          90014830237
3719113237B639   MICHELLE     COVEN                    GA          90015261323
3719118894B563   TABITHA      MCCARTHY                 OK          90012271889
371911A585B393   AARON        WELCH                    OR          90011211058
37191585A5B393   MICHAEL      HENGELMANN               OR          90014705850
3719171772B871   JOE          VOLM                     ID          42037507177
3719185A64B275   DARIN        SIEVERS                  NE          90002748506
3719254767B639   TRACY        RICH                     GA          90004905476
3719287A481678   AMY          JACKSON                  MO          90010728704
3719359A791831   REBECCA      DAWES                    OK          90012665907
3719496535598B   SUZANNE      CASTIILO                 CA          90015079653
37195A6835B52B   BLANCA       VALDEZ MORA              NM          90013630683
3719692532B87B   LISA         MICK                     ID          42014819253
3719771A691831   JOSE         MURILLO                  OK          90010257106
37197A58891584   ALBERT       AVALOS                   TX          90014820588
3719879967B639   TAMARA       RIGGINS                  AL          15075027996
37198A58891584   ALBERT       AVALOS                   TX          90014820588
37199A5592B871   AMANDA       CLINK                    ID          90013580559
3719B265491831   MARCINE      CADDY                    OK          21059662654
3719B422472B76   ADAM         GRIFFITH                 CO          90014424224
371B237444B221   MICHAELA     MININNI                  NE          27040763744
371B285572B87B   ROBERT       MEDLEY                   ID          90007658557
371B3176157B79   RITA         SHULESKI                 PA          90015081761
371B332412B87B   JUDY         WILLIAMS                 ID          90010433241
371B3452791893   OFELIA       ENRIQUEZ                 OK          90007794527
371B395747B471   JOHN         SAXON                    NC          90008789574
371B465715B52B   ELONA        UNALE                    NM          90009956571
371B4A1A355951   SHADY        CASTRO                   CA          49062870103
371B4A47872B76   TOMEKA       MUHAMMAD                 CO          33030020478
371B54A547B639   CANDACE      BRYANT                   GA          15086884054
371B6861373221   ALEJANDRO    BARRAGAN                 NJ          90015358613
371B725822B87B   DEBBIE       MUNOZ                    ID          90000482582
371B818894124B   DAVID        HOLMES                   PA          51090741889
371B8864A7B492   KRISTEN      ORR                      NC          90014668640
371B9691191831   GABRIELA     CASTRO                   OK          21076056911
371B979818B16B   JOSE LUIS    PEREZ                    UT          90000607981
371B9833741285   JOHN         BOBERG                   PA          51078578337
371BB37A391893   AMANDA       BROWN                    OK          90014613703
371BB3AA484368   PAMELA       DOMINGUEZ                SC          90011553004
371BB62789B164   LORI         KNOX-BROOKS              GA          90007466278
3721224864124B   DALLAS       STINE                    PA          90011342486
3721242892B871   YOLANDA      AVENDANO                 ID          90012104289
3721256845598B   MARIAMA      HEDERT                   CA          49062815684
37212A6195B52B   ANTONETTE    FRAIRE                   NM          35066320619
37214367A5598B   EZEQUIEL     HERNANDEZ                CA          90011583670
3721441627B639   JENNIFER     BROWN                    GA          90010484162
3721479422B835   LEAH         FORD                     ID          90003077942
3721537432B87B   KIRSTIN      DILWORTH                 ID          42006823743
372173A3141285   TIA          BAKER                    PA          51012053031
3721743215B156   ALEJANDRO    LOPEZ                    AR          23021454321
37217987A55951   FAITH        ORTIZ                    CA          90015159870
37217A71354151   HEATHER      MCKENNA                  OR          90013970713
3721833859152B   MIRNA        PIMENTEL                 TX          90005973385
3721866112B835   MANDY        CARRILLO                 ID          42048886611
372194A1A81685   NZALA        CHONGO                   MO          29009344010
37219A16291831   JESSICA      HUDSON                   OK          90006290162
3721B418591584   LUCY         GARCIA                   TX          75039484185
3721BA67451338   AL           THOMPSON                 OH          90000840674
3722191577B639   MIKITA       GRIFFIN                  GA          90001019157
37221A4592B87B   ANDREW       BRADSHAW                 ID          90009440459
37222623A41769   DYLAN        ROYSTON                  MO          90014256230
37222A7145B52B   GUADALUPE    LEDEZMA                  NM          35065140714
3722384325B52B   FRANCES      RAMOS                    NM          35044958432
3722447174B275   JACQUELINE   CLANTON                  AZ          27060224717
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3722452222B871   RACHEL          URE                   ID          90014075222
3722641787B639   RUBYNELL        JORDAN                GA          15039064178
3722739152B871   CLARISA         KNEPPRATH             ID          42019563915
3722786215598B   VANTAZA         DENNIS                CA          90014638621
372278A2772B76   DENISE          KIDDER                CO          90004228027
37228A9627B492   TAMMY           TAYLOR                NC          11069620962
3722912247B492   APRILL          TICKLE                NC          90014161224
3722965244124B   NICK            PUSKARICH             PA          51034996524
3722977645B393   LYUDMILA        MALIMON               OR          90015127764
3722985862B871   ISIDRO          GARCIA                ID          90011378586
3722B159291893   ALISHA          HATCHER               OK          90000791592
3722B891541258   MICHAEL         JONES                 PA          51013588915
3722B89A12B835   DEVEN           KNIGHT                ID          90014418901
3723128215598B   CHRISTINA       GARCIA                CA          90013872821
37231AA175B52B   KELLY           BENT                  NM          90005480017
3723254A57B639   LICHELLE        BROOKE                GA          90012225405
37232618A7B471   MARIO           DOMINGUEZ             NC          11050876180
37232686A4B281   WENDY           MOROZ                 NE          27094096860
372339A558B183   BRANDI          HARMON                UT          90009049055
3723426A95B52B   ROBERTO         RODRIGUEZ             NM          35035482609
3723455537B492   TYALISHA        SHEPPARD              NC          90000375553
3723534A351325   ABEBA           DESALEW               OH          66089233403
3723562612B835   ALEJANDRA       PEREZ                 ID          90010786261
3723635835B393   REYES           BONILLA               OR          90015123583
37238213A7B639   ADRIAN          JOHNSON               GA          90013262130
3723862958B162   JUAN            PADILLA               UT          90012736295
37239389A7B639   AYANAH          SIMMONS               GA          15013463890
3723B18585B52B   MARIA ROSARIO   LUJAN                 NM          90011751858
3723B34948B268   ROBBIE          ZULLO                 VT          90014343494
3723B725941258   SHAWN           REINERTSON            PA          90009437259
3723B93582B871   DEAN            FARMER                ID          90010169358
3724188315B156   LATONIAH        LEEKS                 AR          23075168831
3724236A191893   JOSHUA          DEARING               OK          90013563601
3724456677B639   JEROME          LIVAS                 GA          90014665667
37246669A4B281   MARITTA         COLEY                 NE          90014916690
3724729852B835   CAITLIN         BALMER                ID          42062912985
37247A61755972   ERMENIA         RODRIGUEZ             CA          48086430617
372487A714B54B   MELANIE         AHDOKOBO              OK          90010527071
3724895444B275   CHRISTOPHER     BURBACH               NE          90010599544
37248955A4B544   MONICA          JAMES                 OK          90008069550
37248A3455B393   GUILLERMO       BLAS NICOLAS          OR          44507500345
37249749A91584   MUNOZ           DAVID                 TX          90003127490
3724B899453B95   REBEKAH         JAGGARS               CA          90014398994
3725138322B871   MAE             FERGEL                ID          90001963832
372513A7A91831   CESAR           CRUZ                  OK          90013963070
3725251874124B   VEERAN          MAKAIL                PA          90014405187
37253435A91893   BRITTANY        DARNELL               OK          90013564350
37253615472B31   LORENA          MEJIA                 CO          33080746154
37253A81491831   ROBERT          POHL                  OK          90013830814
37253A8872B871   SARA            PINZ                  ID          90014330887
3725425928B16B   LANDON          DUANE                 UT          31056082592
3725455172B87B   PABI            BHATTARAI             ID          90014425517
3725576137B639   JUANILDA        DIOLOSA               GA          90004017613
3725585925B393   EUGENE          RYAN                  OR          90013988592
3725639125B52B   CHRISTIAN       CASTILLO              NM          35078823912
37257368A55972   MARIA           QUINTANILLA           CA          90013923680
37257968772B93   CECILIA         CHAVEZ                CO          33019839687
3725881155B393   KENNETH         BONHAM                OR          90010788115
372588A4741285   JESSICA         CRAWSHAW              PA          90010968047
3725947962B87B   ALEJANDRO       LORENZANA             ID          42041774796
37259959A4B559   JIMMY           KLAUS                 OK          90010919590
3725B21467B639   DYLETHA         PEARCE                GA          15019082146
3725B69AA8B16B   ALYSSA          DIXON                 UT          90004566900
3725B82635B52B   JONATHAN        SILVA                 NM          90014328263
3726136395B393   ANGELA          CERVANTES             OR          44523503639
37261A92631424   ANGELA          SLEDGE                MO          90003760926
3726385734124B   MICHAEL         FERGUSON              PA          90012328573
37263A75247827   ANDREA          SCOTT                 GA          90011330752
3726488875B52B   AZIA            MARTIN                NM          90012438887
3726537A455972   DEBBIE          HERNANDEZ             CA          90015133704
3726625A191831   DELORES         ADAIR                 OK          21042742501
372663A955B155   JOANNIE         IRWIN                 AR          90000843095
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372665A2541258   DEE DEE       GRETT                   PA          90011955025
372666A5261921   FLORA         DE GOTT                 CA          90008576052
372668A9A91893   TANVIR        KHAN                    OK          90006108090
3726729372B835   JESSE         STARKEY                 ID          90012712937
3726864447B492   ITZEL         RODRIGUEZ               NC          90014166444
372686A995B52B   CIDNEY        CHRISTIANSEN            NM          90010166099
37269353572B76   CHRIS         JAMES-INMAN             CO          90003193535
3726939A755972   CAMILA        GUSMAN                  CA          48093883907
3726963672B835   ADELAIDA      VAZQUEZ                 ID          42059996367
3726975395B393   ROBERT        MACLEOD                 OR          90011377539
3726981244B275   JAMIE         SNOVER                  IA          27026588124
3726B85955B52B   URIEL         MARTINEZ                NM          90011368595
3726BAA515B393   JOSE          BOJORQUEZ               OR          90006100051
3727114A65598B   JAVIER        AGUADO                  CA          90014241406
37271548A91893   NATALIE       GOUDEAU                 OK          90013565480
3727155787B639   TACEY         THOMPSON                GA          90014635578
372718A1755951   MARIA         ORROSTIETA              CA          90012668017
3727375962B835   MUHAMMAD      AZIZ                    ID          42052977596
3727394A441285   CHARITY       SCHMIDT                 PA          51052809404
37275A7555B393   ERIC          TATE                    OR          90000960755
3727667647B492   DEEDIE        HOLLAND                 NC          90014166764
3727748174B281   TAMMIE        LARSEN                  NE          27056414817
3727876644124B   SALVATORE     GUIDO                   PA          51094827664
3727877695B393   WILLIAM       SWANSON                 OR          90006937769
37278A63791893   DANIEL        STANBERRY               OK          90015150637
3727973287B346   TESETE        ABEBE                   VA          90001017328
37279AA422B835   AMBER         RIDING                  ID          90007080042
3727B13495B52B   REINA         GONZALES                NM          35017781349
3727B34414124B   CHRISTINNE    SERETTI                 PA          51049693441
372819A3591584   CHANTAL       VALADEZ                 TX          90014839035
3728247947B492   JULIE         MERRILL                 NC          90015144794
3728311617B639   JONITA        CANNON                  GA          90013621161
3728343219156B   MELVIN        LERMA                   TX          90014454321
372835A174B275   SELENA        CHAVEZ                  NE          90002265017
3728391754B281   MAGALY        FAVILA                  NE          27008629175
3728451197B639   SYLVESTOR     BROWN                   GA          90015095119
3728537917B639   RENAE         HOMAS                   GA          90002643791
3728589895B393   JESSICA       BOGGS                   OR          90010768989
3728652258B183   DEE           WIMMER                  UT          90011895225
3728694535B393   JULIE         DUNLAPP                 OR          44574119453
37287221A7B492   JONAS         QUIROZ                  NC          90012492210
3728755AA7B422   SHANAE        WEBB                    NC          90001025500
3728816A97B492   KIERRA        SMITH                   NC          11090081609
3728995285B393   MATTHEW       WYNN                    OR          90012319528
372899A5491584   RICARDO       MARQUEZ                 TX          90014839054
37289A82191893   THOMAS        WILBANKS                OK          90008880821
3728B53777B471   TAMMY         CURRY                   NC          11007995377
3728B77554124B   RICHARD       DERZIC                  PA          51085627755
372913A467B639   GREGORY       DAVIS                   GA          90011953046
3729245682B871   JOSIAH        REYES                   ID          90014374568
37292469A55972   LAURA         CHAVEZ                  CA          90012854690
3729259185B391   MIRTLE        BEA                     OR          90001565918
3729269938B19B   CHARLES       CASITY                  UT          90012736993
37296A5952B835   STEVEN        AUCK                    ID          90013600595
3729924322B835   CHRISTINA     HERNANDEZ               ID          42000872432
3729B218655972   LUIS          TORRES                  CA          90013862186
3729B58484124B   KIMBERLY      ANNE                    PA          90014425848
3729B72357B471   MIKE          MCCRAY                  NC          90009247235
3729B899691584   JUAN          SANDATE                 TX          75034978996
3729BA73941258   MELISHA       ROBINSON                PA          90007440739
372B1424141285   NERRISSA      WHITLING                PA          90002284241
372B16A725B277   STEVEN        CLAYPOOL                KY          68002066072
372B2196341258   DIANE         JORDAN                  PA          90005261963
372B3166A4B281   TYLER         PEARSON                 NE          90014801660
372B344A355972   ASHLEY        VEGA                    CA          90013834403
372B3638955951   PA            LEE                     CA          90011816389
372B3713872471   SHIRLEY       MCMANUS                 PA          90010107138
372B37AA833681   JOSE MANUEL   BAUTISTA                NC          90013747008
372B394519155B   ANGELITA      DELATORRE               TX          90010959451
372B417A45598B   BILLIE        PACE                    CA          90013471704
372B43A3161981   ERIKA         MARQUEZ                 CA          90015223031
372B4931331424   ALAISHA       TROTTER                 MO          27590039313
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372B4A67A91543   LORENZA      ESTRADA                  TX          90001520670
372B4A88997126   BOBBIE       HERNANDEZ                OR          90008680889
372B5831A55972   MAIRIA       CAMPOS                   CA          48041278310
372B6685291967   FREDY        ALVAREZ                  NC          90008526852
372B733497B639   ARTAVIOUS    WHITE                    GA          90013443349
372B756962B835   MICHAEL      REZA                     ID          42062925696
372B7733691584   HECTOR       CARACHURE                TX          90015147336
372B8469A55972   LAURA        CHAVEZ                   CA          90012854690
372B9198741258   LINDA        POWELL                   PA          90012901987
372B942542B835   SAN JUANA    RAMIREZ                  ID          90001764254
372BB982691893   YEISON       VAZQUEZ                  OK          90013559826
3731185497B436   DAVID        TRULL                    NC          90007538549
3731546945B393   MISTY        RHODES                   OR          90014814694
3731571274124B   PAUL         MORGAN                   PA          90014387127
3731588197B492   JONATHAN     WILSON                   NC          90015128819
3731666984B281   TANYA        JAIME                    NE          90014656698
3731727269125B   CURTIS       SINGLETON                GA          14515612726
3731747517B639   JACQUELINE   MCGILBERRY               GA          15029154751
3731757642B87B   DAWN         STRYD                    ID          90006605764
3731852987B477   MAYBELLINE   PORTILLO                 NC          90008045298
3731896377B492   KIMBERLY     JACKSON                  NC          90014179637
373197AA62B871   MANUEL       JUAREZ                   ID          90004007006
373198A712B87B   THOMAS       FREINWALD                ID          90014758071
3731B51747B492   KENNETH      MCLENDUN                 NC          90014705174
3731B98739156B   ALONSO       DELGADO                  TX          75016269873
3731BAA4991584   MARIA        ORDAZ                    TX          90006160049
3732145895B52B   KENNETH      MESSLER                  NM          90014594589
3732217172B834   CHRISTINE    BARRIETUA                ID          90002811717
373231A3791831   JILLIAN      DUVAL                    OK          21038621037
37324532A31424   CORSANDER    THOMPSON                 MO          27570235320
37325269772B76   JUSTIN       RUSSELL                  CO          33082122697
37325394A7B639   MARTHA       DIXTON                   GA          90014593940
3732696147B639   ERICA        WILLIAMS                 GA          90013029614
3732696A54124B   JOHN         BETTOR                   PA          90014669605
3732731A62B835   KIENNETH     TRAN                     ID          90011183106
37327629A4B281   PEGGY        GONZALEZ                 NE          27054426290
3732869548B16B   ALEXIS       KAP                      UT          31024756954
37328717A31424   AMARIS       SUMPTER                  MO          90012557170
3732896452B835   SUMMER       JONES                    ID          90013279645
37328A29841258   LATONNA      GENTRY                   PA          90010480298
3732926847B449   ERNESTINE    EDDINGTONG               NC          90002322684
3732934615B52B   MARIO        MAESTAS                  NM          90012093461
3732943A172B76   GENETTE      TURNER                   CO          33006664301
37329479A5B393   SHILOH       ENDRES                   OR          90013404790
3732B83432B835   SAUL         SALAZAR                  ID          42089268343
3733161267B492   VANESSA      PENLEY                   NC          90002176126
37331989A92853   RENE         ALVAREZ                  AZ          90015479890
373339A3991893   LINDA        TOMPKINS                 OK          21051429039
3733491652B871   MIGUEL       AVALOS                   ID          90015269165
3733625547B471   NICKI        KELLS                    NC          90002692554
373369A222B87B   RANDY        BRIGHT                   ID          90010639022
3733786A291893   KIMBLEY      PATRICK                  OK          90013568602
3733817734B929   ALEXANDRE    ANDERSON                 TX          90013221773
373391A512B87B   JUANITA      SIBERT                   ID          42058441051
3734257152B835   JULIANA      TOLVES                   ID          42097395715
373428AA155921   VERONICA     ARMIENTO                 CA          49026128001
37342933A91232   ANTIONETTE   ROBERSON                 GA          90010999330
37343516A91584   ANTONIO      ROMERO GARCIA            TX          90013165160
37344168A41285   LEE          SEKELIK                  PA          51098661680
3734441535B52B   ELIZABETH    MONTOYA                  NM          35014734153
3734444849156B   ORALIA       QUEZADA                  NM          90007554484
3734556972B835   RAYMOND      SANCHEZ                  ID          42009745697
3734568179125B   DIANDRA      BOSTICK                  GA          14595056817
3734662384B281   TINA         HENDERSON                NE          90005196238
3734712672B835   NOE          HERRERA                  ID          90011061267
37347614A57537   MANUEL       DOMINGUEZ                NM          90004506140
3734772945598B   TERESA       RODRIGUEZ                CA          90012877294
3734816855598B   MARIBEL      CORNEJO                  CA          90011681685
373482A7691893   MICHEAL      CRISS                    OK          90013572076
3734867595B52B   ALJANET      WALTON                   NM          90007386759
37348947A91525   SANDRA       AULTMAN                  TX          90014169470
3734942A691584   REBECCA      RAMIREZ                  TX          90014514206
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3734B9A545B393   JOHNNY        WALKER                  OR          90010679054
3735211412B87B   RUSSEL        MASSEY                  ID          90012231141
37352A94591967   ANTONIO       TERRELL                 NC          90007280945
3735349247B639   MARQUELL      BOYD                    GA          15083224924
3735529474B275   EDWIN         GARCIA                  NE          27007652947
3735632227B639   EVON          COPPINS                 GA          90007773222
37356AA394124B   JACQUETTA     HAYS                    PA          90014670039
37357AA5755951   FILMON        ALTA                    CA          90011820057
3735813485598B   ALICE         BARRETO                 CA          90006541348
37358934A91584   ARIEL         DELGADO                 TX          90014839340
3735955562B871   MIKE          MCBETH                  ID          90013395556
3735B414291942   PATRICIA      BUTLER                  NC          90012944142
3735B96265B52B   GLADIS        GRANADOS                NM          90013909626
37361415A5598B   VICENTE       RODRIGUEZ               CA          90014144150
37361A79A91869   DWIGHT        ALLEN                   OK          90005150790
3736285485B52B   JESUS         SAENZ                   NM          35057108548
3736397A391893   CHEYENNE      HURT                    OK          90013569703
3736779112B871   ALLISON       HUDDLESTON DA 3RD       ID          42039997911
3736826AA55951   VERONICA      HERNANDEZ               CA          90007572600
37368A95591232   RASHONE       MORSE                   GA          90005670955
3736937792B835   SAMUEL        CONTRERAS               ID          90012053779
3736938A731424   MICHAEL       STEWART                 MO          90005023807
373694A4972B76   ANTHONY       DAMIAN                  CO          33068394049
3736974955B393   SUZI          WORDEN                  OR          44564327495
3736B18225B393   J GUADALUPE   RAMIREZ                 OR          90015171822
3736B18649152B   RICARDO       SOTO                    TX          90012561864
3736B1A614B554   ROBERT        BURNS                   OK          90004381061
3736B96A291893   SEDRICK       WHITE                   OK          90013569602
3737161928B17B   ABRAHAM       SULEMAN                 ID          90014046192
37371727A5598B   KATHY         NACAROFF                CA          90014367270
373725A5A4124B   KIMBERLY      LOWE                    PA          90009715050
37372965A7B639   THYRA         BROWN                   GA          90010839650
3737327897B492   HEYDI         MORALES VAZQUEZ         NC          90014182789
3737374292B835   ATOSHA        NGOYI                   ID          90005517429
37374277672B27   BARBARA       STONE                   CO          90002442776
3737451552B87B   JUSTIN        JONES                   ID          90012865155
3737485294B281   MESFER        ALFATAIH                NE          90013728529
37374A3A22B871   KATHERINE     STEWART                 ID          90009410302
37374A3A92B835   JILL          GOFF                    ID          42052980309
3737513885B135   BRIDGETT      PETTUS                  AR          90005221388
3737528312B871   TRACY         BEAN                    ID          42084492831
3737572945B52B   MARYANN       NAJERA                  NM          90010747294
37375A46191831   JANITA        DUMLER                  OK          90015270461
3737779132B871   THOMAS        FREINWALD               ID          90014757913
3737785212B87B   LEE           PATTERSON               ID          90013408521
3737823A755928   DEBBIE        JASSO                   CA          49081972307
3737824582B87B   COREY         GUCKER                  ID          90007432458
3737867A55598B   SABRINA       OCHOA                   CA          90012276705
373788A6551347   HUGO          ROMERO                  OH          90007508065
37379184A91831   MARIA         GUTIERREZ               OK          90010641840
3737959882B84B   MARIANO       VAZQUEZ                 ID          90014045988
3737985992B871   DEAN          HOFFER                  ID          42032468599
3737B26827B422   FRANCINE      MOTT                    NC          90012402682
3737B87387B449   ELENA         COLLAZO                 NC          11010738738
3737BA5994B281   JEFF          LAKEY                   NE          90011690599
373819A9891893   ANDY          ALVARADO                OK          90013579098
3738256614B281   DANELLE       SUNDQUIST               IA          90013845661
3738257392B871   FRANK JOHN    KOHLMAIER               ID          90015095739
373825A3761925   MARIA LUZ     SERRANO                 CA          90001975037
37384379A2B87B   MARILYN G     KRUEGER                 ID          42041773790
37385768A5B393   TIFFANY       MONTGOMERY              OR          90013517680
373869A187B492   ROSETTA       FLEMING                 NC          90011009018
37386A2565137B   CASSANDRA     MORGAN                  OH          90007970256
3738739827B436   LASHONDA      FORD                    NC          11093143982
373879A765B393   CHRISTINE     FINLEY                  OR          90009269076
3738813998B273   SARA          KELLEY                  VT          90014771399
3738818A12B871   AARON         CARLSON                 ID          42033361801
3738846775B52B   CAROL         LEATON                  NM          35065924677
3738964695598B   JOSCELINE     ONTIVEROS               CA          90014886469
3738B56357B492   NATALIA       SANTANA                 NC          90014185635
3738B61A65B393   HORACE        JENKINS                 OR          44540386106
3738B851191831   SHAMIKA       SIMPSON                 OK          21011738511
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3739147A931424   YVONNE      LANG                      MO          27516284709
373918A965598B   ALEX        FRENCH                    CA          90013058096
37391A84241258   CHRISTINA   BOYLE                     PA          51067200842
3739253577B639   KIANA       GARCIA                    GA          90014855357
3739258352B87B   GARY        ZIMMERMAN                 ID          90011875835
373927A3191584   MARGIE      RODRIGUEZ                 TX          75085077031
3739291A75B52B   DAVID       MONTOYA                   NM          35089859107
37393A6312B871   CONNIE      SANCHEZ                   ID          42009510631
3739418774124B   KEVIN       MYLES                     PA          90014501877
3739434892B835   JOHN        SULLIVAN                  ID          42083903489
37394528772B76   KARA        ZIMMERMAN                 CO          90007285287
3739515413B39B   LASZLO      NEMES                     CO          33068071541
37395318A4B281   CHRIS       PATTERSON                 NE          27065713180
3739557147B492   JAMES       GOSS                      NC          11075565714
3739573A48B195   GALEN       HOOPER                    UT          90010027304
373957A3191584   MARGIE      RODRIGUEZ                 TX          75085077031
3739596528B16B   SKIP        PAPPAS                    UT          90007319652
3739647227B476   JORGE       CLAUDIO                   NC          90013944722
3739665635B52B   RAQUEL      GARNAND                   NM          90014526563
373974A814124B   MEGAN       DANIEL                    PA          90012674081
37397A2877B639   JOSEPH      PITTS                     GA          90013700287
3739817285B38B   LADELL      S HANSON                  OR          90005901728
3739972132B87B   JULIE       MCKINLEY                  ID          42068867213
3739B359555951   DEBRA       STAY                      CA          49078883595
3739B36374B281   CARL        POST                      NE          90015093637
373B1572161559   PAMELA      HAMILTON                  TN          90014305721
373B161A651594   GAIL        EATON                     IA          90014846106
373B194575B393   RACHEDIA    ROSS                      OR          90012859457
373B2196755972   TINA        SYKES                     CA          90011081967
373B21A9391538   MARINA      ORTEGA                    TX          75069881093
373B261192B87B   ASHLEY      BUHLER                    ID          90009136119
373B299A85B342   KIMBERLEY   LONG                      OR          44513319908
373B311614B281   WANDA       LEWIS                     NE          27054741161
373B3444991544   JOSE        SANCHEZ                   TX          90010844449
373B3466931424   JULIE       WATSON                    MO          27543194669
373B379665598B   MARTHIN     GARCIA                    CA          90013057966
373B3918691584   JESSE       VELASCO                   NM          90014839186
373B4858191893   SUAN        DAL                       OK          90013298581
373B499A85B342   KIMBERLEY   LONG                      OR          44513319908
373B526544B275   DANIELLE    BRINSON                   NE          90011552654
373B537625B393   RANDALL     SPRAGUE                   OR          90000623762
373B57A626192B   BRANDONN    JAUREGUIN                 CA          90013267062
373B5A2A72B835   WHITNEY     JOHNSON                   ID          42095730207
373B632AA91831   WINDY       HUMPHREY                  OK          21061013200
373B6347A7B639   JILLIAN     PRICE                     GA          90013703470
373B6651391584   JOHANNA     LEAL                      TX          90007486513
373B678545B393   DONALD      COMWAY                    OR          90013447854
373B7274A2B559   LAKESHA     PLAYER                    AL          90014672740
373B7A7135B156   BRENDA      YOUNG                     AR          23003900713
373B844592B871   MISTY       WARNER                    ID          90008164459
373B8567341285   DERRICK     VIRE                      PA          51060305673
373B856844124B   ROBERT      BECKER                    PA          90012505684
373B924322B87B   JULIE       CHAPMAN                   ID          42088192432
373B992465B393   CARMEN      MEDINA                    OR          90007549246
373BB849172B23   JOSEPH      SATURINO                  CO          90010328491
374115AA25598B   LUIS        RICO                      CA          90014875002
37411AA2291584   ANDREA      PROCTOR                   TX          90006550022
3741292382B87B   ANTHONY     CRITCHLOW                 ID          90014729238
3741316512B87B   AMBER       WHITAKER                  ID          42083581651
3741387215B52B   FRANCISCO   RUIZ                      NM          35096158721
374146A452B93B   ROBERT      FOSS                      CA          45070576045
3741498A17B639   REBECCA     ANDERSON                  GA          15004259801
374154A585B156   DAWN        SPEARS                    AR          23084504058
3741595284124B   KEESHA      COLEMAN                   PA          90002579528
3741676A631424   PAULETTE    ROEBUCK                   MO          90013017606
37416818836B71   JOSH        HARRINGTON                OR          44526988188
37417248733B88   JEFFERY     WHITE                     OH          90015172487
3741774694B281   SHEA        RYAN THOMAS               NE          90015307469
374186AA44124B   LARRY       ARBOGAST                  PA          90014696004
37418A6115B393   TEDDY       HOSKINS                   OR          44576340611
374197A2572B76   CAROLE      GUY                       CO          33093477025
374198A975B52B   HOMER       PEREZ JAQUEZ              NM          90013438097
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3741B14A22B87B   SHAWN          IHRIG                  ID          90013191402
3741B22385135B   TONYA          FRANZ                  OH          90001612238
3741B355884351   DIANE          NUSE                   SC          90001653558
3741BA45591584   CHRISTOPHE     RUEDAS                 TX          75087410455
3742131254124B   LOREN          FORD                   PA          90005333125
3742263284B275   QUEENIE        HAYNES                 NE          27048676328
37423289A7B492   CYNTHIA        GARSKA                 NC          90012662890
3742334852B835   CHRISTINA      MONTERROSO             ID          90014613485
374233A147B639   ROBIN          FARLEY                 GA          15025533014
3742377985B156   LINDSEY        SADLER                 AR          23085477798
3742434179125B   CATHERINE      MILLER                 GA          14512183417
3742667342B871   GIOVANI        CRUZ                   ID          90011906734
3742753788B16B   SIMMONS        ROBERT D               UT          90004015378
37427761753B95   GERARDO        MENDOZA                CA          90014457617
3742776212B87B   MARIA          PEREZ-CASTANEDA        ID          42085107621
374277AA791893   JESSE          JACOBS                 OK          90013577007
3742785A75B393   WILLIAM        GRAY                   OR          90011858507
3742896624B275   GARRY          ODDO                   NE          27045609662
37428A7172B871   SARAH          KNIGHTE                ID          90008080717
3742989552B87B   JOSH           JOHNSON                ID          42080548955
3742B541991893   BRITTANY       SULLIVAN               OK          90013575419
3743193617B449   REYNA          FAJARDO                NC          11089719361
37431A72631424   PAYGO          IVR ACTIVATION         MO          90009450726
3743323149199B   LOUVENIA       JOHNSON                NC          90014752314
3743525A62B835   BRAD           DAVIS                  ID          90002572506
37436286A91584   ART            SALDANA                TX          90009582860
3743632572B871   THERESA        TOBIAS                 ID          90010953257
3743661495B52B   TIFFANY        PADILLA                NM          90001296149
37436736A71921   TESSA          CAREY                  CO          90013067360
3743695837B639   WILLEAN        FOUNTAINE              GA          90006069583
3743772155B393   DOUGLAS        PACHNIK                OR          90015077215
37437A23655972   JESUS          ARENIVAS               CA          90011760236
3743882775B393   JOSE           HERNANDEZ              OR          44582178277
3743942885B52B   DAVID          MURRAY                 NM          90013254288
3743964722B835   DONNA          OROZCO                 ID          90013996472
3743B74522B87B   DAWNE          KUNCE                  ID          90012947452
3744116817B639   ANTONIA        JAMERSON               GA          90008071681
374413A845B52B   AARRON         SHORTY                 NM          90014143084
3744222985B52B   HERMENEGILDO   VILLALOBOS             NM          90003302298
3744244472B87B   BILLY          ELIS                   ID          90014264447
3744278527B639   JARVIS         WILLIAMS               GA          90001527852
3744377734124B   MOLLY          SWORDS                 PA          90013507773
3744387187B492   MONTANA        SMITH                  NC          90011048718
374442A147B639   ANTHONY        POLLARD                GA          15090652014
3744442A241285   DEONNA         HICKS                  PA          51044144202
3744478712B835   JULIE          WARWICK                ID          42029377871
37445215A4B281   LORRI          MYERS                  NE          27046112150
3744576215598B   CINDY          LYLES                  CA          90011597621
3744612A455972   JORGE          ROMO                   CA          90010461204
3744643A231441   REBECCA        TESSMES                MO          90009894302
3744645875B393   CARLOS         PEREZ                  OR          90013904587
3744755AA2B87B   BRENDAN        GREENE                 ID          90013635500
3744774134124B   LORREECE       FULTZ                  PA          90005407413
374477A612B835   FRANK          HENDRY                 ID          90014047061
37447852376B7B   LINDA          HOUSE                  CA          46039638523
3744787115598B   JOSEPH         STUCKEY                CA          90004458711
37447A3A48B147   COREY          PHANTHALANGSY          UT          90013160304
3744847174B559   LASHAE         WILLIAMSON             OK          90006444717
37449A19391584   ALAM           PEREZ                  TX          75035040193
37449A7777B639   JOHN           SAMS                   GA          15015850777
3744B13157B471   FLOR           CASTILLO               NC          90013371315
3744B227A91543   YOLANDA        BARRAZA                TX          75029832270
3744B255A91538   SANDRA         COOMBE                 TX          90009982550
3744B358341258   ANDREW         CHECQUE                PA          51038213583
3744B58338B163   TRAVIS         TANNER                 UT          31000185833
3744B66A72B835   THEDFORD       MARION                 ID          42078786607
3744BA5272B871   GLADYS         OBESO                  ID          90000790527
3745152A12B87B   PHILLIP        MCKAY                  ID          42059035201
3745191889152B   JESUS          DAVILA                 TX          90011709188
374529A2731424   DEMETRIA       JOHNSON                MO          90012319027
3745324A355972   ALEJANDRO      SILVA                  CA          90015312403
3745377117B492   CHARLA         JOHNSON                NC          11028947711
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374538A685598B   GENA          VENEGAS                 CA          90003708068
3745424747B639   DAWN          ANDERSON                GA          15055092474
3745486854124B   TANIESHA      YOUNGBLOOD              PA          90012078685
3745588942B87B   TIMOTHY       BLACK                   ID          90006768894
37455A35541285   MARCUS        GANS                    PA          90014940355
37455A4782B835   KYLE          CROSBY                  ID          90014540478
3745632664B275   CHAD          GLEASON                 NE          90002003266
3745641317B639   DESHAUN       MILLER                  GA          90014834131
3745651AA51321   DEBRA         PEAKE                   OH          90014745100
374566A365B393   LORI          TALAVERA                OR          90010156036
3745697252B835   PEPPER        MOORE                   ID          90010309725
37458538172B76   ANTONIO       GARSA                   CO          90007285381
3745857325B393   BRUCE         WOLF                    OR          90014175732
3745866514B275   JOHN          BOUQUET                 IA          27054436651
3745876832B87B   PAUL          TENEYCK                 ID          90014527683
3745893155B156   OSCAR         RAMIREZ                 AR          23025379315
37458A44A5B393   KERRY         CENTER                  OR          90006310440
3745947465B52B   FRANCISCO     ARAGON                  NM          35025314746
3745962252B871   LA NAE        CHERRY                  ID          90014876225
3745B4A584B534   BRITTNEY      CAMPBELL                OK          90001664058
3745B63824124B   PATRICIA      BOOTH                   PA          51011776382
3746197934124B   CHARLES       AVERY                   PA          51022739793
3746254525598B   MACISH        1HUNDID                 CA          90007685452
374629A2A72B32   CONSWELLA     GIBSON                  CO          90004719020
3746313552B87B   JASON         AKINS                   ID          90014501355
3746483765B52B   PATRICK       LOGAN                   NM          90006258376
3746535934B221   TERRY         MACKEOGH                NE          90006823593
3746568A141455   JUAN CARLOS   TORRES                  WI          90014876801
3746641A45B52B   THOMAS        AGUILAR                 NM          90006994104
3746714717B471   MAYNOR        LOPEZ                   NC          90007011471
3746813492B87B   TARA          WILSON                  ID          90012381349
3746826A97B492   ASIA          BENTON                  NC          11052682609
37469A3744B275   HOWARD        WILCONEX                NE          27092270374
3746B251741258   STEPHANIE     MCCOY                   PA          51002592517
3746B37A691831   CHAD          WARREN                  OK          90004903706
3746B47324B281   LUIS          GARCIA                  NE          27065024732
3746B731855951   WALTER        FONSECA                 CA          90004437318
3746B8A547B471   ABELARDO      AREVALO                 NC          11075438054
3746BA47891584   BARBIE        QUEEN                   TX          90006160478
3747249848B494   TRAVIS        SAUNDERS                VA          90014764984
37472A9772B871   STEVE         SMITH                   ID          90011800977
3747344149156B   MARICRUZ      HOLGUIN                 TX          90009684414
374738A5181672   TONY          MAGGARD                 MO          90012668051
3747524617B492   JENNIFER      HYDE                    NC          11061112461
3747582717B471   JENNIFER      TORRES                  NC          90014758271
37476729A91584   MARGARITA     DE LA PENA              TX          75011367290
3747712664B547   CONNIE        WILLIAMSON              OK          90000211266
3747811717B639   JAIMSHA       RIGGINS                 GA          90004761171
3747812645598B   ALEJANDRA     SAHAGUN                 CA          90015181264
374787A5155951   MARGIE        CASARES                 CA          49071987051
3747916914B275   ANNABEL       LIMON                   NE          27096231691
3747956A855972   DANIEL        LUJANO                  CA          90014625608
3747B75A731424   FELICIA       SMITH                   MO          90014827507
37481A97641285   EDUARDO       GALLEGOS                PA          90015460976
3748337717B449   WENDY         CARR                    NC          11085833771
3748344A391584   VANESSA       MATELLE                 TX          90013764403
37483997A5598B   SHAWN         KNIGHT                  CA          49016609970
3748548857B471   VALENTIN      GARCIA                  NC          11078934885
3748599934B275   JOYCE         MORENO                  NE          27088889993
3748637437B639   LORRANE       FISH                    GA          90014873743
3748741468433B   MONIQUE       SIMMONS                 SC          90010304146
3748758722B87B   FRANK         ZANDER                  ID          90005965872
3748759A472441   JUNELL        GARBER                  PA          90012525904
37487AA8691584   STEPHANIE     TRISTE                  TX          90014850086
3748854A77B639   GREG          WALTON                  AL          90011995407
3748928975B52B   NICOLE        BLOCK                   NM          90013282897
3748953357B492   BRENNA        AMBER                   NC          90011355335
37489914172B76   LUIS          ARRIAGA                 CO          33044789141
3748B11927B492   DAVEN         DURHAM                  NC          90002041192
3748B21162B871   LILIA         PRADO                   ID          90013932116
3749247A755972   JOSEPH        PACHECO                 CA          48023934707
37492A16791584   GUSTAVO       VALENZUELA              TX          90014850167
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3749312532B871   JOSAFAT       VALDEZ                  ID          90011211253
3749337A54B281   TIMOTHY       ANDERSON                NE          27051483705
3749349482B87B   HEATHER       LOTT                    ID          42058224948
3749391277B492   BETH          MAYFIELD                NC          90002719127
3749468362B87B   UODONE        KINGMIXAY               ID          90010666836
3749489924124B   ROBIN         FISHER                  PA          90014188992
3749569857B492   OTTONIEL      HERNANDEZ               NC          90015196985
37495753A2B871   DONALD        PARADIS                 ID          42015817530
374957A6A4B554   TIFFANY       BURNS                   OK          90008037060
374958A6A2B835   ALISSA        CRESSY                  ID          42053088060
3749638244124B   BEVERLY       PORCH                   PA          51072633824
3749691192B871   BRENDA        ANDERSON                ID          90012929119
37496A42191831   TIMOTHY       COBB                    OK          90009740421
3749789415B52B   KAREN         ESQUIBEL                NM          35065948941
37498A21A91584   BRIAN         LOPRZ                   TX          90014850210
37498AA3591B27   DUSTIN        KORBISUH                NC          90013510035
3749943A961432   TYLER         RUTHERFORD              OH          90014064309
3749964635B393   MOISES        LOPEZ                   OR          90014026463
3749994294B281   MARISSA       OLGUIN                  NE          90006909429
3749B27767B639   AUDREY        EPPS                    GA          90014802776
3749BA1925B393   CHRISTOPHER   BLACK                   OR          90014720192
374B134122B255   SALVADOR      AGUILAR                 DC          90014953412
374B1389A2B255   SALVADOR      AGUILAR                 DC          90010933890
374B3415231424   YOLANDA       BARKSDALE               MO          27540614152
374B3579A91584   JAVIER        SALINAS                 TX          90010485790
374B386494124B   CHRISTINA     SCHMIELDIN              PA          90001808649
374B398178B16B   PHILLIP       OUELLETTE               UT          90007319817
374B4874591584   ROSARIO       LUJAN                   TX          90010128745
374B491974B221   HELENA        NEWSON                  NE          27088929197
374B495662B835   MINDI         RICHARDSON              ID          90003899566
374B539A94124B   MELANIE       DENSON                  PA          90011273909
374B61AA45598B   FERMIN        SALAS                   CA          90015131004
374B6663655972   VICTORIA      RAMIREZ                 CA          90014196636
374B6A61585858   MARILI        COCA                    CA          46013100615
374B72A315B393   CRAIG         BURT                    OR          90014262031
374B75AA32B87B   NATALIA       VASQUEZ                 ID          90010345003
374B762395598B   YOLANDA       OCHOA                   CA          90002686239
374B819622B586   APRIL         WALKER                  AL          90015501962
374B8A1352B835   TIM           GREEN                   ID          42087980135
374B912853B39B   KURT          CONRARDY                CO          33081241285
374B9137341285   RICO          MONTGOMERY              PA          90014711373
374B9166291584   YELVANI       AVILA                   TX          90009651662
374B9449871955   RODNEY        WELDON                  CO          38045194498
374B972A35598B   TRACY         HEATH                   CA          49018987203
374B9978A4B281   JEANNE        HOUNMENOU               NE          90010899780
374B9A35355972   VICTOR        MEDRANO                 CA          90011310353
374B9A51491831   LORI          MUNGAVEN                OK          90008000514
374BB455491893   JOSE          JIMENEZ                 OK          90013574554
374BB81545B393   ELISHA        WESLEY                  OR          90009518154
3751142AA8B16B   ROSALINDA     MORALES                 UT          31031054200
37512236836B9B   DONALD        DELONEY                 OR          44573152368
3751234167B492   RACHEL        LINDSAY                 NC          11033883416
375126AA82B871   VICTORIA      LEE                     ID          90012606008
3751427855598B   BETTY         LEE                     CA          49065522785
37515729A91584   MARGARITA     DE LA PENA              TX          75011367290
3751596412B835   ROBERT        MERRITHEW               ID          42058509641
3751631AA5B52B   SHANTILL      MCKENNA                 NM          35032633100
37516381A91538   RUBEN         VASQUEZ                 TX          90010433810
3751725A691584   ROBERT        MORALES                 TX          90013642506
375172A922B835   FRANCISCO     DELTORO                 ID          42029472092
3751732665B393   LORRELL       CLARK                   OR          44501603266
3751889527B639   JERMAINE      AUSTIN                  GA          90010528952
3751955822B871   JANA          HATTON                  ID          90011015582
37519686A5B52B   DAVID         ROMERO                  NM          90012706860
3751978954124B   DANIELLE      PETRELLI                PA          90005467895
3752137317B471   FREDERICK     ROSE III                NC          11093133731
3752143875598B   CARLOS        JACKSON                 CA          90014854387
3752158415B526   EDWARD        LYBA                    NM          90001125841
3752179A472443   KEVIN         COOPER                  PA          90000937904
3752195988B183   BROOKE        ZEMAN                   UT          31095279598
3752199222B835   JUAN PABLO    RUIZ                    ID          90012109922
3752299845598B   DESAREE       SALAS                   CA          90011379984
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3752374A791584   BRYAN        GUARDADO                 TX          75035067407
3752453A591831   DANNY        DENTON                   OK          90013995305
3752483922B87B   STEVE        JORDAN                   ID          42088968392
3752513A99155B   LEONEL       SIGALA                   TX          90002371309
37526251398B21   PREVIS       SUVILLAGA                SC          90007752513
3752746436192B   JAZMINE      VICKERS                  CA          46046964643
3752791842B87B   KERRIE       MOORHEAD                 ID          90005769184
375279A7341285   NICHOLE      CONNER                   PA          51090639073
375282A6A8B16B   STORMY       WHETHERS                 UT          90003362060
3752831194B275   TASHA        LEWIS                    IA          90005013119
3752893815598B   JACQUELINE   BAEZ                     CA          90013039381
375294A867B492   LISA         KENNEDY                  NC          90014244086
3752988442B87B   ALEXIS       SCOTT                    ID          90011398844
37529A8A741285   THERION      NELSON                   PA          90013720807
3753127972B871   BENTLY       PERRY                    ID          90010562797
3753231832B835   COREY        THOMAS                   ID          90013943183
3753298542B871   MATTHEW      GILBERTSON               ID          42019579854
3753369472B835   SYLVIA       DENNIS                   ID          90013256947
37533A28141258   LINDA        LYNN                     PA          90004640281
3753442982B29B   LEE          MURRAY                   DC          81011054298
3753541117B639   CATHERINE    DIXON                    GA          90014594111
3753541A92B87B   DEJA         BROWN                    ID          90014514109
3753627435598B   LOUISE       SALCIDO                  CA          90013642743
3753644545B52B   MARTIN       TENORO                   NM          90011344454
3753661134B275   MELISSA      PETERSEN                 NE          27023716113
37536A5664B281   EMMA         COY                      NE          90013410566
3753749734124B   SHAWN        RAVE                     PA          90014704973
3753815837B639   RONNIS       TOLBERT                  GA          90014621583
375381A322B87B   STEPHEN      SHELL                    ID          42091041032
3753855592B871   JENIFER      SANFORD                  ID          42092915559
37538A79791831   GAIL         GODNIEZ                  OK          90014340797
37539192A41285   THERESA      EVINS                    PA          90011751920
375391AA37B492   KIMBERLY     LEMMONS                  NC          90010021003
3753984777B639   ALEXIS       CAPERS                   AL          15087078477
3753B17162B835   VANESSA      CHAVEZ                   ID          90008501716
3753B364955951   SOFIA        MEZA                     CA          49097673649
3753B734141285   DARCEL       BARCHANOWICZ             PA          51080997341
3753BA34291584   DAVID        SOLANO                   TX          90014850342
3754142A591831   QRELL        JOHNSON                  OK          90013184205
3754382619125B   JO           SCHINDLER                GA          90004588261
3754394625B52B   LUCIA        BARRERA                  KS          35080799462
3754475997B449   RODNEY       ALEXANDER                NC          90005997599
375456A2391831   ZELA         WALKER                   OK          21085846023
3754586915B56B   MATHEW       ROMERO                   NM          90008608691
3754594747B639   MADGE        GRUBB                    GA          15085589474
3754749217B639   TOMAS        VALDEZ                   GA          90014254921
37547898A91584   JOSE         GONZALEZ                 TX          75061858980
3754861675B391   EVERARDO     JAIME ROMERO             OR          90014486167
3754947447B639   ERIC         WILLIS                   GA          90014394744
3754979555B393   SHELLEY      ROBERTSON                OR          90012907955
37549A43541285   DREON        MOULTRIE                 PA          51096100435
3754B41A841258   AMANDA       JACKSON                  PA          90011544108
3754B51A64124B   ERIKA        MASSIMO                  PA          90014705106
375514A9191893   AMY          SOSA                     OK          90013584091
3755169A491584   ISABEL       ALDERETE                 TX          90015106904
3755369342B835   JASON        HUTCHINSON               ID          90012886934
3755393A891537   ENRIQUE      ARMENDARIZ               TX          75017479308
3755614735598B   RALPH        JACKSON                  CA          49016181473
37556391A7B471   MARIA        SANCHEZ                  NC          11007133910
375565A922B87B   JAKE         SCOTT                    ID          90015125092
3755799118B16B   CYNTHIA      BROWN                    UT          31079849911
37557A4A57B639   JIMMY        WESTBROOKS               GA          90015240405
375584A7155972   MICHAEL      ESPINOZA                 CA          90012334071
3755853758433B   SABRINA      GREEN                    SC          90014705375
37559A1545B52B   LINDSY       SMITH                    NM          90009020154
3755B34652B87B   NOEL         RODRIGUEZ                ID          90013903465
37561214A7B492   KORI         LIPSCOMB                 NC          90012602140
3756172447B449   LILIAN       MEJIA                    NC          11039027244
37561A11691893   DALE         DEARINWATER              OK          21071710116
3756322955B393   KAREN        HAVRAN                   OR          90002772295
3756333535598B   ELIZABETH    HERNANDEZ                CA          90015293353
37563725A4B281   BRIAUNA      MUHAIMIN                 NE          90014627250
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37563A44891584   MARIA        RUVALCABA                TX          90014850448
375649A734124B   DAWN         BOEHM                    PA          90013469073
3756521667B639   SHANICE      PARKER                   GA          90010362166
3756558415B526   EDWARD       LYBA                     NM          90001125841
3756652494124B   LEANORD      DIXON                    PA          90014705249
3756658358598B   PAMELA       JUDGE                    KY          90012445835
3756699395B52B   LETICIA      ORTIZ                    NM          35083989939
3756719452B835   ALISHA       FORREST                  ID          90002651945
3756743885B375   CORD         MARTINEZ                 OR          90009364388
3756757245598B   VALERIE      MARTINEZ                 CA          49091975724
3756884467B492   JAMIE        CRAWFORD                 NC          90009298446
37569563A91232   JOSEPH       SHEAHAN                  GA          90007635630
375697A4991584   ADRIANA      SIERRA                   TX          90010027049
3756B9A7391584   MAYRA        NEVAREZ                  TX          75035079073
37571421A91831   KELSIE       ROWLETT                  OK          90012134210
3757176517B492   BRIDGET      HATTEN                   NC          11005747651
3757271574B281   TIM          BROWN                    NE          90009257157
37573997A7B449   KIMBERLY     TRIBBLE                  NC          11092719970
3757454854124B   DARLENE      DANIEL                   PA          90014705485
3757476265B393   JESSICA      BROWN                    OR          44563487626
37574A3934B275   JUSTIN       BAKER                    NE          27003020393
37575459A5B52B   TERINA       SANCHEZ                  NM          35066484590
3757665355B393   DILIA        CARBALLO                 OR          44552616535
3757793542B835   ANGELA       BEAN                     ID          42026349354
3757834344B275   JENNIFER     PARKS                    NE          27027873434
3757867967B492   KEIA JAVON   GARNETT                  NC          90014686796
375796AA441285   KENNETH      LIPPOLD                  PA          90014046004
3757976327B639   MANUEL       ZAMORANO                 GA          90012537632
3757986764124B   LATOYA       JONES                    PA          51009908676
3757B6A124B281   KELVIN       HAWKINS                  NE          90011916012
3757B85922B87B   MAIDE        MAGALLON                 ID          90005798592
3757B8A3791232   ALEXIS       ROBERT                   GA          90012408037
3758126A19125B   ANGELA       GEORGE                   GA          14573372601
375812A874B55B   CHARLENE     POWELL                   OK          90012772087
37581338172B76   LISA         CORDOVA                  CO          90005653381
37582342172B76   GLORIA       RAMIREZ                  CO          90014763421
3758267885B52B   JORGE        CASTRELLON               NM          90012346788
37582A8797B639   MARK         COLLINS                  GA          15070220879
37583147A25123   CHAD         CAYLOR                   AL          90014751470
3758331915B359   HEATHER      CRAWN                    OR          90006033191
37584251A91831   KERRIE       ROBERTSON                OK          90015482510
3758473417B639   JALEN        THOMAS                   GA          90009397341
375849A9591584   EVA          TAME                     TX          75057579095
3758549642B871   ELIZABETH    GREEN                    ID          90011524964
3758569373B365   STEPHANIE    PAOLELLA                 CO          90000776937
3758641A372B76   CAMESHIA     ROBINSON                 CO          90001044103
3758928114B281   DAVID        BOSILJEVAC               NE          27064322811
37589AA735B52B   MARIA ROSA   CISNEROS                 NM          90015330073
3758B819291584   CATALINA     RAMIREZ                  TX          90014338192
3759157544124B   ALEXIS       KNUCKLES                 PA          90014705754
3759337A891831   JAMIE        BENNETT                  OK          90014503708
3759412272B87B   JENNIFER     SNOW                     ID          90005641227
37594A4117B421   SHANNON      WORTHAM                  NC          11089420411
37595A51825655   KRYSTAL      WOOD                     AL          90014660518
3759637437B639   WILLIAM      THAXTON                  GA          15056353743
375969AA44124B   WILLIAM      TIMBERS                  PA          51053599004
3759957A68B19B   TERES        KIMBALL                  CA          90013475706
375B1836141285   MARK         KUNF                     PA          90012078361
375B2298191584   MARIA        GOMEZ                    TX          90014782981
375B2424691584   MARIA        LOZANO                   TX          90009524246
375B2445391525   FERMIN       CHAVEZ                   TX          90005724453
375B3136A2B255   ANTONIO      SAUNDERS                 DC          90012451360
375B3AA7155951   ISABEL       SANCHEZ                  CA          49014290071
375B46A287B449   CARINE       JOLINE                   NC          90002596028
375B484245B52B   ANTONIA      DELEIN                   NM          90013048424
375B4898A4B281   BRANDON      HUDSON                   NE          27017968980
375B528155598B   VANESSA      GARCIA                   CA          90014812815
375B552AA7B639   JESSICA      MARCEAUX                 GA          15083585200
375B588924B281   LISA         GERDES                   NE          90007678892
375B6967791584   SAUL         CORONADO                 TX          90008409677
375B727337B492   WENDY        BROADWAY                 NC          90014232733
375B769854124B   MATTHEW      HUBERT                   PA          51090136985
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375B782515B393   DARTGNAN         GEORGIADES           OR          44513978251
375B8826472B76   CATY             PLATT                CO          33091538264
375B886334124B   ADRIENNE         WILLIAMS             PA          90010718633
375B921497B639   SHAMBREKA        PUGH                 GA          90014932149
375BB13357B492   YON              DEE                  NC          90006441335
375BB685A4B281   ANA              MEDINA               NE          90011966850
376116A152B871   STACY            MARTIN               ID          42015916015
3761325157B639   JARON            PRIOR                GA          90014852515
3761341AA4B954   VIRGINIA         ESPINOLA             TX          90006744100
376136AA884381   DEBORAH          ISAACS               SC          19001956008
376149A585B52B   JOSEPHINE        SANCHEZ              NM          90001959058
3761528814124B   REBEKAH          MURPHY               PA          90000572881
37615612897B31   CAMILO           AGUILAR              CO          90012996128
3761713115B393   JANETH           GARCIA               OR          90013161311
3761792642B835   KEVIN            MCKINSTRY            ID          90003889264
37617948A41285   ABLYNN           HARBEY               PA          90009949480
3761852A82B87B   CODY             JOHNSON              ID          90014015208
376191A155B52B   KLEANTONY        SMITH                NM          35096111015
3761937245598B   ALMA             AMARAL               CA          90013943724
37619A6824B281   DALAN            URQUHART             NE          27075880682
3761B55732B87B   JOHN             LEMOINE              ID          42052675573
3761B72548144B   ROSE             WILLIAMS             PA          90013037254
3761B83652B835   HECTOR           SIUCE                ID          90009098365
3762129A28B167   MARK             DAVIS                UT          90007942902
37621A2A67B639   JORGE            TELLO                GA          90003960206
3762335352B835   DAWN             THOMAS               ID          90010463535
3762363542B87B   CORRENA          KESSLER              ID          90009956354
3762432245B526   THOMAS           SMITH                NM          90008853224
37624424772B76   MIGUEL           ONOFRE               CO          33060454247
3762498732B835   CHARLENE         MARROW               ID          90012409873
3762522952B871   PEDRO            VILLARREAL           ID          90011922295
376252A315B393   CRAIG            BURT                 OR          90014262031
3762634345598B   MARIA            GARZA                CA          90013143434
3762642312B87B   SHERI            BANDELEAN            ID          90012094231
3762688635B52B   CONSTANTI        ZAFRA                NM          35063638863
3762722825598B   AVILENE          BARROSO              CA          90014962282
3762764227B639   KARNESHIHA       LEONARD              GA          90010886422
376277A997B492   JEFF             POOL                 NC          90012787099
37627A28491584   CYNTHIA          CARRILLO             TX          90011130284
3762864984124B   CRYSTAL          LOWTHER              PA          90014706498
37628992A91893   ROY              LAGORE               OK          90013589920
3762949734124B   ERIC             ISLES                PA          90014714973
3762962837B639   JABRIA           THOMAS               GA          90014866283
3762975717B492   BRITNEY          BROWN                NC          90014687571
3762983122B835   PHIL             SLAATHAUG            ID          42029598312
3762984965B545   JOHNNY           BACA                 NM          90010388496
3762B121155972   PAMELA           LOPEZ                CA          48004441211
3762B31297B492   APRIL            HARMAN               NC          90013223129
37631A19A31424   LEEMER           OLIVER-BEY           MO          90004000190
37632A8684B281   CORY             CARLENTINE           NE          90012500868
3763385163B351   ERIC             BURGER               CO          33059268516
37633A75861945   CAROLINA         GONZALEZ             CA          90001530758
3763419994B281   CHRIS            COLLIER              NE          90009951999
3763441342B835   PAUL             FRITZER              ID          90000284134
3763441882B871   KRYSTLE          CABALTERA            ID          90012094188
3763473795B393   MAGGIE           LORENZ               OR          90011287379
3763511534B281   JOSHUAD          CAUDILL              NE          90013201153
3763634322B87B   ERIN             RUIZ                 ID          90003973432
3763667494B275   JORDAN           STEWART              NE          90008346749
37636A6975598B   MICHAEL SHEILA   BENNER               CA          90011010697
37637863A7B492   SHARIKA          JOHNSON              NC          90014968630
3763797247B851   CASIE            GRIFFIN               IL         90014509724
3763B2A832B87B   LYLE             JOHANEK              ID          42046022083
3763B8A795598B   ROBERT           SALINAS              CA          90014298079
3764164325598B   AIOTEST1         DONOTTOUCH           CA          90015116432
37641A2312B871   FRANCISCO        GALLEGOS             ID          90013760231
37642474A91831   JYME             GIBBS                OK          90003944740
3764268444124B   EMERALD          JONES                PA          90014706844
3764341885B393   JENNIFER         NUNEZ                OR          44576034188
376435AA67B639   CASH             MONEY                GA          90014615006
37643978A5598B   NICOLAS          ZAVALA               CA          90012909780
37643AA8191584   JESUS            SANCHEZ              TX          90007490081
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3764426825B393   TIANA         DANIEL                  OR          44513432682
376442A245B52B   MARIA         DELGADO-LOPEZ           NM          90014372024
3764446869125B   KEOSHA        HOSKINS                 GA          90005384686
3764548A27B471   CAROLYN       WILLIAMS                NC          11044394802
3764631165B393   RONNIE        JONES                   OR          44546033116
37646847A3B35B   RYAN          ROBINSON                CO          33080408470
3764712645598B   ALEJANDRA     SAHAGUN                 CA          90015181264
3764747447B639   ERIC          WILLIS                  GA          90014394744
3764793115598B   ALIBRA        CARTER                  CA          90011589311
37648A39155972   VICTORIA      FONSECA                 CA          48012070391
37648A5482B871   WILE          VILCAPOMA               ID          90003650548
376492A9A7B639   JACQUELINE    STEWART                 GA          15053102090
376497A224B281   MICHAEL       COY                     NE          27059427022
3764B22A72B835   VINCENT       PELCH                   ID          90014832207
3764B35A37B492   COOK          DENISE                  NC          90012583503
3764B41872B871   JOSHUA        LAROCQUE                ID          42030314187
37651642A91584   FRANCISCO     HANKINS                 NM          90014146420
3765241865598B   EZEQUIEL      REEVES                  CA          90012514186
376527A6155972   VIVIANA       HUERTA                  CA          48020017061
376531A3191893   LYNDSEY       VICKERS                 OK          90013591031
3765459AA91831   TIFFANY       GAINES                  OK          21004495900
3765473214124B   ALISHA        SMITH                   PA          90014587321
3765597522B87B   SCOTT         RIGGS                   ID          90011929752
3765639A855972   BRIAN         VIERA                   CA          48047993908
3765642A24124B   KIMBERLY      SMITH                   PA          90014514202
3765655617B639   VANGREEKA     HUNTER                  GA          90010295561
3765698412B835   VENTURA       CAMPOS                  ID          42031889841
3765759737B492   TRAPP         DIEGO                   NC          90015205973
3765924747B639   DAWN          ANDERSON                GA          15055092474
37659328448B59   JIMMIE        BAKER                   AZ          90013963284
3765959132B87B   JUAN          MARTINEZ                ID          42079545913
376619A394B55B   RUBY          ROBERTSON               OK          21501419039
37662561A5B393   KRISTONIA     BARNER                  OR          44585415610
3766298977B639   NATARSHA      ARMOUR-JOHNSON          GA          15029899897
37663997A91584   FRANSISCO     ROMERO                  TX          90014859970
37664261A41285   JUDI          YURKO                   PA          51011732610
3766426235B393   MA DE JESUS   HERRERA HERRERA         OR          90010832623
3766479A97B639   TERELL        GLOVER                  GA          90014247909
376649A1672B76   LASARO        SAENZ                   CO          33052059016
3766534394B281   CORAZON       MEJIA                   NE          90005413439
3766596127B639   SAYDA         XILOJ                   GA          90012039612
3766718347B492   KEVIN         LIPSCOMB                NC          90015221834
3766756164B281   CARLTON       WILLIAMS                NE          27010085616
3766781892B87B   DEREK         TREFREN                 ID          90009398189
3766797815B393   JULIO         BAEZ                    OR          90011979781
3766843542B871   REHANA        MOHAMMAD                ID          90006444354
37668518A4B275   JOSEPH        COMPTON                 NE          27015405180
3766926272B87B   TYRA          SMART                   ID          90006652627
376695A345598B   VALERIE       PEREZ                   CA          90014175034
3766972368B16B   VALERIE       TRUJILLO                UT          90008997236
37669725A4124B   SHARITA       WYATT                   PA          90014707250
3766981545B393   ELISHA        WESLEY                  OR          90009518154
3766B37788B16B   HUGO          LUEANOS                 CO          31088753778
3766B47932B87B   MANUELA       TAPIA                   UT          90000574793
3766B4A525598B   JACKIE        DAVIS                   CA          90011454052
3766B888155943   DULCE         DIAZ                    CA          90014528881
3767135687B639   CARMEN        DOMINGUEZ               GA          90015023568
376724A112B87B   RANDAL        HALLENBERGER            ID          42094604011
37672586A55951   CYNTHIA       ROBINSON                CA          90000335860
376726A2957537   HERMINIA      GUSMAN                  NM          35507896029
376729A394B281   GUADALUPE     BENITEZ                 NE          90013089039
3767356582B871   HEATHER       BRUCE                   ID          90014915658
3767394287B449   JOHNNIE       BARRETT                 NC          11052749428
3767468235B52B   YOLANDA       PARKER                  NM          90009046823
37674A65A5B393   MARIA         SALAS                   OR          90012770650
3767538462B835   JACKIE        VARGAS                  ID          90001803846
37676286472B76   ANDREW        CANNON                  CO          90008832864
376767A195B545   JACOB         GARCIA                  NM          90010957019
3767698612B871   ISMAIL        ABDI                    ID          90012929861
37679845A41285   WOODROW       TAYLOR                  PA          90009808450
3767B5A9641258   SANGAB        HUSSEIN                 PA          90014845096
3767B82154B281   JOSEPH        DILLOW                  NE          27078388215
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3767BA3317B639   KARIAN       WHITE                    GA          90014040331
376816A567B492   JOHANNA      JOHNSON                  NC          90013566056
37681AA8955972   LES          LEDBETTER                CA          48010740089
3768235868B16B   RAMONA       BECKSTROM                UT          31091693586
3768298824124B   MONTE        BANKS                    PA          90013809882
37684A4774B576   MICHELE      TAYLOR                   OK          90010990477
3768633535B52B   BRITTNEY     ABEITA                   NM          90014033353
376865A225B156   KANDICE      CLEVENGER                AR          90001355022
3768672857B471   YANETH       MENJIVAR                 NC          11043297285
3768733A54124B   RAN          GURUNG                   PA          90009973305
37687395A91584   MARTHA       CERECERES                TX          90010503950
3768745A85B393   MIRANDA      WARDROPPER               OR          90005284508
3768841154B281   MEGAN        PALMA                    NE          27071234115
3768938A65598B   MARTIN       MATA                     CA          90012243806
37689395A91584   MARTHA       CERECERES                TX          90010503950
3768946672B87B   BRANDY       MCEWEN                   ID          90014714667
3768962859156B   OCTAVIO      GUTIERREZ                TX          75057416285
3768964325598B   AIOTEST1     DONOTTOUCH               CA          90015116432
3768985392B871   ANN          FORTIN                   ID          42036348539
3768B175141285   TAMMY        CARTIERI                 PA          90014841751
3768B34484124B   NATHAN       ALLEN                    PA          90015173448
3768B4A1833634   RONNIE       STATON JR                NC          90009174018
3769176A42B871   CARMEN       MARTINEZ                 ID          90013577604
37692A8197B639   NATIKA       MARSHALL                 GA          90008210819
37693395A91584   MARTHA       CERECERES                TX          90010503950
3769381274124B   MICHAEL      ALCUTT                   PA          51034318127
3769391695B52B   ALEJANDRIN   BARRON                   NM          35005509169
3769462A531424   KAMILAH      ARTHUR                   MO          90011196205
3769466357B639   TOYEE        BRITTON                  GA          90014866635
3769573687B449   LYNETTE      DIXON                    NC          11047237368
3769615A35598B   VICTORIA     BENNETT                  CA          90011581503
3769714485B52B   GUADALUPE    MOLINAR                  NM          90013631448
376974AA655972   CAROL        ISKNDERIAN               CA          90014154006
3769776984124B   GARY         BROWN                    PA          51002407698
3769779AA7B639   JASMINE      THOMAS                   GA          90014717900
37697983672B76   CARLOS       PEREZ                    CO          33079709836
3769818414B275   MARTH        ACEVEDO                  NE          90002361841
3769894777B449   FORTUNATO    GARCIA                   NC          11076599477
37699131A4B281   DAVID        LUIKENS                  IA          90010471310
3769942312B871   SHERI        BANDELEAN                ID          90012094231
3769947525B593   LUIS         TRUJILLO                 NM          90012084752
3769962712B835   SONNY        REGES                    ID          90010836271
3769B381843521   ROSS         MATHEWS                  UT          31004163818
3769B388231424   MAGDALENA    POSAS                    MO          27535293882
3769B64214124B   LAJUANDA     SHERWOOD                 PA          51043106421
3769B877781482   JOHN         GREISHAW                 PA          90014238777
376B127727B429   WINIFRED     STEVENS                  NC          11065802772
376B131A331424   ASHLEY       PURVEY                   MO          90012523103
376B1423755972   CARRIE       OLDHAM                   CA          90013924237
376B1735341291   NICOLE       RISHEL                   PA          51086817353
376B17A915B393   ROBERT       MCCLAREN                 OR          44569927091
376B197595B52B   JAEL         CHAVEZ                   NM          90002029759
376B243362B871   AURELIO      FRAUSTO                  ID          90014604336
376B2792691584   CRYSTAL      HUMPHRESS                TX          75019447926
376B299A92B87B   SONYA        SANKEY                   ID          42044869909
376B3851191831   SHAMIKA      SIMPSON                  OK          21011738511
376B4777355972   PEREZ        MIGUEL                   CA          90005387773
376B543542B871   REHANA       MOHAMMAD                 ID          90006444354
376B6224651382   SHERESE      WASHINGTON               OH          90011842246
376B659774124B   MARIAH       CRAIG                    PA          90014705977
376B6A5665598B   MANUEL       JASSO                    CA          49014670566
376B7971191584   ROBERT       GARCIA                   TX          90014859711
376B841A157123   OCTAVIO      GANDARILLAS              VA          81080364101
376B894954123B   JAMIE        BINGHAM                  PA          90012519495
376BB97A78B16B   DEREK        HENDRICKS                UT          31026029707
376BBA5794B275   DAVID        ADAMS                    NE          27056410579
377123A277B639   MARY         BEAVER                   GA          15066093027
3771277A34B281   LATAYNA      THOMAS                   NE          90011917703
3771343A17B492   SHIRLEY      MACKINS                  NC          90014614301
37713854A41258   SAMUEL       RIGGI                    PA          90014128540
377138AA72B871   TRINITY      BOUNDS                   ID          42083158007
377147AA14124B   ALYSE        BAKER                    PA          51024477001
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3771489A291584   VIANNEY       VARGAS                  TX          90014768902
3771576A771932   JOSE          SANCHEZ                 CO          90011227607
37715824A4124B   BETTY         MALONE                  PA          90006428240
37715A6612B87B   ROBERT        MONROE                  ID          42003560661
3771643527B492   GENA          RICE                    NC          11049444352
3771658975B393   RACHEL        JENNINGS                OR          90013305897
37716951998B61   TRACY         BREWINGTON              NC          90014119519
37716A21591584   MARIA D       SANDOVAL-MARRUFO        TX          90014860215
377181A7784332   KIRI          JANNEY                  SC          90001771077
3771848445B393   MIKHAIL       YASINSKIY               OR          44560974844
37718A12691869   JUAN          RUBIO JR                OK          90008710126
3771979745B52B   MARY          ARAGON                  NM          35024507974
3771B27237B449   RICK          ALLEN                   NC          11009882723
37721A68231424   BRENDA        BARNES                  MO          90005920682
37723699A7B639   ALEX          WILLIAMS                GA          90013406990
3772372517B492   RAVEN         ARTHUR                  NC          90014697251
3772374364B275   JEANETTE      FENNER                  NE          90004777436
37723A1295598B   JOSE          SOSA                    CA          49090500129
3772415575B393   KANEWAI       AHINA                   OR          44520231557
37724A1257B639   GUDRUN        FROST                   GA          90012020125
3772548685B52B   RICARDO       SALCIDE RIVERA          NM          35014524868
37725496A2B87B   CONDOLA       KELLY                   ID          90010184960
3772585565B52B   RICARDO       SALCIDO RIVERA          NM          90012698556
3772749734124B   ERIC          ISLES                   PA          90014714973
3772758162B871   KAYLA         LAWS                    ID          90009195816
3772767515B156   JASMINE       WIGGINS                 AR          23028746751
3772863615B52B   PATRICIA      GURROLA                 NM          35002886361
3772896962B241   ASHLEY        MCNELL                  DC          90013979696
37728A8865B393   LINDSEY       WARREN                  OR          90014730886
3772917498167B   AMBER         BARNES                  MO          90013141749
3772989827B471   JERRY         SIMPSON                 SC          90005278982
37729A6A57B639   JUANITA       PITE                    GA          90003610605
3772B738631424   GLORIA        WELLS                   MO          90003067386
3773131927B639   CHRIS         ELLISON                 GA          90002323192
3773162817B471   RICH          CHRISTIE                NC          90009216281
37731A8487B422   JAMES         BOWMAN                  NC          90012540848
377326A622B87B   SHYRA         TAMEZ                   ID          42093186062
3773281197B639   RISHA         STEPNEY                 GA          90014718119
3773286435B52B   ALEJANDRIN    AVALOS SANCHEZ          NM          35009208643
3773322A941258   GUILLERMINA   HERNANDEZ               PA          90012412209
3773347718B17B   MARY ANN      SNYDER                  UT          90005024771
3773387422B828   MARK          STEVENS                 ID          42072118742
37734688A4B281   DIEGO         HERNANDEZ               NE          90015066880
3773469A191893   TREASE        MELTON                  OK          90013596901
3773515825B52B   SHAQUILLE     MEADE                   NM          90001971582
3773537717B639   ALEXIA        JACKSON                 GA          15060633771
377355A9255951   MANUEL        OCHOA                   CA          90011835092
377382A3341258   TIERENY       GREGRORY                PA          51044992033
3773919842B271   LASHONTA      WARD                    DC          90014701984
37739298136B43   JAMES         MARSH                   OR          90004272981
37739A52A91831   VICTORIA      GARCIA                  OK          90011870520
3773B55484124B   GENEVA        CASH                    PA          90014715548
3773B73742B871   DAVID         VARIE                   ID          90011017374
3774158954124B   MICHEAL       SMITH                   PA          90014715895
377417A825B393   BRENNAN       BALDWIN                 OR          90010457082
3774183764B281   CARLESHA      MCCULLOUGH              NE          90013898376
3774365815B393   GLENNA E      RABADON                 OR          90015256581
3774384A691232   WILLIAM       JOHNSON                 GA          90007638406
3774388222B835   JACINTO       VILLICANA               ID          90014998822
3774498A75B393   DORA          MONTES                  OR          44556199807
37744A44591525   VIRGILIO      DOMINGUEZ               TX          90003860445
37745149A41258   CHRISTOPHE    LIVSEY                  PA          51072851490
3774585287B471   ANTONIO       SANDERS                 NC          90004268528
3774612244B281   TYLER         GUSTAFSON               NE          90013401224
37746398A91831   ANGELA        PLUMMER                 OK          21093853980
377463A187B639   WASH          TYLER                   GA          90012903018
3774656935598B   MARIO         MENDOZA                 CA          90011965693
3774781274124B   MEL           WILSON                  PA          51082398127
3774916A741258   YVONNE        MURRAY                  PA          51094161607
377493AA751383   BRIAN         CONNER                  OH          90001003007
3774952432B871   CHRISTINA     KNIGHT                  ID          42089405243
377497A565598B   PHIA          XIONG                   CA          90004197056
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37749A5574B281   BLAKE       WEBSTER                   NE          27054010557
3774B593351325   LYDIA       WOSSEN                    OH          90010145933
3774B893A72441   SUSAN       GERHARDT                  PA          90010708930
3774BA6A572B76   KIMBERLY    BUCHER                    CO          33066790605
3775263434124B   RON         MAYFIELD                  PA          90014716343
3775297955B393   AJA         STACY                     OR          90008949795
3775331574B275   EVELIN      MEDRANO                   NE          90004913157
3775383677B639   DARNISHA    COBB                      GA          90010888367
37753965A91232   MICHAEL     WINN                      GA          90007859650
3775427A54124B   VADYM       MARCHENKO                 PA          90006132705
37754967A72B76   AZUCENA     MARTINEZ                  CO          33077329670
3775511188B16B   LARSON      DAVID                     UT          31062151118
3775514857B492   LETICIA     SILVA                     NC          11060381485
377564AA47B492   SEAN        MORTON                    NC          90000594004
37757539772B36   MANUEL      ROBLES PEREZ              CO          90005045397
3775894884B281   FERNANDEZ   MANUEL                    NE          27043739488
3775934852B871   CHERYL      GOLDSTON                  ID          42026613485
3775B57292B871   JOSE        MALDEONADO                ID          42039495729
3775B611641251   ALBERT      POZZUTO                   PA          90001956116
3775B7A945B52B   JENNIFER    DUNN                      NM          90010967094
3776113655B52B   UNALE       PATRICK                   NM          90011261365
3776231987B639   QUENTIN     CANTIDATE                 AL          90012163198
37762649A5598B   JENNIFER    BACKER                    CA          90005996490
3776433442B87B   ESCOBAR     RAMIREZ                   ID          90010243344
3776441728B16B   GUY         HADLEY                    UT          90003414172
37764A2A941258   DENICE      GRAY                      PA          51055590209
37764A8235598B   EARL        SPARKS                    CA          90011590823
3776518714B281   JOE         ROCHA                     IA          27039501871
37766A46191584   GLORIA      TORRES                    TX          90014860461
37769437A72B76   STEFANIE    EYMAR                     CO          33066324370
3776977164B281   RYAN        STUTZMAN                  NE          90014337716
37769A89976B64   CARLOS      MEDINA                    CA          90010170899
3776B16A181557   JOSE        VILLAFURTE                 IL         90015461601
3776B53A65B52B   MARIADEL    RANGEL SANTILLAN          NM          90013815306
3776B722141285   DAUNE       DAVIS                     PA          90014777221
377713A1491893   JANICE      HARVEY                    OK          90012003014
3777341668B273   RUTILO      PEREZ ROMAN               VT          90015324166
37773A3A991893   CHARLES     WHITE                     OK          90013580309
37773A5352B835   SHELLEY     CARTER                    ID          42068160535
377744A1372B76   GAYLE       ELKINS                    CO          33067564013
3777717947B492   JERRY       REID                      NC          11019931794
3777733687B639   DAVID       BEST                      AL          90012163368
3777791787B449   KEVIN       FAIR                      NC          11093669178
3777851587B449   FLOYD       DAVIS                     NC          90002925158
37778A46191584   GLORIA      TORRES                    TX          90014860461
3777952A55598B   BRAD        WOODARD                   CA          90014675205
3777B4A732B871   PAUL        STAMP                     ID          90006194073
3777B98314B275   CHERYL      HOFFMAN                   NE          27007759831
377815A147B471   LEN         JACKSON                   NC          11067375014
3778169615B393   MICHELLE    HUSTON                    OR          44547536961
3778234497B492   JAMARICA    LOTT                      NC          90011963449
377823A5241285   JESSICA     STANLEY                   PA          90014503052
3778243A65B52B   DIANNA      MACLELLAN                 NM          90013254306
37782A36476B69   ASHLEY      RODRIGUEZ                 CA          90014850364
3778353A191893   LESLIE      HAMILTON                  OK          90013495301
3778361A191584   VERONICA    MORENO                    TX          75036046101
3778385A772B76   ALEJANDRA   HERNANDEZ                 CO          33016068507
3778424AA41258   LESLIE      COLE                      PA          51014992400
37784515A41258   ADAM        GISSIN                    PA          90013915150
37784A73998B61   RUTH        LAKE                      NC          90010080739
377865A575598B   ADRIANA     SEPULVEDA                 CA          90003875057
37786AA9855951   JESUS       HERNANDEZ                 CA          49075090098
3778712543B239   DELINE      REED                      DE          90012531254
3778772932B87B   CONNER      HOY                       ID          90010067293
3778825849125B   TERESA      DUTCHER                   GA          90011982584
3778844342B835   AHMAD       ASLAMI                    ID          42084274434
3778889485B156   TONYA       COLLINS                   AR          90000648948
377888A992B871   MELISSA     SEARLE                    ID          90002448099
3778949294B281   SHIRLEY     THOMAS-BASS               NE          90002934929
3778B133A5B393   VIVIAN      MORAN                     OR          90013161330
3778B332357123   DEBORAH     AHENKA                    VA          90004893323
3778B3A535598B   JOSEPHINE   GARIBAI                   CA          90012803053
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3778B7A4861945   JOEL          SANTIZ                  CA          90011377048
37791411A91525   CLAUDIA       BERNAL                  TX          75090884110
3779151454B281   AMY           ELSASSER                NE          90010425145
3779153834B275   AARON         YECK                    NE          90008385383
37791AA1591893   LINDSAY       LANDRUM-NAATZ           OK          90013600015
3779229424B281   KA MITA       SMITH                   NE          90013602942
37792684A5B393   SONIA         IEHUSER                 OR          90012696840
37793A7115B52B   MARY          ALDERETE                NM          35088140711
3779458677B449   AYO           ROANE                   NC          90005495867
37794637A9152B   MARIEL        SALDANA                 TX          90012716370
37794A26691893   JAMMY         OLGUIN                  OK          90013600266
37795149944B45   LAURIE        MUNTEAN                 OH          90014311499
37795341272B36   ARNOLDO       MARTINEZ                CO          90001433412
3779617947B492   JERRY         REID                    NC          11019931794
3779624567B471   DIANE         RABOUIN                 NC          11078872456
3779645912B871   STEVE         LUTGARDE                ID          42073764591
37796A2A95B393   LINDA         GUTIERREZ               OR          90014640209
3779731155598B   CHENG         VANG                    CA          90011233115
37797A5272B87B   GLADYS        OBESO                   ID          90000790527
377984A234B281   CHRISTOPHER   RYAN                    NE          90012344023
3779853834B275   AARON         YECK                    NE          90008385383
3779935AA4B281   HESTER        EUGENE                  IA          90014963500
3779974558B16B   RICKY         WARREN                  UT          90003417455
37799A7544124B   JOANN         MELZER                  PA          90010430754
3779B22272B835   APRIL         HAMMONS                 ID          42045062227
3779B68324124B   EBONY         POINDEXTER              PA          90014716832
3779B96A791831   CHARLOTTE     CARTER                  OK          90002469607
377B159495B52B   ANTONIO       LOPEZ                   NM          35091915949
377B18A412B835   ADAM          SISNEROZ                ID          90010058041
377B379AA7B639   JASMINE       THOMAS                  GA          90014717900
377B445995B393   CYNTHIA       WASHINGTON              OR          44545484599
377B5625732573   CHRISTOPHER   BARNES                  TX          90013956257
377B612475598B   FABIAN        RODRIGUEZ               CA          49061011247
377B6442A2B871   RONNI         TAYLOR                  ID          42066864420
377B7624355972   YOALI         RAMIREZ                 CA          90013896243
377B851512B87B   JOHN          SAFFORD                 ID          90013675151
377B926A27B639   ANTONIO       JOHNSON                 GA          15068032602
377B9599A41258   LEOVARDO      POLANCO                 PA          51023265990
377B979454124B   JENNIFER      IHRIG                   PA          51087657945
377BB132555972   DELMY         ROSALES                 CA          90008641325
378113AA82B835   ED            BRYAN                   ID          42015803008
3781187764B281   BLANCA        ERAZO                   NE          90013778776
3781195595598B   JUAN JOSE     GONZALEZ-CRUZ           CA          90009409559
37811A19491584   ALEX          DE LA ROSA              TX          90005710194
3781265322B835   MIKE          DAVIS                   ID          42092446532
3781296A87B492   STERLING      HOLLAND                 NC          90014729608
37813281972B76   MONICA        HERNANDEZ               CO          33062302819
37813476A5598B   JUANITA       RAMIREZ                 CA          49061474760
37813A3637B384   BLANCA        MELGAR                  VA          90001050363
3781416A255951   ERIC          JIMENEZ                 CA          90013351602
3781522424124B   KELLY         HILSON                  PA          90007972242
3781532737B639   SERENA        BAKER                   GA          90010523273
378162A4A7B359   ERNESTO       TELLERIA                VA          90001602040
3781644922B871   CHRISTINA     CRADDICK                ID          90008454492
37816786372B76   JOSH          DAVIS                   CO          33065657863
3781694677B449   WALTER        HOPKINS                 NC          11042069467
378179A567B639   LYDELL        BAKER                   GA          15053319056
37817A23291232   LAKISHA       HOLMES                  GA          90001240232
3781913AA41285   AMY           DAVIS                   PA          90010051300
3781964A685921   JETIA         WEATHERFORD             KY          90014856406
3781998967B492   FRANCES       GODWIN                  NC          11028049896
3781B529291243   HOPE          STEWART FORD            GA          90001445292
3781B596A31424   SHANNON       SCURLOCK                MO          90014275960
3781B934A5B52B   PAOLA         GARCIA                  NM          35040069340
3782139792B835   DANIELLE      VIALET                  ID          90012923979
378215A162B835   LIZZETH       SERRAN                  ID          90002535016
3782173784124B   YAKESIA       GREEN                   PA          90014717378
3782185985598B   MARIBLE       REYES                   CA          90006338598
37821A36891584   ANDRES        MARQUEZ                 TX          90014340368
378233A9A5B393   BRIAN         TIMGLEY                 OR          90013343090
3782373374124B   CAROL         ANDERSON                PA          51018857337
37824277872B76   FROYLAN       PEREZ                   CO          33083372778
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37824281A9152B   RAUL        GARCIA                    TX          90010042810
3782626244B281   LARRY       BOWERS                    NE          90007172624
3782673117B492   KATHLEEN    STARR                     NC          90005377311
3782739925B393   GUADALUPE   FARIAS                    OR          90014613992
37827428324B41   MARCELUS    BROOKS                    DC          90010534283
3782761A191893   SHURON      DAVIS                     OK          90014566101
378283A235B52B   AMBER       COGDILL                   NM          90011883023
3782851862B835   ED          WARD                      ID          42061115186
3782882294124B   PATRICIA    TALLON                    PA          51085808229
3782886728B16B   RUTH        RAMOS                     UT          90010478672
3782935742B87B   MIKE        CAMARIO                   ID          42020323574
3782B11852B835   SUZANNE     BRADY                     ID          90012941185
3782B23724B275   KENNETH     NELSON                    NE          90003702372
3782B751641258   TAWNEE      JACKSON                   PA          90011967516
3783195632162B   JOSE        RAMIREZ                   OH          90014109563
3783223185598B   JULIA       RODRIGUEZ                 CA          90010742318
378325A7A91538   JESUS       MORENO                    TX          75088125070
378335A8172B76   LORI        STEVENSON                 CO          33084675081
37833AAA555951   JULIO       JIMENEZ                   CA          90011840005
3783421345B146   DONNA       ACAR                      AR          90006272134
3783449AA2B871   REGINA      GALLION                   ID          90011074900
378354A8472B76   ATHENA      RAGAN                     CO          90005654084
37836692597B31   ROBERTO     FLORES                    CO          90010936925
37837454A5B393   TAMMY       HOBBS                     OR          44531464540
3783774842B87B   CINTHIA     CEJA                      ID          90011857484
3783881925598B   THOMAS      CORONADO                  CA          90008268192
3783937327B639   BETH        DENUEX                    GA          90014423732
37839A91A91584   BRANDIE     BERGE                     TX          90014860910
3783BA8245B52B   MARCO       PLATA                     NM          90006250824
378425A8655985   JOAQUIN     ZAVALA                    CA          90007935086
3784269417B639   DOMINIQUE   MOORE                     GA          15093216941
3784382A22B871   KAREN       SARJEANT                  ID          90002088202
3784398585B393   CHRISTIE    RICE                      OR          90010319858
37844392A5598B   WILLIAM     STONE                     CA          49075523920
37845A82491584   SONNY       MENDOZA                   TX          90005710824
3784645632B871   TIM         CRAWFORD                  ID          42091614563
3784736514B276   APRIL       WADLEIGH                  NE          90002433651
37847A3132B87B   KENDRA      TORES                     ID          42022420313
37848916A2B835   KAREN       BULGER                    ID          90012579160
3784921675598B   JOSEPHINE   HINOJOSA                  CA          90011592167
3784B26862B87B   SERGIO      CISNEROS                  ID          90009872686
3784B41855B52B   JOHN        THOMPSON                  NM          35073284185
3784BA7882B835   JOSE        RODRIGUEZ                 ID          90006220788
3785116533B334   HECTOR      DELAVEGA                  CO          33026501653
3785144A32B87B   BERTO       GONZALEZ                  ID          90011734403
3785165112B871   BEN         MADSEN                    ID          90010486511
3785174684B281   EDEM        KEGEY                     NE          90015367468
378521A3891584   RAUL        NEVAREZ                   TX          90014861038
3785225485B52B   ROQUE       ACOSTA                    NM          90014572548
3785327214124B   JORGE       DE LA CRUZ                PA          51048442721
378547AA151347   CATRINA     JACKSON                   OH          90014207001
37855746A91584   GLORIA      CARRILLO                  TX          90011227460
37856799772B76   PAULA       FAHILGA                   CO          33065257997
37856A4755B393   MATQUETTA   OSBORNE                   OR          90015060475
3785799A74B275   CARLOS      FUENTES                   IA          27081069907
378581A6291584   CESII       HARRIS                    TX          90014861062
3785852442B871   ANNE        WILSON                    ID          90005995244
3785856435B156   ADRIANA     GIGLI                     AR          90013075643
378589A392B835   MARISA      GARZA                     ID          42092859039
37858A77191831   CASSIE      BRYAN                     OK          90009070771
3785919A75B37B   DOUG        OLINGER                   OR          44586311907
378591A1155972   JAIME       FLORES                    CA          48088201011
3785931287B639   RICHARD     WAGES                     GA          15074383128
3785B148891584   SONIA       LOPEZ                     TX          75095771488
3786191112B835   SHAWN       JONES                     ID          90014639111
378619A133B39B   ELLEN       KANOZA                    CO          90001169013
378625A314124B   PHILLIP     ALMENDAREZ                PA          51069545031
3786344757B492   CHRISTIE    SENTER                    NC          90014754475
3786444A391893   JUSTIN      NAUGLE                    OK          90001274403
3786454174B281   RODNEY      JONES                     NE          27069945417
3786454247B492   KAREN       BRIDGES                   NC          90014745424
3786524434B554   TONYA       CAMREN                    OK          90010812443
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3786563985B393   YOJAINER        OLANO                 OR          90015296398
3786565517B639   ELAINE          HORNE                 GA          15086606551
3786589672B871   JULIA           MORSE                 ID          90009958967
378661A8855951   CYNTHIA         MONTEZ                CA          49090411088
37866866372B32   MATTHEW         SAILAS                CO          90012628663
3786727237B473   CRYSTAL         TADLOCK               NC          90006892723
378674A5691584   TRINA           SANDOVAL              TX          90009664056
3786761A191893   SHURON          DAVIS                 OK          90014566101
37867AA9A72B76   KORODAJ         STEPHANIE             CO          33017780090
378684A9A2B871   ADRIAN          ARREDONDO             ID          42097754090
3786985394124B   HEATHER         PETRO                 PA          90014718539
37869863A5B393   ZAKKARY         FIELDS                OR          90013698630
3786B82715598B   AGUSTIN         ABECERRA              CA          90013668271
3786BA18672B76   MICHAEL         MAES                  CO          33041580186
37871A11A2B835   RAYMUNDO        HERNANDEZ             ID          90013890110
37872518176B58   CATHERINE       BRADEN                CA          90014815181
378729A525B393   DAVIS           TURNER                OR          90013639052
3787331835598B   CLARISSA        RIVERA                CA          90002623183
3787389A85B156   INGRAM          MURPHY                AR          90014358908
3787635215B393   ROSA            AVENDANO LOPEZ        OR          90011833521
37876A83755972   ANDY            LIMA                  CA          90011130837
3787741197B449   BECKY           HART                  NC          90001704119
3787889355132B   MARANDA         KINKADE               OH          90010658935
37878954376B64   JESSICA         PLIEGO                CA          90010349543
378789A4A7B449   TRULISA         COBB                  NC          11046369040
3787919A941285   MELINA          SETTLES               PA          90015391909
37879596A5B255   GRORGE          SKAER                 KY          90012335960
3787982942B871   RACHELLE        DIETRICH              ID          42093518294
3787B85512B87B   GREISY          COTA                  ID          90011168551
3787BA2275B52B   STEVE           MILLER                NM          90012400227
37881159A91584   ELIZABETH       ESPERZA               TX          90008441590
3788179237B492   MARINA          MALDONADO             NC          90014747923
37881A3A22B87B   KATHERINE       STEWART               ID          90009410302
37882454A41258   SHANICA         VAUGHN                PA          51046814540
3788379237B492   MARINA          MALDONADO             NC          90014747923
37884311A2B87B   JOSE            AVILA                 ID          90002833110
37884A64A55951   WILLIAM         HARRIS                CA          90010130640
3788529525B52B   JOSLYNN         GERBER                NM          90014542952
3788585167B492   TRIMIA          DAVIS                 NC          90007348516
378868A9455951   JENNIFER        GOMES                 CA          90009278094
3788695A15598B   EUGENIA         DIAZ                  CA          90013039501
3788793292B221   MEHERET         ALEMSEGED             DC          90013509329
37887A95541285   BETTY           MURPHY                PA          90010970955
37888219A91831   AMARE           EWNETU                OK          90009782190
3788889917B639   SHERRY          PACHECO               GA          15046328991
3788B631561945   MARCO           SALGADO               CA          90002666315
37891199A41258   MILTON          ELDER                 PA          51082431990
3789212677B277   NICOLE          GENTILE               NV          40566221267
3789265537B639   VERDELL         WHARTON JR.           GA          15099806553
3789324712B835   CAROL           HUMPHERYS             ID          42012462471
37894A4932B87B   MYREE           BLANKENSHIP           ID          90014000493
3789552944B281   KALILA          GORDON                NE          27052495294
3789554727B492   TANYA           WATSON                NC          90010105472
37895758A31472   JENNIE          JOHNSON               MO          90001787580
3789614425598B   JEANNA          PEREZ                 CA          90009791442
3789675175B345   NORMA           LOPEZ                 OR          90010437517
3789751275B52B   KAMIYA          YOUNG                 NM          90012715127
3789828835598B   SHELLY          AMEY                  CA          90014812883
3789921675598B   JOSEPHINE       HINOJOSA              CA          90011592167
37899761A55972   ISABELA         RENNE                 CA          90013937610
37899A7872B87B   PURNA           ADHIKARI              ID          90013620787
3789B757A2B835   KRIISTEN        RYBA                  ID          90013377570
3789B872A5B359   CELESTE         PEACOCK               OR          44579828720
3789B87AA5B156   MARTHA ANDREA   SAAREDRA              AR          90006518700
378B1111591B33   GONZALO         CAMACHO               NC          90014451115
378B117392B87B   MATTHEW         BOMAN                 ID          90013521739
378B1A49741285   LINDA           DUFF                  PA          51093070497
378B368664124B   DAKOTA          GOODWIN               PA          90014716866
378B3728731424   KATHALEEN       SHAW                  MO          90005587287
378B3855455972   MARIA           MARISCAL              CA          90014818554
378B4366355951   AZUCENA         DIAZ                  CA          49017893663
378B469564124B   WADE            KIRK                  PA          90014716956
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378B512AA7B639   BRITNEY      DAISE                    GA          90010471200
378B5335391584   ROMAN        CARRILLO                 TX          75035463353
378B6769855951   HANA         SADEDDEEN                CA          49083347698
378B6816A5B393   MATHEW       FUJIYOSHI                OR          44594358160
378B6973191584   BARCLAY      PEOPLES                  TX          90009309731
378B6A6674B281   CYNTHIA      POMMELLS                 NE          27071560667
378B733972B871   HORACIO      FIERROS                  ID          90013663397
378B7376A55972   YESENIA      CORTES                   CA          48004313760
378B737837B384   NELSON       CASTELLON                VA          90001703783
378B763A831988   ADAM         SPEICHER                 IA          90013966308
378B786827B492   LAYTON       SANDERSON                NC          90014728682
378B8488A5B393   MICHAEL      RYAN                     OR          90013854880
378B937252B835   DEVIN        FLETCHER                 ID          90012913725
378B9AAA857B79   SHANELL      WINGO                    PA          90011310008
378BB567831424   TERESSA      HENRY                    MO          90014275678
378BB729A2B87B   ANDRES       VALDEPENA                ID          90011857290
378BB848255951   ANGELA       LOPEZ                    CA          90011838482
37911521A7B639   SAMANTHA     HOOD                     GA          90013195210
3791156555598B   AMBER        RETANA                   CA          90012955655
3791156A141285   KHALIL       VENNIE                   PA          90013455601
3791163492B835   BRUCE        BOLANDER                 ID          42030476349
3791277659125B   DEBORAH      BOWSER                   GA          14576167765
37912A53755972   BENITA       TAPIA                    CA          48004430537
3791313952B87B   PATRICK      WEST                     ID          42081471395
3791326A25B58B   AMADOR       PRIETO                   NM          35087652602
3791397972B871   CHRISTINE    LAWSON                   ID          90006499797
37913A6A15B393   BARRY        BURDETT                  OR          44595390601
379147A6655972   JAKE         PARNELL                  CA          90013957066
3791486712B871   STEVEN       PFEIFFER                 ID          90011018671
3791671912B835   NATALY       RAMIREZ                  ID          90012007191
3791679555598B   LUIS         TOPETE-LANDIN            CA          90013217955
37918361A2B835   KAYLI        CORBIN                   ID          90010633610
3791924418B19B   JOSEPH       WALLS                    UT          90010592441
3791968772B87B   LUIS         SANDOVAL                 ID          90014036877
3791B92444124B   BETTY        QUINN                    PA          90014719244
3792318A791584   MEDINA       ALICE                    TX          90008631807
3792359182B835   ANNMARIE     BELLEZZI                 ID          90003505918
3792467862B835   KRISTEN      VENABLE                  ID          42075836786
37925437A5598B   ENRIQUETTA   MILCHOR                  CA          90013024370
3792578A576B7B   ALBERTO      ZARATE                   CA          90007267805
37925A5345598B   MARIA        CORTEZ                   CA          90014650534
3792624747B639   DAWN         ANDERSON                 GA          15055092474
379262A1691831   TAMARA       WALTERS                  OK          90015212016
3792661222B835   ALEJANDRO    HERNANDEZ                ID          90001856122
3792664717B449   SARA         FLORES                   NC          11007466471
3792684A255972   JOHNNY       BLAZE                    CA          90013938402
37928723972B76   DEATRA       DUKES                    CO          90004337239
3792913367B492   MARSHELL     WILLIAMS                 NC          90014761336
3792B148755972   CARLOS       SANTACRUZ                CA          48013891487
3792B357541285   CLINTON      ENSWORTH                 PA          51074513575
3792B45895B52B   KENNETH      MESSLER                  NM          90014594589
3792B4A3891831   DALTON       SIRMON                   OK          90014704038
379317A2151382   JUAN         WILLIAMS                 OH          66060077021
3793247174124B   DAVID        WALZER                   PA          51057834717
3793294485B393   CHRISTINE    WOODRICH                 OR          44513839448
37932A48955972   ALBERT       VILLARREAL               CA          90013160489
3793321855B52B   ELAINE       HERRERA                  NM          90002982185
37933471A2B87B   GILBERTO     ROMAN                    ID          42069544710
3793365954124B   CHRIS        RUDD                     PA          51014316595
3793385317B639   BRITNEY      FORD                     GA          90013248531
37934543A2B835   SHANE        BOWERMAN                 ID          90010765430
3793534AA2B87B   KENDRA       HOLOMSHEK                ID          90006443400
3793573665B52B   CHAVIRA      HECTOR                   NM          35019797366
37936311A7B639   WILDER       DIAZ                     GA          90013983110
3793769359155B   RAQUEL       MCGHEE                   TX          90002506935
3793781452B835   DELECIA      DENNIS                   ID          90010158145
3793846627B639   AKEVEYA      SEARCY                   GA          90014514662
3793886712B871   STEVEN       PFEIFFER                 ID          90011018671
3793922855B393   DELBERT      STONE                    OR          90010872285
3793B237155972   ANGELA       BOCANEGRA                CA          48095332371
3793BA66241258   WILLIAM      SEATON                   PA          90007820662
3794162573B388   GRISELDA     ORTEGA                   CO          90014796257
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3794163A955972   GARRETT      SIMON                    CA          90007906309
37941A4932B87B   MYREE        BLANKENSHIP              ID          90014000493
379425A7A9125B   LONNIE       LOVE                     GA          14512845070
37942A59591893   FERNANDO     RAMIREZ                  OK          90013610595
379432A964B275   VELLITA      BROWN                    NE          27091232096
3794441725B52B   ANTHONY      MCCAUSE                  NM          90010434172
3794452842B835   IAN          RHODES                   ID          90012235284
379449A874B275   JACKI        SPRINGER                 NE          27021429087
3794562762B835   SALVADOR     VENTURA                  ID          90007956276
3794633418B16B   JESSICA      HANRION                  UT          31061163341
3794658615598B   CARLOS       DONNADIEU FARRET         CA          49015305861
3794658784B281   RAMON        GONZALEZ                 NE          90014085878
3794738827B639   DAVINA       JAMES                    GA          15066053882
37947428A55951   JAMES        ALTAMIRANO               CA          49065154280
37948A65591861   EVANGELINA   ESPARZA                  OK          90013950655
3794B49955598B   ALICE        MCCRAW                   CA          90004354995
379522A3841258   VICKI        BRANSFEILD               PA          90003192038
3795285382B87B   NATHAN       HOPPER                   ID          90009398538
3795332642B835   WALERY       GORETOY                  ID          42038393264
3795372132B871   JULIE        MCKINLEY                 ID          42068867213
3795416A17B639   ALEXANDER    MEADE                    GA          90015241601
37954224A41258   TRENT        GERBI                    PA          90001612240
3795482AA51331   CHARLES      GREER                    OH          90013958200
3795769332B835   CHAZ         VARGASON                 ID          90014906933
3795835312B87B   DANIEL       ABEDI                    ID          90013743531
3795B397751325   KYLE         SOUDER                   OH          90001543977
3795BA88491893   DAVID        SHINN                    OK          90013610884
3795BAA115B393   JEFFREY      SPEAKE                   OR          90011070011
3796123695B393   DAVID        FAGERBERG                OR          44575892369
3796153964124B   COURTNEY     DAWKINS                  PA          51079585396
379616A2A31424   DENNY        ROEDEL                   MO          27550366020
3796238AA44B5B   BARBARA      KAUSHAKIS                OH          90014103800
379629A142B871   JILL         BURCH                    ID          90009839014
3796564395598B   AIOTEST1     DONOTTOUCH               CA          90015116439
3796687A34B281   LEATRICE     BROWN                    NE          90012278703
379684A2361945   MARTHA       MORALES                  CA          46055104023
3796898355B52B   ALMA         ALVAREZ                  NM          90002029835
3796946555598B   LORENA       PEREZ                    CA          49017974655
3796994237B492   AMANDA       MCCLAIN                  NC          90014769423
3796B7AA291232   PAMELA       KARABATSOS               GA          90010227002
3797182382B835   JASON        HAGAN                    ID          90012148238
3797219725598B   ISMAEL       PARRAL                   CA          90001041972
3797228984B275   JOE          BARRIER                  IA          90006262898
37973596A7B639   YOULANDA     SHORT                    GA          90013865960
37974157472B76   TANA         HAMILTON                 CO          90013111574
3797482A15598B   GREGORIA     BERMUDEZ                 CA          49081598201
37974935A91584   LIDIA        MORADO                   TX          75072099350
37974A55555972   PATRICIA     DE LA CRUZ               CA          90011410555
3797676757B492   ADRIAN       REID                     NC          90014787675
37978211776B8B   PATRICIA     GUITIERREZ               CA          90005072117
3797826622B87B   TYLER        MYRICK                   ID          90008392662
379786A9A5B393   PAMELA       SUE-MAXON                OR          90012026090
379789AA72B835   JESS         FREEMAN                  ID          90011729007
37979A92841285   SACH         MO                       PA          90013960928
3797B149691584   LUIS         ESCAJEDA                 TX          90014861496
3797B81A17B449   EDGAR        PERSAD                   NC          11050538101
379811A957B639   LAMIKA       LEWIS                    GA          90014231095
379816AA531424   LASHONDA     JONES                    MO          90014286005
37982238A91831   ASHLEY       DULAN                    OK          90015012380
37982A5AA7B492   JOSEPH       JOHNSON                  NC          90013520500
37983446A91584   JUAN         GUERRA                   TX          75088354460
37983A41255972   JULIA        EDMONDS                  CA          48012730412
37983A5AA7B492   JOSEPH       JOHNSON                  NC          90013520500
3798414A85B52B   ENEDINA      HUERTA                   NM          90015101408
3798438495598B   MELISSA      RAZO                     CA          49084983849
3798454599152B   ESTELLA      QUINONES                 TX          75090735459
3798482582B871   TRAVIS       HAMEL                    ID          42085558258
37984A79651321   SONDRA       DYE                      OH          90011130796
3798636325B52B   KAREN        BENALLY                  NM          90014613632
3798686834124B   NEAL         WILLIAMS                 PA          51062428683
3798757A391893   HILBERTO     MIRALES                  OK          90013615703
3798838212B835   SARAH        BARAJAS                  ID          90014713821
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3798B68135B393   DANNY           MARTIN                OR          90013866813
3799131A251347   JOHN            NIANG                 OH          90008203102
37991355A4B576   JUSTIN          MADDEN                OK          90010723550
3799196634B275   JEFF            CHRISTIAN             NE          27081819663
3799214A47B639   SALISHA         HOWE                  GA          90005121404
3799313A72B871   CODI            GIBBONS               ID          90013801307
3799376A44B275   CONNIE          SHIELDS               NE          27039757604
37993AA6255972   FELICIA         REYNA                 CA          90013940062
379947A977B639   JENILLE         HUNTER                GA          15015637097
379956AAA2B835   NZABONIMPA      STANISLAS             ID          90006146000
379958A467B492   BRITTANY        DURHAM                NC          90014778046
379962A5641258   RADMILA         DAKIC                 PA          51008282056
3799683167B492   MARKEVIOUS      DURHAM                NC          90014778316
37996A8855598B   SHANNON         DONOVAN               CA          49094760885
3799715998B16B   ALLISON         NORRIS                UT          31055551599
3799721297B639   CLIFFORD        DREW                  GA          90009432129
3799724678B878   MICHELE         MCKEE                 HI          90015452467
3799782185598B   ERVIN JR        EUJEAN                CA          49045498218
3799799AA2B871   WARD            MIKE                  ID          90012029900
379981A167B639   ANNIE           DUFFY                 GA          90009581016
3799946374B281   MARIE           ROMANO                NE          27066314637
3799B446A91584   JUAN            GUERRA                TX          75088354460
379B125134B281   TARRAH          SCHMECKPEPER          NE          90006982513
379B128675598B   LARRY           BULGARA               CA          90013112867
379B1374A7B639   PABLO           GARCIA                AL          90014513740
379B1521541246   DIANA           ADAMS                 PA          90011995215
379B167315B393   NICOLE          LUTHER                OR          90007866731
379B1692972B76   TIM             CHAVEZ                CO          33065266929
379B188545B52B   DIANNA          KALISCH               NM          90008208854
379B1AA552B87B   CORY            WEEKS                 ID          90009760055
379B2434A57B79   JAVI            COLORINA              PA          90014864340
379B2595791885   AMANDA          PARRISH               OK          90003535957
379B298892B871   TYLER           VINCENT               ID          90014249889
379B3129791584   ASHLEY          GONZALES              TX          90014861297
379B359637B471   SONYA           SPRINGS               NC          11011335963
379B362384B281   TERI            CADY                  NE          90002866238
379B415235598B   OCATVIANO       RODRIGUEZ             CA          49083631523
379B441414124B   CARRIE          EMERSON BOWMAN        PA          51076304141
379B4537991831   AMANDA          RASH                  OK          90012645379
379B543A37B639   PANDORA         WHITE                 GA          90008274303
379B554418B16B   JESUS           CARUAJAL              UT          31078865441
379B576857B639   SABRINA         GIBBONS               GA          90015207685
379B5929191525   NANCY           NELUMS                TX          90012389291
379B638A891831   KEYONNA         HUNTLEY               OK          90011343808
379B691844124B   TRAVIS          IRONS                 PA          90014719184
379B716A455985   BEN             GONZALEZ              CA          90009761604
379B7939972B76   CELSO AGUILAR   LARA                  CO          90003199399
379B827347B449   MARSHANTELUS    CROWDER               NC          90013392734
379B846732B871   ELVA            GARZA                 ID          90002504673
379B899764B281   IHSAN           ABDULHADI             NE          90014169976
379B946375B393   TIYONNA         BARNETT               OR          44561794637
379B984465598B   EDITH           HERNANDEZ             CA          90014898446
379B9891A7B436   BERNARD         BLACKMON              NC          90001018910
379BB26265598B   TONY            DE LA TORRE           CA          90011592626
379BB45295B52B   APRIL           ROMERO                NM          35090154529
379BB94884B275   TRISHAJOY       STADT                 NE          90001619488
37B12258141285   TYLER           EMERICK               PA          51051422581
37B1255228B16B   SABRINA         CANTU                 UT          90003105522
37B12A72791893   DEAN            HARRISON              OK          21077540727
37B12A81953B95   BIANCA          WILLIAMS              CA          90013780819
37B13859291584   ANTHONY         HERNANDEZ             TX          90014838592
37B1521437B639   ANGEL           GONZALEZ              GA          90014392143
37B1556A24124B   STORM           COMLY                 PA          90014655602
37B16121991584   JESUS           HERNANDEZ             TX          75009061219
37B17275891893   CARLA           LUNA                  OK          90004722758
37B1735655598B   JESUS           MORENO                CA          90008243565
37B17936255972   JOANNA          RUBIO                 CA          90009319362
37B1852247B639   TIARI           PERY                  GA          90013635224
37B19573A6B198   JESUS           HERRERA               MS          90014595730
37B19787441258   DANIELLE        BRUNO                 PA          90013227874
37B1B44597B471   DERICK          HITE                  NC          11048944459
37B1B486191584   LETICIA         CASTILLO              TX          75004664861
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1790 of 2500


37B2119434124B   EDDIE           PIELIN                PA          90013421943
37B2365735B52B   MARIA           WELCH                 NM          35088366573
37B2367375598B   ADAM            ALVAREZ               CA          90006226737
37B2391957B492   EVET            ALLEN                 NC          90013949195
37B2444294B275   JONATHAN        WHITE                 NE          90005764429
37B24A42891831   TONI            LANGWORTHY            OK          90013810428
37B2542777B492   KIMBERLY        SMITH                 NC          90013424277
37B25541891537   JEREMY          TREMKO                TX          90012835418
37B2596415598B   CHEYENE         TORRES                CA          49093309641
37B2651567B449   ANGELA          MCNEILL               NC          11072205156
37B2732412B255   BARBARA         BOYD                  DC          81083903241
37B27717255972   MIGUEL          DUARTE                CA          90014577172
37B28331541258   SHANE           SPIEGEL               PA          90013703315
37B28358991831   SHELBY          SHIVERS               OK          90005473589
37B2839565B393   JESSICA         DE CROW               OR          90009323956
37B28959772B76   YVONNE          ARCHULETA             CO          33075669597
37B289A397B639   FANTHNECIA      HUBBARD               GA          90013559039
37B292A6491584   ANABEL          VELAZCO               TX          90005682064
37B2952A241285   CLAUDE          KING                  PA          51000675202
37B29972791831   MORGAN          PETERSON              OK          90015069727
37B2B198191831   COURTNEY        CHERMACK              OK          90012611981
37B3215472B87B   KATHY           GILLOGLY              ID          42046491547
37B323AA25B52B   ANGELIC         JARAMILLO             NM          90005793002
37B3254384B275   ANA             COLLSTON              NE          90014995438
37B3394685B52B   JENNIFER        MONTOYA               NM          90013909468
37B3426852B835   MARY            SEITZ                 ID          42055222685
37B3427928433B   SELENE          HERRERA               SC          90012732792
37B3429478B273   TRISHA          ODELL                 VT          90015352947
37B34756991893   ANGELA          GEORGE                OK          90013547569
37B34937791584   MARIA           ENRIQUEZ              TX          90014819377
37B3531585B393   JULIA           BOSWORTH              OR          44513103158
37B36218191584   PERLA           TORRES                TX          75086162181
37B3663685B52B   ANDREA          DURAN                 NM          35001026368
37B3669654B294   TRUNG           PHAM                  NE          90013556965
37B3671525137B   JURELL          SMITH                 OH          90014227152
37B37195291584   ARMANDO         CORONA                TX          90011221952
37B37523A41258   CHESTER         THROWER               PA          51006805230
37B3821A55598B   MANG            YANG                  CA          90014682105
37B38331172B2B   THOMAS C        KAPAUN                CO          33003643311
37B38771391893   JESSICA         ASH                   OK          90013547713
37B3891534B943   MIRIAM          ACEVEDO               TX          76507079153
37B3974A77B639   ALBERTO         VAZQUEZ               GA          90015167407
37B3B295861981   ISMAEL          AGUIAR                CA          46084272958
37B3B64452B87B   KARISA          HUSSINYAR             ID          90012586445
37B3BA36331424   ANGELA          KELLY                 MO          90013160363
37B41169841455   GLORIA          MORENO                WI          90013191698
37B4139729379B   RHIANN          GESTRICH              OH          90006923972
37B41568891584   GARCIA          SUSANA                NM          90000135688
37B4359867B471   JUAN            MOSQUERA              NC          11053075986
37B443A397B639   PAMELA          WILLIAMS              GA          15073793039
37B44624855951   ROBERTO         CORRALEJO             CA          90011346248
37B44761A4B275   SABRINA         FLOWERS               NE          90014777610
37B4479A491893   KEITH           TAYLOR                OK          90014247904
37B4569A157537   LUISA           PINEDO                NM          90005116901
37B458AA92B87B   CASSANDRA       TIDMARSH              ID          90015108009
37B46276941285   SHAWN           TOWNSEND              PA          90015142769
37B465A395B546   JESSICA         RISINGER              NM          35006585039
37B47436155972   SHAUN           STEPHENSON            CA          90010494361
37B47999531424   MARKKEL         HENDRIX               MO          27563149995
37B4989782B871   MALLORIE        WRIGHT                ID          42018028978
37B49A3A65B156   SHANNON         HALL                  AR          90004970306
37B4B334472B44   BEVERLY         CISNEROS              CO          33051683344
37B51598641285   RODEA ENRIQUS   ELEAZOR               PA          90009125986
37B5172392B835   PAULA           HSER                  ID          90008597239
37B517A6A7B639   RAJAEE          DUNCAN                GA          90014977060
37B519A5491893   LEE             WALLACE               OK          90014669054
37B5214782B871   EDDIE           BOSWELL               ID          90014711478
37B523A467B639   GREGORY         DAVIS                 GA          90011953046
37B5288A44B544   ANISSA          REYES                 OK          90009388804
37B5296255598B   WANDA           MILLS                 CA          90001949625
37B53796941258   SEAN            BECCKWITH             PA          90014407969
37B5425392B29B   TANJIER         BELTON                DC          90011812539
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37B552A7A41258   BRANDON         OGG                   PA          90013292070
37B55A87291544   ANA             ARRUNADA              TX          90001140872
37B56131591893   DEBRA           MCHENRY               OK          90008311315
37B56893755951   VERLENDRA       RUFF                  CA          90011808937
37B56A9633B127   EDWIN           DE LEON               VA          81027820963
37B5729A37B449   MARHSALL        P LITTLE              NC          11071702903
37B5737417B639   REBECCA         PRICE                 GA          90012993741
37B5762944124B   SEAN            BOYD                  PA          90014656294
37B5768915B52B   KIMBERLY        MULLEN                NM          90012886891
37B5816388B16B   CHAD            MCCLOY                UT          31048721638
37B58746A31424   COREY           SPELLMAN              MO          90004677460
37B58861541285   FLOYD           GARDNER LUCAS         PA          90010948615
37B59868885B54   RACHEL          DUNN                  FL          90014948688
37B5B61717B639   MADGE           REED                  GA          90014526171
37B5B85425B52B   EDWIN           ITUARTE               NM          90014118542
37B6154332B835   KRISTINE        BANEY                 ID          90010375433
37B62659377367   DARRELL         MILLER                 IL         90015256593
37B62661231424   RONALD          TURNER                MO          90011566612
37B62668691584   MATILDE         RODRIGUEZ             TX          75057346686
37B6276935B52B   MORGAN          PEREA                 NM          35091757693
37B62983191243   LAMAR           OWENS                 GA          90009569831
37B63252541285   SHANNON         LABANS                PA          51079162525
37B63592141251   SANDRA          GRGURAS               PA          51011025921
37B63646A5B393   ANNIE           CARNES                OR          90012196460
37B64298A4B275   TIARA           HARRIS                NE          90009082980
37B6437797B492   HOLLY           JENKINS               NC          90013953779
37B64491191831   BRANDY          CHAPLIN               OK          90011164911
37B64A24641285   SANDRA          SCHMITTLE             PA          90014990246
37B66452155972   KIMBERLY        MUNN                  CA          90014954521
37B66781641258   CANDI           PARROTTE              PA          90007207816
37B66914484332   PAMELA          LEGARE                SC          90011089144
37B67463A41258   LARISSA         LEE                   PA          90004604630
37B67641791232   KIMBERLY        BATTISE               GA          90013946417
37B67A53891893   JOSEPH          COZAD                 OK          90012850538
37B6836352B87B   MARIAH          HARDING               ID          90011443635
37B6929A891232   AGUSTIN         MORA                  GA          14591532908
37B6937135598B   JACKIE          RAMIREZ               CA          90012243713
37B6969367B639   MARLETTE        WILBER                GA          90008676936
37B6B349655951   CAITLIN         HOOD                  CA          49072333496
37B7199934B275   JOYCE           MORENO                NE          27088889993
37B72324655972   MARITZA         BARERRA               CA          90010543246
37B72959591584   JOSE            CORONZA               TX          90014819595
37B72A5695598B   RODOLFO         DUARTE                CA          90011540569
37B7318125B393   CAROL           DEMARIS               OR          44523901812
37B73578991831   KIMBERLY        LUCAS                 OK          90009995789
37B73879A5B352   LILI            SOTO                  OR          90006448790
37B7396A491584   ZULEMA          ESTRADA               TX          90014819604
37B74578255951   GABBY           MENDOZA               CA          49079325782
37B7463625B52B   RNAY            VALDEZ                NM          90014686362
37B75272141258   TARA            LANE                  PA          51091482721
37B754A965598B   LORENA          CUEVAS                CA          90010474096
37B75767691232   SHAUN           POTTS                 GA          90008427676
37B75825A8B16B   SUELYNN         PEARCE                UT          31043138250
37B7649642B87B   ALEXANDRIA      DAVIS                 ID          90012844964
37B76556431424   JAMIE           GORDORN               MO          90012075564
37B7659667B639   ROHANA          HARDNETT              AL          90013625966
37B76841A91831   ISAIAH ARMAND   THOMPSON              OK          90010148410
37B7689732B835   PAYGO           IVR ACTIVATION        ID          90013538973
37B77A16A91893   DAQUARI         DAVIS                 OK          90015140160
37B7839794B929   ROBERT          THOMAS                TX          76572363979
37B78985655951   ALVARO          PALAFOX               CA          90011809856
37B79299555972   SISSIE          TALLANT               CA          90013822995
37B7B79984B281   JENNIFER        MICHELL               NE          90010287998
37B8114452B871   KENNETH         NUNES                 ID          90008291445
37B8128999156B   CARLOS          ARAUJO                TX          90001002899
37B8138745598B   PAO             LEE                   CA          49089493874
37B8161294B281   MIGUEL          ARROYO                IA          90006746129
37B81838A4124B   GRECIA          GARCIA                PA          51030728380
37B82A9A741285   YVETE           PRITCHET              PA          90010650907
37B8319A681557   CRISTIAN        TERLEP                 IL         90007611906
37B83A4272B835   MARTIN          SHIPP                 ID          90013340427
37B8447754B275   KARLA           KROM                  NE          27048564775
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37B8466514124B   SHAWN        SALISBURY                PA          51006346651
37B85446755972   HECTOR       VALDEZ                   CA          90009364467
37B8544A48B16B   MARIA        CONROW                   UT          90003234404
37B8571817B471   CAMEO        KOROMA                   NC          11091987181
37B85888391831   ANA          GARCIA                   OK          90009208883
37B86335191831   GINETTE      OVERALL                  OK          21072593351
37B8637677B639   VANESSA      WOODS                    GA          15038363767
37B863A9985933   GEORGE       CARMACK                  KY          90012933099
37B87276485943   BRENT        FRIEDMAN                 KY          90004722764
37B8744182B87B   JOSEPH       STALFORD                 ID          90000334418
37B8769A64B275   TEANA        LEWIS                    NE          90014996906
37B87765381557   TODD         STEPHANY                  IL         90015377653
37B87A42455972   LORENZO      SANCHEZ                  CA          48070940424
37B87A54961927   MARITZA      RODRIGUEZ                CA          90008610549
37B87A9134124B   JIM          MCCARTAN                 PA          51057550913
37B883A2691893   ROCIO        MATOS                    OK          21041563026
37B883A4572B76   NORMA        IRENE                    CO          90003433045
37B8898114B281   JEREMY       HENEMAN                  NE          90009509811
37B88A73641285   JONAS        GILLESPIE                PA          90005000736
37B8B54357B639   RAYMEK       FERGUSON                 GA          90014505435
37B8B968791537   CATRINA      MARCELLUS                TX          90000409687
37B91344155972   DORENE       MCAFEE                   CA          90000103441
37B9166AA4B275   LATRICIA     SANCHEZ                  NE          90004606600
37B91772191584   IGNACIO      GIRARD                   TX          90009947721
37B9291842B87B   KERRIE       MOORHEAD                 ID          90005769184
37B92A17955951   JONATHAN     CERVANTES                CA          90011810179
37B931A5355972   JAVIR        GONZALEZ                 CA          90005781053
37B938A612B87B   PATRICIA     VALDEZ                   ID          42024868061
37B9492725598B   MARIA        MORALES                  CA          49005389272
37B9576572B871   RICHELLE     WILLIAMS                 ID          90009587657
37B95975391831   MATTHEW      ENNIS                    OK          90014769753
37B96192591893   VIRIDIANA    IBARRA                   OK          90013551925
37B96279131424   KRIS         DENNIS                   MO          90014212791
37B97199991893   ANTHONY      YEARGAIN                 OK          90013551999
37B9785A855951   ANDREA       BALCAZAR                 CA          49062868508
37B97A6865B393   WILFRED      BOLOWAISEI               OR          90013000686
37B98128351382   TEONNA       BRADFORD                 OH          66059341283
37B98171A91584   JESSIE       HUERTA                   TX          90011211710
37B9862595B393   EMILY        PLATES                   OR          90006266259
37B9887A691584   THRASHER     HEATHER                  TX          90009688706
37B99214A72B76   LUPE         GONZALES                 CO          90005652140
37B99426A55972   GREGORY      SPARANO                  CA          90007384260
37B999A835598B   DEREK        VINCENT                  CA          90011359083
37B9B75A591831   ASHLEY       JEFFCOAT                 OK          90015067505
37BB157162B29B   SASHAY       COLLINS                  DC          90015025716
37BB193965598B   MICHAEL      ECHEVESTE                CA          49012679396
37BB1A92191831   RACHEL       RANDALL                  OK          90015280921
37BB2942491831   VANCE        TONY                     OK          90000229424
37BB295218433B   ANDREA       GARVIN                   SC          90000269521
37BB338115B52B   MICAELA      WASHINGTON               NM          35062953811
37BB485594B281   MARIA        GONZALEZ                 NE          90006078559
37BB5545A91831   KEISHA       ROLAND-NAWA              OK          90014835450
37BB636A691584   ADRIANA      AGUILAR                  TX          90014203606
37BB687164B281   LAURA        MONEN                    NE          90010208716
37BB736A691584   ADRIANA      AGUILAR                  TX          90014203606
37BB7A21755972   YVONNE       PADILLA                  CA          90015480217
37BB836A691584   ADRIANA      AGUILAR                  TX          90014203606
37BB8824255972   MINERVA      LOPEZ                    CA          90006188242
37BB9972841258   BARBARA      SMEYRES                  PA          90014779728
37BB9A1145B393   KATHERINE    SCHMIDT                  OR          90007630114
37BBB5A9431424   BRENDA       FEELER                   MO          90004225094
3811115A933B91   JENNIFER     AYERS                    OH          90014801509
38111A93541285   RUSSELL      STRUB                    PA          90013440935
38114233A41285   SADIE        HATCHIN                  PA          90010792330
3811476A155972   WESLEY       WILKINS                  CA          90011067601
3811626842B871   NATE         MALLOY                   ID          90007962684
3811628885B52B   THEODORE     MARTINEZ                 NM          90013362888
3811697637B449   MILLICENT    JACKSON                  NC          11084759763
3811723744124B   DAMICA       REID                     PA          90014612374
38118182533B91   JENNIFER L   AYERS                    OH          90014801825
3811841A591356   ROLANDO      RESENDIZ                 KS          90003484105
3811847794124B   ANGELO       PANICHELLA               PA          90011854779
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38119A18487B41   SHATAN        HOLEY                   AR          90015130184
3811BAA6336143   YOLANDA       DAVILA                  TX          73555900063
38122677A5B344   RAMON         MOTHERSON               OR          90009166770
3812269675B393   YAZMIN        RAMOS                   OR          90013526967
3812272148B16B   SHAE          RACKER                  UT          90001317214
3812295667B471   TERESA        HARRIS                  NC          90005169566
3812328415B156   SHARLAN       ELLIS                   AR          23087182841
3812333515598B   BRENDA        LOPEZ                   CA          90015133351
3812392A955972   JOEL          REYES                   CA          48034499209
3812393187B471   ANDREA        EMANUAL                 NC          90009489318
3812474A77B471   LATAMELA      POTTS                   NC          90005097407
3812499345598B   ANGEL         JONES                   CA          90011979934
38124A7257B639   DEWAMMACA     FRAZIER                 GA          90007330725
3812522437B449   WILLIAM       JOHNSON                 NC          90005882243
3812544335B393   HEIDI         PIERCY                  OR          90008914433
38125A67A2B87B   LETICIA       JIMENEZ                 ID          90015190670
3812626382B835   SANDRA        MOALAEUA                ID          90007812638
3812677375B52B   ABRAN         BARELA                  NM          90012237737
3812789588B16B   MYNOR         ROBINSON                UT          90011758958
38128859A55972   JOSIE         MORA                    CA          48008398590
3812971A17B639   LIPONZAL      HUNLAY                  GA          15058047101
3812B27587B639   ELSHARANI     ELHAG                   GA          90014692758
3812B3A227B639   ELSHARANI     ELHAG                   GA          15004733022
3812B59A291356   JOY           GREENHALGH              KS          29001525902
3812B6AA45598B   BETTY         LOUIS                   CA          90009596004
3812BA4517B495   VANEGAS       GILLIAM                 NC          90007500451
3813138852162B   ANDRE         STOWER                  OH          90011123885
3813282582B87B   MARLIN        SMITH-SHOECRAFT         ID          90004278258
3813346A833681   CHUQUITA      LEGRANDE                NC          90011694608
3813382372B87B   ROMANA        SOTO                    ID          90013358237
38133A4394124B   JULIE         REYNOLDS                PA          90012660439
3813468135B52B   MARIA         ANDREW                  NM          35026166813
3813517415598B   ERICA         CASTRO                  CA          90014451741
38136295348B23   SARADA        JAMES                   AZ          90013932953
3813636685B52B   LILIA         MUNOZ                   NM          90014743668
3813647237B639   NICOLE        TATUM                   GA          15090264723
38136992276B7B   MARTA         COLIN                   CA          90004389922
3813751A64B281   ERIC          TYLER                   NE          90014385106
3813948127B471   KENNETH       AMOAKO                  NC          11004014812
3813954642B871   CECILIA       HERNANDEZ               ID          90012605464
3813985A94B281   MARLYN        MARTINEZ                NE          90003998509
3813B14872B87B   DEBBIE        DAVIS                   ID          42056971487
38142A1A731639   CANDACE       JOCKERS                 KS          22083890107
3814334695598B   STEPHANIE     SANCHEZ                 CA          49065203469
3814395835B344   CHRISTOPHER   ELLIOT                  OR          90008269583
3814442A15598B   LARRY         AVELLAR                 CA          49088064201
3814453395B156   JESSICA       TAYLOR                  AR          90002935339
3814458A22B871   KRICKET       EICHELBERGER            ID          90013975802
3814511188B16B   LARSON        DAVID                   UT          31062151118
3814568872B871   SHAYNE        WEST                    ID          90012756887
3814779782B871   JOSE          CAMARILLO               ID          90007717978
3814841645B393   ROBINA        SHAHEEN                 OR          44533024164
3814B27A32B87B   FLORE         BALUNGUILA              ID          90006212703
3814B85275B393   SHAWN         GUERRERO                OR          90014168527
3815177785B24B   ROBERT        SEADLER                 KY          90012987778
38152A3695598B   MAI           YER                     CA          90013030369
3815317534B281   MICHELLE      BRYEN                   NE          27084721753
381532A237B449   ERIC          STEVENSON               NC          11078232023
3815374715B156   ASHLEY        WESTON                  AR          23035707471
3815382697B639   JAMES         WILLIAMS                GA          90014918269
38153AA284124B   GLOVER        ANDRE                   PA          90003790028
38156429A55939   JOSE          TAMAYO                  CA          90005174290
3815666265B344   DARLA         ROBERTS                 OR          44583176626
3815712A34B281   JENNIFER      FOGELBERG               NE          90014031203
3815889432B87B   BU            DAH                     ID          90012688943
381593A7191371   PERLA         SANCHEZ                 KS          29043213071
381595A864B532   STACY         TRICE                   OK          90011505086
3815964652B87B   JESSICA       SMITH                   ID          90000476465
381596AA141251   ALVIN         MULDROW                 PA          90010556001
3815B196355972   VICTOR        SANCHEZ                 CA          90013961963
3815B634891356   VICTORIA      THOMAS                  KS          90006036348
3816236322B835   STEPHANY      ELLIOTT                 ID          90001213632
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3816247575B52B   PETE          MONTOYA                 NM          35041024757
3816279567B639   ALEXIS        BASS                    GA          90008107956
3816421515598B   JAMIE         SAM                     CA          49017412151
38164A1362B87B   SCOTT         BLACKBURN               ID          90014900136
3816567A62B871   ELIZABETH     PERRY                   ID          90008526706
3816576315B52B   B             TREVIS                  NM          35077667631
3816678185598B   JOSE          APOLINAR                CA          90012877818
38167A21991952   CURTIS        MANGUM                  NC          90002550219
38167A4695598B   JUDY          MELIKIAN                CA          49090400469
38167A4A14B542   CAMERON       PRINCE                  OK          90015120401
3816875568B151   DANIEL T      DECOU                   UT          90008877556
381687AA67B639   VANIA         MOORE                   GA          90003437006
3816892387B471   WENDY         BOLES                   NC          11013499238
3816B712841258   FRANCES       KOHNFELDER              PA          90009257128
381713A235B393   DENENA        REAMY                   OR          44501703023
38172764A5B393   JOSE          JUAN-JOSE               OR          90013487640
381741A733B395   INGRID        GONZALES                CO          33064911073
381753A1A36143   GUNNER        SUMMERVILLE             TX          90011213010
3817551714124B   TINA          KREIL                   PA          51096495171
3817622254124B   TIMOTHY       BUTLER                  PA          90001472225
3817652A88B16B   JUAN          DIAZ                    UT          31095295208
3817667892B886   JEREMY        ADAMS                   ID          42014456789
38176A85391831   MARIA         PORTILLO0               OK          21061190853
381775A152B871   SHAY          MARCOTTE                ID          42095795015
3817782A15598B   GREGORIA      BERMUDEZ                CA          49081598201
3817858A431424   PAMELA        BERRY                   MO          27571585804
3817861A936143   JUAN          MALDONADO               TX          90003776109
3817864528B16B   HOWARD        TYLENDA                 UT          90011766452
3817993365B52B   NATALIE       NIETO-CHATTERTON        NM          35055589336
3817B879491371   ANABELLA      CAMPOS                  KS          90008648794
3818155A891933   JERRY         HOCKADAY                NC          90006035508
381825A6641258   MARION        PARKER                  PA          90010485066
3818273872B871   DONNA         WILCKEN                 ID          90014887387
381842A5A72424   CHRISTOPHER   MATAVA                  PA          90009442050
381842A9941285   RAJA          BARBOUR JR              PA          51089382099
381846A2A41258   SONDREA       BANKS                   PA          90014886020
3818555477B639   APRIL         GLOVER                  GA          90009975547
3818597384B281   JENEANNE      PETTIS                  NE          90011289738
38186693A36143   LORETTA       NAVARRO                 TX          73589786930
38187A94391371   DAVID         HUERTA                  KS          29052690943
3818838935B52B   J             T                       NM          35060813893
3818876255B393   WANDA         DYKE                    OR          90003207625
3818928585B344   SEAN          GAINES                  OR          90002832858
3818961564B281   MICHEAL       SPANGLER                IA          90003056156
3818975568B151   DANIEL T      DECOU                   UT          90008877556
381899A8841285   TINA          PRIOLEAU                PA          90007679088
3818B111191371   ALFREDO       HERNANDEZ               KS          29082171111
3818B147731424   KISHA         COLE                    MO          90013441477
3818B27872B87B   JAKE          VANMETER                ID          90012292787
3818B6A315B557   ARTHURR       ROMERO                  NM          90007056031
3818B94A331699   CONNIE        STONE                   KS          90007219403
3819318AA55972   ANDREW        KELLERHALS              CA          90003131800
3819326555B52B   CLYDE         RATLIFF                 NM          90013612655
3819418A97B471   MARIO         PUJOL                   NC          11065861809
3819421114B281   BRANDON       FLANNING                NE          90007812111
3819439825B393   SUSANNE       BENSON                  OR          44513913982
3819561715B344   MARCELLINO    CEDILLO                 OR          90000246171
3819592215B156   KEVIN         GLASON                  AR          90003289221
3819696455158B   AMANUEL       GOGNE                   IA          90013579645
3819817A25B393   SEAN          BATSON                  OR          44516071702
3819834127B449   ENRIQUE       MARTINEZ                SC          11061563412
3819853662B871   BETTY         RAINE                   ID          42079445366
3819951318B16B   DANIEL        DIAZ                    UT          90007255131
3819B6A575B52B   EDWIN         PEREZ                   NM          90013376057
3819B872A2B835   FRANCISCO     MADERO                  ID          90015598720
3819B9AA136143   DESIREE       MARTINEZ                TX          90014159001
381B133515598B   BRENDA        LOPEZ                   CA          90015133351
381B1532251369   DERRIANA      JAMES                   OH          90003955322
381B1826391232   JASMINE       REDDICK                 GA          90009958263
381B184538B273   RUTILO        PEREZ ROMAN             VT          90015418453
381B1A41A2B87B   SHUKRIA       AKRAM                   ID          90012720410
381B253712B87B   BRANDON       HERNANDEZ               ID          90007895371
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381B2719741258   WILLIAM          VETTER JR            PA          51088227197
381B2729136143   BRANDI           CARRERA              TX          90014707291
381B2A12422463   JUANA            ALVARANEZ             IL         90014530124
381B3233131424   ANTHONY          GARAVIGLIA           MO          90010422331
381B369927B471   VALERIE          SALAZAR              NC          90007506992
381B3873755972   SYLVIA           RIOS                 CA          90008978737
381B3982536143   JESUS            ZAVALA               TX          90014099825
381B4274341258   ANTHONY          CLIFFORD             PA          90005182743
381B4553A5B393   HOLLY            COURTRIGHT           OR          90009015530
381B52AA64124B   DENA             STEELE               PA          51070082006
381B5323155972   ANGELINA         CORDERO              CA          90014023231
381B563745B393   ALICE            PRESTON              OR          90003376374
381B5874731439   CHANTEL          ANDERSON             MO          90004038747
381B631122B87B   BRADLEY          POTTS                ID          90014663112
381B636AA72424   GEORGE           CHAMBERS             PA          51057823600
381B648AA7B449   MARTIN           RAMOS LIBORO         NC          90001804800
381B6576651369   TAMMY            GRIFFITTS            OH          90001955766
381B668745598B   MARIA            HERNANDEZ            CA          49008196874
381B7729861971   STACY            GORDON               CA          46016897298
381B7A6952B87B   KATE             VIANO                ID          42089370695
381B8433531424   RICHARD          CODY                 MO          27577524335
381B8927655972   CARMEN           LEON                 CA          90014119276
381B8A82251369   JAMES            SPAULDING            OH          66082410822
381B941228B16B   GLENDA           TRAYAH               UT          90011754122
381B9442191232   JENIKA           JOYNER               GA          90014684421
381B975568B151   DANIEL T         DECOU                UT          90008877556
381BB3A995598B   MARIA            FLORES               CA          49002463099
38212218A2B871   KATHERINE        BROWNING             ID          90010172180
3821225218B16B   LANCE            ROGERS               UT          31062022521
382125A194B281   CLAIRE           HANCOX               NE          27090075019
3821261218B151   ISRAEL           CUEVA                UT          31042226121
3821323695B393   BIANCA           MEDINA               OR          90012382369
3821367537B639   JOANN            BODY                 GA          90004516753
3821375655B52B   YARIBETH         CHAVEZ               NM          90010367565
3821417A15B52B   MIA              DIMAS                NM          90013281701
38214961A77528   CELIA            JACINTO              NV          90005099610
3821515464B281   DESHANN          JOHNSON              NE          90012851546
3821578192B871   NATHAN           BOARD                ID          90012177819
382169A7591831   SAUL             GOMEZ JUAREZ         OK          90012239075
3821736A35B52B   DANIEL           WILLIAMS             NM          90014373603
3821792195B557   JOSE             SOT MEZA             NM          90009989219
38219491A5B393   WESLEE           REINHARDT            OR          90014814910
3821B25545B393   WENDY            MARTIN               OR          90013512554
3821B424836143   GERALD           FRANKLIN             TX          90014614248
3821B773931424   JAMES            DECLUE               MO          90007867739
3821BA9795598B   TOMAS            ROMERO               CA          90008270979
38221864A91525   ANGIE            FLORES               TX          90004358640
3822192A34124B   DANIELLE         CAIN                 PA          90010339203
38221A5755B393   STACY            BRISACK              OR          90013220575
38222569A36143   VANESSA          GARCIA               TX          90009615690
3822276862B835   JESUS            JIMENEZ-HERRERA      ID          90010777686
3822364937B639   JESSICA          WILLIAMS             GA          90015146493
3822564937B639   JESSICA          WILLIAMS             GA          90015146493
3822569555B93B   EUGENIA          RIVERA               WA          90015346955
3822732772B87B   JENNIFER         HAMMOND              ID          90013863277
38229664A91831   TIMOTHY          STANLEY              OK          90011216640
3822978A291543   VERONICA         CORTEZ               TX          90013327802
3822979958B16B   GEORGE           WINSOR II            UT          90002907995
3822B35912B835   JUAN             CERVANTES            ID          42055643591
3822B3A8184326   CASSIE           WILSON               SC          90007863081
3822B46617B639   DOSHELL          JOHNSON              GA          90014574661
3822B89A75598B   ELIZABETH        VEGA                 CA          90015328907
3823125A933665   SHERIMI          RAYNOR               NC          90003452509
3823144497B449   CORAL            FICKHESEN            NC          11016804449
3823158585598B   JESUS            ANGUIANO             CA          90005895858
3823211A441258   ANNAMARIE        LORENZ               PA          51039421104
3823248757B639   BRITTANY         JOHNSON              GA          90014574875
3823573452B871   GRANTANDASHLEY   WILSON               ID          90014437345
3823596A65B52B   TODD             LESLIE               NM          35078069606
382359A187B449   BRENDA           SEVERT               NC          11010209018
38236A6442B87B   MARY             WINTER               ID          42090480644
382371A1A36B77   TENNILLE         JOHNSON              OR          90011091010
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382382A2336143   JOSE        PEREZ                     TX          73504842023
3823925935B393   BARBARA     SANTOS                    OR          90001832593
3823B1A3641258   JAMIE       CRAFT                     PA          51007861036
3823B56232B87B   NELLY       RODRIGUEZ                 ID          90012365623
3823B931A2B559   BRITTANY    BROWN                     AL          90014709310
382413A7331451   MORGAN      VANDESSA                  MO          90008303073
3824148914B281   JAMES       BACON JR.                 NE          27087464891
3824168554124B   IAN         PAREDES                   PA          90010326855
382433A2636143   RUBEN       TREVINO                   TX          90009943026
3824394428B16B   JOSIE       ROSS                      UT          90001249442
38243A47176B45   ANA         HERRERA                   CA          90008160471
3824414775B393   ANN         BAILEY                    OR          90014181477
3824498114B281   TONYA       GOODWIN                   NE          90003909811
38244A65636143   HOUSTON     PENA                      TX          90013100656
3824544685B52B   ALEX        TORREZ ACOSTA             NM          90004674468
3824595A18B16B   BORTOLUZI   MARIANO                   UT          90001249501
3824761795B344   FILIGONIO   RODRIGUEZ SANCHEZ         OR          90011726179
3824766752B835   MAURICE     QUINN                     ID          90000706675
38248A1385B393   SHERZAD     KHOSHNAW                  OR          90015190138
3824958446194B   BRANDON     CRUZ                      CA          90010625844
38249A65636143   HOUSTON     PENA                      TX          90013100656
3824B6AA231424   FRED        BONNETT                   MO          90011526002
3824BAAA84124B   LESLIE      COLLIER                   PA          51062410008
3825122835B393   MICHELLE    JOHN                      OR          90012752283
3825183392B835   KATHLEEN    MCWATERS                  ID          90007188339
38251A85555972   SARA        ANDERSON                  CA          48019960855
3825238A951341   VIRNESHIA   LACKEY                    OH          90009643809
38253AA2755972   GARCIA      PHILLIP                   CA          48094210027
382541A6741285   KEENWAIN    BRAGG                     PA          90012851067
3825465752B871   NEVIN       LABRONTE                  ID          42051546575
3825592A991232   TAMARA      MINCEY                    GA          90003999209
38256447472B23   MARCIAL     MUNOZ                     CO          90013034474
38256758A84368   ADRIAN      GOMEZ                     SC          14570597580
382569AAA5B296   ARIANNE     PEAK                      KY          90010719000
3825731158B273   CATHY       RICHARDS                  VT          90014623115
38257591497B37   JONATHAN    HIESTAND                  CO          90002585914
38257A8518B16B   MICHAEL     SEEGMILLER                UT          31053910851
3825844727B639   DEBRA       RUSSELL                   GA          15048474472
3825922168B16B   KAYLIE      GUTHRIE                   UT          90011002216
3825B524541285   ALEXA       NICHOLAS                  PA          90002545245
3825B94174B281   CHUDIER     GUIN                      NE          90012979417
3826158797B639   BRIANNE     JONES                     GA          90014575879
3826237995598B   ROSHELLE    MALDONADO                 CA          90013593799
382623A7691831   SHEPHANIE   KUSMIERSKI                OK          90001113076
3826318935B393   REBECCA     CAMPBELL                  OR          90003501893
3826321756192B   JAVIER      MENDOZA                   CA          90009822175
382633A152B871   MIGUEL      LOPEZ                     ID          90013293015
3826494755B393   ARELI       ABREU                     OR          90015019475
38264A9135B52B   MONICA      MARTINEZ                  NM          35065900913
3826589334B24B   CASSEY      TRUJILLO                  NE          90012998933
3826649127B639   BLYTHE      KLINE                     GA          90015134912
3826651275B393   JUSTIN      STRODE                    OR          90011195127
3826973387B449   SHEENA      ANTHONY                   NC          11022857338
3826B444851382   MARION      SIZEMORE                  OH          66006414448
3826B742931424   TIMOTHY     WIDEMAN                   MO          90013837429
38272448397B31   GUADALUPE   GUZMAN                    CO          90013284483
3827392745B52B   STEPHANIE   CRUZ                      NM          35098829274
3827414352B871   RICK        STEFFENS                  ID          42097301435
3827455972B835   BARBARA     ALSIP                     ID          42044075597
38274A31951369   ROCIO       FLORES                    OH          90001120319
3827521AA2B87B   CLARK       ROBERT                    ID          90012802100
3827528AA7B471   HATTIE      BROOKS                    NC          11040932800
38275A6A82B871   WENDY       GRIEVE                    ID          90002070608
3827777945B52B   L           PEREZ                     NM          35007017794
3827792AA61925   DAVID       MEDRANO                   CA          90003929200
382791A8A36143   ELIZABETH   MIRELES                   TX          90014061080
3827998347B639   PATRICK     REYNOLDS                  GA          90013289834
3827B21115598B   BETTY       BRANTLEY                  CA          49052212111
3827B691784381   LEROY       GODFREY                   SC          90012436917
3827BA21A2B87B   DEBRA       PURKEY                    ID          90003990210
3828115517B471   SHAYLITA    LEACH                     NC          90006481551
38281A52A8167B   TRACY       SAUNDERS                  MO          90001010520
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3828238568B162   GLADE        CHIDESTER                UT          90013683856
3828243242B87B   JOANNA       GARCIA                   ID          90005304324
38282454A55972   SCOTT        WHITE                    CA          90005774540
3828252685B344   KRYSTINA     DAWN                     OR          90008805268
38286A46825621   MONIQUE      CLEMMONS                 AL          90014570468
3828786A191831   CRYSTAL      FARLEY                   OK          21038428601
3828843785B344   NATHAN       SANTOYO                  OR          44583514378
3828934554124B   TAMIA        WEST                     PA          90010963455
3828962138B16B   CRYSTAL      VANPELT                  UT          31028386213
3828964255598B   SHENG        VUE                      CA          90012446425
38289A85391831   MARIA        PORTILLO0                OK          21061190853
3828B374531424   JESSICA      WELCH                    MO          90010103745
3828B668A2B87B   GLEN         WAGONER                  ID          42082926680
3828B74282B87B   SONIA        PATRICK                  ID          90015207428
3828B7A6351382   AMBER        BRYANT                   OH          90005947063
3828B97445598B   RENEE        GRIFFITH                 CA          49064439744
3828BA1525B52B   NICK         ABEYTA                   NM          90001550152
3829183A15B393   ELSA         GUARNEROS                OR          44528268301
3829231A25B52B   RUTH         CARDENAS                 NM          90014513102
3829288167B639   DEBBIE       HATCHER                  GA          15079288816
3829462167B639   ROSHANDA     DORSEY                   GA          90014576216
3829624934B281   SYLVESTER    DZELAMBONG               NE          90004182493
3829672792B87B   SANDRA       ACKERMAN                 ID          90007637279
38297542A5598B   CHRISTINA    MCARN                    CA          90011355420
3829856254124B   MARGARET     BLUMLING                 PA          51065955625
3829899A536143   EDGAR        DUENEZ                   TX          90014889905
38299227A41258   JOHN         BOWERS                   PA          51047512270
3829948997B639   ROSLYNN      MCKOY                    GA          90010284899
3829952615B344   CHRISTINA    KING                     OR          44572365261
3829998565B393   ROBERT       KONDOS                   OR          90014169856
3829B13145B393   PENNY        WILSON                   OR          90010711314
382B146936B242   LISA         CARROLL                  AZ          90012564693
382B1712841258   FRANCES      KOHNFELDER               PA          90009257128
382B179395598B   MIGUEL       ALVAREZ                  CA          90012127939
382B2AA625B393   VANESSA      NOVELO                   OR          44583840062
382B2AA757B449   ROY          LOWERY                   NC          11042750075
382B3A32A55972   ALONSO       PEREZ                    CA          90014130320
382B424335B52B   ALEC         VIGIL                    NM          90013922433
382B475A491356   ALEJANDRO    CASILLAS                 KS          90008387504
382B6249891356   PHILLIP      HYATTE                   KS          90014712498
382B635944124B   JOHN         HILL                     PA          90000713594
382B6815191356   PHILLIP      HYATTE                   KS          90013748151
382B7366572424   BECKY        MATHERS                  PA          51004183665
382B736A97B639   BRENDA       JACKSON                  GA          90014573609
382B7466941285   REBECCA      DAVIS                    PA          90013454669
382B753795B52B   DALE         BERTOLA                  NM          90007135379
382B771562B87B   STACY        BIRD                     ID          42048267156
382B7A87993757   NATHANIEL    SLOAN                    OH          64507120879
382B838232B835   TALITHA      NEHER                    ID          42007503823
382B846295B393   LEAH         KIGHTLINGER              OR          90008514629
382B914682B87B   GLEN         HUTCHINSON               ID          90012231468
382B955A14124B   BRIAN        JUSTICE                  PA          90010365501
382B9A67241258   SHAUN        SMITH                    PA          51092310672
382BB336533625   HEATHER      DENSON                   NC          90010753365
382BB49234B281   ALASIA       CLARK                    NE          90014164923
382BB533133625   HEATHER      DENSON                   NC          90013935331
38313358872B32   FRANSICO     PARRAL                   CO          90001663588
3831337542B871   CHRISTOPHE   PERRIN                   ID          42018333754
38313A32A7B639   RHONDA       ARMSTRONG                GA          15043890320
3831427377B449   DAVID        LOVE JR                  NC          90012402737
3831516788B16B   BRETT        NELSON                   UT          90007061678
3831582215598B   KHON         KHANN                    CA          90014838221
3831639A47B471   VANESSA      MARTIN                   NC          11043163904
3831667692B871   KIMBERLY     FREEMAN                  ID          90003396769
3831667975598B   ANTHONY      SANCHEZ                  CA          90002316797
38316A3518B147   BRIAN        BROOKS                   UT          90010410351
383176A9555972   MARINA       ZALVN                    CA          90009406095
3831825675B52B   SHARON       LUKASAVAGE               NM          90012232567
383186A8A8B16B   MARK         AHLSTROM                 UT          90010986080
3831894265B393   JOSEFA       DAMIAN                   OR          90011569426
38318A44451369   OLUFEMI      BEWAJI                   OH          90010370444
3831979A55598B   RYAN         VELARDE                  CA          90012907905
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3831B24965598B   JOSE        ARREOLA                   CA          49051562496
38321A2672B87B   MICHELLE    ELLINGER                  ID          90013620267
3832258274B281   MARLON      JUAREZ                    NE          27010925827
38323294A3B348   JONH RAY    MURPHY                    CO          33052672940
3832372837B449   JEFF        SMITH                     NC          11051467283
3832434554124B   TAMIA       WEST                      PA          90010963455
3832435682B87B   MATTHEW     SHAW                      ID          90012083568
38324A61191831   DANA        BARNETT                   OK          21000620611
3832594382B835   MARIA       MARISCAL                  ID          42070259438
38325A81931424   KESHA       HOFF                      MO          90008970819
3832656975598B   ELVA        CHAIDEZ                   CA          49074255697
3832694A291356   ELISA       OVIEDO                    MO          90002689402
3832878854124B   KRISTIN     KENNEDY                   PA          51082167885
3832B23692B87B   JAKE        TALLY                     ID          90014712369
3832B36755598B   KENNETH     BRABBIN                   CA          90012703675
3832B542691371   RONALD      BOGUS                     KS          29069375426
3832BA4867B639   JAMIE       FRAZIER                   GA          90006860486
3833112A851369   TANYA       LEE                       OH          66010091208
3833143152B835   ELIJAH      MEYER                     ID          90013514315
3833145714124B   JEFFREY     TARR                      PA          51022314571
383315A192B871   AMANDA      ENNIST                    ID          42076695019
38332872A4B281   KERINA      ARCHER                    NE          90005248720
383337A694124B   JAMES       FRIERSON                  PA          51086137069
3833431552B835   SERGIO      REZA                      ID          42077593155
38334494A5B393   CONTRINA    MILLER                    OR          90008604940
3833521335B52B   LEAH        MARTINEZ                  NM          35051382133
3833564152B871   TRAVIS      LOBB                      ID          90013536415
38335948A55972   MATIAS      GONZALEZ                  CA          90012119480
38335A82831424   LANIYA      FRENCHIE                  MO          27559040828
3833718674B281   SANTANA     RODRIGUEZ                 NE          90004211867
38337624A55972   KAO         SAETEURN                  CA          48063006240
38337A4A57B639   NANCY       MARSHALL                  GA          90012880405
3833883495B52B   JOHN        HAISLER                   NM          90015098349
3833915487B396   ELENA       WILSON                    VA          81004051548
3833933495B393   EDWARD      STROM                     OR          90012103349
3833935295B156   HELEN       BRADLEY                   AR          90009013529
3833939742B835   KATHRYN     SHELTON                   ID          42066723974
3833975577B639   TONYA       WILLIAMS                  AL          15005177557
3834143792B87B   PAULA       SALAS                     ID          90006674379
3834321857B639   KRISTINA    COPRIDGE                  GA          90001322185
3834483274B281   YESENIA     VALDEZ                    NE          90014958327
383449A532B835   KATIE       MARTINDALE                ID          42063699053
38345231A5B344   ABBIGAYLE   JONES                     OR          90004032310
383455A9991831   DEANGELA    PAYTON                    OK          90002305099
3834614595B52B   TYSON       PATTERSON                 NM          35032171459
3834643A891232   TIM         WINEMILLER                GA          90014164308
38346467A5B344   DAGOBERTO   VELASCO                   OR          44583734670
3834789865598B   JOHNSON     LIONEL                    CA          49080768986
38347A6A48B16B   RIKKIE      COLEY                     UT          90014760604
38348312187B41   SHARNISE    WHITIKER                  AR          90010013121
3834844212B871   THOMAS      VERNON                    ID          90014824421
3834891682B835   NATHAN      PELTON                    ID          90011409168
3834915274124B   LISA        HARSHEY                   PA          51024381527
3834923945598B   KATHLEEN    ORTIZ                     CA          49010782394
3834971A75B393   CINDY       LONG                      OR          44513647107
3834B115291356   RAMONE      SMITH                     KS          29017371152
3835112247B471   ALICIA      CAULEY                    NC          11066181224
3835141A87B639   SHACOYA     COAR                      GA          90013014108
3835265434B281   CHE         STUBBLEFIELD              NE          27064426543
38352A9987B639   DEXTER      RENDER                    GA          90002710998
38352AA6641258   JACKIE      BENNETT                   PA          51007460066
38352AA8724B41   LAKIESHA    BROWN                     DC          81001600087
383532A118B143   MICHELLE    OREM                      UT          90008472011
3835343844B281   JOYCE       KEARNS                    NE          27053574384
3835597324124B   WILLIAM     ABRAMOVITZ                PA          90003679732
3835597552B835   COREY       CHAMBLISS                 ID          42067289755
38356232A6192B   WILLIAM     PINCKNEY                  CA          90011842320
3835653223142B   KENNETH     BROWN                     MO          90012285322
38357461A7B449   APRIL       MCCLELLAN                 NC          90000974610
383584A414B281   TRAVIS      CLAYTON                   NE          90000784041
3835944817B449   MARYCRUZ    RODRIGUEZ                 NC          11011744481
3835997312B87B   SPENCER     BROWN                     ID          90011949731
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38359A7392B835   CHELSEY      LAY                      ID          90013150739
3836149A991538   ISABEL       LOPEZ                    TX          90011764909
383614A3A7B471   VINCENT      ABLE                     NC          11069444030
38361585A91356   MICHAEL      VEGA                     KS          90009175850
3836284A82B871   GLORIA       FERNANDEZ                ID          42045058408
3836292384B281   JAMES        MURRY                    NE          90014239238
38364355A55972   BOBBY        PRESTON                  CA          90007733550
3836489612B93B   CHERI        HARPER                   CA          90012568961
38366A2192B835   WILLY        TSHIANYI                 ID          90008430219
38366A7144124B   DONALD       JONES                    PA          90003590714
3836838A74B542   MESHA        NICOLE                   OK          90011113807
3836898135598B   VICTORIO     EAM                      CA          90013169813
3836925645B52B   JESUS        LOYA                     NM          90011502564
3836931612B835   RODNEY       WHITE                    ID          42019203161
3836B23587B639   RONALD       TUBBS                    GA          15056502358
3836B24995598B   NACY         LUNA                     CA          90011922499
3836B67782B871   ANNA         LEAL                     ID          90013446778
3836B823273269   JAMES        ZELLER                   NJ          90014208232
383715A7124B41   SAMUEL       NDI                      DC          90001125071
3837185525B344   AMANDA       FALSETTO                 OR          44509098552
38372A29231424   LATERRACE    HARVEY                   MO          90011870292
38372A4277B639   ANDRE        JACKSON                  GA          90015100427
38372A8882B871   VIRGINIA     HERNANDEZ                ID          42052700888
3837332448B124   NATHAN       OAKLEY                   UT          31057953244
383739A452B835   MUSSA        SHIHIM                   ID          90013629045
3837534542B835   SUSIE        LEEPER                   ID          90003263454
3837583147B639   DAMIONIYAN   FRANKLIN                 GA          90014128314
38375AA615B393   GERTRUDES    MYERS                    OR          90014170061
3837687A855972   ROSIE R      PANDO                    CA          90005238708
38377AA795B393   JAMES        FISHER                   OR          90014170079
3837878722B87B   GARRET       DAVIS                    ID          90012827872
3837887192B87B   ERNIQUE      GALLEGOS-ZAPATA          ID          90014548719
3837895374B281   ADRIAN       FUENTES SANCHEZ          NE          27017769537
383792A697B639   BRYAN        GILLIAN                  AL          90014992069
383793A9541285   SAMANTHA     J PATTEN                 PA          90011093095
3837981384124B   LISA         ROBINSON                 PA          51048548138
3837B927941285   SHELLY       SNYDER                   PA          90010019279
3837BA2195598B   VERICK       PHEANG                   CA          90011860219
3838124337B639   OTIS         MCCLENDON                GA          90010882433
3838145424B281   FILEMON      MARQUEZ                  IA          27069174542
3838179827B639   PARIS        HACKETT                  GA          90015057982
3838225295598B   REY          GAMINO                   CA          90011922529
3838255AA5B344   MARVIN       KREPS                    OR          90010025500
3838276944B281   SHERRY       ANDERSON                 NE          27091957694
383828A5691831   MURRIEL      CARTWRIGHT               OK          90009938056
38382A1A591371   MINIQUE      LEE                      KS          90001000105
38382A22331424   BRANDY       KRAEMER                  MO          90013830223
383832A9833625   TYLANCE      CANTY                    NC          90003572098
3838332517B639   WILLIE       LINSDEY                  AL          90009573251
383842A5A91356   ELIZABETH    PIEDRAHITA               KS          29009232050
3838432A191831   BRITTANY     MORA                     OK          90014503201
383844A8555972   JORGE        CRESPO                   CA          90010604085
383847A9344B5B   DENISE       FULLER                   OH          90014177093
38384A2395B344   DONNA        GREER                    OR          44568810239
3838511165B344   ANGELICA     PIZANO                   OR          44529191116
3838644765B393   HANNAH       ROE                      OR          90012194476
38386A5147B639   LISA         CAMPBELL                 GA          90014970514
38388886787B41   MARY         BREWER                   AR          90014448867
38388A1795B393   IGNACIO      ESPINOSA                 OR          90014170179
38388A5972B835   TRICIA       ELLIS                    ID          42066600597
383899A6A91371   MONTY        MORRIS                   KS          90011869060
3838B5A9641285   JESSICA      YANNOTTI                 PA          51000885096
3839211122B87B   BEN          PURSLEY                  ID          42002151112
38392128A8B16B   YOLANDA      MARTINEZ                 UT          90001851280
3839312614B281   JULIO        RODRIGUEZ                NE          90011291261
38393234A5B393   ALILY        LISUA                    OR          90008252340
3839432917B449   JAMIE        HOFFMAN                  NC          11015943291
3839444A257135   WILLIAM      GOMEZ                    VA          90008304402
3839616418B16B   CRYSTAL      ARENDTSEN                UT          31058651641
3839684882B87B   LEVI         HALL                     ID          90002098488
38397AA3676B7B   EUGENIO      SANDOVAL                 CA          90013750036
383981A1A2B835   JAMIE        BRIDWELL                 ID          90011651010
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3839887192B87B   ERNIQUE      GALLEGOS-ZAPATA          ID          90014548719
3839949434124B   RUTHA        CUTLER                   PA          90011464943
3839B57A772B36   JACQUELINE   URBAN                    CO          90006045707
3839B937731424   TABITHA      DAVIS                    MO          90005239377
383B122272B871   JANICE       HOTCHKISS                ID          90001832227
383B265675B393   YUDEL        LABARCA                  OR          90007076567
383B2765741258   TRACY        YELLIG                   PA          51060247657
383B2A5A95B393   PAULA        KEYTH                    OR          90012340509
383B3317897B33   LUIS         SALAZAR                  CO          33009643178
383B3A9A741258   BERNARD      MILKO                    PA          51051740907
383B4355A55972   BOBBY        PRESTON                  CA          90007733550
383B5172791371   STARDATA     SOLUTIONS LLC            KS          29081551727
383B532945B52B   ELIZABETH    PEREZ                    NM          35055793294
383B6121A5B393   ERIK         MCCANNA                  OR          44597181210
383B613575598B   JOHN         RUBY                     CA          90011541357
383B7261A5B52B   MARASANDRA   GUERRERO                 NM          35049822610
383B751327B639   CANDICE      RENEE                    GA          90011525132
383B863588B16B   THOMAS       MUIRHEAD                 UT          90009686358
383B8745A55972   TESIA        MEDINA                   CA          90010057450
383B9468A2B87B   TYAN         HARDEY                   ID          90013194680
383B9612755936   ELENA        JAIMES                   CA          90010826127
383B9A88271955   MARCO        ALANIZ                   CO          38065820882
383BB18725B264   NICK         JACOBS                   KY          68005561872
383BB265955972   ALFONSO      VELAZQUEZ                CA          90014722659
383BB289231424   GUAN         HEAD                     MO          90013962892
383BB49845132B   DONNISE      ELLINGTON                OH          66072914984
383BB537155972   ALFONSO      VELAZQUEZ                CA          90014175371
383BB645141285   ELMER        LOPEZ                    PA          90015236451
3841231285598B   GABRIELA     DELGADO                  CA          49021073128
3841246454124B   MAURICE      JONES                    PA          51086204645
3841275A755972   JUAN         RAMOS                    CA          90011187507
3841372677B471   EMILIA       ROBLES                   NC          11078227267
38414567A55972   CYNTHIA      MUNOZ                    CA          48083275670
3841464155598B   CHAD         ELLIS                    CA          90013296415
3841545162B87B   GENASEE      TWITCHELL                ID          90013904516
384168A732B871   CHRIS        BECKHAM                  ID          90011158073
384169AA455972   TRACY        HINTON                   CA          90006999004
3841742122B871   GUADALUPE    TERRAZAS                 ID          90010024212
384185A212B835   NORMAN       MARTIN                   ID          42049165021
3841936462B835   MISHAEL      GREEN                    ID          90006353646
3841B753655921   ANDREA       ZEPEDA                   CA          90013107536
3841B95857B639   MONIQUE      GOSHA                    GA          90014579585
3842253715B393   CRYSTAL      MOORE                    OR          90014395371
38422A84A72B25   GENET        LEONA                    CO          90015010840
3842314294124B   LISA         BAKALARCZYK              PA          90014541429
384244A8372469   JOANNE       HOSKINS                  PA          90004974083
384252AAA2B871   BAILEY       REYNODS                  ID          42080082000
3842539A24124B   MICHELE      CALABRESE                PA          51025963902
38426A9192B87B   GABRIELA     MARIN-CORTEZ             ID          90010600919
3842762564B281   KIMBERLY     BROWN                    NE          90009516256
3842844277B471   CHA          VANG                     NC          90010704427
3842885474124B   ASHLEY       PASINSKI                 PA          90009398547
3842893687B397   JOSE         AYALA                    VA          90008119368
384292A832B242   LUIS         GARCIA                   VA          90013452083
3842941735B344   BASANT       CHHETRI                  OR          90003054173
384294AA841285   DANA         STANTON                  PA          51023344008
3842981674124B   WALTER       GARNER                   PA          90010868167
3842B195591232   PAYGO        IVR ACTIVATION           GA          90009271955
3842B67897B639   SAVITRIA     GREEN                    GA          15044656789
3842B87152B835   ELISA        LARSON                   ID          42018928715
3843282874B281   KATIE        KROM                     NE          27075398287
38433477A36143   ELIZABETH    RAMOS                    TX          90010314770
3843349484B281   OSIRIS       ZUNIGA                   NE          27069974948
3843392257B639   IYECISHA     HARWIG                   GA          90009669225
3843567782B835   ANNA         LEAL                     ID          90013446778
3843683597B362   MAGDI        MOUSA                    VA          81056758359
3843692684B281   MICHAEL      RAUMAKER                 NE          90009409268
38438167124B39   MARIO        ROBLES                   VA          90001491671
3843879115B393   MARIA        GODINEZ                  OR          90011557911
3843916967B639   QUANTAZA     GAY                      GA          90012271696
3843938525598B   BOUNTHAVY    CHANTHAVONG              CA          90013383852
3843946234B281   FRANCISCA    LOPEZ GOMEZ              NE          90014034623
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3843B245191831   ANABELI       MARTINEZ                OK          90009812451
3843B9A1855972   MYRONEE       DIAZ                    CA          90013689018
38441422A7B639   LATASHA       THOMAS                  GA          15051154220
3844279A191831   CHEYENNE      HILL                    OK          90015477901
3844316A272B88   AYMEE         CARSON                  CO          90005301602
3844358A85B52B   GABRIELLE     TORRES                  NM          90013495808
384435A4936143   FELIX         HERNANDEZ               TX          90013665049
384436A4A2B835   CARMEN        ADAMS                   ID          42059246040
3844553878B16B   KAREN         CHACON                  UT          90013375387
38445962A55972   AMELIA        LUNA                    CA          48029939620
38445A6215B393   VICTORIA      BROWN                   OR          90000710621
384462A4A4B281   DEBRA         PERKINS                 NE          27047482040
3844666394B261   SHERI         BAUCKE                  NE          26046766639
3844775277B449   CHRIS         MAHONE                  NC          90012077527
38447A64341258   JOHN          ALTMEYER                PA          90012390643
38448286A2B871   JONATHAN      TELLO                   ID          90000212860
38448A66655931   BEN           LOPEZ LUCERO            CA          90010790666
3844911712B87B   SAEDEE        COWDREY                 ID          90004601171
3844946825B393   CHARLIE       HAMEL                   OR          44539764682
3844B519155972   VERONICA      FINO                    CA          90002345191
3845144675B393   PHILIP        COMER                   OR          90010234467
3845144835593B   ALBERT        KIMBLE                  CA          90013254483
3845166537B639   LATOYA        CLARK                   GA          90009936653
3845178A47B449   ASHLEY        WALLACE                 NC          90010477804
3845191992B871   BRUCE         PENDLETON               ID          42077989199
3845257885B393   BECKY         CAMPANA                 OR          90012655788
3845266485598B   ANGIE         GARCIA                  CA          49087516648
384528A575B52B   MARCELIA      LEE                     NM          90009608057
3845374744124B   JOSEPH        LIEBLING                PA          90013557474
3845415755B393   RAYMOND       ZASTE                   OR          90015241575
3845431A331424   JACKIE        THOMAS                  MO          90008733103
384543A7631424   FULTON        JAMES II                MO          90015203076
3845446394124B   SHERICE       MORANT                  PA          90010414639
3845496A751335   SHAWNA        WARDLOW                 OH          90014909607
3845532A857367   RUSSELL       LOGAN                   MO          90015223208
3845556AA91B39   ESTABAN       JUAREZ                  NC          90014785600
384557A6A41285   TARA          MASULLO                 PA          51087627060
3845621942B87B   SILVANO       CERPAS                  ID          90014542194
3845665325B344   KALLA         NICHOLAS                OR          90005486532
3845684598B16B   CHRIS         SIMMONS                 UT          90006448459
3845693352B87B   DALE          HOUST                   ID          90006579335
38457618A4B281   GWENDOLYN     KRUTZ                   NE          90002526180
384576A1A2B871   DENNIS        ALLOWAY                 ID          42019366010
38457A67291831   STEPHANIE     COLEMAN                 OK          21045150672
38458A31936143   CYNTHIA       SANCHEZ                 TX          90006680319
3845B25295598B   REY           GAMINO                  CA          90011922529
3845B81554B281   PRISCILIANO   MORALES                 NE          90011948155
38461862A91831   JOSEPH        EDWARDS                 OK          90012348620
38461896672B37   ERNESTO       VALENZUELA              CO          33018588966
3846197855B52B   LUCIA         ROSENDO                 NM          35052919785
3846238628B16B   SHANDI        JARVIS                  UT          31051293862
3846434145B52B   ALEJANDRA     ALDERETE                NM          90010663414
3846454735598B   BRYAN         MERRELL                 CA          90014375473
3846471798B273   DAVID         MURPHY                  VT          90014537179
38464A2327B639   SHARRMAINE    CURTIS                  GA          90015210232
38464AA1191371   LAURA         TERRAZAS                KS          29059310011
3846523587B639   JACQUELINE    WILLIAMS                GA          90012692358
384661A987B639   SHAUN         LINDER                  GA          15003501098
3846669317B422   BECKY         BLANKENSHIP             NC          90010276931
38466A4A491396   TEQUISHA      MARTINEZ                KS          29015470404
3846753225598B   RAUL          HERNANDEZ               CA          90012075322
3846847515B52B   MHELLANI      MANZANARES              NM          90007454751
38468A24A2B835   JANEL         STEWART                 ID          42060870240
3847117175598B   JUAN          REYES                   CA          90010741717
3847283145137B   NETHERLY      CONSTRUCTION            OH          66098988314
3847677587B659   ANTONIO       FOSTER                  GA          90008007758
384773A9741285   JOI           TEASLEY                 PA          90014923097
3847847515B52B   MHELLANI      MANZANARES              NM          90007454751
3847878647B639   JUANA         MARTIN                  GA          90013567864
3847974557B471   STEPHANIE     WARDLAW                 NC          11067737455
3847B559691356   REYNA         VAZQUEZ                 KS          90007135596
3847B689891885   DIANE         DAVIS                   OK          90008946898
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3847B726A4B281   JANET         WULFF                   IA          90014177260
38481574A5B344   SILVIA        OLIVARES                OR          44569285740
3848194715598B   PHONG         XIONG                   CA          90007149471
3848225952B87B   BRENNA        STRYKER                 ID          90012082595
3848249217B639   VIKERRIA      WILLAMS                 GA          90015134921
3848344AA5B52B   RUBY          GARCIA                  NM          90010234400
384835A892B871   GLORIA        VASQUEZ-LINCOLN         ID          42006955089
3848453565B52B   DARLENE       CHAVEZ                  NM          35009215356
384847A834124B   DAVID         DUTKA                   PA          90011217083
3848493614B281   CHERELLE      QUARLES                 NE          27073169361
3848495967B449   AKEVIA        MCCULLOUGH              NC          11030889596
3848581785B344   GLORIA        GARCIA                  OR          44550258178
3848686385598B   FRANKIE       PEDROZA                 CA          90010178638
3848728624B281   BRIAN         FARNSWORTH              NE          90011292862
3848794A55B52B   ESTHELA       GARCIA                  NM          90002629405
38487A46493761   YISHERA       ERWIN                   OH          90005830464
384889A442B87B   JAY           WESTFALL                ID          90004719044
3848924122B871   TAMMY         BRADDOCK                ID          90012372412
3848927864B281   NIKKI         HOLLOWAY                NE          90014242786
3848941845B52B   LAURA ELENA   CERVANTES FELIX         NM          90005454184
3848968782B835   CHADWELL      BREANA                  ID          90012346878
3848B143A55972   ANDREA        CLEAVER                 CA          48017101430
3848B264151382   FRED          WALKER                  OH          90005972641
3848B66485598B   ANGIE         GARCIA                  CA          49087516648
3849125762B871   SCOTT         KAWAHARA                ID          42020612576
38491654A7B639   PENNY         DANIELS                 GA          90011166540
38491A23A4124B   ABIGAIL J     PORTER                  PA          90011410230
3849284A38B16B   LORI          CARTER                  UT          90011818403
38493118A36143   ESTER         CORTEZ                  TX          90013941180
3849351478B16B   TRACY         SHERI LYNN              UT          90004175147
3849367415B393   HEIDI         EATON                   OR          90012616741
38493862A31424   SHERRICE      BEALS                   MO          90007658620
3849394A82B835   EDNA          NEWTON                  ID          90012299408
38493A77191893   SANDRA        CRAWFORD                OK          21018110771
38494852A5B393   JASON         WISNER                  OR          44549778520
3849584A38B16B   LORI          CARTER                  UT          90011818403
38495A7685132B   MASSIACH      HOWARD                  OH          90012740768
38497285672B35   CHRISTOPHER   PATTERSON               CO          90013022856
3849771A831431   CORY          SCHAFER                 MO          90001677108
384982A1436143   CARMELITA     MARTINEZ                TX          90013942014
3849861392B87B   JUSTIN        LOCKWOOD                ID          90012886139
38499A5592B871   KIM           CULLIN                  ID          42075940559
3849B94542B871   GUALALUPE     GARCIA-ANGELES          ID          42070919454
384B3844A91945   ANTWONIKA     MOORE                   NC          90012288440
384B389257B639   JESSICA       PERKINS                 GA          15072158925
384B6655472B33   SHANEAH       DULIN                   CO          90006886554
384B673955B52B   ANTONETTE     MARTINEZ                NM          90011487395
384B6825941285   JAMES         PHILLIPS                PA          90014488259
384B7839241258   JADA          ROBERTS                 PA          51080198392
384B835724124B   JOSEPH        HUNGERMAN               PA          90014663572
384B83A8636143   FANTASIA      BALLI                   TX          90013833086
384B8717131586   GREGORY       KUHN                    NY          90013507171
384B874348B16B   TASSIA        SCOTT                   UT          90011807434
384B88A412B87B   TYSON         HOELZLE                 ID          90010498041
384B8968291232   DAIMER        GABRIEL                 GA          14515839682
384B989457B639   TANECIA       JACKSON                 GA          90005938945
384B9A6865B393   WILFRED       BOLOWAISEI              OR          90013000686
384BB69277B449   VALENTINE     BONNER                  NC          90000836927
384BB91327B639   BARBARA       JOHNSON                 GA          90000759132
384BB93AA41285   TROY          GRAY                    PA          51084749300
384BB98955598B   ANTHONY       REQUEJO                 CA          90007869895
384BBA2965B393   SUNNIE        PETERSON                OR          90014170296
3851116A85B52B   JAMIE         NANEZ                   NM          90012081608
3851185287B639   CYNTHIA       JOHNSON                 GA          90008158528
3851221575B52B   FABIOLA       SANCHEZ                 NM          90010952157
38512AA213B365   EDWIN         ADAMS                   CO          90001470021
3851311499152B   MORAYMA       SOLIS                   TX          90013951149
3851336242B87B   SUZETTE       LEDWARD                 ID          42085303624
38513A4548B16B   SLOAN         BATON                   UT          90007930454
38514846272B44   JAMIE         BERNAL                  CO          90006678462
3851536A73B18B   ROBERT        HARRISON                DC          90014883607
38515A28A5B52B   ALIVIA        BUSTINZA                NM          90012210280
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1803 of 2500


38515A5558B16B   NIKI           BOYD                   UT          90007320555
38516499576B64   BRISET         CASTRO                 CA          90011514995
3851655235B344   CORAL          ASHLOCK                OR          44539785523
3851674915598B   XUE            MOUA                   CA          49091827491
38516865772B23   SHONETTA       COOPER                 CO          90014848657
3851689214B281   SHANIECE       BARNES                 NE          90008018921
38516A95185966   LORI           CAMPBELL               KY          90012290951
38518A77757135   JUAN           DE LAS CUEVAS          VA          81009120777
38519446A57139   STEPFANY       GOMEZ                  VA          90006674460
38521AA2A7B639   MIRANDA        COX                    GA          90006090020
3852252882B871   SEAN           CHAPMAN                ID          90000675288
385227A9A55972   JEANNETTE      GUEVARA                CA          90012427090
3852294A936143   MARIEL         LICERIO                TX          90011129409
385231A587B639   TONYA          MCNEIL                 GA          90011651058
3852338A95B52B   VALENCIA       CECILIA                NM          35081703809
385235A3836143   JOSE           LOPEZ                  TX          73515975038
3852435194B281   JAMIE          MATTAN                 NE          90005273519
3852671915598B   CARMEN         CASTELLANO             CA          90013177191
385267AA82B835   ADRIENNE       AYALA                  ID          42065387008
38527146A5B253   GREGORY        HENDERSON              KY          90002971460
3852721814124B   ESSIE          MCDANIEL               PA          51065242181
3852766847B471   MARIA          GONZALEZ-LOPEZ         NC          11068246684
385282A3531439   ALFONSO        LOWARY                 MO          90011452035
3852B518257B79   CADE           ELSWORTH               PA          90014005182
3853269812B871   RYIN           CROFUTT                ID          90003686981
38532A5377B639   CHRIS          LAWRENCE               GA          90013740537
3853331477B639   LARRY          COOPER                 AL          90014203147
3853338A651369   REGINALD       BELL JR.               OH          90001573806
385339AAA41258   JOSE           ORIA-ROMUALDO          PA          90010949000
38533A2A172424   LISA           SHERWOOD               PA          51094050201
38535872A7B639   JALEN          TOLBERT                GA          90012618720
3853678787B657   LUIS ALBERTO   PEREZ                  GA          90005127878
3853752144B281   DENNIS         DIEMER                 NE          27029455214
38537A99636143   HENRY          MARTINEZ               TX          90013950996
3853854652B835   HONEY          HUNTER                 ID          90010985465
385386A7A51382   MIRACLE        CURTIS                 OH          90003946070
3853961757B436   SANDRA         ORTEGA                 NC          90001336175
3853962782B87B   VIOLETA        GAONA                  ID          90005766278
3853992854124B   ROSE ANN       TIERNO                 PA          51004069285
38539AA5891371   KELLEY         JACKSON                KS          29095360058
3854115212B835   ADAN           MARTINEZ               ID          90014741521
385413A1A2B871   JOYCE          VASQUEZ                ID          90009443010
3854251144B281   JAMIE          SCOTT                  NE          90013065114
3854266242B871   JASON          UHLENHOPP              ID          42043836624
3854299AA5B393   ERIC R         LYNGHEIM               OR          90002419900
3854311888B16B   OSCAR          BUGARIN                UT          31002681188
3854411277B471   LAKEISHA       OFAIR                  NC          90000761127
3854444A95416B   MISTY          DUBORD                 OR          90009364409
38544A92155949   JESUS          AMEZOLA                CA          90006160921
3854571292B835   KRISTIN        RAINEY                 ID          90014847129
3854619735B52B   ANA            BORGES                 NM          35097881973
3854744395B393   LISA           HUBNER                 OR          90014664439
3854746515598B   BRADY          PATTERSON              CA          90012014651
3854754484124B   GEORGE         EABORN                 PA          90012295448
3854778A141285   ROBERT         WELLER III             PA          90013907801
385482A222B87B   ELISHIA        RICKY                  ID          42093692022
3854B49254124B   AUTUMN         HUDSON                 PA          51008074925
3854B594841285   SHERI          YARRIS                 PA          90014725948
3854BA1277B384   BRISEIDA       GARCIA                 VA          90003050127
3854BAA482B835   TATYANA        BONDAR                 ID          90010280048
3855139612B871   RICARDO        BENAVIDES              ID          90012083961
3855155855598B   BRENDA         GUERRERO               CA          90014845585
3855228715B156   CARMELLA       MARTIN                 AR          23004562871
3855311188B16B   LARSON         DAVID                  UT          31062151118
3855324325B52B   JIMENEZ        NOELIA                 NM          90006232432
3855354564B281   JOSE           SANCHEZ                NE          27053965456
3855558328B16B   RYAN           DUNHAM                 UT          31049525832
38555777A5598B   LUZ            LARIOS                 CA          49096177770
38556A44336143   RAUL           GARCIA                 TX          90011010443
385578A2872495   ED             VODOPIVEC              PA          90001288028
3855967485598B   DAVID          GARFIAS                CA          90013486748
3855B29A951382   JONATHAN       HAMBLIN                OH          66013922909
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3855B57424B281   SALVINO     NAMBO-FULGENCIO           NE          90012005742
3855BA14831424   SHANNON     SHELBY                    MO          27566650148
3855BA2894B541   REGINA      MACK                      OK          90009570289
3856111455598B   MARIA       MARTINEZ                  CA          49082811145
385613A1141285   CHRIS       SMITH                     PA          51071793011
3856223884B281   DEANDREIA   BOGGESS                   NE          90011472388
3856253992B871   CINDY       OJEDA                     ID          90015125399
3856263A251382   CARMEN      BAKER                     OH          90008716302
3856287732B87B   SHAUNA      EMARA                     ID          90011798773
3856343879155B   MARTA       ACOSTA                    TX          90001214387
3856395815B393   SAMANTHA    REVIERE                   OR          44534609581
38564152A2B93B   JOEY        CAPUTI                    CA          90012071520
3856446639152B   JAMES       VALDEZ                    TX          75091614663
385649A7451347   CHRISTINE   SIMS                      OH          90013129074
3856538617B471   NANCY       SUTTON                    NC          11013113861
3856561772B871   JESSICA     YOW                       ID          90015206177
3856799945B344   KRIS        VON KRENNER               OR          44560869994
38568A72151369   RANDY       BALDRICK                  OH          90004450721
3856933118B16B   PLEDGER     WILLIAM                   UT          90004193311
38569A33A57599   REYES       CRISTEL                   NM          90007880330
3856B379691525   BRISSA      ZUBIATE                   NM          75086543796
3856B63255B52B   MARITZA     HERNADEZ PEREA            NM          35056096325
3857177565B52B   LAURA       CHAVEZ                    NM          35035317756
38572366A5B156   TERRY       JACKSON                   AR          23029053660
3857258264B281   GRACIELA    RIVAS                     NE          90013355826
38573481A7B449   APRIL       MONROE                    NC          90011124810
3857387652B87B   DAVID       DEMEMBER                  ID          90014548765
3857426392B835   NEIL        WASSMUTH                  ID          42009192639
3857449215598B   ANTONIO     SILVA                     CA          90001624921
3857458892B87B   STEVEN      MORGAN                    ID          90002725889
3857538437B449   GARFIELD    DYER                      NC          11096583843
3857576963B348   FRANK       RODRIGUEZ                 CO          33031557696
3857582227B471   JON         WALLACE                   NC          90002838222
3857639414B52B   REMONA      HOPKINS                   OK          90008033941
3857712857B449   ROXANA      PONCE                     NC          11021641285
3857764415B331   WAYNE       RIVARD                    OR          44562986441
3857778633B326   BRIAN       LEIDEL                    CO          90011557863
3857796A872B38   JACKLYN     DEALL                     CO          90013149608
3857897254B261   BRIAN       BOTSFORD                  NE          90012179725
3857B175891994   NICHOLAS    SYDOW                     NC          90000881758
3857B84175B393   LOZANO      ZEPEDA                    OR          90003808417
385814A8336143   DEBBIE      HERRERA                   TX          90014014083
3858155658B16B   JEFFREY     SPEER                     UT          90012185565
3858213674B281   SHERRY      MCCLARTY                  NE          90014211367
3858273914124B   HAROLD      NEAL                      PA          90013347391
38582A82891356   BRANDI      MORRIS                    KS          29061120828
3858383442B26B   MATHEW      MASSOTH                   DC          90008628344
3858421885B344   DAVID       HANEY                     OR          44517922188
3858462753B326   ANNA        HANSTROM                  CO          33051346275
3858463175B52B   LUIS        BOJORQUEZ                 NM          90012566317
3858486665B393   STEVEN      MCCALMONT                 OR          90014388666
38587832A57599   ALEXANDRA   MENDIVIL                  NM          90004158320
3858788882B871   SAVANNAH    ANDERSON                  ID          90013858888
38589525A5B52B   FRANCISCA   FONSECA-DEBATRES          NM          35030885250
3858996272B87B   SANDY       GARZA                     ID          42066449627
3858B27A691537   BARBARA     PORTILLO                  TX          90012702706
3858B72795B393   ENRIGUE     MARTINEZ                  OR          90012007279
385911A5A41258   VICKIE      WHANGER                   PA          90012391050
3859136888B329   CHRIS       MCTIER                    SC          90015413688
3859247175B52B   LIZA        CHAVEZ                    NM          90007454717
3859261A15B393   ANDREA      LUZAK                     OR          90008786101
3859384182B835   MICHAEL     SNOW                      ID          90014758418
3859574315598B   AIOTEST1    DONOTTOUCH                CA          90015117431
385958A5651382   DIEGO       SEYOURANO                 OH          66053988056
3859636865B393   CHELSEA     BROWN                     OR          90002733686
3859671939156B   IRMA        SALAIS                    TX          90003437193
38596A94941285   RAYNARD     JACKSON JR                PA          90005430949
3859735A84124B   GARY        FETH                      PA          90006903508
3859856135B393   KENIA       ESPINO                    OR          90011865613
3859876A791371   CATHY       MERINO                    KS          90003447607
3859B318255972   ANGEL       PUGA                      CA          90009273182
3859B46A82B871   JENIFER     EVEN                      ID          90010674608
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3859B489A55927   HECTOR      HERNANDEZ                 CA          49098684890
3859B4A212B87B   ROBERTO     JASSO                     ID          42054204021
385B1228491831   WAYLON      SMITH                     OK          90009702284
385B136984124B   KELLY       JOHNSON                   PA          90007943698
385B1634991554   MARTHA      AGUAYO                    TX          90010166349
385B2259A2B242   THOMAS      BEASLEY                   DC          90004992590
385B2291641258   FELICIA     WRIGHT                    PA          51030572916
385B231A131424   NUSRET      FEJZIC                    MO          27577653101
385B265145B393   MARWIN      HEBDON                    OR          90001376514
385B27A2491371   ESME        RODRIGUEZ                 KS          90009577024
385B2A38155972   BRIANNA     DIAZ                      CA          90011080381
385B3529772471   RYAN        TUMPA                     PA          90012555297
385B4142A5B156   HERNANDEZ   DOUGLAS                   AR          90001341420
385B423584B281   SERGIO      RODRIEGUEZ                NE          90007242358
385B4323436143   NORMA       PENA                      TX          90013943234
385B5523971656   ELIZABETH   PSOHL                     NY          90014905239
385B5762755972   VIRGINIA    WALKER                    CA          90014057627
385B5888561945   CRISTINA    MENDOZA                   CA          90008468885
385B62A7936143   JEFFERY     MCDANIEL                  TX          90007942079
385B714465137B   YOLANDA     ROBINSON                  KY          90008381446
385B872275598B   RAMIRO      MIRELES                   CA          49047827227
385B8738155972   JOSE        PRECIADO                  CA          90011847381
385B918964B281   JEFFRY      BATES                     NE          90012931896
3861192282B835   ROBERT      ALDRIDGE                  ID          90010779228
3861242A255972   MARY JANE   FARIAS                    CA          90014344202
38612972A71955   SHERRY      MARTINEZ                  CO          90011529720
38612A96191356   JOSE        VALENCIA                  KS          29061970961
3861442432B26B   ERIK        WRIGHT                    DC          90012614243
3861445A755939   ALICE       DIAZ                      CA          49003034507
3861619255B52B   KIMBERLY    RAPSTINE                  NM          35033741925
38617566857B79   ANGELA      HAGAN                     PA          90015395668
3861831767B639   CHRIS       GILBERT                   GA          90009233176
3861B3A8536143   MARYLYNN    MUNOZ                     TX          73595803085
3861B41685B393   JIMMY       HOFFA                     OR          90014184168
3861B53262B835   MALLORY     SAVANNAH                  ID          90011915326
3861B586491B39   RAUL        RUIZ                      NC          90014785864
3861B67A12B871   JOHN        MARTIN                    ID          42070136701
3861BA8258B16B   MARIA       JUAREZ                    UT          90001000825
386215A555592B   DELIA       POSADA                    CA          90014785055
38622A6838B16B   TEASA       LEFFINGWELL               UT          90011840683
38622A8245B52B   ANGELICA    PEREZ                     NM          90006310824
38624866A72441   BRENT       DUBINA                    PA          90011838660
3862521A74124B   ROBIN       LITTLE                    PA          90013012107
3862534992B871   PO          LO                        ID          90012733499
3862646945B393   MISTY       RHODES                    OR          90014814694
3862687A15B156   RYAN        MCCAA                     AR          23060138701
3862823684B281   JOSEPH      CHAVEZ                    NE          90007242368
3862844915B393   UBALDO      RODRIGUEZ                 OR          90014184491
3862851528B16B   MARCELA     E ALICEA                  UT          90006275152
3862966192B835   JUAN        RAMIREZ                   ID          90000446619
386298A5A7B639   ADARRELL    BRANSCOMB                 GA          90013898050
38629A64A2B871   CHRISTINA   DUNBAR                    ID          90014780640
3862B297391831   APRIL       LEWIS                     OK          90013542973
3862B819677367   ANTHONY     LLOYD                      IL         90013418196
38631358A2B835   BROOKE      AMYX                      ID          42057293580
38632A41A91831   ALICIA      CAMPOS                    OK          90009060410
38633122A2B835   JOHN        KENNEDY                   ID          90012071220
386334A7A5598B   MARIE       FRITZLER                  CA          90014434070
3863469542B87B   STAN        FARMER                    ID          90014726954
3863483967B639   BIANCA      FREEMAN                   GA          90014588396
38637669572B37   ROBERT      LOBATO                    CO          90001976695
38637A54272B2B   GRACIELA    CABRAL                    CO          90011800542
38637AA7131424   SABRINA     BREWER                    MO          90001430071
38638A46455972   MIGUEL      SERRATO                   CA          48084280464
38638A66972B35   BRIANNA     CARTER                    CO          33090530669
3863B64A155972   FRANCISCO   CENDEJIS                  CA          90014996401
3864254518B16B   BRYAN       STEPHENSEN                UT          90012605451
386432A9A57B79   JOHN        FULGINITI                 PA          90015042090
3864341917B481   LEWIS       MCALLISTER                NC          90006984191
3864532457B639   CHERYL      WILLIAMS                  GA          90007323245
3864532732B871   ANITA       LINARES                   ID          90006663273
3864545298B147   VICTOR      RODRIGUEZ                 UT          31025364529
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3864587A74124B   DORENDA       BLAKE                   PA          51045128707
3864716667B639   THASEEM       MATTA                   GA          90011531666
3864765A391831   TEARA         RUSHING                 OK          90011016503
38648726A91831   JOSEPH        FELTON                  OK          90009817260
3864877384124B   WIRELESS      CALLER                  PA          90014867738
38648A48851369   JOHN          SCHEHR                  OH          90001050488
3864B474A97B31   AARON         MEZA                    CO          90001454740
38651A7A391831   ROSARIO       CUCUL                   OK          90010440703
3865243A941258   EDWINA        JOHNSON                 PA          51013494309
3865281162B835   KELLY         WOODARD                 ID          90012748116
38652AAA42B835   ANTONIO       INIQUEZ                 ID          90014180004
3865339962B87B   DANIEL        OULE                    ID          90013923996
3865385184124B   JATOWYA       GUY                     PA          90012348518
38653A8737B639   BYRON         BRASSELL                GA          15092480873
3865426442B835   LISA          LEE                     ID          42096822644
3865457574B927   MARY          MONTGOMERY              TX          76510035757
38654A2315B393   ZACH          NEEPER                  OR          90013530231
3865527482B871   VERONICA      NEES                    ID          42001692748
3865539327B639   KELITA        GRANT                   GA          90008173932
38655991A41258   THOMAS        BENCHO                  PA          90013759910
386559AA741285   CHRIS         CICCANTI                PA          51030029007
386571A337B639   HERMAN        POLLAND                 GA          15001651033
3865875465B52B   PAULA         MONTOYA                 NM          90012287546
3865984227B639   LUIS          OSARIO                  GA          90012478422
3865B222941285   SHANNON       EVANS                   PA          51089662229
3865B82315B393   MICHELLE      ESTEBAR                 OR          90011528231
3865B86945B52B   JOLENE        RAY                     NM          90013748694
3865B86A551369   DAWN          BAUR                    OH          90003218605
3865B896136143   JAMES         BOGGAN                  TX          90014078961
3865B8A724B281   HUMBERTO      CASTRO                  NE          90006518072
386613AA336143   STACY         PEREZ                   TX          90012923003
3866517575598B   EDNA          LOPEZ                   CA          90012971757
3866592525B52B   JUAN          MONTALVO                NM          90014919252
3866748642B87B   MICHAEL       SCHAFFER                ID          90013654864
38668444A8B16B   CODY          VAN BUREN               UT          90011844440
3866976755B393   DAVE          HUBBARD                 OR          44560907675
3866999217B639   DARLENE       JOHNSON                 GA          90015189921
3866B14457B471   MARIA         ANDERSON                NC          90014901445
3866B39422B871   KAREN         REYNOLDS                ID          90003573942
3867217165B52B   RENEE         ATENCIO                 NM          35090371716
3867253555B393   CHRISTINE     LEDRED                  OR          90014185355
38672915A5B393   LISA          PRADO                   OR          90011559150
3867371727B639   ANDREA        GARDNER                 GA          90014757172
38675619276B45   JUAN GARCIA   MARTINEZ                CA          90008296192
3867581835B264   MARCIA        THORNTON                KY          68026788183
3867684862B87B   SONIA         MARISCAL                ID          90010568486
3867711952B847   LYNETTE       MENG                    ID          90014721195
386791A3391371   REGINA        MCCLANAHAN              KS          90005291033
386795A955B344   NANCY         HUNT                    OR          90005585095
3867B183A4B281   JUANA         ANDRES                  NE          90012261830
3867B52125B393   JACOB         BINDER                  OR          90014185212
3867B81285B52B   MICHAEL       GUTIERREZ               NM          35042688128
3867B813191356   GLENDA        RANDOLPH                KS          29001258131
3867B87727B639   LORANZO       HOLMES                  GA          90014588772
3867B891241258   ALEX          IRWIN                   PA          90015118912
38682A79A7B639   JAQUETTA      NICHOLS                 GA          90012830790
3868443977B639   ROSLYN        ALLEN                   GA          15010094397
3868553365B156   SHUNTE        RANSOM                  AR          90006615336
38685A31A8B16B   RUSSELL       ROSS                    UT          31096170310
3868628595B52B   JUAN          MENDOZA                 NM          90014562859
3868661594124B   MICKEY        GIOKAS                  PA          90006396159
3868664367B471   LATASHA       SHARPE                  NC          11010356436
3868712A741285   MICHELE       SPOLTER                 PA          51057141207
386875A9655972   AMPARRA       BARAJAS-CISNEROS        CA          48011605096
3868811152B835   SAHA          SARKI                   ID          90015581115
386883A1931424   LEONIA        COATS                   MO          90006153019
3868957A64B281   FELICIA       SMITH                   NE          90011295706
3868B43167B639   MIESHA        STEWART                 GA          90013694316
3868B49A831424   RICHARD       MANESS                  MO          90002034908
3868B79282B835   ALIZE         MAES                    ID          90014317928
3868B83285598B   SCOTT         CASEY                   CA          90013018328
3868B95354B532   VICKY         ENDSLEY                 OK          90001009535
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38692613A31621   TANIA           LEAL                  KS          22007396130
3869271452B871   CLAUDE          BAHATI                ID          90015087145
3869344A25B379   JENNIFER        MCINVAILLE            OR          44516134402
38694A5287B449   TERRANCE        HARLEE                NC          90011750528
3869563865598B   ROSALINDA       MORENO                CA          90015506386
3869564345598B   ROSALINDA       MORENO                CA          90014566434
3869661295713B   YOFTAHE         BULCHA                VA          90011756129
3869722615B52B   CHRISTOPHE      MOYA                  NM          35089032261
3869791992B871   BRUCE           PENDLETON             ID          42077989199
38697AAA37B639   ASHLEY          HUDGINS               GA          90013730003
38698311A2B87B   JOSE            AVILA                 ID          90002833110
3869839A955972   CHARITY         PALLANES              CA          48008843909
3869983817B639   ETHEL           HAYES                 GA          90004448381
3869999A331424   CHRISTOPHER     YOUNG                 MO          90011959903
3869B221841258   MICHAEL         SUEHR                 PA          51006992218
3869B228251382   ANTOINETTE      WILLS                 OH          66057232282
3869B492736143   JOSE            LOPEZ                 TX          90013094927
3869BA8717B639   SHATORIA        OUSLEY                GA          90002620871
386B1688631424   NASSUMA         JABATEH               MO          27565986886
386B2369A91831   REGINA          CHATKEHOOTLE          OK          90010473690
386B3199697B31   VANESSA         SAINZ                 CO          39011361996
386B3332A36143   SARA            BABLOA                TX          90014033320
386B359867B471   MIRNA           CHACON                NC          90005455986
386B3947271955   RACHAEL         MAESTAL               CO          90007749472
386B414824B281   THOMAS          FELIPE                NE          90011501482
386B496282B871   SANDRA          MARTINEZ              ID          90011159628
386B5AA727B471   JAMES           WILLIAMS JR           NC          90003080072
386B76A314B281   DABORA          BIOR                  NE          90014936031
386B7741191831   GLENDA          WOOD                  OK          90011587411
386B7943736143   DEONA           AGUINAGA              TX          90002449437
386B8647736143   ALEXANDER       CASTILLO              TX          90011266477
386B8721251382   LAURKITA        MATHEWS               OH          66028237212
386B8957A3B391   ANGEL           RUIZ                  CO          90013009570
386B914767B639   KIANA           ADAMS                 GA          90015001476
386B924645B52B   RITA            ACOSTA                NM          35080052464
386B9374291232   TIWANDREA       CAPERS                GA          90001333742
386B9616791831   BRUSILA         MATEO                 OK          90011016167
386BB5AA25598B   SALVADOR        VENTURA               CA          90010115002
3871138236B198   BEAYOUNCA       HILL                  MS          90014593823
38711867A6B625   CANDRA          STANLEY               KY          90015598670
38711A2664B586   ANTHONY         MONCKTON              OK          21512830266
3871255255B393   TATYANA         LETOV                 OR          90014185525
3871265954B281   ADA             RUIZ                  IA          90004936595
3871275444124B   CARTRELA        TATE                  PA          51092847544
387128A185598B   CHEREE          MIRANDA               CA          90012288018
38712A35355972   MIKE            BOLEY                 CA          48033980353
3871368124124B   FASHAWNA        PEOPLES               PA          51048936812
387145A152B87B   FABIO           CORONADO              ID          90014715015
387146A6A55972   LINDA           GOLDMAN               CA          90015076060
3871769644B22B   ELIZABETH       PATTERSON             NE          90012356964
387179A6A4B281   RUBY            BROWN                 NE          27094079060
38718221A8B16B   MAGDALENA       ZUNIGA                UT          90005252210
3871844AA7B639   RICHARD         HILLIPS               GA          90014844400
3871858145B52B   AMANDA          ATENCIO               NM          90010575814
3871859944124B   SANDRA          NOVAK                 PA          90010765994
387192A6141285   KIM             DAVIS                 PA          51007392061
3871968875598B   MERCEDES        SANDOVAL              CA          90015166887
3871997442B835   LAURA           RODRIGUEZ             ID          42025629744
3871B17537B639   HARRY           SHORT                 GA          90008951753
3871BA3677B449   JARVIS          FOXX                  NC          90001020367
3872119652B871   CHRISTOPHER A   PITZER                ID          90013381965
3872227682B871   BLATAZAR        CASTILLO CONTRERAS    ID          90012362768
3872317A62B835   RAFE            BARRETT               ID          90015281706
3872325795B156   ANDRE           PATRICK               AR          23090892579
38724277A7B639   CALVIN          HENDRIX               GA          90013532770
3872452662B835   MOISES          RAMIREZ               ID          90013865266
3872478398598B   HOLLY           SHAKYA                KY          90001497839
38724A5345598B   ERMA            GALAVIZ               CA          90010320534
3872574455B393   ARTURO          MARIN                 OR          90013397445
3872597315B161   MARTHA          FRANKLIN              AR          90001959731
3872647942B87B   JOHN            ROSCH                 ID          90008364794
38727596A5B393   ESMERALDA       CUEVAS                OR          90014185960
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38728A97655972   ARIEL        VILLARREAL               CA          48005730976
3872955897B639   SUNKELA      GRIFFITH                 GA          90005315589
3872B2A994B954   PAYGO        IVR ACTIVATION           TX          90014132099
3872B742831497   OGERITA      BAKER                    MO          90012457428
3873198A691356   ROLANDO      FERNANDEZ                KS          90006549806
38731A31241258   DURGA        RIZAL                    PA          90001630312
38731A74941285   JACQUELINE   GALLIMORE                PA          51009480749
38733568A51369   JUANITA      BULLOCK                  OH          90014495680
38733A2A541285   DANIEL       STREETE                  PA          90013480205
38736346372B38   MARISA       SCHMIDT                  CO          90011333463
3873639895B344   MICAH        SIMMONS                  OR          90007243989
3873724495598B   JOSE         MENDEZ                   CA          49053812449
3873784945B393   PAUL         LARSON                   OR          90010458494
3873795987B471   STEVEN       SPARKS                   NC          90006779598
3873811A291831   PAYGO        IVR ACTIVATION           OK          90006591102
387384AA355972   MARY         LEBUS                    CA          48075084003
38738A79541258   TROY         CYPHERT                  PA          90004760795
3873924435B393   TRINA        WARREN                   OR          44515232443
3873949565B52B   JESSICA      AVILA                    NM          90003434956
3873994A15598B   JESSE        LOPEZ                    CA          90014049401
3873B47135B393   MICTHEL      THOMPSON                 OR          90011014713
38741AA422B835   SHARI        WIDAMAN                  ID          90008000042
3874212257B429   JENNIFER     BOVAIN                   NC          90008871225
3874226A25B393   APRIL        MAYO                     OR          90008532602
3874481922B87B   MICHAEL      CHRISTENSEN              ID          90013808192
38744A2974B281   ROBERT       KACZMAREK                NE          27048060297
38746686A91371   DASHNE       SAEED                    KS          90000606860
38746854A2B871   ARTURO       MARTINEZ                 ID          42026138540
38747A8244124B   ROBERT       WORK                     PA          90009470824
3874861625B393   SANTOS       ORTIZ                    OR          90014186162
387495A2336143   KRYSTAL      LOZANO                   TX          73550555023
3874B63644B281   SHAVONTE     COOPER                   NE          27052956364
3875188579283B   JESSICA      LINTEL                   AZ          90015148857
3875239A941258   JAMIE        TAYLOR                   PA          90013883909
3875242A941252   RUTH         STAYDUHAR                PA          90009634209
3875268697B471   RENITA       DESTEFANO                NC          11041956869
38752A4845B52B   VALERIE      GRIEGO                   NM          35013480484
3875365424B281   NHIEM        TRAN                     NE          90012426542
38753A1195B344   JASON        BOYKIN                   OR          90000980119
38753A24A2B835   NORMA        AGUAYO                   ID          90009480240
3875667975598B   ANTHONY      SANCHEZ                  CA          90002316797
3875731A155972   D&M          REYNOSO APPLIANCES       CA          48083453101
38757A9A172B27   SHANE        MILLER                   CO          90001140901
3875878277B639   NICOLE       MULDROW                  GA          90012567827
387587A5691371   ROSE         JACKSON                  KS          90008767056
387588AA25B52B   ROBERT       PADILLA                  NM          90015138002
387589A1155972   YVONNE       HERMOSILLO               CA          90007359011
3875915792B87B   CODY         LOVELACE                 ID          42004171579
3875917168167B   JEFFREY      JONES                    MO          90011021716
387592A777B639   SADE         WHITEHEAD                GA          90014172077
3875B559A51335   TIFFANY      RICHARDSON               OH          90013795590
3875B73235B52B   GRISELDA     VARGAS                   NM          35031217323
387613A6691831   MIKE         MARTIDLE                 OK          90013543066
3876211AA2B87B   JOSE         RIOS                     ID          90012201100
3876255222B395   KENDU        NEWKIRK                  CT          90013935522
38762643A5B393   MARIA        GARCIA                   OR          90014186430
3876362624B281   JONATHAN     EBERLY                   NE          90013356262
3876386675B537   MARIO        TRUJILLO                 NM          90013298667
3876469455598B   MELINDA      FRIAS                    CA          49006756945
38765442A2B87B   SARAH        PRESTON                  ID          90007924420
38765A72A5598B   KARINA       SALDANA                  CA          90007450720
3876734355B393   LINDZI       HELGESON                 OR          90005863435
38767555A5598B   LORINZO      ACEEES                   CA          90014375550
3876773398B273   JOHN         SMITH                    VT          90014247339
3876847647B639   SHERLITA     DANIEL                   GA          90014924764
38768672A2B87B   TYLER        GILBERTSON               ID          90012676720
3876883922B871   STEVE        JORDAN                   ID          42088968392
387688A915B393   APRIL        GANAWAY                  OR          44523828091
3876898A33B365   JUSTIN       TAYLOR                   CO          90003739803
3876972634B281   KERWIN       HORNE                    NE          90015127263
3876B23345B52B   HENRY        ROMERO                   NM          90006212334
3876B73A17B471   PAMELA       BREWER                   NC          11002917301
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3877192415B546   EDWARD        QUINTANA                NM          35012949241
387731A995B393   DANIEL        MYERS                   OR          90014381099
3877411244124B   TRACY         MCKIVITZ                PA          51019621124
3877615235B52B   YAHAYRA       CAMPOS                  NM          90014761523
3877753395B555   ALLEN         TRUJILLO                NM          35089815339
38777A54531424   LATONYA       SANDFORD                MO          90007880545
38778974476B44   ENAYAT        SHAIKH                  CA          90010369744
3877B651136143   MONA          ANZUALDA                TX          90010396511
3877B894691881   KELLI         MASCARIN                OK          90001688946
38781469A81667   TERIA         INSKEEP                 MO          90014124690
3878176265B393   JESSICA       BROWN                   OR          44563487626
38782A21A41258   WENDI         DUFFILL                 PA          51061360210
387832A127B449   MANUEL        SOTELO                  NC          11063522012
387855A322B87B   JOEL          BOLDGRIEN               ID          90010945032
3878563644B281   SHAVONTE      COOPER                  NE          27052956364
3878586887B639   DILMA         RAMIREZ                 GA          90008238688
3878634357B471   FREHIWET      TEWELDEBRHAN            NC          11094613435
3878671715B52B   NORMA         GARCIA-MARQUEZ          NM          90013187171
3878673752B835   ARIEL         LAW                     ID          90012087375
3878689322B835   RICHARD       DEERFIELD               ID          90013668932
38786A64751369   ERNIE         SIZEMORE                OH          90004870647
3878759367B639   QUINYETA      SELDON                  GA          90014725936
387876A872B87B   AH            PUH                     ID          90012156087
3878777A391371   KISHA         CHATMON                 KS          90008767703
38788A92336143   DORA          RODRIGUEZ               TX          90014670923
3878B85715598B   GRACE         DURAN                   CA          49027058571
3879117552B871   JOY           BURNIGHT                ID          90013291755
3879132677B639   MALENA        JOHNSON                 GA          90014873267
3879149315B344   JUAN          NAVARRETE               OR          90008344931
3879196388B16B   JONATHAN      STARK                   UT          31032259638
3879272487B639   ROBIN         LAYFIELD                GA          15055997248
3879325237B449   NILA          EUSEBIO                 NC          90009402523
3879339344124B   DAWNETTE      BARLOW                  PA          51073653934
3879365A25B393   MARIA         AVALOS                  OR          90014186502
387944A1536143   VIRGINIA      CAMPUZANO               TX          73570354015
38794A35191371   ROSEMARIE     ARREDONDO               KS          90007030351
387951A9A2B835   KADENE        CAMPOPIANO              ID          42066551090
387952A9891371   IGNACIA       MENDOZA                 KS          29065092098
3879769487B477   JUAN          CENTENO                 NC          90007496948
3879839217B639   SONYA         JOHNSON                 GA          90015203921
3879851815B156   LISA          LEE                     AR          23094015181
38798852398B33   SHIRLEY       REDFEARN                NC          90012658523
3879919552B871   CYNTHIA       TRIPLET                 ID          42031971955
3879977985B393   THOMAS        WILLIS                  OR          90009937798
3879B219391893   ANGELA        FITZGERALE              OK          90014622193
3879B46132B835   TINA          GOMEZ                   ID          90014574613
3879B71A84124B   TERRY         POLLARD                 PA          90007447108
387B1155641258   MICHAEL       GLOVER                  PA          51053051556
387B151A94B281   PARIS         HOFFMANN                NE          90014365109
387B153995B52B   GUSTAVO       LUCERO ORTIZ            NM          35043785399
387B173115598B   RALPH         TOPALIAN                CA          90012817311
387B2382A55927   ELENA         RAMIREZ                 CA          90014813820
387B253975598B   ALYSSIA       MORENO                  CA          90014985397
387B38A9536143   MARIA         AVILA                   TX          73539628095
387B465A12B87B   AMANDA        RODRIGUEZ               ID          90012006501
387B469485B52B   JACK          BRUNACINI               NM          90003706948
387B496747B639   CHARITY       PEREZ                   GA          15003359674
387B553542B87B   DANIELLE      GUINN                   ID          90013655354
387B587357B449   TAWANNA       JACKSON                 NC          90012158735
387B642585B393   KEYONA        DAVIS-VANN              OR          90006944258
387B6647736143   ALEXANDER     CASTILLO                TX          90011266477
387B7282A4124B   CHRISTOPHER   HETRICK                 PA          90014152820
387B818237B471   EUGENIO       ROCHA                   NC          90000881823
387B8539841244   NICK          SLOBODNYAK              PA          90003845398
387B8893684381   MARGARET      MCLENNAN                SC          90007818936
387B9356941285   BOBBY         LOGSDON                 PA          90011303569
387B9422A51382   CARMEN        ALVAREZ                 OH          66098544220
387B954665B393   CORINNE       LAMONTAGNE              OR          90014185466
387B9573641258   CHRISTINE     SHEDRICK                PA          90001735736
387B989A67B639   SHEMETA       MOSES                   GA          90014588906
387BB24254124B   RACHEL        SERBIN                  PA          51054952425
387BB2A195598B   JEFFERY       HOOD                    CA          90010742019
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387BB34765B264   ACCURATE        LAWN                  KY          68005563476
387BB562836143   ERNESTO         BUSTOS                TX          73500985628
387BB92222B871   JAYLENE         PATIT                 ID          90011219222
387BB9A7191537   GUILLERMO       RAMIREZ               TX          75016079071
38812485A41258   IRMA            RAMIREZ               PA          90012904850
38812A1672B241   TWANNA          GREEN                 DC          90002240167
3881434997B449   CHRIS           SAPP                  NC          90004123499
3881467625B52B   JUAN            VALDEZ                NM          90014126762
38814778A91356   EDWIN           HARRIS                KS          90002397780
3881685114124B   LINDA           HOHN                  PA          51014938511
3881757495182B   DONALD          SWAIN                 NY          90015495749
3881816749152B   FERNANDO        LARA                  TX          90014891674
388181A1151335   CRYSTAL         MATSHALL              OH          90005581011
3881B113341285   LARITA          TURNER                PA          51010921133
3881B259841261   GLORIA          LACH                  PA          90001702598
3882134A92B835   KYLEA           DARRAH                ID          42043603409
38822A18151382   DUKE            MILLS                 OH          66074640181
38822A4A636143   ISABEL          GARZA                 TX          90014720406
3882398494124B   NATHAN          STANLEY               PA          90013019849
38823AA765B52B   CINDY           MARTINEZ              NM          90003350076
3882421A291831   CANDICE         JORDAN                OK          90009062102
38824338A36143   RUBEN           GAMEZ                 TX          90009073380
3882448777B449   RENITA          MOSELY                NC          11038954877
3882674362B871   FEYSAL          DIRIR                 ID          90014887436
38826A5975598B   KATIE           PURSELL               CA          90014630597
38827296A91831   ELIZABETH       HARBIN                OK          90009762960
388273A2A36143   FELLICIANO      CERVANTEZ             TX          90013893020
3882777932B871   STEVEN          ALWORTH               ID          90007577793
3882874232B87B   TONIA           PEARMAN               ID          90010017423
3882944945B52B   KELLI           LEYBA                 NM          90000944494
3882951245B393   RACHEL          GURO                  OR          90006175124
3882952A47B639   WILLIAM         SEABROOK              GA          90010805204
3883113894124B   LINDA           SMITH                 PA          51008341389
3883128935B156   ROBERT          ALLEN                 AR          23037832893
3883136877B639   LATISHA         HARVEY                GA          90008503687
388324A869152B   JUSTIN          BENEDIT               TX          90009054086
388324A935B393   TIMOTHY         TIPTON                OR          90010944093
3883335385B155   JIANA           MORSE                 AR          90011873538
38833982276B44   ANNA            CASTRO                CA          90012479822
3883444524124B   DEBAR           GREEN                 PA          90000254452
3883465137B639   DAVEENA         HIPP                  GA          90013026513
3883495794B281   ARMANDO         MUNOS                 NE          90011549579
3883496934B281   DEREK           VANWYNGARDEN          NE          90014869693
3883524965B52B   NICOLE          VALDEZ HERNANDEZ      NM          90013922496
388353A8291587   NANCY           LIMAS                 TX          90008053082
38835824A51382   ANTONIO         DARDEN                OH          90012718240
38835A46A2B871   DAISY           HILARIO               ID          90011220460
3883654A431424   NIESHA          PITTMAN               MO          90014135404
38836668A5B393   MARQUITA        JEFFERSON             OR          90006786680
388369A724B281   THERESA         COHRS                 IA          27074409072
3883715527B639   SONYA           RANSOM                GA          90014631552
3883728952B835   LARRY           KOSS                  ID          90009362895
3883881784124B   JENNIFER        KOSTELNIK             PA          51096018178
3883989757B471   ANGE            MORRISON              NC          11059438975
3883B492736143   JOSE            LOPEZ                 TX          90013094927
3883B64335B135   ERIC            MITCHELL              AR          90014346433
3884142AA31424   LAWONDA         HENDERSON             MO          90010864200
3884155285598B   CARLITA         PERALTA               CA          90008415528
3884187544B281   CYDNEY          DVORAK                NE          90015018754
38841A47336143   MANUEL          NORMAN                TX          90013340473
388425A9A77523   LEOBARDO        SEGOVIANO- AZPEITIA   NV          90014205090
3884319652B871   CHRISTOPHER A   PITZER                ID          90013381965
38843945A55972   MONICA          ROSAS                 CA          48072759450
38843A7645B156   EFFRAIN         GONZALES-GUZMAN       AR          90001360764
38843AAA641285   SHEENAL         BELO                  PA          90013640006
3884481697B639   DEVONTE         MCRAE                 GA          90013748169
3884491762B835   SAUL            TACZA                 ID          90014129176
38844A9894B281   JESSICA         DIGGINS               NE          27043220989
3884516795598B   WILLIAM         MCDONALD              CA          90015101679
3884568595B393   MIGUEL          CHI-DZUL              OR          90014186859
3884633925B52B   PHILLIP         GONZALEZ              NM          90009343392
3884715374124B   KID             WADE                  PA          90005801537
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3884789485B344   MARIA             AGUIRRE             OR          44505188948
3884854A25598B   ARMEN             MKHITARYAN          CA          90004885402
3884884134B281   DONTERIAY         BRYE                NE          90014878413
3884959655598B   CARLOS            MA                  CA          90013315965
38849A67661925   SANDRA            HERNANDEZ           CA          90010320676
3884B511141285   CULLEN            FROST               PA          90011225111
3884B574A2B835   JAIME             RIOS                ID          90015505740
3885268162B87B   AARON             THOMAS              ID          90009216816
3885383565B333   MILISSA           WILLIN              OR          90011088356
388538A785B156   JEANNETTE         WILLIAM             AR          23097498078
3885619A15598B   HEIDI             HERRERA             CA          90014641901
3885684275B52B   TIFFANY           ARUNDALE            NM          35055768427
38857279A55972   JUVENAL           GOMEZ               CA          48090352790
3885731762B871   PATRICIA          ENGLETT             ID          42010403176
3885824484B55B   ELODIA            SOSA                OK          90012272448
3885855184124B   CHARLES           BENNINGTON          PA          90008035518
3885875515B344   MICHAEL           CAPPOEN             OR          44595637551
3885889145B52B   PAUL              GREIGO              NM          35094698914
3885958848B151   MICAH             PICKERING           UT          90001795884
3886113122B87B   JEANNIE           NEWSOM              ID          90008361312
3886147437B639   JALISHA           CALLOWAY            GA          90006264743
3886367A65598B   ENRIQUE           CASILLAS            CA          49027516706
3886419957B386   ELMER             ESCAMILLA           VA          90011661995
3886422695B24B   YOLANDA N LLOYD   WEATHERS            KY          90008852269
3886474A333647   KENNETH           HALIK               NC          90004567403
3886499A931424   EMECIA            WASHINGTON          MO          90014369909
38864A32A55972   ROBERTO           TORRES              CA          90011590320
3886538388B16B   KENT              DAVIS               UT          90005953838
3886615755B156   CHRISTINE         TREECE              AR          90009951575
38866A84991525   ROSIE             MADRID              TX          90003330849
3886747779376B   DAVID             STORER              OH          90013914777
388677A642B871   KRISTAN           NELSON              ID          42094777064
38867855272B23   ROSALBA           GARCIA              CO          90008658552
3886788325132B   TRACI             ALLEN               OH          90009158832
3886B8A7651369   TIFFANY           WAGNER              OH          66005108076
3886B987A7B639   DEBRA             ALLEN               GA          15085949870
3887229685B52B   JOCELYN           GARCIA              NM          90014102968
38873AA1A2B835   CODY              ZUWALA              ID          90014180010
388746A9A4B281   CRYSTAL           SNOWDEN             NE          27002876090
3887532324B281   DEMARKUS          FONTAIN             NE          90014563232
3887895455B52B   FRANCO            MARIA               NM          90003969545
3887896512B93B   TOCILE            SANDOVAL            CA          90013869651
388795A1391371   TIFFANY           ESHNAUR             KS          29063625013
3887B15477B449   JERRY             COOK JR             NC          90002041547
3887B38A95B52B   WALLACE           NEZ                 NM          90010353809
3887B53A12B835   PAMELA            HUFF                ID          90014865301
3887B939655972   BRANDON           MONROY              CA          90013639396
388816AA43148B   JOHN              SPATZ               MO          90010576004
38882171A2162B   DEZTINY           MYRICKS             OH          90013951710
3888276335598B   AMEENAH           MUHAMMAD            CA          49066547633
3888358475598B   ISMELDA           GARCIA VILLELA      CA          90012975847
3888648355B52B   JESSICA           BARELA              NM          90014554835
3888663464B281   JAMES             GORDON              NE          90013356346
3888734AA4B281   BEATRICE          DAVIS               NE          90002913400
3888779247B639   MERCEDES          JAMES               AL          90014777924
388877A264124B   KEONA             SUPPLES             PA          90013187026
38889AA878B16B   MARTIN            HYMAS               UT          31006200087
3888B71685B393   DOROTHY           SHERECK             OR          90014237168
388935AA97B639   WILLIE            BUTLER              GA          15062975009
38893A2522B87B   TIMOTHY           MARROW              ID          42039540252
3889446894124B   JOSE MANUEL       CERVANTES SANCHEZ   PA          90014264689
38894A91141285   ALAN              WEIBLINGER          PA          90011520911
3889644535B156   PAULA             JONES               AR          23054824453
38896A1462B87B   RICHARD           BRICENO             ID          90012530146
38896A95241258   TAJIA             HAWKINS             PA          90014930952
3889763617B639   NATHANIEL         POLLARD             GA          15042536361
3889B23877B639   DEONNA            FRANKS              GA          90011532387
3889B622855972   MONIQUE           RIVERA              CA          90012476228
3889B646491587   VITELA            KARLA               TX          75014036464
388B132515B344   JESSICA           ROBINSON            OR          44572953251
388B163692B87B   MARIA             GONZALEZ            ID          90012706369
388B1653336143   ROXANA            MENEFEE             TX          90014676533
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388B217685B52B   KRISTI      SAMUELSON                 NM          35004941768
388B222965598B   ANTHONY     RAMIREZ                   CA          90010902296
388B234544B281   VELVET      CURTIS                    NE          90007983454
388B2653336143   ROXANA      MENEFEE                   TX          90014676533
388B281697B639   DEVONTE     MCRAE                     GA          90013748169
388B37A762B871   ANGEL A     OCAMPO VAZQUEZ            ID          90003267076
388B3837191831   BRANDY      PETTIE                    OK          90011018371
388B564754124B   ANTHONYY    STAARR                    PA          90007946475
388B5848241244   JENNIE      JORDAN                    PA          90009438482
388B622965598B   ANTHONY     RAMIREZ                   CA          90010902296
388B7A54491371   MICHELE     ABRAHAM                   KS          90003920544
388B837332B87B   RICHARD     HARRIS                    ID          42005863733
388B853755598B   JAVIER      SOLIS                     CA          90014945375
388B8672A2B87B   TYLER       GILBERTSON                ID          90012676720
388B871755B393   JAWAN       MULLEN                    OR          44598557175
388B92A948B16B   SCOTT       JEFFERY                   UT          90009392094
388BB838184368   KATHRYN     DAVIS                     SC          14501478381
388BBAA772B871   BEVERLY     PETERSON                  ID          42021090077
3891135225B344   RYAN        FISCHER                   OR          90014133522
3891279817B449   OLIVIA      CUNNINGHAM                NC          90011757981
3891352485B52B   SANDRA      SANDOVAL                  NM          90006325248
3891354AA91356   PERNELLA    GARCIA                    KS          29027225400
3891356554124B   FRANKLYN    HIGGS                     PA          90011065655
3891364AA32573   LOUVENIA    BURNS                     TX          90014626400
3891429717B639   DONALD      TOLBERT                   GA          90014152971
3891444215B52B   JOSE        SANTOS                    NM          35014864421
389159A697B449   SHASTHA     SMITH                     NC          90007689069
3891698424124B   SCOTT       WARMAN                    PA          90010219842
389176A812B835   HEATHER     CHAVEZ                    ID          42015566081
389186A964124B   DENISE      EDMONDSON                 PA          51013886096
38918844A7B32B   AMILCAR     SALGADO                   VA          90007638440
3891898465B393   NEAL        FRANZER                   OR          44565029846
3891923175B156   ROBERTO     RAMIRES                   AR          90001362317
3891984284B281   TISHA       POINTER                   NE          90008588428
3891994232B871   MARISOL     REYNA                     ID          90000209423
3891B931584351   HECTOR      BLANCO                    SC          90011819315
3892117634124B   JOSE        RIBERA                    PA          90015191763
3892121712B871   MELENE      JAMES                     ID          90005262171
38921A3134B281   VICTOR      HAYNES                    NE          90001500313
3892253435B344   JENNIFER    GARRISON                  OR          44542255343
3892289854124B   EDUARDO     CISNEROS                  PA          90014398985
38922A45A7B477   ELIETTE     VIRGINA                   NC          90008250450
3892355155B52B   YARESE      CONTRERAS                 NM          90007805515
3892373419184B   RAQUEL      MARTIN                    OK          21005527341
38923A8912B871   JOSE        MORONES                   ID          90014970891
389252A647B639   JEFFEREY    NEWSOME                   GA          90014602064
3892621A14B281   LAURA       YOUNG                     NE          27071592101
3892625417B639   ANGELA      SELLERS                   GA          90014602541
38926785A5B52B   JASON       GALLEGOS                  NM          90011417850
3892717425598B   TERIKA      HENDRIX                   CA          90012521742
38927A41741285   ERIKA       RUTHERFORD                PA          90011940417
3892828895B333   HEATHER     NEWPORT                   OR          90003622889
3892877367B449   L KEISHA    SCOTT                     NC          90011887736
3892925324B534   JOSH        CRAWFORD                  OK          90011342532
3893141A74124B   GEORGE      JENKINS                   PA          90014004107
38931A8A58433B   JAMES       SMITH                     SC          90011170805
38933A3684B281   PABLO       CHACON                    NE          90009150368
3893491365598B   JADIA       RUIZ                      CA          90014379136
38934A89755972   GLORIA      PEREZ                     CA          48051900897
38934A9114B281   MILTON      CURRINGTON                NE          27072210911
3893562364B597   QUAYSEAN    WILLIAMS                  OK          90009976236
3893814845B344   ALEJANDRO   GUZMAN                    OR          44568231484
38938AA4641258   KIRK        PETRULLI                  PA          51014120046
3893918375B52B   MARRISA     VIGIL                     NM          90013761837
3893919552B87B   CYNTHIA     TRIPLET                   ID          42031971955
389392A222B871   ELISHIA     RICKY                     ID          42093692022
38939741A93761   SIERA       DANCE                     OH          90008317410
38939AA654124B   RACHAEL     DUNN                      PA          90012500065
389412A495598B   ESTEVEN     PINEDA                    CA          90008502049
3894195245598B   CASANDRA    MENDOZA                   CA          90010919524
38941A22755972   RENATO      SANCHEZ                   CA          90013840227
38942261457B79   ALDRIN      GRATTS                    PA          90014412614
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3894265164124B   JENNIFER               KARADEEMA          PA      90014236516
3894286A191356   PABLO                  SANTOS             KS      29028638601
3894444352B871   ALBERT                 HINOJOSA           ID      90013624435
3894483678B16B   JAYSON                 HUFFMAN            UT      90001008367
38945222A84345   WENDY                  MCGEE              SC      90012602220
38946249A7B639   LAVONDRA               THOMPKINS          GA      15082792490
3894635274124B   PAULA                  BOYD               PA      90012933527
3894654155B287   KANDLYN BOWLING        COREY BOHANNON     KY      90014685415
3894789A77B449   ANTRON                 BOYER              NC      90011758907
3894978394B522   SHAQUESTA              FIELDS             OK      90009737839
38949A7A52B87B   LORENZO                MORENO             ID      90009330705
3894B82AA41285   TONY                   SIEGWORTH          PA      90008008200
3895125A75B393   NAZAREO                PENA               OR      44509942507
3895147A82B87B   CHERIE                 MONTGOMERY         ID      90011484708
38951546172B36   NOEMA                  MERCADO            CO      90013675461
38951A35191831   MATTHEW                COTTRELL           OK      21022760351
3895228A954191   KRISLYN                DILLARD            OR      90009572809
389525A185B393   CARA                   HAMILTON           OR      44518305018
3895339874B562   TAQIYA                 MELVIN             OK      90009193987
38953A83991831   DONALD                 THOMAS             OK      90014290839
38953AA684B522   KATLIN                 BAKER              OK      90010020068
38954A51477531   MARIA DE LOS ANGELES   AYALA              NV      90011860514
3895727424124B   LAKEISHA               GAIARD             PA      51074372742
389576A332B871   SHANNON                KILDOW             ID      90011576033
3895832615B156   CAROLYN                BINNS-HOOVER       AR      90004943261
3895844175B156   CAROLYN                BINNS-HOOVER       AR      90014724417
3895855AA41258   JOHN                   DAVIS              PA      90003035500
3895885A572441   MALLORY                STARKEY            PA      90015268505
38958AAA891831   IVON                   DURAN              OK      90011030008
3895937385598B   NANCY                  CORTEZ             CA      90007413738
3895977235B393   CASSIDY                TOMI               OR      90012007723
3895B54842B395   CARLA                  CHAVEZ             CT      90013955484
3896215485B52B   DENNIS                 ROYBAL             NM      90014031548
3896215A85B393   TERESA                 KNIGHT             OR      90001391508
389623A2591232   ANTONIO                LOPEZ              GA      90002313025
3896268232B87B   DEBBIE                 PAULSEN            ID      90014036823
3896339522B835   SUSAN                  YOUNG              ID      42092633952
3896486A38433B   SHANDOLYN              MCBRIDE            SC      90011468603
38964A71141285   VIRGINA                NICOLL-HERNANDEZ   PA      51083070711
389668A5993762   ASHLEY                 SAYLOR             OH      64516778059
389669AA741285   MARK                   SMITH              PA      51098789007
3896844315B156   KRISTINA               MARTINEZ           AR      90003634431
38968726A72496   CHRISTINE              SOMMERS            PA      90006187260
38968A1457B473   EVA                    VANEGAS            NC      90014910145
3896925845598B   BOONIE                 LOKZ               CA      90014452584
3896B313655972   JOSHUA                 BERBEREIA          CA      48002793136
3896BA5162B835   MISTY                  SYKES              ID      90014390516
3897185A181622   PAMELA                 PITNICK            KS      29067108501
3897234392B87B   KYLE                   LEYDEN             ID      90013743439
3897262932B87B   KYLE                   LEYDEN             ID      90013656293
3897291262B87B   KYLE                   LEYDEN             ID      90013789126
38972A25454164   REBEKKAH               BEUCKWICH          OR      90014200254
3897363642B87B   MICHAEL                WILSON             ID      42072496364
38974111A2B87B   NOEL                   BURKOVSKY          ID      90000711110
3897524225B344   DULCE                  LOPEZ              OR      44540242422
3897557112B835   C                      QUINTERIO          ID      42009895711
38976A5417B639   SONIA                  BARBER             GA      15022540541
3897755287B639   DORAZE                 MURRAY             GA      90009585528
3897778A15B52B   CANDICE                MOLINA             NM      90012907801
3897978795B393   CHRIS                  LEE                OR      90014187879
3897B38272B87B   FELPIE                 BRIONES            ID      90013663827
3897B52485B52B   SANDRA                 SANDOVAL           NM      90006325248
3897B931951377   JUSTIN                 HAFNER             OH      90014829319
38981A94991831   SILVA                  CASTILLO           OK      90010300949
38982AA6631424   NIKIA                  TAYLOR             MO      90013930066
38983344A51369   WILLIAM                HILLMAN            OH      66066013440
3898383782B871   MARIA                  VALDOVINOS         ID      42016378378
3898387235598B   EDGAR                  RUIZ-RIOS          CA      90012528723
3898424A55B255   ORLANDO                BROWN              KY      90007822405
3898663812B87B   YURI                   FRENEITES          ID      90007816381
3898672847B639   NAKIA                  SMITH              GA      90010087284
3898727837B449   SHELLY                 ROBINSON           NC      90004982783
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38987581A4B281   WALTER       LOVE                     NE          90014165810
3898855547B639   SHAQUANA     COCHRAN                  GA          90013015554
389892A172B87B   FLOYD        SMITH                    ID          42077882017
389893A9391831   SAMAY        YVONGSA                  OK          90013103093
3898985425B156   WILLIE       DAVIS                    AR          23092298542
3898B354941285   KAREN        WILT                     PA          51087063549
3898B45977B639   TYP          PATTERSON                GA          90011754597
389917A7455972   MARTHA       GONZALES                 CA          90010797074
3899192825B52B   CELESTA      BLACK                    NM          90014329282
3899217442B835   PEGGY        COLLINGS                 ID          90010361744
38992A2555B393   JOSHUA       SEMLER                   OR          90003750255
38992AA3191831   ASHLEY       MOODY                    OK          90011030031
3899391A77B639   JESSICA      PERRY                    GA          90014789107
3899513895B135   VERONICA     WEBSTER                  AR          90014711389
3899584945B393   JOSE         SILVA                    OR          90012058494
3899641A27B639   MARIA        RODRIGUEZ                GA          90015144102
3899695457B359   ROSA         ORDONEZ                  VA          90001619545
38996A8524124B   RANDOLPH     MCKENNA                  PA          90005000852
38996A9725B555   MATTHEW      GONZALES                 NM          90009790972
3899862355B131   RODNEY       BEASLEY                  AR          90013456235
38998A73436143   CRISTINA     PUENTE                   TX          90007740734
3899954137B639   MONIQUE      SUTTON                   GA          90013975413
3899B44A355972   GUADALUPE    NAVA                     CA          90008964403
389B126327B449   SHEKITA      DIGGS                    NC          11013712632
389B16A8955972   JOSEPH       GOMEZ                    CA          48064716089
389B1941A7B471   SHILETTE     HOOVER                   NC          11040969410
389B1A9512B87B   DENISE       SANDER                   ID          42029870951
389B335395B344   ROBERTO      RETEQUIN                 OR          90009673539
389B395625B52B   MICHAEL      CHAVEZ                   NM          35098489562
389B399A87192B   KIMBERLY     ARGO                     CO          32010249908
389B445797B639   ASHANTAE     WILLIAMS                 AL          90006944579
389B512552B835   EVELYN       LINDLEN                  ID          42012591255
389B5782641285   TOM          JOSAPAK                  PA          90007057826
389B6646191831   MICHAELANN   MOSS                     OK          90014686461
389B698372B871   TIARA        KEENER                   ID          90014709837
389B758855B52B   SANDRA       GURROLA                  NM          90003035885
389B7959841285   BARBARA      HARRIS                   PA          51070909598
389B8452A2B835   MATTHEW      KNAPP                    ID          90012244520
389B887127B449   NAFEESA      RAMADAN                  NC          11088688712
389B9872833647   YARELI       SANCHEZ                  NC          90007468728
38B1174592B835   ASHA         MWAJABU                  ID          90014887459
38B11749441258   JAMES        WAITHIRA                 PA          51091187494
38B1217472B87B   ABLE         GARZA                    ID          90010131747
38B1247954124B   JIM          HALPERT                  PA          90012844795
38B1336914124B   SHAITISHA    CAMPBELL                 PA          51029473691
38B1337A85598B   ALEXA        MARTINEZ                 CA          90011183708
38B1349542B871   SEAN         STODDARD                 ID          90004254954
38B1424985B344   MICHIE       GUYTON                   OR          90002102498
38B14277561962   FLORINDA     NAVA                     CA          90012102775
38B14A38491371   EMILY        RICHARDSON               KS          90011710384
38B14AA935B156   MARCUS       COOPER                   AR          23084130093
38B1527AA8B16B   EUGENE       DOMINGUEZ                UT          90012582700
38B15A85936143   ROBERT       ARANGUA                  TX          90002050859
38B15A9712B835   REYES        ROMERO                   ID          90013930971
38B1675588B536   CARLOS       GUERRERA                 CA          90014357558
38B1682427B477   ARRENDONDO   GUADALUPE                NC          90001218242
38B16843455972   NICHOLE      MARTINEZ                 CA          90009878434
38B175A138598B   WILLIAM      RUGG                     KY          90011315013
38B1811634B281   LAVERN       CRUMP                    NE          27001681163
38B182A6951382   SHYESHA      SMITH                    OH          90011062069
38B1852512B87B   JILL         SCHERER                  ID          90013265251
38B1891A831424   DARRYL       WHITTED                  MO          90014119108
38B18979A5B344   GARRICK      FIELD                    OR          90005949790
38B19257636143   GEORGIA      TOLBERT                  TX          90014262576
38B19715172424   MIKE         WILTON                   PA          90012847151
38B1989977B471   ANDREA       EMANUAL                  NC          90007678997
38B1995A92B871   MEMORI       LUJAN                    ID          90011139509
38B1B564985621   MARTIN       GREEN                    NJ          90005765649
38B1B74955598B   ISMAEL       HERRERA                  CA          90014117495
38B2154914124B   GLADYS       EABORN                   PA          51089815491
38B2167564B281   MARIA        DIEGO HERNANDEZ          NE          90014526756
38B218A682B871   MANDI        SIMMONS                  ID          90007818068
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38B2193757B639   SIMONE       CROWELL                  GA          90014719375
38B21A9692B835   JESSI        GILPIN                   ID          90014030969
38B22242441285   GEORGANNE    TOMANIO                  PA          90014172424
38B2284142B871   ERENDITA     GONZALES                 ID          90006528414
38B22923251369   STEVE        ADAMS                    OH          66083959232
38B2341582B871   CASSANDRA    MCKIERNAN                ID          90007714158
38B237A615B344   LINDSEY      BAKER                    OR          90008267061
38B23882891831   MISSY        JONES                    OK          90004268828
38B2423337B639   AZIVE        ARMOUR                   GA          90013272333
38B24A25785996   JESSICA      MCGUIRE                  KY          67041130257
38B24A9292B871   ALEX         STILES                   ID          90013750929
38B2528432B871   AUNDREA      DRAGGETT                 ID          42090852843
38B25749741285   ANGELA       KEENER                   PA          90007677497
38B2624797B639   UMIKA        MILES                    GA          15010062479
38B26291936143   ASHLEY       BROWN                    TX          90011152919
38B2699575B52B   GENEA        OLIVER                   NM          90001769957
38B2712798B16B   SYNDI        MONTOYA-MILLER           UT          31011851279
38B2737185B52B   OLIVIA       MUNOZ                    NM          90009773718
38B2741582B871   CASSANDRA    MCKIERNAN                ID          90007714158
38B27894691831   MICHELE      WHITSON                  OK          90011518946
38B28636151382   MARGARET     VARIN                    OH          66042426361
38B28A1875598B   GEORGIA      HARNEY                   CA          90012320187
38B2913925598B   ROSANNA      DIAZ                     CA          90010211392
38B29152155972   NATALIE      MENDIVIL                 CA          90012071521
38B2923358B162   MARCIE       KRASNIUK                 UT          90011722335
38B29474631424   JAY          GRANT                    MO          90004144746
38B2959332B87B   RICO         DAVILA                   ID          42076315933
38B29653336143   JAIME        OLIVAS                   TX          90014746533
38B2972669156B   EMMA         PROVENCIO                TX          90011717266
38B2B162A36143   ANTONIO      FLORES                   TX          90002951620
38B3157A65B52B   CRAIG        HOLTER                   NM          35047065706
38B31779455972   ROSA         HERNANDEZ                CA          48070207794
38B3192135598B   ANGELICA     VASQUEZ                  CA          90007429213
38B32543872B25   ESMERALDA    RUVALCABA                CO          90010745438
38B32912831424   OPHELIA      BOONE                    MO          27506779128
38B3315A42B968   VERNON       JONES                    CA          90010781504
38B33179855972   LUIS         SERANO                   CA          48095491798
38B3337775598B   GABRIELA     ARRIAGA                  CA          49064903777
38B34412941258   COLLEEN      OTOOLE                   PA          51086014129
38B3532827B639   ERICA        REYES                    GA          90012463282
38B3575A15B52B   GABRIEL      JURADO ESQUIVEL          NM          35097347501
38B362A4544345   TEAWANN      POLK                     MD          90014762045
38B3658238B139   FRANK        FRANCIS                  UT          90003155823
38B3698325598B   CHRISTI      VILLEGAS                 CA          90011539832
38B37571A55972   MIKE         ALCANTAR                 CA          90014265710
38B3787943B38B   ELVIRA       ESPINOZA                 CO          90010868794
38B37A6655598B   MARIA        SAENZ                    CA          49043830665
38B38579131424   DANIELLE     BOWE                     MO          90011525791
38B3896242B871   MAX          HADLEY                   ID          90011139624
38B3B73515B52B   LORETTA      GROS-VENTRE              NM          35062037351
38B4128365B386   CRISTOPHER   PHILLIPS                 OR          90001142836
38B41355451367   DAN          FRITZ                    OH          66096803554
38B41366341258   SHAWNTIA     DURRETT                  PA          90011143663
38B41423724B39   SILVERIO     BENITZ                   VA          90007254237
38B4148267B639   RENETTA      WASHINGTON               GA          90012994826
38B4242512B87B   SARAH        CELLERS                  ID          42095234251
38B43233384376   ALTON        SILVER                   SC          19069712333
38B43339A41285   NIKKI        TROY                     PA          51012983390
38B4384865B52B   JEMIMIA      HOLYFIELD                NM          35081578486
38B4393484B532   ASHLEY       UPSHAW                   OK          90010929348
38B44228151382   JUAN         GALAN                    OH          66098112281
38B4433744B281   KIM          THOMSON                  NE          90008613374
38B4499A355972   JESUS        GALAVIZ JR               CA          48060279903
38B45599A4124B   LEOVARDO     POLANCO                  PA          51023265990
38B4595175B52B   VALDEZ       SHELDON                  NM          35090809517
38B4653145598B   JOANN        MADRIGAL                 CA          90011975314
38B4674442B835   DAMIAN       SANCHEZ                  ID          90014337444
38B4677155B393   RAH-HEIM     NED                      OR          90014167715
38B4788834B281   MAX          JACOBS                   NE          27003488883
38B47A7635B52B   ILIANNA      GOMEZ                    NM          35087260763
38B4833242B835   LENDY        ROMAN                    ID          90012903324
38B4836A184345   DIANE        WOODBERRY                SC          90014943601
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38B48722855927   ADRIANA       DELGADILLO              CA          49099717228
38B4923975B393   CHRISTOPHER   LEAR                    OR          90014262397
38B49796A8B16B   MEGAN         WALLACE                 UT          90010917960
38B4B42AA31424   CIERRA        WASHINGTON              MO          90014884200
38B4B72665B393   STEPHEN       SUNNES                  OR          44572427266
38B4BA8865B52B   ROJERIO       SANCHEZ                 NM          35095890886
38B5111324124B   GARCIA        MARIO                   PA          90010821132
38B51379241258   SHARLENE      RICKETTS                PA          51052163792
38B5179735598B   NICOLE        HODGES                  CA          90013817973
38B51837631424   STEPHANIE     RAY                     MO          90012958376
38B51933951362   TONI          CROSS                   OH          90010359339
38B52227433B57   JORDAN        HUSK                    OH          90012292274
38B5224788B166   EDDY          WILLIAMS                UT          90000722478
38B5225842B87B   SHERYL        PHILLIPS                ID          42050322584
38B53636991831   JOLAUNDA      LUPER                   OK          90007406369
38B5498112B871   TASHA         LUDQUIST                ID          42005189811
38B5529734B563   FERNANDO      CASTELAN                OK          90008582973
38B55723541258   KAYLA         MCCASKEY                PA          90015167235
38B55933A7B449   SHEILA        CALDWELL                NC          90012299330
38B56963241285   TINA          RUSSO                   PA          90014599632
38B5753535598B   CHRISTINE     REYES                   CA          90014985353
38B5814532B835   PATTI         URY                     ID          90011311453
38B58563672496   DOROTHY       PREMUS                  PA          51001045636
38B5875263B388   LISA          MARKEY                  CO          33087867526
38B5913A572424   JOSEPH        SLOAN                   PA          51017181305
38B592A6136143   MARIEL        LICERIO                 TX          90001222061
38B59433974B7B   RONNELLE      WOLFORD                 OH          90015404339
38B5969358B16B   VICKY         SANCHEZ                 UT          90013466935
38B5989414B281   GIOVANI       CORBINO                 NE          90011288941
38B5B238173221   FERNANDO      MATEO                   NJ          90014442381
38B5B3A3193754   VICKI         JOHNSON                 OH          90015063031
38B5B531891356   ANGELA        ABARCA                  KS          29008975318
38B5B576991232   ASHLEY        MCFARLIN                GA          14587825769
38B5B91A831424   DARRYL        WHITTED                 MO          90014119108
38B5BA2A85598B   THERESA       GARLAND                 CA          49087840208
38B6319527B639   LATONYA       HALSTON                 GA          90014991952
38B6327835B393   LEWIS         ZIEGLER                 OR          90008742783
38B63931436143   NICK          VARGAS                  TX          90011159314
38B6412948B16B   PATTY         MARK                    UT          31002591294
38B6547723B388   SOCRATES      SALDARRIAGA             CO          33085584772
38B65573431424   TIANNA        CRAFT                   MO          90009955734
38B658A4A5B52B   KARRIERAE     MONTE                   NM          90011328040
38B66222231424   ANNETTE       STEVENSON               MO          27568732222
38B66424391232   KAREN         MALLORY                 GA          90008164243
38B67385A55972   LEONCIO       FLORES                  CA          48004003850
38B67945591891   CHRISTY       GRAY                    OK          90009969455
38B68A7A231949   JOHN          DELAROSA                IA          90015490702
38B68A8795B56B   LEONARDO      ACEVES                  NM          90011900879
38B6934295B386   ABDULKADIR    BUHO                    OR          90013453429
38B69511955936   MARIA         RENTERIA                CA          90001405119
38B6956215B56B   FLOR          ORDONEZ                 NM          36088945621
38B696A944B291   ADELA         ARCOS PEREZ             NE          90007966094
38B6B35512B87B   MEGHAN        BISSET                  ID          42051693551
38B6B83742B87B   JOEY          HALL                    ID          90013138374
38B7178742B871   MEGAN         HERRING                 UT          42041737874
38B717A337B471   RAY           MORGAN                  NC          90013567033
38B7194752B87B   LARRY         MOORE                   ID          42082249475
38B7425457B622   GERICA        WILLIAMS                GA          90013282545
38B7466992B87B   KRYSTAL       ESPINOZA                ID          90014136699
38B74AA782B871   CESAR         AYLLON                  ID          90012800078
38B75132472B25   MONICA        YOUNG                   CO          90004561324
38B77A47691831   TAUREAN       HUNTER                  OK          90012030476
38B781A517B471   ALISHA        OATES                   NC          11095441051
38B78AAA191232   NEISHA        LAW                     GA          90008740001
38B7934932B87B   EDWARD        KILDOW                  UT          90010903493
38B79489476B64   BRISNET       CASTRO                  CA          90011514894
38B79912A57123   MARIA         MIRTALA MARTINEZ        VA          81014359120
38B7B94917B639   LATERRIA      SELLERS                 GA          90013959491
38B8139882B871   JAMIE         DEWITT                  ID          42089593988
38B81649736143   MICHAEL       STEWART                 TX          90013746497
38B81A6267B639   KAREN         ROSER                   GA          90012860626
38B8223625B52B   MAYTE         RIVERA                  NM          90013922362
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38B8232145B52B   ELIZABETH    CARRASCO                 NM          90014803214
38B8261764B221   LISA         BILLMAN                  NE          27043016176
38B83185A41258   KIMBERLY     MALLOY                   PA          51008431850
38B8387A655972   GLORIA       FAJARO                   CA          90004028706
38B83882584326   ASHLEY       WILSON                   SC          90012488825
38B84665636143   MARVIN       WILLIAMS                 TX          90012766656
38B84743A2B871   MARK         CICCARELLO               ID          42071937430
38B84936254122   SHEILA       SCOTT                    OR          90013329362
38B85121691561   DORA         ROE                      TX          75063561216
38B856A4191538   LILIANA      ALVARADO                 TX          75041156041
38B856A762B886   JEFF         JARDINE                  ID          90010646076
38B8621555B52B   CARLA        PALACIOS-TORRES          NM          90013892155
38B8623848B16B   SUMMER       RUPLE                    UT          31077972384
38B86261191934   REGINALD     BUTLER                   NC          90008282611
38B8626212B828   JENNY        MOORE                    ID          90012652621
38B8683587B639   LORY         CAMPBELL                 GA          90010118358
38B8687475598B   OLGA         CHAIDEZ                  CA          90009918747
38B8737115598B   FRANK        SANCHEZ                  CA          90011183711
38B88428841258   RONALD       BEASLEY JR.              PA          51081694288
38B8848692B871   RICHARD      PRADO                    ID          42001244869
38B884A333B134   MICHAEL      LUCAS                    DC          90001564033
38B89A1765B52B   MELISSA      CARROLL                  NM          90014600176
38B8B68977B639   MIKITA       GRIIFFIN                 GA          90013626897
38B8B882A2B835   JOSE         VAZQUEZ                  ID          90011848820
38B91593161923   VINCENT      PALACIOS                 CA          46035605931
38B9216A72B835   LOVETTA      CARR                     ID          90012011607
38B9245725B52B   AMELIA       SAUCEDO                  NM          35097424572
38B9273558B16B   JESUS        HERNANDEZ                UT          31065947355
38B93412341285   GUY LARUNT   JEAN NOEL                PA          90012184123
38B936A3631424   TIMA         ALIHOEZIC                MO          90013626036
38B937A8991831   REBEKA       WARRENT                  OK          21081067089
38B9426252B871   ADINA        THOMPSON                 ID          90014442625
38B95693A36143   LORETTA      NAVARRO                  TX          73589786930
38B9572767B639   BRENDA       JORDAN                   GA          90012117276
38B9644597B471   JOSE         HERNANDEZ                NC          11075674459
38B96488741258   DAMIEN       HODGES                   PA          51093594887
38B9677427B639   ORLANDO      HARVILEY                 GA          90010857742
38B9758749379B   JACK         VINCENT                  OH          90010815874
38B97642191232   JAN          RHETT                    GA          90000326421
38B97817A55972   JOSE         VICENCIO                 CA          48026448170
38B97A21436143   SONIA        SANCHEZ                  TX          90011370214
38B98119247829   AMY          LANCASTER                GA          90008361192
38B98A21841285   DEWAYNE      SMITH                    PA          51072070218
38B99649855972   YARDLEY      DUSTIN                   CA          90005336498
38B9968A92B87B   CODY         GONZALES                 ID          90012616809
38B9999414B281   SARAYA       VOGEL                    NE          90003549941
38BB113257B639   TRYSHEEMA    WILLIAMS                 GA          90010121325
38BB1274741258   LORI         GUSTETIC                 PA          90012372747
38BB147145B156   REGINA       RHODES                   AR          90005124714
38BB1657972B44   JASON        BUTLER                   CO          90007766579
38BB2495231424   SHAYLA       BUCKLEY                  MO          90002614952
38BB2A22755972   RENATO       SANCHEZ                  CA          90013840227
38BB2A3592B835   DIANE        HANSEN                   ID          90011310359
38BB3875241285   JESSICA      RICHARD                  PA          90013738752
38BB4412831424   DEBRA        STARWOOD                 MO          90006634128
38BB4A1615598B   DOROTHY      SMITH                    CA          49032790161
38BB57A8993762   SHEKENNA     GUYTON                   OH          90002667089
38BB6119991952   MARTHA       BARILLAS                 NC          90009951199
38BB6656744B62   DANIELLE     STEELE                   OH          90014406567
38BB822658B179   MISTE        VANIEPEREN               UT          90005952265
38BB867162B87B   WILLIE       OUTLAND                  ID          90013826716
38BB8835731424   REVELL       SHERMAN                  MO          90012958357
38BBB4A525598B   JACKIE       DAVIS                    CA          90011454052
38BBB676A4124B   DENISE       BRENNER                  PA          51071626760
38BBB727391232   TERRY        MITCHELL                 GA          14580617273
3911169555B344   KIMBERLY     THOMAS                   OR          90007276955
39111AA687753B   JAMES        HALL                     NV          90012700068
3911237644124B   DENNIS       OPFER                    PA          51076303764
39112A46576B89   ERICA        LARSON                   CA          90014100465
391147A6991584   JAFET        URIBE                    TX          90013457069
391154AA17753B   MADONNA      LENDON                   NV          90012134001
3911613A476B89   CHRISTIAN    RAMERO                   CA          90013011304
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3911641198B162   HOLLY       MITCHELL                  UT          31097714119
3911656A85B52B   ERICA       VIVAS                     NM          90005285608
3911665A591371   SHAE        OKTAY                     KS          90015286505
39117131776B89   IRIDIAN     TEJADA                    CA          90012891317
3911786A755949   DAVID       ANDERSON                  CA          90015198607
39118133A41277   DAVID       CUKRZYNSKI                PA          51008491330
3911827252B87B   BERNTSEN    GLORIA                    ID          90007932725
391182A577B449   FAYE        MCCLENNINGHAM             NC          11068822057
3911843797B492   ALICE       CHAMBERS                  NC          90013874379
3911952A72B241   TIKIA       NICKS                     DC          90009645207
3911B32A15B358   MARIA       GOMEZ                     OR          44587403201
3911B47A841285   LATORIA     BAILEY                    PA          90010734708
3911B662A7B492   JOCOBUS     VERMEULEN                 NC          90014296620
3911B6A765598B   ROMAN       RIVERA                    CA          90012856076
3912196372B87B   KASAUNDRA   LAKIC                     ID          42076429637
39121A3995B344   JOSHUA      GUERRA                    OR          90011790399
3912236A676B89   PERLA       MENDEZ                    CA          90011843606
3912357864B281   SANGBO      OSMAN                     NE          90014925786
3912392545B344   MARCOS      SALGADO RAMIREZ           OR          90002879254
391241A7A91371   VICTOR      TORRES-MURRILLO           KS          90012391070
3912452912B87B   DENISE      SPORTILLO                 ID          42074125291
39125527A7753B   MARY        HANDLEY                   NV          90003765270
39125A33355972   ARIANA      GARIRO                    CA          90012590333
3912611435B393   ANGEL       LEE                       OR          90013341143
3912645388B162   HEBER       SARMIENTO                 UT          90010854538
3912656945598B   CHEREE      WEAR                      CA          90012915694
39127122872B39   ERIC        BAILEY                    CO          33049761228
3912769A47B492   LAWANDA     HUGHES                    NC          90008966904
3912773A591831   REBECCA     HICKS                     OK          90014907305
3912826392B871   NEIL        WASSMUTH                  ID          42009192639
391282A2191831   COZELL      DONALD                    OK          90009472021
3912891845B358   JORGE       JIMENEZ                   OR          44500379184
3912946797B492   ROBIN       CHAMBERS                  NC          90013874679
3912B286841258   SILVANA     ASTURI-LAMP               PA          90010372868
3912B552A51329   NADINE      EMAHA                     OH          90002155520
3913231684124B   PAYGO       IVR ACTIVATION            PA          90013683168
391323A4591371   LINDSEY     SILVEY                    MO          29035203045
3913333165B52B   VERONICA    SALAZAR                   NM          35093603316
3913452596193B   TOM         DIAMOND                   CA          90003275259
3913492252B24B   MAMO        GERBA                     VA          90010319225
3913515922B871   DAVE        BIRKINBINE                ID          42022811592
3913533414B281   BONNIE      CAULDER                   NE          27089033341
3913552787B471   JULIE       MOORE                     NC          90013465278
3913555273B399   RICARDO     DEJESUS                   CO          90003595527
39135947A7B492   SANTINA     SANDERS                   NC          90012979470
391365A7A7B495   SHEQUITA    WILSON                    NC          90011085070
3913797385B358   LORI        FRAZIER                   OR          90013429738
3913819757B376   DANIELLE    LEYLA                     VA          90013061975
3913835198B178   KATIE       JEFFS                     UT          90006073519
3913874145B52B   FRANCES     SERNA                     NM          35080807414
3913926417B639   TAWANA      RAGLAND                   GA          15055142641
391396A7291371   MEGAN       MCMBRIDE                  KS          90011966072
3913987375B393   FAITHANN    KING                      OR          90011428737
3913B47998B162   BOGDANSKI   MONA                      UT          90010114799
3913B619391831   PATTY       REED                      OK          90007826193
3913B63532B871   CRISTINA    TELLEZ                    ID          42046076353
3914134915B52B   VIVIANA     CHORA-CANALES             NM          35096313491
39141446A77544   ALBERT      BITETTO                   NV          90011784460
391418AA555949   BRIGETT     RODRIGUEZ                 CA          49086068005
3914245935598B   ESTHER      ALCANTARA                 CA          90007554593
3914318415B386   DENZEL      MCNASH                    OR          44564991841
39143671A76B89   LISA        WALLMAN                   CA          90015046710
3914445AA5B393   RACHEL      MARSDEN                   OR          90003624500
3914455412B87B   JACQULINE   KIESTER                   ID          90013485541
3914465A55B344   JODY        HERNANDEZ                 OR          90008906505
3914563815598B   TENISHA     WALKER                    CA          90000466381
391458A124B281   MARIA       RAMIREZ                   NE          90014388012
3914688A857122   KELEIGH     MANION                    VA          90007838808
3914716465598B   ASHLEY      SALAZAR                   CA          90012271646
391472A3931424   JAMIE       LUMPKIN                   MO          90014622039
3914867662B835   JANINE      MORGAN                    ID          90008416766
39149291A85943   MARTHA      MUNGUIA                   KY          90014112910
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3914929A691321   BOBBIE        AKINS                   KS          90009292906
3914964394124B   ADDY          KOROTKO                 PA          90013966439
3915127835B358   DEREK         ANGEL                   OR          90011762783
3915145975B344   MARTIN        VIRGEN CASTREJON        OR          90011794597
391518A774124B   LEAH          CHARLES                 PA          51046348077
391521A3376B89   DANIEL        PRINZEN                 CA          90012071033
3915243A191584   AMANDA        BURCIAGA                TX          75036444301
3915261A191371   GISELE        BARTON                  MO          29081616101
3915295157B449   EUGENE        STOWE                   NC          11038239515
3915318395B56B   DANIEL RAY    EVANS                   NM          90014581839
3915426584B281   MONIQUE       TATE                    NE          90002802658
3915544882B828   LISA          VANDENBERG              ID          42083084488
39155517A5B358   RONALD        SIMMONS                 OR          44509955170
3915599557B492   JOSE          GARCIA                  NC          90014439955
3915617275B52B   DONALD        THOMAS                  NM          90015251727
3915688565B156   BRITTNIE      COOKSEY                 AR          23081078856
3915689977B471   JUAN          ACOSTA                  NC          90013778997
3915698372B835   CURTIS        LINDSEY                 ID          90013339837
3915739367B449   PAMELA        WILSON                  NC          90012943936
3915757A561984   HERIBERTO     VARGAS                  CA          46004065705
3915815214124B   PAUL          BARKCO                  PA          51059561521
3915852775B52B   TRACEY        NEUHAUS                 NM          35012865277
3915959185B344   SHEENA        BILLS                   OR          90001685918
391598A3A91232   GEORGE        JOHNSON                 GA          14541278030
39159A9A74124B   JAMEY         WAUGH                   PA          51016030907
3915B29A691321   BOBBIE        AKINS                   KS          90009292906
3915B99895B264   KAREN         FLANIGAN                KY          90003309989
3916181117B492   FERNANDO      SANCHES                 NC          90003718111
3916313735B52B   SAMUEL        CASTILLO-MENDOZA        NM          35021541373
39163A73A55949   MARY          CORRILLO                CA          90012770730
39164624A4124B   VICTORIA      PETERMAN                PA          51089096240
3916463238B162   BRANDON       PETERSON                UT          90006206323
39165463A55949   ANITRIA       SELLERS                 CA          90015204630
3916593A82B87B   ANGEL         PEREZ                   ID          90010259308
39165A16441258   MONE          PARKER                  PA          51074080164
3916631194124B   CARLA         ROUSE                   PA          51000633119
39166A1872B87B   BENJIMEN      LEARNED                 ID          90005340187
391674A3855949   GUALDALUPE    RODRIGUEZ               CA          49026174038
3916848257753B   AMY           FREELS                  NV          90005834825
39168A2744124B   GINA          IGERSHEIM               PA          90002150274
3916951615B358   ERICK         HERNANDEZ               OR          90015135161
39169524A91371   GRACIELA      LOPEZ                   KS          90012515240
3917122984B954   BRIANNA       SHIELD                  TX          90012722298
3917169264124B   VERONICA      BRADBURY                PA          51061786926
39171A67A7753B   MARTHA        PEREZ                   NV          90011140670
39172766A5598B   VALENCIA      REINA                   CA          90001227660
3917381817753B   JOHN          WHITTAKER               NV          90014108181
3917486A191232   ROBERT        SCOTT                   GA          14512418601
3917514745B52B   JAMIE         RAEL                    NM          90010561474
3917522635B393   JOHN          BARKER                  OR          90010312263
3917528A25B393   JENNIFER      FERGUSON                OR          90004102802
391752A8731424   COBIE         SHINAULD                MO          90010662087
3917545215B344   OLIVIA        TORRES-BEJAR            OR          90010084521
391758A1A5598B   ULISES        CALVILLO                CA          90011268010
3917615A55B52B   ALURA         MONTANO SAIZ            NM          90010561505
3917685565B358   JUAN J        JOVEL                   OR          44564438556
3917734335B52B   WILLIAMKOLE   JOHNSTON                NM          90004233433
391774A6576B89   KAREN         VURIK                   CA          90010164065
3917751115B393   BRYCE         WASHINGTON              OR          90014345111
39178378476B89   OSCAR         MAURICIO                CA          90010943784
39178A28391371   EZEKIEL       MOORE                   KS          90014190283
3917923A12B87B   JESSENIA      PADILLA                 ID          90009012301
3917932474B281   LORENA        SAAVEDRA                NE          27072953247
391798A9631424   NEKITA        DAVIS                   MO          90012458096
3917B51615B358   ERICK         HERNANDEZ               OR          90015135161
3917B52972B871   VIRGINIA      NIETO                   ID          42005275297
3917B634A2B835   DANA          CARTER                  ID          90010606340
3917B77477B492   PAULETTE      LATTIMORE               NC          11064937747
3917BA32284334   MARCUS        RICHARDSON              SC          90012000322
3918156388B16B   ATKNSON       ELENIOR                 UT          90003655638
39181625A5B358   ARMANDO       TELLO SR                OR          90014486250
39181A1787B492   SWIMMY        JOHNSON                 NC          90014520178
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391826A727B492   LINDA        MASON                    NC          90008156072
39183246476B89   BRITTANY     JOBE                     CA          90008022464
391837A3933B2B   GERALD       HOWLEY                   OH          90014247039
3918459847753B   LUCIANA      LEMOS                    NV          90001375984
39185276A4124B   JAMICA       ZIEGLER                  PA          90013142760
3918556375B393   BONITA       HOWARD                   OR          90012485637
39186338A7753B   DENISE       MARTIN                   NV          90004223380
3918666A691584   MARCELA      CARDENAS                 TX          75075616606
391875A2A2B835   SUSAN        PETTIT                   ID          42029925020
3918859795B344   HELI         ANDRADE                  OR          44589055979
3918873497B492   CATHY        ROSS                     NC          11043167349
3918982755B344   TKIT         BARNER                   OR          44582578275
3918B51172B871   KEVIN        SCHAFER                  ID          42037105117
3918B97267B471   BRIANNA      BRANTLEY                 NC          90014559726
3919151987B492   MARY         BYERS                    NC          90013875198
3919186A461435   JORJE        LOPEZ                    OH          90013898604
3919191138B164   ROBERT       ZANONE                   UT          90004039113
391919A815B281   BRANDIA      TODD                     KY          90013879081
3919242A141285   AMBER        BILL                     PA          51026394201
3919265A891538   ENRIQUE      HERNANDEZ                TX          90007496508
39192768776B89   LIZBETH      PEREZ                    CA          90013277687
3919319A857569   HANK         LOPES                    NM          90014611908
39193A3A444B62   MARIA        TAYLOR                   OH          90013890304
3919455717B492   TAMIA        HAYES                    NC          90014135571
3919499612B835   JASON        DECHAMBEAU               ID          42051559961
3919585317753B   WILLIAM      BARRINGER                NV          43087668531
3919598585B358   FRANCIS      GAMEZ                    OR          90005829858
39195A1242B835   CHRISTINA    LUBACKY                  ID          90010720124
3919643145B344   JAMES        COLLINS                  OR          90006214314
3919666A691584   MARCELA      CARDENAS                 TX          75075616606
3919693A37753B   JAVIER       SEPULVEDA                NV          90014909303
391977A9A5B59B   JOE          RIVERA                   NM          90009567090
39198657576B89   JOSE         MAURICIO PINEDA          CA          46015166575
39199127A5594B   CRISTINA     RANGEL                   CA          90012991270
3919922475598B   PAULA        GOMEZ                    CA          90013392247
3919B92A776B89   MARIA        CUEVAS                   CA          90002069207
3919BA32936B77   SARA         ROBERTS                  OR          44582200329
391B1559355972   SAMANTHA     PONCE                    CA          90013125593
391B2132576B89   DIOSMELDA    MORENO                   CA          46054161325
391B2324731424   DANNIE       KINDLE                   MO          90014703247
391B26A125598B   OMAR         HERRERA                  CA          90012526012
391B312995B393   REBECCA      BROWN                    OR          90003041299
391B3443576B89   LUIS         RINCON                   CA          90012114435
391B347935B281   JASMINE      STARLING                 KY          68075204793
391B3A3515598B   KATE         ZELLER                   CA          90014650351
391B446744B576   SHIRLEY      SMITH                    OK          90011094674
391B495115B156   CHRISTOPHE   ESTRADA                  AR          23003809511
391B5727751331   JANISE       TIPTON                   OH          90011437277
391B62A8491371   JOEL         GUZMAN                   KS          29067032084
391B677437B492   S            ROBINSON                 NC          11042477743
391B8821276B89   OSCAR        SALAZAR                  CA          90014188212
391B9255498B25   FRANSICO     GRIMALDE                 NC          90009632554
391B9397176B89   ERIKA        LUIS                     CA          46013663971
391B988735598B   HEATH        SUMMERS                  CA          90011938873
391BB53694B922   TAMMY        SIMPSON                  TX          90013355369
3921141A155972   RAELA        SCHLAICH                 CA          90013004101
3921165984124B   PATRICIA     LAUGHLIN                 PA          90013966598
3921236452B857   FRANCISCO    RAMIREZ                  ID          90007913645
3921239885598B   DAMETRIC     GREEN                    CA          90015023988
39212532576B89   SILVIA       CRUZ                     CA          90006515325
3921333814124B   DAWN         LOOP                     PA          51042343381
3921363115B393   ANNE         ELIZABETH MARTIN         OR          44517926311
39214A9384B281   KHAMBA       GURUNG                   NE          27013180938
39215A49991584   JOSE         MANRIQUEZ                TX          90003230499
3921656127B471   EBONEE       JOHNSON                  NC          11003055612
39217295376B89   ANNEKE       SCHIEBERL                CA          46015622953
3921753725B52B   PHILLUP      LOPEZ                    NM          35036715372
3921773132B871   DONYA        WHITMER                  ID          42093047313
3921783277753B   ELISA        RUELAS                   NV          90000218327
3921785592B835   PAYGO        IVR ACTIVATION           ID          90015028559
39217A38691371   JESSICA      WHITCANACK               KS          90014520386
392182A1941285   CHARLES      THOMA                    PA          90014312019
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3921895A231424   CHRISTINA   PIERCE                    MO          90015129502
3921896A67B432   CARLOS      GUZMAN                    NC          90008709606
3921965A67753B   JOSE        LOPEZ-GONZALEZ            NV          90013356506
39219A19685965   JAPHTER     TETTEH                    KY          90011960196
3921B16422B87B   ALMENDRA    RODRIGUEZ-HOLGUIN         ID          90009391642
3921B65114124B   BREANNA     WANK                      PA          90010706511
3921B821A4B281   JOCELYN     BELL                      NE          90014928210
3922123135598B   AIOTEST1    DONOTTOUCH                CA          90015122313
3922181437B492   KELVIN      GONZALEZ                  NC          11064688143
39221877A5B393   AHMED       ABU                       OR          90013688770
3922199362B871   BECKY       MOAQUEDA                  ID          90011759936
3922223577753B   YURI        MANZO                     NV          90011902357
392224A665B393   MARK        DORMIER                   OR          44566464066
3922381897B471   KENNETH     BERRY                     NC          90010568189
3922482897B471   DEBRA       DAYE                      NC          90014768289
3922494A755972   YUNI        VALENCIA                  CA          48094109407
3922522252B871   DOUGLAS     BOYCE                     ID          42032432225
3922544A741258   EMMANUEL    MENDOZA                   PA          90007474407
3922673915598B   ALEX        NAVARRETTE                CA          90014477391
392269A2A7B639   ISHMEL      PLOWDEN                   GA          90009859020
39227192A76B89   CARL        CUMMINGS                  CA          90010751920
3922763275B156   SCOTT       MICHAEL                   AR          23091226327
3922877417B471   CARLOS      SANCHEZ                   NC          90012597741
39229295476B89   MARY        PEREZ                     CA          90011962954
3922983617753B   ROBERT      MEEKINS                   NV          43018458361
3923125575B156   JOSIE       POMPA                     AR          23053442557
39231462A4124B   EDWARD      COLLINS                   PA          51086004620
3923179567753B   SHELL       COOKS                     NV          90011437956
39231A4695598B   JUDY        MELIKIAN                  CA          49090400469
3923233175B344   BRANDON     NULL                      OR          90001793317
3923316A576B89   NORMA       MARTINEZ                  CA          90008311605
3923324215B344   SARAH       PETERS                    OR          90011802421
3923472557B471   CHRIS       MOODY                     NC          90010557255
3923487954B281   CLAUDIA     SALES                     NE          90014928795
3923568115B393   ALAMA       HERNANDEZ                 OR          90005626811
3923578575B358   JOSE        MENDOZA                   OR          90014607857
3923643912B871   ALAN        SEID                      ID          90011614391
3923659125B344   AMERICA     BENITO                    OR          44587385912
3923694272B24B   HEATHER     MCNAIR                    DC          90002739427
3923697AA41258   BRUCE       MORROW                    PA          90003099700
3923735A65B358   JERRY       BUCKNER                   OR          90014243506
3923775352B871   GUSTAVO     GUEVARA                   ID          42089307535
3923778575B358   JOSE        MENDOZA                   OR          90014607857
3923816348B16B   CLYDE       RHODES                    UT          31079051634
39238595A91584   ALEJANDRA   HERNANDEZ                 NM          75051555950
3923946635B344   MODHAFER    ALMAHE                    OR          90009194663
392399A895598B   FILIBERTO   HERNANDEZ                 CA          90004919089
39239A2958B16B   BLANCA      GALLAGA                   UT          90007180295
3923B26757B471   ELIZABETH   SIMPSON                   NC          90003912675
3923B277476B89   NAZARIO     GONZALEZ                  CA          90010692774
3923B29777B492   AMY         LOFGREN                   NC          90014012977
3923B646155949   PATRICIA    TORRES                    CA          90013306461
3923B6A518B16B   ATHLEEN     RICE                      UT          31092536051
3924177A12B835   DONALD      ANDERSON                  ID          42030347701
392418A5791959   EDUARDO     AVENDANO                  NC          90010488057
39241925976B89   LILIA       HERNANDEZ                 CA          90012899259
39241A17131424   TRANADA     FINLEY                    MO          27563760171
39241AA385B358   JESUS       OCHOA                     OR          90012360038
3924258544124B   NADIR       DERADO                    PA          90012995854
39243224A55949   MOISES      MAGALLANES                CA          90013172240
3924367235598B   RALPH       MARTINEZ                  CA          90013936723
39243A8895B358   NICHOLAS    STONE                     OR          90014820889
39243AA725B344   ISIDRO      FINO ACATITLAN            OR          90008610072
3924457152B87B   JULIANA     TOLVES                    ID          42097395715
3924489935B393   ZAKIYA      HARRIS                    OR          44514198993
3924513577753B   MARIO       VALLE                     NV          90009691357
3924563375B281   DERRICK     JAMES                     KY          90007786337
39245A95991831   GEORGENE    WHITE                     OK          90010890959
3924616195B393   JAMES       THORSEN                   OR          90009811619
3924616562B835   AARON       ALFARO                    ID          90015041656
39246254972B24   CYNTHIA     COMPEAN                   CO          90011612549
3924626914B281   NORMA       CARDENEZ                  NE          90009252691
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3924667344124B   TIMOTHY      KOERBEL                  PA          90013966734
392473AA561982   RAUL         TELLO                    CA          46092753005
392478A9231424   JOSEPH       MOWRY                    MO          90012408092
3924B253685833   SANTIAGO     ALVARADO                 CA          46058762536
3925178A47B492   ROBERT       ROGERS                   NC          90015617804
3925187655598B   JAIME        LEON                     CA          90012838765
3925229674124B   LONIKA       MOSES                    PA          51031382967
3925262325598B   CHRISTINE    QUINTANA                 CA          90003556232
3925265455B52B   WALDREIA     CLARK                    NM          90005286545
39253369776B89   RAUL         BERMUDEZ                 CA          90010703697
39254483A41285   TIAWAN       HARPER                   PA          90015294830
392556A425B393   MARCELLA     KETCHERSID               OR          90011086042
3925572195B358   SILVIA       JACOB                    OR          90007907219
39255A4382B835   ANNA         PAYNE                    ID          90010610438
39255A6832B87B   SCOTT        ZIMMERMAN                ID          42098200683
3925693A791525   GILBERT      TAPIA                    TX          90002449307
3925757485B344   JASON        JOHNSON                  OR          44510055748
3925828725B358   STEVN        SMELSER                  OR          90015182872
3925833752B87B   EVELYN       ADAMS                    ID          90001343375
39258878A31424   HARRY        TUTHILL                  MO          90012968780
3925B24775B344   MIGUEL       CASTILLO                 OR          90005892477
3926117355B393   LUIZ         HERNANDEZ                OR          90012191735
3926123192B871   SUZIE        NUNEZ                    ID          42038052319
392613A585598B   ESMERALDO    ESPINOZA                 CA          90008143058
3926258AA7B639   BRETON       JONES                    GA          90005385800
39263526A4124B   MELODY       TURNER-KONAN             PA          51016095260
3926384535598B   JENNIFER     LANEY                    CA          90001468453
3926432372B87B   ALEX         VOTA                     ID          42088253237
3926453285B52B   JONATHAN     ROOT                     NM          90014415328
3926471438B162   MARIA        RUIZ                     UT          90013097143
392656A3191232   ROBERT       BROWN                    GA          90010766031
3926677A572B33   JARYD        WHITE                    CO          90007297705
39267A9752B87B   KEVIN        SHOECRAFT                ID          42081780975
3926816995B393   ASHLEY       ENGLISH                  OR          90014231699
3926837367B436   GLENDA       SOTOIZANO                NC          90001593736
3926864975B52B   JESSICA      PINEDA                   NM          90009816497
39268696A5B281   BLAINE       SPAULDING`               KY          68086366960
3926B82634124B   JUANDA       SMITH                    PA          90010518263
3926BA1215B52B   KYLE         BLACKWELL                NM          90013740121
3927183838B162   MARILYN      KOBYLANSKI               UT          90011738383
392718A3391831   KHARA        TAYLOR                   OK          90003958033
392724A465B344   VALERIE      WICKHAM                  OR          44558944046
3927275AA71924   CAROLYN      OUTLAW                   CO          90010587500
3927288937B449   BRANDON      SUNDEEN                  NC          11096968893
3927352814B281   KATRINA      CHISM                    NE          90014935281
3927364A62B871   ANGIE        AMOR                     ID          42010216406
39273A24476B89   JUAN         DIAZ DE LEON-PEREZ       CA          90004330244
3927413575B393   LOLA         SANCHEZ                  OR          44556551357
3927558332B87B   SHANARRA     VALLETTE                 ID          90013075833
3927689127B471   EBONY        COVINGTON                NC          90010608912
3927849372B871   TERRAN       FINLEY                   ID          90008014937
3927857717B471   ROSARIO      ESTRADA                  NC          11064775771
392795A4A5598B   CITLALIC     QUIROZ                   CA          90012885040
3927972662B87B   ALFREDO      LOPEZ                    ID          42006327266
3927B212285833   CARMEN       CEDILLO                  CA          46073132122
3927B298241285   APRIL        MAE                      PA          90007192982
3927B364155972   CRYSTAL      CEBALLOS                 CA          90013753641
3927B415A5B344   SKYLER       FEVIG                    OR          90011804150
392815A5297B57   MICHAEL      SANTANA                  CO          90011855052
39283938A7753B   RACHEL       MILLS                    NV          43020389380
3928428AA91831   JACQUELYNE   WILLIAMS                 OK          90013702800
3928436945B156   GUILLERMO    CASTANEDA                AR          23024453694
3928459617B449   AQUILLA      MADDOX                   NC          11093625961
3928593125598B   MAI          YANG                     CA          49010549312
39285A42841285   KISHA        GARDER                   PA          90009920428
3928667512B87B   ISAAC        FERGUSON                 ID          90012466751
392868A4941277   BRITTANY     LYNNSMITH                PA          90007248049
39286A43897198   STEPHEN      ESTRADA                  OR          90014180438
39286A96576B89   PEDRO        ANGON JR                 CA          46016130965
39287A43897198   STEPHEN      ESTRADA                  OR          90014180438
3928918825598B   LAURA        MARTINEZ                 CA          90014181882
3928922882B871   MARIA        DELA CRUZ                ID          90005332288
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3928924122162B   LETA          GRAY                    OH          90013952412
39289338376B89   ROBERTO       RAMIREZ                 CA          90010313383
3928973227B471   ALMA          ZAMORA                  NC          90006457322
3928B215971942   KIMBERLY      VALLE                   CO          90012102159
3928B447631424   CRIS          WILSON                  MO          90013064476
3928B83AA7753B   ALEJANDRA     SOTO                    NV          90010168300
3928BA3314B281   BONNIE        PETERSEN                NE          27077740331
39291955176B89   SANDY         SIXTO                   CA          46015689551
39291A78541285   KATHLEEN      DITTMAR                 PA          51008420785
39292312A5B393   MIRANDA       RODELO                  OR          44591033120
392926A385B385   MICHAEL       J DREW II               OR          44540596038
3929338932B87B   PAULA         GAXIOLA                 ID          90007553893
3929347947B492   JULIE         MERRILL                 NC          90015144794
3929397158B16B   CHRISTOPHER   LUCERO                  UT          90011349715
39293A8487B471   KEOKI         FULWILEY                NC          11078180848
39294A96576B89   PEDRO         ANGON JR                CA          46016130965
3929569237B449   TAHIESHA      HAMILTON                NC          90005886923
39295895A5598B   JUVENAL       ZARAGOZA                CA          90014348950
39296A1645B358   LILIANA       ALVARADO                OR          90014660164
3929722155B358   NICHOLAS      PROCTOR                 OR          44564692215
392973A9831424   MIYELL        BOYD                    MO          90014083098
3929844182B871   MICHAEL       AUSTIN                  ID          90014664418
39298A1645B358   LILIANA       ALVARADO                OR          90014660164
3929963965598B   AIOTEST1      DONOTTOUCH              CA          90015116396
39299A36736B77   PEREZ         MAYRA                   OR          90008730367
3929B66775B358   SCOTT         RICE                    OR          90014656677
3929B86298B16B   KARA          MILNER                  UT          90001708629
3929B881176B89   ARTURO        MORALES                 CA          46070978811
392B148388B162   SHAWN         CONDRON                 UT          90005784838
392B1554A2B835   MARY          KANE                    ID          42011465540
392B174232B87B   JUDITH        CALDERON                ID          90003737423
392B224227B471   RICKIE        BREWER                  NC          90006062422
392B2598141277   JACLYNN       MCGAW                   PA          51095875981
392B271A376B89   JASON         MCMILLEN                CA          90013937103
392B3244685833   LYNNETTE L    BUTTON                  CA          90011782446
392B3247991584   RUTH          GOMEZ                   TX          90013132479
392B332915B344   DENISE        OBREGON                 OR          44506113291
392B336A34B281   ELI           VALENZUELA              NE          27007313603
392B371748B162   JOSE          DELGADO                 UT          90010127174
392B413335598B   ALEJANDRO     MARTINEZ                CA          49081491333
392B4925976B89   LILIA         HERNANDEZ               CA          90012899259
392B537865B344   LUKE          BUCHMANN                OR          90000873786
392B541325B281   TIFFANY       EUBANKS                 KY          68079144132
392B672517753B   TARA          FLORES                  NV          90014467251
392B7416976B89   MIKE          ROBBLES                 CA          90013834169
392B7499785833   CLADIA        CHAPA                   CA          90003354997
392B7976997126   ROGER         DRENNEN                 OR          90005159769
392B7A6915B281   ALLEN         CURRY                   KY          90004570691
392B817175B52B   RAMONA        RIMORIN                 NM          90010561717
392B8599A41258   BRYAN         FLYNN                   PA          90000795990
392B8691472B33   IRMA          HENRIQUEZ               CO          90012886914
392B8723455972   ALEXIS        STEWART                 CA          48088507234
392B8825672B33   IRMA          ENRIQUEZ                CO          90006368256
392B8A51855949   PATRICK       HERNANDEZ               CA          49081880518
392B9678741258   ANTHONY       FICARRI                 PA          51064246787
392B9927876B89   VICTOR        OROZCO                  CA          90012899278
392BB134455972   GUILBERT      FRIAS                   CA          90013861344
392BB51615B358   ERICK         HERNANDEZ               OR          90015135161
3931163292B87B   BLANCA        CORTES                  ID          90010226329
393126A895B281   JONNIE        STEWART                 KY          68000626089
39312A49A7B471   HEATHER       MASSEY                  NC          90011970490
39312AA4A7B639   ANTHONY       WHITE                   GA          90013150040
3931336A95132B   LATISSHA      HOLLOWAY                OH          90004643609
39315652636B77   GERMAN        VILLALOBOS              OR          90008876526
3931584272B87B   JAMES         SULLIVAN                ID          90004008427
3931644772B835   JAMIE         LOVELL                  ID          42016754477
39316486A5B358   SABINA        BEUSCH                  OR          90014704860
3931674767753B   MARTHA        SORIANO-DETRUJILLO      NV          43012947476
3931743158B16B   JUAN          SANCHEZ                 UT          31028764315
393177A7555972   WILLIAM       CASTLEMAN               CA          48048697075
3931835257753B   ERIC          NUNEZ                   NV          90000313525
3931857887B471   DONNA         SHARPE                  NC          90012845788
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3931B28535B52B   FRANCESCA   TRANGO                    NM          35040032853
3931B348441258   CHANEL      SEATON                    PA          90013813484
3931B783A7753B   RODRIGO     RUIZ                      NV          43093547830
3931B946655949   ALEXANDRA   GARZA                     CA          90012829466
3931B99614B281   DESTINY     LINCOLN                   NE          90010969961
3932147542B87B   COREY       SEELY                     ID          90004144754
39321A4922B871   BECKY       JENSON                    ID          42016520492
3932289645B358   JUANA       GOMEZ                     OR          90014718964
3932314695B52B   EMILIA      CARRASCO                  NM          90011291469
3932344855B344   YAMILKA     VELAZQUEZ BASTISTA        OR          90008934485
3932348537753B   IGNACIO     SOLORIO                   NV          90015044853
393235A995B358   ALEX        MELGOZA                   OR          90006005099
3932473582B87B   TODD        CZAPLICKI                 ID          90008707358
3932489A35B344   ANTONIO     MORAN                     OR          44526828903
3932528265B344   MEDINA      REYES                     OR          44532352826
3932596625598B   DEBORAH     WEAVER                    CA          90001559662
3932648447753B   ANA         MEDINA                    NV          43072424844
3932692692B871   PAUL        MARTINEZ                  ID          42023889269
39326A6732B871   PAUL        MARTINEZ                  ID          90013010673
39326A92555949   JUAN        PABLO                     CA          90011980925
3932764244B281   NATALIE     HORVATH                   NE          90014936424
39327726A7B449   GLORIA      MICKLE                    NC          90006937260
39327857376B89   BERTA       ESCOBAR ALFARO            CA          90012478573
39327A28291232   LORI        COLLINS                   GA          14578370282
3932815242B968   HEATHER     HUNT                      CA          90011521524
3932823135598B   AIOTEST1    DONOTTOUCH                CA          90015122313
3932838A45B358   RICHELE     SCHULTZ                   OR          90000993804
3932978455598B   ROSA        SALINAS                   CA          49089057845
3932992A32B87B   LEE         GARNER                    ID          90014919203
39329A95755972   RACHEL      MARTINEZ                  CA          48058680957
3932B813141277   SHANNA      PITTS                     PA          51044928131
3932B95485B393   WILLIAM     GONZALEZ-PEREZ            OR          90011399548
3933138A45B358   RICHELE     SCHULTZ                   OR          90000993804
39331A6294124B   ANGELA      BLACKMON                  PA          90005470629
3933287725B393   JOSE        ALVARADO                  OR          90013508772
393335A932B87B   RICHARD     CHAMPERLAIN               ID          42094605093
3933362A85B24B   BRIANA      THOMPSON                  KY          90004956208
393346A1441285   JOHN        WEISBROD                  PA          51085056014
393348A1191232   MECHELLE    HILL                      GA          14538268011
3933517222B87B   JAMES       FIVECOAT                  ID          42006671722
3933536345B344   MICHELLE    JONES                     OR          44518173634
3933662914124B   LISA        WAYORSKI                  PA          90014946291
3933668254124B   JULIAN      SHAW                      PA          90013966825
39336AA6A81642   AMY         SCHLOTTERER               MO          90010300060
3933717392B87B   MATTHEW     BOMAN                     ID          90013521739
3933761292B835   TIMOTHY     CASTANEDA MARTINEZ        ID          90010616129
3933775745B358   JENNIFER    SHULER                    OR          90009237574
3933941724124B   LISA        BELFIORE                  PA          90013964172
3933964875B344   ROBERT      SPRING                    OR          44559126487
39339A9197B471   STACY       EDMOND                    NC          90008810919
3933B977855949   JOSE        ESPINOZA                  CA          90013099778
3934178575B358   JOSE        MENDOZA                   OR          90014607857
393419A2855972   MARISA      EDDINES                   CA          90005299028
393425AA591543   ROSA        GALINDO                   TX          75039405005
3934262272B871   ROBERT      CROFT                     ID          42017956227
3934313572B835   REBECCA     GAMMEL                    ID          90008801357
3934341585598B   RAFAEL      MOJICA                    CA          90012434158
3934525757B471   RANDO       WALES                     NC          90014172575
3934555327B492   TAMIKA      GLORER                    NC          90007885532
3934743724B542   DARRYL      JENKINS                   OK          90012554372
3934745A155949   ROBERTA     BRACAMONTE                CA          49047104501
3934785562B871   ALFREDO     MORALES                   ID          42079438556
39347A82657172   JOSE        QUINTANILLA               VA          81051630826
39348628944B62   JUAN        PALAYOT                   OH          90015156289
39349274376B89   RACHAEL S   BERBER                    CA          90008622743
3934B19382B835   JULIAN      MCCREATH                  ID          90015071938
3934B511172B34   STEVE       VULLO                     CO          90000195111
3934B5A444124B   MARK        NELSON                    PA          90011945044
3934B78575B358   JOSE        MENDOZA                   OR          90014607857
3935131472B871   LONNIE      WHITE                     ID          90004213147
3935159645B344   JEREMY      BAUGHMAN                  OR          44559975964
3935166115598B   PATRICIA    ORONA                     CA          49006466611
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393517A7777544   CRYSTAL       AGUIAR                  NV          43018357077
3935183645B393   BILL          STRADLEY                OR          44551398364
3935195467B639   NASTASSIA     GARY                    GA          15087079546
393524A857753B   MONICA        MARQUEZ                 NV          90013694085
3935257434B281   KAVION        EVANS                   NE          90007885743
3935278277B492   APRIL         ATKINS                  NC          90015617827
3935295225B255   HUBERT        FARMER                  KY          90011329522
3935321A176B44   CEFERINO      SOTO-CASTANEDA          CA          90011492101
3935331952B871   LILLIAN       BAKER                   ID          90009283195
3935391195B393   MCKENCY       NYONG                   OR          44512969119
39353A82657172   JOSE          QUINTANILLA             VA          81051630826
3935464997B492   CAROL C       GRAHAM                  NC          90015076499
3935512267B471   CHRISTOPHER   LOGAN                   NC          90010561226
39356373376B89   ELENA         ELENA                   CA          90010313733
3935659625598B   IVAN          GUERRERO                CA          90007555962
39356886A85833   ROBERTO       GONSALEZ                CA          90011788860
393577A722B87B   GRACIE        ATKINSON                ID          42004877072
3935821947B639   RAVI          UPSHAW                  GA          15054952194
3935836A15B58B   YESENIA       RAMOS                   NM          90009083601
39359795176B89   BRI           BANKS                   CA          90013227951
39359A22255972   ANNA          AVALOS                  CA          90000660222
3935B22764B281   DUVEE         KABORE                  NE          90005582276
3935B25782B87B   BRITTANY      REICHEL                 ID          42080072578
3935B2AA75B393   BRETT         BROWN                   OR          44515792007
3935B83625B52B   JESSICA       MCGINTY-LANAE           NM          35062288362
3935B95178167B   JOSE          MAGANA                  MO          90005159517
3936196524124B   BRITTANY      TAYLOR                  PA          90012159652
3936216285B344   ANTONIO       NAVARRO GONZALEZ        OR          90011811628
39364118A8B162   JULIO         RIVAS                   UT          31005811180
3936424955598B   CATHERINE     GONZALES                CA          90011482495
3936527A25B358   RONALD        COOLIDGE                OR          90014792702
3936595688B162   ROGELIO       REYES                   UT          31006729568
3936615975B393   SHARON        DICKMAN                 OR          90010831597
393677A356B242   AALIYAH       GARCIA                  AZ          90014007035
39367862A41244   STEPHEN       WEIS                    PA          90002108620
3936849565598B   JORGE         LAZO                    CA          90000664956
3936947379156B   ARCELA        LOZANO                  TX          90011594737
3936968A45B393   ESTUARDO      PINEDA                  OR          44514406804
3937143218B162   LORI          HAGSTROM                UT          31030184321
3937163632B871   ANGELA        HERNANDEZ               ID          90007386363
3937336A17753B   KENDRA        RUDDELL                 NV          90012953601
3937343242B835   ELVIRA        ALVAREZ                 ID          42084174324
3937363515B358   KELLY         MALLON                  OR          90000296351
3937468235598B   BRITTANY      DIAZ                    CA          90012546823
39374821976B89   ANDREAS       PLEIL                   CA          90010458219
39374AA837B492   WINONA        DAVIS                   NC          11071540083
39375A5717753B   ANGELICA      BERNAL                  NV          90011890571
393762A545B264   FATIHA        ZAHAF                   KY          68056842054
3937655772B87B   LEWIS         FLOWER                  ID          90011055577
3937656965598B   MANUEL        MARTINEZ                CA          90011065696
39376667176B89   NORMA         SANCHEZ                 CA          46071416671
393769A888B162   SOFIA         HERNANDEZ               UT          31095819088
3937716AA91831   JESSE         NOBLE                   OK          21082551600
3937737278B16B   NICOLE        NAVARRO                 UT          31000883727
393773A3754154   BARBARA       SNYDER                  OR          90011853037
39377A62A5598B   EVELYN        MCBREEN                 CA          49067550620
3937876AA5B393   DANIEL        GONZALES                OR          90007897600
3937913525135B   WHITNEY       BENNETT                 OH          66067031352
3937952972B87B   VIRGINIA      NIETO                   ID          42005275297
3937959635B395   ARACELI       ENRIQUEZ                OR          90004455963
3937B167341285   DWIGHT        LENZER                  PA          90006321673
3937B6A732B871   MICHAEL       BARR                    ID          42065046073
3937B75894B281   D ANDRE       MURRAY                  NE          90014937589
39381A8145B344   MIGUEL        JIMENEZ                 OR          44561560814
3938214A67B471   FERMAN        PATTERSON               NC          90013431406
39382719676B89   VIRIDIANA     CANSECO                 CA          90013047196
393827A1641258   ADAM          JONES                   PA          51089847016
3938286432B835   HEIDI         TUCKER                  ID          90004348643
3938332487B492   DENNIS        OTTINGER                NC          90014533248
3938369274124B   KIM           SMITH                   PA          51090486927
39383A9695B358   CHRISTIAN     MONTIEL                 OR          90014880969
39384811A41258   SUSAN         CERNY                   PA          90015088110
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39384A1452B835   LAURIE        WHITTEN                 ID          90006850145
39384A22841285   DANYELL       BULL                    PA          51023770228
3938579334B281   INES          LOPEZ-ZENIL             NE          27060147933
3938621822B87B   KAROLYN       MCCREARY                ID          42070032182
3938634925B344   JUAN          CARLOS                  OR          90011813492
39386A98757131   NANA          ASAMAO                  VA          90002800987
3938755887B471   ELEYDA        MARTINEZ                NC          90015335588
393876A645B259   JOHN          REICHLE                 KY          90012856064
39387836A55972   FLOV          COAES                   CA          90012928360
3938783874B281   NOLAN         ANDREWS                 NE          90014938387
3938784495B393   LINDA         JOHNSON                 OR          90011868449
3938813267B471   RONALD        MCKNIGHT                NC          11037491326
39388178976B45   CHRISTOPHER   BURGESS                 CA          90013781789
3938822327753B   TOMAS         ESCOBAR                 NV          90011942232
3938B2AA961945   JUAN          CASTELO                 CA          90007492009
3938B564291371   JOSE          ESCALANTE               MO          90015045642
3938B88832B242   NANCY         HOLGAN                  DC          81082318883
393922A7655972   PEDRO         SUN                     CA          90005932076
3939281452B835   DELECIA       DENNIS                  ID          90010158145
3939356757753B   CRISTINA      CALLEROS                NV          43087725675
39393A7AA5B393   MINERVA       GARCIA                  OR          44591180700
3939473378B183   GLENDA        SARCENO                 UT          90005707337
39394A4A961474   CANDACE       JOHNSON                 OH          90014090409
3939592437B471   CESAR         CONTRERAS               NC          90012749243
39398123736B77   BETTIJO       TONDER                  OR          90003011237
39398841A76B89   GINA          KEYES                   CA          90014168410
3939952A52B835   ABDIWAHAB     SALAHALI                ID          90015135205
3939B23217753B   MARIA         GONZALEZ                NV          43083122321
3939B36A131424   VIVIAN        BECKER                  MO          90012023601
3939B48547B449   SANDRA        WOODS                   NC          11096064854
3939B676176B89   ROGELIO       VERGARA                 CA          90005426761
3939B768791371   ADAN          GALLEGOS                KS          90013387687
3939B88888B16B   COZETTE       CLARK - MISNER          UT          90003278888
393B1296955949   OLGA          JUMBO SANCHEZ           CA          90008642969
393B1374841285   JEREMY        SKANES                  PA          90015403748
393B1435476B89   APRIL         GASTELUM                CA          90002184354
393B151244124B   SONYA         SMITH                   PA          90013485124
393B181245B344   TIMOTHY       PERRY                   OR          90011808124
393B1A12A91371   DANELL        DANIELS                 KS          90013590120
393B2335371921   JUAN          SANTOYO                 CO          90005363353
393B246745B358   ELISE         FERNANDEZ               OR          90014704674
393B26A3531424   KOSTA         LONGMIRE                MO          90011556035
393B367A185833   ANDREW        SHEAR                   CA          90010986701
393B3817655949   BRANDY        LEE LASATER             CA          49004848176
393B3A9245598B   MIGUEL        CASTANEDA               CA          90014140924
393B419842B835   JOSE          RODRIGUEZ               ID          42097781984
393B4347541285   LAVERNE       WEIGAND                 PA          51070113475
393B446745B358   ELISE         FERNANDEZ               OR          90014704674
393B4469491544   ARIANNA       MARTINEZ                TX          90015304694
393B447927B471   SEANJATEEA    HOLMAN                  NC          11039684792
393B5711A7B376   EVELYN        HERRERA                 VA          90006047110
393B573825B52B   JENNIFER      SEAWRIGHT               NM          35007467382
393B5776377544   MARIA         CHAVEZ                  NV          90001367763
393B6122257B79   ALEX          DAIZ                    PA          90015231222
393B6247191371   GREGORY       NICKLIN                 KS          90010322471
393B658487753B   LEOVIGILDA    BETANCOURT              NV          43072915848
393B6654255972   DENISE        SEMINARIO               CA          48090746542
393B6A36A91831   ELIZA         CASTO                   OK          90013020360
393B8337691371   GARRET        WILBOURN                KS          90013853376
393B8547477544   MARIE         SAXON                   NV          43083355474
393B883385B358   NICOLE        MARTINEZ                OR          90014698338
393B921A37753B   AUDRA         HOBBS                   NV          90013452103
393B98A112B87B   CESAR         RODRIGUEZ               ID          90013298011
393BB23965B281   YAMILA        GUERCA                  KY          90004572396
39411912A5B393   RICKEY        CAMPBELL                OR          90007369120
39412186476B89   CARLSON       SKYLER                  CA          46016131864
3941267182B87B   MICKEY        NUWCOMB                 ID          90015176718
3941374717B492   DANANDA       PINKNEY                 NC          90015337471
3941481864B281   REBECCA       MURRAY                  NE          27013618186
3941491238B162   MARIO         LOPEZ                   UT          31086739123
39415677A55972   MARSHALL      OLIVER                  CA          90012886770
3941618988B162   GREG          HARLEY                  UT          90007211898
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39416282A5B156   SELESTE         DEWITT                AR          23078262820
3941724344B521   SANDRA          CRUZ                  OK          90005802434
39417675836B82   CHRISTOPHER     SWIFT                 WA          90015206758
3941832614B281   JOSE            RIVERA                NE          90009793261
39419791A7B471   CANDACE         GIVES                 NC          90014597910
394199A847B471   PAY             GO                    NC          90011879084
3941B22A941285   TAMMY           ALLEN                 PA          90012242209
3941B258872B23   LUIS            RODRIGUEZ             CO          90007232588
3941B32224B281   MADAI           MARIN REYES           NE          90009793222
3941B539891831   STACEY          ELAM                  OK          21052865398
3941B61737753B   ABNER ALBERTO   LUCERO-ALARCON        NV          90007836173
3941B71347B639   SHAMEICA        JACKSON               GA          15034027134
3941B832476B89   GUILLERMIN      NUNEZ                 CA          46016128324
3942138352B87B   MARIA           GONZALEZ              ID          42034973835
3942159A97753B   CODY            PURDUM                NV          90010225909
39421A9A755972   ANDRES          MEDRANO               CA          90013770907
39422125A5B393   TERRY           HIGGINS               OR          90015281250
3942218795B393   BOB             MARTIN                OR          90013501879
39422396A41258   TENESHA         GILLESPIE             PA          90013273960
3942261667B471   DALIA           CASTRO                NC          90013566166
3942467397B471   TONDREA         STITT                 NC          11011736739
39424925676B89   KEVIN           HEADLEY               CA          90003969256
39424AA5A2B871   ANDREW          COHEN                 ID          42050850050
394251A8161945   DIANA           HENDERSON             CA          90008301081
3942614935B52B   CARMEN          VILLALBA RAMIREZ      NM          35062141493
3942639427B492   SHANNA          WHITE                 NC          90010243942
3942841287B492   SANDRA          WARD                  NC          90015444128
394289AAA7B492   LORNITA         BRASWELL              NC          90013149000
39429682A5B393   ELAURA          RENIE                 OR          90011326820
394298A1A71942   DONALD          COGLEY                CO          38013118010
39429A9555B358   ANDORENI        LUNA HERNANDEZ        OR          90015020955
3942B65244124B   KIMBERLY        JONES                 PA          90013966524
3942B745231683   AAMER           SHAH                  OK          90003737452
3942B794355949   ANGELA          ALVAREZ               CA          49008637943
394311A425B358   ABRAHAM         RUBIO JIMENEZ         OR          90015021042
394329A1476B89   GABRIELA        ANGUIANO              CA          90014689014
3943416355B344   HOLLY           PARK                  OR          44559921635
394347A865B393   JOSE            GOMEZ CRUZ            OR          44584277086
39435789A4124B   KEVIN           CLEVENGER             PA          51002457890
39436A82831424   ANGELA          PURNELL               MO          90014690828
3943722327753B   TOMAS           ESCOBAR               NV          90011942232
3943723295B358   FELIX           CEJA                  OR          44556442329
3943744652B87B   JESSICA         LAMBERT               ID          90010744465
3943749667B492   TARQUITA        BARNETTE              NC          90013884966
39437AA6855949   JORGE           MARTINEZ              CA          49073020068
3943892A34124B   CLARENCE        PORCH                 PA          51090369203
3943911737B471   EBONY           CROCKTON              NC          90014031173
3943988615B393   MICHAEL         OADES                 OR          90003858861
39439A73285833   JESUS           BOHORQUEZ             CA          90006930732
39439A83955949   ESEQUIEL        ARIAS                 CA          49024400839
3943B479185833   ANTONIO         CASTANEDA             CA          46066384791
3943B4A5A31424   LA'QUITA        TENNER                MO          27503384050
394411AA25598B   ALEXIS          LOPEZ                 CA          90012741002
3944127652B87B   BRYAN           MCKEE                 ID          90013442765
3944148947753B   JASON           BURK                  NV          43044204894
39441799A31629   JAMIE           NAQUIN                KS          22053227990
3944239594124B   DAVID           LAW                   PA          90013963959
3944273197B449   KANDRA          JOHNSON               NC          90002107319
394429A124B281   RENEE           WALKER MOSER          NE          90011939012
3944333118B162   GIL             ZAPATA                UT          31055773311
39443A8535B358   LEONEL          FERREYRA              OR          44544470853
3944419387B471   ALEXANDER       SANCHEZ               NC          90013731938
39444A1927753B   DANA            HARING                NV          90012210192
3944628624124B   MELISSA         KETTER                PA          51005412862
3944681985B344   PEDAR           BERG                  OR          44514808198
394468A5A7B639   MARIA           ALVARADO              GA          15097088050
3944763137B639   JULIET          HUBBARD               GA          15035436313
39447868A31424   TENISHA         JENAY                 MO          90015108680
39447999776B89   ALICIA          AQUINO                CA          90010929997
39448467A41258   MICHELLE        CHRISTNER             PA          51034554670
3944895688B162   ROGELIO         REYES                 UT          31006729568
39449A1138B141   TERESA          HOBBS                 UT          31006450113
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3944B194376B89   JAVIER         PEREZ                  CA          90014881943
3944B28387B449   HOPE           SOTILLO                NC          90007162838
3944B423855972   DIANA          CASTRO                 CA          90007674238
3944B526955949   KIMBERLY       LANE SEE               CA          49033805269
39451879A36B77   MARIA          MATIAS MATIAS          OR          90013108790
3945244115B393   ANTONIO        PALMA                  OR          90011444411
39454A77551363   TAQUISHA       KENDRICK               OH          90014840775
39455263576B89   ALISA          MAE                    CA          90012232635
394554A947B471   ERIC           POWELL                 NC          90014174094
3945662992B835   ARIAH          STREET                 ID          90004126299
39456757674B46   GERARDO        HERNANDEZ              OH          90013997576
394574A6491371   ANDREA         RANDLE                 KS          90014714064
3945775885598B   MELISA         VIIAREAL               CA          90003467588
3945776825B156   LANOARD        MCCARTER               AR          23001947682
394591A9A8B191   IVAN           TAYLOR                 UT          31036311090
39459358476B45   RAMIRO         PINA                   CA          46002903584
39459A6832B871   SCOTT          ZIMMERMAN              ID          42098200683
39459A9575B393   KATHLEEN       BORDEAUX               OR          90013690957
3945B2A525B393   RUKIYA         TYLER                  OR          90009142052
3945BA37491538   ILDA           RIOS                   TX          90002350374
3945BA68A2B835   KELLY          EDENS                  ID          42076950680
3946136648B162   RONDA          THORNTON               UT          90010543664
39461368A55972   MARIA          QUINTANILLA            CA          90013923680
3946162647B471   URIEL          GALVAN                 NC          90014336264
3946196835598B   CARMEN         SOTO                   CA          49083809683
39463157576B89   DARELYN        CESAR                  CA          90011091575
3946341755B393   ALAN           SALAZAR                OR          44514234175
3946474AA31424   MICHELE        JOHNSON                MO          90010547400
39465151A55949   FATIMA         KELLY                  CA          90006351510
3946545A131424   DARWIN         GRAY                   MO          90014154501
3946594342B87B   LEONARDO       FLORES                 ID          90012639434
394669A228B162   JOAQUIN        VAZQUEZ                UT          90011549022
3946718234B592   SHERRI         DEARING                OK          90008381823
3946778492B87B   FRANK          KLEIN                  ID          90007887849
3946829575B344   YOMARA         PEREZ GUZMAN           OR          44573892957
39469A61455949   LINDA          GAYTAN                 CA          90014650614
3946B55A176B89   JORDAN         VAN TONGEREN           CA          90011195501
3946B67187753B   ENRIQUE        ARELLANO               NV          90013526718
394717A4391584   MONICA         GARCIA                 TX          75077607043
3947391A78B162   RICHELLE       STEVENSON              UT          31066859107
394749A354B544   MISTY          SMITH                  OK          90010459035
3947567875B393   PHILLIP        STATON                 OR          90013786787
394761A7754154   NICHOLAS       HUTH                   OR          90010871077
3947686695B393   THOMAS         SIMMONS                OR          90015298669
3947699662B871   DEONNA         CARLSON                ID          42083449966
39478194476B89   KAM            FOO                    CA          90013841944
3947833A841258   ROBERT         MANDEL                 PA          90015193308
39478A43A5598B   REGAN          GUZMAN                 CA          49072920430
39479384A7753B   TRACI          SAMPSON                NV          90014373840
3947B64432B87B   RANDY          GREER                  ID          90004746443
3947B72835B358   LUDIVINA       VILLANUEVA             OR          90010387283
3948241295598B   CYNTHIA        GOMEZ                  CA          90003444129
3948265A691831   LISA           GARRETT                OK          90008196506
3948318117B492   RUBY           PEREZ                  NC          90009061811
3948387A17B492   RUBY           PEREZ                  NC          90012688701
39483A62991831   RHONDA         KEPNER                 OK          90015280629
3948525942B835   MARICRUZ       MATA                   ID          42096852594
3948541765B52B   NEREO          RUIZ-RASCON            NM          90010844176
3948642417B471   MARTHA         BEISER                 NC          11082844241
3948732115B52B   HEATHER        FULLER                 NM          35075053211
39487A94791831   MICHAEL        BEHRENS                OK          90011450947
3948927A42B87B   DERRICK        CHAVEZ                 ID          90013022704
3948963965598B   AIOTEST1       DONOTTOUCH             CA          90015116396
3948B22915B393   MASON          BUDD                   OR          44571102291
3948BA5432B87B   LORNA          HERNANDEZ              ID          42082410543
3949128958B16B   KEVIN          ANDRUS                 UT          31035852895
3949172427B639   JIMMY          FOSTER                 AL          90005447242
3949289538B18B   MATHEW         THOMSON                UT          90009918953
3949387938B162   TERESA         WHITLOCK               UT          90010418793
3949417327B396   MARCIA         MORALES                VA          81026501732
3949425A776B89   MARIO CHAVEZ   SANCHEZ                CA          90012942507
39494332A5B394   LYNDA          HIBNER                 OR          90001133320
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3949471315B358   DAVID             JONES               OR          90015217131
3949563897B449   CARLA             LANE                NC          11001756389
394961A6691549   PATRICIA          GARCIA CRUZ         TX          90008131066
3949645A74124B   JOHN              CONRAD              PA          90013274507
3949899327B492   DEANNA            HARRISON            NC          90014459932
39498AAA55B156   PLEAS             GRAY                AR          23094520005
3949953375B393   DANIEL            CANCHE              OR          44561475337
3949957A791584   JESUS             DIAZ                TX          75036225707
3949B1A1176B89   CARLOS            SARABIA             CA          46091831011
3949B28A95B355   ERIN              KATHLEEN DAVIS      OR          90011852809
3949B2AA15B281   MICHEAL           HOLT                KY          68005742001
3949B728A77544   KYLE              ROCK                NV          90001677280
394B126614124B   DIANE             KINCAID             PA          90013032661
394B128495B52B   MARY              WAITE               NM          90008712849
394B1334A5B344   GILBERTO          ALCARAZ CAMPOS      OR          90005923340
394B13A8791831   ROXANNE           GIBBS               OK          90014853087
394B1429431424   SHONDA            FIELDS              MO          90011994294
394B1A7892B871   DERICK            HODGINS             ID          90013520789
394B227A47736B   LLOYD             REID                 IL         90013982704
394B339514B522   MONICA            REYES               OK          90012663951
394B3461591371   GEORGIA           CALE                KS          90004644615
394B3469961962   ANGEL             JAREGUI             CA          90011714699
394B3759157131   IGOR              MILOSEVIC           VA          81016467591
394B3A4182B835   ALIA              KISIMBA             ID          90011710418
394B4253441258   DOMINICK          EDWARDS             PA          51080072534
394B441918B16B   DYLAN             DEVROOM             UT          31035604191
394B4712377544   BLANCA R.         LOPEZ               NV          43003047123
394B5145A76B89   MAURICIO          MORALES             CA          90013841450
394B5284655972   LIDIA             MARTINEZ            CA          90013052846
394B557385B344   JOSE              LOPEZ               OR          44584265738
394B739498B162   SUANNE            GARDNER             UT          31071733949
394B756467753B   OLIVIA            RUSSELL             NV          90013555646
394B8178755972   ROBERTO           SALCEDO             CA          48017861787
394B865445B393   PATRICK           GALEN               OR          90014836544
394B8995455949   MARIA             GALLARDO            CA          49036069954
394BB87A57753B   SAUL              BECERRA             NV          90013328705
3951148984124B   WILLIAM           WATSON              PA          90001094898
3951187AA5B545   MIGUEL            PRIETO              NM          90003628700
39512A17641258   KESHA             EPPS                PA          51061680176
3951348212B87B   THOMAS            FORRESTER           ID          42081964821
39513512476B89   GABRIELA          SANCHEZ             CA          90014375124
3951431794B281   DEANNE            OFLAHERTY           NE          27083583179
3951483A35B52B   JAGA              CHAPAGAI            NM          90011598303
3951558358B16B   MIGUEL            HERNANDEZ           UT          31075505835
39515727276B89   CARLOS            ERNESTO APARICIO    CA          90013937272
3951576512B87B   FELECIA           FOX                 ID          90014437651
3951589577B471   CLAUDIA           FLORES              NC          90010568957
3951618382B87B   BHAKTA            SARKI               ID          42092121838
39516AA7A72B33   RUBEN             DIAS                CO          90005280070
39517368776B89   RONALD            DENENEA             CA          90011573687
39517717A4124B   JIM               NASH                PA          90013967170
3951839195B393   CHERI             MERRYIWEATHER       OR          90011293919
3951882495B347   SARA              STONE               OR          90004678249
39518A1857B639   JASMANE           SANDIFOR            GA          90005450185
3951912162B871   MARIBEL           ALVARADO            ID          42085671216
3951964444B281   MARIA             SINECIO             NE          90014966444
39519661976B89   PABLO             GOMEZ               CA          46016536619
3951B73932B835   GABRIEL           GUTIERREZ           ID          42096567393
3952155537B471   ELPIDIO           ACOSTA              NC          11054565553
395224A8731424   LATANYA           HOWARD              MO          27574164087
3952441592B87B   JORDAN            STEVENS             ID          90013814159
3952483517753B   GONZALO ALBERTO   GOMEZ ORTIZ         NV          90014518351
39524911A8B164   LANCE             JENSEN              UT          90012129110
395251A3231424   FRANK             TIEFENBRUCH         MO          90013541032
3952529814124B   JANET             LYLES-JOHNSON       PA          90010552981
3952529842B87B   TREVOR            HITCHIN             ID          90013852984
3952559289156B   JODYE             MORALES             TX          90007795928
39525821976B89   ANDREAS           PLEIL               CA          90010458219
395262A387B449   ERIC              LOVE                NC          11014172038
3952636617753B   JENNIFER          BARAJAS             NV          90014573661
39527428A5B393   LARRY             BEVAN               OR          44548484280
3952828693145B   SIERRA            MILLER              MO          90012832869
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3952838734124B   LISA        GRAM                      PA          90013963873
3952919525B344   FRANCISCO   PAT                       OR          44571211952
3952936A191371   SANDRA      RODRIGUEZ                 KS          29067643601
3952958792B835   JUSTIN      MALANG                    ID          90001185879
3952B815241244   NICHOLAS    CLEARY                    PA          90007578152
3952B95285B393   JAIME       MARTINEZ                  OR          90014349528
3952B9A734124B   LARDE       BILLUPS                   PA          90014509073
3952BA8132B871   RENZAHO     SYMPHOROSE                ID          90012240813
3953138214124B   ANTONIO     BROWN                     PA          90013963821
39532169453B95   RICHARD     SUMMERHILL                CA          90015351694
3953273314124B   RACHEL      JOSE                      PA          90013967331
3953334267753B   HECTOR      MONTES                    NV          43020193426
3953346684B281   MARIANA     GOMEZ                     NE          90013784668
395335AA45B393   MACQUEEN    SAM                       OR          44563615004
39533829572B37   RICHARD     GALLEGOS                  CO          33049888295
39534A6515598B   SONYA       ROCHCHA                   CA          90013220651
39535741533B57   KENNETH     HARMEL                    OH          90015517415
3953759255B344   CECEILIA    LOPEZ-SOSA                OR          90004725925
3953B163891831   KAYTI       SPEARS                    OK          21025971638
3953B17754B954   MELISSA     DIXON                     TX          90005971775
39541A34355949   KENG        MOUA                      CA          90015250343
3954284945B394   GABRIELA    CHAVEZ                    OR          44592148494
3954329A87753B   ARMANDO     BECERRA-RAMOS             NV          90015112908
3954345897B492   ROBBIE      DALTON                    NC          90002624589
3954376844124B   JESSE       AUSTON                    PA          90012027684
3954415612B87B   TINA        BELL                      ID          90009671561
3954425932B835   JANELL      OZUNA                     ID          42008112593
3954489815B156   SHAWANNA    GOTSON                    AR          23072668981
39545637536B77   DENNIS      POTTER                    OR          90005186375
3954571882B871   MELANIE     CRAFT                     ID          90010597188
3954684364B281   VICTOR      VILLARREAL                NE          90014148436
39546A64455972   MARY        JANE                      CA          48033260644
3954717755B393   EDDIE       ROBERTSON                 OR          44514241775
3954856457B471   DELMITRI    JONES                     NC          90010045645
3954922152B871   MAXWELL     MWAMBA                    ID          42083452215
39549373A4124B   DAVE        BROWN                     PA          90013963730
3954942365B52B   JESUS       SANCHEZ                   NM          90001834236
395498AAA66B35   THOMAS      MILLER                    MO          90015358000
3954B425141277   DONNA       KEARNS                    PA          51053124251
3954B69227B492   TOMASA      SIMON                     NC          90002086922
3954B824341285   BRANDI      ZIMMERMAN                 PA          90005638243
3954BA17A8B162   CARLOS      MARTINEZ                  UT          90011550170
3955126A891584   SARA        RODRIGUEZ                 TX          75059352608
39551695176B89   ANTONIO     ORTIZ                     CA          90003736951
395516A7455972   PEDRO       ZUNIGA                    CA          90008836074
3955179245B156   DASIY       GARY                      AR          23078827924
3955344345B156   DADRIANE    WASHINTON                 AR          90012774434
39553893A91538   LIZETTE     LUNA                      TX          90011058930
3955422A976B44   CRISTINA    SANCHEZ                   CA          90012132209
3955457A27753B   KRISTINA    WELLMAN                   NV          43064035702
395563A262B87B   CHRIS       HUGON                     ID          42091793026
3955651782B87B   CHRIS       HUGON                     ID          90011915178
39556587A91371   ALI         MARVEL                    KS          90007505870
39556A64972B47   BILLY       TYLER                     CO          90008600649
39557A6978586B   ALASIA      SIMPSON                   CA          90011070697
3955849947B492   DESRICE     ADAMS                     NC          90009684994
395588A1A71942   DONALD      COGLEY                    CO          38013118010
39559154A85833   RHODA       MARIE                     CA          90011801540
3955916672B835   JAMIE       HUNT                      ID          90015251667
39559175A91271   HEATHER     ROGERS                    GA          90008461750
3955952397B471   FATMATA     TURAY                     NC          90012425239
3955991562B241   YARED       GOSSA                     DC          90012259156
39559A16155972   TAMBA       MORSAY                    CA          90004380161
39559A9967B492   BRITTANY    DAVIS                     NC          90014500996
3955B27622B87B   YBARRA      RENE                      ID          90007942762
3955B41737753B   STEPHANI    SIFUENTES                 NV          90002604173
3956138A27B376   MILTON      CASTELLON                 VA          81097323802
39561585A5598B   LETICIA     FRIAS                     CA          90015545850
395616A3A55972   APOLO       BARILLAS-RIVERA           CA          48055406030
39562243A76B89   LUPE        CARATACHEA                CA          90014752430
395625A113B35B   TERRI       SNOOK                     CO          90010915011
395633A477B492   WILLIAM     HEFFNER                   NC          90010033047
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39563A4A17753B   ANTONIO           RODRIGUEZ           NV          90009100401
3956559257B471   MARTHA            MUNOZ               NC          11005615925
395661AA531424   ROOSEVELT         HOLLINS             MO          90014301005
3956634747753B   SILVIA            PONCE               NV          43083193474
39566A35A41258   DANA              ELLMAN              PA          90005240350
3956743382B87B   LINDA             DIAL                ID          90008184338
395695A9755927   JOSEPH            FLORES              CA          49035605097
3956965785B393   AIMAN             AL KHACHI           OR          44587146578
3956977775128B   KEILA             ROMAN               VA          72017767777
39569A9425598B   TAMARA            BIDDLE              CA          90010910942
3956B85A941258   MARGARETT         MONTE               PA          90008108509
3957117735B344   TERRY             DOTY                OR          44597251773
39571286A7753B   MITCHELL          COWARD              NV          43061162860
395716A3591584   JOHN              LOPEZ               TX          90011756035
3957174744124B   JACK              SMITH               PA          90013967474
3957267A18B19B   TERESA            MCGRAIN             UT          90009746701
39572728A77544   KYLE              ROCK                NV          90001677280
3957374365B52B   MANUEL            MENDEZ              NM          35024197436
3957375234124B   JOSH              MATHEWS             PA          90013967523
3957499787B471   PAMELA            WILLIAMS            NC          90010569978
395753A9231444   MARIE             HARRIS              MO          90004563092
3957574A631424   AMIA              COOPER-WALLACE      MO          27513747406
395758A834124B   TAMIA             HALL                PA          51059008083
3957683A684374   NAYELI            CRUZ                SC          90011558306
39577654676B89   CAROL             SMITH               CA          90010316546
39577912A91831   IRACEMA           VARGAS              OK          90011349120
3957794225B393   MR DWYNNE         HARRIS              OR          90007909422
3957818A955972   MARISSA           ALVAREZ             CA          48046211809
3957839774124B   WILLIAM           HARRIS              PA          90013903977
39579454276B45   ANDRES            RODRIGUEZ           CA          90010914542
3957969724124B   THOMAS            HANLEY              PA          90014506972
3957B12947753B   PAYGO             IVR ACTIVATION      NV          90009801294
3957B543193731   NATHANIEL         BAILEY              OH          90001895431
3958117378B162   WILLIAM           BAUMER              UT          90010491737
3958125935598B   XIMENA            REYES               CA          90015172593
39581A8215598B   JAY               NELSON              CA          90010760821
3958252817B471   SUSAN LOUI        SMITH               NC          11080495281
39583634376B89   LISETTE           SUMANO              CA          90013716343
3958367818B16B   ROGER             MADSEN              UT          31094056781
3958383552B87B   CHRISTOPHE        DESMARAIS           ID          90003058355
3958414142B87B   MELISSA           HAMMER              ID          42065211414
39584932776B89   MARIA DE LA LUZ   AGUERO              CA          90012459327
39584A8865B281   TONYA             WOODFORD            KY          90014840886
3958566AA55972   PEDRO             CONTRERAS           CA          48006316600
3958618A876B89   JORGE             ROSILES             CA          90011391808
3958643394124B   ASHELY            GOLD                PA          90013964339
3958657A15B52B   LISA              BERRY               NM          35095595701
39587814A41277   REBECCA           CALE                PA          90000428140
39588946124B54   MARIA             PIRES               DC          81079969461
39588A8665598B   VICTORIA          CORTEZ              CA          49011430866
39588AA7141285   JOSEPH            NICHOLAS            PA          51039610071
3958971325B281   DANIEL            AGUILAR BAREA       KY          68095917132
3958B14787B449   LISA              HEAVNER             NC          11013241478
3959128A18B162   MARGARET          BRAILSFORD          UT          90004702801
3959154717B449   JASON             SAUNDERS            NC          11096585471
3959168198B16B   DONALD            OWENS               UT          31036636819
39591A78772B33   JENNIFER          WALKER              CO          90003060787
39592277A41285   CONNIE            JUDY                PA          90006742770
3959296473B399   RACHEL            STRENGE             CO          90009919647
39592A52355949   DOMINGO           OLIVERA             CA          90007030523
39592A5A591371   BELINDA           PLEDGER             KS          90014620505
3959466185B52B   GREG              LONG                NM          35007846618
39595779576B89   IRINEO            TORRES VAZQUEZ      CA          90004947795
39596493676B89   JANE              AUSAGE              CA          90010374936
39596561776B7B   DANIEL            PERALTA             CA          46006145617
3959748725B156   JAMIE             MORRIS              AR          23009474872
39597599A41285   STACEY            SUMMERVILLE         PA          90005575990
3959794194B531   TANGIE            TYNES               OK          90012709419
3959845A84124B   GERALD            NEILSEN             PA          90013274508
39598A36591232   FREDDIE           COLLINS             GA          14517080365
3959911537B471   SERGIO            ARIZAGA-TORRES      NC          90010571153
3959931522B87B   JON               EVERITT             ID          90007953152
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3959935522B871   VERLETTA      ANDERSON                ID          42089663552
39599814A41277   REBECCA       CALE                    PA          90000428140
3959B27227B471   GREG          HUMPHRIES               NC          90002052722
3959B47527753B   RAMON         CHAVEZ-AVILA            NV          43010554752
3959B495755985   JUAN          MIRANDA                 CA          90015134957
3959B942755972   GRACIELA      LOPEZ                   CA          90015099427
395B173965B344   SHAE          BENNETT                 OR          90005927396
395B199338B16B   JOHN          MARTINEZ                UT          31035869933
395B2144355949   HECTOR        LAINEZ                  CA          90012421443
395B225194124B   PHROZEN       MOMENTS                 PA          90011302519
395B2626677544   BRANDEE       GOUVEIA                 NV          90006626266
395B3327741258   TYLIA         JONES                   PA          90013963277
395B3AA734124B   CRAIG         SWANN                   PA          51090570073
395B42A7441258   CRYSTAL       GRICUS                  PA          90013282074
395B4666776B89   FORTINO       REYES                   CA          90014746667
395B476845B393   AGNES         NAGATA                  OR          90008337684
395B4A48591371   CLAUDIA       CRUZ                    KS          90008600485
395B4A8385B156   LEONARD       MARSHALL                AR          23001970838
395B52A5491831   JUSTIN        PAYNE                   OK          90008822054
395B6475841258   TAMMY         ADAMS                   PA          51072744758
395B72A745B344   LORENZO       VARGAS                  OR          90011832074
395B783A35B52B   JAGA          CHAPAGAI                NM          90011598303
395B7A8217B639   ROSA          WRIGHT                  GA          90012320821
395B85A2791371   KRYSTAL       MAGEE                   KS          29046405027
395B8652177544   PATRICIA      STANGER                 NV          43031696521
395B89A1455972   MELANIE       ELLIS                   CA          90010739014
395B9199391584   LORENA        ESTUPINAN               TX          75075801993
395B9384491831   ROXANNE       CHIPPEWA                OK          21025993844
395B959772B871   MICHELLE      PHILLIPS                ID          90010245977
395B9645181681   KRYSTEA       CASTRO                  MO          29003196451
395B978677B492   SHANITA       WILLIAMS                NC          90010917867
395BB45878B162   HARDING       KIARA                   UT          90010484587
395BB47172B26B   TENEA         HARRIS                  DC          90011944717
395BBA13A2B237   STEFPHON      SANTANNA                DC          90002650130
395BBA2775B393   DANIEL        SNOW                    OR          90014790277
396131A8491371   SUSANA        ALFARO                  KS          90013381084
3961332565B52B   TANIA         POLM                    NM          35067563256
3961342997753B   MARIA         CAREY                   NV          90006904299
3961434AA36B77   ANGELICA      LLAMAS                  OR          90001103400
39614629A41277   JABIR         GREEN                   PA          90010486290
3961551135B393   VANESSA       BOJORQUEZ               OR          44559605113
396166A752B871   PABLO         CORTODA                 ID          90012606075
39616AA1991371   CHET          MURRY                   KS          29030430019
3961741A52B871   AGUSTIN       ORTIZ                   ID          42075634105
3961924455B344   ROBERT        VINCE                   OR          90011842445
3961952237B492   YARELI        BUSTOS                  NC          90013655223
39619549A55949   CRECENCIANO   JIMENEZ                 CA          90015495490
396196A5341285   CHRISTINE     BLALOCK                 PA          90003506053
39619A71A8B162   CHRIS         PARK                    UT          31056760710
39619A9145B52B   VERONICA      CARMONA MENDEZ          NM          90006800914
3961B891991831   KEITH         SIMPSON                 OK          90006398919
3961B949641277   MICHAEL       HATFIELD                PA          51072209496
3962153975B52B   BETTY         RODRIGUEZ               NM          90007035397
39621779876B89   RUBEN         DE LA ROSA              CA          90005427798
3962264667753B   DANIEL        ROEHL                   NV          90011236466
39622A3985B393   RUSSELL       HALL                    OR          44531070398
3962317715B52B   EMILA         QUIROZ                  NM          90004771771
3962471134B929   BLANCA        RAMIREZ                 TX          90011207113
396249A787B492   JALAAH        CROSBY                  NC          90009469078
3962543734124B   DEIRDRA       NORMAN                  PA          90014154373
3962627865B344   NATE          HASKELL                 OR          90006572786
3962728887B471   JOSE          VELAZCO                 NC          90010572888
396277A465B52B   PAMELA        PHILLIPS                NM          90002417046
3962838214B281   DESIREE       WELL                    NE          90002963821
39629794936B77   SHADE         OWEN                    OR          90002907949
39629A6947B471   TONY          PATTON                  NC          11055980694
396313A2431424   CHAD          VENABLE                 MO          90014593024
39632344A31424   YOLANDA       ENLOW                   MO          90012793440
396324AA75B281   KAYLA         MANFIELD                KY          90005964007
3963322A555972   IRAIS         ZAMORA                  CA          48016142205
39633AA487B471   ANGEL         LITTLE                  NC          90014000048
3963436175598B   JOANNE        NOWLAN                  CA          90010673617
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3963454885B393   EDWIN        PHILLIPS                 OR          44517905488
3963487358B162   JO           EDDY                     UT          90006528735
39635874A7B873   LOVIE C      THOMPSON                  IL         90010178740
3963636AA2B871   EVELYN       WISE                     ID          90003813600
3963721412B835   KATHY        MORRALL                  ID          42015672141
3963739165B344   SAMUEL       SMITH                    OR          44546403916
3963755995B546   MARIA        JAURIGUI                 NM          90008275599
3963836648B162   PAUL         BINGHAM                  UT          90011183664
3963872985B393   PENNY        FINK                     OR          90013277298
39638A96555949   GEORGINA     VALENCIA                 CA          49090180965
3963B294A7B471   STEVE        GADDY                    NC          90010572940
3963B378776B89   CARLA        FAY                      CA          90014733787
3963B47655B393   REIGN        SCHUSTER                 OR          90013254765
3964182395B393   THOMAS       DUGAN                    OR          44546968239
3964269865B393   AUGUSTO      CASTILLO POOL            OR          90010036986
39643576A76B89   ADRIANA      PESQUEIRA                CA          90014735760
39644396276B89   MARIA        REYES                    CA          46017123962
39644533A7B492   VERLIVIA     AQUINO                   NC          90014235330
396445A1A7B471   KANISHA      LAWRENCE                 NC          90015005010
3964583587753B   YESENIA      RIOS                     NV          90011548358
3964586884124B   SEAN         BROOKS                   PA          51054868688
3964638924124B   NATHON       TAYLOR                   PA          90011863892
3964665244124B   KIMBERLY     JONES                    PA          90013966524
3964673A155972   LARRY        CRAIG                    CA          48083767301
3964732713B356   AMPARO       RODRIGUEZ                CO          90011373271
3964734775598B   ALEX         MIRAMONTEZ               CA          90008973477
39647359A41277   EDWARD       HORM                     PA          51085553590
3964886A441285   CHAZ         WHITE                    PA          90012008604
3964922A561973   JAMES        AGUAYO                   CA          90010512205
3964944342B871   MARTIN       VALDIVIA                 ID          90000544434
39649915776B89   JENNIFER     VASQUEZ                  CA          90013729157
3965167A52B871   CHRISTIN     MARISCAL                 ID          90007726705
3965249245598B   ELIVIA       TORRES                   CA          49028654924
39652A1712B87B   PAULINA      MARTINEZ                 ID          90009620171
3965353517B471   ROSETTE      SINGLETON                NC          11077685351
39654A5597B471   CHRISTOPHE   MILLER                   NC          11022840559
39655649A4B281   ISIDORO      ARELLANO                 NE          90006746490
3965586365B393   DONNY        HIGGINS                  OR          44510708636
3965615585B393   RICHARD      GALLAGHER                OR          44513291558
3965837427753B   JAKE         LECHLER                  NV          43071763742
3965867928598B   MOLLY        RIPBERGER                KY          66016556792
3965928788B162   ANJULA       HOLMES                   UT          90010942878
3965B28A37B492   TINA         RATHBONE                 NC          90012422803
3965B334A55972   LORENA       MEDINA                   CA          48010143340
3965B35177753B   DIANE        LAWRENCE                 NV          90012573517
3965B46227753B   DIANE        LAWRENCE                 NV          43006174622
3965B83192B871   JUSTIN       GOSLIN                   ID          90003818319
39661958685B54   DARNELL      LINCOLN                  FL          90015589586
3966326A57B639   CHAROLOTTE   MCCELOS                  GA          90011222605
3966369A191831   JOHNNY       TITTLE                   OK          21053706901
39665211A36B77   ROBERT       ESPERTO                  OR          44501232110
39665761753B95   GERARDO      MENDOZA                  CA          90014457617
396659A5A7753B   LES          TENINTY                  NV          90006449050
3966642617753B   ANNE MARIE   DRAGON                   NV          43035194261
396671A4A57367   STEPHANIE    KING                     MO          90010511040
3966754367753B   DEANDRE      YARBROUGH                NV          90007545436
39668A1A124B48   NELSON       GARCIA FERNANDEZ         VA          90003600101
3966B4A9791584   MARIO        VELA JR.                 TX          75036634097
3966B55125B393   CARY         MORGAN                   OR          44518925512
3966B753641277   DANA         WHITE                    PA          90013697536
3967163965598B   AIOTEST1     DONOTTOUCH               CA          90015116396
396722A815B393   SUEANNA      POST                     OR          90013162081
3967279477B492   TIMOTHY      CATHEY                   NC          90005477947
3967312297753B   ALONSO       LINN                     NV          43055271229
3967363677B449   ERIC         REID                     NC          90009266367
3967435625B344   SERENA       GARCIA                   OR          90004103562
3967469827B495   BRELINDA     LOCKE                    NC          90012526982
39674A13872B33   DAVID        RODRIGUEZ                CO          33047270138
3967665322B87B   JOSIE        TIJERINA                 ID          90015176532
3967755924124B   ZIARA        STATON                   PA          90014315592
39677681A41277   MICHAEL      HUGHES                   PA          51072846810
3967777995599B   CHARLES      SCOTT                    CA          90002947799
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3967845594124B   BLANCHE         GASTON                PA          51025264559
3967B1A2831424   SELINA          QUARELLS              MO          27531621028
3967B5A477B492   DEIDRE          GRAY                  NC          90013925047
3967B756255949   MARC            CORDOVA               CA          49095267562
3968293964B294   BRIAN           KOONCE                NE          27017649396
39682A5125B344   BRANDON         THOMSEN               OR          90002260512
3968372924124B   CLAUDE          CRAIG                 PA          51075597292
39683775436B77   BLANCA          PAT                   OR          90009997754
3968382A391524   ROSA            LARA                  TX          90014348203
39683A2147753B   JOSE            SEPULVEDA             NV          90013880214
39684812A2B835   CORRINNE        KESSLER               ID          42040838120
39684942A36B77   DAMASO          GONZALEZ              OR          44568869420
39684AA8A55972   JOHN            HICKS                 CA          48084570080
3968524982B586   JERRY           CHAMBERS              AL          90014452498
3968655277753B   CAROLYN         EMERSON               NV          43037365527
3968688372B871   JAKE            WALKER                ID          90014848837
39686A17855949   DARREN          LANEY                 CA          90013010178
39686A6165B393   JULIE           EAKIN                 OR          90010140616
3968716294124B   LENORA          CORNICK               PA          90013961629
3968747A491831   JACQUELINE      WALKER                OK          90013674704
396883AAA91831   JOSE MANUEL     CASTRO                OK          90012833000
39688443976B89   JESUS           COUTYNO               CA          46091254439
39688A9512B87B   DENISE          SANDER                ID          42029870951
39689A1A52B871   MONA            MICHAELS              ID          90011790105
3968B15396B397   ASHLEY          LAVALLY               NH          90014231539
3968B194141285   SHAWN           REED                  PA          90015191941
3968B736A76B89   BURTON          WANN                  CA          90015127360
39691282776B89   JOHNNY ERNEST   LEAL                  CA          90013842827
3969171A477544   KAITLYN         VERA                  NV          90005597104
396921A387B471   TONYA           HAMMOND               NC          90001941038
39692A27291538   ALEJANDRO       RODRIGUEZ             TX          90012500272
39694528A4124B   DAVID           GRECCO                PA          90014345280
3969468295B52B   JAMES CLINT     SAWVEL                NM          90006386829
396948A676B625   BRIANA          HUNTER                KY          90015578067
3969518294B281   DELORES         HOPPER                NE          90007411829
396954A9522922   RICKY           NELOMS                GA          90014184095
3969686995598B   ROCHELLE        HOGAN                 CA          90008368699
39696A2277753B   GREG            CLURMAN               NV          43013440227
39697A87385833   BAO             NGUYEN                CA          90011840873
3969861A536B77   SERGIO          ROJAS                 OR          90014766105
39699A52A91584   DEVON           VELAZQUEZ             TX          90003240520
396B1165391584   PABLO           HOLGUIN               TX          90002111653
396B1311976B89   ANAHI           GAYTAN                CA          90009523119
396B13A1291371   SKYLA           GIBSON                KS          90006653012
396B1843672B56   JOSE            CARRERA-CUEVAS        CO          90010928436
396B193A631424   TERESA          EDWARDS               MO          90014559306
396B2259841261   GLORIA          LACH                  PA          90001702598
396B234225B394   WILLEBALDO      LOPEZ CHAVEZ          OR          90001033422
396B314977B471   IKEA            ROBINSON              NC          90010571497
396B352237B492   YARELI          BUSTOS                NC          90013655223
396B358985B393   STEPHANNIE      CHRISTENSEN           OR          90006365898
396B3746171942   BRIDGITTE       LAVALLEE              CO          38096547461
396B423535B177   LAQUALLA        PLAIR                 AR          90015042353
396B464A57B449   MIKE            JONES                 NC          11001966405
396B47A1255972   JOSEFINA        GONZALEZ              CA          90013807012
396B562985598B   CARMEN          RICO                  CA          49042566298
396B568137753B   SONNY           COOPER                NV          43026756813
396B56A5233625   KAMEEKA         BROWN                 NC          90010296052
396B719277753B   ALBA            GALLARDO              NV          90009511927
396B744298B151   KAREN           VOORHIES              UT          90009134429
396B769A885833   LINA            MARQUEZ               CA          46094116908
396B7831141258   MARCUS          MOORE                 PA          90013748311
396B8441491584   BERENICE        CAMACHO               TX          75017424414
396B89A3376B89   PEDRO           CHAVEZ                CA          46017079033
396B91A614B281   DIANE           HERNANDEZ             IA          27086891061
396B95A8A2B87B   RASHIDY         HUSSEIN               ID          42061135080
396B964115B52B   LORETTA         MASCARENAS            NM          90010246411
396B975884124B   LISA            FEARBY                PA          90013967588
396B979125598B   MICHAEL         BRIDGES               CA          90013967912
396BB65415B393   JOHANN          MENZEL                OR          44583516541
396BB81765598B   CHERE           PERRY                 CA          49080138176
396BB877685833   JOSE            CORDOVA               CA          90011038776
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397112A3985833   BRANDON      PASS                     CA          90008292039
39711723276B89   JOHN         PLIEGO                   CA          90013617232
3971252828B162   SPENCER      JOHNSON                  UT          90010525282
3971284675B52B   JUAN         CHAVEZ                   NM          35018598467
39712A64A4B281   MARTINE      MINOR                    NE          90011090640
3971339545598B   AURORA       NAVA                     CA          90010673954
39713A37355972   ZEFERINO     BONIFACIO SALVADOR       CA          90014160373
3971417745B393   DAVID        GONZALEZ                 OR          90014721774
3971479594124B   BABY         BABY                     PA          90013967959
39715287A5B543   JAMES        DEETS                    NM          90008022870
39716791576B89   SUSAN        WOLFF                    CA          90014747915
3971933AA7B432   MEAZA        GEBREHIWOT               NC          90006143300
3971963857B449   ELIZABETH    PITKIN                   NC          11072286385
3971B623391371   RICHARD      GREGG                    KS          29082426233
3971BA1567B471   ROSA         LOPEZ                    NC          90013460156
39721468876B89   PENA         LORENA                   CA          46078884688
397214A188B16B   RICK JAMES   RYDALCH                  UT          90012654018
3972185697B471   SEDRICKA     MANCE                    NC          90012578569
397219A1885833   STEVEN       GARCIA                   CA          90011849018
39721A8828B162   AUTUMN       FOOTE                    UT          31090850882
39721A91A5B156   DEMECIA      ALLEN                    AR          23040720910
39722168236B77   MARTIN       GONZALEZ                 OR          90008451682
397221A555B135   GLENDA       EDWARDS                  AR          90006491055
3972232642B87B   PATRICIA     CEJA                     ID          42082243264
39723457472B44   PAUL         HAAS                     CO          90011024574
3972347662B835   RAUL         VALADEZ                  ID          90011734766
39725163276B89   LIONA        LAIE                     CA          90014781632
397252A544124B   STEVE        BURCHICK                 PA          90002122054
3972546282B871   DAVE         MORRISON                 ID          42039884628
3972563985598B   AIOTEST1     DONOTTOUCH               CA          90015116398
3972588767753B   KENNETH      PHRAMPUS                 NV          90014728876
397272A9131424   TIFFANY      WESLEY                   MO          27505242091
3972739374B929   VANESSA      SANCHEZ                  TX          90013903937
3972766835B281   TERRI        JOHNSON                  KY          90003506683
3972798854124B   LYNETTA      MILLER                   PA          51060609885
3972B396255949   GABRIEL      RAMIREZ                  CA          90013023962
3972B619425632   JESSIE       LACY                     AL          90014186194
3972B888957B79   JESSE        HONEYWELL                PA          90015398889
397317A994124B   ARLO         GELETKO                  PA          90012467099
3973225289198B   ANDREW       PEARCE                   NC          90012502528
39732A1517B471   TRAVIS       EDMISTON                 NC          90005810151
397331A6755949   JOAQUIN      MONTES MENDOZA           CA          90015391067
3973487AA7B639   KARON        SELLERS                  GA          15094438700
39734889172B33   JASON        WARNER                   CO          90012598891
3973548765B555   DANIEL       RASCON                   NM          90011294876
39735496A4124B   L            J                        PA          90014154960
3973552A75B156   AMALIA       RODRIGUEZ                AR          90008775207
3973632357753B   JUAN J       DE LOZA - INIGUEZ        NV          43016333235
3973718442B835   JULIE        STEPHENS                 ID          42020221844
3973749594124B   JANEEN       ASQUE                    PA          90014154959
39737863A7B471   JUNE         MINCEY                   NC          90001488630
39738179A2B255   VANESSA      BROWN                    DC          90010571790
3973821677753B   VICTORINO    AGUILAR                  NV          90013312167
3973892A37B449   CAROL        CORLEY                   NC          90004989203
397398A164124B   ANTHONEY     MONTGOMERY               PA          90013968016
3973B15627B492   GERY         HERNANDEZ                NC          90013931562
3973B182141258   DIANE        DINNING                  PA          51002371821
3973B26764124B   JANE         LAWRENCE                 PA          90013922676
3973B74A65B344   AMPARO       NUNEZ MENDOZA            OR          90005977406
3973B94474B281   CHRISTIAN    WILSON                   NE          90012289447
3974167A45598B   AMINA        ABOULISAYEN              CA          90012346704
3974171765B156   MARTHA       LEYVA-SILA               AR          90002257176
39742316833B2B   JEREMY       JONES                    OH          90014253168
3974244427B492   MARY         JANE                     NC          90014264442
39742A96A31424   MELVIN       HENRY                    MO          90002960960
3974327A47753B   AMANDA       DAVIS                    NV          90015172704
3974498247B492   WILLIAM      BREST                    NC          90013859824
3974531468B16B   NICOLE       JAMIESON                 UT          31037723146
39745864A7753B   THERESA      STEVENS                  NV          90011238640
397472A8572B2B   BILLINGS     TODD                     CO          33026052085
39747342276B89   HAVIER       MARTINEZ                 CA          90013493422
3974763A641258   HEATHER      LAVIA                    PA          51088106306
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3974845367B492   KENYA             WRIGHT              NC          90013114536
397491A5441285   MIGUEL ANGEL      GALVAN              PA          90015431054
3974927984B281   KHURSHED          MARAYIMOV           NE          90014922798
3974938178B162   JONNY             MILLHOLLON          UT          90012673817
397497A137B492   FRANCESCA         SMITH               NC          90003907013
3974B79227B492   ANTHONY           ERWIN               NC          90015307922
3975134234B281   KAYLA             HATFIELD            NE          90014983423
3975181734124B   MELISSA           BRYAN               PA          90013968173
39751873276B89   CRISTIAN          MARTINEZ            CA          90014748732
39751972176B89   DANIEL            ARDEN               CA          90013169721
3975219287753B   MARTHA            MARTINEZ            NV          90005571928
3975324295B393   NECOLA            HENDERSON           OR          90014812429
3975354755598B   ROSALBA           BARRIGA             CA          49020415475
3975432A391831   KARINA            GASPAR              OK          90009463203
3975511875B52B   AUDREE            HUNT                NM          90012811187
3975564A891831   ROLAND            KENDALL             OK          21052756408
3975579535B393   KLIKA             HEAR                OR          90012247953
397565A517753B   KAZUMA            KATSURAGI           NV          43039545051
3975661A47B492   DELORES           WATSON              NC          90011996104
3975718117B449   GARY              ORVIS               NC          11003491811
39757362236B77   SANTOS            UZ DZUL             OR          90003093622
3975882968B18B   HOLLY             ROBLES              UT          90009718296
3975891697B471   TRESA             THORNTON            NC          11037359169
3975892287753B   LOREN             NICHOLS             NV          90011239228
39759236A41285   BRENDA            1204RICHMOND        PA          90014082360
39759A1655598B   MAC               FOSTER              CA          49027770165
3975B291941285   CHRISTINE         KOETT               PA          90008482919
3975B33552B871   SANDRA            DELAFUENTE          ID          42067333355
3975B33AA91584   BURGNER           STEVEN              TX          75047623300
3975B53242B255   MARCHSHELL        DAVIS               DC          90000925324
3975B597891831   DENNIS            RAMEY               OK          21036945978
3975B873276B89   CRISTIAN          MARTINEZ            CA          90014748732
3976139AA5B52B   MAZNUELA          RUEDA TAPIA         NM          90005913900
397619A8541285   JUAN              GONZALES            PA          90014999085
39761A2175B156   SHAWNICE          JOYNER              AR          23008170217
39762157A41258   JENNIFER          GREENWALT           PA          90014801570
3976313AA85833   JARED             QUIRKE              CA          90011871300
3976323135598B   AIOTEST1          DONOTTOUCH          CA          90015122313
3976387A331424   JOSH              GIBBS               MO          90012218703
39764AA1141285   DANA              BARANOWSKI          PA          51031440011
3976536584B281   KEYADA            GALES               NE          90014983658
3976564647753B   JARED             HYER                NV          90013116464
3976582142B87B   ROCIO             ANGUIANO            ID          90008128214
3976769237B492   GENA              LYNN MOORE          NC          90007136923
39767916A76B89   OMAR              QUIROZ              CA          90009799160
39768473A91371   LAJUWON           ASHLEY              KS          90015114730
397684A2741258   ASHLEY            MADER               PA          90013394027
3976889567B492   DARRELL           TUCKER              NC          90014358956
39768A1468B162   JACOB             LEVI                UT          90005490146
39768A9415598B   TISHA             BRADEN              CA          49023530941
3976919277753B   ALBA              GALLARDO            NV          90009511927
39769787A7B492   ODESSIE           MARTIN              NC          11081527870
3976979227B471   JUAN              HERNANDEZ           NC          90011507922
397697AA88B16B   ELIZABETH MARIE   HUNZEKER            UT          90005487008
3976B23997B492   VICTOR            ARDON               NC          90013932399
3976B283676B89   JUAN              CASTILLO            CA          90003282836
3976BA1122B87B   DAWNETTE          AMES                ID          42043960112
39771AA9153B95   LINDA             SCHAMBERGER         CA          90013680091
3977459738B162   LESLIE            DAVIS               UT          90005595973
3977498922B835   MEGAN             EVANS               ID          90010709892
39776919276B53   JUAN              FLORENTINO          CA          46079499192
3977741327B492   PAYGO             IVR ACTIVATION      NC          90013934132
3977836997753B   CHRISTINE         BOYD                NV          90011243699
3977964175B156   DWIGHT            PRIDGEON            AR          90008606417
3977982547753B   ALEX              LARGENT             NV          90013088254
397799A895B344   CIERRA            DOMINGUEZ           OR          90010919089
397815A7A72B93   JAMES             MACIAS              CO          33014135070
3978167545B281   DANIEL            CROSBY              KY          90011146754
3978171225B52B   MARIA             PLATA               NM          90004237122
39782976276B89   EMMA              EMMA                CA          90015159762
3978386777B492   LASHONDA          BROWN               NC          90010938677
3978479594124B   BABY              BABY                PA          90013967959
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39785A29155949   LAURA          SOZA                   CA          49088850291
397861A3441258   AMBER          HALL                   PA          90011711034
3978648942B87B   YVONNE         VALENZUELLA            ID          42003544894
39786A9A25B344   JON            SMITH                  OR          90008680902
3978717745B393   DAVID          GONZALEZ               OR          90014721774
3978764A891831   ROLAND         KENDALL                OK          21052756408
397888A7431424   KENNETRA       SYMS                   MO          90009558074
39789592576B89   MARIA          GUZMAN                 CA          90010945925
3978B498A91371   GENE           CARTER                 KS          90013554980
3978B89962B87B   RUSSELL        PEUGH                  ID          90007388996
3978B9A4176B89   OSCAR          CASTANEDA              CA          90014749041
3979142557B471   DEMICK         SMITH                  NC          90014924255
397916A8855972   LUIS           LEYVA                  CA          48006236088
3979197492B87B   NATALIE        REITAN                 ID          90008469749
39792355A55949   ANESSA         LEYDIG                 CA          49079303550
39793842776B89   JUAN CARLOS    RAYO                   CA          90013078427
3979436385B393   KRISTINA       CATOIRE                OR          90015213638
39794A48591371   CLAUDIA        CRUZ                   KS          90008600485
39795724676B89   JENNIFER       WHITE                  CA          90010837246
397958AAA41277   TINA           JABLONSKI              PA          90013568000
3979593547B471   GABINO         SANCHEZ                NC          90010579354
3979633447753B   YUNUEN         CORTES                 NV          90011243344
3979812238B162   KYLE           SARGENT                UT          31018081223
397982A2A76B89   MARIA          CISNEROS               CA          46013592020
39798521A4124B   JENNIFER       BAKER                  PA          90014155210
3979891495B393   JENNY          DAVILA                 OR          90015109149
39798984976B89   FREDDY         MENDEZ                 CA          90014959849
3979917635B393   BRANDY         BORDER RODRIGUEZ       OR          90013401763
39799511A84326   ELISHA         FRIPP                  SC          90010035110
397B1251A76B89   MARIO          GARCIA                 CA          90010322510
397B183654124B   BRIAN          FRAZIER                PA          90003258365
397B1A7137B471   SHRUNDE        SAORT                  NC          11078780713
397B2138A5B156   ANTOINETTE     WOODS                  AR          23066671380
397B284615598B   MONCHI TOMMY   VANG                   CA          90003608461
397B2A2926192B   MICHAEL        GURCHIEK               CA          90004030292
397B383967B449   CHEAM          HP                     NC          90006498396
397B3A8442B22B   MAURICE        GORDON                 VA          81035800844
397B4121776B89   DENNIS         FEENEY                 CA          90005021217
397B4557841285   JOHN           BANSON                 PA          90003125578
397B4A75A7B492   MOISES         HERNANDEZ              NC          90013930750
397B5124255928   ANSEL          HENDRICKSON JR         CA          49090141242
397B55A7591371   YANETT         CHRIST                 KS          29000625075
397B6343255972   LENG           VANG                   CA          48098863432
397B671A15B345   RANDOLFO       MARROQUIN              OR          90009617101
397B679A34124B   KEVIN          KNESTRICK              PA          90013967903
397B718818B191   MARION         KING                   UT          31060321881
397B732A67B471   LIND           HOVEER                 NC          90010583206
397B7772A4B281   SHAWN          COOPER                 NE          27095537720
397B853145B393   LORI           WALSH                  OR          44583825314
397B8777531439   ARMANDO        REYES                  MO          27534767775
397B8952191371   LATROYA        MCKINLEY               KS          90001559521
397B8A26261559   ROBIN          WATKINS                TN          90004670262
397B9145691831   TAYLOR         MITCHELL               OK          90013531456
397B91A9491371   DERRICK        RUCKER                 KS          90015061094
397B92A8A5598B   BRENDA         CARDENAS               CA          90010742080
397B939867B492   CHRISTOPHER    HOPE                   NC          90007943986
397BBA5568B162   MIKE           ROGERS                 UT          31096920556
39812961A5B393   CLIFFORD       CHANEY                 OR          44550769610
39813A8115B393   JEWELEAN       BROWN                  OR          90012330811
3981418A155972   DAVID          CARRANZA               CA          48022051801
3981464A15B393   HECTOR         BUCIO                  OR          44510406401
3981474245B281   LUCAS          DE LA CRUZ             KY          68068597424
398154A3591831   LISA           WILLIAMS               OK          90008644035
3981586225B344   DAVID          SMITH                  OR          44512538622
39817665A5135B   KENYA          SHAKIR                 OH          90012616650
3981811444B281   DOUGLAS        SULLIVAN               NE          90007891144
3981854468B162   KACY           MCCAULEY               UT          90010945446
3981865474124B   CETIDON        MIKOUNGUI BARRY        PA          90014306547
3981876497B471   DONNA          GUARDADO               NC          90012867649
3981B124641285   JEROME         MCGUINESS              PA          90013821246
3981B61574B522   ALMA           ZAMARRON               OK          90013956157
3981B6A6341258   LACHICA        STEVENSON              PA          90013066063
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3981BA8322B87B   JOSE          CAMARILLO               ID          90015270832
3982363327B471   ALTON         BELL                    NC          90002386332
3982414535B52B   SAUL          PACHECO                 NM          35067571453
3982482A14B281   KAYLIE        BURNS                   IA          90012378201
39824911976B89   ELIZABETH     LOPEZ                   CA          90012689119
3982522788B149   VIRGINIA      COE                     UT          90013812278
39826177A91831   ANGELICA      PINA                    OK          90008481770
39826247A85833   OMID          JOHANNIGMANN            CA          90011922470
3982674A131458   NICOLE        WEBB                    MO          90003617401
39826A4A94124B   SHANELL       MERIDETH                PA          51007740409
398272A997753B   BARRY         PULEO                   NV          90008542099
39827838A24B39   SHIRLEY       KINNEY                  VA          90002018380
3982789175B52B   MONICA        GUILLEN                 NM          35066998917
3982927A25B156   BRENDA        DAUGHERTY               AR          23043102702
39829294A91831   LYNN          NILL                    OK          90009712940
3982B65817753B   GERARDO       ALVARADO                NV          90011916581
3982B998A3B345   JUJUAN        PETERSON                CO          90008559980
3983123738B162   JOSE          ESPINOSA                UT          31060762373
3983175A54B554   EMELDA        ROSALES                 OK          90008527505
398322A8491232   HOLLIE        ROSE                    GA          14572052084
39832893676B89   DANA          HAMERDINGER             CA          90012978936
3983312717B471   AUSTIN LANE   LANE                    NC          90010581271
3983314A176B89   TIBURCIO      JUAREZ                  CA          90014951401
3983322832B835   JEREMIAH      MASSEY                  ID          42082332283
3983455237B471   RAUL          PALACIOS                NC          90000445523
39834A46355972   JESSICA       CRUZ                    CA          90012470463
3983554924B281   ADAU          AROK                    NE          90014985492
3983561414B225   OLUYINKA      JAKEREDOLU              NE          90004926141
3983574345598B   AUTUMN        AUTRY                   CA          90010197434
3983684344B281   TRACIE        ROBERTSON               NE          90005648434
39837A2918B16B   ALVARO        AGUAYO                  UT          31023360291
3983946915598B   ROCKY         JOE                     CA          49018864691
3983B146255972   MANUEL        CASTENADA               CA          90010781462
3983B374791584   LUIS          VIDAL                   TX          75017593747
3983B399791371   GARAY         BONIFACIA               KS          29004363997
3983B758831424   ANTANIA       BREWSTER                MO          90008457588
3983B79587B471   TAMEIKA       DAVIS                   NC          90014597958
3983BA72761962   BRONCE        MAXWELL                 CA          90004080727
3984112382B87B   PEPPER        HERNANDEZ               ID          90010241238
3984226665B393   ROBERT        THOMAS                  OR          44575902666
398424A457753B   KRISTINE      WISE                    NV          43000874045
39842A7425598B   MARIA         VALENCIA                CA          49006310742
39843226576B89   GRISELL       LEON                    CA          90012982265
3984363A55B156   PATTIANN      SMITH-MAYABB            AR          23093276305
3984413A155972   ANGELICA      DIAZ                    CA          90012901301
3984424862B835   RENEE         GLANZMAN                ID          90009402486
398442A5A76B89   GENESIS       JIMENEZ                 CA          90013032050
3984581417B471   SHAREE        MORALES                 NC          90012928141
3984598545B52B   VICTOR        CHAVEZ                  NM          90006279854
3984661A65B393   LORY          DEVON                   OR          90009626106
39846A39A91371   BRENDA        RHODES                  MO          90002870390
39846A7AA41277   PATTI         JOHNSTON                PA          90008520700
3984756355B156   JOHN          MILLS                   AR          23056385635
3984759435B156   JOHN          MILLS                   AR          90015505943
39848167276B89   EDGAR         MEJIA                   CA          90014951672
39848268572B72   ABRAHAM       REYES                   CO          33045262685
39848796372B56   RYAN          LA BRECHE               CO          33057067963
3984892AA41258   JOEY          GARNET                  PA          90013859200
39848A4575B281   TREMAINE      SHEPARD1736 PAYTON      KY          90003360457
3984926787B471   JASMINE       MCMANVS                 NC          90014172678
398492A5A76B89   GENESIS       JIMENEZ                 CA          90013032050
3984962AA91371   KEYVEON       HARRIS                  KS          90011426200
3984B26435B393   MARIO         RAMOS                   OR          44586072643
3984B876355972   VICTOR        GAMEZ                   CA          90006338763
3984B942576B89   ANDREW        BARTON                  CA          90014749425
3985132A15B52B   ALICIA        SANCHEZ                 NM          90005303201
3985153485B393   CAROL         VON BERGEN              OR          44577105348
39852186A4B929   TANIA         ZAMORA                  TX          90007831860
3985241328B16B   DENISE        JIMENEZ                 UT          90006254132
3985429525B52B   RANDY         SANCHEZ                 NM          35026042952
39854415876B89   LANCE         MAGIN                   CA          90013034158
3985442144124B   MIKE          KOZIAK                  PA          51072754214
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3985529777B492   AMY           LOFGREN                 NC          90014012977
398552A7976B44   ESTEBAN       APARICIO                CA          90008132079
3985648A131424   CHRISSY       APRIL                   MO          90001314801
39856AA455B393   RUTH          HERNANDEZ               OR          90001130045
3985735A385866   STEPHEN       OLLIER                  CA          46021083503
39857472176B89   JOSEFINA      BELTRAN                 CA          90013034721
39858383A5598B   GERMAN        GARRIDO MARQUEZ         CA          90014393830
3985848357B492   ASUNCION      SALINAS                 NC          90014864835
3985BA3A791831   GUILLERMO     LOPEZ                   OK          90001180307
398612A4491584   DAVID         GRIEGO                  TX          75075052044
3986195212B871   MARISOL       SANDOVAL                ID          90011799521
398624A395B393   SERGIO E      ARCHUNDIA               OR          90012444039
3986252957B471   VANNALY       SAYAVONG                NC          11054585295
3986255A85598B   JUANCARLOS    VALDEZ                  CA          90008365508
3986332484B281   MARY          MATHES                  IA          27082363248
398633A674124B   LATEEF        BAKARE                  PA          51051683067
3986415388B162   ELISA         GIMBATTI                UT          31098801538
39865223A8B162   JOSE          GUTIERREZ               UT          31005092230
39866A4472B255   ROSA          CHICAS                  DC          90012740447
3986773337753B   DEREK         HENRY                   NV          43085007333
39867A57461924   ILIANA        VIRA                    CA          90006220574
3986814995B344   YOLANDA       CEJA                    OR          44538441499
3986882237B471   SAMANTHA      HOLLOWAY                NC          90010728223
398694A745B393   STEPHANIE     SANDHAGEN               OR          90014734074
3986B3A194B281   GRANT         CONLEY                  NE          27049043019
3986B79434124B   JONATHAN      SHULTZ                  PA          90010027943
3986B94652B871   HELENA        MARTINEZ                ID          90011799465
3986BAAA78B167   DUSTIN        REID                    UT          90010200007
39873815372B32   MARY          FELIX                   CO          90012418153
398738A535598B   COURTNEY      MCCLELLAN               CA          49097308053
3987394477753B   DESIREE       TINSLEY                 NV          90014889447
398739A9155949   JANET         GOMEZ                   CA          90015409091
39873A3835B52B   JAMES         BARRETT                 NM          35026320383
39874186A5B281   LASHANDA      LEACH                   KY          68038701860
3987441A191371   ARELY         DOMINGUEZ               KS          90008744101
3987528784124B   MARTIN        WARHOLA                 PA          90014972878
39876656A55949   WOOD          TABITHA                 CA          49080586560
3987671134B281   DANA          EDWARDS                 NE          90014987113
39876A85A55972   GLORIA        GUTIERREZ               CA          90007690850
39877795876B89   RAMIRO        CASTELLANOS             CA          90001757958
3987812775B393   WAYNE         WOODRUFF                OR          90011401277
39878437976B89   LARISSA       MENDEVIL                CA          90014754379
39878A1395B344   MARGARITO     MARTINEZ                OR          44588080139
398797AA191584   CRUZ          OLVERA                  TX          75036707001
3987B739291371   BRYCE         MORLANG                 KS          29095487392
3987B891855949   CONNIE        CORDERO                 CA          49066608918
39881267A55985   YENNILI       TORRES                  CA          90009912670
3988294335B393   RICADO        WRAY                    OR          90010179433
3988356162B835   DARLA         HARRIS                  ID          42078395616
398841AA37B492   KIMBERLY      LEMMONS                 NC          90010021003
3988432A75B393   CARLOS        BELTRAN                 OR          90010363207
3988435155598B   JAMES         GUTIERREZ               CA          49080483515
39884AA3541258   MARY          MORANT                  PA          90009660035
3988538792B87B   JUANITA       DEVALLE                 ID          90010643879
3988556272B835   STEPHANIE     HARP                    ID          42084605627
3988625515B52B   DIANE         MUNIZ                   NM          35015582551
3988632792B871   JAVIER        PATLAN                  ID          90013263279
3988647675598B   HARVEY        BENITEY                 CA          49050994767
3988659128B16B   REBECCA       MADISON                 UT          31011775912
39887A79931424   MARVIN        POWELL                  MO          90013480799
3988823622B835   AMURI         KASOMO                  ID          90009042362
39888323A31424   MICHAEL       WELCH                   MO          90014843230
3988887679375B   JENNIFER L.   CASHIN                  OH          90010978767
39889A12657B79   KEISHLA       FIGUEROA                PA          90015370126
39889A93855972   CRYSTAL       LOPEZ                   CA          90010540938
3988B117255949   CHARLES       MARISCAL                CA          90006841172
3988B58987753B   VANESSA       GRANADOS                NV          43072345898
3988B74635B255   CAMERON       JONES                   KY          90007277463
3988B81A597B37   JOSEPH        REYNOLDS                CO          90007918105
3988BA3194124B   LISA          JONES                   PA          90012510319
39891243876B89   VICTOR        PEREZ                   CA          90010802438
39892583A5B344   JOSEPH        HOLLAND                 OR          90003585830
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3989324378B162   CHEYENNE     HANSEN                   UT          90013482437
398938A7331424   CANDICE      WARD                     MO          90013708073
3989418292B87B   AMANDA       BENITES                  ID          90002201829
3989433378B16B   JEREMY       YARRINGTON               UT          31082153337
39895288876B89   BEN          CLEVELAND                CA          90013052888
3989655282B87B   GUADALUPE    CALLEJAS                 ID          90014985528
39896A9958B16B   CARLOS       ZAMORA                   UT          31001370995
398972A6355972   FERNANDO     VILLEGAS                 CA          48055392063
39897A9772B871   STEVE        SMITH                    ID          90011800977
3989826A25B56B   SANDRA       MONTOYA                  NM          90012502602
3989837315B156   KILO         DOSS                     AR          90007003731
3989858489156B   JESSICA      BELMONTE                 TX          90008375848
39899157876B89   CHARLES      YARBROUGH                CA          90012171578
39899336A5B545   JENNIFER     LOPEZ                    NM          90009173360
3989954642B871   MATTHEW      PERKINS                  ID          42009885464
39899A48455949   JOANN        TESNEAR                  CA          90013910484
3989B48137753B   JOSE         AGRAMON                  NV          90001244813
3989B677291371   MARTHA       DAY                      KS          29014796772
3989BA31A55972   JOSE LUIS    RIVERA                   CA          90008230310
398B2A9888B162   DIEGO        FLORES                   UT          90013770988
398B385712162B   DAVID        PRIMOZIC                 OH          90014398571
398B387838B149   DANETTE      STARK                    UT          90007928783
398B3A85176B89   DARDEN       INGLIS                   CA          90014950851
398B4151A2B87B   CARLOS       CISNEROS                 ID          90000251510
398B514135B393   TABITA       SIMEDRU                  OR          44562301413
398B5323572B32   FAITH        MCGINN                   CO          33079613235
398B588332B835   SARAH        PEREZ                    ID          90011738833
398B597737B471   JAMES        SIMMONS                  NC          90010579773
398B657A72B87B   CHARLETTE    CHLARSON                 ID          90003095707
398B745824B281   SANDRA       BALTAZAR                 NE          90014984582
398B7633841258   KAMAL        NAGI                     PA          90013026338
398B7758276B89   DANIEL       MONTESINOS               CA          90011777582
398B77A265B52B   CHARLIE      JESSICA                  NM          35074497026
398B8342891584   LETICIA      FLORES                   TX          75067493428
398B8657191537   YVETTE       LOPEZ                    TX          90008876571
398B8835885833   SEWAR        ARABO                    CA          90011898358
398B9196176B89   DON          HALLOCK                  CA          90004821961
398B9A8417B492   SHAMIKA      MCCLINTON                NC          90014090841
398BB1A972B87B   CARREN       MATTSON                  ID          42020771097
398BB328731628   SOUVENANCE   JOSEPH                   KS          90008413287
398BB538A76B89   EDITH        VAZQUEZ                  CA          90010215380
398BB82724124B   KENNETH      ROBINSON                 PA          90013968272
399122A9691831   EDUARDO      DAVILA                   OK          21014262096
3991284685B281   THELMA       HURT                     KY          68022208468
39913356A2B87B   FRANK        BLACK                    ID          90015063560
3991363867B491   ROBERT       ELLISON                  NC          90005526386
3991397735B393   CATALINA     VELASCO                  OR          44557699773
39915211A7B492   RUBY         STYLES                   NC          11015992110
3991564678B16B   RON          PETERSEN                 UT          90013226467
3991617937B471   JOHN         FARMER                   NC          90012321793
399164A1955972   JENNIFER     GONZALEZ                 CA          48017224019
3991753524124B   F            O                        PA          90014155352
39918149A7B471   CHELSIE      CHAMBERS                 NC          90014621490
39918283676B89   JUAN         CASTILLO                 CA          90003282836
3991B72882B87B   BEAU         HURLEY                   ID          90012627288
3992149137B492   MEDEL        QUITERIO                 NC          90013944913
3992254145B156   FABIAN       MONTGOMERY               AR          90009135414
3992287894B281   OSCAR        ARAQUE                   IA          90010928789
3992369A891584   DELFINA      CARRASCO                 TX          75017486908
3992419815598B   MARVIN       HARRIS                   CA          90014511981
39924538A4124B   HANNAH       PAUL                     PA          90014155380
3992534367B492   HAROLD       WILLIAMSON               NC          90007323436
3992591645B344   DANIELLE     BURNETT                  OR          44568069164
39926355176B89   RAFAEL       BARAHONA                 CA          90013683551
399284A2241285   ROSA         KUSSEROW                 PA          90012164022
3992948A52B87B   NATHAN       NARTE                    ID          42083274805
3992979A77753B   CASILDO      RUIZ                     NV          90013607907
3992984887B386   MILTON       HERNANDEZ                VA          90002608488
3992B33917B492   BRITTNEY     MCLEAN                   NC          11080103391
3992B47812B87B   MARIA        MADRIGAL                 ID          42098084781
3993171484124B   ALANA        HAYES                    PA          51018137148
3993183887B659   KIMBERLY     BASS                     GA          90014408388
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3993319135B393   LATAEVON     SPENCER                  OR          44584321913
3993331347B492   KAREN        THRASHER                 NC          90014403134
3993332747753B   MARYLANDER   TALLEY                   NV          90011393274
39934353A8B162   CARMEN       ASAY                     UT          31099043530
399349A385B344   TERESA       GARCIA                   OR          44586669038
3993538867B449   MARGARITA    CARDENAS                 NC          11002013886
3993538964B281   THOMAS       KERNS                    NE          90000333896
3993553934124B   ALAYNA       TOLBERT                  PA          90014155393
3993654744124B   TAKIYAH      BULLOCK                  PA          90014155474
3993699627B471   JONATAN      CASTRO                   NC          90013369962
39937127A41285   TIFFANY      LOWE                     PA          51007671270
3993767382B847   LAVON        DODDS                    ID          42066876738
39938656A41285   JAMIE        MITCHELL                 PA          90012086560
39938783A63629   BRITTANY     GRIVETT                  MO          90008817830
39938A11155972   FEDERICO     DE LA PAZ                CA          90009960111
3993968A941277   VERONICA     ANDERSON                 PA          51093916809
3993B22412B87B   MEGAN        JOHNSON                  ID          42086122241
39941128676B45   JOSE         BERNAL                   CA          90014891286
3994163418B16B   KIDS         ZONE                     UT          90005836341
3994171155B393   MICHELE      ELLIS                    OR          90015127115
3994236A32B87B   DUSTIN       WASSOM                   ID          42013563603
3994274335B555   MARIA        VALENZUELA               NM          90000467433
39944499576B89   JONAS        PHILIPPE                 CA          90013054995
399452A2441277   LISA         CHIORAZZO                PA          51010922024
3994642294B922   JENNIFER     JOHNSON                  TX          76503714229
3994646424B281   SHAUNA       CALDWELL                 NE          90013054642
39946A2675B55B   SHERRI       BARNETT                  NM          90010130267
3994712415598B   ANDRES       YERMAN                   CA          90001671241
3994742A755964   RAUL         LOPEZ                    CA          90009164207
399475A7831424   JAMES        JOHNSON                  MO          90010205078
3994972797B471   MILAGROS     MEJIA                    NC          90010587279
39949A7265B393   KARISA       SMITH                    OR          44511330726
3994B154691831   TIMOTHY      VANARSDEL                OK          90014811546
3994B3A2A55949   ALBERT       AGUIRREQ                 CA          49055543020
3994B42975B281   ALICE        GRAVES                   KY          68008164297
3994B452572496   CHRIS        NICHOLSON                PA          90008434525
3994B593176B89   CASANDRA     ORTEGA                   CA          90014765931
3995143332B87B   SHAWNA       MAYS                     ID          90013414333
3995164487B492   SYLVIA       MOORE                    NC          90009736448
3995171197B449   CHRISTIAN    ARADILLAS                NC          90005117119
39951A55276B89   JOLLENTINO   GUERRERO CASTILLO        CA          46039200552
3995246995B344   SOCORRO      AMARO ROMAN              OR          44583354699
3995253AA76B89   SUZANNA      BARAJAS                  CA          90014825300
3995286394B281   GERAL        POTTER                   NE          27086008639
3995313924B281   MILA         RUETH                    IA          27084071392
39953AA127B639   DENISE       MOORE                    GA          90012900012
3995457122B87B   CHRISTIE     ARMSTRONG                ID          90009685712
39954AA127B639   DENISE       MOORE                    GA          90012900012
3995514AA55972   MEGAN        MARTINEZ                 CA          90013801400
3995666127753B   ROBERT       OWENS                    NV          90003676612
39956A7535B393   SHAUN        MARTIN                   OR          90006540753
3995716637753B   MICHAEL      PALMER                   NV          90012421663
3995817A191831   GERAD        THOMPSON                 OK          90010731701
39958A47924B35   IBEN         ENO                      MD          90015170479
3995931625B393   DEE          KILLIAN                  OR          90010823162
3995987734B281   MICHELLE     MOERKE                   NE          90002588773
3995B12747B471   VENESSA      TORRES                   NC          90013201274
3996114937B492   NICHOLAS     DURHAM                   NC          90001211493
39964722A4B541   MARIA        RODRIGUEZ                OK          90010777220
3996532398B162   ABRAM        KENTER                   UT          90001713239
39965785A2B87B   JENNY        CLIFFORD                 ID          42092507850
3996647155598B   ESTHER       LUNA                     CA          49037534715
39966AA5576B89   PEREZ        JAVIER                   CA          90003150055
3996838655B393   RUTILIA      MARTINEZ                 OR          90012183865
3996844247B449   FELICIA      MAYES                    NC          11063454424
3996B15927B471   NAUTICA      BURNER                   NC          90014711592
3996B5A9131424   ZERNETHIA    KING                     MO          90014155091
3997137A92B87B   MARIA        TORRES                   ID          90013593709
39971631976B89   ELIAS        CRUZ                     CA          90014776319
39972682A76B89   OLIVER       NICDAS                   CA          90013056820
39974276A55972   KAREN        SCOTT                    CA          90013172760
39975287372B37   TRISHA       RAUPP                    CO          90009512873
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3997646815B393   TYREE        MONTGOMERY               OR          44546794681
3997748964B936   YVETTA       JOUBERT                  TX          90011684896
3997846815B393   TYREE        MONTGOMERY               OR          44546794681
39978A67641258   DANNIE       WHITE                    PA          90014250676
399813A245B281   JOSHUA       CUTLIP                   KY          68022533024
39981A9485B156   XAVIERY      HUDSON                   AR          90011750948
39982338A7753B   DENISE       MARTIN                   NV          90004223380
3998291A255972   MICHAEL      LEWIS                    CA          48043759102
3998341445B156   LATASHA      GARRETT                  AR          90000794144
3998346844124B   RAFIQAH      FORD                     PA          90012614684
3998386898B16B   RONNIE       THOMAS                   UT          90010368689
39983A15776B89   VICTOR       DONEZ                    CA          90014960157
39983A16161924   CRESCENCIA   SERRANO                  CA          46007190161
3998437184124B   MALORY       MORRISEY                 PA          90014463718
399844A2241258   CONSTANCE    JONES                    PA          51061774022
39984595A5598B   ALICIA       GONZALEZ                 CA          90008385950
39984982698B22   NATHANIEL    ELLER                    NC          90011529826
39984A2A876B89   MARILIO      DOMINGUEZ                CA          90014960208
3998534325B393   KYLE         GOLLEHER                 OR          44517973432
399858A555B23B   DULMAN       NIEVES LOPEZ             KY          90002788055
3998683384124B   CHRISTOPHE   KURTA                    PA          51048228338
3998722362B87B   NECCIA       WELTY                    ID          90011072236
3998858163B356   CHRISTINE    PFEIFER                  CO          90011755816
3998862345B344   WAYNE        BACKLUND                 OR          90005996234
39988774A72B34   WILHELMINA   WRIGHT                   CO          90000457740
39988A68A91232   BRANDON      BROWN                    GA          90007820680
3998952542B87B   TONY         DILL                     ID          90005695254
3998966935B393   KARISSA      KNETZGER                 OR          44503436693
399899A627B471   ZYONNA       WILLIAMS                 NC          90014669062
3998B43515B156   LILIA        ESCALANTE-ROBLERO        AR          23077694351
3998B78644B281   ROMARO       NELSON                   NE          27011997864
3998B917A7B471   BRANDON      WHITE                    NC          90013019170
3998BAA1931424   ALISA        LOVAN                    MO          90014430019
39993A74198B25   OCTAVIO      ROMERO                   NC          90006370741
39993A7765598B   MILL         SHANTELL                 CA          49071600776
39994883A7753B   CHRISTINA    PUCCI                    NV          90014408830
3999578577B492   TAMMY JO     TAYLOR                   NC          90012817857
3999646718B162   DAVID        RAY                      UT          90012464671
3999691695B156   SHANNON      NELSON                   AR          23089409169
39996A3118B162   DAVID        RAY                      UT          31030060311
39997292A41258   KELLY        MURRAY                   PA          90012012920
39998956A76B89   IRMA         ALEJANDRE                CA          90014169560
3999921327753B   SALVADOR     BARAJAS                  NV          90011912132
3999969526B121   JERMICK      BUNLEY                   MS          90011396952
3999B17415598B   JOEL         OCHOA                    CA          49011031741
3999B25AA51578   DEVIN        CHAMPLIN                 IA          90013952500
3999B528141258   WILLIAM      BRONSON                  PA          90014665281
3999B716491371   JASON        CARNES                   KS          90002937164
3999B74A34124B   ARRON        ALLEN                    PA          51074457403
399B13A962B87B   EMILY        BROWN                    ID          90009163096
399B214115B393   STEVEN       HUYCK                    OR          90013271411
399B2559841258   CARLOS       SANCHEZ                  PA          51071945598
399B271475B393   ANJERIE      POWERS                   OR          90005587147
399B368347B449   DANNY        GONZALEZ                 NC          90006336834
399B417128B162   JOSE         HERNANDEZ                UT          31095961712
399B4632691371   EUGENO       DESICO                   KS          90012436326
399B465A17B471   AUDREY       WILLIAMS                 NC          90015166501
399B475414B281   LEA          JONES                    NE          27095187541
399B496215598B   GUADALUPE    SALAZAR                  CA          90010149621
399B531325B546   JENNIFER     CHAMBERS                 NM          90008423132
399B5314891584   JAVIER       HUERTA                   TX          90003243148
399B542485598B   ANGLE        STOVALL                  CA          90013874248
399B5583A4B281   FABIOLA      VAZQUEZ                  NE          27022805830
399B576855B393   BRENDA       MARUGG                   OR          90012157685
399B6476455972   ALYSSA       CRUZ                     CA          90011654764
399B653217753B   MARISOL      AGUIRRE                  NV          90011245321
399B711567B492   MIKE         CRISPY                   NC          90013421156
399B714394124B   DEBORAH      CHANGERI                 PA          90006021439
399B743118B162   BRYCE        SELEEY                   UT          31069344311
399B776597B449   TASHA        RODGERS                  NC          11007417659
399B7A17A72B35   MELANIE      MCHALE                   CO          90001320170
399B819755598B   CARINA       CONTRERAS                CA          90014201975
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399B835452B87B   CAMBRON C       CABRERA               ID          90009163545
399B85A465B536   ADAM            ALAOUIEH              NM          35039365046
399B926114124B   MICHELLE        IVORY                 PA          51039322611
399B975A941258   THOMAS          FLETCHER              PA          51095547509
399BB22565B34B   UZZIEL          MARTINEZ              OR          90001472256
399BB243876B89   VICTOR          PEREZ                 CA          90010802438
399BB57924124B   CAROL           KLEIN                 PA          51027215792
399BB612572495   MISTY           GEORGE                PA          51075126125
399BB65757B492   ROANALD         MORRISON              NC          90000836575
399BB6A5891371   CHESNEY         GONZALEZ              KS          90013146058
39B1177245B344   OMAR            RUIZ                  OR          90011777724
39B11AA282B87B   LIBEE           ROD-HENSON            ID          90013100028
39B1322635B393   JOHN            BARKER                OR          90010312263
39B1471777753B   TED             WHITE                 NV          90004787177
39B148A674B547   TRACY           MAGNESS               OK          90005498067
39B14A1774B281   KARLA           DOMINGUEZ             NE          90014920177
39B1556447753B   ESMERALDA       PARTIDA               NV          43054345644
39B15947791831   ISELA           CASTRO                OK          90009759477
39B16192931657   ROY             DARNALL               KS          90000981929
39B165A3155972   OLLIE           JONES                 CA          90014555031
39B1723275B358   YEMATEEMAS      OSBORNE               OR          90015062327
39B1742515B156   KAREN           JEFFERSON             AR          23074084251
39B17472876B89   JOSE LUIS       MONTIEL               CA          90013604728
39B1751475B393   TANISHA         BERGHOLM              OR          90004165147
39B1753518B162   MICHAEL         ASTON                 UT          31027655351
39B1775328B195   PATRICK         SMITH                 UT          90002937532
39B1827767B492   ANTHONY         WINSTEAD              NC          11075382776
39B18317155949   ALLISON         KLEIN                 CA          49002393171
39B18441355972   FRANKIE         BEJARANO              CA          48067044413
39B1892226B397   KATHY           KENNY                 NH          90015129222
39B1948168B166   MARIA           PEREZ                 UT          90015214816
39B1948747753B   BRENA           BALDWIN               NV          43013934874
39B1956772B87B   MARIA JUANITA   JUAREZ                ID          90013875677
39B19919491371   ANGELA          CORDOVA               KS          90013499194
39B1B48775B52B   KELLY           TENORIO               NM          90015064877
39B1BAA164B281   KOUTODJO        FIDEGNON              NE          90014920016
39B21123985833   GILBERTO        CEBREROS              CA          90008771239
39B216A6555972   PATRICIA        FLORES                CA          90014516065
39B21A78361962   ARIDAY          NIETO                 CA          90007240783
39B21A97941285   JAMES           MATT                  PA          90013960979
39B22215124B59   DENISE          ROBINSON              DC          81021222151
39B22419855972   LUIS            ARROYO                CA          48006944198
39B235AA48B16B   REBECCA         CURTIS                UT          90003255004
39B24433455949   JOE             THRAILKILL            CA          90015264334
39B2454278B16B   TANNER          JAMES                 UT          90003255427
39B2466A47B492   SHERE           LINEBERGER            NC          90002566604
39B2495467B471   FABIA           MADINA                NC          90011219546
39B2576634124B   BRENDALE        BOWLES                PA          51089467663
39B2627125598B   KA XUA          YANG                  CA          90013812712
39B26385191584   SHANIQUA        SHAW                  TX          75036403851
39B2655685B52B   MARSHA          REYNOLDS              NM          35036365568
39B27124576B89   LUCAS           SHACKELFORD           CA          90013671245
39B2728415598B   PRISCILLA       HINOJOSA              CA          90013492841
39B27582331424   JAZMINE         WILLIAMS              MO          90013525823
39B2763AA57599   NOEL            JACQUEZ               NM          90009056300
39B2845292B871   JULIE           MCNETT                ID          42082334529
39B2862A17753B   RODOLFO         CHAVEZ                NV          90014406201
39B29386293761   AMANDA          MCLAIN                OH          90003263862
39B2947A131424   MARTINA         MOSBY                 MO          27512314701
39B2B17987753B   LORENA          HERNANDEZ MUNOZ       NV          90012621798
39B2B42792B835   CRAIG           SPENCER               ID          90015024279
39B2B498A5B52B   BRENDA          MOTT                  NM          90015064980
39B2B6A585B358   ALYSSA          GALIANO               OR          90011716058
39B2BA34576B89   MARGARITA       CENDEJAS              CA          90007830345
39B3119235B52B   JENNIFER        MARTINEZ              NM          90004231923
39B3126A491371   JAMES           NELSON                MO          90014092604
39B3147594124B   TONI            MIELE                 PA          51032124759
39B3168155B386   JOY             ALLEN                 OR          44513656815
39B31856431424   BREANNA         COLE                  MO          90013188564
39B3212A37B639   TAMARAH         BENFORD               GA          90011011203
39B32191755972   INA             JENNOE                CA          90015121917
39B32288141277   SARAH           COOLEY                PA          90002412881
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1844 of 2500


39B3233219152B   MARIA           CANALES               TX          90005923321
39B3244954124B   DANIELLE        CZAJKOWSKI            PA          90011404495
39B32695276B89   MICHELLE        AGUILAR               CA          90014826952
39B33466757569   JANET           RASCON                NM          90014134667
39B3369575598B   PATRICIA        REYES                 CA          90000796957
39B34247885833   JANET           MATEO                 CA          90003272478
39B3441962B87B   WAYNE           JOSLEYN               ID          42082644196
39B3549295B38B   CYNTHIA         PETERSEN              OR          90004704929
39B35AAAA41285   BRIAN           MCGRUBER              PA          90013960000
39B3612537B471   RANDY           KING                  NC          90014811253
39B3627745B344   AMMAR           MAHDI                 OR          90013672774
39B36499791538   CHRIS           AGUILERA              TX          75032944997
39B3672835B344   AMMAR           MAHDI                 OR          44501177283
39B36A54991371   RANDY           DOTY                  KS          90012660549
39B37237A5B156   NORMA           PHILLIPS              AR          90004952370
39B3755A491831   JESSIE          MITCHELL              OK          90006965504
39B37842A2B87B   JOHNATHON       MATHENY               ID          42022098420
39B3853575B393   MICHELLE        MEISTER               OR          90013055357
39B3888437B449   FERNANDA        LORETO                NC          90004028843
39B39191755972   INA             JENNOE                CA          90015121917
39B3953125B52B   MARCELO         HERNANDEZ             NM          90015065312
39B3B17784124B   DANA            DILLEY                PA          51051781778
39B3B39355B344   JOSE            MARTINEZ              OR          44573303935
39B3B4A255B52B   RICARDO         HOLGUIN               NM          90006014025
39B41474341277   VINCENT         CZACHOWSKI            PA          90010724743
39B4171114124B   COLLEEN         CURLEY                PA          51033687111
39B4191525598B   CLARA           CELANI                CA          49002599152
39B4221917B492   SHAWN           MC MILLER             NC          90008622191
39B4329277B639   CHARLES         MCCOWAN               GA          15050982927
39B432A3391371   MARIA           NEGRETE               KS          90012032033
39B4372527753B   EVANGELINA      JIMENEZ               NV          43039647252
39B44424531424   JOE             MERCURIO              MO          90000664245
39B4445155598B   WILLIAM         GARCIA                CA          90011974515
39B45176531249   ADAMMA          MUODEME                IL         90014421765
39B4526632B87B   JAME LARRY JR   SNELL                 ID          90004572663
39B4535A15598B   JENNY           LIZANA                CA          49076823501
39B45989657122   NATASHA         MOSLEY                VA          90008269896
39B46477A5B358   CATALINA        LOPEZ                 OR          90002854770
39B46675585833   TRAVIS          MICHALSKI             CA          90010596755
39B47591255949   ANTHONY         RAMIREZ               CA          90013325912
39B478A6355949   ROSALINDA       MENDOZA               CA          90009578063
39B47919A76B89   NICK            RIOS                  CA          90012879190
39B4835944124B   SERENA          WOODS                 PA          51025683594
39B48373951347   SCHERISE        HINTON                OH          90013673739
39B48438876B89   PATRICIA        DIGUEZ                CA          90005064388
39B49157A41258   JENNIFER        GREENWALT             PA          90014801570
39B49327191881   OSCAR           BUSTOS                OK          90013293271
39B4962575B156   JEREMY          RODGER                AR          90006306257
39B49722855972   MONICA          GARCIA                CA          90001237228
39B4B18A97753B   MATTHEW         GAW                   NV          43093801809
39B4B389691831   JENE            STAKE                 OK          90011723896
39B4B61A298B83   LUIS            MARTINEZ              NC          90003476102
39B51396176B89   ADRIANA         GONZALEZ              CA          90003493961
39B5197748B162   HECTOR          FLORES                UT          90005689774
39B51A25185833   GARY            TOWERS                CA          46054390251
39B52237241258   MARQUITTA       WHARTON               PA          90001492372
39B52417A41285   DAVID           CHRISTMAN             PA          90011824170
39B52A2815B52B   SILVIA          GARCIA                NM          35036710281
39B5335835598B   ERICA           GARCIA                CA          90014613583
39B53829731621   CHRISTOPHER     COTTON                KS          90003358297
39B53A1545B52B   ALEXANDER       MUSKETT               NM          90010560154
39B5429A25B52B   BERTHA          ACOSTA                NM          35022822902
39B5494772B87B   JOEL            LOPEZ                 ID          90012919477
39B5526192B871   ALEXIS          BIRD                  ID          42050752619
39B5547755B52B   JESSICA         LOPEZ                 NM          35050634775
39B55724A91371   JENNIFER        WEB                   KS          90013147240
39B5594838B162   ERIN            BARTON                UT          90003879483
39B56217A91959   TRINA           STEPHENSON            NC          90014712170
39B56553991584   SERGIO          TOBIAS                TX          75073705539
39B56A82376B89   MARIA           REED                  CA          46056730823
39B5723A87753B   REYNA           VALLADARES            NV          90008712308
39B573A2971962   CHARLES         SMAGALA               CO          90003493029
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39B577A647B449   JULIUS       WILLIAMS                 NC          11007987064
39B5793AA5B393   LINDA        WIGREN                   OR          90015049300
39B5794A441285   CHARITY      SCHMIDT                  PA          51052809404
39B57A3A45598B   ROBERTA      RIOJAS                   CA          49010480304
39B5948A27B492   MARIO        ROBBS                    NC          90001784802
39B59678A5B93B   MARCO        GOMEZ                    WA          90015486780
39B5B46325598B   ARMANDO      SALAZAR                  CA          90014114632
39B5B693991584   ROSA         ESPINOZA                 NM          75017846939
39B5B928A76B89   ASHLEY       HAWORTH                  CA          90012879280
39B61255772B44   ELISEO       TAPIA                    CO          90010462557
39B6178112B835   ROSA LINDA   DELAFUENTE               OR          42095147811
39B621A9A2B87B   KATIE        GARCIA                   ID          90014491090
39B6256894124B   LEIGH        HILL                     PA          90008635689
39B6352835B358   MARIA        NAMBO                    OR          90014185283
39B6386385B156   TONY         PORTER                   AR          23085368638
39B64221A97122   ERNESTO      LEMUS                    OR          90003222210
39B6488447B492   STEPHANIE    GANTT                    NC          90008178844
39B656A515B58B   TISHA A      RAMIREZ                  NM          90005036051
39B65935931424   ANITA        SMITH                    MO          90014889359
39B6663965598B   AIOTEST1     DONOTTOUCH               CA          90015116396
39B6665245B393   GASPAR       QUINTANA                 OR          44546626524
39B66757655949   INA          ERNST                    CA          90011877576
39B6686218B162   MICHAEL      SHEEDY                   UT          90010898621
39B66977691371   JAZZ         BROWN                    KS          29037869776
39B66A7182B871   LACI         SHERWOOD                 ID          42000050718
39B67443791831   BRITTANY     LOGAN                    OK          90012234437
39B67469777544   DEBORAH      NAVARRO-GARCIA           NV          90011734697
39B67822A76B89   LAURA        VASQUEZ                  CA          90014168220
39B6869A157126   MARIA        SANCHEZ                  VA          90010916901
39B68757891584   CARLOS       NAVARRO                  TX          90005597578
39B6896915B344   LORENZO      LECHUGA CRUZ             OR          44565229691
39B689A4155972   ROGER        ANDREWS                  CA          90009989041
39B69383676B89   SERGIO       HERNANDEZ                CA          90008743836
39B693A757B471   ANGEL        LITTLE                   NC          90013763075
39B69442891371   NAYEI        BLANCO                   KS          90012324428
39B69A77A5B344   DOLORES      RAYMUNDO GUTIERREZ       OR          90003270770
39B6B32227B492   NICHELLE     KELLY                    NC          11010203222
39B6B429476B89   CAMERON      MITCHELL                 CA          90008304294
39B6B49487753B   MARIA        ARELLANO                 NV          90010024948
39B6B62A65598B   WILEBALDO    ESPINOZA                 CA          49097126206
39B6B6A8297122   ALLISON      FORKES                   OR          90006816082
39B71888791831   LAMOINE      HUTTON                   OK          90004168887
39B71A9AA41258   ESAN         BRAY                     PA          90012020900
39B7246834B296   TAMRA        WILLIAMS                 NE          27094524683
39B7265845B281   TANA         HILLMAN                  KY          68007376584
39B7294429155B   AHMED        MEZA                     TX          90010759442
39B74627455972   FRANCISCO    PADILLA                  CA          90013686274
39B746A9777544   ROBERT       CHARLES                  NV          90012656097
39B75945691371   ARMANDO      VASQUEZ                  KS          90015229456
39B75A41941258   EBONY        RAGIN                    PA          51001490419
39B75AA695B393   AUDUM        BELL                     OR          90001800069
39B7632764124B   TIMOTHY      PEIRCE                   PA          90011673276
39B76336A77544   JUAN         DIAZ                     NV          90005613360
39B7647A24B281   SABRINA      BROWN                    NE          90014924702
39B77278374B7B   MICHELLE     PRICE                    OH          90014872783
39B77473855972   JEANEANE     YTURRALDE                CA          48082464738
39B77496241285   SARA         DILLARD                  PA          90012944962
39B77665891371   DIANA        SANTELLAN                KS          90010846658
39B77A67191584   PRISCILA     ACOSTA                   TX          75078600671
39B78634585833   ERIC         HARDWICK                 CA          90009106345
39B7863965598B   AIOTEST1     DONOTTOUCH               CA          90015116396
39B793A6376B89   DAVID        MORENO                   CA          90015083063
39B796A9576B89   REGINA       TAYLOR                   CA          90010566095
39B7B97167B471   JERRY        HERRON                   NC          90013459716
39B8121755598B   ELIDA        VALDES HUERTA            CA          90008142175
39B8186495B156   SHYLEE       HAGLER                   AR          23074128649
39B821A1241285   JERRY        FROEMAN                  PA          90002741012
39B8259A47B471   ALEXANDRA    VELEZ                    NC          90010715904
39B83171941285   PAUL         CALIGIURI                PA          51059471719
39B83849431424   ANDREA       JONES                    MO          90014958494
39B83873393753   JASON        CHASTEEN                 OH          90003048733
39B8426A97B639   GARRETT      MARSH                    GA          15091112609
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39B85315931424   RACHEL      WILLIAMS                  MO          90014843159
39B8536A131424   VIVIAN      BECKER                    MO          90012023601
39B8588822B835   NICHOLAS    MCDONALD                  ID          42005958882
39B85A41491584   ISHMAEL     MARTINEZ                  TX          90004360414
39B85A8282B87B   ROSA        FELIX                     ID          90010790828
39B8632535B156   JESSICA     EVERSON                   AR          23028923253
39B86596876B89   JUANA       FELIX DE LOPEZ            CA          90009585968
39B86638A91371   CHONG       WALKER                    KS          90003576380
39B86639255972   VICTORIA    ELLIS                     CA          48031996392
39B86973231424   MORRIS      RASBERRY                  MO          90010869732
39B8766912B871   JACOB       WILCOX                    ID          42042806691
39B8799824124B   JAMES       FORSYTHE                  PA          90014789982
39B8825898B16B   VICTOR      HERNANDEZ                 UT          90001012589
39B89197776B89   YESENIA     REFUGIO                   CA          46014781977
39B8938275598B   CARMEN      ROCHA                     CA          49040763827
39B89933391831   JENNIFER    MANGUM                    OK          21038379333
39B8B85117B449   PAMELA      JONES                     NC          11011538511
39B8B999A97B21   ROBERT      MICEK                     CO          90006759990
39B9116A891371   HILDA       GONZALEZ                  KS          90006731608
39B91516A5B52B   DESIREE     GONZALES                  NM          90010255160
39B91A9192B835   GABRIELA    MARIN-CORTEZ              ID          90010600919
39B9219275B344   IGNACIO     CARDENAS                  OR          90009041927
39B92641377544   VANESSA     LITTRELL                  NV          90011756413
39B9274245B52B   JESSIE      MASCARENAS                NM          90008697424
39B931A947753B   ANGELO      COOPER                    NV          43078081094
39B9362354124B   TAMIL       ENOCH                     PA          90013966235
39B937A5191584   ANTONIO     OJEDA                     TX          75096457051
39B9396785B156   DEE         CALHOUN                   AR          23088479678
39B9433595B393   CAITLIN     BEBERNESS                 OR          90015013359
39B9479755B358   LINDA       SPELL                     OR          90009497975
39B94821276B89   OSCAR       SALAZAR                   CA          90014188212
39B9638568B162   JOREL       DE LA CRUZ                UT          31052693856
39B969A4691371   LILLIAN     KINDRED                   KS          29087029046
39B97361A41277   TRACY       FERRY                     PA          51013873610
39B9743435B156   SIDNEY      WARD                      AR          90012634343
39B97568191371   JESSICA     HTKANSON                  KS          90006045681
39B97759A31433   DONNA       GEORGEVICH                MO          90004317590
39B97815355949   JAVIER      ZENDEJAS                  CA          90010668153
39B98115897122   ELOISA      LOPEZ MENDEZ              OR          90001571158
39B98293341258   TAMMY       JEAN CARROLL              PA          90012872933
39B98374541285   CHARLES     WEBB                      PA          90014953745
39B9852478B332   LINDA       WHITE                     SC          11028835247
39B9899718B141   JONELLE     KUMPIN                    UT          90012369971
39B98A7185B393   DEBBIE      HOUSTON                   OR          90009330718
39B9936285598B   CLAUDIA     HURTADO                   CA          49012023628
39B99647361962   GUILLERMO   TORRES                    CA          90003846473
39B9996595B393   JACK        BECKWITH                  OR          90007809659
39B9B47178B162   WALTER      RUALES                    UT          90014434717
39B9B571341258   MELVIN      PAYNE                     PA          90011505713
39B9B66125598B   GERARDO     BENITEZ                   CA          90015356612
39B9B7A6331424   DEWANDA     HIGHTOWERS                MO          90009907063
39B9B84A37B639   NATASHKA    MILLER                    GA          90005338403
39B9B914155972   GUSTAVO     BANUELOS                  CA          90005029141
39B9BA74625655   ANDRIA      GUYTON                    AL          90014140746
39BB144972B871   HUGH        GEORGE                    ID          90011744497
39BB181442B835   MELISSA     MOWERY                    ID          90004208144
39BB192345B281   JAMLEILA    EVANS                     KY          90000949234
39BB1966651362   DEBORAH     GARDNER                   OH          90010869666
39BB19A842B87B   TERESA      HERRERA                   ID          90002029084
39BB2362376B8B   RYLIE       TALAVEGA                  CA          90011573623
39BB258784B52B   VIOLET      GUINN                     OK          90001355878
39BB258A55B536   SANDY       JAURIGUI                  NM          90001325805
39BB279398B16B   JUSTIN      RICHARDS                  UT          31000637939
39BB3552941285   TARAJEE     WILLIAMS                  PA          90015355529
39BB369A15B52B   ELISA       APONTE                    NM          35093496901
39BB3876222922   FELIN       RODRIQUEZ                 GA          90014278762
39BB3A66731424   TORRIE      WELCH                     MO          90011860667
39BB479A855949   ADRIANA     LOPEZ                     CA          90012907908
39BB4A9695B156   JAMEKA      ESTER                     AR          23032250969
39BB527915B52B   CAROL       SALAZAR                   NM          35048112791
39BB5AA164B281   KOUTODJO    FIDEGNON                  NE          90014920016
39BB6221191831   LEANDRA     DEMERY                    OK          90013272211
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39BB6281455972   JOE           RODRIGUEZ               CA          90010592814
39BB62AA755949   JONATHAN      SANCHEZ                 CA          49085362007
39BB642327B639   TRONDA        CARNEGIE                GA          15015834232
39BB698568B162   ESTEBAN       FLORES                  UT          90010739856
39BB6A4722B835   ASHLEY        GARRARD                 ID          90013960472
39BB739282B87B   AMBER         SMITH                   ID          90012503928
39BB7572631424   APRIL         HOLLINS                 MO          90009405726
39BB8849A7753B   JOSEPH        CANNON                  NV          90012808490
39BB8886471932   JOSEPH        BERNARDONI              CO          90002598864
39BB88A347B471   EARL          VALENTINE               NC          90000518034
39BB932315B281   AMBER         CRUSE                   KY          90006983231
39BB9495A5598B   STEVEN        ZOFFKA                  CA          90000474950
39BB961682B87B   ROMAN         NUNEZ                   ID          90010876168
39BBB361555972   EVA           CARNERO                 CA          48033733615
39BBB38835B156   PORCIA        PEARSON                 AR          90002853883
39BBB47A172B28   JOHN          KINNEY                  CO          90004644701
39BBB58A391587   OSCAR         VEGA                    TX          90013475803
39BBB691477544   RONALD        NORRIS                  NV          43086696914
39BBBA2A485688   CARMELO       DIAZ                    NJ          85016460204
3B11122699713B   TAYLOR        LAUX                    OR          44552642269
3B111358151339   GEORGE        MOONEY                  OH          90010193581
3B111531847931   CHRISTOPHER   PRATT                   AR          90014995318
3B111565851369   KOURTNEY      PORTER                  OH          90006335658
3B11191A255927   JENNIFER      ELDRIDGE                CA          49081439102
3B111A48A54165   STEVE         BERRIE                  OR          47080820480
3B112645931424   NICKI         ARMAN                   MO          27581776459
3B11319415B281   GALE          MERRIWEATHER            KY          90010401941
3B11346915B52B   KENDRA        RODEBUSH                NM          35070014691
3B11358855B592   GINA          PEARSON                 NM          90006825885
3B11358888B162   MAURICETTE    ROBINSON                UT          90013895888
3B114171355949   AIDA          ELENES                  CA          90007951713
3B114189391831   DEVENA        CRAFFORD                OK          90010831893
3B1141A574124B   DONNA         LEE WILLKOMM            PA          90009331057
3B114295A5B156   ASHLEY        LITTLE                  AR          90011302950
3B114358151339   CHINA         PHILLIPS                OH          66085103581
3B114443241277   DANIEL        JONES                   PA          90011564432
3B114557191356   LIZABETH      VEGA                    KS          29038995571
3B1146A166B198   DEWAN         JEFFERSON               MS          90014946016
3B11472632B93B   BRANDY        CLAUSSEN                CA          90008947263
3B114862991232   TYRESE        DAUGHTRY                GA          14506968629
3B11491862B871   TINA          GARZA                   ID          42084849186
3B1159A695B344   TERENCE       BAILEY                  OR          90014929069
3B115A7198B162   ARTURO        OCHOA SOTO              UT          90014160719
3B115A7375B555   EMILY         DENTON                  NM          90005310737
3B115A89872496   WAYNE         EUPSEY                  PA          90015520898
3B11614417B639   ESTELLE       JOHNSON                 GA          90008101441
3B11626868B162   LYLE          KINIKINI                UT          90006622686
3B116294577544   SERGIO        ROJAS NUNGARAY          NV          90015072945
3B11653158B166   MARIA         RAMIREZ                 UT          90008725315
3B116622A54165   BRENNA        JOHNSON                 OR          90014286220
3B117159A2B28B   VANESSA       GALANI                  DC          90010581590
3B11727752B871   REX           TEDESKI                 ID          90013512775
3B117458954165   CESAR         VASQUEZ GARCIA          OR          47094254589
3B11751614124B   GARY          SADAR                   PA          51041275161
3B11756347B449   JOHN          HOWARD                  NC          11046025634
3B1178A2155951   JOLENE        ESTRADA                 CA          90014748021
3B118126555949   GOILLERMINA   LOPEZ                   CA          90006591265
3B11813612B93B   RICHARD       GUDINO                  CA          90010661361
3B11817A85B141   LEZLI         DUKE                    AR          90011711708
3B11827755B393   KATO          KAVAPALU                OR          44538102775
3B11883872B87B   THOMAS        FREINWALD               ID          90014738387
3B119381372496   WENDY         GUZIK                   PA          90011963813
3B119395155972   JULISSA       CHAVEZ                  CA          48015953951
3B119523851369   SHEMIKA       REESE                   OH          90014705238
3B11954185B24B   VALANTINE     GOMEZ                   KY          90014605418
3B119598A91584   VERONICA      ALARCON                 TX          75035475980
3B11992525B156   EVA           PRADO                   AR          23067679252
3B11997725B52B   JOSE          NAJERA-CANO             NM          90003589772
3B11B464761963   LUCIA         HERNANDEZ               CA          90013604647
3B11B5AA79713B   COCO          SUMMERS                 OR          90013555007
3B11B612155951   JESUS         MANUEL MORENO           CA          49034516121
3B11B68258433B   JOVANI        CRUZ                    SC          90010736825
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3B11B811877544   JOSEPH       BIRCHILL                 NV          43050128118
3B11BAA868B166   STACIE       CONNELLY                 UT          31011410086
3B122346261963   RICK         JAMES                    CA          90000873462
3B12237898B166   AARON        BROWN                    UT          90015223789
3B12242A754165   NICOLE       MILLER                   OR          90015184207
3B1225A275B52B   ARIEL        ROMERO                   NM          90012775027
3B1229A8A8B16B   VANEGAS      POMPILIO                 UT          90006619080
3B12363245B344   MICHELLE     SMITH                    OR          90012486324
3B12396814B943   TANJANIKA    SIMPSON                  TX          90011529681
3B124281751339   CURTIS       SWORD                    OH          90003132817
3B124449572496   THOMAS       DUGGER                   PA          51014314495
3B124526493768   AMANDA       HAMBLIN                  OH          90013215264
3B12465A197127   FLAVIA       RODRIGUEZ AGUILAR        OR          44045306501
3B124718977544   JESSICA      ADAIR                    NV          90006937189
3B124778231424   RHONDA       ROBINSON                 MO          90014777782
3B12479152B87B   ESIQUIO      PALACIOS                 ID          90003037915
3B124A19447931   ANNA         BARRERA                  AR          90008890194
3B12582195B269   DONALD       LEE                      KY          68062548219
3B125946377544   SANTIAGO     CANALES MONTES           NV          90007169463
3B126116954165   CARLOS       CERVANTES                OR          90013151169
3B126237331424   QUINTIN      WINDHAM                  MO          90012502373
3B12693925B344   ALYSSA       FILAN                    OR          44511469392
3B12748A751369   LACEY        HUDSON                   OH          90013544807
3B12777A357153   CONSQULIA    DELEON                   VA          90000527703
3B12786715B156   CAROLYN      JARRET                   AR          90013348671
3B12822675598B   ABRAHAM      URIBE                    CA          90013982267
3B128688761963   MATTHEW      DAVIS                    CA          90003246887
3B128698341285   ERIN         KLUGH                    PA          90012456983
3B12875599713B   MAIRA        CASTILLO                 OR          90010047559
3B12897985B592   LUIS         CHAVEZ                   NM          90010439798
3B129396391584   CONCEPCION   TABOADA                  TX          90010503963
3B12945262B87B   SARAH        SUTTON                   ID          42013724526
3B129633A7B639   APRIL        SAVAGE                   GA          90013226330
3B129645441285   STEVEN       RETHAGE                  PA          51077686454
3B12964A54B943   MARIA        RODRIGUEZ                TX          90013006405
3B1298A262B93B   DENNIS       BOYLES                   CA          90012388026
3B129937A8B162   JOSE         GRANDA                   UT          90014179370
3B12B45632B87B   TIM          CRAWFORD                 ID          42091614563
3B12B794191368   MELISSA      WILD                     KS          90002667941
3B12B868291831   JAMES        MOORE                    OK          90007518682
3B12B911441285   MAYADA       AYOUB                    PA          51085579114
3B12B999441258   ARTURO       APONTE                   PA          90015149994
3B12BA73177539   BERNARDITA   GONZALEZ-CAMARGO         NV          90010610731
3B12BA7414B943   ALEXUS       RUFFIN                   TX          90014020741
3B13121332B93B   RYAN         LAL                      CA          90010662133
3B131259641277   MICHAEL      SMART                    PA          90014832596
3B1314AA836B77   TAMYRA       HOOPE                    UT          90013884008
3B131A99291356   MISTI        BRUCE                    KS          90014710992
3B132395255972   RAYMOND      ZAYAS                    CA          90013073952
3B1323AA391831   LISA         TUTER                    OK          90013683003
3B132511251369   AMBER        VICKERS                  OH          66031515112
3B1332A8472455   SUE          WARD                     PA          51096862084
3B133339555951   JORGE        SANTOYO                  CA          90012443395
3B13333965B156   JENNIFER     HARKENREADER             AR          90015193396
3B133622684368   WINSTON      FORRESTER                SC          90010776226
3B134187355951   TRACY        GONZALEZ                 CA          49062661873
3B13466732B835   SERGIO       LOPEZ                    ID          90012596673
3B13475988B166   Y            CUNAHAN                  UT          31076817598
3B134AA445B52B   MARIA        HOLGUIN                  NM          90008160044
3B135565741258   DAVID        VENTO                    PA          51021245657
3B135671691356   PATRICK      MOORE                    KS          29060546716
3B135968155972   DOMNIC       HARRIS                   CA          48004729681
3B135A67931424   PETER        ANDERSON                 MO          27587450679
3B135A86255949   KARLAMARIN   GALVAN                   CA          90013290862
3B136222541258   KAREN        THOMAS                   PA          51040882225
3B13633614124B   B            AMY / GILCHRIST          PA          51029173361
3B13637662B87B   MARK         OVERMAN                  ID          90010213766
3B136533A5B385   JEFFREY      FULPS                    OR          44598785330
3B13666629713B   ASHLEY       SMITH                    OR          90013556662
3B137112172B76   LUCIA        MARTINEZ                 CO          33080161121
3B137527451339   GINA         CONLEY                   OH          66053245274
3B13795555B281   CYNTHIA      BRITTON                  KY          90013959555
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3B137A33572B24   MIRIAM      ARAGON                    CO          33057930335
3B1381A2391831   WILMA       RIGGS                     OK          21041231023
3B138361A2B871   CLEVE       CHALCRAFT                 ID          90010453610
3B138387576B89   DELFINO     CUELLAR                   CA          90014443875
3B1385A9A7B449   LURENDA     CHAPMAN                   NC          11068955090
3B138862454165   HEIDI       BALL                      OR          47086528624
3B13893A47B639   TAKESIA     CUNNUNGHAM                GA          90013409304
3B13918315B52B   KYLE        CRAVENS                   NM          35063661831
3B13936A591584   MYRNA       SOTO                      TX          75082423605
3B139557A7B639   LATEVIA     SCOTT                     GA          90012385570
3B1397A6477522   RONALD      PEVNY                     NV          90007647064
3B139915377539   HITESH      PATEL                     NV          43004249153
3B139A51751339   CHRISTINA   BOWLING                   OH          90005800517
3B139AA8191356   OLIMPO      JUAREZ ALAVAREZ           MO          90013240081
3B13B31668B166   GUSTAVO     CONTRERAS RIVAS           UT          90010253166
3B13B32A52B93B   TIFFANY     WILLIAMS                  CA          90014513205
3B13B34258B167   MICHAEL     VALENZUELA                UT          90001823425
3B13B3A2951339   ALIYAH      MONTGOMERY                OH          90012683029
3B13B69275598B   ALBERT      HARVEY                    CA          90005626927
3B13B6A938B16B   KAREN       RIVERA                    UT          90015036093
3B13B876577539   MARIA       ROMERO                    NV          90014718765
3B141267291232   DAMION      MATADIN                   GA          90010102672
3B14127742B87B   NIKO        TRINADAD                  ID          90014812774
3B14148334124B   KELLY       HOLMES                    PA          90013064833
3B14148A355972   LUPE        ESTRADA                   CA          90011794803
3B141627672B76   JENNIFER    HERNANDEZ                 CO          33095136276
3B1418A165B281   WILLIAM     SMITH                     KY          68050588016
3B141918231424   DARYL       PEEBLES                   MO          90008499182
3B14233A841258   DIAMOND     WATTS                     PA          90012903308
3B143213141285   ROBERT      REIBER                    PA          51089352131
3B143455461963   PABLO       RUBALCABA                 CA          90013084554
3B14355A391584   ISREAL      HERNANDEZ                 TX          90005065503
3B14356787B471   JOHN        ACOSTA                    NC          90013305678
3B143669584368   BELLAMY     JERMAINE                  SC          90011106695
3B14369279713B   CHRIS       COLEMAN                   OR          90013556927
3B143A1518B16B   ANDREA      SORENSEN                  UT          31001400151
3B14432637B639   BRIANA      ADAMS                     GA          90013953263
3B14486A231424   MARLEN      JACKSON                   MO          90013118602
3B144884177539   ASHLEY      HAGAN                     NV          43097038841
3B144895661963   TONY        BENDER                    CA          90003248956
3B144A81A5B281   LETICIA     MARTINEZ                  KY          90012710810
3B14569279713B   CHRIS       COLEMAN                   OR          90013556927
3B14585359713B   TOI         POLK                      OR          90009318535
3B145863A72496   KIMBERLY    MILLER                    PA          51091708630
3B145874577539   JUAN        TAPIA-SANTIAGO            NV          90014378745
3B14588625598B   ESMERALDA   LOPEZ                     CA          90012288862
3B145A7362B835   DANIAL      GANGUL                    ID          90012210736
3B145A91A31424   AMBER       STEGALL                   MO          90012850910
3B14657635B252   MARCUS      CARNEY                    KY          90014545763
3B14666425B344   GILBERTO    ALVAREZ                   OR          90014986642
3B146685154165   BRANDI      AUSTIN                    OR          47027916851
3B146884177539   ASHLEY      HAGAN                     NV          43097038841
3B146A89957153   OK HYUN     YANG                      VA          90007020899
3B14711324124B   JOHNNY      BRAVO                     PA          90009261132
3B147244733665   ANGELA      STERLING                  NC          90008472447
3B14746445B344   GINO        ALFORD                    OR          90009664644
3B14754295B393   STEVEN      FAIRFIELD                 OR          90014815429
3B147635191831   MYSHIA      KELLY                     OK          90008956351
3B1477A974B943   ADRIANA     SOTO                      TX          90008557097
3B1477AA44B281   JERL        FORD                      NE          27046137004
3B14835A151369   DANIEL      O'BRIEN                   OH          90012323501
3B14861165B393   MATILDE     PEREZ                     OR          90013546116
3B1487A934B943   NICOLE      REID                      TX          90007647093
3B148AAA32B871   RACHAEL     ROSS                      ID          42036590003
3B149115476B89   DIEGO       ORTEGA                    CA          90012961154
3B14912492B93B   KARLA       ARDINES                   CA          90012421249
3B14917538B162   ARTURO      OCHOA SOTO                UT          90014161753
3B149241741277   MEREDITH    FRANCHER                  PA          90002002417
3B14936187B449   FRANKIE     HAZELWOOD                 NC          90014313618
3B1495A574B943   RACHEL      DAY                       TX          90012875057
3B149732331424   PAMELA      BRADY                     MO          90013927323
3B14981467753B   TERRI       HARRIS                    NV          90012728146
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3B149826555951   JUAN        ROMO                      CA          90014748265
3B14985745B52B   DAMIEN      SAAVENDRA                 NM          35035208574
3B149878973269   DAVID       WITT                      NJ          90014318789
3B149926A2B835   HAFSA       HARVARD                   ID          90001799260
3B14993A94B943   JUAN        OSEGUERA                  TX          90011969309
3B14B85117753B   TERREAN     MOORE                     NV          90012728511
3B151732A31424   MARIA       PINTOR                    MO          90013927320
3B151846141258   KAYLA       BASSETT                   PA          90013328461
3B152174272455   MICHAEL     EBERT                     PA          51098181742
3B1522A914124B   MICHELLE    JOHNSON                   PA          90012302091
3B152355376B89   DOMINIC     DURAN                     CA          46090603553
3B152433891537   LOENIDES    GONZALEZ                  NM          75014104338
3B152852655972   ZAIRA       CEJA                      CA          48073458526
3B152883155949   JOSE        HERNANDEZ                 CA          49086458831
3B1529A6191893   DEBORA      LIPFORD                   OK          21073659061
3B152A51741277   CYNTHIA     WOLFEE                    PA          51048370517
3B15318165598B   GLORIA      ORTIZ                     CA          49052981816
3B15324A154165   SUZANNE     LOPEZ                     OR          90015282401
3B15325525598B   BLANCA      LINARES                   CA          90013992552
3B153462747931   LONNIE      COPP                      AR          90014074627
3B15438112B835   NATE        SUEKEL                    ID          42042473811
3B154399391584   PATRICIA    HERNANDEZ                 TX          90010503993
3B154478776B89   STEVE       JUSTICE                   CA          90013934787
3B154684972B76   JUAN        URIOSTEGUI                CO          33066426849
3B15484212B28B   LEONARD     JOHNSON                   DC          90011748421
3B154853A55949   ANGELINA    CHAPPARO                  CA          90010158530
3B155125155981   KARLA       KESTING                   CA          90012691251
3B155368784368   OFELIO      HERNANDEZ                 SC          90004853687
3B155615A41285   THOMAS      SCHEIRER                  PA          90011496150
3B155AA9391831   MISTY       MARTIN                    OK          90007970093
3B15636618B162   ALEJANDRA   TORIN                     UT          31088933661
3B15644A97753B   CATHRON     PAST                      NV          43090054409
3B156454241285   JOHN        JAMES                     PA          90013044542
3B156A49291831   LIDDIE      DAVIS                     OK          90009180492
3B15712378B162   VAN         CELAYA                    UT          90000491237
3B157427455945   KATRINA     BOOS                      CA          90006464274
3B157457651339   ALTON       WYMBS                     OH          90007644576
3B15748A755951   ANA         JERICOFF                  CA          90011594807
3B157561255972   AERIEL      ABBOTT                    CA          48098185612
3B15756475B52B   JAYME       YAZZIE                    NM          35043615647
3B15757A773221   JENNY       SANCHEZ                   NJ          90015015707
3B157674A72455   REBECCA     DAVIS                     PA          90013176740
3B1576A3154165   TRAVIS      BRENNAN                   OR          47027136031
3B157743791831   CHARLOTTE   MAHON                     OK          90012377437
3B157AA6441258   JASON       KALB                      PA          90012200064
3B158126A72496   NELLIE      MEADOWS                   PA          90012701260
3B15843478B178   CARL        LARRACUENTE               UT          90010894347
3B15846412B87B   SAUL        PONCE                     ID          90012734641
3B158629451369   THEO        WINT                      OH          90014066294
3B15898289713B   SEAN        ANDERSON                  OR          90015049828
3B158A76791831   PAULA       BRIGGS                    OK          21029840767
3B159216A61963   ROLAND      PUNO                      CA          90011142160
3B15979895B156   PATRICIA    HOLLAND                   AR          90014157989
3B159973584368   EVA         AGUADO                    SC          90013419735
3B15B24A577539   JORGE       ESCALERA                  NV          90002822405
3B15B55A631424   PATSY       SINGLETON                 MO          27576485506
3B15B575251339   MICHAEL     SMALL WOOD                OH          90005985752
3B15BA4482B835   ROBERTO     HERNANDEZ-MARTINEZ        ID          42091580448
3B16149515B281   EDWARD      BOLIN                     KY          90014724951
3B161682341285   SHARON      BEYERLEIN                 PA          90013596823
3B161876176B89   GERMAN      GUZMAN                    CA          90008418761
3B1627A545B393   TAYLOR      FIEGI                     OR          90014277054
3B162913655972   LETICIA     LUPERCIO                  CA          48092959136
3B16326274124B   JUDITH      KENNEDY                   PA          51059712627
3B16334845B393   FRED        VOOS                      OR          90013673484
3B163396455951   CARLOS      SALSIDO GOMEZ             CA          90012023964
3B163929131424   AMANDA      PAYNE                     MO          27579429291
3B16395977753B   JAMIE       LAMBDIN                   NV          90012579597
3B163986861963   WILLIAM     JEFFERSON                 CA          90002539868
3B164118431424   JUDY        KENNEY                    MO          90015561184
3B16421425B393   CARMEN      CORTEZ                    OR          90000992142
3B164224451321   CRYSTAL     HOSKINS                   OH          90003102244
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3B16429793B352   CRYSTALLE     OVERSTREET              CO          90011552979
3B16442882B93B   STEFAN        LAMPREDA                CA          90012024288
3B164491397B39   CONSTANCIA    CORRAL                  CO          33028934913
3B1645A955B281   LOIS          SPRINKLES               KY          90011915095
3B164821841258   STEVE         KREMER                  PA          90011058218
3B164829655951   XIA           VANG                    CA          90014748296
3B164A8492B87B   JONI          HATTOY                  ID          42069050849
3B16522A984368   JOSE LIUS     MARTINEZ                SC          90014122209
3B16532235598B   JAZ           BROWNELL                CA          90015073223
3B165487A61474   JOSE          VENTURA                 OH          90009464870
3B1654A9492886   MICAEALA      VALDEZ                  AZ          90015494094
3B16594543B388   RITA          WILLIAMS                CO          33081539454
3B166597A4B943   LORRAINE      HERNANDEZ               TX          90013275970
3B16676869713B   RICHARD       KELLEY                  OR          90013557686
3B166A5195B344   WILLIAM       ETEAKI                  OR          90011410519
3B167127661963   JOANNA        GATELEY                 CA          90003771276
3B167143655957   LETICIA       ESPINDOLLA              CA          90009431436
3B16753112B93B   ADOLFO        SENA                    CA          90012705311
3B1677A1972496   VANESSA       VIDRO                   PA          90013587019
3B1677A8791356   ROSA          ROSAS                   KS          29056197087
3B16831185B359   FERN          WALKER                  OR          90007533118
3B168464761963   LUCIA         HERNANDEZ               CA          90013604647
3B16872225598B   ROBERT        GONZALES                CA          90006737222
3B16893475B281   VANESSA       GOLEMAN                 KY          90013929347
3B169144261963   LUCY          ALVARADO                CA          90012781442
3B169147454165   ROBERT        WRIGHT                  OR          90012331474
3B169554241277   KATE          WILLOUGHBY              PA          90010325542
3B169575976B89   ESPERANZA     NUNEZ                   CA          90014715759
3B169818672B24   JUAN          FLORES                  CO          90008608186
3B16B168477539   DION          STANLEY                 NV          90012691684
3B16B279951339   ERIN          MELTON                  OH          90013782799
3B16B47752B835   JUAN CARLOS   RUBIO GARCIA            ID          90007854775
3B16B498736B77   JIM           KERNS                   OR          90008604987
3B16BA4765598B   RIDGE         FLAUNTZ                 CA          49081800476
3B171266891356   CHARMAINE     LEWIS                   KS          90011372668
3B17127672B586   MARGARET      WILSON                  AL          90014712767
3B171385772B23   CRYSTAL       HASS                    CO          33030073857
3B17141372B871   ANA           BENAVIDES               ID          42072594137
3B171764476B89   RIGOBERTO     LICEA                   CA          90015157644
3B172155591232   SHANNON       BRUCE                   GA          14593521555
3B17234782B271   CATHERINE     JONES                   DC          90014363478
3B172676841285   ANGELITTA     FLOYD                   PA          90015166768
3B17297695B156   MONIQE        JOHSON                  AR          90005549769
3B172A8785B344   CURTIS        SMITH                   OR          44506180878
3B173236161963   ROBERT        EDGERTON                CA          90011142361
3B17336A851369   PHILIP        BOAKYE                  OH          90014943608
3B17357A957126   EMELIA        QUARM                   VA          81045585709
3B173965A77544   ABUNDIO       AVILA                   NV          90001759650
3B173A27A84368   JOSE          ARIAS                   SC          90012720270
3B174313851339   ALEX          WATERS                  OH          90003113138
3B17433645598B   CRYSTAL       MOBLEY                  CA          90012823364
3B17453538B16B   MALISA        HANEY                   UT          90013385353
3B174613755972   GREG          GUERRERO                CA          48025806137
3B17475885B281   CHARLES       ENSMINGER               KY          90012427588
3B17494A155972   HUGO          PONCE                   CA          90015109401
3B174A5635B393   SARAH         GNEITHNG                OR          90008160563
3B175497A47931   OSCAR         CENTENO                 AR          90012414970
3B175568477544   JOYCE         STROM                   NV          90008515684
3B175695554165   BENJAMIN      WILCOX                  OR          47001796955
3B175764A41258   DANIEL        AYERS                   PA          90013197640
3B175A6234B281   NORMA         BOECK                   NE          90013630623
3B17623874B54B   ESTHER        RICHTER                 OK          90015072387
3B17649815B156   FRANCISCO     QUINTANA                AR          23066984981
3B176822276B89   VANESSA       GARCIA                  CA          90014158222
3B176882A2B87B   JENNIFER      WATSON                  ID          42008088820
3B176A41351594   MOUK          RASAVONG                IA          90013940413
3B176A72176B61   GABRIELA      CONTRERAS               CA          90012690721
3B1771A327B449   VERNIA        BANKS                   NC          11005611032
3B177345991883   KRISTINA      BRAZELL                 OK          90014273459
3B17772874124B   BRITT         GREEN                   PA          90002337287
3B177731472496   ROBERT        DEAVER JR.              PA          51095917314
3B17779568B16B   KIEL          WHITNEY                 UT          90013377956
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3B17792425B281   VALONDA           TYSON               KY          90012719242
3B177A8912B255   KEVIN             HESTER              DC          90003410891
3B17811A951369   YOLANDA           BANKS               OH          90012091109
3B17822557B471   EDDY              FERNANDO            NC          11074502255
3B17833688B162   EDGAR             CONTRERAS           UT          90011053368
3B178853297153   ALVINA            SINGH               OR          90014928532
3B17897A27753B   ENRIQUE           NUNEZ               NV          43058209702
3B179158551369   JOSHUA            MCDANIELS           OH          90015061585
3B17937758B162   NANCY             ESPINOZA            UT          90014163775
3B179976441258   TAMMY             PAYNE               PA          90013939764
3B17B1A942B871   ROBERT            SMITH               ID          42003371094
3B17B544477544   RAFAEL            GONZALEZ            NV          43044945444
3B17B71615B156   LASHUANDA         MOORE               AR          23020067161
3B17B8A5491831   VINA              MOORE               OK          90013988054
3B17BAA2351339   TRAVIS            CAUDILL             OH          66000590023
3B181164231424   CASSIDY           LEWIS               MO          90013831642
3B181338372455   JOSEPH            HOFFMAN             PA          90013343383
3B181388261963   ROCIO             DOLORES GUZMAN      CA          90013413882
3B181853A55951   BRITTANY CHAPLE   CHATMON             CA          90014748530
3B181A8255598B   JACKIE            HERNANDEZ           CA          90011470825
3B18216875B344   FERNANDO          CABRERA             OR          44577871687
3B182289176B89   ANGELICA          GONZALES            CA          46071292891
3B182A79854165   ANDRADE           GARCIA              OR          90010040798
3B182A8A651594   RHONDA            KELLY               IA          90013940806
3B18339912B87B   DIANA             BUTLER              ID          42077603991
3B1833A947B43B   MONIQUE           ROBINSON            NC          11049493094
3B18351A35B344   FERNANDO          AGUIRRE             OR          44519475103
3B184537984368   SALVADOR          JUAREZ SANCHEZ      SC          90009195379
3B184564731424   PAMELA            BUTLER              MO          90015015647
3B184623741285   LEON              LINDA               PA          90014036237
3B1848A755598B   LYDIA             CASTILLO            CA          90013338075
3B18513327B639   MICHELLLE         BREWSTER            AL          90009511332
3B18556972B871   RAYMOND           SANCHEZ             ID          42009745697
3B185839155949   LYSA              HART                CA          49005408391
3B18588175B591   DANIEL            RYAN                NM          90013138817
3B1859A8A41285   JENNIFER          THOMAS              PA          90002869080
3B18611A172B24   TERESA            ALAS                CO          33016001101
3B186159151369   JEFF              JOURNELL            OH          90011001591
3B18719915B281   CASEY             STEWART             KY          90014711991
3B18719A831424   CINDY             SCHLERETH           MO          90013931908
3B187346672496   DONNA             REDD                PA          51025543466
3B18797532B835   DAVID             STACY               ID          90014559753
3B188677797127   RAMIRO            VASQUEZ             OR          90007476777
3B189249455959   FRANK             MAZZEI              CA          90010522494
3B189488131424   NICOLE            STAYTON             MO          27559994881
3B18983A68B16B   TIMOTHY           BIRCH               UT          90010228306
3B18994A755972   TYLER             LINTZ               CA          90013099407
3B18B146791356   DAN               KIRK                KS          90010981467
3B18B32355B393   GARARDO           GUTIERRAZ           OR          44556423235
3B18B74788B162   SHERRY            WILLSON             UT          90006477478
3B18B77AA57124   EDGAR             CRUZ HIDLAGO        VA          90006627700
3B18B98A454165   CRYSTAL           SCHMIDT             OR          90014859804
3B19127527753B   CHRISTIAN         ACUNA               NV          90010722752
3B19133555598B   ANDREA            MARTINEZ            CA          90006263355
3B19143318B162   MANUEL            HERNANDEZ           UT          90014164331
3B19159687B471   HABTU             RESOM               NC          90012505968
3B19214257B471   JAMAR             GOODWIN             NC          90013701425
3B19225237B471   NILA              EUSEBIO             NC          90009402523
3B19243734B562   CHRISTOPHER       COZENS              OK          90012574373
3B1926A4955951   MIGUEL            NUNEZ               CA          90006876049
3B19275825B52B   BOBBETTE          TRUJILLIO           NM          90013137582
3B19397432B28B   LARON             EBERHARDT           DC          90011749743
3B1939A477753B   PATRICIA          NGATA               NV          43089449047
3B194162A5598B   ANA               CORTEZ              CA          49094361620
3B194727141285   TRINITY           HARRISON            PA          51065537271
3B194752353B92   JANIS             RUGGIERO            CA          90014247523
3B194791241258   SHANNON           LEE                 PA          51061307912
3B194A18493768   JANEEN            GENSON              OH          90009040184
3B194A76355949   MARK              HOWARD              CA          49083610763
3B195212955951   PIEDAD            MALDONADO           CA          90012892129
3B195294251339   PAMELA            TYE                 OH          66089482942
3B195757954165   MICHAEL           NORRIS              OR          90014787579
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3B195953A76B89   ROMAN          CHAIDEZ PDILLA         CA          90014999530
3B195A29A93768   AMY            SHELEY                 OH          90009890290
3B195A5217B639   LAKENDRA       MENEFIELD              GA          90013930521
3B196432A55972   CHRISTIAN      MARTINEZ               CA          90008764320
3B196753A8B16B   DARIN          CAIN                   UT          90002427530
3B196871791584   ANGEL          ACUNA                  TX          90007208717
3B196876A2B871   DENESSA        NARTE                  ID          90013048760
3B1971A239713B   VICTOR         COLLI                  OR          90013561023
3B197213355921   ULYSSES        SEPULVEDA              CA          90010132133
3B197414884368   TAYLOR         COOPER                 SC          90010224148
3B197615777539   SALVADOR       JIMENEZ-HERNANDEZ      NV          90012956157
3B19771825B344   JASON          KLINE                  OR          44541297182
3B19782272B871   JOSE           LAGUNAS                ID          42086338227
3B198138A5B281   SHAWNA         VAUGHN                 KY          90014271380
3B198229A5598B   JESUS          MESINAS                CA          90012592290
3B1984A638B16B   MICHELLE       DUNHAM                 UT          90014244063
3B198795A8B162   KENNETH        WARREN                 UT          31045207950
3B1987A3872B76   NICOLE         RODCAY                 CO          90006947038
3B19893995B344   SENG           TURNG                  OR          90007749399
3B19898A14124B   BOBBI          SHOWALTER              PA          51064439801
3B199134833647   TONYA          ARNETTE                NC          90010631348
3B199146591356   MARISA         MORGAN                 KS          29031131465
3B19954152B835   CYNTHIA        STEWART                ID          90014625415
3B199589761963   NAZARET        MARTINEZ               CA          90014165897
3B199598155957   ADDISON        ARMWORTHY              CA          90009425981
3B19965832B835   CYNTHIA        STEWART                ID          42009976583
3B19B353841277   SARAYA         TURNER                 PA          90005543538
3B19B362A8B166   LATASHA        WHITAKER               UT          90015263620
3B19B45862B28B   BERHANU        TEKLU                  DC          90007854586
3B19B474A91831   BRYON S        FOX                    OK          90009124740
3B19B636784368   ORLANDO        ARIAS                  SC          14513706367
3B19B71AA5B344   RODNEY         WRIGHT                 OR          90013937100
3B19B733555949   CARMELA        VASQUEZ                CA          49058087335
3B19B749761963   JEFFREY        COOK                   CA          90012317497
3B19B864991584   LAURA          SANTOS                 TX          75034548649
3B19B9A378B162   JOSHUA         ALLRED                 UT          31042589037
3B1B1282654165   PAMELA         CURTIS                 OR          47051122826
3B1B183992B93B   JOSE           MADRIGAL               CA          90012268399
3B1B1AA288B162   RYAN           HAMILTON               UT          90014160028
3B1B21A2A51321   TIFFANY        DANIELLE               OH          90011411020
3B1B3341872496   BROCK          VASBINDER              PA          90002293418
3B1B349A855972   ANGELINA       BOOKER                 CA          90014904908
3B1B34A2391584   RICARDO        AGUILAR                TX          75061934023
3B1B3552872B76   ARTURO         VALDEZ                 CO          33013385528
3B1B3597A8B16B   DAN            ELLIOTT                UT          31003305970
3B1B3A68991831   MICHEL         DUDLEY                 OK          21084280689
3B1B4543A5B281   LATONYA        COLBERT                KY          90011105430
3B1B46A385B393   SCOTT          MALONE                 OR          44516736038
3B1B49A3777539   ERIC-ALBERTO   CASTRO                 NV          90013949037
3B1B5165155939   ELDA           ALVARADO               CA          90001461651
3B1B584375598B   CLARENCE       SMITH                  CA          90014668437
3B1B59AAA57126   CANDIDO        FUENTES                VA          90001009000
3B1B6222493768   ASHLEY         COKER                  OH          90015492224
3B1B6688255949   SAMMY          RAMIREZ                CA          90013486882
3B1B669A57B471   SHAYE          GOMILLION              NC          90015426905
3B1B6818447931   MELISSA        OCHOA                  AR          90013598184
3B1B686757B449   IVAN           HERNANDEZ              NC          90010498675
3B1B6A4928B162   SAMANTHA       SMITH                  UT          90014160492
3B1B726655B52B   CESAR          GRAJEDA                NM          90008712665
3B1B74A2941258   GLENN          FORD                   PA          90010464029
3B1B7658251339   CHRIS          MURRAY                 OH          90014906582
3B1B7A6AA5598B   DANA MARIE     HENSON                 CA          90014290600
3B1B8546671937   TODD           OWENS                  CO          90010355466
3B1B857A55B52B   JOSEPHINE      VALENCIA               NM          90014235705
3B1B8641891584   CECILLIA       FLORES                 TX          90011156418
3B1B8657472496   DEBRA          STEPANIK               PA          90013976574
3B1B8698954165   FRANK          HEMENWAY               OR          90012036989
3B1B8724777523   JOSE           VEJAR-BUSTOS           NV          90008127247
3B1B8A23155972   JOHN           WATSON                 CA          48084620231
3B1B913A655972   ERNIE          VALDEZ                 CA          90012771306
3B1B9259672B76   ELIZABETH      CABRAL                 CO          90002852596
3B1BB261172496   ASHLEY         LEE                    PA          51066052611
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3B1BB26177B476   LINA S            RODRIGUEZ           NC          11096672617
3B1BB76845B156   TANIESHA          WALKER              AR          23057647684
3B211139672496   MISTY             HUFFINE             PA          51098111396
3B21125315B393   ROQUE             VAZQUEZ             OR          90013902531
3B211332784368   PATRICIA          TOMLINSON           SC          90010103327
3B21137362B87B   GUILLERMO         ORTEGA-ROMAS        ID          90013963736
3B211751A51339   APRIL             MAHONE              OH          90010907510
3B211767191356   MICHAEL           BEDFORD             KS          29007837671
3B2117A7136B77   CLAUD             MCMILLANN           OR          90015297071
3B21256385B277   CHRIS             MCLENNAN            KY          68078615638
3B212735176B89   LAURA             JACKSON             CA          90011957351
3B21279444B943   TIMOTHY           BUTTS               TX          76584137944
3B21288414B943   MARION            PITRE               TX          90015378841
3B2128A5991831   TIAUNA            CARNES              OK          21082608059
3B213147161963   LUMA              TOMI                CA          90011161471
3B21325A172455   JESSICA           FUIZZOTTI           PA          51034312501
3B2134A855B344   KATHERINE MARIE   ELLIOTT             OR          90010664085
3B213566A5B393   SETH              RYLER               OR          90013285660
3B21377855B156   FRED              MARTIN              AR          23078747785
3B213A33641285   DEVON             POELLNITZ           PA          90014780336
3B213A9415B281   AMANDA            STARR               KY          68074830941
3B215243684368   PAYGO             IVR ACTIVATION      SC          90012552436
3B215542576B69   ANDRES            CORREA              CA          90015405425
3B21569654B943   DAVID             DE JESUS VELEZ      TX          90014086965
3B215A2A28B166   TERESA            ESQUIVEL            UT          90008330202
3B216219791584   MARICELA          MARROQUIN           TX          90014652197
3B21625A35136B   DARLENE           STEPHENS            OH          90012492503
3B2166AA97B639   ERNEST            POWELL              GA          90014446009
3B216841191584   MARICELA          MARROQUIN           TX          90007118411
3B21713A272496   COLBY             WATSON              PA          90014711302
3B21739778B16B   WILLIAM           SIMPSON             UT          90010813977
3B21752294B281   JUDE              KANGNOH             NE          90003745229
3B21752812B281   BERTA             MARTINEZ            DC          90007295281
3B217819A4B943   ANDREA            HARRISON            TX          90010248190
3B217894777544   TONYA             RUSSELL             NV          90001588947
3B21886A75B156   TARA              JOHNSON             AR          23067628607
3B21887A791356   JOSE              GUERRERO            KS          90011858707
3B2188AA88B16B   STEVEN            MORITZ              UT          90013588008
3B218934625632   PAYGO             IVR ACTIVATION      AL          90013999346
3B218972377544   JASON             FULLER              NV          90002829723
3B218981855972   KRISTINA          MARRUFFO            CA          90005049818
3B218A62A77539   SAM               BONNET              NV          90014320620
3B21913368B166   SUBRINA           BOEHLENDORF         UT          31006461336
3B219181355963   CONSUELO          FLORES              CA          90013801813
3B21927682B93B   VICTOR            GONSALEZ            CA          90014992768
3B219475472B24   ZABRINA           RODRIGUEZ           CO          33072734754
3B21948354124B   BASSAM            ALAAMARAH           PA          90013364835
3B21B16969713B   ALEJANDRO         SILVA               OR          90013561696
3B21B748A5B344   JANET             STEFFEN             OR          90008127480
3B221238A2B93B   SHAWN             SEHMALTZ            CA          90013272380
3B221A25351369   SHAWN             KNOTTS              OH          90013230253
3B22211518B162   ANTHONY           SUMNER              UT          90015111151
3B22257772B93B   CASON             YAGER               CA          90015105777
3B22275125B281   VICTORIA          COLE                KY          90014007512
3B22275647B639   LYNETRIA          CARNES              GA          90015127564
3B222794A5B156   TIMOTHY           MIXON               AR          23015967940
3B22288475598B   NATALIE           VARGAS              CA          90014208847
3B2231A5593768   TYLER             LEHR                OH          90014571055
3B22338A572B24   CONSUELO          GARCIA              CO          90006463805
3B2235A535B344   SARAH             REARDON             OR          90011225053
3B223662177544   LILIA             HERNANDEZ           NV          43034826621
3B223749255972   MIGUEL            HERNANDEZ           CA          90013077492
3B224251957153   JUAN              HERRERA             VA          90008842519
3B224262177544   ERICA             RIBAS               NV          43071942621
3B224343572496   DIANE             PLETCHER            PA          90012923435
3B224789984368   DELFINO           CHAVEZ              SC          90007627899
3B224988331969   JALLY             GRAND               IA          90014669883
3B22514957B471   SHANITA           WILLIAMS            NC          90008101495
3B22545894B943   RUBEN             TINOCO              TX          90014444589
3B2254AA291356   TAYLOR MARIE      KUDRON              KS          90014224002
3B225645155972   MONICA            LEGASPI             CA          48008386451
3B22567344B943   FAY               HINES               TX          90012876734
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3B226466261962   JOANN           MATLOCK               CA          90001494662
3B22649537B639   GORDON          DAVENPORT             GA          90014804953
3B226795451578   ROBERT          FREEMAN               IA          90011347954
3B22735912B871   ERICA           PURCELL               ID          90014873591
3B227359451326   BRANDI          SANDERS               OH          66002723594
3B22774217B639   KATHRINE        HARRIS                GA          15030737421
3B227756451369   PATRICIA        WALTON                OH          90013337564
3B227814293768   SHEILA          BECK                  OH          64574678142
3B22784A522422   HORACIO         REYES                  IL         90015428405
3B227881855951   CRYSTAL         VILDOSOLA             CA          90014748818
3B22818192B93B   JAMIE           HANKERSON             CA          90014141819
3B228214231424   SHINITA         KING                  MO          90013932142
3B228455291587   ESDENIA         MARTINEZ              TX          75040324552
3B228514354165   ROGER           POLLICK               OR          47011315143
3B228844651339   JONATHAN        BROWN                 OH          66041418446
3B22885155B393   VICTOR          EAGLE                 OR          90011098515
3B2289A774B943   KELLY           BLANCO                TX          76542339077
3B229735A77539   JOSE            AYALA                 NV          43086917350
3B229737A4B943   ZAIRA           HERNANDEZ             TX          90014177370
3B229855672B24   FEDERICO        CONCHA                CO          33004358556
3B229A8118B162   SARAH           NOVOTNE               UT          90015040811
3B22B674154165   ANNETTE         COLLINS               OR          90009746741
3B22B721184368   DENISE          MILLER                SC          90014227211
3B22B83385B264   WILLIAM F       ROCHESTER             KY          68093078338
3B231941224B41   NICOLE          FITZHUGH              DC          90002529412
3B232191155949   PEDRO           MARTINEZ              CA          90009151911
3B23241AA7B449   VALERIE         HOLLINS               NC          11038864100
3B2326A1731424   TAILEBAH        MCCRAY                MO          90002276017
3B2327A735B156   MARY            WEBSTER               AR          90014327073
3B23293968B16B   KASEY RONNIE    ARELLANO              UT          90005729396
3B232A4677753B   KIMBERLY        WILSON                NV          43089700467
3B2331A2593768   KELLIE          LAWSON                OH          90009591025
3B23367A17B449   STACEY          ENOCH                 NC          11024246701
3B233986531424   ANDREA          KAISER                MO          90013119865
3B233A53A72B35   LISA            FLICKINGER            CO          33009300530
3B23422442B87B   HEIDI           LANDA                 ID          90012752244
3B234495172496   JASON           SHAFFER               PA          51039294951
3B234741576B89   LAUREANA        JIJON                 CA          46093507415
3B23528538B178   MICHELLE        PEREZ                 UT          90002982853
3B235442876B89   LAUREN          FIELSTRE              CA          46071534428
3B23599A37737B   JAMES           BAITY                  IL         90015489903
3B23617915B393   JENNAH          FAWVER                OR          90011961791
3B236461455972   MIGUEL          MORENO                CA          90013414614
3B236869851369   MIESHA          MOORE                 OH          90006118698
3B23725A25B389   CHAD            DALY                  OR          90005142502
3B23727733B352   LORIE           AUSTIN                CO          90005592773
3B237284191537   LETICIA         SALDIVAR              NM          90010952841
3B237439291584   OSCAR E         MADRID                TX          90010504392
3B23788112B871   EMILY           MATTHEWS              ID          90013408811
3B2381A9155951   JOSE            GOMEZ                 CA          49007381091
3B23823275B52B   ARLENE          OTERO                 NM          90011492327
3B23825852B87B   CLINT           WALBURN               ID          90012962585
3B238512551339   MANUEL          BERROA                OH          90012655125
3B23866627B449   YOLANDA         MCMILLAN              NC          90006556662
3B23892368B16B   PETER           COOK                  UT          31050129236
3B239399747931   MICHELLE        LOPEZ                 AR          90012113997
3B23955725598B   FRANCISCO       VENEGAS               CA          90012745572
3B239839784368   JANNYFER        BENITES               SC          90015218397
3B239A43591584   PRNNA           ROSA                  TX          90009880435
3B23B27828B162   KEVIN           COOK                  UT          31019052782
3B23B357A41258   RYAN            PLATT                 PA          90011783570
3B23B6A838B16B   APRIL           SPRUILL               UT          90006286083
3B23B93595B281   DRESEAN         JOHNSON               KY          90013929359
3B23B99A45B393   AMIR            SADOOLI               OR          90000579904
3B241376593768   YULIA           WARE                  OH          90003853765
3B24148A89713B   MARIA           GARCIA                OR          90013564808
3B24173435B393   GINAI           LOCKHART              OR          90014287343
3B241A67891356   LAURI           SPURLOCK              MO          90012670678
3B24213445B52B   RUBEN           CDEBACA               NM          90012251344
3B242147A55972   GRACIELA        GARZA                 CA          90011471470
3B242638231424   CANO            MARTIN                MO          90000246382
3B242644955951   JOSE HUMBERTO   GORDILLO              CA          90008776449
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1856 of 2500


3B242715A4B943   MARIA         RAMIREZ                 TX          90012877150
3B24274A95598B   RUBY          HOLGUIN                 CA          90014927409
3B24279572B835   JOHN          HEWITT                  ID          90014387957
3B24283A78B16B   TOSHIA        NICCOLLE                UT          90011148307
3B242997155951   JANET         RENTERIA                CA          90011849971
3B242A3534B281   BRANDY        GUARINO                 NE          27054250353
3B242A9687B471   ISELA         V GUVMAN                NC          11047690968
3B24378585B592   JON           BOULDIN                 NM          90012837858
3B243846A84368   ANSELMO       CALLEJAS                SC          90013348460
3B24387A851369   KATELYN       KALLICK                 OH          90014908708
3B243997155951   JANET         RENTERIA                CA          90011849971
3B243AAA44B943   TIMOTHY       PEAKE                   TX          76505920004
3B24478282B87B   TARA          HILL                    ID          42031677828
3B244A26176B89   JEROMINO      CARRILLO                CA          46055330261
3B244A5149155B   SABINA        ESPARZA                 TX          90013780514
3B245326A51339   SABAH         IQBAL                   OH          90012493260
3B24535139713B   BRIE          MOORE                   OR          90013043513
3B245457755949   OMAR          LOPEZ                   CA          90012824577
3B245669A76B89   JIM           PROBST                  CA          90014586690
3B24596A25B393   AARON         SELHORST                OR          90009209602
3B246125476B89   SAN AGUSTIN   JACOBO                  CA          90003021254
3B246165691869   LEE           ASHLOCK                 OK          21034591656
3B2462A635B52B   RENITA        NOLAN                   NM          35086082063
3B246438791587   MARTA         ACOSTA                  TX          90001214387
3B24683185B281   MICHELLE      MATTINGLY               KY          90012958318
3B246A4592B93B   CARLOS        VARGAS                  CA          90013110459
3B247213451369   JAMES         LAIDLAW                 OH          90012132134
3B247372457153   DAYBY         GUARDADO                VA          90007103724
3B24739478B162   ZACHARY       MARSH                   UT          90001333947
3B24768357B639   BRANDI        LOVEGROVE               GA          90014596835
3B24788292B87B   BRANDON       TABER                   ID          90006398829
3B248732741277   EMELDA        JARRETT                 PA          51047827327
3B248961561963   MARIA         ESPINOZA                CA          90009869615
3B248965155951   ALFRED        MEJIA                   CA          49061489651
3B2489A217B639   FREDDY        NUFF                    GA          90005109021
3B249699A77544   JUAN CARLOS   LOPEZ                   NV          90011776990
3B24989917B639   SHERRY        PACHECO                 GA          15046328991
3B249A41755949   ANTONIO       LARA                    CA          90012590417
3B24B144161963   YENIFER       GARCIA                  CA          90006161441
3B24B31355B344   KITANA        HAWKINS                 OR          90012113135
3B24B3A514124B   JACKIE        STEWART                 PA          51092533051
3B24B421755972   JOSEPH        CORBIN                  CA          90013974217
3B24B55114B943   TAMEKA        HOOD                    TX          90011495511
3B24B656672B24   CRISTINA      JIMENEZ                 CO          33082906566
3B24B997155951   JANET         RENTERIA                CA          90011849971
3B24B9A477B471   OSCAR         LARA                    NC          90010279047
3B25188A651339   CALVIN        DAVIS                   OH          90007618806
3B252654891831   DAPHNEY       BENTON                  OK          90013786548
3B252931A77539   SONJIA        MACK                    NV          90007489310
3B252AA6947931   LORI          COLLINS                 AR          90014800069
3B25343947753B   JEANNE        SAUCEDO                 NV          90013774394
3B254129155949   DAVID         GOMEZ                   CA          90007711291
3B254413155951   RUBY          ESCAMILLA               CA          49067854131
3B25442255B156   MONICA        ANDREWS                 AR          90005984225
3B25486442B93B   PEDRO         VALDOVINOS              CA          90014898644
3B254982872496   THEODORE L    FARRIER JR              PA          90010679828
3B25536329713B   CECILIA       VALDIVIA                OR          90004213632
3B25557A155972   LUIS F        TORRES                  CA          90002445701
3B256255777539   LUKE          HARVEY                  NV          90000872557
3B256339A5B344   LISA          LARGENT                 OR          90010993390
3B257167451339   ROBERT        HULLIS                  OH          90014091674
3B25769744B281   JAMES         FICKE                   NE          90013926974
3B25783864B943   BIANA         CASTRO                  TX          90014968386
3B258315155994   ALEJANDRO     ROJAS                   CA          90002193151
3B25881137B449   LATARA        BOLDEN                  NC          11063538113
3B259218891356   ERICA         GOODWIN                 KS          29007862188
3B259316931424   ALLEN         DOWDY                   MO          90014933169
3B259431191893   WILLIAM       MENDOZA                 OK          21001704311
3B259489651339   KENNETH       MILLER                  OH          66070214896
3B25951865B281   SHANNON       SUTTON                  KY          90010125186
3B25991167B471   SINDIA        ORTIZ                   NC          90007379116
3B259997A8B162   CHANCE        STEVENSON               UT          90002369970
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3B25B337A72455   ALEXIS        KUHN                    PA          51029503370
3B25B446541277   REGIS         WALLACE                 PA          51035764465
3B25B494861963   RACHEL        QUILLIN                 CA          46057664948
3B25B91A44B943   JOSE          DELUNA                  TX          90012889104
3B25B9A179713B   MICHELLE      FOLEY                   OR          90009429017
3B25BA62341285   BILL          COCHRAN                 PA          51027260623
3B261546431424   PRECIOUS      MACKLIN                 MO          90014015464
3B261698192859   PAIGE         REA                     AZ          90013786981
3B26169877B639   TYNESHA       ZIMON                   GA          90011436987
3B261951555951   JANELY        GONZALEZ                CA          90010929515
3B26219972B871   SARAHI        IBARRA                  ID          90015061997
3B262376891584   PERLA         HERNANDEZ               TX          90011623768
3B26248778B16B   CANDACE       MORALES                 UT          90011074877
3B262861376B89   MATGARITA     CONTRERAS               CA          90012888613
3B262936131424   CIARA         BROOKS                  MO          90011769361
3B26293AA55951   ADELAIDA      CRUZ                    CA          90014749300
3B26314672B28B   NIYA          ROGERS                  DC          90004751467
3B263176976B89   ANTONIO       MANRIQUEZ               CA          90014901769
3B263788A4B281   SHYNIRA       BELL                    NE          90013837880
3B263882761963   LEEANN        MILLER                  CA          90009898827
3B26388432B87B   PETER         WILSON                  ID          90002318843
3B263931455951   TATIANA       MOISEYCHIK              CA          90013049314
3B263A8A74124B   AIMEE         HERNANDEZ               PA          90014260807
3B26452123B352   JENNIFER      SANCHEZ                 CO          90003475212
3B264758A7B43B   YOUSEPH       IDRISS                  NC          90007137580
3B26482264124B   JOSE          MARTINEZ                PA          51081848226
3B264931A77539   SONJIA        MACK                    NV          90007489310
3B264A75331424   MARLO         JOHNSON                 MO          90008200753
3B26526232B871   JASON         KENNETH                 ID          90013262623
3B26552A691831   UNKNOWN       UNKNOWN                 OK          21014705206
3B265628257153   MAXI          ORDONEZ                 VA          90007106282
3B26564124124B   TONY          RILEY                   PA          90013936412
3B265873A5B156   RODNEY        RICE                    AR          23002748730
3B2665A3155949   HOSEIN        SALA                    CA          49013965031
3B26678138B162   CHRISTOPHER   SCHOW                   UT          90014167813
3B266864291356   LISA          KILGLRE                 KS          90015308642
3B2668AAA5B156   TAMARA        NATION                  AR          90014548000
3B266A5355B393   JAIME         LOPEZ                   OR          90001800535
3B26718292B835   AMANDA        BENITES                 ID          90002201829
3B267314A7B366   JOSE          CASTRO                  VA          81015753140
3B26742795B52B   JANETH        BAEZA AVILA             NM          90013004279
3B26745A751369   TAMMY         DAY                     OH          90000414507
3B267A13772496   JUSTIN        AHLBORN                 PA          90013360137
3B268251155957   RICHARD       AGUIRRE                 CA          49003762511
3B26897158B16B   BRICE         CHISHOLM                UT          90013959715
3B269759A8B16B   BEN           FULTON                  UT          90012247590
3B26B25185B156   LINDA         ROLLINS                 AR          90009632518
3B26B572672455   JOSEPH        HEIDKAMP                PA          90014865726
3B27174445B281   TRACY         COTTLE                  KY          90011877444
3B271871951339   BRAD          ROBINSON                OH          90007388719
3B27192715B52B   ANGELA        HERRERA                 NM          90012899271
3B2721A5A4B281   CHRIS         HIKE                    NE          27078291050
3B272492151339   MELINDA       SEARS                   OH          90009604921
3B272785231424   ATHONY        MILLS                   MO          90009407852
3B272A2525B393   JAMES         CLARK JR.               OR          44549240252
3B272A5762B93B   ADRIANA       LOPEZ                   CA          90004700576
3B272AA5254165   MARISSA       LYNNE NELSEN            OR          47051180052
3B27334524B943   ADRIAN        CHARLOT                 TX          90014413452
3B27382215B93B   LUCIZ         GUZMAN                  WA          90014288221
3B27412457B43B   ATILLO        JARQUIN                 NC          90003571245
3B27478138B162   CHRISTOPHER   SCHOW                   UT          90014167813
3B274A65955972   ESTEVAN       GOMEZ                   CA          90015220659
3B27518844B281   RICH          PEARCE                  IA          90010481884
3B275329972496   COURTNEY      FRANCIS                 PA          51003993299
3B275337641277   JANE          ZAGAL                   PA          51007043376
3B275387377539   GREG          PRUDHOM                 NV          90002833873
3B275424A61963   SILVIA        FIGUEROA                CA          90009894240
3B27556935B393   BILL          DARBY                   OR          90011115693
3B27566652B871   SHAUNA        FACKLER                 ID          90012126665
3B276491261963   MICHELLE      TOMLINSON               CA          90002534912
3B27652768B16B   DOLORES       MITCHELL                UT          31032805276
3B276778155951   VANESSA       BARNETT                 CA          90010957781
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3B2767A2855972   MARY                GWINN             CA          90014947028
3B276864255921   CHRISTINE           LAPLACA           CA          90010138642
3B27727697B449   GREGORY             MARIN             NC          11030712769
3B27753295B281   KATHY               CAREY             KY          90012585329
3B27759818B16B   JASON               GOODRUM           UT          31024185981
3B2776A217B471   SHAUNA              COPELAND          NC          90014756021
3B27776632B871   ELI                 TORRES            ID          90015047663
3B277952372B24   MATTHEW             HAWARTH HALL      CO          33088559523
3B278633391584   MARIBEL             VASQUEZ           TX          90004916333
3B278716291831   TIMOTHY             SMITH             OK          90009487162
3B2787A772B835   AMBER               KEEN              ID          90011947077
3B27882354B943   LUKE ANTHONY        ROY               TX          90011188235
3B278899A2B93B   RAYMOND             HOLGUIN           CA          90008438990
3B278AA6172B76   NESTOR              AGUILLON          CO          33047190061
3B27918959156B   ALEXANDRIA          HERNANDEZ         TX          90008741895
3B279427447931   LEILA               GREENLEE          AR          90014774274
3B27944394B943   ASJAH               BOYD              TX          90013034439
3B279722A8B166   JOHN                MEZA              UT          90010307220
3B279849261963   JAMES               PARKINSON         CA          90015018492
3B279A78751369   ANN                 TIEMEYER          OH          90013230787
3B279A83A55972   YADIRA              MEDINA            CA          90012940830
3B27B218141277   CARLEY              SANTA             PA          51053902181
3B27B26AA5B393   JUSTA DEL ROSARIO   MEJA LOPEZ        OR          90013312600
3B27B289351339   ALISSA              WILSON            OH          90014662893
3B27B491A2B93B   MERCEDES            TENORIO           CA          90013094910
3B27B559972B76   KAILA               DYE               CO          33015965599
3B27B72558B166   BROOKE              ELDER             UT          90010917255
3B27B962877544   ARTEMIO             FELIX             NV          90001269628
3B281117131424   TIN                 JONES             MO          90013121171
3B281298655972   TREASA              TREDWELL          CA          90013452986
3B28131598B16B   ANTHONY             JONES             UT          90002663159
3B28155262B871   CURTIS              KOVICK            ID          42018185526
3B281558893768   CONSUELLA           CLARK             OH          90015085588
3B28169352B87B   JAMIE               GASSETT           ID          90012696935
3B28259AA5B52B   ALEXANDRIA          CHAVEZ            NM          90011315900
3B28285238B162   CARLOS              URESTI            UT          90014168523
3B283368A5B156   TARA                HORNES            AR          23066463680
3B283427447931   LEILA               GREENLEE          AR          90014774274
3B28373A755972   JEFF                RABE              CA          90014827307
3B284184355957   ALVARO              MARTINEZ          CA          90009431843
3B284265255951   DELORES             GUZMAN            CA          90010042652
3B284374A9713B   MEGAN               MURPHY            OR          90009433740
3B28446137753B   JUNIOR              WALKER            NV          43009904613
3B284482A5B593   PETE                SANDOVAL          NM          35064104820
3B284498491831   DANIELLE            FARRIS            OK          90013814984
3B284547491356   MARIA               GOMEZ             KS          90004185474
3B28492445B281   DOMINIQUE           CASARES           KY          90012719244
3B284947672B24   SHEMEKIA            JONES             CO          90007269476
3B28531612B87B   RICHARD             ROUYAS            ID          90000643161
3B2854A2A61963   MITCHELL            FLORES            CA          90011184020
3B285A93777544   KENDRA              ROLOFSON          NV          43063820937
3B286541654165   APRIL               WILLIAMS          OR          90007825416
3B286774177539   TIMOTHY J.          MCDONALD          NV          43091047741
3B286A23341258   TAMMY               RAINEY            PA          51044840233
3B287281A7B43B   TARIE               WHITE             NC          11049142810
3B28753217B449   SHANOIQUE           MCCORMICK         NC          90011355321
3B287611A5B344   EDITHA              ALBERTO           OR          44536196110
3B287629777544   JELISA              KNIGHT            NV          43000076297
3B28785414B943   KENNETH             TRAHAN            TX          90000968541
3B288147961963   CHARLES             MCCARRELL         CA          90014721479
3B288593736B77   VERA                MINKO             OR          90008555937
3B28867598B162   HUGO                LOPEZ             UT          90008756759
3B288AAA541258   MICHEAL             GRANDE            PA          90013940005
3B2893A5451369   HANNAH              PUCKETT           OH          90014583054
3B28942A25B344   JAMIE               TRACY             OR          44558934202
3B289627641285   NIWAS               KATEL             PA          90012696276
3B289996477539   JEFFREY             J HEALION         NV          90009129964
3B28B1A1A91356   TAMIKA              AKINS             KS          90010971010
3B28B3A952B871   EDGAR               VARGAS            ID          90013953095
3B28B63195B393   NATHAN              DUNLOP            OR          90015156319
3B28B78438B162   PAUL                CEDENO            UT          90014167843
3B28B81447753B   CRUZ                CISNEROS          NV          90013428144
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3B28B964151369   CINDY       PENNINGTON                OH          90008299641
3B28B974351339   STEVE       MONK JR                   OH          66009329743
3B29129158B16B   ILIANA      CENDEJAS                  UT          90003582915
3B29131A376B89   JOSEPHINE   LEAANA                    CA          90014203103
3B291781854165   KELSIE      ANDERSON                  OR          90013857818
3B291969251369   TIARA       JACKSON                   OH          90011289692
3B292462747931   LONNIE      COPP                      AR          90014074627
3B29271A377544   MARIA       COLATO                    NV          43097647103
3B292831172B24   BELINDA     JARAMILLO                 CO          33043258311
3B292AA738B16B   AMANDA      WHEELWRITGHT              UT          31000890073
3B293181654165   FLOCK       MICHAEL                   OR          90008151816
3B29332535B344   MANUEL      ROJAS RODRIGUEZ           OR          90011503253
3B293564355951   MARTIN      GONZALEZ                  CA          90011595643
3B29397912B835   MARIA       CORTES                    ID          42075029791
3B293A73177539   MIGUEL      NAVA                      NV          90011700731
3B294263A91356   GREG        SMITH                     KS          90015022630
3B29439797B639   ANDREW      CULP                      GA          90011103979
3B2944A2177544   NICOLAS     GIL                       NV          90014694021
3B294759136B77   JENISE      BRAULT                    OR          44537447591
3B29488815B281   ELLIS       INEZ                      KY          90008618881
3B294895131639   MIGUEL      ACOSTA                    KS          22017108951
3B2949A4355949   OSCAR       ZINTZUN                   CA          90011909043
3B29513438B162   JEFFERY     WOOD                      UT          90004281343
3B29539A441285   JACOB       ELLISOR                   PA          90014613904
3B29546128B16B   SUSANNE     SCOTT                     UT          90012254612
3B29558A891584   ALFONSO     VALDEZ                    TX          75095025808
3B295A47677539   JOHN        WEST                      NV          90013950476
3B2963A439713B   CARLOS      PEREZ                     OR          44566463043
3B296417A41277   CARMINE     BELLINI III               PA          51093744170
3B297471691831   GAYLE       RUIZ                      OK          90014104716
3B29792465B52B   MOISES      ABARCA                    NM          90012629246
3B297966541258   CHADIERA    HOLYFIELD                 PA          90009149665
3B298115472B24   URSULA      ARAGON                    CO          90007041154
3B2981AAA77539   IVETTE      MOLINA                    NV          90005051000
3B29848778B16B   CANDACE     MORALES                   UT          90011074877
3B29858995598B   PHILLIP     MARTINEZ                  CA          49008405899
3B298645976B89   CLARE       ORTEGA                    CA          90010256459
3B298A12393768   DANIEL      BROWN                     OH          90015120123
3B29B33A25B344   RONDI       HOLLOWAY                  OR          90010423302
3B29B37174B281   JESSE       RICKARD                   NE          90014713717
3B29B853A54165   BLAINE      SOUTHERN                  OR          90011838530
3B29BA42855949   MARGARITA   JAMESON                   CA          90007310428
3B2B125797B639   JULIO       HERNANDEZ                 GA          90010702579
3B2B1295A91356   JOSE        SANCHEZ                   KS          90007632950
3B2B1335247931   JOBY        MATAUTO                   AR          90011053352
3B2B174764B943   SHIRLEY     HARRISON                  TX          90013307476
3B2B189255B393   MICHAEL     BARLOCKER                 OR          44571718925
3B2B1994261963   ALFREDO     CORRAL                    CA          46064139942
3B2B226495B281   ALBERTO     MAZALLEGOS                KY          90006912649
3B2B229365B156   SADE        RAINEY                    AR          90013202936
3B2B279A84124B   STEPHANIE   QUIQGLEY                  PA          51054427908
3B2B28A844B281   ANNETTE     MACE                      IA          27080228084
3B2B2999191232   MICHAEL     COBB                      GA          14594969991
3B2B318868B166   ALEJANDRO   BRITO                     UT          90007491886
3B2B3214591356   EVANS       JAMEL                     KS          90012552145
3B2B3464772B31   BEVERLY     SUAZO                     CO          33016184647
3B2B34A4372B76   JUANPABLO   MUNOZ                     CO          33073284043
3B2B3597141285   TRACEY      SOBECK                    PA          51095305971
3B2B3762361963   LISA        HOWELL                    CA          90013537623
3B2B3A1515B156   HOMER       LANE                      AR          23003530151
3B2B414A377544   MIGUEL      GONZALEZ                  NV          90014451403
3B2B4415A93768   MARCIA      COOK                      OH          90014244150
3B2B4554891881   RUBEN       HURTADO                   OK          90012965548
3B2B464328B16B   AMANDA      GARDINER                  UT          90010126432
3B2B466A177539   JULIANNE    MCBRIDE                   NV          43076146601
3B2B4684191356   FLORA       RODRIGUEZ                 KS          90012136841
3B2B4689772B34   JESSICA     SCHROEDER                 CO          90008026897
3B2B5192154165   ANN         STORY                     OR          90015231921
3B2B5477684368   LUCITA      VELASQUEZ                 SC          14535194776
3B2B579872B28B   ERIKA       EVANS                     DC          90001047987
3B2B586754124B   WAYNE       JORDAN                    PA          51016628675
3B2B5A51977544   PENNY       FULLER                    NV          90005070519
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3B2B611565B393   CARMEN        YOUNG                   OR          90001061156
3B2B623148B162   HEIDI         SNOW                    UT          31095182314
3B2B6255777544   MA ANGELIC    VARGAS MURILLO          NV          43089772557
3B2B6684A5B344   DANIELLE      MATTHEWS                OR          90014886840
3B2B696175598B   ASHLEY        SMITH                   CA          90002029617
3B2B6A89261963   JESUS         FIGUEROA                CA          90009640892
3B2B728465B156   ANTHONY       PHILLIPS                AR          23031952846
3B2B751828B162   ETHAN         DALEY                   UT          90014165182
3B2B7579681667   CARLOS        CORONEL                 KS          29071205796
3B2B7585991831   MELISSA       NEAL                    OK          21023575859
3B2B7714731424   TANISHA       PARIS                   MO          90015337147
3B2B78AA92B87B   MARK          WINTERSELD              ID          90013458009
3B2B7973A5598B   MIGUEL        CARDENAS                CA          49067939730
3B2B8166791831   LEWANDA       AMOS                    OK          90005591667
3B2B838A372B24   MARIA         DOLORES CHAVEZ          CO          90006463803
3B2B8558651369   KAMESHA       TALLEY                  OH          66025855586
3B2B8563793633   MARVIN        YATES                   TX          71093795637
3B2B867555B52B   BERNADETTE    VIGIL                   NM          90012406755
3B2B86A9772496   MEGAN         HIXSON                  PA          90014466097
3B2B8A76177539   AURA          JIMENEZ                 NV          43076380761
3B2B911364124B   TERRANCE      HOLZWARTH               PA          90006331136
3B2B9117655972   ARTURO        GOMEZ                   CA          48003601176
3B2B923247B639   TAMIKA        DRAKE                   GA          90013002324
3B2B9324991584   DANIEL        FLORES                  TX          75083453249
3B2B9777254165   JOHN          HARANGOZO               OR          90010017772
3B2B996167B449   JILL          PARRIS                  NC          90010529616
3B2BB27A52B87B   JACOBI        POOR                    ID          90013932705
3B2BB288155972   MARIO         DIAZ                    CA          90015592881
3B2BB39797B639   GREGORY       WILLIS                  GA          15066873979
3B2BB65AA4B943   MYUNIQUE      COLLINS                 TX          90012876500
3B2BB755455951   DANNA         LEE                     CA          90009427554
3B2BB845A77544   JONATHAN      PADILLA-SAUCEDO         NV          90013938450
3B2BB967591356   STEVEY        RAMSAY                  MO          29006389675
3B311138947931   DALTON        STOUT                   AR          25094151389
3B311366991356   MARIA         GUERRA                  KS          90012583669
3B31136875B393   BILL          BABCOCK                 OR          44515013687
3B31178346194B   ANIBAL        PEREZ-ZUNUN             CA          90001627834
3B31196315B156   JORDAN        HARRIS                  AR          90012019631
3B31211975B393   PATRICIA      BASS                    OR          44568371197
3B31221375B281   EMILY         BURKS                   KY          90013772137
3B3126A1291831   ESTHER        LUNSFORD                OK          90002836012
3B31287875B592   ROMERO        ILBERT                  NM          90013798787
3B312AA8241277   RONALD        BERRY                   PA          90013080082
3B313211993768   CHRIS         JONES                   OH          90014632119
3B313328191356   ROGER         WILCOXEN                KS          90008833281
3B31342365598B   TARINA        RODRIGUEZ               CA          90013504236
3B31383144B943   TANIQUA       BANKS                   TX          90004048314
3B313895576B89   JOEL          RODRIGUEZ               CA          90012758955
3B314975455949   RUBEN         PALOMO                  CA          90014099754
3B314A2925B281   SHAWN         COLE                    KY          90003420292
3B315179391356   JOSE-DANILO   NUNES-MENJIVAR          KS          90009491793
3B315358951369   JOHN          SMITH                   OH          90010613589
3B3162A4572455   NANCY         BARON                   PA          90015202045
3B316354155949   LETICIA       ESTRADA                 CA          90012963541
3B31672888B162   TROY          GIFFORD                 UT          90012707288
3B316A6154124B   CHLOE         TRENT                   PA          90013220615
3B317A9958B16B   CARLOS        ZAMORA                  UT          31001370995
3B31818915B281   MARK          WATKINS                 KY          90003351891
3B3184A642B668   CARLOS        ROMAN-SANTOS            WA          90015404064
3B31862A42B93B   RAMIRO        PEREZ                   CA          90013216204
3B318668455972   ARTURO        VIVEROS                 CA          48003976684
3B3187AA97B471   TATIANA       GOMEZ                   NC          11005457009
3B31914A641277   DENNIS        COOPER                  PA          90010191406
3B319349161963   GABRIEL       CORTEZ                  CA          46067503491
3B319492791869   TAWANA        AMEY                    OK          90006444927
3B31998839713B   ANDRE         BROOKS                  OR          90013569883
3B31B114655951   LEANN         GONZALES                CA          90014821146
3B31B14A891356   BRIAN         SCHULTZ                 KS          29002161408
3B31B347591356   PATRICIA      RAMIREZ                 KS          90014403475
3B31B81128B162   MARTIN        CRUZ                    UT          31058948112
3B321436A7753B   BRENTON       LAENO                   NV          90005504360
3B321633793768   ROBERT        KELLEY IV               OH          64553456337
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1861 of 2500


3B32182638B166   COBIA        GARY L                   UT          90005698263
3B32186975B52B   ERIC         MEYER                    NM          90012048697
3B321A3155B344   ANDREA       HEATH                    OR          44523030315
3B32217735B344   TERRY        DOTY                     OR          44597251773
3B322423591584   SALOMON      HIDALGO                  TX          90010504235
3B32244418B16B   RENE         GARCIA                   UT          90001664441
3B32247664B281   ALAINA       VASQUEZ                  IA          90014424766
3B32269A172496   DAVON        WHITE                    PA          90003776901
3B32272657B449   YVETTE       MASSEY                   NC          90014327265
3B323167172496   GEORGETTE    MORGAN                   PA          90014691671
3B323239691584   ANGELICA     ORTIZ                    TX          90011472396
3B323265661963   ARMANDO      RUIZ                     CA          46062882656
3B32367374B281   ROSHAWNDRA   HARMON                   IA          90013446737
3B324241154165   MARIBEL      SOTELO                   OR          47036012411
3B32473742B835   BRYAN        BATT                     ID          90012867374
3B324793372B24   DANIELLE     HUERTA                   CO          33096117933
3B324793872B76   JOEL         LOPEZ                    CO          33027117938
3B32531A55598B   SANDRA       GOPAR                    CA          90013873105
3B325454947931   RICHARD      JEFFRIES                 AR          25013034549
3B325473431485   ANGELA       NORMAN                   MO          27557314734
3B325549472496   RICHARD      COLEMAN                  PA          51017905494
3B32567362B835   KRISTEN      HORN                     ID          42068016736
3B325773755972   AMBER        MERRIOTT                 CA          90005297737
3B325856441258   TAMMY        ESLAMI                   PA          51058658564
3B325978655972   KIMBERLY     OLIVER                   CA          90014849786
3B325AA839713B   TED          MINTON                   OR          90013570083
3B32646A45B281   LEIGH        WILLIS                   KY          90010334604
3B326A6822B87B   RANDY        SHEPARD                  ID          90005700682
3B32748A493768   SETH         CLARK                    OH          90009574804
3B32763612B87B   PATRICK      O BRIEN                  ID          42075306361
3B32773412B93B   NOEL         GRIBAY                   CA          45052367341
3B32777782B28B   MONIQUE      DICKEY                   DC          90010587778
3B32817928B16B   MELISSA      MOORE                    UT          90014261792
3B328537154165   VANESSA      RAMBECK                  OR          47088085371
3B328637177539   VIVIAN       SAENZ                    NV          43048246371
3B32866498B16B   DUAINE       MOORE                    UT          90011686649
3B328681476B89   FLORENCIO    GARCIA                   CA          90001826814
3B32869263B325   JUAN         AREVALO                  CO          33017676926
3B32883627B449   CRISTHIAN    ALVAREZ                  NC          11071388362
3B32896265B393   JOE          LASSLEY                  OR          90008589626
3B328996861963   HONEY        MCDONALD                 CA          46010519968
3B328AA582B93B   JOSE         MARTINEZ                 CA          45032820058
3B32918A191831   CHARLOTTE    SISSON                   OK          21049151801
3B329285791356   REGINA       RANGEL                   KS          29078862857
3B32962647B471   BERTIN       ALMARAZ                  NC          90015136264
3B329A87277544   MOORE        JOHN                     NV          43017910872
3B32B396891356   MIGUEL       MIRANDA                  KS          90001183968
3B32B855472B2B   ENRIQUE      ARANDA                   CO          90006548554
3B32B869777539   ELIZEBETH    RODRIGUEZ                NV          90002778697
3B33115887B43B   MARQUIS      HILL                     SC          11084281588
3B33137A87B639   LINDA        JACKSON                  GA          15081623708
3B3313AA991356   CANDICE      JOHNSON                  KS          90014343009
3B33168648B162   JEFFERY      IUND                     UT          90013276864
3B3318A925B393   THERESE      SCHMIDT                  OR          44537708092
3B331985477544   CARRIE       DUNLAP                   NV          90011889854
3B331A66547931   TEILOR       LYBRAND                  AR          90014800665
3B33221127B471   MONIUQE      JENKINS                  NC          90014152112
3B332479572496   CHARLES      WEST                     PA          51026164795
3B332674A5B281   KEISHA       CARTER                   KY          68006976740
3B33294AA5B345   HAGAR        BAAH                     OR          90015069400
3B3332AA95B52B   JASON        BUNT                     NM          35031222009
3B33347155598B   GER          VUE                      CA          90012554715
3B33349347B471   GABRIEL      VASQUEZ                  NC          90015444934
3B333521141258   PAYGO        IVR ACTIVATION           PA          90014325211
3B3338A992B28B   CHARLES      LEWIS                    DC          90003378099
3B333A7957753B   REGANOLD     DAVIS                    NV          90015380795
3B334549955972   JASINTA      PACE                     CA          90007895499
3B33484328B162   HOLLIE       WHITNEY                  UT          90000658432
3B334A63A7B639   LOIS         HALL                     GA          90009340630
3B33524922B871   DENVER       HENDRIX                  ID          90013062492
3B33536354B281   PAMELA       HEREDIA                  NE          90006363635
3B335392547931   EVA          KIRK                     AR          25049583925
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3B335412A55957   SEIDI         MENDOZA                 CA          90009434120
3B33569144B943   TAMMY         CHAMPAGNE               TX          90011826914
3B335A4839713B   YOAN          FERNANDEZ               OR          90013570483
3B335A99991356   BISHNU        REGMI                   KS          90011470999
3B336595777539   LISA MARIE    WYNNE                   NV          90001665957
3B336617291356   MARSELO       SIFUENTES               KS          90015296172
3B336667555949   DESIREE       VARELA                  CA          90012046675
3B33695852B871   ROXAN         MIRANDA                 ID          90003249585
3B336A18791831   NEVILLE       RAMIREZ                 OK          90010240187
3B33716A44B281   TRELON        ROSS                    NE          27009671604
3B33754848B16B   JOSE MANUEL   GARCIA RENDON           UT          90013355484
3B337774141277   WARREN        PIRRING                 PA          51081937741
3B33794319713B   ROBERT        GIBSON                  OR          90009439431
3B337972A7B639   DAMINESHA     MARSHALL                GA          90012509720
3B338338A61963   ISIAS         MOSCERA                 CA          90012393380
3B338792741285   T             R                       PA          90014147927
3B338824931424   ROBERT        FORTUNE                 MO          27574268249
3B338843172B24   KEN           RASCON HERNANDEZ        CO          33080598431
3B338861184368   MATIAS        MOLINA                  SC          90010778611
3B3388A925598B   DARCI         RICHARDSON              CA          49056878092
3B33895927B471   BRIDGET       HOWARD                  NC          11086139592
3B339226341285   JUSTIN        MAY                     PA          90009412263
3B339311776B89   BRITAN        DOVENDARGER             CA          90015103117
3B339432A7B471   SHIQUITA      MOORE                   NC          11072204320
3B339984651369   PORSCHE       JONES                   OH          90011599846
3B339A2A75B13B   DALLAS        ROBERTSON               AR          90009780207
3B339A86391356   MARTHA        CALDERON                KS          90013710863
3B33B63222B871   SOMMER        LYNCH                   ID          90011766322
3B33B69565B281   JAMES         HUGHES                  KY          90015116956
3B33B71AA7B639   MARIA         GUTHRIE                 GA          90006377100
3B33B7A2551339   LONNIE        FREYMUTH                OH          66050237025
3B33BA1837B471   KIMBERLY      ALEXANDER               NC          90012560183
3B3411A897B471   KARLA         CHAVEZ                  NC          90014421089
3B34143468B16B   COURTNEY      KILLON                  UT          31066714346
3B34177785B156   ZAPATA        IGNACIO                 AR          90011817778
3B342142841277   DENISE        BOEHM                   PA          51041461428
3B342222531424   FATIMA        BALDWIN                 MO          90013932225
3B34248A77753B   DANIEL        JACOBSON                NV          90009504807
3B34256542B835   ALEXANDER     ARNDT                   ID          42064235654
3B34313855135B   LATINO        OUTREACH MINI           OH          90008911385
3B34341412B871   TRACY         KOON                    ID          90001974141
3B3434A7A5B156   FARRAH        HENSLEY                 AR          90013964070
3B3435A184B943   JAIME         SAUCEDA                 TX          76581845018
3B343822893768   REBECCA       BEZICH                  OH          64501228228
3B343828A55951   TANYA         ORTIZ                   CA          49083188280
3B344293451339   ROBERT        INGRAM                  OH          90009932934
3B34429399713B   HERIBERTO     CRUZ                    OR          90013572939
3B344343572B24   BRITTNAY      REYES                   CO          90004623435
3B34435A855972   JAMES         WILLIAMS                CA          48058283508
3B3445A588B16B   DEBRA P       ANGLEN                  UT          90012085058
3B34496827B449   LILJANA       WALKER                  NC          90010489682
3B34526392B871   NEIL          WASSMUTH                ID          42009192639
3B34549518B16B   BENSON        CONKLE                  UT          90014464951
3B3456A874124B   SUZANNE       NAWROCKI                PA          90011436087
3B34577855B52B   YESICA        CASTRO                  NM          90012797785
3B34599369713B   THOMAS        DE LEON                 OR          90009439936
3B345A16784368   DILMA         VALLE                   SC          90014430167
3B34628942B871   RICHARD       HARRIS                  ID          42001102894
3B346542855972   MARCO         GARCIA                  CA          90014685428
3B34696827B449   LILJANA       WALKER                  NC          90010489682
3B347311651339   BRADLEY       CARPENTER               OH          90006133116
3B347317A76B58   MARY          NOBLE                   CA          46079313170
3B34738277B639   VICTOR        SANTIAGO                GA          90009103827
3B347514155951   PEDRO         PORRAS                  CA          90006905141
3B347A81454165   SHIRLEY       POLLICK                 OR          90013470814
3B34835648B162   ROBERT        THORNE                  UT          90000643564
3B348949244B62   THOMAS        CHILDERS                OH          90014599492
3B348A62261963   JUAN          BAEZA                   CA          90013920622
3B34923955B393   CHARLES       DOTY                    OR          44589772395
3B349467455931   RAY           WALLER                  CA          90010484674
3B34955512B835   JON           TAGGART                 ID          90014075551
3B34983887B639   TONYA         CARTER                  GA          90014798388
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3B349997351339   ED           HILL                     OH          66097959973
3B34B269554165   KAILEY       LEWIS                    OR          90013442695
3B34BA1332B87B   KABRISHA     PEARSON                  ID          90005410133
3B351489155949   MIRNA        OCAMPO                   CA          90010424891
3B35153435598B   ROSA         CRUZ                     CA          90007175343
3B35228627753B   MARIA        LOPEZ                    NV          90013362862
3B35233A45B52B   GABRIELLA    HINOJOSA                 NM          90014693304
3B35238835B393   ALYSSA       JOHNSON                  OR          90014613883
3B352498A55957   MIGULE       DELGADILLO               CA          90009434980
3B35261128B162   LUIS         HERRERA                  UT          31058896112
3B352666A51339   MARY         SMITH                    OH          66008106660
3B35278A941258   KATHLEEN     SIMPSON                  PA          51027877809
3B3527A2591831   LAMETRA      RECESS                   OK          90009517025
3B35295485598B   MARCIAL      LOPEZ                    CA          90010649548
3B352A3499713B   CHRISTINA    KROPF                    OR          90013580349
3B35312217B639   RAMUNDO      ORTEGA                   GA          90013931221
3B35321262B828   ALEXANDRIA   BARKER                   ID          90008392126
3B35332552B93B   SINAY        PEOU                     CA          90014503255
3B3533A2693768   BOBBIE       SMITH                    OH          90012873026
3B353445A2B835   LIAM         HINDE                    ID          42006134450
3B353584391356   RICHARD      KERR                     KS          90010925843
3B353A48A72499   MICHAEL      LESNESKI                 PA          90010800480
3B354652661963   ALONSO       CARDENAS                 CA          90008206526
3B354664976B89   COURTESY     PHONE                    CA          90009116649
3B35472772B87B   JACK         BASSHAM                  ID          42079387277
3B354A3685B393   WAYNE        SABALA                   OR          90011370368
3B354A67284368   LLASMIN      SANCHEZ                  SC          90014430672
3B355337593768   JAMES        DAVIS                    OH          90014753375
3B35563785B393   RYAN         GRAY                     OR          44524846378
3B355977A8B162   KANDIE       ROBINSON                 UT          31066569770
3B35614167B639   ADOLPHUS     MATTHEWS                 GA          90013931416
3B35644455B545   KRISTIN      STEVENS                  NM          90007654445
3B356478772499   JONATHAN     GERHARDT                 PA          90010804787
3B356576561963   PRICILLA     SMITH                    CA          90013415765
3B357128355951   ALEJANDRO    PEREZ                    CA          90012991283
3B35731327B639   KARLA        ADDALLAH                 GA          90014893132
3B35733212B835   JAIMA        CLINGE                   ID          42042433321
3B35756A37753B   RAMON        ARIAS                    NV          43082805603
3B357638461963   YARELI       MARTINEZ                 CA          90013116384
3B357719155972   CLARISSA     YANTIS                   CA          90013757191
3B357A16872496   CALLI        MICKEY                   PA          90014270168
3B358337593768   JAMES        DAVIS                    OH          90014753375
3B358615651369   KAREN        LOVELESS                 OH          66001796156
3B358628A2B93B   FRANCISCO    GUERRERRA                CA          90010776280
3B358A1728B162   MARIBEL      SANTANA                  UT          90014170172
3B359852741258   SIERRA       BROWN                    PA          90015038527
3B35B296484368   JENNIFER     SMART                    SC          90014702964
3B35B36962B93B   JUAN         IRAHETA                  CA          90013753696
3B35B46375B555   JESSE        GRADO                    NM          90004494637
3B35B53538B16B   MALISA       HANEY                    UT          90013385353
3B35B93288B162   YAZMIN       ESCOBAR                  UT          90014169328
3B361237377539   MARCELO      TANZI                    NV          90012892373
3B361777972455   ANN          BEERHALTER               PA          90011477779
3B36228995B156   JAMILIA      PORCHAY                  AR          90013262899
3B36234A331424   MADEELYN     STARKS                   MO          90013123403
3B3623A5451369   HANNAH       PUCKETT                  OH          90014583054
3B362715A76B89   CYNTHIA      AQUINO                   CA          90015007150
3B362881A8B162   TROY         SULLENBERGER             UT          90010968810
3B363285972B24   MICHELLE     VERSEMANN                CO          33016002859
3B36349A855972   ANGELINA     BOOKER                   CA          90014904908
3B36413377B471   NICOLE       YOUNG                    NC          90015141337
3B36423972B93B   VEDA         MALONE                   CA          90014702397
3B364948A41285   GEORGE       BAILEY                   PA          90014139480
3B364952984368   KATHERYN L   GREGGO                   SC          14504599529
3B36495AA2B87B   SHIRLEY      ADAMS                    ID          90013049500
3B36547745B393   BRITTANY     YODER                    OR          90012084774
3B36581342B93B   VICTORIA     MEYER                    CA          45066208134
3B365813677544   JESSICA      COOTS                    NV          43043758136
3B365A2857753B   ADRIAN       REYES                    NV          43022000285
3B366435755972   BRIAN        GONZALEZ                 CA          90013974357
3B366634276B89   ELIAS        HERNANDEZ                CA          90013016342
3B36672977B471   MARTIN       REYES                    NC          90012047297
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3B366799198B23   ERIKA             GONZALEZ            NC          90006207991
3B36721337B471   MARY              AVIS                NC          90008782133
3B367442355951   CLAUDIA           GARCIA              CA          90014764423
3B367465851339   DANIELLE          CALHOUN             OH          90012694658
3B3676A389155B   LAURA             HERNANDEZ           TX          90011276038
3B367917955951   RAUL              VALDEZ              CA          90011599179
3B367A4A15598B   JUAN              GONZALEZ VENTURA    CA          90012650401
3B368151A2B835   NICK              ZACCHEO             ID          90014201510
3B368492193768   MARK              PFEIFFER            OH          90004234921
3B368A67291232   ROSSI             DANIELS             GA          90012860672
3B369211172496   SUSAN             LEIGHLITER          PA          90015032111
3B369249761963   DEBBIE            ENGLISH             CA          90010022497
3B36956A94B943   MAUREEN           ROBERTS             TX          76597535609
3B3695A5154165   NICOLE            LINKENBICK          OR          90011595051
3B369877172B76   MICHAEL           JUAREZ              CO          90009838771
3B36987882B93B   FRANCISCO         RAMIREZ             CA          45056028788
3B369989155972   MARK              DIETER              CA          90014279891
3B3699A857B43B   YOLANDA           ABRAHAM             NC          11013079085
3B36B14167B639   ADOLPHUS          MATTHEWS            GA          90013931416
3B36B341977544   STEPHEN           JOHNSON             NV          90014333419
3B36B5A227B471   PATRICIA          MEEKS-LAMB          NC          11046135022
3B36B738891584   CARLOS            LOPEZ               TX          75031997388
3B36BAA5936B77   SHADI             BATROUKH            OR          44549920059
3B371172A84368   MARLENE           TRUJILLO            SC          14560931720
3B37145668B162   MAGDALENA         CARPI               UT          90014854566
3B371A1125B344   SALVADOR          HERNANDEZ           OR          90011730112
3B371A1715B277   KURTARIQ          MUHAMMAD            KY          68081650171
3B37285547B639   JASMINE           HORNE               GA          90002638554
3B372A6764124B   BERNICE           WALLACE             PA          51017250676
3B37331AA5B393   PAM               BROWN               OR          44598163100
3B37333698B166   SARAH             WILLIAMS            UT          90010813369
3B37337147B639   ROSEMARY          HOPKINS             AL          15097043714
3B37346A155951   JADLYN            MONTES              CA          90014764601
3B3735A7831424   MONTRELL          HOWELL              MO          90015025078
3B373964593768   MIMA              WALTERS             OH          90010539645
3B373A1666194B   PATRICIA          UELAND              CA          90010350166
3B373A52591584   ALFREDO           MARTINEZ            TX          90010990525
3B373A58677539   DIANNE            BAKER               NV          90015260586
3B374125A7B639   NATASHA           WALKER              GA          90004891250
3B374571751339   CHRISTINE         FORMAN              OH          90013935717
3B374826A76B89   MICHELLE          ULLOA               CA          90000178260
3B374A8752B871   BRANDY            HUBBLE              ID          90014020875
3B37555485B52B   CHRISTINE         MARTINEZ            NM          35095995548
3B37558475598B   CHRISTINE         YANG                CA          90013245847
3B375956A5B281   AMESHIA           JOHNSON             KY          90008619560
3B376313676B89   ROBERT            MAILLY              CA          90015103136
3B376551891893   CRISTY            DIES                OK          21070265518
3B376552A5B344   SHADOW JORDAN     LIZ                 OR          90014205520
3B376576954165   NOEL              HAVENS              OR          47089035769
3B376625477544   MICHELLE          COX                 NV          90002076254
3B37711A455972   ALEJANDRO         BARRAGAN            CA          90010061104
3B377498572496   DAVID             HIXSON              PA          90000904985
3B377A71972455   CORRINNA          BISCEGLIA           PA          51086340719
3B377A9514B943   JHANI             HAYES               TX          90015330951
3B378221872496   WALTER            LITTLE              PA          90011102218
3B378263447931   BRITTENY          FREEMAN             AR          90011002634
3B37831218B191   STEPHANIE HYLER   EVAN HYLER          UT          90004223121
3B378828851339   MANDY             VARELA              OH          90013958288
3B378837555972   PAUL              MORENO              CA          48022678375
3B378A81581681   MELISA            PADILLA             MO          29016800815
3B379584685873   MALLORY           STEVENS             CA          90010355846
3B379655977539   KARLA             RODRIGUEZ           NV          90012956559
3B37993A455951   JOSEPHINA         SANCHEZ             CA          90011599304
3B37B114172B24   DONNA             BLACK               CO          33010641141
3B37B21937B639   APRIL             EPPS                GA          15012562193
3B37B319977539   MIRIAM            SIERRA              NV          90015073199
3B37B94A82B93B   GREGORY           GRAHAM              CA          90014899408
3B38118178B162   VINICIO           ARMIENTA            UT          90014181817
3B381558354165   SHALENA           CROW                OR          90006675583
3B381645355949   MARTHA            MENDOZA             CA          90010996453
3B38185782B835   TRICHELLE         STARK               ID          90013518578
3B382337177544   MARTA             SICAN               NV          90009983371
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1865 of 2500


3B382448391831   BRIAN         CLEMENT                 OK          90004364483
3B382477955949   ROBINETTER    MORALES                 CA          90013134779
3B382598236B77   NANCY         MUNOZ                   OR          90015005982
3B38268867B639   DEMETRICA     JAMES                   GA          90014596886
3B38271785B281   LINDA         MENTER                  KY          68081587178
3B38327635B52B   LAURA         VILLALOBOS              NM          35063972763
3B383713872496   PAUL          BUNGARD                 PA          90013227138
3B38384665B156   JOSLYN        NEWBURN                 AR          23002278466
3B38388AA55972   IMELDA        OLIVARES                CA          90014438800
3B384121472496   NIKKALA       FITZGERALD              PA          90014841214
3B38445515B281   DEQUITTA      JAMESON                 KY          90002694551
3B384544A5B393   EDDIE         BERTELSON               OR          44545985440
3B38471A755957   MARIA         MEDINA                  CA          90007827107
3B38491998B16B   MICHELLE      GARIBAY                 UT          31007329199
3B38495517B471   RICHARD       LANE                    NC          90014439551
3B385398A5598B   JERRY         HALL                    CA          90002803980
3B38546A155951   JADLYN        MONTES                  CA          90014764601
3B385687655972   CHRISTIAN     GUZMAN                  CA          90006556876
3B38587A58B16B   DANIEL        ZAMORA                  UT          90012458705
3B385A4845B52B   SERENA        BEATTY                  NM          35097120484
3B38643A67753B   TINA          VAIL                    NV          90014694306
3B386445151369   JASON         ANDREWS                 OH          90014624451
3B38646A155951   JADLYN        MONTES                  CA          90014764601
3B3866A2184368   KEVIN         FROST                   SC          90014916021
3B3866A655593B   JOSE          PEREZ                   CA          90005116065
3B38689A28B191   ELDON         TALLEY                  UT          31061678902
3B3872A7755972   ELIZABETH     RAYA                    CA          48011302077
3B38794527B449   JUAN          POZOS-FRANCO            NC          90010499452
3B38829789713B   AHMED         MOHAMED                 OR          90009442978
3B388332791584   VALERIE       ARRIETA                 TX          75006963327
3B388517155972   MARIBELL      DELGADILLO              CA          48092455171
3B388682851339   ANDREW        ZIMMERMAN               OH          90010306828
3B388A26547931   DAWN          HORTON                  AR          90014180265
3B38921124124B   SOPHIA        DAVID                   PA          51046572112
3B389489741277   JOHN          TEDESCO                 PA          51098014897
3B38973187B471   SAINT         WILSON                  NC          11007057318
3B3897A2854165   MICHELLE      BRIDGE                  OR          90003527028
3B3897A9A55951   ADELAIDA      CASTRO                  CA          90008907090
3B38B141847931   RANDY         ROGERS                  AR          25049251418
3B38B2A9954165   BEVERLY       BROOKS                  OR          90000662099
3B38B317391356   SANDRA        PINELA                  KS          90008763173
3B38B497577544   CHRISTOPER    MATZKIN-RINETTI         NV          90010384975
3B38B684A91543   LUIS          PEREA                   TX          90009876840
3B38B6A9341277   KELLEE        GRAY                    PA          90002296093
3B38B96A341285   ROME          HILTON                  PA          90014139603
3B38BA9535B393   MIGUEL        CHAVEZ                  OR          90000200953
3B39117A32B871   JEFF          HOARD                   ID          42034041703
3B391483741285   REGINA        BEAIR                   PA          90013464837
3B3914A7631424   SHARRON       JONES                   MO          90009864076
3B39151987753B   RICKEY        FULTZ                   NV          90014155198
3B391924151339   TERRI         MCCOY                   OH          66064249241
3B391A2445598B   MELINDA       LAWSON                  CA          90013800244
3B39223315B156   TRACEY        CLAY                    AR          90010912331
3B392525661982   LUIS          RANGEL                  CA          90005555256
3B39253A976B89   SAMMUEL       GOODWIN                 CA          90011315309
3B39279857B471   JULISHA       MASSEY                  NC          90011607985
3B392A4858B162   DEANN         GEHRING                 UT          90014170485
3B39317428B16B   ANTHONY       HOLDREN                 UT          90011961742
3B39317632B871   NICHOLAS      DAY                     ID          90012571763
3B39319757B471   CHRISTINA     ROMERO                  NC          90010001975
3B39323584124B   DIEGO         NASISI                  PA          90013982358
3B393411551369   VERNIE        MASSEY                  KY          90013644115
3B39372414B943   MELISSA       DAVIS                   TX          90002787241
3B39422124B943   TAMMY         CHILOT                  TX          76574642212
3B394668141258   ANDRE         WILLIAMS                PA          51073306681
3B39494AA84368   FILIBERTO     HERNADEZ                SC          90013919400
3B394A72955951   ALISA         JOHNSON                 CA          49078890729
3B394A8A593768   CHRISTOPHER   REED                    OH          90013080805
3B395148755972   CARLOS        SANTACRUZ               CA          48013891487
3B395497261963   RICHARD       SOLIS                   CA          90014734972
3B39553828B16B   LESLYE        MALDONADO               UT          31047695382
3B395587391525   CYNTHIA       YOUNG                   TX          75093585873
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3B39593228B162   HEIDI          MAHANA                 UT          90001049322
3B39594A447897   TIWANDA        HAMPTON                GA          90001479404
3B39598935B281   ADAM           NICHOLAS               KY          68002009893
3B39636758B16B   KIMBERLY       HARAMES                UT          90012963675
3B397155291356   CAROLINE       SILLA                  KS          90013051552
3B39785A751339   NICELY         SCOTT                  OH          90007668507
3B397988A51347   VERNISA        WINBUSH                OH          90008109880
3B398145591831   FILIBERTO      SALINAS                OK          90012001455
3B39818918B162   AGUSTINA       NARCISO                UT          90014181891
3B39856A89713B   SAMUEL         THOMAS                 OR          90013575608
3B398A7888B166   LAURIE         MALOY                  UT          90011710788
3B399156A41285   DONNA          ADAIR                  PA          90011421560
3B39936AA61963   JARED          EDRADA                 CA          90009413600
3B399781793768   MICHELLE       ROBERTS                OH          90011607817
3B399A8247753B   DAVID          FERGUSON               NV          43080890824
3B39B25764B943   ERIC           IZAVIERDO              TX          90013612576
3B39B9A3A84368   EFRAIN         MORALES                SC          14515219030
3B39BA4595B344   EDGAR          LOPEZ                  OR          90014370459
3B3B1122377539   CINDI          CHAVARRIA              NV          90011701223
3B3B1214577544   AIA            SEVE                   NV          43080952145
3B3B188159156B   ERIC           WEITMAN                TX          90013378815
3B3B1A49272B93   JAMES          ELLIOTT                CO          33096900492
3B3B2153A41455   CRYSTAL        PANEPINTO              WI          90015571530
3B3B2422841455   DANA           DAMICO                 WI          90015574228
3B3B2748672B24   MELANIE        VASTARDIS              CO          33039307486
3B3B3418661963   CECILIA        SALAS                  CA          90011184186
3B3B39A645B393   CHELSEA        HALE                   OR          90014909064
3B3B4358951369   JOHN           SMITH                  OH          90010613589
3B3B4564693768   RYAN           JOHNSON                OH          90014095646
3B3B4593751339   NOHELY         ALAPISCO               OH          90014845937
3B3B4959A41277   P              SCHELLINGER            PA          51042309590
3B3B4AA9A72496   CHET           MILLER                 PA          90012550090
3B3B5182577544   SABINA         CRUZ                   NV          90013451825
3B3B528488B16B   MIKE D         QUINLAN JR             UT          90010072848
3B3B556442B93B   NAOMI          ORTEGA                 CA          90012805644
3B3B564954B943   SAKINAH        THOMAS                 TX          90009546495
3B3B5914655949   JUANITA        MIRANDA                CA          90011469146
3B3B5A58741455   THUE           XIONG                  WI          90015510587
3B3B5A59147931   ANA            AGUILAR                AR          90014800591
3B3B615475B52B   ARLO           ABBOTT                 NM          35060461547
3B3B634759125B   JOHNAE         COLLINS                GA          90014163475
3B3B6464855951   ZAIDA          RODRIGUEZ              CA          90011074648
3B3B6543454165   MALCOLM        SWAYNE                 OR          90009815434
3B3B6637772496   EVA            ZERECHECK              PA          51081636377
3B3B664612B93B   BILL           KELLEY                 CA          90007766461
3B3B6695755949   KENDRICK       STOKES                 CA          90012426957
3B3B693968B16B   KASEY RONNIE   ARELLANO               UT          90005729396
3B3B6A49241285   KELLY          AYERS                  PA          51098230492
3B3B7898255951   OLIVIA         ABRAHAM                CA          49004848982
3B3B7957347931   PATRICIA       JERIONG                AR          25022569573
3B3B8137551369   CHERYL         WRIGHT                 OH          66098571375
3B3B8544377544   ROY            RAMIREZ                NV          90012655443
3B3B8664361963   SAMANTHA       SALAS                  CA          46013666643
3B3B961382B835   ROSA           VENEGAS                ID          90007886138
3B3B962A85598B   TARA           HAUNER                 CA          90001936208
3B3B99A835B393   HEATHER        UPTON                  OR          90010389083
3B3BB19A647931   LAURA          AYALA                  AR          25093761906
3B3BB495661963   CARLOS         NAJERA                 CA          90012264956
3B3BB5A3454165   MIKE           FORBES                 OR          90013015034
3B3BB61532B93B   FRANKLIN       SMITH                  CA          90012176153
3B3BB633161963   CARLOS         NAJERA                 CA          90010816331
3B41147474B943   JOSE           IZQUIERDO              TX          90012364747
3B411A75691584   STEPHANIE      CASTRO                 TX          90010990756
3B412735851369   ANA            MOLINA                 OH          90013387358
3B41286515598B   ISRAEL         ESPINOSA               CA          90013488651
3B412914355949   KUE            XIONG                  CA          90007429143
3B412946484368   MAIRA          LOPEZ                  SC          90005659464
3B412995255949   RAYMOND        AGUILAR                CA          90010329952
3B413143A77539   VIRGINIA       OROZCO                 NV          43054751430
3B413154531424   JASON          EYER                   MO          90011301545
3B4132A1A5B281   DEBORAH        RAISOR                 KY          90008412010
3B4134A212B93B   JAMES          ROBINSON               CA          90012274021
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1867 of 2500


3B413535591525   ANA          ALVIDREZ                 TX          90008875355
3B413666877539   RICHARD      REWIS                    NV          90012956668
3B41416794124B   JHON         MICKMAN                  PA          90014131679
3B414472551339   DON          BECKLEY                  OH          90014154725
3B41449462B871   BRIDGET      SULLIVAN                 ID          42042174946
3B415131972B24   DARRELL      GLASPER                  CO          90006011319
3B41561918B16B   ANGELIQUE    LARA                     UT          90014456191
3B41614557B639   FIDEL        ZAMORANO                 GA          90004891455
3B416382931424   RICK         PEARIA                   MO          90006263829
3B417193597B33   MARIA        RUIZ                     CO          90005391935
3B4172A198B162   KATERINA     MARCELIN                 UT          90013822019
3B417391A91544   ANTONIETA    RIBERA                   TX          90011553910
3B417A4477B449   NHON         SIU                      NC          90010500447
3B41817677B471   DESMOND      KISER                    NC          90001281767
3B41817938B162   SAIRA        CORDOVA                  UT          90012091793
3B418297A31424   LORENZO      BARNETT                  MO          27580492970
3B418382355972   RODOLPHO     VELASQUEZ                CA          90005713823
3B41849415B281   ROSARIO      GUARDADO                 KY          68043424941
3B418786361921   MARIA        NIEVES                   CA          90010487863
3B418944891831   THANG        PAU                      OK          90012959448
3B418A16354165   TONYA        PANKO                    OR          90013350163
3B418A66A7B639   HECTOR       LOPEZ                    GA          90012450660
3B419171972455   JENNIFER     HERMAN                   PA          90005641719
3B4191A395B52B   MARIBEL      ESPINOZ                  NM          90007781039
3B419286893768   EARLENE      SIDIBE                   OH          90011912868
3B41932515B281   LINDA        HAZELWOOD                KY          68052953251
3B419419951339   ALISON       KROGER                   OH          90008674199
3B419539577544   AMALIA       VEGA DE NIEBLA           NV          90014445395
3B41964494B281   ASHLEY       GLAZE                    NE          90002006449
3B4199A342B87B   AMANDA       STINER                   ID          90014129034
3B41B1A645598B   MANUEL       PONCE                    CA          90015221064
3B41B22389713B   TIMOTHY      CORBETT                  OR          90014802238
3B41B26962B871   ELIZABETH    RIVAS                    ID          90012492696
3B41B276691543   BRIANNA      AGUILAR                  TX          90010342766
3B41B33328B16B   CARMEN       NAVA                     UT          90008793332
3B41B48239125B   ELSA         GARCIA                   GA          90013634823
3B41B517951369   IVAN         SANCHEZ                  OH          90013405179
3B42143187B639   MELISSA      PRINCE                   AL          15098214318
3B42151425B281   JENNIFER     WRIGHT                   KY          90009045142
3B421527755951   AIMEE        MEDINA                   CA          90014765277
3B42155322B835   LAURISSA     EKART                    ID          90008925532
3B42186488B14B   DANIEL       BATES                    UT          90011298648
3B4218A8655949   RAQUEL       TINOCO                   CA          49043558086
3B42213135598B   ALEX         CUEVAS                   CA          49015951313
3B42222465B393   MANUEL       ZUNIGA                   OR          90014732246
3B42231645B393   DIANA        TODD                     OR          90014753164
3B422688676B89   CONNIE       YBARRA                   CA          90014946886
3B42271615B545   JASON        FOWLER                   NM          90012617161
3B42285532B93B   MARIA        VALENCIA                 CA          90012978553
3B42296122B28B   COLLEEN      WILLIAMS                 DC          90010589612
3B42313348B162   ANGIE        RICHARDS                 UT          90011401334
3B42348A751339   LACEY        HUDSON                   OH          90013544807
3B42367A45B344   RICK         MATHIESEN                OR          90014356704
3B423786A41285   WILLIAM      WELLS                    PA          90000237860
3B42386562B857   MARIA        GARCIA                   ID          90003028656
3B423938877539   ENRIQUE      MARRON                   NV          90002839388
3B42441822B835   SHARRY       HARRIS                   ID          90014154182
3B42443A38B16B   TOUA         VANG                     UT          90001524303
3B42449517753B   GILBERTO     REYES                    NV          43073804951
3B42492615598B   RAUL         HERNANDEZ                CA          90012569261
3B42532426B198   ARMIN        JIMINEZ                  MS          90013833242
3B4259A1855951   GREGORY      MENDOZA                  CA          90009369018
3B425A77847931   TINA         MASSEY                   AR          90014800778
3B426162384368   BEATRICE     BROWN                    SC          90002331623
3B42666965B281   SHELBY       COOGLE                   KY          68016976696
3B426813261963   ROBERT       MANCINI                  CA          90014168132
3B426A26755949   RUDY ENRIQ   MARTINEZ                 CA          49045140267
3B42731915B281   LISA         SIDIABCELLAH             KY          90013003191
3B427372261963   SLEWA        RONE                     CA          46025493722
3B427539691831   BELINDA      SILVA                    OK          90013925396
3B42822A131424   SHEREE       LEWIS                    MO          27589102201
3B428236541258   JESSICA      CRAWFORD                 PA          51089252365
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3B428492584368   DIEGO          HERNANDEZ              SC          90012734925
3B429412261963   GRACIELA       GONZALEZ               CA          90012764122
3B42955175B281   DAVID          GREGORIO               KY          90012775517
3B42957338B157   MARY           KNUTSON                UT          90003345733
3B429A2838B16B   ANGELINA       GARCIA                 UT          90009760283
3B42B96194B281   JUANITA        GLOVER                 NE          90000559619
3B42BA98576B89   LUIS           POCE                   CA          90007690985
3B43121685B156   ROBERT         RIVEIRA                AR          90014842168
3B431242231424   DIANE          ETIM                   MO          90013932422
3B431328672499   FELICIA        HADDIX                 PA          90012833286
3B431714991356   CAITLIN        ATZENI                 KS          90015517149
3B432152691356   ROSAURA        ROSALES                KS          90014081526
3B432328141258   MICHAEL        MOREFIELD SR           PA          51096013281
3B432384491831   ROBERT         AMOS JR                OK          90014263844
3B432711141285   STEPHANIE      ROGERS                 PA          90010437111
3B432885976B89   LORENZO        SANTOS                 CA          46050778859
3B43389A557173   NORBIS         GONZALEZ               VA          90002638905
3B43416874B281   NORMA          CORDERO                NE          90004831687
3B43462342B871   ZULEYKA        ALCANTAR               ID          90012056234
3B43466112B835   SUSANA         BARBOSA                ID          42011086611
3B43489A557173   NORBIS         GONZALEZ               VA          90002638905
3B434A3A398B23   ENCHANTIS      ANDERSON               NC          90011290303
3B43524964124B   MATTHEW        PARKER                 PA          90008482496
3B43555942B835   ALEXIS         TOVAR                  ID          90013675594
3B43579A851339   PHYLLIS        VENTERS                OH          90013317908
3B435A8955B281   YOLANDA        ARROYO                 KY          90012080895
3B435A8A95B281   JAMIE          STINSON                KY          90014570809
3B436171836B77   VICTOR         HERNANDEZ              OR          90005121718
3B436476576B89   GABRIEL LUIS   SANTOS                 CA          90012434765
3B436589984368   SALVADOR       HERNANDEZ              SC          90009445899
3B436754157153   DANILO         CISNEROS               VA          90007167541
3B43686437753B   PAYGO          IVR ACTIVATION         NV          90015448643
3B436A1224B943   MARIA          BARAJAS                TX          90015280122
3B437114876B89   FRANCISCO      SILVA                  CA          90013311148
3B437313255972   SHELLIE        NICHOLS                CA          90013503132
3B437952584368   JUAN           AGUIURRE               SC          90013339525
3B43811455598B   SAUL           CRUZ                   CA          49028801145
3B43875757B639   VENICER        SURLES                 GA          15090297575
3B43917447B449   ORENE          DICXSON                NC          90014171744
3B439349A55972   EPIO           SAESEE                 CA          48092313490
3B43974375598B   ROBERT         LESTER                 CA          49097797437
3B439947476B8B   GILBERTO       GONZALEZ               CA          90004799474
3B4399A115B52B   BRYAN          SCHALIPP               NM          90012329011
3B439A7AA77539   JOVONDA        JAMES                  NV          90013950700
3B43B47AA72B24   DANIEL         ENGER                  CO          90004624700
3B43B69535B52B   JOE            VIGIL                  NM          90013466953
3B43B884254165   CODY           ALLEN                  OR          90015518842
3B43BA38776B89   HERNANDEZ      PATRICIA               CA          46079940387
3B43BA3995B344   MIGUEL         ZARATE                 OR          90001050399
3B44134777B639   PAYGO          IVR ACTIVATION         GA          90015503477
3B441A71A5B344   JENNIFER       LYTLE                  OR          44597290710
3B441A8129713B   VICTORIA       MORGAN                 OR          90013580812
3B442144551369   ANTOINETTE     WILLIAMS               OH          66086401445
3B44241225B281   STEPHANIE      BURNS                  KY          90014424122
3B442444231424   TIARA          BELL-BLACKMON          MO          90013124442
3B442995361557   JESSICA        GUEDEA                 TN          90015429953
3B442A85991584   CORINA         MARTINEZ               TX          90010990859
3B44315642B835   JOSEPH         EVANESKI               ID          90000941564
3B443241A4B532   ANDREA         STAMPUL                OK          90007672410
3B44335778B162   RICARDO        VERA                   UT          90014183577
3B4435A937B449   KELIN          MADRID                 NC          90013965093
3B443663577539   MARTIN         RODRIGUEZ              NV          90011876635
3B443682955949   JOHNY          CASTENDA               CA          90013266829
3B443876231424   DAMON          BOOTH                  MO          27576678762
3B444888247931   GUSTAVO        LONGORIA               AR          25062888882
3B444897A5B393   MICHAEL        DOYLE                  OR          44508438970
3B444A42451339   MICHAEL        LAINHART               OH          90009550424
3B445161876B89   HUGO           REYES                  CA          90009541618
3B445281755972   FRANK          PEDRO                  CA          48022732817
3B44562137B639   JENKINS        HENRY                  GA          90014506213
3B44616648B16B   DEBRA          MARTENS                UT          31055831664
3B446295A55972   RYAN           THOMPSON               CA          48073082950
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1869 of 2500


3B446428A51339   KILEY        SHAW                     OH          90014414280
3B446439A2B871   KEVIN        COIL                     ID          90004254390
3B44678987B471   MIYA         WALLACE                  NC          90014327898
3B44728348B16B   CLAUDIA      SIERRA                   UT          90009262834
3B44743724B281   ALAN         FIESTER                  NE          27094614372
3B447575531424   AMY          JOHNSON                  MO          90015105755
3B44795835598B   MARICELA     RAMIREZ                  CA          49021939583
3B44843725B156   KIMBERLY     TALBOY                   AR          90013984372
3B44866392B871   BRYAN        SAYLES                   ID          90013686639
3B44866A961963   JOSEPH       BERNAL                   CA          90005146609
3B4488A215B281   TAMMY        ARNOLD                   KY          68064678021
3B44894914B943   LAURA        GUZMA                    TX          90015509491
3B449112447931   ANN          GUY                      AR          25014611124
3B449248631424   GARY         GRAY                     MO          90013932486
3B449267A2B93B   AMAIRANI     TOLEDO                   CA          90013272670
3B44952124B281   GABRIAL      OLSON                    NE          90008785212
3B44989725B156   CHRISTINA    BOSLEY                   AR          90013598972
3B44998A63B326   JEFFREY      AUDI                     CO          90000569806
3B44B245431424   HOLLAND      PARRAN                   MO          90013392454
3B44B31967753B   HOLLY        QUIRING                  NV          90012053196
3B44B5A1854165   KARLENE      MARCUS                   OR          90002785018
3B44B741977539   SAMANTHA     BERNARDY                 NV          90011717419
3B44B776161963   ANA          GONZALEZ                 CA          90009507761
3B45123117B449   TONY         SMALL                    NC          11004942311
3B451352A4B281   KRYSTAL      WHITE                    NE          90014153520
3B451424561963   WALAA        ELIA                     CA          90012044245
3B45148A591356   TYNISHA      FRAZIER                  KS          90015204805
3B451559141277   DUNCAN       ERVENA                   PA          90010705591
3B451731751339   CHRISTINA    CAWTHON                  OH          90014847317
3B451884477539   BRENDA       OCAMPO                   NV          43090678844
3B45223784B943   ALEXIA       COLE                     TX          76589272378
3B45266327B639   JUAN         HERNANDEZ                GA          15064466632
3B452895661963   TONY         BENDER                   CA          90003248956
3B453486172B76   PAIGE        MUNOZ                    CO          33047224861
3B45352925B393   TRISHA       REED                     OR          90004985292
3B45352A155972   DENNIS       WASHINGTON               CA          90007445201
3B453557151339   DAVID        INGRAM                   OH          90010495571
3B45397615B281   SANDRA       HUSBAND                  KY          90013959761
3B453A6144B943   RUBI         ALVAREZ                  TX          90008710614
3B45415485598B   BERENICE     ZUNO                     CA          90012971548
3B454155591831   JUSTIN       JOHNSON                  OK          90010671555
3B45416432B93B   SANDRA       GARCIA                   CA          90014571643
3B45426255B281   TIMOTHY      STEIER                   KY          90008852625
3B45437175B344   OCTAVIO      GARCIA                   OR          90000413717
3B4543A597753B   RICK         SEYFARTH                 NV          90013623059
3B4545A212B835   NORMAN       MARTIN                   ID          42049165021
3B45465A64B943   BARBARA      KENNERLY                 TX          90000496506
3B454823351339   ANGELA       LAWSON                   OH          90002898233
3B455158291356   DYLAN        SWAFFORD                 KS          90015541582
3B45542235B52B   BRANDON      STONE                    NM          90010994223
3B45543128B162   ANTONIO      ROMERO                   UT          31074064312
3B455886761963   SABRINA      HOUSEBERG                CA          46059608867
3B455A92454165   SALLY        SCHMITT                  OR          90008010924
3B4562AAA2B28B   SHEKERA      STENNETT                 DC          90006782000
3B45635825B281   JAMES        GORDON                   KY          90015103582
3B456669891584   MYRNA        MEDRANO                  TX          75023486698
3B45696165B156   SHANNON      JOHNSON                  AR          23028889616
3B456A78251339   JOHN         MURPHY                   OH          90012660782
3B457215A8B16B   CHRISTOPER   THOMAS                   UT          31005552150
3B4572A627753B   TRAVIS       BROWN                    NV          90011002062
3B457322384347   LUCIA        ROMERO                   SC          90011203223
3B457337255951   URBANO       CANDELAS                 CA          90008803372
3B457457A61963   OMAR         GARCIA                   CA          90012194570
3B45756818598B   ADDIE        BALLOU                   KY          66065005681
3B457A83455949   DIANA        SANCHEZ                  CA          90005540834
3B45883678B16B   JAYSON       HUFFMAN                  UT          90001008367
3B45899475B393   TYLER        MYROW                    OR          90011099947
3B45928A961963   BATOOL       HANNA                    CA          46015372809
3B459376A2B835   RUSSELL      HUFFMAN                  ID          42070443760
3B459536777539   CHONA        ROSCOM                   NV          43067225367
3B45958262B93B   LAURA        LOPEZ                    CA          90012885826
3B45974A354165   JUAN         OSORIO                   OR          90012567403
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3B45B152241285   JESSICA         MARSH                 PA          90013661522
3B45B232263625   MICHEAL         SWARTZ                MO          90010712322
3B45B529872496   AMELIA          COSTELLA              PA          90008195298
3B45B58115B156   KNOX            TONDELIA              AR          90010965811
3B45B87397B639   DAVID           BOND                  AL          90014898739
3B45B8A277166B   TIARA           PEOPLES               NY          90009448027
3B45BA67954165   SUE             BAXTER                OR          47039460679
3B461113955972   JOSAFAT         DIAS                  CA          90010291139
3B461263A6B198   ROSA            PONCE                 MS          90013842630
3B46135122B93B   YESENIA         VALENCIA              CA          45069123512
3B46135A855972   CHRISTINA       GOMEZ                 CA          90011093508
3B46147248B16B   LUCY            WASHAKIE              UT          90005644724
3B46175414B943   ERICA           PITRE                 TX          76576947541
3B46189852B87B   JAMES           MOODY                 ID          90012438985
3B461947641285   MORALIS         SOLOMAN               PA          90008369476
3B46214172B87B   MEGAN           LINSENMANN            ID          42096671417
3B462491491356   BRANDON         CONCHOLA              KS          90015464914
3B462545255949   BRIAN           ROADENBAUGH           CA          90012785452
3B46284717B449   BIANCHA         BROWN                 NC          90005648471
3B46297827B471   FABIAN          COLLINS               NC          11090859782
3B462A39631424   ANTONIO         WELLS                 MO          90012240396
3B462AA5754165   RONDA           HUDDLESTON            OR          90010150057
3B463257A5B52B   JARVIS          MOYA                  NM          90002982570
3B46326577B639   EDUARDO         BASTIDA               GA          90013962657
3B46331832B87B   COREY           THOMAS                ID          90013943183
3B464837341258   NICOLE          HINTERLANG            PA          51025538373
3B464861276B61   JORDEN          BERGER                CA          90011718612
3B465154531424   JOSHUA          HESTON                MO          90015221545
3B465212854165   MICHAEL         BRADLEY               OR          90009762128
3B46532682B93B   SUGEIRE         VILLALOVOS            CA          90007983268
3B4655A7877539   ROCIO           BACA                  NV          90002585078
3B465634A81686   RO              REED                  MO          90001376340
3B46572824124B   JANETTE         HARRISON              PA          90013937282
3B465872591831   SHAWN           DUNCANT               OK          90013518725
3B466328376B89   MARIO           VELASO                CA          90001873283
3B46648272B835   JOHN            RADA                  ID          90012284827
3B466522A51369   KRISTINA        JACKSON               OH          90012305220
3B46685A68B166   CONNIE          TREVINO               UT          90009098506
3B466942157153   SOFAINE         ELHANNAOVI            VA          81090399421
3B467156A8B16B   DAN             COATES                UT          90014211560
3B46725A841285   MARK            BROWN                 PA          51094862508
3B467377A51339   MIKE            HENCY                 OH          66060133770
3B467624251339   DEANNA          SAYLOR                OH          90015016242
3B467852A51369   RONDA           TUGGLE                OH          66052998520
3B46792417753B   DUANE           DONRE                 NV          90009019241
3B467A45931424   ALLY            TURNER                MO          90014400459
3B468182991584   MARY            ANN RODRIGUEZ         TX          90004511829
3B46832682B93B   SUGEIRE         VILLALOVOS            CA          90007983268
3B46835789713B   SHERITA         GLASS                 OR          90013583578
3B468442977539   JOSE IGANICIO   LEON                  NV          90013684429
3B468A72155951   ROSALINDA       HERRERA               CA          49020660721
3B468A79941258   SAMANTHA        EASTGATE              PA          90014580799
3B468AA7441285   AMY             VAHALY                PA          51007790074
3B46913485B281   DANIEL          HILL                  KY          90006781348
3B469145877544   REGINA          BUSTAMANTE            NV          90014131458
3B469214277539   SAELEE          PANON                 NV          90003052142
3B46922955B393   ALBERTO         SALAZARES             OR          90010022295
3B46935A461963   RAHEEL          DAKOO                 CA          90012393504
3B46938745598B   PAO             LEE                   CA          49089493874
3B469554455949   SANDRO          ROLON                 CA          90009795544
3B469728A76B89   RODNEY          SCOTT                 CA          90014437280
3B4699A475B344   CHRIS           GATLIN                OR          90010839047
3B46B11835B281   DEBORAH         GREENE                KY          68015031183
3B46B4A715B344   GUSTAVO         SANCHEZ               OR          44546634071
3B46B831431424   KELSEY          ROSE                  MO          90015318314
3B46B897A91584   MARIANA         SOLIS                 TX          90011298970
3B46B97475B393   RENEE           COX                   OR          44557659747
3B471271154165   DAVID           LABAT                 OR          90014172711
3B471938291831   MARIA           HERNANDEZ             OK          21063229382
3B47196354B943   PATRICK         KENNERSON             TX          90014469635
3B47217A261963   MARIA           VILLEGAS              CA          90012581702
3B4725A914B943   BRANDY          ROMERO                TX          90013665091
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3B472695151369   MELISSA       COMBS                   OH          66039356951
3B472888136B77   ROSA          ARGUELLO                OR          90003208881
3B472AA9561963   KARINA        ACOSTA                  CA          46041260095
3B47321714B943   JOHN          CALHOUN                 TX          76570132171
3B473257191831   ALEJANDRA     BEJARANO                OK          90011192571
3B473847877544   YVETTE        PAINTER                 NV          90011378478
3B473A64377539   TRISHA        MOCK                    NV          43048320643
3B47429754124B   HAZEL         MAYO                    PA          51089872975
3B47438832B93B   BILLY         PEREZ                   CA          90012743883
3B4744A492B835   CATHLEEN      TOOLANEN                ID          42012094049
3B47478617B639   MAURICE       AARON                   AL          90013207861
3B47489165B344   GUSTAVO       NAVARRO                 OR          90009978916
3B474932277544   DANIELLE      YOUNG                   NV          43025909322
3B474959276B89   JENNIFER      MCCANN                  CA          90007559592
3B474A29141258   LATITIA       DAVISON                 PA          90013940291
3B474A3595B393   MATTHEW       COLLINS                 OR          90006350359
3B47524A347931   BREANNA       MEEKS                   AR          90014802403
3B47528972B835   OSO           HUERO                   ID          42051412897
3B4752AA85B393   GASPAR        LOPEZ                   OR          44552592008
3B475973A55951   RUSTY         HOWELL                  CA          90006979730
3B476257651339   BRIAN         GEISLER                 OH          90011892576
3B4762A6277544   TRAVIS        BROWN                   NV          90011002062
3B47655495598B   YUVIMA        ROMO                    CA          90004025549
3B476743676B89   ESTEFANIA     DIEGUEZ                 CA          90003457436
3B476813277539   JOSE          AGUILAR                 NV          90003848132
3B47731372B87B   GABRIEL       MONTERO                 ID          42008343137
3B47756394B281   CAROLE        APOVO                   NE          90011685639
3B477717754165   LUCAS         TANNER                  OR          90015147177
3B477867355972   MIRNA         JIMENEZ                 CA          48013138673
3B47828994B943   VALENTIN      BRISENO                 TX          90014662899
3B47843AA97126   FRANCI        MEDINA                  OR          90009984300
3B47859877B471   TIFFANY       HOUSTON                 NC          90013735987
3B47863175B321   AMY           HILL                    OR          90010946317
3B47885448B162   ANAIS         SLIFER                  UT          90014198544
3B478938855951   AREF          QASJIM                  CA          90013049388
3B47896AA2B93B   RAMON         VILLALOBOS              CA          45018179600
3B47918625598B   GENARO        ESCALANTE               CA          49002301862
3B47938388B162   CONNIE        GASCAS                  UT          90005543838
3B47969A35B52B   OMAR          CANALES                 NM          90001896903
3B479779754165   TESSA         LABAT                   OR          47076577797
3B47995788B162   CHRISTOPHE    BURTON                  UT          31040019578
3B479983738522   NANCY         SPENCER                 UT          90014059837
3B47B129941285   TERRY         DUNNING                 PA          90004301299
3B47B62115B52B   ANGELIQUE     BACA                    NM          90011316211
3B47B912241258   CARLY         WILLIAMS                PA          90014609122
3B47BA79577539   ARIANA        CHAVEZ GUILLEN          NV          90013950795
3B481189A2B835   SHERRI        POTTS                   ID          42086801890
3B481311491831   NICHOLAS      RARDIN                  OK          90009083114
3B48142247B471   JAKARTRA      MORROW                  NC          90008104224
3B48149988B166   JAMES LAIRD   HILTON                  UT          90011444998
3B48162A547931   MICHAEL       MCGARRAH                AR          25033096205
3B481865672B24   SHAWN         VITT                    CO          90012788656
3B481887947828   NADIA         FORD                    GA          90013758879
3B48226977B639   AMY           THOMPSON                GA          90013962697
3B48238815B344   ROBERT        GARDNER                 OR          90009423881
3B482871572496   RAYMOND       RUSH                    PA          90013938715
3B48338A27B471   MISAEL        ROBLES                  NC          11098243802
3B484258572B76   MECHELLE      ROSS                    CO          90009792585
3B48437A35B344   CODI          SEHACHT                 OR          90009893703
3B48443362B871   MARIO         ARRIAGA                 ID          90013764336
3B484575491537   JAZMIN        MADERO                  TX          90012185754
3B485187272496   CLARENCE      NICHOLSON               PA          51048001872
3B48519A24B943   HAVEN         ABRAHAM                 TX          90013681902
3B485292984368   MARTHADELI    COREA                   SC          14524152929
3B485311491831   NICHOLAS      RARDIN                  OK          90009083114
3B48543285B52B   NORMA         CAMPOS                  NM          90014834328
3B4855A958B162   KAREN         MOSCOSO                 UT          90014185095
3B48594454124B   KELLY         DIGGINS                 PA          51034619445
3B48598A172B76   BRADLEY       LUNDY                   CO          33027729801
3B486352A55957   ELIDIA        SALINAS                 CA          90004393520
3B486534572B35   DAVID         REYES                   CO          90015135345
3B486552672B34   MARIA         LUCERO                  CO          90011755526
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3B486A4697B471   MARGARITA     REBELLAR                NC          90015300469
3B48764A22B28B   BRANDY        FITZGERALD              DC          90009276402
3B487714255951   AMALIA        GRADY                   CA          90014717142
3B487717255972   LISA          SANCHEZ                 CA          90012737172
3B487778155949   NICHOLE       STEIN                   CA          49038657781
3B488264555951   BRYAN         RODRIGUEZ               CA          90007182645
3B48834A772496   RICHARD       STEPANIK                PA          51007393407
3B48876975598B   BRENDA        ALONSO                  CA          49029647697
3B48933162B871   JOEY          BERNAL                  ID          90013513316
3B489472576B89   NORMA         PEREZ                   CA          90007414725
3B489549977544   CHARLIN       EWEN                    NV          90009075499
3B48962592B871   GLORIA        RAMIREZ                 ID          90012986259
3B48971888B162   EMILY         THOMSON                 UT          31001147188
3B489842991831   CHRIS         JONES                   OK          90001288429
3B48B323A8B166   NANCY         CRANE                   UT          31090693230
3B48B658891356   LORI          GOEBEL                  KS          90014436588
3B49114A87B33B   MARIA         ALCAZAR                 VA          90005711408
3B491522547931   LUIS          MOLINA                  AR          90000625225
3B49153A28B162   ANA           RODRIGUEZ               UT          90014185302
3B49157177B471   JOSE LA PAZ   SANTOS                  NC          90015125717
3B49177882B586   JAMES         RENEMAN                 AL          90014177788
3B491A13A7B453   JEFFERY       BOLES                   NC          11005750130
3B491A9474124B   ELIZABETH     JOHNSON                 PA          51006470947
3B49211892B268   ISABEL        EASTMAN                 DC          90012961189
3B492241841258   CASSIE        THOMAS                  PA          90010182418
3B492427155951   JESUS         CALDERON QUEZADA        CA          90010024271
3B49263A391831   DOUG          MOORE                   OK          90009586303
3B49274A57B385   JOHN          NEWMAN                  VA          90011747405
3B493367172B76   LAUREN        MARTINEZ                CO          33072613671
3B49341585B393   DECEMBER      WATSON                  OR          90013674158
3B49341765B344   IRMA          VALENCIA                OR          90009894176
3B49357169379B   MOHAMMAD      SHALASH                 OH          90013295716
3B49421717B449   JESSICA       RUSHING                 NC          11093622171
3B494261751339   KRISTI        SCHOOLCRAFT             OH          90007742617
3B494323147931   ROSALINDA     FIERRO                  AR          90014803231
3B4944A4236B77   HECTOR        GONGORA                 OR          90013954042
3B49456A951369   GARY          BEMMES                  OH          66003055609
3B49469238B16B   JOSE          SAAVEDRA                UT          90013356923
3B494721455972   DOREEN        JARAMILLO               CA          90011367214
3B495336972496   JODIE         DOWDEN                  PA          51080363369
3B4954A3155972   EDUARDO       MARQUEZ                 CA          90009144031
3B49611847B639   JOSH          WILLINGHAM              GA          90014421184
3B49637752B25B   TAISHA        GRANT                   DC          90001663775
3B496452291831   EDGAR         GONZALEZ                OK          90008194522
3B49724225137B   MARIA         WALKER                  OH          90006832422
3B49734585B393   LISA          DALMAN                  OR          90010553458
3B49762A291893   MARTHA        HERNADEZ                OK          21008666202
3B4976A884B534   SAMELY        MAZARIEGOS              OK          90011496088
3B4977A2361963   HEATHER       SCHWARTZ                CA          90004187023
3B4978A8941285   MICHAEL       YANKEE                  PA          90012188089
3B497965241277   BRITTANY      TAYLOR                  PA          90012159652
3B4981A7751339   NICK          JACKSON                 OH          90012211077
3B498272451369   CHARLOTTE     SMITH                   OH          90002732724
3B498354791831   GLENDA        CHOC                    OK          90006153547
3B498682955949   JOHNY         CASTENDA                CA          90013266829
3B49896A191232   THURLTON      LAWRENCE                GA          14574199601
3B499583272496   MICHAEL       TEETS                   PA          90013325832
3B4B1159772B24   PHILLIP       HUNTINGTON              CO          90011501597
3B4B155528B16B   YURI          LOZANO                  UT          90013355552
3B4B1653A61963   NATIVIDAD     CORTEZ                  CA          90009226530
3B4B16A8A54165   STEPHEN       ANDREW                  OR          90006086080
3B4B18A8172496   LISA          RITENOUR                PA          51067158081
3B4B1A69277544   DANIELLE      BURROW                  NV          90007040692
3B4B1A6A44B943   PASSION       BROOKS                  TX          90014140604
3B4B2167736B77   DESTINY       ORTIZ                   OR          90012521677
3B4B2195151369   ERORIDALMA    JUARES                  OH          90012291951
3B4B22A6191232   LEKICHA       REED                    GA          90014682061
3B4B2497261963   RICHARD       SOLIS                   CA          90014734972
3B4B252974B943   BLANCA        RAMIREZ                 TX          90014445297
3B4B266465B156   ROQYA         ALALSHAIKH              AR          90012566646
3B4B269167B639   MARTINA       WILLIAMS                GA          15011306916
3B4B2A8364B943   CANDICE       PLAMER                  TX          90013090836
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3B4B363822B87B   GUADALUPE        QUIROZ               ID          90014906382
3B4B38A812B835   CHRS             PALMER               ID          90011078081
3B4B397734B281   LLONDEL          RICHARD              NE          90014089773
3B4B3A8824124B   DELL             VANN                 PA          51035700882
3B4B435859713B   LAVIOLET         BROWN                OR          90013463585
3B4B443A38B16B   TOUA             VANG                 UT          90001524303
3B4B469A861925   THOMAS           SORRELL              CA          46010036908
3B4B47A9841285   TROY             WAZNY                PA          90011737098
3B4B4895354165   CRYSTAL          ESCOBEDO             OR          90013428953
3B4B4A26691831   JULIANNA M       MONNEOT              OK          21006330266
3B4B5379731424   DAVIDSON         MERRIWEATHER         MO          90013123797
3B4B54A4491356   FILIBERTO        MORA                 KS          90009334044
3B4B591135B281   KATHERINE        CAMPBELL             KY          90000759113
3B4B6288647931   JUSTIN           POUNDS               AR          25056552886
3B4B64A5661963   SUNGHUI          KIM                  CA          90006044056
3B4B661945B59B   DEMONE           CURRY                NM          35057486194
3B4B6721181686   ANGEL            NUNEZ                MO          90006617211
3B4B6874155951   PILLIP           SALAS                CA          90014178741
3B4B6A45376B89   LILI             MONTIEL              CA          90011920453
3B4B7341951339   CARMELA          DELIA                OH          90014943419
3B4B757AA77539   WILLIAM          LARDIZABAL           NV          90014815700
3B4B758154124B   DAVION           DONALD               PA          51089155815
3B4B772119125B   JACQUELYN        BRYANT               GA          90007217211
3B4B7997155951   JANET            RENTERIA             CA          90011849971
3B4B79A937B639   JOSEPH           BELL                 GA          15075469093
3B4B835A841258   JOSEPH           OLASIN JR            PA          51084233508
3B4B8A76A2B871   CATHY            ORTEGA               ID          42069750760
3B4B9347A7B639   JILLIAN          PRICE                GA          90013703470
3B4B956338B16B   MICHELLE         OLSEN                UT          90001875633
3B4BBA38972496   CHARLIEANN       VANORSDALE           PA          90002440389
3B51143949713B   DARCIE           MCMURRY              OR          90013604394
3B51147942B871   ANTONIO          QUINTERO             ID          90009174794
3B51167AA51369   STEVEN           LYNN                 OH          90014986700
3B5116A1598B23   TIFFANY          TUCKER               NC          11066666015
3B5117A5777539   JAVIER           ESPANA-BARAJAS       NV          90011727057
3B511897A55951   ANGELINA         DELEON               CA          90009708970
3B511929791584   ROSA             MELVIN               TX          75052149297
3B511AA368B166   MIGUEL ANGEL     PEREZ SERRANO        UT          90008720036
3B512175777539   MARIA            RODRIGUEZ            NV          90013951757
3B5123A282B835   ATANASIO         ORTIZ                ID          90008573028
3B51251A551339   JIMENEZ          JUAN                 OH          66069265105
3B51278475B281   BRETT            ROGERS               KY          90014907847
3B51283728B16B   MANUEL           MARTINEZ             UT          90013268372
3B513167954165   CHERYL           RATTENBORG           OR          90002621679
3B51321722B835   ROSE             PETERSON             ID          90010692172
3B51362768B166   JARED V          THACKER              UT          90004386276
3B5142A5441285   JEVONNE          SCOTT                PA          90013942054
3B514758677539   JESSE            ROBINSON             NV          43094957586
3B51478555B344   MYLA             RECHIREI             OR          90003177855
3B51489519713B   JULIO            TAPIA                OR          90013588951
3B51489675B52B   FERENNENA        GOMEZ                NM          35063888967
3B514916251339   LEIGHA           MCINTOSH             OH          90002339162
3B514A4592B93B   CARLOS           VARGAS               CA          90013110459
3B514A82691831   DONOVAN          OSSMAN               OK          90012750826
3B51523587B639   RONALD           TUBBS                GA          15056502358
3B51532838B166   BRENT            WARREN               UT          31049113283
3B515472772441   CHRISTOPHER      LOPEZ                PA          90011774727
3B5159A739713B   LORENA           TORRES               OR          90013589073
3B515A72861963   ERIC             RIVERA SALAZAR       CA          90011460728
3B51628A451369   TERRANCE         POWELL               OH          90014612804
3B516816A91831   GILVERTO         RODRIGUEZ            OK          90013988160
3B51686885B281   LAUREN           BAKER                KY          90007348688
3B516917876B89   ROGELIO          CRUZ                 CA          90010229178
3B51699955B393   RANDY            TAUFFER              OR          44506989995
3B5171AA97B639   SYLVESTER        PATTON               GA          90012031009
3B51723525B281   BETTY            BRANNON              KY          90013692352
3B517433341277   JENNIFER         BRUCE                PA          51014524333
3B51749922B871   JONA             COCHERN              ID          42031324992
3B517556991831   ROBIN            BARNETT              OK          90015455569
3B517654847931   MARINA           GUEVARA              AR          90014806548
3B517821A91356   SHAWN            WEISHAUBT            KS          90015178210
3B518189651369   THOMAS MATTHEW   KIRKLIN              OH          90011601896
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3B518239254165   KAREN        LOVELL                   OR          90003392392
3B51832A691584   SANDRA       SIDES                    TX          75052163206
3B51863837B495   PAMELA       BRADFORD                 NC          90002056383
3B51864585B281   ANITA        SIMPSON                  KY          68053626458
3B51937762B28B   RONDELL      SILVERS                  DC          90010313776
3B519493491584   ALEJANDRA    DE HARO                  TX          90010504934
3B519693772496   VIRGINIA     LAYTON                   PA          51068506937
3B519823491356   SARA         CHEYNEY                  KS          29053598234
3B51B18358B162   VICTORHUGO   CORDERO                  UT          90008241835
3B51B279A76B89   DAYSY        TOLEDO                   CA          90010702790
3B51B55148B162   LUIS         MOSCOSO                  UT          90014185514
3B51B591772496   FLORENDA     CAVALIER                 PA          51079535917
3B51B631555951   MARTIN       CERVANTES                CA          90010126315
3B52159A95B393   JEFFREY      ADAMS                    OR          44512975909
3B52173135B52B   DOMINIC      OTERO                    NM          35005697313
3B522158661963   CHELSEA      GRIGSBY                  CA          90014501586
3B522492572496   TRAVELLE     STONE                    PA          90009584925
3B52282A58B162   JODI         RAULSTON                 UT          90002848205
3B5229A5672B33   AMADO        GAONA-DIAZ               CO          90012619056
3B52333294B943   DEAN         LEWIS                    TX          90013693329
3B523459A72496   JENNIFER     THOMAS                   PA          51050554590
3B523623455949   ALVARO       DAVALOS                  CA          49001016234
3B52362664B943   JOSE         GUTIERREZ                TX          90003166266
3B523852641258   ASHLEY       SIMON                    PA          51078638526
3B523A76547931   JAMES        RILEY                    AR          90006140765
3B52432215B156   TANYA        PATTON                   AR          23098013221
3B524459A72496   JENNIFER     THOMAS                   PA          51050554590
3B52452534B281   SARAH        SEWELL                   NE          27091375253
3B524873891356   TARAH        SCOTT                    MO          90014888738
3B52539697B449   NICOLE       BARKSDALE                NC          90010503969
3B5255A1691584   MAYELA       DE JESUS                 TX          90010505016
3B52567312B559   ROB          MCCLENDON                AL          90014096731
3B52569775B52B   ISABEL       ALVARADO                 NM          90014726977
3B52573114124B   KELLIE       POLLITT                  PA          90013867311
3B526126A91831   OLLINKA      GREEN                    OK          90007851260
3B526531A8B16B   MICHELLE     JENSEN                   UT          31062305310
3B52666284124B   NANCY        POELLOT                  PA          90006026628
3B526A25855951   CRAIG        CLEIM                    CA          90006290258
3B526A5475B344   JANIO        PIKE                     OR          90009370547
3B5271A378B166   JASON        MIKESELL                 UT          90011001037
3B527586141277   GINA         LLOYD                    PA          51000265861
3B527592A2B871   EVA          PEREZ                    ID          90013225920
3B527A3A555963   CHANOA       LYNN                     CA          90009330305
3B528459651369   LEONARDO     HERNANDEZ                OH          90011294596
3B52864218B16B   SUSAN        MASON                    UT          31001196421
3B528671155949   TROY         MCCRAW                   CA          90014976711
3B528A21A47931   KENNETH      KNOTTS                   AR          25046770210
3B528A79955949   TROY         MCCRAW                   CA          90014100799
3B529142254165   ERIK         VESSEY                   OR          90012191422
3B529365677544   MARIA        MORA                     NV          43012553656
3B52942A35B593   DAN          FRIAS                    NM          90015034203
3B52949552B87B   NORHTWEST    SECURITY                 ID          90012674955
3B52954478B162   JOSEF        HARDESTY                 UT          90014725447
3B52956632B871   CHRIS        MONRO                    ID          90010555663
3B5295A6341285   BRITNEY      BERRY                    PA          90003045063
3B52971867B639   OTAVIA       THOMAS                   GA          90013697186
3B52972A255951   ROSA         ESPINOZA                 CA          90012137202
3B52988315B156   PATRICIA     ADAMS                    AR          23073658831
3B52B33A841285   DIAMOND      WATTS                    PA          90012903308
3B52B46725598B   SANGALOUN    KEOPHALY                 CA          90014034672
3B52B5A955B156   MICHAEL      SCROGGINS                AR          23025635095
3B52B94A12B93B   ALICIA       CHANEY                   CA          90002879401
3B52B97782B835   MARK         DAVIS                    ID          90009099778
3B52BA21A47931   KENNETH      KNOTTS                   AR          25046770210
3B52BA72391831   NORMA        MUNOZ                    OK          21021140723
3B531133872B27   ALONDRA      MACHORRO                 CO          90014721338
3B531271A72496   DEBI         FRETTS                   PA          90011872710
3B53146A655972   FREDDY       CALEDERON                CA          90015134606
3B531524647931   SALOME       KIBIN                    AR          90014815246
3B53153617753B   ARMANDO      CARDENAS                 NV          43098155361
3B53157492B835   SHEILA       REYNOSO                  ID          90008105749
3B531912291831   MELISSA      WILLIAMS                 OK          90013169122
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3B53244614124B   DAVID           ROBERT ARLOTTA        PA          90010204461
3B532776555951   RODULFO         DONATE                CA          90011617765
3B53284132B28B   CONNIE          MUSHETTA              DC          81092618413
3B53291747753B   PABLO           ANDRADE               NV          43056549174
3B533164372B33   LES             KUMFERMAN             CO          90006401643
3B533921954165   STEVEN          SZIBER                OR          90010799219
3B533A4232B87B   RAYMOND         PEREZ                 ID          90014270423
3B534142177544   CYNTHIA         HERNANDEZ             NV          90014701421
3B534749591831   DEBORAH         DAVIS                 OK          90015167495
3B53511424124B   YOLONDA         GREENE                PA          90010851142
3B53512969713B   NICK            WITTER                OR          90013591296
3B535193591356   STACI           WOODEN                KS          29037381935
3B535264431424   AMANDA          SMITH                 MO          90015342644
3B535684355972   MARTIN          RODRIGUEZ             CA          90009686843
3B535943251865   ASHLEY          HOSIER                NY          90015399432
3B536127591538   LUIS            MONTOYA               TX          90001941275
3B53622AA33625   CHRISTOPHE      OMOTI                 NC          17084332200
3B53655784B281   FAUD            BURALE                NE          90012055578
3B536626972B24   AMIN MOHAMMAD   ALTWIL                CO          90004626269
3B536647A47931   MARK            OGIELA                AR          25020126470
3B536712855951   AMANDA          PALOMARES             CA          49038547128
3B536755731424   MICHAEL         LANG                  MO          90013967557
3B53693815B156   LAMONTE         YOUNG                 AR          90015279381
3B537144A77539   SHAWNA          JONES                 NV          90012801440
3B537181A4B943   JOANNA          LOPEZ                 TX          90014811810
3B537265355949   DAHNASHA        LAVENDER              CA          90007412653
3B53756435B156   JOSE            LOPEZ                 AR          90011885643
3B53826195B277   REBECCA         FULTZ                 KY          90008572619
3B53867867B449   ANDY            ADDAI                 NC          90010526786
3B53881AA77539   MARIA           TORRES PENA           NV          43048428100
3B53888752B93B   SURESH          DIYAL                 CA          90012898875
3B538964191356   NICOLE          HILL                  KS          90012279641
3B5392A915B156   LATOYA          WARD                  AR          23045612091
3B539579257153   ALMA            ALVAREZ               VA          81025045792
3B539686131424   CASONYA         THOMPSON              MO          27561116861
3B53973664B943   MARENA          CRUZ                  TX          90013697366
3B53979765598B   DE VANYE        DAVIS                 CA          90010707976
3B539815455972   JONATHON        WECKWORTH             CA          90009928154
3B53985918B162   COLTON          PETERSON              UT          90012538591
3B539A22741258   KACEY           STREBA                PA          51088100227
3B53B83547B449   JOSEFA          FAJARDO               NC          90007018354
3B53B87684B281   JOSE            ORTIZ                 NE          27012908768
3B541396477544   VERNON          HEATER                NV          43035813964
3B541435491584   HALL            ARLIS                 TX          75061814354
3B5414A254B943   LASHONDA        BROWN                 TX          90011994025
3B54157675B52B   MIRINDA         GERBER                NM          90001775767
3B541726476B89   ANAHI           DAMACIO               CA          90013927264
3B54185617753B   RAY             FORD                  NV          43037428561
3B54195725B344   ICELA           HUESCA                OR          44533779572
3B541A8277B395   MARINA          SANCHEZ               VA          90009430827
3B54225845B156   TIMOTHY         DARVILLE SR           AR          23044702584
3B542878A5B393   STEVE           NELSON                OR          90004998780
3B542937957153   CHRISTOPHER     WASHINGTON            VA          90007209379
3B54315A85B393   MELISSA         TURNER                OR          90006131508
3B543A2552B93B   CARLOS          IBARRA                CA          90012870255
3B54412439713B   DARLA           DUNHAM                OR          90005601243
3B54427AA5B156   SHALEE          KIMES                 AR          90011002700
3B54438A77B43B   DELORIS         HERBIN                NC          11008773807
3B54449555B156   SHALEE          KIMES                 AR          90012124955
3B54451297166B   MACARIO         FRANCO                NY          90015475129
3B54479A851339   PHYLLIS         VENTERS               OH          90013317908
3B5452A5347931   DONALD          REDDEN                AR          25038292053
3B54572814B943   PAULA           WILIAMS               TX          76592247281
3B545A8567B639   CANDACE         WILLIAMS              GA          90005170856
3B546241154165   MARIBEL         SOTELO                OR          47036012411
3B54662878B162   OSCAR           CABALLERO             UT          90002586287
3B546832461963   MENDOZA         RAMOS                 CA          90000278324
3B546847947931   EDUARDO         MEDINA                AR          90013318479
3B54691295B281   LISA            WINGATE               KY          90013399129
3B54724235B393   MELANIE         CREEL                 OR          44579682423
3B5477A218B162   TERESA          CHAZEV                UT          90013097021
3B548383A7B471   DAVID           LUNA RIOS             NC          90012073830
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1876 of 2500


3B54841A78B16B   IRMA           SUSTIATA               UT          90006054107
3B5485A597B473   RASHIDA        REDIC                  SC          90001915059
3B548852641258   MISTY          CASTNER                PA          90014108526
3B54896528B162   AARON          SINKS                  UT          90011669652
3B54917625B344   RACHELLE       FLINT                  OR          44593621762
3B549357891831   EDEL           PITTS                  OK          90009083578
3B54B11665B156   WALTER         MACK                   AR          90014711166
3B54B139391831   DENELL         ARNOLD                 OK          90010241393
3B54B1A4172B76   LEO            GUTIEREZ               CO          33091241041
3B54B492A77539   LINDA          DELVALLE               NV          90014164920
3B54B8A6751578   MARY           ALLOBA                 IA          90012048067
3B54B986476B89   KATHRYN        ROCHAMBEAU             CA          90012879864
3B551117155949   GE             YANG                   CA          49004731171
3B55192498B162   KAREN          HOWE                   UT          90010799249
3B55243514B281   DARREN         JOHNSON                NE          90000494351
3B55267362B835   KRISTEN        HORN                   ID          42068016736
3B553423891356   MISTY          STEWARD                KS          90011854238
3B55349A976B89   MARINA         ROSAS                  CA          90012084909
3B55357744B943   ARMESHA        PALMER                 TX          90014765774
3B55473227B639   NASHAWN        HARRIS                 GA          90011267322
3B55478179156B   JORGE          TORRES                 TX          90013487817
3B554A3447753B   KARINA         LOPEZ                  NV          90012330344
3B554A5A557153   ELVIS          JOYA                   VA          90007210505
3B555548141258   SHAWNCIE       HENDERSON              PA          90013255481
3B555575772B2B   JEANETTE       BROUSSARD              CO          90006795757
3B555618372B76   ELENA          VASQUEZ                CO          33047966183
3B555797A5B344   SALVADOR       SANTELLAN              OR          44572967970
3B55628714B943   JESSIE         GARICA                 TX          90014932871
3B556328677544   ZAKIA          KNIGHT                 NV          90012823286
3B556586555951   JOSE           CONTRERAS              CA          90014765865
3B556915261957   TODD           GOSLIN                 CA          90013319152
3B55692488B166   DEE            DANEL-ONEAL            UT          90009339248
3B556956784368   MIREYA         HERNANDEZ              SC          90004699567
3B55718278B162   RACHEL         PICKETT                UT          90011401827
3B557232455951   ALIANA         COVARRUBIAS            CA          90011602324
3B55743615B52B   SHILOH         HUDDLESTON             NM          90011974361
3B557888197137   FERNANDO       HERNANDEZ              OR          90012668881
3B5578A3172B24   GERALD         LYNCH                  CO          90013518031
3B557912291831   MELISSA        WILLIAMS               OK          90013169122
3B557A3618B16B   MARK           JOHNSON                UT          31068540361
3B55815348B166   SONJA          LOKEN                  UT          90007061534
3B558281254165   ERIC           RAMEY                  OR          90015172812
3B558647351339   DESHANNON      SHEARER                OH          90014856473
3B55873517B425   LINIAH         HAND                   NC          11068847351
3B558848A8B162   BECKY          JENSEN                 UT          90012508480
3B55918A87B639   AKAVIA         JOHNSON                GA          15000201808
3B55953AA51369   AMBER          JAMES                  OH          90011295300
3B55959497753B   VANESSA        VIRGEN                 NV          90013175949
3B559781691831   TENECIA        COCHRAN                OK          90008327816
3B559899876B89   SERGIO         RIVAS                  CA          46092578998
3B55B115741285   RANDY          TRORTTER               PA          90013231157
3B55B22195B52B   REGINA         FIGUEROA               NM          35034362219
3B55B8A7741258   LEAH           CHARLES                PA          51046348077
3B55BA4577B471   TARA           HOPKINS                NC          90013480457
3B561499833B81   ROSETTA        CIANO                  OH          90013844998
3B5615AA755972   KORINA         GALAVIZ                CA          90013125007
3B561762491831   REBEKAH        HOLLOWELL              OK          21048097624
3B56212A95132B   JUSTIN         SCHULTIAN              OH          66090181209
3B56234992B835   KANDIS         HOYT                   ID          90001163499
3B5623A158B162   EDDIN          MEDRANO                UT          90012393015
3B563365A55951   MARTHA         SILVA                  CA          49083343650
3B56435299713B   TONY           STOTTLER               OR          90013593529
3B56441585B344   VICKI          SANDERSON              OR          90014744158
3B564748672496   ALICEON        STRICKLER              PA          90001667486
3B564871355949   JAVIER         CONTRERAS              CA          90011168713
3B564986A4B281   LITTLE LAMBS   DAYCARE                NE          90011509860
3B564A24384368   CARLA          QUITERIO               SC          90013340243
3B5652AA98B16B   ANDREA         RENE CLIPPINGER        UT          90007712009
3B56573A977539   JUAN           ZUNIGA                 NV          90015177309
3B56628944124B   THOMAS         LOLLO                  PA          51030572894
3B5663AAA84368   MARIA          ROQUE                  SC          90002663000
3B56641114B943   MARGARITA      GUERRERO               TX          90009954111
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3B567411777544   WALTER       JACKSON                  NV          90014834117
3B56748268B16B   ALYSON       PETERSEN                 UT          31039324826
3B56762157B471   RHONIQE      MISSOURI                 NC          90007556215
3B56798875B281   DAKOTA       GIBSON                   KY          90014089887
3B5679A7451369   AMANDA       VEST                     OH          90006119074
3B568119A2B93B   DIANA        LIZARRAGA                CA          90012811190
3B56816225B156   MELICIA      MOSSON                   AR          23092591622
3B56859924124B   DAPHNE       KWOLEK                   PA          51091615992
3B5685A192B835   AMANDA       ENNIST                   ID          42076695019
3B568684A55949   LIZ          ROGAS                    CA          90013976840
3B568838677539   ALEXANDER    MOORE                    NV          43008588386
3B568A22141277   MARVIN       HERREN                   PA          90009410221
3B56929964B943   THOMAS       DUNCAN                   TX          90014812996
3B569338351339   ARYN         SHEPHERD                 OH          90013773383
3B56959574B943   AVIS         LAMOTTE                  TX          90013715957
3B569918893768   CHRIS        MONTGOMERY               OH          90003319188
3B56B21718B162   SHANE        SAMANIEGO                UT          90006662171
3B56B285A5B393   SKIP         MCROBERT                 OR          90006992850
3B56B681A55949   ROBBIE       THARPE                   CA          90014826810
3B56B721961963   JOYCE        HAWKINS                  CA          90014737219
3B56BA36991831   ROBIN        ESTES                    OK          90014000369
3B571357876B89   JOSE         VERDUGO ROBLERO          CA          46072853578
3B571559284368   JORGE        DOMINGUEZ                SC          90005645592
3B57159547166B   JOHN         GETMAN                   NY          90015395954
3B571852891356   NICOLAS      CAMACHO                  KS          90013988528
3B572336184368   DONAVON      SCHMIDT                  SC          90002313361
3B572385377544   SONIA        LEMUS-MONZON             NV          90014683853
3B572755961963   MARGARITA    OROPEZA                  CA          90014737559
3B572957872B24   ARACELY      ANCHONDO                 CO          33016009578
3B572A4552B93B   NAYELI       MAGADAN                  CA          90012090455
3B572A55651369   AIMEELEIGH   MULLINS                  OH          66035490556
3B573252391584   SILVIA       HERNANDEZ                TX          75017122523
3B57368814B943   LOUIS        COLE                     TX          90013716881
3B573849757153   GUILLERMO    AMAYA                    VA          90007218497
3B573A4242B87B   PAYGO        IVR ACTIVATION           ID          90013200424
3B57468947753B   MAGDALENA    ZEPEDO                   NV          43088796894
3B574693A2B835   VICTORIA     MEDRANO                  ID          90012656930
3B57613662B93B   JESUS        ESPINOZA                 CA          90013111366
3B57651785B156   YOLANDA      BELL                     AR          90005095178
3B576556631424   DAVID        TOWNSEND                 MO          90011665566
3B576A4A341455   FELICIA      MCCOATS                  WI          90010290403
3B577395991831   MICHAEL      MILLS                    OK          90014263959
3B577AA5191356   KATHLEEN     MCCREADY                 KS          29084450051
3B57843AA72455   BEN          BEIGE                    PA          90012394300
3B579174A55951   ADRIANA      ZAVALA                   CA          90010181740
3B579417933B88   LAKEA        CLARKE                   OH          90009904179
3B579526172B76   CSTILLO      MANUUELA                 CO          33084475261
3B579548A2B93B   JENNIFER     GUITERREZ                CA          90014245480
3B579662A61963   JONATHAN     MUSSMAN                  CA          90013286620
3B579A72872B24   BRANDY       SAILAS                   CO          33003820728
3B579A9264124B   JOSIE        CARROLL                  PA          90005960926
3B57B34AA7B639   DIANE        MCCOY                    GA          90013933400
3B57B394951339   ASHLEIGH     FORBES                   OH          90014563949
3B57B71395598B   CHRISTI      CECIL                    CA          90001387139
3B57BA1A977539   JOSE         GUTIERREZ                NV          43056960109
3B581662691831   KYLE         WILLIAMS                 OK          90014956626
3B582376161557   OSCAR        LUNA VERA                TN          90015363761
3B58262648B162   NATHAN       KINSEY                   UT          31013076264
3B58285A741285   ANITA        MITCHELL                 PA          90015088507
3B582912191831   SHAWN        WILLIFORD                OK          90011819121
3B583145A47931   LARRY        CLAY                     AR          90011071450
3B583148791584   EVELYN       RODRIGUEZ                TX          90010991487
3B583623255972   ROBERT       VASQUEZ                  CA          90010066232
3B58452564B943   AARON        AUZENNE                  TX          90009225256
3B584754A8B16B   DIANA        ZARATE                   UT          90014557540
3B584866447931   CHAROL       KELLEY                   AR          90015038664
3B584887176B89   JUSTIN       ANTONIO                  CA          90013038871
3B58554A755949   ANTONIA      BENITEZ                  CA          90011105407
3B58576117753B   CHELSEA      HUBERT                   NV          43078437611
3B586174A55951   ADRIANA      ZAVALA                   CA          90010181740
3B58647354124B   DENISE       BEAM                     PA          51075034735
3B586546547931   ARTHURO      ROMERO-HERNANDEZ         AR          25094155465
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1878 of 2500


3B586558277544   MARIA        MENDEZ                   NV          90010595582
3B58671867B639   OTAVIA       THOMAS                   GA          90013697186
3B5869A482B871   KATY         BENSON                   ID          42044249048
3B587169741277   ROGER        MILLER                   PA          90014511697
3B587243491584   MARIA        DOMINGUEZ                TX          75035492434
3B5872A662B87B   DERECK       PERRY                    ID          90009972066
3B58731435B546   JESSICA      SANCHEZ                  NM          90003573143
3B58746372B93B   KARIN        MENDOZA                  CA          90013204637
3B58785698B162   MARCK        BONIFACIO                UT          90014188569
3B587A58277539   SAMANTHA     PENMAN                   NV          43059150582
3B588493971943   MARIA        DOMINGUEZ                CO          90001234939
3B58854A48B16B   DOLORES      RAMIREZ                  UT          31015595404
3B588663885995   MICHELE      JACKSON                  KY          67082916638
3B588712172496   DEANNA       SHOWMAN                  PA          51072347121
3B588741841258   DALE         MOORE                    PA          51086707418
3B58912162B87B   ESPERANZA    MARTINEZ                 ID          90010821216
3B58919A977544   JOSE         FERRER                   NV          90006161909
3B589292551339   ALAN         RICHMOND                 OH          90014302925
3B589632972B76   KRISTI       COLLIER                  CO          33087506329
3B5896A6255951   ASAEL        AGUILAR                  CA          90014766062
3B58975487753B   CURT         TORVICK                  NV          43023127548
3B589763A76B89   ESTHER       LEAL                     CA          90014437630
3B58B243672B34   LYNN         HAWKINS                  CO          90011942436
3B58B515547931   JARVIS       SMITH                    AR          90007795155
3B58B73512B87B   ESPERANZA    TERAN                    ID          42083337351
3B58B79898B162   YACQUELIN    PASCUAL                  UT          90014187989
3B58B936273221   JAVIER       KIROS                    NJ          90014379362
3B58B95685B52B   MARK         GLERUP                   NM          35081679568
3B59129994B281   LEKIA        WILLNER                  NE          90012242999
3B59149928B16B   MICHAEL      FERGUSON                 UT          90014254992
3B591842551339   ROBYN        FOX                      OH          90004938425
3B591A9215B344   KARLIE       SETNIKER                 OR          44546410921
3B59245885B393   BRIAN        BONNER                   OR          44515054588
3B59284515B344   LEMUS        DE RODAS                 OR          90013218451
3B59284A57B471   TENIKA       SIMPSON                  NC          11052528405
3B59285988B162   NANCY        MINER                    UT          90014188598
3B59293A472496   ELIZABETH    SWOPE                    PA          51014609304
3B59298617753B   ANITRA       WILSON                   NV          90005129861
3B59312364124B   WALTER       BENJAMIN                 PA          90011201236
3B59313213B152   TOWANDA      COATES                   DC          90013031321
3B59318687753B   JAMES        BETTIS                   NV          43070831868
3B593225676B89   MIRIAN       HALE                     CA          90007932256
3B5935A6491356   HELEN        OBI                      KS          29066165064
3B593661351369   KASEY        DROTAR                   OH          90003016613
3B593684472496   GERALD       THORPE                   PA          51009816844
3B59391764B544   JOY          DAVIS                    OK          90004529176
3B59445365598B   MELANIA      VARGAS                   CA          90014764536
3B594597191356   JOHN         BLACKETT                 KS          29001325971
3B594616155949   ALEJANDRO    LOPEZ                    CA          90010036161
3B59479465598B   LAKRISHA     DARKS                    CA          90013787946
3B59482272B93B   DEBBIE       CRUZ                     CA          90007368227
3B594951771921   KRISTA       KELLY                    CO          32099479517
3B594A44A5B393   CHAZ         CHANCEY                  OR          90014640440
3B59544A372496   ROXANN       FRONIUS                  PA          90014814403
3B595697355972   ROCIO        DURAN                    CA          90007696973
3B5956A8461963   ROSA         MITCHEL                  CA          90006276084
3B595761A4B943   NICOLE       LUZINSKI                 TX          90013917610
3B59583A79713B   ALEJANDRO    SILVA                    OR          90013598307
3B596598941285   LORI         CALHOUN                  PA          90001105989
3B5969A737B43B   SHAWN        GRADY                    NC          90003329073
3B59712758B162   MARIA        ROSAS                    UT          90001451275
3B59721A741285   CHRISTOPHE   DAVIS                    PA          90001282107
3B5972A667B471   PEGGY        BITTLE                   NC          90013812066
3B59755585B393   DANIELLE     LANEY                    OR          90003095558
3B59778592B93B   HECTOR       CONTRERAS                CA          90015487859
3B59795234124B   GEORGE       LANTZY                   PA          90003069523
3B597A88772B24   ARLYN        GONZALEZ                 CO          33033810887
3B598513661963   MARIA        OROZCO                   CA          90011895136
3B59857445593B   SEASON       ELLIS                    CA          90006705744
3B598653455949   FLOR         ANGUIANO                 CA          90009776534
3B598929354165   JAMIE        MARTINEAU                OR          47038989293
3B599235447931   SERGIO       PEREZ                    AR          90015042354
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3B59947437B639   PEDRO       RAMIREZ                   GA          90013934743
3B599485241258   LEILANI     MICHELL                   PA          51063664852
3B5994A454B943   VALERIE     WHITE                     TX          76509884045
3B599611655951   ARTHUR      ESCARSEGA                 CA          90014766116
3B59978857B639   DARRIAN     WRIGHT                    GA          90010657885
3B59996572B93B   MATT        RUBIO                     CA          90008039657
3B599A72484368   WAYNE       MCKNIGHT                  GA          14570340724
3B59B4AA351339   IZERIA      MCCULLER                  OH          90014714003
3B59B52528B16B   BRITTANY    HEGERHORT                 UT          90004215252
3B59B62A877539   MAX         PROVINO                   NV          90012356208
3B5B11A4751369   JOSE        SANTIAGO-PEREZ            OH          90013031047
3B5B125A64B943   HERMAN      CABALLEROS                TX          76572692506
3B5B1394136B77   LEVI        EGGERT                    OR          44590163941
3B5B14A2541258   VALERIE     RAMAGE                    PA          51063124025
3B5B156835B393   SHAWN       GRAIFF                    OR          90013965683
3B5B1934977539   LYDIA       GOMEZ                     NV          43010379349
3B5B223994124B   HELENA      COTTON                    PA          51013472399
3B5B288924B281   ASHLEY      WHEELER                   NE          90006798892
3B5B2A66172B76   GREGORIO    MIRANDA                   CO          33048560661
3B5B345345B52B   NATASHA     STEPHENS                  NM          90012824534
3B5B39A4977544   RAFAEL      BELTRAN                   NV          90004679049
3B5B41A135B156   VEXTER      MADISON                   AR          23069161013
3B5B433A861963   AREK        TAYLOR                    CA          90011413308
3B5B46A489713B   MARISSA     TETER                     OR          90013586048
3B5B4A7118B16B   KATHERINE   TREE                      UT          31092660711
3B5B5586251369   NICKI       BROWNING                  OH          90014175862
3B5B5653155951   PAULA       STAFFORD                  CA          90006866531
3B5B5788A7B471   MINDY       MACON                     NC          90012427880
3B5B592A231424   DOUGLAS     WAMBU                     MO          90013789202
3B5B6246855951   VANG        YENG                      CA          49013012468
3B5B6328677544   ZAKIA       KNIGHT                    NV          90012823286
3B5B6533161963   TOM         HAYES                     CA          46099025331
3B5B65A6677544   ZAKIA       KNIGHT                    NV          90013945066
3B5B6763355972   NIKKI       CREE                      CA          48027837633
3B5B715955B393   LUISA       MARTINEZ                  OR          90003121595
3B5B7439A55949   SANDRA      GARCIA                    CA          90001634390
3B5B7912A41285   EDWARD      STARR                     PA          51031149120
3B5B7A4785B52B   JULIE       JACOB                     NM          90013450478
3B5B8175777539   MARIA       RODRIGUEZ                 NV          90013951757
3B5B8A51751339   CHRISTINA   BOWLING                   OH          90005800517
3B5B918438B16B   REBECCA     PRICE                     UT          31006631843
3B5B948A531424   TERRY       JONES                     MO          90011664805
3B5B957535B393   JESUS       RAMIREZ                   OR          44590725753
3B5B9845155972   ERNIE       FARIAS                    CA          90014548451
3B5BB17168B16B   STANLEY     ROBINSON                  UT          31007211716
3B5BB275455972   ELEAZAR     CASTRO                    CA          90010482754
3B5BB49312B87B   DENNIS      PONCELET                  ID          90015014931
3B5BB53359713B   JONICA      DODSON                    OR          90008915335
3B5BB832677544   JAYME       DRUMM                     NV          90010938326
3B5BB949672B76   MANUEL      AGUIRRE                   CO          33058359496
3B6111A184B943   BRIGIDA     SORIANO ZAMORA            TX          90013921018
3B611266255921   BLANCA      LERMA                     CA          49001562662
3B6112A544124B   JEVONNE     SCOTT                     PA          90013942054
3B611884A76B89   ROBERT      COSBY                     CA          90005438840
3B61195717753B   COLE        RICHARDSON                NV          43085849571
3B612585A5B393   ELISHA      MITCHELL                  OR          44576455850
3B612692155972   HOPE        URIAS                     CA          90013996921
3B612856572496   GEORGE      WINGROVE                  PA          51089748565
3B61297AA7753B   STEVEN      CURIEL                    NV          43042689700
3B612A5275B52B   MICHELLE    CANDELARIA                NM          90003290527
3B613397A2B93B   SUSANA      CONTRERAS                 CA          90014783970
3B613439A54165   STEVEN      AMSA                      OR          47024614390
3B6136A135B393   DANIEL      COHN                      OR          90014856013
3B613724841455   ESTEBAN     LABOY                     WI          90015487248
3B61421168B166   LUPE        QUEBEC                    UT          31082402116
3B61452662B93B   ARAM        MUSHIEKH                  CA          90007875266
3B6147A2991952   TAMMYE      COTTON                    NC          90000767029
3B614A5648B162   WENDY       KELLY                     UT          31013210564
3B61517337B639   JOSEPH      RISER                     GA          90012051733
3B615459254165   LAURA       CIEPLINSKI                OR          47028694592
3B6159A658B166   MEISHA      VANDERTOOLEN              UT          31085079065
3B615A8397B639   ANNE        PEZOLD                    GA          90014960839
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1880 of 2500


3B616197A76B89   HERMES         GARCIA RAMIREZ         CA          90010421970
3B616593347931   WENDY          WARREN                 AR          90007795933
3B61678814124B   SHAYLA         SMITH                  PA          90013937881
3B617198172B24   ANDREA         JESSEN                 CO          33034071981
3B617224531424   NAKESHIA       EDWARDS                MO          90008972245
3B617365191543   ALICIA         COLTRANE               TX          75097503651
3B617452355972   ANITA          PACHECO                CA          48000404523
3B61759347B639   ALISA          TARVER                 GA          90011175934
3B617A1678B16B   AMANDA ELIZA   BUNN                   UT          90009680167
3B617A9237B43B   OLEGARIO       CARDONA                NC          11004910923
3B61838A872B76   NICK           GREER                  CO          90010973808
3B61848287B639   YOMECA         BORDERS                GA          15013884828
3B61851582B835   PAOLA          PONCE                  ID          90015345158
3B6189A9831424   RICHARD        JONES                  MO          90014799098
3B618A92841258   IKUMA          OJOK                   PA          90006860928
3B61917797753B   RICARDO        ZARGOZA                NV          90014391779
3B6192A477B639   NADIA          JENKINS                GA          90005212047
3B61959978B162   TRACIE         BRANDOW                UT          31011425997
3B61969587753B   ANTONIA        BAUTISTA               NV          90015596958
3B61B73AA7B639   PAULNE         BATTLE                 GA          15085097300
3B621229A61963   LARRY          FAWCETT                CA          46008542290
3B621396655972   KATHERINE      SALAZAR                CA          90012543966
3B621414472496   ASHLEY         DILLS                  PA          90015104144
3B62195425B156   KRISTAL        COLLINS                AR          90010889542
3B622228151339   CHRISTINA      CHARLES                OH          90012452281
3B622413372B24   VELOY          SANDOVAL               CO          33065094133
3B622579561963   DAVID          ISREAL                 CA          90012405795
3B622911441277   JEFF           MEEHAN                 PA          51090699114
3B62294732B835   JACKI          CARLSON                ID          90013529473
3B622956472496   SHERRY         WILKES                 PA          90003689564
3B62296128B16B   JORGE          FERREIRA               UT          90012439612
3B623185977539   JUSTIN         WILLIAMS               NV          43082151859
3B623262777539   DALE           MCCOY                  NV          43078962627
3B624269857153   PETER          SANTIAGO               VA          90007242698
3B624364951339   MATT           HATTON                 OH          90014933649
3B624A87841285   MACK           HAWTHORNE              PA          90014480878
3B625213341285   PEARL          WALCH                  PA          90015112133
3B625356855951   MARILU         FRAUSTO                CA          90005063568
3B62552322B87B   VILLAFANA      RODRIGUEZ              ID          90001785232
3B625846391831   TERESA         WILSON                 OK          21056958463
3B62589255B281   MICAHEL        HARDY                  KY          90013288925
3B625A34541258   TAMMY          BOOTH                  PA          51081540345
3B626111755972   REYES          SALADA                 CA          90003661117
3B62617749713B   JOSEPH         LINGLE                 OR          90013601774
3B62627947B639   KEMIRA         WILSON                 GA          90013962794
3B6264A222B87B   SHAWNA         MCMULLEN               ID          90012564022
3B62664742B835   MARIA          LOPEZ                  ID          90013776474
3B6266A7691959   ANTONYA        LADSON                 NC          90015056076
3B626773991356   HAKEM          SOFIANE                KS          90010837739
3B626875576B89   AUDULIA        GARCIA SILVA           CA          90000168755
3B62744984B943   SIMONE         BELL                   TX          90015464498
3B627555551369   SARAH          GODBY                  OH          90013095555
3B627635155951   CHHIEANG       SAM                    CA          90014766351
3B62796A547931   MARTHA         GRANADOS-ZUNIGA        AR          25041019605
3B62798975598B   DEANNA         ALVAREZ                CA          90009839897
3B627A52A7B449   COREY          COLLINS                NC          11064340520
3B62825A361963   JAMES          BLACK                  CA          90011492503
3B62848952B87B   PATRICIA       BAIR                   ID          42057384895
3B6286A642B871   CRYSTAL        ODREN                  ID          90013226064
3B62878362B87B   PATRICK        SMITH                  ID          90010797836
3B628A7345B281   MARCUS         BENTLEY                KY          68040900734
3B62935415B344   ALICE          CALDWELL               OR          44597793541
3B62977A355949   GLENN          BURKE                  CA          49058277703
3B62B134792859   HARLEY         KIPENA                 AZ          90015121347
3B62B296641285   ERIKA          BERES                  PA          90014842966
3B62B57A454165   TRAVIS         BEASON                 OR          47088765704
3B62B744A91584   ALBERTO        AGUIRRE                TX          90009867440
3B63111355B156   ZACKERY        PRATER                 AR          90013461135
3B631255591893   RENEE          CORNWELL               OK          21076522555
3B63128795B52B   PATSY          GURREA                 NM          90013812879
3B63139374B943   VANESSA        SANCHEZ                TX          90013903937
3B6313A8941285   KRYSTAL        SILK                   PA          90014843089
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3B63166868B151    NATALYA       MCGEE                  UT          90001276686
3B631A7392B87B    CHELSEY       LAY                    ID          90013150739
3B63246194124B    LLOYD         JONES                  PA          51045814619
 3B632479691831   JOHN          BANKSTON               OK          90013224796
 3B632991861963   NATHAN        BENSON                 CA          90008239918
 3B633656551339   HARRY         DOUGLAS                OH          90013026565
3B63417515598B    LORRAINE      SETTLE                 CA          49065111751
3B6341AA391831    SARAH         BASTYR                 OK          90015441003
 3B634924155949   NICOLE        WALTERS                CA          49027849241
3B634A82677539    DAPHNIE       CHANDLER               NV          90008740826
3B6351AA277539    MARIA         ALCARADO               NV          43014801002
 3B635585161963   FILIBERTO     ROJAS                  CA          46014385851
3B635845A77544    JONATHAN      PADILLA-SAUCEDO        NV          90013938450
3B6359A715B591    MARIAH        MIERA                  NM          90010889071
3B635A54931424    DANIELLE      BENSON                 MO          90005590549
3B636153A5B281    DEVANTE       URBINA                 KY          90013131530
3B63622327753B    TOMAS         ESCOBAR                NV          90011942232
3B636249672B76    JASON         HACKBARTH              CO          33047262496
3B636A4544B943    CARLOS        AGUILERA               TX          90013950454
3B6372A695B52B    VICTORIA      GOLD                   NM          90011522069
3B63747227753B    MIGUEL        RODRIGUEZ              NV          90013534722
3B6375AA876B89    ALFREDO       CARRETO                CA          90012365008
 3B637632272496   THOMPSON      MINOR                  PA          90011576322
3B63776694B943    JAVIER        MARTINEZ               TX          90002527669
 3B637984155972   WAI           SEE                    CA          90012779841
3B63888814B592    BRENDA        PEREZ                  OK          90010398881
3B638A68977539    VANESSA       GARCIA                 NV          43069400689
3B638AAAA2B93B    KATHY         STAHL                  CA          45087180000
 3B639518341277   CRAIG         BROOKS                 PA          90014675183
 3B639738977539   ROSA          BARBOZA                NV          90012967389
3B63975675B281    MIKE          WISON                  KY          90011437567
3B63B158A91584    JULIA         PONCE                  TX          90010991580
3B63B56799713B    PEDRO         SANTOS                 OR          90011385679
 3B641216577539   KATY          CLONTZ                 NV          90009192165
 3B641448491933   RICHICO       HARTSFIELD             NC          90011674484
3B64192337B639    AMBER         JACKSON                GA          90014029233
3B6421A744B922    MARIE         GUSTAFSON              TX          90013511074
3B64253415B52B    SELENA        OROZZCOC               NM          90014825341
3B642792A55951    MARIA         MARTINEZ CARLOS        CA          90001827920
 3B642921831424   KIM           SCHNEIDER              MO          90015519218
3B64316797753B    SUSAN         A DAVIS                NV          90007741679
3B64317A12B93B    MANUEL        HERNANDEZ JR           CA          45025691701
 3B643182391831   TAMMY         WILSON                 OK          21056031823
3B64332A29125B    SHERRI        WILLIAMS               GA          90000433202
3B6433A1377544    JOSE          MELCHOR                NV          43018703013
 3B643648141277   DOROTHY       HIGGS                  PA          51086746481
3B64394328B16B    MARTINEZ      JOSEPH                 UT          31019899432
3B643A7222B835    JUSTIN        RAY                    ID          90014800722
 3B644246531424   KWAME         THOMAS                 MO          90013132465
 3B644434151339   BARRY         LOYD                   OH          90012894341
3B644879A5B393    JOANNE        HEADRICK               OR          90013258790
3B64546A655972    SALVADOR      COBARRUVIAS            CA          48064644606
3B64549744B547    ANTONIO       SAUCEDO                OK          21587204974
 3B645519155951   SONYA         MORALES                CA          90008575191
 3B645529891893   TERRY         CORNWELL               OK          90009765298
3B6455AA172496    WILLIAM       DESHIELDS              PA          51041965001
3B64563762B835    EDUARDO       NUNEZ SANCHEZ          ID          90011086376
 3B645652947931   TAMARA        GUICE                  AR          25002036529
3B64573A541258    TALEN         SIMMONS                PA          51018477305
 3B645937277539   YADIRA        LOPEZ                  NV          90014419372
3B64611482B87B    SHANE         LAMBERT                ID          42091261148
3B64623A551339    ELIZABETH     SHULZ                  OH          90014812305
3B64636195B52B    DEBORAH       KATZ                   NM          35059823619
3B64677965598B    BRENDA        LOPEZ                  CA          90010677796
3B646877A72B76    GUILLERMO     ULLOA                  CO          33096268770
3B646995472B23    ANTHONY       LUEVANO                CO          33004859954
3B64711775B344    KRIS          FREED                  OR          90015011177
 3B647234177544   LUIS          CALAMATEOS             NV          90011112341
3B648154A5B393    TOM           KEO                    OR          90014781540
3B6482A768B16B    LUIS          GAXIOLA                UT          90013132076
3B6482A935B52B    CHRISTOPHER   TAFOYA                 NM          90013622093
 3B648434777539   MATTHEW       LEAVITT                NV          90013854347
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1882 of 2500


3B6484AA57753B   VIVIAN        CAMACHO                 NV          90009634005
3B648526954165   JONATHAN      JOHNSON                 OR          47082185269
3B648612391831   RENEE         HEINERIKSON             OK          90007486123
3B6486A915B344   MARIA         HERNANDEZ               OR          44588146091
3B648815A5598B   IRAI          OREGON                  CA          90012998150
3B649145855949   ISABEL        CONTREAS                CA          90007611458
3B649225761963   ARCY          ALCANTARA               CA          90010212257
3B64949928B16B   MICHAEL       FERGUSON                UT          90014254992
3B649587377539   SANDRA        BARAJAS                 NV          90013955873
3B649A13772496   JUSTIN        AHLBORN                 PA          90013360137
3B64B319872B76   APRIL         MOCK                    CO          90005893198
3B64B322155951   MARIA         SANTOS                  CA          49060273221
3B64B81A25B156   TOMMY         LONG                    AR          90009058102
3B64B877191893   TONYA         PARTIN                  OK          21040028771
3B651186254165   NICOLE        DOHERTY                 OR          90005061862
3B651332372496   TALYSSA       KINLEY                  PA          90014173323
3B651744955949   CHRIS         GUZMAN                  CA          90010787449
3B652276991584   TANYA         DENSON-MOORE            TX          75063542769
3B652279877544   BRIAN         DASTILLO                NV          90015222798
3B652749425655   NATHAN        RIDDLESBURG             AL          90015307494
3B652772255949   ROMUALDO      RODRIGUEZ               CA          90014677722
3B65279268B162   JESSIE        QUINTERO                UT          90008447926
3B653344776B89   JOEL          VILLANUEVA              CA          46067753447
3B65361968B16B   CARINA        ZENTENO                 UT          90014816196
3B6541AA172496   JOHN          WILTROUT                PA          51046241001
3B654261657139   MELODY        PARKER                  VA          90008042616
3B654378754165   MICHAEL       ROYBAL                  OR          90013523787
3B654853A4B943   JENNIFER      BROUSSARD               TX          90006598530
3B654975161963   NANCY         PINTOR                  CA          90009099751
3B654A83341258   NORRIS        KELLEY                  PA          90013940833
3B654A94591356   NORMA         BOWREN                  KS          29059170945
3B655221155951   TYLER         PRYOR                   CA          90012892211
3B655355577539   GREGORY       CHATMAN                 NV          90011743555
3B655419577544   ELIZABETH     ANDREWS                 NV          43031104195
3B655684151369   ROSETTA       MCDOWELL                OH          90014606841
3B655A65291356   PEDRO         HERNANDEZ               KS          90001880652
3B65614512B87B   CARL          HOLMSTROM               ID          90013651451
3B65672347B639   KENYA         BARRON                  GA          90013697234
3B656A44177544   JAIME         CORONA                  NV          43026660441
3B656A8922B93B   LETY          FULTON                  CA          90011940892
3B65729385B393   STEVE         BLACK                   OR          90014832938
3B65761968B16B   CARINA        ZENTENO                 UT          90014816196
3B657642291831   DEMON         BOLT                    OK          90012136422
3B65789925B344   DIXIE         YAGLE                   OR          44571058992
3B65793369713B   DEANNA        CRICHTON                OR          90014169336
3B658387672496   APRIL         RICHTER                 PA          90014073876
3B65839988B162   SCOTT         TYLER                   UT          90010823998
3B658572147931   RYAN          MERSMAN                 AR          25071785721
3B659218371937   JUANITA       MEIROSE                 CO          90010842183
3B65938538B16B   KELSEY        KIMBALL                 UT          90012703853
3B659A72A4B943   ARTURO        VARGAS                  TX          90002280720
3B65B1A9861963   ALAN          CHERRY                  CA          46015371098
3B65BA8519713B   CHRIS         HINTZ                   OR          44567180851
3B661397572496   WESLEY        MATTHEWS                PA          90014913975
3B661757655972   ALBERTO       CHAVEZ                  CA          90014897576
3B66185737B449   DARLENE       WATSON                  NC          11069978573
3B66187745B344   CHRISTOPHER   PHILLABUM               OR          90012478774
3B661992841285   DIANNE        MOFFITT                 PA          90005729928
3B661A8974B943   RAUL          LARA CRUZ               TX          90013970897
3B662342A77539   ROBERT        GODFREY                 NV          90012553420
3B662471451369   SHAWN         RUTHERFORD              OH          66090114714
3B66273767753B   JAMES         LAMISON                 NV          90012947376
3B662A77177539   FUSTINO       SALAS                   NV          43077120771
3B662A81955972   SHUBHANGI     FAZALBHOY               CA          90015190819
3B66329A18B162   DON           RILEY                   UT          90007552901
3B663418755951   JENNIE        DIAZ                    CA          90014774187
3B66378A661963   ESTEFANI      QUIROZ                  CA          90012787806
3B663877376B58   MARTHA        AZPEITIA                CA          90013638773
3B663A5345B393   ISABEL        HARTSHORN               OR          90014230534
3B66413A891356   IRMA          CARERA                  KS          29089491308
3B664266431424   NATHAN        PORTER                  MO          90013132664
3B66481632B87B   VANESSA       BAILEY                  ID          90011408163
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3B665228941277   LEZLEE        HUNTER                  PA          51044442289
3B66544842B87B   IRENE         ACEVES                  ID          90011304484
3B665515831699   PAMELA        FORD                    KS          90005405158
3B665517A7753B   ERNEST        OTTOWA                  NV          90014985170
3B665668751339   BRITTANY      CAMPBELL                OH          90014916687
3B665A5A277544   TRACY         ROUND                   NV          43037220502
3B66612775B393   JON           WILKINSON               OR          90015191277
3B666224191893   RYAN          DENTON                  OK          21014612241
3B666956891543   GRACIELA      SANCHEZ                 TX          90011679568
3B666A22955972   DONIQUE       LOUIS                   CA          90001160229
3B66725A67168B   SANDRA        WINANS                  NY          52031632506
3B667299361963   TANIS         JONES                   CA          90014502993
3B66747317B639   JESSE         WORNEY                  GA          15021164731
3B667619472496   ROBIN         GEORGIANA               PA          51090886194
3B667878955951   CATOLINA      VELASQUEZ               CA          90002588789
3B66819A54B943   CHRISTOPHER   NAPIER                  TX          90013991905
3B6681A7955951   EDUARDO       MONTEJANO               CA          90004511079
3B66821725B52B   DANNY         MILLANO                 NM          90008582172
3B668574451339   DANIEL        BOWENS                  OH          90014365744
3B668852A91831   DUSTIN        RHEARD                  OK          90008868520
3B668884572496   SARAH         HIXSON                  PA          51009008845
3B668A91877544   HORTENCIA     CASTANEDA               NV          90002200918
3B669122A2B871   KAYLEIGH      WESCHE                  ID          90014791220
3B669156491356   NANCY         GATEWOOD                KS          29057451564
3B669254A8B166   LORIANN       JENSEN                  UT          31013082540
3B669384351578   GREG          LEWIS                   IA          90014013843
3B669531161963   DANNY         STERLING                CA          90014745311
3B66988A391584   BLANCA        TERRAZAS                TX          90011108803
3B66B352455951   ADRIANA       CRUZ                    CA          90011603524
3B66B364A5B344   ALFREDO       GONZALEZ                OR          44518113640
3B66B425657153   CHARLOTTE     GHANSAH                 VA          90002524256
3B66B555691584   BRIANA        RAMOS                   TX          90010505556
3B66B579851369   THERESA       PADILLA                 OH          90001865798
3B66B836751321   STEPHEN       HARVEY                  OH          90004728367
3B671483291543   VANESSA       GONZALEZ                TX          90004894832
3B671564691537   BEN           BASS                    TX          90007505646
3B67212658B166   DENNY         ANDERSON                UT          31047291265
3B672344884326   PHILICIA      WING                    SC          90009173448
3B672414A2B871   MARY          GUTIERREZ               ID          90010114140
3B672464455972   MANUEL        COELHO                  CA          48072534644
3B672512551339   MANUEL        BERROA                  OH          90012655125
3B672668191831   SHEONTEL      SCOTT                   OK          90014176681
3B672699A77544   JUAN CARLOS   LOPEZ                   NV          90011776990
3B6727A9151369   BENJAMIN      COMER                   OH          66055367091
3B672865676B89   JUANA         CARDENAS                CA          90014088656
3B673114661963   NAU           FLORES                  CA          90000481146
3B673115255951   LAURA         LEON                    CA          90014821152
3B673161231424   CARL          BROWN                   MO          90008501612
3B67348319713B   LAZARO        LOPEZ                   OR          90012374831
3B67364218B16B   SUSAN         MASON                   UT          31001196421
3B673685455949   LETICIA       SHAMMA                  CA          90013006854
3B67375342B871   BRIAN         HAGERTY                 ID          90014547534
3B673823855951   CRISTIAN      ARREDONDO               CA          90012818238
3B673846891356   CHRISTENSEN   MAXINE                  KS          90007638468
3B674258891893   VERONICA      DELEON                  OK          21082302588
3B674313241285   JOAN          MCGIVERN                PA          90013483132
3B674346877539   ANDRES        HENRIQUEZ               NV          43079803468
3B674378791356   ANGELA        VERDICT                 KS          90008953787
3B674483451339   ANDREW        AUGSPURGER              OH          90010784834
3B674689476B89   ANGELICA      ELIZALDA                CA          46071806894
3B674973431424   EDGAR         MATA                    MO          27533059734
3B67534825B592   CHAVEZ        VANESSA                 NM          90004423482
3B67556285B281   MICHAEL       GAGEL                   KY          90014955628
3B675A99A41258   KEN           WEBBER                  PA          90013710990
3B676386161963   DENISE        RIVERA                  CA          46014943861
3B67673555B281   ADIANEZ       SOLER                   KY          90013847355
3B676773A61963   JEFF          BUFFKIN                 CA          90013797730
3B676A2685B156   LACHER        BAKER                   AR          90005420268
3B67726364B943   TANISHA       WRIGHT                  TX          90003862636
3B67743115B393   ZACHARY       HOOPER                  OR          90008404311
3B67755A531632   DONNA         GILLESPIE               KS          90006265505
3B677A4815B156   KINA          MALONE                  AR          90010890481
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3B677A9A155949   FERNANDO     GOMEZ                    CA          49073400901
3B678452593768   MARY         HILL                     OH          90007264525
3B678643555972   NICOLASA     MENDEZ                   CA          90015076435
3B67864A477539   EDUARDO      MELENDEZ                 NV          90005366404
3B678738585681   JUAN         MENDEZ                   NJ          90001887385
3B678744477544   HILDA        MIRELES                  NV          90011727444
3B67889835B52B   BEATRIZ      VALENCIA-RIANO           NM          90015038983
3B679212961963   JOEY         RODRIGUEZ                CA          90004192129
3B679647A5B393   OLYVIA       BATSON                   OR          90012276470
3B679695777544   ROSALBA      CUADRA                   NV          90013846957
3B679941431424   JASMIN       COLLIN                   MO          90015519414
3B67B198272B76   ROBERT       HUGHES                   CO          33029321982
3B67B24624B943   JAVIN        WALKER                   TX          90008962462
3B67B32187B639   DEMETRIA     CURRY                    GA          15084343218
3B67B452572496   JACKNUEL     SANTOS                   PA          90013694525
3B67BA57984368   BEATRIZ      LAGUNAS                  SC          90008040579
3B68118142B93B   BRANDI       COSTA                    CA          90011661814
3B68169662B93B   GRACIE       SALAZAR                  CA          90013136966
3B681744861963   RONI         MAROOKI                  CA          46088787448
3B68185762B255   KEDDITH      BELL                     DC          90007798576
3B6824A9741258   MATTHEW      PALKA                    PA          90010194097
3B682632177539   JAMES        LYONS                    NV          90013956321
3B682689673221   JOSE         PINEDA                   NJ          90014376896
3B683228351339   WALDSEE      WEBBER                   OH          90010932283
3B683262A5B281   ISRAEL       RIZ                      KY          90014262620
3B683856151339   CHRIS        BAILEY                   OH          90012868561
3B684253A51329   NICOLE       FREEMAN                  OH          90013402530
3B68435AA51339   CARMEN       WATSON-STUCKEY           OH          90013923500
3B68475868B16B   ADRIANA      ANGUIANO                 UT          90013827586
3B68477772B87B   KRISTINE     BANEY                    ID          90014257777
3B685647991893   ANGIE        HOOVER                   OK          21089316479
3B68577267B43B   CHRISTOPHE   PEOPLES                  NC          11057327726
3B685879772496   MICHAEL      HABINA                   PA          90001438797
3B6859A572B28B   STEPHANIE    HENRY                    DC          90010599057
3B685A4152B871   MICAH        GRAY                     ID          42092540415
3B686191951326   LINDA        NSOMBI                   OH          66074991919
3B68685712B835   LEANDREA     TRIPP                    ID          42018398571
3B68686A85B393   ELSA         JUAREZ                   OR          90010658608
3B6868A4791831   JENNIFER     LANNING                  OK          90001288047
3B6868AA29125B   SIMONE       ALKOFER                  GA          90004838002
3B68695922B93B   JESSICA      PULIDO                   CA          45094709592
3B686975984368   MOISES       MORALES                  SC          90012799759
3B687168951339   SHIRLEY      WRIGHT                   OH          90004231689
3B6875A5741285   LESLIE       MARTINEZ                 PA          90015445057
3B687731672B24   NANETTE      MENDOZA                  CO          33008997316
3B68784594B943   CELEST       CLABON                   TX          90003468459
3B687968477539   CARINA       PEREZ                    NV          90015169684
3B6881A3392853   MICKIE       BALDERRAMA               AZ          90014651033
3B68822124B943   TAMMY        CHILOT                   TX          76574642212
3B688266591356   SANDRA       RIVAS                    KS          90003812665
3B6883AA136B77   RICARDO      ALONSO                   OR          44570023001
3B68847345598B   JESSICA      TORRES                   CA          90009434734
3B688676551369   TYRUS        BEACH                    OH          66066086765
3B68899785B344   BILL         SALLADAY                 OR          44544669978
3B689283977544   BILLY        GORDON                   NV          90001512839
3B689412755951   YESENIA      MARTINEZ                 CA          49010384127
3B68946417B639   ESTHER       HOOD                     GA          90004004641
3B68973A57753B   KRISTI       MEEDER                   NV          43055327305
3B689A49877539   STANLEY      GUTIERREZ-AREVALO        NV          43016620498
3B68B21638B162   MARIA        CRUZ                     UT          90006722163
3B68B323A72B76   JORGE        GONZALEZ                 CO          90001803230
3B68B462841258   LASHAUNA     BROWN                    PA          90014414628
3B68B69955B281   KAREN        MAGUIRE                  KY          68039556995
3B68B71A37753B   MARIA        COLATO                   NV          43097647103
3B68B7A934B943   DEMIQUA      SINGLETON                TX          90014757093
3B69125A851369   DENISE       HUNTER                   OH          90004742508
3B691521151369   KADISHA      MEIDNA                   OH          90014705211
3B69155915598B   TANELY       SANCHEZ                  CA          90002135591
3B69218554B943   JAMIE        LADAY                    TX          90014021855
3B6923A3277544   BRUCE        WALTZ                    NV          90014483032
3B692565561963   MIGUEL       RODRIGUEZ                CA          90014745655
3B692858A9713B   ANGELA       WITTER                   OR          90013608580
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3B69299567B449   RACHEL        CARTER                  NC          11014989956
3B692A19651369   JORDAN        PFLUEGER                OH          90014160196
3B692A31976B89   LILIANA       BASH                    CA          90000680319
3B693113A51369   AMANDA        JONES                   OH          90013231130
3B69354467753B   DELANA        THOMAS                  NV          90007585446
3B693668333625   ANITA         THORPE                  NC          90007116683
3B69378625B393   SHILOH        HOISINGTON              OR          44562547862
3B693882691831   LONNIE        HOPE                    OK          90005838826
3B693988372B36   PHILLIP       AKIN                    CO          90009089883
3B694125A51369   DERICK        ALLEN                   OH          90013391250
3B694253255951   GUADALUPE     HERRERA                 CA          90000822532
3B69425A851369   DENISE        HUNTER                  OH          90004742508
3B69436577753B   ROBERT        RICHTER                 NV          90010983657
3B69479A561963   JOHN          JOHNSON                 CA          90011217905
3B695317172455   STEVE         SCOTT                   PA          51022523171
3B69657657753B   ERIBERTO      BARRERA                 NV          43094595765
3B69662365598B   LEILANI       BURTON                  CA          90013706236
3B69685AA5B344   CLAUDIA       SOLANO ESTRADA          OR          90010938500
3B69686989713B   TINA          PILLIAS                 OR          90013608698
3B696A1265598B   LEILAIN       BURTON                  CA          49077220126
3B69728A28B162   JANET         RAMIREZ                 UT          90004772802
3B697568641258   DAWNE         WORKMAN                 PA          90009545686
3B697916A51339   DAVID         SALYER                  OH          66039999160
3B698299391232   LAKISTA       TUKES                   GA          90014452993
3B69832A17B639   PAULA         CHAMBLISS               GA          15000833201
3B698523A5B344   JENNIFER      RABELLIZSA              OR          90011325230
3B69874A461984   LELAND        SCHUMACHER              CA          90005997404
3B698A93991232   LAKISTA       TUKES                   GA          90012190939
3B699281455972   JOSE          ESPARZA                 CA          90010132814
3B6992AA576B89   LAURA         RIOS-GARCIA             CA          90001122005
3B699483751321   RAY           MARTIN                  OH          90010984837
3B69949812B835   TIMOTHY       PURYEAR                 ID          42029454981
3B699698361963   CHRISTINA     LEMIRE                  CA          90003476983
3B699A69972496   JOAL          BARTHOLOW               PA          90005720699
3B69B362A2B87B   SAMUEL        ROBISON JR              ID          42097973620
3B69B444155951   JONATHAN      TORREZ                  CA          49002204441
3B69B46412B871   SABINA        SELIMOVIC               ID          42012954641
3B69B52A541277   LARRY         HARKINS                 PA          90015155205
3B69B874861963   LINUS         OSUJI                   CA          90007428748
3B69BA12A91356   DEWAYNE       BRAKE                   KS          90013240120
3B6B12A475B281   WILLIAM       RADFORD                 KY          90010402047
3B6B12AA941297   ALLISON       L SADLOWSKI             PA          90005942009
3B6B1324551339   PAMELA        SHORT                   OH          90012843245
3B6B17AA52B87B   WILLIAM       RUESSLL                 ID          90012677005
3B6B187A472B76   ROBERT        MONTGOMERY              CO          33047968704
3B6B1983331424   CYNTHIA       ZOUMAN                  MO          90008499833
3B6B23AA291356   SANDRA        MARLAR                  KS          90003483002
3B6B24AA172B76   HOLLY         DEBORSTEIN              CO          33008194001
3B6B2A61941258   SAVIA         HUMPHREYS               PA          90013940619
3B6B32A1584326   VERNESSA      FRAZIER                 SC          90004442015
3B6B3715276B89   JOANNE        CHRISTMAS               CA          90012727152
3B6B3881477544   MARIA         HERNANDEZ               NV          90015018814
3B6B396A755951   KOU           YANG                    CA          90012449607
3B6B3A4298B162   KELLY UNGER   RICHARDS                UT          90006280429
3B6B428125B393   ANDY          MAES                    OR          90001002812
3B6B454255B281   SHEILA        HARTMAN                 KY          68015665425
3B6B49A2184368   ROLANDO       RICO                    SC          90005209021
3B6B523A151369   ANDREA        JACKSON                 OH          66065252301
3B6B5285655949   MARIA         PASILLAS                CA          90010342856
3B6B55A2551339   ELLIE         SCHENCK                 OH          90012675025
3B6B567A14B281   JUSTIN        COLE HAVERSON           NE          90014846701
3B6B5881154165   SUE           AUSTIN                  OR          47034108811
3B6B5A8897B639   ALICIA        GLENN                   GA          15033150889
3B6B6276791831   RENEE         JONES                   OK          90008622767
3B6B647537B639   DARREN        CLIATT                  GA          90013934753
3B6B6593A7753B   NANCY         TEDDER                  NV          90003505930
3B6B6844A47931   CESAR         CORTEZ                  AR          90010328440
3B6B7533177539   BRENDA K      KROTSMER                NV          90011475331
3B6B7547377544   KARLA         CORNEJO                 NV          43082745473
3B6B768682B871   CARRRY        AVALOS                  ID          90001506868
3B6B7A8A155972   MANUEL        GOMEZ                   CA          90014250801
3B6B8293154165   GERALD        RODRIGUEZ               OR          90014082931
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3B6B835A28B166   KELVIN             STEWARD            UT          31002863502
3B6B8493791356   JEREMY             BLUMBERG           KS          90010934937
3B6B849655B156   TAMMIE             MOZINGO            AR          90014224965
3B6B8497741285   KARWAN             JABARR             PA          90013254977
3B6B857324B943   JESE               DAVIS              TX          90013965732
3B6B864825B393   BARBARA            TEATRO             OR          90014086482
3B6B8898A43551   TIANA              HILTON             UT          90010378980
3B6B918865B281   MARY               CLIFFORD           KY          90011661886
3B6B942345B555   KENT               MCKNIGHT           NM          90012684234
3B6B9677955972   LINDA              FIELDS             CA          90013416779
3B6B9779591584   ARACELI            SANDOVAL           TX          75079447795
3B6B98AAA77539   MIGUEL             REYES              NV          43048808000
3B6B9946A5B393   KRISTIE            KUSCH              OR          44534099460
3B6B9A4444B281   DEJA               LEVERING           NE          90014070444
3B6B9A6422B93B   DAVID              VILLARIAL          CA          90012680642
3B6BB129755949   RAY                QUAID              CA          90008141297
3B6BB18718B16B   JOSE               SANCHEZ            UT          31014481871
3B6BB69AA5B156   MICHELLE           MATHIS             AR          90011046900
3B6BB81672B871   JACKSON            BROWER             ID          90007508167
3B7112A4341244   DANIEL             MCCULLOUGH         PA          90005482043
3B711362684368   CINDY              GILLING            SC          14514053626
3B71157AA61963   LORENA             LARA               CA          90014745700
3B71159A141277   ALISHA             WALKER             PA          90000155901
3B7125A6391356   ELIZABETH          WEAH               MO          90011615063
3B71291165B156   CANDICE            SMITH              VA          90012459116
3B71295365598B   BARBARA            VELASQUEZ          CA          90012409536
3B712A2177B449   DAVID              JACKSON            NC          90008740217
3B71326898B16B   CHERISH            CRAWFORD           UT          90011552689
3B7136A887B639   SUK                GURUNG             GA          90014336088
3B71398134B943   KURISMA            JONES              TX          90014069813
3B7139A785B393   MYRENE             MWANGIN            OR          90010299078
3B713A2A777539   ELIZETH            CUELLAR            NV          90012520207
3B71418495B393   CARLOS             PONCE SOTO         OR          90014191849
3B714491854165   VANESSA            REED               OR          90010174918
3B71459772B871   ALICIA             PURDY              ID          42012575977
3B7146AA457153   WILSON             RAMIREZ            DC          90007296004
3B71473A477539   CAREN              MALDONADO          NV          90013957304
3B714758451369   VICTORIA           LITTLE             OH          90001437584
3B7148A7755972   BURNEY             QUINTON            CA          90014838077
3B71519A58B16B   JOANN              RODRIGUEZ          UT          31009331905
3B71528967B639   KIMBERLY           TYSON              GA          90002362896
3B716428A51339   KILEY              SHAW               OH          90014414280
3B716668972496   CHARLES            STEVEN             PA          90013226689
3B716778191831   LISA               HAMMANS            OK          21086237781
3B716838255951   TODD               GOODMON            CA          90007438382
3B71689645598B   REBECA             CABRERA            CA          90014858964
3B716A1265598B   WILLIAM DEAWAYNE   SCHILLING          CA          90014880126
3B71711A49155B   KARLA              CERVANTES          TX          90000361104
3B717255A5B156   ROSA               HERNANDEZ          AR          90013242550
3B71762637B639   PATRICIA           RAMIREZ            GA          90015196263
3B71763A391831   DOUG               MOORE              OK          90009586303
3B717716193768   SONIA              DANCY              OH          64578867161
3B717763636B77   JESUS              LOPEZ              OR          90012447636
3B717A3595B393   MATTHEW            COLLINS            OR          90006350359
3B718336541285   DOROTHY            DAVIS              PA          90010763365
3B71882854124B   DEASIA             DAVIDSON           PA          90009438285
3B718882991584   VERONICA           CORONA             TX          90009578829
3B718A48441277   RODOLFO            FRAZIER            PA          90014910484
3B719492555949   JOSE JAVIE         MONDRAGON          CA          49005814925
3B71958A761963   SAMARA             AFARAM             CA          90006095807
3B71973262B87B   AMANDA             HAMMACK            ID          42036487326
3B719A25877539   MONICA             CORDOVA            NV          90014180258
3B719A31A55951   ERIKA              AVALOS             CA          90009610310
3B71B34A141285   PINA               STRIGHT            PA          90014503401
3B71B49177B471   CAROLINA           NASH               NC          90007974917
3B71B4A9541285   DAQUAY             SNOW               PA          90012854095
3B71B627A54165   LAURA              DOWNEY             OR          90001296270
3B71B88865B156   DELIA              REED               AR          23050898886
3B7211A6A77539   BRAULIO            LOPEZ              NV          90013971060
3B721452572496   CHRIS              NICHOLSON          PA          90008434525
3B721585772B24   JOSE               IBARRA             CO          33095135857
3B72161163B154   ERNEST             WILLIAMS           DC          90004606116
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3B721722891967   ANTHONY      BOYD                     NC          90013407228
3B721889284368   LYNN         PERDUE                   SC          90007128892
3B72191588B16B   REBECCA      SINGLER                  UT          31017199158
3B7219A5855972   KEVIN        JACKSON                  CA          90010989058
3B722244461963   JOHN         WELCH                    CA          90010472444
3B723486355972   GRACIELA     RENTERIA                 CA          90011154863
3B723581741455   KENNETH      ROBINSON                 WI          90012985817
3B72381932B835   BIANCA       ARREDONDO                ID          90013088193
3B7238A2876B89   MOEIANTELE   FIATALATIA               CA          90006968028
3B72395352B87B   ROBERTO      RODRIGUEZ GUZMAN         ID          90001239535
3B72414635B281   TONY         HUGHES                   KY          68002981463
3B724561961963   YADIRA       MARTINEZ                 CA          90000935619
3B724563672496   DOROTHY      PREMUS                   PA          51001045636
3B724598755922   EVER         KELLY                    CA          90014815987
3B72476212B87B   TRISTIN      WOLFE                    ID          90015547621
3B724A1A88B162   MILLER       TIFFANY                  UT          90008700108
3B72521722B87B   ANDREA       LUDLOW                   ID          42072602172
3B7252A298B16B   LISA         HART                     UT          90010162029
3B725728791963   GLORIA       MARTINEZ                 NC          90008907287
3B725876872496   JOHN         GRIMM                    PA          90012008768
3B726577A91584   MARINA       ORTIZ                    TX          90004415770
3B726862655951   ARACELI      LARA                     CA          49091648626
3B727323651339   NIKO         SCOTT                    OH          90010963236
3B72758A48B162   JACK         JACKSON                  UT          90014205804
3B727773372496   TABITHA      ADER                     PA          90010907733
3B72779498B166   VEDUGA       LEE J                    UT          90009487949
3B728566551339   KRISTEN      MC ARTHUR                OH          90013825665
3B728827691831   DAVID        STEINBERG                OK          90009158276
3B728884172B76   FLORES       DARRELL                  CO          33080128841
3B729271A61921   OLGA         DELTORO                  CA          90013572710
3B7294A4872496   DOUGLAS      JAMES                    PA          90014564048
3B729A48A55949   STELLA       SANCHEZ                  CA          90000650480
3B72B779851339   RYAN         LOVELY                   OH          90006937798
3B72B919261963   ALEXANDROS   KAPETANIOS               CA          46015189192
3B73115794B281   ARMANDO      FLORES                   NE          90013301579
3B73131874B943   SHALONDA     SIMMONS                  TX          90015413187
3B73145956B198   ROGER        PACE                     MS          90010884595
3B731462784368   SOFIA        HERNANDEZ                SC          90007734627
3B731836777544   GILDARDO     TRUJILLO                 NV          90014098367
3B731856855936   MARTHA       VAZQUEZ                  CA          49077868568
3B731859384368   RYAN         MALEY                    SC          90008688593
3B732124A77539   MARIA        GARCIA                   NV          90013971240
3B73254A82B93B   SPENCER      SMITH                    CA          90008195408
3B7326A3631424   GAINELL      ROBINSON                 MO          90014956036
3B732911577584   JOSE         PONCE-CONTRERAS          NV          43016019115
3B732A15876B89   THOMAS       WEBER                    CA          90012850158
3B732A48791883   MARISOL      CRUZ ESCOBAR             OK          90012360487
3B732A88872496   AMY          ROCKHILL                 PA          51004970888
3B73343298B166   JUSTIN       MCMAHON                  UT          90014564329
3B73349475B156   LARONCE      BURKS                    AR          23049384947
3B73355917753B   DAWN         JOHANSEN                 NV          90010385591
3B734175555949   JENNIFER     CARLIN                   CA          90006921755
3B73432947B471   RODRICK      ROBERTSON                NC          11072553294
3B734471A4124B   RAVINDER     SINGH                    PA          90013084710
3B734661977539   CHRISTINA    BOTELHO                  NV          43092326619
3B73483157753B   SHEILA       EDELEN                   NV          90013978315
3B73484418B16B   FELIX        SOTO                     UT          90001258441
3B734936993761   YONIKA       PEOPLES                  OH          90011659369
3B735184854165   SALLY        DAVIS                    OR          47072511848
3B73519592B835   FERNANDO     MARTINEZ                 ID          90008911959
3B735321A44333   SHAUNICE     CRAMPTON                 DC          90003403210
3B73546955B344   RYAN         DAILEY                   OR          90000964695
3B735741977539   SAMANTHA     BERNARDY                 NV          90011717419
3B736265241285   LAMAR        CLARK                    PA          90013942652
3B736317377367   DIANA        DAVIS                     IL         90013333173
3B7365A7291232   WANDA        HORNE                    GA          90003035072
3B736934891893   VANDEN       HANSHAW                  OK          21030939348
3B737187A5B156   SHARONICA    BENSON                   AR          90011861870
3B73727385B52B   CHARLES      COUNCE                   NM          90011892738
3B737477341258   LAMONT       COVINGTON                PA          90012824773
3B73775442B87B   MARY         FULGHUM                  ID          42003957544
3B7377A9131424   GARBRIELLE   RHODES                   MO          27561077091
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3B73792742B93B   JAMES          HATTEN                 CA          90015199274
3B7382A3841295   VICKI          BRANSFEILD             PA          90003192038
3B738348854165   JACK           JENNINGS               OR          90014083488
3B73844755B52B   SILVIA         SIERRA                 NM          90014884475
3B738631351369   AMY            NASCIMENTO             OH          66032326313
3B7386A4441285   MICHELLE       MESSINA                PA          51046226044
3B738A1678B16B   AMANDA ELIZA   BUNN                   UT          90009680167
3B739226255951   RAYMOND        SONORA                 CA          90012892262
3B73934335B52B   JAIME          DURAN                  NM          90015453433
3B739624851369   LUIS           CRUZ                   OH          66039476248
3B739691655972   VANESSA        LOPEZ                  CA          90013696916
3B73B21A85B545   ALEC           MCNEILL                NM          90006852108
3B73B33995B52B   MICHELLE       THOMPSON               NM          90004443399
3B73B729561972   TEIL           ASTORGA                CA          90011997295
3B73B94472B28B   SARETA         DAVIS                  DC          90009279447
3B73B991972496   KAREN          MILLER                 PA          90013839919
3B74128A155949   FRANCINE       GUERRERA               CA          90014772801
3B74135334124B   EBONY          DAVENPORT              PA          51016513533
3B74144468B166   KELLYN         BORST                  UT          31061734446
3B741935355951   SHIDAY         JORDAN                 CA          90011079353
3B741971A7B639   KIMBERLY       WOODS                  GA          90012549710
3B742116491831   MICHAEL        CLARK                  OK          90007621164
3B742575955949   ANGELICA       RIVERA                 CA          90010785759
3B742A1288B162   SERGIO         FERRON                 UT          90014780128
3B742A28647931   JASMINTA       LAIJO                  AR          90010710286
3B742A7A75B281   MIRIAM         SOTO                   KY          90008920707
3B74312515B344   JORGE          SOLARES                OR          44533071251
3B743411777544   WALTER         JACKSON                NV          90014834117
3B743495A4B281   CANDICE        PETERS                 NE          90012514950
3B743656254165   MICHELLE       FIELDS                 OR          90014196562
3B744343977539   HAYLEY         MACGRAW                NV          90014743439
3B7444A185B393   THERESA        HOLLOWAY               OR          90009224018
3B744543951369   TRECIA         ORTIZ                  OH          66003825439
3B744687741277   BERNARD        JOHNSON                PA          90013176877
3B744786791232   JOSEPH         BEAUDOIN               GA          14541957867
3B74483727B43B   CHARLENE       DOWNCEREAUX            NC          11003248372
3B744858A4B281   MARIBEL        TRUJILLO-GUECHE        NE          27078068580
3B744958172496   SELENA         SIMON                  PA          51005399581
3B745178A7B639   TERRY          BURKE                  GA          90012141780
3B745518791831   LUPE           BLANCO                 OK          21095205187
3B745667A3B154   CHERYL         CATER                  DC          90001316670
3B74594847B471   LE ANDERA      WILSON                 NC          90011199484
3B74643347B639   MILTON         PINEDA                 GA          90010774334
3B7468A837B639   GORDON         DAVENPORT              AL          90013938083
3B746A49991831   JEFFREY        WAKEFIELD              OK          90015100499
3B74765997B639   ELIU           CRUZ                   GA          90014046599
3B747668791232   LAQUAN         POLITE                 GA          90013516687
3B7479A4977544   RAFAEL         BELTRAN                NV          90004679049
3B74835A561963   KATHERINE      TORRANCE               CA          90004193505
3B74837562B87B   DENNIS         ROURKE                 ID          90009333756
3B74884624B281   NEHEMIAH       SMITH                  NE          90015138462
3B74976565134B   JEFFREY        MOLDENHAUER            OH          66074517656
3B749892891356   ANGELICA       MARTINEZ               KS          90015218928
3B74B133877539   ROSEMARY       TIJERINA               NV          90013971338
3B74B38318B162   JULIE          MORGAN                 UT          90015093831
3B74B47682B87B   AHMED          SAAD                   ID          90012584768
3B74B831791831   ELIZABETH      DOTSON                 OK          90015598317
3B74B929255972   KRISTIE        MCCALL                 CA          90005699292
3B751592291543   MAYCA          JIMENEZ                TX          90010015922
3B75186A157153   DOMINIQUE      SMITH                  VA          90007308601
3B752341441258   BRIAN          DAVIS                  PA          90013403414
3B752568555951   ANGELA         CHAVEZ                 CA          90014775685
3B75263182B93B   CARLOS         BORBON                 CA          90010306318
3B7526A395B344   KAYLA          MATTHEWS               OR          90007686039
3B752886591584   DAVID          CARRILLO               TX          90003848865
3B753315655972   JAIME          RODRIGUEZ              CA          48029963156
3B753427751339   CHRISTIANA     RIEMANN                OH          90011944277
3B7535A382B87B   CHRISTOPHE     FLEISCHMAN             ID          90010765038
3B7535AA647931   ANGELA         AYALA                  AR          25014505006
3B75368565B156   TAMMIE         HARRIS                 AR          90008556856
3B75371585B344   JOSEPH         MILAN                  OR          90013227158
3B75388248B16B   SHELLY         TOVEY                  UT          31085518824
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3B754857255972   ANGELITA    LOPEZ                     CA          48023218572
3B755354131424   NESHA       JONES                     MO          90013933541
3B755498431424   NESHA       JONES                     MO          90014554984
3B7557A7691831   DUAN        SMITH                     OK          90005377076
3B755817A55949   SHIRLEY     HOGANS                    CA          49075538170
3B75615354B281   MITCH       CARTER                    IA          27004711535
3B756211A5B344   AMY         STOTLER                   OR          90014902110
3B75657A52B835   CLIFTON     BAYLEY                    ID          90015275705
3B75679A75B393   MIGUEL      BLAS MENDEZ               OR          90003217907
3B75694215B344   JOSE        PRIETO                    OR          90014049421
3B756A9958B16B   CARLOS      ZAMORA                    UT          31001370995
3B757141847931   RANDY       ROGERS                    AR          25049251418
3B757198A5B52B   ANGELITA    RAMOS                     NM          90001031980
3B7572A255B281   SHAY        POWELL                    KY          90014712025
3B75732A35B281   LEESHA      MOHL                      KY          90012863203
3B75741642B28B   MANUEL      GONZALEZ                  DC          90006804164
3B757496972496   MELISSA     WINFREY                   PA          90004034969
3B757947991356   FLOR        MONTERO                   KS          90002599479
3B758289A71937   SHERYL      MCGEARY                   CO          90012222890
3B758295A91356   GABRIELA    MERA                      KS          90014842950
3B75849214B943   FELIPE      ESTRADA                   TX          90014114921
3B758789A61963   VIBIANA     SERVIN                    CA          90012767890
3B758821872496   BRYAN       GUTHRIE                   PA          90012788218
3B75891452B93B   DANIELLE    NICHELSON                 CA          90001329145
3B758958354165   LILLIAN     PEREZ                     OR          47064279583
3B758968255951   ROSA        HERNANDEZ                 CA          90012259682
3B758982351339   KIM         BURKS                     OH          90008429823
3B758A3745B38B   SAMANTHA    KRAGERUD                  OR          90013970374
3B75916164B943   CARLTON     JAMES                     TX          90014161616
3B7591A7441258   SHADE       PITTS                     PA          90015061074
3B759293A2B87B   PAYGO       IVR ACTIVATION            ID          90014812930
3B7595A527B639   LAKESHIA    HARRIS                    GA          90015175052
3B7597AA25B281   EDNA        POTTER                    KY          90013827002
3B759A87841285   DANIEL      BELL                      PA          90012460878
3B75B313255951   ANJELA      MARTINEZ                  CA          90009333132
3B75B727251339   MICHAEL     HALE                      OH          90006157272
3B75B9A1276B89   KELVIN      EKEKEUGBOR                CA          90013729012
3B75BA2292B871   BRENNA      ZERR                      ID          90013350229
3B76128825B52B   JOSEPH      RIVERA                    NM          90011892882
3B7618A495B281   ARIEL       MARSHALL                  KY          90010918049
3B76191657B449   SUSAN       EVANS                     NC          90008359165
3B761A1687B471   YVONNIE     MITCHELL                  NC          90010150168
3B761A38851369   GLIDA       CASTILLO                  OH          90013710388
3B762189771943   SHAW        MATTHEW                   CO          90013931897
3B7623A555B344   KATHRYN     SMITH                     OR          44542653055
3B76246485B393   KENNETH     COOMBS                    OR          90010954648
3B762559176B89   JIM         PETERS                    CA          90011525591
3B763948677539   JACLYN      COOK                      NV          43079009486
3B764244597B57   ANDY        PAPINI                    CO          90009662445
3B76437455B393   SULAIMAN    ZAINEL                    OR          44552423745
3B76456A154165   JUAN        RODRIGUEZ                 OR          90013015601
3B76462518B166   KEVIN G     OWEN                      UT          31050946251
3B76586A27B639   ANTHONY     MCMILLIAN                 GA          90001018602
3B766194176B89   VERONICA    PEREZ                     CA          90000201941
3B766541255972   NATHAN      SABALA                    CA          48012915412
3B766571555951   KAO         MOUA                      CA          90014775715
3B766731A7753B   DAISY       GONZALEZ                  NV          43028517310
3B76673585B393   DANIEL      SIMPSON                   OR          90015017358
3B766988451369   BENJAMIN    SHEPHERD                  OH          90014229884
3B76698877B639   WAYNE       MICHAUX                   GA          15074409887
3B767636A5B393   JANIE       HASEOWANDER               OR          90013546360
3B76768358B162   BENNY       ALLEN                     UT          90013526835
3B76787168B16B   MARJORIE    REARDON                   UT          90014838716
3B767955876B89   CARLOS      CORONA                    CA          90003499558
3B767A35161972   PABLO       CORTEZ                    CA          90004470351
3B768133877539   ROSEMARY    TIJERINA                  NV          90013971338
3B76814282B835   ADRIAN      BRITT                     ID          90002241428
3B768232191584   VERONICA    HINOJOS                   TX          75064652321
3B768472251339   STEVEN      SCHWIER                   OH          66039414722
3B76891354B943   JOSE        MARTINEZ                  TX          90012719135
3B7692A584124B   DONALD      COX                       PA          51037882058
3B76931814B943   SUNIEL      INSUA                     TX          90014163181
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3B769558672496   LANSCE       KESSLER                  PA          51085155586
3B769577591356   JEFFREY      CUNNINGHAM               KS          90013865775
3B76977245B556   AUBRY        CHISSOLM                 NM          90011867724
3B76977332B835   ANGELA       SEYMOUR                  ID          90014717733
3B769A25476B89   SONIA        SEVILLA                  CA          90010410254
3B769A66472B76   ANTEINETTE   ATENCIO                  CO          33095140664
3B76B12637B471   JEANNIE      DAVILA                   NC          90010661263
3B76B67494B943   GEORGE       MONTALVO                 TX          90012836749
3B76B713176B89   ELSA         MALDONADO                CA          46078137131
3B76B77555B52B   JOSEPH       BACA                     NM          90009117755
3B771135172B76   ARACELI      GONZALEZ                 CO          33064401351
3B772425A55972   CECILLIA     SHEARER                  CA          48023234250
3B77258922B28B   TYISHA       BELTON                   DC          90007085892
3B772641891831   EDEN         ANDRADES                 OK          90009586418
3B772693691831   HENRY        FIGIOA                   OK          90012936936
3B77288524B281   KRISTA       ROBISON                  NE          27039348852
3B773246A51369   CYNTHIA      PATTON                   OH          90011622460
3B77328A15B281   ALTA         WALLACE                  KY          68004842801
3B7733A982B835   CALVIN       FRATES                   ID          90014343098
3B77349672B87B   MICHELLE     SIMMONS                  ID          42023974967
3B77383892B93B   ELODIA       AVALOS                   CA          90010358389
3B773839377539   JULIANNA     MEDINA                   NV          43002388393
3B774266976B89   SCOTT        PETERS                   CA          90007942669
3B7751A647B639   DEBRA        MCLESTER                 GA          90012641064
3B77554447753B   RAFAEL       GONZALEZ                 NV          43044945444
3B775782191893   ELENA        K ECHEVERRIA             OK          21073797821
3B77638982B93B   SUSAN        LOPEZ                    CA          90010073898
3B7763A8541261   STEVEN       PIES                     PA          51083273085
3B77652242B871   MICHAEL      YOUNG                    ID          90012695224
3B77652694B281   TRICIA       BARBER                   NE          27010215269
3B77653645B393   JOHNNA       FRAVEZZI                 OR          44508555364
3B77685512B871   GREISY       COTA                     ID          90011168551
3B776968255951   ROSA         HERNANDEZ                CA          90012259682
3B776A42691356   GABRIELA     BASURTO                  KS          29002780426
3B777321131424   JANAY        PARKS                    MO          90011953211
3B777517784368   DENNIS       RAMIREZ                  SC          90011345177
3B777787731424   GINGER       TRAVIS                   MO          90013967877
3B77784A57B471   TENIKA       SIMPSON                  NC          11052528405
3B777A32447931   JASON        PETERSON                 AR          25077820324
3B777A34641285   ROMIE        YATES JR                 PA          51097460346
3B777A78624B89   TYJUAN       GOULD                    DC          90000880786
3B77828127B43B   MUHAMMAD     ROXSANNA                 NC          11025862812
3B77881752B871   LYLE         NOE                      ID          90004208175
3B778876751339   THOMAS       SANTOS                   OH          90013468767
3B778968A2B87B   JOURDAN      SALINAS                  ID          90010229680
3B779446461963   MICHELLE     EAVES                    CA          90013424464
3B779718855972   JAMES        RESENDEZ                 CA          90012157188
3B77B248741277   JUSTINE      BELL                     PA          90012722487
3B77B73434B943   SHERRY       ESTES                    TX          76503097343
3B77B79185598B   ANGEL        ZAPATA                   CA          49051547918
3B77B98892B835   KENNETH      BLAKE                    ID          90002839889
3B781528A4124B   DANIELE      JONES                    PA          90014915280
3B78154189713B   KALA         REED                     OR          90013615418
3B78162A941277   TAMUELA      HAYES                    PA          51053136209
3B781984755949   BEE          VUE                      CA          90004939847
3B781AA9291584   GLORIA       PALACIOS                 TX          75045230092
3B78211A92B28B   NICOLE       MATTHEWS                 DC          90007161109
3B782249751339   PAULINE      ELDRIDGE                 OH          90014812497
3B782557855972   APRIL        LUSK                     CA          48098485578
3B78273A591232   OTONIEL      DELCID                   GA          14572007305
3B78287644B281   MARIA        MEDINA                   IA          90012758764
3B782973741277   JOAN         BURRELL                  PA          51057989737
3B783146855951   JULIA        DUDLEY                   CA          90011841468
3B7833A3191831   WILBERT      WYNES                    OK          90014923031
3B783472251339   STEVEN       SCHWIER                  OH          66039414722
3B78369782B87B   ANGELA       MIDDLETON                ID          90015566978
3B783788151369   RICKS        CVETANKA                 OH          66061277881
3B78395AA4B943   TANIA        TORRES                   TX          90015509500
3B78423A141277   DONNA        MORRIS                   PA          90013542301
3B78445122B871   EASTON       CORBIDGE                 ID          42060874512
3B784618A41277   SHERBI       DAVIS                    PA          90002466180
3B784634291963   BRADY        PRICE                    NC          90006046342
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1891 of 2500


3B784864251339   JENNIFER      OSCAR                   OH          90012518642
3B785149672B38   ALMA          BERUMEN                 CO          90007321496
3B785686131424   VIOLET        HARDY                   MO          90004996861
3B786411755951   DAVID         HERRERA                 CA          90013194117
3B78679422B961   ERIK          ROMO                    CA          90013137942
3B787231351369   SHANDA        MODESTIN                OH          90011382313
3B787254A5B344   MONICE        HOLLAND                 OR          44528572540
3B787444A55951   CHRIS         POWELL                  CA          90010184440
3B787968477539   CARINA        PEREZ                   NV          90015169684
3B7879A472B835   SHANE         LATHAM                  ID          90012959047
3B788222761963   DEREK         KNAPP                   CA          90012872227
3B78822327753B   TOMAS         ESCOBAR                 NV          90011942232
3B788744172496   JESSICA       PRINKEY                 PA          90003047441
3B788922541258   RAVEN         JONES                   PA          90006479225
3B7896A8751339   TRACY         PHILLIPS                OH          66076606087
3B789769277539   KYLE          WILKINSON               NV          90014667692
3B789812291356   KRISTINA      ECKARD                  KS          29098478122
3B78997A861963   JESSE         TAYLOR                  CA          90014169708
3B789A2442B87B   TINA          HARRIS                  ID          42010610244
3B789A41751369   NANCY         DAVIS                   OH          90013550417
3B78B11779125B   DOROTHY       LEE                     GA          90002651177
3B78B19667B639   TATIANA       STONE                   GA          90010881966
3B78B21A95B546   ROSA          COVINGTON               NM          90001712109
3B78B227284368   RUPERTO       JILES                   SC          14587402272
3B78B552A41285   AARON         WEBB                    PA          90015205520
3B78B869872B33   SOILA         LOPEZ                   CO          90007398698
3B79123A561963   JOSHUA        POORE                   CA          46015652305
3B79143975B555   ELVIA         OCHOA-RAMIREZ           NM          90011134397
3B791A5297B639   JASMINE       LEE                     GA          90013350529
3B792596A41277   CURTIS        CHEBEN                  PA          90010285960
3B79271134B943   BLANCA        RAMIREZ                 TX          90011207113
3B79275317B33B   MIMI          HAILU                   VA          81033347531
3B792919977539   VALENTINA     SANCHEZ                 NV          90014169199
3B79352235B156   SHIRLYNN      CLEMONS                 AR          23025325223
3B79368417B639   JOJO          SAMPSON                 GA          90013936841
3B79369437B639   JOJO          SAMPSON                 GA          90014296943
3B7936AA69713B   CODY          DAMEN                   OR          90013616006
3B79434895B24B   PATRICE       MIDDLEBROOKS            KY          90002013489
3B794536155949   MARIANNE      FAIR                    CA          49000445361
3B7945AA38B162   JUAN          URIBE-GONZALEZ          UT          31013495003
3B794968477539   CARINA        PEREZ                   NV          90015169684
3B79512A84B943   AQUILLA       CIBRIAN                 TX          90014181208
3B795497361963   MIRIAM        PINEDA                  CA          90013084973
3B795652176B89   JACK          MCKRAO                  CA          90010496521
3B795654876B89   AUBREY        HARRIS                  CA          90013176548
3B79632689713B   GRACIELA      MARTINEZ                OR          90009123268
3B79696274124B   TONI          CORINEALDI              PA          90013939627
3B796977651339   DENNIS        WORKMAN                 OH          90013739776
3B796A7644B943   ASAEL         RAMIRO                  TX          90001040764
3B79712A84B943   AQUILLA       CIBRIAN                 TX          90014181208
3B797AA582B835   CRYSTAL       POWERS                  ID          42079960058
3B79855525598B   JOE           MELENDEZ                CA          90002045552
3B7985AAA5B281   CYNTHIA       FROMM                   KY          68090915000
3B79896924B943   ARACELI       ESTUPINAN               TX          90015179692
3B799281641285   SOLOMON       JOHNSON                 PA          90013942816
3B79947A155972   JOE           TREVIZO                 CA          48012824701
3B79952988B16B   KEVIN         DUNLAP                  UT          90013395298
3B79977724B281   JOHN          PLOG                    NE          27034137772
3B79995682B28B   CRAIG         ANDERSON                VA          90006809568
3B79B127355972   ALYSSA        LEDESMA                 CA          90013421273
3B79B489477522   RAUL          CABRERA                 NV          90009504894
3B79B67255598B   STEPHANIE     RODRIGUEZ               CA          49091746725
3B79B89975598B   MARIA         KING                    CA          90005188997
3B7B1344455951   ROSEMARIE     MARTINEZ                CA          49047753444
3B7B137374124B   LONNIE        RUSSELL                 PA          90008983737
3B7B19A2141258   JEAN CARLOS   REYES                   PA          90014109021
3B7B21A385B393   ROBERT        OGDEN                   OR          90012751038
3B7B2554677539   DEANNA        SAUNDERS                NV          90013425546
3B7B264612B93B   BILL          KELLEY                  CA          90007766461
3B7B28A278B16B   LUIS JR       SANTOS                  UT          31010698027
3B7B291519713B   AMANDA        KISER                   OR          90013609151
3B7B325165B281   KEN           EVANS                   KY          90002732516
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3B7B3759141285   DARNELL         CROSBY                PA          90011657591
3B7B393145B52B   ROBERT          ZAMORA                NM          90010319314
3B7B4121576B89   TROY            GRIFFIS               CA          46013601215
3B7B436A155949   ADRIANA         GONZALEZ              CA          49087523601
3B7B4572347931   JOANN           DEARING               AR          25095495723
3B7B466315B156   SHARON          JOHNSON               AR          23042636631
3B7B4A9579713B   FELICIA         ROBINSON              OR          90010170957
3B7B51A485B344   MARCO ALBERTO   JACINTO SANTIAGO      OR          90012371048
3B7B5297891232   CRYSTAL         ROBERTS               GA          14587832978
3B7B533667B471   ANNA            BUESO                 NC          90012633366
3B7B5412176B89   DANNY           ORTEGA                CA          90010664121
3B7B5888891356   NINA            ANGELO                KS          29091608888
3B7B5961155972   JESUS J         RODRIGUEZ             CA          90012899611
3B7B6232A51339   LINDSEY         JENKINS               OH          90013552320
3B7B6322A2B835   TAKIA           POORE                 ID          90013933220
3B7B639925B393   GUADALUPE       FARIAS                OR          90014613992
3B7B654A68B16B   NATALIA         HERNANDEZ             UT          90013535406
3B7B668744B943   JULIA           JONES                 TX          90014026874
3B7B6A57A5B344   JUAN            ALVAREZ VALADEZ       OR          44577090570
3B7B6A96A84347   TONISHA         JONES                 SC          90013270960
3B7B743324B281   MARGARETE       LETSON                NE          27007204332
3B7B749542B87B   JAMES           ASHCRAFT              ID          42001164954
3B7B76AA85B281   ASHLEY          WILSON                KY          90013946008
3B7B784987B639   DJUNA           HUFF                  GA          90009468498
3B7B7A46254165   CHRISTIE        BROWER                OR          47053080462
3B7B842185B281   LAVERNE         PIKE                  KY          90015094218
3B7B8664455972   JERI            CLEMENT               CA          90009286644
3B7B866995B359   INESSA          CROWN                 OR          90012166699
3B7B8773872B24   BLAS            MORENO                CO          33091497738
3B7B881884B943   NATASHA         MCCRAY                TX          90000348188
3B7B8959541285   ERIC            BELIN                 PA          90015079595
3B7B897124124B   ERIK            KUMANCHIK             PA          90003549712
3B7B8AA8955951   JESUS           ARMENTA               CA          90010040089
3B7B9214351321   CRISTINA        ASBURY                OH          90008992143
3B7B9269355951   GER             VANG                  CA          90013532693
3B7B9A48154165   KATHERINE       CRAWFORD              OR          47003220481
3B7B9A57255949   ERENDIRA        HERRERA               CA          49053690572
3B7BB322641285   RANELL          JACKSON               PA          90012643226
3B7BB35117B471   ANTONIO         ROBERSON              NC          90015083511
3B7BB46282B87B   DAVE            MORRISON              ID          42039884628
3B811285A41285   LAUREN          RUPERT                PA          90013942850
3B8121A794B989   SHEKEITHA       LEWIS                 TX          90005841079
3B81258418B166   NICHOLAS        JONES                 UT          31025305841
3B81259965B583   OFELIA          RASCON-BARRAZA        NM          90002265996
3B812999876B89   CIRO            BARTOLO               CA          90014839998
3B813497977539   BONITA          MULLINS               NV          90000884979
3B813696261963   MARIA           MEDINA                CA          90013656962
3B814318955949   MIRWAIS         RAHMANI               CA          90010613189
3B814374631424   CRAIG           HENDERSON             MO          90013933746
3B81487168B16B   MARJORIE        REARDON               UT          90014838716
3B81494512B835   KRISTINA        ALLEN                 ID          42089959451
3B814A31472496   JOSEPH          ROBERTSON             PA          90015590314
3B814AA542B93B   SHISIEDO        LANNI                 CA          90005900054
3B81522994B281   JESSICA         PETERSON              NE          27013402299
3B815347791584   JESUS           MONSIVAIS             NM          75061823477
3B816793184368   ALEX            SANCHEZ               SC          90015117931
3B8172A545B344   VICTOR          GUTIERREZ             OR          90014202054
3B81736644B943   TONGELA         NORMAN                TX          90014203664
3B817373391356   CARL            POULSON               KS          90011463733
3B817467861963   GARRETT         BOWEN                 CA          90009084678
3B817776777539   RACHEL          TAMS                  NV          90012467767
3B817A61691356   BEATRIZ         RIVERA                KS          90015470616
3B81822155B52B   FERNANDO        CARRILLO              NM          35097782215
3B818653891232   KODI            SKILLINGS             GA          90000456538
3B8188A398B162   TYLER           CAZIER                UT          90012058039
3B818914591584   CHIANTE         JACKSONS              TX          90009579145
3B81918718144B   CHRISTINE       DAVIS                 PA          90014581871
3B81931315B344   KELLY           BURSON                OR          90014133131
3B81939A241277   GERALD          VAN                   PA          90002663902
3B819817A5B281   GABRIELLA       GIRGGS                KY          68069518170
3B819835155949   DIANE           HOLLINS               CA          49081088351
3B8198A335B156   MARK            WHITT                 AR          90013658033
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3B8199A5751339   RONALD      CHURCH                    OH          90012099057
3B81B173651369   CHRIS       HARMON                    OH          90015221736
3B81B28994B281   ALFONSO     MONTOYA                   NE          90012182899
3B81B655141285   AMBER       NOCK                      PA          90012906551
3B81B982661963   HARRY       GOODMAN                   CA          90014169826
3B821235991356   MERLIN      NAJERA                    KS          90012092359
3B82142267753B   CHARLES     LARSEN                    NV          43044154226
3B82191534B943   MIRIAM      ACEVEDO                   TX          76507079153
3B821937155949   MERCEDES    REYES                     CA          90010269371
3B821A6658B162   MARITZA     MORENO                    UT          90007950665
3B82222348B166   FERNANDO    GONZALEZ                  UT          90000702234
3B82227137B639   NAKEBA      RUTHERFORD                AL          90014872713
3B822673A9713B   BERTRAM     STEVENS                   OR          90013626730
3B822A63A41258   DARLENE     MELLOTT                   PA          51087080630
3B823547377544   KARLA       CORNEJO                   NV          43082745473
3B82363245B393   BRIANNA     TAYLOR                    OR          90013576324
3B8238A639379B   STACY       WOODS                     OH          90011798063
3B824249572B24   RONALD      PERKINS                   CO          90005722495
3B824564591356   MARIA       DOLORES                   KS          29080825645
3B82459542B871   JESSICA     MARTINEZ                  ID          90015355954
3B8245A842B28B   HAZEL       GREEN                     DC          90001395084
3B82468AA55949   SONIA       SUSTAITA                  CA          90014826800
3B82515212B87B   TIFFANY     JONES                     ID          90002411521
3B826989377539   DANIEL      GOOD                      NV          43079009893
3B826A1A954165   MICHAEL     PETERSEN                  OR          90014860109
3B82757642B28B   TASHIA      HARRIS                    DC          90011765764
3B827656951339   AMBER       DAVIDSON                  OH          90012936569
3B827927A5B344   ANA LUCIA   ZUNIGA MARIN              OR          90000609270
3B827A52A72B76   LEOPOLDO    ZUNIGA                    CO          33047290520
3B827AA3A77544   MARK        VIVIANI                   NV          90009800030
3B8281AA85B52B   JUDE        GARCIA                    NM          90013111008
3B82827218144B   JAIMIE      STEPP                     PA          90015422721
3B8283A867B639   STEVEN      THOMAS                    GA          90014823086
3B8284A267B449   MIKE        SMITH                     NC          90010514026
3B82859965B393   MARYELL     MARTINEZ                  OR          90013065996
3B8288A5255949   ROSA        CATANO                    CA          90007838052
3B828A3A55598B   VERONICA    LOPEZ                     CA          90002540305
3B828AA425B281   CASSANDRE   CLIFFORD                  KY          90003560042
3B82938917753B   CESAR       CASTILLO                  NV          90011333891
3B8293A5591831   KATIE       MORENO                    OK          90015023055
3B829678361963   DALE        JACOBS                    CA          90009466783
3B829715272496   JOHN        MARKS                     PA          90014827152
3B82B216472496   DAVID       WILSON                    PA          90014372164
3B82B361141258   TIMOTHY     ARNOLD                    PA          90014873611
3B82B96953B359   MARIBEL     AGUILAR                   CO          33062879695
3B82BA8932B28B   GLENN       WILLIAMS                  DC          81006970893
3B831132272496   KEVIN       OROS                      PA          90014091322
3B83134577B43B   TIFFANY     DENICE CAPLE              NC          11056813457
3B831668A51369   DEEANN      HALL                      OH          90014986680
3B831753355949   DONNA       AYALA                     CA          49094687533
3B831873772496   DONNA       KRULL                     PA          90013288737
3B83273767B639   VIRGINIA    AVERETT                   GA          90013387376
3B833197855949   DIANA       SALAZAR                   CA          90000301978
3B83321249713B   ROSA        GUERRA                    OR          90013622124
3B83331428B162   SHAUNA      SAU                       UT          31065293142
3B833748376B89   RODRIGO     LOPEZ                     CA          90007417483
3B833A41677544   PAYGO       IVR ACTIVATION            NV          90013010416
3B83421249713B   ROSA        GUERRA                    OR          90013622124
3B834558172496   MINA        DONATO                    PA          51021405581
3B834723A8B14B   BETSY       BOLDT                     UT          90006997230
3B834A95331424   GWENDOLYN   NEAL                      MO          27561040953
3B83514175598B   HAN         SWIGGS                    CA          90013381417
3B83517A631424   TRINITY     MATHIAS                   MO          90013141706
3B83518A872496   MELISSA     DULEY                     PA          90014151808
3B83533742B871   JOE         NEAL                      ID          42009043374
3B835361A2B835   DESIREE     DAVIS                     ID          90015353610
3B83591285B156   LAFARRAH    STRICKLIN                 AR          90011149128
3B835A68641258   KERVIN      MADRID                    PA          90014140686
3B836316951339   DANNY       BANKS                     OH          90004763169
3B836481854165   JEFFERY     BANKER                    OR          90000204818
3B8367A117B427   ANGELENE    PERRY                     NC          11007817011
3B83744545B281   ANASTACIO   RUIZ                      KY          90014874454
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3B83758614124B   GINA             LLOYD                PA          51000265861
3B8376A177B471   CYNTHIA          MARTIN               NC          90006496017
3B83771AA61925   IVAN             AGUILAR              CA          90013117100
3B8378A342B93B   SHANNON          MC CLANAHAN          CA          90012518034
3B837AAA55598B   OLGA             TORRES               CA          90012780005
3B8382A3977539   MIRANDA          BIRDSONG             NV          90011492039
3B8386A815B344   AMANDA           QUIJANO ARENAS       OR          90014486081
3B8387A9A72496   SEAN             SHERIDAN             PA          51091837090
3B839349993761   CHARLES          WALLACE              OH          64513793499
3B839688A7B639   R                WOODS                GA          90013936880
3B83974175B52B   UPSHAW           RANAELR              NM          90008027417
3B839822191831   DONNIXON         ELEAM                OK          90010798221
3B83988A78B16B   KENNETH          SWING                UT          90003398807
3B839A42191831   DONNIXON         ELEAM                OK          90012490421
3B83B443355951   DANIEL           BARNETTE             CA          90001504433
3B83B999877539   STEPHANIE        ZARAGOZA-MARTINEZ    NV          90014169998
3B83BA68884368   NISHANT          PARMAR               SC          90013980688
3B8412A8491232   HOLLIE           ROSE                 GA          14572052084
3B841428A5B344   ALILORE          KOVAC                OR          90014604280
3B84155A155972   MARISELA         HARO                 CA          90011905501
3B84184732B93B   JAHAZIEL         GARCIA               CA          45069838473
3B84192852B87B   WENDY            BLACKMER             ID          90013999285
3B841991255949   CLARISSA         VIVAN                CA          90003029912
3B8419A557B471   JOSEPH           JESSON               NC          90014739055
3B84285298B162   CHANTEL          MASTIN               UT          90012248529
3B84292475598B   BRIANNA          ORNELAS              CA          90013799247
3B84294A52B87B   HILAIRE          PRINCE               ID          90013129405
3B842A21A2B242   RICARDO          RODRIGUEZ            DC          90006520210
3B843347455949   PORSHA           SCOTT                CA          90014563474
3B84353112B835   JERONIMO         OLVERA               ID          42089415311
3B84389974124B   JENNIFER         BIRD                 PA          51081138997
3B8438A8A4B943   ADAN             LOPEZ                TX          90014218080
3B84413315132B   SHERRI           BARBASH              OH          90008341331
3B844647A91831   GILMER           LOPEZ                OK          90012136470
3B844668876B89   PABLO            MEJIA                CA          90000686688
3B8446A815B344   AMANDA           QUIJANO ARENAS       OR          90014486081
3B844796A55949   CARL             DREW                 CA          90002027960
3B844868491584   ALVARO           VEGA                 TX          90004378684
3B8449A167753B   MARIA ANGELICA   VARELA               NV          90012879016
3B845165972B76   JONELLE          CASAREZ              CO          33081441659
3B8454A8591584   OSCAR            HERNANDEZ            TX          90008574085
3B845712172496   DEANNA           SHOWMAN              PA          51072347121
3B84573592B835   GWENDOLYN        KENNEDY              ID          90015267359
3B845774877539   DEVIN            PEARCH               NV          43014667748
3B847344984368   MARIDOL          LAGUNAS              SC          90010523449
3B84746195B52B   SAMANTHA         HAUN                 NM          35009874619
3B84752737B471   CARLOS           MARTINEZ             NC          90013695273
3B84795192B835   ADDINGTON        DAVID                ID          90010169519
3B848243A55951   DESIRE           MAGANA               CA          90012042430
3B848253351339   KATHY            SPICER               OH          66078692533
3B8482A148B16B   ANGELLA          HARDMAN              UT          90010182014
3B8483A662B87B   DOUGLAS          STUART               ID          90014933066
3B848695131424   TOMICKA          JOHNSON              MO          27558536951
3B849285877539   DEVIN            FOSTER               NV          90014542858
3B84934619713B   FRED             GOLDEN               OR          90013623461
3B84938445B344   SUZI             ABERA                OR          90012903844
3B849552951369   LINDSEY          LAINHART             OH          90014625529
3B849864954165   ALLISON          WEYAND               OR          90014518649
3B84B114791356   ERICA            TORRE                KS          90011961147
3B84B154255951   MARIO            OSORNIO              CA          90010111542
3B84B18572B93B   JEROME           BROOKS               CA          90015171857
3B84B25528B162   JUSTIN           PETERSON             UT          31003572552
3B84B3A4577539   LILIANA          AYALA                NV          90015163045
3B84B546551369   MARTHA           TIRADO               OH          90012965465
3B84B671A31424   IESHA            MITCHELL             MO          27540476710
3B851335A4B943   MISAEL           FLORES               TX          90010873350
3B85141358B162   MARIA            RIVERA               UT          90012374135
3B85144284124B   CHARLES          HOGAN                PA          90015084428
3B851913163B3B   ZACHARY          ROMITO                IL         90012939131
3B851935161963   HAITHAM          QASSRI               CA          90013299351
3B85279555B156   STELLA           MERRIWEATHER         AR          90014417955
3B85286954124B   TOMLIN           VALENTINE            PA          90013938695
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1895 of 2500


3B853198455951   LUIS             CARRANZA             CA          90011221984
3B85338A15B281   MS               MORRIS               KY          90009733801
3B85352A876B89   HILLARIO GORGE   GUTIERREZ JR         CA          90012865208
3B853A26661963   ROSE             HERNANDEZ            CA          90013100266
3B85423A37B449   KIEL             MCKOY                NC          11015602303
3B854368A41285   ROSS             NEARY                PA          90014653680
3B85444A372496   ROXANN           FRONIUS              PA          90014814403
3B85445324B943   GARY             STELLY               TX          90009464532
3B85466982B28B   TAZ              DYSON                DC          90011766698
3B854754784368   CELAURO          RAMIREZ              SC          14596657547
3B854839254165   KINDI            PASCHALL             OR          90012608392
3B8548A337B639   KIMBERLY         HAWK                 GA          90005208033
3B855123155949   CHANDRA          WARREN               CA          90005511231
3B855278455972   JOSIAH           WALKER               CA          90015212784
3B85533A14B943   JOSEPH           LAVERGNE             TX          90011323301
3B85561A75598B   JOE              FLORES               CA          49025336107
3B856246884326   PAULET           DOBINE               SC          90007402468
3B856474384368   CARMEN           WASHINGTON           SC          90007734743
3B85678424B281   MIKE             JOHNSON              NE          90012367842
3B856817141285   SAMANTHA         MITCHUM              PA          51068558171
3B85683254B943   MARGARITA        IBARRA               TX          90005508325
3B856922841277   LEIGH            HASLEY               PA          90013959228
3B85722A672496   ROBERT           HONSE                PA          90010622206
3B85733A85598B   DRUVEIL          WAKER                CA          49086343308
3B8578A6855949   JUDY             LUCAS                CA          90009878068
3B858361891831   REA              BAKER                OK          90012883618
3B85841A52B871   AGUSTIN          ORTIZ                ID          42075634105
3B858435661963   SHON             STRONG               CA          90010404356
3B858915A54165   ALLISON          CLANTON              OR          90014829150
3B858982661925   MELISSA          CERVAR               CA          46077659826
3B85958A591831   JENNIFER         HINES                OK          90015215805
3B859997751354   ADRIAN           WALKER               OH          90012389977
3B859A16191356   MARIA            CANELA               KS          90013690161
3B85B24442B93B   LUIS             HOLGUIN              CA          90000102444
3B85BA6197753B   JOHN             CORCORAN             NV          90013580619
3B86114AA41277   JOE              MARTELL              PA          51085411400
3B861842776B89   JUAN CARLOS      RAYO                 CA          90013078427
3B861985755949   FEDERICO         ALVAREZ              CA          90000179857
3B86217847753B   TONY             DAVIDSON             NV          43006601784
3B862688A7B639   R                WOODS                GA          90013936880
3B86293A92B93B   REZA             LEKESTANI            CA          90015119309
3B862A37577539   MARIA            GONZALEZ             NV          90014170375
3B863253576B89   CYNTHIA          PETERSEN             CA          46087972535
3B863813154165   KIMBERLY         HAZLETON             OR          47046318131
3B8638A875598B   ESMERALDA        CHAVEZ               CA          49017548087
3B8641A239713B   CHAU             NGUYEN               OR          90008951023
3B86429672B93B   BRENDA           RIOS                 CA          90011712967
3B86443828B166   STEPHEN          BRINK                UT          90007574382
3B86471575B344   JANET            GREGORY              OR          90003347157
3B864912A55949   TINA             HUE                  CA          90012209120
3B86546AA77544   CHELSEA          PAREDES              NV          90015014600
3B86595395B389   NICKOLAS         SAYLOR               OR          90011379539
3B865973A3B38B   LEWIS            GASS                 CO          90006469730
3B86653334B943   KLYOE            SMITH                TX          90015515333
3B8665A8847931   CLAUDY           LOKEIJAK             AR          90009975088
3B866641991356   SCOTT            SAMPLE               KS          90011786419
3B86683512B28B   HERNAN           UMANA-PINEDA         VA          81016398351
3B86687168B16B   MARJORIE         REARDON              UT          90014838716
3B867398751339   ADRIANA          RAMIREZ              OH          90014763987
3B86755A441285   RONNISHA         MASON                PA          90012855504
3B86762A55B52B   TAMIKA           WAUFORD              NM          90012126205
3B8679A4A5B393   KARLITA          TAYLOR               OR          90011379040
3B86825915598B   ARLENE           GONZALES             CA          49079972591
3B868364391893   IRIS             OROZCO               OK          21072023643
3B86865132B871   DALE             DAVIS                ID          90012056513
3B86872555B344   MARTIN           LOPEZ                OR          44567027255
3B868A17661963   TARA             GUZZETTA             CA          90011060176
3B869412677539   RAUL             ABARCA               NV          90006084126
3B869568876B89   KACEY            ROBERTS              CA          90013695688
3B86B279A55972   LORI             WALTON               CA          90007662790
3B86B363231424   ARDELL           COOPER               MO          90009463632
3B86B74812B871   THOMAS           BROWN                ID          90011067481
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3B871347351369   TAMMY       SMITH                     OH          66032053473
3B8718A9577539   RICHARD     LEE                       NV          43024958095
3B8724AA391831   DIEGO       RAMIREZ                   OK          90014824003
3B872772431424   MYA         DAVIS                     MO          90014237724
3B873391876B89   MARCOS      PEREZ RIVERA              CA          90006333918
3B873539851339   NATHALIE    LORIMER                   OH          66051405398
3B87392328B162   NATE        GODFREY                   UT          31062929232
3B873A97277539   JUAN        RIVAS                     NV          90014170972
3B8741A2541258   BENJIMAN    GENTILE                   PA          90013941025
3B874355951339   GEORGE      WALKER                    OH          90015083559
3B87443257753B   JESUS       MORENO                    NV          90012504325
3B874447377544   GODINEZ     JAVIER                    NV          90000144473
3B874565977539   JON         BRADFUTE                  NV          43050255659
3B874669A41285   SHAWN       BAKAJ                     PA          51083246690
3B874769955936   TINA        SHARP                     CA          90005887699
3B87481337753B   ENRIQUETA   ALVAREZ                   NV          90012218133
3B874866155972   GARY        HURRAY                    CA          90012118661
3B874A2418B16B   FELIPE      MONTES DE OCA             UT          31018130241
3B87545A776B89   NEYDA B     POSADAS                   CA          46083384507
3B875A95155951   CRISTINA    GARZON                    CA          49077150951
3B87631135B156   CASEY       WALKER                    AR          23092873113
3B876348897126   JESSICA     MARTINEZ                  OR          90008073488
3B87663562B835   SARAH       VAY                       ID          42078456356
3B876758141277   DAVID       BICE                      PA          90012767581
3B87697225B393   ENRRI       GONZALEZ                  OR          90010299722
3B877345741258   BRETT       KENNEDY                   PA          90013673457
3B877414747931   BEVERLY     COURSEY                   AR          25024494147
3B87745315B281   AJAMU       ALI                       KY          90009994531
3B87765655B393   HEATHER     ENGSTROM                  OR          90011546565
3B87767447753B   TERRICITA   UNDERWOOD                 NV          90014836744
3B87767448B166   ALEXANDER   MILLER                    UT          31002546744
3B87824775B281   ERICA       COOLEY                    KY          90013692477
3B87824892B871   TRINA       DALE                      ID          90009632489
3B87857717B639   REGINA      CLAY                      GA          90015355771
3B8787A6576B89   ALLEN       GRAF                      CA          90014707065
3B878A5427B639   OLIVER      CARRILLO                  GA          90011890542
3B87919A977544   JOSE        FERRER                    NV          90006161909
3B879227291831   DEVANTE     LOVE                      OK          90007622272
3B87958714124B   TROY        STEVENS                   PA          51094875871
3B879818254165   IAN         MCKINNON                  OR          47090518182
3B87996178B162   KERI        BROWN                     UT          31069959617
3B879A2888B16B   BRITTANY    GALLEGOS                  UT          90009080288
3B87B19A35B156   TIFFANY     SIMPSON                   AR          90013151903
3B87B214A55972   JAIME       SOTO                      CA          48062032140
3B87B28A12B871   JORGE       VITALES                   ID          90005792801
3B87B2A777B639   SADE        WHITEHEAD                 GA          90014172077
3B87B69536194B   PHILLIP     HAYES                     CA          90009186953
3B87B86954124B   TOMLIN      VALENTINE                 PA          90013938695
3B87BA6225598B   KATRINA     OCHOA                     CA          90008560622
3B881612891538   SUSIE       MENDOZA                   TX          90006086128
3B881852655972   ZAIRA       CEJA                      CA          48073458526
3B881932172455   ANGELA      MIKLAVIC                  PA          51073789321
3B88197237B639   OSWALDO     VASQUEZ                   GA          90011189723
3B88214587753B   SALVADOR    ANGUIANO                  NV          43041321458
3B88243A47B449   CARMEN      RAGIN                     NC          11057934304
3B882886177544   BRANDON     FEDINIC                   NV          90014518861
3B88291338B166   TANYA       STENSLAND                 UT          90008059133
3B883A34677544   MARIA       ZAMBRANO-VEGA             NV          90015020346
3B883A8918B166   LATANYA     STEPHENS                  UT          90012120891
3B884269991584   NOEL        JIMENEZ                   TX          90010992699
3B88437138B162   JASLEE      HORE                      UT          90007263713
3B884413A5B281   KATHRYN     SMITH                     KY          90014864130
3B88442A87B639   PRISCILLA   MORGAN                    GA          90003694208
3B88458187753B   CAROLE      FLYNN                     NV          43013745818
3B88464592B871   MARIA       GODOY                     ID          42090106459
3B88466628B16B   RYAN        VEGA                      UT          90013836662
3B884775391544   MARIA       VASQUEZ                   TX          90009447753
3B884921A61963   JAMES       DAVENPORT                 CA          46012879210
3B88517958B16B   BRIAN       HANSEN                    UT          90008931795
3B88568582B87B   ADEN ADDI   ALI                       ID          90015116858
3B88614255B393   RONALD      SEARS                     OR          44524021425
3B88618694B943   MINDY       WALTERS                   TX          90010941869
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3B88675A355951   DANIEL        SANDOVAL                CA          49002167503
3B886A1375598B   JOSEFINA      ZAPATA                  CA          49098850137
3B88719434124B   OLIVE         NAMYONGO                PA          90015321943
3B887383131424   MARCO         BATTA                   MO          90002983831
3B887648355951   CAROLINA      ZAVALA                  CA          90014776483
3B88799532B835   STEVEN        MOCABY                  ID          90015289953
3B887A88655949   MANOLO        ZUNIGA                  CA          49081090886
3B888132272496   KEVIN         OROS                    PA          90014091322
3B88838A97B471   KHRISTINA     WALDROUP                NC          90008043809
3B88861285B52B   CHANIN        KELLY                   NM          35095536128
3B88861535598B   BENJAMIN      MUNOZ                   CA          49095256153
3B88863928B16B   DANIEL        PETSCHE                 UT          90011856392
3B88888524B281   KRISTA        ROBISON                 NE          27039348852
3B888888161963   NERGIZ        ALI                     CA          90014748881
3B88922754B943   HULICES       NUNEZ                   TX          90010782275
3B88975A777544   CAURIE        KYLE                    NV          90010427507
3B88B162255951   CHRIS         ESCOBEDO                CA          49029771622
3B88B439841285   JULIAN        VAUGHAN                 PA          90014174398
3B88B446931424   GORDON        WEBER                   MO          90008374469
3B88B87565598B   LESLIE        DANIELSEN               CA          90002998756
3B88B979551369   DANIELLE      JACKSON                 OH          66037109795
3B88BA42A5B281   KEVIN         LUSH                    KY          68051330420
3B8915A4141277   BRADLEY       BERGAMASCO              PA          51087405041
3B891648355951   CAROLINA      ZAVALA                  CA          90014776483
3B891872155949   TRUE          XIONG                   CA          90004638721
3B891888161963   NERGIZ        ALI                     CA          90014748881
3B89286A455972   MARISA        BAKER                   CA          90015258604
3B892974251339   NATHAN        FARQUER                 OH          90006329742
3B89315764124B   ALYSSA        FINKBEINER              PA          90003761576
3B893216472496   DAVID         WILSON                  PA          90014372164
3B89338AA54165   TYLER         NOLAN                   OR          90014923800
3B89355A855951   BEATRIZ       CERVANTES               CA          90001905508
3B89427574B281   LUISA         VALBUERA                NE          27098722757
3B89497747B471   UNKNOWN       KENA BREWER             NC          11010129774
3B894A5322B87B   MARY          REAMS                   ID          90000400532
3B894A58A2B871   CHRISTINA     VANZANDT                ID          42073360580
3B895196831639   CARLOS        ARAIZA                  KS          90013491968
3B895757254165   JUSTIN        BAYLESS                 OR          90012357572
3B895A1A17753B   CHRISTOPHER   URQUILLA                NV          90015070101
3B896163477539   AARON         KOLLER                  NV          90006471634
3B8961A3A55972   ALMA          SANCHEZ                 CA          90010741030
3B896648355951   CAROLINA      ZAVALA                  CA          90014776483
3B89669515B344   CRISTOBAL     GARCIA                  OR          90010276951
3B89673168B166   CARL          TUKE                    UT          31023987316
3B89714785B536   LISA          ORTEGA                  NM          90010191478
3B89723734B943   ANDREW        HOOSIER                 TX          90009912373
3B897493676B89   JANE          AUSAGE                  CA          90010374936
3B897846651369   VINCE         SANFORD                 OH          66011018466
3B89858A42B93B   CATHERINE     VILLA                   CA          90015135804
3B89869174B943   URIEL         BERMUDEZ                TX          90014276917
3B899727191831   JANET         ONEAL                   OK          90009737271
3B8997A245B393   BECKY         HUNTER                  OR          90014177024
3B89B454947931   RICHARD       JEFFRIES                AR          25013034549
3B89B637641258   WILLIAM       LLOYD                   PA          90014446376
3B89B641991356   SCOTT         SAMPLE                  KS          90011786419
3B89B89888B166   DEBBIE        DRAPER                  UT          31081118988
3B8B114187B639   DELORES       DUNLAP                  GA          90012661418
3B8B119334B943   MARTIN        RIVERA                  TX          90014181933
3B8B158935B592   PHYLLISHIA    SANCHEZ                 NM          90008735893
3B8B1613461963   TANIA         MEJIA                   CA          90004336134
3B8B1731A7753B   DAISY         GONZALEZ                NV          43028517310
3B8B1863A55951   ROZENDO       TELLO                   CA          49015598630
3B8B191A331424   JOYCE         ALFRED                  MO          90014469103
3B8B1A96A54165   MERIDITH      LESLIE                  OR          90006520960
3B8B2125A51369   DERICK        ALLEN                   OH          90013391250
3B8B213875B393   AMELIA        CHAVEZ                  OR          90006541387
3B8B2672255949   ALEJANDRO     GARCIA                  CA          49033996722
3B8B276465B52B   GABINA        GARCIA                  NM          35063747646
3B8B292785598B   CORINA        HERRERA                 CA          90014849278
3B8B293A17B449   SHAWANA       FRANCIS                 NC          11010209301
3B8B2A1A531424   TAISHA        GALARZA                 MO          90012580105
3B8B3146591584   PORFIRIO      RODRIGUEZ-RUCOBO        TX          75035551465
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3B8B3233255972   LEAH                MARTINEZ          CA          90011232332
3B8B3563655951   VAZQUEZ-            PATRICIO          CA          90001665636
3B8B358A291356   DEREK               WATTS             KS          90013525802
3B8B395634B281   TIKA                GURUNG            NE          90012099563
3B8B3A88377522   TIMOTHY             DOSS              NV          90014440883
3B8B3A93641285   ASHLEY              WEDD              PA          90014450936
3B8B4186172B93   TEENA               PHILLIPS          CO          90012771861
3B8B4232872496   FELICIA             SMITLEY           PA          90014852328
3B8B427347B639   CANTRELL            HOLT              GA          90010982734
3B8B444617753B   EDWARD              SMITH             NV          43084204461
3B8B451565B156   MELANIE             SEMISTON          AR          90005005156
3B8B453697B432   MYRA                JOHNSON           NC          90005245369
3B8B4676941277   ANDRA               MAMMARELLI        PA          90012676769
3B8B46A428B16B   CHRIS               SPARROW           UT          90004426042
3B8B4789A61963   VIBIANA             SERVIN            CA          90012767890
3B8B47A6577544   CORNELIUS           LONG              NV          90013707065
3B8B4A4648B162   TOMI                ORTEGA            UT          90006720464
3B8B53A4291356   ISIDRA              MARTINEZ          KS          90014823042
3B8B5868A76B89   JULIAN              VENEGAS           CA          90004748680
3B8B5917672B24   SALVADOR            RAMOS             CO          33033839176
3B8B5A55361963   AMANDA              ERCHUL            CA          90008280553
3B8B6212376B89   ANGELICA VICTORIA   JUAREZ            CA          90013062123
3B8B6393255972   JUNIOR              ALVARADO          CA          90007703932
3B8B6531231424   SAM                 BOWMAN            MO          90004635312
3B8B6618677539   MOHONNED            JOHNSON           NV          90009746186
3B8B666752B835   CHRISTINE           MARTINEZ          ID          42057566675
3B8B669335B393   BETSY               MARIN             OR          90005096933
3B8B685494B281   DANZELLER           ECHITINAW         NE          27018908549
3B8B6912191831   TASHA               WILLIAMS          OK          90002989121
3B8B6A42684368   GUSTAVO             DIAZ ROJAS        SC          90008290426
3B8B7312351339   JOSHUA              BURNS             OH          90007843123
3B8B738484B943   JARVIS              BENTON 1ST        TX          76586883848
3B8B7571441258   TIMOTHY             MILCIC            PA          90009455714
3B8B75A542B835   GUSTAVO             ESQUIVEL          ID          90001765054
3B8B7765891356   MARIA               HERNANDEZ         MO          90009537658
3B8B799434124B   GUY                 JOHNSON           PA          90013119943
3B8B8128561925   YULIED              MORALES           CA          90008681285
3B8B8164A2B93B   RUDY                VARELA            CA          90001781640
3B8B838484B943   JARVIS              BENTON 1ST        TX          76586883848
3B8B8569376B89   MONICA              VASQUEZ           CA          90013815693
3B8B878685B393   SALVADOR            GARCIA            OR          90012907868
3B8B925885B281   LEANDREA            LEE               KY          90013902588
3B8B9293577539   CORY                PEER              NV          90006252935
3B8B9331A51369   LIDIA               HERNANDEZ         OH          90011623310
3B8B93A2291356   LISA                WILKINSON         KS          90002513022
3B8B944A341285   CHRISTINE           SAYNE             PA          90005004403
3B8B957484B943   JESSICA             JOHNSON           TX          90011215748
3B8BB19334B943   MARTIN              RIVERA            TX          90014181933
3B8BB347351339   DANNIE              THOMSPON          OH          90014943473
3B8BB373861963   MARINA              CASTRO            CA          90004193738
3B8BBA7395B393   LETICIA             SANCHEZ           OR          44585570739
3B91135415B344   ALICE               CALDWELL          OR          44597793541
3B91181A17753B   MITCHELL            BERGSTROM         NV          90013328101
3B91192AA55972   JOHNNY              MARTINEZ          CA          48084769200
3B911A12372496   SUSAN               PRITTS            PA          90011130123
3B912619148B59   DEQUANA             MURPHY            NM          37079656191
3B912824691543   MARIO               MALDONADO         TX          90012928246
3B912871555949   JORGE               MORA              CA          49013968715
3B91322517753B   HEATHER             ELLIS             NV          90007382251
3B913426177539   NAYELY              SANCHEZ           NV          90002574261
3B91346734B989   TIFFANY             BOOKER            TX          90000924673
3B91373767B639   VIRGINIA            AVERETT           GA          90013387376
3B913837151339   STEVE               COLDIRON          OH          90012768371
3B91448A325655   AAPRI               BELLARD           AL          90014794803
3B9145A725B393   LAURA               BAUTISTA          OR          44546955072
3B91463127B471   REINALDO            BRUCA             NC          90013036312
3B9146A774124B   ANGEL               BENZ              PA          51021926077
3B914888161963   NERGIZ              ALI               CA          90014748881
3B9154A247B449   DWAYNE              ELMORE            NC          90003844024
3B915678955972   JUSTINA             ALDANA            CA          90007306789
3B91582617B639   MIKELL              LATOSHA           GA          90008538261
3B915983A55949   FERNANDO            LUNA              CA          90013789830
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1899 of 2500


3B915A1844124B   MARCEE       MOSLEY                   PA          51084870184
3B915A68776B89   ANGEL        GARCIA                   CA          90004870687
3B916111855972   MARIA        GUADALUPE                CA          90014251118
3B916338977539   ANA          MARTINEZ                 NV          90014183389
3B916378776B89   MICHAEL      MORALES                  CA          90012333787
3B91648999375B   JENNIFER     HAMMAN                   OH          90011044899
3B91662AA71656   WARREN       ADAMS                    NY          90015286200
3B91668934B281   JOSEPH       PEREZ                    NE          90013806893
3B916839872496   HIPOLITO     TOJIL SANCHEZ            PA          90011488398
3B916888161963   NERGIZ       ALI                      CA          90014748881
3B916A44A31424   TIFFANY      CAMPBELL                 MO          90001510440
3B916A59284368   SAYDI        ROBLERO MORALES          SC          90005470592
3B917373391831   JETT         VUE                      OK          90014363733
3B91781277B639   TAWANA       MCKELVEY                 GA          90013938127
3B91839A785824   CYNTHIA      HENRY                    CA          46010323907
3B918688131424   FREDRICK     ADAMS                    MO          90006766881
3B91893418B16B   TROY         HANSEN                   UT          90014139341
3B919444551339   JUDY         GIRZZLE                  OH          90015104445
3B919589155949   MIGUEL       RAMIREZ                  CA          90008895891
3B919624755951   MICHEAL      MCG                      CA          90009176247
3B91994A277544   JOHN         GIBBONS                  NV          90010769402
3B91999625598B   THIAGO       NOVIS                    CA          90013249962
3B91B55375B393   ABRA         POLEDNA                  OR          90013675537
3B91BA5388B166   PHILLIP      WEST                     UT          90001670538
3B92118AA77544   TODD         SMITH                    NV          43029211800
3B92152498B162   WILLIS       LORAINE                  UT          31000865249
3B921542A2B87B   GATURUTURU   SHAKONDO                 ID          90000425420
3B92234947B471   BELTON       OATES                    NC          90012633494
3B92242545598B   JERRI        LEVY                     CA          90003774254
3B9225A4491831   BRITANY      HEDGES                   OK          90006705044
3B922697555972   SAMANTHA     BOCANEGRA                CA          90015006975
3B922A18841277   LINDA        WENDY                    PA          90015060188
3B922A8875B344   LORENA       SANCHEZ                  OR          44579970887
3B92313745B344   JOSHUA       HUNTER                   OR          44524911374
3B92321A45B344   MONICA       BODLE                    OR          90013562104
3B92323942B835   KENNY        STENGER                  ID          90008502394
3B9234AA991831   CHRIS        SANCHEZ                  OK          90015104009
3B92381277B639   TAWANA       MCKELVEY                 GA          90013938127
3B924127655972   PEDRO        MACEDO                   CA          48046731276
3B92432575B281   TIMOTHY      JONES                    KY          90012643257
3B9244A327B471   MICHAEL      NEAL                     NC          90014224032
3B9246A398B16B   TRAVIS       MENDOZA                  UT          90008206039
3B924859577544   RICHARD      DUVALL                   NV          90013888595
3B924885855951   GAABRIEL     MORALEZ                  CA          90012668858
3B92517765598B   ISABEL       HERNANDEZ                CA          90001171776
3B925181A5B344   DAVID        CAGLE                    OR          90005121810
3B92521665B156   ALBERTINA    MARTINEZ                 AR          23026822166
3B925411777544   WALTER       JACKSON                  NV          90014834117
3B92553445B52B   JOSEPH       MATNEY                   NM          35051695344
3B92588135B393   HEIDI        LEE                      OR          90015108813
3B925893761963   PENNY        POWERS                   CA          90014748937
3B926364977544   CAROLYN      DECKER                   NV          43074933649
3B926A3118B162   DAVID        RAY                      UT          31030060311
3B92712757B471   CORENITA     JONES                    NC          90010021275
3B92761A431424   LISA         GALBREATH                MO          27586336104
3B92794525598B   JEANINE      ZIMMERMAN                CA          49008519452
3B9281A8641285   LORETTA      MENOSKY                  PA          90014451086
3B928313677539   JUAN         BARRAZA PANIAGUA         NV          90000803136
3B92857418B166   CHRYSTAL     STOCK                    UT          90010215741
3B92885242B93B   KELLI        AMES                     CA          45068468524
3B929223461963   JORGE        TELLO                    CA          90011542234
3B92924685598B   JACQUELINE   TAPIA                    CA          49005462468
3B929378981681   MARION       MULLIKIN                 MO          29014183789
3B92985A52B87B   MARIO        MORA                     ID          90010798505
3B92B398191356   YADIRA       REYES                    KS          90011853981
3B92B417831424   LAZO         ORQUIDEA                 MO          90013934178
3B92B49A931424   KEVIN        KIRKPATRICK              MO          90011674909
3B92B514A84368   DARLEXI      AGUILAR                  SC          90012275140
3B92B524755949   TERRI        HAWKINS                  CA          90006485247
3B92B764591831   HELEN        ESPINOSA                 OK          21069217645
3B93129267B639   DENISE       KIRKLAND                 GA          90014382926
3B931796531424   JEWELENE     JEFFERSON                MO          90014507965
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3B931834741258   AURELIA     FRATINI                   PA          90014238347
3B93192854124B   ROSE ANN    TIERNO                    PA          51004069285
3B93233A25B156   GREGORY     LONG                      AR          90013553302
3B932399547931   KRISTINA    SIMS                      AR          90007803995
3B9323A754B559   CODY        THOMAS                    OK          90009993075
3B93242937B639   MELANIE     DENSON                    GA          15046394293
3B93312445598B   FRANCISCO   MENDOZA                   CA          90006161244
3B93347A191554   NORMA       MORENO                    TX          90001234701
3B934336472B76   GEOVANY     JIMENEZ                   CO          90005033364
3B934518955951   ROSA        FLORES                    CA          90001035189
3B934851591584   MARTIN      ROSALES                   TX          90010508515
3B93485A52B87B   ROBIN       SALINAS                   ID          90009978505
3B93516565B281   ROSA        FRENANDEZ                 KY          90004501656
3B93624392B871   TYLER       CONN                      ID          42059102439
3B936966177539   STANLEY     MOUSER                    NV          43058569661
3B936966872496   EVETTE      WALKER                    PA          90001629668
3B936A18891232   QUADRIAH    HICK                      SC          14500280188
3B936A78855951   DELINAH     MARTINEZ                  CA          90014780788
3B936AA2172B24   FIDEL       VALADEZ                   CO          90008080021
3B937199A92886   FLOR        ROJAS                     AZ          90015491990
3B937234A72496   EVELYN      HARRIS                    PA          90014852340
3B937467784345   AARON       KIRVEN                    SC          90014834677
3B937535676B44   JAMES       TOWNE                     CA          46008055356
3B937697641285   ALYSSA      CUOMO                     PA          51063936976
3B937867151339   MONIQUE     HAWLEY                    OH          90014568671
3B938218144B5B   JERRY       SUTTON                    OH          90013332181
3B938284124B35   DELFINO     CHAVEZ                    DC          90013052841
3B938438231424   VERONICA    WOODSON                   MO          27582674382
3B939294584368   JENNIFER    WASHINGTON                SC          90000212945
3B939531172B32   LAURA       GOMEZ                     CO          90012735311
3B939549A4B943   HECTOR      LAVOY                     TX          90015415490
3B939A5434124B   PREN        BATTARAI                  PA          90014570543
3B939A71672496   ROBERT      CONEWAY                   PA          90009390716
3B93B24967B43B   OMAR        CASTRO                    NC          11014612496
3B93B7A1755951   JOE         XIONG                     CA          49081577017
3B941183161963   JAMILA      HADI                      CA          90009901831
3B94131832B871   COREY       THOMAS                    ID          90013943183
3B941972341277   MICHELLE    MURRAY                    PA          51095459723
3B941A37897B34   WARREN      SCOTT                     CO          90014210378
3B942215347931   TARA        FARIAS                    AR          25073622153
3B942223461963   JORGE       TELLO                     CA          90011542234
3B94223695B344   BEATRIZ     MANDUJANO                 OR          44561062369
3B943292672B76   MICHAEL     FOX                       CO          33082332926
3B943338572496   AUDREY      SENTZ                     PA          51016853385
3B94344115B393   CYNTHIA     MURRAY                    OR          90001584411
3B943553A7B449   TIMOTHY     POOL                      NC          11076125530
3B94384484B943   MARIA       AYALLA                    TX          90014328448
3B944342976B89   ANGELICA    MILLAN BAHUMAN            CA          90012883429
3B944373672B24   MERCEDES    MORANO                    CO          33033993736
3B944637A7B449   RASHIDA     CURRY                     NC          90010516370
3B945129331432   LARON       IVY                       MO          90010911293
3B945159391831   ROGER       SURBER                    OK          21004371593
3B9456A532B28B   DONNELL     BROAD                     DC          90010606053
3B94574777B639   LAFAYETTE   BANKS                     GA          90012797477
3B94584484B943   MARIA       AYALLA                    TX          90014328448
3B9461AA172496   JOHN        WILTROUT                  PA          51046241001
3B94669792B87B   YAEL        MORENO                    ID          42042406979
3B94681635B344   NANCI       NAVARRO                   OR          90015338163
3B94687A65B344   TERUSA      BILLY                     OR          44509428706
3B946A43251339   MARANDA     ROMAN                     OH          90012770432
3B94727878B162   ZACHARY     CHATWIN                   UT          90000332787
3B94785917B471   DEANNA      WOODS                     NC          90013748591
3B947955677544   MICHAEL     CHILDS                    NV          90011519556
3B947993954165   MICHELLE    ROHR                      OR          90015269939
3B9487A6271485   ARANCA      FERARITA                  CA          90014007062
3B9491A9355951   KASARA      VELA                      CA          90014781093
3B9491A975B344   ZOILA       GARCIA                    OR          90013781097
3B94954327753B   ERIC        FRANSLER                  NV          90011165432
3B949621A4B943   BRYAN       ESTUPINAN                 TX          76573326210
3B949858751339   KASSANDRA   LANDACRE                  OH          90011668587
3B949A29286436   ANTHONY     GRADY                     SC          90015100292
3B949A44577539   NOHELIA     CASTELLANOS               NV          43050380445
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3B94B19255B156   S                 ERVIN               AR          23083261925
3B94B5A8261925   H                 SEARLES             CA          90000475082
3B94B798777539   VICTORIA          CORNEJO-PENA        NV          90014667987
3B94B8A9976B89   DOLORES           DOMINGUEZ           CA          90009608099
3B94BA96955972   ANGELA            LOPEZ               CA          90015570969
3B95175698B162   BRENDAN           OGORMAN             UT          90014237569
3B95199615B344   APOLINAR          ALMONTE             OR          44556359961
3B95217A65B156   LYNDA             FRIERSON            AR          90014331706
3B95248755B38B   DENNIS            OLSON               OR          44509094875
3B952613A2B87B   BRANDI            FURSTENAU           ID          42063686130
3B952655A7B471   EBONY             HYDEN               NC          11092486550
3B952979755972   TERESA            WILLIAMS            CA          90013259797
3B952A6955B155   ZETORIA           JOHNSON             AR          90014500695
3B953724661963   IISHA             GRIFFIS             CA          90011227246
3B953774251339   MARSHA            COLTER              OH          66056417742
3B953792936B77   MARTHA            ESCOBEDO            OR          44567077929
3B953847241277   SOLOMAN           BEY-WILLIAMS        PA          90013288472
3B95399237B43B   OLIVIA            GOMEZ               NC          90007039923
3B954176676B89   CRISTINA          ALVARADO            CA          90013301766
3B9541A864124B   TERESSA           FLAHERTY            PA          51030781086
3B9541A865B156   JOHNDLYNN         DEDMON              AR          90010891086
3B954494372455   MARY              CLAYTON             PA          51064844943
3B95458375B393   ADRIANA           HERNANDEZ           OR          90013675837
3B95494665B344   RAYME             LACEY               OR          90014929466
3B954A5565B536   GEORGE            PEREZ               NM          90010820556
3B954A6757B471   ROXANNE           DAVIS               NC          11092040675
3B955166741244   KETURAH           MCCULLOUGH          PA          90001791667
3B95521658B162   LIER              SHERARD             UT          90010452165
3B95535322B93B   ISAAC             MONTEZ              CA          90011243532
3B95582775B344   STEFAN            ROSQVIST            OR          44559458277
3B955A9835B344   DONNA ELIZABETH   POSTEHER            OR          90010710983
3B956591436B77   CECILIA           CAMACHO             OR          90011565914
3B956598672B76   ALEXIS            BUSTAMANTE          CO          33000685986
3B95667952B93B   SHELLIE           THEODORATOS         CA          90014876795
3B95671182B835   TAMMY             JINCKS              ID          90001447118
3B95697314B281   ALLYCIN           HIOD                NE          90015159731
3B95733162B835   HEATHER           MARTIN              ID          90012893316
3B957718261993   MIKE              BERRIL              CA          46063397182
3B957796976B44   NADINE            ROMERO              CA          46088307969
3B957A65855949   GABRIELE          DIAZ                CA          90005240658
3B957A86855972   DAVID             DENNEY              CA          48040060868
3B958488476B89   DAVID             HARVEY              CA          90010674884
3B958A7142B835   JASON             MCCARTY             ID          90009850714
3B95932A54B943   TYRA              S POWELL            TX          90000933205
3B959394972B76   BLANCA            DEVORA              CO          33082333949
3B959965654165   NICOLE            DOHERTY             OR          90014839656
3B95B494372455   MARY              CLAYTON             PA          51064844943
3B95B528A4124B   DANIELE           JONES               PA          90014915280
3B95B868A61963   CYRUS             BROOKS              CA          90002728680
3B95B996741277   LONETTE           BARNES              PA          51050469967
3B961891177544   MARIA             VARGAS-MURILLO      NV          43012418911
3B962223851339   LATASHA           HOOKS               OH          90013912238
3B962457551369   CHARLETTA         SCOTT               OH          90013964575
3B96246568B16B   SANTIAGO          SILVA               UT          31017054656
3B9629A3654165   LINDA             LEBOEUF             OR          47025879036
3B963588791831   ANGELA            HALL-OTIS           OK          90013775887
3B96381A577539   THOMAS            HARVEY              NV          43010378105
3B96393317B639   PAYGO             IVR ACTIVATION      GA          90012249331
3B96395757B471   MAYSHA            JAMES               NC          90013719575
3B96395A74B281   NICKA             WALKER              NE          90009149507
3B964174248B23   JENNIFER          CARRASCO            AR          37021161742
3B964175251369   RICK              EISENECKER          OH          90015221752
3B964337177544   ROMAN             GARCIA RODRIGUEZ    NV          90010663371
3B96478668B162   CLEVE             PEHRSON             UT          31011717866
3B964816184368   KENRICK           CHAMBERS            SC          90011178161
3B96543197B639   LARIKA            HALE                GA          90013574319
3B965A2978B166   FIELDS            TOMMY               UT          90008490297
3B965A96691356   JUAN              RUBIO               KS          90002510966
3B96769467B639   MATALEAN          MOORE               GA          90014286946
3B967952591356   TIMOTHY           CRUTCHER            KS          29031899525
3B9684AA65B281   JERICKA           RUCKER              KY          90013594006
3B968841754165   PHILLIP           WERNER              OR          90014388417
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1902 of 2500


3B968847441258   JOSHUA      SHEARER                   PA          90007278474
3B968879751339   BRIAN       TAULBEE                   OH          90014568797
3B9689AA14B281   ANGELIQUE   GRAY                      NE          27017209001
3B968A2538B16B   BRYCE       LABELLE                   UT          90010090253
3B969955641258   RICH        SIPKO                     PA          51024579556
3B969A31A91831   CHRISTINA   DACZEWITZ                 OK          21025670310
3B969A41551369   RODNEY      MOORE                     OH          66087450415
3B969AA378B16B   THOMAS      REED                      UT          31044800037
3B96B13875B393   VICTOR      SANCHEZ                   OR          90015151387
3B96B489777539   MARTINA     MARTINEZ                  NV          90014184897
3B96B581A55949   ELSA        RIVERA                    CA          90012785810
3B96B621A4B943   BRYAN       ESTUPINAN                 TX          76573326210
3B96B624391831   CARESSA     LEWIS                     OK          21090726243
3B96B758155951   KEVIN       ORMSBEE                   CA          90014787581
3B96B8A5361963   TERESA      ANDRADE                   CA          90010468053
3B96B962791356   SONYA       SANCHEZ                   KS          90014869627
3B97115525598B   CECILIA     GONAZLES                  CA          49039221552
3B97144157B471   JOSE        VASQUEZ                   NC          90004424415
3B97155934B281   ERIN        YOST                      NE          90014025593
3B971715751339   JENLYN      PAXSON                    OH          90009467157
3B971855861921   HUGO        JUAREZ                    CA          46083378558
3B971946691356   THATE       COLEMAN                   KS          90015379466
3B972234191356   HORESTINE   SINGLETON                 KS          29067762341
3B97224227753B   OMAR        ALVAREZ                   NV          90006532422
3B97252474B943   CORDELL     PEREZ                     TX          90010385247
3B972579177539   ROBERTO     GALAN                     NV          90012405791
3B972797A4B281   JOSE        ACEVEDO-LUCERO            NE          27016157970
3B972A1578B16B   WHITNEY     PENROD                    UT          31005550157
3B972A4244124B   DEBRA       PRUCHNITZKY               PA          51022560424
3B97341348B162   BARB        JOHNSON                   UT          90000324134
3B973566551339   KRISTEN     MC ARTHUR                 OH          90013825665
3B973775241277   MICHAEL     ESASKY                    PA          51048897752
3B974241972496   JACOB       BREBRICH                  PA          51040492419
3B974328376B89   MARIO       VELASO                    CA          90001873283
3B97457184B943   MIKEKORY    SIMON                     TX          90015185718
3B974665191356   CRAZY       KAY                       KS          29006956651
3B9747AA72B87B   RICHARD     SISSON                    ID          90007647007
3B974834255949   LISA        RICHARDSON                CA          90004028342
3B974895691584   CORINA      DIAZ                      TX          90010508956
3B97494975B389   VEENICE     LOPEZ AGUILAR             OR          90001519497
3B975222A41285   JOAN        ADAMS                     PA          51055302220
3B97524315B156   LASONYA     NELSON                    AR          23007162431
3B97555A772496   BILLY       JAMES                     PA          90003515507
3B97562857B639   LATOYA      WORTHEY                   GA          90010026285
3B97577515598B   COURTNEY    HAZELTON                  CA          90013067751
3B9757A8681427   EMIRE       ROSENDARY                 PA          90011827086
3B975915172496   DONNA       KRULL                     PA          90013289151
3B97591877B639   CORDARIUS   MITCHELL                  GA          90013119187
3B97597158B16B   BRICE       CHISHOLM                  UT          90013959715
3B975A4334B943   WALTER      HOLMAN                    TX          90005860433
3B97646A78B166   ANN         BRIDENSTINE               UT          31069624607
3B97653244B281   IRENE       ALBERT                    NE          90010935324
3B97664127B449   MARCO       MACHUCA                   NC          90002486412
3B97669937753B   ESTUARDO    SANDOVAL                  NV          43075586993
3B977127877544   BRITTNEY    O'DAY                     NV          43056041278
3B977313691584   JEANNETTE   CORTEZ                    TX          90001963136
3B977516777539   KELLY       WESTBROOK                 NV          90013155167
3B9775A9472496   THOMAS      MONOSKY                   PA          51048625094
3B97763597B449   SHANEIKA    SINCLAIR                  NC          90013496359
3B97819777753B   CATALINA    SARABIA MARQUEZ           NV          43027981977
3B978587A33638   NYEASHA     PATRICK                   NC          90008435870
3B9792A262B93B   SALVADOR    PARRA                     CA          90013232026
3B97932234B943   STOKLEY     THOMAS                    TX          90010743223
3B979586954165   CESILIA     ALVERTO VARGAS            OR          47005455869
3B979611A5B393   NICHOLAS    PERGOLA                   OR          90014276110
3B979927951369   BRANDY      GOINES                    OH          90003119279
3B97995A37B639   AL          ROSSER                    GA          90013939503
3B97B418655949   PAMELA      HARGROVE                  CA          90010874186
3B97B51362B871   TRUDY       GLOSTER                   ID          90014555136
3B97B665941285   JOHN        OLASZ                     PA          90013496659
3B97B827985974   CANDACE     FAULKNER                  KY          90003378279
3B97B84722B871   TRUDY       GLOSTER                   ID          90014398472
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3B97BA69A47873   BUFFIE           COATS                GA          90015170690
3B98118674124B   MONIQUE          PAYNE                PA          90013961867
3B98175A572B76   FERNANDO         ESPINOZA GONZALEZ    CO          33021067505
3B982211341285   SHAWNA           MUDRON               PA          90006192113
3B982A4665B52B   CELIA            RODRIGUEZ            NM          90010620466
3B982A56884326   JENNIFER         MIDDLETON            SC          90006610568
3B9834A2777367   JOSE             GARCIA                IL         90015104027
3B983514651369   ANTONIO          UCHOA                OH          66092055146
3B98358394124B   TRIQ             PRICE                PA          90010935839
3B98445522B93B   MARLEN           RAMIREZ              CA          45093664552
3B98469352B871   MARIA            MORALES              ID          90011236935
3B98474A748B55   VICTORIA         VILLICANA            AZ          90011837407
3B984A25361963   ZACHARY          BERG                 CA          90013010253
3B984AA3141285   THOMAS           HANNAN               PA          51030490031
3B98518818B16B   PAUL             SALAZAR              UT          31000331881
3B98534925B156   EVELYN           HOOF                 AR          90003183492
3B98576137753B   KATHRYN          REGULI               NV          43051717613
3B98582395B393   ANTHONY          BAEHR                OR          90013308239
3B98588338598B   RODNEY           SLAVEN               KY          90003448833
3B98588A25B281   RUBY             SWEENEY              KY          90015068802
3B985A11591356   PATRICIA         BISHOP               KS          90013720115
3B985A7875598B   ASHLEY           ROMO                 CA          49001310787
3B98677835B344   LORI             FACKLER              OR          44513697783
3B98689588B162   DAVID            ONEAL                UT          90014238958
3B987145A4B943   HILLARY          SAMUELS              TX          90014361450
3B987288872B24   LARRISSA         MARTIN               CO          90001922888
3B98739382B87B   BROOKE           CURTIS               ID          90004253938
3B98757A85B344   ARTURO           SALINAS              OR          90012955708
3B987755776B89   JACOB            BARR                 CA          90014867557
3B987792155963   HERACLIO         VENTURA              CA          90000917921
3B988181141285   STEPHENIE        STENGEL              PA          51060681811
3B98818A791356   DEIONTE          JACKSON              KS          90013711807
3B988519977539   GUADALUPE        SEVILLA              NV          43096495199
3B988792155963   HERACLIO         VENTURA              CA          90000917921
3B988A32476B89   NATALIA NICOLE   HUSZCZ               CA          90002930324
3B988A44885866   MEHUL            MERCHANT             CA          90012790448
3B989483155972   DAISY            LUVIANO              CA          90011404831
3B98967617B639   LANEQUA          BORDERS              GA          90008656761
3B98968A755949   ALFONSO          HERRERA              CA          49078876807
3B989719931424   BRENDA           PEGG                 MO          90012097199
3B989767377544   HECTOR           CRUZ-FLORES          NV          90009467673
3B98983647B471   VICTORA SIMONA   KNOTTS               NC          90012498364
3B98983A276B89   GREG             VIERA                CA          90007188302
3B98989954B943   SHERRY           SEPULVEDA            TX          90009928995
3B98B35122B93B   YESENIA          VALENCIA             CA          45069123512
3B98B54A177539   UBALDO           VALDEZ               NV          43079035401
3B991116A5598B   ALFONSO          REYNOSO VIEYRA       CA          90013691160
3B991393861963   TONY             SCHRINER             CA          90005783938
3B99187685B393   MIRLA            SEVILLA              OR          90011118768
3B99191112B871   LANA             MARTINEZ             ID          42029209111
3B99336495B156   ROBIN            VANNATTER            AR          90014863649
3B99353144124B   ROBERT           LENZ                 PA          51050185314
3B99357318B16B   KAREN            ADANS                UT          90012645731
3B99362A82B93B   GRICLDA          PENA                 CA          90009676208
3B99369A15598B   SALVADOR         GARCIA               CA          90000396901
3B993774377539   JESUS            SOLIS                NV          90013367743
3B9937A4541285   JOSEPH           GREENER              PA          90015017045
3B993A84773242   JOE              CARUSO               NJ          90010220847
3B994127161963   JAZMINE          NAVARRO              CA          90008551271
3B994238A41285   FREDERICK        WOODFORK             PA          51091132380
3B9948A668B16B   JAIME            STEDMAN              UT          90004788066
3B99531548B162   JULIE            BEMENT               UT          31034193154
3B995889A91538   GUADALUPE        CONTRERAS            TX          90009918890
3B9958A2761982   ESTEFANA         VILLALPANDO          CA          46061218027
3B995957455951   ESTEBAN          AYALA                CA          90011909574
3B996287141258   DARNELL          PINNICK              PA          51050402871
3B99668A47B639   LARESE           HUGLEY               GA          15023166804
3B996916A91883   CASEY            CRABTREE             OK          90010309160
3B997121A5598B   ALBERT           ALDANA               CA          49064261210
3B997445272B76   JOHN             WURL                 CO          33094124452
3B997451577544   DOMINGA          GALLARDO             NV          90001974515
3B997611191831   DANA             TURLEY               OK          21062086111
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1904 of 2500


3B997751955972   LUZ                ROQUE              CA          90013077519
3B99776137753B   KATHRYN            REGULI             NV          43051717613
3B9978A135B281   MICHAEL            THOMSON            KY          90014788013
3B998121472496   NIKKALA            FITZGERALD         PA          90014841214
3B998585377539   CAROL              DISALVO            NV          90014185853
3B9985A8261925   H                  SEARLES            CA          90000475082
3B998845A77544   JONATHAN           PADILLA-SAUCEDO    NV          90013938450
3B999254291356   THOMAS             SENTERS            KS          90013272542
3B99928A22B871   MICHAEL            CANTERBERRY        ID          90002212802
3B9994A1A5B281   GEORGE             WASHINGTON         KY          90015174010
3B99958A65B156   JAMES              COLLIER            AR          23002475806
3B999591377539   VICKIE             TARLETON           NV          90014185913
3B9997A144B931   JOANN              DEWES              TX          76594077014
3B999952A2B87B   RUTH               MORGAN             ID          42076279520
3B999A8275B344   CARRIE             BEHEN              OR          90011990827
3B99B199661963   FALLON             MCDERMOTT          CA          90014911996
3B99B88515B156   BRITTANY           DAVIS              AR          90011218851
3B9B1486777539   HEYVIN             PINEDA CASTRO      NV          90011774867
3B9B148992B835   MARIAH             RIVERS             ID          90014714899
3B9B155325B281   PAYGO              IVR ACTIVATION     KY          90008975532
3B9B194A372B76   JUAN               ALVARENGA          CO          33047299403
3B9B1AA9155951   BENIGNO            OROZCO             CA          90013200091
3B9B224798B162   ANDREW             KELLER             UT          90014232479
3B9B2373291356   DANIELLE           ADAMS              KS          90011513732
3B9B247385B393   GERALD             MORTON             OR          44502824738
3B9B28A1A55972   BARBARA            CAMPOS             CA          90014518010
3B9B2937336B77   MELANIE            CUNNINGHAM         OR          44525909373
3B9B296584B943   SHANNON            SMITH              TX          90014279658
3B9B32A2477539   FERNANDO           MURILLO            NV          90014182024
3B9B3463491831   GRACIELA           MAR                OK          21025584634
3B9B4328677544   ZAKIA              KNIGHT             NV          90012823286
3B9B4782191893   ELENA              K ECHEVERRIA       OK          21073797821
3B9B4A3515B52B   JOYCE              CHRISTIAN          NM          90014290351
3B9B5165855949   VICTORIA           BOX                CA          90014951658
3B9B544162B87B   CARL               COOKSON            ID          90010654416
3B9B557537753B   LOSA               JAPOBO             NV          90015515753
3B9B578298B16B   ANGELO             CHAVEZ             UT          90013447829
3B9B5A85676B89   CANDIDA            RAMIREZ            CA          90013130856
3B9B6272884368   DAVID G            MILLS              SC          90012432728
3B9B648A681685   ALBERTO            ZARAGOZA           MO          90000464806
3B9B6528A5B156   CECILIA            AYALA              AR          90013695280
3B9B67A755B52B   ALEXIS             FERNANDEZ          NM          90009147075
3B9B736A72B87B   ANTONIIO           FONCE              ID          90000883607
3B9B763867B491   ROBERT             ELLISON            NC          90005526386
3B9B7795455949   THOMA              ROCHA              CA          90011997954
3B9B791377B471   BLANCA             MIRANDA            NC          90012229137
3B9B81A5691831   CHARLES            FARMER             OK          90014481056
3B9B8359951369   LANAYE             PEEPLES            OH          66093313599
3B9B8415651339   ROBERT             LINDMAYER          OH          90009194156
3B9B918964B943   SOCORRO            BARRIENTOS         TX          90007581896
3B9B9198591584   GERARDO            SILVA              TX          90008471985
3B9B9241141285   JAMAR              HERMITTAGE         PA          90015212411
3B9B94A222B871   RODRIGO            RODRIGUEZ          ID          90010244022
3B9B9671A77544   CALISTA            SNYDER             NV          43081436710
3B9B9673461963   JOSE               AGUIRRE            CA          46088876734
3B9B968187B43B   TENOE              COOPER             NC          90002206818
3B9B979A24B281   JOHN               DENGEL             NE          27096447902
3B9BB12375598B   JOSUE              SANTIAGO           CA          90011971237
3B9BB337691584   MARY               GUZMAN             TX          75069543376
3B9BB414661963   ANDRES             BAUTISTA           CA          46085784146
3B9BB6A653B169   MARLON FRANCISCO   PINEDA             DC          90010126065
3B9BBA4114B281   JULIA              WEEKS              NE          27054420411
3BB11265991831   JARED              PETERS             OK          90003572659
3BB1146748B166   MARVIN             DEWEY              UT          90007984674
3BB1151455B344   TODD               MAXSON             OR          44594815145
3BB11518472455   ALYSSIA            THOMAS             PA          90015435184
3BB11849531424   KAREN              SHIVERS            MO          27509198495
3BB12176155949   NINA               YOUNG              CA          90013411761
3BB1266678B162   KEARNS             ASHLEI             UT          90007906667
3BB1274524B943   CHASE              BRAQUET            TX          90013807452
3BB12A9189713B   NATHAN             CIOBANU            OR          90009410918
3BB13668191893   KAREN              PUCKETT            OK          21059586681
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1905 of 2500


3BB1381138B162   SAM            STEELE                 UT          31086178113
3BB1384332B87B   MARIA          CRUZ                   ID          42042868433
3BB1455AA72455   ALEX           HERNANDEZ              PA          90013985500
3BB1477515B156   SARAH          HOGGATT                AR          23060237751
3BB14A47251339   JONISHN        CARR                   OH          66059650472
3BB15446572496   TIM            LINHART                PA          90010704465
3BB154A3A51339   MINDY          DURHAM                 OH          90011084030
3BB1579122B87B   SHERRY         WHITAKER               ID          90002947912
3BB15973A91831   MARKUS         STEPHENSON             OK          90008709730
3BB16248376B89   CARRIE MARIE   MADSON                 CA          90014912483
3BB1626322B93B   JOHN           MILHALIC               CA          90011702632
3BB16441155957   EDIT           LOPEZ                  CA          49048004411
3BB16686544333   MATTHEW        MIDDLETON              MD          90010256865
3BB16696677544   SEHELENE       HERNANDEZ              NV          90014366966
3BB16925357126   CRSITIAN       TORRES                 VA          90008309253
3BB16A57193768   MARK           PONDER                 OH          90013700571
3BB16A96655972   MARIA          FARIAS                 CA          90003040966
3BB17237491831   BO             WHEELER                OK          90014412374
3BB17463547931   MARIA          RIOS                   AR          90002784635
3BB17653841277   HILLARY        SIEL                   PA          90012236538
3BB17673541277   JOSEPH         VIDNIC                 PA          90013126735
3BB1793475B281   VANESSA        GOLEMAN                KY          90013929347
3BB17A8452B835   JOHN           MCGREW                 ID          90013860845
3BB1813445B52B   RUBEN          CDEBACA                NM          90012251344
3BB1879864B943   CHRISTINE      PATXOT                 TX          90014447986
3BB1885A62B871   VERNON         DOUGAL                 ID          90007448506
3BB18A98A76B89   ALFRED         DARNELL GRIMMETT       CA          46046900980
3BB19364772B24   MYRA           GRANDE                 CO          33033553647
3BB19364791584   JESUS          GUEL                   TX          90010503647
3BB19857654165   CELESTE        HUBBLE                 OR          47063078576
3BB198A6591831   BRENDA         STERLING               OK          90013958065
3BB1B757747931   DEBRA          MCCALISTER             AR          25009157577
3BB1B911161963   JORGE          LOPEZ                  CA          90013309111
3BB21343A91356   NABILA         ATER                   KS          90010683430
3BB2158325B156   MARK           EATMON                 AR          23094915832
3BB2173598B16B   TRACY          KENDRICK               UT          90010127359
3BB21738A4124B   DOUGLAS        SCHIRM                 PA          90002667380
3BB2195977753B   JAMIE          LAMBDIN                NV          90012579597
3BB22334641455   EDWARD         GOPPING                WI          90015363346
3BB2234162B871   ERIN           THEIMANN               ID          90001053416
3BB2258255B156   JESSICA        MURDOCK                AR          90013135825
3BB2279667B449   SANTARIO       GUERRIER               NC          90005717966
3BB2321778B162   STEVEN         CRAIG                  UT          31013342177
3BB2362834B943   KEIANA         BONHAM                 TX          90012856283
3BB2371828B16B   JOY            STARKS                 UT          90001327182
3BB2384877B639   FRANCO         DOMINGO                GA          90015168487
3BB241A877753B   JOSE DANIEL    TORRES TORRES          NV          90013401087
3BB24365477544   GIOVANNA       ROJAS                  NV          90011573654
3BB2458862B87B   SERGIO         LARIOS                 ID          90001975886
3BB25375855972   LISA           JACOBO                 CA          48027313758
3BB2557432B93B   LUIS           HERRERA                CA          90013215743
3BB25588A93768   JUSTIN         SULLIVAN               OH          90011915880
3BB256A914B943   JACK           SMITH                  TX          90015196091
3BB2623A761963   SALMA          RAND                   CA          90013992307
3BB26467741298   ALISHA         HARSHEY                PA          90004674677
3BB26517361489   ELENA          PIGOS                  OH          90013775173
3BB26686581621   BENNY          MCKENZIE               MO          29088576865
3BB2669412B835   JEANNIE        MORSE                  ID          90000806941
3BB2681288B166   NATIVIDAD      ALONSO                 UT          90010838128
3BB26831951369   RON            HATFIELD               OH          90004398319
3BB26952333696   DOROTHY        LITTLEJOHN             NC          90005539523
3BB2743A184368   JORGE          DOMINGUEZ              SC          14593344301
3BB277A8733133   JAMES          GIBBS                   IL         90010067087
3BB27A68151339   JENNIFER       WALKER                 OH          90012000681
3BB27A99291356   MISTI          BRUCE                  KS          90014710992
3BB28116141258   KEITH          GRAY                   PA          51008091161
3BB2814837B43B   SAMUEL         GOMEZ                  NC          90007291483
3BB28159191356   MELISSA        EDWARDS                KS          90012261591
3BB28549A72B76   LISA           GALLARDO               CO          33082305490
3BB2859398B16B   LISA           BARNES                 UT          90013445939
3BB28A4877B471   ERNESTO        NUNEZ                  NC          90013730487
3BB2927167B471   JAQUESE        SIMS                   NC          90011122716
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1906 of 2500


3BB2996495B344   SEAN         ANTHONY HOLUB            OR          44536949649
3BB29A6277B639   QUNNDERRIN   SMELLING                 GA          90013920627
3BB2B13435598B   AMY          KAZERIAN                 CA          90011071343
3BB2B53145B281   LATASHIA     BRIM                     KY          68076105314
3BB2B627455951   DIANA        LOPEZ                    CA          90014746274
3BB2B79849713B   BURTON       HOLLAND                  OR          90013547984
3BB2B892A2B871   BRYAN        SLATER                   ID          90010458920
3BB3198839125B   AURORA       SARINANA                 GA          14578709883
3BB31A8244124B   SELENA       BURRELL                  PA          90007380824
3BB32217355972   BENAVENTE    LYDIA                    CA          48009142173
3BB32727976B89   ROB          FRIEND                   CA          90011877279
3BB3317817B639   CHRISTINE    FLINTROY                 GA          15091581781
3BB33825477539   PAYGO        IVR ACTIVATION           NV          90013948254
3BB34916855949   PEDRO        SILVA                    CA          49082499168
3BB3518412B835   JUAN         MENDOZA                  ID          90000381841
3BB3524459713B   JOLENE       DESART                   OR          90009412445
3BB3584962B93B   REYNALDO     NUNEZ                    CA          45059378496
3BB35938A7753B   ANGELA       BENSON                   NV          43097729380
3BB36293141285   JOHNATHAN    DANIELS                  PA          90014842931
3BB36674355949   NADINE       REDMOND                  CA          90013286743
3BB3675314B532   JUWAN        TAYLOR                   OK          90008967531
3BB3741634B281   AMBER        SINGLETON                NE          90013924163
3BB3756A931424   NICOLE       BARTON                   MO          90015375609
3BB37684476B89   PAUL         DAERR                    CA          90006536844
3BB37795641258   MUKESHA      JHA                      PA          90014147956
3BB38417155951   LEODEGARIO   SANCHEZ                  CA          90011594171
3BB3893535B393   WILSON       MALLA                    OR          90004909353
3BB3916478B166   WEIL         BLAZE MONTGOMERY         UT          90003421647
3BB3925354B547   MANUEL       GONZALEZ                 OK          90010712535
3BB39824391584   TERRIE       ROJAS                    TX          90010978243
3BB39853851369   DAWN         VOGEL                    OH          90013658538
3BB3B12815B393   DELICIA      NORMAN                   OR          44521521281
3BB3B2AA55B52B   HELEN        PAISANO                  NM          90007742005
3BB3B45A77B639   JENNIFER     PERSON                   GA          90012314507
3BB3B493257153   DIEGO        IBANEZ                   VA          90003504932
3BB3BAA162B835   SIERRA       CANTU                    ID          90007690016
3BB412AA95B52B   JASON        BUNT                     NM          35031222009
3BB41425455972   MARIA        VILLA                    CA          48043324254
3BB4161A223134   TANISHA      SNOWDEN                  MI          90015276102
3BB41651276B89   EDGAR        GERARDO                  CA          90009156512
3BB4167A65B393   WILBER       MORALES                  OR          90008276706
3BB41748177544   DEBRA        ECKERT                   NV          43071827481
3BB4178294124B   EARL         DUNHOFF                  PA          51026707829
3BB4182A741258   AARON        COLLIER                  PA          90004598207
3BB41872251369   SARAH        SIMPSON                  OH          90005898722
3BB41916322422   MONIQUE      YVETTE                    IL         90013199163
3BB41A1412B871   MIRIAN       WARANKE                  ID          42043070141
3BB42464A61963   KYLE         SMITH                    CA          90014244640
3BB42A77436B77   JAMES        COFFMAN                  OR          44571130774
3BB4319A98B166   AUBREY       CALL                     UT          90011961909
3BB43286984368   MARIA        CONSEPTION               SC          90011022869
3BB43323355972   LORENA       RIVERA                   CA          90015363233
3BB43357772B76   JUAN         LOPEZ GOMEZ              CO          90007463577
3BB4344564124B   GREGORIO     LEOBARDO                 PA          90012184456
3BB4413A457153   KATRINA      LEIGH                    DC          90007741304
3BB4415574B943   TIRANIE      DIXON                    TX          90014711557
3BB44356161963   DIANA        HERNANDEZ                CA          90013173561
3BB44427691232   KIERA        GREEN                    GA          14585584276
3BB4448A177539   JOSE         VILLA                    NV          90008674801
3BB44616591831   SHAUNTALL    GRIFFIN                  OK          90007616165
3BB44656293768   ANTHONY      ALLEN                    OH          90012196562
3BB44913972B24   ELIAS        TEDLA                    CO          33040149139
3BB44A18A4B281   MZINGHA      SIMMONS                  NE          90014070180
3BB45171972455   JENNIFER     HERMAN                   PA          90005641719
3BB4524945B156   VINCENT      HIGHTOWER                AR          23059662494
3BB452A6591525   ROSA         SALCEDO                  TX          75095472065
3BB4531644124B   TOMAS        KEITNG                   PA          90014043164
3BB45415272496   KENETH       EUTSEY                   PA          90015524152
3BB456AA355949   JOSE         ACOSTA                   CA          49042756003
3BB45A35755951   LORI         CASTELLO                 CA          49051310357
3BB4632A655927   MARIANN      VALENZUELA               CA          90012093206
3BB46734831424   ADELINA      GINES                    MO          90013997348
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1907 of 2500


3BB46A7152B835   THOMAS       FREINWALD                ID          90014710715
3BB47367991584   MYRA         NUNEZ                    TX          90006203679
3BB4745A641285   SHANNON      C STOWERS                PA          90012704506
3BB4759A251369   CARLOS       PEREZ                    OH          90015175902
3BB475A7A47931   MARTHA       MARTINEZ                 AR          90012165070
3BB4761565B52B   RAYMOND      LUSERO                   NM          90007976156
3BB47912255951   CLIFFORD     EITZEN                   CA          90012519122
3BB4791A79713B   TAMARA       OATES                    OR          90013549107
3BB47977354195   BRADLEY      HICKS                    OR          90006269773
3BB48181747931   VINCENTE     CRUZ IBANEZ              AR          90013971817
3BB4827347B639   CANTRELL     HOLT                     GA          90010982734
3BB4832694B281   YOLANDA      GREEN                    NE          90014263269
3BB48435841258   CHRISTINE    WESOLEK                  PA          51012864358
3BB491AA297B21   REBEKAH      RODRIGUEZ                CO          39047261002
3BB49379277539   AMALIA       SANDOVAL                 NV          90001923792
3BB4953734B943   MIGUEL       TORRES                   TX          90002755373
3BB4976824B281   CODY         KACZMAREK                NE          27040377682
3BB4987197B639   CHARLES      BUTLER                   GA          15010598719
3BB4B318A76B89   SUMMER       FOSTER                   CA          90013003180
3BB4B324361963   JOYCE        HARRIS                   CA          90011123243
3BB4B487972496   JALEESA      SHUFORD                  PA          90012124879
3BB4B758872455   TARA         BROWN                    PA          90013347588
3BB4B81879125B   BEBORAH      ROUSE                    GA          14576558187
3BB4BA18A41258   ALICIA       ALLEN                    PA          90008500180
3BB5127312B93B   BIANCA       NAVARRO                  CA          90012722731
3BB517A752B835   ANNIE        VARNES                   ID          42082947075
3BB51815861963   DANIEL       WIEBER                   CA          90013808158
3BB51998977544   JUAN         VAZQUEZ                  NV          43098109989
3BB51A44741246   BRENDEL      LEON                     PA          90012540447
3BB5229414B281   ROBERT       GARCIA                   NE          27078342941
3BB52775655951   CHRISTINE    ZANINOVICH               CA          90014737756
3BB5287A88B16B   DONNA        GARCIA                   UT          90014858708
3BB5295473B35B   NICOLE       BURKE                    CO          90014369547
3BB53178A8B166   RAYMOND      LUJAN                    UT          90009181780
3BB53493855951   MIRIAM       MENDOZA                  CA          90013234938
3BB53775955951   REBECCA      YBARRA                   CA          90014737759
3BB537A755B393   VICTOR       MARTINEZ                 OR          90014277075
3BB538A3791356   WENDY        TENNISON                 KS          29007628037
3BB538A7A7B639   YOLANDA      WILLIAMS                 GA          15073058070
3BB5398644B281   ELYZ         AVILEZ-ONOFRE            NE          90015079864
3BB54141391356   VICTORIA     COBURN                   MO          29025951413
3BB54271A2B93B   WHITNEY      MOLLETT                  CA          90014032710
3BB54285172455   PAYGO        IVR ACTIVATION           PA          90007242851
3BB54444931424   MAKAYLA      JOHNSON                  MO          90015584449
3BB5511A755957   ELIAS        GONZALEZ                 CA          90009161107
3BB5576932B835   SOPHIA       BAUTISTA                 ID          90004797693
3BB5582A991584   ELIAS        REYES FLORES             TX          90006788209
3BB55A3423B391   CHARITY      WALL                     CO          90003590342
3BB5617AA7B639   CURTIS       THOMAS                   GA          90012351700
3BB5646238B162   TERRY        SHELL                    UT          90012724623
3BB5647137B471   JOSHUA       PENNIGTON                NC          90010794713
3BB56666155972   TONY         GUTIERREZ                CA          48005126661
3BB56A8127B639   SIERRA       MOORE                    GA          15041270812
3BB572A1176B7B   SILVERLO     VELASQUEZ                CA          46015522011
3BB57884172B24   ALMA         VAZQUEZ                  CO          33084908841
3BB5797142B93B   BECKY        LARSEN                   CA          90010889714
3BB5797185B344   ANA          ESTRADA                  OR          90013799718
3BB57A72891831   NIKIA        EDWARDS                  OK          21059740728
3BB57A7A861963   EDGAR        IBARRA                   CA          90014110708
3BB58244947931   MERYL        PETERSEN                 AR          90007702449
3BB5827A555972   JOSE         NUNEZ                    CA          90012962705
3BB5827AA91831   TESSA        ADAIR                    OK          90012722700
3BB5845862B28B   BERHANU      TEKLU                    DC          90007854586
3BB5846374B943   JUDY         JONES                    TX          90014884637
3BB587AA951369   CASSANDURA   NORTH                    OH          90013697009
3BB58846777539   CHRISTINA    NESS                     NV          90013948467
3BB591A232B93B   MIRAM        MARTINEZ                 CA          90012671023
3BB59335961963   DAVID        LEWIS                    CA          90011673359
3BB5952A372B76   OSCAR        MONTERO GRANADOS         CO          33017915203
3BB59712841285   FRANCES      KOHNFELDER               PA          90009257128
3BB59976493768   DEREK        LUCAS                    OH          90005499764
3BB59AA5855949   AMANDA       SMITH                    CA          90014080058
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1908 of 2500


3BB5B173691893   BRIAN       CARLSON                   OK          21096271736
3BB5B545355981   VERONICA    CHAPA                     CA          90012005453
3BB5B76227753B   JAMIE       VANDERHOEF                NV          43041247622
3BB5B78467B471   REYEZ       HERNADEZ                  NC          90000177846
3BB5B87A684368   LATASHA     MILLER                    SC          90013678706
3BB5B892647931   CARRIE      DENEASE                   AR          90014638926
3BB5B97AA72B76   DIEGO       VENZOR                    CO          33002159700
3BB611A968B166   ASHLEY      KURTZ                     UT          90014401096
3BB61317285925   VIRGINIA    MOORE-MINDER              KY          90002213172
3BB61433451369   DOUGLASS    STEPHENSON                OH          90014604334
3BB6148713B336   FLORENCIO   MACIAS                    CO          33082624871
3BB61857A55949   ERIK        GUDINO                    CA          90010078570
3BB61892555951   JOHN        XIONG                     CA          49056208925
3BB619A557B449   PHILLIS     WILSON                    NC          90009599055
3BB61A26A91356   LINDA       MARTINEZ                  MO          90010790260
3BB62334577539   MAYTHE      RAMIREZ RIZO              NV          90014163345
3BB6281437B639   IDELL       BELL                      GA          90010728143
3BB62892647931   CARRIE      DENEASE                   AR          90014638926
3BB6326937753B   PAULA       MULLINS                   NV          90015372693
3BB63351551322   JENNIFER    BURTON                    OH          90001563515
3BB6364315B281   ANGELA      ROBERTS                   KY          68050646431
3BB63A26697127   DANNY       SARSS                     OR          90007200266
3BB6458652B835   JEANNIE     VALENZUELA                ID          42065885865
3BB6523A684368   JUSTINO     MARQUEZ                   SC          90013842306
3BB6554A141277   DEBBRE      PAIGE                     PA          90012835401
3BB6592725B52B   DWAN        CHAVEZ                    NM          90006459272
3BB65982531441   TODD M      WHITEAKER                 MO          27513219825
3BB6611565B393   MICHAELA    SNYDER                    OR          44506051156
3BB66433851339   THOMAS      HESTER                    OH          90014364338
3BB6683258B166   COURTNEY    HARPER                    UT          31048348325
3BB6683544B943   ALMA        MALATY                    TX          90014248354
3BB67135A41277   MARVIS      SIMPSON                   PA          90007601350
3BB67AA752B835   TIFFANY     BLANCO                    ID          90001440075
3BB6861668B16B   JOANNA      ROSALES                   UT          90015176166
3BB68748151369   TRINA       HEARD                     OH          90011287481
3BB68825376B89   GERARDO     ROJAS                     CA          46053278253
3BB6955665B344   NICK        SWARTSFAGER               OR          90012855566
3BB6959224B943   LUIS        VAZQUEZ                   TX          90015415922
3BB69819351347   ANDERA      CRUZ                      OH          90004388193
3BB6B289591232   LATONYA     FELDER                    GA          90005532895
3BB6B8AA176B89   RONALD      HOGUE                     CA          90013808001
3BB6BA6127B639   SOCORRC     GORDILLO                  GA          90012620612
3BB7134664B943   ESPERANZA   GUTIERREZ                 TX          90014773466
3BB71535855972   BEJERMIN    TORRES                    CA          90014685358
3BB71782191232   SHONDA      ORR                       GA          14570687821
3BB72525A47931   JOSE        MEDINA                    AR          90015215250
3BB726A3357153   CINDY       JEREZ                     VA          90006926033
3BB72884576B89   JUAN        GARCIA                    CA          90012018845
3BB72993972496   MATT        MCKENDRY                  PA          90006329939
3BB72A1382B871   JAMES       CHOATE                    ID          42043500138
3BB73186761557   PAYGO       IVR ACTIVATION            TN          90014951867
3BB731AA74B943   ALICE       HEBERT                    TX          90014011007
3BB73247681667   JOHN        VELAER                    MO          90007872476
3BB7329235B52B   ISMAEL      MONTAYACENTENO            NM          90012242923
3BB73318376B89   JOSE        TORES                     CA          46005403183
3BB73392A93768   MISHUTRA    OJESUA                    OH          64520353920
3BB73448A71996   MARIO       FLORES                    CO          32040604480
3BB73721577539   JESUS       GUERRERO-CHAVEZ           NV          90009607215
3BB7391398B16B   KATIE       GLASS                     UT          90003499139
3BB7399552B87B   SCOTT       STANDEFER                 ID          42098149955
3BB7446492B93B   DARIUS      CROSBY                    CA          45070524649
3BB74468531424   GEORGE      MORGAN                    MO          90012274685
3BB7448A48B166   MANUEL      GONZALEZ                  UT          90010184804
3BB7451552B28B   WILLIAM     HARPER                    DC          90002155155
3BB74567A55972   OSIEL       LAYUN                     CA          90010725670
3BB745A445598B   JESSICA     BUENROSTRO                CA          90008875044
3BB7487492B871   HELENA      HOWELL                    ID          90002508749
3BB7523A284368   JOSE        ESCALANTE                 SC          90000122302
3BB7535934B221   TERRY       MACKEOGH                  NE          90006823593
3BB75398355972   KRISTI      FRIAS                     CA          48033273983
3BB75491A91356   JAMES       FANNING                   KS          90000274910
3BB75677791584   ARMANDO     ALONSO                    TX          75043546777
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1909 of 2500


3BB75A62241285   JASMINE         MOORE                 PA          90014800622
3BB76372A2B87B   SHARON          MCNEAL                ID          42020033720
3BB7642182B22B   DAVID           WASHINGTON            DC          90011454218
3BB7644324B943   JUANA           VALENCIA              TX          90014904432
3BB76672777539   ARMANDO         CHAVEZ                NV          43006166727
3BB7714115B156   LORRAINE        ACKERSON              AR          90011621411
3BB77287341258   JOHN            SEILER                PA          90003732873
3BB778A935B52B   RICHARD         FONDY                 NM          90013798093
3BB7792278B16B   MARVIN          MOORE                 UT          90003979227
3BB78279851369   LENORA          KING                  OH          66054272798
3BB78631955972   SILVIAS         AMY                   CA          48015616319
3BB793AA82B93B   DORA            TRAPP                 CA          90007873008
3BB7945A177544   JOHN            HURT                  NV          43008054501
3BB79818651339   CHRISTINA       REEDY                 OH          90007818186
3BB7981888B162   VICTOR          JOE                   UT          90003578188
3BB79873855957   STEVEN          PARSONS               CA          90009418738
3BB7992227B639   AMBER           TURNER                GA          90011779222
3BB79964691584   AARON           LEE                   TX          75088829646
3BB7B24A431424   ANGIE           TAYLOR                MO          90008582404
3BB7B32185B555   FRANK           MORALEZ               NM          90007843218
3BB7B449391584   VELIA           FREDERICK             TX          90003134493
3BB7B984957126   KAREN           PEREIRA               VA          90005169849
3BB7B99748B166   ESTEBAN         CURLETTO              UT          90006159974
3BB81247891584   ALEXIA          ESCAJEDA              TX          90010082478
3BB8144A277522   JULIE           ESPALIN               NV          90008114402
3BB81452A93768   RACHEL          DUNCAN                OH          90014794520
3BB81472151339   BRIAN           COMPTON               OH          90012254721
3BB81623991584   ALEXISIA        ESCAJEDA              TX          90014646239
3BB81A9238B162   DANIEL          GARCIA                UT          90014520923
3BB8235722B871   MINERVA         VILLEGAS              ID          42079253572
3BB82588991831   JOSHUA          JUBY                  OK          90009485889
3BB8272735598B   JOHNNY          JACKSON               CA          90014527273
3BB82736972B35   LANA            LILEY                 CO          33029177369
3BB8367278B162   YONATHAN        GARCIA                UT          90004166727
3BB8374114B943   DANIEL          KINCHEN               TX          76526297411
3BB83882972B24   TASIA           VITELA                CO          90005648829
3BB8397965598B   JAZMIN          IRENE SOTO            CA          49049729796
3BB8416859713B   FRED            RAMIREZ               OR          90010281685
3BB8425992B871   SUSANA          GUAJARDO              ID          42031722599
3BB84459251339   TIMOTHY         BAILEY                OH          66007914592
3BB84874577539   JUAN            TAPIA-SANTIAGO        NV          90014378745
3BB85215351339   PAULTTE         PECK                  OH          90011652153
3BB85291985951   ANTONIO         CAMPOSANA             KY          90012472919
3BB85798784368   JOHN            TITUS                 SC          90009637987
3BB85A18177544   ESSIE           WASHINGTON            NV          43081680181
3BB85A6AA72496   SHARON          ELLIS                 PA          90010220600
3BB86351647931   HEATHER         SMITH                 AR          90013423516
3BB8654674B943   BRYAN           RICHARD               TX          76506025467
3BB86556655972   BLANCA          BOTELLO               CA          48007805566
3BB8765299125B   DARRIS          WASHINGTON            GA          90006996529
3BB878AA55B156   ALEX            HOLLINS               AR          90013468005
3BB87966577544   DJ              MORINA                NV          90008579665
3BB881A255B156   BRENDA          JAMES                 AR          23078371025
3BB88275955963   ERICA           GACHUZ                CA          90003222759
3BB8911584124B   JASON WILLIAM   WALLACE               PA          90014431158
3BB8922668B162   URSULINO        SALAZAR               UT          90013112266
3BB893A9331424   RACHELLE        HILLENBRAND           MO          90010293093
3BB89482A91356   BRANDI          BROWN                 KS          90003264820
3BB8984A461963   JOSE            PANELA                CA          90013808404
3BB8B51585598B   FRANCISCO       PRIETO                CA          49085115158
3BB8B73137B639   CHANEA          VAUGHN                GA          90014887313
3BB8B876A31424   ANGELA          HAMILTON              MO          90013608760
3BB8B979554165   AMY             MCKINNIS              OR          90013599795
3BB8BA3A441258   PATRICIA        ALCUTT                PA          51030630304
3BB8BA95691831   DERIC           PARKS                 OK          90010670956
3BB9124678B16B   KEVIN           LEE                   UT          31026182467
3BB9124A47B43B   SHANIKA         OLIVER                NC          90003312404
3BB9161A54B943   SHELBY          SUAREZ                TX          90015416105
3BB91636355949   CASSANDRA       CASTANEDA             CA          90008056363
3BB9176848B166   MIGUEL          SABUCO                UT          90015147684
3BB91812A54165   RON             GOERRES               OR          90015398120
3BB9197538B162   SAM             KEEKE                 UT          90010269753
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1910 of 2500


3BB91983891543   GERARDO             GALVEC            TX          90005509838
3BB92411397137   COREY               SMITH             OR          90012584113
3BB9255465B393   JERRY               DUCKETT           OR          90014065546
3BB92776855951   GUSTAVO             RUIZ              CA          49035317768
3BB9295537B639   GUSTAVO             HERNANDEZ         GA          90013929553
3BB92A31941277   JASPER              BIVINS-HUNTER     PA          90014910319
3BB9343854B943   PAYGO               IVR ACTIVATION    TX          90013834385
3BB9354A555972   JUSTIN              GREGG             CA          90012875405
3BB9358A993768   JUAN PABLO          CACIQUE           OH          90009455809
3BB9384655B344   ANNIE               MOORE             OR          44526588465
3BB9459A27B639   STEPHANIE           SHANKS            GA          90013535902
3BB9514847753B   THEODORE            BOLANDER          NV          90010961484
3BB953A1197127   ROBYN ADELE         PEARCE            OR          90007373011
3BB95562A91356   PHYLLIS             MORRISON          MO          90007295620
3BB95975A2B87B   NED                 VALDEZ            ID          90012429750
3BB9599374B281   NONA                LAWRENCE          IA          27041429937
3BB95A3835B344   SUZANNE             HANNAN            OR          44512190383
3BB95A5145B52B   LISA                VOORHIS           NM          90005750514
3BB95A71191831   CHRISTENE           WALDON            OK          90012560711
3BB96338776B89   JESSE               CORDES            CA          90009533387
3BB963A1197127   ROBYN ADELE         PEARCE            OR          90007373011
3BB963A867B639   STEVEN              THOMAS            GA          90014823086
3BB9646442B835   LUIS                MARTINEZ          ID          42006094644
3BB969A244B943   MICHAEL             HENDERSON         TX          90008209024
3BB96A66744333   YESENIA MARGARITA   ARGUETA           MD          90011500667
3BB9711635B393   DAMON               FLENNAUGH         OR          90011081163
3BB97365555972   TAMI                ARAGON            CA          90008823655
3BB978A715B393   NICOLE              MACKAY            OR          90011378071
3BB97A56277539   ESTELLE             PEARCE            NV          90012340562
3BB97AAA75B344   SUSAN               HAYWOOD           OR          44515960007
3BB98268561963   AFRAH               BARWARI           CA          90006172685
3BB9828A95B52B   SHYLA               MCEWAN            NM          90013872809
3BB98472855951   DANIEL              RODRIGUEZ         CA          90014754728
3BB9848555B52B   SHYLA               MCEWAN            NM          90013164855
3BB9859824124B   CRYSTAL             MABIN             PA          90001805982
3BB985A9193782   DIANNA              BARNHILL          OH          90011705091
3BB98624355972   JUAN                DELGADO           CA          90007346243
3BB98974541258   STEPHANIE           FOOTE             PA          51070439745
3BB99328172496   AMBER               LEHMAN            PA          90007323281
3BB99938841258   DETTRA              FINN              PA          90013939388
3BB99A24393768   MICHELLE            WASEM             OH          90010980243
3BB99AA4484368   TAMI                PHILLIPS          SC          90013860044
3BB9B38964B943   QUENTIN             SHEPHERD          TX          90015423896
3BB9B39537B43B   JINBO               LU                NC          11059243953
3BB9B44A855951   VERONICA            RAMIREZ           CA          90011594408
3BB9B5A7A5B281   LAWANDA             JONES             KY          90009075070
3BB9B5A9891232   SHELTON             CROWDER           GA          90001495098
3BB9B726476B89   ANA                 RIVERA            CA          90010257264
3BB9BA1482B28B   BOZIE               ERVIN             DC          90001170148
3BBB117768B166   CODY                HARPER            UT          90009511776
3BBB135197B639   BRENDA              TOLBERT           GA          90004583519
3BBB165A92B871   KYLE                MOSES             ID          90013446509
3BBB1699672496   DORA                KEFFER            PA          90011706996
3BBB198AA2B93B   HEATHER             DESHAW            CA          45034169800
3BBB217712B835   HEATHER             YOUNG             ID          42091931771
3BBB2541A41258   LETITIA             SHOFFNER          PA          51073555410
3BBB2941754165   BEDOLLA             GABRIELA          OR          90003659417
3BBB3122191356   ERICA               STEELE            KS          90004951221
3BBB373AA5B52B   ANN                 OLIVEIRA          NM          35086897300
3BBB3A29755972   ESTEBAN             VARGAS            CA          48095860297
3BBB4592241258   JOHN                NORMAN JR         PA          51084705922
3BBB4749476B89   SANCHEZ             WENDY             CA          90010357494
3BBB476394124B   ANGELO              MAIORANO          PA          51066827639
3BBB487AA54165   LESLIE              NEWTON            OR          47018448700
3BBB494394B221   ADRIANA             RAMOS-LEDESMA     NE          27012929439
3BBB551A287B41   WHITTFIELD          HARRIS            AR          90012705102
3BBB5635547931   GERRI               RODRIGUEZ         AR          90007566355
3BBB5764461963   WAEL                AHAD              CA          90015127644
3BBB5811A5B344   RACHEL              MILLER            OR          90000678110
3BBB6776977539   DESIREE             ROGERS            NV          90013947769
3BBB6938954165   SAMANTHA            LUNYOU            OR          90014479389
3BBB719A561963   LIONESHA            FRAZER            CA          90013351905
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1911 of 2500


3BBB72AA655957   GRAY        MACGREGOR                 CA          90009412006
3BBB7327477544   SHYLENE     HODGE                     NV          90015423274
3BBB743A75B52B   CHARLES     ROMERO                    NM          90014834307
3BBB7836151339   DAVE        MCKINNEY                  OH          90014778361
3BBB7A82A8B166   EVA         MULTINE                   UT          90001770820
3BBB829935B344   EDUARDO     GUIJOSA                   OR          90014182993
3BBB839245B344   GISELDA     SHUREIH                   OR          90002813924
3BBB873A15598B   ANDREW      SANTILLANEZ               CA          90013937301
3BBB89A5955972   SUJEY       MOLES                     CA          90010109059
3BBB9355155951   YADRIA      CERVANTES                 CA          49072003551
3BBB9441472455   MARY ANN    MULKERRINS                PA          90014154414
3BBB9549A72B76   LISA        GALLARDO                  CO          33082305490
3BBB9639A76B89   EUNHEE      KIM                       CA          90014086390
3BBB9848241258   JENNIFER    REILLY                    PA          90011468482
3BBB984A191232   MARBSHA     NORMAN                    GA          90004738401
3BBBB313A5598B   JOSEPH P    GALINDO JR                CA          49056233130
3BBBB35615B393   ASH         ZAHER                     OR          90006923561
3BBBBA53661963   MAYA        MELONE                    CA          90014860536
41111159272B4B   LENARD      HURST                     CO          33035491592
411118AA88B16B   JILL K.     THOMPSON                  UT          90011908008
41111A14A41258   TODD        JETER                     PA          51041320140
411129A854B271   ESTELLE     BOWMAN                    NE          90009589085
4111389645B53B   CESAR       CHAVEZ                    NM          90013798964
41113A14A41258   TODD        JETER                     PA          51041320140
41113A95861967   ESTNEFANY   VELASQUEZ                 CA          90009680958
4111464165B264   ASHLEY      HELM                      KY          90013686416
41114A3565B271   JESSICA     COOMER                    KY          90012510356
41115389872B23   TARA        EDWARDS                   CO          90010723898
4111551295B271   RONIESHA    JACKSON                   KY          90012845129
4111556945B271   TERRY       JONES                     KY          90010515694
41115657172B23   TARA        EDWARDS                   CO          90013776571
4111598437B347   DINA        CANCHO                    VA          90011399843
4111614975B53B   ASHLEY      PACHECO                   NM          90012941497
4111616995B53B   ASHLEY      PACHECO                   NM          35050821699
411164A295B271   CYNTHIA     JOHNSON                   KY          90001854029
41116989A55939   DEMETREAL   EDWARDS                   CA          90006029890
4111768957B386   LEOCADIO    ROMERO                    VA          90010056895
4111794422B27B   PEDRO       SIQUINA                   DC          81015599442
4111796729152B   MARIBEL     FELIZ                     TX          75023309672
41117A86241294   ANTHONY     BELLAND                   PA          90003140862
41118154A9313B   SHAYNE      NEILSON                   TN          90015431540
411186AA791988   AMOS        GARCIA                    NC          17081386007
4111876965597B   VICTOR      HERNANDEZ                 CA          90007397696
4111B3A2374B3B   CHARITY     SEYMOUR                   OH          90014703023
4111B587971999   DEBBIE      VALDEZ                    CO          90013705879
4111B75465B174   KRISTA      MCCMAIN                   AR          90011007546
4111B98297B475   DAWN        MORAN                     NC          90011249829
4111B99675597B   NATASHA     DIAZ                      CA          90010799967
4111BA97272B31   APRIL       GILES                     CO          90010820972
4112149135B58B   MARYBEL     RUIZ                      NM          90015124913
41122253A4B271   TANIA       RANKIN                    NE          27069242530
41122732972B4B   DEMI        RAMIREZ                   CO          90012777329
411231A5A2B87B   MICHELLE    TOTTENHAM                 ID          90010731050
41124237A5B58B   MARY        ARAGON                    NM          35068512370
411244A742B27B   DARNEL      MUSCHETTE                 VA          90005124074
41125555172B36   DAVID       EDGECOMB                  CO          33052315551
4112585722B935   SANDRA      SILVEIRA                  CA          90013498572
41125A62563673   TAY         WALKER                    MO          90009880625
4112654A257124   ANA         BLANCA                    VA          90006235402
4112669242B27B   JENNY       CORDONO                   DC          90008976924
41126A57A55939   SAMUEL      GONZALEZ                  CA          90013090570
4112757A65B222   BRANDON     PHILLIPS                  KY          90014755706
41129886772B4B   CHAD        BEHANNA                   CO          33027898867
411299A252B27B   CARLOS      SILVA                     DC          90010109025
4112B26814B271   JESSICA     AUTERA                    IA          27092262681
4112B313461963   JOSE        RAMIREZ                   CA          46057203134
4112B564593794   GWENDOLYN   RAY                       OH          90013075645
4112B63685B58B   ERICA       SAAVEDRA                  NM          90005476368
41131888372B43   VANESSA     PENA                      CO          33001068883
4113244315597B   CAROL       PENDERGRASS               CA          90010954431
41132641A91988   MISSY       WEST                      NC          90014126410
41133195672B4B   ANDY        IDEK                      CO          33011541956
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411336A795B271   JEREECE         COTTON                KY          90005966079
4113463785597B   SIMON           VALDEZ                CA          90009586378
4113476A95B242   DAVID           JOHNSON               KY          90012197609
4113499862B27B   DEONNA          EVANS                 DC          90013959986
41134A4835B271   KRISTIN         LONGAKER              KY          90012330483
41136273A51334   GENEVIEVE       SOFRANEC              OH          90013362730
4113777672B29B   SHARON          WRIGHT-MCNEIL         DC          90015197767
4113849A961963   DARLENE         RAMIREZ               CA          90010734909
41138984572B36   DON             FOSTER                CO          90009569845
4113955695B53B   SEAN            EAKIN                 NM          90008065569
4113969337B475   TIFFANY         BELL                  NC          90008966933
411398A1591394   JUSTIN          FOX                   KS          29030888015
4113B2A5591988   DEIRDRE         COZART                NC          90014572055
4113B71218B165   ZACK            PACHECO               UT          90011067121
4113B71A861963   KELTON          CHENAULT              CA          90015207108
4113B82152B27B   CHRISTINA       LAND                  DC          90013148215
4113B865571933   ANDREA          GARCIA                CO          90013938655
4113B889381639   RONDA           MOODY                 MO          29062208893
4113B95625B58B   KARLA ADRIANA   PEREZZ                NM          90005039562
4114132915B222   JESSICA         JORDAN                KY          68054073291
4114246AA93794   ANGEL           HENSON                OH          90013304600
41142A15871999   ELIZBETH        BIBY                  CO          90003520158
41142A2185B58B   KARLA           GARCIA                NM          35002190218
41143478272B36   DEBBORAH        HUSKE                 CO          33084814782
4114357625B58B   RAUL            APODACA-ANAYA         NM          90014185762
41143586A2B896   DAVID           TROUT                 ID          90001115860
41143A8A755939   SALVADOR        RIVAS                 CA          90013090807
4114452328B16B   MORGAN          TORRES                UT          90002175232
41144A7A491394   JACAB           BORTKA                KS          90010580704
4114578319196B   RITA            OKUNSOKAN             NC          90006517831
4114591675B271   SOFIA           RIVERA                KY          68078409167
4114632987B475   BRITTANY        PITTMAN               NC          90013773298
411476A295B58B   JACK            PINO                  NM          90014186029
41147AA735B271   VANESSA         WATSON                KY          90015180073
41148A89361967   AIDE            VALLEJO               CA          46063310893
4114B361251334   ANTWANE         SCOTT                 OH          66088233612
4114B4A152B87B   CHRISTOPHER     COOK                  ID          90010294015
4114BA51472B36   BRITTANEY       BROUSSARD             CO          90013080514
4114BA73255939   TIFFANY         NASH                  CA          90013090732
41151499472B43   SETH            INGENTHRONE           CO          90004714994
41151854572B22   ELOHIM          BUSTOS                CO          90013698545
41151A85155939   GRACIANO        BAUTISTA              CA          90013090851
4115217695B271   DUSTIN          ROBEY                 KY          90005661769
411523A3593794   GLENDA          KEECH                 OH          90011003035
411523A6461963   LAKIESHA        JACQUETT              CA          46041033064
4115281A371999   MICHAEL         CARRILLO              CO          90012028103
41152A8885B58B   JOSHUA          HOLLOWAY              NM          90000620888
4115362AA7B475   ELLA            ALSTON                NC          11075866200
4115468665B174   ASEREA          CARTER                AR          90014486866
4115471282B87B   RODNEY          GEIGER                ID          90011877128
4115525825597B   DAVID           HAMPTON               CA          90006912582
411552A136B145   JAMES           DOUGLAS               MS          90015572013
41155716372B4B   MARLENE         DIMARCO               CO          90003727163
4115592775B174   PRISCILLA       CRITTON               AR          23092969277
41155A9A855939   JUANITA         PEREZ                 CA          90013090908
4115614A55B174   KALONDRA        NELSON                AR          90012921405
41156316A71934   KAREN           HERNANDEZ             CO          32022223160
4115671218B165   ZACK            PACHECO               UT          90011067121
4115675255B52B   JESTIN          RUYBAL                NM          36000177525
411578A9747954   ALMA            VAZQUEZ               AR          25098438097
41157A59993794   BETHANY         GREHL                 OH          66064500599
41158667472B43   IRIS            ORTIZ                 CO          33039596674
41158728A91569   GLEN            IVY                   TX          75082817280
41158A21A5B58B   MATHEW          VARGAS                NM          90006810210
4115B49A25B222   TARYNN          BUNDY                 KY          90004804902
4115B77495B174   JASMINE         WILLIAMS              AR          90012007749
4116144432B27B   ANITA           HOSKINS               DC          90013414443
4116241685B52B   KARINA          SAUCEDO               NM          90013004168
4116257474B271   FRANK           MCKEE                 NE          90013045747
411631A665B52B   FELIX           MATZIR-XIA            NM          90007491066
411633A7A24B42   MIRIAN          MALTEZ                VA          90010753070
4116436552B87B   CHRISTINE       MAY                   ID          90014513655
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411645A935B58B   JESUS        GAMBOA                   NM          90014265093
41164A85891988   CHARLENE     DOWDY                    NC          90014710858
4116513634B271   BRANDY       RICHARDS                 NE          90013491363
41165259A71934   PAUL         PARSONS                  CO          90007042590
4116527858B157   LINDA        DURAN                    UT          90012822785
41165669A91549   NALLIE       HERNANDEZ                TX          75039756690
41165A8A171999   KIRK         CHILDRESS                CO          90003520801
41166128972B43   LIN          KELLEY                   CO          90005631289
4116621457B475   TASHONNA     WITHERSPOON              NC          90014392145
4116632A572B4B   ARMONDO      CAMPAS                   CO          90013143205
41166873672B47   MARIA        SIERRA BUSTAMANTE        CO          90008128736
41166A9745B58B   OLIVIA       LEON MUNOZ               NM          90009600974
41167725972B43   MARIA        LUEVANO                  CO          90008437259
411687A3472B43   ROSALIE      VERDE                    CO          33013317034
4116882728B16B   GABE         CLARK                    UT          31059288272
4116883A65B174   TONILASHAW   WILBORN                  AR          23013058306
41168A96555939   AYANNA       HANES                    CA          90013090965
4116912A871999   DENNIS       FRANCIS                  CO          90013731208
4116971A95B222   DONALD       HALE                     KY          90014767109
41169A77555939   FELIPE       ELIAS                    CA          90014850775
4116B11932B87B   BRANDON      PURSE                    ID          41067081193
4116B2A9A2B27B   DARRRYL      DOWTIN                   DC          90012012090
4116B698972B4B   JUAN         FRANCISCO                CO          90000656989
4116B739157127   DANILO       SALVADOR                 VA          90007697391
4116B916161967   CARLOS       YEPEZ                    CA          90013599161
4116BAAA141258   FRANCES      WOOD                     PA          90014090001
41171417A7B475   NICK         WILLIAMS                 NC          90014874170
4117149125B265   DANNY        NAPPER                   KY          90011344912
4117161125B174   ANTOINE      PENNIGTON                AR          90014926112
411718A495B222   MARIA        ALVAREZ                  KY          90013688049
41171A19991873   DAWN         DEBOSE                   OK          21034100199
41172229172B36   LINDA        WILL                     CO          33097732291
4117241A14B271   ROSALIE      ANVARI                   NE          27043354101
41172A31591394   WILLAM       EISEN                    KS          29086300315
41173457972B4B   GORGE        GARSIS                   CO          90008704579
4117365498B165   ROSA         SALAZAR                  UT          31062386549
4117374375B53B   MAX          GALLEGOS                 NM          90012687437
4117511758B16B   MERETTA      ENGLAND                  UT          31011051175
41175A19971999   GABRELLE     SANDOVAL                 CO          38053140199
41176315A91873   CHRIS        WALKER                   OK          90005613150
4117667845B222   SAMANTHA     GILHAUS                  KY          90013986784
411767A1155939   PATTI        BIBB                     CA          90006737011
41177A3415B174   CHARVAI      GRAHAM                   AR          90013410341
4117988835B222   RANDY S      FORD                     KY          90010658883
4117997A971644   AMBER        BEMISH                   NY          90013489709
41179A4285B58B   SONIA        SABATINI                 NM          90014390428
4117BA12872B43   JACLYN       BELTRAN                  CO          90008370128
41181A23755939   HERIBERTO    CAPILLA-RAYON            CA          90013050237
4118214995B52B   ELIZABETH    GARDUNO                  NM          36054911499
4118496635B56B   SHIRLEYANN   VALDEZ                   NM          90014979663
41185119A61963   STEPHEN      BAXTER                   CA          46033181190
4118531A98B16B   MIKE         STAM                     UT          31045833109
4118591428B165   CHRIS        WIEDBUSCH                UT          90007539142
4118611915B279   HOPE         MERRIT                   KY          90012701191
4118622363B125   SUZI         BRADFORD                 DC          90004612236
4118624A35B53B   ELOY         MORENO-LEOS              NM          90013722403
41186498A5B271   DONNA        HOBSON                   KY          90009324980
41186886A72B4B   BRENDA       HERNANDEZ                CO          90012978860
4118697325B52B   CARLOS       ALPIZAR                  NM          36013579732
4118726628B16B   LUANN        PRIETZEL                 UT          90011232662
41187859453B31   HUGO         PEREZ                    CA          90014188594
4118845568B16B   LIBAN        AHMED                    UT          90013474556
41188548772B36   LAURA        BECKETT                  CO          33039605487
4118858495B274   SHEILA       HAYES                    KY          90012515849
41189446A91873   JENNIFER     BRANNON                  OK          21056884460
4118B96935B174   EDWARD       JOSEPH                   AR          90015149693
4118BA8448145B   PANAGIOTIS   DIMITRIADIS              PA          90014420844
41191617172B43   RONY         CRUZ                     CO          90009026171
4119166965B58B   JONATHAN     PASCO                    NM          90012416696
411916A825B58B   ERIC         MARES                    NM          90014186082
41192256972B43   GUADELUPE    MELERO                   CO          90013152569
4119239992B87B   SARAH        BLANKENBAKER             ID          90004013999
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4119385512B87B   BERL         DOUGALL                  ID          90014588551
4119453755B271   PHILLIP      HICMAN                   KY          90000195375
4119463378B165   MATTHEW      DAVIS                    UT          31051216337
4119533795B174   JERMAINE     LOVE                     AR          23050543379
4119558265B52B   CESAR        MATURIN                  NM          90015075826
4119616584B271   MAURICIO     CANALES SANTIGO          NE          90014391658
4119694855B222   TIFFANY      PALACZ                   KY          90008209485
411969A2891988   LISA         MOSES                    NC          90009349028
41197718A72B36   STEVEN       JOLLY                    CO          90003117180
4119797A49373B   BRIAN        GRAY                     OH          90008699704
411979A932B27B   ANTOINETTE   WASHINGTON               DC          90010939093
4119847528B16B   ANTONIO      LOPEZ                    UT          90007044752
4119867A955939   RONALD       DECANIO                  CA          49082836709
4119878744B541   FELIX        OLIVO                    OK          21511737874
4119886479152B   BRENDA       RAYOS                    TX          90007568647
4119936335B52B   KALEYN       PEREA                    NM          90012063633
4119B611593794   ASHLEY       KIBBEY                   OH          90002476115
4119B669671999   AUDRI        CHAVEZ                   CO          90012596696
4119B7A985B58B   DONOVAN      DUMAS                    NM          35053797098
411B111654B271   PETER        JOSHEPH                  NE          90010421165
411B131835B174   KIUANA       HARRISON                 AR          90014183183
411B195685B58B   LUCAS        HOWARD                   NM          90010659568
411B224A45B174   ILIZABETH    REYES                    AR          90012182404
411B236A261963   MARIBEL      CARDENAS                 CA          90010823602
411B2473A91873   FELICIA      BUCHANAN                 OK          90009894730
411B285499155B   MARIA        MERAZ                    TX          90007838549
411B2A7167122B   GEBREYESAS   GEBREMEDHIN              IA          90015330716
411B3243861967   RUTH         NICKERSON                CA          90007272438
411B348A951334   WALTER       DEMMITT                  OH          90009384809
411B3925755939   STEPHANIE    SIQUEIROS                CA          90012449257
411B4566293794   VARGAS       COLON                    OH          90014635662
411B46A375B58B   SUJERY       ESPINOSA                 NM          90006816037
411B477795B222   GEORGE       ERVIN                    KY          90007137779
411B4A68671999   STEVEN       PARKER                   CO          38096850686
411B5159255939   YARRA        TORRES                   CA          90013101592
411B519778B16B   BRANDON      ALVORD                   UT          90005561977
411B538A29155B   ADELA        RICO                     TX          75015003802
411B543A471999   ROBERT       GRIFFIN                  CO          90013644304
411B547575B53B   QUOILA       ROFF                     NM          90001084757
411B5643433632   JOEY         LYNN                     NC          90004846434
411B58A4561963   JERRY        GOURDINE                 CA          90005208045
411B6489693794   CARINA       BENNER                   OH          90015004896
411B7625272B4B   ELVA         KEMP                     CO          90013016252
411B76A719313B   JOHONNA      HOSKIN                   KY          90006876071
411B7A3A955939   JESSIE       BEAVERS                  CA          90013090309
411B833748B16B   JOSE         GONZALEZ                 UT          90014063374
411B8411A93794   KEAUNA       STRICKLAND               OH          90000534110
411B852385B271   ROBERT       RANDOLPH                 KY          90014195238
411B8762561967   NANCY        IBAÑEZ                   CA          46047097625
411B8927191873   ACACIA       PRUETT                   OK          90011529271
411B9536891569   REBECA       RASCON                   TX          90015025368
411B95A5491988   ANTHONY      MASON                    NC          90011255054
411BB17A25B271   JUANITA      FALLER                   KY          90011021702
411BB198885949   KEITH        BEVERLY                  KY          90007541988
411BB214761967   CELIA        MUMPER                   CA          90011902147
411BB234255939   MARIA        SOTO                     CA          90014732342
4121116584B271   MAURICIO     CANALES SANTIGO          NE          90014391658
4121119617B475   WILMINGTON   STEELE                   NC          11005901961
4121146642B259   EMERSON      JIMENEZ                  DC          90004794664
4121181338B16B   MUNHAMMAD    SIAL                     UT          31082688133
41211889A91394   OMAR         ENRIQUEZ                 KS          29049458890
41212427A91988   MELISSA      MARSH                    NC          90014804270
41212A61A91988   SHANIQUA     COLE                     NC          90010570610
4121325415B174   TASHA        ESTER                    AR          90002352541
4121377222B828   JOSHUA       YOUNG                    ID          90004227722
4121449584B271   MICHELLE     MARIETTA                 NE          90002454958
4121531855B222   JACQUELINE   BIVEN                    KY          90014883185
4121543219185B   JOHN         STAFFORD                 OK          90014274321
4121565A872434   DIANE        SCUVOTTI                 PA          90009276508
4121588685B271   JAMES        HIGDON                   KY          90012868868
4121647528B182   ANTONIO      LOPEZ                    UT          90007044752
4121687565597B   JOSE         CEBALLOS                 CA          90012848756
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41216A8598B16B   KEELY         CASAUS                  UT          31086560859
41216A9537B467   YADIRA        JUAREZ PEREZ            NC          90010600953
41217117A55939   JAIMI         POPE                    CA          90013091170
41217171672B4B   ADOLFO        BICARTE                 CO          90013931716
412195A1493794   ADAM          POTTS                   OH          90009645014
4121B24A455939   ROY           CHAVEZ                  CA          49073212404
4121B544172B36   ADRIENNE      UBAINYIR                CO          90012785441
4121B57384B271   JUSTIN        UHL                     NE          90014635738
4121B718451334   TINA          WILLIAMS                OH          66067777184
4122119425B52B   GERI          LEYBA                   NM          90004811942
4122216328B157   THOMAS        JOHN                    UT          90004971632
4122218588B16B   FRANCES       TUAKALAU                UT          31082611858
4122379745B174   ROSHADA       DAWSON                  AR          90012537974
4122391875B271   THOMAS        DODSON                  KY          90013239187
4122392A58B165   ALEXANDRIA    MARTINEZ                UT          90015269205
412254A775B222   CHRISTINA     HOGAN                   KY          68093704077
4122564825B271   ALI           KHAN                    KY          90010246482
4122572775B52B   JOSE          BARRIOS                 NM          90015297277
4122594A591569   GEORGE        VILLALVA                TX          90010029405
41226146A91569   DANIELA       RODRIGUEZ               TX          75095951460
41226491A5597B   LATASHA       FORD                    CA          90012084910
4122668622B27B   JESSICA       WILSON                  DC          90014576862
41227223A55939   RUBEN         AVALOSVENTURA           CA          49082902230
4122778A681639   BYRON         ORANTES                 MO          29080197806
4122795875B53B   ANGELIC       SOTO                    NM          90005999587
4122798A45B271   DANA          BARRETT                 KY          68049079804
41227A8A951383   ESPERANSA     JERONIMO                OH          90004620809
4122819864B271   ANA           MORALES                 NE          27061611986
41228348A91569   RASSCON       BRENDA L                TX          75047673480
4122848855B174   ESUGINA       BAKER                   AR          90014724885
4122865417B475   MICHAEL       SWANN                   NC          90008426541
412328AA35B53B   JORGE         ZARATE                  NM          35098658003
41232A1A893794   SANDY         GODLOVE                 OH          90014430108
41232A7A955939   TRACY         MENDOZA                 CA          90008610709
41233A25433631   RACHANE       MCCOLL                  NC          90006440254
4123436175599B   SHADRIENNA    NASH                    CA          48023173617
4123483667B475   BREANA        HARGROVE                NC          90014418366
4123488AA61963   FADI          SLEEMAN                 CA          46027658800
4123547342B27B   DOMINIQUE     FLOYD                   DC          90008554734
4123586645B58B   GRICEIDY      SOTELO                  NM          90015148664
412361A6391394   YESENIA       GUACHUZ-MIRANDA         KS          90012101063
4123664A62B87B   JILL          SMITH                   ID          90014526406
4123672622B896   DAVID         TORRES                  ID          41089317262
41236792A7B475   ADAM          BLACK                   NC          11047697920
412371A9A55928   LUIS          JOHNSON CORTEZ          CA          90007741090
4123777564B271   JEAN          LANPHIER                NE          27032847756
41238489A91527   JENNY         SANCHEZ                 TX          90013314890
41238A59191569   JAIME         RUIZ                    TX          75009650591
41239359172B36   MICAELA       YOQUES                  CO          33089763591
4123948A231283   RONALD        HUNT                     IL         90008254802
4123B28A32B27B   YAHYA         GUVEN                   DC          90011662803
4124127A95B53B   CINDY         ARMIJO                  NM          90013542709
4124252364B271   GARFIELD      LOWE                    NE          90000615236
4124272845B271   DOUGLAS       ALLEN                   KY          68080357284
4124282965B58B   CHRISTOPHER   MORENO                  NM          90010108296
4124295825B53B   GREG          ARCHIBEQUE              NM          90011029582
41243331772B43   CAMILLE       LEVESQUE                CO          33006303317
41243558A72B4B   MARINA        ADAMS                   CO          90010145580
4124372192B27B   RAINNA        PARKS                   DC          90012787219
4124381755597B   STACIE        MARTIN                  CA          49055228175
4124432754B271   ANDREW        JUDE                    NE          90010693275
4124463948B16B   JANEY         YOUNG                   UT          90014356394
4124488615B174   TINA          SMITH                   AR          23069578861
41244A4675B53B   JARED         STARR                   NM          90011930467
412463A6555939   SALVADOR      ESPINO                  CA          49060613065
4124646632B27B   RHEUTHELIA    SIZER                   DC          90009404663
41247A64A5B222   EVONNA        DORSEY                  KY          90008290640
4124861915B58B   SERGIO        LOERA                   NM          90014186191
4124895145B52B   MANUELA       MARQUEZ RICO            NM          36013089514
4124B29A372B32   KARLA         ESTRADA                 CO          90012012903
4124B41952B953   MAX           RAMIREZ                 CA          90011754195
4124B441991988   ANTHONY       NELSON                  NC          90014274419
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4124B963A71946   TIA          SCHAFERS                 CO          90013789630
4124B992193794   EARL         HENDRICKSON              OH          66030409921
41251396272B43   ALEJANDRO    HERNANDEZ                CO          33028483962
41251961172B4B   NOLBERTO     OJEDA                    CO          33076079611
41252362672B43   LETISHA      FLORES                   CO          33022813626
41252A78172B33   LINA         PIZARRO                  CO          90012030781
4125353372B84B   WOLDEGABIR   YISAK                    ID          90012795337
412536A4555939   CLEO         STACY                    CA          90005146045
41253A7A14B271   EDWIN        VELASQUEZ                NE          90012750701
4125438285B271   ANNA         ZAMBRZYCKI               KY          68001633828
4125453362B87B   MARIA        MCNAMEE                  ID          41090835336
41254A4227B472   NORMA        WALKER                   NC          11091400422
4125541155B174   MARK         COLE                     AR          23084784115
4125563665B58B   SONIA        MONROY                   NM          90014186366
412561A7593794   ANDREW       GALE                     OH          90014761075
4125664A95B58B   MARIO        VALDIVIA                 NM          90014186409
41258174A91988   TONIEA       SLAUGHTER                NC          90010521740
4125879395B271   NAOBIE       LEWIS                    KY          90014077939
4125917A671999   LEROY        PLANCENCIO               CO          38051651706
4125939869155B   RAFAEL       VALENZUELA               TX          90000933986
412595A9791988   JOSE         BERNAL                   NC          90010575097
4125977175B388   TERI         WINEGAR                  OR          90006927717
4125983725B53B   EDELSIO      MOJENA GARCIA            NM          90013048372
4125992A52B27B   ENO          AKA                      DC          90014719205
4125B49A491234   ELTON        SCHELY                   GA          90013154904
4125B511491988   WILLIAM      CRUDUP                   NC          90002145114
4125B76412B583   DEONTAE      SMOOT                    AL          90013827641
4126124555B53B   MARCUS       TRUJEQUE                 NM          90007582455
4126139575B52B   IDANIA       GARDEA                   NM          90013863957
41261588A97134   TERESA       MILLER                   OR          44508945880
41261688A72B36   EPIFANIO     BUSTOS SANCHEZ           CO          90012946880
4126254545B271   CRYSTAL      EDWARDS                  KY          90014965454
41262AA363B359   JULIE        CLARK                    CO          90001380036
4126314815B56B   VIRGINIA     GALLEGOS                 NM          35031081481
4126341A45B174   MARTINA      GOODEN                   AR          23091904104
412636A8691873   CARMEN       TAPP                     OK          90007806086
41264A79A5B53B   DANIEL       FIGUERAS                 NM          90011060790
4126542855B53B   ERIC         MADDY                    NM          35035644285
41266A16593721   DEBORAH      WILLIAMS                 OH          90008750165
4126735588B165   JAMES        MOSLEY                   UT          90013083558
4126736365B58B   HUMBERTO     VALENCIA                 NM          90014933636
4126779348B16B   CHRIS        KERRIGAN                 UT          90014357934
41267966272B43   BEVERLY      SANDERS                  CO          90012449662
41268427372B43   LAVERNE      GARCIA                   CO          90012924273
41268469472B36   HONYET       PHU                      CO          33098014694
41268492872B4B   MARIA        MERCEDES CAMACHO         CO          90012434928
41268787A5B388   HUMBERTO     LUQUENO                  OR          90013797870
4126883A993794   DANIELLE     HOLLON                   OH          90014068309
412695A2171999   GINA         MARTINEZ                 CO          38064325021
4126975849155B   MIGUEL       ESQUIVEL                 TX          75076067584
4126B28A25B52B   DAILY        MUNOZ                    NM          90007662802
4126B524A4B271   KAITLYN      PIERCE                   IA          90013545240
4126B599A73264   ISIDRO       RIVERA                   NJ          90014555990
41272185672B43   CHRIS        MAESTAS                  CO          33047481856
41273196672B43   MIGUEL-ANG   VILLAGRAN-PEREZ          CO          90001821966
41273258A93794   BROOKE       MORRIS                   OH          90001692580
412733A9A47828   DEBORAH      BLASH                    GA          90007753090
4127363A461967   AIOTEST1     DONOTTOUCH               CA          90015116304
4127388A18B165   RAQUEL       CORONA                   UT          90013688801
4127425295597B   CARLOS       CASTILLO                 CA          49070692529
41274AA3971999   NIGEL        MAVEN                    CO          90014380039
4127544284B543   KEETRA       KEARNS                   OK          90009894428
4127614265597B   FLOYD        GARDNER                  CA          90009601426
4127699A261967   ANGELA       BELLAMY                  CA          90014269902
41276A2445B271   JOHN         PARSLEY                  KY          90013020244
4127715252B87B   DENISE       SHEAR                    ID          90006901525
4127767265B222   KACEY        NEWTON                   KY          90011966726
4127818395597B   ROSEMARY     CAZARES                  CA          49023561839
412784A272B87B   CANDY        MARSH                    ID          90012384027
41278829A93794   JAMI         HELTERBRAN               OH          90010188290
4127B55A891569   GRACIELA     MARTINEZ                 TX          90009945508
4127B79A241258   CHARLES      ARGYLE                   PA          51002987902
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4127BA54872B4B   LUZ            PALMA                  CO          33017950548
4128134292B87B   DIANNA         ADAMS                  ID          90010503429
4128137A22B27B   ANA            CENTENO                DC          90009893702
4128171362B87B   DIANNA         ADAMS                  ID          90012037136
41282264372B43   HUGO           HERRERA                CO          33023232643
4128236214B271   BRIAN          BRAKE                  NE          27060003621
4128292828B165   SHERRY         LONG                   UT          31058159282
4128298A691988   BRANDIJSA      MURPHY                 NC          90012179806
41282A22A93794   TINA           WILLIAMS               OH          90012870220
4128355884B271   MELISSA        THOMPSON               NE          90002215588
4128372438B16B   SALINA         SPIGNER                UT          31036797243
41284519A91394   OLLIE          M CHEATOM              KS          29044965190
412851A762B27B   LISA           BAKER                  DC          90013121076
4128596A35B52B   GLORIA         BARBERO MARTINEZ       NM          36030979603
4128634595B56B   RACHEL         MAESTAS                NM          90006513459
4128755564B271   PRAMOTE        KHAMSANIT              NE          27040665556
4128771385B222   MEKIA          PALMER                 KY          90014767138
4128775835B53B   ALCIDES        FERRAND-GOMEZ          NM          90013697583
4128783125B271   JORGE          REYES                  KY          90009858312
412882A8851334   TONY           COOK                   OH          90014732088
41289125A71934   AUGUSTINE      YANRUW                 CO          90001101250
412894A247B475   WILSON         HERNANDEZ              NC          90012474024
412894A2571999   HOLLY          HERNANDEZ              CO          90013874025
4128B38195B174   BRIAN          COSBY                  AR          90015033819
4129138252B87B   AMANDA         AGA                    ID          90014893825
412913A5A61963   JANIE          SENG                   CA          90014233050
4129214135B271   DWANE          GUESS                  KY          68014561413
4129282A591569   SAUL           MENDOZA                TX          75091828205
4129289175B52B   AMANDA         ROMERO                 NM          36064588917
41294336472B43   EVONNE         GUERRA                 CO          90013443364
41294748A51383   DINAH          STUDT                  OH          66052327480
412949A775B174   DEBBIE         HUTCHINSON             AR          90014469077
41295319472B36   DEJA           RILEY                  CO          33095533194
412962A3541258   TIFFANY        BOWIE                  PA          90010972035
4129721889313B   DONNA          ELLIOT                 TN          90014582188
4129736265B52B   SERGIO         FEGUROA                NM          90012093626
4129766625B58B   MARIA          VARGAS                 NM          90014186662
4129775412B87B   ELIZABETH      BECKEMEYER             ID          90013157541
41297A5572B27B   SUQKITHIA      ROBINSON               DC          90015230557
41298496272B43   JOHN           PALFY                  CO          90002274962
4129927AA5B58B   MARYLOU        BACA                   NM          35046862700
412992AAA51334   MARIE          FRAZIER                OH          90013932000
4129B142255939   LETICIA        RODRIGUEZ              CA          90013091422
4129B37242B84B   TESFAMICHAEL   WELDAY                 ID          90013633724
4129B64725B58B   JESSICA        SAENZ                  NM          90014186472
4129B92AA71999   ANGEL          RAMOS                  CO          90001899200
4129BAA6A72B4B   DIANA          BRADFORD               CO          33086210060
412B115A472B43   JUSTIN         MATSON                 CO          90009741504
412B178335B174   JONATHAN       FLORES                 AR          23068077833
412B3817461967   KRYSTIE        URREA                  CA          90013358174
412B3921372B43   DWIGHT         ODEN                   CO          90002089213
412B3AA4584368   FERNANDO       DEL ANGEL              SC          14517480045
412B463888B16B   ROSA           LEYVA                  UT          90011196388
412B5224341294   GARY           HARRISON               PA          51038672243
412B52AAA2B27B   ANA            ESCOBAR-RAMIREZ        DC          90012372000
412B594784B271   REX            YOUNKIN                NE          90013289478
412B6434193751   TAMARA         DAY                    OH          90002164341
412B652467B283   ROBERT         ZIMMERMAN              AZ          90013175246
412B77A982B27B   SHALANDA       MYERS                  DC          90003907098
412B789465B58B   JOSEPH         SOTO                   NM          90010658946
412B826218B16B   JUSTIN         HANSON                 UT          90012872621
412B8545593794   KASIE M        KIRBY                  OH          66017005455
412B8594831959   SARINA         BROWNLEE               IA          90015555948
412B8636A5597B   BENJAMIN       FALCON                 CA          90013756360
412B9383A2B828   KITTY          RICHARDS               ID          90007603830
412B947872566B   CHARITY        WHITTED                AL          90011344787
412B982558B165   CECI           CASTILLO               UT          90009858255
412BB198661963   ANTHONY        OLIVER                 CA          46054341986
412BB47358B165   NATASHA        BUTCHER                UT          90014624735
412BB63545B52B   TRAVIS         CHAVEZ                 NM          90009096354
412BB726A5B52B   BERNIE         ROYBAL                 NM          36022197260
412BB79685B271   ALICIA         PATTON                 KY          90011887968
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412BB82688B16B   SHALESE       BLACKWELL               UT          90014228268
412BB861A91569   MANUEL        JASSO                   TX          75026018610
412BB8A3241258   JAMIE         BIZZAK                  PA          90012468032
412BB95553146B   CHIKAKO       USUI                    MO          90011839555
412BBA8255B53B   MARIA         TRUJILLO                NM          35074940825
413111A1691394   ALVIN         BROCKINGTON             KS          29031481016
4131241167B49B   TIFFANY       HOPKINS                 NC          90013334116
413133A865B271   KORRHEON      SMITH                   KY          90012583086
4131347652B87B   BOBBIE        MICKELSON               ID          90004304765
413143AA472B43   ROBERT        MOORE                   CO          90012863004
4131444788B165   SARAH         MADSEN                  UT          31035314478
4131587825597B   ANDREW        GONZALEZ                CA          90001898782
4131619785B53B   PAYGO         IVR ACTIVATION          NM          90014951978
413169AA591569   LUIS          CARILLO                 TX          90015219005
4131714447B475   NELSON        DELGADO                 NC          90008971444
4131734114B271   FATUMA        OSMAN                   NE          90009423411
4131836A947954   RHONDA        ADAMS                   AR          90006183609
4131856552B87B   KHRISTINA     GARCIA                  ID          41023155655
41318969972B4B   PETE          MEDINA                  CO          90011339699
4131938875B174   MARY          JOHNSON                 AR          23018773887
4131969A793794   MELODY        SMITH                   OH          66039056907
4131986375B53B   SONYA         FLORES                  NM          90011588637
4131997412B87B   CHRISTY       MYERS                   ID          41080189741
4131B137293794   REDONDA       SMITH                   OH          66006331372
4131B236A51334   ERIKA         WARD                    OH          90011532360
4131B51112B87B   SCOTT         THORNBRUGH              ID          41091545111
4131B56A891988   WILLIAM       REAMS                   NC          17022305608
4131B691272B43   GUILLERMO     RIVAS                   CO          33062436912
4131B835647954   MICHAEL       LEACH                   AR          90005468356
413212A687B475   DEMARQUES     ANDREWS                 NC          90010992068
4132133A45B271   CINDY         GRANT                   KY          90012963304
4132135815B52B   VALERIE       ALVARADO                NM          90011183581
4132166625B58B   MARIA         VARGAS                  NM          90014186662
4132199625B271   KEELEY        INGRAM                  KY          90000759962
4132229162B27B   DONALD        DRAFFIN                 DC          90012812916
4132323132B87B   DEBBIE        WIGEN                   ID          90014242313
41324419A5B174   CHANCESOLER   PHILLIPS                AR          90005264190
4132452A491394   MANDY         REDINGER-MARMOLEJO      KS          90006655204
41324A12371999   BRANDIE       BACA                    CO          90013910123
41325291A91394   LOWIS         VELEZ                   KS          90014372910
4132566625B58B   MARIA         VARGAS                  NM          90014186662
4132574585B58B   AUDRIANA      MASCARENAS              NM          90009457458
4132677548B895   TALLY         LAJAR                   HI          90015157754
41326A6315B58B   FABIAN        WILLIAM                 NM          90008160631
41327285A5B174   KAREN         CARTER                  AR          23095062850
4132854995B52B   RAMONA        MARTINEZ                NM          90007795499
4132867A684338   HANAN         MOUHAOUESS              SC          90010466706
4132897915B58B   RITA J        GAYTAN                  NM          90010659791
41328A4195B222   VICKTORIA     MYERS                   KY          90010820419
4132952525B174   SHANNON       STEWART                 AR          90015205252
4132956A174B24   FRANKIE       JOHNSON                 OH          90013735601
4132B15557193B   WILLIAM       HILL                    CO          90001081555
4132B59A75B222   LAURA         MARTIN                  KY          68000175907
4132B6A182B27B   VALERIE       WILLIAMS                DC          90008306018
413325A815B271   DEBORAH       ALLENDER                KY          68007795081
41332AAA35B52B   CHULEE        CHOOWONG                NM          90014410003
413347AA77B475   CHARLES       BROWN                   NC          11093917007
4133566795B58B   DEZMAND       LOWERY                  NM          90014186679
4133777378B165   MERCEDES      BRICENO-ALVAREZ         UT          31009967737
4133841195B53B   BRAD          GREEN                   NM          35086114119
4133864138B16B   CHRISTIAN     LOPEZ                   UT          90013966413
4133931A691569   URIEL         DUARTE                  TX          75086043106
4133944475B52B   ELFEGO        VARGAS                  NM          36044644447
41339A93951334   STEVEN        BOWDEN                  OH          66030560939
4133B718A8B169   KARLI         FAIT                    UT          90007687180
4134119AA61967   MARIA         DAVILA                  CA          90000241900
4134219124B271   RON           DIAZ                    NE          27053041912
41342468A47954   CLEMENTE      SOTO                    AR          90006184680
41342641772B43   JESSICA       CAYLER                  CO          90010136417
4134282538B16B   JEREMY        MAESTAS                 UT          90008628253
41342A3315B58B   JOSEPH        DOMINGUEZ               NM          90014900331
41343229A5B222   LEONARD       BROWN                   KY          68010532290
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4134334A571934   ERIKA        GOZALEZ                  CO          90002243405
41343A4345B52B   ERICK        TATAJ-LOPEZ              NM          36068000434
4134416235B174   KILA         BRASON                   AR          90012531623
413451A6491988   NAKIA        BLUE                     NC          90014621064
4134551885B271   CHRISTINA    ARRIETA                  KY          90013725188
41345614A61967   ROSA         MONDRAGON                CA          90014156140
4134572615B58B   GLADIS       BARGAS                   NM          90010187261
413457A8355939   ALMA         FIGUEROA                 CA          90003207083
413468A9A72B36   VINCENT      VARGAS                   CO          33090738090
41347341572B4B   DORELY       HERRERA                  CO          90012883415
4134811155B53B   JENNIFER     PARADA                   NM          90010311115
41348396872B4B   EULA IONE    WHITNEY                  CO          33050953968
4134867328B16B   TYLER        JOHNSON                  UT          90015306732
4134894635B52B   DENIS        OROZCO OLIVAS            NM          90012339463
41349A57861967   PATRICIA     ELIAS                    CA          90012990578
4134B45197B475   ANNEISSA     HYDE                     NC          90014094519
4134B552861963   NKUNZIMANA   DEO                      CA          90003285528
4134B581461967   ROSALBA      MONDRAGON                CA          90014155814
4134B675191569   NOEMI        GONZALEZ                 TX          75009656751
4135171432B27B   MONE         HERNDON                  DC          90012837143
41352293872B4B   WILLIAM      NELSON                   CO          90011012938
4135236A34B271   JASPER       KRMPOTIC                 NE          90003493603
4135282325B58B   MARCOS       ORNELAS                  NM          90010878232
41352968A91569   RICARDO      GOMEZ                    TX          90010359680
41353759772B43   ROSARIO      GARCIA                   CO          33076317597
4135442452B87B   JESSE        WARREN                   ID          41072124245
41354697A71999   AMY          ROSS                     CO          38045616970
4135477318B165   MANDY        WHEELER                  UT          90011517731
4135488545B53B   ADAM         CARRILLO                 NM          90013468854
41355435772B43   ERIN         FLOYD                    CO          33028484357
41355662233B55   JOVAWN       WHITTED                  OH          90015476622
41355A4575B271   JOHN         HALL                     KY          90005330457
41356263A61967   KENNETH      CONFER                   CA          90005092630
4135647127B475   AJ           TYLER                    NC          11007154712
4135653365B222   MIRELES      LOPEZ                    KY          90012425336
4135712538B16B   BEATRICE     FERNANDEZ GARCIA         UT          90012691253
4135754455B297   DAVID        SULLIVAN                 KY          68061435445
4135769537B475   CHIQUITA     SMITH                    NC          11083126953
4135833852B87B   BRANDON      BEACH                    ID          90006363385
41358489985B26   RICARDO      THOMAS                   FL          90015464899
41358614172B36   MICHAEL      HOLDEN                   CO          90013596141
413586A3761963   BRADISON     JONES                    CA          90011656037
41358989A5B271   TYSHANA      HUDSON                   KY          90008869890
41358A3367B475   JOSE         SANTOS                   NC          90001760336
4135966A693751   JEROME       COSTELLO                 OH          90014456606
4135B64675B52B   KAYLEEN      BARELA                   NM          90006216467
4135BA5598B165   JUAN         GALLEGOS                 UT          31023870559
41361739A61963   DAVID        PIMENTEL                 CA          90011797390
41362291172B4B   STEVEN       PELLETIER                CO          90012122911
413627AA751334   JOHN         MOEHLMAN                 OH          66090507007
41363175A51334   DESHANNE     LEWIS                    OH          90013291750
41363773A93747   ELIZABETH    BAILEY                   OH          90012437730
4136416A75B271   FRANKIE      BIBB                     KY          90014591607
4136464A68163B   BRIDGET      WOODS                    MO          29004696406
41364837572B36   ANGEL        VALDEZ                   CO          90010768375
41364A9A855939   TONY         LOPEZ                    CA          90013760908
4136656638B16B   JENNIFER     SANFORD                  UT          90011345663
4136676915B58B   AMANDA       CASTILLO                 NM          90008337691
41367166A61963   DORIS        CHAPA-ALVAREZ            CA          90014761660
413672A7555939   SHANINE      DIAZ                     CA          90012382075
4136749232B27B   LAKISHA      SMITH                    DC          90011084923
41368A9574B271   VICTORIA     CRAWFORD                 NE          90012350957
4136958945B53B   KAREN        MANJARREZ                NM          35007465894
4136964A861963   RICKEY       THOMAS                   CA          46078716408
4136B821857134   SAIRA        DIN                      VA          90002658218
4136B82935B53B   RODIMIRO     URIBE                    NM          35041568293
4137219777B694   KIESHA       THOMAS                   GA          90007831977
41372369A61963   BRIAN        MOODY                    CA          46016963690
413724A6291394   KATHERINE    MOHLER                   KS          90008854062
4137268A32B87B   KRISTYN      BEATTY                   ID          90009946803
4137324AA51383   SAMUEL       GARCIA                   OH          66055792400
413737A2671999   CRYSTAL      MCNEILL                  CO          90010367026
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4137411815597B   RYAN               LUCAS               CA         49061741181
4137466134B271   CANDIE AND FRANK   SARMIENTO-JIMENEZ   NE         90013046613
41375276372B43   FELIPE             ARREDONDO           CO         90010252763
4137598975B53B   CHRIS              LINVILLE            NM         35015069897
41376281376B48   MARGARITA          AVENDANO            CA         46064292813
41376317172B36   MARIA              MAGDALENA           CO         33002843171
4137644395B52B   MARIA              SANDOVAL            NM         90006504439
41377177A71999   NIKI               GARCIA              CO         90012561770
4137727364B271   DOMINGO            PERCERO             NE         90006822736
41377729A41294   ERIC               BUGGS               PA         90013147290
413783A355B271   DONALD             DALTON              KY         68064413035
4137841995597B   PERNELL            LONG                CA         90009394199
4137935858B654   CANDICE            HALL                TX         90015253585
41379476472B43   ERIC               GALLEGOS            CO         90005444764
41379A9268B16B   SERGIO             LOPEZ               UT         90013990926
4137B16672B27B   ROBERT             OXLEY               VA         90014781667
4137B172161963   HERIBERTO          PEREZ               CA         46084911721
41381134A5B299   DEWEY              MEEKS               KY         90008301340
4138245768B16B   MARIA              ESCALANTE           UT         31039014576
4138261A191569   LUIS               ALBERTO             TX         90002366101
4138278438B165   PATRICIA           JONES               UT         90012567843
413833AA62B27B   CHARLISA           MARTIN              DC         90014703006
4138373755597B   JOSEPH             GUADAGNO            CA         90015177375
41383A35172B4B   JAMES              WALKER              CO         90009970351
4138529165B52B   NERY               DIEGUEZ RODAS       NM         36085872916
41385A34755997   RICHARD            SCOTTI              CA         49056310347
4138631785B53B   JOSE               JAQUEZ              NM         90013093178
4138641634B271   PAYGO              IVR ACTIVATION      NE         90015294163
4138663825B174   DEVON              HATCHETT            AR         90009416382
4138676A72B27B   VERONICA           DIAZ PEREZ          DC         90011667607
41387265572B43   ROSA               MENJIVAR            CO         90007332655
4138766525B52B   MIKE               SEDILLO             NM         90000666652
4138769815B222   VAKEISHA           KNIGHT              KY         90013986981
41387969572B36   CHRISTINA          NOYCE               CO         90012269695
41389623A71999   ALICIA             FLORES              CO         90013326230
4138968997B475   LAVETT             DAWKINS             NC         90014626899
4138B17A35597B   LORENA             ROMERO              CA         90012311703
4138B361491569   MIKE               MEDINA              TX         75071033614
4138B769991394   ZACHARY            HARTKOPP            KS         90012747699
4138B938171999   STEVE              SALAZAR             CO         38084069381
41391553A5B52B   ROSALBA            GRADO               NM         36062735530
4139181365597B   HER                BLIA                CA         90007128136
413922A928B16B   LYLE               HENDERSON           UT         90013822092
4139393452B268   MARIUM             JOHNSON             DC         90003789345
41393A22A2B267   SHALONDA           FREEMAN             DC         90010500220
41393A66971999   MANUEL             TORRES              CO         38093300669
4139534A32B27B   CHRIS              EDWARDS             DC         90013813403
41395792972B36   SHAUN              ZARATE              CO         90014387929
4139686885B222   MICHAEL            EALY                KY         90013688688
41396A83556355   ABAGAIL            PETERS              IA         90015300835
4139737575B58B   NANCY              BEATRIZ MARTINEZ    NM         90014203757
413995A965B222   ANGELIA            BEAMS               KY         68004975096
4139B4A8A3B394   KAMELA             HARMAN              CO         33089814080
4139B88967B475   ALICIA             NAVARRO             NC         90006528896
413B11A392B27B   SHIMERE            PAYNE               DC         90001201039
413B155A35B271   RENEA              FORD                KY         68033975503
413B163378B165   MATTHEW            DAVIS               UT         31051216337
413B1984A91394   FELICIA            GRAHAM              KS         90013169840
413B2278961963   HUGO               SANCHEZ             CA         90013842789
413B314425B271   JACK               LEWIS               KY         90012791442
413B322AA5B52B   RUTH               DUARTE              NM         90014742200
413B3648491988   LISA               SUMPTER             NC         90013736484
413B391528B16B   AMANDA             KINDER              UT         90014309152
413B3AA3991569   DEBRA              LOPEZ               TX         90010710039
413B5122961967   JOE                DIRT                CA         90010791229
413B514195B222   JAMES              MORRIS              KY         90014171419
413B551132B27B   CAROL              CHASE-JUDGE         DC         90001855113
413B5598171934   ALVINO             SANCHEZ             CO         32074505981
413B5942591394   ILDFOMSO           PEREZ               KS         90011489425
413B6612851555   SHYREKA            TURNER              IA         90014986128
413B6813A8B165   CECI               CASTILLO            UT         90009858130
413B721565B58B   JEREMY             OSKIN               NM         35075632156
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1921 of 2500


413B816592B87B   DEEDEE        CROSBY-SMITH            ID          41086191659
413B8296A5B271   ROBERT        BURDEN                  KY          90013522960
413B9256191394   EDITH         GODINEZ                 KS          90013882561
413B9266172B4B   DEVON         LENTZNER                CO          90014082661
413B926788B16B   ERIC          ANDERSON                UT          90009862678
413B988515B52B   GABRIELA      LOPEZ                   NM          36050618851
413B9A57971999   JOE           GARCIA                  CO          90014740579
413B9A94981639   GERARDO       PAZ                     MO          90013940949
413BB21932B84B   OMAR          AVDUSSABUR              ID          90012472193
413BB71A691873   TREY          CARDER                  OK          90008587106
413BB89A572B4B   RONALD        MILLER                  CO          90012868905
4141151215B222   DARNELL       MARTIN                  KY          68059285121
4141331812B27B   TRACIONNA     MARABLE                 DC          90011233181
41413597A47964   STEVEN        STEVENS                 AR          90014635970
41414862A5B222   KENONTEZ      MALONE                  KY          90015158620
41414A29691971   ALEJANDRA     ISIDRO TOME             NC          90007030296
4141548785B52B   KATHLEEN      COMPTON                 NM          90015274878
41416134A5B52B   CRYSTAL       MAEZ                    NM          36042781340
4141675975597B   ALVARO        MARAVILLA               CA          49005587597
4141694268B165   MARNIE        FERNANDEZ               UT          90011049426
4141714335597B   MIKE          GOMEZ                   CA          90009431433
41417A66691988   LINDA         JACKASON                NC          90011260666
41418166A55939   GUILLERMINA   ORTEGA                  CA          90011211660
4141857515B53B   AMANDA        COX                     NM          35098775751
4141858595B52B   MARILYN       MONROE                  NM          90014705859
414186A7861995   FERNANDO      VALDEZ                  CA          90014326078
414186A8691569   EVERT         ROSALES                 TX          75037986086
41418A63226766   JARED         BEISWENGER              VA          83005300632
4141955148B165   JERRY         BRADY                   UT          31020705514
4141B18A191873   KRISTINA      LOUDERMILK              OK          21087311801
4141B386272B4B   SYDNI         MASDEN                  CO          90014873862
41421189A72B4B   KENDRA        HERNON                  CO          33010251890
414219A2861967   CATALINO      CRUZ                    CA          90012649028
41423176972B4B   JUAN          PICAZO                  CO          33005371769
41423A3392B27B   CRYSTAL       LEON                    DC          90015130339
414248A3361963   ALVARO        PRADO GARCIA            CA          90010708033
4142518668B355   FRANCINA      DANTLER                 SC          90008551866
4142521845B174   MARIA         ROBLEDO                 AR          90010082184
414253A2671999   ROSA          AREVALOS                CO          38004643026
4142583215B174   JOSE          GUTIERREZ               AR          90001238321
41425966A71934   DENNIS        WATSON                  CO          90002059660
41425A16351334   AMBER         GORDON                  OH          90011110163
414263A4872B4B   MEGAN         RAILEY                  CO          90012333048
414263A7272B36   LORRAINE      PERSINGER               CO          90001853072
4142663965597B   MARISOL       AVILA                   CA          90009586396
4142673273B181   GIVSON        OBANG                   DC          81011277327
4142749A661963   DEBORAH       GARCIA                  CA          90012454906
4142851A95B271   KELLIE        ROGERS                  KY          68013095109
414285A485B53B   JAKOB         BUTTERFIELD             NM          90013475048
4142918475597B   JOE           ACOSTA                  CA          49005851847
41429A51741258   CAROLINE      CARR                    PA          51012810517
4142B433A41258   DIANE         SCOTT                   PA          90011424330
4142B843555939   PRISCO        DIAZ                    CA          90010488435
4143237615B52B   MARY          RODRIGUEZ               NM          36087313761
4143244215B271   SHAUN         HOOD                    KY          68093604421
4143258625B174   DIEDRA        LEVI                    AR          90014215862
4143288288B16B   VICTOR        GONZALES                UT          90010698828
41432A7124B271   ERIC          FISHER                  IA          90015090712
4143339AA61963   BIANCA        WALL                    CA          46002503900
41433952872B36   BIANCA        LONG                    CO          90013719528
4143397732B27B   ESTHER        TURNER                  DC          81004289773
414347A4161963   JARON         MOORE                   CA          90013117041
4143545355B222   AMILCAR       MORALES                 KY          90003554535
4143546815B53B   SUSANA        CARRILLO-BRECEDA        NM          90014624681
4143557267B475   JASMINE       WEST                    NC          90013335726
4143649375B271   FELICIA       SIMMONS                 KY          90014174937
41436837472B43   EVA           MEDINA                  CO          33096348374
414368A234B271   CHAZ          HARLAN                  NE          90013778023
41436A32A93767   SUKHARI       WILLIAMS                OH          90013590320
41437529272B43   ALEXIS        ARRELLANO               CO          90013175292
41437725172B36   BALTAZAR      LEDEZMA                 CO          90002697251
414392A7491988   JAMES         WEST                    NC          90011262074
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414395A745597B   JOSE           RAMIREZ                CA          90014515074
4143973445B222   CARLOS         GREEN                  KY          90011337344
4143989294B271   KEVAN          SHELTON                NE          27081878929
4143B19145597B   LUCILE         HOGAN                  CA          90005071914
4143B53355B53B   ELIZABET       JAQUEZ                 NM          90008345335
4143B733372B43   NATHAN         DUES                   CO          90014697333
4143B82A45B58B   VANESSA        SALAZ                  NM          90014188204
4144163418B165   MIRIAM         PALACIOS               UT          90008886341
4144214875597B   MAURILIO       CRUZ                   CA          90007391487
41443261972B4B   JASON          STEVENS                CO          33095092619
4144383445B58B   ROBERT         PADILLA                NM          90014188344
4144413A191569   JOAQUIN        ALBINO                 NM          75040511301
4144441785B222   KAYLA          DAVIS                  KY          90014284178
4144482733B353   ANDREA         AMARO                  CO          90005238273
4144572682B27B   EVER ERNESTO   PALMA ORDONEZ          DC          90012837268
4144577472B27B   AISHA          SHERMAN                VA          90015107747
4144719A15597B   DAVID          MENDES                 CA          90013901901
4144761385B174   KISHA          BUCHANAN               AR          90012036138
41447A8A75B38B   WENDY          SCHRODER               OR          44536250807
41448112A8B16B   BAILI          MANZANZRES             UT          90009821120
41448524A72B4B   ANNA           PRYER                  CO          33075575240
4144858999155B   ROSA           HIDALGO                TX          75076225899
414489A3751332   DAVIDA         SNADER                 OH          90006079037
41448A65157159   VERONICA       LEMUS                  VA          81083500651
414496A8781656   JOSE           QUINONES               MO          29041356087
4144B261491569   PAOLA          AMAYA                  TX          90011562614
4144B351172B36   LEONARD        ARCHIBEQUE             CO          90007463511
4144B47515B53B   ERIN           ABEYTA                 NM          35059724751
4144B717241235   AMBER          TIRPAK                 PA          90013947172
4144B797A2B27B   TRHYVER        WOOD                   DC          90011667970
4144B952A4B568   JR             ARMSTRONG              OK          90009659520
414517A245B52B   ANGELA         LOPEZ                  NM          90004677024
4145273345B58B   JANELLE        LEEWAY                 NM          90012477334
4145329785B53B   MARIA          RODRIGUEZ              NM          90010722978
4145357998B16B   IUNISI         HAFOKA                 UT          90013485799
41453884772B43   VANESSA        HERNANDEZ              CO          90012378847
414539A9A91394   ELIZABETH      HAYWOOD                KS          29071849090
4145441745B271   ELISSA         CHEATHAM               KY          90011294174
4145475A18B16B   LETICIA        PATRICIO               UT          90014857501
41454A35193794   JEANINE        OFFOR                  OH          90010380351
41455147872B4B   PERRY          PHILLIPS               CO          90007671478
4145524238B165   FREDRICO       REYES                  UT          90013342423
41455A6545B271   LINDA          SHARP                  KY          90015160654
41456595A55939   SOFIA          MADRID                 CA          90015215950
4145828445B52B   BRIAN          RYDER                  NM          90012712844
41458383172B36   CASIMIRO       ZAMORA                 CO          33095763831
4145856A174B24   FRANKIE        JOHNSON                OH          90013735601
41458A8A99155B   JAIME          MARTINEZ               TX          75076230809
4145917736B275   SAAD           FAHIYE                 CO          90011501773
414596A4A91394   CAMMY          HINES                  MO          29054286040
4145989138B165   JOSE           RAMOS                  UT          31007288913
41459A7722B87B   ROBERT         FAULKNER               ID          90014780772
4145B714261963   ELENA          SANDOVAL               CA          90013117142
4145B743A61967   MAILE          MCGEE                  CA          90013097430
4145B7A765B52B   JOLENE         GURULE                 NM          90011667076
4146142A35B271   YOLANDA        THOMAS                 KY          90011294203
41461816672B36   BERNADETTE     VERA                   CO          33007358166
41461A22491394   ELVIRA         GONZALEZ               KS          90001860224
414622A7A61963   GEORGINA       FLORES                 CA          90001972070
4146284595B58B   VALERIE        GUTIERREZ              NM          90014188459
414632A5A2B87B   MICHAEL        BALDWIN                ID          90009912050
4146376A28B16B   MARIA          ARELLANO               UT          31071577602
41463A38172B32   MARIBEL        ACOSTA                 CO          33060780381
41464442A72B43   DELFINO        TRUJILLO               CO          90014524420
414647A7971999   PHILLIP        BRAVO                  CO          90005027079
4146528855B53B   RUBEN          BUSTAMANYE             NM          90013422885
4146644662B87B   JOSH           ALTERMOTT              ID          90013434466
4146691668B16B   B              HAIR                   UT          31096569166
41467272672B36   EMEBET         GEBEREMARIYM           CO          90014082726
4146855628B16B   JENNIFER       GARDNER                UT          90010155562
4146B525347954   ISABEL         LEMUS                  AR          25027905253
4147162675B58B   ZACHARY        MARTINEZ               NM          90002826267
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4147227815B58B   KEVIN                 SOLOMON           NM        90015222781
4147311385B58B   MICHELLE              BACA              NM        35059971138
41473923A8B165   ALAN                  ARCE              UT        31098869230
41474463A61963   KENNETH M.            LYLES             CA        90005304630
4147447792B27B   ELLEN                 TAYLOR            DC        90003744779
4147459485597B   DARLENE               BANDERAS          CA        49013035948
4147511392B27B   SHEREBURA             BULLOCK           DC        90004151139
41475243972B36   REBECCA               SALAZAR           CO        33036772439
41475694A72B43   MONA                  MONIQUE-GOGGINS   CO        33089036940
414757A665597B   ROGELIO               FERNANDEZ         CA        49046487066
41476753772B36   DENISE                WHITE             CO        90002757537
41476A7A661967   KAIDEN                MONTANA           CA        46064970706
41477443672B43   AMBER                 WARMUS            CO        90010624436
41477618A2B27B   KIREE                 HENDERSON         DC        90015446180
41477954A93794   KEVIN                 ALREDGE           OH        90013739540
4147899172B87B   MONICA                SCOTT             ID        41079749917
41478A3675B222   MELISSA               VILLALOBOS        KY        68070330367
4147922828B165   PETER                 SMITH             UT        31052072282
4147B694284332   NATHANIAL             WASHINGTON        SC        90012036942
4147B73542B27B   MARKISHA              MOORE             DC        90012837354
4147B792751334   JESIKA                STILL             OH        90014907927
4148189A62B87B   TIFFANY               LIND              ID        90012238906
4148257245597B   SERGIO                MENDEZ            CA        90006545724
41482665A44B65   JAMES                 BACHMAN           OH        90014146650
41482A81161963   SALLY                 TRULSON           CA        46036090811
4148329A58B352   TAMEKA                SHORTER           SC        90005002905
41483379572B36   SHAUN                 HICKS             CO        90011163795
4148361762B87B   KORIE                 HATROCK           ID        90013906176
41483A71791988   DIEGO                 MARQUEZ           NC        90011770717
41483A7592B27B   TIFFANY               DELANEY           DC        90013850759
4148436815B222   LINAIDA               TEJEDA            KY        90013403681
4148464735B58B   RUSSELL               DAVIS             NM        90012036473
41484AA8155939   MICHELLE              CRIBBS            CA        49059900081
4148516614B271   YESENIA               TLATENCHI         NE        90012871661
41485A48591394   CLAUDIA               CRUZ              KS        90008600485
414861A8161967   SAL                   RAMIREZ           CA        90012421081
414868A5191873   MARTCHELLO            FILEDS            OK        90013348051
41486A29A93794   DENISH                TERRY             OH        90013980290
4148733868B14B   MARTIN                THOMPSON          UT        90001993386
4148742615B53B   ZAYRA                 FLORES            NM        90007294261
4148752295B242   ROGER                 MURPHY            KY        90011365229
4148782A941261   SAMANTHA              BRANDON           PA        90010278209
4148784168B16B   MARIO                 ARCHULETA         UT        90010068416
41488211A5B52B   HECTOR                MARIN             NM        90007682110
4148854872B87B   SUE                   WILLIAMS          ID        90014805487
41488924972B36   THERESA               BOFILL            CO        90013119249
4148B28315597B   CATALINA              AVILA             CA        49013852831
4148B985491988   MONSERRAT             LOPEZ             NC        90001679854
414912A365B52B   LISA                  CASTELLANO        NM        90005442036
41491933A5B53B   JOE                   JARAMILLO         NM        35028829330
41491A3252B87B   ERIC                  COCHRAN           ID        90014160325
414922A9A91549   SAMANTHA              CORDERO           TX        90010822090
41492715A8B16B   TONI                  ALLEN             UT        90009687150
41492A35255939   ANDREA                RUSBOLDT          CA        90012370352
4149347235B53B   LETICA                BERNAL            NM        35037284723
414935A9947954   CAITLYN               RAE               AR        25054135099
414944A3655939   MARISA                AVINA             CA        90013124036
4149482465B52B   ELIAS                 VALENCIA          NM        36020608246
41494857372B43   MARIA DE LA LOURDES   MACIAS            CO        90015468573
4149568212B87B   MASON                 BROWN             ID        90007436821
414964A1355939   MAYRA                 ESPINOZA          CA        49085814013
41496868472B4B   BRADLEY               MCKINLEY          CO        90011908684
4149761A65B52B   ROXANN                ORTIZ             NM        36091826106
4149764272B87B   MARCUS                DEWOLF            ID        90015466427
41497666472B43   QUIANA                GAY               CO        90011306664
41497769A5B53B   LUZ                   NORIS             NM        90001007690
41498A23372B36   DARREN                GUSS              CO        33068140233
41498A6518B16B   CHRISTINE             JONES             UT        90013830651
41499757372B4B   MICHAEL               CLANTON           CO        33032937573
4149B133224B7B   MELVIN                CALHOUN           DC        81067601332
4149B741693794   BARRY                 TODD              OH        90012467416
4149B814861967   YVONNE                CLARK             CA        90011218148
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4149B88134B271   TYESHIA       SMITH                   NE          90014508813
414B1391A5B174   SABRINA       GOODWIN                 AR          23072953910
414B1736591988   LATESHA       STRUDWICK               NC          17008767365
414B1816572B4B   ENDIYA        CHEEKS                  CO          90014328165
414B19A5A5B53B   JAVIER        VALDEZ                  NM          90005659050
414B1A82961967   BEKKI         MOREHOUSE               CA          46088070829
414B2595791873   SHAREENA      PLUSE                   OK          90007215957
414B2A36172B4B   TEODULFO      CORREA                  CO          33057090361
414B3217771999   MICHAEL       GREGG                   CO          90012332177
414B3437651334   AUSTIN        ENGLER                  OH          90012684376
414B3595A61963   JOSE ARTURO   SANCHEZ JR              CA          90014915950
414B428365B53B   TAMMY         JORGENSON               NM          90013242836
414B43AAA91988   JANEE         GONSALVES               NC          90011623000
414B4518771934   FELICIA       ORTEGA                  CO          32045705187
414B462867B475   EDWIN         BOMBO                   NC          90008936286
414B519AA91394   TASHA         PRUNEDA                 KS          90014021900
414B5625761967   CHRISTOPHER   DIAZ DE LEON            CA          90010476257
414B615855B222   CHRIS         SOTO                    KY          90010101585
414B6854891873   SHELBY        SMITH                   OK          90013158548
414B6A24A9188B   THOMAS        ROACH                   OK          90011950240
414B7224172B36   ISSACK        MARFO                   CO          33009362241
414B7446991988   KRISTINA      MULAY                   NC          17080164469
414B7A9795B174   DEBBIE        DANIELS                 AR          23021320979
414B8249A41294   COLT          STEBLER                 PA          90003162490
414B844A155939   GEIDY         ARIAS                   CA          90007654401
414B935A771999   TANYA         CARRERO                 CO          90003543507
414B9439691569   ELSA          RENTERIA                TX          75091834396
414B99A875B58B   ANALHI        DOMINGUEZ               NM          90010029087
414BB176961967   WILFREDO      MACK                    CA          90008341769
414BB38172B87B   STEVE         HEBERER                 ID          41065033817
414BB5A8151334   CRYSTAL       THOMAS                  OH          66096815081
414BB898191988   KIMYETTA      LESINE                  NC          90005188981
41511A6575B52B   JORGE         LOPEZ-ALVARADO          NM          36017310657
4151217112B27B   ANA           RAMIREZ                 DC          90007531711
41512757A8B16B   JEREMIAH      STRATTON                UT          90014857570
41512A47672B4B   MONICA        MENDEZ                  CO          90012820476
41512A56261547   TRAVIS        GREEN                   TN          90015360562
4151326835B272   TINA          DAVIS                   KY          68075052683
415135A855B52B   CHERYL        ARVISO                  NM          90014505085
415138A2155939   JEFFREY       CANNON                  CA          49000258021
41513AA3461925   ERIN          KAUWOH                  CA          90002530034
41514452572B36   RANDY         GARNER                  CO          33073104525
41514767972B4B   SERGIO        COSTA                   CO          90004337679
4151527195B52B   BAUDELIO      VALDEZ                  NM          90005532719
4151548997B646   OSCAR         GONZALEZ                TX          90013964899
4151555295B53B   ALYSHA        FAULKNER                NM          90012985529
4151562353B344   ANDREA        AMARI                   CO          33027986235
41515AA1761963   PATRICIA      MOORE                   CA          46030010017
41516113972B4B   MELISSA       FERGUSON                CO          33062321139
4151618285B271   RENDAL        DARDEN                  KY          90003341828
4151764965B58B   RHONDA        CHAVEZ                  NM          35027116496
4151847925B58B   JESSICA       RUIZ                    NM          90012974792
4151875448B165   JHONATAN      HERNANDEZ               UT          90013277544
4151B442691569   JOE           ESPINOZA                TX          75028914426
41521879376B59   HUGO          PENITEZ                 CA          90014708793
41521A68181639   ALVA          BEASLEY                 KS          29037550681
4152247515B58B   ADELAIDA      PENA                    NM          90014204751
415226A688B157   MARIA DE R    MORA                    UT          90001236068
4152276915B53B   AMANDA        CASTILLO                NM          90008337691
4152291438B16B   BOBBETTE      GOMES                   UT          90000679143
4152334644B271   KANOENANI     LO                      NE          27026083464
41523A9132B29B   TONYA         MITCHELL                DC          90001220913
4152411695B222   DONNA         HALE                    KY          90015111169
4152443AA91873   JESSICA       DUFFY                   OK          90012134300
4152449A17B475   JENNIFER      LEWIS                   NC          11011194901
4152481847B497   FRANCISCO     VIVAR                   NC          90012078184
4152496858B165   MARK          SHAFFER                 UT          90014479685
4152565724B271   MARY          DREXEL                  NE          90003796572
41527185672B43   PHELISHA      WHEELER                 CO          90001161856
4152791828B849   JOLENE        COSTA                   HI          90014819182
4152833A561498   TIFFANY       JONES                   OH          90014103305
41528668A5597B   SELENA        ORTIZ                   CA          90000296680
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4152869758B16B   ANJILYN      PINALOSA                 UT          90012206975
415289A8A5B174   MARCUS       COLE                     AR          90014559080
41529455672B36   KIMBERLY     SELBY                    CO          33015774556
415298A712B921   JUAN         PANTEJA                  CA          90012938071
4152B12585B58B   ROXANNE      HERRERA                  NM          35014981258
4152B476A72B36   JOHNNY       MIJARES                  CO          90015224760
4152B69618B16B   LORI         BURGETT                  UT          31004286961
4152BA99424B46   BILAL        AKBAR                    DC          90010600994
4153333A872B43   JONATHAN     HART                     CO          90012413308
41533953A5B222   AMANDA       NEWTON                   KY          90005529530
41533988172B4B   MADELYN      ALLEN                    CO          90009199881
4153492555597B   ROSA         GARCIA                   CA          49066479255
4153513665B52B   WENDY        SAMBRANO                 NM          90012731366
4153623575B53B   RITCHELL     KARISE                   NM          90001802357
4153642547B475   LASHONDA     EMANUAL                  NC          90014784254
4153673985B58B   NATALIE      NOMTGOMERY               NM          35001997398
41536A32361967   JACKIE       GARCIA                   CA          90007870323
41537A23451383   COLE         HEISEY                   OH          90005620234
41537A28585981   ANTHONY      WALLACE                  KY          90001440285
41537A4762B87B   DAVID        GUZMAN                   ID          41052400476
41537A84872B36   LLOYD        EMERY                    CO          33013900848
4153832145B58B   THOMAS       LUKASAVAGE               NM          35035483214
41538974372B4B   ANA          VAZQUEZ                  CO          90009989743
41538A64851361   RONDI        SANDER                   OH          66067430648
41539257372B43   ANGELA       DIAZ-DIAZ                CO          90014752573
41539414972B36   ELOY         MONOZ                    CO          90015274149
41539A35181639   MISS         HESS                     MO          29052440351
41539A5794B546   ELIZABETH    PHILLIPS                 OK          90006260579
4153B534372B36   MELISA       QUINTANILLE              CO          90001845343
4154122358B166   BENITO       MENDOZA                  UT          90009312235
41541255A8B165   JAVIER       GARCIA                   UT          90012352550
4154135995B271   ERIC         HILLIRECH                KY          90010333599
415414A378B16B   JENNY        MERCADO                  UT          90009984037
4154158945B222   CECE         MORRIS                   KY          90003395894
4154161A455924   JIM          KENNEDY                  CA          90012426104
41542731A51334   JIMMY        REAGAN                   OH          90013967310
41542819972B43   VALERIE      WOOD                     CO          90005298199
41543167A71934   JACQUELINE   IRELAND                  CO          32088991670
4154415964B271   ANA          HERNANDEZ                NE          90012641596
41544316172B43   TERRENCE     CULPEPPER                CO          90009003161
415446A895B271   JONNIE       STEWART                  KY          68000626089
4154514A15B53B   NOEL         NAYARES                  NM          35082501401
4154563A961963   JODIE        DEERE                    CA          90011806309
4154666334B271   FATIMA       GARCIA                   IA          90014846633
4154697425B271   BRITTANY     SEARS                    KY          90013349742
4154764165597B   KARLA        ZEPEDA                   CA          90011206416
4154864AA5B52B   MARIA        HERNANDEZ-DE-CARRILL     NM          36053836400
415494A4272B4B   CORENE       TOLLETT                  CO          33091634042
4154B174461967   GRETCHEN     PEREYDA                  CA          90011071744
4154BA7735B53B   JOSE         AVITIA                   NM          90013590773
4154BA84791873   KRISTI       DAY                      OK          90009360847
41551413A41294   KIMBERLY     HEGGERTY                 PA          90008174130
41551473A2B27B   DERYCKA      HAZIEL                   DC          90012464730
4155182485597B   NALY         YANG                     CA          90012748248
4155219328B895   MERCEDES     PAGADUAN                 HI          90014401932
41552981A5B58B   CHRISTINA    CHAVEZ                   NM          90007409810
41553496A51354   DAVID        SCHMIDT                  OH          90011864960
4155361324B271   JOSHUA       ALFONSO                  NE          90010036132
4155435588B16B   MACEY        BECKSTROM                UT          90012503558
41554425A4B271   PAULA        TRAVIS                   NE          90005954250
4155445267B475   ROSALYN      BURRIS                   NC          11076144526
415544A2671999   TOBIAS       ARCHULETA                CO          90006744026
4155532A381639   MANUEL       ACOSTA                   MO          90004423203
41555A63941294   RICHARD      SNIDER                   PA          90003180639
4155635357B475   ZACH         ROGERS                   NC          90014703535
4155649655B174   TAMMIE       MOZINGO                  AR          90014224965
4155738738B165   KELLY        FLORA                    UT          31015493873
4155786A755939   CHARLIE      JUIJALVA                 CA          90014478607
41558142A5B271   COREY        EDLIN                    KY          90014601420
4155839418B124   JOAN         ONEIL                    UT          90011733941
41558763A91569   JOHN         DOZIER                   NM          75038237630
4155891A55B222   ANNA         CISSELL                  KY          68060499105
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4155951612B27B   MARLON          ALEXIS MUNGUIA        DC          90010605161
4155B59892B899   SCOTT           PERRY                 ID          90001045989
4155B91A85B52B   VERONICA        SERRANO               NM          36042669108
4155B947161963   CRYSTAL         JOHNSON               CA          90013899471
4156185972B956   JIM             AVITIA                CA          90009108597
4156238848B165   GERARDO         GUTIERREZ             UT          90012553884
4156247755B271   PETER           EIDEN                 KY          90011294775
4156294855B222   TIFFANY         PALACZ                KY          90008209485
41562A2775B271   JERAMY          BARNETT               KY          90013020277
4156323765B271   VICTORIA        DRAKE                 KY          90005812376
4156326885B222   FELIPE          JESUS                 KY          90014152688
4156384115B174   SAMANTHA        ALLEN                 AR          23096438411
4156399314B271   MELISSA         TIETSORT              IA          27040809931
41564181A2B27B   ARNETTA         GREENE                DC          90011021810
41564973A5B222   PATRICIA        DAWSON                KY          90014189730
41564A15655939   JULIE           HER                   CA          90013130156
41565986972B36   LILIANA         SAUCEDO               CO          33080889869
41566214672B39   SAMUEL          VALENZUELA            CO          90012552146
4156663758B16B   DANEE           SO                    UT          90008346375
415668A155B53B   GERRI           VIGIL                 NM          35093148015
4156754435B53B   BRUNO           KREKLAU               NM          90011195443
4156859948B165   EDWARD          HAMILTON              UT          31071115994
4156864274B271   ROBERT          MORRIS                NE          90013176427
4156874A191394   ESPERANZA       RAQUEL                KS          90012937401
415687A9A71999   THOMAS          QUINTANA              CO          38084077090
4156882855B271   CLAYTON         SELLER                KY          90014868285
41568A58161967   AMINATA         JOHNNY                CA          46070010581
41569344372B36   MEPHISTOPELES   FOETUSGRUBBER         CO          90014703443
4156991845B58B   KRYSTAL         ZEPEDA                NM          90010329184
41569A96857159   LEAH            THOMPSON              VA          90002340968
4156B6A2291569   MARIA           CONTRERAS             TX          75065646022
4157113265597B   AUGUSTINE       ALVAREZ JR            CA          90015121326
41571167172B4B   PATRICK         ELKINS                CO          33045061671
4157135284B543   CHARES          MAMBULA               OK          90006503528
415713A5755982   RODRICK         RODRIGUEZ             CA          49097973057
41571576924B7B   JOSUE           DANIEL CASTRO         VA          90006665769
4157185865597B   RUBEN           LOPEZ                 CA          90013818586
41571A36491881   LEZLIE          CHATMAN               OK          90001870364
41571AA7461963   ENRIQUE         CASTRO                CA          46050180074
4157257565B271   JOSE            VALDEZ                KY          90006965756
415736A395B52B   PHILIP          HERRERA               NM          90006656039
4157419667B475   JAMERSON        MOSBY                 NC          90014191966
4157545A151383   LLENEE          POZO                  OH          66083814501
41576115974B97   STEVEN          MULLINS               OH          90014471159
4157623218B165   BARBRA          HIGGINS               UT          31032322321
4157632928B16B   LUIS ALBERTO    NAMUCHE               UT          90012213292
4157816114B23B   JEREMY          BISSELL               NE          26071101611
4157911188B16B   DEBRA           BARRETT               UT          90006531118
4157933415B174   ADAMS           MURE                  AR          90012543341
4157959655B52B   VALERIE         LOPEZ                 NM          90014715965
4157B1A277B646   ALEXANDER       AGUILAR               GA          90010941027
4157B9A1886478   RUSS            EVANS                 SC          90015229018
41581695785B26   JOHN            DOE                   FL          90015386957
41582741272B4B   ELIJAH          APODACA               CO          90012547412
4158285188B165   RAFAEL          ROBLES                UT          31008398518
41582A38951332   SCOTT           SMITH                 KY          90007160389
4158344465B53B   SMITH           MARIA                 NM          35077114446
4158357A291394   SAIL            ARITA                 KS          90009195702
4158367392B87B   RONALD          BOOTH                 ID          90008856739
415844A5471999   GERONIMO        JIRON                 CO          90013334054
4158676248B16B   JOHNATHAN       JAKE                  UT          90010787624
41586A5415597B   JOANNA          ZAMORA                CA          49059600541
41586AA3991569   PATRICIA        RAMIREZ               TX          90014900039
4158889788B16B   JASON           BAHNMILLER            UT          90010358978
4158956A24B271   STEWART         WEDERGREN             NE          90011875602
4158979225B271   HINES           DEMITRIES             KY          90010017922
4158B425572B4B   COLLEEN         CLARK                 CO          90013724255
4158B48618B567   DULCE           GARCIA                CA          90014094861
4158B59435B52B   DAVID           MASCARENAS            NM          90013305943
4158B827272B43   CASSIE          TATE                  CO          90007268272
4158B993384393   MELANIE         NOLAND                SC          90001579933
41591A5A293794   SIERRA          BROWN                 OH          90011130502
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415934AA34B543   JOHN          SMITH                   OK          90006084003
41595173A71999   JERRY         GRANDY                  CO          90007861730
41595849A93794   CHRISTINA     DARNELL                 OH          90009198490
41595A98A91394   JUAND         HENDERSON               KS          90014090980
41595AAA772B36   ARIANA        TORREZ                  CO          33050350007
4159623215B254   ALICIA        WARREN                  KY          68098202321
4159634925B58B   JOSH          SALAS                   NM          90004993492
41596471A55939   ANIBAL        REYES MELGAREJO         CA          90007944710
4159663545B264   TERRI         BURKS                   KY          90005886354
4159743537B475   PEGGY         HUDSON                  NC          90006964353
41597A78372B4B   NIA           ABIODUN                 CO          90014370783
41597A7A38B849   MAELANG       LUTAZR                  HI          90014820703
41598281A91547   MANUEL        GOMEZ                   TX          90013122810
4159935925B926   J APOLINAR    ARREOLA                 WA          90015463592
415993A3A2B27B   SAFWAN        WILSON                  DC          90008833030
4159979A38B165   JIM           LEMS                    UT          31011477903
4159B44722B87B   DANIEL        WILLIAMS                ID          41095494472
4159B66285B271   JENNIFER      MULLIGAN                KY          90011346628
4159BA17741294   CLINTON       BROWN                   PA          51037730177
415B1993591873   MAX           CUNNINGHAM              OK          90008289935
415B1A66A5597B   MARIA         CARLOS                  CA          90002770660
415B1A84461967   ANA           ANGEL                   CA          90014740844
415B39A5A5B53B   JAVIER        VALDEZ                  NM          90005659050
415B435125B53B   DOROTHY       RUIZ                    NM          90004493512
415B4883141294   BEVERLY       HARDRICK                PA          90006498831
415B4883A72B36   CARLOS        AYON                    CO          33026148830
415B5298761967   MARCIAL       KARINA                  CA          90006962987
415B5388671999   DANIEL        HAYWOOD                 CO          90003613886
415B54A695B222   HEATHER       WILCOX                  KY          90005234069
415B5512655939   LOPEZ         ADRIANA                 CA          90005785126
415B572A671946   SONJA         GARCIA                  CO          90006177206
415B5A8228B165   CRAIG         STEBBINS                UT          31061820822
415B62A4872B43   FELICIA       SUAZO                   CO          33045792048
415B651428B16B   TEENA         JEPPSON                 UT          90007435142
415B6799591394   ELENA         HERNANDEZ               KS          90013567995
415B6A65A51334   MICHAEL       FRITZ                   OH          90014600650
415B747515B58B   ADELAIDA      PENA                    NM          90014204751
415B7495A5597B   RICHARD       THONGKHAM               CA          90011484950
415B74A6693794   JESSICA       DOYLE                   OH          90001924066
415B7562A72B43   EMMANUEL      CAMPOS GARCIA           CO          90011965620
415B7812161963   DIANA         TAPIA                   CA          46068368121
415B7951655939   DIONNE        MYERS                   CA          49034419516
415B7A42872B4B   TRENA         PERRIN                  CO          90013310428
415B8368291569   JOSE          COLLINS                 TX          90009353682
415B853738B141   CAROLIN       METZGER                 UT          31089825373
415B8741572B36   ALFREDO       FIGUEROA                CO          33070377415
415B8773872B4B   TAE           BROCK                   CO          90009657738
415B88A1651336   QUINTON       CLAY                    OH          90010848016
415B912515B58B   CESAR         AVITIA                  NM          35060421251
415B9367171999   BYAN          MENDOZA                 CO          90010733671
415B959362B27B   JAMES         WILLIANS                VA          90015095936
415B9652672B43   KYLE          SETBACKEN               CO          33018026526
415B995418B165   LILIA         VIALLARREAL             UT          90010899541
415B9982A5B174   PEARL         GRIFFIN                 AR          90011329820
415BB195672B36   SHERWIN       LAVELLE                 CO          33090471956
415BB81475B271   ANGELA        BRYANT                  KY          90014868147
415BBA28161963   DINO          NEWINT                  CA          90007830281
415BBA52941294   NICOLAS       BRAVO                   PA          90003170529
4161121755B174   FELISHA       MOORE                   AR          90010112175
4161232955B52B   ADELSO        CANTE                   NM          36086863295
41613495672B43   CHANTELLE     GIBSON                  CO          90011604956
41613668A91988   DEISHA        JOINES                  NC          90011276680
41613912872B4B   NADINE        SANDOVAL                CO          33030369128
41614358A91569   DEL LA RIVA   CARLO                   TX          90013083580
41614817872B36   RICH          CASTRO                  CO          33008358178
4161572635B271   JACKIE        WOLFORD                 KY          90008757263
41615989A93794   JOHN          STANFORTH               OH          66082809890
41615A77291873   SHANTEL       BARNES                  OK          90009970772
416167A5572B36   ROBERTA       FIERRO                  CO          90014807055
416175A485B222   MAIRA         JIMENEZ MOLINA          KY          90013365048
4161777A95B58B   MACHELLE      GRACIA                  NM          35031497709
4161818545B52B   ALICIA        LEYBA                   NM          90015401854
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4161899642B27B   RAMON        THOMAS                   DC          90005949964
4161931A98B165   ALI          NELSON                   UT          31050843109
4161B138A71999   BETTY        SISNEROS                 CO          90012361380
4161B31855B52B   JORGE        QUEZADA                  NM          36016853185
4161B485161927   ZENEN        PONCIANO                 CA          90010864851
4161B489A4B271   MICHAEL      EISELE                   NE          27058084890
4161B593691569   LUCIANA      MONCLOA                  TX          90013295936
4161B9A667B475   WEDOLYN      JONES                    NC          90003319066
416211A272B27B   DARINDA      HOPKINS                  DC          90015281027
4162155543B356   HOPE         FREUND                   CO          90007975554
4162221528B125   JULIE        GARLICK                  UT          90009032152
4162241265B222   SHERA        FISHER                   KY          90013964126
4162352A672B36   JULIAN       PUENTE                   CO          90013225206
41623722A5B222   AMANDA       WOOD                     KY          68066867220
4162391275B58B   WILDA        TOLEDO                   NM          90010949127
416242A2872B4B   CESAR        IBARRA                   CO          90009142028
4162521962B27B   DAVID        NORWOOD                  DC          81016052196
41625429A91873   STEPHIN      BRYANT                   OK          90014724290
4162592655B222   RICQUITTA    JOHNSON                  KY          90014339265
41626AA955B53B   SHAUDALIN    POLLARD                  NM          90010920095
4162746548B165   CHELSEA      BAGULEY                  UT          90003634654
41627936972B4B   JORDAN       ROBINSON                 CO          90014829369
4162831215B271   TERANISHA    PERDUE                   KY          90012583121
41628628372B4B   LUIS         VASQUEZ                  CO          90005536283
41628A1A35B55B   MARIO        GOMEZ                    NM          90000900103
41628A2AA5B52B   CIPRIANA     JURADO                   NM          90012890200
41629332A2B27B   CHARLES      ANEKE                    DC          90001973320
4162942A485944   JOSE         AGUILAR                  KY          90008974204
4162957822B87B   ROBERT       RIVERA                   ID          90012965782
4162986188B16B   PATIENCE     IRIBAGIZA                UT          90002708618
41629A72851383   CARLA        BENSHOOF                 OH          90005640728
4162B27348B165   CARLOS       MARTINEZ                 UT          90013372734
4162B317291988   COURTINE     EUBANKS                  NC          90014613172
4162B58967B475   BRITTANY     PITTMAN                  NC          90013775896
4162B855A72B36   CHRIS        KING                     CO          33003518550
41631357572B35   RANDI        BRANTNER                 CO          90007583575
41632975A4B543   TEENA        LEWIS                    OK          90004549750
41632A92172B36   JOHN         ROMERO                   CO          33076690921
4163399195597B   VANESSA      AGUAYO                   CA          90014579919
4163418595B174   SOMARIE      ROSLON                   AR          90014241859
4163483A372B36   LEE          BAKER                    CO          90015338303
41634A8842B27B   TAQUAN       HOWIE                    DC          90014410884
4163626895B52B   IGNACIO      PINEDA                   NM          90007602689
4163629952B87B   DONNA        HOMER                    ID          41035142995
4163666A961963   ALAN         BROWN                    CA          46040796609
4163698494B52B   MARGARET     JACKSON                  OK          90007239849
4163783125B271   BRADLEY      DE LA TORRE              KY          90014868312
4163845435B58B   DEANNA       JUAREZ                   NM          90000604543
4163847642B87B   RICHARD      FORNOF                   ID          41020174764
41638664272B43   RIGOBERTO    SANCHEZ                  CO          90002716642
4163941485B174   TANISHA      STRICKLAND               AR          90011084148
41639946A71934   TANYA        ROBERTS                  CO          32029439460
4163996935B52B   EMMANUEL     MARTINEZ                 NM          90013319693
4163B927191988   JEMAR        BEULAH                   NC          90011279271
41641392A51336   GWEN         DELL                     OH          90010763920
41641A86593741   KEON         WORTHAM                  OH          90010550865
416422A2672B4B   LINO         MORA                     CO          90014102026
4164291175B52B   PEDRO LUIS   NAVARRO                  NM          36086789117
41642958A61963   RICK         REID                     CA          46046619580
416429A1631457   SHANN        WILLIAMS                 MO          90014739016
41642A58531457   SHANN        WILLIAMS                 MO          90000220585
416432A1855939   SARAH        WEAVER                   CA          90014162018
41643A6415B388   RANULFO      DELGADO                  OR          90008130641
416447A1191569   JULIA        RAMIREZ                  TX          75069237011
41645156A8B16B   MATTHEW      POLLOCK                  UT          90009131560
41645981A71999   MELINDA      BANUELOS                 CO          38086239810
4164672279155B   HILDA        VILLASANA                TX          75036717227
416467A5871999   BRENDA       DURAN                    CO          90000737058
41646A52A5B271   AMANDA       HADLEY                   KY          90013590520
4164731388B165   ANNALISA     LEATHERWOOD              UT          31044683138
41648A2295B929   NORMA        GOMEZ                    WA          90013000229
41648A5284B271   ROBERT       DOUGLAS                  NE          27040840528
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4164923528B16B   MICHAEL     RADER                     UT          31060112352
4164924895B271   DANNY       HART                      KY          68006832489
4164981A47B475   JOSHUA      REID                      NC          90009218104
4164B697172B43   KAYALA      AYALA                     CO          33045756971
4165137445B222   MELISSA     MEREDITH                  KY          90012353744
4165155254B569   BRITTANY    BONNER                    OK          90008875525
4165174925B52B   SONIA       MENDEZ                    NM          90002417492
416526A3661967   MICHAEL     RIOS                      CA          46019506036
416526A712B87B   ALYSSA      LANE                      ID          90014366071
4165314492B27B   ALICIA      JOHNSON                   DC          81047191449
4165342368B16B   MEGAN       FETZER                    UT          90007634236
41653662A5597B   RICHARD     LUCIO                     CA          49077866620
4165384885B222   LEIGH       CUMBEE                    KY          90007688488
4165429385B271   VALENCIA    TYSON                     KY          90003342938
41655741A5B58B   RAUL        ALVAREZ                   NM          35054787410
416563A7571999   TIFFANIE    SHAIN                     CO          90009623075
41656425572B4B   COLLEEN     CLARK                     CO          90013724255
4165642574B271   SHANNON     PRICE                     NE          27037474257
4165692375597B   LAQUISHA    FREEMAN                   CA          90014839237
41658166A61963   MIREYA      ROJAS                     CA          90003981660
4165819655B174   EDDIE       GILLIAM                   AR          90014241965
4165883415B271   LESLIE      PERRY                     KY          90014848341
41659659872B4B   TOM         JONES                     CO          90009806598
41659A3265B271   MICHAEL     GAGEL                     KY          90013020326
4165B196391549   TED         STRETMOYER                TX          75089741963
4165B224672B4B   MARIA       BLEA                      CO          90009782246
4165B335561967   PERLA       HERNANDEZ                 CA          46019063355
4165B423891569   JOEL        LOZANO                    TX          75016874238
4166115A15B174   R           JACKSON                   AR          23065241501
4166117A85B58B   FLOYD       VIGIL                     NM          90014701708
416624A425B271   VONTASIA    WOODS                     KY          90009074042
41662612A81639   VICTOR      SCHULTZE                  MO          90001846120
4166344715B271   MELISSA     DAVIS                     KY          68045854471
4166344745B174   CINDY       MAXWELL                   AR          23091154474
4166367125B52B   JAIME       MORALES                   NM          36091156712
41663A8625B222   TADD        MILLER                    KY          90013820862
4166453225B58B   OSCAR       SALAZAR                   NM          90014205322
4166492A371999   AUGUSTINE   TRUJILLO                  CO          90003179203
41664994A91394   LEDIS       MARTINEZ                  KS          90015309940
41665176272B43   ESCOBAR     MILTON                    CO          90012321762
4166519472B27B   KIMBERLY    CASTLEBERRY               DC          90010881947
4166526112B27B   PORTIA      WILLAMS                   VA          90014902611
41665314A91569   OLGA        HERRERA                   NM          75081903140
4166616446198B   JUAN        ORTIZ                     CA          90008041644
41666359372B4B   DANIEL      SANCHEZ                   CO          90010383593
416667A6172B28   WILLIAM     JOHNSON                   CO          90001507061
41667323A93794   BJ          MCEVOY                    OH          90008703230
41668793A71999   PEARL       PACHECO                   CO          38016197930
4166894925B53B   MICHAEL     BEGAY                     NM          90003869492
41668A9268B16B   SERGIO      LOPEZ                     UT          90013990926
416692A318B186   MARIA       RODRIGUEZ                 UT          90011832031
4166966355B174   USEBIO      HERNANDEZ                 AR          90003646635
4166992218B16B   CAROLINE    NAU                       UT          90012959221
4166B119874B97   SHAWNA      MULLINS                   OH          90014471198
4166B125591569   NORMA       SANCHEZ                   TX          90006751255
4166B2A155B174   BRANDY      ROBINSON                  AR          90014242015
4166B437477554   SANDRA      FINELLI                   NV          90013894374
416716A1591569   GERARDO     CADENA                    TX          90014716015
4167182585B52B   FERNANDO    MUNOZ-GARCIA              NM          36003018258
416718A6391888   ASHLEY      HALBERT                   OK          90014648063
4167246617B475   DEBBIE      STEELE                    NC          90002674661
41672869172B36   BRANDY      HARRISON                  CO          90010798691
4167365862B27B   FRANKLIN    ZELAYA                    VA          81038406586
416738A9472B36   JULIANE     GONZALES                  CO          90001288094
416739A934B271   CAROL       HERNANDEZ                 NE          27064569093
4167679A45B271   PAUL        EVANS                     KY          90014227904
4167782542B27B   WILLIAM     MANN                      DC          90014518254
41677A52622463   RAMON       SALINAS                    IL         90004820526
4167883A95B388   ARACELI     CONTRERAS                 OR          44003048309
4167959A75B53B   ANDREA      ORTIZ                     NM          90014675907
41679649572B36   COURTNEY    RICHO                     CO          90011926495
41679728172B4B   NACY        HERNADEZ                  CO          90011847281
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1930 of 2500


4167B12338B165   UTAHNA        WYASKATTE               UT          90012751233
4167B19215B53B   MATHEW        MCDERMOTT               NM          90013811921
4167B272A72B36   ARACELY       AMAYA                   CO          33078862720
4167B53AA91569   PEDRO         SAUCEDO                 TX          90011355300
41681135A4B271   GABRIANNA     MARTIN                  NE          27082341350
4168125725B58B   ERICA         GABALDON                NM          35023342572
4168172267B449   LISA          EDWARDS                 NC          11067187226
416822A8761967   LUCIA         MONTANO                 CA          46094872087
4168277195B53B   AMMANDA       CUNNINGHAM              NM          35071847719
41682A97471999   JULIA         SANDOVAL                CO          38002600974
4168316A872B36   JEFFERY       KENNEDY                 CO          33063731608
4168462744B271   DORIS         FOSTER                  IA          90010206274
4168497544B547   PEDRO         MARROQUIN               OK          90012419754
41684A17472B43   MICHAEL       FARMER                  CO          33092450174
4168538675B174   JUAN          HERRERA                 AR          90014243867
4168546152B87B   NICK          CLEVELAND               ID          90009324615
41685559A5B58B   PELE          COONSIS                 NM          90014205590
4168562A772B36   LORENA        CASTANEDA               CO          33024156207
4168564555B271   SARA          SANDOBAL                KY          90011296455
41685A93161963   LEAH          COOPER                  CA          46012120931
416876AA872B36   ADAM          CASEY                   CO          90014196008
41688488572B4B   FRANK         MARASA                  CO          33051364885
41688A52471999   MICHELLE      BOWMAN                  CO          90014480524
4168943A18B165   VELAINA       SHERWIN                 UT          31070874301
4168989935597B   MANUEL        MANCILL                 CA          49000568993
4168B59385597B   ANTONIO       RODRIGUEZ               CA          90009615938
4168B73345B58B   JANELLE       LEEWAY                  NM          90012477334
4169147755597B   ALICE         DEPUE                   CA          90008674775
4169181A47B475   JOSHUA        REID                    NC          90009218104
4169216612B87B   MICHAEL       HOBBS                   ID          90013841661
41692178172B36   MISAEL        LUEVANOS A              CO          33048781781
4169277388B16B   ALEX          MORENO                  UT          90012607738
4169459522B87B   KAYLEE        CIFUENTES               ID          90008765952
41694618372B43   SARABIA       FERNANDEZ               CO          33024666183
4169464355B388   MCCAIN        MOLLY                   OR          90010186435
4169536998B165   ALEXANDER     DAURELLE                UT          90010623699
4169573825B58B   JENNIFER      SEAWRIGHT               NM          35007467382
41696259372B4B   TERRENCE      OLDSON                  CO          33082972593
4169696165B271   CHRISTOPHER   PERKINS                 KY          90015139616
41696978672B43   BARAK         GLAUB                   CO          33093109786
41696A2124B271   RICARDO       LESSLEY                 NE          90007380212
4169782355B174   TAKIA         MARSHALL                AR          23064928235
4169796725B222   TABITHA       GOODSON                 KY          90015199672
4169827A491394   DIANN         VICKERS                 KS          90005322704
41698A2198B16B   VALDOMERO     TORRES`                 UT          31053130219
4169B5AA95B174   JERRY         PRINCE                  AR          90010335009
416B153A261963   ADRIAN        AMERSON                 CA          90015135302
416B158755B271   LARRY         ROBINSON                KY          90014685875
416B174925B52B   SONIA         MENDEZ                  NM          90002417492
416B19A8572B43   JASMINE       GUTIERREZ               CO          90013419085
416B2587371924   CATHERINE     CURTIS                  CO          32041335873
416B2A98772B36   TECKLA        SWEETWINE               CO          90010050987
416B348A791988   JERMY         GRENON                  NC          90011274807
416B34A6A5B222   SAMANTHA      WEST                    KY          90012784060
416B3916351334   RON           HARTLEY                 KY          90012529163
416B4114372B43   JOANNE        KENNEDY                 CO          90010221143
416B5274821622   AIDA          BRACERO                 OH          90015092748
416B534698B16B   ALEJANDRO     HERNANDEZ               UT          31046953469
416B53A1691394   GLORIA        VIVEROS                 KS          90013283016
416B551AA91873   NIXON         LOPEZ                   OK          21094025100
416B554825B222   CORA          FORD                    KY          90011335482
416B5616361967   MILES         WATANABE                CA          90015186163
416B5638A61963   SHARLENE      WALKER                  CA          90015306380
416B611A991988   LYDELL        GRIFFIN                 NC          90003701109
416B623355597B   ELIZABETH     PENA                    CA          90013602335
416B655547B262   JULIE         STEVENS                 NV          90014395554
416B72A3591873   JANELLE       JARCHOW                 OK          90011022035
416B7542455939   GERARDO       ALVAREZ                 CA          49019525424
416B7545A91988   SEMEKIA       TALYOR                  NC          90011275450
416B7AA447B475   TEVIN         REID                    NC          90012250044
416B8664271999   JOHN          DELAO                   CO          90002826642
416B8755872B4B   RANDY         MCCLELLAN               CO          90011937558
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416B885A493794   STACI            MCINTOSH             OH          90013648504
416B914A85B271   ANGELITA         POINDEXTER           KY          90008451408
416B93A2561967   JOSÉ             CUADROS              CA          46004443025
416BB37117B475   JOSH             ALLISON              NC          90013073711
416BB38A22B29B   ABRILLE          BYNUM                DC          90014723802
416BB438A72B43   STEVEN           PAYNE                CO          33052744380
416BB481561963   GINA             PEREZ                CA          46077304815
416BB852641258   LINDSY           DODDS                PA          90005648526
416BB964172B36   THERESA          GARNER               CO          33041999641
416BBA1A55B222   MARELYS          SILVA                KY          90006390105
41711183772B36   ALFREDO          FLOREZ               CO          90002331837
4171141555B53B   REFUGIO          MONTES               NM          90013654155
41713315A71999   MICHELLE         ARGUELLO             CO          90009503150
4171362738B165   KYLE             MARTIN               UT          90011186273
4171367AA2B921   GRISELDA         RABAGO               CA          90012526700
41714489A91873   ARIEL            DESMOND              OK          90014634890
41716675A5597B   TRICHELLE        ELLIS                CA          90014976750
417173A5A41294   JAMES            BROWN                PA          90006503050
41717556A72B43   KEVINIA          PICKFORD             CO          90014875560
4171855185B58B   MONICA           MIRANDA              NM          90009595518
4171865145599B   CARLOS           RUBIO RAMIRES        CA          90011006514
4171873682B27B   CARLETHA         CHEEKS               DC          90012837368
417194A115B52B   MARIA            MERCADO              NM          90012574011
417194A165B58B   LILA             CASIAS               NM          90008044016
417196A5691988   TRAYKIA          SLAYTON              NC          90014616056
4171B227561967   MARIA            ULLOA                CA          90013032275
4171B339591873   VELAZQUEZ        SOLO                 OK          90009473395
4171B44892B87B   STEPHANIE        JOHNSTON             ID          41015604489
4171B62283B394   AMANDA           VALVERDE             CO          90015266228
4171B87494B271   ERIC             CHRISMAN             NE          27005558749
4171BA5395B222   VICKIE           BRYANT               KY          90011170539
417217A4991873   LACEY            ANTWINE              OK          90009427049
417218A3A2B27B   ARICK            FOSTER               DC          90012518030
4172249814B271   MEGAN            ROLLINS              IA          27015294981
4172258635B58B   FRANCISCO        GARCIA               NM          90001245863
4172386425597B   ANGEL            JAIMES               CA          90002708642
4172413765B222   SEANTRICE        PERRY                KY          90007061376
4172467518B16B   GARY             MARCOTTE             UT          90012066751
4172494445B53B   PATRICIA         SILVA                NM          35070819444
417249A472B87B   BRANDI           VANCLEAVE            ID          90002279047
417263A1771921   CHERYL           VELDEZ               CO          90013743017
4172641965B271   KEITH            SAVAGE               KY          90011604196
4172682975B222   HANNAH           WILLIAMS             KY          90014138297
41726A47672B43   TAMARA           WILSINSON            CO          90010120476
41726A7A891394   SARAH            KALIVODA             KS          29084390708
41727A89A5B52B   C1979HRISTOPER   CARRILLO             NM          90013880890
4172926897B475   REGINA           HUNTER               NC          90004642689
4172969AA5B58B   DAPHNE           PADILLA              NM          90007426900
4172B133A72B4B   SABRINA          RIVALI               CO          90010621330
4172B53895B52B   ROBERTO          MONAREZ              NM          90003565389
4172B57465B271   CYNTHIA          SANDERS              KY          90013385746
4173136515B222   ELEXIS           JOHNSON              KY          90010973651
4173139A291988   STEVIE           HAMBURGER            NC          90014273902
4173143215B271   GAYLE            SPENCE               KY          68011764321
4173172155B52B   VICENT MECA      GARCIA               NM          90005767215
41731868A5597B   MARIO            RAMIREZ              CA          90014818680
41734237272B36   KEVIN            MURRAY               CO          90014062372
41734564872B32   STEPHANIE        MARTINEZ             CO          90010275648
4173493685B58B   AUGIE            LUCERO               NM          90009929368
41734A86271999   CANDISE          ROBINSON             CO          90011340862
41734A9517B475   APRIL            LIPSCOMB             NC          90014200951
4173595784B271   NATASHA          PALMER               NE          90010049578
4173727825B271   LINDA            FAULKNER             KY          90012052782
4173996A651334   JERRY            MCCARTY              OH          90013999606
4173B616351383   ALISHIA          TORRES               OH          66093186163
4174229397B475   MARGARET         PAYTON               NC          90010142939
41742A93792825   MARA             MEZA                 AZ          90014480937
4174311372B27B   JACQUELINE       DOBIE                DC          90015311137
4174374592B27B   CORTISHA         MOORE                DC          90012837459
41743A5A85B58B   MILYSSA          CHINO                NM          90012470508
417443A7881639   CHARLES          MCABEE               MO          29089313078
41744A1798B165   NATASHA          ELANDER              UT          31041420179
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41744A6A441294   LARA         GANS                     PA          90004230604
4174558498B16B   ISIDRA       MARTINEZ                 UT          90012155849
41746A5A85B58B   MILYSSA      CHINO                    NM          90012470508
41747255172B36   OFELIA       FERNANDEZ                CO          33030242551
4174771878B165   BRITTANY     BAKER                    UT          90009427187
4174778794B271   RICHARD      WILLIAMS                 NE          90012937879
41747AA8241294   MARC         REED                     PA          90012060082
4174836665B222   DANIEL       FRAZIER                  KY          90015303666
417487A3591569   GUADALUPE    PEREZ                    NM          75077717035
41748A23A5B174   RICKY        DAVIS                    AR          90011880230
4174911662B27B   DREW         SHUMANN                  VA          90012141166
41749697172B43   KAYALA       AYALA                    CO          33045756971
4174B58745B53B   RUDY         GURULE                   NM          90013285874
4174B5A9231481   SONIA        OWENS                    MO          90006335092
4174B63A461967   AIOTEST1     DONOTTOUCH               CA          90015116304
4174BA1355B58B   CECILIA      SALDANA                  NM          35025780135
4175118AA61967   JUAN         HERNANDEZ                CA          46063611800
417512A1391394   THOMAS       NICOSKI                  KS          90015482013
417512A8372B36   PATRICIA     THOMPSON                 CO          90015332083
4175154365B222   SHERIAL      WHITE                    KY          90011365436
41753291772B43   JASMINE      RUSSELL                  CO          90000132917
4175349915B222   COREY        CONLEY                   KY          90009994991
41754356672B43   VICTORIA     MNUSHKIMA                CO          90014563566
4175477114B546   RACHEL       MANLEY                   OK          90011187711
4175553582B84B   ALI          MUHMUD                   ID          90014515358
4175562525B271   DAVID        HAYES                    KY          90013386252
4175683315597B   SERGIO       HEREDIA                  CA          49017188331
4175698A354151   NANELL       CLARK                    OR          90012479803
41756A29A71999   DENISE       RODRIGUEZ                CO          90011800290
41756A58872B36   MARYANN      RYAN                     CO          90012090588
4175728A391988   RUDY         CASTRO                   NC          90013232803
41757481472B4B   ALEX         GARCIA                   CO          90010744814
4175758915B271   VERONNIE     GRAVEL                   KY          90013265891
4175761225597B   LAURA        ZAVALA                   CA          90014746122
417577A7591394   SARA         LIRA                     KS          90000897075
41757965A31664   APRIL        THOMPSON                 KS          90005449650
41758132772B43   APRIL        ANDERSON                 CO          90004001327
417589A498B16B   DAVID        BROWN                    UT          90014449049
41759541472B36   DAMION       TRUJILLO                 CO          90012295414
4175993215B53B   SILVIA       CORONADO                 NM          35041259321
41759A3454B271   LATASHA      JACKSON                  NE          27098570345
4175B177A71999   NIKI         GARCIA                   CO          90012561770
4175B36235B53B   ANAHI        MUNOZ                    NM          90010723623
4175B71575B53B   ZALLEY       MUNOZ                    NM          90000127157
4176126A85B222   BLUE         DEVIL                    KY          90014872608
4176263A75B53B   FLORENTINO   IBARRA-VELARDE           NM          90009716307
4176349A391988   GARRY        MARSHALL                 NC          90013374903
4176373415B53B   MONICA       PONCE'SEIDLLO            TX          35044817341
4176473365B52B   LUIS         ORTEGA                   NM          36090787336
4176588648B16B   TUUTAU       MALIA                    UT          31039548864
41766438A72B36   JAVIER       PADILLA                  CO          90013574380
4176661535B52B   BENITO       MARTINEZ                 NM          90006076153
417669A8891569   ARTURO       GONZALEZ                 NM          90009559088
41768A8267B399   JENAN        SAFI                     VA          90013150826
41769235A91394   JACKY        VARELA                   KS          90015132350
4176929355B926   VERONICA     CIBRIAN                  WA          90015452935
41769A8655B58B   MARIO        GONZALEZ                 NM          90010290865
4176B114A3B356   SUNEIBY      CASTILLO                 CO          90006571140
4176B78A95597B   TRINIDAD     RIVERA                   CA          49060597809
4177184A45597B   DONNELLE     FROST                    CA          49073478404
417719A5572B43   LUIS         CRUZ                     CO          90013419055
4177252815B271   JESSICA      SKAGGS                   KY          90011455281
4177255884B271   MELISSA      THOMPSON                 NE          90002215588
4177368778B181   VERONICA     RAMIREZ                  UT          90008356877
417742A235B174   ASHLEY       WILLIAMS                 AR          90011642023
41774458A8B16B   SUMMER       WILLIAMS                 UT          90008364580
4177552764B271   JOHN         WILLIAMS                 NE          27033275276
4177637265B52B   CAITLAN      SANCHEZ                  NM          90012743726
41776576572B4B   NORMA        MARTINEZ                 CO          33080755765
4177686258B165   ROSA         GONZALEZ                 UT          90014908625
417776A262B879   NATHON       BOUSQUET                 ID          90011666026
4177775125B222   VICTORIA     COLE                     KY          90014007512
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41777927372B4B   ROCIO        REYES                    CO          33015579273
4177853575597B   KENNETH      GARCIA                   CA          90010005357
4177861925B271   JAMES        HAMILTON JR              KY          90009076192
417788A997122B   PAYGO        IVR ACTIVATION           IA          90012728099
41779548272B36   EDWARD       GOODMAN                  CO          33035055482
4177996A361995   ALEJANDRO    ESQUIVEL                 CA          90011099603
4177B288471999   ALVINO       MAES                     CO          90014822884
4177B63498B165   GRANT        MCDONALD                 UT          31039436349
4177B842651334   THERESA      BROWN-LOCKETT            OH          90011638426
4177B95165B53B   ROY          PADILLA                  NM          90011489516
417814A9572462   ERIC         KEEFER                   PA          51001374095
41781682472B43   JEFFREY      VANVELKINSBURGH          CO          33069776824
4178177488B16B   ANGELA       HARVEY                   UT          31063047748
41781A2542B87B   KIM          VERNON                   ID          41007170254
41781A35272B36   DENVER       SMITH                    CO          33044920352
41782223272B43   JOSE         BERNARDO CORCHADO        CO          90010542232
417822A635B53B   STACEY       COREY                    NM          90013662063
4178288474B541   STEPHANIE    DEMEL                    OK          90015118847
41782A4855B52B   SABINA       PENA LUJAN               NM          36096090485
4178311468B16B   JOSEPH       FRANK                    UT          90012271146
4178319672B87B   JEREMY       HASKINS                  ID          90015131967
4178374924B271   LORETTA      OWENS                    NE          90014767492
417839AA372B36   JOSEF        ORTEGA                   CO          90012679003
4178439575B52B   IDANIA       GARDEA                   NM          90013863957
417844A6693794   JESSICA      DOYLE                    OH          90001924066
4178521585B271   KELLI        HAMPTON                  KY          90014602158
41785232772B43   NELSON       ROJAS                    CO          33004422327
41786A62191569   EDDIA        ENRIQUEZ                 TX          90013980621
4178759414B271   NIK          GEPFORD                  NE          27041225941
4178775442B87B   JACOB        CLARK                    ID          90014047544
417881A515B174   JOSE         ARREDONDO                AR          90013601051
4178878215B52B   YOLANDA      TENA                     NM          90011577821
417892AA15B174   JIMMY        JOHN                     AR          90007272001
4178997552B27B   ROSE         BYRD                     DC          90009319755
4178B57A991569   HAIDE        URDAIBAY FERNANDEZ       TX          90015285709
4178B64582B87B   JOSEPH       HOLLAND                  ID          90011916458
4178B714871999   SEAN         WAGERS                   CO          90005037148
4179142A65B58B   RICARDO      RUIZ                     NM          90014214206
4179187AA61967   ANITA        WARD                     CA          90009868700
41792375276B59   DIEGO        LUNA                     CA          46005953752
4179263394B271   OSHNAH       HARRIS                   NE          90010176339
4179268717B475   PHILLIP      BROWN                    NC          90008246871
41792A95A7B666   ALETA        JILCHRIST                GA          90013910950
41793559972B4B   MARIA        CARRILLO                 CO          90013185599
4179359785B58B   JAMIE        MATTHEWS                 NM          90009595978
41793713172B4B   CAROL        MONDRAGON                CO          33079577131
4179389897B362   ANA          MEJIA                    VA          81036588989
4179492912B27B   AKEELA       JONHSON                  DC          90014719291
41794993A5B58B   LILLIANA     RODRIGUEZ                NM          35023049930
41795195A55939   DEVIN        CHERRY                   CA          90013131950
4179539A433662   DEVON        WILLIAMS                 NC          90005973904
4179568A271999   MARLENE      LOPEZ                    CO          90012676802
4179678695B58B   RAUL         CORTES                   NM          90005537869
41797358472B36   PAUL         MORALES                  CO          33051193584
4179787212B87B   ALYSSA       SCHULZ                   ID          90014088721
4179844555B53B   GUILLERMIN   VENEGAS                  NM          35079304455
4179878655B174   ZANQUISHA    FOLEY                    AR          90014887865
41798A27A71999   JOSH         MCDANIEL                 CO          90008390270
41798A5347B475   KATHERINE    CHRISTY                  NC          90010980534
417991A6991394   KANYCE       JORDAN                   KS          90008351069
417992A2555939   SYLVIA       GARCIA                   CA          90013132025
4179B576772B24   TINA         TOLEDO                   CO          90012435767
417B1494891394   DIANA        SILVA                    KS          90015034948
417B2459A5B174   ANITA        ADAMS                    AR          90012144590
417B2A46461963   GUADALUPE    MARTINEZ                 CA          90011670464
417B3258872B43   VIRGINIA     L CONNELL                CO          90006982588
417B366515B271   DEBORAH      RANDALL                  KY          90011296651
417B3A51A5B174   ROOSEVELT    WILSON                   AR          90012670510
417B424A25B271   RENEE        SHERLEY                  KY          90014242402
417B459114B271   CECIL        WORKMAN                  NE          90013865911
417B471445B222   TONIA        ARMSTRONG                KY          90014767144
417B486988B165   DAVID        COLEMAN                  UT          31067718698
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417B5225181639   ELIAS        DIAS                     MO          90006832251
417B575724B271   LAURA        RODRIGUEZ                NE          90009687572
417B6141972B4B   WENDY        LOPEZ                    CO          90001811419
417B6462391394   BRYIAN       ALEXANDER                MO          29054814623
417B7577691569   CHRISTIAN    CAZARES                  TX          90013685776
417B768A25B52B   PATRICA      VILLEGAS                 NM          90013926802
417B777538B165   NOEMI        MARTINEZ                 UT          90004787753
417B8525A93794   ZACH         HANSFORD                 OH          90013165250
417B8983A55939   APRIL        HANDY                    CA          90014869830
417B941555B53B   REFUGIO      MONTES                   NM          90013654155
417B9594755939   ISRRAEL      SOTO                     CA          90013125947
417B986792B27B   URSULA       EDMONDS                  DC          90007058679
417BB44135597B   ERIKA        TORRES                   CA          90013094413
417BB53748B16B   JOSHUA       PORTER                   UT          90008435374
417BB842361956   MIGUEL       DELATORRE                CA          90007688423
41811325A2B87B   PAYGO        IVR ACTIVATION           ID          90011043250
41812281572B4B   BRANDON      CROPPER                  CO          90012482815
41812A41A5B271   CRYSTAL      RAINEY                   KY          90012110410
4181355798B16B   PASCUAL      GOMEZ                    UT          90009015579
4181412457B475   LOTTIE       CUNNINGHAM               NC          90008251245
4181439715B52B   HENRY        LOVATO                   NM          90011243971
41814524172B28   JEREMIAH     STANFIELD                CO          33028985241
41814598372B36   MCKAULY      MALONE                   CO          90011995983
4181589A75597B   CHET         ALCORN                   CA          90015068907
4181623768B151   HERMELINDA   SAAVEDRA                 UT          31081292376
41816A13272B36   JOHN         ANDERSON                 CO          90015010132
41817826972B36   GINA         ORTIZ                    CO          33019698269
418179A9A8433B   NANCY        DAMIAN HERIDIA           SC          90012319090
41817A94255939   MONIQUE      VILLA                    CA          90010320942
4181822AA5B52B   RUTH         DUARTE                   NM          90014742200
4181941915B222   JUAN         ORTEZ                    KY          90007754191
4181966A25B271   WILLIAM      REECE                    KY          90012576602
4181B97298B165   KERRI        FRANCOM                  UT          31041979729
4181B9A6971934   VIOLA        GOBEA                    CO          32096989069
4182117125B271   DEWAYNE      TROTTER                  KY          90013341712
41821A9413B356   NATHANAEL    SOUTHARD                 CO          33065560941
4182324A35B271   RAMONA       SAMON GONZALEZ           KY          90013932403
41823A14461963   MIGUEL       HEREDIA                  CA          90013260144
4182417A291873   DENISE       GONZALZE                 OK          90010321702
4182453385B58B   SANDRA       BACA                     NM          35009835338
418245A9A8B165   BRUCE        MURDOCK                  UT          90004325090
4182542425B264   SHARRON      SALES                    KY          68077844242
41825A5138B165   MIKE         JENSEN                   UT          31038020513
4182612425B222   ANGELA       CARR                     KY          90013851242
41827521772B4B   VICTORIA     HINOJOS                  CO          90013435217
41827829A33626   MIGUEL       PATRICI                  NC          90012838290
4182785642B87B   JOHNNY       AUSTIN                   ID          41063558564
41827A6425593B   THOMAS       HARRIS                   CA          90013000642
4182831484B955   KIZZY        JONES                    TX          90014153148
4182838222B27B   BATBAATAR    TEGSHJOJOD               VA          90012723822
4182B456931457   JEFF         PUDLOWSKI                MO          90005954569
41831185A71934   JAMES        JARAMILLO                CO          32009331850
4183119955B53B   AMY          ANDERSON                 NM          90014971995
4183121727B475   VALERIE      JORDAN                   NC          90014722172
418314A975B271   KENNEITHIA   MILES                    KY          90012664097
4183172725B174   TONY         PHILLIPS                 AR          23046247272
4183173854B271   PAVLINA      CARRILOO                 NE          90009327385
4183197A261967   DANIEL       ROSS                     CA          90009869702
41832899A61963   CARLOS       ROJAS                    CA          46098028990
4183334525B52B   YOLANDA      MORENO                   NM          90012753452
418338A2591569   GABRIEL      HORTA                    TX          90014868025
4183393595597B   TY           ANDERSON                 CA          90014839359
41833AA2A91394   MICHAEL      NORTON                   KS          90015180020
418346AA15597B   ROSALINDA    OROZCO                   CA          90011346001
4183489638B16B   TRENT        PETERSON                 UT          31094298963
41835235772B36   MAURICE      JORDAN                   CO          90012212357
418352A1755939   LAURA        VAZQUEZ                  CA          90015052017
418371A3961967   VICTOR       GARCIA                   CA          90002531039
4183768864B546   DERRICK      MCKNIGHT                 OK          90013806886
4183B23395B52B   DINA         RAMIREZ                  NM          90005182339
4183B258A71999   BENJAMIN     ORTIZ                    CO          38022452580
4183B315891873   DAVONNA      TYSON                    OK          90014343158
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4183B45682B87B   LARRY           YORK                  ID          90013394568
4183B51478B16B   LACEY           NIXON                 UT          31051385147
4183B699A47954   MEGAN           MORGANFLASH           AR          25029666990
4184186922B27B   VANESSA         WILSON                DC          90009318692
41841A74572B43   JOSE            JUAREZ                CO          90013410745
4184215A261967   ERIKA           AMEL                  CA          46067721502
41842495A55939   AMY             RICHARD               CA          90014464950
41842621A91569   VIANEY          SAMANIEGO             TX          90013646210
41842696972B4B   JOE             ENGELBRECHT           CO          33035496969
4184363A461967   AIOTEST1        DONOTTOUCH            CA          90015116304
4184393A291988   MARLON          CERON                 NC          90015149302
4184457A891394   GLADIS          MARTINEZ              KS          90011945708
4184594732B828   CHRYSTAL        MEDRANO               ID          90004089473
4184661387B475   ALICIA          CASELLI               NC          90014736138
4184693A691873   THOMAS          HANSEN                OK          90012149306
4184719955B52B   MANUEL          VILLANUEVA            NM          90003091995
41847362A51334   MICHELLE        SHAW                  OH          90011413620
418477A7551334   SUSAN           SCHORSCH              OH          90011857075
41848535572B54   BILLY           GRAHAM                CO          90004835355
418489A295B52B   ANDREW          VILLA                 NM          90004229029
418491A3671999   GUSTAVO         MARES                 CO          90012781036
4184936A851383   ADINA           KIMBLE                OH          66004673608
4184984A55B271   MATTHEW         CAMPBELL              KY          90011298405
418498A9A91374   MISS BRILLANT   SPECIAL               KS          90009838090
41849A1A191873   JERRICA         SMITH                 OK          90010110101
4184B419291988   TIERRA          MARSHALL              NC          90014654192
4184B539A4B271   JENNIFER        GUARDADO              IA          90014265390
4184B6A8451334   YONY            RAMIREZ               OH          90007426084
4184B84A38B165   NEUPANE         GANGA                 UT          90012088403
4185169745B174   TAMMY           NORTON                AR          90001106974
41851A47571999   BELDON          TINNEY                CO          90012310475
41852214472B36   LUCKE           DRISCLL               CO          90012362144
4185236284B271   ARIANA          SEALS                 NE          90011443628
4185257A18B16B   JAY             LUNA                  UT          31048605701
4185259315B271   LINDA           ELDER                 KY          90000145931
4185283255B174   CARLETAH        BUNTING               AR          90012578325
41852A32291394   SIDNEE          WRIGHT                KS          90012670322
4185387A255939   SILVIA          GONZALEZ              CA          90014478702
4185459438B16B   AURA            MURALLES              UT          31006465943
41854668172B36   WELLS           SYLVIA                CO          33070946681
4185492A157549   JAMES           ONEIL                 NM          90008709201
41854A86391569   LIRIA           RUFFIER               TX          90004020863
41855448A61963   ROSALINA        RODRIGUEZ             CA          90012744480
4185571425B53B   GARCIA          ATILANO               NM          35095137142
4185632358B16B   SAVANNAH        MAUGER                UT          90008533235
4185669595B271   CECE            GORE                  KY          90007136959
4185681A593794   EDWIN           CRONE                 OH          90013238105
41857644572B4B   COLLEEN         ROTH                  CO          33064706445
41858A41861963   STANLEY         MORRIS                CA          46070250418
418596A918B165   TIMOTHY         DYER                  UT          90013656091
41859A7564B271   LORRAINE        ANDERSON              NE          90006040756
4185B414272B36   KARINA          RIVERA                CO          90013794142
4185B533591394   VICENTE         MOLINA                KS          90013295335
4185B81392B27B   ROBERTO         ESCOBAR               DC          90011678139
41861113872B4B   MANUEL          TORRES                CO          90012241138
41861984772B36   JUSTIN          BOM                   CO          90014769847
418628A5291992   DEEDEE          JACKSON               NC          90002798052
4186314158B165   SARA            LOPEZ                 UT          31023871415
4186393165B53B   BARBARA         SURBEY                NM          90001579316
41864239472B36   LISA            THOMSEN               CO          90006102394
4186458455B53B   KEITH           MCGAVOCK              NM          90009655845
41865A6712B87B   DEANNA          CAVIEZEL              ID          41080820671
41866295472B36   MICHAEL         PLASENCIA             CO          90012202954
4186783548B165   ANA             ROBLES                UT          90011768354
41868263A91569   CHRIS           MELINIOTIS            TX          75029802630
4186969885B52B   OSCAR           RUIZ CASAS            NM          90013546988
41869786472B39   ANABEL          LARA                  CO          90009707864
41869A3868B16B   CRISTINA        SANTOS                UT          90011500386
4186B47515597B   JESSICA         JIMENEZ               CA          90013894751
4186B596A4B271   MICHELLE        MOORE                 NE          90005075960
4186B643193794   SCARLETT        HILTON                OH          90013516431
4186B86284B271   GUILLERMO       FLORES TREJO          NE          27023438628
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41871A1175B58B   SHIRLEY         HIELO                 NM          35005970117
4187297778B16B   WHITNEY         JOHNSON               UT          31012909777
41872A7795B58B   DEE             BANCROFT              NM          90012470779
4187343897B694   THOMAS          NICOLSON              GA          90010574389
41873924872B36   ERIKA           ORONA                 CO          33046409248
41874836272B36   LISBETH         RAMIREZ               CO          33051578362
4187543A872B4B   OSCAR           ANGUIANO              CO          90013094308
4187543A95B53B   JAKE            MCIVER                NM          90013654309
418757A9141294   CYNTHIA         WARREN                PA          51055907091
41876A3917B475   SHAVONDA        GREEN                 NC          11025680391
41877594872B43   ARCINIEGA       MARTIN                CO          33097455948
4187844125B53B   VANESSA         BUSTILLOS             NM          90003714412
4187852965B58B   YESSENIA        LOPEZ                 NM          90010695296
4187881117B475   CARLOS          MERCADO               NC          11087828111
4187884A75B271   PICK            JONES                 KY          90009078407
4187888655597B   FRANCISCO       MORENO                CA          90000298865
4187932865B271   LEQUITA         RODRIQUEZ             KY          68059523286
41879656172B4B   SOFIA           CASTILLO              CO          33036986561
4187B16A45B58B   MANUEL          LOGNA                 NM          90000621604
4187B434572B51   JASON           MONZON                CO          90014754345
4187B542791988   KAYRA           COOPER                NC          90014655427
4188122625597B   GUADALUPE       VARGAS                CA          90014022262
41881399A93794   NATAASHA        CANNON                OH          90010103990
418826A958B16B   BEVERLY         DURAN                 UT          90008366095
4188331155B271   DAVID           PARKER                KY          90013853115
4188351667B475   MARLINA         WILKINS               NC          90011605166
41883844872B43   ANGEL           DURAN                 CO          33087898448
41883A38671999   ANGELIQUA       CHAVEZ                CO          38098730386
4188455798B16B   PASCUAL         GOMEZ                 UT          90009015579
4188475A95B53B   ERICA           REYNA                 NM          35001117509
418848A948B165   FREDY           MELCHOR               UT          90013318094
4188688234B547   LUELLA          JOHNSON               OK          90008988823
41888441A61963   ESTELA          DOMINQUEZ             CA          90014804410
41888629472B4B   YOLANDA         BARRIENTOS            CO          90012266294
4188863265B174   DANIELLE M      CARRINGTON            AR          90010356326
4188896344B271   DIOSDADA        GRAHAM                IA          90012169634
41889433172B43   MARGARITA       CASTANEDA             CO          33057954331
4188973565B52B   BERTHA          CHANES                NM          90013967356
4188B5A925B52B   JULIAN          MEDRANO               NM          90013395092
4188B84A13162B   BRITTANY        HALL                  KS          90007518401
4188B891255939   ROSA            GUZAM                 CA          90014618912
4189248277B475   ALESIA          EUART                 NC          90008084827
4189342635597B   IVONNE          GARCIA                CA          90011094263
41893536572B43   HAYLEY          FIGUEROA              CO          90012145365
418952A3172B22   OMAR            CASILLAS              CO          33038762031
4189545435B174   CHARNETTE       SMITH                 AR          90015054543
4189697124B271   A               WILSON                NE          90014279712
4189732428B14B   ISABEL          EGAS                  UT          90007273242
4189821AA5B174   MICHAEL         CANADA                AR          90014252100
4189825A62B87B   KENRIC          KARNS                 ID          90012182506
41898631A91569   DANIELA         GONZALEZ              TX          90010816310
4189912915B58B   MELANIE         COTTER                NM          35039371291
4189B38195B222   AMBER           HOLLAND               KY          90004303819
4189B447291569   ROSA            GUTIERREZ             TX          90013294472
4189B472771999   SHAWNA          VIGIL                 CO          38056704727
418B127965B52B   ANDREA          ARCHULETA             NM          90010712796
418B1481251334   MARIE           BRANTLY               OH          90007524812
418B157634B592   SHALETHA        GILBERT               OK          90006855763
418B1A37155939   DAVID           HARVEY                CA          49038050371
418B1A7275B58B   DIANA MARCELA   GARCIA                NM          90012470727
418B2A3665B271   COLBERT         RALPH                 KY          90011200366
418B3324671999   GEORGE          YACCARINO             CO          90012263246
418B3364472B43   TAMMIE          FIELDS                CO          90002283644
418B375615B52B   MERCEDES        LUEVANO               NM          90013057561
418B381A591394   CLAUDIA         LEE                   KS          90000428105
418B436298B16B   VALARIE         WILLIAMS              UT          90012613629
418B5341991873   CHRISTINA       IVEY                  OK          21092993419
418B573485B222   LACIE           WARREN                KY          68072677348
418B585382B27B   HENRY           DUDLEY                DC          90008878538
418B6347371999   BOBBIE          HAVENS                CO          90010853473
418B649A391873   SOLOMON         SMITH                 OK          21040574903
418B6515291569   AMANDA          OLIVAREZ              TX          90014075152
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418B671A55B52B   ERNESTO           HOLGUIN MORALES     NM          36025987105
418B69A3161967   JOSE              CONTRERAS           CA          90009869031
418B6A22A2B87B   CHERYL            GOOD                ID          90010900220
418B725415B271   RICHARD           FORREST             KY          68060252541
418B747493B37B   THOMAS            MEE                 CO          33073604749
418B754AA72B43   DEBORAH           ROJAS               CO          90006385400
418B7823791569   ADRIAN            CONTRERAS           TX          75086648237
418B796657B399   DIANA             KOYAMA              VA          90000289665
418B8148861996   ROBERT            R REYES             CA          46009641488
418B8319751334   FRANCISCO         CASTRO              OH          66075873197
418B8429A55939   JOELINA           SOLIZ               CA          90010214290
418B84A165B52B   DAVID             TAPIA               NM          36090284016
418B8558A91873   LACEY             HILLHOUSE           OK          90005315580
418B9553A93752   JASON             FERRIS              OH          90009295530
418B9894272B4B   NANCY             ILG                 CO          33078068942
418B9995A5B52B   JOSEPH            TRUJILLO            NM          90006719950
418B99A6591394   JULIO             IGLESIAS            KS          90015169065
418BB259291988   RICARDO ANTONIO   ARGUETA             NC          90012492592
418BB435871999   RANDY             JONES               CO          90006094358
418BBA22A2B87B   CHERYL            GOOD                ID          90010900220
4191148335B53B   KARLA             ORNELAS             NM          90015104833
4191157A75597B   MARY              HICKS               CA          49076455707
4191178A58B16B   TONYA             BOYER               UT          90014317805
4191195922B27B   CHRISTINE         NEWMAN              DC          90003319592
4191213945597B   JESSICA           GOMEZ               CA          90011951394
419124A5A72B4B   CASEY             JABLONSKI           CO          33011874050
4191292787B475   MICHELLE          FISHER              NC          11007399278
41913A2542B87B   KIM               VERNON              ID          41007170254
41913A6825B271   LESTER            WASHINGTON JR       KY          68024030682
41914438772B36   PEDRO             CASTANEDA           CO          90010714387
419161A838B849   JASMINE           NAU                 HI          90014401083
4191649765B271   DON               FARRIS              KY          68053034976
4191673235B53B   GRISELDA          VARGAS              NM          35031217323
41916A14191394   ALEJANDRO         MARTINEZ            KS          90012560141
41916A62191569   EDDIA             ENRIQUEZ            TX          90013980621
41917278A72491   TRACY             LANE                PA          90013402780
41917A2A62B87B   WALTER            NELSON              ID          41000460206
41917AAA371934   KURTIS            SALENY              CO          90006270003
41918689833B55   BRENT             JARZAB              OH          90015396898
419192A9781639   SEAN              POSTPICHAL          MO          90003102097
4191964348433B   MIGUEL            CERON               SC          90012956434
41919686A55999   JUAN              RANGEL              CA          90008746860
4191B198971999   ROBERTO           RAYA                CO          38008341989
4191B251A41294   MICHELLE          BLAIR               PA          90001052510
4191B318691569   JESUS             ARROLLO             TX          90003953186
41921349A2B87B   GINGER            OSTROWSKI           ID          90004733490
4192184145597B   MAYRA             COSSIO              CA          90012838414
4192271422B27B   ALICE             JOHNSON             DC          81056267142
41922A61A72B36   SONIA             VITAL               CO          33083060610
4192344678B165   STEVEN            BUSHNELL            UT          90014604467
41923911A91988   ANDREW            JONES               NC          90014659110
41924131A91873   MORA              GERARDO             OK          21034331310
419245A6861963   DANIEL            CELAYA              CA          90015195068
4192478415B174   MARGARITA         MONTIEL             AR          23093607841
4192533852B87B   BRANDON           BEACH               ID          90006363385
419257A899373B   JEANETTE          MCCOWN              OH          90012927089
4192582492B264   JAIME             SANCHEZ ESCOBAR     DC          90012468249
4192618588B16B   SKLYLER           CHIDESTER           UT          90011711858
4192735863B351   VERONICA          DEJOIE              CO          33044273586
41927557772B43   CASEY             D                   CO          90014875577
419275A512B27B   KEYONA            JOHNSON             DC          90014965051
41927A39A91569   JOANA             VARELAS             TX          90006860390
4192824725B174   ALEXANDRIA        COVINGTON           AR          90014252472
4192915935597B   ASHLEY            XAYCHAREUN          CA          49002921593
41929274776B48   PHILIP            JOHNSON JR.         CA          46017492747
41929316A71999   BRIDGET           RAMIREZ             CO          38096463160
4192B127391394   MICHAEL           STEWART             KS          90015261273
4192B12A251334   DAVID             CAMPBELL            KY          90008101202
4192B259172B36   MEAGAN            HERALD              CO          90009582591
4192B31815B58B   SILVIA            GARCIA              NM          90014423181
4192B75778B849   PABLO             AZEVEDO             HI          90014437577
4193276945B53B   ARIEL             BRITO NOGUET        NM          90010287694
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4193331445B222   LISA              RHODES              KY          90012273144
419333A6171934   ARTHUR            LUMSDON             CO          32057923061
41934591672B43   FLORENCIA         SIGALA              CO          33005225916
4193557A67B475   TAKISHA           SMITH               NC          90011365706
4193571525597B   JESSE             HERNANDEZ           CA          90011877152
4193654175B58B   DANNY             APODACA             NM          90000105417
4193729292B27B   MARIA             MUSSLER             DC          90013732929
41937791A5B222   NEISHA            CARDINE             KY          90012527910
4193878915B52B   IVAN              VALDEZ              NM          36035617891
4193973A35B375   JACUELINE         DEAN                OR          90012327303
41939A24271999   ROSE              ALATORRE            CO          90007360242
4193B533861953   MICHELLE          BARBER              CA          90014505338
4193BA1352B27B   MICHEAL           BOWDEN              DC          90013220135
419411A235B58B   CECILIA           BELL                NM          90014821023
4194156512B87B   DEIDRE            RAMIREZ             ID          41061105651
4194216648B16B   ELFEGO            ARDIANO OCHOA       UT          90008591664
41942298172B36   BRENDA            QUINTANA            CO          33099052981
41942519A61963   BLANCA            PRECIADO            CA          46011235190
4194279A341258   ASHLEY            WALKER              PA          51041627903
4194319A991988   JAMAAL            SYMMONETT           NC          90011681909
41943319A8B16B   AZUCENA           VASQUEZ             UT          90013823190
4194397228B165   CRYSTAL           GUTIERREZ           UT          31045629722
4194434972B27B   WALTER            FLOWERS             DC          90010403497
4194515A491988   CRYSTAL           POE                 NC          90014661504
4194562485597B   ROBERTO           CORRALEJO           CA          90011346248
4194563A98B16B   NESTOR            PEREZ               UT          90001116309
4194729885B174   JOYCE             BROWN               AR          90014252988
41947969A61967   WILLIAM           HAYES BANEGAS       CA          90015129690
4194829885B174   JOYCE             BROWN               AR          90014252988
4194869775B58B   SILVIA            BARRIENTOS          NM          35091636977
41948864872B43   CIPRIANA          LOUNNIVONGSA        CO          90011848648
41948A55751336   ALLIK             WILLIAMS            OH          90014030557
4194B193471999   MARIA             VELASQUEZ           CO          90013941934
4194B82538B165   CHRIS             ALLEN               UT          90010968253
4194BA4175B52B   KRISTOPHER        VALENZUELA          NM          90012520417
4194BA8987B698   DESMOND           SAMS                GA          15031880898
4195116865B222   BRITTANY          CAHILL              KY          90000501686
4195124597B475   ANGEL             JEFFREY             NC          90013142459
4195162575B53B   DANIEL LUJAN      TINA LUJAN          NM          90012166257
4195263378B165   MATTHEW           DAVIS               UT          31051216337
41952925A5B53B   MONICK            SALAZAR             NM          35055029250
4195371818B165   ONNA              FAITHA              UT          90014867181
41953A68A5B174   REGINALD          RICKS               AR          23066330680
4195518AA33145   MINERVA           LOPEZ                IL         20517511800
41956319A72B4B   NANCY             MOYE                CO          33068043190
41957271A91873   ALEAN             ALVAREZ             OK          90013652710
4195737795597B   JOSE              OROZCO              CA          90010703779
4195837985597B   MARISSA           SANDOVAL            CA          90010703798
41958651A71999   DEBBIE            CRESPO              CO          38048996510
419591A9172B36   VERONICA          BLACKON             CO          33084831091
4195927755B52B   JESUS             NAVA                NM          90011252775
41959798A91569   MARIANNE          RODRIGUEZ           TX          90012597980
4195B327185949   OMAR              MERIDEN             KY          90010773271
4195B71974B271   WILMER ESTUARDO   PEREZ AMBROCIO      NE          90004937197
4195BAA6861967   ALEJANDRO         AGUILAR MENDOZA     CA          90011550068
4196126AA5B271   ELENA             WILLIAMS            KY          90014602600
4196135195B58B   MACLOVIO          RUIZ                NM          35042173519
419616A438B165   ERFRAIN           CORTEZ              KY          90000476043
4196197956198B   JAMES             ALTAMIRANO          CA          90014039795
41961A26972B43   JEANIE            WILLIAMS            CO          90004720269
4196248865B271   BRENDA            DEACON              KY          90012134886
4196324A95B52B   OMAR              VALERIO             NM          90013602409
419638A3581639   TASHA             HILL                MO          29015798035
4196448358B165   KUKUDURFAN        FAKIALI HARIGA      UT          31097804835
41964791A51336   SHARONDA          BATES               OH          90011937910
4196544458B165   JAMES             KEENAN              UT          90002234445
419673A1131448   JESSICA           DEFRANCE            MO          90001703011
419676AA27B865   BENJAMIN          HERVEY              IN          90015376002
41967A37A63663   IRUM              YAQUB               MO          27569030370
41968144A2B27B   ROBERT            FIELDS              DC          90002481440
4196912895B174   MCMULLEN          RENAE               AR          23054701289
4196B223972B4B   EVERARDO          ORTIZ RODRIGUEZ     CO          90012292239
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4196B964271999   MICCAH       LEONARD                  CO          90009029642
4197197432B891   RONALD       ZUBER                    ID          90008059743
4197412755B222   WILLIAM      PUCKETT                  KY          90002971275
4197515635134B   DONALD       LAVOIE                   OH          66090151563
4197543252B87B   RAYLENE      VANCE                    ID          90013024325
419756A622B27B   ALBERTA      BRUNSON                  DC          90002336062
4197631362B87B   HOLLY        JOHNSTON                 ID          41033673136
419766A4A5B354   JOHN         ALBERT                   OR          90008516040
41977129972B43   ELIZABETH    ORNELAS                  CO          33002541299
4197728568B165   JAIME        RANDALL                  UT          90014702856
4197837942B27B   DEBORAH      HICKSON                  DC          90009363794
41978735A5597B   DEBRA        RUFLES                   CA          90012317350
4197929865B53B   ROSE         MARTINEZ                 NM          35093172986
4197B496A5B174   BRENT        BATTY                    AR          90008454960
4197B4A555B58B   LUZ          PARRA                    NM          35094014055
4197B535391569   ISAAC        ENCINA                   TX          75097215353
4198133518B165   RICKY        SMITH                    UT          31042793351
41981518A91394   JANETH       GONZALEZ                 KS          90007995180
4198156725B222   JOSHUA       LONG                     KY          90007275672
41982727A5B222   MOLLY        FORD                     KY          90007037270
41982A37691394   LOUIS        CARR                     KS          90015310376
419831A582B27B   PHILLIP      HUMPHREY                 DC          90011681058
4198374545597B   SIRR         PARKER                   CA          90012477454
41986364572B4B   SOLANGE      RIZIKI                   CO          90012663645
41986A61191394   JOYCE        ALEXANDER                KS          29033280611
4198728325B271   CHRIS        HAYS                     KY          90005222832
4198745A191873   KATHRYN      NORRIS                   OK          90015204501
41987A9545B58B   THELMA       GILLIAM                  NM          90002190954
4198839725B271   CHRISTINA    WOODCOCK                 KY          90011733972
41988757A8B16B   JEREMIAH     STRATTON                 UT          90014857570
41988878A91549   LUIS         LOPEZ                    TX          90007728780
4198934415B174   JERMECA      CAMBELL                  AR          90014253441
4198976762B84B   ASFAHA       TEWELDE                  ID          90015147676
4198B516781669   SONDRA       UPTON                    MO          90006535167
4198B77562B87B   DENNIS       WARD                     ID          41072287756
4198B949691988   JABON        SINGLETARY               NC          17078929496
4199116168B165   CONCEPCION   CAMACHO                  UT          90014651616
419914A6791556   HAROLD       KUTZ                     TX          90000994067
4199186415B271   BRADLEY      SANDERS                  KY          90014868641
41991986272B4B   JOSHUA       ROSS                     CO          90014529862
4199238248B16B   SANTA        SOLIS                    UT          31005153824
419923A4747954   ANN          JORDAN                   AR          25089473047
4199284754B271   DONNA        COLLEY                   NE          90006098475
41993899A51334   VICKI        SEITER                   OH          90002888990
41993AA295B174   MARTEZ       KELLEY                   AR          90014770029
419941A4351383   PAM          LUNSFORD                 OH          66065211043
4199434335B53B   DIANA        VEGA-HERRERA             NM          90014523433
41994389A5B222   NICOLAUS     WARICK                   KY          90005433890
41994856572B43   JULIO        TARANGO                  CO          33067548565
41994A6494B271   CHRISTINE    MASTERS                  NE          90008150649
4199541585597B   RAFAEL       MOJICA                   CA          90012434158
41995578A91873   BRENDA       RAYES                    OK          90009605780
4199622635B53B   BENJAMIN     LOHMANN                  NM          90010252263
4199635675B271   MELISSSA     DENNIS                   KY          68080083567
4199765872B27B   SYMRA        DUNBAR                   DC          90001426587
4199791182B87B   VALERIE      CROSS                    ID          90014869118
41998132A51334   FOREST       MANSON                   OH          90013831320
4199837AA5B52B   VAUGHN       NULL                     NM          90011643700
4199856725B53B   JUDITH       ROMERO                   NM          35009175672
4199934255B271   LYNN         FORREST                  KY          68092373425
4199958835B53B   ADAN         HERNANDEZ HERNANDEZ      NM          90001305883
4199B26335B52B   KARINA       VALVERDE                 NM          36085382633
419B1632991569   YANEL        RODRIGUEZ                TX          90010816329
419B17A6671999   TAYLOR       BRIDWELL                 CO          90011687066
419B2347361963   AIDA         GARCIA                   CA          90006193473
419B3441872B4B   BETZALEL     GETZEL                   CO          33095004418
419B3696891988   NIQUNETTE    JOHNSON                  NC          90014656968
419B4445591569   MARTIN       FRANCO                   TX          75089574455
419B45A495B271   MYLISSA      SANDEFUR                 KY          90014175049
419B4672A5597B   LEE          YANG                     CA          90014826720
419B4682293794   ASHLEY       KNOX                     OH          90014856822
419B5539971999   KRISTINE     BOULIER                  CO          90013065399
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419B59A822B92B   SAM           SOARES                  CA          90008279082
419B69A6561963   MARIA         MEDINA                  CA          46077429065
419B7285461967   LIO           SILVESTRE               CA          90009882854
419B763767737B   ANN           WAGNER                   IL         90010406376
419B7929871999   VICTORIA      MCDANIEL                CO          90007149298
419B7A5888B165   WETNEY        ZOBLL                   UT          90014740588
419B7A88791988   GLADYS        LOPEZ                   NC          90007720887
419B81A425597B   ELVIA         ESPENOZA                CA          90015051042
419B8265A71999   LUCILLE       VIGIL                   CO          38036012650
419B8514A7B475   CHRISTOPHER   DENNISON                NC          90009135140
419B8A8572B27B   MERCEDES      SERVANO                 DC          90006730857
419B917355598B   CARLOS        RIVERA                  CA          48054401735
419B9358961963   RENE          ANAYA                   CA          46058113589
419B9881491988   ALVERNON      LEE                     NC          90011668814
419B9912A2B27B   OSCAR         ANDRADE                 DC          90011679120
419B9A5A38B16B   GENEVIEVE     DURAN                   UT          90010130503
419BB14A191873   ARNETHA       FOWLKES                 OK          90004641401
419BB25495B174   CHRISSY       ESKEW                   AR          23041222549
419BB63834B271   BARBARA       VANVALKENBURG           NE          27088466383
41B11586861963   TARVA         JOANNE                  CA          90000185868
41B11624893794   RONDA         HOUSER                  OH          90015446248
41B11782372B36   TIMOTHY       THIBAULT                CO          90011977823
41B11852655939   CATRINA       CARILLO                 CA          90013068526
41B12A19691569   ALBERTO       GUERRERO                TX          75013710196
41B12A92891394   KARIN         GALINDO                 KS          29038790928
41B13111372B36   SOPHIA        MIETZ                   CO          90012371113
41B13835755939   AMANDA        AGUILAR                 CA          49076218357
41B1447259155B   CHRISTIAN     MEJIA                   TX          75076054725
41B1453555B58B   LUIS          HERNANDEZ               NM          90005505355
41B14779A8B16B   DANIEL        FUENTES                 UT          90013807790
41B15473991988   SANDRA        SORTO-PORTILLO          NC          90009924739
41B1594593B37B   CLEMENCIA     EVARISTO                CO          90007589459
41B1614668B165   MOISES        DUNON                   UT          90004271466
41B1685865B222   RONE          STEAGALL                KY          90010518586
41B1773757B475   CEDRIC        SANDERS                 NC          90013827375
41B17758661963   AARON         WILLIAMS                CA          90013067586
41B17A1A261963   CARLOS        SANTANA                 CA          90014710102
41B17A3788B16B   JAYLENE       STEWART                 UT          31090850378
41B18378361963   TERESA        RIVERA                  CA          90011643783
41B1858565B52B   LIZBETH       VILLA                   NM          90013695856
41B1866635B52B   BELINDA       AVILA                   NM          90014516663
41B191A6891569   ADAM          DELACUEVA               TX          90007611068
41B19813493794   ANGELA        DIETRICK                OH          90013218134
41B1B14659313B   JUAN CARLOS   BECERRA                 TN          90015361465
41B1B265191569   URIEL         GARCIA                  TX          75018072651
41B1B469161967   RIGOBERTO     MUNOZ                   CA          90012754691
41B1B71AA5B222   MARIAH        THOMAS                  KY          90014767100
41B1B74234B29B   JODI          JACKSON                 NE          90011427423
41B2127395B222   BIG E         SR                      KY          90007732739
41B216A1161967   CHASTIDY      CLAAR                   CA          90010496011
41B2175A25B53B   NATACIA       SANCHEZ                 NM          90013827502
41B21A11447968   LISA          MCGEE                   AR          90007610114
41B22176947954   MARC          HOISINGTON              AR          90011761769
41B22293791873   BERTHA        LUNA                    OK          21058902937
41B2231465B58B   KARLA         PADILLA                 NM          35084803146
41B2235458B183   MELISSA       BERNETT                 UT          90008803545
41B22694655939   BENANCIO      FIGUEROA                CA          90014966946
41B23981351337   MARILYN       HELM                    OH          66095489813
41B2427745B58B   MACIAS        CRYSTAL                 NM          90010992774
41B247A575B222   COLLIN        LANDER                  KY          90011927057
41B25147861963   AYLIN         ALVARADO                CA          90012921478
41B25258372B36   FLOR          TAPIA                   CO          33050172583
41B2562165B53B   ANGELICA      RODRIGUEZ AMAYA         NM          35091946216
41B256A115597B   VRIGINIA      MATINEZ                 CA          49081136011
41B25811A8B16B   MARISOL       ARIAS                   UT          90010698110
41B26725591988   KRISTEN       FULLER                  NC          90014577255
41B26A2A35B222   RICARDA       HERNANDEZ               KY          90011820203
41B271A7591873   MARIA         ROJO                    OK          90013651075
41B2775528B165   NANETTE       HANSEN                  UT          31073777552
41B27913771934   ANTHONY       ROVEDO                  CO          32026429137
41B27A4348B16B   JORGE         MONTERROSA              UT          90005170434
41B2865915B271   STEVIE        CORNETT                 KY          90015026591
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41B28693491873   JAME         SALGADO                  OK          90013736934
41B28A62891394   JAHNON       CLARK                    KS          90013470628
41B28A82893794   VIRGINIA     MILLER                   OH          90008870828
41B2981979713B   MARIA        AGUIRRE GUTIERREZ        OR          90014748197
41B2B179572B4B   PRISCILLA    OSBOURNE                 CO          90013531795
41B2B317291569   ADRIANA      FLORES                   TX          90011023172
41B2B37949313B   IVAN         MARTINEZ                 TN          90015523794
41B2B382391988   TIMOTHY      EWING                    NC          90010533823
41B2B3A634B271   JANETH       GAMEZ                    NE          90011503063
41B2B66132B87B   JACQUELINE   ACKERMAN                 ID          41029436613
41B2BA19A5B266   MICKEY       PARKS                    KY          90001620190
41B3137A572B36   ERIK         BAKER                    CO          90013093705
41B31648871999   TRACY        FOWLER                   CO          90014276488
41B323A738B16B   DIANA        OSORIO                   UT          90011553073
41B3319159313B   JUAN         PADILLA                  TN          90015361915
41B33658572B43   LUIS         MORALES                  CO          33039596585
41B3381979713B   MARIA        AGUIRRE GUTIERREZ        OR          90014748197
41B3396955597B   MAI          YANG                     CA          49061729695
41B343A322B27B   CLAUDIA      GRANADOS                 DC          90015113032
41B34429572B43   CARMEN       TERAN                    CO          33050014295
41B34443A2B87B   SUZANNE      HARTZ                    ID          41021464430
41B34A53884368   MARJONE      RENTERIA                 SC          90010520538
41B3566967122B   PAYGO        IVR ACTIVATION           IA          90011916696
41B35A13271934   NELY         GONZALES                 CO          32080270132
41B3657274B271   ALFONSO      ROSALES                  NE          90015195727
41B3692196B945   MARITZA      ORTIZ                    NJ          90014179219
41B36A4A572B4B   EMILIA       SAUCEDO                  CO          90007470405
41B3735765B53B   AMERICO      GONZALES                 NM          90013653576
41B3787282B27B   JOSE         MARTINEZ                 VA          90010758728
41B379A9772B36   IRMA         CASAS                    CO          90013189097
41B38232951334   GERSON       ROBLERO                  OH          90010402329
41B3843485B52B   VALENTIN     ESTRADA-GARDEA           NM          90009964348
41B38A4565B53B   JESUS        MALDONADO                NM          90006870456
41B3917A972B4B   ANGELICA     GALLARDO                 CO          90001731709
41B3931285B53B   RAUL         VASQUEZ                  NM          90014813128
41B3B36A393794   MARGIE       TAYLOR                   OH          90012213603
41B3B48235B271   RAFAEL       AMAYA                    KY          90013384823
41B3B583591873   KATHRYN      SMITH                    OK          90013315835
41B3B58972B27B   FELICIA      THURSTON                 DC          81007605897
41B3B68A755999   ADAN         POLANCO                  CA          90007916807
41B3B697671999   TONI         HERNANDEZ                CO          38026026976
41B3BA15151383   ROBERT       EVANS                    OH          90012020151
41B41179861963   ADRIANNA     PADILLA                  CA          46037951798
41B4137517B475   AHMED        ALY                      NC          90012213751
41B41485A91988   CHAUNESSEY   PIERCE                   NC          90014564850
41B4148735597B   ERIC         MONTIJO                  CA          49097544873
41B42123847954   JESSICA      SERAFIN                  AR          90005611238
41B4266635B52B   BELINDA      AVILA                    NM          90014516663
41B42A8262B92B   CESAR        PACHECO                  CA          90011650826
41B43413A4B541   CANDACE      SCOTT                    OK          90005164130
41B43584772B43   ESPERANZA    CRUZ                     CO          90014855847
41B436A832B27B   SHERRIE      ELLIS                    DC          81088846083
41B4392874B271   JEFFREY      GOODWIN                  NE          27062229287
41B4398678B165   MAKITAH      SUNDELL                  UT          90010439867
41B4417797B475   DESHAWN      MOYE                     NC          90010851779
41B441A655B52B   RUBY         VIGIL                    NM          36020861065
41B4451988B165   JORDAN       SCHWEIKART               UT          90013655198
41B4486538B16B   JEFFERY      NUTTALL                  UT          31060908653
41B454A5572B43   FRANK        DEHERRERA                CO          33094714055
41B458A9572B4B   JEESE        ROFFERS                  CO          33049658095
41B4593A15B597   JUSTIN M     MURPHY                   NM          35032599301
41B45AA2761963   FRANK        STONE                    CA          90011820027
41B46A71655939   RATRY        VILAYSINH                CA          90014490716
41B47853671999   NIKKI        JARAMILLO                CO          38074748536
41B47895761963   ANNA         MUNOZ                    CA          90013088957
41B48284791988   JUSTIN       WILLIAMS                 NC          90014782847
41B48559691394   STACIE       DOWNTON                  KS          90006435596
41B4855A761963   CARLOS       ALARCON                  CA          90003185507
41B48739772B36   RICHARD      REYES                    CO          90011407397
41B48A2A191988   LULA         JEFFERS                  NC          90013220201
41B49266691873   MCBRAYER     LADONNA                  OK          90006482666
41B4948547B475   CASEY        MEASIMER                 NC          90013504854
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41B4993818B165   TYLER        JACKSON                  UT          90009269381
41B49957A71933   FLORENCE     STEWART                  CO          90014549570
41B49A86861963   CHARLES      ADAMS                    CA          90007630868
41B4B499391873   DONNIEKA     THOMAS                   OK          90013694993
41B4B75752B27B   PHILIP       PROCTOR                  DC          81015567575
41B51384955939   KEN          WILKEROSON               CA          49067973849
41B5143619313B   ADALBERTO    GONZALEZ                 TN          90015614361
41B51768793794   CAROL        NOREN                    OH          90006067687
41B5196484B543   JIM          PAULSEN                  OK          90008089648
41B5298945B58B   AMY          ALBERTUS                 NM          35026529894
41B52A83184336   UNEEK        CHATMAN                  SC          90012200831
41B53242A71999   JASON        RIDDOCK                  CO          90012102420
41B5339649313B   ABENAMAR     GOMEZ                    TN          90013953964
41B5395762B27B   SAUNDRA      RICHARDSON               DC          81081539576
41B5411858B16B   MARCO        LOPEZ                    UT          31093111185
41B544A9191873   TAMICA       MORRISON                 OK          21004274091
41B5479325B58B   COREY        AMOS                     NM          90012467932
41B54986471999   MITHCHELL    SHARON                   CO          38066989864
41B55A2999313B   AVEL         ORDONEZ                  TN          90015550299
41B57997172B4B   SANDY        FOX                      CO          33020949971
41B57AAA35B222   NICHOLAS     WOOD                     KY          90012970003
41B58815761973   GUILLERMO    SANCHEZ                  CA          90012648157
41B59518761963   ULYSSES      WEBB                     CA          46070295187
41B59659A8B157   JOSE         LOPEZ                    UT          90005216590
41B59844991873   FRANCISCO    CABALLERO                OK          90012848449
41B5B92164B271   AMBER        KING                     NE          27065349216
41B61283991569   JOSE         MENDOZA                  TX          90014812839
41B61322172B4B   RAUL         MIER                     CO          90014423221
41B614A1391873   RUTANYA      SIMON                    OK          90012984013
41B62487872B4B   ROBERT       HEIKENS                  CO          90003684878
41B62514472B36   DANIEL       LUCKE                    CO          90003605144
41B62915A9313B   MERCEDES     CORONIA                  TN          90014809150
41B62AA745B58B   LAWRENCE     TAFOYA                   NM          35050310074
41B63154791394   ISIS         TORRES                   KS          90014541547
41B6373182B27B   LAKESHA      THOMAS                   DC          90013487318
41B64A7A18B165   SABRINA      HARDY                    UT          90009190701
41B6534238B165   NELSON       RODRIGO                  UT          90003043423
41B65522A5B58B   ALONZO       DALE                     NM          90014185220
41B6559A691873   JOCELYN      HOLMES                   OK          90010695906
41B65725972B4B   ALEX         MARTINEZ                 CO          90003397259
41B6614398B165   ASHLEY       MCVAY                    UT          90013931439
41B66325571999   SHEILA       CHAVEZ                   CO          90004413255
41B66451771934   MARTIN       PADILLA                  CO          32008144517
41B6649A57B475   JANEX        YOUNG                    NC          90002194905
41B6653148B16B   BRIAN        SANT                     UT          31014655314
41B66684151336   DIAMOND      HERBERT                  OH          90003836841
41B67189693794   KELSEY       PAINTER                  OH          90010731896
41B6747135B271   WENDY        HOLDER-HALE              KY          90014534713
41B67626961963   MAYURI       LUCAS                    CA          46032586269
41B6771765597B   ANA          RODRIGUEZ                CA          90008917176
41B67812771644   DEIRDE       DANIEL                   NY          90009458127
41B6791154B23B   JEREMIAH     EUBANKS                  NE          90012139115
41B67925871999   MARIBEL      IBARRA                   CO          90013929258
41B6853485B52B   RYAN         LUJAN                    NM          90009615348
41B68739672B36   ERIC         HERZOG                   CO          90014237396
41B6891495B58B   BECKY        GONZALES                 NM          35002119149
41B68A15161967   SILVIA       CERVANTES                CA          46066770151
41B68A1846195B   RAED         SAQAAH                   CA          90015220184
41B69116191873   DEBBIE       BILLINGSLEY              OK          90010731161
41B6946585B53B   MARGIE       MUNIZ                    NM          35042894658
41B6959592B27B   SHANE        BLACKFOOT                DC          90007435959
41B69A15471934   PEDRO        ROMERO                   CO          90010070154
41B69A9A95B222   JEREMY       WILBERT                  KY          90014730909
41B6BA4145B53B   SHANE RAUL   PEREZ                    NM          90009530414
41B7124345B52B   LEONARD      COPELAND                 NM          90012622434
41B71832693794   JOHN         MONDS                    OH          66051438326
41B7185365597B   DWAYNE       WILSON                   CA          90013818536
41B72299891394   MICHAEL      SANDATE                  KS          29053522998
41B7244435B222   TERRANCE     MINTER                   KY          68077324443
41B72735872B32   AARON        VONGESCHWIDNER           CO          90014667358
41B72873451361   CHRISTINA    WAVER                    OH          90013428734
41B731A5271999   RONNIE       JAQUEZ                   CO          90013911052
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1943 of 2500


41B7391675597B   MICHELLE     KEMPFF                   CA          49007339167
41B74278961963   HUGO         SANCHEZ                  CA          90013842789
41B7434235B52B   LUIS         GUARDADO                 NM          36039503423
41B74358991988   ANTOINETTE   POWELL                   NC          90011023589
41B749A7961963   DAVID        ESPINOZA                 CA          90013899079
41B7573A58B165   AMBER        DAWN                     UT          90012747305
41B7581275B389   LAURI        EVANS                    OR          90001228127
41B758A6461967   ANTHONY      FLORES                   CA          90013298064
41B76932771934   DOMINIQUE    BASTIN                   CO          90007429327
41B76A5575B52B   ESMERALDA    LOPEZ                    NM          90013340557
41B77268A55939   OFIE         ARTEAGA                  CA          90010442680
41B77A1139313B   PJ           GRAY                     TN          90015500113
41B77A1A351334   DAVINA       STACY                    OH          66034180103
41B781A4A5597B   ESTHER       RICHEY                   CA          49090181040
41B78328591569   JORGE        GARCIA                   TX          90010383285
41B7888315B58B   CRYSTLE      MONTANO                  NM          35011918831
41B7893918B165   NICK         MENDOZA                  UT          90013219391
41B78A1175B222   NHIEN        TON                      KY          90009530117
41B7926345B174   BLANCHE      ROBINSON                 AR          23015882634
41B795A8561963   ISMAEL       SOTELO                   CA          90015135085
41B7B145151383   YVONNE       THOMPSON                 OH          66083491451
41B7B22865B271   PRECIOUS     LOGGINS                  KY          90013282286
41B7B823591394   ROGELIO      CHACON                   KS          29001088235
41B7B896872B36   ARTHUR       MARTINEZ                 CO          90003368968
41B7BA4125B174   ALESSANDRA   HALE                     AR          90013410412
41B81381672B22   ABEL         ARROYO                   CO          33066003816
41B8147324B271   JOSE         GONZALES                 NE          90014174732
41B81A21647954   VICKY        RELEFORD                 AR          25011280216
41B81A62333632   TERRY        COLE                     NC          90009200623
41B821A4A8B165   TIMOTHY      GIBBS                    UT          90001811040
41B82463191988   VICTOR       ARJONA                   NC          90006314631
41B83544791873   KEVIN        BURNETT                  OK          90007015447
41B8367235B52B   PATSY        JARAMILLO                NM          36012836723
41B83855191569   ADRIAN       SALINAS                  TX          90014818551
41B8417748B16B   VANESSA      SLABAUGH                 UT          90015291774
41B84336871999   FRANK        SANCHEZ                  CO          90013793368
41B8439A35B271   MICHAEL      WILLIAMS                 KY          90014933903
41B84874A24B35   SORAYA       DEL VALLE                DC          81005148740
41B84876693768   ALISHA       PITTS                    OH          90010698766
41B84A14751334   GUADALUPE    OLIVA                    OH          90008450147
41B85326251338   JAMES        HENDERSON                OH          90006193262
41B8535172B27B   ANTONIO      CISNEROS                 DC          90015153517
41B8564675B52B   KAYLEEN      BARELA                   NM          90006216467
41B8566A461963   JENIFER      VILLA                    CA          90014826604
41B8566A672B4B   THERESA      CARPENTER                CO          33057066606
41B8571A48B16B   BRITTANY     BUSTILLOS                UT          90012977104
41B858A1491569   HILDA        ORDUNO                   TX          90010878014
41B8634A82B87B   KELLY        STEWARD                  ID          90011133408
41B87121261963   CIRENIA      BIBIANO CABRERA          CA          90013011212
41B8771A761967   GAIL         PADILLA                  CA          46012447107
41B87724A5B58B   OMAR         HERNANDEZ                NM          35068737240
41B87963872B36   HASHEEM      JACKSON                  CO          33057469638
41B8835172B27B   ANTONIO      CISNEROS                 DC          90015153517
41B8863845B271   MICHAEL      MCGLYNN                  KY          68031886384
41B88651741235   LEROY        HINTON                   PA          90008846517
41B88A9A15597B   LETY         ORTEGA                   CA          49018120901
41B8917595B174   MONICA       HUMPHREY                 AR          23033421759
41B8962A471999   AMY          FLOOD                    CO          38091696204
41B89827791873   FRED         HILLIARD                 OK          21016648277
41B8B28A693794   LARRY        RUFFNER                  OH          90013692806
41B8B2A125B222   DAMON        BOLDRICK                 KY          90014822012
41B8B356891988   KEIONTA      WHITAKER                 NC          90001963568
41B8B55955B174   LYNNETTE     BROWN                    AR          90007595595
41B9121867B475   SHIRTOIA     HUNTER                   NC          90013932186
41B91226591569   ANAHI        IBARRA                   TX          75085102265
41B9138315B53B   HA           NGUYEN                   NM          35078693831
41B92212991873   JESSICA      SALDANA                  OK          90006172129
41B92543281639   CINDY        STRICKLAND               MO          29015295432
41B9288665B58B   MARGARITO    AMAYA                    NM          35055598866
41B92A3584B271   WENDY        HOSFORD                  NE          27088950358
41B931A3161967   DARRYL       LAFOUNTAINE              CA          46056421031
41B9331954B523   SALVADOR     MINJARES                 OK          90011093195
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41B93448672B4B   WILLIAM          CARSON               CO          90013264486
41B9438815B58B   SARAH            DADEY                NM          90015153881
41B9441A691873   TARA             HEARN                OK          90014674106
41B94455972B4B   EXTREME ACTIVE   VENTURES             CO          90009244559
41B9498132B27B   YAMILETH         GUTIERREZ            DC          90015019813
41B9533345B222   KATHY            PRICE                KY          90013963334
41B9544815597B   JACQUI           WINN                 CA          49013314481
41B9547A593728   STEPHANY         VANHOOSE             OH          90008734705
41B95614251334   RAMONA           CLIETT               OH          66034916142
41B95624A7B475   MIA              STACKTON             NC          90012706240
41B9592965B52B   KATRINA          SILER                NM          90007649296
41B96275A72B4B   SADE             BARROW               CO          90013732750
41B96352191394   FREDY            MARTINEZ             KS          90012183521
41B9646A48B16B   CARLOS           RODRIGUEZ            UT          90012204604
41B96A7919155B   GORGE            BARRAZA              TX          75040920791
41B96AA8A8B165   ALIPATE          TAPATOUTAI           UT          90007530080
41B9746955B222   DANYEL           SNEED                KY          90014724695
41B9764845B174   MICHELLE         BLAKE                AR          23046366484
41B977A5A72B36   JOSELINE         VELAZQUEZ            CO          90013137050
41B97893661967   GEORGE           SMITH                CA          90001418936
41B98175A5B58B   CHIP             BAUMEISTER           NM          90014461750
41B982A115597B   MARCELINO        CRUZ                 CA          90002202011
41B98993855951   MIRIAM           ALVARADO             CA          90014419938
41B99285393767   SPARKLE          WALKER               OH          90012492853
41B9983775B271   SHEILA           DELORCH              KY          68062368377
41B99A14A41258   TODD             JETER                PA          51041320140
41B9B3A6A72B4B   MELISSA          SMITH                CO          33099483060
41B9B5A289313B   KAYLA            JACKSON              TN          90015475028
41B9B69814B543   PAULINA          MARQUEZ              OK          90010846981
41B9B75158B355   MALACHI          YON                  SC          90007587515
41B9B987A4B271   CANDIDA          RODRIGUEZ            NE          90006399870
41BB1287193794   ASHLEE           CRAMTON              OH          90012442871
41BB1487341294   AMBER            JONES                PA          90004224873
41BB1514991394   DARLENE          ECKSTEIN             KS          29077655149
41BB1597491988   JUAN             SALAZAR              NC          90012755974
41BB1789961967   JULISSA          CORTEZ               CA          90013357899
41BB18A935597B   JERRY            COLLINS              CA          90012028093
41BB1912872B4B   NADINE           SANDOVAL             CO          33030369128
41BB273848B165   JARRETT          CHRISTENSEN          UT          90013827384
41BB2879461963   YAZMINE          BENITEZ              CA          90013088794
41BB2A23755939   HERIBERTO        CAPILLA-RAYON        CA          90013050237
41BB329AA72B43   SONIA            CASILLAS             CO          33008552900
41BB37A8A2B27B   JAY              SWEETZ               DC          90012197080
41BB381235B271   PRETTYGRL        THRNTON              KY          90007518123
41BB389668B16B   HOWARD           ROBERTS              UT          31045248966
41BB392A274B97   AARON            FORD                 OH          90014999202
41BB397A197B53   CESAR            CAUDILLO             CO          39098799701
41BB43A1947954   JUAN             MARQUEZ              AR          25072133019
41BB487735B271   ANDREA           TYLER                KY          90011288773
41BB511295B52B   GERALDINE        MARTINEZ             NM          90009031129
41BB5229872B4B   MEDINA           SEAN                 CO          90009252298
41BB581A491569   ARIEL            HOLGUIN              TX          75066638104
41BB5987691394   JOSH             BRUNT                KS          90014909876
41BB59A1272B4B   EDUARDO          LOPEZ                CO          90012209012
41BB6264471934   CELESTINE        SHARISSA             CO          32025112644
41BB6472572B4B   MICHAEL          CHACON               CO          90014074725
41BB653735B222   LAURA            EDWARDS              KY          90009735373
41BB6723171999   STEVEN           STREET               CO          90010327231
41BB715945B271   JONATHAN         GUENTHER             KY          90014171594
41BB7256893794   DELFORD          JACKSON              OH          90010262568
41BB736855B222   MERLIN           FUENTES ZELAYANDIA   KY          90003463685
41BB7765271934   ROSA             BUSTOS               CO          32066857652
41BB7837491873   CRYSTAL          SWASHO               OK          90012558374
41BB7A8815B52B   TIMOTHY          VALLEJO              NM          90015260881
41BB857788B16B   ANDREW           WALKER               UT          31079455778
41BB8594171999   SHAWNAE          PALLERO              CO          38098555941
41BB863745B58B   DAN              HILBORN              NM          35068716374
41BB867A555939   ANITA            ALVAREZ              CA          90013106705
41BB8A2775B271   ANNA             GREENWELL            KY          90014780277
41BB9352341258   MARY             FRIEL                PA          90005643523
41BB9893661967   GEORGE           SMITH                CA          90001418936
41BBB36665B58B   DAWN             MCCOY                NM          35064643666
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41BBB61564B271   MICHEAL       SPANGLER                IA          90003056156
41BBB71A147954   JORGE         BARRIENTOS              AR          25060517101
4211134728B165   HILDA         MIJARES                 UT          31063753472
4211139555B58B   LESLIE        CAYADITTO               NM          90014713955
421119A8891527   RUBEN         OCANA                   TX          75023329088
42112126A47954   NANCY         SELF                    AR          25009391260
421123A6355939   MARIO         PINA                    CA          49065393063
4211243685B222   JASMINE       RHODES                  KY          90012064368
4211256655B551   MARIA         VEGA                    NM          35017515665
4211323555B527   DENISE        MALDONADO               NM          90006872355
42113272A51334   KIMBERLY      PORTER                  OH          90014662720
4211335175B52B   POLLY         SHATTUCK                NM          90011893517
4211381795597B   GUSTAVO       RODRIGUEZ               CA          90013088179
42113997A5597B   YTZEL         ESQUIVEL                CA          90014999970
42114917A5B597   HECTOR        BAYLON                  NM          35010029170
421155AA82B87B   JAMIE         TEATER                  ID          41083945008
4211593315B222   NADIA         BANTA                   KY          68036139331
42115987172B4B   RAUL          MONTERO                 CO          33075209871
42116A6625B541   JOANNE        GARCIA                  NM          90004760662
4211753925597B   ANNA          COCHRAN                 CA          49054755392
4211766A25B271   RODRICA       ANDERSON                KY          90010636602
4211821798B185   JENNIFER      WILCOCK                 UT          90005162179
4211826575B53B   ANA           HERNANDEZ               NM          90008882657
4211885379152B   JACQUELINE    MILLER                  TX          90003668537
4211945898B836   WESTLEY       SLACK                   HI          90013174589
42119816A93794   DALE          SLAUGHTER               OH          90014638160
4211B14285B271   EMILY         BOTTS                   KY          90009031428
4211B3A2172B4B   YOLANDA       ROMERO                  CO          90003253021
4212211735B58B   KAREN         MARTINEZ                NM          35052711173
4212216575B271   OLIVIA        DALE                    KY          68041651657
4212316275B174   ANGELICA      HESTER                  AR          90014691627
421236A2472B43   STACY         GREENWOOD               CO          90014106024
421245A5461963   MARC          MARCELINO               CA          90013045054
4212468985B523   MARISELA      PORRAS                  NM          90012826898
4212519665B52B   JUAN          RUEDA                   NM          90010541966
4212568985B523   MARISELA      PORRAS                  NM          90012826898
42125713A62B31   JUANA         BOLONAS                 KS          90011927130
4212589335B174   TINA          HALL                    AR          23075288933
42125974972B4B   SEAN          FLORES                  CO          90013519749
42127555872B36   MARIA         GARCIA                  CO          90012185558
4212783848B163   DAVID         MELEISEA                UT          90008088384
4212797353162B   KIMBERLY      ADAMS                   KS          90010939735
42127A57961963   MICHELLE      SWENSEN                 CA          90015190579
4212882349155B   JOSE          SANCHEZ                 TX          90010918234
421288AA14B271   JEANNIE       JOHNSON                 NE          27005038001
4212914658B16B   NEOPOLO       URVAN-MORANO            UT          31077121465
4212935A84B271   NELSON        MARTINEZ                NE          27093353508
4212967725B242   STEVEN        LANHAM                  KY          90009666772
4212B114272B36   ANNA          JOHNSON                 CO          33081071142
4212B195A5B174   RUDOLPH       EAGLE                   AR          90013271950
4212BA38993794   CARIE         MALOTT                  OH          90014640389
4213232762B27B   AAMIRA        SUDAH                   DC          90008763276
42132339A3B32B   ANDREW        WILSON                  CO          90010413390
4213236495B53B   ANGELICA      TORRES                  NM          90014343649
4213262555B58B   BEVERLEY      ALLRED                  NM          35081376255
4213291874B25B   ROBERT        BROWN                   NE          90012749187
4213317A793794   TINA          CRAWFORD                OH          90014661707
421343A2193794   TIMOTHY       DUSSEAU                 OH          90010223021
4213444894B271   EUSTACIA      MOSS                    NE          27083774489
4213521455B222   SHANNON       GOSS                    KY          90005002145
42135794A91569   MARIBEL       PALOMARES               TX          75006797940
4213587AA4B934   VICTOR        GARCIA                  TX          90008178700
421364A9772B43   DONNA         LOBB                    CO          33008254097
4213667845B52B   LORENA        MENDEZ                  NM          36093316784
4213733552B259   LOLITA        PRENTICE                DC          81011033355
4213742A472B36   SHAUNNA       O KEEFE                 CO          90013194204
42137684A71999   MERCEDES      MAES                    CO          90005026840
4213821238B16B   JESUS SILVA   HERNANDEZ               UT          90011062123
4213853725B222   JUAN          ROSALES                 KY          90015215372
42138792172B36   BENITA        DE LUNA                 CO          33061377921
421389AA791351   BRANDON       ANFINSON                KS          29005089007
42139459A91351   JENE          KING                    KS          90012664590
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4213B252A2B27B   PASHAEL        TODMAN                 DC          90005182520
4213B847593767   LATISHA        CALDWELL               OH          90010618475
4213BA5575597B   JOHN           DEANDA                 CA          90012630557
4214143A391351   COREY          JAMISON                MO          90006424303
421415A815B53B   ELOISA         PERALES                NM          35072395081
42141618772B4B   BRENDA         AVILA                  CO          90010236187
4214261688B16B   CAROLINA       MOLINA                 UT          31081826168
4214298A68B185   WYATT          HADLOCK                UT          31038509806
42142A6285B58B   TRUJILLO       CYNTHIA                NM          35068510628
4214342A991569   JAVIER         MENDEZ                 TX          90014804209
42143953A5B174   FRANKLIN       MCGUIRE                AR          90006429530
42144679962B31   MARK           CHILDS                 KS          90012986799
42145752272B4B   BRITTANI       DEUTH                  CO          90011487522
42147676372B43   SALVADOR       ORTIZ                  CO          90008356763
42147738A62B31   DEENA          SEIFERT                KS          90014707380
4214792565B271   LATISHA        MALONE                 KY          68012259256
4214862A95B174   JANICE         ANDREWS                AR          90015266209
4214B9A335B52B   RUSTY          TAMBASCIO              NM          36024699033
4214BA78472B43   BENJAMIN       VILLALBA               CO          90013670784
4214BA79591569   DANILO         MURPHY                 TX          75097360795
4215117A15B52B   ARACELY        ENRIQUEZ               NM          36024951701
4215239565597B   CLARA          MC DOWELL              CA          49007933956
421526A8651383   RAMIRO         HERNANDEZ              OH          66065286086
4215355A88B165   TASHA          HAWS                   UT          90011025508
4215435A15B222   DAVID          POINDEXTER             KY          90009013501
42154541A61963   SELENA         HILL                   CA          90009425410
4215455A45B222   REEB           JOHN                   KY          90015185504
4215489835B53B   OSCAR          ROMERO                 NM          35091428983
4215512615597B   CARLOS         ALDERETE               CA          90012911261
4215552395B174   JULIO          ANGULO                 AR          90015465239
4215562575B58B   DANIEL LUJAN   TINA LUJAN             NM          90012166257
4215576855B254   GILBERT        JUDD                   KY          90006447685
4215632465B523   LILLIAN        BACA                   NM          90001443246
4215719A35B174   TIFFANY        SIMPSON                AR          90013151903
42158791372B36   JESUS          GONZALEZ               CO          90013837913
4215918A95597B   PERCILLA       MILLER                 CA          90012921809
4215936862B27B   CHARLENE       MONROE                 DC          90012843686
4215958875B523   JONATHAN       GARCIA                 NM          90006795887
4215976465B52B   MARGARET       GUTIERREZ              NM          90014127646
4215B369191873   SARAH          SOTELO                 OK          90014953691
4215B559172B36   IRENE          ROBERTS                CO          33071415591
4215B595191873   JESUS          GONZALEZ               OK          90013025951
4215B638A93794   AMBER          GEORGE                 OH          90014666380
4215B865A5597B   TAMMY          GAIL GARCIA            CA          49085918650
4216116718B16B   CARL           COLLINS                UT          31093271671
42161249672B36   CECILIA        O'JOHN-HERNANDEZ       CO          33058562496
42161356172B4B   MATTHEW        SMITH                  CO          90014573561
42161A31781627   TRACY          BOOKER                 MO          90011830317
42162163A72B36   JOAQUIN        CHAVEZ                 CO          90012391630
42162656124B7B   DIANNA         HARVEY                 DC          81057936561
4216295995B52B   RUBEN          SILVA LAGUNA           NM          36015899599
42163A67691569   DANIEL         VEGA                   TX          90015140676
4216498945B271   KENNETH        BROWDER                KY          90013649894
4216522275B58B   KEVIN          VALDEZ                 NM          35000972227
4216532398B165   ANDREW         MAWHINEY               UT          90014483239
42165A3685B52B   STIEVERAE      BACA                   NM          90004840368
4216618275B58B   CESAR          AMIREZ                 NM          90007241827
4216618618145B   CATIA          CUSTODIO               PA          90014661861
421673A6891873   DORGENA        HAWKINS                OK          90010613068
4216743685B58B   MAXIMINO       AYALA                  NM          90013494368
42168155A55939   LENORA         GARCIA                 CA          49020941550
42168397A72B4B   RICARDO        CALDERON               CO          90014173970
4216841315B53B   TERRY          EAST                   NM          35073444131
421686A5171999   DOLORES        HERNANDEZ              CO          90010056051
421697A2961967   BRAD           KRIBBS                 CA          90015047029
42169919962B31   JOSE           GARCIA                 KS          90012369199
42169A8A15B53B   JUANITA        MARTINEZ               NM          35080160801
4216B184425164   FABIAN         SANCHEZ                AL          90015231844
4216B445A5B53B   FRANCISCO      GUTIERREZ              NM          90013944450
4216B66395B52B   LEOBARDO       TORRES-ZAMBRANO        NM          90013436639
4216B672191351   IVAN           CRUZ                   KS          90010516721
4216B876161967   ANTHONY        BRITTINSHAM            CA          90003928761
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4216B87A62B27B   ROMARIO         ROBINSON              DC          90012228706
4217145465B53B   DOMINIQUE       GURULE                NM          90013944546
4217154974B551   PAYGO           IVR ACTIVATION        OK          90012355497
4217199635B523   VERONICA        SOLIS                 NM          90005969963
421728A935B52B   VALERIE         ULIBARRI              NM          90013588093
4217393A25B58B   NADINE          CRUZ                  NM          90011709302
4217397942B27B   PATRICK         AIKEN                 DC          90015209794
4217486615B174   TRAQUILLA       THOMAS                AR          90008108661
4217494A572B43   MELISSA         WHITMIRE              CO          90014619405
4217611415B53B   TRITINA         CHAVEZ                NM          90009531141
4217619985B52B   PAULINE         GARCIA                NM          90011391998
42176346272B43   OSCAR           ZAMORA                CO          90012793462
4217767945597B   ERICA           MALDONADO             CA          90014716794
42177797A2B27B   NAHUN           BLANCO                DC          90014777970
421779A965B53B   GERARDO         SAENZE                NM          35008049096
42178723A62B31   KENDRA          BRAUXSARD             KS          90013607230
4217924732B27B   DELICIA         BRAXTON               DC          90013922473
4217B579551334   CHERTANN        JENKINS               OH          90013455795
4217B853A5B174   MARIA           PAREDES               AR          90012238530
4217B857661967   LIZBETH         MORALES               CA          90009978576
42181131A41258   KEIONA          MERIDETH              PA          90004891310
42181489A61963   RODNEY          SANDERS               CA          90010494890
4218157318B185   GUSTAVO         LAKATOS               UT          90003265731
4218159745B52B   MOISES          TORRES                NM          90013905974
421818A725B53B   MARELYN         VELASQUEZ             NM          35093548072
4218265395B222   LILIANA         BREEDING              KY          90013696539
4218282965B53B   CHRISTOPHER     MORENO                NM          90010108296
4218296654B271   MICHEAL         CONNOR                IA          90010999665
42182A88391569   ESMERALDA       ATIENZO               TX          75053020883
4218359598B16B   JOEY            FLORREICH             UT          90006435959
4218415255B271   RAY             FOWLER                KY          68069771525
4218496A951383   ROBERT          FOSTER                OH          90008749609
42184A2638B352   MARIA           REYES MARQUEZ         SC          90013820263
42185726272B43   SERGIO          MARTINEZ              CO          90015497262
42185A96772B36   NICHOLAS        ABEYTA                CO          33078040967
42186142872B93   AMBER           WRIGHT                CO          90007081428
4218639A14B271   CARLOS          VILLANUEVA            NE          90009653901
4218666394B23B   SHERI           BAUCKE                NE          26046766639
4218667995B58B   ANDREW          SANCHEZ               NM          90012286799
42186879A72B36   JEFFERY         ROSENGARTEN           CO          33000268790
4218689685597B   KIANNA          FARFAN                CA          90013058968
42187338472B43   DAYSI           GARCIA                CO          90007673384
42187A14172B36   ANTONIO         DE LA O               CO          33083450141
42187A5A651334   ROBERT MANUEL   RODRIGUEZ MENDEZ      OH          90015110506
42188439A5B174   LARHONDA        SCOTT                 AR          90013674390
4218865415B523   MATILDE         ARIAS                 NM          90004246541
421897A255B58B   SYMONE          TSOSIE                NM          90009677025
4218B263261967   LOURDES         VALLE                 CA          90009202632
4219199545B174   LUCILLE         PATILLO               AR          23010899954
4219452455B271   WILLARD         SPLUNGE               KY          68033995245
4219461A55B58B   JOHN            GALLEGOS              NM          35009176105
42195394372B4B   GOTWALD         MISHA                 CO          90011353943
4219627365B271   TROY            BREWER                KY          90012702736
4219678265B174   ANTHONY         SPENCER               AR          90014327826
4219728664B566   MARIA           FRAIRE                OK          90008602866
4219747AA5B222   MARCELLUS       LORRICK               KY          90010064700
42197531A72B36   LAURA           MOORE                 CO          90014015310
4219785A75B53B   TOMASITA        GARCIA                NM          35076218507
4219798A891569   BRENDA          CONTRERAS             TX          75033869808
42197A51331566   CRAIG           RIPLEY                CO          90002030513
421998A2671999   CAROL           LAIGO                 CO          90009448026
4219B188361963   FREDDIE         P                     CA          46006801883
4219B36565B523   CATHERINE       WOOD                  NM          35084153656
421B2285572B43   MICHELLE        QUARLES               CO          33073572855
421B2A74661967   ROMAN           AVILA                 CA          90006840746
421B366884B271   JENNY           ZELAYA                NE          90014196688
421B433615B597   LUIS            GONZALES              NM          35000693361
421B4574291569   MARLINA         CARRILLO              TX          90003295742
421B4716961967   ARMAND          MOORE                 CA          90013947169
421B472475B52B   CARLOS          COY                   NM          90012627247
421B5586161963   CODY            BROWN                 CA          90013515861
421B5838293755   CHANDRA         SCOTT                 OH          90005868382
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421B6642257564   OLGA C       MORENO                   NM          35508476422
421B677284B271   ROSIE        BANDA                    IA          90011607728
421B6897247954   LEE          SOURJOHN                 AR          90012718972
421B716965B222   QUINTON      WOODS                    KY          90013481696
421B7312991873   CHANTELLE    WALDON                   OK          21063953129
421B733A791569   LUIS         LOPEZ                    TX          90008363307
421B7474851334   FREDRICK     BALLARD                  OH          90014614748
421B7A24161963   JOSE         TORRES-PEREZ             CA          46014680241
421B836335B523   LIZZETTE     FERNANDEZ                NM          35049183633
421B8433562B31   KERRI        SIMMONS                  KS          90013054335
421B8443491527   EVANGELINA   DIAZ                     TX          90003344434
421B8869971999   PAULINA      TORRES                   CO          90011078699
421B895225B53B   TERESA       BOYER                    NM          90013399522
421B8A13932586   DENAI        ANDERSON                 TX          90015160139
421B9A77962B31   EVA          DEAN                     KS          90013940779
421BB23615B52B   TIMOTHY      HIGGINS                  NM          90013672361
422119A7A62B31   DAN          HENDERSON                KS          90009189070
42211A1375B174   LUCY         WASHINGTON               AR          90012030137
422124A5371999   GERROME      MARTINEZ                 CO          90008554053
4221265AA4B271   CHERAL       POWELL                   NE          90014076500
4221364314B271   BRIAN        BALKOVEC                 NE          27041296431
4221461945B222   BRANDIE      HATTABAUGH               KY          90013226194
4221465845B58B   JAIME        MARRUFO                  NM          90006796584
42214776562B31   JOSEPHINE    MARLO                    KS          90011977765
42216567472B36   RONALD       BREWER                   CO          90012275674
42216A63391864   RESHONDA     LUSK                     OK          90013750633
4221784758B16B   FRANKLIN     ACEITUNO                 UT          90014478475
42217AA7772B4B   ALEXANDRA    FINK                     CO          90003550077
4221882432B87B   FELICIA      RENEE                    ID          90011458243
42218A33651334   CYNTHIA      KNUCKLES                 OH          90013360336
4221911432B27B   ANTOINETTE   COLEY                    DC          90013871143
422192A555B222   DIANE        HICKMAN                  KY          90013292055
42219729872B43   DEE          RIVERA                   CO          90015497298
422197A354B945   RHONDA       OREBO                    TX          76513957035
4221984A791547   FERNANDO     YANEZ                    TX          75095558407
4221B141991569   OSCAR        PALACIOS                 TX          75010401419
4221B521661967   CORRINE      JONES                    CA          90013035216
4222242642B27B   TYRONE       CRAWFORD                 DC          81057124264
422228A8151339   DORVON       SWEETEN                  OH          90014638081
4222323725B53B   JEFFREY      LOVATO                   NM          90011842372
4222367A75B52B   ANTHONY      TAPIA                    NM          90013096707
4222499458B16B   KELLY        ZUECH                    UT          90014389945
422249A7A62B31   DAN          HENDERSON                KS          90009189070
42225478872B36   RHONDA       ROACH                    CO          33032074788
4222862615B271   EARLENA      RICHARDS                 KY          90009246261
42228A15A42377   KENNETH      MOYER                    GA          90004100150
42229347172B4B   STEPHEN      WAYNE                    CO          90014043471
4222944422B87B   KIRK         GOODIN                   ID          41022704442
4222951232B27B   CARSON       ROBERTSON                DC          90013505123
422299A772B27B   CARSON       ROBERTSON                DC          90009369077
42229A5A54B271   DORIELEE     LIPPOLD                  NE          27091320505
42229AA425B52B   ALICIA       MARITNEZ-MACIEL          NM          36041110042
4222B497A5B53B   JEANETTE     TORRES                   NM          90013944970
4222B53558B165   ALBERT       WAYNE                    UT          90012095355
4222B63999185B   STEPHANIE    BOULWARE                 OK          21045786399
4222B73988B185   RONDELL      FARRELL                  UT          31062637398
4222B837A72B43   THERESA      GARCIA                   CO          33083108370
4223146835597B   ALEX         SANDOVAL                 CA          49056894683
4223193772B27B   FRANSICO     SANCHEZ                  DC          90015069377
4223281475B266   JEFFREY      MORSEY                   KY          90007988147
4223281979155B   ERIVK        RIVERA                   TX          90011518197
42232A41271999   LINDA RAE    STAMPS                   CO          90011080412
422333A1541235   DE LA CRUZ   HERNANDEZ                PA          90010243015
422336A3991569   CONSUELO     SEPULVEDA                TX          75014326039
42233A8A172B43   FELIX        ESPINO                   CO          33053670801
4223424112B27B   WENDEL       PRICE                    DC          90013692411
4223426195B52B   PERLA        MARRERO                  NM          36007522619
4223486495B174   KIMBERLY     HARVALL                  AR          90015598649
4223535A861967   JUAN         ACOSTA                   CA          90001343508
4223561A44B271   JEREMY       FRANKS                   NE          90014716104
422361A4A2B87B   NICHOLE      DOWNS                    ID          90010151040
42236974672B36   KEVIN        THOUTT                   CO          33036729746
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42237538272B36   DOUGLAS     LESLIE                    CO          33040775382
42237A76471999   NICOLE      PADILLA                   CO          90013730764
4223822A147954   RENEE       KIMBROGH                  AR          25018272201
4223831832B828   COREY       THOMAS                    ID          90013943183
4223849A561963   BRITTANY    WELLS                     CA          90012614905
422384A9A72B4B   HANNAH      MICHAEL                   CO          90013974090
42238862A5597B   CINDY       BAL                       CA          49060108620
42238958A72B43   PATRICIA    GONZALES                  CO          33023709580
422393A8A72462   RICKI       HUGHES                    PA          90002163080
4223941985B271   DEANNA      DANIELS                   KY          90012834198
42239696A61967   SANDRA      BRIGMAN                   CA          90013416960
42239A21672B43   MORAZA      ROSALBA                   CO          90010720216
42239A51A91873   VRIGINIA    CRAWFORD                  OK          90010170510
4223B244972B4B   CORINA      SERRANO                   CO          90011352449
4223B399993794   ERIN        BACK                      OH          90014803999
4223BA57A91873   SHARONDA    FOSTER                    OK          21090790570
4224139385B58B   EDUARDO     ALVARADO                  NM          90012923938
4224171125B523   REYNALDO    ARELLANEZ                 NM          90004247112
4224176639152B   JOSE        SANCHEZ                   TX          90001007663
42241A25561967   GRANT       DA SILVA                  CA          90010660255
422426A9A72B35   DELIA       MARQUEZ                   CO          33063296090
422436A9172B4B   MARISOL     GOMEZ                     CO          90010016091
4224392352B87B   CHAD        LEE                       ID          90012359235
4224397225B597   LOURDES     HOFMAN                    NM          35080819722
4224498455B58B   STEVE       SANCHEZ                   NM          35060149845
422457A5441258   CHERYL      FLANAGAN                  PA          51047597054
42245AA2791569   TERESA      JIMENEZ                   TX          90006350027
422461A242B828   KEN         WOODS                     ID          42039091024
4224646895B222   ELIZABETH   WILLIAMS                  KY          90009544689
4224725525B271   DAVID       TINGLE                    KY          90012322552
4224732995B523   FELIPE      AMADO                     NM          35017313299
4224799672B87B   KATILLIA    SWANEY                    ID          90005209967
4224836A171999   SHAUDEA     GUTIERREZ                 CO          38088993601
42248A51851334   BRYAN       LARKIN                    OH          90015110518
42249A1755B53B   ELIZABETH   BUENROSTRO                NM          35010630175
4224B162541258   PALMELA     MOORE                     PA          51043911625
4224B349272B43   CHARLOTTE   SHARP                     CO          33065413492
4224B37AA93794   VICKI       TORRES                    OH          90014813700
4224B427461967   SCHUPPERT   BRIAN                     CA          46065054274
4224B44815597B   JACQUI      WINN                      CA          49013314481
4224B68A25B52B   PATRICA     VILLEGAS                  NM          90013926802
4225135918B165   TAMARA      CALLAHAN                  UT          31071973591
42251A9848B16B   TAUSHA      DUFFIN                    UT          31028400984
4225252378B16B   GUSTAVO     CARRASCO                  UT          90011195237
4225376665B58B   DEBBIE      PADILLA                   NM          90006527666
4225395688B185   RINDA       CASTILLO                  UT          90006389568
42255439172B36   ROSALBA     MALTOS-CALDERON           CO          90005284391
42255566A2B87B   GRACE       BOLME                     ID          41003635660
4225571248B165   BRIGETTE    WHITEHEAD                 UT          90013447124
42256264772B36   JOSE        GARCIA                    CO          33013592647
4225652AA91351   GABRIELA    RODRIGUEZ                 KS          90011355200
4225815655B271   KENNETH     SQUIRES                   KY          90012711565
422591A3572B43   GERARD      CHACON                    CO          33035561035
4225968878B16B   LOREN       WILSON                    UT          31009046887
42259923A5B52B   JOHNY       NAVARRETE ESPERANZA       NM          36084929230
4225B287951334   ANTHONY     BROOKS                    OH          66032112879
4225B33162B27B   MELVIN      SHIRLEY                   DC          90012023316
4225B684151334   ANTHONY     BROOKS                    OH          90013586841
4225B829581691   CATHERINE   EDMONSON                  MO          90004068295
4225B8A834B271   CHARLES     BRONSON                   NE          90009838083
4226199A85B222   TRAYCE      JONES                     KY          90014459908
42261A5675597B   ANDRES      MADRA                     CA          90014450567
4226258415597B   SIDNEY      MEDINA                    CA          90014615841
4226298725B58B   PAUL        OLEARY                    NM          90013339872
4226327412B27B   IKEA        BANNISTER                 DC          90011342741
42263552A5B58B   LISSETTE    MELERO                    NM          90006795520
4226356225B597   PATRICIA    ALMANZA                   NM          35023995622
4226386135B52B   DONALD      GRIEGO                    NM          36045368613
422641A6191547   DANIEL      CORDERO                   TX          75097481061
4226457A161963   LEONARD     WILLIAMS                  CA          90013455701
42264A97351334   PABLO       HERNANDEZ                 KY          90000920973
422652A555B222   DIANE       HICKMAN                   KY          90013292055
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42265455172B43   KATHERINE   KARY                      CO          33040874551
4226563172B27B   DEBRA       SEARLES                   DC          81097186317
42266A4A751383   DANIEL      MORALES                   OH          66074090407
42266A8335597B   ELIJAH      WILKINS                   CA          90005310833
4226775AA91351   VERONICA    COVE                      KS          90015197500
42268967A51334   MEGAN       STEINER                   OH          90008049670
42268A19972B43   KHANI       THOMAS                    CO          90006820199
4226929412B27B   JENNIFER    ESTREMERA                 DC          90011782941
42269A3433B352   AMBER       HEGG                      CO          33087860343
42269A8192B87B   CARLA       MORALES                   ID          41007140819
4226BA76951334   DOUGLAS     WALKER                    OH          90014990769
4227196216B275   ANTHONY     CAUCCI                    AZ          90011849621
42272622572B4B   RAUL        PULIDO                    CO          33083466225
4227339454B271   TERESA      RISKOWSKI                 NE          27093913945
422734A335B271   ADRIENNE    WINKFIEL                  KY          90012844033
422735AA95B53B   ALEXIS      THOMPSON                  NM          90013945009
42274456A5B52B   JOSE        CARRILLO                  NM          90005044560
42275316A51326   MARIA       FRANCISCO                 KY          90008033160
422755A6662B31   BRITTANY    SELF                      KS          90013875066
42275934172B4B   ERICKA      VIGIL                     CO          33085499341
42276222A91351   JOSE        NAVA                      KS          29001982220
4227631A67B865   JOSE        MARTINEZ                   IL         90015573106
4227697595B523   MARIA       DE JESUS PEDRAZA          NM          35052879759
4227758A94B271   MENUEL      MAREZ                     NE          90007195809
42277A1745B271   MICHEAL     JACKSON                   KY          90014460174
422787A9A61963   TANYA       PASTOR                    CA          90010677090
42279451272B4B   BENILDE     BUSTAMANTE                CO          33027754512
4227955548B16B   MORGAN      BLATNICK                  UT          90012115554
4227972A261967   MARIA       FLORES                    CA          90012017202
4227B8A645B222   DANIELLE    JAGGERS                   KY          90012958064
4227B996A5B271   SHANNON     WEATHERS                  KY          90011169960
4227B999162B31   SHEEMA      WILKINS                   KS          90010259991
4228115A191569   KRISTIAN    ACEVEDO                   TX          90006021501
42281454772B43   CORINA      DONLEY                    CO          33036774547
422815A985B53B   RICARDO     GARCIA LUJAN              NM          90013945098
42281A6355B222   SHINICA     EDWARDS                   KY          90015600635
4228266395597B   AMPHA       INTHAKUMANE               CA          90011756639
42282852A47954   LINDA       KUYKENDALL                AR          25045618520
42283446A61967   FRANCISCO   OCAMPO GALEANO            CA          46061354460
4228392215B271   KIMBERLY    SAUNDERS                  KY          90010909221
42284217A5B52B   TANYA       POWELL                    NM          36026332170
4228437915B53B   RACHAEL     LUJAN                     NM          35069103791
422844A9261963   KARIANA     SALGADO                   CA          90012354092
4228479625B222   BRANDY      FRENCH                    KY          90010477962
42284A1A872B4B   VICTOR      RIVERA                    CO          33070640108
4228515784B271   JOSE LUIS   LOMELI -VALLIN            NE          90000261578
4228524357B377   AKPALOU     KUDIO                     VA          90000692435
42285A2338B165   CARLOS      RAMIREZ                   UT          90015030233
42286A7285B222   TEONDRA     MORRIS                    KY          68098660728
42286AA7A91873   BETHANY     MOORE                     OK          90011000070
42287223A5B52B   DESTINY     CHACON                    NM          90013372230
4228951994B271   RHONDA      MOSES                     NE          27044215199
4228977395B52B   JOEL        JARAMILLO                 NM          90012237739
4228995185597B   CLAUDIA     EWSPINOZA                 CA          49095349518
4228B478491527   ANA         OROZCO                    TX          90001504784
4228B52622B27B   RONESHA     THOMAS                    DC          81055325262
4228B5A785B53B   MATTHEW     CANGIALOSI                NM          90013945078
4228B68A25B52B   PATRICA     VILLEGAS                  NM          90013926802
4228B73215B271   SHELLEY     BURRUS                    KY          68032477321
4228B823391873   HECTOR      GONZALEZ                  OK          21094198233
4228B85725B58B   JESUS       BUSTILLOS                 NM          90014058572
4229128A751334   WILLIAM     KEOWN                     OH          90014962807
4229151655B53B   MICAELA     MARTINEZ                  NM          90013945165
42292A43862B31   MANUEL      ANDREWS                   KS          90012720438
42292A78772B43   GARY        RICHARDSON                CO          33053960787
422931AA35B52B   SAMANTHA    GUTIERREZ                 NM          90014741003
4229368455B52B   CYNTHIA     MONTOYA                   NM          36017616845
4229379545B222   TERRY       CHAMBERS                  KY          68008387954
4229395415B271   RUDOLPH     LALLA                     KY          68051139541
422956A7A72B43   CRYSTAL     FOUGHT                    CO          90008656070
422962A555B222   DIANE       HICKMAN                   KY          90013292055
4229719238B185   JOLANDA     BARAJAS                   UT          31004661923
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42297925972B36   ELIZABETH          LEER               CO          33032079259
4229829378B16B   CHARLYNN           ARGYLE             UT          31001222937
42298779972B36   ADRIANA            MARMIE             CO          33060357799
42298789A61963   OMAR               UMAYAM             CA          90013027890
4229988278B185   MARANDA            SMITH              UT          31024688827
4229B534791569   GABRIELA           VEGA               TX          90007645347
4229B721A51334   DAWN               REYNOLD            OH          90013087210
4229B77A75B53B   TERESA             MANQUEROS          NM          35034217707
4229B91335B271   AMY                WHITE              KY          90004449133
4229B92262B27B   BARBARA            ROBINSON           DC          90012959226
4229B923572B43   MARIE              BELL               CO          33079109235
4229BA3223B356   CYTHIA             CHEVARRIA          CO          33005960322
4229BA74A8B16B   GABRIEAL           BREWSTER           UT          90008590740
422B1518272B22   JERRYME            MORALES            CO          90005245182
422B2166691873   REGINALD           PHELPS             OK          90009071666
422B2248171999   DARRYL             JARAMILLO          CO          38093482481
422B2383A61967   NINA               KNOX               CA          90012603830
422B3167561963   SUSANNA            SWAY               CA          90003711675
422B357858B16B   MIKE               DELUNA             UT          31005405785
422B35A9672B36   EDIE               VALDEZ             CO          33090195096
422B363A95B597   ANGELA             MORALES            NM          90012156309
422B3754991873   LACY               KYSAR              OK          90002777549
422B3787893794   JOSH               HUMPHRIES          OH          90014717878
422B397145B388   MARIA DE LOURDES   FLORES             OR          90013219714
422B446215B53B   DONNIE             SMITH              NM          90015004621
422B45A9561967   MONICA             AVILA              CA          90013075095
422B487635B174   CHEYL              JONES              AR          90014778763
422B5265341258   VICTORIA           HOGE               PA          51090792653
422B582495B58B   BERNARDINO         ZARRAZOLA          NM          90012988249
422B5883271999   ROSALIE            JIMINEZ            CO          38045068832
422B648365B222   KIMBERLY           SCHAUS             KY          90012714836
422B64AA151348   HENRY              SAMUEL             OH          90013034001
422B76A745B271   EDWARD             MORRISON           KY          90011106074
422B82A4472B4B   RAYMUNDO           RODRIGUEZ          CO          90012642044
422B888722B27B   CALLER             UNKNOWN            DC          90013608872
422B88A5A61967   ANDREA             GARCIA             CA          90013948050
422B9287793794   ALLEN              GALLIHER           OH          90013782877
422B9391172B4B   DENNIS             ETTER              CO          33062043911
422B952A661967   RICHARD            LIPINSKI           CA          90014405206
422BB11A655939   OCTAVIO            CALDERON           CA          90012131106
422BB24388B141   AUBREY             RYDALCH            UT          90010622438
422BB71454B551   MARQUETTA          FUNDERBURK         OK          90009857145
423112A6672B43   JOSEPH             NUNEZ              CO          90012722066
4231157338B165   ADAM               GAMAR              UT          90007955733
42313738A62B31   DEENA              SEIFERT            KS          90014707380
423139A358B16B   JACARANDA          DELGADO            UT          90013969035
42313A8172B237   SAMUEL             MCFADDEN           DC          81043290817
4231414A15B597   ELIZABETH          VEGA               NM          35052441401
4231469895B52B   CRYSTAL            CANO               NM          90013726989
4231523262B27B   RODNEY             WOOD               DC          90009152326
42315548A55939   MADELYN            REYES              CA          90011305480
423159A824B271   LATESE             THOMPSON           NE          90001409082
4231644A591873   JESSICA            ALMADER            OK          90012134405
4231715165597B   CHRISTA            HORN               CA          90013621516
423174A215B271   PHYLLIS            PALMER             KY          90012254021
42317A78A8B185   JASON              JONES              UT          31030320780
423183A4261458   MICHAEL            WALDIER            OH          90014483042
423184A6491569   GABRIELA           GONZALEZ           TX          90002274064
423184A7471999   MARTIN             CHACON             CO          90014494074
423191A275B523   GABE               GUTTMANN           NM          35057901027
4231946A372B36   LESLIE             LEE ESPINOZA       CO          33046424603
42319A16362B31   GREG               BONTRAGER          KS          90014970163
42319A6825B58B   JAMES              ARMIJO             NM          90012090682
4231B37288B185   BOYD               DAVIS              UT          90011123728
4231B718A5B52B   ALICE              SENNOTT            NM          90010687180
4231B74632B87B   BRET               MINZGHOR           ID          41007327463
42321327472B43   DAVID              JOHNSON            CO          33008263274
4232162142566B   TENESHIA           CLEMONS            AL          90014586214
423217A7971999   LUPE               VALDEZ             CO          90012087079
42321939372B4B   ANTHONY            POLLARD            CO          90000659393
4232237618B165   DAVID              SATTERWHITE        UT          90013283761
42322435872B43   QUEENIE            JOHNSON            CO          90012884358
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42322649A72B36   LIBNY                MARTINEZ          CO         90009166490
423232A7991351   MARY                 GARCIA            KS         90015012079
423234A9872B36   LARON                YOUNGER           CO         33090814098
4232383278B165   SUZANNE              CHRISTENSEN       UT         31035578327
4232534415B271   CHRIS                JOHNSTON          KY         68044183441
42325A24A61963   LUCINA               GUERRERA          CA         90014340240
42325A45291569   MANUEL               ALVAREZ           TX         90010220452
4232617635B52B   MORAIMA              ARAIZA-PEREZ      NM         36078961763
4232657325B53B   JULIA                MARTINEZ          NM         90013945732
4232676498B165   BRYON                BROWN             UT         31047577649
4232698835B174   PHARANETTE           COLLINS           AR         90015159883
42326A35961967   JONATHAN             RODRIGUEZ         CA         90002710359
4232778735B597   JULIE                ESPINOSA          NM         90012637873
42327A5245B222   CONNEH               MOSES             KY         90009530524
42328A89672B43   WILLIAM              CANADA            CO         90013080896
4232944A185825   ONIEDA               FAULKNER          CA         90011654401
4232B146A5B271   PAOLA                HERNANDEZ         KY         90012661460
4232B229A5B58B   JACK                 GUTIERREZ         NM         35027522290
4232B753A76B22   OSCAR                DELGADO           CA         46069117530
4232BA5575597B   MACKENZI             BOLIN             CA         90015060557
4233118A161963   GILDA                MATAU             CA         90015081801
42331A43A8B165   JOHN                 DURFEY            UT         31001700430
4233242175B53B   GEORGE               SALAS             NM         90009094217
4233246735B222   MARISOL              REYES             KY         90013644673
42332679172B43   ELIZABETH            TREBILCOCK        CO         33031636791
423343A465597B   FERNANDO             CORONADO          CA         90010803046
423348A114B271   MICHAEL              COSTELLO          NE         27091608011
4233524A55B271   STACYE               OWEN              KY         90007882405
4233593A472B4B   JORGE                VELAZCO           CO         33052599304
4233598198B16B   COURTNEY             BARNES            UT         31044649819
42336197772B36   SHARON               MESTAS            CO         33013591977
4233711285B222   ANITRA               GUNN              KY         90013551128
423371A1172B43   MELISSA              GARCIA            CO         33038491011
42338673A5B52B   ANTONIO              RAMIREZ-CRUZ      NM         90000466730
42339183A61963   ESMERALDA            REYNAGA           CA         90011161830
42339216472B36   JUAN                 CORONEL           CO         33049202164
42339A22391569   ESTEBAN              MARQUEZ           TX         75086870223
4233B119472B36   MICHEAL              CARRILLO          CO         90011181194
4234112A79152B   GABRIELA             CABALLERO         TX         75092661207
423415A665597B   NICO                 URIAS             CA         90005395066
42341862272B36   DENISE               GANN              CO         33091578622
423419A838B16B   GINA                 MIYAGISHIMA       UT         90013969083
4234246528B16B   CHRIS                DELTORA           UT         90011604652
42344673562B31   DENNIS               STEWART           KS         90013816735
4234475222B27B   JOHNNIE              MCCALVIN          DC         90015357522
4234528145B523   LYNELLE              ROBERT TRUJILLO   NM         35017062814
4234569895B58B   ALLAN                SISSON            NM         35042936989
42346151124B7B   DARELL               BANKS             DC         90012851511
42346843A91351   DAUNTE               BENJAMIN          KS         90011098430
4234686324B271   MARIA                SUAREZ            NE         27000278632
4234723AA72B36   DEBARA               CHAVEZ            CO         90011842300
4234765595B271   P                    CARTER            KY         90007796559
42347894762B31   ASHELY ZOLMAN MATT   FRISBIE           KS         90005668947
4234816455B222   STACEY               CRABTREE          KY         90003451645
42348573924B6B   WILFREDO             ALDANA            VA         90002955739
42349287272B43   KAREL                NAVARRO           CO         90014652872
423492A5A5B259   ALICE                BRIDGES           KY         90013552050
4234992929152B   MANUEL               HERNANDEZ         TX         90011549292
4234B19665597B   AALIYAH              LANE              CA         90014601966
4234B27A151383   RAMON                MILLER            OH         66065952701
4234B763161967   ALEX                 TELESFORD         CA         90010217631
4234B95735B222   CHRIS                SUMMERS           KY         90013929573
4234B98AA61967   DEBRA                LANGE             CA         90013949800
42351184A61967   LILIA                RAMIREZ           CA         90012891840
42351259472B43   VICTOR DANIEL        GARCIA            CO         90014842594
4235214328B185   ELISA                COONES            UT         90007241432
4235215165B58B   JESSICA              QUESADA           NM         90011501516
4235246545B271   CANDICE              CLEMENS           KY         90003604654
4235254832B27B   ARIEL                CLARKE            DC         90014665483
4235346535B58B   STELLA               CREEK             NM         35026044653
4235424A55B271   STACYE               OWEN              KY         90007882405
4235434985597B   SAMANTHA             ZANUTO            CA         90009553498
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42354537A51383   JEREMY        JOHNS                   OH          90012695370
42355821A72B43   MANU          NOLEN                   CO          90014728210
4235698A78B16B   RICH          WANNER                  UT          90013969807
4235973452B27B   JESSICA       CREEK                   DC          81002517345
4235995472B828   EFRAIN        CALVILLO                ID          90001529547
4235B381561986   GILBERTO      GARCIA                  CA          90013043815
4235B836761967   OSEAS         SOTO VALENZUELA         CA          90010698367
42361239872B4B   MARIA         CASTILLO                CO          90002302398
423616A555597B   NORMA         ROMERO                  CA          90008346055
4236198AA61967   DEBRA         LANGE                   CA          90013949800
4236247727B49B   SHERRI        MCQUERY                 NC          11096154772
42363A1225B396   ANDREA        GREEN                   OR          90011230122
42364645A5597B   ALFADALIA     GARCIA                  CA          90014976450
42364819A5B53B   DOREEN        ARCHULETO               NM          35015948190
42365173872B36   CROCKETT      WESLEY                  CO          33085411738
4236522385B271   LASHAY        GAINES                  KY          68021112238
42365425A62B31   BRANDON       HUDSON                  KS          90013874250
42367181662B31   WILLIAM       SPIRES                  KS          90014731816
4236732398B165   ANDREW        MAWHINEY                UT          90014483239
42367A79A8B181   CURTIS        DAYTON                  UT          90012660790
4236827494B551   WILLMA        GIBSON                  OK          90008042749
42368671A72B43   RENE          LOVATO                  CO          90010016710
4236892745B222   BARBARA       THOMAS                  KY          68035489274
4236978535B271   ELIZABETH     SCHULTZ                 KY          90000227853
423715AA491351   ROCIO         VASQUEZZ                KS          90012825004
4237165472B87B   ENHANCED      RECONDITIONING          ID          90009656547
423716A6447954   SHAUN         MILDE                   AR          90001826064
423716A845B271   FERRELL       CASH                    KY          90012956084
42371A2242B27B   JAMES         HARRISON                DC          90010710224
42372A86A91569   GUSTAVO       REY                     TX          90013270860
42373422672B4B   VALENTINA     VALDEZ                  CO          90014494226
4237439695B222   JENNIFER      JONES                   KY          68048073969
4237531618B16B   KYLA          GRANT                   UT          90014603161
423755A124B271   EVELIN        CHAVEZ                  NE          90007585012
4237573815B523   MIRANDA       WILLIAMS                NM          90003327381
423762A4461967   PATRICIA      GOMEZ                   CA          90012782044
4237677678B165   CHRISTOPHER   JOHN                    UT          90015307767
4237781115B58B   MANUELA       MUNOZ                   NM          90010808111
4237827578B165   SKYLA         CARLSON                 UT          90000832757
42378434172B36   MICAELA       MARTINEZ                CO          90013984341
42378811872B43   MELISSA       ANTILLON                CO          90008998118
4237883135B174   KEENAN        LYONS                   AR          90013988313
4237966835B271   TERRI         JOHNSON                 KY          90003506683
423796A442B87B   GAMALIEL      WILLIAMS                ID          41078546044
4237B196961967   OLIVIA        HERNANDEZ               CA          90010061969
4237B656851334   RICARDO       CANDELA                 OH          66000096568
4237B999272B36   DORA          VASQUEZ                 CO          33025229992
423813A415B52B   GRISELDA      CAMPOS                  NM          90005563041
42381667272B43   JESSE         RENDON                  CO          90012926672
423816A6A5B174   GAYNELL       MARSHALL                AR          23039096060
4238246292B87B   FRANK         ROLLINS                 ID          41043794629
4238311195B271   MIRELA        OZEGOVIC                KY          90015201119
4238377665B53B   ARTURO        MENDOZA                 NM          90015087766
4238538258B16B   THAMAR        ARAVE                   UT          90008703825
4238587A872B36   JOSE          ROCHA                   CO          33011718708
4238591515597B   GUMERCINDO    CORDOVA                 CA          90011639151
42386186272B39   LAURA         BAKER                   CO          90006371862
42386A35A91569   MARCO         CAMARILLO               TX          75086860350
4238722A351334   JULUIS        MADER                   OH          66070592203
42387781362B31   MARIE         DEL RIO                 KS          90012777813
4238857325B53B   JULIA         MARTINEZ                NM          90013945732
4238916812B27B   JOANNE        GARLINGTON              DC          81058151681
4239121A291569   DANNY         GONZALEZ                TX          90011602102
423935A6662B31   BRITTANY      SELF                    KS          90013875066
4239389A58B185   YULIO         MARTINEZ                UT          90003288905
423938A828B165   ISMAIL        AHMED                   UT          90013688082
4239479552B27B   DAMIEN        DEMUS                   DC          90015087955
4239577398B185   MARIA         VILLASENOR              UT          31017007739
4239577445597B   AMANDA        JORGENSON               CA          90014527744
42395A16772B36   DELFINA       NIETO                   CO          33001870167
42396A3635B52B   VINCE         VIGIL                   NM          36010870363
42396A5945597B   CHELLA        MADRIGAL                CA          90012910594
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42397725372B4B   SALVADOL         SARINANA             CO          90014897253
4239851AA72B36   MARIA            ACOSTA               CO          90014825100
423989AA761963   ROBERT           LINDGREN             CA          46034379007
4239932314B271   GABRIELA         MORENO               NE          27077063231
4239996845B174   LAKEITHA         CLINGMON             AR          23065029684
4239B26172B27B   TELMA            COREAS               DC          90013922617
4239B37265B52B   JAMES            VALENCIA             NM          36072733726
4239B848A91873   LAMONT           QILLIAMS             OK          90012098480
423B1694191569   CARLOS           RETANA               TX          90006316941
423B188278B185   MARANDA          SMITH                UT          31024688827
423B1A5635B597   MAY              PEREA                NM          35096930563
423B1AAA15B222   STACI            STOUT                KY          68015390001
423B243335B222   LEE              PHOMMINH             KY          90010354333
423B248635B271   SEQUOIA          BROWN                KY          90012904863
423B2552561967   IRMA             WILLIAMS             CA          46040985525
423B263315B174   SANDRA           ANDREWS              AR          90015266331
423B3233693794   CINDY            DURR                 OH          90003342336
423B3342391873   JENNIFER         AUTEN                OK          90013333423
423B425A14B271   SALVADOR         FRANCO               NE          27016812501
423B4781362B31   MARIE            DEL RIO              KS          90012777813
423B5124891569   RAMIREZ          JUAN OMAR            TX          90006571248
423B5A51862B31   MANUEL           ALVAREZ              KS          90012370518
423B6873262B31   HECTOR           FLORES               KS          90005338732
423B7235872B43   LAUREN DARLENE   CORDOVA              CO          90013352358
423B745195B271   OSVALDO          GARCIA               KY          90014884519
423B7942261967   ROSALIE          MONACO               CA          90013949422
423B7984971999   KRISTERFER       HAWKINS              CO          90011349849
423B7986591873   MEGAN            OLMSTEAD             OK          90014799865
423B8157461963   ELIZABETH        HERNANDEZ            CA          46056631574
423B8836472B43   RENEE            CASIAS               CO          33088208364
423B9141872B36   MARKELIA         BANKSTON             CO          33009971418
423B953A75B52B   ERIKA            VALLES               NM          90015085307
423B9644331487   GWEN             GORDON               MO          90001206443
423BB824955947   JOSE             JIMENEZ              CA          90010768249
4241127578B165   SKYLA            CARLSON              UT          90000832757
4241131195B58B   KATHY            ULIBARRI             NM          35066923119
4241146242B87B   MATT             GROSS                ID          41010014624
4241194A45597B   VANESSA          SANTANA              CA          90011639404
4241272585B52B   LISA             DOFFLEMYER           NM          36082197258
42412795A8B185   KENNETH          WARREN               UT          31045207950
424127A3971999   BRENDA           GALLEGOS             CO          90014637039
42412A82361967   BLANCA           TRUJILLO             CA          90013950823
42413527924B7B   KEITH            MANNING              DC          90013675279
4241388295B597   VIVIAN           DENNARD              NM          90003928829
42413A81551325   JESSICA          KELLY                OH          90007370815
424141A7A5B58B   DORA             MARQUEZ              NM          35015351070
424142A9562B31   ARMANDO          GUEDEA               KS          90014002095
4241433628B16B   JEANIE           BIGHAM               UT          31058203362
4241586538B16B   TANYA            TERESA               UT          90010798653
4241586955B52B   RICARDO          HERNANDEZ            NM          90013328695
42415A21255939   DALIA            ARENAS               CA          90010510212
42415A65291569   GUADALUPE        OCHOA                NM          75008100652
4241615124B271   VICTOR           CHAVES               NE          90010811512
42416A9A95B222   VICTORIA         DILLY                KY          90008480909
424172A9562B31   ARMANDO          GUEDEA               KS          90014002095
42417344A61941   MANUEL           CASTRO               CA          90012603440
42417561A91569   GILBERT          SOTO                 TX          75096455610
42417A34672B36   MAGDALENA        OLVERA               CO          33074450346
42418A56941258   VICTORIA         WHITNEY              PA          90006260569
4241953712B87B   JUSTIN           FLORES               ID          90009945371
4241959512B27B   JOSE             FLORES               VA          81044035951
42419878A72B43   KATALINA         VEGA                 CO          90012928780
4241B346133145   JUAN             BARRERA               IL         90007203461
4241B376A8B165   MUSHTARI         NOORI                UT          90009483760
4241B53455B58B   BENITA           GARCIA               NM          90013825345
4241B955791351   KISHORKUMAR      GOHIL                KS          90011099557
4241B99385B58B   ORLANDO          ROYAL                NM          35012699938
4242255A15597B   ALICIA           HERNANDEZ            CA          90002515501
42422667272B4B   JACOB            YOUNG                CO          90012056672
4242288245B271   JOHN             MILES                KY          90012398824
42422951572B36   DOMINICK         FLORES               CO          90006049515
4242342232B87B   JULIA            MIDDLEMIST           ID          41002424223
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42423444672B4B   SARMIENTO        JAVIER               CO          90013484446
4242354422B27B   LATRICE          MOORE                DC          90012555442
4242549935B58B   PEDRO            ALONZO               NM          90011354993
4242583324B52B   ALPHONS          EFIOM                OK          21553798332
4242626198B185   STACY            IESE                 UT          31006482619
424262A822B27B   JACQUES          JERVEY               DC          90010912082
4242633398B165   JEANNETTE        BROWN                UT          90005153339
4242655895597B   RAMON            MEZA                 CA          90014805589
4242685A691351   RACQUEL          GONZALES             KS          90006568506
4242689125B174   MARIO            EVANS                AR          90014758912
4242713342B27B   LA ROYA          HUFF                 DC          81015991334
424277AA75B222   ARNOLDO          PEREZ CRUZ           KY          90007377007
42428297172B43   JAVIER           TORRES               CO          90010322971
4242837548B165   MONIQUE          SEARLE               UT          90010393754
4242886A461963   JORGE            LOPEZ                CA          90010398604
424295A918B165   LEILANI          ROSALEZ              UT          31050465091
4242B3A952B27B   TIERRA           YOUNG                DC          90013103095
4242B68565B271   WILLIAM          HILL                 KY          68028936856
4242B778255951   LURAY            SCHUSTER             CA          90013667782
4243125434B577   WENDELL          WILLIAMS             OK          90009172543
4243239234B23B   TRISHA           KOCK                 NE          90009193923
42432421872B36   MARIO            DEBONO               CO          90013434218
4243315712B87B   LOIS             THOMAS               ID          41092311571
42433246A51334   TANISHA          WARD                 OH          90013662460
42433593472B36   LORENA           ALVARADO             CO          33023965934
42433A3475B597   SUGEY            SILVA-HERNANDEZ      NM          35055690347
42434227862B31   ROSALINDA        HERNANDEZ            KS          90006312278
424344A655B222   TAKAYLA          SMITH                KY          90013044065
424348A1851383   AMBER            BROWN                OH          66011168018
4243514A272B4B   KATRINA          LASHELL              CO          90014481402
424351A575597B   JONATHAN         ORTIGOZA             CA          90012941057
4243575655B271   BETHANY          PURYEAR              KY          90004957565
4243591865B52B   JENNIE           TORRES               NM          90009639186
424363A792B27B   DEANDRE          FLETCHER             DC          81058973079
42436A67461963   SILVIA           CASTRO               CA          46011480674
4243751865B597   ANGELA           PINO                 NM          35086305186
4243757713B343   JUSTIN           HILL                 CO          33010675771
42437A1242B27B   DEBRA            PRESTON              DC          81028340124
4243836A751334   MIRANDA          JONES                OH          90013373607
424387A4891873   SUSIE            AL-TALL              OK          90011457048
4243881468B165   TESSA            PRAWITT              UT          31007098146
4243899945B52B   DEANA            ORTIZ                NM          90013139994
42439335A3B234   MARIO            HERMELINDO           DE          90015513350
42439A3A151383   COURTNEY         LONG                 OH          66078140301
4243B335761963   AARON            RICO                 CA          90013333357
4243B395871946   CASSSIE          BERNARD              CO          90013333958
4243B43A171999   DARICE           PORTER               CO          90014704301
4243B774172B4B   AURORA           CAMPOS               CO          33004587741
4244343588B16B   PAT III          LAVINE               UT          90014004358
424434AA35597B   ALEJANDRO        DIAZ                 CA          90012504003
42443A1A22B274   TUNA             MECIT                DC          81061100102
42445319272B4B   MARLENE          ZAHN                 CO          33041233192
42445549672B43   ABEL             PEREZ                CO          33028325496
4244635445B53B   ANASTACIA        GUINN                NM          35064573544
4244653455B58B   BENITA           GARCIA               NM          90013825345
4244746AA72B36   TAANI            AMMON                CO          90010734600
4244787845B222   JAMES            KREITMAN             KY          90007538784
42448492A2B87B   GARY             NEFF                 ID          90014504920
4244866825B52B   JOSE             GARCIA               NM          90010596682
4244963744B271   MARTA PATRICIA   RUBALCABA            NE          90013176374
42449A17772B36   ANTHONY          NICKS                CO          90012390177
4244B14938B185   CODY             BAKER                UT          90006751493
4244B29A591569   GUIADIAN         NANCY                TX          90006662905
4244B492672B43   BRIAN            POPE                 CO          33008274926
42451512624B7B   LESVIA           ALVARADO             DC          81070245126
42452285A91569   JOSE             SAUCEDO              TX          90008492850
424524A7781627   DENISE           NEWMAN               MO          90007924077
4245264A872B36   ANA              MARBAN               CO          90009836408
4245283932B87B   AUSTIN           LIMBERG              ID          90011558393
42453517A5B58B   LADELLA          WILLIAMS             NM          90011885170
4245358275B53B   EDGAR            RIGOBERTO CELIS      NM          35008935827
42453786472B47   MANUEL           TORRES               CO          90008777864
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4245378955B271   KATHERINE             RUIZ            KY          90011107895
424542A915597B   MONIQUE               PETERS          CA          49060222091
4245578364B543   DYON                  FITZGERALD      OK          90006467836
4245599528B16B   CHARLENE              YUEN            UT          90008569952
4245623835B271   COREY                 TYNES           KY          90013742383
42456497A91351   CRISTIE               SPORT           KS          90000364970
4245676835B53B   JOSE                  MOLINAR         NM          90010757683
42457178A72B4B   ALFONSO               PERES           CO          90008371780
4245731A951334   SANNIKA               WHITMIRE        OH          90013523109
42457616672B36   JON                   LACEY           CO          90005216166
42457741572B39   BROOKE                SERECKY         CO          90008557415
42457A32A55939   ANA                   NAVARRO         CA          90000770320
42457A7894B543   PETER                 BAGGINS         OK          90006460789
42458785672B4B   KALA                  GIVAN           CO          90014617856
4245925258B165   CINDY                 LICEA           UT          31042022525
4245955548B16B   MORGAN                BLATNICK        UT          90012115554
4245978A55B58B   YESENIA               DIAZ            NM          35081177805
4245BA68891873   BRISA                 ORTEGA          OK          90013840688
42461243A61967   MARTA                 RODRIGUEZ       CA          46055802430
42461377A91927   KEISHIA               JUSTICE         NC          90013813770
4246199995B58B   ANGELITA              SALAS           NM          35003499999
4246286675B597   RAZIEL                ACOSTA          NM          35000538667
4246338475B53B   APOLINAR              RUEDA           NM          90010023847
42463394A5B222   JESSICA               ROACH           KY          90005763940
4246347238B16B   LATOYA                FOOTRACER       UT          90013674723
4246396628B16B   CRUZ                  REYES VALLE     UT          90013969662
4246436A54B271   WENDY                 HEISER          IA          90012243605
42464659362B31   ZACHARY               DECKER          KS          90012586593
424648A9255939   CHRITIAN              NOVELA          CA          90010548092
4246573A15B58B   MARY                  GURULE          NM          35001057301
4246694858B16B   JARED                 FOWLER          UT          90011179485
42467877872B4B   JOSE GABRIEL          ROSALES         CO          90013168778
4246825982B27B   JOSE                  HENRIQUEZ       DC          90002762598
42468292872B36   EMILY                 WAKE            CO          90004192928
42468421272B43   LAURA                 BANUELO         CO          90013924212
42468668172B4B   DOUGLAS               GALLAGHER       CO          90012056681
4246971365B53B   ANNE                  ECONOPULY       NM          90012707136
4246B256151334   RAYMOND               FITZJARRELL     OH          66039912561
4246B27A95133B   STEPHANIE             MALONEY         OH          90004512709
4246B59525B53B   ROSEMARY              ORTEGA          NM          90014875952
4246B883A5B52B   ELIZABETH             MONTES          NM          36054178830
4246B926372B43   JUAN                  GOMEZ           CO          33083829263
4247137958B16B   JIMMY                 DANIELS         UT          90014273795
4247141955B174   TAMEKA                CUNNINGHAM      AR          90014854195
4247158A43B343   ADAN                  ESPINOZA        CO          90001205804
424715A918B165   LEILANI               ROSALEZ         UT          31050465091
4247171155597B   ASHLEY                DIAS            CA          90014517115
424719A6961967   ENRIQUE               LEDESMA         CA          46078209069
4247226958B185   KAREN                 TORRES          UT          31044422695
4247238475B53B   APOLINAR              RUEDA           NM          90010023847
4247292575597B   BRENDA                QUIROZ          CA          49065379257
4247325282B27B   SHANISE               HAMILTON        DC          90014852528
424751AA35B52B   SAMANTHA              GUTIERREZ       NM          90014741003
42475278A5B58B   DONALD                DUTCHER         NM          35093022780
42475368862B31   MEGAN                 DAVIS           KS          90006383688
424753A2151334   DESIREE               EDMONDS         OH          90010263021
424754A2761967   MONICA                SALAS           CA          90014744027
4247696835B53B   BIANCA                CHAUNCEY        NM          90012469683
42476AAA972B43   JEREMY                BERG            CO          90010950009
4247723484B271   TERI                  WEAVER          NE          90010992348
4247753835B53B   HORACIO               BELANGER        NM          35033575383
4247845538B185   MANDY                 NELSON          UT          31072524553
4247878475B271   NOELBIS               RUIZ RAMIREZ    KY          68018507847
42479397A8B165   ANGELA                JOHNSON         UT          31090613970
4247948118B16B   JUSTIN                WHETSTONE       UT          90014154811
4247948735B58B   CHARLIE CHRISTOPHER   HACKET          NM          90007274873
4247997A561967   ISAMAR                AYALA           CA          90014839705
4247B243162B31   LORI                  THIELEN         KS          90012602431
4247B43A872B43   KAREN                 GREGORY         CO          33015714308
4247B95795B52B   KARA                  REESE           NM          90012319579
42482726672B36   COLTON                CAPPS           CO          90013507266
4248322915B52B   MELISSA               MARTINEZ        NM          90011112291
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424835A9272B36   SHENA         REAVES                  CO          90012225092
4248391158B16B   DAVID         HATCH                   UT          90004519115
424842AA991873   MARAY         NAJERA                  OK          90007082009
4248475285B53B   ERIK          BEACHAM                 NM          90013947528
42484771A72B4B   SCOTT         LUKINOVICH              CO          33054677710
42486A53A71999   BRANDY        MCNAMARA                CO          90014370530
4248833858B185   CAMELLE       JONES                   UT          31063243385
4248833895B222   EDDIE         BRINSON                 KY          90015283389
4248846545597B   TXEEG         XIONG                   CA          90013494654
42488A41651332   PAT           HUEBNER                 OH          90000120416
42489189372B43   CINDY         GARWOOD                 CO          33088591893
4248946385B53B   LARRY         LUCERO                  NM          90012534638
4248B393A5B222   MELINA        RASGADO-JUAN            KY          90014793930
4248B497472B43   JAVIER        JUAREZ                  CO          90012574974
4248B995672B4B   STACEY        AMBROSE                 CO          90002979956
424912A265B222   KRISTIE       MCCLUNG                 KY          90010222026
424914A6961986   JOSE          ACOSTA                  CA          90013684069
4249173A772B36   DAVID         HERMANSON               CO          90009737307
4249187725B271   STEPHANIE     DAVIS                   KY          68077488772
424918A248B185   ANGELA        RICHMOND                UT          90003298024
42492349A5B52B   SALVADOR      BALDERAS                NM          90013573490
4249264546182B   JOHN          COPPERFIEL               IL         90015496454
4249346A45B52B   MARY          CASAUS                  NM          90011894604
42493619772B4B   DONNA         WOODWARD                CO          90009846197
4249625914B271   NANCY         WHITE                   NE          27090932591
424968A5372B43   ADRIENNE      BARTLEY                 CO          90012278053
42496AA6671999   FRANCES       ARANDA                  CO          90012870066
4249725748B16B   SETHU         MATHAN                  UT          90010102574
4249762692B273   LAWENCE       JORDEN                  DC          90008626269
42497787A21637   ANGEL         CENTENO                 OH          90008757870
424983A1351337   DAVID         NEAL                    OH          90004053013
4249867854B271   LISA          MILLS                   NE          27095596785
4249868545B53B   SAMANTHA      PEREZ                   NM          90013946854
4249915A172B43   LIDIA         BRAVO                   CO          90010711501
4249917212B27B   GREGORY       TERRY                   DC          90010491721
4249976628B16B   KIM           GARSIDE                 UT          90007117662
4249B49285B222   ETSUKO        ELLIFRITS               KY          90015584928
4249B6A722B27B   KATERI        CLIFTON                 DC          81016816072
4249BA5662B87B   KATHERINE     COLOSIMO                ID          41011410566
424B1314131673   PATTIE        SCHWAB                  KS          90008863141
424B1725461963   CYNTHIA       PEREZ                   CA          90007497254
424B217915B271   JAMES         PORTER                  KY          90006741791
424B21A594B271   CHRIS         GLADDEN                 NE          90014091059
424B226635B52B   SONYA         MONCAYO                 NM          36034662663
424B26A1493794   BRIAN         WALLACE                 OH          66048946014
424B2984A91569   MARAIANA      VASQUEZ                 TX          90013339840
424B3518A72B43   JONATHAN      MARTINEZ                CO          90015275180
424B363832B87B   SARAH         LEE                     ID          41035466383
424B3882A91873   SHAMEKA       GILMER                  OK          90008518820
424B411595B174   RHONDA        CLARK                   AR          23067661159
424B431952B27B   CHRISTOPHE    REDING                  DC          81034153195
424B431A78B16B   IVY           DAVIS                   UT          31072963107
424B442755B222   MARTIN        GUZMAN                  KY          90012184275
424B466A472B33   RANDY         CASTILLO                CO          90012856604
424B471525B271   MARIA         LUIS                    KY          90012897152
424B4986391873   JERRY         LUNSINGER               OK          90003069863
424B4A57961967   MIGUEL        RAMIREZ                 CA          90013950579
424B4A93171999   CONRAD        GUERRERO                CO          38088390931
424B687448B185   RIKI          HEILBUT                 UT          90005398744
424B718AA5597B   MOISES        NAVARRO                 CA          90003541800
424B7475972B4B   CHRISTOPHER   TILLMAN                 CO          90013094759
424B7698A61963   MANUEL        GARCIA                  CA          90014096980
424B7819A5B53B   DOREEN        ARCHULETO               NM          35015948190
424B7AA912B87B   CHRIS         WIMMER                  ID          41080230091
424B8262872B43   ROXANA        PERLERA                 CO          33065622628
424B8442861963   JOSHUA        LUNA                    CA          90014754428
424B8897191569   JOHNNY        LUNA                    TX          90012268971
424B893A65B222   LATRESCA      GREEN                   KY          68078269306
424B944735B174   MARIA         JONES                   AR          23074234473
424B968A161967   VERONICA      ZENON                   CA          46023966801
424B971A58B185   ARIEL         NORIEGA                 UT          31004737105
424BB37964B271   JEFFREY       WILLIAMS                NE          90014723796
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424BB42825B58B   SHANNON          ONEAL-BROWN          NM          90013304282
424BB483861967   MICHELE          FITZGERALG           CA          90013124838
424BB512791569   TIMOTHY          BRAGG                TX          90010275127
424BB97258B185   JULIE            PULSIPHER            UT          31007219725
425115A3461963   TIA              FUQUA                CA          90000165034
42513135572B36   MARIA            ALVARADO GALLEGOS    CO          90011431355
4251316685B222   MIKE             JOHNSON              KY          90015461668
425135A9A72B36   CHRISTINA        HILTON               CO          90010105090
4251384144B271   MANDY            BLACKBURN            NE          90003578414
4251411A291873   ROBIN            HALL                 OK          90009561102
42514148A8B16B   BRYAN            SIMMONS              UT          90008571480
425147A9891569   VERONICA         HERRERA              TX          90012647098
4251483A38B165   DISTAD           STEVEN               UT          31004788303
4251531865B222   LANISHA          BANNOM               KY          90006553186
4251574392B87B   DANIEL           SHEPPERD             ID          90001577439
425164A188B16B   PAUL             DOUGLAS              UT          90003464018
42516845A51555   ASHCEON          KLINE                IA          90013888450
42516AA785597B   ANGELIC          LIGTFOOT             CA          90005100078
42517155A91873   APRIL            HARGIS               OK          90001251550
4251751A68B16B   DAVID            LOPEZ                UT          31003895106
4251757385B377   KEELER           BICKNELL             OR          90007725738
4251771226195B   BRENT            GILLESPIE            CA          90006907122
4251855A191569   RODRIGUEZ CANO   GIL                  TX          90014815501
42519462A9185B   MISTY            HAMILTON             OK          90013904620
42519624A47954   MARION           WARNER               AR          25092846240
4251B73965B271   ANTHONY          GARDNER              KY          90008847396
4251B83254B271   JENNIFER         RIOS                 NE          90014968325
4251BA98972B36   ANGELA           FUENTES              CO          33018410989
4252147255B222   JOHN             MOORE                KY          90015074725
4252152364B271   KRISHNA          RAI                  NE          90008695236
4252167635B222   PRINCE           GAYE                 KY          90013696763
425232A7641455   LYDIA            LOPEZ                WI          90011822076
4252342145B53B   RACHEAL          GONZALES             NM          90012634214
4252355548B16B   MORGAN           BLATNICK             UT          90012115554
42523832A2B27B   JOSE             REYES                DC          90015178320
4252468884B271   TYLER            STEFANSKI            NE          90012776888
4252523212B27B   MAYRA            BLANCO               DC          81057662321
42525A5635B271   GARY             LEE                  KY          90010050563
4252617AA5B52B   JOSE             SERNA-GUTIERREZ      NM          36063881700
4252621975B58B   AMY              GALLEGOS             NM          90004212197
42526587472B4B   RANDY            GOMEZ                CO          33089995874
4252677615B597   FRED             CHARETTE             NM          35040817761
4252772555597B   FRANK            JACOBO               CA          90014537255
4252817195B53B   CORNELIA         NORTEY               NM          90010191719
425282A3272B4B   DANIEL           HOSKER               CO          90010292032
4252B145772B4B   ALEXIS           ROMERO               CO          90014811457
4252B338861963   BARRY            TOWNSEND             CA          90012463388
4252B747872B43   TIM              DANIELS              CO          90003047478
4252BA34372B43   TIM              DANIELS              CO          90013030343
4253212A272B4B   MIGUEL           PICAZO               CO          33007411202
4253336215B271   MICHAEL          PLIATT               KY          90010323621
4253365A48B165   PHILLIP          GIBBONS              UT          31085976504
42533692A55939   SARA             LYNN LEE             CA          49094616920
42533883472B25   JAMIE            M CONNELL            CO          90014508834
42533A5326182B   STEPHANY         DAVIS                 IL         90015370532
42534111A24B64   JUNE             GOODWYN              DC          90013451110
4253431245B271   HELEN            PALMER               KY          68051053124
4253438935B174   MARICELA         DIAZ                 AR          90013563893
4253457915B222   KANISHA          LOVE                 KY          90003405791
425355A2A5B597   ADRIANA          ANGEL-MAGANA         NM          90001685020
425357A345B53B   ARTHUR           ARCHELETTA           NM          90013947034
42535A79355939   SUAAD            ALAWID               CA          49077580793
425363A245B52B   ANTHONY          MARTINEZ             NM          90011023024
425368A4472B36   CELENE           BARRAZA              CO          90014808044
42536A2382B87B   TERRYN           BOVILLE              ID          90010940238
42536A61961963   WANNETTA         DAVIS                CA          46069500619
4253737985B52B   EVA              PONCE                NM          90010023798
4253765472B87B   ENHANCED         RECONDITIONING       ID          90009656547
4253956A972B4B   ERIC             PHELAN               CO          33002745609
425399AA151334   SHEILA           BUDNEK               OH          90004489001
4253B97574B271   KENNETH          BAKER 2ND            NE          27081479757
4253B98225599B   SUZANNA          MARTINEZ             CA          90005009822
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4254154526195B   LAURIE        DWILTITE                CA          90012615452
4254168A72B27B   CYNTHIA       ATCHISON                DC          90012566807
4254297335B53B   JOSE          GARCIA-MORENO           NM          90010199733
4254397A684322   DANIEL        BARRIOS                 SC          90013519706
425441A6A91873   SHANNON       ARNOLD                  OK          90013841060
42544372A41258   GAIL          FREEMAN                 PA          51089733720
425446A4861963   WASH          LAUANA                  CA          46060346048
42544747972B36   IRVING        URIBE                   CO          90012787479
4254487922B87B   ADAM          WESTRUM                 ID          90000678792
42544A61A55939   LUIS          JARAMILLO               CA          49001580610
4254524AA91569   JAVIER        IPOLITO                 TX          90010712400
4254547882B27B   LYNETTE       ADKINSON-SMITH          DC          90014424788
4254573766B925   VICTOR        SANDERS                 DE          90015417376
42545A31451383   YOLANDA       WILLIAMS                OH          66025340314
42545A53891569   GLORIA        MITCHELL                TX          75059580538
4254631A85B53B   ANTHONY       SANDOVAL                NM          35091423108
4254633958B165   DIANA         ALVARADO                UT          31058933395
42547112872B4B   JOSE MANUEL   CLEMENTE                CO          90010371128
4254824848B165   JAMES         NORTON                  UT          31062722484
425485A1671999   JEREMIAH      WHITE                   CO          90013305016
4254871395B53B   SAMUEL        HERNANDEZ               NM          90013947139
4254B239A62B31   SUSAN         MANION                  KS          22015312390
4254B34A98B185   MILENE        MONTALVO                UT          90010283409
4254B43733619B   MARIA         GREEN                   TX          73551664373
4255192265B58B   NORMA         GARZA                   NM          90015049226
4255336344B271   CHRISTINA     STOVER                  NE          90002303634
4255481A572B43   CHRIS         MBUGUA                  CO          33074798105
4255492434B271   MARIA         GOMEZ                   NE          27034229243
42554934572B4B   JUAN          PAIZ                    CO          33074389345
42555228472B36   CHALORA       BODY                    CO          33008002284
42556128A5B58B   YENISEY       ROCIO                   NM          90012431280
4255658A672B4B   STEVEN        IMHOF                   CO          90013015806
4255667AA5B174   GLORIA        SHELTON                 AR          90010256700
42557215676B64   ELIGIO        VALDEZ                  CA          90008742156
4255774658B16B   JOSE          CANSTANEDA              UT          90006147465
4255791812B27B   TEONNA        LOCKHART                DC          90000459181
4255791972B27B   DOMINIQUE     WILLIAMS                DC          90013839197
42557A3555597B   ALEJO         CALIHUA                 CA          90010030355
4255828145B52B   DIANA         SOTO                    NM          90001372814
4255841A45B58B   EMILIO        DOMINGUEZ               NM          90013334104
42558A59591351   EMILIANO      ESPARZA                 KS          90002270595
42559815472B43   ARTURO        BONILLA                 CO          90002598154
42559874772B36   REBECCA       SAXON                   CO          90014908747
4256147354B271   BRITTNEY      DAVIS                   IA          90014224735
425631A5871999   STACY         MARTIN                  CO          90012231058
4256352588B165   STEVEN        SMITH                   UT          31091155258
4256389835B523   HOPIE         HUERTA                  NM          90004218983
4256393865B222   BETH          FIGUEROA                KY          68097769386
425645A6A91569   GUILLERMO     PRIETO                  TX          90012945060
4256478785B551   JONATHAN      MOLINAR                 NM          90012347878
4256512788B125   JAN           ALLEN                   UT          31089541278
4256578145B58B   MARCOS        HERRERA                 NM          90012067814
425659A9241258   CLIFFORD      GREENE                  PA          90005529092
425664A9161967   ROSELYN       CRUZ                    CA          46077504091
42567114172B43   VERNON        HILL                    CO          33008281141
4256728112B27B   BERNARD       JACKSON                 DC          90005242811
42567492272B36   MARTINA       CHAVEZ                  CO          90012454922
42567A47272B35   BERENICE      ECHAVARRIA              CO          90009460472
42567A66172B35   CHRISTOPHER   VALENCIA                CO          90004100661
4256912785B52B   RIGOBERTO     ALFARO                  NM          36014381278
4256943A555939   ANTONIO       MENDEZ                  CA          49035304305
42569562972B43   DAMIAN        CLARK                   CO          90004085629
4256998187B362   JOSE          HERNANDEZ               VA          90010779818
42569A3269152B   JOSE          TORRES                  TX          75058680326
4256B87985B52B   JENNIE        FIERRO                  NM          90014098798
4256B9AA151334   SHEILA        BUDNEK                  OH          90004489001
4257128325597B   JUAN          GUZMAN                  CA          90002182832
42571359572B36   AMERICA       ESPARZA                 CO          90000413595
4257211765B52B   HUMBERTO      MORENO                  NM          90013381176
4257231765B222   LEANDREA      JOHNS                   KY          68036233176
4257251325597B   MIGUEL        CORDOVA                 CA          90014895132
4257318175B53B   HARRISON      BEGAY                   NM          90015271817
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4257455A88B16B   COREY        CHIDO                    UT          90013245508
4257458A361963   DAMIAN       VELASCO                  CA          90015195803
42575256A91869   KELLY        STOWE                    OK          90001222560
42575536272B4B   LUIS         ARROYO                   CO          90010405362
425783A4972B36   ANA          ARGUJO                   CO          90007713049
42579787A5B52B   HUGO         BALCORTA                 NM          36064967870
4257998955B53B   SHERI        CROXFORD                 NM          90012539895
4257B6A678B16B   JODI         STEFFENSEN               UT          31001456067
4257B746A9152B   MARIA        LOPEZ                    TX          75008857460
4257B94564B979   VINCENT      JORDAN                   TX          90011169456
4258153595B53B   JUSTIN       HURST                    NM          90013965359
4258167194B271   BRET         HAUPTMAN                 IA          90013636719
4258167265B58B   TARASINA     WALLOWINGBULL            NM          35050616726
4258174176B275   DEBRA        ERICSON                  AZ          90014187417
42581918A5B58B   TARASINA     WALLOWINGBULL            NM          90013259180
425822A485B52B   ADONIAS      MENDEZ                   NM          90014682048
42582A1445597B   ERNNESTO     GUTIERREZ                CA          49007240144
42582A87591351   MELVIN       AGUILAR                  KS          29018110875
4258316982B685   KEVIN        PERKINS                  WA          90015281698
4258356745B53B   RODRIGUEZ    DESIREE                  NM          90008035674
4258358625597B   HEYDY        BENITEZ                  CA          90001735862
4258416AA5B222   LUZ ESTELA   GONZALEZ                 KY          90007351600
42584424772B36   GILBERT      SANDOVAL                 CO          33027904247
4258469365B222   REBECCA      MCDANIEL                 KY          90014386936
42584A59372B4B   CESAR        QUEZADA                  CO          90008060593
4258526545B53B   ANTONIO      LUCERO                   NM          35015262654
425852A3291873   CHAMIKKA     SLOAN                    OK          90010482032
42585413172B36   MICHAEL      RICCI                    CO          33089934131
42585A5835597B   KRYSTIN      GAMINO                   CA          90005120583
4258649145B53B   DAYL         LARSEN                   NM          90011524914
4258679135B222   JESUS        FERIA                    KY          90012267913
425878A6A61963   JANETTE      CARILLO                  CA          90014628060
4258915A872B36   RACHEL       STUTT                    CO          33090291508
4258968A72B27B   CYNTHIA      ATCHISON                 DC          90012566807
4258998135B174   SIERRA       WELCH                    AR          90012789813
42589A9138B185   LANCE        WININGER                 UT          90005930913
4258B31635B58B   JOSEPH       BACA                     NM          90013533163
4258B328691873   DAVID        CROSS                    OK          21054623286
4258B37918B16B   GUILLERMO    ROMERO                   UT          90003483791
4259175412B27B   ERIK         BOYD                     DC          81044927541
42591771172B43   YOSHVI       CELAYA ZAVALA            CO          90007227711
425919A2841258   KIMBERLY     MANGANARO                PA          51047059028
42592626672B43   OTHONIER     GOMEZ                    CO          90004926266
4259299535B222   JAMAL        MILKI                    KY          90014559953
42592A8A18B165   CURTIES      ADY                      UT          31075210801
425934A2672B36   TIMOTHY      KELLEY                   CO          90012544026
4259365A761967   VANESSA      RIOS                     CA          46052036507
42593A7258B185   WENDY        SIFUENTES                UT          31064030725
4259444475B222   ARIELL       ARIELL                   KY          90015534447
4259535A45B58B   DAVID        MOYA                     NM          90008973504
4259541375B53B   MARCO        ARROYO                   NM          90009194137
4259759795B254   JEFF         BOX                      KY          68047355979
4259812865B271   JENDRY       MOLINA                   KY          90015201286
4259813285B597   LEOPOLDO     OROZCO                   NM          35085641328
4259848A171999   NICICOL      SOTO                     CO          90013044801
4259932A85597B   NESTOR       GUERRERO                 CA          49027783208
42599762472B36   CAMELIA      DEEZ                     CO          90010157624
42599A7878B165   TAMI         SCHERWINSKI              UT          90005180787
4259B18118B16B   JENNY        CLARK                    UT          90001521811
4259B2AA55B597   MARCELINO    LUCERO                   NM          90008532005
4259BA77991873   AKIA         WAGONER                  OK          90000540779
425B1148161967   DAVE         DELANEY                  CA          90013951481
425B1542491873   LORENA       SILVERIO                 OK          90003105424
425B2343191351   LYNNETTE     FOULK                    KS          29003663431
425B239AA55966   JOSE         LUIS YANEZ               CA          90012043900
425B283575597B   MODESTA      REYES                    CA          49063848357
425B314AA5B53B   LEEANN       ROBINSON                 NM          90006161400
425B3495372B4B   ANITA        R CISNEROS               CO          90013314953
425B3935371999   JOEL         CARPENTER                CO          90009089353
425B41A9A72B4B   JAMES        BROWN                    CO          90000721090
425B41AA85B597   ASHLEY       SEITZ                    NM          35040911008
425B443639196B   LATIA        COFFIELD                 NC          90012324363
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425B469774B52B   HAROLD      DEJEAR                    OK          90011466977
425B4A6275B58B   LARA        LAURA                     NM          90014210627
425B5657191351   NIKI        BEAL                      KS          29030396571
425B6581591873   PAUL        BROTHERTON                OK          90010805815
425B6641884393   JESSICA     MOORE                     SC          90014486418
425B6733931497   ANN         MCLAUGHLIN                MO          90006947339
425B684A461963   SANDRA      ZEIGLER                   CA          46070998404
425B74A9172B36   KEVIN       BELTON                    CO          33082354091
425B7596147954   RICHARD     STOUT                     AR          25076445961
425B75A575B271   YUSRA       HASHI                     KY          90012475057
425B7945361963   NICK        LOPEZ                     CA          90010359453
425B799995B58B   ANGELITA    SALAS                     NM          35003499999
425B82A435597B   GILDARDO    VARGAS                    CA          90010692043
425B9598391351   TABITHA     NORRIS                    KS          90013165983
425BB14565B271   BRUCE       DELRON                    KY          68006131456
425BB149761967   ANDREA      GRIFFIN                   CA          90011191497
425BB1A155B174   JAN         PARKER                    AR          90013331015
425BB482872B36   TEREZA      AGUILAR                   CO          33013594828
4261113232B87B   MATTHEW     COTTON                    ID          90014511323
4261134348B165   GLORIA      PRADO                     UT          90011063434
4261137918B16B   GUILLERMO   ROMERO                    UT          90003483791
42611583A91873   EDILZAR     CORONADO                  OK          90011995830
426116A834B271   DAVONCHE    SMITH                     NE          90015146083
4261187515B58B   UNEA        LOPEZ                     NM          35078678751
4261191868B16B   FRANCISCA   RIVAS DIMAS               UT          90013599186
42611AA1361967   VENESSA     GONZALES                  CA          46092070013
4261261444B271   KEVIN       SMITH                     NE          90015146144
42614A35857127   OSCAR       BONILLA                   VA          81010260358
4261567575B174   ISRAEL      ORTIZ                     AR          90007326757
4261587A48B16B   LEVI        WILKS                     UT          90004328704
42615A8915B222   JUAN        WORDLOW                   KY          68006680891
4261625A95B174   FREDDIE     JOHNSON                   AR          23089062509
4261642A15B53B   DEANN       JONAS                     NM          90011664201
4261649A472B36   EDWARD      HARVEY                    CO          33027994904
42618441A51334   MONIQUE     THOMAS                    OH          66002544410
4261857345B174   MARK        PARKER                    AR          90014905734
4261871158B165   CORY        MACKEY                    UT          90013167115
426187A295B52B   JOANNA      ALVAREZ REYES             NM          36001097029
42618A3A98B166   MIKE        TROY                      UT          90005020309
4261937225B174   JERRI       BRADDIX                   AR          90008883722
42619533A61967   THOMAS      HITCHCOCK                 CA          90014405330
4261B42375B271   JASON       CLEMENS                   KY          90007884237
4261B597586453   FILADEL     ROSAS                     SC          90015355975
4261B624251334   JAMES       MAIDEN                    OH          66042416242
4261B647771999   EDIE        RODRIQUEZ                 CO          90000816477
4262129792B27B   LAKEISHA    HUBBARD                   DC          81016402979
4262175A891873   YESENIA     RODRIGUEZ                 OK          90009677508
4262222835B58B   LIZETH      CASTRO                    NM          90004242283
4262265495597B   CESAR       RAMIREZ                   CA          90004366549
4262328355B174   ANNETTE     HAMPTON                   AR          90000272835
42623A56155939   LISA        SILGUERO                  CA          49016410561
4262413745B526   ADRIANA     ESTRADA                   NM          35094231374
4262536828B16B   CHUCK       BERGSTROM                 UT          90012153682
4262582588B165   JONATHAN    MILLS                     UT          90008458258
42625894A72B43   SIERRA      ALCALA                    CO          90012868940
4262612195B58B   MARGARET    TORRES                    NM          90005331219
4262612842B87B   AMANDA      LAMOTHE                   ID          41057181284
4262647268B16B   KEVIN       MCARDLE                   UT          90011834726
426267A9572B43   CIRE        BROWN                     CO          90009347095
426279A827B463   ALEJANDRO   BONILLA                   NC          90008759082
4262817365B174   ELISHA      ROBINSON                  AR          23007141736
4262845835B52B   MARISSA     BACA                      NM          90012294583
4262858318B185   ROGELIO     SIERRA                    UT          31052455831
426287A5691351   MANUELA     MORALES                   KS          90012307056
4262921AA61963   ELIZABETH   WHITTINGTON               CA          90013322100
426296A3A61963   ANN         WHITTINGTON               CA          90008286030
42629A1692B27B   LATISSA     TATE                      DC          90014800169
426319A165B271   DENIEL      SHOW                      KY          90010319016
4263216732B921   TONY        ORTIZ                     CA          45076681673
4263266847B646   NICHOLE     BASKIN                    GA          90007356684
4263294495B53B   SHANNON     LEYVA                     NM          35040659449
42632A3838B185   TRISHA      BELL                      UT          31016350383
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42633A7A34B543   PAM           SHORT                   OK          90007930703
42634528372B36   MALCOLM       WALKER                  CO          33086895283
4263464294B271   THERESA       MANGIAMELI              NE          90007836429
4263584488B16B   KIM           SMITH                   UT          90013268448
42635993372B36   ERIKA         MAGDALENO-TORRES        CO          90012969933
426364A655B174   CHAD          JACKSON                 AR          23093504065
4263664775B271   KAYLYN RENE   KING                    KY          90006276477
4263695A771999   KEVIN         WASHINGTON              CO          38026099507
4263856315B53B   RAY           MAESTAS                 NM          90014715631
4263995768B16B   SCOTT         BUTTARS                 UT          90011179576
4263B15995B174   CAYLUM        WILSON                  AR          90008131599
4263B778761967   NELLY         CANEDO                  CA          90013047787
4263BA5885B53B   SARA          CAMPOS                  NM          35073370588
4263BA61257148   FATIMA        LOPEZ                   VA          90014860612
4264145375B58B   THOMAS        MORROW                  NM          35080324537
4264154A972B36   ALEXANDRE     VINCENT                 CO          90011895409
426417AA791569   JONATHAN      MARTINEZ                TX          90011477007
42641A65591873   FOUSTO        RANGEL                  OK          90013670655
42642358772B36   MAX           GARCIA                  CO          90011463587
4264238A261967   LISA          MOORE                   CA          90013953802
42643153172B43   HAYLEY        MONROY                  CO          90001441531
4264511448B16B   DONNA         ELLIOTT                 UT          90013971144
42645A1334B546   STELLA        THIERRY                 OK          90011450133
42645A16172B4B   ALEJANDRO     GUZMAN                  CO          33053620161
4264842865B174   NATHAN        WILMOTH                 AR          90014534286
4264883995B271   JOHN          LOUCKS                  KY          68088108399
4264898875B222   PATRICIA      VAZQUEZ                 KY          90014689887
426489A115B52B   JOSEFINA      BARRAZA NAJERA          NM          90012379011
4264911448B16B   DONNA         ELLIOTT                 UT          90013971144
4264994695B222   NICOLE        HARRISON                KY          90011339469
42649A35961945   DAVID         HERNANDEZ               CA          90013530359
42649A8785B174   MOSOLENE      HANFT                   AR          23081540878
4264B1A5A8B16B   MARIA         OLVERA                  UT          90013971050
4264B34395B58B   MARI          ALEXANDER               NM          90007473439
4264B624A8B165   ISIDRO        MIRAMONTES              UT          31090976240
4264B84275B271   RHODA         HAWKINS                 KY          90007648427
4264B924191873   TIMOTHY       RIGSBY                  OK          21010949241
4265242584B271   KENDRA        LOWERY                  NE          27020894258
426526A8172B36   LAURA         SHAPIRO                 CO          33032116081
4265289A25B58B   SHAUNA        PERALTA                 NM          90006648902
4265334668B165   CAROL ANN     LUNDEEN                 UT          90013003466
42653863A71999   TRACY         MADRID                  CO          90007388630
4265393A891351   KARLA         HERNANDEZ               MO          29095739308
42653A5175B52B   JAIME         PENA                    NM          90012870517
4265444332B27B   JANAY         COPELAND                DC          90014554433
42654861372B36   RODOLFO       HERRERA                 CO          33042558613
426557AA57B824   MARA          FLORES-APAEZ             IL         20516167005
4265645872B27B   WILLIAM       CLARK                   DC          90009204587
4265698A761963   OLGA          FLORES                  CA          90010489807
42657426572B43   DEAN          WATTERS                 CO          90014884265
4265898195B52B   ALEJANDRO     GOMEZ                   NM          90011329819
42658AA715B222   DASMIN        SHAMELL                 KY          90014360071
4265995682B27B   JULISSA       DE LEON                 VA          90008079568
4265B485161967   ZENEN         PONCIANO                CA          90010864851
4265B782691351   MANUELA       JAIMES                  KS          90008057826
4265B791272B36   MARIA         ROMAN                   CO          33025077912
4265BA6354B271   VICKY         CARLSON                 IA          27014300635
42662158A7B386   DIONETH       PARLAZA                 VA          90000801580
42662163A2B87B   LUKE          HALLS                   ID          90011571630
4266249462B27B   LENORA        HARDY                   DC          90014724946
426633A7891351   HEATHER       STAPLES                 KS          90006153078
426633A7A55939   ESTHER        ANGUIANO                CA          49076763070
4266356532B87B   KYM           AVRIETT                 ID          41026095653
42663767A5B53B   KENDRA        BRADY                   NM          35053897670
4266385385B222   SHON          TALBOTT                 KY          90007468538
426639A145B52B   MICHELLE      LUCERO                  NM          90011119014
42663A15161963   SILVIA        MARTINEZ                CA          46051460151
42664727772B36   AMANDA        DAVIS                   CO          90014367277
42664A2645597B   MARIA         JARAMILLO               CA          90015600264
4266549672B87B   CHAUNTEL      ROLLINS                 ID          41079104967
42665523A8B16B   JORGE         PÉREZ                   UT          31081615230
426656A5851334   SANDRA        LONG                    OH          90012916058
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42666383A2B87B   LOPEZ        DIANA                    ID          41064033830
42666A52691873   REGINA       GEETER                   OK          90012370526
4266745175B174   INGRAM       MURPHY                   AR          90014654517
42667666A5B222   SAMUEL       ADAMS                    KY          90015276660
4266784645B58B   VICKIE       HERNANDEZ                NM          35057928464
42667A84A5B523   GLORIA       BUSTILLOS                NM          35057230840
42668432A61967   ARENDA       WILSON                   CA          90007904320
426684A155B52B   EDDIE        MEDRANO                  NM          90013814015
4266872545B222   LISA         PARSONS                  KY          90014767254
42668A58161963   MICHAEL      DELAGRAVE                CA          46016750581
4266927592B27B   LAKENDRA     NELSON                   DC          90012862759
4266B317241258   JESSICA      HEILMAN                  PA          51015823172
4266B4A265B174   KASHRAYLA    FOLEY                    AR          90014914026
4266B673A5597B   ROBERT       MONTALOV                 CA          90014876730
426713A5A91569   JOSE         GONZALES                 TX          90009763050
4267165A35B52B   JESSICA H    HORTON                   NM          90014876503
4267216135B174   ANGLE        STANLEY                  AR          23086861613
42673432A61967   ARENDA       WILSON                   CA          90007904320
426746A2A5B523   MICHAEL      VARGAS                   NM          90003336020
42675879A91569   IRENE        MITCHEL                  TX          90012368790
42676AAA951336   LAURA        SIGUENZA                 OH          90014210009
4267841832B87B   DAVID        GIOVANELLI SR.           ID          41096734183
42678A55461967   FERNANDO     CASTRO                   CA          90014000554
42678A5555B271   LAMAR        BRUNSON                  KY          90013930555
4267982A75B53B   ADRIANA      REANO                    NM          90013948207
4267989885597B   VANESSA      ZAVALA                   CA          90013058988
42679977772B4B   MATT         WALL                     CO          90012369777
4267B1A778B16B   BRIAN        PARKER                   UT          90012951077
4267B3A5451334   DEONTE       WILLIAMS                 OH          90014483054
4267B45355B58B   NOEMI        GARCIA                   NM          90010094535
4267B45795B52B   SILVIA       DIAZ                     NM          90010434579
4267B49A85B53B   DARRYL       GEORGE                   NM          90014554908
4267B98A25B174   ANTHONY      FARISA                   AR          90013539802
42681122A91873   JOE          COOPER                   OK          90013841220
4268153955B222   BRITTNEY     CAUDILL                  KY          90015435395
42682286224B7B   LUIS         TREJO                    VA          90006292862
4268243AA91569   MARIA        RODRIGUEZ                NM          75003384300
4268295995B523   MATILDE      CASILLAS-GARCIA          NM          35033189599
42683192A91873   ADOLFO       DAVILA                   OK          90015001920
4268395795B52B   JOSEPH       MARTINEZ                 NM          90010899579
42683A47671999   ANASTASHIA   BUENO                    CO          90012600476
4268581A55B53B   BIANCA       CANO                     NM          90010108105
4268614488B185   SUSANA       BERNAL                   UT          31016101448
426861AA961967   ZENA         ELLA                     CA          90006951009
42686684A72B36   CELINA       MIPRIETO                 CO          90012916840
4268677A172B4B   BRENDA       JACODO                   CO          33054017701
4268756647B646   NATHANIEL    GOLDWIRE                 GA          15097895664
42687852772B43   ELI          AGUAYO                   CO          90007808527
4268851A28B185   JUSTIN       ABBOTT                   UT          31046005102
426888A5691945   SHANIQUIA    DEGRAFFENREIDT           NC          90012398056
4268969925B58B   ASHLEY       GARZA                    NM          90014886992
42689AA2755939   RONALD       RUBY                     CA          49080240027
4268B44478B895   CHARLES      ODOM                     HI          90014114447
4268B49742B27B   VINCENT      DIXON                    DC          90014724974
4268B966691873   AMBERLY      ROGERS                   OK          21005499666
42691319A5597B   ERVEY        MANCILLAS                CA          90009593190
42691763972B36   THOMAS       CLARK                    CO          33006707639
42691769A91351   BRIAN        CARMODY                  KS          90009297690
4269226935597B   DARRIN       THOMPSON                 CA          90011642693
42692A65272B4B   VICTORIA     QUINTAVALLE              CO          90012240652
42693514872B36   REBECCA      POPE                     CO          90011685148
42693719A91351   STEPHANIE    BUTLER                   KS          90012527190
4269391A951334   TAMMI        KELLY                    OH          90009769109
4269431A68B165   ENRIQUE      CORONA                   UT          90013893106
42694856672B36   RUBEN        PEREZ                    CO          33059688566
4269511725B53B   PAUL         MALTOS                   NM          90013381172
42695323A72B4B   UNKNOWN      STEVEN E WILLIAMS        CO          33013453230
426956A518B165   LOVELY       TUAKALAU                 UT          90014726051
426965A8173264   CAMILA       OLIVOS                   NJ          90015445081
42696A78A5B174   KEISHA       NEELY                    AR          90010980780
4269722965B53B   RAMON        PACHECO                  NM          35073792296
4269744144B547   JOHN         WELCH                    OK          90010224414
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4269847765B271   KENYOTA         COLEMAN               KY          90003114776
4269B31318B16B   MARIA           GARCIA                UT          90008573131
4269B32954B271   MICHELLE        HAUGER                NE          90014153295
4269B662471999   ROBIN           VAUGHN                CO          90014096624
4269B6A2A5B523   MICHAEL         VARGAS                NM          90003336020
426B1A12785968   BRANDY          BECKSTED              KY          90014740127
426B2147272B36   YUREN           OLIVAS                CO          33087441472
426B267324B271   ANGELA          COLLINS               IA          27060806732
426B321585B222   D               FIELDS                KY          90015192158
426B3316872B43   DIEGO           CARMONA               CO          90012313168
426B3364972B36   MARCO           MUNETON               CO          90014993649
426B3368424B7B   ALEXIS          WILLIAMS              DC          81004573684
426B3398451334   REBECCA         HERNANDEZ             OH          66093193984
426B4372471999   TRISH           MONTOYA               CO          90007583724
426B4987172B43   JIM             GIBSON                CO          33042829871
426B517315B58B   LUIS DAVID      PEREA                 NM          90015121731
426B73AA691873   JOEY            JACKSON               OK          21014753006
426B777A471999   JUAN            SANCHEZ               CO          38008067704
426B794A15597B   BILL            ROCHA                 CA          49004619401
426B7A33861999   MARIA           BORBONIO              CA          46047880338
426B841675B174   GREGORIO        GONZALEZ              AR          90005484167
426B8584991873   ZANE            TRISLER               OK          21026295849
426B867618B165   NANCY           BETZING               UT          31089826761
426B8695151383   MELISSA         COMBS                 OH          66039356951
426B9148661963   LETICIA         ARMENTA               CA          46077341486
426B947825B58B   NAYELI DEVORA   BARRON                NM          90007044782
426B986134B271   COAUDIE         LAIZURE               NE          27092398613
426BB33835B174   RACHEL          MONROE                AR          90014453383
426BB36537B463   JOHN            IAFRATE               NC          90001553653
426BB68A791569   LOUIS`          THOMAS                TX          75003786807
426BB928891873   MARISA          SAMUEL                OK          90001689288
42711477172B4B   MICKEY          MARTINEZ              CO          33045454771
427116A155B52B   JUAN            PENA-VEGA             NM          36057986015
4271229A691569   LUZ             MOLINA                TX          75061082906
4271252825B58B   FABIAN          HARTNELL              NM          90004225282
4271253588B165   BEVERLY         JORGENSEN             UT          90015165358
4271264615B523   ELEANOR         ARCHIBEQUE            NM          35049826461
4271269235B597   CHRISTINA       HIGGINS               NM          90013746923
4271276195B174   ANDREW          LORD                  AR          23091817619
42712A9885597B   CHERIE          CRUZ                  CA          90003920988
4271364A951354   KENDRA          JONES                 OH          90010666409
4271437252B87B   AYRIANNA        STAR                  ID          90014743725
4271455692B828   SHARI           WILSON                ID          90009675569
427149A325597B   RONALD          NETTLES               CA          90001299032
42715581A5B53B   ANGEL           JARAMILLO             NM          90013955810
4271753455B58B   BENITA          GARCIA                NM          90013825345
427176A4972B36   GREG            KAZMIERSKI            CO          90010036049
42717AA2661963   ERIC            GRANT                 CA          90001770026
42718814372B47   THOMAS          ACCARDI               CO          90013148143
4271881555B52B   EVER ARMAN      LEMUS                 NM          36066728155
4271894878B185   JEANNIE         YEITER                UT          31088309487
42719687972B43   KARINA          LUCERO                CO          90010666879
42719A5A372B4B   FRANK           MAESTAS               CO          33041880503
42719AAA555927   LETICIA         LOPEZ                 CA          90010060005
4271B125672B36   LINDA           PADILLA               CO          33034201256
4272121395B174   DNESHA          ELLIS                 AR          90012722139
427214A6371999   AMANDA          MONTOYA               CO          90003594063
42721927172B43   ALADIA          LEDKINS               CO          33072839271
4272246895B174   TYRONE          ALLISON               AR          90011174689
4272259489126B   JESSICA         HODGES                GA          90012035948
42722AA1451348   IRA             GANSLER               KY          90012100014
42723A19361967   LONELL          BUTLER                CA          90013970193
4272449132B879   ARLETHA         ROGERS                ID          90009984913
4272546A441258   RHONDA          DAVID                 PA          90010574604
427254A3672B4B   NORMA           MENDEZ                CO          90013774036
42725571572B43   MARISSA         ESPINOSA              CO          33085265715
4272733685B222   IDOLQUIS        RODRIGUZ              KY          90006963368
42727491272B43   MARQUS          DANDRIDGE             CO          90012334912
42728477A9373B   ROBERT          HYLAND                OH          90011814770
42728A3685B52B   STIEVERAE       BACA                  NM          90004840368
42728A58471999   NATHAN          HOPE                  CO          90013760584
4272911575B174   HERMINIA        ORTIZ                 AR          23059851157
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427295AA561963   ESPIRIDION   ORPILLA                  CA          90014425005
4272B15394B271   THERESA      LOVE                     NE          27038401539
4272B466272B33   JOSE         CASILLAS                 CO          33004494662
4272B46982B27B   TINA         PAIGE                    DC          81016114698
4272B64615B523   ELEANOR      ARCHIBEQUE               NM          35049826461
42731692472B4B   JENNIFER     TUCSON                   CO          90011146924
4273176335B52B   MITCHELL     MERLE                    NM          90006927633
42732A21A91569   CLAUDIA      MENDEZ                   TX          90014830210
4273353554B271   LASHUNDA     BLACK                    NE          90008425355
42733866A91351   RAUL         PAREDES                  KS          90012438660
42733A9418B165   RICK         FOX                      UT          90012180941
4273439722B27B   ALONZO       LONG                     DC          90014113972
4273545675B58B   HUGO         CORRAL                   NM          35085264567
4273626515597B   VINCENT      GOMEZ                    CA          90014632651
4273629344B271   MARIA        CARRANZA                 NE          27083942934
42736859672B43   LINCE        PEREZ                    CO          90012928596
4273987345B58B   OLGA         SANTILLAN                NM          35023938734
4273989135597B   ANGELICA     RAMOS                    CA          90010368913
4273B48A45B174   CANDIE       BEATTY                   AR          90003204804
4273B567691569   NEFERTITI    OJEDA DE ENRIQUEZ        TX          90015115676
4273B664891873   TOMMY        ANDERSON                 OK          90010086648
427426A4A4B271   ELIZABETH    MARTINEZ                 NE          90013456040
4274274945B52B   CANO         JOSE                     NM          90011717494
4274286255B52B   EDISON       BLANCO                   NM          36084508625
42742899A71999   DOMINIC      DIAZ                     CO          90004358990
42743117A61963   VICKI        CHARM                    CA          90010421170
4274356A38B16B   ALEX         TAYLOR                   UT          90013065603
4274362235B58B   CHRISTINA    QUIROZ                   NM          35001916223
4274378182B27B   JOYCE        DICKENS                  DC          90005607818
427438A5A5B53B   STEPHEN      SLUDER                   NM          90013988050
4274414685597B   JESUS        LOPEZ                    CA          49075511468
42744241A4B583   ANDREA       STAMPUL                  OK          90007672410
427443A585B174   ISIDRO       HERNANDEZ                AR          90011643058
4274458A15B597   EVELYN       VENTURA                  NM          90005735801
42745647A97124   RACHELLE     HOWARD                   OR          90005796470
4274675A15597B   VIRGINIA     FLORES                   CA          49095227501
4274742865B52B   MIRNA        VALERIO                  NM          90013234286
4274878983B356   DEMBA        SACKO                    CO          33015297898
4274946125B52B   NAOMI        JAMES                    NM          36083934612
42749631172B36   LAWRENCE     SOUTHALL                 CO          33055406311
4274B126161963   JOSE         RODRIGUEZ                CA          90011011261
4274B1A485B52B   OLGA         RODRIGUEZ                NM          90015111048
4274B51A461967   ERIKA        MURILLO                  CA          90013955104
4274B659661976   ALICIA       BLACKMAN                 CA          46015046596
4275119195B52B   JORDAN       JAQUEZ                   NM          90010311919
427513AA391351   ELVIRA       SIMPSON                  KS          29072773003
4275247285B597   SHAWNTAY     WIGGINS                  NM          35097904728
4275267788B165   REEDER       KIMBERLY JO              UT          90007416778
42752693272B43   MARIA        MENJIUAR                 CO          90013966932
427527A275B58B   IVA          MEYER                    NM          90009427027
4275328385B174   JASMIN       HARRIS                   AR          90012082838
4275343598B16B   MACKAY       JOHN                     UT          90008574359
42753546A5B53B   MARINA       ARREEOLA                 NM          90014825460
42753A54991569   MELISSA      RODRIGUEZ                TX          90007840549
4275442885B52B   WILMER       ALVARADO                 NM          90012884288
42754773A93768   BRYAN        MCCOWANE                 OH          90012527730
42755269272B4B   JASMINE      ALSARDI                  CO          90011002692
42755553A91569   JUAN         PRIETO                   TX          75019055530
4275559375B53B   KIMBERLEY    TODD                     NM          90012545937
4275577825B523   LINA         JAMES                    NM          35085497782
42755A2658B185   RILEY        BIGELOW                  UT          31016140265
42756274476B21   DANIEL       DENNIS                   CA          90007142744
427562A185597B   BRIAN        DIKEY                    CA          90005462018
4275636148B16B   APRIL        RYNOLDS                  UT          90012893614
427568A6961967   VERONICA     DIEGO                    CA          90011638069
4275695432B27B   RAVEN        THOMAS                   DC          90011189543
4275715735B174   FREDA        BAKER                    AR          90014711573
4275753715B52B   ADRIANA      VELETA                   NM          36053685371
4275962A671999   STACEY       MANNING                  CO          90007616206
42759A5425B58B   MELINDA      VALDEZ                   NM          90014830542
4275B4A8472B36   MICHELLE     WOOD                     CO          33032124084
4275B87535B53B   HILARY       BACA                     NM          90013948753
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4275B8AA85B174   BRITTNEY     GUNNELLS                 AR          90014778008
427611AA391569   LETICIA      HOLGUIN                  TX          90011291003
42761271472B4B   LIDIA        MARTINEZ                 CO          90008192714
4276224A58B16B   HECTOR       HERNANDEZ                UT          90013972405
4276271365B222   JIMMY        JACKSON                  KY          90014777136
42762815A72B36   JAMIE        HENRY                    CO          90014668150
42763767224B7B   LATASHA      JONES                    DC          81007797672
4276377165B52B   MARIA        TAVAREZ ORNELAS          NM          90014107716
4276389218B165   DAN          CONLEY                   UT          31084928921
42764252A8B185   VANESSA      LOWNDES                  UT          90002012520
4276446445B58B   MICHAEL      LUCERO                   NM          35066774644
42765A13A72B43   MARIA        MUNOZ                    CO          90011470130
42767521A61967   REINIER      BRENES                   CA          90013955210
4276871415B52B   LUPE         MARQUEZ                  NM          36043117141
427696A967B497   KOLITA       WILLIAMS                 NC          90007466096
42769A2A25B271   SHAWN        FOREMAN                  KY          68042720202
42771474A93794   JOSE         ORTIZ                    OH          66049264740
4277177915B222   TONY         STILLWELL                KY          90004347791
4277196618B165   SHELLIE      BARTON                   UT          90015129661
4277277A65B271   MEGAN        WILLIAMS                 KY          90014117706
42772782172B36   MARK         LAURIE                   CO          33048647821
42772953A62B31   MADELINE     BURNS                    KS          90008159530
42772A6787B394   PAUL         AZUMAH                   VA          90001480678
42773A4855B52B   SABINA       PENA LUJAN               NM          36096090485
4277435735B53B   LULU         VALENCIA                 NM          35064343573
42774415172B4B   ALYSSA       VIPOND                   CO          33007864151
42774756A5597B   JUAN         PINEDA                   CA          90007417560
42774793A91569   ROBERTO      ORTEGA                   TX          90012357930
4277485244B592   NOEL         MIRELES                  OK          90011228524
4277539942B27B   DIAMOND      MITCHELL                 DC          90014923994
4277572655B52B   DAVID        TAPIA                    NM          36088797265
42776423A5B35B   JUDY         FISHER                   OR          44547034230
42776884472B47   ANTHONY      SAMPLE                   CO          90010508844
4277749422B27B   TONY         MORRIS                   DC          90013254942
427774A7991569   ANDREA       MATAMOROS                TX          90009354079
42777A9A75B174   MELVIN       HARDING                  AR          90008460907
42778546572B43   RUTH         WHITE                    CO          33048725465
4277854A961967   CRUZ         TOMAS MONTEJO            CA          90013955409
4277887975B53B   ANGELITA     CARDENAS                 NM          90013948797
4277894925B597   MARIA        GARCIA                   NM          90004609492
42778A5535B174   SHIRLEY      BLAKLEY                  AR          90015040553
4277985758B165   DIANA        MELO                     UT          90014428575
4277B159991569   SERGIO       JALIL                    TX          75088161599
4277B9A1951334   FRANCIS      LOPEZ                    OH          90007339019
42781283A5B523   DORINA       ORTIZ                    NM          90004272830
42781958A72B4B   SHARAE       HOBLEY                   CO          90011999580
42782289872B36   BRIANN       BANDIERA                 CO          90009762898
42782861172B36   SANDRA       EDWARDS                  CO          90014088611
4278341625B58B   ALBERTO      SILVA-LUA                NM          90010774162
4278412995B271   TANYA        SNELLEN                  KY          90005841299
4278444A65B222   CHRISTINA    JOHNSON                  KY          90014224406
4278474985B52B   FLOR         DIAZ                     NM          36003437498
42784A92572B43   ROVERTO      RASCON                   CO          33046950925
4278525538B16B   ANGIE        NIELSEN                  UT          90000232553
4278664165B271   SHANE        BOWLES                   KY          90014506416
4278699177B347   SANTOS       SALMERON                 VA          81064439917
42786A5954B271   SHANE L      GRAHAM                   NE          90015000595
4278716995597B   AUDREY       ROSALES                  CA          90013311699
4278798248B165   TONY         AMIJO                    UT          90007609824
42788A5115B52B   SALMA        HUERTA                   NM          36045480511
42788AA5761967   TODD         FAIRRLEIGH               CA          90012910057
4278969328B16B   GABRIELA     BASTIDAS                 UT          31002476932
42789893372B43   BETHANY      MUNOZ                    CO          90007998933
427898A6A5597B   ROSE         WILLIAMSON               CA          90009238060
42789A62A5B174   SHACARA      LEWIS                    AR          90015170620
42789A9555B52B   GLENIN       SABILLON                 NM          90013220955
4278B24578B16B   BEATRIZ      RODRIGUEZ                UT          90013972457
4278B694751334   KEVIN        MASON                    OH          90014906947
4278B71A861963   MARIA        ELVESTER                 CA          90003987108
4278B92992B87B   LAUCHARA     HUMBIRD                  ID          90003209299
427918A7441241   ROBYN        DIETERLE                 PA          90005308074
42792429A61963   MANUELRENE   AREVALO                  CA          46011654290
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427927A845B52B   AZUBITH     VILA                      NM          90012177084
4279287AA4B271   THOMAS      KIMBERLY                  NE          90005118700
4279355968B16B   JOEY        DAVIDSON                  UT          90013015596
4279497322B27B   VINCENT     TYREE                     DC          81013679732
42794A55472B36   JOHN        CARTER                    CO          90007840554
4279528A172B43   REFUGIO     VILLANUEVA                CO          33094422801
4279546672B961   CARMEN      ROJO                      CA          90015004667
4279546675597B   MARIBEL     MATA                      CA          49003994667
42795468276B48   LUIS        GUZMAN                    CA          90011834682
4279568815B222   JELMER      VASQUEZ                   KY          68054306881
4279626665B231   BRIONCA     GILL                      KY          90008392666
42796288172B36   STEVE       SANCHEZ                   CO          33042982881
4279715928B16B   WHITTNEY    SMITH                     UT          90006681592
4279743148B165   MIKEY       MONTANA                   UT          90006984314
4279812A933694   DOUGE       CALINS                    NC          90005561209
4279859975B52B   ERICA       RIVERAS                   NM          90014795997
427988AA891569   SALVADOR    CEDENO                    TX          90012108008
4279933785B174   KHELLI      GAINES                    AR          90010963378
42799A39591351   JOSE        MONROY                    KS          90015280395
4279B63645B271   MARIV       CALIMANO                  KY          90011386364
4279B819A72B4B   ALBERTO     DURAN                     CO          33085238190
4279B866891569   VICTOR      APODACA                   TX          90007718668
427B1114961967   KEVIN       ESTRADA                   CA          90011811149
427B14A9261963   VICTOR      AGUILAR                   CA          46064164092
427B27A285B53B   ADRIANA     MORILLO                   NM          90015007028
427B2A17A91569   ROBERT      GUTIERREZ                 TX          75014520170
427B3455172B36   FRANCISCO   PEDROZA                   CO          90013624551
427B3896572B36   CRYSTAL     PEREZ                     CO          90015188965
427B398465B52B   ANTHONY     FERNANDEZ                 NM          36016299846
427B3A72472B4B   LORI        SOKOLIK                   CO          33008010724
427B3AA9793768   ALBERT      BRIGHT III                OH          64563850097
427B4458591569   CRISTINA    LOPEZ                     TX          75042564585
427B4714471924   SHAWNA      HAYWOOD                   CO          90010557144
427B583345B53B   MANUEL      MARQUEZ                   NM          35091438334
427B5A8342B27B   GERALD      LONG                      DC          90013890834
427B6335191873   LESILE      CROWE                     OK          21087683351
427B6AA6A5B174   LAKEITHIA   WILEY                     AR          23078330060
427B739885B58B   PAULA       MARQUEZ                   NM          90014073988
427B7477291569   MATEO       HERNANDEZ COSTILLA        TX          90015034772
427B7733555939   RUTH        ALAS                      CA          90010627335
427B782A75B53B   ADRIANA     REANO                     NM          90013948207
427B8569591873   CHANDRA     SICARDO                   OK          90007965695
427B8787955927   ROGER       BRANZUELA                 CA          49074497879
427B977815B274   RICHARD     DECKER                    KY          68095467781
427BB44A55B174   MELANIE     GILREATH                  AR          23090524405
427BB454255939   TATIYANNA   VIDRIO                    CA          49017594542
427BB612251359   CRAIG       RUDD                      OH          66021916122
427BB68615B271   ERIC        HYDE                      KY          68050566861
427BB861272B43   JENNIFER    ECHEVERRIA                CO          33052368612
427BB98255B222   TONIA       KENNEDY                   KY          90014519825
4281126142B27B   JANAY       WRIGHT                    DC          90010712614
4281131A22B87B   DEAN        SMITH                     ID          90010573102
4281166355B52B   MAURO       PEREZ                     NM          36077976635
428121A525597B   JOSE LUIS   PEREZ                     CA          90014911052
42812688172B36   GLORIA      RAMIREZ                   CO          90012916881
42812954A8B165   BREIANNA    WOLFGRAMM                 UT          90008979540
4281295A46198B   KENDAL      DAVIS                     CA          90000859504
4281299395B523   LETICIA     ORTIZ                     NM          35083989939
42812A9325B58B   HENRY       GONZALES                  NM          35053080932
42813676A8B165   JULIE       ULRICH                    UT          90008676760
4281495725B222   CINDY       SWEENEY                   KY          68000989572
42815A53271999   BRIANNA     GONZALES                  CO          90014370532
4281619A75B222   MICHELLE    BROWN                     KY          90012151907
428165A5561967   JULIUS      JOHNSON                   CA          90013125055
4281662688B185   HECTOR      CHAVEZ                    UT          90004316268
4281695645B271   CHRISTINE   BEATTY                    KY          90012719564
42816A9725597B   LISA        CARRISALEZ                CA          90010770972
42818835A91873   SARA        BASFORD                   OK          90003338350
4281952415B222   ADREAN      KENDRICK                  KY          90014635241
42819624A5B52B   SONIA       PEREZ-LOPEZ               NM          90012626240
4281982755B52B   LETICIA     PEREZ                     NM          36095328275
4281994A65B53B   TONY        ALTAMIRANO                NM          35068999406
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42819A2495597B   JENNIFER      SINOHUI                 CA          90011500249
42819A53271999   KENDRA        SOSA                    CO          90012570532
4281B16245597B   SERGIO        GARCIA                  CA          49088091624
4281B28925B53B   JULIO         AVILA                   NM          90010402892
4281B7A695B174   ANTONIO       WHITE                   AR          90015307069
4281B822272B36   MAGDALENA     ULIBARRI                CO          90012428222
42821348472B43   RODRIGO       MENDOZA                 CO          90014853484
42821A95951325   LILIANA       REYES                   OH          90003150959
4282226495597B   LUISA         ROSAS                   CA          49068362649
42822647A8B16B   JOSE          MOYA                    UT          31081206470
4282371115597B   LIDIA         VEGA                    CA          49027947111
42824157A61963   EDDIE         KIM                     CA          46082231570
4282459A593768   ERIC          ELLINGTON               OH          64521915905
4282466155B53B   ERIALETH      OBANDO                  NM          90006186615
428249AA961967   FLORA         CABRERA                 CA          46023229009
42825A84872B36   CEPHUS        BEAU                    CO          90012230848
4282668193B356   GABY          CAICEDO                 CO          90007946819
4282675515B274   ADRIAN        LANIER                  KY          90010707551
4282738455B523   CARLOS        GONZALEZ                NM          90004273845
4282835968B16B   DEYOUNG       SMART MOBILE            UT          90013913596
4282998714B271   ROBERT        HUSKINS                 NE          27092249871
4282B11545B271   HIRAM         GONZALEZ                KY          90000741154
4282B289491873   CHRIS         COWELL                  OK          90013622894
4282B638272B43   MAURICIO      PEREZ-BADILLO           CO          33088636382
4282B66A772B36   KAREN         DELLINGER               CO          33034556607
4282B765472B4B   ROGER         RANDOLPH                CO          33016077654
4283144755B53B   ARMENDARIZ    THOMAS                  NM          90008184475
4283184458B185   VILLARREAL    IRIS                    UT          90004248445
4283185962B27B   RONALD        KNIGHT                  DC          90014798596
4283228975B58B   FRED          ARMIJO                  NM          90013002897
4283418367B66B   TINESHA       MCGHEE                  GA          90012651836
428351A995B58B   HANNAH        VIGIL                   NM          90014371099
428352A625B52B   LEANNA        HOLLAND                 NM          90011072062
42835832972B43   CLAUDIA       PINEDA                  CO          33096798329
4283631778B165   JULIE         SARTORI                 UT          90013263177
4283676645B271   KEITH         MARTIN                  KY          68076207664
42837668A2B27B   DINORA        MARTINEZ                DC          81078416680
4283791555B523   ALEX          GRANDOS                 NM          90002879155
4283825488B165   CODY          VURIK                   UT          90014242548
4283984645B52B   CLAUDIA       TRUJILLO                NM          90014788464
4283B212672B43   LORENA        YEPEZ                   CO          90012852126
4283B238A5B271   ELOY          ALFARO                  KY          68070412380
4283B38972B27B   ALEXANDER     SHONTAY                 DC          90012843897
4283B4A115B222   JESSICA       HAWKINS                 KY          68004034011
4283B528751334   DARYL         WELCH                   OH          66040755287
4283B8A6357124   KELLY         COYNE                   VA          90011218063
4284168344B271   BILLY         CATES                   IA          90013456834
4284226A52B27B   BROOK         GENET                   DC          90013282605
42844126172B36   WADE          BOUTS                   CO          90014381261
42844275797B42   CORY          RASMUSEN                CO          90011392757
4284526595B271   FABIOLA       HERNANDEZ               KY          90012562659
4284549685B52B   MARY          CASAUS                  NM          90011894968
4284639995B222   JOSEPH        CRAIN                   KY          90012673999
42846611572B4B   PAULA         AMAYA                   CO          90012776115
4284664715B53B   JOSE          ALAMOS                  NM          35082636471
42847241472B43   FRANCISCO     REYES                   CO          90004532414
4284839A95597B   MARIA         HERNANDEZ               CA          49015013909
42848518A91569   LORENZA       CERVANTES               TX          75012245180
4284852255B222   LLOYD         V COOPER                KY          90014915225
4284881555B52B   EVER ARMAN    LEMUS                   NM          36066728155
4284987368B16B   ADAM          KUNZ                    UT          31017688736
4284B313A5B222   ZECHARIAH     BROWN                   KY          90004653130
4284B33A171999   DEANNA        CHAVEZ                  CO          90012563301
4284B99518B16B   KATHLEEN      REESOR                  UT          90012439951
4285192A172B4B   JOE           VIRGIL                  CO          33035999201
4285218382B27B   DARYL DEWIN   WILLIAMS                VA          90013541838
428524A355597B   REY           BRISENO                 CA          90014824035
42852A81744356   NADINA        FUNK                    MD          90015380817
4285333685B174   VERNON        ALLEN                   AR          23026073368
428538A652B87B   CASSANDRA     RICHARDS                ID          41072518065
42853A92A61963   JONATHAN      COMPEAN                 CA          90014310920
42854163972B43   JOEL          RODRIGUEZ               CO          90002841639
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42854A8A661963   ERICK         AVILA                   CA          90014160806
4285529975B58B   EDUARDO       BARRIENTOS              NM          35054392997
4285633468B654   TERESA        DEAL                    TX          90014683346
4285641A347954   MAILAN        PINEDA                  AR          90011914103
42856A6935597B   JOHNNY        RENTERIA                CA          90012410693
428581AA372B43   FRANCISCO     PADILLA                 CO          90010211003
4285911465B52B   ANGELO        ROYBAL                  NM          90002571146
4285952848B16B   LINO          GRACE                   UT          90008575284
4285986298B165   JERRY         GARCIA                  UT          90014428629
42859A87755939   SALVADOR      SALCEDO                 CA          90001620877
4285B1AA18B16B   STACEE        PAYNE                   UT          90008481001
4286185898B16B   CHRISTOPHER   QUIRK                   UT          90012838589
42862214272B4B   RICH          BARRNETT                CO          90008172142
4286252435B222   GARY          CLINARD                 KY          68083875243
4286262225B52B   MELISSA       ORTIZ                   NM          90003896222
428628A2571999   KENNETH       GARZA                   CO          90015188025
42863797172B4B   CESAR         VASQUEZ                 CO          90012557971
42863859A93794   LYNN          BLACKBURN               OH          66073748590
4286454145B222   ELIZABETH     ABAD                    KY          90013005414
42864A35691873   LA            GOMEZ                   OK          21047800356
4286547435597B   CHRS          AVILES                  CA          90014364743
4286635A85B58B   VINCENT       LERMA                   NM          90015093508
4286653835B222   MARIA         MCCRARY                 KY          68088915383
4286663614B271   MIRIAM        MONTES                  NE          90015296361
42866A9558B185   EVANGALINE    CENTURON                UT          90003330955
4286795743B359   HEIDI         WATEURS                 CO          90012919574
4286813155B271   STEVE         SCOTT                   KY          90009291315
4286835575597B   GLADIS        TAPIA                   CA          90007903557
42868A58A55939   MARTIN        VALENCIA                CA          90003490580
42869767972B36   EVA           ROBLES                  CO          33085247679
4286BA38872B43   WILLIAM       DANIO                   CO          90000680388
4286BA4815B271   FELICIA       MEIMAN                  KY          90013410481
4287136AA5B222   BOBBIE        MOHAMED                 KY          90010793600
4287175A961967   CHRISTIAN     VARGAS                  CA          90012707509
4287258274B271   AARON         RABLIN                  IA          90008855827
4287273369152B   GEORGE        MASIAS                  TX          90007387336
428736AA672B36   TIMOTHY       BRANIGAN                CO          90013016006
4287457A761963   ERICA         HERNANDEZ               CA          90012675707
42874664972B36   TIMOTHY       TURNER                  CO          33067666649
4287553615B174   JOHN          POWELL                  AR          90014045361
4287554318B16B   SORIYA        ROEUM                   UT          90013085431
4287618445B58B   AMANDA        SANCHEZ                 NM          35019161844
42876294A61925   FAREED        MANGISTO                CA          46094652940
4287643255B271   WILLIAM       PRATT                   KY          68050574325
42876673A55939   JUDY          KAJITANI                CA          49074216730
4287816615B52B   ANDRES        LUJAN                   NM          90012921661
4287821885B52B   ANDRES        LUJAN                   NM          90011072188
42878223A5B53B   STEPHANIE     GALLEGOS                NM          90015272230
4287873744B271   ANISA         STRONG                  NE          90013777374
42878867272B43   RAFAEL        RAMIREZ                 CO          33092588672
4287913275B523   LESLIE        GREENE                  NM          35060811327
42879A82376B3B   MARIA         GOMEZ                   CA          90013010823
4287B421872B36   GLORIA        GONZALEZ                CO          33093924218
4287B875393794   JUSTIN        BAKER                   OH          90008178753
4287B9A563B351   KRISTINA      GIBSON                  CO          33097569056
4288167728B16B   LLOYD         WALKER                  UT          90002666772
42881684572B4B   ELIZABETH     WARD                    CO          33025886845
4288216915B58B   DANIEL        GUEREQUE                NM          90014931691
4288257925B174   OSCAR         SORIANO                 AR          23068845792
4288263148B185   JESSICA       CARRILLO                UT          31088326314
4288289165B52B   JOLENE        VIGIL                   NM          90006608916
4288357A28B16B   ORLINDA       MANN                    UT          90004115702
42883586472B43   MEGAN         THOMASAN                CO          90013775864
42885A6185B271   GLORIA        ELLIOTT                 KY          90012600618
4288611698B16B   SIONE         MOUNGA                  UT          90015281169
42886517A61963   HUGO          PORFIRIO                CA          46037985170
42887519172B43   MARIAH        PRIETO                  CO          90011965191
4288758274B271   AARON         RABLIN                  IA          90008855827
4288916A461967   ESTRELLA      CHACON                  CA          90004181604
4288934985B53B   PAUL          BARRERAS                NM          90003353498
4288983A372B4B   PAULAJO       RODRIGUEZ               CO          33001218303
4288B42445B58B   YOLANDA       GUTIERREZ               NM          90009434244
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4288B52122B27B   BETHLHAM     ARGAW                    DC          90012475212
42891174472B4B   SAMANTHA     ANGERMAN                 CO          33085921744
428912A175B52B   JEFF         APODACA                  NM          90010312017
428916A1A91351   ONDINA       CARDONA                  KS          29077906010
42891A1855597B   SUSAN        LAJAN                    CA          49077660185
42891A98861967   DANIEL       MARTINEZ                 CA          90013000988
4289221894B271   DEBRA        ANDREWS                  NE          90001602189
4289264825B222   GENE         STOKES                   KY          90010276482
4289292272B27B   MARIO        RECINOS                  DC          90014739227
4289368118B185   ANDREW       THOMAS                   UT          90005296811
4289414985B271   LOUIS        ABAPO                    KY          90013041498
42894356772B43   AURORA       CHACON                   CO          33055293567
4289528985B52B   VICTOR       CASTILLO                 NM          36049432898
4289552768B16B   MARQUISE     GARCIA                   UT          31014545276
42895A4968B165   RADAMES      JAIMES                   UT          90012960496
428963A415B272   JESSICA      BURK                     KY          90006623041
4289656455B174   KENNETH      HUNTER                   AR          23035075645
4289663298B16B   SHELLY       HARRIS                   UT          31051106329
4289664825B58B   ELIANA       CURL                     NM          90013976482
4289665585B523   RODNEY       PEOPLES                  NM          90010746558
4289676428B165   JUAN         BAUTISTA                 UT          90009617642
42897945272B43   ROSA         PITTMAN                  CO          90013709452
428979AA672B36   MARIAELENA   MARTINEZ                 CO          33077709006
42897A92561967   LUIS         HERNANDEZ                CA          90011640925
4289813815B58B   VIOLETA      JIMENEZ                  NM          90011921381
4289852894B271   ASHLEY       NESBITT                  NE          90003775289
42898757172B43   OSCAR        RIVERA                   CO          33005617571
4289893695597B   LUCY         BANUELOS                 CA          49090189369
4289949215B222   TIFFANY      JACKSON                  KY          68094824921
42899A6375597B   ANECA        GONZALES                 CA          90012910637
4289B2A543B343   THUAN        MAI                      CO          90012512054
4289B35A85597B   RAUDEL       RUIZ                     CA          49073433508
4289B4A814B271   JOSE         LEMUS                    NE          90012484081
4289B73815B222   IAN          SANDERS                  KY          90013177381
4289B85364B271   VENITA       TURNER                   IA          90012498536
428B179958B165   JANSEN       NOEL                     UT          90012017995
428B2367461967   ROBERTO      AYALA                    CA          46089103674
428B244A97B347   ALEXANDER    OSEI                     VA          81093074409
428B2589261995   RICKY        RIOS                     CA          90010775892
428B35A8A5B174   TONYA        BURTON                   AR          23042485080
428B3A66A8B352   KENDRICK     HICKS                    SC          90004910660
428B487568B165   ALICIA       HERNANDEZ                UT          90012058756
428B5174A8B165   KATELYN      SNOW                     UT          90013831740
428B525375B222   FIKRIYA      VEYSALOVA                KY          90013052537
428B5347491569   LUIS         HERNANDEZ                TX          75096623474
428B5711671999   CHAD         LADUKE                   CO          90009547116
428B618125B222   ROBIN        COY                      KY          68098201812
428B655935B255   MARY C.      LEFFLER                  KY          68049135593
428B656935B174   ANGELA       DAVIS                    AR          90010085693
428B696385B597   IRMA         RUIZ                     NM          35061079638
428B722745B52B   ANNA         MORALEZ                  NM          90000312274
428B7887672B36   CHEYENNE     MOONDANCER               CO          33012278876
428B8328341258   ANITRA       WILKES                   PA          51011603283
428B8846147954   ANTHONY      BEYER JR.                AR          25093048461
428B889475B174   DEBRA        BEENE                    AR          23062818947
428B967725B354   BERHANE      TESFAI                   OR          90010626772
428B9925A72B4B   SHEREE       CHAVEZ                   CO          33045899250
428BB26845B271   AMANDA       CASTRO                   KY          90012052684
428BB86AA5B52B   BRANDON      SILVA                    NM          36018188600
428BBA33391569   BOBBY        BONE                     TX          90013070333
4291224715597B   DANA         SKIPPER                  CA          49010682471
42912863172B43   JENITTA      HARIS                    CO          33011858631
4291296384B271   ADRIAN       CORTEZ                   NE          90013149638
4291347225B53B   OMAR         ROJO-ESTRADA             NM          35086154722
429136A1372B36   STEPHANIE    DOVALINA                 CO          90004826013
429141A7972B36   GLORIA       MORRIS                   CO          90013731079
4291491A272B43   MARIO        RODRIGUEZ                CO          90012959102
42916A1765B53B   CRISTINA     MENDEZ RIOS              NM          90000770176
42916A34A91873   LEONOR       MENDOZA                  OK          90005100340
42917582472B43   CHRISTINA    HILL                     CO          90007815824
42917797824B7B   ERICA        KELLY                    DC          90015267978
4291929225B53B   JUAN         ALVAREZ-VARELA           NM          90010402922
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4291938422B87B   FRANK        SCHNABEL                 ID          41010313842
42921277972B4B   PATRICIA     BUSTAM                   CO          90009582779
4292193768B169   FRANK        LUGO                     UT          90004889376
42921A8718B185   ISMAEL       MEZA                     UT          90007990871
4292282915B593   PATRICK      JOSEPH                   NM          35061498291
4292295455B271   MS           SLAUGHTER                KY          90003769545
4292344865B58B   ANNA         MONTANO                  NM          90011344486
42923569A71999   NICHOLAS     GARCIA                   CO          90011925690
42923A6AA8B16B   LATISHA      MONTOYA                  UT          90008090600
429244A418B16B   GABRIEL      HAMILTON                 UT          31025094041
429245A7A4B271   RENAY        AHERN                    NE          27011185070
4292474742B899   SVETLANA     BUCHINSKIY               ID          90006887474
429253A2261967   PERRY        GUTIERIEZ                CA          90009793022
4292567852B921   MARIA        GONZALEZ                 CA          45066736785
4292596A15B58B   PALMIRA      PALACIOS                 NM          35057609601
42925AA2761938   TIFFANIE     BRYANT                   CA          90012640027
4292672A28B16B   LORRIELEE    BRERETON                 UT          90011057202
4292749A891351   JUAN         NEVAREZ                  KS          90014094908
429281A1A72B43   DOROTHEA     MORENO-CORTEZ            CO          33008301010
429289AA88B16B   ANGELICA     NUNEZ                    UT          90009989008
4292964A991569   ERIKA        BARRANDEY                TX          90004116409
42929A59472B4B   JASON        EASON                    CO          90014020594
4292B19282B87B   ZACHARY      BLACK                    ID          90010071928
4292B23A48B16B   CANDICE      DIXON-GOMEZ              UT          90009592304
4292B519791351   ALYSHIA      SMITH                    MO          90013645197
4292B561791569   RAMON        ALBA                     TX          90014995617
4292B95855B53B   JUAN DIEGO   LOPEZ                    NM          90013949585
4292B973A61967   ANTONIO      CHAVEZ                   CA          90010519730
4293112425B53B   LUPITA       REYES                    NM          90008011242
4293267555B271   AMANDA       DONOHOO                  KY          90007266755
42932AA895B52B   CHRISTTI     LUEVANO                  NM          90009460089
4293332575B53B   BRANDI       TORIVIO                  NM          90003943257
42934197172B4B   JENNIFER     CUNNIGHAM                CO          33089011971
42934619272B36   JAMIE        LAUGHLIN                 CO          33073246192
4293491957B497   EVET         ALLEN                    NC          90013949195
42934A8727B355   CLAUDIA      ZARATE                   VA          90010510872
429358AA993728   ZACHARY      FOWLER                   OH          90007188009
4293712435597B   NICOLE       BETANCOURT               CA          49064241243
4293727A161963   LANE         KEEK                     CA          46081582701
4293729A491569   MARIA        GUTIERREZ                TX          75092552904
4293752679B324   TRISHAE      BLACK-YOUNG              TX          90014275267
4293794A28163B   NOC          MALDONADO                MO          90008759402
4293854965B597   IVONNE       RASCON-MARRUFO           NM          90005415496
4293863A371999   REBECCA      MANN                     CO          90005456303
42939759A5B58B   HENRY        LUNA                     NM          90000737590
4293976495B271   ANDREA       DOCKERY                  KY          90009647649
42939862172B4B   CARL         WAYMAN                   CO          33009238621
429399A3A9373B   IVAN         PATE                     OH          90009689030
4293B236A5B523   JOSE         BUSTILLOS                NM          90006472360
4293B576A5B597   CHASE        SUTFIN                   NM          90005315760
4293B98124B271   JAMES        GOW                      NE          90002109812
4293B9A975597B   SHAWNTAE     GIPSON                   CA          49083459097
4294114A161967   YESENIA      OCHOA                    CA          90013971401
429422A9361988   DENISE       MCEWAN                   CA          90006622093
4294237A991873   BRITTANY     COX                      OK          90009833709
42942792972B43   SHANTIL      RODRIGUEZ                CO          33060857929
4294298964B271   PHILLIP      ELLIS                    NE          27069709896
4294359A972B4B   JESSICA      HURTADO                  CO          90014525909
4294361355B58B   KELLY        CASTEEL                  NM          35033706135
42943616A5597B   ADELINA      MONTES                   CA          49006676160
42943652872B36   MARIA        PEREZ                    CO          90004956528
42943A1A85B52B   DAWN         JOHNSON                  NM          90003440108
4294434324B271   MARIA        RIVAS                    NE          90014433432
4294492875B53B   TIMOTHY      GNERICH                  NM          90014119287
4294516912B27B   ANTONELLE    CAROLINE                 DC          90013701691
4294553798B16B   CAROL        HUNSAKER                 UT          90009775379
4294559245B271   MARY         STINSON                  KY          68065975924
4294571AA71999   DAVIS        WARD                     CO          90013297100
42945A13591569   IRMA         DOMINGUEZ                TX          90011310135
42945A95372B43   TONYA        GILFORD                  CO          33091800953
4294618165B53B   NICOLE       CRANDALL                 NM          35001561816
4294619138B165   KOVACIC      NIJAZ                    UT          90014451913
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4294625145B174   CIAWONNA      GAYLE                   AR          90014462514
4294686725B174   DANIEL        VARGAS                  AR          90006868672
42946A8738B185   BRENDA        BOURGEOIS               UT          31044150873
429472A374B271   SELBIN        MEJIA                   NE          90007282037
4294837AA61967   ABIMAEL       GUZMAN                  CA          90007993700
42948682372B36   JUAN          GONZALES                CO          33079366823
429491A375B53B   ANGEL         ORTEGA                  NM          90012131037
4294B37472B27B   CAROLYN       COOKE                   DC          81015173747
4294B76145B53B   BELSON        CHARLEY                 NM          90015297614
4294B993561956   JACK          PETTY                   CA          90001549935
4295112812B27B   ANGELA        HILL                    DC          90013551281
4295157245B222   DANYELL       MUNFORD                 KY          68016415724
4295258275B53B   EDGAR         RIGOBERTO CELIS         NM          35008935827
4295289862B27B   DAWN          ALSTON                  VA          90009508986
42954A58571933   CHANTILLY     GONZALES                CO          90014060585
42954A88872B4B   JOHNNY        LOPEZ                   CO          33036590888
4295537115B53B   SELENA        GABALDON                NM          90004403711
42955476872B36   MARK          PADZIK                  CO          90011524768
42957178672B43   JOSE          PEREZ                   CO          33077581786
42958264172B43   SHAIRA        MARQUEZ                 CO          33018732641
429583A955B174   MELODY        FUENTES                 AR          90013093095
4295841A78B165   CANDACE       BLAKLEY                 UT          90012654107
4295866938B165   RALPH         VINCENT                 UT          90013706693
42958A93A8B16B   DALE          BRIDGEFROTH             UT          90014610930
4295953298B16B   LUIS          ZAMUDIO                 UT          90014005329
4295959565B58B   MONTANO       ASHLEY                  NM          90012595956
4295B374A4B271   CRISTAL       CHAIREZ                 NE          90012343740
4295B47835B271   JOHN          HART                    KY          90013594783
4295B742493794   EDWIN         RODRIGUEZ               OH          90011657424
4295B83795B58B   ERIKA         ARVIZU                  NM          35017478379
4295BA4215B174   CASSONDREA    LIVINGSTON              AR          90013360421
42961489572B36   CHRISTOPHER   WEIMER                  CO          90009954895
4296172578B165   ROB           CARTER                  UT          90013967257
42963125A51383   DERICK        ALLEN                   OH          90013391250
4296389218B165   DAN           CONLEY                  UT          31084928921
4296429945B174   ERIC          COLEMAN                 AR          23035852994
4296473885597B   DIXIE         TRISTAN                 CA          49076497388
4296496122B27B   JOSE          VENTURA                 DC          90007409612
42965628324B37   DORCAS        VANDERPUIJE             MD          81045566283
429662A6791873   KELLY         PRATT                   OK          21076742067
4296686225B174   CAPRESHA      DEADMON                 AR          90015148622
42967229A61963   ROBERTO       GARCIA                  CA          90013972290
42967562A71999   ABRAHAM       MAESTAS                 CO          90013765620
4296775125B52B   KAREN         VELAZQUEZ               NM          90013057512
42967A58472B36   DESTINY       MARTINEZ                CO          33092840584
4296848392B87B   DIANA         HOLLIS                  ID          41023304839
4296849765B174   LINDA         BUCK                    AR          23080194976
4296888A23B332   ANNE          RUDOLPH                 CO          90006758802
4296917565B52B   JESUS         SALAS PAREDES           NM          36051341756
4296921755B222   NIGEL         OTTERBACH               KY          90006402175
42969533772B36   JOHN          CORRY                   CO          90011195337
4296986538B165   JEFFERY       NUTTALL                 UT          31060908653
429698A9647954   AMANDA        COZZAGLIO               AR          25084798096
4296B8A455B523   ASHELY        MARTINEZ                NM          90005308045
4296B99887B694   DESIRE        BATTLE                  TN          90015209988
4296BA5687B262   KENDRA        CREAGER                 ID          90014890568
42971365172B43   MARSHALL      COOPER                  CO          90014783651
4297222933128B   EDGAR         LOPEZ                    IL         20551362293
4297327582B27B   ARMANDO       MENJIVAR-GALVEZ         DC          90010252758
4297332795B58B   PAYGO         IVR ACTIVATION          NM          90013793279
42973452A5597B   ROSA          ESCALANTE               CA          90012254520
42974331272B4B   ATAYA         ARREGUIN                CO          33074493312
42975457372B4B   LEANN         BUTLER                  CO          90013484573
429756A5172B36   BRIAN         STENSTROM               CO          90008616051
4297571718B16B   CHRIS         PATRICK                 UT          31070487171
4297612865B52B   BETHANY       ROYBAL                  NM          90013741286
42976AAA38B165   TERRIE        ERICKSON                UT          31057080003
42977129772B43   SUSAN         HESTER                  CO          90000961297
4297749775B58B   CHRISTOPHER   ALBERT                  NM          90014014977
4297778635B271   STELLA        ALLEN                   KY          90006087863
4297819198B16B   KASSIE        MATSON                  UT          90007151919
4297836375597B   POIDEXTER     HATTLEY                 CA          90005713637
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429783A118B165   BERTHA             OCAMPO             UT          90013253011
42978A7793619B   PETER              HERMAN             TX          90013030779
42979842A4B271   PATRICK            JONES SR           NE          27060138420
4297B19868B141   JONATHAN           LEAVITT            UT          31034231986
4297B326191569   WILLIE             POWERS             TX          75077533261
4297B77815B58B   DANETT             VIGIL              NM          90006527781
429813A5391569   PERSONA            VIVI               TX          90014693053
4298159835B297   SHARITA            CARTER             KY          90013175983
429823A435B52B   IVAN               CHACON             NM          90012643043
4298341365598B   FELISIA            PEREZ              CA          90012544136
4298444475B53B   XOCHITL            VALDEZ             NM          90014154447
42984A1A371999   LISA               HEISTER            CO          90013280103
42985467A61963   WILLIAM            LOPEZ              CA          46066554670
429854A6391351   JON                ANDERSON           KS          90013784063
4298582785B58B   ANTONIO            BARELA             NM          35083298278
42986529A4B95B   AMANDA             HANKINS            TX          90001325290
4298673AA61967   OLIVER             ZAMUDIO            CA          90012447300
4298675278B594   JANIS              JACKSON            CA          90014747527
42986A41772B36   JOHN               SILVER             CO          90003370417
42987829372B47   JAVIER             VALENZUELA         CO          90007338293
42987927A51383   GREGORIO           GONZALEZ           OH          66029059270
42988491772B4B   JEREMY             MCCRAY             CO          33032224917
4298859585597B   DANNY              MAESTRE            CA          90011645958
42989124972B4B   SERGEY             FOUKS              CO          90006621249
4298989678B165   NATHAN KINGSBURY   ALYSSA KINGSBURY   UT          90014548967
42989AA325B52B   LILIAN             ROSALES-MONGE      NM          90012190032
4299151952B87B   LYNETTE            ACEBEDO            ID          41008835195
42992157A51383   DAVID              MARQUEZ            OH          90012021570
429921A635B58B   RICHARDO           CHAVEZ             NM          90009221063
4299269A551334   SHAKALAH           DAILEY             OH          90009066905
42992847A51383   DAVID              MARQUEZ            OH          90014548470
42992A8214B271   JUANA              CAMARENA           NE          90011880821
4299311765B52B   HUMBERTO           MORENO             NM          90013381176
4299319A961963   JUAN               PANTOJA            CA          90009261909
4299336655B271   PEDRO              PINA               KY          68075753665
42993993872B4B   JAMES              RIDOUT             CO          33098879938
4299521172B27B   SANTOS             GARCIA             DC          90000462117
4299566A572B43   AVIANA             SPARKS             CO          90013566605
429956A2661963   JOSEBIT            MOLINA             CA          46032026026
4299591775B174   CANDACE            BURKHALTER         AR          90014739177
4299636684B271   KEVIN              ONDRACEC           NE          90015103668
42996A7A78B165   NORMA              OROZCO             UT          90011500707
42997111A5B53B   LORENA             BENCOMO            NM          35099251110
4299739635B52B   ROBERTO            SERNA MENDEZ       NM          36098903963
4299748848B165   NANCY              BRADSHAW           UT          90012464884
4299765A94B271   SCOTT              DICKEY             NE          90000266509
4299794485B222   WILLIAM            GREENWELL          KY          68094839448
42997A21172B4B   JASON              TOLER              CO          33074920211
4299896835B271   OODIE              TICHENOR           KY          90005599683
4299921718B16B   GILBERTO           LOPEZ              UT          31012192171
4299B37A95B271   EDWARD             WILLIAMS           KY          68072673709
4299B768572B36   DAVID              SANCHEZ            CO          90012687685
429B128295B523   APOLONIO           MARENTES           NM          35081042829
429B175445B58B   HERIBERTO          LOPEZ              NM          35011117544
429B1813872B36   NEELY              GREEN              CO          90014578138
429B1A9415B271   JAZMEN             PRINCE             KY          90014810941
429B247624B271   CURTIS             BEDFORD            NE          90002064762
429B2545325164   JAMES              DAVIS              AL          90014865453
429B32A3891351   ALEX               PENA               KS          90004442038
429B371738B165   LUIS               LAGUNAS            UT          90013577173
429B452168B165   GEORGINA           PERSON             UT          31044455216
429B5A53551334   MARK               NEWTON             OH          66047500535
429B6745372B43   ELENA              VEGA               CO          33034637453
429B68A935597B   DALLAS             BENAVIDEZ          CA          90010188093
429B6991872B36   GLORIA             MELENDEZ           CO          90014339918
429B7457372445   PATTI              LOUGHNER           PA          90010324573
429B7525591569   MIREYA             BARRIOS            TX          90005845255
429B8687172B36   NATALIE            REESE              CO          90014686871
429B8898671999   TENISHA            SEGURA             CO          90011118986
429B946A761963   SERGINA            HERNANDEZ          CA          90012454607
42B1194A272B36   ALEJANDRO          SALAZAR            CO          90013419402
42B12335693794   SHERRIE            CODY               OH          90010023356
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 1974 of 2500


42B1239198B185   MOISES         LARA                   UT          90001683919
42B124A535B53B   RYAN           HIL                    NM          90013944053
42B13155251334   CHERYL         ILHARDT                OH          90014831552
42B13268A5B174   SHIRLEY        MCCULLOUGH             AR          90008102680
42B1329AA51334   CAMILLA        BUSH                   OH          90010882900
42B1381535B58B   ALLEN          RUIZ                   NM          90014378153
42B13832471999   DANA           BIGAM                  CO          90014878324
42B13A3955B53B   KATHERYN       RODRIGUEZ              NM          90005090395
42B1418635B523   MONICA         HERNANDEZ              NM          90004571863
42B14658A72B36   VICKIE         FOSTER                 CO          33074966580
42B14A6835B271   CHRISTY        MEADWAY                KY          90009820683
42B15211993794   CRISTIAN       SHINKLE                OH          90008102119
42B1528625B271   JERMAINE       CAMERON                KY          90013382862
42B15497961925   ELIZABETH      ARIZA                  CA          90005744979
42B15547384342   RICARDO        HERNANDEZ              SC          90014105473
42B1597542B87B   MELISSA        BINGHAM                ID          41030369754
42B15A87361967   CLARENCE       MITCHELL               CA          90007260873
42B16414272B4B   ALYCE L        CLARK                  CO          90013784142
42B16683993794   JASMINE        BELLE                  OH          90013206839
42B1679772B27B   BERNETTA       CEPHAS                 DC          81015847977
42B16A75451334   JOSH           GREEN                  OH          66016060754
42B1719345B58B   JEREMY         CANDELARIA             NM          90014271934
42B17338861963   SHERRY         REID                   CA          46036363388
42B17449261963   REYNA          RUIZ                   CA          90000244492
42B1796295B53B   ERASMO         PRESIADO               NM          35089839629
42B18467341258   ANDREW         BARONE                 PA          90000364673
42B1853635B174   TOMANIKA       WILLIAMS               AR          90014065363
42B1853715599B   SASHA          SMITH                  CA          90011125371
42B18A77361967   DIANA          MENDEZ                 CA          90006820773
42B19317255939   JESSICA        FLORES                 CA          90010543172
42B1941985B271   DEANNA         DANIELS                KY          90012834198
42B19514955999   CHRISTINA      CASTRO                 CA          49016875149
42B1B38878B165   CHRIS          BAKER                  UT          90009683887
42B1B81A593794   EDWIN          CRONE                  OH          90013238105
42B1B95A48163B   CYNTHIA        WILLIAMS               MO          90002789504
42B1BAA5372B43   GERMAN         RAUDALES               CO          33052860053
42B21339455939   TERRI          LINDER                 CA          90010543394
42B2143245B52B   AGUSTIN        VIGIL                  NM          90012904324
42B21795A5B271   DONALD         MATTINGLY              KY          68010317950
42B22682A9373B   OJIEH          OHIEMBOR               OH          90006386820
42B2436A193728   SHANNON        ASHLEY                 OH          90013493601
42B24956962B31   KENA           POTTORFF               KS          22062799569
42B2544552B27B   SHADYIA        SIMMS                  DC          90004884455
42B25474191351   SHIANNA        SHAPRICE               KS          90001554741
42B25558462B31   NICOLE         CHAVEZ                 KS          90015495584
42B2572115B174   DENECIA        BEENE                  AR          23097487211
42B26A9964B271   CORINN         COOK                   NE          90013490996
42B27314347954   MEGAN          SIFUNTES               AR          25091153143
42B27526461963   LOURDES        HERNANDEZ              CA          90012425264
42B2752975B523   CAROL          ARMIJO                 NM          35064155297
42B27632572B43   JAMIE          PADDOCK                CO          33055656325
42B27667371999   DOROTHY        HEPTIG                 CO          90013656673
42B2827A372B35   AMANDA         RISS                   CO          90008652703
42B28395A8B165   STEVE          KEITH                  UT          90010733950
42B28A21361967   ERICA          RAMOS                  CA          90014540213
42B28AA4955939   MARGARITA      REYES                  CA          90008570049
42B29126372B43   CHRISTIAN      JOHNSON                CO          90015421263
42B2B52575B52B   JOHN           SERRANO                NM          90013645257
42B31273191351   EFRAINN        DELGADO                KS          90013932731
42B31471871999   ORLANDO        RIVERA                 CO          90006674718
42B31497872B43   COREY          ANDERSON               CO          90001934978
42B31649171999   RACHEL         DEHERRERA              CO          90010886491
42B32254A93794   CHRIS          FISHER                 OH          90010392540
42B3238725B523   HOWELL         NATASHA                NM          90005303872
42B3261538B16B   JOSE BALMORA   DARAS                  UT          90015416153
42B32737761963   KIM            LOVE                   CA          46075687377
42B33272572B4B   NICOLE         RICE                   CO          90013292725
42B3463448B16B   CINDERELLA     KATOA                  UT          90013956344
42B35818371999   SYLLVIA        ARRONA                 CO          38016078183
42B3614A94B271   ABRAHAM        CABRERA-WROOMAN        NE          27046211409
42B36A48851383   TAMEKA         FOGGIE                 OH          90008700488
42B3745465B53B   DOMINIQUE      GURULE                 NM          90013944546
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42B3752355B259   ROGER       CASH                      KY          90004335235
42B37627951334   LUIS        REYES                     OH          90010776279
42B37A96591873   SUMMER      PAYNE                     OK          90013360965
42B38639A5B597   JAMES       SHERMAN                   NM          35010756390
42B3887258B165   EDGAR       CASTRO                    UT          90013048725
42B3894678B186   MELISSA     MOSER                     UT          31004589467
42B3999755B53B   JAZMINE     SIGILA                    NM          90014499975
42B3B262171999   ANTHONY     MARTINEZ                  CO          90009622621
42B3B28425B222   CHRISTINE   ROBNETT                   KY          68006772842
42B4137465B52B   LYNETTE     RIVERA                    NM          90014443746
42B41768572B4B   ROSA        MONICA                    CO          90007567685
42B4247898B16B   MARCO       BRITO                     UT          90010864789
42B4249498B185   ANNALISA    JOHNSON                   UT          90013784949
42B424A5772B4B   TRICIA      CARRANZA                  CO          90015604057
42B424A715B174   SALENTHIA   HUBBERTS                  AR          90008104071
42B42662872B43   MARIA       BARELA                    CO          90012926628
42B42883493794   CONTESSA    GOODWIN                   OH          90015228834
42B42A7A45B523   MICHAEL     HERNANDEZ                 NM          35005790704
42B43415972B36   DARYL       EASON                     CO          90011624159
42B4359A961967   ELIEZER     CARDONA                   CA          90013945909
42B4386565597B   CECILIA     GARCIA                    CA          90013898656
42B43992461963   DYLAN       DAVID                     CA          90011599924
42B44127A5597B   JAMES       YOUNG                     CA          90013621270
42B44557191351   RODRIGO     MOSS                      KS          90009235571
42B4462948B532   HERMINIO    MACIAS                    CA          90015466294
42B45771691569   JORDAN      CASTANEDA                 TX          90010907716
42B46351891873   MICHELLE    PARKER                    OK          90014043518
42B46955672B36   JOSHUA      STRATTON                  CO          90009849556
42B47149661963   HOLLY       PORTER                    CA          46048591496
42B47664672B43   MAJA        WILLIAMS                  CO          90012926646
42B47683371933   MARTHA      SILVA-MALDONADO           CO          90004096833
42B4821882B27B   PAULA       SWALES                    DC          90015152188
42B48998A71999   KIERRA      DURAN                     CO          90005769980
42B48A45821981   DEBRA       BROCKENSHIRE              IN          90011890458
42B492AA233655   CAROLYN     INGRAM                    NC          90002162002
42B49436A5B523   ERICA       ORTEGA                    NM          35061534360
42B4973892B27B   DEREK       KITTRELL                  DC          90012787389
42B4986155597B   JORGE       MALDONADO                 CA          90009888615
42B49A13655939   ANGEL       CARONES                   CA          90011380136
42B4BA34551383   TOMMIE      ROBERTSON                 OH          66065240345
42B513A3291569   JACKIE      ALMEIDA                   TX          75086903032
42B51453241258   MICHAEL     THOMAS                    PA          90003954532
42B51935193794   KELLEY      LOVIN                     OH          66087519351
42B52619861967   MANUEL      LUNA                      CA          90014736198
42B53458191569   LISA        MAREZ                     TX          90013044581
42B5353AA8B594   ULISES      PEREZ                     CA          90012555300
42B54A2975B597   VALORITA    DOMINGO                   NM          35094340297
42B55318551334   MATTHEW     WILSON                    OH          90012933185
42B5538A261547   RODNEY      MOORE                     TN          90014113802
42B55655172B43   TAMMY       GOETZFRIED                CO          90014556551
42B5631125B53B   RACHAEL     VALENZUELA                NM          35025003112
42B56687272B36   ANGELICA    RODRIGUEZ                 CO          33004486872
42B566A1462B31   STEPHEN     MOORE                     KS          90012346014
42B57165551334   SCOTT       GRUBBS                    OH          90013251655
42B57795172B43   RANDY       MARKLOWITZ                CO          90012047951
42B5839A98B16B   ALEJANDRO   PEREZ                     UT          90014813909
42B5873544B271   JANICE      BAUMGARTNER               NE          27036137354
42B589AA65B597   JOSHUA      O'HARA                    MO          90000799006
42B59136661963   LIDIA       ORTIZ                     CA          90003901366
42B59746391351   ASIA        BARNETT                   MO          90015227463
42B5B1A7A72B36   ASIALENE    ZAPATA                    CO          33017891070
42B5B32265B58B   ANNETTE     ELERBY                    NM          90006133226
42B5B3A5393794   ZACH        STURWOLD                  OH          90014183053
42B5B5A222B872   KERI        HETKE                     ID          90008515022
42B62231461963   PETER       SEMASKO                   CA          46036362314
42B62255691873   JOSE        TRINIDAD                  OK          90011902556
42B63227A5B222   JOSEPH      CASHMAN                   KY          68054992270
42B6327985B58B   SHELLY      THEILER-HUNTER            NM          90004712798
42B63393597B21   GREG        ROGERS                    CO          90010543935
42B63896251334   TAMMEKA     MOSLEY                    OH          90013718962
42B63988A8B16B   JAVIER      ALTAMIRANO                UT          90004979880
42B63AA3191873   APRIL       ECHEVARRIA                OK          90011000031
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42B64491161963   CHLOE       GOODRUM                   CA          90014754911
42B64534871999   KAREN       GAY                       CO          38050355348
42B6459715B271   YOLANDA     WILKERSON                 KY          90011095971
42B66343472B36   MIRIAM      MARTINEZ                  CO          90012413434
42B66657891873   ROBIN       BLACKWELL                 OK          21046396578
42B66988A8B16B   JAVIER      ALTAMIRANO                UT          90004979880
42B6715346198B   KEITH       STEWART                   CA          90003661534
42B67213972B43   JOAQUINA    APARICIO                  CO          90007452139
42B67545993794   ADWOA       AKOTO                     OH          66031005459
42B67621372B4B   DULCE       MIER                      CO          33099506213
42B67698941258   LEILA       CLARK                     PA          51062786989
42B6842884B271   YOLANDA     JOHNSON                   NE          90011104288
42B68521871999   ARLENE      VASQUEZ                   CO          90013265218
42B6913A472B36   CARLOTA     BUSTOS                    CO          90012071304
42B69167191351   JAIME       VAZQUEZ                   KS          29073341671
42B69982891569   MELISSA     PEDROZA                   TX          90015109828
42B6B71735B52B   CRYSTAL     LOPEZ                     NM          90013937173
42B6B82295B271   DANIEL      GIBSON                    KY          90014288229
42B6BA1795B222   CARLA       GUEVARA                   KY          90010430179
42B7276AA51334   MARIA       MARMO                     OH          66053047600
42B72A78751334   MARIA       MARMO                     OH          90013910787
42B73512872B4B   MELISSA     SAUL                      CO          90014525128
42B7354468B16B   LANIE       OLSE                      UT          90008535446
42B7458415597B   ESLY        OLVERA                    CA          49017175841
42B7474125B52B   ANTONIO     OROPEZA-PICHARDO          NM          36035977412
42B7572155597B   FENG        MOVA                      CA          90001547215
42B76442172B36   DAVID       RAMIREZ                   CO          33074874421
42B7674A461963   APOLONIA    FLORES                    CA          46083397404
42B77338472B43   DAYSI       GARCIA                    CO          90007673384
42B77967A55939   FRANK       DUARTE                    CA          90008199670
42B781A485B52B   OLGA        RODRIGUEZ                 NM          90015111048
42B78428651334   CHRISTEL    BROOKS                    OH          66002514286
42B7849915B58B   DARLENE     MALDONADO                 NM          35097374991
42B78584693794   JOEY        MITCHELL                  OH          90011575846
42B7873792B264   JUSTIN      SCOTT                     DC          90008757379
42B78A37872B43   HEM         DHIMAL                    CO          33023220378
42B79734A71999   LISA        ROMERO                    CO          38056737340
42B79A78672B4B   KAILEE      BYE                       CO          90005770786
42B7B61A972B43   ANTWON      WRIGHT                    CO          90012896109
42B7B95A293734   JAMES       SMITH                     OH          90005979502
42B81287961963   IRMA        RAMIREZ                   CA          90009782879
42B8167365B597   MARTIN      FLISS                     NM          90001326736
42B8169592B27B   LUCRESIA    TYLER                     DC          90014756959
42B8223A151383   ANDREA      JACKSON                   OH          66065252301
42B8259785B271   NICOLASA    MUS                       KY          90011095978
42B83142872B4B   FELIX       CASTRO                    CO          90010321428
42B8322A82B27B   BERNARD     HINNANT                   DC          81075942208
42B8332472B87B   SHELAINE    WALLER                    ID          90009233247
42B84385991873   AMBER       SOUIRI                    OK          90014433859
42B84819572B43   ASHLEY      TRAVIS                    CO          33047218195
42B8493195B58B   NINCY       YANEZ                     NM          90012379319
42B85281471999   BARNEY      ROMERO                    CO          90010472814
42B8575775597B   MARIA       CASILLAS                  CA          49096107577
42B86317A8B16B   JARVIS      LEANOARD                  UT          90014833170
42B8633955B271   KIMBERLY    TYLER                     KY          90012703395
42B8664A22B87B   BELINDA     CASTRO                    ID          41002056402
42B86A94362B31   ADRIANA     ESPINA                    KS          90014250943
42B8718A54B271   NICHOLAS    REYNOLDS                  IA          90015281805
42B87415155939   JESUS       TORRES                    CA          90005174151
42B8757855597B   DAVID       MAGNOLIA JR               CA          90009295785
42B8793A95B52B   CARLOS      RODRIQUEZ                 NM          36014609309
42B88A71672B36   VANESSA     SHUPE                     CO          90012760716
42B891AA98B185   STEVEN      SCOTT                     UT          90003251009
42B8974685B58B   ZULEMA      QUIROZ-TORRES             NM          35016147468
42B89A3638B594   NORA        MANRIQUEZ                 CA          90015440363
42B8B124861963   TIFFANY     HOLLAND                   CA          90002291248
42B8BA7254B271   VICTOR      SALAS-LOPEZ               NE          90005960725
42B91592A6198B   KELLY       HARMON                    CA          46085465920
42B9179465597B   BERTA       AGUILERA                  CA          90013077946
42B9191838B16B   TERESA      BAUTISTA                  UT          90012349183
42B92292371999   LARRY       GRADE                     CO          90012602923
42B9324648B16B   CJ          BECKSTEAD                 UT          90015112464
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42B9396855B222   GHIA           PORTER                 KY          90014499685
42B93A95671999   SHIRLEY        FETTY                  CO          90012850956
42B94441341258   CADIADRA       KENDRICK               PA          51043844413
42B9483255B174   CARLETAH       BUNTING                AR          90012578325
42B94932624B7B   FAZILA         MOHAMMAD ISMAIL        MD          90014959326
42B94A87755939   SALVADOR       SALCEDO                CA          90001620877
42B954AA85B52B   FRANK          LOPEZ                  NM          36099004008
42B95715961967   MARIA          VILLARREAL             CA          90013947159
42B9591673B399   ELGA           FLORES                 CO          33062279167
42B9626872B27B   KEVIN          BUCKMAN                DC          90012332687
42B96889472B36   MIGUEL         ARIAS                  CO          90010768894
42B97243872B36   DAVID          FLOREZ                 CO          33095582438
42B9736A42B27B   JASPER         KENJI                  DC          90014923604
42B97591991569   JUAN           CARBAJAL               TX          90012285919
42B9762754B271   AMANDA         LEARY                  NE          90008126275
42B97675A91569   JAMES          CARBAJAL               TX          90010156750
42B97982993794   SANDRA         WILLIAMS               OH          66081369829
42B979A542B27B   SHOLANDA       PETTAWAY               DC          90010879054
42B9938A147954   ADDISON        MORRIS                 AR          25068413801
42B99785672B4B   KALA           GIVAN                  CO          90014617856
42B99845691873   LAVERA         GOODEN                 OK          21030808456
42B9B858171999   ANGELIC        MONTEZ                 CO          38098938581
42BB14A165B53B   KAYLA          RASMUSSEN              NM          90013944016
42BB1547191869   MARISELA       LOZANO                 OK          21003905471
42BB1628547954   ELIZABETH      HERRON                 AR          90003116285
42BB2322672B43   EMILIO         SALOMAN RODRIGUEZ      CO          90008893226
42BB2732661963   ADRIANA        PEREZ                  CA          90006677326
42BB315555B174   JAMES          PARKS JR               AR          23079271555
42BB3777371999   SHELLY         SANCHEZ                CO          90003477773
42BB377A193769   ELOY           LARA                   OH          90003397701
42BB416A48B165   SALVADOR       DOMINGUEZ              UT          90012121604
42BB4331547954   DANIEL         SANCHEZ                AR          90006403315
42BB4446771999   LARRY          GIUS                   CO          38036034467
42BB4683261967   MARIA CARMEN   VARGAS                 CA          90013066832
42BB4AA3161963   FELIX          MORA                   CA          90004730031
42BB5128871999   DARREN         SARGENT                CO          90013781288
42BB5313472B43   HERLANDA       DAVIS                  CO          90013933134
42BB5383872B43   HEATHER        LOMELI                 CO          33041423838
42BB544678B165   JEREMIAH       TOWE                   UT          90015324467
42BB5457551383   TONIA          WILLIAMS               OH          66035324575
42BB5639A5B597   JAMES          SHERMAN                NM          35010756390
42BB585465B174   ALMA           GONZALES               AR          90009018546
42BB61AA591569   EMILIO         JIMENEZ                TX          90011881005
42BB6A1715B222   GLENDON        ALCORN                 KY          90010880171
42BB771AA91569   BLANCA         MACIAS                 TX          90009097100
42BB7928871999   JOSIE          MAES                   CO          38071579288
42BB8248262B31   MARIA          BAEZ                   KS          90015432482
42BB836675B222   LORETTA        BRITT                  KY          90012163667
42BB8711691961   SKIP           SWICEGOOD              NC          90006247116
42BB8875791873   MAUREEN        SIMMS                  OK          90005608757
42BB969A961963   JEFF           PACE                   CA          90005006909
42BB9A9A18B16B   HILLARY        STENER                 UT          31038290901
42BBB388961963   SCOTTIE        STRONG                 CA          46042283889
42BBB693862B31   DEJUAN         LANDRUM                KS          90014906938
4311135255B53B   PAYGO          IVR ACTIVATION         NM          90013693525
43111492A61967   REBECA         ALVARADO               CA          90013054920
4311162765B271   JOHNNY         HAYNES                 KY          90014096276
43111887A91394   RONALD         SMITH                  KS          29076768870
431128A725B58B   SONIA          GARCIA MARTINEZ        NM          90012428072
43112AA562B87B   DALLAS         JOHNSON                ID          90008670056
4311321A82B27B   CARLOS         SANCHEZ                DC          81016502108
4311339938B165   ELIZABETH      BAEZA                  UT          90013123993
431136A722B87B   JENNY          MCLEOD                 ID          90010276072
43114A26891569   VANESSA        MEI                    TX          75012330268
43114A3A45B52B   LYISA          JIMENEZ                NM          90013970304
4311667242B27B   WANDA          ALLEN                  DC          90000116724
4311777A15B541   CASSANDRA      GARCIA                 NM          90008557701
43118418A47954   SHERRY         DUNCAN                 AR          25007594180
431195A4377595   MIRIAM         ANGUIANO               NV          90013125043
4311979A45B222   SHAUN          HAZELRIG               KY          90012787904
431199A555B55B   ANGEL          WILLIAMS               NM          90000509055
4311B44A461963   JENNIFER       DURAN                  CA          46004004404
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4312111195B597   DAX          CUMBIE                   NM          90012791119
4312111875B174   CRYSTALYN    BELL                     AR          23018521187
431211A212B27B   KENNETH      ADAMS                    DC          90012861021
4312172655597B   RAFAEL       MARTINEZ                 CA          49004437265
43122638A91873   KRISTA       HANTCOCK                 OK          90011026380
4312265785B52B   MARISOL      MARTINEZ                 NM          90014996578
43122677A5B222   ALI-KASEY    EARKMAN                  KY          68010746770
43123179872B4B   MELAINE C    COTTON                   CO          90012671798
43124884A91569   VIRGINIA     HERRERA                  TX          75044628840
43124A15393741   MONICA       BLAKE                    OH          90013550153
43125639772B43   MARY         GUTIERREZ                CO          90015326397
43126159872B43   CHISTOPHER   BACA                     CO          90011871598
4312642199199B   FRANK        SAXTON                   NC          90012734219
43126515272B36   ISIAH        BAILEY                   CO          33093655152
4312765158B165   RYAN         DELAHUERTA               UT          31021946515
43127926472B4B   CRISTINA     PEREZ                    CO          33033489264
43127A87571934   JOSE         RUIZ                     CO          90005590875
4312859215B53B   ELIS         GUZMAN                   NM          35068605921
4312893A672B43   ELISS        LINDSEY                  CO          90010109306
43128A98361965   PILAR        DE SANTIAGO              CA          90008140983
4312927A271999   REYANN       TAFOYA                   CO          90010102702
4312949165B174   JASMIN       FASSER                   AR          90013684916
431299A678B169   PAUL         VEHAR                    UT          90008719067
4312B192661967   ROSANA       RIOS                     CA          90012951926
4312B624172B4B   ROBERT       ANGELO                   CO          90015286241
4312B8A312B27B   MORRIS       RAY                      DC          81030368031
4312B941572B54   JANINE       PURDY                    CO          90007159415
4313122918B165   BUSHMAN      JENNIFER                 UT          90010112291
4313125325B53B   ALISA        GONZALEZS                NM          90013602532
4313232318B165   RICK         MOORE                    UT          90014513231
43132589372B43   JOSE         RODRIGUEZ                CO          33092895893
4313269875B53B   KRISTIE      ESSER                    NM          35090976987
43132A4515B58B   KATERINA     MONTANO                  NM          90011010451
4313318415B52B   AVELINA      AVALOS                   NM          90013971841
431339A3277595   MALIA        TAUKITOKU                NV          43040609032
4313473322B27B   REBECCA      POUGET                   DC          90011867332
4313499962B271   MICHAEL      FREEMAN                  DC          81014709996
43134A83A51383   DELANO       PERDUE                   OH          66008610830
4313531235B222   TAB          D                        KY          90012503123
43135A3735B52B   FELECIA      VALDEZ                   NM          90014070373
4313612A95B52B   ALFONSO      MORTES                   NM          36006241209
4313684565B597   IVETTE       ANO                      NM          90014168456
4313815A291523   GEORGINA     ORTEGA                   TX          90006961502
4313824788B16B   SCOTT        FRASLER                  UT          90011392478
43138622972B36   MARIO        VALLES                   CO          90012296229
4313879195597B   GARY         EDWARDS                  CA          90007367919
43138A84272B43   PARVANEH     ALIASGHARI               CO          33034580842
43139814A61967   JULIAN       RUIZ                     CA          90014678140
4313B18415B52B   AVELINA      AVALOS                   NM          90013971841
4313B21545B375   JULIO        TORRES                   OR          90008142154
4313B252A5B53B   ISAIAM       CHAVEZ                   NM          90012142520
4313BA45A72B43   JOSE         ALANIZ                   CO          90013070450
43141654676B64   HUGO         GUZMAN                   CA          90009546546
4314167385597B   JESSICA      CANTU                    CA          49083086738
4314179225B222   MARGARITA    CASTILLO                 KY          90012217922
4314256745B174   TELICA       JONES                    AR          90011175674
4314272385B58B   THOMAS       CAVALIER                 NM          35041457238
43142757972B43   STEVEN       BOLIN                    CO          33017997579
431428A544B271   LATASHA      ASHLEY                   NE          90009378054
4314414445B222   KESHIA       FUQUA                    KY          90014771444
43144273A61967   MARCO        MENDOZA                  CA          90010702730
431442A342B872   WILLIAM      MOCLAIRE                 ID          42009502034
4314436345B222   MICHELLE     LUCAS                    KY          90013053634
4314472645B52B   HEIDI        GOMEZ BLANCO             NM          90003957264
4314477A85597B   JOSE         JIMENEZ                  CA          90013357708
4314485165B597   NADINE       MARTINEZ                 NM          90014168516
4314573612B87B   MICHAEL      THOMAS                   ID          41097127361
43145A9A55B271   SHYNIK       COLLINS                  KY          68056270905
4314615392B87B   RUSSLE       TAFT                     ID          90015031539
4314648235B52B   ENRIQUE      MENDEZ                   NM          90008574823
4314753925B52B   ANITA        HOPKINS                  NM          90011125392
43147837A5B53B   PRESCILLA    VALDEZ                   NM          90011998370
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4314924A171934   JAMELA        WESTFIELD               CO          90000332401
43149345A5B53B   KIMBERLY      WHITE                   NM          90014813450
4314941734B547   NANCY         MARIGALES               OK          90013554173
43149555672B36   TERESA LOVE   CHAVEZ                  CO          90013355556
4314B634855939   HENIETTA      MALDONADO               CA          90009816348
4314B82525B58B   BENJAMIN      KOMAREK                 NM          90012048252
4314B85AA71999   CHISTINA      QUINTANA                CO          90014448500
4315198255B52B   KARINA        GALLARDO                NM          36029889825
43152828A91569   CYNTHIA       ROJAS                   TX          90011418280
43153358572B36   FOREVER       FOREVER                 CO          90009913585
4315344365B222   CHELSY        WILKERSON               KY          90013644436
431534A5255939   CRYSTAL       BROWN                   CA          90009754052
431537A725B52B   CIRILO        PEREZ                   NM          90010987072
4315417768B165   LUNA          LUCAS                   UT          31077911776
4315447894B271   ROSS          STANFORD                NE          90015164789
43154A4362B87B   BRIAN         PETERSON                ID          90010320436
4315537625B174   REBECCA       COLEMAN                 AR          23052883762
431555AA28B16B   SYLVIA        OSORNIO                 UT          90012655002
4315566A572B4B   BECKY         SWANSON                 CO          33001716605
43155834A5B58B   ROSALYN       GARCIA                  NM          90012908340
4315584195B222   TINA          WALKER                  KY          90009058419
431558A365B58B   DONITA        JOHNSON                 NM          90013068036
43156333A5597B   BILL          WILLIAMS                CA          90008443330
4315718855597B   VANNARA       KEO                     CA          90005731885
4315812625B52B   EVANILIA      MONRROY                 NM          90005601262
4315854662B87B   EDWARD        GILMORE                 ID          41014625466
43158833A5B597   GOYO          FLORES                  NM          90012668330
4315936145B52B   ORALIA        VALDEZ                  NM          36079473614
43159921672B43   PRESTON       SINGLETARY              CO          90010989216
4315B1A585B52B   ENRIQUE       HENDER                  NM          90014071058
4315B489461963   MELLISA       BECK                    CA          90013984894
4315B492191873   ELLAWEDA      WATASHE                 OK          90014104921
4315B583A5B271   JASON         ENGLISH                 KY          90013155830
4316145895B174   ELLA          HUMPHREY                AR          23071694589
43161694872B4B   BROWN         WANDA                   CO          90001326948
431617A465597B   ANDREA        MCCLELLAN               CA          90014567046
431617A638B16B   TYLER         STEWART                 UT          90013737063
4316181565B58B   PHILLIP       SANGRE                  NM          35083778156
4316257519155B   ROSLY         GARCIA                  TX          75009575751
4316277A341287   JULIA         FFERREE                 PA          51006897703
4316321852B27B   WILLIS        YOUNG                   DC          81079272185
4316332425597B   TRACY         LARSON                  CA          90011983242
4316369AA91523   RICHARD       GILL                    TX          75086956900
4316377A341287   JULIA         FFERREE                 PA          51006897703
43163989A5B174   BRYAN         ELIASON                 AR          90010989890
43166613A55939   TRACY         GONZALEZ                CA          90014176130
43166A32872B4B   MICHAEL       HARRIS JR               CO          33015030328
43166A9594B271   HANSEL        MORROW                  NE          90011450959
43167143A61963   LETICIA       PEREZ                   CA          90009041430
4316745A391873   MARLA         BOND                    OK          90012454503
4316815885B52B   JAVIER        MOJICA                  NM          90010321588
43168268272B36   KATHRYN       CLYMO                   CO          33013212682
4316861348B165   DAGAN         BOURP                   UT          90014936134
4316878A261955   OMAR          FRANCO                  CA          90013527802
431687A4361967   MACKENDY      GENEUS                  CA          90006177043
43168813A71999   CHRISTINA     CONTRERAS               CO          90013258130
4316886A791569   DEBORAH       IBAVE                   TX          75032948607
4316954455B222   PATRICIA      LEWIS                   KY          90012065445
43169552572B25   LEYDI         GALDAMEZ                CO          90013155525
4316963442B87B   SONIA         GUTIERREZ               ID          41057046344
4316B4A8391569   SONIA         ESCOVEDO                TX          90011614083
4316BA24772B36   TAPIA         JAIME                   CO          90005870247
43171253A91569   HERIBERTO     SILVA                   TX          75079002530
43171419A8B156   THERESA       OQUENDO                 UT          90010164190
4317192762B266   CHERYL        SMITH                   MD          90013519276
43171AA948B165   DAVID         KINNEY                  UT          31006180094
4317218817B66B   DESHAWN       PACE                    GA          15084221881
4317323185B222   VINCENT       MEANS                   KY          90011362318
431734A2361963   MAE           BISHOP                  CA          46005184023
4317477845B52B   ANJELEA       SANDLES                 NM          90014097784
4317583382B87B   JOSEPH        STRAUBE                 ID          90015508338
4317593245B597   DANIEL        ALMANZAR                NM          90011869324
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4317618615B58B   MATTHIAS      WYNKOOP                 NM          90012721861
43176A8625B53B   RODRIGUEZ     NANCY                   NM          90005130862
4317781282B87B   CRYSTAL       BROWN                   ID          90013358128
431778A9A5B52B   RUTH          DEHERRERA               NM          90014098090
4317798627B66B   KATRINA       ALEXANDER               GA          15047389862
431784A7155939   DOMINIQUE     TORRES                  CA          49057924071
43178523572B36   PAULETTA      MASCARENAZ              CO          33017525235
43178A6662B87B   MELLISA       MASON                   ID          90012160666
43179125672B4B   CAROL         KASANG                  CO          90015261256
431794A1193741   AGARRA        JARRA                   OH          90010724011
4317B44148B165   KAZUHIRO      NAGAI                   UT          90012134414
4317B69822B87B   CRYSTAL       MCCAFFREY               ID          90012906982
4317B955691569   DEBORAH       CONNER                  NM          90008059556
4318119444B271   KRISTY        CARRUTH                 NE          90013411944
43181572272B43   SPENCER       GRIMES                  CO          90002315722
4318167AA55939   VALENTINA     REYES                   CA          90011846700
4318187915B58B   GERALD        MITCHELL                NM          90013468791
43182984272B43   JUAN          CHAVEZ                  CO          90012679842
43183243972B43   WHITNEY       PARHAM                  CO          90009972439
4318354415B597   MANUEL        ESQUIBEL                NM          35077405441
43183986A5B53B   CHRISTIE      LIGHTFOOT               NM          90006989860
4318429A761967   MARIALENA     FLORES                  CA          46042562907
43184987A72B4B   TIMOTHY       KRAMER                  CO          90010209870
431852A542B87B   KRISTA        WORLEY                  ID          41098032054
4318642A172B4B   JB            DOYAL                   CO          90000914201
4318689A18B165   JACQUELYNN    BEASON                  UT          31076968901
43187319A72B4B   JAMES         DECLUE                  CO          90012863190
431874A842B87B   ROBERT        FLORA                   ID          90007574084
4318762A672452   ZACK          MCLEMLUGH               PA          90015266206
4318774A14B271   CHRIS         MARSHALL                NE          90012597401
4318883825B53B   BARBARA       DOSS                    NM          35092298382
4318893793B343   JASON         SURBER                  CO          33057139379
43188A8AA71999   REX           THOMAS                  CO          90013380800
4318B26935597B   SHACOLLA      JACKSON                 CA          49004462693
4318B46492B27B   JOSE          VENTURA                 DC          90015074649
4318B87455B597   JOHN          HICKS                   NM          90014168745
431926A4621981   AMBER         PRICE                   IN          90009636046
4319359558B16B   MARIA         GONZALEZ                UT          90007895955
4319516247B66B   RAQUEL        GRAYER                  GA          90006521624
431954AA15B271   ALYSA         MCWILLIAMS              KY          68039714001
4319588948B16B   JEN           LAVINE                  UT          31063198894
431962A8172B43   VICKIE        SANTISTEVAN             CO          33004582081
43196472624B64   OCTAVIA       BLACKMAN                DC          90003624726
43196592A72488   JIM           SMITH                   PA          90010695920
43197154A72B4B   HAILEMARIAM   TUKANI                  CO          90013561540
4319733A161967   MARIANA       DOMINGUEZ               CA          90015553301
4319764195597B   GRACE         SALINAS                 CA          90013076419
4319764514B271   DHAN          RAI                     NE          90014426451
4319821762B27B   SHARRON       JACKSON                 DC          90001282176
4319826855B58B   HERBERT       SMITH                   NM          35079162685
43198466A72B36   ROBERTO       ANTONIO                 CO          90009924660
4319923454B271   OSBALDO       BANALES                 NE          90003972345
431998A665B174   APRIL         GILLIAM                 AR          23006598066
43199A32671999   CHRISTINE     GALLEGOS                CO          90008230326
4319B164691873   CLIFFORD      RAGLIN                  OK          90005011646
4319B52185B58B   MELISSA       RASCON                  NM          90011895218
4319B821572452   DOUGLAS       SLAVIN                  PA          90011038215
431B153665597B   TAHESIA       LEE                     CA          90002815366
431B173565B52B   BERTHA        CHANES                  NM          90013967356
431B2339372B43   ANGELICA      TRUJILLO                CO          33087863393
431B281328B165   JENNIFER      RUBIO                   UT          31066028132
431B284A35B174   BRIANNA       BRUNSON                 AR          90015088403
431B2957791873   DADRIEN       LOCKHARD                OK          90015129577
431B318448B165   HINDMAN       NORA                    UT          31012581844
431B3186272B4B   MARTINEZ      TROY                    CO          90013351862
431B43A4561963   EDUARDO       RODIGUEZ                CA          90012293045
431B486165B52B   DORA          TRETO                   NM          90015268616
431B4A4678B165   JUSTIN        JOYNER                  UT          90014850467
431B5389772452   GAIL          GREENE                  PA          51000013897
431B572A691394   ISAI          MARTINEZ                KS          90008767206
431B62A195B58B   JONETTE       PADILLA                 NM          90009762019
431B6462661967   MARY          JACKSON                 CA          46063624626
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431B6491541265   CHRISTYANN   NEWELL                   PA          90012554915
431B6A1325B222   VINETTE      GREEN                    KY          90002550132
431B763A491873   REESE        JOHNSON                  OK          90008016304
431B773565B52B   BERTHA       CHANES                   NM          90013967356
431B792632B87B   JOSHUA       TURNER                   ID          90007029263
431B79A7761963   SALLY        WOHLMACHER               CA          46030539077
431B8296391569   RUBY         DE LA CERDA              TX          90014002963
431B8429972B36   CECILIA      CARBAJAL                 CO          90012674299
431B8436131448   KENYA        HANDCOCK                 MO          90008884361
431B846325B597   JAMIE        FORNESS                  NM          90009284632
431B8767472B43   SERGIO       DELGADO                  CO          33016817674
431B913185B597   CARLA        NAVARRETTE               NM          90003151318
431B961235597B   VICTOR       LAMAS                    CA          90011386123
431B9893272B39   TOMAS        GAMBOA                   CO          33098898932
431B9921661967   LORINA       MONTEJANO                CA          46058519216
431BB313871999   JACQUELINE   PADILLA                  CO          38044983138
431BB461377595   DAVID        DADEY                    NV          90014704613
431BB74A68B16B   ALEX         TAYLOR                   UT          90014617406
431BB883572B4B   DOLORES      O'CONNOR                 CO          33084508835
43211527772B43   TRAVIS       RICKMAN                  CO          33015995277
4321251AA54155   JULIE        TRACY                    OR          47006285100
4321261A991873   BETTY        PRESSLAUER               OK          21048176109
4321263185B53B   LEOBARDO     MARTINEZ-MERCADO         NM          90003316318
43212AA115B223   DEISI        CHAVARRIA                KY          68061120011
4321316747B66B   JOHN         FLEMING                  GA          90014181674
4321333A955939   SAMUEL       ORTEGA                   CA          49090563309
4321341A12B87B   CHAD         HOFFMAN                  ID          90014624101
432153AAA5B52B   VALERIA      FERRER                   NM          90010223000
43215865A55939   SILVIA       HUERTA                   CA          90009868650
4321621376182B   MITCHELL     SHEHORN                   IL         90015422137
4321646415B222   LAVELLE      RICHARDS                 KY          68038894641
432167A648B16B   PHILLIP      MAN                      UT          90011057064
4321716615B523   LIZ          ALVARADO                 NM          90007491661
4321735A355939   PATRICIA     VARGAS                   CA          90013983503
43217429272B36   MARK         MARTIN                   CO          33070164292
432177A9772452   CASSIDY      PIERCE                   PA          90011257097
4321829197B66B   DEIDRA       ALEXANDER                GA          90003322919
43218292A61967   JOVAN        LUZURIAGA                CA          90010702920
43218A3255B53B   SURENDRA     SUBEDI                   NM          90012570325
43219345872B45   SHANE        MACDONALD                CO          90014083458
4321995A172452   EUGENE       SOWERS                   PA          90014169501
4321997715B271   QUIE         MORE                     KY          90005359771
4321B39355B58B   JOSHUA       CANTU                    NM          90011193935
4321B67848B141   SHAUN        COLLEDGE                 UT          90014586784
43221634972B36   LILY         ORTEGA                   CO          90012296349
432216AA371999   RANDALL      TAYLOR                   CO          38001106003
4322193455B58B   CHAVEZ       MAGGIE                   NM          90009969345
43222428A7B66B   LEON         THOMAS                   GA          90003954280
43222475A61967   ALICIA       SARDINA                  CA          90001474750
432231A6171999   BOBBIE       OGAZ                     CO          90005811061
432235A2284349   DOMINIQUE    FARMER                   SC          90011225022
4322374285597B   STEPHANIE    ZARATE                   CA          90014567428
4322436955B222   TAYLOR       SMITH                    KY          90009033695
43224416A91873   TRACY        CAMPBELL                 OK          21022104160
4322455A68B16B   JERYY        CARTER                   UT          90013075506
43224763472B4B   JOSE         ARAGON                   CO          33069887634
43224AA125B174   DARRELL      ROBINSON                 AR          90014020012
43225416272B4B   ROYBAL       LOURIE                   CO          33082204162
4322542A65B271   DOUGLAS      NICHOLS                  KY          68040954206
43226A6755B52B   ALICIA       MONTOYA                  NM          90000580675
43226AAA15B597   ALBERT       SANCHEZ                  NM          90009280001
4322732A272B4B   ALEXANDER    CHAPMAN                  CO          90012863202
4322758A591569   OSCAR        MORALES                  TX          75047105805
4322822922B828   DUSTIN       WHITING                  ID          42085442292
4322882865B174   DANIELLE     ADAMS                    AR          90013218286
4322894745B174   DEANDRA      WOODARD                  AR          90011439474
43228A1598B16B   STACY        SILVERSMITH              UT          90012510159
4322941A671644   DARREN       FRAYNE                   NY          90015594106
43229A57A91873   SHARONDA     FOSTER                   OK          21090790570
43229A64A5597B   WILLIAM      HARRIS                   CA          90010130640
4322B45475B52B   GUADALUPE    GOMEZ                    NM          36042864547
4322B891691569   RODOLFO      SOLANO                   TX          90012168916
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43231315172B43   AMPARO       MARTINEZ-DE LA TORE      CO          90003563151
4323132355B222   CANDYCE      GUY                      KY          68051063235
43231549A77595   MICHAELA     RUIZ                     NV          90014205490
4323185715B52B   ZAJID        GARCIA                   NM          90014168571
4323188712B87B   JAMES        RIVERA                   ID          90009178871
43231936A2B27B   LADONYA      JENKINS                  VA          90014379360
432323A458B165   MARC         CHAPMAN                  UT          90011073045
432327A632B27B   ALICIA       MCCOLLUM                 DC          90001477063
4323289A24B271   MILAGROS     MCALEER                  NE          90011548902
43232A2468B16B   NICOLAS      HAUFFMAN                 UT          90001790246
43232AA4572452   BONNIE       MCADAMS                  PA          90011850045
4323374A15B523   LETICIA      CHAVEZ                   NM          35053737401
432338AA674B31   KAYLA        FESS                     PA          90005338006
43234193A91569   DAYNA        CORREA                   TX          90013791930
4323513835B223   ANGELA       JONES                    KY          90002581383
43235A5A25B52B   JOANNE       SANDOVAL                 NM          90014170502
4323631382B87B   ASHLEY       MUSSATTO                 ID          90008533138
43236356172B36   ARACELY      RODRIGUEZ                CO          90011093561
4323738365B53B   DAVID        GURULE                   NM          90010163836
4323742155597B   TAMMY        JONES                    CA          90012834215
4323774972B249   NICOLE       GREEN                    DC          90013307497
4323788644B271   KAMERON      WASHINGTON               NE          90014578864
4323792715B597   JOSE LUIS    ZARATE                   NM          35089859271
43237A2715B174   OTIS         KING                     AR          23002000271
4323827585B271   AMANDA       BLAIR                    KY          90014782758
4323954455B222   BIANCA       ROTA                     KY          68013465445
4323B332871999   LIANE        PENA                     CO          90009593328
4323B5A675B222   JEFF         BONN                     KY          90014545067
4324124A672B43   BRYAN        KELLER                   CO          33089052406
43241399772B36   MELISSA      MARTINEZ                 CO          90014273997
4324174285597B   STEPHANIE    ZARATE                   CA          90014567428
432421A615B222   LIA          BISHOP                   KY          90010401061
4324264145B523   ERLINDA      GONZALEZ                 NM          90006986414
4324289AA72B4B   TONY         ENCINAS                  CO          90013648900
4324293358B16B   TOM          FRANKLIN                 UT          90005549335
43242A69861967   NETH         TRO                      CA          46043410698
4324331822B87B   IGNACIO      SANABRIA                 ID          41066043182
4324343638163B   LEAH         AVIEL                    MO          90014434363
4324346118B165   MILLICENT    WOFFORD                  UT          31059384611
43243729A55939   SALLY        SANCHEZ GALINDO          CA          90015167290
4324468315B58B   GUADALUPPE   MARQUEZ                  NM          90014556831
43244983A2B87B   ROBERTA      CHAFFINS                 ID          90013819830
43245152972B36   TARAY        HALL                     CO          33091861529
4324521554B271   MADELINE     STEADHAM                 NE          27028632155
4324542875B58B   OLIVIA       CASTILLO                 NM          90011854287
43245A65A5597B   NOEL         KUMATAKA                 CA          90003540650
4324628A45597B   FRANCISCO    JURADO                   CA          90015112804
4324676955B222   STEPHANIE    EVERTS                   KY          90010077695
432471A5591569   OBED         MIRAMONTES               TX          90010741055
4324788485B223   JOHN         HARROD                   KY          90007018848
43247952774B31   ROBERT       ROSE                     PA          90006509527
43248A55A74B31   HILDA        THOMAS                   PA          90005340550
4324B14415597B   XOCHILT      RAMIREZ                  CA          90011901441
4324B59A55B597   MICHAEL      RENFRO                   NM          90014585905
4324BA82291569   GEORGINA     CORDOVA                  TX          90013740822
4325177735B593   CECILA       RIVERA                   NM          90001097773
43251A24161967   AISHA        TATUM                    CA          46015820241
43252383372B22   KANEISHA     GILSON                   CO          90007593833
4325271A572B36   CHERYL       VOILES                   CO          33086937105
43252778572B45   DAVID        SMITH                    CO          90009587785
43252A71191873   GLENDA       ANDERSON                 OK          21005830711
4325318518B165   JOHANNA      KAIHE                    UT          31092301851
43253668272B36   STEPHANIE    ANN TAFOYA               CO          33066986682
43253A56877595   THERESA      GREER                    NV          43005260568
4325553A75B52B   ERIKA        VALLES                   NM          90015085307
4325562AA72B43   DAVID        MARTIN                   CO          90012346200
4325624892B87B   BUNNY        BRINK                    ID          41078942489
4325681145B597   SERENA       AMBRIZ                   NM          90015028114
4325755485B53B   BLANCA       RAMOS                    NM          90007865548
4325833215B53B   ELSPERANZA   LAURENCE                 NM          90010093321
4325872355B58B   CRISTAL      BUSTILLOS                NM          90003087235
43259313672B54   KELLI        BAKER                    CO          90007263136
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4325947334B271   ROBERT       ANDERSON                 NE          27043544733
432597A435B271   KELLEY       WARE                     KY          68064077043
4325B41A772B93   ISMAEL       VILLALOBOS               CO          90001164107
4325B74475B174   DAVID        CALVARIO                 AR          90001967447
4326136145B52B   ORALIA       VALDEZ                   NM          36079473614
43261526276B48   HERLINDA     ROBLES                   CA          90005455262
432626A4672B36   SANTOS       MONTELONGO               CO          90011016046
43262796572B43   JOSHUA       ARAGON                   CO          90013817965
432637A1761941   MAYBE        SUNIGA                   CA          90009537017
432644A235597B   ANNTRELL     GARCIA                   CA          49026474023
4326586655B58B   LATONIA      MELCHOR                  NM          90005098665
43266A2A451334   SYRUSS       WILLIAMS                 OH          90015300204
43266A3645B222   KELLIE       TURNER                   KY          90010170364
4326769345B58B   JAMES        GONZALES                 NM          90014556934
432676A8877595   NICOLE       CRUZ                     NV          43065496088
4326844467B453   MARTHA       BROWN                    NC          90012354446
43268997972B43   WASHINGTON   LORI                     CO          33084779979
4326B159951383   JASON        VANDEPITTE               OH          66033951599
4326B357872B36   JUSTIN       WALES                    CO          90003483578
4326B457972B43   GORGE        GARSIS                   CO          90008704579
4327115964B271   ALMA         DE LA CRUZ               NE          27020731596
432715A8A5B597   MYRA         MAKAI                    NM          35040825080
4327177775B271   VALENTIN     MARTINEZ                 KY          90000277777
4327217835B53B   SARAYA       CASTILLO                 NM          90011321783
43272535972B4B   EBONIE       WALKER                   CO          90010505359
4327294315B52B   ALEJANDRO    SANTOS                   NM          90015199431
43273635772B36   SHARIKA      LEAKS                    CO          90013396357
4327374415B53B   AMANDA       VALDEZ                   NM          90013927441
4327417A971999   LETICIA      VIGIL                    CO          90011431709
432749A118B165   REBECCA      MORROW                   UT          90010229011
4327517675B597   BERNADINE    KINCHEN                  NM          90013021767
4327537985597B   MARISSA      SANDOVAL                 CA          90010703798
4327598798B165   IRMA         MARTINEZ                 UT          90012079879
43275A8625B222   NEJA         HURST                    KY          90015330862
4327618AA71999   SAVANNAH     DUREN                    CO          90003501800
43276795A51334   LEONEL       SALES                    OH          90014377950
4327798575B597   JONAS        RAY                      NM          90014169857
43277A8865B222   LATRESA      BROWN                    KY          90004740886
4327917675B597   BERNADINE    KINCHEN                  NM          90013021767
43279A2815B52B   VERNON       VILLA                    NM          90014180281
4327B188272B36   EVANGELINA   MARTIN                   CO          33088641882
4327B347991523   NOHEMI       NORATO                   TX          90011203479
4327B673941455   GUSTAVO      RAMIREZ                  WI          90012386739
4327B69852B87B   ALLEN        BEAGLE                   ID          41032446985
4327B747971999   EVELYNN      HARMES                   CO          90012687479
4327B93335B271   MANUEL       SANTOS                   KY          90009549333
432811A674B271   SHALISHA     THOMAS                   NE          90015131067
43281378172B36   ANTONIO      SARMIENTO                CO          90013403781
432817A8277554   MAGALY       MORALES                  NV          90004367082
4328199478B165   WILLIAM      ARGYLE                   UT          31055979947
4328199555B597   SHAWNDA      BALL                     NM          90014169955
4328228415597B   PRISCILLA    HINOJOSA                 CA          90013492841
4328238514B271   DONTE        EDWARDS                  NE          90014203851
4328256715B523   D'YANIRA     PEREZ                    NM          35091675671
43282A7915B52B   ISMAEL       AVILA- CORRAL            NM          90014180791
43283347954B42   SHEILA       TRITLE                   VA          90010263479
43283564572B36   CELESTE      CALDWELL                 CO          90010035645
4328382A55B597   CHARLOTTE    CORDOVA                  NM          90014888205
43283A6A441265   CANDACE      COOK                     PA          90013870604
4328412545B52B   PAT          BLATTI                   NM          90014181254
4328427115B271   ADA          DEVINE                   KY          68031682711
4328435A655939   ENRIQUE      RUIZ                     CA          90014583506
4328477225B58B   JOANN        MERCURE                  NM          35017407722
4328477838B165   TRAVIS       BLOOD                    UT          90013747783
43285642A55939   AVELINA      ORTEGA                   CA          90000696420
43285AA6A61963   JAVIER       NAVARRETE                CA          90012870060
43286669272B43   JOHN         DOCHTERMAN               CO          90013826692
43287755372B36   TIFFANIE     JOHNSON                  CO          90010137553
43287A9235B222   VANESSA      PATTERSON                KY          90014410923
4328828135B52B   GERARDO      TORRES-MURILLO           NM          36055162813
4328874165B523   ROSALVA      RINCON                   NM          90006987416
43289248772B36   OCTAVIO      GARCIA                   CO          90007672487
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4328B118971999   KARL             GRASMICK             CO          38083111189
4328B12A55B53B   ANTHONY          SAMORA               NM          90012801205
4328B558321981   ALYSSA           LEVERMAN             IN          90015565583
432911A125B222   SEAN             DUNN                 KY          68062161012
4329151812B87B   YVONNE           SILVA                ID          41092985181
4329227985B52B   RUTH MARGARITA   LOPEZ                NM          90014182798
43292444872B43   NICOLE           STUBBLEFIELD         CO          90008404448
43292467A86453   RACHEL           SEARLE               SC          90014994670
43292724A2B27B   GERSON           LEMUS                DC          90000337240
4329279A391569   ALEJANDRO        HERNANDEZ            TX          90009917903
4329334A35B58B   ANGELITA         CARRASCO             NM          90013893403
4329358215B597   RENEE            SANCHEZ              NM          90014575821
43293A57491549   ROSALINDA        MEDINA               TX          90011450574
4329466255B53B   JERRY            ESPINO               NM          90007866625
432946A125B597   BECKY            GAFFNEY              NM          90013356012
432946A274B271   AUSTIN           SULLIVAN             IA          90009176027
4329481235B222   PRETTYGRL        THRNTON              KY          90007518123
43294A25191873   NATHAN           HARRIS               OK          90013280251
43294A6545597B   FERNANDO         HERNANDEZ            CA          49072670654
4329539A62B27B   CALVIN           ROB                  DC          90015383906
4329549485B52B   KAROLINA         SANCHEZ              NM          90014184948
4329591962B27B   TRAVONE          PERSON               DC          81016949196
4329651414B271   EDRUN            BOYER                NE          27029215141
43297124172B43   TERRANCE         SHAW                 CO          90012731241
4329743935B58B   RICHARD          SANCHEZ              NM          35023484393
432974A955597B   ANEISHA          OCANAS               CA          90010664095
4329813515B52B   CONSTANCE        LUJAN                NM          90002721351
43299166A55939   GUILLERMINA      ORTEGA               CA          90011211660
432993A9372B43   NATALIE          DAVIA                CO          33019503093
4329952398B16B   ALFONSO          MONTES               UT          31080565239
432996A8A5B597   MARIA            ARAGON               NM          90010806080
4329972414B271   RICHARD          JOHNSON JR           NE          27011147241
4329B259172B43   MEAGAN           HERALD               CO          90009582591
4329B529691569   MORENO           ISAAC                TX          90007655296
4329B69155B58B   ASTRID           CAHUEX               NM          90011116915
4329B73914B539   TRAICE           ROBINSON             OK          90010957391
432B1413172B36   DANIEL           VARGAS               CO          33077364131
432B178A12B27B   TONDALIERE       YOUNG                DC          81051357801
432B1AA925B597   DELILAH          SCHOBEY              NM          90012350092
432B25A355B222   JULIO            LOPEZ                KY          68017965035
432B265785B58B   ALEXIS           AARON                NM          90014416578
432B296475B597   LATISHA          ROMERO               NM          90011109647
432B3152551383   ERON             JOHNSON              OH          66079751525
432B338115B53B   DIANA            MOLINAR              NM          35045923811
432B367255597B   ONECHAN          LOUANGPHOM           CA          49053496725
432B395455B174   BENJAMIN         CARBALLO- VARGAS     AR          90011759545
432B4344861967   RAQUEL           MENDOZA              CA          90012093448
432B5146661967   NICOLE           HAIRGROVE            CA          90015231466
432B592295B53B   BRADFORD         BURKHOLDER           NM          90014339229
432B6128191873   AMBER            LANDA                OK          90011071281
432B613845B52B   HECTOR           HUGO MARTINEZ        NM          36023421384
432B635117B49B   JANCE            MOSLEY               NC          90004793511
432B6653577595   JEREMY           JOHNSON              NV          90015116535
432B7136691394   VICTOR           ORTIZ                KS          29057041366
432B7227893747   JOHN             DERHAM               OH          90011262278
432B7251A7B453   CRYSTAL          MALLARD              NC          90011592510
432B762775134B   MARY             HACKER               OH          90001616277
432B7848771999   PAMELA           GALLARDO             CO          38078808487
432B9A5187B66B   AMANDA           COX                  GA          15011830518
432BB23663B356   HTT              REALTY               CO          90003702366
432BB94675B174   COREY            SUMMINS              AR          90014859467
433118A335B58B   KILL             CEDELLA              NM          90014078033
4331263315B52B   LOUIS            SANCHEZ              NM          90014186331
4331323315597B   JESUS            MALDONADO            CA          90012102331
4331335825B174   IDA              STROCK               AR          23037783582
43313AA7151383   HERBERT          AARON                OH          90014640071
4331483413619B   VERONICA         SENICEROS            TX          73588858341
4331498715B597   LORENA           MARQUEZ              NM          35091459871
43314A59172B43   MARGARITA        LOPEZ                CO          33026590591
4331536155B222   TYREE            MITCHELL             KY          90014923615
43315A9392B87B   ANTHONY          CADA                 ID          90000540939
4331641955B597   BARBARA          ARCHULETA            NM          90012004195
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4331671945B174   SERERA      GILLIAMS                  AR          90006027194
43316AA8861967   ADRIANA     MAXIMILIANO               CA          90001680088
4331725378B16B   ANGELICA    ALONSO                    UT          90012972537
43317A9548B165   CAROLYN     HUNGER                    UT          90009880954
4331896565B52B   EDUARDO     SALGADO BARAJAS           NM          36068859656
4331925335597B   LOUISA      LOPEZ                     CA          49079992533
433197A525B52B   JOSE        GONZALEZ                  NM          90014187052
4331B117561967   RENEE       GARZA                     CA          90013451175
4331B52338168B   LAURIE      BODEN                     MO          90012765233
4331B5A555B271   ALICIA      MOLINA GARCIA             KY          90011545055
4331B63235597B   BRENDA      NUNEZ                     CA          49049896323
4331B63315B52B   LOUIS       SANCHEZ                   NM          90014186331
43322291857B97   ROBERT      HOPKINS                   PA          90014152918
4332233294B945   DEAN        LEWIS                     TX          90013693329
4332238A84B271   SIARA       MITCHELL                  NE          90010253808
43322773772B4B   SHERRY      JAGIELLO                  CO          33067837737
43322A8593B336   ROSIMEIRE   MACEDO                    CO          90006240859
4332353315B52B   STEPHANIE   WOOD                      NM          36085405331
43323569672B36   TOBY        PADILLA                   CO          33072955696
43324387172B4B   DESIRAE     MENDOZA                   CO          33075913871
4332451A421981   OMYI        ARMSTRONG                 IN          90015365104
43324925672B36   GEORGE      CHENAULT                  CO          33084769256
43324A2835B271   TERRANCE    HOLT                      KY          90009110283
4332539328B16B   HONILYN     DARRINGTON                UT          31026673932
43326432A77595   SAYRE       INURRIAGA                 NV          43062664320
4332749315B375   NICK        PORTER                    OR          44554544931
43327553A5B52B   ALEJANDRA   DIAZ-FIERRO               NM          36025625530
4332835957B49B   TIFFANY     ELDER                     NC          90000143595
4332966995B58B   MICHAEL     MARQUEZ                   NM          90013256699
43329717A2B87B   CHRIS       MATSON                    ID          90002237170
4332B448472B43   FRANCISCO   MEDINA                    CO          33039684484
4332B559A91569   RANDY       RAULSTON                  TX          75017785590
4332B68732B27B   ELSY        MONTESINOS                DC          90004166873
4332BA3454B271   OSCRA       STARKS                    NE          90009140345
4333258975597B   MARIA E     MARTINEZ                  CA          90009485897
4333271A12B87B   ELIZABETH   WEISENBACH                ID          41098127101
4333359635B53B   KARLA       BONET                     NM          90007865963
4333362457B824   BRANDON     JONES                     CA          90013616245
4333362515B174   DESHONDA    ELLIS                     AR          90014196251
4333387852B87B   ROBYN       CORNING                   ID          90014438785
4333511A661963   DERRICK     HOWARD                    CA          90012361106
4333572435597B   MAIRA       NAVARETTE                 CA          90003177243
43335A42677595   JONATHAN    MORGAN                    NV          90012340426
4333632598163B   BYRON       TAYLOR                    MO          90007183259
4333637345B53B   RONALD      HYATT                     NM          90005923734
43336492172B4B   PEDRO       GARCIA                    CO          33007124921
4333753482B27B   JUANA       LAZO                      DC          90006615348
4333822A35B597   JUDITH      RENVILLE                  NM          90013022203
4333899395B58B   LETICIA     ORTIZ                     NM          35083989939
43338A33A5B52B   IRENE       MOX                       NM          90013930330
43339131972B4B   ARTURO      HERRERA                   CO          90010731319
4333928AA5B174   DASIA       DOLBERRY                  AR          90013352800
4333943295B52B   JUANA       LUNA-FLORES               NM          90014204329
43339A2545B597   GABRIEL     CHAVEZ                    NM          35064300254
4333B499A77595   CHARLES     ERNST                     NV          90004164990
4333B86964B271   CAMILLE     MILLER                    NE          90010478696
4334174375B597   SABINO      MARTINEZ                  NM          90015127437
43343177672B4B   MARTHA      MEZA                      CO          90001731776
4334343934B271   KHRISTY     ADAMS                     NE          27025504393
4334362865B145   TIFFANY     CHAVIES                   AR          23046726286
43343636A5B222   PAUL        SESSIONS                  KY          90015326360
43343897A7B66B   LAKESHIA    ROBINSON                  GA          15012378970
433438AA73B394   PATRICK     TAFOYA                    CO          33002038007
43344A2455B222   LEANNE      MCCUTCHEN                 KY          90000170245
4334547A143576   ROBERT      NEART                     UT          90013264701
4334634A691569   CHRISTINE   CABRALES                  TX          90013463406
43346783572B39   JEFFERSON   NALLEY                    CO          90010187835
433472A9A5B52B   KATHY       LUJAN                     NM          90012042090
4334764372B87B   JOSHUA      JOHNSON                   ID          90014826437
4334774975B53B   JOSE        JUAREZ                    NM          90013537497
43347894124B7B   BREYANNI    SAMUEL                    DC          90014938941
43347A6522B27B   KEVIN       DIAZ                      DC          90012110652
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4334824975B52B   LEONIDES     LOYA-BOJORQUEZ           NM          90014232497
4334853935B52B   FABILOA      MARQUEZ                  NM          90014205393
4334858A54B568   CODY         WESTPHAL                 OK          90013265805
43348922A5B581   JESUS        MARQUEZ                  NM          90006149220
43349136A5B52B   YVONNE       JOHNSTON                 NM          90005651360
433491A4A77595   JUAN ANGEL   RAMIREZ                  NV          90013141040
433491A6961963   KYLE         MOORE                    CA          90009081069
4334942755B174   PORSHIA      WILLIAMS                 AR          90014704275
4334B459971999   ROGER        SELLS                    CO          90003984599
43351319372B4B   SHAUNTAE     ARRINGTON                CO          90012653193
43352221272B36   JAKE         PHILLIPS                 CO          90002142212
4335269A45B52B   CARMEN       PENA GONZALES            NM          36027766904
4335296595B58B   ARIEL        GARCIA                   NM          90013319659
43352A5335597B   RICHARD      ANTHONY                  CA          90013140533
433535A7A91569   JESSICA      ARREDONDO                TX          90010895070
4335447532B27B   TYMESIA      FITZ                     DC          90013754753
43354A6A78B165   SHANIE       VINCENT                  UT          90014850607
43354A7345597B   RACHEL       GARCIA                   CA          49078500734
4335579A391873   CAMBRYNN     DOBSON                   OK          90013817903
4335664714B271   REYNA        AMBROSIO                 NE          27060856471
43356933A51334   TYE          MIDDLEBROOK              OH          90010609330
4335766215597B   ARACELI      LOPEZ                    CA          90010816621
43357785672B36   JOHANNA      SIERRA                   CO          90004027856
4335781215135B   ROBERT       THOMPSON                 OH          66052578121
43357A7935597B   MARTHA       LEGUIZAMO                CA          90004000793
4335868975B223   BRITTANY     GOODMAN                  KY          90004096897
4335B436361967   JAIMEE       BANZER                   CA          90010374363
4335B4AA377595   TYRONE       SUSSMANN                 NV          90014244003
4335B56995B597   MAGALI       MERAZ-MOLINAR            NM          35013045699
4335B734471999   SHANE        VARGAS                   CO          90009177344
4335B91178B16B   BRITNEY      MANATAU                  UT          90013269117
4336196425597B   RUBY         YANEZ                    CA          90014579642
43363A86855997   RAYMOND      BIBB                     CA          49081820868
43363AA185B53B   JESSICA      PEREZ                    NM          90004690018
4336474665B597   SANTIAGO     SISNEROS                 NM          90014497466
43365155A51334   MALIK        KIRKSEY                  OH          90012971550
4336569128B165   ALEXUS       ROUSH                    UT          90013136912
4336641A68B165   EBRIMA       BAH                      UT          31062204106
43367A86477595   MARISELA     JUAREZ                   NV          43009150864
4336827A45B52B   MANDY        SANCHEZ                  NM          90000592704
43368A2445B597   AARON OMAR   SANCHEZ MUNOZ            NM          90014850244
4336913144B271   YENIS        CARCAMOS-RAMOS           NE          90013271314
433691A7591394   RASLAD       FORTE                    KS          90012481075
4336923A43B37B   MARK         MCCASKEY                 CO          33069952304
4336941465597B   SUMMER       BECKER                   CA          90009414146
43369687272B43   MICHAEL      ZAMORA                   CO          90012876872
4336B644361967   CORETTA      BUCKLEY                  CA          90001156443
4336B936A5597B   MARIAH       MANCHA                   CA          49017679360
4336B9A8972B36   JUANA        GAMBOA                   CO          33084829089
43371A3955B597   OSCAR        BERNAL                   NM          90014170395
4337266786198B   LORENA       LOPEZ                    CA          90012686678
4337456712B27B   ALINA        JOHNSON                  DC          90014835671
43375A3815B52B   WESLEY       CHAVEZ                   NM          90015010381
433771A3751383   CARMEN       RODRIGUEZ                OH          90014631037
43377381A5B52B   JOSE         FLORES                   NM          36066463810
43377392572B4B   LEO          VILLELA                  CO          90013213925
4337822A874B31   JESSICA      STANLEY                  PA          90014042208
4337847A251334   BRETT        LURIX                    OH          90012074702
43378824872B36   NATE         GONZALES                 CO          90014668248
4337969822B87B   CRYSTAL      MCCAFFREY                ID          90012906982
43379A4A32B27B   RENEE        GRAY                     DC          90013700403
4337B99315B58B   TONIA        CHRISTIANSEN             NM          35071499931
43381367972B36   STEFFAINE    BOOKHARDT                CO          90015233679
43381A81491569   ADRIANA      TORRES                   TX          90012230814
433829A875597B   EZEKIEL      HERNANDEZ                CA          90014589087
43382A48357134   JULIO        REYES                    VA          90000570483
43382A6A78B165   SHANIE       VINCENT                  UT          90014850607
4338334795B271   ALETIA       SMITH                    KY          90006183479
43383515272B36   MARIA        VASQUEZ                  CO          33080515152
4338482432B87B   GLORIA       ARROYO                   ID          90005028243
43384994A91569   CEASAR       ALBA                     TX          90002699940
4338637274B271   MARY         MITCHELL                 NE          27043613727
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43386687374B31   ALICE        ROBERTS                  PA          90009756873
43386711A51383   JENIFER      RIDENOUR                 OH          66050797110
43386728272B36   ROBERT       JEFFERS                  CO          90001447282
43386A1278B165   JEQUALA      LASHA                    UT          90013710127
43387357872B4B   KIARA        BRICE                    CO          90012513578
4338751915B523   SION         ROMERO                   NM          35078475191
43387666672B36   REGINA       JEFFERSON                CO          90014816666
4338788475B52B   VERONICA     DOMINGUEZ                NM          36028788847
4338818635B58B   CHRIS        LAVATO                   NM          35095941863
4338858978B16B   RENEE        SEELY                    UT          31054985897
433889AA171999   ECHOE        ENDRESS                  CO          90006159001
43389239A5B271   CRISTIAN     VALIENTE                 KY          90008922390
4338992968B165   DUSTIN       NEELEY                   UT          90010439296
4338998145597B   VICKI        MATTHAI                  CA          90014579814
43389A78961963   ELIZABETH    MARTINEZ                 CA          90011930789
4338B47A377595   ROSENDO      TALANCON-URIBE           NV          90014244703
4338B69738B165   CLIFFORD     MOORE                    UT          90015016973
4338B842151383   LARION       BITEL                    OH          90009398421
4338B96682B87B   STARLA       DISMUKES                 ID          90010889668
43391A4565B53B   TOBY         OLDAKER                  NM          90013480456
4339251684B271   TERESA       DAILEY                   NE          27024965168
4339282432B87B   CRYSTAL      L ENGLISH                ID          90009388243
4339349529155B   LUIS         QUINONES                 TX          90007364952
433934A5951555   MIKE         HUSS                     IA          90014074059
4339363885B53B   SHAUNTENAY   CAMPBELL                 NM          90010356388
4339392135B53B   JUAN         MORENO                   NM          90014079213
4339398145597B   VICKI        MATTHAI                  CA          90014579814
43393A57691569   RAUL         RUYGAZA                  TX          75098650576
43394A93831437   TED          COOKSEY                  MO          90004180938
433953A995B52B   JONATHAN     RAMIREZ                  NM          90014243099
4339552A472B4B   EVVIE        BAKER                    CO          90008915204
4339722925B53B   ARNOLDO      DOMINQUEZ                NM          90014382292
4339789955B52B   JULIETA      RODRIGUEZ SOSA           NM          36041128995
43397A35471934   STACEY       MUNIZ                    CO          32022380354
43398A6665B55B   MARK         CERNA                    NM          90010690666
4339985265B53B   ISAAC        LUCERO                   NM          90014138526
4339B164691873   CLIFFORD     RAGLIN                   OK          90005011646
4339B179A5597B   ADAM         ROBINSON                 CA          90014621790
4339B71192B27B   MONIQUE      BLACK                    DC          90011147119
4339B97195B597   DANIEL       DELUNA                   NM          90011659719
433B127138B165   RAMON        LOPEZ                    UT          31042612713
433B1323461963   JONATHAN     CAMBEROS                 CA          90013923234
433B1A4575B271   JOHN         HALL                     KY          90005330457
433B2161A7B66B   ANGWLICA     OLIVER                   GA          15049961610
433B22A8361963   ANA          RODRIGUEZ                CA          90014532083
433B2527571934   CHRISTINA    DEVEREAUX                CO          90003285275
433B338345B53B   DESIREE      LOZANO                   NM          90013833834
433B3654191873   KELSEY       ANDERSON                 OK          21065756541
433B3682561967   ELIZABETH    VARGAS                   CA          90014866825
433B38A632B87B   MELLY        CASILLAS                 ID          90012218063
433B419335B523   DOMINIC      RIVERA                   NM          35017431933
433B4255A5B597   JENNIFER     ARAGON                   NM          90014572550
433B42A842B27B   BRITTANY     SCOTT                    DC          90014922084
433B443115597B   ANGELINA     DUARTENUNEZ              CA          49075224311
433B4653661967   DANIEL       CARDENAS                 CA          46005086536
433B466562B27B   SMOOCH       JOHNSON                  DC          90010676656
433B4775372B4B   ROSE         REYNOSO                  CO          90007107753
433B4926A5B174   GLORIA       CHARLESTON               AR          23087209260
433B4A23451383   LATONIA      FOSTER                   OH          90014630234
433B5565255939   REGINA       LARA                     CA          90010545652
433B7165877595   LYNNETTE     THOMPSON                 NV          90013651658
433B7632891569   LYDIA        MAR                      TX          90008956328
433B8158A8B165   JONNY        SCHURING                 UT          90008491580
433B823A47B334   ROSA         REYES                    VA          90005082304
433B941145B551   VALERIE      OROPEZA                  NM          90014334114
433B947665B53B   MICHAEL      SANCHEZ                  NM          90014714766
433B949245B271   DONNIESE     BRADLEY                  KY          68038174924
433B954315B174   JAIME        REYES                    AR          23081735431
433B96AAA72B43   BILLY        HOLMES                   CO          33061536000
433B989952B87B   STEPHANIE    STEVENS                  ID          41023628995
433BB474A24B7B   AURA         HERNANDEZ                DC          90004984740
433BB816291873   SHELLY       TUMMONS                  OK          90014728162
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433BB817A8B165   ISRAEL         RODRIGUEZ              UT          90001988170
433BB84585B597   PAUL           PEREA                  NM          90012668458
433BB89237B49B   TERESA         CROWDER                NC          11078708923
43411A4798B183   KRISTY         MANGAHAS               UT          90001360479
434121A142B27B   CHRIS          EASTWOOD               DC          90013311014
4341253A35B55B   ELIZABETH      GAMBOA                 NM          90004215303
43412872972B22   JOE            TAYLOR JR              CO          33033648729
4341289885B597   JOE            HERRERA                NM          35057618988
43412A1438B165   MARIA          ECHEVERRIA             UT          31095990143
434147A7A5B271   PRECIOUS       BARNETT                KY          90013857070
4341638348B16B   MICHELLE       DYE                    UT          90005303834
434167A8461967   LEONOR         LOBRANO                CA          90000657084
434174A1A51334   RICO           COX                    OH          90014084010
434176A7272B36   DANA           LEAKS                  CO          90010386072
4341816565B52B   MIGUEL         LOPEZ                  NM          36076861656
4341851A391873   DANIEL         ROBERTS                OK          21011715103
4341872A45597B   DIANA          LOPEZ                  CA          49056927204
4341895292B274   BRIAN          JOAQUIN                DC          90013819529
43418A7725B271   KARLA          MOARAN                 KY          90014130772
4341B373761967   CLAUDIA        AYALA                  CA          46027473737
4341B43785B174   SERIGO         ALVAERZ                AR          90012614378
4341B4A3A72B36   ANSHENEA       DICKERSON              CO          90013694030
4341BA5817B262   CLARISSA       LONG                   NV          90013140581
4341BA81A3B343   JAVIER         LUNA                   CO          90009420810
4341BAA715B58B   TRAVIS         BUDGETT                NM          90015130071
43421389172B43   VANESSA        VELASQUEZ              CO          33089963891
4342181858B165   KENNY          RICHARDSON             UT          90014418185
4342266915B53B   KARREN         JIRON                  NM          90007866691
434232A495B597   DUSTY          SMITH                  NM          35056522049
4342337144B539   JONATHAN       RAMON                  OK          90010783714
4342351A95B58B   GEORG          YZQUIERDO              NM          90002325109
43424177A71933   ELLEN          COONEY                 CO          90013301770
434246A978B165   JOHNNY         MAEN                   UT          90014706097
4342474A351334   DAVID          HUNTER                 OH          90005147403
4342663445B58B   BLANCA         BRITO-SANDOVAL         NM          90011256344
43426A2317B66B   MORGAN         BARNWELL               GA          15051440231
4342722285B222   SHAKEENAH      HUDSON                 KY          90013032228
43427A88657134   MARIA          MACGILLIVRAY           VA          90014380886
43427A93A51334   JASON          MORROW                 OH          90014560930
434281A465593B   KATIE          FUCHS                  CA          90010611046
434281A8191394   TRULI          MARION                 KS          90007161081
434282A865B52B   EDGAR          CASTRO                 NM          90010662086
4342844AA91873   SCOTT          PARKMAN                OK          90014504400
43428459A2B87B   TERRY          OLSON                  ID          41001994590
43428A9655B271   CATHERINE      SMITH                  KY          90014130965
4342B17152B921   ROBERTO        SANTILLAN              CA          90009321715
4342B434461963   EHRREN         POLLARD                CA          46090544344
4342B66512B87B   KAMI           LEETCH                 ID          41065286651
4342B799284336   LAKEYA         STEWART                SC          90014897992
43431541A91394   RICARDO        GUTIERREZ              KS          90006365410
43431637472B4B   MARTIN         FIERRO GARCIA          CO          90008276374
4343176182B27B   PAUL           WARD                   DC          90013507618
43432292A2B87B   AURTHER        BROADSWORD             ID          41001022920
4343385285B271   JOANNA         LANGLEY                KY          68040698528
4343428778B16B   BUDDY          PHILLIPS               UT          90013352877
434348A645597B   ALEXIS         GONZALES               CA          90007918064
43435882172B43   MICHELLE       MEDINA                 CO          33008328821
4343648425B174   KAREN          COUNTS                 AR          23000524842
4343774A15B53B   LETICIA        CHAVEZ                 NM          35053737401
43438151472B43   CHEEK          PATRICIA               CO          33083401514
43438A4175B597   GUADALUPE      SANCHEZ                NM          90003990417
43438A8365597B   ELIAS          HERNANDEZ SANCHEZ      CA          90015140836
43439346172B4B   ESMERALDA      FEDERICO               CO          33053473461
4343937574B271   LUIS ALBERTO   HERNANDEZ              NE          90014113757
4344114348B157   ANGELA         JOHNSON                UT          90009951434
43443946672B4B   LAURA          TRUJILLO               CO          90013189466
434447A2155939   CHIA           LAO                    CA          90007277021
4344483A471999   ROBERT         SIMMONS                CO          90009248304
434455A7861963   ARIEL          IRIBE                  CA          90010675078
4344599615B597   CLARA          JOHNS                  NM          35089909961
4344618962B87B   ROBERT         LEWIS                  ID          90001661896
43447597A4B271   SHERYL         RUCKMAN                IA          27052295970
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434478A7A2B87B   ROLF         MEIER                    ID          41069048070
4344844755B58B   ARMENDARIZ   THOMAS                   NM          90008184475
434491A465B174   RANDALL      MORGAN                   AR          90007201046
4344929247B698   BRADFORD     MOORE                    GA          15010172924
4344B1A1372B36   JENNY        WEST                     CO          33012471013
4344B919872B47   CASSANDRA    TORREZ                   CO          90014399198
4344BA52261458   DANIEL       LAMBERT                  OH          90015080522
4345119195597B   ELIZABETH    RAMIREZ                  CA          90010171919
4345186465B174   LAKESHA      SMITH                    AR          23087538646
43452214A2B87B   JOSEPH       BODMAN                   ID          41049942140
4345237A372B36   MICHON       MELLENBERNDT             CO          90012783703
4345295184B271   GABRIELA     MATA SANCHEZ             NE          90013929518
4345352345B53B   BRETT        BEAUCHAMP                NM          90011425234
43454A54355939   DAWAYNA      POWELL                   CA          90014770543
434552A9A5B58B   RICHARD      SISNEROS                 NM          90011062090
43455532372B4B   LISA         DAUNORA                  CO          33081125323
4345567662B872   JANINE       MORGAN                   ID          90008416766
4345584515B222   MARY         PETTY                    KY          68099568451
434562A5851334   DONNA        MCDANIEL                 OH          90010142058
4345688465B174   BOSWANA      CARTER                   AR          90014918846
4345741AA5B222   ADAM         BURT                     KY          68064864100
4345742A72B87B   REBECCA      HOLVERSON                ID          41009304207
4345775925B174   LAKEISHA     GIRLEY                   AR          90012867592
43457873A91873   DAVID        BROOKS                   OK          90008718730
4345795225B271   SHARON       YENO                     KY          90011709522
43457A13961967   RENFERY      MARTINEZ BERUMEN         CA          90013120139
434581A7177595   SALLY        WELCH                    NV          43077571071
4345823775B597   ERICKA       CAMPA-LIRA               NM          90014202377
43458474A72B36   OSCAR        SERRANO RUIZ             CO          90000994740
43459A73572B36   VERA         MEDINA                   CO          90009190735
4345B183172B43   ADDUL        KWIDER                   CO          33095031831
4345B526555939   ANTHONY      OLMOS                    CA          90007605265
43461126572B4B   RODNEY       YOUNG                    CO          33053731265
4346139684B271   DEMETRUIS    SPRIGHT                  NE          90014743968
43461477A5B53B   JOSE         SANCHEZ                  NM          90007094770
4346185365B58B   HENRY        LUCERO                   NM          90010778536
4346269932B27B   SHANEKA      HARRIS                   VA          90008306993
4346282844B271   ALEXANDRA    DEFORD                   NE          27060798284
434631A545B58B   JERRY        DETTER                   NM          35042541054
4346345555B52B   CHRISTIAN    CASTRO                   NM          90007164555
4346398595B271   MICHAEL      MULFORD                  KY          90007669859
43465138172B36   JACQUELINE   WARNER                   CO          33063821381
4346519985B58B   LORENA       TRUJILLO                 NM          35082641998
4346532825B222   TRINITY      CAMPBELL                 KY          90012743282
4346534814B569   GAVIN        WEIMER                   OK          90010353481
43465A8155B52B   JESSICA      ARMIJO                   NM          36048080815
4346827692B87B   BRYAN        TURNER                   ID          90013662769
4346833845B271   MARY         MADDOX                   KY          90015073384
4346835178B165   NEILSON      MORGAN                   UT          90008493517
4346876815597B   JESENIA      BERNAL                   CA          49040737681
4346922665B597   MICHELLE     ETCITTY                  NM          90013022266
4346931A15B53B   CHARLES      JAMES                    NM          90010013101
434694A3A61963   LETICIA      GAMBOA                   CA          90013364030
43469553A5B52B   ALEJANDRA    DIAZ-FIERRO              NM          36025625530
4346959165B174   LATASHA      GRANTAHM                 AR          90014695916
43469A4872B87B   CINDY        SCHUMANN                 ID          41078960487
4346B31375597B   ELOISA       SUAZO                    CA          90012353137
4346BA35572B4B   LISA         TSCHOOP                  CO          90012030355
4346BA6522B27B   KEVIN        DIAZ                     DC          90012110652
43471139A8B886   REALITY      CHONIONG                 HI          90015371390
4347148485B174   SHAKAWANNA   HADLEY                   AR          90012654848
43471561A5B52B   JOSE         RIVERA                   NM          90006415610
4347159965597B   ANTONIO      CAMACHO                  CA          90015195996
43471722172B4B   SHIRLEY      MARTINEZ                 CO          90015137221
4347178A12B27B   TONDALIERE   YOUNG                    DC          81051357801
43471A7A75B53B   MARIA        SANTANA                  NM          90011920707
4347229815B53B   LEROY        ULIBARRI                 NM          90014442981
4347363625B174   JON          MARTIN                   AR          23017286362
4347441A12B87B   CHAD         HOFFMAN                  ID          90014624101
43475A58455939   JUAN         MARTINEZ                 CA          90007610584
43476198A5B523   ANGELITA     RAMOS                    NM          90001031980
4347641A671934   ROBERT       MCKEE                    CO          90010394106
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43476A8165B52B   ARMAS         MEDINA                  NM          90014730816
43477394A5B523   ANNA          ZUBIA                   NM          35059923940
4347799685B52B   SILVESTRE     NAVA                    NM          90013049968
4347878A25597B   ROSIO         VALLEGOS                CA          90011427802
4347937785597B   GLORIA        DE LA PENA              CA          90001123778
4347973348B16B   RIGOBERTO     ALFARO                  UT          90010667334
43479A27661967   JOSE          GARCIA                  CA          90010060276
4347B131A4B271   DAVID         LUIKENS                 IA          90010471310
4347B34815B53B   CHRIS         YAZZIE                  NM          35017213481
4348135775B597   ROSALBA       TORRESSOTO              NM          35096303577
4348183A88168B   MICHAEL       SMITH                   KS          29071878308
4348187272B27B   CHRISTINE     ARMSTRONG               DC          90000588727
434821A2872B4B   MARGARITO     TORRES                  CO          90014851028
434823A6777595   MIGUEL A      ROJAS                   NV          90010323067
43482443A5B52B   ESTEVAN       ALARCON                 NM          90010334430
4348284A68B16B   ANA MARIA     GONZALEZ-HERNANDEZ      UT          90010488406
43483285A5B52B   TOMMY         RAEL                    NM          90014732850
434835A8972B43   PORSHA        BLACK                   CO          33018605089
43484162472B4B   MARK          SLOSKY                  CO          33028131624
434841A525B389   TINA          MANTIA                  OR          90007321052
4348429815B597   ADRIANA       SUBIA                   NM          35013092981
4348438645B271   DABONDRE      GLENN                   KY          90006923864
43484A6935B58B   ERIKA         GUERECA-LARES           NM          90013770693
4348528925B52B   DENNIS        RIVERA                  NM          90012332892
434856A7391569   JUAN          RODRIGUEZ JR            TX          90013216073
4348575195597B   KASTIN        RODRIGUEZ               CA          49050957519
4348588465B174   BOSWANA       CARTER                  AR          90014918846
4348643482B87B   JANI          TUCKER                  ID          41018124348
434872A5A5B174   MADELYN       KLARK                   AR          90015112050
4348746235B597   DEREK         VICENTE                 NM          90012404623
434879A1698B25   SNIDER        MARIE                   NC          11039649016
4348833232B27B   DEMETRIUS     AGNEW                   DC          90014133323
434889A5977595   JESSICA       PINA GONZALEZ           NV          90008729059
434894A285B271   JARMIE        DILLARD                 KY          90010884028
4348977265597B   JOHN          AGWU                    CA          90012767726
4348B944161967   TYRONE        JOHNSON                 CA          90014699441
4349183A961967   LETICIA       ALVAREZ                 CA          90012178309
43492279A9189B   SAMANTHA      ESPINOZA                OK          90003622790
434923A3171999   JAVIER        MENDOZA                 CO          90013463031
43492955A5B174   NICOLE        YOUNG                   AR          90010939550
4349311534B271   JOSHUAD       CAUDILL                 NE          90013201153
4349358418B16B   JESSICA       ESCARCEGA               UT          31082075841
4349361A85B597   AMY           PENA                    NM          90004426108
43493A9682B27B   JASMINE       CREWS                   DC          90015110968
4349415382B27B   ANGELA        DAVIS                   DC          90013041538
4349537388B16B   TUAI          MISIMA                  UT          90008793738
43495386472B36   FRANCISCA     SALGAR                  CO          33018853864
4349573234B271   MARIA         PRADO                   NE          90014247323
434961A862B27B   DAVID         WILLIAMSON              DC          90014841086
4349651195B52B   JESUS         MORALES                 NM          90014735119
4349675925B174   LAKEISHA      GIRLEY                  AR          90012867592
43496912A61967   BLANCA        VAZQUEZ                 CA          90013309120
4349696135597B   ABBY ASHLEY   PACHECO                 CA          90014589613
4349767248B16B   CAMEROM       COOPER                  UT          90010876724
4349833415B226   DENISE        EDDINGTON               KY          90005393341
4349882A15B271   TORREONA      SEARCY                  KY          90006458201
4349889A861963   JAMES         PHYFIHER                CA          90012808908
43498A9768B532   DAVID         CARLISLE                CA          90015140976
4349985528B165   DAVID         JONES                   UT          90003638552
4349B215977595   ABELARDO      VILLEGAS                NV          43070472159
4349B89154B271   TONY          STANTON                 NE          90008918915
434B1119377595   RACHEL        VOIT                    NV          43078781193
434B132885597B   VELMA         GRANT                   CA          49030393288
434B142AA5B597   TASHA         RICHARDS                NM          90009224200
434B1934A91523   JORGE         BENAVIDEZ               TX          90014729340
434B1A53455999   RAMON         PALOMERA                CA          90007570534
434B216732B87B   JENNIFER      WHITE                   ID          41005601673
434B2255371999   JEAN          WILLIAMS                CO          90013122553
434B2673361963   MARGARITA     RUIZ                    CA          46072296733
434B273695B222   ROLANDO       ESPINOSA                KY          68062947369
434B2874785834   MEGAN         MORIARTY                CA          90001338747
434B3114A61967   TIMOTHY       LAFRANCE                CA          90015271140
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434B3444A91523   RENE         COLUNGA                  TX          75026024440
434B3889333B77   LISHA        ROBERTS                  OH          90015068893
434B3972A5597B   ALEJANDRA    CANDELARIO               CA          49013969720
434B3AA575B174   TERRANCE     SHARP                    AR          90013980057
434B4442172B43   SHANE        STROUP                   CO          33081594421
434B455678B16B   SHABIR       BAHER                    UT          90002125567
434B499677B342   BRIGIDA      GALLEGUILLOS             VA          90002849967
434B4A5A151383   YAKEERA      ISRAEL                   OH          90011800501
434B5139A8B165   TONY         REYES                    UT          31096241390
434B5835A8B16B   JONATHON     HOLMES                   UT          90011328350
434B691418B59B   RANDALL      BAKER                    CA          90014279141
434B6AA7961963   MARK         CALLICOAT                CA          46018210079
434B7278291324   ANNA         SANDOVAL                 KS          29028022782
434B755767122B   CONSTANTIO   ALVAREZ                  NE          90015225576
434B766A94B271   DUSTY        MERRILL                  NE          90012846609
434B7771371934   SAMANTHA     LOPEZ                    CO          90008107713
434B7977277595   SHEM         FLOUREY                  NV          90011079772
434B8127872B4B   PAUL         SOLANO                   CO          90011041278
434B9873491982   JORGE        VEGA                     NC          90009548734
434BB237961833   AMY          LATHAM                   MO          90003872379
434BB258251334   DENNIS       MAYNE                    OH          90015222582
434BB42975B597   SANDRA       ARAGON                   NM          90013124297
434BB461A55939   DUSHAWN      JOHNSON                  CA          90014304610
434BB78325B271   CLIFFORD     EATON                    KY          90010207832
434BB785972B36   MICHELLE     HOWE                     CO          33092687859
4351148245B222   DAMON        FISHER                   KY          90012644824
4351166225B597   TAMMY        SUNATA                   NM          35002616622
43511A4A17B457   GIOVANNI     ORTIZ                    NC          90008070401
43512324A72B4B   MONICA       FRESQUEZ                 CO          90014943240
4351257445B52B   JEANA        AGUILAR                  NM          90014735744
435127A718B16B   CHARITY      HOPKINS                  UT          31044617071
435128A1161967   DAVID        NEWNAM                   CA          90013838011
4351355172B27B   MARVIN       ALVARADO                 DC          81051835517
43513866A41241   JHON         BAWERY                   PA          90015208660
4351472845B271   GALE         LOGSDON                  KY          90014937284
4351559488B165   YADIRA       AGUILAR                  UT          31033515948
435159A4171999   RUSSELL      CURNEW                   CO          90013509041
43516243A8B165   GUILLERMO    BARAJAS                  UT          90013932430
4351653638B165   SONIA        MARTINEZ                 UT          90009465363
4351765A95B52B   GABRIEL      CHACON                   NM          90014736509
435182A668B16B   SHERRY       DRAPER                   UT          90012022066
4351848A85B271   CRISTOPHER   BACHELOR                 KY          90013814808
4351918355597B   JOE          TORRES                   CA          49044171835
435191AAA8B16B   ROSA         LOPEZ                    UT          90014401000
43519489324B7B   JOSE         TICAS                    VA          90002844893
4351961435B58B   NACY-MARIE   LEAL                     NM          35010846143
4351986AA4B221   TAWNY        AYALA                    NE          90013658600
4351986AA72B43   ANTHONIO     GLADWELL                 CO          33014898600
4351B1A2771999   MARIA        BAMBER                   CO          90013471027
4351B428A55939   JAMES        ALTAMIRANO               CA          49065154280
4351B558A5B58B   SYLVIA       PEREA                    NM          90013885580
4351B768A55939   VANESSA      JUAREZ                   CA          90004387680
4351B925191394   KEVIN        FORD                     KS          90014739251
4351BA8235B53B   GUADALUPE    AGUILERA                 NM          35080500823
43522525272B43   ALFREDO      ALVAREZ-MARTINEZ         CO          90012785252
4352315225B597   ELIZABETH    RAMIREZ                  NM          90014181522
4352381137122B   MARCUS       COUNTRIC                 IA          90015608113
4352462655B222   GRETCHEN     CUTRER                   KY          68048366265
43524655A61967   SHEREE       JONES                    CA          90012786550
4352476635597B   ANDRES       GUITIRREZ                CA          90012137663
4352486A15B523   LETISIA      SILVA                    NM          90007048601
43524A4AA61967   LEE          MAGAN                    CA          90010710400
43525217972B4B   ALBERT       VINNOLA                  CO          33052402179
43525393972B36   JOHNETTE     ROMERO                   CO          90013503939
4352579575B597   PERDO        ARRIOLA                  NM          90011667957
4352591475B58B   WILLIAM      SANCHEZ                  NM          90012089147
4352595265B52B   KARINA       PEREZ                    NM          36062059526
435266A254B271   AMANDA       SPRACKLIN                NE          90011296025
4352716565B222   JOHNATHAN    KENEMORE                 KY          68054221656
43527214A71999   JASON        BERRIER                  CO          90012382140
4352741565B52B   ALMA         HERRERA                  NM          90013294156
4352741A62B94B   MARSHA       HARRIS                   CA          90010314106
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4352841565B52B   ALMA             HERRERA              NM          90013294156
4352841A251555   JEFFREY          LEWIS                IA          90009434102
43528491572B36   JON              COX                  CO          90009724915
4352873328B165   ALBERTO          GUTIERREZ            UT          90013257332
435291A3785939   CHRISTINA        DAVISON              KY          90012401037
435291A535B53B   JUAN             MORENO               NM          90002381053
435293A215B174   ANGEL            CARTER               AR          23041403021
4352995773163B   MONTSERRAT       ALVARADO             KS          90001059577
4352B335961963   SHAWN            ERICKSON             CA          46030413359
4352B635772B36   SHARIKA          LEAKS                CO          90013396357
4352B785861967   ROSA             CORONA               CA          90014497858
4352B874891569   SHEREE           HODGES               TX          90012828748
4352BA4A876B81   RICHARD          HILL                 CA          90003530408
4353115425B597   LETICIA          DEMORALES            NM          90014181542
4353161AA91569   MICHAEL          SEIFERT              TX          90013916100
43531A6688B16B   CATHERINE        ANN HANES            UT          31014380668
4353267295B52B   FRANCILLA        PEREZ                NM          90014736729
4353299382B87B   LOWELL           PLUMLEE              ID          90006789938
43532A25A5B597   ELEANOR          RODRIGUEZ            NM          90014850250
4353378A872B36   MARIA            MATA                 CO          33020277808
435338A6191569   ANNA             DOMINGUEZ            TX          90002268061
4353476835B53B   LAURENCE         PLEASANT             NM          90010817683
4353485642B87B   JOHNNY           AUSTIN               ID          41063558564
43536493A71999   EDNA             GOLDEN               CO          38013524930
43536633A72B43   KATHERINE        GOTWALD              CO          33088266330
4353683242B27B   CALVIN           HANCOCK              DC          90012658324
4353694445B53B   NORBERTO         SANCHEZ              NM          35008159444
4353732A972B36   ROBERT           PRICE                CO          90006703209
4353769894B271   CURTIS           DE VOOGHT            IA          90013236989
4353849935597B   SUE              THAO                 CA          90007224993
4353851575B58B   CLAUDIA          DOMINGUEZ            NM          90014685157
43539748A8B165   JESSE            TEEPLES              UT          90014157480
4353B19152B87B   JOSEPH           REESER               ID          90014881915
4353B19645597B   BEATRICE         VALDIVIA             CA          49097671964
4353B326251334   ANGELA           SHERMAN              OH          90014453262
4353B99492B27B   MICHELE          GOFF                 DC          81080249949
4354146932B87B   DRAKE            SHUE                 ID          90014694693
435417A5671999   DESTINIE         PEREZ                CO          90013757056
4354196425B271   MARJOREI         FLETCHER             KY          68087989642
43541978A91394   ELEONIDAS        ANAVISCA             KS          90003269780
43541A25361963   KIRK             ALEXANDER            CA          90003170253
43542443A5B53B   MICHELLE         CRUZ                 NM          90003594430
4354278665597B   ELIZABETH        GARDEA               CA          90011427866
4354361525B222   ANN              MURPHY               KY          68008556152
4354454745B527   ELISHA           CLEAVER              NM          90012415474
43544887A72B43   RITA             BAPTISTE             CO          90001408870
43545333824B99   AGUSTIN          SALMERON             VA          81005083338
43545A28791523   ANAHIS           VALENZUELA           TX          75055240287
43546A2945B52B   ALDO             ENRIQUEZ             NM          36000900294
4354746A272B4B   SAUL             VILLA                CO          90013254602
4354916345B271   DALE             WATSON               KY          90014171634
4354955585B52B   NORMA            SALDANA TISTA        NM          36063035558
4354B262177595   NICHOLAS         HARDEN               NV          43017842621
4354B828A8B165   DESIREE          MCQUEEN              UT          31076828280
4354B928872B43   RICARDO          PENA                 CO          90011189288
4355133685B597   LUCIANO          REYES                NM          35028093368
4355149245B271   DONNIESE         BRADLEY              KY          68038174924
4355157A35B53B   OZKAR            BALTAZAR             NM          90004985703
43551721572B43   BILLY            SMITH                CO          90012397215
4355269728B16B   ALLYSON          DAVIS                UT          31012576972
43552722A55939   TRINETTA IRENE   JACKSON              CA          90012817220
4355392845B52B   LESLEY           ADAMS                NM          90007379284
43554526A61967   DEMETRIO         SUAREZ               CA          90010955260
4355614558B165   ANNY             LINARES              UT          31046011455
435575AA254132   TERA             CRANMER              OR          90015215002
4355778575597B   TOD              ESPARZA              CA          49006637857
4355837AA72B43   MARCO            MUNGUIA              CO          90001313700
4355864A15B271   STUART           PARKS                KY          90014156401
435586A3855939   BRYAN            BURT                 CA          90014606038
4355895175597B   SANDY            EARLY                CA          49058549517
4355967988B16B   CARMEN           ROSA MENDOZA         UT          90010076798
43559A4762B87B   DAVID            GUZMAN               ID          41052400476
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4355B139371934   REBECCA      GABLE                    CO          90010481393
4355B27115B271   ADA          DEVINE                   KY          68031682711
4355B923291873   TINA         BRIDGEWATER              OK          21078939232
4356179764B575   ALLIA        WASHINGTON               OK          90011277976
43562442276B64   CHERYL       DOE                      CA          90000144422
4356291235B52B   CESAR        LOPEZ                    NM          36051229123
4356399125B597   DELIA        ARAMBULA                 NM          35062309912
43564361A76B81   LEOBARDO     LEYVA                    CA          90008423610
43564587A55939   GLORIA       CORTEZ                   CA          90014045870
4356479782B87B   JACQUELINE   KLOMP                    ID          41009497978
43564A68551334   BROOKE       ODONNELL                 OH          90014660685
43565196233B63   SHAWN        GUTHRIE                  OH          90014281962
43565325372B4B   RANDY        KING                     CO          33021933253
4356569594B95B   LUIS         GALVAN                   TX          76590456959
4356581778B127   ANTHONY      HARRIS                   UT          90013128177
43565A12924B6B   GREGORY      FOSTER                   DC          90006220129
43566639672B4B   MICHAEL      CHAVEZ                   CO          90013386396
43566749172B36   MAYELA       AGUILAR                  CO          33007677491
4356681A98B165   JENIFER      FIGUEROA                 UT          90013988109
43566A5665B271   WOODY        CARLILE                  KY          90007100566
4356742144B271   AMANDA       RAMOS                    IA          27046714214
43567AA185597B   ANA          GARCIA                   CA          90009750018
4356868A261967   CANDIDO      MARAGON                  CA          46065806802
4356869638B16B   JOSEPH       MOYA                     UT          90014716963
435689A484B955   SOPHIA       LEWIS                    TX          90001759048
43568A4185B597   CASILLAS     EDUARDO                  NM          90005100418
4356935715B58B   MANUEL       DELGADILLO               NM          90012013571
4356B135861963   RAQUEL       CASTELLANOS              CA          90012871358
4356B2A2591569   LOUIE        MORALES                  TX          90011152025
4356B59188B165   IAN          BILLINGS                 UT          90015005918
4356BA8615B174   BRIANNA      JOHNSON                  AR          90014860861
4357248772B92B   BENITA       DOMINGUEZ                CA          90007304877
435731A6A61967   REYNA        MIRANDA                  CA          46020301060
435734A7272B43   AU           MAL                      CO          90011404072
4357418385B52B   JESUS        HERNANDEZ                NM          90001671838
43574289A55939   SABRINA      GARCIA                   CA          90013122890
4357487627B334   MARCO        LEMUS                    VA          81052998762
43576378A55947   ARLEEN       ALVES                    CA          90012153780
435764A1951334   ANDRES       MENDOZA                  OH          90013924019
43576A9326198B   SHAUN        BAXSTRUM                 CA          90008450932
4357721215B52B   JAIME        CACERAS                  NM          90008812121
435776AA371999   JACQUELINE   ANGEL                    CO          90012416003
4357772417B66B   ARTHUR       STEWART                  GA          15017697241
4357789375B271   JERRY        SWARTZ JR                KY          90009668937
43577AA428B165   CARLOS       IRRA                     UT          90014790042
43578119372B4B   COSME        ARIAS                    CO          90003441193
4357817195B222   ROBERT       BALDWIN                  KY          68070601719
4357868365B271   JESSE        HILL                     KY          90014156836
43579122572B43   DAWN         OJEDA                    CO          33020331225
4357B55812B87B   BRYSON       FREELANDER               ID          90012405581
4357B7A938B144   AMY          ORTEGA                   UT          90003917093
4357B95A672B43   DEBORAH      ALLEN                    CO          90004269506
43581479A7B66B   SHAUNTE      HARRIS                   GA          15069254790
435817AA35B52B   DEBRA        VALLEJOS                 NM          90014747003
4358222292B87B   CHRISTOPHE   SPERRY                   ID          90001572229
4358239594B543   VICTORIA     ACOSTA                   OK          90010343959
435826A2593797   CARLA        PHILLIPS                 OH          90012896025
4358273A671999   JOLENE       OTERO                    CO          38042767306
4358311AA51383   EMILY        REDD                     OH          90011811100
43583156A61967   JOSE         MONTERO                  CA          90014681560
435834AA94B543   JUAN         BEDOYA                   OK          90010344009
4358376235B58B   NORMA        RODRIGUEZ                NM          35093647623
43583998372B43   OLIVA        ROBLES                   CO          33073729983
43583A6862B27B   DONTAUE      COFFEE                   DC          90002770686
43584658372B36   FREDDY       ANTONIO                  CO          90012296583
4358565818B165   JENNIFER     PEARMAN                  UT          90008366581
43585A73251334   QUELINE      COLETTE                  OH          90014700732
435862AA261967   ZULMA        RAMIREZ                  CA          46079392002
43586433A71999   JERRY        GONZALES                 CO          38033374330
4358663314B543   MARIA        GARCIA                   OK          90010346331
435867AA35B52B   VICTOR       FRANCO                   NM          36007297003
4358864965B597   ROY          GOODMAN                  NM          90013706496
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4358942225B523   BOBBY       HERNANDEZ                 NM          90005314222
4358988167B66B   DEBBIE      HATCHER                   GA          15079288816
4358B77A48B16B   SHAKIRA     NARANJO                   UT          90013637704
4359165178B165   JOHNNY      HERNANDEZ                 UT          90012746517
4359184285B174   SHELA       PRESLEY                   AR          90005878428
435918A4372B36   SHERA       HILDENBRAND               CO          90006138043
4359266675B174   ORA         DAVIS                     AR          23051916667
43592667A41454   DONALD      MAURICE                   WI          90013016670
4359266A461967   PEDRO       VILLEGAS                  CA          90013846604
4359269155B58B   MARIA       DIAZ                      NM          35063706915
4359274865B52B   JIM         PATTERSON                 NM          90014747486
43592987A4B271   SONA        JAMES                     NE          27042399870
43592AA2A8B165   AARON       PACHECO                   UT          31098420020
4359345382B27B   SIRENA      MORSE                     DC          90015164538
4359392474B271   KRISMAS     GATDET                    NE          90014999247
4359434455B58B   PIPER       BRAY                      NM          90013933445
4359457358B165   JOSH        MORGAN                    UT          90008285735
4359482662B27B   RENEE       WILLIAMS                  DC          90014018266
4359615978B16B   TAMMY       MARRELLI                  UT          90012531597
4359738864B271   NORMAN      CARR                      NE          27093043886
43597512A8B16B   DANIEL      STINGER                   UT          90012455120
435984A645B174   KARA        BENNETTE                  AR          90014704064
4359861645B52B   ELIZABETH   HIGGINS                   NM          90012466164
435986A427B66B   VIRGINIA    BATTLE                    GA          90006576042
435987A885B222   KIA         KNOX                      KY          90015207088
43598875A5B271   PATRICK     SLOSS                     KY          68094908750
4359998352B891   RAQUEL      RIOS                      ID          90009159835
4359B128872B43   TERESA      BENAVIDES                 CO          90015031288
4359B25A551383   REGINA      MYERS                     OH          90014652505
4359B3A4A5B597   JUANA       COLOMO                    NM          90011663040
435B126A28B16B   ROBERT      JORGENSON                 UT          90014042602
435B179772B27B   BERNETTA    CEPHAS                    DC          81015847977
435B2167391394   RANDY       BURESS                    KS          90014141673
435B2377661967   DENITA      YOUNG                     CA          90015213776
435B262AA72B43   DAVID       MARTIN                    CO          90012346200
435B2696531432   SIERRA      COX                       MO          90013736965
435B2984A93794   ZACK        SMITH                     OH          90013129840
435B2A3A35B597   JANELLE     SANDOVAL                  NM          90005890303
435B334A82B87B   KELLY       STEWARD                   ID          90011133408
435B3442A5B597   LISA        SELLERS                   NM          90012004420
435B3486472B36   RENEE       RASMUSSEN                 CO          33037344864
435B3649772B4B   JAMES       DODDS                     CO          90013836497
435B37A3791569   KRISTINE    BIBY                      TX          75088507037
435B459A28B16B   CLAUDIA     BUENROSTRO                UT          90014685902
435B4639177595   JENNIFER    KIMSEY                    NV          43004026391
435B4675872B4B   ROY         COX                       CO          90010786758
435B4884A61967   JEANINE     PINKMAN                   CA          90013438840
435B4916191569   IVONE       ALARCON                   TX          75013119161
435B4A46A5B222   ERIC        HALL                      KY          90012600460
435B5152561967   NATASHA     THURMAN                   CA          90013451525
435B51A9391569   YVONNE      HERNANDEZ                 TX          90014771093
435B532265B53B   ANNETTE     ELERBY                    NM          90006133226
435B5771572B43   BENEDICT    ADDO                      CO          90013457715
435B641112B27B   MARIE       EDIMO                     DC          81007084111
435B65A7A72B43   JALIL       SALAME                    CO          33012185070
435B695645B222   LISA        BRECKENRIDGE              KY          68095159564
435B75A785B271   JAMES       ELLERY                    KY          90003965078
435B7735A71934   JONATHAN    BURKE                     CO          90005847350
435B775A472B43   ARMANDO     HERNANDEZ                 CO          90001367504
435B869835B597   RAMIREZ     MARICRUZ                  NM          90010826983
435B89A575B222   FLOYD       PITNEY                    KY          68078969057
435B9277573264   SAMATHA     SILSBY                    NJ          90014592775
435B9459A51337   DARRYL      NEWBERRY                  OH          90012604590
435BB4A2955939   RUDY        FRANCO                    CA          90013504029
435BB77A95B174   KAYLA       BIGBY                     AR          90014557709
435BB79A68B16B   TAYIA       GROESBECK                 UT          90014127906
435BB7A545B271   LORI        CROSIER                   KY          90003187054
435BB99595B174   TEDRICK     CONWAY                    AR          90011429959
43611A6A65597B   RICHCHARD   LOWE                      CA          90014590606
43612228872B43   HEATHER     MCINTOSH                  CO          90013042288
4361225394B547   FRANCISCO   ELIAS                     OK          90008192539
4361236145B52B   ORALIA      VALDEZ                    NM          36079473614
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4361328728B165   STEPHANIE   HINTZE                    UT          90008502872
4361381A571934   SOLOMON     MONTOYA                   CO          32046068105
43614271676B5B   ALONSO      DOMINGO ESTEBAN           CA          90009192716
4361497AA61967   DAVID       DIAZ                      CA          90009609700
43614A8248B16B   ANDREW      BARRETT                   UT          90009390824
43615351A5B597   MARLENE     SALAZAR                   NM          90003773510
4361624598B16B   JACKLIN     ROSAS                     UT          90010582459
4361636145B52B   ORALIA      VALDEZ                    NM          36079473614
4361723765B597   MARIE       RIVERA                    NM          90014182376
436175AA97B66B   JAMES       WHITEHEAD                 GA          90014055009
4361774215B55B   ETHAN       MAESE                     NM          90001387421
4361775A461963   AURELIA     GUZMAN                    CA          46012297504
43617825A41287   SCOTT       MCVICKER                  PA          51006578250
43617836972B36   RODNEY      MORTON                    CO          33033898369
4361821925B52B   AXEL        VASQUEZ                   NM          90014362192
4361842322B27B   LISA        VENUS                     DC          90009214232
4361845992B87B   RICHARD     JOHNSON                   ID          41018244599
436184A4685939   COURTNEY    BECKER                    KY          90008974046
436186A7272B36   MARIA       HERNANDEZ                 CO          90013096072
43619374A61963   JESSICA     GONZALES                  CA          90006713740
4361947295B597   CARLA       JARAMILLO                 NM          35067444729
43619874774B24   YLONDA      HOLMES                    OH          90014258747
43619A4928B16B   DEVIN       GILLEN                    UT          90013090492
4361B14945B52B   MARTHA      CALDERON                  NM          90014771494
4361B19A261963   MIRLA       VILLA                     CA          90015181902
4361B98688B16B   SAMSON      BERHE                     UT          90015089868
4362112125B271   MICHELLE    BEAMS                     KY          90009471212
4362166875B222   BRIAN       TYLER                     KY          90014726687
43622246372B4B   QUINTANA    JOEL                      CO          90011122463
43623674672B36   SAM         BACA                      CO          90014936746
4362376572B27B   ELIJAH      STWART                    VA          90012917657
4362391157B66B   PATRICE     OLIVER                    GA          15049989115
43623A14372B4B   TRINITY     BRIM                      CO          90014390143
4362465125B53B   LIDIA       GONZALEZ-DE JESUS         NM          90004786512
4362537335B271   JOHN        PACK                      KY          90009973733
436253A725B58B   HEATHER     SPINELLI                  NM          35004493072
43625824672B36   FIMBRES     ELMER                     CO          90007678246
4362594125B222   TIERA       THOMAS                    KY          90013559412
436261A6661967   HECTOR      TENORIO                   CA          90007001066
43626669A72B36   AMANDA      BORDWELL                  CO          90013176690
43627A64A4B271   MARTINE     MINOR                     NE          90011090640
436281A392B87B   MARIA       MCCONNELL                 ID          90013691039
4362857A45B174   LATASHA     HOLMES                    AR          90013485704
4362977755B271   ASHLEY      WHITE                     KY          90014157775
4362B125161963   GAUDENCIA   GUZMAN                    CA          46070321251
4362B689672B4B   CRISTOBAL   JIMENEZ                   CO          90012166896
4362B7A2393767   DIERRA      DONALDS                   OH          90004207023
4362B831172B36   SEAN        BURROWS                   CO          33098308311
4362BA6528B16B   CHELSEE     BENDTSEN                  UT          31093700652
436312A2761963   IVAN        RAMIREZ                   CA          90009792027
4363239AA5B52B   MARGARITA   PEREZ                     NM          90014773900
4363325335B597   CHAPO       CARRASCO TREVIZO          NM          90013732533
4363339AA5B52B   MARGARITA   PEREZ                     NM          90014773900
4363411575B271   MELINDA     STAFFORD                  KY          90008391157
4363442A25B58B   OSIAS       SILES                     NM          90000504202
4363456655B53B   BRETT       BENTLEY                   NM          35097805665
43634721272B4B   REBECCA     EDWARDS                   CO          90013087212
4363573368B165   MARIA       CANCHOLA                  UT          90011027336
43635A14A5B174   ERIC        WILLIAMS                  AR          23092780140
43635A79161967   MANUEL      GARCIA                    CA          46011230791
43635A8815B52B   TIMOTHY     VALLEJO                   NM          90015260881
43637261572B36   CARRIE      SNYDER                    CO          90013172615
43638214972B43   NICHOLAS    SMITH                     CO          90014512149
4363843395B52B   LILIA       URRUTIA                   NM          90014774339
4363862A38B165   MEAGON      REESE                     UT          90014926203
43639929172B36   RICKY       NEWTON                    CO          33043819291
4363B291255939   EFRAIN      CARDENAS                  CA          90011442912
4363B62665B174   TREMAINE    WILLIAMS                  AR          90015316266
4364118A44B271   BRADLEY     TOLLIVER                  NE          27076721804
4364142735B174   WENDY       HERNANDEZ                 AR          90015194273
43641AA6451334   ISSAC       DIGGS                     OH          66094790064
4364216614B271   GABRIEL     LEFLORE                   NE          90012641661
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4364325125B271   ELLIOTT             KELLY              KY         68054552512
43643836A5B597   MARIA               LOPEZ              NM         90015028360
4364446A161963   VIRGINIA            MORENO             CA         46006214601
4364456755B597   GARCIA              STEPHEN            NM         35025655675
4364519AA51383   AMIEE               TAYLOR             OH         90014641900
43645A9445597B   SALVINO             MOLARES            CA         90014590944
43646413374B31   GARY                LEECH              PA         90008684133
4364641634B271   AMBER               SINGLETON          NE         90013924163
4364658615B597   LOUISE              POCOCK             NM         35015585861
4364659892B87B   ERNIE               PERALTA            ID         41013595989
4364662172B27B   DARRICK             JOHNSON            DC         90008646217
43646755572B4B   DIEGO               HERNANDEZ          CO         33066397555
43646927872B4B   SUZANNE             REED               CO         90008549278
436472A695B52B   CLAIRE              MARTINEZ           NM         90005962069
436482A175B52B   SARA                HERNANDEZ          NM         90014912017
4364868685B52B   GABRIEL             VIGIL              NM         90014786868
4364994175B58B   MARIA DEL ROSARIO   CURIEL             NM         90014159417
4364B33A157121   BLADIMIR            RUANO              VA         90006183301
4364B43438B16B   JERRY               LOMAX              UT         90015304343
4365174925B52B   JOSE                CASTANEDA-CARPIO   NM         36088867492
4365197155B58B   ULISSES             CABALLERO          NM         90012379715
4365198345B597   DORA                DUARTE             NM         35075399834
4365213162B27B   ERICKA              ROBINSON           DC         90013201316
4365243375B58B   NICOLE              BELTRAN            NM         90014564337
4365291857B865   TALLINA             EVANS               IL        90002539185
4365332743163B   KIMBERLY            ROBINSON           KS         22045613274
4365389585B523   AMNTHONY            WOMACK             NM         35057828958
4365597665B597   CHRISTIAN           ANDREYCHICK        NM         90011599766
4365619AA51383   AMIEE               TAYLOR             OH         90014641900
43656493572B4B   LENA                TRUJILLIO          CO         90015094935
4365661A691873   MELISSA             SHARROW            OK         90014396106
436572A185B52B   IDALIA              GRANILLO-CHAVEZ    NM         36090602018
4365773645B271   AMANDA              EDLIN              KY         90006267364
4365885A95B271   ERIKA               CHERRY             KY         90014158509
4365899A251383   LAUREN              SMIDDY             OH         90012789902
436595A8851383   CASSIE              KLINGELHOFFER      OH         90011175088
4365B737A55939   HEATHER             GERMAN             CA         49063027370
4366135228B16B   ELSA                REYES              UT         90014903522
43661A18177595   BLANCA              GUDIEL             NV         90006450181
4366221752B27B   JAMILA              BROWN              DC         90014192175
436623A455B271   RACHEL              OLVERA             KY         68008713045
436627A4761967   ROBERT              TUNSTALL           CA         90009777047
4366293227B467   BOBBY               WRIGHT             NC         90013129322
43662A88693767   LINDSEY             YOAKEM             OH         90011020886
4366341265597B   HENRY               ESQUEDA            CA         49082224126
43665A2A651334   COLLEEN             PELLER             OH         66090370206
43666539372B43   HALIL               HUSKIC             CO         33062555393
4366686A65B271   JONATHON            DUDECK             KY         90014158606
4366796975B52B   DEWAINETTE          MARTINEZ           NM         90014789697
43667AA4591569   HUMBERTO            DEBORA             TX         90009650045
4366835228B16B   ELSA                REYES              UT         90014903522
436683A4661967   MICHAEL             HOSS               CA         90007273046
436688A7672B4B   JANET               GARCIA             CO         33088658076
436689A9991549   HECTOR              MARQUEZ            TX         90006519099
43669149972B4B   GUADALUPE           BAUTISTA           CO         33035461499
436692A4A5B174   LUIS                RARALTA            AR         90012362040
4366956135B271   KATRICIA            THOMPSON           KY         90012425613
4366B116661967   LEILA               WILSON             CA         46061511166
4367179665B597   FREDA               THOMAS             NM         90006177966
4367243335B52B   ROSA                CASTILLO           NM         36025834333
4367316A35B174   FRANCO              REYES              AR         90015411603
43674298472B25   LESLIE              GENERAL            CO         90012692984
436747A2A5B597   ALBERTO             THOMAS             NM         35092067020
4367511375B53B   PRISCILLA           OTERO              NM         35043171137
4367518948B16B   ELIDA               MADRIGAL           UT         90013171894
4367598745B52B   MONTOYA             CHRIS              NM         36067659874
436759AA172B36   RAUL                LOPEZ              CO         33092999001
43675A59961967   TESSA               CALVILLO           CA         90013750599
4367712115B52B   YAMILEX             TERRAZAS-LOYA      NM         90014791211
4367859445B53B   FARRAH              COTHREN            NM         90014225944
4367894638B16B   TANNY               JOHNSON            UT         90010519463
436789A845B271   MATTHEW             WILLINGHURT        KY         90014159084
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43678A8A761963   JOSHUA      TRIVETTE                  CA          46051910807
43679271972B36   ESTER       DIAZ                      CO          90007242719
43679A4A15597B   KATHERINE   VALDES                    CA          90006580401
4367B24248B165   REMIGIO     BAUTISTA                  UT          90011372424
43681A23193767   KAYLA       THOMPSON                  OH          90014770231
43681A5888B16B   BRIAN       CLARK                     UT          31011420588
43681AA835B242   JEROME      BURBRIDGE                 KY          90005090083
436822AA791873   EFREN       GOMEZ ALVARADO            OK          90013842007
4368266558B16B   ANGELICA    RODRIGUEZ                 UT          31055886655
4368311615B597   MARTIN      GUTIERREZ                 NM          90005201161
4368333A472B43   RAYO        CORONEL                   CO          90011053304
4368368465B222   KRIS        DEPP                      KY          90012386846
43683A3545B222   JUAN        ROJAS                     KY          90008170354
43684371676B49   AMAL        MORCOS                    CA          46015373716
4368471354B271   ALEXANDER   RIVERA                    NE          90014877135
43684765372B43   ROBIN       POE                       CO          90011107653
436849A728B165   BLANCA      SERNA                     UT          90010249072
43684A16455939   TORN        CHEK                      CA          49014500164
4368517235B174   RYAN        DENMON                    AR          90013201723
43685176A72B36   MARIA       ENRIQUEZ                  CO          33028361760
4368517A577595   LEILANI     AKIU                      NV          90005641705
436851A9284349   ANGEL       ANDARA                    SC          90011411092
4368625855B53B   LOUISE      MORALES                   NM          90008192585
4368689435B597   XOCHITL     GWIN                      NM          90002428943
43687615172B43   JACKSON     DANNEON                   CO          90010236151
43687A31591873   KEVIN       MERRITT                   OK          90013860315
4368852954B539   FLORA       HATCHER                   OK          90011195295
4368879225597B   STEPHANIE   LOPEZ                     CA          90012137922
436897A2471999   DERRICK     SANCHEZ                   CO          90014867024
43689914A51383   DARYL       JACKSON                   OH          90002849140
4368993465B271   STEPHEN     WILSON                    KY          90014159346
4368B11A45B53B   DOROTHY     MARTINEZ                  NM          90009181104
4368B35A15B52B   ELVIS       MANFREDES DIAZ            NM          90010483501
4368B97778433B   CESAR       VASQUEZ                   SC          90010919777
4368B9A114B271   MAUREEN     TOBIN                     NE          27026069011
43691314572B36   FISHER      WAYNE                     CO          33039063145
436926A8361963   KEN         VU                        CA          90001886083
436929A4791873   DAMI        ENIOLA                    OK          90014399047
43693353A61967   ANGELINA    TOMASELLO                 CA          46016443530
4369376145B523   EILEEN      WATERMAN                  NM          90007087614
43693782A5597B   PATRICIA    REYES                     CA          90008807820
43693841A5B271   PINKY       PORCELL                   KY          90006588410
436947AA85B53B   LETICIA     GARCIA                    NM          35092607008
436967A3351361   BRITTNEY    EARLS                     OH          90012517033
4369719A64B271   MICHAEL     CONLEY                    NE          27041521906
4369728285B523   ERICA       NIETO                     NM          90009832828
4369757A861967   MICHELLE    MOON                      CA          90014595708
4369861132B87B   STEVEN      FRANK                     ID          90009596113
43698646872B43   MISTI       MANNON                    CO          33063926468
4369874732B87B   ROBERT      STEBBINS                  ID          90013707473
43699713372B4B   KIM         CISNEROS                  CO          90013897133
4369B147172B36   WHITNEY     JONES                     CO          90015071471
4369B37865B222   MARY        BRYANT                    KY          68003063786
4369B891772B38   PORFIRIO    CALDERON                  CO          90014668917
4369BA46161967   ESTER       SANDAVOL                  CA          46079140461
4369BA93572B4B   SILVIA      SOTO                      CO          33047580935
436B1458761967   RODRIGO     AYALA                     CA          90005614587
436B1A94972B4B   DESIREE     HUFF                      CO          90010700949
436B2282772B36   TREY        MITCHELL                  CO          90013812827
436B2564591394   MARIA       DOLORES                   KS          29080825645
436B257294B271   TAMRA       MOFFETT                   NE          90011255729
436B263538B165   CANDICE     MARTINEZ                  UT          90014816353
436B2A72891873   NIKIA       EDWARDS                   OK          21059740728
436B3291872B43   RAYMUNDO    AVITIA                    CO          90010722918
436B3339571999   LISA        ROMERO                    CO          38076173395
436B36AAA8B16B   VIOLA       PETERSON                  UT          31055096000
436B3845691873   JAMES       MCCULLOUGH                OK          90015458456
436B399385B53B   DOLORES     MARTINEZ                  NM          35053929938
436B429355B222   BRUCE       WREN                      KY          90014162935
436B5167861963   MIRIAM      VARGAS                    CA          90004171678
436B57A385B58B   NICOLE      MARCHAND                  NM          90015457038
436B593425597B   BAMBI       CANTU                     CA          90007919342
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436B64A2963654   MARSHA       ROBINETT                 MO          90002314029
436B656634B271   SUNSHYNE     MORRIS                   NE          90014585663
436B6573A5B52B   JESSICA      PEREZ                    NM          90014765730
436B6637872B36   JASON        FREEDMAN                 CO          90013396378
436B665395B58B   FREDDY       JACOB                    NM          90007056539
436B6858A72B4B   AURORA       PACHECO                  CO          33066038580
436B7136A5597B   ASHLEY       LEAL                     CA          90008891360
436B7233391873   BRIAN        CLEVELAND                OK          90015432333
436B7236151383   AARON        RICE                     OH          90011812361
436B742798B165   ALAN         HARRIS                   UT          90009254279
436B7743A5B271   DEVRON       WILLIAMS                 KY          90014157430
436B7757777595   SALVADOR     GARCIA                   NV          43043217577
436B8386A2B27B   DOMINIQUE    GRAY                     DC          90009883860
436B83A7861967   BRANDI       LOHR                     CA          90009113078
436B878A872B36   MARIA        MATA                     CO          33020277808
436B8831771644   FRANCES      WALKER                   NY          52062468317
436B8986791873   CHRISTY      CROCKER                  OK          90014129867
436B914555B174   TANYA        JAMES                    AR          90015171455
436B9339861963   MARTHA       SNYDER                   CA          46012293398
436B9438877595   RICARDO      SAMANIEGO                NV          90012544388
436B9622591569   PERLA        LUNA                     TX          90011346225
436B9959772B36   AMANDA       REIL                     CO          90013719597
436B996127B66B   GENE         SAVAGE                   GA          90003339612
436B9A11A5B597   CHEYENNE     FURRU                    NM          90012300110
436BB132351334   TEMEKA       JONES                    OH          66036191323
4371111259127B   QUOLETRICE   RUSHON                   GA          90013441125
43711263472B51   ANGELES      ALVAREZ CABRAL           CO          33092862634
437119A728B165   BLANCA       SERNA                    UT          90010249072
43711A59291569   RUDIE        ORTIZ                    TX          75023040592
4371282315B53B   JOSEPH       FONTANEZ                 NM          90012498231
43713291872B43   RAYMUNDO     AVITIA                   CO          90010722918
43713A62155939   JOSE         MAGANIA                  CA          49052390621
43714713172B4B   MARIA        GUERECA                  CO          90007327131
437155A258B16B   RAY          BURNITE                  UT          90014375025
4371562595B541   MARVIN       ARREOLA                  NM          90002146259
4371626528B165   IAN          SHEPHERD                 UT          90012342652
4371663738B16B   MARIA        MUNIZ                    UT          90015016373
4371692115B271   ANDREA       STEWART                  KY          68097969211
43716A6745B523   MICHAEL      DAVIS                    NM          35039290674
43716AA724B271   DENISE       THOMAS                   NE          27060940072
4371729338B165   JOHN         EVAN                     UT          90015132933
43717351A5B597   MARLENE      SALAZAR                  NM          90003773510
43717519672B43   AZUCENA      JOCOBSEN                 CO          90006635196
4371917845B222   SURRILDA     HODGES                   KY          90014751784
4371944662B87B   JOSH         ALTERMOTT                ID          90013434466
4371967A95B53B   CARLOS       HERNANDEZ                NM          90013506709
437198A6972B36   BROOKE       KASPER                   CO          90000718069
4371995464B271   SARAH        WELLS                    NE          27092819546
4371997A95B174   AISHA        BRADFORD                 AR          90011439709
43719A35977595   DANIEL       ODNEAL                   NV          90011100359
4371B12514B543   ANDRE        COLBERT                  OK          90010011251
4371B36A991873   FLORENCE     WALKER                   OK          21060753609
4371B3A6955944   ANITAMARIE   ASHLEY                   CA          90001693069
4371B596251383   JACK         PARSONS                  OH          66065915962
4372234765B222   JEFF         REICHEL                  KY          90015553476
4372344665B398   JOSHUA       TIPTON                   OR          90001684466
437238AA561963   ALICIA       SMITH                    CA          46072068005
4372418638B165   YELIZ        YAKAR                    UT          90013891863
43724361972B4B   CHARLES      VALDEZ                   CO          90008673619
4372452315B174   AUSTIN       FRANKE                   AR          23067345231
437245A125B53B   TONY         GAMBOA                   NM          35000515012
4372479222B27B   GEORGE       BRANCH                   DC          90015177922
4372516A72B27B   JEFF         MAY                      DC          90013361607
4372526235B174   KATELYNN     BAXTER                   AR          90014972623
4372531635597B   ERIKA        OCHOA                    CA          90013023163
43726334A7B325   MULUGETA     FEYISSA                  VA          81018523340
43726751A8B165   SAMATHA      ENGLISH                  UT          90002477510
4372718145B597   MIREYA       URVINA                   NM          90013051814
4372762615597B   YESENIA      BENITEZ                  CA          49032806261
43727A35977595   DANIEL       ODNEAL                   NV          90011100359
43728589872B36   YAMILETH     TORRES                   CO          90014135898
4372896A672B36   JOHN         HIBBS                    CO          90013719606
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43729397272B36   MARIA       HERNANDEZ                 CO          90012913972
4372943A551884   KATHY       WEIL                      NY          90015354305
4372B127651334   LORRAINE    BUTLER                    OH          90007601276
4372B353A5B272   BELINDA     MORRISON                  KY          90010983530
4372B771472B4B   ELVIRA      TORIBIO                   CO          33001327714
43731854A8B16B   TRINIDAD    ROMERO                    UT          90012428540
43732765472B43   DANA        NELSON                    CO          33001757654
4373287478B16B   MELODIE     MARTINEZ                  UT          90014858747
4373319A45B271   KIMBERLY    CONKLIN                   KY          90014171904
4373337825B174   STACEY      ANDERSON                  AR          90013563782
43733A9362B87B   PAMELA      BRIDGES                   ID          41061780936
4373511268B16B   PAULINE     HERRERA                   UT          31044661126
4373581968B165   RYAN        COOK                      UT          90015108196
43735AAA772B43   JOSH        PUGH                      CO          90005010007
4373629A171934   YOHANA      PINTO                     CO          32020782901
437378A3171999   GEORGE      LOPEZ                     CO          38030998031
4373841965B271   LISA        CUNDIFF                   KY          68057414196
43738987372B43   CARLOS      CASTRO                    CO          33053199873
43739519872B4B   JUAN        ESPARAZA                  CO          90012845198
43739A4942B264   STEPHEN     SMITH                     DC          90010790494
4373B269551383   HEATHER     SHOOK                     OH          90014642695
4373B356751383   COLBI       ERVIN                     OH          66045183567
4373B694461967   EDITH       SOHM                      CA          46091216944
4374179815597B   MICHELLE    MOORE                     CA          49084247981
43742636A51383   KERRIE      WALTERS                   OH          90015106360
4374271395B52B   PAULINE     VAZQUEZ                   NM          90014797139
4374288515597B   JONATHAN    CALVO                     CA          90012618851
43742A58955939   RAMONA      FLORES                    CA          49055380589
43743694672B43   OLGA        NOVITSKY                  CO          33049086946
4374455548B165   BHAVESH     SUTHAR                    UT          90012785554
4374482367B865   LEOTIS      RHODES                     IL         90001168236
4374498162B879   MARK        SANDER                    ID          42063749816
437449A895597B   JOEL        ANDRADE                   CA          90012279089
43745A53A72B4B   JANET       STANLEY                   CO          90009790530
4374727A62B27B   SHAYNA      MATTHEWS                  DC          90015122706
43747A4A75B271   DERRELL     ARTHUR                    KY          90014160407
4374824215B174   YOLANDA     WILLIAMS                  AR          90005542421
4374865668B16B   SHAWN       THOMPSON                  UT          31084126566
4374886AA5B52B   CARLOS      FLORES                    NM          90006098600
43748A5A45B271   JAMEY       STINSON                   KY          90014160504
4374995725B174   ERICA       FITZPATRICK               AR          23069009572
4374B244161967   SILVIA      FLORES                    CA          46084762441
4374B72AA71999   EVA         FATTA                     CO          38001117200
4374B74712B87B   KARI        CENTERS                   ID          41045247471
4374B76155B222   SHAUN       HEITZ                     KY          68021397615
4375121938B165   BALFRE      ROMAN                     UT          90014912193
4375275825B523   FRANKIE     VIGIL                     NM          35012707582
437527A7171999   HELEN       SANCHEZ                   CO          38007037071
4375292588B165   SYLWESTER   RYNKIEWICZ                UT          31017809258
43752947A5B597   MICHELLE    TORREZ                    NM          90013389470
43752A6175B271   DELNISHA    PORTER                    KY          90014160617
4375315645B58B   YESENIA     GUITIERREZ                NM          90011821564
4375354A65B53B   AMAROS      MARTIN                    NM          35008375406
437536AA672B4B   LISA        VASQUEZ                   CO          33010836006
43753A9375B375   DANIEL      POWERS                    OR          44534370937
4375433435B174   HELEN       JOHNSON                   AR          90012693343
4375489435B53B   INDIA       SCHRANKEL                 NM          35021358943
43754A4925B58B   CESAR       VILLALOBOS                NM          35054380492
4375548125B597   SI          KASSEMI                   NM          90014594812
43755485772B25   CARLA       MOLINELLI-CASTRO          CO          90010744857
43755555A61926   ROSE        COLBERT                   CA          90010875550
43756A11491873   KATHY       CARTER                    OK          21074540114
43756A57521981   ANDREW      JACKSON                   IN          90013890575
4375755675B597   BRENDA      HELMICK                   NM          35087075567
43757948972B36   PABLO       GOMEZ JR.                 CO          33087169489
43758464A61967   RENEE       HAYWOOD                   CA          90015204640
4375895718B16B   JUMMEY      BELTRAN                   UT          90015119571
4375896265B222   AIRIKA      MUEX                      KY          90010229626
43759247A4B271   MARIA       VAZQUEZ                   NE          27066912470
43759592A55939   CINDY       OLIVA                     CA          90011945920
43759A8455B271   ROBERT      RIGDON                    KY          90014160845
4375B72425B52B   MICHAEL     NIETO                     NM          90009287242
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43761482172B36   TOM          RANGE                    CO          90015184821
4376186795B174   DONYEL       CULVERSON                AR          90012478679
43761AA3772B43   PRISILIANO   HERNANDEZ                CO          33062140037
4376231995B597   ELINA        ANGUIANO                 NM          90014183199
4376259217B66B   ASHLEY       PRITCHETT                GA          15079705921
43762A34272B4B   FRANK        VARGAS                   CO          33046390342
43763918172B43   AMY          HERMAN                   CO          33011269181
43763976A5B52B   YVONNE       ENCINIAS                 NM          90014919760
43764758372B36   ALEXIA       DURON                    CO          90001447583
4376476948B165   ROBERTO      ROSAS                    UT          90005627694
43765648272B4B   LIANNA       ROSES                    CO          33047136482
4376575175597B   STEPHANIE    GARRISON                 CA          90014607517
437664A1133B63   TINA         COLE                     OH          90014554011
43766793A71999   PEARL        PACHECO                  CO          38016197930
43767A19A5B174   DANIEL       PETTUS                   AR          23053150190
43767A2515B52B   ALEX         RODRIGUEZ                NM          90013400251
4376854A12B27B   SHAWANDA     JACKSON                  DC          81008685401
4376881195B271   JACK         BABER                    KY          90001498119
43768985172B36   DAMARYS      MORALES                  CO          33017529851
43769579272B4B   SALOME       FLORES                   CO          90005565792
437699A5977595   JESSICA      PINA GONZALEZ            NV          90008729059
43769A6865B174   ORDETTE      CARTER                   AR          90005950686
4376B44624B271   JANNET       SMOOT                    IA          90004694462
4376B994551383   JENNIFER     MARTIN                   OH          90012789945
4377157665B52B   SIMON        SANDOVAL                 NM          90010525766
4377185738B165   MICHAEL      GALKE                    UT          90013988573
4377228574B543   SCOTT        KAUFMAN                  OK          90011062857
4377279992B27B   LEROY        PROCTOR JR               DC          81059627999
4377312A95B271   LUIS         ROMERO                   KY          90014161209
43773175772B4B   WESLEY       BRETTING                 CO          90006651757
4377329A371996   NICHOLAS     SMITH                    CO          90009142903
4377397A572B36   ERICK        PEREZ                    CO          90005239705
4377432935B597   VERONICA     CAMARENA                 NM          90010583293
437745A1251383   LORI         LEESEMANN                OH          66011355012
4377482328B16B   KANETO       TELONA                   UT          90007488232
43774837A91394   JOSE         NAVAS                    KS          90001988370
43774A37451334   TYJUAN       CANTRELL                 OH          90010430374
4377522774B271   RAY          KYLES                    NE          90007452277
43775268472B36   JUAN         ORDOZ ROMERO             CO          33051502684
4377555285B597   BRENNA       SCHMOLL                  NM          90001385528
43776276A72B4B   LAURA        DUVALL                   CO          90002732760
43777A59A51334   TERRI        WILLIAMS                 OH          90006080590
4377814868B156   BRIAN        SHUPE                    UT          90002181486
4377856975B271   TRACY        SANDERS                  KY          90014095697
4377889282B27B   ROSA         VILLEGAS                 DC          90013398928
43779A26972B4B   JEANIE       WILLIAMS                 CO          90004720269
4378145842B87B   NESHA        GREEN                    ID          90014454584
43781538A5B58B   OLGA         MUNIZ                    NM          35022855380
4378188195B597   NICOLAS      MADERA                   NM          35059248819
43781939876B29   MARIO        BORJA                    CA          90005979398
4378197785B223   PHILLIP      COOMER                   KY          90007179778
4378232255B597   SAUL         MONTES MUNOZ             NM          90014183225
43782329A77595   ARTURO       CASTRO                   NV          43078043290
4378236637B472   ANDRE        MEANS                    NC          90010863663
437827A3A51383   ERIVAN       GALICIA                  KY          90002697030
43782AA9891873   JANICE       POPLIN                   OK          21050330098
437836A6171934   JOHN         THOMPSON                 CO          90003346061
43784112472B43   FRANCISCO    MAESTAS                  CO          90013481124
4378467435B222   ROCIO        PRESA                    KY          90015326743
437848A1561967   DONALD       ODOM                     CA          90003298015
4378495AA86453   XAVIER       MATHIS                   SC          90014209500
43785282A72B4B   ROMAN        ACOSTA                   CO          90015002820
4378537815B174   BOBBIE       PETERSON                 AR          23043353781
4378674712B87B   KARI         CENTERS                  ID          41045247471
4378712785B53B   DEBRA        YBARRA                   NM          90014931278
4378737815B53B   AMBER        BENAVIDEZ                NM          90014043781
4378784855B174   JOSE         PEREZ                    AR          90008438485
4378784A372B43   JOSE         GONZALEZ                 CO          90006628403
4378798575B52B   ZELMA        MARTINEZ                 NM          90005799857
43787A9975B222   CHRISTY      CONATSER                 KY          90013510997
4378988585B56B   PATRICIA     MONREAL                  NM          90009218858
4378B247177595   WESLEY       BOHANNON                 NV          90014722471
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4378B9A1561963   DAVID         CORPUS                  CA          90012149015
4378B9A735B58B   MAXINE        SANDOVAL                NM          35072409073
4379118835B271   KENYA         BIVENS                  KY          90014161883
4379144255B58B   MISTY         MONTANO                 NM          35046274425
4379186455B222   CHRISTOPHER   BRAUNER                 KY          90014648645
437928A2291569   LIUS          RAMIREZ                 TX          90008458022
4379328A851383   ISAAC         BRANDON                 OH          90014652808
4379386812B27B   JENNIFER      MATTHEW                 DC          90013878681
43793A95A5B174   TIMOTHY       DAVIS                   AR          90015320950
4379416272B27B   BRIAN         HASKINS                 DC          90013041627
4379438845B52B   ARTHUR        PACHECO                 NM          36045163884
4379487855B222   KIMBERLY      MOORE                   KY          90013018785
43794A1548B165   LEE           CUPPLES                 UT          90013740154
4379518975B271   DARRELL       HANGER                  KY          90014161897
43795683772B36   LUCIA         ZUNIGA                  CO          90012296837
4379588655B174   ERICA         GRIFFIN                 AR          90000858865
4379637635B222   DAWSON        HOOD                    KY          90010653763
4379687895B597   IRMA          DIAZ                    NM          35067458789
437969A4261967   ALVARO        GONZALES                CA          46058329042
4379723A45B174   MICHAEL       REDUS                   AR          90013792304
4379728778B16B   PATY          BENITEZ                 UT          90006292877
4379736128B165   MARIA         CONTRERAS               UT          31035653612
437981AA672B43   ALFONS        BARALA                  CO          90013961006
4379825862B87B   JASON         BRAMALL                 ID          90012722586
4379877685B271   JOHN          HARROD                  KY          90014727768
4379897239152B   FELIPE        MARTINEZ                TX          90012429723
437992A9151383   KARENA        SPILLER                 OH          66090542091
4379931A661967   SHANNON       SAULTER                 CA          46016443106
4379972128B16B   BENJAMIN      GARCIA                  UT          90010327212
4379B31298B165   DANYELLE      REYA                    UT          90013303129
4379B784855939   LAURA         ORROSTIET               CA          90002967848
437B123495B52B   GUADALUPE     CASTILLO                NM          90014792349
437B239865B52B   JENNIE        PARKER                  NM          90010933986
437B2742391873   BRITTANY      BAILEY                  OK          90014637423
437B296555B597   LETITIA       PALUMBO                 NM          35009919655
437B3368672B4B   JOAQUIN       LOPEZ                   CO          33035863686
437B3421751383   TONY          SIMMONS                 OH          90000254217
437B3857961963   ANGELINA      MARTINEZ                CA          90010978579
437B393A35B174   SHANNA        WHITE                   AR          90015179303
437B3A9698B16B   TRAVIS        SCHNEIDER               UT          90015130969
437B4199176B22   MARIO         TEJEDA                  CA          46031091991
437B463795B597   STEPHANIE     GALLEGOS                NM          35014556379
437B4714171999   SANDRA        PADILLA                 CO          38016217141
437B498745B52B   MONTOYA       CHRIS                   NM          36067659874
437B518A75B222   PHILLIP       MELLICK                 KY          68016901807
437B5296861963   AUSTIN        CARTER                  CA          90013592968
437B5459151325   TONY          GRIFFIN                 OH          90004984591
437B561615B597   ANTHONY       ATWOOD                  NM          90007836161
437B575614B271   CATHERINE     COX                     NE          27054917561
437B5764321981   SHARLOTTE     FRIERSON                IN          20570107643
437B628135B52B   DORIAN        MENDOZA                 NM          90014912813
437B636875B52B   DORIAN        LOPEZ                   NM          90014793687
437B6381171999   ALICIA        BARELA                  CO          90014473811
437B642125B378   JOANNE        STILLSON                OR          90011424212
437B7897A4B271   ROMELIA       LORENZO                 NE          90004678970
437B89A5761967   ANGELA        PERCY                   CA          90013509057
437B919415B53B   CHARLIE       CHAVEZ                  NM          90013071941
437B9541A8B165   DEVIN         BAGLEY                  UT          90003845410
437B9596251383   JACK          PARSONS                 OH          66065915962
437B96A2471999   JANIE         REYES                   CO          90010626024
437B984112B87B   NANCY         PARISI                  ID          90011078411
437BB671977595   DEREK         OWENS                   NV          90011116719
437BB71885B222   ZACHARY       FITZ                    KY          90014597188
437BB86455B222   CHRISTOPHER   BRAUNER                 KY          90014648645
437BBA4A95B174   BEVERLY       STACEY                  AR          90006330409
43811485572B43   MICHAEL       HUDSON                  CO          33009894855
4381149275B58B   HARRY         GENERO                  NM          35028904927
43812524672B4B   MARGARITA     FLORES                  CO          90009095246
4381321295B271   TRINITIE      SMITH                   KY          90014162129
4381346118B155   OWENS         ANDERSON                UT          31083794611
438139A745B52B   ALBERTO       FIGUERO                 NM          90010739074
43813A5265B58B   PEGGY         ESQUIBEL                NM          35039620526
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4381534AA5B58B   LUZ         PARRA                     NM          90011893400
43815726372B4B   KENNETH     MORSE                     CO          90014357263
438168A5855939   ROSA        POSADAS                   CA          49061848058
438171A3A33662   KELIA       BRIM                      NC          90013901030
4381764A62B87B   JILL        SMITH                     ID          90014526406
43817982A55939   MARIA       FLORES                    CA          90012589820
4381823765B271   FRANCISCO   RUIZ                      KY          90014162376
4381877375B597   EUGENE      TAPIA                     NM          90013387737
43818A61171934   NICOLE      LUIS                      CO          90007230611
43818A77672B36   OSCAR       ROJERO-SALDANA            CO          33075290776
4381916462B27B   REGINALD    BRYANT                    DC          90011511646
4381B247872B43   DEANNA      FAUSNAUGH                 CO          90007172478
4381B328791873   LATREASE    FRAZIER                   OK          90012253287
4381B385A72B4B   JASON       CROSS                     CO          90008053850
4381B391351334   TAMMY       BLEVINS                   OH          90014313913
4381B854533625   MARK        MORRIS                    NC          90014978545
438211A7472B43   CANDIE      SANCHEZ                   CO          90008211074
4382139682B27B   CHARLENE    GOLPHIN                   DC          90011443968
43821A83661967   MARTHA      MURILLO                   CA          90011440836
4382262355B53B   EDWARD      BRITO                     NM          35067266235
4382358875B58B   JONATHAN    GARCIA                    NM          90006795887
4382429A22B87B   ROGER       STEINMETZ                 ID          90014812902
4382487395B53B   LEOPOLDO    ORTEGA                    NM          90015228739
4382512425597B   ANSEL       HENDRICKSON JR            CA          49090141242
43825445372B43   JESSICA     FITZI                     CO          90014104453
4382566A577595   MANUEL      RANGEL                    NV          90014736605
4382676A391569   ANDREA      CAMPOS                    TX          75089147603
4382696315B174   MAYA        BROWN                     AR          90012749631
4382759944B271   TOMMY       STRICKLIN                 NE          27031675994
438282AA372B4B   MELVIN      PESQUERA                  CO          33094752003
43828417572B43   LYNNETTE    SWAFFORD                  CO          90012824175
4382897A371999   ALMA        RASCON                    CO          90012949703
43828A1863195B   TIMOTEA     JEMENEZ                   IA          90015420186
43828A8415B53B   MARTY       SANCHEZ                   NM          35099290841
4382928798B165   MARCELINO   HANWAY                    UT          90013272879
4382B12978B16B   DERIC       REEVES                    UT          31081691297
4382B1AA272B4B   MARIA       SILVA MARQUEZ             CO          33076281002
4382B363691873   TANIA       JUAREZ                    OK          21065413636
4383129795B53B   MARIA       PORTILLO                  NM          90011882979
43831513A77595   ALFREDO     GARCIA                    NV          90006985130
43831566672B36   CHRISTINE   OSBURN                    CO          33034365666
438322AAA61963   FLORENDA    FLORENZA                  CA          90006252000
4383259175B597   CHRISTINA   NELSON                    NM          35043675917
4383319292B27B   AUGUST      VALENTINE                 DC          90012841929
4383368815B271   DENISE      VAUGHN                    KY          68013736881
4383465655B271   TOBIAS      CLARK                     KY          90002876565
43834A29991569   ADRIEL      MANRIQUEZ                 TX          90012420299
4383522235B597   LUIS        CASALES-SORIANO           NM          35093222223
43835283772B4B   MONICA      MENDEZ                    CO          90013262837
4383728447122B   MARIA       CARRILLO                  IA          90014332844
43837461A72B4B   PAUL        CHAUSSART                 CO          90014814610
438375A292B87B   LEILA       SIEVEN                    ID          90014505029
4383768514B934   DEWEY       VAUGHAN                   TX          76564846851
4383929A85B53B   LEIGH       VANBUSKIRK                NM          90001012908
4383B647551334   COLBI       ERVIN                     OH          90011746475
4383B75135597B   MELANIE     LEE                       CA          90010977513
4383B948A8B16B   ALEJANDRO   SANCHEZ                   UT          31072909480
4383B9A1372B36   KOLTTOE     BARNETT                   CO          90010519013
4384129A491873   ENIRQUE     LUNA                      OK          90012712904
4384163332B27B   JOE         SIMTH                     VA          90012756333
43841A15A84349   JOSE        ARMANDO                   SC          90011310150
43842A66855939   ANTHONY     BEASLEY                   CA          90014910668
4384316862B27B   JOSHUA      BROWN                     DC          90008641686
4384317A37B66B   EUGENE      MITCHELL                  GA          90013911703
438431A1772B4B   FRITZ       HOTRODZZ                  CO          90006701017
43843431A91873   JAIME       RAMIREZ                   OK          90004194310
4384368785B597   MELISSA     GARCIA                    NM          90014696878
43843A1A35B58B   EULALIO     ABEITA                    NM          90012680103
43844391A51383   MOLLY       NIEHAUS                   OH          90015213910
438457A5972B36   NICOLED     SPENCER                   CO          33011767059
4384635915B174   SONYA       WASHINGTON                AR          90003043591
43847132172B4B   KERRY       FOY                       CO          33091581321
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4384797745B271   JASON              PERKINS            KY          68092779774
438487A965B58B   WALTER             WORBIS             NM          90014867096
438488A3371999   ALYCIA             BORTON             CO          90014868033
43848A1372B87B   MELISSA            KEANE              ID          41003850137
4384B357751383   JUDY               HUGHES             OH          90014643577
4384B752277595   TARYN              RUSSELL            NV          90014737522
4385128555B58B   LUZMARIA           DUARTE             NM          90013962855
43852497A5597B   ZARATE             ELIZABETH          CA          90002084970
4385343A161967   KENNETH            STEWARD            CA          90000874301
4385375985B271   JAIME              MOODY              KY          90007677598
4385377368B16B   HECTOR             ARRAEZ             UT          90012567736
43854A4375B174   NICHOLAS           WILLIAMS           AR          90015210437
4385537A651383   JASON              RATLIFF            OH          90014643706
4385546448B165   RAY                SCOOGAN            UT          90013344644
4385592828163B   TAMIKA             BRADLEY            MO          90014919282
43855A46891569   VIVIAN             VILLAMIL           TX          90013400468
43855A8A22B27B   RITA               SMITH              DC          90014440802
43856181974B3B   LORENA             SCOTT              OH          90015291819
43856236472B36   JUSTIN             TRUJILLO           CO          33054882364
4385634398B165   TY                 WORTHINGTON        UT          90011903439
438563AA75B58B   ARCHIE             VALENCIA           NM          90011133007
438566AAA61967   SCOTT              CARLSON            CA          46013836000
4385776558B16B   ARIANA             MAUGA              UT          90012667655
438582A7147954   ANDRES             LOPEZ              AR          25019792071
4385854245597B   KELLY              PUGLIESE           CA          49094445424
43858A48951383   PIERRE             LOCKETT            OH          90014700489
4385917A32B27B   TAHEERA            WALL               DC          90009741703
4385966385B53B   ARTHUR             GAERLAN            NM          35021186638
43859731172B98   GEORGINA           BARBA              CO          33066807311
4385B61A172B47   SEAN               MCENIRY            CO          90012056101
4386131A661967   SHANNON            SAULTER            CA          46016443106
4386163995B174   CHARLOTTE          KEISTER            AR          90015276399
43861A5588B16B   CHARLES            KANE               UT          31007760558
4386289215B58B   SHEENA             BURNS              NM          35064398921
4386359175B597   CHRISTINA          NELSON             NM          35043675917
43863A15191569   RUBY               RILEY              TX          90015020151
43863A9A24B271   WALTER             BARNETTE           NE          90005630902
43864A25861963   MARCIA CASSANDRA   HUNTER             CA          90014880258
438651A5972B4B   OLIVIA             GONZALEZ           CO          90013671059
4386593478B156   ALBERT             COPPAGE            UT          90011149347
4386627262B27B   ALICE              SUMYATI            VA          81037482726
43866781A4B271   EDUARDO            DEL ANGEL          NE          90011367810
4386834535B222   LAKISHA            LAPRADD            KY          68038223453
4386856A64B531   HALEY              MOORE              OK          90012725606
4386947665B58B   KALEEN             KALAMA             NM          90013964766
4386B269651334   CIARA              SONTAG             OH          90012452696
4386B45992B87B   RICHARD            JOHNSON            ID          41018244599
4386B515272B4B   LIZBETH            MEDELLIN-HUESCA    CO          33046055152
4386B58598B165   BRANDON            ANDERTON           UT          90013875859
4386B76175B523   ROSEMARIA          BACA               NM          90011017617
4386BA2695B597   LUIS               VALENZUELA         NM          35050160269
4387238338B165   WILLY              B STOWELL          UT          90011153833
4387276A555939   RATHA              CHAN               CA          90012927605
438729A6361963   EBELIO             LOPEZ              CA          90001639063
438753A312B87B   LEANNE             FRALEY             ID          90004653031
438753A5561967   DENISE             MANGE              CA          90004493055
4387552345597B   ARTEMIO            REYNOSO            CA          90009275234
43875AAA372B36   SEAN               KRULL              CO          90012600003
43876249A5597B   MARIA              DE DIOS            CA          90011332490
4387715737168B   TAMMY              TOBER              NY          52099541573
43877894972B4B   JENNIFER           MEDINA             CO          90003488949
4387791585B52B   MICHAEL            SOLIS              NM          90014989158
4387822143147B   SHENEA             GARY               MO          90007572214
4387823845B597   JONAH              LITTLEHOOP         NM          90007222384
438783A215B174   LUIS               COCA               AR          23061943021
4387899272B87B   MASON              WESSELMAN          ID          90014419927
4387946815B53B   SUSANA             CARRILLO-BRECEDA   NM          90014624681
4387959724B271   COURTNEY           KINMAN             NE          90012255972
4387B659A8B16B   JOSE               LOPEZ              UT          90005216590
4387B69265B58B   STEPHAN            GOLDMAN            NM          90011126926
4388129475B597   ALY                YANIMAYER          NM          90008632947
4388182265597B   ELIZABETH          ONYEGASI           CA          90008838226
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43881A5714B271   ANTHONY       GARCIA                  IA          27097920571
4388213775B597   ARTHUR        BLEA                    NM          35049741377
4388251A271999   ANTHONY       SOTO                    CO          90013085102
4388296158B165   GIOVANNI      SANCHEZ                 UT          31003219615
4388297935B53B   JASMINE       LOPEZ                   NM          90012769793
43883333444B71   AARON         LIPSCOMB                OH          90015373334
43883429A72B4B   FREDDY        CONTRERAS               CO          90008334290
43884463A77595   THERESA       COFFMAN                 NV          90011154630
4388454828B156   CHANTEL       MORA                    UT          90002215482
4388556488B16B   MICHELLE      BORG                    UT          90009115648
43885783972B36   TRUJILLO      APRIL                   CO          90010687839
4388611629187B   NICK          TORRES                  OK          21093741162
4388699498B165   PENOA         LILOMAIAVA              UT          90012959949
4388758212B872   MIKE          WARREN                  ID          90002515821
4388782775B597   MARIO         MANZANARES              NM          90010558277
4388B425272B39   ROBERT        MARTINEZ                CO          90007674252
4388B87178B16B   NANETTE       GONZALEZ                UT          90012248717
4389138A75B271   EDVENIA       DOWLEN                  KY          90014163807
4389239A377595   ALFREDO       MARTINEZ                NV          90012493903
4389265A672B36   RICHARD       MARSCARENA              CO          90009536506
4389338165B271   ZACK          NUSSER                  KY          90014163816
43893415A61967   VERONICA      TORRES                  CA          90004764150
438939A6472B36   FRANCISCA     BAHENA                  CO          33074379064
43893A45572B43   JULIANA       SAUCEDO                 CO          33045960455
4389455118B14B   LEROY         KINDER                  UT          90012315511
4389457945B174   WHITNEY       HICKS                   AR          90015005794
43894722172B4B   SHIRLEY       MARTINEZ                CO          90015137221
43895212772B36   TIMOTHY       RICE                    CO          33075462127
4389539785B271   TIMA          ELMORE                  KY          90014163978
4389561372B27B   LAKISHA       THOMAS                  DC          90011146137
43895A36291873   LAUREN        TOSH                    OK          90014780362
43895AA5871999   EDWARDO       CORTEZ                  CO          90010990058
438979A4477595   RICARDO       AVINA                   NV          90010249044
43897A72371999   EUGENIA       ARZATE                  CO          90010490723
4389888338B16B   ADRIANNA      TERRIQUEZ               UT          90011778833
4389898662B27B   REGINALD      REGINALD                DC          90014809866
43898A48872B4B   AUBREYL       LAGUARDIA               CO          90011050488
43898A7168B165   MATTHEW       JONES                   UT          90014970716
43898A7925B597   OLGA          CASTILLO                NM          35049660792
43898A7A15B174   JESSICA       MARS                    AR          23069950701
4389948762B87B   RICHELE       ROOT                    ID          90006844876
4389986195597B   LUIS          RAMIREZ                 CA          90014608619
438B124715B52B   BRITTANY      GARCIA                  NM          90012982471
438B1797261967   WILLIAM       FORSYTHE                CA          90014857972
438B182A15B597   LEANN         LOPEZ                   NM          35092778201
438B233745B271   LAWRENCE      JONES                   KY          68063483374
438B288A461967   NANCY         ANGUIANO                CA          90013038804
438B297A561963   HEATHER       MAJOR                   CA          90010429705
438B356345B53B   CARRIE        GARSON                  NM          90009895634
438B359925597B   BRIAN         KING                    CA          49085525992
438B35A7391523   GISSEL        MEZA                    TX          75055295073
438B5192357134   JUANA         GONZALEZ                VA          81013681923
438B523645B53B   CHRIS         POLACO                  NM          90004262364
438B5341981639   TIMOTHY       DELACY                  MO          90014863419
438B63A545B597   NICOLE        FEGER                   NM          90005083054
438B6436A61963   OVDIU         CRISAN                  CA          90010354360
438B678A791569   ALVAREZ       MARYANN                 TX          90007777807
438B6A9AA91924   MARIO LOPEZ   ALBERTO                 NC          90008390900
438B7661761963   CRYSTAL       VANDYKE                 CA          90012956617
438B826322B87B   JOSHUA        GARDNER                 ID          90005112632
438B862945597B   FERNANDO      MORA                    CA          90001366294
438B877328B16B   KELLY         THOMPSON                UT          31063437732
438B8855191873   JENEEN        BAILEY                  OK          21085048551
438B9516191569   ROSWMARY      PADILLA                 TX          90011835161
438B986215B174   LA CRESHA     HARRIS                  AR          90002268621
438B9911172B43   JORGE         DIAZ-QUIROZ             CO          90002539111
438BB285161967   FRANCISCO     GONZALEZ                CA          90011352851
438BB93745B58B   VERONICA      GURULE                  NM          35094989374
438BBA7985B523   BEN           LUCERO                  NM          90007100798
438BBAA655B53B   CHRIS         HOLLINGER               NM          90009850065
4391133965B222   CURTIS        MABRY                   KY          90015323396
4391134635B58B   ADRIAN        OBESO                   NM          35090933463
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2005 of 2500


4391146765597B   LUE                 YANG               CA         90013394676
43912474A5B53B   JAMIE               GARICA             NM         90013524740
439132A9361988   DENISE              MCEWAN             CA         90006622093
43913421A8B16B   SCOTT               FARRIMOND          UT         90010354210
4391389A991569   BIANCA              ORTIZ              TX         90006178909
4391451922B27B   LAQURILA            FITZHUGH           DC         90013145192
43914A41A77595   RITA                LOPEZ              NV         43028450410
4391587895B53B   JACQUALINE          CONNER             NM         90012358789
43917283A5B174   CAMEO               STOKES             AR         23067882830
439174AA25B52B   ARMANDO             MARIN              NM         90010194002
4391758765B597   ARLENE              MELENCIANO         NM         35001245876
4391772477B347   ANA                 VASQUEZ            VA         90007737247
4391792125B58B   AL                  CASTIILLO          NM         35033979212
4391793385B222   GREG                MITCHELL           KY         68038339338
43917A49374B31   LAUREN              BAKER              PA         90006730493
4391816648B165   MELISSA             ANN                UT         31077991664
4391845435B271   JOSE                MARTINEZ           KY         90011614543
4391924822B87B   SHANAE              SPRINGER           ID         90007982482
43919337A72B4B   BENJAMIN            BERUMEN            CO         33028213370
43919528472B43   GUILLERMO           ACEVEDO            CO         33008355284
439196A382B27B   ASSLAN              SULAIMAN           VA         90005126038
43919A5825B222   STEPHANIE           GOGGINS            KY         90004710582
4392161A18B165   MONICA              MOLINA             UT         31014846101
4392176845B58B   KAREN               GARCIA             NM         35057827684
4392229818B16B   DAVID               PADGETT            UT         90006292981
43922A65861967   MIGUEL              QUINTERO           CA         46018030658
4392325715B597   BERTHA              VELASQUEZ          NM         35021922571
4392351365B526   GREGORIO            RIVERA             NM         90011465136
43923638172B4B   ASHLEY              BEARD              CO         90013456381
4392381615B222   WILL                FEHRIBACH          KY         90010818161
4392387635137B   AMITY               WORLEY             OH         90009568763
4392393985B264   QUIESHA             CARTER             KY         90005029398
4392455AA55939   EDUARDO             RODRIGUEZ          CA         90009035500
4392527585B597   REBECCA             RENSHAW            NM         90009472758
439258A4A91569   LUZ                 SANDOVAL           TX         75003248040
43925A3885B222   SHAMEIKA            JEFFERYS           KY         90015260388
43926536A5B53B   DONNA               JONES              NM         35014895360
439265A9776B5B   ARACELIA            MORALES            CA         90006235097
43926647A5B58B   SHIRLEY             MIRAMONTES         NM         90010056470
4392776A555939   RATHA               CHAN               CA         90012927605
439295A1671999   JEREMIAH            WHITE              CO         90013305016
439297A795B523   MEAGAN              BREY               NM         90012397079
4392989455B597   KATHY               MONTOYA            NM         90009298945
4392B2A275B597   FELICIA             QUINTANA           NM         90004192027
4392B732272B36   JESUS               VASQUEZ            CO         33055897322
4392B749491873   JAYMZ               WILLIAMS           OK         90002147494
4393128755B52B   ROSA                SARCENO            NM         90015012875
4393176A855939   BOBBY               SCHWARTZ           CA         90011507608
4393195362B87B   LEVI                BUCKLES            ID         90015119536
439327A675B597   NICHOLAS            THOMPSON           NM         90012677067
43933562A61967   ANTWYON             JOHNSON            CA         90013545620
43933AA1176B59   ISRAEL              FLORES             CA         90012700011
4393419195B597   MICHAEL             GONZALES           NM         35076961919
4393488315B271   JACKIE              ROBINSON           KY         68037588831
43934A45251383   LAETITIA            MOORE              OH         90014900452
4393591925B174   CHERYL              WILKINS            AR         90012919192
43935A77161967   CHRISTIAN           TRZCINSKI          CA         90014140771
43935A92571934   MICHAEL             CONNOR             CO         32087100925
43936541276B5B   KATHLEEN            MCINTYRE           CA         90004745412
43936868572B32   MARTHA              SOLIS              CO         33075348685
4393686A84B541   DANIELA             AGUILAR            OK         90015018608
4393711A98B16B   MATTHEW             STONE              UT         90013641109
4393739A15B597   THOMAS              GUTIERREZ          NM         35063433901
4393799A15597B   DANIEL              FLORES             CA         49005489901
4393857815B597   SOLOMAN             AUSTIN             NM         35049655781
4393857A45B271   L.D.                YEAGER             KY         68002715704
4393918A872B43   MARIA AIDE SUSANA   MARTINEZ MEDRANO   CO         90013631808
4393974985B52B   FLOR                DIAZ               NM         36003437498
4393B271177595   DESTINY             HOLMBERG           NV         90014752711
4394127A672B43   ZACHARY             LANGE              CO         33016562706
4394198694123B   JACQUELINE          GUADAMUZ           PA         51073969869
43941A1974B271   JAVON               WAFFORD            NE         90014070197
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4394334585B174   WAYMON         THOMAS                 AR          90014713458
4394429695B174   MARIA          URBINA                 AR          90014262969
43944863A91873   SYLVIA         LOSANO                 OK          21015428630
4394661132B87B   STEVEN         FRANK                  ID          90009596113
4394664518B165   SHANNAN        HARRIS                 UT          90000166451
439472A3191549   CINDY          MORALES                TX          90006542031
4394793588B165   BAYLIE         SMITH                  UT          90006959358
4394919888B165   JENNIE         TAULA                  UT          90013711988
4394932A451383   YAZMINE        HARRIS                 OH          90011953204
4394948395B271   ANTINIO        GOMEZ                  KY          90014164839
4394B98872B26B   ROSENDO        TORRES                 VA          90008309887
4395182A691569   MARCO          GURRESRO               TX          90012838206
43953189872B43   MA DEL ROCIO   OCAMPO                 CO          90013081898
4395361477B66B   FRANKIE        WIGGINS                GA          15015746147
4395379355B52B   ENRIQUE        BOJORQUEZ              NM          36033367935
4395439568B186   RHEL           JARRAD                 UT          31055073956
439553A655B271   NICHOLAS       GENIALE                KY          68062803065
4395589215B53B   JENNFER        TORREZ                 NM          35061438921
4395625478B165   WHITNEY        NESBITT                UT          90014642547
4395689772B87B   EARL           PRICE                  ID          41013428977
4395784575B58B   IRIDIAN        CARRILLO               NM          90013778457
439585AA65B597   REYANN         MENDOZA                NM          90013125006
4395958955B222   LISDAY         BECERRA                KY          90006335895
4395992245B52B   DAVID          ARELLANES              NM          90009519224
4395B31865B58B   LIDIA          GARCIA                 NM          35015093186
4395B383291873   TAMECO         GAINS                  OK          90011033832
4395B425361963   ESTER          DE LOS SANTOS          CA          90014654253
4396256AA61967   ANTHONY        BROWN                  CA          90014915600
43962A2515B53B   FULISHA        ARMSTRONG              NM          90010310251
4396376475B53B   REBECCA        REYES                  NM          35034977647
439639A2691873   DANIKA         DAVIS                  OK          90011549026
43964A4655B523   DIANE          LUCERO                 NM          90013710465
43965665472B4B   JUAN           GARCIA                 CO          90004936654
4396583AA2B27B   CASSANDRA      RUE                    DC          90013958300
43965941876B59   OSVALDO        ARPIO                  CA          90011909418
4396622925B597   ZYLFI          AGUSHI                 NM          90012202292
4396648755B174   VERA           FRANKLIN               AR          23077054875
43967272972B43   MARISOL        RIVAS                  CO          90002832729
4396792182B27B   GWENDOLYN      MILLER                 DC          90009879218
4396815615B52B   SHANTELLE      TRUJILLO               NM          36063051561
43968762A8B165   WILLY          STOWELL                UT          31024437620
4396B1A7524B64   MONICA         RODRIGUEZ              DC          90012751075
4396B77388B16B   ALEX           MORENO                 UT          90012607738
4396B785184321   TJ             SOUTHERS               SC          90009177851
4396B989391873   CHRISTINE      BILLY                  OK          90010899893
4397124A14B271   EMELIA         RODRIGUEZ              NE          90014752401
43971491572B4B   RICHARD JR     COLEMAN                CO          33039064915
43971A3398B165   NICHOLE        CARLSON                UT          31066740339
4397321395597B   ERICKA         GOODWIN                CA          49034632139
439732A5491394   VERONICA       BERROA-CARRASCO        KS          90011502054
43974798372B43   FRANKLIN       SANDRA                 CO          90011367983
4397495565B58B   MARSHA         BROWN                  NM          90013459556
43974A3745B58B   MARSHA         BROWN                  NM          35068670374
4397668815B271   JELMER         VASQUEZ                KY          68054306881
4397719338B16B   MAKAYLA        ROLLINS                UT          90015231933
4397719642B27B   NADIA          JOHNSON                DC          90002181964
439771A825B53B   ROBERT         PROA                   NM          35037281082
4397725558B16B   BELKA          SERVICES               UT          90005812555
4397785715B58B   AARON          ROMERO                 NM          90013778571
43978A73A4B271   DONALD         JENNINGS               NE          27089410730
4397952165B271   BILLY          SEARS                  KY          90014165216
43979598A51334   RANDALL        GLARDON                OH          90012225980
4397B288891569   JORGE          IBANEZ                 TX          90000212888
4397B3A1561963   SHAWNN         PARKER                 CA          46072583015
4397B59A65B174   CLEDTRA        ALLEN                  AR          23053815906
4397B83365B271   RACHEL         COLEY                  KY          90010148336
439816A138B163   JOAN           WORTHINGTON            UT          90012346013
4398212125B271   MICHELLE       BEAMS                  KY          90009471212
43982335572B36   BRENT          BAILEY                 CO          90010863355
439831A775B597   ANA            ACOSTA                 NM          90014741077
43983377772B43   KENNETH        HARRISON               CO          90012813777
4398383335B222   JOESPH         JONES                  KY          90014768333
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439842A5591873   AMUNIQUE       COZART                 OK          90012562055
439849A835B597   DOMINIQUE      MARCUS                 NM          90009299083
43984A56371934   LISA           ABITIA                 CO          90002400563
4398532A191569   ALICIA         ANGELICA LEZA          TX          90010503201
439858A1361995   PEDRO          VENEGAS                CA          90003278013
439859A672B27B   JO             JO                     DC          90006429067
4398681473B32B   MANSOUR MIKE   MOHSENI                CO          90011698147
43986A13172B36   RICHARD        TAYLOR                 CO          33040780131
4398722A551383   KENNETH        MUNDY                  OH          66068272205
439877A2171999   DANA           BIGAM                  CO          90012537021
4398798845B388   BRUCE          DEFOREST               OR          44030599884
439881A114B271   GAIL           PETERS                 IA          90001161011
43989A2945B56B   IDALY          ARIAS-RIVERA           NM          90008110294
4398B346351334   DYASHA         DAVIS                  OH          90014173463
4398BA6125B52B   ANTONIO        DOMINGUEZ 3RD          NM          90009540612
4399133A54B271   TOMMIE         BLAN                   NE          90011253305
43991353A61963   JUAN           GARCIA                 CA          90012543530
4399135415597B   DUSTIN         BRADY                  CA          90010863541
43991A8115B174   ORETHA         BROWN                  AR          90014120811
4399224858B16B   REYNA          RIVAS                  UT          90007392485
43993415972B36   TIMOTHY        ROBINSON               CO          90003474159
43993A39591873   NANCY          CARBAJAL               OK          90013810395
43994884A72B36   CHRIS          MAZICH                 CO          33027658840
4399519995B271   VALERIE        BARLOW                 KY          90014171999
439953A3361963   JAIME          FLORES                 CA          46091253033
4399584225B174   JAMES          CRITTENDEN             AR          90009438422
4399592975B222   KARLA          GRIFFITH               KY          68039969297
4399662575B58B   THRESA         COY                    NM          90007176257
43996AA675B52B   SALMA          HUERTA                 NM          36001090067
439971A862B87B   SHEENA         FREEMAN                ID          90014551086
4399748192B87B   CAMEY          SMITH                  ID          90013744819
4399765A971999   MARY           MARTINEZ               CO          90012616509
439979A475B271   TINA           BRATCHER               KY          90009569047
43998123772B36   CANDACE        POLK                   CO          90014731237
4399855965B271   KATHY          ONEAL                  KY          90014165596
43998999372B36   SELINA         MARTINEZ               CO          90014849993
4399949195B222   AUSTIN         MCCLAINE               KY          90012154919
4399B258491873   JACKLYN        ALVEREZ                OK          90010952584
4399B34528B165   JESUS          UGAS                   UT          90009843452
4399B398A5B222   TRANG          LE                     KY          90013823980
4399B528272B43   ART            MARTINEZ               CO          33007725282
439B1413461963   WILLIAM JR     GLOVER                 CA          46050404134
439B1539233694   KIMBERELY      WARDLAW                NC          90009155392
439B182665B174   SHUNNA         TURNER                 AR          90009068266
439B34A1A7B698   CAROLING       MCCLINTON              GA          90008604010
439B4592677595   ALEX           GARCIA                 NV          43063945926
439B486265597B   MARCO          FLORES                 CA          90011508626
439B5453672B43   AMY            VANDERKOOY             CO          33000164536
439B5761171999   MICHELLE       BRADLEY                CO          38033867611
439B6868391873   TERRELL        MILLER                 OK          90013958683
439B6898851383   TIFFANY        MARTIN                 OH          90013478988
439B7162472B36   MARIA          BUSTAMANTE             CO          90009531624
439B8372691569   ERICKA         SALINAS                TX          75082253726
439B958282B87B   MARY           DANDREA                ID          90014825828
439B968348B165   CARLOS         CANAS                  UT          90013256834
439BB252861963   MIKE           C                      CA          90009152528
439BB527672B43   MABEL          CAMEZ ORTEGA           CO          90011505276
439BB58394B271   NICHOLAS       WALKER                 NE          90013685839
439BB78452B87B   LOGAN          YOUNG                  ID          41060727845
43B1148A793721   RITA M         SOMMER-NEVES           OH          90003744807
43B1218928B16B   EDWIN          SIMS                   UT          90012411892
43B12312791873   ADIL           MARTINEZ               OK          90012253127
43B12372A72452   THOMAS         ZIMMERMAN              PA          90014583720
43B1273535B222   MARSHAUN       WILLIAMS               KY          90014287353
43B12897777595   ROBERT         JOHNSON                NV          90002368977
43B12965272B4B   RAFAEL         GUTIERREZ              CO          33052499652
43B1329595B223   SHERRY         CARANTO                KY          90000912959
43B13332A3162B   ASHLEY         HUDLIN                 KS          90010733320
43B13AAAA77595   JOSEPH         MEDEIROS               NV          43077940000
43B142A265B523   JIMMY          MATA                   NM          90006772026
43B14462A55939   BRYESHIA       YOUNG                  CA          90015304620
43B1456665B155   LINDA          LUCKEY                 AR          90013735666
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43B1467414B271   JOSE                ADAME PUENTES     NE          27041756741
43B14A7945B222   ROY                 MANSFIELD         KY          90007660794
43B14AA115B174   JOSE                SIERRA            AR          90014900011
43B159A6591873   KIMBERLY            BATEMAN           OK          90013679065
43B15A46372B43   ROBERT              BURGOYNE          CO          90001030463
43B16137A4B271   LINDA               COTTON            IA          90011421370
43B16614571968   CHRIS               SANDOUAL          CO          32017496145
43B17447572B43   BRENDA              CLAY              CO          33070484475
43B175A785B174   KENDALL             SEWARD            AR          90012515078
43B17625471949   FRANCINE            GERNERT           CO          90004756254
43B17647A5B271   BRANDIE             WHEELER           KY          90014946470
43B18154151334   CHRISTINA           GODBEY            OH          90001121541
43B18166661967   RAY                 BROWN             CA          90009951666
43B1853175597B   MARIBEL             MELO-ROMERO       CA          90013055317
43B1994912B828   VICTOR              REYES             ID          90008069491
43B19968872B4B   ANGEL               YANEZ             CO          90012029688
43B19A5794B546   ELIZABETH           PHILLIPS          OK          90006260579
43B1B166774B97   FRANK               SEYMOUR           OH          90015111667
43B1B51625597B   RAMON               HERNANDEZ         CA          90011985162
43B1B58938B16B   GERARDO             CORTEZ            UT          90014815893
43B1BA17661963   SEULDIEU            PIERRE            CA          90008690176
43B2143485B58B   KEVIN               LINDSTROM         NM          90011034348
43B22718872B36   CRYSTAL             HOUSE             CO          33069647188
43B22A48372B39   AMBER               MARTINEZ          CO          33098500483
43B233A3171999   THERESE             RAMIREZ           CO          38092973031
43B23545472B4B   JULIE               BARNES            CO          33013585454
43B23554A55939   ALEISHA             DEYOUNG           CA          90007445540
43B237A6172B36   CRISTINA            ORTEGA            CO          33065797061
43B239A635B52B   VICTOR AND SYLVIA   RODRIGUEZ         NM          90005549063
43B23A37572B43   SANTACRUZ           MORALES           CO          33057210375
43B24698361963   CAMARA              DOUGLAS           CA          90010446983
43B246AA155939   HAITHM              SHAALAN           CA          90008966001
43B24831677595   MONICA P            CORDOVA           NV          90005388316
43B25197372B43   CHARLES             EDWARDS           CO          90007511973
43B2581865B52B   BRIAN               HERRERA           NM          90013578186
43B26748A8B165   JESSE               TEEPLES           UT          90014157480
43B2678A351383   KATRINA             HENRY             OH          90014007803
43B2683935B271   MARTIN              PEREZ             KY          68017158393
43B2759555B597   JOHN                ROMERO            NM          90013355955
43B27A75171934   JAN                 MONTOYA           CO          32067560751
43B28445851383   NICHELLE            FRAZIER           OH          90012874458
43B2872927B66B   AMANDA              STELMACK          GA          15011977292
43B28A26791873   PAUL                HERITAGE          OK          21064260267
43B2936A92B27B   LARRY               TEACHEY           DC          90010493609
43B2971565597B   PORCHEANA           WILLIAMS          CA          90010147156
43B2B277351334   ELDER               ALBETO            OH          90006382773
43B2B523391569   ALEJANDRA           ZEIJAS            TX          90008475233
43B3144815B271   KELLY               DALE              KY          90014094481
43B31915A91873   SHANICE             WILSON            OK          90014789150
43B34264172B4B   LINCOLN             CARR              CO          90010372641
43B34914571999   FRED                MARTINEZ          CO          90007179145
43B3522455B58B   LINNAE              WILLIS            NM          90015082245
43B35444733673   MONIQUE             HAIRSTON          NC          90013354447
43B354A268B165   GLADYSS             NUNEZ             UT          90012694026
43B35785672B43   JOHANNA             SIERRA            CO          90004027856
43B3597745B52B   ANTHONY             LARRANAGA         NM          90014729774
43B36279777595   ERIKA               SALDIVAR          NV          90008152797
43B36426A9127B   KENDERICK           ROLLINS           GA          90012334260
43B36635991569   KEVIN               STRINGHAM         TX          75089206359
43B36832872B36   LUIS                MUNGUIA           CO          33067658328
43B3749233163B   JEANNIE             LOPEZ             KS          90013484923
43B378A165B271   JAMIE BARMORE ND    JERRY MAGGARE     KY          90014638016
43B37923A55939   BRYANT              DEANE             CA          90013029230
43B3877335B222   ALICIA              CONTRERAS         KY          90014167733
43B3896525B53B   JAMES               DIXON             NM          35048809652
43B39192161925   EMILIA              ARREGUINO         CA          46060041921
43B39319172B4B   WALTER              PETERSON          CO          90012653191
43B3947915B52B   AMBRIEL             JARAMILLO         NM          90005324791
43B3983185B597   CATHLEEN            MONTOYA           NM          90012668318
43B39973861963   MARC                COTTOM            CA          90013109738
43B41174991873   PAYGO               IVR ACTIVATION    OK          90010461749
43B4178328B16B   JACOB               ARMFIELD          UT          90012327832
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43B42127371999   WADE         BROADHEAD                CO          38001101273
43B4315338B165   ALJEJANDRO   MOORE                    UT          90014881533
43B4362A85B58B   MARTIN       ESPARZA                  NM          35005396208
43B43885355939   CLAUDIA      HERNANDEZ                CA          90003528853
43B44227777595   SETH         RADHAWK                  NV          90012702277
43B4445378B165   MANDILYN     COLLINS                  UT          90008474537
43B44511291873   PEDRO        AMAYA                    OK          21004885112
43B44668855939   JANETTE      ETHERIDGE                CA          90010596688
43B45954672B43   BARBARA      PRINARI                  CO          33079899546
43B4693878B16B   ROXANN       FRANKLIN                 UT          90010679387
43B46982991569   CYNTHIA      RAMIREZ                  TX          90014339829
43B46A13951383   DAN          GRIGGS                   OH          90014420139
43B48247772B43   PAMELA       ANN ASANSBURN            CO          90008752477
43B48814155939   MARIA        GARCIA                   CA          90009868141
43B4887695B222   TONI         BUCKHOLZ                 KY          90013898769
43B492A165B53B   JOHN         REYES                    NM          35067972016
43B49399A55939   ROBERT       PEREZ                    CA          49094543990
43B4964885B597   MICHELLE     HINES                    NM          90008716488
43B496A495B58B   JONATHON     TOFOYA                   NM          90011176049
43B49921191569   ARTURO       ALDERETE                 TX          75087119211
43B4B243251383   WILLIAM      SHARP                    OH          90011882432
43B4B382577595   ROLANDO      REYES DELGADO            NV          90004013825
43B4B48515597B   CANDY        ROSSE                    CA          90001694851
43B4B525855939   AMBER        MADRIGAL                 CA          49098315258
43B4B579172B43   SANDRA       GUERRA                   CO          33085045791
43B4B5A585B271   MANCILLA     MARCOS                   KY          90014095058
43B4B85695B597   JORGE        DEVORA                   NM          90014958569
43B4B91498B186   BENJAMIN     OWEN                     UT          31008049149
43B4B91A12B27B   BRENDA       GOMEZ                    DC          90012329101
43B51A3145B53B   COLETTE      BLACKWELL                NM          90005200314
43B521A2272452   PAUL         SLUSAR                   PA          51004541022
43B5226A88B16B   BRYCE        GARDNER                  UT          90009922608
43B5258A577595   SERGIO       ALVARADO-MORALES         NV          90003115805
43B52697761967   JORGE        CABRIERA                 CA          90012136977
43B5292815B52B   ANGEL        LEE SMITH                NM          36084819281
43B52953651334   ELISHA       ADAMS                    OH          90012039536
43B52A7135597B   LYDIA        DIAZ                     CA          49096550713
43B53234172B43   STACY        MERELLI                  CO          33061572341
43B53447461963   ADELAIDE     BORDEAUX                 CA          46011794474
43B53973391394   NATHALI      RODRIGUEZ                KS          90006079733
43B5421284B23B   TRISHA       HABERMAN                 NE          90002012128
43B5425415597B   COURTNEY     LYNN BESS                CA          90006512541
43B54856171934   JESSICA      DIAZ                     CO          32004518561
43B5514788B16B   CHRISTOPHE   PARKIN                   UT          31001461478
43B55172391873   JUAN         OROZCO                   OK          90005891723
43B5563595597B   GABRIELA     SANTANA                  CA          90015306359
43B56357172452   LASZLO       VESZTERGOM               PA          51079033571
43B56364872B36   LAURA        CASTILLO                 CO          90010243648
43B565AA572B43   ANA          LOMU                     CO          90012245005
43B5687995B52B   DIANA        CHAVIRA                  NM          36006258799
43B56A2442B87B   ERIK         WALT                     ID          90011610244
43B571A595B523   JHONY        CHAVEZ                   NM          90006951059
43B57794651383   CODY         POWERS                   OH          90002157946
43B5823945B52B   SHIRLEY      SPENCER                  NM          90013952394
43B58273A5B174   LILLIE       TUCKER                   AR          23031052730
43B58A7875B52B   JORGE        LOPEZ                    NM          36050480787
43B59451A5B597   NATHAN       PECO                     NM          90011654510
43B59A89672B36   JOSEPH       GEORGE                   CO          90011990896
43B61271A61963   RAYMUNDO     LOPEZ                    CA          90014702710
43B614A1572B4B   SALICIA      BOOKER                   CO          90009384015
43B61573421981   BRANDI       FLOWERS                  IN          90015525734
43B6157465B53B   BRENDA       GRIEG                    NM          35004045746
43B61633191881   HARLAN       GRACE                    OK          90007686331
43B61A17472B4B   RODOLFO      HERNANDEZ                CO          90009020174
43B623A275B597   ANDREW       SANCHEZ                  NM          90008633027
43B626A145B222   TIMOTHY      JOHNSON                  KY          90015546014
43B62962277595   JESSE        BANKHEAD                 NV          43058119622
43B629A315B174   SHELLA       ATLAS                    AR          90011429031
43B62A37761967   ROBERT       BOLDEN                   CA          46041510377
43B62A71885877   SONYA        GAMINO GARCIA            CA          90003740718
43B6319375B222   TAYLOR       MILLER                   KY          90011281937
43B63243172B4B   TREVOR       FLINT                    CO          33031222431
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43B6422728B16B   BENJAMIN     GARCIA                   UT          90014052272
43B64554855939   FERNANDO     BOMBELA                  CA          49077655548
43B646AA161963   AURORA       LEE                      CA          46011796001
43B65511172452   BOBBY        STEWART                  PA          90014605111
43B6563555B271   NAKYA        CECIL                    KY          90012026355
43B6582A671934   ADERON       HELM                     CO          90001528206
43B66359471999   SARAH        JOHNSON                  CO          90012733594
43B66436791873   ALEXANDRA    HOLLAND                  OK          90009284367
43B6678582B27B   SHARDE       ALLEN                    DC          81070657858
43B6693445B174   KALESHA      SWIFT                    AR          90014599344
43B6798565B52B   ANNA         ROMERO                   NM          36004339856
43B68124691881   PHILIP       OKWUM                    OK          90003001246
43B68531A77595   DAVID        SALAZAR                  NV          90008075310
43B68A4235B597   JOESPH       ROMERO                   NM          90014640423
43B6912625B52B   SAMARA       SANCHEZ                  NM          90004431262
43B6915948B165   MICHAEL R    HEINER                   UT          90012181594
43B6964385B597   ROSEMARY     ATENCIO                  NM          90014076438
43B6B24485B271   YESICA       COSTILLO                 KY          90000162448
43B6B575772B36   ANNETTE      CANALES                  CO          33011765757
43B6B727271999   SAMUEL       CORREL                   CO          38064517272
43B6B82A391873   JOHN         JORDAN                   OK          90014838203
43B715AA272B4B   APRIL        MISTER                   CO          90014835002
43B71768557127   CARLOS       MEJIA                    VA          90011987685
43B7192178B16B   JESSICA      MOPNTOYA                 UT          90013639217
43B7246985B52B   MAGALI       HERNANDEZ                NM          90013954698
43B72718691569   ALONSO       ORTEGA                   TX          90013197186
43B7277A255939   HILDA        MUNGUIA                  CA          90005477702
43B7351A591873   DEVANTE      ZORSHEE                  OK          90014515105
43B74455472452   ROGER        FRANTZ                   PA          90013844554
43B74639147954   CLAUDIA      CASARES                  AR          90007296391
43B74723691873   SHALEENA     WILLIAMS                 OK          90013857236
43B7479365B174   JAMES        GILLESPIE                AR          23086017936
43B77371572B4B   ANDRE        MAURICE LYONS            CO          90008513715
43B77445791394   IRMA         SALDIVAR                 KS          29076724457
43B7819387B865   MARILYN      WOFFORD                   IL         90014201938
43B7883A191569   JOSE         DELACRUZ                 TX          75086998301
43B79321861967   JAZMIN       ACOSTA                   CA          46015993218
43B79451797957   MARIA        SANTELLANO               TX          90012154517
43B7951322B274   CHARLES      MUHAMMAD                 DC          90002305132
43B7B75614B271   MATTHEW      SAUB                     NE          90001717561
43B81134455939   KHAMSING     LOKEOMANIVONG            CA          90012051344
43B81772771999   RICHIE       SANCHEZ                  CO          90014237727
43B82143891569   DAVID        HUERTA                   TX          75065641438
43B8219585597B   AMANDA       RUTHERFORD               CA          90012901958
43B82375991394   JUAN         ORTIZ                    KS          90003243759
43B83571291873   NEHEMIAS     SOLOZORAR                OK          90008015712
43B836A115B58B   LORISA       PACHECO                  NM          90014826011
43B83815777595   SHAUNA       POURCHOT                 NV          90011038157
43B8463A672452   JASON        KELLY                    PA          90000446306
43B8485565B174   PAYGO        IVR ACTIVATION           AR          90015228556
43B85212261967   JOSE         RAFAEL                   CA          90009202122
43B8535775B597   ROSALBA      TORRESSOTO               NM          35096303577
43B85725154151   SHERREE      GALLION                  OR          90005597251
43B85A2665597B   SHANNON      SHARP                    CA          49069010266
43B85A94372452   HUNG         BUI                      PA          90009330943
43B864A2471999   ROBERT       CORDOVA                  CO          38087734024
43B86635891873   SHONNA       WHITE                    OK          90012286358
43B8697849189B   JESSICA      CLARK                    OK          90009659784
43B86A2AA5B53B   GLADIS       ARMENTA MEDINA           NM          90013570200
43B87451491569   ROGELIO      VERDUGA                  TX          90006194514
43B8765565B58B   JOSEPH       LANE                     NM          90014416556
43B87A79772B4B   BERNADETTE   LUEVANO                  CO          90012710797
43B8811165B523   VEGA         FIDENCIO                 NM          35060191116
43B88215191394   ALBERTO      ZUNIGA                   KS          29009092151
43B8843472B27B   DERRICK      FERGUSON                 DC          90001914347
43B88925272B43   SHAWNA       SUZYN                    CO          33029979252
43B8899725B271   JOSHUA       HEARN                    KY          68097899972
43B889A1A71999   SAMUEL       SALAZAR                  CO          90014339010
43B89492391523   JUAN         GONZALEZ                 TX          75056034923
43B896A6961967   JACKIE       REAVES                   CA          90010136069
43B8984565B597   IVETTE       ANO                      NM          90014168456
43B8985915B222   LINDSAY      BEAUMONT                 KY          90010278591
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43B8B333161967   ELENA           MORA                  CA          46015993331
43B8B39815597B   CHRISTOPHER     TAPIA                 CA          90011373981
43B8B523572B36   PAULETTA        MASCARENAZ            CO          33017525235
43B8B63375B58B   DIEGO           CASTILLO              NM          90011826337
43B8B6A772B27B   SHAWN           MOOTR                 DC          90015176077
43B8B8A8191324   AZUCENA         RORONZO               MO          90013938081
43B91743391873   SHELIA          LANE                  OK          90012377433
43B91947A91569   ELMER           CRUZ                  TX          90010599470
43B9237179152B   CHRISTIE        LOZANO                TX          75004993717
43B9279135B52B   LETTI           GARCIA                NM          90012797913
43B927A6672B43   RACHEL          ORTEGON               CO          33023967066
43B92A26791873   PAUL            HERITAGE              OK          21064260267
43B93338691569   OLGA            CANALES               TX          75074923386
43B9359215B271   QUINCY          SKILLION              KY          90014095921
43B9361212B87B   MELANNE         JOHNSON               ID          41081836121
43B9396825597B   ROSA            HERNANDEZ             CA          90012259682
43B9399A33163B   JEANNIE         AHRENS                KS          90009229903
43B9426252B27B   MARK            DAIS                  DC          81069942625
43B9464AA5B174   DOMINIQUE       WILLIAMS              AR          90012466400
43B94814251334   DUSTIN          TUCKER                OH          66038208142
43B94A54151383   REGINALD        LOVETTE               OH          90004190541
43B9569385B52B   ZANDRA KESLER   EDWARD JACOBE         NM          90013966938
43B9571285597B   KEVIN           WILLINGHAM            CA          49091637128
43B9573828B16B   AROMA           PAKISTANI             UT          90015107382
43B9636965B174   DAVID           STEWART               AR          90012883696
43B9655985B174   ANRAY           SCOTT                 AR          23006595598
43B96882672452   KEITH           DURST                 PA          90015128826
43B96AA2572B4B   HENRY           GONZALEZ              CO          90013600025
43B973A7151383   ISMAEL          JAUREZ                OH          90014883071
43B9745415B58B   BRAULIO         HERNANDEZ             NM          90014694541
43B9832295B597   RICHARD         MONTGOMERY            NM          90007253229
43B98326677595   MICHAEL         HOGGATT               NV          43082263266
43B9833215B222   CORNESHA        BARNETT               KY          90013783321
43B983A8521981   JAMES           SOLLEY                IN          90015553085
43B98997972462   LINDSEY         ESCARENO              PA          90010879979
43B98998772452   LAURA           CARNEY                PA          90011979987
43B9925325B58B   ALISA           GONZALEZS             NM          90013602532
43B99447993767   CIMARIA         JONES                 OH          90009834479
43B99761961963   MARK            NAVARRETTE            CA          46065947619
43B9B383A61967   NINA            KNOX                  CA          90012603830
43B9B624A5B523   SILVIANA        ZAPATA                NM          35017376240
43B9B9AA171999   ECHOE           ENDRESS               CO          90006159001
43BB1287391569   GILBERTO        ORTIZ                 TX          75084102873
43BB143A44B271   TEANNA          GORUM                 NE          27019674304
43BB195A35B174   DAVID           SMITH                 AR          90007259503
43BB1A34472B43   SAHBAA          IBRAHIM               CO          90015210344
43BB1A8A15B222   NATHAN          JACKSON               KY          68016680801
43BB2379A91569   SALVADOR        COLLAZO               TX          90008763790
43BB256528B16B   MISTY           AVILES                UT          31097785652
43BB267455B523   ROSE            SNOW                  NM          90008876745
43BB2911672B43   MANUEL          RIVAS                 CO          90004179116
43BB293A461963   JOSE            CASTRO                CA          90014989304
43BB2A78472B22   LIDIA           AMAYA                 CO          90004980784
43BB2AA8272B25   IRMA            NUNEZ                 CO          33097540082
43BB3721591569   ALEJANDRO       MALDONADO             TX          90002867215
43BB376695B271   LITITIA         WOODS                 KY          90014087669
43BB3848772452   LACY            MORRELL               PA          90008578487
43BB3898154155   ELIZABETH       HARDARDT              OR          90005108981
43BB392845B597   YOLANDA         PEREA                 NM          90006789284
43BB3A46A5B52B   ALEJANDRA       GONZALEZ RIVERA       NM          36014200460
43BB4482651383   DERRICK         HENDERSON             OH          90011774826
43BB4749A61963   LAURA           ZUNIGA                CA          46092897490
43BB49A2177595   CHARLES         PETERSON              NV          43061679021
43BB5381772488   LEO             SCHOBER               PA          51030613817
43BB5647A5B271   BRANDIE         WHEELER               KY          90014946470
43BB5834971999   ERON            SWALLOW               CO          90014238349
43BB5856A91569   SILVIA          LOPEZ                 NM          75095148560
43BB5A2328B16B   HUMBERTO        TORRES                UT          90013870232
43BB733975B55B   EVADINE         TENEQUER              NM          90002423397
43BB786A655939   REGGIE          UPSHAW                CA          90011518606
43BB818535B222   BALDEMAR        BAHENA                KY          90010861853
43BB8193391569   EVELYN          GONZALEZ              TX          90011951933
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43BB8389591569   DEMIAN         RIVERA                 TX          90012203895
43BB842337B66B   DONNA          TRIPP                  GA          15043284233
43BB8573272452   TODD           MOORE                  PA          90012595732
43BB9119672B36   JOSE           PAVON                  CO          90011471196
43BB912815B597   AVELINO        GIRON                  NM          90015261281
43BB962AA91873   KENDRA         UNDERWOOD              OK          90012856200
43BB9AA1555939   TISHA          BOST                   CA          49077650015
43BBB188891569   DAVID          ACOSTA                 TX          75033321888
43BBB43439152B   ROSARIO        REYNOSO                TX          90011344343
43BBB644A5B597   ARLENE         DEHERRERA              NM          90012816440
43BBB942591873   SONYA          BOWENS                 OK          90014899425
4411124555B271   NOAH           PERKINS                KY          90011592455
44113949A5B222   KENNETH        RECKTENWALD            KY          90009209490
4411416592B87B   DEEDEE         CROSBY-SMITH           ID          41086191659
4411461615B58B   CHRIS          BROWN                  NM          35017876161
44114629872B98   JEFFREY        CONKLIN                CO          90014406298
4411542A32B87B   LEIF           ERICKSON               ID          90013644203
4411574575B52B   BLOEDEL        RONALD                 NM          36054207457
4411638115B271   ROSIE          BLANSETT               KY          68089983811
4411697534B271   ZACHARY        METZ                   NE          90013319753
4411727845B271   CINDY          ROLLER                 KY          90000822784
4411773A851334   TISHA          BATTLE                 OH          66058417308
44117885A5B53B   JENNIFER       LOPEZ                  NM          35052438850
4411869A372B36   MARLA          WRIGHT                 CO          90014236903
4411888967B422   ALICIA         NAVARRO                NC          90006528896
4411895412B87B   VICTORIA       REED                   ID          90014669541
44119134172B36   GRIMILDA       ENRIQUEZ               CO          33029881341
4411B12112B87B   ABBY           LARSON                 ID          41028381211
4411B183671999   NANETTE        MONTANO                CO          90008741836
4411B869551334   MARIO          ARREAGA                OH          90008438695
4411B99932B27B   EBONI          WHEELER                DC          90012289993
44121A6185B58B   CHRISTOPHE     PEREA                  NM          35072780618
44123112772B36   AMBER          MUNSON                 CO          33012871127
4412325A55B222   DOUGLAS        GRIFFIN                KY          90010722505
44123A93A5B58B   MARK           EISENBEIS              NM          90010250930
44124263A55939   ARIANA         CLAYTON                CA          90011262630
4412449828B16B   CORY           RIGGS                  UT          31001814982
44124A5795B52B   LONNIE         VALDEZ                 NM          90012690579
44125747172B43   CARMEN         HERNANDEZ              CO          33012077471
4412598255B52B   KARINA         GALLARDO               NM          36029889825
4412665365597B   CINDY          GUERRERO               CA          90011046536
44127443172B43   JOHNNY         GOMEZ                  CO          90010794431
44127811372B36   BEATRIZ        GONZALEZ               CO          33042918113
4412829A791351   JOSE           BECERRA-ROMERO         MO          90014742907
44129341172B36   BRIANNA        QUINTANA               CO          90014143411
4412B11764B271   REYES          HERNANDEZ              NE          27058251176
4412B322A5B222   CYNTHIA        YATES                  KY          90014833220
441313AA25B597   ANGELIC        JARAMILLO              NM          90005793002
4413172182B27B   DON            COTTEN                 DC          90007497218
4413185335B271   AMANDA         DRUMMOND               KY          90014438533
441324A3455939   SATURINO       MARTINEZ               CA          90013354034
44133A2155B53B   ROBERT         HAMMOND                NM          90014730215
44134234A2B87B   STUART         TINA                   ID          41043222340
4413467565B174   BREHANA        NOID                   AR          90014856756
44134A3165597B   ROBERTO        MONTIEL                CA          90014190316
4413736485B597   JOANNA         SALCIDO                NM          90004413648
44137374372B36   FRANK          REYES                  CO          33059153743
4413744945B271   SAW HTUN BWA   TUN                    KY          90013554494
44137A53291569   DESTINEE       LEGARDA                TX          90012040532
4413924495B271   JULIE          GARRITY                KY          90014902449
4413947215B52B   ANDREA         MATA                   NM          36025094721
44139794A71999   MICHAEL        SALAZAR                CO          38048667940
44139A3248B16B   JASON          HOWARD                 UT          90008500324
44139A7515597B   VANESSA        CALDERA                CA          90002540751
4413B257261967   JOSE           BAHENA                 CA          46038852572
4413B74482B27B   DOROTHY        TUCKER                 DC          90001087448
44141132272B36   ANTONIO        FLORES                 CO          90010191322
4414139673B125   BRYAN          MATTHEWS               DC          90000823967
4414184A272B4B   MARIA          CASILLAS MENDAREZ      CO          90003378402
4414211A172443   CAROL          SANDERS                PA          51089941101
4414252535B53B   THERESA        SANCHEZ                NM          90010565253
4414337865B58B   BERNADATTE     GARCIA                 NM          90009323786
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4414382742B87B   KAMELLA       BERRY                   ID          41005728274
4414393A65597B   ANGELA        HERNANDEZ               CA          90013099306
4414453915B597   ANDRE         WILLIAMS                NM          90011825391
4414465295B174   VALANDRA      JACKSON                 AR          90005366529
44146414A91873   ROY           SHEPPARD                OK          90008284140
4414763265597B   CHRISTINE     MAZA                    CA          90009866326
4414824715B597   JODY          BACA                    NM          90008422471
441483AA351334   CHERYL        LACHMANN                OH          66011393003
44148A11193765   ED            ALKHATEEB               OH          64527940111
4414931445B58B   BERTHA        PAVON                   NM          90012823144
4414962442B87B   TAKI          AHHEE                   ID          90015126244
4414971A191523   SANDRA        MACIAS                  TX          75096207101
44149A7445B53B   ALBERTO       ALANIZ                  NM          35078070744
4414BAA4291873   CESAR         SANCHEZ                 OK          90002850042
44151698772B36   JOSHUA        DIXON                   CO          90000816987
4415196714B271   GUILLERMO     GONZALEZ                NE          90013459671
4415247935B271   LESLIE        BIRD                    KY          68026644793
44152595A5B555   JEREMY        PEREA                   NM          90003535950
4415285235B52B   DINAH         TURRIETTA               NM          90006378523
4415318A591873   PAULA         TODD                    OK          90003671805
441533A6647954   CASEY         MOORE                   AR          90006193066
4415347215B52B   ANDREA        MATA                    NM          36025094721
44153622A5B222   JENNIFER R    LUOMA                   KY          68009356220
44153789A51382   E             BUBBLE                  OH          90008627890
44153797672B36   JAMIE         GUADIAN                 CO          90011437976
44153A41971999   SHERRY        WILLIAMS                CO          38077880419
44154756A5B271   MARGARET      LACHALMELLE             KY          90005687560
4415527A491873   JOSEPH        PEYTON                  OK          21055952704
44155A8A272443   ISIS          LOVETT                  PA          90008930802
4415676225B58B   ROSALYN       SANCHEZ                 NM          90002767622
44156A8735B271   CHRISTOPHER   NYBERG                  KY          90014770873
44157866A5597B   TREVOR        MOSS                    CA          90014068660
44157A29555939   ELEVIER       FERNANDEZ               CA          90008770295
441582A938B16B   SOLEMA        SAUILONE                UT          90011132093
441589A2177522   CRYSTAL       EBNER                   NV          90011749021
441589A2A3B234   LETICIA       JIMENEZ                 DE          90015509020
44158A86677535   RAUL          NUNO                    NV          90008890866
44158AA925B597   OSCAR         ROJO                    NM          90011820092
441596A615B53B   DANIELLE      RODRIGUEZ               NM          35080386061
4415B48A82566B   JAQUAVIUS     ELLIOT                  AL          90010424808
4415B713971999   RUDOLPH       CRUZ                    CO          38088437139
44161643A61963   ROMEO         VALERANO                CA          90011106430
4416192415B58B   SUSIE         MAEZ                    NM          35015359241
4416239588B166   MANDY         RAYMOND                 UT          90010733958
44162A3715B222   GUSTAVO       REYES                   KY          90010980371
4416327245B58B   CASIMIRA      ZARRASOLA               NM          90014422724
4416461965B174   JAMES         ANDERSON                AR          90010976196
4416496815B52B   ANTONIO       GUTIERREZ               NM          90014889681
44164A54472B36   DEBORAH       RIDLEY                  CO          90013070544
44164A6AA5597B   FRANCES       MARTINEZ                CA          49064270600
441659A2A5B271   RAYMOUNT      HARBIN                  KY          90008739020
4416638465B52B   FERNANDO      OLIVAS                  NM          90014893846
4416649855B222   BETH          WRIGHTDOWD              KY          90014514985
441664A3947954   JASON         MEA                     AR          90014704039
4416725685597B   IRMA          CERVANTES               CA          90009902568
4416734714B539   MITZI         MOORE                   OK          21566843471
4416736745B52B   MICHELLE      JACQUEZ                 NM          90014153674
44167442A61967   LUIS          MONTANTES ORTIZ         CA          90012764420
4416755685B271   STEPHANIE     BRANDON                 KY          90012735568
44167A11691523   ABRAHAM       SANCHEZ                 TX          90011950116
4416866845B279   KEVIN         BURT                    KY          90014866684
441694A7347954   CHRISTOPHE    EPPERSON                AR          25080434073
44169837A72B36   ABEYTA        AMANDA                  CO          90011058370
4417141775B52B   CRYSTAL       MARTINEZ                NM          90013834177
4417182455B53B   LUIS          GARCIA                  NM          90015108245
4417197495597B   HERIBERTO     GARCIA                  CA          90005399749
4417268315B271   TONETTE       ATKINS                  KY          68096366831
44173A52A5B52B   ESTEBAN       MAX                     NM          36094280520
4417496262B27B   WILLIE        JACKSON                 DC          90008739626
44174A25591351   ISMAEL        PINA                    KS          90015430255
44174A7615B53B   JASON         VIGIL                   NM          35064890761
44176165672B4B   DANIEL        SISSOM                  CO          90004561656
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44176319A61967   GARY                 LANE                CA       46084843190
4417681425B53B   ELIZABETH            GANDARA             NM       35065728142
44176835972B43   MAGDALENA            ALVARADO            CO       90011638359
4417753A655939   ROBERT               ABINA               CA       90013065306
44178291A71934   KRISTINA             CHAVARIA            CO       90011842910
4417913859127B   SANDRA               EARLY               GA       90001611385
44179826A5B58B   FRANCISCO            CORDOVA             NM       35008928260
4417995545B271   MITSUI               LOPEZ ESAU          KY       90008739554
4417B379A72443   ELZIE                ALLTON              PA       90014013790
4417B48425B53B   FRANCISCO            HERNANDEZ ORTIZ     NM       90013494842
4418172144B271   SKYLER               MCMORRIS            NE       90015297214
4418221152B27B   CHARLENE             BANKS               DC       90013302115
44183492172B43   DONALD               DRAKE               CO       33032254921
4418387A272443   SHARON               THOMAS              PA       90014028702
441838A8791351   JEREMIAS             TOLEN               KS       90014528087
44184135772B4B   NAU                  RAMIREZ             CO       33099071357
4418489465B52B   ENRIQUE              SARMIENTO           NM       36017528946
44184A44291351   ALEX                 ENRIQUEZ            KS       90000910442
4418544295B222   MICHAEL              HOLT                KY       90005944429
4418554554B271   KATHLEEN             BURNS               NE       27037415455
44186A18691873   KRYSTAL              DEVORE              OK       90008980186
4418873722B87B   TIM                  MITCHELL            ID       41090637372
4418885589152B   MAY                  BOLDEN              TX       90006258558
4418933625B271   JULIA                LEVESQUE            KY       90011593362
4418953A18B16B   PATIENT              BIZIYANDEM          UT       90014435301
44189698772B36   JOSHUA               DIXON               CO       90000816987
4418B864261967   ARACELI              PORRAS              CA       90011798642
4418B978691523   RAYMOND              HOLGUIN             TX       90011579786
441911A3372B4B   MARIA                VICTORIA            CO       33092181033
4419143255B597   JESUS                AMERNDIARIZ         NM       35094294325
4419222758B165   BRYAN                CHRISTIANSEN        UT       31040972275
4419235325B52B   IVER                 BURKE               NM       90012813532
4419267855B58B   MONICA               ATKINSON            NM       35009636785
44192A49A55939   JAIME                GUEVARA             CA       90015220490
4419311845B58B   ASHERAH              LUCAS               NM       35030281184
4419353A95B271   CHRISTINA            MARTINEK            KY       90013885309
44193A27991873   NOVIS                CULLOM              OK       90010940279
44194423672B4B   CHRIS                BEZILE              CO       90013044236
44194939A51334   DAVID                REED                OH       66001519390
4419595A872443   WILLIAM              NICKLO              PA       90014649508
44195A9965B58B   KATHRYN              JOHNSON             NM       35096030996
44196221372B36   CONNIE               REBOLLAR            CO       90013812213
441964A6561963   JOSEPH               FALKNER             CA       90008914065
4419663135B58B   JEHAN MOHD MUSTAFA   SARRAR              NM       90013696313
4419678335597B   SE                   VANG                CA       49012297833
4419774662B27B   DANTE                FOREMAN             DC       81079137466
441978A6747954   RAFAEL               DUEÑAS              AR       25016078067
4419859AA61967   TANAN                BRYANT              CA       90009175900
441994AA476B27   SUMMER               CAMPBELL            CA       90011184004
4419953295B58B   MARIA                VALDEZ              NM       90011605329
4419B433241454   JENIFER              KING                WI       90015374332
4419B437847954   JUAN                 GARCIA              AR       25011944378
4419B72458B16B   HECTOR               GONZALEZ            UT       90011917245
441B141A85B174   DEVANA               DOBSON              AR       23002894108
441B1516591569   JOSE                 VARGAS              TX       90009405165
441B1781A8B16B   KENDRA               ESCH                UT       90008777810
441B1981972B4B   RAFAEL               SANCHEZ-FERNANDEZ   CO       90001099819
441B198285597B   ANGELINA             SOTO                CA       49018699828
441B217292B879   BILLIE               HENSLEY             ID       90011641729
441B24A5A5B52B   PAYGO                IVR ACTIVATION      NM       90011474050
441B31A768B165   ALYSSA               RICKS               UT       90006811076
441B3469661963   HARVEY               NIXON               CA       90013744696
441B3675572B4B   KRISTI               EDWARDS             CO       90000926755
441B3987391351   ANDREW               STEWART             KS       90005749873
441B4697771999   DESIREE              MORALES             CO       38048756977
441B471747B467   MARIO                AGUILAR             NC       90012567174
441B4A5134B271   MATTHEW              CITTA               NE       27054870513
441B547A772B43   ASHLEY               PEABODY             CO       33002024707
441B5A3355B58B   TUNICE               GREEN               NM       90007780335
441B5A41551334   CHARLES              COMBS               OH       90013930415
441B6276991873   JIM                  SIMMONS             OK       90009252769
441B6384851334   MICHELE              HODGE               OH       90014783848
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441B667A65B52B   RUTH        OROZCO                    NM          90014366706
441B7712851334   JOSHUA      GRACE                     OH          90013517128
441B77A385B222   KAYLA       CONOVER                   KY          90010207038
441B782165B597   PABLOJR     CHAVIRA                   NM          90011818216
441B797569127B   BILLY       BATEMAN                   GA          14584079756
441B859A471921   JONATHAN    KREIDER                   CO          90012185904
441B8A29947954   VERONICA    SILVIANO                  AR          90013750299
441B9176261967   JOEL        CAMACENA                  CA          90006771762
441B9475572443   KELLY       HOLT                      PA          51001084755
441B997522B27B   LAKAHN      DOHERTY                   VA          90014799752
441BB191151334   DAVID       HURT                      OH          66098061911
441BB233291523   SERGIO      VILLALVA                  TX          90005912332
441BB3A792B27B   CHAMISHA    STROM                     DC          90008513079
441BB511541241   DIONNA      AUSTON                    PA          90012145115
441BB84465B271   MICHEAL     NORMAND                   KY          90012688446
441BBA6AA72B36   STEPHANIE   CONTRURAS                 CO          90008360600
44211588A91351   MIRNA       MORATAYA                  KS          90015315880
442115AA65B53B   MANUELA     GUTIERREZ                 NM          90013765006
44211659172B36   VALENCIA    MARTINN                   CO          33091596591
44212119A72443   ANGELA      KUSKO                     PA          90014621190
4421218A48B165   MEAGGIE     OLEARAIN                  UT          31053761804
4421334A491524   MARTHA      GALAN                     TX          90009193404
4421339A455939   JESUS       GARCIA                    CA          90007693904
4421436332B27B   DAVID       GILL                      DC          90012573633
4421537362B87B   CANDICE     PATTERSON                 ID          41056343736
442154A665B58B   JAIME       LOYA                      NM          35091534066
4421593A347954   LILIANA     ALDACO                    AR          25084419303
4421644582B921   CHACHY      DELGADO                   CA          90001734458
4421693A347954   LILIANA     ALDACO                    AR          25084419303
44216962172B36   ERIKA       CARRILLO                  CO          90011549621
4421725335B58B   JOSE        ORDONEZ                   NM          90011902533
44217456672B43   CODY        STEFFENS                  CO          90001534566
4421B9A568B16B   MIGUEL      CARMONA                   UT          90011059056
4422157615B222   ANGEL       STOVALL                   KY          68035695761
4422211644B271   SAUL        VALLE                     NE          90012601164
4422244428B163   MIKEHALL    ANNIEHALL                 UT          90012964442
4422252615B52B   KERRY       MITCHELL                  NM          90014485261
4422277425B222   SHIRLEY     MCCARTY                   KY          90011517742
44222996172B4B   DORA        ROMERO-ESTRELLA           CO          33083659961
4422343555B58B   GREG        HAMMOND                   NM          90014174355
4422346635B523   DESARAE     CASTILLO                  NM          90013564663
44223743A2B828   JUAN        MAGANA                    ID          42007437430
44223957172B4B   OLGA        MONTANER                  CO          33027059571
4422484778B16B   VERON       DEAN                      UT          90012498477
4422533A38B16B   GAVIN       JONES                     UT          90013833303
44225372572B36   MIKE        ENDERS                    CO          33092323725
4422541785B52B   CAROL       VALENCIA                  NM          90010974178
4422563895B222   JAMES       SEAY                      KY          90008486389
44226162272B4B   REBECCA     TRINIDAD                  CO          90013171622
44226942372B4B   STEVEN      HERNANDEZ                 CO          90011369423
4422717595B155   JORDAN      HAAS                      AR          23017221759
44227489372B43   HUMBERTO    VEGA                      CO          90015274893
4422825A88B16B   VICTOR      FONSECA                   UT          90014702508
4422843665B373   MICHAEL     RODRIGUEZ                 OR          44510984366
4422876485B53B   ALAIN       MISIARA                   NM          90013197648
44228A3144B271   CINDY       KRAFKA                    NE          27030550314
44228A88471934   KEN         GODFREY                   CO          32033550884
4422933935B58B   PRISCILLA   VALDEZ                    NM          35070673393
4422B214847954   JESSE       MURO                      AR          90014762148
4422B21A472B4B   BEAU        FILLS PIPE                CO          90015172104
4422B67178B165   KATHY       COFFMAN                   UT          31096286717
4422B921A71999   JASON       RAMCKE                    CO          90002009210
4422B992161967   HEIDI       MIRELES                   CA          46066099921
44232121972B36   FLORY       CASCANTE                  CO          33094511219
44233538472B36   ANTONIO     GOMEZ                     CO          90006505384
44233913A5B52B   EDWARD      BRITT                     NM          90012819130
44233A6185B271   JESSICA     RATLIFF                   KY          68086120618
4423451815B52B   CRISTIAN    RAMOS-LINARES             NM          90014845181
44235316376B5B   GRISELDA    HERNANDEZ                 CA          90006343163
44235369A91569   JANET       GARCIA                    TX          90005563690
44235723A2B27B   RAINA       HARRIS                    DC          81080637230
4423584982B87B   JOSH        SMALLEY                   ID          90006528498
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4423632225B58B   DEBRA        WALKER                   NM          90015123222
44236675A91523   EVA          GUAJARDO                 TX          90009936750
4423789182B87B   JORDAN       KRUPP                    ID          90001408918
4423813492B27B   SHIRLEY      JONES                    VA          81075551349
44238257A5B53B   KENNETH      MARTINEZ                 NM          90010942570
4423833254B271   ROXANNE      PANISKA                  IA          90015293325
44238A71372B23   SHAQUATTA    LEWIS                    CO          90012580713
442391A5761967   DEMETRIO     EUGENIO NAVA             CA          90011801057
4423922758B165   BRYAN        CHRISTIANSEN             UT          31040972275
4423987345B222   REYNERIO     FROMETA                  KY          90012508734
44239987272B4B   RISHELLE     HALBERT                  CO          90012639872
4423B122861963   TYLER        OLUPITAN                 CA          90013181228
4423B527384336   AMEERAH      ANTHONY                  SC          90001075273
4423B54855B222   MARTHA       SILVA                    KY          68073155485
4423B865655939   KATHY        RICHARDSON               CA          49090518656
4423BA44172B36   CODY         OCHIUZZO                 CO          90012170441
442413A5791569   MAURISIO     VENEGAS                  TX          90013353057
4424146815B597   STEVE        GOMEZ                    NM          35052684681
4424185172B27B   MAURESE      MACKEY                   DC          90014988517
44241A13891873   JOHNA        FLETCHER                 OK          90014380138
4424299455597B   GRACIE       BARAJAS                  CA          49059239945
44243A83547954   DARIO        GARCIA                   AR          90014790835
44244A4595B597   ROSALVA      BUSTILLOS                NM          90002280459
442456A7351334   RONALD       WILLIAMS                 OH          66031026073
44246215172B43   CESAR        TORRES                   CO          33074632151
4424648545B174   HOPE         ASO                      AR          90010204854
44246AA292B87B   SHARON       MURRAY                   ID          90013140029
4424771A572B4B   CODY         COX                      CO          90013717105
4424784778B16B   VERON        DEAN                     UT          90012498477
4424789765B271   TRAE         THOMPSON                 KY          90008638976
4424875544B271   ILONDA       HULETT                   NE          90005467554
4424879A291351   LEWIS        HOLDEN                   KS          29005697902
44249632972B36   BIANCA       ROMERO                   CO          90009146329
4424B395851334   STACEY       BALDWIN                  OH          66058103958
4424B455791523   RAFA         RODRIGUEZ                TX          90008874557
4424B51A45B174   TOSHA        HALL                     AR          23034335104
4424B987591351   FLOR         LOPEZ                    KS          29059849875
4424BA39491569   JAMES        SHANKS                   TX          90012280394
4425141735597B   JESSICA      VILLAGOMEZ               CA          90014024173
44252168576B64   ROLANDO      MATEO PEDRO              CA          90014861685
4425227A355939   ROSANNA      LINDA GARZA              CA          90003972703
44252933872B4B   ISAIAH       CARTER                   CO          90012139338
4425299622B87B   RHONDA       PREVITI                  ID          41092519962
4425353825B52B   LAURA        RODRIGUEZ                NM          90014845382
4425396345B58B   MIRANDA      TORRES                   NM          90013279634
442546A4591351   JASON        ESTEP                    KS          90011186045
4425485A37B63B   MIGUEL       VAZQUEZ                  GA          90013548503
44255528172B4B   CRYSTAL      VALDEZ                   CO          33003475281
4425576812B27B   TORRIEN      PLIGHT                   DC          90009737681
4425589578B124   DARREN       DIALS                    UT          90013758957
4425627AA8B16B   TIRHAS       HADISH                   UT          90014992700
4425675125B52B   GABRIEL      GALDAMEZ                 NM          90014577512
44256A4235597B   BENJAMIN     NICOLAS                  CA          90015190423
44257297272B43   TAMERA       JORDAN                   CO          90013202972
4425733A461963   FERNANDO     ARELLANO                 CA          90014003304
4425797A247954   BRANDY       HOGAN                    AR          90014869702
44257A92A5B58B   FERNANDO     RANGEL                   NM          90000700920
44258A59171934   DANIEL       BRUNOW                   CO          90011690591
4425936975597B   SARAH        PHILLIPS                 CA          90010973697
4425938A991351   DIDIER       HERRERA                  KS          90011313809
4425B265355939   DAHNASHA     LAVENDER                 CA          90007412653
4425B69842B87B   KATHLEEN     KELLY                    ID          90005006984
4425B831584332   ALEXIS       FISH                     CO          90008328315
4425B97545597B   KENNETH      BAILEY                   CA          90013709754
44261989172B36   DETRICIA     GILLESPIE                CO          33073649891
4426245495597B   MYTH LEEAN   MABRY                    CA          90001724549
44262547272B36   REBECCA      ZAMORA                   CO          33091415472
4426317915B271   LINDA        ORTIZ                    KY          68046001791
442633A8271934   JUDINE       SMALL                    CO          90012903082
4426371A591569   MARIA        QUINTERO                 TX          90014067105
4426436715B271   ANA          ABREGO                   KY          90003073671
4426517615597B   LUCIANO      RODRIGUEZ                CA          90012161761
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4426524965B58B   HARRIS       MEJIA                    NM          90014992496
44265586A5B52B   TABATHA      LOVATO                   NM          90014665860
44265869A71934   REINIER      BARCO                    CO          90012568690
44265A32A5B53B   KATRINO      FLORES                   NM          35028390320
4426642A75B222   VICKIE       HENDREN                  KY          68076864207
442664A5447954   MORENA       BARRIENTOS               AR          25081184054
4426663825B174   DEVON        HATCHETT                 AR          90009416382
44266A2835B271   TERRANCE     HOLT                     KY          90009110283
44266A8A872B43   MICHAEL      VERAN                    CO          90009280808
4426826184B582   RAENETTA     HAYWOOD                  OK          90008202618
4426837A491351   JOSE         RAMIREZ                  KS          90011443704
44268A57172B4B   JON          REDDELL                  CO          33090570571
4426986445B58B   GREGORY      BECK                     NM          90014908644
4426B899471999   THOMAS       HAVENS                   CO          90005418994
4427153115B271   CARRIE       RANDALL                  KY          90014155311
44272126772B43   LUIS         OSCANOA                  CO          90011091267
4427235284B271   SHAUNTELL    GAINES                   NE          27060303528
4427291712566B   MARCUS       HAYGOOD                  AL          90014629171
4427294772B87B   DEANN        DIXON                    ID          41091219477
44272AA955B52B   GABRIEL      GARCIA                   NM          36064340095
44274895772B36   EVER         ANALIS                   CO          90010498957
4427492794B271   CRYSTAL      CHAVEZ                   NE          90012389279
4427567A447954   JUAN         AYALA                    AR          90010746704
44275A87961967   SAMIR        CRUSH                    CA          90013010879
4427688A25B52B   CHANTELL     TENORIO                  NM          90014038802
4427745945B58B   PHILLIP      NORIEGA                  NM          90011954594
44277675A2B87B   NATASHA      BAUMGARTNER              ID          90006786750
4427771855B53B   SAMUEL       ALVARADO                 NM          90014707185
4427796A472B43   ANDRE        CHEKAN                   CO          33008379604
44277A93591873   OLGA         PEREZ                    OK          90014070935
44278431A2B87B   JACQUELINE   MORIMOTO                 ID          90013264310
44278977472B43   ANDREW       MUSGRAVE                 CO          33056579774
4427899A85B58B   MAGALY       TORRES                   NM          35050499908
4427981535B222   GABRIELLE    BROWN WEIGER             KY          90014328153
44279932272B4B   CARLOS       HERNANDEZ                CO          90012349322
44279A55772443   GARRET       DALEY                    PA          90010150557
4427B25AA61967   JULIAN       ALMANZA                  CA          90011802500
4427B768755939   FRANCISCO    MUNOZ                    CA          90012157687
4427BA64347954   NOELY        MORALES                  AR          90012790643
4428122315B222   KIMBERLY     HEITZMAN                 KY          68035032231
4428143988B16B   ANDREA       HERNANDEZ                UT          90011404398
442817AA15B52B   MARIO        MONNET                   NM          36071517001
4428242863B353   JORDAN       LYLES                    CO          33069754286
44282867A91222   HENRY        COBB                     GA          90003918670
4428331525597B   CUAHUTEMOC   HUERTA                   CA          49055343152
4428379438B16B   ROBERT       HUTTON                   UT          31094687943
44283A65872B36   SOCORRO      DETREJO                  CO          33074380658
4428469135B53B   MATTEW       GARCIA                   NM          90011906913
44284A3A55B271   TROY         NEARN                    KY          90002250305
442855A5991523   DAISY        DUARTE                   TX          75055555059
44286278372B36   RICK         ENGLE                    CO          90009522783
44286846A5B58B   IRMA         BARRAZA                  NM          35073588460
44286A2555B174   LAKESHA      ROBINSON                 AR          90012390255
442877A992B87B   DEBORAH      TOSH                     ID          41071167099
442885A7972B43   AMANDA       LOPEZ                    CO          90000485079
44288755372B4B   DESIREE      HONEKER-ROLLISON         CO          90010357553
44289342A72443   VICTORIA     PLETCHER                 PA          51079283420
44289825372B36   WARC         WALKER                   CO          90008668253
4428B169271992   MITCHELL     DELGADO                  CO          90001871692
4428B272272B36   JOVANI       TORRES                   CO          90014992722
4428B33855597B   STEPHANIE    BROWN                    CA          90002273385
4428B54662B27B   GERRI        CHERRY                   DC          90007065466
4428B75965B52B   ANTONIA      KHALSA                   NM          90009077596
4429124416195B   CHARMAGNE    JONES                    CA          46065602441
4429143415B222   DOMINIQUE    TIDWELL                  KY          90014644341
44292614A5B174   LAPORSHA     BURNETT                  AR          90014416140
442926A1291351   ALI          PARKER                   KS          90005576012
4429296955B58B   MARIA        RESENDIZ                 NM          90010599695
44292A66891873   RAMZAN       DAWOOD                   OK          90014270668
442937A4A91873   BEVERLY      LEGRIS                   OK          21045397040
44293A19655939   SANDRA       BICKEL                   CA          90001100196
44293A63247954   FRANK        KING                     AR          25096850632
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4429456628B16B   LUCY           DALEY                  UT          90014505662
44294585691B55   FREDI          GARCIA                 NC          90015395856
4429487212B87B   JULIO          MARTIN                 ID          90011368721
4429556A64B531   HALEY          MOORE                  OK          90012725606
44295736A5B597   ANDY           WALDER                 NM          35071607360
4429593515B271   GWANDA         CHILDRESS              KY          90005029351
44295A4128B16B   CATHY          TOWNSEND               UT          90006740412
442969A365597B   JOHN           MANDURRAGO             CA          49032249036
442973AA25B174   SONDRA         ELLIS                  AR          90014763002
4429741545B53B   DENNIS         BLOCK                  NM          90014044154
4429763595B52B   GEOVANNI       RODRIGUEZ              NM          90013846359
4429776435B526   LEAH           DEMAR                  NM          90014537643
442977A3861963   MAGDALENA      PAREDES                CA          46094107038
44299AA164B271   JUSTIN         GILINSKY               NE          27043000016
4429B166991569   JOSE           GOMEZ                  TX          90010671669
4429B856561967   SHAWN          COATS                  CA          90006408565
442B1573A4B928   BOBBIE         RUFFIN                 TX          90001595730
442B245212B87B   AMY            MULVANEY               ID          41065824521
442B2636272B36   ABIGAIL        ALVARES                CO          90014666362
442B327A57B426   GINO           DUDLEY                 NC          11082592705
442B3A4955597B   CHRIS          AGUIRRE                CA          90012270495
442B415539152B   LILIANA        MELENDEZ               TX          75099401553
442B4226961963   CLAUDIA        REYNOSO                CA          46028502269
442B4382A72443   PAUL           KOFFLER                PA          90014573820
442B4426A33625   SONYA          ROUSE                  NC          90002904260
442B469929152B   LILIANA        MELENDEZ               TX          90012736992
442B4771872B36   EVELYN         TORRES                 CO          90013327718
442B484995B174   SUSAN          CROSSEN                AR          23001648499
442B4A2514B271   MARILYN        BECKWITH               NE          27024880251
442B5465A47954   BRIAN          HOUK                   AR          90014744650
442B55A4391873   CASSANDRA      BRIIT                  OK          90011025043
442B579935B58B   WALTER         MEANS                  NM          90007667993
442B5874772B33   JAHALA         TATRO                  CO          90007778747
442B617885B222   ANDREW         JACKSON                KY          90015261788
442B6183251334   RYAN           WITT                   OH          90010651832
442B631688B165   JASWANT        KAUR                   UT          31070173168
442B657525B271   SHERICE        MADDOX                 KY          90012035752
442B6748891873   KRYSTAL        MARTIN                 OK          90009827488
442B676285B53B   DEEDRIC        LUECKE                 NM          90014717628
442B688515B52B   RACHELLE       BYNON                  NM          36007358851
442B717135B52B   MIGUEL         MERCADO                NM          36075671713
442B7451172B36   EMILCAR        SANDOVAL               CO          90010744511
442B7546247954   SARAH          KNIFF                  AR          90014745462
442B7AA7571999   DENA           SALAS                  CO          38026740075
442B8232391569   MIGUEL         PEREZ                  TX          90011332323
442B974625B58B   KELLIE         WADE                   NM          90008197462
442BB61419127B   MIKE           SMITH                  GA          90009026141
442BB763591351   JENNIFER       KIRKPATRICK            KS          90013827635
442BB794351336   ERIC           FOSTER                 OH          90001557943
442BB97584B271   BLANCA         INIGUEZ                NE          27003599758
443112A995B52B   HUGO           CASILLAS               NM          90015302099
4431164894B271   LUKE           HOULTON                NE          90012286489
4431174745B52B   TAMERA         VALDEZ                 NM          90012937474
4431233475597B   SAMANTHA       CASTILLO               CA          90015453347
4431235A98B16B   PAGE           JOHNSON                UT          90013833509
44312A35261963   MARCUS         VARGAS                 CA          90006200352
443139A685597B   GLORIA         BENIDEZ                CA          90012859068
44314463172B4B   PATRICIA       SALAIS                 CO          33016774631
4431496175B58B   ESTHER         GRIEGO                 NM          35070659617
44314A23391569   SYLVIA         RESENDEZ               TX          90006760233
4431519A65B174   GINNY          WHITE                  AR          23061701906
44316799A2B27B   CARLOS         FUNTES                 DC          90013897990
44317A2AA5B53B   GLADIS         ARMENTA MEDINA         NM          90013570200
44318479724B7B   PRINCESS ANN   HAWKINS                DC          90013074797
4431964695B174   DEREK          ALBRIGHT               AR          90013556469
4431993A755939   CRYSTAL        BERMUDED               CA          90012989307
44319A23491569   JESSICA        REYES                  TX          90005140234
4431B353891873   RACHEAL        PALMER                 OK          90006453538
4431B919247954   NELLY          ESCOBAR                AR          90011539192
4431B93A271934   KIRTPATRICK    ABEYTA                 CO          90013469302
4432135338B16B   JAY            STODDARD               UT          90013833533
44321A27547954   COURTNEY       HACKWITH               AR          90005410275
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4432229325B551   RODOLFO        RUIZ                   NM          90005322932
4432244984B271   DENISE         RYAN                   NE          27037004498
4432262935597B   CECILIA        TORRECIAS              CA          90012926293
4432285954B271   BRITTANY       WATTS                  NE          90010678595
443234A8461967   CLARISSA       CIUFI                  CA          90010434084
4432398A491351   DORIS          BROWN                  KS          90013779804
44325A46461999   JUAN           SOTELO                 CA          46030500464
4432628195B597   ARTURO         ZAMBRANO               NM          35077572819
4432652745597B   DEMETRIUS      HERSINGER              CA          90014895274
4432685645B174   CHENITA        OWENS                  AR          23000348564
4432723595B174   RENALDA        JONES                  AR          90005162359
443274A6331621   AMARE          YIMAM                  KS          90004254063
4432828675597B   CHRISELDA      RODRIGUEZ              CA          90014982867
4432868565597B   VICTOR         CARRERA                CA          90001946856
44328962572B36   JEFF           WHITE                  CO          90013469625
4432928A85B271   SHAQUITA       VICHERS                KY          90014712808
443298A984B271   MICHAEL        SPELLMAN               NE          90012508098
4432B114691569   GIANNA         AGUIRRE                TX          90012101146
4432BA55572B4B   LORENA         MARISCAL               CO          33058170555
44331216A5B52B   ALICIA         PALOS                  NM          36034722160
44331229A72443   DEVON          LAMANNA                PA          90013802290
44331373A8B165   DALLAS         LYMAN                  UT          90009083730
4433145765B174   BENJAMIN       CARTER                 AR          90014274576
44331A47772B36   MARIA          SILVA GARCIA           CO          90015050477
4433215935B53B   SARA           OROZCODEORTEGA         NM          90015211593
443325A7591569   JUAN           GARCIA                 TX          90009165075
44332A38761965   DONNA          BECK                   CA          90011970387
44332A51472B43   VIRGINIA       CARRILLO               CO          33012490514
443354A265B52B   RIGO           FLORES                 NM          90015314026
443367A962B27B   ANSELM         OJUAH                  VA          81017427096
44336A22191523   MONICA         MEZA                   TX          90006950221
44337A9255B58B   ANDY           TORRES                 NM          90010660925
44337A92772B43   ANTONIO        MARES VILLA            CO          90012650927
44338311272B36   ANABEL         ORTEGA                 CO          33042273112
4433971595597B   RAFAEL         AMEZCUA                CA          90001997159
4433988A858528   MELISSA        SMITH                  NY          90015618808
4433B452A47954   SHERYL         ANTHONY                AR          25043454520
4433B974455939   RENEE          GRIFFITH               CA          49064439744
4434113435B53B   BOGAR          VALLES                 NM          90008821343
4434119392B29B   SYLVESTER      OKPALA                 DC          90003211939
4434188145137B   LYNDA          BOSKEN                 OH          66031008814
4434188565B58B   RAYMOND        GOMEZ                  NM          35003578856
44343738A2B87B   NEMO           DESOTO                 ID          90015237380
4434445654B271   JOHN           OCONNOR                NE          90013524565
443447A2251354   GERALDINE      SMITH                  OH          90005037022
44346578772B4B   JULIO          MORENO                 CO          33052015787
4434688885B58B   AMANDA         GALLEGOS               NM          90007668888
4434712A924B7B   HUGO           MUNOZ CORNELIO         DC          81098521209
44347569A2B27B   EUGENE         SMITH                  DC          90012905690
4434793765B53B   HERMINIA       BETELLA                NM          35082039376
4434863265B52B   OLGA YOLAN     CANAC XICAY            NM          36013136326
44348A69A5B58B   ESPERANZA      TONANTZIN              NM          90009830690
44349652972B43   CONNAN ELIOT   MOCK                   CO          90013206529
44349A3A672B36   JOSEPH         ROMERO                 CO          33059340306
4435139152B26B   CHAYIM         GABRIEL                DC          90001503915
4435142814B566   JOSHUA         STEADMAN               OK          90008604281
4435185392B27B   KARINA         FLORES                 DC          90006288539
4435195915B53B   RACHEL         VALERIO                NM          90012849591
443526A5471999   MARGARET       EDWARDS                CO          38000736054
44352A3815B58B   VICKIE         HARBOUR                NM          35003530381
44352A88272B24   TIFANEE        MILLER                 CO          90001370882
4435317984B539   MANUELA        SOLDI                  OK          90015031798
443532A8A51382   JOSH           GUY                    OH          90003922080
4435361525B141   MICHEAL        BROWN                  AR          90002106152
4435375665B53B   ANGELEIDI      MORENO                 NM          90015307566
4435421885B174   KELLY          BRANDIE                AR          23090232188
443546AA272B4B   DANIEL         ABUNDIO                CO          90012276002
44354A2A597B21   BRENDA         NELSON                 CO          90014430205
4435545582B27B   WARREN         WELCOME                DC          90014814558
443569A353B33B   JOEL           MALLORY                CO          90000769035
44357511A2B27B   LOTORYA        LISENBY                DC          90001805110
4435889172B27B   CHRIS          MOLINA                 VA          90011198917
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443598A5191351   KELCEY              MANGNER           MO          29074298051
44359A2885B53B   LORRAINE            BARELA            NM          35071900288
4435B39195B58B   ROBERT              BEGAY             NM          90012263919
4435B78565B597   CAROL               ROBERTS           NM          90011827856
4436147A657134   GIRMAY              WOLDU             VA          81013674706
44361A77191351   AIDED               MONROY            KS          90007030771
44361A83472B36   AHNDREA             WILLIAMS SMITH    CO          90013150834
4436317793B326   FRANCISCO           ARTICA            CO          90010531779
4436352288B16B   LIGIA               MORALES           UT          90013295228
4436377A761435   NICOLE              CHATMAN           OH          90014757707
44363A43672443   PRISCILLA           MILLER            PA          90003880436
443642A765597B   OLIVER              ULLOA             CA          90013782076
44365353A72B43   ANDREA              BRAVO             CO          33056813530
4436549A171999   ANTONIO             QUINTANA          CO          90005454901
4436566A761963   STEPHANIE           FIELDS            CA          90014216607
44365A38247954   REBECCA             BALOS             AR          90008250382
44366217A71999   CHRIS               BOETTLER          CO          38076212170
44367228372B4B   KIMBERLY            MARIE - GOMEZ     CO          90000962283
44367244872B43   ALBERTO             VASQUEZ           CO          90010882448
4436733112B87B   MICHAEL             ALEXANDER         ID          41086513311
4436753755B174   TAMMY               GOODLOE           AR          90008375375
44368239A5B174   JOSE                PACHECO           AR          23045662390
443683AA351382   BRYAN               LEWIS             OH          90011833003
4436878A947954   MARIA               SALAS             AR          25073267809
44369498A72443   BILL                EVANS             PA          90013294980
4436B361555939   CAROLINA            RODRIGUEZ         CA          90004483615
4436B8A9391351   KACI                BAGBY             KS          90013918093
4436B958772443   CHRISTOPHER         CROMO             PA          90014739587
4436BA92171934   IRENE               WILLIAMS          CO          32089280921
4437126965597B   SHAWN               THAO              CA          90009122696
4437169225B271   JARED               YATES             KY          90014856922
4437225822B27B   MIKE                JONES             DC          90001672582
4437237725597B   ALAN                TORTOLEDO         CA          90013923772
443724A5371934   TAMMY               TAFOYA            CO          32077904053
44372896224B7B   FAUSTINO            ALARCON           DC          90006468962
4437388195B271   TAMESHA             JONES             KY          90014738819
443758A7891569   RICHARD             LOZANO            NM          75006748078
44375A97171996   DANNIELLE           FOX               CO          90013690971
44375A99491351   MARIA DEL SOCORRO   JURADO            KS          90013620994
44376826972B4B   CATIAH              LEE               CO          90001308269
44377592372B36   JOHN                LOWE              CO          33095655923
44377642272B43   DEMETRI             JONES             CO          33052896422
443777A5672B4B   CAMERON             KYLE              CO          90014307056
44377A1795B52B   CECILIA             PENA              NM          90009600179
4437813A47325B   RICHARD             APPLEGATE         NJ          90014091304
4437938938B16B   JAMES               WADLEY            UT          31003793893
44379621572B4B   KYLE                SHAFFER           CO          90012056215
4437974A52B87B   D. SHANENE          COPE              ID          90002397405
44379A2A85B264   YANAY               PRADO             KY          90010440208
4437B322A5B222   CYNTHIA             YATES             KY          90014833220
4437B3AA25B174   SONDRA              ELLIS             AR          90014763002
4438112AA5597B   DAVID               RAMOS             CA          90014851200
4438185812B87B   ROBERT              MCINTIRE          ID          90010258581
443819A8491351   CHRISTOPHER         KIRBY             KS          90011949084
44382182472B43   EDWARD              VILLALOBOS        CO          90014581824
44382A9275B597   ANNA                CHAVEZ            NM          35013050927
44383136272B36   REVECA              BARRAZA           CO          90013191362
4438417883B359   LAMBORGHINI         BORREGO           CO          90012741788
443846A414B271   TONIA               LARSEN            NE          27071686041
443848AA52B87B   TIM                 ARSENAULT         ID          90011918005
44385278824B7B   RIGOBERTO           TOJIN             VA          90011832788
4438536975B53B   JOHN                KITE              NM          90014173697
4438547185B174   TERRY               MCGEE             AR          23022624718
44385A51651334   JESSE               GREEN             OH          66020680516
4438697A491873   EDITH               SMITH             OK          90012629704
4438784115B174   SAMANTHA            ALLEN             AR          23096438411
4438826468B16B   JULIE               GAPPMAYER         UT          31099092646
4438B2AA272443   LETITIA             FRYE              PA          51035392002
4438B671172B36   NANCY               FERRELL           CO          33023106711
44391513A8B16B   JUSTIN              DIFABIO           UT          90007625130
4439223685B53B   MARY                COLLINS           NM          35090672368
4439284A671999   JOSEPH              MONTES            CO          38019968406
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4439297A191873   EDDIE           BISHOP                OK          21017089701
44392A4415B231   SHERITA         CLAY                  KY          90013550441
44393693772B4B   OMAR            CONTRERAS             CO          90013386937
4439448476198B   RAMON           BEY                   CA          90013854847
4439493865B222   BETH            FIGUEROA              KY          68097769386
4439532479126B   GARNETT         SCARVER               GA          90011133247
4439593745B271   PETER           VIERS                 KY          90012479374
4439654645597B   TERRI           MARTIN                CA          90014155464
44396699A5B271   EVON            BEST SR               KY          90014856990
4439763A14B531   JHONNY          BONILLA               OK          90009106301
4439797645B53B   LORAINE         AGUIRRE               NM          90000999764
44397A54A5B52B   MICHELLE        TRUJILLO              NM          90002590540
4439833595B58B   ADRIANNA        ARAGON                NM          90013363359
4439846945B222   TASCHA          WEST                  KY          90014964694
44399164372B36   MARCOS          ROSAS                 CO          90012881643
44399448A91523   ADAM            LYNN                  TX          90008844480
4439B56A92B27B   DENINE          PRAILOW               DC          90012855609
443B1287672B36   TRAVIS          SEARLES               CO          90003452876
443B15A7391569   JAVIER          GUERRERO              TX          90011115073
443B1612172443   KENNETH         NICKLOW               PA          51013786121
443B175395B52B   RIGOBERTO       PEREZ                 NM          36065857539
443B1A7794B271   LAURIE          ANSLOVER              NE          90010160779
443B2356391523   GARCIA          ANGELINA              TX          90011253563
443B2648897B58   LINDA           GEORGE                CO          90009206488
443B268935B389   GARNET          BARR                  OR          44544126893
443B274335B53B   JOJOLA          CRUZ                  NM          35097907433
443B369694B271   MARIA           MOSS                  NE          90012226969
443B394A62B87B   CHERI           HOGAN                 ID          90000899406
443B3954191351   ARIF            JOARDER               KS          90010619541
443B399135B58B   ALEXIS          DURAN                 NM          90006619913
443B41A665B52B   FELIX           MATZIR-XIA            NM          90007491066
443B513728B165   LISA            JENSEN                UT          31011221372
443B539765B174   GLORETHA        BROOKS                AR          90008473976
443B5634A91569   SAMUEL          GARCIA                TX          90015186340
443B568715B271   KYLA            SIMON                 KY          90014836871
443B5997955939   FELIX           ERNESTO               CA          90013029979
443B6255171999   JONI            ALBER                 CO          90012312551
443B671295597B   RIGOBERTO       ORTIZ                 CA          49024397129
443B688A772B36   ANABEL          CASTILLO              CO          90013658807
443B766412B27B   ERICA           HOLLAND               DC          90014226641
443B81A965597B   MARIA           CASTELLANOS           CA          90011351096
443B8496A5B523   AIDA            AGUIRRE-ROBLES        NM          90014024960
443B868792B27B   ROXANNE         LLOYD                 DC          90012786879
443B951527B865   SHEMONTE        SMITH                  IL         90002555152
443B963288B16B   STEVE           DARTNELO              UT          90014836328
443BB83615B53B   GABE            MARTINEZ              NM          90014998361
443BBA4925B597   CESAR           VILLALOBOS            NM          35054380492
444119A1261963   BEATRIZ         ESCOBAR               CA          90014619012
44411A96251334   ALVIN           COSTNER               OH          66083660962
4441238465B58B   SALVADOR        LAMELAS-ALDRETE       NM          90008983846
4441432215B581   AMANDA          ROMERO                NM          90007823221
4441471AA5B222   CHRISTOPHER S   CLARK                 KY          90003507100
4441524145B271   ROGER           WARREN                KY          90008722414
4441528984B271   BRAXTON         KIRKSEY               NE          27043122898
4441533748B16B   CAMI            NAYLOR                UT          90014333374
4441552A372B43   JAMIL           MATHIS                CO          90007975203
44415665172B43   EDWIN           MEDINA' RODRIGUEZ     CO          33003676651
4441597383145B   JEREMY          BAILEY                MO          27537149738
4441688865B174   PABLO           MENDOZA               AR          90013508886
4441719A291547   GRACIE          GONZALEZ              TX          75016701902
4441788A324B7B   CAIN            FARMER                VA          81060278803
4441963A472B36   JENNIFER        ZOTTO                 CO          33053166304
44419719A5B597   STEPHANIE       GARZA                 NM          90011717190
44419A47971934   TASHAWNA        WOODSON               CO          90007320479
4441B477155939   DANIELLE        TUCKET                CA          90012834771
4441B54118B16B   DOUG            STANFILL              UT          90009815411
4441B69324B271   SHAYLA          KERNELL               NE          90010156932
4441B797491873   DUSTIN          LIVINGSTON            OK          90009097974
4442124624B271   JUAN            CORTEZ                NE          90007142462
444212AA25B53B   SAMUEL          GILLARD               NM          90015062002
44421A55491873   STARLA          HORN                  OK          90014460554
44422614472B36   GREGORY         HAMILTON              CO          90002196144
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44423216691B55   ANDREW J     GONEMAN                  NC          90012692166
4442361354B271   EBEN         RICHMOND                 IA          90015156135
44423866A61963   JANNETTE     AVINA                    CA          46011438660
4442392695B52B   PRISCILA     MARTINEZ DE ALVARADO     NM          90012779269
4442476345B52B   KENNETH      SANCHEZ                  NM          90013917634
444248A725B597   MARELYN      VELASQUEZ                NM          35093548072
44425A99384371   MELISSA      BROOKS                   SC          90005930993
44426535272B36   SARA         HASS                     CO          33079085352
44426864A72B4B   ROGER        SANDRES                  CO          90010618640
4442688555B52B   LUZ          ALMEIDA HERNANDEZ        NM          90015308855
44427189472B36   WILLARD      GALUSHA                  CO          33087251894
44427483A72443   KAMESHIA     FORD                     PA          51096654830
44427877A85697   WARDELL      WHITTAKER                NJ          90006498770
44428377A5B53B   REBECCA      SMITH                    NM          35081173770
4442896A772B4B   BRITTNEY     KEMPER                   CO          33028429607
444289A575B222   TYESIA       THORNTON                 KY          90014899057
44428A71986545   JAMES        WHITTED                  TN          90014790719
4442B633272B4B   RAUL         CISNEROS                 CO          90011126332
4442B7AA85B271   TIFFANY      TAYLOR                   KY          90014857008
4442BA34372B43   CRESCENCIO   CORRAL                   CO          90015500343
4443119A291547   GRACIE       GONZALEZ                 TX          75016701902
4443122168B16B   DANCEL       AHQUIN                   UT          90014652216
44431758A55939   TIFFANY      HERNANDEZ                CA          49027987580
4443214435B58B   GEORGE       GALLEGOS                 NM          90010431443
44433511572B43   ANNETTE      HERMAN                   CO          90013735115
4443369432B27B   CARLOS       PINEDA                   DC          90005876943
4443422612B87B   JAMES        ARCHER                   ID          90013292261
44434459A5B271   LYNETTE      DUKES HARRIS             KY          90014304590
4443457448B16B   JENNFIER     JAVIER                   UT          90008975744
44435385A91569   BERTHA       BRAVO                    TX          90014923850
44436325572B4B   FELIPE       LEON CARMONA             CO          33050983255
4443786592B87B   CHRISTIAN    LAPRATH                  ID          90010778659
4443829915134B   DEMETRIUS    HOWARD                   OH          90002522991
4443847A44B271   RACHEL       MOYERS                   NE          27016274704
4443874865B597   MARSHA       MARTINEZ                 NM          35088927486
4443926255B271   CHELSEA      WOOLFOLK                 KY          90015112625
44439464372B43   FELICIA      VIRCHIS GARCIA           CO          90012604643
444398A595B53B   ESPERANZA    REYES                    NM          90011388059
44439A45872B4B   DANIEL       ANGUIANO                 CO          33060750458
4443B8A2351354   ERICA        LUKE                     OH          90009598023
4444133A591569   LAURA        QUEZADA                  TX          75087063305
44441461472B4B   PALACIOS     PEDRO                    CO          90010864614
44441A6655B53B   LOURDES      IGUADO MORENO            NM          90009770665
4444245AA5597B   KATHRYN      CERONSKY                 CA          49063834500
4444332A48B16B   MIKE         FRANDSEN                 UT          31012443204
44443AA5972443   MATT         HIXON                    PA          51083320059
4444418177B426   ROXANA       BENDEZU                  NC          90004641817
4444422455B52B   MOISES       COLMENERO                NM          90010222245
44444846A5B58B   JOHNNY       VALDEZ                   NM          90013118460
44444A97555939   DINORA       BATRES                   CA          90015020975
44444AA5972443   MATT         HIXON                    PA          51083320059
444451A725597B   RUDY         DIAZ                     CA          90014441072
4444572955B174   TIFFANY      HILL                     AR          23089677295
44446467A72443   REBECCA      LONGANECKER              PA          90013394670
44446498472B4B   JOANN        DAVILA                   CO          33078384984
44447774A61963   ROXANA       CANELA                   CA          90010527740
4444881835B58B   AMANDA       ORRELLYS                 NM          90014708183
4444BA3A972B4B   MICHAEL      RAEL                     CO          33022920309
4445156948B163   KEVIN        PAREJA                   UT          90014075694
4445219565B597   JOSE         GONZALEZ                 NM          90011831956
4445267628B16B   BENNY        PENROD                   UT          90012396762
4445319715B58B   ANGELA       BALTAZAR PATRICIO        NM          35042421971
4445324715B53B   SANTANA      GARCIA                   NM          90012642471
44453645972B4B   SUSAN        MORRIS                   CO          90012646459
4445411335B174   TAYNA        MOORE                    AR          90010911133
444551A8561963   PEDRO        OCHOA                    CA          90012941085
4445522125B58B   CLEOTILDE    CHAVEZ                   NM          35066212212
44455796872B4B   MARY         VIGIL                    CO          90011547968
44456531272B43   MARIO        MANCHAME                 CO          33041305312
44456851A2B27B   DWIGHT       DENT                     DC          90013588510
44456964A61967   RAQUEL       RODRUIGUEZ               CA          90011809640
44456A1445B271   DARYL        WATERMAN                 KY          90014130144
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2023 of 2500


44457364572B4B   JOEL          CORREA                  CO          90011463645
4445778965B222   TONYA         CRUMP                   KY          90009497896
4445842165597B   MARTHA        MACILLA                 CA          90013044216
44459266A91523   BATTYS        DAYCARE                 TX          90006952660
4445B79975B52B   VINCENT       JARAMILLO               NM          90015117997
4445B96184B271   JENNIFER      HOREJS                  NE          27081499618
4445B96425B53B   MICHAEL       BAROS                   NM          90015239642
44461377563B91   YESENIA       BALLINES                 IL         90008873775
444613AA572B4B   DARRELL       RICE                    CO          90014823005
4446156765B52B   JOANNA        JIMENEZ                 NM          90012955676
4446244383163B   EVERARDO      TRETO-ROBLES            KS          90014384438
44462845A91569   JOSE          CHAVEZ                  TX          90015328450
44463295672B43   NICOLAS       RAYMOND                 CO          90009902956
4446548A951334   IMAR          MARTINEZ                OH          90011474809
4446552985B53B   VERONICA      PORTILLO                NM          90010955298
44465A3A55B271   TROY          NEARN                   KY          90002250305
44466151172B43   ADELA         MONARREZ                CO          33065631511
4446651868B16B   ALFRED        TAU                     UT          31098385186
4446757745B52B   CHRISTELLA    BACA                    NM          90012955774
444676A3371999   KEVIN         SHULTZ                  CO          90006806033
44468516A5B58B   DESIREE       GONZALES                NM          90010255160
4446891A191569   KENNIA        LARA                    TX          90010479101
44468A34851382   DAVID         TIMMONS                 OH          90006330348
4446913728B16B   LISA          JENSEN                  UT          31011221372
4446926318B165   STEPHANIE     ROBBINS                 UT          90005972631
44469642572B43   MIKE          UPTON                   CO          33045116425
4446974A157136   OSCAR         BENITEZ                 VA          81082387401
4446B186A2B27B   ANGELA        JONES                   DC          81096421860
4446B499A5597B   MOHAMMAD      M                       CA          90005244990
4446B72235B52B   BERLY         LOPEZ-MORALES           NM          90007427223
4446BA26957564   ARMIDA        RODRIGUEZ               NM          90007690269
4447157155B52B   JORGE         PORRAS FIGUEROA         NM          36091685715
4447217A191351   BEANN         ELROD                   KS          29094381701
4447226595B597   RAQUEL        HERNANDEZ               NM          90011832659
4447227A24B271   KAREN         CORTESE                 NE          27096802702
44472573172B36   NANCY         CARRAZCO                CO          33061575731
4447292A15B53B   MICHAEL       TRUJILLO                NM          90015039201
444731AAA2B27B   BRUCE         BITNOFF                 DC          90012981000
444733A1255931   GINNIE        CARTER                  CA          90007753012
44474276972B36   RONALD        LAX                     CO          90013042769
444749A2461963   JUAN CARLOS   HORTA                   CA          90011479024
4447562A355939   MARGARET      MEDINA                  CA          90011356203
44476419572B43   KENNETH       JACOBSEN                CO          90010824195
4447649622B27B   VIVIAN        LAZO                    DC          90002144962
444767AA274B97   MICHAEL       CROUSC                  OH          90015077002
4447741715597B   IMELDA        DIAZ                    CA          49058684171
4447744345B58B   ANDY          MARTINEZ                NM          35080314434
44477725272B36   LENA          VIGIL                   CO          33011857252
44477A79691873   MICHAEL       MEGEATH                 OK          21067860796
4447867715B52B   LUCIA         JIMENEZ                 NM          36066356771
44479177472B36   KEVIN         BELL                    CO          90012491774
4447928695B597   DONALD        WALKER                  NM          90011832869
4447B21A661967   MERCEDES      MONDRAGON               CA          90012782106
4447B847763623   TERESA        ALDRICH                 MO          90001818477
4448192A22B87B   CYNTHIA       BOGNER                  ID          41073119202
44482247A72B36   STEPHAN       COX                     CO          90003682470
44482398572B4B   MATIAS        SANCHEZ                 CO          90012883985
4448284815B222   MORAIMA       QUESADA                 KY          90014028481
444831A2A41454   KARDAR        NURR                    WI          90015481020
44483788A91523   ROZZY         GODINEZ                 TX          90012947880
44483A88591523   ROZZY         GODINEZ                 TX          90011580885
4448419175B58B   SHAWN         SCHNERCH                NM          90011891917
44484359A55939   VERONICA      GALLARDO                CA          90009573590
44484721572B36   MARIA         CORTEZ                  CO          33016247215
4448489494B271   VICTORINE     AKPO                    NE          27087148949
4448581654B271   COLLEEN       LESSER                  NE          90014598165
44485817486B98   PAM           WESTON                  CT          90011068174
4448647435B58B   ROY           HOWARD                  NM          90004254743
4448675215B174   JAMIE         RICE                    AR          90011067521
44486A1815597B   RODOLFO       MORALES                 CA          49012990181
44486A83472B36   AHNDREA       WILLIAMS SMITH          CO          90013150834
44487234A5B52B   IRENE         MONTANO                 NM          90007502340
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4448739A891569   CELENE        CERVANTES               TX          90014713908
4448763317B262   ROCKY L       FERRELL                 OR          40551796331
4448853785B58B   MARIA         CASAREZ                 NM          35028185378
4448992925B271   ANGEL         MILLER                  KY          68019989292
4448B831572443   MILLICENT     HALL                    PA          90013348315
4449158125B174   MONICA        TUCKER                  AR          90012155812
4449244435B58B   LORENZO       HERNANDEZ               NM          90014174443
4449293A95B52B   CARLOS        RODRIQUEZ               NM          36014609309
44492984A72B43   SYLVIA        MARQUEZ                 CO          90011179840
4449345445B222   HELEN         BREEDEN                 KY          90006354544
4449553288B16B   MARIE         VASQUEZ                 UT          90001685328
444963A524B271   MARISOL       MARTINEZ                NE          90014593052
4449683465B222   RETASHA       CHEATHAM                KY          68010688346
4449785315B58B   ANGELINA      BENAVIDEZ               NM          35035538531
4449B31965B58B   LESLIE        ZAINTZ                  NM          90011903196
4449B3A6A61963   VERONICA      MENDOZA                 CA          46012473060
4449B774472B36   ATHENA        CHAMBERLIN              CO          33085307744
4449BA89891351   OSCAR         CUX                     KS          90009930898
444B173295B373   DANIEL        ONUSKANICH              OR          90001057329
444B182385B597   ERIK          CABRERA                 NM          90006838238
444B193715B53B   LEAH          LAWRNCE                 NM          90014889371
444B234AA91351   HENRY         MIRANDA                 KS          90013273400
444B23A565B597   ERIKA M       CASIQUITO               NM          35009093056
444B295265B52B   ANDREA        FOWLER                  NM          90014759526
444B323A761963   JUAN          VALENCIA                CA          90008172307
444B3312A51326   DEERIKA       RUSHER                  OH          90013123120
444B3352241265   SARAH         WESTFALL                PA          90014113522
444B344A54B271   BRENDEN       PERRY                   NE          90008614405
444B449115B222   LATOYA        SCOTT                   KY          68095394911
444B5126685949   JAMES         KIRTLEY                 KY          90007251266
444B5235A5B271   JACK          DALEY                   KY          90012262350
444B5326172B43   OSCAR         HUERTA                  CO          33043743261
444B5658391569   MIGUEL        JUAREZ                  TX          90015176583
444B588485B222   SAUL          MIRANDA                 KY          90012678848
444B638524B271   TRAVIS        HALLETT                 NE          27039823852
444B642A45B222   SHIRLEY       WILLIAM                 KY          90010144204
444B655225597B   FELIPE        VILLAGOMEZ              CA          49014065522
444B71A2361924   COSMAS        MUSYOKA                 CA          46072531023
444B7512572B36   AMANDA        FERNANDEZ               CO          33070185125
444B7682172B43   FELICITAS     PELAYO                  CO          90012116821
444B7699191569   SERGIO        QUEZADA                 TX          75016346991
444B884379376B   LATASHA       DAVIS                   OH          90008868437
444B8A47A72B43   DELILAH       CATALAN                 CO          90013680470
444B9557691351   DUSTIN        CAMBELL                 KS          90010025576
444B9771951383   DEBRA         PARKER                  OH          90006467719
444BB247372443   JAMES         DOMAN                   PA          51076282473
444BBA2635B271   JASON         AUTRY                   KY          90008210263
4451119815B174   CHRISTOPHER   WEBB                    AR          90015171981
4451164A961963   MORGAN        CORDNER                 CA          90006216409
445125A3491569   JESUS         AGUILERA                TX          90014595034
445126A6991873   BRANDY        SOUZA                   OK          90011496069
4451274394B546   RICKY         HALL                    OK          90012267439
44512884A91569   JESUS         AGUILERA                TX          90011448840
4451298A291351   CONCEPCION    MORALES                 KS          29007199802
44513324272B43   FERNIE        GANDARA                 CO          33035493242
4451365418B16B   JOSE          ANDRES AVILA            UT          90000616541
4451374627325B   ED            ALLEN                   NJ          90014097462
44514233A51332   CARL          REIFF                   OH          90001052330
4451666A791569   SYLVIA        NUNEZ                   TX          75085906607
4451737A784369   TORRA         WAHINGTON               SC          90012333707
44518621472B43   CARLOS        ROBLES                  CO          90009686214
44518762172B36   ARTURO        DOMINGUEZ               CO          33032297621
4451926A972B36   PONCE         AGUSTINE                CO          90010072609
445196A3371999   KEVIN         SHULTZ                  CO          90006806033
4451984A331449   TREY          DAVIS                   MO          90004888403
4451B1A915B597   REBECCA       MARTINEZ                NM          35094381091
4451B3A615B222   MONICA        CARTER                  KY          68085583061
4451B69825B531   ASHLEY        SINOWITZ                NM          90010326982
4452131AA2B27B   ELISHA        KING                    DC          90013273100
44521811A72B98   GUSTAVO       VELA                    CO          33068568110
44521AA3591569   ROCIO         ARNEROS                 TX          90012600035
44522129A5599B   JESUS         SILVESTRE               CA          90011911290
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445223A4172443   TASHA        EVANS                    PA          51092933041
4452246385B58B   SUSIE        DOMINGUEZ                NM          90008684638
4452253712B87B   JUSTIN       FLORES                   ID          90009945371
4452277262B27B   THERESA      BROWN                    DC          81085417726
4452321A45B222   GUADALUPE    ESPINOZA                 KY          90015262104
4452327245B58B   CASIMIRA     ZARRASOLA                NM          90014422724
44523323A55999   MARIA        IBARRA                   CA          90014693230
4452427572B84B   BRITTANY     DENNIS                   ID          90014332757
44524A63247954   FRANK        KING                     AR          25096850632
4452533995B53B   JOYCE        GILMORE                  NM          35095053399
445253A5255939   HUGO         OCHOA                    CA          49089663052
44525A8125B271   DARRELL      ALLEN                    KY          68075260812
445275A3555939   SHAWNTOVIA   ELDRIGDE                 CA          90001155035
4452786915B174   MONICA       TAYLOR                   AR          90014008691
4452935985B53B   GINA         PRIESKORN                NM          35075163598
44529A6645B222   MARIA        GONZALEZ                 KY          90007220664
4453142785B58B   PAUL         ARELLANO                 NM          90013984278
4453169A651334   CANDACE      ANDERSON                 OH          90014716906
4453193A35B398   MUSTAFA      HASSAN                   OR          44590939303
4453276182B27B   NELSON       ARIAS                    DC          90013097618
44532A1552B87B   ROBERT       DAHMS                    ID          90014850155
44533197872B36   LORNA        DOUGLAS                  CO          90013051978
4453386775B222   CARLOS       FELICO                   KY          90005158677
44533A4332B87B   BRANDON      HUGHES                   ID          90011890433
4453458A35B222   DEBRA        GONAZALEZ                KY          90014875803
4453484442B27B   RAMON        MOTON                    DC          90013238444
4453498A861963   TRACY        RAY                      CA          46053839808
44534A7415B274   KAREN        LAWYER                   KY          90007370741
4453576A761963   CALEB        SUTTON                   CA          90014897607
4453579725597B   KAROL        CAMPBELL                 CA          90014137972
44535AA3872443   BLAIR        LOWRY                    PA          90009590038
44536A5835597B   REYMUNDO     SIVA                     CA          90012620583
44537497172B4B   SARAH        REITENBAUGH              CO          33028474971
4453786975B271   MORGAN       DUNBAR                   KY          90012688697
44538A71291569   JESUS        PORTILLO                 TX          90007940712
44539A5482B27B   JOCELYN      SMITH                    DC          90014390548
44539A68A4B271   RAQUEL       SERRANO                  NE          27043170680
4453B192355939   SEBASTIAN    GONZALES                 CA          90011971923
4453B55164B271   ADRIAN       DIAZ                     NE          90012235516
4453B998372B98   CONA         COMM                     CO          90012349983
4453BA88791873   MARIANA      GOMEZ                    OK          90010380887
445413A468B166   MARK         SHIRLEY                  UT          31091343046
4454194215B597   ESMERALDA    SOLIS                    NM          35055729421
445425A365B271   FELICIA      BROGDON                  KY          90014965036
4454348575B58B   GRISSEL      PARGAS                   NM          35054774857
44543622272B4B   ROBERT       ADCOX                    CO          90010006222
445439A145B52B   MICHELLE     LUCERO                   NM          90011119014
44543A38472B43   GREG         ORTIZ                    CO          90011410384
4454411A571992   TAMBRA       DURAN                    CO          90012611105
44544264172B36   EDGAR        CERVANTES                CO          90010802641
445444A6372B43   FRANCISCO    MENDEZ                   CO          90012784063
4454462765B53B   SAVANNA      SANCHEZ                  NM          90014926276
4454541135B53B   DANIEL       CRUZ                     NM          90003594113
44545A21A5B174   KRISTY       DOTSON                   AR          90008340210
44545A3719155B   CECILIA      BORGES                   TX          90014510371
4454635A12B27B   KEVIN        BURNEY                   DC          90010683501
4454671155B597   REBECCA      JIMENEZ                  NM          35022627115
44546866A61963   GIZETTE      DAVIS                    CA          90014608660
445473A142B87B   MARIAH       CHAVEZ                   ID          90008633014
4454823188B16B   STEPHANIE    ARCHULETA                UT          90008062318
4454929665B53B   BETHANNE     BETHEL                   NM          90002992966
4454934135B388   LEYDI        GONZALEZ                 OR          90012503413
4454999665B52B   AMY          ORTEGA                   NM          90009849966
4454B125747954   AXEL         LESTER                   AR          25096101257
4454B184276B27   DOMINGO      JUAN                     CA          90010701842
4454B242251332   MARIA        WALKER                   OH          90006832422
4454B41168B16B   SEBRINA      PEREZ                    UT          90011854116
4454B595A5B58B   CRYSTAL      ACOSTA                   NM          35045955950
4454B67982B27B   ROY          JORDAN 111               DC          81017806798
4454B84795B271   GARY         HARRIS                   KY          68078258479
4454BA2335B52B   ROBERTO      CARBAJAL                 NM          36033770233
4455122155B58B   LESLIE       PREVATT                  NM          90007602215
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44551A63191873   CALVIN              TURNER              OK        21033080631
4455429A861967   JAIRO               HERNANDEZ           CA        90012772908
4455455655B52B   MARIBETH            VILLEGAS GARCIA     NM        90001835565
445556A2461988   DAVID               CANALES             CA        90010196024
44555A92661967   GUADALUPE           HERRERA             CA        46011940926
4455627445B53B   FLOR NOCHOLAS 3RD   GONZALEZ            NM        90014762744
4455641332B27B   DEREK               COBB                DC        90000534133
44556535A72B4B   KATHERINE           RICHIE              CO        90010385350
44556738A91523   GRANT               WILLIAM             TX        90006987380
44556789972B4B   ROSA                HERNANDEZ           CO        90014157899
44556A12891569   JAIME               SANCHEZ             TX        75094570128
44556A46A72B36   KIMBERELY           BOYER               CO        33032300460
4455765A191569   FELIPE              JUAREZ              TX        75087236501
4455788865B174   PABLO               MENDOZA             AR        90013508886
445589A6551334   JOHNNY              TURNER              OH        90012979065
4455927445B53B   FLOR NOCHOLAS 3RD   GONZALEZ            NM        90014762744
4455978545B53B   STEPHANIE           LOGENEST            NM        90006027854
44559796872B4B   MARK                RODRIGUEZ           CO        90012637968
4455992295B174   MICHELLE            JOHNSON             AR        23015829229
4455B26852B87B   DEBRA               BERGEMAN CHITWOOD   ID        41001752685
4455B28A791569   CHRISTINA           AGUIRRE             TX        90000562807
4455B487A5597B   JOSHUA              HORNE               CA        49083624870
4455B5A2251382   STEVEN              DAVIS               OH        66086455022
4456167385597B   LEOPOLDO            SIQUEIROS           CA        90014936738
44562A8842B27B   TAQUAN              HOWIE               DC        90014410884
44563929A91873   WANDA               SMITH               OK        90009989290
445639A385597B   OSCAR               VILLARTA            CA        49030229038
44564399A5597B   ROBERT              PEREZ               CA        49094543990
4456478A691569   EDNA                NIEVES              TX        75087047806
445648A365B53B   DONITA              JOHNSON             NM        90013068036
445648A7172B39   HOLLY               WALKER              CO        90009108071
44564A4478B187   BRANDON             MONTAG              UT        31088190447
4456576114B271   DEBBY               RUGELEY             NE        27093747611
4456588622B87B   VINTON              MCFARLAND           ID        41093518862
4456633924B541   STEPHANIE           DOUGLAS             OK        90013883392
4456686798B165   SHARON L            HEIBEL              UT        90006978679
44566A55A72443   HILDA               THOMAS              PA        90005340550
4456726A647954   RYAN                SUNDAY              AR        25022282606
44567A5365B222   VERONICA            HURST               KY        90003000536
4456897852B879   CINDY               GROSS               ID        90010649785
4456976225597B   ROBERT              YNIGUEZ             CA        90012687622
44569A7885B271   JAMIA               BROOKS              KY        68077220788
4456B478161963   ALEX                LAZARO              CA        90003884781
4456B6A174B271   DIANA               KNIGHT              NE        27083266017
4457166915B174   PRISCILLA           DAVIS               AR        23074446691
4457256A35B53B   AUREA               ORTIZ               NM        35056295603
44573A38957133   SUSANA              ESPINOZA            VA        90001260389
44573A67872B4B   HANNAH              ROSENSCHEIN         CO        33001020678
4457449A754151   BRENDA              OSTROM              OR        90011844907
4457585415B523   DARRYL              PADILL              NM        90011298541
4457636955B174   KEVIN               GOLDEN              AR        90013483695
44576553A5B52B   ALEJANDRA           DIAZ-FIERRO         NM        36025625530
44576786A91569   ANTONIO             LUCERO              TX        90002057860
44577222A61963   MASHALLA            OWENS               CA        46003442220
44577321A2B879   DAVE                ANDERSON            ID        90007013210
44577577672B36   JOSE                GUILLEN             CO        33081405776
4457829A951382   JONATHAN            HAMBLIN             OH        66013922909
44578411A91523   GARY                THORNTON            TX        90007184110
4457862752B87B   MIRANDA             SEIG                ID        41043946275
44578753972B43   LIDIA               BRISENO             CO        33099087539
44578A22851334   PATRICIO            CHAVEZ              OH        90012280228
44579534472B43   CHRISTINE           KULAS-VENCES        CO        33051955344
4457999744B547   DARLENE             TESKE               OK        90012119974
4457B169A5597B   LENITA              AGUILERA            CA        90006591690
4458116835599B   STACEY              BRAVO               CA        90004071683
4458185465B52B   MARYCRUZ            PARRA               NM        90008588546
44581A1424B271   ROBERT              HULTS               NE        90015340142
44582385A71934   TANYA               JIMENEZ             CO        90011843850
4458262815B222   PAULA S             BRYANT              KY        90013186281
44583659A91351   KARINA              MARQUEZ             KS        90014846590
4458485565B555   MICHELLE            PETTUS              NM        90014248556
4458558A333631   KRISTOPHER          GARRETT             NC        90012735803
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44585713A8B156   MARK        GOODSON                   UT          90001737130
4458625A891872   ALANDA      COX                       OK          90012902508
4458737215B52B   REBECCA     VILLEZCAS                 NM          36042923721
4458862192B895   CINDY       SHERIDAN                  ID          90012136219
4458992189127B   JOSEPH      KENDRICK                  GA          90010819218
4458999655B222   COREY       TRUSS                     KY          90010239965
4458B11A45B581   ROSEMARIA   YEPEZ                     NM          35018211104
4458B459A5B271   LYNETTE     DUKES HARRIS              KY          90014304590
4458B4A3933443   STEPHANIE   WALDEN                    AL          90014634039
4458B711191523   ARCY        VELASCO                   TX          90007197111
4458B914A91549   GRACIELA    CORTEZ                    NM          75084379140
4458B988951382   TALITHIA    GREEN                     OH          66073069889
4458BA22991569   RAQUEL      MARQUEZ                   TX          75005230229
44591498A4B271   SONDRA      BROWN                     NE          27035904980
445917A535597B   LAURA       CONTRERAS                 CA          90015327053
44592792872B36   JUAN        ROJAS-FLORES              CO          33091247928
4459337185B174   KAUWYANA    YANCY                     AR          90014703718
4459373652B828   JESSICA     SOHRAKOFF                 ID          42090967365
4459377A361963   LEA         RANGEL                    CA          46078107703
44593A8874B271   DAKIESHA    THOMAS                    NE          90010800887
445943A1461963   DANNY       VARGAS                    CA          90014133014
44594A35172443   CECELIA     BROWN                     PA          90000160351
4459577275B52B   DONNA       DELGADO                   NM          36075617727
4459628A25B174   KENISHA     TRAYLOR                   AR          90002482802
4459718A22B27B   TEESHAUN    SAMUELS                   DC          81014001802
44597667A72B43   JORGE       VEGA                      CO          90009196670
44597A4485B58B   MARICELA    CALZADILLAS               NM          90012280448
4459829242B27B   DEBORAH     TIMMS                     DC          90012372924
4459836642B896   ROBERT      YOUNG                     ID          90004573664
4459989555B271   VALARIE     BLAND                     KY          90011878955
4459B32215597B   RENEE       WOLFORD                   CA          90012943221
4459B378351382   SHEILIECE   ROUSE                     OH          90003923783
4459B74495B52B   JARED       LOVATO                    NM          36005097449
4459BA9688B16B   THOMAS      BERAZ                     UT          31022770968
4459BAA6261963   HILDA       IBARRA                    CA          46092250062
445B143325B551   ERIKA       IBARRA RUIZ               NM          90005134332
445B31A4991569   RICARDO     JAQUEZ                    TX          75040211049
445B4694251334   CRYSTAL     YOUNG                     OH          66026966942
445B485A933443   MARY ANN    FLOWERS                   AL          90014508509
445B5773572B36   DANIELA     HERNANDEZ                 CO          90013327735
445B588668B16B   MARION      KUNC                      UT          31038118866
445B595345B53B   SAMANTHA    HARTZOG                   NM          90006999534
445B649925B52B   ALICIA      PEREZ                     NM          90011514992
445B6592A72B36   MOSES       MICHAEL                   CO          90012185920
445B692835B52B   ANITA       MONTOYA                   NM          90012999283
445B716645B58B   MARIO       OTERO                     NM          35083841664
445B7327347954   IRMA        GONZALEZ                  AR          25069753273
445B828765B52B   ASENCION    GARCIA                    NM          90013832876
445B894378B165   MATTIE      MILLER                    UT          31046069437
445B926485B222   BRIANNA     BROWN                     KY          90013452648
445B9665661963   JADA        JACKSON                   CA          90006576656
445BB18985B597   LIZBETH     MEDINA                    NM          90002431898
445BB31815B53B   JENEVA      ESPINO                    NM          90008913181
445BB516961963   RONIKA      EURKS                     CA          90004405169
445BB712491351   BUBBS       BECERA                    KS          90004047124
445BB762872443   LINDSEY     WEIMER                    PA          90014857628
4461166614B271   SPENCER     GERARD                    NE          90014866661
44611673A72443   NICOLE      STOKES                    PA          51021476730
4461196A872B43   MICHAEL     ARCHULETA                 CO          33027859608
4461276524B271   TRACY       YOUNG                     NE          90006067652
446128A1472B36   SANDRA      CRAFT                     CO          90004708014
446129A495B174   STEPHANIE   ESTES                     AR          23047559049
4461372542B27B   SHEARICE    HOLTON                    DC          90014287254
44613766A61967   STEPHANIE   BEARSE                    CA          90011817660
4461466615B52B   LOURDES     SANCHES                   NM          36083596661
44614924A51326   JAMES       HENRY                     OH          90010239240
44615719872B4B   CURTIS      LOZANO                    CO          33066377198
44615849172B36   VERONICA    GOMEZ                     CO          33030478491
44616532A5B174   CHRISTINA   CHAPPLE                   AR          90014745320
4461765424B271   CHIRAH      HENLEY                    NE          90001866542
44618251972B43   CAMERON     BENDNARK                  CO          33078572519
44619741A5B52B   BRIAN       TALACHY                   NM          36099017410
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44621A36855939   JESUS        SANTOS                   CA          90012480368
4462229A961963   GLORIA       ENCISO                   CA          90012942909
44622413572B4B   BRIAN        STELMASZEK               CO          90014614135
44622A5372B87B   AMANDA       RANSFORD                 ID          41092410537
44624462A51334   EFREN        MERINO                   OH          90014864620
44624918272B24   KACIE        RUSSELL                  CO          90015199182
44624A44772B36   FRED         PFANNER                  CO          33019160447
44625A7422B828   BRADLEY      BARNETT                  ID          90003220742
44625A76272443   LORETTA      HARRIS                   PA          51016050762
4462614929152B   ADRIANA      ORTIZ                    TX          75014701492
4462657A772B36   LORENZO      TREJO                    CO          90009225707
446268AA572443   ERIN         BURSWORTH                PA          90015278005
4462694835B271   BRANDY       SMITH                    KY          90013759483
4462727654B592   APRIL        CASTILE                  OK          90015032765
44627595572B36   SCOTT        SCRIBNER                 CO          33012875955
446284A9361963   YANET        ROQUE                    CA          90014164093
446288AA751334   LAURA        GARCIA                   OH          90014548007
4462B43172B27B   JONATHAN     HARGRAVES                DC          90011494317
4462BA8515B222   ZINA         BETHAUNE                 KY          90013730851
44631A6125B52B   GABRIELITA   LUCERO                   NM          90005740612
446323A9272B43   TAMARA       CORDOVA-PEREZ            CO          33057183092
4463251AA5B58B   ROSALIA      MENDOZA                  NM          35089045100
4463254425B222   MARK         ECHOLS                   KY          90013515442
4463265355597B   DULCE        ZEPEDA                   CA          90005146535
4463288775B271   MALCOLM      CASON                    KY          90012508877
4463391865597B   MELISSA      RUIZ                     CA          90005799186
4463392195B53B   VIRGINIA     GARCIA                   NM          35051059219
44633A5915B52B   LUIS         DE LA ROSA ORTIZ         NM          90006370591
44634A8645B53B   PATRICIA     PAEZA                    NM          35085940864
4463644A891873   MICHELLE     MARTINEZ                 OK          21063454408
446368A2A31959   ROY          GORVIN                   IA          90014428020
44636A59A5B597   SCOTT        REID                     NM          90011840590
446388AA672B43   LARRY        WILSON                   CO          90004248006
44638A59A5B597   SCOTT        REID                     NM          90011840590
44639675472B4B   AESLEN       ROMAN-FLORES             CO          90015086754
4463985AA2B27B   METRO        TEEN AIDS                DC          90010268500
4463B22A672443   ROBERT       HONSE                    PA          90010622206
4463B258161963   DENISE       GOMEZ                    CA          90011332581
4463B623A5B597   PATRICIA     MADRID                   NM          35065086230
4464132225597B   JAVIER       BOLANOS                  CA          90008933222
4464193A191873   GABRIEL      BINGAMAN                 OK          90009989301
44641968A71949   JENNIFER     KUTHE                    CO          90010839680
446423A9291569   LILIA        DURON                    TX          75034613092
44642A55757B97   KELSEY       MCKISSICK                PA          90015040557
44643414A5B58B   CHINO        DARRELL                  NM          90014864140
4464365765B52B   JOSEPH       ZAMORA                   NM          90015096576
44643782372B4B   BRIDGEETTE   ANGUIANO                 CO          33012927823
4464581A591569   NATHALY      INFANTE                  TX          90002158105
44646244433B97   RODNEY       FERGUSON                 OH          90014252444
4464658665B52B   DANIEL       ARZATE MENDOZA           NM          36099215866
4464672885B222   MICHAEL      CARRICO                  KY          90012407288
4464721372B27B   PATRICIA     OWENS                    DC          81017522137
4464731452B87B   AARON        MATTES                   ID          41092413145
4464735745B174   CARLA        BROWN                    AR          90014163574
446475A4761963   EARLINE      LAUDERDALE               CA          46019155047
44648116372B36   NALLELY      CRUZ SANCHEZ             CO          33020941163
4464892195B52B   ISABELLA     CARCAMO                  NM          90012429219
4464963A15B52B   KIMBERLY     HOLYFIELD                NM          36074066301
44649752572B43   MANUAL       BUSTOS                   CO          33089467525
4464B16318B16B   JOSE         COREA                    UT          90012451631
446514A365B53B   PHILLIP      CRESPIN                  NM          35052464036
4465173465B52B   GRACIELA     RIVERA                   NM          90015197346
44651AA7272B4B   STACY        VALDEZ                   CO          90014740072
44652452372B36   ERIKA        REYES                    CO          33072254523
4465251535B222   RONISHA      MITCHEM                  KY          90003085153
4465333795B597   GIOVANNI     GARCIA                   NM          35037613379
4465358625B174   LASHANDRIA   WALTON                   AR          90009705862
44653932272B52   JASON        MAUCH                    CO          90000119322
4465493143B359   JESUS        PRIETO                   CO          90000259314
4465515775597B   JOSE         HERNANDEZ                CA          49009911577
4465573782B87B   TAMITHA      MURPHY                   ID          90014077378
44656414A61967   JOEL         GRIMALDO                 CA          46016434140
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446566AA872B4B   SUSY         CHOQUE                   CO          90011806008
446568A3271934   AMY          DUTCHER                  CO          90009318032
44657A1A84B566   KENISHA      WOODEN                   OK          90008470108
4465848225B222   SHAY         SLOSS                    KY          90002614822
44659385A71934   TANYA        JIMENEZ                  CO          90011843850
4465977238B16B   MARCUS       WORRELL                  UT          90014887723
4465B24515B222   TOYA         JOHNSON                  KY          90015162451
4465B376451383   DIANA        POLLARD                  OH          66015753764
4465B73645B52B   LINDA        ALEJO                    NM          90010307364
4466114A251383   KIEYONNA     ELLISON                  OH          66007471402
446612A295B52B   GRACIELA     NATSEWEY                 NM          90014632029
4466136312B27B   AMADOU       DIALLO                   DC          90005913631
446619A248B16B   SARAH        MATHIAS                  UT          90005699024
44661A9615597B   AARON        JONES                    CA          90015010961
44662354A5B52B   LORAINE      GIRON                    NM          90014633540
44662385A71934   TANYA        JIMENEZ                  CO          90011843850
44662951572B43   SERGIO       GUERRERO-JUAREZ          CO          33081129515
44663354A5B52B   LORAINE      GIRON                    NM          90014633540
446638AA572443   ERIN         BURSWORTH                PA          90015278005
4466466529155B   ESTELA       FLORES                   TX          90014076652
44664937A5B271   JAMI         ALCOCER                  KY          90013069370
44665725572B36   ALISHA       LEBLANC                  CO          33074317255
4466592784B271   WILLIAMS     LEAH SUE                 NE          27073289278
4466661724B271   ISSIS        TOME                     NE          90013256172
44667194A51334   DIANE        HAFFORD                  OH          90000881940
44667645572B36   RENEE        AMBROSEN                 CO          33032316455
44668275372B36   ISABEL       SARABIA                  CO          90011282753
4466858585B271   CHARLITA     JONHSON                  KY          68046825858
44668794A91873   JAMES        JORDAN                   OK          90010347940
44668838472B43   KATHERINE    GUERRERO                 CO          90014388384
4466922567B428   SANDRA       HECKSTALL                NC          90014302256
4466926765B259   MEGHANN      BOWMAN                   KY          90010662676
4466B86985B222   YVETTE       OWENS                    KY          90012788698
4466B98452B87B   LUIS         TOVAR                    ID          41094389845
4466BA13951334   CHERYL       NORED                    OH          90010120139
446714AA82B27B   KEARA        WEST                     DC          90013214008
4467174A35B597   PHIL         CATE                     NM          90010827403
4467218755B52B   RONNIE       ORTIZ                    NM          90013121875
4467249115B56B   BARBARA      SULLIVAN                 NM          35074854911
4467282A45B174   AMANDA       WILLIAMS                 AR          90007078204
44673385A71934   TANYA        JIMENEZ                  CO          90011843850
44673424672B43   EVERISTO     GUTIERREZ                CO          90014674246
44673A3A291569   MONICA       RUBIO                    TX          90013350302
44674345772B4B   MICHAEL      TRUJILLO                 CO          90001683457
4467464AA85981   GINGER       FOX                      KY          90001006400
4467545555B222   LATONYA      SMITH                    KY          90008494555
44675596572B4B   ALBERTO      AMARO                    CO          90005275965
4467569575B52B   SONIA        MONTOYA                  NM          90009916957
4467612715B271   MISTY        LORD-GENTRY              KY          90014701271
4467678372B87B   DANIEL       DIAZ                     ID          90015287837
4467722158B16B   WYATT        PETERSON                 UT          90015132215
4467845334B271   TRINIDAD     BARAJAS                  NE          90001534533
4467924558B654   THOMAS       TORRES                   TX          90015442455
4467954734B271   CAROLYN      PETERSON                 NE          27079935473
4467994555B271   JAZANA       LANIER                   KY          90008749455
44679AA1372B23   CHAVEZ       EDITH                    CO          33081050013
44681513572B43   KELVIN       AIRITA                   CO          90013575135
4468197755B58B   CYNTHIA      YOUNGER                  NM          90013309775
44683766A2B87B   MARCUS       HEIDENREICH              ID          90011217660
44683A6824B271   LEOBARDO     ALCANTARA MENDOZA        NE          27042970682
44683AA1872B43   RONNIE       MESSINGER                CO          33058430018
4468439A18B165   VICKY        STAKER                   UT          31086503901
4468495395599B   FRANK        BRIENO                   CA          48096279539
4468495625B52B   WYNONNA      ENDITO                   NM          36015529562
4468568615B58B   MARY GRACE   TRUJILLO                 NM          90001676861
44685752A5B597   ERIKA        FUENTES                  NM          90000987520
4468588334B271   LORETTA      DAVIS                    NE          27091458833
4468631345B52B   LETICIA      DELGADO GONZALES         NM          36005663134
4468641555B58B   MAURICIO     MIRANDA                  NM          90013934155
4468642A472443   AMBER        PAULSEN                  PA          90013574204
44687225A61963   VICTOR       BARRON                   CA          46029402250
4468765218B16B   DANIEL       TUCKER                   UT          31090106521
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4468775215B58B   KASSANDRA         HERNANDEZ           NM          90012647521
44687AA6A4B271   SAMANTHA          LIEGL               NE          90013510060
4468848A951334   TANYA             SMITH               OH          90013224809
44688A21772B4B   RIGOBERTO         GONZALES            CO          33020470217
4468B556A5B222   JAMILA            SCHULTZ             KY          90011065560
4468B59A12B87B   KASEY             LEVIS               ID          90014935901
4468B94972B27B   GABRIEL           MORALES             VA          90000379497
4469168615597B   MARIE             BISEL               CA          49021426861
44691988572B4B   MARIA             RIVERA              CO          33096569885
446936A575597B   JASON             WILLIAMS            CA          90013536057
44693735A2B87B   JENNIFER          COOK                ID          90015157350
446943A4672443   TRESA             GRINDLE             PA          51056293046
4469469444B271   SHERITA           MIX                 NE          27090606944
44694968A5597B   JANAE             HERNANDEZ           CA          90015239680
44694A4A68B16B   ROBERT            STEPHENS            UT          90000470406
4469526862B27B   JERRY             BLACKSTON           DC          81019732686
446955A3672B23   JOHN              SLATER              CO          33006345036
446955A495B52B   OCTAVIO           SAGREDO-RODRIGUEZ   NM          90013115049
44695868A5597B   TIANNA            COOPER              CA          90013468680
446961A5172B4B   STEVIE            SHANNON             CO          90005441051
44696246272B36   JOSHUA            CARRERAS            CO          90005692462
4469634875B222   MIKEQUESHIA       TYSON               KY          90015033487
446976A125B271   SUSAN             DINGES              KY          90012456012
4469771935B174   CHANELLE          SMITH               AR          23008587193
44698163972B4B   ADINE             HASSLER             CO          90012741639
4469846518B16B   JOHN              JOHNSON             UT          90009234651
4469B15392B87B   PAULA             KING                ID          41087741539
4469B628372B36   JOSE              CABRERA             CO          90014836283
4469B813251325   MARY              VETTER              OH          66060958132
4469B894A72443   VERONICA          MORNSON             PA          90009168940
446B147755B174   GABRIEL           NEWTON              AR          90014524775
446B1A67191569   CRYSTAL           MARQUEZ             TX          90013190671
446B2A59561963   BRENDA            MORENO              CA          46010710595
446B313745B174   JAKRISTREN        MARTIN              AR          90015281374
446B33A245B52B   ANTHONY           MARTINEZ            NM          90011023024
446B34A875B597   IVANNA            MAESTAS             NM          90006484087
446B3743172B36   SERINA            DURAN               CO          90012557431
446B375494B271   SOCORO            LUNA                IA          90012627549
446B385A672443   ASHLEY            ALLEN               PA          51036848506
446B4A65871934   BECKY             DURHAM              CO          90009790658
446B518A75B58B   GEORGE            YZQUIERDO           NM          90007051807
446B5335872B4B   PATRICK ANTHONY   GOMEZ               CO          90013623358
446B555A191351   JACQUES           BARBER              KS          29009285501
446B5717472B23   EDGAR             DE LA CRUZ          CO          90003417174
446B59A338B165   RAMONA            CHACON              UT          31094599033
446B635335597B   ROSA              MORALES             CA          90012503533
446B642525B58B   DARLENE           LEYBA               NM          35080454252
446B71A665B174   ROBIN             BOLTON              AR          90015211066
446B773672B27B   JOHANNA           AGUIRRE             VA          90012927367
446B7971A2B87B   SCOTT             CHARLES             ID          90010809710
446B7A52355939   MIGUEL            RUIZ                CA          90007810523
446B855562B87B   SAMANTHA          COOK                ID          90013005556
446B957735B597   GABRIELLE         LOPEZ               NM          35043165773
446BB2A6591873   JOHNETTE          SMITH               OK          90015262065
446BB449891569   GRISELDA          GARCIA              TX          75035974498
446BB653591992   PAMELA            HOLE                NC          90008486535
446BBA86A55939   PATRICIA          DOMINGUEZ           CA          90012930860
44711962572B36   JEFF              WHITE               CO          90013469625
44711A89A5B174   CANDIDO           DIAZ                AR          90014900890
4471225895B174   DWIGHT            CAVENESS            AR          23005742589
4471237495B52B   SONRISA           GONZALES            NM          36003883749
4471283A551334   VANESSA           CLARK               OH          66094518305
44712948A61963   RICHARD           GARCIA              CA          90014619480
44713476572B36   JOSE              GUTIERREZ           CO          33083104765
44714398A61967   GABRIEL           SANCHEZ             CA          46071923980
44714AA7961963   MARTHA            OLIVERA             CA          46024470079
4471564512B87B   CLINT             CAMSTER             ID          41032826451
44717126972B4B   RENEE             SMITH               CO          33042291269
4471718AA91569   BERTA             PERU                TX          75012131800
44717271A5597B   YVONNE L          MARTINEZ            CA          90007872710
4471939115B597   CLINTON           CHAVEZ              NM          35098333911
447193A425B174   MAURICE           MCELROY             AR          90013623042
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44719537472B31   PATRICIA    ORLOWSKI                  CO          90007215374
4471956A94B271   TANNER      GUIDO                     NE          90010195609
4471965292B87B   JOHANNA     MCRAE                     ID          90001696529
447197A435B58B   ALICA       KNEIP                     NM          35045287043
4471985AA72B4B   ROXANNE     RODRIGUEZ                 CO          90012668500
4471B15938B352   PAM         SAUNDERS                  SC          11012801593
4471B173655939   MYRA        SEPULVEDA                 CA          49075971736
4471B45278B16B   GLORIA      GONZALES                  UT          31089744527
4471B73342B27B   RASHAWN     ALEXANDER                 DC          90014117334
4472112815B52B   FELICIA     MONTANO                   NM          36080161281
4472155535B58B   SERGIO      ARANDA                    NM          90009325553
44721AA652B27B   SYLVIA      JOHNSON                   DC          81028790065
4472215A261967   KENIA       HEREDIA                   CA          90011821502
447222A9572B43   STEPHANIE   ARGUELLO                  CO          90005432095
44722A53151383   BRENDA      SERRATOS                  OH          66018740531
4472363562B27B   JONICE      ROBINSON                  DC          90012796356
4472415565B58B   KAREN       LUCERO                    NM          35074761556
44724929672B4B   SIDNEY      CORREY                    CO          90013319296
4472541555B53B   JOEL        ESQUIBEL                  NM          90008284155
4472551142B87B   JOSE        CONTRERAS                 ID          41061805114
44725976A72443   ELIZABETH   SHAFFER                   PA          90013349760
44726859A72B43   BIANCA      HERNANDEZ                 CO          33049838590
44726A39A61963   CHRISTNA    KIMBER                    CA          90013110390
4472724264B271   GABRIELA    CONDE                     NE          27014872426
4472746454B271   DOUGLAS     JOHNSON                   NE          90004534645
4472746A772B4B   LUPITA      MARTINEZ                  CO          33083284607
4472752565B271   THOMAS      BRANCH                    KY          68093805256
447275A1172B36   MICHAEL     ARLEDGE                   CO          33062985011
4472786365B271   MARKEISHA   WILLIAMS                  KY          90014918636
447284AA872B43   NICK        CARTER                    CO          90015524008
44728AA3491523   JESUS       RAMIREZ                   TX          90002060034
4472B442A5B52B   SERGIO      FIERRO                    NM          36096054420
4472B642491523   CHRISTINA   GUERRERO                  TX          90009286424
4472B717672B4B   JOSEPH      WOLF                      CO          90014307176
4473483914B271   ROBERTO     RIVERA                    NE          90007308391
4473557175B271   MARY        SEATON                    KY          68036645717
4473567322B27B   ULYSSES     WILLIAMS                  DC          90012786732
4473766A272443   JUSTIN      HART                      PA          90013776602
4473818755B52B   RONNIE      ORTIZ                     NM          90013121875
4473883A151334   MARK        HELLKAMP                  OH          66094528301
44738A24771934   FABIOLA     ALCALA                    CO          90002620247
4473924755B271   TEDDY       GREEN                     KY          68033332475
44739A85172B36   ALVIN       AYERS                     CO          33064750851
4473B14355B53B   XAVIEAR     ARMIJO                    NM          90014341435
4473B336361967   MEGAN       LEWIS                     CA          46048843363
4473B882872443   TANYA       BROOKS                    PA          90011598828
4473B958A6197B   CLAUDIA     ZAVALA                    CA          46018309580
447416A5591527   MILLIAM N   MORALES                   TX          90001686055
447422A185B52B   IDALIA      GRANILLO-CHAVEZ           NM          36090602018
44742722A2B27B   MELANIE     L RICKS                   DC          90012487220
4474279A58B163   ALLEN       WEST                      UT          90010957905
4474284425B597   CHRISTINE   ALMARAZ                   NM          35034618442
4474291785597B   MICHAEL     PARKER                    CA          49052169178
44743619A72B36   ARIEL       AVILA                     CO          90011886190
447439A735597B   ANDRES      HERNANDEZ                 CA          49006539073
44743A86747954   MICHAEL     SAMPLES                   AR          90014060867
4474422135B52B   VICTOR      FRANCO                    NM          90013122213
4474426A32B27B   DIANE       DAVIS                     DC          81016372603
447443A5271934   MIGUEL      ANGEL                     CO          32068453052
4474456715B58B   D'YANIRA    PEREZ                     NM          35091675671
44744A1A155954   RACHEL      FACIO                     CA          90013420101
4474574A591523   ALEJANDRO   MUNOZ                     TX          75055677405
4474595A972B43   JOHNIE      CORDOVA                   CO          90015259509
44745A48861963   ROMERO      GLORIA                    CA          46038350488
4474615252B87B   CHRISTINA   TROWER                    ID          90014261525
44746468A85949   KATHY       BAKER                     KY          67012864680
44746A17157122   AHMED       HUSSIEN                   VA          81006740171
4474771942B27B   SASHA       LEI                       DC          90012787194
4474781835597B   BEATRIZ     HERNANDEZ                 CA          90014138183
44747A4915B58B   CARLOS      MEDRANO                   NM          90010770491
447484A135597B   JOVANY      GORDO                     CA          90014744013
44748821372B4B   MARTINEZ    SALVADORE                 CO          90010038213
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4474986315B222   TERRY       SNORTON                   KY          68022268631
4474BA22561938   ALICIA      DONALD                    CA          46018380225
4475133725B52B   AYSSLIN     MARIN                     NM          90014163372
44751A68471999   JACK        MEDINA                    CO          38095450684
4475261725B52B   ELIZABETH   SANTIAGO                  NM          36028996172
44752A24272B4B   ADRIANA     CUEBAS                    CO          90004690242
4475344738B16B   CHEREE      MURRAY                    UT          31091284473
4475362785B53B   PAMELA      CHEROMIAH                 NM          90014836278
447543A6458528   TERRY       HALL                      NY          90015473064
4475466A15B222   NISHA       DAVIS                     KY          68000266601
4475511682B87B   RYAN        JEWELL                    ID          90011191168
4475576A972443   RONNIE      SUTTON                    PA          51083167609
44755A18A72B4B   TIYANA      LOPEZ                     CO          90008300180
4475611A75B398   ELLISON     JAMES                     OR          90004281107
4475633485B271   JAQUITA     KIMBLEY                   KY          68015033348
4475641498B166   JAMES       HANKS                     UT          90006724149
4475672A891873   KAREN       COLE                      OK          21086217208
44756783372B36   RIGO        RODRIGUEZ                 CO          90011107833
44757125172B43   APRIL       MARQUEZ                   CO          90010121251
4475748248B16B   ROBIN       KREISSLER                 UT          90010524824
4475763292B87B   BROOKE      JOHNSTON                  ID          41053386329
447583A9155939   RACHEL      REQUEJO                   CA          49094243091
4475878115B174   JOSE        OJEDA                     AR          23013327811
4475942712B87B   ED          MAKI III                  ID          90008634271
44759629372B43   TRAVIS      ROTH                      CO          33008126293
4475B119432586   JANLYN      BEGGS                     TX          90015351194
4475B2A715B271   ANTOLIN     MARTINES                  KY          90012752071
4475B417961967   MICHELE     OKA                       CA          46025334179
4475B49488B16B   JAIME       RIVERA                    UT          90014484948
4475B659451334   AMY         STAMPER                   OH          66026636594
4475BAA9361963   JOSE        RAYA                      CA          46074460093
4476157854B271   MAXINE      MARTINEZ                  NE          90003865785
44761629372B43   TRAVIS      ROTH                      CO          33008126293
4476282A172B4B   ARMOND      MARON                     CO          33000858201
44762A14491351   ESPINOSA    WILBER                    KS          90003060144
4476344A172B4B   JAMES       LANG JR                   CO          90014114401
4476412365597B   ANNETTE     NICHOLES                  CA          90012131236
44764153972B36   CHRISTINA   JONES                     CO          90013651539
447648A195B53B   RODDY       HUGHTE                    NM          90013138019
447655A6172B43   DOMINIC     BARRIENTOS                CO          33061955061
4476573494B541   LATISHA     PHIPPS                    OK          90011097349
447669A2772B4B   ELIZABETH   MENDEZ                    CO          33086609027
44767896272B36   JOSE        GONZALES                  CO          90001148962
4476983695B52B   ADRIANA     MONTOYA                   NM          36010978369
4476B19445B222   AUSTIN      KELLY                     KY          90014811944
4476B823191873   VALERIE     NASH                      OK          90010348231
4476B925884369   VANESSA     WALLACE                   SC          90004169258
4477136235B264   CHERYL      JAGGERS                   KY          90007643623
44771464372B4B   MARIIA      GONSALES                  CO          90013274643
44771876685B45   LAKISHA     DAVISON                   FL          90011858766
4477219962B87B   THERESA     THOMPSON                  ID          41067841996
4477239158B16B   EVANS       SAMUEL                    UT          90001283915
4477247915B53B   RUTH        ORDONEZ                   NM          35027784791
4477278A555939   GARY        LEE                       CA          49069347805
4477296545B52B   SALLY       TORRES                    NM          36054319654
4477316444B541   EDWIN       LOPEZ                     OK          90009691644
44773A8679155B   KRISTINE    MURDOCK                   TX          90008490867
4477438792B27B   XAVIER      WYNN                      DC          90014103879
447743AA451334   MARIELA     JUAREZ                    OH          90009943004
44774575772B43   ESPERANZA   CARRILLO                  CO          33013715757
44775795A72443   ALFRED      GRIMM                     PA          90013947950
44775A3645B174   LAJOY       WHITE                     AR          90000810364
4477672865B53B   JOSE        MERCADO                   NM          90013577286
4477713798B121   BRADLEY     DUFFIN                    UT          90009281379
4477729225B597   ROSENDO     MEDINA                    NM          35079262922
4477737A68B16B   LISA        GAFFNEY                   UT          31001373706
4477746445597B   YENG        YANG                      CA          90004044644
4477795A95B271   VINCENT     SALTSMAN                  KY          68033319509
4477819725597B   OCTAVIO     LARA                      CA          49017601972
447796AAA91943   MICHAEL     BOONE                     NC          90015096000
44779A31633443   TAWANNA     BEDGOOD                   AL          90014860316
4477B141891351   MOSES       TODD                      KS          90014121418
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4477B524591873   CHEYENNE     HAMILTON                 OK          90013395245
4477B562655997   ELVIA        QUINTANILLA              CA          90001475626
4477B63985B58B   MONICA       VALENZUELA               NM          90007856398
4478113195597B   MERANDA      LUJAN                    CA          49068531319
4478131625B271   MICHELLE     ABERNATHY                KY          90008103162
44781A38433443   TAWANNA      BEDGOOD                  AL          90014860384
4478218695B53B   PAULA        DEANE                    NM          35033811869
44782374A77535   MARIA        MEZA                     NV          90013483740
4478344559126B   SHALONDA     MAXWELL                  GA          14547464455
4478369A291351   MYNOR        DIAZ                     KS          90005206902
4478388438B16B   SALVADOR     GUERRERO                 UT          90010918843
4478525545B53B   DEBBIE       KLEM                     NM          90002662554
44785283A91569   ILEEN        BARRERAS                 TX          90007282830
4478651295B52B   JAZMIN       LARA                     NM          90014165129
44786825372B36   WARC         WALKER                   CO          90008668253
44786851672B43   DIANA        PACHECO                  CO          90003188516
44786A56951382   DEBORAH      POLK                     OH          90008920569
44787A18391351   DAMON        LORD                     KS          90012580183
44788749372B4B   MICHAEL      RIGGS                    CO          33090427493
44788A9A372443   SHIELA       BECKNER                  PA          51056260903
44789471972B36   ALEXIS       FILIPPI                  CO          33097594719
44789A75591351   CLAUDIA      MOREIRA                  KS          29037590755
44789A9A641241   JULIA        ROCHE                    PA          90011770906
4478B325553966   BRANDON      VILLINES                 OK          90009493255
4478B562A8B14B   JEROMY       KEMP                     UT          31063005620
4478B662755939   ANN          BONIAS                   CA          90014956627
4478B712972B36   WANDA        ALVARADO                 CO          90014877129
4478B81865B53B   RHEALYNE     NAVARRO                  NM          90010058186
4479184335B52B   EVELIN       JAQUEZ                   NM          36070988433
44792436A61963   VICTOR       MEJIA                    CA          90014824360
44792A6125B52B   GABRIELITA   LUCERO                   NM          90005740612
447931A8971934   ROSA         FRANKO                   CO          90010431089
4479375195B58B   MARTHA       MUNOZ                    NM          90013487519
4479443225B222   MAILE        TURNER                   KY          68012814322
44794631172B36   LIMELDI      ARCHULETA                CO          33000686311
4479497A75B58B   LISA         CHAVEV                   NM          90005289707
4479564A62B27B   LINDA        SMITH                    DC          90008556406
44795A5597B426   ALEXANDER    MACHADO                  NC          90007530559
44795A73491351   JESSE        WILLIAMS                 MO          90014320734
44796AA7191873   JOYCE        JEFFERSON                OK          21037770071
4479831AA5B53B   NICOLE       MARTINEZ                 NM          35080493100
44798727572B4B   ROSA         HERNANDEZ                CO          90004507275
447991A8291873   HUGO         HIDALGO                  OK          90013321082
4479955165B597   CHRISTENA    NUNOZ                    NM          90008685516
4479964634B539   DENISE       GRESHAM                  OK          90011036463
4479995275B588   JOSE         CAPRIO                   NM          90004429527
44799A3298B16B   RANDY        MARYBOY                  UT          90012950329
4479B133133443   QUANISHA     BAKER                    AL          90014861331
4479B274A5B58B   DESTYNI      PADILLA                  NM          90012072740
4479B4A5151334   TAMMY        DUPLER                   OH          66002704051
4479B845A72B4B   MICHAEL      CRANKFIELD               CO          90014808450
447B1576155939   MELINDA      LOPEZ                    CA          49094285761
447B193535B52B   SANTIAGO     MELERO                   NM          36092039353
447B199A972443   PERRY        WELLING                  PA          90009949909
447B2A9582B87B   JOHN         MOORE                    ID          41047540958
447B381965B222   JOSHUA       BISHOP                   KY          90010708196
447B4378A8B16B   MARTINEZ     ANGELA                   UT          31016423780
447B4A1175B53B   SHIRLEY      HIELO                    NM          35005970117
447B5431593769   TINA         JACKSON                  OH          90003694315
447B5919A61967   GUERREO      RAUL                     CA          46073589190
447B592158B16B   SERENA       PETERSON                 UT          31096079215
447B6431791569   ALEJANDRA    PONCE                    TX          90015274317
447B64A8491523   JESSICA      GALLARDO                 TX          90008714084
447B6514361967   DEBRA        MILLER                   CA          46006655143
447B656118B165   TAMMY        LOERTSCHER               UT          31049505611
447B6692691873   JAMES        CARTER                   OK          90012776926
447B77A6A71999   ANDRAYA      VIGIL                    CO          38063817060
447B8178251383   JEREMY       WILDER                   OH          90000981782
447B8597761963   DALE         JACKSON                  CA          90011135977
447B863214B271   PATRICIA     GONZALEZ OROZE           IA          90012026321
447B8779791351   SHAKIVA      SMITH                    KS          90014727797
447B889555B222   RACHEL       RAISOR                   KY          90000258955
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447B9762A5B53B   CATALINA      MORENO                  NM          35083517620
447B985915B271   CHARLENE      PATTERSON               KY          68000838591
447B9AA6555982   CHRISTOPHER   JOSLIN                  CA          90003730065
447BB164A2B259   MARIA         MARROQUIN               DC          90011691640
447BB56395B271   SHAWMEKA      LESTER                  KY          68094835639
4481286778B165   LAYNE         HARTVIGSEN              UT          31006728677
4481357715B58B   CLAUDIA       RODARTE                 NM          35063005771
4481393A347954   LILIANA       ALDACO                  AR          25084419303
4481414115B53B   RAQUEL        MUÑOS                   NM          35004861411
44815555872B4B   JUAN          PEREZ                   CO          90011965558
44815987A5138B   JOSHUA        FORQUER                 OH          90014409870
4481616965597B   CRYSTAL       SUAREZ                  CA          90007371696
44816A4528B16B   PAMELA        STRAIN                  UT          31098620452
4481753485B222   TYARAI        HARRIS                  KY          90014635348
4481987895B58B   IRMA          DIAZ                    NM          35067458789
4481B37397B262   SIMONE        ZUNIGA                  CO          90011793739
448211A1772434   THOMAS P      RAVASIO                 PA          51090051017
4482124285B52B   JAVIER        MANRIQUEZ               NM          36006392428
44822216A72443   DAVID         BURNSWORTH              PA          51046162160
4482357582B87B   NICHOLE       FRANK                   ID          90014995758
44824361A5B259   TIMOTHY       LAIRD                   KY          90006443610
44824691272B4B   EDGAR         HERNANDEZ               CO          90001096912
448255A9891569   ALDO          REGALADO                TX          90014875098
44825862A93755   TRISHA        ADAMS                   OH          90010968620
44825A2946197B   ALBERTO       MARQUOZ                 CA          46018310294
4482637262B27B   FITIMIAH      DAVIS                   DC          90008893726
4482678125B222   SEAN          BERRY                   KY          90001517812
4482778375B174   VICTORIA      GREENLEE                AR          90008417837
4482791A74B271   KRISTIAN      STEITZER                NE          90015219107
4482815665B58B   DANIELA       WONG-MOTA               NM          90009621566
4482865A45B53B   NATASHA       CHAVEZ                  NM          35011316504
44828776A72443   CHARLES       WISE                    PA          90011637760
4482B696791351   CARLOS        PEREZ                   KS          90014846967
4482B783772443   WENDY         REESE                   PA          90005437837
4482B7A5A5B52B   KELLEY        MORGAN                  NM          90013947050
4483114438B16B   JOSE          MEJIA MONTEMAYOR        UT          31086351443
44831812272B36   MICHELLE      BAILY                   CO          33097238122
4483191318B165   ANDREA        PLANTE                  UT          31016609131
44833669A8B16B   NANCY         BATRES                  UT          31020296690
4483444A372443   ROXANN        FRONIUS                 PA          90014814403
4483499A92B27B   ADRIA         VARGAS                  VA          90012229909
448349A8172B43   VANESSA       SALGADO                 CO          90013079081
4483666415B597   MARTIN        AGUIRRE                 NM          35095666641
44837119A8B165   FELIX         MORAN                   UT          31085811190
44837A59691569   RICARDO       LOPEZ                   TX          75001070596
448382A295B52B   GRACIELA      NATSEWEY                NM          90014632029
4483852312B27B   TIMOTHY       MOOTEN                  DC          90015265231
4483859968B16B   JARED         PANTER                  UT          90010765996
4483878365B52B   JOSE          RODRIGUEZ               NM          90005677836
4483896794B271   MARY          BUTLER                  NE          90007259679
4483973655B52B   JOHN          QUINTANA                NM          90013947365
4483B13358B16B   KATHLEEN      THALMAN                 UT          90013841335
4483B7A3891873   GEORGETTE     JONES                   OK          90008977038
4484121A772B36   AXEL          OLIVAS                  CO          33016332107
4484191645B222   VALERIE       RUCKER                  KY          68095689164
44841A55891569   ROCIO         HERNANDEZ               TX          90000510558
44841A8298B165   VIRGINIA      PEREZ                   UT          90009860829
4484279962B27B   JANSEN        VERA                    DC          90010267996
4484393A191873   GABRIEL       BINGAMAN                OK          90009989301
44844147572B43   GABRIEL       MAES                    CO          90015441475
44844A81972443   GARY          BROOKS                  PA          90003390819
4484735335B174   PHILLIS       MANGRUM                 AR          90011613533
44849A77651382   SARA          GORFE                   OH          66086640776
4484B82565B58B   LUPITA        AVILA                   NM          90010668256
4484B842261967   JOE           CARRILLO                CA          46044678422
4484B942191873   JAMES         LEE                     OK          90012139421
4484B97595B52B   CANDACE       DELGADO                 NM          90014729759
448517A2A72B43   OSCAR         MERCADO                 CO          33061257020
4485192A25B53B   DAX           CUMBIE                  NM          35052349202
44851A63472B43   ANA           MARTINEZ                CO          90014770634
4485215558B165   FABIAN        ESPINOZA                UT          90005711555
448521A9561963   ELFEGO        BECERRA                 CA          90013621095
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4485413738B16B   OSMAR        HERNANDEZ                UT          90013841373
44854756A5B271   BEVERLY      HARP                     KY          68089517560
44855975A5B271   ROBERTS      MARSH                    KY          90003069750
44856A3A65B597   MORGAN       TUMLINSON                NM          35003200306
4485725725597B   MANUEL       GARCIA                   CA          90007782572
4485747274B271   VILMA        LORENA                   NE          90009844727
4485755135597B   LOGAN        GONZALEZ                 CA          90015415513
4485776A191873   MILTON       REYES                    OK          90004497601
44858179472B43   ANGELO       DEHERRERA                CO          90010831794
4485858125B375   CAROLINE     FOSTER                   OR          90014655812
4485916795B58B   DAWN         HERNANDEZ                NM          35097271679
4485932515597B   JERICA       SANCHEZ                  CA          49082663251
4485942935B53B   JEREMY       LEEWAY                   NM          35072864293
4485B165647954   RUBONIA      MCKIBBEN                 AR          25078831656
4485B511691569   RICHARD      BASS                     TX          90011895116
4485BA76891523   ANA          ALFARO                   NM          75000740768
4486123565B271   MELINDA      DATTILO                  KY          90007932356
448612A242B27B   TIFFANY      COWSER                   DC          90011102024
44861358A51348   TONY         PRUITT                   OH          66092373580
44861A4372B84B   ABDELKARIM   OMER                     ID          90014380437
44862941A72443   LUCAS        VICTOR                   PA          90005439410
4486335766197B   LORENA       ESTRADA                  CA          46098103576
44863552172B36   DOMINIC      MARTINEZ                 CO          90012315521
4486385752B27B   STORM        KILPATRICK               VA          90013618575
4486396874B271   JAYDEN       MERRILYN                 NE          90015499687
4486467184B271   SHANE        MEISINGER                NE          90013336718
4486468125B52B   CHARLES      MITCHELL                 NM          90007516812
44865218A5B271   CEDELL       FRANKLIN                 KY          90013712180
44865569A61963   VANESSA      CASTILLO                 CA          90012955690
44865AA345B53B   MICAH        LELUGAS                  NM          35006410034
4486631AA55939   EUGENE       BLUE                     CA          90014723100
4486724342B27B   KENNETH      MORROW                   DC          90014582434
448672A898B16B   STEVEN       PRICE                    UT          90013132089
4486744728B16B   STEVEN       PRICE                    UT          90009044472
4486766A461963   JESSICA      CASTRO                   CA          90010546604
4486852245B222   JEREMIAH     KIMBALL                  KY          90011185224
4486872665B52B   PAULA        COUCHMAN                 NM          90013987266
448687A1A91523   RICHARD      FRANCO                   TX          90011257010
4486936A95B52B   BRENDA       BELTRAN                  NM          90013143609
44869651472B4B   JONATHAN     BYRD                     CO          33091906514
4486B19A35597B   SOPHIA       PEREZ                    CA          49071351903
4486B67145B58B   EFREN        ARVISO                   NM          90012046714
44871331372B43   KIANA        YOKUM                    CO          90002623313
448717A898B165   JACOB        NEILSON                  UT          90006697089
44871A1568B16B   STEVEN       CONNER                   UT          90011310156
4487213185597B   ERIC         ESTRADA                  CA          90014641318
4487219255B271   MICHELLE     COOMER                   KY          68092511925
4487355395B53B   VICTORIA     BUSTAMANTE               NM          90012525539
4487393155B597   KRISTINA     BARRIOS                  NM          90004459315
44873A92A5B222   NIKITA       FREEMAN                  KY          90011170920
44874376A71934   DEANNE       BEATTIE                  CO          90007853760
4487472328B165   SMITH        RAYNOR GORDON            UT          90005977232
4487527965B52B   ANDREA       ARCHULETA                NM          90010712796
4487588385B53B   TIANA        SEDILLO                  NM          35041238838
448767A485B222   VAKEISHA     KNIGHT                   KY          90011497048
4487739365B174   SHEQUITA     DOTSTRY                  AR          90015203936
4487781215B271   PHYLLIS      BECHTLOFF                KY          90013778121
4487794A15B597   DANIEL       GONZALES                 NM          35029489401
44877974A91569   RUBY         CEDILLOS                 TX          90000889740
44878425572B4B   ERNESTINA    RODRIGUEZ-IBARRA         CO          90003444255
4487915415B271   TONY         WOODS                    KY          90011621541
44879563A55939   RAYMOND      ORTEGA                   CA          90014825630
4487964A172B4B   JENNIFER     SEYMOUR                  CO          90007526401
44879A5A22B87B   DEVIN        MCCONNELL                ID          41033690502
4487B138961967   MONIQUE      THOMAS-HICKSON           CA          46050801389
4487B59815B222   BRYAN        LUTTRELL                 KY          90014875981
4488143564B592   KAKAWANA     GARRETT                  OK          90009674356
44882158A8B157   CASSANDRA    NAVARRO                  UT          90012631580
448822A1572443   MICHAEL      SHERWOOD JR              PA          90010162015
4488292245B52B   PEDRO        CUELLAR                  NM          36081789224
4488353938B165   RYAN         KING                     UT          31036455393
448837A185597B   DOUA         THAO                     CA          90015157018
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4488457818B836   JUANITO           TAN                 HI          90015135781
448847A185597B   DOUA              THAO                CA          90015157018
448847A1A71934   NILDA             GONZALEZ            CO          90012927010
44884828572B43   EZEKIEL           GARCIA              CO          90006298285
44885223272B43   ANTJUAN           BOULDIN             CO          90012832232
448858A985B174   WILLIE            GAINES              AR          90005478098
4488595595B53B   JEANETTE          LOPEZ               NM          35062809559
4488642525597B   MARY              ISRAEL              CA          90013044252
4488751225B58B   BENJAMIN          CAMBRIDGE           NM          90011865122
448883A5961967   MONYETTE RENAY    JOHNSON             CA          90012773059
4488877272B27B   CLINTON           CARROLL             DC          90013407727
44888862672B4B   AMBER             SIMPSON             CO          33010668626
4488928A85B271   SHAQUITA          VICHERS             KY          90014712808
44889A95191569   ANTHONY           NAVARRO             TX          90009160951
4488B21988B165   JOSIE             HERRERA             UT          31074332198
4488B346772443   JOHN              CAMPBELL            PA          90011093467
4488B777A61967   ESTELLA           RAMIREZ             CA          90011857770
4488B84717B422   SAMANTHA          LOCKLEAAR           NC          90011818471
4488B86975B242   NINA              CRIDER              KY          90012428697
4488B941751326   CAROLYN           JONES               OH          90005679417
4488BA9765597B   VANESSA           MENDOZA             CA          49060750976
44891143A4B271   DORIAN            ANDRADE             NE          90014461430
4489141755B52B   STEPHANIE         PAYNE               NM          90011534175
4489151337B48B   TRACEY            LUCAS               NC          11017905133
44891616872B4B   TYSON             REED                CO          90010986168
4489239525B174   FREDDY            GIBSON              AR          90004833952
448932A645597B   ANA               MARTINEZ            CA          90008632064
448932A912B27B   ANNETTE           SPENCER             DC          90002342091
4489338A65597B   GUADALUPE         LOZA                CA          90015493806
44893532372B36   JOSE LUIS         JIMENEZ-MARITNEZ    CO          33043865323
448935A355B174   JERRY             ASHMORE             AR          90014405035
44894335672B4B   MONICA            FLORES              CO          90012403356
4489473618B16B   WESTLEY           YEE                 UT          90012907361
44894A1A191873   JERRICA           SMITH               OK          90010110101
44895A94A5B222   JAMES             WILBERT             KY          90011170940
44896335872B4B   PATRICK ANTHONY   GOMEZ               CO          90013623358
4489678AA72B43   GERMAN            MEZA                CO          90011187800
448969A5972B4B   SELINA            ARMENDARIZ          CO          33003059059
44896A78755939   LUIS              LOPEZ               CA          90015120787
44897384572B43   CARMEN            GUILLEN             CO          33040703845
44897732A71921   JUSTIN            CHARTER             CO          38035307320
4489828455B52B   REGINA            VILLALOBOS          NM          36054842845
4489833828B16B   TANIA             ELDER               UT          90008753382
448983A9672B4B   SEVERIANA         CHAVARIN            CO          90010903096
44899153A5B52B   ISAAC             GUTTIERREZ          NM          90013151530
44899815A61963   KEVIN             JONES               CA          46007228150
4489B484791569   LINDA             CASTILLO            TX          90013214847
4489B7A4291523   JOSE              REYES               TX          90009287042
448B1475A51334   SHANNON           PIKE                OH          90002824750
448B1551991523   JOSUE             PENA                TX          90012365519
448B17A5271934   ESTEBAN           SOLANO              CO          90009487052
448B1856554151   LACEY             CANNON              OR          47016518565
448B2732191873   NASHONTA          SAMUELS             OK          21073627321
448B2914572443   TIM               WATT                PA          90014299145
448B3581591873   RHONDA            HUFFMAN             OK          90010945815
448B463492B27B   RAHEEM            MATTOX              DC          81004466349
448B464638B165   JESSE             BROWN               UT          31016596463
448B4739191873   ALISON            ROSE                OK          21035527391
448B48A998B16B   ERIKA             WOODWARD            UT          90013008099
448B493225B249   RICHARD           ENYARD              KY          90015239322
448B5781441258   RUSSELL           ESHMAN              PA          90002857814
448B6647461927   ROSALEE           MEDINA              CA          90013656474
448B6896171934   MIGUEL            MARTINEZ            CO          90014488961
448B7395855939   APRIL             FANE-HARDEN         CA          49061763958
448B7517561963   MIRTA             NORIEGA             CA          90012955175
448B7528491569   MAYRA             RIVERA              TX          90007855284
448B777442B27B   JUSNITA           DORSEY              DC          81017607744
448B78A3691351   FRANCISCO         CHAVEZ              KS          90013488036
448B8463991873   ZENOBA            MAXEY               OK          21029364639
448B8835247954   KELLY             HANNERS             AR          90009738352
448B91A145B222   JAQUICA           EDWARDS             KY          90010831014
448B9284891569   HECTOR            PIEDRA              TX          75099062848
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448B9353472B4B   MICHON      ARAGON                    CO          90005923534
448B94A298B16B   TREYVON     ARCH                      UT          90010714029
448B96A625B174   KIMBERLY    MUSGROVE                  AR          90009256062
448B9A72271934   ANDREW      CORRION                   CO          90011700722
448BB38465135B   SHERRILL    WALLACE                   OH          66071513846
448BB3A315B271   TIESHA      CALBERT                   KY          68031203031
448BB779A61967   SYDNEY      SWEAT                     CA          90001497790
4491115312B87B   DALLAS      FREDRICKSON               ID          90013421531
44911166672B4B   ISIDRO O    ROQUE                     CO          90013171666
4491136235B52B   BRENDA      SALMERON                  NM          36007853623
4491284725B53B   HUMBERTO    MARQUEZ                   NM          35055428472
4491417255B222   CLARENCE    DICKERSON JR              KY          68095701725
4491438845B271   KATIE       GOSSER                    KY          90013653884
449149A1851334   STEPANY     TRIVINO                   OH          66068489018
44915618A72B36   LEANN       GARCIA                    CO          90004996180
4491574944B271   DOROTHY     DROZ                      NE          27098387494
449157A825B222   DYLAN       COOPER                    KY          90008507082
44915A3659372B   CHRISTINA   GREENE                    OH          90007370365
44916A44A5B222   DERRICK     SHORT                     KY          90013030440
44916A87391569   SAMANTHA    VASQUEZ                   TX          90015100873
44917445372B36   JON         CARLSON                   CO          33027764453
4491831A14B271   CASANDRA    BENJAMIN                  NE          90008453101
4491B11A18B16B   ALEJANDRA   FRANCO-SALAZAR            UT          31002881101
4491B261672B43   CHERYL      JORGENSEN                 CO          90014072616
4491BA87361963   CLARENCE    MITCHELL                  CA          90007260873
44921547172B43   TODD        FERGUSON                  CO          33074385471
44921A6795B58B   VICENTE     CHIMENTO                  NM          90015140679
4492219348B16B   JASON       TORREZ                    UT          90006071934
4492242725B174   RHONDA      HOLMES                    AR          23083664272
4492254435B58B   LYNSEY      GRAVES                    NM          90012225443
44922A3A55B271   TROY        NEARN                     KY          90002250305
449238A925597B   CHRITIAN    NOVELA                    CA          90010548092
449247A9991523   JUAN        CARPIO                    TX          90009287099
449255A4672443   TARA        KIMMEL                    PA          90010205046
4492647915B58B   JUDY        SANTISTEVAN               NM          35041484791
4492782714B271   JESSE       STUHR                     NE          90001978271
4492896265B597   MELISSA     BACA                      NM          90001829626
449289A164B271   KHAERY      AL-DOSARY                 NE          27069019016
4492935185B271   KEVIN       WHITEHOUSE                KY          68062523518
4492988668B157   CHANTEL     GEURTS                    UT          31064038866
4492B447791569   DOLORES     MARTINEZ                  TX          90014004477
4492B665891351   JARROD      MORGAN                    KS          90009326658
4492BA23891523   KARLA L     REYNA                     TX          75055720238
44931171A41233   ANDREW      FILBERT                   PA          51082981710
4493148214B271   AMY         BERRY                     NE          27052304821
44931A15A61967   HYDEE       ALDAS                     CA          90011830150
44931A51791523   TERESA      VASQUEZ                   TX          90007020517
4493268A85B52B   RUBEN       DOMINGUEZ                 NM          90014646808
44933932776B22   SAUL        LORTIZ                    CA          90001309327
4493398852B27B   SHAUNTA     JACKSON                   DC          90000409885
44933A58391549   RAUL        HERRERA                   TX          90011840583
449341A218B16B   JENNIFFER   SANSLOW                   UT          90011091021
4493496485B53B   YVETTE      SANCHEZ                   NM          35062809648
44935349A8B16B   GERARDO     OCHOA                     UT          90010013490
44935A13372B36   MATIN       CROCKER                   CO          90014780133
4493618218B183   ANGELA      MCLEOD                    UT          90013551821
449385A5191569   LUCY        MENDOZA                   TX          75077755051
44938675A8B16B   MERCADI     CARLSON                   UT          90014846750
4493882815B222   SHERRY      HOLLOMAN                  KY          68004188281
44938927672B43   LIZBETH     RODRIGUEZ                 CO          33025139276
4493929A72B87B   DONALD      PETERSON                  ID          90009822907
4493988668B165   CHANTEL     GEURTS                    UT          31064038866
4493999145B271   JASMINE     EMBERS                    KY          90015009914
44939A13A72443   EDNA        BUSH                      PA          90013930130
4493B283272B43   TRACEY      GUTIERRES                 CO          90010882832
4493B32A191523   ALICIA      ANGELICA LEZA             TX          90010503201
4493B439951334   MICHAEL     WILLIAMS                  OH          66014564399
4493B46A571934   KAY         MARTIN                    CO          90005204605
4493B527172B36   REYES       LUJAN                     CO          33095395271
4493BA14272443   NIKKIA      KARPEL                    PA          90011840142
4494119432B27B   HOBER       MORENO                    DC          90009981943
449411AA471934   CECILEE     STEELE                    CO          90002801004
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4494424535B58B   CARLOS      DE LIMA                   NM          35098832453
44944253172B4B   STAY        NATIVE                    CO          90013932531
44944889272B36   MARIO       ARROYO SOLIS              CO          33041068892
4494514215B52B   SAMANTHA    ALCON                     NM          90013951421
4494642297122B   MANUEL      CHASINGHAWK               IA          90014584229
4494692A351334   JAMES       HARRISON                  OH          90010319203
44947A15391873   EUSEBIO     VILLEGAS                  OK          90010020153
44947A8255B53B   DANIEL      PADILLA                   NM          90015180825
4494817A491569   ANAMARIA    NARCIZO                   NM          90001911704
4494887AA55939   HILBERTO    CRUZ                      CA          90003698700
4494891195B52B   DENISE      MARTINEZ                  NM          90007959119
44948A9838145B   JACKIE      JONES                     PA          90012140983
44949556A5B174   JACQULYN    HARRISON                  AR          90001045560
44949955A72B36   LISA        CEDILLO                   CO          33046229550
44949A78961967   KASH        BUTLER                    CA          90011830789
44949A86A91569   LUCCERO     COTRRRAS                  TX          90012040860
4494B243591569   IVAN        JURADO                    TX          90008892435
4494B561691873   HARMANDO    CHAVEZ                    OK          21061265616
449523A5491569   MARIA       DUNDORE                   TX          75059633054
44952559272B43   CHANTELLE   SCHOOLCRAFT               CO          90013455592
44952799872B36   PAUL        LUCERO                    CO          90013377998
449532A752B87B   WARREN      TAINTER                   ID          90011442075
449533A9371969   BETHALENA   YARGER                    CO          90014413093
4495488815B174   JOCKE       WILLIAMS                  AR          23055708881
44954A7745138B   DEDRA       HERALD                    OH          90010600774
4495556142B27B   ROYCE       CAMP                      DC          90009635614
4495588825B58B   KIMBERLEE   ROGERS                    NM          90000608882
44955A54772443   WILLIAM     NICHOLSON                 PA          90013930547
44955A8935B174   SAMMIE      WHITE                     AR          90014900893
44956215872B4B   GENEVIEVE   PEREZ                     CO          33070892158
44956A3A272B22   DONATO      GRIECO                    CO          90011340302
44957722172B4B   JESSIE      CARROL                    CO          90014307221
4495827175B58B   YOLANDA     ESPINOSA                  NM          90011352717
449585A295B222   STEPHANIE   STARRETT                  KY          90015245029
4495915452B87B   JUSTINA     WAY                       ID          90014181545
4495BA8A155939   JUSTIN      MONTOYA                   CA          49097210801
44961257572B4B   JAIR        MARTINEZ                  CO          90013932575
4496185595B52B   ALEJANDRO   GUILBE                    NM          90013178559
4496372235B52B   HOWARD      GONZALES                  NM          90014657223
449637A9631655   JAMES       BRUCE                     KS          90005087096
4496388782B87B   PENNY       PUPO                      ID          90001578878
4496412542B84B   BIRHANE     TEKLE                     ID          90014591254
4496442515B58B   PAT         MITCHEL                   NM          35092874251
4496456115597B   SALVADOR    PAZ                       CA          49089015611
449645A1472B43   ARNOLD      KERFORD                   CO          90000255014
449653A1191569   MINERVA     ESPINOZA                  TX          90013683011
4496545A772B47   RICKY       COTHRAN                   CO          90013764507
4496548635B597   CHAVEZ      GAIL                      NM          35014424863
4496611A95B52B   JONATHON    RODRIGUEZ                 NM          90013161109
4496685525597B   GERRY       VANG                      CA          49073148552
44966A63A93752   PAMELA      JENKINS                   OH          90001720630
44966A77A72443   CARLOS      BERRIOS                   PA          90013930770
4496727495B271   PEGGY       WILSON                    KY          68032332749
44967472972B4B   LAZARO      ARAUJO                    CO          90015074729
44967687A4B271   PAUL        WATSON                    NE          27065786870
4496785195B52B   RAYMOND     RAMIREZ                   NM          90011538519
4496836185B174   CARLO       GREEN                     AR          90004313618
4496878945B53B   VERONICA    BURCIAGA                  NM          35076727894
449696A6691569   YVETTE      RODRIGUEZ                 TX          90012516066
44969895424B7B   RAMONA      RODRIGUEZ                 VA          81018108954
4497156715B222   MEKA        B                         KY          90008505671
44971674A91873   JAMES       WALKER                    OK          90014446740
4497198242B27B   MARCUS      MCKNIGHT                  DC          90010039824
4497223854B271   ROBERT      GROVER                    NE          90014512385
44972297A5B58B   ADRIAN      ORTIZ-CARILLO             NM          35053562970
4497273545B222   JOSEPH      WHELAN                    KY          68021687354
4497368612B27B   URINA       BARNES                    DC          81013156861
4497399525B271   JASON       HAMMERS                   KY          90011959952
44973A4367B495   MELVIN      JONES                     NC          90010720436
44974474A91569   ISRAEL      APODACA                   TX          90003484740
449744A9372B4B   LUIS        RUIZ-ARROYO               CO          33064684093
44975688A61967   TINIA       DAVIS                     CA          46096146880
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4497615865B58B   EILEEN       BACA                     NM          35045981586
4497742285B174   THERESA      JOSLIN                   AR          23072724228
44978285A72B85   ROHEL        LEAH THOMPSON            CO          33094802850
4497858A52B87B   ELIZABETH    CROUT                    ID          41050465805
4497871A65597B   CRISTINA     CRUZ                     CA          90013847106
4497873A161963   LITA         HASTINGS                 CA          46055297301
44979289A8B16B   ROBERT       RAUER                    UT          31031392890
449792A9531621   LIMBER       REYES                    KS          22014222095
44979577672B4B   BRENDA       FIERRO                   CO          33083135776
4497999795B53B   SALVADOR     CONTRERAS                NM          90014849979
4497B692691351   DANIELA      ROBLES                   KS          29010676926
4497B812755939   BLANCA       REYES                    CA          90011388127
4498148465B53B   RUDY         ARAGON                   NM          90013494846
4498157A876B27   LEEANNE      ARICSON                  CA          90001675708
4498199686197B   HONEY        MCDONALD                 CA          46010519968
44981A1893B351   EUSEBIO      CASTRUITA                CO          39091440189
4498274315597B   MARIA        DOMINGUEZ                CA          49071597431
4498313525B354   MIKHAIL      SMITYUKH                 OR          90008871352
4498324715B52B   BRITTANY     GARCIA                   NM          90012982471
44983575572B36   ALLYN        LEBLANC                  CO          90012635755
44983A2A52B87B   MELISSA      RE                       ID          41050470205
449841A9947954   MATT         RISENHOOVER              AR          90001101099
4498438785B271   JOSHUA       BURTON                   KY          90011623878
4498477915B53B   JAYME        TRUKILLO                 NM          90014717791
4498479595B597   FELIXFRANK   YAWAKIE-VIGIL            NM          35045877959
4498491782B87B   SHELDON      NELSON                   ID          90015089178
44984A7AA5B541   LAWRENCE     MONTOYA                  NM          90005440700
4498524995B222   LESLIE       MEANY                    KY          90013622499
4498594815B372   CHANDA       MCCLURE                  OR          44557939481
44985A62391569   BEATRIZ      RAMIREZ                  TX          90012370623
44986215772B36   STEVEN       UNEBERG                  CO          33003172157
4498675489155B   VENESSA      CAMPOS                   TX          90003627548
44986AA9A5B271   ELIZABETH    MONTGOMERY               KY          68015620090
4498758595B53B   ROSA         ARCE                     NM          90011855859
44987775172B4B   JEREMIAH     WHEELER                  CO          33017967751
4498777682B27B   DIANE        WILLIAMS                 DC          90013447768
449895A895B58B   TOMMIE       BILLS                    NM          35061385089
4498B135861967   DEYNA        VILLAR                   CA          90008531358
4498B79765B53B   LINDA        AGUAYO                   NM          35091917976
4499116642B87B   OPAL         COLLINS                  ID          41089991664
44991175872B4B   VICENTE      CARBAJAL                 CO          33026001758
4499147565B58B   LINDA        PARRA                    NM          35043174756
44991525972B43   JUAN         GONZALES                 CO          33026485259
449938A998B16B   ERIKA        WOODWARD                 UT          90013008099
449947A735B597   CAMILLE      VALDEZ                   NM          35006567073
44995836872B4B   JOSEE        VASQUEZ                  CO          90013568368
4499624185B222   DENNIS       NEWKIRK                  KY          90013212418
44996861A2B87B   STEVE        MCGLATHERY               ID          90011838610
449974A125597B   ANA ROSA     RAMOS GARCIA             CA          90007514012
4499757665B174   MIQUEL       RIVERA                   AR          90014865766
44997A99572B43   SARA         VALDEZ                   CO          90011200995
44998228172B4B   EBONY        MARTINEZ-AGYEI           CO          33064762281
44998561A61967   KEVIN        ROBINSON                 CA          46050385610
44998759672B36   MELANE       SHANNON                  CO          33001787596
44999283A5B388   MARIA        AGUILAR                  OR          90012722830
4499943392B87B   STEPHANIE    FORIM                    ID          90007384339
4499951248B155   RON          PAGE                     UT          90008925124
4499B17115B222   BRIAN        LOGAN                    KY          90010101711
4499B67295B53B   CYNTHIA      PADILLA                  NM          90012866729
449B159445B222   DOLLIE       THOMPSON                 KY          90013505944
449B1686A5B53B   LORENA       DAVIS                    NM          90015266860
449B1A82672B43   MARY         SISNEROS                 CO          90014770826
449B223245B174   JASMINE      WILLIAMS                 AR          90011972324
449B237548B16B   MONIQUE      SEARLE                   UT          90010393754
449B2925461967   DEMARI       FOSTER                   CA          90011829254
449B297A35138B   KYLE         HERALD                   OH          90010749703
449B2A55A55939   MERCEDES     GUTTIERREZ               CA          49093310550
449B321165B271   SUSIE        BERTRAM                  KY          90011082116
449B355738B16B   PELENATO     AH CHING                 UT          90014535573
449B358815B174   DEBRA        ANDERSON                 AR          23091785881
449B3683972B4B   LEO          FOLKS                    CO          33090576839
449B3797951334   ANGEL        TOMS                     OH          90014787979
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449B3983891351   AMANDA        NICHOLS                 KS          29071499838
449B423A85B58B   JULIANA       ZAMBRANO                NM          90014712308
449B4541572443   TASHA         EVANS                   PA          90014615415
449B464495B52B   CARLOS        GONZALEZ                NM          36045876449
449B47A242B27B   KADIJA A      WHITE                   DC          90013227024
449B4982651334   FELECIA       NAPIER                  OH          66004549826
449B5425972B4B   JIM           ANDERSON                CO          90013304259
449B5665372B36   RITO          RUEDAS REYES            CO          33084376653
449B5A9A48B16B   SHARON        GOODIN                  UT          31085400904
449B6158471934   AISHA         SAWYER                  CO          90013271584
449B6228691869   LESLIE        CARTER                  OK          90011372286
449B64A2361967   ADRIAN        TODD                    CA          46035774023
449B6527191523   LINDA         QUESADA                 TX          75016295271
449B699525B58B   JORGE         OREGON                  NM          90011729952
449B8611591351   MARIZA        GARNICA                 KS          90011666115
449B8647472443   TERRI         HANDLIN                 PA          90006096474
449B8713671934   RUBEN         JUAREZ                  CO          32080587136
449B938678B16B   DALLAS        CHIDESTER               UT          90012873867
449B9565472B43   JOEL          MITCHELL                CO          90013375654
449B961955B222   LETECIA       BROOKS                  KY          68050016195
449B9663191569   ROSA          SEPUVELDA               TX          75099066631
449B98AA75B271   TREVIA        SPALDING                KY          90011938007
449B9A72A91873   MONIQUCA      JAMISON                 OK          90010820720
449BB74145B58B   DOREEN        LOVATO                  NM          90008757414
449BB74525B222   AMANDA        POWELL                  KY          90005577452
449BB83A35597B   LORENA        MARCIAL                 CA          49042108303
449BBA2A43B399   CATHY         DUNN                    CO          90009600204
449BBA61A72B36   ELOISA        MORALES                 CO          33046060610
44B11233A5B53B   CARLOS        LOPEZ                   NM          90014972330
44B1124A95B174   ANGELA D      MCFADDEN                AR          23002052409
44B116A775B52B   SAMANTHA      WOOD                    NM          90002576077
44B11A56571934   ANOLA         HUBBARD                 CO          32094750565
44B12114A61963   GABRIELA      MEZA                    CA          46012071140
44B13167133443   TAMARA        MYHAND                  AL          90013971671
44B1331A291926   TINA          THORNTON                NC          90008923102
44B13881A2B27B   KENDRA        JOHNSON                 DC          90013818810
44B143A865597B   ISRAEL        ARCEO                   CA          90013893086
44B1441892B87B   NANCY         GARDINER                ID          90000844189
44B14825155939   ANA           CASTELLANO              CA          49027808251
44B15627372B43   SARA          OLIVER                  CO          33023546273
44B1616665B58B   JAMES         HAYES                   NM          90013681666
44B1661792B27B   RAMONA        HARRELL                 DC          90010096179
44B16A88461967   MITCHELL      MUNGNIA                 CA          90012740884
44B16A91A71934   SASHA         FINAN                   CO          32067830910
44B17545172B4B   DIEGO         SANDAVAL                CO          90006405451
44B17656361967   MARIA         HERNANDEZ               CA          90014136563
44B17AA665B222   PERCELL       PETTY                   KY          90015080066
44B18437671934   JESSICA       JANECEK                 CO          90009184376
44B1878A655939   MARTIN        HERRERA                 CA          90013177806
44B187A6473267   JOHN          WOLTMANN                NJ          90009347064
44B19238891873   GLENN         RICHARDSON              OK          90013002388
44B19554551382   KELLY         CAIN                    OH          66086125545
44B19832691523   CARRILLO      RAFAEL                  TX          90004088326
44B1B136191351   DONALD        GRABOWSKI               KS          90007521361
44B1B475A55939   JOHN          LOPEZ                   CA          49092504750
44B1B958A2B87B   ARLENA        EDDY                    ID          41089569580
44B2253A241269   CHRISTINA     BERRY                   PA          90012825302
44B22A38147954   MARYJANE      MOORE                   AR          25027310381
44B2325325B174   TRACY         AJAI                    AR          23048472532
44B23338A91873   JAMES         HILL                    OK          90014063380
44B2358564B231   DARREN        ROACH                   NE          90001935856
44B2364384B271   JACQUELINE    BARTLETT                NE          90013686438
44B2378A255939   ROSIO         VALLEGOS                CA          90011427802
44B23881172443   RAY           WHITE                   PA          51013338811
44B242A875B58B   ROSA          GONZALES                NM          35033342087
44B24362791569   JAIME         TREJO                   TX          90013273627
44B24569272B4B   JOSE MANUEL   VALLE                   CO          90012295692
44B26137191523   ALEJANDRO     CARRANZA                TX          75056011371
44B26198191857   COURTNEY      CHERMACK                OK          90012611981
44B2659142B27B   DAMARCO       SALLEY                  DC          81027825914
44B26771891569   JENNIFFER     HOLGUIN                 TX          90010327718
44B27732891351   LINDSEY       LUCAS                   KS          90014417328
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44B27883651383   ANDREW       MARCUM                   OH          90009328836
44B2795615597B   ALEJANDRA    VILLALOBOS               CA          90009199561
44B2797275B52B   LUIS         VERDUGO                  NM          90014309727
44B28147691523   FRANK        QUINTANA                 TX          90010821476
44B28599171644   TRACI        BATTAGLIA                NY          90001635991
44B2928A772B43   MARIA        HERNANDEZ                CO          90008122807
44B2937918B16B   STEPHANIE    SORIANO                  UT          31026313791
44B2946575B53B   TREEVA       SYLVESTER                NM          35059584657
44B29779A91523   TOMMY        HARRIS III               TX          90009707790
44B2994275B266   SCOTT        ENSING                   KY          90013659427
44B2B33995B53B   JOYCE        GILMORE                  NM          35095053399
44B2B35A42B27B   YVONNE       HOLTZ                    DC          90010403504
44B2B783554151   IRENE        ARMAS                    OR          90014947835
44B2B95755137B   TRACEY       TONKOCICH                OH          90012789575
44B3119125597B   DANNY        YNIGUEZ                  CA          90011241912
44B3123A35B222   JANET        PRICE                    KY          68010642303
44B3132348B16B   MONIQUE      CORNISH                  UT          31094583234
44B318A7691351   BRIAN        BANKS                    KS          90010728076
44B31918472B4B   AURORA       RAMIREZ                  CO          90014599184
44B31934172B4B   ERICKA       VIGIL                    CO          33085499341
44B31959972B4B   AURORA       RAMIREZ                  CO          90015139599
44B31986191569   LUZ          SANDATE                  TX          75040819861
44B32994372443   CHARLES      NUTT                     PA          90009499943
44B33178991569   BRENDA       HERRERA                  TX          75083421789
44B337A965B53B   WALTER       WORBIS                   NM          90014867096
44B3493434B271   ROBERT       BALDWIN                  NE          90013879343
44B34997391873   RODNEY       KENDRICK                 OK          21011039973
44B34A34A72B43   NANCY        GONZALEZ                 CO          33036500340
44B35431151382   JAMIE        WHITAKER                 OH          66012794311
44B3583A84B271   BRITTANY     HARRIS                   NE          90012418308
44B35994572B4B   TERESA       SOBERANIS                CO          90013239945
44B36546351334   CLAUDIA      WALL                     OH          66040605463
44B36765A51383   CHERE        CARTER                   OH          66066937650
44B36944361941   CRAIG        HEWITT                   CA          46009039443
44B37759972B36   MARTHA       RICALDAY                 CO          90011127599
44B37826351334   ROMAN        CORBIN                   OH          90013478263
44B37887861967   CARLOS       PARRA                    CA          90014818878
44B38184161967   MARLENE      RODRIGUEZ                CA          90012771841
44B38993951334   JOANN        HOPEWELL                 OH          90012959939
44B39431671999   SAM          REYES                    CO          38019624316
44B3943615B53B   MELODY       HERNANDEZ                NM          35083184361
44B39627751334   MELINDA      MILLER                   OH          90014426277
44B39854985939   JOANNA       CORKWELL                 KY          66009688549
44B39881361999   MARIA        DE LA O                  CA          90011258813
44B3997134143B   RICKY        CURRY                    WI          90003889713
44B3998985B174   SHONDA       WOODS                    AR          90010429898
44B39AAA172B4B   CARLOS       RODRIGUEZ                CO          33044630001
44B3B58412B87B   LETISHA      GALLAND                  ID          90008415841
44B3B746272B36   MARIA        MARIN AVILA              CO          90014617462
44B3B79625B58B   BERNADETTE   GABALDON                 NM          90005667962
44B3B835247954   KELLY        HANNERS                  AR          90009738352
44B4114292B27B   RICKEY       BUCHANAN                 DC          90007061429
44B41922672B36   BRAD         SIMS                     CO          33044559226
44B4222535B53B   JACOB        ZIMMERMAN                NM          35038522253
44B4289A661963   SAMARY       VEGA LOPEZ               CA          90010518906
44B43223972B36   MIGUEL       MEDINA                   CO          90012162239
44B43873491351   KEVIN        SMITH                    KS          90013608734
44B43A7244B271   ANDREA       DRANEY                   NE          90012790724
44B44226361963   JOSE         MANCILLA                 CA          46022752263
44B44434191527   JOSE         MACIAS                   TX          75092544341
44B45171A5B354   KRISTIN      ULTSCH                   OR          44562181710
44B45216833B77   VERLIN       MILLER                   OH          90011982168
44B45598333625   SHYELETTA    HURT                     NC          90005385983
44B4646A45B271   TAMIKA       HALL                     KY          90002934604
44B4733925B222   JENNIFER     BURKE                    KY          90011143392
44B47346991351   SARAH        THORNTON                 KS          90011833469
44B4774517B362   JOSE         RODRIGUEZ                VA          81038207451
44B4814635B222   TONY         HUGHES                   KY          68002981463
44B48A33A5B58B   CHARLENE     CHAVEZ                   NM          90015130330
44B49536351383   MIKE         VANCE                    OH          90006495363
44B4991185B271   SHERRY       STAFFORD                 KY          90013249118
44B4B28765B52B   JESUS        GARCIA                   NM          90011252876
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44B4B3A8761963   ANTONIO        HAGANS                 CA          90012893087
44B4B49A747954   JAMIE          HARMON                 AR          90011804907
44B4B63795B58B   STEPHANIE      GALLEGOS               NM          35014556379
44B5117A45597B   BILLIE         PACE                   CA          90013471704
44B51943261967   NERY           GONZALEZ               CA          90013059432
44B52768691351   ANGELIA        PARNEY                 MO          90012827686
44B532A3A4B271   ELICIA         MITCHELL               NE          90011262030
44B53436791569   JOVITA         ARMENDARIZ             TX          75047884367
44B53466172B43   MARIA ISABEL   MARQUEZ                CO          90007854661
44B5377455B52B   ALI            SHAIK                  NM          90004957745
44B5425425B53B   GINGER         ESPINOZA               NM          90015082542
44B54368991873   PATRICIA       LANDCASTER             OK          90012303689
44B54627751334   MELINDA        MILLER                 OH          90014426277
44B54755372B36   KUMAR          PINKNEY                CO          90012527553
44B55119A2B87B   HEATHER        WYNN                   ID          90014661190
44B552A7551334   JEAN           KINUANI                OH          66032322075
44B5534A391569   LOURDES        TERAN                  TX          90013963403
44B559A2571934   KATRINA        MALDONADO              CO          90009769025
44B5615A672B43   EUGENE         SCROGGINGS             CO          90014461506
44B5711A991873   ANTHONY        DOWD                   OK          90001971109
44B57451251334   NICOLE         WYNN                   OH          90014864512
44B5774455B174   ANISHA         SAMS                   AR          90011137445
44B577A885B222   KIA            KNOX                   KY          90015207088
44B579A345B271   TONI           MITCHELL               KY          68017169034
44B5833965B53B   DESIREE        MELENDEZ               NM          35016173396
44B59119A5597B   VERONICA       ROMAN                  CA          90015231190
44B59745872443   DONNA          SHAFFER                PA          90004677458
44B5B2A9691523   EDNA           CAZARES                TX          90010492096
44B5B815661963   DANIEL         MORALES                CA          90014088156
44B6271527B426   SHAQUETTA      JACKSON                NC          90005517152
44B62775847954   PHILLIS        BOLDRA                 AR          25069297758
44B6312315597B   CARMEN         LOPEZ                  CA          90012131231
44B63695855939   PA             VANG                   CA          90015176958
44B637A1291873   JOSE           SALAS                  OK          90013197012
44B64254772443   EVETTE         WEST                   PA          51025022547
44B64345155939   AMY            MOLINA                 CA          90011253451
44B6434735B52B   JOHNNY         GARZA                  NM          90012323473
44B64759347954   SANDRA         GAMEZ                  AR          90012837593
44B647A359373B   DANIELLA       FLUHART                OH          90006477035
44B65391691351   PERFECTO       ARGUELLO               KS          90015273916
44B66175A24B7B   CERVANDO       MOLINA                 VA          90001081750
44B6634485B597   JENNIFER       GONZALES               NM          35088923448
44B66446A8B165   SHAWNDELL      SMITH                  UT          90003894460
44B67253A72443   CORNELIUS      HOFF                   PA          90009992530
44B67286191569   DANIELA        RAMOS                  TX          90012722861
44B6785392B27B   PHYLLIS        HARRIS                 DC          90012048539
44B683A195B174   TIMOTEO        FERNANDEZ              AR          90008453019
44B68472784375   SHAWN          KAMINSKI               SC          90008644727
44B6848245B597   JESUS          RIVAS                  NM          35046604824
44B687A185B222   DESHAUN        ALLMON                 KY          68091117018
44B6945A551336   EBONY          LASTER                 OH          90006814505
44B6979655B271   ERNESTO        CAMPERO                KY          68092057965
44B6985965B52B   DESSIREY       CORDOVA                NM          90012668596
44B69A2A12B27B   SHONTE         TATE                   DC          90008800201
44B6B234561963   PATRICK        FALLON                 CA          90013852345
44B6B414A5B52B   FREDDY         OSORIO                 NM          90009384140
44B71382181656   PHILL          ANCONA                 MO          29052953821
44B71533572B43   EDUARDO        RAMOS                  CO          33000875335
44B7159A55B526   CLAUDIA        TRUJILLO               NM          90011285905
44B71984691569   MAGDALENA      MARRUFO                TX          90008049846
44B7217AA2B27B   ZAHIRUDDIN     ASAD                   DC          81073701700
44B72417372B4B   SANTIAGO       BONILLA                CO          90013434173
44B7252995597B   ADOLFO         MENDOZA                CA          90013105299
44B7263775B53B   SHAWN          HICKS                  NM          90011916377
44B728A4191523   ALEJANDRO      OROPEZA                TX          75055798041
44B73749372B36   BERNARDA       MIRAMONTES             CO          33084277493
44B74158471231   MICHAEL        COULSTON               IA          90006881584
44B74395672B43   JESUS          RIVERA NAVA            CO          90008613956
44B75563672443   RHONDA         HATFIELD               PA          51025595636
44B75941A7B386   ANTOINE        GARRETT                VA          81026389410
44B76356791523   GILBERT        MENDOZA                TX          75025873567
44B7671A341454   TOMMY          LABOY                  WI          90015617103
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2043 of 2500


44B76926A5B526   ANGELA      LUNA                      NM          90013149260
44B7736385B375   LESLIE      ROBBINS                   OR          90007653638
44B77A2378B165   JAMES       HOFHEINS                  UT          90005710237
44B7821585B597   FELICIA     LOPEZ                     NM          35022552158
44B7983179152B   ARMANDO     ROSALES                   TX          75018118317
44B7993715B53B   LEAH        LAWRNCE                   NM          90014889371
44B79992855939   MARK        BARRON                    CA          90012759928
44B7B24115B597   DOLORES     VAZQUEZ                   NM          90013812411
44B7B412761967   PETER       INGRAM                    CA          90001894127
44B7B83535B597   DOLORES     VASQUEZ                   NM          90011808353
44B81183991569   HUMBERTO    ZAMBRANO                  TX          75092961839
44B8144595B222   BRITTANY    HARDY                     KY          90011604459
44B81A3795B58B   TERESA      LOPEZ                     NM          90013710379
44B82314A91873   DANIELLE    LEACH                     OK          21080733140
44B82A49861967   MARK        DELACY                    CA          46016010498
44B82AAAA5B271   BOBBIE      CAHILL                    KY          90012220000
44B832AA35B174   MARK        MONK                      AR          90010652003
44B83A83972443   COLIBIA     PRINKEY                   PA          90009490839
44B84212255939   DANIEL      VALLEGAS                  CA          49001322122
44B84232791523   MARCO       ALVARADO                  TX          90010492327
44B85338991523   DALIA       CASTILLO                  TX          75055803389
44B855A185B271   NICOLAS     VASQUEZ GOMEZ             KY          90007605018
44B85A76861963   JOCELYN     RIVERA                    CA          90012910768
44B86261255939   STEPHEN     ARZOLA                    CA          90011262612
44B86267691523   LORRIE      ZEPEDA                    TX          75055802676
44B86413851334   SOTHY       PRIM                      OH          90000614138
44B8655612B87B   ROD         ROBINS                    ID          41052265561
44B86651672443   SUZETTE     HOUGH                     PA          90014846516
44B86836191351   ROSA        GALLARDO                  KS          29088908361
44B872A4772B36   ANATOLIO    BAHENA                    CO          33056852047
44B8741465B271   JAMILYA     MILLER                    KY          68040724146
44B87588872B43   MISTY       CASILLAS                  CO          90010565888
44B8854A58B121   TJ          WOODD                     UT          90008915405
44B88762A7B453   ISMAEL      GUATEMALTECA              NC          90011237620
44B88A3AA8B16B   CALVIN      MEAD                      UT          31061710300
44B89921691873   SERGIO      PULGARIN                  OK          90015089216
44B8BAA4155939   RAYMOND     FILLPOT                   CA          49028120041
44B9128952B27B   ABBY        RICHARDSON                DC          90012372895
44B91743A91569   CECILIA     CASTRO                    TX          90010167430
44B91799255939   JOSHUA      AVILA                     CA          90014477992
44B92331A5B597   BARBARA     MONTOYA                   NM          35068793310
44B9284A75B271   JUDY        GOBER                     KY          90015118407
44B93131A51334   LASHELL     DAVIS                     OH          90010291310
44B9318A272443   CARL        SELINGER                  PA          51006011802
44B93852972B4B   STEPHEN     RONQUILLO                 CO          33046998529
44B93863371934   JEFF        MABRY                     CO          90007268633
44B93869761963   AMANDA      SOKIMI                    CA          90013968697
44B9391698B16B   SHELISE     MARTINEZ                  UT          31027089169
44B941AA972B36   DAVID       TOTH                      CO          33032761009
44B942A955B271   TIERICKA    CARNEY                    KY          90011592095
44B95399891569   JOSE        MORALES                   TX          75040873998
44B95539972443   SHAWN       WALSKEY                   PA          90008925399
44B95712491351   BUBBS       BECERA                    KS          90004047124
44B96248961963   MARIO       RAMIREZ                   CA          90014872489
44B96489561967   DANNY       HACELTON                  CA          90014314895
44B96758955939   RODOLIO     OROZCO                    CA          49061767589
44B974A5855939   RODRIGO     RIOS                      CA          90013354058
44B97737991569   JORGE       ACOSTA                    TX          90013637379
44B9775669152B   SAMANTHA    TEJEDA                    TX          90009497566
44B9786865B174   LEOPOLDO    VAZQUEZ                   AR          23002038686
44B9823A28B16B   MILTON      NEFF                      UT          31004942302
44B99436A91523   CARMEN      VARELA                    TX          75096834360
44B9956652B87B   DAVID       SHEAHAN                   ID          90013395665
44B99755A2B87B   CASSANDRA   MONROE                    ID          90011087550
44B99844533625   JAMES       MULDOWNEY                 NC          90005988445
44B9995825597B   KATTY       GARCIA                    CA          49031199582
44B99961672B4B   CHARLENE    C ABEYTA                  CO          90014569616
44B9BA1455B58B   JOEL        CHAVEZ                    NM          35073790145
44BB1658947954   ANDRES      GONZALEZ                  AR          90002836589
44BB1975491523   ROBERT      MACIAS                    TX          90010059754
44BB2142672B43   CARLOS      HERNANDEZ                 CO          33077051426
44BB236585B222   OSCAR       PENA                      KY          90010223658
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44BB265582B87B   JACK         MVOCK                    ID          90010686558
44BB323894B52B   TRACY        SIMMONS                  OK          90005172389
44BB32A884B271   CKYSTALENA   KAUT                     NE          90009402088
44BB3762191523   MIA          BARRERA                  TX          90009707621
44BB379825B271   DETRICK      HATCHER                  KY          90010807982
44BB454A693725   DUANE        TSCHANEN                 OH          64575125406
44BB458A391547   JESUS        GONZALES                 NM          75069885803
44BB47A242B27B   KADIJA A     WHITE                    DC          90013227024
44BB4A78751336   LEANNE       MOORE                    OH          90011050787
44BB516955B52B   OLIVIA       TORRES-MERAZ             NM          36095741695
44BB5183A5B53B   INA          APACHE                   NM          90015041830
44BB615595B58B   KISHAN       RENNICK                  NM          90013681559
44BB6419A8B155   MARISOL      CARDENAS                 UT          90009454190
44BB691227B824   ALICIA M     JACKSON                   IL         90011339122
44BB716985B58B   ARNULFO      VILLALOBOS               NM          90007371698
44BB7418572B43   STACEY       GONZALEZ                 CO          90010034185
44BB796A92B27B   JOSE         P0NCE                    DC          81060579609
44BB8155471934   JORGE        FIGUEROA                 CO          90011671554
44BB81A1972443   JOHNNY       WEAVERLING               PA          90013081019
44BB8645461963   MAYRA        HERNANDEZ                CA          90011886454
44BB899715B222   SARAH        WILLIAMSON               KY          68045789971
44BB9564857124   JUAN         LOPEZ                    VA          90010045648
44BB9867593747   KEVIN        KEMPER                   OH          90009728675
44BBB56523B351   MIKE         DAGNER                   CO          33011935652
44BBB596572443   MARY         ISLER                    PA          90002765965
44BBB717A4B271   CHELSIE      WRIGHT                   IA          90008657170
45112183A5597B   NATALIE      SANTOS                   CA          90010631830
451122A6172B4B   ARAMINTA     JOHNSON                  CO          33077612061
45112A68147954   DANIEL       SANCHEZ                  AR          90013800681
4511324235B53B   ERIKA        VALDEZ                   NM          90014052423
45113381A91988   ERIKA        MOORE                    NC          90007183810
45113A3712B27B   ALEXUS       COLE                     DC          90000800371
45115589672B36   JUAN         GONZALES                 CO          33004455896
4511691AA5597B   TARELL       JACKSON                  CA          90012489100
4511929AA5B52B   MARTHA       ARAUJO                   NM          90007722900
451194A5772B36   THOMAS       GORDON                   CO          90008764057
4511964855B222   JAMES        TENNYSON                 KY          90010146485
45119A3175B174   KIMBERLY     BRITT                    AR          90008840317
4511B439455939   HELRODORA    GUZ                      CA          49094364394
451217A178B165   TYLER        RIGGINS                  UT          90000597017
45122139872B4B   MARIE        LANG                     CO          90012901398
4512236A291523   BERNABE      GONZALEZ                 TX          75055853602
4512288915599B   LINDA R      LOPEZ                    CA          48005088891
4512298638B355   PAYGO        IVR ACTIVATION           SC          90006289863
451235A7861963   WONDA        TRAVIS                   CA          46012635078
4512415992B87B   KIMBERLY     DOWNEY                   ID          90008701599
4512482A55B53B   CRYSTAL      CAMPOS                   NM          90014758205
45125128772B43   AMBER        KELLY                    CO          90014521287
45125585A91872   BRYAN        KENDALL                  OK          90013685850
451256A2A72B3B   DESTONI      CHAVEZ                   CO          90014816020
4512571A68B355   LETICIA      VALENCIA                 SC          90002457106
4512576344B271   SHAWN        DELOA                    NE          27048017634
45126164772B3B   SHANICE      DAVIS                    CO          90013281647
45126175A5597B   BRYAN        MACQUARRIE               CA          90009541750
45127288472B43   PHIKUN       TONGREW & SORAWET        CO          33096752884
4512754A55B222   MIKE         NAVERRETTE               KY          90013225405
45127A27491569   GARY         PEARSON                  TX          90013800274
45127A8265B174   MAYA         NATION                   AR          90015060826
451281A9791569   DELIA        DUARTE                   TX          90015121097
4512868172B27B   VERONICA     GRAYVITT                 DC          81033286817
45128AA415599B   LEANNA       GONZALES                 CA          49003640041
4513122114B271   CHARLES      GANNON                   NE          27014832211
4513174875B52B   DEREK        BROWN                    NM          90008777487
45131A6778B165   TONI         MORROW                   UT          90008960677
4513257A655939   SUSANA       HERNANDEZ                CA          49050375706
4513313865597B   LILIANA      NAVARRO                  CA          90012911386
45133384A5B58B   JESSICA      NUNEZ                    NM          90014833840
45133496872B36   MICHAEL      SARNO                    CO          90014774968
4513453A855939   BERENICE     ESPARZA                  CA          90010865308
451351A7372B3B   ROBERT       ARMSTRONG                CO          90001681073
4513521257B386   CESAR        MONTANO                  VA          81067032125
451352A475597B   MADISON      MANGRUM                  CA          90012782047
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2045 of 2500


4513577745B52B   IDALIA           CHACON               NM          90000627774
45135829A91873   DARIN            MCCLAIN              OK          21074808290
4513599182B27B   BRIAN            HOLMES               DC          90013979918
45137299A91873   SUSAN            CALLOWAY             OK          90007132990
45137777572B36   RODNEY           MARTINEZ             CO          33078817775
45138386A5B174   CORNELIUS        DANIELS              AR          90010533860
4513846277122B   DANIELLE         BLISS                IA          90013954627
45138A37855939   FRANCIS          MONNIS               CA          90002280378
4513952A75597B   HOUA             YANG                 CA          49060585207
45139554972B4B   SHAWN            AGRESTO              CO          33003545549
4513B124272B43   KIM              OLSON                CO          90012311242
4513B143491523   CLAUDIA          PEREZ                TX          90007061434
4513B846872B36   SUTTON           SEAN                 CO          33067108468
45142719172B43   ROBYN            DENZMORE             CO          33078547191
45142A1925B222   JEROM            CRAWFORD             KY          90007280192
45143132972B24   JOSIE            VONDRA SMITH         CO          90010641329
45143387772B3B   BRYAN            WILLIAMS             CO          90013023877
451439A918B355   MERCED           CONTRERAS            SC          11033669091
45143AA332B27B   JOEL             TAYLOR               DC          90011250033
4514562492B27B   DAVID            ORNELAS              VA          90015166249
451456A265B58B   JESSE            SANCHEZ              NM          35038336026
4514598715B53B   JOSE             HERNANDEZ            NM          90010809871
451461A7A91523   ALFONSO          SALINAS              TX          75070611070
4514626277B262   ALEXUS           LAY                  NV          90012482627
45146615A5B174   ANGEL            HICKS                AR          90013686150
451468A5372B25   ADRIENNE         BARTLEY              CO          90012278053
45147285372B43   FELICE           FRANCO               CO          33059502853
45147294A72B3B   VERONICA         MARTINEZ             CO          90010542940
4514737818B355   YURINA           SANTOS               SC          90012623781
4514738625B222   DODDA            DON                  KY          90012633862
4514784475B222   TYRONE           ACKLIN               KY          68049418447
45147A57431456   IVORY            THOMAS               MO          90009070574
4514817335597B   CHUE             THAO                 CA          90014881733
4514832845B53B   SEFERINO         JOJOLA               NM          90015113284
451486A345597B   MARIA            ARROYO               CA          49008876034
451487A8A5B174   MONIQUE          MAXWELL              AR          90014727080
4514935415B222   WILLIE           BRADFORD             KY          68095503541
45149876472B36   GABRIEL          MARTINEZ             CO          33020568764
4514995A972B4B   TRACY            PHILLIPS             CO          90012299509
45149A84483B48   RICHARD          LAUGHLIN             TX          90011860844
4514B255772B36   BRITTANY MARIE   PACHECO              CO          90013312557
4514B83378B16B   JUSTIN           HAMILTON             UT          90004838337
4514B94838B165   CALLIE           PETERSON             UT          90004129483
4515162752B87B   MIRANDA          SEIG                 ID          41043946275
45153365772B4B   EDWARD           JONES                CO          33018863657
45153A2A691569   SEAN             SANCHEZ              TX          90011550206
4515455315B174   GREGORY B        WALZ                 AR          23096425531
4515471A972B3B   AUDREY           TORREZ               CO          33041667109
45155526372B43   ISRAEL           692MARTINEZ69        CO          33076435263
4515681885B58B   MICHAEL          BACA                 NM          35038068188
451569A1581639   DANA             OKELUE               MO          29041279015
45156A5A372B43   JENNIFER         HAHN                 CO          33079610503
4515758775B52B   ROSA             LEON                 NM          36076415877
4515781974B271   LISA             MORENO               NE          27059068197
4515816888B16B   SKYY             BALDERAZ             UT          90014811688
4515819765B174   COREY            BAILEY               AR          23092061976
4515852155B52B   HENERO           SANTOS               NM          36013265215
45159951372B36   MARIE            TAFOYA               CO          90011009513
4515B245772B43   ADELINA          HERMOSILLO           CO          33032252457
4516161A172B36   SUZANNA          MOTA                 CO          33034776101
45162A39372B3B   MARIA            SIBRIAN              CO          33038180393
45163238A91873   TONY             MULLINS              OK          21012642380
4516491185B58B   JOHN             SANDOVAL             NM          90011309118
4516526845B222   OTIS             HENSLEY              KY          90015152684
4516536795B551   JOSE             CAMPOS-CONTRERAS     NM          90012173679
4516587668B165   MADELYN          AUSTIN               UT          31000658766
4516633325B174   AZUREE           COURTNEY             AR          90014373332
4516634288B16B   ANDRES           PEREZ                UT          90013673428
45166835372B36   SARA             MARU                 CO          90012918353
4516686745B53B   LINDA            CHAVEZ               NM          35027718674
4516757A655939   SUSANA           HERNANDEZ            CA          49050375706
4516842A261963   MIKE             CABRERA              CA          90008844202
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45168898A3163B   TONYA         HERREN                  KS          22017188980
45169442472B36   BOBBY         BONNER                  CO          90013064424
4516969366195B   JOANNA        STRAUSS                 CA          90002556936
4516B158572B3B   CHRISTOPHER   BUSTOS                  CO          90013031585
4516B1A6191569   FORTUNATO     GUERRERO                TX          75006331061
4516B36278B355   WAYNE         CARDONA DE LEON         SC          90015263627
4516B499572B36   JOSEPH        ELDER                   CO          90012524995
4517192A72B84B   ALONZO        MOLINA                  ID          90015349207
451722AA398B25   GIANCARLO     MORI                    NC          90004332003
4517323855B222   CHRIS         CARPENTER               KY          90015132385
45173964A91569   ANTIONE       SMITH                   TX          90013819640
4517425568B16B   ROBERT        ANDERSON                UT          31086152556
4517431898B355   ARTHUR        HOOD                    SC          90014943189
4517491725B58B   DAVID         ARCHULETA               NM          90011309172
45174AA1172B3B   PAUL          MARTINEZ                CO          33063720011
45174AA257B463   ORLANDO       LOPEZ                   NC          90003750025
45175232272B38   ADOLFO        GRISANTI                CO          90004342322
4517568A75B249   BRANDY        STANGE                  KY          90004686807
4517575552B27B   DENISE        DAVIS                   VA          81038787555
4517597795B222   KAYLEN        LEE                     KY          90009549779
4517615455B174   DONQUETTA     SUTTON                  AR          90010971545
451764A835597B   LINDA         MORALES                 CA          90013724083
4517794985B174   SHANIKA L     SMITH                   AR          90014489498
45177A7315B222   JONATHAN      BROWDER                 KY          68046120731
451784A578B355   JONEISHA      BARBER                  SC          90012934057
45178818487B79   SHAJUANI      KENNEDY                 AR          90009298184
4517935485B58B   ERIC          PICKETT                 NM          90003013548
45179A44151334   TRAVIS        WILSON                  OH          66041770441
4517B584891988   RAQUEL        VILLEDA RESENDIZ        NC          90013615848
4517BA1245B58B   NATHAN        KROEKER                 NM          90013400124
4517BA24261963   GINESSA       REYES                   CA          90010850242
4518121544B569   JOSHUA        MARTIN                  OK          90011252154
4518124278B16B   SHERYL        CULSTEN                 UT          31044722427
45181846772B36   JOEL          ORTEGA                  CO          33021808467
4518243A74B95B   STEVEN        WILSON                  TX          76507554307
4518344747B824   ARTURO        SOSA                     IL         90015514474
45183597A72B36   SUBIA         SALVADOR                CO          33094965970
4518386625B52B   ELIZABETH     RODRIGUEZ               NM          90010438662
4518394915B53B   SASHA         BEGAY                   NM          90009669491
4518431AA93769   DAVID         BARNS                   OH          64563083100
4518437475B53B   DANIELLE      TRUJILLO                NM          90002763747
4518482AA91394   ILDEFONSO     AMAYA                   KS          29019138200
4518576182B87B   AMY           HOWERTON                ID          90014427618
45186789172B36   MICHAEL       LEE RICHARDS            CO          33092557891
4518688A472B43   TIMOTHY       CURRY                   CO          90012098804
451873A7772B3B   CRAIG         CHAPMAN                 CO          90010543077
451875A9991328   LAURA         GALAVEZ                 KS          90011035099
45187A43261963   LOURDES       SOLIS                   CA          90002760432
45187A8245597B   GONZALO       SANCHEZ                 CA          90006450824
4518842A38B355   JELISHA       HYATT                   SC          90010274203
451884A9161963   IVAN          ZARATE                  CA          90005554091
4518885A572B3B   CHRISTINA     MENDOZA                 CO          33014738505
4518938578B16B   MONIQUE       HOWELL                  UT          90010313857
4518B13A191394   ELMA          FRANCO                  KS          90007121301
4518B859A72B43   REBECCA       ANDRADA                 CO          90013088590
4519348537B331   KAZZERINE     VARGAS                  VA          90014674853
45193657772B3B   ALMA          LOPEZ                   CO          33050096577
45193A44951334   BRIAN         COTTON                  OH          90012600449
4519421262B834   JEFFERY       ROSENDIN                ID          42087242126
4519448625B174   DESHAWN       MURPHY                  AR          23050854862
45196419772B3B   MOISES        MIRAFLORES              CO          33094644197
4519653A64B271   JAMES         CRUZ                    NE          90013215306
4519673A371999   MIGUEL        MEAS                    CO          90009497303
4519674265B58B   FRANK         SISNEROS                NM          90013977426
4519677378B355   TYESHA        TRUESDALE               SC          90012037737
4519695495B299   KENY          DIXON                   KY          90015179549
45197631372B3B   JOSEPH        MARES                   CO          33009886313
45199116572B36   MAYRA         IBETTE                  CO          33017371165
4519983A555939   ALFONSO       MACIAS MERCADO          CA          90001358305
4519997734B271   JULIA         RAMIREZ                 NE          90014479773
451999AA891988   SHALONDA      WARD                    NC          17084519008
4519B788531243   ARTURO        GARCIA                   IL         90013737885
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4519B99478B165   WALTER       SAGUACHI                 UT          90006279947
451B136182B879   RENEE        PHILLIPS                 ID          90003683618
451B1643472B43   LEROY        GARCIA                   CO          33031186434
451B1657691569   DOLORES      VALDEZ                   TX          75019986576
451B217884B271   JOSEPH       PETERS                   IA          90013871788
451B2511155999   EDELMIRA     AMEZCUA                  CA          49040765111
451B2A43791873   BRETTAN      HOULDIN                  OK          90011610437
451B2A6615B52B   MIREYA       CASTILLO                 NM          90011520661
451B313858B355   YANET        LOPEZ                    SC          90014171385
451B4268A4B271   SEYDOU       COULIBALY                NE          90012422680
451B4699491523   MARTHA       AYALA                    TX          75012176994
451B4738991569   CESAR        GONZALEZ                 TX          90010217389
451B4821672B4B   ANTHONY      MAGANA                   CO          90011188216
451B485515B55B   VERONICA     ARANDA-VASQUEZ           NM          90011158551
451B491212B87B   MELISSA      BROSSARD                 ID          41017909121
451B519A62B27B   AUZURE       BULLOCK                  DC          90013061906
451B538738B355   CAPRI        JHONSON                  SC          90014023873
451B5865991873   EBONY        SHAW                     OK          90012588659
451B5879272B4B   LEEZA        MARTINEZ                 CO          90015218792
451B5946772B43   NICHOLAS     GANN                     CO          90001039467
451B5A66477543   HANNAH       SITZE                    NV          90001320664
451B6222433B77   KARRIE       MALONE                   OH          90011982224
451B6684A5B174   ANGELA       MORENO                   AR          90013006840
451B6748A5597B   ERIC         RIGHTMEIER               CA          49002567480
451B691185B58B   JOHN         SANDOVAL                 NM          90011309118
451B7116972B36   ROSA         ROGEL                    CO          90008431169
451B749A761963   GRISELDA     CADENAS                  CA          46068124907
451B758AA72B3B   EDWARD       GONZALES                 CO          90013895800
451B838767325B   ALEXANDRIA   MORANO                   NJ          90014203876
451B848A781665   SHAD'E       HILL                     MO          29009504807
451B8951191992   MISAEL       TOBAR                    NC          90005289511
451B9382A72B3B   JENNIFER     ZUBIA                    CO          90013023820
451B9468872B3B   AMANDA       MENDOZA                  CO          90013934688
451B989484B271   MARYANN      AKERS                    IA          27043468948
451B9927691569   STEPHANIE    RAMOS                    TX          90002369276
451B993835B53B   ALEXANDRA    BLACKSTOCK               NM          90009349383
451B996738B165   MENDEZ       RAUL                     UT          31065889673
451BB12A872B36   BRENDA       MCCLELLAN                CO          33032641208
451BB31735B53B   CALANDRA     CONEY                    NM          90010943173
451BB374372B3B   NELDA        AGUIRRE                  CO          90013023743
451BB3A634B221   ODOMS        JOSEPH                   NE          27006823063
451BB74774B271   RAFAEL       GARCIA                   NE          90013567477
451BBA6288B355   MABEL        BAXTER                   SC          90012580628
45211171872B36   DAMON        REYNOLDS                 CO          90012741718
4521162728B183   KOREE        BERNAL                   UT          31039026272
4521223322B87B   JOHN         YEARSLEY                 ID          90004552332
45212A58472B3B   JENNIFER     ROUSH                    CO          90011940584
452131A1991569   CLAUDIA      VAZQUEZ                  TX          75087171019
45213A11561963   SHANNON      PORTER                   CA          90015070115
45214271372B3B   ARIANA       GOMEZ                    CO          90013842713
4521473345597B   NORMA        BARAJAS                  CA          90006137334
45214A46551334   NEAL         WRIGHT                   OH          90012490465
4521561668B16B   MCEWEN       JAMES                    UT          31003336166
45215A8965597B   MARY         JASSO                    CA          90014850896
4521665965B55B   AGUSTIN      VALADEZ                  NM          90009596596
45217314A71999   JOSEPHINE    ERAGON                   CO          90010973140
45217763972B3B   MICHELE      VIGIL                    CO          33072497639
45217835172B22   KEITH        DEMPSEY                  CO          33021588351
452181A415597B   ANDRES       FRAGA                    CA          90010781041
452183A6651334   IRENE        SHANK-EVANS              OH          66028293066
4521917A57B394   RONALDO      MEDINA                   VA          81034321705
4521981278B16B   TRINA        WILLIAMS                 UT          90012148127
45219A58991988   JAMIE        SPRUILL                  NC          90014930589
4521B364991873   SARA         ARZU                     OK          21011363649
452216A895597B   DOLORES      SOLIS                    CA          49084026089
45221A16731491   MEGHANN      LAMPKIN                  MO          90001960167
452223A6247954   LEONIDAS     ALVARADO                 AR          25011963062
45224199872B36   MICHELLE     MORALAS                  CO          90008121998
45224422A5B58B   PAYGO        IVR ACTIVATION           NM          90010824220
4522461212B87B   MELANNE      JOHNSON                  ID          41081836121
45225419872B36   MARTIN       FLOREZ                   CO          90011654198
45226971572B36   JESSICA      URQUIDEZ                 CO          33006109715
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45226A11561963   ELIZABETH   MONTES                    CA          90012890115
4522717335597B   CHUE        THAO                      CA          90014881733
45227464772B23   BEVERLY     SUAZO                     CO          33016184647
452274AAA47828   RODERICK    CORNELIUS                 GA          90013334000
4522765349155B   HUNTER      QUARTERMANE               TX          90012056534
45227928A5B174   KENT        THOMAS                    AR          23041129280
4522797A75B53B   LOUISA      BURSON                    NM          90004169707
45227A53A72B43   ARON        STRODE                    CO          90011090530
4522818375B222   AMANDA N    DUDLEY                    KY          90003861837
4522854265B174   LADARA      WILLAMS                   AR          90011085426
4522862413B399   STEFHANIE   YBARRA                    CO          90007386241
452297AA76197B   EDUARDO     ANDRADE                   CA          46023247007
45229A1875B174   KELANDA     WILLIAMS                  AR          90012080187
452313AA391394   GUADALUPE   SANCHEZ                   KS          90007153003
45231A15A91873   KIM         AGENT                     OK          21094700150
4523263A75597B   TINA        MURKOWSKI                 CA          49013676307
4523449568B355   CHRISTIAN   PORTER                    SC          90013334956
4523595A58B16B   CARLOS      MARTINEZ                  UT          31097799505
45236139472B4B   DAVID       MEDINA                    CO          90009451394
45236677772B43   CLAUDIA     GARCIA                    CO          90006326777
452371A6247954   LISA        SELF                      AR          90012191062
452378A3491873   TAWANA      ROQUE                     OK          90008898034
45238A41972B36   JON         BANNISTER                 CO          90013610419
45238A89572B4B   JOSH        ALLDREDGE                 CO          33050930895
45238AA7961927   MANUEL      VARGAS                    CA          46079320079
45239481A91988   JEFFREY     PERRY                     NC          17066304810
45239517372B3B   RAMON       HERNANDEZ                 CO          33016445173
4523986475B222   CHIQUITA    SNEED                     KY          90006168647
4523989A22B87B   RICHARD     HULBERT                   ID          41049158902
45241913372B43   BECCA       DUDLEY                    CO          90014779133
4524299748B16B   BRITTNEY    TIDWELL                   UT          90010359974
4524323618B16B   MARK        LAFEBRE                   UT          90012702361
4524533AA8B16B   SHEIISA     MARTIN                    UT          90002473300
45245A16391569   CHRISTINA   VILLEGAS                  TX          90014910163
45246285A61967   JORGE       LOPEZ                     CA          90011842850
45246568972B3B   JUAN        CARLOS                    CO          33053795689
4524671A891569   ERIC        SAUCEDO                   TX          75038987108
4524694A62B87B   TYLER       WEHOLT                    ID          90012689406
45247349672B43   MARIA       HOLGUIN                   CO          90010433496
4524848145598B   JOSE        COVARRUBIAS               CA          48009174814
45249395A4B271   JOHANN      JOHNSON                   NE          90013693950
4524B36795B53B   REBEKAH     CHAVEZ                    NM          90013983679
4524B474A2B27B   CHRISTINE   SIMMS                     DC          90009944740
4525123A472B36   LUCAS       FERNANDEZ                 CO          33048712304
4525153268B165   ROB         LAMBORS                   UT          31002075326
45251572172B43   NANETTE     DAWSON                    CO          33037695721
4525331765B222   WENDY       TIMBERLAKE                KY          90005373176
4525396274B271   STEVEN      CISNEY                    NE          27094549627
45254863A47954   GEOGRIA     MCWILLAMS                 AR          90009148630
45256188A5B174   NIKKI       NEELY                     AR          90014551880
4525626115597B   DEBRA       THOMSON                   CA          49092492611
45256A41191569   MARIO       YANEZ                     TX          90002460411
45257256272B3B   GRACIANO    PEÑA                      CO          33037952562
4525736329376B   ROBYN       PAULIN                    OH          90005383632
452575A555597B   ROSARIO     GALLEGOS                  CA          90003245055
4525826995B222   CHANDRA     GAINES                    KY          90008332699
4525839625597B   PEDRO       RANGLE                    CA          90012763962
45258468A5B52B   SHANTEL     VALDEZ                    NM          90012434680
45258474A5B58B   KATHRYN     DURANTE                   NM          90010684740
452596A1271999   VICTORIA    ALBO                      CO          90013176012
4525B141791873   CASSANDRA   CATES                     OK          90012941417
4525B15A591988   RAFAEL      VALDEZ                    NC          90009591505
4525B89275B58B   FERNANDO    TERRAZA                   NM          35029048927
4525B95528B16B   SHARELLE    PARKER                    UT          90009539552
4526115735B222   EARLE       WADLINGTON                KY          90002901573
4526189238B165   STEVEN      CARRILLO                  UT          31016128923
45261A18772B3B   NICOLE      CAMPOS                    CO          33032030187
4526217513B12B   TIMOTHY     KING                      DC          90008301751
4526258A572B36   AMERICA     POZAS-MONTALVO            CO          33055025805
452626A958B16B   BEVERLY     DURAN                     UT          90008366095
4526275872B87B   JEREMY      NIESCHULZ                 ID          90014157587
45263255A5B174   ROSA        HERNANDEZ                 AR          90013242550
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4526383972B27B   SHANDA        WASHINGTON              DC          81008908397
4526415455597B   VICTOR        GARCIA                  CA          90014871545
45265791A5B174   JEFFERY       THOMPSON                AR          23072617910
45265A25891569   HECTOR        CARRANZA                TX          90014330258
45266355772B36   KIMBERLY      SCADDEN                 CO          33054773557
4526681542B87B   MARGARET      ANKNEY                  ID          90000688154
45266A2A855947   JOHN          MOREN                   CA          90005860208
45267114572B43   MIKE          BACA                    CO          90013481145
452673A7872B4B   JENNIFER      ROSE                    CO          90012043078
45267782772B4B   LARISSA       VILLARREAL              CO          90015067827
4526825875B222   BIANCA        NORRIS                  KY          90012012587
4526884235B58B   JOSE          LARA-ESPINOZA           NM          90002138423
4526885255B52B   MARICELA      RIOS                    NM          90001658525
452688A1957122   LESLEY        BOURNE                  VA          90002188019
4526899445B254   BRITTANI      HART                    KY          68091859944
45268A4A25B58B   MARIA         FLORES                  NM          90015130402
4526B5A8355969   JOSE          MARTINEZ                CA          90001305083
4526B996A5B222   TEJ           RAI                     KY          90015009960
4527199235B58B   MARYFRANCES   PONCE                   NM          90014409923
4527351A251334   KAREN         GRIMES                  OH          90000445102
45273761A61963   LORENA        SIGALA                  CA          90011347610
45273999A2B27B   CAROL         PORTER                  DC          90010019990
4527467895B53B   GILBERT       TORRES                  NM          35075176789
4527495998B16B   BOB           SANT                    UT          90010309599
4527515755597B   DANNY         YARBROUGH               CA          90014871575
4527561A89126B   TONIA         HURST                   GA          90001146108
45275A2A591873   MARIA         GILLISPIE               OK          21012770205
45275A51272B43   JOHN          GWYNN                   CO          90015130512
45277111672B3B   CHAU          TRUONG                  CO          90014161116
4527728832B27B   STEPHANIE     JAMISON                 DC          90012022883
452772A9772B43   BRYON         ALBERTY                 CO          33005442097
4527844455B58B   RA            YUN                     NM          90012184445
45278761572B4B   THOMAS        SHIRLEY                 CO          90012947615
45278A96772B3B   HILLARY       ROHAN                   CO          33049800967
4527916642B27B   MOISES        BONILLA                 VA          90013961664
4527918555597B   CYNTHIA       VANG                    CA          90014881855
45279918A2B27B   JOSE          HERNANDEZ               DC          90012269180
4527B11894B531   GUILLERMO     GOMEZ                   OK          90009791189
4527B48115B53B   BRENDA        LABRADO                 NM          90014134811
45281635772B3B   ALBERS        CHRISTOPHER             CO          33059166357
45282146772B3B   CATHERINE     HOLGUIN                 CO          90014121467
4528215475B58B   LETICIA       MENDOZA-ORTEGA          NM          35092231547
45282A23A61963   MILA          BALACDAO                CA          90015260230
45282A26155939   RHAE          CRAVINS                 CA          90008940261
45283296972B3B   HECTOR        LOPEZ                   CO          33024752969
45283574A5B52B   CRYSTAL       ROMERO                  NM          36072835740
452836A2171999   KRISTIN       LUJAN                   CO          90010976021
45284A69A33662   DONALD        LANE                    NC          90013960690
452856A2171999   KRISTIN       LUJAN                   CO          90010976021
4528611895B52B   CEFERINO      CARDONA                 NM          90009681189
4528639755B58B   ERIC          ROJANO                  NM          90014763975
4528643A354B31   ERIK          GREGORY                 VA          90007194303
4528655635B174   ERICA         RADFORD                 AR          90014065563
4528749698B16B   ROBERT        BOWERBANK               UT          90006314969
4528831A372B3B   KRISTI        BISHOP                  CO          33022813103
4528853525B58B   STEPHANIE     SMITH                   NM          90011905352
45289377872B43   EVA           ARRIAGA                 CO          33013213778
4528963A271999   SANDRA        WHITE                   CO          90010976302
45289687172B4B   ABDI          MOHAMED                 CO          90009256871
452896A972B27B   MARTHA        VASQUEZ                 DC          90013926097
4529181762B27B   DAMOND        THOMAS                  DC          81019878176
45291957972B4B   RAMIRO        DE LA TORRE             CO          90011979579
45291A2275B58B   CHRISTOPHER   GALLEGOS                NM          90015310227
45292411272B3B   CRYSTAL       LOVATO                  CO          90013024112
4529368A141241   ALYSSA        MORROW                  PA          90000346801
45293A7312B27B   JHAD          AHMED                   DC          81094560731
45294924A51334   TYLER         GIDEON                  OH          90014059240
45294948272B3B   CHERRE        JOHNSON                 CO          90008609482
45295356A33B35   KATHERINE     BOYD                    OH          90011303560
4529672A674B8B   JUELIA        MOODY                   OH          90011897206
45296736672B3B   DWIGHT        DEEDS                   CO          90000777366
4529721578B355   WALTER        MEDINA                  SC          90013932157
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45297689272B36   ANDREW       MARTINEZ                 CO          90013366892
45297A8A14B271   LA           YOUNG                    NE          27062190801
452982A9572B43   LONI         MAES                     CO          90014382095
4529916A751361   CHANTELL     RICE                     OH          90010941607
45299292572B36   MARGARITA    TERRAZAS                 CO          33078112925
4529948744B271   DANIEL       VILLAILBA                NE          90013824874
45299A27491569   GARY         PEARSON                  TX          90013800274
4529B956972B36   MAGDALENA    LOPEZ                    CO          90013219569
452B1742231673   CHARLES      INGRAM                   KS          22086057422
452B21A755B53B   GABE         PEREA                    NM          90013431075
452B241A58B16B   LINO         GUERRERO                 UT          90008464105
452B2739361963   JASMINE      JOHNSON                  CA          90013957393
452B35A554B271   D            WOODZ                    NE          90010895055
452B373A15B53B   MARY         GURULE                   NM          35001057301
452B3812572B36   ISAAC        HALVORSON                CO          90012838125
452B38AA291569   JESSE        PAHMAN                   TX          75016508002
452B423A55597B   AIOTEST1     DONOTTOUCH               CA          90015122305
452B4827655939   DESIREE      GONZALES                 CA          90013808276
452B518598B355   JASON        BRAZZELL                 SC          90013641859
452B5A41372B4B   RICARDO      BLANCO                   CO          33062770413
452B5A8A25B53B   MIGUEL       MIRANDA                  NM          35012110802
452B638A951361   LENA         WILLIAMS                 OH          90006503809
452B642735B174   MONIQUE      WILLIAMS                 AR          90014384273
452B6822891873   PATRICIA     BARTHOLOMEW              OK          90011568228
452B719385598B   JESUS        SALDANA                  CA          90014751938
452B777285B58B   JEFF         HERRERA                  NM          90008957728
452B7932591873   JESICA       CASTRO                   OK          90009499325
452B793A191523   EVA          MASCORR                  TX          90011109301
452B8262571999   MICHAEL      BEURMAN                  CO          90014822625
452B831555B53B   DAVID        GIRON                    NM          35009903155
452B9815355939   BUDDY        ELIAS                    CA          49046968153
452B9838A8B16B   SHEILA       ARRATS                   UT          90007578380
452BB27A851334   STEVE        NELSON                   OH          90015122708
452BB572472B43   SANTOS       FORTANEL                 CO          90014675724
4531129547B824   YESENIA      RAMOS                     IL         90015512954
45311317A72B36   LUPE         HERNANDEZ                CO          90011743170
4531148562B27B   REGINALD     LOFTUS                   DC          90012994856
4531185A171999   NATHANIEL    MONTEZ                   CO          90012388501
453119A655B222   TERRY        COULTER                  KY          68043449065
45311A2365B174   ALICIA       BREEDLOVE                AR          90009410236
4531219585B222   CHANNEL      CALDWELL                 KY          90013991958
453121A1251334   CHARLES      MCGINNIS                 KY          90013191012
453123A6277354   STEPHANIE    WILLIS                   CO          20513923062
4531258125B53B   VIANEY       DOMINGUEZ                NM          35066925812
4531263368B355   MAURICE      RHINEHART                SC          90015046336
453128A6191523   LAURA        ZUBIA                    TX          75000388061
45312A67391569   ELIANA       GARCIA                   TX          90011550673
45313154A8B16B   UNKNOWN      UNKNOWN                  UT          31076171540
45313711272B36   OSCAR        MOLINA YANEZ             CO          90010597112
4531519A35597B   HILDEBERTO   REYES                    CA          90014881903
4531545788B355   ROSEMARI     HEWAIJ                   SC          90003124578
4531626215B174   ANTONIO      WILLIAMS                 AR          90014102621
4531644475B52B   ELFEGO       VARGAS                   NM          36044644447
4531719A35597B   HILDEBERTO   REYES                    CA          90014881903
45317416A72B3B   ISRAEL       FUNEZ                    CO          90013024160
45317536772B36   LUIS         ROBLES                   CO          90004175367
4531764898B165   DALLAS       PENRY                    UT          31092856489
45317A1A951334   KYLE         WEIDNER                  OH          90011370109
45317A89461963   ARRIEN       DISMUKE                  CA          90011090894
4531891492B27B   CHERYL       BRITT                    DC          90006259149
4531892285B174   ANDREA       LEE                      AR          23054979228
453192A6151334   JENNY        COOK                     OH          90014292061
4531996315B174   MILLICENT    STEWART                  AR          23062759631
45319A79371999   CHARLES      BROWNE                   CO          38054190793
4531B13955B58B   HUGO         GUZMAN                   NM          90010731395
4531B14485B222   JOSHUA       KUSTES                   KY          90009981448
4531B639572B3B   CURTIS       WASHINGTON               CO          33064076395
4531BA2367B386   XIMENA       ARCE PATTON              VA          90012470236
4532158888B16B   MAURICETTE   ROBINSON                 UT          90013895888
45322823A72B43   MICHAEL      MAYS                     CO          33089948230
45323328A61967   YOLANDA      MARSHALL                 CA          90005283280
4532417615B174   SUSANNA      BOSTIAN                  AR          90012811761
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45324416272B3B   EDREES       EZZAT                    CO          90013024162
45324A8192B87B   CARLA        MORALES                  ID          41007140819
4532521855B53B   ELAINE       HERRERA                  NM          90002982185
4532576A361967   MARIA        ROMERO                   CA          90004757603
453265AA991569   MARISELA     NUNEZ RODRIGUEZ          TX          90011075009
4532696118B165   AFTON        JONES                    UT          31034539611
4532776578B16B   OLIVIA       MELENDEZ                 UT          31092237657
4532876A85B58B   CHRISTINA    CDEBACA                  NM          90009707608
45328888A8B16B   JOSE         CERVANTES                UT          90013168880
45328A1275B174   KIMBERLY     SMITH                    AR          90015120127
45328AAA572B3B   JAMIE        MARTIN                   CO          90014670005
45329416272B3B   EDREES       EZZAT                    CO          90013024162
45329481672B36   JOSEFINA     SERRANO                  CO          90001324816
4532989435B58B   DANIEL       THILBURG                 NM          90013348943
45329925A5B222   JOHN         MAURUS                   KY          90005719250
45329A16122463   ISMAEL       DIAZ                      IL         90015390161
4532B191972B4B   YADIRA       GALLEGOS                 CO          33064011919
4532B553851334   LEONEL       LOPEZ                    OH          90011235538
4532B992791523   LUIS         ARROYO                   TX          90007089927
45331443A5B58B   MIGUEL       PACHECO                  NM          90011894430
4533149982B27B   DAMARCO      MORGAN                   DC          90012994998
45331969372B36   PAUL         MARTINEZ                 CO          90013899693
4533234545B52B   CLAUDIIO     CRISPIN MATA             NM          36030483454
4533242948B165   AMALIA       GONZALEZ                 UT          31077674294
45333416372B3B   CYNTHIA      BLAKEY                   CO          90013024163
4533343557B421   JOEL         HERNANDEZ                NC          90006164355
4533441975B222   TRENTIN      WOODY                    KY          90015334197
4533527394B271   RAQUEL       DE LA CRUZ SOTO          NE          27033892739
4533562282B87B   MORGUNN      CALL                     ID          90014716228
45336899972B93   VALENTINA    CARRILLO                 CO          90015048999
45337264972B4B   GUY          ASHLEY                   CO          90007572649
4533787215B222   ANITA        DUFF                     KY          90009278721
45338328A72434   DEBRA        MERASHOFF                PA          90006073280
4533835A18B355   IVAN         GARZA                    SC          11000783501
4533836695B52B   VANESSA      OLIN                     NM          90000333669
4533839615B174   CARLA        NELSON                   AR          90015533961
45338421172B3B   JOHN         HAY                      CO          90013024211
4533911AA91569   JACKIE       ACHONDO                  TX          90010461100
4533913338B167   YULIANA      AGUILERA                 UT          90006301333
45339747672B4B   MARY LU      GONZALEZ                 CO          90008107476
4533B942291988   JASMINE      WRIGHT                   NC          90012579422
4533BA11291988   LORLAINA     J FUNDERBURK             NC          90007000112
4534161A771999   MELISSA      WORMINTON                CO          90014626107
4534224745597B   BEANT        KAUR                     CA          90011752474
4534274494B271   PATRISIA     J AITKENHEAD             NE          90002337449
453427AA272B3B   MARYSSA      WHITSIT                  CO          90015177002
4534347525B58B   WILLAIM      VANZILE                  NM          90006264752
4534348145B53B   ANTONIO      GARCIA                   NM          90011924814
4534384262B27B   LUIS         AMAYA                    DC          90014888426
45344146872B43   KALEY        MUNDELL                  CO          90015021468
4534488344B271   TERRIL       BROWN                    NE          27091698834
4534497A831448   SHERRELL     PARNELL                  MO          90013419708
45344A25A72B4B   TALIA        HALE                     CO          90010660250
4534565A22B87B   ENISSA       WOOD                     ID          41078316502
4534642572B87B   KARI         BROUWER                  ID          41074704257
45346551672B4B   WALTER       A WIEGAND                OK          90001765516
4534692863B356   GLADYS       HERNANDEZ                CO          33057279286
45346A26671999   CHRISTINA    FIERRO                   CO          90014650266
45346A63271999   BRIAN        ROMERO                   CO          90012420632
4534721275597B   CASEY        HAMLIN                   CA          90014882127
4534723167B334   MOHAMMADD    SAHAKIL                  VA          90013552316
4534742745B58B   DAVID        ORTEGA                   NM          90005844274
45347776A5B52B   ELIO GALAV   EVA CAMPOS               NM          36096087760
4534816A62B87B   CHRIS        TURNER                   ID          41032221606
4534872374B271   THOMAS       BENKIS                   NE          90007387237
4534935A58B16B   JESUS        ACOSTA                   UT          90010983505
4534939A391988   JENY         JUAREZ                   NC          90012603903
4534B286171999   CHRIS        STEWART                  CO          90013352861
453512A2872B24   CRESCENCIO   GARCIA                   CO          90000322028
453513A435B53B   CHARMANE     GANTZ                    NM          90015593043
4535164545B58B   MARY         JACKSON                  NM          35066746454
45351A32672B4B   ANA          MOLINA                   CO          33031520326
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453527A6691873   DEBRA        DEAN                     OK          90014157066
45353353A8B355   CHRIS        MCCOY                    SC          90005393530
45353424972B3B   MEGAN        STEVENS                  CO          90013024249
4535391695B174   MACHELLE     BURNS                    AR          23095779169
45353A28776B22   CRISTIAN     RIVERA                   CA          90013960287
45354256372B3B   RAUL         ROBLES                   CO          90015162563
45354426A72B3B   BRANDON      BROOKS                   CO          90013024260
453545A3591988   CAPRISE      CHAMBERS                 NC          90011865035
45355529172B43   ANTANETTE    WATSON                   CO          90012665291
453559A465B58B   BARBARA      CANO                     NM          90004769046
45356A2358B355   ANNA         CAMERIRE                 SC          90007160235
453581A3572B4B   ROXANNE      MARQUEZ                  CO          33013731035
4535879642B27B   BOBBY        SINGH                    VA          90013147964
4535982A35B222   JOSHUA       DUNFORD                  KY          90008328203
45359A41851334   KIMBERLY     ROGERS                   OH          90013070418
4535B35435B222   ROBIN        MILLER                   KY          68092583543
4535B988691873   KRISTY       MILLER                   OK          90015189886
4536134745B53B   PATSY        JONES                    NM          35019973474
4536173418B355   LUZ MARIA    ALGARIN                  SC          90013827341
4536177315B58B   EVANGELINA   CHAVEZ                   NM          35077727731
45362255A8B16B   MANGALEY     RAI                      UT          90013272550
45362339472B36   SHARON       SUNDERLAND               CO          90010183394
45363117472B3B   MOICES       GURROLA                  CO          90006501174
4536325242B87B   MICHAEL      PANNELL                  ID          90013462524
4536349748B165   SEAN         GAUTSCHY                 UT          31015544974
453643A942B27B   JOHN         OLDEN III                DC          90008923094
4536484A28B16B   YAJAIRA      SAMANIEGO                UT          90013968402
4536493985B53B   DONNA        HARRISON                 NM          90009469398
4536553A45B222   WILLIAM      HARDY                    KY          90010365304
4536593578B165   LOIS         LEAVITT                  UT          90002629357
4536631A75597B   ALVARO       RODAS                    CA          90012773107
4536769685B174   NICOLE       YOUNG                    AR          90010976968
453684A6561963   JOSEPH       FALKNER                  CA          90008914065
4536893A82B27B   LONNETTA     OATES                    DC          90012749308
4536971735597B   NORA         ZAPATA                   CA          49063757173
4536B134172B36   DAVID        MICKLE                   CO          33041631341
4536B336681639   SARAH        CLAYTON                  MO          90008153366
4536B671A4B271   ANTWANE      CURTIS                   NE          90010916710
4536B6A248B16B   SCOTT        WEBB                     UT          90012776024
4536B899361963   CELINA       RIVERA                   CA          90011568993
4536B98973B352   MARIANNE     KIPHART                  CO          33036789897
4536BA49851334   TODD         MCCLINTON                OH          66093210498
4537134175B52B   ELIAS        GARCIA                   NM          90007413417
45371AA5A72B36   NAOMI        MASTIN                   CO          90009800050
45372767A5B53B   VIRGINIA     MONTOYA                  NM          90008667670
45372876372B3B   RICARDO      DE LEON                  CO          33097118763
4537322A85597B   NICHOLAS     SALAZAR                  CA          90014882208
4537347445B222   TERRI        RIDGE                    KY          68033754744
4537374368325B   MICHAEL      DEWEES                   TX          71098527436
453738A8691569   RUDY         MEDINA                   TX          75038298086
4537395827B421   SHARON       THOMPSON                 NC          90012319582
4537422135597B   DAVID        GUERRERO                 CA          90014882213
4537467A23B343   EDGAR        VALVERDE                 CO          90003706702
4537476955B174   MAYRIS       FOX                      AR          23057707695
453747AA258528   SEBASTIAN    QUINTOS                  NY          90015617002
4537484A672B43   MIGUEL       ORTIZ                    CO          33049118406
45374A6545B348   JAKE         MARTIN                   OR          90005080654
45375391A91873   DENISE       CLARK                    OK          21032243910
4537577252B27B   JERMAINE     BOWENS                   DC          90014587725
4537632A68B124   GERALD       ROBERTS                  UT          90001313206
4537669688B16B   ELIZABETH    DIAZ                     UT          90000446968
4537771715597B   AIOTEST1     DONOTTOUCH               CA          90015117171
45377847A72B3B   RYAN         CASTRO                   CO          90005888470
45378381A47954   AMANDA       CROOK                    AR          90013013810
4537B141291569   VERONICA     SMITH                    TX          90012921412
4537B274672B4B   JAMES        PADILLA                  CO          33084132746
4537B78755B53B   KAITLYNN     KOS                      NM          90012097875
4537BA4345B52B   JOSE         OBDULIO                  NM          90010060434
453829A5955939   MIREYA       CUEVAS                   CA          90014539059
45383575A51361   KATRINA      HALL                     OH          90000495750
4538376A472B36   GRISEL       GARCIA RENOVA            CO          33090977604
4538483615B52B   VICTORIA     PADILLA                  NM          90000668361
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45384895A5B58B   JOHN          BRUMMETT                NM          90013178950
4538535A272B4B   KENNETH       TALMADGE                CO          90014873502
45385632A91569   RUBY          ALVAREZ                 NM          75087156320
4538588175B222   BRITTNEY      THOMAS                  KY          90012798817
45385A4215B348   JEFFREY       HAMLING                 OR          44537640421
4538628743145B   SUZANNE       PHILIPS                 MO          90003412874
4538655884B271   MELISSA       THOMPSON                NE          90002215588
45386742272B3B   DELTA         FLEMING                 CO          90005347422
45387965A61967   JAY           BURRUS                  CA          46068609650
45388274A72B3B   KHADIJA       RATCLIFF                CO          90013832740
4538874265B58B   FRANK         SISNEROS                NM          90013977426
4538983A15B174   MARKITA       ALEXANDER               AR          90003548301
4538B533881639   ANGELA        HICKS                   MO          90008825338
4538B5A492B27B   DERRIKA       TIBBS                   DC          90012995049
4538B718171999   MARIA         CORTEZ                  CO          90008707181
4538B878272B3B   WRIGHT        ANTWON                  CO          90014838782
4539122A14B271   LARRY         BRITTELL                NE          27034102201
45391432972B3B   TIMOTEO       SENA                    CO          90013024329
4539147865B222   JOHN          KENNELL                 KY          90010214786
4539169568B16B   MARIBEL       MOJARO                  UT          90008586956
4539286345B222   JASON         FOX                     KY          90014598634
45392A99555939   ANGELA        HERNANDEZ               CA          90015160995
45393146372B36   CARLOS        SALAZAR                 CO          33055321463
4539371415B52B   LUPE          MARQUEZ                 NM          36043117141
45393715A5B222   LORIE         HAMILTON                KY          90013777150
4539383A35B174   MELISSA       GARNER                  AR          90009788303
4539425722B27B   LACHELLE      WALKER                  DC          90010782572
4539455A65B222   CHRISTOPHER   SHINKLE                 KY          90012775506
45395118172B43   ERIN          REILLY                  CO          33017131181
4539632A25597B   NORA          CASTRO                  CA          49022843202
4539663112B87B   ZACHARY       KERSHNER                ID          41073816311
45396673872B4B   JUSTIN        HUGHES                  CO          90014756738
4539675855B53B   LACHELLE      DANIELS                 NM          35026387585
45397522772B36   CORDOBA       REYES                   CO          33062405227
45397AA175B53B   KELLY         BENT                    NM          90005480017
4539812588B355   AMBER         JUDGE                   SC          90014001258
45398196972B36   MARCARIA      JUAREZ-GONZALEZ         CO          33029051969
45398655672B3B   LISA          NAVA                    CO          33047376556
453988A4672B4B   ANA           RODRIGUEZ               CO          90014898046
453988A5391873   TYLER         PATRICK                 OK          21035328053
4539919265B376   QUINESHA      BUGGS                   OR          90012481926
45399247A91873   MICHAEL       MALONE                  OK          90013082470
45399254672B43   ANA LILIA     TOVAR                   CO          33093032546
453992A272B27B   MICHAEL       PARKER                  DC          90014862027
45399A76391873   DAVID         CASEBOLT                OK          90015200763
45399A9315B174   PATRICIA      WILLIAMS                AR          90006290931
4539B497371999   CONNIE        SHENEFELT               CO          90006174973
4539BA52A5B52B   ESTEBAN       MAX                     NM          36094280520
4539BA56A72B4B   ARTHUR        HENDERSON               CO          90005440560
453B1588672B4B   JUAN CARLOS   RAMIREZ                 CO          90010925886
453B216215B53B   MARIA         MALDONADO-DOMINGUEZ     NM          35087631621
453B263A191569   VICTOR        ROMERO                  TX          75037636301
453B2A5925B58B   ERNESTINA     SEGURA                  NM          90012760592
453B357188B355   JEFF          WILLMORE                SC          90013335718
453B37A4297B21   TIRZAH        STREED                  CO          90007227042
453B396298B16B   FINAU         HEATHER MAREE           UT          90006549629
453B4366372B98   MARTIN        VARGAS                  CO          90007573663
453B462A34B271   IVAN          CABRERA                 NE          90012836203
453B4972155939   TRINA         DAVID                   CA          90012269721
453B518995597B   LARRY         TORREZ                  CA          90014881899
453B533AA55939   CESAR         ROSAS                   CA          49035983300
453B5549871999   KATHLEEN      HERRERA                 CO          38006105498
453B595A25B53B   JOHN          WATTERS                 NM          90013379502
453B654A54B271   FRANKLIN      NELSON                  NE          90011885405
453B671815B52B   WENDY         HAYES                   NM          36080147181
453B6766851334   BRIANNE       HINKLE                  OH          90008127668
453B6A34172B43   RENEE         FRANKLIN                CO          90005990341
453B7248272B4B   DESIRAY       DUBALL                  CO          90015512482
453B7854472B43   CHRIS         TORRES                  CO          90006058544
453B827A95B222   COURTNIE      LOVE                    KY          90008562709
453B8818391569   AMPARO        GASPAR                  TX          90009788183
453B925998B355   BERNICE       LOVE                    SC          90000512599
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453B9325391988   VICTORIA         SHELTON              NC          90011293253
453BB376672B36   RUDY             GERINGER             CO          90014053766
453BB42435B222   JAMES            WILBERT              KY          90015244243
454141A6693751   JATAE            TISDALE              OH          90005411066
4541429892B921   FRANCISCO        SANDOVAL             CA          90009552989
4541472A491569   ALEX             MAESE                TX          90011897204
454147A974B945   ALICIA           RAMSEY               TX          90012647097
4541494225B58B   JESSICA          PARDO                NM          90015239422
45415221772B43   SANDRA           LOPEZ                CO          33050562217
4541557628B16B   ROCIO            PACHECO              UT          31008135762
45415618172B4B   DEBRA            BALL                 CO          33079456181
4541582755B52B   LETICIA          PEREZ                NM          36095328275
4541599A855939   JOSE             FLORES               CA          49098749908
4541613114B271   CATHY            NICHOL               NE          27019851311
45416716872B4B   CASAR            CASTANEDA            CO          90013607168
45417247772B36   UNKNOWN          LEROY JOHNSON        CO          33029932477
4541757188B355   JEFF             WILLMORE             SC          90013335718
45417A93A91988   GLORIA           YOUNG                NC          90012860930
4541823485597B   JOSE             ZEPEDA               CA          90014882348
454182AA891569   NICOLE           ARZATE               TX          90014742008
45418356572B36   ACTS             RESOURCE CENTER      CO          90013903565
4541838458B355   MALIK            MCCULLOUGH           SC          90014303845
4541899838B16B   TIM              LEFLER               UT          90015569983
4541B217A5B53B   JULIAN           CHAVEZ               NM          90003442170
4541B33956197B   GUADALUPE        VILLARREAL           CA          46005383395
4541B364691394   TILISA           CRAWFORD             MO          29091763646
4541B56A94B271   TERRI            THOMPSON             NE          90014015609
4541B63A357126   NOELLA           MOUNO                VA          81016076303
4541B711672B4B   JEFFREY          SILVA                CO          33044957116
4541B753A71999   SCOTT            VALENCIA             CO          90014897530
4541B914651334   JOHN             TOLLEFSON            OH          66093519146
4541B96615599B   CESAR            ORTIZ                CA          90013259661
45422581672B43   KENNETH          DARE                 CO          90013015816
4542264395B375   DEBARA           WARREN               OR          44527966439
454229A3133B98   SHANNON          BINION               OH          90014209031
45422A99461963   ELIZABETH        CARPIO               CA          90014310994
4542342885B174   RICHARD          HEDRICK              AR          23068654288
4542363517122B   JORGE            MAEDA                IA          90014736351
45423A13A61963   LISA             LUNSFORD             CA          90007390130
4542418245B58B   JACQUELINE       MONLINAR             NM          90010131824
4542423485597B   JOSE             ZEPEDA               CA          90014882348
45424A36A5B52B   RUBEN            ARGUELLO             NM          36066560360
4542511875B58B   JOSEPHINE        GRIEGO               NM          35029011187
4542666825B231   GEORGE           EZZELL               KY          90007946682
4542826935B222   JOHN             MINGUS               KY          90013692693
4542874232B27B   THOMAS           CONLEY               DC          90014727423
4542886988B165   DAVID            COLEMAN              UT          31067718698
45428948872B36   FELICIA          SANCHEZ              CO          33003949488
45429A14151334   EDDY             INGRAM               OH          90013420141
4542B27725B52B   HEAVEN           NATSEWAY             NM          90010112772
4543115A291569   JESSE            ROBLES               TX          75037371502
454312A1991873   SANDI            WELCH                OK          90011192019
4543136AA5B52B   GABY             LOZOYA               NM          90005493600
45431598A72B3B   MANUEL           MARTINEZ             CO          90007795980
4543185A731432   JOHN             JOHNSON              MO          90011798507
4543211A391569   JESUS            PADILLA              TX          75037371103
4543222525B222   JAMIE            LYNN                 KY          90010342252
45432443772B3B   JOSE HERIBERTO   LECHUGA              CO          90013024437
45432764872B4B   TONOA            POWELL               CO          90014127648
4543312925B222   MADISON          HENNINGER            KY          90011441292
4543344765B52B   JOANNA           RODRIGUEZ            NM          36066244476
45434AA6691873   ASHLEY           ROBERTSON            OK          90005510066
4543521132B84B   VALDAMAR         CISNEVOS             ID          90015362113
45435377272B3B   JENNIFER         PRAEGER              CO          90013093772
4543579812B27B   ERNEST           JOHNS                DC          81044117981
45435A22991988   JATARAH          WHEELER              NC          90014990229
4543618A891569   JACOBO           SIERRA               TX          90013411808
454368A8872B3B   CARMELITA        FLOREZ               CO          33063378088
4543764462B87B   HALEY            THOMSON              ID          90014736446
4543929198B355   MARCO            GARCIA               SC          90008992919
4543999648B16B   ANDREW           PHILLIPS             UT          90010959964
4543B1A2A72B4B   JOSEPH           HAMPTON-FITZGERALD   CO          33065221020
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4543B1A6691569   ALIDE        BEJARANO                 TX          75047661066
4543B439572B3B   KATIE        FARNEY                   CO          90013024395
4543B632291527   SANTA J      VILLANUEVA               TX          90003936322
4543B85285B222   JONATHAN     GUTIERREZ                KY          90014898528
4544121232B27B   TAKESHA      DAWSON                   DC          90014652123
4544154565B222   DESHAUN      WALKER                   KY          90007865456
45441A41691873   KHANDRAKER   ALAM                     OK          90009080416
4544258135B174   TIFFANY      ROLAND                   AR          90014875813
45442635A2B27B   NOE          CANALES                  DC          81009676350
45442A7A38B16B   DEBI         DAY                      UT          31003680703
45445217672B3B   LINDSEY      NIXON                    CO          90012882176
4544563244B271   TERESA       MINARD                   NE          90011426324
45445A4455B53B   OLLIE        COLINA                   NM          90014600445
4544796252B27B   JAMES        WOODARD                  DC          90012919625
4544836625B222   JAMES        SULLIVAN                 KY          90007833662
45448475A5597B   LISA         RODRIGUEZ                CA          90011654750
4544962745597B   ERNESTO      MARAVILLA                CA          90013336274
45449991972B3B   MARIA        DENNING                  CO          90011499919
4544B447972B3B   JORGE        BOTELLO                  CO          90013024479
4544BA3882B27B   MONIQUE      BANKS                    DC          90014970388
4545198235B53B   VINCENT      LOPEZ                    NM          90013679823
45451A11772B3B   LUIS         LOZANO                   CO          90013140117
4545238A671999   ANITA        GONZALES                 CO          90001423806
4545239325B53B   AVILA        MARK                     NM          35075483932
45452448572B3B   JUANITA      HERREARA                 CO          90013024485
4545372615597B   ANTHONY      STEWART                  CA          90001997261
45453794972B43   LUTZ         AUSTIN                   CO          90009207949
45453A14791523   JESUS        DIAZ                     TX          90011260147
45453A34291569   MORAIMA      ALATORRE                 TX          90013740342
45453A87691873   ERMELINDA    THOMAS                   OK          21043400876
4545411A391569   JESUS        PADILLA                  TX          75037371103
4545632965B222   TIFFANY      PERKINS                  KY          90002903296
45456AA6972B4B   S            VAUGHN                   CO          33048160069
45457449672B3B   ALISIANA     MEDINA                   CO          90013024496
45458346672B3B   TABATHA      ATENCIO                  CO          90002693466
45458A11591569   IRMA         COVARRUBIAS              TX          90015040115
4545919A191873   SARAH        GREEN                    OK          90013931901
4545B157591394   ERIC         HAWTHORNE                KS          90007211575
4545B451891873   SHAWNTAE     SLOAN                    OK          90010054518
4545B554A55939   LETICIA      GARCIA                   CA          49048025540
4545B625672B36   GREGORY      MERKLIN                  CO          33066156256
4546141554B271   CELESTE      KIRKLAND                 IA          27059864155
45461525A55939   ROBIN        GRIGGS                   CA          49030475250
4546167145B58B   EDWIN        DUARTE ROJAS             NM          90012446714
454616A7451334   URSLA        SIMMONS                  OH          90006786074
4546173288B16B   DANIELLE     SANDOVAL                 UT          31011077328
4546337A171999   DUSTIN       DAVISON                  CO          90012583701
45463A9728B355   WILLIAM      BROOM                    SC          90007560972
4546419755B53B   ABIGAIL      BUSTILLOS-ROSAS          NM          90002971975
45465269672B4B   JEREMY       GIBBS                    CO          90010832696
4546593AA5597B   MARGARITA    PEREZ                    CA          90009799300
45465A7718B16B   CALVIN       BURGESS                  UT          31085700771
4546661858B355   TONYA        DIARY                    SC          90001976185
4546674924B566   COMMIE       GILLEN                   OK          90013887492
45467A91172B36   EVANGELINA   RUIZ                     CO          33068220911
45468455672B3B   ANOTONIO     LINARES                  CO          90013024556
45468725172B4B   LAURA        GONZALEZ                 CO          33011597251
4546896AA8B355   STACY        WALDEN                   SC          11019179600
4546921A58B16B   JAMES        SATUALA                  UT          90013352105
4546957238B16B   GERALDO      TAPIA                    UT          90015425723
4546B365972B36   JOSE         NAVA                     CO          90004293659
4547156A572B43   JILL         GUERRERO                 CO          33086305605
454729A6872B36   MARIA        ESCAJEDA                 CO          90010799068
45473375272B3B   MICHAEL      RICHFIELD                CO          90007563752
454754A455B58B   FABIAN       BARRAZA                  NM          35083004045
4547633845597B   TERESA       CHACON                   CA          90013263384
45476642A51334   RICKEY       MCNICHOLAS               OH          90010716420
4547666514B271   MOLLY        GIER                     NE          27056166651
4547733845597B   TERESA       CHACON                   CA          90013263384
4547814A847954   CHARLES      GILLUM SR                AR          25067691408
45478464372B36   FELICIA      VIRCHIS GARCIA           CO          90012604643
4547848A572B4B   DAMIAN       FERANANDEZ               CO          90000444805
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4547872125B222   YAKINA         CRAIS                  KY          68011377212
4547893618B355   LEKESHIA       REAVES                 SC          90005529361
4547898518B16B   ANASTASIA      SOLOMON                UT          90012819851
454793A918B355   STEVEN         SHUGART                SC          90014803091
4547986279373B   ROBERT         ROBBINS                OH          90011528627
4547B15745597B   SOPHIA         TELLO                  CA          90014891574
4547B32455B53B   KENNETH        DRASHNER               NM          90012593245
4547B87A791988   PATRICIA       CONNER                 NC          90011108707
45481669772B43   NGUYEN         TUAN                   CO          90008726697
45482A94972B3B   WILLIAM        HENDRIX                CO          33005770949
4548335795B37B   CASEY          JONES                  OR          90007873579
45483853A93747   ERICA          PENCE                  OH          90011338530
45483A8744B271   CAPRICE        GREY                   NE          90012660874
4548417785597B   NELSON         AMADOR                 CA          90014891778
45485865A5B56B   ANDREA         SANFORD                NM          90004338650
45487147A8B16B   BRIAN          JACOBSON               UT          90006001470
4548751A147954   TRACY          STACY                  AR          90012775101
454877A622B27B   SALOME         NUNEZ                  DC          81018367062
45488A8285B174   DESTINY        GARRISON               AR          90014480828
4548926665B53B   GARRETT        PEAK                   NM          90013962666
4548B423991523   VERONICA       AVILA                  TX          90007104239
4548B798661963   JOEL           NIMEZ                  CA          90006017986
4548B899A71999   JENNIFER       VELASQUEZ              CO          38041078990
45491865A5B56B   ANDREA         SANFORD                NM          90004338650
4549342A271999   JULIE          BROUSSARD              CO          90008734202
454942A8A7B824   CHRISTABELLE   VARGAS                  IL         90010042080
4549448935B555   FACIO          DOMINIQUE              NM          90010394893
45494594A5B174   MELANEY        POWELL                 AR          23076695940
454945A9561963   EDDIE          DIAZ                   CA          90005745095
4549466A68B654   ALDOFO         RAMRIEZ                TX          90014606606
4549525242B87B   MICHAEL        PANNELL                ID          90013462524
45495466A72B3B   ERNEST         SANTIAGO               CO          90013224660
45495978472B25   ROBERTO        MARIN                  CO          90010819784
4549647968B355   KAREN          SEARGENT               SC          90014304796
454969A6A91988   VIRGILENE      NESMITH                NC          90012929060
45497275A5B53B   TANYA          VAISA                  NM          90010582750
45498485872B4B   DEBBI          COOPER                 CO          90004024858
45498AA782B84B   SAMUEL         GEBREEGZIABHER         ID          90011170078
4549973185B255   KELLY          AVRITT                 KY          90011967318
45499987172B36   ALFONSO        RODRIGUEZ              CO          90013199871
4549B453491394   ROSA           DERAS                  KS          90007244534
4549B687851334   WILLY          CASTANEDA FRANCISCO    OH          90012176878
4549BA84A2B27B   ANIKA          BANKS                  DC          90015060840
454B122635597B   ROSANGELA      QUEZADA                CA          90014882263
454B222635597B   ROSANGELA      QUEZADA                CA          90014882263
454B232987B421   ROLANDO        CARRILLO               NC          90006193298
454B239375B53B   JOSE           CARRILLO-BARRAZA       NM          35039063937
454B2A18672B3B   GRACE          CHAVEZ-SOTO            CO          90001530186
454B31A7191569   YING           ZHANG                  TX          90006961071
454B3395972B3B   GIOVANNI       GARCIA                 CO          90010983959
454B3578561963   CAROLINA       TORRES-GOMEZ           CA          90012715785
454B358A82B27B   CATHERINE      MILLS                  DC          90006675808
454B3623161963   OSCAR          RODRIGUEZ              CA          90014266231
454B3849772B4B   JOSH           GROVE                  CO          90008438497
454B462825B58B   PETE           GRAHAM                 NM          90010806282
454B5247A51334   EDDI           JUAREZ                 OH          90014872470
454B5454991873   ERIC           PEREZ                  OK          90010214549
454B5626391926   TYSHA          CARVER                 NC          90004166263
454B6134572B36   LUCINA         CASTRO                 CO          33050731345
454B61A9791569   DELIA          DUARTE                 TX          90015121097
454B768265B222   DESTINY        BEASON                 KY          90005686826
454B776644B271   SHELLY         BENSCOTER              NE          90006917664
454B8328A5B53B   DIANE          BOOK                   NM          90009983280
454B869A571999   ASHLEY         FRANCES                CO          90010986905
454B9185A91873   MARLOW         THOMAS                 OK          21002031850
454B9272972B4B   MATTHEW        SCHUMACHER             CO          90012352729
454B9662672B43   ADAN           BARRON                 CO          33003656626
454B9816691988   FLORENTINA     SALINAS                NC          90014788166
454B989A155928   MAI            VUE                    CA          90014848901
454B9AA862B87B   BARBARA        ATWOOD                 ID          90013970086
45511643372B4B   LYNN           SHANGREAUX             CO          90014536433
455127A7791873   NATALIE        PARKER                 OK          90009917077
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45513133172B3B   JAZZMEN       CASIAS                  CO          90014161331
455131A1847954   ERIC          ALVARADO                AR          25073751018
45513A5A572B43   AMADA         SAUCEDO                 CO          33080980505
4551453525B254   BRYAN         BARNETT                 KY          90009825352
4551458535B222   MAUREEN       HERNANDEZ               KY          68007445853
45514865472B4B   DARCEY        MALOID                  CO          90014768654
45514A17191873   JESSICA       STUBBLEFIELD            OK          90005340171
4551683875B58B   LARA          BRITT                   NM          35080618387
4551711215597B   MARTIN        SANCHEZ                 CA          90014361121
45517342A91873   CINDY         TERRY                   OK          90004953420
4551865755597B   RICARDO       ZACARIAS                CA          90011756575
45518816572B3B   HUGO          SANDOVAL-SOLARES        CO          90013038165
4551883158B165   ANIBAL        LOPEZ                   UT          90007738315
455188A3461963   CARMELA       PEREZ                   CA          90008648034
4551923335B53B   HELEN         HERNANDEZ               NM          90014432333
4551977125597B   JESSICA       SASTINI                 CA          90014107712
45519A1A861963   CHERYL        WATTS                   CA          90004180108
45521179172B3B   LARRY         JAMES                   CO          90006501791
4552131A931432   THOMAS        WELLER                  MO          27508623109
4552176A55B53B   PATRICIA      MOWRER                  NM          90001417605
45521A92591988   PAYGO         IVR ACTIVATION          NC          90013790925
45522216A4B271   CHRISTINA     PITMAN                  NE          90015172160
455237A2A8B16B   LUIS          LARA                    UT          90014907020
4552394662B87B   DAVID         SOSS                    ID          90014509466
4552479969714B   IONELA        BENTEA                  OR          90014807996
4552521412B87B   CHAD          MCKARCHER               ID          90008592141
4552558765B593   ERIKA         HOLGUIN-BARRAZA         NM          90003255876
4552576955B53B   CECILIA       FARFAN                  NM          35042797695
4552628835B222   JAMES         JONES                   KY          90007922883
4552677125597B   JESSICA       SASTINI                 CA          90014107712
4552736144B52B   SHARON        WINSTAD                 OK          90008683614
45527659A72B4B   EFREN         GOMEZ                   CO          90006156590
4552785828B355   TERRY         TERRY                   SC          11020308582
4552787368B165   CARLA         SIMS                    UT          31019198736
45527A5438B895   MAAFUATAI     FAOA                    HI          90014890543
45528737772B36   TIFFANY       NORRIS                  CO          33053587377
45529419572B43   MARIO         GUERRERO                CO          90013054195
45529A61A61963   NORISA ANNE   ZAMORA                  CA          90011960610
4552B128172B43   JARROD        ROWE                    CO          33055681281
4552B175661986   CYNTHIA       GONZALEZ                CA          90009201756
4552B22415B58B   JOSE          VILLARREAL              NM          90015002241
4553236A271644   PAYGO         IVR ACTIVATION          NY          90014183602
4553374885B58B   IVAN          HERRERA                 NM          90015267488
455338A875B174   FRANKIE       MITCHELL                AR          90007658087
4553414615B174   MARCOS        TEPOX                   AR          23003081461
45534A8575B53B   BRITT         NORMAN                  NM          35068620857
45534A96591523   ERICK         GONZALEZ                TX          90011720965
4553588918B16B   WILBER        LOPEZ                   UT          90014418891
45535A4615B174   MEYOSHI       GASTON                  AR          90012850461
4553637395B53B   KRISTA        MOJICA                  NM          90011333739
45536375772B3B   ALEJANDRA     AREVALO                 CO          90004413757
4553648355B174   RUTH          LANDERS                 AR          90008704835
45537168472B3B   SANMARTINA    MUNOZ                   CO          90013031684
4553768735B53B   ROBERTO       ROIG                    NM          90014546873
4553823748B355   OSKAR         TARRES                  SC          11022532374
45539765272B43   MARQUISE      HINS                    CO          90007187652
45539843872B36   SHAEDON       BRINKLEY                CO          90012978438
45539A2AA72B4B   MIKE          RAEL                    CO          33076590200
4553B222872B3B   BRADLEY       AERTS                   CO          90010702228
4553B54585597B   MARTIN        SALAZAR                 CA          90008395458
4553B7A3791873   TREYLOR       DREADFULWATER           OK          90014287037
4553B895A91873   TREYLOR       DREADFULWATER           OK          90014158950
45541156972B43   JOSE          RIVERA                  CO          33027741569
4554328522B87B   SYDNEY        BURCHELL                ID          90013842852
455432AA15B58B   PEDRO         VARGAS                  NM          90005772001
4554338738B16B   KELLY         FLORA                   UT          31015493873
455435A638B166   CHELCI        NUZMAN                  UT          31076905063
4554435A15B52B   ELVIS         MANFREDES DIAZ          NM          90010483501
45545A18572B4B   CHRIS         VIGIL                   CO          33097110185
45546187872B4B   MELIDA        VEGA                    CO          33037441878
4554691948582B   JACQUELINE    SEKELSKY                CA          46048029194
45546A4A65B222   MICHELLE      MASTERS                 KY          90009910406
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45547578272B36   NATASHA FRANCIS   DOWDEN              CO          90014365782
455484A4371999   BENJAMIN          RAYGOZA             CO          90004304043
45549A99972B43   TYLER             EMERSON             CO          90013720999
4554B17A85B174   HUBERT            SALLIE              AR          90014511708
4554B58765B52B   EDITH             OCANA- ESCALANTE    NM          90002995876
4554B671691988   AMERIKA           COZART              NC          90001766716
4555113858B355   JULIO             DEGANTE             SC          90014501385
4555119422B27B   PARADISE          MINGO               DC          90004221942
45552714A72B43   DESTA             HAILEMICHAEL        CO          33077627140
4555279895B174   FRANCINE          BILLINGS            AR          90008307989
45552A34271999   JOE               ZAVALA              CO          90010990342
45552A85A4B231   JASON             CARL                NE          26012780850
45553552872B36   ARTURO            VALDEZ              CO          33013385528
455538A9861963   PAUL              WASENAR             CA          90005998098
455556A9485941   SULA              COOK                KY          90006106094
455557A9355939   PEDRO             LLANGA              CA          90010337093
45555A34271999   JOE               ZAVALA              CO          90010990342
45556127172B4B   PATRICIA          BRAVO               CO          33080291271
455568A9A3B33B   LUIS              PARRA               CO          90001728090
4555735465B222   JOSEPH            BROWN               KY          90014263546
45557355172B4B   ROXANNE           ELEY                CO          33091193551
4555761425B56B   CURTIS            BOWMAN              NM          90014496142
4555828A55B222   BROKKE            BASHAM              KY          90012742805
4555842345B53B   KENT              MCKNIGHT            NM          90012684234
4555857764B271   PHILLIP           JEMISON             NE          90013755776
4555892675B53B   KENT              MCKNIGHT            NM          90010839267
45559A45791988   JENNIFER          OWENS               NC          90015130457
4555B86635B53B   CHRIS             TABOR               NM          90014118663
45561232A55939   ANTONIO           SANCHEZ             CA          90013232320
4556199625B372   CHRISTI           CRAYS               OR          90011989962
45562769A61963   TIANTI            CROOK               CA          90012557690
45563416472B36   ROSALIA           ARROYO              CO          90004724164
4556341925B222   MAURICE           HUFF                KY          90011104192
45563591972B3B   SHIRLEY           TUGGLE              CO          90013895919
4556363352B84B   ARTUDO            GONZALES            ID          90015396335
4556396357B421   CRYSTAL           HOWARD              NC          90001289635
45563A89391569   THOMAS            HUBBARD             TX          90007980893
4556461AA8145B   RICKY             PULLIUN             PA          90015066100
4556496357B421   CRYSTAL           HOWARD              NC          90001289635
4556568A97B837   ANGEL             ERINTES              IL         90002396809
45565A5875B52B   DIONNA            BOWSER              NM          90012360587
4556651832B27B   JEANETTE          MOSLEY              DC          90015025183
4556731A172B4B   WENDY             MACHO               CO          90002863101
4556863A891569   MIRIAM            CROSBY              TX          90004186308
4556895315B174   LEVETRA           POOLE               AR          23051949531
45568A6642B253   ROSILYN           BRATCHER            DC          90001460664
4556942A95B53B   AUDREY            WILSON              NM          35003744209
4556B493A61963   MARIANO           MAYORIAL            CA          46038704930
4556B5A1773264   CHRISTINA         DARLING             NJ          90014505017
4556B671361967   CHESTER           COPPERPOT           CA          90010546713
4556B799691988   RAYMOND           ROBINSON            NC          90010127996
4556B937991523   ALMA              TENA                TX          90009709379
4556BA1A291988   RAY               ROBIN               NC          90015130102
4557116165B279   MELANIE           PARKER              KY          90011331616
4557136565B53B   WILLIS            FITS                NM          90012613656
4557143195B52B   MARK JR.          WRAY                NM          36095344319
45571959472B36   SAM               CASADOS             CO          33072409594
45572699A47954   MEGAN             MORGANFLASH         AR          25029666990
4557353725B53B   PHILLUP           LOPEZ               NM          35036715372
455742A7472B36   REY               ERIVES              CO          33051432074
4557434385B58B   LUZ               VALLES              NM          90005443438
4557438397B377   AZHAR H           RAAN                VA          90008623839
4557446A947954   ALABERTO          MAGANA              AR          90013364609
4557457472B27B   TEMESGHEN         GHEBREMARIAM        DC          90012775747
45574596572B4B   ALBERTO           AMARO               CO          90005275965
455747A718B16B   DEANNA            JOY                 UT          31061647071
4557653A55597B   DARLENE           LOZANO              CA          49094765305
45576572872B43   EVERETT           ROLEY               CO          90013015728
45577A4262B87B   ELI               MCCORMACK           ID          90011810426
4557853A55597B   DARLENE           LOZANO              CA          49094765305
4557878944B271   JOSE              VARGAS              NE          90012637894
45579A73172B36   LEXI              WRIGHT              CO          90013010731
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4557B984691873   MARK         ROSS                     OK          21040919846
455812A895B58B   BRITTNI      THOMAS                   NM          90002692089
4558238515B222   ROBIN        YAEGER                   KY          68096203851
4558258695597B   TIFFANY      KIRKSEY                  CA          90002295869
4558268775B222   ROBIN        YAEGER                   KY          90014086877
45582A32591873   PAUL         FROST                    OK          90015060325
45583198A5B58B   LUIS         CASTRO                   NM          35068941980
45583217872B3B   KARLA        GALLEGOS                 CO          90009292178
4558349478168B   SUNCERA      BOYD                     MO          29014954947
4558396725597B   JESUS        SANTOS                   CA          49007469672
4558421587B422   KEVIN L      MCDOWELL JR              NC          90000772158
4558429355B174   ANDRAINA     GAYTON                   AR          23095492935
45584437272B3B   ANA          GONZALEZ                 CO          90012994372
45585A3118B355   LATORIA      BOYD                     SC          90006850311
45587684572B4B   ELIZABETH    WARD                     CO          33025886845
45589817A61963   SOFIA        GUZMAN                   CA          90010788170
45589937572B4B   ANDRES       RODELA                   CO          90000309375
45589A54272B36   MICHAEL      PANNELL                  CO          90004570542
4558B994161965   RAFAEL       LUNA                     CA          90008559941
4558BA38291873   MOUNA        FALOUL                   OK          90009440382
4559147A55B222   BRANDON      MCALPINE                 KY          90012974705
4559225618B355   GREG         ARMSTRONG                SC          90012442561
45592819872B43   BRIAN        ECKHARDT                 CO          33028538198
45592A59A72B36   JUAN         TOVAR                    CO          90012380590
45593289A8B355   COREY        BARBER                   SC          90009712890
45593861172B3B   SANDRA       EDWARDS                  CO          90014088611
4559424A991523   BRYAN        BARRON                   TX          75027262409
45594A9748B355   JACKIE       STATON                   SC          90014770974
4559647775B53B   ERIC         MADRID                   NM          90015594777
45596644572B4B   JOSH         MARQUEZ                  CO          90014536445
45596A19571999   LIZA         SOLIS                    CO          90004050195
45596A4A191569   VERONICA     CHAVEZ                   TX          90013740401
4559753A75B53B   SEANDREA     PETERS                   NM          90013565307
4559787978B16B   AMY          MYERS                    UT          90010168797
45598A56A61963   JUSTIN       STEVENSON                CA          90014340560
455998A536195B   TERESA       ANDRADE                  CA          90010468053
4559994525B597   PAMELA       GARCIA                   NM          90006409452
45599A16A72B3B   LUZ          QUIROZ                   CO          90007430160
45599A7165B174   IDA          FAULKNER                 AR          23003630716
4559B219872B43   SMITH        JEREMY                   CO          33095422198
4559B225191569   AURORA       FLORES                   TX          75017572251
4559B26742B87B   CHARLYEANN   WRIGHT                   ID          90011012674
4559B457161963   LUIS         PABLO                    CA          46013064571
4559B68A141241   ALYSSA       MORROW                   PA          90000346801
4559B85712B848   JOHN         DONNELLY                 ID          90008308571
4559B873691523   JOSE         MONTES                   TX          75053248736
4559B8A114B271   MICHAEL      COSTELLO                 NE          27091608011
455B1199772B4B   VANESSA      ARCHER                   CO          33016211997
455B128A947954   JENNIFER     PEREZ                    AR          25066012809
455B1557257127   ANTHONY      BRYDA                    VA          90011665572
455B163134B271   ANDRE        PRICE                    NE          27026926313
455B185125B222   MELISSA      SWARTZ                   KY          90010888512
455B211972B87B   MARK         SZAFRANSKY               ID          90013991197
455B2512472B3B   RITA         MARTINEZ                 CO          33056245124
455B2A6452B87B   MICHAEL      THOMAS                   ID          90014870645
455B366483B343   RAFAEL       ZUBIA                    CO          90011726648
455B397625B52B   RON          SCHNEIDER                NM          90008219762
455B4252872B43   RICHARD      ANTHONY                  CO          90014032528
455B4419491873   PAOLA        ALQUINO                  OK          21098524194
455B4A31772B4B   MAUREEN      FULMER                   CO          90012400317
455B52AAA91873   SHAMECE      PHILLIPS                 OK          90014622000
455B629A65597B   CHRISTINA    UPSHAW                   CA          90012612906
455B639A63163B   DENNIS       DUTTON                   KS          90001783906
455B66A2691523   JOSE         SALAZAR                  TX          90008726026
455B6888772B3B   BETO         TORRES                   CO          90013968887
455B71A8561967   ROSSETTA     SIMPSON                  CA          90002491085
455B736A18B836   CALVIN       ILAOA                    HI          90010833601
455B7642A2B27B   DIAMOND      NEWMAN                   DC          90014816420
455B7699161963   ALFONSO      ASCEVES                  CA          90003886991
455B776995597B   WENDIE       GARCIA                   CA          49083367699
455B7816491569   CECILIA      LARA                     TX          90008038164
455B815816197B   DANIEL       GARCIA JR.               CA          46098961581
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455B844855B222   COREY        TALBERT                  KY          90010894485
455B8574581639   ANGELA       BEASLEY                  MO          90002905745
455B8758572B36   MICHAEL      LAVENDER                 CO          90013787585
455B8959172B4B   YESENIA      SALINAS                  CO          90014339591
455B9682472B36   JEFFREY      VANVELKINSBURGH          CO          33069776824
455B991235B53B   BRIDGETTE    OTERO                    NM          90010909123
455B996335B52B   CARLOS       DOMINGUEZ                NM          36041629633
455B9A61172B36   MR           TONKA                    CO          90010130611
455B9A62691569   CLARA        BACA                     TX          90011110626
455BB143672B43   EXTASSY      JIRON                    CO          90013871436
455BB198A5597B   SHANE        WARD                     CA          90014891980
455BB41AA72B36   DALLAS       BURKE                    CO          90009164100
455BB447772B3B   SUZIE        ROSE                     CO          90007904477
455BB686371999   TINA         FRIEDELL                 CO          38087856863
455BB7A1472B47   AKUA         AMOAKO                   CO          90008567014
4561197615B52B   RUTHIE       HAWKINS                  NM          90010779761
4561228825597B   EVA          BARAJAS                  CA          90014912882
45612616A4B271   ODNER        JAIMES- CASTILLAS        NE          90013306160
4561278178433B   JUAN         CONTRARAS                SC          90006797817
4561294AA72B22   IMMACULATE   CLEANING                 CO          90010599400
45612969172B4B   FATIMA       MERCADO                  CO          90014959691
45615A65A72B47   COURTNEY     STODDARD                 CO          90013320650
45616935A8B355   KATIE        GROSS                    SC          90014729350
4561714988B16B   JENNIFER     JENSEN                   UT          90013541498
4561721A92B87B   VALERIE      SWANSON                  ID          41063792109
4561729235597B   JOSE LUIS    AVALOS                   CA          90014912923
4561871385B58B   ORTIZ        ESTEFFANY                NM          90007737138
4561872482B27B   WANDA        ATCHISON                 DC          90003947248
456196AA491873   PAUL         HUGHES                   OK          90013116004
456197A5491569   FATIMA       RODRIGUEZ                TX          90001507054
4561B26368B355   RUTEREO      FERNANDEZ                SC          11082232636
4561B76182B87B   AMY          HOWERTON                 ID          90014427618
4561B893572B3B   MAXINA       QUINTANA                 CO          90005348935
4561BA27172B43   JESUS        CORDERO                  CO          33099640271
45621435A5B53B   DAVID        WILLIAMS                 NM          35002004350
45621478672B3B   TASHARRA     HENDERSON                CO          90010544786
4562287915B174   CAROL        BARNETT                  AR          23058998791
4562349525B53B   FRANKLIN     CHACON                   NM          90012864952
4562352215B53B   FRANKLIN     CHACON                   NM          90013755221
4562374A272B43   MARIA        DEMORALES                CO          33068577402
45623A34772B3B   MRINA        ROOF                     CO          33046270347
45624165372B4B   DAMON        BOLTON                   CO          90012651653
456241A918B16B   ALICIA       DUPREY                   UT          90015221091
4562551395597B   LATASHA      WILLIAMS                 CA          90010035139
4562598848B355   SANDRA       CACEREZ                  NC          11093389884
45625A3525B222   JEALI        ONTANEDA                 KY          90010830352
4562637A55B53B   VANESSA      LEYHAN                   NM          90012243705
4562695668B16B   BRITTANY     ATWOOD                   UT          90011309566
45626A61572B43   DARREN       HILL                     CO          33006750615
45627165472B3B   JOHN         SMITH                    CO          90013681654
4562723592B27B   CONNIE       ANDERSON                 DC          90007272359
456272A4A72B3B   JACK         MENDOZA                  CO          33052022040
45627A2615597B   OLGA         SALMERON                 CA          49005460261
4562813A991569   GUADALUPE    PONCE                    TX          75078181309
45628379A2B87B   DEANNA       MILLER                   ID          90013943790
4562857112B87B   KRYSTAL      FELLERS                  ID          90013975711
4562861622B27B   LISA         THOMAS                   DC          90014866162
4562993742B87B   LAURANCE     BLACK                    ID          90005389374
4562B117672B36   JORGE        DE LA CRUZ               CO          33003261176
4563158247B472   GERMAN       HERNANDEZ                NC          90008545824
4563179368B16B   TIFFANY      CHANCELLOR               UT          90015337936
45631818A8B16B   KIMBERLY     PROKOPIS                 UT          90002938180
4563225478B355   DIXON        ROARK                    SC          90013362547
456324A7672B4B   DONTE        BIRDSONG                 CO          33041694076
45632539372B43   CHUMEL       MORALES                  CO          90012285393
4563329765597B   ALFREDO      AREVALO                  CA          90010172976
45634546A51334   DAWN         MILLER                   OH          66051935460
4563529765597B   ALFREDO      AREVALO                  CA          90010172976
4563586655B174   TIMOTHY      BROWN                    AR          90006288665
4563588252B27B   ROBERT       JONES                    DC          90011878825
45636379A2B87B   DEANNA       MILLER                   ID          90013943790
45636A9A64B271   WILLIAM      VIGNERI                  NE          90006090906
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4563721492B27B   TAIWO        OWOEYE                   VA          81077242149
4563727522B87B   ADRIENNE     APARICIO                 ID          90015162752
45637AA588B165   SENETI       KATOA                    UT          90012920058
4563851342B27B   JONATHAN     KIRKLAND                 DC          90013465134
456386AA65B53B   ANNA         MADRID                   NM          35005456006
45638768172B4B   JAMIANNE     ANDERSON                 CO          90015117681
45638A6444B271   STEPHANE     KONE                     NE          90004200644
456393A587B467   ELDER        ROMERO                   NC          90003453058
456398A375B58B   JOHN         BENTON                   NM          35017538037
4563B22577B431   JAMES        FLEMING                  NC          90009782257
4563BA19371999   ADAM         WILLMERT                 CO          90012910193
4563BAA974B271   MATTHEW      SNYDER                   NE          90014510097
4564129635597B   FELIX        MARTINEZ                 CA          90011762963
45641A41891569   LEOPOLDO     DE LA ROSA               TX          90008050418
45641A67361963   JANETT       CORTES                   CA          90012510673
45642843A51361   SHTEQUINA    RAY                      OH          66064318430
4564375698B151   MICHAEL P    CLOUGH                   UT          90000767569
45643A2515B58B   ANGELICA     TENA                     NM          35044140251
45644639872B36   MARIA        GABALDON                 CO          33025406398
4564555AA2B87B   ANNABELLE    JONES                    ID          41067315500
4564648962B87B   MALISSA      WATTS                    ID          41095234896
4564675275B58B   MEGHAN       ARCARO                   NM          35037707527
45646A16247954   MEGAN        HICKS                    AR          90012660162
4564734885B222   KIMBERLY     MEREDITH                 KY          90012163488
4564855815B53B   CORRINA      BARRY                    NM          35056515581
4564894115B222   DEMETRIUS    COHEN                    KY          90006499411
45648993872B43   TERENCE      EDLOS LYLES              CO          33066119938
4564931A171999   NICOLE       MCGRATH                  CO          90008053101
4564965A484336   RICHARD      ALFANO                   SC          19051436504
4564975822B87B   JAMES        REYNOLDS                 ID          41003107582
4564B2A9191569   ROCIO        HINOJOSA                 TX          75066922091
4564B83654B531   PHILLIP      BAKER                    OK          90008488365
4564B87A28B16B   ANDY         NAVARRO                  UT          90013358702
4564BAA1451348   IRA          GANSLER                  KY          90012100014
45651744A51334   JENNY        DEES                     OH          90011967440
4565232666197B   EFIGENIA     FERNANDO                 CA          46073073266
45652379A2B87B   DEANNA       MILLER                   ID          90013943790
45652674A91873   KIM          FEIOCK                   OK          21088036740
45653486272B3B   CECILIA      LOPEZ                    CO          90010544862
4565367925B58B   VINCENT      MEDURE                   NM          90010926792
45653A98671999   MARY         MARTINEZ                 CO          90014430986
4565475A854121   ROSELYN      PUCKETT                  OR          90012337508
45654883572B36   BERTIN       BARRON-PAREDES           CO          90014348835
4565518A55B52B   ALEXANDRIA   RITCH                    NM          36091601805
45655479A5B145   WINNIE       GIVENS                   AR          90010594790
4565572955B376   CASSANDRA    SCROGGINS                OR          90001237295
45655948A4B271   CHRISTINE    LAVERA                   NE          90011279480
4565695545B551   JESSICA      SEDER                    NM          35098709554
45657742A2B27B   ELVA         TURCIOS                  DC          90013037420
45658862A91523   MAYRA        MORALES                  TX          90007288620
4565898725B58B   JESSICA      LEYBA                    NM          90010949872
45659777172B3B   DANE         INGLIS                   CO          33093557771
45659868572B4B   MARTHA       SOLIS                    CO          33075348685
4565B244561963   MARY JANE    LOPEZ                    CA          90013822445
4565B532355939   CHRISTINE    HOUSER                   CA          90011205323
4565B613172B36   CORI         SMITH                    CO          90012786131
4565B867691873   JOMEKIA      PORTER                   OK          90010658676
4565B99A491988   IVY          WORLEY                   NC          90007949904
4566147785B53B   ANGELA       BENAVIDEZ                NM          35041014778
4566185785B222   ELAINE       RICE                     KY          68013838578
4566261948B355   PEGGY        FOSTER                   SC          90000586194
45663256A47954   JONATHAN     HERNANDEZ                AR          90013282560
4566434398B355   NORMA        ROJAS                    SC          90002603439
4566532A47B46B   WILLIAM      MASON                    NC          90002043204
4566541285597B   ERIC         DE LA CRUZ               CA          90011764128
45666493472B43   MITCH        KELLER                   CO          90014224934
4566685685B222   CHANDRA      SMITH                    KY          90010848568
45667A89871999   ANDREW       AGUIRRE                  CO          90013320898
45669A6AA2B87B   SEAN         OAKLEY                   ID          90015080600
4566B582A5B174   TERRANCE     STEWART                  AR          90013075820
4566B63833B33B   MIGUEL       MENDOZA                  CO          90000506383
4566B945755939   CONNIE       PASHAL                   CA          90005089457
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4566BA48354195   CAROL       HARRIS                    OR          90013740483
4567112415B53B   JAMES       WHITE                     NM          35096271241
45671552972B3B   KRISTI      SMITH                     CO          33012925529
456716A395B52B   PHILIP      HERRERA                   NM          90006656039
4567172834B271   JUAN        TORRES                    NE          90014847283
4567246715B58B   TABITHA     DIFFIE                    NM          90015104671
45672856272B3B   CHIRLEY     MCMANAMAN                 CO          90013038562
4567294945597B   DANIELLE    FONSECA                   CA          90014919494
4567337A484368   JOSE        RENTERIA                  SC          14507143704
4567356135B222   FREEDA      NADDOX                    KY          90014385613
4567364615B52B   CATHERINE   MARTINEZ                  NM          90006116461
45673A87951334   JEFF        COLEMAN                   OH          90015320879
4567488A82B87B   JENNIFER    WOODMAN                   ID          90009578808
4567518675B53B   TOMOYOSHI   STEWARD                   NM          90010421867
45676229872B43   JESUS       CHAVEZ                    CO          90003522298
4567625248B16B   TRISTIN     GORRET                    UT          90007582524
4567638A872B4B   ALEXANDRA   ROBINSON                  CO          90015443808
456777A9A8B355   JESSENIA    CHINCHILLA                NC          90011327090
4567838A172B43   ALVERTIS    SIMMONS                   CO          90008633801
4567849A972B36   MESMIN      HAZOUME                   CO          33045584909
4567924682B87B   JAMES       ANUNDSON                  ID          41076672468
4567927A447954   RONALD      PRYOR                     AR          90012702704
4567934338B16B   ROBERT      JEPSON                    UT          31034713433
456794A9772B4B   BILLY       SMITH                     CO          90011084097
456796A395B222   JUAN        HUNTER                    KY          90014726039
4567972A251334   HALEY       FAULKNER                  OH          90014347202
4567B357361963   WALEED      ISHAQ                     CA          90009903573
4567B816372B43   JULIO       ESTRADA                   CO          90010748163
4567B85885597B   RITA        PEREZ                     CA          49005098588
45681425772B43   JESUS       ESQUEDA                   CO          90009564257
4568154555B58B   JASMAINE    VALDEZ                    NM          90014705455
4568181A471999   LEO         TAPIA                     CO          90012398104
45682484772B38   DELON       RADEBAUGH                 CO          90007534847
456828A742B921   PANCHOVIA   GG                        CA          90009058074
4568344A571999   HOLLY       RIEKE                     CO          38096824405
4568389798B165   LANCE       MONTIE                    UT          90006198979
45683AA888B355   QUANTIS     ANTHONY                   SC          90010810088
45686262A5B58B   AMANDA      CHAEZ                     NM          35010002620
45686458672B47   NICOLE      GUTIERREZ                 CO          90012644586
4568664864B271   ALPINIANO   MORALES                   NE          90013596486
45686A2338B16B   CARLOS      RAMIREZ                   UT          90015030233
45686A92191523   PATY        HERNANDEZ                 TX          90011260921
45687113A91988   JOHNNETTA   MAYES                     NC          90008081130
4568714947B461   KATHY       LOCKLEAR                  NC          90012531494
4568751935B174   DESERAE     MURPHY                    AR          90010495193
45687844372B4B   GENRIETTA   GOLDEN-DUBO               CO          90014278443
45688A3A872B3B   SHANNON     ISENHOUR                  CO          33009240308
45688A65272B3B   JULIE       WARNER                    CO          90011180652
45689181A7B461   ASHLEY      STRONG                    NC          90012531810
456894A5A4B271   BECKI       HILBURN                   NE          27006564050
45689825A5B222   PHILLIPA    GLASCOE                   KY          68095858250
45689A11991873   PAULA       WESLEY                    OK          90014160119
45691654172B43   RHONDA      MAYS                      CO          33011456541
4569256155B52B   DONNY       LOPEZ                     NM          36012365615
4569257644B582   SHIRLEY     WILLIAMS                  OK          90011435764
456925AA991988   MARK        POUNDS                    NC          90013145009
4569264682B27B   SHANNA      DICK                      DC          90014816468
45693825A5B222   PHILLIPA    GLASCOE                   KY          68095858250
45694795A7B421   LEOLA       ROSS                      NC          11024297950
4569565667B421   ASHLEY      WEAKS                     NC          90006366566
456958A6672B43   CORI        BROWN                     CO          90012038066
4569859415B53B   RICARDO     RUIZ                      NM          90010365941
4569B48945B53B   UTAHNA      BELONE                    NM          90014304894
4569B729581682   REBECCA     BARRAZA                   MO          90015137295
4569B947A6197B   EJIGEYEHU   ABEBE                     CA          46000799470
456B123A18B186   TIMARIE     BAXTER                    UT          31076232301
456B127A75B53B   JESUS       CHAVEZ                    NM          90013312707
456B1416561999   BEN         WYNN                      CA          90002354165
456B1696A8B355   KEISHA      WILLIAMS                  SC          11035006960
456B1A88647954   FRANCISCO   CALDERON                  AR          90007040886
456B2474172B36   KAREN       ENRIQUEZ                  CO          33032414741
456B2A63772B4B   FEDERICO    HERNANDEZ                 CO          90010660637
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456B323452B27B   JAMES          FREDERICK              DC          90012362345
456B3397791988   SHADA          SMITH                  NC          90001893977
456B3434691523   BRENDA         CASEBOLT               TX          90009264346
456B36A3972B24   JOHN           ROSS                   CO          90009386039
456B451818B16B   ASALELE        SEMAIA                 UT          90014675181
456B461555B58B   LEANORD        ARAGON                 NM          90010026155
456B4938491873   LESA           BARNETT                OK          90014159384
456B53A565B174   KATHARYN       BRACY                  AR          90013673056
456B56A7191988   YURI           PENA                   NC          17080076071
456B5968881639   MARISA         MAN                    MO          29042569688
456B5A1A15B58B   FELICIA        WILLIAMS               NM          90008410101
456B6539A93767   JAMICA         RUSSELL                OH          64549695390
456B6783547954   BERNABE        FARIAS                 AR          25040177835
456B67A5958528   ISAIS          PEREZ                  NY          90015547059
456B728825597B   EVA            BARAJAS                CA          90014912882
456B7487891523   RICARDO        OLIVA                  TX          90008874878
456B7865555939   ANTHONY        MORTENSEN              CA          90015018655
456B8115991569   FRANCISCO      RETANA                 TX          90015201159
456B849465B174   SHAHEED        BLAKELY                AR          90015504946
456B911A463628   TAYLOR         SLAPE                  MO          90005031104
456B921A35597B   MICHAEL        BONK                   CA          90012782103
456B944968B16B   KATHIE         CHERRINGTON            UT          31047794496
456B955A88B355   COREY          SEARGENT               SC          90014305508
456BB564261963   JAMES          PRESTON                CA          46065545642
456BB634571999   ROWDY          WOODS                  CO          90012246345
456BB65618B355   ERICA          THOMPSON               SC          90014996561
456BB9A1A8B355   TERRANCE       DAWKINS                NC          90011919010
456BBA3815B58B   MARRS          ANTHONY                NM          90004890381
45711342972B43   SHILAMONIQUE   LUCERO                 CO          90007483429
4571149995B52B   DEBBIE         DURAN                  NM          90001484999
4571219398B16B   REMMELT        OTTO                   UT          31086291939
4571474A15B58B   LUCIO          DURAN                  NM          90015187401
45715A95391523   LESLIE         MILAN                  TX          90011260953
4571641A62B87B   CYNTHIA        MACCLANATHAN           ID          41065624106
45716A26A5597B   JOHNNIE        MORENO                 CA          90014920260
457172A7147954   ANDRES         LOPEZ                  AR          25019792071
4571763389376B   LINDA          DICKERSON              OH          64507346338
4571774925B52B   THEODORE       MARTINEZ               NM          36033357492
45717A3A391873   TERESA         PINA                   OK          90014160303
457186A655B53B   FILEMON        PEREX                  NM          90013176065
4571882785597B   CARMEN         SOTO                   CA          90003368278
4571978328B355   JANET          BRADLEY                NC          90013347832
4571B21775B174   TANISHA        WHITE                  AR          90014902177
4571B641972B36   MELISSA        AVILA                  CO          33081456419
4571B85A761967   GUADALUPE      RODRIGUEZ              CA          46008238507
4572279947B342   LAWANN         SMITH                  VA          90005077994
4572293784B271   TIFFANY        KESTER                 NE          27014629378
4572354125B52B   MICHELLE       MORALES                NM          90011175412
4572363A35B53B   JASON          MINNOTTE               NM          90014346303
45724233A4B271   GREG           MORRIS                 NE          27060292330
4572426616197B   RUBEN          LUNA FLORES            CA          46024572661
4572434135B222   ANGEL          VIDALES                KY          90014473413
4572468166195B   REYNA          LOPEZ                  CA          46000146816
4572496262B27B   SHAMIKA        GUNN                   DC          90013379626
45725521672B36   MARY           SALAZAR                CO          90012885216
457255A5972B4B   ROBERT         BARKER                 CO          90008365059
4572581455B58B   ELVIRA         BUSTILLOS              NM          35099618145
4572584648B16B   RYAN           NOBLE                  UT          90013778464
45725A26A2B27B   TADESSE        KEBEDE                 DC          90009150260
457271A9491988   TIFFANY        SMITH                  NC          90013841094
4572753565B53B   ALISON         COURTOIS               NM          35021845356
45728575172B43   SAMANTHA       JOHNSON                CO          90012105751
4572868565B58B   VERONICA       LLAGUNO                NM          90014816856
45728692572B4B   JUAN           DE DIOS                CO          90012426925
457288A998B16B   ANTHONY        SORGENTE               UT          90010778099
4572975742B27B   GEORGE         PETTAWAY               DC          90011557574
4572B219371999   CHOLE          KILE                   CO          90013392193
4572B526984342   ALBERT         JRIARTE                SC          90014945269
4572B871891569   DANNY          CHAVEZ                 TX          90010538718
4573119882B27B   NASHAUN        GAITHER                DC          90015031988
4573123535B222   SONIA          HEAD                   KY          90011442353
45731381272B4B   MICHAEL        BERNAL                 CO          90012793812
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4573482A92B87B   ALICIA          WIMMER                ID          90008528209
45734A15372B36   TERRANCE        WEAVER                CO          90002140153
45734A76472B43   LAURA           PEREZ                 CO          33031880764
45735516A8B355   SANTOS          FUNES                 SC          90003685160
4573585A772B36   KYLE            HASKELL               CO          90009058507
4573643A25B222   TARENCE         CAMP                  KY          90011524302
4573689425B174   TERRELL         DICKERSON             AR          90010978942
45737287A2B27B   NEALY           JOHNSON               DC          81008372870
45737429972B43   BRANDI          WINDHORST             CO          90011864299
4573778A972B4B   CAMILA          PEREZ                 CO          33028867809
45738532672B36   DESI            JACKSON               CO          90013375326
4573863915B174   TEANNA          WILLIAMS              AR          23075496391
4573923835B174   WILLIE          DEMYERS               AR          90001422383
4573958A591569   SUGEY           VAZQUEZ               TX          75098825805
45739712372B3B   MICHELLE        CASIAS                CO          90011107123
4573B35385B222   KAILYN          JORDAN                KY          90013563538
4573B85762B27B   CATHERINE S     HINDS                 DC          90011258576
4574155A472B43   SANDRA          RIVERA                CO          33014255504
4574177995B174   JUAN MANUEL     AVILA                 AR          90015587799
4574191392B87B   RODNEY          HOLCOMB               ID          41014379139
45743473676B99   FLOR            ALARCON               CA          46011524736
45744765A5B52B   ERIC            RAMIREZ               NM          36081007650
4574494475B53B   PALMIRA         GUTIERREZ             NM          90012479447
4574528934B271   TRACY           MILLER                NE          90002462893
457456A932B238   DANIEL          GREENBERG             DC          90006366093
457461A728B355   NORMA           DOMINGUEZ             SC          11004521072
45746732872B43   RACHEL          GALLEGOS              CO          90015257328
4574681685B174   DENISE          FISHER                AR          23084048168
4574696272B27B   JUSTIN          CADLE                 DC          90014009627
45746A9745B222   CHRISTY         FEGER                 KY          90008930974
45747A2675597B   RUDY ENRIQ      MARTINEZ              CA          49045140267
457483A6881639   SHAUN           MCGHEE                MO          90014073068
457488A895B272   KIM             HALE                  KY          68017278089
45748A53161963   CHRISTINE       WEBB                  CA          90011970531
45749282272B43   CRISTIAN        PENA MORALES          CO          90014362822
45749654A5597B   MANUEL          ROQUE                 CA          90003116540
4574B761171999   MICHELLE        BRADLEY               CO          38033867611
4574B79642B27B   BOBBY           SINGH                 VA          90013147964
4574B81A791873   MICHAEL         LOETHER               OK          90013358107
4575237A85B222   JAMES           CAUDILL               KY          90007863708
45753A43472B38   JAMIE           TRUJILLO              CO          33040600434
4575461885B222   DAVID           ROSENBERG             KY          90015146188
45755891872B4B   DAMIEN          MICHAEL-LAVALEE       CO          33004148918
4575592282B87B   JONATHAN        MARBLE                ID          90013949228
45755A55584336   KHERI           BATTLE ESTEVES        SC          90008080555
45756182172B36   MELVIN          SCOTT                 CO          33087791821
457562A9A72B43   JUAN            ANDRADE               CO          90011152090
4575633555B174   LEVESTER        BOYLAND JR            AR          90010523355
45757269A72B43   EPHREM          GETACHEW              CO          33004062690
45757A12961966   HELEN           CONTRERAS             CA          90006030129
45758256472B43   ANGELA          AGUILAR               CO          90010262564
45758341972B3B   JOSH            OBRYAN                UT          33024663419
45758A68191873   LEONEL          SOTO                  OK          90014160681
45759451472B4B   JAY SHIELA      PENA                  CO          90015204514
4575B56845B53B   JONATHAN        ORTIZ                 NM          90014435684
4575B687771999   JORDAN          WOOD                  CO          90012686877
4575B939291988   JOSE LUIS       CASTILLO              NC          90013919392
4575B9A7155939   LARRY           DONNELL               CA          90012909071
4575BA8A391873   JESUS           LOZARIA               OK          90001620803
45761116A91523   DISMAS- MARIO   MORENO                TX          90011261160
45763266572B3B   WILMER          CRUZ                  CO          90015182665
4576364A45B222   ZAKEE           AJENE                 KY          90013746404
45763767472B3B   MIRANDA         SUMNER                CO          90004997674
45763776A55939   JOSE            RAMIREZ               CA          90013397760
4576383272B87B   REINA           SCHOCH                ID          90014158327
4576417747B421   JEREMY          FERGUSON              NC          90014781774
4576431A672B36   LOUIS           GONZALES              CO          90011453106
45764A64772B43   KAYLA N         KROLL                 CO          90013310647
4576579642B27B   BOBBY           SINGH                 VA          90013147964
45765975A51334   JOHN            COMACK                OH          90010379750
4576627754B271   DARNELL         DAVIS                 NE          90013572775
4576717AA72B3B   MIKE            SAMPAIA               CO          90013361700
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4576797283B394   KATIE          SOLA                   CO          90008139728
4576886145B222   STELLA         MAXWELL                KY          68003638614
4576923A472B36   DAISY          ALDERETE               CO          90013932304
4576B1A9761963   GABRIEL        ANDERSON               CA          90012931097
4576B689672B3B   CRISTOBAL      JIMENEZ                CO          90012166896
4576B761171999   MICHELLE       BRADLEY                CO          38033867611
457714A8A2B27B   ROLAND         GODWIN                 DC          90015324080
45771542172B3B   NADIENKA       FERMIN                 CO          90010545421
457718AAA9B149   TARA           NORWOOD                MO          27512308000
45772384372B4B   LEEANNE        STENGEL                CO          90015443843
4577271248B167   GLADYS         ESTRELLA               UT          90004297124
457729A2272B43   MARIA          RODRIGUEZ-MORA         CO          90013619022
45773415572B4B   JODIE          GONZALES               CO          33007304155
4577376A95597B   JAUN RAMON     RIOS                   CA          90011767609
4577386255593B   MICHEAL        MARTINAZZI             CA          49064788625
45773A48972B43   LIZET          VASQUEZ                CO          90012800489
45774846A72B43   DENISSE        LOPEZ VEGA             CO          90012128460
45774A71372B3B   JESSICA        CHAVEZ                 CO          90014670713
4577578345597B   NISA           DE LA GARZA            CA          90011767834
457762A6A81639   MARIA          PALOBLANCO             MO          90004302060
4577672695B174   YOLANDA        BUNCHE                 AR          90015047269
45776A69291873   TERESA         PINA                   OK          90014160692
457774AA54B271   BRYNESHA       DICKSON                NE          27088834005
4577839458B165   SHALENE        TURNER                 UT          90010123945
457791A255597B   VIRGINIA       HALL                   CA          90014921025
4577923A591569   JORGE          TORRES                 TX          90011552305
45779319672B3B   CHERIE         HATEN                  CO          33050883196
45779A6248B16B   ABRIL          HIDALGO-MACHORRO       UT          90012800624
4577B333191394   STEVE          MARTIN                 KS          90006183331
4577B3A8171999   MICHELLE       SANCHEZ                CO          90009393081
4577B639691569   ISELA          GILLAM                 TX          90015126396
4577B718972B43   DAVID          TURNER                 CO          33058477189
45781238672B85   ALEJANDRA      RIVERA                 CO          90013672386
45781599A5597B   MARCOS         VALLEJO                CA          49088885990
4578162138B16B   RODNEY         COOK                   UT          90012906213
45781989A51334   DENNIS         PARTIN                 OH          90007669890
4578337763B399   CANDY          AUSTIN                 CO          90011243776
4578489465B174   CHESNEY        GARDNER                AR          23011298946
4578628568B355   CHANDRIA       DICKERSON              SC          90000992856
4578649525B58B   LORENZO        ELWOOD                 NM          90010104952
4578665198B16B   GLADYS         MAGELE                 UT          90010936519
4578719472B27B   LATISHA        BURNS                  DC          90010531947
45787216A8B165   SHANNA         CHIVERS                UT          31019872160
45787569772B36   JERRY          GONER                  CO          90003245697
45788219772B3B   JOSE M         MOSQUEDA TORRES        CO          90013032197
457892A1972B43   JOSEPH         MARTINEZ               CO          33077462019
4578B147281639   MARJORIE       FRYE                   MO          90002711472
4578B467593724   STACIE         VANBEBER               OH          90009264675
4578B55A25B378   LARRY          SOFICH                 OR          44528055502
4578B8A5861963   SERGIO         GARCIA                 CA          90011418058
4578B936691394   RIGOBERTO      MADRID                 KS          29089459366
4578BA45791988   JENNIFER       OWENS                  NC          90015130457
4579153625B53B   PATRICK        CHAVEZ                 NM          90015155362
45791A52391241   GREGORY        PEED                   GA          90009940523
4579237818B355   YURINA         SANTOS                 SC          90012623781
45792412A81669   LISA           KIRKDOFFER             KS          29076484120
4579278818B165   VALARIE        TAYLOR                 UT          31064047881
4579328A851334   AMANDA         MERRITT                OH          90013852808
4579397682B87B   TAYLOR         WYBLE                  ID          41006189768
4579411425597B   GABRIEL C JR   MORENO                 CA          90014921142
45794219772B3B   JOSE M         MOSQUEDA TORRES        CO          90013032197
457942A585B174   MARCELLUS      CARPENTER              AR          90015032058
4579494657B421   KENNETH        ERWIN                  NC          90006709465
45794A17771968   DEBORAH        KUHEL                  CO          32031090177
4579511425597B   GABRIEL C JR   MORENO                 CA          90014921142
4579595845B174   AMELDA         ALCORN                 AR          23082419584
45795973172B3B   AARON          WILLIAMS               CO          33038979731
45796A64291873   WHITNEY        PERKEY                 OK          90013670642
4579711795597B   RITA           GUERRERO               CA          90014921179
457973A9391873   MICHEAL        DAVISON                OK          90010143093
4579746A55B594   BENJAMIN       FELIX                  NM          35090714605
4579751195B58B   MATTHEW        HOLTZCLAW              NM          90012925119
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4579817734B271   ROBERT       MANKAMYER                NE          90014901773
457981A1971999   JESSICA      MARTINEZ                 CO          90001461019
4579875665B58B   ANGELA       SALCIDO                  NM          90010697566
4579886485597B   ZENOBIA      COLEMAN                  CA          90004338648
4579891A75B53B   JUDY         POPE                     NM          90003099107
45798A61955939   JERMELA      MAYBERRY                 CA          90009480619
4579B562372B3B   MANUAL       LOPEZ JR                 CO          90000125623
4579B5AA75B53B   MARIA        AVILA                    NM          90014985007
4579B752A47954   KIRK         BAFFLER                  AR          90012307520
4579B75A95B523   JOJOLA       DEVAN                    NM          90008447509
4579B984A2B27B   AROLDO       VILLACINDA               DC          90013749840
457B148A755939   ADELINE      TRUJILLO                 CA          90014814807
457B179285B174   SHANEIKA     GILL                     AR          90011337928
457B234558B355   PRESTON L    HILLIE                   SC          90005373455
457B282644B271   DWAINE       GOINGS                   NE          90009438264
457B3415372B36   DANIELLA     MISSEY                   CO          90014634153
457B354855B52B   ROSA         MATA ALVARADO            NM          90008565485
457B4589472B47   CRYSTAL      KETTELER                 CO          90008295894
457B4A3445B174   FELIPE       HERNANDEZ AGUILAR        AR          90009410344
457B4A92A5B58B   CRYSTAL      MENDOZA                  NM          90008670920
457B514328B355   JOSELUIS     DELVALLE                 SC          90013341432
457B5752972B43   RANDALL      EVANS                    CO          90009257529
457B575822B87B   JAMES        REYNOLDS                 ID          41003107582
457B5A9585B53B   ROQUE        IRIGOYEN CARRASCO        NM          35079890958
457B6165A61967   QUEEN        BEEQ                     CA          46053421650
457B6615372B4B   CHRISTY      GARRETT                  CO          90001586153
457B721315138B   MICHAEL      DUNN                     OH          90009942131
457B738172B87B   STEVE        HEBERER                  ID          41065033817
457B7719A58528   MAIDIARELY   ALICEA                   NY          90015527190
457B7A6595B222   ASHLEY       BACHELOR                 KY          68089940659
457B8325472B4B   CHAMBRI      LOVAN                    CO          90014983254
457B84A358B165   SYDNEE       SOTER                    UT          90000934035
457B872972B27B   JOSE         HERANDEZ                 DC          90013307297
457B887515B52B   ANA LUISA    LOZOYA                   NM          36009118751
457B921165597B   JULIZA       CARRILLO                 CA          90012782116
457B92A4461967   ESTHER       GRAJEDA                  CA          90002872044
457B9446272B3B   C'LSTE       THOMAS                   CO          33097144462
457B9596471999   RAYMUNDO     CHACON                   CO          90009115964
457B99A2272B4B   MARIA        RODRIGUEZ-MORA           CO          90013619022
457BB74612B27B   KAREN        SCOTT                    DC          90011257461
4581137885B58B   JOSEPH       JONES                    NM          90014293788
45811778A72B3B   BAUDILIO     CASIA                    CO          90013667780
45811A49A72B43   DREW         FISHER                   CO          33077990490
4581246315B222   KATRINA      HALL                     KY          90013994631
45812A37372B43   JUANCARLOS   RIMOLDI                  CO          33016490373
4581432868B355   JACOB        MCCANN                   SC          11075203286
4581455999155B   FRANCISCO    RODRIGUEZ                TX          90012095599
4581515475B58B   ARLO         ABBOTT                   NM          35060461547
45815194A72B36   CELINE       GARCIA                   CO          33047691940
4581572185597B   ARTURO       TECONA                   CA          49000837218
4581588A291873   DOUGLAS      HOUSE                    OK          90012598802
458162A235B174   MARLON       BIRTS                    AR          90014512023
4581655533163B   SAM          RESENDEZ                 KS          90010985553
4581667745597B   MISS XIA     VANG                     CA          49028566774
4581681368B355   KALIA        NEBLETT                  SC          11009448136
4581693325B555   CARMEN       HENRY                    NM          90011059332
4581697952B896   ANDREW       HENDERSON                ID          41003709795
45817429A8B16B   ROMEO        FUENTES                  UT          90014884290
4581783825B52B   KRISTINA     LOPEZ                    NM          90008928382
4581892A172B3B   MIREYA       CRUZ                     CO          33091519201
4581988328B355   LASASHA      WALKER                   SC          90001868832
4581B2A3372491   SANDIE       FONNER                   PA          90008362033
4581B54125B58B   BARBARA      KEYS                     NM          90013315412
4581B549972B3B   ERICK        JAMES                    CO          90010545499
45821821472B36   LEOPOLDO     SALCIDO GARCIA           CO          90014698214
4582184745138B   DEBBIE       CAMPBELL                 OH          90011048474
45821A48991569   HUGO         HERNANDEZ                TX          75004780489
4582214A691873   MARCIA       KINDELL                  OK          90014161406
4582262837B452   TIM          FLEMING                  NC          90002986283
45822748A8B16B   WILLIAM      EATON                    UT          90013457480
4582329A172B4B   KENNETH      DAVISON JR               CO          90013762901
4582432612B87B   DEANA        SCOTT                    ID          41012713261
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4582434455B53B   JAMIE        VALVERDA                 NM          35012113445
4582455984B271   PRIMITIVO    JIMENEZ                  NE          27056325598
4582525988B355   CORA         WARD                     SC          90005292598
4582537A15597B   JANELL       POSTERT                  CA          49030893701
4582553562B87B   VICTORIA     MCLEAN                   ID          90005645356
4582553755B174   MICHAEL      RITCHEY                  AR          90009745375
45825628672B3B   ALFRED ELI   SHORTT                   CO          90001276286
4582575A38B165   ELENIT       BAZAN                    UT          31034317503
45825A28151348   KHALILAH     TITSWORTH                OH          90007980281
4582675554B539   CARROLL      WINGERT                  OK          90012497555
4582786A261963   ANITA        ADIBOYE                  CA          46016958602
458279A4A22463   PATRICIA     CARRILLO                  IL         90010259040
45827A7568B16B   JUDITH       ROMERO                   UT          31045320756
45828176A91873   PAULA        VALDEZ                   OK          90014161760
4582845422B84B   TESFAY       HABTEMICAEL              ID          90011984542
4582849825B222   KENNETH      WRIGHT                   KY          90010174982
458295AA891873   ANNETTE      WAGNER                   OK          90013945008
4582B221172B3B   JOSE         BARRASA                  CO          90013032211
4582B335972B4B   TOM          HOLMES                   CO          33028883359
4583188495597B   CYNTHIA      RODRIGUEZ                CA          90014928849
45832716A72B4B   CRAIG        LARSON                   CO          90014377160
4583299528B355   LAQUANDA     ROBINSON                 SC          90012939952
4583328748B16B   JEREMIAH     CARLSON                  UT          31001042874
4583349552B27B   GEORGE       WIGGINS                  DC          90013744955
45833683A91988   RAFAEL       AGUILAR                  NC          90014556830
45833A2155597B   BRENDA       PIERSON                  CA          49061100215
4583414A65B58B   RAYMOND      AGUILAR                  NM          90006251406
45834183A4B271   NATHAN       SHADY                    NE          90011551830
458342AA85B174   BRIANA       HIGGS                    AR          90011412008
458351A348B16B   TARYN        RAY                      UT          90012031034
45835266772B3B   RUTH         GUARDADO                 CO          90015182667
458357A3A5597B   SPENCER      HANKS                    CA          90010497030
45836131172B43   ELIZABETH    ARMIJO                   CO          90013961311
4583624618B16B   EUTIMIO      SANDOVAL                 UT          90014622461
4583659552B87B   JENNIE       DEVLIN                   ID          41024915955
45837179A91873   MICHAEL      KINDELL                  OK          90014161790
45837891A5597B   SARA         TAFOLLA                  CA          90011768910
4583814415597B   SARAH        GONZALES                 CA          49012121441
4583839892B27B   TONTILEIA    WASHINGTON               DC          90006663989
4583839A98B165   MAURICIO     LOARCA                   UT          90005453909
45838531A4B271   MIKE         KHAN                     NE          27007915310
4583986A171999   STEVEN       WEIDNER                  CO          90013988601
4583B78992B27B   ARNETTE      YOUNG                    DC          90007687899
45841224672B3B   SERGAO       MARTINEZ                 CO          90013032246
4584145895B926   EFRAIN       ARROYO                   WA          90014744589
4584256996197B   ELIZABETH    GARCIA                   CA          46091915699
45843344972B4B   CONNIE       CASANOVA                 CO          33051513449
4584351158B355   JARROD       PATTERSON                SC          90011535115
4584393A88B16B   MELANIE      WALKER                   UT          90000909308
4584491918B16B   TINA         BURSON                   UT          31087129191
45845657572B4B   NICOLE       MCCOY                    CO          33091616575
4584588715B594   MARGARITA    ROMERO                   NM          90012238871
45845997372B43   LISA         SAMAIN                   CO          33048249973
45846225772B3B   LUIS         HERNANDEZ                CO          90013032257
45847132A61945   MIGUEL       GARCIA                   CA          46049471320
458471A728B355   NORMA        DOMINGUEZ                SC          11004521072
458481A9372B4B   ANTHONY      GALLEGOS                 CO          90014511093
4584B735451334   LANI         WILLIAMS                 OH          90008857354
45851229572B3B   LEONARD      CASADOS                  CO          90013032295
45851497172B4B   SARAH        REITENBAUGH              CO          33028474971
458515A154B271   EZEQUIEL     GUZMAN-RAMIREZ           NE          27057115015
4585198A98B355   ANGEL        MATA                     SC          90005349809
4585217628B16B   ANGELA       RICHARDS                 UT          31054161762
4585371A447954   SAUL         RIVERIA                  AR          25071017104
4585449912B27B   JASMINE      HALL                     DC          90011994991
4585483692B921   MIGUEL       MENDOZA                  CA          90012998369
45856557A72B3B   VERONICA     DELGADO                  CO          33027355570
4585666425B58B   ISABEL       LEDEZMA                  NM          35043706642
45857134A72B3B   FEDERICO     ZAPIEN                   CO          90013311340
4585793175597B   MARIO        MONZON                   CA          90011769317
4585891665597B   OLIVIA       CONTRERAS                CA          90014929166
458596A3133B55   TARA         POMEROY                  OH          90015496031
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4585B57455597B   MARIA          ZARATE                 CA          90012965745
4585B58112B27B   GIOVONN        ROBINSON               DC          90013445811
45861164972B3B   OSCAR          GALVAN                 CO          90015121649
4586119945B174   PAULA          MILLS                  AR          90013341994
458613A4347954   JUAN           RODRIGUEZ              AR          25042203043
458614A1A2B27B   LUZ MARIA      NAVARRO                DC          90013104010
458626A3791549   SANDRA         LUNA                   TX          75087946037
458626A6A91523   JAIME          HERRERA                TX          75035486060
45862A28871999   ASHLEY         ARCHULETA              CO          38050600288
45862A3278B16B   BUNNY          SANCHEZ                UT          31056610327
4586324215B174   YOLANDA        WILLIAMS               AR          90005542421
45863434472B43   ERNESTO        OCHOA-GUERRA           CO          33054414344
45863983672B36   VILDAD         MARTINEZ               CO          33081189836
4586429925B222   SHANE          SMITH                  KY          90013112992
4586446927B386   KARINA         VILLANUEVA             VA          90011644692
45864A4AA72B36   EDGAR          DE PAZ                 CO          33079030400
4586522442B27B   TARA           ALDRIDGE               DC          90015232244
4586538315B58B   CHERYL         LASITER                NM          35091493831
4586588595597B   RAMON          ENCISO                 CA          90014688859
45865A39591873   JAMEL          BRUNER                 OK          90009590395
4586697A261967   ANDREW         ALLEN                  CA          90005349702
4586699218B165   JAMES          JOHNSON                UT          31007699921
45867AA8672B4B   LESLIE         HENGFUS                CO          33045750086
4586861595B174   KHYREE         ALLISON                AR          90009786159
4586894864B271   DAVID          CONLEY                 NE          90006659486
4586915A647954   TAMMY          CARNES                 AR          25026151506
4586915A691523   GUILLERMO      SAENZ                  TX          90011261506
4586958725597B   JUAN           RODRIGUEZ              CA          49088585872
4586B989591988   WILLIAM        LIPTOK                 NC          90013919895
458713A1A72B3B   ALEJANDRA      GARCIA                 CO          33071933010
45871A65855939   JENNIFER       ISLAS                  CA          90009480658
4587266358B355   JOHNTAVIUS     MOBLEY                 SC          90012826635
4587454A88B165   LINDSAY        THORESON               UT          31053815408
4587519895B222   DWAYNE         L. LEWIS               KY          68096731989
4587524A85B174   AUDRIONA       ROY                    AR          90014902408
4587524A872B3B   KAREN          GARCIA                 CO          90013032408
4587568725B222   MARIA          VITTITOW               KY          90011146872
4587631914B569   SHANE          LAMBERT                OK          90014623191
4587675A861963   LARRY          ROGERS                 CA          90014117508
45876828272B4B   PEREZ          SANDRA                 CO          33034368282
458773A1272B3B   JENNY          LEWIS                  CO          90009283012
4587745112B87B   SAYLEE         MEYERS                 ID          41092404511
458774A648B355   JALISA         MASSEY                 SC          90013544064
458776A7972B36   EUGENIO        SANTOS                 CO          33042616079
4587871A75597B   MARIA          MEDINA                 CA          90007827107
4587958545B53B   JASMINE        TREVINO                NM          90013175854
458798A715B222   AHARON         BOYD                   KY          68086618071
45879913A47954   MARICELA       RIVAS                  AR          90013589130
4587B223A3B351   JOYCE          BECK                   CO          90010872230
4587B251891569   MAYRA          REYES                  TX          90013272518
4587B54135597B   VICENTE        FERNANDEZ              CA          49067105413
4588115765B58B   VELISHIA       STEVENS                NM          90014541576
4588151348B355   PATSY          JORDAN                 SC          90014565134
4588186962B87B   JOYCE          WILSON                 ID          41054978696
4588188595597B   RAMON          ENCISO                 CA          90014688859
4588247875B58B   MARTHA         MARTINEZ               NM          35039004787
45882915672B4B   PETRA          HARRIS                 CO          90013349156
45883841A8B355   PERNELLA       STAR                   SC          90012378410
45883892872B4B   TANISHA        WRIGHT                 CO          90005898928
45883A1868B165   EDUARDO        GUILLEN                UT          90000140186
45884892A61963   MARIA          ARAMBURO               CA          90007618920
45886623472B3B   ADRIENNE       OLIVAS                 CO          33000876234
4588683538B16B   ANDREW         HAUFF                  UT          90014388353
4588713148B355   KIMBERLY       ALGER                  SC          90014601314
4588799414B271   KIM            DILLEY                 IA          27034479941
45888439A81639   HEIDI          GLORIOSO               MO          29097794390
45888636A72B4B   DAWN           JACKSON                CO          33089306360
4588869122B27B   CHANDANE       MUHYEE                 DC          90000806912
45889764A8B16B   MISTI          BURGON                 UT          31076387640
4588993785B58B   LORI           CDEBACA                NM          35068049378
45889A3346192B   MARIO          BERNACHI               CA          90007490334
4588B197591873   JOSE ANTONIO   OROZCO                 OK          90014161975
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4588B62575B53B   VIOLET      CHAVEZ                    NM          90010826257
4588B769871999   RAINA       HART                      CO          38047617698
45891724872B36   JANICE      LANE                      CO          90013017248
45892645A5B222   TERRI       CURTSINGER                KY          90004186450
4589348728B165   ROBERT      GALLEGOS                  UT          31024134872
45894127772B3B   LINA        MORALES                   CO          90007871277
4589435772B87B   MICHAEL     DARBY                     ID          41091453577
4589458952B27B   JEANETTE    SMITH                     DC          90015155895
458945A2A91569   LETICIA     AGUILAR                   TX          90014085020
45894669A55939   DEAN        MARTIN                    CA          49080766690
4589484658B355   PAYGO       IVR ACTIVATION            SC          90014568465
4589561225B52B   LINDA       AHUMADA                   NM          36093226122
4589561493B33B   LUIS        LOPEZ                     CO          33040936149
4589613525B174   RAVEN       HAWKINS                   AR          90012251352
4589617485B523   JULIANA     MARTINEZ                  NM          90010011748
4589652868B16B   SHAWNDA     LOSEE                     UT          90006515286
458967A7171999   ROBERT      WONNELL                   CO          90010297071
4589714735B53B   EMMA        ARMENDARIZ                NM          35060881473
4589827225B58B   LUIS        CANO                      NM          90013002722
45898A17591873   BRUCE       BRANNON                   OK          90012950175
45899862772B4B   JIM         REDD                      CO          33063698627
45899915272B43   MARK        IHDE                      CO          33090889152
4589B21822B27B   YVONNE      NSONG                     DC          90013922182
4589B5A8371999   VICTOR      MONTEZ                    CO          38098565083
4589B868791569   ALEJANDRA   AVILA                     TX          90012148687
458B1584372B43   KAREN       GAMBOA                    CO          90010255843
458B1679691569   MATILDE     PADILLA                   TX          75088736796
458B233A38B165   VALERIE     HIGGINBOTHAM              UT          31066193303
458B2423591988   JEAN        MEBANE                    NC          17057454235
458B252384B52B   JOHN        FARVE                     OK          90005225238
458B2621A91569   JAVIER      CAMACHO                   TX          90005596210
458B3A86672B3B   JANEEN      WHITE                     CO          90008720866
458B3A94A91873   SANDRA      CROCKET                   OK          90014160940
458B491915B53B   APOLINAR    NAVA                      NM          90006599191
458B4A4315B222   LORIE       GREGORY                   KY          90009010431
458B4A9A791523   KRISTY      DOMINGUEZ                 TX          75084020907
458B5116461963   GONZALEZ    MIRANDA                   CA          90012791164
458B514A572B43   GABRIELA    RIVAS- DELGAGO            CO          90013941405
458B534655B174   STEPHANIE   WRIGHT                    AR          90014623465
458B637385B593   DUANE       SCHNEIDER                 NM          90010653738
458B665439152B   RUTH        JUAREZ                    TX          75037516543
458B6673771999   CHRISTINA   ZAVALA                    CO          90013826737
458B722288B16B   SANDRA      ANDERSON                  UT          31005122228
458B7368891873   JARAN       HALEY                     OK          90012843688
458B7557933B63   JELANI      NATTEY                    OH          90013975579
458B782625B58B   ADILENE     PEREZ                     NM          90012288262
458B7864891873   JARAN       HALEY                     OK          90011148648
458B7A24A5B222   DANA        THOMPSON                  KY          90000540240
458B8133361967   SANDRA      ROLDAN                    CA          46071721333
458B8672872B3B   JEREMY      MCADORY                   CO          90000856728
458B8712491988   VINCENT     WILLIAMS                  NC          90009177124
458B934185B222   MISS        SCOTT                     KY          90002993418
458B9455351334   SARAH       POWERS                    OH          90014574553
458B9631971999   RAUL        ESTRADA                   CO          38012416319
458BB24285B222   GARY        GRIFFITH-COFFEY           KY          90014712428
458BB3A8831456   TREONA      INGRAM                    MO          90010613088
458BB41334B271   KENNY       ORELLANO                  NE          90015124133
458BB576391523   KARINA      ALVAREZ                   TX          75090065763
458BB71678B16B   MONTE       DICKERSON                 UT          31018417167
458BB9A6381639   RALPH       BROWN                     MO          90008369063
458BBA79172B4B   CONNIE      LOCKHART                  CO          33034700791
4591127222B253   COLELL      HUNTLEY                   DC          90013232722
4591131325B222   LAUREN      HARPRING                  KY          90010163132
4591136125B58B   RUBEN       GARCIA                    NM          35048713612
459113A5591394   MARTHA      DIAZ                      KS          29026003055
4591151417B421   GABRIELA    URIBE                     NC          90006995141
4591153A951334   SHERAY      LEWIS                     OH          90008445309
45911696272B3B   RICHARD     MESTAS II                 CO          33081926962
459118A9A72B4B   VINCENT     VARGAS                    CO          33090738090
45913219A72B3B   ESTELLITA   LUCERO                    CO          33017232190
4591322888B16B   LYNETTE     COULSTON                  UT          31011402288
4591362375B174   JAY         SOLOFF                    AR          90003856237
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4591439A972B4B   SANDRA          GARCIA                CO          33072343909
45914444272B36   MIGUEL          HERRERA               CO          33041184442
45914A67291523   MARIA           VILLALOBOS            TX          75089500672
4591583158B156   RAFAEL          GUTIERREZ             UT          90002748315
4591592665B53B   SHANNON         BROWN                 NM          35051639266
4591665A255939   ERIKA           MAGANA                CA          90014846502
4591698892B87B   MICHAEL         VANLEEUWEN            ID          90014389889
4591761972B27B   EDGAR           RENDON                DC          90003326197
4591793AA47954   MARIA           PICHARDO              AR          25045169300
4591827318B16B   TOM             ALEXANDER             UT          31015022731
45918444972B24   MARY LOU        MONTOYA               CO          90001274449
4591914324B271   SHAMICA         BEISTER               NE          27093351432
4591926735B52B   ROSA            ALVIDREZ              NM          36055722673
4591928A72B848   GEORGE A        LUKENS                ID          42081312807
4591997265597B   AMBER NICOLE    SCHREINER             CA          90014929726
4591B47495B52B   MIGUEL          OCHOA-ORTEGA          NM          36068094749
4591B485191873   KARLESIA        CRAWFORD              OK          90014174851
4591B768A5B58B   MARIUS          SMITH                 NM          35043557680
4591BA1882B27B   STEVEN          BOYD                  DC          81018500188
4591BA32171999   GEORGIANA       BELMONTES             CO          38034080321
45921745576B23   MARCELINO       GONZALEZ              CA          90013537455
4592231882B87B   CRYSTAL         HERGERT               ID          90002603188
4592244265B174   JAIDE           VIDRINE               AR          90013924426
4592291A161963   INGRIS SUSANA   GONZALEZ CARRETO      CA          90007819101
459232A4A91873   AMARILIS        TORRES                OK          90014162040
4592335662B87B   PATTY           MITCHELL              ID          41007013566
4592355965B53B   EMILY           SANDOVAL              NM          90006855596
4592522A15B174   DRE             DAY                   AR          23094062201
4592564685B53B   ROBERTO         QUEZADA               NM          90009936468
4592684775597B   MANUEL          TABARES               CA          90001248477
45926A65772B4B   MICHAEL         LEBER                 CO          33079070657
4592742745597B   KATRINA         BOOS                  CA          90006464274
45927437A61967   MARIA           QUEZADA               CA          90001014370
45927966A61963   LEE             SNYDER                CA          46072189660
4592872A455939   DIANA           LOPEZ                 CA          49056927204
4592967595B53B   FERNANDO        MARTINEZ ORTEGA       NM          90014316759
4592B182891523   ANDREW          ARMENDARIZ            TX          90006211828
4592B31298B355   VERA            PRESSLEY              SC          90014783129
4592B635672B3B   DARRELL         ALLEN                 CO          33003596356
4593154645B222   JOSHUA          THOMAS                KY          90013145464
4593175815B174   FRANKIE         JORDAN                AR          23042107581
4593315A35B58B   MARGARET        WILLIAMS              NM          90013661503
4593316268B16B   LARRY           COATES                UT          90005381626
45933399272B3B   ANDRES          QUINONES              CO          33013953992
45933423A5B222   DAMON           CANDLER               KY          68055144230
45933A2822B27B   LAFAYETT        DAVIS                 DC          90011690282
45934162872B36   ALVIN           HUNTER                CO          90015231628
45934384272B36   JUAN            GUERRERO              CO          90013923842
45934545A91569   MANUEL          MORALES               TX          90013335450
4593476195B58B   LUIS            VILLALBA              NM          90004127619
4593485585B222   DARON           POWELL                KY          90010858558
45934A22472B36   TANYA           DURAN                 CO          90009120224
45935417272B4B   ASHLEY          RIVERA                CO          90011084172
4593666658B355   JASMINE         STOVER                SC          90008816665
459366A392B27B   MICHELLE        ROBINSON              DC          90012546039
45936A3575138B   ELAINE          ISOM                  OH          90006190357
4593797288B183   DULCE           CHANDLER              UT          90002059728
45938423A5B222   DAMON           CANDLER               KY          68055144230
45938884297B53   SHARLENE        RIVERA                CO          90007308842
45939A8812B87B   SOCORRO         ASHLOCK               ID          90010540881
4593B1AA32B27B   PRISCILLA       RENEE                 DC          90015161003
4593B27425B58B   VALERIE         MARTINEZ              NM          90012102742
4593B364647954   JOSE            PINA                  AR          90011353646
4593B71755B174   EARL            YATES                 AR          90014407175
45941974572B3B   PACZOSA         MELISSA               CO          33024929745
45941A8532B87B   NATHAN          BROWN                 ID          90013030853
45942A12547954   DANIEL          CRAIG                 AR          90014590125
45943356572B4B   TODD            INGRAM                CO          33086653565
4594342A95B58B   TIMOTHY         FELDER                NM          90015314209
4594359598B16B   MISIKALISI      MAUIGOA               UT          90010155959
4594391432B96B   AMELIA          GUTIERREZ             CA          90011659143
4594437187B421   BRIAN           LITTLEJOHN            NC          90006803718
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459443A215B52B   MATTHEW      ROBINSON                 NM          36022623021
459446A9A72B4B   RICARDO      AGUIRRE                  CO          90012786090
45944A77891988   MARISOL      CASTILLO SALAZAR         NC          90010730778
4594537A65B222   SHELBY       PARSLEY                  KY          90004783706
45945A48791569   JOSEFINA     GARCIA                   TX          75069750487
45946A7622B921   AMANDA       GAINES                   CA          90006020762
459473AAA41289   HOLLY        AUGUSTINOWICZ            PA          90015213000
4594924985597B   JAIMA        STELZENMUELLER           CA          90000222498
45949A9965B174   QUINCY       CONNOR                   AR          90013030996
4594B58345B174   EUGENE       REED JR.                 AR          23068925834
4594B755761986   GILBERTO     LIZARRAGA                CA          90002327557
4594B7AA62B921   CAROLINE     CASTILLA                 CA          90002277006
4594B965872B4B   HOLLY        STEELE                   CO          90007359658
4595197517B496   JENNIFER     WALLER4                  SC          90008289751
4595422A78B16B   LEESA        KRATZER                  UT          90013912207
459544A7255939   DANIEL       ANGELES                  CA          90011354072
4595486A65B222   ANTWAN       BELL                     KY          90013878606
459548A3671999   PAULINE      TRUJILLO                 CO          38071908036
45954915A91569   URIEL        VIRRUETA                 TX          90008219150
45954943A51334   AURELIA      STERLING                 KY          90013929430
4595499155B55B   KEITH        SUTTON                   NM          90000579915
45955629272B3B   ABRAHAM      MAYNEZ                   CO          90009686292
4595571322B27B   YODIT        SHIBRU                   DC          81062047132
4595611582B27B   MICHAEL      MORRIS                   DC          90011261158
45956139A91988   MICHEAL      CARY                     NC          90013831390
4595761915B58B   ROBERT       MARTIN                   NM          90013166191
45957837172B4B   CHRISTOPHE   CORTES-MCENTEE           CO          33024758371
4595794485B58B   ROBERT       MARTIN                   NM          90013289448
45958238572B3B   PAMELA       CARTER                   CO          33048172385
4595839558B16B   KAYLEIGH     BREWER                   UT          90007263955
4595884A591873   CHERYL       COOKS                    OK          21040968405
459591A6147954   DANNY        WATSON                   AR          25031861061
45959321372B43   CASSANDRA    DUSENBURY                CO          90007703213
4595997894B271   CHRIS        URZENDOWSKI              NE          27062789789
45959A87355939   ANNA         GONZALEZ                 CA          90014120873
4595B969151334   JESSICA      BANKS                    OH          90014679691
45961517A91988   SHEILA       MCCAULEY                 NC          90011455170
4596196722B87B   ERIN         PETERS                   ID          41017349672
45962137572B3B   ROBERTO      RAMIREZ                  CO          90012561375
45963144A5B174   TINELL       WILLIAMS                 AR          23064731440
4596345575B222   DAVID        DANIEL                   KY          68079014557
4596361A361963   MARIA        CLARK                    CA          90014676103
45963A86472B3B   MELQUIADES   CABALLERO                CO          90014150864
45964251872B22   CHRIS        PARRISH                  CO          90001062518
4596454485B174   CHRISTINA    JONES                    AR          90015575448
459646A6A5B58B   MELISSA      ORTEGA                   NM          35030556060
4596512192B274   NEIDA        ROSALES DE SILES         DC          90006041219
4596544A372B3B   DERRICK      INGLEWOOD                CO          33038974403
45965785872B36   CHET         PORTER                   CO          90002187858
4596581435B53B   MARIO        MARTINEZ                 NM          90012018143
4596645A791873   KEITH        MACKEY                   OK          21025684507
45966A1AA2B27B   ANTUAN       TYNES                    DC          90013380100
4596711475B53B   FALON        RING                     NM          90015441147
45967622A91881   VANESSA      PERNELL                  OK          90012076220
4596762A272B36   MANUEL       GARCIA                   CO          33004616202
45968312972B4B   ESMERALDA    ROBLES                   CO          90005273129
45968416772B36   NESTOR       CARDENAS                 CO          33062424167
4596981755597B   YOLANDA      MELLO                    CA          90006758175
4596B25868B355   CLINTON      DANIEL                   SC          90006672586
4596B517A91988   SHEILA       MCCAULEY                 NC          90011455170
4596B65A571999   ALEXA        KOMORMIC                 CO          90006696505
4596B99A62B27B   CANDIDA      ALDERETE                 DC          90014029906
4597111655B52B   JESUS        CAMARILLO                NM          90010441165
4597144158B355   WENDY        LOVIN                    SC          90007844415
45971742A91569   GUADALUPE    SANDOVAL                 TX          90007357420
45971AA3161967   ELIZABETH    BARRIOS                  CA          46032690031
4597213572B27B   AGUSTIN      VILLA                    DC          90011551357
4597264428B355   DERRICK      POLK                     SC          90008646442
4597376235B174   BO           WILLIAMS                 AR          23052237623
4597412A551334   SHAHNOZA     AZIZOVA                  OH          90012901205
4597413468B16B   JENNIFER     BUCHANAN                 UT          90013621346
45974438A72B4B   MARCUS       MURPHY                   CO          90014864380
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4597476A391569   BIANCA        FLOREZ                  TX          90005667603
4597511264B271   JACOB         RUSHER                  NE          90012071126
45975867972B4B   REGINA        MENDOZA                 CO          90007248679
45976316672B36   DANIEL        OLIVAREZ                CO          33076273166
4597743278B186   TANYA         YARRINGTON              UT          90000424327
4597776664B271   BARBARA       TAYLOR                  NE          90014287666
4597893218B355   JOEL          MORALES                 NC          90013769321
4597921235B53B   ANH           NGUYEN                  NM          90005532123
4597942438B355   JENNIFER      STODDARD                SC          90014744243
459796A855B58B   GINA          GUTIERREZ               NM          35065946085
45979743572B43   MAYELA        ACUNA                   CO          90007937435
45979A3A591988   SETH          HOLT                    NC          90013860305
4597B292791569   DELIA         RODRIGUEZ               TX          90013472927
4597B51392B87B   SCOTT         LARSON                  ID          90013715139
4597B762A5B58B   ROBERTO       GONZALES                NM          90005507620
4597BA1848B355   ISAAC         TABOADA SIERRA          SC          90013840184
45982134372B4B   STEVEN        GRISHAM                 CO          90001621343
4598221584B271   THERESA       WRIGHT                  NE          90013792158
4598229A42B27B   ANTONIO       EIKERENKOETTER          VA          90015132904
459831A5472B43   COLLEEN       JORGENSEN               CO          90013151054
45985258472B3B   DANIELLE      HALTERMAN               CO          90005772584
4598599812B87B   TANIA         SNYDER                  ID          41044829981
459872A5991523   MAYTE         ROSALES                 TX          90011262059
4598779425B174   TREMELL       MOORE                   AR          90013617942
4598819595B375   TASHA         ROWE                    OR          90012801959
4598925315B352   JENNIFER      JUNGENBERG              OR          90009692531
4598948A18B165   MIKE          HUNT                    UT          90006754801
4598B221155939   LESLEY        HOOVER                  CA          49014022211
4598B57985B222   BRANDI        ESTES                   KY          90012935798
4598B62175B58B   ANYSSA        GONZALES                NM          90013166217
4598B774751334   CINDY         PENDERGRASS             OH          90004257747
4598B811572B3B   SHERRY        HOLMES                  CO          33055878115
4598B87565B58B   JOLENE        MEHRING                 NM          90007618756
4598BA2945B174   YOSELY        LAGOS                   AR          90010390294
459911A115B58B   ORLANDO       LEAVELL                 NM          90008581011
4599156325B222   KEVIN         GRAVES                  KY          90013135632
4599234495B259   REBECCA       HOGAN                   KY          90004743449
45992451A8B16B   ADRIANA       ESPINOZA                UT          90011004510
4599353342B87B   SHAUN         KAY                     ID          41049155334
4599376718433B   ERNEST        WILLIAMS                SC          14596387671
4599421822B27B   YVONNE        NSONG                   DC          90013922182
4599438212B27B   MARIA         DUNU                    DC          90010533821
4599447268B16B   SIMONA        CHAVEZ                  UT          31066104726
45994747A72B4B   CHRIS         BERMEIREN               CO          33035227470
45995375A91873   LEONE         SALINAS                 OK          90012333750
45995A74172B36   JAZMINE       ROMERO                  CO          90011110741
45995A86972B4B   MARY          VILLANUEVA              CO          33028870869
4599671215B53B   KENNA         PITTS                   NM          35078887121
45997A24671946   NATHANIEL     SMITH                   CO          90010750246
4599819A172B4B   STEPHEN       COUCH                   CO          33049631901
45998235672B43   JOSE          ALVAREZ                 CO          33070202356
459983A7847954   MARIA         DESANGELES              AR          90015153078
4599938114B271   JORDAN        THOMPSON                NE          27052533811
4599B53619373B   CHELSEY       BRANSON                 OH          90013675361
4599B637155939   ALICIA        GUAJARDO                CA          49035866371
4599B656791873   VASHAWN       BLAKE                   OK          90011026567
4599B721772B43   STEVEN        VIRGEN                  CO          90013437217
4599B953991988   MASIUS        CRANK                   NC          90012479539
459B1295524B7B   SHENANDOAH    SOWASH                  DC          90006982955
459B218365136B   TARVER        MARTINEZ JR             OH          90008381836
459B2376572B43   CHRISTOPHER   MALONE                  CO          90013303765
459B2691491523   LOURDES       ORTIZ                   TX          90004946914
459B2969291524   JESUS         SERVIN                  TX          90012799692
459B2AA7961995   AMERICA       PLATA                   CA          90011960079
459B32A855B222   CARLOS        BLANCO                  KY          68029042085
459B342458B355   JOLEEN        MARTENEY                SC          11016714245
459B34AA65B174   KISHA         STEWART                 AR          90007364006
459B368365B222   IVY           SILLIMAN                KY          90012576836
459B41A988B355   REGENA        JACKSON                 SC          90014391098
459B4336A91569   NAJERA        STEPHANIE               TX          90012413360
459B476832B87B   JEREMY        YOUNG                   ID          90012587683
459B479915B53B   DAVID         GOMEZ                   NM          90006307991
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459B481435B53B   AMANDA      HURBINA                   NM          90013738143
459B4839672B4B   ISABEL      RUBIO                     CO          33048278396
459B4A58955939   RAMONA      FLORES                    CA          49055380589
459B5144A2B27B   LINDA       THOMAS                    DC          90012261440
459B5159172B98   MERRY       CASALES                   CO          90010741591
459B5299A5597B   EUSEBIA     ROJAS                     CA          90007582990
459B587528B16B   JOSEPH      GARLICK                   UT          90010778752
459B621235B174   IRMA        ORTEGA                    AR          23085872123
459B6247872B3B   JACOB       COX                       CO          90013032478
459B666246192B   ERIC        MARTINEZ                  CA          90001946624
459B7371191873   MELISSA     JONES                     OK          90010003711
459B7593976B5B   DAWN        FROST                     CA          90014185939
459B817848B355   YAMALIL     PARRA                     SC          90011051784
459B8448791873   TOREY       BOLES                     OK          90009054487
459B865192B87B   KERRY       DAMIANO                   ID          90013776519
459B931988B355   OCTAVIA     POTTS                     SC          90014653198
459B93A645B174   MERLENA     MATLOCK                   AR          23094543064
459B9462472B3B   TINA        KAY                       CO          33078624624
459B9674384336   SARA        ELMORE                    SC          90008846743
459B9758781639   LAUNDRY     REED                      MO          90008207587
459BB329631487   HELLENA     THOMAS                    MO          90011663296
459BB563991523   GUADALUPE   HERNANDEZ                 TX          90007155639
459BB6A185B52B   YADIRA      CHAVIRA                   NM          90012696018
459BB87438B16B   JUSTIN      MCNICOL                   UT          90010778743
45B11696A8B355   KEISHA      WILLIAMS                  SC          11035006960
45B11873571999   JAY         HERNANDEZ                 CO          90009938735
45B11A2A747954   ABEL        DELALUZ                   AR          90014400207
45B12112371999   ANDREW      LUTZ                      CO          90001781123
45B12643591873   BRIANNA     HARPER                    OK          90006796435
45B126A128B16B   RICHARD     HARTRANFT                 UT          90012776012
45B1296554B271   TIM         TOLLIVER                  NE          90007299655
45B12A9915597B   JOSHUA      HARRIS                    CA          90014860991
45B13962672B43   MAYO        MIRANDA                   CO          90010969626
45B1399985B53B   HEATHER     SANDOVAL                  NM          90014969998
45B14717A72B43   ASHLEY      KENNEDY                   CO          90006827170
45B14821A2B87B   DAVID       TOLEDO                    ID          90015288210
45B1534335B222   MAX         HORAN                     KY          90014893433
45B15799172B3B   LELAND      MORRIS                    CO          90001337991
45B16421461967   ROBERT      ORTEGA                    CA          90011834214
45B171A9155939   TRICHELLE   ELLIS                     CA          90001391091
45B1768A272B36   SILVIA      DEJAQUEZ                  CO          33028756802
45B1778385597B   JENNY       SALAZAR                   CA          90010257838
45B1815785B222   HIGHLAND    LIGHTING                  KY          68041471578
45B1937225597B   VERONICA    VACA                      CA          90012763722
45B19931771644   TIMOTHY     ORMOND                    NY          52091999317
45B1B15135B174   CHARLES     GREEN                     AR          90014151513
45B1B47245599B   JOAQUIN     RODRIGUEZ                 CA          90005284724
45B1B872A91569   LORENA      MARQUEZ                   TX          75079568720
45B21399672B43   PAUL        BARNES                    CO          33036453996
45B21998A71999   ILYSIA      CHAVEZ                    CO          90012599980
45B22361A72B43   CHANTELLE   WILLIAMS                  CO          33036143610
45B23437871999   MATT        CHEVALIER                 CO          90009174378
45B236A445B174   TAMARA      HICKS                     AR          90014876044
45B23746491569   STEPHANIE   GALLARZO                  TX          90011017464
45B23A31872B4B   STEVEN      CORNELISON                CO          90011450318
45B24595A5B58B   CRYSTAL     ACOSTA                    NM          35045955950
45B24845355982   GRAVIELA    WASH                      CA          90011698453
45B25246491873   MANUEL      BOJORQUEZ                 OK          90013242464
45B25272391523   YAMEL       VASQUEZ                   TX          75057772723
45B254A1872B4B   SHARALYN    ERICKSON                  CO          33052354018
45B25666355939   THERESA     FLORES                    CA          90008686663
45B25972171999   JOSEPH      ALLIE                     CO          38056639721
45B259A875B53B   JESSICA     SEDILLO                   NM          90013349087
45B26258872B3B   ROSA        GUEVARA                   CO          90002162588
45B2633277325B   ERIKA       KRAJNYAK                  NJ          90014193327
45B26545491569   AARON       ESTRADA                   TX          90014845454
45B2657615597B   KIMBERLY    ADAMS                     CA          49071205761
45B27521691873   KATIE       BUTLER                    OK          90009785216
45B2755878B165   RICHARD     CRAMER                    UT          31033525587
45B27614391569   IRMA        DELGADO                   TX          90008466143
45B2796838B164   LAUREN      LARUE                     UT          90011959683
45B2843AA2B27B   VONNIE      GREEN                     DC          90014614300
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45B2863A39188B   VERONICA        FRAIRE                OK          90001756303
45B28814791988   DARNELL         BOONE                 NC          90014148147
45B28A72A5597B   JARED           HILL                  CA          90014870720
45B29994772B43   CECILIA         A JINOJOSA            CO          90004699947
45B29A48781639   ANGELA          HAMILTON              MO          29048430487
45B2B91282B87B   JILL            MINZGHOR              ID          41031659128
45B3111645597B   PHILLIP         SOSA                  CA          90014861164
45B31618447954   RONDA           MAPLES                AR          90010146184
45B31725591524   LORENA          GARCIA                TX          90007847255
45B3233725B53B   BRENDA          SAENZ                 NM          90011333372
45B32385991873   AMBER           SOUIRI                OK          90014433859
45B32924791523   ASHLEY          RODRIGUEZ             TX          90010509247
45B33538A5B174   TIFFINEY        BOYKINS               AR          90013055380
45B3412785B597   JOSE            ARMENDARIZ            NM          90005351278
45B3418975597B   PHYLICIA        HILL                  CA          90012981897
45B3441938B16B   ANABEL          CRUZ                  UT          90005534193
45B3452A48B355   RICHARD         ROSADO                NC          11063995204
45B34881A91873   ML              WALLIS                OK          90009118810
45B348A8A8B156   AMBER OR JOHN   GRONAU                UT          90002348080
45B34A59255939   SYLVIA          PEREZ                 CA          49094230592
45B3512872B27B   LEYDI           ROMERO                VA          90005271287
45B3536522B27B   KEVIN           GONZALES              DC          90015333652
45B35386472B43   HARRY           KUMPEY                CO          33090243864
45B35916151334   KATHERINE       UPSHAW                OH          90009089161
45B3646234B271   RICO            NELSON                NE          90013304623
45B364A645597B   PATRICIA        GARCIA                CA          90000214064
45B3654188B355   RAHEEN          MARSHALL              SC          11088495418
45B36799272B36   LAFAWN          LEE                   CO          33011557992
45B36872991988   TELISHA         NICKERSON             NC          90007158729
45B37264291569   SANDRA          DE VARA               TX          90013472642
45B374A695597B   GABRIEL         MALDONALDO            CA          49057274069
45B38762224B7B   ELIZABETH       MCNEAL                VA          90008307622
45B39359472B3B   HECTOR          SOTO                  CO          90013023594
45B3941665B174   ALANNA          LEE                   AR          90012454166
45B39559291988   BELKI           DEL CID               NC          90002885592
45B3976A75B52B   BRIAN           HARVEY                NM          36050007607
45B39942851334   JACQUELINE      RITCHIE               OH          90013929428
45B3B66982B87B   VIRGINIA        SAUCIER               ID          41022096698
45B3B7A1772B3B   ANA             RAMIREZ               CO          33019367017
45B3B81545B58B   JUAN            MACIAS                NM          90014158154
45B3B897772B43   FRANK           JR                    CO          90006858977
45B4147775B58B   JOSE            MALDONADO             NM          35087924777
45B41639351334   ADRIANA         JIMENEZ               OH          66020646393
45B41995A2B87B   JOHNATHON       BARTLETT              ID          41072539950
45B4266512B87B   KAMI            LEETCH                ID          41065286651
45B4276A84B271   JESSICA         FREDERICK             NE          27044077608
45B42891985875   AARON           HERNANDEZ             CA          90009428919
45B42AA7891248   BRITTANY        NELSON                GA          90012470078
45B4344A85B52B   BART            HODGES                NM          36038024408
45B43457A47954   JEFF            BOLDRA                AR          90003514570
45B4372675B58B   LISA            MAESTAS               NM          90011997267
45B43797791873   ELVIRA          NINO                  OK          90015167977
45B438A5172B3B   JOSE            HERNANDEZ             CO          90010778051
45B43A56991569   ALICIA          REYES                 TX          90006100569
45B43A6288B355   XOCHIR          CASTANEDA             SC          11046650628
45B44226522463   JENNIFER        EVERT                  IL         90015422265
45B44297591523   DONNA           MENDOZA               TX          90000312975
45B4462214B271   RODRIGUEZ       NEWSOME               NE          27070826221
45B4474762B27B   DONNA           DOWERY                DC          90012377476
45B45828747954   MICHAEL         GARCIA                AR          25049628287
45B46211761963   MARIA           AGUILAR               CA          46022682117
45B4644348B16B   ANGELA          STREHLOW              UT          90014154434
45B46581372B3B   DON             GALLEGOS              CO          90012035813
45B468A955B53B   SUSAN           BARRETT               NM          90015168095
45B4771638B163   APRIL           TAYLOR                UT          90011607163
45B47782A72B3B   CAROL           ARAGON                CO          90007077820
45B4792578B16B   VILIAMI         TUITAVAKE             UT          31041979257
45B4795775597B   JOE             TOLLEY                CA          90009649577
45B47A49291988   ERIC            HARRIS                NC          90015230492
45B4817A28B355   RUBEN           FIARCIA               SC          90010431702
45B48373A55939   LUIS            REYES                 CA          49028283730
45B48454491873   DONNETTE        BATES                 OK          90011464544
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45B48545341241   ELGIN       BANNISTER                 PA          51085795453
45B48579A91569   GLORIA      SANCHEZ                   TX          90013805790
45B48A2A85B174   TAMARA      NATION                    AR          90008860208
45B49368691569   ALFREDO     VACA                      TX          75097853686
45B4985982B27B   VANESSA     PRICE                     DC          90013738598
45B49867A3B399   MARIVEL     SOTELO                    CO          90012768670
45B4B71195B53B   CAROL       REDFORD                   NM          90011437119
45B5166665B53B   ALFONSO     CABLE                     NM          35005066666
45B5238115B53B   BERNA       MARTINEZ                  NM          35076003811
45B5255935B174   TIFFANY     ANDERSON                  AR          90015555593
45B5283815597B   MIGUEL      GONZALEZ                  CA          49044428381
45B53244761967   LYDIA       KING                      CA          90002272447
45B5333125B52B   DIEGO       MARTINEZ                  NM          90003953312
45B5334173B343   CORRINE     MAESTAS                   CO          90006373417
45B537A5991873   DEANNA      SIMON                     OK          90015247059
45B53898A91394   PRECIOUS    HESTER                    KS          29012008980
45B53A5A172B4B   JACIEL      ARAGON                    CO          90010130501
45B54381172B36   SILVIA      MACIAS                    CO          90013923811
45B5446715597B   HILDA       SOLORZANO                 CA          90011744671
45B54A17172B43   ELADIO      FLORES                    CO          33074220171
45B55268391394   MICHAEL     WHIPKING                  KS          90003612683
45B552A8971999   JENNIFER    ORTEGA                    CO          38011492089
45B56768172B4B   JAMIANNE    ANDERSON                  CO          90015117681
45B56926672B36   AARON       HINOJOSA                  CO          90014859266
45B571A5A91988   JASMINE     SCOTT                     NC          90012031050
45B5738365597B   CORINA      VILLEGAS                  CA          90012763836
45B57812591873   SHELITHIA   WORLEY                    OK          90014838125
45B5799A151334   JAHNELLE    BUNN                      OH          90015349901
45B57AA348145B   SHANNAON    SPIEGEL                   PA          90014470034
45B58732571999   MARIA       RODRIGUEZ                 CO          90007487325
45B5895433B383   DESIREE     CANO CABALLERO            CO          90009199543
45B58A96972B4B   ANGELINA    HICKS                     CO          90010910969
45B59272871999   MELISSA     BELTON                    CO          90007932728
45B5947815597B   ADI         GUTIERREZ                 CA          90011744781
45B59841A55939   NANCY       PACHECO                   CA          90010038410
45B5984A54B271   CHERLYN     SCRIVER                   NE          90011888405
45B5B139A5597B   ANTHONY     PEREZ                     CA          90014861390
45B5B524255939   MARIA       RIVERA                    CA          90015135242
45B5BA35171999   DAVID       MILLS                     CO          90012680351
45B61289355939   MANUEL      HERNANDEZ                 CA          90010282893
45B61A91131491   TREVELL     BEAN                      MO          90001660911
45B62119491569   MARIA       ZACARIAS                  TX          75081711194
45B6295815B53B   MARIA       ESTRADA                   NM          35042559581
45B6355A972B3B   ILSE        ZURIETH                   CO          90014245509
45B642A578B165   HOLT        MELISA                    UT          31078102057
45B64573A5B53B   NATALIE     FOSTER                    NM          90011205730
45B6487215B58B   MARINA      CORTEZ                    NM          35051138721
45B6497255597B   GABRIELA    BALTAZAR                  CA          90008929725
45B64AA5191988   ROSALINO    GONSALEZ                  NC          90015010051
45B6538774B271   DAISY       MACIAS                    NE          90013363877
45B65393491569   WILLIAM     AIKEN                     TX          90015303934
45B65563891523   PATRICIA    CHAVARRIA                 TX          75056515638
45B65877A2B27B   HOWARD      BELK                      DC          81017928770
45B65961751334   SHENNA      BOVARD                    OH          90006399617
45B6644635B222   SONYA       SMITH                     KY          90010884463
45B66513147954   AMBER       BRANDSON                  AR          90012985131
45B671A8272B4B   JOHN        KENNEDY                   CO          90012711082
45B6747A393768   HELEN       HUTCHINS                  OH          90003684703
45B6784725597B   LEOBARDO    RAMOS                     CA          90014438472
45B6835685B53B   JAMIE       WATERS                    NM          35007193568
45B68769991873   RASHONNA    ANDERSON                  OK          90014767699
45B68885491988   ETHEL       LYONS                     NC          90014798854
45B6915295597B   MARINO      FRANCISCO                 CA          90014861529
45B691A6742339   SARA        MCDONALD                  GA          90001071067
45B69284372B4B   CARRIE      TILTON                    CO          90012182843
45B69614691523   KARLA       FLORES                    TX          75056516146
45B6971952B87B   KEVIN       SELF                      ID          90013937195
45B6B51675597B   JOHN        ALATORRE                  CA          49000905167
45B6B599172B36   SATORU      HIGASHI                   CO          90012345991
45B6B693472B43   GILBERT     GONZALES                  CO          33080596934
45B6B787155939   BRIDGET     GILES                     CA          90013897871
45B6B7A3A84321   FAITH       BRYANT                    SC          90012577030
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45B6B922891988   VICTORIA         JORDAN               NC          90005829228
45B72217347954   TANISHA          REED                 AR          25044252173
45B72488572B43   ZACHARY          MARTINEZ             CO          90012234885
45B72741872B36   FRANSISCO        PADILLA              CO          90014687418
45B7329A161963   OLGA             MORALES              CA          90007232901
45B7442A15B58B   LAWRENCW         GUTIERREZ            NM          90014754201
45B75183A8B355   NIJA             TALFORD              SC          90012181830
45B75696972B36   DANIEL           MAGALLANES           CO          90011876969
45B75834372B36   ALFONSO          CORTEZ               CO          90015168343
45B7631265B52B   TIMOTEO          GEOVANY              NM          36049873126
45B76499661967   GUILLERMO        ACOSTA               CA          90011834996
45B76696851334   ADRIAN           GRAHAM JR            NC          66093436968
45B76751361963   FERNANDO         SALAZAR              CA          90013137513
45B7719A472B4B   ARACELI          MONTES               CO          90011981904
45B77371997B53   RICHARD          HEROFF               CO          90012263719
45B7761755B222   TRAE             BATSON               KY          90010046175
45B77659191988   ARSHIA           CARNEY               NC          90009936591
45B77828272B4B   ARACELI          MONTES               CO          90009438282
45B78266972B3B   ANGELA           LOMBARDI             CO          90012702669
45B7829A161963   ALEJANDRO        PARRA                CA          90001062901
45B78317141265   NATASHA          JOHNSON              PA          90014993171
45B78764861963   JESSE            LEE                  CA          90012177648
45B78991171946   GEORGE           GUZMAN               CO          90013259911
45B7912665B174   ANTEL            CARTER               AR          90013751266
45B79153847954   MAHALAKSHMI      SUNDARARAJAN         AR          90014171538
45B7919955B174   ANTEL            CARTER               AR          90013661995
45B7B323791873   THOMAS           JACKSON              OK          90010813237
45B7B495A5B373   GREGORY          SCHROEDER            OR          44512674950
45B7B61158B165   ERICK            SCOTT                UT          90006046115
45B7BA42491569   OLIVAS           AMERICA              TX          90010790424
45B81267191569   SELENA           GARDEA               TX          75086862671
45B8138815597B   RAMONA           SANCHEZ              CA          90012763881
45B815A3771999   REFUGIO          RODRIGUEZ            CO          38052175037
45B81645572B43   JAN              PAYNE                CO          90012146455
45B81732855939   SOPHAKTRE        CHONG                CA          90006177328
45B8174895B222   STACEY           GASTON               KY          90012597489
45B8222A791988   LASHONNA         INGRAM               NC          90005012207
45B82231A4B271   LYNNETTE         KIRK                 NE          27073462310
45B83622261963   YVETTE DELFENE   YOUNG                CA          90014996222
45B83A17672B3B   JOSE             DIAZ                 CO          33079930176
45B84189351334   ROSA             URENA                OH          90012181893
45B84267991569   SLYVIA           SAENZ                TX          90013082679
45B842A865B174   STACY            PALMER               AR          90007632086
45B848A9A72B43   COLIN            BARBER               CO          33037978090
45B84A7828B141   HUGO             RUIZ                 UT          31088210782
45B8548115B53B   VALERIE          GOMEZ                NM          90012454811
45B8551AA61967   NOEL             BARRON               CA          90011835100
45B85817572B4B   JON              STRAUBE              CO          33082408175
45B86575A8B166   ALISHA           JAMESON              UT          90008165750
45B87197972B36   WILLIAM          CORDOVA              CO          90003971979
45B87476272B47   CORENA           WHITE                CO          90007944762
45B8812A161963   SILVIA           CORTEZ               CA          90015091201
45B89247891569   REINALDO         LLAMAS               TX          90009282478
45B89432191394   MICHAEL          WISE                 KS          29008574321
45B89518161967   LYN              WOODS                CA          90011835181
45B89579372B4B   ARTHUR           FORD                 CO          33006615793
45B8986558B165   KELLY            ST ONGE              UT          90011068655
45B8B439461963   EMMA             DELGADILLO           CA          90015234394
45B92224991569   LETICIA          LOPEZ                TX          90001772249
45B92346355939   CHRISTINA        EVERHART             CA          90005233463
45B92466972B3B   JEFFREY          HARRIS               CO          90013934669
45B9298945B52B   MIRTHA           RAMOS                NM          36013589894
45B9391865B52B   JENNIE           TORRES               NM          90009639186
45B94198772B4B   HUMBERTO         MARTINEZ             CO          33078641987
45B943A534B271   JENNIFER         STRUBE               NE          90010853053
45B9455AA5B53B   DEZZERAY         CORIZ                NM          90003345500
45B9496742B87B   BLAKE            DALE                 ID          90014869674
45B95218155939   MICHAEL          CHAVEZ               CA          90011402181
45B95412A71921   TASHA            VIGIL                CO          38011274120
45B95469A72B3B   LORA             PRITCHETT            CO          33099164690
45B9583215B222   ALEXIS           MARTIN               KY          90015178321
45B9657925B264   JANICE           MILES                KY          90007695792
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45B9671798B355   KEONTAE      DOSTER                   SC          90015347179
45B96978591523   MARISELA     DELGADO                  TX          90009299785
45B96985491873   ERIC         SUAREZ                   OK          90012129854
45B97178455939   CRYSTAL      HANNAH                   CA          49015941784
45B97634A61967   FADI         KHUDHUR                  CA          90012036340
45B97867593751   TILLA        JOHNSON                  OH          90004638675
45B98351872B36   VERNON       HARRIS                   CO          90014563518
45B98428991873   DINORAH      MELENDEZ                 OK          90014174289
45B98715172B36   VERNON       HARRIS                   CO          33056887151
45B98851291569   NATALIA      GONZALEZ                 TX          90007098512
45B99621391988   CHARLOTTE    DAVIS                    NC          90004676213
45B99972772B43   KATIE        BOBBIN                   CO          90003289727
45B9B17A391873   KATINNA      RASCOE                   OK          90007561703
45B9B368A61963   TESEMA       MELKETO                  CA          90013533680
45B9B575172B43   COREY        WEINBERGER               CO          33019225751
45B9BA7345597B   RACHEL       GARCIA                   CA          49078500734
45BB1282756356   MARIA        MEJIA                    IA          90013942827
45BB1391961963   STERLING     SCHIOLDAGER              CA          90012743919
45BB149165B174   DON          MORT                     AR          90011044916
45BB232545B222   DANNY        BRAY                     KY          90012773254
45BB299575B174   PHYLLIS      JONES                    AR          23094929957
45BB343215B52B   GABRIELA     CALDERON                 NM          36025094321
45BB351414B271   EDRUN        BOYER                    NE          27029215141
45BB3773A8B16B   JOSHUA       BRUNSON                  UT          90013887730
45BB4389472B36   CASSANDRA    COX                      CO          90015263894
45BB4876772B43   MARIAH       FERGUSON                 CO          90013128767
45BB582135B174   RAQUEL       COLLIER                  AR          90015138213
45BB6873A5B174   PEDRO        MARTINUS                 AR          90013858730
45BB765535B53B   ALLEGRA      PRENTICE                 NM          90005006553
45BB77A7572B4B   DUSTIN       TULISDEWSKI              CO          90014377075
45BB7851991873   REUBEN       BUYCKES                  OK          21091218519
45BB89A2272B4B   MARIA        RODRIGUEZ-MORA           CO          90013619022
45BB8A4795B52B   LYDIA        MEDINA                   NM          90008180479
45BB8A5554B271   STACEY       TOY                      NE          27060010555
45BB9283691523   MARIA        CASTRO                   TX          90007022836
45BB95A1272B36   IRINA        HANSAR                   CO          90014865012
45BB9652491569   IVONNE       RUEDA                    NM          90008446524
45BB9689A72B36   IGOR         VOLKOV                   CO          33093376890
45BB9826955939   JOSE         CORREAS                  CA          90003688269
45BBB31695597B   TY           MEAS                     CA          90013033169
45BBB53752B87B   PAM          PHILLIPS                 ID          90001635375
4611136817B431   MATTHEW      HERRICK                  NC          90000793681
46111A6458B16B   SHERI        PANAS                    UT          90013940645
4611312697194B   ELIZABETH    BOBIAN                   CO          90014721269
4611349476197B   BRADFORD     RONNIE                   CA          46011374947
46113975872B43   JOYCE        CIBRIAN                  CO          90010689758
4611548527194B   JOSE         PALMA                    CO          38087854852
4611625827B431   JOSEPH       ROBERTS                  NC          90012842582
4611658498B16B   ISIDRA       MARTINEZ                 UT          90012155849
46117188872B4B   MATINA       ORTIZ                    CO          90012851888
4611719A65B58B   SAMUEL       GRIEGO                   NM          35088641906
4611897342B87B   DAISY        OTTO                     ID          90014339734
4611B1A522B27B   LEKIA        SMITH                    DC          90007381052
46121151A2B87B   LEE          WOOD                     ID          90008361510
461226A8A91394   TASHINA      WRIGHT                   KS          90005366080
46123461A51334   HENRY        BRIGHT                   OH          66067344610
4612366A277595   JOSE         FLORES                   NV          90004246602
4612382715597B   JORGE        MALDONADO                CA          49008248271
4612439925B174   JUANA        FLORES                   AR          23086953992
4612593988B16B   CANDELARIA   REYES                    UT          31079399398
4612653195B174   B            JONES                    AR          90015125319
461269A315B222   EDILBERTO    LORES                    KY          90009949031
4612719182B27B   DASHAWN      RUSSELL                  DC          90014671918
46127579572B36   DON          SCHMIDT                  CO          33032465795
46129123A2B87B   DIONNE       HOFFMAN                  ID          90013511230
4612B37725597B   ANGIE        JACKSON                  CA          49089723772
4612B39855B222   ANGELA       FOGLE                    KY          90010773985
4612B53224B259   DIANNA       JACKSON                  NE          27087755322
4612B53A35B58B   KEVIN        LUNA                     NM          90014105303
4613115737194B   RICHARD      GALLEGOS                 CO          90014731573
4613217327194B   ARTHUR       JETER                    CO          90014731732
4613229955B378   CARLENA      DAVIS                    OR          90001452995
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4613246775597B   MIRIAM      GAYTAN                    CA          90012064677
4613266215B174   SEQOIYAH    TAYLOR                    AR          90014946621
4613446A591394   ASHLEY      EICHELBERGER              KS          90011524605
4613525627194B   CHRISTIAN   DOMINGEZ                  CO          90014732562
461353A748B165   DAVID       ANDERSON                  UT          31007043074
4613574814B259   MARTHA      SANCHEZ                   NE          27097127481
4613625627194B   CHRISTIAN   DOMINGEZ                  CO          90014732562
461368A415B222   DONALD      HAGGARD                   KY          90014788041
4613734762B87B   SCOTT       WIDMAYER                  ID          90008363476
46137384A54151   TAMMY       LAWRENCE                  OR          90003463840
4613755355B53B   JAIR        MALDONADO                 NM          90012095535
46137851A91924   MERLIN      DUARTE                    NC          17057098510
4613799757B472   JOHNNY      TAYLOR                    NC          90012579975
46138286872B22   MICHAEL     OSAGE                     CO          90013082868
46138368872B43   NICOLAS     GARCIA                    CO          90000343688
461391A345B53B   LUIS        DURAN                     NM          90014731034
4613941188B16B   JOHN        MICHAEL                   UT          90013344118
4613948688B16B   JOHN        MICHAEL                   UT          90009034868
4613951275B53B   MELISSA     STEIN                     NM          90011405127
4613B45544B259   SHAUNITA    JOHNSON                   NE          27097124554
46141818672B4B   RICHARD     SHUMWAY                   CO          33015758186
46141A3865B222   APRYLL      BUEGE                     KY          90013800386
4614325234B259   KAREN       VERBOCY                   NE          90005852523
4614378575B174   JAMES       CALVIN                    AR          23098277857
4614418175B53B   NORLAN      MORENO-SANTOS             NM          90009401817
461443A748B165   DAVID       ANDERSON                  UT          31007043074
46144677972B36   SHAWNA      MARQUEZ                   CO          90009966779
4614569122B87B   CHESALAI    RABY                      ID          90014256912
4614733A38B16B   JARED       SORENSEN                  UT          90010123303
46147A39571999   YOLANDA     TRUJILLO                  CO          38041840395
46148662A5597B   LETICIA     CHAVEZ                    CA          49083136620
46148A59961967   NELLIE      REED                      CA          46028640599
4614915849B186   PAYGO       IVR ACTIVATION            MS          90010301584
4614B79857B431   JULISHA     MASSEY                    NC          90011607985
461515A5A91953   BASHIRA A   SEAWRIGHT                 NC          90007245050
4615266775597B   MARIA       SANDOVAL                  CA          90013226677
4615327354B271   RAUL        GONZALES                  NE          90008492735
4615345267B431   ROSALYN     BURRIS                    NC          11076144526
4615356297194B   BETHANY     VALDEZ                    CO          90014735629
46153A7115B53B   JOSE        DAVLIA                    NM          90014720711
46154396A72B4B   JAIME       MEDRANO                   CO          33096163960
4615664517194B   GABRIELLE   TRUJILLO                  CO          90013946451
46157419972B43   NANCY       GUZMAN                    CO          90009884199
4615798A961967   NICOLAS     MALDONADO                 CA          90000989809
46157A66772B4B   BETTY       MONTOYA                   CO          90014790667
46157A8737B457   ROBERTO     CORREA                    NC          90012500873
4615822415B174   TIMOTHY     CURRY                     AR          90011252241
4615913478B16B   DURGA       ADHIKARI                  UT          90010081347
4615B24915B58B   DARLENE     ORTIZ                     NM          90012602491
4615B319A61967   BEATRIZ     ROMO                      CA          90010463190
4615B865347954   MELISSA     WASHBURN                  AR          90006718653
46161429A72B43   NICOLE      ANDERSON                  CO          90003844290
4616155345B222   ALEX        MILLER                    KY          90007565534
4616211775B53B   VIRGINIA    MONTOYA                   NM          90014731177
4616241538B16B   IRASEMA     HINOJOS MUNOZ             UT          31091244153
4616254877B431   ANITA       RICE                      NC          90014125487
4616376155B222   DELZEAKIO   WADLINGTON                KY          68096017615
4616491955B222   BETHANY     HOLT                      KY          90015149195
46164A2538B16B   ERIC        CARLSTON                  UT          90010470253
46164A4AA5B53B   FRANCES     CHAVEZ                    NM          90001350400
46164A74361963   MARK        COLES                     CA          46013240743
4616541725597B   JUANITA     NICHOLES                  CA          90015174172
4616742A191394   CURTIS      STAPP                     KS          29049974201
4616756AA5B53B   AMANDA      LOPEZ                     NM          90010945600
4616757746182B   ERIC        SUMMERS                    IL         90015545774
4616757865B222   BRAD        MCINTIRE                  KY          90014545786
461675A7A47954   LAURA       BERMEA                    AR          90002275070
4616785342B27B   TAMIKIA     WHEELER                   DC          90001688534
4616789125B58B   SANDY       ANTILLON                  NM          35077648912
4616832A35B222   LEESHA      MOHL                      KY          90012863203
46168745872B43   GUADALUPE   AVILA GARCIA              CO          33095187458
46168A67943575   JASON       WHITLOCK                  UT          90012430679
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4616912665B174   ANTEL       CARTER                    AR          90013751266
46169538A5B541   TRACEY      NEUHAUS                   NM          90010585380
4616B223471999   TINA        GOSSETT                   CO          38054382234
4616B37297737B   TANYA       GILMORE                    IL         90015533729
4616B677A47954   SHELLY      ADKINS                    AR          25031496770
4616BAA778B165   SHANNON     MILLER                    UT          90009300077
4617148AA4B271   MIKE        MARTIN                    NE          90007474800
461717A1791523   ADRIANA B   RODRIGUEZ                 TX          75053457017
4617225945B58B   MIREYA      LOPEZ                     NM          90010542594
46172377772B36   JOSE        AMAYA                     CO          90013553777
46172A1844B271   KENDRA      WILLIAM                   NE          27044660184
4617415214123B   PHYLLIS     REILLY                    PA          90009171521
4617449237194B   KAYLA       GONZALES                  CO          38084064923
46174674A5B53B   KEVIN       GEARY                     NM          90011156740
4617484462B27B   JESUS       PLATA                     DC          90014838446
4617511A38B16B   ARTURO      MATEO                     UT          90013941103
4617543AA5B222   TAKIA       HARRIS                    KY          90011964300
4617554257B431   EB          MOODY                     NC          90013965425
46177436372B43   SERGIO      RODARTE                   CO          90012214363
4617793345B222   ANGEL       JORDAN                    KY          90013539334
461781AA461963   DIANA       HOPKINS                   CA          90012891004
46178234172B36   TOMMY       GOMEZ                     CO          33007472341
46178529A72498   AMY         PENNICH                   PA          90012165290
461786A355B222   PRETONA     RAMIREZ                   KY          90012106035
4617B11775B53B   VIRGINIA    MONTOYA                   NM          90014731177
4617B38595597B   CORINNE     TAYLOR                    CA          90013283859
4617B719772B43   ROSA        ORTIZ                     CO          33078577197
4617B92A15B174   CARZIE      BRENETTE                  AR          90015019201
46181513972B43   GARRY       DANNY SAMORA              CO          90011355139
461817AA572B4B   MISTI       PARKER                    CO          33048407005
4618224665B53B   EDWARD      THOMAS                    NM          90003112466
46182A27A91523   LUIS        MARTINEZ                  TX          75015610270
4618388A14B271   LUZABETH    BIMPOLO-NDOULOU           NE          90014378801
4618391A74B271   KRISTIAN    STEITZER                  NE          90015219107
4618394517B48B   DERRICK     JACKSON                   NC          90014569451
46183A9685B58B   JULIANA     PEREZ                     NM          35091020968
46184198272B43   BRICE       BAKER                     CO          90012831982
461849A168B16B   KIMBERLY    LABASTIDA                 UT          90013009016
46184A5242B87B   BRADEN      OAKLEY                    ID          90014340524
46184AA2A4B259   DARLENE     JESSEN                    NE          27043010020
4618548732B87B   BRANDON     ATHA                      ID          90014744873
4618657227194B   CRISTINA    DAVIS                     CO          38069715722
4618666835B174   JAMES       SMITH                     AR          90005666683
4618669575B222   TINSLEY     ALICE                     KY          90007486957
46186853272B4B   CELINA      KRITNER                   CO          33043588532
46186A3917B431   SHAVONDA    GREEN                     NC          11025680391
4618789414B271   CHARLES     MCNEAL                    IA          90014008941
4618815A291394   CHESTER     RIDGE                     KS          90013911502
461881A9947954   MATT        RISENHOOVER               AR          90001101099
4618859648B16B   MARY        BLATNICK                  UT          90010915964
4618894A691394   CHESTER     RIDGE                     KS          90012709406
4618937544B271   ALFREDO     COLIN-HERNANDEZ           NE          27090943754
46189A36991569   LOURDES     HERRERA                   TX          75017010369
46189A83A7194B   TAMMY       CISNEROS                  CO          38046710830
4618BA41A51334   ALEX        SAYAS                     OH          90009670410
461912A3571999   ROSALINA    MAREZ                     CO          90010622035
46191777372B4B   DEBBIE      VIGIL                     CO          90011067773
4619214A471999   JAMIE       GRADOZ                    CO          90013761404
4619311A98B16B   URIEL       VAZQUEZ                   UT          90013941109
4619322235597B   MANUEL      SEPULVEDA                 CA          90011252223
4619369234B259   JOSHUA      MASON                     NE          27097166923
4619472257194B   JESSE       DIAZ                      CO          90014747225
4619642545B58B   JENNIFER    BEITA                     NM          90012874254
46196982872B36   BARBARA     CASIAS                    CO          90007649828
461972A775B222   JAMES       SHARP                     KY          90013552077
4619731177B431   MARCUS      COOK                      NC          90011023117
4619764214B259   AMBER       YATES                     NE          27055646421
46197A91472B4B   RICHARD     SLATER                    CO          90014370914
4619811328B16B   ROBERTO     RIOS                      UT          90013941132
4619816955B53B   CATHY       FRESQUEZ                  NM          90014721695
461981A715B53B   MARTHA      WINTER                    NM          90011491071
4619856265B174   LUZ         VILLEGAS                  AR          90014995626
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2080 of 2500


4619916955B53B   CATHY       FRESQUEZ                  NM          90014721695
46199787772B36   ENRIQUE     MONTOYA                   CO          90010387877
4619B25225B58B   EVELYN      BERMUDEZ                  NM          90006122522
4619B7AA772B43   MARIA       CAPILLA                   CO          90009967007
461B139915B174   DEVARON     ANDERSON                  AR          23064973991
461B18A6A61967   OSCAR       DACUMOS                   CA          90011688060
461B2185661963   MARIO       OCHOA                     CA          46012121856
461B271234B271   JAMES       LARAVIE                   NE          90004007123
461B2782472B36   SHANE       ROMANCHUK                 CO          90005937824
461B2A7682B87B   JOSHUA      MARVES                    ID          90010370768
461B3349772B43   JOSEPH      MARTINEZ                  CO          90015553497
461B381152B87B   KELLY       SAVAGE                    ID          41091338115
461B384387B431   STACEY      ABRAMS                    NC          90013548438
461B3A5628B16B   FILEMON     GIL                       UT          90013940562
461B414575B58B   CLOVIS      CORDOVA                   NM          90012411457
461B487A45B174   VERLINE     GOINS                     AR          23096088704
461B533935B222   DANIEL      NICELY                    KY          90013283393
461B568447194B   PHILINA     PALOMAREZ                 CO          38074546844
461B638A82B87B   MICHAEL     WINBUSH                   ID          90014243808
461B6425333631   JERRY       MCCALL                    NC          90008664253
461B654257B431   EB          MOODY                     NC          90013965425
461B6852521637   ROSALYN     ENGLISH                   OH          90014018525
461B726A42B948   JUAN        SORIA                     CA          90012372604
461B7651191569   ARTURO      ESTRADA                   TX          90013136511
461B787345597B   PLUAD       YANG                      CA          90014588734
461B8876891569   TERESA      SHOBNEY                   TX          90013038768
461B888215B222   ALISHA      KIRBY                     KY          90014888821
461B8A6647194B   BRIANNA     VALENCIA                  CO          90014720664
461B9128572B36   PAUL        JOY                       CO          90011341285
461B9787261967   LEOBANY     OLMENDO                   CA          90011017872
461B9A6647194B   BRIANNA     VALENCIA                  CO          90014720664
461B9A98461967   LEOBANY     OLMENDO                   CA          90015090984
461BB7A3772B43   MANUEL      CHACON                    CO          90001727037
46211599672B4B   SUSAN       HILL                      CO          33021965996
4621163165B58B   JENNAH      SKRONDAHL                 NM          90010686316
4621179646192B   ARIANNE     ALFARO                    CA          90005417964
46211A65284342   JONNY       ZELAYA                    SC          90011540652
4621232294B259   EDMIGDIO    RODRIGUEZ                 NE          27097173229
4621244625B174   FRANCISA    ONUBAH                    AR          90011214462
462124A5585825   GLEN        CARDINAL                  CA          46086664055
4621285185B53B   JIMMY       RAMIREZ                   NM          35013328518
4621294465B58B   JONITA      WOOLRIDGE                 NM          35091769446
4621296A761967   LANCE       ZAMORA                    CA          46005949607
46212A1118B16B   KELLY       MATTHEWS                  UT          31080170111
4621355284B271   IRNIL       PALENCIA                  NE          90014835528
4621371778B16B   AMBER       GELINO                    UT          31082407177
4621518A45B53B   RAQUEL      MCCARTY                   NM          90014721804
4621573A272B93   THERESA     GATEWOOD                  CO          90011177302
46216182A5B53B   ANTHONY     GARCIA                    NM          90014721820
46216445372B43   CRUSITA     JIMENEZ                   CO          33084644453
4621725955B174   MARYSHA     NICHOLS                   AR          90005332595
46217328872B43   GILBERTO    LIRA                      CO          33088013288
4621733558162B   AMANDA      BILDERBACK                MO          90011823355
46218426A5B53B   MAYRA       PEREZ CHAPARRO            NM          35029404260
4621B65315B58B   THOMAS      POEPPELMAN                NM          35033956531
4621BA12A2B87B   ROCKY       LOVELASS                  ID          41080960120
4621BA3995597B   CHRISTINA   BONILLA                   CA          90005930399
4621BAA1947954   JORDAN      MCGUIRE                   AR          90004090019
4622151A52B238   MICHEAL     MCBRIDE                   DC          90014995105
4622159125B174   SPENCER     BARTENSTEIN               AR          90015175912
4622172219152B   JOSE        HERRERA                   TX          75084237221
46221A5867B431   VERNICE     ROBERTS                   NC          90008850586
46221A9877194B   JOSE        CASAS                     CO          90015190987
46222273A81639   BIANCA      PEREGRINA                 MO          29016972730
46222699A47954   MEGAN       MORGANFLASH               AR          25029666990
4622346AA72B4B   ERNESTO     GARCIA                    CO          33015054600
4622444748B165   WALTER      MONCADA                   UT          31067224474
4622519777194B   TRUDI       THOMASON                  CO          38008811977
462254A5372445   HEATHER     PASTVA                    PA          90002704053
462256A915597B   ASHLEY      FRANC                     CA          90008396091
46226131A84336   SHAVON      HEYWARD                   SC          90011091310
46226717772B36   DOLORES     ROMERO                    CO          33017827177
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4622723727122B   ALI           BERRE                   IA          90014892372
4622774448B16B   XAVIER        GRIFFITHS               UT          90014697444
46228598A72B4B   MAITEE        FORJAN                  CO          33068315980
4622881A68B16B   ALEC          HOUSEMAN                UT          90014608106
4622924125B53B   DAVID         PERRY                   NM          90014682412
46229868A4B271   TONYA         EGGLESTON               NE          90005068680
4622992747194B   BARBARAH      TAFOYA                  CO          90011309274
4622B356951354   HANNAH        TOOLE                   OH          90010653569
4622BAA735B222   VANESSA       WATSON                  KY          90015180073
4623167498B16B   MAYRA         MONTANEZ                UT          90010426749
46231A94872B43   STANLEY       CARRADINE               CO          33009870948
4623218695B53B   MARCELLO      ARAGON                  NM          35092091869
46232284697B32   HAYDEE        CHAPARRO                CO          90004832846
46232376872B4B   MEGAN         KELLEY                  CO          33027233768
46232A4268B165   HUMILDAD      EDDINGTON               UT          31018620426
46232A79A8B16B   MICHAEL       TRUJILLO                UT          90015490790
4623553965B174   KENDALL       FOSTER                  AR          90011215396
4623575845597B   PEDRO         RIVERA                  CA          90011147584
4623619AA5B395   NICOLE        BLUE                    OR          90008651900
4623666455B53B   NICHOLAS      MCBRIDE                 NM          90014686645
4623669767194B   JUANITA       RAEL                    CO          90000636976
4623743524B271   COLT          TAYLOR                  NE          90014044352
4623B2A8451334   JOE           HURT                    OH          66093562084
4623B833761963   MIRIAM        JACKSON                 CA          90006468337
4623B98594B259   LATASHA       JONES                   NE          90000369859
4624167925B58B   VIVIAN        MOLINA TORRES           NM          90013956792
4624332717B431   SHARON        FULLER                  NC          11066133271
4624429845B53B   BARBARA       LEZA                    NM          35063092984
4624551345597B   PATRICIA      NUNEZ                   CA          90012905134
462455A918B16B   JOSE          BORBON                  UT          90013045091
46245663372B36   CHRISTOPHER   MONTEZ                  CO          90014736633
4624595192B27B   KIM           BAGGATTS                DC          90014529519
46245A9615B58B   JAMES         BROWN                   NM          35047250961
4624678585B58B   DANIELA       GRIJALVA                NM          90005267858
4624738AA41265   HEATHER       BERRY                   PA          90014533800
46248643372B43   ANDREW        RAMIREZ                 CO          90015186433
46249A78291569   TORI          QUINONES                TX          75023230782
4624B17A75B53B   MANUEL        OLIVAS                  NM          90000511707
4624B1A7A4B271   LUCRETIA      DE BERRY                NE          90009891070
4624B391372B43   KRISTIN       PERERA                  CO          33001763913
4624B7A9791569   GABRILLA      GONZALEZ                TX          90011067097
4625118588B16B   FRANCES       TUAKALAU                UT          31082611858
4625178A35597B   JESSICA       SOLORIO                 CA          90014497803
4625222875B53B   RONNIE        SPENCER                 NM          90014722287
4625233878B836   ENELIKO       LEUI                    HI          90015383387
4625249AA7B431   JOSETTE       BADLEY                  NC          90014944900
46252AAA671999   ANTONIA       JARAMILLO               CO          90012940006
4625392A37194B   AUGUSTINE     TRUJILLO                CO          90003179203
462547A158B16B   MAYRA         MENDOZA                 UT          90014077015
4625558A28B16B   ANTONIO       TRIGOS                  UT          90007035802
4625646442B87B   CANDICE       DIAL                    ID          90012264644
4625651814B271   DEANNA        FREEMAN                 NE          27046405181
4625667A44B221   MIKE          WENNINGHOFF             NE          27087266704
4625846442B87B   CANDICE       DIAL                    ID          90012264644
4625855797194B   DANIEL        SANDOVAL                CO          90010545579
462586A1651334   JOSEPH        FRIESINGER              OH          90012916016
46258866772B32   NUBIA         SOTO                    CO          90001568667
462596A595B174   PAYGO         IVR ACTIVATION          AR          90012276059
4625B1AA15597B   GLORIA        CASTRO                  CA          49015361001
4626137A34B259   ERIN          LEAHY                   NE          90003383703
4626158A92B87B   WILLIAM       JELSMA                  ID          90012185809
4626165322B872   SHELLEY       BRETT                   ID          90007516532
4626174448B16B   XAVIER        GRIFFITHS               UT          90014697444
46262757372B36   MICHAEL       CLANTON                 CO          33032937573
4626297445B58B   LORUHAMA      MACIAS                  NM          35070229744
46263115672B88   ALICIA        EDWARDS                 CO          33022251156
4626373932B27B   ROSA          PAZ                     DC          90012187393
46263A22151334   ERIKA         SANCHEZ                 OH          90014360221
4626487192B27B   BONNICA       MARTIN                  DC          81042338719
46264995172B4B   BRENDA        LOPEZ                   CO          90014739951
4626594184B543   LERON         SABBATH                 OK          90011089418
4626594664B271   ATA           ADOTRI                  NE          27047299466
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462659A863B394   JOSE         ORTEGA                   CO          90003559086
46265A24751334   TAMMY        SWEETEN                  OH          90012020247
46266155772B43   LEANN        MIERA                    CO          90013761557
462663A2871999   JENNIFER     FRANCIS                  CO          90009953028
46267851872B88   AADAM        LAMB                     CO          90007028518
4626847AA4B259   SONDRA       GILL                     NE          90011354700
4626858877B426   WILLIE       WASHINGTON               NC          90001555887
46269247872B88   JAMIE        MARIE BEALL              CO          90003712478
4626957337194B   JIMMY        TRUJILLO                 CO          90010545733
462695A8A93752   REBECCA      FAUL                     OH          90005405080
4626969A161967   KAYLIN       MATTHEWS                 CA          90011526901
4626B41195B58B   BRAD         GREEN                    NM          35086114119
46271598A7B431   THERON       SMOUTHERSON              NC          90011385980
46271A2627194B   REBECCA      TRUJILLO                 CO          38040350262
46271A6255B222   ELMER        JOHNSON                  KY          68002570625
46272314A7194B   JOSEPHINE    ERAGON                   CO          90010973140
4627242292B266   DAWITT       ABDISSA                  DC          90010164229
4627268A88B16B   TALENA       TORRES                   UT          90012876808
4627287564B271   RONNALD      HOSKINS                  NE          27054098756
4627296837B422   ERIC         DEATORY                  NC          90012209683
4627314A15597B   JOHNY        MUNOS                    CA          90012741401
46273988972B43   ALICIA       BARRERA                  CO          33006199889
4627423212B87B   DAVE         ROTH                     ID          41029572321
462748AA251361   RONALD       GABRIEL                  OH          90010018002
46275219A5B222   LAURA        BAKER                    KY          90013992190
4627587838B16B   DANETTE      STARK                    UT          90007928783
462761A378B16B   BIG          O                        UT          90014181037
46276588A47954   TIFFANY      JACKSON                  AR          25029375880
4627732428B16B   DEREK        MEYER                    UT          90004153242
4627772945B174   DARIEN       PHILIPS                  AR          90014947294
46277941A61963   LINDA        TABBS                    CA          46013589410
46277991472B36   JAMI         PARKIN                   CO          90003889914
4627813725B323   DEVIN        DOMINGUEZ                OR          44506391372
4627983237194B   AMANDA       SUAZO                    CO          90014538323
46279A74291569   YVONNE       DOVENBARGEN              TX          75010920742
4628126934B259   CARYN        SWEENEY                  NE          27098742693
46281827772B36   STEPHANIE    DELEON                   CO          90013608277
4628231A45B222   ANGELA       LEMASTER                 KY          90013013104
4628258A751334   NOE          MARTINEZ                 OH          90007325807
4628311654B543   JONNY        GUTIERREZ                OK          90011121165
4628376487B431   SANDRA       MURRAY                   NC          90012627648
462842A1161963   LACY         OXFORD                   CA          90013662011
462842A8A4B543   MARIELVA     GUTIERREZ                OK          90011122080
46284611672B36   JOSE         ROSARIO-GAMBOA           CO          33090566116
4628467385597B   JESSICA      CANTU                    CA          49083086738
4628559582B87B   JENNIFER     RENTERIA                 ID          90014465958
4628578265B174   ARACELI      DE LA ROSA-GARCIA        AR          90014087826
4628584538B16B   ANGELA       MEYER                    UT          90006198453
4628666367194B   LAURA        ROBLES                   CO          90010546636
4628723712B87B   REBECCA      PROCHASKA                ID          41087022371
4628731665B174   PHARANETTE   COLLINS                  AR          90011073166
46287576A5597B   CASSANDRA    MALONE                   CA          49093105760
4628761395B58B   ANDROMEDA    CASSIOPEIA               NM          90014956139
4628992725B348   MUGERSA      ABDO                     OR          90002889272
46289A32461963   ARCHIE       SOLOMON                  CA          90014730324
46289A8594B259   LAJOYCE      HUNTER                   NE          27028860859
4628B31A761963   ANGELA       GARCIA                   CA          90009763107
4628B499972B36   VICTOR       VARGAS                   CO          33097264999
4629127484B271   ANTWUAN      BRADSHAW                 NE          27071502748
46291569172B43   ANA          CECILIA MORENO           CO          33038945691
4629181295B174   ERICA        RUSSELL                  AR          90011218129
4629244415B58B   MELLANIE     AMMONS                   NM          35054044441
46294195733B63   BRIANNA      MOORE                    OH          90015411957
4629493245B174   DIEGO        GARCIA                   AR          23003789324
46294A61461963   FRANK        JONES                    CA          46018560614
4629594125B222   TIERA        THOMAS                   KY          90013559412
46295A98854151   SHANA        GIGER                    OR          90010520988
4629637784B271   COREY        KORTH                    NE          90013873778
46296A9244B259   MANUEL       VALDEZ                   NE          90011200924
46297564172B4B   RICHARD      BURNETT                  CO          33071075641
462975A345B58B   STEPHANIE    GAYTAN                   NM          90012665034
4629764675597B   MONICA       ALDANA                   CA          90012476467
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4629891595B174   TYSHAE           DEADMON              AR          90011959159
4629988595B53B   ARTURO           MONTOYA              NM          35016008859
4629994AA91569   STACEY           LUGO                 TX          75023729400
46299A74A72B4B   NATE             CORONADO             CO          33099250740
4629BAAAA51334   ELLIOT           THOMPSON             OH          90013440000
462B1654861925   PATTY            ITARO                CA          90010406548
462B177725B53B   CHRISTINE        ESPINOSA             NM          90012107772
462B1A86891569   JOSE             QUIROZ               TX          90002750868
462B3714672B43   ELIZABETH        MICHAELS             CO          90007387146
462B3735A61967   JUDD             DELOSSANTOS          CA          90014587350
462B428484B271   AVENDANO LOPEZ   RIGOBERTO            NE          90012682848
462B477725B53B   CHRISTINE        ESPINOSA             NM          90012107772
462B48A5261963   TAMMY            HERNANDEZ            CA          90009248052
462B4947551334   KAREN            IRVIN                OH          90014389475
462B5291A77595   BRIAN            RAMIL                NV          90010072910
462B5355672B43   ROBERT           HEINZMAN             CO          90009223556
462B5591961963   SAUL             CORONADA             CA          46090745919
462B6136361963   MERRILL          HARVEY               CA          90010021363
462B617385B53B   OLGA             GARCIA               NM          90014721738
462B6284547954   DIEGO            OSWALDO              AR          90004172845
462B6542471921   NOE              AGUIRRE              CO          38096305424
462B6579277595   JACOB            BURCHETTE            NV          90006375792
462B6584872B43   ANGELO           STROCK               CO          33061285848
462B7165472B36   JOHN             SMITH                CO          90013681654
462B7248672B4B   CHARLES          HILLMAN              CO          90014912486
462B7292571999   JOYCE            SISNEROS             CO          38008102925
462B7327A91886   GARY             COOK                 OK          90006883270
462B7379172B36   LINDA            CARDONA              CO          33082123791
462B7542471921   NOE              AGUIRRE              CO          38096305424
462B763A95B53B   ANDREA           SALAZAR              NM          90010346309
462B77A465597B   MELISSA          WERTMAN              CA          90011857046
462B783154B547   TASHA            UNDERWOOD            OK          90001028315
462B7992972B43   JASON            WESTOVER             CO          90012959929
462B817395B53B   ANGEL            ORNELAS              NM          90014721739
462B8492651334   DENNIS           PARTIN               OH          90011204926
462B915942B87B   SIERRA           EASTMAN              ID          90014881594
462B9316672B4B   ANALILIA         ROMERO GUTIERREZ     CO          90003103166
462B973A455939   SHARESE          ROBY                 CA          49080077304
462B9A7275597B   ISAIAS           VALDEZ               CA          90006290727
462BB13462B87B   FRANKIE          TOWER                ID          90012541346
462BB78428B182   ASHLY            NORRIS               UT          90012567842
462BBA23877595   JOHN             WOOD                 NV          90011280238
4631148A261963   GUADALUPE        ESCALANTE            CA          90014994802
463119A488B16B   ARACELI          TREJO                UT          90006199048
4631355AA61967   JASMINE          DALLION              CA          90008835500
46313A97551334   AROLDO           MEJIA                OH          90002520975
463142A115B58B   ARACELI          TERRAZAS             NM          35061232011
4631588A972B43   FELISHIA         MARTINEZ             CO          33044048809
46316381672B36   HAROLD           PORTER               CO          90010223816
46316A66672B36   RANDY            DURAN                CO          90012130666
4631788556197B   MARIA            VALENCIA             CA          46098808855
463178A1472B43   PATRICIA         REDDING              CO          33090958014
4631817265B222   SANDY            CLARK                KY          68095061726
4631823592B27B   CONNIE           ANDERSON             DC          90007272359
46318532572B4B   NANCY            VALERIO              CO          33060585325
463186A5A61967   EDWIN            AYALA                CA          46056886050
4631897265B53B   CRYSTAL          DOMINGUEZ            NM          90000279726
46318A5297B431   HAHLY            TINDAL               NC          90015600529
46318A9645B58B   JAN              SCHROEDER            NM          35069690964
4631933458B165   MONIKA           AUNE                 UT          90004253345
463195A8971999   ANN              GONSALEZ             CO          90007795089
46319A9134B259   WHITNEY          SCHLOENDORN          NE          27016750913
4631B15725B53B   LUIS             HERRERA              NM          90014731572
4631B23937194B   TEPAC            WAUQUA               CO          90014782393
4631B879251334   NEMORIO          MARQUEZ              OH          90013958792
4631B995172B4B   BENJAMIN         BARRINGER            CO          90014299951
4631BA78A8B16B   GLEN             BURNINGHAM           UT          90012650780
4632118952B27B   SHAKIA           BONDS                DC          90010551895
46321531A77595   ANGELA           PETERSON             NV          43000015310
46321664A73267   JESUS            MORALES              NJ          90011746640
46321983A5B174   JACQUELINE       WILLIAMS             AR          90012599830
46322498272B36   ISRAEL           BRAVO GONZALEZ       CO          90010034982
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463224A635597B   ROSA          RIZO                    CA          90011254063
46322673472B4B   DORTHA        KNIGHT                  CO          33011486734
463227A3577595   NICK          R                       NV          90005557035
46323322A61963   CRISTIAN      VALDERRAMA              CA          46063823220
46323434A7194B   LORETTA       HERNANDEZ               CO          38036504340
4632386325B58B   RAOUL         HERRERA                 NM          90013968632
46324685972B36   DOUGLAS       ANDERSON                CO          90008066859
4632511515B222   BRANDI        BIBB                    KY          90011171151
4632516A83B399   JOHN          ZAYAC                   CO          33046721608
4632589A62B27B   TONYA         GIPSON                  DC          81018718906
4632619335B53B   AMANDA        PEREA                   NM          90014731933
463273A727194B   PAULA M       MAES                    CO          38062013072
4632799327B463   GENI          VEGA                    NC          90000999932
46328443372B4B   PILAR         AGUILAR                 CO          33045394433
463284A387194B   DAVID         SHIPLEY                 CO          90014784038
4632913257194B   AMANDA        MCDANIEL                CO          90004531325
46329213A84386   LASHANNAN     WILLIAMS                SC          90014382130
4632922335B58B   AMANDA        ALEXANDER               NM          35003472233
4632924175B372   CARLOS        PEREZ                   OR          90001162417
46329351372B4B   ANDREA        BRADFORD                CO          33076693513
4632B476172B43   MICHAEL       YAZZIE                  CO          90012794761
4632B617291569   ALJANDRO      MARTINAZALBA            TX          75047206172
4633114889376B   KHALIL        ALKHATIB                OH          64506611488
46331321972B36   JOSE MANUEL   DIAZ                    CO          90012823219
4633223A25B53B   JESSICA       SANTISTEVAN             NM          90014732302
46332839172B43   SARAHU        SILOS                   CO          90008568391
4633316128B16B   JASMINE       HERRERA                 UT          90013941612
4633426917B48B   PAMELA        SCOGINS                 NC          90007402691
46334A13591569   LINDA         SOLIS                   TX          75037010135
46334A47471999   MICHAEL       MICHELLI                CO          90013790474
463353A727194B   PAULA M       MAES                    CO          38062013072
4633556445B58B   DAVID         ALDERETE                NM          90004835644
4633556532B87B   KYM           AVRIETT                 ID          41026095653
46336193A5597B   JACQUELINE    CORDOVA                 CA          90014451930
4633623A25B53B   JESSICA       SANTISTEVAN             NM          90014732302
463362A1161963   LACY          OXFORD                  CA          90013662011
4633717258B165   ANGIE         MCGUIRE                 UT          31002081725
4633723135B53B   JENNIFER      HOSKINS                 NM          90014732313
4633737995B58B   SILVESTRE     ESPARZA                 NM          90011343799
4633841667194B   LISA          SYKES                   CO          90014784166
4633871318B16B   REBECCA       KELLY                   UT          90012877131
4633891988B16B   MARIANA       SOUZA                   UT          90015219198
46338A7A15B58B   JACK          NIX                     NM          35042400701
4633915164B271   ARCADIO       HERNANDEZ               NE          90011891516
4633B454751334   JEFF          KELLY                   OH          90001184547
4633B51112B27B   BERNARD       MUNDAY                  DC          90013085111
4633BA46A5597B   ESTABAN       TREJO                   CA          90014890460
4634246845B58B   JUAN          DELGADO                 NM          35063514684
463424A315B53B   JOSE          CORNADO                 NM          90004924031
4634375AA4B271   DONTRAE       CARNEY                  NE          90010437500
4634382A95B58B   VINCENT       VAISA                   NM          90014868209
46344533A4B271   LAURA         CARLSON                 NE          27058615330
463449A395B222   KARA          RHEA                    KY          90014949039
4634565418B16B   SONYA         THOMPSON                UT          90007356541
4634619897194B   ROBERTO       RAYA                    CO          38008341989
46346627172B43   ANA           CHAVEZ                  CO          33066776271
4634669942B27B   JAMIE         OBRIEN                  DC          90009496994
4634682495B53B   JENNIFER      BATEMAN                 NM          90014798249
46347341972B43   JO            NAT                     CO          90013053419
4634745A171999   BILLY         OSBORN                  CO          38097834501
4634746668B16B   NICHOLAS      CHRISTENSON             UT          90013944666
4634748597194B   TAMMY         MEDINA                  CO          90014784859
4634841185593B   HICIDORO      ALCANTAR                CA          90012654118
4634846225B53B   CHANELLE      SMOOTS                  NM          90011194622
463488A5861963   ALONDRA       FLORES                  CA          90013298058
46349228A7B431   CHRISTINE     SCHESSER                NC          90010962280
4634939324B259   JOSE          CALDERON                NE          27087883932
46349A72741289   JENNA         PFLUMM                  PA          90013040727
4634B34452B87B   CHRIS         MCCAFFERY               ID          90012643445
4634B345291569   MATHEW        FLORES                  TX          75087263452
463511A4477595   RUBEN         MORENO                  NV          43062311044
4635157515B174   LAMONT        HOLLEY                  AR          23034615751
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46352349A72B36   SAMANTHA        GRAHAM                CO          90002613490
4635247127B431   AJ              TYLER                 NC          11007154712
4635255477194B   TARA            MCEACHERN             CO          90014785547
46353539676B21   JULISSA         GARCIA                CA          90000745396
4635358187194B   KYLIE           REYNOLDS              CO          90014785818
46353891A51334   HERMENEGIL      SANCHEZ               OH          66015428910
4635391A971999   LUKE            ORTEGA                CO          90009149109
46354355272B4B   ERIK            JOHNSON               CO          90013403552
4635458187194B   KYLIE           REYNOLDS              CO          90014785818
46356A98172B43   MARIANA         CASTILLO              CO          90013930981
46356AA7A4B271   LUCIA           TURCO                 NE          90013600070
4635732915B53B   DIANA           BROWN                 NM          35014373291
4635868565B58B   VERONICA        LLAGUNO               NM          90014816856
46358AA4951334   ELWIHNA         KILMEDE               OH          90011110049
463591A7A4B271   LUCRETIA        DE BERRY              NE          90009891070
46359337A71921   CHRIS           FOURNIER              CO          90001903370
4635948858B165   COSENTINO       TONY                  UT          90007834885
4635993947194B   CARRISSA        CROSBY                CO          38030039394
46359A5352B27B   PRESTON         ARCHIE                DC          90008370535
4635B26674B271   MICHAEL         WILKINS               NE          90006602667
4635B33A45B174   LATIA           POWELL                AR          90006673304
4635B489761938   MICHAEL         BAZZO                 CA          90008434897
4635BA18381671   SUSAN           HEMENWAY              MO          90014240183
4635BA3267194B   PATRICIA        SHIELDS               CO          90010910326
4636141A77B431   KISHA           SANDERS               NC          90006704107
4636163687194B   CHARLES         GONZALES              CO          90014786368
4636169768B16B   GERARDO         SORIANO               UT          90014426976
4636169965B58B   JOHN            CORDOVA               NM          35004446996
4636263757194B   MIRIAM          ARRAMBIDE             CO          90014786375
4636373257194B   TED             MAISEL                CO          90006707325
46363A8235B53B   GUADALUPE       AGUILERA              NM          35080500823
4636415153B356   ALFRED          VASQUEZ               CO          90001341515
4636511355B53B   ALLEN           MARTINEZ              NM          90001841135
4636583277B431   JAMILLAH W      VANALLEN              NC          90015158327
4636634715B53B   CINTHIA         ALVEAR                NM          35033483471
46366358A7194B   LETICIA         ORTEGA                CO          38026213580
46368633172B39   WENDY           DEAN                  CO          90002396331
4636886482B27B   MENJIVAR        BLANCA                DC          90014738648
46368A91271999   JUAN            MOLINA                CO          90010030912
4636951292B87B   WILLIAM         MILLER                ID          90012455129
4636975655597B   MAIYANG         THAO                  CA          90012727565
46369783572B43   ALEXANDRIA      WRIGHT                CO          33055197835
4636999A25B174   RODRIGO         ZAVALA                AR          90015249902
46369AA4161967   ENRIQUE         VELASQUEZ             CA          90012840041
4636BA58671999   SAMUEL          MALDONADO             CO          90011290586
4637124662B87B   JENNIFER        PEONE                 ID          41001902466
4637132652B879   LISA            WHITEWATER            ID          42000903265
4637152728B351   CANDICE         ULMERS                SC          90014575272
46372133972B4B   OSVALDO PEDRO   CORONEL               CO          90011871339
4637228A285625   TIA             CORLEY                NJ          90005812802
4637316A161967   ROCIO           BERGUM                CA          46017161601
4637438755597B   DEREK           LAWSON                CA          90000353875
4637528335B53B   ROSALBA         VALDEZ                NM          90014732833
463755A4672B4B   JAMES           PETERSON              CO          90015595046
463759A548B16B   CALEB           MANGUM                UT          90008689054
4637689948B182   MAGDALENA       GONEZALES             UT          90001798994
46377431A91873   SHARON          BECKETT               OK          21016094310
463774A4472B4B   KAREN           MAHONEY               CO          90005264044
46377A56755939   CHUCK           RECLUS                CA          49092920567
4637825625B174   JOHN            MILLER                AR          90011222562
4637837575B53B   NANCY           BEATRIZ MARTINEZ      NM          90014203757
4637B11225598B   JARED           FERNANDES             CA          48038071122
4637B56788B16B   NICK            EDWARDS               UT          31000215678
4637B737377595   LUISA           CHAVARIN-CARMONA      NV          90009677373
4637BA2465B53B   BRENDAN         AGUILAR               NM          90010360246
463822A195597B   BENITO          GUTIERREZ             CA          49074472019
46382331672B43   JOHNNA          REECE                 CO          33083373316
4638255A551334   MATTHEW         JACKSON               OH          66045285505
4638328195B53B   ARTURO          ZAMBRANO              NM          35077572819
46383368372B4B   ADRIANA         GARCIA                CO          33071773683
4638341654B271   CHARLES         BROWN                 NE          90014274165
4638419768B157   MYLENE          SOTELO                UT          90010531976
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4638448538B16B   RICHARD      MILLER                   UT          90012624853
463845A538B165   CONNIE       BLAKE                    UT          90005855053
46384979572B36   TEANA        CHAVEZ                   CO          90003479795
4638523212B27B   MAYRA        BLANCO                   DC          81057662321
4638543317B431   APRIL        LOMAX                    NC          90012324331
4638569465B174   KENEISHIA    JEFFERSON                AR          90014696946
46385A11761967   YOLANDA      MORALEZ                  CA          90012950117
46385A6785597B   NANCY        JIMENEZ                  CA          90002820678
4638632637194B   JENNIFER     DREWERY-TAYLOR           CO          38065313263
46386612572B4B   MYRICK       MYRICK                   CO          90012026125
4638735619185B   STACEY       STEPHENS                 OK          21075403561
4638757A772B36   PIA          BURLESON                 CO          33071315707
463883A265597B   ANGELICA     CAMPOS                   CA          90004953026
4638869585B174   SHANNON      PRATHER                  AR          90013156958
46388A1A772B4B   TRACI        SALAZAR                  CO          90015080107
4638929492B27B   JULIO        HERRARTE                 DC          90009242949
463893A6461967   LAKIESHA     JACQUETT                 CA          46041033064
4638B818A91523   VERONICA     CHAVEZ                   TX          90007368180
46391588272B4B   NICHOLAS     SCARANDA                 CO          90013335882
46392849A5B174   PARISKAVDU   STARR                    AR          90000378490
4639323274B271   MELISSA      SINNOTT                  IA          27048442327
4639363642B87B   MAKAYLA      LANCE                    ID          90013676364
4639365A16197B   ROCHELLE     STURDIVANT               CA          46007126501
46393956672B4B   JUSTIN       BREINIG                  CO          90012829566
46393A72277595   SEAN         ROLD                     NV          90012220722
46394371376B5B   JORGE        MURILLO                  CA          90001773713
46394A4278B165   SIPOLA       FUKOFUKA                 UT          31095950427
46394A46251325   ERIC         BROCK                    OH          66076950462
4639545825B53B   ANGELITA     ROAN                     NM          90014744582
463954A3A7194B   LARRY        WOOLSEY                  CO          90014804030
46396A9957194B   CHRIS        WILSON                   CO          90014790995
4639815315B222   CAPRICE      COTTON                   KY          90014191531
46398A9957194B   CHRIS        WILSON                   CO          90014790995
463993A1947954   JUAN         MARQUEZ                  AR          25072133019
4639B2A364B271   MARIDA       BUCSH                    NE          90005472036
4639B33825B53B   JESUS        RAMOS                    NM          90014733382
4639B8AA361967   KRYSTAL      MONTERROSA               CA          46012608003
4639B97A191569   MARIBEL      FABELA                   TX          90010919701
463B156347B431   JOHN         HOWARD                   NC          11046025634
463B169365B174   WYNESE       GANTT                    AR          90012426936
463B187872B27B   PRECIOUS     ROSSER                   DC          81007308787
463B274324B543   GRISELDA     GOMEZ                    OK          90011147432
463B2783461967   PERLA        MONTES                   CA          46012267834
463B2875172B98   FRANCES      MACIAS                   CO          33006858751
463B3532351334   KELLYE       COATES                   OH          90010975323
463B4112651334   RHONDA       ADAMS                    OH          90014231126
463B421337B431   SHIRLEY      MATRIN                   NC          90002272133
463B454257B431   EB           MOODY                    NC          90013965425
463B483984B543   SABRINA      WEANER                   OK          90011148398
463B4A7397194B   STEVE        VIGIL                    CO          38055650739
463B5184891523   ROLANDO      CASTILLO                 TX          75057051848
463B5494172B36   CYNTHIA      RUIZ                     CO          90009184941
463B5713261967   RICARDO      MORENO                   CA          46014747132
463B6617691569   ARTURO       COMPEAN                  TX          75087266176
463B8136A51334   ANGEL        CLEMMONS                 OH          66012491360
463B8252191569   JAIME        ESPINOZA                 TX          75036572521
463B8655277595   SERGIO       ZECENA                   NV          90004256552
463B949855B174   JASMINE      HILL                     AR          90015304985
463B9745261967   ANTONIO      LOPEZ                    CA          90014587452
463B985479373B   JOSEPH       BORGER                   OH          90001678547
463BB12787194B   DOMINIC      SOLIS                    CO          90014781278
463BB2A2A51361   SHATARA      GOVER                    KY          90010582020
463BB315371999   ASHLEY       GOMEZ                    CO          38026373153
463BB46442B87B   CANDICE      DIAL                     ID          90012264644
463BB56475B222   JOHN         JENKINS                  KY          68061815647
463BB86855B531   MADINA       NOURESTANI               NM          90007658685
4641188395B58B   ABIGAIL      LONG                     NM          90012778839
4641257328B16B   LISA         TATE                     UT          31002165732
46412636172B4B   JENNIFER     WEST                     CO          90015146361
4641265455B222   APRIL        BURKHEAD                 KY          68085576545
4641275A55B174   ROBERT       IRBY                     AR          23095977505
4641291815B58B   JENNIFER     MARQUEZ                  NM          35010109181
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4641357958582B   JUAN MANUEL   NUNEZ MARTINEZ          CA          90002745795
464136A7A72B4B   SHERRY        GRIEGO                  CO          33064576070
46413A46761967   BRANDON       RYF                     CA          90011700467
4641443835B53B   RAY           WHITE                   NM          35003454383
4641496942B27B   CHEARIE       PHELPS                  DC          90005899694
46415114772B4B   LAFAYETTE     LOPEZ                   CO          33098321147
4641519765B53B   HIPOLITO      RAMIREZ                 NM          90003941976
4641693885B174   ADRIAN        HUDSON                  AR          90014139388
4641776275597B   JESUS         AMEZSUA                 CA          90010217627
46417A26347954   MACAILA       THOMAS                  AR          90004530263
4641834975B222   ADARIUS       PEGUES                  KY          68013873497
4641B197781639   MERRISSA      CHAPMAN                 MO          29017151977
4641B84615B333   BOBBI         CLAYTON                 OR          90004858461
4641BA4128B16B   CATHY         TOWNSEND                UT          90006740412
46421718A5B174   JOSE          PEREZ                   AR          23064867180
46421A17561963   HECTOR        RODRIGUEZ               CA          90014160175
46422388A8B16B   AMBER         SKINNER                 UT          90013243880
4642284377B431   BURTON        LAVANA                  NC          90014568437
46422A2412B87B   MICHELLE      THOME                   ID          90012200241
4642369A691569   MICHAEL       MALDONADO               TX          90012056906
464238A925B53B   ESTEBAN       RAMIREZ                 NM          35095468092
46423A8115B174   ORETHA        BROWN                   AR          90014120811
4642415558B16B   FABIAN        ESPINOZA                UT          90005711555
4642449725B222   REBECCA       HURST                   KY          90014844972
46424A2945B174   YOSELY        LAGOS                   AR          90010390294
46424A44861967   TOM           BLITCH                  CA          46017170448
4642535925B266   TONY          RAMEY                   KY          90002473592
464254A155B174   PATRICK       REED                    AR          90011384015
46425AA995597B   THOMAS        JUDGE                   CA          90004840099
46426265A4B551   MARIA         VANDERSCHANS            OK          90005382650
464273A524B271   BRANDIE       SMITH                   NE          90010123052
464275A7A8B16B   SAMUEL        SANDOVAL                UT          90009605070
4642777355B174   ADRIAN        HUDSON                  AR          90014337735
4642793885B174   ADRIAN        HUDSON                  AR          90014139388
4642798A861967   TRACY         RAY                     CA          46053839808
4642924585B174   VICTORIA      CONWAY                  AR          90015132458
4642956987194B   TANIA         GUERRERO                CO          90002855698
4642958456198B   KEVIN         ODAY                    CA          90004625845
4642996832B27B   BRITTANY      GRANT                   DC          90008529683
4642B33457194B   SHEILA        ALARID                  CO          38014823345
4642B427772B4B   JAMISON       STEPHENS                CO          90008564277
4642B547871999   LETICIA       ESCALANTE               CO          90002305478
4642B88375B58B   VERONICA      PORTILLO                NM          90014298837
4642BA55372B36   MARCO         ANDRADE                 CO          33076830553
4643129455B222   AMY           ELLIS                   KY          90013392945
4643253368B165   RACHEL        NIEVES                  UT          31025525336
46432A95861963   JESSICA       MALDONADO               CA          90014600958
464345A3951334   ERICA         CAUTHEN                 OH          90009895039
464347A955597B   MARIA         TORRES                  CA          90013677095
46434A56161967   JASON         DENIS                   CA          46064660561
4643539423143B   LAWANDA       LITTLE                  MO          90012573942
464353A2661967   AIDA          RAMIREZ                 CA          90010803026
4643541478B16B   BRETT         OLSEN                   UT          90010504147
4643654198B165   DORA          ACEVEDO                 UT          31065435419
46436798A7B431   JENNIFER      COX                     NC          90013777980
4643694287B457   JOSE          PENA PAREDES            NC          90013219428
46436A7667B431   JENNIFER      COX                     NC          90012340766
4643741917194B   BURLENE       CAMPBELL                CO          38030884191
464388A674B271   PATRICIA      PIKE                    IA          27069708067
46439A2A171999   CRYSTAL       SENA                    CO          38006180201
4643B13835B53B   KIMBERLY      REGER                   NM          35020991383
4643B96765597B   LIZBETH       MELCHOR                 CA          90014839676
4644135A691569   GHISLAINE     HERNANDEZ               TX          90012343506
464423A555B174   SHATOY        FLEMING                 AR          90010823055
4644548157194B   DELORES       ESQUIBEL                CO          90014794815
46445958A31487   CHRISTOPHER   TYSON                   MO          90014499580
4644776497194B   LOUELLA       VELASQUEZ               CO          90010167649
46448132A91569   RAFAEL        BERUMEN                 TX          90005501320
4644848157194B   DELORES       ESQUIBEL                CO          90014794815
46448884924B6B   WALTER        VILLARROEL              VA          81046528849
46448A17281639   MEGAN         BARBER                  MO          29017260172
46448A6129714B   CATHY         CLIFT                   OR          90001390612
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46448A94971999   LAURA        VALDEZ                   CO          90014320949
4644B926261967   AMY          WOODARD                  CA          90011419262
4645149147194B   VICTORIA     ALBO                     CO          90011544914
464515AA75B58B   MARIA        AVILA                    NM          90014985007
464523A265597B   ANGELICA     CAMPOS                   CA          90004953026
4645272115B174   SADE         WIMS                     AR          90014107211
464531AAA2B87B   TAMMI        BUSBY                    ID          90011571000
464564A1451348   NICK         CHERNEY                  OH          66006854014
4645652238B16B   CHRISTIAN    DOWSETT                  UT          90010695223
4645664296197B   SCOTT        ZOPF                     CA          46068216429
46456A19793767   OCTARIA      HUNTER                   OH          90000130197
464571A8A61963   NECOLE       SMITH                    CA          46097061080
4645736515B174   MALIA        COLLIER                  AR          90013393651
46458574A77595   DARLA        WARD                     NV          43091635740
4645947657B431   JAMILLAH     VANALLEN                 NC          90015144765
46459A15393769   MONICA       BLAKE                    OH          90013550153
4645B184761967   KEYON        MCCRAY                   CA          46062461847
4645B43462B87B   DEVIN        DURBIN                   ID          90014744346
4645B818A7B431   CORNELIUS    BLAKMON                  NC          90014598180
46461554972B43   KATHLEEN     NELSON                   CO          90000625549
4646268885B299   KAREN        DUNN                     KY          90001066888
4646333148B165   DANIEL       DIAZ                     UT          31045233314
46463366A33662   JOY          HAIRSTON                 NC          90001203660
4646379935B174   NICOLE       HERNANDEZ                AR          90013617993
46463A3626195B   CHRISTOPHE   HARKINS                  CA          46031320362
4646515153B356   ALFRED       VASQUEZ                  CO          90001341515
4646583228B16B   JORGE        DE SANTIAGO              UT          90003838322
46466757472B43   MOSES        SILALAH                  CO          90010087574
4646819315597B   MARIA        BALDIVINOS               CA          49083631931
4647141745B53B   RENEE        PACHECO                  NM          35074914174
46471585A7194B   RENEE        MADRID                   CO          90014795850
46473434272B4B   SANTA        GARCIA                   CO          33067404342
46474388A8B16B   AMBER        SKINNER                  UT          90013243880
4647444352B84B   SELMA        MOHAMMEDNUR              ID          90013984435
46474553772B43   JOSHUA       SOPRIS                   CO          90013015537
464751A285597B   RAMIRO       HERNANDEZ                CA          90014881028
46475411672B43   JORGE        MARTINEZ                 CO          33040374116
4647599355B272   RAMONA       WHITEHOUSE               KY          68018429935
4647673685597B   SCOTTINA     JOHNSON                  CA          90015397368
46476A25372B36   KIM          YEAGER                   CO          33078600253
4647917198B16B   ANGEL        ALVAREZ                  UT          90013321719
4647988635B53B   BETTYLOU     SALAZAR                  NM          35054948863
4647994968B141   TRAVIS       MORGAN                   UT          90002829496
4647B31547B431   ANISHA       MCCLUNEY                 NC          90011003154
4647B931571999   ANESSA       CORDOVA                  CO          90010109315
4648138A684353   NICOLE       GASTON                   SC          90001403806
46481A97872B43   ROCIO        MEDOZA                   CO          90007520978
46482593A61967   JEANNE       MONDRUS ACCT PROD 8095   CA          90014855930
46483356272B4B   SHARON       FARD                     CO          33090793562
4648361147B431   JONATHAN     EDWARD                   NC          90000616114
4648388635B53B   BETTYLOU     SALAZAR                  NM          35054948863
4648425518B16B   MELYSSA      SCHIFFMAN                UT          90013942551
4648519347122B   APRIL        LAMBING                  IA          90015301934
46485A63172B36   NANCY        CONTRERAS                CO          33069700631
4648639785B174   LAQUISHA     KENDLE                   AR          90014593978
4648674542B872   MATTHEW      HESS                     ID          90011597454
46486A4235B174   LAQUISHA     KENDLE                   AR          90009230423
464877A4461963   MIGUEL       NUNOZ                    CA          90013847044
46488837872B23   KRISTEN      MORROW                   CO          90005058378
4648887A58B16B   CALSIE       DEMERY                   UT          31097838705
4648953357194B   MERSA        MARTINEZ                 CO          90008515335
4648991465B222   LINDA        HARRELL                  KY          90015139146
46489A9465597B   DARREL       SISNEY                   CA          49084520946
4648B687A5B174   WILLIE       VENTRESS                 AR          90011226870
4648BA3142B27B   DAVID        MITCHELL                 DC          90014750314
46491375372B36   RITA         VIGIL                    CO          33051833753
4649265695597B   JEFF         BARLOW                   CA          90010036569
4649271665597B   LORENA       URRUTIA                  CA          90013677166
4649368695597B   DANIEL       RAMIREZ                  CA          90012936869
4649379AA72B43   WILLIAM      BECKMANN                 CO          90009657900
4649425578B16B   WILMER       TROCONIS                 UT          90013942557
46494A15171999   ROXANNE      ROMERO                   CO          90012390151
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46495A85472B43   CARLA       NEVAREZ                       CO      90007340854
46496368372B43   KASSIE      ANDERSON                      CO      33092903683
4649668614B271   MARCELA     MARCH                         NE      27094136861
46497AA655B174   EVELYN      HEARD                         AR      90015250065
4649828915B174   RAYMOND     CLAIR                         AR      90011302891
464984A5A72B36   MOOGI       KHALTAR                       CO      33003994050
4649856212B27B   ARTEMIO     RIOS                          DC      90011965621
4649893984B271   LYNN        JOHNSON                       NE      90015049398
4649943537B431   PEGGY       HUDSON                        NC      90006964353
464995A3A61967   HECTOR      RAMIREZ                       CA      90015335030
4649B26217194B   ANTHONY     MARTINEZ                      CO      90009622621
4649B856671999   AIOTEST1    DONOTTOUCH                    CO      90015128566
4649B921672B4B   MONIQUE     STYLES                        CO      90012839216
464B1A7285B333   DAN         GLUBECHT                      OR      90001100728
464B1A9957194B   CHRIS       WILSON                        CO      90014790995
464B294A35B53B   RAMON       RIVERA                        NM      35030549403
464B295A672B4B   HUGO        LAJUJ                         CO      33015429506
464B335A55B53B   CALEB       MALLORY                       NM      90014733505
464B3547A61925   GAIL        BREMNER                       CA      90008365470
464B357A891569   NYDIA       CENICEROS                     TX      75047985708
464B365234B271   STANLEY     JONES                         NE      90012346523
464B377655B53B   JONATHAN    HALL                          NM      90010887765
464B388785136B   ROBLERO     GUTIERREZ                     OH      90009178878
464B438652B27B   ANITA       PARSON                        DC      90010643865
464B4773372B4B   JANEL       GALLEGOS                      CO      90012617733
464B5138533646   MARITZA     NAVIDAD                       NC      90014241385
464B51A252B87B   JAZMINE     KITCHEN                       ID      90014251025
464B6142772B36   ISAAC       MARTINEZ                      CO      90008861427
464B6A3AA5B58B   ONTARIO     WAUNEKA                       NM      90012170300
464B6A9957194B   CHRIS       WILSON                        CO      90014790995
464B73A2172B43   YOLANDA     ROMERO                        CO      90003253021
464B7A1595B58B   RENEE       ROMERO                        NM      90014770159
464B814328B165   MIGUEL      ESPINOLA                      UT      31000921432
464B815A15B222   GAYLE       SUTHERLAND                    KY      68051871501
464B875385B174   SHAWANNA    JAMES                         AR      23061557538
464B891795B378   SUSAN       SEHM                          OR      90003839179
464B8A9957194B   CHRIS       WILSON                        CO      90014790995
464BB357971999   FREDRICK    JOHNSON                       CO      90014233579
464BB68242B27B   WALTER      QUIGLEY                       DC      81052336824
4651133915B58B   MARIA       GUADALUPE MARTNIEZ-CARDENAS   NM      90012413391
4651294924B271   SHAWN       GREED                         NE      90008989492
4651353915B58B   MATTEA      VALDEZ                        NM      90015305391
4651357A591922   KWMATNE     TODD                          NC      90013295705
4651392A351334   KIMBERLY    RICHARDSON                    OH      90007919203
4651397915B222   REBECA      JUAREZ                        KY      90009569791
4651426178B16B   PEDRO       COTRINA                       UT      90013942617
46514316172B36   ASHLEY      ANNAN                         CO      90006913161
4651441542B27B   EVELYN      SARNO                         DC      90013374154
46516461972B4B   CRUZ        ALBARRAN                      CO      33092934619
4651658755B222   BRITNEY     SMITH                         KY      90009395875
4651738612B27B   SUZETTE     LITTLE                        DC      81020533861
46517A5A15B174   VENTHENE    HINTON                        AR      90015130501
46517A93877595   CRIS A.     MONTOYA MONGE                 NV      43004240938
4651818525B597   ISABEL      GARCIA-HERNANDEZ              NM      90005431852
4651852295B53B   MONICA      GOODSON                       NM      90014735229
4651858A65B174   JOSE        GRANADOS                      AR      90004955806
465187A298B165   YANET       RODRIGUEZ                     UT      90011057029
4651986A561967   JESUS       EVANGELISTA                   CA      90014428605
4651991A45597B   DANIEL      QUINTANA                      CA      90012629104
4651993274B271   ANGEL       GIRL                          IA      27037269327
4651B378855939   PAMELA      RICHMOND                      CA      90001673788
4651B523743575   DAVID       SCHOFIELD                     UT      90012135237
46521556A77595   CARLOS      CHAVEZ                        NV      43066265560
4652225887194B   PAMELA      LAWRENCE                      CO      90014362588
46522AA2261963   ED          BALDWIN                       CA      90014300022
4652372427194B   ASHLEY      CAMPOS                        CO      90006647242
4652399125B53B   ACEVES      AVILLA                        NM      90004709912
46524397A8B16B   ANGELA      JOHNSON                       UT      31090613970
46524A4745B53B   GERALD      KING                          NM      90013640474
4652552295B53B   MONICA      GOODSON                       NM      90014735229
465264A578B16B   HOLLY       ASHBY                         UT      90005724057
4652652295B53B   MONICA      GOODSON                       NM      90014735229
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465273A2491394   MELISSA     THOMAS                    KS          90006893024
465273A417B431   TEVIN       REID                      NC          90010513041
4652752375B53B   CRYSTAL     ROMERO                    NM          90014735237
46527A66191569   ALBERTO     TERAN                     TX          75093750661
4652818582B395   JOSE        DEIDA                     CT          90014841858
4652838A861967   LUIS        GOMEZ                     CA          90010473808
46529A91A51334   YADIRA      REYES                     OH          90006370910
4652B56622B27B   NIKKIA      DYCHELL                   DC          90014975662
4652B65427B431   SEKOU       KARLEY                    NC          90014296542
4653297914B271   CODY        WEBBER                    NE          27093959791
4653355297194B   FEDELINA    SANTAMARIA                CO          90011545529
465338A413B332   RALAEL      VILLA                     CO          33017478041
46533A7A561967   MARLA       GUTIERREZ                 CA          90012930705
46534535A5B53B   BRIANNA     MCAFEE                    NM          90014735350
465346A4A91569   HECTOR      GARDEA                    TX          75090336040
4653537695B53B   FRANCISCO   AVILA                     NM          90008973769
4653596117B431   MICHELLE    JENKINS                   NC          90012749611
4653623155B53B   MARIA       BOBADILLA CAMACHO         NM          90007972315
46536631A51334   CHELSEA     BRODERICK                 OH          90012986310
4653735632B27B   CLYDE       SOBERS                    DC          90013383563
46537412A4B271   FREADOM     MILLER                    IA          90014154120
46537972A77595   JOSHUA      HODGSON                   NV          90012419720
4653815294B271   MICKI       CARR                      NE          90014931529
46538472772B32   MICHELE     TRUJILLO                  CO          90010004727
46539A32A2B27B   HATTIE      DREW                      DC          90002750320
4653B41895B53B   JOSE        VALENCIA-PENA             NM          35023224189
4653B63A861967   MARCELINO   HERRERA                   CA          46054326308
4653B94A28B165   JOHN        BEVERLEIGH                UT          90010329402
4653B998272B43   JOSE        SEGOVIA                   CO          33055669982
4653BA52561963   UILSY       NORIEGA                   CA          46059350525
4653BA6232B87B   SHAWN       FEDELE                    ID          90012620623
4654176832B87B   JEREMY      YOUNG                     ID          90012587683
4654223125B174   SHEENA      ANDERSON                  AR          90011232312
4654237924B271   JOSE        HERNANDEZ                 NE          90012933792
4654293394B259   TIFFANY     BANFIELD                  NE          27097319339
4654329778B16B   JOSE        MENDEZ                    UT          31017392977
46544317872B43   EDGAR       HERNANDEZ                 CO          33087983178
46544953A55939   TROY        SMILEY                    CA          90007839530
465466A555597B   NORMA       ROMERO                    CA          90008346055
4654742182B27B   DAVID       WASHINGTON                DC          90011454218
4654782567B431   ANTONIO     CRUZ                      NC          90015548256
4654786125B174   GLENN       CRIPPEN                   AR          90014338612
46547A3695B58B   MARICELA    MEDINA-MOREIRA            NM          35025440369
4654824297B431   LAZARUS     HOLEMAN                   NC          90002172429
4654864665134B   ANTHONY     STEWART                   OH          90011276466
4654882215B222   DONNIE      SMITH                     KY          90012768221
46548A3717194B   LUIS        MIRANDA                   CO          90014820371
46549433A8B16B   DANIELLA    MALDONADO                 UT          90013944330
4654952A191569   REBECA      K PROCHOVNIK              TX          75015885201
465496A6272B43   SYMONE      FORD                      CO          90013786062
4654BA24561965   CARMEN      PENA                      CA          90010700245
46552A4257194B   SONDRA      ARAGON                    CO          90014820425
465532A424B271   ANTHONY     JACKET                    NE          90012322042
46553A8532B87B   NATHAN      BROWN                     ID          90013030853
46554497A8B16B   MICHELLE    NIXON                     UT          31037824970
4655485595B53B   FRANCES     GALVAN                    NM          90004868559
4655486252B27B   REYNA       CASTILLO                  DC          90010928625
46554A69591569   NANCY       BORJON                    TX          75055260695
4655554915B388   ROBERT      SHORKEY                   OR          90014435491
46555A5265B174   TISHA       CAMPBELL                  AR          90004680526
4655668565B58B   VERONICA    LLAGUNO                   NM          90014816856
46557768172B36   ALINA       CORTAZAR CANO             CO          90008677681
465579A634B259   MASON       ALTHEA                    NE          90000719063
4655855925B53B   MAURICIO    CANDIA                    NM          90014735592
4655888775B222   DAVID       CLAYTON                   KY          90014138877
465588A6461963   ANTHONY     FLORES                    CA          90013298064
4655B16592B87B   JACQUELYN   SUTTON                    ID          41005531659
4655B56235B174   AMIR        FLEMING                   AR          90000435623
4655B5A757B666   NOE         HERNANDEZ                 GA          90015415075
4655B677971999   ANGELICA    MUNOZ                     CO          90011296779
46561A9A672B36   YOLANDA     RIVERA ROCHA              CO          33090630906
4656288842B27B   TONYA       LYLES                     DC          90000378884
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46562A8717B431   CHASSITY        DILLARD               NC          90012950871
4656311A171999   MICHAEL         MARTINEZ              CO          38005041101
465646A315B174   MICHAEL         LANEER                AR          23061896031
4656473295597B   BROCK           SANDERS               CA          90010217329
4656485325B376   ROSS            CASTERLINE            OR          90010018532
4656551845597B   VICENTA         MONDRAGON             CA          90014375184
46565A93A5B58B   ANGELITA        SPRUNK                NM          35015540930
4656655A65B174   ALLEN           ANDERSON              AR          90012885506
46566687A72B4B   RYAN            ROAN                  CO          90013616870
465681A2997B32   LIDIA           SANTILLAN             CO          90013131029
4656827118B16B   TRACY           JAMISON               UT          31085072711
4656882A62B27B   MA VICTORIA R   TORRES                VA          90001838206
465688A665B299   MYAYARA         HAYNES                KY          90010558066
465699A2161967   JARED           MUNZ                  CA          46055449021
4656B6A818B16B   MANSOUR         YAROW                 UT          90014566081
4656B88415B174   MARY            WALKER                AR          90004828841
4657117635B174   MARY            ROSE                  AR          90011521763
4657226797194B   OLIVIA          DOMINGUEZ             CO          38072482679
465724A9472B4B   JAMIE           BOSTIC                CO          90014624094
4657325532B87B   CHELSEA         MEHR                  ID          90014722553
46573424A8B16B   TODD            GOFORTH               UT          90014484240
465759AAA2B87B   BERNICE         COSMAN                ID          41034099000
46575A8967194B   ANDREA          MARTINEZ              CO          90012970896
4657645A297B32   GILBERT         GARCIA                CO          90013954502
4657654297B431   LETICIA         WATSON                NC          90011115429
4657671882B87B   DANIEL          BECK                  ID          41062037188
46576A2A98B16B   DUSTY           AUNE                  UT          31019510209
4657849465B222   RICHARD         WATERS                KY          90008664946
46578642472B43   PAYGO           IVR ACTIVATION        CO          90013586424
46578791472B36   JASPER          FLORES                CO          33073967914
465793A137B431   ANGELA          HAMILTON              NC          90010453013
46579A8967194B   ANDREA          MARTINEZ              CO          90012970896
4657B226961963   JOSE            HERNANDEZ             CA          46034432269
4657B42595B174   GWENDOLA        BROWN                 AR          23041244259
4657B7A1951334   AMANDA          ARTMEIER              OH          90010987019
465811A5291569   ALBERTO         HERNANDEZ             TX          75086491052
465813AA971999   LONG            KIM                   CO          90010093009
4658185595B58B   FRANCES         GALVAN                NM          90004868559
4658185697194B   DEREK           ROSALES               CO          90014858569
4658187155B55B   MARY            SUGGS                 NM          90012388715
465826A825597B   YESENIA         MONZO                 CA          90003746082
4658295337194B   MICHAEL         CHANEZ                CO          90014869533
4658321644B271   JAVIER          MENDOZA               NE          90012352164
46583329A51334   BETTY           SPRANDEL              OH          90012923290
4658341855B174   CHARLES         WILLIAMS              AR          90014234185
46583753A91569   CYNTHIA         CRISPIN               TX          90012377530
46583AA4661967   LORENA          PARRA                 CA          46084150046
4658462772566B   KOWON           LITTLE                AL          90014236277
46584795372B36   MARK            STONE                 CO          90010137953
46584883372B43   MARIO           CAMPOS                CO          90012148833
4658513128B186   AMY             CORPRON               UT          31004241312
4658541375B174   TIMOTHY         SLATES                AR          90011234137
4658592947194B   EYLAH           KOTA                  CO          90014859294
4658626A17B431   ERNEST          ADDAIR                NC          11003522601
4658658295B53B   JOHN MICHAEL    GOMEZ                 NM          90014735829
4658679172B87B   JENNIFER        SCHULTZ               ID          90014517917
46586835972B43   JULIA           MUNOZ                 CO          33061948359
465892A2671999   JOSEPH          TREADWAY              CO          38032102026
465896A145B58B   ALEX            ORTEGA                NM          35038146014
4658B844661967   DULCE           VARGAS                CA          90012918446
4659176867B431   LINDA           BROOKS                NC          90012887686
4659247455B58B   GABRIEL         MARQUEZ               NM          90006664745
465927A8A72B32   FRANCISCO       CRUZ                  CO          90007897080
4659336A161967   MARIA           RUIZ                  CA          90011903601
4659344182B27B   FRED            SANFORD               DC          90012784418
46593629572B4B   CHANPEL         PEDILLA               CO          90014726295
46593A67351388   MYEISHA         GODFREY               KY          90001320673
4659415312B27B   PATRICK         GOLDSON               DC          90011691531
4659452393B351   BRIAN           NASTICK               CO          33034615239
4659476524B577   ELVIRA          DOYLE                 OK          90008747652
46595922472B43   JOSEPH          DANKOWSKI             CO          90013829224
465964A1172B43   GLENDA          SPOMER                CO          33076964011
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4659678A947954   ABAGAIL     DUNCAN                    AR          90007647809
46597A32555939   BEATRICE    RAMOS                     CA          90007400325
4659846745597B   TERESA      RAMIREZ                   CA          90013094674
4659859724B271   FRANCISCO   DOMINGUEZ-AVALOS          NE          27046095972
46599755972B36   NICOLE      RUIZ                      CO          90009657559
4659986865B264   AMANDA      SMITH                     KY          90014638686
4659B132672B43   ERICA       ALDAVA                    CO          90013061326
465B186984B546   TINA        VANN                      OK          90003798698
465B197875B174   LEONARDO    ROSAS-HUESCA              AR          90011799787
465B1A2955B53B   JOSE        ALEMAN                    NM          35063670295
465B2355871999   ALBERT      RIVERA                    CO          90012953558
465B239A272B43   ANDREA      PETERSON                  CO          90010053902
465B263A861967   MARCELINO   HERRERA                   CA          46054326308
465B2786972B4B   VICKIE      SMILEY                    CO          33025357869
465B2915651334   EDDIE       BLESSING                  OH          90012109156
465B338727B431   BREANNA     CAERRA                    NC          90015043872
465B3496761963   GUILLERMO   CASTILLO                  CA          90013114967
465B5215691523   ROSALIO     LUNA                      TX          90007372156
465B528634B577   VALICIA     MALONE                    OK          90008492863
465B635857194B   JOLENE      ROMERO                    CO          90005313585
465B72AA42B879   STEPHANIE   GUARDIOLA                 ID          90013852004
465B7497872B4B   DOUGLAS     MANGELS                   CO          33055234978
465B7564172B43   DARLINE     ARGUELLO                  CO          90012405641
465B788584B259   JUNE        CURTIS                    NE          27016828858
465B7927171999   TANYA       PRIEN                     CO          38054499271
465B8581461967   YARE        MARICELA RAMIREZ          CA          46085575814
465B874495B53B   FAVIAN      PIERCE                    NM          90014737449
465B876A85B222   MICHAEL     BUCHANAN                  KY          90014877608
465B88A5A72B43   ANDRES      SCHULTZ                   CO          90015118050
465B8A71671999   JULIE       ROMERO                    CO          90013340716
465B988584B259   JUNE        CURTIS                    NE          27016828858
465B995822B87B   MARY        MAEDER                    ID          90002609582
465BB837171999   SARAH       MEIGS                     CO          90003158371
465BB866277595   NATHAN      HUNTER                    NV          90007248662
465BBA9495B53B   GARY        TRUJILLO                  NM          35039340949
466118A4372B36   BRITTNAY    MANTYCH                   CO          90011008043
4661214265B174   ANGELA      WARREN                    AR          90014811426
4661225A191873   LAURA       BLEVINS                   OK          90005922501
46612293872B36   ROSE        MORALES                   CO          33012722938
46613291933B98   VALERIE     JACKSON                   OH          90015132919
4661347A791873   SHIRLEY     SMITH                     OK          21028234707
46613518272B4B   ALEJANDRO   GARCIA T                  CO          90015055182
4661456115597B   LORNA       MITCHELL                  CA          49017685611
4661491A272B4B   ARTURO      MARTINEZ                  CO          90014119102
4661532A177595   MICHEAL     FIELDS                    NV          90011293201
4661596845B53B   RIGOBERTO   NAVARRO-DIAZ              NM          35080269684
4661666975B174   JOANN       HUNTER                    AR          90011236697
46616712A51334   PETRA       MCNEIL                    OH          66019357120
46616A11A6B145   DORICE      MILTON                    MS          90014250110
46616A98672B43   ROSA        VERA                      CO          90000110986
4661734212B27B   THEADORE    GOODE                     DC          90012133421
4661762A44B259   MARIA       PACHECO DE QUINTEROS      NE          27016906204
46617A1738B165   DJ          THOMSON                   UT          31079910173
46618143A7B472   BLANCA      GUZMAN                    NC          90010901430
46618398233B55   JR          DOWDLE                    OH          90013363982
466187A695B174   WILLIAM     CAMBELL                   AR          23071557069
4661896515597B   GARY        SELLING                   CA          90013119651
4661928682B27B   BRIANNA     JONES                     DC          90014862868
4661954352B27B   HELEN       WILLIAMS                  DC          81043935435
46619742972B62   ANA         MORENO                    CO          90013877429
4661B79457B431   ALBURN      GLAZE                     NC          90015017945
4661B95962B87B   ALLISSA     LEBLANC                   ID          90003559596
4662161515B53B   ANNA        MONTES                    NM          90014736151
46621A1A691569   JAQUELINE   SALAS                     TX          90001040106
4662244255597B   RAYMUNDO    AVALOS                    CA          90000354425
46622A18872B36   MICHAEL     BROADWAY                  CO          90013080188
4662338192B27B   ROGER       JOHSON                    VA          90011953819
46624121A4B271   KELLY       COMORSKI                  NE          27015741210
46625A3958B16B   REYNALDO    FUENTES                   UT          90014900395
46625A92572B4B   JASON       HILTON                    CO          33082810925
46626261A72B4B   BRENDA      CALDERON                  CO          90015112610
46627A54591569   MIRIAM      MARQUEZ                   TX          90012280545
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4662869A95B58B   DANIEL      MISQUEZ                   NM          35012356909
46628938A61963   ALICIA      LOPEZ                     CA          46068109380
46628AA3572B43   ESPARONZA   GALINDO                   CO          90007880035
466293AAA5B222   BEINDA      HENDERSON                 KY          90014973000
4662995235B222   LANCE       HENRY                     KY          90010339523
4662B95A672B4B   ANTONIO     GOMEZ                     CO          33093109506
4662BAA7272B36   BRITTANY    ARGUELLO                  CO          33051230072
46631355372B43   CHANDRA     KHANAL                    CO          90006013553
466324A628B16B   ALEJANDRO   ROMERO                    UT          90013944062
4663251155B53B   DELIA       DURAN                     NM          90001055115
466334A3291569   HENRY       LOPEZ                     TX          90011064032
4663392825B222   TINA        WILDER                    KY          68010019282
4663421725B926   RHONDA      CLARK                     WA          90015462172
4663454267194B   CRYSTAL     ARCHULETTA                CO          90014385426
4663476614B259   RUTH        WILLIAMS                  NE          27064827661
466358A9493769   JUSTIN      HART                      OH          90008548094
4663617997194B   ROSEMARY    BOFFILL                   CO          38033371799
4663633935B222   HURST       KEISHA                    KY          68060563393
46636846572B43   IVAN        HERNANDEZ                 CO          90012158465
46636A11171999   ANN         MUNOZ                     CO          90008610111
4663763A891569   MARIAL      MALDONADO                 TX          75003176308
46638168872B4B   ANDRADE     RIGOBERTO                 CO          90010181688
466382A454B271   TONNESHA    QUALLS                    NE          90009702045
4663899195B58B   HERIBERTO   HERRERA                   NM          90013969919
4663B541A72B4B   VANESSA     GARCIA                    CO          90004375410
4663B878371999   BENITO      MEDINA                    CO          90011298783
4663B89A44B259   BRENDA      WALDRON                   NE          90010588904
4664129948B16B   JULLIAN     ROWLEY                    UT          90012452994
46642148772B4B   BERRIOS     JESSICA                   CO          90008441487
46642156A5597B   ZALI        MACK                      CA          90012131560
4664299685B58B   TU ANH      CHUONG                    NM          90013969968
46643451172B4B   EMILCAR     SANDOVAL                  CO          90010744511
46643A9135B174   ARTHUR      WILLIAMSON                AR          90012790913
4664428A18B16B   GILDA       MCBRIDE                   UT          90013512801
46644472972B36   ALEJANDRA   RUIZ                      CO          90007564729
4664449758B16B   GILDA       MCBRIDE                   UT          31049064975
4664466918B165   TUO         JI                        UT          31099276691
4664473782B87B   TAMITHA     MURPHY                    ID          90014077378
466448A8891569   CARLOS      TORRES                    TX          75087228088
466449A5572B45   ANGELLA     FAWCETT                   CO          90015359055
4664584A64B271   DANIEL      SPRINGER                  NE          90013798406
466467A6461966   GUADALUPE   ROBLES                    CA          90012027064
46646AA125B58B   RODNEY      WALK                      NM          90013970012
4664763145B53B   MELINDA     SHIPLEY                   NM          90014736314
4664851112B27B   BERNARD     MUNDAY                    DC          90013085111
466488A777194B   JENNIFER    OTERO                     CO          38068478077
466489A852B87B   ALAN        WILLFORD                  ID          90010509085
4664964A15B53B   ALONDRA     BARRON                    NM          90014736401
466496A3277595   AMBER       BOWLING                   NV          43011906032
4664B691191873   GABRIELA    CASTRO                    OK          21076056911
4665144A87B431   WAYNETTE    DENNIS                    NC          90014134408
4665185757194B   RICARDO     SAUCEDO                   CO          90014888575
46651A59557127   DENNIS      AHENKORA                  VA          90002450595
4665246435B53B   CHRIS       SANCHEZ                   NM          90014744643
46652A4A991569   MONICA      LEMUS                     TX          90004950409
4665316645B58B   LUSIANA L   DE MARTINEZ               NM          90002571664
4665364A15B53B   ALONDRA     BARRON                    NM          90014736401
46653A66A7B431   MARIA       JAIME                     NC          90014110660
4665414958B165   KIMBERLY    BAKER                     UT          31079301495
4665485757194B   RICARDO     SAUCEDO                   CO          90014888575
4665557A76197B   AMANDA      MAGANA                    CA          46059505707
46655A6A361963   ANGIE       HOWARD                    CA          90012840603
46656793372B43   MARIA       FLORES                    CO          33042297933
466569A1661963   LINDA       LOPEZ                     CA          46010509016
46656A27151334   DEBORAH     SCHAUER                   OH          66057430271
4665749724B271   MIKE        WOODRUFF                  NE          90010834972
4665774AA5B58B   CYNTHIA     CERECERES                 NM          90010137400
466578A925B53B   HERMAN      HERRERA                   NM          90011028092
46658216772B4B   EUGENE      DELREAL                   CO          33007002167
4665864147B431   LESLIE      NEWTON                    NC          90001146414
4665899968B16B   ULRICH      HERRERA                   UT          90012339996
4665996A672B33   LARRY       DUTCHER JR                CO          33092909606
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4665B47117194B   CARLOS        BACA                    CO          90014444711
4665B575471999   MELINA        VIGIL                   CO          90013925754
4665B911657148   BEYLIN        FLORES                  VA          90001949116
4665BAAA772B43   WILBERT       SIEMSEN                 CO          90011150007
4666145745B174   DEAUNNA       NELSON                  AR          90010004574
46661584672B4B   ALEXANDRIA    TAYLOR                  CO          33095185846
466615A938B16B   RICHARD       MURDOCK                 UT          31002115093
4666164915B53B   ENRIQUE       HERNANDEZ-MARTINEZ      NM          90014736491
4666176745B959   ALBA          AGUILAR                 WA          90015427674
46661942A61963   MINERVA       OCAMPO                  CA          46035349420
46662311672B36   CELINA        TONEY                   CO          90009443116
4666233957B431   EBONIE        MOODY                   NC          90007053395
4666265265B58B   BAILEY        JOHNSON                 NM          35079866526
4666287A75B354   ANN           JONES                   OR          90012198707
46662963472B4B   ZACHARIAH     STERNER                 CO          90015279634
46667682472B4B   MARTHA        RINCON                  CO          90014126824
4666794A75B222   TIMOTHY       WAHL                    KY          90014769407
4666849735B53B   JESUS         NAJERA                  NM          35063304973
466688A815B174   SHELLY        WILLAMS                 AR          23090518081
4666938975B174   KIMOTHY       HENDERSON               AR          90014623897
4666B689561963   JULIO         CORONEL                 CA          90009616895
46671378572B23   ANGELICA      RIVERA                  CO          33015803785
46671659A61963   EMILIO        JIMENEZ                 CA          90009646590
4667249162B27B   JAMES         ROGERS                  DC          90012774916
4667262A772B4B   THOMAS        MONTONO                 CO          90013276207
4667286A78B165   KELLY         MANISELA                UT          90007658607
466732A4191523   ANGELICA      BRIBIESCAS              TX          90008762041
4667338458B16B   JOSE          CATANO                  UT          90013963845
4667385555B58B   RAMONA        CAVALIER                NM          35091548555
4667446477194B   DEBBIE        BRAVO                   CO          38025544647
4667466495B53B   EBONY         DOPORTO                 NM          90014736649
4667559445B53B   ELIZABETH     SOTO                    NM          90000835944
46675A16991523   ARACELI       GARCIA                  TX          90007430169
4667681117B431   CARLOS        MERCADO                 NC          11087828111
4667772348B16B   MISAEL        FAJARDO                 UT          90014887234
4667783635597B   DENEEN        PERRY                   CA          90014928363
46678451672B4B   SABRINA       TATE                    CO          90010744516
466784A9961967   CHRISTOPHER   MEADE                   CA          90014244099
4667853195B222   JOSH          WADDELL                 KY          90014635319
4667912255B174   LATASHA       MOORE                   AR          90011241225
4667B182691569   JOSE          RODRIGUEZ               TX          90001651826
4667B39214B271   RONDA         BUCHTA                  IA          27078363921
4668215964B271   ALMA          DE LA CRUZ              NE          27020731596
4668225268B16B   JACOB         SMITH                   UT          31096852526
4668229A251334   TAMMY         LONG                    OH          90013212902
466824A6261967   BRIAN         SCHWARTZ                CA          90010474062
4668311387B431   CAROLYN       WILLIAMS                NC          90014391138
4668352A691873   MICCKAH       BROWN                   OK          21012755206
4668456775B58B   CHRISTINE     GEMOETS                 NM          90014785677
466849A472B27B   ANGELA        DAWSON                  DC          90009319047
4668551695B174   FATIHA        ISLAM                   AR          90014515169
4668592415B58B   NAIN          HERNANDEZ               NM          35014659241
4668618A18B16B   VILLALOBOS    ESTELLA RUBY            UT          90012091801
46686958A5B174   TONYA         MORRISON                AR          23098219580
466877A3A5597B   BENITO        JUAREZ                  CA          49087127030
46688411A8B16B   JULIE         PHILLIPS                UT          31004524110
4668846733B343   MARISOL       ABRAMO                  CO          33038934673
4668851134B543   LORRI         COOPER                  OK          90015205113
46689272A72B36   ELIAS         ROMERO                  CO          33080782720
46689385572B43   SHEENA        DAEBELLIEHN             CO          33099273855
46689541A8B165   MARIA         BAUTISATA               UT          90003295410
46689A69671999   JACOB         SALINAS                 CO          90011300696
46689AA545B58B   JENNY         GUERRA                  NM          90013970054
4668BA5995B222   ANDRE         JACKSON                 KY          90015260599
4669169882B27B   AYSIA         TRASHER                 MD          90015346988
4669241A28B16B   MIKE          PORFILO                 UT          31077984102
4669283975B58B   GLORIA        MARTINEZ                NM          90001128397
46692929172B98   REBECCA       MACLEOD                 CO          90006169291
466932A265B222   LATONYA       NUNNALLY                KY          90009702026
466939A354B271   SHANTAYE      STUBBLEFIELD            NE          27015259035
466961A6261967   MANUEL        BALDES                  CA          90009931062
4669667A32B27B   JUSTIN        MCKNIGHT                DC          90012996703
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4669688712B87B   JAMES        RIVERA                   ID          90009178871
466972A5192B54   JESUS        CANELA                   WI          90014512051
4669746955597B   CHRISTINA    IMELL                    CA          49027854695
4669771595B174   DANIEL       LEE                      AR          90011447159
4669788623B356   LUZ          LOPEZ                    CO          90004048862
46697A9132B27B   MIRIAM       PORTILLO                 DC          90014930913
46697AA4591569   GRACIELA     MORENO                   TX          90011570045
4669839967194B   GUILERMINA   GONZALEZ                 CO          38004363996
4669867545B58B   CONNIE       FRANCIS                  NM          35035196754
4669871175B58B   CONNIE       FRANCIS                  NM          90013837117
4669935485B222   TONYA        HAYSLEY                  KY          90011383548
46699525772B36   LYNETTE      WHARTON                  CO          33091315257
4669B75892B27B   ANNYONA      NAMEICO                  DC          90013987589
466B147913B388   GILBERTO     ARAGON                   CO          90011724791
466B1A95872B4B   ANNETTE      FLORES                   CO          90010240958
466B2142951334   DAVID        MEIER                    OH          90014711429
466B29A815B52B   HECTOR       FLORES                   NM          90001019081
466B2A97A47954   ALEJANDRA    MARTINEZ                 AR          90009260970
466B37A252B87B   ROSANNE      ROBINSON                 ID          90014057025
466B3881A91569   VICTOR       SAPIEN                   TX          90014348810
466B416335B222   NANCY        MORRISON                 KY          90012671633
466B433895B53B   CHERYL       CHARLEY                  NM          90009173389
466B446618B16B   RAQUEL       DURAN                    UT          90013944661
466B454625B58B   MARIA        ELIZABETH                NM          90015305462
466B454A272B4B   MICHAEL      GREEN                    CO          90011475402
466B517A77194B   CHRISTINA    RAVENKAMP                CO          90014861707
466B5493171999   LAURA        VAZQUEZ                  CO          90004304931
466B574617194B   JESSICA      ILES                     CO          90003577461
466B582798B16B   LISA         JACOBSEN                 UT          31081228279
466B6419247954   ALMA         CHAVARRIA                AR          25073594192
466B68A382B87B   ADAM         FAULKNER                 ID          90013628038
466B7355872B36   BRANDY       MCACHRAN                 CO          90013013558
466B8148A8B16B   DAVID        C ORMOND                 UT          90012341480
466B8524271999   SHERRY       RAMIREZ                  CO          38026425242
466B8643972B43   CARL         ESSIG                    CO          33064196439
466B9431561966   MICHELLE     MONTANO                  CA          90013014315
466B9663A5B222   ONEL         TORRES                   KY          90009896630
466B971552B27B   QUINCY       PORTER                   DC          81029857155
466B982142B87B   JENNIFER     HOPP                     ID          41051288214
466B9971572B43   JONATHAN     GOODBREAD                CO          33009199715
466B998A851334   MARK         CROUCH                   OH          90012729808
466BB89115B174   ARON         MORA                     AR          23073858911
466BB8A955B53B   MARIO        MINJAREZ                 NM          35002208095
4671148465B53B   ARMANDO      MARQUEZ                  NM          90014744846
4671178422B27B   MORRIS       SMITH                    DC          81020137842
4671243A372B43   BRENDA       MIRANDA-SURA             CO          90005484303
4671244645B53B   BETHANI      WHITE                    NM          90011614464
4671279735B222   VICKI        ALDRIDGE                 KY          90002137973
4671315A97B232   FRANSICA     MORENO                   CO          90007721509
4671342A48B16B   STEVEN       STRATE                   UT          90013944204
4671419927B431   CHAVON       JACKSON                  NC          90003991992
4671478567194B   CHRISTINE    HERNANDEZ                CO          90014187856
4671568A15B53B   LARRY        SITLER                   NM          90003686801
46716261A2B27B   SHIRLEE      EECHAM                   DC          90011892610
4671692A72B87B   DEANNA       STAMOS                   ID          90011589207
4671815385B53B   LORETTA      LUCERO                   NM          35025941538
46718969A7B431   JENNIFER     GRAY                     NC          90015199690
46719242272B43   JAYSON       BARKER                   CO          90001082422
4671953215B58B   EDDIE        DURAN                    NM          35052565321
4671953A67194B   LINDA        VIGIL                    CO          90014895306
4671B24327194B   CORINA       MINJAREZ                 CO          90001362432
4671B49195B174   MICHAEL      MORIARTY                 AR          90010384919
4671B99812B87B   TANIA        SNYDER                   ID          41044829981
4671B9A8991569   EDGAR        PEREZ                    TX          90008639089
46722A88A72B43   GABRIEL      VAZQUEZ                  CO          33021320880
4672336168B16B   HOLLY        MONK                     UT          90009713616
46723917A5597B   FELIX        SEGURA                   CA          90014459170
46723A37141265   MICHELLE     UNGLAUB                  PA          51035430371
4672415A87B431   DIVINE       PROFESSIONALS            NC          90014691508
467244AA247954   AXEL         VILLEGAS                 AR          90015044002
4672495A255939   ANGEL        RODRIGUEZ                CA          90010539502
4672648915B53B   DARRICK      JOHNSON                  NM          90014744891
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4672686815B58B   DEREK            TAPIA                NM          35081488681
4672721925B53B   KENNETH          CENTENO              NM          35036542192
4672766A561967   JESUS            PUENTES              CA          90015126605
46727822A72B4B   APRIL            RICHARDSON           CO          33077468220
46727A4A991569   MONICA           LEMUS                TX          90004950409
4672815315B222   CAPRICE          COTTON               KY          90014191531
4672846A372B4B   ANA PATRICIA     VILLA                CO          90013054603
46728763772B43   LIBERTY          TAX SERVICE          CO          33043117637
4672974648B16B   VALENTINA        ALCANTAR             UT          90014467464
46729A8AA5597B   MARIA            SANCHEZ              CA          90008610800
4672B17915B58B   DANIEL           BERG                 NM          35067301791
4672B26665B222   JESSE            BAKER                KY          90007992666
4672B454991523   RITA             CASTRO               TX          90008454549
4672B49773B388   NICOLE           MICHELLE             CO          90010434977
4672B615777595   MARCOS           ZUNIGA               NV          90001726157
4672B65967194B   KRYSTAL          AUSTIN               CO          90008736596
467311A2572B36   ASHELY           CHASE                CO          33014501025
467315AA17B431   LISA             BLAKNEY              NC          90013865001
467319A7571999   DORA             BARRAZA              CO          38092049075
46731A5717B431   ANIYAH           JOHNSON              NC          90011240571
4673222675597B   ERIC             MUNOZ                CA          49039592267
467324A785B58B   GILBERT          PEREA                NM          90014174078
467328A318B16B   SLYVIA           JOHNSON              UT          31074798031
46732948972B4B   NANCY            MENDOZA              CO          90013139489
4673382A372B4B   CHRISTINA        OCAN                 CO          90012158203
46733A82491569   DOLORES          HARRIS               TX          75047200824
46734441572B43   HOLLY            HOLT                 CO          90014114415
4673458288B165   LAURENANDJESUS   MARTINEZ             UT          90005835828
4673525832B27B   KENNETH          AUSTEN               DC          90015092583
4673678785B222   MALCOLN          BARBOUR              KY          90003577878
4673733562B27B   SHAWN            STEWART              DC          90012833356
46737A89872B43   TRACY            MARTIN               CO          33090090898
4673849615B222   MARCOS           VASQUEZ VASQUEZ      KY          90010134961
46738757272B4B   REBEKAH          ZAVALA               CO          90014897572
4673B97A954151   KEITH            WOODS                OR          90009719709
4674113935B53B   NATHAN           GALLEGOS             NM          35008511393
4674182112B27B   ASHLEY           COLEMAN              DC          90000948211
46742755524B46   MORDI            MDSA                 VA          90012237555
4674289722B87B   TOMAS            MACIAS               ID          90014698972
4674371245B174   AMANDA           CARRALES             AR          90014647124
4674413977B431   LORI             BILLINGSLEY          NC          90011261397
4674421438B165   LAURA            SUMMARELL            UT          90004412143
46744353A7B456   SARAHI           REYES                NC          90004953530
46744356272B4B   SHARON           FARD                 CO          33090793562
4674476175B53B   ROSEMARIA        BACA                 NM          90011017617
46744A4A872B36   MARIELA          BOCANEGRA            CO          90008670408
467453A428B16B   JUSTIN           DOBBINS              UT          90015473042
4674594665597B   THONGVILAY       SAYAPHOMMA           CA          90011259466
4674725A686443   GABRIEL          FITZ                 SC          90015082506
46747649A5B58B   ARIEL            WHITE                NM          90014006490
46747A24181639   AMADO            CHAVIRA              MO          29068570241
46747A8165B174   JAYLA            MILLIGAN             AR          90015260816
46747A84651334   BOBBIE           MUHAMMAD             OH          66006180846
4674865333B37B   SAUNCEE          HANSEN               CO          90014836533
4674884675B53B   OLIVERIO         VARELA-NIETO         NM          35056738467
46748899A2B27B   DANYELLE         ARKSDALE             DC          90010908990
46748A6315597B   ADA              LOPEZ                CA          90014340631
467494A628B16B   ALEJANDRO        ROMERO               UT          90013944062
4674986A55B53B   ERIKA            FACIO                NM          90014058605
4674B39355B58B   ERIC             CARRASCO             NM          35029743935
4674B48138B16B   KIMDRA           GRIMM                UT          90013944813
4674B635572B36   IDALI            PRADO                CO          90002066355
4674B85A291394   ANDREW           BIESZCZAT            KS          90006968502
46751726572B4B   JULIAN           VEGA                 CO          90001467265
4675277855597B   MARTY            ROMERO               CA          90001607785
46752867A51334   DIANNEA          NOELKER              OH          90006678670
467529AA62B234   RAFAEL           MEJIA                DC          81044839006
46752A38A5B53B   CAROL            LOPEZ                NM          35057200380
467533A9472B36   NEVA             OLGUIN               CO          90009983094
4675356A791569   ANGELICA         MUNOZ                TX          90010065607
46753689A5597B   SAMMY            CAMACHO              CA          49065386890
4675468A82B87B   GARY             SHAW                 ID          90014696808
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467548A3591394   RENITA      JOHNSON                   KS          90006998035
4675524552B27B   KIMBERLY    HERNANDEZ                 DC          90003372455
4675552213B356   RHONDA      MORGAN                    CO          33010635221
4675565444B259   GWEN        SMITH                     NE          27017836544
4675679A361967   NORMA       GONZALEZ                  CA          90011197903
4675691152B87B   DANIEL      DRIVER                    ID          90013269115
4675797AA77595   STEVEN      CURIEL                    NV          43042689700
4675819A177554   BRIAN       SALOMON                   NV          90006031901
46758A71172B4B   KELLY       THOMAS                    CO          90003550711
4675922657194B   DORA        OVANDO                    CO          38015352265
46759515633B35   BOB         DETWILER                  OH          90014125156
4675955258B165   SERVANDO    LOPEZ BERNAL              UT          90011215525
4675B687391569   MARIA       DE LOURDES                TX          90005486873
4675B73514B271   NOE         ZUNIGA                    NE          27064147351
4675BA26A61925   LUIS        MORALES                   CA          90008530260
4676166A25B58B   KAREN       TERAN                     NM          90015236602
467618A8877595   DAVID       DELGADO                   NV          90002098088
4676195187194B   TRISIA      MURRAY                    CO          90014919518
46762744272B36   BRANDI      TRUJILLO                  CO          90014117442
46762A1635B53B   JULIA       MARQUEZ                   NM          90014730163
46762A59591569   ABIGAIL     LOPEZ                     TX          90013840595
46762A76A7B865   CANDY       BARNER                     IL         20544010760
46763649A5B58B   ARIEL       WHITE                     NM          90014006490
46763AA292B87B   SARAH       BEAR                      ID          90007030029
4676416155B222   JAMISHA     COLLINS                   KY          90005241615
4676436494B271   ANGELA      DUIAND                    NE          27017643649
46764A5258B16B   ERIC        STINE                     UT          90014860525
467651A745B222   MELISSA     MASTERS                   KY          90013431074
46765956172B36   THERESA     AXTELL                    CO          33059999561
46765A59291523   NORMA       CERVANTES                 TX          75056720592
4676676174B271   JEREMY      YETS                      NE          27055397617
467672A4A7194B   CLAUDIA     SAENZ                     CO          90014912040
4676886A491569   JESUS       GAONA                     TX          90014788604
4676B32A65B222   ORAYODA     LLORENTE                  KY          90014553206
4676B375131664   CORLINA     LOERA                     KS          22014793751
4676B412391569   VALERIE     JONES                     TX          75092294123
4676B422972B43   DIEGO       ORDAZ                     CO          90000334229
46771129272B36   ANGEL       MORALES                   CO          33088761292
4677126142B87B   ROXANN      COLEMAN                   ID          41080932614
46771288A33B98   CAMERON     HEWITT                    OH          90010542880
46771499A8B165   G           LOPEZ                     UT          31074244990
4677169A761963   ALBERTO     ACOSTA                    CA          90001986907
46771847272B4B   KYNDRA      CRUZ                      CO          90012368472
4677384675B53B   OLIVERIO    VARELA-NIETO              NM          35056738467
4677624A77194B   CHRISTINA   BIK                       CO          90014912407
46776297372B4B   SONIA       RIGGS                     CO          33064102973
4677636817B431   MATTHEW     HERRICK                   NC          90000793681
467763A8861967   PAUL        GIBBONS                   CA          90010173088
4677772A251334   TRACY       MAHANEY                   OH          90012797202
46778A94261963   CAROLYN     FIELDER                   CA          46054350942
4677952555B53B   ABENI       WALKER                    NM          90014745255
4677B4A792B27B   ANTONIO     RICHBURG                  DC          90007774079
4677B538855939   FELIX       ARENAS                    CA          90013075388
4677B59582B87B   DUSTIN      WILLHITE                  ID          90014785958
4677B982991873   TONIA       OLOGOLO                   OK          21082389829
4678112732B87B   ASHTON      KIELE                     ID          90008351273
4678148915B53B   DARRICK     JOHNSON                   NM          90014744891
4678161292B27B   ASHLEY      MURPHY                    DC          90013256129
4678184595B58B   JESSICA     ANDRADE                   NM          90015518459
46782187A5B58B   AGUSTIN     BALDERRAMA                NM          90010071870
467823A9161963   MAARAI      AGUILERA                  CA          90007623091
4678284AA71999   TALANA      KINAMAN                   CO          38039818400
46783833172B4B   BARBARA     KLINGER                   CO          33059438331
4678396572B87B   MARY        MOLYNEAUX                 ID          90011279657
46783A9167194B   AARON       ARAGON                    CO          90012980916
4678469648B165   CRYTAL      PHILIPS                   UT          90003296964
4678485A177595   JESSICA     COTTLE                    NV          90012178501
46785469472B36   SAMUEL      LOPEZ                     CO          90010844694
46785959A72B4B   ERIK        MONTIEL                   CO          33058939590
46785A5A65B174   JONDA       JOHNSON                   AR          23069290506
4678669648B165   CRYTAL      PHILIPS                   UT          90003296964
46786A14272B43   MEGAN       OSLER                     CO          33050470142
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2098 of 2500


4678789798B165   DAVE            PORTEOUS              UT          31065448979
4678818A82B27B   DENZEL          CALDWELL              DC          90014711808
4678821267B463   BRYANT          ADAMS                 NC          90001392126
467888A585B174   MARY            BRASWELL              AR          90003998058
46788923257B97   LISA            DAVIS                 PA          90012829232
46788A17561967   LAURA           ALIREZ                CA          90012590175
4678923A991523   ERICA MONIQUE   LUEVANO               TX          90006682309
4678982635B53B   PRISCILLA       LOPEZ                 NM          35016448263
46789A4A57B431   CHARITY         THOMPSON              NC          90015440405
4678B38455B58B   CARLOS          GONZALEZ              NM          90004273845
4678B543772B4B   MICHAEL         MAGGARD               CO          33009475437
4679123787B431   ANTHONY         BELL                  NC          90011282378
467916A358B141   IRENE           REINA                 UT          90006276035
46791A48A61963   ROMEO           GELIN                 CA          90013830480
4679237387B431   SAMANTHA        PROFFITT              NC          90011283738
46792A46791569   ERICKA          OLONO                 TX          75036540467
46793564A5B174   REGINA          SCALES                AR          90014375640
46793697A9185B   VIRGILIO        GUERRA                OK          90005726970
46793A2524B271   TIRTHA          GURUNG                NE          90015130252
46793A2A85B222   ADRIANA         RAMIREZ SALAS         KY          90003700208
467955A714B259   AXEL            SARAVIA               NE          27066165071
4679599925B174   CRYSTAL         BELL                  AR          90015019992
4679689A14B259   BLANCA          TELLES                IA          27097738901
4679698635B53B   CTRYSTAL        CHAVEZ                NM          90009119863
46797819672B4B   DEBRA           SNOW                  CO          90006958196
46797AA2272B36   BRIAN           PASSERELLA            CO          33056950022
4679815774B271   LORENA          RIVERA                NE          90009661577
4679884675B53B   OLIVERIO        VARELA-NIETO          NM          35056738467
4679912645B53B   JOHN            GILPIN                NM          90004221264
46799A92272B36   CHRISTOPHER     MARTINEZ              CO          90012530922
4679B44238B16B   ANGELA          MONTOYA               UT          90013944423
4679BA2198B16B   ISIAH           MCARDLE               UT          90015080219
467B161365597B   SARA            TORRES                CA          90013376136
467B2132491523   CARLOS          CORONA                TX          90007431324
467B251287194B   JAMIE           GONZALES              CO          90013815128
467B2879271999   ANDREA          CHAVEZ                CO          38096858792
467B2928272B4B   SARA            BRUSH                 CO          90013609282
467B319828B165   JENNIFER        FOETE                 UT          90004411982
467B351287194B   JAMIE           GONZALES              CO          90013815128
467B4841961963   STACIE          EVANS                 CA          90008348419
467B4A7A85B174   JONITA          GALVEZ                AR          90015250708
467B5239191569   MIRIAM          VASQUEZ               TX          90014612391
467B5471847954   RICHARA         GREEN                 AR          90005974718
467B5726677595   SAMANTHA        CONKLIN               NV          90006437266
467B612693B356   MANUEL          DESANTIGO             CO          90006061269
467B7347772B36   DANYLE          DAVIS                 CO          90010163477
467B837A35B53B   MONICA          BENCOMO               NM          90012563703
467B9471847954   RICHARA         GREEN                 AR          90005974718
467B95AA555939   ROBERT          ARTEAGA               CA          90003195005
467B9666272B88   BENJAMIN        JONELL                CO          90007796662
467B971842B27B   MYRA            CRUZ                  DC          90003967184
467B975655B58B   YARIBETH        CHAVEZ                NM          90010367565
467B9A78A4B259   STACY           THOMAS                NE          90009570780
467BB11978B16B   CAROLINA        ROMAN                 UT          90009641197
467BB13787B463   LUIS            GARCIA                NC          90002931378
467BB2AA251334   AMY             WOLFINBARGER          OH          90001902002
4681114A377595   OMAR            ARRIAGA               NV          90008361403
46811AAA871999   NATASHA         YAZZIE                CO          90014420008
4681211887194B   JESSICA         BROOKS                CO          90014921188
46812266A8B16B   TRICIA          DAY                   UT          31096712660
46812373372B36   MARIA           GARCIA                CO          33023003733
468126A935597B   JESSICA         SANCHEZ               CA          90004066093
4681335984B531   WILLIAM         CALLINS               OK          90012053598
46813A4645B174   VICTORIA        GREENLEE              AR          23008760464
46813A56A91569   MARINIA         GUTIERREZ             TX          90001110560
46814582A71999   BOB             SIEMILLER             CO          38093575820
46814878372B39   BENJAMIN        SCHLIMM               CO          33087368783
46815219A5597B   RUFINO          SANCHEZ               CA          90014452190
4681575462B87B   MARGAUX         BIRDSALL              ID          90010837546
4681617232B87B   KIMBERLY        MCKOON                ID          41018711723
468161A485B174   STACY           CAULDWELL             AR          90013141048
4681656965B58B   MAGGIE          VILLA                 NM          90009815696
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4681664425B53B   PAULA        IBARRA                   NM          90014746442
46816A68671999   STEVEN       PARKER                   CO          38096850686
46816A6AA72B36   NORA         KOLNIAK                  CO          33043590600
46816A98391873   TONY         MITCHELL                 OK          21043770983
46818798472B36   JON          MAEZ                     CO          33040457984
46818A2175597B   TOSHA        MARSH                    CA          90013190217
46819219272B36   HILDA        SANDOVAL                 CO          90009482192
468193A6772B43   ARMANDO      HERNANDES                CO          33081463067
4681961165B58B   ROBERT       HOTCHKISS                NM          90012536116
46819A86A5597B   VICTORIA     ACEVEDO                  CA          90011360860
4681B743391394   SUSAN        BOLIN                    KS          29083877433
4681B8A8A71999   MARCEL       BAILEY                   CO          90013058080
4681BA8537194B   DANIEL       GARCIA                   CO          90014920853
4682136794B271   MICHELE      LINDALL                  NE          27091433679
4682249345B58B   CLARENCE     SANCHEZ                  NM          90014154934
468226A5772473   CASSANDRA    KARSNAK                  PA          90013936057
4682276A455939   JOHN         MARTINEZ                 CA          90008107604
4682293132B87B   ANGALA       MORINE                   ID          41035319313
46823323A72B43   LATISHA      MANZANARES               CO          33013123230
4682359582B87B   DUSTIN       WILLHITE                 ID          90014785958
4682418A972B36   TORREY       BATTS                    CO          33049181809
468254A852B27B   YESICA       EUSTAAQUIOH              DC          90008024085
46825A98571999   SHYLA        JIMENEZ                  CO          90008110985
46826A3935B222   SHAQUEISHA   DAVIS                    KY          90014070393
4682742585B222   JAMES        JOHNSON                  KY          68047854258
46827A3115B58B   JAIME        FRIAS                    NM          90013030311
4682923865B58B   ERLINDA      TORRES                   NM          35030962386
4682982742B87B   KAMELLA      BERRY                    ID          41005728274
46829A2145B174   NATALIE      CRAIG                    AR          90013930214
4682B265572B4B   MIREYA       MALDONADO                CO          90009622655
4682B81A37B347   BRYCE        NEWELL                   VA          90012268103
4682B832877595   OMAR         CHAVEZ                   NV          90005018328
4682B86387B396   MARTA        LAINEZ                   VA          81017448638
4683132847194B   BRIDGET      SOLIS                    CO          38013653284
4683189A95597B   SCOTTINA     JOHNSON                  CA          90014578909
4683261215B174   LEE          JOHNSON                  AR          90015026121
4683279245B58B   CATALINA     CASTILLO                 NM          90013017924
4683289A34B259   ALENA        MITCHELL                 NE          27066178903
4683353A28B16B   CASE         QUINTON                  UT          90001995302
46833A4242B27B   CHARLOTTE    BROCK                    DC          90009870424
468346A314B271   KHEDIR       BUSHARA                  NE          27087676031
4683536A591569   LILLIANA     RANGEL                   TX          90007663605
4683553677194B   MATT         ALVARADO                 CO          90010595367
46835A6A75B174   ANTOINE      HUNTER                   AR          90011250607
468363A767194B   WENDY        STANBRO                  CO          38030323076
4683645532B27B   GOYTOM       GHEBREKIDAN              DC          81014834553
46836692572B36   LUCAS        SCHOLZ                   CO          90015136925
46836844A91523   LARRY        WILLIAMS                 TX          90007458440
46837789772B36   EDGAR        RODRIGUEZ                CO          90012547897
4683848745B174   JAYLA        WASHINGTON               AR          90000524874
468395A4581667   MATTHEW      FEE                      MO          90013875045
4683B74852B87B   CHRIS        DUNLAP                   ID          90012207485
4683B793572B43   PACICIA      MASTINEC                 CO          90009197935
4683B87952B87B   JENNIFER     ESTES                    ID          90014348795
4683B95798B16B   JUAN         HERRERA                  UT          90013259579
4684162238B16B   KRYSTAL      FATAOULI                 UT          90013946223
46842572572B23   DAWN         HEARNE                   CO          90012175725
46842A8937194B   ALENIA       ROMERO                   CO          38036980893
4684322585B53B   BIANCA       HERNANDEZ                NM          35055962258
4684323675B266   STEVE        ESTES                    KY          68028372367
468438A777194B   JENNIFER     OTERO                    CO          38068478077
4684393155B174   MIRIAM       MARQUEZ                  AR          90002679315
4684465AA5B58B   ANTHONY      GARCIA                   NM          90009166500
4684478352B848   LINDSAY      CARLSON                  ID          90005397835
4684498728B16B   FEDERICO     ROMERO                   UT          90009939872
46845487A5597B   RAMON        MURILLO                  CA          90012564870
4684592A72B87B   DEVIN        DENNY                    ID          90010539207
46846674372B43   KAMELA       BROOKS                   CO          33014156743
468466A597194B   RICHIE       FLORES                   CO          90010596059
4684699195B58B   JESUS        PINELA                   NM          90003539919
4684729182B87B   AMBER        CARL                     ID          90011992918
4684784A671999   JOSEPH       MONTES                   CO          38019968406
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4684785633B356   NICOLAS      JAIMEZ                   CO          90006858563
4684932AA81639   CARMEN       WEBER                    MO          29068613200
46849354372B36   KENLYN       NORMAND                  CO          90013003543
4684962458B16B   APRIL        VALENCIANO               UT          90013946245
4684972817194B   LUIS         HERMOSILLO               CO          90014927281
4684B46674B271   VERONICA     FRIEDRICH                NE          90014694667
4684B479881639   CHELSEA      WELLS                    MO          90003074798
4685132AA81639   CARMEN       WEBER                    MO          29068613200
4685163248B16B   HEATHER      BURGER                   UT          90013946324
4685172265B174   MICHEAL      JACKSON                  AR          90013157226
4685216815B174   DEANGELA     ADAMS                    AR          90011251681
4685276895B541   KIRSTI       PEREA                    NM          90002877689
46852AA2172B4B   JOHN         GENOVA                   CO          33036280021
4685346947B431   ANNETTE      ELLIOTT                  NC          90012894694
4685361255597B   ALEX         GUERRA                   CA          90012216125
4685376954B271   TRENESHA     CARTER                   NE          90013767695
4685382835B58B   GRICELDA     ORNELAS                  NM          90014888283
46853994272B36   JOSE         DELGAD0                  CO          33051059942
468543A255B58B   ERIC         MALDONADO                NM          35091823025
46854737A86478   ROBIN        BOYLE                    SC          90014337370
4685515575597B   FRANCISCO    PEREZ                    CA          90008261557
468555AA22B87B   SHAWNA       BLUEMER                  ID          41082135002
4685636755B222   CHARITY      WHITE                    KY          68096263675
4685678965B58B   CONNIE       BARRAZA                  NM          35052657896
4685717185B174   PAYGO        IVR ACTIVATION           AR          90011251718
4685833345B53B   ERIK         ESTRADA                  NM          35074023334
4685877355597B   MAGNOLIA     SANTILLAN                CA          90012617735
4685882A78B165   VIRGINIA     VASQUEZ                  UT          31079318207
46859231172B4B   EMMANUEL     RAMIREZ                  CO          90012232311
4685981515597B   SUSAN        BROWN                    CA          90012918151
4685B478391569   RICARDO      MIRANDA                  TX          75069844783
4685B73377194B   JESSICA      MEYER                    CO          90014927337
4686248867B472   GHILAY       WOLDU                    NC          90001654886
4686372255B222   ANTONIO      MORRIS                   KY          90015087225
4686378912B27B   MELVIN       CAMPOS                   DC          81098667891
46863A2538B165   ANA          GARCIA                   UT          31015910253
46863A6435B53B   L            CHAVEZ                   NM          35087010643
46863A8812B87B   SOCORRO      ASHLOCK                  ID          90010540881
46864A5978B16B   RACHEL       NEILL                    UT          90013540597
4686515166197B   ARACELI      SANCHEZ                  CA          46019651516
4686517238B16B   MAYRA        GAMBOA                   UT          90011521723
468669AAA5B222   PAU          SAANG                    KY          90014569000
4686723645B53B   ROMERO       MICHELLE                 NM          35097582364
4686724418B165   JOSEPH       WALLS                    UT          90010592441
46867829772B4B   QUANEISHA    COLLINS                  CO          33023098297
4686976A35B222   MICHELLE     BOBBITT                  KY          68096267603
4686997678B16B   ARTHUR       VALDEZ                   UT          31012979767
4686B16738433B   NOE          MANZANAREZ               SC          90012671673
4686B787871999   JAMES        TRUJILLO                 CO          38040447878
4686B7A1372B43   SCOTT        GREGORY                  CO          90007487013
4686BA22851334   FRANK        MILLER                   OH          90015330228
46871635A5B53B   LATOYA       PACHECO                  NM          90014746350
4687234342B87B   TRINITY      DUQUETTE-DISMUKE         ID          90012733434
46873356272B4B   SHARON       FARD                     CO          33090793562
4687441247194B   JOLICIA      JIRON                    CO          90000334124
4687529845B555   MARIO        URIBE                    NM          90011652984
4687742365B174   ERIC         JORDAN                   AR          90011254236
4687847618B16B   NATASHA      REEVES                   UT          90013854761
46878A1117194B   ANN          MUNOZ                    CO          90008610111
4687966358B165   FRANK        PARKER                   UT          90014266635
46879926A4B531   KELLY        HENDRICKSON              OK          21516109260
4687996557194B   CESAR        FERNANDEZ                CO          90005319655
4687B422261963   EDWIN        CHILDS                   CA          90011314222
4687B436A5B53B   ERICA        ORTEGA                   NM          35061534360
4687B817771999   JANICE       TRUJILLO                 CO          90013048177
4688114157194B   JEAN         HEFFLER                  CO          90004381415
4688224512B27B   KWAME        WOMACK                   DC          90009682451
46882538A72B4B   BRENT        TAYLOR                   CO          33089415380
4688262A551334   BERNARDINO   GONZALEZ                 OH          66050746205
4688286775B174   MICHAEL      INGALLS                  AR          90014728677
46882A25A33625   GLENDA       SANCHEZ                  NC          90010630250
46884128772B25   DELIA        PEREZ                    CO          90009881287
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46884178372B4B   WILLIAM       WHITFIELD               CO          90002991783
4688485352B27B   MIRKA         SHEPHARD                DC          90013128535
46884A64872B43   MANUEL        MARTHINEZ               CO          33013010648
468854A425B174   LYNETTE       PARAHAM                 AR          90014304042
4688615A57194B   JOHN          KESSLER                 CO          90010671505
4688651112B27B   BERNARD       MUNDAY                  DC          90013085111
46886A8635597B   MARTIN        QUESVA                  CA          49015380863
4688787245597B   GILBERT       QUINTEROS               CA          49062108724
4688882565B222   JEFF          HARDIE                  KY          90009668256
4688B15795B53B   ALVINA        BENALLY                 NM          90008701579
4688B32482B27B   ANGELO        GALLOWAY                DC          90014223248
4688B688771999   LUANNE        ARANDA                  CO          38013986887
4688B98715B53B   PHILLIP       BACA                    NM          35043159871
46892179172B36   JOVITA        BRISENO                 CO          33063441791
4689329343364B   ASHLEY        MCGEE                   NC          90012012934
4689371AA5B222   CLINTON       WRIGHT                  KY          90014597100
46893A4575B53B   ANNIE         PACHECO                 NM          90009560457
46893A5A37194B   JENNIE        REVETERIANO             CO          38089560503
4689442612B275   RONDNEKA      PRESTON                 DC          90005914261
4689459915B222   JASON         CISSELL                 KY          68096275991
4689483228B16B   SAVANNAH      DELGADO                 UT          90010878322
46894A1A54B271   MARIA         MARTINEZ                NE          27075430105
468954A932B27B   BIRUH         TESFAYE                 DC          81021544093
4689641295B222   CHRISTOPHER   BROWN                   KY          90005564129
46896A17272B36   MIGUEL        VASQUEZ                 CO          90003300172
4689716865B222   BRITTANY      CAHILL                  KY          90000501686
468971A2572B36   ASHELY        CHASE                   CO          33014501025
4689724987B472   HELENA        CUMMINGS                NC          90010912498
4689765315B58B   MICHAEL       LOVE                    NM          90013086531
4689773AA4B271   CAROL         OLIVER                  NE          90010147300
4689823A98B351   LEDARIUS      BOSTICK                 SC          90014652309
46898261A91569   LETICIA       NAPOLES                 TX          90014212610
468983A995B58B   MARIA         VAZQUEZ                 NM          90002963099
46899849672B4B   ROBERT        EDWARD                  CO          90012688496
468999A125B53B   ROBERTO       TREVIZO                 NM          35057199012
46899AA6A4B271   BEN           AYALA                   NE          27056640060
4689B158677595   DARREN        ROBINSON                NV          90007251586
4689B34A94B259   JEANNIE       INMAN                   NE          90012473409
4689B849985B45   SHAWN         WATKINS                 FL          90015368499
468B1184472B36   JOSH          SMALLWOOD               CO          90012201844
468B11A8472B43   CATHERINE     RIVAS                   CO          90001401084
468B161792B87B   SAMANTHA      ROOP                    ID          41086376179
468B176585597B   JALINA        GALLARDO                CA          49008267658
468B1A3285B53B   NOELIA        LOPEZ                   NM          90011310328
468B2276851334   DOROTHY       DUPEE                   OH          90014632768
468B2788661963   EVELYN        BLACK                   CA          46013757886
468B2A3285B53B   NOELIA        LOPEZ                   NM          90011310328
468B327A68B16B   LINNAEA       MENDOZA                 UT          90008622706
468B3662972B43   SHELSEA       WATT                    CO          90003086629
468B391857B472   WEDEY         DAVIS                   NC          11014499185
468B4152991569   RICHARD       PEREA                   TX          75030821529
468B4445677554   LORA          MCCARTY                 NV          90009554456
468B466772B87B   JESSICA       GUENTHER                ID          90012206677
468B4784A2B87B   SHERRY        YOW                     ID          90014747840
468B4A5985597B   CATALINA      ROGRIGUEZ               CA          90010230598
468B51A6971999   TREVOR        MILLER                  CO          38098391069
468B5652A91926   SHAWNA        WING                    NC          90001716520
468B672AA4B583   JOHN          JONES                   OK          90007377200
468B6952161924   RAYO          REYES                   CA          90003029521
468B813915B352   STEVEN        VANOURNEY               OR          44549191391
468B8217A71999   CHRIS         BOETTLER                CO          38076212170
468B841294B271   JUAN          VALENZUELA              NE          27085634129
468B8413161963   YENITZETH     HARO                    CA          90012854131
468B884742B87B   ALICIA        CONKLIN                 ID          90014748474
468B8871A5B222   DAVID         SNODGRASS               KY          90000698710
468B891695B254   TIFFANIE      BUCHANAN                KY          90011059169
468B8A8427194B   ANTOINETTE    SISNEROS                CO          90014920842
468B934732B851   SUZANNE       BREMER                  ID          90008723473
468B9873771999   DAISY         RUIZ                    CO          38015728737
468B9889191569   L             GUILLEN                 TX          75097548891
468BB396391B55   CHRISTA       WARD                    NC          90012313963
468BB849391569   LORENA        AGUIRRE                 TX          75038298493
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4691177235B174   TAMEKIA     MOLDEN                    AR          90015037723
4691179685B594   SUSAN       GRAVES                    NM          35007537968
469119A6A5B174   TAMEKIA     MOLDEN                    AR          90013419060
46912971A2B27B   STEVE       ROBINSON                  DC          90015209710
469132A827194B   ARLENE      ARD                       CO          38020922082
469133A134B547   KEVIN       CRUSE                     OK          90012653013
46913834A5B58B   KATHLEEN    BARTLING                  NM          35092408340
4691483586195B   WALTER      GOMEZ                     CA          90008408358
4691523335B264   KYMBERLY    JOHNSON                   KY          90001662333
469153A558B16B   DERRICK     MILBURN                   UT          90009953055
4691567725B174   REDONDA     UTSEY                     AR          90014176772
4691572695B174   YOLANDA     BUNCHE                    AR          90015047269
4691663AA61967   ROBERTO     CURIEL                    CA          46074136300
4691843578B16B   JOSHUA      KNUDSEN                   UT          31066444357
4691984894B271   GARY        WOODS                     NE          90010268489
4691B12962B27B   MILEKIA     GREEN                     DC          90014171296
4691B167A91394   PAULINA     MUTAVA                    KS          90008571670
4691B777172B43   EVARISTO    RIVERA                    CO          90009197771
4692116278B165   MARCEY      HARDING                   UT          31026501627
4692168965B53B   ERIC        URTIAGA                   NM          90014746896
46921733A2B27B   KEITH       SYLVESTER                 DC          90015227330
46921A5554B271   STACEY      TOY                       NE          27060010555
4692266735B555   JOANNA      GARCIA                    NM          90010666673
4692269515B58B   ELIJAH      CHAVEZ                    NM          90014076951
469226A4972B43   MARIA       LOPEZ                     CO          90013786049
4692368695B174   KATIE       STOUT                     AR          90011256869
4692382644B271   DWAINE      GOINGS                    NE          90009438264
4692475A87194B   CHARMAIN    LERMA                     CO          38091707508
4692498725B53B   CLAUDIA     SALAZAR                   NM          35095069872
46925321A4B259   SARAH       FOX                       NE          27096673210
46925537672B36   ROBERT      BRENNENSTUHL              CO          33001315376
469267A5291569   MARIA       CALANCHE                  TX          90012737052
4692763865B222   JENNIFER    SMITH                     KY          68034136386
4692766518B16B   ALFREDO     GARCIA                    UT          90013946651
4692844A67B431   DORVAIL     CUE                       NC          90014594406
4692874225B174   GLORIA      PAREDES                   AR          90011257422
4692974695B174   RENEE       LASKER                    AR          90011257469
4692B372941289   GAYLORD     WILLIAMS                  PA          90011293729
4692B743A91523   ASTRID      DELUNA                    TX          90003517430
4692B776A61963   AFRICA      PEREZ                     CA          90012047760
4692B855272B43   MUELLER     DAVID                     CO          33095648552
4693176895B174   MIRIAM      WINDER                    AR          90011257689
46931A9A461967   GRACIELA    ESCOBAR                   CA          90012930904
4693252215597B   RAUL        DIAZ                      CA          90012405221
469327A5871999   BRENDA      DURAN                     CO          90000737058
46932A9535B58B   MARIO       FERNANDEZ                 NM          90013440953
4693318169185B   ISARA       NOMSIRI                   OK          90011551816
4693369477194B   MONICA      MARTINEZ                  CO          90008966947
46934458A4B271   MICHELLE    KUHN                      IA          90010624580
46935433372B36   HENRY       POSADA                    CO          90009894333
469357A9891569   JONATHON    VILLASENOR                TX          90012977098
4693623AA55939   YESENIA     BETANCOURT                CA          49076582300
46936875472B93   ANDRE       BLACK                     CO          90010378754
4693846995597B   JEANETTE    HOEGH                     CA          90014004699
469384AA972B36   ORLANDO     PALME                     CO          90012214009
46938A4575B53B   ANNIE       PACHECO                   NM          90009560457
4693951A85B551   JANISE      SALAZAR                   NM          90013405108
4693B287472B43   ALFREDO     RAMIREZ-GUTIERREZ         CO          33011052874
4693B2A6251334   KELLI       THOMAS                    OH          66076652062
4693B61395B53B   ANTONIO     SOLIS                     NM          90014616139
4693B773272B36   JOHN        BENGTSON                  CO          33053787732
4693B84989188B   MELISSA     LOVE                      OK          90008898498
4693B861131448   HORACE      WATSON                    MO          90006818611
4694124373B356   YENI        GUEVARA                   CO          90005742437
4694125623B356   YENI        GUEVARA                   CO          90005742562
4694156157194B   GENO        STRICKLETT                CO          90013195615
46942648A5B58B   ALMA        GOMEZ-CHAVARRIA           NM          90013206480
4694269514B259   AMBAR       RANGEL                    NE          27017046951
46942A8388B165   JEFF        SCHMIDT                   UT          90003300838
46945172172B43   MONICA      CASTILLO                  CO          90012111721
4694518257B48B   MANUEL      BAUTISTA                  NC          11072271825
4694568395B222   CELIA       FORD                      KY          68083406839
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4694569468B16B   BARBARA      MARTINEZ                 UT          90013946946
46945697372B4B   OLIVIA       PROCTOR                  CO          90014126973
46945768A71999   BRADLEY      DAWFON                   CO          90014677680
469462A964B271   VELLITA      BROWN                    NE          27091232096
4694667A75597B   VICTOR       BONILLA                  CA          90005756707
46946713A5B53B   BRADEN       GAULT                    NM          90014747130
4694679738B165   CHRISTINE    DOMINGE                  UT          31089687973
46946812A7194B   BRENDA       BACA                     CO          90008628120
46947258172B4B   GREGORIA     AGUILAR                  CO          33081092581
46947A2515B174   KRISTINA     DYER                     AR          23008300251
46947A9144B546   MANDY        MILLER                   OK          90010500914
46947AA5A55939   VICTORIA     MAUREEN                  CA          90007810050
469489A4272B36   JESSICA      LOPEZ                    CO          90013909042
46949532A7193B   RORY         BEST                     CO          32017775320
4694B572A61967   JULIA        SANCHEZ                  CA          90015115720
4694B5A675B53B   GARY         SALAS                    NM          35083755067
4694B5AAA5597B   CHRISTIN     SEVILLA                  CA          49037035000
4694B79165B58B   VANESSA      HERRIS                   NM          90011957916
4695145834B271   ALICE        BRINGE                   NE          90014764583
4695243278B16B   TANYA        YARRINGTON               UT          90000424327
4695267615B222   MICHAEL      DUNN                     KY          90012096761
4695338638B165   JESSICA      SOTO                     UT          31022633863
4695344145B58B   TERESA       ALVAREZ                  NM          35031014414
46955238472B43   SHEILA       DURAN                    CO          90013312384
469553A3661967   KELLIE       REECE                    CA          90008263036
46955A8625B58B   OLGA Y       GALVAN                   NM          35016580862
4695846385B53B   JEFFREY      CARTER JR                NM          35090014638
469591A3971999   CHRISTINA    ARMENTA                  CO          90013901039
4695939392B872   EMERALD      QUARNBERG                ID          90008583939
4695943488B16B   CHERRISH     SIMPSON                  UT          90009224348
469597A232B229   ROBERT       CORBITT                  DC          90010507023
46959892A5B53B   YILENS       CAMEJO-LOPEZ             NM          90003188920
4695B82272B27B   KENYA        CUTHBERTSON              DC          90012818227
4696238433B332   DHEMAN       ABDI                     CO          90013143843
4696297344B271   JAMES        SHEA                     NE          90013609734
4696322375B53B   GINGER       PENNELL                  NM          90009442237
4696352A451334   LARRY        SANDLIN                  OH          90015365204
4696436635597B   MICHAEL      PAINE                    CA          49090423663
4696624746B953   DIEGO        MORFIN                   NJ          90015222474
46966A48491547   JESSICA      CARLOS                   TX          75032220484
4696778547194B   PAMELA       SOTO                     CO          38081627854
4696791A15B58B   PATRICIA     KIBI                     NM          90011919101
4696823547B497   KARLA        VANEGAS                  NC          90002262354
4696842365B222   IRMA         ALVAREZ                  KY          90009054236
46968A6695B53B   JOSIE        MARTINEZ                 NM          90011090669
4696965147194B   GABE         GALLEGOS                 CO          90003176514
4696966826195B   MICHELE      RICHARDSON               CA          90004736682
46969A8A491569   MOLLY        OROZCO                   TX          90000220804
4696B13232B828   TAMERA       TAWNEY                   ID          90002961323
4696B331491523   MIRIAM       OLIVARES                 TX          90006393314
4696B363861963   MARIO        CRUZ                     CA          90012293638
4697138585B58B   MIGUEL       ESCOBAR                  NM          35020113858
4697139795B174   JARVIS       DANIELS                  AR          90003433979
469715A1661967   NATASHA      WALLACE                  CA          46083185016
4697186997B431   KYLE         BOYD                     NC          90007088699
4697189637194B   RANDY        STURTEVANT               CO          90011838963
4697195575B174   FERMAN       ARMSTRONG                AR          90005379557
469726AA291834   KIM          SUMMERS                  OK          21069216002
4697333557194B   TIMOTHY      ACOSTA                   CO          38006213355
4697372528B16B   MARY         LAWS                     UT          90010637252
4697377995B174   GUADALUPE    MENDENEZ                 AR          23061607799
4697399187B431   BENNIE       BOGER                    NC          90012409918
46973A3628B16B   MARY         LAWS                     UT          90012650362
469754A5691873   RONNIE       INKS                     OK          21004654056
4697815635B58B   PORRINE      BACA                     NM          90015601563
4697894625597B   FRAUNCELIA   HERNANDEZ                CA          49081199462
46978A37372B4B   AMBER        TREMBATH                 CO          90011030373
4697B1A484B271   CHRISTINA    DAVENPORT                NE          90005421048
4697B3A617194B   RANDY        CHASE                    CO          90011403061
4697B67725B174   REDONDA      UTSEY                    AR          90014176772
4697B9A9651334   OLETHA       CRIHFIELD                OH          90005189096
4698189417194B   IAN          NDOLO                    CO          90014948941
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46982635572B4B   LAURA         GARCIA                  CO          90010046355
4698287545B18B   ERIC          OLDEN                   AR          90014458754
4698335855B255   ROBIN         DEZARN                  KY          90001323585
46983A2264B271   JANICE        GALVAN                  NE          27041430226
46983A28172B36   HEI GAY       PAW                     CO          90010900281
46983A6628B16B   ALEXANDRA     GODINEZ                 UT          90004080662
46984162172B4B   SHAMAILE      BRAME                   CO          33006571621
46984395172B36   PARDIP        KAUR                    CO          90006613951
46984865372B43   VIRGINIA      HERSON                  CO          90012678653
46984A6462B27B   GABRIEL       ALFARO                  DC          90011370646
46985599A51361   DEATRA        TURNER                  OH          66052505990
4698828A672B43   MARIBEL       HERNANDEZ               CO          90009532806
46988573272B36   JENNY         LYNGSTAD                CO          90012845732
46988A5122B87B   CRYSTAL       TRUNDY                  ID          90014230512
4698974187194B   LAURA         SALAZAR                 CO          38022477418
4698B23884B271   DEANDREIA     BOGGESS                 NE          90011472388
4698B292391873   PAULINE       TSOSIE                  OK          90000962923
4698B512861963   TAMEKA        BRAYALL                 CA          90007715128
4698B582772B36   BRYAN         PEACOCK                 CO          90003405827
4699291583619B   VERONICA      TREJO                   TX          90005649158
4699443725B53B   ROSALINDA     CABALLERO               NM          90003834372
4699497545B58B   GUILIO        MANCINI                 NM          90012559754
4699555244B271   ROBERT        WEIKLE                  NE          90014875524
4699577588B16B   TANGIKINA     KATOA                   UT          90010637758
46996825372B4B   LEE           HORTON                  CO          90012778253
46996A8635B531   VIVIAN        SENA                    NM          35092000863
4699758487B431   ANTONIO       GABRIEL                 NC          11000765848
46998367A5B53B   LYNETTE       MARTINEZ                NM          35013593670
4699859A25597B   LETICIA       MARTINEZ                CA          90013205902
4699996567194B   AMBER         SUCKEY                  CO          38008519656
4699B49A191569   SERGIO        ESCAMILLA               TX          90012934901
4699B551851334   FALOU         DIAKHOUMPA              OH          90008545518
4699B5A867B431   AMY           PREZ                    NC          90013435086
469B153787194B   CHRISTOPHER   MICHAEL                 CO          90014935378
469B1682861967   VEGA          YOLANDA                 CA          46049036828
469B211A491569   CHRISTOPHER   HENDRICH                TX          90011311104
469B2655A61963   KRISTA        SABIN                   CA          46087816550
469B2A45861967   PATRINA       JOHNSON                 CA          90012890458
469B4554861967   NATALIE       GUARDADO                CA          46065385548
469B479969714B   IONELA        BENTEA                  OR          90014807996
469B558978B16B   DANIEL        SIMON                   UT          90005765897
469B588A65B58B   NICOLAS       CONTERAS                NM          90009938806
469B685535B58B   ASHLEY        MCELROY                 NM          90014848553
469B6889391569   JESUS         CRUZ                    TX          75067658893
469B76A858B16B   JOEL          GRYGLA                  UT          90001726085
469B78AA55597B   BRIGETT       RODRIGUEZ               CA          49086068005
469B816765B222   DANNY         DILLANDER               KY          90003211676
469B846895B53B   ELIPIO        CORTES                  NM          90011354689
469B85A1461963   TARA          GALVAN                  CA          46062125014
469B867214B271   MICHAEL       DUNLOP                  NE          27001366721
469B923272B27B   JERRELL       DAVIS                   DC          90012462327
469B9313572B4B   EVAN          DRAKE                   CO          90013583135
469B9656955982   KEVIN         PEARSON                 CA          49067236569
469BB45697B488   BRANDON       FISHER                  NC          90010654569
46B1123A191523   MARTIN        MINGURA                 TX          75056162301
46B1127535B174   NATASHA       MIXON                   AR          23049722753
46B1128424B259   CONNIE        BUCK                    IA          27097392842
46B116AA771999   ANGELYN       DANIELS                 CO          90013896007
46B12764981669   ANTHONY       OLAH                    MO          90012187649
46B12878672B4B   HELENA        DEHERRERA               CO          90011378786
46B12A2737B431   SAMUEL        DIAZ JIMENEZ            NC          11012790273
46B13345291569   MATHEW        FLORES                  TX          75087263452
46B1383A68B16B   QUINTIN       SEVERNAK                UT          90013238306
46B1393765B53B   ALMIDA        MARTINEZ                NM          90014709376
46B14116161967   ALEJANDRO     GARCIA                  CA          90001421161
46B14578391569   STEPHANIE     RODRIGUEZ               TX          90012115783
46B1558844B526   LATORYA       CASTILE                 OK          90010715884
46B15679751334   NATASHA       FRAZIER                 OH          90013236797
46B162A5161967   ISABEL        JIMENEZ                 CA          46043462051
46B165A6A5B53B   KENNETH       MUNOZ                   NM          90003685060
46B16642791569   CYNTHIA       SZEWC                   TX          90001606427
46B16A28851334   WILLIAM       WALLACE                 OH          90015130288
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46B16A76572B4B   PAULETTE    BRUTON                    CO          33063670765
46B17394791569   APRIL       MORENO                    TX          90011103947
46B1797665B53B   JOSE        RAMIREZ                   NM          90014709766
46B18174891569   MICHELLE    CHAVEZ                    TX          90012301748
46B18386872B4B   JUNAE       BROWN                     CO          90007853868
46B1869465B174   KENEISHIA   JEFFERSON                 AR          90014696946
46B1974265B222   TARA        GEARY                     KY          90009147426
46B19945872B4B   FELECIA     STUGILL                   CO          90005579458
46B19A55672B43   JESSICA     SUTHERLAND                CO          90008620556
46B1B24574B546   BUDDIE      BURK                      OK          90008842457
46B1B93745B53B   APRIL       HAVEZ                     NM          90014709374
46B21334A2B87B   PAMELA      MILKS                     ID          90012773340
46B2137345B58B   RONALD      HYATT                     NM          90005923734
46B2186475597B   JUAN        LOPEZ                     CA          90014378647
46B232A6281639   SOU         LEMATUA                   MO          29034332062
46B23856472B43   PATRICIA    WILSON                    CO          90014078564
46B2422645B53B   RHIANNON    JOJOLA                    NM          90012462264
46B2425138B16B   DENNIS      TAMAYO                    UT          90015382513
46B2458455B174   FLOYD       MOSS                      AR          90015115845
46B2513A55B174   KIMBERLY    VASQUEZ                   AR          90011191305
46B2528A15597B   FRANCINE    GUERRERA                  CA          90014772801
46B26195A77595   SANDRA      REALES                    NV          90011271950
46B26645671999   ISAIAH      ALIRE                     CO          90013306456
46B26827491569   JUAN        VEYNA                     TX          90013668274
46B2687134B271   ANTHONY     SALZMAN                   NE          27071658713
46B27547451334   IMOGENE     PEACE                     OH          66057925474
46B27855771999   AIOTEST1    DONOTTOUCH                CO          90015128557
46B27A4595B222   AUTUMN      CHILDRESS                 KY          90011040459
46B27A68991569   LIZ         RODRIGUEZ                 TX          75031630689
46B28949372B43   DRAMANE     KONE                      CO          90009799493
46B2898714B271   JOHN        CAIN                      NE          90015129871
46B2916225597B   THAO PAO    LEE                       CA          90001591622
46B296AA17193B   LETICIA     WEBB                      CO          90013716001
46B29896472B4B   JOSHUA      RICHARDS                  CO          90006898964
46B2B244651334   WALTER      KRIMMER                   OH          90014472446
46B2B274172B4B   ANTONETTE   EVANGELISTA               CO          90005032741
46B2B275791523   JOSH        ESPINOZA                  TX          90012072757
46B2B358A7194B   LETICIA     ORTEGA                    CO          38026213580
46B2B39544B271   JOHN        KELLEY                    NE          90014273954
46B2B411472B4B   ALFONSO     NAVA                      CO          33049384114
46B2B435A5B155   ROSA        SERVANTES                 AR          90001404350
46B2B85298B16B   CHAD        CROWELL                   UT          90012058529
46B2BA1352B87B   ROBERT      HAVEMAN                   ID          41025530135
46B3167145597B   GUTIERREZ   ANGELINA JUANITA          CA          49083696714
46B3185A28B165   EDUARDO     RODRIGUEZ                 UT          90008108502
46B32671572B4B   BRENDA      MEDINA-ROGEL              CO          33014406715
46B32A7654B271   PESHAWN     PETTIS                    NE          27036750765
46B33142A9152B   ERIC        RAMIREZ                   TX          90003071420
46B33177577595   JILLIAN     MORRIS                    NV          90000401775
46B3381154B271   ADRIANA     HERNANDEZ                 NE          90010268115
46B34114A2B27B   DARRYL      JOHNSON                   DC          90012651140
46B34585991873   MELISSA     NEAL                      OK          21023575859
46B3475168B16B   LEONARDA    SOMEZ                     UT          90000657516
46B34856961963   MIGUEL      BAUTISTA                  CA          90010778569
46B3489612B87B   ROBERT      ROBITAILLE                ID          41017608961
46B34962A5B53B   JAQUELINE   MANJARREZ                 NM          90014709620
46B3555815B58B   ANJELICA    PEREZ                     NM          35036415581
46B35657A72B39   KIMBERLY    BAILEY                    CO          90009246570
46B3623617194B   ANTHONY     MUNIZ                     CO          90006512361
46B36282172B4B   ANDRES      GALAN                     CO          90009562821
46B3695562B283   DJ          MELLO-T                   DC          81003999556
46B369A7A91569   DAVID       DIAZ                      TX          90001499070
46B3762A22B264   TIARA       HUNTER                    DC          90009326202
46B37757272B4B   CHRISTIAN   ZAZUETA                   CO          90014337572
46B37A92A4B259   CORINA      CALLOWAY                  NE          90005910920
46B397A795597B   JAIME       HERRERA                   CA          90013847079
46B3993425B53B   LAWANNA     GREATHOUSE                NM          90014719342
46B3B36A892B26   PSALM       BURGER                    WI          90015413608
46B3B39295597B   MELISSA     FULTON                    CA          90001143929
46B41626A5B555   SUSET       WALKER                    NM          90006116260
46B4236845B58B   ALEX        PEREA                     NM          35052683684
46B4316335B222   NANCY       MORRISON                  KY          90012671633
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46B43793991569   SANDRA        GURROLA                 TX          90009477939
46B43A55477595   BERANDA       PALACIOS                NV          90007590554
46B444A245B53B   MARICELA      VAZQUEZ                 NM          35086874024
46B4548732B87B   BRANDON       ATHA                    ID          90014744873
46B45585851334   SANDRA        PRITCHETT               OH          90015325858
46B4711454B271   KRISSY        THORNBURG               NE          27047911145
46B4746158B16B   CHRISTINA     BROWN                   UT          90010274615
46B47844272B43   KIMBERLY      DANILES                 CO          90012578442
46B4796875B53B   MISTY         KOBERNA                 NM          90014709687
46B4799915B174   JENN          JOHNSON                 AR          23068919991
46B47A53961941   MARCOS        TURRUBIARTES            CA          46003590539
46B48163A72B43   ANASTASIA     SANCHEZ                 CO          90006921630
46B483AA44B259   ABRAHAM       MILLER                  NE          90003373004
46B4849725B222   REBECCA       HURST                   KY          90014844972
46B4959818B16B   ISSAG         MOHAMED                 UT          90014215981
46B4988A42566B   JACKIE        HAYGOOD                 AL          90011058804
46B4BAA684B271   LINDA         ORTIZ                   NE          90007520068
46B5121138B16B   TIMOTHY       HARDCASTLE              UT          90013532113
46B51A52871999   AMY           ROMERO                  CO          90003020528
46B51A97161963   CHRISTIAN     ESPARZA                 CA          90012890971
46B5235257B431   ERIN          HINSON                  NC          90005913525
46B5264725B53B   MARIA         GARCIA                  NM          35078896472
46B5377315B222   CHRISTOPHER   LEWIS                   KY          90013617731
46B5451535B58B   MARIA         PALMA QUEZADA           NM          90008125153
46B55642191394   GLEN          TRAYNOR                 KS          29053436421
46B55928993767   FLECHER       GEE                     OH          64508669289
46B5595627194B   PATRICK       SAIZ                    CO          90014709562
46B5596565B53B   MARIA         BARAJAS                 NM          90014719656
46B5638185B222   ANTOINETTE    HUDSON                  KY          90001763818
46B5654775B53B   JORGE         CUEVAS-RIOS             NM          35058815477
46B56562172B43   TEK           DHUNGEL                 CO          90013275621
46B568A397193B   DESTINY       WINGERT                 CO          90010048039
46B568A5286476   ERIC          SORIANO                 SC          90011118052
46B5698814B271   KOKOU         KANLEY                  NE          27008789881
46B56A25A5B174   LINDA         MCBRIDE                 AR          90012940250
46B5768447194B   PHILINA       PALOMAREZ               CO          38074546844
46B57945561963   TERESA        AGUIRRE                 CA          90006669455
46B58245447954   SAMUEL        FRANKLIN JR             AR          25054202454
46B5826825B174   CHAQUITA      HYMES                   AR          90014562682
46B58585972B4B   DEXTER        JACKSON                 CO          33015325859
46B5868A293769   TAYLOR        EARLEY                  OH          90014816802
46B58814961963   CRISTINA      VERGARA                 CA          90013758149
46B5959562B27B   ANGELA        KING                    DC          90007325956
46B59A15961963   PETRA         BAENA                   CA          90007820159
46B5B33345B58B   ERIK          ESTRADA                 NM          35074023334
46B5B615A72B43   GEORGE        HOOVER                  CO          90014916150
46B5B668791569   YVONNE        ARROGO                  TX          90013716687
46B5B686191873   GLADIS        GARCIA                  OK          21065556861
46B5BA2628B16B   BRADY         SEARLE                  UT          31051240262
46B615A5951334   MRS DORTHY    COLLIERR                OH          90004225059
46B61863471644   SHAWNELL      TILLERY                 NY          90009228634
46B62115551354   NATHAN        MENDEZ                  OH          90008651155
46B6226255593B   BALTIMORE     GONZALEZ                CA          90013152625
46B6229397B431   MARGARET      PAYTON                  NC          90010142939
46B6264294B271   THERESA       MANGIAMELI              NE          90007836429
46B62819572B36   BRIAN         CLARK                   CO          33028588195
46B6347145B53B   MODESTA       RAMOS GALLEGOS          NM          90011754714
46B63747455939   RICK          BRASE                   CA          49093337474
46B63857A7194B   TANYA         MATNEY                  CO          90014718570
46B63A11151334   MIQUEL        ROBLERO                 OH          90013670111
46B64139271999   REBECA        BANUELOS                CO          38066341392
46B64144361963   RAMIRO        ESPINOZA                CA          46015971443
46B6449872B238   WYNTER        JONES                   DC          81026064987
46B64626577595   CRHISTINA     SILVIA                  NV          90005446265
46B6462A94B541   KEANDRA       BRYANT                  OK          90014076209
46B646A7A4B271   CONNI         BURESH                  NE          90013496070
46B651A197194B   JESSICA       MARTINEZ                CO          90001461019
46B65878393747   ALLEN         RICHARD                 OH          90012308783
46B66983741B62   YVONNE        DAVIS                   MD          90000219837
46B66A97691569   JUAN          RIOSMORENO              TX          75037010976
46B67112671999   DOUGLAS       VIGIL                   CO          38050891126
46B67583251326   NANCY         RODRIGUEZ               OH          66051895832
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46B67A53751334   RANDY          SCHEINER               OH          90015130537
46B68659961955   VICENTE        MARROQUIN              CA          90012026599
46B6938185B222   CHRIS          PPOOL                  KY          90007173818
46B69464271999   DAVID          BRISCOE                CO          90008404642
46B6961257194B   JENNIFER       CORDOVA                CO          90011926125
46B69897557159   JUAN           FLORES                 VA          81064888975
46B6B18967194B   IRIS           GALLEGOS               CO          90011871896
46B6B36425B58B   NICHOLAS       DIEM                   NM          90007273642
46B6B874461967   ANDRAE         NAVRRE                 CA          46097328744
46B7164AA7194B   ESPERANZA      GUTIERREZ              CO          38076986400
46B7197A372B43   DARLENE        DOLAN                  CO          33034009703
46B72417731497   JANIS          SCHAEFER               MO          90003884177
46B7249725B222   REBECCA        HURST                  KY          90014844972
46B72621261963   CARCIA         CLARKE- MAEVA          CA          90014556212
46B7289458B16B   SCOTT          PRICHARD               UT          90014278945
46B7356622B27B   NIKKIA         DYCHELL                DC          90014975662
46B7369834B271   RON            TUF                    NE          90004886983
46B74329161963   RACHEAL        MONARREZ               CA          90006993291
46B74441772B4B   LETICIA        SORIANO                CO          90014364417
46B74592481639   KELLI          STOCKTON               MO          29045085924
46B74AA155B53B   STEPHEN        PADILLA                NM          90014710015
46B75879791394   WADIE          KHATCHADOURIAN         KS          29019738797
46B76A1145B174   SEDRICK        AUSTIN                 AR          90013290114
46B7739245B58B   ARNULFO        ALVARADO               NM          35021003924
46B78216A4B271   MARTIN         ARENIVAS               NE          90014972160
46B7846825597B   KARLA          DIAZ                   CA          90008394682
46B7863295B53B   JOHNATAN       ARREDONDO              NM          90014496329
46B791A528B16B   TALISHIA       WILLIAMS               UT          90011471052
46B7936665138B   KELLY          KING                   OH          90010973666
46B79A8255B53B   MARIA          TRUJILLO               NM          35074940825
46B7B139671999   TANYA          MD                     CO          90011281396
46B7B87615B174   DIETRICH       MCCASTER               AR          23005428761
46B812A135B174   MIKALA         AMMONS                 AR          90012612013
46B81414951334   JOHN           HILLARD                OH          66021754149
46B8153252B87B   KASARAH        SMITH                  ID          90001205325
46B81564591523   FAITH          ADAMS                  TX          90002445645
46B81655561963   MYRA KARINA    REYES                  CA          90014516555
46B8188797B431   CRAIG          JOHNSON                NC          90012968879
46B82254A91569   MICHAEL        BANKS                  TX          90014442540
46B82634A72B36   MARK           ADAMS                  CO          33053666340
46B8353935B174   MELINDA        JACKSON                AR          90011195393
46B8427224B259   OLUSEGUN       AWONUSI                NE          90006622722
46B8481A52B27B   VALINDA        VENABLE                DC          90014018105
46B84862161963   GINA           FUGATE                 CA          46017718621
46B85768772B36   RACHELLE       HUNTLEY                CO          90015277687
46B85AA7651334   KATHLEEN       WEISE                  OH          90005540076
46B8691A461967   GABRIEL        NUNO                   CA          90012639104
46B87229891569   NUNEZ VALDEZ   ERIKA JUDITH           TX          90004922298
46B87234233B3B   CHRISTOPHER    NEWKIRK                OH          90014162342
46B87A5224B259   CHRISTINE      AUGUSTINE              IA          27016860522
46B88122161963   FINIS          POLLOCK                CA          90014181221
46B88548A8B16B   TEVIN          CHAMBERS               UT          90009215480
46B8862A555936   MYRA           DELATOBA               CA          90014146205
46B89893472B43   GRACE          FACILITY MAINTENANCE   CO          33064338934
46B8B345255939   RONNIE         URAN                   CA          49070253452
46B8B34A761963   ANGELINA       TELLO FLORES           CA          46067703407
46B8B43973B356   SAM            LARATTA                CO          33047714397
46B9114A284386   MARIO          VILLALOBOS             SC          90013651402
46B91178391569   CESAR          GALLEGOS               TX          90008021783
46B92413751334   KIM            HENSLEY                OH          90010974137
46B92895161965   ERVIN          POWELL                 CA          90002518951
46B93527351334   WILLIE         BATSON                 OH          66006945273
46B93743872B36   LINDA          COOK                   CO          33042207438
46B9389515B222   THOMAS &       JAIME WILKERSON        KY          68090598951
46B93931551336   SPENCER        WILLINGHAM             OH          90008859315
46B9452585B222   TAMMIE         ORTIZ                  KY          90013265258
46B94617961967   VICTORIA       LLAMAS                 CA          90010786179
46B94649A91569   ELVIRA         DE LA ROSA HERNANDEZ   TX          90013166490
46B9517165B174   ANTONIO        RODRIGUEZ              AR          90006401716
46B95A75761963   LETHA          R SMITH                CA          90005910757
46B96185155982   JOSE           FERNANDEZ-MALDONADO    CA          90000651851
46B9643727B431   TIFFANY        SIMPSON                NC          90010034372
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46B9658472B87B   BRITTANY      TEUPEL                  ID          90014185847
46B96A32361963   TOMAS         TOMAS                   CA          46028670323
46B9742547B431   JACKQUELINE   HOWARD                  NC          90013724254
46B9793785B58B   LORI          CDEBACA                 NM          35068049378
46B9927275B174   LANETTIA      GILOIAM                 AR          90014232727
46B99651A72B23   CHRIS         GARNER                  CO          90011196510
46B9973A37194B   GEORGE        COZZETTO                CO          90010707303
46B99A6772B87B   TIM           PARKS                   ID          41067960677
46B9B325591569   ADAN          VENZOR                  TX          90013193255
46B9B41A351334   MICHELLE      LOCKABY                 OH          66010614103
46B9B443147954   ADRIANA       JIMENEZ                 AR          25017004431
46BB124A97B431   PAYGO         IVR ACTIVATION          NC          90008552409
46BB14A8991922   VICKIE LYNN   CROMARTIE               NC          90004344089
46BB1612891828   KARYN         DARAIS                  OK          90007706128
46BB169614B271   BREANNA       SHANTE                  NE          90010776961
46BB192935B53B   MELANIE       DEAN                    NM          90014709293
46BB227667B457   TAMEEKA       MCCREE                  NC          90015022766
46BB2686A72B4B   SAMSON        CANTU                   CO          90012636860
46BB276332B27B   MOUSTAPHA     DIOP                    DC          90010717633
46BB292335B222   JACQUELINE    KELLEY                  KY          68071389233
46BB293285B53B   SHELLY        DABBS                   NM          90014709328
46BB3153591569   ADRIANA       JIMENEZ                 TX          75070431535
46BB355815B222   ANTOINETTE    HINES                   KY          68072635581
46BB3696161963   JONOTHAN      RODRIGUEZ               CA          90010266961
46BB3781851334   DARIEN        COUSINS                 OH          90014767818
46BB4328A8B16B   LINDA         WHITE                   UT          31011303280
46BB46A5672B98   MONICA        PEREZ                   CO          90011696056
46BB593285B53B   SHELLY        DABBS                   NM          90014709328
46BB6139551321   TINA          BARNETTE                OH          90003691395
46BB626287B33B   TANIA         GIBSON                  VA          90007372628
46BB7129261967   LAURIE        BEECHAM                 CA          46068271292
46BB7288991569   GABRIELA      ZAVALA                  TX          90012202889
46BB7882181639   JANICE        GAUCHAT                 MO          90006578821
46BB78A2A86453   ANA           BETRAN                  SC          90014808020
46BB8124771999   BRIAN         ORTIZ                   CO          90012671247
46BB8169561963   JOSE          TORRES                  CA          90008711695
46BB8713755939   KRYSTAL       MORENO                  CA          90002547137
46BB8874261967   SHANTEL       LATRICE                 CA          90014578742
46BB919A42B27B   ELIZABETH     HERNANDEZ               DC          90015491904
46BB9233A4B271   ROXANNE       KOTSCHWAR               NE          90003052330
46BB9497A5597B   ZARATE        ELIZABETH               CA          90002084970
46BB9623191569   CRISTOBAL     ROBLES                  TX          75012226231
46BB9696872B4B   LAURA         LAROSE                  CO          33028956968
46BBB854A57122   CITY          HOMES                   VA          90001698540
46BBB97982B27B   PEDRO         GONZALEZ                DC          90014519798
46BBBA44551334   SULEMAN       CAMARA                  OH          90012050445
4711113658B355   RUBEN         GARCIA                  SC          90006381365
4711239255B222   AUSTIN        HUGHES                  KY          90011053925
4711259425B222   THOMAS        BAGWELL                 KY          90014905942
4711288478B16B   MAGALY        MADRID                  UT          90009268847
4711299325597B   EMNAI         ZENO                    CA          90013949932
47112994872B47   ROSA          GABINO PEREZ            CO          90006349948
47113621A72B43   THEODORE      SMITH                   CO          33080876210
4711422455B58B   PABLO         RAMOS                   NM          90005172245
4711457615B222   ANGEL         STOVALL                 KY          68035695761
4711538864B582   EBONY         HOLDEN                  OK          90007683886
471161A788B355   DANIEL        SIMPSON                 SC          90013341078
4711631385B58B   JOSEPH        MAYO                    NM          90002143138
47116959A72B36   XOCHITL       SANCHEZ                 CO          90008809590
47117A8172B27B   JORGE         ORTEGA                  DC          81007100817
4711818AA5B53B   MANUEL        GOMEZ--VILLAOBOS        NM          35087851800
4711873A872B36   JDELL         GARNER                  CO          33035837308
4711944755B58B   SILVIA        SIERRA                  NM          90014884475
47119496372B43   TOBY          BOOK                    CO          33001054963
471194A838B594   VICTORIA A    GARCIA                  CA          90014674083
4712169345B222   DANNA         DANE                    KY          90014596934
47124584A5B58B   THERESA       CHAVEZ                  NM          90014155840
47124A78755966   NICOLE        BARBOZA                 CA          90000900787
47125149572B43   DAVID         TATE                    CO          33008541495
47125243A51326   SARAH         MANNING                 KY          90004292430
4712555115597B   HOLLY         JENNINGS                CA          90010345511
47126242572B36   SARA          BOLLEFER                CO          90014942425
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47126589972B4B   PEDRO       CHAVEZ SALAZAR            CO          33007495899
4712683A391394   VICENTE     SANDOVAL                  KS          29061948303
4712726A572B4B   ZACH        MARCHETTI                 CO          33053042605
4712736912B266   DENISE      THORNTON                  DC          81016553691
4712811388B355   VADA        SULLIVAN                  SC          90013061138
471282A1371999   JESSICA     GARCES                    CO          90005082013
471287AA672B4B   JENNIFER    LORBERAU                  CO          33044857006
4712B36215597B   VICTOR      NARANJO                   CA          90010433621
4712B652771999   JESSICA     JONES                     CO          90013046527
4712B937A91394   LUISA       USSEGLIO                  KS          90011179370
4712BA98854151   SHANA       GIGER                     OR          90010520988
4713115325B58B   GONZALO     VILLEGAS                  NM          35000021532
47131294A55939   JEFFUN      ANDERSON                  CA          90012852940
47131844A91569   ROGELIO     HOLGUIN                   TX          75058008440
47131A2525597B   JOHN        MADUENO ALVAREZ           CA          90013950252
47132152A32586   MATTHEW     STOKES                    TX          90014161520
471323A232B87B   KELLIE      ANDERSON                  ID          41080563023
4713242815B58B   ROSE        MYERS                     NM          35072784281
47133211472B43   SHEARER     TRAMBLIE                  CO          33008542114
4713393482B27B   RICARDO     SMITH                     DC          90011199348
4713438448B165   SANDRA      SMITH                     UT          31048963844
47134461372B43   BREYANA     HICKS                     CO          90012984613
47134758172B4B   CRYSTAL     ROSE                      CO          33089517581
47134A65871999   BARBARA     HAWKINS                   CO          38065920658
47134A99461963   CARLOS      GOMEZ                     CA          90011280994
471352AA491988   ERIC        PRINCE                    NC          17030492004
47135919172B4B   EVELIO      SOTO                      CO          33073359191
47135983A55939   PATRICIA    DE GALINDO                CA          90013219830
47136226272B43   VALERIE     BRYANT                    CO          33008542262
4713719792B27B   KANDICE     BAYLOR                    DC          90005491979
4713757695B53B   VINCENT     GARCIA                    NM          35082195769
4713763325B222   MAURICE     WILLIAMS                  KY          90011596332
4713834A52B27B   SHAWNTEE    GAYE                      DC          90012163405
4713852794B271   CHRISTINE   BARNES                    NE          90014795279
4713871468B16B   MELINDA     FLEENOR                   UT          90004097146
47138A85991569   MARGARITA   ESPINOZA                  TX          75086810859
4713962638162B   LUKE        RHEAUME                   MO          90012066263
4713994735B174   JERRICA     ANDERSON                  AR          90011319473
4713B179855966   KEVIN       MADRON                    CA          49072721798
4713B23435B53B   RHIANNON    SALAZAR                   NM          90012302343
4713B679491569   MARCOS      GUILLEN                   TX          90009586794
4713B813A5B386   TOMAS       MARQUEZ                   OR          90006098130
4713BA55851334   SHAYLA      VEGA                      OH          90008100558
4713BAA892B27B   ADALID      PINEDA                    DC          90010370089
4714166584B259   CHARLES     JONSON JR                 NE          27063046658
47142558972B43   CARLOS      DERAS                     CO          90014525589
47142589427B87   KRISTIN     DUDLEY                    KY          90012635894
47142A59561967   BRENDA      MORENO                    CA          46010710595
4714342262B27B   MICHAEL     RIVERS                    DC          81019524226
47143883A4B271   GUSTAVO     LOPEZ                     NE          90005308830
4714437615B174   JERMAINE    ROGERS                    AR          90007543761
4714485598B355   ANGEL       VARNADORE                 SC          90015578559
47144944A91873   AMBER       MATHIS                    OK          21085119440
471454A6954132   JASON       HELLING                   OR          90015094069
4714589A472B47   RICHARD     HEILMAN                   CO          90014758904
4714696554B221   MARK S      WULFF                     NE          90013069655
47147585972B36   ED          ENGELBRECHT               CO          90004775859
4714768895B222   DORIS       CUNNINGHAM                KY          90001446889
4714879A861542   TRACEY      RHODES                    TN          90013487908
47148AA242B27B   OCLECIANO   DIAZ                      DC          90015010024
4714955934B259   RANDY       OTTESEN                   IA          27074485593
4714978785B53B   EDDY        ENDEZ                     NM          90009477878
4714B346371999   OCTAVIO     BORJORQUEZ                CO          38081633463
4714B552461963   GABRIEL     SUAREZ                    CA          90013305524
4714B87475B58B   STEPHANIE   RODEBUSH                  NM          35051688747
4714B936791569   MONIQUE     ADAME                     TX          90014469367
471511A144B271   GARCIA      RIVERA                    NE          90000311014
47151959472B4B   SCARLETT    MCIVOR                    CO          33040309594
47151A9645B174   MARYIE      BELL                      AR          90013610964
4715226732B828   AMBER       PETERS                    ID          42086542673
47152A3655B222   JEFF        KELIEN                    KY          90011880365
47153A3765597B   KARIN       HOWELL                    CA          90013950376
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4715532382B27B   NATNAEL            TEKLEYES           DC          90004573238
47156285372B43   STEPHEN            CARSTENSON         CO          90012082853
4715632682B92B   SUGEIRE            VILLALOVOS         CA          90007983268
4715697412B87B   CHRISTY            MYERS              ID          41080189741
47156A56154B42   ARTHUR             PENN               VA          90004850561
4715742155597B   MARIO              FLORES             CA          49081084215
47157A81455939   MARIO              SANCHEZ            CA          49037250814
47158162872B36   CHRIS              SANDOVAL           CO          90011761628
4715888668B355   JOSE               MONTION            SC          90012828866
47159111872B43   VICTORIA           ALLEN              CO          90013651118
47159275A51334   TAMMY              BRADLEY            OH          90014072750
4715947265B174   LINNIE             BOOZY              AR          90013774726
4715969595B58B   JUAN               VIGIL              NM          90011296959
4715B167291569   DUSTIN             FLORES             TX          75051851672
4715B528855955   LORENA             SALAS              CA          90011075288
4715B52895B53B   JOSHUA             SOLANO             NM          90012675289
4715B567171999   DEBRA              BERNAL             CO          38091305671
4715B89754B546   HALEY              SIMMONEAU          OK          90004098975
4716217422B87B   TASHA              SMITH              ID          41021721742
471627A3A55966   CLAUDIA            RAMIREZ            CA          90013117030
4716294675597B   BRITTENY           MITCHELI           CA          49085859467
47162A5744B271   LUCINDA            PITTS              NE          90012930574
47163912772B4B   GUY                TRUJILLO           CO          33098009127
4716414822B27B   FRANKI             RUFFIN             DC          90011871482
47165147A8B355   DEVIN              PATTON             SC          11085911470
4716558918B16B   CHELSEA            FORD               UT          31034855891
4716623A88B16B   MARIA              QUINTERO           UT          90007842308
4716654975B222   WILLIAM            GILBAR             KY          90013995497
47166558A55966   ELWIN              REYES              CA          90014735580
4716738218B355   CHRIS              JOHNSON            SC          90015613821
47167639A91394   ELIDA              MORA               KS          90007066390
471677A958B16B   KAREN              LABORIEL           UT          90011787095
47168A32572B4B   NERISSA            MILLER             CO          90005750325
47169346A72B36   AHMED              ALI MOHAMMED       CO          33063613460
4716961232B828   CASSIE             BREWSTER           ID          90010526123
471696A7827B87   KAYRAN             WHITE              KY          90010986078
4716B173172B36   CAMPOS             DIANA              CO          90006731731
4716B71245B174   AMANDA             CARRALES           AR          90014647124
4716B78178B355   SABINA             VALLE              NC          90007287817
4716B915A74B7B   AMANDA             STURGILL           OH          90014289150
4716B9A7891527   EVETTE             RODRIGUEZ          TX          90007739078
4717452285B174   JACQELINE          BLUFORD            AR          90008355228
47174716772B43   DEBORAH            ROBERTS            CO          33029567167
47175527172B4B   JOE                CONDOTTI           CO          33066145271
4717561822B229   TAMIKA             FEILDS             DC          90010136182
4717571A74B523   MARK               HOLDCRAFT          OK          90006127107
47176324A51334   CHARLES            KRISTOFER          OH          90005333240
471775A395B222   CLARISSA           WILLIANGHAM        KY          90009735039
4717827515597B   FERNANDO RAMIREZ   SANCHEZ            CA          90005572751
4717886865B222   HAROLD             RAYMER             KY          90013758686
47179A13991569   DEBBIE             GOMEZ              TX          75001310139
4717B83995B58B   VERONICA           JURADO             NM          35013548399
4718119255B53B   BYRON              AGUILAR            NM          35092131925
47181211472B4B   DIANA              LEDESMA            CO          90008012114
4718171368B355   ARELY              RIVERA             SC          11087707136
47182172A51334   NATASHA            PATRICK            OH          66047651720
4718276142B27B   JOHN               DIGGS              DC          90014487614
47183435972B36   MICHELLE           STEVES             CO          90005584359
47183449A72B43   LUIS               CHAVEZ             CO          33018164490
47183A6588B355   LUIS               MARTINES           SC          90012760658
4718441694B271   KENNY ROLANDO      TARACENA HERRERA   NE          90013934169
47185395772B4B   SHIRLEY            MOSES              CO          33018823957
471853A388B355   HECTOR             MONTES             SC          11039393038
471854AA65B174   LEONARD            TOZER              AR          90007544006
4718579127B646   JUAN ELIUD         LANDEROS SANCHEZ   GA          90012677912
47185937172B36   ERICA              WADE               CO          33039029371
4718781948B16B   RICKI              MANSHIGO           UT          31087878194
47187A66455966   JUSTYN             BRIDGES            CA          90012510664
47187A86691569   CAROLINA           CAZARES            TX          90014950866
4718897648B355   JOY                PASQUARIELLO       SC          90001189764
47189927672B36   LIZBETH            RODRIGUEZ          CO          33025139276
4718B124855939   JOHN               ORELLANA           CA          90012791248
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47191913A8B355   AALIYAH          GRIFFIN              SC          90010819130
4719295318B355   MICHAEL          BAYRON               SC          90006269531
471935A214B259   LORRAINE         JOHNSON              NE          27040565021
47193719172B43   MICHAEL          MOORE                CO          90015087191
471948A222B27B   ALFREDO          BARRIENTOS           DC          81012658022
4719512758B16B   DORCAS           MUNOZ                UT          90011711275
4719596328B355   WHITNEY          HAMILTON             SC          90014659632
4719636858B16B   JUAN             GARCIA               UT          31024583685
471968A554B271   DOUANGCHAY       PIANO                NE          90014538055
4719725895B37B   SHANNON          HUNTER               OR          90011292589
4719B185461963   SHARLETT         BULLOCK              CA          90003911854
4719B49A271999   ALEX             GREGORIOU            CO          90015024902
4719B77814B259   JOSE             RIVERA               NE          27003177781
4719B829751334   TAMARA           BURTON               OH          90001868297
4719B8A1491394   PAULA            HENRY                MO          90004278014
4719BA65872B36   FRANCISCO        GONZALEZ             CO          90015080658
4719BA95672B45   CHRISTOPHER      MILLER               CO          90012620956
471B124254B271   KENNITH          CARL                 NE          90012412425
471B142125597B   VERONICA         VERA                 CA          90009824212
471B1434961967   JAVIER           BAUTISTA             CA          90011064349
471B214545597B   TRISHA           CHAPPEL              CA          90003461454
471B2656671999   CHRISTINE        GARCIA               CO          90009016566
471B311345B53B   SARACINO         DIEGO                NM          90012721134
471B3661691394   SYNEE            BROWN                KS          90010486616
471B4684A4B259   MELISSA          BROWN                NE          90006526840
471B47A434237B   TERESA           MCALLISTER           GA          90009757043
471B6392572B43   LUCINDA          RIVERA               CO          90012403925
471B6539171999   NATHANIEL        SLAUGHTER            CO          90013155391
471B743512B27B   ANITRA           DEVAUGHN             DC          90000814351
471B764465B222   GARY             BROOKS               KY          68096176446
471B865545B174   TIA              WALKER               AR          23005846554
471B868845B541   MARGARITA        BANDA                NM          35009896884
471B8A8447B431   DEIDRA           HOOVER               NC          11054540844
471B9444655966   SANTOS           CASTANEDA            CA          90010884446
471B9512872B4B   ELAINE           CANTOR               CO          90011885128
471BB795872B4B   SAMANTHA         JOANNA               CO          33039307958
4721164714B271   JOSEPH           WAGMAN               NE          90013096471
47212468372B4B   CARL             CAUSAS               CO          90011924683
4721264AA4B271   SHANE            KNEIFEL              IA          90014246400
47212948A61967   OSVALDO          SANCHEZ              CA          90012799480
47213156427B87   SIMONE           ROBINSON             KY          90010311564
4721325A68B355   SHIRLEY          MCCLINTON            SC          11006762506
4721429A461967   DAISY            ARTEAGA              CA          90008842904
4721546988B16B   DARLA            ALLEN                UT          90010194698
47216183A5B551   JOE              GARCIA               NM          90012601830
4721622595B398   JUSTINO          ALOPEZ               OR          90009152259
4721688292B879   OWEN             MORRIS               ID          90002868829
4721688573B385   DANIELA          PEREZ                CO          33005918857
47217432872B4B   ANTHONY          BLEA                 CO          90010224328
47217A3438B355   RICHARD          BROOKS               SC          90014660343
472182A6472B43   MARIA            OROZCO               CO          90007582064
4721867755B58B   ESPANA           JORGE                NM          90006046775
4721931535B222   TIM              HUGHES               KY          90013073153
47219484A61967   ENOC             BERDEJA              CA          90010344840
4721B65765B222   GABRIELA         GUTIERREZ-CARRASCO   KY          90013266576
4721B69765B53B   BRITTANY         PASQUAL              NM          90013006976
4722165775B58B   SAUL             TORRES               NM          90013696577
4722261745B58B   CHRISTOPHER      ESQUEDA              NM          90004776174
4722341645B222   LOUIS            JACOB                KY          90013864164
47223628A55939   GEORGIA          AGUILAR              CA          49043266280
4722388124B259   REBECCA          TAYLOR               NE          90010478812
47224141A2B27B   NAJIAH           FOSTER               DC          90014171410
47226A77A91974   HUGO ALEJANDRO   FLOREZ               NC          90011850770
47227426A3B125   JUAKEAN          DAVIS                VA          81018074260
47227A9435597B   JOSE             DIAZ                 CA          90013950943
4722816A22B27B   RANDY            BARNES               DC          90011311602
4722944675597B   NAKEER           CURRY                CA          49017604467
47229864172B36   CARLOS           GONGORA              CO          33039338641
4722B216961967   ESMERALDA        ZUNIGA               CA          90012042169
47231347272B31   TODD             OHAIR                CO          33006063472
4723146215B222   LEXUS            JONES                KY          90011304621
4723169938B16B   MICHELLE         FOSTER               UT          31013266993
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4723173918B355   MARTHA      TURNER                    SC          11086387391
4723216274B271   ADRIAN      HARDING                   NE          90015031627
47232578472B43   VICTORIA    BAILON                    CO          33030345784
4723267282B27B   CAROL       THOMAS                    DC          90012796728
47232A91672B43   DANIELLE    DELUCCA                   CO          33000990916
4723365385B222   CHAZ        DUNBAR                    KY          90006596538
47233656972B4B   KAYLA       MALCOLM                   CO          90009046569
4723367A761963   DYONNA      CRAWFORD                  CA          90012606707
47233A98477522   SUZETTE     MILLER                    NV          43005280984
4723417345B222   LATISHA     FRAZIER                   KY          90011071734
47234A5A471999   MAYANNA     TERRONES                  CO          90013320504
4723511A572B43   DARINDA     DURAN                     CO          90008401105
4723641825B373   JAIME       DURAN GARCIA              OR          90001734182
472366A4772B43   ELISHA      ARELLANO                  CO          90009246047
4723718595B53B   WYLONDA     HORSESON                  NM          90004151859
4723731472B543   VICTOR      HERNANDEZ                 AL          90014003147
47237341A2B27B   RENICE      SUTTON                    DC          90012983410
47237AA832B27B   CHARLES     SMEED                     DC          90014370083
4723877855B58B   JOANNA      ALTAMIRANO                NM          90014857785
47238796A5B53B   LETITIA     MOONE                     NM          90013867960
4723B491291569   MARIA       MADRID                    TX          75011284912
4723B5A624B271   MATTHEW     BJORN                     NE          90014595062
4723B6A837B431   LOSHAWN     PARKS                     NC          90005816083
47241AA5961963   ELVIRA      CASTANON                  CA          90013040059
472427A555597B   ACENCION    ROCHA                     CA          90002897055
47244163A5B56B   BARBARA     GABALDON                  NM          90009181630
47244477A91234   LISA        ROSALES                   GA          90010934770
4724545718B165   MARTIN      LEE CANDY                 UT          31044694571
472458AA391873   JESSICA     ABADIE                    OK          90005708003
47245A64261967   SERGIO      ALVES                     CA          90011100642
47246187A72B43   DIANE       ATENCIO                   CO          90011791870
4724652825B222   SUSAN       BROWN                     KY          68028865282
4724711532B87B   CAREY       VASQUEZ                   ID          90002841153
472472A4555939   JOLUETTE    JACKSON                   CA          90004312045
4724768588B355   MELDRICA    STEELE                    SC          90011956858
4724799292B27B   CHARLIE     TILGHMAN                  DC          90013439929
472485A2971999   LAWRENCE    VIGIL                     CO          90009805029
47248669A5B53B   THOMAS      JONAS                     NM          90004266690
4724916854B271   NATALYA     BROWN                     NE          90014911685
4724B376155939   ISAAC       GARCIA                    CA          49080593761
4724B444272B4B   SHANE       ARNPRIESTER               CO          33077404442
47252A4A25B58B   MARIA       FLORES                    NM          90015130402
4725354264B271   ESMERALDA   TRUJILLO                  NE          90009975426
47254A26772B43   CHARLES     POLLOCK                   CO          90014740267
47255A88772B43   MELINDA     TENA                      CO          90012020887
47256523972B36   JASON       ROYBAL                    CO          90012685239
47257563672B43   ELIAS       BUENROSTRO                CO          33087805636
47257A59661927   LUIS        LEON                      CA          90014880596
4725876A55597B   CYNDY       RODRIGUES                 CA          90006437605
4725893578B16B   FRANCISCO   RAMOS                     UT          31078519357
4725B111872B36   WILBER      RIVAS                     CO          90012311118
4725B17125B58B   CHAVEZ      JESSIKA                   NM          90003891712
47262A25472B36   VA          YANG                      CO          90012580254
472632A3191394   OLIVIA      ORTIZ                     KS          29004042031
4726511588B355   BRENDA      SPRINGS                   SC          11061501158
4726547A791569   VICTOR      AGUIRRE                   TX          90014134707
4726572942B27B   NATHAN      MORRIS                    DC          90013537294
4726587127B347   KEVIN       HOOKS                     VA          90012318712
47265A57771999   JASON       MOISER                    CO          38008930577
47267131872B4B   SYLVIA      WILLIAMS                  CO          90013411318
4726747625B222   MICHAEL     COFFMAN                   KY          90014464762
4726777195597B   AUBURAN     GREEN                     CA          90007407719
47267A2A35597B   BRITTANY    RAMOS                     CA          90014850203
47268269372B43   JOSE        ACUNA                     CO          90012832693
472685A4172B36   DEBORAH     MORRISON                  CO          33021215041
4726929718B355   MELANIE     FRAZIER                   SC          90012732971
4726931A42B27B   LAPREA      RILEY                     DC          90012913104
4726966475B222   RAYMOND     JORDAN                    KY          68084866647
47269838A4B271   SUSANA      RODRIGEZ                  NE          90009518380
4726B11924B271   DEBRA       KINNEY                    NE          27068081192
4726B172761999   BERTHA      ROMERO                    CA          90011971727
4726B469961963   REGINALD    BROOKS                    CA          90014354699
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4726B486724B55   SHELDIN          SANDY                DC          90014734867
4726B55385597B   ANDREA           RODRIGUEZ            CA          90013965538
47271413A72B4B   ANA              CARRASCO             CO          90012344130
47272436A5B58B   JANIFER          BACA                 NM          90011244360
472726A8272B36   CARMEN           RAMIREZ              CO          33064016082
47273396524B55   JASON            WONG                 VA          90006743965
47274121872B36   POLINA PETROVA   AGOVA                CO          90013061218
4727416255B58B   DANIELLE         CHAVEZ               NM          35042471625
4727424AA71999   RYANN            VASQURZ              CO          90012972400
4727434785597B   MARIA            ZAMORA               CA          90013053478
4727554522B229   CAROLIN          CHILDS               DC          90001565452
472759A4524B55   CHAU             MOORE                VA          90013119045
47275A54351334   MIA              HOWARD               OH          90001370543
47277711A2B27B   ISABEL           CUETO                DC          90014407110
47277768172B43   JAMIANNE         ANDERSON             CO          90015117681
4727851658B16B   JENNIFER         FYNBO                UT          31027125165
4727921A68B355   NEALE            JOHNSON              SC          90013922106
47279322A71999   CASSANDRA        MCCANN               CO          38011473220
4727B16755B174   DANNY            SHOFSNER             AR          90015431675
4727B19472B87B   WHITNEY          CHANEY               ID          90010331947
4727B22595B53B   ALCARIO          ANAYA                NM          90013532259
4727B945691873   KIMBERLY         MOORE                OK          90005709456
4728178885B53B   MELODY           MARTIN               NM          90012477888
47281A63871999   TRACI            HOLTGREWE            CO          90014490638
4728256AA72B43   CESAR            DURON                CO          33079445600
4728281992B27B   DOROTHY          ROGERS               DC          90005288199
4728336745B53B   MARISOL          QUEZADA              NM          35051173674
4728366815597B   DAVID            QUIROZ               CA          49004816681
472842A955B174   SARIAH           VALADEZ              AR          90012462095
472845A5172B36   NAR              SIWAKOTI             CO          90015175051
4728499363163B   MAGDALENA        LARIOS               KS          90011989936
47284A85161967   DIANA            ALATORRE             CA          46018760851
4728553895597B   AL               AL                   CA          90005705389
47285A94372B36   JAQUELINE        CHRISTOPHER          CO          90007250943
472867A3291569   ANTHONY          WILLAMS              TX          75097207032
47287845472B4B   LARISA           BAIRAMOVA            CO          33071958454
47288429472B4B   MARIA            LOPEZ                CO          33015714294
472887AA272B36   GENOVEVA         ESQUEDA AVILA        CO          90005727002
47289465A91988   BELINDA          COZARAT              NC          17013554650
4728B458391569   GERARDO          MENDOZA              TX          75026654583
4728B821255966   MADALANINIO      PANZO                CA          90014428212
4728B849A5B53B   EDWARD           GARCIA               NM          90013798490
4729125785597B   JOSE             ANCHES               CA          90015222578
4729138A472B43   JAMES            LEE                  CO          33001353804
4729183145B174   ANTONIO          COLEMAN              AR          23015778314
4729285125B222   MELISSA          SWARTZ               KY          90010888512
4729371365B53B   MONIQUE          CHAVEZ               NM          90014917136
472938A3785939   BERNARDO         JARDINEZ             KY          90009858037
472959A7391394   KAREN            ROSALES              KS          90008159073
4729615A172B43   MANUEL           CAMUNEZ              CO          90007981501
4729626425B174   ELIZABETH        WILLIAMS             AR          23042392642
4729641992B27B   META             TSHIMANGA            VA          90001804199
47298295A71999   THOMAS           BURTON               CO          90012612950
472984A325B58B   KAREN            DELGADO              NM          90007894032
472985A218B355   TYDRETUS         BRICE                SC          90015495021
47298A3215B58B   TERRENCE         ANDREWS              NM          90013720321
4729929A171999   NATALIE          MARTINEZ             CO          90004112901
4729948A15597B   MARIA            BUENO                CA          49077674801
4729B16215B58B   DANIEL           BOWDEN               NM          35092641621
4729B82A85B222   DUGGIE           HIBBS                KY          90015278208
4729BA2468B355   GARRETT          HILTON               SC          90011950246
4729BA3A361963   YADIRA           CEDILLO              CA          90013750303
472B1488A8B355   JALISSA          FORT                 SC          90005854880
472B1492933662   ANTONIETA        NOYOLA MARIN         NC          90001764929
472B1982977554   ESTUARDO         VALLADARES           NV          90014159829
472B1A1A472B4B   EVA              MEDINA               CO          90015470104
472B2539691988   YVONNE           GREEN                NC          17013755396
472B272374B582   MARK             RANDEL               OK          90013057237
472B297355B53B   JAZMIN           ORDUNO               NM          90007769735
472B3135172B4B   PATRICK          ODURO                CO          33021131351
472B377345597B   CASSANDRA        SANTISTEVAN          CA          90008067734
472B38A462B87B   KEVIN            HARRIS               ID          90012398046
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472B457A655939   LERON        BELL                     CA          90014485706
472B4A64684322   MRWAN        SHEHAB                   SC          90006450646
472B51A145B174   SESLIE       JONES                    AR          90012071014
472B5296672B4B   HARVEY       LAFLECHE                 CO          90012582966
472B5392331432   DOROTHY      HALL-SLEET               MO          90003183923
472B541765597B   ANTIWONE     PERKINS                  CA          90014804176
472B6352972B4B   AIDE         PARA                     CO          33033013529
472B675988B355   STACEY       DUNCAN                   SC          90004427598
472B6796A5B53B   GUADALUPE    CERVANTES                NM          90014227960
472B685A691394   EDGAR        IBARRA                   KS          90004748506
472B6935791569   SONIA        HERNANDEZ                TX          90012359357
472B713915B58B   JUDITH       DURAN                    NM          35000561391
472B7641272B36   NANCY        CARRASCO                 CO          90014356412
472B773442B27B   BRISCO       ODOM                     DC          90015067344
472B8411171999   PAUL         ODELL                    CO          90010674111
472B8432561967   TERI         GHARRING                 CA          46084004325
472B877165B58B   MARIA        DOMINGUEZ                NM          90014177716
472B88A9751336   JOHANNA      ROX                      OH          90012928097
472B8931591394   JOSE         HERNANDEZ                KS          29041349315
472B944675B53B   DANNY        LUGO                     NM          90013724467
472B9542A61963   TRAVIS       GOMES                    CA          90009135420
472B9768972B4B   VINCENT      MARTINEZ                 CO          33042877689
472B9815A5B58B   ROBERT       MONTOYA                  NM          90012148150
4731253275597B   SAUL         ARREGUIN                 CA          90013295327
4731263A871999   ANTONIO      FRANCO                   CO          90015006308
4731348AA5B53B   ANDREW       TRANQUILLO               NM          35079774800
4731429335B174   MICHELLE     SCHEIBNER                AR          90014532933
47314A38A5B174   MICHELLE     SCHEIBNER                AR          90015460380
47314A84541222   AYNEE        POOLE                    PA          90002980845
4731516A12B27B   MICHAEL      BYRD                     DC          81018971601
4731684A855939   ANGELICA     RODRIGUEZ                CA          90000378408
47317A7918B165   PAUL         BARNHART                 UT          31058630791
47318414A4B271   KRISTY       NELSON                   IA          27047814140
4731963A377366   KELLY        NARVAEZ                   IL         90013036303
47319756A61967   GABRIEL      CLEMENTE SARG            CA          90000587560
47319928872B36   DINA         ALMOHD                   CO          33025329288
47319A7222B27B   TIPHANI      BURIS                    VA          90008260722
4731B19854B271   ANDREW       JOLT                     NE          90014691985
47321662572B43   PAPA         LOUM                     CO          90010806625
4732197528B355   SHIRLEY      POTTS                    SC          11044499752
47321A6897B467   CHARISSA     RECKERS                  NC          90014450689
4732248825B58B   ADAM         VILLALOBOS               NM          90000244882
47322713A8B154   MARK         GOODSON                  UT          90001737130
47322967124B55   RALPH        BENNETT                  VA          90013569671
473243A5472B4B   DOUGLAS      LEBLANC                  CO          90012393054
47324772672B36   OLGA         FLORES                   CO          90005387726
47324A1525B222   HENRY        BROWN                    KY          68010210152
4732524818B156   ALICIA       POMERO                   UT          90011842481
473252A535B222   RONALD       WRIGHT                   KY          90013962053
4732531248B16B   ELIZA        ADAMS                    UT          31087523124
4732553688B163   MARIA        RODRIGUEZ                UT          90008475368
47326433472B36   TASHAWNA     JOHNSON                  CO          90014954334
47326689772B4B   ROBERT       WALKER                   CO          33050356897
47326785772B43   PEARL        SHELL                    CO          90015257857
4732766928B16B   STEVEN       MCCARTY                  UT          31087426692
47327825374B8B   SAVANNAH     MILLER                   OH          90014498253
473282A5591394   KIMEESHA     BRAND                    KS          90014742055
47328A64272B68   BERTA        HOMBEK                   CO          90003440642
4732947A451334   KATHLEEN     GUYNES                   OH          66003044704
4732B457361963   BENJAWAN     PERPOON                  CA          46068744573
4732B972361967   VIRGINIA     VILLARREAL               CA          46060939723
4733129232B27B   DANIELLE     HAMILTON                 DC          90001932923
47331449A5B174   DIANA        CANDLEY                  AR          90007954490
4733158118B16B   JULIE        ARAGON                   UT          31082965811
47331A1AA72B36   VIRGINIA     EDITONE                  CO          90013590100
4733275455B222   ALICIA       BOGGS                    KY          90013347545
4733298124B259   TERRY        BLACKBURN                NE          27016299812
4733327324B259   VICTORIA     DUNCAN                   NE          90006762732
47333678A84342   TIFFANY      WILSON                   SC          90013636780
4733475445B58B   MARIBEL      GRANADOS                 NM          90014687544
47334A68951334   KOURY        JOHNSON                  OH          90012900689
47334AA874B271   KOKOU KAFU   TOSSOU GASSRE            NE          27000670087
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4733514618B16B   WAQAS               JAVED             UT          90002251461
47336166A2B27B   CHRISTINE           COLLINS           DC          90010931660
473361AA791569   MARIA DEL REFUGIO   MONTES            TX          90012691007
4733833495B174   AMBER               SPANGLER          AR          90014343349
47338853A51334   ANDREW              BISHOP            OH          90012318530
47338962A91569   MARIA               SALAZAR           TX          90010029620
4733939165B242   ANDRE               LEE               KY          90003493916
4733949378B355   JORDAN              SHIRAK            SC          90013924937
47339636872B4B   TONI                VALDEZ            CO          90001586368
47339A16972B43   DANNY               KENNY             CO          33013910169
4733B335672B23   REBECCA             SALMONSSON        CO          90013693356
4733B43578B165   JOSHUA              KNUDSEN           UT          31066444357
4733B83A54B569   CHRIS               JOHNSON           OK          21517218305
4733B865A61967   ERIKA               DA LUZ            CA          90002828650
4733B92294B259   AMBER               SCISLOWICZ        IA          90012079229
47342534972B43   JOSH                TOMES             CO          90006415349
4734332122B27B   KARLOS              MCDOWELL          DC          81039313212
473434A875B174   YOLANDA             PETEN             AR          23012414087
4734389575B222   CHARLES             WILLIAMS          KY          90013338957
4734396158B165   KRISTINE            MONTOYA           UT          90003189615
473444A718B16B   MARYANNE            RIOS              UT          31076254071
4734466A776B27   JEFFREY             HOMER             CA          90012476607
4734479975B58B   THERESA             RAEL              NM          90010137997
473458A5755982   SILVIA              GONZALEZ          CA          90012338057
4734592A991394   CRINA               CHARTER           KS          90007279209
4734632185B53B   CRYSTOL             GALLEGOS          NM          90012853218
47347734A8B355   HOLLY               KELLY             SC          90007667340
4734828418B165   ANA                 MARTINEZ          UT          90007002841
473487AA324B55   KRISTEN             PELZER-THOMAS     DC          90013777003
4734983294B271   BRANDY              CLEMENTS          NE          90013088329
4734B39165B242   ANDRE               LEE               KY          90003493916
4734B9A7172B4B   JOSE                CHAVEZ            CO          33081519071
4735125833B356   FIDENCIO            GONZALEZ          CO          33047002583
47352434472B4B   CARL                DIXON             CO          90007464344
47354345172B36   MARY                ROMAN             CO          90014643451
4735465225B58B   MELLISA             AKIN              NM          90003046522
4735479975B222   GOMEZ               VIILATORO         KY          90011457997
4735518272B27B   JACKQUELL           GORDON            DC          90010401827
4735581389189B   MARIA ELENA         OLMOS             OK          90012058138
473563A6355966   MARCELA             HEREDIA           CA          90007973063
473575A868B165   LUIS                MEJIA             UT          31032725086
47357615772B4B   JASMIN              GOEBEL            CO          90007556157
473594A8472B43   KATHY               HUSKEY            CO          90012914084
473596A1355966   PAULA               BAUTISTA          CA          90014736013
4735998115B53B   DARRIN              TERRAZAS          NM          90013739811
47359A29591569   JOHN                KINSER            TX          90009820295
4735B71175598B   ERICELIA            RODRIGUEZ         CA          90001767117
473616A7A91363   LAWRENCE            SMITH             KS          90011816070
47361959572B36   RITA                REYES             CO          90009969595
47361A8625B58B   OLGA Y              GALVAN            NM          35016580862
47362421272B36   RUBEN               TRUJILLO          CO          33055114212
47362551672B43   ISRAEL              COSIO             CO          90009925516
473627A6555939   SANDRA              ARNOLD            CA          49065647065
47362849572B4B   CESAR               ESTRADA           CO          33071808495
473631AA48B355   KRISTEN             DAWKINS           SC          90003641004
4736425795B53B   RAELYNN             VALVERDE          NM          35013872579
4736556515B174   JENNIFER            FIELDS            AR          23081165651
47365A6175597B   TARA                MARAHAR           CA          49096900617
4736827455B222   JOSE                CASTANEDA         KY          90009292745
47368358772B36   MARIA               AGUILAR PINON     CO          90014493587
4736861852B27B   QUISHA              FRASIER           DC          90009316185
47368759A5597B   LORI                SANDOVAL          CA          90010917590
473693A513B332   JACOB               REEFE             CO          90009253051
4736947A95B222   BERNIE              KASTOR            KY          68021254709
47369A5178B355   JOHNTAVIAS          FOOTE             SC          90012790517
4736B13A68B16B   DAVID               MELLEN            UT          31035131306
4736B24515597B   MELISSA             MATA              CA          49066392451
4736B353A51338   MARIO               OLIVER            OH          90005603530
4737141AA91569   ANTONIA             ESPARZA           TX          75003374100
4737233684B259   MICHAELA            WILLIAMS          NE          90009773368
473727A398B355   ROGER               LINKOUS           SC          90012797039
47372885272B4B   SHANEQIA            BOHANNAN          CO          33018298852
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4737354235B222   STACEY       BARBER                   KY          90011435423
47373625A61967   FERNANDO     VON RENTERIA             CA          90012766250
47374182472B43   SYLVIA       MICKLE                   CO          90009731824
4737419A85597B   JOEL         MARTINEZ                 CA          90013951908
4737473715B378   SCOTT        HONDA                    OR          90011047371
47375A92191988   THOMAS       SPENCER                  NC          17074090921
47376345372B36   SHAQUANA     WOODS                    CO          33028933453
47377414872B4B   ROBERTA      CASTRO                   CO          33000554148
473777AA991394   ROBERTO      CORCOLEZ                 MO          90013047009
47378448472B43   JENSEN       BEAU                     CO          90012894484
4737892647B431   CORINNA      MCGEE                    NC          90007369264
47378A66A8B355   KENDRICK     HICKS                    SC          90004910660
47379A9A27B431   KERRISHA     RICHARDSON               NC          11047440902
4737B157491394   EFRAIN       ARAGON                   KS          90013131574
4737B44364B271   ANTONIO      RAMIREZ                  NE          90013344436
4737B888272B4B   WILLIAM      THOMAS                   CO          90013848882
47381445572B36   JEFF         REYNOLDS                 CO          90014854455
4738156535B58B   ADAM         SANCHEZ                  NM          35084585653
47381735A91569   INEZ         GUZMAN                   TX          75041637350
4738345858B16B   GUILLERMIN   HERNANDEZ                UT          31090724585
47383461A61967   ERICK        VEGA                     CA          90009314610
47383678472B4B   ISMAEL       GONZALAZ                 CO          90008076784
47384369A91569   MARIA        HERNANDEZ                TX          90011033690
47384388672B4B   JUAN         SIMENTAL                 CO          90011913886
47384644124B55   CRICKET      WIRELESS                 VA          90009516441
4738497728B355   DAVID        WILLIAMS                 NC          90014139772
47384A8175757B   VICTOR       MARQUEZ                  NM          90013960817
47385AA8772B36   FAVIANA      MARTINEZ                 CO          90013310087
4738613468B16B   CAMERON      SHEWMAKE                 UT          90008501346
473861A182B27B   HERBETH      GUZMAN                   DC          90013501018
47387AAA993769   JOYCE        NUNLEY                   OH          90012040009
4738893A572B4B   GIDIEL       HUICOCHEU                CO          90011969305
47388953924B55   TOYE         DORSEY                   DC          90006229539
47389242572B36   SARA         BOLLEFER                 CO          90014942425
4738928568B355   CHANDRIA     DICKERSON                SC          90000992856
473894A3A5B53B   NORMA        RODRIGUEZ                NM          35072754030
4738981828B16B   RENEE        PRATT                    UT          90011718182
47389A2153B343   WILEY        POTESTIO                 CO          90009620215
4738B21198B165   RUBEN        ROBLES                   UT          31081432119
4738B2A8971999   CRIAG        GRATIOT                  CO          38027942089
473922A5A55966   DANIEL       TORRES                   CA          90008992050
47392376A5B174   LORENE       TURNER                   AR          90014023760
4739319A15B174   MARTIN       HUGHES                   AR          90004351901
4739414935B53B   LUIS         SANCHEZ                  NM          35072521493
4739538984B271   MARGARITA    DELEON                   NE          90011543898
4739558415B58B   MARISOL      MORALES                  NM          90014155841
47397722272B36   NADIA        TAYLOR                   CO          90012387222
4739865765597B   BLANCA       PADILLA                  CA          49030296576
4739B164191569   PATRICIA     CHAPARRO                 TX          75067941641
4739B828972B36   JOSE         BOCANEGRA                CO          90011168289
473B1349961967   MARISOL      GUTIERREZ                CA          46088023499
473B1441991394   KAVELLI      MARQUEZ                  KS          90013414419
473B1568255939   JUAN JOSE    NAVARRO MARCILLAS        CA          90009035682
473B1645471999   JESUS        VALLES                   CO          90003796454
473B217A95B58B   ARTURO       VAZQUEZ ORTIZ            NM          90008251709
473B224962B27B   KENNY        GLOVER                   DC          90012022496
473B2777355966   ROBERTO      ARELLANO                 CA          49021527773
473B346985B395   ADELAIDA     DE JESUS OLIVA           OR          90012754698
473B37A8991569   IZABEL       FLORES                   TX          75090117089
473B4183391394   NICOLE       HANEY                    KS          29009741833
473B4845472B4B   TASHA        VIGIL                    CO          90015468454
473B489974B271   VICENTE      FOX                      NE          90013398997
473B5592177535   SARENA       WEBSTER                  NV          43097345921
473B5A81772B36   LAURA        CISNEROS                 CO          33057200817
473B635535B58B   ALOKA        ALEXANDER                NM          35062093553
473B6875155966   JOSE         MURILLO                  CA          90010768751
473B7896955966   DINA         RODRIGUEZ                CA          90013028969
473B844945B222   WAYNE        SIMPSON                  KY          90007764494
473B8862872B43   SIERRA       JACKSON                  CO          33053008628
473B8958A51334   MICHELLE     FLEHER                   OH          90014739580
473BB167855939   SIGHNE       RANGEL                   CA          49075561678
473BB81A38B355   KATHLEEN     MURRAY                   SC          90014668103
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4741166255B174   BRANDI       JOHNSON                  AR          23041116625
47411A2695B58B   NIKKITA      CRAIG                    NM          90014510269
4741296548B355   ESTHER       MUHAMMAD                 SC          11052139654
4741448252B27B   VICTOR       BEANER                   DC          90012034825
4741581694B259   GUADALUPE    SANCHEZ                  NE          90009098169
47416125A8B16B   JEFF         KNUDSEN                  UT          31013411250
4741673685B174   RICHARD      CONRAD                   AR          90012367368
474167A7172B36   DAVID        BENGE                    CO          90010467071
4741688428B355   SHAHIDAH     MUHAMMAD                 SC          11021138842
47416A35891569   AURELIA      ALIKHAN                  TX          75050600358
474173AAA91394   JEFF         BAGSBY                   KS          90014783000
4741843995B597   ISIAH        WINCHELL                 NM          90011834399
4741874834B531   HAROLD       THOMPSON                 OK          90002057483
474188A9572B4B   CHARLESTON   BLUE                     CO          90013928095
4741B292272B43   ROGELIO      IBARRA                   CO          90012812922
4741B35377B262   JESUS        HERRERA                  NV          90015213537
4741B8A234B52B   WEST         JONES                    OK          90010898023
4741B9A265B58B   RAUL         LUEVANO                  NM          90012229026
4742138258B16B   DONJA        CHANTHASACK              UT          31080753825
4742197638B14B   EDUARDO      ALMENDAREZ               UT          90013879763
4742457124B271   KIM          TIEDJE                   NE          27052545712
4742494342B935   AGUSTINE     LARA                     CA          45015629434
474258A3361967   AMY          DAVIS                    CA          90005868033
474261A9161967   OSCAR        GOMEZ                    CA          46008911091
474269A425597B   CARLOS       GONZALEZ                 CA          49060079042
47426A58971999   MELISSA      RUIZ                     CO          90010060589
47426A6358B355   ALBA         PENARRIETA               SC          90013830635
4742724585B174   ANDRE        AMOS                     AR          90000652458
47427445A4B259   VICKIE       GOBLE                    NE          90011124450
47427745A55966   ANDRES       SANCHEZ                  CA          90012917450
4742883448B355   PAUL         LITTLE                   SC          90012838344
47429257A5597B   GILLERMO     PARRA                    CA          90013952570
4742983715B926   PATRICK      WHITE                    WA          90009908371
4742B559155939   FERNANDO     RODRIGUEZ                CA          49078195591
4742B86295B222   SONYA        THORNTON                 KY          90007898629
4743139915B58B   PONCE        RICKY                    NM          90014303991
4743293798B654   ARACELY      LUNA                     TX          90014619379
47433A13555939   STEPHANIE    RODRIGUEZ                CA          90012980135
47433A7445B222   CHARLES      COOPER                   KY          90012330744
4743478345B53B   KAREL        RODRIGUEZ                NM          90014817834
474362A4A8B16B   FRANK        THATCHER 3               UT          31095572040
47436542A5B58B   CINDY        WELCH                    NM          35029665420
4743727395597B   MARTIN       ROSAS                    CA          90013952739
4743852865B174   CAMILA       SHELTON                  AR          90002695286
47438579972B4B   ISRAEL       IBARRA                   CO          90012945799
474391AA771999   PATRICIA     FAWKES                   CO          38041531007
4743B92418B165   CAMERON      HAM                      UT          90009459241
4743B93945597B   ARTHUR       CASTILLO                 CA          90009029394
4743BAA835B53B   SUSAN        GARCIA                   NM          35076170083
474415A885B222   MARIO        PALMA                    KY          90013845088
4744168378B16B   MATT         FINLINSON                UT          31002736837
4744218965B222   KENNY        WARREN                   KY          90015191896
474424A1372B43   NADIA        PEREZ                    CO          90013014013
4744384958B355   ALEXTIN      DAVIS                    SC          90013338495
4744451945B174   STEPHANIE    PORTIS                   AR          90006845194
4744548385597B   KEVIN        SANTIAGO                 CA          90014604838
474454A747122B   MARIO        MAGANA                   NE          90015514074
4744556315B53B   RAY          MAESTAS                  NM          90014715631
4744629785B174   TAKIYAH      KEMP                     AR          90014202978
474468A4791952   ELIZABETH    MEXICANA                 NC          90002108047
474473A9A47828   DEBORAH      BLASH                    GA          90007753090
47448948772B4B   MARIA        DELAROSA                 CO          90014299487
47449779924B55   ANA          COREA                    VA          90014197799
474499A8772B36   TODD         SMITH                    CO          90012259087
4744B137972B43   KATY         ROBINSON                 CO          90015091379
4744B2A425B174   JOSEPH       SITHONG                  AR          23082232042
4744B317261963   RACHEL       WILLIAMS                 CA          46044183172
474513A2355939   JACKIE       RAMIREZ                  CA          90002833023
4745159235B58B   FELICIA      SOTO                     NM          90013095923
4745188344B271   TERRIL       BROWN                    NE          27091698834
4745192888B355   SANDRA       LOPEZ                    SC          90009689288
474528A4A5B56B   SARALD       VALAQUEZ                 NM          90006838040
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47452A27571999   GUADALUPE   GUERRERO                  CO          38090040275
4745335A161967   COOPER      MARIAN                    CA          46084523501
474547A1593767   NICK        LOMAX                     OH          90010687015
4745497A191394   KAREN       RENTERIA                  KS          90010959701
4745545368B355   TENISHA     MIDDLETON                 SC          90010184536
47456719172B43   MICHAEL     MOORE                     CO          90015087191
4745784285B222   IRMA        BEKTIC                    KY          90004678428
4745814978B59B   MAGDALENA   HESIQUIO                  CA          90014071497
474587AA38B654   MELISSA     VASQUEZ                   TX          90015077003
4745895AA5B174   TERESA      GRIFFIN                   AR          90003059500
47459324372B4B   ALMA        CARTER                    CO          90001463243
474597A222B935   KARESS      WRIGHT                    CA          90004687022
4745B13645B56B   TONY        VIGIL                     NM          90013821364
4745B377672B36   VIRGINIA    PAZ                       CO          33049613776
4745B43478B156   LOZANO      DANIEL                    UT          90004274347
4745B452255966   NESTOR      URBINA                    CA          90001684522
47461156572B36   EDUARDO     LOPEZ                     CO          90015131565
47461487A5597B   ROGELIO     HERRERA                   CA          49086384870
47462274672B36   ANGELA      CASTRO                    CO          33052362746
4746252435B53B   ANTONIO     LOVATO                    NM          90003525243
47463247672B43   LISA        NIEBOLTE                  CO          33094782476
47463A99971999   JOHN        DURAN                     CO          90014550999
4746427443B351   JUANITA     MARUQEZ                   CO          90012572744
4746457575B53B   JENNIFER    TORRES                    NM          90014665757
47464736A55939   JOSE        VARA                      CA          90013807360
4746484AA55966   LILIANA     COVARRUBIAS               CA          90013208400
4746577654B251   ANDREW      KROGMEIER                 NE          90008337765
4746635A561963   ESTEBAN     CARRENO                   CA          46054913505
47466A28A24B55   ANA         BENITEZ                   VA          90013380280
474672A1961979   LUIS        SAINZ                     CA          90005562019
4746757595B174   ALL         ABOUT THAT LIFE           AR          90010085759
4746828A95B53B   ERNEST      REESE                     NM          90013982809
47468514372B4B   JOHN        DORCHAK                   CO          33039295143
4746957675B58B   JUANITA     MULLER                    NM          35018645767
474695A5872B4B   JORGE       SAENZ-RICO                CO          33054655058
47469A6235B222   LEA         BOARD                     KY          90011220623
4746B598772B4B   AMBER       SUCHANEK                  CO          33074955987
4746B63842B27B   MARIA       AMATO                     DC          81075576384
4746B923955939   MERCEDES    GONZALEZ                  CA          90014459239
4746B97A191394   KAREN       RENTERIA                  KS          90010959701
4747121A15B222   JUANA       PEREZ                     KY          90013962101
474715A918B355   JESUS       LOPEZ                     SC          90006835091
4747178A461967   JOSEPH      RAMIREZ                   CA          90012977804
474724A262B27B   EMERITA     MERCADO                   DC          90011434026
47472567472B36   MELISSA     HERNANDEZ                 CO          90012015674
474733AA351334   CHERYL      LACHMANN                  OH          66011393003
47473986772B36   LAURA       ARGUELLO                  CO          33090459867
47473A7558B16B   LUZ         NUNEZ                     UT          31071660755
47473A9952B87B   KIM         STOCKTON                  ID          41033360995
47474256672B4B   ROSSI       ROBLES                    CO          33085452566
47474864A71999   BERNABE     PENA                      CO          38003218640
4747521375B395   AUSENCIO    MATA                      OR          90008202137
474754A135B174   CARISA      SMITH                     AR          23063994013
474758A2672B36   WALKER      TODD                      CO          33036148026
4747721435B222   TINA        SEGO                      KY          90006972143
47477352372B43   JOSE        CARRANZA                  CO          90014853523
4747741512B27B   EMELINA     YANEZ                     DC          81019574151
47477447872B43   JOSHUA      MADRID                    CO          90013574478
47477A6812B87B   TODD        SALSBURY                  ID          41051540681
4747836398B16B   LUZ         SALAZAR                   UT          31087413639
47478AA5A72B4B   AARON       RANDLE                    CO          90010350050
47479A1A85B58B   FRANK       MONTOYA                   NM          35079540108
4747B28568B355   CHANDRIA    DICKERSON                 SC          90000992856
4747B52635B555   NINA        ROWELL                    NM          90013475263
47481221772B4B   ROBERT      ESQUIBEL                  CO          90008992217
474816A615597B   ESTEBAN     REYES                     CA          49002626061
47482263A61963   JONATHAN    SCHANEMAN                 CA          90012022630
47483327A5B174   ANTHONY     REED                      AR          90015313270
4748344472B27B   PHILIPPE    JOHNSON                   DC          90014954447
474838A9172B4B   BENNETTE    WATTS                     CO          33084498091
47483A7937B49B   AMY         ANDERSON                  NC          90001200793
47484115872B4B   TYRONE      BRICE                     CO          33041471158
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474863A9455939   JACKIE         HOMERIN                CA          49017343094
4748647878B355   CRYSTAL        DUGHLAS                SC          90013964787
4748656645B222   KELVIN         SHOULDERS              KY          68015155664
4748659795B259   SHARON         ROBBINS                KY          68094845979
47486873972B43   JESSIE         HANNA                  CO          90012138739
4748711638B16B   ARYANNA        GOALEN                 UT          90011581163
4748713395B53B   DIANA          MOLINA                 NM          35053491339
47489124172B43   MYRA           SECREST                CO          33008561241
4748915A655966   ROSA           VARGAS                 CA          90002491506
474893A755597B   CLAUDIA        RUIZ                   CA          90013953075
47489A7A291569   ELISHA         SERCKPOR               TX          90013290702
4748B242455939   KARINA         CORONA                 CA          90013992424
4748B511A91569   TOMAS          ARMENDARIZ             TX          90009775110
4748BA62372B4B   ANTONYA        RAEL                   CO          33088660623
474913A225B174   RAVEN          HUNTER                 AR          23025683022
4749164795B354   PATRICK        CULLOP                 OR          90007796479
474921A5651334   GARY           COLE                   OH          90008171056
4749268828B164   LISA           STUART                 UT          90003886882
474953A4672B36   MONICA         MENDEZ                 CO          90008653046
47496841A5B174   RUSSELL        RECOMETA               AR          23091138410
47496915A5B53B   DEBRA          SEGURA                 NM          35027319150
4749695315597B   MIRANDA        LOGAN                  CA          90011379531
4749772365B58B   MATTHEW        SHUSTER                NM          90015147236
474981A657122B   KEVIN          JOHNSON                NE          90015461065
474985A3155939   JOSE           SANCHEZ                CA          90012615031
474987A6384369   POLLY          JENKINS                SC          90007367063
474989A6971999   JOANN          ANSELL                 CO          38064329069
47499196772B4B   CHRISTINE      CREASON                CO          90013921967
47499394372B43   JAMES          SCHOENGARTH            CO          33025003943
4749B57442B27B   BYIM           KHAN                   DC          90012245744
4749B75484B259   ASHLEY         RANDELL                NE          90008717548
4749B789861967   JANETT         MEAVE                  CA          90012977898
474B1311661967   STEFANI        TONKIN                 CA          46044463116
474B1455872B4B   HECTOR         CASTANEDA              CO          90010254558
474B1489724B55   ELIZA          CORADO                 VA          90013884897
474B2472861967   MICHAEL        OLIVER                 CA          90013004728
474B2698591394   TAMMY          OJEDA                  KS          90014866985
474B2A33541222   WILLIAM        DUNLEAVY               PA          90010160335
474B311A372B4B   JOSE           LEYVA                  CO          33040251103
474B344A572B39   LARRY          OSLER                  CO          33067584405
474B355295B174   MICHAEL        MORGAN                 AR          90007335529
474B3746355939   CHRISTINA      ATREAGA                CA          90010627463
474B4155533B98   DORIS          CORLEY                 OH          90014581555
474B428992B27B   NY'JAH         WARREN                 DC          90012842899
474B4424A5B53B   VIRGIL         RICHARDSON             NM          35077184240
474B4A1A861967   STEVEN         BALLARD                CA          90015160108
474B5529472B4B   ELIZABETH      HEIDENREICH            CO          33063105294
474B553845B53B   DEBORAH        TRUJILLO               NM          90010815384
474B656855B222   CHRISTINA      HOLT                   KY          90013995685
474B693872B27B   TAMMY          JONES                  DC          81095649387
474B7381872B64   TONI           HART                   CO          90010353818
474B7A4422B27B   PAUL           JONES                  DC          90015300442
474B8213A8B165   SALESI         KATO                   UT          90012702130
474B883483163B   HEATHER        DAWN                   KS          90013968348
474B892268B165   SALESI         KATO                   UT          31030759226
474B944355B53B   LISA           GARCIA                 NM          90008814435
474B9A83961963   RICHARD        MARTINEZ               CA          90011210839
474BB15554B293   BRYON          GARDNER                NE          90002111555
474BB224191394   LUIS           MENDOZA                KS          90014252241
47511195A5B174   MASON          DAVIS                  AR          23058261950
47511A2A271999   RICHARD        LUCERO                 CO          38005060202
4751251435B222   SHERRY         TANNER                 KY          90007065143
47513286A5597B   ISIDRO         URIETA                 CA          90015222860
47513819A8B355   MARIA ISABEL   BARRALES               SC          90013828190
4751493562B27B   VIVIAN         KENDALL                DC          90014359356
4751534285B58B   JOHN           BANDEKA                NM          90015193428
4751535735593B   SHARIF         ALMAQALEH              CA          90009133573
47515A3565B174   KHAMERON       JONES                  AR          90013360356
4751744455B174   KATHERINE      HERRON                 AR          23043854445
4751826915599B   ALBERT         TORALEZ                CA          48094342691
475182A244B271   EDWARD         RIVERA                 NE          27084832024
4751864615B222   AUSTIN         HOFMANN                KY          90012086461
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47518AA2372B36   AOSZIA        HARRIS                  CO          90007890023
47519659872B43   SEAN          VANPORTFLIET            CO          33096136598
47519A3A25B222   JON           WELLS                   KY          68001440302
4751B1A7791569   MARIA         POLANCO                 TX          75086781077
4751B4A6455939   PATRICIA      GARCIA                  CA          90000214064
4751B565191988   FELIPE        CRUZ                    NC          17009915651
47521A22251334   APRIL         BANTA                   OH          66085800222
47522411372B36   DANIEL        MARIN                   CO          90015124113
475226A5661967   ANEL          SALCIDO                 CA          90011166056
4752377312B27B   RONALD        RAJAH                   DC          90010857731
47524946A61967   JESUS         GROVES                  CA          90001059460
47525318A8B355   OCTAVIO       VENTURA                 SC          90014713180
475254A5A8B355   MARILYN       MOORE                   SC          90010224050
4752577A661967   JOSE          RUIZ                    CA          46059097706
4752674972B27B   CARL          MAGRUDER                DC          90011727497
47527A51A5B53B   MAGDALENA     MARTINEZ                NM          90015220510
4752814885B222   WILLIAM       ALLEN                   KY          68052861488
4752826A372B4B   ZULEMA        JIMENEZ                 CO          33051602603
4752841425B174   TAMARA        SCOTT                   AR          90011144142
4752854994B271   HAILI         GRIFFETH                IA          27049435499
47528A6282B27B   TAMMIE        FELDER-HERRING          DC          81016720628
475291A2391873   WILMA         RIGGS                   OK          21041231023
47529538472B4B   DESTINY       SMITH                   CO          90010915384
4752B921591569   OLGA          OJEDA                   TX          90004969215
47531267972B43   RUFORD        CHAVEZ                  CO          90011942679
4753213A45B53B   NICOLE        STACKS                  NM          90014651304
47532915A55939   MARTINA       FLORES                  CA          49045059150
47532A92A71946   JONATHAN      RUFF                    CO          90008150920
4753314215B222   JEREMY        REITZEL                 KY          90014251421
47533A86555939   FRANCISCO     ORTIZ                   CA          49004780865
475348A1455966   FRANCISCO     PEREZ                   CA          49014008014
4753561645B222   YAIMY         REAL                    KY          90012946164
47535A89391394   JAYME         BELL                    KS          90011320893
4753619115B53B   DEVON         JOJOLA                  NM          90013491911
4753619675B174   MARCO         CHAIDEZ                 AR          90007551967
47536225172B4B   NICOLE        MILLARD                 CO          33056872251
47536435A72B36   IAN RAY       CHRESTMAN               CO          90013444350
47536A66A8B355   KENDRICK      HICKS                   SC          90004910660
47537A27755939   ASHLEIGH      HADDAD                  CA          90012980277
47537A6879152B   ROCIO         CROPP                   TX          75004970687
47537A72697B32   KAYLYNN       ADKISSON                CO          90001180726
4753891715B58B   LE            RUBIN                   NM          90001339171
475396A345B53B   CRYSTAL       GARCIA                  NM          90014536034
4753994795B174   JULIO         MORALES                 AR          90007279479
4753994A25B222   TARINA        TOWNSEL                 KY          90013889402
47539962172B4B   BERNARDO      VAZQUEZ                 CO          90001589621
4753B23913163B   SHELLEY       KEITH                   KS          22086292391
4753B7A2255955   VERONICA      CUEVAS                  CA          90012637022
4754145595597B   RAUL          LOPEZ                   CA          90010124559
47542373A71999   TINA          TORRES                  CO          38095563730
4754312944B271   AARON         CADDELL                 NE          90014491294
475432A518B16B   KATHLEEN      JOHNSON                 UT          90000332051
4754331525597B   JAIME         ROSAS                   CA          90013953152
4754461132B87B   STEVEN        FRANK                   ID          90009596113
47544A24761963   OISIS         JONES                   CA          90011470247
47545447872B43   JOSHUA        MADRID                  CO          90013574478
47547A9457B646   LISA          WILLIAMS                GA          90013850945
4754864765B58B   HUGO          ESCOBEDO                NM          90011246476
47548951572B43   JOSEFINA      PEREZ                   CO          90013239515
47549A26551334   ERICA         WILLIAMS                OH          90000300265
4754B32238B165   EUGENE        MCCLISTER               UT          90014703223
4755124292B27B   CHRISTOPHER   AGEE                    DC          90012462429
4755131585597B   ELIZABETH     MUGUERZA                CA          90013953158
47551928872B36   RICARDO       PENA                    CO          90011189288
4755238275B174   DEMETRIA      HENRY                   AR          90007003827
4755314645B58B   CARBAJAL      GEORGINA                NM          90015211464
47553231A5B555   MELISSA       BERNARD                 NM          90008552310
4755328532B956   ANTHONY       LUCERO                  CA          45074302853
4755427334B271   ISIDORO       MENDEZ RIVAS            NE          90000632733
47554325A5597B   SUSANA        DUARTE                  CA          90011793250
47554669672B36   BRIAN         GUERRERO                CO          33065746696
4755529995B395   JAMES         BROADDUS                OR          90010172999
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47556579A5B53B   ALVARO        LOZADA                  NM          90002115790
47556A3285B222   DAWN          SMOTHERS                KY          68099780328
47557A2658B165   NICKOLE       MARTINEZ                UT          31017500265
47558151772B4B   CARMEN        NUÑEZ                   CO          90012831517
4755888432B87B   LARRY         MCMILLEN                ID          41057268843
47558A53171999   REANN         TRUJILLO                CO          38083330531
4755985258B16B   NATALIE       GUTIERREZ               UT          90011728525
47561165172B4B   ELIDUVINA     ISLAS                   CO          33033311651
4756229378B16B   TALON         INTERNATIONAL           UT          90000422937
4756283A591394   DAWANNA       FANGOHR                 KS          90013158305
4756345997B422   HENRIETTA     GIBSON                  NC          90014954599
4756497145B53B   EMMA          GOMEZ                   NM          35065759714
475656A5261967   VICTOR        SOSA                    CA          90011666052
4756576775B58B   HERMELINDA    HERNANDEZ               NM          35016947677
475659AA374B8B   PAYGO         IVR ACTIVATION          OH          90013829003
47566145672B4B   MENDEN        GATES                   CO          90007651456
4756631915597B   ARASELI       RIOS                    CA          90013953191
4756735525B53B   ANGELICA      DIAZ-SOLIS              NM          90013963552
47567A4348B355   BRANDI A      STANCIL                 SC          90014160434
47567AA973B356   JASMINE       WEST                    CO          90013070097
475689A334B271   ARIZBEL       ALDAY                   NE          27062269033
4756951A24B271   DARCI         CIPOLLA                 IA          27021625102
4756984935593B   ATANULFO      GUERRERO CERVANTES      CA          90001028493
4756B336461547   MADISON       HILL-ROOT               TN          90015453364
4756B755755966   AMANDA        FRAUSTO                 CA          90012937557
4756B7A8572B38   PORFIRIO      SAUCEDO                 CO          90008517085
4757176664B271   ISIDRO        ALBA                    NE          90001317666
4757231895B53B   VERA          ABEYTA                  NM          35005763189
4757263327B367   LEONARDO      ZERFERMA                VA          90002176332
4757282635B58B   JONATHAN      SILVA                   NM          90014328263
4757286AA5B222   MARIA         ALVARADO                KY          90014818600
4757337995B53B   PAYGO         IVR ACTIVATION          NM          90012333799
475739AA791394   MERCEDES      STUART                  KS          29066749007
4757493845B174   VERONICA      WOMACK                  AR          23014229384
4757515945B222   JONATHAN      GUENTHER                KY          90014171594
475758A6391873   AMELIA        DAVILA                  OK          21040158063
4757637A44B271   MATISE        PAYTON                  NE          90011623704
4757729825B53B   JUANITA       OLIVOS                  NM          90014512982
4757737532B27B   JOYCE         SMALLWOOD               DC          90014823753
4757795375597B   REBECCA       WILLIAMS                CA          90011379537
4757797227B456   ROBERT        HERRINGTON              NC          90001809722
4757851552B27B   CARLOS        MCCREA                  DC          90012785155
4757868894B271   BRANDI        SOUSA                   NE          90011606889
4757917A472B43   ERICA         ROBLEDO                 CO          90010421704
4757948A891348   LORETTA       COPPER                  KS          90013064808
4757984875B58B   TRIXI         MARIE-PHAL              NM          90013328487
4757B388255933   KENNETH       WARD                    CA          90005803882
4757B3A493195B   MOSES         BOAKAI                  IA          90014593049
4757B3A745B58B   MARIA         HERNANDEZ-IBARRA        NM          90012033074
4757B687855966   JOUAQUIN      LOPEZ                   CA          90014256878
47582356372B43   LORENA        GONZALES                CO          90014853563
47582555772B4B   LAKESHA       HARRIS                  CO          33089465557
4758289A361967   WALTER        GIBBS                   CA          90014758903
4758326392B27B   SAUL          MEJIA VASQUEZ           VA          90010352639
4758349196B145   WILLIE        RANSOM                  MS          90015214919
47584A2628B165   BRADY         SEARLE                  UT          31051240262
47584A41A55966   GREGORIO      VASQUEZ                 CA          90013310410
4758562A18B355   JOHN THOMAS   ECCLES                  SC          90013136201
4758579345B53B   MIGUEL        SEDILLO                 NM          35039987934
47585A73872B4B   LUIS          VIVEROS                 CO          33053450738
4758633675597B   JOSE          RUIZ                    CA          90013953367
47586A4348B355   BRANDI A      STANCIL                 SC          90014160434
4758871588B654   MELISSA       VASQUEZ                 TX          90015077158
47588A4295597B   JULIA         XIONG                   CA          49050370429
4758922145B58B   LEEANNE       PANKEY                  NM          90009272214
4758B21253B37B   PHIL          BANKS                   CO          90011902125
4758B239A51334   LISA          RAVELO                  OH          90012252390
4758B41A661963   MARIA         CANO                    CA          90012994106
4758B864371999   CHARLENE      QUINTANA                CO          38036978643
4758B881A5B53B   DIANE         PEREZ                   NM          90012588810
4759127315B174   MARTELL       JOHNSON                 AR          90015212731
47591824A5B222   ELLIAN        HOWARD                  KY          90005228240
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4759215475B53B   JAMIE        BARTON                   NM          90011921547
47592536772B43   PHILIP       MUNOZ                    CO          90006415367
4759258A655966   LINDA        LOPEZ                    CA          90006405806
4759334575B174   DANIELLE     WARD                     AR          90009173457
475947A835B174   COREY        WALKER                   AR          90015167083
4759481849187B   MARTIN       DELGADO                  OK          90013018184
47596176372B4B   THOMAS       FELDER                   CO          33003961763
475973A775B58B   DIANE        MONCURE                  NM          90013133077
4759767725B174   JENNA        ROY                      AR          90014976772
47597A86455966   AURELIA      SANCHEZ                  CA          90002360864
47597A9914B271   MARIA        GONZALEZ                 NE          27047440991
475983A3461963   MELVIN       WINSLOW                  CA          90014583034
4759958825B53B   KENNY        SANDOVAL                 NM          90007595882
47599732A2B27B   NATHANIEL    SIMMONS                  DC          90014897320
4759B18424B271   KARMIE       COUGHLIN                 NE          90014931842
4759B3A5672B4B   GIRLBERT     DURAN                    CO          90014873056
4759B962591394   DWIGHT       TENPENNY                 KS          90012009625
475B115215597B   SHELLEY      POTTER                   CA          90014151521
475B155657B431   CHALMERS     BRANCH                   NC          11056375565
475B1568871999   DESIREE      GONZALES                 CO          38018075688
475B2153761967   MARITZA      ALARCON                  CA          90008631537
475B239A433662   DEVON        WILLIAMS                 NC          90005973904
475B2436255939   ODILIO       CORTEZ CORTEZ            CA          90013924362
475B25A185B53B   KATHERINE    BRYANT                   NM          90014815018
475B26A593B367   MARILYN      ALBRECHT                 CO          90002586059
475B275368B355   ELBERT       MCCOY                    SC          90014707536
475B3197961963   ROSE         RIGOL                    CA          90004181979
475B3274172B36   ANTONETTE    EVANGELISTA              CO          90005032741
475B355948B165   ZANDY        AMEZCUA                  UT          31094285594
475B3867651334   TITO         DILLHAUNT                OH          90010118676
475B3933772B43   LETICIA      GARCIA                   CO          90010309337
475B395358B355   TIMIRIA      JACKSON                  SC          90005919535
475B3A78991569   PABLO        MONCAYO                  TX          90008420789
475B4422971999   LAWRENCE     PHILLIPS                 CO          38077574229
475B4567191569   MELISSA      MELENDEZ                 TX          75032515671
475B46A932B27B   ASIA         EDMOND                   DC          90013996093
475B537414B271   ALEXIS       HARRIS                   NE          27076023741
475B5617684338   DONALD       SOUTER                   SC          14571406176
475B585A491394   ERICA        FRANKLIN                 KS          29049128504
475B599275B375   DAN          WOLF                     OR          90007199927
475B611145B174   TAMEEKA      BLANTON                  AR          23020871114
475B623115B597   MARGARITA    PARRA                    NM          35090002311
475B63A468B16B   MARK         SHIRLEY                  UT          31091343046
475B6614261967   ALEJANDRA    SOLEDA                   CA          90012556142
475B662A75B222   IGNACIO      HERNANDEZ                KY          90007916207
475B6642591569   BLANCA       NANEZ                    TX          75076806425
475B696648B355   VAN          MCCLINTON                SC          90008329664
475B788885B174   ADOLFO       RAMOS                    AR          90015218888
475B7A2255B53B   DRAVEN       JENNINGS                 NM          35012990225
475B9837255927   VERONICA     AGUILERA                 CA          90001518372
475B994245597B   DORA         RODIGUEZ                 CA          90014859424
475BB23622B395   MARIA        ROJAS                    CT          90014822362
475BB35A261963   TOMASA       VALENZUELA               CA          90013933502
476118A8472B36   MONICA       CARDINALI                CO          90012808084
476119A515B174   ALLISON      WALKER                   AR          23035529051
4761238A55B242   JAIME        RIVERA                   KY          90011443805
4761244892B87B   STEPHANIE    JOHNSTON                 ID          41015604489
47612628A2B97B   FRANCISCO    GUERRERRA                CA          90010776280
4761279715B58B   MAYA         MADERA                   NM          35026817971
4761383748B355   ISAIAS       MARTINEZ                 SC          11056738374
4761436245597B   KIMBERLY     POPIO                    CA          90013953624
4761559A172B4B   NANCY        GONZALEZ                 CO          33066635901
47616214A91569   JULIE        SAENZ                    TX          90014572140
47616A92171924   CARROL       STONE                    CO          90010510921
4761739A572B4B   JAMES        WATKINS                  CO          90012433905
4761754818B165   ROYBN        SCHULTZ                  UT          90002685481
4761786335B222   THOMAS       JACKEY                   KY          90015268633
47618A9875B333   NEZIB        SALGADO                  OR          90013620987
4761937A991569   KENDRA       VIGIL                    TX          90011623709
47619653A71999   BERNADETTE   SALAZAR                  CO          38006596530
47619672772B4B   CHERYL       SANCHEZ                  CO          33087486727
47619A7215597B   ROSALINDA    HERRERA                  CA          49020660721
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4761B937A91394   ALBERTA     PEREZ                     KS          29019779370
4761BA2988B181   MICHELL     LEON                      UT          90005300298
4762136122B828   BECKY       YOUNG                     ID          42006183612
476218A2A91394   TROY        STONE                     KS          90013658020
47623933572B4B   JENIFFER    EDMISTON                  CO          33089659335
4762591314B271   ANNETTE     BROWN                     NE          27062399131
47625A74191569   ADRIANNA    TARANGO                   TX          90013670741
476277A6872B4B   VICTOR      GARCIA                    CO          90009897068
47627A2928B355   SHERAUD     SAUNDERS                  SC          90015430292
476286A3691394   MATTHEW     MITCHELL                  MO          90008736036
4762872915597B   TONY        PHATDOUANG                CA          49065787291
4762926674B271   MASON       BEINS                     NE          90008872667
4762966422B29B   ONITTE      MCKINNON                  DC          90004546642
4762969875B222   HONG        NGUYEN                    KY          90015336987
476296A3691394   MATTHEW     MITCHELL                  MO          90008736036
4762991217B431   VIVIAN      SMITH                     NC          11058499121
47629A4915B174   CAROLYN     WILLIAMS                  AR          23001940491
4762B71422B27B   ALICE       JOHNSON                   DC          81056267142
4762B745555939   SANDRA      CERRATO                   CA          90014847455
4762B86A441233   BARBARA     RENFRO                    PA          90008768604
4762B922272B4B   REINA       NAVARRETE                 CO          90002089222
4763179455B58B   CRUZ        GONZALES                  NM          90012917945
476321AA84B271   JOHN        LUTH                      IA          90014561008
4763276598B594   FRANK       LAGATTUTA                 CA          90014337659
4763429132B27B   MARQUISE    MCCALL                    DC          90014862913
47634746A31449   OLIVIA      WINTERS                   MO          90012617460
4763494148B16B   JENNEY      BUCK                      UT          90006559414
47634A43555939   KA          VANG                      CA          90011330435
476357A2857126   GERARDO     VARGAS                    VA          90001097028
47635A8235B58B   GUADALUPE   AGUILERA                  NM          35080500823
4763637A171999   DUSTIN      DAVISON                   CO          90012583701
4763671898B165   ERIC        MIRANDA                   UT          90000767189
476374A165597B   MARTHA      MATA                      CA          90001044016
4763894255B53B   MELISSA     VALLEJOS                  NM          35023049425
4763915678B355   BERNA       SANTIAGO                  SC          90013611567
4763989435B174   MYRON       FINKLEA                   AR          23096678943
47639A3872B229   BEVERLY     MAGNUM                    DC          90003790387
4763B386155939   MARTIN      GOMEZ                     CA          49019463861
4763B498971999   ISAAC       LUNA                      CO          90013404989
4763B4A8A5597B   KATHY       SERRATO                   CA          49086824080
4763B644351334   DAVID       AHRMAN                    OH          66031256443
4763B812155966   SIDNEY      THEARD                    CA          90014178121
47641A14372B4B   RAY         TORRES                    CO          33050930143
476428A255B58B   ESPERANZA   RODRIGUEZ                 NM          90009838025
47642A4132B27B   MANYKA      GAITHER                   DC          90014810413
47643A15955939   ALFRADO     MORENO                    CA          49063450159
4764436515597B   LUIS        CASTRO                    CA          90013953651
4764474875B53B   COLT        SANDERS                   NM          35014037487
4764556658B355   NATHANAEL   HINES                     SC          90013965665
4764628964B547   COURTNEY    LEE                       OK          90008492896
4764635848B355   CHRIS       LANDFORT                  SC          90013303584
47646625572B4B   JOSE        MIRA                      CO          33099706255
4764675865B58B   YVETTE      LOPEZ                     NM          35078717586
47647A26891569   BRIANA      RAMOS                     TX          90012140268
4764888395B58B   BRUCE       GURULE                    NM          90013218839
4764916932B87B   CHRISSI     NORTON                    ID          41058031693
47649298898B25   CLARA       RODGRIGUEZ                NC          90011302988
4764929AA5B58B   MARISOL     HIELO                     NM          90009352900
4764B231855966   JULIA       RODRIGUEZ                 CA          90010742318
4764B298671999   AUDRA       CANO                      CO          90013242986
4764B49874B271   KERLYN      GIVENS                    NE          90013064987
4764B974355939   VERONICA    OCHOA                     CA          90008689743
4764BA11471999   CARI        ANAYA                     CO          90001440114
4765115858B594   SHAWN       LAFOUNTAIN                CA          90014561585
4765223915B391   CHAD        NELSON                    OR          44516672391
47652523672B4B   ORLANDO     PINZON                    CO          90005485236
476539A297B457   DARIUS      FLOWE                     NC          90008489029
4765422185B53B   OLGALERIA   FUENTES                   NM          90011092218
4765465A851361   JANEICIA    ALEXANDER                 OH          90005676508
4765497418B355   KAREN       MOSS                      SC          11023399741
4765524355B174   ANECIA      JACKSON                   AR          90005722435
4765553615B593   RICHARD     MCLELLAN                  NM          35008015361
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476558A5A72B43   OSCAR       HOLGUIN BUENO             CO          33074378050
4765697372B27B   QIANA       PETON                     DC          90002389737
47657A11872B4B   JOSE        CASTRO-VENEGAS            CO          90009610118
47657A53355939   BRIANNA     HERNANDEZ                 CA          90015050533
4765825522B27B   DEBORAH     LONG                      DC          90003682552
4765848954B271   SHAUNESSY   HENDERSON                 NE          90008174895
4765852155B174   CHARLOTTE   WEBB                      AR          90009135215
4765937285B174   QUASHONNA   EAST                      AR          90010493728
47659596A5B58B   MISTY       STEVENS                   NM          90013095960
4765B131291569   DIANA       MARQUEZ                   TX          75014541312
4765B19832B249   RUDOLPH     WALKER                    DC          81011861983
4765B36925597B   ESMERALDA   TISTA                     CA          90013953692
4765B391361963   DULCE       MARISCAL                  CA          90003203913
4765B468961996   JESUS       MURGA                     CA          90007944689
4765B863A61967   JOEY        POLIVDI                   CA          90012848630
4765B93812B27B   BENJAMIN    MCDANIEL                  DC          90009529381
4765B965351334   BRIAN       BROERMAN                  OH          66040239653
4766135615B222   BRITTANY    COLLINS                   KY          68019853561
47661A52A4B271   NFORMI      NGENGE                    NE          90009900520
47661A7A291569   ELISHA      SERCKPOR                  TX          90013290702
476642A6861967   MARIA       VASQUEZ                   CA          90002382068
4766511A35B58B   ROSA        CHAVEZ                    NM          90005551103
47665AA663B33B   KARLA       STEVANS                   CO          90009770066
47667273472B36   JOSE        SAENZ                     CO          90008632734
4766769785B58B   TINA        DURAN                     NM          35073946978
47667AA8772B36   FAVIANA     MARTINEZ                  CO          90013310087
47668448A55966   TAMARA      CRAWFORD                  CA          49037184480
4766981762B848   PATRICK R   SORENSEN                  ID          42000208176
47669A47661963   SILVIA      RODRIGUEZ                 CA          90008490476
4766B547A5B58B   RAUDEL      MARQUEZ-LOZANO            CO          90014885470
4766B69328B16B   GABRIELA    BASTIDAS                  UT          31002476932
4766B886555939   PABLO       DIAZ                      CA          49091248865
4766B944991975   REYMUNDO    SAMARIPA MORA             NC          90002099449
47671397172B36   ANGEL       COVARRUBIAS               CO          33008493971
47671843472B4B   GALE        FAUBION                   CO          90014268434
47672497572B43   SERGIO      RAMIREZ                   CO          33062134975
4767383875B174   ANTHONY     BURL                      AR          23092438387
4767384657B457   LE          GALLEGOS                  NC          90013958465
4767417798582B   CHRISTY     LYLES                     CA          46027401779
4767441445B53B   ANDREW      HUERTA                    NM          90006704144
47674788272B36   JAMIE       SHANKIE                   CO          90003527882
47676AA7672B43   WILLIAM     KRAMER                    CO          90013880076
4767817335B222   AMY         PITTMAN                   KY          90014411733
4767835352B27B   LAQUAN      BERRY                     DC          90002493535
476785A3591394   MELANIE     LATUCH                    KS          90013695035
476791A128B355   AMANDA      ROSSO                     SC          90012211012
47679399472B36   BENJAMIN    LOPEZ GUERRERO            KS          90001853994
4767B53912B27B   CHARLIE     WEGMAN                    DC          90014535391
4767B815461967   KRISTIN     SANDERS                   CA          90011118154
4767BAA9261967   DIBBIE      CAMARGO                   CA          90014030092
4768228445B58B   MARCIA      GALLEGOS                  NM          90014422844
4768374215B174   TAMMY       HENSLEY                   AR          23095257421
4768386562B828   LINDA       PYPER                     ID          90010888656
4768416319373B   MICHELLE    NOBEL                     OH          90014801631
4768462275B58B   GUMARO      ZAPATA                    NM          35054016227
47685156524B46   RICHARD     BYRD                      DC          90001451565
47685222A55966   PEDRO       RAMOS                     CA          90012982220
47686461A91992   SHABBIR     HUSSAIN                   NC          90009004610
476868AA65B58B   MARIO       FONG                      NM          90011958006
47686A3AA8B355   PATRICK     CARR                      NC          90010010300
4768778A92B953   LYNN        DESHAW                    CA          90008547809
47687815872B43   MARMOLEJO   JOSE                      CO          90007108158
476885A3591394   MELANIE     LATUCH                    KS          90013695035
4768891298B355   DUSTIN      ALFORD                    SC          11038999129
47688A2248582B   JOHN        STINSON                   CA          90012120224
47688A66221637   LEAH        REDICK                    OH          90015390662
4768933185B53B   LORENZO     LENTE                     NM          90007293318
4768957775B58B   MARIA       RODRIGUEZ                 NM          35024285777
4768B646171999   SANDRA      CARBAJAL                  CO          38097626461
4768B745155966   PAMELA      ESPARZA                   CA          49016437451
4769112998B355   SYDNEA      PATTON                    SC          90014791299
47691A8A172B43   OLIVIA      PORTILLO                  CO          33094150801
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4769232388B355   HEATHER       JONES                   SC          90014753238
4769249247B331   ANTONIO       DEL ROSARIO             VA          81043104924
47692A3A971999   ANGELIC       BACA                    CO          90000970309
4769458668B355   TONI          RUSSELL                 SC          90013965866
4769674225B53B   DEMETRIO      TRUJILLO                NM          90013707422
47696892972B35   RUDY          GALLEGOS                CO          33071908929
47696894172B4B   BARRON        FILEMON                 CO          33053548941
4769769488B16B   BOBBI         RICHTER                 UT          90010366948
47697797972B43   BRIAN         PHELPS                  CO          33018167979
4769799A44237B   DONNA         BIBLE                   GA          90008379904
4769818835B58B   DWIGHT        HELMICK                 NM          90011051883
4769894138B165   JOSHUA        CURTICE                 UT          31052829413
4769895278B355   JAMIE         PAUL                    SC          90014809527
4769918235B222   CHERYL        DANIELS                 KY          90003811823
4769B735A5B222   PAULINE       PEDRO                   KY          68061457350
476B119A591873   MICHELLE      SIDES                   OK          21043131905
476B1685172B4B   RAQUEL        ROSALES                 CO          33065806851
476B1693A55939   KEVIN         BREN                    CA          90014956930
476B19A735B222   FAUSTINO      GONZALE                 KY          90012379073
476B2148651334   CRYSTAL       TAYLOR                  OH          90000521486
476B2288751334   OSCAR         CHAVEZ                  OH          90015432887
476B3168591527   CLEOTILDE     LUCERO                  TX          90005671685
476B3169891569   NIKKI         SHAAR                   TX          75066371698
476B3322961967   JESUS         ARIAS                   CA          90013253229
476B3669461934   LADONNA       RICE                    CA          90010476694
476B3832455939   CRYSTAL       ALVARADO                CA          90007808324
476B561A15B174   CAROLYN       USSERY                  AR          23036306101
476B6153777535   GRACE         NDOLO                   NV          90012031537
476B622A671999   PHILLIP       QUINTANA                CO          90009592206
476B627445597B   JASMIN        LOPEZ                   CA          90014722744
476B6535751334   DAVID         RICHARRDS               OH          66006345357
476B6564A61942   GERARDO       ANDRADE                 CA          90010485640
476B6724A55966   GRABIELA      SOLIS                   CA          90013037240
476B7164961963   NOEMI         MARTINEZ                CA          46050161649
476B8327757149   DEANNA        VAUGHAN                 VA          90008523277
476B921342B87B   PEGGY         MOUNT                   ID          41040072134
476B923555B53B   CASTO         JONATHAN                NM          90003682355
476BB362971999   EDGAR         LUJAN                   CO          90013973629
476BB87585B222   LESLIE        WHITE                   KY          90013638758
476BB981491394   LARONDA       BOYD                    KS          90009259814
47711198772B4B   MICHELLE      GASCA                   CO          90001841987
477114A3372B36   JULIA         CHIHUAHUA               CO          90012834033
4771161645B222   YAIMY         REAL                    KY          90012946164
47712353272B36   GENE          JONES                   CO          33082683532
477142A1191394   LUIS MIGUEL   LEVARIO                 KS          90011412011
47714432A72B43   MONIQUE       BELEARDE                CO          90013814320
47715578172B43   WAYMAN        PATTON                  CO          33008575781
4771611352B266   CLARNESE      JACKSON                 DC          90010861135
4771617638B355   HAROL         HARDIO                  SC          90014181763
477166AA172B4B   BERNADETTE    AVALOS                  CO          33039426001
4771677185B58B   JO            VALENCIA                NM          35004127718
4771691152B27B   JASMIN        RUFFIN                  DC          90013809115
47717627A4B259   ROBERTO       SOLORZANO               NE          90007096270
47718A6324B271   ANA           SOMERS                  NE          90011940632
4772151875597B   CRYSTAL       BIBEROS                 CA          90008275187
4772199175B53B   ROBERT        ESPINOSA                NM          90006379917
4772218788B165   MAVIS         BLACKBURN               UT          31039211878
4772312A872B36   BRENDA        MCCLELLAN               CO          33032641208
4772383A38B355   HILARY        CANTY                   SC          11038728303
47723A15172B4B   PAMLA         JOFERSON                CO          90011330151
47723A21A93767   SHALAMAR      HENSLEY                 OH          90014650210
47724156A5B58B   ROGELIO       MARTINEZ                NM          90008751560
47724481572B43   ALE           MENDOZA                 CO          33006754815
47724A6A45597B   ELENA         SILVA                   CA          49097170604
4772538438B355   JENNIFER      CALZADA                 SC          90015383843
4772541874B259   DIANA         SOTO-CRUZ               NE          27062974187
477254A785597B   ADRAINA       PUENTES                 CA          90013954078
47725A11555966   ROCHELLE      BIEVER                  CA          49025620115
4772621473B394   JOSE          LOPEZ                   CO          90009732147
477262A6A4B271   CLINTON       FRITZE                  NE          90006612060
4772638568B355   ANIESHA       HEATH                   SC          90014183856
4772684715B53B   STEPHANIE     ROMERO                  NM          35026268471
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4772699445B222   MCKENZY      TUCKER                   KY          90014389944
4772B99448B16B   APRIL        RAINEY                   UT          90003649944
477311A912B87B   KANDICE      FINLEY                   ID          41046291091
47731563A72B43   LORI         HOWELL                   CO          33067345630
4773199A75B174   LANORA       KEEN                     AR          90012869907
4773252635B555   NINA         ROWELL                   NM          90013475263
47732755172B43   RAPHEAL      JOHNSON                  CO          33076587551
47733A3325B222   SHANNON      WHOBREY                  KY          90015100332
47733A8263B343   SHAN         GAMBLE                   CO          90012110826
4773517612B87B   HEZEKIAH     WHITE                    ID          90012961761
47735251A71999   KAREN        DEHERRERA                CO          90010062510
4773537A672499   TIFFANY      SCHAFER                  PA          90012423706
4773546259126B   GINGER       DOWNS                    GA          90005584625
477361A475B222   SHARON       BLANKENSHIP              KY          90014711047
4773657618B165   SIONE        PIKULA                   UT          31097405761
47736759A5597B   LORI         SANDOVAL                 CA          90010917590
47737359A55966   SILVIA       GAMINO                   CA          49058773590
477378A1391988   AYKIA        HANES                    NC          90005128013
4773791258B355   ANTHONY      BURRIS                   SC          90014749125
4773795355597B   ESPERANZA    FERNANDEZ                CA          90014859535
47738949A93755   ELIZABETH    DEAN                     OH          90012169490
4773956985B53B   MARIA        SANCHEZ                  NM          90002965698
4773B63345B58B   NORMA        PEREX                    NM          90013796334
4773B644754165   TINA         HOLBROOK                 OR          90011936447
4773B977955966   LEEAN        GORDILLO                 CA          90014789779
4773BA3A971999   ANGELIC      BACA                     CO          90000970309
4774155875B222   BRYSON       LIVINGSTON               KY          90014905587
4774236385B53B   JOELE        REEVES                   NM          90014093638
4774239795B53B   CHRIS        SALAZAR                  NM          90008933979
477427A485597B   ANGELINA     RAMIREZ                  CA          49001427048
4774375285B222   SEAN         MUDD                     KY          68043927528
4774411A52B27B   YVETTE       SMITH                    DC          81019451105
4774416245597B   SERGIO       GARCIA                   CA          49088091624
4774446825B388   HAROLD       CRAWFORD                 OR          90011804682
4774539734B259   NOEMI        CORTES                   NE          27076763973
4774597962B27B   NIKITA       THOMAS                   DC          90010009796
4774627265B58B   BOBBIE       STONE                    NM          90015002726
47746A76155966   MICHAEL      GRAY                     CA          90007880761
4774762A261963   GLORIA       BARBA                    CA          90011646202
47747864A5597B   NANCY        TEREJANO                 CA          90010588640
4774835358B165   ZACH         BAKER                    UT          90008393535
4774864375B53B   RASARIO      CARAVEO ESCALANTE        NM          90013836437
4774881122B87B   ELIZABETH    MICHAEL                  ID          41095068112
4774927314B271   JUSTIN       LITTLETON                IA          90014572731
4774948A551334   JOHN         MCPHERSON                OH          90010284805
4774B46435597B   JULAYNE      JORGE                    CA          90009884643
4774B527A8B141   KIRK         SHEPHERD                 UT          31027985270
4775173475B58B   MICHELLE     GLENN                    NM          90014877347
47751A69391569   LAURA        JARA                     TX          90011980693
4775283438B355   FRANCISCO    RODRIGUEZ                SC          90002008343
4775317A291394   BRENDA       MENDOZA                  KS          90005971702
477531A8941297   WILLIAM      EDEL                     PA          51066621089
47753777172B4B   ADAM         STENZ                    CO          33025597771
4775387573B351   CONNIE       BOWEN                    CO          90012478757
4775565824B271   COHILA       JORDAN                   NE          27085366582
47756142836B9B   MENDEZ       NINO FFR                 OR          90013761428
477561A8161963   MARY         DANIEL                   CA          46060071081
4775645465B58B   IRMA         PEREZ                    NM          90006574546
477586A255B222   TERESA       TALL                     KY          68098886025
4775893652B27B   EYVETTE      THREADGILL               DC          90013079365
47758A9834B271   WILLIE       BANKS                    NE          90001430983
477592A8461963   BLANCA       VALENCIA                 CA          90011972084
4775935748B355   JACQUELINE   BOOZER                   SC          90014733574
4775944635597B   LUCERO       EASTWOOD                 CA          90011604463
4775B23854B271   REYNALDO     MARTINEZ                 NE          27039622385
4775B294991873   SARA         SUAREZ                   OK          21033732949
4775B772955966   ASHLEY       HURDLOW                  CA          90014037729
4776229235B53B   AMANDA       HORTON                   NM          90000382923
47762AA935597B   IGNACIO      INIGUEZ                  CA          90000970093
477637A3A91569   ESMERALDA    DE LA CRUZ               NM          75077927030
47763974972B36   MARIA        MUNOZ                    CO          33036899749
47764475A72B4B   KRISTEN      GARCIA                   CO          33051064750
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47764573772B43   CHRIS         ALEXANDER               CO          33070075737
4776479A155966   JUAN          MALAGON                 CA          90011417901
4776496778B165   STERPHANIE    ALLEN                   UT          90002159677
4776541765597B   FELIX         MORALES                 CA          90013954176
47766736A5597B   KATHY         BERNASCONI              CA          90009857360
4776687265B58B   ANNMARIE      CHAVEZ                  NM          35062008726
477672A668B355   AMANDA        MCCONNELL               SC          90014792066
4776822425B222   CHELSEA       MYERS                   KY          90003292242
477687AA791873   LEVI          GOMEZ                   OK          90005827007
47768864457B97   MARK          WILLIAMS                PA          90014418644
4776B14A72B27B   CRYSTAL       SAUNDERS                DC          90001281407
4776B76166182B   JOHN          HOLMES                   IL         90015407616
4776B876855966   KAO           VANG                    CA          49079608768
4776B8A4272B36   JOSE          SAENZ                   CO          33091298042
4777142125597B   TOMMY         SANCHEZ                 CA          90013954212
4777172625B174   KURSTIAN      DAVIS                   AR          90014977262
4777198795B222   JERRI         BARLETT                 KY          90000199879
4777266A64B271   CHRISTOPHER   GLYNN                   NE          90013056606
47772683A5B53B   ELIZABETH     DIAZ                    NM          90003186830
477728AA271999   DESIREE       RUYBALID                CO          38073658002
4777292317B49B   ANA           MIRANDA                 NC          90012929231
4777373754B541   BRIAN         FAULKS                  OK          90014527375
4777377275B222   BRANDEN       THOMAS                  KY          90013247727
47773A95771999   TIM           HAWAKINS                CO          90003810957
4777425835B53B   ADAM          ARMIJO                  NM          90012322583
4777465A461967   JAMES         HYCZ                    CA          90014166504
4777488365597B   JULIANA       MORA                    CA          49029368836
477762A668B355   AMANDA        MCCONNELL               SC          90014792066
477763A124B531   SHERRY        FULTON                  OK          21550483012
4777666A93145B   CARLOTTA      VAUGHN                  MO          90005676609
4777737175B222   ROBIN         BLAKEMORE               KY          90014723717
4777838925B58B   ROB           LYDICK                  NM          90013413892
4777848675B53B   ANDREW        MARTINEZ                NM          90014964867
47778663A51334   JEFFRY        FLINT                   OH          90010456630
47779636372B23   CINTHYA       ARCHULETA               CO          90004216363
47781267A72B43   FELICIA       CHAVEZ                  CO          90007582670
4778149244B56B   SANDIE        CARLSON                 OK          90009484924
477826A415597B   JIMMY         CRUZ                    CA          49032716041
47782A2A82B87B   CHRIS         HAVEMANN                ID          41085720208
4778385712B342   CARLOS        BONILLA                 CT          90014458571
4778393738B355   DENITA        BURRIS                  SC          90011639373
4778479815B174   MANUEL        TERRASAS                AR          90012767981
47785A6928B16B   MIRANDA       ALLRED                  UT          31042910692
4778647158B355   DANA          SNYDER                  SC          90007404715
477869A762B27B   JAMESHA       CRAWFORD                DC          90015129076
4778734562B27B   WILL          GARCIA                  DC          90015403456
4778872265B53B   FELIX III     PACHECO                 NM          90010827226
47788931672B36   AYESHA        SMITH                   CO          33074399316
4778919425B58B   FRANK C       SANCHEZ                 NM          90009701942
4778974635B222   LINDA         GIBBS                   KY          90014267463
477897AA28B355   DENIS         NAVARRO                 SC          11051887002
477897AA771999   JACOB         BAXTER                  CO          90014367007
4778B18615B53B   IXZEL         ORTEGA                  NM          90010221861
4778B526491569   JOSUE         BARBOSO                 TX          75016225264
4778B639191873   FERNANDO      BUSTOS                  OK          21040146391
47791174872B4B   ANGELICA      CHAVEZ                  CO          33089351748
477915A8831959   SADE          MARTIN                  IA          90014775088
4779174298B355   LUIS          RODRIGUEZ               SC          90015067429
47791A22877538   JESSEE        FRYE                    NV          90004430228
4779246635B58B   VICTORIA      SOLAREZ                 NM          90013004663
4779293488B16B   EDGAR         GONZALEZ                UT          31057039348
4779412282B27B   ABDELLAH      MARGHICHE               DC          90002441228
4779421968B167   ADEN          LOPEZ                   UT          90013732196
4779549A691394   EVELYN        VELAZQUEZ               MO          29086084906
47795A2435B53B   ABEL          ROBLEDO                 NM          35060340243
47795A3A65B174   LATASHA       OWENS                   AR          23040900306
47796148572B39   GIOVANNINA    MURILLO                 CO          90013831485
47796644872B43   NORA          LUEVANO                 CO          33022506448
4779764785B551   JOHNNY        JARAMILLO               NM          90000836478
47798664572B43   HERMLANDO     NUNEZ                   CO          90012176645
4779871518B165   AMY           GILLETT                 UT          31062307151
47798783A72B4B   TIFFINY       HICKS                   CO          90014337830
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4779892445B53B   GUADALUPE   MARTINEZ                  NM          35077469244
47798A95771999   TIM         HAWAKINS                  CO          90003810957
47799828A91873   TAMRA       RUHMANN                   OK          21029998280
4779998912B27B   ERIC        BORTEY                    VA          90013699891
4779B126284336   ADAM        VAN HORN                  SC          90009971262
4779B27A561967   MICHAEL     MORRIS                    CA          90011982705
4779B827355966   ALBERTO     RIOS                      CA          90013698273
477B124665B58B   KARLA       ROJO                      NM          90004002466
477B1379691569   ELIZABETH   MEDINA                    TX          90014683796
477B1728755939   JUSTINE     REYES                     CA          90012457287
477B175695B53B   FRANCINE    GONZALES                  NM          90014837569
477B275388B16B   ROSE        AGUSTINO                  UT          90015007538
477B311268B165   LESTER      RANDALL                   UT          90006471126
477B3427424B35   STEPHAN     DAVIS                     DC          90012834274
477B3494361967   RALPH       SANDERS                   CA          90004784943
477B3498461963   GERADO      NUNEZ                     CA          90003794984
477B34A185597B   MIGUEL      MARTINEZ                  CA          90013954018
477B3A58A71999   STEVIE      MAESTAS                   CO          90010720580
477B43A1851361   CRYSTAL     JONES                     OH          90005853018
477B4782272B4B   AMANDA      TRUJILLO                  CO          90014447822
477B534245597B   VANESSA     CASTRO                    CA          90010313424
477B5529285825   CHARLENE    BAASKE                    CA          46085715292
477B646A85B58B   ANTHONY     BAZAN                     NM          90000714608
477B6995472B4B   SARAH       TRUJILLO                  CO          33006039954
477B6A79872B4B   SARAH       TRUJILLO                  CO          90012400798
477B718754B271   AMANDA      SCHULT                    NE          90014911875
477B7768955966   ROMAN       DE LA ROSA                CA          49004947689
477B8665555966   MARIO       NAVA PEREZ                CA          49000326655
477B888655B222   SHELLIE     SETTLES                   KY          90012238865
477B9258555939   ARMENTA     MONICA                    CA          49008852585
477B9A2867B63B   JOHNNY      ANDERSON                  GA          90011410286
477BB484A91394   JASON       WHITELEY                  KS          90013424840
477BB952451334   MICHELE     GARRETT                   OH          90003439524
4781136155B174   BRIAN       SMITH                     AR          90014493615
47812928A91394   LENKA       BROWN                     KS          29088089280
47813A84391549   LAURA       HERNANDEZ                 TX          90005100843
4781446228B16B   JASON       GREGERSEN                 UT          31000364622
47814891A91873   KATHY       PASSMORE                  OK          21019208910
478151A388B355   ALEXIS      HEMPHIL                   SC          90010331038
4781613544B271   JASON       STICKNEY                  NE          27089871354
4781645648B355   LILIANA     ROMERO                    SC          90014064564
47818223A41455   EMIGDIO     VERA FLORES               WI          90010972230
47818266172B43   JON         SCHAEFER                  CO          33003592661
4781945187B461   LAWANDA     RAZOR                     NC          90014944518
47819622872B43   SANJUANA    RAMOS                     CO          33096116228
4781B448761925   JASON       RAMOS                     CA          90007104487
4781B712455966   TABITHA     BAKER                     CA          90004387124
4781BA5598B16B   JONI        CASE                      UT          90011870559
47821A74591394   ALEX        CAMPOS                    KS          90000240745
4782312A591569   IVONNE      GARAY                     TX          90011031205
4782318AA71999   ALFONSO     TRUJILLO                  CO          38057971800
4782394A285931   VERONICA    HINTON                    KY          90002159402
47823A8A45B174   CARLTON     HENDERSON                 AR          90013430804
47824769172B4B   ERIKA       RICH                      CO          90012587691
47824A62891569   MICHAELA    SCHMIDT                   TX          75035050628
4782513995597B   ANA         REYNOSA                   CA          90010371399
4782583645B53B   DAKOTA      WILLIAMS                  NM          35008538364
4782594658B16B   REBECCA     HANSEN                    UT          31058149465
47826578272B43   SHA DAWN    SHULER                    CO          90014195782
47827515772B43   JUAN        ORTEGA                    CO          90005755157
47827A54A55939   TRICIA      SULLIVAN                  CA          90004500540
478284A525597B   JACKIE      DAVIS                     CA          90011454052
4782975695B58B   ADRIANA     JACQUEZ                   NM          35003197569
4782976A155939   TAMMY       TORNO                     CA          49090227601
4782987342B27B   WILLIE      WILLIAMS                  DC          90008958734
4782997265B222   TIFFANY     WILSON                    KY          68062469726
4782B867984368   TOMASA      DIEGO BARRERA             SC          14527748679
4782B89825597B   CARLOS      TREJO                     CA          49068718982
4783175494B523   LEKEYTHA    DUKES                     OK          21585347549
4783335764B271   JA RELL     BANISTER                  NE          90015323576
478341AA761967   ADAM        LABLANCE                  CA          90012261007
4783436935B174   TAMATRICA   BONTON                    AR          23061653693
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4783482788B355   LOGAN         QUEEN                   SC          90013188278
47834A1738B59B   GABRIEL       GARAY                   CA          90014100173
4783556425B58B   DAVID         KUTICKA                 NM          35074585642
4783557468B355   SARENA        CUNNINGHAM              SC          90001955746
4783617558B355   PAYGO         IVR ACTIVATION          SC          90009721755
478361A885B53B   GAVALDON      CECILIA                 NM          35031221088
478365A2971999   LAWRENCE      VIGIL                   CO          90009805029
47836A79155966   JEANETTE      HERNANDEZ               CA          49080930791
4783742398B355   ALEXIS        MCINNIS                 SC          90015204239
4783762665133B   JAMES         GARNER                  OH          90000886266
4783769635B58B   LYNNAE        ATKINS                  NM          90002876963
478376AAA57126   JENNIFER      DAVIS                   VA          81072986000
47837846A2B27B   ANGELIC       ANTHONY                 DC          90010008460
47837871A8B14B   ALBERT        PURSER                  UT          31087158710
478398A425B53B   PATRICIA      ROCHA                   NM          90002818042
4783B516191394   LISA          DAVIS                   KS          90006635161
4783B755A72B43   MARIA         NAVARRO                 CO          90002327550
47841212472B4B   GREGORY       UPTERGROVE              CO          33001042124
47844A1865B58B   EVA           MUNOZ DE GARCIA         NM          90006840186
47845251172B4B   CRUZ          MARQUEZ                 CO          33047892511
4784528A791569   JACOB         GOMEZ                   TX          90011502807
47845597772B43   MICHAEL       WELLS                   CO          90008785977
47845A53991988   JESSICA       OCHOA                   NC          17017520539
4784697715B53B   MARLENE       NUNEZ                   NM          35072679771
478481A3961996   ROBERT        SCHOFIELD               CA          90008181039
47848A8A45B58B   DESIREE       MEDINA                  NM          90011250804
4784963842B27B   MARIA         AMATO                   DC          81075576384
47849A75351334   MICHAEL       BOLING                  OH          66033160753
4784B22A291394   JULIO         MIRELES                 KS          90014742202
4784B83112B27B   DWAYNE        SMITH                   DC          81084948311
4784BA28372B43   CECILIA       LEBERMANN               CO          33044340283
4785133358B16B   AFRIM         QERKINI                 UT          90008193335
4785265545B174   TIA           WALKER                  AR          23005846554
478532A7A8B167   GARY          WINN                    UT          90012572070
47853A22872B4B   EDWARD        DUANE                   CO          90011330228
4785585645B58B   PHILLIP       MARTINEZ                NM          35081958564
478559AA68B355   STEVEN        ANTHONY                 SC          90014239006
47855A36A91569   CAROLINA      CONTRERAS               TX          90012380360
47855A5775B222   CHRIS         MAGUIRE                 KY          90012020577
47856818272B36   LINDA         MORRIS                  CO          33036148182
47857368A5B58B   LEONARD       SANCHEZ                 NM          90013773680
4785759A372B4B   JUDY          EDWARDS                 CO          90006325903
4785773A671999   JOLENE        OTERO                   CO          38042767306
4785778735597B   TIM           TORRES                  CA          90013157873
47858272A5B174   JEREMY        GREEN                   AR          90013092720
478591A3755939   JEANETTE      FELIX                   CA          90012801037
4785B249851334   RICHMOND      ANINAGYEI               OH          90013362498
4785B26374B259   JAYLIA        MAIMS                   NE          27091592637
4785B735451334   LANI          WILLIAMS                OH          90008857354
4785B931491569   RAMON LOPEZ   MUNOZ                   TX          90006529314
4786124778B355   EDUARDO       MALDONADO               SC          90014892477
4786139418B16B   DANIEL        POLLARD                 UT          90011743941
47861812172B43   LEANDRO       LOPEZ                   CO          33050448121
4786357415B174   OSCAR         BERMUDES                AR          90011145741
4786536533B388   CONI          WHITE                   CO          90010473653
478653A795597B   MERCEDEZ      SHERVEM                 CA          90013983079
4786568915B53B   JOSE          PEREZ JUAREZ            NM          35082716891
47865773872B4B   JAKE          BLACKBURN               CO          33096977738
47866235872B43   AONIE         MCGINISTER              CO          33084742358
4786671765B174   MARTHA        LEYVA-SILA              AR          90002257176
478668A965599B   KIM           ENS                     CA          48078698096
4786711615B53B   JERRY         UHLIG                   NM          90000581161
4786818749152B   ALBERTO       GALLEGOS                TX          90006461874
4786847A32B87B   RYAN          MACKEY                  ID          41004814703
4786882AA8B165   TERESA        NIELSEN                 UT          90000768200
4786972945B174   LAKESHIA      WILLAMS                 AR          90014897294
4786B114A5B58B   GARY          COX                     NM          35006931140
4787191322B92B   NICK          HARVEY                  CA          90010179132
47871A28855966   SARAH         BELLINTER               CA          90002790288
4787227A95B58B   MIGUEL        SALAZAR                 NM          90000762709
4787445852B27B   JAMAR         BUSH                    DC          90012484585
47874984372B43   MARISOL       JUAREZ                  CO          90003779843
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4787548115B58B   AMERICA         SALAZAR               NM          35080084811
4787573382B27B   DANDRIA         HILL-BURNO            DC          90009747338
4787625518B165   TYSON           PERKINS               UT          31018952551
47876791A55966   MAGDAI          MARTINEZ              CA          90008507910
478781AA671921   JAMES           EDGERTON II           CO          38050091006
478791A675B58B   MARICELA        MIRANDA PADILLA       NM          90012431067
47879676672B4B   JOSUE           OLIVAS                CO          33061566766
4787996984B546   EVERETT         CARROL                OK          90005729698
4787B43A572B43   MONICA          ENRIQUEZ              CO          90012244305
4787B867355939   DANIEL          GOMEZ                 CA          90011018673
4787BA16A71999   STACY           PAULSEN               CO          90015150160
4788234725B53B   TARA            MCCOOK                NM          90010613472
47883946972B4B   HELEN           MORAN                 CO          33091619469
47885358872B43   RAQUEL          PEREZCEDILLOS         CO          33002933588
47885519972B36   JAMES           DUNCAN                CO          90012865199
4788586145B53B   LINDSEY         MARTIN                NM          90012908614
4788616575B222   GARNISHA        SANFORD               KY          90006021657
47886545872B4B   ELIZABETH       TERRONES              CO          90013165458
4788688562B87B   JIM             BLY                   ID          41015988856
47887455A8B165   MELANIA         MARCIAL               UT          90005324550
478879A3591569   ALEJANDRO       LARA                  TX          75010699035
4788B22965B174   SHAKELA         EDWARDS               AR          90010292296
4788B58384B259   JENNIFER        MAPES                 NE          27072135838
4788B88264B271   ACHIRO          CHRISTINE             NE          90011128826
4788B895355939   VERONICA        LEAL                  CA          90014178953
4788B967151334   MELISSA         SHERMAN               OH          90010219671
4788BAA7355939   JIM             MAZZI                 CA          90007420073
47893A2832B27B   DAISY           DAVIDSON              DC          90008740283
47894679A4B271   DAVID           BURTON                NE          90007026790
478946A685B551   NANCY           GONZALEZ              NM          90012256068
4789494445B222   CHERYL          MCGAHEY               KY          68001439444
47894A41172B43   PATRYK          HOLLY                 CO          33075980411
4789598925597B   ZACHARY         CALKINS               CA          90012109892
478961AA372B4B   JAMES           SIX                   CO          33037461003
4789658252B27B   SHERINE         ROBINSON              DC          81087465825
47896A4218B355   ASIA            BURKETT               SC          90010210421
47896A6864B271   TARA            BARNES                NE          90000790686
47898853672B36   ANA             AMAYA                 CO          90002948536
4789889185B174   TRAVIS          OLIVER                AR          90013928918
4789B453491569   EVA             MORENO                TX          90001664534
4789B747A61967   SPENCER         LABADY                CA          90013167470
4789B84465B222   CHRISTIANE      YOPP                  KY          68083968446
4789BA1156182B   DICK            WILLIAMS               IL         90015600115
4789BA9588B16B   JENNIFER        COOMER                UT          90010330958
478B139829373B   DANIEL          WIERZBA               OH          90004183982
478B1428955966   ALEJO           TALAVERA              CA          90011984289
478B1539151334   ASHLEY          RIDNER                OH          66007945391
478B216482B27B   MAYRA           LAZO                  DC          90005561648
478B2342261966   ROBERTO         PACHECO               CA          90008893422
478B2562561945   JOSE ARTURO     FLORES                CA          90010545625
478B2A82572B43   JANET           HUSCHER               CO          90009030825
478B337712B27B   RAESHAWN        BUIE                  DC          90012483771
478B4159255966   AVIGAIL         IBARRA                CA          90009971592
478B4195155927   ELVA            GUZMAN                CA          90011961951
478B4774A55939   SERGIO          NAVA                  CA          90012607740
478B4827591394   SANDRA          VERBENA               KS          90013498275
478B499528B355   LAQUANDA        ROBINSON              SC          90012939952
478B587824B271   JOLENE          JARILLO               IA          90013798782
478B6855A91394   RAJWINDER       KAUR                  KS          90013498550
478B78A9172B4B   MARIE           ARCHULETTA            CO          33002258091
478B814938B16B   ANDRES          VARGAS                UT          90011741493
478B871A961963   VICTOR MANUEL   PACHECO               CA          90013087109
478B886A971999   JOSEPH          KAUTZ                 CO          90008938609
478B9217971999   RONALD          VALDEZ                CO          90015262179
478B938875B58B   KEVIN           FOTI                  NM          90014923887
478B943834B271   JODIE           PARNELL               NE          27078144383
478B9621172B36   JESUS           ROBELLADA             CO          33072156211
478BB16A472B4B   HERMAN          STOCKTON              CO          33037841604
478BB27865B551   ARNOLD          CHAVEZ                NM          90002852786
478BB47A572B36   RAMONA          CHANDLER              CO          90005604705
478BB55744B52B   SALVADOR        BOLANDIOS             OK          90010925574
478BB6A6771999   JASON           ARCHULETA             CO          38016956067
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4791336372B27B   WALTER        ROMERO                  DC          81017903637
47913662A5597B   LETICIA       CHAVEZ                  CA          49083136620
47914A74491394   APOLO         GARCIA                  KS          90012620744
4791526862B27B   JERRY         BLACKSTON               DC          81019732686
4791615675597B   EMILIA        PATINA                  CA          90006471567
4791716A72B948   MATTHEW       BROWN                   CA          90014241607
4791743578B59B   JOSE          HERNANDEZ               CA          90013794357
4791747234B259   JESSICA       CARR                    NE          27085434723
479177AAA8B16B   ANDREA LEE    STEELE                  UT          90011747000
4791829315B53B   JAZMIN        JARAMILLO               NM          35060842931
479191A6391569   CINDY         SOLIS                   TX          75020291063
4791928448B355   COLEMAN       WILLIAM                 SC          90014262844
479193A125B53B   EMMA          LOPEZ                   NM          90011733012
4791974315597B   GENO          SAMS                    CA          90000717431
4791B216872B43   NIKORA        SHELLMAN                CO          90014942168
4791B4A568B355   NATANYA       WALLACE                 SC          90006174056
47921474A72B36   SHAWN         MCGETTIGAN              CO          90015194740
4792153A45597B   EFRAIN        CORTEZ                  CA          90013955304
4792161665B222   BARBARA       BARNHISEL               KY          90012936166
4792283215597B   NORMA         LOPEZ                   CA          90012108321
479229A7872B4B   DALE          DETER JR                CO          33069709078
4792351A75597B   LAURA         REYES                   CA          90009135107
4792387352B27B   EDITH         MENJIUAR                DC          90012628735
4792467814B271   LISA          RAYNA                   NE          90012386781
4792484565B174   G             STACKS                  AR          90013968456
47924A6538B165   SARAH         DANIEL                  UT          31069860653
4792526A855966   HADEER        SALAMEH                 CA          90014722608
4792562725B58B   JOSE          LUCIO                   NM          35078116272
4792594128B16B   ALEJANDRO     MARTINEZ                UT          31079019412
4792834785597B   CRUZ          PINEDA                  CA          49041773478
47928816A4B271   KENDRAE       SNOODY                  NE          90013868160
479289A8855939   TRAVEESA      WILLIAMS                CA          90011019088
479295A5651334   MANDY         STONE                   OH          66061735056
4792B136951326   ADAM          HONERKAMP               OH          90011521369
4792B692855939   KENNETH       HEARST                  CA          90014316928
4792B789A63B67   DONNA         LOKIETKO                 IL         20568427890
4792BA22161967   NICOLE        GRACIA                  CA          90012290221
47932917172B36   OFELIA        CASTILLO                CO          90013249171
47932A6445B53B   JULIAN        CHAVEZ                  NM          90013690644
479331A7A5B53B   DORA          MARQUEZ                 NM          35015351070
4793389138B355   JALISA        MASSEY                  SC          90005328913
47934346A2B27B   KEVIN         JOHN                    DC          90013323460
4793466AA5B222   PRECIOUS      HEREFORD                KY          90014136600
47934A2665597B   CHAI          XIONG                   CA          90000970266
4793513A772B43   GABRIELA      GALLAGA                 CO          90002611307
47935A96172B36   PEGGY         ANN NOFFSINGER          CO          90002210961
4793657238B355   JILL          DULTON                  SC          90010025723
47936A83872B43   SILVIA        GONZALEZ                CO          33077180838
47937477A5B58B   JOSE          SANCHEZ                 NM          90007094770
4793827945B53B   JOSEPH        LIND                    NM          35003042794
4793874482B229   CHARLISA      MARTIN                  DC          81004257448
4793879118B355   GARRET        GRAITHER                SC          11087657911
47939379672B4B   JANICE        BADGETT                 CO          33092623796
47939A43772B36   ELSA          MARES                   CO          90006630437
4793B34A791394   JOHN          LAUVER                  KS          90003073407
4793B73135B174   PAULINO       PEREZ                   AR          23084997313
4793B79622B87B   ELIZABETH     COOK                    ID          41084697962
4794119835B53B   JESUS         RASCON                  NM          35071971983
47941995A72B36   ALICIA        LOPEZ                   CO          90000109950
4794233A561953   CRAIG         HUNTSBERRY              CA          90012603305
4794293822B27B   SABRINA       DANDIRDGE               DC          90009279382
4794317A25B174   LATREACE      MCPEARSON               AR          90002811702
4794322344B526   MELISSA       HERNANDEZ               OK          90004762234
4794327A991569   ISABELA       ARCHULETA               TX          75016362709
4794353A45597B   EFRAIN        CORTEZ                  CA          90013955304
479435A5A91394   BRETT         WILSON                  KS          29024865050
47944198872B36   MAXIMILLIAN   FRESQUEZ                CO          90012041988
4794435A85B174   SHAWNA        CARR                    AR          90013583508
479443A782B27B   PAUL          LEWIS                   DC          90013763078
47944612A91394   ALEJANDRA     GARCIA                  KS          29028236120
4794465618B355   CALVIN        MASSEY                  SC          11047336561
47944979872B4B   ROBERT        BARKER                  CO          33096719798
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4794541A35B58B   JUSTINE           VALDEZ              NM          90006024103
479455A8393755   ANGELA            PERRY               OH          90006195083
4794564815B174   YOLANDA           DICKERSON           AR          90008926481
479486AAA61963   SCOTT             CARLSON             CA          46013836000
47948A1554B271   CHRISTINE         ROMERO-VERA         NE          90005600155
479492AA551334   CHARISSA          SCURLOCK            OH          90014102005
4794931988B836   PIUS              CASIANO             HI          90015083198
4794B42118B355   LATISHA           ANDERSON            SC          11026104211
4794B4A965135B   RASHEDA           MURPHY              OH          90008744096
4794B826355966   LUPE              FOX                 CA          90013178263
4794B85485B222   STACY             FRENCH              KY          68035108548
4794B965991988   JOYCE             PHILLIPS            NC          90006469659
4794BA1539183B   ANDREA            BURGESS             OK          90012330153
4795117A991569   ORALIA            RIOS                TX          90011471709
4795199A15B222   BRETT             ADKINS              KY          90010789901
47951A51A5B53B   MAGDALENA         MARTINEZ            NM          90015220510
4795217A62B283   RENEE             BELL                DC          90007821706
4795235A661963   MERVIN            REYES               CA          90005703506
479536A5A55939   BRITTANY          MENDONCA            CA          90014566050
4795448115B58B   AMERICA           SALAZAR             NM          35080084811
4795611184B271   TONY              THOMPSON            NE          27091481118
47956A13A91569   MARIA             RODRIGUEZ           TX          75009790130
4795737765B222   PHILLIP           SULLIVAN            KY          90013773776
47957A8438B165   CHARI             RAYNE               UT          31079770843
4795B294A5B53B   MAXINE            VALENZUELA          NM          90014502940
4796171AA8B355   ROBIN             CLIFTON             SC          90009157100
4796176765B53B   ROBERTO           CUEVAS RICALDAY     NM          35019467676
4796278578B355   SHASHAUNNA        BRADLEY             NC          90014867857
47962A8A272B4B   LUZ               ARIAS               CO          90009150802
47963866A72B43   EDILFONSO         BALBUENA-BALBUENA   CO          90012248660
4796474A95B174   JOSE              GALLEGOS            AR          90013427409
47964858572B43   JILL              REMIGIO             CO          90004118585
4796524562B27B   MODUPE            SALAAH              VA          90012172456
47965A5A85B58B   RENEE             LAJEUENESSE         NM          35013850508
4796644A155966   AMBROSE           FLORES              CA          49010784401
479665A9472B4B   NEHEMIAH          TREJILE             CO          33014535094
47966853172B36   JAVIER            CASTILLO VALLE      CO          33086838531
47966A9845B53B   ALMA              TERRAZAS            NM          90006690984
4796967A68B16B   STACEY            ORWAN               UT          31081796706
47969A3885597B   EVER              BERMUDEZ            CA          49030100388
4796B391772B4B   NAVARRETE         JASMINE             CO          90010743917
4796B78578B355   SHASHAUNNA        BRADLEY             NC          90014867857
479712A6384371   JANETTE           CAMPBELL            SC          90005182063
4797154435597B   EDDIE             NIXON               CA          90013955443
4797231852B27B   DONTE             POE                 DC          90014713185
4797258A251348   ANGELA            LEWIS               OH          90013335802
47972668472B4B   MONICA            FERNANDEZ           CO          90011476684
4797326718B355   HEATHER           CANNON              SC          90014252671
4797334A555966   BERNICE           AHUMADA             CA          49087593405
4797465498B169   DANIEL            MEZA                UT          90008206549
47974AAAA4B271   VIOLET            GOODWIN             NE          27090420000
479754A1471999   ELIZA JARAMILLO   JARAMILLO           CO          90011994014
4797588A831432   V                 ROBERTSON           MO          90009098808
47975929A8B165   JAYMIE            CHANEY              UT          31059829290
47975934172B36   DONALD            PEIFFER             CO          90007589341
47976156972B36   JOSE              RIVERA              CO          33027741569
4797771854B271   MICHELLE          LOVELACE            NE          27000487185
47977A7148154B   LUKE              MATRAS               IL         90000800714
4797913934B271   BECKY             SCOTT               NE          90010221393
479792A7861967   PAUL              ACCARDO             CA          46010332078
4797B38528B165   EBENEZER          AUTO REPAIR         UT          90004093852
4797B54435597B   EDDIE             NIXON               CA          90013955443
4797B993891569   JUAN              RODRIGUEZ           TX          90007059938
47981722A5B53B   KAREN             WILSON              NM          90015587220
4798176544B271   DANA              PENNING             NE          27001457654
47981A78951334   MAIA              JOHNS               OH          90009380789
4798381355B53B   JORGE             ESCOBEDO-ALONSO     NM          90013518135
4798383AA5B222   DIAHANNE          WOODFORD            KY          90013988300
47983A51A5B53B   MAGDALENA         MARTINEZ            NM          90015220510
4798511827B452   BRITTANY          WILSON              NC          90001231182
4798529A25B53B   LORINDA           CASTILLO            NM          90010992902
4798715162B27B   LEOPAULDO         PARKER              DC          90012861516
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47987A54461963   JOHANA          RUBIO                 CA          90007800544
4798819472B895   TRAVIS          LOGSDON               ID          90000671947
47988821A8B165   SHERRY          MONGER                UT          31004798210
479896A7A5B53B   HERNANDEZ       MIRELLA               NM          35093986070
4798B25575B53B   ROBERTO         DE LA CRUZ            NM          35071882557
47991397772B43   NATALIE         BAUMLE                CO          90006893977
4799148635B372   DARROLL         DECKER                OR          90013124863
4799229395597B   JOSH            WESTON                CA          49001872939
47993554A91523   R               MARIA                 TX          75057125540
4799362165597B   DANIEL          BAKER                 CA          49017756216
4799451425B58B   JUAN            SANDOVAL              NM          90014805142
4799478745B222   SAMANTHA        BALLENGER             KY          90006067874
4799524898145B   STEEVIN         RUIZ                  PA          90015352489
479954A5461963   LIZ             FLORES                CA          46047914054
47996328172B43   ANTHONY         TRUJILLO              CO          90014793281
4799654635B395   BRIAN           PARMER                OR          90003025463
4799663115597B   PORFIERO        MOJICA                CA          90010046311
47996A8658B355   MIGUEL          ALVARADO              SC          90014890865
479977A265B58B   ARMIJO          ARMIJO                NM          90003667026
47997A8658B355   MIGUEL          ALVARADO              SC          90014890865
479985A512B27B   HAREGU          DANIELS               DC          81059685051
4799888788B355   KIMBERLY        BARBER                SC          90002528878
47998938A5B58B   MELVIN          SALAZAR               NM          90014999380
47998A3765B174   JAMAL           LAWTON                AR          90014090376
47998A65A93767   ABERNATHY       GEORGE                OH          90009760650
47999344272B43   FRANK           SCHUELLER             CO          90007153442
4799948A693741   KATHERINE       FLINT                 OH          64522054806
4799955595597B   LORENA          BUSTOS                CA          90013955559
47999A7A255966   TITO            PENA                  CA          49037220702
4799B431A71999   AYDAN           GILLAN                CO          90008084310
4799B762772B43   AMBER           JACOBS                CO          90008957627
479B117394B271   EDOH            KOFFI                 NE          90008501739
479B11A1891394   KAN             CHANCE                KS          90008721018
479B138A95597B   BENJAMIN        ROBINSON              CA          90013963809
479B1588855939   JORGE           MEJIA                 CA          90005795888
479B1736291394   KARI            CHANCE                KS          90012767362
479B192295B53B   LUZ             CHAVIRA               NM          90012989229
479B25A3161547   MARIA           ESPEJEL               TN          90015425031
479B3466991394   WILFREDO        PERDOMO               KS          90013494669
479B349745B222   KELSI           CALHOUN               KY          90003044974
479B3732372B4B   BRYAN           BARNES                CO          90008017323
479B4718372B36   SAMUEL          ANDERSON              CO          90015087183
479B517586198B   TAVIS           COUCH                 CA          90007851758
479B588395B58B   ASHLEY          ROYBAL                NM          90004818839
479B5949A72B43   PAUL            HAUSEMAN              CO          90001379490
479B6245861963   TIFFANY         RAE                   CA          90012222458
479B7654561967   AMANDA          BOYLE                 CA          90005396545
479B7662A5B53B   GEORGE          MONTANO               NM          35029976620
479B8228172B4B   ELIZABETH       PARSONS               CO          90010232281
479B8789A51334   LUTRICIA        LUMAINE               OH          90011917890
479BB1A4A91569   ALEJANDRO       RIVERA                TX          90012631040
479BB429861963   DRAGON          MCFLYERS              CA          90006834298
479BB5A5A5597B   AURORA          GOMEZ                 CA          90013955050
47B11152691569   ANGELICA        RIOS                  TX          90010741526
47B11395A5B222   CECILIA         JOHNSON               KY          90008823950
47B1232A42B27B   DARRIAN         TABBS                 DC          90015023204
47B12542251334   SHANNON         JONES                 OH          90000855422
47B12A94691394   CAROLINA        HERRERA               KS          90013020946
47B1341A55B174   MICHEAL         WILKINS               AR          90009054105
47B14651A55966   FRANCISCO       ARELLANO              CA          90013316510
47B14685372B43   MISTY           MUNIZ                 CO          33057766853
47B146A655B53B   MIREYA          MEDINA                NM          90012166065
47B15153572B36   BEVERLY         BOGUNOVICH            CO          90015131535
47B15A3A45597B   RANDY           TOVAR                 CA          90013150304
47B16431261967   MONICA          GONZALEZ              CA          90007514312
47B1654775B222   TAMEKIA         PARKER                KY          90011585477
47B1676A155939   DION            BRAWLEY               CA          49034267601
47B1689795B174   ERICO           GARCIA GIL            AR          90010818979
47B1741694B271   KENNY ROLANDO   TARACENA HERRERA      NE          90013934169
47B1756145B222   COBI            MORRIS                KY          90012475614
47B17867A51334   DIANNEA         NOELKER               OH          90006678670
47B1793625597B   DIEGO           MACHUCA               CA          90011379362
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47B17A12761963   PATRICK        WILLS                  CA          90009590127
47B1862555B53B   BEVERLEY       ALLRED                 NM          35081376255
47B18815251334   REGINA         LEMONS                 OH          66089088152
47B1899752B27B   PAYGO          IVR ACTIVATION         DC          90010639975
47B18A94691394   CAROLINA       HERRERA                KS          90013020946
47B19522772B43   BELKIS         CASTRO                 CO          90007035227
47B1BA36A5B53B   ROSEMARY       RITCHEY                NM          90015280360
47B21438372B4B   NICOLETTE      MEDINA                 CO          33098654383
47B21695A91394   NANCY          GRACE                  MO          29081266950
47B2324275B58B   TRISTIN        ROGERS                 NM          35073432427
47B2348134B271   HEATHER        SCHMIDT                NE          27024564813
47B2349154B546   DIANA          DAWSON                 OK          90007804915
47B23556755966   MARIBEL        BON                    CA          49008285567
47B23588891569   DALILA         PORTILLO               TX          75062215888
47B23598472B43   GREGORY        GARDNER                CO          90009735984
47B23696931449   GOITOM         TESFAMICHAEL           MO          90011156969
47B23785972454   WILLIAM        HALEY                  PA          90002867859
47B2385A661963   CARRIE         NORTON                 CA          46085528506
47B24265161967   MIGUEL         GUERRERO               CA          46034582651
47B24616772B4B   MICHEAL        WALKER                 CO          90014116167
47B2541A85B174   JADA           SHTON                  AR          90015394108
47B25424272B4B   DOMINIC        GRANADOS               CO          33085934242
47B25538572B36   M.REZA         KHIABANI               CO          33085415385
47B2555A17B824   SUSANA         CRUZ                    IL         90010425501
47B26135572B4B   NORMA          BRAVO                  CO          33007401355
47B2635575B53B   CRISTOPHER     BUSH                   NM          90013083557
47B26767A5B58B   JOHN           LITTLEMAN              NM          35049477670
47B2694585597B   ELIZABETH      SCHEIDT                CA          90013949458
47B27253551338   DAVID          HERTLEIN               OH          90008502535
47B2748635B53B   ANNETE         APODACA                NM          90011194863
47B2757A991569   HAIDE          URDAIBAY FERNANDEZ     TX          90015285709
47B27715555966   ROBERT         FLORES                 CA          90007017155
47B27992461967   DEJUAN         WILMORE                CA          90015159924
47B2827A472B36   AGUSTIN        QUINTANA               CO          90000272704
47B28653991527   CECILIA        DE LEON                TX          90011936539
47B2B459A72B36   JESSE          THOMAS                 CO          90013784590
47B3116315B174   EVELYN         MENCHUE                AR          23043591631
47B31877176B48   JOHN RICHARD   BAILEY                 CA          90012598771
47B321A3461945   GABRIEL        AGULIAR                CA          90010771034
47B3233295B555   JOEY           LUERAS                 NM          90011893329
47B32473791394   BRANDY         RIGHT                  KS          90010624737
47B32A2133B32B   CHERI          ELLIS                  CO          33000840213
47B33451A72B43   BRITTANY       MONTOYA                CO          90012274510
47B3376465597B   MIRIAM         LOPEZ                  CA          90014427646
47B33A89655966   PAULA          FARFAN                 CA          49058630896
47B346A725597B   JAMES          MERCER                 CA          49087156072
47B3515A951334   ANDREA         SANSONE                OH          90015101509
47B36338955939   MARIBEL        GONZALEZ               CA          49085873389
47B36755455947   KAREN          MENDOZA                CA          90009767554
47B368A462B87B   KEVIN          HARRIS                 ID          90012398046
47B36923361967   FREDERICK      BROWN                  CA          90012799233
47B37357891569   FERNANDO       LOPEZ                  TX          90015313578
47B3919255B53B   BYRON          AGUILAR                NM          35092131925
47B39917191988   OLADOYIN       IRANLOYE               NC          90006069171
47B39A6AA22463   SERGIO         PALACIOS                IL         90013880600
47B39A76491523   MARTIN         ARAIZA                 TX          75056650764
47B3B57975B174   TAYLOR         PARCHEL                AR          90010685797
47B412A435B551   TERRI          AGUIRRE                NM          90015052043
47B41438571999   ALEX           RODRIGUEZ              CO          90010224385
47B42322261963   ALFREDO        MARTINEZ               CA          46088913222
47B4273195B222   SANDRA L.      DENNEN                 KY          90013987319
47B4318825B53B   IMANI          JACKSON                NM          90014381882
47B43A18A61963   RICHARD        FORTENBERRY            CA          46044690180
47B44455655939   JOEY           AZUGI                  CA          90014634556
47B446A624B259   HECTOR         DIAZ                   NE          27057006062
47B4478258B355   LATICE         NORRIS                 SC          90012787825
47B4512A872B36   RYAN           HERSEL                 CO          90010421208
47B45159591394   JUAN           GONZALEZ               KS          90015291595
47B45381597969   YULEMIA        OCHOA                  TX          90014803815
47B45464A72B4B   KRISTINE       WILFLEY                CO          90003744640
47B4549AA2B87B   MONICA         MORRIS                 ID          41077854900
47B45928271999   TYLER          CROSS                  CO          90013259282
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47B4659A15B53B   KELVIN         GARCIA                 NM          90014025901
47B47178751361   GLENDA         JONES                  OH          66006601787
47B47471191569   RUBEN          RODRIGUEZ              TX          75074424711
47B48775272B43   AVA            ROBLES                 CO          90014617752
47B49487661967   SANDRA         RECINOS                CA          90011014876
47B49965A55966   IVAN           CORTEZ                 CA          90014789650
47B49A85291331   ROBIN          PRICE                  MO          90008890852
47B4B399747871   ANTONIO        TENNYSON               GA          14067303997
47B4B8A338B165   KIM            HOOVER                 UT          31097718033
47B51392155939   TIA            YANG                   CA          49090823921
47B5156375B174   ANTONIO        RODGERS                AR          23082345637
47B5171A272B36   ERIN           LUCERO                 CO          90009537102
47B51738871999   TOMMY          MCCLEAR                CO          90012067388
47B52664572B28   MARGARITA      MUNOZ                  CO          90011046645
47B5314A94B259   RICK           SCHU                   NE          27017641409
47B533A3A51334   MICHAEL        VICK                   OH          90015123030
47B5368488B16B   DESSIE         ALLISON                UT          31047706848
47B53966672B4B   STEPHANIE      STATZ                  CO          90005979666
47B54221473264   KAREN          PARKER                 NJ          90014382214
47B551A685B174   IRIS           ST CLAIR               AR          90014741068
47B55356371999   LINDA          CRESPIN                CO          38031993563
47B55433A5B53B   PATRICIA       RODGERS                NM          35060934330
47B55819A8B355   MARIA ISABEL   BARRALES               SC          90013828190
47B56212A4B271   KORYNNE        LYLES                  NE          90014922120
47B5634445597B   ROSEMARIE      MARTINEZ               CA          49047753444
47B57265755939   EVA            HERNANDEZ              CA          90014472657
47B5896A891988   TALISA         RUTLAND                NC          17066839608
47B595AA191394   JOSE           HERNANDEZ PEREZ        KS          90004275001
47B59617172B43   DARREN         SILVEY                 CO          33007996171
47B59829991873   DONNIS         VASQUEZ                OK          21046368299
47B59952772458   DIANA          LITZENBERG             PA          90013879527
47B59AAA28B165   MONICA         LUCERO                 UT          90005320002
47B5B27792B27B   LENICE         SOUZA SHIBATTA         DC          90014892779
47B5B329761963   ERIC           SPRY                   CA          90010703297
47B5B867A51334   DEARIES        PATTON                 OH          66011698670
47B5B96365597B   RUDY           VALDEZ                 CA          90013949636
47B6145735B174   SHERRICH       HAMPTON                AR          90014394573
47B6196378B355   CHRIS          COOKE                  SC          90013989637
47B6217584B546   CODY           HAMPTON                OK          90014701758
47B631A495B222   JASON          CURRY                  KY          90002221049
47B63322A2B87B   AMADO          CAN-CHAN               ID          41069223220
47B63846872B36   LYNN           RANDOLPH               CO          33063208468
47B63971871999   GUADALUPE      HERRERA                CO          90009619718
47B64226593769   CHRIS          DAVIS                  OH          90005382265
47B64351177341   PATRICIA       RICHARDSON              IL         90014753511
47B6481548B355   FRANCISCO      JAVIER                 SC          90015428154
47B6537615B58B   RAMON          IBARRA                 NM          90005673761
47B6556AA72B43   CESAR          DURON                  CO          33079445600
47B65694691523   IVAN           MARQUEZ                NM          75011096946
47B6648747B389   SILVESTRE      MIRANDA                VA          81068934874
47B6678844B271   ADAM           HANNA                  NE          90014547884
47B6726A161967   ISAAC          LIRA                   CA          90008842601
47B6786692B87B   TUEVO          ORJALA                 ID          41077888669
47B6786915B58B   ADRIANNA       RAMIREZ                NM          90007358691
47B68226971999   JOHN           HARDY                  CO          38093222269
47B69583672B4B   ICE            BABY                   CO          90008615836
47B6B358161967   VERONICA       PASTENES               CA          46045033581
47B6B44A491988   DIANNA         MORRIS                 NC          17025884404
47B6B624451334   MOISES         MENDOZA                OH          90013536244
47B6B873872B36   WENDY          CHEEVER                CO          90012408738
47B71392972B43   LORENE         TAYLOR                 CO          90005273929
47B7146475B53B   ERNESTO        TRUJILLO DE LA TORRE   NM          90012494647
47B71728372B36   JARROD         BATE                   CO          33047887283
47B71745191873   BRIAN          GIVENS                 OK          21033607451
47B71932793769   JOHN           WELCH                  OH          90014179327
47B7252A472B4B   DELFINO        MIRANDA                CO          90014975204
47B72672471999   KRIS           HARP                   CO          38087106724
47B7273365B53B   ADELA          MORALES                NM          35063747336
47B7281115B58B   CYNTHIA        SALAS                  NM          90013088111
47B72946361547   WILLIAM        SMITH                  TN          90015519463
47B73268172B4B   JOSE           ESTRADA                CO          33090262681
47B7354A655939   BRITTON        SHIRLEY                CA          49035905406
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47B73A4275B53B   TYRONE      PORTIS                    NM          90014760427
47B7488838B16B   CINDY       CHASE                     UT          31076278883
47B74981A51334   SANDY       MCINTYRE                  OH          90010569810
47B75A2A172B23   GARY        VALDETERO                 CO          90013420201
47B7632484B259   ANTHONY     SISSEL                    NE          90001343248
47B7657714B943   CYNTHIA     HADLEY                    TX          90001445771
47B77195972481   MELISSA     CASTIGLIONE               PA          90009321959
47B77479571999   CAROL       SIMPSON                   CO          90010404795
47B77922991569   ELIZABETH   MEDINA                    TX          90012139229
47B788A7791394   KAREN       GONZALES                  MO          90014158077
47B78A93461967   BELINDA     LLILES                    CA          46065760934
47B7918A85B222   MARTHA      CAMPBELL                  KY          90012571808
47B7949A88B355   NELSON      RIVERA                    SC          90007854908
47B7B24455B58B   ANTHONY     PEREA                     NM          35043102445
47B81492872B36   SILVIA      LOZANO                    CO          33085734928
47B8167A372B4B   MELISSA     FIELD                     CO          33063106703
47B82189391569   EMMANUEL    VALENZUELA                TX          75021481893
47B83AA335B222   CATRINA     FISHER                    KY          90012050033
47B84957172B36   TAMARA      HAGEY                     CO          90010659571
47B84992471946   KATHERINE   STEELE                    CO          32083249924
47B84A4898B16B   JAMES       CLEMENTS                  UT          31091340489
47B85459A72B36   STEPHEN     HUNT                      CO          90013254590
47B86356161967   ILARIA      VALLADOLID                CA          46057703561
47B86385355939   RONNIE      LOWE                      CA          90011013853
47B8672882B23B   JODY        JOHNSON                   DC          90013207288
47B8676A561963   SHERRY      REGAN                     CA          90013827605
47B86913271999   JUDITH      BRYANT                    CO          90010269132
47B8746A376B88   MARIA       VERGARA                   CA          90009994603
47B87793461967   JESUS       GARCIA                    CA          90012157934
47B87A38861963   CRYSTAL     CUNNINGHAM                CA          46042050388
47B8822527B468   GABRIELLA   BAHENA                    NC          90013112252
47B88882391394   MELISA      MCDANIEL                  KS          29069358823
47B8933295B58B   STEPHANIE   LOPEZ                     NM          90006203329
47B8945A991394   VICTOR      BONILLA                   KS          90012694509
47B89531A71999   EDIE        TROTTI                    CO          90008125310
47B89711793769   CEIRA       MOYERS                    OH          90010397117
47B8978A591569   ALBERT      SHARKIS                   TX          90013837805
47B8B251861963   ROXANA      VALDEZ                    CA          90011432518
47B8B38154B271   AMANDA      NORTH                     NE          90009513815
47B8B415161967   ARMIDA      ALDANA                    CA          90013004151
47B8B76755597B   IVAN        PEREZ                     CA          90001007675
47B913A7755966   TERRY       PLATA                     CA          90012803077
47B9169AA54132   RAUL        LEON                      OR          90015216900
47B91A96655939   ALFREDO     GARCIA                    CA          90008240966
47B9265715B375   CHRISTINA   HEUER                     OR          90009886571
47B93738391569   CPNSUELO    GRADO                     TX          75082627383
47B95938391569   OFELIA      ARANDA                    TX          75071819383
47B96391961963   NORITA      ULEP                      CA          90013963919
47B963A2391394   JAMEN       HEINTZELMAN               KS          29049583023
47B9689545B53B   MEAGAN      MAXEY                     NM          90014788954
47B9694715B174   MICHAEL     HILL                      AR          23071179471
47B97136591394   GERALD      ZACHARY                   KS          90007991365
47B97357455966   JESSE       JAIMES                    CA          90004853574
47B977A485B53B   VALORIE     PHILLIPS                  NM          90012997048
47B98418591394   JUAN        MORALES                   KS          90015144185
47B9854412B27B   DUMISANI    SIBANDA                   VA          81090815441
47B98A9AA72B23   LYZA        KAZADI                    CO          90010670900
47B992A8155966   IGNACIO     SANDOVAL                  CA          49096642081
47B99853251334   DONALD      JORGENSON                 OH          66081118532
47B9B1A7155939   BARBARA     PATTEE                    CA          49082331071
47B9B621461967   ROCIO       FLORES                    CA          90001306214
47B9B97385B222   LISA        THOMPSON                  KY          90014809738
47B9BA77777522   LUZ         BUSTOS                    NV          90000880777
47BB1289A72B36   J THEO      PARKER                    CO          33085612890
47BB148694B261   JAMES       STRONG                    NE          90011254869
47BB14A145597B   MICHAEL     CHEDRICK                  CA          90014804014
47BB264235597B   CARLOS      RAMOS                     CA          90012296423
47BB266466195B   RUFUS       GARCIA                    CA          90002966646
47BB2956A61967   CASSANDRA   BOURQUIN                  CA          90012589560
47BB3653391569   MARIBEL     TALAMANTES                TX          90012336533
47BB393415597B   JOSHUA      MCCONNELL                 CA          90013949341
47BB3A99655939   NOEL        ZAMUDIO                   CA          90008290996
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47BB4338991569   DALIA          CASTILLO               TX          75055803389
47BB438219127B   ROBERT         PHILLIPS               GA          14503523821
47BB4384455966   JORGE          VALDEZ                 CA          90001643844
47BB4537255939   MARIA          JIMENEZ                CA          90009585372
47BB4A4764B271   TIPHANIE       FAULKNER               NE          90014600476
47BB5244891569   DANIEL         YOUNG                  TX          90012132448
47BB5371871999   SHEA           HOFFMANN               CO          90010623718
47BB641A78B156   IRMA           SUSTIATA               UT          90006054107
47BB689524B271   JEAN           TOOHER                 NE          27059838952
47BB7444431673   MARIA          ESPARZA                KS          22056664444
47BB782244B271   JUAN           HERNANDEZ              IA          27072998224
47BB876325B58B   JONATHAN       SANCHEZ                NM          90013927632
47BB87A6655939   GE             MOUA                   CA          49012107066
47BB911A871999   MICHAEL        ARAGON                 CO          90012741108
47BB965A35B53B   AMARIS         BENAVIDEZ              NM          90012556503
47BB993334B526   SONIA          OFTIS                  OK          90008419333
47BB999595597B   ESPERANZA      NERIO                  CA          49000499959
47BBB48225597B   MARISOL        AVELAR                 CA          90014624822
47BBB55647B497   ASHLEY LYNNE   YOUNG                  NC          90008185564
48111334A51354   DEIDREA        POWER                  OH          66078173340
48111A1545597B   SARAH          GONZALES               CA          90014540154
4811232AA5B58B   ANTONIA        VILLALOBOS             NM          90010723200
4811234775B174   SHERITAH       WILLIAMS               AR          90014703477
4811289699137B   CLAUDIA        CLARK                  KS          90014758969
4811293475B53B   ARNULFO        HERRERA-REYES          NM          90014819347
48113173872B36   SHANE          BLACKBURN              CO          33081181738
48113357472B43   SHAKAYLA       HOWARD                 CO          90012483574
48113A64A5597B   WILLIAM        HARRIS                 CA          90010130640
481149A7272B35   RICARDO        BLANCO                 CO          90011729072
4811522568B16B   JESSICA        ANGELL                 UT          90008852256
4811556365B58B   JOSE           PUENTES-SANCHEZ        NM          90012245636
4811585498B16B   RICHARD        CALL                   UT          90014578549
4811614145B53B   DARLENE        EDWARDS                NM          90014481414
48116572A91394   DEBRAH         SILVA                  KS          90011385720
481174AA25B53B   CARLOS         IMPERIAL               NM          90012474002
481177A7671999   AMBER          DESHON                 CO          90008377076
48118A76877595   ROBERT         KOPERSKI               NV          43077240768
4811989275B222   RAYSHON        GILL                   KY          68071878927
4811B659191988   ABDELA         IZET                   NC          90014346591
4811B936791569   MONIQUE        ADAME                  TX          90014469367
48121884872B4B   SELENE         CECENA LOPEZ           CO          90011888848
48122199772B36   AMERI          ROMERO                 CO          90007391997
4812269A791988   VENISHA        ALLEN                  NC          90013696907
48122A8795597B   GUALUPE        MENDEZ                 CA          90005190879
48123229A8B16B   MISTY          ALIRES                 UT          31048952290
48123649272B43   BRYCE          HUBBLE                 CO          33080496492
4812384392B27B   JULIUS         WILLIAMS               DC          90014158439
4812387A551334   DAIMON         AIKMON                 OH          90011498705
4812493115B174   DESMOND        FULLER                 AR          23098499311
4812493475B53B   ARNULFO        HERRERA-REYES          NM          90014819347
4812547945B222   ANNETTE        GRAVES                 KY          90013764794
481258A4272B36   KOLE           DAVIS                  CO          90013198042
4812647514B271   SHEREE         WHEELER                NE          27008754751
4812685A371999   EXCALIBUR      NOLOER                 CO          90015038503
4812733924B259   CORRISSA       THOMAS                 NE          27055443392
4812763A872B36   JAMES          CRONOBLE               CO          90013066308
4812818228B167   GONZALO        PEREZ                  UT          90008551822
4812933A75B174   ANDREA         LEWIS                  AR          90013333307
4812953A191569   JOE            ALDERETE               TX          75095335301
4812B1A1672B4B   MANUEL         CERVANTES              CO          90010661016
4812B62238B16B   KAREN          WOODRUFF               UT          90002226223
4812BA78991394   FABIAM         ROJO MARQUEZ           KS          90003240789
481314A4771999   ANASTAHSIA     KELLY                  CO          90015264047
48131513A91569   GUSTAVO        TORRES                 TX          90011945130
4813199A672B43   ADRIANA        VICTORIANO             CO          33023329906
481319AA18B167   AURELIO        GARCIA                 UT          31095249001
4813291A191988   IESHIA         BULLOCK                NC          90010129101
481335A9671999   JAIME          GONZALES               CO          90013115096
481337A384B271   CASILDA        CONTRERAS              IA          27065627038
481342A2971999   EURIAH         RICHARDSON             CO          90009872029
4813482252B27B   EMERITA        MERCADO                DC          90004528225
481353A138B165   ATHENA         CLARK                  UT          31094253013
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48135426372B36   HIROHIKO    FUTAKAMI                  CO          33014544263
4813699962B27B   DIANA       LEWIS                     DC          81020639996
4813728345B174   TANYA       JACKSON                   AR          23075092834
4813792272B87B   CHRISTINE   TAYSAN                    ID          90008059227
4813928865B174   VERONICA    GOMEZ                     AR          90012612886
48139393772B4B   JAMIE       KOVAL                     CO          33089903937
4813B147561963   LAIKARA     REED                      CA          90012041475
4814193862B87B   BRIANNA     JEWETT                    ID          41049279386
4814374A891873   GABRIELA    PEDROZA                   OK          21036197408
4814387365B53B   LEO         DURAN                     NM          90014808736
4814496478B16B   CIRO        AVILA                     UT          90014419647
4814612928B16B   DAMIAN      ADAMS                     UT          90011971292
4814621885B395   HORTENCIA   HOYOS                     OR          90010902188
48146316272B47   HERMINIO    ENRIQUEZ                  CO          90006663162
48147316272B47   HERMINIO    ENRIQUEZ                  CO          90006663162
48148518972B4B   DESIREE     FERNANDEZ                 CO          90011505189
48148927957B61   DEOFILA     MENDOZA                   PA          90014649279
4814896794B271   MARY        BUTLER                    NE          90007259679
48148A4768B165   MICHEAL     MITTS                     UT          31090320476
4814984535B53B   ASHLEY      ANZURES                   NM          35081178453
4814998A772B4B   CONA        COMMUNICATIONS            CO          90009279807
4814B387361986   ZAYDE       BARCENAS                  CA          90012033873
4814B45A85B55B   AARON       NYSWONGER                 NM          90013654508
481511A4177595   EDDIE       VELASQUEZ                 NV          43002481041
4815136788B165   LORSON      JOHN                      UT          90005773678
4815159335B222   DDEEPAK     GURUNY                    KY          90014845933
4815181455B53B   SYLVIA      MARQUEZ                   NM          35090238145
4815191A191569   MARTIN      JUNIO                     TX          90010859101
48151A3255597B   BEATRICE    RAMOS                     CA          90007400325
4815293635B53B   JASMIN      PEREZ                     NM          90014819363
4815523762B27B   MARVIN      MENJIVAR                  DC          90009492376
4815582618B165   CODY        OLSEN                     UT          90001318261
481558A2672B4B   THERESA     GUARDIPEE                 CO          90004108026
4815694485B53B   TIFFANY     KING                      NM          90014819448
4815779A391956   JOSE        PEREZ                     NC          90007037903
48157951157B61   KRISTINA    CHEVALIER                 PA          90014509511
48158232272B36   MIKE        BANUELOS                  CO          33075042322
48158662774B8B   JASON       JOHNSON                   OH          90014466627
48158A8825B53B   HAROLD      MANGAN                    NM          35003630882
48159422A5B174   DOMINIQUE   WILLIAMS                  AR          90012554220
4815B83485B58B   JOHN        WAGNER                    NM          90014158348
4815B85638B165   JOANN       BECK                      UT          31006438563
4815B882172B38   TYLER       BOHN                      CO          33096038821
4815B93475B53B   ARNULFO     HERRERA-REYES             NM          90014819347
4815B956747941   GEORGE      JOHNSON                   AR          90014129567
4815BA75586453   ZAKIYYAH    JOHNSON                   SC          90010990755
4816196475B222   LORI        EPPLER                    KY          68042299647
48162492A5597B   SARA        ORTIZ                     CA          90014824920
4816323A161963   EVA         RANGEL                    CA          90013182301
4816356145B378   LAURA       MENDOZA T                 OR          90007255614
48163724272B43   JOE         NUZ                       CO          90014167242
4816394528B16B   RICKY       WOLVERTON                 UT          90013389452
4816421655B222   RACIEL      TAMAYO                    KY          90014902165
481643A475B395   TSHIASUMA   MUTARA                    OR          44588043047
48165376A91394   JESUS       RODRIGUEZ                 KS          90014793760
48165384A54151   TAMMY       LAWRENCE                  OR          90003463840
4816621A62B27B   SEBASTIAN   HENRIQUEZ                 DC          90002012106
4816715514B271   PORSHA      COOK                      NE          27006551551
48167419A72B4B   YASSER      ABOUAISH                  CO          90004134190
4816797445B222   GEORGIANE   COLE                      KY          90011689744
481685A6272B43   HERMINE     COCKINGS                  CO          90014885062
4816896755B37B   FERMIN      PEREZ                     OR          90004229675
48168A5A55B58B   RAQUEL      MOLINAR-CERECERES         NM          90014850505
4817129895B222   BRIAN       MCDOWELL                  KY          68043912989
4817177112B27B   AMADI       KITWANA                   DC          90013477711
48171934172B43   ISABEL      ZAPATA                    CO          33075869341
48171A48472466   SUSAN       FORD                      PA          90002200484
4817274724B259   TROY        OLES                      IA          27083837472
48172A2554B271   RAYNIA      HORTON                    NE          90010670255
48172AA892B27B   FATU        KOTEH                     DC          90014540089
481731A1672B4B   MANUEL      CERVANTES                 CO          90010661016
4817322128B165   LORIE       PEARSON                   UT          31078732212
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481733A4A3B14B   PATRINA      BROWN                    DC          90011543040
4817375254B271   FRANK        HARRIS                   NE          27000377525
48173A3115B53B   STACIE       REED                     NM          90011170311
4817659782B872   CONNIE       FORGEY                   ID          42004275978
48176A32671999   SCOTTE       DANIELS                  CO          38088220326
48176A38951332   SCOTT        SMITH                    KY          90007160389
48176A8183B234   JONALD       DESIUS                   DE          90015470818
4817741247B48B   SARA         PEOPLES-FOSTER           NC          90012724124
48177A41572B43   WILMER       VENTURA                  CO          90001120415
48179461A61967   NEFERTARI    I                        CA          90015014610
4817B12A191988   WILLIE       GODBOLT                  NC          90012001201
4817B219361963   WENDY        MOORE                    CA          90014612193
4817B33965597B   VERONICA     CAYETANO                 CA          49046353396
4817B552591394   ORLANDO      AGUIERRE                 KS          90014015525
4817B69215B53B   KENIA        PORTILLO RUIZ            NM          90011106921
4817B944361967   PAUL         SIGNOR                   CA          90012789443
4817B999958528   ASHLEY       WHITFIELD                NY          90015569999
4818147788B16B   ERIC         CHENEY                   UT          90010374778
481817A894B271   MELINA       BAEZA                    NE          27007277089
48181A2555B58B   LIANA        ULLAND                   NM          90014640255
48181A6A45B174   LARRY        TURNER                   AR          90013810604
4818344652B27B   CHARLENE     JAMES                    DC          90007424465
48183778172B43   ALFREDO      CHACON                   CO          90002247781
48183811A72B4B   CALEB        PLYTER                   CO          90013378110
48184919172B4B   EVELIO       SOTO                     CO          33073359191
4818554A761963   GENARO       TERRAZAZ                 CA          90010005407
481856A8572B43   MARIO        FIGUEROA                 CO          33048646085
48185A9392B87B   ANTHONY      CADA                     ID          90000540939
4818681A78B16B   JAMIE        SWATE                    UT          90014588107
4818699535B395   DONNA        MARTIN                   OR          44578979953
4818729585B58B   JOSE         MUNOZ RODRIGUEZ          NM          35065332958
4818772115597B   DEITRA       SULLIVAN                 CA          49041157211
4818818742B87B   PATRICIA     MORRISON                 ID          41083861874
481894A4771999   ANASTAHSIA   KELLY                    CO          90015264047
4818B863672B4B   MARIA        LOMELI                   CO          90006848636
4819119322B395   PATRICIA     DUPAUL                   CT          90012601932
48191858572B4B   MARIA        GONZALEZ                 CO          90013248585
48191A4A85B53B   JAMES        ARAGON                   NM          35065110408
48192A54672B36   WENDALL      PRIDE                    CO          90012630546
4819357A44B546   NUVIA        CANO                     OK          90010525704
481935A3472B43   CRISTAL      DANIEL                   CO          90014145034
4819453575B395   ANGELA       JOHNSON                  OR          44583495357
48194625A91394   RUBY         JONSON                   KS          90014796250
4819491A871999   STEVEN       CRUZ                     CO          90007739108
4819493539376B   MARK         EFEVRE                   OH          90005799353
4819533955597B   ROBERT       RODRIGUEZ                CA          90011983395
48196337172B43   SIMONE       HICKS                    CO          33068323371
48196AA9791569   IGNACIO      HOLGUIN-BACA             TX          90015290097
48198492A5597B   SARA         ORTIZ                    CA          90014824920
4819938515B174   GREGORY      FAIRMON                  AR          23021813851
481997A335B58B   KATHERINE    LUCERO                   NM          90010157033
4819991358B16B   RAUL         MORENO-PICHARDO          UT          90002839135
4819B218491394   LUISA        BALBOA                   KS          90013112184
4819B356672B43   CIERA        SPIRES                   CO          90012463566
4819B533672B43   GABRIELA     PEREZ                    CO          90011815336
481B146578B186   MARIO        LOPEZ                    UT          90002074657
481B1719872B43   LINDA        ALVARADO                 CO          33074587198
481B1A49851334   SELINA       BARNETT                  OH          66094240498
481B258395B53B   JAMES        LEE                      NM          90014645839
481B268548B16B   TERESA       PANNULLO                 UT          90010996854
481B2937171999   TRACI        HOLTGREWE                CO          90014479371
481B338318B165   CHRISTOPHE   GARCIA                   UT          31061733831
481B4A31791873   LUIS         SANCHEZ                  OK          21011330317
481B537165B58B   HUGO         GUTIERREZ-FLORES         NM          90014123716
481B6244591569   MICHELLE     TARANGO                  TX          75057822445
481B6535754191   EMILY        GRAHAM                   OR          90008735357
481B691448B16B   SEAN         JORDISON                 UT          90003059144
481B745825B395   LAWRENCE     NUNES                    OR          44546994582
481B7928851334   KITTY        BARRY                    OH          66076989288
481B815917B33B   ROSE         AKUTTA                   VA          81087161591
481B842A971999   GUDALUPE     ZAVALA                   CO          90013114209
481B852A22B87B   DANA         FORSBERG                 ID          90008995202
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481B899615597B   BERTHA       FLOWER                   CA          49014749961
481B9223772B36   THERESA      MCCOY                    CO          90013172237
481B9463891988   JOSHUA       EVANS                    NC          90008954638
481B9845671999   CARLA        ALCON                    CO          38076278456
481BB167372B4B   DAVID        JOHNSON                  CO          33012851673
481BB78515B58B   YORDANO      GUZMAN                   NM          90014347851
48211291872B43   ANGELICA     OROZCO                   CO          90000692918
48211A1795B222   CARLA        GUEVARA                  KY          90010430179
482121A3351334   HARVEY       EVANS                    OH          90014941033
48212251A5B53B   HOMAR        VARELA                   NM          90004832510
4821272A65597B   JOHN         TRUJILLO                 CA          90013927206
48212889A2B87B   IZAIAH       DOLEZAL                  ID          90006338890
4821313145B395   RAFAEL       BORGOS                   OR          90006121314
4821315275597B   PAULA        GONZALEZ                 CA          49001141527
4821434965B395   CHRISTOPHE   MARTIN                   OR          90001003496
4821489A477595   SHANNON      CAIN                     NV          90011098904
4821571575597B   CYNTHIA      RAMOS                    CA          49029517157
48215A7A171999   DUANE        SEVILLA                  CO          90011530701
4821644855B395   PROMISE      MARTINO                  OR          90000694485
4821679785597B   MELISSA      FONTANILLA               CA          90012507978
4821741145597B   LILIA        HERNANDEZ                CA          90014114114
4821784355B58B   ALEX         THOMPSON                 NM          90013888435
4821863887B445   MEIDY        HERNANDEZ                NC          90010646388
48219768A8B594   JANIS        JACKSON                  CA          90014747680
4821B158193741   DALE         HUNTER                   OH          90003281581
4821B515491569   AARON        RUBIO                    TX          90009335154
4821B526661967   MICHAEL      WILLIS                   CA          46015655266
4821B594391956   FLORENCE     ALAWODE                  NC          17075995943
4821B6A4491394   SCOTT        DANIEL                   KS          29063406044
4822198785B174   JUAN         PENN                     AR          90015139878
48222479672B4B   SILVESTRE    BRAVO                    CO          90003914796
4822399519152B   OSCAR        SANDOVAL                 TX          75077759951
48224668872B36   TYLER        BORDEN                   CO          90012886688
482259A585597B   CHASE        DEWEY                    CA          90002489058
4822641522B27B   PAMULA       GLOVER                   DC          90011024152
4822664A85B395   JON          HERKENRATH               OR          44560046408
4822676783364B   VICTORIA     SCHULTZ                  NC          12086607678
48228722A61963   SIMON        DIAZ                     CA          90001857220
48229344A71999   SP           CALLAHAN                 CO          38039353440
482293A225B348   JORGE        MIRANDA                  OR          90006443022
48229696872B4B   NANCY        ARIES                    CO          90011776968
482298A315B222   ANTWAN       MALONE                   KY          90013678031
4822B283272B36   RUBY         MONTELLANO               CO          90007742832
4822B8AA951334   DON          HAMPTON                  OH          90006898009
4822BA9A34B271   CURTIS       CLOWE                    NE          27085480903
482314A2671999   CARLAJO      HERRERA-SUAREZ           CO          38078314026
48231A5345B174   AMY          MCLAIN                   AR          90003960534
482321A8247977   SAULO        GARCIA                   AR          90014561082
482327A2591569   STEVEN       RODRIGUEZ                TX          90005117025
48232862172B36   ANGELIQUE    HENDRICKS                CO          90015108621
48232968A5B53B   FRANCISO     IMPERIAL                 NM          90011429680
48233364372B43   ANYA         MILLER                   CO          90008193643
4823512854B271   ALONZO       LAMB                     NE          27053181285
4823724A25B53B   MISAEL       PENA                     NM          90011402402
4823781335597B   TOOT         WALTON                   CA          90013458133
4823893A191569   RICHARD      ARELLANO                 TX          75003589301
48238A4A861963   ALEJANDRA    FERNANDEZ                CA          46035380408
48239137472B4B   KIMBERLY     BURKHART                 CO          90012311374
4823B152851334   BRENDA       PRUDE                    OH          90015521528
4823B248A61963   ARACELY      CARDENAS                 CA          90014932480
4823B631691394   CHRISTINA    BATY                     KS          90001316316
4824219128B16B   LEE          HOLLINGSWORTH            UT          90000261912
482424A2671999   CARLAJO      HERRERA-SUAREZ           CO          38078314026
4824346725597B   SANGALOUN    KEOPHALY                 CA          90014034672
4824599395B222   DEANGELO     CRAWFORD                 KY          90015199939
48245A5415597B   AARON        LARA                     CA          90014760541
48246154372B4B   MIRIAM       MORENO                   CO          90013371543
48246973372B36   KHADIJAH     GULLEY                   CO          33038689733
48246A14184332   SHALMAN      HOLMES                   SC          19017780141
48247399372B4B   CECILIA      ANTHONY                  CO          90009653993
482499A2891988   MAREIRY      UMANA                    NC          90015039028
4824B182651361   LANGSTON     WARD                     OH          90000911826
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4824B41A58B165   KARLA         DULFO                   UT          90004704105
4825158242B27B   ANTHONY       CONNER                  DC          90004985824
4825283359152B   SANDRA        URIBE                   TX          90007848335
48253A14572B43   VICENTE       FERNANDEZ               CO          33018130145
4825413435B395   PABLO         REYES                   OR          90006221343
4825455465B395   PABLO         REYES                   OR          90009355546
4825533644B271   BRANDON       MUTUM                   NE          27084153364
4825731AA91394   SHARON        BOYLE                   KS          90011713100
48257377172B43   MARTHA        RIVERA                  CO          33057283771
4825862AA9185B   JAMES         MORGAN                  OK          21062506200
4825928775597B   JOHNATHAN     CRIDER                  CA          90012872877
4825B884561963   DERRICK       WHITE                   CA          90011398845
4826178835B58B   MARY          BATES                   NM          90008537883
482625A5191569   RICHARD       AGUILERA                TX          75055045051
4826262715B174   DERRICK       AVERY                   AR          90014686271
4826381555B58B   JESUS         VILLALOBOS              NM          35084238155
48264A3845B53B   JESSICA       GREINER                 NM          35094520384
482655A2672B36   SEMELE        PLENTYWOLF              CO          90014075026
4826623315B395   ANDREW        CRAVEN                  OR          44517132331
4826636245B222   ROGER         BARTH                   KY          68063793624
4826681A172B43   JOSE          ROMERO ESTRELLA         CO          90005098101
4826685625B376   JOAN          MAYO                    OR          90006788562
482682A6793769   MICHAEL       BLAIR                   OH          90008422067
482686A8661967   HERNANDEZ     IVAN                    CA          46035356086
482687AA95B222   AERIAL        THOMAS                  KY          90014837009
48268A7128643B   NESTOR        CRUZ                    SC          90014590712
48269762872B43   JEREMY        BENNETT                 CO          90008927628
4826995522B27B   MICHELLE      CARTER                  DC          90010069552
4826997A94B271   MICHEL        WEST                    NE          90006569709
48269A99561963   SERENA        PORTUGAL                CA          90015290995
4827189745B222   GENEVA        CASE                    KY          90006778974
4827229977122B   ROBERTO       PASTRAN                 NE          90015492997
48272359172B38   ABEL          GUADARRAMA              CO          90001123591
4827247665B53B   RACHEAL       VASQUEZ                 NM          35071414766
4827282A45B174   AMANDA        WILLIAMS                AR          90007078204
48273366272B4B   ELIZABETH     BLEIFIELD               CO          33094203662
4827448A291988   SHERRI        WALKER                  NC          90014834802
48274656A58528   RODET         PAHILI                  NY          90014436560
48275113772B36   MINZIM        RIVERA                  CO          90010921137
48275651172B43   DEBORAH       DOOLEY                  CO          33023886511
4827567A771999   DON           ESTRADA                 CO          38097466707
4827569A88B16B   KERYN         SORIA                   UT          90015036908
48275A2135B222   BECKY         WILSON                  KY          90001600213
48276156A61967   JOSE          MONTERO                 CA          90014681560
4827723248B16B   CAMILLE       SLATER                  UT          31080572324
4827736665B58B   CHARLENE      MITCHELL                NM          90014773666
4827753A791569   ELIA          HRNANDEZ                TX          90009805307
4827837A591873   MIA           HARRIS                  OK          21040963705
48278725A72B43   JULIA         HESS                    CO          90013857250
48279552A61967   JOSE          ARIAS                   CA          46091045520
4827B6A512B87B   THERESA       GERHARDT                ID          41027446051
4827B83155B58B   MARK          MORAN                   NM          90014718315
4827B921872B4B   BREANNA       REIBHOFF                CO          90010729218
4828168465B222   KRIS          DEPP                    KY          90012386846
4828176288163B   JANERSIA      CHILDS                  MO          90006167628
48282A6385B222   JOHN          MUDD                    KY          90014350638
48283121A51334   JAMES         JOHNSON                 OH          90010311210
4828335945B395   ANGELA        JOHNSON                 OR          44588043594
4828387265B53B   CHARNALLE     JOE                     NM          90014838726
48283872A91394   LETICIA       MORALES                 KS          90014808720
48284A51672B4B   LISA          TILLER                  CO          90010120516
4828622425B222   BRIDGETT      CAMPBELL                KY          90012132242
48286266972B36   CHRISTOPHER   BEAULIEU                CO          90004582669
4828648A65597B   MAIRA         RIVERA                  CA          49061544806
4828712A65597B   DANNA         NELSON                  CA          49034211206
482871A275B56B   FLORES        TERESA                  NM          90006021027
48287A24872B43   MALIA         KANOA                   CO          90012740248
4828887995B53B   MATTHEW       FERNANDEZ               NM          90014838799
48289777172B39   EVARISTO      RIVERA                  CO          90009197771
4828B211691569   BISTRAIN      SARAHI                  TX          90000832116
4828B356791394   LUIS          GARCIA                  KS          90005153567
4828B733251334   JOLINE        CARNES                  OH          90011347332
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4828B739472B4B   JOEL        ROJAS                     CO          90006047394
4829118375B395   LONNIE      ACHESON                   OR          44503651837
48291592772B4B   TAMMY       LEVERTON                  CO          33080095927
482915A1A4B259   WILLIAM     SLEECH                    NE          90003155010
4829183AA91988   YOLANDA     TYNES                     NC          90014348300
48292235972B43   RICHARD     HERNANDEZ                 CO          90014612359
48292857624B6B   BRUCE       EVANS                     DC          81015558576
4829341A372B43   KENYA       WILLIAMS                  CO          90013024103
4829352185B174   LINDA       STOFERD                   AR          90013285218
482936A2961967   FERNANDO    MORALES                   CA          46083366029
4829393425B53B   LAWANNA     GREATHOUSE                NM          90014719342
48294A55772B4B   ELIDA       ZUNIGA                    CO          33038110557
4829551357B46B   JEREMY      KSOR                      NC          90008275135
482959A782B27B   TELMA       VILLATORO                 DC          81012069078
48296429172B4B   HOLLY       MURDOCK                   CO          33061454291
4829839565B174   CLAUDIA     MORALES                   AR          90013383956
4829936A52B27B   LALONA      DAVIS                     VA          81014323605
48299467172B36   JARED       BRADLEY                   CO          33013094671
4829B16758B156   STEVEN      MORITZ                    UT          90014691675
4829B4AA92B87B   TAWNIA      ARCHER                    ID          41050864009
4829B9A8291873   ANDRE       ROBERTS                   OK          21025899082
482B112445B395   KEILA       HERNANDEZ                 OR          44526351244
482B1212251325   TRUDY       JOHNSON                   OH          90009482122
482B1242391988   MONEIKE     MCCAULEY                  NC          90006312423
482B1335672B4B   BEN         DONAHUE                   CO          90013413356
482B159192B27B   GERALD      COOK                      DC          81086645919
482B244955597B   CARLOS      ALVAREZ-GUDINO            CA          49034474495
482B2532784386   KEVIN       BROWN                     SC          90007145327
482B254AA61945   KATHERINE   CAUSEY                    CA          46016535400
482B27A5161967   TONY        MONTANA                   CA          90013797051
482B2927391972   DABRYAN     ORMOND                    NC          90008399273
482B2A98A86478   NICOLE      POOLE                     SC          90014190980
482B3462A2B27B   WILLIAM     SANDS JR                  DC          90013914620
482B3529671999   WENDY       RAMIREZ                   CO          38010365296
482B3613672B4B   ROBERT      ROBINSON                  CO          90012786136
482B4155372B36   DELMY       ESPERANZA                 CO          90012131553
482B4786591569   LUIS        RIVERA                    TX          90014247865
482B4A11277595   JUAN        RODRIGUEZ                 NV          90013170112
482B62A2991569   JUAN        GOMEZ                     TX          90012702029
482B6615661945   JOSE        LUEVANO                   CA          90012436156
482B685115B53B   JESUS       RASCON                    NM          90014838511
482B6A38A8B16B   FRANCISCO   VARGAS                    UT          31092550380
482B74A2671999   CARLAJO     HERRERA-SUAREZ            CO          38078314026
482B7553658528   JONY        MORALES                   NY          90015595536
482B763A961963   KACEY       COLE                      CA          46055816309
482B7824A2B27B   JOSE        SANTOS                    DC          90013858240
482B7876972B43   APRIL       BOYER                     CO          90011478769
482B887555597B   STEPHANIE   RODRIGUEZ                 CA          90012928755
482B8A1915B174   ELISEO      ZAVALA                    AR          23022870191
482B9128A4B271   NIKKI       BRYSON                    NE          27065721280
482B9141572B43   SABINA      BUSTAMANTE                CO          33002371415
482B9475976B5B   EVODIO      RUIZ                      CA          90009554759
482BB4A112B92B   ESTAFANY    REYNA                     CA          90011444011
482BB742A3B359   TATIANA     STARKS                    CO          90014077420
482BB76765B58B   LIZ         FLORES                    NM          90010987676
4831153377B334   JORGE       RIOS                      VA          81002465337
48311599272B36   DEMITRIA    MCCOY                     CO          90009685992
4831194315B53B   VICTORIA    HERNANDEZ                 NM          90014039431
48312745A8B165   MARK        JENNINGS                  UT          31040087450
4831282185B53B   ENELIA      MORALES                   NM          90010538218
4831287748B16B   STARRLYN    FRIEDMAN                  UT          90014588774
4831369857B457   TOM         FININ                     NC          90008556985
48313811A5597B   JAMES       TORRES                    CA          90013868110
4831434835597B   JACK        PIPPIN                    CA          49088683483
483148A692B27B   MELISSA     GREEN                     DC          90012448069
4831551445B222   SHARON      CISSELL                   KY          68031525144
48315869A91956   RAMONA      JONES                     NC          17054828690
48316438572B43   JOSE        QUIJADA                   CO          90013724385
4831651382B27B   GINGER      ROYSTER                   DC          81086225138
4831666982B87B   VIRGINIA    SAUCIER                   ID          41022096698
48316A31291569   DERRICK     DIAZ                      TX          90011990312
4831768AA5B56B   JESUS       CRUZ-PACHECO              NM          90008746800
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4831777A691394   ANDREW        MAREZ                   KS          90014807706
48318574972B43   VICTORIA      MARIE QUINTANA          CO          90011805749
4831968A65B58B   RUTH          HERRERA                 NM          90005106806
48321331A8B16B   DONNIE        ROBERTS                 UT          31085333310
48321A48361967   IGNACIO       LUCY                    CA          46071680483
48322A61A2B27B   NISHEY        RANDALL                 DC          90001470610
4832326455B53B   CHRISTOPHER   DAVIS                   NM          90010652645
4832497875B222   ANDRES        PEREZ                   KY          90015259787
48324A34691394   TERESA        MORAN                   KS          29064390346
4832521654B271   SAMMY         BIWOTT                  NE          90001172165
48325A98861967   MARLEN        GARCIA                  CA          90014120988
48326174872B36   ANGELICA      CHAVEZ                  CO          33089351748
483265A555B395   PAT           MYERS                   OR          90007085055
4832672125597B   ANTHONY       DE LOS SANTOS           CA          49054097212
48326AA912B27B   WAYNE         LEACH                   DC          90006010091
4832783145597B   ARACELI       MATA                    CA          90005078314
4832793495B53B   AURELIO       BENAVIDEZ               NM          90002179349
48328A29472B43   ELIZABETH     RODRIGUEZ               CO          90012740294
48329955972B36   PRINTONA      HORTON                  CO          90013179559
4832B759172B43   RAMON         ANDAZOLA                CO          33042587591
483328A948B16B   SHELLEY KAY   O BRIEN                 UT          90013518094
4833328AA71999   CHARELLE      JARAMILLO               CO          90009252800
483333A197B33B   GARY          PARKER                  VA          90009963019
48333642672B4B   JASON         LAPENNA                 CO          33065786426
4833486962B87B   JOYCE         WILSON                  ID          41054978696
4833498718B16B   MATT          SCHAELLING              UT          31039829871
48335A15591569   CRISPIN       ARMANDO                 TX          90011050155
48335A4115B395   WENDY         HARMON                  OR          44583640411
48336153A77595   MILTON        COLBERT                 NV          43015421530
4833664A15B395   HEATHER       GREEN                   OR          90008396401
48337187762B66   JOHN          CAPPEL                  KS          90010171877
4833723844B259   CARL          RODRIQUEZ               NE          90001712384
4833787A57B362   ANGELA        PORTILLO                VA          90005678705
48337A3952B27B   ERIC          SCOTT                   DC          81016210395
4833856362B229   SHARRON       DAVIS                   DC          90007365636
4833861918B16B   MEGA          DULAL                   UT          31009406191
4833927595B222   JESSICA       YATES                   KY          68051332759
483393A8472B36   PAMMY         ROMERO                  CO          90007743084
48339715A2B27B   JOSE          LARA                    DC          90013827150
4833984A671999   JOSEPH        MONTES                  CO          38019968406
4833B4A255B222   DEJUAN        BIBB                    KY          90014084025
4833B5A9A51334   MICHELLE      REIBER                  OH          90013595090
4833B613272B43   TERESA        FEKANY                  CO          90011896132
4833B827191988   TAMMY         ALLEN                   NC          90002468271
4833B893A3B37B   JORGE         CARDENAS                CO          33054078930
48341A61561967   JAMES         MCALLISTER              CA          90013200615
4834339688B16B   SANDRA        DURAN                   UT          90010173968
4834359175B58B   LESLIE        PAIZ                    NM          90006835917
4834375692B87B   TIFFANY       OWENS                   ID          90007517569
4834453A372B36   MARIA         BANUELOS                CO          33054315303
4834481684B271   CAIRIA        SNODDY                  NE          27070788168
483448A7191988   BERRY         SUITES                  NC          90013478071
48346189572B43   GUSTAVO       NAVA                    CO          90011521895
4834694325B53B   ALEX          RIVERA                  NM          90014839432
4834816748B16B   ROBERT        AAMODT                  UT          31071191674
4834827A441222   CHRISTINE     MONTGOMERY              PA          51015972704
4834834815B53B   AMANDA        CLAIBORN                NM          35081053481
48349784A72B36   CHARLES       PATTERSON               CO          90000227840
48349862372B43   JENNIFER      BENISON                 CO          90007608623
48349A34351334   CARLA         MATHIS                  OH          90012610343
48349A8A191988   ELIZABETH     SANCHEZ                 NC          90014750801
48349A9345B58B   GABRIELA      LOPEZ                   NM          90010010934
4834B4A592B87B   DOUG          HERBERT                 ID          90011064059
4835116A191988   JESSICA       COUNCIL                 NC          17086571601
48351575772B4B   RAIMOND       TRUJILLO                CO          90013435757
4835287415B174   ZYANYA        FLORES                  AR          90002568741
48353231A86478   CHRISTINA     BURGESS                 SC          90012092310
4835525765B222   TAMIKA        BURNS                   KY          90011082576
4835534A29152B   RICARDO       ARTALEJO                TX          90004173402
483553A8892825   SAMUEL        MENDOZA                 AZ          90014793088
4835595535B58B   TRACY         KING                    NM          90014789553
483561A728B165   NELSON        RIVERA                  UT          90006861072
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4835653A32B27B   TIFFANY            FERGUSON           DC          90012895303
4835668925597B   ANGELICA           LOPEZ              CA          49033236892
4835751748B16B   JENNA              JARAMILLO          UT          31043675174
4835774A271999   SEAN               STORIE             CO          90009727402
4835817925B58B   RAY                JAQUEZ             NM          90012191792
4835849577B646   DOROTHY            CHAMPION           GA          90000674957
483587A7372B43   BRYAN              HUFF               CO          90013747073
483588A948B16B   MARI               MOYA               UT          90008898094
4835912414B259   DONNA              SANDERS            NE          90003751241
483595A4772B4B   JENNIE             LOVERIDGE          CO          33096745047
4835989542B27B   CLIFTON            LIGHTHOUINE        DC          90006538954
4835994142B87B   JAMES              WILSON             ID          41060509414
4835B161151334   PARIS              RENDER             OH          90015001611
4835B55275B174   RACHEL             HARRIS             AR          90004165527
4835B746691569   MELISSA            CONTRERAS          TX          75000207466
4836148A172B4B   CHARLES NOCHOLAS   MCVAY              CO          90014184801
4836155545B395   DAVE               O'NEIL             OR          44567355554
4836218798B165   JACQUELINE         MALCOLM            UT          31038531879
48362A1945B174   TEMECA             WIGGINS            AR          23056890194
4836356215597B   VINCENT            SOLIZ              CA          49024265621
4836483A55B222   TONY               BANDY              KY          90013838305
4836592624B259   LUIS               SANDOVAL           NE          27016359262
48365A37471999   TRINITY            HERRERA-TAFOYA     CO          90010620374
4836666255B222   DARRYL             KING               KY          68099286625
4836679A991394   JYMELYA            MAUPINS            KS          90014817909
483674A5872B4B   TRUDY              KOERITZ            CO          90010774058
4836792635B395   SHAWN              ALLEN              OR          44548009263
48367935972B36   AURELIO            HERNANDEZ          CO          33044579359
4836796318B16B   TERESA             GUIDO              UT          90014619631
4836839525B222   ROBERT             HIGGASON           KY          90014753952
4836857A872B4B   JOSEPH             PARKER             CO          33071665708
4836932535B53B   ANGELA             TAPIA              NM          90005643253
4836947514B259   BRENDA             AGUIRRO            NE          27096904751
4836B445591988   JESSICA            PLATT              NC          90011864455
4837118798B165   JACQUELINE         MALCOLM            UT          31038531879
4837126A38B16B   MARIELA            LEWIS              UT          90013612603
48371519257B61   CHRISTAINA         CASTROL            PA          90015405192
4837161395B58B   JENNIFER           TULLIE             NM          90014426139
48371A3AA5B53B   IVAN               MEDINA             NM          35023160300
48372745972B4B   IAN                BUECHELE           CO          90012547459
48373578172B24   LOGAN              MOELL              CO          33026615781
48373821972B36   RIGOBERTO          ANDRES             CO          33091768219
483746A8A72B4B   CHANNA             HAMILTON           CO          33035276080
48374733A8B16B   MONICA N           GONZALEZ           UT          90014767330
48374A7575B395   RYAN               REID               OR          90012940757
483751A8471999   DESTINIE           LEFEBRE            CO          90014401084
48375253A5B222   DOVIE              SMITH              KY          90010782530
48376156A61967   JOSE               MONTERO            CA          90014681560
4837732575B58B   BRANDI             TORIVIO            NM          90003943257
4837787748B16B   STARRLYN           FRIEDMAN           UT          90014588774
48379A71872B4B   DESTINY            WRIGHT             CO          90003530718
4837B975A71999   KAYLA              HERNANDEZ          CO          90001009750
4838117915B58B   ERIC               NDAHEBA            NM          35037831791
4838128588B165   KYLE               MAY                UT          31067082858
483817A7491394   CODY               ZIMMER             KS          29009487074
48382A6A661938   DANIEL             AVITIA             CA          90010240606
48382AA435B174   JENNIFER           WASHINGTON         AR          90013960043
4838398995B56B   SHARON             MADRID             NM          35011649899
483849A575B58B   MI                 CARTER             NM          90007229057
4838522692B87B   KATIE              FRAZEY             ID          90003872269
483863A4872B4B   JOSEFINA           REYES              CO          90014153048
48386916A91956   XIOMARA            GONZALEZ           NC          90001829160
48387583972B43   TONI               CARTER             CO          33086295839
4838B52585B53B   GABRIELA           BARRIGUETE         NM          90012005258
4838B68A972B36   ALOYA              JOSE               CO          90008796809
4839112185B53B   DAWN               GREEN              NM          90013181218
4839115A872B4B   JUBEL              BEREN              CO          33074091508
48391289A91569   GEORGE             ESSENBERG          TX          90010102890
4839152885598B   LUIS               GONZALEZ           CA          90007925288
4839186A491988   STELLA             CARPENTER          NC          17080158604
4839492345B174   GREISY             SANTOS             AR          23059649234
48395421772B43   SHARIFA            WRIGHT             CO          90006594217
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4839563A871999   ANTONIO     FRANCO                    CO          90015006308
4839637675B222   HARRY       BROWNING                  KY          90015173767
4839674725B58B   TIM         MOTTRAM                   NM          90014817472
48396A3982B27B   MICHAEL     ARAYA                     DC          90013240398
48396A7458B16B   GALEA       GUIJOZA                   UT          90014750745
4839711555597B   NORA        CURIEL                    CA          49073281155
4839754A12B27B   ASHLEY      ROSS                      VA          90010695401
48398343872B36   ADAM        RIGGS                     CO          33000283438
4839888A88B165   JASON       SWANSON                   UT          31067588808
48398A49A72B36   COURTNEY    CLARK                     CO          90015200490
4839B143161967   TIFFANY     SULLENS                   CA          90010731431
4839B29665597B   SALVADOR    GARCIA                    CA          49014412966
4839B721691569   RUBEN       ALTAMIRANO                TX          90009557216
4839B776572B43   DIANNE      WORTHAM                   CO          33035707765
483B1165991569   MARTHA      LEIVA                     TX          90003901659
483B14A145B174   STEVE       SCROGGINS                 AR          23025764014
483B1A6465B53B   CARLOS      CORONEL                   NM          90010910646
483B2144591394   MARIA       RUIZ                      KS          90011501445
483B427427B35B   MARK        PERTUIT                   VA          90012642742
483B442A38B16B   JUAN        NAVARRO                   UT          90008694203
483B458525597B   ROGELIO     PONCE                     CA          90014895852
483B4748961963   HEATHER     DRAXINGER                 CA          90012847489
483B531165B58B   CLAUDINE    MARTINEZ                  NM          90002663116
483B6A2258B166   MARIANNE    OLSEN                     UT          31006040225
483B6A8235597B   ZOILA       SANCHEZ                   CA          90013000823
483B719472B27B   KIMBERLY    CASTLEBERRY               DC          90010881947
483B832475B58B   ROXANNE     RIOS                      NM          90002443247
483B8669A91523   CECILI      SILLAS                    TX          75057246690
483B877A961963   VIRGINIA    ZEPEDA                    CA          90012317709
483B887398B16B   ASHIE       LENIDRIK                  UT          90014588739
483B95A225B222   YANET       GUZMAN                    KY          90013225022
483B9A58191569   GERARDO     VASQUEZ                   TX          90010820581
483BB2A413B346   CARL        IBARRA                    CO          33023032041
483BB332A72B43   VERONICA    PALMA                     CO          33076093320
483BB443771999   CATHERINE   MARTINEZ                  CO          38079974437
4841122224B271   JAMIE       SANDERS                   NE          27011582222
4841164125597B   BRANDON     WILLIAMS                  CA          49073976412
4841191915B395   SHAWNA      CHASTEEN                  OR          44572309191
4841239418B16B   CAROLYN     RICHARDSON                UT          31009773941
4841286655B58B   RUBEN       CORRERAMARTINEZ           NM          90012628665
484138A338B16B   KIM         HOOVER                    UT          31097718033
48414384172B4B   WENDY       CALAMIA                   CO          33053763841
4841649A971999   SHANAE      ADAME                     CO          90008864909
4841661A15B222   AMY         SIMPSON                   KY          90009656101
48416A61961963   WANNETTA    DAVIS                     CA          46069500619
4841788335597B   CHRIS       JAMES                     CA          90012128833
4841792A691394   IDA         JONES                     KS          90014849206
48418A6A172B36   LOUIS       FERGUSON                  CO          90008800601
4841979495B53B   DANEA       TRUJILLO                  NM          90011707949
4841B17515B53B   ROBERT      GARCIA                    NM          35047171751
4841B616791873   GREGORIO    GUTIERREZ                 OK          21070836167
4841B6A5961963   KRISTIN     WICK                      CA          90014546059
4842122825B222   WILLIE      WATTS                     KY          90012182282
48421561872B36   BRANDON     TRUJILLO                  CO          90014595618
484217A9472B4B   RONALD      LEVENS                    CO          90012197094
48422146A91569   SOFIA       MARTINEZ                  TX          90006181460
48422A5915B58B   FELICIA     BUCHNER                   NM          90006470591
484232AA691956   JACKIE      COUNCIL                   NC          17073272006
484247A1291394   CLAUDIA     SANTOS                    KS          29039357012
4842534272B27B   RENEE       DORSEY                    DC          90014863427
4842618788B16B   MAVIS       BLACKBURN                 UT          31039211878
484264A9784353   KEYONA      WILLIAMS                  SC          90001384097
484268AA872B43   JON         DOE                       CO          90014188008
48427117472B43   EMILIA      GONZALES                  CO          90013061174
4842792915B222   ODALYS      ZANDOVAR                  KY          90014119291
4842842A52B27B   PHILLIP     LEE                       DC          81012984205
48428962272B43   JOSEPHINE   ARAGON                    CO          90012229622
4842B868191394   MARIA       CALDERA                   KS          29073618681
4843179A791988   CHANTI      COUCH                     NC          90001027907
4843224562B27B   ACE         TRU                       DC          90015192456
48432397A61963   GUILLERMO   MORENO ABARCA             CA          46051783970
4843244582B92B   KIM         POCIENGEL                 CA          90011424458
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4843264995B53B   TED                 BENAVIDES         NM          35002036499
4843312A64B271   WILLIAM             HENDERSON         NE          27015841206
48433A47381248   SOLEDAD             ROSES             IN          90009540473
4843417915B58B   ERIC                NDAHEBA           NM          35037831791
48434213A2B27B   VANESSA             COLCLOUGH         DC          90012012130
48434498972B43   EDWYNN              COLLAZO           CO          33059634989
48435A3655B53B   DESIREE             VALLEZ            NM          90014860365
4843657745B58B   ELIZABETH           DE LA TRINIDAD    NM          90001185774
48436735372B43   RANDY               HOVRUD            CO          33066567353
4843699465B222   LAKISHA             OLIVER            KY          90010529946
48436AA825B174   THEODIS             DOCKETT           AR          23071590082
4843735A191988   DARLI               LOPEZ             NC          90011133501
4843755958B59B   LUCK                SORSBY            CA          90015425595
4843782A15B53B   MAGDA               ELENA BUSTILLOS   NM          35069048201
48437A26A84336   RICHARD             KIMBALL           SC          90003830260
4843847AA5B58B   RICHARD             HERNANDEZ         NM          35059064700
48438A8322B27B   ELBA                CABRERA           DC          90012740832
484398A1881669   STEFFANIE           RIVERA            MO          90007798018
48439A3715B53B   CARLA               HACON             NM          90014860371
4843B197691394   MAUREEN             HILL              KS          90014731976
48441297272B43   JANALDO             MIMS              CO          90014112972
48441A6145B53B   WILLIAM             FLOOK             NM          90014860614
4844358448B165   SIONE               TAUNAUTA          UT          90003855844
48443A9595B174   KRYSTAL             LANE              AR          90014570959
4844441962B27B   DONNELL             HOOKS             DC          90011044196
4844498868B16B   LETRELLE            MCCELLON          UT          90014619886
48445491A5B174   FELECHIA            ROGERS            AR          23003164910
4844565978B16B   MARK                COMBEST           UT          90013016597
4844598212B27B   RODOLFO             BONILLA           DC          90009299821
48446187A5B222   DESIREA             THOMPSON          KY          68078171870
4844619A891523   CASSANDRA           LOPEZ             TX          75057281908
48447793A4B271   FIRDOSI             FAZIL             NE          27098127930
4844843557122B   AMBER               HARMON            NE          90015514355
484488A518B155   DARIN               CAMOMILE          UT          90008728051
48449818372B4B   FRANCISCO           ROBLES            CO          33007818183
4844B77922B27B   SENTAYEHU           NEGESSO           DC          90014777792
48451326A5B395   ALEXANDRA           WALTERS           OR          90011613260
4845265285B395   LEO                 LANDRY            OR          44529696528
4845268365B222   JOYCE               EDMONDS           KY          90014866836
4845289A972B4B   CHERI               PHILLIPS          CO          33049038909
48452A27961963   DEAN                WOZNEY            CA          90002860279
4845346252B27B   TRACY               FAROOQ            DC          90001134625
4845359185B53B   EMMANUEL            MONTEZ            NM          90014535918
4845422A85B395   SJANA               KOOPMAMS          OR          90008872208
4845435778B165   LUCIANA CONCEICAO   SIMOES            UT          90003983577
4845519695B254   JAGANATHAN          LAKSHMANAN        KY          90010271969
4845568A42B27B   LISA                KELLY             DC          90009726804
484568A5151334   DANA                ANKNEY            KY          90015608051
484569A175B222   YVONNE              EXUM              KY          90010819017
4845824498B16B   HEATHER             CRAIG             UT          31093402449
484587A9A7B461   YERKA               MORROS            NC          90012897090
4845882492B27B   JAIME               SANCHEZ ESCOBAR   DC          90012468249
48458879A91394   IRMA                VILLEGAS          KS          90014858790
4845932885597B   VELMA               GRANT             CA          49030393288
4845B22552B27B   ROBIN               CHERRY            DC          90014562255
4845B9A815B53B   ALFREDO             SOLE              NM          35034249081
4846139165B222   ANDRE               LEE               KY          90003493916
48461A9135B395   RICARDO             GONZALEZ          OR          44505750913
4846287565B58B   ELIAS               GONZALES          NM          90014878756
48462965A91394   MARCOS              PEREZ             MO          90014859650
4846333A491394   GUADALUPE           ARAIZA            KS          29038733304
484635A4457122   ERLINDA             VILCA             VA          90006175044
4846367A851334   KAREN               TURNER            OH          66061636708
4846516855B58B   ROBERT              ZUBIA             NM          35073781685
4846534123B321   JESSICA             CRUZ              CO          90011413412
4846585582B87B   WADE                WISE              ID          41026048558
48465937A3B321   JESSICA             CRUZ              CO          90011629370
48465AA7A91394   ALFIEONNA           DAVIS             KS          90014860070
4846637186195B   TOMMY               TESH              CA          90012173718
484663A755598B   ADRIAN              MAGANA            CA          90014943075
48466492A5597B   SARA                ORTIZ             CA          90014824920
484666A835B395   AMBIKA              DULAL             OR          90009956083
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4846722695597B   ANGELINA    ARRIOLA                   CA          90013662269
48467237A5B58B   NATHANIEL   HOEFER                    NM          90013072370
4846819145B174   AFRICA      WRIGHT                    AR          23091411914
4846873648B16B   NIKKI       GRAHAM                    UT          31083787364
48468832572B43   DANNY       CHAVEZ                    CO          33068408325
48468919172B4B   EVA         STROUS                    CO          90013149191
4846947625B53B   ANTONIO     RAMOS                     NM          90002784762
4846B826351334   KATIE       MCCORMACK                 OH          90008988263
4846B8A3161967   EBONY       BARKER                    CA          90007888031
4847112A891569   TRINA       EDWARDS                   TX          90015321208
484717A472B27B   ELIZABETH   VENTURA                   DC          90009217047
48472439372B4B   CASEY       MARTIN                    CO          90001204393
4847419762B27B   DOMINIQUE   WILLIAMS                  DC          90013041976
48475166872B98   GLORIA      GONZALES                  CO          90008071668
4847582492B27B   JAIME       SANCHEZ ESCOBAR           DC          90012468249
484777A6177595   JAYSON      MORALES                   NV          90010537061
48478745972B4B   IAN         BUECHELE                  CO          90012547459
48478749A5597B   KRISTINA    SIERRA                    CA          90003957490
4847935252B27B   TOM         JONES                     DC          90015203525
48479856A61967   JAVAN       WOODSON                   CA          90013218560
48479A8912B879   LETICIA     BARRAGAN                  ID          90010190891
4847B1A585597B   SHEEN       MOUA                      CA          90014771058
4847B2A712B87B   KIM         KRAUSE                    ID          90007322071
484833A918B165   TRISHELLE   BLACKWELL                 UT          31086083091
4848343995B395   KOOLGAIL    KUNE                      OR          90011524399
4848378735B53B   JULIE       ESPINOSA                  NM          90012637873
4848392612B87B   JEROME      JOHNSON                   ID          41066029261
48485541772B36   EUGENIO     GONZALEZ MURILLO          CO          33069805417
4848561895B53B   ROBERT      WILLIS                    NM          90007526189
4848599A39155B   VICTOR      OROPEZA                   TX          90008869903
4848794A75B222   TERRIOUS    COLLLINS                  KY          90014649407
48487A74891956   TIMOTHY     WILSON                    NC          90001830748
4848862355B174   RODNEY      BEASLEY                   AR          90013456235
4848B62822B872   JESSICA     WILCOX                    ID          42002016282
4848BA32672B43   MICHAEL     THYFAULT                  CO          90013070326
4848BA4725B58B   SANDRA      BACA                      NM          90014920472
48492462272B25   KEYONNA     MOORE                     CO          90002694622
48492856172B4B   MICHAEL     SELL                      CO          90012798561
4849296A55B174   SERGIO      REY                       AR          90002409605
4849331555B58B   SETH        STEVENSON                 NM          90015303155
48494773572B43   ENEDINA     GASCA                     CO          90015087735
48494A86891956   TEJUANA     BUTLER                    NC          17078140868
4849569162B342   MARIA       MALTA                     CT          90014436916
48495732172B36   JOSEPHINE   VIGIL                     CO          90012657321
484958A2591569   ARTURO      AGUILAR                   TX          75091788025
4849656665B53B   EDGAR       RAMOS                     NM          90002625666
4849688128B16B   NATOLIE     MENDEZ                    UT          90002788812
4849712375B53B   NOEL        ESTRADA                   NM          90014861237
4849743A35597B   MARSHA      DOLAND                    CA          90012184303
484977A6272B4B   PEDRO       RIVERA                    CO          33071747062
4849896265B58B   MELISSA     BACA                      NM          90001829626
48499517A31959   OCTAVIOUS   JONES                     IA          90014775170
4849B84218B546   CARRIE      MCCULLEY                  CA          90015518421
484B11A4331959   EDWARD      MOORE                     IA          90014521043
484B2A3965597B   LUIS        HERNANDEZ                 CA          90010760396
484B3165451321   CHRIS       SMITHSON                  KY          90008121654
484B35A4A5B222   STEPHEN     ROBINSON                  KY          90011305040
484B3622261988   KENNETH     MOSS                      CA          46096486222
484B3929341241   LORI        WHITTACKER                PA          90014509293
484B466765597B   JOSHUA      ROCHA                     CA          90001096676
484B48A3472B43   JESSIE      CHAVIRA                   CO          90005208034
484B513594B945   SUHEI       DIAZ                      TX          90009701359
484B839355597B   JESSICA     BARRON                    CA          90005573935
484B9329651334   TAMMY       MCDANIEL                  OH          66014803296
484B9382451344   ANNA        LOVELY                    OH          90002723824
484B963425B58B   MELISSA     HERRERA                   NM          90013656342
484B9677351354   MIA         MANALILI                  OH          66015246773
484B9965491394   RETHA       FARNCH                    KS          90014889654
484BB28512B27B   RANIKA      SLIMS                     DC          90014842851
484BB692A5B222   RAFAEL      RODRIGUEZ                 KY          68010666920
48512262372B43   YURI        MORENO                    CO          90012062623
4851288132B27B   JOHNNY      BRINSON                   DC          90009148813
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4851367885B53B   IVAN              LEOARDO              NM         35016656788
4851581398B188   HOWARD            JURAREZ              UT         90013548139
4851716462B27B   OSCAR             FRANCIA              DC         81014561646
485173A725B53B   PATRICK           FARFAN               NM         90000873072
485182A4991524   JACKIE            JOHNSON              TX         90012502049
485184A4151334   SHANELL           WILLIAMS             OH         90007864041
48518686A91988   JAMAL             SMITH                NC         90012646860
4851B645861967   FRANCISCO         GUERRERO             CA         46034046458
4851BA6914B271   DEBRA             BEUTEL               NE         27076250691
4851BAA765597B   JULIAN            FLORES               CA         49017720076
4852121655B53B   ANGELINA          MARTINEZ             NM         35012262165
4852141465B222   JUAN              CHAVEZ               KY         90006264146
485224A4361963   ALBERTO           GARCIA               CA         46006514043
48522999A91394   CARMEN            DESALAZAR-BALDERAS   KS         90014879990
48522AAA12B27B   LUCIO             PEREZ                DC         90002150001
48523188A2B27B   TERRANCE          MURRAY               DC         90014801880
4852384655B53B   JESSICA           GARCIA               NM         35010978465
48523A63172B43   PEGGY             MEHEGAN              CO         33073000631
48523A71791988   EDGAR             MARTINEZ             NC         90011900717
48523AA4391394   JOSE              GARCIA               KS         90014880043
4852427395B395   ROSA              MEJIA                OR         90010282739
4852648A14B259   JESSICA           TODD                 NE         27078174801
4852767A472B36   MICHAEL           BENCK                CO         90012886704
48527927A5597B   VERONICA          CEJA                 CA         90013029270
4852823535B395   ROCHELLE          PACK                 OR         44595832353
485284A5A5B222   LACARDE           CHILDRESS            KY         90014664050
485285A344B259   CHARLES           FISHER               NE         90001485034
4852866195B58B   DIEGO             ZAMBRANO             NM         90003056619
4852954534B271   CHRISTINE         EARL                 NE         90012975453
4852961285B222   CARAMEL           SUNDAY               KY         90010836128
48529672A5597B   FELIPA            PIZANA               CA         49075536720
48529A41891394   JESUS             SALCEDO              KS         90014880418
4852B5A3472B43   EVELYN            FIRMAN               CO         33029605034
48531A69A61967   MIRYAN ELISA      KADDIS               CA         90014180690
48531A79371999   CHARLES           BROWNE               CO         38054190793
4853264A291394   JOSE              VARGAS               KS         90014726402
485338A514B271   JANET             MAPES                NE         27090648051
4853536398B16B   JEREMY            SMITH                UT         90003803639
485358A6661967   KELLY             MCBREARTY            CA         90012988066
48536A36A91569   MARIA             MOLINA               TX         75059730360
48538437A72B36   ROBERT            MARLOW               CO         90009944370
4853914895B58B   RICKY             MILLER               NM         90012601489
4853B19278B16B   STEPHEN           MOHR                 UT         90010061927
4853B63328B186   RANDY             NELSON               UT         31095436332
4854214455B58B   MAJOR             WOODY                NM         90012981445
4854287975B395   JOHN              FRANCOER             OR         44575378797
4854382228B182   GERMAN            CASA                 UT         90011628222
48544A7222B87B   AMANDA            ASBURN               ID         90013800722
48545A91972B36   MEGAN             HOWELL               CO         90012160919
485472A578B16B   HOLT              MELISA               UT         31078102057
48547937A5B174   DANIELLE          WILLIAS              AR         90014019370
485499A8A91569   NANCY             LOPEZ                TX         90008009080
4854B332372B36   AMY               KERSTIENS            CO         90001183323
4854BA83772B43   LEANN             NEVERDAHL            CO         90009010837
48551577872B36   LUIS              LUNA                 CO         33057035778
4855165334B52B   DANNY             PRICE                OK         90008836533
4855194222B851   JANNEAL           WILKS                ID         90014079422
48551A62972B43   HERMAN            DIXON                CO         33051090629
4855311418B16B   MARIA             CRUZ                 UT         31090001141
4855349694B259   HAROLENE          LOUD                 NE         27095334969
485535A315597B   JACKIE            JURADO               CA         90006375031
48554428472B4B   SONIA             ESCOBEDO             CO         33015234284
48554A6A65B58B   MARIJUDE          GARCIA               NM         35026020606
4855516A75B222   JAMES             CARROLL              KY         90013271607
4855535164B271   CALISO            SCOTT                NE         27072663516
485553A8877595   JULIA             SALAS                NV         90001773088
4855551812B87B   YVONNE            SILVA                ID         41092985181
4855612875B395   MARIA DE LA LUZ   SAUCEDO              OR         90010471287
4855725218B16B   ERIKA             FRESCURA             UT         90014632521
4855741A84237B   SHANE             SMITH                GA         90010294108
485585A4651334   STEPHANIA         CAMPBELL             OH         66048695046
4855912915B174   EUGENE            BOSTON               AR         23074791291
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485595A725B174   EUGENE          BOSTON                AR          90014825072
4855983534B259   CARMEN          FLOREZ                NE          90010438353
4855B228471999   IDA             WEST                  CO          38083812284
4855B47455B58B   JAMEY           CROCKETT              NM          90010944745
4855B7A245B222   SHIRELLE        WOODRIDGE             KY          90005817024
4855B84815B58B   MANUEL          ROBLES                NM          90012728481
4856292A772B4B   ELIASAR         LOPEZ                 CO          90007799207
48563353A91569   GABRIELA        CORONEL               TX          90012763530
485633A315B174   ROBIN           ROLAND                AR          23083483031
4856344277B445   PORSHA          NANCE                 NC          90011034427
48563497972B23   HOLLY           DUMAS COCAS           CO          90012574979
4856481564B259   GARY            FOWLER                NE          27027778156
4856528914B271   JAMES           SEIDEL                NE          27083732891
485654A7191873   NICOLE          ARMS                  OK          21033514071
4856592A281639   DAVID W         GUNSOLLEY             MO          90012559202
4856693165B53B   CARERINA        GARCIA                NM          90014869316
4856728645597B   MAYRA           GORDILLO              CA          90011032864
485678AA291523   EDUARDO         MORENO                TX          75057298002
48568376272B4B   ALFONSO         GARCIA                CO          90003373762
485687A128B165   CHASE           KELSCH                UT          31080937012
4856995625B174   CHRISTY         THORNTON              AR          90013579562
48569A36971999   CASEY           SALAZAR               CO          90010560369
4856BA96761963   DANIEL          CORONA                CA          90013360967
48571A2595B58B   ADAM            VASQUEZ               NM          90014910259
4857266295B58B   GABRIELA        SANCHEZ               NM          90014836629
4857277835593B   PHIALY          PHONGSIPRASEVETH      CA          90010267783
485727A655B222   JERON           HAZELWOOD             KY          68096737065
485737A7591873   CLINTON         MORRIS                OK          90005017075
4857387795B58B   ANGELICA        PENA                  NM          90014878779
48573A96A5B249   DEBRA           PETRO                 KY          90003010960
48574159872B36   DAVID           HEIFEL                CO          90014631598
4857437225B174   ANTHONY         DAWSON                AR          90014113722
4857468265B53B   ANGELIQUE       PENA                  NM          90005056826
48575634A4B231   KUOK            ALEU                  NE          26011346340
48575AA1991394   CHET            MURRY                 KS          29030430019
4857618695B53B   PAULA           DEANE                 NM          35033811869
48576A3912B27B   SILVER          RUFFIN                DC          90011470391
4857728193B373   JORGE           SANTOS                CO          33027692819
48577394172B4B   ANTONIO         PEREZ                 CO          33005303941
48577912A5B551   INES            LOPEZ-SIXTO           NM          90004009120
4857844365597B   JUAN            GABRIEL               CA          90011554436
4857884325B222   CHARLES         PENDLETON             KY          68094488432
48579572472B43   JOSE            ESCOBAR               CO          33051235724
48581624A5B53B   GABRIEL         SOSEEAH               NM          90010626240
4858194788B165   DARIO           PEREZ                 UT          31039399478
4858279A25597B   LORENA          FIGUEROA              CA          90002627902
48583AAA491394   AIDA            SANCHEZ               KS          90012910004
4858451215597B   MARIA           HERNANDEZ             CA          49015605121
485845A545B395   ROBYN           JACKSON               OR          90008635054
4858469A272B36   SARAH           KIMBLE                CO          90014676902
485853A815B58B   ANGELICA        ALIRE                 NM          90013483081
48585A51761963   OSCAR           TORRES                CA          46014770517
48586657172B4B   AMBER           CEASAR                CO          90012556571
4858686A94B943   ROCIO           GUILLEN               TX          90002658609
485876A8961963   MIREYA          ALVAREZ               CA          46043296089
4858834A561969   DOMINIQUE       HERNANDEZ             CA          46016823405
4858859384B271   PATRICIA        GINDULIS              NE          27014725938
4858882635597B   STEVE           WHEELER               CA          90009908263
48588896172B4B   CONCEPCION      HERNANDEZ             CO          33065428961
48588A44151334   RODNEY LEE      MILLER                OH          90014380441
4858979672B87B   HANNAH          KIMBLEY               ID          90000587967
485899A4A5597B   LUZ             MEDINA                CA          90015329040
485899A4A61967   RALPH           GOMEZ                 CA          90003839040
4858BAA6691569   NORMA           MONTES                TX          90012430066
4859119475B395   RAMON           RAMOS                 OR          44586581947
485912A1372B43   RHONDA          ERIKSON               CO          33055622013
4859147935B58B   JOSE            MEZA                  NM          90013774793
48591965772B36   JENNIFFER       GARCIA                CO          90010929657
4859326332B27B   NATASHA         BIGELOW               DC          90002072633
4859411588B16B   MICHAEL LARGO   PRISCILLA MAURICIO    UT          90013321158
4859423232B27B   MOHAMMED        SHEMSU                DC          90001902323
4859444562B543   ROBERT          CLARK                 AL          90012104456
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485958A9261967   MICHAEL     MOORE                     CA          46079138092
4859652A991394   LAURA       CRABTREE                  KS          90004025209
48597538A91569   TANIA       HART                      TX          90013875380
4859797935B53B   ROCIO       ULLOA                     NM          90014869793
4859934A34B543   MAX         BERT                      OK          90010013403
4859B94122B27B   HANNA       TESHALE                   DC          90007889412
485B2918A8B16B   SHANE       PARRAMORE                 UT          90014089180
485B365A15B222   RICK        DIVENPORT                 KY          90013606501
485B3814A72B36   LIDIA       RIVAS RETANA              CO          90010018140
485B38A752B27B   MARQUETTA   BOYD                      DC          90010248075
485B3A97391394   DENISE      NAJAR                     KS          90014870973
485B4567A5B58B   KRISHNA     MONTOYO                   NM          90012145670
485B5524991945   LATISHA     BENTHALL                  NC          90006315249
485B554454B259   VINCENT     HAYNES                    NE          90011715445
485B5547472B43   DOMITILA    MENDOZA                   CO          90013785474
485B5687251361   TERRANCE    MILFORD                   OH          90005126872
485B663A391348   BIANCA      JOHNSON                   KS          90002346303
485B786765B58B   FRANK       MARTINEZ                  NM          90014438676
485B8119691988   FRANCISCO   BASILIO                   NC          90012541196
485B8188272B4B   BARBARA     GARCIA                    CO          33089341882
485B862965B174   DELORES     CASEY                     AR          23099666296
485B8855791873   DANAHE      CERVANTES                 OK          90009238557
485B8A47A72B36   TIMOTHY     HARVEY                    CO          90015140470
485B9479A5B338   ALEJANDRO   GARCIA                    OR          90013664790
485B94A985B395   LUIS        HERRERA                   OR          90001014098
485B9554A91394   CLAY        PITTMAN                   KS          29071515540
485B965418B165   ROCIO       MALDONADO                 UT          90008586541
485BB16962B87B   DAVID       SMITH                     ID          90008111696
485BBA5745B174   WILLIE      HUGHES                    AR          90010050574
48611242A51334   APRIL       FICK                      OH          90013942420
4861152894B271   QUETZALY    ROMO                      NE          90009705289
486121A5672424   DONNA       KRAUSE                    PA          90003501056
4861229125597B   MIRIAM      SANCHEZ-MORALES           CA          90012002912
4861337A38B16B   TANNER      MOREHOUSE                 UT          90008723703
4861341695B174   JOSHUA      CORLIS                    AR          23086024169
4861354334B259   MISAEL      JIMENEZ                   NE          27078635433
48613628572B36   ISAAC       VELEZ-HERNANDEZ           CO          33097986285
4861381455B53B   ELVIRA      BUSTILLOS                 NM          35099618145
4861416145597B   CARI        COMINGS                   CA          49041191614
4861441714128B   SHASA       JOHNSON                   PA          51023524171
48614575A5B222   RUTH        WHITE                     KY          90005925750
4861598478B16B   BRITTANY    MILLER                    UT          31073959847
4861727318B165   KIMBERLY    OVERDIEK                  UT          90003232731
4861735615B174   WILLIAM     ROE                       AR          90014623561
48618439A5597B   SANDRA      GARCIA                    CA          90001634390
4861845415B222   ANDREA      BEAVEN                    KY          68025454541
4861963AA71999   ROB         TRUJILLO                  CO          90014606300
4861976792B879   RYAN        KENDALL                   ID          90004857679
48619A48A86453   YVONE       JOHNSON                   SC          90011060480
4861B624471999   TIFFANY     NELSON                    CO          90014616244
4862165294B259   ANGELA      SHADA                     NE          27015246529
4862171885B53B   KAREN       ALLEN                     NM          35077817188
48621A14861963   TIFFANY     BARTON                    CA          90011190148
48621A7342B27B   MARTIN      ROSENSWIPE                DC          90012480734
486223A918B16B   ELIZABETH   TAYLOR                    UT          90014633091
48622645A2B27B   CLARRISA    THOMAS                    DC          90006516450
48622A9695B58B   TABITHA     TORRES                    NM          90003580969
4862343A572B68   PORFIRIO    PEREZ                     CO          90008174305
48624A2835B53B   DELIA       BUSTILLOS                 NM          90014870283
4862586A861963   FRANCISCO   AGUILAR                   CA          46047708608
48626736A5B391   ISIDRO      REAL                      OR          44557287360
48626A6572B27B   ALEXIS      MARKS                     DC          90001990657
48627A9A872B43   GREGORY     THATCHER                  CO          90012490908
4862862775B58B   VANESSA     GARCIA                    NM          90013216277
486297A2591988   LORRAIN     JOHNSON                   NC          90014117025
48629A63261963   MONICA      CERVANTES                 CA          46071140632
4862BAA6271999   PERLA       RIOS                      CO          38070490062
4863162535B174   TOMIKA      SMITH                     AR          90014866253
4863224298B188   JUSTIN      KING                      UT          90006952429
4863252465597B   REBECA      CERVANTES                 CA          90006045246
4863257525B222   SARAH       DIXON                     KY          68039135752
48632A7595B174   MILTON      RIMEREZ                   AR          90008550759
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48633539972B43   PEDRO         GALLEGOS MENDEZ         CO          33019855399
48633687A61963   JORGE         TORRES                  CA          46041806870
4863463232B27B   WENDY         DUMAS                   DC          81088676323
4863673A95B222   LEANTHONY     DODSON                  KY          68096757309
486367A8171999   MEGAN         SMITH                   CO          38075037081
4863718A272B43   CHRISTOPHER   BROWN                   CO          90010841802
4863724912B27B   JAVON         DABNEY                  DC          81021032491
4863759A185636   KULWINDER     SINGH                   NJ          90000135901
4863926914B271   NORMA         CARDENEZ                NE          90009252691
4863B159A5B395   CONNIE        OLIVER                  OR          44575191590
4863B49352B87B   JOSEPH        ALVES                   ID          41025894935
4863B582972B4B   ALEJANDRO     MENDEZ                  CO          90012525829
4863B73555B58B   NIURVE        LEONPRIETO              NM          90011187355
48641236A5B395   KRISTI        SKEIE                   OR          90012852360
4864125715B58B   FRANCISCO     PIMENTEL                NM          35010052571
48641359A72B36   REGINA        ROBERTSON               CO          90006973590
4864194354B541   JOHNNY        LAMPTEY                 OK          90010369435
48641A5A591569   STEVEN        HANKINS                 TX          90011810505
48641A7635B222   JESSICA       DAVIS                   KY          90011000763
486425A185B395   CARA          HAMILTON                OR          44518305018
48643636872B36   LIDEIVONNE    BENCOMO                 CO          90014846368
48643A56A51334   NIA           THRASHER                OH          66051040560
48643A8895B53B   SAMANTHA      CHAVEZ                  NM          90014870889
4864416435B222   NEISHA        NICOLE                  KY          90013271643
4864485525B58B   THERESA       SANCHEZ                 NM          35088208552
48645175A8B16B   DARTAGNAN     JOHNSTUN                UT          90014701750
48645684572B4B   CHRISTINA     SALAZAR                 CO          90011206845
4864698A461967   ANITA         CASTELLANO              CA          90013039804
4864733155B58B   JUAQUIN       OLAGUE                  NM          90015303315
4864735238B165   JOSE          LOVATO                  UT          31096543523
4864739A95597B   MICHELLE      BRITTEN                 CA          49021713909
48647A26172B36   RHEANNA       VELASQUEZ               CO          90013240261
4864881885B222   KRISHNA       RAI                     KY          90012188188
48648A5165B395   JOHN          SCHUMAN JR              OR          44556300516
48649323372B36   NOEMI         MARQUEZ                 CO          33089733233
48649636772B43   ISRAEL        FLORES                  CO          33076106367
4864B682761967   NELID         SALGADO                 CA          90009596827
4865178565B174   ANITA         BAKER                   AR          90004677856
486524A1791988   RICKY         MENDEZ                  NC          90014724017
48652998672B43   LUIS          BUSTILLOS               CO          90013559986
48652A3965B58B   LEANNE        HICKS                   NM          90007720396
486536A2661967   ANTONIO       DORADO                  CA          90005626026
486541A235B53B   MERLINDA      FLORES                  NM          90014871023
48654613272B4B   PHILIACIA     LADEAUX                 CO          90013046132
48654A2135B56B   MATTHEW       WOLL                    NM          90008140213
4865786935B53B   BROCK         BARRETT                 NM          35066838693
48659126A5B395   LUIS          BRITO                   OR          90003051260
4865931898B186   KAY           JENSEN                  UT          31083743189
4865971475B222   VIRGIE        DOUGLAS                 KY          90014237147
486599A6661963   ALISHA        BURMESTER               CA          46047739066
4865B94425B174   LADESIREY     MOLO                    AR          90003069442
4865BA43191988   ROSE          WILSON                  NC          90011030431
48661165A5B58B   EZEQUIEL      GRADO                   NM          90012041650
4866122375B222   FRANCES       CRAWFORD                KY          90013542237
4866124415B222   CHRISTINA     DAVIDSON                KY          90015212441
48661932972B4B   SHARLIQUE     HARALSON                CO          90015269329
4866214598168B   SHEILA        CARSON                  MO          90010631459
486627A7A51334   ANTHONY       HOLSINGER               OH          90014637070
486637A322B27B   FRANCISCA     AGUILAR                 DC          90003587032
4866411655B53B   APRIL         SALAZAR                 NM          90014871165
4866429348B165   COREY         BARRRETT                UT          90003232934
486645A5661967   EDGAR         VALLEGOS                CA          90012245056
4866492338B16B   BEVERLY       ASCHLIMAN               UT          90014169233
48665351A8B16B   ANDREA        MORRISON                UT          90014633510
486653A115B222   ANGELA        YANES                   KY          90012073011
4866582742B87B   KAMELLA       BERRY                   ID          41005728274
4866684975B395   TIM           HAYES                   OR          44576008497
48666A25691547   COREY         ONTIVEROS               TX          90012590256
48666AA715B53B   BOBBY         LOPEZ                   NM          90014880071
4866859495B53B   EDDY          SANDOVAL                NM          90010105949
4866913A772B4B   SHELBY        SCHALLMO                CO          90009311307
4866997A44B52B   SHAREKA       NORMAN                  OK          90013229704
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4866B492272B43   HEIDI YUASELIN   NUNEZ                CO          90012634922
4866B525451334   ANTONIO          PACHECO              OH          66070395254
4866B559471999   CHRIS            BORTON               CO          90001685594
4866B783291569   OLGA             MARQUEZ              TX          90012817832
4866B8A935B222   SHARKERIA        STARKS               KY          90007188093
4867122385B174   KATESA           WASHINGTON           AR          90013542238
4867143824B271   CHRISTINE        BARNES               NE          90010304382
48672348A72B38   SAM              ROSALES              CO          90001773480
4867326765B174   LASHANNON        ABRAHAM              AR          23077232676
4867339235598B   BLANCA           ROMO                 CA          90014753923
4867364974237B   KEVIN WILLIAM    DONOVAN              GA          90009096497
48674135A5B53B   CHRISTINA        ALLEN                NM          90014871350
48674241A51334   MARY             LONG                 OH          90007052410
486742A2774B8B   CHANDA MAE       GIBBS                OH          90011082027
4867599AA5B53B   LYDIA            NUNEZ                NM          90008059900
48675A74891394   ROSA             VALLEJO-SANTOS       KS          90014920748
486769A7972B43   PARIS            HOLMES               CO          33007259079
48677292A91569   JAMES            KELL                 TX          90006742920
48677592A8B165   CORY             NIPPER               UT          31023645920
48677A3A37B324   NAZIR            BECERRA              VA          81039440303
48678447172B43   LORI             KING                 CO          90012824471
48678792A91873   CHERYLLN         GEISER               OK          90003127920
48679264624B42   MARTA            LEON POLO            DC          90003662646
48679A82A61963   VIVIAN           KUUMBA               CA          90013620820
4867B173791988   DANILO           PACHECO              NC          90010321737
4867B18114B259   MICHAEL          LUCERO               NE          27063431811
4867B523A77554   JOYCE D          TRIGUEIRO            NV          43082825230
4868195885B174   KISHA            STEWART              AR          90013439588
4868246725597B   SANGALOUN        KEOPHALY             CA          90014034672
48682511991B88   ANTONIO          SALAZAR              NC          90015345119
4868332A351334   SHERRON          MCDANIEL             OH          66095373203
48683452A93762   FARRAH           VANCULIN             OH          90013804520
4868437A191834   VICKI            PHILLIPS             OK          90015113701
48687919372B4B   ANTHONY          MARCHESA             CO          90013899193
4868795465B222   CONNIE           GALLAHUE             KY          90015149546
48687A7A272B36   DANNY            CARTER               CO          33049450702
48688812A85939   JOSH             CROUCH               KY          90009258120
48688A48972B36   STEPHANIE        BELLERIVE            CO          90002680489
4868B1A6972B85   ANN              KENNEDY              CO          33095071069
4868B781191873   KYLE             FRIEND               OK          90007177811
4868B84978B165   MARTHA           FERNANDEZ            UT          90008828497
4869163265B174   DONNA            WINNE                AR          90007626326
48691A47161963   ROSE             WALSH                CA          46004760471
4869276695597B   RHOAN            LYLE                 CA          49006927669
4869518545597B   MIGUEL           CASTILLO             CA          90007211854
4869527914B271   CHRIS            MIERAS               NE          90008312791
48695547A5B58B   JARAMILLO        JARAMILLO            NM          90004145470
4869616647B456   LYNETTE          SHETTON              NC          90002091664
486964A1251334   DUSTYN           WILLIAM              OH          90007564012
486965AA872B43   ELIZABETH        HERNANDEZ            CO          33057875008
48696A92161963   SUZI             ORAHA                CA          90011640921
4869731552B27B   DAVENSON         CYCERON              VA          90009573155
48697A4A751334   CENI             ORELLANA             OH          90012620407
48698A49351334   EDDY             CARRASCO             OH          90012620493
4869916A97B452   KIERRA           SMITH                NC          11090081609
4869B27914B271   CHRIS            MIERAS               NE          90008312791
4869B5A512B87B   AMI              MANNING              ID          41044065051
4869B5A5A5597B   HARJIT           ROOPRA               CA          90014565050
4869B76A72B27B   DIAMON           BRINKLEY             DC          90001887607
486B154A391569   MICHAEL          QUINONES             NM          75085075403
486B258454B271   JOSE             R                    NE          27096665845
486B2768177595   JULIO            CARDENAS CRUZ        NV          90010567681
486B285755597B   NOEMI            HERNANDEZ            CA          90006548575
486B3597191988   NEFTALI          AGUIRRE HERNANDEZ    NC          90014835971
486B3694181669   KYLE             RAY                  MO          90010736941
486B3873661967   LEOORNARDO       ALMARAZ              CA          46039198736
486B41A4172B43   BRYAN            KNIGHT               CO          33010051041
486B432915B391   ERIK             WICKMAN              OR          44522863291
486B4518271999   CHARISSA         LUCERO               CO          90006135182
486B469243B397   KIMBERLY         MONTANO              CO          90009146924
486B498478B16B   BRITTANY         MILLER               UT          31073959847
486B538218B16B   WARREN           BECK                 UT          90005413821
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486B5568A61963   MARISOL           JIMENEZ             CA          90014275680
486B562275B53B   CLAUDIA           MORENO              NM          35066236227
486B5813351334   JOSHUA            MATTHEWS            OH          90014778133
486B581452B27B   WANDA             FAULKS              DC          90013168145
486B5864361967   IGNACIO           MORA                CA          46013498643
486B5928292825   RUFINO            LOPEZ               AZ          90014109282
486B6814161963   JOSE              BATISTA             CA          46059208141
486B6A48572B36   MIACHAEL          HEALING             CO          90014320485
486B815792B872   CODY              LOVELACE            ID          42004171579
486B8341A72B4B   ROSALBA           MORALES             CO          33067863410
486B883794B259   SHAKIRA           DAVIS               NE          90001268379
486B914674B271   COLTER            RIPTON              NE          27066291467
486B918188B156   TRENT M           AMANN               UT          90010331818
486B9667172B43   OMAR              CORDOVA             CO          90013776671
486BB158591873   BRITTANY          EDWARDS             OK          21011661585
486BB387391988   NELSON            ANDRADE             NC          90007173873
486BB82742B87B   KAMELLA           BERRY               ID          41005728274
4871127815B222   ADAM              TAYLOR              KY          90011082781
48712489772B43   MARGIE            MACBRIDE            CO          33030314897
4871258415597B   MARTHA            OROZCO              CA          49026855841
487125A572B27B   DANI              HILLIARD            DC          90013515057
48712AA375B58B   JOSE              LUCERO              NM          90014200037
4871313A651334   AMIE              PLAVSIC             OH          90014681306
48713648272B36   MARCY             BEARD               CO          90014366482
4871368525597B   MARIA             GOMEZ               CA          90011136852
487143A3691956   GEORGE            DARE                NC          17018763036
487146A265B53B   GERARDO           LIMAS               NM          90007426026
4871493492B27B   SANDRA            RODRIGUEZ-DIAZ      DC          90003239349
48715518572B43   ANTHONY           LAROCCA             CO          33002575185
4871573235B395   BRITTNEY          OTIS                OR          90006337323
48716234A61967   JOE               MESA                CA          46092452340
4871645A372B43   TAMARA            HILL                CO          90012934503
4871664165597B   LINA              GONZALES            CA          90008346416
48717176172B36   RICARDO           ROSALES             CO          33058001761
4871725245B53B   ABRAHAM           ROBLEDO             NM          90011402524
4871747715B53B   FELIPE            MENDOZA             NM          90012174771
48717495A5B395   TERRY             FOSTER              OR          44509724950
48718A32791988   JOAN              PURDIE              NC          17012390327
48719317A71999   LOU ANN           ARAGON              CO          90001413170
48719618A72B36   BLAKE DEJONECHE   SWAIN               CO          90010826180
48719932772B43   JOLOU             URBAN               CO          90014769327
48719A11185886   CAROL             FOGG                CA          46008920111
4871B16165B53B   VASQUEZ           TASHA               NM          90004001616
4871B259891988   TONY              MCNEIL              NC          90011082598
4871B34265B395   NICOLE            STREETER            OR          90008993426
4871B62295B174   LAKITH            GOLDEN              AR          23081376229
4872123875B222   JACOBY            MASK                KY          90014742387
487221A595B58B   JHONY             CHAVEZ              NM          90006951059
48722A1498B157   JONATHAN          TALOA               UT          90012990149
48722AA1151334   JENNIFER          NASSAR              OH          90015300011
48722AA152B27B   FRANCISCO         GONZALEZ            DC          81047000015
48723A5685B53B   CHERISH           HOGGAN              NM          90014880568
4872467345B222   JOE               ROBINSON            KY          90000296734
487271A6851334   JOSE              RENTERIA            OH          90014751068
48727443A7122B   LAMYIA            RHYNE               IA          90015234430
48727482A91988   JASSMYN           SPINKS              NC          90014724820
4872753595597B   VRISAMAR          ESPINOZA            CA          90002985359
4872774A65B53B   JESSIKA           DUGGINS             NM          90014457406
48729131A72B36   JOSE              OSORIO              CO          33062821310
4872B151872B4B   LORENA            SANCHINEL           CO          33097981518
4872B37795B222   MATTHEW           MOODY               KY          68041773779
4872B774771999   PANNI             LANE                CO          90014617747
4872B78175B53B   DARLENE           TRUJILLO            NM          90005277817
487313A915B174   CANDACE           WARD                AR          90014703091
4873161657B394   OSCAR             GONZALEZ            VA          90006186165
4873172188162B   SAMIR             GUSEYNOV            MO          90005817218
48731A36991394   LASHON            FORTE               KS          29089560369
4873241795B53B   CHRIS             ABAS                NM          90006684179
4873394325B53B   LILIA             VALENZUELA          NM          90010869432
4873438335B174   LINDA             UMERAH              AR          23022913833
48734529A91569   YOLANDA           VARGAS              TX          90011645290
4873498135B53B   GUADALUPE         JIMENEZ             NM          90013239813
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48735499A91569   RUTH           VILLANUEVA             NM          75084434990
487354A6861963   PAYGO          IVR ACTIVATION         CA          90012414068
4873574835B58B   PATRICIA       MERAZ                  NM          35066157483
4873615264B271   GINA           GRIFFETH               IA          90000661526
4873681825B395   STEPHANIE      COCHRAN                OR          44535448182
4873833185B58B   RUBEN          SANCH                  NM          90003973318
4873856978B165   MARCOS         OLMEDO                 UT          90004075697
48738A18232586   GREG           ANDERSON               TX          90015460182
4873939612B23B   AISHA          LAUGHTON               DC          90008163961
48739A32551334   ANGEL          GRIFFIN                OH          90013820325
4873B218691569   MARYRA E       VAZQUEZ                TX          90014122186
4873B324972B4B   MARISOL        AGUIRRE                CO          90002173249
4873B446172B36   FRANK          BELLO                  CO          90012374461
4873B615A5B58B   CANDACE        GARCIA                 NM          90014076150
4873B766272B43   VERONICA       MARTINEZ               CO          90008947662
4873BA12A8B16B   SIALE          ANGILAU                UT          90003170120
487411A224B259   MARY           BAUGHMAN               NE          27048851022
4874184A79185B   ANDREW         WEBB                   OK          90000628407
48741A14672B4B   DAVID          GALLEGOS               CO          90010910146
4874255195B53B   DORA           BALTAZAR               NM          90005395519
4874261948B16B   ROBERT         LAWSON                 UT          90003836194
4874266A861967   DEDDY          JORDAN                 CA          90007896608
4874274A891523   FABIOLA        NEVAREZ                TX          75004457408
4874332995B58B   MONSERRETO     ASAMOAH                NM          90004063299
4874336785B597   MARIA          ORNELAS                NM          90004003678
48743538972B4B   JERRY          OCONNOR                CO          33054205389
4874431285597B   NICHOLAS       NORBERTE               CA          90010383128
4874479358B165   CINDY          ANDERSON               UT          31049587935
4874484368B16B   JODY           HARDMAN                UT          90010308436
4874562775B299   MARIO          RECINOS                KY          90010376277
4874637775B222   SHANNON EDNA   STIVERS                KY          90013863777
4874645415B395   KENNETH        KELLY                  OR          44580174541
48748477272B4B   ADAM           FEINBERG               CO          33087204772
4874854245B58B   JOEY           CHAVEZ                 NM          35090625424
4874919A561967   PEREA          DAVID                  CA          90012601905
48749245772B36   KRISTEN        FRASCA                 CO          33003352457
48749A61991988   JENNIFER       PERKINS                NC          90014210619
4874B23A972B36   YVETTE L       MORENO                 CO          90013172309
4874B2A5261967   YLAIZA         AHMAD                  CA          46045432052
4874B74A784368   ISREAL         MARTINEZ               SC          14501937407
48751181674B97   BARBARA        PRIORE                 OH          90015261816
487514A2271999   VANESSA        GOMEZ                  CO          90008104022
4875173585B395   SAMUEL         BILTON                 OR          90010517358
48752185672B23   BLANCA         DIAZ                   CO          33008971856
4875229315B53B   CASTRO         JOB                    NM          35053112931
48752543A61963   VICENTE        RUIZ                   CA          90007655430
4875296262B27B   TRANCITO       QUINTANA               DC          90005869626
4875345358B16B   LEANDRA        HOWRY                  UT          31076054535
48753821272B36   SANDRA         CHAVEZ                 CO          90001988212
48755857472B43   RUDY           GARZA                  CO          90003918574
48755A46161963   ESTER          SANDAVOL               CA          46079140461
48755A9552B87B   LATINA         WATSON                 ID          90009330955
48756492A5597B   SARA           ORTIZ                  CA          90014824920
487567A125B174   ROBERT         YOUNG                  AR          23011467012
4875759175B58B   LESLIE         PAIZ                   NM          90006835917
4875766455B222   ROCHELLE       WALLACE                KY          90008126645
48758391872B36   KRYSTAL        TADYCH                 CO          90008923918
4875841775B222   GERALDINE      GAUS                   KY          90011394177
48758934A33635   JONTILLE       HANEY                  NC          90011669340
4875946955597B   GIL            LAY                    CA          90000344695
4875B4AA591569   JUAN           MATOS                  TX          75014734005
4876128575B37B   DEBORAH        BROWN                  OR          90005132857
487614AA761967   REBECA         ATUATASI               CA          90014454007
4876219735597B   CHRISTOPHER    MEDRANO                CA          90013721973
4876287685599B   CARMEN         CERDA                  CA          90010278768
48762A4A771999   DANA           VALENTINE              CO          38010180407
4876313744B271   JOSHUA         BONNELL                NE          90014781374
487638A715B53B   COLLEEN        JOHNSON                NM          90013378071
48764273472B36   CARISSA        GAINES                 CO          33013002734
48764A89985941   BRADLEY        LAWLESS                KY          90011280899
4876544432B27B   ANITA          HOSKINS                DC          90013414443
4876582324B271   ROGER          MOORE                  NE          27030848232
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48765A69461967   SOCORRO     FINO                      CA          46019250694
48766625A61963   MARIA       LARA                      CA          46044456250
48767155A5B53B   ROBERT      RAMIREZ                   NM          90012571550
4876724158B16B   SAEED       KESHMIRI                  UT          90001922415
48768525172B98   ANGELA      BATH                      CO          90012935251
4876854A571999   JOSE        HERRERA                   CO          38080455405
4876871882B87B   DANIEL      BECK                      ID          41062037188
4876947345B174   BRITTANY    ROGERS                    AR          90012314734
487698A1891988   MAUREEN     SCARLETTE                 NC          90013928018
4876B14745B58B   RONALD      RYMARZ                    NM          35080011474
4876B89A491569   YAAVONNE    CUEVAS                    TX          90004398904
4876BA54A51334   KRISTINA    LITTLE                    OH          90009080540
48773882A2B27B   NICOLE      ADAMS                     DC          90001258820
48774191172B36   JOSE        CLEMENTE                  CO          33026151911
48775155172B4B   JOSE        RIVERA                    CO          33049041551
4877526582B87B   DENNIS      HANKINS                   ID          90009662658
4877539A671999   CONNIE      MARMOLEJO                 CO          90011793906
487753AA993767   SHADAWN     PARKER                    OH          90010613009
487755A795B222   ERIC        ERVIN                     KY          90003065079
4877586436198B   IGNACIO     MORA                      CA          46013498643
4877693765B395   JOVITA      CAMPOS                    OR          44523909376
487781A118B165   JOSUE       CAMPOS                    UT          31041591011
48778699372B43   ANGELO      BUSTAMANTE                CO          90011206993
4877B835792825   WILLIAM     PLETCH                    AZ          90014578357
4877B8A5266147   REYNALDO    TAPIA                     CA          90014748052
4877B96925B222   ALEX        NIEMANN                   KY          68057599692
4878128964B271   JOHN        BAKER                     NE          27052212896
487812A6472B98   JOHN        TILTON                    CO          90003122064
4878256114B259   STEPHANIE   HOWARD                    IA          27046755611
4878325478B16B   WHITNEY     NESBITT                   UT          90014642547
4878411275B555   CIERRA      BUSSEY                    NM          90014051127
4878525A861963   ROSA        RODRIGUEZ                 CA          90014812508
487852A315597B   KENNETH     DOLAND                    CA          90014132031
48785693572B36   BRENDA      SEVERSTON                 CO          90009326935
48785871A5B299   KEMNEJER    ALEXANDER                 KY          90010648710
487859A257B48B   JUAN        VAZQUEZ                   NC          90001659025
487861A3891988   ARIELA      TAVERA                    NC          90006431038
48786974272B36   MAGGIE      BRADFORD                  CO          33078359742
4878847965597B   PAYGO       IVR ACTIVATION            CA          90013644796
48788821A91873   TERRI       STOCKTON                  OK          90005018210
4878945472B87B   DEWEY       WATTERS                   ID          41030524547
4878B5A6693765   RACHEL      HENGER                    OH          64594635066
4878B629177595   MICHAEL     SWART                     NV          90010576291
4878B76355B279   TANIKA      BETTS                     KY          90009087635
4878B954885841   MARILYNE    AYERS                     CA          90001089548
4879128655B174   RICHARD     SUITT                     AR          90013152865
4879177A372B4B   MARTIN      ROSAS                     CO          33025927703
487922A4672B43   HENRIETTA   FORD                      CO          90007382046
4879266465B58B   STEPHAINE   RAEL                      NM          90015086646
487931A425B53B   RAFAEL      FLORES                    NM          35094221042
4879344149155B   GEORGE      BRICKER                   TX          90013404414
48793876172B36   GINA        MUMFORD                   CO          33069408761
4879391142B27B   TORRENCE    ADAMS                     DC          90008569114
48793A6A571999   SHANA       SMITH                     CO          38045670605
4879569472B87B   JASON       FARMER                    ID          41063726947
48795A39571999   YOLANDA     TRUJILLO                  CO          38041840395
48796274372B36   JESUS       PEREZ                     CO          90000492743
4879656548B16B   JAMES       ALLRED                    UT          90004085654
487967A3691394   ERIKA       ARREDONDO-ALEMAN          KS          90014937036
487973A1A4B271   CODY        EGGLESTON                 NE          90002343010
4879767A45B222   MICHAEL     CARLTON                   KY          90000586704
4879774397B35B   INMAR       CEDILLOS                  VA          81063947439
487985A398B16B   HOPE        PISTONE                   UT          31055335039
4879928315597B   JOSE        CORTEZ                    CA          90013662831
4879963885B58B   ELIZABETH   BARRERAS                  NM          35028856388
4879B6A128B16B   CAMERON     STEWART                   UT          90013306012
4879B93A24B597   LINDSEY     HUGHES                    OK          90013139302
4879BA72572B4B   JOSE        ORTIZ                     CO          90014750725
487B123A177595   JAMES       WILSON                    NV          43043722301
487B1783755955   MARIA       LOPEZ                     CA          90006777837
487B1916A5B222   TATISHA     CRISS                     KY          90011939160
487B2942A61966   JORGE       MARTINEZ                  CA          90013049420
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487B3365851334   JENNIFER S   COATS                    OH          90007563658
487B4359771625   ARON         ROSE                     NY          90008823597
487B4637761967   KAREN J      FLEISHER                 CA          90011406377
487B5111A4B259   SALMON       KIENTEGA                 NE          90008821110
487B528715B174   ROBERTA      COLLINS                  AR          90008862871
487B59A915597B   CINDY        MORALES                  CA          49036069091
487B612742B27B   ASHANE       BELLAMY                  DC          90014691274
487B621A491988   CAROL        BAILEY                   NC          90014152104
487B6283A61963   YULIA        GOLOVKOVA                CA          46070112830
487B62A4872B4B   FELICIA      SUAZO                    CO          33045792048
487B6691191394   DAN          PETERS                   KS          90002836911
487B6722A71999   ANTOINETTE   SAIZ                     CO          90014617220
487B734895B222   TONY         ATKINSON                 KY          68056393489
487B7387772B4B   ROLAND       BROOKS                   CO          33091483877
487B83A9672B43   JANINE       BROWNE                   CO          90014713096
487B9812861963   JENNIE       HERBST                   CA          90012338128
487BB84322B87B   GUY          COCHRAN                  ID          41067898432
487BB8A615597B   DESIREE      COSTELLO                 CA          90006348061
487BB8A9861941   JESSICA      GILLETTE                 CA          90005508098
487BB946491394   JOSE         SOLIS                    KS          90007559464
48811676A4B271   BRENDA       FINNEGAN                 NE          90009856760
48811745472B36   JENNIFER     MALLORY                  CO          90012317454
488146A744B259   THOMAS       JACKSON                  NE          90001896074
48814A72A5B222   KEVIN        SMITH                    KY          68017160720
4881512435B395   LILIAN       CALDERON                 OR          90006091243
4881563A371946   CHARLES      RICE                     CO          32082176303
48815747572B36   JOSE         BARRERA                  CO          33091307475
48815A2595B58B   ADAM         VASQUEZ                  NM          90014910259
4881627428B16B   CARLINE      TAHITUA                  UT          90014642742
48817448A2B27B   OCTAVIUS     GRANT                    DC          90012714480
488178A7961967   PAMELA       PENDLETON                CA          90013988079
48818614672B36   JORGE        MUNOZ-MORALES            CO          90013056146
4881861888B163   RODNY        HARDMAN                  UT          31070056188
488198A3791394   RAMIRO       LINARES                  KS          90014938037
48819A38A8B16B   FRANCISCO    VARGAS                   UT          31092550380
4881B4A368B16B   FELIPE       TREVIZO                  UT          90012194036
4881B991171999   ROBERT       LUCERO                   CO          90010199911
48822A54751328   BARB         PRYSE                    OH          90007700547
488232AA15B58B   MICHAEL      MASON                    NM          90012192001
4882342445B58B   MARCOS       MARES                    NM          90013874244
4882456488B16B   ROBYN        ADAMSON                  UT          31094665648
488247A477B386   LUIS         FILTRIN                  VA          90001517047
48824A69291988   NEGUSSIE     BETELE                   NC          90011440692
4882515375B53B   OSNIEL       SARDUY                   NM          90014881537
488255A4372B36   JEFFREY      SIMERAL                  CO          90000625043
48825A45A61967   SOUTHISA     PHETXAYABOTH             CA          90011800450
48829497A93769   JOSHUA       DEAN                     OH          90008334970
48829549272B43   ERIK         LEE                      CO          90014155492
48829853372B36   LAURA        DURAN                    CO          90014538533
48829A2395597B   JOSE         RUIZ                     CA          90010440239
4882B79892B27B   HAILE        TEWDOLE                  DC          81078437989
4882B9AA177595   INDIRA       GONZALEZ                 NV          43062629001
4883138A272B36   CLAUDIA      DIAZ                     CO          33017873802
4883214925B53B   JOHN         CURLISS                  NM          35003951492
4883317515B395   ERIC         FAIR                     OR          44563721751
48833934A92825   NATASCHA     WATHOGOMA                AZ          90014699340
4883446468B124   KIESSA       HARVEY                   UT          90013764646
4883477765B222   NATHAN W     ALLEN                    KY          90012297776
4883641255B174   KESHA        WALKER                   AR          23061304125
4883658885597B   CARLOS       GUTIERREZ                CA          90015045888
48837294472B36   JESSE        PROOT                    CO          90000752944
48837498272B4B   WENDELL      HILL                     CO          90014504982
4883751315597B   ADRIANA      GARCIA                   CA          90000345131
4883815975B53B   MANUEL       GONZALEZ                 NM          90014881597
488381A265597B   FEDERICO     TIRADO                   CA          49077791026
488385AA861967   JUAN         ESTRADA                  CA          46091065008
48839278A4B259   SHARON       VOLTENBERG               NE          90006312780
4883B452172B4B   SERGIO       PLASCENCIA               CO          33036244521
4883B527A91569   TANIA        ROJO                     TX          90000835270
4883B649A5B58B   RAY JR       VIALPANDO                NM          35024436490
48841211A2B27B   GENEVIEVE    TAYLOR                   DC          90010882110
488412A8777595   ZORAIDA      RIOS                     NV          43079432087
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4884385568B546   LUCY        TINEZ                     CA          90015348556
4884498574B259   MARY        CASE                      NE          90007179857
48844AA745B53B   LAWRENCE    TAFOYA                    NM          35050310074
488451A1791988   SADAF N     KHAN                      NC          90013981017
4884535222B87B   TAYLOR      HARRIS                    ID          41070243522
4884839218B16B   KANDY       PECK                      UT          31022033921
4884934695B53B   DEBRA       MONTOYA                   NM          90006993469
488496A3791569   ARTEAGA     ANNETTE                   TX          90002836037
48849958872B43   MARIA       HERNANDEZ                 CO          33002209588
48849A38551334   JESSICA     HUGHES                    OH          90009980385
48851863A41241   QUALYNN     LINNEN                    PA          90011918630
4885244492B27B   MARK        LUCAS                     DC          90014724449
48853775A91331   ROBERT      WYNN                      MO          90006977750
48853A3745B395   VICTORIA    LUKENOVICH                OR          44586090374
488542AA95B53B   LAWRENCE    SANCHEZ                   NM          90002992009
4885441175597B   DAVID       HERNANDEZ                 CA          90014904117
48854A67691569   REBECCA     CHAVIRA                   TX          90006560676
4885549512B27B   STAN        POPE                      DC          81073844951
4885556425B222   KENNETH     MUSE                      KY          68042865642
48855912A72B43   TRISTAN     SALAS                     CO          90014189120
4885613128B594   KASSIE      GLADDEN                   CA          90011361312
48856551172B43   AARON       MCDONNELL                 CO          90004135511
48857257572B43   BACA        SAMUEL                    CO          90008882575
4885772415B53B   BENAVIDES   SHAWN                     NM          35094807241
48858899A71999   DOMINIC     DIAZ                      CO          90004358990
4885931958B16B   DANIELLE    MECHAM                    UT          31074353195
4885B23617B445   LATROYA     MCILLWAINE                NC          90011102361
4885B685691394   KAREN       LEAPER                    KS          90010646856
4885B8AA25B58B   ROBERT      PADILLA                   NM          90015138002
48861195172B23   HEATHER     YOUNG                     CO          90008621951
48861231497B74   FAUSTINO    GONZALEZ                  CO          39038582314
48862A49A91873   CARLY       LUCKER                    OK          21012690490
4886315A191549   MARTHA      LEON                      TX          90013061501
488634A615B174   EBONY       LOUDEN                    AR          23085634061
48863564172B4B   DARLINE     ARGUELLO                  CO          90012405641
4886387644B259   IVAN        ALBAREZ                   NE          90007888764
48863A24391988   BARBARA     CHALMERS                  NC          90010380243
4886418154B271   MARK        WAGLE                     IA          90010631815
48864578A5B222   AMANDA      FITZGERALD                KY          90013535780
48864A11271999   DAVID       WILBURN                   CO          38062360112
488663A415B222   TANAJIA     REED                      KY          90012353041
4886671275597B   DAISY       RAMIREZ                   CA          90006177127
48866A49933B88   PAUL        WATSON                    OH          90014580499
48866A51561963   JAYLYNN     ATWOOD                    CA          90014860515
4886715275597B   HECTOR      LOPEZ                     CA          90002181527
4886743A42B87B   ANNE        WIRTH                     ID          90005324304
4886747212B267   CHIFUAN     HEAD                      DC          90013804721
4886764144B259   VALENTINE   RED                       NE          27081936414
4886784365138B   JUNIOR      HICKS                     OH          66081358436
4886912118B167   NOEMI       YANAGUI-MELENDE           UT          90013391211
48869744172B36   ANTONIA     POLK                      CO          33014347441
488697A5651331   DAVID       LAKEMAN                   OH          90007487056
4886B77262B27B   THERESA     BROWN                     DC          81085417726
4886B79724B271   ALEJANDRO   GONZALEZ                  NE          27007307972
4886B9A118B16B   BEDES       CORADO                    UT          31028689011
4887195922B87B   BRANDON     HEBERER                   ID          90004509592
48871A7145597B   DEBRA       GRAVON                    CA          49042970714
4887233755597B   RON         WAGNER                    CA          90015143375
4887362855B53B   ANTHONY     BARELA                    NM          35017986285
48874432A72B43   MARIA       AVALOS                    CO          90005154320
4887452615B541   ALICIA      GARCIA                    NM          35044805261
48876192A72B36   MARIA       PENA VARELA               CO          33061091920
48876328A72B4B   ANGELA      CORTEZ                    CO          90011163280
4887712999155B   ANTHONYE    VARELLA                   TX          90008411299
4887763385B222   GARY        POSEY                     KY          68095416338
4887795725B174   ERICA       FITZPATRICK               AR          23069009572
488798A454B271   RUACH       MUR                       NE          90002448045
48879972A72B36   RAFAEL      ESCOBEDO                  CO          90012929720
4887B44658B187   AMBER       PRESWITCH                 UT          90014104465
4887B7A6551331   PATRICIA    GRUBBS                    OH          90007037065
48881376372B43   ANDRES      AGUILERA                  CO          90012643763
4888143A42B87B   ANNE        WIRTH                     ID          90005324304
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4888171395B222   JAMES       RAGLAND                   KY          90011447139
48883117672B36   KIARA       MARTINEZ                  CO          90011351176
4888348A957B61   ABIGALE     KLOSS                     PA          90015234809
4888565835597B   MANUEL      GUTIERREZ                 CA          49054166583
48886344A5B53B   ANDY        FRANCO                    NM          90009973440
4888637888B16B   VINCENT     SADLER                    UT          90010363788
4888667815597B   POLO        VALENZUELA                CA          49042006781
4888673A892825   DULCE       ACUNA                     AZ          90014847308
48886A39372B36   JUAN JOSE   AGUERO                    CO          33081990393
48887315172B36   TIMOTHY     MENDIAS                   CO          33081013151
4888784255B222   KELLY       MICTCHELL                 KY          90010668425
4888815722B27B   DARREN      MCCOY                     DC          90014081572
4888832A891394   DEVIN       TODD                      MO          90008433208
4888881443B356   ELMIR       MASETIC                   CO          90007688144
48888A17572B36   OLGA        MADERA                    CO          33046340175
48888A4835B53B   MARY        ROMERO                    NM          35007090483
48888A9615597B   IRMA        TORRES                    CA          90013750961
488895AAA91394   MANUEL      MELENDEZ                  KS          90014945000
4888B236791394   ALFERODO    CHACON CARRERA            KS          90015312367
4888B44327B445   IMELDA      HERNANDEZ                 NC          90004374432
4888B4A5671999   AMANDA      VALDEZ                    CO          38085724056
4888B57225B174   DANIEL      GOVAN                     AR          90014925722
4888B727477595   MARIBEL     ORDAZ                     NV          90010937274
4888B777A5597B   MARVIN      PORTILLO                  CA          90015147770
48891367A8B16B   ANNE        WALLACE                   UT          90014643670
488915AAA91394   MANUEL      MELENDEZ                  KS          90014945000
48892823457B61   LORENSO     AMAYA                     PA          90015558234
48894464A8B165   MARIA       LAGUNAS                   UT          31095324640
488955A8491394   FELICIA     QUALLS                    KS          90014945084
4889565372B27B   DAVID       BLANCO                    DC          90012776537
4889689435597B   ANGEL       MIRANDA                   CA          90007728943
48896993672B39   DEBORAH     WEAVER                    CO          90002789936
48897472A5B174   MARCUS      SUMMONS                   AR          90014624720
4889916375597B   CLIFFORD    WEBB                      CA          49097541637
488992A373B393   MTRENZ      GRANT                     CO          90013632037
4889952595B53B   EUGNE       KYLE                      NM          90014885259
4889B48943163B   GENEVIEVE   CHILDS                    KS          22090244894
4889B74795B53B   IRMA        ESPARZA                   NM          35096277479
4889B91178B16B   BRITNEY     MANATAU                   UT          90013269117
488B1125651334   BILLY       MCGEE                     OH          90009281256
488B123198B14B   LOWELL      REEDY                     UT          90002802319
488B1374191988   LAWANDA     LEWIS                     NC          17085153741
488B214512B27B   DIEGO       ESCALANTE                 DC          90006081451
488B227138B165   MARY        LONG                      UT          31007342713
488B4553572B43   ANTONIO     PRIETO                    CO          33000665535
488B516232B27B   DENNIS      BOOIE                     DC          90012491623
488B5713391394   DONALD      PFISTER                   KS          90014937133
488B574415B338   JON         KIRKPATRICK               OR          44591527441
488B6194472B4B   JODIE       MARTINEZ                  CO          90011231944
488B6592155999   ISRAEL      HERRERA                   CA          90011935921
488B6629A91569   LETICIA     ESCONTRIAS                TX          90013906290
488B666795B395   JASON       ALEGRE                    OR          44556926679
488B6713391394   DONALD      PFISTER                   KS          90014937133
488B671972B27B   NICHOLE     DAVALL                    DC          90012527197
488B6A9835B222   JONI        JOHNSON                   KY          68096860983
488B7159A91956   RODNEY      LESINE                    NC          17040141590
488B7672791569   IGNACIO     MORENO                    TX          90009076727
488B813A75597B   FELIX       LOWE                      CA          90007451307
488B8883391988   LUIS        MAZO                      NC          90013788833
488B9365731621   SUSAN       IGOGO                     KS          90003743657
488B9717291988   TOMMY       HEADEN                    NC          17089067172
488BB21525B593   JENNY       ALDERSON                  NM          90008582152
488BB253554121   MESHELLE    HARRIS                    OR          90013022535
488BB584461967   JUAN        MENA                      CA          90012095844
488BBA25691394   ANTONIO     GONZALEZ                  KS          29019600256
4891138812B87B   SHANNON     KENOYER                   ID          41070533881
48912439672B43   ANGELICA    SOBERANES                 CO          33054324396
4891349275B58B   ERNEST      GOMEZ                     NM          35097014927
4891354795B222   CANDICE     FIRES                     KY          90002785479
4891459152B27B   THERESA     DIXON                     DC          90013865915
48914682472B4B   UHRANN      SMITH                     CO          33034696824
4891469A32B27B   FREDDY      CARDONA                   DC          81082446903
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48915332A8B16B   CHARLES       JOHNSON                 UT          90012653320
489163A2972B43   VERONICA      VILLALBAS               CO          90008623029
4891699135B53B   ALEXIS        DURAN                   NM          90006619913
4891722532B27B   BRYANT        CLARK                   DC          90013062253
48917329272B43   MIGUEL        RAMIREZ                 CO          33060803292
4891756555B53B   OFELIA        ESCOBEDO                NM          90014885655
4891768825B58B   VICTORIA      MADORE                  NM          90013466882
4891823987B472   MARQUITA      MASSEY                  NC          90010942398
48919324A2B27B   ALEX          AKINOLA                 DC          90013383240
48919A9558B16B   ALEX          RIVERA                  UT          31065300955
4891B331A51334   LIDIA         HERNANDEZ               OH          90011623310
4891B37A591873   GUADALUPE     FIGUEROA DE SILVAR      OK          90000473705
4891B758691569   MARIA         TRAVIZO                 TX          75052987586
4891B92A872B4B   COLLEEN       COLLINS                 CO          33009359208
48921233372B43   WALTER        AMES                    CO          90004402333
4892157995B53B   ROSALINDA     MERCADO                 NM          90014885799
48921A65651321   DIANA         MOON                    OH          90013270656
4892235282B87B   BRANDON       HERTH                   ID          41038513528
4892426825B174   ANNE          MYERS                   AR          90011702682
48924971172B36   JERVON        CLARK                   CO          90006089711
4892576A991569   MAYRA         GALLARZO                TX          90013247609
48926A93791988   KYMBERLE      REDDISH                 NC          90012660937
48927948772B4B   DEBBIE        STRICKLAND              CO          33025539487
4892797325B55B   MARIA         STANDLEE                NM          90013589732
48927A2295B55B   MARIA         STANDLEE                NM          90000970229
4892896378163B   KEITH         MURRELL                 MO          90011989637
4892947598B16B   ALEJANDRO     WEKSLLER                UT          90014644759
4892B269691524   JOANNA        MORALES                 NM          90011872696
4892B28389373B   JULLIAN       BRIGHAM                 OH          90000952838
4892B662891873   JAIRO         TORRES                  OK          90006836628
4892B768291394   SERGIO        LINARES                 KS          29089697682
4893172222B27B   KENDRA        RICHMOND                DC          90009787222
48931777972B4B   APRIL         BIEL                    CO          33017567779
4893191A45B395   ROBERT        MCDANIELS               OR          90011279104
4893244A261963   ALYJAH        KENNEDY                 CA          90014704402
4893278925B391   RITA          MAMBU                   OR          90012987892
48932A4563B399   EARL          LEE JR                  CO          33018150456
48933184A72B36   BRIAN         CONNELY                 CO          33020211840
4893545A64B271   ELVIRA        RIVERA                  NE          27035154506
4893547618B16B   MARIA         RODRIGUEZ               UT          90014644761
48936222272B36   AARON         MOSHER                  CO          90012972222
48936A9175B222   GINA          GUTHRIE                 KY          68097030917
4893737575B222   PENELOPE      SWAIN                   KY          90014463757
489377A4491569   JOHN          GREGORY                 TX          75044387044
4893847A651334   MONICA        MUHAMMAD                OH          66012544706
4893858755B53B   KATALINA      GONZALES                NM          90003465875
4893864312B27B   DON           KING                    DC          90015076431
4893B53954B259   ANTHONY       BAXTER                  NE          90000335395
4893B62A661967   SAUL          RUIZ                    CA          46024956206
4893B63384B259   ANTHONY       BAXTER                  NE          90013416338
4893B83585B597   DERRICK       VALENCIA                NM          90013228358
4894225A15B395   JACK          LEE                     OR          44560192501
489423A3171999   TINA          COOPER                  CO          90003353031
4894271765B174   CHARLOTTE     WALKINS                 AR          90002917176
48942A25272B36   LUPE          BANUELOS-HERRERA        CO          90003810252
48943338572B39   TABITHA       JACKSON                 CO          90008243385
48943428972B4B   GERMAIN       ROMERO                  CO          33097684289
4894383725B174   ARLES         MEJIA                   AR          23026728372
4894442885B222   WHITNEY       BELL                    KY          90006334288
4894484475B174   OLIVIA        WALLACE                 AR          90013448447
48944954172B43   CRYSTIA       TATE                    CO          90013289541
48944A81985B26   KADEADRA      WESTON                  FL          90015410819
48945381A5B547   JOSE          FLORES                  NM          36066463810
4894595955B174   CRYSTAL       FRALIN                  AR          23037489595
489462A482B84B   GEBREHIWOT    GEBRESILASSIE           ID          90011852048
4894695762B87B   CHRISTOPHE    HABERER                 ID          90000689576
48946A3628B16B   MARY          LAWS                    UT          90012650362
4894763125B174   CONNIE        SYKES                   AR          90014876312
48947A21A2B27B   TROY          LIPSCOMP                DC          90011110210
4894885166198B   SAM           OLIVEROS                CA          90010348516
48948AA9891569   ANGEL         LIVARES                 TX          90015290098
48949264772B43   MARQUILLIIS   MURRAY                  CO          90013002647
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2160 of 2500


4894979895754B   DANIEL      RIVERA                    NM          90014707989
4894984179373B   JUSTIN      LOGGINS                   OH          90012958417
4894B174951334   LINDA       COLLINS                   OH          90012601749
4894B49A971999   JACOB       CASACK                    CO          90014644909
4894B58758B16B   TIMOTHY     SIMPSON                   UT          90002645875
4894B684991873   ROB         MOON                      OK          21052736849
4895159485B53B   YVETTE      ORTIZ                     NM          35024195948
4895172A751334   MYEISHA     ALLEN                     OH          90004357207
48952762A5B174   REID        DOUGLAS                   AR          90015177620
4895337375B53B   STAN        BENAVIDEZ                 NM          90012073737
48953A93291569   IVAN        BURCIAGA                  TX          90005550932
4895445212B87B   LIZ         RADECKI                   ID          90004264521
48955356A8B546   CHERYL      VINNEDGE                  CA          90014233560
48956691272B43   DALENE      PRIEST                    CO          33049216912
48956A16A8B16B   ALEX        ALICES                    UT          90011520160
4895741748B16B   RICKIE      EMERSON                   UT          90011014174
4895787445B53B   GEORGINE    BACA                      NM          35020338744
4895812265B222   SHANE       RICHARDSON                KY          90015341226
48958AA7961967   HELEN       OWENS                     CA          46091070079
48959329A91394   GUSTAVO     ALVARADO                  KS          90013603290
4895B156851326   STEFANIE    BODE                      OH          66080861568
4895B357251326   ANTONIO     POELLNITZ                 OH          90013783572
4895B65A761967   VANESSA     RIOS                      CA          46052036507
48961149672B36   MICALA      DIAZ                      CO          90013971496
48961A41372B4B   LEOPOLDO    NAVA-DELGADO              CO          90012640413
4896294445B174   AUSTIN      ALDRIDGE                  AR          90004179444
48963333A91956   JASON       LAWRENCE                  GA          90001643330
4896349A172B4B   ALICIA      MARTINEZ                  CO          90000894901
4896449A391988   GARRY       MARSHALL                  NC          90013374903
4896564995B53B   OFELIA      ESCOBEDO                  NM          90014886499
4896591135B174   LEVON       SCOTT                     AR          23054339113
48965A7318B16B   MARIA       HERNANDEZ                 UT          90006280731
48966747A2B27B   JOSE        PORTILLO                  DC          90009727470
48966A94191988   TERRY       BIZZELL                   NC          17056590941
4896721472B27B   T           CROSSLAND                 DC          90015122147
48967543772B4B   IONA        LONG SOLDIER              CO          33072615437
48967A3A65B395   KENDRA      JONES                     OR          90008410306
48968A87191569   ALEJANDRO   QUEZADA                   TX          75087520871
4896946685B395   TONYA       FERGUSON                  OR          90004814668
48969A85571999   RENEE       MARTINEZ                  CO          90010000855
4896B49635597B   ASHLEY      DAY                       CA          90013044963
4896B77922B27B   SENTAYEHU   NEGESSO                   DC          90014777792
4896B8A4584349   TIFFANY     STREZLEC                  SC          90011108045
48971294172B43   CARMEN      ZACARIAS                  CO          33093922941
4897141872B27B   DELONTE     SHERROD                   DC          90012864187
4897186485597B   ZENOBIA     COLEMAN                   CA          90004338648
48971A19333625   BRENDA      SMITH                     NC          12084650193
48971A55261963   MARTIN      RENTERIA                  CA          46041120552
489721A762B27B   GLENDA      GARCIA                    DC          90015171076
48973371A72B36   WENDY       ALLRED                    CO          33085753710
4897422835B53B   AURELIO     GARCIA                    NM          35066182283
489745A6572B4B   CRYSTAL     PICAZO                    CO          90013205065
48974A9135B58B   ANDREA      JARAMILLO                 NM          90010820913
48975214372B4B   OLGA        RIVERA                    CO          33033092143
4897562A55B395   SAMANTHA    JONES                     OR          90008696205
489757A2572B43   TAYLOR      RENEE-ALEXANDER           CO          33004277025
48976513A98B25   ALBA        MONDRAGON MORALES         NC          90012675130
4897668635B395   CHARLES     BRYANT                    OR          90002946863
4897694A872499   NATALIE     MASAOUD                   PA          90008889408
489775A1891569   BERTHALY    LOPEZ                     TX          90008705018
48978929572B4B   AMYE        MINERLY                   CO          90011319295
4897936A651334   JOHN        SMITH                     OH          90012633606
4897B18AA5597B   ROMAN       SALDANO                   CA          49080561800
4897B37615B222   JALEN       MORRISON                  KY          68017163761
4897B477155968   DEBRA       GOLDSMITH                 CA          90002784771
4897BA22891569   CARMEN      RAMIREZ                   TX          90013310228
48981325A91988   MAGDALENA   PINEDA                    NC          90012663250
4898225185B58B   BRITTNEY    FREY                      NM          90011512518
4898371435597B   CYNTHIA     LUQUE                     CA          90011157143
4898465145B58B   ANSAY       SAMANTHA                  NM          90009826514
48985779A91988   DANIEL      JENKINS                   NC          90013797790
4898683975B395   DAVID       DILLON                    OR          44502468397
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48987991972B4B   CHARLES            TOWNSEND           CO          33035099919
48988237872B43   SHANE              HERRERA            CO          90012712378
48989639572B4B   ELISEO             VILLARREAL         CO          90013536395
4898968197122B   ASMEROM            ABRHA              IA          90014906819
48989798172B36   CRAIG              PATTILLO           CO          90006617981
4898B47198B16B   GINGER             DRUCE              UT          31071354719
4899125742B848   DONALD             ANDERSON           ID          90001502574
48991AA445B222   TODD               LANHAM             KY          68077550044
4899216415597B   JASON              MORRIS             CA          90014341641
48992471A61938   EPHRAIM            CARRASCO           CA          46062804710
4899267764237B   ELIJAH             ALUOCH             TN          90009146776
4899268685B53B   ALVARO             CANTARERO COREAS   NM          90014886868
4899297344B231   ANGELIQUE          JOHNSTON           NE          90006039734
48992A5872B87B   MARILEE            OWEN               ID          41088740587
4899373225B58B   CHARLES            REQUA              NM          35087517322
4899533755597B   RON                WAGNER             CA          90015143375
48995A66372B43   LOURDES            OJEDA              CO          33028080663
48996341472B36   PATRICIA           MLAMBO             CO          90009763414
48996A38791394   GORGE              MARTINEZ           MO          90014950387
4899714A34B259   GAVIN              BEGLIN             NE          27023891403
489974A9485968   BRANDY             TOLENTINO          KY          90014824094
4899818775B222   LILIA              MORENO             KY          90007771877
48998692A5B53B   DILLON             ARBUCKLE           NM          90014886920
4899B194572B4B   MANUEL             RAMIEREZ           CO          90014111945
4899B83415B174   ANITAL             MEADOWS            AR          90013218341
4899BAA9671999   ANRAI              VELASQUEZ RUIZ     CO          90014660096
489B142135B174   JILL               AKINS              AR          90014514213
489B1534172B36   JOSHUA             MILLER             CO          90013345341
489B1982591569   KIMA               KIHARA             TX          90002319825
489B2367391956   OMAR               RUEBIN             NC          17021513673
489B247462B27B   DEVON              ALLEN              DC          90012974746
489B254628B16B   JOSE R             RODRIGUEZ          UT          31049845462
489B2679271942   LISA               SEGURA             CO          32061186792
489B281564B271   TAYLOR             TAYLOR             NE          90005798156
489B2A5AA71999   AMANDA             DURGA              CO          90010920500
489B3382771999   REBECCA            GONZALEZ           CO          90014653827
489B3588391873   CANDACE            FITZER             OK          21082295883
489B453A15B53B   ROBERT             GOODLOE            NM          90014885301
489B4571891394   LUCINDA            STRONG             KS          29003735718
489B553335B53B   JOSE               MENDEZ-ALAMEDA     NM          90014885333
489B5712591569   MARY               CHACON             TX          75047037125
489B5A4255597B   ALICE              JONES              CA          49070060425
489B639215597B   TIA                YANG               CA          49090823921
489B6773161963   LAURIE             BENTLEY            CA          90009837731
489B688132B27B   LATOYA             BROWN              DC          81021478813
489B696895B174   MARK               FLOWERS            AR          90014319689
489B6AA4672B36   TRACIE             PARKER             CO          90012780046
489B73A7755999   JANET              RAMIREZ            CA          90001353077
489B743238B16B   JONATHAN           NICHOLS            UT          90014644323
489B761A38B141   SANDRA             GRAMAJO            UT          90013686103
489B788754B259   LINDA              VILLAGOMEZ         NE          27013868875
489B8A3398B16B   TERRY              TURNER             UT          90012170339
489B9253672B36   GLORIA             RODRIGUEZ          CO          90008442536
489B979365597B   ESTER              GUZMAN             CA          90001427936
489B995165B395   RACHEL CASSANDRA   YARBOUR            OR          90002649516
489BB29AA51334   CAMILLA            BUSH               OH          90010882900
489BB547461996   LETSIA             GOMEZ              CA          90003135474
489BB56475B395   JUSTIN             BERNEL             OR          90009515647
48B11197861967   SIMS               SHAREEMA           CA          46057431978
48B11971172B43   JERVON             CLARK              CO          90006089711
48B1214A78B165   AL                 JOHNSON            UT          90002891407
48B12438291988   CASSANDRA          JOHNSON            NC          90012414382
48B132A5231673   KRISTYN            SMITH              KS          90006392052
48B13655A2B27B   LARRY              SMITH              DC          90013026550
48B14448572B4B   JOSEPH             STARBUCK           CO          90013534485
48B1483273145B   DONNDLE            HENDERSON          MO          90014548327
48B1579298B16B   HILDA              FUENTES            UT          90012687929
48B15893791394   DEBBIE             SCHIANODICOLA      KS          90014788937
48B15A19272B43   CLAUDIA            RETA AVALOS        CO          33091460192
48B15A59891569   ROSALBA            SOTO               TX          75028200598
48B1655842B27B   CHERYL             UMELO              DC          90011885584
48B16849891547   SILVIA MARTINEZ    PIEDRABUENA        TX          90012528498
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48B1688A991569   JORGE            AGUILERA               TX        90011408809
48B17185572B25   BREATIZ          OLGUIN                 CO        90010041855
48B1787655B174   LAURA            SCHALCHLIN             AR        90013468765
48B18438291988   CASSANDRA        JOHNSON                NC        90012414382
48B18515654121   GENNI            DEMARIS                OR        90012555156
48B18966A4B271   RONNA            LORENZ                 NE        90006569660
48B1915515B58B   LORENA           LECHUGA-ANAYA          NM        35021961551
48B1917A971999   FELICIA          SANCHEZ-GARBISO        CO        90010121709
48B1947645B53B   MELESSA          SANDOVAL               NM        90011324764
48B19A3965B53B   LEANNE           HICKS                  NM        90007720396
48B19A49591988   MERCY            NDAMBIRI               NC        17084220495
48B1B137361967   MARIA            OROZCO                 CA        90001101373
48B1B2A192B87B   MICHAEL          BOLME                  ID        90004102019
48B1B699972B4B   LAUREN           AGUIRRE                CO        90010046999
48B1B774991523   CARLOS EDUARDO   RIOS                   TX        90014247749
48B2158985B395   STEPHANNIE       CHRISTENSEN            OR        90006365898
48B21752372B4B   DAVID            WHEELER                CO        33029567523
48B21A58777595   MARIAM           PASCHAL                NV        90011050587
48B22671A91394   MARTIN           MARRUFO                KS        90014076710
48B24142461963   INC              S AND T TRANSFORMATI   CA        46013851424
48B2428532B27B   RAYMOND          SHEPHERD JR            DC        81020562853
48B2429978B16B   YENORY           GOMEZ                  UT        90012752997
48B2437935B174   NICOLE           WHITE                  AR        23083213793
48B2442888B14B   TRAVIS           SORENSEN               UT        31066414288
48B24A18854B6B   ERICKA           NEAL                   VA        90001380188
48B25153272B36   KIANA            GABBERT                CO        90008311532
48B25457161963   DONNA            NIELSEN                CA        46092104571
48B2549A12B27B   ROSE             SHADE                  DC        90013364901
48B26797A91394   PENNY            HALL                   KS        29084407970
48B26AA8672B43   HELEN            MAESTAS                CO        33071780086
48B27744271999   LEEANA           TRUJILLO               CO        90009277442
48B28193A77522   FILIMON          RUIZ-PEREZ             NV        90003261930
48B28A78771999   KRISTY           POOLE                  CO        90013090787
48B29746291394   VISMAL           TORRES                 KS        90007787462
48B2B11285B222   JASON            KLINGESMITH            KY        90010191128
48B2B5A934B541   CHAROL           VASQUEZ                OK        90003965093
48B2B854171999   AIOTEST1         DONOTTOUCH             CO        90015128541
48B31218991394   KEVIN            RICHARDSON             KS        90014672189
48B31421472B4B   CYNTHIA          CRESPIN                CO        90011044214
48B3252819155B   LUIS             REYES                  TX        90009785281
48B327A485B395   JAY              GEIGER                 OR        44519837048
48B33465472B4B   AGUSTIN          PAEZ                   CO        33007694654
48B33858661963   PHLEWANG         HIN                    CA        90013188586
48B34682291394   ANTHONY          MUNOZ                  KS        90010786822
48B34A92361963   DANIEL           GONZALEZ               CA        46093130923
48B35875A5597B   CHRIS            LINDBERG               CA        90007118750
48B35AA7271999   CONNIE           EVEL                   CO        90013100072
48B3689255B388   VERONICA         ALEMAN                 OR        90012648925
48B36AAA291873   AUSTIN           CHADIC                 OK        21044250002
48B373A4477595   MANUEL           CEVALLOS               NV        43014283044
48B37439391549   MANNY            GARCIA                 TX        75087354393
48B374A5461967   ELIZABETH        REYNOSA                CA        90005944054
48B3755A62B342   HEIDI            BLUME                  CT        90014855506
48B385AA991988   BRANDI           DUBOSE                 NC        90010765009
48B392A9971999   THERESA          QUINTANA               CO        38097562099
48B3966228B16B   MICHAEL          LAMBROSE               UT        90014566622
48B39AA4772B43   KATRINA          GARCIA                 CO        33060340047
48B3B68A172B4B   MARSHA           LAURIENTI              CO        33070726801
48B41563751367   MELISSA          GILLIAM                OH        90008095637
48B42198991988   MARGARITA        NERI                   NC        17058831989
48B4252645B174   CHRISTON         SHACKELFORD            AR        90012375264
48B426A1A91569   ROBERT           VOGEL                  TX        75014156010
48B427A2171999   KATRINA          ORTEGA                 CO        90009457021
48B43269471999   JOLENE           ORTEGA                 CO        90010082694
48B43412661967   ROSA             PLASCENCIA             CA        90000924126
48B4367865598B   GABRIELA         APARICIO               CA        90007556786
48B443A3A72B36   FERNANDO         NUNOTORREES            CO        33031923030
48B44575951334   KELA             ROSE                   OH        90013685759
48B4479225B395   ALICIA           GONZALEZ MEDEL         OR        90002327922
48B44926477595   JOSE             PERDONO MARTINEZ       NV        43000469264
48B449A4A4B259   CARLOS           ALFARO                 NE        90006609040
48B45349477595   TONI             CORTEZ                 NV        43042153494
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48B45933391873   JENNIFER      MANGUM                  OK          21038379333
48B4634A85B58B   MARTHA        JARAMILLO               NM          90004793408
48B4667A177595   MANUEL        COVARRUBIAS             NV          90011526701
48B46A6A66198B   DANIEL        AVITIA                  CA          90010240606
48B471AAA91873   ANGELA        MASON                   OK          21001311000
48B4732A45B53B   SONIA         VIDANA                  NM          35015343204
48B4799334B259   SEAN          BEACOM                  NE          27058059933
48B4811A15B174   SHAMEKA       TURNER                  AR          90006481101
48B481A595B53B   JHONY         CHAVEZ                  NM          90006951059
48B4834555B194   NATALIE       STELL                   AR          90010293455
48B487A1591988   DIJON         WRIGHT                  NC          90011087015
48B48885A61967   DOMINGO       MORALES                 CA          90004978850
48B49438372B4B   NICOLETTE     MEDINA                  CO          33098654383
48B5162A491524   VICTOR        ALVAREZ CHAVEZ          TX          90012936204
48B51656461963   DAVID         LASORTE                 CA          46072206564
48B51764191988   EDWIN         LOPEZ                   NC          90012957641
48B5196345B174   MARLA         HARRISON                AR          90014499634
48B5211675597B   FELIX         LOPEZ                   CA          90003181167
48B53987A91394   RACHELL       WELLS                   KS          90010889870
48B54227A5B53B   PAUL          SARTIN                  NM          90005122270
48B54A9A15B222   DERON         WATKINS                 KY          68033880901
48B5548945B58B   UTAHNA        BELONE                  NM          90014304894
48B55581471999   DEREK         SALAZAR                 CO          90008285814
48B55913851334   VALETTA       MAHONE                  OH          66010799138
48B55939861967   JAVIER        ROSALES                 CA          46048669398
48B5595382B27B   RASHAAD       MCRAE                   DC          90013979538
48B5635A172B43   ASHLEY        GORDON                  CO          90004493501
48B56518172B4B   ELEANOR       CEPERO                  CO          90014015181
48B5653622B27B   KIMBERLY      WRIGHT                  DC          90014425362
48B57133977595   LIZBET        SEGURA                  NV          90010661339
48B5724945B222   KRAIG         SHARP                   KY          90014152494
48B5754A391873   CLAUDE        WARD                    OK          21044475403
48B583A8172B36   DAVID         BARELA                  CO          33077313081
48B58429261967   VIRIDIANA     SALGADO                 CA          46017784292
48B589A9491988   SHEARL        MARSHALL                NC          90008599094
48B5951A72B87B   ELESHA        WAGNER                  ID          90006605107
48B5971A554121   EVA           LINDER                  OR          90012457105
48B61514357B61   TONI          THOMAS                  PA          90012535143
48B61575971999   DENIESE       SIERRA                  CO          38076715759
48B6246AA91569   ROCIO         LUCERO                  TX          75068354600
48B62544491926   EARL          CROMARTIE               NC          90015205444
48B62A9284B597   CARLA         HUNDLEY                 OK          90011060928
48B64413A91234   MIRA          BOOKOUT                 GA          14512994130
48B64868277535   STEVEN        CASSONE                 NV          90012878682
48B6518A272B43   CHRISTOPHER   BROWN                   CO          90010841802
48B6616AA8B16B   ALLY          WAYMAN                  UT          90015261600
48B6629745B395   JEREMY        SMITH                   OR          90011262974
48B66764891394   JOHN          LIVINGSTON              MO          90011747648
48B66A27972B43   MARCOS        GARCIA RAMIREZ          CO          90012000279
48B67231291394   RYAN          GREER                   KS          90012632312
48B6742864B271   ISABEL        BURGARIN                NE          27024104286
48B67459891569   PATRICIA      MORENO                  TX          90010214598
48B67643291569   DIANA         VALVERDE                TX          90007796432
48B68555131491   TERRISA       HILLARD                 MO          90011045551
48B6872835B53B   JIMMY         BIERNER                 NM          90014807283
48B6922275597B   ROSA          RAMIREZ                 CA          90014782227
48B693A138B165   ATHENA        CLARK                   UT          31094253013
48B69624491988   KIDANE        MESFIN                  NC          90012586244
48B6B276691956   JASMINE       GRACE                   NC          90006692766
48B6BA24472B43   CRISTIAN      PENA                    CO          90013280244
48B71476261963   HEATHER       GALLARZO                CA          46050624762
48B7162932B27B   KISHA         ALLEN                   DC          90008166293
48B73216361963   ARCELIA       CUELLAR                 CA          90012732163
48B7365767B461   CARMEN        DEFUNES                 NC          90008666576
48B74183A5B174   ROSA          LEIVA                   AR          23094311830
48B747A7351334   JAMIE         FRAZIE                  OH          66095197073
48B74893791956   LATASHA       SAUNDERS                NC          90002558937
48B7547385B174   MARLENE       TRUJILLO                AR          90013254738
48B75AAA251334   CRISTAL       CARDENAS                OH          90015300002
48B7664825B58B   MARTIA        ALPHONSO                NM          90008196482
48B77216491569   MICHELLE      GARCIA                  TX          90013932164
48B77229961967   JOHN          HOPKINS                 CA          46006352299
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48B7774585B53B   DESIREE      SANDOVAL                 NM          90014807458
48B77774333B22   FREE         HILL                     OH          90012467743
48B7789532B27B   GRACE        HERRION                  DC          90014488953
48B78184961963   ROBERTO      ROBLES                   CA          90010041849
48B7826877B347   EDWIN        MINERO                   VA          90001422687
48B78826433653   ROBERT       ISLEY                    NC          90009788264
48B7916325597B   NOEL         HERNANDEZ                CA          90012001632
48B7921215B222   JESSICA      STOVER                   KY          90002552121
48B79826433653   ROBERT       ISLEY                    NC          90009788264
48B79886193741   ROGER        DAVIS                    OH          90001088861
48B79A49981639   BJ III       WORKS                    MO          90006110499
48B7B539251326   JAMES        WALKER                   OH          90001905392
48B7B855972B43   JOSH         CHOTINER                 CO          90000618559
48B7BA8782B87B   DAVID        FUSON                    ID          90006850878
48B81826661963   MARIA        VEGA                     CA          46077598266
48B81941871921   GEORGE       KANATAS                  CO          90007869418
48B8232355B555   HEATHER      BURKE                    NM          90011043235
48B8243415B174   TIFFANY      POINDEXTER               AR          23078574341
48B8268715B222   KYLA         SIMON                    KY          90014836871
48B83263172B36   DAVID        PORTWOOD                 CO          90007742631
48B8414748B16B   DAVID        JAMES                    UT          90012671474
48B84199791547   JESUS        MORENO                   TX          90012541997
48B8473A972B43   BARBARA      CORTEZ                   CO          33027317309
48B85868291956   SHAKIA       MOSS                     NC          90009148682
48B85918561967   JUSTIN       BLAIR                    CA          90014529185
48B85A24931448   MELVIS       BANKS                    MO          90001110249
48B8616985B338   ANA          MENDEZ                   OR          90010961698
48B86545972B4B   CHONG        STUDIO                   CO          33095485459
48B86632133662   OLANDO       SPEAS                    NC          90011616321
48B876A585597B   LETICIA      BALDONADO                CA          90001996058
48B87982A91569   LOURDES      IBARRA                   TX          75012749820
48B881A655B58B   DESIREE      CHAVEZ                   NM          90007861065
48B883A1972B36   MICHAEL      GRENAWALT                CO          90011833019
48B88545971999   ODELIA       BACA                     CO          90014615459
48B8917385B222   BRENDAN      KELLY                    KY          90004241738
48B89518661963   MARCEL       FOSTER                   CA          90015165186
48B89589372B36   STEPHANIE    RANGEL                   CO          33068595893
48B89847761963   HECTOR       MORALES                  CA          46073218477
48B8992835B174   BRITTANY     ROE                      AR          90010659283
48B8B266A5B527   ELENA        ZULUETA                  NM          90012312660
48B8B37628B165   MARDY        ACCORD                   UT          31075783762
48B8B899761963   ALEJANDRA    VILLATORO                CA          46075438997
48B91564971999   TOMIE        RUSSOM                   CO          90014665649
48B9211682B87B   NICOLLE      EVANS                    ID          41055721168
48B9244918B16B   CHANNING     LARSON                   UT          90010274491
48B9267975B174   CARL         CARTHAN                  AR          90015176797
48B934A9377595   JULIA        RAMIREZ                  NV          90006464093
48B9399165B58B   LEANNA       CURLEY                   NM          90013689916
48B94253797B74   MONICA       WARDAL                   CO          90005622537
48B94A93A61963   KENNY        SWANSON                  CA          90013460930
48B953A865B395   SHANE        HEATH                    OR          44593743086
48B95494472B36   DAVETTE      PARKS                    CO          33071674944
48B9579125B53B   SHANNON      CHAVEZ                   NM          90014807912
48B9594922B27B   ALEXIS       TORRES                   DC          90012719492
48B9637255597B   MICHAEL      KIRKPATRICK              CA          90012593725
48B96757436148   RUBEN        GARZA                    TX          90000977574
48B9787387B467   PAMELA       MAYER                    NC          90013838738
48B97886872B43   LISA         DARCY                    CO          33096138868
48B9815A251336   THOMAS       WRIGHT                   OH          90012261502
48B9843A98B16B   JAKE         ARRINGTON                UT          90012374309
48B98783991394   AMBER        JENKINS                  KS          90014857839
48B992A2272B4B   SANDRA       GRISHAM                  CO          90000182022
48B99722A2B27B   CRECENCIO    DELACRUZ                 DC          90015137220
48B9B13245B28B   LAUREN       JONES                    KY          90014891324
48B9B242572B36   URIEL        RIVAS                    CO          90005962425
48B9B887191988   JESUS        CAJILLAS                 NC          17018168871
48B9B8A6872B43   JOSETTE      MARTINEZ                 CO          90011028068
48BB111924B271   BRENNA       HOFFMAN                  NE          27059611192
48BB1A8618B16B   ESCOLASTIC   ALBO                     UT          31076830861
48BB256795B222   JANE         SMITH                    KY          90001495679
48BB2A2757B473   DEANNA       SCATES                   NC          90011130275
48BB449162B27B   TIMTHY       GOODWYN                  DC          90014064916
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48BB456A872B43   SHANNON     HOGAN                     CO          33092625608
48BB5864884332   CARLOS      RIVERA                    SC          19060808648
48BB6213891988   MAURICE     BENNETT                   NC          90011192138
48BB688438B16B   SALVADOR    GUERRERO                  UT          90010918843
48BB7566251334   MARCOS      DIAZMORALES               OH          90013935662
48BB7A53271999   STEPHANIE   CARDENAS                  CO          90013090532
48BB853875B58B   DEANN       RAGLAND                   NM          90014595387
48BB87A2A5B222   STEVEN      ROBERSON                  KY          90013007020
48BB9242625164   TAQARI      PAYNE                     AL          90015372426
48BB9817251334   DARIUS      HAMILGTON                 OH          90005198172
48BBB258961967   ANDREA      VALENCIA                  CA          90014122589
48BBB58AA2B872   DEBORAH     PEARSON                   ID          90002535800
48BBBA21271999   MOSE        MARTINEZ                  CO          90013090212
48BBBAA8972B36   LLUVIA      AGUIRRE                   CO          90009260089
4911122119152B   JANETTE     RAMOS                     TX          90012032211
49112132A72B36   ANITA       ROBISON                   CO          90015121320
49112489872B4B   MICHAEL     ANAYA                     CO          90003774898
4911252665B53B   MANUELA     ALVAREZ                   NM          90014775266
4911273838B16B   JAN         MCKAY                     UT          31026197383
4911328313B351   SHANNON     CORTEZ                    CO          33087912831
49113577972B4B   JOHN        ANTUNA                    CO          33049395779
4911375855B53B   RUSSEL      FRYE                      NM          35035187585
4911431932B27B   TYANNA      BROWN                     DC          90004053193
4911436575B395   JULIA       WHITEMAN                  OR          90014103657
491144A7172B4B   JARED       ROBERTS                   CO          33008494071
4911481AA91569   RELANDO     KIRK                      TX          90012928100
49114A52772B43   MICHAELA    PEDIGO                    CO          33069280527
4911543835597B   SELINA      HUERTA                    CA          90010894383
4911554A591569   JUAN        MARROQUIN                 TX          90007485405
491164A3872B4B   MUSEF       TOGAI                     CO          90014994038
4911729765B58B   MARIBEL     MUNOZ                     NM          35085802976
4911742738B885   JEREMY      PAYNE                     HI          90014004273
4911775A781691   SHENETHA    DAVIS                     MO          90013507507
491179A5A5B53B   LISA        DOMINGUEZ                 NM          90014229050
49117A3A75B53B   JAMES       LUCKETT                   NM          90010490307
491182A2971947   MICHAEL     REEDER                    CO          90003202029
4911849A491959   SHANNYN     ALSTON                    NC          90014584904
4911885358B546   RITA        DRITO                     CA          90015348535
4911941844B271   ADRIANNE    WALKER                    NE          27058384184
4911B149172B36   MARIA       LUNA                      CO          33070441491
4911B57465B394   DELFINA     DIAZ                      OR          44579365746
4911B574833621   MIGUEL      PATRICIO                  NC          90008335748
4911B912797B62   KASIKILA    MISAGWE                   CO          90013029127
4912194229152B   ALLIANCE    INSURANCE                 TX          90004539422
491227A7391982   JOY         HEDGEPETH                 NC          17024677073
4912459555B264   DEAZIA      LAWRENCE                  KY          90010205955
4912487A361967   CHRIS       BROWN                     CA          46016818703
49124A81472B36   RANDY       HARDEN                    CO          33040870814
4912517325B174   CARLOS      NEAL                      AR          23045311732
4912543285B222   ERICA       MITCHELL                  KY          68058434328
491258A5771946   HEIDI       GOODWIN                   CO          32042238057
49126541A62649   ABNER       COLINDRES                 CA          90015275410
49128281197B62   ZACHARY     MECLELLAND                CO          90013512811
491283A5571947   LUCAS       LINNES                    CO          90012803055
4912914AA72B38   ERIKKA      DANIELSON                 CO          33087101400
4912B52735B58B   SHELLEE     WADDLES                   NM          90011355273
491311AA272B43   MARGARITA   DAMIAN                    CO          90011811002
4913128995B395   CAITLIN     FREEMONT                  OR          90013542899
49131653197B62   VICENT      CABOS                     CO          39085876531
49132481A4B271   ASHLIE      CONGDON                   NE          90004434810
49132829172B28   JOSEPH      SUTTON                    CO          90013828291
4913293668B531   GALDIUO     CAMARILLO                 CA          90014779366
4913389154B23B   MICHELLE    MCCAULEY                  NE          90006068915
49133A6437B461   MICAH       BEY                       NC          90000990643
4913413745B53B   ADRIANA     ESTRADA                   NM          35094231374
4913425735597B   HELEN       TRUJILLO                  CA          90013042573
49135735A5B53B   ESTRELLA    SANCHEZ                   NM          90012157350
49135A59193751   PEREZ       HARRIS                    OH          90011390591
49137287172B54   GONSALO     GALVAN                    CO          33002412871
4913745615597B   JUAN        MARTINEZ                  CA          90014434561
4913816A491873   BRANDI      TOWNSELL                  OK          90014721604
49138225A5B555   MARIA       IBARRA                    NM          90008642250
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4913939195B395   CHERI       MERRYIWEATHER             OR          90011293919
491394A8951334   MMICHAEL    BEDINGHAUS                OH          66093714089
49139514172B36   GENESE      MEJIA                     CO          90007675141
4913971855B174   MANUEL      PEREZ                     AR          90011267185
49139742172B43   JERRY       GARCIA                    CO          33063247421
49139797172B36   MARTHA      MIRAMONTES                CO          33055647971
4913B89695597B   DAWN        HERRERA                   CA          49072648969
49141132572B38   JESUS       REYES                     CO          33080251325
4914198295597B   DEE DEE     KAYAJANIAN                CA          49092389829
4914215452B271   SARINA      MURRAY                    DC          90005911545
49142488872B62   ALMA        POOT                      CO          90000564888
491427A4891569   LORENA      VEGA                      TX          90010527048
4914287835597B   IDALIA      SANCHEZ                   CA          49079478783
49142AA385B174   VIRGINIA    DAVIS                     AR          23065690038
4914355A261963   DOLORES     VARELA                    CA          90001775502
4914359775597B   MAX         RODELA                    CA          90012525977
4914393A391583   LILY        CORTEZ                    TX          90012809303
491439A3A97B62   BILL        LAMPE                     CO          39096199030
4914425AA5597B   DAISY       MUNOZ                     CA          90015102500
49144339572B54   ADAN        HERNANDEZ                 CO          90010213395
4914439582B87B   RYAN        BOURGARD                  ID          90002013958
49144741697B53   MODESTA     GARCIA-OJEDA              CO          90011877416
49145117797B53   FRANCISCO   LUCERO                    CO          33068731177
4914515318B165   JEREMY      BALTER                    UT          31056731531
491453A195B174   TRAMMELL    MONTGOMERY                AR          90014793019
49145721A97B62   WILLIAM     SMITH                     CO          90011387210
4914575822B267   DAVID       BONILLA                   DC          81087627582
49146485972B36   LACIE       CLARK                     CO          90009894859
4914696145B52B   JOSE        MUNOZ                     NM          90012629614
49146A25491959   JOSE        FUNES                     NC          90006200254
49146A9155B581   SHADHAN     SWANSON                   NM          35006010915
4914718A64B531   TANIA       PALACIOS                  OK          90006131806
4914757AA71947   RICHARD     PACHECO                   CO          90009715700
4914772578B16B   MARIO       MONTOYA                   UT          31005627257
4914827135597B   ROSA        LOPEZ                     CA          49014142713
49148375672B4B   JAMES       GIGAX                     CO          90014443756
4914846515B523   ANDREW      MONTOYA                   NM          35016704651
4914856444B271   GUILLERMO   ROMAN PALOMARES           NE          90003615644
491491A4A91881   LATRAY      HOWARD                    OK          90003351040
4914929335597B   JEFF        TURNMIRE                  CA          90005902933
4914B16A491873   BRANDI      TOWNSELL                  OK          90014721604
4914B314791523   CLARISSA    JIMENEZ                   TX          90013513147
4914B7A5851336   DAVID       SEARIGHT                  KY          90013377058
4914BA9A85B375   SERAFIN     CABELLO                   OR          90004520908
49151A91391959   BANAY       CAPRI FIELDS              NC          90009150913
49152A15772B54   PINON       MARIA                     CO          33059330157
49153532372B4B   RUBY        ROSS                      CO          33027555323
4915386785B174   SHAWNAYA    POLK                      AR          90003828678
4915391887B394   MEAZA       BEKELE                    VA          90001989188
49154389372B43   LUIS        LECHUGA                   CO          90010503893
4915531735B395   HEATHER     MOZO                      OR          44516943173
49155683897B62   TAMMY       GARZA                     CO          90006726838
491557A815B58B   CHRISTINE   HERNANDEZ                 NM          35032157081
491562A8971946   JONATHAN    NEAL                      CO          90015102089
4915652295B174   TONIA       HOLLOWAY                  AR          90002965229
4915661835B55B   RENEZINA    JOHNSON                   NM          90006776183
49156A6795B58B   ANNA        CATANO                    NM          90012600679
49157699197B62   MARITZA     VEGA                      CO          39059776991
4915989A791959   DEMARIO     GONNIGAN                  NC          90003558907
4915B455771946   BANDEN      THORNTON                  CO          90014974557
4915B583A91959   CHARLES     LETTERMAN                 NC          90013545830
4915B7AA361967   ROBIN       BAUER                     CA          46010137003
4915B995691583   NAYELY      SERNA                     TX          90012789956
4916142347B453   GABRIEL     AMAYA                     NC          90012434234
4916152A971947   WILLIAM     LALLIS                    CO          90009375209
4916159A472B36   SIMON       VATH                      CO          90012705904
49161A93272B4B   BEATRIZ     KEMMERER                  CO          90010130932
4916211A75B523   JOSH        LOPEZ                     NM          90005601107
491627A835B58B   WENDY       ACOSTA                    NM          35029687083
49162811372B4B   BRYIA       JOHNSON                   CO          33095708113
49163577372B36   AIDA        LUNA                      CO          33013165773
49163874972B54   BRITT       ANDERSON                  CO          33065168749
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4916446755597B   EVA                 RAUMAKER          CA          49034844675
4916468A74B943   JIMMEKA             JOHNSON           TX          90007436807
49164A1A572B33   PABLO               LOPEZ-RUIZ        CO          90012630105
4916528732B27B   SEAN                BURGESS           DC          90012882873
49165518972B36   MARIA DEL SOCORRO   CHAVEZ ORZCO      CO          90008545189
49165A29491873   REGINA              WARREN            OK          90014730294
49166138A5B53B   JAMES               MESQUITA          NM          90011071380
4916632162B27B   ERIC                SHANKS            DC          81078783216
49166347272B36   CARRIE              WILBORN           CO          33078583472
49166A29491873   REGINA              WARREN            OK          90014730294
4916726745597B   DARLENE             PEREZ             CA          90011392674
4916773755B53B   TRAVIS              JOHNSON           NM          90007067375
4916792745B222   CORY                SEGO              KY          68095129274
49168242A97B62   LAURA               MORRISON          CO          90001672420
49169293A5B58B   DOMINIC             GURULE            NM          35001092930
4916937394B271   SYLVIA              OUTERBRIDGE       NE          27012513739
4916B843A8B165   CHARLES             TRUJILLO JR       UT          31032208430
4916B91A45B58B   PATRICIA            ROSCOE            NM          90004739104
49171A48491873   ALEE                WILSON            OK          90014730484
49171AA8791583   NICKY               BELLAH            TX          90015190087
49172A45697B62   WILLY               JOHNSON           CO          39041300456
49172A66271999   ALICIA              ADAME             CO          38095330662
4917389A191523   PERUSQUIA           ESMERALDA         TX          90009228901
49173A99591394   REBECCA             RILEY             KS          29085840995
49174317672B4B   ERNESTO             RAMIRES           CO          33092953176
4917529965B523   HIPOLITO            RODRIGUEZ         NM          90003412996
4917619A92B956   BRENDA              RUBIO             CA          90014321909
4917646A971946   BONNIE              ATKINSON          CO          32080474609
491767A455B395   JEFF                BEALE             OR          90013687045
49177236297B62   CHEYENNE            MARIE DU CHENE    CO          90014542362
49179235297B62   RENAE               LEON              CO          39009142352
491795A5572B54   LEIDY               CASTILLO          CO          33061775055
4917B584272B36   RICHARD             MORGAN            CO          90005985842
4917B649348B28   LATODD              TAYLOR            OK          90005026493
491812A652B27B   JANICE              RAY               DC          90012912065
49181447872B43   JONATHAN            MARMOLEJO         CO          33061744478
4918155A28B16B   NICHOLE             LOFTUS            UT          31077865502
49181A81591873   EDIN                PERDOMO           OK          90014730815
491832A545B52B   HECTOR              GARDEA ROMERO     NM          36040982054
4918333A25B523   CASSANDRA           ALVARADO          NM          90003413302
49183A2A571999   GRACE               SMITH             CO          90001990205
49184151897B62   DANIEL              FUENTES           CO          39043051518
491841A3391583   LOURDES             BOCANEGRA         TX          75014571033
4918451728B165   BRIGITTE            FAVRO             UT          31062375172
4918464145B395   VICKIE              COYOTL            OR          90007416414
4918568245B174   JOHNSON             BOBBY             AR          90002246824
4918675A22B27B   JOHN                GLOVER            DC          90007607502
49186763572B4B   ALFREDO             REYES             CO          90005857635
4918757A172B36   SCARLETT            PEDFORD           CO          90014885701
4918786655B53B   DARLERE             MAESTAS           NM          90010768665
491879A675B53B   CALVIN              GORMAN            NM          90014719067
4918842255B395   MARK                SCHULZ            OR          90011094225
4918938442B87B   BRYON               HAVILAND          ID          90007633844
4918954742B87B   BRYON               HAVILAND          ID          90011945474
49189573672B38   MARK                RUIZ              CO          33035225736
4918B413924B69   NADINE              REID              DC          90005244139
4918B669897B62   TRACY               SYMES             CO          39090556698
4919224A491569   LUZ                 ACOSTA            TX          75087682404
4919235345B58B   DESIREE             SULLIVAN          NM          90012253534
49193336697B62   IAN                 SOLARSKI          CO          90011153366
4919359A171947   DAWN                VAUPEL            CO          32084695901
491945A9A2B27B   JESE                SANTOS            DC          90013085090
4919484296B275   CHARLES             SIMS              AZ          90013978429
4919538163B356   ABEL                ARROYO            CO          33066003816
49195735372B54   RANDY               HOVRUD            CO          33066567353
49196397A61967   JENNIFER            MIRANDA           CA          90005803970
491963A5571947   LUCAS               LINNES            CO          90012803055
4919641135B581   ALONSO              JUAREZ            NM          90003484113
491964A8171999   JOANNA              BUSBY             CO          38015944081
491974A9991583   ROSALVA             VASQUEZ           TX          75008804099
4919763895B55B   NUBIA               VALENZUELA        NM          35080056389
4919779A984766   ROBERTO             CONTRERAS          IL         90002347909
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4919789393368B   PHENICIA     REID                     NC          90012758939
49197A3312B27B   GENY         FRESHOUR                 VA          90015200331
491981A3891873   ELISSA       HAMSARD                  OK          90014731038
49198392A57564   CLAUDIA      CLAUDIA                  NM          90013413920
4919854775B174   CINDRA       ELLIS                    AR          90010895477
491985A445B58B   SHARON       GARCIA                   NM          90015005044
4919872A561963   ERIC         WILLIAMS                 CA          90007077205
4919873215B174   LUIS         GARZA                    AR          90013157321
4919879518B165   RYAN         NIELSON                  UT          90001257951
49198A97772B36   TURNER       DAMEON                   CO          90014770977
4919948485B523   ABEL         MENDOZA                  NM          35090174848
4919959A171947   DAWN         VAUPEL                   CO          32084695901
4919B488172B54   JUANMANUEL   HERNANDEZ-IVARRA         CO          33068524881
4919B756671999   BRIAN        FISHER                   CO          38057007566
4919BA1175B58B   YVETTE       BARRAZA                  NM          90014890117
491B1697671999   TONI         HERNANDEZ                CO          38026026976
491B1848591583   JESUS        HOLGUIN                  TX          90011098485
491B216825B58B   TOBY         CHAVEZ                   NM          90015241682
491B24A445B395   LOUIS        MCCLENDON                OR          90012874044
491B253A95B35B   MANFREDO     SANTOS PALMA             OR          44515925309
491B3264472B36   ZANAHA       MARIE-MCCARTY            CO          33002892644
491B3787171999   SEBASTIAN    ESTRADA                  CO          90012817871
491B4258A91583   JESSICA      AVALOS                   TX          90011662580
491B445A75B395   CHELSEY      MCGUIRE                  OR          90003484507
491B4994497B62   MATTHEW      BARELLA                  CO          39007569944
491B582662B27B   RENEE        WILLIAMS                 DC          90014018266
491B5A32781698   KAREN        COLE                     MO          90008990327
491B5A52571947   MARIA        MARTINEZ                 CO          90000220525
491B6294297B62   SHAWNA       STAMM                    CO          39026472942
491B6467791394   ALONZO       DIAL                     KS          29051124677
491B6585A5B395   CYNTHIA      STEVENSON                OR          90012275850
491B6712561498   DESERT       CLINE                    OH          90014407125
491B726452B879   MIKE         PLATTS                   ID          42025682645
491B7818197B62   AMBER        BENNETT                  CO          39092058181
491B7831261963   CRISTAL      MURILLO                  CA          90006758312
491B7842491922   DOMINIQUE    STANLEY                  NC          90010798424
491B7968551361   ROY          GRAY                     OH          90003619685
491B8229636189   JOHN         LECON                    TX          90004282296
491B8344661967   JAMES        POWERS                   CA          90015163446
491B874615597B   JOAQUIN      MONTEZ                   CA          90014887461
491B9222291523   ERIK         BORREGO                  TX          90013512222
491B93A6161963   MARIA        VALDOVINOS               CA          90013453061
491B9954497B62   CELINA       ENDOZA                   CO          90013009544
491B997885B523   JESSICA      VENZOR-VENEGAS           NM          90005599788
491BB18935B523   ROBERTO      ANGELES MANCHA           NM          35016691893
491BB252671947   CHRISTINE    LILLY                    CO          32053652526
491BB51A55B58B   MONICA       POTTER                   NM          35042525105
491BB64185B395   SANDRA       YOUNG                    OR          90013076418
4921151455597B   ANDRES       CLEMENTE                 CA          90004295145
49211A87191583   FERNANDO     MEDINA                   TX          90010480871
49212241172B36   ISAAC        OLMOS                    CO          90011942411
4921279A771947   MARJORIE     EUGENE SELLERS           CO          90003177907
49212A9225B174   LATASHA      WINKLER                  AR          90012660922
492132A465B395   DEBRA        LEONARD                  OR          44580582046
4921341135B53B   ANGELO       ROSSI                    NM          90011254113
4921397A561963   ROCKY        PEREZ                    CA          90009879705
49214155772B43   ELIZABETH    SANCHEZ                  CO          90006711557
4921448722B27B   LAMBERTTA    DOVER                    DC          90014744872
49214622172B36   FERNANDO     AREVALO                  CO          90004926221
492147AA391523   BERNARD      DEFOREST                 TX          90013517003
49215532A91583   JESUS        SAENZ                    TX          75087295320
4921633562B87B   ASHLEY       BLASKI                   ID          41077643356
492165A2771946   MIGUEL       GOMEZ                    CO          90014765027
492166A9561945   LIZETH       CARMONA                  CA          90008346095
492167A6691523   DUANE        REYNOLDS                 TX          90013517066
4921698A591583   JAMES        MILLER                   TX          90013329805
4921759785B523   JOSE         MARTINEZ                 NM          35046915978
4921871745597B   JAMES        TONNA                    CA          90014157174
49219514372B36   TIMOTHY      BOVENZI                  CO          90012575143
492195A3771946   JASON        ELLIOTT                  CO          90014765037
4921B448871946   JOSEPH       SANTISTEVAN              CO          32086724488
4921B726472B36   BRITTANY     AVRA                     CO          33095027264
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4921B74652B87B   YVONNE        HOUSE                   ID          90005617465
4921B792297B62   JERRY         AGUIRRE                 CO          39038027922
4922268A591583   GRACIELA      GARDEA                  TX          90014586805
49222A24931448   MELVIS        BANKS                   MO          90001110249
492256AA95B58B   FELIPE        LANDEROS                NM          35062176009
49226248A91583   ALARCON       ADAM                    TX          90006562480
49226A25471947   SANDIA        CHAVEZ                  CO          90004920254
4922714365597B   CARLOS        MIRANDA                 CA          90000911436
4922721452B87B   VICKIE        LESLEY                  ID          41016602145
4922972892B27B   ARDELIA       WEST                    DC          90001257289
49231197A97B62   ANN           BAKER                   CO          39043241970
4923164A272B36   CHITRA        SANYARI                 CO          90007466402
49231986172B54   DIASIA        CURRIE                  CO          90011539861
4923232932B395   MARGARET      GARDNER                 CT          90013983293
492323AA197B62   JORGE         ARENAS                  CO          39087273001
49232795A91569   CESAR         GONZALEZ                TX          75009047950
49232858A71999   ADRIANA       HURD                    CO          90009448580
492328A375B551   JOHN          BENTON                  NM          35017538037
492334A4691982   SIERRA        DANN                    NC          90014894046
4923565955B395   JESSICA       CHAMBERLIN              OR          90010816595
492361A6261967   VIELAHNI      LEOMITI                 CA          90014631062
4923628718B165   MARIA         ROBLES                  UT          31010112871
4923646258B16B   ALEX          SMITH                   UT          31077874625
49236722A71947   MILLARY       CARABALLO               CO          90009527220
49236A15791569   ROSA          MORAN                   TX          75013130157
49237517A5597B   GLORIA        QUINONES                CA          49067855170
4923776955B174   MAYRIS        FOX                     AR          23057707695
49237A65A61967   JULYATHINAH   PHRAKOUSONH             CA          90010230650
4923834615B56B   MARIO         MAESTAS                 NM          90012093461
4923897955597B   MONIQUE       BLANCO                  CA          90009869795
49238A78772B43   ANGELA        YSLAS                   CO          90011800787
492394A8761967   MICHAEL       BENHUR                  CA          90006914087
4923B746491523   NICOLAS       RODRIGUEZ               TX          90013517464
4924188695597B   FLORENCIO     CRUZ                    CA          90005098869
49242A61961963   ROBERT        ROCHA JR                CA          90010480619
4924419225B53B   SONJA         GARCIA                  NM          90014641922
4924439292B342   DIMANCHE      RODNER                  CT          90013953929
49244A39772B36   LISA          KNOBBS                  CO          90001870397
49245559A97B74   DENNIS        FREIBERG                CO          33018195590
492462A6591569   LAURA         REZA                    TX          90014302065
492468A3A41222   DEBRA         WALKER                  PA          90011788030
49247986272B43   ANGELA        BARBOZA                 CO          33024789862
4924849775597B   RUTH          MURILLO                 CA          90012604977
49249113176B88   JOEL          GONZALES RABAGO         CA          90000841131
492497A2A5B53B   MARY          BLANKS                  NM          90013447020
49249882972B4B   OSCAR         ARIAS                   CO          33065368829
4924B119291583   CARLOS        GIRAD                   TX          90012101192
4924B946891569   JESUSQ        RUIZ                    TX          90012909468
4925136815B58B   LEONARD       MADRID                  NM          35098983681
492513A1397B62   KELLY         STEPHENSON              CO          39007613013
4925252A961967   BLANCA        PEREZ                   CA          90014735209
4925311415B395   ARIZBETH      CAPITAN LOE             OR          90015161141
4925311A933B35   DALE          STOREY                  OH          90015281109
492536A1671946   OMAR          RAMOS                   CO          90014766016
4925372737B426   RICHARD       BOSWELL                 NC          11007577273
4925465564B271   GABRIELA      SOLANO DE GALENO        NE          27047076556
49255275672B43   ROSELYN       SANCHEZ                 CO          90002922756
4925616695B523   MANUEL        MORALES                 NM          90008991669
49256363772B38   IRAIS         GARCIA                  CO          33069073637
49256375272B43   MICHAEL       RICHFIELD               CO          90007563752
4925655155B55B   JOHN          CRUZ                    NM          90000435515
4925675345B58B   SANDRA        AGUIRRE                 NM          90014457534
4925758745B53B   MARIA         DOMINGUEZ               NM          90013765874
49257647A71999   AMANDA        ESTRADA                 CO          90014716470
49258329A72B36   SALEMY        FLORES                  CO          33015313290
49258A26291583   MARIA         ROCKWELL                TX          75087160262
4925935AA51382   JACK          CHERNAY                 OH          90000973500
49259A7328B163   ANTHONY       MAESTAS                 UT          90008700732
4925B312497B62   MICHEAL       FRONCZAK                CO          90010343124
4925B69225B597   PEGGY J       SANCHEZ                 NM          90000496922
4925B89417B331   CARLOS        SALAS                   VA          90007688941
4925B937A61967   CAROLINA      BARRIOS                 CA          90015169370
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49261275672B43   ROSELYN       SANCHEZ                 CO          90002922756
49261879672B36   THOMAS        LITTLETON               CO          90001708796
49261942A91959   OLVYN         MEZA ALMENDARES         NC          90013869420
49262519572B36   LUIS          ESCANDON                CO          90002145195
49262536872B4B   ESTEBAN       RAMIREZ                 CO          90010745368
4926336995B395   SAFIYYAH      CHRISTOPHER             OR          90011193699
49264A61961963   ROBERT        ROCHA JR                CA          90010480619
49265189672B43   CHRISTINA     PALACIOS                CO          90011811896
492655A165B58B   JOSE          MOTA                    NM          90012165016
492656A5A5B222   TARA          SMITH                   KY          68097636050
4926598A371946   TAWNEY        MARTINEZ                CO          90009959803
492663A735B53B   ROBERTNETTE   BITSUE                  NM          90013173073
49266781A5B395   MELISSA       ELLIS                   OR          44508277810
49266831A2B87B   RACHAEL       SUTTON                  ID          41090968310
49266984A5B53B   JOHNMICHAE    SENA                    NM          90009439840
4926835975B174   BARBARA       PRICE                   AR          23083723597
4926846565597B   MAI           KALIA                   CA          90010864656
4926852A561967   TUKUFU        KALONJI                 CA          46052725205
49268693872B36   DAVID         SALAZAR                 CO          90011536938
49268756872B38   MARTIN        SALVADOR                CO          90007297568
49269192672B43   CLEOPATRA     SABANG                  CO          90011811926
492691A9491394   LIZA          BONILLA                 KS          29027011094
4926B688491583   RACHEL        REYES                   TX          90014586884
4926B873871946   VANESSA       LIMONEZ                 CO          90011788738
49273AA4A72B36   ANDREA        GONZALES                CO          90008150040
4927441515B58B   DEBORAH       GONZALES                NM          35043134151
4927585AA71947   SEAN          PACK                    CO          90011218500
492758A8772B36   MERIZALDE     PAMELA                  CO          33069208087
49276A15A5B53B   YANET         MARTINEZ                NM          35044040150
4927843A191597   ALBERTO       TORRES                  TX          75018184301
49279554497B62   SPENCER       HERTZOG                 CO          90014925544
4927B565671947   JEREMIAH      WARWICK                 CO          90013365656
4927B5A9A72B4B   ANNALISA      SIMMONS                 CO          90010245090
4927B924291873   TERESA        MCHENRY                 OK          90009279242
4927B94415B55B   JOANN         GRIEGO                  NM          35079919441
4927B968561967   FERNANDO      VALDEZ                  CA          90007519685
4927BA73571999   JOSSIE        CARROLL                 CO          38095990735
4928243495B174   GREG          RALLY                   AR          90011284349
4928256A172B36   ROBERT        REDDY                   CO          90012835601
4928269385B395   GERARDO       REYES                   OR          44564806938
49282A76372B54   SARAH         WILLIAMS                CO          90001890763
4928325935B395   RAMONA        EDWARDS                 OR          90005472593
4928367135B395   MACKENZIE     HORNYCH                 OR          90010816713
4928413859127B   SANDRA        EARLY                   GA          90001611385
4928425925B53B   CHAYANNE      GALLARDO                NM          90014192592
4928511392B27B   SHARIE        MARTIN                  DC          81021241139
4928512235B53B   ANTHONY       DELAPAZ                 NM          90012411223
49285A57761963   JOHNSON       SEMEXANT                CA          90010200577
492861A445B53B   DEMI          ELIZALDE                NM          35059321044
4928737215597B   MICHELLE      BROWN                   CA          49014863721
49287AA9971999   JOSH          DAVIS                   CO          90011600099
49288239A5B53B   XAVIER        GOMEZ                   NM          90011502390
49288822597B62   RANDY         PASQUINELLI             CO          39016028225
49288A15A72B36   JENNIFER      LOMELI                  CO          33058250150
49289AA3A72B36   FERNANDO      SANCHEZ                 CO          90009260030
4928B186591569   DULCE         CORONADO                TX          75088691865
4928B254574B7B   KELLY         RAMBO                   OH          90011262545
4928B61342B87B   DEAN          SKAINS                  ID          41072386134
4928B694872B36   GUADALUPE     CAMPOS                  CO          90009536948
4928B847791873   TINA          EDWARDS                 OK          90009608477
4929156443B37B   BRIAN         SHUEY                   CO          90008195644
49292817A41448   ASHLEY        TOOLS                   WI          90014688170
49292A4A591569   PAOLA         RODRIGUEZ               TX          90006380405
49293A7485B55B   CHRISTY       ALLEGRO                 NM          90014020748
49294247697B62   FAUSTINO      MIRANDA                 CO          39067822476
4929445A95B333   ALVARO        NIETO                   OR          90001714509
4929493A172B4B   CHAD          HARLAN                  CO          33078469301
49294A98171999   JOE           BACCA                   CO          90014100981
49295474A91583   MARIA         ALVARADO                TX          75034854740
492959A6161963   MATTHEW       DAVIS                   CA          90014609061
49296166272B4B   GABRIEL       VALADEZ                 CO          90013821662
4929619464B271   KATHY         DIESTERHAUPT            NE          27093881946
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4929626115B395   LAURI       TAG                       OR          44586462611
492966A9472B4B   GABRIEL     VALADEZ                   CO          90007416094
49298438A5B395   ANDREW      HILL                      OR          90011094380
49299371697B62   SONIA       ORTIZ                     CO          90007683716
49299742233B77   CURTIS      BAILEY                    OH          90013147422
4929B18A55B395   ANDRES      PASCUAL CARDONA           OR          90014471805
4929B543197B62   HOLLY       GONZALES                  CO          39015145431
4929B7A1672B36   ERIKA       RODRIGUEZ                 CO          90009097016
492B118977B463   SHANA       WILLIAMS                  NC          90006791897
492B1211A71947   ROBERT      PERRY                     CO          32089232110
492B1315997B62   DESIREE     SEPEDA                    CO          90013513159
492B1318961963   NICK        ALVAREZ                   CA          46012813189
492B1422A72B54   JAMIE       TORRES                    CO          90009164220
492B2152472B43   EDWARD      BURKE                     CO          90011811524
492B241135B581   ALONSO      JUAREZ                    NM          90003484113
492B2642691583   MIREYO      COSTILLO                  TX          90011566426
492B2A21491959   THOMAS      KRAMER                    NC          90015330214
492B3342A61963   GARCIA      ROSA                      CA          46014173420
492B38A2241222   PAM         MAZUREK                   PA          51049688022
492B41A8131283   CONNIE      VAZQUEZ                    IL         90009881081
492B4491551354   MICHAEL     BABEL                     OH          90001534915
492B463635B53B   MICKA       EMBREE                    NM          35072196363
492B4797961967   VERA        MCPHERSON                 CA          90009177979
492B5274791959   CARMEL      HOLIDAY                   NC          90015152747
492B5726351334   CATHY       BRANDENBURG               OH          90003447263
492B5837997B62   THOMAS      SHANKLE                   CO          90009048379
492B5978472B43   TERRY       OEHLER                    CO          33085959784
492B6133891873   BARBARA     WILLIAMS                  OK          90014731338
492B62AA191959   CHANEL      ROBERTSON                 NC          90014162001
492B656A35B58B   MARIBEL     TERRAZAS                  NM          90005565603
492B7336A71946   FRANK       QUIALES                   CO          90006403360
492B772328B886   ANTONIO     QUEBATAY                  HI          90014017232
492B8626557B97   GABRIELLE   GAMBRAH                   PA          90013896265
492B8642191583   ESMERALDA   MERCADO                   TX          90015016421
492B871A536189   ROSALBA     BARTON                    TX          90005637105
492B9199161967   HUSSEIN     AL HABIB                  CA          46067201991
492B94A415B58B   MARGARET    CADENA                    NM          90014294041
492B972255B53B   MARIAH      GABALDON                  NM          90015517225
492B974715597B   FRANCISCO   AVALOS                    CA          49008857471
492B9858672B4B   ROSALVA     PINON                     CO          90013608586
492B9A2332B87B   CHRIS       HOLDZ                     ID          90013580233
492BB1A225B222   VALERIA     ELLINGTON                 KY          68026781022
492BB311961979   FERNANDO    LEPE                      CA          90001473119
492BB393A61967   ASHLEY      FRANKLIN                  CA          46017933930
492BB3A9371946   STONE       OLEI                      CO          32097753093
492BB82265B174   LATASHA     OLIVER                    AR          90004168226
492BBA1955B53B   BRUCE       GARCIA                    NM          90013220195
49313A88371999   MARIBEL     MERCADO                   CO          90013950883
49314161A72B36   ALEIDA      RODRIGUEZ                 CO          90012151610
4931419A591873   JUAN        ROSAS                     OK          90007161905
493141A915B174   MATT        MILLER                    AR          90009811091
493147A565597B   PHIA        XIONG                     CA          90004197056
49314A5855B395   RONALD      RICHMOND                  OR          90001570585
49315442472B54   TERRENCE    WATSON                    CO          33083074424
49315A38191527   LORI        JOLLEY                    TX          90014910381
49317848A91959   JULIA       HANLINE                   NC          90004988480
4931815285597B   NORMA       ELIZONDO                  CA          90015181528
493182A8397B62   BRYANT      RIVERA                    CO          39035242083
4931976895B58B   ALEJANDRO   GAMBOA                    NM          90010987689
49319826A91394   JAMES       RUSH                      KS          90008088260
49319993272B36   DION        YELLOWHAIR                CO          33043579932
4931B25575B174   JOSIE       POMPA                     AR          23053442557
4931B466171947   WILLIAM     STEFFANY                  CO          90013854661
4931B552691583   CLAUDIA     ALVAREZ                   TX          90005925526
4931B91512B895   TRINITY     BUCK HULL                 ID          42006269151
4932115A993741   ASHLEY      WILCOX                    OH          90013271509
49321262374B3B   ERIC        ASH                       OH          90015292623
4932129168B16B   MARIO       SALAS                     UT          90007682916
4932288762B27B   EUGENIO     MORALES                   DC          90007608876
4932366615B53B   EDUARDO     ARCINIEGA                 NM          90003346661
49323A92372B36   STEPHANIE   STATZ                     CO          33070440923
493251A2672B43   ERIN        KELLY                     CO          33024791026
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49325226A97B62   CLERISSA    METZ                      CO          90011192260
493256A1972B54   SERGIO      RIVAS                     CO          90000546019
4932589715597B   FRANCISCO   LAUREANO                  CA          90014228971
493259A355B395   BRIAN       CHRISTOPHER               OR          90015119035
49326567A91394   ELIGIO      ESCALANTE                 KS          29097205670
4932713264B271   SEBASTIAN   TINO                      NE          90004531326
4932876488B165   TOLUTAU     HALAAPIAPI                HI          31081357648
49329271872B25   DAVID       GUERRERO                  CO          90005032718
49329388272B36   JON         CICERO                    CO          33084023882
49329722697B62   JANELLE     ENGEL                     CO          90012977226
49329895572B4B   NICOLE      PITTS                     CO          90014978955
493298A958B165   RYAN        HAYWARD                   UT          90002168095
4932B18A58B165   CHRIS       MORRIS                    UT          31022931805
4932B865A5B222   BECKY       COX                       KY          68095548650
4933121352B27B   BRON        BAYLOR                    DC          90015182135
4933154682B27B   ERCENCIO    SANTOS                    DC          90012725468
49331636A91873   SHIRLEY     TIMOTHY                   OK          90011176360
49331A87172B45   QUAN        NHAN                      CO          90014260871
4933235322B27B   JAYQUAN     WILLIAMS                  DC          90003573532
493331A7151332   STEPHEN     TOMPKINS                  OH          66057411071
4933334445B395   DOMINGO     PASCUAL                   OR          90011013444
49333812397B62   JESSI       FLOREZ                    CO          90011118123
49333A11472B54   AMANDA      GODDARD                   CO          90001800114
4933435925B266   TONY        RAMEY                     KY          90002473592
4933583745B53B   JUDAS       GAGA                      NM          35085888374
49336363172B4B   MARIO       LUIS                      CO          90014773631
4933643865B395   HECTOR      SAN JUAN GARCIA           OR          90004654386
49336A42A71946   JESUS       HERNANDEZ                 CO          90008680420
49336A4395B58B   SEAN        LEONARD                   NM          90011510439
49336A88371999   MARIBEL     MERCADO                   CO          90013950883
4933792385B38B   RENAH       STRAWSER                  OR          90012139238
49337A29871947   ZACH        DILLINGHAM                CO          90013860298
49338383972B54   JOSE        LARA                      CO          90007703839
4933869935B53B   DAVID       VELASQUEZ                 NM          90010856993
49338848A61963   JESSY       LOPEZ                     CA          90009888480
49339343A5B53B   PERLINE     CARO                      NM          90007083430
4933B295591569   PAOLA       FALCON                    TX          75017632955
49341197172B31   BRENDA      TOSTADO                   CO          90007681971
4934131A561963   JUVY        EBIDAG                    CA          90014963105
493421A7A72B38   TERESA      GONZALES                  CO          90011591070
49342546572B36   YOLANDA     LOPEZ                     CO          90013555465
493427A395B222   STEPHANIE   ROSE                      KY          90012247039
49344442497B62   ELIZABETH   SITZMAN                   CO          39008254424
4934575655B179   REBEKAH     CUMMINGS                  AR          90013437565
49345A4465B395   ROBERT      SWEENEY                   OR          44572780446
493465A3924B31   CLINTON     HARRISON                  DC          90004135039
4934675655B179   REBEKAH     CUMMINGS                  AR          90013437565
49347978A4B271   CRYSTELL    ORENT                     NE          27076979780
49349885A71999   TINAMARIE   HAMILTON                  CO          90014418850
4934B219441454   OMARI       HOWARD                    WI          90001202194
4934B274791583   REYES       RICARDO ESTEEBAN          TX          90008992747
4934B479791523   JOHN        RODRIGUEZ                 TX          90009914797
4934B551791597   DENISSE     RIVERA                    TX          90007435517
4934B63838B16B   KATIE       GIBSON                    UT          90006216383
4934B871963674   RYAN        JONES                     MO          90008178719
4934BA1645597B   ESMERALD    REYNA                     CA          90014640164
4935143858B885   LES         GOODMAN                   HI          90014004385
493514AA791959   DARIUS      GREENE                    NC          90011854007
4935196648B654   CADEIDRA    JONES                     TX          90015439664
4935249522B92B   STACY       MCWILLIAMS                CA          90015024952
49353A1565B53B   BARBARA     PRIETO                    NM          90013220156
49353A35681671   SUSAN       HEMENWAY                  MO          90014240356
4935514915B58B   SAMMEY      GONZALES                  NM          90001991491
493554A7861966   BLASA       MACIAS                    CA          90013254078
493555A936B143   CILILO      HERNANDEZ                 MS          90015095093
4935581A34123B   MONICA      CAMPOS                    PA          90011588103
4935726955B58B   DANNY       TENORIO                   NM          35081782695
4935728493B33B   JAVIER      GARCIA                    CO          33006132849
4935856AA61963   TONY        SANCHEZ                   CA          46076955600
493585A3836189   JOSE        LOPEZ                     TX          73515975038
4935965715B53B   JAMES       JOHNSON                   NM          90004326571
4935B755171947   RACQUEL     MARTINEZ                  CO          32097497551
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4935B816172B36   ALMA              NUNEZ               CO          33063088161
4935B938872B38   OSCAR             FLOREAS             CO          33088009388
4935BA68297B62   SARAH             GERBERDING          CO          90007960682
49361366997B62   DANIELLE          SAMARIN             CO          90012693669
4936171988B165   CHARLES           WILLIAMS            UT          90013047198
49362164172B43   JASON             MEIER               CO          33050611641
4936224A871947   MYONG             AYALA               CO          90009822408
493628A255B395   CHARLES           RASBERRY            OR          44570918025
49362A43391583   CESAR             DELGADO             TX          90003600433
49362A9A12B87B   STEPHANIE         BOGAR               ID          41024670901
4936344A15B395   MIKE              PRESTON             OR          44561084401
49363829672B36   PATRICIA          OLIVAS              CO          33089888296
49365543A72B36   ORLANDO           PINO                CO          33015685430
4936581A671999   JEREMY            REARDON             CO          90011628106
4936622A491569   DAVID             SOLIS               TX          75086092204
49367246872B62   WILLIAM           MAES                CO          90011202468
49367546972B93   MATTHEW           OSBORNE             CO          33090485469
4936771AA71946   JOSE              ALTAMIRANO          CO          90011797100
4936813925B174   MARKEVIOUS        DAVIS               AR          90008121392
4936851A84B271   LAURA             CORDOVA             IA          27006355108
49368661297B62   JESSICA           VIDUYA              CO          39042586612
49369226A97B62   CLERISSA          METZ                CO          90011192260
49369859872B54   SARAH             SCHWEITZER          CO          33015638598
4936B815372B31   MARIA ELIZABETH   GALDAMEZ GUILLEN    CO          90012498153
4936B874A91959   DENA              READING             NC          17090988740
4937123272B253   DENA              BROWN               DC          90000452327
49371425572B54   SUSANA            ESPITEA             CO          90010024255
4937152182B27B   MAURICE           BURT                DC          90010725218
4937223758B59B   MERCEDES          BENZ                CA          90015352375
49372371A5B58B   RUBEN             BARAJAS             NM          90014773710
493729A6A61963   DAVID             CRUZ                CA          46028639060
49373588772B38   JOLENA            CASIAS              CO          33054135887
4937372492B27B   MILDETTA          GREELY              DC          90008847249
4937619945B58B   VANESSA           DIEZ-SANCHEZ        NM          90008641994
4937644715597B   JARED             MENDIOLA            CA          90003754471
493766A4A5B53B   ERIBERTO          MARTINEZ            NM          35067616040
4937893835B53B   ALEXANDRA         BLACKSTOCK          NM          90009349383
49379528A71946   BARBARA           BABKA               CO          90012665280
4937969885B58B   CECILIA           MANRIQUEZ           NM          90008796988
4937B372A61967   MONICA            MENCHEZ             CA          46014353720
4937B398491569   FLORES            ALEJANDRO           TX          90010313984
4937B433971946   STEPHANIE         DEBORDE             CO          90014784339
4937B458491873   BRIAN             LEE                 OK          90014734584
4937B846597B62   GARARDO           SANTANA             CO          90011488465
4938122A84B271   TINA              HUNT                NE          27038602208
49381348A58528   CHAOLIN           FERNANDEZ           NY          90015593480
49381521A2B84B   DANIEL            TADDOS              ID          90014485210
49382388A5B53B   JENNIFER          RIVERA              NM          35096143880
4938253515B222   ELIZABETH         NOE                 KY          68096065351
4938253652B27B   AYANNA            BLUE                DC          90002455365
4938298A191394   MAGALI            DE LEON             KS          90008089801
49382A61772B36   YESICA            REYES               CO          33018680617
49383A22A71946   CALOS             ORDONEZ             CO          32074960220
49383A35872B47   AUTUMN            RIMIREZ             CO          90013520358
49384288172B4B   MARTIN            RODRIGUEZ           CO          90003482881
49384A91897B62   VIANEY            AGUIRRE             CO          90013170918
4938554862B87B   HEATHER C         MAYNARD             ID          90002435486
4938589835B53B   HOPIE             HUERTA              NM          90004218983
49386428397B21   TROY              GAMEZ               CO          90010794283
49386A15871946   ALBERTO           CERVANTES           CO          32015160158
4938726615B58B   LETICIA           LUCERO              NM          90014392661
49387A74161967   W                 BUCKLEY             CA          90013210741
49388195A5B53B   TOM               GALLEGOS            NM          90001611950
4938819A851334   RHONDA            STEWART             OH          66028031908
493881A5171999   JERRY             CHAVEZ              CO          90009081051
4938831915B395   OMAR              CASTREJON           OR          44505023191
49388859872B4B   ALYSHA            DUPLIN              CO          90002318598
49389221472B4B   TROY              GRAY                CO          90013922214
49389466A5B527   STEVE             GONZALES            NM          35096464660
493896A5A5B395   DAVID             RHODES              OR          44571126050
49389A43497B62   BRIAN             WILLERT             CO          90013600434
4938B236271946   MARIA             MORALES             CO          32031122362
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4938B294791881   ASHLEY       CARRIGER                 OK          90014932947
4938B356491959   ALVIN        MCCLAM                   NC          90011863564
4938B67728B16B   BRAD         LEATHAM                  UT          90002626772
4938B829A71947   CASSANDRA    THOMPSON                 CO          90014288290
4938B8A8A91583   MINERVA      ALVAREZ                  TX          90013048080
4938B965A5597B   LARENA       BESS                     CA          90011189650
4938BA5685B58B   RICARDO      SANCHEZ                  NM          90013750568
4939146455B395   LAKEISHA     PETERS                   OR          90010974645
493916A6991583   JACKLYN      CHRISTENSEN              TX          90000356069
49392A2462B27B   ANGELIQUE    RICHARDSON               DC          90014880246
4939327A761963   ITZEL        DE JESUS                 CA          90014932707
49395A8A897B62   SCOTT        CAMPBELL                 CO          90013600808
4939629117B457   AHMAD        ABDULLAH                 NC          90008822911
49396555172B4B   DAVID        EDGECOMB                 CO          33052315551
4939682315B53B   DEICY        PEREZ                    NM          90012158231
49397285372B33   IMAGARD      WERTH                    CO          90013502853
49397A9A691547   JOEL         SIFUENTES                TX          90012770906
4939812A85597B   LINDA        PEREZ                    CA          90010951208
49398399A51334   HELENA       MOSS                     KY          66093793990
49398584172B4B   RUBEN        ORDAZ                    CO          33080435841
49399552A72B43   MARIA        ESTRADA                  CO          90002945520
4939B312891873   AMANDA       SOWELL                   OK          90014763128
4939B34A291547   RICARDO      ARTALEJO                 TX          90004173402
4939B969197B62   RENE         ALVARADO                 CO          39066669691
493B1197791583   MARGARITA    SAMORA                   TX          90008621977
493B119A95B174   HAILEY       SPICER                   AR          90014611909
493B3151591523   JUAN         ORTIZ                    NM          75079621515
493B4152A97B62   KARINA       ROCHA                    CO          90014601520
493B4177872B36   LISA         MONTOYA                  CO          33085351778
493B41A175B523   TIFFANIE     MAURICIO                 NM          90005621017
493B4773891583   ANTONIO      GARCIA                   TX          75059387738
493B6392151334   SHARON       MCCANTS                  OH          66093773921
493B6487972B43   REYNALDA     MARCOS                   CO          33000894879
493B6611171999   RICHARD      DEHERRERA                CO          38092846111
493B677555B174   JASMINE      MARKS                    AR          90011287755
493B6A31291569   HOSIE        WHITE                    TX          90010310312
493B721964B221   TONYA        MENSAH                   NE          90007512196
493B726614B271   TROY         JOHNSON                  NE          27076642661
493B728675B174   CARMEN       MIEVES                   AR          90006342867
493B7476772B4B   MICHELLE     MARTINEZ                 CO          33042464767
493B785282B935   ANISSA       ESPINOZA                 CA          90012368528
493B792455597B   ALAN         PENA                     CA          49014679245
493B8389271946   JENNIFER     QUINTANA                 CO          90014773892
493B841475597B   VANESSA      MOBLEY                   CA          90008634147
493B8677671947   DAYO         EDWARDS                  CO          90009076776
493B895715B58B   SALAZAR      SANTOS                   NM          90010469571
493B9254472B4B   DESISLAVA    ANCHEVA                  CO          90013502544
493B934A88B162   JAKE         MARKER                   UT          90001363408
493B9A37171999   LUIS         MIRANDA                  CO          90014820371
493BB1A7571946   ROBERT       ELLEFSON                 CO          90011791075
493BB328771999   VICKIE       VIALPANDO                CO          38095843287
493BB73692B27B   JORGELINA    GASTELUM LOPEZ           DC          90013227369
49411A22A2B27B   CHRISSY      STEPHENSON               DC          90008860220
49411A9475597B   FELICIA      RIVERA                   CA          49053140947
49411A97171999   CHERYL       BLACKBURN                CO          38005300971
49411AA5151334   HAMZA        CONTEH                   OH          66098590051
4941213745B52B   BENJIE       VIGIL                    NM          36069871374
4941228815B53B   MARIAELENA   VARELA DE SALAZAR        NM          35030172881
49412529972B36   MARIA        SANROMAN                 CO          90013335299
4941328555B58B   LUZMARIA     DUARTE                   NM          90013962855
494133A582B932   ANDREW J.    MAAGMA                   CA          90003513058
4941351435B52B   ANA          ESTRADA                  NM          36087645143
49414494397B62   KENIA        MERAZ                    CO          90011694943
4941519715B58B   ANGELA       BALTAZAR PATRICIO        NM          35042421971
4941536A161967   EDWIN        BELL                     CA          46039063601
49416277672B38   GUADALUPE    CORONA                   CO          33031132776
49416718372B43   LINDA        DAVIES                   CO          90011727183
4941775655B53B   DALILHA      LEE                      NM          35045487565
494177A3671947   VICTORIA     ESTRADA                  CO          90011947036
4941782415B58B   FRANCISCO    JIMENEZ                  NM          90014878241
49417885A5B58B   JEROME       ABEITA                   NM          90012378850
49419271572B4B   VANESSA      ALVARADO                 CO          90014112715
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494193A625B581   JOSHUA            RODRIGUEZ           NM          90011523062
494194A1997B62   CAROL             SARGENT             CO          90014694019
49419528A91583   ISABEL            PEREZ               TX          90013425280
494195A852B27B   TRACY             HARRISON            DC          90012585085
4941B251971999   CRYSTAL           LOPEZ CASTILLO      CO          90011632519
4941B418997B62   GERMAN            JIMENEZ PEREZ       CO          90003994189
4941B519872B54   JACKSON           DANA                CO          33034115198
4941B92948B16B   DALE              BURDICK             UT          31053969294
4942136755B174   BECKY             BULLARD             AR          90011293675
494214A5691583   ANA               TAVAREZ             TX          90011114056
49421981472B4B   EVIE              VIGIL               CO          33069209814
4942315887B463   KRISTI            BURNETTE            NC          90006081588
49423555A91873   SHERON            BROWN               OK          90014735550
49424142672B4B   ADRIANA           CABALLERO           CO          33091301426
4942445445597B   ERINEO            ZAMBRANO            CA          90008904544
494253A5672B36   JASON             FIELD               CO          90008943056
49425879797B62   ALIDA             LOPEZ ZACARIAS      CO          90001048797
4942621515B58B   BERNADETTE        ARMIJO              NM          90011972151
4942632625597B   ROSALINDA         MENDOZA             CA          49092993262
494281A5572B4B   DINO              IANNUCCI            CO          90013881055
4942893362B27B   MERCEDES          PEARSON             DC          90001959336
4942946A497B62   CHRIS             MORRISON            CO          39015364604
4942958275B53B   WILLIAM           WINSTIN             NM          90003975827
4942969425B395   JORGE             PARRA               OR          90000126942
4942B263871947   PEDRO             RODRIGUES           CO          90015292638
4942B528A91583   ISABEL            PEREZ               TX          90013425280
4942B547591873   JEREMY            BALLARD             OK          90014735475
494324A9691583   JOSEFA            RODRIGUEZ           TX          90015114096
494326A8171946   CHRISTEL          FERGUSON            CO          90008656081
49432855472B54   GILBERTO          RODRIGUEZ           CO          90011228554
49433267A72B36   SHERRI            LANDRUM             CO          33032842670
49433559A91873   TONYA             HOUSTON             OK          90014735590
4943455A272B54   NATTIE            PEREA               CO          33092115502
494348A865597B   DARREL            BAKER               CA          90014318086
49435215272B36   ELIZABETH         QUINONES            CO          90010902152
494354A1971947   MONIKA            SONNENBERG          CO          90014044019
494354A6441261   AMY               WALKER              PA          90007884064
4943562695B58B   ALEJANDRO         CASTRO-RIOS         NM          90007476269
49435741A4B271   JEREMY            FRITCHER            IA          90008517410
4943592342B27B   ASHLEY            DAVIS               DC          90012239234
4943596353143B   ZACH              CHRISTOPHER         MO          90010459635
4943599292B935   JEAN              GRAVES              CA          90014549929
49435A52997B62   RALPH             RUTLEDGE            CO          39079360529
49436791A91959   ESTELLA           VASQUEZ             NC          17064767910
49436A61697B62   JACOB             WALL                CO          90013200616
494384AA38B16B   TAMMY             FERNADEZ            UT          31004504003
49439743972B54   RENEE             ALARCON             CO          33034677439
49439A82A2B27B   BENNIE            ROBINSON            VA          90001100820
4943B514671999   SAMARA            SAMORA              CO          38000165146
4943B622591569   ABEL              IBARRA              TX          90012906225
4943B64692B27B   KIYON             ROBLES              DC          90014746469
4943BA8875B53B   VIVIANA           TENA                NM          90012210887
49442A4A697B62   JOSE              PASILLAS            CO          90008020406
49444A7798B165   JOAQUIN           HERNANDEZ           UT          31091700779
49445A9AA5B58B   JOSE              CARRERAS            NM          35086580900
4944621855B174   AMY               POE                 AR          90012612185
49446A82233443   MARYANN           FLOWERS             AL          90014270822
4944794A391394   JOSE              GALDAMEZ            KS          90006409403
49448295872B43   ESMERALDA         HERNANDEZ           CO          90003482958
4944897415B52B   EDGAR             MENDOZA             NM          36060649741
49448A3695597B   ANKNEY            GERALD              CA          90007280369
494491A6171999   MARRISSA          VALDEZ              CO          90012781061
4944936A32B27B   GLORIA            CARTER              DC          81079403603
49449784272B54   JULINETTE         NUNEZ               CO          33080617842
49449878572B38   VICTOR            GONZALEZ            CO          33097128785
4944997585B58B   JESSICA           ACOSTA              NM          35052089758
49449A1A361963   GABRIELA ROBLES   ROMANO              CA          90014710103
4944B18115597B   ANDREA            JOHNSON             CA          49018181811
4944B438371947   SHANE             HENDERSON           CO          90013294383
4944B511371946   AUDREY            ARIAS               CO          90014785113
4945123498B166   MARITSA           CISNEROS            UT          31081892349
4945133675B53B   ELAINE            YEARY               NM          35084253367
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49451352197B62   JAIME       MARTINEZ                  CO          90006723521
49452919A72B54   VERONICA    RIVAS                     CO          33080719190
4945354515B174   ASHLEY      MURILLO                   AR          90011295451
49453A29271947   MARION      WADE                      CO          32021190292
4945526215B174   PAYGO       IVR ACTIVATION            AR          90012762621
4945614445B58B   MANUEL      ARMIJO                    NM          90013901444
4945729235B58B   YVONNE      ESCALERA                  NM          35041882923
4945751185B53B   AGUSTIN     ZAMORA-LOPEZ              NM          35096225118
4945793515B395   IMELDA      GOMEZ                     OR          44545869351
4945795A371946   ANTHONY     MCILWRATH                 CO          32086549503
4945828345B174   LEON        MOORE                     AR          90001992834
4945857992B27B   MARTINO     GARCIA                    DC          90013905799
494589A1A97B62   COURTNEY    WILLMOTT                  CO          39017519010
49458A29485944   KIMBERLY    DALTON                    KY          90008230294
4945B594971947   ADELICIA    KARAFFA                   CO          32086195949
4945B5A1291873   MARISOL     VASQUEZ                   OK          90012975012
4945B741672B4B   CHRISTINA   FABRIZIO                  CO          90010707416
4945BA9A25B597   KIMBERLY    VIALPANDO                 NM          35001310902
4946272415B581   ALEXANDRA   LUCERO                    NM          90014427241
4946272715B53B   MARTHA      QUEZADA-GONZALEZ          NM          35078617271
4946333189152B   ANA         GONZALEZ                  TX          90013143318
4946348355B141   QUEEN       ROBINSON                  AR          23074024835
4946458365B174   GLADYS      TORRES                    AR          90006495836
4946481A492825   LUIS        HERNANDEZ                 AZ          90014098104
49464892897B62   LUIS        FLORES-NAVA               CO          90012218928
49464981A71999   MELINDA     BANUELOS                  CO          38086239810
49465144A71946   LAVERN      SPRINGFIELD               CO          90014791440
49465271272B54   LUIS        CASTRO-ENRIQUEZ           CO          90004852712
49465291372B43   MYRA        ESCOBAR                   CO          90011812913
4946585665597B   JOSE        TOVAR                     CA          90004978566
4946735975B174   BARBARA     PRICE                     AR          23083723597
4946829A991549   GARICA      JOSE                      TX          90011902909
494683A1372B23   JOSHUA      PEARSON                   CO          90006733013
4946864895B523   KIMBERLY    SANCHEZ                   NM          35084016489
4946889A35B375   ASHLEE      CASTILLO                  OR          90004098903
4946959165B58B   JERRY       MARQUEZ                   NM          90012255916
4946B7A262B872   WILLIAM     THAMES                    ID          90013967026
4946B82392B27B   LATISHA     ARLINGTON                 VA          90014748239
494713A5872B36   ANGELO      RODRIGUEZ                 CO          90013743058
49471555897B62   STEPHANIE   BUSTAMANTE                CO          39015225558
49472A2815593B   CINTHIA     CRUZ                      CA          90008030281
49472A71261963   SERDAH      HASSAN                    CA          90013960712
49474249A5B58B   DARLENE     ROYBAL                    NM          90007242490
4947473933B327   RACHEL      HUNT                      CO          90002987393
4947537252B27B   ADAM        DANIEL                    DC          90012583725
49476314597B62   NADYA       SUSTACHE                  CO          90014843145
49477295872B43   WALTER      ROSAS                     CO          90011812958
49477439497B62   ROSA        MARTINEZ                  CO          39074484394
4947791875B58B   TERESA      BAER-DAVIS                NM          90012409187
4947797445B58B   LORUHAMA    MACIAS                    NM          35070229744
4947839A172B36   LOUIE       PIZARRO                   CO          90014823901
4947B36888B885   JUBILEE     ALCONCEL-TOBOSA           HI          90014773688
4947B59472B27B   SILVANO     MIGUEL VILLAREAL          DC          90010135947
4947B731172B54   GEORGINA    HERRERA                   CO          33092067311
4947B946172B4B   WILLIAM     BANKENSTEIN               CO          90012679461
494813A215B55B   CHRISTINE   PEREA                     NM          90012293021
494814A5872B4B   LUCERO      RODRIGUEZ                 CO          33090104058
49481529772B43   GRACIELA    ROJAS                     CO          33031835297
49481823172B36   JOHN        GARRETT                   CO          90013268231
49481A7594B271   ERIC        JONES                     NE          90012250759
4948288225B58B   LAVERN      MAESTAS                   NM          35006908822
494835A3191873   ALLEN       WEST                      OK          90015305031
49483A13391569   GARCIA      RENE                      TX          90003740133
49483A98A91959   ADELAIDO    ENCARNASION               NC          90012660980
49484384A5B174   GINA        ATKINS                    AR          90013403840
4948443A75B523   LEROY       NAJAR                     NM          35047534307
49484A41261963   MELISSA     CASTLEMAN                 CA          90010180412
4948529935B53B   CYNTHIA     QUINONES                  NM          90013982993
4948561548B165   THOMAS      BANKHEAD                  UT          31052806154
4948578395B174   ANALYN      LOFTON                    AR          90011297839
4948627A971946   SUSAN       DIGGS                     CO          90011802709
49486581597B62   IVAN        GUERRERO                  CO          90015125815
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49486A8465597B   KALVIN          CHA                   CA          90013520846
4948782812B27B   CHALEA          JONES                 DC          90003498281
4948892285B58B   ALBERTA         OLGUIN                NM          90009819228
49489A41A5B53B   MARC            TRUJILLO              NM          90013930410
49489AAA791569   CHELSEA         HICKS                 TX          90013570007
4948B927A91569   KENNY           WILSON                TX          75081029270
4948BA1896198B   JACK            NEWMAN                CA          90012390189
4948BA2145B58B   JESSICA         DAVIS                 NM          90014890214
4949151658433B   WILLIAM         GOETHE                SC          90005725165
49492243197B62   RANDAL          WIANT                 CO          90013732431
49493764797B62   NATHAN          KEMPER                CO          90006147647
4949528955B58B   MAGEN           CHAVEZ                NM          35082712895
4949576472B87B   SHARON          BEAMER                ID          90014917647
49495958A5597B   ANGELICA        LEON                  CA          49083449580
494961A8761967   DARRETT         WHITFIELD             CA          90013381087
49496811972B4B   SHERRILL        JOJOLA                CO          90012158119
49496A61951334   GERMAN          VELASQUEZ             OH          66077270619
49497238872B54   ASHLEY          GUIDICE               CO          33015322388
4949788962B27B   RINA            AREVALO               DC          90014898896
49498771372B38   FRANK           CORDOVA               CO          33041397713
49499117997B62   YADIRA          ARELLANO              CO          90015221179
4949981245B395   BRANDON         VERNON                OR          44530538124
4949B188461963   SANDRA          WESTON                CA          90013051884
4949B742972B38   VADAVOI         NIKOLAI               CO          33045387429
4949B893291959   JAMES WILLIAM   JOHNSON               NC          90010618932
4949B971991873   VIRGINA         BRANDONBURG           OK          21035569719
494B1354372B36   MARK            LOPEZ                 CO          90015153543
494B1552A72B43   MARIA           ESTRADA               CO          90002945520
494B1672771947   JOSE            DOMINGUEZ             CO          32065676727
494B2362471999   JEFFREY         JOHNSON               CO          38091003624
494B28A9536189   MARIA           AVILA                 TX          73539628095
494B3361161963   JOSHUA          COLEMAN               CA          90005343611
494B339A791959   RODAIN          NSHIMBA               NC          90006173907
494B33A1561547   MEOSCH          GAYDEN                TN          90015013015
494B3A44A5B395   KERRY           CENTER                OR          90006310440
494B4288661945   PABLO           OLIVA                 CA          90004652886
494B4344771946   LAVERNE         ARCHULETA             CO          90011553447
494B4375797B62   FERNANDO        HERRERA               CO          39073183757
494B4663871947   ISRAEL          CEBALLES              CO          32004786638
494B4747391873   REBECCA         CALL                  OK          21005747473
494B4842491569   ALFREDO         LANDEROS              TX          75030238424
494B5249371947   BROOKE          SAILOR                CO          90011232493
494B5357391873   KYERRA          ANDERSON              OK          90011533573
494B73AA241222   JOHN            SHAFFER               PA          51035473002
494B76AA25B523   TONY            ROLDEDO               NM          35075396002
494B7817771999   JANICE          TRUJILLO              CO          90013048177
494B7827572B38   ROSAMARIA       BARRAZA               CO          33069028275
494B827A15B56B   NAKETTA         WILEY                 NM          35003942701
494B878515B395   ERICA           NEUBAUER              OR          90013377851
494B9196985964   RANDY           COX                   KY          90011071969
494B9629561967   SAVOEUN         POV                   CA          90011526295
494B9692272B36   RAMONA          GARCIA                CO          90012916922
494B9732572B4B   GABRIELA        BARRIO                CO          90013027325
494B991235B53B   LOLA            ELIBARRI              NM          35027279123
494B9A22A2B27B   CHRISSY         STEPHENSON            DC          90008860220
494BB94216198B   MARIA           VILLANUEVA            CA          90011769421
4951114165B395   RAFAELA         CONTRERAS             OR          44564971416
49511628597B32   TAMEKA          GONZALES              CO          90012606285
49512183233B88   ALMA            CUMMINGS              OH          90011111832
495122A9571946   JEFFERY         WARE                  CO          90014792095
495126A9691583   LUZ             CARDONA               TX          90012936096
4951356789152B   IMELDA          FRANCO                TX          75052555678
4951359276148B   CONSTANCE       BISHOP                OH          90014315927
4951416344B271   SYLVIA          SAMUEL                NE          27089531634
4951416A53168B   CHELSEA         ANUKAM                KS          90002081605
49514262897B62   SANDRA          MANRIQUEZ             CO          90014192628
4951523335B58B   SAUL            DAMIAN                NM          90009902333
495159AA772B38   JOSE            QUIROZ                CO          90000569007
49515A79171947   CARRIELL        WILLIAMS              CO          32083390791
495164A5A5B53B   RODOLFO         ARMENTA               NM          90014764050
49516A5627122B   TEANNA          GOODMAN               IA          90014790562
4951833765597B   GERARDO         CHAVEZ                CA          90000383376
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49518438A61963   TENESHA       LOVE                    CA          46056694380
4951846A35B53B   CHEYENNE      FACHAN                  NM          90008344603
4951849915B395   CARLOS        ALVAREZ                 OR          90014644991
495185A5557B61   JOHN          THIEL                   PA          90009915055
49518682172B4B   JOSEPH        CORSENTINO              CO          33009066821
49519894A5B53B   CARL          PADILLA                 NM          35056468940
4951997265B53B   DOMINIC       PADILLA                 NM          90013769726
4951B293191394   MARISOL       ALEJO                   KS          90014732931
4952128883B352   WILLIAM       JACKSON                 CO          33008882888
4952139855B53B   EDDIEG        GUTIERREZ               NM          35012793985
4952168594B271   GREG          DIAZ                    NE          90011986859
49523134A5133B   RON           WATKINS                 KY          90013041340
4952326622B87B   ADELAIDA      HODGE                   ID          90008762662
4952386975B395   STEVEN        NUNN                    OR          90013058697
4952394427B463   GABRIEL       MORA                    NC          90002839442
4952454312B27B   PETROS        ASGEDOM                 VA          81021915431
49525285A91873   SAMUEL        HESS                    OK          90010312850
49525395472B24   ANDREW        MUCCIANTE               CO          90009513954
49525482472B4B   SIMON         ROMERO                  CO          90013704824
4952652622B27B   TANISHA       HILL                    DC          90014765262
49526831A91583   EFRAIN        UGARTE                  TX          90014588310
49526871972B36   LEA           MIGUEL                  CO          90010788719
49526A78461547   PAYGO         IVR ACTIVATION          TN          90015020784
4952831A671947   JAMES         WIEGMAN                 CO          90003853106
4952859615B174   COURTNEY      BOOTH                   AR          90012565961
4952885A697B62   NICHOLAS      GARCIA                  CO          39021488506
4952931A391959   QUETIN        RIVERS                  NC          90002153103
49529615872B36   NELSON        ALMONTE                 CO          90012986158
4952965A258528   JOSE LUIS     VASQUEZ                 NY          90015606502
4952991655B174   KELLY         WALKER                  AR          23012099165
4952B462371946   NIBIGIRA      MELANIE                 CO          90011804623
4952B526571946   DEBBIE        JANKOWSKI               CO          90014795265
4952B625681669   GUIRELENE     DELACRUZ                MO          90006636256
4952B885191569   TOMAS         NEVAREZ                 TX          75056138851
4953111357B394   TEFERA        BEZABEH                 VA          81013281135
49532357A61967   JOSE          GOMEZ                   CA          90015163570
4953278A35B58B   RAUL          MARTINEZ                NM          90014627803
49532A39771946   MICHAEL       GIBSON                  CO          32042590397
4953324164B271   JIM           MORINE                  NE          90004552416
4953339A171947   MYKA          ALLEY                   CO          32048563901
49533541A57123   MAURO         PEREZ                   VA          90013795410
4953367245B174   NATALIE       STEVENSON               AR          23018106724
49534421A91328   JAMES         DODDS                   KS          29002694210
4953456A471949   AMANDA        HERNANDEZ               CO          90006425604
4953499A163674   MONICA        MCGRATH                 MO          90013059901
49534A29771999   TRACY         MARTIN                  CO          38091520297
4953545623B339   MOSES         DAMULIRA                CO          33077654562
4953656365597B   JANNETTA      LANE                    CA          90011735636
49536895A5B174   ANTHONY       LOGAN                   AR          23089128950
49536A11897B62   VIGIL         ANTONIO R               CO          90012030118
4953786412B27B   DONNELL       SMITH                   DC          90008108641
4953796A193741   SHANNEN       MILLER                  OH          90010549601
49539859A91569   MIGUEL        RUIZ                    TX          90012438590
4953B11357B394   TEFERA        BEZABEH                 VA          81013281135
4953B221272B38   MIGUEL        AGUILAR TORRES          CO          33073102212
4953B543272B4B   CHRIS         CHAMBERLAIN             CO          90005505432
4953B642372B54   DAVID         LYNCH                   CO          90005016423
4953B83865597B   ANA           SILVA                   CA          90012108386
4953B8A182B92B   ANTHONY       KARLEGAN                CA          90007848018
4953B948997B62   CHRISTOPHER   BRUSKI                  CO          90008379489
49541261A2B27B   JOHNSON       AKINS                   DC          90014772610
4954153475B53B   MARISELA      MUNOZ                   NM          90005315347
495416A5472B54   RYAN          MARTIN                  CO          90014716054
49541748372B36   JOSHUA        MARTINEZ                CO          90007017483
495424A9A5B53B   MIRIAM        CASTILLO                NM          90005044090
495431A675B174   KEWANNA       WILLINGHAM              AR          90014871067
4954369335B58B   CLAUDIA       DOMINGUEZ               NM          35091836933
49543A13461967   LOURDES       MACIAS                  CA          46023020134
49544232472B36   SERGIO        SANCHEZ                 CO          33072322324
4954473425B395   CHRISTOPHER   NKOSA                   OR          90013297342
4954478632B87B   CARRIE        CURTIS                  ID          90014237863
49544A49471947   SCOTT R       HILTWINE                CO          90015190494
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4954529A491873   VIRGINIA    LONGORIA                  OK          90014742904
49545414997B62   CYNTHIA     MONIZ                     CO          90012334149
49546377972B4B   LINDA       CARRASCO-JIMENEZ          CO          33026923779
49546A2135B37B   RHONDA      ELSASSER                  OR          44519940213
4954738A42B27B   DESHAWN     DICKENS                   DC          81021933804
49548539A61967   PAOLA       RUIZ RAMIREZ              CA          90004195390
4954862122B27B   TONYA       WHITE                     DC          90014086212
49549433897B62   RACHEL      ORTIZ                     CO          90008424338
4954BA27671947   GILBERTO    RAMIREZ ACEVEDO           CO          32090950276
495513A3891583   FELIX       CONTRERAS                 TX          75063943038
4955285A141222   SAMANTHA    SCHMITT                   PA          51049868501
49552A1A85B53B   KATHY       BLANCO                    NM          90015200108
495533A826192B   MICHAEL     CORREIA                   CA          90005213082
4955345815597B   BRENDA      MARTINEZ                  CA          90010894581
495534AA691394   KATHLEEN    SORRELL                   KS          90012364006
49553798272B4B   EUGENE      MARTINEZ                  CO          90012387982
49554141172B36   MARIA       VELA                      CO          33019201411
49554AA1871999   LEVI        MONTOYA                   CO          90014110018
4955525A991394   DIANA       ROSALES                   KS          29053052509
49555495772B4B   DELILAH     RAMIREZ                   CO          90013234957
4955556A772B4B   WILLIAM     RAMIREZ                   CO          33007635607
4955571635597B   MARIA       MC COOK                   CA          90012057163
4955659A35B53B   JANICE      ESQUIBEL                  NM          90014995903
49556A7A961963   MARTHA      RAMIREZ                   CA          90011460709
49557269772B4B   TONA        BANKS                     CO          33009152697
49557357A61967   JOSE        GOMEZ                     CA          90015163570
4955739A171946   TREVOR      CARLISLE                  CO          90014793901
4955744365B174   FRANK       DOBBINS                   AR          90004184436
4955764395597B   AIOTEST1    DONOTTOUCH                CA          90015116439
4955775A95B53B   VICKIE      MOLINAR                   NM          90009977509
4955868A42B27B   ANTHONY     HARRIS                    DC          90013276804
49558A92A91922   ROBIN       GODOY                     NC          90013110920
49559444372B4B   JAVAE       HARDY                     CO          90012174443
4955955285B52B   HONZELL     LESLEY                    NM          36029115528
4955B336A91873   JAMY        MCILVANE                  OK          90014743360
4955B471691569   MARIA       ORTIZ                     TX          90010944716
4956116252B87B   JENNIFER    SCHOEN                    ID          90012761625
4956139545B58B   GIOVANNI    BARRIENTOS-OSORIO         NM          35031063954
4956144465B53B   SONYA       MONTOYA                   NM          35076744446
49561699197B62   HIGINIA     ARMENDARIZ                CO          90003506991
49561914472B38   SHARON      JOHNSON                   CO          33039969144
49562362172B54   JOSE        CASTRELLON                CO          33092163621
4956265A791873   SANDRA      HARDY                     OK          90012336507
4956352269373B   JULIE       BLAINE                    OH          64580095226
49563543A91959   BALTAZA     PANIAGUA                  NC          90014675430
4956422158B59B   IGNACIO     FIGUEROA                  CA          90014882215
4956423515B52B   MIRANDA     ADAMS                     NM          36041342351
4956512129152B   MELISSA     GRILLO                    TX          90010001212
49565261A2B27B   JOHNSON     AKINS                     DC          90014772610
49565A22633443   TAWANNA     BEDGOOD                   AL          90014860226
4956621A491527   MIROSLAVA   PAZ                       TX          90008642104
49566555A4B271   LONNY       KING                      IA          27088855550
49567A53A86478   TRACEY      MILLER                    SC          90015390530
4956835875B53B   ANALILA     PEREZ                     NM          90013593587
49568A16972B54   ASHLEY      HERNANDEZ                 CO          90012120169
4956986935B53B   ALBA        OLGA                      NM          90014958693
4956B27A761963   ITZEL       DE JESUS                  CA          90014932707
4956BA54371947   AJA         THOMAS                    CO          32086640543
495714A5271946   ROBERT      RAMSEY                    CO          90003234052
4957251652B27B   CARLOS      CASTILLO                  DC          90003635165
495734A193B356   SOFIA       PEDRAZA                   CO          33008304019
49573919497B62   MARIA       VALDEZ                    CO          90006899194
4957399AA71947   CRISSY      FLANAGAN                  CO          32002079900
49574A3AA71947   SHANNA      DIXON                     CO          90009470300
49575816172B4B   PAULA       COLEMAN                   CO          33051528161
49575816A72B36   PAULINE     BRADLEY                   CO          33045908160
495765A2771999   RUTHANN     TEEM                      CO          90008785027
4957738843B326   LUCY        PACHECO                   CO          90010373884
4957739A171999   RONALD      BUSTOS                    CO          38061883901
49577747372B4B   JOHNNY      AIKENS                    CO          90010927473
495782A4A61924   IAN         FELLEY                    CA          90011612040
495784A847193B   CAROLINE    URIAS                     CO          32028604084
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4957852885597B   LORENA      SALAS                     CA          90011075288
49578A78691583   SALOME      DAVALOS                   TX          90003600786
49579382A72B36   NEIL        BENSON                    CO          33016533820
495793A5651335   BRIAN       ALCORN                    OH          90008833056
495836AA691873   TRACY       TURNER                    OK          90014746006
49583783A2B27B   MELISSA     SWINSON                   DC          90014237830
495837A3872B4B   IVON        MIRAMONTES                CO          90005727038
49584552A72B54   DANIEL      CAMMACK                   CO          33083115520
49584A59971947   TONIE       HAYES                     CO          32017310599
49584AA8A8B167   RYAN        WORKMAN                   UT          90008640080
4958568125B174   GERALD      GOODRUM                   AR          90011926812
4958596275B395   ARMANDO     MARTINEZ CANCHOLA         OR          90010989627
4958634115B55B   LAURA       FLORES                    NM          35041253411
49586476257B97   JAKE        FRY                       PA          90014574762
4958727A261963   GUADALUPE   GAMINO CASTRO             CA          90013182702
4958728772B87B   DEBBIE      PAYNE                     ID          41052162877
4958781858B163   DESTINEE    BAKER                     UT          90014658185
49587AA2A5B174   CAROLYN     BENNETT                   AR          23077030020
49588479897B62   ANNA        GONZALES                  CO          90011004798
49588A54871933   MOLLY       MUNIZ                     CO          90009930548
4958924485B174   DANA        SMALLWOOD                 AR          90013642448
4958965A99189B   CRISTINA    GUFFEY                    OK          21079486509
4958B11394B221   SHARI       MORRIS                    NE          90010011139
4958B82899376B   PAULA       CORE                      OH          90007378289
4959163742B27B   MAX         OKOROJI                   DC          90014086374
4959228632B27B   SHIFFEN     BROWN                     DC          90006162863
49592352A41222   MARY        AUGUSTINE                 PA          51016063520
49592A47A4B551   ANNIE       MITCHELL                  OK          90001450470
4959378154B231   HEATHER     SCHLUCKEBIER              NE          90010717815
4959399425B53B   PAYTON      CASTRO                    NM          90015269942
49593999872B43   ELVIA       SAUCEDO                   CO          33046589998
4959483168B16B   CLINT       RASBAND                   UT          90001658316
495952A6871947   LAURA       ERIVES                    CO          32045342068
4959532312B27B   KAHIL       DANIEL                    DC          90014773231
49595351997B62   CARLOS      ESCARCEGA                 CO          90014813519
4959758355B58B   JOANNA      GALLEGO                   NM          90011015835
4959764654B271   ALBA        GOMEZ                     NE          90006926465
49597A8525B297   PAUL        CORYLE                    KY          90007530852
49598242172B36   MORAIMA     GONZALES                  CO          90010942421
4959832265B58B   SADIE       RICHARDS                  NM          90006963226
4959928A872B4B   RICARDO     TABULLO                   CO          90012882808
4959962635597B   JOCK        LITTLE                    CA          90014836263
49599881697B62   CHRIS       KAPITY                    CO          39095518816
4959B985197B62   JOSE LUIS   ROGRIGUEZ CASTILLO        CO          39044599851
495B1272852B25   CHARLENE    WILBUR                    AZ          90015162728
495B13A7672B36   SHYNELL     WILLIAMS                  CO          90013743076
495B1484772B28   DELON       RADEBAUGH                 CO          90007534847
495B152A15B58B   VERONICA    CASTILLO                  NM          35086385201
495B1993397B62   CHUCK       TRIONFERA                 CO          90010259933
495B1A83266186   LINDA       GUTIERREZ                 CA          90014450832
495B249582B27B   JOHN        JEFFERY                   DC          90014764958
495B2A81A5597B   YAHYA       MAKLANI                   CA          90012410810
495B3297472B4B   ANNETTE     ORTIZ                     CO          90001612974
495B364992B83B   DAMIELLE    BARNTTE                   ID          90015426499
495B365A271946   DARRYL      THOMPSON                  CO          90012306502
495B3A41791547   JOSE        CEBALLOS                  TX          75094360417
495B4327771947   ZACH        WEBSTER                   CO          90010213277
495B449115B53B   PINO        VANESSA                   NM          90010054911
495B461A491959   CANDICE     JEFFREYS                  NC          90013536104
495B4667161988   BETTY       BROWN                     CA          90012416671
495B4824191569   CINTIA      MEZA                      TX          90010988241
495B631975597B   ROSALIO     TORRES                    CA          90014113197
495B646845B174   JADA        AITCHISON                 AR          90014264684
495B7461891959   HELEN       SCHRELBER                 NC          90014664618
495B7489272B4B   ADAM        JOHNS                     CO          90014274892
495B76A9761963   ROSE        RODGRIUEZ                 CA          90012176097
495B823315597B   AIOTEST1    DONOTTOUCH                CA          90015122331
495B8366271999   MONICA      SALCIDO                   CO          90010413662
495B863482B27B   ALVINA      EASTON                    DC          81049466348
495B8A61A5B53B   MICHEAL     CHAVES                    NM          90003790610
495B9161272B28   MILLY       BYANDAALA                 CO          33046421612
495B9187391959   MARY ANN    DESPRES                   NC          90002881873
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495B992575B395   JOHN         CONNALLY                 OR          90001659257
495BB391271946   TANESHA      DOTTSON                  CO          90011803912
495BB489891959   DISHEKA      HAILEY                   NC          90011384898
4961216435B58B   SANTANA      TORRES                   NM          90007931643
4961317735B395   SAN ANDRES   INTERIAN                 OR          44596001773
4961348A391873   MEGAN        WEEMS                    OK          90014744803
4961389A271999   NOAH         ESPINOZA                 CO          90009868902
496165A699189B   CHANNELLE    GARRETT                  OK          90012395069
4961686155B395   RANDE        SMITH                    OR          90009108615
4961715565B53B   KAREN        LUCERO                   NM          35074761556
4961737415B395   CARLOS       MIS AVILA                OR          44506323741
49617377A72B36   TAMMIE       MOSS                     CO          90010013770
49618176172B4B   GLORIA       MORALES                  CO          33008501761
4961848A391873   MEGAN        WEEMS                    OK          90014744803
49619A67491583   FRANK        TONCHE                   TX          90014560674
4961B3A4191394   CORY         CAMPBELL                 KS          90007353041
4961B411571947   YAIMARAR     LIMA                     CO          32098314115
4962174A25B391   NURAINI      MOHAMED                  OR          90001187402
4962256815B58B   TONY         BUI                      NM          90004255681
49623656297B62   RICHARD      BAIRD                    CO          90013096562
49624622372B36   MOHAMMED     ARBAB                    CO          90012896223
4962482695B174   KRISTY       WHITEHEAD                AR          90013158269
49625249A72B36   CAROL        JOJOLA                   CO          33080332490
49625581A5B395   BILL         WERREMEYER               OR          44573645810
49627564372B54   JESSE        MEDINA                   CO          90008765643
49627A99291523   CAROLINA     ROBLES                   TX          75045220992
4962849318B165   BROCK        SHANNON                  UT          31053994931
4962886A561963   JOHN         BURNETT                  CA          90005388605
4962B446661967   ALICIA       HERNANDEZ                CA          90006104466
4962B976471946   NIKAIA       GUERRA                   CO          90010539764
4962BA51791523   MARTHA       ALVIDREZ                 TX          75063570517
49633A8855B395   JORDAN       DEES                     OR          90014880885
49634316672B36   AMADA        ULLOA                    CO          90013413166
49634566397B62   LINDA        CHAVEZ                   CO          90006725663
49635555A71999   FLOR         SALAZAR VALTIERRA        CO          90011645550
4963576344B271   SHAWN        DELOA                    NE          27048017634
49635933872B36   RYAN         AMES                     CO          90007839338
49636513133B88   DIA          ASHKINS                  OH          90011135131
49636981797B62   DESTINY      SANBORN                  CO          90014759817
49637274397B62   JOSE         HERRERA                  CO          90014842743
496373AA991583   LORENA       HERNANDEZ                TX          90013033009
49637A2124B271   REED         CHRISTOPHER              NE          27023820212
4963851145B174   MONIQUE      JACKSON                  AR          90014565114
49638681872B4B   DANA         BROWN                    CO          33030286818
496394A5171946   MICHAEL      RAMIREZ                  CO          32079704051
4963B162771946   ANTONIO      HERNANDEZ                CO          90015231627
4963B1A835B58B   EMILIO       HERNANDEZ                NM          90013451083
4963B31A991873   CHRISTINA    BOTTOMS                  OK          90013663109
4963B898391583   DAVID        FLORES                   TX          90014588983
4963B9A1297B62   MIRANDA      MCCLARA                  CO          90011979012
4963BA64471946   NICHOLAS     ELLIOTT                  CO          90013130644
4964199357B398   PAUL         RENIKER                  VA          81094739935
49642369A72B36   JEANNA       JIMENEZ                  CO          90000343690
496423A4171946   MARIO        HERRERA                  CO          32024163041
4964264395597B   AIOTEST1     DONOTTOUCH               CA          90015116439
4964271678B16B   MONTE        DICKERSON                UT          31018417167
49643113A91583   FRANSISCO    ALONSO                   TX          75048601130
496432AA85B523   JOSEPHINE    SALGUERO-GONZALES        NM          35008042008
49644227272B54   ASHLEY       NIELSEN                  CO          90013502272
496453A778B165   JESUS        SANCHEZ                  UT          90010373077
4964542745597B   JOE          ORTEGA                   CA          90004564274
4964544865B395   DONNIE       GILBERT                  OR          90014204486
4964626885B53B   WILLIAM      HABICK                   NM          90013962688
49646325772B54   BRENDA       LOPEZ                    CO          33050803257
496463A745B174   MARTINEZ     NIETO                    AR          23073783074
4964658295B395   SHARI        AMADO                    OR          90011975829
49646751297B62   ALEXSANDRA   SELLERS                  CO          90014227512
496467A4761963   XOCHITL      BLAKE                    CA          90000987047
49648284A71999   BEATRIZ      GONZALEZ                 CO          38072392840
49648819597B62   JOEL         RAMIRES                  CO          39082918195
4964983445B523   SILVIA       FLORES                   NM          35053118344
49649A26771999   JOHN         DEHERRERA                CO          38057380267
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4964B471491583   KARLA       BALLESTEROS               TX          90014604714
4965164455597B   AIOTEST1    DONOTTOUCH                CA          90015116445
496517AA32B27B   KRISTEN     PELZER-THOMAS             DC          90013777003
4965216675B53B   ANITA       BLYTHE                    NM          90013891667
49652198197B62   SAMANTHA    YBARRA                    CO          90011721981
4965266A571999   JOEAL       MONTOYA                   CO          38005186605
496526AAA5597B   PEDRO       OCHOA                     CA          90011876000
49652A64A72B36   JOSE        PALACIO                   CO          33075300640
496549A5371946   MICHELE     SPIELMAN                  CO          32086229053
4965555455B58B   SANDRA      VAZQUEZ                   NM          90013715545
4965723295B395   KATY        CLIPSTON                  OR          90013172329
49657A79841222   JOHN        LEWIS                     PA          90015040798
4965879A371946   MARVISLEE   ABENES                    CO          32012267903
49658A13A97B62   DAVID       PROUTY                    CO          90014150130
4965B32A471999   JUSTINE     BRIDEAU                   CO          38054893204
4965B389A84338   WILLIAM D   MURRAY                    SC          90010083890
4965B441597B62   WILLIAM     PHILLIPS                  CO          39059734415
4965B685861967   ANA         ROJO                      CA          46034836858
4965B6A255B395   DESIREE     JONES                     OR          90009626025
4965B84464B271   ACHOL       BOL                       NE          90004578446
4965B87A172B36   ANITA       MOSLEY                    CO          33042758701
4965B978391583   SANDRA      QUIROZ                    TX          90011099783
4965BA9955B174   DONNA       GILLIAM                   AR          23069650995
49661334A5B58B   BRENDA      YANEZ                     NM          90013923340
4966172715B58B   NADINA      ROSS                      NM          90013967271
49661919972B4B   KIMBERLY    GARCIA                    CO          90000179199
4966212295B395   AMANDA      RYAN                      OR          90012631229
4966297815B58B   VINCENT     MONTOYA                   NM          35019079781
4966382742B229   TYMESIA     FITZ                      DC          90007448274
496652A3691873   CRYSTAL     CELESTINE                 OK          21018472036
4966564455597B   AIOTEST1    DONOTTOUCH                CA          90015116445
4966593915B53B   JUAN        LARQUIER HEREDIA          NM          90011859391
4966633715B53B   JAVIER      CORDOVA                   NM          35035283371
4966633748B885   TRUDY       PALIK                     HI          90015483374
49668449972B36   LARONNA     BRIGHT                    CO          90011194499
49668A26171946   CRISTO      CANETT                    CO          90015110261
49669712A72B4B   TIFFANY     HARDY                     CO          90015097120
4966977365B53B   LEE         ALICE                     NM          90013267736
4966991295B395   JESSICA     DHONE                     OR          44588879129
4966B49785B395   TYLER       JONES                     OR          90004134978
4966B573697B62   RENAE       VELASQUEZ                 CO          90010995736
4966B645472B4B   FRANSISCO   MIRANDA                   CO          90013036454
4966BA7A441222   ANTWAAN     ASHBY                     PA          90001660704
49671A16A91523   MONICA      PINON                     TX          75063260160
4967257A571999   RENEE       ROMERO                    CO          90014455705
4967394515597B   CARMEN      LUPE RAMIREZ              CA          49011759451
4967416725597B   SAMANTHA    BRADY                     CA          90007751672
4967488295B58B   DEBRA       JARAMILLO                 NM          90000678829
4967518375B58B   DAVID       LUNA                      NM          90007621837
49675A51741222   JASMINE     BOWYER                    PA          90014360517
49676A46691569   HORACIO     DELGADO JR                TX          90002840466
4967755A55B126   DEANNA      WATSON                    AR          90005075505
4967759315B395   J-SALUD     GARCIA                    OR          44513965931
496776A2541222   JOYCE       DETTLINGER                PA          51085556025
49677816372B36   JODALE      GARCIA                    CO          33006378163
4967856495B395   BRIAN       NEWMAN                    OR          44579585649
4967856A591959   TERESA      BELL                      NC          90013475605
4967965162B27B   CHARLIE     BRYANT                    DC          90014086516
4967973525B395   NAH         SINVIENG                  OR          90013877352
4967B147471947   SERENITY    MARQUES                   CO          90009541474
4967B58195597B   JOCELYN     DIXON                     CA          90005255819
4967B582891873   JASMINE     SMITH                     OK          90014745828
4967B598A72B38   NICOLE      BEHRENS                   CO          33071595980
4968122985B53B   JESUS       COLMENERO-TRILLO          NM          90013242298
4968192285B58B   CRYSTAL     MARQUEZ                   NM          35006089228
49682838672B36   CARRILLO    JESSICA                   CO          90000868386
49682AA365597B   SANTIAGO    GASCA                     CA          90012420036
4968317565B174   JOSE        HERNANDES                 AR          23002071756
49683A57891972   HENRY       ESCOBAR                   NC          90003760578
4968432465597B   JOSE        NUNEZ                     CA          90014993246
49684428572B36   HECTOR      MILLAN                    CO          33018234285
4968525575B53B   ROBERTO     DE LA CRUZ                NM          35071882557
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4968555A55B126   DEANNA      WATSON                    AR          90005075505
4968568A85B58B   MICHAEL     REYNOLDS                  NM          90013196808
4968588873364B   ALISHA      BRAME                     NC          90015238887
4968611A391873   JESUS       DEL RIO                   OK          21062231103
49686465797B62   JOSE        MUNOZ                     CO          39043494657
4968724A85B174   IRENE       FLICK                     AR          90015162408
49687A13571947   HUMBERTO    GALLEGOS                  CO          90015390135
4968845875597B   LAURA       MURILLO                   CA          90014704587
496889A6891959   MARTHA      ORTIZ                     NC          90008019068
49689147972B4B   BETH        BRUMER                    CO          90014781479
4968B123291873   LOU CINDY   TARGETT                   OK          90001531232
4968B1A835B395   SA          DA                        OR          90012771083
4968B444897B62   JUAN        ESCOBEDO                  CO          90010334448
4968B612691583   LAURA       AMAYA                     TX          90015076126
4968B85695597B   JAVIER      RODRIGUEZ                 CA          90010758569
4968B99A24B271   MINDY       WIESE                     NE          90011249902
4969145975597B   TOM         MERSMAN                   CA          90014104597
4969145A55B174   KISSICK     LOWERY                    AR          90014484505
49692179472B36   VICTOR      GARCIA                    CO          90006381794
49693513872B54   REBECCA     RODRIGUEZ                 CO          90008115138
49693883A72B36   PATRICK     LOVAS                     CO          90008738830
49696177872B4B   LISA        MONTOYA                   CO          33085351778
49696447772B54   JULIE       BLISS                     CO          33088594477
4969654342B27B   ALICIA      DAVIS                     DC          81013325434
49696A92931437   DONNA       DREW                      MO          27561810929
4969717785B58B   ESTHER      TOLEDO                    NM          35036641778
4969743A872B4B   NICK        PANZARELLA                CO          90006324308
4969764A791873   AMRA        MOBEEN                    OK          90014746407
49697871797B62   VIVIANA     LOPEZ                     CO          90012218717
49697911572B54   BRIANA      NOREEN                    CO          90007389115
49697A9758B163   VICTOR      DELUCIO                   UT          90002280975
4969836A471999   DENISE      SOLA                      CO          90009193604
4969856695B395   KATRINA D   SCHWENK                   OR          90010865669
4969863A197B62   DENEA       FARMER                    CO          39052836301
49699AA9A77355   HORTENCIA   MANUEL                     IL         20526550090
4969B59A871946   MARIA       RODRIQUEZ                 CO          90011465908
496B1251472B38   NOE         SOTO-PEREZ                CO          33094232514
496B2338791583   ALEJANDRO   WOOTTEN                   TX          90011383387
496B2425161967   JENNIFER    LUEDTKE                   CA          46063604251
496B269945B523   STEVEN      KNORR                     NM          90001076994
496B3526571946   DEBBIE      JANKOWSKI                 CO          90014795265
496B3684391872   TODDS       SCHELL                    OK          90012786843
496B3911472B4B   ZEENA       L CANDELARIA              CO          90010089114
496B3924451361   MICHELLE    LAWRENCE                  OH          90012939244
496B411485B53B   ISMAEL      TERAN                     NM          90004271148
496B4853991569   KARINA      HERRERA                   TX          90015058539
496B4939A91583   JANETTE     GRAJEDA                   TX          90012909390
496B531592B27B   JEAN        JOHNSON                   DC          90004643159
496B5433A71946   JENNIFER    JEFFCOTT                  CO          90015074330
496B6658A91569   EMMA        ARAMBULA                  TX          75080636580
496B693275B174   CONNIE      HARRIS                    AR          23037569327
496B754A571946   LANEECE     MCCOY                     CO          90014795405
496B77A374B271   FLOR        LOPEZ                     NE          90004547037
496B7843571999   DANIEL      BISHOP                    CO          38039838435
496B7A42A5B58B   CLARA       SERRANO                   NM          90009090420
496B7A9A171947   ALICIA      LOPEZ                     CO          32073650901
496B812192B27B   ROBERTO     PARADES                   VA          90008991219
496B874A724B46   KENNETH     BROWN                     DC          90001337407
496B8A1125B53B   CODY        MORGAN                    NM          90015060112
496B8A4415597B   JAVIER      FRAUSTO                   CA          90009460441
496B9159172B4B   CAROL       CRAIG                     CO          33057741591
496B9473A91873   TANIA       RENDON                    OK          90014744730
496BB34499155B   OSWALDO     CAMPOS                    TX          90007653449
4971289AA71999   KAREN       FRESQUEZ                  CO          90008938900
49712A47561963   DWIGHT      WILSON                    CA          90014950475
49713159297B62   MALISA      ARMIJO                    CO          90012511592
4971357945B174   ARLENE      WILLIAMS                  AR          23084425794
49713671572B54   BRENDA      MEDINA-ROGEL              CO          33014406715
49713898797B62   SARA        BRYANT                    CO          90011008987
4971389A35B375   ASHLEE      CASTILLO                  OR          90004098903
49713935A5B53B   OFELIA      HERNANDEZ                 NM          35057039350
4971394195B58B   AMY         HERNANDEZ                 NM          90012829419
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4971457728B165   MANOLA          GONZALEZ              UT          31027685772
4971463575B395   JASON           WALTERS               OR          90014656357
49714764572B54   SHEENA          CONER                 CO          90011637645
4971557728B165   MANOLA          GONZALEZ              UT          31027685772
4971588165B58B   SUSAN           GRIEGO                NM          35012328816
49715A6844B546   GEORGE          HEMPHILL              OK          21585450684
49715A74A5B53B   MARIA           ALVARADO              NM          35079000740
49716235472B4B   WILLIAM         SNODGRASS             CO          90010702354
4971672A231458   YVONNE          PERKINS               MO          90007967202
49716881397B62   DIANA           SOLIS                 CO          90012688813
49717312572B43   RUANO           NOEMY                 CO          90011813125
4971763A571946   LESLIE          SHEPHARD              CO          32053536305
4971791865597B   MELISSA         RUIZ                  CA          90005799186
49718454A5B581   MARISSA         NUDI                  NM          90005164540
4971847672B27B   MARIO           BLACKETTE             VA          90012844767
49719AA8372B4B   GABRIELA        RIQUELME              CO          90000850083
4971B537572B54   BRAD GERSTNER   GERSTNER              CO          90004105375
4971B692291873   MARTHA          EZZAZAHA              OK          90014746922
49721335A5597B   CAITLAN         PRUM                  CA          90014693350
49722172197B62   JASON           ROGGE                 CO          39048311721
4972233245B395   MICHELLE        BUCK                  OR          44590333324
497227AA372B43   GERARDO         REYES                 CO          33076567003
4972354135B395   ARCADIO         PENA REYES            OR          44515025413
49723685A72B43   TAUNASHEA       WILLIAMS              CO          90006426850
4972368A391569   VERONICA        VARGAS                TX          75018136803
497256A4371946   SANTOS          LARA                  CO          90014806043
4972589992B27B   CLINTON         NORMAN                DC          90007158999
49725A72271999   TERESA          OCHOA-REESE           CO          90010040722
4972617675597B   YESSICA         RODRIGUEZ             CA          90013831767
4972649A272B54   BRANDON         MCKEE                 CO          33067494902
49727853A5597B   ANGELINA        CHAPPARO              CA          90010158530
497285A9872B4B   DEONICIA        WAGNER                CO          33093545098
497286A4371946   SANTOS          LARA                  CO          90014806043
4972898555597B   JESUS           RIOS                  CA          90015259855
4972964455597B   AIOTEST1        DONOTTOUCH            CA          90015116445
4972B677472B54   SARAH           CARRILLO              CO          90005016774
4972B681391873   ANGELA          TORESS                OK          90014536813
4972B785736189   JENNIFER        GUTHRIE               TX          90000707857
497314A3172B54   MITCHELL        ENGLISH               CO          33012864031
4973169635B52B   LAURA           SANCHEZ               NM          36073016963
4973179A17B394   LUIS            BERMUDEZ              VA          90007817901
49731938572B43   GUSTAVO         VALENZUELA            CO          33080149385
49732349397B62   KRISTIN         MOSHER                CO          90004623493
497328A4361967   ANGELICA        RODRIGUEZ             CA          90004468043
4973351675597B   JOHN            ALATORRE              CA          49000905167
4973356A561933   AMANI           KADHIM                CA          90007635605
497342A2291569   NAYELI          NAJERA                TX          90003422022
4973453A12B87B   CHRISTINE       LADKE                 ID          41010525301
49735852797B62   CRISTINA        IZQUIERDO             CO          90012858527
4973639885B58B   OSCAR           ALBA ORTIZ            NM          90009333988
4973665162B27B   CHARLIE         BRYANT                DC          90014086516
49736924272B36   JORGE           CHAVEZ                CO          90014619242
49736A87691959   MIGUEL          DUTRA                 NC          90013730876
497376A7391569   MARTHA          RAMIREZ               NM          90013966073
49737875972B38   PRECIOUS        GAMA                  CO          90004468759
4973839385B174   JAMES           WADE                  AR          90014273938
497392A9261967   ARTURO          SILVA                 CA          90006252092
497395A775B58B   EMILY           FUENTES               NM          90014515077
4973B41532B27B   JAMAL           JEFFERSON             DC          90012734153
4974139252B27B   NATHANIEL       CEBBOLD               VA          90010143925
49741517672B36   ROSA NELY       MARQUEZ               CO          90013985176
4974157745B58B   LETICIA         RUIZ                  NM          90014635774
49742361A77366   CAROLYN         HALL                   IL         20595053610
49742A32533625   HARRIET         DUNN-ALSTON           NC          90013310325
49743286A2B87B   MELISSA         POTTS                 ID          41083912860
4974359A35B53B   JANICE          ESQUIBEL              NM          90014995903
4974382635B55B   PRISCILLA       LOPEZ                 NM          35016448263
49744118A5B395   GLORIA          MEJIA LOPEZ           OR          90012541180
4974416775B395   DESTINY         ORTIZ                 OR          90012521677
4974479995B53B   DISNEY          QUESADA               NM          90000977999
497449A4351348   SCOTT           SCHENKEL              OH          66097959043
49744A41291583   SALVADOR        RODRIGUEZ             TX          90002960412
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49746167A31497   WENDY        EHRIM                    MO          90002911670
4974746892B27B   PRESTON      HOLLAND                  DC          90011094689
4974951232B27B   WILLIAM      ALONZO                   DC          90014775123
4974B221572B85   JOSH         BILLINGSLEA              CO          90011802215
4974B61558B165   JAYCIE       SAVILLE                  UT          31019616155
497511A7361963   CASSANDRA    CHAVEZ                   CA          46034811073
49751713A72B4B   KYLE         MILLER                   CO          90015097130
4975278352B885   MINH         TRAN                     ID          90004697835
4975314385B58B   DESIRE       BARRETT                  NM          90014231438
4975342695B523   ETHAN        BECVARIK                 NM          35016904269
4975356172B27B   ROBERT       PETERSON                 DC          81068055617
4975378352B885   MINH         TRAN                     ID          90004697835
49753A14671947   SCOTT A      GASTER                   CO          32033890146
4975486815B53B   WENDY        MIRAMONTENS              NM          90007398681
49755654476B22   MARIA        BOEHMLER                 CA          46018006544
497562A755B333   NICHOLAS     SUMMERHAYS               OR          44501092075
4975652125B58B   BRIANA       CHAVEZ                   NM          90012095212
49757465472B43   VERNELLE     COLUMBUS                 CO          33082394654
4975767238B156   ALEXANDREA   CARTER                   UT          90012206723
4975826415B788   RUBEN        ALLENDE-CRISANTO         MN          90015082641
49758A2465B55B   JOHN         LOWMAN                   NM          35083040246
497599A6161967   BRANDI       CURRIN                   CA          46095369061
4975B1A7172B36   PRISCILLA    LOVATO                   CO          33051621071
4975B223191583   ROSALVA      RODIRQUEZ                TX          90013422231
4975B74875B53B   JEANNE       REED                     NM          90010067487
49761135A2B885   AUTUMN       REEVES                   ID          90004621350
49761A34791569   MICHAEL      OGAS                     TX          75086650347
49761A5315B58B   LUCAS        NELSON                   NM          90013740531
49762353A61986   CARLOS       ESPINOSA                 CA          90008093530
497625A9271999   PATRICIA     HICKS                    CO          90004505092
4976277725597B   SABINO       MARQUEZ                  CA          49075987772
4976322968B16B   BRANDI       WOLFERTZ                 UT          90015082296
49764531172B4B   ORAS         MARTINEZ                 CO          33009655311
49764638797B62   HELEN        ESPINOZA                 CO          90012166387
497647A325B395   DREW         STOKES                   OR          90011537032
49764A14171947   FERNANDO     RESENDAZ                 CO          90013800141
4976525A691881   ESMERALDA    ROJO-ANDAZOLA            OK          90012892506
4976574725597B   ARTHUR       BECERRA                  CA          90014887472
497657A512B27B   RAQUEL       SORIANO                  DC          90006127051
4976612272B87B   RONALD       NESS                     ID          41093081227
49767188197B62   DALE         REEVES                   CO          39006591881
49767A38972B4B   MICHAEL      DAVIS                    CO          33086120389
49768136772B4B   CINDY        SORIA                    CO          90002371367
497681A5571947   ERYKE        MILLER                   CO          90002181055
4976839445B53B   CHRIS        ORTIZ                    NM          90008023944
4976977742B27B   FRANCISCO    SANCHEZ                  DC          90013757774
4976B334271947   SI           HUNTER                   CO          90008843342
4976B4A565B395   DEBORAH      SPARKS                   OR          90013694056
4977168242B27B   JOHANNA      CHAMBERLAIN              DC          90014806824
49771721497B62   ARTURO       RAMIREZ                  CO          39078467214
49771921172B54   JAMES        EVANS                    CO          90011229211
49773A33A71947   TRACEE       NEILL                    CO          90003670330
49773A91771999   DOMINIC      CRESPIN                  CO          90009300917
49774A97897B62   MICHELLE     DOLLMAN                  CO          39091530978
497766A1241222   SANDRA       STONE                    PA          51066496012
49776718A71946   SABINE       ELLIOTT                  CO          90004147180
49777333797B62   VANESSA      HOLGUIN                  CO          90002403337
4977755715B174   MARY         KING                     AR          90010075571
49777AA4A7B398   GLENIA       VASQUEZ                  VA          90007490040
4977823155B58B   MARIA        BOBADILLA CAMACHO        NM          90007972315
4977848335597B   JONATHAN     NAJERA                   CA          90010864833
49779971997B62   JORDAN       SLAVER                   CO          90013029719
4977B43665597B   JUAN         GONZALEZ                 CA          90012614366
4977B666291569   ROSA         LAGUNA                   TX          90014126662
4977B66A72B27B   WILSON       CLINTON                  DC          90014086607
4977B768372B43   TINA         KILBOURN                 CO          90001407683
4977B896861986   ADRIANA      MACIEL                   CA          90008828968
4978171195B395   ROBERT       MEDLEY                   OR          44506327119
4978171A591959   KATHI        JENNETTE                 NC          17039147105
49781957672B36   MARIA        GONZALEZ                 CO          33028189576
497819A7771946   YOLANDA      GUTIERREZ                CO          32004369077
497819AA572B54   LILIA        HERRERA MICHACA          CO          33051299005
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49782454372B36   MARIA           CHAVEZ                CO          33046304543
49782474A91583   ALEJANDRIN      GOMEZ                 TX          75038864740
497824A3141222   THOMAS          LONG                  PA          51086364031
49782619697B62   EUSBARDO        PONCE-CASTILLO        CO          90014416196
497833A558B165   AGUSTIN         QUINTERO              UT          31057233055
497835A9A61967   SHEILA          PINEDA                CA          90013815090
4978496385B53B   JONATHAN        ARANDA                NM          90009959638
49786385572B36   CHRISTOPHER     LEE                   CO          90013783855
4978646745597B   ANDREA          CAMARENA              CA          90013024674
49786543A97B62   JASHELL         ANDERSON              CO          90013495430
4978663872B27B   BETTY           VINES                 DC          90013546387
49787A5295B395   HOLLY           PAULUS                OR          90014920529
497889A5291972   MOSES           BETHEA JR             NC          17082759052
49789463672B36   SEBASTIAN       NUNEZ                 CO          90008374636
4978954835B53B   TANESHA         MORGAN                NM          90012445483
4978958585B372   MICHAEL         STONE                 OR          44572735858
49789A24791523   GLORIA          ANCHONDO              TX          75063290247
4978B176291959   SHERITA         EATON                 NC          90013151762
4978B271772B36   KELLY           PATTERSON             CO          33053402717
4978B2A3A71947   VICTOR          SARAVIA               CO          90013462030
4978B394971999   MARTIN          FRAIS                 CO          38070673949
4978B397461963   TIFANI          MOUA                  CA          90012083974
4978B675991569   NICOLE          HERNANDEZ             TX          90013546759
4978B937291959   DENISE          PALM                  NC          90012159372
49791424372B36   EDGAR           GARMANY               CO          90009064243
49791595297B62   RAMONA          LOPEZ                 CO          90000975952
497921A5761967   EDMUNDO         MOUET                 CA          90008531057
49792658172B36   HERIBERTO       MARTINEZ QUIROZ       CO          90013336581
4979272935597B   VANESSA         MADRIGAL              CA          90013717293
4979368A85B58B   MICHAEL         REYNOLDS              NM          90013196808
49793A21691873   MELISSA         ESTES                 OK          90008170216
49793AA3272B36   ABELARDO        LOPEZ                 CO          33007110032
4979696A671946   CALLIE          GLOVER                CO          90014819606
4979769215597B   DEAQUANETT      PACKARD               CA          49054016921
497978AA372B36   DESTINEE        DELARA-THOMPSON       CO          90009138003
497983A1271947   BRADELY         KING                  CO          90014603012
4979865278B165   EMILY           PAXTON                UT          31022946527
4979876A271999   RODRIGUEZ       JENNIFER              CO          90006027602
49799426497B62   REUBIN          PACHECO               CO          39039144264
4979998893B326   MEG             DUNLOP                CO          33090029889
497B1623547828   LAFAYETTE       CAREY                 GA          90013856235
497B257533B351   JEFFRY R        WILD                  CO          90006355753
497B263A797B62   BRANDON         HANNIG                CO          90014366307
497B2957761963   MARK            EED                   CA          90011769577
497B2981191583   SALVADOR        CALDERON              TX          75029899811
497B3264191569   ANGIE           MARTINEZ              TX          75008402641
497B3673991873   SHANERICA       THOMPSON              OK          90014746739
497B376A891959   DIAMOND         MOORE                 NC          90013597608
497B4459161953   ALICIA          FASSET                CA          90013024591
497B553962B27B   GREGORY         SMITH                 DC          90007615396
497B566645B55B   REBECA          GALLEGOS              NM          35069226664
497B5A32397B62   JENNIFER        ALVARADO              CO          39045730323
497B6148272B36   VONICE          LITTLE                CO          90013751482
497B6214691873   ABEL            TRINIDAD              OK          90007232146
497B6644491569   CASAS           JUAN                  TX          75064206444
497B68AA75B523   WILLIAMS        SHARAY                NM          35048048007
497B6963291583   JESSICA         LOZANO                TX          90010369632
497B7138A91873   KAREN           HERRERA               OK          90013651380
497B749A272B54   BRANDON         MCKEE                 CO          33067494902
497B7812471946   LEE             WOMACKS               CO          90011818124
497B7958971946   GLENN           PETERSON              CO          90003789589
497B8438591583   ANA             SALAS                 TX          90011114385
497B851868B165   FELICIA         VELARDE-GARCIA        UT          31039995186
497B9242891394   ELOISE          SANDERS               KS          90000942428
497B933A897B62   GLENDA          BRUCE                 CO          90014843308
497B9537572B54   BRAD GERSTNER   GERSTNER              CO          90004105375
497BB118A5B58B   MARIA           QUINTANA              NM          90013451180
497BB213591583   ESTEBAN         SESCON                TX          75060662135
497BB53815B53B   ALEXANDRIA      MARTINEZ              NM          90012955381
497BB71393B343   CASHMAN         JODI                  CO          33036997139
49811764A2B26B   TIAUNA          HARRIS                VA          90008267640
498118A225B523   LOREDA          CHAVARRIA             NM          35080208022
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4981217155B959   DONNA         TOLBERT                 WA          90015451715
4981238495B53B   ANGELA        LUCERO                  NM          35028883849
4981254595B52B   JUAN          GUILLEN ALVARENGA       NM          90002435459
4981299A571946   STEPHEN       PETERS                  CO          90014819905
498141AA161963   CECILIA       MORA                    CA          46010821001
4981428382B27B   IRMA          GERGONIA                DC          90008802838
4981429A372B54   CHAD          RICE                    CO          33049642903
49814366272B4B   DAIDRE        VIALPANDO               CO          90014773662
4981493788B165   ANATANAEL     VAZQUEZ                 UT          31023659378
49814956572B36   REBECCA       ESTRADA                 CO          90015119565
49814A3315597B   PETER G       DEIS                    NV          49006650331
4981523A45B395   BRYAN         BRINSFIELD              OR          90014522304
49815313597B62   SUNISA        MARCY                   CO          39013063135
4981611292B27B   LISA S        BOYCE                   DC          90014881129
4981623345B58B   YVONNE        GRINNELL                NM          90013822334
49816338A71947   FLOR          CHAVEZ                  CO          90014943380
4981732237325B   THOMAS        BALTAZAR                NJ          90014563223
4981761A72B29B   SHANARORA     BROWN                   DC          90009826107
49817AA8691959   PRECIOUS      LARETHA                 NC          90011190086
498181A718B156   CORINNE       TURNER                  UT          31081461071
49819156A5B395   OSMAN         CASTENEDA               OR          90007741560
49819195A71947   NELSON        COON                    CO          90001121950
4981B661671999   JEREMY        LAINTZ                  CO          90009196616
4981B82739196B   AMARYLLIAS    DIXON                   NC          90000678273
4981B99A75B174   ROSALYN       AUSTIN                  AR          90011579907
4982134148B59B   JOE           SHORT                   CA          90014803414
49821753A5B395   ARACELI       SANCHEZ-TORRES          OR          90014937530
49821AA7861963   BRIAN         DOLOSA                  CA          46032220078
49822274A2B27B   CHRISTOPHER   BREW                    DC          90011892740
4982281136198B   LAURA         PEREZ                   CA          90004628113
4982299478B165   DOUG          ELLISON                 UT          31021709947
49823153997B62   JENNIFER      GONZALEZ                CO          90008871539
4982352365B555   ARMANDO       OLAGUE                  NM          90009595236
498238A635B523   ESTRELLA      LUNA                    NM          35070998063
49823AA5171946   HUBERTO       NNUNEZ-PENA             CO          90014820051
4982423AA91524   MALIKAH       WILLIAMS                TX          90004642300
4982456455B174   EDWARD        AUSTIN                  AR          90014515645
49824A16891394   MIA           WILLIAMS                KS          90011190168
49825542197B62   JAUREN        COVARRIUBIAS            CO          90003825421
498255A155B55B   CARRILLO      ERICA                   NM          90008365015
498262A2371999   TINA          MOLINA                  CO          90007962023
4982638925B523   RACHEL        CORTEZ                  NM          90005653892
4982651375B174   SINGLETON     TONDALEIA               AR          23048465137
49826575397B62   SHAMBREYA     JOHNSON                 CO          90012815753
49827597997B62   DANIEL        ALUMBAUGH               CO          90014175979
49827A5A471946   CHET          KELLER                  CO          90014820504
49828172197B62   JASON         ROGGE                   CO          39048311721
498282AA95B395   TONYA         WAY                     OR          44523052009
498284A3881692   MAURICE       HAYES                   MO          90008704038
49828649A91873   JACOB         MORRIS                  OK          90009676490
49829286972B43   JOAN          GRIFFITH                CO          33000032869
49829332253B31   FAUSTINO      CATALAN                 CA          90014673322
49829984497B62   ALMA          LOPEZ                   CO          90012699844
4982B196A61547   DEBORAH       REYNOLDS                TN          90015041960
4982B839271947   ABELARDO      YBANEZ                  CO          90010618392
4982B892172B36   LETICIA       ARRIAGA                 CO          33052108921
4983167238B156   ALEXANDREA    CARTER                  UT          90012206723
49832338772B4B   DANIEL        COCHRAN                 CO          33049213387
498323A7291873   ARMANDO       CORRER                  OK          90013673072
49832A9AA5B523   JOSE          CARRERAS                NM          35086580900
4983353A45B174   VANISHA       FULLER                  AR          90014275304
49834656372B43   RUBEN         FIERRO                  CO          33024606563
49834986472B36   TONY          MARTINEZ                CO          90014899864
49834A71972B54   KELLEY        HATT                    CO          90011230719
49835928A5B55B   CAITLYN       SCHENTRUP               NM          35013219280
49836788272B43   KATAZHA       MCCORMICK               CO          90005927882
4983687862B956   JOHN          GARCIA                  CA          90007748786
4983836575597B   MARCELO       MARMOLEJO               CA          90012863657
49838755197B62   MARY ANN      RAMOS                   CO          90013047551
498392A7191959   PAULINA       AYALA                   NC          90012652071
4983953756192B   JOHN          ZITO                    CA          90012445375
4983B128397B62   SHAWNEE       LOUSBERG                CO          90013451283
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4983B342891569   MARINA      MARQUEZ                   TX          75043603428
4983B745171947   TANYA       ARTHUR                    CO          32084737451
4983B9A2971946   MARIA       CERA                      CO          90012779029
4984173A85B53B   GABRIEL     CHAVEZ                    NM          90008447308
498423A4591569   ORA         COLMAN                    TX          90014843045
49845A1435B52B   ADRIANA     VELAZQUEZ DE LIRA         NM          36038130143
49845A32A91569   JOSE LUIS   ROCHA                     TX          90013960320
4984654245B53B   JONATHON    FREEMAN                   NM          90007755424
49846615697B62   BETH        GRAY                      CO          39043446156
49846A2A991583   JORGE       ORTEGA                    TX          90014590209
49847316A91873   AMANDA      MELTON                    OK          90014773160
4984774342B87B   JEREMY      MEEKS                     ID          90010147434
49848264972B36   ABEL        FLORENTINO                CO          33097492649
4984882848B165   JOSEPHINE   CANDELARIO                UT          31002678284
49849A2A991583   JORGE       ORTEGA                    TX          90014590209
4984B227591569   ELIDA       YEBRA                     TX          90011572275
4984B23A391873   RANDY       POTTER                    OK          21094202303
4984BA46171947   BREK        GRIPON                    CO          90012940461
4984BAA745B53B   LAWRENCE    TAFOYA                    NM          35050310074
49853711872B4B   TERRILL     REED                      CO          33060647118
4985398115B58B   FELICIA     SANTILLANES               NM          35073639811
4985428175B52B   MERIDA      ALONZO                    NM          36080682817
49854648A61967   ELIZABETH   CADENA                    CA          90010346480
4985551915B523   SION        ROMERO                    NM          35078475191
498561A155597B   PAO         LEE                       CA          49015371015
4985663487B865   GARY        TUCKER                     IL         90006386348
49856943A71947   COMELIA     RODRIGUEZ LOPEZ           CO          90013869430
4985723774B547   ROLANDO     CARRILLO                  OK          90013312377
4985813895B58B   JANNA       WILSON                    NM          35009181389
49858762A91873   DEBRA       CARMACK                   OK          90014777620
49858A22A5B395   DANETTE     RARDIN                    OR          90014890220
49859141572B43   SHANNAN     PITTSER                   CO          90009371415
4985B32A491873   MARQUET     VEASLEY                   OK          90014773204
4985B551991569   OSCAR       SILVA                     TX          75081835519
4985B72A472B36   ZANE        PETERSON                  CO          90015187204
4985B85A55B53B   MANUEL      JACKSON                   NM          35008548505
49861483872B4B   JESUS       LOPEZ                     CO          90013844838
49861A8522B27B   CHIDI       NWOSU                     DC          81012060852
49862A27291583   MICHAEL     EVERETT                   TX          90014590272
49863114172B43   DONNA       BLACK                     CO          33010641141
4986321A291873   RONNIE      ADKINS                    OK          21064682102
4986367278B59B   MIGUEL      CRUZ                      CA          90013846727
4986396643B394   MARK W      CHANECKI                  CO          90003109664
49863A62841222   LEONARD     BILSKI                    PA          90006210628
49864954172B4B   HELEN       AMRINE                    CO          33040579541
49865741272B4B   MAURA       RODRIGUEZ                 CO          90014307412
4986673A991959   JUAN        CORTES                    NC          90006687309
49866A3A891569   CECILIA     FLORES                    TX          75076680308
49867113172B38   PORTIUS     BROSE                     CO          33002741131
4986813A861458   KIMBERLY    THIMMES-ELDRIDGE          OH          90014081308
49868168797B21   TIMOTHY     DALTON                    CO          39013441687
49868823A5B53B   RENA        CROWTHER                  NM          90012668230
4986898985B395   BRENT       DE WHITT                  OR          90012909898
49868A3855B58B   SHELBY      LEE                       NM          90012560385
4986B33A15597B   SAMUEL      SANCHEZ                   CA          90010503301
4986B45945B55B   GOMEZ       MARIPOSA                  NM          90008364594
4986B61295B53B   CARLA       CORDOVA                   NM          35031576129
49871478A97B62   YURIKO      VEGA                      CO          39057354780
4987182795B174   MICHEAL     HENDERSON                 AR          23013228279
49871934272B54   MELISSA     HALL                      CO          90011229342
4987233848B863   VICTOR      PUNUA                     HI          90012893384
4987396A25B395   AARON       SELHORST                  OR          90009209602
4987443A15B52B   SABINO      GOMEZ                     NM          36006054301
49874A17571999   DAVID       KRUEGER                   CO          38059380175
4987531A65B395   LABELLA     RYAN                      OR          44508293106
49876498472B36   DOLORES     LUERAS                    CO          90011654984
49876724372B43   SOPHIA      RAMOS                     CO          90002947243
49876A82871947   STEVE       BROWN                     CO          90011450828
49877934272B54   MELISSA     HALL                      CO          90011229342
49878261872B4B   UBERTINO    MARTINEZ                  CO          33092752618
49878A51A91597   ANGEL       SOTO                      TX          90010920510
49878AA8471946   CALVIN      DENZMORE                  CO          32017530084
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49879198A91873   KESHA         BOYD                    OK          90015151980
4987963372B27B   CHARMEKA      CARMICHAEL              DC          90011096337
4987B336166186   SIRENA        SALAZAR                 CA          90013463361
4987B3A5872B36   ANGELO        RODRIGUEZ               CO          90013743058
4987B694193724   ANGEL         ANTHONY                 OH          90001036941
4987B81895B53B   RICHARD       HERNANDEZ               NM          90014178189
4987B939691569   YOLANDA       LUGO                    TX          90011029396
49882718A91569   BRENDA        IBARRA                  TX          90014097180
49882A45772B43   MARTHA        CASTRO                  CO          33042250457
49883888972B4B   VALERIE       ZARETKI                 CO          90010808889
4988389292B27B   BRENTON       WOODSON                 NC          90004498929
4988414A671999   LESLIE        DALLAS                  CO          90015131406
4988418788B165   KANDI         GOFF                    UT          31075181878
4988473283B356   ANTONIO       VALDEZ                  CO          90012737328
4988498A536189   MORETTA       WILLIAMS                TX          73555589805
4988549299152B   VIRGINIA      SOLTERO                 TX          90012484929
49885777372B4B   MICHELLE      GONZALES                CO          90014557773
49885848897B62   LUPE          GUTIERREZ               CO          90014058488
4988611845B58B   JOHN          LUCERO                  NM          90005171184
498863A3572B54   ESTRELLA      DURAN                   CO          33012533035
4988683678B546   CRYSTAL       LIVERMORE               CA          90015188367
4988778A291873   ROBERT        WHITNEY                 OK          90014777802
4988853A95B395   MANFREDO      SANTOS PALMA            OR          44515925309
4988898712B87B   SARA          PARKS                   ID          90000979871
49888A31991583   CHAVEZ        RICARDO                 TX          90014590319
49888A55A71946   DONNA         STONEROCK               CO          32039440550
4988957155B53B   KASSY         KITCHENS                NM          35019435715
49889A33591583   JUAN          MORENO                  TX          90014590335
4988B723861967   ELIAS         AISPURO                 CA          90008377238
4988BA1495B58B   STEPHANIE     PACHECO                 NM          90008200149
4989132795B58B   JESSICA       GUTIERREZ               NM          90008643279
4989154119372B   JIFF          WITHE                   OH          90014635411
49891623297B62   MARIA         MENDEZ                  CO          90009636232
4989232AA57159   SEGIDLEAB     GHEBREMICHAEL           VA          81005163200
498924A4A91394   CLAUDIA       HERNANDEZ               KS          90002804040
4989295A755924   BEVERLEY      COLVILLE                CA          90012859507
498933A2397B62   CORRIE        KNOLL                   CO          39053783023
4989355585B523   MARGARITA     MARTINEZ                NM          90005675558
49893A2A85B53B   KAREN         CLOUGHERTY              NM          35018710208
498941A975B279   SIDALG        NIEVES PELAEZ           KY          90014271097
4989437A65B279   SIDALG        WIEVE                   KY          90001093706
49894466597B62   MARIA         ESTRELLA                CO          90014934665
498945A6A72B54   YVONNE        FAVILA                  CO          90005585060
4989465A797B62   CONNIE        SMITH                   CO          39041226507
49894788A74B97   BRANDON       KYSOR                   OH          90015107880
4989485537B453   JUAN          ALVARADO                NC          90012618553
498953AA241222   JOHN          SHAFFER                 PA          51035473002
49895A5535597B   CHRISTINA     SIQUEIROS               CA          90008340553
49895A57291959   THOMAS        MCKNIGHT                NC          90012920572
498963A2397B62   CORRIE        KNOLL                   CO          39053783023
4989686A791583   MIRIAM        BUSTAMANTE              TX          75060268607
49897143A72449   DENNIS        MARTIN                  PA          90010391430
4989767355B58B   SUSANA        CARRILLO                NM          90009886735
4989776AA61967   ALFONSO       MOYA                    CA          90013937600
49897A7435B56B   LISA          GUTIERREZ               NM          90005910743
49898457372B4B   TRUJILLO      JESS ICA                CO          90007734573
4989857A891583   JOSEFINA      VARGAS                  TX          90005185708
4989873245597B   RODGER        RAMIREZ                 CA          90013717324
49898888597B62   CHRISTOPHER   ROY                     CO          90014158885
49898A5A15133B   JAMES         WILLIAMS                OH          90011390501
4989939A391873   CRYSTAL       MARTINEZ                OK          90014773903
4989941832B87B   DAVID         GIOVANELLI SR.          ID          41096734183
49899598272B43   ELIZABETH     LUEVANOS                CO          90010075982
4989B28195597B   JOSEPH        GONZALEZ                CA          90012032819
4989B569161967   DAGAN         NIETO                   CA          90014645691
498B1284361963   VICTORINO     SOMERA                  CA          46089662843
498B146875B58B   BLANCE        DOMINGUEZ               NM          35092254687
498B1598771947   DELLA         MOORE                   CO          90000955987
498B341825B174   VENUS         WILLIAMS                AR          23097044182
498B3464397B62   VICTORIA      CHRONISTER              CO          39037994643
498B3A84871999   JAIME         ORTEGA                  CO          90003900848
498B417195B55B   CORNELIA      NORTEY                  NM          90010191719
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498B485835B52B   ISRAEL       MORANTE                  NM          36052768583
498B4968761967   OBDULIA      DURAN                    CA          90010249687
498B4988591583   CHAVEZ       FERNANDO                 TX          90014589885
498B571837B49B   NYEMA        HOOVER                   NC          90012457183
498B5A98591873   SHATAWN      GARDNER                  OK          90013210985
498B617215B53B   TERRENCE     BLACKBURN                NM          90013881721
498B6795191959   VICTOR       VEGA                     NC          90000267951
498B716A891583   YESENIA      QUEZADA                  TX          90008671608
498B7421971999   ANTONIA      ZAMORA                   CO          90014754219
498B7431172B43   AHMED        ALSHAER                  CO          33089954311
498B7672571946   NORMA        CANTU                    CO          90002946725
498B8452893769   RICK         HALL                     OH          64589614528
498B8658671947   TRAVIS       ALEXANDER                CO          90003606586
498B8A6AA93769   TRISTAN      HALL                     OH          90011070600
498B9583771946   MARK         WHITTEN                  CO          90000845837
498B9684272B43   JESUS        GUILLEN                  CO          33091836842
498B9733191523   JESUS        GARCIA                   TX          75063297331
498B9A1735B55B   BARBARA      GARCIA                   NM          35032200173
498BB241161967   GABRIEL      SANCHEZ                  CA          46042182411
498BB799741222   QUAYE        JONES                    PA          51086647997
498BB868572B54   MICHELLE     WOMACK                   CO          33069858685
498BB949691959   LAJUANA      WILLIAMS                 NC          90013349496
4991116A797B62   GLEN         SUNADA                   CO          39038151607
4991183335B395   TROY         NEWMAN                   OR          44521768333
4991189168B16B   SALINA       HUNSAKER-LENZ            UT          31003008916
4991218852B27B   ASHA         SCOTT                    DC          90015181885
4991278A471947   MARTHA       RODRIGUEZ                CO          90011377804
49913812197B62   JENNIE       MEDALENO                 CO          90009488121
49915358A72B62   ANAIS        SALCIDO                  CO          90009583580
4991537515B395   HEATH        FULLER                   OR          44538683751
49915888172B4B   ASUSENA      CASTORENA                CO          90007488881
4991592A62B27B   KERI         JACKSON                  DC          90010319206
4991639A35597B   FILADELFO    VASQUEZ                  CA          49052113903
4991688115B174   ESTRADA      JEFFREY                  AR          23033728811
49916A97A5B53B   ALYSSA       DEHERRERA                NM          35073060970
499176A7171947   BOBBIE       SCHULLER                 CO          32051366071
49917956A72B36   PATRICIA     CASTILLO                 CO          90010779560
4991848439373B   CARMEN       SAUNDERS                 OH          90008894843
4991852418B16B   RIMA         GUSTAFSON                UT          31033945241
4991857734B271   JOSEPH       HUG                      NE          27016725773
49919137572B43   TERRA        HASEMAN                  CO          33044371375
49919412372B54   ARACELY      VALDEZ                   CO          33091854123
4991946595597B   SOUTSADA     PHENGDY                  CA          49093014659
4991B456A61963   SANTOS       AGUILAR                  CA          90014504560
4991B748172B98   EZEQUIEL     CRUZ                     CO          90015097481
4991B98A391959   TRISHEENA    LILES                    NC          17002879803
49921A83271999   JON          MARKERT                  CO          90000690832
49922A6A497B62   MARISOL      PUENTES                  CO          90003070604
49923558872B4B   JOSE         GUTIERREZ                CO          33013625588
49923627A61963   MARCO        MARTINEZ                 CA          90013826270
49923862A71946   JAMES        JASON                    CO          90011838620
4992594295B55B   FRANCISCA    FILETO                   NM          35035349429
49925A3A25B58B   NOE          DOMINGUEZ                NM          90013320302
49926735972B43   SHEIKHNOOR   ADAN                     CO          90002947359
4992679A95597B   ARTURO       MONTEJANO                CA          90013027909
4992721195B55B   GLORIA       ALARCON                  NM          35016152119
4992748184B271   JILLIAN      BENNEDICT                IA          90003574818
49927A58991527   MARTHA       RODRIGUEZ                TX          90008230589
4992818275B174   CZENTHIA     GRANT                    AR          90008411827
4992837315B53B   JOSHUA       GREENE                   NM          90014053731
4992851A43143B   SHARON       LEWIS                    MO          90012325104
49929715824B42   PEBBLES      MATTHEWS                 DC          90011517158
4992B156491394   NANCY        GATEWOOD                 KS          29057451564
499328A1191583   FREDDY       DIAZ                     TX          75027478011
4993516772B27B   HABTE        OKBAMICHAEL              DC          90014481677
4993556755B395   YADIRA       PACHECO                  OR          90012495675
499355AAA72B68   RUTH         TRUJILLO                 CO          90010685000
49936247372B4B   GUSTAVO      HERNANDEZ                CO          33052572473
4993663748B885   AUSTIN       DELOS SANTOS             HI          90015226374
4993673665B53B   ANTHONY      TIJERINA                 NM          90014927366
4993748439373B   CARMEN       SAUNDERS                 OH          90008894843
49937534772B36   ANTONIO      PANTOJA-CONTRERAS        CO          90003115347
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4993764565B395   DANA          DELANO                  OR          90008676456
49937655572B43   VINCE         DIANNI                  CO          90011816555
4993825AA5B388   ANGELA        ZUNIGA                  OR          90013982500
4993844932B27B   WILLIAM       BROWN                   DC          90015034493
4993B31325B52B   JORGE         LEMUS MORATAYA          NM          36004923132
499411AA771947   JOEY          MILLER                  CO          90015121007
49941A24871999   STEPHANIE     GONZALEZ                CO          90012350248
49942197A72B36   ALFREDO       PEREZ                   CO          90013941970
4994348A891394   CHRISTOPHER   RAISBECK                KS          90005324808
49944525A5B395   BRIAN         PLATT                   OR          44593985250
49944A16651321   GARY          MILLER                  OH          90014790166
49945236597B62   JOSE          HERNANDEZ               CO          90014242365
4994584A75B58B   JESUS         VEGA                    NM          90014338407
49946195A72B54   BELEN         MANRIQUEZ               CO          33096841950
4994659435B395   GAY-LYN       GAYNER                  OR          90007815943
49946A18891889   MARYELDA      RIVERA                  OK          21007200188
49947114172B43   DONNA         BLACK                   CO          33010641141
4994722385B395   JARED         LEAS                    OR          90013402238
499475A757B421   LOUKIA        MOOTSEWS                NC          90012075075
499476A1572B36   JOSE          ROCHA                   CO          90013346015
49948152497B62   SHARIANN      BENNET                  CO          90011011524
499481A8472B54   RENE          SPENCER                 CO          90003211084
4994911A471947   MARITZA       VALDEZ                  CO          90012211104
49949255272B4B   MARIA         TREJO                   CO          90010702552
4994B528191873   CURTIS        DIGGS                   OK          21057425281
4995137815597B   GYPSY         HALL                    CA          90014813781
49951517872B54   ELIZABETH     PADILLA                 CO          33001895178
49951AA815B53B   DANIEL        NAZZARETT               NM          90006920081
499526A5771946   LUKE          JUVERA                  CO          90014846057
49953874A97B62   JUAN          SENA                    CO          90013208740
4995493AA71999   JUSTIN        ESPINOZA                CO          38028099300
49954A2915B523   MARI          CRUZ SANDOVAL           NM          90009460291
49956271697B62   FRANCISCA     MONTANTES               CO          39013942716
49956659972B43   FRANK         ALVAREZ                 CO          90011816599
4995679147B276   OCTAVOUS      LITTLEJOHN              NV          90012857914
49956A1A171946   THOMAS        WARREN                  CO          90004500101
4995713613B145   SHANNON       HOLDER                  DC          90009531361
4995723835B174   DEMARCO       LIGGINS                 AR          23069482383
4995857A15B52B   ELIZABETH     ARAGON                  NM          36042655701
4995913148B16B   AMBER         ORULLIAN                UT          90011951314
4995938644B271   AMANDA        PAREE                   NE          27017743864
499598A225B58B   TABITHA       SANCHEZ                 NM          90014438022
49959976572B54   RICHARD       HERNANDEZ               CO          33015549765
4995B57A672B54   CESAR         ERNADANDEZ              CO          90000975706
4995B991372B4B   ALMA          LOPEZ                   CO          33044329913
499611A7A76B55   EVANA         ESTALA                  CA          90014191070
4996178698B16B   LANDON        MILLS                   UT          90010417869
4996228A872B54   TEAIRA        SMITH                   CO          33094232808
49962653172B43   ASSEFA        HIFERAW                 CO          33074236531
4996274158B169   TREVOR        LLOYD                   UT          90014347415
49962787897B62   DAVID         BOLIS                   CO          39095387878
4996371842B966   MARIA         ROMERO                  CA          90013397184
49963A7385597B   JESUS         SANTIAGO-MONTERO        CA          49097870738
49965A89161967   DAMEON        DUNNING                 CA          90013580891
49965A9585597B   NEYDA         RAMIREZ                 CA          90015300958
49966348972B4B   SANDRA        KALB                    CO          90001503489
499663A2897B62   JUAN          CARMONA                 CO          90013823028
49966A24872B36   ANGELICA      GONZALEZ                CO          33026460248
49966A71191873   CHRISTENE     WALDON                  OK          90012560711
4996774575B395   BECKY         AITKEN                  OR          90008027457
4996791354B271   JESUS         VILLAGOMEZ              NE          27034279135
499681A915B58B   PAUL          SANTILLANES             NM          90007541091
4996976A65B174   FRANKIE       FIDLER                  AR          90014277606
49969873A61963   JUDITH        MORA                    CA          90012128730
49969A93772B4B   CHERISH       PAINTER                 CO          90005140937
4996B24615B58B   STEVE         WENZE                   NM          35007462461
4996B779571947   GAVEN         CADE                    CO          90014197795
4996B92A427B45   TERRI         HOWARD                  KY          90013999204
4997196265B53B   GLADIS        GRANADOS                NM          90013909626
4997346294B271   JEREMY        BERRY                   NE          90011664629
4997349613368B   ILKA          COVINGTON               NC          90006504961
49973621872B38   LUIS          PEREZ                   CO          90001526218
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49973745972B43   TYLER           DANIELS               CO          33026437459
4997377432B27B   CHARLENE        PERSON                DC          81018177743
499741A1171999   CLARENCE        HUFFSTETLER III       CO          90014601011
49974511A91583   PRISCILLA       VILLALOBOS            TX          90014605110
49975A38861967   MIKHAIL         VRUGGINK              CA          90012930388
49975A77191583   JESUS           NERVA                 TX          90014590771
49976327472B54   ROSARIO         RODRIGUEZ             CO          33014413274
4997653475B58B   MARISELA        MUNOZ                 NM          90005315347
49976835197B62   MARGARITA       DIOSADO               CO          90007908351
49976A16271999   DESIREE         RAMIREZ               CO          90013000162
49976A18171999   JUSTIN          SALAZAR               CO          90008480181
4997913A691959   JESUS           GUEL                  NC          90014751306
49979171A71946   DAMON           BRIMER                CO          90011841710
4997B412391959   CHRISTAPHER     METIVER               NC          90011394123
4997B4A5791583   LETTY           GARCIA                TX          90011134057
4997B53892B27B   VENUS           PINNER                NC          90014815389
4997B627891873   DUSTIN          DUNAWAY               OK          90009286278
4998146595B58B   MONICA          GONZALES              NM          90003814659
49982125497B62   ALEJANDRO       MANZO                 CO          90015081254
49982799172B36   LELAND          MORRIS                CO          90001337991
4998287A971999   KEVIN           WALTER                CO          90014168709
49982A68461967   NICANDRO        CARMONA               CA          90008540684
49983A98197B62   ANASTASIA       BUSYGINA              CO          90013130981
4998452A891873   MONTOYA         HUNTZINGER            OK          90014775208
4998561435B58B   RAFAEL          ENRIQUEZ              NM          35066946143
4998655659152B   ALEJANDRA       MONREAL               TX          90011855565
49986874A97B62   JUAN            SENA                  CO          90013208740
49986A78691583   LORENA          MUNOZ                 TX          90014590786
49988436172B54   TRACY           SYMONS                CO          33000264361
4998925342B27B   ANTONIO         WYNN                  DC          90009002534
49989499272B4B   ALYSHA          MARTINEZ              CO          33056664992
4998B189371947   THAMARA         CASTANEDA             CO          90014481893
4998B69415B523   GUILLENTEJ      JININA                NM          35070926941
4998B741471999   JOSH            DEHERRERA             CO          38047097414
4998BA3525B58B   ORLANDO         GOZALEZ               NM          90012130352
4999113862B27B   PHILLISTIA      CARPENTER             DC          90011501386
49991269872B43   CLIFTON         WIDENER               CO          90006712698
4999174385B395   EBONY           NARVAEZ               OR          90009637438
499917A725B58B   CHRISTOPHER     LUJAN                 NM          90011017072
499917AA827B45   ERIN            BROCE                 KY          90014637008
4999186885B53B   GERMAN          RUELAS-CABRAL         NM          90006118688
4999187A971999   KEVIN           WALTER                CO          90014168709
49991A84391583   FRANCINE        MORRISON              TX          90014590843
4999257532B87B   CAMARON         WALCOTT               ID          41069445753
49992798972B4B   CHARLES         KILGORE               CO          90013377989
4999326295597B   JOSE            RAMIREZ               CA          90011782629
4999385488B16B   TRAVIS          MAY                   UT          31091868548
49993934797B62   MICHAEL         ROGERS                CO          39082739347
49994451A61967   LUCERO          PEREZ                 CA          90014904510
49994783A5B395   KEVIN           ROBERSON              OR          44509387830
4999482925B55B   THOMAS          BENSON                NM          35074018292
49994A11471999   DARLENE         TRUJILLO              CO          90013090114
499951A6472B4B   JAMIE           VALENCIA              CO          90012241064
4999552394B271   KEVIN           BROWN                 NE          27018005239
49995555A72B54   OTONIEL         ROMERO-ALARCON        CO          33083455550
49995955997B62   CHARLES         DAVIS                 CO          90010169559
499959A7271999   ROCIO           MERAZ                 CO          90014169072
4999753115B53B   CAROL           CARBAJAL              NM          35076855311
49997A71661967   CHARLES         CONYERS               CA          90012780716
49998889A8B16B   AMBER           GOETZ                 UT          31002428890
4999893655B523   ROMAN           ALVARADO              NM          90014339365
49998A7265B555   MARSHA          GARDEA                NM          90010920726
49999A18761967   JOHN            CAPERS                CA          46077870187
4999B448791959   PORSHA          LENNON                NC          90014374487
4999B928572B54   STELLA L        FLOREZ                CO          33041249285
4999B94755B395   ARELI           ABREU                 OR          90015019475
499B1257272B36   JULIE           NKOKA                 CO          33048192572
499B168475B58B   MARIBEL         MEZA                  NM          90006426847
499B16A4261967   SEBERA TERESA   GUZMAN ALONSO         CA          90012966042
499B17A1A86478   JCQELINE        WOODS                 SC          90011547010
499B1A74A72B54   RAAD AWAD AL    KHAFAJI               CO          90009410740
499B2152871999   DANIELLE        ROYBAL                CO          90014161528
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499B246969373B   JAYMEE       BALL                     OH          90010644696
499B255615B174   LATASHA      HILL                     AR          90014565561
499B2936172B4B   JAMES        WALTER SIMPSON           CO          90012259361
499B327A35B53B   KRISTINA     ACOSTA                   NM          90009032703
499B3394871947   CHRISTINA    MCCONNELL                CO          32032963948
499B3779891959   DELMI        HERNANDEZ                NC          17089297798
499B3A7545B249   LUTHER       BROWN                    KY          90005060754
499B454785B55B   LEAH         GARCIA                   NM          35006415478
499B4947271946   JOSEPH       RASEY                    CO          90006929472
499B6898161967   BOBBY        SATTERWHITE              CA          90012888981
499B699815B53B   MARIO        FIERRO                   NM          35033099981
499B699A271946   JULIE        TRENTTEEGARDIN           CO          90014839902
499B6A52657127   JOSE         ROMERO                   VA          90000600526
499B6A65471999   MARK         GARCIA                   CO          90001260654
499B7323591583   AUDIE        MARTIN                   TX          90001373235
499B745A891873   TAMATHA      WILKERSON                OK          90005624508
499B759485597B   STEVEN       DELEON                   CA          90005255948
499B763225B53B   JANET        PRIETO                   NM          90002106322
499B7678472B36   MAURICIO     DIAZ JAUREGUI            CO          90014366784
499B7795297B62   ERIC         FLORES                   CO          39068737952
499B7A84A61963   RAQUEL       SILVA                    CA          90012310840
499B816695B395   JORGE        SANCHEZ                  OR          90014861669
499B845A891873   TAMATHA      WILKERSON                OK          90005624508
499B875248B165   CONNIE       CONNIE                   UT          90004077524
499B8A3595B58B   BERTHA       MONTEZ-CHAVEZ            NM          35003130359
499B8A35A3B359   THERESA      ROGERS                   CO          90001660350
499B9467171947   THOMS        DOWNING                  CO          90011194671
499B9531271933   SYLVESTER    DAZZIO                   CO          90006195312
499B9563961963   PAUL         NICKERSON                CA          90012665639
499B989518B165   SUSAN        DEHERRERA                UT          31068408951
499BB122671946   CHRISTY      PRICE                    CO          90011001226
499BB245891569   VICTOR       HERRERA                  TX          90013042458
499BB28548B16B   JAMES        BEAUCHAINE               UT          31005852854
499BB391571947   SETH         SEUTH                    CO          90011233915
499BB81695B395   COURTNEY     PETERSEN                 OR          90000468169
499BBA94171999   ROBERT       TAFOYA                   CO          38050590941
49B11158697957   JULIE        GONZALES                 TX          90013601586
49B1129445597B   AGAPE        CORPORATION              CA          49040322944
49B113A6A63652   KRISTOPHER   KELLEY                   MO          90001883060
49B1173695B174   SHEILA       CROSS                    AR          90014697369
49B1211A472B23   MELANIE      RENEE LIMKE              CO          33085401104
49B12211671947   DESIRE       SPLITTER                 CO          90011142116
49B12387561963   EMMETT       ALLEN                    CA          46036013875
49B12887572B4B   JERRY        RAMSEY JR                CO          90010318875
49B1328715B53B   DOMINICA     HERRING                  NM          90013672871
49B13567971947   YESICA       PRIETO                   CO          90013785679
49B1391525B174   DANYA        UTLEY                    AR          90009359152
49B13945A61967   ASHLEY       HABET                    CA          90005279450
49B14A78172B54   SILVIA       GARCIA                   CO          33039570781
49B15219472B54   SHAWN        GNAGY                    CO          90001422194
49B15637671999   ANTONIO      TREADWAY                 CO          90010396376
49B156A9836189   CAROL        SALAZAR                  TX          73594786098
49B1653A591569   CLAUDIA      BOCANEGRA                TX          75094405305
49B16789A72B36   CHELESTE     DIXSON                   CO          33086937890
49B1715485B58B   RUTH         MEDINA                   NM          90011011548
49B17252171947   SHERRI       ARAGON                   CO          90004752521
49B17789172B54   RICARDO      BRITO                    CO          33023787891
49B1813137B463   LAURA        RODRIGUEZ                NC          90009011313
49B1844715B222   MELISSA      DAVIS                    KY          68045854471
49B18958391873   BARBARA      TORRES                   OK          90014719583
49B18962891583   ADAN         MONTANEZ                 TX          90014409628
49B19377A57135   FRANCES      HOYT                     VA          90013573770
49B1B64845B58B   OCTAVIO      ZAZUETA                  NM          90013306484
49B1BA93191873   PAM          SHAFFER                  OK          90010510931
49B21177872B36   MARC         SANCHEZ                  CO          90015081778
49B21814351334   JOHN         GALLARDO                 OH          66004398143
49B21943991873   JEFFREY      FITZGERALD               OK          90007059439
49B21A4795597B   ADRIAN       SELLARS                  CA          90014360479
49B22314361963   FERNANDO     RODRIGUEZ                CA          46029683143
49B2242455B523   FIERRO       MARCELLA                 NM          90003404245
49B231AA391583   PATRICIA     MONTELONGO               NM          75006681003
49B23469272B4B   SHAUN        WHITE                    CO          90005174692
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49B23487A71999   MARRY        MEDINA                   CO          90013944870
49B23974A61953   JEFF C       WEIGHTMAN                CA          90000489740
49B24262991583   MARIBEL      URDAIBAY                 NM          75018772629
49B242A1351334   ELIZABETH    TANKS                    OH          66014662013
49B24637671999   ANTONIO      TREADWAY                 CO          90010396376
49B25766191523   ROBERTO      MARTINEZ                 TX          75010917661
49B25891861967   CHRIS        WOODS                    CA          90013198918
49B26637971999   JAYME        ESQUIBEL                 CO          90009286379
49B2666395B55B   MACIAS       MANUEL                   NM          35031806639
49B2761A191583   ANGEICA      CHAVEZ                   TX          75053716101
49B27732671946   RAFAEL       RIVERA                   CO          90014747326
49B27752561967   JULIA        MARTINEZ                 CA          90000367525
49B283A7272B43   SPURGEON     ANE                      CO          90000333072
49B29147197B62   CHRISTINE    GARCIA                   CO          39087301471
49B29732671946   RAFAEL       RIVERA                   CO          90014747326
49B2B623A2B87B   SHAWNNA      EVERSOLE                 ID          90011776230
49B31384391583   MAYRA        NUNEZ                    TX          90013123843
49B3145A691569   GRACIELA     RAMIREZ                  TX          75036114506
49B3175765B58B   LUZ          PEREZ-GUTIERREZ          NM          35005017576
49B31978391873   LARRY        LOGAN                    OK          90014719783
49B32295971947   RAUL         CAMPOS                   CO          90012742959
49B32348891394   LORRE        CARR                     KS          90004053488
49B3253615597B   PATRICIA     GAMEZ                    CA          90011405361
49B3275A171946   TIFFANY      BLACK                    CO          90014747501
49B32796655928   ROSANNA      MARTINEZ                 CA          90000127966
49B3453414B271   SUSAN        BRENNAN                  IA          27016545341
49B3485775B58B   SHLEEN       LUNA                     NM          90014138577
49B34949197B62   RANDALL      KECHTER                  CO          90014909491
49B34992991569   RACHEL       GONZALEZ                 TX          90005029929
49B34A7352B27B   CHARLES      BROWN                    DC          90011120735
49B35AA5971947   BRAD         WINCH                    CO          32012910059
49B362A415B395   BERTHA       RINCON                   OR          44546772041
49B36365161967   DEREK        NORWOOD                  CA          46047363651
49B36416272B38   ROYBAL       LOURIE                   CO          33082204162
49B36599A91889   KYLE         RUSSELL                  OK          90012325990
49B365A1A2B27B   CARA         CALLAHAN                 DC          90012865010
49B36884971946   MATTHEW      NIMKE                    CO          90011768849
49B3815765B395   DARBZ        STEWART                  OR          90014861576
49B38772871946   GABBY        GONZALES                 CO          90014747728
49B38A9374B271   SYMIDAHL     JONES                    NE          90004570937
49B39118958528   SAMUEL       BRAVO                    NY          90015271189
49B39119193751   TODD         HIGHLEY                  OH          90001271191
49B3921178B16B   SUSAN        GARDNER                  UT          90004912117
49B39458171947   SHANNON      GONZALES                 CO          32059454581
49B3983745B53B   JUDAS        GAGA                     NM          35085888374
49B3B228972B43   ANAPATRICI   CONTRERAS                CO          33023932289
49B3B459291959   BRUCE        DRAKE                    NC          90009514592
49B3B773A72B4B   ROSLYN       LUCERO                   CO          33064257730
49B3B912171999   EDDIE        HUTCHCRAFT               CO          38018799121
49B3B943A2B27B   WARREN       JOHNSON                  DC          90014799430
49B41639371947   EDUARDO      DE LEON CASTRO           CO          90015416393
49B417A1191959   DIEGO        TRAVIS                   NC          90015497011
49B41981891873   RAUL         ZEPEDA                   OK          90007059818
49B41988861967   DANIEL       PHANORD                  CA          90011519888
49B42158372B4B   JENNIFER     PETRI                    CO          90012041583
49B42212A5B58B   ARELY        JIMENEZ                  NM          90011922120
49B42459591569   PATRICIA     DELA CRUZ                TX          75037264595
49B42467772B54   ALONZO       ALCON                    CO          90010004677
49B4353A491583   LUIS         PARGAS                   TX          90012855304
49B4365A891959   ANNA         KRAUSE                   NC          90013496508
49B4381185B174   CARLA        DANNIER                  AR          90014448118
49B43A56472B43   JASON        MARTINEZ                 CO          90011810564
49B4415296412B   KYLIE        HODGE                    IA          90014651529
49B457A615B53B   DANIELLE     TRUJILLO                 NM          90010377061
49B4596435B523   CORRINE      MAES                     NM          35032999643
49B465A8972B36   DIANA        RAMIREZ-CERVANTES        CO          90011075089
49B46616891873   KENDALL      BONNER                   OK          21081826168
49B46962891583   ADAN         MONTANEZ                 TX          90014409628
49B4721544B566   JOSHUA       MARTIN                   OK          90011252154
49B47295172B36   ELIZABETH    MOY                      CO          90013742951
49B482A9397B62   JESUS        FELIPE GOMEZ             CO          90014472093
49B48529691873   ANTONIO      SMITH                    OK          90010105296
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49B4895A757127   MUNA             YOUSUF ADEM            VA        81070749507
49B49151361967   SONIA            TORRES                 CA        90001131513
49B49462A91569   MANNY            RIVERA                 TX        90011984620
49B49633391583   ABRAHAM          SANDOVAL               TX        90005036333
49B5144365B395   GINGER           DAVIS                  OR        44589004436
49B519A235B58B   JAIME            DELGADO                NM        90010229023
49B52A48691583   NICK             COSSIO                 TX        90014570486
49B5334155B174   IVAN             MARTINEZ               AR        23049613415
49B5352A75597B   HOUA             YANG                   CA        49060585207
49B53984141222   NICHOLAS         SALMEN                 PA        90006859841
49B54517391959   MICHELLE         SCOTT                  NC        90014305173
49B54524A72B36   WILBER           MEJIA                  CO        90009165240
49B553A9771999   SAMANTHA         GOODRICH               CO        90013033097
49B55615976B88   ASUNCION         HERNANDEZ              CA        90001126159
49B55841471946   KIMBERLY         CONNOLLY               CO        90008858414
49B5619A371946   SYLVIA           SMITH                  CO        32023741903
49B56531891583   ANA              FIERRO                 TX        90000915318
49B5716875B58B   MARY             BARGAS                 NM        35081921687
49B5755195597B   BERTHA           RUVIRA                 CA        90012935519
49B57841471946   KIMBERLY         CONNOLLY               CO        90008858414
49B5811315597B   MARY             BIANCHI                CA        90007781131
49B5814A491834   CHRIS            RITTER                 OK        90001581404
49B58188691222   JOHN             MAYER                  GA        90013491886
49B5864455B53B   RUBEN            ESCOBEDO               NM        35090586445
49B58715161967   ABELINO          VELAZQUEZ              CA        90009377151
49B58785771946   CARLOS           ESPINOZA               CO        90012317857
49B5898A891523   DINA             DURAN                  TX        90013509808
49B5945415B53B   SUSAN            GALLEGOS               NM        35051654541
49B59511572B4B   MANUEL           CASILLAS - CERVANTES   CO        33013485115
49B5989AA97B62   MARIA            CHAVEZ                 CO        39027108900
49B59A39591873   JEANNET          PARRA                  OK        90014720395
49B5B113591569   CARLOS           GALLEGOS               TX        90013761135
49B5B11665B58B   ISRAEL           ESCOBEDO--DELRIO       NM        35018381166
49B5B125161963   TAMMY            DOYLE                  CA        46076281251
49B5B171691583   BERTHA           LEGARDA                TX        75070381716
49B5B228151334   SALLY            MCCORMICK              OH        66061172281
49B5B229572B36   THADDEUS JAMES   VAIL                   CO        90014642295
49B5B942291569   EDGARDO          MENDOZA                TX        90011009422
49B5B944672B54   DUANE            DAVID CASTANEDA        CO        33010599446
49B5BA2655B222   TRACY            MCCRANEY               KY        68056200265
49B61142991569   BRENDA           ESPARZA                TX        90009421429
49B6137925B395   ADAM             CHARTRAND              OR        90002383792
49B61542551361   MARCO            BEAMON                 OH        66007935425
49B617A6972B36   ROSA             FLORES-HARO            CO        90013227069
49B61914591583   VALERIE          LOPEZ                  TX        90014579145
49B61A59772B43   JOHN             DOE                    CO        90011810597
49B62129172B4B   JONATHAN         GARCIA                 CO        90010471291
49B62336597B62   PAYGO            IVR ACTIVATION         CO        90013893365
49B62777A91583   MARIA            GALLEGOS               TX        90002957770
49B6363245B395   BRIANNA          TAYLOR                 OR        90013576324
49B6383285597B   LADDA            LO                     CA        90011978328
49B63839571947   GRETA            BRUAN                  CO        90009918395
49B63A44991873   AMBER            SHERRELL               OK        90014720449
49B65174491583   JOSEPH           SOUTHERN               TX        75078151744
49B65822A93741   MARY             RAMM                   OH        90004128220
49B658A7971946   JUSTICE          GARNIER                CO        90014748079
49B66269871947   BERNARD          JOHNSON                CO        90010312698
49B6672A191959   PRISCILLA        SANCHEZ                NC        90008497201
49B66998861963   JORGE            NAJERA                 CA        90011099988
49B66A36391523   PAULA            MENDOZA                TX        90013510363
49B67387571947   VANESSA          GONZALEZ               CO        90014823875
49B674AAA91583   GABY             PONCE                  TX        90007054000
49B6762295B53B   GEORGINA         LLAMAS                 NM        90006816229
49B6835115B526   CAROLYN          GORDON                 NM        35084143511
49B68393591569   ARTURO           BERMUDEZ               TX        90014993935
49B68469161963   MEDINA           JENESIS                CA        90006084691
49B6892215B523   ROBERT           MALDONADO              NM        90006029221
49B69317261963   YUVONNE          WILSON                 CA        90008543172
49B693A735B943   RONALD           VERHAAG                ID        90006433073
49B69549772B54   JOSH             THOMPSON               CO        90000545497
49B698A652B87B   CASSANDRA        RICHARDS               ID        41072518065
49B6B198958528   JANARIAN         MOORE                  NY        90015391989
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49B6B362871947   JOHN              CREMEANS            CO          32037193628
49B6B514A91873   OSCAR             OSVALDO             OK          90009505140
49B6B532391959   JOSE              SALMERON            NC          90015185323
49B6B97165B395   AUNDREA           SPIRES              OR          90013629716
49B7154655B388   YOLBA             VAZQUEZ             OR          90012775465
49B71559971999   DYLAN             FROST               CO          90014005599
49B71793A72B54   KATHRYN           SCHREINER           CO          90011227930
49B71852A5B53B   ROBERT            PEREA JR            NM          35068368520
49B71975391394   SUSAN             EICKHOFF            KS          29061259753
49B7214385B53B   MELODY            CARPENTER           NM          90011531438
49B72311972B36   RYAN              CALABRESE           CO          90013463119
49B7243789155B   MNUELA            GARCIA              TX          75037344378
49B72488671999   RUBEN             PEREZ               CO          90008794886
49B72654872B54   DEBRA             TAYLOR              CO          90010146548
49B728A8161963   VINCE             CONTRERAS           CA          90010018081
49B72A55491873   DARREN            WALLACE             OK          90014720554
49B73449371946   BRUCE & CILA      MONSON              CO          90014754493
49B74449171946   PATRICK           SMITH               CO          90014264491
49B74848397B62   LORI              SEABOLT             CO          90012868483
49B7579835B55B   SHARLENE          GARCIA              NM          35013117983
49B7649927B467   JOSE              GONZALEZ            NC          90001934992
49B7665315598B   RAMIRO            FLORES              CA          90004436531
49B76A27151334   NICOLE            THOMSSON            OH          90010970271
49B77999197B62   MISTY             LABARBERA           CO          90007959991
49B78117291523   TOM               NICHOLLS            TX          90013511172
49B7831313B33B   DAVID             GALLEGOS            CO          90013293131
49B78525671947   BAM               KUNWAR              CO          32086415256
49B78888891527   JESSICA           GARCIA              TX          75033008888
49B78916391583   GERARDO           MEDINA              TX          90014579163
49B79218857148   ROSA              RIVERA              VA          90000462188
49B79611397B62   BRANDON           BARFOOT             CO          90011316113
49B79813991583   GLORIA            CHAVARRIA           TX          90012598139
49B79A63191873   MORANDA           GARRETT             OK          90014720631
49B7B136571947   BRIAN             MAY                 CO          90014451365
49B7B59215B395   RACHEAL           MALLORY             OR          90010245921
49B7B634A5B53B   ROBIN             LUJAN               NM          35025426340
49B7B63638B16B   MICHAEL           GREENE              UT          90009746363
49B7B669A91959   BIDALINA SANTOS   MARICHE             NC          90010306690
49B81168571999   MARIO             FLORES              CO          38095111685
49B81484291241   STANLEY           WILLIAMS            GA          90012524842
49B8153998B546   BRADFORD          PRIEST              CA          90014515399
49B81586A72B4B   ALANIS            ORTIZ               CO          90011015860
49B8194855B523   PEARL             GONZALES            NM          90005599485
49B81A85A6198B   MIKE              MARTONE             CA          90013920850
49B82A68A91873   PATTI             BROWN               OK          90014720680
49B8327A22B27B   ISAC              HERNANDEZ           DC          90011062702
49B83473A61967   LERONARD          RAVEN               CA          90014184730
49B83A6655B52B   ANA               URIAS HOLGUIN       NM          36014330665
49B84142491523   MARIA             ZENEA               TX          90013511424
49B8439695597B   RODGER            BARBOUR             CA          90013923969
49B8459A972B54   JOSEPH            SOLANO              CO          33084945909
49B84622171999   CHAELYNN          HERRERA             CO          38015856221
49B8471238B59B   JENNIFER          RUST                CA          90014567123
49B84776A5B52B   ELIO GALAV        EVA CAMPOS          NM          36096087760
49B85396372B4B   EVELYNE           FRAIRE              CO          90012743963
49B86138291583   CRUZ              SALAZAR             TX          90013381382
49B8651869155B   MARIA             MONTERO             TX          75009435186
49B86954272B36   JOSE              GONZALEZ            CO          33004979542
49B86A6935B55B   ANA               LUJAN               NM          35045610693
49B89565972B54   GUADALUPE         LOPEZ               CO          90010925659
49B8957155B395   ANTHONY           SIAS                OR          90012495715
49B89654671946   ANGEL             GARCIA              CO          90012896546
49B89766171999   JACK              AGUILAR             CO          90010397661
49B8976A22B27B   BERNITA           PAIGE               DC          81088837602
49B8B916791583   MARITZA           CANGAS              TX          90014579167
49B91199791959   BLANCA            GUTIERRES           NC          90010281997
49B9132A191959   BOBBY             SANDERS             NC          90015543201
49B9144728B16B   KATI              JENSEN              UT          90009534472
49B9223845B58B   HOPE              GARCIA              NM          90011012384
49B924A335B174   BONNIE            ALLEN               AR          23062054033
49B92775361967   MARY              CUELLAR-HARTMAN     CA          46036597753
49B9318A45B395   CHRISTINE         JOSEPH              OR          90005911804
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49B93917361963   ROBERTO        BARBOSA                CA          90010139173
49B93A67136189   FRANK          FRANKLIN               TX          90005960671
49B94271A61963   RAYMUNDO       LOPEZ                  CA          90014702710
49B942A365B58B   MARIO          HERNANDEZ              NM          90010252036
49B9446525597B   GUSTAVO        FIGUEROA               CA          90006054652
49B94886571999   CHASSIDEE      WILSON                 CO          90011588865
49B9494675597B   GUSTAVO        FIGUEROA               CA          90014659467
49B9516A161967   HUMBERTO       OLMOS                  CA          46075621601
49B955AA13B351   REBECCA        HERNON                 CO          33003475001
49B95688591583   RAFAEL         MARQUEZ                TX          75094336885
49B9572285B222   YVETTE         PICKETT                KY          68025707228
49B9623A997B62   ROBBERT        FISCHER                CO          90014972309
49B96434271946   TIA            LEVY                   CO          90011264342
49B9698495597B   JOSEPH         VILLICANO              CA          90014699849
49B97189384321   LAKELDRA       ELMORE                 SC          90008781893
49B97812A71947   TIMOTHY        LUCAS                  CO          90002098120
49B97861A63654   ERIC           CARLSTROM              MO          90011108610
49B97A92791583   ARON           REYES                  TX          90013120927
49B9951952B27B   ROBERTA        HAWKINS                DC          90011075195
49B9974315B58B   JOHN           LOLLIS                 NM          35086677431
49B99849291873   FELIPE         SANCHEZ                OK          21033538492
49B9B115A5133B   ROSEMARY       BROWN                  OH          90009771150
49B9B989491569   KAREN          ARREOLA                NM          75066619894
49BB117274B271   MIKE           BREWER                 NE          27079231727
49BB1538272B38   DOUGLAS        LESLIE                 CO          33040775382
49BB1713A5B58B   BRADEN         GAULT                  NM          90014747130
49BB273695B174   SHEILA         CROSS                  AR          90014697369
49BB2A24297B62   BEATRIZ        VENTURA                CO          39040360242
49BB2A57791873   MISTY          ALEXANDR               OK          90009590577
49BB326725B55B   DIANA          MAZE                   NM          90013802672
49BB3637671999   ANTONIO        TREADWAY               CO          90010396376
49BB393A12B27B   CHADWICK       BERNARD                DC          90013709301
49BB3A4815B174   SANTERO        THOMAS                 AR          23011380481
49BB42A2672B36   ERICK          HENDERSON              CO          33049792026
49BB466725B58B   DELPHINA       NANNEY                 NM          35091686672
49BB5233A5B174   NIKE           HUDSON                 AR          90001322330
49BB5295572499   DANIEL         SOBER                  PA          90006142955
49BB52A3191394   OLIVIA         ORTIZ                  KS          29004042031
49BB598A561945   EDGAR          MOLINA                 CA          90014429805
49BB59A7391569   MANUEL         OBREGON                TX          90010439073
49BB623712B87B   REBECCA        PROCHASKA              ID          41087022371
49BB6813691569   MARIBEL        DELGADO                NM          90011698136
49BB6943291873   MARCELINO      GARCIA                 OK          90014719432
49BB715959376B   THOMAS         TIMBERLAKE             OH          90005061595
49BB7346971947   STEPHANIE      DAVIS                  CO          90014813469
49BB7478A5B174   ERIKA          SEWARD                 AR          23002514780
49BB7868691583   ELDA           RIVERA                 TX          90010328686
49BB8688477348   APRIL          RANDOLPH                IL         90006126884
49BB8897191873   ALEJANDRO      MORENO                 OK          90007058971
49BB9186386478   NAKETA         SMITH                  SC          90013201863
49BB97A865B395   JOSE           GOMEZ CRUZ             OR          44584277086
49BBB2A9485841   JOHN           WILLIAMS               CA          90005932094
49BBB59455B395   JUSTIN         RYAN                   OR          90001125945
49BBB844A72B38   YOLANDA        HERNANDEZ              CO          33022708440
4B11132A471999   JUSTINE        BRIDEAU                CO          38054893204
4B11147785B223   WILLIAM        HORSLEY                KY          68043234778
4B11161475B395   MATTHEW        HARVEY                 OR          90010726147
4B11169597B694   DANA           JENKINS                GA          90000616959
4B112271761967   MARIO          SEGURA                 CA          46008792717
4B11237A161968   ROSA           GUILLEN                CA          46092413701
4B112538991988   MAKO           FULLA                  NC          90015105389
4B112A43A5597B   REGAN          GUZMAN                 CA          49072920430
4B113358A47954   NICK           HANTHORN               AR          90011143580
4B113393486545   KATIE          PREVO                  TN          90013353934
4B11353675597B   JOAN           CAUDILLO               CA          49088785367
4B1135A478B165   FREDDY         GARZON                 UT          31061045047
4B113722872B43   ASHLEE         ABOTT                  CO          90015157228
4B113769761968   ANAHI          GARCIA                 CA          90013387697
4B1139AA684368   JAMES          FRITZ                  SC          14574179006
4B114134A5597B   MARILYN        ROOT                   CA          49079751340
4B11436415B271   JOHN           WALLACE                KY          90013633641
4B114417651383   LUIS ALBERTO   CALIX                  OH          90013124176
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4B11452478B355   LINDA         WHITE                   SC          11028835247
4B11467593B491   PAYOR         KYMARA                  PA          90006796759
4B115913672B36   CECILIA       HERNANDEZ               CO          33045569136
4B115A65761967   JOHNNIE       PHELPS                  CA          90002990657
4B11685515B53B   SEAN          GIRON                   NM          90014178551
4B116982A71999   RON           MINER                   CO          38030289820
4B116A63391351   BRENDA        ZAVALA                  KS          90015130633
4B11711A65B396   TOM           BRADLEY                 OR          90003481106
4B11739A93168B   MINDY         HERNANDEZ               KS          90009493909
4B117491871946   JAMES         PECK                    CO          90002404918
4B117A95591394   NICHOLE       BROOKS                  KS          90010870955
4B11817AA91351   KAREN         YISSEL                  KS          90012601700
4B118513147954   AMBER         BRANDSON                AR          90012985131
4B119239847954   ALMEN         CHINGLONG               AR          90013472398
4B1194A615597B   LUCERITO      SANCHEZ MORENO          CA          49005024061
4B119666791569   JOSEFINA      ZEPEDA                  TX          90012326667
4B119683A61963   ALMA          HERNANDEZ               CA          90011886830
4B119696871946   ASIA          GOSS                    CO          32088616968
4B119911155939   JAMES         FRANTZ                  CA          90013969111
4B119A1138B165   KIRK          REYNOLDS                UT          90014370113
4B11B31A591988   MAJORIE       SPEED                   NC          90002653105
4B12139845B523   SANSOM        TONY                    NM          35080733984
4B12147A95B395   MAGDALENA     SILVA ZACARIAS          OR          90005784709
4B121781461968   GABRIELA      RAMIRO                  CA          90008267814
4B122146421669   ALFONSO       HERNANDEZ               OH          90014061464
4B122579961968   LUIS          GOMEZ                   CA          46077945799
4B1225A4291988   JAMES         GORDON                  NC          90014175042
4B12292A291527   GRACIELA      DURON                   TX          75092769202
4B12338A95B52B   KATHRYN       TAYLOR                  NM          90011383809
4B123593361975   LAURA         RINCON                  CA          90011695933
4B1235AA551334   NICOLE        SPAULDING               OH          90005775005
4B123889791351   GUSTAVO       ALONZO                  KS          90013918897
4B1242A4691351   FERNANDO      VAZQUEZ                 KS          90002882046
4B12455253B491   KAITEL        SCOTT                   PA          90013455525
4B124741A71999   JAMES         WHEELOCK                CO          90002027410
4B124898738521   CRYSTLE       RASMUSEN                UT          90003108987
4B124974693794   DEBRA         SCHALK                  OH          90005529746
4B12498575B53B   THERESE       GARCIA                  NM          90013469857
4B125121693794   TYLER         SCHMIDT                 OH          66009531216
4B12553238B165   DAVID         ERB                     UT          90014485323
4B1256A835B395   SHANNON       ODOMS                   OR          90008346083
4B125A65A47954   JOSHUA T      EVERETT                 AR          90011010650
4B12629123B491   RODNOEA       LONG                    PA          90014512912
4B12649763168B   GARRET        LEE                     KS          90015414976
4B126713991351   GARY          BANAKA                  KS          29024767139
4B12693915B174   RAYMOND       THOMPSON                AR          90011179391
4B12724A95B271   TIFFANY       NALL                    KY          90008042409
4B12881615B222   TAJIA         KELLER                  KY          90004128161
4B128A65A47954   JOSHUA T      EVERETT                 AR          90011010650
4B129643257126   VICTOR        LEZAMA                  VA          81046496432
4B129855561968   MICHELE       HAGUE                   CA          90006558555
4B12996524B271   CATHY         WOERTH                  NE          27021679652
4B12B127641258   CHRISTOPHER   WHITTINGTON             PA          90009981276
4B12B42115B524   REDUCINDA     AVILA                   NM          90004754211
4B12B43815B271   KAYLA         GUEST                   KY          90012054381
4B12B597447954   PATRICIA      HERNANDEZ               AR          90015215974
4B12B925891569   YAHIR         DAVILA                  TX          90013969258
4B12BA9225B52B   BILLIEJEAN    TRUJILLO                NM          90014870922
4B13128A651382   RASHEH        TILLEM                  OH          90008682806
4B1312A663168B   GENE          BORDERS                 KS          22012942066
4B13182A891394   JAMES         MCKENZIE                MO          90002938208
4B131979461967   JORGE         CORIA                   CA          46028399794
4B131A28761963   CLAUDIA       ASTUDILLA               CA          90006690287
4B132343551382   JAMIE         LANGFORD                OH          90002413435
4B132378361967   ALANNAH       DE BARRA                CA          46089183783
4B13254425B52B   NOHEMI        QUINTANA                NM          36058465442
4B13276163168B   MARASOL       MEDIANA                 KS          90002737616
4B13282248B165   JACK          VAUGHT                  UT          90001288224
4B132947471999   DANNY         SALAZAR                 CO          90011729474
4B13319949372B   MICHELLE      WESTFALL                OH          90013611994
4B133384861967   RAMON         CABAL                   CA          46019603848
4B133616591394   JOSE          ZAMORA                  KS          90002056165
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4B133843491569   DONNA        DALY                     TX          90012888434
4B133876991873   PATRICIA     BELLO                    OK          90011848769
4B13398255B271   COURTNEY     LUCKETT                  KY          90010659825
4B133A4575B222   TREMAINE     SHEPARD1736 PAYTON       KY          90003360457
4B13416584B551   CHRISTOPHE   PLATT                    OK          90001681658
4B13462A75B271   SHANTIKA     MUDD                     KY          90008186207
4B134694A51382   MARK         THOMAS                   OH          90014656940
4B13473835B174   HILORY       SMITH                    AR          90014877383
4B13484A45B523   JIMMY        MORRISON                 NM          35035198404
4B13487188B185   CARLOS       CEPEDA                   UT          31042978718
4B134AA788B185   CARLOS       ZEPEDA                   UT          90013920078
4B135563647954   NATHANIEL    MCCOY                    MO          27558845636
4B135643484368   MIGUEL       CERON                    SC          90012956434
4B135685972B36   SELENA       ROSE                     CO          33074016859
4B135723751334   LAURA        SMITH                    OH          90013757237
4B13573965597B   SONJA        HENDRIX                  CA          90006447396
4B13574358B355   ROSALINE     MITCHELL                 SC          90010257435
4B135977A5B357   FELIPE       JIMENEZ                  OR          90007179770
4B13648345B271   SHANNON      SISK                     KY          68019194834
4B13671A65B357   DELIA        MANDUJANO                OR          44522317106
4B136A39972B36   KELVIN       ROGER                    CO          90010990399
4B137629A71999   NATHAN       BOYLE                    CO          38047006290
4B13765225B53B   MELLISA      AKIN                     NM          90003046522
4B137818155939   ALEJANDRO    BARBOSA                  CA          49069248181
4B137A54491351   CARLA        CARDONA                  KS          90006640544
4B13815888B355   MARQUIS      HILL                     SC          11084281588
4B138216491873   MARISA       WATSON                   OK          90014002164
4B1385A984237B   KASEY        WILSON                   GA          90006675098
4B138A99A51383   DARRELL      FORBIS                   OH          90011580990
4B13916885B58B   MARISELA     LEYVA                    NM          35052491688
4B139534291569   MARIBAL      RUBIO                    TX          75058755342
4B13976868B187   CARRIE       HAMMOND                  UT          31071097686
4B13989947B694   GABE         WINKLES                  GA          90010618994
4B139915951383   STEPHANIE    BUTLER                   OH          90014789159
4B139984A93794   ZACK         SMITH                    OH          90013129840
4B13B13AA47954   JOHNNY       GRUNDY                   AR          90005911300
4B13B31A95B223   DOUG         CRASE                    KY          90010963109
4B13B37745B242   LORILEE      GEORGE                   KY          90009783774
4B13B473584368   ARMANDO      CANDELERO                SC          14516054735
4B13B47A681667   SHERRY       LOVE                     MO          90008284706
4B13B547872B43   ELVIRA       RIVERA                   CO          33079125478
4B141627551334   ARTURO       RIVERA VAZQUEZ           OH          90013806275
4B1417A9771999   KENNETH J    RIEF                     CO          90003457097
4B141939131481   PHILLIP      JOHNSON                  MO          90002349391
4B141A38A91394   MARGUERITE   CALVERT                  KS          29053770380
4B142235791394   NORMA        MARTINEZ                 KS          90005032357
4B142915951383   STEPHANIE    BUTLER                   OH          90014789159
4B1429A1524B7B   CLEMENT      GOMEZ                    VA          81081859015
4B142A4892B87B   GINA         ASHBY                    ID          90008970489
4B142A96172B4B   PEGGY        ANN NOFFSINGER           CO          90002210961
4B143298891351   PATRICE      LAWSON                   KS          90013922988
4B143642772B36   RANDY        PEREZ                    CO          90001046427
4B14378925B271   EBONY        WILLIAMS                 KY          90003267892
4B14392AA51383   HEATHER      MCPHERSON                OH          90014789200
4B14467833168B   KAZIA        DEAN                     KS          22003806783
4B144862284368   MONICA       PATRICIO                 SC          90008298622
4B14518483B491   CHAD         NUTTER                   PA          90013001848
4B14534A172B43   KATHERINE    CARRILLO                 CO          90001523401
4B14536585B271   MICHELLE     ANDERSON                 KY          90014213658
4B145461493794   MARGARET     ROSS                     OH          66018224614
4B145792671999   ROBERT       MARTINEZ                 CO          90013357926
4B145855771934   DAVID        MANJIVAR                 CO          32078758557
4B145965391873   MICHELLE     ROBEY                    OK          21033819653
4B146378872B43   WANDA        GILLESPIE                CO          33099393788
4B146444291864   PORTIA       JONES                    OK          90008484442
4B146682744335   WHITENY      MILLER                   MD          90015536827
4B146A43491988   TIAUNA       TAYLOR                   NC          90012130434
4B147515961986   MARGARITA    ORTIZ                    CA          90005395159
4B14758A384368   LILY MAE     SINGLETON                SC          90007905803
4B147643261965   YESENIA      GONZALEZ                 CA          90011676432
4B148174793794   MARK         BRASHEARS                OH          90014931747
4B1486AA651382   KANDY        KELLY                    OH          66016626006
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4B14917435B223   RONNIE      CRABB                     KY          90005691743
4B14B36188B165   WYNTRESS    ELLIS                     UT          90010223618
4B14B614991351   MARK        EDIGER                    KS          90009976149
4B14B66892B87B   BRITTANY    GRIFFIN                   ID          90014866689
4B151292671946   ROBERT      DUPIGNAC                  CO          32054812926
4B151396672B43   JANELLE     GARCIA                    CO          90013273966
4B15288572B87B   ROBIN       HUFFMAN                   ID          41013838857
4B15378338B355   LIDERMAN    MAHECHA                   SC          90012377833
4B153857591988   ALIK        BELK                      NC          90002738575
4B15454885B223   DOUBLE      REDDEN                    KY          68076745488
4B154834651383   JESSE       ELLISON                   OH          66015438346
4B155918863673   LAURA       FOSTER                    MO          90000999188
4B156211161963   ROSA        HERNDEZ                   CA          90007182111
4B156728251382   DESHAWN     HASSAN                    OH          90014657282
4B156738757124   EDWIN       MARTINEZ                  VA          90009517387
4B156A99884368   KEVIN       JENNINGS                  SC          90012830998
4B157188661963   NYEKUICH    BOTH                      CA          90014881886
4B157392A91351   TIFFANY     ODON                      KS          90011123920
4B15743855B53B   JORGE       PORTILLO                  NM          35055364385
4B157529A55939   ROOSEVELT   LEWIS                     CA          90014825290
4B157545A5B271   DOMINIC     SCHEMBARI                 KY          90013835450
4B15778275B58B   FLOR        RUBIO RASCON              NM          90014817827
4B15897542B87B   MELISSA     BINGHAM                   ID          41030369754
4B158A3355B52B   FERNANDO    ATHIE                     NM          36071900335
4B15912A42B27B   RENE        VARGUS SALMERON           DC          81095441204
4B15964935B223   PAULA       MARTIN                    KY          68056226493
4B159944272B4B   MARIA       VILLARREAL                CO          33089919442
4B15998125B271   BRAD        LUCAS                     KY          90010449812
4B15B419855939   JUAN        AVALOS                    CA          90013184198
4B15B91512B879   TRINITY     BUCK HULL                 ID          42006269151
4B15B935493794   KELLI       YOUNKER                   OH          90012819354
4B1611A575B52B   JOSHUA      ORTIZ                     NM          90012411057
4B161254A71934   MELISSA     GHEITH                    CO          90009832540
4B1614A815B58B   LM          INSIGNIA                  NM          90009914081
4B16173553B491   RONALD      CROUSE                    PA          90012447355
4B161968171999   MONICA      HAZELTON                  CO          90009199681
4B16198125B223   LAURA       ROBINSON                  KY          68072239812
4B162123151334   KEVIN       SCHMIDT                   OH          66098361231
4B162376555939   LORENZO     GATICA                    CA          90012613765
4B162664661965   KARLA       GARCIA DE ALBA            CA          90010766646
4B16344A15B58B   LEONOR      GONZALES                  NM          35096564401
4B16367295B53B   CECILIA     MENDOZA                   NM          90000166729
4B163784755939   ARTURO      FRAUSTO                   CA          90003057847
4B163897891873   DESIREE     WRIGHT-DAVIS              OK          21092378978
4B164674561963   DENISE      SANTANA                   CA          46031586745
4B164A82193794   LYNN        SWEARINGEN                OH          66071950821
4B165749325164   WILTON      TERRY                     AL          90014837493
4B165753691351   MARCIA      BURNS                     KS          90003927536
4B165A43261963   GREGORIO    CARRETO                   CA          46052940432
4B165A6824B271   AARON       YECK                      NE          90014600682
4B16676414B271   CHERI       MCGHEE                    NE          27031377641
4B16694913168B   DAVID       ORSAK                     KS          90014749491
4B16718754B523   ELLISON     EVANS                     OK          90005941875
4B16742752B27B   JAMAR       CARPENTER                 DC          90012984275
4B1678A6471999   R EBECCA    SWIFT                     CO          90011388064
4B167A3135B223   HOMER       STAMPER                   KY          90003700313
4B16821423168B   ANDREW      WATTMAN                   KS          90015342142
4B168246672B36   STEFANIE    NOWAK                     CO          33071002466
4B16826995B58B   STEVE       PINTOR                    NM          90004412699
4B16839A147954   MYOSHA      MOORE                     AR          90011203901
4B168554951334   LORETTA     COST                      OH          66062095549
4B169219A4B271   SERGIO      HUMBERTO                  NE          90015202190
4B169263371946   JENN        SPIELMAN                  CO          90003502633
4B169589A47954   DEANGELO    SANDERS                   AR          90015055890
4B169665251383   KRYSTALL    FLORY                     OH          90000556652
4B16B469361968   WILL        STODDARD                  CA          90015144693
4B16BA7885597B   LEAH        GROSS                     CA          90001960788
4B171247A72B43   JAIME       HESTER                    CO          90005072470
4B17147578B355   CAPRIVA     BRANDON                   NC          90010794757
4B171536761967   CINDY       MARTINEZ                  CA          90011515367
4B17169575597B   GERARDO     GARCIA                    CA          49077666957
4B17173718B187   EMMA        MONTOYA                   UT          31017427371
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4B171A79374B24   KAYELYNN    EDLER                     OH          90014650793
4B172214591351   ANA         RODRIGUEZ                 KS          90012442145
4B172937955939   CLAUDIA     LOPEZ                     CA          90013939379
4B17349425597B   ROSEANNA    MONTOYA                   CA          90012314942
4B173654991873   JERRY       ELLIS                     OK          21069046549
4B17423AA91569   REBBECA     PADILLA                   TX          90010952300
4B1748A915B53B   GERALDINE   RIVAS                     NM          35005218091
4B17534635B223   GINGER      REYES                     KY          68076073463
4B17535335B222   VIVIAN      MS                        KY          68010413533
4B1757A5291873   KENYADA     CALDWELL                  OK          90011147052
4B175A1145B395   KATHERINE   SCHMIDT                   OR          90007630114
4B175A6555B53B   ADRIANNA    BERNAL                    NM          90009120655
4B17653A171999   JOHNNY      AGUIRRE                   CO          38086605301
4B176568951359   WESLEY      PEYTON                    OH          90012435689
4B17682764B271   CEPHAS      CATRAYE                   NE          90011948276
4B17738175B52B   JEROME      RIVERA                    NM          90013563817
4B17768A34B271   CHRISTINA   PORTILLO                  NE          90008986803
4B177755857569   ALEJANDRO   VILLANUEVA                NM          90010667558
4B17792275B174   LACHISA     MALONE                    AR          23039019227
4B178242A91394   ANABEL      RAMOS HERNANDEZ           KS          29026362420
4B178419771999   NICOLE      GALLEGOS                  CO          90005514197
4B178731A91873   SKYE        BARNETT                   OK          90015617310
4B17877325B174   GARRY       CALDWELL                  AR          23091927732
4B178887272B36   BLANCA      RODRIGUEZ                 CO          33046908872
4B17911AA91988   PATRICIA    GILLIAM                   NC          17086911100
4B17913585B395   OLIVIA      TRUMP HOLMES              OR          90005601358
4B17962194B271   RUTH        WELLS                     NE          90003086219
4B17968A972B36   FEDERICO    VALERIO                   CO          90013006809
4B17985832B27B   NICOLAS     CRUZ                      DC          81015208583
4B179937772B23   SERGIO      LOPEZ                     CO          90008169377
4B179A2415B174   JASON       WITT                      AR          90014320241
4B17B169271999   LAURA       HUSKIN                    CO          90015491692
4B17B39615B271   SHAWNTA     RUSHIN                    KY          90014343961
4B17B712684368   VARISTO     HERNANDEZ                 SC          90014987126
4B181966191394   SOLEDAD     MARRUFO                   KS          29068739661
4B181A5374B271   PATRICIA    FALBO                     NM          27078150537
4B182257251382   AMBER       WHITE                     OH          90011462572
4B1825A6A5B555   MONICA      SEDILLO                   NM          90011665060
4B182644855939   ADELA       FREGOSE                   CA          90001346448
4B18272278B16B   JOSE        SANCHEZ                   UT          90014147227
4B182777951334   JESSICA     HOWE                      OH          90013687779
4B18289A591873   DALE        BREWER                    OK          90015128905
4B1828A2A3168B   CANDICE     EGIZI                     KS          22069928020
4B182964891394   GABRIELA    GUARNEROS                 KS          90010149648
4B183248655939   MARIA       ARREOLA                   CA          90010862486
4B183718891351   DAVID       KYM                       MO          90010437188
4B18374953B491   SARAH       MAZE                      PA          51077837495
4B18375455B58B   JERRY       TAFOYA                    NM          90012947545
4B183A48372B4B   JEAN        IFULU-BOIMBO              CO          90000910483
4B184824851382   VALENTIN    MENDOZA                   OH          90014658248
4B1852A6A71934   JOHN        DAVID WILSON              CO          32068352060
4B185314851383   DAMICA      KIMYA                     KY          90014813148
4B185382251382   RUDOLPH     PEREZ                     OH          90011423822
4B18553875B52B   JESUS       ARDON                     NM          90014715387
4B185579A3B33B   TORREY      HILL                      CO          90004105790
4B18592328B165   MARGARET    ENGLISH                   UT          31070479232
4B186AA434B271   DORA        ERAZO                     NE          90012360043
4B187258591873   CLINT       ELAM                      OK          21064642585
4B18727A993794   SHANE       YOUNGER                   OH          90015122709
4B18772475B52B   CARLOS      COY                       NM          90012627247
4B18776595B58B   LEONEL      TASKER                    NM          90014577659
4B18795855B357   VALERIA     RODRIGUEZ                 OR          90007279585
4B18857332B87B   JUSTIN      BRADY                     ID          90009165733
4B188589955951   MOISES      GONZALEZ                  CA          49088365899
4B188711471999   JOHN        BUSTAMANTE                CO          90006587114
4B18891598B169   BIRCH       MIKE                      UT          90009679159
4B188A9477122B   TONY        BALLARD                   IA          90014230947
4B189281571934   CORDY       DURAN                     CO          90011502815
4B18949225B58B   MELISSA     CARRILLO                  NM          90006614922
4B189545151334   SASHA       WATKINS                   OH          90011085451
4B189731161968   MARIA       ESPARZA                   CA          90011287311
4B18B35275B58B   MICHAEL     HAUPT                     NM          90004493527
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4B19127A88B16B   JACK          TIMMONS                 UT          90014032708
4B19196A151383   RACHEL        DICKEN                  OH          90014789601
4B192459861968   NANCY         HOYT                    CA          90002344598
4B19268A82B87B   GARY          SHAW                    ID          90014696808
4B19277612628B   CHRISTOPHER   VOGT                    WI          90008197761
4B192931371999   KIMBERLY      JOHNSTON DALE           CO          90005789313
4B193664655939   JOHN          GALVAN                  CA          49043376646
4B194182551383   VICTOR        MERCHANT                OH          90009161825
4B19431225B395   DENNIS        GAUSE                   OR          44533293122
4B19515835757B   CRYSTAL       CAPPS                   NM          90013101583
4B195196261963   ISMAEL        MEZA                    CA          90014881962
4B195289147954   ROBERTO       GARCIA                  AR          25089182891
4B195961855939   SANTELLANA    GUADALUPE               CA          90013939618
4B19672A261963   BESSIE        WOODWARD                CA          90001427202
4B19678787122B   NICKOLAS      FOWLER                  IA          90015617878
4B196814451382   ANGEL         NICHOLAS                OH          90010578144
4B196953A5B52B   NICOLE        MCKNIGHT                NM          90015119530
4B196AA9291394   RUTH          CANAS                   KS          90014120092
4B197161151382   TERRY         GRAY                    OH          66018031611
4B197231871999   ANNA          CRUZ                    CO          90007972318
4B197269831588   PHYLLIS       EDWARDS                 NY          53051402698
4B197393A5B523   CRISTINA      LEGARRETA               NM          90012733930
4B19752783168B   SHERRY        THOMSON                 KS          90015545278
4B197A6825B395   YESENIA       RUIZ                    OR          90008230682
4B198199A91988   ERIC          ELLIOT                  NC          90014701990
4B19862552B87B   ROBERT        CLOUTIER                ID          90013936255
4B198856584368   LAUREN        CECILE                  SC          90014548565
4B1993A7191988   DONNA         BIGBY                   NC          17004873071
4B199567A85841   BRETT         STEWART                 CA          46031005670
4B199936393794   MICHELLE      TAYLOR                  OH          66087069363
4B19B1A3272B4B   JENNIFER      LANSVILLE               CO          90010091032
4B19B26275B52B   SILVIA        BOJORQUEZ ESTRADA       NM          36069992627
4B19B34535B223   DEBBIE        BRYANT                  KY          68062963453
4B19B398361963   RALPH         ANDERSON                CA          46001543983
4B19B66A32B87B   REBECCA       MALONE                  ID          90012716603
4B19B92A871946   TAMARA        PEAT                    CO          32008789208
4B19B9AA471999   JEFFREY       CROMEENS                CO          90014969004
4B1B1327155939   ARMANDO       GUEVARRA                CA          90012483271
4B1B2451791569   ELIZABETH     PALACIOS                TX          90011174517
4B1B265855B261   BEN           GARCIA                  KY          90012976585
4B1B2949991351   SENIA         CERVANTEZ               KS          90001419499
4B1B31AA141233   DONNA         CROSBY                  PA          51038271001
4B1B3543591988   CAROL         JONES                   NC          90009735435
4B1B3621693794   OLGA          ANDREYCHIKOVA           OH          90010166216
4B1B388595B52B   JAIME         ANTILLON                NM          36072278859
4B1B4217672B43   LINDSEY       NIXON                   CO          90012882176
4B1B424498B187   HEATHER       CRAIG                   UT          31093402449
4B1B451A161968   JORGE         VAZQUEZ                 CA          90015125101
4B1B4829392825   ROGER         BEGAY                   AZ          90015598293
4B1B489995597B   RODOLFO       ENCISO-DE LOS SANTOS    CA          49002968999
4B1B556A27B457   JON           TORRES                  NC          90009745602
4B1B5925572B43   GUSTAVO       SANCHEZ                 CO          33041569255
4B1B6524451383   KEITH         MONTGOMERY              OH          90014785244
4B1B7369A8B355   BARBARA       SPRINGLE                SC          11032933690
4B1B741235B58B   MAGALYS       CRUSELLAS HERNANDEZ     NM          35050254123
4B1B7A43891351   OSCAR         MARTENZ                 KS          90012480438
4B1B7A88991873   JAMIE         KIMBREL                 OK          90013240889
4B1B8442284368   DIEGO         TORRES                  SC          14500314422
4B1B84A248B16B   JUSTIN        MCOMIE                  UT          90013054024
4B1B89A8855939   CHARLA        SMITH                   CA          90013939088
4B1B8A88A71934   ANGELA        EGGENBERGER             CO          90005490880
4B1BB25A25B53B   BLANCA        FEHR                    NM          90011372502
4B1BB267841258   NANCY         JACKSON                 PA          51083682678
4B1BB276455951   FRANCISCO     FERREL                  CA          49070982764
4B1BB336661968   MARCO         GAYARDO                 CA          90013033366
4B1BB588891872   FERNANDO      PRIMERA                 OK          21079335888
4B2111A6397B48   ARTHUR        MARVIN                  CO          90005861063
4B21165145597B   JENNA         VANG                    CA          90000396514
4B211849576B75   THOMAS        SLIPPER                 CA          90011768495
4B21197474B271   JAYNE         ESTELL                  NE          27025259747
4B212369191569   VANESSA       NAVARRETE               TX          90012373691
4B212472993765   HEATHER       GOLTZENE                OH          64518044729
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4B21285A92B87B   ALICE         ANDERSON                ID          90012998509
4B213238672B36   ALEJANDRA     RIVERA                  CO          90013672386
4B213588991351   MANUEL        TORRES                  KS          90012305889
4B213661472B4B   THOMAS        INMAN                   CO          33019696614
4B2137A8A51334   NICOLA        SENIOR                  OH          90005887080
4B213918A5B222   DEASIA        LIPSEY                  KY          68055469180
4B213924984368   GEMIMA        HERNANDEZ               SC          90011279249
4B214177284368   ARTHUR        JOHNSON                 SC          90014821772
4B214469493755   SEAN          WELSH                   OH          64584614694
4B2147A4891988   KEEMI         SALAAM                  NC          90014387048
4B21481255B223   STEVE         TERRELL                 KY          90011998125
4B214972251336   ANGELA        CHATMAN                 OH          90008879722
4B21567A67B457   DLIALA        MOORE                   NC          90010656706
4B215816855939   ARTHUR        ALVAREZ                 CA          90011378168
4B21588654B271   RAMON         ALEJO                   NE          90009278865
4B215A9215B223   BRANDON       WHITTEN                 KY          90011830921
4B21677752B87B   ZACHARY       ROBERTS                 ID          90006647775
4B21731152B87B   MIKE          NORTON                  ID          41045023115
4B217319924B7B   JOHN          MOMNTS                  MD          90015513199
4B21759825B53B   ANTHONY       DUNCAN                  NM          90014815982
4B217877693755   AMBER         CHAPEL                  OH          90003598776
4B217A83793794   LORA          WIEDENHEFT              OH          66006710837
4B217A8488B355   TRINITY       CLAY                    SC          90014460848
4B218A9215B223   BRANDON       WHITTEN                 KY          90011830921
4B21929933147B   YOLANDA       BUCHANAN                MO          90015002993
4B21942615B52B   TRAVIS        BAILEY                  NM          90014934261
4B219699A57159   MARIA         EGUIGURE                VA          90003276990
4B2197A3384368   ANA           ZACARIAS                SC          90013217033
4B219A5832B27B   JACQUELINE    JONES                   DC          81015220583
4B219A88561967   STORMY        STEELE                  CA          90007100885
4B21B2A8161968   ANASTASIA     CARRASCO                CA          90009322081
4B21B494A71934   LIZBETH       ORTEGA                  CO          32010814940
4B21B591456356   BRIAN         KAMM                    IA          90014175914
4B21B6A3272B43   NICOLAS       HENANDEZ                CO          90012996032
4B21B962355939   OSCAR         GARCIA                  CA          90013939623
4B21BA6544B271   LYLE          WORKMAN                 NE          27065860654
4B21BA9A384368   JULIO         GARZA                   SC          90009980903
4B221416591351   VERONICA      ALEJANDRE               KS          90015374165
4B221554172B36   SASNTOS       MENDIVIL-TREJO          CO          33009105541
4B221678A72B4B   MARTA P.      NUNO LOPEZ              CO          90011136780
4B221A49361963   JOSE          GRACIA                  CA          90010700493
4B22225895B223   STEVYEAUANA   SLEETS                  KY          90007992589
4B222263584342   ANGIE         SCHARETT                SC          90014752635
4B222349861968   CHARLES       NEELAND                 CA          90014443498
4B22262458B185   MIGUEL        ZUNIGA                  UT          90003356245
4B22267A65B223   STEVYEAUANA   SLEETS                  KY          90012476706
4B224133A2B27B   MIGUEL        LOPEZ                   MD          90015401330
4B224218191394   MARIA         ORTIZ                   KS          90001022181
4B224844971999   LASHAWN       JOHNSON                 CO          38032968449
4B225449391569   DAVID         CHAVEZ                  TX          90012874493
4B225454161968   TOMAS         MORALES                 CA          46079644541
4B22547215B395   S             AVERY                   OR          44541244721
4B225841772B43   LEONARDO      LOYA                    CO          33052018417
4B225A5435B174   DAMARCUS      THROWER                 AR          90009400543
4B226215A61963   JESSICA       QUINTANA                CA          90014882150
4B22633637B694   LAURA         GROOVER                 GA          90001553363
4B22653778B355   DEVON         FALY                    SC          90008755377
4B226628772B43   ANTHONY       RODRIGUEZ               CO          90010766287
4B2269A9584336   THOMAS        COVELL                  SC          90011879095
4B227717672B36   REOLA         KINDELL                 CO          33012987176
4B22823325B357   CODY          KOEHN                   OR          90007332332
4B228571972B43   ERIKA         RODARTE                 CO          33008035719
4B22916358B355   KATIE         WILKINS                 SC          90013541635
4B22938374237B   BRONIESHA     SIMS                    TN          90015563837
4B229954684368   ANKANETTE     MERVIN                  SC          90013779546
4B22999325B271   TYLESHIA      BELL                    KY          90015119932
4B22B978A61999   WILLIAM       JONES                   CA          90004579780
4B23128A37B694   TAMMY         KING                    GA          90001602803
4B231961A71946   AMANDA        PEPPITO                 CO          90002609610
4B232211551383   AMANDA        ASHER                   OH          90014802115
4B232636A91569   KARINA        MARTINEZ                TX          90015176360
4B232A6945B174   KENNETH       HENSON                  AR          90010660694
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4B2333A915B58B   ROBERTO     MEJIA                     NM          35025553091
4B233523791351   SALLY       COKER                     KS          90014725237
4B23368848B14B   LADAWNA     DAVIS                     UT          90001206884
4B23374285B52B   MONICA      WILSON                    NM          90014707428
4B2337AA361968   DINO        TANNER                    CA          90014957003
4B233985272B4B   MELISSA     COVARRUBIAS               CO          33079489852
4B234656651382   RACHELE     WHITE                     OH          90002896566
4B23499A391873   THERESSA    SMITH-RELF                OK          90007349903
4B234A5A971999   WILLIAM     CANO                      CO          90013350509
4B235467A51382   JULIE       ROBINETTE                 OH          90007784670
4B236244972B36   JOSEPH      GARCIA                    CO          33026982449
4B23627272B27B   SEBAE       JOHNSON                   DC          90014432727
4B2367A9A51383   CHRISTINA   CRAWFORD                  OH          66006107090
4B236A25471946   SANDIA      CHAVEZ                    CO          90004920254
4B236A65351334   CYNTHIA     FORD                      OH          66008320653
4B237173571999   VACK        FERGUSON                  CO          38037941735
4B237225761963   SHERILL     BUENA                     CA          90014882257
4B237374691569   KARLA       GARDEA                    TX          90007173746
4B237571191873   SCHUYLER    ROBINSON                  OK          90004975711
4B2377A3255939   SALVADOR    RAMIREZ                   CA          49063957032
4B23952695B53B   JEFFREY     DEKAY                     NM          90014825269
4B239A52A72B47   AGNALDO     PEREIRA                   CO          90012970520
4B23B23917B694   RACHAEL     EVANS                     GA          90015312391
4B23B478672B36   ANGELA      DIGESUALDO                CO          90003484786
4B241126555939   TALINA      COTA                      CA          90009351265
4B24121418B185   RUBEN       CANCHOLA                  UT          31035372141
4B242255153966   RIANNA      BERRY                     OK          90013452551
4B24248865B52B   TERENT      CULVER                    NM          36002104886
4B24254795B271   CANDICE     FIRES                     KY          90002785479
4B242646761968   CHEYENNE    SLOAN                     CA          90012876467
4B242726261986   JESUS       VELASCO                   CA          90011617262
4B242893247954   MELISSA G   LINDSY                    AR          90014158932
4B2429A228B16B   CARLOS      VALDEZ                    UT          90015259022
4B242A75172B45   DIANA       MENDOZA                   CO          90011720751
4B243712361963   ANTONIO     FRANCO                    CA          46037367123
4B244526155939   SYNTHIA     LOPEZ                     CA          49092455261
4B244828751382   RUFF        GLENN                     OH          66004808287
4B244918971999   JOE         DIODSIO                   CO          90007409189
4B245277551334   RANDY       EKER                      OH          66034252775
4B245462A55982   JOSE        HERNANDEZ                 CA          90002554620
4B24556118B16B   MARK        MARROQUIN                 UT          90014705611
4B2456A5661963   GERALD      SYKES                     CA          46058976056
4B24665932B87B   KIMI        SCHOENBERG- KNUDSEN       ID          90005986593
4B246883A72B4B   ROSA        ORITZ                     CO          90010128830
4B246987884368   LETICIA     CABALLERO                 SC          14536069878
4B2474A894B943   SHANYA      ACLESE                    TX          90012914089
4B247712361963   ANTONIO     FRANCO                    CA          46037367123
4B247797671999   GERRI       CASAS                     CO          90009277976
4B248986891569   ANAHI       AGUILAR                   TX          90014429868
4B249966751382   ANTHONY     FEARS                     OH          90007259667
4B24B21125B555   MONIQUE     TRUJILLO                  NM          35082462112
4B24B239571946   LORENA      LUNA                      CO          32086042395
4B24B324872B4B   DONOVAN     GONZALES                  CO          90010483248
4B24B49AA2B956   MARIA       GARCIA                    CA          90004004900
4B24B5A5872B43   LEE ANN     MORNING                   CO          33033085058
4B24B73535B52B   KRISTA      MARTINEZ                  NM          90011897353
4B24B943447954   LINDA       POE                       AR          90003479434
4B24BA68991569   LIZ         RODRIGUEZ                 TX          75031630689
4B24BA98791988   KATHERINE   CARTER                    NC          90012120987
4B251672941241   STEPHANIE   KERN                      PA          90000106729
4B252117551337   JOHN        HALSEY                    OH          90011031175
4B252276651334   VICTORIA    WILLIS                    OH          90011782766
4B252566A4B271   ERIC        CLARK                     NE          90014465660
4B252A88991873   JAMIE       KIMBREL                   OK          90013240889
4B25328882B29B   KYLE        HUDSON                    DC          90013022888
4B253384751334   PORTIA      WOODWARD                  OH          90013553847
4B25366175B222   LINDSEY     STROOP                    KY          90010456617
4B253853271999   AIOTEST1    DONOTTOUCH                CO          90015128532
4B253882671934   JUANA       VASQUEZ                   CO          90003668826
4B254288393794   CHRISTIAN   GRUNDY                    OH          90015122883
4B25434785597B   LIA HOUA    VANG                      CA          49094453478
4B2545A4361968   GILBERT     LOVATO                    CA          90013575043
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4B254613491394   JORGE        RAMIREZ                  KS          90012426134
4B25464545B223   LATIYA       KING                     KY          90008726454
4B254869551334   SARAH        PROFFITT                 OH          90010998695
4B255144171934   VICTOR       SALOMON                  CO          32026431441
4B255157A55939   SILVIA       LOPEZ                    CA          90015211570
4B255777172449   MICHAEL      NEWTON                   PA          90009567771
4B255785A8B355   CHARLES      GRIFFIN                  SC          90014007850
4B256538651383   KATHY        JOHNSON                  OH          90014835386
4B25663285B58B   STEPHANIE    DERN                     NM          35027696328
4B25799432B87B   JESSE        JACKSON                  ID          90008559943
4B2579A5A47954   PATRICIA     POLLARD                  AR          90014569050
4B258232986545   CHERMANE     FOFTER                   TN          90015562329
4B258423A71999   BERTRAM      DAVIS                    CO          90013164230
4B25865675B271   JAMES        LEAVELL                  KY          90014936567
4B258759A2B27B   KATRINA      BROWN                    DC          90013607590
4B25923415B223   GABRIEL      ANTONIO                  KY          90006232341
4B259455A8B187   LEE          CHADSEY                  UT          31065484550
4B25B2A1A5B523   JEORGINA     HANSEN                   NM          90005992010
4B25B345551383   GILBERT      COLE                     OH          90004703455
4B25B53995B395   KENNETH      FREDA                    OR          44589325399
4B25B66822B27B   CARLOS       GUZMAN                   VA          90008416682
4B25B914693794   SYMBA        PEREZ                    OH          90013409146
4B25BA36651383   YUMEKIA      BRUTON                   OH          90014790366
4B261245155939   JOSE         ESCAMILLA                CA          90015272451
4B26152A191351   DANIELLE     PRICE                    MO          90009075201
4B261759871999   ELIZABETH    DIAZ                     CO          90014277598
4B261A63851383   HEATHER      GEOPPINGER               OH          90014790638
4B26216638B187   RILEY        BROWN                    UT          90006751663
4B26279945B222   DRIKA        JACKSON                  KY          90003387994
4B262955591873   DEBORAH      WEBB                     OK          21007659555
4B262A2A351383   VICTORIA     SWEENEY                  OH          90011240203
4B262A3318B16B   ETHAN        KEITH                    UT          90014330331
4B26367648B16B   ROLANDO      MOTA                     UT          90014696764
4B263798285964   REDA         TURNER                   KY          90010227982
4B26392535B52B   CUITLAHUAC   HERNANDEZ                NM          36067419253
4B264592172B4B   RUTH         MONTOYA                  CO          33067945921
4B264758291569   MARIA        HERNANDEZ                TX          75067667582
4B264A6655B52B   ANA          URIAS HOLGUIN            NM          36014330665
4B26519914237B   MOISES       GOMEZ                    TN          90013531991
4B2659A1672B36   DANIELLA     GONZA                    CO          33039829016
4B266535747954   BREANNA      BROOKS                   AR          90013935357
4B26672452B27B   DOUGLAS      CLEMENTS                 DC          90002217245
4B26697535597B   LUKE         LICHTENWALNER            CA          49085149753
4B266A38A8B187   WILBERG      BART                     UT          90005740380
4B267112472B43   EFRAIN       MEDINA                   CO          90000231124
4B267992955939   KEVIN        JACKSON                  CA          90013939929
4B26815245B58B   RHONDA       BROWN                    NM          35044011524
4B268185291351   LONI         JONES                    MO          90012521852
4B268417172B4B   DENNIS       HARVEY                   CO          33061864171
4B268749A5597B   SARAH        JOHNSON                  CA          49077667490
4B2689A153B491   JOHN         DOE                      PA          90011289015
4B26928638B16B   CHAD         BENNION                  UT          31013532863
4B269487351334   LISA         SIZEMORE                 OH          90009164873
4B26B354972B4B   LINDA        LOPEZ                    CO          33082533549
4B27188285B53B   RICHARD      GARCIA                   NM          35000188828
4B271928A7B428   TOWAN        SELLARS                  NC          90001729280
4B2725A4261967   JOSEPH       GARCIA                   CA          90010595042
4B272AA765B53B   CINDY        MARTINEZ                 NM          90003350076
4B272AA984B541   MAUREEN      MUHURA                   OK          21587270098
4B27341875B174   RAYMOND      MOORE                    AR          23032134187
4B27365435B222   RODERICK     TAYLOR                   KY          68094666543
4B27485345B53B   ZONIA        GONZALES                 NM          35033098534
4B27492625B271   MARLENA      KNIGHT                   KY          90013559262
4B275784924B7B   GEORGE       JONES                    DC          81037867849
4B27578665B271   LISA         THOMAS                   KY          90001437866
4B275A37451383   DAWANTA      GREEN                    OH          90008340374
4B275A42A71934   JESUS        HERNANDEZ                CO          90008680420
4B27633544B271   KELLY        THIEL                    NE          90013633354
4B276894476B21   JACQUELINE   ARBELAEZ                 CA          90002168944
4B2768A878B16B   GROVER       NIELSEN                  UT          90014278087
4B276A1925B271   JEROM        CRAWFORD                 KY          90007280192
4B277182672B36   ANA          DIAZ                     CO          90011601826
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4B277925972B36   ANNA            BUENO                 CO          90010949259
4B27793A172B4B   ANGELINA        RUPP                  CO          90005769301
4B277A91651334   SHAWN           GEORGE                OH          90014800916
4B278261791988   ALBERTO         GALVES                NC          90002982617
4B2783A475B523   CHRIS           LISTER                NM          35040663047
4B2784A185B58B   ALEJANDRA       COLORES               NM          35035634018
4B278563593794   PAUL            LYKINS                OH          90014725635
4B27862A95B53B   REYNA           GARCIA                NM          90010126209
4B2787A2172B36   DIEDRA          BANKS                 CO          90012907021
4B278965891988   ALVERTO         GALVES                NC          90013429658
4B279232647954   MITCHELL        BREWER                AR          90014702326
4B2797A3384368   ANA             ZACARIAS              SC          90013217033
4B27B118A5B52B   JAIME           PEREZ                 NM          90006201180
4B28172A555939   ENRIQUE         CARO                  CA          90014877205
4B28175142B87B   SAMANTHA        GUNNING               ID          41086907514
4B28178775B395   JANICE          JOHNSON               OR          90005157877
4B28181445B37B   RAQUEL DENISE   VAUGHN                OR          90004628144
4B282316A72B36   SANCHEZ         MARIELA               CO          90011443160
4B28259822B87B   KLINT           HEINEN                ID          90015095982
4B2828A4491569   FERNANDO        MARIN                 TX          75085588044
4B283596891988   ALEJANDRO       CHAVEZ                NC          90005005968
4B283681571946   MARYEL          ROSADO                CO          90005866815
4B28382782B27B   DELMIS          CHACON                DC          81062248278
4B284311691351   JOSHUA          PESE                  MO          90007833116
4B28483315B52B   SUSAN           MONTEZ                NM          36005578331
4B28492A161967   MICHELLE        MEZA                  CA          46014919201
4B284A46372B4B   DESIREE         MONTOYA               CO          33075010463
4B28563668B355   ADRIENE         CARTER                SC          90010806366
4B285768A8B594   JANIS           JACKSON               CA          90014747680
4B285823572B43   MIGUEL          CARDENAS              CO          33020828235
4B28611353168B   VANESSA         SCHROCK               KS          90010811135
4B286299571934   ANNIE           LOPEZ                 CO          32083752995
4B286414A5B53B   ROBERT          SALAZAR               NM          35097004140
4B286465161963   ANAYA           TRINIDAD              CA          90010844651
4B286655751334   HEATHER         JOHNSON               OH          90014366557
4B287274647954   YAZMIN          FUENTES               AR          90007282746
4B287733151382   SHAVONNE        WHEELER               OH          90003977331
4B28786445B223   KATIE           HOLLINGSWORTH         KY          68094468644
4B28788415B52B   ANGELIQUE       SMITHE                NM          90012688841
4B28823527B694   JAMES           PINET                 GA          90011042352
4B288285751382   JOSE            MEJIA                 OH          66005702857
4B28832985B271   AUBREY          ERICKSON              KY          90011453298
4B28877435B395   CECAR           MARTIN                OR          90010747743
4B288846384368   RAUL            ROJAS                 SC          90004738463
4B28889894B271   ELIZABETH       SCHWARTZ              NE          90013918989
4B289218463628   FULISIA         BAQUERA               MO          90000322184
4B28936992B87B   SARAH           STALLINGS             ID          90008933699
4B28989A65B53B   ROGELIO         AGUILAR               NM          90015298906
4B28999785B222   DAVID           DE LA CRUZ DIAZ       KY          90009219978
4B28B1A3393794   ROBERT          RASE                  OH          66004831033
4B28B9A765B223   ALONSO          MANCILLA              KY          68023959076
4B291179691873   JERRY           DONOVAN               OK          90000831796
4B291378571934   PAUL            VIGIL                 CO          90015143785
4B2916A945597B   ALMA            AGAYO                 CA          90008726094
4B291A2412B87B   CARL            KEENE                 ID          41062090241
4B292242891569   TONY            VELOZ                 TX          90009162428
4B292521551334   CHRISTINA       WOOD                  OH          90001525215
4B292522771999   RICHARD         OWENS                 CO          38044815227
4B292788551354   JESSICA         SAUNDERS              OH          90005327885
4B29286988B165   DAVID           COLEMAN               UT          31067718698
4B293292A5B58B   PRISCILLA       LEYBA                 NM          90009582920
4B293364A5B174   KIANNA          COLCLOUGH             AR          23068693640
4B29336763B343   WENDY           SEXTON                CO          90010173676
4B293561361967   VONTIQUE        RUSSELL               CA          90010215613
4B2937A3377977   HUGO            SOLIS                  IL         90007277033
4B293892251383   YOM             CHHUM                 OH          66076528922
4B293A1A92B238   JOSEPH          JACKSON               DC          90011650109
4B294149551383   DUSTIN          VEABER                OH          90014791495
4B29464952B87B   VERONICA        SLAYTON               ID          90013366495
4B294965171946   JOSE            CASTILLO              CO          32096159651
4B29522835B58B   JUAN            ALCANTAR              NM          35040012283
4B295734A72B4B   MONIQUE         ESPAMILLA             CO          90014517340
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4B29577787B694   KELLY       FOX                       GA          90015107778
4B29661AA71934   SONNYLEE    ROMERO                    CO          90011286100
4B296A7293B351   SUSAN       BLANCHARD                 CO          33083580729
4B29721135B53B   JENINE      LUJAN                     NM          90009072113
4B297226651382   REBECCA     LADD                      OH          90007312266
4B297495351334   ELIZABETH   TOLLIVER                  OH          90008424953
4B297A39947954   MIGUEL      DESANTIAGO                AR          25079160399
4B298119991873   EDNA        SMITH                     OK          21077471199
4B298151A51383   WILLIAM     CARTER                    OH          90014791510
4B29815A251326   THOMAS      WRIGHT                    OH          90012261502
4B29849A52B87B   RAY         MASON                     ID          90004114905
4B298612161963   ANGELICA    VARGAS                    CA          90002396121
4B29863535B58B   WILLIAM     OWENS                     NM          35091666353
4B29881148B187   JASON       ADAMS                     UT          31097498114
4B299163472B36   PEDRO       CEJA                      CO          33015141634
4B2993A534B271   ALEXANDER   BAKER                     NE          90014923053
4B29943895B222   LAUREN      MOLOHON                   KY          68093194389
4B299826A5B53B   FRANK       DONOVAN                   NM          35093678260
4B2998A9751382   DAWN        DUETT                     OH          90013388097
4B299921391873   MARSHA      MINOR                     OK          90011499213
4B299A4512B87B   LEANNE      SKURUPEY                  ID          41023320451
4B29B185551383   DAVIS       LOMBRE                    OH          66089111855
4B29B26A991988   KAVONIA     NEWMAN                    NC          17055872609
4B2B1767251383   KAYLA       WHEELDON                  OH          90014797672
4B2B2332871934   MANUEL      JUVERA                    CO          90012413328
4B2B238A755951   DONNELLE    NEWMAN                    CA          90005743807
4B2B2A12893794   SAUL        HERRERA                   OH          90007790128
4B2B2A96255939   NANCY       GAMEZ                     CA          49082240962
4B2B315A572B36   RANDAL      SEIFERT                   CO          33085111505
4B2B3162647954   TONY        PERAZA                    AR          25051841626
4B2B352A461968   CLINTON     BURTON                    CA          90011855204
4B2B38A7755951   AURORA      OCHOA                     CA          49005398077
4B2B3A81261967   MARTHA      LERMA                     CA          90001450812
4B2B4158151383   JAY         WHYLE                     OH          66064821581
4B2B439938B185   ANDREA      CHILDS                    UT          90006393993
4B2B4489172B25   BEN         PAGE                      CO          90009044891
4B2B519568B16B   RICK        BUTTERFIELD               UT          31032381956
4B2B5289491873   MARIE       MAYES                     OK          90000982894
4B2B533455B222   ALAIN       DELAQUIS                  KY          68005913345
4B2B5938293794   REBECCA     ULRICH                    OH          90002179382
4B2B6252261968   VANESSA     ROMERO                    CA          90014812522
4B2B6435955939   ANA LUCIA   SOSA DE CUELLAR           CA          90014454359
4B2B733426198B   ANA         ARANDA                    CA          90001683342
4B2B738AA72B43   WILLIAM     HICKEY                    CO          33040863800
4B2B76A1524B7B   LILIAN      JURADOLARA                VA          81057206015
4B2B8262A8B355   RUFUS       CHILES                    SC          90014092620
4B2B8534271999   TOBY        JARAMILLO                 CO          90000675342
4B2B8A19172B4B   LIDIA       BUJANDA                   CO          90005600191
4B2B8A41491569   JOSE        REYES                     TX          90012760414
4B2B8AA1955982   JAUN        GARCIA                    CA          90013050019
4B2B936A655951   VIRGINIA    MARTINEZ                  CA          90002433606
4B2B9398591569   MARCELO     RAMIREZ                   TX          90008453985
4B2B949628B187   DON         EVANS                     UT          31049844962
4B2B9669A5B222   AIMEE       JONES                     KY          68093266690
4B2B9699472B4B   ANTHONY     ESPINOZA                  CO          90008466994
4B2BB143191569   LORENZO     ORTEGA                    TX          75023021431
4B2BB22847B694   LISA        JENT                      GA          90008802284
4B2BB7A6991547   CINDY       NELSON                    TX          90010207069
4B2BBA93876924   LATICA      PRESTON                   MS          90013620938
4B31132535B53B   MARIA       GONZALES                  NM          35048543253
4B311326347954   MAIA        MALDONADO                 AR          90009363263
4B3117A4861967   LUCAS       SCHOENFELD                CA          90010597048
4B31213348B16B   TRINA       HALL                      UT          31071951334
4B31222235B52B   ELVIS       OLVERA                    NM          36068972223
4B3125A9761968   MARIA       SALAS                     CA          90010435097
4B3131A9572B4B   MARIA       VERA                      CO          90008691095
4B313395751334   DAMON       PETERS                    OH          66097693957
4B313396672B43   JANELLE     GARCIA                    CO          90013273966
4B31342314B271   LEESHA      FRASCH                    NE          90014094231
4B3135A8493728   KEVIN       CAMERON                   OH          90008305084
4B313655747954   HOPE        BALENTINE                 AR          90014756557
4B313845571946   BALINDA     MONTANEZ                  CO          90002048455
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4B31394968B16B   SHARON               STRICKLER         UT         31001489496
4B313A3815B395   MIROSLAV             PALJEVIC          OR         44561040381
4B3145A1191394   EMILY                MILTKO            KS         29019515011
4B31483388B355   MAURIA               SANDIFER          SC         90008888338
4B315222351383   ROXANNE              WESTERBECK        OH         90014792223
4B31529A171999   NATALIE              MARTINEZ          CO         90004112901
4B31547894B25B   ROSEANN MASON AND    KELLY MASON       NE         90009174789
4B3154A7855939   MARIA                PEREZ             CA         90014124078
4B31554A493794   CHRISTOPHE           FRANZ             OH         90000865404
4B31557AA72B36   DARJEE               RENAE             CO         90008245700
4B315778191527   JESSICA              VEGA              TX         90010697781
4B315886971946   ANGELINA             BALBUENA          CO         32039408869
4B315A21661938   RAMIRO               SANDOVAL          CA         90002700216
4B316727761967   HECTOR               BUSTAMANTES       CA         90010597277
4B316A39791988   ABELARDO             LOPEZ             NC         90013100397
4B3171AA441258   MIGUEL               CERRANO PADILLA   PA         51012931004
4B31732225B52B   GRISELDA             CASTRO            NM         36095103222
4B317558371924   THERESA              EISEL             CO         90011835583
4B317559172B36   MONICA               HERNANDEZ         CO         33093135591
4B317615191569   RYAN                 KURTH             TX         75017816151
4B3177A5351334   KIM                  SWEAT             OH         90004307053
4B317972261963   THERESSAH            RODRIGUEZ         CA         46037759722
4B317A2225597B   CHARLES              MORRIS            CA         90007680222
4B318251484368   RUTH SHAQUETTA       LEE               SC         90009992514
4B3182A393168B   MEGAN                SCHAFNITZ         KS         90011312039
4B318388384368   TANIA                MORENO            SC         90015513883
4B31843815B52B   SUSANA               MARQUEZ           NM         90010304381
4B318497172B36   CLAUDIA              LIRA              CO         90005604971
4B318631161967   ANTIONETTE           HARRIS            CA         46018566311
4B3186A425597B   JENNY                VASQUEZ           CA         49011166042
4B318934655939   KHAM                 SINGKEO           CA         90006959346
4B318947461968   JONATHAN             MOORE             CA         46045259474
4B318A72151334   RANDY                BALDRICK          OH         90004450721
4B31949728B16B   CAROL                REILE             UT         90013064972
4B319716251334   JEFFERY              HUNN              OH         90012997162
4B31B45113168B   MARCELLA             JANKOWSKI         KS         90011684511
4B31B79355B58B   SERGIO               CHAPARRO          NM         35069497935
4B31B87345B357   JUAN                 REGINO            OR         90007468734
4B31B9A8591873   KASIE                KING              OK         21055779085
4B31BA58291988   CHRISTOPHER          MALONE            NC         90013300582
4B32111348B16B   AGUSTIN              LANDA             UT         90008111134
4B321343555951   BARNARDO             CERVANTEZ         CA         49047623435
4B32177A75B53B   TERESA               MANQUEROS         NM         35034217707
4B321AA2872B4B   FORREST              MILLER            CO         33047720028
4B322222351383   ROXANNE              WESTERBECK        OH         90014792223
4B3222A2791569   TELMA                CORONA            TX         90009122027
4B32241A871999   BRIAN                BENNETT           CO         38034234108
4B32258718B355   NIKIA                GREEN             SC         90009245871
4B322741561967   VICTOR               OROZCO            CA         90010597415
4B32296A955939   ADRIAN               PEREZ             CA         49091819609
4B322A96847954   TONYA                SCOTT             AR         90003240968
4B323238691569   ANGEL                SALAZAR           TX         90005082386
4B323411A8B355   JESSICA              PERRY             SC         90000444110
4B32347653168B   MICHELLE             HAMM              KS         22081614765
4B3237A8872B36   BRENDA               PARKER            CO         90011507088
4B324275155939   BICTORIA             BARAJAS           CA         49083472751
4B324777861963   BILLIE               IAPALA            CA         46032327778
4B326476561968   NELLY                PERALTA           CA         90010824765
4B326892671946   FABIAN               RIBAS             CO         90002528926
4B326924393794   JASON                HAZELBAKER        OH         90013079243
4B32783244B551   VERONICA             GIGGERS           OK         90003268324
4B327875761968   GINA                 BAXTER            CA         90010508757
4B32791245B58B   MONICA               MOSQUEDA          NM         90013149124
4B32835A191351   KLARISSA             KIMBROUGH         KS         90012713501
4B328637991873   VICTORIA             BUTLER            OK         90012756379
4B328814461968   MARTIN               HERNANDEZ         CA         90012108144
4B328A1338B16B   CHANSAMONE           MANIVANH          UT         90014470133
4B328A47751383   WENDI                DONALDSON         OH         90014180477
4B329839791873   YOANDRY              RODRIGUEZ         OK         90014018397
4B329999972B43   SAUCEDO SAUCEDO JR   LOUIS             CO         90011149999
4B329A47751383   WENDI                DONALDSON         OH         90014180477
4B32B182271946   JOY                  BURKE             CO         90000891822
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4B32B278A51383   GARRY         EDWARDS                 OH          90011262780
4B32B29A161967   MARCUS        JACKSON                 CA          46006672901
4B32B64A33168B   OLIVIA        CARDENAS                KS          90009646403
4B32B775193794   JACKIE        ROBINSON                OH          90015387751
4B32BA5A72B27B   KIYANNA       JOHNSON                 VA          90013300507
4B331199261968   SANTOS        MERCADO                 CA          46040791992
4B3313A2691988   BRIANA        WORTHAM                 NC          90012823026
4B33153955B174   KRYSTAL       THORTON                 AR          23088765395
4B3322A512B27B   ABEL          TREVO                   DC          81038422051
4B33236235B357   ERIC          HIDALGO                 OR          90007473623
4B33252A672B43   MONIQUE       SEALS                   CO          90008275206
4B33271915B53B   KALIN         BRANDON                 NM          90014317191
4B332746572B43   MONIQUE       SEALS                   CO          90013457465
4B33362325B53B   ANDREW        DANKO                   NM          90014686232
4B333916A61968   FRANK         ASOA                    CA          90012829160
4B333968872B36   KANAN         ARKAWAZY                CO          90011909688
4B3346A6984368   EFRAIN        ESCALANTE               SC          90003766069
4B334858491569   JESUS         RODRIGUEZ               TX          90011138584
4B3348A9861956   MARIA         PANDURO                 CA          46095678098
4B33564425B271   CIARA         SIMCOE                  KY          90014126442
4B335959191569   MARTHA        PALOMARES               TX          75008339591
4B33596825B53B   ANNA          MARTINEZ SANCHEZ        NM          90012539682
4B336289572B43   TITUS         WILLIAMS                CO          90013302895
4B336515291394   FLORA         RIVERA                  KS          29023295152
4B3366A5791569   ROSA          GURRA                   TX          75091126057
4B33767335B58B   THELMA        LLAMAS                  NM          90002196733
4B337761871946   ANGELA        BEUERLE                 CO          90009787618
4B337923591569   MIGUEL        HERNANDEZ               TX          90013869235
4B337A6959373B   ERYHATT       JOHNSON                 OH          90007550695
4B33864425B271   CIARA         SIMCOE                  KY          90014126442
4B338788555939   NICOLE        RENDON                  CA          90004097885
4B338997857121   SIGRIDO       ORELLANA                VA          90014859978
4B338A7155B58B   JOHN          WIEGERS                 NM          35035230715
4B33932725B395   ROOSEVELT     BROWN                   OR          44505133272
4B339465161963   ANAYA         TRINIDAD                CA          90010844651
4B339633151334   CHRISTOPHER   JONES                   OH          90009246331
4B339727671999   RALPH         ROMERO                  CO          38012287276
4B33989894B271   ELIZABETH     SCHWARTZ                NE          90013918989
4B33B442A71934   JORGE         GONZALEZ                CO          90011844420
4B33B445591351   JEFF          EASTMAN                 KS          90009864455
4B33B62A161963   GABIEL        GUTIEREZ                CA          46036396201
4B33B921A51334   TAMIKA        HUTCHERSON              OH          90014559210
4B33B9A6971946   VIOLA         GOBEA                   CO          32096989069
4B3413A3361963   JUAN          FLORES                  CA          90014913033
4B34173865B52B   ULISES        RAMIREZ                 NM          90010677386
4B3422A2971934   AQUILES       PINTO                   CO          32015822029
4B342658371999   JOHN          BRAASCH                 CO          90006036583
4B34321998B185   NORMA         GONZALEZ                UT          90003362199
4B343916A91351   MAGGIE        CLAERHOUT               KS          90013909160
4B343945A4B271   WALLESHA      HUBBARD                 NE          27076349450
4B343966771934   GLENN         PAINTING                CO          90015149667
4B343A23161968   DANNY         KONGVONGXAY             CA          90013110231
4B343A5225B53B   XAVIER        RODRIGUEZ               NM          35042270522
4B34418348B355   BALTIMORE     PETE                    SC          90010551834
4B34426125B174   MARION        ROBINSON                AR          23077682612
4B344428A5597B   ALBERT        HOOD                    CA          49018434280
4B344943155939   CARLOS        MORALES                 CA          90005379431
4B344962891569   ANGEL         RIVERA                  TX          90011109628
4B3449A1A72B43   VINCENT       MARTINEZ                CO          90010289010
4B344A5AA24B7B   RUDY          TAY                     VA          90014910500
4B345638851382   SCOTT         AICHELE                 OH          90014666388
4B345677571934   JIMMY         GRODOTKI                CO          90011286775
4B346998591873   KRYSTEL       KEEN                    OK          90014519985
4B346A1528B16B   CHASITY       RACHIELE                UT          90011260152
4B34735925B555   JESUS         DOMINGUEZ               NM          90001033592
4B34739475B271   TIM           TURNER                  KY          90010963947
4B347624591873   KATHERINE     INVESTMENTS             OK          21003736245
4B34771A755951   JESUS         JUAREZ                  CA          49078207107
4B347755591569   OMAR          LEDEZMA                 TX          90009677555
4B34839335B58B   ELEXIS        SILVA                   NM          35089123933
4B3485A5784368   MARIA         ORTIZ                   SC          90010655057
4B34865AA91523   ANA           GARCIA                  TX          75025056500
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4B3489AA724B3B   JOSE ROBERTO     RODRIGUEZ            DC          90005969007
4B3491A9A5B58B   PATTY            REYES                NM          35027321090
4B34932848B185   LAWS             LORI                 UT          90005143284
4B34944754B271   PTACEK           MELIA                NE          27035574475
4B3494A795B52B   JULIA            MELGAR               NM          90014364079
4B349545291873   LAWANA           PENNY                OK          90014235452
4B34B161293794   KIMBERLY         MICHAELS             OH          66029681612
4B34B433791988   VIELMAN          GOMEZ                NC          90015034337
4B34B45742B253   MICHELLE         ALEXANDER            DC          81092834574
4B34B54A761967   HILARIO          HERNANDEZ            CA          90011515407
4B351241193794   JOSEPH           MANNING              OH          90009162411
4B3512A525B52B   NATISHA          UROSTE               NM          90008252052
4B35158135B523   CHERYL           PEDROZA              NM          90005995813
4B35163A272B36   KRISTIE          SHAW                 CO          90009726302
4B35192947B694   SONETTA          HARKLESS             GA          90012119294
4B351A15455939   JESUS            TORRES               CA          90013940154
4B35251655B53B   ALBERT           MADRID               NM          90002205165
4B35256A561953   SHARDAE          SHELTON              CA          90003055605
4B352846291351   JUAN ANTONIO     CARRIO               KS          90013458462
4B352891161968   CLAUDIA          RAMIREZ              CA          90010448911
4B352979991569   CARIDAD          DEGARCIA             TX          90014299799
4B353A1A891569   SERGIO           VILLARREAL           TX          75004040108
4B354133171999   JENNY            MAYER                CO          38086931331
4B354373991569   JUAN             DOMINQUEZ            TX          75012993739
4B354651155939   GRAHAM           COLEMAN              CA          49055866511
4B35483A25B52B   KRYSTAL          WRIGHT               NM          90006118302
4B354A1528B16B   CHASITY          RACHIELE             UT          90011260152
4B355216593794   JARED            SMYER                OH          66029062165
4B35567648B16B   ROLANDO          MOTA                 UT          90014696764
4B3556A6161963   MARIA            ROSALES              CA          90009376061
4B355855991351   AMIRA            KELLY                KS          90004968559
4B355A99361968   NANCY            BOYKIN               CA          90010310993
4B356136661963   VICTORIA         BASNATT              CA          90007241366
4B356167891351   STEVEN           JAMES                KS          90014381678
4B356381772B43   GINO             ORTIZ                CO          90013803817
4B35692245B174   SADE             MCFADDEN             AR          23075809224
4B356A25991394   SHANTAL          LOPEZ                KS          90000530259
4B357234355939   CYRILLA          DEWHY                CA          49097292343
4B35725A25B53B   BLANCA           FEHR                 NM          90011372502
4B35765787B694   STACEY           TODD                 GA          90010996578
4B35769297B694   MICHAEL          GERLACH APT C        GA          90014326929
4B357A1A48B355   CRYSTAL          WHETSTONE            SC          90009530104
4B35817A491873   ROBERT           WALKER               OK          90006811704
4B358257261963   JOSE             BAHENA               CA          46038852572
4B35846315B395   CHERYL           CLARK                OR          44573104631
4B35861265B523   RANDY            HAYES                NM          90005996126
4B358632161968   SUSAN            BLEVINS              CA          90012306321
4B358879121669   MICHAEL          GARVIN               OH          90013628791
4B358987472B36   DAVID            GALLARDO             CO          33009369874
4B359275872B36   VICTORIA         RAZO                 CO          90005952758
4B359853491988   REINALDO         LOPEZ ESTEBAN        NC          90008618534
4B35996918B355   JAMIE            BARBER               SC          90000769691
4B35998215B53B   MARIA CRISTINA   ALFEREZ-GARCIA       NM          90009619821
4B35B127947954   STEFANY          MORALES              AR          90012071279
4B35B441851383   LAURA            COMBS                OH          90006494418
4B35B51538B16B   JERILYN          HALL                 UT          31091985153
4B361242984368   FELIPE           HERNANDEZ            SC          90010872429
4B36168495B174   TIFFANY          JOHNSON              AR          90000866849
4B36217413168B   JORGE            BERRUN               KS          22040291741
4B3622A7191394   LINDA            SPRATT               KS          29093402071
4B362342547954   HAROLD           VANOVER              AR          90012713425
4B362A29351334   LUIS             GIBERTO              OH          90013600293
4B36334338B355   GWEN             BROWN                SC          11033903433
4B36347A972B43   HILDA            CACHO                CO          90014404709
4B3639A8191351   FORTINO          LOPEZ                KS          90010169081
4B364279291569   MIGUEL           ACOSTA               TX          90015182792
4B36445775B53B   ELVIA            OROZCO               NM          90014804577
4B3644A4891569   RAYLETTE         TORAIN               TX          90010314048
4B364727A91351   ANGEL            DIXON                KS          90014117270
4B36515A871999   MARYANNE         ELKINS               CO          90014231508
4B365389793794   TAYLOR           WATSON               OH          90010273897
4B36545955B52B   REBECCA          MCCUSKER             NM          90010374595
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4B36552735B174   LANITA        PRUITT                  AR          90001385273
4B365823993794   DEBRA         SCOTT                   OH          90014128239
4B365A4175B174   JHORDAN       O'NEIL                  AR          90010610417
4B366177A5B53B   NOE           FAVELA                  NM          35091061770
4B36618855B52B   BRAD          HILL                    NM          36025141885
4B366439551334   LUIS          GARCIA                  OH          90015154395
4B366A34855939   RIGOBERTO     LOPEZ                   CA          90013940348
4B366A53671934   QUINCY        BREWER                  CO          90015150536
4B366A69761963   MELISSA       GONZALES                CA          90014920697
4B366A77A61968   CLAUDIA       RIVERA                  CA          90005190770
4B367289671946   MELISSA       WHITTAKER               CO          32080732896
4B36748755B398   DANIEL        ROSS                    OR          90007704875
4B36774595B53B   CHRISTOPHER   COYLE                   NM          90015327459
4B36822535B53B   TANISHA       MARQUEZ                 NM          90013912253
4B36831A95B222   JADE          WOOSLEY                 KY          90011763109
4B368755284368   DIDIER        HOBLER                  SC          90014247552
4B3689A7651325   DONALD        SPICER                  OH          90001299076
4B368A13161968   JOHN          SIEGFRIED               CA          90014740131
4B369172291873   JAZMIN        SANCHEZ                 OK          90013791722
4B36926845597B   NANCY         LOPES                   CA          90000292684
4B36942318B187   JOSE          SALAZAR                 UT          31011334231
4B369525471999   LAURA         VIGIL                   CO          38050915254
4B369916491569   JORGE         SOLIS                   TX          90013869164
4B3699A1991876   NATALIE       JEFFERS                 OK          90012839019
4B36B541851382   CHERYL        WARD                    OH          66067045418
4B36B5A563168B   RAMSEY        WEBB                    KS          90009765056
4B36B68915B52B   ADAN          LOYA                    NM          90014836891
4B371199A5B52B   MANUEL        CASAS                   NM          90014461990
4B37128AA8B187   JESSICA       GUTIERREZ               UT          90005872800
4B3712A8371999   COLLEEN       CRAGOE                  CO          90001722083
4B371468361963   LEAH          HASKINS                 CA          90006604683
4B371655991351   ERIC          GORDON                  KS          90014306559
4B37247517B646   JOHNNIE       CROWELL                 GA          15085974751
4B372684991569   TIJHA         PERRY                   TX          90013926849
4B37274517B694   SHAWNA        BAKER                   GA          90009567451
4B37314439199B   COREY         HAYES                   NC          90012831443
4B37316AA2B27B   MARQUETT      JOHNSON                 DC          90003671600
4B373253691873   NOAH          ROGERS                  OK          90009222536
4B37361555597B   JOSE          PIEREZ                  CA          90010916155
4B373787355951   RAUL          GALAVIZ                 CA          49004687873
4B373911751336   KRISTY        CHILDERS                OH          90011239117
4B37398165B523   LARRY         SMITH                   NM          35077419816
4B37461A761968   LIZBETH       CAMACHO                 CA          90013806107
4B37467352B872   ERIC          SCHLECHTE               ID          42081216735
4B37526663168B   MARIA         SMITH                   KS          90013792666
4B375327793794   CASEY         WILSON                  OH          90014383277
4B375475784368   VAVIETA       STRIPLING               SC          90013614757
4B3757A445B222   SARAH         SCHLINDWEIN             KY          68059857044
4B37593A28B355   GIOVANNI      RIVERA                  SC          90010439302
4B376465591873   MELINDA       CREEKMORE               OK          90011084655
4B376482A8B355   BERNARD       WILSON                  SC          11003294820
4B376642A5B58B   JUAN          SALAS                   NM          90003966420
4B376643A8B16B   ALLAN         SALAZAR                 UT          90010146430
4B376755672B43   MARK          MUSICK                  CO          90001457556
4B376835791569   CESAR         NAVARRETE               TX          90013548357
4B377264691988   AMICLAR       DIAZ                    NC          90012362646
4B377282A61963   TERREANCE     HARRIS                  CA          90006732820
4B377556693794   DAVID         VALENTINE               OH          90014415566
4B37778A45B52B   GABRIEL       MENDOZA                 NM          36008607804
4B37797478B355   JEFF          ONLEY                   SC          90012279747
4B3781A7771934   JULIA         MAZA                    CO          90015151077
4B378274751383   KAMRON        JOHNSON                 OH          90011552747
4B37846768B187   GAMEZ         ORLANDO                 UT          90005854676
4B37875A75B174   JUAN          GRANADOS                AR          23021657507
4B378822191569   EDWARD        STANTON                 TX          90012068221
4B37894117B694   TONYA         GHORMLEY                GA          90013829411
4B378A94461968   JESUS         SANCHEZ                 CA          46027770944
4B379139851382   JUSTIN        BEARD                   OH          90013121398
4B379315161968   GRACIELA      ZARCO                   CA          90010093151
4B37964865B271   ERIC          MATHERLY                KY          90000116486
4B3798A2493794   FRANK         THOMSON                 OH          66089168024
4B37B139872B43   GILLBERT      MUNEZ                   CO          90011001398
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4B37B42728B185   MARTHA           LEMUS                UT          90004364272
4B37B761572B36   HENRY            PINTO                CO          33015457615
4B37B86415B52B   JULIANA          HERRERA              NM          90013408641
4B37B879271934   MARIA            GODOY                CO          90008288792
4B37B923384368   MATIAS           RIVERO               SC          90012189233
4B381125A77357   AKILAH           HONEYCUTT             IL         90014191250
4B3812A2591988   IDALIA           MORALES              NC          90012182025
4B38144A472B35   ANDREW           UTECHT               CO          90014374404
4B38152578B16B   MICHELLE         ROBERTSON            UT          90002725257
4B381564922463   GORGE            CORTEZ                IL         90015505649
4B38181A85B52B   HOA              CHUNG                NM          90014558108
4B38223148B16B   BRIANA           SAUNDERS             UT          90008112314
4B38229945597B   LUIS             SANTACRUZ            CA          49085652994
4B382434891394   RODERICK         MCCONNELL            KS          29011414348
4B38276A75B58B   FRANCISCO        SANCHEZ              NM          90012897607
4B382A1185B58B   MA GUADALUPE     RUELAS               NM          90014850118
4B383276371999   DUSTIN           MARSHALL             CO          90005212763
4B383444493767   GARY             CROCKATT             OH          90001724444
4B384117271934   CHRIS            HYMAN                CO          90001141172
4B3844AA471999   THOMAS           MARTINEZ             CO          90014954004
4B384512771999   MITZI            HEARD                CO          38060625127
4B38457A73B234   OLGA             GOMEZ                DE          90010335707
4B384A3492B264   KEYONTA          SILAS                DC          90011410349
4B385613261968   JORGE            LOPEZ                CA          46041946132
4B386118193794   RYAN             HARRIS               OH          66001081181
4B3864A1761966   LUIS             CONTRERAS            CA          90010244017
4B386694191394   SYLVIA           CASARES              KS          29014536941
4B386829872B36   RONNIE           BROWN                CO          33080658298
4B387745391873   DALE             AMES                 OK          90012457453
4B38776615B523   KIMVERLEY        MARTIN               NM          90005997661
4B38797488B187   MORENO           CHRISTINA            UT          90005859748
4B388528271999   JENNIFER         MARTINEZ             CO          38067595282
4B38874615B53B   MARCOS           BANDA                NM          90011397461
4B38897488B187   MORENO           CHRISTINA            UT          90005859748
4B388AA3172B36   JEFFREY          MAYTON               CO          33027740031
4B389294672B4B   VALENTINA        SEGOVIA              CO          33050422946
4B389322251383   SABRINA          STOCKTON             OH          90014793222
4B389418356355   DMICO            VALLEJO              IA          90015054183
4B389677861968   DALE             CARPENTAR            CA          90012666778
4B38986234B271   NICOLE           NASH                 NE          90012978623
4B389A3A15B174   MONIC            SMITH                AR          23005310301
4B38B13268B185   JESSE            CREVISTON            UT          90005211326
4B38B75258B355   TIERRA           COLE                 SC          11016727525
4B38BA35471999   MICHELLE         MARTINEZ             CO          90003200354
4B391375991873   CHRIS            BRUCE                OK          90015523759
4B391A83A61963   MARIA DEL ROSA   MENDEZ               CA          90014920830
4B392138871934   JENNIFER         TAYLOR               CO          90015151388
4B392485393794   RUSTY            STANSBERY            OH          90007434853
4B39249414B271   TAMRA            LEEPER               NE          90002404941
4B392A51327B87   LATRISHA         REDD                 KY          90001710513
4B39316219373B   ERICKA           TAYLOR               OH          90009971621
4B39335693168B   HEATHER          KLAASSEN             KS          90015343569
4B3933A6591351   LISA             RUCKER               KS          29099153065
4B393465251382   LAVADA           CONNER               OH          66058324652
4B393714A61967   RICARDO          DE LOS SANTOS        CA          46044657140
4B3937A3A51334   JOHN             FISCHER              OH          90012037030
4B39398115B271   MICHAEL          HUGHES               KY          90014229811
4B394144151382   EMILY            BATES                OH          66056811441
4B3942A275B58B   PABLO            MURILLO              NM          35028862027
4B394323472B4B   YOLANDA          GODDARD              CO          33020843234
4B39449674B271   ELIZABETH        RIVERA               NE          27064554967
4B394A3238B185   CHRIS            WILLIAMS             UT          90010310323
4B39547528B16B   ELIZABETH        GARCIA               UT          90003544752
4B395519991872   ADRIAN           LAMAR                OK          90012675199
4B395927191873   JERRY            HELM                 OK          21014859271
4B39644715B223   AMANDA           FRANKLIN             KY          90010704471
4B39699765B271   MICHAEL          WESLEY               KY          90014229976
4B397334851383   KAYLA            COVETT               OH          90014793348
4B39747995B52B   LONNIE           VLADEZ               NM          90010214799
4B397A5A72B27B   KIYANNA          JOHNSON              VA          90013300507
4B398247441258   TAMMEY           APPLEGARTH           PA          90002622474
4B398631271934   LANCE            TEAL                 CO          32087346312
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4B399986691873   STACEY         MAYFIELD               OK          21073909866
4B39B327491881   SHAMEKA        WALKER                 OK          90011523274
4B39B67155599B   VERONICA       FLORES                 CA          90005256715
4B39B71985B395   MARCUS         WOOD                   OR          90003817198
4B39B916461963   ROXANA         TRUJILLO               CA          46032339164
4B39B979893794   BRIAN          HIGHLANDER             OH          90002999798
4B39BA18755951   LIZA           COBIAN                 CA          90005870187
4B3B114682B87B   KATIE          KELLEY                 ID          90014451468
4B3B1223A51334   DAISEY         MOORE                  OH          66025532230
4B3B132335B58B   WILHEMINA      BEGAYE                 NM          90011183233
4B3B1A18771999   JOSEPH         GONZALES               CO          90011610187
4B3B1A28A5597B   CHRISTI        FRAZEL                 CA          49009420280
4B3B249195B53B   BRIGINA        VALENCIA               NM          90013654919
4B3B3567A91569   JUAN DE DIOS   RAMIREZ                TX          90014545670
4B3B3759861927   SHANNON        BANKS                  CA          90005637598
4B3B3AAA855939   FLICIANO       GERVACIO REYES         CA          90013940008
4B3B4146871999   MARIA          LUCERO                 CO          38049501468
4B3B426295B271   SHEILA         JEFFRIES               KY          90006172629
4B3B4283461963   IRIS           COTTO                  CA          90014912834
4B3B432948B185   JAVIER         SEGUNDO                UT          90007293294
4B3B4464991351   TABATHA        NIGH                   KS          90007144649
4B3B4698142339   TAMMY          HOWARD                 GA          90013266981
4B3B489335B58B   ADELA          GONZALEZ               NM          90000138933
4B3B49A6755951   SERGIO         LEON                   CA          90004649067
4B3B49A7547954   MELISSA        HEENEY                 AR          25010749075
4B3B5917471934   TERESA         POWERS                 CO          32058409174
4B3B6547551334   LISA           RICHARDON              OH          90014855475
4B3B6953671934   MARIA          MURILLO                CO          90005519536
4B3B75A6872B4B   IMELDA         MACIAS                 CO          90005785068
4B3B762468B16B   JULIE          PHILLIS                UT          90014286246
4B3B7979491569   ARISBETH       CONTRERAS              TX          75077639794
4B3B8123155939   MAYRA          MEDINA                 CA          90010951231
4B3B821332B27B   DARYL          PAYNE                  DC          90012172133
4B3B845A52B27B   ALONDA         WEAVER                 DC          90015494505
4B3B8728872B43   HUGO           SOLIS-SANCHEZ          CO          90013377288
4B3B874325B174   CHARLES        PATRICK                AR          23090057432
4B3B989A891569   MARGARITA      PONCE                  TX          90011978908
4B3B9A53472B43   NGU            NGUYEN                 CO          90015190534
4B3BBA33191569   ISRAEL         CRUZ                   TX          90013030331
4B41164515B58B   HENLEY         ANDREA                 NM          35042686451
4B4117A9484368   MARIO          LARA                   SC          90011567094
4B411859A51383   ANDREW         SIMPSON                OH          66059718590
4B41238178B355   JOEL           ADAMS                  SC          90000123817
4B41238A38B187   AUSTIN         MCWILLIAMS             UT          90012923803
4B41274975B222   ANGELA         TUCKER                 KY          90012167497
4B41336265B395   KALLEN         AMOS                   OR          90005573626
4B4138A3A84368   DANIEL         HERNANDEZ              SC          90014818030
4B413917661967   VANESSA        RAMIREZ                CA          46052189176
4B414553491873   JOANN          TOBBLE                 OK          90014125534
4B414943155939   ELVA           GONZALEZ               CA          90012429431
4B4151A175B58B   MARIA          GARCIA                 NM          90013781017
4B4152A4861967   IRMA           DICKINSON              CA          90007252048
4B41541A88B187   RAFAEL         BARREDA                UT          31091694108
4B4155A8671999   PALONINO       JUANITA                CO          90005895086
4B415781751382   RONNIE         HOUSTON                OH          90010587817
4B415869A51334   JAMIE          PERRY                  OH          90011068690
4B415955155939   ROBERTO        RAMIREZ                CA          90013119551
4B41623828B355   CHRISTINE      LAKE                   SC          90012322382
4B41633245B58B   JOELEEN        BACA                   NM          90012793324
4B41659A62628B   PAYGO          IVR ACTIVATION         WI          90014485906
4B416971141258   ANGELEEA       FRATANGELO             PA          90002469711
4B416A6444B271   STEPHANE       KONE                   NE          90004200644
4B417372961963   GARY           JOHNSON                CA          46022543729
4B417877171999   RICHARD        SUMMERS                CO          90007508771
4B41823527B694   JAMES          PINET                  GA          90011042352
4B41845315597B   MARTHA         MARTINEZ               CA          49005404531
4B418535151334   RHONDA         EADS                   OH          66064995351
4B41862A971934   ZACHARIA       BERNIER                CO          90005526209
4B418688541258   LORI           BRELL                  PA          51011146885
4B418A8828B187   AUTUMN         FOOTE                  UT          31090850882
4B419372251383   IESHA          DANIEL                 OH          90014793722
4B419A96555939   GEORGINA       VALENCIA               CA          49090180965
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4B41B14493168B   KRYSTAL          SOLORIO              KS          90006391449
4B41B329741258   MASSAH           DOERUE               PA          51010693297
4B41B358251383   FAITH            JACKSON              OH          90014793582
4B41B638651382   TRINA            SCOTT                OH          90001566386
4B41B84915B523   DEBBIE           MALDONADO            NM          90005998491
4B41B85935B55B   DAVID            SALAS                NM          90011178593
4B41B887272B43   BLANCA           RODRIGUEZ            CO          33046908872
4B41BA7678B849   KALEONANI        ALIDON-MAHI          HI          90014130767
4B421284991351   MEGAN            RAMSEY               KS          29095652849
4B421445472B36   ALBERTO          FRAISO               CO          90011854454
4B42173887B851   ROGER            WILSON                IL         90008157388
4B421743291873   BECKY            NICHOLAS             OK          90014297432
4B42279365B58B   MELISSA          GARCIA               NM          90010307936
4B42297538B16B   COREY            WINKLER              UT          31007629753
4B423344351382   RICK             STAARMANN            OH          66038553443
4B423462371934   MARY             WEAVER               CO          90014684623
4B423728391569   DARLEEN          DOMINGUEZ            TX          90014637283
4B423A34671946   RANDY            CROMMELIN            CO          32067070346
4B424462371934   MARY             WEAVER               CO          90014684623
4B4244A7272B36   SORIANO          RANGEL               CO          90013054072
4B425141257564   JESUS            AVALOS               NM          90012981412
4B4252A525B271   JAMES            EDWARD               KY          90004942052
4B42599995B222   MISS             REE                  KY          68043419999
4B42612A55B52B   GABRIELA         PONCE                NM          90012411205
4B42667A95B53B   CARLOS           HERNANDEZ            NM          90013506709
4B426927133695   LISA             MCCASKILL            NC          90012769271
4B426929861968   MARYLOU          VENTURA              CA          90011169298
4B426A83A61963   MARIA DEL ROSA   MENDEZ               CA          90014920830
4B427A83A61963   MARIA DEL ROSA   MENDEZ               CA          90014920830
4B42856425B53B   ELENA            MARTINEZ             NM          90002135642
4B42923A691988   JOSEPH C         DAVIS                NC          90013702306
4B429396851383   HOPE             SCHIMMEL             OH          90014793968
4B429487A61963   ROBERT           JOHNSON              CA          90004714870
4B429A45755939   LIONEL           HINOJOSA             CA          49000640457
4B42B224572B43   WILLIAM          MILLARD              CO          33060692245
4B42B677471999   VERONICA         HERRERA              CO          90013986774
4B42B784193794   RODNEY           GOINGS               OH          90006627841
4B431313641258   SURENU           FRANK                PA          90004223136
4B43134AA84368   SHERLYN          THOMAS               SC          90015543400
4B431395191394   KICHEKO          MCDANIEL             KS          29041833951
4B43163125B58B   STEPHEN          WOLTZ                NM          35097336312
4B43171865B271   JAMES            EVANS                KY          68057397186
4B431763271934   ERASMO           HERRERA              CO          32032287632
4B4325A828B355   ALAN             BEASTLEY             NC          90012765082
4B4328A3241258   CORDELL          GIBSON               PA          51083418032
4B433134391569   JENIFER          VALENZUELA           TX          90002641343
4B433192A84368   MARTI            KING                 SC          90013461920
4B433198751332   CHICO            CHAPPELL             OH          90012451987
4B433216672B4B   JEWELLYNN        ELSE                 CO          90010582166
4B43394468163B   ASHLEE           KING                 MO          90005299446
4B434264593794   JEREMY           ROBERTSON            OH          90013412645
4B434855961967   RUFINO           GARCIA               CA          90015098559
4B4348A8661968   DULCE            RUIZ                 CA          90010688086
4B4349AA33168B   KATHERINE        MENG                 KS          90009639003
4B43564765B395   DANNY            BIRD                 OR          90010376476
4B435827551382   CHRISTIAN        COX                  OH          90010868275
4B436624747954   TONYA            CHANEY               AR          90011126247
4B43781898B355   TARIK            BEAULIEU             SC          90015268189
4B43823915B395   CHERISH          DAYCHILD             OR          44595272391
4B438452891569   EVA              AGUILAR              TX          75086594528
4B438515947954   ROBERT           HERNANDAZ            AR          90000915159
4B438848686545   CASEY            JORDAN               TN          90015078486
4B43B2A2693794   SHERRY           MILLS                OH          90002712026
4B43B354971934   DARRIK           HARLOW               CO          90013513549
4B43BA2A72B87B   MELISSA          CROWE                ID          90014510207
4B44125668B355   MARIA            OLGUYN               SC          90013002566
4B441328871999   KIM              GROVES               CO          38046973288
4B4418A595B52B   MICHAEL          MAES                 NM          90014088059
4B441912851334   SCOTT            BISCHOFF             OH          66001849128
4B442115172B4B   TERRY            KOESTER              CO          90002121151
4B44218A92B27B   YVETTE           CHISLEY              DC          81050441809
4B442297551383   CHRISTINA        DENKINS              OH          90013532975
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4B442338A4237B   MISTY       HENDRICK                  TN          90015483380
4B44244718B16B   TANYA       LONDON                    UT          90015504471
4B44245595B395   PAULA       SOWARDS                   OR          44553094559
4B44282215B271   FREDERICK   GRIESBAUM                 KY          68068718221
4B443139391988   DONNA       LEATHERS                  NC          17064871393
4B4431A8391394   CURTIS      WILLIAMS                  KS          90012451083
4B44323365B395   BYRON       COLLINS                   OR          90011512336
4B4435A6791351   JEFF        BRENNEMAN                 KS          29090745067
4B443A67355939   ANA         ANDRADE                   CA          90012180673
4B44415364B271   ELY         MONTOLLA                  NE          90014771536
4B444728391569   DARLEEN     DOMINGUEZ                 TX          90014637283
4B444984351382   BERNARD     BRIGITTE                  OH          66061999843
4B445126941451   PAYGO       IVR ACTIVATION            WI          90014771269
4B445297871999   DANIEL      MC DONALD                 CO          90014032978
4B445851451382   MICHELLE    MARTIN                    OH          66059938514
4B445AAA872B36   TONYA       SHUOER                    CO          90010530008
4B446181691988   LATOYA      RAY                       NC          90011611816
4B44627112B27B   CARLA       GARLAND                   DC          90014152711
4B446448A4B271   RAY         JONES                     NE          90000284480
4B44668527B694   ANDREA      BRIDGES                   GA          90014786852
4B447557755951   DANIELLE    GARCIA                    CA          90006825577
4B447785A72B4B   WAYLON      WARR                      CO          90013297850
4B44791955B52B   SOTERO      SALCIDO-SILVA             NM          36057729195
4B447A8A85B174   SHALICIA    HOLLISTER                 AR          90011110808
4B44814325B174   DENOTRA     SPEED                     AR          90008111432
4B448367651383   FELIPE      GARCIA                    OH          90014813676
4B44841A351383   KENYA       CHENAULT                  OH          90014794103
4B44868485B58B   MARY        SEDILLO                   NM          90009146848
4B44915145B52B   CHANDAL     LIKE                      NM          90011401514
4B44953573B33B   WENDY       BRAMLET                   CO          90001455357
4B449A35161963   MARIA       AGUILA                    CA          46061740351
4B44B525451383   JOHN        PEOPLE                    OH          90010385254
4B44B72153168B   MISTY       STEVENS                   KS          90014627215
4B44B762191351   KRYSTAL     OLDHAM                    KS          90015167621
4B44B77412B935   ALEXIA      GARCIA                    CA          90014747741
4B451164393794   DANITRA     BROWN                     OH          90012371643
4B451448A4B271   RAY         JONES                     NE          90000284480
4B451452984368   MARIO       RIDRIGUEZ                 SC          14534124529
4B4514A1351383   PILAR       TARBER                    OH          90014794013
4B452363371999   MARIE       TUTTERROW                 CO          38066793633
4B45263355B56B   HEATHER     GARCIA                    NM          90014586335
4B45264975B53B   AMANDA      VANOSTRAND                NM          90009656497
4B452681651334   HEATHER     MICHEL                    OH          90012766816
4B452937672B4B   RENAE       JOHNSON                   CO          90014869376
4B453213972B51   JOAQUINA    APARICIO                  CO          90007452139
4B453454851383   MERANDA     CAMPBELL                  OH          90006494548
4B453491151382   CHANDURA    NUBY                      OH          90002824911
4B453511961967   ROBERT      CHIPLEY                   CA          90002055119
4B453787291569   BRIANDA     BAILON                    TX          75071897872
4B4537A4A72B4B   DIEGO       QUIJADA                   CO          90011137040
4B453A27A8B16B   COREY       WINEGAR                   UT          90000320270
4B454297561963   MARIA       CASTILLO                  CA          46067942975
4B454512951334   LISA        CALHOUN                   OH          66025765129
4B454651A72B36   MARIA       ESPARZA                   CO          33094786510
4B454A76441258   MELISSA     KISNER                    PA          90003140764
4B455322561963   DANIELLE    HENDERSON                 CA          90013143225
4B455545872B43   APRIL       GRAHAM                    CO          90012815458
4B45568925B395   KARLA       HERNANDEZ                 OR          90010726892
4B455691324B7B   ANGELO      SNIDER                    DC          90013386913
4B4559A6471999   TRISH       BROWN                     CO          38091069064
4B456346191569   GILBERT     SALCIDO                   TX          90007653461
4B45634A55B174   TOIYA       COLEMAN                   AR          23076963405
4B4563A715B222   ANDY        PARRISH                   KY          90014983071
4B45672A241258   JOSEPH      DESABETINO                PA          51014127202
4B457169551383   BRIAN       CASTILLO                  OH          90011241695
4B45718428B16B   JEREMY      DURAN                     UT          31071041842
4B457776191527   GILBERTO    GARCIA                    TX          75001097761
4B45792A155939   IVAN        ANDRADE                   CA          90011389201
4B45813448B16B   HAKEEM      KHAN                      UT          90012751344
4B458A57947954   LOURDES     RUEDA                     AR          90015010579
4B45911625B271   DANIEL      BECK                      KY          90014231162
4B459313871999   CHRISTINE   WELKER                    CO          90006903138
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4B4593A6247954   LEONIDAS     ALVARADO                 AR          25011963062
4B45956318B187   BRYANT       SEARLE                   UT          90005955631
4B45956655B52B   JESSICA      TAYLOR                   NM          90013885665
4B459575191873   LOPEZ        MISAEL                   OK          21062725751
4B459917591569   CESAR        AQUIRRE                  TX          90005479175
4B45B28265B52B   JORGE        CARRILLO                 NM          90012082826
4B45B555484368   ABDEL        DIAZ                     SC          90015595554
4B46115755B174   KAYLA        GREER                    AR          90011111575
4B461322561963   DANIELLE     HENDERSON                CA          90013143225
4B461342791351   CONCEPCION   LUNA                     KS          29069783427
4B46183468B187   MONICA       GONZALES                 UT          31073668346
4B462A12972B4B   JULIO        HERNANDEZ                CO          33009110129
4B462A98455939   RICHARD      ROMERO                   CA          90013940984
4B46325945B174   ANGELA       CULLIPHER                AR          90014632594
4B46336775B53B   LEANNE       JIRON                    NM          35051893677
4B463545691351   DANIEL       VEGA                     MO          90013695456
4B4636A4571934   WENDY        ALLEN                    CO          32026126045
4B46386625597B   LUIS         JAVIER                   CA          90009338662
4B46391495B222   BUFFY        SCHMIDT                  KY          68094679149
4B4639A1291988   REYNALDO     HERNANDEZ                NC          17051529012
4B46443215B523   AMY          HORTON                   NM          35016954321
4B4645A485593B   JEROME       HARRIS                   CA          90012645048
4B464A3585B271   ALICIA       TAYLOR                   KY          90008330358
4B46534454B271   SHANE        BROOKS                   IA          90010403445
4B465759561967   CHISTINA     PRECIADO                 CA          90007137595
4B4658A9751382   HENRY        KNIGHT JR                OH          66038558097
4B46596353B394   SHAD         HARSH                    CO          90007909635
4B465A34A51335   BETHANIE     HAWKINS                  OH          90014750340
4B466237861967   MARGARITA    ARECHIGA                 CA          90010602378
4B466715871999   KERRY        SPILLMAN                 CO          90011287158
4B46733435B53B   LITA         CASTILLO                 NM          35033143343
4B46755295B52B   GABRIEL      VARGAS                   NM          90014715529
4B46767A78B16B   EARL         HARDMAN                  UT          31062306707
4B4676A2A71934   JAZMINE      GIBSON                   CO          90010486020
4B467A1417B694   BRIAN        MORRIS                   GA          90015180141
4B4685A7791351   BAWI         KUNG                     KS          90014065077
4B46861985B174   STACIE       WALKER                   AR          90002356198
4B469174A91569   GUADALUPE    KENDRICK                 TX          75086591740
4B469276961968   AMADO        BARRERA                  CA          90013312769
4B4694A935597B   DAVID        TRUJILLO                 CA          49096334093
4B469A5145B271   ARMANDO      FLORES                   KY          68053290514
4B46B122A71999   DAMIAN       GARCIA                   CO          38092521220
4B46B792572B43   MARY         TIDWELL                  CO          33060557925
4B46B97548B16B   ISIDORE      MONTANO                  UT          31060189754
4B46B999222432   MOLLY        HENDERSON                 IL         90006689992
4B46BA84255939   ARNOLDO      DIAZ                     CA          90013940842
4B47146624B271   ARLICIA      MARSHALL                 NE          90014694662
4B471471293794   RAYNA        ALBURY                   OH          90000124712
4B47148193364B   ANGEL        ROBINSON                 NC          90013934819
4B47179428B355   SGARNECIA    REAVES                   SC          90013347942
4B471825272B4B   KRISTY       ORTEGA                   CO          33028978252
4B47226A24B271   GODINEZ      JUAN MARTIN              NE          27013252602
4B47286584B531   PENELOPE     GRIDER                   OK          90001708658
4B473111684368   ENRIQUE      VEGA                     SC          90005001116
4B47313A75B541   LAUREN       GAUDETTE                 NM          90011241307
4B473372261968   JENNIFER     DAVIS                    CA          90011353722
4B473777255939   CHRISTINA    FRAGUEIRO                CA          90012827772
4B473915171946   IRIS         SUYAPA                   CO          32067049151
4B474323691351   WILLIAM      LUNN                     KS          90012603236
4B474593A51334   RASHAN       MURPHY                   OH          90014095930
4B474847951382   MARIA        PICEN                    OH          90014768479
4B475145571999   MARK         BALLOU                   CO          90014861455
4B47519A98B16B   SHEILA       AVILA                    UT          90001121909
4B475341861963   BRANDON      LAWRENCE                 CA          90013143418
4B475445551383   CARLOS       GARCIA                   OH          90014794455
4B4755A3491988   JOSE         VERASTEGUI               NC          17063655034
4B475712771934   REMINGTOM    SOULIA                   CO          90015177127
4B475714472B4B   STEPHANIE    PEREZ                    CO          90011137144
4B47589925B271   MYESHA       GRAHAM                   KY          90006678992
4B475962993794   RODNEY       FOOCE                    OH          90010119629
4B475A63141258   ELIZABETH    JELOVICH                 PA          51079130631
4B475A77551383   TAQUISHA     KENDRICK                 OH          90014840775
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4B47616515597B   SHAWN         HARGROVE                CA          90002191651
4B4763A578B165   GUADALUPE     LOPEZ                   UT          90009313057
4B47671A19152B   ISAAC         MARTINEZ                TX          90007907101
4B476842284368   BARBARA       YOUMANS                 SC          90012098422
4B477357891351   ANA           RANGEL                  KS          29076693578
4B477547661968   ASHLEY        A VERDUZCO              CA          90000575476
4B47772495B223   CHAMARI       HAVARD                  KY          68010607249
4B477796391523   VIVIDIANA     FLORES                  TX          75054927963
4B47835765B174   CHIFFON       EXSON                   AR          23098713576
4B478631872B36   KEITH         ELLIS                   CO          33008846318
4B478695161967   PRENTICE      BYRD                    CA          46014766951
4B47894AA3168B   ELSA          VENTURA                 KS          22079119400
4B47914A38B16B   SELAM         DICKERSON               UT          31085161403
4B479785372B4B   DYLAN         DAVEY                   CO          90013297853
4B47B33683168B   MALLORY       WEDEL                   KS          90013983368
4B47B369551382   TAMEKA        CHRISTIAN               OH          90009523695
4B47B434351383   SHANNON       STAFFORD                OH          90014794343
4B47B45A751334   TAMMY         DAY                     OH          90000414507
4B47B85935B55B   DAVID         SALAS                   NM          90011178593
4B481415471999   BENNY         VALDEZ                  CO          90013604154
4B48153495B58B   PENNY         DAVIS                   NM          35033425349
4B481928661967   MARIA         CABRERA                 CA          90004929286
4B482853973298   ANDREW        STANOWSKI               NJ          90013788539
4B482884851382   DWAYNE        DAVIS                   OH          90014668848
4B482981472B4B   CHRISTOPHER   REHM                    CO          90013259814
4B482A3585B271   ALICIA        TAYLOR                  KY          90008330358
4B48324235B223   ZACHARY       WHITE                   KY          90006332423
4B484139471934   ZACHARY       STOVER                  CO          90011291394
4B484289791873   DAKOTA        NICHOLS                 OK          90013972897
4B48441382B87B   ISAIAH        RAMIREZ                 ID          90010804138
4B48467175B53B   ALFREDO       QUINONES                NM          90006556717
4B484726691569   RODOLFO       RAMIREZ                 TX          75068517266
4B48496735B52B   RUBEN         GARCIA                  NM          90006199673
4B48517825B58B   JIMMY         HERNANDEZ               NM          35043521782
4B485865772B43   SHONETTA      COOPER                  CO          90014848657
4B486389A93794   ELIZABETH     TOMLINSON               OH          90014563890
4B486713293741   FREDRIX       SAVORS                  OH          64593297132
4B486883891873   MARSHAYLA     ROBINSON                OK          90014098838
4B486A1815B271   FRANSHESCA    NIEVES                  KY          90013480181
4B48745A151383   AMANDA        CIONE                   OH          90014794501
4B487858972B43   JOSHUA        GARDUNO                 CO          90012928589
4B488419261968   LETICIA       CORREA                  CA          46097244192
4B48842462B87B   JAMES         PECOR                   ID          90006324246
4B48845295B53B   PATRICIA      BARTLEY                 NM          90010124529
4B488691147954   DIANE         ASBURY                  AR          25028886911
4B4889A9448B23   ELI           MILLSTEIN               CO          90000899094
4B489111393794   ORLANDO       RODRIGUEZ               OH          90007621113
4B489116891988   DAPHINE       DAVIS                   NC          17095691168
4B489558472B4B   ANGEL         WLATHER                 CO          90001845584
4B489661172B36   JUAN JESUS    ESPARZA                 CO          90013206611
4B489726791351   LUIS          NOBLE                   KS          90009827267
4B48985418B165   AARON         PITCHER                 UT          31039338541
4B48B137291873   SORAYA        WRIGHT                  OK          90005561372
4B48B767A6B275   JOE           SIMS                    AZ          90014017670
4B48BAA1A5B174   ALLEN         CLARENCE                AR          23050340010
4B491143755939   EVERETT       JACKSON                 CA          90013941437
4B491211491324   JENNIFER      SANBORN                 KS          29027162114
4B491759347954   SANDRA        GAMEZ                   AR          90012837593
4B4922A7893794   LIL MAMA      WILLIAMS                OH          66049202078
4B492339191569   YVETTE        GONZALEZ                TX          75095753391
4B492344191523   LORENA        VENEGAS                 TX          75054933441
4B492483791834   JOHN          HOWLEY                  OK          90012204837
4B493351393794   HEATHER       ROSENWIRTH              OH          90011083513
4B493535755939   VICTORIA      GONZALES                CA          49073105357
4B49369495B53B   LUCERO        CHAVEZ                  NM          90012986949
4B494565647954   ODALIS        MEZA                    AR          90011515656
4B49467555757B   ALEXANDRA     TORRES                  NM          90014016755
4B494795A5B52B   MARIA         MUNOZ                   NM          90011957950
4B495317A91351   CEDRICK       CARTER                  KS          90010403170
4B49536575B52B   MARIA         MIRAMONTES              NM          90012493657
4B4955AA82B87B   JAMIE         TEATER                  ID          41083945008
4B49569765B53B   BRITTANY      PASQUAL                 NM          90013006976
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4B495959751382   JESSICA         EDISON                OH          66080069597
4B497124651334   KENNEY          HAMMONDS              OH          66093701246
4B4971A175B58B   MARIA           GARCIA                NM          90013781017
4B49725955B271   DECARLOS        THOMAS                KY          68040212595
4B497455151383   KEVIN           BLANTON               OH          90014794551
4B497465472B32   STEVE           WITUCKI               CO          90012604654
4B49791115B523   JEROME          MEDINA                NM          90010739111
4B49791884B271   DECIA           WALKER                NE          90011399188
4B498457351383   TRAVIS          RUSSELL               OH          90014794573
4B498611171999   JOSEPH          MUNIZ                 CO          38034516111
4B49864834237B   MARCUS          MOORE                 GA          90015386483
4B499474691873   EBONY           LYNCH                 OK          90014004746
4B4999A895B271   MELISSA         SMITH                 KY          90010429089
4B499A43261968   FEDDY           NIETO                 CA          46071900432
4B49B13515B52B   CONSTANCE       LUJAN                 NM          90002721351
4B49B887261968   LAWRENCE MARK   PUSEY                 CA          90012848872
4B4B1239951383   JENNIFER        LAY                   OH          90013452399
4B4B155815B389   DANIAN          TOWNER                OR          44577795581
4B4B1627172B32   IRMA            ROBLES                CO          33006936271
4B4B179515B523   JOSEPH          ARRIETTA              NM          90005997951
4B4B181253B343   NORMAN          JONES                 CO          33048848125
4B4B2456A61963   REBECCA         DECORSE               CA          90010904560
4B4B248355B271   SEBASTIAN       VASQUEZ               KY          90008484835
4B4B2522193794   CHUCK           MILLER                OH          66052175221
4B4B259315B53B   YAMIRA          JIMENEZ               NM          90009195931
4B4B2644A8B355   FAUNA           LLANES                SC          90011866440
4B4B2735A51382   EUGENE          ARNOLD                OH          90010587350
4B4B29A6571946   TRIPP           DANIEL                CO          32000279065
4B4B31A6693794   MICHAEL         MONTEITH              OH          66005381066
4B4B37A652B87B   PAUL            MUELLER               ID          41094267065
4B4B38A975B523   KAYLA           SALAZAR               NM          90005998097
4B4B434448B16B   JOSE            MEDINA                UT          31097063444
4B4B4747A8B355   TYRELL          FOSTER                SC          90015347470
4B4B4A1788B185   MARIA           DIAZ                  UT          31042540178
4B4B526A83168B   MARTIN          NEUFELD               KS          90012602608
4B4B5669A5B58B   THOMAS          JONAS                 NM          90004266690
4B4B6197272B4B   MARYAN          ABDI                  CO          90003721972
4B4B63A4791351   ANGELA          DANIELS               KS          90012993047
4B4B6565751383   JUDY            GILLIG                OH          90013075657
4B4B7662984332   DONNA           RIVERA-RENTAS         SC          90012196629
4B4B7667A2B27B   CHERYL          CATER                 DC          90001316670
4B4B773797B694   MILTON          HUBER                 GA          90014857379
4B4B7893247954   MELISSA G       LINDSY                AR          90014158932
4B4B7A9578B355   JOSEPH          RIVERA                SC          90011870957
4B4B8564272B33   BERNADETTE      SISNEROS              CO          90013245642
4B4B866877B694   STACEY          TODD                  GA          90010996687
4B4B8A55171934   MARY            ENGLISH               CO          90011530551
4B4B91A1655939   ALFREDO         GONZALEZ              CA          90011541016
4B4B9343293794   NATHAN          JOHNSON               OH          90000123432
4B4B9A9635B52B   CHRISTOPHER     LUCERO                NM          90011520963
4B4BB141561963   JOSE ISRAEL     PORTILLO              CA          90014121415
4B4BB14955B52B   SEAN            WYNNE                 NM          36085021495
4B4BB931291569   ARICHELL        ORTEGA                TX          90013869312
4B511363361968   JASMINE         AVILA                 CA          46035873633
4B51171A691569   JOANN           ORRANTIA              TX          90013877106
4B511932284368   FRANCISCO       ORTIZ                 SC          90015139322
4B512289861968   ANABEL          SANCHEZ               CA          46000292898
4B512495251383   ARISSA          ROBINSON              OH          90014794952
4B512A14972B47   SANDY           ICKE                  CO          90011530149
4B51313845B271   GEORGE          COMPTON               KY          90015051384
4B51319285B52B   CELIA           MARTINEZ              NM          90001091928
4B5131A2977336   NATALIE         MYERS                 TX          90007211029
4B513277472B4B   ADAM            TISCH                 CO          90011792774
4B513469972B43   JUAN            ROBLES                CO          33048304699
4B513554171999   ETHAN           GILL                  CO          38014565541
4B513729942339   MARVIN          THORNBROUGH           GA          90013517299
4B513A3714B271   ROSA            ORTIZ                 NE          27098610371
4B51412645597B   VANNESA         CASTANEDA             CA          90010621264
4B514356161963   RAMON           PINAL                 CA          46061903561
4B514373171934   ARTURO          GALAVIZ               CO          90015183731
4B514482793751   BRANDI          REYNOLDS              OH          90009964827
4B51487A491873   LARRY           MOORE                 OK          90007608704
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4B515161171934   DOROTHY        DAY                    CO          90015201611
4B51526A25B52B   SANDRA         MONTOYA                NM          90012502602
4B515541591988   TODRA          THORNTON               NC          90008435415
4B515876955939   PRELTYFLOWER   DELGADO                CA          90013698769
4B516161171934   DOROTHY        DAY                    CO          90015201611
4B5162A9A2B275   DARRRYL        DOWTIN                 DC          90012012090
4B516596951383   JOE            FROST                  OH          90013605969
4B5166A279126B   RICHARD        COLEMAN                GA          90012646027
4B516AA6961963   AUDIE          ROESELER               CA          90014930069
4B517371872B36   HUGO           DIAZ                   CO          33085603718
4B51741895B53B   MICHAEL        FISHER                 NM          90013044189
4B517472171999   DIOSONE        GEONZALES              CO          38064994721
4B517696A71934   JHONNY         LOPEZ                  CO          32033476960
4B517A75191569   CARLOS         PEREZ                  TX          75048430751
4B51828768B16B   ANCHULEE       SOUKNARY               UT          90014092876
4B518399191873   JESSICA        DUNHAM                 OK          90009653991
4B518596951383   JOE            FROST                  OH          90013605969
4B518761933695   TINA           MORTON                 NC          90014697619
4B5187A9961967   MARY           JONES                  CA          46070477099
4B51883A991569   MANUEL         ACEVEDO                TX          90012068309
4B518985872B36   ELENA          GAMBOA                 CO          90013759858
4B519331661963   FRANK          GOMEZ                  CA          46032803316
4B51943698B185   COLBY          CROWTHER               UT          90001434369
4B519478161968   MONA           ROJAS                  CA          90013304781
4B519972A41258   JONATHAN       MAYHEW                 PA          90007099720
4B519A1A25B53B   MIKE           RAMOS                  NM          90013030102
4B519A47991569   CLAUDIA        SAENZ                  TX          75020280479
4B51B13595B271   DJ             WILSON                 KY          90015051359
4B51B3A435597B   RUBY           CHAVEZ                 CA          90009623043
4B51B4AA572B43   JOHNNY         WISON                  CO          90006504005
4B51B8A9A72B36   JUAN           RIVERA                 CO          90014158090
4B51BA5A291394   HALEY          EISENHOWER             KS          90004170502
4B521114891569   LAURA          SOLIS                  TX          75034761148
4B521518461967   BERENICE       SANCHEZ                CA          46014825184
4B521A2A72B87B   MELISSA        CROWE                  ID          90014510207
4B52246335B223   JASON          DOWNEY                 KY          90014514633
4B52255185B223   JASON          DOWNEY                 KY          90005405518
4B522567A91394   ELIGIO         ESCALANTE              KS          29097205670
4B522726872B43   ARCELIA        ALDANA                 CO          33079567268
4B52274465B271   CHAUNCEY       JONES                  KY          90009847446
4B5227A7A5B53B   TANARAE        ROMERO                 NM          35096827070
4B52319A972B43   MICHELLE       MONDRAGON              CO          90012191909
4B523616393794   KONI           ADAMS                  OH          66031266163
4B523739591569   NORA           ALONZO                 TX          90010857395
4B52374233B35B   ERNEST         KOSAREK                CO          33091177423
4B524199371934   MARLENE        DARDEN                 CO          32087091993
4B524443873298   TODD           DEMOTT                 NJ          90014624438
4B524814791569   ADRIANA        VILLALOBOS             TX          75072018147
4B524965261953   KHALIEB        HAIGAER                CA          90009929652
4B52518722B87B   APRIL          BAUMGARTNER            ID          90006721872
4B525228A61968   HARRY          BROSTEDT               CA          90014612280
4B525267A72B4B   DAWN           HOWE                   CO          33009352670
4B525528451383   ROBERT         HUDSON                 IN          90014795284
4B525558991988   FRANCISCO      PADIMA                 NC          90013685589
4B52594A85B53B   DAVID          BARRESI                NM          35076809408
4B52625A491394   TYCHELLE       COLEMAN                KS          90010762504
4B526382951383   SUSAN          SHOEMAKER              OH          90014813829
4B526651991988   AISHA          SANDERS                NC          90014756519
4B52677A96B275   JOE            SIMS                   AZ          90014017709
4B5269A652B27B   BESSIE         DAVIS                  DC          90011449065
4B527122661967   FABIAN         GONZALEZ               CA          90010781226
4B5278A1872B36   SHANE          MONTROY                CO          90010078018
4B52815715B395   SETH           GREEN                  OR          90010871571
4B5282A2991873   SHERRIE        PENBERGRAPH            OK          21051592029
4B528535347954   VINCENT        BULLOCK                AR          90012585353
4B528712691569   ANDRES         HERMOSILLO             TX          90013877126
4B528818455939   JOSEPH         ELIZONDO               CA          49015598184
4B529114151383   ALEASHA        MICHELLE               OH          90014681141
4B529144851382   JUSTIN         BEARD                  OH          90013121448
4B529A4385B526   JEANETTE       SANCHEZ                NM          90011990438
4B529AA425B53B   SERGIO         VALDEZ                 NM          90015060042
4B52B549391988   KEVIN          HENRY                  NC          90013145493
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4B52B735193794   KELLY             WILLIAMS            OH          90004887351
4B52B869155939   JUAQUIN           GONZALEZ            CA          49087408691
4B52BA66155951   EMIGDIO           VAZQUEZ             CA          90003200661
4B53139648B355   LISBETH           ROSARIO             SC          90012473964
4B531485171934   RAINBOW           RILEY               CO          90014294851
4B531721A71934   RAINBOW           RILEY               CO          90010487210
4B531728933632   RONNIE            COVINGTON           NC          90003017289
4B531899761968   ALEJANDRA         VILLATORO           CA          46075438997
4B53214595B271   ASHLEY            COLVIN              KY          90015051459
4B53218668B355   FRANCINA          DANTLER             SC          90008551866
4B532263371999   ALEXANDRA         ROMERO              CO          90007112633
4B532732472B4B   NICKOLAS          FLORES              CO          90012907324
4B532967851382   ROBERTO DEL FIN   DIAZ                OH          90014669678
4B532A19A8B185   FREDDY            GAJARDO             UT          31097620190
4B533545391351   MARI              ZAMORA              KS          90014875453
4B53385775B222   MICHAEL           MILES               KY          90012478577
4B5339A3872B36   WILLIAM           CHAVIS              CO          90013749038
4B534287291982   WILBER            FERNANDEZ           NC          90009392872
4B53434798B123   ANDREW J          LEE                 UT          90000803479
4B53462665B264   SHERITA           PARR                KY          90006496266
4B534637355939   VICTOR            MENDES              CA          90010926373
4B534895584368   STEVE             KENYON              SC          14538518955
4B53544358B187   SHELLY            CAMARA              UT          90005994435
4B53552445B271   VATACIA           PARKER              KY          68069205244
4B5357A2A5B395   SAROJNI           KUMAR               OR          90007977020
4B535838861963   NORA              CORTEZ              CA          90003138388
4B53585519155B   MICHELLE          SAENZ               TX          90004688551
4B5362A162B27B   STEPHANIE         THOMAS              DC          90004362016
4B5364A4572B39   JAIME             ANDRADE             CO          90000114045
4B536622351334   SIERRA            PATTERSON           OH          66093196223
4B536727972B4B   SIWESTI VIOLA     GILLEY              CO          90011137279
4B53673765B271   TYNEKA            ELLIOTT             KY          68007887376
4B536742191873   YLONDA            DREW                OK          90011517421
4B536A3A18B16B   LEDNAC            AGUILERA            UT          90011620301
4B5376A2991351   UFORD             LINDSAY             KS          90003896029
4B53775955B53B   ANN               HUBBLE              NM          35008717595
4B537779261963   BRIANNA           RAMIREZ             CA          90014937792
4B538491691988   ALBA              LUZ                 NC          90009884916
4B5386A5891569   JULIO             GARCIA              TX          90012666058
4B539192791394   JULIO             MARTINEZ            KS          29007451927
4B539788261968   ROBERT            WEEKS               CA          90004737882
4B539796171934   ROSENDO           RAMIREZ             CO          32091047961
4B53B28778B165   JANET             WEECH               UT          90005912877
4B53B36248B16B   VICKY             LYNN                UT          90008113624
4B53B83692B935   FABIOLA           PADILLA             CA          90001798369
4B53B87358B187   JO                EDDY                UT          90006528735
4B53B87818B185   SANDY             ACOSTA              UT          31057218781
4B54151625B174   BOYCE             BURNS               AR          90014485162
4B541648961967   OLIVA             GARCIA              CA          46010516489
4B54169A293794   JAMES             HUDSON              OH          66070216902
4B541973A61968   ANTONIO           CHAVEZ              CA          90010519730
4B542164872B43   DANNY             HILVERDING          CO          90005901648
4B542319961968   KAREN             ALLEN               CA          46000303199
4B54262665B174   STANLEY           TURNER JR           AR          90010256266
4B542981171999   CARRIE            CREAPO              CO          38080869811
4B54298345B58B   DORA              DUARTE              NM          35075399834
4B543181561968   BERNA             LARIOSN             CA          90011991815
4B543648A8B16B   BREANNA           CONWAY              UT          90014716480
4B543921891873   BROOKE            MAXEY               OK          21094299218
4B54423A272B36   LEONEL            IBARRA              CO          90010042302
4B54455A78B355   CARLOS            ROMERO              SC          90003835507
4B544681971934   JASON             RICE                CO          32017106819
4B5447AAA55939   RECHEAL           BROWN               CA          49095767000
4B544A37571946   CYNTHIA           PARTIN              CO          90003150375
4B545125A4B271   VERONICA          JOBB                NE          90013241250
4B545232951334   GERSON            ROBLERO             OH          90010402329
4B54525515B53B   DIANE             MUNIZ               NM          35015582551
4B545255651383   MICHAEL           TAYLOR              OH          90008032556
4B5456A1524B3B   LILIAN            JURADOLARA          VA          81057206015
4B545828872B36   GEORGE            REEZES              CO          90010408288
4B5459A425B58B   URSULA            BEGAY               NM          90014279042
4B546324793794   PAMELA            KEHRING             OH          90013223247
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2221 of 2500


4B546681551383   MELANIE     GAINES                    OH          90008356815
4B546719A91873   HEAVEN      AUGUST                    OK          90013377190
4B54675855B523   ANGEL       FERNANDEZ                 NM          90013767585
4B547111661963   CARMEN      HERNANDEZ                 CA          46057221116
4B54716A75B271   ANITA       WELLS                     KY          90008331607
4B547348571999   LOUISE      RUYBAL                    CO          38098903485
4B54739864B271   LISA        JOHNS                     NE          90003853986
4B547692271934   JUANA       LANZAS                    CO          90015046922
4B547872893794   JAN         GRIFFITH JR               OH          66023408728
4B548137471934   JANAY       SANDERS                   CO          90001711374
4B5484AA191523   LUPE        LIMON                     TX          75055444001
4B548726193794   DIANA L     EHLERS                    OH          66045977261
4B548A38355939   GRISELDA    MORGAN                    CA          49042660383
4B54926983168B   JANIE       WEBER                     KS          22040892698
4B54942A761994   THOMAS      JOHNSTON                  CA          90005864207
4B549536555939   ANISHA      QUINTEROS                 CA          90014825365
4B549557161967   FETULI      AGAU                      CA          46094815571
4B54B13A384368   ALEJANDRO   ESTRADA MARTINEZ          SC          90012831303
4B55122265B223   OLIVERIO    RODRIGUEZ                 KY          68015542226
4B551235871999   CRYSTAL     WEST                      CO          90010622358
4B551589751334   MARCUS      SHIFFLETT                 OH          90014585897
4B551724A5B52B   EDGAR       AVILA PEDROZA             NM          90011057240
4B551AA4772B4B   VICTOR      RODRIGUEZ                 CO          33068800047
4B55215942B27B   NYGARI      OTTLEY                    DC          81029091594
4B553829584368   SAMUEL      BONILLA                   SC          90003948295
4B553857961968   APRIL       HORVATH                   CA          90015188579
4B5539A1291569   ADRIAN      GARCIA                    TX          90009609012
4B553A78361925   JULIA       OCAMPO                    CA          90002490783
4B554368661963   ROSALBA     MILLAN                    CA          90001523686
4B55543A12B87B   GEORGE      BERNARD                   ID          41075674301
4B5556A7271999   FRANK       ROLDAN                    CO          38051396072
4B55622665B58B   JESSICA     MASTRONARDI               NM          35081112266
4B55695278B355   JAMIE       PAUL                      SC          90014809527
4B55718232B583   KEVIN       COOPER                    AL          90015441823
4B55751A755939   ROSA        ANGULO                    CA          90012375107
4B5579A7772B43   MARIA       SAMANIEGO JUAREZ          CO          33064209077
4B558254741258   ANITA       WALSH                     PA          90007962547
4B558411271999   ESPERANZA   SENA                      CO          90014874112
4B55857257B694   BILLY       BRADFORD                  GA          90014775725
4B55865AA47954   MICHAEL     COZZAGLIO                 AR          25098606500
4B558736A71934   CITLALI     CASTILLO                  CO          32030767360
4B558752871999   KATTIE      GLESON                    CO          90015527528
4B55891835B174   ANGELA      HOLLADAY                  AR          90014449183
4B559536191873   JEFFERY     SOSSIN                    OK          21082865361
4B55985265B395   ROBERT      COFFIN                    OR          90010738526
4B559A3245B58B   JULIE       MOSHTER                   NM          90012800324
4B55B176155939   NINA        YOUNG                     CA          90013411761
4B55B42A391988   JAYMIE      HAMMIEL                   NC          17038664203
4B55B587A51382   BONNIE      DAUGHERTY                 OH          90014185870
4B561485384368   MARIA       DE LOS REMEDIOS           SC          14502864853
4B56161348B183   DAGAN       BOURP                     UT          90014936134
4B561692A47954   ANTHONY     WALTON                    AR          25012676920
4B5623A1371934   LOUIS       MARTINEZ                  CO          32098793013
4B562589361963   ALEJANDRO   ARELLANO                  CA          90008775893
4B562693593794   RILEY       BAKER                     OH          90015246935
4B563147772B43   DEMON       BYRD                      CO          90014771477
4B56341A54B547   CAROLYN     OFORI                     OK          90010774105
4B56353795B58B   CARLOS      LUCERO                    NM          35013115379
4B563972291351   CYNTHIA     LYONS                     KS          90008609722
4B5641A7655939   DEREK       PHINES                    CA          90014971076
4B564577271999   HARLEY      SANCHEZ                   CO          90014715772
4B56468495B174   TIFFANY     JOHNSON                   AR          90000866849
4B564716A55951   ERUBIEL     SALAZAR                   CA          90002077160
4B564AA6472B43   JESUS       REYES                     CO          90015150064
4B565458255939   RENE        REYES                     CA          49078644582
4B56575932B27B   BRIAN       LIMES                     DC          81054007593
4B56595A772B4B   LISA        STAWSKI                   CO          90012809507
4B565982747954   JACKELINE   MARTINEZ                  AR          90003749827
4B566254291873   LATOYA      BRADLEY                   OK          90014162542
4B56643163168B   ASHLEY      SAUCEDA                   KS          90014164316
4B56652472B27B   KHALIF      HENRY                     DC          90012545247
4B566929A31883   ANTONIO     MENDEZ                    LA          90015379290
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4B5673AA391569   JORGE       VILLANUEVA                TX          75086583003
4B567419471999   SIERIA      MOLDONADO                 CO          90013744194
4B567886A2B27B   OSCAR       MIRANDA                   DC          90009398860
4B5681A3A72B43   LEONARD     HARTNEY                   CO          90013151030
4B568235871999   CRYSTAL     WEST                      CO          90010622358
4B5683AA472B36   KATIA       GUTIERREZ                 CO          33009113004
4B568418991394   LISA        MARTIN                    KS          90007544189
4B568718A72B4B   ANGELICA    JAUREGUI                  CO          90008257180
4B568A8418B165   REED        FERRIN                    UT          31076180841
4B56B534361963   BRIGITTE    ELFMAN                    CA          90009535343
4B56B947971999   ERIC        AVALOS                    CO          38089529479
4B56BA2598B187   NICHOLE     MORSE                     UT          90010810259
4B57115435B58B   RAMIRO      MONTANEZ                  NM          35052831543
4B57124AA2B87B   JASON       HERR                      ID          41015032400
4B571832272B4B   MILICIA     GARCIA                    CO          90008288322
4B571997871999   ZACK        MAYO                      CO          90013419978
4B572243593794   CURTIS      WATSON                    OH          90015592435
4B573477172B4B   RAUL        GODOY                     CO          33023534771
4B573916A5133B   MARLYN      IVEY                      OH          90008519160
4B57463472B87B   THOMAS      ACKLEY                    ID          90013636347
4B574653161547   KATHERINE   OTTS                      TN          90015356531
4B57474A55B53B   MICHALE     LAWING                    NM          90013207405
4B574813461968   ANGELICA    MORALES                   CA          90013758134
4B574877872B43   ANITA       MAESTAS                   CO          90002678778
4B575262351383   JOSE        ANDRADE                   OH          90011242623
4B576147351382   ELIZABETH   FEAR                      OH          66017601473
4B576777991988   ANDRE       CALDWELL                  NC          17058057779
4B576784391351   MARTA       VILLALOBOS                KS          29085667843
4B57679655B55B   EMILY       LUJAN                     NM          90013967965
4B57691377B694   JARROD      ABLES                     GA          90014909137
4B576A79455928   DAWN        HEBERER                   CA          49049840794
4B5773A6791988   BERNARD     MOORE                     NC          90010793067
4B577796372B43   SHAWNA L    CDEBACA                   CO          90009907963
4B577A26747954   AMANDA      GEORGE                    AR          90014510267
4B578447231481   ADRIENNE    KIENTZY                   MO          90001004472
4B57847262B27B   LASADIE     REDDICK                   DC          90011434726
4B578539973264   STEVEN      COLE                      NJ          90014925399
4B578618661963   RODERICK    MOORE                     CA          90010276186
4B57861993168B   CARRIE      GUTSCHER                  KS          90013836199
4B57894929133B   MARILYN     THOMAS                    MO          90014309492
4B579132A51383   ANTROINE    EVANS                     OH          90004151320
4B57931A155951   ALVARO      HERNANDEZ                 CA          49015913101
4B579514691569   HILDA       ALVAREZ                   TX          75089345146
4B579542861968   HAYDEE      BELMONT                   CA          90013385428
4B5796A7971934   LORENA      VIANA                     CO          32059566079
4B579A21155939   RHONDA      SHACKELFORD               CA          90015340211
4B57B286347954   DANIELLE    SHAW                      AR          90011032863
4B57B376872B4B   MEGAN       KELLEY                    CO          33027233768
4B582144391873   MICHAEL     MORRIS                    OK          21004441443
4B582319261963   RAMONA      DIAZ                      CA          90011723192
4B582789261968   JOSE        ANTONIO ARTEGA            CA          46079647892
4B58399795B523   ANASTACIA   MEDINA                    NM          35045019979
4B583A87371934   LISA        SHAFFER                   CO          90002970873
4B584169551382   S           SMITH                     OH          90007461695
4B584446861968   TOMDIEL     GUY                       CA          46097864468
4B584564791988   IRIS        HARRIS                    NC          90013165647
4B584A23693755   LYNDSAY     WELLIFORD                 OH          90012740236
4B585343351383   SAMANTHA    SEXSON                    OH          90014803433
4B585471972B43   ESTAFFANI   RUANO                     CO          90010724719
4B5854A498B185   STEPHEN     SPARKS                    UT          90005424049
4B586276961968   AMADO       BARRERA                   CA          90013312769
4B5864A1A73264   BILLIE      CROW                      NJ          90012954010
4B586638422463   LAUREN      LUMPP                      IL         90015446384
4B586667455939   PRISCILLA   MORENO                    CA          90008026674
4B586919161963   HENRY       WALLACE                   CA          46033959191
4B58696792B27B   SECUNDINO   RAMIREZ                   DC          90015279679
4B586A75784368   LUCIA       ALVARENGA                 SC          90013750757
4B586A91651334   CHARLENE    HENSLEY                   OH          90005610916
4B58712625B52B   EVANILIA    MONRROY                   NM          90005601262
4B587449661963   MAGNOLIA    TIVAO                     CA          90006904496
4B587554A5597B   REVECA      ABAS                      CA          90004185540
4B587573271934   RACHEAL     AUGHENBAUGH               CO          90015215732
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4B587697355951   NATALIE     FLORES                    CA          49032316973
4B5877A5691988   SHERECE     MCNEIL                    NC          90011657056
4B58789948B155   MAGDALENA   GONEZALES                 UT          90001798994
4B588343351383   SAMANTHA    SEXSON                    OH          90014803433
4B588712961963   ARCELIA     CUELLAR                   CA          90008887129
4B588882284368   THOMASA     SOLIS                     SC          90010178822
4B58932A85B58B   CLARRISSA   SANCHEZ                   NM          90014033208
4B589739655939   SAMANTHA    RAE                       CA          90011527396
4B58B35693168B   HEATHER     KLAASSEN                  KS          90015343569
4B58BA7A351382   EBONY       STWART                    OH          90011940703
4B59116A184368   BRITTNEY    SMART                     SC          90005441601
4B591287555954   GYSSELLE    JIMENEZ                   CA          90011572875
4B5914A487B694   CHANTELLA   WOOD                      GA          90011714048
4B5921A672B27B   MICHAEL     NEAL                      DC          90002791067
4B59236665B395   CAMILLA     AL-ABDULLA                OR          44545723666
4B59236A84B271   APRIL       JACKSON                   NE          27057993608
4B593227A93794   JANSON      MAZE                      OH          90015602270
4B593384751334   PORTIA      WOODWARD                  OH          90013553847
4B59358715B222   TINA        WHITE                     KY          68002005871
4B59372A85597B   ESTEBAN     ROQUE                     CA          49039887208
4B593735471934   AMANDA      MORRISON                  CO          32028907354
4B5938A145B52B   DIEGO       VELASQUEZ                 NM          90012648014
4B593915972B4B   SANRA       DELGADO                   CO          33068789159
4B59424512B583   TYANGIE     DAVIS                     AL          90013952451
4B594858A5B926   LUIS        PACHECO                   WA          90015418580
4B595266693794   BRITTANY    VINUP                     OH          90014142666
4B5952A6461965   ANGELA      VENTURA                   CA          90001192064
4B596625493794   ANGELA      COPAS                     OH          90012866254
4B5966AA12B27B   WILIAM      MALLORY                   DC          90003836001
4B59697348B355   SCOTT       CLAPPER                   SC          90011479734
4B597144591394   MARIA       RUIZ                      KS          90011501445
4B597312971946   MICHAEL     OROSCO                    CO          90002513129
4B59746227B386   ROSA        GONZALES                  VA          81083414622
4B59778946198B   SYLVIA      GALVEZ                    CA          90007977894
4B59812888B355   YASMINE     NICHOLS                   SC          90004201288
4B59816565B52B   NUVIA       ALVARADO                  NM          90008311656
4B5982A2771934   MONICA      TINJERO                   CO          32071852027
4B598317693794   JUSTIN      WALKER                    OH          90014933176
4B59856938B16B   LEE         BEVERIDGE                 UT          31029565693
4B59933985B53B   DONALD      JARAMILLO                 NM          90013853398
4B59978435B52B   JOSE        PEREIRA-CARBAJAL          NM          90014057843
4B599A24193794   COURTNEY    BATHORI                   OH          66085860241
4B59B49968B185   RUSSELL     CLUFF                     UT          90003404996
4B59B749A5B58B   JUAN        CASTILLO                  NM          90008767490
4B59BA6825B271   STACEY      HINDMAN                   KY          90014240682
4B5B15A988B355   JOSELUIS    MORALES                   SC          90013315098
4B5B1681A91351   CONNIE      WYRICK                    KS          29091976810
4B5B1979A61963   MARIA       WAZIR                     CA          90014929790
4B5B2167A5B223   JENNIFE     LINDSEY                   KY          68013041670
4B5B263522B27B   GREGORY     CUNNINGHAM                DC          81012576352
4B5B317465B523   JOSE        MEDINA                    NM          35071971746
4B5B338298B165   BRENT       TAYLOR                    UT          31090553829
4B5B3892655951   MARCOS      MORENO                    CA          90001928926
4B5B4319293755   JEAN        NDAYISHMIYA               OH          64530043192
4B5B4487572B4B   DAVE        ESPINOZA                  CO          33020584875
4B5B469A272B43   JOCELYN     ARREDONDO                 CO          90007106902
4B5B4838771934   ROCIO       RAMOS                     CO          32063008387
4B5B495553146B   CHIKAKO     USUI                      MO          90011839555
4B5B514513168B   RAMOS       BENCOMO GUSTAVO           KS          90006541451
4B5B5345351334   SAM         DUNKER                    OH          90002793453
4B5B551498B355   JAIME       RIDLON                    SC          90010075149
4B5B576112B27B   IRMA        ESTELA                    DC          81089757611
4B5B6419551383   PHILLIP     WITTERSON                 OH          90012494195
4B5B643764B541   TERESA      POWERS                    OK          21573264376
4B5B6544A5B58B   ERNIE       ENCEE                     NM          90012615440
4B5B6A1548B165   CARLOS      ABELARDO                  UT          90007980154
4B5B777A25597B   HILDA       MUNGUIA                   CA          90005477702
4B5B7922893794   DENISE      ESTEP                     OH          90010869228
4B5B8619857126   JORDAN      REYES                     VA          90008906198
4B5B872A25B52B   ERICA       TREVIZO                   NM          90008287202
4B5B8772191988   ANGELA      HESTER                    NC          17080907721
4B5B89A9851382   JOSE        GOMEZ                     OH          90014669098
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4B5B956548B16B    MODESTO     TAPIA                    UT          90014855654
4B5B964214B271    BRUCE       SMITH                    NE          90006226421
4B5B9725572B36    CRISTINA    RODRIGUEZ                CO          33026677255
4B5BB145772B43    DORIS       WHITE                    CO          90014771457
4B5BB325231277    ADRIANA     HERRERA                   IL         90015143252
4B5BBA18384368    JOSE        ADAME                    SC          90010210183
4B5BBA1A72B27B    MELVIN      MONROE                   DC          90014970107
 4B611146991351   ASHLEY      JUNE                     KS          29037611469
4B61135627B456    DEBRA       HOPKINS                  NC          90015173562
4B61166445B174    SANA        ABDULLAH                 AR          90010826644
4B61168548B355    ANNA        TRIESTER                 SC          90013566854
4B61171A372B36    ZACHARY     LATHAM                   CO          90008327103
4B61198A15B53B    KEVIN       PACHECO                  NM          90004909801
4B611A3A191988    RODNEY      BURNETT                  NC          90014340301
4B612747272B43    FRANKIE     ORTEGA                   CO          90002507472
 4B612857351334   CHRISTINA   WEIL                     OH          90012368573
4B613789772B4B    MELANIE     SUTTON                   CO          33027277897
4B61424568B355    CHARLES     NEMETE                   SC          90006972456
4B61433625B53B    MARY        PINEDA                   NM          90010543362
 4B614436371999   NIKKI       MITCHELL                 CO          38086694363
4B6151AA42B268    MURPHY      POWELL                   DC          90001371004
 4B615722755939   RAMIRO      MIRELES                  CA          49047827227
 4B615928591351   ERICA       HOLLINGSWORTH            KS          29025479285
 4B615981391569   MIQUEL      CONTRERAS                TX          75092639813
 4B616385851383   LISA        HAND                     OH          90014803858
4B6171A268B355    TIFFANY     ALDRIDGE                 SC          90013871026
4B617A2544B271    SONJA       CAUDELL                  NE          27093380254
4B61826694B271    EMMANUEL    VILLALOBOS               NE          27080122669
4B61863585B53B    JOANN       GARCIA                   NM          90007956358
4B61886125B52B    CARLA       KONWIN                   NM          90012628612
4B61897A361967    CARLA       RIOS                     CA          90010859703
 4B619178955939   ANTHONY     HERNANDEZ                CA          49084481789
 4B619245155939   PEDRO       GUEVARA                  CA          49098712451
 4B619385851383   LISA        HAND                     OH          90014803858
4B61951248B16B    RACIEL      MONTOYA                  UT          90012835124
4B61967A741258    PATRICK     SHANAWAY                 PA          51095986707
4B61B112784368    OLGA        BINNS                    SC          90012181127
4B61B297491873    LINDSEY     DIGGS                    OK          90014402974
4B61B931571934    ASHLEA      VAMPLE                   CO          90013319315
4B61B995A5B52B    JOSEPH      TRUJILLO                 NM          90006719950
4B61BA84A61963    JESSICA     ESMERALDA                CA          90000210840
4B62112285B271    DINIECIA    BRECKENRIDGE             KY          90011231228
4B62166753168B    GAYE        SLAUGHTER                KS          22053336675
4B62186515B58B    EDWARD      CHAVEZ                   NM          90013188651
4B62196362B229    FRAZIER     JACKSON                  DC          90013699636
4B622425172B4B    YVETTE      RODRIGUEZ                CO          33013214251
4B6224A394B271    REBECCA     SAFARIK                  IA          90012724039
 4B622533361963   MEISHA      BOOTH                    CA          90010955333
4B6225A5391351    VICTOR      MERAZ                    KS          90013335053
 4B622932391988   ROBERTA A   BENJAMIN                 NC          90001069323
 4B623279671999   PETRA       KLOTH                    CO          90014592796
4B623567A71999    PETRA       KLOTH                    CO          90011475670
4B62365A824B7B    FABIAN      ESPINOZA PUENTES         VA          90013666508
4B623A1945B58B    DAVID       GILL                     NM          35078570194
4B623A93991569    LIZET       TREVIZO                  TX          75087160939
 4B624887151334   DAVID       WOLFER                   OH          66073118871
 4B625211491569   ROSA        RAMIREZ                  TX          90006662114
4B62591755B523    ROBERTO     LOMAS HUERTA             NM          35016989175
4B62595A472B4B    ROBERT      QUINLAN                  CO          33027279504
4B625A5584B271    DANIEL      MATA                     NE          90008050558
 4B626363171946   VICKI       GREENLEE                 CO          32033613631
 4B626469671934   JENNIFER    MEDINA                   CO          32070174696
4B62662A493762    KELLY       MANN                     OH          90008496204
 4B626813847954   CECILIA     CRUZ                     AR          90011438138
4B62686925B58B    LORRIANE    PONCE                    NM          90009068692
4B62711775B271    DARCIE      LATHERY                  KY          90003451177
4B62714A372B43    EDELMIRA    ORTIZ                    CO          33037701403
 4B627185551383   DAVIS       LOMBRE                   OH          66089111855
 4B627281461967   JONATHAN    HERNANDEZ                CA          90006312814
4B62747645B53B    CRYSTAL     ARMIJO                   NM          90006354764
 4B627748847954   MICHAEL     FORT                     AR          25033127488
4B62791755B523    ROBERTO     LOMAS HUERTA             NM          35016989175
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4B6279A967122B   MANUEL        CARRILLO                IA          90015379096
4B628117572B43   JOE           TAFOYA                  CO          33067221175
4B62814865B53B   CHARLES       BATES                   NM          35084981486
4B62829A371946   GUADALUPE     PEREZ                   CO          32018482903
4B62832452B27B   STEPHANIE     RAHMAN                  VA          90013683245
4B628454984368   JESUS         PERALTA                 SC          90014794549
4B6289A2184368   ROLANDO       RICO                    SC          90005209021
4B629197971999   LEANNE        BLACKBURN               CO          38006791979
4B629264A72B36   ANABEL        ROSALES                 CO          90007252640
4B629AA278B165   CHERI         MARTIN                  UT          31016340027
4B62B184A61968   MIGUEL        SANCHEZ                 CA          90013891840
4B62B763191527   QUICK AND     CLEAN MAINTANACE        TX          75035607631
4B63122915B52B   MELISSA       MARTINEZ                NM          90011112291
4B63154145B523   DEBORAH       GONZALES                NM          90006005414
4B631597447954   PATRICIA      HERNANDEZ               AR          90015215974
4B631735A5B52B   EMILO JESUS   FLORES                  NM          90014637350
4B63241615B271   TRACY         BLUE                    KY          90013734161
4B63284175B52B   RICARDO       CHAVEZ                  NM          90014408417
4B633331861963   CHERYL        PANGELINAN              CA          46064723318
4B63357A651383   BILLIE        GOODWIN                 OH          90014835706
4B63368455B52B   CYNTHIA       MONTOYA                 NM          36017616845
4B6338A9A91873   TANVIR        KHAN                    OK          90006108090
4B634151A91351   JOSE          LOPEZ                   MO          90014531510
4B63423945B52B   JUAN          LORENZO                 NM          36061352394
4B63433A791873   ALEXIS        STEPHENS                OK          90010713307
4B63445993B383   MELISSA       CHAVEZ                  CO          90014564599
4B63459985B174   DEWAYNE       MCLITTLE                AR          90014515998
4B634815A2B87B   ZACHARY       MILLER                  ID          90013518150
4B634948422463   ADRIANA       GALLEGOS                KY          90001879484
4B635451A5B53B   MANUEL        CHAVEZ                  NM          90004234510
4B63546824237B   MISTY         JONES                   GA          90013384682
4B635541A91351   ASHLEY        GUTIERREZ               KS          90010585410
4B635623872B4B   ERIC          BRYSON                  CO          33052166238
4B635A37571946   CYNTHIA       PARTIN                  CO          90003150375
4B635A8135B222   ALICIA        STONE                   KY          90009130813
4B63612865B58B   LEON          GARCIA                  NM          35084861286
4B63613A391569   RAMOS         JUAN                    TX          90009541303
4B636726472B4B   PERRY         STEVENS                 CO          90014717264
4B636A29261975   DAN           MONJARAZ                CA          90008680292
4B637178471999   TRINO         TIENDA                  CO          90007151784
4B637A4722B87B   RANDY         HOFF                    ID          90009760472
4B63844A491864   CHRISTOPHER   RHODES                  OK          90012824404
4B638692371999   GERALDINE     MONTOYA                 CO          90006926923
4B639169693794   WILLA         BART                    OH          90006361696
4B63922514B271   BILAL         ALI                     NE          90004202251
4B639442951334   JONATHAN      STEWART                 OH          90008594429
4B639A6485B271   STEPHANIE     HATCHETT                KY          90003450648
4B63B33115B523   ROBERT        CHAVEZ                  NM          35099003311
4B63B47142B27B   SHELLEY       RHODES                  DC          81058694714
4B63B5A574B271   LAUREL        NELSON                  IA          27090525057
4B64117698B16B   ABBY          GOFF                    UT          31035891769
4B641446372B43   CHRISTOPHER   CANNON                  CO          90012494463
4B641466372B36   ROBERT        VALQUIER                CO          33046224663
4B641517184368   PATRICIA      LOPEZ                   SC          14505415171
4B6415A423168B   SHANNON       SMITH                   KS          90009045042
4B64214145597B   CESAR         MORALES                 CA          49073391414
4B6423A218B355   DON           MASSEY                  SC          90009393021
4B6435A574B271   LAUREL        NELSON                  IA          27090525057
4B643851391351   ANA           GARCIA                  KS          29065898513
4B643853271999   AIOTEST1      DONOTTOUCH              CO          90015128532
4B644232A47954   HORACIO       RECINOS                 AR          90014112320
4B64433885597B   SHEENA        NETSER                  CA          49080153388
4B644659451334   AMY           STAMPER                 OH          66026636594
4B644718991988   LISA          LEE                     NC          17064987189
4B645331861963   CHERYL        PANGELINAN              CA          46064723318
4B645453A5B52B   RODRIGO       PONCE-ROMERO            NM          36008424530
4B64596235B53B   YANTSE        RAMIREZ                 NM          90013769623
4B645A81261967   MARTHA        LERMA                   CA          90001450812
4B645A97791351   ROSE          MARIE                   KS          29004700977
4B645AA9591569   JULIAN        QUINONES                TX          75054200095
4B646777591569   RENE          LESTER                  TX          90013877775
4B64717825B222   TANDRA        DAVIDSON                KY          90013961782
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4B6476A1A61968   MARCO         AYALA                   CA          90012396010
4B647727A91569   ANTONIA       MEDINA                  TX          75091137270
4B64813625B52B   ALEJANDRA     LEDESMA                 NM          90010851362
4B648282151334   HENRY         MARSHALL                OH          66046582821
4B648823491394   SARA          CHEYNEY                 KS          29053598234
4B64892732B87B   SHANDA        MILKS                   ID          41067599273
4B648972A61963   CATHERINE     DOMINGUEZ               CA          90014939720
4B64922768B165   TOODY         TIRE                    UT          90009422276
4B649489372B36   DEIDRE        VEASMAN                 CO          33028754893
4B64B2A2272B36   LONNIE        TURNER                  CO          90013362022
4B64B358791873   B NECOLE      WALKER                  OK          21043853587
4B64B439451383   ANTHONY       DAVIS                   OH          90014804394
4B64B577391988   PEACHES       DARDEN                  NC          90014855773
4B651481224B7B   JOSE          ROMERO                  DC          90012254812
4B651514A51382   DEANA         ESTEP                   OH          90014685140
4B651593491351   JOSE          RAMIREZ                 KS          90007975934
4B651624247954   MARINA        PORTILLO                AR          25097836242
4B651821161967   PETE          SOTO                    CA          46014988211
4B65217227B694   BRITTANY      WALKER                  KY          90009581722
4B65237AA72B43   JERRY         OAKES                   CO          90006093700
4B652467851383   JAMES         JOHNSON                 OH          90014804678
4B652614571934   RUTILO        LUNA                    CO          32087626145
4B652679293794   MIKE          ABNEY                   OH          90006076792
4B652848A91873   MELISSA       RUDLUFF                 OK          90011408480
4B65337A355939   ALLEN         GROVER                  CA          49028683703
4B6533A245B52B   ANTHONY       MARTINEZ                NM          90011023024
4B65347AA51383   KATIE         GARRISON                OH          90014804700
4B65354614B271   MICHAELA      CRUZ                    NE          90000685461
4B653A2918B164   ELIZABETH     NAVARRO                 UT          90009180291
4B653A5983168B   SAMI          JONES                   KS          22081130598
4B65415A472B4B   MATTHEW       NADEAU                  CO          33020081504
4B654645855939   FABIOLA       ZARATE                  CA          49005196458
4B655891691569   CIANY         COLUNGA                 NM          75093268916
4B65637A884368   ISAC          HERNANDEZ               SC          90015553708
4B656483191351   PAYGO         IVR ACTIVATION          KS          90012544831
4B656653151334   SHELLE        PACE                    OH          66043126531
4B656A69472B36   JESSICA       GALLAGHER               CO          90013810694
4B657232A91351   JENNY         CONNER                  KS          90009662320
4B65728835B271   BRAIN         WOOLDRIDGE              KY          90014242883
4B6577A4184368   RONALD        HERNANDEZ               SC          90014807041
4B657923472B4B   GILDARDO      RENTERIA                CO          33001379234
4B65797AA4B592   LYNDA         RANKIN                  OK          90010609700
4B657A28851334   LORETTA       CAMPBELL                OH          90014900288
4B657A7A43168B   JESUS         CANALES                 KS          22050180704
4B65815738B16B   HANS          GREEFF                  UT          90012751573
4B658159793794   JAMES         PERKINS                 OH          90013621597
4B65833178B355   KIJUANA       MAXWELL                 SC          90014453317
4B6584A6691873   MARY          AGENT                   OK          90014134066
4B658A99561968   ANGEL         RIOS                    CA          90013170995
4B659996491569   EMILY         MORENO                  NM          75045099964
4B65B129893794   TIMOTHY       ELTZROTH                OH          90014381298
4B65B21225B231   TRINITY       DENNISON                KY          90013662122
4B65B23838B165   GUY           WHITE                   UT          90001132383
4B65B51A67B694   AURELIO       HERNANDEZ               TN          90008755106
4B65B777755939   TOMMY         LYNN                    CA          49009967777
4B65B885591351   LISA          WHEELER                 KS          90003898855
4B65B966371934   LYDEN         PONCE                   CO          32078969663
4B65BAA5A61967   OSCAR         LABOUT                  CA          90010610050
4B66117375B58B   SHAWNA        BAHE                    NM          90013941737
4B66174845B523   JOSHUA        ORTEGA                  NM          35079207484
4B661798547954   YESENIA       LABOY                   AR          90011217985
4B66186445B222   NIECY         RICHARDSON              KY          90004388644
4B661A15161968   LUIS          SOTELO                  CA          46065080151
4B662281772B4B   AIMEE         MELENDEZ                CO          90011612817
4B6629A7572B36   PATRICIA      CASTILLO                CO          33065419075
4B662A45651382   MA            AMBER                   OH          90006170456
4B663135355939   ELIZABETH     MORALES                 CA          90015141353
4B663374A61968   MARIA ELENA   BARRIENTOS              CA          90012013740
4B663434172B4B   MICAELA       MARTINEZ                CO          90013984341
4B66357A651383   BILLIE        GOODWIN                 OH          90014835706
4B663A5445B53B   MARIA         GONZALES                NM          90010700544
4B6641A8A84368   KHARR         MILLER                  SC          90013331080
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4B664372584361   EDITH        RIVAMAR                  SC          19032013725
4B664728141258   CARA         SPEAR                    PA          90008947281
4B66481324B271   TERRELLE     MARION                   NE          90012698132
4B665399A72B36   ALMA         LOARCA ASCENCIO          CO          90014053990
4B665773891873   EREFAA       TARIAH                   OK          90011327738
4B66623745B52B   GINA         CHAVEZ                   NM          36044152374
4B666678555939   JAIME        HERNANDEZ                CA          90014816785
4B66682628B355   CRYSTAL      HEMPHILL                 SC          90010478262
4B667122791569   NELENDEZ     TERESA                   TX          90005771227
4B667344672B36   CLIFFORD     SMITH                    CO          90012723446
4B66736552B87B   RYAN         SIMMET                   ID          90014323655
4B6673A4351334   KIM          COFFMAN                  OH          90012733043
4B66814955B52B   GRISTELA     ONTIVEROS                NM          90000821495
4B66835672B27B   MARISABEL    RUANO                    VA          90002793567
4B668978851383   FREDA        LOVE                     OH          90010019788
4B6691AA85B174   TEKIA        JOHNSON                  AR          23089651008
4B66921892B27B   CARMEN       GUZMAN                   DC          90011422189
4B66985444237B   JALONDON     BROWN                    TN          90015598544
4B66989A561968   SARA         GREEN                    CA          90011178905
4B66B4A1672B4B   JENNIFER     SIMMONS                  CO          33052094016
4B66B61A761968   LIZBETH      CAMACHO                  CA          90013806107
4B66B736471934   KEITH        BROCIOUS                 CO          90015217364
4B66B882591873   SHONNY       MCNIGHT                  OK          90011198825
4B66BA12351334   JEFFREY      WINKLER                  OH          66004440123
4B671579661963   JAMES        SHELTON                  CA          90006265796
4B67177778B16B   SHANILLE     SITZ                     UT          90014447777
4B671855893794   LISA         KINSLEY                  OH          90007358558
4B672458A72B43   CASTRO       OLIVA                    CO          33012334580
4B67272198B16B   ASHLEY       VAN BEUGE                UT          90006757219
4B67287242B27B   DANIJELE     VUKOVIC                  VA          90001678724
4B67312469187B   ANTONIO      JOHNSON                  OK          90009161246
4B673353572B4B   ANNA         GARCIACANO               CO          90010423535
4B674531172B4B   DESIDERIO    VIGIL                    CO          33091645311
4B674567751383   SENECA       SAILE                    OH          90014805677
4B674914131432   NANDA        NYUNT                    MO          27562219141
4B674A96472445   ASHLEY       JOHNSON                  PA          90001410964
4B675114391873   SHAYLA       MCLAUREIN                OK          90014711143
4B675836193794   BOBBY        MCCANDLESS               OH          90011208361
4B676455A5B52B   ELIZABETH    BECERRIL DE GUZMAN       NM          36006994550
4B676535747954   BREANNA      BROOKS                   AR          90013935357
4B67754645B174   TINA         SLACK                    AR          90011575464
4B67831698B164   KARLA        REMO                     UT          90008623169
4B67919922B234   MENGISTUAB   ASEGEDOM                 DC          90004401992
4B67927978B355   SILENT       AUCTION                  NC          90012932797
4B6797A988B16B   ROBERT       AUSTIN                   UT          90012997098
4B67998628B165   YANKUBA      SAIDYKHAN                UT          90001199862
4B679A57974B97   BRANDY       WARD                     OH          90014610579
4B67B129172B4B   JONATHAN     GARCIA                   CO          90010471291
4B67B176461968   ANTHONY      ESPINO                   CA          46025201764
4B67B759347954   SANDRA       GAMEZ                    AR          90012837593
4B67BA5A986453   ELEX         PENNIE                   SC          90015490509
4B681389A93794   ELIZABETH    TOMLINSON                OH          90014563890
4B681711151383   STEVENS      CATHERINE                OH          66095947111
4B682137593769   HOLLY        SMITH                    OH          64514551375
4B682517872B36   SARAH        BARBER                   CO          33098235178
4B682652191241   JERMAINE     DIXON                    GA          90012796521
4B68286A851334   RAMIRO       COSTELLO                 OH          90014838608
4B682A1A491988   BLADIMIR     LOPEZ                    NC          90013730104
4B6833AA35B53B   ABEL         SERRANO                  NM          35066263003
4B68348678B16B   XIOMARA      GUINEA                   UT          31064174867
4B6837A934B271   MARKUS       WAYNE-KIMBLE             NE          90012017093
4B6839A595B271   DONICA       TURNER                   KY          90013269059
4B684384751334   RICO         WALKER                   OH          66047233847
4B68438885B52B   PAUL         ORTEGA                   NM          90006443888
4B68449A68B16B   TROY         TYE                      UT          90013324906
4B684525371999   MANUEL       SALAZAR                  CO          90012745253
4B68498518B16B   BRIANNA      JONES                    UT          90014389851
4B6851A585B271   RICKY        SPENCER                  KY          90001901058
4B685237255939   TRIA         VANG                     CA          90013942372
4B685482A5B53B   MARGARET     MONTOYA                  NM          90015204820
4B685766851382   BRITTNEY     GENTRY                   OH          90015247668
4B685772572B43   BRIDGETT     GONZALES                 CO          33052227725
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4B685951991873   SCOTT       HOPKINS                   OK          21076789519
4B686244755939   NIKESHA     MCAFEE                    CA          90013942447
4B686313951359   RONDA       SMITH                     OH          90013563139
4B686378A5B271   JENARO      GARICA                    KY          90014243780
4B68642312B27B   WILLIAM     TELLIS                    DC          90008274231
4B686445871999   BROOKE      TRUJILLO                  CO          90008374458
4B686A8965B52B   HEATHER     RAWLINGS                  NM          36040730896
4B687363A4B271   MARIZA      MARTINEZ                  NE          90009993630
4B687427961963   TIMOTHY     DEVON                     CA          90013334279
4B687852A47954   LINDA       KUYKENDALL                AR          25045618520
4B68793713B351   ROBERT      HELDENBRAND               CO          90006219371
4B688133472B4B   DON         SIMMONS                   CO          33061861334
4B68825133168B   SHANDY      LETT                      KS          90007362513
4B688789772B43   SUSIE       MITCHELL                  CO          33016967897
4B68879785B271   SHAUN       NEEL                      KY          90007867978
4B68892445597B   FABIAN      OLVERA                    CA          90006709244
4B6892A4771934   KRISTINA    KIZER                     CO          90000632047
4B68953944B547   BOYD        OPPERMAN                  OK          90006145394
4B68983955B58B   MARIA       ARAIZA                    NM          35009048395
4B68985322B27B   CAROLYN     DAVIS                     DC          90000618532
4B689A6485B174   TONYA       CHEATAM                   AR          23098230648
4B68B115A5B395   KATHLEEN    BARRY                     OR          90007531150
4B68B13515597B   MARTIE      ARELLANO                  CA          90010701351
4B68B6A975B222   LELAND      JOHNSON                   KY          90001616097
4B691194272B43   CHRISTINA   MA                        CO          90012851942
4B6911A8293751   KEVIN       EDWARDS                   OH          90002761082
4B691551771934   ISELA       GOMEZ                     CO          90011875517
4B691A74841258   CHEVELLE    VINCENT                   PA          51013550748
4B692429A51334   ANDREA      PRATHER                   OH          90013694290
4B69258875B523   YOLANDAH    JAMES                     NM          90012475887
4B692759491351   ALYSON      ROWLAND                   KS          90005027594
4B693585258528   ARIKA       WHITAKER                  NY          90010345852
4B6942A6A4B271   ASHLEY      MCDOWALL                  NE          90004182060
4B694419A47954   NESTOR      CORREA                    AR          90011224190
4B69444288B355   JUAN        RAMOS                     SC          90013614428
4B695457A55939   HERNAN      SEGURA                    CA          90014624570
4B69556655B52B   JESSICA     TAYLOR                    NM          90013885665
4B69633755B52B   CARLOS      SENA                      NM          36015243375
4B69634682B27B   ROBERTO     WILLIS                    DC          90011523468
4B696355651383   JAIRO       DIQUE                     OH          90008403556
4B69673938B355   TELESFORO   GUERRERO LOPEZ            SC          90013277393
4B696759191873   SHAYNE      DAVIS                     OK          21079417591
4B697167972B43   MICHELLE    ABERHAM                   CO          33064401679
4B697264761968   DENISE      VAN                       CA          90008442647
4B697289691394   ELODIO      PASCACIO                  KS          29028642896
4B69746125B58B   RAYMOND     ESQUIVEL                  NM          35051304612
4B697516347954   CORY        BURKE                     AR          90001035163
4B697733A55939   GREGG       OLIVAS                    CA          90006617330
4B697865561963   JOSE        MARTINEZ                  CA          90011668655
4B697A23351382   BRIAN       CAREY                     OH          90007450233
4B69814244B271   THOMAS      DUCKSWORTH                NE          90014801424
4B69822895B395   AHMED       ABDI                      OR          44543372289
4B6983A688B165   MICHAEL     WRIGHT                    UT          90009233068
4B69B2A6691873   LATRESH     BARKER                    OK          90012512066
4B69B44663168B   AMY         DUBIEL                    KS          90010514466
4B69B576191351   MARIA       ISLAS                     KS          90007725761
4B6B172898B165   JODY        ROWLETT                   UT          31066677289
4B6B22A7672B43   JOSEPH      BIERSACK                  CO          33012412076
4B6B266892B87B   BRITTANY    GRIFFIN                   ID          90014866689
4B6B2818351383   JAENNIE     TURICH                    OH          90013418183
4B6B329288B355   MARIO       ZERON                     SC          90010452928
4B6B32A185B222   GO          DETTA                     KY          90009322018
4B6B3521961968   SILVIA      GONZALEZ                  CA          90014495219
4B6B3815351383   MICHELLE    SINGER                    OH          90008358153
4B6B433A571934   DENNIS      LUJAN                     CO          32003373305
4B6B436458B162   KEITH       TURNER                    UT          90006533645
4B6B445A551334   DARON       JARMON                    OH          90015154505
4B6B546825B523   SHEENA      SUAZO                     NM          90006004682
4B6B552485B174   DANA        SINGH                     AR          90014575248
4B6B556833168B   EDUARDO     PACHECO                   KS          22011545683
4B6B5854951383   MARSHEA     HARPER                    OH          66056408549
4B6B6963293794   IAN         ZIEGLER                   OH          90014809632
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4B6B6977947954   BRIANA      BROOKS                    AR          90013009779
4B6B719A261963   ALFONSO     LUCCA                     CA          90008421902
4B6B772414B271   ALBERTO     HERNANDEZ                 IA          27091347241
4B6B8A6862B27B   DANA        WILDS                     DC          90014090686
4B6B913565B523   DAMARA      ARAGON                    NM          35058221356
4B6B947A471999   STEPHANIE   SOLANO                    CO          90011564704
4B6B9582861968   DANIEL      ROBLES                    CA          90014225828
4B6B95A6A91351   BLANCA      SANCHEZ                   KS          90002025060
4B6BB11515B271   MARTHA      OCONNELL                  KY          90014241151
4B6BB14932B27B   MICHAEL     WILLIAMS                  DC          90010011493
4B6BB294384368   ESMERALDA   PRECIADO                  SC          90001722943
4B6BB818351383   JAENNIE     TURICH                    OH          90013418183
4B71125A455939   JOSE        VALEJO                    CA          90013942504
4B711288272B43   BENRAHOU    RACHID                    CO          33072712882
4B711497172B39   MR-MRS      JANDA                     CO          33005704971
4B71156425B395   CHRIS       SLIM                      OR          44527465642
4B711A4472B87B   LINDSAY     HALLER                    ID          90004770447
4B712357147954   THOMAS      JODOIN                    AR          90011203571
4B71292465B395   SHALINA     LAWSON                    OR          44527519246
4B713268971934   CHARLES     RUSH                      CO          90015222689
4B713332A61963   TYLER       ONEILY                    CA          90015053320
4B713347A8B185   TYLER       ROWLEY                    UT          90012263470
4B713914A24B7B   JOSE        DIAZ                      DC          90013889140
4B71462A755951   SERGIO      PALOS                     CA          49057276207
4B715269772B36   SENDY       NELCAR                    CO          33087162697
4B71561595B223   JULIE       TERRELL                   KY          90015136159
4B71574783B343   YVONNE      ALVAREZ                   CO          90003157478
4B7161A3451382   AMY         ARMSTRONG                 OH          90005291034
4B71661792B87B   JUSTIN      FRENCH                    ID          90012976179
4B716968261968   ALBA        GONZALES                  CA          46049939682
4B71712638B355   NEON        BUSBY                     SC          90011411263
4B717159851334   KYLE        ESTEP                     OH          90014941598
4B717362371946   MANDO       NDEREYIMANA               CO          32013423623
4B717399A51383   KELLY       HUTTO                     OH          90002253990
4B717693251382   LAMONTE     COOK                      OH          90008166932
4B71828A172B36   MICHELLE    ESQUIBEL                  CO          90004042801
4B71836365B174   ADDEL       WARD                      AR          90011133636
4B71839692B27B   MARIA       NOLIA                     DC          90009993969
4B71861188B187   ELISABEL    CAMACHO                   UT          90004826118
4B71892A35597B   ALICIA      RAMEY                     CA          49074669203
4B719324393794   STEVE       BARNHART                  OH          90012323243
4B71954725B53B   CHRISTINA   HULLAND                   NM          90005385472
4B71B681391873   DON         WEAVER                    OK          21040276813
4B71B894651383   ROBERT      ELLISON                   OH          66007148946
4B7217A355B395   BENJAMIN    ANDERSON JR               OR          90004407035
4B72185455B271   SHANTINA    MCPHERSON                 KY          90014248545
4B722139991351   ALBA        MATA                      KS          90013151399
4B722948A61967   GUILLERMO   JIMENEZ                   CA          90010589480
4B722971391873   DAIJON      MCKINNEY                  OK          90011409713
4B72341425B271   BRAENA      BILLE                     KY          90008334142
4B723424572B36   CATALINA    URIBE                     CO          90008524245
4B72364388B185   CHELSEA     FORD                      UT          31098376438
4B723673472B4B   CHERI       MIERA                     CO          90006476734
4B72368575B53B   TINA        SANTILLANES               NM          90013296857
4B7236A2A55939   LISA        AVINA                     CA          90012836020
4B723A13251383   CLARENCE    NIXSON                    OH          90012700132
4B72423A391569   RAUL        MONTOYA                   TX          90010952303
4B72444A391351   ISSAC       WEBB                      KS          90010854403
4B724638651383   ABDELLAHI   NDIAYE                    OH          90014806386
4B724717784368   PAULITA     ARCOS                     SC          90013007177
4B724812661963   TONY        NATAL                     CA          46093028126
4B724925571946   KELLY       GREER                     CO          90003179255
4B72494618B156   ARMANDO     TRUJILLO                  UT          90008089461
4B725178A4B271   KALEB       DREWES                    NE          90005581780
4B725191A91569   LAYLA       GEORGE                    TX          90007871910
4B725388171999   VIRGINIA    QUICK                     CO          90012813881
4B72547A971999   VIRGINIA    QUICK                     CO          90011104709
4B725927672B36   TAYLOR      ORTHENGREN                CO          90012919276
4B725A92A5597B   RAFAEL      CABRERA                   CA          49040530920
4B7261A9293724   SAMANTHA    SHARPE                    OH          90008671092
4B726291761963   FINA        SALOME                    CA          46053462917
4B72662315B523   LYDIA       FLORES                    NM          35045906231
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4B72723713168B   RICARDO           PARGA               KS          90013302371
4B72743345597B   DEREK             YBARRA              CA          90007904334
4B72838A272B43   DEANNA            DIVINO              CO          33044933802
4B728556461967   ANTONIO           DIAZ                CA          90011515564
4B728642191351   GLEN              TRAYNOR             KS          29053436421
4B72876163168B   MARASOL           MEDIANA             KS          90002737616
4B729136A91873   CHERRY            LACOMBE             OK          21098951360
4B729238471999   LESLIE            ACOSTA              CO          90015112384
4B729355761963   XOCHITL           SCHIAVONE           CA          46084753557
4B72B534391988   DONALD            YATES               NC          90014135343
4B72B723172B36   ALFONSO           PEREZ               CO          90003827231
4B73115215B174   FRANCISCO         CALDERON            AR          23063281521
4B73142745B523   GLENN             RAY                 NM          35050424274
4B73156187B331   JACQUELINE        CEREZO              VA          90014625618
4B731698142339   TAMMY             HOWARD              GA          90013266981
4B731749A51383   JOSEPH            GOOLSBY             OH          90008007490
4B731992771999   MARIA             LUCERO              CO          38092539927
4B732574191523   JESSICA           BERNAL              TX          75055005741
4B73274325B53B   JOHN              CHAVEZ              NM          35079737432
4B732A73472B43   FELICITY          HERNANDEZ           CO          90012870734
4B733139A2B27B   AISHA             MOORE               DC          90012831390
4B73332988B355   RICARDO           ORTIZ               SC          90002933298
4B733563A51382   DANAY             KENNEDY             OH          90014685630
4B733776A61967   CLAUDIA           RAMIREZ             CA          90010107760
4B733A95891351   FRANKLIND         PITTS               KS          90013480958
4B734548521B3B   GABRIEL           HERNANDEZ           TX          74044885485
4B734828891988   DENIA             RIVAS               NC          17020348288
4B734A72593794   STEVEN            BRUNK               OH          90013490725
4B735119291351   CLARA             LARA-CRISANTO       KS          90015201192
4B735591447871   ANDREA            GRIFFIN             GA          90004905914
4B7356A2272B43   ABEL              HERNANDEZ           CO          33085786022
4B736155551334   EBONIE            COLVIN              OH          90009261555
4B73633928B185   ELIZABETH         WAKELAND            UT          90009813392
4B7363A6591873   JENNIFER          BARNES              OK          90009023065
4B7364A2A61967   JOLI              BETOFE              CA          90010734020
4B736918772B43   JESUS             CASTANEDA           CO          90002069187
4B73734898B185   JESSICA           ROBERTS             UT          31098243489
4B737564355951   MARTHA            GONZALEZ            CA          90005995643
4B738154271999   MARIA L.          ELLIS               CO          90001371542
4B73822535B271   ASHLEY            COLEMAN             KY          68009122253
4B73859918B895   CODY              RODRIGUES           HI          90014565991
4B739276791351   ROMAN             ABARCA              KS          90007732767
4B7393A2193794   TIMOTHY           DUSSEAU             OH          90010223021
4B739779572B43   KELLY             FOURTHUNDERS        CO          90012907795
4B739792451382   DEVOE             SHORMAN             OH          90001647924
4B739886591351   WILLIAM           RADIA               KS          90013908865
4B739A1365B52B   GLORIA            ORTEGA              NM          90014340136
4B739A9682B27B   DELANY            EPPS05              DC          90013060968
4B741232291351   MARIA DEL ROCIO   MONROY MONROY       KS          90005832322
4B741866571934   MICHAEL           VIGIL               CO          90008728665
4B74192343168B   TUNG              CHAN                KS          90013749234
4B742428791988   JESSICA           CULBRETH            NC          90014874287
4B74291955B52B   HEATHER           ATSYE               NM          90010169195
4B742943961967   ALMA              ESTRADA             CA          90004359439
4B743391A5B58B   KATHLEEN          ROMERO              NM          35057303910
4B74355292B921   DEISY             ALVAREZ             CA          90014565529
4B7435A588B165   CHRISTY           PETERSEN            UT          31037355058
4B743965A91351   KATEY             GREGORY             KS          90001549650
4B743AA8171999   LUPIE             SOLANO              CO          38038680081
4B743AAA72B87B   LOGAN             RORABECK            ID          90001170007
4B744167993728   TRACIE            BISHOP              OH          90010811679
4B744944571999   DEBBIE            WHITTEMORE          CO          38094999445
4B74522592B87B   TERA              SIGMAN              ID          90012212259
4B745398755951   LORENA            AVILES              CA          90001453987
4B745858627B48   TAMARIA           TAYLOR              KY          90001688586
4B745A97A8B355   YONNELL           OSORIO              SC          90011480970
4B74631165B53B   CLAUDINE          MARTINEZ            NM          90002663116
4B746448891988   SHONDA            JONES               NC          90014684488
4B7469A5155939   IRIS              ROSAAS              CA          90013899051
4B747395861963   CARLOS            ZEPEDA              CA          90015053958
4B747424971999   JODIE             CLINE               CO          90014874249
4B74752324237B   ISAAC             JOHNS               TN          90015475232
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4B7477A4A72B43   BRANDON     JONES                     CO          90012617040
4B74818A493794   TONYA       PRINGLE                   OH          90013341804
4B74839588B165   JASMINE     AYMEE                     UT          90008573958
4B74847165B174   JENNIFER    TORRADO                   AR          90011134716
4B748518171934   LARRY       THOMAS                    CO          32007865181
4B748585391569   JOSE        LEYVA                     TX          75059045853
4B748646351383   CHRISTINA   MORGAN                    OH          90008726463
4B74868AA55939   LISA        PEREZ                     CA          90015206800
4B74871718B16B   CHRIS       PATRICK                   UT          31070487171
4B74917995B53B   STAR        BARRERAS                  NM          90012871799
4B749227943576   JESSICA     RAMIEREZ                  UT          90004282279
4B74929A961968   ARTURO      HERMOSILLO                CA          90009022909
4B74939A291569   FELIPA      GOMEZ                     TX          75098223902
4B74965738B16B   MICHEAL     HIGLEY                    UT          90011356573
4B74985612B27B   TOMEKA      BROOKS                    DC          81085638561
4B74B12515B174   JANICE      LEE                       AR          23033401251
4B74B214872B36   ABIGAIL     RETANA                    CO          33041182148
4B74BA9215B53B   CARYN       SEIDEL                    NM          35098900921
4B751441372B4B   ENEDINA     BALLINES                  CO          90000994413
4B751889691873   SCOTT       ANDERSON                  OK          90005688896
4B751A59971992   JADEN       CORDOVA                   CO          38056910599
4B75221A884368   JOSE G      BERMUDEZ GARCIA           SC          90014192108
4B752846A5B395   RICCO       MEJIA                     OR          90003818460
4B75284885B58B   SIMONA      LOPEZ                     NM          35077638488
4B752935A5B271   BEVERLY     JOHNSON                   KY          90006329350
4B753912391569   TONY        GARCIA                    TX          90012359123
4B753AA6191394   GLORIA      HERNANDEZ                 KS          90008660061
4B754591971946   ENJOLI      GUILLORY                  CO          90005975919
4B754741172B4B   ARELY       GONZALEZ                  CO          90014687411
4B75477678B165   SIMMONS     BRENT                     UT          90009047767
4B7549A1491351   MARTIN      QUIROZ MENDEZ             KS          90013839014
4B755177161967   GLORIA      SANDOVAL                  CA          90000151771
4B755395271946   KEVIN       GREEN                     CO          90007243952
4B755489293794   SCOTT       SKAGGS                    OH          90012374892
4B75566114B271   ROXANNE     PARFITT                   NE          27049266611
4B7557A512B27B   WALTER      HERRERA                   DC          90012127051
4B755825893794   CORIE       WILLIAMS                  OH          90012348258
4B755925455939   LUIS        DAIZ                      CA          49027509254
4B756178551334   TAYRA       NARED                     OH          90008451785
4B75631742B87B   CARA        CARTER                    ID          41060303174
4B756748A5B271   BRADLY      CASH                      KY          68082877480
4B756853A72B36   JOSE        MORALES                   CO          90013318530
4B756A66391394   BOBBY       CARDWELL                  KS          90014750663
4B75729224B271   MARQUITTA   JONES                     NE          90013442922
4B757744891873   CHERYL      PAYNE                     OK          90005297448
4B757948841258   KIMBERLY    MORGAN                    PA          90000209488
4B757A43171999   ALAN        BASTIAN                   CO          90002060431
4B758345691569   MARITZA     ARVELO                    TX          90010553456
4B7587A2772B36   HEATHER     PIONTEK                   CO          90010277027
4B758918591988   NICHELLIE   ROYSTIL                   NC          90012239185
4B758A7885B52B   MARIO       DE LEON                   NM          36076670788
4B75916528B187   CHRISS      EUSON                     UT          90006891652
4B759241371999   JOSE        DEHERRERA                 CO          38042732413
4B759597391569   MARIA       CASTELLANOS               TX          75084405973
4B75967A451383   HEIDE       VEST                      OH          90004006704
4B75B178293794   LARRY       JOHNSON                   OH          90003591782
4B75B28655B222   TILA        DULAL                     KY          90011782865
4B75B91A661968   LEEANN      RAYMOND                   CA          90014459106
4B75BAA185B58B   JESSICA     PEREZ                     NM          90004690018
4B761292771999   STEPHANIE   SOLANO                    CO          90007482927
4B761763261963   VIVIAN      MEKHAEL                   CA          46032537632
4B761785824B7B   DEANDRE     WORKCUFF                  DC          90014677858
4B761829372B4B   SANDRA      RICHARDSON                CO          90014178293
4B761852791569   JESUS       AGUILERA                  TX          90001298527
4B761893472B43   ROBERT      WEBB                      CO          90001798934
4B7618A142B253   ERIC        CLIFTON                   DC          90007638014
4B761AA3572452   TARA        GORDON                    PA          90008370035
4B762459572B36   SABINA      VALLES                    CO          90013954595
4B76261A63B37B   WALL        JEREMIAH                  CO          33043146106
4B762753671934   TYECHA      WALKER                    CO          90011297536
4B763154951325   CHARLES     SOWDER                    OH          90012441549
4B763335361968   BERTHA      GARCIA                    CA          90006433353
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4B76366998B16B   GUSTAVO       GUTIERREZ               UT          90013156699
4B76367265B222   EUGENIA       WALKER                  KY          68013666726
4B763739351383   JOSE          PADILLA                 OH          90014807393
4B764125161963   ZULMA         RODRIGUEZ               CA          90010771251
4B764172984368   JONATHAN      LOGIURATTO              SC          90013551729
4B765259371934   VEDA          RODRIGUEZ               CO          90015252593
4B76528385B53B   KARL          NELSON                  NM          90014372838
4B7652A548B355   MELISSA       MARTINES                SC          90013922054
4B76538A493794   JOYCE         SPEGAL                  OH          90009233804
4B76557978B165   DIANA         ESPINOZA                UT          90010675797
4B76574565B523   JIMMY         ROMERO                  NM          35081817456
4B76629A171999   NATALIE       MARTINEZ                CO          90004112901
4B766448591988   MIRNA         PARRA                   NC          17064184485
4B76648A251339   KIM           HOWARD                  OH          90011424802
4B766581155939   MARIA         SANCHEZ                 CA          90012775811
4B766A92A72B36   SCOTT         MURRAY                  CO          90013310920
4B76714875B395   LEHUA         YOSHIOKA                OR          90007531487
4B76725947B276   CLARISSA B    NICASSIO                AZ          40538342594
4B76783473168B   CAROLINA      HERNANDEZ               KS          90013738347
4B76824285B271   GARY          GRIFFITH-COFFEY         KY          90014712428
4B768259371934   VEDA          RODRIGUEZ               CO          90015252593
4B768497761963   MARICELA      CAMPOS                  CA          90011444977
4B76893763B33B   GISELLE       DUBOIS                  CO          90014159376
4B76922135B271   MARENA        RAGLAND                 KY          68055312213
4B769782351383   ANNA          BALL                    OH          66094777823
4B769A17793794   WILLIAM       HALE                    OH          90003630177
4B76B16245B222   DESHANE       JOHNSON                 KY          90006381624
4B76B25565B223   SYLVIA        GARMANY                 KY          90008952556
4B76B833184368   ANTONIO       GUEVARA                 SC          14569508331
4B76B87A172B4B   MITCHELL      WILLIAM                 CO          33058768701
4B77115A271934   LATISHA       MCDONALD                CO          90003681502
4B77127A15B52B   LUIS          GOMEZ                   NM          36097482701
4B771325272B4B   GABRIEL       ALMAGUER                CO          33072643252
4B771541172B36   JENNIFER      MCCORD                  CO          33067935411
4B771743391873   JOHNNY        MORGAN                  OK          90007877433
4B771784755939   PANCHO        VILLA                   CA          90012827847
4B771943741258   KENNETH       JONES                   PA          90007289437
4B77196A62B27B   ROBERT        FULTON                  DC          90012579606
4B7727A635B222   CANDACE       BANKS                   KY          90009897063
4B772865493794   KELBY         BURKITT                 OH          90013838654
4B772A2745B58B   BARBARA       DEAN                    NM          35007720274
4B772A36691569   OLIVVAS       SARAI                   TX          90004540366
4B772A59391351   EFRAIN        GRAILLET                KS          90011330593
4B773279947954   DONALD        SPENCER                 AR          90002792799
4B77327A653966   CHRISTOPHER   MILLER                  OK          90010812706
4B77342235597B   ALVINA        ORTEGA                  CA          90013794223
4B77346425597B   ALVINA        ORTEGA                  CA          90009484642
4B773648161968   ALMA          DAGER                   CA          90004196481
4B773735171999   ANJA          ROSALES                 CO          38096907351
4B77399612B27B   RONALD        BELL                    DC          90012559961
4B774411961963   CONNIE        CRAWFORD                CA          90015054119
4B775626672B36   ROBERTO       HERNANDEZ               CO          90013906266
4B775996372B4B   BLANCA        CANO                    CO          90002859963
4B7766A1291569   JESUS         SAENZ                   TX          75090276012
4B77743AA5B222   TANESHIA      CALENDER                KY          90001254300
4B777545841258   VANGIE        TURNER                  PA          51010725458
4B777585A91351   TRISTA        KENNEDY                 KS          90014535850
4B777913672B36   FRANCISCO     GONZALEZ                CO          90014939136
4B777A4A151334   ELAINE        WARE                    OH          66012270401
4B777A5815B271   JESSICA       LEGE                    KY          90000990581
4B778653691873   SUQUANA       FOX                     OK          90010096536
4B778656561968   ANGELICA      RIVERA                  CA          90004196565
4B779437493751   MICHAEL       ETTER                   OH          90001734374
4B77959A893794   EARL          FRY                     OH          66096425908
4B779615971999   NICHOLE       WRIGHT                  CO          90013326159
4B77B24144B271   RICHARD       MERKURIS                NE          90004222414
4B77B314791873   WILLIAM       GING                    OK          90011423147
4B77B699371999   ANNETTE       BOYD                    CO          38065216993
4B77B87215B174   SELENE        MONTANTE                AR          90014668721
4B78123858B165   MISTY         JOHNSON                 UT          90002722385
4B781461593794   TRACEY        ARRINGTON               OH          90009024615
4B78153298B16B   MIGUEL        ALMEIDA                 UT          90013185329
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4B781A3645597B   EMANUEL       FERRER                  CA          90011360364
4B78257365B271   REE           TAYLOR                  KY          90009605736
4B783555261995   JUAN          CALDERON                CA          90010975552
4B783613A91873   ZAMLUNG       NEIHKHUP                OK          90015326130
4B783757771946   ROONALD       CAUSEY                  CO          32008627577
4B78381744B271   DORINDA       GIBB                    IA          90013188174
4B783988731243   SHIRLEY       WATSON                   IL         90014729887
4B7848A2251383   RONNSHEA      DUBOSE                  OH          90014808022
4B784A51461968   ALDHAIR       CARRADA                 CA          46091690514
4B784A61291873   ASHLEY        SEAY                    OK          90008690612
4B785313791351   REBECCA       JOLLY                   KS          29037873137
4B785482A5B271   LAKENYA       WILLIAMS                KY          90004064820
4B78561628B355   SHIRLEY       BROWN                   NC          11027256162
4B78566835597B   BILLY         ODENEAL                 CA          49079256683
4B785779547954   LEON          ABBOT                   AR          90014857795
4B785A1962B87B   CASSANDRA     WILLIAMS                ID          90009030196
4B786224391988   DEMOSHA       JOHNSON                 NC          90014902243
4B786314771999   RAQUEL        GONZALES                CO          38085903147
4B786937455939   MARTIN        HERNANDEZ               CA          49010279374
4B786A24772B4B   ESSIE         PERRYMAN                CO          90011660247
4B786A74471946   MICHAEL       LOPEZ                   CO          32005460744
4B787123397B53   LUIS CARLOS   DOMINGUEZ               CO          90010421233
4B787339A91569   FELIX         RODRIGUEZ               TX          90012423390
4B787595A2B27B   JANICE        OWUSU                   DC          90012035950
4B787666451382   MICHAEL       FERGUSON                OH          90014686664
4B787914891873   RANDY         STOALABARGER            OK          21091049148
4B78797428B16B   CHRISTOPHER   GILL                    UT          90014129742
4B788175851334   THOMAS        DOWNIE                  OH          90013421758
4B78843A985825   STEVE         LAI                     CA          90012244309
4B788561272B4B   DJ            BLYTHE                  CO          90009705612
4B788686161963   RAYMOND       BENTZ                   CA          90012566861
4B788767891351   ALFREDO       MONTEZ                  KS          29067177678
4B78881772B27B   ASHLEIGH      MITCHELL                DC          90014898177
4B789281193794   CHRISTOPHE    DULFLINGER              OH          66027252811
4B7894A9791569   IDA           ARAUJO                  TX          90011574097
4B789594872B4B   SAID          BENJELLOUN              CO          90002785948
4B7898A5961963   TERRANCE      BENOIT                  CA          90010358059
4B78B13495B53B   LILLIAN       AUSTIN                  NM          90008601349
4B78B13A855951   LORETTA       OGLESBY                 CA          49016271308
4B78B148A3168B   SHANNON       GARTON                  KS          22072351480
4B78B158691873   JOHN P        BRIGHT                  OK          90004081586
4B78B29665B52B   DIANA         OLIVERA-SOSA            NM          90013432966
4B78B64265B58B   VANESSA       SILVA                   NM          90004006426
4B78B827A72B43   AMY           LOPEZ                   CO          90013528270
4B79157115B52B   FRANCISCO     FONSECA                 NM          90011595711
4B791774791351   CHRIS         BAUKGHMAN               KS          90010857747
4B792221372B43   LUIS          BENITES                 CO          90011422213
4B79238955B222   TERESA        HUFF                    KY          68037523895
4B79267482B87B   ZACHARIAH     NUTTALL                 ID          90007546748
4B793172A91988   MARIA         BARNES                  NC          90010931720
4B793187791569   LUIS          ROMERO                  TX          90014131877
4B793535751383   JAIME         MARQUIN                 OH          90014815357
4B793786972B4B   DEVONNE       HUNT-BATES              CO          33035847869
4B7938A7971999   DAVE          RAMIREZ                 CO          38018598079
4B793A5554B271   JOSE          CHICAS                  NE          90000450555
4B79414673168B   JOELLE        STEELE                  KS          90014221467
4B79435274B271   ANTONIO       VELASQUEZ               NE          90014613527
4B794481861967   MARIBEL       VILLA                   CA          90010614818
4B794487A5597B   FRANCISCO     RAMIREZ                 CA          90010374870
4B79476852B87B   KELSEY        HUBIAK                  ID          90014477685
4B794948271999   LAURA         CANTY                   CO          38076619482
4B79498A141258   BOBBI         SHOWALTER               PA          51064439801
4B795223891988   MIGUEL        REYES                   NC          17077892238
4B795339491873   DARLESHA      BELLAMY                 OK          90011173394
4B795344771934   CARIE         SERGREN                 CO          90015253447
4B7954A8A8B185   AMBERLY       GIPE                    UT          90004394080
4B795753651382   CYNTHIA       SAYLOR                  OH          66043967536
4B795819A5B271   DONALD        MILLER                  KY          90010948190
4B79632635B395   SAMUEL        HAYDEN                  OR          90002403263
4B796351271934   LUIS          CAMEY                   CO          90015253512
4B79654885B523   ANDY          FERNANDEZ               NM          90006495488
4B7965A8251382   MICHAEL       SMITH                   OH          90014695082
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2234 of 2500


4B796A16955939   MONICA       HERANDEZ                 CA          90014660169
4B79732625B174   DESIREE      BALCH                    AR          23072793262
4B797428191873   JODY         FINCH                    OK          90001174281
4B797535751383   JAIME        MARQUIN                  OH          90014815357
4B797655484368   ANTIONETTE   DUPONT                   SC          90014656554
4B79779A58B16B   JAQUELENE    MARTINEZ                 UT          90010517905
4B798471391988   MICHAEL      BERNARD                  NC          90014914713
4B798693273264   EDWARD       WALLACE                  NJ          90009786932
4B79869A151334   JOE          SCOTT                    OH          90009066901
4B798987947943   AMANDA       IBARRA                   AR          90012499879
4B798A9A35B58B   MIKE         BOLDEN                   NM          90011210903
4B79937745B242   LORILEE      GEORGE                   KY          90009783774
4B799588172B36   URIEL        ALDAVA                   CO          33017565881
4B799951191873   FABIAN       SPEARS                   OK          90010229511
4B7999A6161967   RICO         CAONGCA                  CA          46044329061
4B79B356771946   KENNETH      LISTER                   CO          32096763567
4B79B5A9A5B271   VICTOR       CRUZ                     KY          90008335090
4B79B752455939   HON          SOLO                     CA          90012777524
4B79B76658B185   JEREMIAH     GUZMAN                   UT          31059467665
4B79B979251382   SUSAN        MERRITT                  OH          66043969792
4B79B997861968   MARIA        BIBIANO                  CA          90012339978
4B7B165276232B   PAULA        RAMIREZ                  AZ          90013956527
4B7B16A2151383   SUSAN        SACCO                    OH          90014806021
4B7B1833A5597B   SILVERIO     SANCHEZ                  CA          90007118330
4B7B2227161924   DONALD       TRUMP                    CA          90004512271
4B7B232572B87B   MICHELLE     BATES                    ID          90013173257
4B7B2338591569   OMAR         GARCIA                   TX          90014163385
4B7B24AA693794   DELISA       CHENAULT                 OH          90007724006
4B7B2524272B36   DONALD       THOMAS                   CO          90012635242
4B7B295A35B53B   ALRAY        BACA                     NM          35064769503
4B7B297A872B36   CAUDIO       BRISENO                  CO          90014569708
4B7B319845B174   BRANDON      EACKLES                  AR          23067281984
4B7B33A3A6192B   THOMAS       MATTHEWS                 CA          90007883030
4B7B3499293794   MARIANNE     GUZMAN                   OH          90010764992
4B7B3754791569   LUIS         RAMOS                    TX          90014107547
4B7B389425B53B   ELIZABETH    LUNA                     NM          35011508942
4B7B4185371999   DAVID        SANDIDGE                 CO          90013911853
4B7B461535B523   MAURA        MCKEOUGH                 NM          90001456153
4B7B4819A8B16B   THA          CUNG                     UT          31087668190
4B7B4A89751382   BETH         MARCUM                   OH          90012000897
4B7B51A5122463   CASEY        UHLIR                     IL         90015461051
4B7B5755272B4B   STEPHEN      CRITES                   CO          33045317552
4B7B5A1515B53B   LUCERO       GOMEZ                    NM          35058890151
4B7B6137884368   MARIA        ZARAGOZA                 SC          14570791378
4B7B65A5547954   STEPHANIE    NORWICKI                 AR          90011235055
4B7B6662A8B165   ANDREA       SCHNEIDER                UT          90014556620
4B7B667755B222   KYM          BOLIVAR                  KY          68014546775
4B7B6915761999   JANINE       GALEANO                  CA          46078519157
4B7B694175B58B   ANDRES       SALAZAR                  NM          90013209417
4B7B7373A91351   BRETT        WILLIAMS                 KS          90008663730
4B7B83A3593794   GLENDA       KEECH                    OH          90011003035
4B7B8478661968   ALEX         COLLINS                  CA          90009394786
4B7B852755B174   EBONIE       SEBASTIAN                AR          90012685275
4B7B856288B165   ADRIAN       HICKS                    UT          31060205628
4B7B8617A8B16B   TRUDY        MINER                    UT          90005276170
4B7B9334251334   EDY          GIRON                    OH          90001143342
4B7B9491391873   ANGEL        BERNAL                   OK          90014494913
4B7B956924237B   BRITNEY      HARDY                    TN          90015535692
4B7BB72552B27B   MORGAN       SMITH                    DC          81001687255
4B7BB731761968   ALCIDES      TORRES                   CA          46078317317
4B7BB79755B58B   CONSTANCE    OLGUIN                   NM          90014577975
4B81149565B53B   TIM          GUERRO                   NM          90014694956
4B811646661963   GENTRYY      STANELY                  CA          46052306466
4B81226A95B174   TIMOTHY      HICKEY                   AR          90013292609
4B81228828B165   ESTHER       VASQUEZ                  UT          31066822882
4B81229875597B   VICTOR       LEE                      CA          90010692987
4B81233125B58B   JASON        BROUSSEAU                NM          35093413312
4B81234562B87B   PAUL         HERTING                  ID          90001983456
4B81249715B223   KATHERINE    HALL                     KY          68032224971
4B812A1297122B   BRANDON      LONG                     IA          90015520129
4B81345682B87B   BILL         BEATTIE                  ID          90010114568
4B81364155B52B   ELVA         OCHOA                    NM          90005526415
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4B81369A751382   AMANDA              STORY             OH          90014686907
4B813758451383   TYREE               BLEVINS           OH          90013827584
4B814246584368   MISS KELLY          GILMORE           SC          90000562465
4B814482A5B53B   MARGARET            MONTOYA           NM          90015204820
4B81557A391351   RANDY               GILLIS            KS          90012605703
4B81569A751382   AMANDA              STORY             OH          90014686907
4B81578A72B27B   ASHLEY              POWELLS           DC          90001377807
4B81596565B52B   EDUARDO             SALGADO BARAJAS   NM          36068859656
4B815993986545   ISMAEL              GARCIA            TN          90015409939
4B816124972B43   MCFADDEN            PHILLIP           CO          90007871249
4B81613715B523   ANNETTE             BACA              NM          35017191371
4B81624288B355   MARVIN              ONEAL             SC          90013052428
4B816648151334   DANIELLE            CALHOUN           OH          90011386481
4B81667695B222   MEAGAN              WRIGHT            KY          90000996769
4B81695835B53B   ISIDRO              LUNA              NM          90013319583
4B817134572B4B   FLORENTINO          SALINAS           CO          33022971345
4B817629847954   JAZMIN              AVINA             AR          90014916298
4B8176A5891351   CHESNEY             GONZALEZ          KS          90013146058
4B81788215B271   AMBER               LADD              KY          68024648821
4B81793682B27B   MARGARET            MORGAN            DC          90008889368
4B817A22751334   LEQUENCY            ANDERSON          OH          66043200227
4B81926912B87B   KARLA               HOBERT            ID          90014202691
4B81961225B52B   LINDA               AHUMADA           NM          36093226122
4B819A11A5B271   J SANTOS            PADRON-LOPEZ      KY          90015090110
4B81B55795B52B   EDUARDA             ALVARADO          NM          90013265579
4B81B641193794   CHERYL              WHITE             OH          66044236411
4B81B718772B43   JOSEPH              CHACON            CO          33030427187
4B81B91555B523   PAULINE             HERNANDEZ         NM          35046069155
4B81B974271999   TIFFANY             MIRANDA           CO          90003399742
4B82114592B583   WILLIAM             JOHNSON           AL          90010371459
4B82127665B53B   MARIA               ARMENDARIZ        NM          90015112766
4B82135482B27B   DUDLEY              EDMONDS           DC          90014073548
4B821462691873   CHARLES             CLEVELAND         OK          90012984626
4B821665772B43   CECILIA             RASCON            CO          90011016657
4B82222914B539   PERLA               HERNANDEZ         OK          90014522291
4B82228678B355   JERRY               ELLISON           SC          90006932867
4B822541191873   CHRIS               POINDEXTER        OK          21064005411
4B8226A3147954   BRIAN               GARCIA            AR          90010066031
4B822785293794   FRANK               CRABLE            OH          66052837852
4B823328A5B222   SALVADOR            MUNOZ             KY          90001363280
4B823588771999   JACQUES             METOYER           CO          38003415887
4B824214171934   MICHAEL             JENNINSON         CO          90011532141
4B824497651383   NATALIE             REYES             OH          90011904976
4B824559261967   PRISILA             OROZCO            CA          90010615592
4B82469262B27B   BLAS                FUENTES RUBIO     DC          90013586926
4B824A52977391   LAKETA              SMITH              IL         90015160529
4B82534622B87B   RAQUEL              DODD              ID          90009473462
4B825417951383   LINDA               GENTRY            OH          90006244179
4B8255A2261968   SUSAN               DUMAS             CA          90011355022
4B825854947954   CYNTHIA             MCCLAIN           AR          90014858549
4B826118A55939   JUAN                RUELAS            CA          49087341180
4B826387A4B271   RON                 HUNTOON           IA          27072063870
4B82651635B53B   CUNNINGHAM          MARTIN            NM          90014875163
4B82666A741258   ROY                 REITMEYER         PA          51035846607
4B82681A95B223   CRYSTAL             COMBS             KY          68035718109
4B82787365B223   NEFERTITI           BRADY             KY          90002798736
4B82817158B165   JESSICA             MASSANET          UT          31072501715
4B828336A5B222   AMY                 PARKS             KY          90012013360
4B82854A451334   GINA                REEVES            OH          90009955404
4B828A77171934   PHILLIP             BLACKMON          CO          90005620771
4B8295AA28B165   CINDI               ORENO             UT          31033135002
4B829A7958B352   MARTHA              RUIZ LOPEZ        SC          90002960795
4B829AA4691569   ANTONIO             JURADO            TX          75012420046
4B82B383361967   JENI                ROCHA             CA          90002903833
4B82B64428B16B   DANEIL              DURRANT           UT          31010316442
4B82B928651334   VALENTIN GONZALES   DE LA CRUZ        OH          90014199286
4B831176A91362   TAMA                BUSH              KS          90013721760
4B83157335B174   SHAUNTAY            SMITH             AR          90008735733
4B83157424B531   SHELLY              SAMPLETON         OK          21570295742
4B831723951334   JOSEPH              ASHCRAFT          OH          90014597239
4B831963371934   GARY                MCDANIEL          CO          32055879633
4B83199158B187   S                   HASTINGS          UT          90007019915
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4B831A3485B271   ERICA          HICKMAN                KY          90015010348
4B832646A51383   SARA           MEADOWS                OH          90014816460
4B83283A271999   DAVINA         MEDINA                 CO          90012238302
4B832893891523   JR             MANCILLA               TX          75055028938
4B8328A6672B36   RICHARD        WILLIAMS               CO          33037008066
4B83326275B174   PAUL           WILLIAMS               AR          90013292627
4B833312791569   MARILISE       MORALES                TX          90008103127
4B8337A5161968   LENIA          SALAZAR                CA          90013137051
4B833932791351   MARIANO        DELGADO                KS          90012439327
4B834167391569   STEPHANIE      RUIZ                   TX          75013511673
4B834539A5B222   IMMA           DIVA                   KY          90000925390
4B83478228B165   CHANCE         RICHMON                UT          90010017822
4B834846672B43   PATRICK        JETER                  CO          90005378466
4B835226691873   DEBORAH        COGBURN                OK          21097642266
4B83547245B222   ANTHONY        MORRIS                 KY          90012934724
4B8355A8355939   JOSE           BAUTISTA               CA          90014705083
4B83566A741258   ROY            REITMEYER              PA          51035846607
4B8356A6193794   VALERIE        GAREN                  OH          90013536061
4B83573845B58B   LISA           FENSTERMACHER          NM          35071347384
4B835979951334   MARGARITA      MALTOS                 OH          90013609799
4B835A21A5B52B   DEANN          GARCIA                 NM          90011750210
4B836297647954   JAIME          SANCHEZ                AR          90014192976
4B83635AA4B271   ADRIAN         TOVAR                  NE          27076053500
4B836588151382   SUSAN          CRAIG                  OH          66043955881
4B83678A172B4B   TRACY          BAILEY                 CO          90011137801
4B83798515597B   NANCY          AGUIRRE                CA          49051539851
4B838412662322   ANGELA         KELLS                  AZ          90013924126
4B838638651383   JUANA          GONZALEZ               OH          90014836386
4B83864615B52B   CATHERINE      MARTINEZ               NM          90006116461
4B838A73A72B43   JESUS          GARCIA                 CO          90013650730
4B839272951354   NANCY          LEMKE                  OH          90010672729
4B839335593794   MELINA         HORSFALL               OH          90010343355
4B83945162B87B   ALISE          TANNER                 ID          90009054516
4B839454484368   OSCAR          CASTILLO               SC          90009274544
4B839723524B7B   MEKONNEN       AZEB                   DC          90015037235
4B83972788B355   BERVERLY       PERRY                  SC          90014677278
4B839744291351   CECILIA        SERRANO                KS          29062657442
4B83979355B271   JOHN           PAYNE                  KY          68079707935
4B839A76655939   ABBIE          SANDERS                CA          90015160766
4B83B184A61968   MIGUEL         SANCHEZ                CA          90013891840
4B83B8A2984368   SHAKEISHA      PEEBLES                SC          90015278029
4B842431A5B52B   JOHNETTE       ANAYA                  NM          36049564310
4B842918391988   BRITA          PARKER                 NC          17033629183
4B843138472B4B   MARIAH         MONTANO                CO          33062321384
4B84317278B165   DELVIN         FIEFIA                 UT          31009331727
4B84368753168B   IVAN           RODRTGUEZ              KS          22043296875
4B843824A5B58B   ARELY          ROMERO                 NM          90003698240
4B84397412B87B   CHRISTY        MYERS                  ID          41080189741
4B843A75591351   CLAUDIA        MOREIRA                KS          29037590755
4B84449618B165   PEGGY          DIPO                   UT          31062934961
4B844531371996   BRITTANI       LEE                    CO          90013105313
4B84479522B237   ISAIAH         BECTON                 DC          90009187952
4B844838972B43   KASIE          LASHEL-YOUNG           CO          90000468389
4B844A42591959   NICOLE         BARRERA                NC          90012620425
4B844AA845B271   KEYA           BARNES                 KY          68098290084
4B84521935B271   EBONY          CAUSEY                 KY          68048502193
4B84562522B87B   AMBER          TOWLES                 ID          90012976252
4B8457A1151383   JUNIOR         LOPEZ                  OH          90014817011
4B84618A661968   REYNALDA       TORRES                 CA          46080871806
4B84663675B52B   ESPERANZA      ROMERO                 NM          36094526367
4B847393955939   TOM            MAQUEZ                 CA          90002473939
4B847681A8B355   JOSE           RAMOS                  SC          90008506810
4B8483A7855939   LUIS           GARCIA                 CA          90013943078
4B84842853168B   DONOVAN        MOSLEY                 KS          90013964285
4B848541551382   KHEO           NGUYEN                 OH          90014865415
4B84899158B187   S              HASTINGS               UT          90007019915
4B849297284368   TASHERA        ROBINSON               SC          90014752972
4B849443361967   JUAN SIMONES   FOJO                   CA          90010764433
4B8496A294B271   DENISE         VAAG                   NE          27075136029
4B8498A1761968   MIGUEL         ROQUE                  CA          46081278017
4B84B14215B271   JEREMY         REITZEL                KY          90014251421
4B84B61A491873   SHANNON        WAGERS                 OK          90014336104
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4B84B744455999   ERIK          LOPEZ                   CA          90007637444
4B84B89322B27B   EYVONNE       DAVIS                   DC          90015308932
4B851459191569   XOCHITL       DAVILA                  TX          75086604591
4B851562491864   CESAR         SANCHEZ                 OK          90013685624
4B851881655939   KELLY         KAITANGIAN              CA          90012018816
4B852675891351   WALTER        COLEMAN                 KS          90012606758
4B852691155939   EDWARD        HERNANDEZ               CA          90014816911
4B85275692B27B   JOSE          HERNANDEZ               VA          90011847569
4B85354678B16B   JENNIFER      ZANDER                  UT          31006765467
4B853A83591523   ISRAEL        MARIN                   TX          75055030835
4B85488A62B234   MONET         GREEN                   DC          90014898806
4B85532882B27B   MICHELLE      JONES                   DC          81046783288
4B855467861967   RICARDO       ARREDONDO               CA          46015674678
4B85547324B271   AARON         MOORE                   NE          90014964732
4B85578225B52B   MARCELINA     RUIZ                    NM          90011927822
4B856965591988   ERNESTINE     CHARLES                 NC          90008529655
4B85699AA91943   DAVID         CORDERO                 NC          90005079900
4B857151193794   RACHEL        MURPHY                  OH          66076741511
4B857355172B43   KRYSTAL       CHAP                    CO          33052023551
4B857578191988   JANICE        JOHNSON                 NC          90011305781
4B85763793B14B   JOSE          MARQUEZ                 DC          90006346379
4B857A26972B36   VERNAE        ROQUEMORE               CO          90000150269
4B857A6845B271   BRITTANY      WOLNEY                  KY          90011400684
4B858152872B4B   JAVIER        GOMEZ                   CO          90010491528
4B858947793794   DEBBY         EDWARDS                 OH          90013539477
4B858975155939   SARA          CANO                    CA          49074249751
4B85925174B271   JUAN CARLOS   CARLOS                  NE          90013052517
4B859456984368   LAMAY         GADFON                  SC          90003434569
4B85B28A555939   ELIZABETH     RODRIGUEZ               CA          90012272805
4B85B68375B222   NICHOLE       BISHOP                  KY          68060066837
4B85BA3272B238   JAMES         THOMAS                  DC          90013700327
4B85BA93472B39   ELSA          RAMIREZ                 CO          90014870934
4B861225591569   LETICIA       RAMOS                   TX          75071112255
4B861244A93794   HEATHER       FIFE                    OH          90003482440
4B861397884368   SANTIAGO      GONZALEZ                SC          90014883978
4B861837272B43   ORTEGA        CRUZ                    CO          90008008372
4B86186945B58B   ALYSHA        ARREGUIN                NM          90007948694
4B861972861968   DANIEL        BOJORQUEZ               CA          46097409728
4B861A6738B355   JEAN          BAKER                   SC          90014610673
4B862171191988   JENNIFER      CARNES                  NC          90009951711
4B862213A51383   HEATHER       WEBSTER                 OH          66047412130
4B862375A72B43   ENRIQUE       VALERIANO-TERESA        CO          33070933750
4B862552124B99   RENEE         DOWNING                 DC          81001505521
4B86291117B425   SVETLANA      COLE                    NC          11090289111
4B863299584368   JANET         HERNANDEZ               SC          90013932995
4B86341338B16B   ELIZET        DIAZ                    UT          90011264133
4B864433461968   MIGUEL        REYES                   CA          90011074334
4B8647A6471934   DEANA         VANZANDT                CO          90009647064
4B864981471999   CRYSTAL       SANCHEZ                 CO          90013519814
4B86524AA2B87B   JASON         HERR                    ID          41015032400
4B865331A8B16B   DONNIE        ROBERTS                 UT          31085333310
4B865535786545   CHRISTOPHER   PAUL                    TN          90015475357
4B865747751383   DIXIE         WOOD                    OH          90014817477
4B8658A6747954   RAFAEL        DUEÑAS                  AR          25016078067
4B865927871946   LEONEL        HERNANDEZ               CO          32055019278
4B866A9412B87B   TINA          NOWOJ                   ID          41023230941
4B866A9645B52B   GRACIELA      RIVERA                  NM          90015200964
4B867215141258   TIFFANY       JENNINGS                PA          51052842151
4B86724265B174   DONELL        WHITE                   AR          90014132426
4B867576A61968   PABLO         CRUZ                    CA          90010525760
4B867629847954   JAZMIN        AVINA                   AR          90014916298
4B86791325B52B   CHRIS         VALDEZ                  NM          90000109132
4B868424491569   ROCIO         MARQUEZ                 TX          90011534244
4B868557171946   AYLICIA       SANCHEZ                 CO          32010155571
4B8691A2171999   JANESE        DICKENSON               CO          38065161021
4B86987515B52B   JEFFREY       ROBLING                 NM          90015148751
4B869A91491569   LORENA        ESPINO                  TX          90007740914
4B86B118691569   SILVIA        CUEVAS                  TX          90012631186
4B86B1A1A5B52B   JANETTE       GARCIA                  NM          90015151010
4B86B297A5B53B   CHERYL        MARTINEZ                NM          90014832970
4B86B346591873   SHAVONNE      WHITEHEAD               OK          90011143465
4B86B95483168B   ENRIQUE       MARTINEZ                KS          90014039548
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4B86B96A191988   LANDORIS       WATSON                 NC          90010879601
4B86BA63472B4B   JUDY           CORDINES               CO          90011590634
4B8712A6591988   DOROTHY        MCNEIL                 NC          17046982065
4B871AA965B52B   SAMUEL         KOVAC                  NM          90005060096
4B872595591351   JENNA          TURQUEZA               KS          90012605955
4B872712661963   LIONEL         PRADO                  CA          90011077126
4B873924391351   LETISHA        ELSTON                 KS          90013859243
4B874287491988   ANTHONY        ROPER                  NC          90007722874
4B87433435B58B   LITA           CASTILLO               NM          35033143343
4B87478377B694   JAMEY          GILLENWATER            GA          90005217837
4B87522755B174   KIM            LANGFORD               AR          90011142275
4B87534A384368   CARLOS         SORIANO                SC          90013933403
4B875374393794   TEDILA         BACHORE                OH          90012853743
4B875561251334   GAY            REINEMUTH              OH          90008715612
4B875675172B43   JENNIFER       POHLENZ                CO          33066006751
4B875897247954   MISTI A        SNYDER                 AR          90011608972
4B87624518B185   ANTHONY        APPAH                  UT          90004422451
4B87628474237B   LAZARO         MACIAS                 TN          90015502847
4B876A8554B271   DWANETTE       YOUNGBLOOD             NE          90011450855
4B8774A7572B32   JORGE          OSUNA                  CO          33059524075
4B877633851334   BENYAM         ZEWDE                  OH          90000326338
4B878166A93794   ALTHA          BODNER                 OH          66068551660
4B878271291873   KELLY          BRYCE                  OK          90011122712
4B87844755B58B   VERONICA       SEDILLO                NM          35072614475
4B878492385697   OMAR           ARIAS                  NJ          90007914923
4B878517A51383   JOSUE          GOMEZ                  OH          90006495170
4B87877275B52B   DONNA          DELGADO                NM          36075617727
4B87882A82B87B   KAELINN        MORSE                  WA          90011898208
4B87927A471934   CHRISTINA      PARHAR                 CO          90009042704
4B87987A491523   MARIA          RAMIREZ                TX          75055038704
4B87B52225B222   DESERAE        FUGETT                 KY          90006335222
4B87B638171999   BRITTANY       FORRESTER              CO          90013676381
4B87B85215B395   MIREYA         HERNANDEZ              OR          44559648521
4B87B943972B4B   PATRISHA       GOOCH                  CO          90012999439
4B87B96565B52B   EDUARDO        SALGADO BARAJAS        NM          36068859656
4B881129784368   ERICA          BAILEY                 SC          90006211297
4B881426461968   LUCIA          ABRUSSEZZE             CA          90011974264
4B881785972B4B   VICTOR         MARQUEZ GUERRERO       CO          90011137859
4B882274951334   BRANDON        FAIR                   OH          90012072749
4B88277325B58B   ERIC NUNEZ     OLIVIA PENROSE         NM          90012947732
4B882857251383   JANESE         CLARK-BALLEW           OH          90014818572
4B883125891527   MARIA          PORTILLO               TX          90001021258
4B88324767B865   FRANKLIN       FIGUEROA                IL         90014132476
4B883545371946   MICHAEL        DALUGDUG               CO          32039425453
4B884717955939   DELFINA        MANCILLA               CA          49072127179
4B885111491351   CHRISTIAN      MILLER                 KS          90013461114
4B885126891394   MONIQUE        DICKINSON              KS          90000721268
4B885168161968   EDUARDO        CABRALES               CA          46027971681
4B88532265B395   MARIA          PENA                   OR          90013603226
4B88564615B52B   CATHERINE      MARTINEZ               NM          90006116461
4B8856A715B52B   JENNIFER       MARTINEZ               NM          90010636071
4B88616135597B   EDGAR          TORREZ                 CA          49000601613
4B88686762B956   VICTOR         NUNEZ                  CA          90008288676
4B887569884368   TIGRA IYESHA   ZEIGLER                SC          90012835698
4B887811251383   JEANNINE       BRIGGS                 OH          90014818112
4B88884895B223   JONH           STORY                  KY          68039238489
4B88891632B27B   HILTON         BANGURA                DC          90008429163
4B888A34561967   MIGUEL         MENDEZ                 CA          90004820345
4B88919278B185   MATT           OSMOND                 UT          90004421927
4B88938915B53B   DENISE         MORENO                 NM          35036563891
4B88967865B174   JAMAL          MOSBY                  AR          90014056786
4B889936191873   RUTH           ARCHER                 OK          21088709361
4B889999193794   CHANCI         DOSS                   OH          90011579991
4B88B655372B43   CARLOS         ESPEJEL                CO          33042166553
4B88B8A1A51334   AMANDA         JONES                  OH          90009638010
4B88BA6968B16B   LEWIS          YENNA                  UT          90011900696
4B89172642B27B   MONTESHIA      MINOR                  DC          81084537264
4B891811251383   JEANNINE       BRIGGS                 OH          90014818112
4B892736372B4B   DIANE          WEITZEL                CO          33035537363
4B893942572B43   EUGENE         ABEYTA JR              CO          33052759425
4B89426A48B355   DAVID          HOFFMAN                SC          11048932604
4B894434A72B43   TYSON          RAY RICHARDS           CO          90013664340
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4B89474935B174   SEAN         MCINTOSH                 AR          23033877493
4B89521368B185   CASSIE       NIELSON                  UT          90006512136
4B895217A5B52B   TANYA        POWELL                   NM          36026332170
4B89533775B222   YULIBER      DUCAS                    KY          90012313377
4B8958A5984368   INENEO       RAMIREZ                  SC          14585548059
4B896391A8B355   DARRIACH     MACK                     SC          90014933910
4B897191891569   OSMAN        VALDEZ                   TX          90014451918
4B89727385B52B   REBECCA      HURD                     NM          90014092738
4B89774A147954   ALMA         LOEAK                    AR          90009577401
4B898126751334   STEPHANIE    BROWN                    OH          66003571267
4B898617661967   SUSANA       ROCHA                    CA          90010646176
4B898684247954   LAVINIA      TAYLOR                   AR          90014486842
4B898721191569   KAREN        REALYVAZQUEZ             TX          90013887211
4B89883635598B   LAURA        HUIPIO-GUZMAN            CA          48096738363
4B899257A91988   CALVIN       HOWELL                   NC          17036272570
4B89926255B53B   BENITO       MEDINA HERNANDEZ         NM          90010232625
4B899652A2B27B   BRANDIE      GREEN                    DC          81005556520
4B89974A52B87B   D. SHANENE   COPE                     ID          90002397405
4B899819A5B271   DONALD       MILLER                   KY          90010948190
4B89B164571934   NAKIDA       DRAKE                    CO          32011101645
4B89B298A5B53B   JUSTIN       BRENT                    NM          90014832980
4B89B358961967   RENE         ANAYA                    CA          46058113589
4B89B811251383   JEANNINE     BRIGGS                   OH          90014818112
4B8B1796A5597B   CARL         DREW                     CA          90002027960
4B8B188813B397   LUKE         TRUJILLO                 CO          33091238881
4B8B1A1962B87B   CASSANDRA    WILLIAMS                 ID          90009030196
4B8B211565B52B   SYLVIA       OROSCO                   NM          36038971156
4B8B2237655939   VALERIE      FIERRO                   CA          49095412376
4B8B26A1493794   BRIAN        WALLACE                  OH          66048946014
4B8B2A2853168B   JORGE        RUBIO                    KS          90008850285
4B8B336A24B271   SHANNON      PRICE                    NE          90006183602
4B8B3517A5B174   ANNA         KYLE                     AR          23068455170
4B8B353A25B223   SHAWN        HENDERSON                KY          90002725302
4B8B3864A93794   HEATHER      HIXSON                   OH          90013478640
4B8B428515B174   JON          LARUE                    AR          23048052851
4B8B46A7251383   AMBER        LAKES                    OH          90014836072
4B8B476658B185   JEREMIAH     GUZMAN                   UT          31059467665
4B8B4952251334   OLIVIA       ENGLE                    OH          90013049522
4B8B4A3A772B36   DONNA        DEACON                   CO          90009040307
4B8B4A9362B87B   PAMELA       BRIDGES                  ID          41061780936
4B8B67A2791569   VIDNEY       ALONZO                   TX          90013887027
4B8B6828271946   MARIA        CHAPARRO                 CO          32090458282
4B8B697385B53B   HENRY        MCCRAY                   NM          90013709738
4B8B6976947954   ALONZO       TORRES                   AR          90014559769
4B8B6A96461963   JOSE         GARCIA                   CA          90010000964
4B8B7225A5B555   JIMMY        MONTOYA                  NM          90008622250
4B8B73A575B222   DAVID        JONES                    KY          68094793057
4B8B779575B395   KIM          MARCHANT                 OR          44555817957
4B8B829198B355   AFTON        WALKER                   SC          11095532919
4B8B8527672B43   MABEL        CAMEZ ORTEGA             CO          90011505276
4B8B852925B53B   TREVINO      VIOLA                    NM          90013195292
4B8B9456A71934   HEVER        CRUZ                     CO          90015264560
4B8B9491272B4B   SHARDAY      ORTIVEZ                  CO          33038964912
4B8B959255B174   CAROLYN      BROADWAY                 AR          90013325925
4B8B9746891873   LASHAWEN     YOUNG                    OK          21043617468
4B8B9A2118B355   LATOYA       CARSON                   SC          90014670211
4B8BB356271999   DEANA        STOM                     CO          90010773562
4B8BB59965B174   TIMOTHY      ANTHONY                  AR          90013595996
4B8BB855672B4B   HUGO         JIMENEZ                  CO          33064328556
4B911185391873   LAWRENCE     EVITT                    OK          90015571853
4B91135465B53B   MAURICIO     MINJARES                 NM          35043703546
4B91148415597B   ESPARZA      ESTELLA                  CA          49076894841
4B911661291569   CINTHIA      DE SANTIAGO              TX          90012336612
4B911886472B4B   ROBERT       MILLS                    CO          90013268864
4B912287791873   BRIAN M      KIRK                     OK          21096592877
4B912514971999   JULIE        SOMMERS                  CO          90014875149
4B912526872B43   CONSUELO     QUINTANA                 CO          33030705268
4B912653A2B87B   BRANDON      MCDONALD                 ID          90011106530
4B912879151334   EDWARD       BROWNING                 OH          66014838791
4B912A42171934   ALAN         OLAIS                    CO          90010490421
4B913569155939   JOSE         CARDENAS                 CA          49027525691
4B913869A51334   JAMIE        PERRY                    OH          90011068690
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4B91387A35B271   TERESA      HERNANDEZ                 KY          90007878703
4B913969184368   BELGICA     GONZALEZ                  SC          90010619691
4B914215372B4B   NOAH        DUKE                      CO          90001572153
4B914415A51382   CETH        DIGGS                     OH          90014724150
4B91466828B165   MICHAEL     WOOD                      UT          90003066682
4B914A48851383   JOHN        SCHEHR                    OH          90001050488
4B915155672B36   LORENA      DIAZ                      CO          33088091556
4B91557218B849   JOSE        MAGANA                    HI          90014245721
4B915599172B25   IVONNE      ALEMAN                    CO          90012415991
4B915744761963   ALEX        RIVERA                    CA          90012317447
4B916224355951   CRISTINA    MARTINEZ                  CA          49025042243
4B9163A618B165   KEN         BERRYMAN                  UT          31061063061
4B916A25A72B43   JESUS       LARA                      CO          90004830250
4B916A55951383   KRISTEN     STEVENS                   OH          90012770559
4B917716951382   MARK        WRIGHT                    OH          90007367169
4B917724191547   JUAN        LEAL                      TX          75012237241
4B91773725B174   CARL        ALLEN                     AR          23025947372
4B918285A61967   ANGEL       OJEDA                     CA          46015152850
4B918764341261   JENNIFER    SEVICK                    PA          90001257643
4B918831172B43   CARY        SMITH                     CO          90000708311
4B918841A8B181   MICHAEL     GRIBBLE                   UT          31081348410
4B9189A1155939   GREG        SCHAAF                    CA          90003479011
4B918A24861968   ANJANETTE   PRICE                     CA          90013750248
4B91919758B16B   DIOMARY     GUEDEZ                    UT          90012751975
4B91925478B16B   TRACY       HODGES                    UT          90014212547
4B919457772B32   MARK        REED                      CO          90008454577
4B91966515B174   COURTNEY    RHODES                    AR          90008186651
4B919716947954   LUIS        GAMEZ                     AR          25004537169
4B91973988B16B   NATHAN      ROE                       UT          90012777398
4B919A57551383   MARGARET    RODRIGUEZ                 OH          90014840575
4B91B244191394   BEVERLY     SEALS                     KS          29079052441
4B91B25485B58B   LYDIA       HANSON                    NM          90004342548
4B91B38A993768   BARBARA     POHL                      OH          90000853809
4B91B465455999   RICARDO     DAVILLA CEBALLOS          CA          90001814654
4B91B479755939   IRENE       SOZA                      CA          90001714797
4B91B511386545   TIFFANY     BOOKOUT                   TN          90015445113
4B91B546161967   BETTY       PETERSION                 CA          46070165461
4B91B9A5255951   DOMINIC     RAMOS                     CA          90009329052
4B9222A1441222   RICHARD     HESS                      PA          90001002014
4B92242784B271   SABRINA     SMITH                     NE          90014174278
4B92277955B395   MELISHA     VALIOA                    OR          90011377795
4B92317A98B16B   KEVIN       HERNANDEZ                 UT          90015111709
4B923427191351   BRITNEY     WILLIAMS                  KS          90014854271
4B923583651382   HEATHER     CHATMAN                   KY          90014695836
4B92368995B299   CONNIE      RODGERS                   KY          90001446899
4B92447A95B395   MAGDALENA   SILVA ZACARIAS            OR          90005784709
4B924536551382   RENE        CAMBA                     OH          90014695365
4B92488138B355   KELLI       BRIDGES                   NC          11042278813
4B925536951382   CESAR       CORTEZ                    OH          90014695369
4B925634393794   MEGAN       WIGET                     OH          90012156343
4B925949172B43   DAVID       GRIFFITHS                 CO          90015099491
4B925A95391394   OFELIA      BALCAZAR                  KS          90010700953
4B926175691523   VICTOR      VIELMA                    TX          75055041756
4B92625455B174   KENDRA      BROWN                     AR          90011152545
4B92633735B58B   PAUL        SATCHER                   NM          90014233373
4B926354351383   JENNIFER    EMORY                     OH          90014653543
4B92646A855939   ELMA        GARCIA                    CA          49005724608
4B92662417B347   CARLOS      HUAJARDO                  VA          90002146241
4B926748172B43   CARMEN      CAVAZOS                   CO          90014887481
4B92694773168B   CHRISTINA   AARON                     KS          90014909477
4B927274791873   CHRISTINA   BARBER                    OK          21004232747
4B92745575B174   JAVEIOSON   HAMPTON                   AR          90004424557
4B92746378B16B   RUSSELL     ERSKINE                   UT          90011264637
4B92746922B27B   ASHLEY      MCCLANE                   MD          90015534692
4B92747932B87B   CHRISTIAN   TEAGUE                    ID          90009704793
4B927A29451382   ALVARO      GARCIA                    OH          90010660294
4B9283A6161967   GLORIA      VIRGEN                    CA          46077303061
4B92851425597B   LORENA A    CURIEL                    CA          90004735142
4B928532A72B4B   JOSE        MENDEZ                    CO          33054095320
4B928981991569   BARRAZA     TERESA                    TX          90007139819
4B929153251383   TIFFANY     PHILLIPS                  OH          66043841532
4B929661751334   BERRY       SALAMON                   OH          90015516617
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4B92977155B398   ELISEO       SEVERIANO                OR          44091667715
4B929889451334   BERRY        SALAMON                  OH          90015008894
4B92B32268B355   INDONGESIT   EKANEM                   SC          11002073226
4B92B43515B222   ADRIENNE     SEADLER                  KY          90004774351
4B92B61585B53B   JAMES        LUDI                     NM          35072576158
4B92B85258B16B   GAIL         JONES                    UT          90014908525
4B92B85684B271   SHALI        PERKINS                  NE          90014788568
4B92B85AA5B58B   JESUS        CASTRO                   NM          90014578500
4B92B917471999   DARIO        GUTIREZ                  CO          90003499174
4B92B94295B56B   NADINE       ALBERT                   NM          90013259429
4B931416A7B694   ELAINE       LANKFORD                 GA          90003964160
4B9314A185B174   JACQUELINE   NUNN                     AR          90011724018
4B931595A72B4B   NICOLE       PINKNEY                  CO          90012725950
4B93217A651382   KEITH        CUMMINS                  OH          90001291706
4B93274115B58B   EDITH        SAM                      NM          90008257411
4B93289A784368   PATRICE      STIDHUM                  SC          90014338907
4B933229891394   DARLA        COX                      KS          90012192298
4B93335178B187   JULIE        MUNCY                    UT          90006763517
4B933733671946   RUTH         REESE                    CO          32089867336
4B93393445B222   SHERA        FISHER                   KY          90011789344
4B93394328B167   ANGELA       GAGLIARDI                UT          90001089432
4B934135155939   KATHERINE    GALLEGOS                 CA          49010591351
4B934348951334   NATOSHA      MCCOY                    OH          90008553489
4B93463662B87B   JASMYNE      BROWN                    ID          90015156366
4B93491474B271   KELLY        CORCORAN                 NE          90012949147
4B934A26972B43   MELISSA      SANDOVAL                 CO          90012930269
4B934A4815B52B   VIRGINIA     CAMPOS-SANCHEZ           NM          90014820481
4B93525868B355   CLINTON      DANIEL                   SC          90006672586
4B935372671999   CELINA       CHAVEZ                   CO          90010403726
4B935548191873   KAREN        HOPKINS                  OK          90014205481
4B9355A275B174   ORLANDO      JOHNSON                  AR          90008315027
4B935673157124   YUJANA       REYES                    VA          90001046731
4B935732391873   KAREN        HOPKINS                  OK          90000627323
4B935749741258   ANGELA       KEENER                   PA          90007677497
4B935AA9593794   CHAD         WINGROVE                 OH          90013270095
4B936324A5B174   CHASITY      OLIVER                   AR          90011153240
4B93656552B27B   ROBERT       ROSEBUROUGH              DC          90013025655
4B93659157B457   FRANCISCO    FERNANDEZ                NC          90014495915
4B937419355939   WENDY        BARRON                   CA          90004854193
4B93746378B16B   RUSSELL      ERSKINE                  UT          90011264637
4B937517491873   ANA          PEREZ                    OK          21010875174
4B937732361968   MARIA        GONZALEZ                 CA          90004197323
4B937747761967   STEPHANIE    STEPHANIE                CA          46075637477
4B93776852B87B   KELSEY       HUBIAK                   ID          90014477685
4B93784885B58B   SIMONA       LOPEZ                    NM          35077638488
4B93796572B87B   FREDERICK    CAMPBELL                 ID          90015559657
4B938AAA271934   ELEANOR      ADAMS                    CO          90012560002
4B939111191569   BERENICE     VARGAS                   TX          75073121111
4B93968555B58B   MARIA        ESTRADA-MARTINEZ         NM          35091786855
4B939716371946   BRANDY       HAGGER                   CO          32044127163
4B93B546A51382   JERRY        LOUIS                    OH          90014695460
4B93B857172B4B   JEREMIAH     LESPERANCE               CO          90013488571
4B941679191988   DEMETHIA     DRUMMOND                 NC          90014756791
4B94169274237B   MEL          BRYANT                   GA          90011446927
4B94182375B395   JOHN         CASTRO                   OR          90006318237
4B941997161968   AMPARO       ENRIQUEZ                 CA          90014039971
4B942269751334   BEN          HOPPE                    OH          90008902697
4B9423A365B53B   RICARDO      FACIO-RODRIGUEZ          NM          35087683036
4B9427A695B271   DANA         ROBEY                    KY          68074437069
4B942871191988   JUDITH       MANGUM                   NC          90009078711
4B943258941258   KEVIN        EDUARDO SARATE           PA          51056622589
4B9441A655B526   KURT         NILSON                   NM          35097781065
4B944268491351   CRICKET      WIRELESS                 KS          90009982684
4B94433454B531   TONYA        SIMMONS                  OK          90009603345
4B944372751334   ANTHONY      GORRASI                  OH          90008663727
4B94458A38B16B   TRAVIS       JENSEN                   UT          90013315803
4B944639147954   CLAUDIA      CASARES                  AR          90007296391
4B944718791873   MARIA        PENA                     OK          90011087187
4B9449A875B222   JESSICA      SANDERS                  KY          90004029087
4B945552251334   OTIS         MIXON                    OH          90014515522
4B94596425597B   TANIA        JACOBO                   CA          90011179642
4B945AA8193794   LEROY        COLES                    OH          66035850081
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4B94641A35B52B   JULIAN      JARAMILLO                 NM          36004574103
4B94662135B58B   DINA        GARCIA                    NM          90012666213
4B946958747954   JORGE       MARTINEZ                  AR          90001779587
4B9472A3891873   JIMMIE      DUNN                      OK          90001462038
4B947359255939   ORLANDO     JIMENEZ                   CA          90014503592
4B94888415B174   FLOYD       MOSS                      AR          23095328841
4B94922718B355   SHEILA      KIRKPATRICK               SC          11043432271
4B949821361968   JUAN        CARLOS GRANADOS           CA          90011868213
4B94992A871946   TAMARA      PEAT                      CO          32008789208
4B94998815B58B   RENE        ARROYO                    NM          90006519881
4B94B127572B43   EUGENE      ORTEGA                    CO          33014491275
4B94B315647954   BERNARDO    SALAZAR                   AR          90006733156
4B94B527561968   ANGIELEE    ELEJORDE                  CA          90010825275
4B94B96A75597B   NICOLE      CAREY                     CA          90011179607
4B94BA22A91873   KRISTEN     GILMAN                    OK          90013320220
4B94BA82772B36   VICKI       JOHNSTON                  CO          90010740827
4B951147972B43   ERIC        ROYBAL                    CO          90000641479
4B952538451383   TOBIAS      ANTHONY                   OH          66098255384
4B952956586545   DAISY       POWNS                     TN          90015479565
4B9529A6A91569   IVAN        MONTOYA                   TX          90014709060
4B95419A593782   SHANEICE    JOHNSON                   OH          90011191905
4B954216A72B43   AARON       CRAWFORD                  CO          90012792160
4B954237172B4B   MANUEL      MONTANEZ                  CO          33000142371
4B954369897957   KENNETH     REINHART                  TX          90013793698
4B954393461976   LORENZO     SALINAS                   CA          90011583934
4B95459695597B   RICHARD     CHA                       CA          49003195969
4B95471834B271   PRECIOUS    PHILIP                    NE          90008427183
4B95525764237B   MORRIS      FORSTER                   GA          90012842576
4B955636955939   ALEJANDRO   GARCIA                    CA          90013276369
4B95584638B355   KELLIE      CRAWFORD                  SC          90010768463
4B956117891351   CHARLIE     BATTREALL                 KS          90015101178
4B95634A191988   ENRIQUE     GONZALEZ                  NC          17063113401
4B957454984368   JESUS       PERALTA                   SC          90014794549
4B95757215B395   DOMINGO     PEDRO                     OR          44534715721
4B95757A24B271   LUIS        BECCRIL                   NE          90013265702
4B95758A291569   BRENDA      YELARRAMENDI              TX          75007725802
4B957733451383   KARLIN      CARIAS MORALES            OH          90014837334
4B957993851382   LIBERTY     BURNS                     OH          90003979938
4B958129451382   CATHERINE   TIERNEY                   OH          66090331294
4B95841728B141   SYDNEY      DAVIS                     UT          31066414172
4B958452357134   JAVON       GANT                      VA          90006894523
4B958613A61963   ANTWON      HILL                      CA          90008906130
4B958741A51383   BRITTANY    ROBINSON                  OH          90014837410
4B95939675B523   EUGENIA     VELETA                    NM          35029573967
4B959593591569   IRMA        LONGORIA                  TX          90011205935
4B959761872B36   SAMUEL      OROZCO                    CO          90015187618
4B959775155939   JULIAN      QUALES                    CA          90014617751
4B959848872B43   NHI         HUYNH                     CO          90012778488
4B959869691351   CHARLES     BREWER                    MO          90015378696
4B9599A8872B4B   MARCELO     MEDINA                    CO          33022339088
4B95B431951382   CHARLES     STOKES                    KY          66039934319
4B95B63318B165   HILDA       ANAYA                     UT          31047776331
4B961219184368   RAMIRO      LUGO                      SC          90014142191
4B96137215597B   MICHELLE    BROWN                     CA          49014863721
4B96139935B58B   CHELSIE     M MENDEZ                  NM          90014423993
4B961591172B4B   EVETTE      HOLMES                    CO          33052485911
4B961A4792B27B   YVON        WINNS                     DC          90013360479
4B961A5445B58B   CHELSIE     M MENDEZ                  NM          35054170544
4B961A73991569   OTILIA      QUINTANA                  TX          90014910739
4B962131251334   FREWEINI    TESFAI                    OH          90008051312
4B9622A175B53B   SUINA       KADISHA                   NM          90011902017
4B96289A161967   ADRIAN      VALDEZ                    CA          46028568901
4B96371245B52B   TIFFANY     VALDEZ                    NM          90013517124
4B96396A393767   DAYANA      SNOWDEN                   OH          90012479603
4B963A57972B36   MILTON      M                         CO          90014850579
4B964642871999   ANITA       ORTEGA                    CO          90014946428
4B964819591988   EULALIO     HERNANDEZ R               NC          90011758195
4B965792455939   DIANTE      GOOCH                     CA          90007407924
4B96598A684368   DENISE      MARTINEZ                  SC          90014699806
4B96619635B52B   ELIZABETH   ALTON ROMERO              NM          36035351963
4B966685584368   ELIAS       BARRIOS                   SC          90013256855
4B96675428B355   MIQUALA     CRAWFORD                  SC          90000367542
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2243 of 2500


4B966927672B36   MONICA          VARELA                CO          90013239276
4B96696A261968   JOSEPH          CALVIN                CA          90011159602
4B967137772B43   EDWIN           PAREDES               CO          90012971377
4B967291A5B52B   ROBERTO         JIMENEZ               NM          90014462910
4B96824258162B   ANTHONY         MALOTT                MO          90012132425
4B968312471999   TINA            LUCERO                CO          90007083124
4B96851382B27B   GINGER          ROYSTER               DC          81086225138
4B96863888B165   RUTH            ACOSTA                UT          90006456388
4B968775484368   DAVID           STIR                  SC          14574817754
4B9689A2A6B974   JUAN            CARLOS CARRANZA       VA          81064439020
4B968A37572B36   KODY            NESMITH               CO          90013350375
4B968A9132B229   DENY            PEREZ                 DC          90003410913
4B969994591394   RODOLFO         RAMIREZ               KS          90005569945
4B96B17625B222   JAMES           HEAPS                 KY          68032081762
4B96B21635B53B   EMILY           OLIVARES              NM          35061772163
4B96B2AA572B36   PRISCELLA       CHAGOLLA              CO          90013152005
4B96B323472B4B   YOLANDA         GODDARD               CO          33020843234
4B96B531951382   TIERRA          SANDERS               OH          90012785319
4B96B545491569   MICHAEL         GUYE                  TX          75086545454
4B96B613A2B87B   BRIAN           URIE                  ID          41035506130
4B96B78682B87B   DAVID           WILLIAMS              ID          90008947868
4B96B87378B165   VERONICA        ZAVALA                UT          90004928737
4B971533655939   JESSICA         TORRES                CA          90005275336
4B971871191988   JESSIE          JAMES                 NC          90014738711
4B971A13781667   ROBERT          MARTIN                MO          90014760137
4B971A76A91394   DARRELL         HARTMAN               KS          90010430760
4B972115761968   CYNTHIA         NGUYEN                CA          90013641157
4B9724AA32B27B   KENNETH         HENDERSON             DC          90011044003
4B97284A75B52B   ANTHONY         ROMERO                NM          90015088407
4B972A27761945   V.I.P           TOWING                CA          46030480277
4B97356625B58B   VIC             LINSON                NM          90007355662
4B97388485B395   MAY             PAW                   OR          44545878848
4B973A24291569   PEDRO           DURAN                 TX          75074050242
4B973A47872B36   HONORIO         RESENDIZ              CO          90012150478
4B974526A4237B   JERRI           HOOPER                GA          90015015260
4B974658172B4B   JESSICA         HOOYER                CO          90006726581
4B9748A3651382   SHAVANA         PICKELHEIMER          OH          66007888036
4B97525A571999   REGINA          CORDERO               CO          38014812505
4B97527835B223   CANDACE         SACRE                 KY          68007152783
4B975319893765   ALYSSA          BRYAN                 OH          90012303198
4B97558A291569   BRENDA          YELARRAMENDI          TX          75007725802
4B976642871999   ANITA           ORTEGA                CO          90014946428
4B977436A41258   REBECCA         SAMAY                 PA          51051564360
4B977558151382   ISAIAH          FAIRCLOTH             OH          66015485581
4B977A41971946   CRISTINA        SANCHEZ               CO          32018400419
4B978234151382   LORI            KOHLER                OH          66009122341
4B978292472B43   EMILIO          LOPEZ                 CO          90013852924
4B978313291523   DANIEL          MOLINA                TX          75025413132
4B97843A88162B   TOYANNA         CLEAVER               MO          90009454308
4B97864657122B   FAUSTO          CABRERA               IA          90015376465
4B97865244237B   LLOYD           COPPINGER             GA          90006646524
4B979192891351   CATHY           TALBERT-BEY           KS          90007731928
4B9798A5984368   INENEO          RAMIREZ               SC          14585548059
4B979917171999   ASHLEY          PADILLA               CO          38026219171
4B97995235B395   ANNA MICHELLE   JIMENEZ- FLORES       OR          90006029523
4B97B591672B36   CARLOS          SALAZAR               CO          33053745916
4B97B8A144B271   CHARETTA        JONES                 NE          27068418014
4B97BA3A95B53B   JERALYN         PADILLA               NM          90009760309
4B9812A5761968   ARTHUR          MANCILLA              CA          46028522057
4B98136465B58B   GENEVIEVE       LUCERO                NM          90013923646
4B981417691569   LIZETHE         MARTINEZ              TX          75076354176
4B98146538B355   DESMOND         DIXON                 SC          90011344653
4B98167915B52B   JULIE           LOVATO                NM          36027596791
4B982235A61963   MICHAEL         DAMRON                CA          46090762350
4B982389581682   MIKE            REEVES                MO          29004923895
4B982485384368   MARIA           DE LOS REMEDIOS       SC          14502864853
4B98251918B165   SHAWNA          OWENS                 UT          31057755191
4B98293A347954   LILIANA         ALDACO                AR          25084419303
4B983176671946   MARIA           RIVAS-MARTINEZ        CO          32025211766
4B9831A575B222   CARRIE          PHELPS                KY          90011791057
4B98336525B58B   DANIELA         RAMOS                 NM          90013923652
4B98337878B16B   CHRISTIAN       VELASQUEZ             UT          90013393787
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4B98434A256355   WENDY        MARTINEZ                 IA          90014363402
4B984858591569   CHRIS        FONTES                   TX          90010458585
4B984971161968   GUILLERMO    HERNANDEZ                CA          90000579711
4B9852AA88B165   KENNETH      ROSENBAUM                UT          31059842008
4B985634291351   MARIA        HOWARD                   KS          90002596342
4B986343972B4B   REBECCA      MUNIZ                    CO          33001993439
4B98657735B223   DEBORAH      ENGLER                   KY          68059665773
4B98726835B279   BETTY        HODGES                   KY          90001232683
4B98768AA5B58B   SALLI        CABRERA                  NM          90013786800
4B987929461967   JAVIER       MATA                     CA          90010649294
4B98812528B16B   JUSTINE      COVINGTON                UT          90010271252
4B98819225B53B   KAREN        SMITH                    NM          90007971922
4B988343651382   MEGAN        MINIARD                  OH          66056063436
4B988399984368   FARID        BEJAR                    SC          90011713999
4B98845655B58B   ANTOINETTE   HERRERA                  NM          35071714565
4B988477791988   SIRILA       MORALES                  NC          90011914777
4B98853565B222   PATRICIA     BELL                     KY          68061105356
4B988834A84368   CEILA        CARRILLO                 SC          90013938340
4B98886845597B   RODRIGO      CERVANTES                CA          90011008684
4B989228347954   JANCARLOS    ARGUELLES                AR          90007302283
4B989666991569   YARATZED     GONZALEZ                 TX          75010356669
4B989843751334   FATOU        KONE                     OH          66065398437
4B98B33A451383   ROBERT       WOMBLE                   OH          90013363304
4B98B583A93794   KRISTOPHER   JONES                    OH          90013735830
4B98B82225B52B   VERONICA     MARQUEZ DELACRUZ         NM          36004578222
4B98B8A2671946   PHILLIP      PRIESTER                 CO          32048058026
4B98BA37161968   CHRISTINA    FAITH JONES              CA          90014130371
4B99115152B87B   DUSTIN       MEDLOCK                  ID          90013511515
4B991854891351   ERIN         PATILLO                  KS          90013798548
4B99224778B169   MAGDALENA    SANTOS                   UT          31085932477
4B99226718B165   VIVIANA      VALLEJO                  UT          90012532671
4B99227A191351   TYRONE       RODRIGUEZ                KS          90010502701
4B992987347954   JORGE        MORALES                  AR          90011519873
4B99327A29718B   RONALD       COOLIDGE                 OR          90014792702
4B99329115B174   LADY         GURLEY                   AR          23075122911
4B99365192B87B   ZACH         ZANDHUISEN               ID          90013296519
4B993785351383   NITESH       RAI                      OH          90014837853
4B9937A332B828   KENETH       WATKINS                  ID          42079577033
4B993A7422B87B   ZACH         ZANDHUISEN               ID          90009500742
4B99427385B52B   REBECCA      HURD                     NM          90014092738
4B99445135B52B   ANGELA       MARTINEZ                 NM          90009524513
4B994559A8B16B   JASON        REEVE                    UT          31009655590
4B994AA583168B   VALERIE      BARCENAS                 KS          90012130058
4B995266672B43   BERENICE     FLORES                   CO          90013552666
4B995461991569   RICARDO      REYNA                    TX          75097384619
4B995743291988   AMY          PITTMAN                  NC          90014597432
4B995982991351   LORENA       ANGUIANO                 KS          29086789829
4B99611828B355   ROSALVA      AVILA                    SC          11064921182
4B996211891569   RUTHIE       WADE                     TX          75086702118
4B996253A84368   VIC DEBBIE   POWERS                   SC          14539502530
4B996458271999   ANDREA       ROBLES                   CO          38097954582
4B996683251383   JILL         DURBIN                   OH          66093466832
4B996899677354   REBECCA      LOCKETT                   IL         90011958996
4B996987A5B395   PAUL         TAPIA                    OR          90006159870
4B997215871999   FREDRICK     GREENWOOD                CO          38025802158
4B997266172B43   JUAN         PUENTE                   CO          33013662661
4B997653661967   MIRIAM       SOTO                     CA          46060016536
4B997A34461968   JOSE         AVENDANO                 CA          90011060344
4B997AA655B53B   SABRINA      ORTEGA                   NM          90014450065
4B998678751382   JOSEPH       EHRMAN                   OH          90014696787
4B99927532B87B   DANIELLE     KLAGES                   ID          90015132753
4B99949828B16B   KAYLA        MORGAN                   UT          90012234982
4B999696891394   TONETTE      ANDERSON                 KS          29007156968
4B99B45314B271   AMY          SISSEL                   NE          27083034531
4B99B466222463   ROSIE        MEDINA                    IL         90015514662
4B9B113A48B165   RUNA         TUIMASEVE                UT          90000331304
4B9B138725B174   SHUNDA       STEWART                  AR          90014793872
4B9B154A591873   DARRYL       LIGONS                   OK          90004915405
4B9B1581991524   CLAUDIA      GUTIERREZ                TX          90008205819
4B9B1622293794   LANCE        LINKHART                 OH          90013456222
4B9B165485B53B   MONICA       RAMOS                    NM          35059446548
4B9B1A8465B395   JANICE       GARCIA                   OR          90010920846
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4B9B2168551334   LISA          LEDGER                  OH          90013151685
4B9B2392555939   MONUQUE       AVINA                   CA          90014613925
4B9B23A2493728   ROBERT        HUNLEY                  OH          90004123024
4B9B2581991524   CLAUDIA       GUTIERREZ               TX          90008205819
4B9B284615B53B   SAMUEL        JACKSON                 NM          90013598461
4B9B2A78591394   ANGELA        WALKER                  MO          90010050785
4B9B3372A91351   ARACELI       BUSTAMANTE              KS          90014173720
4B9B3427147954   LORI          FERGUSON                AR          25072724271
4B9B3A3A561968   SONIA         BELMONTE                CA          90008140305
4B9B4423772B36   ANDREA        SANDERS                 CO          90003754237
4B9B4526272B4B   SERAFIN       TAPIA                   CO          33094895262
4B9B456675B271   CHRIS         ROBERSON                KY          90010105667
4B9B456792B27B   DARRELL       HARRIS                  DC          90011335679
4B9B5155271943   KENYADA       MCCALL                  CO          90012481552
4B9B5321593794   ADAM          MARTIN                  OH          90014423215
4B9B5671191569   JAMIE         TORRES                  TX          75029706711
4B9B5932172B36   RICHARD       GARCIA                  CO          33096259321
4B9B6238A61967   NICOLE        NICHOLSON               CA          90009032380
4B9B625545B58B   DEBBIE        KLEM                    NM          90002662554
4B9B667574B271   NYIBOL        BUOM LIEM               NE          90015126757
4B9B7411651383   ASHLEIGH      SCHWARM                 OH          90012834116
4B9B7A73991569   OTILIA        QUINTANA                TX          90014910739
4B9B8393251382   TINA          RAMSEY                  OH          66019723932
4B9B8A39791569   ROCIO         RANGEL                  NM          90006170397
4B9B8A9785B174   BOBBIE        MORRIS                  AR          90011150978
4B9BB23965B58B   GWEN          GREEN                   NM          90008482396
4B9BB4A1191351   TYLOR         NCIDHOLTT               KS          90015514011
4B9BB627A93794   TAMMY         STEVENS                 OH          90012646270
4B9BB669171999   CHANTEL       ARAGON                  CO          90011226691
4B9BB79A671999   SAMANTHA      GONZALES                CO          90013377906
4B9BB88428B165   REINA         VALENZUELA              UT          90005768842
4B9BB913862B31   JAIME         TORRES                  KS          90013859138
4BB11418A71999   CHANTEL       GONZALES                CO          38013024180
4BB12543151383   MARCO         GOMEZ                   OH          90011915431
4BB1286A34B271   SALAT         MUSA                    NE          90014858603
4BB12947255939   STEPHANIE     GOMEZ                   CA          90009039472
4BB131A7484368   NYASHA        HEYWARD                 SC          90012701074
4BB13447A3B343   DAVID         STEPHEN                 CO          33026844470
4BB1353A62B87B   DIANE         HEILMAN                 ID          41007145306
4BB13587A47954   JOSHUA        LOMONACO                AR          90013215870
4BB1423722B27B   EBONY         SILVER                  DC          90013182372
4BB1424A87B355   NIKISHA       BUTLER                  DC          90001242408
4BB14274A5B53B   DEAN          GROSS                   NM          90015112740
4BB14392A5B52B   KATHLEEN      COMPTON                 NM          90015143920
4BB14479551383   CARLOS        PEREZ                   OH          90012004795
4BB1453175B53B   CECILIA       SILVA                   NM          90015095317
4BB14726391873   BIG           GHETTO                  OK          90003477263
4BB14851961967   ANTHONY       WILLSON                 CA          90013748519
4BB14928691351   JUANA         SOTO                    KS          90001419286
4BB14A7182B87B   NORMAN        FORTIER                 ID          41086760718
4BB15268A5B222   BARBIE        JACKSON                 KY          90014762680
4BB15393272B36   ARCELIA       VELAZQUEZ               CO          33045153932
4BB1585245B53B   ANGELA        HERNANDEZ               NM          90014178524
4BB15877571946   MELISSA       CUMMINGS                CO          32064858775
4BB16217891873   APRIL         WOOD                    OK          90000932178
4BB16355A55951   ANESSA        LEYDIG                  CA          49079303550
4BB16611A2B87B   RUDY          BARAGA                  ID          90008686110
4BB1664935B223   PAULA         MARTIN                  KY          68056226493
4BB16858791351   ANGELICA      CATHERO                 KS          90010168587
4BB16A5993B491   JOHN          GREEN                   PA          90013810599
4BB18125351383   CHRISTOPHER   WARD                    OH          90006981253
4BB18182471999   KIM           BELL                    CO          90015271824
4BB1822768B849   YURI          GAMBOA                  HI          90014332276
4BB18296555939   DAVID         KING                    CA          90014562965
4BB18465151382   KIMBERLY      MCDONALD                OH          90014664651
4BB18A32291569   DANILO        IGNACIO                 TX          90013170322
4BB1943923168B   HERICA        RAMIREZ                 KS          22089784392
4BB19683871999   RHIANNON      MARTINEZ                CO          90013196838
4BB1973445B222   VICTORY       REYNOLDS                KY          90014807344
4BB19942472B36   CINDY         HAMMOND                 CO          90010149424
4BB19964291351   GERMAIN       RIVERA                  KS          90005379642
4BB19A7298B16B   CHRISTOFFER   HARRIS                  UT          90008480729
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4BB1B18838B16B   RODRIGO       ABURTO                  UT          31073281883
4BB1B34143168B   NICOLE        STAGNER                 KS          90014483414
4BB1B56335597B   JANETT        CRUZ                    CA          90000395633
4BB1B72A993794   MICHELE       STEWART                 OH          90001907209
4BB21286547954   DYLAN         PANGLE                  AR          90013582865
4BB21397A5B523   MARIAH        RAEL                    NM          90005983970
4BB217A3261963   ROSA          GONZALEZ                CA          46040607032
4BB21A7A672B43   HALLEY        DILLOW                  CO          33066320706
4BB22188171946   LINDA         YOUNG                   CO          32002501881
4BB2224313B491   ALEXI         LOPEZ                   PA          90013502431
4BB22397A5B395   ANN           PRESTON                 OR          44542163970
4BB22461593794   TRACEY        ARRINGTON               OH          90009024615
4BB22714791394   KESY          VONGBOUTDY              KS          90013067147
4BB2272A44B271   ROD           SMITH                   IA          27044967204
4BB22829761963   MARLA         EAVES                   CA          46050868297
4BB2317378B355   MARIA         MEDINA                  SC          90013791737
4BB2319275B58B   RICHARD       ESQUIBEL                NM          90011181927
4BB23248493794   BRANDON       BURKHART                OH          90011462484
4BB233A1947954   JUAN          MARQUEZ                 AR          25072133019
4BB23641284368   DAMION        LABBON                  SC          90009546412
4BB23642A51334   KADE          TAYLOR                  OH          90013546420
4BB23733572B4B   RHONDA        ORNELAS                 CO          90002127335
4BB23A26272B36   DARRELL       BORST                   CO          90013170262
4BB2414513168B   RAMOS         BENCOMO GUSTAVO         KS          90006541451
4BB2435698B182   DEBORAH       SMITH                   UT          90013703569
4BB2538872B872   JUAN          CALVILLO                ID          90005623887
4BB2557535B395   RHONDA        BOYD                    OR          90001715753
4BB25A6795B523   CORRINE       MAES                    NM          35087140679
4BB2642935B58B   GUILLERMO     ARROYO                  NM          35003984293
4BB2662325B53B   ANDREW        DANKO                   NM          90014686232
4BB2693595B222   SHARON        ROBLERO                 KY          90011749359
4BB27251841258   BRITTANY      MATTHEWS                PA          51096852518
4BB2728715B254   FRANK         LOWE                    KY          68017492871
4BB27414161963   JULIA         RODRIGUEZ               CA          90013134141
4BB2757A684368   EDUARDO       VALENCIA                SC          90011225706
4BB27A52993794   AMBER         GEORGE                  OH          90014530529
4BB27A64391351   QUINTEN       DOTY                    KS          90015460643
4BB28219361968   WENDY         MOORE                   CA          90014612193
4BB2892695B271   GARY          PROFFITT                KY          90003449269
4BB28A1A871934   CANDACE       FINCH                   CO          32008110108
4BB28A59191351   DANYELL       POOLE                   KS          90013360591
4BB2912365B271   ERNESTO       GUTIERREZ               KY          90015181236
4BB291A6883B25   ISRAEL        CASTRO                  TX          90015461068
4BB29227161967   KELLELE       SIMMONS                 CA          46014852271
4BB2975785B222   CHARLENE      MITCHELL                KY          90014807578
4BB29937741258   NICOLE        SMITH                   PA          51082469377
4BB2999622B87B   RHONDA        PREVITI                 ID          41092519962
4BB29A9895B249   HEATHER       BROWN                   KY          68070810989
4BB2B33395B398   EDUARDO       VELEZ                   OR          44585573339
4BB2B39455B523   ROSIE         BEGAYH                  NM          90005983945
4BB2B822355951   RODRIGO       CASTELLAN               CA          90011838223
4BB3138685B357   RUDY          ACOSTA                  OR          90007103868
4BB3213335B271   ALICE         COWHERD                 KY          90014211333
4BB32281255939   JOE           RAY                     CA          49062372812
4BB3315A691873   ISIDORE       MCNALLY                 OK          90009741506
4BB33429755939   MARIA ELENA   PERALES HERNADEZ        CA          90013794297
4BB3351552B828   JUSTIN        JONES                   ID          90012865155
4BB338A458B165   BRETT         WATERS                  UT          90008888045
4BB3393925B222   CLEORETTA     ALLEN                   KY          90011749392
4BB348A893B491   KEITH         BYNUM                   PA          90014438089
4BB35571A51334   SERGIO        ARCE                    OH          90011965710
4BB3633215B52B   GUADALUPE     FLORES                  NM          36091773321
4BB36398571934   MARY          KEARNEY                 CO          90015053985
4BB36463793794   LORI          TROVILLO                OH          90010014637
4BB36622772B4B   FREDDY        OLIVAS                  CO          90011136227
4BB37288641258   ERROL         SESSOMS                 PA          90003382886
4BB37416872B36   ALFREDO       SANDOVAL                CO          33068624168
4BB3777A52B87B   RONELLE       JONES                   ID          90005007705
4BB379A3161968   LIAH          SEGURA                  CA          90009229031
4BB38A74A71934   TOCHE         CHAPPLE                 CO          90011280740
4BB39269893794   JASON         HORSFALL                OH          90011302698
4BB3929625B53B   LUIS          BUSTILLOS               NM          90008992962
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2247 of 2500


4BB3972573B234   LEROY         REED                    DE          90015367257
4BB39A4A25B58B   ANGEL         PEREZ                   NM          90011960402
4BB3B234391394   VERONICA      RODRIGEZ                KS          90013182343
4BB3B36665B271   BARBARA       HAYES                   KY          90011363666
4BB3B385571934   ADRIANA       SOCORRO                 CO          90015053855
4BB3B5A415B223   CONSTANCE     NEAT                    KY          90012725041
4BB3B63215B395   REBECCA       JARDING                 OR          90010316321
4BB3B89465B52B   ENRIQUE       SARMIENTO               NM          36017528946
4BB41191572B36   DEBORAH       CROOK                   CO          90006201915
4BB41198651383   ELIAS         ORTIZ                   OH          66064831986
4BB4124A491527   ANLEJANDRA    GONZALEZ                TX          90004122404
4BB42383A8B185   LETICIA       SILVA                   UT          90006493830
4BB42391961968   NORITA        ULEP                    CA          90013963919
4BB42463693794   CHRISTINA     LEWIS                   OH          90013454636
4BB42627772B43   ELIZA         ARMIJO                  CO          90013326277
4BB42657857129   STEVEN        HERNANDEZ               VA          81081446578
4BB43177693794   KIMBRELL      SHEA                    OH          90011751776
4BB43396671946   TIFFANY       GWYN                    CO          90002473966
4BB4362635B174   AISHA         SAWYER                  AR          23077326263
4BB4375325B395   LINDSEY       HENRY                   OR          90008487532
4BB43962391873   DEBORA D      HUERTA                  OK          21036239623
4BB439A918B16B   CAMILLA       MATE                    UT          90014709091
4BB44478A51382   SCHAMEKA      FORD                    OH          90010574780
4BB4455522B87B   CHELSEE       UNREIN                  ID          90011105552
4BB44946191988   DILMA         SANTOS                  NC          90014979461
4BB45161161968   ANGIE         DUEARTE                 CA          90014531611
4BB4536962628B   PAYGO         IVR ACTIVATION          WI          90013833696
4BB45498272B36   SERGIO        MEDINA                  CO          90013094982
4BB4554735B58B   LYNNETTE      ESSEX                   NM          90013695473
4BB4562A955951   EDUARDO       CASTANEDA               CA          49017996209
4BB458A3A72B32   KECIA         ROGERS                  CO          90001328030
4BB46113151383   RYLAN         HICKMAN                 OH          90014711131
4BB46234371934   DOMONIC       GARCIA                  CO          90013622343
4BB4634732B27B   CAROLINA      BURGOS-HERNANDEZ        DC          81014993473
4BB46431455939   GERARDO       MORA                    CA          90014584314
4BB4655188B187   CLIFFORD      PRATHER                 UT          90005965518
4BB4667593B491   PAYOR         KYMARA                  PA          90006796759
4BB471A785B52B   JOHN          ORTIZ                   NM          36071581078
4BB47274961968   DAVID         RIVERA                  CA          90010832749
4BB47565772B36   LAVELLE       HUGHES                  CO          33021205657
4BB476A715B58B   JULIA         MACIAS                  NM          35009956071
4BB4788A75B174   CONNIE        DUCKETT                 AR          90000218807
4BB4789815B37B   MELISA        ELMS                    OR          44586398981
4BB4847787B694   DANIEL        NEPP                    GA          90015194778
4BB49369791988   KYLE          EVERETT                 NC          90012943697
4BB4946A42B253   MARKETIA      TINKER                  DC          90004684604
4BB4946A651383   SCOTT         DAVIS                   OH          90014784606
4BB49683771934   ANTHONY       COPELAND                CO          90014846837
4BB4976485B357   DYLAN         PERRY                   OR          90007107648
4BB49A1682B27B   GILBERTO      TETEDOUX                DC          90015130168
4BB4B328291394   JUAN CARLOS   CAPETILLO               KS          90013863282
4BB4B891472B4B   JEFFREY       WILLIAMSON              CO          33008078914
4BB4B989193794   JACK          DENT                    OH          90007759891
4BB515A993B491   TOMMY         STILES                  PA          90015485099
4BB51683771934   ANTHONY       COPELAND                CO          90014846837
4BB5183A993794   DANIELLE      HOLLON                  OH          90014068309
4BB5197687B694   ALEXUS        JONES                   TN          90015399768
4BB52219571999   GERRAD        MITTINO                 CO          38012102195
4BB5274495B52B   BILLY         MITCHELLE               NM          90009507449
4BB52748891569   EDMUNDO       VAZQUEZ                 TX          75040307488
4BB52917991988   GREGORY       HUNT                    NC          17095189179
4BB52973491351   JOE           ESPINOZA                KS          90014599734
4BB5317324B52B   ANTHONY       SYKES                   OK          90002391732
4BB53187772B4B   CHAZ          MARTINEZ                CO          90012751877
4BB5328438B165   TERA          STWART                  UT          90015252843
4BB53743855939   JESSICA       CLARK                   CA          90012847438
4BB5387A55B58B   RICHARD       GONZALES                NM          90014858705
4BB53898141258   KIMBERLY      PHILLIPS                PA          90006228981
4BB53AA892B27B   ADALID        PINEDA                  DC          90010370089
4BB54898761963   DEREK         AVALOS                  CA          90010168987
4BB55414661967   RUDY          PIMENTEL                CA          46094254146
4BB55735991569   ROSARIO       ATIENZO                 TX          75084687359
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4BB5594675B395   KIAM        OSLEGER                   OR          44503189467
4BB559A928B355   MEAGAN      AU                        SC          90009809092
4BB55AA145B53B   LINDA       CASTILLO                  NM          35063540014
4BB5627688B16B   MARCOS      MALDONADO                 UT          31007862768
4BB5633195B58B   JUSTIN      PACHECO                   NM          90003133319
4BB5635A55B53B   JAMES       URTIAGA                   NM          35026953505
4BB563A524B25B   RICK        DUNN                      NE          90011833052
4BB5643772B27B   RAZURI      HILDERANDO                DC          81015354377
4BB56493171934   JONATHAN    HORNE                     CO          90015054931
4BB5664884B271   TAMIKO      COTTON ROSS               NE          90014046488
4BB57431961963   MELISSA     RUIZ                      CA          90013134319
4BB577A765B395   TINA        BROWN                     OR          44594617076
4BB57A1393B388   NADINE      MCLEMORE                  CO          33096620139
4BB58289172B98   SONIA       BERNARD                   CO          33004202891
4BB58649651325   JONATHAN    JONHSON                   OH          90007916496
4BB58A9355B52B   ANTHONY     MARTINEZ                  NM          90011940935
4BB59514591569   JASON       ROGERS                    TX          90011065145
4BB59547193794   CAROL       HUFFMAN                   OH          66084355471
4BB5974284B271   JOSE        ROMERO                    NE          90005047428
4BB59944351334   ANA         JIMENEZ                   OH          90012749443
4BB59981691873   HIJINIO     MAZARIEGOS                OK          90009319816
4BB59A2615B58B   MAYRA       SOUCHET                   NM          90006240261
4BB59A31561967   STEVEN      HUNT                      CA          46042920315
4BB59A6725B271   SEQUOIA     JOHNSON                   KY          90005230672
4BB5B31A12B87B   JEREMY      TURRELL                   ID          41054583101
4BB612AAA2B84B   DIEGO       CORDOVA                   ID          90015492000
4BB6133528B165   TONY        LINAM                     UT          90015253352
4BB6192A55B357   STEPHANIE   ALVESAMARAL               OR          90007109205
4BB6218238B355   LATOYA      FAIR                      SC          11018771823
4BB62277972B36   CHARITY     BRYSON                    CO          90013342779
4BB6238915B53B   DENISE      MORENO                    NM          35036563891
4BB62867751383   MONTREAL    CLAY                      OH          90014788677
4BB62982433632   ALTON       LASH                      NC          90001459824
4BB633A825B58B   MELISSA     MARTINEZ                  NM          35030893082
4BB63596961963   SANDRA      RAMOS                     CA          46034435969
4BB64168421B21   CHARLES     BREWER                    TX          90012331684
4BB64813751383   SILVIA      SANTANA                   OH          90008338137
4BB64831591351   MARIA       MOLINERO                  KS          90000658315
4BB64A4614B271   GARY        DELANCEY                  NE          90012400461
4BB65575571999   JOETTA      GUTIERREZ                 CO          38067505755
4BB662A242B84B   JOSE        VAZQUEZ                   ID          90015492024
4BB6656918B16B   ALICIO      FLORES                    UT          31002855691
4BB66988491988   SANDRA      NELSON                    NC          17074089884
4BB669A2371999   BETTY       CORTEZ                    CO          90013599023
4BB66A87572B36   IVAN        PEREZ                     CO          90006200875
4BB66AA1393794   DESTANEY    HUBBARD                   OH          90012510013
4BB66AA1961967   YURIANA     PINEDA                    CA          46036010019
4BB67225572B48   CIERRA      HUMAN                     CO          90013822255
4BB6745612B27B   TYRONE      BURROWS                   DC          81041454561
4BB68392861963   TANYA       GALLONBARDO               CA          90008093928
4BB688A3161968   JOSE LUIS   BURLAZ                    CA          90013328031
4BB6899445B221   JESSICA     WATTS                     KY          68079889944
4BB689A7451382   JONICE      PHILLIPS                  OH          90011309074
4BB69323372B43   MILO        GALINDO                   CO          33056053233
4BB693A5291988   SIMON       WAMBUI                    NC          90015293052
4BB69736184368   MACIS       GUERRERO                  SC          90011237361
4BB6B121971999   RAYMOND     YEPEZ                     CO          90014811219
4BB6B146172B36   JOSEPH      MARTINEZ                  CO          33016441461
4BB6B33528B165   TONY        LINAM                     UT          90015253352
4BB6B379871933   VALERIE     LUCERO                    CO          90007713798
4BB6B513A5B395   JOSH        HOWELL                    OR          44524415130
4BB6B934A61963   GLORIA      SOTO                      CA          90009209340
4BB71424791988   ANGELITA    REYES                     NC          17084924247
4BB71445461963   EMIGDIO     GARCIA                    CA          90013134454
4BB7165A657124   JOSE        LOPEZ                     VA          90012146506
4BB7221685B375   ERIC        TOOMBS                    OR          90005972168
4BB7225A172B36   MILTON      CLEMENTS                  CO          90009272501
4BB72795491569   JASMIN      MARQUEZ                   TX          75010697954
4BB73143461547   MAKEYSHA    SORENSEN                  TN          90007791434
4BB7345719183B   DANA        LACY                      OK          90013154571
4BB7346125B52B   NAOMI       JAMES                     NM          36083934612
4BB7347245B222   SHAFT       STEVENSON                 KY          90010624724
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2249 of 2500


4BB7347AA5B271   DAYNA          CHERRY                 KY          90012814700
4BB7349532B27B   DONTA          HUMES                  DC          90009154953
4BB73826924B7B   ALLAN          TURNER                 DC          90006688269
4BB73935493794   KELLI          YOUNKER                OH          90012819354
4BB7417A45597B   ANN            SJODIN                 CA          90006461704
4BB7439335B271   TIA            CLARK                  KY          90010963933
4BB74512471934   MICAELA        BOLTON                 CO          90015065124
4BB74537993794   MOM            LOLLAR                 OH          90015285379
4BB7454687B694   ANNE           BROWN                  GA          90013745468
4BB74867751383   MONTREAL       CLAY                   OH          90014788677
4BB74925391873   LASHONDA       CARTER                 OK          90014519253
4BB75821161967   JULIO          GARCIA                 CA          90014468211
4BB75943A55951   JOHN           ORTA                   CA          90011559430
4BB7617133168B   BRIAN          SPENCER                KS          90003841713
4BB76371171999   NICHOLAS       VALDEZ                 CO          90013603711
4BB76991591569   RYLEY          MOWRER                 TX          90010689915
4BB7715845B222   HECTOR         SERANO                 KY          90011751584
4BB7724964B271   DONESHA        MATTHEWS               NE          90013552496
4BB7729467B386   CARLTON        RAYMOND                VA          90006232946
4BB77391272B4B   JOSEPHINE      MCGEE                  CO          33098853912
4BB77474771946   MICHELLE       THOMPSON               CO          90005854747
4BB77661293765   JOSEPH         MADDEN                 OH          90003976612
4BB77819491988   LUCERO         PONCE                  NC          90011738194
4BB77822855939   ALEJANDRO      JURADO                 CA          90015108228
4BB78137155939   VANESSA        RUBIO                  CA          49036181371
4BB78474771946   MICHELLE       THOMPSON               CO          90005854747
4BB79535747954   BREANNA        BROOKS                 AR          90013935357
4BB7962735B271   SUN            SHINE                  KY          90009746273
4BB79657984368   GELLON         IUTH                   SC          90014746579
4BB7B32565B395   NICHOLAS       WOODS                  OR          44553543256
4BB7B441755939   JOSE           GOMEZ                  CA          90012504417
4BB7B75328B141   PATRICK        SMITH                  UT          90002937532
4BB7B753491873   TERRANCE       LOUIS                  OK          21094977534
4BB8112475B271   COURTNEY       DALE                   KY          68079871247
4BB8112835137B   JESSICA        BROWN                  OH          90013611283
4BB81393172B43   CECILIA        GARCIA                 CO          33065103931
4BB82148661963   LETICIA        ARMENTA                CA          46077341486
4BB82349755951   ANGEL          LOPEZ                  CA          90005683497
4BB8238885B52B   JOSE           TRUJILLO               NM          36080293888
4BB82545851334   MARSHA         ROUNDTREE              OH          66089145458
4BB82763991988   LAVONE         VANNORDEN              NC          90012937639
4BB8276527B497   JOSE ANTONIO   ZELAYA                 NC          90011377652
4BB8281717B694   KIERSTON       WALKER                 GA          90012718171
4BB82887355939   NAYELY         RUMBO                  CA          90011118873
4BB8326645B53B   MARIBEL        SALAZAR GARCIA         NM          90013482664
4BB8334675B395   SANDRA         LOPEZ                  OR          44567893467
4BB8389257B694   KRISTEN        CARPENTER              GA          90001108925
4BB83989A4B271   CANDELARA      SANMEZ                 NE          90004929890
4BB8417A971999   LETICIA        VIGIL                  CO          90011431709
4BB8481542B87B   MARGARET       ANKNEY                 ID          90000688154
4BB851A795B523   SERGIO         LOPEZ                  NM          35028031079
4BB85499251383   FRANK          PETRELLI               OH          90014784992
4BB857A9371999   BEN            WOODWORTH              CO          90015487093
4BB8598258B165   BARTEL         DAVID                  UT          90005099825
4BB86493372B43   DAN            HARDING                CO          33091494933
4BB865AA451383   DIANA          SCHEFFLER              OH          90014785004
4BB86848A71999   ANNA           KUSHNER                CO          38094738480
4BB869A715599B   ANDREA         ARNDT                  CA          90011409071
4BB87129993769   PATTY          YALER                  OH          90011071299
4BB87235791873   ADRIAN         OGANS                  OK          90003462357
4BB8748A951382   DONALD         THOMPSON               OH          90012324809
4BB8839558B165   SASHA          PINEGAR                UT          90008703955
4BB885AA451383   DIANA          SCHEFFLER              OH          90014785004
4BB8866295B52B   APRYL          RYAN                   NM          90001506629
4BB8868748B185   IGNACCIO       CERRITNO               UT          31066046874
4BB88947791569   LIDIA          CEBALLOS               TX          75038049477
4BB8918837B463   FREDY          SIERRA                 NC          90009831883
4BB8927125B395   CARLA          SUTHERLAND             OR          44555802712
4BB8946A471946   MARCOS         RODRIGUEZ              CO          32045874604
4BB89798161968   JESUS          REYES                  CA          90014237981
4BB8B532184368   ESTRELLA       CORTEZ                 SC          90009845321
4BB91117451334   LINDA          JONES                  OH          90012951174
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2250 of 2500


4BB91283291351   DONOVAN       HALL                    KS          90013872832
4BB9132945B174   DESARAY       HINES                   AR          90014793294
4BB9152735B53B   CARLA         ARCHULETA               NM          90015275273
4BB9154A193794   GUADALOPE     GONZALEZ                OH          66037795401
4BB9155145B53B   CURTIS        HOLMES                  NM          90013475514
4BB91A9673168B   ROMERO        MAGDALENO               KS          90001680967
4BB9224952B27B   ALLEN         ALEXANDER               DC          90014802495
4BB92262793767   TIFFANY       CURRY                   OH          90011842627
4BB923A764B271   MICKEY        EVANS                   IA          90011503076
4BB92A16393794   ROBERT        JONES                   OH          90012020163
4BB9343A161968   JESUS         FERNANDEZ               CA          90007694301
4BB936A9A71934   JASMINE       SHELTON                 CO          90010176090
4BB9424113B491   RONALD        LARKINS                 PA          90010452411
4BB94392451334   JESSICA       ADAMS                   OH          90014663924
4BB94563647954   NATHANIEL     MCCOY                   MO          27558845636
4BB94742A91394   CECILIA       GAMEZ DE RODRIGUEZ      KS          90011967420
4BB94864384368   VIRGINIA      GLEN                    SC          90012388643
4BB9492168B355   JESUS         PADILLA                 KS          90001649216
4BB94A78672B4B   JESUS         MORALES                 CO          90007020786
4BB95751661968   HECTOR        CASTANON                CA          90009507516
4BB95783872B36   JESUS         CASTRUITA               CO          90003087838
4BB95848161963   PAMELA        PAUL                    CA          90010548481
4BB9626234B271   PATRICK       GILPIN                  NE          90014742623
4BB96344693794   ARLIE         FRALEY                  OH          90013443446
4BB96499A51382   DIANE         LUCKEY                  OH          90014664990
4BB96568941258   BANISHA       BERRY                   PA          90003385689
4BB9687445B58B   GEORGINE      BACA                    NM          35020338744
4BB96A57455947   ALEJANDRA     MORENO                  CA          90008170574
4BB97113861967   SANTIAGO      SALAS                   CA          90010591138
4BB97279924B75   DOMINGO       MENDEZ                  DC          90007282799
4BB9765838B16B   DEBRA         SMITH                   UT          90013046583
4BB9775A591569   BLANCA        ESTRADA                 TX          90009637505
4BB98A62A51334   PORTIA        BEAUCHAMP               OH          66078800620
4BB98A7278B165   TAMBI         PORTER                  UT          90001030727
4BB991A3461968   VANESSA       HARO                    CA          90012921034
4BB993A232B27B   NADI          SALH                    DC          90011173023
4BB9941748B355   HOMER         ROMERO                  SC          90011964174
4BB9944A772B36   JOSHUA        HARRIS                  CO          90013164407
4BB99576893794   SHAVONNE      JOHNSON                 OH          90009855768
4BB995A1A4B271   REBECCA       DEPLANTY                NE          27008765010
4BB99AAA98B165   HERNAN        ABE                     UT          90012590009
4BB9B95A34B271   BRANDI        HYTREK                  IA          90003439503
4BB9BA7352B87B   ERIK          ATOR                    ID          41046250735
4BB9BA77851383   MELODY        HOLLINGSWORTH           OH          90011550778
4BBB143163168B   AMY           PETERSON                KS          90015574316
4BBB1539461968   JOSE          CRUZ                    CA          90015025394
4BBB1752161967   LEYVA         JAMISON                 CA          46059397521
4BBB1792871999   CHRISTOPHER   ALCON                   CO          90013177928
4BBB1937747954   CRYSTAL       CAIN                    AR          90010979377
4BBB227A784368   JEANNETTE     JENKINS                 SC          90012152707
4BBB2465151382   KIMBERLY      MCDONALD                OH          90014664651
4BBB328A22B87B   SHELBY        BOGEART                 ID          90014932802
4BBB3463693794   CHRISTINA     LEWIS                   OH          90013454636
4BBB3537672B36   CHRIS         SIERRA                  CO          90012335376
4BBB4159351383   DEBBIE        PIERCE                  OH          90011851593
4BBB426165B373   WAYNE         COONS                   OR          90012402616
4BBB4594293794   TERA          GROW                    OH          66078315942
4BBB5411A91873   LENNISON      BAEZ                    OK          90014914110
4BBB546688B16B   SELENA        BALDERAS                UT          90013324668
4BBB54A5551383   MELISSA       COMBS                   OH          90014784055
4BBB557915B271   DRU           COCHRAN                 KY          90013485791
4BBB6338791351   DEBORAH       FRIES                   KS          90015593387
4BBB65A4371946   ANTONINA      MIGUEL                  CO          32093595043
4BBB6628147954   TARA          GARRETSON               AR          90014206281
4BBB665545B174   TIA           WALKER                  AR          23005846554
4BBB7322171934   BENJAMIN      KINCAID                 CO          90012353221
4BBB7368491569   ERNESTO       MENDIZABAL              TX          75037623684
4BBB837655B526   LOPPEZ        IGNACIO                 NM          35093803765
4BBB8587584368   ORLANDO       CERCOLA                 SC          90013905875
4BBB8869255939   RICARDO       SANCHEZ                 CA          90013938692
4BBB899885B357   KENNETH       FOREMAN                 OR          90014839988
4BBB9424426267   MICHEAL       BUEGE                   WI          90014544244
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2251 of 2500


4BBB9428591988   CRYSTAL           KEITH               NC          90013984285
4BBB9589755939   STEVEN            KILLIAN             CA          90013925897
4BBB987864B271   JAMES             FINLEY              IA          90005028786
4BBB9931241258   KELLY             KLEIN               PA          51073549312
4BBBB113841235   MOLLY             BANKS               PA          90008631138
4BBBB137371934   ANGELA            COLLINS             CO          90008691373
4BBBB329344335   MATTHEW           COHEN               MD          90014533293
4BBBB61AA55951   JU DEE            ATAMIAN             CA          90007866100
5111144A661973   ANGEL             RUIZ                CA          90014624406
51111577872B77   ROSAMARIA         GARCIA              CO          33047865778
511117A9397B77   JOSE              ORDAZ               CO          90011807093
51111A3185B531   BAIDON-MARTINEZ   A                   NM          90005610318
511123A612B27B   MELODY            MOORE               DC          90013163061
5111279875715B   GIM               CHUL WOONG          VA          81004477987
511127A5A5B531   ANTHONY           PANTELAKIS          NM          90014107050
5111282755758B   AMANDA            REYES               NM          90011398275
51112942898B2B   JENNILER          R NANCE             NC          11009269428
51112A74197B77   GUSTAVO           VILLALBA            CO          39086780741
5111322145715B   DENIS             HERNANDEZ           VA          90013982214
51113955A72B49   KATHRYN           CARVER              CO          90009029550
5111441912B27B   ROLANDA           NICHOLSON           DC          90014934191
5111514975B543   MARTHA            QUEZADA             NM          35048081497
5111535A861971   NICOLE            ARNOLD              CA          46091643508
5111567345B387   BERNARDINA        CASTRO              OR          44558346734
5111577818B169   ANIESA            GONZALES            UT          31041787781
5111584844B588   SCHRONE           HAMILTON            OK          21576958484
511158A985715B   CARLOS            HERNANDEZ           VA          90009208098
511168A6A91989   CARLOS            FUENTES             NC          90010578060
5111719875B393   STAN              FREEMAN             OR          44533621987
5111775835715B   NOHEMY            RIVERA              VA          90001157583
51117995A81631   KECIA             STONE               MO          90011849950
5111852473B394   ALONDARA          RUIZ                CO          90013355247
51118538197B54   TERESA            MALTOS              CO          39083685381
51118579A44394   KELLEY            SEAY                DC          90010975790
51118A5675715B   VERNON            ROBINSON            VA          90012760567
5111932AA4B588   STEVEN            DYE                 OK          90011303200
5111978415758B   ARACELI           RODRIGUEZ           NM          90004577841
51119AA715B393   EGLANTINA         MOTA                OR          44561590071
5111B146557122   NABIAH            GNAOUI              VA          90007131465
5111B1A1651332   JAMILA            MANDLOVE            OH          90007611016
5111B255341233   TEBALMA           FINTAKPA            PA          90013342553
5111B38584B588   MEGHANE           WILSON              OK          90013073858
5111B648785928   BRANDY            GARCIA              KY          90007986487
5111B826157148   MAURICIO          HERNANDEZ           VA          81072118261
5111B833472B36   HELEN             MIRANDA             CO          90009148334
5111B877731429   EDNA              WILLINS             MO          90005648777
5112145877242B   LEAH              KOKOSKA             PA          51014704587
51122217372B43   KEVIN             COLINDRA            CO          90000772173
5112248115B531   ORLANDO           ARMIJO              NM          90014084811
511226A978B169   MARK              HENDRIKSEN          UT          90012786097
511227A9397B77   JOSE              ORDAZ               CO          90011807093
51123165A72B36   JUAN              PENA                CO          90003721650
5112398645758B   ASHLEY            RIVERA              NM          90014309864
51123A97361975   SHAYLA            VILLASENOR          CA          90013460973
5112547924B28B   JONI              OLBERDING           NE          26076144792
51126751A5B399   ANTOIN            HALL                OR          44579477510
51126A1225715B   JOSUE             TURCIOS             VA          90003480122
5112735254B28B   MARGY             PARRA               NE          26038903525
511276A8A97B77   BROCK             SAINT AORO          CO          90009286080
5112783918B169   MEGAN             DAY                 UT          31062468391
51128355372B27   SHABINA           CHAND               CO          33087383553
5112878465B387   LINDA             NORCUTT             OR          44522567846
5112924A62B27B   STEPHEN           LAWRENCE            DC          90010102406
5112989A272B27   KARLA             MARTINEZ            CO          90003538902
51129A95657148   MERINA            GONVALEZ            VA          90010440956
5112B15338B169   PRICE             JACK                UT          31004351533
5112B38915758B   JENNIFER          GOHRICK             NM          90012683891
5112B618333699   LAKESHA           PERRY               NC          90010196183
5112BA39861975   MARIA             GALAN               CA          90012800398
5112BA4232B862   ROBERT            HOLLOWAY            ID          41086080423
51131476A91895   RAYMOND           MALLETT             OK          90015124760
51131A83361973   SAMMY             HILLEF              CA          46055300833
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51132392572B27   LUCINDA     RIVERA                    CO          90012403925
5113249A672B43   VINCENT     ROBINSON                  CO          90003334906
51132656172B36   FLORAYMA    HERNANDEZ                 CO          33074596561
51133276A72B43   ANA         GARCIA                    CO          33077662760
5113329725B387   CHRIS       PULSE                     OR          44560512972
51133637498B2B   FRANCINA    BOWMAN                    NC          11011446374
51133824972B77   AGUEDA      AGUILAR                   CO          90007168249
5113419965758B   FLORENCE    HEWITT                    NM          35565281996
5113432715B393   JESSAMYN    COBB                      OR          44505443271
51134384698B2B   FREDDIE     MORGAN                    NC          11010063846
511344A7172B67   JAVIER      FLORES                    CO          33052544071
51135A51157148   JUAN        REYNA GUEL                VA          81063730511
51135A7614128B   MELINDA     WILSON                    PA          90005620761
511362AA72B973   ALEJANDRA   CUEVAS                    CA          90011522007
51136A33561973   DAVID       RAMIREZ                   CA          90012340335
51137657372B27   DANEANE     HOEL                      CO          90012926573
51137A13551322   WALTER      SCARBOROUGH               OH          66083780135
51137A3624B28B   LORENA      MENDOZA                   NE          26098610362
51137A65357148   FERNANDO    DELCID                    VA          90013950653
51137A92184357   CORETTA     LAWYER                    SC          14592230921
5113815834B588   TREMAYNE    BENNETT                   OK          90012801583
5113819525758B   LUIS        BELTRAN                   NM          90006371952
51138465698B2B   JAIME       HERNANDEZ                 NC          11073124656
5113856835B393   JASON       DWYER                     OR          90012825683
5113866575715B   LILIAN      DIAZ                      VA          90012706657
5113879545B387   GIGI        CASSEL                    OR          90010937954
5113884A75B579   ANTHONY     ROMERO                    NM          90015088407
51138A86572B43   OLIVIA      JOHNSON                   CO          33067960865
51139145772B67   CLARENCE    HOLLIMON                  CO          33046671457
5113931415B543   SCOHY       PASCAL                    NM          35056393141
5113944758B169   EFIGENIO    FLORES                    UT          31016514475
5113B68958B169   ANA         CARRION                   UT          90011456895
5113B694831428   MEAGAN      GIGER                     MO          90005206948
5113B743451348   MELODY      AZURE                     OH          66022627434
5113B85A772B36   ELIYAS      ALABO                     CO          90006178507
5113BA52791576   AURURA      MEDINA                    TX          75092290527
5113BA9939373B   RHONDA      MADDIGAN                  OH          90008720993
51142755972B43   ERNESTO     HERNANDEZ                 CO          33050027559
51142A2814B28B   ELVIRA      EPPENS                    NE          26076650281
51142A41591885   JUAN        CANO                      OK          90011250415
51142A5225758B   RICARDO     LAZONO                    NM          90007690522
51143543A5758B   BELINDA     VILLEGAS                  NM          35588555430
5114376275B531   ANGELICA    GARCIA                    NM          90012797627
5114387A691989   CAITLIN     HICKS                     NC          90015048706
51143A28972B27   ILYAZ       MOLLAHLIL                 CO          90010340289
51144527A5B531   JOSEPH      GRIEGO                    NM          90014325270
51144616772B27   MIKE        BLACKFORD                 CO          90014396167
51144683A51574   HUMBERTO    AVILA                     IA          90015066830
5114499212B27B   CHRISTIAN   POOLE                     DC          90011439921
51144A36661973   ELVIA       MARTINEZ                  CA          90012340366
51146286A5B393   KELLE       JENSEN                    OR          90007892860
51146381372B49   MARIBEL     GARCIA                    CO          33012123813
5114652755758B   GRIESELDA   GARCIA                    NM          90011385275
5114659825B387   JUAN        SAMCHEZ                   OR          90015165982
511469A7733696   NANCY       SPINKS                    NC          90009359077
511485A175B393   KERRY       GOODMAN                   OR          90010905017
511491AA77B359   HORACIO     LOPEZ                     VA          90009851007
5114B13535B399   BRENDAL     WARE                      OR          90002821353
5114B136651323   LEQUITA     REYNOLS                   OH          90001791366
5114B296961975   CARL        HILLMAN                   CA          46068462969
5114B87855715B   MIRNA       GUTIERREZ                 VA          81016288785
5114BA1892B27B   SELENA      HERNANDEZ                 VA          90000610189
511513AA82B27B   BRIAN       MARSHALL                  VA          90011483008
5115145444B588   WYATT       ALLEN                     OK          90014574544
51152859272B27   KEVIN       KOON                      CO          33033228592
51152959172B36   ROMUALD     SHNURAI                   CO          90012339591
51153757A72B36   CARLA       ROMERO                    CO          33005027570
511546A245B531   ANGEL       MUNIZ                     NM          90008376024
5115471144B28B   JODIE       CARTER                    NE          90012687114
51154718372B43   SEFERINA    RIVERA                    CO          33066897183
51154A6878B169   AMANDA      HAZLEWOOD                 UT          90006600687
51154A9997242B   EDWARD      CARNES                    PA          51064070999
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5115514652B393   JONATHAN     LEBRON                   CT          90014411465
51155254A72B27   DANIEL       SAAVEDRA                 CO          90000692540
5115682814B28B   KATHRYN      CLARK                    NE          90014628281
5115684985B387   CASEY        LEOPARD                  OR          90013528498
5115697822B245   LAVADA       CAMPBELL                 DC          90004189782
51156A61961975   IVAN         TOPETE                   CA          90012930619
511574A4924B7B   DANY         REYES                    VA          90013954049
51157921574B7B   DONAVAN      LAUGHMAN                 OH          90014389215
511581A6885928   KENNETH      MURRAY                   KY          90003031068
5115875A872B43   DAVID        SEDILLO                  CO          90012507508
5115941432B27B   ONYENONACH   ADIELE                   DC          81022544143
51159774372B43   MELISSA      HOLGUIN                  CO          90009877743
5115B99212B27B   CHRISTIAN    POOLE                    DC          90011439921
5116112A297B54   NALLELY      PALMA                    CO          39017121202
5116125124B521   JOSHUA       CLOTHIER                 OK          90013812512
51161651272B27   DAVID        STAUB                    CO          90013036512
51161A6874B29B   LISHON       BROOKES                  NE          90005990687
51162114772B36   RONNIE       HOMM                     CO          33070091147
51162191472B67   JODY         SMITH                    CO          33029301914
51162382A2B27B   PATRICIA     CLARK-CHERRY             DC          90014903820
51162519476B68   JAVIER       GONZALEZ                 CA          46039455194
51162966572B43   AMBER        PHILLIPS                 CO          90013279665
51162A78531428   LATASHA      BROWN                    MO          90014000785
51164278A61975   LILIANA      SANCHEZ                  CA          90012742780
5116452788B169   ROGER        RAMSARAM                 UT          90000595278
5116493A172B27   DEBORAH      GONZALEZ                 CO          33031279301
51164A39A84357   MARI         VALENTIN                 SC          90013550390
511655A5272B36   LISSET       GALLEGOS                 CO          33027255052
511676A728B167   MELISSA      HENRY                    UT          90006526072
51168376A4B29B   PAIGE        FLOYD                    NE          90010183760
5116845595B283   TAMARRI      SOWELL                   KY          90002064559
5116862728B169   JUANA        CARRILLO                 UT          31011896272
5116863A261975   AIOTEST1     DONOTTOUCH               CA          90015116302
51168A3A685862   NANCY        SARAGOZA                 CA          90010130306
5116911A572B36   EDDER        HERNANDEZ                CO          90012681105
51169AA3491895   MARIETTA     WILLIAMSON               OK          90013740034
5116B26325715B   EDWIN        REINOSA                  VA          90000932632
51171151672B27   NICOLE       BONE                     CO          90010381516
5117133372B29B   JAMES        WAGNER                   DC          81057153337
51171A1215B531   KYLE         BLACKWELL                NM          90013740121
5117256654B588   RICARDO      ALVARADO                 OK          90013655665
511727A4791895   CAMERON      GOOCH                    OK          90014957047
511729A1472B49   KARENA       JONES                    CO          90008819014
51172A4A161973   LUIS         ZAZUETA                  CA          90012340401
51173149172B49   CONSUELO     LOPEZ                    CO          33065981491
5117331524B28B   CINDY        GALDAMEZ                 NE          26025693152
51173432372B36   LORINA       GOMEZ                    CO          33054864323
51173447A5715B   CARMEN       AMAYA                    VA          81012494470
51173721672B43   JESUS        LUEVANO                  CO          33097257216
5117413123B394   ABEL         GUERRERO                 CO          90012091312
5117454822B27B   CHERYL       JENKINS                  DC          81072315482
51174827A72B49   JENNIFER     FORREST                  CO          33077888270
51174A31198B2B   DOMINIQUE    ANDERSON                 NC          90003250311
51175243272B27   HEATHER      HAGIN                    CO          33085632432
511767A734B588   DEREK        DIEDE                    OK          90012877073
51177169997B77   CEYRA        SEXTON                   CO          39095981699
5117727AA85928   BESIM        DEMIRI                   KY          90010292700
5117777A557148   FRANCISCA    ACOSTA                   VA          81063267705
5117783A572B49   JOSE         BARRAZA                  CO          90001428305
5117832268B188   JACKIE       WYNDER                   UT          90011453226
5117846665B393   JAMESON      PALMORE                  OR          90010214666
511798A6971964   ADAM         BRADSHAW                 CO          90014468069
51179927997B77   EZEQUIEL     MORENO                   CO          90007689279
5117B16537B46B   AGRIPINO     ANDOVAL                  NC          90007451653
5117B185585862   FERNANDO     HERNANDEZ                CA          90012081855
5117B49A15715B   BRAYAN       MAROQUIN                 VA          90007644901
5117B89785758B   RICARDO      MENDEZ                   NM          35502748978
5117BAA5372B43   TONI LEE     DIETIKER                 CO          90014600053
51181418872B43   TIA          JOHNSON                  CO          33024604188
5118163A561971   DAVID        SULLIVAN                 CA          90004356305
51181655272B27   MARUIN       CRUZ                     CO          90008666552
51182113572B27   VICTOR       BECERRA                  CO          90014211135
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5118326655715B   VELITA            JOHNSON             VA          90013642665
51183A6547B46B   JAVARIS           BRADY               NC          90002870654
51184272772B58   CECIL             SHARP               CO          90012872727
511842A5572B77   BARBARA           GOODNIGHT           CO          33055052055
5118461345B285   RONSHIKA          FORD                KY          90001026134
5118471414B28B   LAURA             CLEVENGER           NE          26002327141
511851A245B393   BRITTANY          HEFFRON             OR          90012721024
51185A8525758B   JOAQUIN           HERANANDEZ          NM          90014530852
51186527272B49   JUAN              RIVAS               CO          33050065272
5118663A633696   PATRICIA          BLEVINS             NC          12051826306
5118681914B588   TRAVIS            LAKIN               OK          90010498191
5118761235B387   RUBY              BURKETT             OR          90010436123
51187671A72B77   DEBRA             GRASSMAN            CO          90001006710
51187756A97B77   FRANCISCO         CARRANZA            CO          39093697560
5118812A833699   GLENDORA          PAYNE               NC          12042711208
51188555672B36   MARISSA           BLAKE               CO          90001185556
5118896342B862   LAYLA             WILSON              ID          41045319634
5118927657B46B   TOMARA            MURPHY              NC          90002552765
5118929A151323   KAREN             GREEN               OH          90013662901
5118934185B543   MARIA             MAYORGA             NM          90005693418
5118987285715B   JUAN              ORTIZ               VA          81033888728
51189A3A34B588   RUSSELL           SPARKS              OK          21560890303
5118B27912B27B   NORMA             LEON                DC          81027502791
5118B297731429   DONNA             HAGENS              MO          90014272977
5118B475391576   PAUL              PEREZ               NM          90013184753
5118B61494B28B   KORINA            KUCERA              NE          90014376149
5118B785391895   GABRIELA          RODRIGUEZ           OK          90012037853
5118BA3185B531   BAIDON-MARTINEZ   A                   NM          90005610318
5118BA32A5B283   JERMEKIA          VANCE               KY          68049460320
51191AAAA72B43   KIMBERLY          LOYA                CO          90012240000
5119258285715B   CARLOS            POLANCO             VA          90010135828
51192613972B33   JOSEPH            KINDON              CO          90012636139
51192816A8B169   RYAN              FELLER              UT          90010698160
51192878572B49   FELICIANO         MENDOZA PIMENTEL    CO          90012958785
51192A98861973   KEYLEEN           REYES               CA          90012350988
5119324235715B   GAMELZAR          ULIT                VA          90013012423
51193327772B88   STEPHNI           GALLOWAY            CO          90004953277
51193795A5B531   PAUL              RODRIGUEZ           NM          35027967950
51194357972B43   JENNIFER          POWELL              CO          33074443579
5119496964B588   JACOB             UGARTE              OK          90012989696
51194AAA972B77   MARIA             CASTILLO            CO          33047880009
51195464A41258   TIMOTHY           HANK                PA          90013384640
5119553695B531   MICHELLE          MONTOYA             NM          35012595369
511955A5561971   TAWNY             HAWKINS             CA          90001575055
5119597865B387   LISA              FUENTES             OR          90005669786
5119626432B896   SUSAN             BOOZER              ID          90009092643
51196591A84357   MARCY             SANCHEZ             SC          90007985910
5119676495B543   KIMBERELY         ARMIJO              NM          90005707649
5119682188B164   MICHELLE          LUTZ                UT          90001298218
511969A744B587   KAREN             MENDEZ              OK          90010779074
5119728547B46B   BRUCE             BARBER              NC          90014062854
511974A3957157   MATTHEW           MOSS                VA          90015344039
5119776495B543   KIMBERELY         ARMIJO              NM          90005707649
5119784655B399   JORGE             MARQUEZ             OR          44553648465
5119856994B588   JUANITA           ROBERTS             OK          90011905699
5119885A872B77   MAYRA             MONTES              CO          33014468508
51198865676B41   MARIA             SILVESTRE           CA          90011928656
5119886937242B   PATTI             JENNINGS            PA          51044978693
511991A7761836   ANTHONY           MCCORMICK           MO          90006751077
51199351972B36   JUANITA           DAVIS               CO          90001843519
5119B1A2991989   ALISHA            ADKINS              NC          90005851029
511B1392472B67   ZAGRA             NOURIN              CO          90012693924
511B171342162B   RONALD            WALKER              OH          90014157134
511B2125557148   JONATHAN          DIXON               VA          90013931255
511B244115B393   CYNTHIA           MURRAY              OR          90001584411
511B2665851348   HOLLY             ROWE                OH          90015116658
511B273385B579   ALEJANDRO         MARTINEZ            NM          90006427338
511B2A46991989   DEXTER            DOUGLAS             NC          90014860469
511B325985B387   MICHELLE          ADAMS               OR          44506792598
511B35A1A31429   MADELINE          STEPHENSON          MO          27507095010
511B3A8512B27B   JAMES             LINDER              DC          90015030851
511B411865B531   VIDAL             BACA                NM          90014991186
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511B4251191895   JULIO       MACARIO                   OK          21050972511
511B462755B393   DIANA       MALER                     OR          90014646275
511B4627A5B399   JAMES       CUMMINGS                  OR          90002876270
511B4A97985862   SHARON      SAVAS                     CA          90015150979
511B51A734B28B   HANNAH      MOLLER                    NE          90005801073
511B679564B28B   DAVID       MURPHY                    NE          90011087956
511B68A215B387   LATOSHA     CURRY                     OR          44506208021
511B6A56A61971   LEBARBARA   JOHNSON                   CA          90007340560
511B6A62357148   FRANSISCO   CHAVEZ                    VA          90013940623
511B734715B531   JASON       TUITELE                   NM          35060433471
511B7598557157   JHONY       RAMOS                     VA          90010745985
511B776718B169   MICHAEL     LANDON                    UT          31090887671
511B78AA491868   BRANDON     SMALLEY                   OK          90010018004
511B8147633696   RAFAEL      ROSARIO                   NC          90013461476
511B8566172B88   MERCEDES    HERNANDEZ                 CO          90010525661
511B8624733699   EUGENE      DRUMMOND                  NC          90008676247
511B8A44226222   ERIC        YUNDT                     WI          90015420442
511B9174157148   FREDIS      BENITEZ                   VA          90013941741
511B9236861971   ALLARD      TYNEIL                    CA          46070882368
511B9696772B36   STARLA      DRAKE                     CO          33073926967
511BB13785B387   NANI        MICHELL                   OR          90008821378
511BB345464145   RAHEL       HAILEMICHAEL              IA          90014423454
511BB384185928   ASHLEY      GIBSON                    KY          90001703841
51211789972B88   OLU         VILLALOBOS                CO          90005737899
51211A35957157   MAYBELL     NAUARRETE                 VA          90001800359
51211A81572B36   ROCIO       GONZALEZ                  CO          33000470815
5121277A684357   DONNA       MIDDLETON                 SC          90009157706
51212982772B67   EMANUEL     LUNA                      CO          33031799827
51212982A4B588   JAVIER      DE LA ROSA                OK          90013599820
51212A68284357   DONNA       MIDDLETON                 SC          90014790682
51213169672B49   DESIREE     SINCHEIMER                CO          33049361696
5121358517B46B   DUSTIN      CUNNINSHAM                NC          90013505851
51213983198B2B   WILLIAM     LOBS                      NC          90003249831
51213A7285758B   JULIE       ROBLES                    NM          35547130728
51214267624B7B   ROBBIN      HERRING                   DC          90009072676
51214A1397B46B   TAMICA      LAWRENCE                  NC          90011450139
5121535555758B   TERESA      SPEDALIERI                NM          35523643555
51215433A57157   JASMINE     BAILEY                    VA          90014624330
512157A8621696   ROB         COLES                     OH          90014637086
5121583615B531   JESUS       SALCIDO                   NM          35000768361
51215861A91576   RITA        COBOS                     TX          90006908610
51216A3957B631   JOHN        SMITH                     GA          90007910395
51216A91642363   AMANDA      ADAMS                     GA          90012950916
5121745425B393   POUDYEL     LEELA                     OR          90006584542
5121834984B588   LAURA       HIGUERA                   OK          90013513498
51218461798B2B   SUSANNA     DIAZ SANCHEZ              NC          11032634617
51218A17584373   DRACO       WALKER                    SC          90013830175
5121976415B393   MEY         ONEAL                     OR          90014417641
5121B26515B387   BOBBY       GOODALL                   OR          90011982651
5121B38215B283   FILIBERTO   SOLANO                    KY          68049473821
5121B46395758B   DAVID O     GARCIA                    NM          90002704639
5121B65A891576   DAMIAN      ROMERO                    TX          75094116508
5121B68A172B36   ERNEST      HIGGS                     CO          90005776801
5121B72624B588   DAVID       FELZ                      OK          90012877262
5121B84A191B98   SHEILA      MILLER                    NC          90010218401
5121B976531462   GABRIELLE   BROWN                     MO          27598319765
5121B9A538B169   TAUASOSI    BOUCHARD                  UT          90014239053
5122122525B393   JASMINE     HUDGSUN                   OR          90012902252
5122161485B234   PAULA       JONES                     KY          90005606148
51221741A33699   PAYGO       IVR ACTIVATION            NC          90012707410
51221AA175B531   KRYSTINE    ANGEL                     NM          35036320017
5122212732B862   JEREMY      BROWN                     ID          41085541273
5122296744B588   APRIL       LABARBERA                 OK          90014139674
51223875272B77   BRANDY      MON TANO                  CO          90007458752
51223A74784373   YOLANDA     ALFONZO                   SC          90002090747
51224321A8B169   CASSIE      HIGGINSON                 UT          90015023210
51224652A7B896   DEBRA       ROGERS                     IL         90013946520
51224811172B43   STORMY      SOLTERO                   CO          90010368111
51225478472B36   JOSHUA      MCCARTHY                  CO          90011384784
51225487A57148   HUGO        QUEZADA                   VA          90003274870
5122567A78B169   CHRIS       BRAEGGER                  UT          90010826707
5122596134B588   MICHELLE    MERRIMAN                  OK          90014789613
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51226137872B36   JILL        BURSETH                   CO          33070461378
51226728372B77   JARROD      BATE                      CO          33047887283
5122684477B46B   MARIA       VILLATORO                 NC          90011398447
51226A34398B2B   SHANETRA    CAUTHEN                   NC          90003250343
51227752A7242B   DEANNA      BARKO                     PA          90014977520
51228617972B49   GRANT       DURLAND                   CO          90014406179
51228733A5B399   JESSICA     LYNCH                     OR          90010597330
5122915985715B   ERIK        TORRES                    VA          90014191598
5122927527B468   DALE        WILSON                    NC          90008362752
5122945155B283   CHIRL       WAKEFIELD                 KY          68008974515
5122B957457157   DEANDRA     CARPER                    VA          90002189574
512312A5981622   PATRICIA    SILVER                    KS          90001382059
51231635572B77   LAURA       GARCIA                    CO          90010046355
5123184134B28B   DONALD      FOUTS                     NE          26084418413
5123188337B46B   MELISSA     LEWIS                     NC          90013418833
512337A3A57148   ROSY        GUEVERA                   VA          81018957030
512337A6172B77   AMANDA      CARBAJAL                  CO          33072297061
51233A16272B27   ALEJANDRO   SANDOVAL                  CO          33086220162
5123418A55B393   RONALD      PASTOR                    OR          44522891805
5123435A54B55B   JENNYFER    STEPHENS                  OK          90006283505
512349A6961971   DESIREE     PEARSALL                  CA          90012669069
5123559574B588   AARON       HANNA                     OK          90012665957
5123564165715B   ALMICAR     LOPEZ SAMAYOA             VA          90013396416
5123623694B28B   KATRICE     WALKER                    NE          90011332369
5123644658B169   MARBELLA    ARROYO                    UT          90010844465
51236A34A33699   TARJI       CORNELL                   NC          90014740340
5123724944B588   DANA        ADAMS                     OK          21560722494
51237276372B21   KRISTYNE    ULERY                     CO          90011592763
5123831375715B   ROSA A      GUDIEL HERRERA            VA          90007713137
5123857262B896   JOSETTE     BARBOSA                   ID          90013005726
5123865244B588   BRANDON     DIEHL                     OK          90014866524
5123871688B169   DARIUS      BEARD                     UT          90004167168
5123923695B393   DAVID       FAGERBERG                 OR          44575892369
5123927755715B   JOSE        LAZO ROMERO               VA          90012762775
51239A43961973   ALBERTO     ALTAMIRANO                CA          90012340439
51239AA2872B43   ILEANA      GALLEGOS                  CO          90009130028
5123B166661973   MARIA       ALMANZA                   CA          46066521666
5123B56135758B   CAROL       POWERS                    NM          90013645613
5123B6A7233696   WEDDY       SMITH                     NC          90013886072
51241A2955B399   SHAWN       WEISS                     OR          90000810295
51241A62651348   JOSEPH      HALL                      OH          90012960626
5124219A75715B   BYRON       GALLOWAY                  VA          90012771907
51242752597B77   WILLIAM     HEGINBOTTOM               CO          39014397525
5124279657B46B   RODOLFO     PARDO                     NC          90014957965
512427A3151348   SYLVESTER   ARHIN                     OH          66022087031
51242838672B2B   JOSHUA      PETERS                    CO          90007798386
5124315845758B   CASSANDRA   RAMIREZ                   NM          90005621584
5124329A55715B   EDWIN       PEREZ                     VA          90015012905
5124375575B399   DAHLAK      EZRA                      OR          90010597557
51244292397B77   JOSHUA      BALLARD                   CO          90002512923
5124435938B175   ASHLEY      ANDERSON                  UT          90010733593
5124471815B387   HYACINTH    BALTAZAR                  OR          44537937181
5124517A38B169   BLANCA      ZALDIVAR                  UT          90013231703
51245516A8B169   BLANCA      ZALDIVAR                  UT          31098165160
512456AA65B387   AMY         STROM                     OR          90002566006
512458A965B393   GEORGE      DANIELS                   OR          90014658096
512461A6485862   ROBERT      STRICKLAND                CA          90014211064
512464A5372B43   ZAMIRA      PERLERA                   CO          33093424053
512466AA531436   ELYEA       REDMOND-HILL              MO          27586296005
5124681797B46B   LAKAYA      SIMMONS                   NC          90012148179
5124741A191895   NIEVES      GOMEZ                     OK          90008854101
51247652972B58   KAM         RAWLINS                   CO          90011276529
51247996572B77   MICHEL      VASQUEZ                   CO          33082269965
5124829A551348   ERICA       JETT                      OH          90014982905
5124852A861971   SHAWN       NORTON                    CA          46044905208
5124899172B27B   HAKEEM      BILAL                     DC          90000109917
5124943138B169   MAX         CORDOVA                   UT          31088474313
5124963A84B28B   ARASELI     GONZALEZ                  NE          90007976308
5124B257161973   CANDY       HENSLEY                   CA          90009442571
5124B38764B588   LAURIE      WILLIAMS                  OK          90005593876
5124B3A3691895   JUSTIN      DETAR                     OK          90015113036
5124B675133696   SHERMAL     KEITH                     NC          90013056751
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5124B93695B365   TED          OLSON                    OR          90007829369
5125164A872B77   ANDRES       GONZALES                 CO          90009696408
51251A8262B862   BRIANA       LOGAN                    ID          41025820826
51252335172B27   VICTOR       CHAVEZ                   CO          90013833351
512524A5757157   TIFFANY      CONLEY                   VA          90014164057
5125345837B46B   YESENIA      TORRES                   NC          90013354583
51254124572B77   SANDRA       VASQUEZ                  CO          90006861245
51254342A5B387   JON          OLACHEA                  OR          44530213420
51254375A72B43   FELIX        HERRERA                  CO          33075643750
5125449157242B   CHRISTINA    WILSON                   PA          90011024915
51254512972B88   JAMES        PHILLIPS                 CO          90005145129
51254983872B27   KIMBERANN    ROMERO                   CO          90007769838
5125539855B393   LAZARO       SACAYON                  OR          90012543985
5125552567B46B   SANDY        CARTER                   NC          90007065256
5125625A597B54   TROY         STOLTS                   CO          39056832505
5125679214B28B   CRISTINA     CONWAY                   NE          26094117921
5125719445758B   MICHELLE     ELIZALDEZ                NM          90012971944
51258279672B49   SHEPHERD     ERIN                     CO          90007202796
5125848A284357   MANNUEL      GARCIA                   SC          14574284802
5125936945B387   GRANT        THOMPSON                 OR          90013713694
5125953A45B399   RICHARD      CAMPOS                   OR          90003445304
512596A7751586   BETHANY      FLORKE                   IA          90015296077
5125B2A8284357   EDWARD       MIDDLETON                SC          90007522082
5125B622533696   LYMIELL      LANCLOS                  NC          90002816225
5125B845161975   HORACIO      REYES                    CA          90010868451
5126113695758B   MONICA       CASTRO                   NM          90014691369
51261245372B49   RAYMOND      TRUJILLO                 CO          90010632453
51261358A8B169   RAFAEL       OLIVERA                  UT          90013033580
5126172255B393   ZANE         HOFFMAN                  OR          90011327225
5126178413B326   JAMES        ANTHONY                  CO          90002977841
5126223855B393   KYAW         MYAING                   OR          90012912385
5126239525758B   LUCERO       JUDY                     NM          90003233952
51263433872B43   BRADLEY      WATKINS                  CO          90014864338
5126449174B28B   JEDIDIAH     RIEKENBERG               NE          90011464917
5126542532B27B   ALEXIS       SNIPE                    DC          90009644253
5126545545B387   AMY          HANSEN                   OR          90014524554
5126662A32B27B   WILFREDO     BONILLA                  DC          90015126203
5126678735B399   VIRGINIA     LOPEZ                    OR          90010597873
5126697AA26222   LAURA        HILL                     WI          90015609700
51267629372B27   BRIAN        BUTTS                    CO          90010636293
5126866AA61973   JESSE        MURGUIA                  CA          90014886600
51268AA538B169   MELISSA      JOHNSON                  UT          90011460053
51269147A5B538   APRIL        LUCERO                   NM          90013391470
5126925357B46B   MANUAL       FUENTES                  NC          90010852535
512695A544B28B   JESSICA      YELM                     NE          90005595054
5126978462B95B   ALFRED       RIOS                     CA          45047117846
51269A9995B393   DAWN         WHITAKER                 OR          90009800999
5126B689261973   LISA         LOPEZ                    CA          90011466892
5126B782457157   LUCIA        VILLATORO                VA          90014537824
5126B81A961975   LUCIO        UHILA                    CA          46068558109
5126B961A57157   MITCH        ACE                      VA          90011719610
5126BA72733699   SHIELA       MARSHALL                 NC          90001160727
5127142A972B43   GRACE        LEMONNER                 CO          33046194209
5127216514B28B   SHEILA       TAYLOR                   NE          26098791651
512723A474B521   SHAYLEE      CRAWFORD                 OK          90005483047
51272466272B77   PEDRO        ORTIZ-CASTELLANOS        CO          33047894662
51273162772B43   MARINA       LACRUE                   CO          90004101627
512736A9372B27   JEFFREY      HYER                     CO          90014886093
5127373674B241   GUADALUPE    ESCOBAR                  NE          90011797367
512737A5457148   JAMES        NUNEZ                    VA          81084267054
5127448455B162   DANA         RUSSELL                  AR          23006984845
5127518545B543   PEREZ OCHO   KARLA I                  NM          90001081854
5127521534B28B   BEATRICE     HARRIS                   NE          90014702153
5127545655B387   ELLIE        GOLDEN                   OR          44545174565
512754A1991524   MINERVA      LARA                     TX          90011984019
5127572624B588   DAVID        FELZ                     OK          90012877262
5127612378587B   ROBERT       MARCHAND                 CA          46062831237
5127641625B387   SEAN         BEAM                     OR          90015114162
51276A6615B393   ALLEN        ELLIS                    OR          90002640661
5127724235715B   GAMELZAR     ULIT                     VA          90013012423
512775A4461975   MIRIAM       RODRIGUEZ                CA          90001155044
5127761A95B531   IRENE        PADILLA                  NM          35045336109
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5127794345B393   SAMUEL       SEBASTIAN                OR          90014659434
51277A5765B162   MELISSA      FURR                     AR          90011020576
5127863785B399   WILLIAM      SHEPPARD                 OR          90011306378
51278869472B49   SAMUEL       MADRID                   CO          90012358694
51278A64985873   TED          FABIANOWICZ              CA          90013020649
51278A73657157   ALEJANDRO    RAMREZ                   VA          90009780736
51278AA8961975   VIERA        ALMA                     CA          90000430089
512793A4272B43   JOBY         WINCH                    CO          90011863042
5127945568B169   ASHLEY ANN   BLUEMEL                  UT          90014584556
5127965257242B   ROBERT       HENNINGER JR.            PA          51025006525
512798AA872B49   HILES        MASON                    CO          90013858008
5127B122A4B588   JENIFFER     BONILLA                  OK          90005901220
5127B15464B55B   LINDA        JACKSON                  OK          90005541546
51281333572B36   GINA         VEGA                     CO          33066203335
512815A774B29B   GLORIA       WARE                     NE          90006775077
5128228A472B67   MAYRA        PERALTA                  CO          33023212804
51284541A85862   LUIS         RODRIGUEZ                CA          90012975410
51284A2157B46B   ROSEMARY     LIVINGSTON               NC          11085810215
5128524527B46B   ANASTACIO    OSORIO                   NC          11025452452
51285529797B77   ELIZABETH    ZARRAGA                  CO          90004105297
5128582924B28B   AMBER        VANWEY                   NE          90006388292
5128625AA83266   NATAYVIA     TATE                     CO          90013812500
5128677575715B   CANDIDO      RUBIO                    VA          90013637757
51287695272B27   TAMI         MARKO                    CO          90010986952
512876A235132B   HONEY        LLOYD                    OH          66016756023
51287748A4B28B   JACOB        HAWCO                    NE          90009257480
51287AA8672B49   LESLIE       HENGFUS                  CO          33045750086
5128814928B169   CHARMAINE    SMITH                    UT          90014571492
5128815895B531   CLAUDIA      PEREZ GUTIERREZ          NM          35009851589
5128838995B387   JEFFREY      ADAMS                    OR          44529493899
51289274372B36   AGUSTIN      HERNANDEZ                CO          90012762743
51289497A77522   THOMAS       JAMES                    NV          90008804970
5128B529797B77   ELIZABETH    ZARRAGA                  CO          90004105297
5128BA6A772B43   BRIANA       GARCIA                   CO          90013550607
5128BA87391895   ERICK        VASQUEZ                  OK          90013060873
5128BAA9172B27   LINDA        ALCANTOR                 CO          90002320091
512912A2157148   NANCY        CONTRERAS                VA          90001162021
512919A4385862   DANIEL       AGUERO                   CA          90014349043
51291A5218B169   LAURA        THORN                    UT          31031120521
51291A5532B27B   GEORGINE     ZANABA                   DC          90001670553
5129285675715B   JENNY        HOCHOA                   VA          90015018567
512941A925758B   FRANCES      CUMPLIDO                 NM          90012751092
51294252472B27   ELI          SANTOS                   CO          33044352524
51294972972B36   JEREMIAH     JONES                    CO          90012339729
5129538554B588   ELAINA       MARTINEZ                 OK          90010503855
51296226372B43   ALEJANDRIN   RODRIGUEZ                CO          33052302263
5129642A661973   ANDRES       MERCADO                  CA          90008814206
5129651565B393   WILLIAM      THOMPSON                 OR          90009015156
51296796A24B7B   TIFFANY      BLACK                    DC          81012007960
5129731135B393   RUSSELL      KESSLER                  OR          90012703113
51297314872B49   TYRONE       BAKER                    CO          90012943148
5129738554B588   ELAINA       MARTINEZ                 OK          90010503855
5129739352B851   NICOLE       PHILLIPS                 ID          90014603935
512978A5791576   RAQUEL       CHAVEZ                   TX          75000468057
51298218698B2B   LUCY         FUNES                    NC          90003252186
5129848914B588   RACHELLE     KISSICK                  OK          90001094891
5129872412B272   MARCUS       BELL                     DC          90008557241
51298A12685928   MOHAMMAD     SHALASH                  KY          67095520126
51298A5365715B   JONAH        BRYANT                   VA          90010380536
5129959A75B531   KENDRA       GONZALES                 NM          90009585907
5129962685B29B   AMANDA       CARR                     KY          90011546268
5129B335873268   DELFINO      OLIVERA                  NJ          90014713358
5129B6A4572B27   BRITTNEY     MARTINEZ                 CO          90013696045
5129B859A61975   CARDONA      MARIA                    CA          46046798590
5129BA84633699   BROOKE       FRAZIER                  NC          90014620846
512B1536A61973   CLAUDIA      ASCENCIO                 CA          90014805360
512B155A472B43   KATHERINE    PAYNE                    CO          33030015504
512B1A2343B358   CHRIS        MILLIKEN                 CO          90002420234
512B1AAA261975   ROSANA       GALVAN                   CA          90014310002
512B233A357157   JOANNA       BOOTH                    VA          81034423303
512B2438442335   SHERRY       LYONS                    GA          90012664384
512B2441471964   VICTOR       CRUZ                     CO          32090784414
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512B2459272B67   HEATHER            FRITZ               CO         33031284592
512B2913626222   JESSICA            COMPTON             WI         90015489136
512B2975251348   MICHELLE           ROSE                OH         90012269752
512B32A1372B27   JOSEPH             ESPINOZA            CO         90011982013
512B343A891895   SHALENA            FORSYTHE            OK         21072194308
512B3791A91524   OSCAR              VENZOR              TX         90009287910
512B3792297B77   JENNI              ELLERMAN            CO         39071567922
512B391745758B   GILBERT            DOMINGUEZ           NM         90012189174
512B3AA4172B43   VICTORIA           FENDELANDER-POILE   CO         33004460041
512B427187B46B   JILLIAN            KING                NC         90013962718
512B4332472B36   PETER              SHERWILL            CO         90013603324
512B4716551348   JAMIE              KNUCKLES            OH         66039077165
512B4798897B77   ANDRES             GONZALEZ            CO         39073107988
512B4991A5715B   LAUREN             MOODY               VA         90010339910
512B516A161971   GLEN               SHULTS              CA         90004411601
512B547175715B   ARNOLDO            GARCIA ARGUELA      VA         81071204717
512B5791A91524   OSCAR              VENZOR              TX         90009287910
512B57A125B399   SHERRY             BENEDICT            OR         90009907012
512B632A693771   MICHAEL            TERRELL             OH         90010873206
512B659A14B29B   EDITH              AVANT               NE         27042665901
512B6759593771   BRANDI             GUY                 OH         90010137595
512B6761284357   LEADLOVE           KELLIE              SC         14597527612
512B6A83833696   TERRY              BUCHANAN            NC         90013340838
512B6AA418B169   TERESA             MARTINEZ            UT         31050630041
512B723135715B   WENDY              MAGNE               VA         90013892313
512B7374357157   DIGNA              RODRIGUEZ           VA         90014163743
512B77AA161973   JEREMY             METZLER             CA         90000137001
512B7A83133696   AZAEL              ABUNDIS             NC         90013480831
512B81A6761973   ALANA              MAFUD               CA         90010791067
512B823A976B31   NADIA              BAHOOR              CA         90004872309
512B8391A57157   KIRSTEN            HOOVEN              VA         90014163910
512B842847B431   SHANIA             SNEAD MORRIS        NC         90010634284
512B857492B236   KEVIN              DIXON               DC         81017215749
512B919815715B   ELSY               FLORES              VA         81065971981
512B9247772B67   YVONNE             GARCIA              CO         33004682477
512B9515557157   ARSEMA             GHIRMAI             VA         90012385155
512B975415B531   ROYCE              VAUGHN              NM         90015117541
512B984A191B98   SHEILA             MILLER              NC         90010218401
512B9955172B77   ABUNDIO            VALDEZ PEREZ        CO         33003199551
512BB21347B46B   NATASHA            YOUNG               NC         90012272134
512BB3AAA91576   ANDREA             AMADOR              TX         90014643000
512BB55A472B43   KATHERINE          PAYNE               CO         33030015504
512BB87415B393   NATE               LOOMIS              OR         44506598741
51311434A57157   ZULMA              ASEENCIO            VA         90013124340
5131156625B399   JOSE               ARCUALO             OR         90011115662
5131174664B588   ADA                GALEAS              OK         90012877466
5131197235B393   MICHAEL            SLADE               OR         90014659723
51312649272B27   HELEN              MARTINEZ            CO         90003516492
5131267724B588   VICTORIA           ESPARZA             OK         90009366772
5131277A791895   CHARLES            BERRY               OK         90008427707
5131298997242B   MELISSA            SCHERER             PA         51037789899
5131355967242B   HEATHER            MISCIK              PA         51013885596
51314169824B7B   MATTHEW            LUMAS               DC         90011041698
5131489AA7242B   JENNIFER           SKOLODO             PA         90004068900
51314A45891895   AUSTIN             TALLEY              OK         90008350458
5131542334B28B   LAURIE             MOTHERSHED          NE         90005464233
5131583337B46B   CANDICE            WATTS               NC         90008628333
51315AA4484357   TAMI               PHILLIPS            SC         90013860044
5131629534B588   MICHAEL            DOTO                OK         90014732953
5131638584B588   MEGHANE            WILSON              OK         90013073858
51316A1755B399   NORMA              MURGA SOLIS         OR         90003090175
51317844A91576   JAIME              FABELA              TX         90006528440
513189A7685983   ROBERT             SWANN               KY         90008049076
513189A837B46B   KENIA              ARAGON              NC         90013319083
513191A495B393   JAMES              HOGAN               OR         44519921049
5131B2A4157157   GENERA             GILLIS              VA         90014572041
5131B3A2361975   MARIA DEL CARMEN   PEREZ               CA         90009303023
5131B49165B531   BERNADETTE         GARCIA              NM         35094524916
5131B96134B588   MICHELLE           MERRIMAN            OK         90014789613
5132122812B27B   CRYSTAL            KITT                DC         90014662281
5132153618B169   DENISE             PETTEY              UT         90011355361
513217A4372B49   DAVID              STEEHLER            CO         33015947043
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5132299934B588   RANGEL         SANCHEZ                OK          90015199993
51323568A84357   THOMAS         STONE                  SC          14512915680
5132387465715B   MARITZA        ORTIZ                  VA          90011958746
51324345672B36   LUIS           CUPERTINO              CO          90005043456
51324668972B49   ISABELLE       RIVERA                 CO          90012246689
51324717A97B77   ILARIO         CAMACHO VILLAGRAN      CO          39035477170
5132472572B27B   LIGIA          VALBUENA               DC          90007807257
5132528255B387   GRABIEL        GRACIA LUGO            OR          44525152825
5132542215715B   FACUNDO        CABRERA                VA          81092944221
513254A555B393   COURTNEY       ABRELL                 OR          90010874055
51327585172B49   LAURA          RAINEY                 CO          33007485851
5132767142B27B   BENJAMIN       RIOUS                  DC          81023996714
51327686A33696   JEANETTE       STOCKTON               NC          12005656860
51327A38593747   MONICA         TALKINGTON             OH          64544220385
5132841912B27B   ROLANDA        NICHOLSON              DC          90014934191
51328682A98B2B   WILLETTE       CATHEY                 NC          11031986820
5132953864B588   CRAIG          BLAKE                  OK          21586635386
51329874472B27   TAMMY          WALLER                 CO          90011348744
5132991995B393   TARA           SCHWEIZER              OR          44533539199
513299A9472B36   LEZLY          MELENDEZ               CO          90013019094
51329A4515715B   MILAGRO        BONILLA                VA          81038610451
5132B265A91576   KARLA          GUERRERO               TX          90014602650
5132B481391895   RODNEY         MUNSON                 OK          21002524813
5132B61665715B   SHENLEY        ROSS                   VA          81094596166
5132B833557157   JOSE AGUSTIN   SORTO                  VA          90003368335
5132B87144B588   MELLISSA       WOODS                  OK          90011928714
5132BA3595B543   ANNETTE        APODACA                NM          35027460359
5132BA92172B77   LANAE          WHISENTON              CO          33047900921
5133114364B521   WILLIE         LLOYD III              OK          21517841436
51331332472B49   MARK           HEMPEL                 CO          90012833324
51331432697B77   GREGORY        PEROTTI                CO          90002074326
51331444272B49   ANA BERTHA     RODRIGUEZ              CO          90012914442
5133158885B531   DANIEL         OLIVAS                 NM          90010695888
5133161895758B   JANINE M       TORRES                 NM          90010296189
5133163A45B543   DUSTIN         CHAVEZ                 NM          35047416304
513316A174B588   MICHEAL        GERULSKI               OK          21560986017
51331958A85928   JANET          VAN NAME               KY          67018069580
51332362A7242B   DAVID          FRANK                  PA          90013063620
51332499572B49   JIMMY          WHISPERS               CO          33036404995
5133277265758B   JOSEPH         FLOREZ                 NM          90012167726
51332816372B36   DENISE         VENEY                  CO          90015088163
5133289935715B   TIMOTEO        EXCOY                  VA          90007468993
51332A74384357   ROLAND         BALLESTEROS            SC          90009450743
5133313274B521   LATOYA         ADAMSON                OK          90009921327
513333A1A7242B   PAUL           MOOREY                 PA          51073373010
5133362A133699   TIFFANY        TONEY                  NC          90014506201
513336A8A61975   VALENZUELA     MARIA                  CA          90005556080
5133374415B393   TALHA          ABUBAKR                OR          44567247441
5133421355B399   EDGAR          LEONEL                 OR          90008292135
51335542497B77   SANTOS         VELASQUEZ              CO          90008625424
5133558418B169   NICHOLAS       JONES                  UT          31025305841
5133597A92B862   JOSH           CONNACHER              ID          90012279709
513361A224B588   HALEY          INCARNATO              OK          90008601022
51336416776B4B   RODOLFO        DIONISIO               CA          46024664167
513364A395B393   RAMIREZ        BLANCO                 OR          44580544039
5133659842B959   JOSH           SMITH                  CA          90008805984
5133723994B251   KIMBERLY       BENAK                  NE          27014822399
5133736117242B   RICHARD        GUSTASHAW              PA          51000773611
5133736A25B387   KELLI          WHITE                  OR          90004713602
51337588A51348   SUSAN          MILLS                  OH          66073865880
513378AAA5B393   HEATHER        FOUST                  OR          90011198000
5133799495B393   MARY           SHURTS                 OR          90014659949
5133842615B387   SIMONE         CROTHERS               OR          90013984261
5133846A984357   STEVEN         JOYCE                  SC          90015154609
513384AA25758B   JOHN           TORREZ                 NM          90004704002
5133866668B169   ROBERT         NEBEKER                UT          31003966666
51338727472B36   JESSIE         BOTELLO                CO          90012767274
513399A847B46B   BANIA          RAMIREZ CARMONA        NC          90013319084
5133B272372B77   ARTURO         CALDERON               CO          33056012723
5133B427491576   JESUS          MORENO                 TX          75010114274
5133B616585862   AMELIA         HINTON                 CA          90004976165
5133B638257148   MAYRA          SALMERON               VA          81064016382
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5133B66A361975   ERICKA         VERDUZCO               CA          90012586603
5134135625B531   KAYE           WILLIAMS               NM          90013723562
5134156855B387   LISA           DAVIS                  OR          44521505685
513415A3772B27   BRISA          PINEDO                 CO          90001165037
513416A2161973   KEVIN          HUSSIE                 CA          90013266021
51341A29961973   KEVIN          HUSSIE                 CA          90014170299
51341AA785B399   MARIO          GOMEZ                  OR          44509230078
51342791A5B387   ELIZABETH      COLLINS                OR          90009947910
5134364895715B   JOSE           GARCIA                 VA          90015026489
5134425625B399   DAVETTA        LOCKETT                OR          90005102562
5134438955B531   MATTHEW        ROMERO                 NM          90015193895
51345AA194B29B   CYNDI          CROKER                 IA          27022590019
51346438772B27   MAX            SANTA CRUZ             CO          33052794387
51346782A85862   FRANCISCA      FLORES                 CA          90007597820
5134695254B28B   JASON          SMITH                  NE          90002199525
51346A85733696   VIKKI          WILLIAMS               NC          12039780857
5134793455758B   JASON          ROCHA                  NM          90013649345
5134857325B531   CARLA          HEALY                  NM          35059325732
5134935A784371   SHANERA        SNYDER                 SC          90012573507
5134954535715B   SAMUEL         MANSARAY               VA          90000195453
5134B248172B27   WILLIAM        ELLIOTT                CO          33014412481
5134B62435B531   RENEE          HASTINGS               NM          35004096243
5134B843261973   SONIA          MORALES                CA          46052488432
5134BA92572B49   MORALES        JUANA                  CO          90009660925
51351526872B49   CONSUELO       QUINTANA               CO          33030705268
5135199A597B54   CRYSTAL        CANO                   CO          39007319905
513521A944B588   FEDERICK       TAYLOR                 OK          90007651094
51352414272B77   JESSICA        VALDEZ                 CO          90007584142
5135289A24B288   MILAGROS       MCALEER                NE          90011548902
51352A37A72B88   BRENDA         BUSTILLOS              CO          33090960370
5135384A57242B   ROBERT         BIGELOW                PA          51013248405
51354253672B36   CHAIREZ        ZEFERINO               CO          90010012536
5135436782B851   CONNIE         CORNISH                ID          90011533678
5135472AA91895   R0SALINDA      SANCHEZ                OK          21082027200
5135514718B173   JASON          BRYCE                  UT          31096351471
5135533952B27B   JASMINE        WYNN                   DC          90015073395
5135555577242B   WENDY          HISSEM                 PA          90012855557
513555A7272B77   MANUELA        DE LACRUZ              CO          90006775072
51356231672B49   ANTHONY        HERNANDEZ              CO          90009372316
5135625995B399   MICHAEL        COTTIS                 OR          90011572599
51357845472B49   SHELLY         SHOLOH                 CO          90013188454
51357A7618B169   FRANCISCO      PANTOJA                UT          90012980761
51358213672B43   FRANK          LOPEZ                  CO          90012082136
51358455972B27   JEFF RANDALL   KRANANU                CO          90009604559
51358534272B88   HERMILO        CORRAL                 CO          33037115342
5135874352B862   JESSE          RATE                   ID          41038647435
5135942A25B387   ALONZO         GARNER                 OR          90013714202
5135B125284357   RONALD         KLOPP                  SC          90009841252
5135B323461971   JEFFREY        GRAY                   CA          90010893234
5135B364791576   HUMBERTO       HUERAMO                TX          90011973647
5135B55A85B387   MANDY          MAJOR                  OR          90004835508
5135B925157157   YENNY          FLORES                 VA          90010859251
5135B975871964   JESSICA        ARMENTROUT             CO          32090509758
51361754A91895   MICHELLE       MCCARGO                OK          90006227540
51362144272B36   ROOSEVELT      GLOVER                 CO          90005591442
5136233655B393   RHONDA         GLENN                  OR          90013823365
513634A627B431   TRENTON        MASSEY                 NC          90011414062
513634AA961975   GUILLERMO      ALVAREZ                CA          90013334009
5136393888B169   VINCENT        SILVA                  UT          90013919388
51364886772B43   CHAD           BEHANNA                CO          33027898867
51364989A85862   BRIAN          MILHOLLAND             CA          46011649890
5136512527B46B   VERNELLE       DIALLO                 NC          90010261252
51365463872B77   JESSE          TALAMONTES             CO          33042964638
513655A824B28B   DOROTHY        BURCHETT               NE          90015155082
5136561A75758B   DESIREE        CARILLO                NM          35581506107
5136575815B387   KANDY          RAIFORD                OR          90012237581
51365A3734B29B   SHAKEYA        DURDEN                 NE          90007990373
51366247197B77   PASCUAL        RIVERO SIGALA          CO          39094232471
51366259A57148   GILMA          GARCIA                 VA          81016922590
513663A614B28B   ROBERT         CLEMENS                NE          90006673061
51366597572B27   DEVIN          JOHNSON                CO          90013695975
51366AA7A91576   ROXANNA        TRENT                  TX          90015340070
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513671A292B27B   CARL            WHITFIELD JR          DC          90014171029
5136723A54B588   REGINA          DEGRATE               OK          90007562305
5136727985B399   DAVID           ROBERTO               OR          44557422798
5136773A161975   JESSICA         RUVALCABA             CA          46016327301
5136816282B27B   TIJUANA         SAUNDERS              DC          81006971628
51368611A31429   LATASHA         JONES                 MO          27578066110
51368814A51348   ABIGAL          FABIAN                OH          66009138140
5136885975B531   BRENDA          ARENIVAS              NM          35069508597
51368AA3557157   FELIPE          MIRANDA               VA          81034930035
513695A2261971   RALPH           ELWOOD                CA          90013495022
5136961A284373   NNAMDI          ROBERTSON             SC          19041216102
5136B11938B169   TAMRA           HENDRICKSON           UT          90010221193
5136B12515715B   ELISABETH       HERNANDEZ             VA          81002791251
5136B41595B387   NICOLE          WINSTON               OR          90007864159
5136B48654B28B   SARAH           ARELLANO              NE          90010624865
5136B75562B27B   NATALIE         THOMPSON              DC          90011327556
5136B95725B543   GENEVIEVE       DASH                  NM          90007819572
5136BA1855B393   VICTOR          QUIM                  OR          90014660185
5136BA41357157   OSCAR           LOPEZ                 VA          90006900413
5137143935B543   IRMA            CRUZ                  NM          90005714393
5137185177B46B   ALTAGRACIA      TEJEDA                NC          90012148517
51371A24251348   JOSH            MADDEN                OH          90014250242
51371A6A251332   PHYLLIS         BLACKMAN              OH          90000960602
51371AAA172B49   GEBREAB         MEHARI                CO          33008090001
513723A144B588   MARIO           CANDANOSA             OK          90003193014
51372546472B27   IAN             STELEE                CO          90013565464
51372839A61971   MICHELLE        TULA                  CA          90014528390
51372A18997B77   VERONICA        WOODYARD              CO          90009610189
51372A78151367   JOHN            COATES                OH          90013660781
51372A8145758B   CYNTHIA         ROSAS                 NM          35543500814
5137316447B46B   LAKISHA         WORTHY                NC          90004421644
5137332532B27B   HERBERT         MUNGO                 DC          90009683253
51373552972B27   ARABIA          SHARIF                CO          90014305529
5137368615715B   PIA             JAMES                 VA          90011396861
5137388635715B   ROBERTO         GUZMAN                VA          90015038863
51373A36957148   CANDELARIO      MEDRANO               VA          90007250369
5137413A42B242   CECELIA         BOHANNAN              DC          90013351304
5137443665B399   HEIDI           CASTEEL               OR          44500494366
513744A1672B27   DOMINIC         LOPEZ                 CO          33050144016
5137478134B558   ASHLEIGH        JENNINGS              OK          90008377813
513748A225715B   CLAUDIA         MARTINEZ              VA          81048108022
5137513765B393   ROBERT          THOMPSON              OR          44523591376
5137515A691998   ALISHIA         WILLIAMS              NC          90011991506
5137556735B393   CARMEN          OROSCO                OR          90001995673
5137557394B588   WILLIAM         CASTANEDA             OK          90003145739
5137597238B169   TAMMY           SUMMERS               UT          90010339723
51376A27791576   YVONNE          DIAZ DE LEON          TX          90013840277
51376A74861971   SHAHAD          ISSA                  CA          90010770748
513778A497242B   ALEC            KMETKO                PA          90012328049
5137872175715B   JOSE NORBERTO   MACHADO               VA          90006267217
51378748A57157   WILLIAM         BROOKS                VA          90009467480
5137897455B387   CHARLES         HODGES                OR          44542749745
5137913784B28B   JAMIE           MCCLELLAND            NE          90013671378
5137928665758B   DEBORA          TRYON                 NM          90013072866
51379654A57157   MEKDES          TEGEGNE               VA          81006226540
5137965818B169   SARA            EDGAR                 UT          90013796581
51379919572B49   LORENZO         LUNA                  CO          33090999195
5137B346984357   ANTWAN          SMALLS                SC          90011363469
513813A355758B   JUANA           PRAGNER               NM          90014673035
51382177972B36   JUAN            CASTANEDA             CO          90012031779
51382678A51348   ASHLEY          NADEL                 OH          90008346780
5138272125758B   ANTELMA         DIAZ                  NM          35587877212
51382845A72B43   CHRISTINE       VELASQUEZ H           CO          33080548450
5138339348B169   VITALINA        DIAZ                  UT          90015173934
51384371A61973   DOMINIC         ANDRADE               CA          90014183710
513845AA52B27B   ABIOLA          FELIX                 DC          90012035005
51386484772B49   MOISES          RIVERA                CO          33084704847
5138715335B387   WILLIAM         SPENCER               OR          90014151533
513872A3633699   SHANTEL         MCCLELLAN             NC          90011292036
5138797464B588   TORII           BRADLEY               OK          90014269746
51388971797B54   GOLDBERRY       MCCLURE               CO          39016959717
51388A25185862   GARY            TOWERS                CA          46054390251
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5138B479797B77   JOSE        JUAREZ                    CO          90011834797
5138B772984373   JOHN        HEFNER                    SC          90015197729
5138B864A5B283   STACY       PALMER                    KY          68013598640
5138B87415715B   EUGENIO     NICOLETTI                 VA          90006168741
5138BA76533699   TYRONE      GLENN                     NC          90001610765
5139112A14B569   DOMINIQUE   MANUEL                    OK          90009411201
5139144536199B   JASONN      NICHOLS                   CA          90010854453
513917A535758B   ERLINDA     ELGADO                    NM          90011937053
51392336A7B46B   DARRYL      SUGGS                     NC          90012343360
5139289385715B   JOSE        CHAVEZ MENDEZ             VA          90015038938
51393937A51348   SHIELA      BARKER                    OH          66041419370
5139435A985862   BATI        CUBUKCU                   CA          90000823509
51394466A98B2B   JARRET      DUVALL                    NC          11063414660
5139476515758B   CLAUDIA     JONES                     NM          35591467651
5139482445B399   DAYANA      MARCIAL IGNACIO           OR          90010188244
51396148A33699   MARSHA      WILLIAMS                  NC          90003161480
5139675147242B   ZACHARY     BREEGLE                   PA          90011367514
51397582A5B531   KAREN       MONTANO                   NM          90015015820
5139889A14B521   KRYSTAL     DOSS                      OK          21574798901
5139911A157157   ALEJANDRO   LOPEZ                     VA          90014751101
5139936A461973   ANGEL       REMIGIO                   CA          90013923604
5139944536199B   JASONN      NICHOLS                   CA          90010854453
5139956318B169   JUAN        GONZALEZ                  UT          90008005631
51399A7A893747   MAURICE     WADE                      OH          90009130708
5139B365A72B88   WALTER      HAMILTON                  CO          33001223650
5139B63525B283   IRMA        RAMIRE                    KY          90006926352
513B128458B169   STERLING    ALLEN                     UT          90008452845
513B1696661971   NICOLE      BOWMAN                    CA          90014716966
513B2195461975   EDGARDO     BELTRAN                   CA          90011211954
513B253615B399   JOHN        HESTER                    OR          90003445361
513B256985715B   JOSE        GUZMAN                    VA          81084925698
513B264314B28B   HAU         BUI                       NE          26086446431
513B3435457157   ROXANA      LOPEZ                     VA          90010684354
513B3439284373   JENNIFER    RAMIREZ                   SC          90014554392
513B364855B531   MICHEAL     CHAVEZ                    NM          90014436485
513B384455B387   JENNIFER    FRANKLIN                  OR          44584198445
513B418685715B   LUIS        PARILLA                   VA          90008341868
513B431495B531   KAYLA       MORELOS                   NM          90011853149
513B432254B588   BALTAZAR    PANDO                     OK          90013063225
513B4354991895   LESLIE      HICKEY                    OK          90013963549
513B465A35B393   CHRISTINA   BROWN                     OR          90010966503
513B526965B543   CODYLEE     HAMILTON                  NM          90005712696
513B528A85B393   DAVID       MENDEZ                    OR          90006242808
513B575835715B   NOHEMY      RIVERA                    VA          90001157583
513B614AA91576   IMELDA      GARCIA                    TX          90010801400
513B68A257B46B   CHEVELLE    SPRAILL                   NC          11009878025
513B71A195758B   PATRICIA    CALDERON                  NM          90014501019
513B7228251348   NIKOLE      TAYLOR                    OH          90014422282
513B7931585928   LINDA       CAYWOOD                   KY          90015149315
513B8272A51348   PATRICIA    MESSER                    OH          66055062720
513B924944B588   DANA        ADAMS                     OK          21560722494
513B9589461975   NAZDA       VALDEZ                    CA          90013785894
513B9842597B77   KATHY L.    WALRATH                   CO          90011828425
513B985327B46B   YESSICA     MORALES                   NC          90013728532
513B9865198B2B   KARL        TRAPP                     NC          11001708651
513B988595B531   RODOLFO     TRILLO                    NM          35040748859
513BB1A2633696   CRYSTAL     MOORE                     NC          90014941026
513BB219A72B67   ESTELLITA   LUCERO                    CO          33017232190
513BB5A3A72B31   MICHELLE    BRANCH                    CO          90013215030
513BB71585B531   PAUL        WRIGHT                    NM          35090917158
51411471772B27   ALONSO      BUSTILLOS                 CO          33074804717
5141231517242B   JADE        WARGO                     PA          90011323151
51412448A8B169   JAKE        DURAN                     UT          90011894480
51412559A72B88   DENNIS      FREIBERG                  CO          33018195590
514125A3472B36   IVETTE      CHAVARRIA                 CO          90002065034
5141314794B588   ANTHONY     DELPIERRE                 OK          90012521479
5141332475B387   PRISCILA    BARRIOS                   OR          90011203247
5141428352B84B   DESTINY     MC CENNOO                 ID          90014842835
51414535A5B387   KEVIN       YOUNG                     OR          44551015350
514145AAA41233   ANITA       BONDI                     PA          90010515000
5141517644B588   LEEROY      WASHINGTON                OK          21502351764
5141526A451348   KATIE       ISAAC                     OH          90008762604
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51415463272B36   CONNIE            LEWIS               CO          33005734632
5141546A672B88   DARLA             MOSLEY              CO          33016994606
5141549A961973   ARMIDA            GARCIA              CA          90008894909
5141557174B28B   CHRISTINE         COOK                NE          26055865717
5141671852B27B   TONY              HARRIS              DC          90015127185
5141789857242B   EDWARD            BOYLE               PA          90010898985
51418298997B54   GLORIA            CHAVEZ GUEVARA      CO          39016612989
5141832725B387   GEOVANI           RUIZ CONTRERAS      OR          90005613272
5141872185B393   ASHLEY            MCMURRY             OR          90013307218
51418A67885862   JESUS             MENDOZA             CA          90001290678
5141916762B27B   JOE               GORDON              DC          90015131676
514191A5497B77   ADALENY           GARCIA              CO          90009301054
51419397472B27   JENNIFER          BROADWAY            CO          90004143974
51419A88185862   BRANDI            GUARDADO            CA          90015340881
5141B664684373   LAUREN            BERAAD              SC          90014836646
51421247A4B28B   STEPHANIE         EADS                NE          26044882470
5142156697242B   PENNY             MARTIN              PA          51090535669
5142255125B399   CARY              MORGAN              OR          44518925512
51423646972B88   CURIS             CASE                CO          90007366469
514236A1285862   JONGHUN           PARK                CA          90012696012
5142396134B588   MICHELLE          MERRIMAN            OK          90014789613
51424299572B49   LISA              TRADER              CO          33040772995
514245A8857157   SANTOS            REVELO              VA          81096085088
51424932A72B27   MAE               SILVA               CO          33092449320
5142562345B399   CATHERINE         DECKER              OR          90011016234
51427421872B43   SAUL              TORRES              CO          33012604218
51427A6788B169   JASMINE           DUVALL              UT          90014900678
5142815335B387   WILLIAM           SPENCER             OR          90014151533
5142821975B393   RYAN              FITZGERALD          OR          44547432197
5142827845715B   AMY               FRIES               VA          81065662784
514283A148B169   KATHLEEN          WILLIAMS            UT          90015003014
5142847A972B27   MATT              BROGDON             CO          33050144709
5142883622B237   MIRIAM            OPARAUGO            DC          90002848362
51429287272B88   JAVIER            DURAN-HERNANDEZ     CO          33008942872
5142943318B167   GARRET            VALLAVE             UT          90012994331
5142947164B28B   ERIC              ZACHERSON           NE          90014094716
51429A2595B387   BRENDA            REYES               OR          90003270259
5142B184785862   CABRERA           ALONSO              CA          90002101847
5142B31517242B   JADE              WARGO               PA          90011323151
5142BA3234B588   JORDAN            ECK                 OK          90014490323
51431363472B36   MARY              HECKER              CO          33091583634
514315A7257157   JOSE              MORALES             VA          81014345072
5143192A285862   DUSSTIN           COYOTE              CA          90005859202
51431A8385758B   DARRYL            CANNON              NM          90014910838
5143221A85B393   PRECIOUS-JEWELL   STEVENS             OR          90013242108
5143242444B521   ARTURO            CORTINAS            OK          21564354244
51432A13957148   ARTURO            ROJO                VA          81017070139
5143315955758B   BALTAZAR          SANCHEZ             NM          90015111595
5143336735B399   RICHARD           NEIDIGH             OR          90010603673
5143343A65B399   KASSY             CANDIANIDES         OR          90012374306
5143346874B588   SCARLETT          DAVIS               OK          90013414687
5143372718B169   ANDREW            FLORES              UT          90013777271
51433A45333696   ANGEL             LAWTON              NC          90011120453
5143429955758B   RACHEL            CARABAJAL           NM          35513362995
514343A7861973   JEAN              RESENDES            CA          90014163078
51434533A61971   SARVJIT           SINGH               CA          90005555330
5143476495B387   TIMOTHY           YOUKER              OR          44589797649
514347A974B29B   RHONDA            ALVAREZ             IA          27017217097
5143521975B393   RYAN              FITZGERALD          OR          44547432197
5143556817242B   JAMES             WOLFE               PA          51017135681
51435A4462B27B   AZZAYA            NYAM                VA          90010330446
514362A2384373   CLAUDE            JENSEN              SC          90001932023
51436432A5B387   JEREMIAH          GARCIA-LEE          OR          90012484320
5143766565758B   JACQULYN          VILLEGAS            NM          35584416656
51437851A2B241   HILDA             AYALA               DC          90002778510
5143799694B588   AMOS              NJINGTI             OK          21506569969
51438148572B36   PATRICK           STEEN               CO          90013991485
51438341472B43   FABIOLA           GILES               CO          90010073414
5143842242B27B   KIERA             DIXON               DC          90013704224
5143868994B588   JERMAINE          WILLIAMS            OK          90014216899
5143895854B521   SANDRA            VILLEGAS            OK          90009589585
5143B4A584B29B   SUSAN             LINGLE              IA          27070694058
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5143B6A3A5B531   ROSE        BACA                      NM          35024066030
5143B875372B36   ERIKA       RIVERA                    CO          33047378753
5144159A54B251   ALBERT      MESSAN YAO KATE           NE          27080995905
514416A2891895   MEIKA       TUCKER                    OK          90010496028
51442512A5593B   ELVIS       GILLIES                   CA          49011665120
5144292435B531   IVAN        CASTILLO                  NM          90011049243
51443235272B36   STEPHANIE   JIMENEZ                   CO          33096072352
51443728772B43   ROBERT      SHANKS                    CO          90011367287
5144437725B399   REBECA      ESTUDILLO                 OR          90010603772
514448A7372B36   JOBEL       WALKER                    CO          90014548073
51444A3118B169   DAVID       WALKER                    UT          31086690311
5144514A933699   ELI         PHELPS                    NC          90012861409
5144572AA91895   MICHAEL     BROWN                     OK          90015167200
51446122372B36   PENUT       CHENTE                    CO          90010021223
5144625915715B   ADORA       SCOTT                     VA          81068042591
5144697455B387   CHARLES     HODGES                    OR          44542749745
51446A59961975   TESSA       CALVILLO                  CA          90013750599
51447225472B36   PEGGY       BLACK                     CO          33018482254
5144825A78B169   VIRGINIA    VALDEZ                    UT          90003562507
514483A2A98B2B   JAERRA      SAYLES                    NC          90003473020
5144858454B28B   MICHAEL     HOOD                      NE          90001105845
51448653A72B77   LUIS        CASTANEDA                 CO          33069866530
51448867A2B27B   RIKEA       RICHARDSON                DC          90009758670
5144991654B588   JERRY       PACK                      OK          90014829165
5144B175572B36   SANDRA      MIELENZ                   CO          33021011755
5144B276272B43   JORGE       RESENDEZ                  CO          90001022762
5144B425684357   TINA        SHARKEY                   SC          90010894256
5144B439172B49   RANDY       BENSON                    CO          33042974391
5144B587A5758B   MAGDALENA   MACIAS                    NM          90001055870
5144B91715B531   MARIA       AVALOS CELAYA             NM          35063409171
5144B993191524   SONIA       MALDONADO                 TX          90014329931
5145141792B973   JORDAN      STANLEY                   CA          45096514179
51452274672B21   AUTUMN      FISHEL                    CO          90013752746
51452427597B77   DANIEL      DIAZ                      CO          90014764275
5145244484B28B   NICKOLE     THOMPSON                  NE          26016684448
51453A9714B28B   NANCY       MORENO                    NE          90001040971
5145421494B28B   SHAD        MILLER                    NE          26056672149
51454A46A84357   VIKTORIA    VALDEZ                    SC          90005410460
51454A61891895   CHATIA      DENNIS                    OK          90013850618
51454A69333696   PAULETTE    ADAMS                     NC          12036210693
51454A8395B283   JERRY       SAUNDERS                  KY          90006520839
51455497897B77   LENDY       OCHOA                     CO          39017414978
5145575555715B   ALFONSO     GONZALEZ                  VA          90012817555
5145587185B531   ANGEL       RAEL                      NM          90012288718
514559A334B588   SHANIKA     SMILEY                    OK          90000319033
51455A84564145   OSCAR       KAYEE                     IA          90013890845
51456222A8B169   SHINAE      FURGESON                  UT          90014792220
514563A2891576   NANCY       MARTINEZ                  TX          75089633028
51456685398B2B   MARIO       ORTIZ                     NC          11009176853
51457281372B43   ANGELA      GONZALES                  CO          33099762813
5145754155715B   PEDRO       VALENZUELA                DC          90010305415
5145796975B387   EDMUND      SAW                       OR          90011329697
514579A2684357   CHARMAINE   INABINETT                 SC          90011089026
51458335A61975   TIFFANY     BAXTER                    CA          90005673350
5145839A551348   JOSH        VICKERY                   OH          90010913905
5145843A497B77   ALFONSO     GONZALEZ                  CO          90011844304
5145864324B588   DANIEL      ENCARNACION               OK          90012696432
5145873572B27B   SHEILA      JONES                     DC          90007807357
5145875198B169   ARMANDO     TORRES                    UT          90009477519
5145937325715B   ANDONY      MARTINEZ                  VA          90013223732
5145968994B562   BRYAN       MAYS                      OK          90009256899
514598A3961975   JORGE       DIAZ                      CA          90014428039
5145B2A742B27B   KARINA      CERRATO                   VA          90007672074
5145B325A84373   BENJAMIN    COOPER                    SC          90007623250
5145B681A51348   KEVIN       WILLIS                    OH          66066266810
5145B74774B28B   WILL        PERDUE                    NE          26058187477
5145B88314B588   JOSE        DIAZ                      OK          90014918831
5145B984885928   DEISY       DIEGO                     KY          90009589848
5146151125B543   MICHELLE    ODEN                      NM          90005745112
5146163A261975   AIOTEST1    DONOTTOUCH                CA          90015116302
5146222A94B28B   KELLY       THOMAS                    NE          90014312209
51462732872B36   CESAR       CORREA                    CO          33056827328
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5146343945B543   FLORENTINA    MEDINA                  NM          90005824394
51463473672B67   ERICK         LOPEZ                   CO          33022774736
5146499275B531   CRYSTAL       SCHLOSSER               NM          90013329927
5146541497B46B   CHRISTINA     ROSS                    NC          90013014149
51465746397B77   BETHANY       BRITT                   CO          90002517463
5146651725B387   RICARDO       RAUL                    OR          90011175172
5146743475758B   JULIO         ROMO                    NM          90015594347
5146771197B46B   AREIEL        GRAHAM                  NC          90012027119
5146791935B283   KRYSTAL       ELLIS                   KY          68016419193
51468495772B27   EMELDA        GONZALEZ                CO          90006764957
51468657672B43   ELOY          CAMAYO                  CO          90007986576
51468663A91576   ANDRES        GARCIA                  TX          75015076630
5146884A33B394   JOSE          GONZALEZ                CO          90006628403
514688A2684373   LEO           BLAKELY                 SC          19024028026
5146B113785928   CARLOS        FLORES                  KY          90015241137
5146B821672B49   JASON         VOGLER                  CO          90001268216
5146B83A485928   KIM           BURT                    KY          90010888304
5146B8A4A7B46B   FLORA         WILSON                  NC          90013448040
5146BA6788B169   JASMINE       DUVALL                  UT          90014900678
5147113775593B   ADAN          PINA                    CA          90006681377
5147141325715B   ANGELA        CARO                    VA          90009424132
51471971A72B49   DEANNA        GALLAGHER               CO          33023989710
5147258A572B36   ALDO          DURAN                   CO          90013015805
51472A36A98B2B   RODRIGO       CARMONA                 NC          90003260360
51472A7735B387   ANGEL         COOK                    OR          90014010773
5147338627B46B   KEBRICK       BARNES                  NC          90012903862
5147393A85715B   DAVID         NUNEZ                   VA          90005799308
5147419292B27B   MARIALINDA    HERNANDEZ               DC          90000451929
514741A4557157   YVETTE        PETRESCU                VA          90015281045
514743A645B393   LYNN          REA                     OR          90006023064
51474568298B2B   DEREK         GALAXX                  NC          90006775682
51474A5617242B   JEFFERY       SHOPE                   PA          51029250561
51474A8875715B   CARLOS        ORTIZ                   VA          90012900887
5147546195B543   KRYSTAL       SALAS                   NM          90005824619
5147579598B169   CHIS          CORDOVA                 UT          90004357959
51475831972B37   LYNNE         BROWEEN                 CO          90011658319
51475A37A4B588   JUAN          DE LOERA                OK          90010510370
51475AAA951348   CHAD          GRAY                    OH          90010700009
514773A7A91895   JOEL          PITTS                   OK          90014383070
5147838924B588   PAMELA        ROPER                   OK          90006663892
51478463A91576   CARMEN        MARTINEZ                TX          90011204630
5147913365B387   MARIA         RAMIREZ                 OR          90015041336
5147B18655B387   KENNETH       CAMERON                 OR          90011921865
5147B251A8B169   LAUREN        WHIPPLE                 UT          90010612510
5147B57595B393   MARIA         POLVOS                  OR          90004955759
5147B85355758B   JESUS         LOPEZ                   NM          90014868535
5147B9A365715B   JAMALADIN M   BASHIR                  VA          90015039036
51481368A4B28B   CARRIE        FIELDER                 NE          26043323680
51481A9867242B   MAEGAN        FUMICH                  PA          90000460986
51484AA475B387   ANGEL         SORIANO RAMIREZ         OR          44599100047
514851A832B245   DENISE        COLEMAN                 DC          81098711083
51485255172B27   CHRIS         GUTIERREZ               CO          33077212551
51485399A5B387   JOSH          TAYLOR                  OR          44506383990
51486139872B49   RICKEY        CARTER                  CO          90013891398
514862A735B393   TERESA        JIMENEZ                 OR          90014672073
5148724AA4B536   LAUREN        HUGHES                  OK          90009812400
5148727794B588   MYKEL         SHERRILL                OK          90014542779
5148744345B393   KEVIN         TAYLOR                  OR          44568384434
514876A1685928   JUDITH        BURNAM                  KY          67030786016
514877A6984357   CAPRESHA      JAMES                   SC          90009387069
51487835172B43   MELISSA       LUCERO                  CO          33077888351
5148858235715B   DAYVI JOEL    AYALA LOPEZ             VA          90012895823
5148894A761936   FERNANDO      ZAMUDIO                 CA          46063299407
51489266424B7B   VICTOR        APARICIO                VA          81052052664
51489683676B81   MARGARITO     GOMEZ                   CA          46073666836
51489883872B43   GUILLERMO     BEJARANO-MIRANDA        CO          33055008838
51489AA278B837   ALAN          PABO                    HI          90010510027
5148B25984B588   CAROLYN       RIGGS                   OK          90011582598
5148B342161973   FABIAN        SANDOVAL                CA          90014163421
5148B399A5B387   JOSH          TAYLOR                  OR          44506383990
5148B479785862   CHANCY        MAGOON                  CA          90011284797
5148B93A972B49   RICKY         ZARATE                  CO          90011049309
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5148BAA6A7B46B   ENRIQUE          ROLDAN               NC          90013520060
5149122A55B393   SCOTT            BURKIN               OR          90014672205
5149139357242B   NATALIE          WILLIAMS             PA          90013263935
5149166912B27B   FABIAN           LEWIS                DC          90013186691
51491685472B88   KEVIN            SWOPE                CO          33065996854
51491699272B88   KEVIN            SWOPE                CO          90014376992
51491A2194B588   SHALITTA         OWENS                OK          90006770219
51491A6425715B   LUIS ALBERTO     ESCOBAR DOMINGUEZ    VA          90015320642
5149259A191576   SANDRA           HERNANDEZ            TX          75065455901
5149287A257157   ASSEGEDECH       TESEMA               VA          90003118702
5149327712B27B   JONAS            WILLIAMS             DC          81017242771
5149361615B531   CHRIS            BROWN                NM          35017876161
5149374A172B36   YOLANDA          RODRIGUEZ            CO          33062597401
5149389665B387   JERRY            NELSON               OR          44526578966
514941A1672B88   YESENIA          ALONSO               CO          33047171016
5149427248B169   SANDRA           NELSON               UT          90012742724
5149457457242B   LINDA            BLOSE                PA          51081745745
5149469815B543   RONICA           WELBORN              NM          35081376981
5149491312B27B   JANAY            BURRELL              DC          90014569131
51495A1632B237   SHAVEL           WRIGHT               DC          90005670163
51495A8255758B   BOBBIE           HERNANDEZ            NM          35534320825
5149676454B28B   JESSICA          THOMPSON             NE          90012817645
5149691274B588   VIRGIL           GRAMLEY              OK          90013919127
51496A11872B77   GERARDO          ENRIQUEZ             CO          33061220118
5149769365758B   LUCY             OCHOA                NM          35503086936
5149787482B27B   CHRISTOPHER      JACKSON              DC          90012718748
51497A99751367   CHARLES          MACKEY               OH          90010010997
514982A5357148   JAIME            MENJIVAR             VA          90005162053
5149853357B46B   JONG             SIU                  NC          11013725335
514986A585B393   MASON            BOWLES               OR          44553486058
5149B37A15B543   ANTHONY          TORRES               NM          35035443701
5149B49165B561   BERNADETTE       GARCIA               NM          35094524916
5149B819957157   MARBI            ALVAREZ              VA          90013768199
5149B826572B27   SELLENA          NICHOLS              CO          90014158265
5149B86845715B   ELISEO           ROMERO               VA          90015108684
5149B913361975   JESSICA          MENDOZA              CA          90011439133
5149B995491576   ROSE             NUNEZ                TX          90011669954
514B112122B27B   ANDREA           INMAN                DC          81097171212
514B1549671964   ERICKA           JARMON               CO          90000545496
514B156694B588   FILIBERTO        RAMIREZ              OK          90014155669
514B198355B393   JOHNNY           CLAUSEN              OR          44559589835
514B1991572B36   JAMES            HENSLEY              CO          90012339915
514B2513972B27   ADRIENE          DANIELS              CO          33009995139
514B264767242B   JAMEY            HENRY                PA          51006426476
514B2739872B77   EDDIE            DIAZ                 CO          90004997398
514B2799584373   CATHY            GETMAN               SC          19056627995
514B2A2974B588   KRISTI           RHODES               OK          90014770297
514B351545715B   STEPHANIE        BONILLA              VA          90011975154
514B361355B531   NOE              VENEGAS              NM          35076666135
514B441595B387   NGUYE            KALADOKUBO           OR          44540594159
514B4624972B43   BERNADETTE       REAM                 CO          33066396249
514B4948798B2B   ROGER            MAKABI               NC          90005969487
514B51A6472B49   YAMILET          MEJIA                CO          33003231064
514B5568872B27   MARIA            COLL                 CO          90012975688
514B5672A51348   RICK             POPE                 OH          90002156720
514B569382B27B   ANDUALEM         YEMRU                DC          90015126938
514B5A2995758B   NAVID            MITCHELL             NM          90015030299
514B619AA5715B   KATY             MARTINEZ             VA          90015021900
514B6423472B49   TERREN           BRANDT               CO          33001744234
514B655115715B   ANGELA           TWYMAN               VA          81095925511
514B683A761975   FRANCISCO        AVILEZ               CA          90011188307
514B6A9718B145   NORRIS           SMITH                UT          31098630971
514B7171485862   JENILEE MARIEL   AVILES               CA          90012921714
514B7663357157   YANIRA           LINARES              VA          90011856633
514B8167161975   THEOPHILOS       ALABARTA-WADE        CA          90013641671
514B81A885B387   DENICE           KELLER               OR          90012121088
514B825994B28B   DAVE             GREEN                NE          90004302599
514B829424B588   LATOIYA          JORDAN               OK          90014002942
514B8658557157   CRYSTAL          WRIGHT               VA          90014726585
514B899248B169   BEN              JOHNSON              UT          31058269924
514B9227785862   EDGARDO          SANTANA              CA          90014062277
514B9373131428   MONICA           ROBINSON             MO          27538743731
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514B956797242B   JACK        THOMAS                    PA          90013825679
514B958544B52B   MARSHA      SIMMONS                   OK          90007725854
514B9679A61975   MARLENE     LOPEZ                     CA          46032696790
514BB49358B169   JODY        GREENHALGH                UT          90011854935
514BB942191893   FRANCISCO   HERNANDEZ                 OK          90006209421
514BB94382B27B   LATARSHA    KELLY                     DC          90010389438
5151126125B387   RICHARD     PEREZ                     OR          44583502612
5151217675758B   LUCILA      RUBIO- RODRIGUEZ          NM          90013511767
51512894472B77   ALENA       BAILEY                    CO          90000588944
51513A9315715B   ABEL        DIAS                      VA          90009150931
5151445325B399   CORI        MATHERS                   OR          90013964532
51514485257B75   BLAIR       WEBER                     PA          90014194852
5151494867B46B   TONYA       HUGGINS                   NC          11011499486
5151521548B169   TANIA       RODRIGUEZ                 UT          31047472154
5151534984B588   HOLLY       JONES                     OK          21560553498
5151622927B46B   DARRYL      SUGGS                     NC          90012342292
5151788A891576   MARTIN      VERDUZCO                  NM          90015018808
51517993572B35   LILAH       FREELON                   CO          90009929935
51518784472B49   IVAN        RODRIGUEZ                 CO          90009667844
5151917A18B169   JEFFREY     CAVALLI                   UT          90014831701
5151B37215715B   RONALD      GAJARDO                   VA          90013403721
5151B83434B28B   CASEY       WAECHTER                  NE          90005688343
515211A2272B77   PATRICIA    BALDIVIEZ PEREA           CO          90004431022
5152122A131428   SHEREE      LEWIS                     MO          27589102201
5152154934B29B   CHANH       SISAVANH                  NE          27089185493
5152182A691856   CANDACE     VALENTINE-JONES           OK          90014778206
515224A684B28B   MARTIN      SCHWEITZER                NE          90009904068
51522869772B36   TERESA      AUSTIN                    CO          90001958697
51523193197B77   MICHAEL     PEERMAN                   CO          39017421931
5152345695B531   JOSE        SAENZ                     NM          90014454569
5152435A472B36   NEVA        SMITH                     CO          90007873504
5152514317242B   LISA        SANDS                     PA          90003851431
5152631A433696   SHANNON     FRALIN                    NC          12048033104
5152633895715B   LOPEZ       MARI                      VA          90003333389
5152653585B543   DAVID       SPALDING                  NM          35045885358
5152658824B588   WILLIAM     SCOTT                     OK          90013655882
51526765A61975   JANINE      BRINKLEY                  CA          46093007650
5152735A585862   ROSEANNA    NECOCHEA                  CA          90012803505
51527398572B43   JULIA       BERG                      CO          90009973985
515273AA15B393   RICARDO     ALONSO                    OR          44570023001
51527459972B36   JAYNA       HANCOCK                   CO          90013404599
51527518972B27   CHASTITY    SAIZ                      CO          90015025189
5152754995B531   DEHART      TRAVIS                    NM          35011415499
51527A28572B49   JOAN        MANSFIELD                 CO          90014830285
51527AA5384373   REINA       ARGUETA                   SC          19042140053
51528A5355715B   JOSE        DELCID                    VA          90015040535
51528A5657B46B   MARLON      ROLIN                     NC          90011150565
5152942924B588   ANDREW      RAINS                     OK          90013134292
515296A8A72B88   HASSLER     CRAIG                     CO          33017126080
5152996723B387   ALONSO      OCHOA                     CO          90015039672
5152B277685862   THOMELL     SMITH                     CA          90015042776
5152B432172B27   SALVADOR    CASTRO                    CO          33029254321
5152B624A72B67   WEBER       MILISSA                   CO          33028276240
5152B7A5333696   LATASHA     THORNTON                  NC          12051867053
5153164158B169   ROSA L      GUTIERREZ                 UT          90012226415
5153175557242B   DILLEN      BEDICK                    PA          90013187555
51531865197B77   MANUEL      GONZALEZ                  CO          90008648651
51532645A33628   NICOLA      SCOTT                     NC          90015086450
5153267A661971   HENRY       BLACK                     CA          90014496706
5153285334B28B   TONY        GLEASON                   NE          90014348533
5153297915B399   ANTONIO     WILLIAMS                  OR          90006409791
5153375822B27B   ANDRE       ROBINSON                  DC          81024017582
51534A12493782   JOSE        RODRIGEZ                  OH          90002550124
51535214872B67   EDWARD      GARCIA                    CO          90005462148
51535452172B49   TYLER       BECK                      CO          90012464521
5153578575B531   ORLANDO     ARMIJO                    NM          90002197857
5153598A15715B   ENIO        LINARES                   VA          90012819801
51536437172B67   ALEX        GARFIO                    CO          33088724371
51536789A72B77   LEE         VEGA                      CO          33027777890
5153738364B588   JOSH        BROWN                     OK          90006923836
5153739653B387   ADRIANA     ALVARADO                  CO          90006273965
51537A91531429   RONALD      SCOTT                     MO          90005700915
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515383A612B27B   KASSAHUN    MENGESHA                  DC          90013053061
5153842114B251   CHER        PRIMUS                    NE          90009364211
51539925997B77   TARYN       JOKEL                     CO          90004549259
5153B53A233699   MARY        KING                      NC          90011065302
5153B72414B28B   JULIE       SNIDER                    NE          90004867241
5153B76834B588   BARRY       BECK                      OK          90007817683
51541387A91895   DAVID       LEWIS                     OK          21090773870
51541A5A74B28B   MELISSA     WHITE                     NE          26091050507
5154237717B46B   KEIDY       MARTINEZ                  NC          11088923771
5154247515B543   YOGGY       YOGGY                     NM          90009214751
51542492972B43   EDWARD      HANCOCK                   CO          33091134929
5154259A697B54   AMANDA      BENAVIDEZ                 CO          90012445906
5154267285B531   BLANCA      ESTRADA                   NM          35062216728
5154316154B521   ROXANNE     PENA                      OK          90001841615
515431A4251348   MICHAEL     PARSONS                   OH          90013281042
5154328975758B   ERICA       WHITESIDE                 NM          35513782897
515436A1672B67   EROKA       THURMAN                   CO          90003096016
5154377257B491   RENE        HERNANDEZ                 NC          90010097725
5154417A184373   NYCKI       HAGAN                     SC          19041241701
5154424822B27B   MARQUIS     ALLEN                     DC          90011182482
51544796772B36   DOMINIC     LUCERO                    CO          90011597967
515448A9A33B26   AMANDA      HANSON                    OH          90010558090
51544A86161971   AIDEE       LOPEZ GARCIA              CA          46045440861
5154527712B245   JONAS       WILLIAMS                  DC          81017242771
5154544A78B169   LISA        ESCOVEDO                  UT          90013764407
5154569928B169   LISA        ESCOVEDO                  UT          90009536992
515456A874B588   SELINA      TOFPI                     OK          90013656087
51545A78157157   NOEMI       MEJIN                     VA          90012450781
5154612985758B   OSCAR       GALVAN                    NM          90010621298
51546311272B49   MARCELA     PEREZ                     CO          33015873112
5154717A184373   NYCKI       HAGAN                     SC          19041241701
5154768212B27B   DONNELL     PRICE                     DC          90014856821
51547AA425758B   REGINA      MCDANIEL                  NM          90013380042
51548631A84373   ELMORE      GREEN                     SC          90012936310
5154867514B588   IKEVA       LOWMAN                    OK          90013546751
51548851372B67   DELAROSA    LAURA                     CO          33066388513
515489A425B387   ANGELA      ALBECK                    OR          90007849042
5154942127B461   ELMER       MARTINEZ                  NC          90009904212
51549A61472B49   LEONEL      NABARRO                   CO          90014850614
51549AA717242B   ANTHONY     RAMOS                     PA          90010990071
5154B563972B43   ARACELY     SILVA                     CO          90012175639
5154B65654B28B   DAVID       MURPHY                    NE          90014636565
5154B672672B49   ROSLYN      DEHERRERA                 CO          90006556726
5154BA74461975   JUAN        CRUZ                      CA          90013350744
5154BA97233696   FLETA       STARNES                   NC          90012180972
515516A812B272   SHARON      MOZO                      DC          90009266081
51551712372B27   BLAKE       BROWN                     CO          90013027123
5155181964B588   ARIEL       PIERCE                    OK          90011408196
515523A4184373   PHILLIP     WILLIAMS                  SC          90013523041
51552A3AA31429   VICTOR      EDWARDS                   MO          90005380300
5155351925B387   PATRICIA    GREEN                     OR          44592015192
51553785A72B43   MARTHA      PEREA                     CO          33049557850
515542A2A72B36   ASHLEE      BARRELLA                  CO          33062872020
51554691672B67   MAYARI      ESCOBAR                   CO          90007316916
51554718272B27   WAYNE       MUNOZ                     CO          90015107182
51554971A84357   SIOBHON     R-SMITH                   SC          14522519710
5155534587B46B   DESEANTE    THOMPSON                  NC          11073733458
51555388297B77   JACOB       LEBSOCK                   CO          90009303882
51555526372B43   MARISELA    BELTRAN                   CO          90012845263
5155554A333699   TAMICA      WOODS                     NC          90015245403
515555A245715B   JUAN        SALAZAR                   VA          90013175024
5155567575B247   MARY        BROWNING                  KY          90006766757
51555A5795B387   CHRISTIAN   EWING                     OR          90012760579
51555AA192B225   ANTHONY     SQUIRE                    DC          90003870019
51556239772B49   SETH        RICH                      CO          90013682397
5155628617242B   TRACY       CAMPBELL                  PA          51040642861
515566A6197B77   JESUS       ACEVES                    CO          39046286061
51556897672B36   JACOB       MEISSNER                  CO          33030928976
5155747874B588   MILAGRO     ARRIAZA                   OK          21594144787
5155785545758B   ROSEMARY    LUCERO                    NM          90014868554
51557A1625B393   TALON       HIIBSCHMAN                OR          90010650162
51558214872B67   EDWARD      GARCIA                    CO          90005462148
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5155833274B588   EDUARDO       VALDEZ                  OK          90013243327
5155932AA84357   JEROME        ROBINSON                SC          90010733200
5155976955758B   DULCE         BUENROSTRO-MENDOZA      NM          90013227695
515597A855B531   PAYGO         IVR ACTIVATION          NM          90010917085
5155997324B28B   ARIANNA       MOLZEN                  NE          90004289732
5155B15168B199   RYAN          MCLELLAND               UT          31024321516
5155B16325B283   DONALD        WATKIN                  KY          90007111632
5155B284657157   YASIR         KHALIL                  VA          90001352846
5155B86A191895   CRYSTAL       FARLEY                  OK          21038428601
5155BA5844B28B   MELISSA       DENNEY                  NE          90013850584
5156166947242B   DANIELLE      FALCON                  PA          90013696694
5156176367B467   TAMEEKA       JIMENEZ                 NC          90007467636
51562173472B43   JOSE          LOPEZ                   CO          90009431734
5156255385758B   PEDRO         HERRERA                 NM          90004405538
51562631472B27   MICHAEL       AKERS                   CO          33008656314
51563317A72B36   VICTOR        ROCHA                   CO          33068513170
515638A2A33699   MONICA        SIMMONS                 NC          90011048020
51563A3595B543   ANNETTE       APODACA                 NM          35027460359
5156424815B387   CHERIE        BOWLING                 OR          44538762481
5156575558B169   GHENNIPHUR    LINDFOR                 UT          90010267555
5156597AA61975   KRYSTAL       JONES                   CA          90013009700
5156699715B283   ROSE          BAREIS                  KY          68068979971
51567576772B36   TANNAY        MAESTAS                 CO          90014375767
515684A465B543   ROSE          GUTIERREZ               NM          90014464046
515686A5631428   SPARKLE       HAUGHTON                MO          90014016056
5156875558B169   GHENNIPHUR    LINDFOR                 UT          90010267555
5156879A672B49   SHAUN         MONTOYA                 CO          90014947906
5156938855B387   FLORENTIN     SANTIAGO                OR          44506403885
51569546572B27   JANENE        GARCIA                  CO          90005025465
515697A714B28B   EBONI         ELLIOTT                 NE          26059827071
51569A1357B46B   CARLOS        RICO                    NC          90010010135
5156B112772B67   ROBINSON      RAFAEL                  CO          90004531127
5156B38925B531   NICOLE        RESENDIZ                NM          90009073892
5156B39875B531   LICHELLE      BEAULIEU                NM          90014863987
5156B43275B543   THEA          JUDIN                   NM          90015324327
5156B459972B36   JUAN          DIAZ                    CO          90013894599
5156BA19772B88   PIPER         LEWAS                   CO          33066010197
5157127A65758B   VANESSA       MARTINEZ                NM          90007172706
5157139A772B49   JENNIFER      CUSTY                   CO          33074913907
51571A54533699   AMY           MITCHELL                NC          90014830545
515722AAA8B169   KATIE         MURDOCK                 UT          90012292000
5157277895715B   MARIA         ARGUETA                 VA          81089947789
5157288665758B   ROSEMARY      LEON                    NM          90015178866
5157293565B393   MICHELE       COCHRAN                 OR          90006399356
51573893472B67   ANA           OROCIO                  CO          33062278934
51573A73691267   LATORREAN     CRAWFORD                GA          90010870736
5157413235B393   GERMAN        SILVA CALDERON          OR          90015101323
51574A39A84357   VICTORIA      JOHNSON                 SC          90013290390
51576869772B43   LOPEZ         ELMA                    CO          33017518697
5157734497B46B   GRISELDA      ALVAREZ                 NC          11010213449
5157734975758B   MARIA         MARTINEZ                NM          35517963497
5157743A131429   DEBORAH       SABOURIN                MO          90005704301
51577A41A84373   CHRISTOPHER   BAYNE                   SC          90015120410
515782A865B387   JOESEPH       PATRAW                  OR          90006432086
51578436176B4B   JOEL          LOPEZ                   CA          90011354361
51578471372B88   DUBIOUS       DEBOER                  CO          90003214713
515784A9485928   BOSS          MAN                     KY          90011484094
51578865372B77   JOHN          VALDEZ                  CO          33011758653
5157888868B169   SHAWN         MAYNARD                 UT          31062608886
51578A8574B521   BLANCA        CONTRERAS               OK          90005510857
515791A268B169   RICHARD       KALM                    UT          90006901026
515792A114B588   NICOLE        MATHIS                  OK          21554282011
5157942985B543   ROSARIO       ESCOBEDO                NM          35077784298
5157968A761975   VICTOR        MORENO                  CA          46033036807
5157B35158B169   LINDZIE       ANDERSON                UT          90012633515
5158165768B169   AMBER         SOULEN                  UT          90015356576
515816A1161971   JUSTIN        UPTON                   CA          90012066011
515818A215B387   CITLALI       PALACIOS                OR          90007128021
5158312A95758B   PEDRO         BELTRAN                 NM          90013451209
51583772A61971   ANTHONY       SIBLEY                  CA          90013177720
5158382345B393   JOYCE         SEAMSTER                OR          90015138234
515848AA872B43   VILMA         GUZMAN                  CO          90011088008
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515852A7961975   LUIS             CERVANTES            CA          46008322079
5158556AA8B169   CHRISTINE        JONES                UT          31087585600
51585571572B67   MARISSA          ESPINOSA             CO          33085265715
51585653A7242B   MELISSA          BUSH                 PA          51029046530
51585A18872B43   CAROLYN          PROSSER              CO          90004450188
5158637224B28B   JOHN             FAIR                 NE          90011953722
5158796317242B   NATHAN           MCFADDEN             PA          90013029631
51587A2375758B   YESENIA          CHAVEZ               NM          35501900237
515881A465754B   MARIA            CARDENAS             NM          90010181046
5158955965758B   JOVAN            RODRIGUEZ            NM          90009875596
515895A755B531   APRIL            RHODES               NM          35060565075
5158988923B399   MARIO            ARROYO SOLIS         CO          33041068892
5158B881661973   GLORIA SANCHEZ   BERNAL               CA          90010378816
5159122215758B   SHERRY           ROMERO               NM          90010622221
51591269A84373   STEVEN           EVERETT              SC          90013152690
5159157515715B   AMILCAR          RIVAS                VA          81019025751
51591645A72B27   DAVID            HERNANDEZ            CO          90010636450
5159198288B169   KEVIN            BLAKELEY             UT          90015069828
51592A5844B28B   MELISSA          DENNEY               NE          90013850584
51593664472B67   SANDRA           DEHERRERA            CO          33078646644
51594989372B36   JESUS            DOMINGUEZ            CO          90009389893
51595223872B36   JAIRO            CARRILLO             CO          33094872238
51595464972B93   ANDRE            ADAMS                CO          90008624649
5159546A272B49   TRANGO           ELIZABETH            CO          90007604602
5159557515715B   AMILCAR          RIVAS                VA          81019025751
51595844197B77   JOHN             LEIKER               CO          90002748441
515958A2297B68   MARIA            ORDAZ                CO          90013558022
515961A6272B77   JOSHUA           MARTINEZ             CO          90010731062
5159669655B393   RAYSHAWN         LEWIS                OR          44564426965
5159683524B28B   JOEL             BUSH                 NE          90014898352
51597369372B27   ANGELA           DELORME              CO          90013383693
5159781268B169   JANETH           CALDERON             UT          90014108126
5159783524B28B   JOEL             BUSH                 NE          90014898352
51598173772B36   OSIE             WEST                 CO          33068271737
51599A28A61975   ANTHONY          MORENO               CA          90007260280
5159B24355758B   CRYSTAL          BANEGAS              NM          90011002435
5159B43365134B   FRANKIE          SPARKS               OH          90014164336
5159B49A357157   PRECIOUS         MABUNU               VA          90010304903
5159B585A5B399   ELISHA           MITCHELL             OR          44576455850
5159B74625B523   KELLIE           WADE                 NM          90008197462
5159B85AA85862   AIOTEST1         DONOTTOUCH           CA          90015128500
5159B96585B393   SALVADOR         SANTOS               OR          90014699658
515B1213A33699   MARCELLA         CLARK                NC          12038362130
515B124A78B169   JOHNNIE          COLE                 UT          31096512407
515B188475715B   CINDY            GUZMAN               VA          90009688847
515B2181361973   HATSUKO          HOSS                 CA          90013631813
515B2512658528   SHANITHA         AMONS                NY          90014065126
515B273875758B   DAWNDARIE        LOPEZ                NM          90014487387
515B282888B169   HAYDEN           BENNETT              UT          90012168288
515B345815B531   ERIC             GARCIA-RODRIGUEZ     NM          90010354581
515B3489251329   SHANNON          ABNEY                OH          90012694892
515B3686172B49   MARTHA           BRINLOW              CO          33081936861
515B3778A33696   MARLENE          WILLIAMSON           NC          90008817780
515B386728B191   JUAN             LLANTADA             UT          31082468672
515B3948361973   MASON            GARCIA               CA          90013799483
515B5115261971   BASHAR           QANBAR               CA          90009601152
515B531545715B   ANTONIO          CASTILLO             VA          90001043154
515B5645661975   MEGAN            BLANCARTE            CA          90008946456
515B5932772B36   ERNESTO          GAMA                 CO          33095589327
515B5A3555B387   MARSHALL         JOHNSON              OR          90011460355
515B6854561975   AIOTEST1         DONOTTOUCH           CA          90015128545
515B696617242B   CINDY            CONWAY               PA          51038419661
515B73A897B46B   SHAQUOYA         GRIER                NC          90002383089
515B7726891534   ANDRES           DOMINGUEZ            TX          90009867268
515B814885B393   LYMAN            NATION               OR          90008071488
515B838735B531   MARIA            MARTINEZ             NM          35090773873
515B852A951348   VICKI            CONLEY               OH          90010365209
515B8811384357   CYNTHIA          RHOADES              SC          90006258113
515B885685B399   DON              VANN                 OR          44557448568
515B888514B588   ROSE             YOUNG                OK          90010678851
515B9114557122   JOSE             FRANCO               VA          90011401145
515B9135861975   DEYNA            VILLAR               CA          90008531358
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515B9424357563   BURGUNDY       CAMPOS                 NM          90012344243
515B945124B29B   CORRINE        AULT                   IA          27017294512
515B9556933699   ANAS           JOHNSON                NC          90009255569
515B958A284357   COLLEEN        LIGHTFOOT              SC          90012685802
515B9634861973   AIOTEST1       DONOTTOUCH             CA          90015116348
515B9AA532B27B   ALTAYE         WONDIM                 DC          90014560053
515BB431554B84   BRUCE          GETTY                  VA          90013934315
516118A7961971   EVA            LOPEZ                  CA          90014448079
516123A1272B88   DONACIANO      LEON                   CO          33090183012
5161252A897B54   CHUCK          OROSCO                 CO          39080045208
5161274447B46B   AMUN           BEY                    NC          90000307444
51612AA374B588   RICHARD        HOLMES                 OK          21535140037
5161328915B393   KIM            MOORE                  OR          44511622891
5161381624B588   JOHN           MALOY                  OK          21553688162
51614117772B67   MEGAN          HUNT                   CO          33082211177
51615A68A98B2B   DAVIS          R LATEISHA             NC          11076970680
51617458198B2B   NIKKI          DVIS                   NC          11093054581
51617577A72B36   CARLA          LIMON                  CO          33042645770
51617AA374B588   RICHARD        HOLMES                 OK          21535140037
5161853135715B   ABDULKADIR     ABIKAR                 VA          81039885313
51618681272B27   JULIA          KEITA                  CO          90010586812
5161869A531429   DANIEL         MILLER                 MO          90005706905
51619A7925B523   JEFFREY        GRAY                   NM          90002160792
5161B145533699   SHAVONNE       STODDARD               NC          12032041455
5161B52335B393   DESTENY        BELLER                 OR          90014215233
5161B635472B36   SHERRY         TRUJILLLO              CO          90009326354
5161B65964B588   SABY           RUBIO                  OK          90010516596
5161B819572B67   SAMUELITA      GOODE                  CO          33057048195
51621414572B77   RENI           SOTO                   CO          33048164145
51621A57A5B393   DALE           HANSON                 OR          90014140570
51621AAA672B36   MONE           ANDERSON               CO          90014830006
516223A477B46B   TOVA           FORD                   NC          90011003047
5162286755758B   GABRIEL        URDIALEZ               NM          35501918675
5162292145B393   OSMAR          ESCOBAR                OR          44579449214
5162378785B399   JIM            WALSH                  OR          44553797878
51623AA415B37B   NANCY          WELLMAN                OR          90001080041
5162444A872B88   JENNIFER       FLYN                   CO          90001414408
51624952572B27   JOSH           WISHAR                 CO          90012799525
5162611487242B   JESSICA        MAY                    PA          51072211148
5162658A172B49   CHRISTY        SHINBARA               CO          33008995801
51627497A77522   THOMAS         JAMES                  NV          90008804970
5162811522B27B   ANTHONY        TODD                   DC          90012061152
5162842A461971   ANDRES         FLORES                 CA          90012884204
5162861A74B525   CINDY          JOHNSON                OK          90008146107
5162951194B521   TAUSHA         ROBINSON               OK          21547015119
5162995265B387   DAVID          BUTLER                 OR          90014779526
51629A26585862   MATTHEW        HARBOR                 CA          90014850265
5162B21925B531   MARIANITA      SALAIS                 NM          35008452192
5162B25325758B   CRISTINA       GAMBOA                 NM          90011062532
5162B878961973   RICARDO        OVIEDO                 CA          46029188789
5163127285B393   NICHOLAS       BLASSINGAME            OR          90008072728
5163136265715B   SANDRA         ALVAREZ                VA          90008163626
5163157A272B77   ERIK           TRUJILLO               CO          33048165702
5163232A672B43   PAULA          PIGFORD                CO          33008793206
51632529497B41   NOEL           GUERRERO               CO          90014865294
5163267355715B   ROLANDO        MENESES                VA          81040226735
51632736A33699   EVERETT        WILLIAMS               NC          90014647360
516334A6A5B531   VICTOR         SOTO                   NM          90012094060
516338A245758B   MELENIE        HORCASITAS             NM          35564288024
51633A38A61936   JESUS MANUEL   MEZA-ALVAREZ           CA          90011080380
51633A4795758B   DANIEL         TRUJILLO               NM          90013890479
5163427645B531   PAYGO          IVR ACTIVATION         NM          90014062764
5163491245B399   MARLEN         LEMONS                 OR          44562389124
51635436A98B2B   MICHAEL        BONILLA                NC          11068274360
51635963A72B43   LUCIANO        LOPEZ                  CO          33006669630
5163614865758B   TEDDEY         PROVENCIO              NM          90013451486
5163674A17242B   ARLENE         OVERLY                 PA          51052367401
5163728A772B36   JOSE           GUZMAN                 CO          33082542807
5163729515758B   TANYA          TAFOYA                 NM          35508642951
5163757A67B46B   SHEREE         SIMPSON                NC          90011465706
51637A12872B27   EMMANUEL       ZAPATA-PALACIOS        CO          90014520128
51638382A5B399   JUAN MANUEL    CETINA-POOL            OR          90010613820
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5163854732B27B   LYNETTE     GARETT                    DC          90007755473
51638875A85862   AMERICA     AGUILAR                   CA          90011708750
51638A98372B27   ROBERT      HALL                      CO          33007870983
5163931A15B531   DANIEL      SAMPSON                   NM          35083933101
5163938A672B43   PAUL        SMITH                     CO          90009683806
51639452A61973   RAFAEL      FERNANDEZ                 CA          90014164520
51639594272B67   ANDRE       LOPES DOS SANTOS          CO          90002075942
5163B61968B169   CARINA      ZENTENO                   UT          90014816196
5163B845797B54   SAMANTHA    CLARK                     CO          90003688457
5163B998872B43   SHAWNA      GARCIA                    CO          90007329988
5163BA3A272B36   PATRICE     VONHOLDT EVELYN           CO          33081390302
5164146195B393   JEANNE      BAILEY                    OR          44507414619
51641533672B43   KISHA       MCFARLAND                 CO          33095175336
5164166A65758B   JENNIFER    SHINERS                   NM          90010366606
5164192535B387   JAMEELIA    ROBINSON                  OR          44543149253
5164227A872B67   JOSE        RUBIO-ORTEGA              CO          33087212708
5164288925715B   ROSA        ARIAS                     VA          90012888892
516429A5572B77   SANDRA      RASCON                    CO          33022269055
51643239A8587B   JAMES       NAVE                      CA          90002822390
5164373954B28B   ORVIN       ROSE                      NE          90013447395
516446A295B387   CODY        HARRIS                    OR          90014426029
516448A4A84373   ANN         MARLOWE                   SC          90009538040
51644A63691922   ELDER       GOMEZ                     NC          90012940636
5164527285B393   NICHOLAS    BLASSINGAME               OR          90008072728
51645369672B43   ROBERT      SCATTERGOOD               CO          33083873696
5164573797242B   GINO        MARTIN                    PA          90001617379
5164595A761971   DAVIS       DIANA                     CA          90012369507
51645A7345758B   JAIME       MEJIA                     NM          90014650734
51646A7664B588   BENITO      SILVESTRE                 OK          90012890766
5164725595B393   KENDRA      JOHNNY                    OR          90013582559
5164763255B543   MANUEL      DOMINGUEZ                 NM          35032426325
5164766914B28B   MARY        SLECHTA                   NE          90014636691
51648213372B43   NICK        MYERS                     CO          33008822133
51648849272B36   JAMES       EVANS                     CO          33031658492
516489A354B562   BARBARA     DUKE                      OK          90001159035
51648A1715758B   BRITTNAY    HERNANDEZ                 NM          90013650171
51648AA184B28B   ANGEL       PEON                      NE          90010800018
51649375A5B387   RACHELLE    ZUPAN                     OR          90013133750
5164B818872B88   APOLINAR    ISLAS                     CO          33096238188
5164B95845B531   VALERIE     APODACA                   NM          35037279584
5164B961391895   JOSH        WILLIS                    OK          21086119613
5165112623B399   LAUNA       RENSHAW                   CO          90013221262
5165135647B46B   MIGUEL      CELI                      NC          90013743564
5165186615B387   JEWELL      STEVENS                   OR          90015088661
51651896772B67   GRACIELA    BAILON                    CO          33071368967
5165287175758B   CRYSTAL     GARCIA                    NM          90009238717
5165297935715B   CARLOS      AMPUERO                   VA          90000219793
51652A1175758B   CRYSTAL     GARCIA                    NM          90013710117
5165351A672B36   STEPHEN     STAUFFER                  CO          33017695106
51654485672B49   AMY         VANMETER                  CO          33008114856
51654859A85862   URIEL       AVARRO                    CA          90007228590
5165521938B169   JACOB       MCDONALD                  UT          90012872193
51655319A84373   BRENNA      WOODS                     SC          90011653190
5165614325715B   BLANCA      MORALES                   VA          90011911432
51656224A71964   JEDIDIAH    EASTERLING                CO          32005882240
5165627685B387   CEDRIC      OLLISON                   OR          90013072768
5165668115B543   SOLIS       MONICA                    NM          90005846811
51656A9A433696   GARY        PETERSON                  NC          90013910904
5165711A991895   DONNA       HAYWOOD                   OK          21054801109
5165774717B46B   GABRIEL     RIVERA                    NC          90009347471
5165788A457157   FELICIA     TWAM                      VA          90010098804
5165793425758B   MONA        VALENZUELA                NM          90012439342
51657978872B36   RICARDO     LERMA                     CO          33020259788
51657AA9684357   LATOYA      SMALLS                    SC          90013060096
5165816834B28B   AMY         RICKE                     NE          90014271683
51658368872B27   MELODY      AGUIRRE                   CO          90011493688
5165934375B393   AMBER       SMITH                     OR          90014673437
51659524472B43   TERESA      BAKER                     CO          33007825244
51659561372B67   FLORA       GONSALEZ                  CO          33048495613
5165961544B588   BRANDON     WAGNER                    OK          90013926154
5165982428B169   ALEXIS      MANSFIELD                 UT          90015168242
51659891A7B46B   KENNETH     REID                      NC          11076748910
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5165B65165B531   CINTYA      VENZOR                    NM          90007646516
5165B777A51348   TINA        JONES                     OH          90004587770
5166123125B393   RATEASHA    GAITHER                   OR          44523352312
5166154775758B   MARIA       TELLEZ                    NM          35588985477
5166186A398B2B   ROBERT      WYATT                     NC          11057648603
51661875A85862   AMERICA     AGUILAR                   CA          90011708750
516623A3385862   ROGER       KOHLBECK                  CA          90012203033
5166289175B531   DESIREE     BENAVIDEZ                 NM          35073298917
5166294257B46B   RENETTA     CLARK                     NC          11084789425
51663381172B77   ANGELES     MORALES                   CO          33048173811
5166394A24B588   KIMBERLY    THOMAS                    OK          90010519402
5166396978B169   LONDON      PORTER                    UT          90013129697
5166399115B393   KATHLEEN    LE CLAIR                  OR          44509129911
516641A4497B4B   SANDY       RAMEY                     CO          90012071044
51664498A7B46B   ANDY        SANTOS                    NC          90014004980
51664628472B49   ROBERT      ROSSETA                   CO          90014406284
5166469A672B36   DANELLE     BORREGO                   CO          90009556906
5166478988B169   DENA        GOSS                      UT          90010267898
51664A96493782   TASHA       LAWERENCE                 OH          90010270964
5166518427B46B   JAMI        LANDIS                    NC          90013741842
5166551915B387   ALLISON     BELSKI-ULVEN              OR          90012815191
5166577115B393   LES         FLEMING                   OR          44511627711
51665793372B36   PAOLA       TROCHEZ                   CO          90006857933
51665AA825715B   PEDRO       SANCHEZ                   VA          90012890082
51666653672B36   MARIA       BARAJAS                   CO          33046376536
51667288A61971   JUAN        LOPEZ                     CA          46075682880
5166762AA61973   CHRIST      SOTO                      CA          90015126200
51667A3517B46B   TINA        MULLIS                    NC          90014580351
51668A1A25715B   ALLISON     CASTRO                    VA          90012890102
51669AA8261971   LINDA       GUZMAN                    CA          90011150082
5166B15197B46B   EDUARDO     RIVERA                    NC          90011371519
5166B153151348   LAVON       CHARLES                   OH          90011071531
5166B319A84357   DARYL       WILLIAMSON                SC          90015173190
5166B742972B49   HONORIO     GUERRERO                  CO          90000897429
5166B8A5133699   BERENICE    SALINAS                   NC          90010788051
5166BA68672B43   LAURA       ADDUCCI                   CO          90008410686
5167129158B169   GARY        BARNES                    UT          90001832915
5167135165B393   CHRISTY     BERG                      OR          90014673516
5167155868B169   GARY        BARNES                    UT          90012385586
5167157982B27B   RICKY       WEBB                      DC          81017615798
516715AA372B77   CUTBERTO    JIMENEZ                   CO          33088185003
5167168A45758B   HERNAN      HERNANDEZ                 NM          90010366804
51671A93385928   LINDA L     PARKER                    KY          90010890933
51672229272B49   JERRY       WAYNE                     CO          90009292292
51672968372B43   LUIS        MANCILLA                  CO          90013279683
5167326125715B   JAMES       DIGGS                     VA          81005752612
51673613872B49   WILLIAM     DICKINSON                 CO          33030386138
5167396A25B531   ANTHONY     NEAL                      NM          90015189602
5167444498B169   IESHA       ROUNDTREE                 UT          90013964449
5167546A185862   GILBERT     MARCIAL MENDOZA           CA          46098504601
5167568198163B   JACKIE      MCINTOSH                  MO          90008566819
5167596585B393   SALVADOR    SANTOS                    OR          90014699658
5167655925715B   CLAUDIO     RAMOS                     VA          90013025592
51676955272B27   JOSE        CRUZ                      CO          33054389552
51676A8334B28B   BRELL       MOUYEKE                   NE          90013930833
5167726835B387   SARA        TINDELL                   OR          90005992683
5167729197B46B   QUINTON     BREWER                    NC          90015012919
5167771722B27B   DELORES     RIGGS                     DC          90008097172
5167778465758B   RAYMUNDO    ESPANA                    NM          90012987846
5167818917B46B   HUGO        SANCHEZ                   NC          90004921891
5167836725599B   YADELIN     ZAPATA VELASQUEZ          CA          90014703672
51678672272B49   WILIAM      PEREZ                     CO          90012156722
5167891495B393   JUAN        MORENO                    OR          44534039149
51678A9534B29B   JENNIFER    HUMPHREY                  NE          27004360953
51679175972B36   AIDA        GUTIERREZ                 CO          33052821759
51679375172B77   LETICIA     BAHENA                    CO          33037853751
51679AA5372B43   TONI LEE    DIETIKER                  CO          90014600053
5167B55845B393   LINSIE      DINGMAN                   OR          90014205584
5167B772961971   LEILANI     SANDLER                   CA          46051767729
5167B83A451348   JINEAN      ENGLEMAN                  OH          66078628304
5167B98175715B   MARTEY      DODOO                     VA          81078659817
51681581A72B36   MARISOL     OROZCO                    CO          33028215810
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51681A4365B531   VERONICA        SIMENTAL              NM          35004080436
51681A52261971   MARSHALL        HAMMOND               CA          46001240522
51682888172B67   ANGELA          MURILLO               CO          33039838881
516829A9A57157   MARY            RATLEY                VA          90013589090
5168382A757123   MIGUEL          FERRFINO              VA          81026418207
5168396222B27B   WILLONDA        LANE                  DC          90007909622
516842A214B588   TAMMY           HORNE                 OK          90014562021
51684817172B27   HERNANDEZ       REYES                 CO          33055158171
5168528415758B   JESUS           GARCIA                NM          35595702841
5168534395715B   DEBRA           JACKSON               VA          90007973439
5168571287B46B   MANDRELL        WHITE                 NC          90001357128
51686369272B88   LAURA           BALLESTEROS           CO          33057543692
51687254972B77   SABRINA         ROBLES                CO          33015412549
516874AA161975   DIANA           KAY                   CA          90014834001
5168764215B399   HERMELINDA      MANCERA               OR          44587406421
5168765984B588   MEGHAN          BRYCE                 OK          90012166598
51687A9895B531   MARTINA         BACA                  NM          90006120989
51688987A72B43   SAVANNA         SILLIMAN              CO          90014829870
51688A47861973   LORENA          VASQUEZ               CA          90012500478
5168926352B27B   VIRLETIA        HOLLAND               DC          90004222635
516894AA15715B   CHUCK           WILLIMAN              VA          90007734001
5168B252597B3B   ELI             RAWLINGS              CO          90010582525
5168B6A3881698   REAGAN          BYERS                 MO          90013026038
5168BA2A733699   CRAIG           COAD                  NC          90011210207
516914A348B169   WILLIAM         AVIS                  UT          90010284034
5169154182B27B   PATRICIA        BROWN                 DC          90011595418
51691722772B49   BRIAN           CLARK                 CO          90004957227
5169197695B393   MAHABUB         MAHAMED               OR          90014699769
5169243645B387   DESIREE         DUJORDAN              OR          44542384364
51692823A7242B   GUY             CEKALA                PA          90000318230
516931A1191895   FELICIA         SNYDER                OK          90014371011
5169346797242B   MELISSA         MOORE                 PA          51082834679
5169353928B169   VANESSA         CARRANZA              UT          90012465392
51693669672B49   RAFAEL          LUNA                  CO          90013426696
51693952572B27   JOSH            WISHAR                CO          90012799525
51694572197B77   KIM             AGUILAR-PAULI         CO          39045455721
51694A83472B77   ERNESTINA       VILLASANA-PEREZ       CO          33072720834
5169532295B531   LOUIS           LENTE                 NM          35032643229
5169662245B387   PEGGY           CAMPEN                OR          90013496224
5169674474B28B   MAX             BLOSS                 NE          90014067447
5169686855715B   DANIEL          SANCHEZ               VA          81019758685
5169764565B531   LIZZETH         GUTIERREZ             NM          35038036456
516981A8172B88   ROBERTO         JARAMILLO             CO          33060661081
5169829325B285   MAURICE         HEARD                 KY          90013292932
51698A92972B36   GLORIA          MATURIN               CO          90014810929
51698AA785758B   CHRINTINA       MUNOZ                 NM          90002420078
51699376372B43   FRANSECA        MARTINEZ              CO          90011483763
5169985AA85862   AIOTEST1        DONOTTOUCH            CA          90015128500
5169B159172B88   LYNETTE         MARQUARDT             CO          33059691591
5169B3A125758B   CHRISTOPHER     HARIBSON              NM          90007653012
5169B451891895   SHAWNTAE        SLOAN                 OK          90010054518
516B112524B588   DEMONTRE        HEARD                 OK          90011391252
516B1271284373   GREGORY         SCOTT                 SC          90012992712
516B146864B588   DEMONTRE        HEARD                 OK          90013194686
516B168965B543   JAMIE           STICKLAND             NM          35027466896
516B1695957148   SHARNITA        JUGGTNS               VA          90004436959
516B1A21798B2B   SONIA           NARCIA                NC          11067040217
516B1A89991895   DANILO          OROZCO                OK          21011110899
516B219425758B   MANUEL          MURO                  NM          35577771942
516B2653885862   TY              BARNES                CA          46082876538
516B2779961971   JENNIFER        HARDIN                CA          46088197799
516B2881172B43   CHRIS           COOPER                CO          33058408811
516B326852B27B   DELLA           SHAW                  DC          90012832685
516B3511A84373   DAMON           SANDERS               SC          90014295110
516B4471661971   WAAD            HANNA                 CA          90010864716
516B498795B399   CHITRA          KHAR CHUWAN           OR          44501229879
516B5531385862   JESUS ALBERTO   NAVARRO ROSAS         CA          90015175313
516B558747242B   RONALD          DEAK                  PA          51011115874
516B576385715B   WALTER          GONZALEZ              VA          90004147638
516B5793741291   CHRIS           LUDWIG                PA          90010117937
516B6242A5B393   MARICELA        NUNO                  OR          44562562420
516B633564B588   MATTHEW         WILSON                OK          90015133356
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516B637A672B36   TALUSHA       SCHULTEN                CO          90010753706
516B6973972B27   MELVIN        JOHNSON                 CO          90015049739
516B713294B28B   DOMAKNEAK     KRAMER                  NE          90013641329
516B718624B588   JAMMIE        LONG                    OK          90010971862
516B727485758B   GEORGE        GONZALES                NM          90007262748
516B7287691576   PRECILA       ALVIDREZ                TX          90011572876
516B7789691576   RAMON         GUITERREZ               TX          90010017896
516B7A33261975   MIGUEL        VALDEZ                  CA          46087080332
516B876A285862   VERNON        MAPP                    CA          90013697602
516B889665B531   MARISOL       QUIRANTE                NM          90011648966
516B8967161971   HOWARD        BRILE                   CA          46008539671
516B8AA9772B27   CLAUDIA       QUIROZ                  CO          90014060097
516B9287433699   CIERRA        ROBERTS                 NC          90007162874
516B97AAA61973   MAGDALENA     CARDONA                 CA          90011427000
516B986355B283   MEGAN         ALDRIDGE                KY          68084068635
516B9963A72B43   LUCIANO       LOPEZ                   CO          33006669630
516BB446357157   TANYA         WILLIS                  VA          81035504463
516BB449491895   ARONICA       PAYNE                   OK          90014704494
516BB617772B36   MARINDA       BARCLAY                 CO          90013196177
516BB638472B27   LINO          CASILLAS                CO          33078516384
516BBA92385928   DIANNE        DAYTON                  KY          90011790923
5171112594B588   GLORIA        LOPEZ                   OK          90010521259
5171188265715B   FRANCIS       AGYAPONG                VA          90011348826
5171199A561973   FRANK         FLORES                  CA          90014649905
51711A87533699   LISA          GOINS                   NC          12078000875
5171211125715B   RUCHEEL       JARADAL                 VA          90003631112
5171249942B869   GARY          NEER                    ID          90014294994
51712694872B27   KRYSTAL       WOOD                    CO          90004086948
51712946598B2B   LENIN         MARTINEZ                NC          90009409465
5171315195B543   ALEXIS        SANCHEZ                 NM          90007211519
5171318335B531   JESUS         MORALES                 NM          90002741833
5171344525758B   HERMINIA      LLUODERODRIQUEZ         NM          90003344452
517134A7A4B553   TESSKAA       MEADOWS                 OK          90009194070
5171472635B283   BRUCE         FLANNERY                KY          68016747263
5171511384B28B   JACKI         BETTS                   NE          90011021138
5171532A272B36   DONNA         TAYLOR                  CO          90013913202
51715544497B77   GEORGE        HERONEMA                CO          39051895444
5171617177B46B   EDWIN         HENRIQUEZ               NC          90013051717
51717349972B49   ISAIAH        GARCIA                  CO          33060953499
5171828A65B393   SAMANTHA      TETER                   OR          90011992806
5171865A55715B   NOE           TURCIO                  VA          90000586505
51718A46157157   MARILYN       C MORTON                VA          81011450461
5171988554B588   LAKETHIA      WHITE                   OK          90014548855
51719935A72B49   MARILYN       GRIMMENGA               CO          90007779350
5171997735758B   YOLANDA       VILLA                   NM          35590229773
5171B65144B588   JERRY         GIVENS                  OK          90003086514
517212A9472B49   SHELLY        TALBOT                  CO          90011892094
51721696672B67   IRASELA       CORDOBA                 CO          90007316966
51721767A61973   EVA           RODRIGUEZ               CA          90010857670
51721958972B36   LOYA          BRIANNA                 CO          90010039589
5172261A12B862   JOSH          CHAPMAN                 ID          90006016101
5172272832B27B   CYNTHIA       LAKE                    DC          81038137283
51722A4A15758B   JESUS         BRIONES                 NM          90013420401
517233A8633696   ARKISHA       SILER                   NC          90013293086
51723587372B43   JONATHAN      SMITH                   CO          33013885873
517235A2461975   TANYA         RUIZ                    CA          90013115024
5172362495B531   DANIEL        DOMINGUEZ               NM          90000366249
5172367A35B387   YOLANDA       ARCE                    OR          90000136703
51724A18761975   BRENDA        MENDOZA                 CA          90007340187
5172587A45B399   KATRINA       EVANS                   OR          90011018704
51725A37872B36   SENDER        OCHOA                   CO          90012340378
51725A99A4B588   CHRISTOPHER   BROWN                   OK          90014780990
5172681735758B   JAIME         ESCALANTE               NM          35527528173
51726826A5B538   FRANCISCO     CORDOVA                 NM          35008928260
5172861545B393   ANGELA        PERRY                   OR          90012906154
517287A2163637   CHRISTOPHER   CHRISTENSEN             MO          90010937021
5172885A27242B   CARL          GREEN                   PA          90014788502
5172929897B46B   CAROLYN       COX                     NC          11075602989
5172964535758B   LIVINGSTON    VICTORIA                NM          90007106453
5172995A87242B   WILLIAM       NICKLO                  PA          90014649508
5172B113872B36   JONATHON      KIRK                    CO          90013321138
5172B61A872B27   RAMIRO        SOLIS                   CO          90009216108
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5172B88825758B   DESERT            BREGER              NM          35589118882
5173133417242B   LORI              DAVIS               PA          51048473341
5173144395715B   KARLA             SALINAS             VA          90015064439
5173163AA5758B   NOEL              JACQUEZ             NM          90009056300
517319A8A61975   CHRISTIAN         BABCOCK             CA          90013059080
5173242114B28B   BRENDA            HOFFMAN             NE          26028834211
517332A9A4B28B   DAVID             VICTORIA            NE          90013562090
51733976372B36   SALINA            ARCHULETA           CO          90013069763
5173421925715B   WIKLY             JEAN                VA          81039932192
5173447438B169   KELLEE            REITER              UT          31061744743
5173458228B837   THOMAS            LOPES               HI          90013965822
5173488214B28B   WILLIAM           PHILLIPS            NE          90007738821
51735788A5B399   CYNTHIA           SMITH               OR          90007297880
51735913A5B393   CECE              MAUSETH             OR          44516969130
51736277172B49   PAMELA K.         DARBY               CO          33037762771
5173655454B588   FLORICELA         MARQUEZ             OK          90011885545
5173668212B27B   DONNELL           PRICE               DC          90014856821
51736829A4B521   FRANSICO          NEGRETE             OK          90005518290
517369AA661973   TONY              FELIX               CA          90010989006
5173712288B169   THERESA           WILLIAMS            UT          31003971228
51737AA745B283   WILLIAM           GRUBS               KY          68055620074
5173867268B169   IVAN              RAMIREZ             UT          90005106726
5173889275B531   BARBARA           NARANJO             NM          90005568927
5173922A451348   PAYGO             IVR ACTIVATION      OH          90014112204
51739256544B3B   DYLAN             BRANDT              OH          90015182565
5173994AA61973   WALTER            RICKS               CA          90012849400
5173B3AA791895   UNKNOWN           CALLER              OK          21086523007
5173B55435758B   VASQUEZ           JESSICA             NM          90004655543
5173B671372B49   SONIA             MARTINEZ            CO          33020516713
5173B724657157   FEKADE            MERETO NIDA         VA          90001517246
5173B84295134B   LINDA             FANTETTI            OH          90008228429
5173BA48172B77   IMELDA            MANTAR              CO          90005590481
517417A332B574   AUSTIN            WALLER              AL          90014317033
5174189635B531   CORINA            DONAHOE             NM          90012388963
5174194148B169   JEFF              WHALEY              UT          90012119414
5174237375715B   OSCAR RIGOBERTO   REYES CARCAMO       VA          90015053737
51742432A57157   QUINTON           SEEGARS             VA          81037044320
5174263A261975   AIOTEST1          DONOTTOUCH          CA          90015116302
5174422948B169   ANGELA            YOCUM               UT          90010642294
51744313197B54   MARTHA            RODRIGUEZ           CO          39003043131
517449A7672B43   HERMINIA          IBARRA              CO          33097319076
51744A1965B399   EVELIA            RAMERO              OR          44564480196
5174558615715B   LUCIA             BLADES              VA          90012895861
51745A41572B36   LUISE             GALLARDO            CO          90012340415
5174635965758B   KNAPP             JULIA A             NM          90007653596
5174728A533699   EMILY             FERGUSON            NC          90009212805
5174735965758B   KNAPP             JULIA A             NM          90007653596
51748226A51348   LISA              YATES               OH          66017992260
5174829687B46B   SHANIESHA         CRAIG               NC          90013662968
51748314372B35   BILLY             AL CROCE            CO          90010093143
5174897A684373   TOMISHA           NELSON              SC          90014019706
51748A2A885862   WISANEE           WIYABOON            CA          90014550208
5174983855B387   JAMES             WILSON              OR          44539968385
5174B186661975   STEVEN            PEEVLER             CA          90014741866
5175112425758B   DALIA             ESPARZA             NM          90010671242
5175115315B35B   SHARLYN           JACOBS              OR          90007691531
5175136828B169   CASSANDRA         FORSGREN            UT          31050883682
51751727A72B36   ELIZABETH         GONZALEZ            CO          90012937270
51751827697B77   MANUELA           DELUNA LOPEZ        CO          39085568276
5175191497B46B   MONIQUE           HORRIOTT            NC          90013989149
5175244947242B   KEVIN             BAKER               PA          51041134494
51753136572B49   VICTOR            CARRERO             CO          90013051365
5175339534B28B   TEAWNA            STETSON             NE          90014663953
51753773972B77   LANA              LITTLE              CO          33045277739
5175377675715B   TAXI              SERVICES L L C      VA          81040577767
51754386172B77   LISA              CORTEZ              CO          90012613861
51754798172B49   CHRISTINA         HARMON              CO          33038897981
5175492A94B521   ELIZABETH         TAYLOR              OK          90005519209
5175522785134B   TIFFAN            STEPHENS            OH          90003582278
5175552615B393   JUAN              MERCADO RIVERA      OR          44539485261
51755644972B27   BRIGID            KELLY               CO          33059226449
517556A358B169   IRENE             REINA               UT          90006276035
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5175577694B588   YADIRA         GUTIERREZ              OK          90011127769
5175582944B588   OSVALDO        MARTINEZ               OK          90015318294
517558AA685862   DEANNA         SETZER                 CA          90013858006
5175795874B588   BRADY          TEEL                   OK          90013789587
5175837464B28B   ASHLEY         HEISE                  NE          26029993746
51758467172B36   ERIK           VILLEGAS               CO          33081584671
5175854775758B   MARIA          TELLEZ                 NM          35588985477
51758676472B43   DENISE         THOMPSON               CO          90011606764
5175892A55715B   VICTOR         BARAHONA               VA          90008589205
51759744A61973   MA MAGDALENA   BUSTOS                 CA          90014757440
51759767A5758B   CESAR          TORRES                 NM          35515447670
5175B322384357   KIMBERLYN      BALLARD                SC          90011093223
5175B65244B588   BRANDON        DIEHL                  OK          90014866524
5175B668151337   BIANNA         WYLY                   OH          66005466681
5175BA7435B543   CASSANDRA      MONTANO                NM          35057030743
5176155925715B   YAROSLAV       MASLOVSKYY             VA          81040205592
5176169815B531   RONICA         WELBORN                NM          35081376981
51761A52272B43   AMANDA         PLACIDO                CO          90014510522
5176218188B169   CHRISTOPHER    KIMBER                 UT          90014481818
5176227867B46B   JOSE           ORBEGOZO               NC          11042072786
5176237195758B   MARTINA        YBARRA                 NM          35536603719
5176243A961973   MARIBEL        ROIZ                   CA          46008054309
5176386245758B   SANDY          BAILON                 NM          90013138624
5176431224B588   MELODY         ROBERTSON              OK          90010523122
51764471172B43   ALVARO         SERVIN-MORALES         CO          33098244711
517649AA457157   JOSE           ANTONIO                VA          90011949004
5176519895715B   JAY            SMITH                  VA          90012891989
517654AA65758B   ALFREDO        DOMINGUEZ              NM          90010624006
5176637435B531   PATRICIA       OCHOA                  NM          35086723743
51766711272B49   ALICIA         CASUPANAN              CO          90007147112
51767513572B43   DEBORAH        TUCKER                 CO          90011165135
51767A76984373   BRITNEY        BROWN                  SC          90004760769
51768232172B49   LINDA          SUTHERLAND             CO          33082732321
51768594A5715B   JONAC          GUZMAN                 VA          90013025940
5176965A272B27   DORA           MONCAYO                CO          90012836502
51769936A84373   NETFA          GAILLARD               SC          90010169360
5176B414885862   SULTAN         ARRAYYES               CA          90014254148
5176B57975715B   REBECCA        NOLASCO                VA          90007725797
5176B631461973   NOEMI          CUEVAS                 CA          90012366314
5176BA6A44B588   SANTIAGO       MAYA CARMONA           OK          90003430604
5177112815B393   RANDY          NICHOLS                OR          90010181281
5177121347B46B   NATASHA        YOUNG                  NC          90012272134
5177212675B271   ASHLEY         SEARCEY                KY          90009531267
5177241755758B   MISTY          ALVAREZ                NM          90011294175
51772529A5B264   BETH           MCBRIDE                KY          90009905290
51772996172B88   STEPHANIE      HENSON                 CO          90005739961
5177365985715B   CLAUDIA        SOSA                   VA          90005926598
51773731772B27   FLOR           HERNANDEZ              CO          90009897317
51773A16158528   BERNICE        BUNTLY                 NY          90007520161
51773A7195758B   JOSE           MARQUEZ                NM          90013210719
517743A757242B   DEBORAH        KISASONAK              PA          51082093075
51774A3515758B   JUAN           VILLEGAS               NM          35589770351
517752A3257148   LATITIA        SCOTT                  VA          90014022032
5177532444B588   LUIS           DELEON                 OK          21560373244
5177553174B28B   JANET          PALMER                 NE          26069795317
517764A464B28B   SULEENA        MALONE                 NE          90000464046
5177663312B27B   QUANETTA       TYLER                  DC          90001346331
5177664627B491   JENNIFER       BRIGHT                 NC          11013596462
5177682365758B   VEDA           BALDERRAMA             NM          90007678236
51778438998B2B   LAKEISHA       DUNN                   NC          90004654389
5177863A261975   AIOTEST1       DONOTTOUCH             CA          90015116302
5177B39765B387   JEYMY          AGUINIGA               OR          90003973976
5177B3A3861975   OSCAR          HERNANDEZ              CA          90003013038
5177B52585B543   NOHEMI         VARELA-PENA            NM          90000335258
5177B55694B28B   NATHAN         CHAPMAN                NE          90011345569
5177B996172B88   STEPHANIE      HENSON                 CO          90005739961
5178119445758B   MICHELLE       ELIZALDEZ              NM          90012971944
517812A9985928   LYNN           WHITAMORE              KY          90008152099
517817A967242B   JULIE          SAVAGE                 PA          90011187096
517818AA997B54   AUDREY         BARELLA                CO          39073118009
51782476772B27   MELISSA        BROWNING               CO          90012984767
51782651197B54   JEREMY         CALDERON               CO          39038746511
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517826A474B29B   MARIA           DIAZ                  IA          90014936047
5178348578B169   RYAN            KRAUSE                UT          90009814857
51783495A72433   ROBIN           ABEL                  PA          90011694950
51784144A4B525   EMILY           MARTINEZ              OK          90002991440
5178449A64B28B   HIJAZI          LEWIS                 NE          26092074906
51785469672B88   EDWARD          BARRON                CO          33060764696
5178558385B393   ALAN            HARVEY                OR          90014715838
51785A89A71964   STEPHEN         SPEER                 CO          32088780890
5178663685715B   BLANCA          AMAYA                 VA          90012896368
5178676A833699   KEMPIE          THOMPSON              NC          90010907608
517868A4251348   BRENDA          SMITH                 OH          66092048042
5178734275B393   ESTHER          DAVILA                OR          90006733427
5178757818B169   BAMBI           SAUNDERS              UT          31009665781
51787A92764145   OSCAR           KAYEE                 IA          90013890927
517882A1751348   FALISHA         PAYNE                 OH          66056782017
51788458A61973   PRISCILLA       MORENO                CA          90013644580
5178919394B588   LOURDES         MARTINEZ              OK          90008681939
5178B434772B36   SORAYA          MOLINA-DIAZ           CO          90012644347
5178B86288B167   ANTHONY         WEISS                 UT          90012698628
5178BA36A85928   GUADALUPE       RUELAS                KY          67064700360
517911A4A5B531   MARSHA          WAY                   NM          90006801040
51791A8495B387   CARLOS          LOPEZ                 OR          90013520849
5179288A272B36   JAMES           STRONG                CO          33064118802
5179382745B543   TANIYYA         HYNEK                 NM          90005858274
5179452A197B54   JOSE            ESTRADA               CO          39057295201
5179454818B169   KIMBERLY        JOHNSON               UT          31098025481
51794558572B43   IFFEOMA         JONES                 CO          90010605585
51794824A84373   SOPHIA          MILLAN                SC          90001208240
5179549515B531   SABRINA         COLLINS               NM          35026824951
5179596A25B393   PEDRO           ZUNIGA                OR          44581529602
51795A83472B36   ELIZABETH       WHITE                 CO          90013990834
5179625AA7B46B   ERIS            AMBROCIO              NC          90012482500
5179627674B588   CECIL           PONDS                 OK          90012252767
5179632977242B   SHEILA          MORMAN                PA          51064403297
51796414A91895   KOREN           JONES                 OK          21087034140
517965A475758B   JESUS           LOZOYA                NM          90010055047
5179748155B399   REBECCA         HERNANDEZ             OR          90012354815
51797544397B77   OCTAVIO         GARCIA                CO          39012265443
51797A99372B88   BERNARDO        CHACON                CO          90005100993
5179819885B393   BRIAN           AHRENDT               OR          90013051988
517984A418B169   RITA            MATTSON               UT          31021084041
51798854472B43   MATT            SARNO                 CO          33076358544
5179894757B46B   RODNEY          AUTRY                 NC          11000909475
5179917435758B   JAVIER          MELERO                NM          90009571743
5179929347B46B   MICHAEL         WESTBROOK             NC          90011352934
5179B267691521   MICHAEL         HOLGUIN               TX          90009902676
5179B575591895   MARIA           MOSQUEDA              OK          90009875755
5179BA16751348   WILFIDO         ROSENDO               OH          90015240167
5179BA98161975   TONY            BARRAGAN              CA          90014780981
517B1267257157   VICENTE         LUNA                  VA          90012482672
517B131A372B27   LINDA           PALMA                 CO          90014783103
517B167532B245   WAYNE           SAVOY                 DC          90011866753
517B189245B393   ALYSSA          FARRAR-DONKEL         OR          90013488924
517B2179233699   ANGELA          STIMPSON              NC          90013441792
517B236467B46B   NELSON          RAMIREZ               NC          90013353646
517B24A8833699   SHARON DENISE   CAPENTER              NC          90002924088
517B27AA14B588   MARIO           RODRIGUEZ             OK          90012617001
517B33A288B169   JOSH            UNDERWOOD             UT          90012553028
517B435344B28B   EMAN            NAMIR                 NE          26072063534
517B4412772B43   NEHEIMIAH       THMS                  CO          90009814127
517B4973384373   SHABREKA        JONES                 SC          90015149733
517B4A19184357   TAWANNA         PRINCE                SC          14544480191
517B514A87242B   AUTUMN          WALSH                 PA          90011131408
517B5242551348   SHELLY          BROWN                 OH          90008332425
517B553118B169   ELADIA          LOPEZ                 UT          90014625311
517B5942161975   MELISSA         LOPEZ                 CA          46049979421
517B598895B393   LAURA           COLLINS               OR          90014699889
517B5A98372B27   ROBERT          HALL                  CO          33007870983
517B6113572B27   VICTOR          BECERRA               CO          90014211135
517B66A5897B77   JUNIOR          ESPARZA               CO          90001226058
517B684834B29B   KENNETH         WILLIAM               NE          27028278483
517B69A1584357   HARLEY          DWYER                 SC          90010549015
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517B719394B28B   JETTIE       SORENSEN                 NE          90001501939
517B73A8184373   JENNIFER     BAKER                    SC          19071783081
517B742755B387   JOSH         KINGSBURY                OR          44525484275
517B745A957157   ENRIQUE      GONZALEZ                 VA          90014184509
517B791285B393   TANYA        HOLDER                   OR          90014709128
517B7A86472B49   MELQUIADES   CABALLERO                CO          90014150864
517B8386872B21   MELODY       HOLLAND                  CO          90011663868
517B8861257157   REINA        CONDORE                  VA          81059948612
517B8A51672B43   DELORES      BANKS                    CO          33094330516
517B9196924B7B   FURAHA       BECHA                    DC          81016611969
517B952497B46B   KIMBERLY     DAVIS                    NC          90007185249
517B981175B393   ANSON        GARCIA                   OR          90012678117
517B982447B431   DESIREE      SPAINN                   NC          90013748244
517B988115B283   CHRISTINE    FIELDS                   KY          68048258811
517B9893751348   ROBERT       SAHLIN                   OH          66011218937
517B991835B393   TEDDY        PHILLIPS                 OR          90014709183
517B9A86385862   JUAN         MARQUEZ                  CA          90008250863
517BB297272B43   NATALIA      RAMIREZ                  CO          33068532972
517BB387572B27   RENA         GALVAN                   CO          33087133875
517BB61968B169   CARINA       ZENTENO                  UT          90014816196
517BB85AA85862   AIOTEST1     DONOTTOUCH               CA          90015128500
517BB88674B588   CANDACE      WRIGHT                   OK          90011268867
51812541672B43   JACK         GONZALES                 CO          90006015416
5181265A472B27   KIA          LAO                      CO          90008716504
51812A29972B43   QASUDEEPG    GANG                     CO          90013500299
51812A52A4B588   LARBRAIRE    EDMUNDSON                OK          90011150520
51813142472B36   BETTY        VELARDE                  CO          33025911424
5181315AA4B29B   SHEREATHA    GREEN                    NE          27088771500
5181317365B531   FRANCISCA    ARAGON                   NM          35009711736
5181446655715B   FREDDY       ANTONIO JUAREZ           VA          90015114665
51814538372B27   HARRY        WELCH                    CO          33067115383
5181495155B387   DESARAY      PLEDGER                  OR          90013739515
51814A71885862   MARCOS       GIL                      CA          90014550718
5181542795B399   HOLLI        WRONSKI                  OR          44506494279
51815AA7191576   ASHLEIGH     GRAY                     TX          75074450071
51816121197B77   MARCOS       AREVALO                  CO          39040191211
5181672635B393   CHARLENA     FELTON                   OR          44555907263
51816899A5715B   YENNY        AMORES                   VA          90012898990
518172A7A8B169   GUILLE       GONZALEZ                 UT          90009362070
51818291A5715B   YURLY        SERRANO                  VA          90012912910
51819434872B49   TRUDY        FREYTA                   CO          33094034348
51819A77872B36   BERTHA       PEREZ                    CO          90006220778
5181B247A7B46B   ROSALIA      SOLANO                   NC          11005152470
5181B896384357   MATTHEW      KINARD                   SC          90015448963
518213AA62B27B   JAMES        FABIANI                  DC          90015273006
51822396A7242B   ERICA        TAYLOR                   PA          51022613960
5182352872B27B   ANDRE        PLOWDEN                  DC          90012765287
51823575A84357   CRYSTAL      KELLY                    SC          90011105750
518243A5A98B2B   NELINDA      BIGSBY                   NC          90003793050
5182484324B29B   TIROME       COLE                     NE          27001078432
5182551188B169   JOSE         GARCIA                   UT          90007825118
51825768272B36   OGUNSAKIN    MARY                     CO          33033717682
5182577145B387   MENGISTU     MENBERU                  OR          90012237714
5182585AA72B49   MARISHIA     SCHIEBELHUT              CO          33034828500
5182596A777388   JAVIER       PEREZ                     IL         20537199607
51826173672B77   JODY         SILLS                    CO          33072891736
51826386972B36   ALFREDO      LOPEZ ARENALDE           CO          33021793869
518263A927B46B   LOGAN        PITKIN                   NC          90013223092
5182648965715B   CARMELINA    AMAYA                    VA          90008564896
5182685A671964   FRANCISCO    ROSTRO                   CO          32019818506
51826A1955758B   ANGELICA     SANCHEZ                  NM          35555420195
51827131A5B393   NATHAN       THOMPSON                 OR          90012691310
5182748A197B54   CARMEN       RASCON                   CO          39095034801
518277A6857157   ALFRED       SHAW                     VA          90013227068
5182855364B28B   KYLE         FULLER                   NE          26089085536
51829154A61973   JONATHAN     CHAVEZ                   CA          46079931540
51829842A72B27   VANESSA      LOPEZ                    CO          90003168420
5182996535B387   KESETE       NAIZGI                   OR          44573979653
51829A3A28B169   HEATHER      PETERSEN                 UT          31036660302
5182B344772B27   AMANDA       ORONA                    CO          90012493447
5182B48525758B   LINDSAY      ROGERS                   NM          35587494852
5182B626972B27   EDDY         MORENO                   CO          90012826269
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5182B68284B521   CHRISTOPHER      KEMPESTA             OK          90009866828
5182B72A684357   JASMINE          JOHNSON              SC          90013997206
5183111A472B77   ANDREA           FLORES               CO          33001871104
51831258A97B77   ROSITA           MINNEY               CO          39082512580
518319A945B543   ANDREW           GONZALES             NM          90005859094
51831A5558B169   NIKI             BOYD                 UT          90007320555
51832362A51348   SEAN             BURNS                OH          90012873620
5183251467B46B   FERREN           GILL                 NC          90013805146
51832879972B36   DANIELA          FLORES               CO          33044678799
5183289AA8B169   BERTHA           MORLES               UT          90008288900
5183327882B27B   ROCHELLEE        SIMMONS              DC          90012552788
5183394555715B   AMY              MORENO               VA          81085389455
51833A68A61973   PATTY            DELGADO              CA          90012260680
5183452A861971   SHAWN            NORTON               CA          46044905208
51835834A36165   MACKIE           MOORE                TX          90008658340
5183592465758B   TERESA           GALINDO              NM          90013389246
518361A535B387   KRISTIN          VALDES               OR          44517891053
5183621695758B   SOCORRO          MUNIZ                NM          35525612169
5183651612B27B   DARREN           BRADFORD             DC          90014535161
5183721462B973   ISAAC            MIRANDA              CA          90009422146
51837285872B43   SAUNDRA          CORREY               CO          33014692858
5183737584B588   PAYGO            IVR ACTIVATION       OK          90013243758
51837821A72B27   OMAR             MOUHIEDDINE          CO          90010668210
51837A22161971   HAWRAA           KADHIM               CA          90010460221
51838491472B43   DIANE            L BARRETT            CO          33070854914
5183886935715B   TUAN             NGUYEN               VA          90014238693
5183892375B387   OLGA LIDIA       GARCIA HEREDIA       OR          90011979237
51839128597B77   HEMILO           RAMIREZ              CO          90001421285
5183B313A7B359   THOMAS           GOLDSMITH            VA          81088933130
5183B336772B77   CHANDRA          BRESLIN              CO          90002783367
5183B37247B46B   VANESSA          HART                 NC          90014513724
5183B566533699   QUARTINA         WILLIAMS             NC          90014805665
5183B5A2991895   MARISOL          MERIDA               OK          90012825029
5183B82A491895   MARISOL          MERIDA               OK          90007508204
5184143878B169   MARK             WILSON               UT          90011084387
5184231515715B   JUAN SEBASTIAN   PEREZ                VA          90012913151
51842785A2B851   JENNY            CLIFFORD             ID          42092507850
51842A79484357   SAVANNAH         PINKNEY              SC          90012550794
51842AA635B387   ADRIAN           GARCIA               OR          44551650063
5184314715758B   JOSE             LLORENTE             NM          90010241471
518437A997B431   JAMILAH          BOULWARE             NC          90001927099
5184425675B393   JON              MEYER                OR          90008622567
518443A3133696   JALEN            PATE -BROWN          NC          90012153031
51844472172B49   ILIA             WALKER               CO          90008684721
51844513A33696   JALEN            PATE -BROWN          NC          90014165130
5184465315715B   BRYAN            CLARK                VA          90010666531
5184542A15B393   JODIE            KINGSBURY            OR          44547264201
5184558798B186   ASHLEY           FLUSTY               UT          90000295879
5184579358B169   JOSHUA           BREAGGER             UT          90014437935
51846627A5B543   CAMERON          PILGRIM              NM          90008516270
5184735484B28B   STEPHANIE        AYERS                NE          90009293548
5184881567B632   DAVID            ROMERO               GA          90009848156
518489A7A61836   BRIAN            LATNER               MO          27530819070
5184921175B393   LATASHA          WESTMORELAND         OR          90014632117
51849526A51322   RENEE            DOWDELL              OH          90009915260
5184986945B227   LARRY            DAVIS                KY          90014258694
5184998244B588   JOSE             VELEZ                OK          90013789824
5184B128597B77   HEMILO           RAMIREZ              CO          90001421285
5184B283361971   JOHN             DOMINGUEZ            CA          90012762833
5184B37717242B   JOHN             PRINKEY              PA          90013313771
5184B435433696   SERVICE          2DAY                 NC          90007854354
5184B475784373   JUDY             HYMAN                SC          19091964757
5184B67634B588   GODWIN           GAGAH                OK          90012996763
5184B734261975   HEIDI            CHAIDEZ              CA          46040827342
518515A278B145   ANA              MORALES              UT          90012905027
51851822A5B531   ERNESTINE        PIRO                 NM          90010888220
5185183385B393   EARLEE           JONES                OR          44573628338
5185213934B29B   YVONNE           THOMAS               NE          27017381393
5185295425B531   CHRISTIAN        CHARELS              NM          90009329542
51853544A4B29B   MAURO            SISO                 NE          90006645440
51853884472B43   JERRY            ARCHULETA            CO          90010708844
5185518248B169   JAYMIE           QUINTANA             UT          31061501824
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51855A28372B36   JORGE           IXCHOP                 CO         33086490283
518562A6A72B88   ALEJANDRO       GONZALEZ               CO         33066052060
5185646897B46B   MIGUEL          RODRIGUEZ              NC         90007124689
5185648287B631   YOMECA          BORDERS                GA         15013884828
5185741A533696   ANGELA          THORPE                 NC         90013864105
5185767A772B36   JUAN            FLORS                  CO         90013286707
5185794314B28B   XOCHITL         AZAMAR-ROSALES         NE         90009669431
5185851317242B   JODI            FISCHBACH              PA         51016925131
51858773172B88   FLORENTINO      RODRIGUEZ              CO         33004217731
5185881144B29B   WILLIAM         PEKLO                  NE         90012688114
51858AA3185862   LUCIA           ANAYA                  CA         90010770031
5185985365715B   ANNE            BARNES                 VA         81095798536
5185B171372B49   ALEJANDRO       LAJUJ                  CO         90011311713
5185B485333699   CARLOS          TRINIDAD               NC         12028394853
5185B57735B531   ASHTYN          CHAVEZ                 NM         35006935773
5185B614698B2B   NICOLE          PETERSON               NC         90007166146
5185B85737B46B   JOSE            LOPEZ                  NC         90002698573
5185BA9A15B387   MONICA          CARMONA                OR         90010070901
51861394A4B588   MARCO ANTONIO   LOPEZ                  OK         90013243940
5186189665B531   MARISOL         QUIRANTE               NM         90011648966
5186269935B531   ERIN            GONZALES               NM         90014436993
51862A95161971   KESHA           BUCKLEY                CA         90009300951
5186344185B247   NANCY           WORLAND                KY         90014934418
518636A595B393   FRANKIE         JOHNSON                OR         90014716059
5186441165B399   SERGEY          IVANOV                 OR         90011064116
5186516714B28B   TONYA           MOLES                  NE         90004041671
5186546797242B   MELISSA         MOORE                  PA         51082834679
5186555544B588   RICHARD         BRUNER                 OK         90014405554
5186562415B393   DARCELLE        HICKS                  OR         44516646241
51865AA427B46B   GLORIA          CASTELAN               NC         90014120042
51866188672B88   JAMES           HANSON                 CO         33092811886
5186657397B46B   ERIC            LUTHER                 NC         90010695739
5186661855715B   KYLE            DAVIS                  VA         81074996185
51866AA8861973   LUIS            ARROYO                 CA         90011010088
5186715A25758B   ADELA           NUNEZ                  NM         35597691502
5186748144B559   SELENA          SMITH                  OK         90008704814
5186748214B28B   AARON           RAY                    NE         90010034821
518677AAA61973   MAGDALENA       CARDONA                CA         90011427000
518678A934B59B   ANTONIO         WALKER                 OK         90008668093
51869664172B43   TIFFANY         N. DANIELS             CO         33074666641
51869921372B77   ROCKY MTN       CAREGIVERS OF CO LLC   CO         33030069213
51869987872B49   JUDY            DIXON                  CO         33011039878
5186B16144B288   DIMAS           CASTILLO               NE         90013961614
5186B281872B36   NATALIEANN      GUTIERREZ              CO         33016372818
5186B47195B393   NINA            SARMANIAN              OR         44515684719
5186B6A965758B   CEARA           ANGEL                  NM         90006966096
5186B732285862   BRANDI          LA TOURETTE            CA         90015047322
5186B93A27B46B   JAMIE           MAILMAN                NC         90009659302
5187151744B588   SHAQUILE        ROBINSON               OK         90015235174
5187182767B46B   DONYE           RICHARDS               NC         90013248276
5187211265B531   PAYGO           IVR ACTIVATION         NM         90012201126
5187259215B393   RACHEAL         MALLORY                OR         90010245921
51872892A84373   MAUREEN         TOBIN                  SC         90010368920
51872A86A51348   DAVID           ADAMS                  OH         66000600860
5187311575B387   SHANTEL         GULTRY                 OR         44561331157
5187314874B588   FAY             PALMER                 OK         90012891487
51873181172B27   PAMELA          OLDHAM                 CO         90014731811
51873AA7241291   CHRIS           TARQUINIO              PA         90008350072
5187414237B46B   JACKIE          FLUITT                 NC         90007381423
5187458985B531   CRYSTAL         WILSFORD               NM         90014675898
51874943A5715B   ANA             PORTILLA               VA         90014909430
51874A94157157   JOSE ISRAEL     VILLEDA                VA         90003480941
5187562645B531   JESUS           VELASQUEZ              NM         35000516264
51875A6A284357   ROSA            WINGATE                SC         90015240602
5187625A75715B   MERCEDES        VELIZ                  VA         90012902507
5187682932B27B   LUMAYOWA        ADEGBOYEGA             DC         90012678293
518773A7998B2B   ALEJANDRO       HERNANDEZ              NC         90003273079
51877486772B36   BLANCA          ARAIZA                 CO         33041054867
5187758A484357   FIONA           COAXUM-SUMTER          SC         90014685804
51877593972B27   CHRISTINA       PENA                   CO         90001505939
51877621A4B588   JOSHUA          HAMMOND                OK         90004506210
5187763828B169   HERRERA         JAUN                   UT         31009306382
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5187813235635B   MARTHA           PIERRE               IA          90012111323
5187827A197B54   MARCOS           COLIN                CO          39074782701
5187852A75B531   GLORIA           HERNANDEZ            NM          35069825207
51878A6317B46B   ANDRE            YOUNG                NC          11001750631
51878A64484373   AYAUNA           SMALLS               SC          90013700644
51878A99672B36   PATRICIA         VILLA                CO          33048100996
518797A7985862   MICHELE          MUNOZ                CA          90014747079
518797A9672B27   JENNIFER         JOHNSON              CO          90012947096
5187985624B588   DAMON            NOBLET               OK          21597038562
5187994A62B27B   JEFFREY          GADSON               DC          81045229406
5187B8A8961975   CANDICE          COOK                 CA          46034438089
5187B976684373   CHRISTOPHER      WILMAN               SC          90010169766
51881388172B27   TONYE            OKI                  CO          33098173881
518813AA757157   JORDAN           WETZEL               VA          90014843007
5188198474B588   STANART          AUTO                 OK          90015239847
51881A35961971   WILLIAM          BARELA               CA          90001220359
5188225668B169   MARI             CARRANZA             UT          90009262566
51882548272B36   PAULINIA         HERNANDEZ            CO          33009025482
5188299995B393   RYAN             MILLER               OR          90014709999
5188314164B28B   DUANE            HOLMSTEDT            NE          90014841416
51883881A5B393   GINA             HOOPES               OR          44576428810
5188427A92B27B   SARAH            HERNANDEZ            DC          90012842709
51884994998B39   ANGELA           BROWN                NC          90005589949
5188623AA33699   NELSON           PORCHIA              NC          12028422300
51886257272B27   JASMINE          MUNOS                CO          90015112572
5188629975B399   ANELL            COLLINS              OR          90003912997
518874A2291391   AYDEE            IBARRA               KS          90009704022
5188756962B244   JOSEPH           MATTHEWS             DC          90014965696
5188899995B393   RYAN             MILLER               OR          90014709999
51888A49161973   RUBEN            DURANTE439           CA          46041180491
51889361172B49   DOUG             MCDONALD             CO          33050413611
518898A5542335   FRANCISCO        MEDRANO              GA          90009518055
5188B151233699   MARY             BROWN                NC          12017701512
5188B34A184357   ROBERT           BLOOD                SC          90011723401
5188BA1AA57157   MESFIN           WOUDNEH              VA          90012460100
518911A5857157   JOSE ROGOBERTO   CABRERA              VA          90014991058
51891457772B36   EVA              MORA                 CO          33008804577
518917A957242B   RIC              FETTY                PA          90014807095
51893847172B88   GAGE             HECHT                CO          90003218471
5189526132B27B   KAREN            OLVERA               DC          90014162613
5189531267B46B   IRIS             RIVERA               NC          90010303126
5189567A961975   STEVE            MUSGROVE             CA          90010066709
5189573285B531   JOANNA           PAMINTUAN            NM          90010477328
5189581625B399   SHANNA           MCGHEE               OR          44547148162
51896273372B77   MALINDA          BROWN                CO          33021302733
51896436A5715B   JENNFER          TRIJALVA             VA          90012904360
51897216772B43   CHRSTOPHER       TRUJILLO             CO          33084752167
51898275572B67   MARICELA         DIAZ                 CO          90013422755
5189839A772B67   PEDRO            DIAZ                 CO          33064313907
5189843164B588   SHILOH           DAVIS                OK          90014704316
5189861825B543   MARIAH           ALCANTAR             NM          35035136182
51898921A4B556   TERRELL          PULLEN               OK          90010619210
5189899995B393   RYAN             MILLER               OR          90014709999
518989A2272B43   SELINA           MILES                CO          33008389022
51899661A61975   JUAN             LEYVA                CA          90010646610
51899959A33696   CHRISTINA        SMITH                NC          90004289590
51899A88772B49   RYAN             ONEAL                CO          90011000887
5189B496972B49   ANGEL            LEON                 CO          90007834969
5189B49A257148   ROSALINA         ARIAS                VA          90014594902
5189B92A351348   MIGUEL           REYMUNDO ORTIZ       OH          90004149203
5189B99A357157   TAMEKA           MCDONALD             VA          90011059903
518B1343572B36   MITCHELL         NELSON               CO          33075613435
518B13A6155936   TOBAR            RAE                  CA          90011743061
518B14A635715B   MIKEL            COOPER               VA          90015114063
518B1684A7B46B   VICENTE          MALDONADO            NC          90010226840
518B169AA5758B   ENRIQUE          HERNANDEZ            NM          35505986900
518B2128931428   ANGELA           PORTIS               MO          27568371289
518B236A291576   LORENZO          MINJARES             TX          90013203602
518B2386851348   TIFFANY          MARSH                OH          90010593868
518B23A4733696   YOUNGER          HUNT                 NC          12005013047
518B2A31261975   FERNANDO         FLORES               CA          46047680312
518B3497457157   PATRICK          ELLIS                VA          90007984974
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518B385A24B588   REEVA         WOOTERS                 OK          90009418502
518B4391572B36   MAYRON        MEJIA MOLINA            CO          90009763915
518B471655758B   JOHNNIE       OHARA                   NM          90009807165
518B487354B28B   ANTHONY       OLER                    NE          90013798735
518B496795B393   THANG         DIM                     OR          90014709679
518B4A61633699   ISRAEL        CEBALLOS                NC          12096470616
518B5233551348   BENNEET       HARRISON                OH          90014152335
518B5586A84373   MINH          TRAN                    SC          19057965860
518B5695772B43   NICOLE        BURNEY                  CO          90009156957
518B5A8628B167   LANA          ROSKELLEY               UT          90012540862
518B622295B387   BONNIE        CATLIN                  OR          90000122229
518B6281684357   KATHLEEN      CLIFT                   SC          90012992816
518B6377633699   MICHEAL       CANTY                   NC          12000823776
518B648648B169   MICHAEL       MORISON                 UT          90008624864
518B6629261973   ANNIE         JONES                   CA          90001196292
518B68A812B27B   MAGDALENA     FLORA                   DC          81045218081
518B6932A72B49   CARLO         TWOFEATHERS             CO          90012629320
518B7732791895   RICKEY        ARTHUR                  OK          90012567327
518B7874951348   BRIAN         WRIGHT                  OH          90013658749
518B8338A61973   CORRINE       NATSON                  CA          46058453380
518B83A7A91895   JOEL          PITTS                   OK          90014383070
518B8444336165   SAMUEL        HERNANDEZ               TX          90010234443
518B89A6472B77   MELISSA       LUALLEN                 CO          90004699064
518B9316872B36   RAMON         ORTIZ                   CO          33010713168
518B936644B588   ELISABETH     HINE                    OK          90006573664
518B97A237242B   WAYNE         CONDIE JR               PA          51052247023
518B9873157157   KALA          COLLINS                 VA          81036198731
518BB13915B393   PETER         MCVEETY                 OR          44541041391
518BB47255758B   LUZ MARIA     VALENZUELA              NM          90011864725
518BB4A7484373   A MAE         LYONS                   SC          90014144074
5191133614B588   BETTY         BELL                    OK          90015133361
519116A8385928   AYMER         CASTILLO                KY          90004856083
5191177A772B27   MICHAEL       FETZER                  CO          90010127707
519122A4991895   CRISTINA      DAMIAN                  OK          21073612049
5191236AA5715B   JHONATTAN     ALCAZAR                 VA          90012913600
5191272217242B   JACKLYN       MCBRYAR                 PA          90007147221
519131A7272B77   LUIS          BRINGAS                 CO          33081681072
5191376685B393   FIDEL         ALVIZVRES               OR          90011197668
51913842272B27   JOSE          LOPEZ                   CO          90015328422
519139AA35758B   SILVIA        HERNANDEZ               NM          90015179003
5191432917242B   TRACI         SULLENBERGER            PA          90012653291
5191458654B28B   MICHELLE      WALAHOSKI               NE          90012525865
519145AA74B588   DERRICK       MITCHELL                OK          90011895007
5191461134B559   MARIA         FARIAS                  OK          90009876113
5191552835B387   ANITA MARIE   PEREZ                   OR          90003465283
51916433A72B27   MARLANIE      BUER                    CO          90008954330
519173A784B28B   JERMAINE      OHLE                    NE          90011853078
51918161772B49   SHAUNA        CONLEY                  CO          90012391617
51918357472B27   JAIME         NEWLON                  CO          90008463574
51918961A4B28B   NYIMA         TSERING                 NE          90013799610
5191934265715B   SANDRA        PERALTA                 VA          90010853426
51919884772B67   JOSEPH        SHORT                   CO          90006498847
5191B737872B36   LORENA        DELGADO                 CO          90014027378
5191B864833699   MONICA        CRAWFORD                NC          90014888648
5191B9A4485928   ANNAY         PEREZ                   KY          90006099044
51921333172B77   JUAN          RIOS                    CO          33074973331
519218AA861973   SILVIA        NEGRETE                 CA          90009018008
51922681872B43   JOSE          CARRILLO                CO          90008916818
5192324A533699   TRENICE       MCFADDEN                NC          90015112405
5192375A961941   MANUEL        MEDINA                  CA          90013267509
51924239772B49   SCOTT         MCKAY                   CO          90012112397
5192494425B393   HUGO          MUNOZ GARCIA            OR          44585029442
5192526314B28B   ASHLEY        BONNELL                 NE          26058482631
51925A79972B27   FARREN        CROSSLAND               CO          33089050799
5192665865715B   MUCHE         NABTAMUU                VA          90012906586
5192714667242B   KEN           LOOMIS                  PA          90013921466
5192798A184357   SHONDA        SMITH                   SC          14566569801
5192867445B399   BERTHA        GARCIA MARTINEZ         OR          44520876744
51928919672B43   KALENA        JOECKEL                 CO          90007029196
5192899A961973   MIRIAM        CONTRERAS               CA          90007909909
519289AA55B151   WHITNEY       HAMMOND                 AR          90009639005
51929A55433699   LONNIE        WILLIAMSON              NC          12089350554
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5192B1A5897B77   RICARDO       OROZCO                  CO          90012601058
5192B21795758B   ESMERALDA     GARDEA                  NM          90013232179
5192B29985715B   WILFIDO       CORTEZ                  VA          90011162998
5192B486472B49   NORMA         SERRANO                 CO          90003844864
5192B745972B36   LORENA        PEREZ                   CO          33095207459
5192BA7575B399   MISS GALI     MCMILL                  OR          90006490757
5193111A62B851   LYNN          ARVAI                   ID          90008411106
519316A2672B77   MIGUEL        RUANO                   CO          33003846026
5193187954B521   ANTONIO       CARRILLO                OK          90001248795
51932241672B43   MARIO O       MUNOZ                   CO          90006692416
5193236A28B169   OSCAR         ROMERO                  UT          31017793602
519324A277B46B   MONICA        ONEAL                   NC          90013274027
5193264A24B588   NICOLE        HARFIELD                OK          90014856402
5193267625715B   GIOVANA       CHANG                   VA          90012906762
519328A457242B   REBECCA       METZ                    PA          90006278045
5193369735B387   MARCELL       THURMAN                 OR          44530156973
5193414394B28B   STELLA        HENDERSON               NE          26080151439
5193425A133699   MATHEW        SALISBURY               NC          12036112501
5193433518B169   KIMBERLY      LIND                    UT          31010363351
519343A6485862   ROMMY         CRESPO REITH            CA          90013683064
51934472698B2B   KAREN         GRIER                   NC          90003274726
51934939136B97   JENNIFER      COLE                    OR          90008609391
5193497AA61975   KRYSTAL       JONES                   CA          90013009700
51935571A5B399   HETHER        MARRIE                  OR          90011075710
5193563925758B   RAUL          MARTINEZ                NM          35577576392
5193575A372B36   FRANCISCA     GONZALEZ                CO          90013297503
519358A327B46B   SOBRINA       CONCEPCION              NC          90011258032
51935A3137242B   MAX           LOPEZ                   PA          90015280313
5193636385715B   DARREN        JAMES                   VA          90015133638
519372A3197B54   DIANE         SILBAUGH                CO          39058962031
51937642597B3B   LORETTA       HERRERA                 CO          90011026425
5193779A15715B   ANDRES        ROJAS                   VA          90012907901
519388A1661971   DAVID         DOW                     CA          90011188016
51938A4274B588   JOSE          ARTEAGA                 OK          90010530427
51939533A4B28B   JAMES         HARRINGTON              NE          90014165330
51939699227B48   SABRINA       JAQUEZ                  KY          90010556992
5193976375B531   JOHN          CUMMINS                 NM          35084747637
5193B76395715B   ELEAZAR       GONZALES                VA          90015137639
5193B978951348   INDREA        LOUIS                   OH          90011529789
5193BA41585862   SHANNON       MOLNAR                  CA          46058440415
5194186A75B387   ELYSE         BROWN                   OR          90010938607
51941AAAA72B36   MARIA         ROSARIO                 CO          33072130000
51942239124B7B   SALVADOR      ARANA                   DC          81074642391
51942768672B27   SAM           LOVATO                  CO          33041127686
5194339955B393   JESSICA       OLIVER                  OR          90003193995
5194437A872B43   ANETRA        POLLARD                 CO          90002793708
519445A2751348   JULIE ANN     WILLIAMS                OH          90008945027
51944A7524B588   JAMES         BAILEY                  OK          90010530752
5194543678B169   JARED         EMPIE                   UT          90010324367
5194592A13B387   DOMINIC       MARTINEZ                CO          90008949201
519471A2633699   VELVET        BRAXTON                 NC          12085921026
5194738A772B27   NICOLE        VALDEZ                  CO          33069623807
519474A8593782   RICK          JENKINS                 OH          90014424085
51947935172B43   FRANSISCO     TOLEDO                  CO          90010929351
5194857538B169   PAMALA        JACKSON                 UT          90001725753
51948761A72B43   ROLANDO       RODRIGUEZ SOSA          CO          90011467610
5194936535715B   CARLOS        CORDOVA                 VA          90015133653
5194987975715B   JOSE          AMAYA                   VA          90009218797
51949892372B49   JOSHUA        SANDOVAL                CO          90014488923
5194B25145715B   DAVID         RAMOS                   VA          90009392514
5194B288761971   EDWARD        CORMODE                 CA          90013062887
5194B637591895   ERNESTINE     BEARSHEAD               OK          90015096375
5194BA85197B77   CAROLINE      MITCHELL                CO          90000410851
5195145347B339   JORGE         HERNANDEZ               VA          81066534534
51951614A5B393   MICHELLE      POINDEXTER              OR          90009366140
5195171414B588   CHRISTOPHER   HARRIS                  OK          90013967141
5195172622B27B   RICARDO       MOLENA                  VA          90012977262
5195242585B387   KEYONA        DAVIS-VANN              OR          90006944258
519527A617B46B   SHONTAVIA     AUSTIN                  NC          90014857061
51952A7A93B372   DOUGLAS       ANDERSON                CO          33089350709
51953337972B43   ZAHRAA        ALKHAFAJI               CO          33095783379
519534A5272B27   CHRISTPHER    HOLBEN                  CO          90011384052
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5195423364B29B   HANIFAH        JACKSON                NE          27017502336
5195435437B46B   KYLIA          HODGE                  NC          90010493543
5195436535715B   CARLOS         CORDOVA                VA          90015133653
51954A32A91552   MARIA          MARTINEZ               TX          90012170320
519567A944B588   MICEALA        ROBERTS                OK          90008937094
5195757484B588   ZACHARY        BROWN                  OK          90013485748
5195766485B283   CATHERINE      PROFITT                KY          90011226648
51958646A4B588   KERRI          HARKEY                 OK          90014046460
51959348572B27   LIPILLO        RIVERA                 CO          90011263485
51959529372B27   SABRINA O      ROY                    CO          90004815293
5195973937B46B   GERLISHIA      MOORE                  NC          11071777393
5195975117B397   CRISTINO       ARGUETA                VA          90010857511
5195B33825715B   NUTRIC         PRO LLC                VA          90013783382
5195B6A1472B43   MARTIN         BURLESON               CO          90009556014
5195B91A491895   GERALD         FALLS                  OK          90014849104
51961594A72B36   GINA           GUTIERREZ              CA          33068485940
51961A8A661971   JAZELL         SANDIFORD              CA          90010390806
5196241395715B   LUIS           BARILLAS               VA          90015134139
5196272945715B   JONATHAN       ZALAUYA                VA          90008667294
5196296A151348   DONNA          EVANS                  OH          66062359601
5196336664B588   ERIC           PRATI                  OK          90000323666
519635AA661975   CARLOS         REYES                  CA          90010165006
5196367495715B   MOHAMMED       HAVIF                  VA          81073586749
51963A7855B393   DEAN           ALDRICH                OR          90012710785
519643A5851348   SCOTT          CHAMBERS               OH          66000723058
5196447665B393   ELIZABETH      BRENNEMAN              OR          90010344766
51964A35A7B46B   WAYNE          MITCHELL               NC          90001920350
51965A9635B399   KEVIN          RODGERS                OR          90006490963
5196616A45B387   BYRD           JASMINE                OR          90010121604
51966568772B27   SILVIA         MONTES                 CO          90014175687
51966786A5715B   FERNANDO       RIVERO                 VA          90015137860
519669A675B399   LARISSA        KAMA                   OR          44503279067
5196744A95B393   JOEL           GONZALEZ               OR          44578194409
51967A5564B945   JAMES          MOUTON                 TX          90015010556
5196865595B387   TEYONDA        OVERTON                OR          44560766559
5196991965B234   YOVANNA        JONES                  KY          90013919196
51969A19484373   TIFFANY        MCCLAIN                SC          90013300194
51969A42161975   STEPHANIE      VALENCIA               CA          90014950421
5196B12A661975   LUIS           MENDOZA                CA          90014271206
5196B25A45B244   LUCRETIA DEE   SIMMONS                KY          90010882504
5196B371661973   MIRIAM         TORRES                 CA          90015003716
5196B811684357   VERIETHIA      SIMMONS                SC          90015408116
5196B813191895   TERRY          FUGATE                 OK          21060598131
51971153672B77   VERONICA       PEREZ                  CO          90004431536
5197269945B393   JOHN           KARLESKINT             OR          90003166994
5197357185715B   RODRIGO        REYES                  VA          90006565718
519746A285715B   ABDY           CARDONA                VA          81005326028
51975233372B67   YVONNE         GRAHAM                 CO          33011562333
51975318472B36   KHEEM          WILLIS                 CO          33036553184
5197687752B27B   JEFFREY        FORTUNE                DC          90012188775
51976884972B88   BERNADETTE     GALLEGOS               CO          33065668849
5197773A998B2B   REGGIE         CALDWELL               NC          11092117309
51977968A91576   NOE            ROCHA                  TX          75093089680
51977A7617B46B   ANDREW         ECKERT                 NC          11013160761
5197898588B169   SEAN           KING                   UT          90012319858
51978A33397129   RYAN           SAUB                   OR          90001390333
5197949115B531   KIMBERLY       ARAGON                 NM          35053394911
51979547372B36   DONISHA        PIERSON                CO          33030215473
51979852472B49   JESUS          CHACON                 CO          90015238524
5197998A18B169   EUGENIO        PELCASTRE              UT          90014179801
5197B142484373   KISHEA         WARD                   SC          90013331424
5197B56318B169   KRISTINA       FARR                   UT          90005985631
5197B579172B27   RODRIGO        MARROQUIN              CO          33071315791
5197B71335B393   JASMIN         MOORE                  OR          90014717133
5197B998A2B27B   KEON           NICHOLS                DC          90015299980
51982537A5B393   ANDREW         WERNER                 OR          44559885370
5198293297242B   JASON          DELL                   PA          90012239329
51982A7925715B   SAMUEL         VASQUEZ                VA          90009210792
51983A6317B46B   JASMINE        JOHNSON                NC          90009750631
51983A67672B27   VICTOR         VALDEZ-FLORES          CO          90012680676
5198455165B393   VICTOR         CRUZ                   OR          90010435516
51984A85333699   LAKISHA        STOWE                  NC          90001230853
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5198515795B283   ALISON            LAWSON              KY          90004541579
5198533A161971   MARGARET          SMITH               CA          46057233301
5198547A12B95B   MAYRA             MONTOYA             CA          90011514701
51985A99172B36   ELAINA            CUSACK              CO          33081740991
5198637885B387   DESTINY           HANNA               OR          90013853788
519863A5851348   SCOTT             CHAMBERS            OH          66000723058
51986417A7B46B   JACQUELINE        VASQUEZ             NC          90012384170
51986536172B77   KYLE              WADE DOOLEY         CO          33015785361
519865AA77B46B   ALIYAH            DAUGHTRY            NC          90013435007
519866A1361973   ESTELA            SANCHEZ             CA          46035126013
51987555A47836   JOHN              HUGHES              GA          90011715550
5198762775758B   EDWARD            DE LEON             NM          90007526277
5198799A257131   EDSON             SELVIN PARADA       VA          90015549902
5198818695B531   WANDA             GREEN               NM          90008481869
51988A8A572B77   MARIA             LUNA-CORDOVA        CO          90001710805
5198B22925B393   STEPHEN           SMITH               OR          90010492292
5198B75515B393   NIESHA            BRISTOW             OR          90014717551
5199112677242B   BRUCE             JENNINGS            PA          51095411267
51991A3625B531   KATHY             ORTIZ               NM          35004610362
519929A555758B   MARIA             URQUIDEZ            NM          90014819055
51993541172B88   DULCE             RODRIGUEZ-ROMAN     CO          90006965411
51993A1955B227   DANIEL            GALICIA             KY          90014110195
51994164A72B36   MICHAEL           JIMENEZ             CO          90014601640
5199448925715B   MARKEICE          KNIGHT              VA          90015134892
5199449364B588   DANNA             TREVINO             OK          90007854936
5199461292B27B   ONITA             GATER               DC          90003386129
51994839397B77   PASCHA            BRAZZEL             CO          90006678393
5199497A75715B   DANIEL            GARCIA              VA          90012909707
51994A8458B169   STACY             CARYTON             UT          31043920845
5199515A257157   JORGE             COREAS              VA          81037231502
5199545552B27B   EARNEST           MCCAIN              DC          90014534555
5199549524B588   DEBRA             WREN                OK          90010214952
519955A6471964   SEAN              GRAHAM              CO          90002385064
51995A42872B36   DIANE             SERRANO             CO          33033680428
5199648595B399   REYSON            RUFES               OR          44553384859
519967A6A57157   ANTONIO           PEARSON             VA          90008637060
51996A94872B43   DUANE             MARTINEZ            CO          33055670948
5199739A461971   KRISTEN           GEIER               CA          90006993904
5199763385B387   BRENDA            LARA                OR          44570156338
5199B2A7661975   MONICA            SLOVATIZKI          CA          90013172076
5199B584A5B387   TIFFANY           SCHUKKY             OR          44506615840
5199B99AA4B588   MARIA DE LA LUZ   ODONELL             OK          90002659900
519B1188833699   YASBIC            MEDINA              NC          90004931888
519B1418133157   WILLIAM           SLOUGH               IL         90012924181
519B148A48B169   RIDDLER           LAW                 UT          90014434804
519B161987242B   TANYA             JOHNSON             PA          90014466198
519B181212B27B   RONTAEUS          GILMORE-WATSON      DC          90014248121
519B1968961971   ARLENE            ANAYA               CA          90009919689
519B1AAA85B393   AARON             MCGEE               OR          90014710008
519B25A2461975   TANYA             RUIZ                CA          90013115024
519B2689324B7B   DAVID             CURTIS              DC          90012576893
519B2821A4B588   CANAAN            WHITE               OK          90010648210
519B2A9565758B   MARIBEL           MORENO              NM          90005350956
519B2AA9A5B393   SARAH             WITHAM              OR          90014710090
519B3155184373   GABRIELLE         COX                 SC          90007881551
519B3732791895   RICKEY            ARTHUR              OK          90012567327
519B387524B521   STEPHANIE         HULL                OK          21520658752
519B43AA25B283   CATINA            DEMPS               KY          68016153002
519B498775B393   JERRY             BUENO               OR          90004169877
519B49A6161975   ERIC              GODINEZ             CA          90007239061
519B534328B323   TONY M            HOOD                NC          11070663432
519B5344591895   AMBER             FERGUSON            OK          90012983445
519B561655B393   JOSE              CARRASCO            OR          44555916165
519B5683A72B36   SARAH             WHATLEY             CO          90005386830
519B589234B29B   JOHN              DEANG               NE          27017368923
519B593764B588   CONNE             JORDAN              OK          90010529376
519B623425758B   ADAM              GUTIERREZ           NM          90012722342
519B6256172B88   MARIA             AGUILAR             CO          33040772561
519B665A372B42   JANA              SCHLOGEL            CO          90012496503
519B6846572B36   KAROLYN           HAMMERMEISTER       CO          90011938465
519B687524B521   STEPHANIE         HULL                OK          21520658752
519B6961933696   CURTIS            PIERCE              NC          90013509619
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519B7342372B31   MARTIN      JOHNSON                   CO          90014143423
519B7559761973   MARKO       JOHNSON                   CA          90010205597
519B7A8515B387   JOSEPH      MARKEL                    OR          44588180851
519B811565715B   ANA         GRANDE                    VA          90011241156
519B915434B588   ROBERT      BROWN                     OK          90012891543
519B949794B28B   RASMIA      KHALAF                    NE          90014534979
519B94A7661975   JOSE        PEREZ                     CA          46052714076
519B955755B393   TERESA      RUIZ                      OR          44568705575
519B989338B169   KRIS        KLEVEN                    UT          31020148933
519BB3A234B588   CRYSTAL     BROWN                     OK          90015303023
51B11617884357   JAMISON     GREENE                    SC          90000926178
51B1182214B588   JAMES       ADDERLEY                  NC          90012518221
51B12412871964   JONATHAN    SANCHEZ                   CO          32090174128
51B1258A691576   ANABEL      JIMENEZ                   TX          90004015806
51B12663433696   ASHELY      HILL                      NC          90007216634
51B126A514B588   JASON       HUXLEY                    OK          90010486051
51B129A915715B   ALEJANDRO   LOPEZ                     DC          90014979091
51B12A45A5715B   JOSE        RODRIGUEZ                 VA          90012690450
51B12A7435B387   TRAIAN      VERNYIKA                  OR          90012750743
51B13294A91576   NORMA       PALACIOS                  TX          75043612940
51B13339572B27   AMINDRA     VARGAS                    CO          90007553395
51B1373415B531   KARYNHONG   NGUYEN                    NM          35072597341
51B1381735B393   SEBASTIAN   LAVERT                    OR          90015118173
51B1383784B588   DONALD      CLEMENTS                  OK          90012518378
51B1391982243B   WANDA       SLATER                     IL         90002259198
51B1452235B393   OLI         ENESI                     OR          90014645223
51B14A3275758B   GUADALUPE   CRUZ                      NM          90014920327
51B15266572B67   PATRICIA    ACEVEDO                   CO          90012152665
51B1529394B521   SALVADOR    ACOSTA                    OK          90007282939
51B15429291895   CAMERON     FORREST                   OK          90015284292
51B15499191576   MARLYN      GARCIA                    TX          75086294991
51B1562AA57157   MELISSA     MONROE                    VA          90010016200
51B15874451348   ROBERT      PHILPOT                   OH          66022048744
51B1591175758B   ARACELY     PARRA                     NM          90013459117
51B1623617B46B   BETHY       MATUTE                    NC          90012672361
51B163A4551348   WENDY       LOCKE                     OH          90013783045
51B16A74691895   AMYULLE     REED                      OK          90009490746
51B17141757148   SALOMON     REYES                     VA          90012751417
51B17385461973   ALFREDO     HINOJOSA                  CA          90012953854
51B17841972B27   ROBERT W    MATTHEWS                  CO          90002438419
51B181A9691895   AMBER       CLEVELAND                 OK          90009441096
51B1829418B169   WILLIAM     BLUE                      UT          90013512941
51B18318691989   YENINA      HECK                      NC          90014743186
51B1839754B588   MAKAYLA     BROADOUS                  OK          90014643975
51B18A12972B36   JULIO       HERNANDEZ                 CO          33009110129
51B18AA5584357   TONYA       BLAKE                     SC          90012070055
51B193A3A84373   CHEYENNE    COLWELL                   SC          90012873030
51B19677872B49   HEATHER     HOLT                      CO          33028656778
51B196A398B169   TRAVIS      MENDOZA                   UT          90008206039
51B1B171284357   BARBARA     WHITE                     SC          90005411712
51B1B443933699   CHRISTINE   ROGERS                    NC          90014674439
51B1B71A15B387   SCOTT       CURRY                     OR          90002197101
51B1B849172B49   JOSEPH      SATURINO                  CO          90010328491
51B1B9A7772B36   ADRIANA     INZUNZA                   CO          90012619077
51B21213361975   LAURA       GUZMAN                    CA          90012362133
51B212A5861975   RENZZO      RAMIREZ                   CA          90010662058
51B212A645758B   CONNIE      RAMIREZ                   NM          90013032064
51B21438461971   ANTONIO     GONZALEZ                  CA          90002644384
51B221A395B543   MONICA      SENA                      NM          90002901039
51B22423171964   RHONDA      SMITH                     CO          32043724231
51B22734185862   JANINE      WAGNER                    CA          46018897341
51B2277465B531   LEONA       MALDONADO                 NM          35015727746
51B228A9672B67   AJAI        FRANKLIN                  CO          90004038096
51B2294334B28B   VANESSA     SONNENFELD                NE          90013619433
51B23479272B34   BEGNER      HERNANDEZ                 CO          90014814792
51B237AA44B588   MICHAEL     WALLACE                   OK          90010487004
51B23A12733696   STACIE      SPEASE                    NC          90010980127
51B24382184373   AMY         WERNER                    SC          90001533821
51B24546772B88   FERNANDO    DIAZ                      CO          33065665467
51B2511A933699   JUAN        GONZAIEZ                  NC          90014901109
51B2522772B862   JESSI       JOHNSON                   ID          41098402277
51B25235872B43   AONIE       MCGINISTER                CO          33084742358
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51B25493572B36   TIRZO JAVIER    LUCERO                 CO         90013744935
51B25841884357   HUMBERTO        VASQUEZ                SC         90006808418
51B25A2445715B   BETTY           ESPINAL                VA         90014920244
51B26287272B58   RYAN            ECKLER                 CO         90015132872
51B265A7672B88   MANUELA         RUBIO                  CO         90008965076
51B26937561973   CECILIA         STORY                  CA         90009659375
51B26A76484373   BRIDGETTE       WALKER                 GA         90011280764
51B27245491895   DON             FOSTER                 OK         90009632454
51B27611184373   IESHA           BURRIS                 SC         90015106111
51B2784915B387   TIM             TYNAN                  OR         44523868491
51B2795824B28B   VANESSA         SONNENFELD             NE         90013619582
51B28125672B49   PATRICIA        PRATT                  CO         90008451256
51B28462491576   VIRGINIA        PEREZ                  TX         90011294624
51B284A164B29B   BENJAMIN P      KIMBALL                NE         90006944016
51B29288172B88   JUAN            CENICEROS              CO         33043662881
51B29315172B49   ANDREA          SUE-PRIBYL             CO         33013713151
51B295A3841271   RILEY           REDMAN                 PA         51017175038
51B29967561967   MARIA           DOMINGUEZ              CA         90000279675
51B29991551348   JILL            MARCUM                 KY         90008989915
51B2B44588B169   CHERRISH        C LARSEN               UT         90009144458
51B2B585691989   SHANA           BROOKS                 NC         90013965856
51B2B63215715B   EDWARD          KARGBO                 VA         81079836321
51B2B72A77B46B   ANGELA          FOED                   NC         90013447207
51B31684151348   PHYLLIS         PERRY                  OH         66017956841
51B31785771964   CATHERINE       SIDOR                  CO         90002937857
51B32241761975   ADELINA         GUTIERREZ APT 108      CA         90012852417
51B32459784357   MARCHE          CHISOLM                SC         90006124597
51B32549357148   JOSE RICARDO    PINEDA                 VA         90003245493
51B32983A5715B   OSCAR           SANTOS                 VA         90014909830
51B335AA55758B   RITO            VEGA                   TX         90010825005
51B33A97561988   MARIO           JIMENEZ                CA         90009440975
51B34AA815B531   HECTOR          REGALADO               NM         35007140081
51B35228172B43   ANTONIO         VARGAS                 CO         33082142281
51B35631685862   BRYAN           BARSOOM                CA         90012826316
51B35656372B49   THOMAS          JACKSON                CO         90012156563
51B362A947B46B   SOMPHOT         PHOMSOPHA              NC         90004872094
51B36365572B27   FAITH           CRAIG                  CO         90009293655
51B36411A57157   KWAME           ALEXANDER              VA         90008954110
51B366A9371964   GRAIG           PARENTILA              CO         90001936093
51B36762957148   JOHN            LAIRD                  VA         90013807629
51B36A37597B77   LEEVI           ALVAREZ                CO         90010070375
51B37291185928   LEA             CYPHERS                KY         90009432911
51B37347384357   LASHAWN         REYNOLDS               SC         90011603473
51B37476A4B588   ABD ALRAHMAN    ARRAR                  OK         90012414760
51B39264761975   CAMELIA         RODRIGUEZ              CA         90009122647
51B3959625B393   MARYANNE        MONCIVAIS              OR         90014645962
51B3963A857148   RAUL            FLOREZ                 VA         90003246308
51B3982812B862   ROSHAWN         RANDALL                ID         41016438281
51B3991824B588   DAVID           HUFFMAN                OK         21596369182
51B39993A85928   IDDI            KAUMBA                 KY         90014919930
51B39A92851348   BIANEY          CRUZ                   OH         90000540928
51B3B181A2B27B   CECE            ELIZEBATH              DC         90012881810
51B3B5A6A72B36   KATRINA         RUFF                   CO         33049285060
51B3B792161973   SYLVESTER       WIGGINS                CA         90000127921
51B3B87374B23B   JAROD           HEADY                  NE         27095378737
51B41266A7242B   CHRIS           KUSTRA                 PA         90002682660
51B41324585862   DHEERAJ KUMAR   PASUPULA               CA         90011473245
51B4198A65B393   JOSE            SOTO                   OR         90010649806
51B41A61357148   JACKELINE       ZAVALA                 VA         90013840613
51B4238A44B588   JENETTA         GUERNEY                OK         21513743804
51B42533572B36   EDUARDO         RAMOS                  CO         33000875335
51B4312748B169   ANDE            GOINS                  UT         90014571274
51B43217A76B41   BRUCE           SWARTZ                 CA         90012112170
51B4327567B46B   CURTIS          WALKER                 NC         11094152756
51B43395771964   MATTHEW         CARTER                 CO         90003153957
51B43665A33699   MEKA            BROWN                  NC         90009666650
51B43744784373   ALEJANDRA       MANDUJANDO CERVANTES   SC         90010267447
51B437A7351348   JAMIE           FRAZIE                 OH         66095197073
51B4394835B531   ELSA            VELETA                 NM         35003149483
51B4395A576B53   CANDIDO         SORIA                  CA         90011229505
51B4396A14B588   ZANDRIA         WHITFIELD              OK         90001189601
51B44215491989   PAMELA          WORLEY                 NC         90002372154
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51B44238633699   LEVONZY        MILLER                 NC          90015302386
51B444A9731428   ANGIE          DURHAN                 MO          90006364097
51B44674561971   MARIA          CAMARENA               CA          90014006745
51B4495265758B   ESTRADA        RICARDO                NM          90007879526
51B44979857157   LUIS           REYES                  VA          90010789798
51B44A74997B77   THEODORE       RYBUS                  CO          39016720749
51B4617A272B36   JAYSON         HIGGS                  CO          33087341702
51B46927857157   RON            BAILEY                 VA          90014359278
51B4716A34B588   JAMES          SHORTBEAR              OK          90015221603
51B47465A84357   SHAKYRA        SAUNDERS               SC          90008444650
51B4762687B46B   PATRICA        MCMURRAY               NC          90013036268
51B476A2972B49   SHERITA        CARAWAY                CO          33091086029
51B476AA25B538   MICHAEL        KUYKENDALL             NM          90007656002
51B47A6A791989   ROBERT         GRAHAM                 NC          90015210607
51B4835128B169   JAIME          VIGIL                  UT          90003863512
51B4899824B588   ANDREA         GODINEZ                OK          90007909982
51B49347842335   BAILEY         MCMADD                 TN          90015443478
51B4953A64B588   SARA           SPANGLER               OK          90015035306
51B4959A17B46B   AMANDA         TATE                   NC          11074335901
51B49642644363   JASON          WARNER                 MD          90015386426
51B49A58272B49   RANDY          MEDINA                 CO          90009280582
51B4B226691989   CARRIE         JOHNSON-DOBBS          NC          90010412266
51B4BA45361973   DESIREE        ARREOLA                CA          46080580453
51B51112A4B588   AALIYAH        AGUIRRE                OK          90015081120
51B5113235B393   GERMAN         SILVA CALDERON         OR          90015101323
51B51464361975   ANA            ARCE                   CA          46053044643
51B5289A697B77   MICHELLE       BROWN                  CO          90014238906
51B52AA5461973   YADIRA         DELOSSANTOS            CA          90012340054
51B5318AA33699   TAMMY          WALLACE                NC          90013491800
51B5372678B169   KRISTOPHER     ORAM                   UT          90014707267
51B53748257157   MANUAL         SANTOS                 VA          90009767482
51B537AA27242B   WILLIAM        PRITTS                 PA          51066977002
51B538A4124B7B   VICTORIA       LEWIS                  DC          90011028041
51B5417A74B28B   JENNIFER       RUPERT                 NE          26092941707
51B54183161971   HERLINDO       CORRAL                 CA          90001291831
51B5425585B387   SUSAN          DELVIN                 OR          90012032558
51B54263233699   RAYNELL        THRIFT                 NC          12006072632
51B5429992B967   SALVADOR       SILVA                  CA          90006762999
51B5489A95B393   CYNDI          REED                   OR          90010018909
51B55742A85928   DOROTHAY       GATESKILL              KY          90014927420
51B55937772B36   ASHLEY         GARCIA                 CO          90010619377
51B55A3444B588   AIDE           BARRITA                OK          21512110344
51B55A89691576   ALVARO         SALAZAR                TX          75095600896
51B55AA7572B77   ALICIA         LOPEZ                  CO          90004430075
51B57241861973   JAIME          GARCIA                 CA          90012522418
51B57374872B49   JESUS          RUELAS                 CO          90010383748
51B57539791895   JUAN           STEDHAM                OK          21057445397
51B5771855715B   AARON          PEREZ                  VA          90010677185
51B5773985758B   MARIO          JIMENEZ                NM          35518177398
51B57819558577   JOSLIN         MCCOY                  NY          90013408195
51B57A11491989   JEREMY         BLACK                  NC          90014230114
51B5811395B531   MATT           GUSTAFSON              NM          35081021139
51B58655331429   HOLLY          PETTY                  MO          90008646553
51B58864384357   VIRGINIA       GLEN                   SC          90012388643
51B58898A91895   KENNETH        CROWLEY                OK          90010168980
51B58913333696   THUON          SIN                    NC          12084589133
51B59788684373   MICHELLE       CROSS                  SC          90011087886
51B59975572B49   JORGE          MARTINEZ-QUEZADA       CO          90004149755
51B5B279461973   ISIDRO         FLORES                 CA          46006112794
51B5B884784373   ROBERT         DUVUQUE                SC          90007718847
51B5B93512B27B   ANDREW         MEYER                  VA          90001139351
51B6115925B561   JACKLYN        GURULE                 NM          90011711592
51B61549185957   RACHEL         TOWNSEND               KY          67008595491
51B61562684373   FELIX          GUTIERREZ              SC          90015465626
51B6156A284357   PATRICIA       OROCCO                 SC          90013065602
51B61692191576   RYAN           GIANNI                 TX          90013886921
51B6191455B387   EDITH          AVILA                  OR          44526959145
51B62341261973   LAURA          JOHNSON                CA          90007893412
51B6242A361975   MARIA          MENTERIO               CA          46096704203
51B62514384373   THESSALONIAN   DIXON                  SC          90014225143
51B62539443522   JARED          DOMAN                  UT          90009935394
51B6276255B387   ARTENT         ROSS                   OR          90008597625
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51B62AA4A61971   VERONICA      SOTO                    CA          90010310040
51B63664491989   JENEE         MATOS                   NC          90005496644
51B63669376B71   CARMELINA     IGNACIO                 CA          90001836693
51B6382A17B46B   ANDREW        VAN ORDER               NC          90009218201
51B63918251348   DIANA         SANTANA                 OH          90015119182
51B64241631436   CAROLYN       COTTON                  MO          27569592416
51B64393172B43   EDITH         PERDOMO                 CO          33072083931
51B64398198B2B   CATHY         FARMAR                  NC          11074693981
51B64413657157   SAMUEL        RIVERA                  VA          81021094136
51B6451284B588   STEVEN        COKER                   OK          90013655128
51B64718261971   JOSH          CORNELL                 CA          90012757182
51B65293926222   NICHOLAS      RUMMEL                  WI          90015532939
51B654A3957157   MATTHEW       MOSS                    VA          90015344039
51B65935272B49   ANDREW        RODRIGUEZ               CO          33077789352
51B65A24251348   JOSH          MADDEN                  OH          90014250242
51B6615264B588   VICKI         WINGO                   OK          90012801526
51B6679935B393   YAIR          PACHECO                 OR          44594517993
51B6713355B393   DAVID         SARMIENTO               OR          90014141335
51B6781765715B   MELVIN        BENITEZ                 VA          90012698176
51B67A12461973   SHEILA        ZAMORA                  CA          90012870124
51B68187751348   MICHAEL       TAYLOR                  OH          66039091877
51B6861795B393   CHRIS         LOWRY                   OR          90014646179
51B6867818B169   COURTNEY      SCHAKEL                 UT          90011456781
51B68799184357   BELLA         MARX                    SC          90013757991
51B68827185862   ALEXIS        CANO                    CA          90009098271
51B68A84391895   CONNIE        PRINGER                 OK          90005660843
51B69132972B27   TIFFANY       RHINES                  CO          90013591329
51B69331A61975   SARAH         HECOX                   CA          90012263310
51B69334272B36   ELSA          GAMBOA                  CO          33040783342
51B6934A87B35B   CHRISTOPHER   ESCOE                   VA          90006013408
51B6943744B29B   SUSANA        HERNANDEZ               NE          90008554374
51B6962295B393   ANA ROSA      SANCHEZ LOPEZ           OR          90014646229
51B6986335758B   ANNA          MELENDEZ                NM          35512248633
51B6B29315B531   MARGARITA     PARGAS                  NM          90009382931
51B6B339972B27   PEARL         MARSHBANK               CO          33086733399
51B6B59845B531   TERRI         RODRIGUEZ               NM          90014495984
51B6B756361971   WISAM         ALLAHWERDI              CA          46024077563
51B6BA49891576   MARISOL       SILVA                   TX          90009070498
51B71272172B49   MANUEL        PAEZ                    CO          90014892721
51B7148A291576   MARINA        ROSALES                 TX          90010704802
51B71738A7242B   SONJA         MCCUTCHEON              PA          90008007380
51B7175745715B   CARROM        INGLETON                VA          90001667574
51B72234272B49   ALBERTO       ROQUE                   CO          90010632342
51B72425172B36   MICHAEL       JONES                   CO          90004804251
51B72769357157   OKOE          LAMPTEY                 VA          90014887693
51B72872772B77   CESARIO       MARTINEZ                CO          90007458727
51B72964784373   LATERRA       HUTCHINS                SC          90015059647
51B72A7472B27B   RUDY          SMITH                   DC          90014840747
51B72A7A75B531   LORRAINE      CHASE                   NM          35084780707
51B73627372B43   TYLER         WILLS                   CO          90008886273
51B73678972B67   NICHOLAS      PINE                    CO          90004526789
51B7377177242B   TYRONNE       ANDERSON                PA          90013417717
51B7377A457157   IRMA          GARAY                   VA          90014887704
51B73967533696   Y SUOM        NIE                     NC          90010799675
51B74367285862   FIDEL         RIVERA                  CA          46055013672
51B75219757148   ZAKRY         HUMMEL                  VA          90013892197
51B75262A61971   MARIBEL       CARDOSO                 CA          90012672620
51B75358261973   ALEX          LEYUN                   CA          90003303582
51B76323651348   VOLLINA       ADKINS                  OH          90004693236
51B7641235B531   AURORA        RODRIGUEZ               NM          35051834123
51B76618572B49   SYLVIA        MBUGUA                  CO          90012776185
51B7665444B521   MICHELLE      RAMSEY                  OK          90009366544
51B76768361975   ALEXANDRIA    HASSAN                  CA          90010767683
51B77129576B41   KELLY         ALPERS                  CA          46081221295
51B7747A698B2B   LISA          JORDAN                  NC          11034034706
51B775A6A8B169   SHANEL        HICKS                   UT          31087575060
51B77687557148   FRANCISCO     RAMIREZ                 VA          81063086875
51B78268172B67   CELESTE       NICHOLS                 CO          33029292681
51B78515685862   BRION         CAMPBELL                CA          90014915156
51B78649A72B36   ANTHONY       MADRID                  CO          90009606490
51B78957572B27   DANA          BLACKMON                CO          90013399575
51B78A2268B169   VELMA         CARTER                  UT          90007450226
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51B792A2661975   JOHN           ANTOL                  CA          90009392026
51B7938447B46B   CARLY          HAIGLER                NC          11039063844
51B79435985928   SIBONA         HALI                   KY          90013914359
51B79974997B77   JENNIFER       CASTANEDA              CO          39008579749
51B79A95272B43   TINA           HUDSON                 CO          90012190952
51B7B222872B49   MARIA          PACHECO                CO          33043772228
51B7B67285B393   EMMA           CHAVEZ                 OR          44538066728
51B7B848785862   AIOTEST1       DONOTTOUCH             CA          90015128487
51B7B9A2384373   RAVEN          ROBINSON               SC          90015149023
51B8116925B393   ROBERTO        MATEO                  OR          90010281692
51B81461272B36   GLORIA         LEDESMA-GURROLA        CO          33086864612
51B81472491989   DARRELL        GRIGGS                 NC          90014784724
51B81499671964   ELLA           WILLIAMS               CO          90006504996
51B81629797B77   ADAM           HUNZEKER               CO          39069086297
51B81642A51348   KADE           TAYLOR                 OH          90013546420
51B81771191895   CHARLES        RAY                    OK          90014397711
51B8232AA8B821   DAVID          TILFAS                 HI          90012203200
51B8238A472B49   JAMES          LEE                    CO          33001353804
51B826A9672B67   DEONNA         TRUJILLO               CO          90011506096
51B82873272B43   FRANCISCO      REYNA                  CO          33040288732
51B83472491989   DARRELL        GRIGGS                 NC          90014784724
51B83566457148   ELENA          ZELAYA                 VA          90010385664
51B83889757157   QUATEASE       TANN                   VA          90011018897
51B84179457153   TOMAS          SANCHEZ                VA          90008881794
51B8589735B399   AUSTIN         FISHER                 OR          44538448973
51B8646675B531   BEATRICE       COLASCO PULIDO         NM          90003874667
51B86722161975   ANA            AVALAGOMEZ             CA          90008077221
51B86931185862   MARK           VANDENBERG             CA          90014539311
51B87171A84357   RENNE          REESE                  SC          90011301710
51B87264172B36   LINCOLN        CARR                   CO          90010372641
51B87394661971   TIMOTHY        AKENSON                CA          90013403946
51B8774125B531   JOSHUA         GAMBOA                 NM          90011117412
51B8776A94B28B   CINDI          CHENAULT               NE          90014567609
51B87A35172B43   INGRID         ALVAREZ                CO          90014380351
51B88259185862   FRANCISCO      VARGAS                 CA          46069302591
51B88422A72B49   CLEOTILDE      ROLL                   CO          90012864220
51B88A62A4B29B   JOSH           RICHARDSON             NE          27013330620
51B88AA8661973   ANGELINA       HOANG                  CA          46059750086
51B89411857157   SUFIAN         BUNDU                  VA          90004104118
51B894A315B393   RUBY           PEREZ                  OR          44590854031
51B89548A5B387   CHRIS          FOSS                   OR          90005905480
51B89617691895   LUIS           MONTES                 OK          90011456176
51B8966AA61973   JESSE          MURGUIA                CA          90014886600
51B8993154B28B   CRYSTAL        GUILLIAMS              NE          26041519315
51B8999147B46B   JULLIAN        ERVIN                  NC          90014119914
51B89A2487242B   ROBERT         RICHEY                 PA          90000270248
51B8B14A961971   AMBER          PEKELDER               CA          90004181409
51B8B27643B387   PATRICIA       ROSAS                  CO          90011582764
51B8B31A44B588   NAILA          GARCIA                 OK          90010663104
51B8B66615715B   MIGUEL         MEDRANO                VA          90011496661
51B8B688185928   KESHA          TURPIB                 KY          90013326881
51B8B737791576   SAUL           CORTEZ                 TX          75088957377
51B8BA93972B88   JESSICA        WIRTH                  CO          33004370939
51B91729284373   ALPHONZO       WILLIAMS               SC          90014887292
51B9173A472B49   RENNE          SANDOVAL               CO          90013237304
51B9193A491989   JASMINE        PIRTLE                 NC          90014819304
51B9195734B28B   KRISTY         KROGH                  NE          26057959573
51B9264165B387   MELREN         PICHON                 OR          44563026416
51B9272145715B   RIDE JOHELY    GALO                   VA          90004547214
51B92776372B36   RENEE          RYAN                   CO          33095747763
51B928A6361973   VANESSA        CARDENAS               CA          90014108063
51B92A95A91989   JOSE           RAMIREZ                NC          90014840950
51B93267A72B49   WHITLEY        DELAROSA               CO          90014682670
51B93349157124   CESAR          SANCHEZ                VA          90004893491
51B933A2A5715B   HABIBUR        ABBASI                 VA          81062993020
51B9355A557148   LUIS ENRIQUE   MEJIA                  VA          90013935505
51B93619784373   MALLORY        MUNSEY                 SC          90015106197
51B93882172B36   TYLER          BOHN                   CO          33096038821
51B94149791576   ISMAEL         GONZALES               TX          90014831497
51B94535A8B169   VANESSA        SALAZAR                UT          90014365350
51B94991855951   VIKI           MILLER                 CA          90015159918
51B9564474B559   SARINDA        MUELLER                OK          90009966447
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 51B96313257148   JOSE         LOPEZ                   VA          90010363132
 51B96331984373   BECKY        HALL                    SC          90014783319
 51B96344361973   CUAHTEMOC    ORNELAS                 CA          90014463443
51B9715A85B393    TROY         ERKENBECK               OR          90007081508
51B9753155B387    TYLER        KAHNERT                 OR          44506205315
 51B97735357148   ORLANDO      MCKETHAN                VA          90013937353
51B9813365B387    MARIA        RAMIREZ                 OR          90015041336
51B9837332B245    ELAN         MANSARAY                DC          90001253733
51B984A3A91576    CRISTYNA     BUJANDA                 TX          75091054030
51B98522A4B588    MELISSA      ROWAN                   OK          90015115220
 51B99322857148   MIRIAN       ALVERTO                 VA          81040033228
51B99AA8885928    DORENE       GARR                    KY          90005850088
51B9B42227B46B    CONSTANCE    MENDENHALL              NC          90014934222
51B9B463433699    ROBIN        WILLIAMS                NC          90012224634
51B9B73464B28B    DIANNE       PLUHACEK                NE          90010297346
51BB114944B588    JESSICA      ALVARADO                OK          90013851494
51BB1189A91989    TAMMI        MCCURRY                 NC          90013961890
51BB126A64B588    JOSE         CRUZ GUARDADO           OK          90013242606
51BB151294B28B    ABELWAHAB    AWAD ELKARIM            NE          90010465129
51BB154385B387    WILLIAM      PIERCE                  OR          44578155438
51BB2187272B27    KESHIA       LOCKHART                CO          90011531872
51BB2189A91989    TAMMI        MCCURRY                 NC          90013961890
51BB2359157157    BRANDON      MILLER                  VA          90006693591
51BB2382891347    TERESA       MALDONADO               KS          90003833828
51BB247A87242B    MICHELLE     WAIBEL                  PA          51077584708
51BB2888991576    RAFAEL       RAMIREZ                 TX          75065788889
51BB2932498B2B    BYNUM        GRIER                   NC          90007879324
51BB3189A91989    TAMMI        MCCURRY                 NC          90013961890
51BB3373633699    SHERIKA      MCKENZIE                NC          12072963736
51BB3668872B77    JAIME        MONCADA                 CO          33017996688
51BB36AA851348    JACKIE       HANEY                   OH          66000546008
51BB379555B393    DAWN         FROGGATTE               OR          90000287955
51BB41A395B531    MARIBEL      ESPINOZ                 NM          90007781039
51BB41A7433699    JAIME        CHAPMAN                 NC          12017351074
51BB4342A5B543    RODNEY       KING                    NM          35016473420
51BB4445798B2B    TIFFANY      DUNN                    NC          90003244457
51BB5457A8B183    KARLA        MURO MARTINEZ           UT          90008844570
51BB549A95B531    DANIELLE     RODRIGUEZ               NM          90012324909
51BB567722B862    SUE          BIONDI                  ID          41045256772
51BB5A9675593B    ANGELES      BENITEZ                 CA          90013560967
51BB6616A85862    JORGE        LARES                   CA          90014376160
51BB6759761973    GLORIA       GAXIOLA                 CA          46084357597
51BB7348257157    ALBERTO      CERUANTOS               VA          81059593482
51BB7534672B36    VANESSA      MARTINEZ                CO          33052145346
51BB795755B387    MARY         PULIS                   OR          44517639575
51BB85A9A61975    ADIAN        CASPER                  CA          90010505090
51BB8826791895    ANGELA       WALLS                   OK          90015228267
51BB8A44172B49    ISMAEL       CASTORENA               CO          33012820441
51BB9213991576    CESAR        FLORES                  TX          75025142139
51BB932A185862    ALEXANDRIA   RILEY                   CA          46054983201
51BB941AA84373    KORNICKI     GALLASHAW               SC          90014044100
51BBB39935B387    DANIELLE     SMITH-SWANSON           OR          90014873993
51BBB3AA34B28B    KAREN        R STRAW                 NE          90007703003
51BBB625851348    CRYSTAL      MALICOAT-THOMAS         OH          90012636258
51BBB9A9251348    RHONDA       WILLIAMS                OH          90014559092
51BBBA3188B145    MIKE         CALL                    UT          31034980318
 52111294A61965   SONIA        GASCA                   CA          46086662940
 521115A6584357   JASMINE      STUBBES                 SC          90015475065
 5211177574B588   DAIVD        MURRAY                  OK          90010197757
52111A8292B27B    JUICY        K                       DC          90009920829
 52112454872B88   LYNN         SARGENT                 CO          90007864548
5211299215B34B    FERNANDO     LOPEZ BENITEZ           OR          90011789921
52113314A5B399    HUMBERTO     LOPEZ                   OR          90008573140
 52113914472B36   JOHN         LEE                     CO          90013989144
 5211447915B531   ALISSA       SEARBY                  NM          35043104791
 52114552497B54   MEGAN        PESINA                  CO          39080445524
 52114A39485928   MAURICETTE   ALLEN                   KY          90004610394
 52114A81391895   JEFFEREY     SAMS                    OK          90011150813
52115A56772B88    MURRY        RUNNELLS                CO          90003230567
5211652A272B27    AMY          MORALES                 CO          33012855202
 52116554172B77   GINA         PACHECO                 CO          33060705541
 5211658975758B   MARIBEL      CARNERO                 NM          90013865897
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52116727A4B521   MIGUEL        VASQUEZ                 OK          90008657270
521167A3933157   LETICIA       TORRES                   IL         90013597039
52116911197B3B   KELLEY        MAHONEY                 CO          90011589111
52116946A91892   DAVID         ECHEUARRIA              OK          90010859460
5211737A65B283   TAI           FITZGERALD              KY          90005463706
521177A5472B77   DALILA        GARCIA                  CO          90007387054
52117945997B54   KAYLA         MORAN                   CO          90012849459
52117A1527B46B   ROBERT        GILMORE JR              NC          11029670152
52118163A61971   MICHAEL       AHRENS                  CA          90005601630
5211844285B531   DORTHOY       BACA                    NM          35037204428
52118733524B7B   JUAN          TUM                     VA          90006017335
521191AA95B387   VICKI         ZIEBART                 OR          44580511009
5211956684B521   KRISTINA      JOHNSON                 OK          90006815668
52119A53751348   LAURA         HASKINS                 OH          90004940537
5211B219A5715B   ISAI          GONZALEZ                VA          90001922190
5211B99668B169   PARIS         FRANCO                  UT          90010029966
5211BA53357157   MALYAN        HENRY                   VA          90002290533
5212111364B521   ROSA          REYES                   OK          90014181136
5212132A55758B   RUBY          HERNANDEZ               NM          90002333205
521213A9957157   LEYDI         FLORES                  VA          90014003099
521218AA75B399   JOHN          JOHNSON                 OR          90014078007
521224A5161973   RUTH          DICKER                  CA          46029904051
5212336225B387   SANTOS        UZ DZUL                 OR          90003093622
5212371864B588   KATIE         NOLAND                  OK          90000457186
5212452388B169   MELISSA       GARCIA                  UT          90011365238
52124A18698B2B   ROBERT        CUTRIGHT                NC          11018020186
52126134997B54   HENRY         AGUILAR                 CO          90013361349
52126543A5758B   BELINDA       VILLEGAS                NM          35588555430
5212683965715B   MARVIN        SANDOVAL                VA          90011828396
52127468372B77   GINA          MARQUEZ                 CO          90002394683
52127548898B2B   DIANA         DIAZ                    NC          90005385488
52127718A4B588   OLGA          RIOS                    OK          90010707180
52128A74591895   CHRISTOPHER   MILLER                  OK          90013100745
52129439A4B588   BRIANNA       BRIGGS                  OK          90015084390
5212974858B169   VICTORIA      PENDLEY                 UT          90002527485
5212983A74B28B   RHONDA        BOTHE                   NE          90004378307
5212984575B399   BRIAN         LEMING                  OR          90013258457
5212B11A691535   IMELDA        MARTINEZ                NM          90009311106
5212B964A5B399   SETPHANIE     HAMAKER                 OR          90001129640
52131648824B51   JC            RIVERS                  DC          90008336488
5213272365B399   STANLEY       PIETRZAK                OR          90005457236
52133394824B7B   EULVENA       SWANN                   DC          90009923948
5213359A791895   MARLON        CRUZ                    OK          90011235907
52133792572B49   MICHAEL       EVANS                   CO          90002497925
5213388295715B   ROY           ROBINSON                VA          90011828829
52133A71981658   JESSIE        RIVERS                  MO          90013550719
5213423787B46B   JESUS         JIMNEZ                  NC          90006532378
5213437A272B43   SAENGKHA      PHAN                    CO          90012483702
52134A9A251348   RACHID        VILLARROEL              OH          90012120902
52136131472B27   HEATHER       GONZALEZ                CO          90009731314
52136147597B54   EDITH         RAMIREZ                 CO          90002401475
521379A5472B88   JACOB         N PEREA                 CO          90010519054
521381A5591895   AMANDA        BENEDICT                OK          90011151055
5213841A14B521   JAZZMON       BROOKS                  OK          90009614101
5213845698B169   MICHELLE      BERRETT                 UT          31088474569
521388A922B27B   FLAYIE        NDJIYA                  MD          90002418092
5213989874B521   THURMAN       COLBERT                 OK          90014168987
5213BA47331676   HANSEL        MANN                    KS          90002640473
5213BA57491587   MERCEDES      LOPES                   TX          90007450574
52141564198B2B   ALEKO         SBOUKIS                 NC          11018025641
5214166944B588   MELISSA       ROY                     OK          21535726694
52141915397B54   CAROLYN       WERTZ                   CO          39004679153
5214193A44B521   NICOLE        WINSTIN                 OK          90014169304
521423A385715B   SUCELI        MAZARIEGOS              VA          81057433038
5214267445B387   BERTHA        GARCIA MARTINEZ         OR          44520876744
5214323154B588   TILESHA       THOMPSON                OK          90010892315
52143324A61971   KIA           PIERSON                 CA          90014923240
52143568572B36   FELISA        MACK                    CO          33001845685
5214364A85B399   BERNARD       JAPS                    OR          44535926408
5214398534B521   SLEEPYEYE     LA FROMBOISE            OK          90014169853
52143A9958B169   CARLOS        ZAMORA                  UT          31001370995
5214413158B169   HEATHER       COTTAM                  UT          31037981315
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5214466195B393   TASHA               MEYER                 OR      90010486619
5214498A997B54   MARVIN              AJPACAJA              CO      90015169809
521449A5961971   ZACK                JACKSON               CA      90004009059
52145642372B49   CRYSTAL             MATLOCK               CO      90011316423
5214642365B399   APRIL               ARGUELLO              OR      90011844236
5214672A672B49   JESSICA             LEAVITT               CO      90012847206
52146733A91895   LATONYA             STEWART               OK      21059377330
5214693274B588   ADRIAN              REDBIRD               OK      90012919327
52146AA8372B27   JOEL                SCHATTNER             CO      90015180083
5214726888B169   ROGELIO             MONDRAGON             UT      90007152688
5214728355758B   TERESA              CABANAS               NM      90009552835
5214818535B399   KELLY               ESPINOZA              OR      90014721853
5214828A733699   ARIEL               FIVECOAT              NC      90013082807
52148381472B43   STEVEN              OLDEN                 CO      90014043814
5214848285B234   REBECCA             BRUCE                 KY      68016034828
52148719897B54   PATRICIA            GARCIA                CO      39004997198
52148A43591587   ZAMIRA              CARBAJAL              TX      75016610435
5214963255B393   MARTIN              GARCIA                OR      44595306325
5214969722B27B   JOHNATHAN           WALLACE               DC      90012756972
521498A7527B3B   JAMIE               MANSON                KY      90011468075
52149AAA94B521   CHANNAH             WALKER                OK      90014170009
5214B215A61975   GINA                ALONZO                CA      46017232150
5214B721484373   YOLANDA             SUMMERS               SC      90003947214
5214B77225419B   KELLY               HYATT                 OR      90005417722
5215132543B352   LANCE               GREGORY               CO      90012123254
5215142795B387   HOLLI               WRONSKI               OR      44506494279
52151891272B49   MIGUEL              HERNANDEZ             CO      33094258912
5215211A37B389   ELSY                RIVERA                VA      90006251103
5215246A551348   HOLLY               BERWANGER             OH      66069154605
52152679372B77   DANIEL              MARSHALL              CO      90006556793
52153961A51348   NICOLE              DURBIN                OH      90013689610
5215399354B28B   MYLING              DOMINGO               NE      26027269935
52154446A71964   TASHA               ADDIS                 CO      32091364460
5215447915B531   ALISSA              SEARBY                NM      35043104791
521544A3A72B43   URIARTE             AMBER                 CO      90010764030
52154626572B42   ELISEO              LOPEZ                 CO      33002636265
521548AAA33696   JANIKA              CREWS                 NC      90013858000
521549A5472B88   JACOB               N PEREA               CO      90010519054
52155535597B54   ROBERT              COBLE                 CO      90014345355
5215561A272B27   RICHARDSON          GARY PATRICK          CO      33022816102
52155A3725B543   GIOVANNA            MARTINEZ              NM      90005420372
521561A2661965   TROY                NEARY                 CA      46007721026
5215638785B387   JOY                 HARRIS                OR      90001683878
52156448872B27   RAYAN               SCHWINDT              CO      33024014488
5215646575B393   MIKALO              ARENAS                OR      90015054657
521566AA561971   ASAP                CARPET CLEANING       CA      46046426005
5215769355B393   SERGIO              RUIZ                  OR      90011206935
5215773125758B   NANCY               ORDONEZ               NM      90011327312
5215815A484373   LEVITCUS            LADSON                SC      90014941504
5215838824B588   BRIANA              RANDOLPH              OK      90011323882
5215843435B531   MIGUEL              PORTILLO              NM      90013964343
521585A4998B27   TOP                 BUNOR                 NC      90010325049
52158A7165B387   ADAM                BARNETT               OR      44571810716
52159271772B77   ISAAC               RHOADES               CO      90009062717
52159372972B49   JEAN                MCKEE                 CO      90013033729
5215983A68B169   TIMOTHY             BIRCH                 UT      90010228306
521599A2857157   LORI                AUSTIN                VA      90008639028
521599A8961548   JEANEKA             DAVIS                 TN      90015359089
5215B137991895   MANUEL VIDALES JR   RANGEL                OK      90011151379
5215B573791895   MANUEL VIDALES JR   RANGEL                OK      90014695737
5215B87915B387   TAJH                PATTERSON             OR      90015278791
5216169AA83B32   LUISA               ARENAS                TX      90012496900
5216237832B949   VICTOR              LOPEZ                 CA      90011603783
5216238685B399   JESUS               HERNANDEZ-RODRIGUEZ   OR      44581083868
5216248824B521   MARIA               REYES                 OK      90012674882
521628AAA57157   CLAUDIA             ESPINOZA              VA      81001328000
5216322555B387   JOSE MANUEL         SERRANO               OR      90011492255
52164178A4B521   RAYMONND            BRUESTER              OK      90014181780
52164653A61975   DASHYA              LOPES                 CA      90010346530
52165318672B43   ADRIAAN             EASTWOOD              CO      90003633186
52165535772B36   NINA                SHARP                 CO      90010165357
5216561655B387   SETH                HOGG                  OR      90004856165
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52165937A72B36   NINA         SHARP                    CO          33022079370
52166113297B54   JOSEPHINE    SANDOVAL                 CO          39006211132
52166194198B2B   DAPHNE       PETTY                    NC          11054071941
521681A315B34B   JAIME        CABRERA                  OR          90010331031
521681A4261975   JULIE        CORNELIUS                CA          90013481042
5216837465758B   LEANN        CONTRERAS                NM          90005733746
52168753A84357   TURRICK      FLAGG                    SC          90014647530
5216876395B399   ROSA         HIGDON                   OR          90014067639
52168A81A91587   DELIA        MENDEZ                   TX          90013950810
5216926485B393   CARRIE       SOEFKER                  OR          90014392648
5216B261293724   TIFFANY      RUSSELL                  OH          90013762612
5216B58855754B   RAQUEL       RODRIGUEZ                NM          90006885885
5216B642A91587   FRANCISCO    HANKINS                  NM          90014146420
5216B934A61971   PHILLIP      MACLEOD                  CA          90014219340
5216BA8945758B   CHRISTA      PENNINGTON               NM          90015300894
52171A9A691587   GUADALUPE    SANCHEZ                  TX          90013950906
52172598397B54   HANG         HERNANDEZ                CO          39074535983
5217261A44B521   PAUL         MEYER                    OK          90011076104
5217284245715B   SANDRA       MEJIA                    VA          81041068424
521735A294B28B   SHARON       FAULKNER                 NE          90014675029
52174381972B36   JOHN         ITOE                     CO          90001163819
5217448252B27B   EVER         MORALES                  MD          90015404825
5217459A75B283   MARLENA      MCDONALD                 KY          68033085907
5217493A75758B   RUTH         ALDERETE                 NM          35529039307
52174A58666186   JORDAN       SERVIN                   CA          90011780586
5217525A24B588   TANIA        SANCHEZ                  OK          90003722502
5217683A472B67   AMY          DULIK                    CO          90005988304
5217715328B12B   CHRISTOPHE   DAVIES                   UT          31016221532
52177A4318B183   GERALD       YOWELL                   UT          90009710431
5217827314B521   TONY         HAYES                    OK          90014182731
52178A23772B49   ADRIAN       VILLA                    CO          90013890237
5217935175B531   KENNETH      JEFFRIES                 NM          90013683517
5217B787133699   MIRIAM       SALINAS-ANGELITO         NC          90015227871
5218111377B46B   LASHONDA     TUCKER                   NC          90007841137
5218123145B387   HOC          NGUYEN                   OR          90013642314
52181582976B3B   SAMANTHA     NAVA                     CA          90012405829
5218171645B531   JENNIFER     CULBERTSON               NM          35086347164
5218184695B393   THOMAS       TUERNER                  OR          90006388469
52182247A4B521   KAYLA        ROBISON                  OK          90014182470
52182765A97B77   JESUS        MUNOZ                    CO          90015187650
52182773872B67   RAFAELA      MORALES                  CO          33056447738
52183969172B27   YVETTE       GARCIA                   CA          90011859691
52184366A33696   KRISTINA     JONES                    NC          12029953660
5218461127B46B   REGINA       WOODS                    NC          90013146112
52184795624B7B   JOHN         WILLSON                  DC          90010167956
52185888272B88   JOSE         RODRIGUEZ                CO          33000458882
52185894972B49   FELIX        HERRERIAS                CO          90012798949
52185A2615B393   BRITTENY     FIORENTINO               OR          90009280261
521864AA872B49   PEDRO        PALACIOS                 CO          90014494008
5218677674B28B   CURTIS       RAY                      NE          90013697767
52186A23798B47   TOMIKA       REEVES-STOWE             NC          90001220237
52187143472B49   ADRIANA      VELASQUEZ                CO          33024811434
52187534172B36   MATT         TAGUE                    CO          90010775341
52187A2A651348   SHAUNICE     STEWART                  OH          90000120206
52187A58961965   PEDRO        CADENA                   CA          90014950589
5218843A533696   JANICE       OLLVER                   NC          90014704305
521884A4585928   ALFRED       GARR                     KY          67069704045
5218853888B169   CIRIA        MORA                     UT          90014845388
5218853A197B54   BOBBIE       GONZALES                 CO          90008575301
52188713A91895   DANIEL       ADAMS                    OK          21017547130
52188844572B43   MARY         GUTIERREZ                CO          90000288445
52188958797B54   BOBBIE       GONZALES                 CO          90014379587
5218B27A25B387   ANTHONY      WAREN                    OR          44519132702
5218B5AA271964   ABELARDO     ALEMAN                   CO          32026485002
5218B62A661971   NESTOR       VASQUEZ                  CA          90001936206
5218B689591587   ANA          AGUILAR                  TX          75012466895
521915A2261971   EFREN        GARCIA                   CA          46019525022
5219166385B243   POLO         FIELDS                   KY          68006616638
52191A43372B36   ALMA         MERAZ                    CO          90013250433
5219229114B588   ADA          WALKER                   OK          90009172911
521927A632B246   CHARMEL      HAMIEL                   DC          90007377063
52192969A61975   ALBA         LOPEZ                    CA          90008649690
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52192A16A31428   LUCY             DYSON                MO          90010540160
52192A32191351   JENNA            GREATHOUSE           KS          90008750321
5219357294B28B   PAMELA           MISTOLER             NE          26025135729
52194714972B27   GRACIE           TILLMAN              CO          90012947149
52194842172B67   CHARLENE         NORWOOD              CO          90005988421
52194898372B36   ORALIA           CASTRO               CO          90013988983
5219497925B387   JOSE LUIS        BETANCOUR            OR          90012749792
52194A72291895   KIMBERLY         FOREMAN              OK          90010630722
52195169972B27   MISTY            KANGETER             CO          33071881699
5219522415B399   GRACE            DENTON               OR          44594112241
52195994A5B387   RICHARD          ROSALES              OR          44596569940
5219629A74B521   MARQULTA         GOSS                 OK          90014182907
5219677AA33696   ALPHONSO         GREEN                NC          90007567700
5219678295B387   TERESA           LEON BAZAN           OR          90014037829
52196A72751348   CHARLES          GLASS                OH          90003140727
5219849925B393   MARKUS           MERRITT              OR          90015064992
52198A2A891587   FRANCISCO        GARCIA               TX          75012090208
52198AAA95715B   EMMANUAL         BEKOE                VA          81017770009
52199267772B49   ANDY             POJOY                CO          90013042677
5219935A872B36   HAILEY           KENNEDY              CO          90012713508
5219936135B531   ALEJANDRO        NAJERA               NM          90013683613
5219987695B399   ZAID             CHASIB               OR          90014918769
5219B37A372B36   NIC              LUNDQIST             CO          90006603703
5219B43192B27B   WHITNEY          WEBB                 DC          90012234319
5219B62A44B521   JONATHAN         WATKINS              OK          90011076204
5219B813197B54   ZENAIDO          GOMEZ                CO          90014888131
5219B87455B387   DAVID            THELEN               OR          90005218745
521B112715B399   ANDRES           ALVARADO             OR          44576091271
521B1127257157   KELVIN           GREENE               VA          90008531272
521B158AA2B27B   BIONCA           MAYS                 DC          90015295800
521B1927584357   DANNY            SMALLS               SC          90004739275
521B194494B588   LINDSEY          RIDDLE               OK          90013909449
521B1A38791587   LAURA            ZAMARRIPA            TX          90013950387
521B1A81872B27   MARIA CATALINA   ARELLANO             CO          90007010818
521B2872251348   SARAH            SIMPSON              OH          90005898722
521B3187272B27   SHANYN           DAVIS                CO          90001551872
521B3313172B36   TAMMY            KATANA               CO          33014223131
521B3435A84357   LAVAR            DUNCAN               SC          90015584350
521B3586191895   ASHLEY           BAKER                OK          21073135861
521B3888A51354   MARCIA           ARELLANO             OH          90011528880
521B3937772B21   TIFFANY          RIVERA               CO          90005459377
521B3988471964   CRISTI           JUAREZ               CO          90006799884
521B3A48772B77   OSCAR            RODRIGUEZ            CO          33048880487
521B422A272B49   CLOUDIA          RODRIGUEZ            NM          35085022202
521B43A885419B   TONI             HARRIS               OR          90012273088
521B4568276B7B   JULIO            CASTILLO             CA          90008655682
521B4689261965   GABY             ESCOBAR              CA          46055676892
521B4987251348   THORNBERRY       JAMES                OH          90003449872
521B5154172B36   JUVENCIO         CASTREJON            CO          33088831541
521B531565758B   STEVE            HERNANDEZ            NM          90013693156
521B561344B521   LINDA            KITCHENS             OK          90006806134
521B637585B387   KRISTOPHER       WOOD                 OR          44514933758
521B6423361975   JOSEPH           MACHINIST            CA          90012434233
521B6522497B77   DEON             HARRIS               CO          39058905224
521B6861561965   DAVID            PAYNE                CA          90002508615
521B6933761965   HAIDAR           SALAH                CA          90012169337
521B6A81791895   KELSEY           CAMPBELL             OK          90011140817
521B71A917B851   ANDRE            MOORE                 IL         90001891091
521B728315B531   SUSAN            BAILEY               NM          35003902831
521B7392391587   YUNNEN           HERNANDEZ            TX          90011353923
521B7545361965   CHRISTOPHER      VADNAIS              CA          90015155453
521B771A15B399   JENNIFER         BITTLESTON           OR          90009027101
521B77A1372B49   DELORES          OLDENBURG            CO          90001397013
521B7885393724   PAULA            LOCKET               OH          90013448853
521B7973833699   EDITH            CLARK                NC          12064399738
521B7975572B27   FELISHA          BEGAY                CO          90001489755
521B81A377B851   ANDRE            MOORE                 IL         90001891037
521B8263733696   CHANDRA          CHHETRI              NC          12094122637
521B83A4997B54   BRANDY           GARCIA               CO          90012723049
521B8827A61971   STACY            MAGEE                CA          90011778270
521B884725B531   GENEVA           CISNEROS             NM          35094708472
521B891915132B   MARTHESA         COLLINS              OH          90012849191
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521B894A591587   RICARDO      MEDINA                   TX          90011439405
521B9255784373   MELISSA      HAMILTON                 SC          90014572557
521B93A122B27B   LATASHA      WILLIAM                  DC          90007843012
521B94A725B399   AMON         DHIET                    OR          44519374072
521B9688A61965   BERNARDO     FIGUEROA                 CA          90015136880
521B97A382B221   AZUBIKE      NWAOLU                   DC          81054887038
521BB18895754B   PAUL         MARTINEZ                 NM          90003291889
521BB548472B27   JOSE         GOMEZ                    CO          33002295484
521BBA38791587   LAURA        ZAMARRIPA                TX          90013950387
52211269297B77   SHANICE      GALLEGOS                 CO          90008722692
52211332A4B521   TRACEY       CARTER                   OK          90014183320
5221161478B183   JOHNATHAN    CARTER                   UT          31087246147
5221233294B521   KEISHA       WILD                     OK          90014183329
5221315A961971   MARTIA       NAVARRO                  CA          90002991509
5221395A25B399   LAURA        BLOSSER                  OR          44519579502
5221424634B521   TRUVENIA     CORNISH                  OK          90011552463
5221427754B28B   SHARMON      SHIREMAN                 NE          90013002775
5221474265B531   EDWARD       MONTOYA                  NM          90014537426
52214795724B7B   JERRY        PARMANAND                DC          81084317957
52214827372B43   VT           THOMAS                   CO          90007388273
52214973872B36   BARBARA      CAMACHO                  CO          90013219738
522152A424B521   ROSA         REYES ROJO               OK          90009622042
52215587972B88   WINDSONG     GARCIA                   CO          33098455879
522157A5942335   BELINDA      TRAVIS                   TN          90015487059
522165A643B384   ANICETO      GARCIA RODRIGUEZ         CO          90008115064
5221721A45715B   TABNAB       WOLDAY LIKAIDS           VA          90001952104
52217566A93724   SHANTE       WALKER                   OH          90009025660
52217A37451368   SEAN         DAVIS                    OH          90007600374
522182A1971964   OROSCO       PADILLA                  CO          90010862019
52218382672B49   JUSTIN       BLACKSHEAR               CO          90010903826
52218386A5B399   RENIER       MILIAN                   OR          90006463860
5221841A461975   RASHIDA      KIDD                     CA          46025284104
52218454A33699   MELISSA      BLACK                    NC          12001444540
5221881AA51348   VALERIE      SIMS                     OH          90010898100
52218A3244126B   MAUREEN      BRUECKEN                 PA          90005820324
52218A9AA3B374   RAFAELA      DEAN                     CO          33010420900
5221B358872B36   JOANA        ORBE-ABARCA              CO          33071373588
5221B41564B588   DACCARA      COLE                     OK          90007974156
5221B628191587   PATRICIA     MOLINA                   TX          90015126281
5221B63637B46B   COLA         COLA                     NC          90012746363
5221B828451586   SENIAT       LEYNI                    IA          90013898284
522213A7772B43   NICOLE       VAN DOREN                CO          90007323077
522214A1A61973   ROJACS       MARTYN                   CA          90003394010
5222255AA72B77   IVAN         ORDAZ                    CO          90004435500
5222369355B399   ABIGAIL      JOHNSON                  OR          44550906935
52223896472B27   ROSARIO      MARTINEZ                 CO          33081138964
5222513934B521   KAREN        ORTIZ                    OK          90015201393
52225224972B27   JUAN         CONTRERAS ARROYO         CO          90003762249
5222531A77B46B   TERRY        KNOX                     NC          11001693107
52225336972B36   ROBERTA      ROMERO                   CO          33093023369
522259A3184357   CAROL        LEE                      SC          14570739031
5222612185758B   JERIMAH      SALMON                   NM          90014691218
52227194A8B169   KIMBERLEE    CHILD                    UT          90003381940
5222767A472B49   HENRY        RAMOS                    CO          90011476704
52228A27172B34   BLANCA       VASQUEZ                  CO          90013590271
5222916154B588   RAUL         MARTINEZ                 OK          90009431615
5222937374B521   COREY        KALIB                    OK          90014183737
5222942815B283   MARY JAYNE   DUBOSE                   KY          90007184281
5222B171572B88   DANYELLE     CLAYCOMB                 CO          90001631715
5222B23792B27B   NITA         RAY                      DC          90013962379
5222B25A872B49   BRENDA       HILL                     CO          33028262508
5222BA47433699   LARETHA      GLADDEN                  NC          90011390474
52231175972B43   AIDA         GUTIERREZ                CO          33052821759
5223119684B521   JASON        LEE                      OK          90014121968
522316A695758B   JOANA        MOLDANADO                NM          90007596069
52231869197B77   SHENEIL      GRAHAM                   CO          90008728691
52231922798B2B   ANQUAN       BURRELL                  NC          90005389227
52231A8824B588   ERIC         SUNDHOLM                 OK          90015100882
5223228245758B   DANIEL       PAYAN                    NM          90013602824
52232745A5B399   LUIS         HUMALA                   OR          90008807450
5223275A15758B   LETICIA      SCHROEDER                NM          90007817501
5223438724B521   BREE         DEAN                     OK          90014183872
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52234A9155758B   VICTOR      CHAVEZ                    NM          90013550915
52235295A61971   BRANDON     ADAMS                     CA          90013292950
5223656244B521   RODNEY      SHOEMAKE                  OK          90015125624
5223738774B521   PAOLA       ZAMORA                    OK          90014183877
52237937A5B399   DEBORAH     JOHNSON                   OR          90011449370
52237A18784373   SANTIAGO    RAMIREZ                   SC          90013830187
5223972525B531   TIFFANY     GARCIA                    NM          35025987252
5223976A661975   JANETT      BRICENO                   CA          90004157606
5223988A891587   ALEJANDRA   OROZCO                    TX          90013858808
5223B12624B588   KELISHA     ROJAS-ESTRADA             OK          90014651262
5223B14492B27B   OSCAR       PEREZ                     DC          90010051449
5223B516457157   EMMANUEL    MINTAH                    VA          81083395164
5223B536A5B393   JULIE       HASEN                     OR          90015065360
5223B856651368   CRAIG       RUDD                      OH          90006328566
5223BA66857563   JOSE        ARROYO                    NM          90012820668
5224112375715B   VICTORIA    QUINONEZ                  VA          81093781237
5224139314B521   JOSE        MEDINA                    OK          90014183931
52241A1A161965   MIRIAM      ESCOBAR                   CA          90000200101
5224297418B169   BRIAN       DURAIN                    UT          90009649741
52243792A84373   MATTHEW     MALONEY                   SC          90009117920
52243873472B43   RUDY        ALEN                      CO          90006348734
52243A63133696   MARGARITA   OLMEDO                    NC          12001180631
52244639772B49   MARIA       ROSALES                   CO          33009186397
5224475312B948   GUIOMAR     FAGUNDES                  CA          90012607531
52244842224B3B   HERMAN      JACKSON                   DC          90007228422
5224484714B588   PEDRO       MARTINZ                   OK          21590758471
5224495262B973   ANGILENE    FORREST                   CA          45013849526
522452A5893724   AMBER       HOMAN                     OH          64530742058
5224542847B46B   ANGELA      JACKSON                   AR          11008974284
5224591A74B521   TAMMY       SWANTEK                   OK          90010299107
52247268A5B531   ERVIN       BRADFORD                  NM          90013852680
5224752963B182   TONYA       JONES                     DC          90000805296
52247952A5B387   DANETTE     SANDERS                   OR          90012789520
52248616285B52   ALFONSO     MARTINEZ                  FL          90015446162
52248AA7384373   AMBER       GOODYEAR                  SC          90013830073
522491A8798B2B   PEDRO       RAMIREZ                   NC          11018061087
5224997465715B   LATESHA     LEWIS                     VA          90003939746
5224999A291895   GLADYS      NAJERA                    OK          21004659902
52249A56872B27   ANGELA      MITCHELL                  CO          90013610568
52249A65491587   SANDRA      TREVIZO                   TX          90011180654
5224B277961971   PAUL        MARON                     CA          90011752779
5224B395961965   DENISE      GOMEZ                     CA          46096373959
5224B6A134B588   PATRICK     MCCAIN                    OK          21513746013
52251577976B7B   FERNANDA    RIVAS                     CA          90013815779
5225158278B169   MATTHEW     WERNY                     UT          31001475827
5225163855758B   WENONA      VALENZUELA                NM          90001916385
52251875272B67   ANGELINA    ENRIQUEZ                  CO          33034328752
5225411785B399   EULICES     IBARRA                    OR          90009121178
5225526628B169   JOSHUA      BOWDEN                    UT          90008642662
52255485272B49   MAES        LEROY                     CO          33092854852
5225614813B352   SHEILA      PUGH                      CO          33083781481
5225629992B967   SALVADOR    SILVA                     CA          90006762999
522562A1751348   BRUCE       JOHSNON                   OH          90006202017
5225664152B27B   SELVIN      ALANDA PORTILLO           DC          90013666415
5225673235B531   GRISELDA    VARGAS                    NM          35031217323
5225746634B28B   SCOTT       HOWARD                    NE          90003184663
52257512372B77   PEDRO       RAFAELA                   CO          90000605123
5225791415132B   TABITHA     HELTON                    OH          90001669141
5225793A657157   MIGUEL      MENDOZA                   VA          90004289306
5225842574B521   MARCELA     GARCIA                    OK          90014184257
52258574A61971   GUADALUPE   MARTINEZ                  CA          90010015740
5225943254B521   EDITH       ANAYA                     OK          90014184325
52259649A61971   GIOVANNY    CHAVEZ                    CA          90012616490
52259A9342B27B   SANDRA      LAVERNE                   DC          90015320934
5225B14A15B543   NOEL        NAYARES                   NM          35082501401
5225B333361973   BRIAN       STANFIELD                 CA          90012743333
5225B343857157   MELINDA     CALDWELL                  VA          90001583438
5225B42865B399   SHEILA      HARRIS                    OR          90002534286
5225B589A6194B   ISABEL      CAMPOS                    CA          90002565890
5225B593961965   BRITTANY    BENNETT                   CA          90008115939
5226118965715B   ABELINO     CAMPOS                    VA          90011841896
52261252472B27   RAYMOND     LAWSON                    CO          90012712524
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52261312772B43   KYLENE          VENABLE               CO          90014803127
52261642897B54   GERARDO         GUERRERO              CO          90014426428
52261882A5B399   DUSTIN          RHODES                OR          90014838820
52261A5627B46B   MELISSA         JORDAN                NC          90001800562
52261AA3772B36   GARY            MARTINEZ              CO          33053780037
5226281584B588   PAYGO           IVR ACTIVATION        OK          90010198158
52262A97461965   MIRACLE         LOWE                  CA          90015160974
52263241572B27   JULIE           HOLMES                CO          33033302415
5226335345B399   MIRANDA         WILSON                OR          90013753534
5226383A591587   EDWARD          SANCHEZ               TX          75023268305
52263A99A55951   AHYDE           ACOSTA                CA          49081270990
5226457434B588   DEVA            SMITH                 OK          21557425743
52264668872B36   ADRIAN          ONTIVEROS             CO          33023376688
52264937A57157   JUAN            MONTALVO RODAS        VA          90012819370
5226579624B521   BRIAN           NEILSEN               OK          90015137962
5226651A361971   JOHN            TARANTINO             CA          90014845103
52266633397B54   HORTENSIA       VICENTE VICENTE       CO          90003176333
522668AA697164   KELSEY          MONROE                OR          90014698006
52267498672B27   RITA            TRUJILLO              CO          33080234986
52268559772B49   DARCY           WOODS                 CO          33091545597
5226872118B169   THOMAS          SPARKMAN              UT          31019167211
52268732572B27   JOKEBED         CHATELAM              CO          90011167325
52268A46A33699   RODOLFO         MARQUEZ               NC          90012230460
52269866A4B28B   KATHY           AMES                  NE          90012718660
5226989785758B   JOSE            RENTERIA              NM          90015308978
5226B641761965   UITZILOPOXTLY   BALTAZAR              CA          90015086417
5227122545B151   JOSEPH C        GUESS                 AR          90007162254
5227191197B46B   MIGUEL          LARA                  NC          90010219119
52271A64151388   NINA            LUCAS                 OH          66002940641
52272273A84357   ROSA            TAYLOR                GA          90011292730
5227247385B399   JENNY           DULCE                 OR          90014904738
5227293664B28B   YOHANNA         SAHOKAI               NE          90013459366
5227315362B27B   MAURA           BARRUETA              DC          81056501536
5227338765758B   GEORGE R        CICOTTE               NM          90012783876
52273899172B49   DARLA           PELAYO                CO          33090328991
52273A11133696   DESIREE         ODOM                  NC          12050770111
52274944572B27   AMANDA          WHEATHERINGTON        CO          90013619445
52274966A61973   JOSE            MENDOZA               CA          90009119660
5227514944B521   ESTER           AGULIAR               OK          90001211494
5227532A433696   JASMINE         TORRENCE              NC          90003823204
5227542384B588   ROBIN           ROSAS                 OK          90009184238
5227549445715B   LUIS JOSE       MALQUI                VA          81004564944
522759A5661975   DUNIA           PAZ                   CA          90002459056
5227614944B521   ESTER           AGULIAR               OK          90001211494
5227619935B283   WILLIAM         SHELBUNNE             KY          90004241993
52277462172B36   MARIE           JACOB                 CO          90014774621
5227799325B399   JARED           FULLER                OR          90013519932
52277A56172B27   VICKI           CARTER                CO          90009540561
52277A64172B43   DEIGO           MINJARES              CO          90012620641
52278148972B27   JAMIE           MIDDLEMISS            CO          90010101489
5227855415754B   LAURA           DIEGUEZ               NM          90011695541
5227891667B372   JEREMIAS        ARGUETA               VA          90002639166
5227957AA93724   DAVID           GLOSSER               OH          90009025700
5227B232524B7B   MAURICIO        ADRIASA               VA          90003192325
5227B344572B27   TRACY           JONES                 CO          90011523445
5227B495833699   CHUTNEY         NANCE                 NC          90013444958
5227B744361975   IRWIN           RIVERA GAYTAN         CA          90011967443
5227BA36972B27   ULISES          RAMIREZ               CO          90014930369
5227BA86457157   ASHELY          BROWN                 VA          90013060864
52281924197B54   MIGUEL          SANIC                 CO          39066909241
5228252555B399   ALEJANDRO       FLORES                OR          44506415255
5228282934B588   WESLEY          GARNER                OK          90008968293
5228283642B27B   DEJUAN          BELL                  DC          90013588364
52282A1A561973   CARL            BAKER                 CA          90007330105
522832A844B588   ERENIA          PINEDA                OK          90014752084
5228332AA5715B   PATRICIA        ROBINSON              VA          81068553200
5228362165B387   SAMANTHA        CLEARY                OR          90015106216
52283748772B27   MONIQUE         HYCHE                 CO          33056227487
52284265A72B88   KIMBERLY        ESPINOLA              CO          33017042650
52284AAA672B49   JEFF            PAULEY                CO          33024740006
5228577244B588   IDALEDRIA       STEPHENS              OK          21586647724
5228646215715B   MARIA           FUENTES ESCOBAR       VA          81041904621
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5228662955B399   SADIE         BRAUGHTION              OR          44519466295
52286749A5B393   PAMELA        HILSCHER                OR          44500667490
5228676A84B521   TATYANA       HARVEY                  OK          90011997608
522867A5972B27   JOSHUA        GRAHAM                  CO          33007237059
5228687374B244   JAROD         HEADY                   NE          27095378737
522868A9A91895   TOM           LARA                    OK          21085218090
5228845A17B46B   TESSA         ROBINSON                NC          90012464501
5228965144B588   KELSEY        DEDMON                  OK          90014526514
5228B29415B399   CHRISTOPHER   BYERS                   OR          90012602941
5228B328833699   REGINALD      CALDWELL                NC          90009723288
5228B36AA57157   AMANDA        GARZA                   VA          90014003600
5228B433871964   SORA          LOPEZ                   CO          90001344338
5228B448872B2B   RAYAN         SCHWINDT                CO          33024014488
5228B673961973   RAUL          VELASQUEZ               CA          46087616739
5228B718193724   JAWON         HOWARD                  OH          90012687181
5228BA84672B49   KIM           HUGHES                  CO          90014570846
5229117385B283   BRENDAN       KELLY                   KY          90004241738
5229122815B399   CAMERON       SIMS                    OR          90013512281
522912A947B46B   SOMPHOT       PHOMSOPHA               NC          90004872094
5229212584B521   MARICELA      HERRARA                 OK          90001571258
5229223599373B   MOHAMMAD      GARDEZI                 OH          90011052359
5229268967B247   TYLER         MARTIN                  AZ          90015336896
52292A76271964   MANUEL        THAYNE                  CO          32012680762
522931A247B46B   CHELITA       SNOW                    NC          90008291024
52293558572B67   ISABEL        MELGOZA                 CO          90009855585
522935A1172B27   TERRI         SNOOK                   CO          90010915011
52293AAA75B531   NICOLE        SANFORD                 NM          90013450007
52295493472B36   LEONARD       VALENZUELA              CO          90014604934
5229552416B922   MARK          LIVIO                   NJ          90012605241
52295612472B43   DIANA         CORREDOR                CO          33018516124
52297927A5715B   MIKE          SCOTT                   VA          90006329270
522985A565B387   FRANKLIN      CHARBONEAU              OR          44542065056
52299193A5B283   C             M                       KY          90004241930
5229921852B27B   WILLIS        YOUNG                   DC          81079272185
5229942345712B   MABEL         RAMOS                   VA          90002024234
52299721A72B43   ERASMO        ORZUA                   CO          33083717210
5229B2A4A72B36   KRYSTAL       ROMERO                  CO          90011132040
5229B439561975   GUANG         PAPITE                  CA          90011484395
5229B686991521   CYNTHIA       MACHADO                 TX          90009986869
5229B882A61971   FERNANDO      MOLINA                  CA          90003098820
522B12A8272B27   ANTONIETA     VAZQUEZ-ANGULO          CO          90005322082
522B146A84B28B   CAROL         JOHNSON                 NE          90007844608
522B1713261971   KEN           TALBERT                 CA          46037607132
522B257949373B   MICHAEL       HOWARD                  OH          90012565794
522B2632A5758B   ORTIZ         CONNIE C                NM          90007816320
522B27A455B393   HENNY         BUSHMAN                 OR          90007057045
522B287192B27B   LATANYA       JENKINS                 DC          90013018719
522B3178971964   JESSICA       WILMOT                  CO          32091471789
522B3642791587   ANDRES        HERNANDEZ               TX          90012446427
522B3936493724   TINA          SHORT                   OH          64584719364
522B41A7357157   MARIA         LYLES                   VA          90012291073
522B425874B28B   MICHELL       STURGIS                 NE          26053722587
522B4468691587   ELENA         MORALES                 TX          75071984686
522B4858151348   KUDDEIDRA     SMITH                   OH          90011638581
522B4877A97B54   STACY         BALDWIN                 CO          39091988770
522B4937961975   OSCAR         ALVAREZ                 CA          46033849379
522B536214B521   MARISSA       PIENDA                  OK          90014183621
522B5477793724   DAVID         STORER                  OH          90013914777
522B5729451333   ASHLEY        MEYER                   KY          66034087294
522B6389A5B393   DALLAS        ADKINS                  OR          44576893890
522B6596272432   SHELLY        THOMAS                  PA          51046285962
522B6618A7192B   JILLIAN       BREWER                  CO          90010816180
522B668A23852B   MARIA         CUEVAS                  UT          90011216802
522B6A65884373   TREASIA       KING                    SC          90012930658
522B7523472B36   ELENA         DUBON                   CO          90010995234
522B7938584373   GERBY         VELASQUEZ               SC          90014829385
522B8129572B43   CLAUDIA       MELENDEZ                CO          33030221295
522B8149561975   STEVE         RIVERA                  CA          46047871495
522B8294A91895   DEKAYLA       HALL                    OK          90011152940
522B8586A2B27B   JAWANDA       ANDERSON                DC          81010825860
522B8991757157   DARRYL        CLARK                   VA          81094589917
522B933A74B521   AMANDA        RUCKER                  OK          90014183307
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522B952658B169   MARCELINO       GOMEZ                 UT          31025565265
522B9669272B43   RAMIRO          AGUILAR               CO          90007896692
522B9925193724   JUSTIN          COATES                OH          90012749251
522B9A6524B588   COLETTE         BURCH                 OK          90008390652
522BB273584373   CHRISTINA       PETERSON              SC          90013932735
522BBA7A472B49   ERNESTINE       MOREHOUSE             CO          90012410704
52311531A31428   LUCINDA         MOORE                 MO          27513975310
5231159345B393   NORTON          MATT                  OR          44551175934
5231222354B588   NATALIE         GOUDEAU               OK          90008392235
5231295AA61975   JAN             BINKELE               CA          90014619500
5231318264B28B   STACY           LAMPHEAR              NE          90014361826
52313882772B49   DAVID           MIRAMONTES            CO          33024758827
52313897A61973   JAVIER          ARIAS                 CA          46030068970
52313A62661965   LATOYA          CANTU                 CA          90012590626
5231458A94B521   JOHN            PARK                  OK          90014185809
52314787A5B531   MILCA           ALVAREZ               NM          90004417870
523154A3A33699   COURTNEY        BALLARD               NC          90011544030
5231564655B229   SHANIKA         BIGHAM                KY          90014806465
5231567695B543   SOCORRO         ALCALA                NM          35041816769
52315A42551348   ELSA            REYMUNDO              OH          90012230425
52316546872B35   JARROD          PARTENHEIMER          CO          90013755468
5231658154B521   HEATHER         EDWARDS               OK          90014185815
5231682535B387   JAMEENA         WEST                  OR          90012018253
5231781112B949   LUIS            DE ARCOS              CA          90007478111
52318145172B49   OSWALDO         URBANO-FLORES         CO          90011781451
5231826A48B169   ROGER           JONES                 UT          31055012604
5231841925B531   STEVEN          CHRISTANELLI          NM          90012984192
5231943564128B   JOHN            MCGOUGH               PA          90010564356
52319514497B54   MARIA           TORRES                CO          39010375144
5231955395B399   BETHANY         LONGCHAMPS            OR          90014945539
5231985945B283   DEIONTE         STEKES                KY          68056798594
5231B155A61966   JULIAN          GOODIN                CA          90008591550
5231B166861965   ODAISIS         MENDOZA               CA          90007691668
5231B53895B387   TARYN C         CURTIS                OR          90006715389
5232121A191895   JENNIFER        LUND                  OK          90012242101
523212A5293724   MICHELE         MCKINNISS             OH          90011322052
52321357472B43   NANCY           METZGER               CO          33071913574
523216A5257157   CHARLIE         COLATO                VA          90010606052
52321984972B36   JAMES           MEARES JR             CO          33092149849
5232272962B245   JASON           SERGUSON              DC          81096587296
5232275222B27B   PATRICIA        LAKE                  DC          90003547522
5232281295715B   WM              MILLS                 VA          81041428129
52322A99333696   NGEN            EBAN                  NC          90013360993
5232333A95B387   ANTHONY         READ                  OR          90006013309
5232358954B521   PAULINE         CHEN                  OK          90014185895
52323A7317B46B   DEVON           HAWAY                 NC          90014620731
5232412534B28B   AMERILLA        WAGONER               NE          26081571253
5232468695758B   MARICELA        MEDRANO               NM          90005426869
5232547A757157   TORIAN          HARRIS                VA          81091154707
5232548165B393   JORGE           CHAVEZ                OR          90009284816
52325862A72B77   ABRAM           PEINADO               CO          90006138620
52325A24671964   JULIETA         CHILEL                CO          90011600246
5232659A44B521   GERALD          MUNOZ                 OK          90014185904
5232662AA5B387   KARL            CLARK                 OR          44515196200
523266A3961973   RUBY            GONZALEZ              CA          90009986039
5232699A67B46B   JILL            HATLEY                NC          90015319906
52326A85A61975   PABLO           VASQUEZ               CA          46063290850
5232712445715B   WILLIAM         ADAN                  VA          90005131244
5232725668B169   CODY            ORTEGA                UT          90004792566
52327869A4B588   GWEN            HUNT                  OK          90013858690
52328222272B27   DAVID           COLTRIN               CO          33096442222
5232929AA72B36   GISSEL JOANNA   AGUILERA              CO          90011582900
523292A688B169   JOSH            NUSS                  UT          31033252068
5232999A193724   DANA            PEACO                 OH          90002959901
5232B712972B36   SALOMON         MORENO                CO          90012937129
5232B739571923   RAYGAN          EARL                  CO          90006967395
5232B747A84373   HEATHER         MARSHALL              SC          90014677470
5233199AA91587   JAIME           HOLGUIN               TX          90011139900
5233256594B588   CRYSTAL         UIRRE                 OK          90013325659
523326A484B521   JANETH          SANCHEZ               OK          90014186048
5233287A74B28B   JOE             SIMS                  NE          90014668707
52334169572B21   JOSHUA          HURSA                 CO          90011691695
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5233487A35B387   JUAQUIN          MALDONADO            OR          44557888703
52334935A72B49   DEMPSEY          BECK                 CO          90003209350
52335A43961965   STACY            ONN                  CA          90003100439
52335A72284357   PAMELA           STEWART              SC          14580570722
52336157472B49   KRISTA           HARKNESS             CO          90012261574
52336443A72B43   MICHAEL DANIEL   MARTINEZ             CO          90011404430
52336A19A8B169   JEENA            MINER                UT          90012710190
5233739415B387   ALLINE           LOPEZ                OR          90012813941
5233746155B399   CHARLES          WEBSTER              OR          90015144615
5233761525715B   ANA              ACHULLE              VA          90002866152
52337955A91923   DAVON            THOMAS               NC          90005529550
523387A2A5B399   THOMAS           KENNY                OR          90014157020
52338A1565B531   ANDREW           VALENCIA             NM          90007470156
52338A94133696   JAMIE            WILSON               NC          90011060941
52339461172B77   CARMELITA        GABNER               CO          33057924611
523394A1A85852   IRVING           WOLFF                CA          90012354010
5233963125B543   ELISIANA         MONTOYA              NM          35083496312
5233B33914B588   LEON             WALLACE              OK          21521073391
5233B53A857157   MARTEES          BARRON               VA          90010285308
5233B782A8B169   BILEEN           DAVIS                UT          90013767820
5234112875758B   KITTY            MORALES              NM          90012181287
5234124A471964   JASMIN           JOHNSON              CO          90009392404
5234161314B521   MARISELA         MARTINEZ             OK          90014186131
5234175612B245   VAHAB            TOOSI                VA          90005227561
523419A335B531   DENISE           SPRINGFIELD          NM          90010389033
5234215368B169   SPENCER          DWIGHT               UT          90012461536
52342851A72B49   VERA KATHERINE   ORNELAS              CO          90013108510
5234316575B387   MIGUEL           MEJIA                OR          90010581657
5234316A68B169   MARCO            VIGIL                UT          90013831606
5234362544B521   BRITNI           BUTLER               OK          90014186254
5234386517B46B   KARL             TRAPP                NC          11001708651
5234454A361971   JOHN             MANN                 CA          90015055403
5234463234B521   HERIBERTO        DURON                OK          90014186323
52345534A5B399   PRIMAVERA        LANDA                OR          90004495340
5234575483B347   MARIA            AYALA                CO          90008277548
5234663324B521   LORENA           PORTILLO             OK          90014186332
52346772597B54   LORIE            PEREZ                CO          39001817725
523469A3A72B43   HOPE             MAWBY                CO          90014789030
52347487A61965   ROBERT           JOHNSON              CA          90004714870
5234752387B896   DENISE           JOHNSON               IL         90014635238
5234763454B521   CANDELARIO       GARCIA               OK          90014186345
52347649A31429   CRYSTAL          SIMMS                MO          90014536490
5234779215B531   JOSE             MARTINEZ             NM          90011437921
52347A81581622   MELISA           PADILLA              MO          29016800815
52348177A33699   JOHN             PLATT                NC          90014481770
52348487A51348   MANUEL           GUERRERO             OH          90014704870
5234885615758B   CHRIS            NUNEZ                NM          90014478561
5234948294B28B   PATRICIA         JECHA                NE          90008944829
5234964424B521   WILLIAM          MCDANIEL             OK          90014186442
5234967982B27B   XAVIER           CLEMONS              DC          90013586798
52349A3A37B46B   JAMES            BARBER               NC          90010990303
52349A44651343   CARL             CONYAR               OH          90011670446
52349A98972B43   NOELLE           MAUGH                CO          90014770989
5234B18727B46B   MARIA NIEVES     SANCHEZ              NC          90011081872
5234B522161971   JOSEPH           WANI                 CA          46000415221
5234B576672B43   RAQUEL           TORREZ               CO          33076575766
5234B815972B27   PEDRO            RAMIREZ              CO          33028948159
5234B823161975   OMAR             MARTINEZ             CA          90014158231
5235163A161975   AIOTEST1         DONOTTOUCH           CA          90015116301
5235229A361973   NANCY            DIAZ                 CA          90011222903
5235236A272B36   CLIFFORD         HOLMES               CO          90001723602
5235284565B393   ELIA             VARGAS               OR          90013778456
52353126772B36   KENDRICK         BLAND                CO          33011951267
5235421745B399   DAWN             SPARKS               OR          90003342174
5235441287B46B   ORLANDO          SPAN                 NC          11001764128
52354459A61548   BAHADUR          BHUJEL               TN          90004444590
523547A123B384   ARACELY          MARQUEZ              CO          90005677012
5235566A74B521   JOSE             VALLES               OK          90014186607
52356422272B36   SARSWOTI         RAI                  CO          90012614222
52356586998B2B   ROBERTA          GREEN                NC          11064515869
5235694AA91895   BRANDY           SCOTT                OK          21017769400
52356A21191587   RINAW            OLIVAREZ             TX          75024320211
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5235756592B228   CO           MIKAY                    DC          90001005659
52357649A61965   GRETCHEN     ENGH                     CA          90012606490
52357913972B49   SABRINA      KING                     CO          90014869139
5235829AA61971   JUAN         ALBERTO                  CA          90012742900
523584A4291895   LINDA        MARQUARDT                OK          21001444042
52358761A84357   DONTAE       ENGLISH                  SC          90013977610
5235891124B588   ELIZABETH    MADRID                   OK          90010409112
52358A3344B28B   CHAD         GREENWALT                NE          90004290334
52359371524B7B   TIARA        WILLIAMS                 DC          90014603715
5235937275715B   MULATU       WOLDAMARIAM              VA          81083603727
52359A74561973   ROLAND       STARKS                   CA          46055650745
5235B1A655593B   JOSUE        ALBA                     CA          49090821065
5235B37888B186   ROBERT       CONLEY                   UT          90002793788
5235B534884357   RENEE        STEPHEN                  SC          90012225348
5235B626572B43   DAVID        METZER                   CO          33026416265
52361A4884B588   VICTOR       MASCORRO                 OK          21539170488
52362778772B36   DWAYNE       MITCHELL                 CO          90011537787
52362913A5715B   MICHAEL      BERTRAND                 VA          90005309130
52362A72893724   STEVEN       MACEK                    OH          90011480728
5236439A472B49   KATHLEEN     STIEBLER                 CO          90012813904
5236481735758B   JAIME        ESCALANTE                NM          35527528173
5236515258B169   LYDIA        REYES                    UT          90010441525
5236537895B399   MELODY       BATES                    OR          44545813789
523655A4133696   WANDA        WILSON                   NC          12028995041
5236619A371964   TIA MARIE    BARNETT                  CO          90011601903
5236663755B399   JOSEFINA     HERNANDEZ                OR          90012626375
52366688572B27   BREE         BILLUPS                  CO          90009906885
52367665772B43   JENNIFER     LERDAL II                CO          33079006657
52368A6345B387   WILLIAM      BREAUX                   OR          90003170634
5236922655B399   ERIC         MANNING                  OR          44598172265
523693AA15B387   SCOTT        MACDONALD                OR          90011063001
5236977724B521   JOHN         MCGEE                    OK          90014187772
5236B16A591895   MARIA        AGULIAR                  OK          90011181605
5236B49A271964   JAMES        YOUNGER                  CO          90008934902
523711A384B53B   DEITRICH     WATSON                   OK          21590281038
52371577372B43   SUZETTE      ALISPACH-JANSEN          CO          90001995773
5237167992B27B   TERESSA      TIPPER                   DC          90010676799
52371A7724B28B   JAYDEN       KILCOIN                  NE          90007440772
52372A1427B395   CARLOS       PENA                     VA          90005970142
5237349568B169   ANITA        VALENCIA                 UT          90013384956
5237364295B543   MIRTA        RELLANO                  NM          90001736429
5237424144B521   MAKIKO       LEWIS                    OK          90012652414
52374335A61973   WESLEY       MONTANO                  CA          46004513350
5237445A272B67   TAVIS        CHALMERS                 CO          90000594502
52374542A5B399   RACHEL       ROFFMAN                  OR          44518075420
52374558572B49   BETH         STRANG                   CO          90005755585
52374948A33696   CYNTHIA      SIDDLE                   NC          12021389480
52374A2117B46B   ANTRELL      NEAL                     NC          11019170211
5237551857B46B   DEMARKUEZE   TRKINS                   NC          90013165185
5237565A44B28B   SIMPSON      STEVE                    NE          26050686504
523757AA45B393   CHRISTINA    CUNNINGHAM               OR          90001247004
52375A75384357   LARITZA      HICKS                    SC          90013340753
52376124898B2B   LATORA       HOWARD                   NC          90014041248
52376467998B2B   JANIQUIA     HOWARD                   NC          11063764679
52376581772B43   JESUS        BURSIAGA                 CO          90015305817
523766A3855951   GRACIELA     MENDOZA                  CA          90006006038
52376728872B49   TODD         RICHEY                   CO          33039557288
5237673A24B588   JESSE        HALEY                    OK          90013227302
5237693772B27B   GARNISHA     VALENTINE                DC          90014809377
5237699A661975   DAVID        RAMIREZ                  CA          90013119906
52377487172B49   OVERTON W    LAURIE                   CO          90012944871
523783A2672B43   DOUG         WILLIAMS                 CO          33046013026
52378689A72B27   CATARINA     ESPINOZA                 CO          90013856890
5237869AA61965   ROXANA       TORRES                   CA          90012606900
52379674372B27   MELISSA      CHAVES                   CO          90004536743
52379747797B54   BRIANNA      MORALES                  CO          90013167477
5237987427B46B   MICAH        COX                      NC          90012048742
52379A85591587   DALIA        ALVAREZ                  TX          90012380855
5237B648351348   MUARA        RAMIREZ                  OH          90013486483
5237B6A425B531   CHASITY      MARTINEZ                 NM          90012326042
5237B77884B521   MARIAHNA     DAVIS                    OK          90014187788
5237B81455B387   MONIQUE      MORRELL                  OR          90007398145
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5237B987791587   JAIME          MESA                   TX          90005969877
5237BA66231692   DANIELA        CHAVEZ                 KS          90012940662
5238124564B588   BLANCA         OCHOA                  OK          90008152456
523817A275B531   YOANNET        LAGO-PENA              NM          35056697027
523817A4461971   BRISDA         VELARDE                CA          46081587044
52381A87272B36   FLORA          LOPEZ                  CO          33076080872
52381A93597B54   DONA           BURBACK                CO          39004610935
52381AA2784357   YVETTE         BROWN                  SC          14535480027
52382666A72B49   ANGEL          GONZALEZ               CO          90012366660
52382691472B43   IRMA           HENRIQUEZ              CO          90012886914
5238271555B531   LUIS           CANALES                NM          90013267155
52382784172B27   NICHOLE        BAILE                  CO          33090757841
5238314A78B169   LINDSEY        LEE                    UT          90015451407
523833A6991895   CHELSEA        GROGAN                 OK          90014233069
5238384555B391   KEALLI         AIWOHI                 OR          90012648455
52384311472B27   MARIA          DE LEON                CO          90007263114
52384A84672B49   KIM            HUGHES                 CO          90014570846
5238519155758B   EUGENE         RAMIREZ                NM          35590931915
52385433672B43   KIMBERLY       TESKE                  CO          90014704336
523855A6561971   CLAUDIO        LOPEZ                  CA          46005465065
5238574277B46B   JUAN           SANTOS                 NC          90012917427
5238589A433696   MARTHA         SAWYER                 NC          12079328904
52385A33261973   CHRISTINE      MENDOZA                CA          46011210332
52385A6A35B283   JOHN           MARQUIS                KY          68089620603
5238733278B12B   VICTORIA       PIENU                  UT          90005523327
52388179A91587   JOEL           REYES                  TX          90013951790
52388481A33699   SANDRA         GUNNING                NC          90014884810
5238877667B46B   SHANELL        SANDERS                NC          90013127766
52388A9425B399   WYATT          VREELAND               OR          90012960942
52389464672B49   KIMBERLY       LIF                    CO          90012864646
52389A17A4B521   LEVI           DICKERSON              OK          90011890170
52389A3789132B   GERALD         SYKES                  KS          29081450378
5238B17324B28B   JULIANNA       CAMPOLITO              NE          90013761732
5238B299A61965   JOSE           VALDIVIA               CA          90006202990
5238B565391895   ROBERT         EASTIN                 OK          21067215653
5238B58A45B531   JEROME         GURULE                 NM          35060195804
5238B693293724   DEVANTE        BARNES                 OH          90013826932
5238B74845B283   STACEY         CARDWELL               KY          68060157484
5239184AA71964   ELIAS          QUINONES               CO          90001228400
523918A8272B67   MIRIAM         LOPEZ                  CO          33044738082
5239272554B287   BURDETT        HEIDEMANN              NE          90006667255
523931A265B399   AMANDA         LIPPS                  OR          90005801026
5239325457B46B   DAVID          WILLAMS                NC          90010622545
5239328584B521   ADELINE        DAVENPROT              OK          90014432858
523933A3597B54   FANYA          ARMENDARIZ             CO          90014983035
5239364A57B385   RUDY           ARISBE                 VA          90008806405
523938A5197B54   ERICKA         JUMENEZ                CO          90015028051
5239393724B521   ADELINE        DAVENPROT              OK          90010299372
5239398745B387   AUTUMN         WHITECLOUD             OR          90014549874
52394484324B7B   JOSE ANTONIO   ARGUETA                VA          90006494843
5239458A291348   ARTRINA        KING                   KS          90011105802
52394727A72B77   MIKE           LONG                   CO          33064887270
5239481A961965   MIRNA          AMADOR                 CA          90014658109
5239525344B521   MARK           LOWRY                  OK          90010312534
52395666897B54   RICK           JORDAN                 CO          39039956668
523956A1872B36   JUAN           GUERRERO               CO          33072506018
523962A8A5B399   NICK           CARATTINI              OR          90012682080
52396385A4B588   MARIA          RUIZ                   OK          90014373850
5239713325715B   STEPHANIE      HANNA                  VA          90005131332
52397444497B54   JON            SAMSON                 CO          90012884444
5239754334B543   ROSE           COX                    OK          90012125433
52397638898B2B   JANIA          EARLY                  NC          90005806388
5239844255715B   MIRIAN         RODRIGUEZ              VA          90000764425
52398775A72B43   MARK           ALLEN                  CO          90014987750
5239972594B588   MEIDRA         PHILLIPS               OK          21557337259
523997A9472B36   MICHAEL        GARCIA                 CO          90015097094
52399844798B2B   ERIC           MILLER                 NC          11073968447
5239B561355951   ADILENE        CRUZ                   CA          49087655613
5239B6A7271964   CHARLES        MARTIN                 CO          90007706072
523B127875B399   ERIK           MATEO                  OR          44560642787
523B24A5A8B169   MORRESI        LOUSIS                 UT          90008474050
523B294157B46B   STEPHEN        MILLER                 NC          90013879415
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523B3253898B2B   ENRRIQUE    GOMEZ                     NC          90005392538
523B3414572B49   JENNIFER    DEWING                    CO          90010194145
523B3525744363   DEMETRIUS   ODANIELS                  MD          90015435257
523B3899461975   MARTHA      VALDEZ                    CA          90014618994
523B4194191895   MICHELLE    GREGG                     OK          90014231941
523B433A572B49   MIGUEL      GUERRERO                  CO          33019033305
523B434A897B54   SOFIA       VELASQUEZ                 CO          39086623408
523B4644124B7B   JOSE        GARCIA                    DC          90012626441
523B557244B521   ROBERT      KERNS                     OK          90014185724
523B657464B521   KAMEELAH    CALDWELL                  OK          90014185746
523B7227A91587   YOLANDA     BARRAZA                   TX          75029832270
523B757464B521   KAMEELAH    CALDWELL                  OK          90014185746
523B776197B46B   BRITTANY    HEARN                     NC          11011127619
523B7791A72B67   HILDA       AGUILAR                   CO          33065217910
523B8263972B88   IMCS        LLC                       CO          90003232639
523B884938B169   GASPAR      GERRERO                   UT          90007118493
523B886A172B49   GLORIA      PINEDO                    CO          90006928601
523B8A53A5758B   CAROL       PENA                      NM          90008990530
523B9724672B36   JAVIER      RAMIREZ                   CO          33078967246
523B981984B936   LEA         MAYK                      TX          90006228198
523B983282B272   KATHY       JACKSON                   VA          81014688328
523BB29A257157   MARYANN     DOMIGPE                   VA          90013012902
523BB634A84357   MAXIE       OLIVER                    SC          90010086340
523BB941A72B49   JUSTINE     GOMEZ                     CO          33087019410
52411351772B27   SHERRY      LEE                       CO          33051083517
5241146A261973   LETICIA     RAYOS                     CA          46081724602
5241154974B28B   ALFA        LABRA GARCIA              NE          90008015497
52411624272B49   KYLE        STEED                     CO          90013826242
52411AA152B27B   FRANCISCO   GONZALEZ                  DC          81047000015
5241324945B387   LOELL       NOBLITT                   OR          90015382494
5241342A451348   COLLEEN     KOHNE                     OH          66025234204
52413544872B49   MARIA       CARRILLO                  CO          90011325448
5241356388B169   ATKNSON     ELENIOR                   UT          90003655638
52414147172B49   EVA         DARDANO                   CO          33001941471
52414419472B27   ZACH        EVANS                     CO          33012894194
5241446245B399   FELIX       ESTARDA                   OR          90008974624
5241544A997B54   JESSICA     ROBINSON                  CO          39083084409
5241623964B28B   LEANN       HYATT                     NE          90011322396
52416338224B45   RAINEY      CHANDLER                  DC          90007923382
524166A6155964   ESTEBAN     REYES                     CA          49002626061
52416A2178B597   RUDOLFO     LOPEZ                     CA          90014470217
5241718595B531   ASHLEY      DURAN                     NM          90010801859
5241728A233696   TRAVIS      TRAPP                     NC          90014142802
5241757325758B   ALFREDO     BARRON                    NM          90014885732
5241778A631429   RACHAEL     ROY                       MO          90005857806
52417A24872B34   RICKY       RUYBAL                    CO          90000910248
52418A77897B54   PATRICIA    HERNANDEZ                 CO          90009000778
52419A75131429   DAVID       COTTON                    MO          90006280751
5241B185897B54   LILIANA     RUIZ                      CO          90012211858
5241B85634B28B   DAVANDIS    MILLER                    NE          90010588563
524212A958B169   LARK        FORSYTH                   UT          90015112095
52421363397B54   RICARDO     MORENO                    CO          90013213633
5242138917B46B   JERITA      JONES                     NC          90014723891
5242192285758B   ERNESTO     VELAZQUEZ                 NM          90002169228
52421A32372B62   SOPHIE      CARTER                    CO          90010240323
52421A58961965   PEDRO       CADENA                    CA          90014950589
5242235A493724   ANDREW      MINNIX                    OH          90013293504
52422375672B36   DOLORES     MARTINEZ                  CO          33008523756
52422845A2B27B   QUINTES     JEWEL                     MD          90015418450
5242287145758B   ELLEN       REEVES                    NM          35500908714
5242489A15758B   SUMMER      PROVENCIO                 NM          90012358901
524251A1A91895   THERESA     LANKSTER                  OK          90004881010
52425247872B36   CHRISTINE   MEDINA                    CO          90013512478
5242535824B28B   SYLVIA      SEYMOUR                   NE          26013833582
5242536A871964   JENAE       MIXER                     CO          90011603608
524256A8972B43   DIRK        BOUDRIAU                  CO          33006356089
52425831198B2B   RAENIECE    WILKERSON                 NC          90009068311
52425973497B54   ROGELIO     ESTRADA                   CO          90013189734
52427291572B27   MICHELLE    CAUDILLO                  CO          90014622915
524278AA85758B   MARIADORA   DORADO                    NM          35589648008
52427A1A161973   RODRIGUEZ   DAVALOS                   CA          90002290101
52428459A5B387   LORINE      RAVOLLE                   OR          90010194590
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524286A8655951   ROSE        ROSE                      CA          49009486086
52429917772B49   CARMEN      URANGA                    CO          90014369177
52429A83433696   BRENDA      VASQUEZ                   NC          90012780834
5242B481251348   MARIE       BRANTLY                   OH          90007524812
5242B569898B2B   ROSARIO     DELGADO                   NC          90005395698
5242B56A961965   JACOB       BOMMER                    CA          90013405609
5242B831433696   JAVIER      FIGUEROA MEJIA            NC          12090938314
52431141A2B27B   AHTAHZSA    STEVENS                   DC          81087511410
5243174427B46B   ASTHLEY     HILL                      NC          90010947442
52431892872B43   ADOLFO      RAMIREZ RUCOBO            CO          90005748928
52431A15793754   ROBERT      WITMAN                    OH          90007660157
5243257612B973   CARMINA     DELGADO                   CA          90005195761
52432A44A5B387   TINA        MATTHEW                   OR          90006600440
524331A147B46B   TENEAL      SHANNON                   NC          90009951014
524332A5561975   VANESSA     GONZALEZ FLORES           CA          90013702055
52433AA5831429   ROBERT      BROWN                     MO          90005860058
5243463117B46B   SMITH       KAREEN                    NC          11023786311
524346A1757157   JOSE        BENITEZ                   VA          90009006017
52435481A33699   SANDRA      GUNNING                   NC          90014884810
5243573A161965   OSCAR       GUTIERREZ                 CA          90012617301
524358A6A91895   DALIQUA     FOWLKES                   OK          90011158060
5243711A15B387   JENNEL      BROWN                     OR          44541441101
524385A8891968   VERNON      FARR                      NC          90013545088
52438A39A7B46B   SANTORIO    ALSTON                    NC          90013010390
52438A7A957157   DEBRA       BOWER                     VA          90007620709
5243959A191587   JESUS       ESTRADA                   TX          75091925901
5243B429972B49   JESUS       BUSTAMANTES               CO          90000944299
5243B636A5B387   GARY        DECKER                    OR          90004906360
5243B651751348   JUNE        JOHNSON                   OH          66003296517
5243B9A7A33699   TONYA       WILLIAMS                  NC          90005239070
5243BA1555B283   MARY        SHELTON                   KY          68005150155
5244128348B169   VERONICA    PINON                     UT          90010482834
52441423A5B283   AVELLA      SMITH                     KY          90014864230
52441656972B43   JOSE        SALASHERNANDEZ            CO          33064046569
52441A46261975   WILLIAM     CHARLTON                  CA          90014780462
5244212A672B77   GABRIEL     GURULE                    CO          33048611206
524423A9A5758B   MIKE        PENA                      NM          90013533090
52442544872B77   GABRIEL     GURULE                    CO          90011505448
5244315AA51348   DAWN        ORNELAS                   OH          90008711500
5244336497B46B   GLENN       HOPKINS                   NC          90002003649
52443474524B7B   GERALD      AGUILAR                   DC          90013044745
524435A9861971   KENDRICK    SMITH                     CA          90008125098
5244374397B35B   INMAR       CEDILLOS                  VA          81063947439
524447A854B521   ERICA       GUNTER                    OK          90015097085
52445466272B43   STEPHANIE   TRUJILLO                  CO          90011004662
52445639A97B54   JAIME       AGUIRRE                   CO          90013346390
52445833A61971   VERONICA    GARCIA                    CA          90007698330
524461A2455951   KAYLA       LEE                       CA          49034461024
52446775A2B27B   JESSICA     BELL                      DC          90010787750
5244687335B165   MICHELLE    NAGODE                    AR          90006648733
52447256672B36   LYNN        REDDELL                   CO          33035422566
5244754235B531   DORIS       RIVERA                    NM          90015115423
52448237A61971   ROJ         ALI                       CA          90006832370
52448A4975758B   TANIA       LOPEZ                     NM          90008940497
52449283172B77   WENDY       WILSON                    CO          33048612831
5244B74394B521   SMITH       SHALANDA                  OK          90006877439
5244BA58161973   ANTONIO     CEJA                      CA          90005120581
524515A8833696   DREZ        WHITE                     NC          90010665088
52451A5694B556   CONNIE      THOMPSON                  OK          90009730569
52452147372B43   JEFF        SCOTT                     CO          90013891473
5245243A633699   ASHLEY      BALLEW                    NC          90005604306
5245291874B521   PENNY       HOWELL                    OK          90014499187
52452A85657157   LEWIS       GILES                     VA          90007620856
52453AA397B46B   MICHAEL     SMITH                     NC          11063910039
5245411A191587   WILLIAM     YAMASAKI                  TX          90003091101
5245413914B521   ROBERT      KINNETT                   OK          90014211391
52454196872B43   JOSE        CONTRERAS                 CO          33005471968
5245432317B46B   CAYETANO    CRUZ                      NC          90012433231
52454743997B54   BILL        VARELA                    CO          90015227439
5245565868B169   CHRIS       AUSSEM                    UT          31010396586
524562A1784373   TERESA      BEUKEMA                   SC          90008362017
5245633267B46B   ELVIS       HEDGEPTH JR               NC          11016083326
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5245647655B543   SANDRA           HERNANDEZ            NM          35083504765
52456557A84357   TANYTH           PORTER               SC          90007065570
52456853472B49   JUANITA          TINAJERO             CO          33094028534
5245686415B387   JESSICA          JACKSON              OR          44521838641
52456899A72B36   MARK             REED                 CO          90013988990
5245723255B399   ANGELA           LOPEZ                OR          90014782325
52457264A93724   LUU              JAMA                 OH          90010122640
5245843A184852   JAIME            BEDOLLA              NJ          90015064301
5245948915B399   ELIDIO           ORTIZE               OR          90012264891
5245968229198B   AMY              SLIKE                NC          90011056822
524599A268587B   FERNANDO         MARTINEZ             CA          90002649026
5245B114A72B27   GEORGE           BURGERMEISTER        CO          90011011140
5245B412461975   JON              BAGGERLY             CA          90006104124
5245B966784373   TROY             NELSON               SC          90007239667
5245B97475B229   LIZET            SOLANO               KY          90013929747
5245BA7435758B   DAVID            VALENZUELA           NM          90009940743
52461641A72B36   VINCENT          BURROUGHS            CO          90009626410
5246177372B27B   MAYNARD          CHANDLER             DC          81025177737
5246184A584373   HOPE             FULMORE              SC          90014588405
52461A5565B393   CESAR            RAMIREZ              OR          44597800556
52462138572B43   MICHELLE         VONDS                CO          90015201385
5246219AA7B46B   SANTOS           TELLEZ               NC          90011381900
52462A36991895   ELIZABETH        MANZANO              OK          90009120369
5246376A872B67   STEVEN           ARELLANO             CO          90002797608
524637A4733699   JENNIFER         CAUDLE               NC          90011077047
5246441A161971   ROBERT           BRINGINO             CA          90010424101
5246451274B521   STEPHEN          CALHOUN              OK          90010645127
52464596A5B531   SELINA           BLACO                NM          90014365960
5246471385B264   APRIL            ALFORD               KY          90005227138
52464A63261965   JALISSA          SNOWTEN              CA          90014510632
52465524172B36   PERRY            POLLET               CO          33092385241
5246582163B377   JOHN             GUSICK               CO          33097998216
52466259172B77   SAIDA            MARQUEZ              CO          33083742591
52467476672B36   GARY             GURULE               CO          33051134766
52467A5344B588   DEBRA            BRUCE                OK          90012730534
52468961972B49   THYIAF           BROWN                CO          90010469619
52468A21693724   REGINA           BROOKS               OH          90001380216
52468A62997B54   ESPERANZA        MOLINA               CO          39019450629
5246964138B169   MICHAEL          RAMEY                UT          90012846413
52469851172B77   ALANIS           GOMEZ CORRALES       CO          90011098511
5246B28147B46B   NATANAEL         HERNANDEZ            NC          90013372814
5246B466272B43   STEPHANIE        TRUJILLO             CO          90011004662
5246B642491587   CHRISTINA        GUERRERO             TX          90009286424
5246BA99672B36   FRANCISCO        AYAQUICA             CO          33060730996
524716A3533696   MIKE             LOWRY                NC          90014116035
5247219A85758B   MANUELA          CORRAL               NM          90014651908
52472349572B36   JAQUELIN         RAMIREZ              CO          33090803495
5247241214B28B   ANBER            ROBIN                NE          90005564121
52472467A31428   SHANNIS          MCCOLLIER            MO          90002844670
5247249334B588   KENNETH          BAKER                OK          21557314933
52472939572B67   MICHELLE         GONZALES             CO          33002179395
5247332315758B   LYDIA            LERMA                NM          90009533231
52473856372B49   BLACK-GREENING   ARIEL                CO          90009658563
52474881A57157   CLAYTON          SHUTTS               VA          81005748810
52474AA724B588   VERMA            PAPA                 OK          90013480072
5247549334B588   KENNETH          BAKER                OK          21557314933
524759A2191584   TONY             LITTLEPAGE           TX          90001229021
5247638A791587   ADRIANA          BALTAZAR             TX          90010393807
52476671124B76   JOHN             JOHNSON              DC          90005066711
52477971172B36   SHANNON          HOILAND              CO          33007699711
5247829A257157   MARYANN          DOMIGPE              VA          90013012902
5247898755B387   MIRNA            SANTOS               OR          90009029875
52479117972B27   ANA              VELAZQUEZ            CO          90002311179
52479314472B77   MARGARET         MANZANARES           CO          90008373144
5247935A161973   AMELIA           SALAS                CA          90004043501
52479634272B36   ATHENA           ROYS                 CO          33011576342
5247988A78B169   KENNETH          SWING                UT          90003398807
524798A654B936   PAYGO            IVR ACTIVATION       TX          90012318065
52479A3257B46B   BREISI           MAZARIEGOS           NC          90014680325
52479A43557157   MARTHA           ORELLANA             VA          81081230435
52479A52372B67   GUILLERMO        TRUJILLO             CO          90006950523
5247B255472B88   MICHELLE         LONG                 CO          90007022554
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5247B25548B169   JODI             J TEETER             UT          90014332554
5247B277491895   COURTNEY         LEWIS                OK          90013132774
5247B29A25B399   TEPI             EKLEBERRY            OR          90014542902
5247B67865B399   ANDERW           SCHWAB               OR          44565766786
5247B69495758B   CASSANDRA        HERNANDEZ            NM          90007236949
5247B857261973   ALEJANDRA        BONILLA              CA          90006188572
5248136145B387   ERIC             HENDRICKSEN          OR          90010253614
5248163562B27B   JONICE           ROBINSON             DC          90012796356
524816A9872B49   KAREN            OSBORNE              MT          33025006098
5248175974B588   TAMEEKA          MOLDEN               OK          21583777597
5248221435B283   TARYN            KLEINHENZ            KY          68056842143
5248242725B531   ARACELI          CABELLO              NM          90006414272
52482956372B88   MAGDALENA        GARCIA               CO          33077969563
524829A672B241   MIYAH            DIVA                 DC          90005009067
5248352744B28B   KELLY            REA                  NE          90007985274
5248469A15B399   CONRAD           CONRAD               OR          44566476901
52484712A72B67   MARCELO          MADERA CABRAL        CO          33084507120
5248514984B28B   CAMI             BURCHETT             NE          90007951498
52485512997B54   MICHAEL          PALSER               CO          90014265129
52485872A72B33   MARGARITA        GUERRA               CO          90013668720
5248618A197B54   EDWARD           BOYLE                CO          90010951801
5248628277B46B   NERISSA          NEWTON               NC          90014052827
5248683845B387   DEBBIE           ROBER                OR          90014858384
5248726155B387   MARGARITA        LOPEZ                OR          44504852615
52487358A61965   PHYLLIS          BALL                 CA          46055703580
52488197A5758B   RUBY             CALDERON             NM          35522101970
524889A5333696   GRIR             JEFFERYS             NC          90013999053
52488A6A297B54   GABRIELA         CHUAVIRA             CO          39062490602
5248933965B283   PHILIP           HARNED               KY          90004243396
52489755472B36   JAMES            CHANEY               CO          33086917554
5248984964B588   ANTEALA          DAVIS                OK          90014438496
52489883597B54   CAROLANN         SEGURA               CO          90014818835
52489981A98B2B   TANYA            RUFF                 NC          90005419810
5248B379271964   JOE              MARTINEZ             CO          32091753792
5248B66165758B   ELIA             DELAISLA             NM          90012456616
5248B77532B866   TINA             BUSBY                ID          41049947753
5248B942772B49   MOISES           JUAREZ               CO          33070509427
52491174A42335   STEVEN           GIBSON               GA          90010981740
5249127355B543   NIDIA            HERNANDEZ SEHUE      NM          90001862735
52491656697B54   JAVIER           PORRAS               CO          90006726566
52491961724B7B   IMELDA           REMPSON              DC          90012139617
52492356272B77   BRITNEE          BELL                 CO          33082143562
524923A9272B67   TAMARA           CORDOVA-PEREZ        CO          33057183092
52492523A98B2B   JOSEPHINE        TUCKER               NC          90006785230
5249269595B387   TANYA            PERRY                OR          90013796959
5249375917B46B   DEWANNA          REYES                NC          90010527591
52493871424B7B   TRIXIE           ARGUETA              VA          90012498714
5249437AA61975   ERIKA            RODRIGUEZ            CA          46034373700
52494A4914B28B   PAUL             YATES                NE          90009780491
52495742253B96   JOEY             AGUIRRE              CA          90014567422
52496348972B36   NICOLE           TRAVIS               CO          33021633489
52497459297B54   ADAN             VANEGAS              CO          39096834592
5249829A793724   RIGOBERTO        OSNAYA               OH          90002592907
524982A6391587   STEVAN           RIVERA               TX          90013952063
5249858565B399   JOHNNY           DAVIS                OR          90014175856
5249858A15B387   RICHARD          LORD                 OH          44543605801
524993A8761965   IRMA             EDMINSTER            CA          90015293087
52499951572B43   JOSEFINA         PEREZ                CO          90013239515
52499A64833696   ISAI             FIGUEROA             NC          90013050648
5249B933491895   ROCHELL NICOLE   OFFICER              OK          90014239334
524B1189577365   JOYCE            ADAMS                 IL         90014821895
524B1527A2B27B   MARCUS           ROBERTSON            DC          90013175270
524B1557772B36   CATHERINE        RAML                 CO          90012175577
524B22A7784357   JANNIE           HOLMES               SC          90014902077
524B2739833699   JOSHUA           BOWLES               NC          90008927398
524B27A3684373   RASHAWNDA        GATHERS              SC          90014587036
524B2836A5B387   SEAN             BROWN                OR          44531528360
524B29AA32B27B   DILWAR           HUSSAIN              VA          90004609003
524B3161833699   EVERTON          BLAIR                NC          90013981618
524B3431A58577   ROBBIN           DAVIS                NY          90015414310
524B351335B399   TRINA            CHAPPELLE            OR          90011605133
524B351645B531   MARK             WADE                 NM          35028165164
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524B3547561971   GILBERT           SHANGOO             CA          90012615475
524B375A872B49   ALMA              MANCERA             CO          33066917508
524B4211872B88   ZAIDA             SOLAREZ             CO          33060462118
524B5141872B67   MARKELIA          BANKSTON            CO          33009971418
524B5663291895   DANIEL            NUNN                OK          90009446632
524B5784961971   RICARDO           MAYO                CA          90013817849
524B6537933696   QUATESHIA         BLEDSOE-MILLER      NC          90014125379
524B6586572B36   MARIA             CHAVARRIA           CO          33014805865
524B69A955B399   BLAKE             JESSUP              OR          90014549095
524B6A4667B46B   JOSEFINA          FELIPE JUAREZ       NC          90013470466
524B7178672B36   JOSE              MARTINEZ            CO          90006661786
524B7659261936   ISSAC             JUAREZ              CA          90008886592
524B7815193724   SHANNA            MILLS               OH          90013018151
524B782985758B   GABRIELA          LARIOS              NM          90013928298
524B865858B169   CARLOS            LAGUNA              UT          90009266585
524B913872B27B   PAUL              NICHOLS             DC          90012641387
524BB248551348   TONY              WEIGLE              OH          90005472485
524BB31565758B   STEVE             HERNANDEZ           NM          90013693156
524BB329361971   VONTINA           CLARK               CA          90009913293
524BB46A472B27   HENRY             KING                CO          33009994604
524BB52912B27B   CHENIKA           TORNEY              MD          90015535291
524BB7A3A5B399   BLANCA            VILLATORO           OR          90007587030
524BBA56624B7B   CAMERON           HOWARD              MD          90013030566
52511A49A61971   MICHAEL           SUTHERLAND          CA          90014160490
5251355434B588   DAVID             CASE                OK          90014855543
5251372A472B2B   REGINALD          THIBODEAUX          CO          33002567204
52514344372B67   KELSEY            ELLIOTT             CO          33061883443
52514422372B35   DANNY ANTOINE     AGUIRRE             CO          90010504223
5251514435B387   MARIA             SANDOVAL            OR          90012691443
5251548A75B244   ERIC              GRAY                KY          68068794807
525155A945758B   TERESA            PACHECO             NM          35509285094
52515613A61971   JERRED            RAMEY               CA          46049026130
525163A574B521   MIGUEL            ESTRADA             OK          90011153057
52516539372B67   RONALD            CHAVEZ              CO          33052285393
5251654825B561   JUAN              MARTINEZ            NM          90013555482
52516643772B49   PICI              PARDO               CO          90006576437
52517333597B54   COLTON            INGRAM              CO          90008863335
5251779459196B   LATOYA            ANDERSON            NC          17010197945
52517981A61975   RICHARD           RUIZ                CA          46019569810
525181A7361971   SYLVANIA          DUNN                CA          46014711073
5251822185B531   LEANDRO           BELTRAN             NM          90006592218
52518374A51348   HARLOD            BOMAR               OH          90011113740
5251846A191895   KEIA              SWALL               OK          21099654601
5251889A584373   MAURICIO          GARCIA-ALEJANDRO    SC          90015198905
52518A2494B521   BRANDY            GALLARD             OK          90011090249
525192A2184373   MEGAN             ELMORE              SC          90000622021
5251B55714B28B   DEANTE            JONES               CA          26096305571
5251B698843524   ORIBIO            EVA LUZ             UT          31006256988
5251B891851348   SIMEON            DEMUS               OH          90014028918
5252138A533699   KEVE              ROLLE               NC          90012873805
52521896472B43   BRIANNA           CISNEROS            CO          90010928964
5252194594B588   KAREEM            LOCKHART            OK          90012549459
5252252A851348   MARSHAL           MCGHEE              OH          90015155208
5252297795B244   STEVE             KINNINMONTH         KY          90014399779
52522A5934B588   TRACEY            RODRIGUEZ           OK          90009780593
52523315872B36   DEANA             TRUJILLO            CO          90015213158
52523829972B27   JACK              MARTIN              CO          90011668299
52523956572B43   JUSTIN            COOPER              CO          90008969565
52524128197B54   FIDELA            HERNANDEZ           CO          39065611281
5252474694B588   SANUCIA           LEE                 OK          90013227469
5252534185B399   TIMOTHY MICHEAL   DETJEN              OR          90012143418
525258A414B588   MARIA             MANCERA             OK          21557298041
5252763528B169   MICHELLE          ROBBINS             UT          31058406352
5252787644B588   BRIDGETT          CRISWELL            OK          90012798764
52528475A8B169   REYNA             GARRIDO             UT          90010564750
5252916A272B36   DAWN              HUFFMAN             CO          33012001602
52529232A84373   TYRA              JOHNSON             SC          90013112320
5252935698B183   DEBORAH           SMITH               UT          90013703569
525297A5172B49   STEVENSON         MIKE                CO          33040597051
5252B47894B588   FELIPE            SANCHEZ             OK          90015104789
5253229537B46B   EVELYN            ROMAN               NC          90010742953
5253296935715B   CARLOS            ESCAMILLA           VA          81041309693
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5253317A372B36   MIREYA       DE LA PAZ COSIO          CO          90015121703
5253352A38B169   JENNIFER     MCTAGGART                UT          90011355203
5253455124B28B   NICHOLE      TROUBA                   NE          90013015512
52535141672B43   KLAUD        BANKS                    CO          33017921416
5253525545B543   ANNABELLE    SAENZ                    NM          35024222554
525354A255B399   YOLANA       KUZMENKO                 OR          90013754025
5253554745B531   NOEL         LUCERO                   NM          90014865474
5253584A484373   DARLENE      PERPRUNER                SC          90012098404
525362A887B46B   MEESSOOO     CEELO                    NC          90002522088
5253698A761973   DONNA        BREWSTER HALL            CA          90011219807
52537149172B43   CONSUELO     LOPEZ                    CO          33065981491
5253725237B397   JUAN         BONILLA                  VA          90002252523
525372A7872B88   IAN          BORSICK                  CO          33071392078
5253739928B169   MIKE         MANNING                  UT          90014313992
5253776944B521   MARIA        VELASCO                  OK          90015167694
5253836975B387   HAROLD       GRIFFIN                  OR          90009493697
5253848AA4B521   BERNARDINO   GARCIA                   OK          90015334800
5253863625B399   STEFANIA     SHEA                     OR          90007446362
525389A6672B77   MONIQUE      TORRES                   CO          33036829066
52539728A84357   LAVONNA      BRYSON                   SC          90012507280
5253B314172B27   JAMES        MCFATE                   TX          33022383141
5253B646972B49   CRISELDA     PEREZ                    CO          33085886469
5253BA3944B588   MANUEL       BAZZA                    OK          21562340394
52541212A33699   EUSEBIA      BAUTISTA                 NC          90010772120
525416AA94B521   DAWNE        COLLINS                  OK          90009676009
52541724172B43   LORETTA      CAMPBELL                 CO          33097917241
5254225174B588   AALIYAH      HARJO                    OK          90013362517
5254235655758B   CHRIS        ARAGON                   NM          35564693565
52542555A61973   CARLOS       CALLEJAS                 CA          90009055550
52542A7375715B   JAIME        RIOS                     VA          81054830737
5254314917B46B   PAOLA        LARA                     NC          11040131491
525437A5361973   EDUARDO      MARTINEZ                 CA          46030107053
525439A9A5B531   JESSICA      GARZA                    NM          90013779090
525441A3791587   MARIBEL      FLORES                   TX          90011371037
525441A545B531   JULIE        BANGERT                  NM          90001001054
5254427675B531   ROSALYN      TORRES                   NM          35039092767
5254498925758B   SHARLOTTE    TELLEZ                   NM          90014019892
5254533665B393   VERONIA      HERNANDEZ                OR          90011983366
52545A35684357   CAROL        STEVENSON                SC          90009890356
52545A5A461975   ALEJANDRO    LOMAS                    CA          90014780504
52546389372B49   CARRIE       KARPOWICH                CO          90012403893
5254751915B393   RANDI RICK   FOX -BLEHM               OR          44588785191
52547555697B54   BRIAN        REED                     CO          90006915556
5254793428B169   JEENA        MINER                    UT          90014149342
52548297A97B54   JAMES        NAULLS                   CO          90012742970
525483A565B399   MARIO        REYNOLDS                 OR          44594433056
525485A3271964   KAY          CRAWFORD                 CO          90011615032
5254949762B27B   ALEXIS       ABERNATHY                DC          90013214976
5254972334B588   PATRICIA     WALKER                   OK          90012387233
5254B16594B28B   JENNIFER     BROPHY                   NE          26073391659
5254B246257157   NATASHA L    RISE                     VA          90015232462
5254B359924B7B   JOSE         VERMUDEZ                 MD          90014963599
5254B71A984373   JOHN         RICHARD                  SC          19078577109
5254B85572B27B   DANIEL       MICHAELIS                DC          90015478557
5254B86315B531   JUAN         CHAVEZ                   NM          90013918631
5255113A872B88   HERNANDEZ    BYRON                    CO          90012491308
5255143495758B   LORI         HERNANDEZ                NM          90010334349
5255148445B393   MIKHAIL      YASINSKIY                OR          44560974844
52552399A72B27   SARA         MORALES                  CO          33098233990
5255394A693724   REGINALD     CARTER                   OH          90011719406
52554492A7B46B   JACINTA      SANDERS                  NC          90010284920
525549A7691351   LOUANNA      DAVIS                    KS          90009179076
52554A61661975   BRIAN        DOMINGUEZ                CA          46041320616
52555818A91587   FRAGOSO      RUTH                     TX          90010248180
5255587494B521   YOLANDA      CHAVEZ                   OK          90015118749
52555896872B49   ANGELA       GOSS                     CO          33012558968
525559A814B28B   JONI         OLBERDING                NE          90010019081
525562A175715B   VERONICA     GUERRA                   VA          90013272017
525563A535B387   RAFAEL       DELOSSANTOS              OR          90011063053
525564A125B531   JULIO        QUEZADA                  NM          90011014012
52556587397B54   ROSA         FLORES                   CO          90013055873
52556A8842B27B   TAQUAN       HOWIE                    DC          90014410884
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5255728334B521   GARY        HALL                      OK          90009182833
525583A5772B36   VICTORIA    STARKS                    CO          33029253057
5255911128B169   THAIN       ANDERSON                  UT          31047741112
5255911A84B28B   QUENTIN     MCCULLOUGH                NE          90013391108
525593A775B387   JEFF        BUTLER                    OR          44516413077
52559713497B54   EDWARD      RODMAN                    CO          90013737134
5255975A55B531   MONIQUE     TAVAREZ                   NM          35092627505
5255B397791895   ALEXANDER   WALLACE                   OK          90013133977
5255B51415715B   JESSICA     JAMES                     VA          81041325141
52561359772B49   RYAN        PURCHASE                  CO          90010723597
5256198A84B28B   MICHELLE    REA                       NE          26084469808
52562A5217B46B   BRYAN       AUTEN                     NC          90014930521
52563A1A871964   CANDACE     FINCH                     CO          32008110108
5256544655758B   VICTOR      PAYAN                     NM          90010724465
5256559152B27B   HANA        WOLDEKIDAN                DC          90009445915
525655A954B588   JOSEPH      ARMENTA                   OK          90010895095
5256687935B531   JERYN       CERVANTES                 NM          35071908793
5256715934B28B   CORY        JOHNSON                   NE          26061151593
5256771375B393   ANDREA      SHETZLINE                 OR          44580917137
52567986A4B28B   BRITTANEY   CULVER                    NE          90010059860
52568138A61975   PATTY       SANDOVAL                  CA          90014381380
52568214A72B43   JOSE        JAUREGUI                  CO          90015122140
5256867315B387   VIVIAN      LIHPAI                    OR          90014666731
5256883622B27B   CARL        COURTNEY                  DC          90014738362
5256894A342335   SHERRY      CURTIS                    GA          90004369403
5256915A74B521   MEAGAN      GADDIS                    OK          90014211507
52569527472B67   ESPERANZA   MENDIOLA                  CO          33089085274
5256B66A497B54   JORGE       FLORES                    CO          90014226604
5256BA53461971   MICHAEL     PALMIOTTO                 CA          90013980534
5256BAA1A72B36   OTONIEL     RODRIGUEZ MUNOZ           CO          90014390010
52571156A71964   DON         OHAGAN                    CO          32091841560
52571417397B54   RICHARD     BUCKENDORF                CO          90009784173
525714A9957157   PHILIP      NYUAH                     VA          90007424099
52571544172B36   VENITA      PETTEWAY                  CO          33092965441
5257184A961975   PAULA       LINNER                    CA          90012578409
5257248728B169   WILLIAM     SMITH                     UT          31014744872
525727A474B28B   GREG        SCHUBERT SR.              NE          26071047047
52572A8A551348   ANGELA      WEGMAN                    OH          90010980805
5257316A772B67   DRAGANA     HUSIDIC                   CO          90002391607
5257318A933696   VIVIAN      MORROW                    NC          90012581809
52573743A57157   ISABEL      MANZANAREZ                VA          81055317430
52573792172B36   ANGELO      VIGIL                     CO          90014697921
52574774472B36   DARRELL     MATHIS                    CO          90009837744
5257478344B521   SABRA       DENSON                    OK          21550967834
5257494A471964   WALTER      MIRANDA                   CO          32066739404
52574954A2B27B   ASHLEY      DAMES                     DC          90013419540
52574A89472B77   ROGELIO     CONNTRERAS                CO          90005700894
5257553147B46B   CASSIE      LEAK                      NC          90012545314
5257576A45758B   DOMINICK    FIUMARA                   NM          35509227604
525765A8772B88   KYLE        KOLANDER                  CO          90005825087
52576A2774B588   MORGAN      PAYLOR                    OK          90012370277
52577519172B43   CHRIS       HOSKIE                    CO          90001445191
5257913294B588   JOSHUA      FOO                       OK          90014541329
52579375A57157   TANISHIA    LEE                       VA          90007623750
5257955865758B   ANRES       GONZALEA                  NM          35551595586
5257B296172B77   LISA        KREUTZER-LAY              CO          90005512961
5257B98465B531   DUDA        YANES                     NM          90010809846
5257BA19184357   TAWANNA     PRINCE                    SC          14544480191
5257BA8982B27B   YACUB       SANDIATU                  DC          90014840898
52581462472B49   BESSI       SANCHEZ                   CO          90007484624
52581AA6A5B393   FONISISI    TUITAVAKE                 OR          90009300060
5258224A27B46B   CRISTIAN    BELL                      NC          90013202402
52582A17691895   RAUL        GOMEZ                     OK          90014240176
52582A9725B387   GILDARDO    VELAZQUEZ                 OR          44554970972
525831A437B358   YONI        LOPEZ                     VA          90012371043
52583557972B27   JUAN        BALADEZ                   CO          33048795579
525839A1297B54   MARY        ENRIQUEZ                  CO          39068749012
5258438664B588   VERONICA    RODRIGUEZ                 OK          90008033866
52584895A51348   MECHELE     SAMS                      OH          90015018950
5258547585B399   MICHAEL     GALLINAT                  OR          90013484758
52585498972B27   SERGIO      ROCHA                     CO          90000184989
5258563328B169   JEREMY      KROFF                     UT          31088036332
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5258575835B393   TASHA          WILLIAMS               OR          44552087583
525857A3691587   CARLOS         RODRIGUEZ              TX          90000667036
52586167A7B46B   AUDREY         BELL                   NC          90013461670
5258641594B521   PAMELA         WADLEY                 OK          90006894159
5258673354B588   LASHEILA       GRAYSON                OK          90015407335
5258699545715B   TSIGEMARIAM    KASSA                  VA          90005909954
52586A78172B43   ALICIA         RODRIGUEZ              CO          33091520781
5258749675B399   TIFANI         TUCKER                 OR          90010624967
52587823972B43   FRANSISCO      MARTINEZ               CO          90013018239
52587988397B54   ALAN           LEE                    CO          39097549883
52587A3915B283   JOSEPH         JEKEL                  KY          68092800391
5258815258B169   LYDIA          REYES                  UT          90010441525
5258873915B531   ADRIAN         CHAVEZ                 NM          90012327391
52588A91993724   EMILY          MYERS                  OH          90013600919
5258951825B543   PATRICIA       AGUILAR                NM          35050225182
52589831672B36   ANA            MARTINEZ               CO          90011538316
5258B265333696   ELLIOT         WALLACE                NC          90013762653
5259132827B46B   REGINALD       WALLACE                NC          11018793282
52591387172B36   SANTOS         VICTOR                 CO          90012433871
52591513472B88   SAMANTHA       ANDERSON               CO          90003235134
52592656472B88   JUAN           PEDRO CHI-VERDE        CO          33078446564
5259277125B543   WEST           STACY                  NM          35088747712
52593839A61965   MICHELLE       TULA                   CA          90014528390
52594483272B36   HELEN          ATKINSON               CO          33087434832
52594632297B54   KEVIN          GANTZ                  CO          39077196322
5259516A791587   CRISTINA       MARTINEZ               TX          90010041607
52595576797B54   JOSE           SALCIDO                CO          90013585767
52595849772B36   LINDA          PINNEY                 CO          90011728497
5259637884B521   DOMINIQUE      BROWN                  OK          90013953788
52597A4598B169   ANDREW         COOK                   UT          90012040459
52597A74861971   SEAN           MCCREA                 CA          90013070748
52598436172B36   MIRNA          MIRAMONETS             CO          90004184361
52598A41161971   SINAN          IBRAHEEM               CA          90010020411
52598A56791895   THANG          KAP                    OK          90014240567
52598A7554B521   SARICA         RUSSELL                OK          90009300755
52599542A72B36   MICHAEL        BELVEAL                CO          90010205420
52599A96261965   ROSEMARY       PETERS                 CA          46015480962
52599AA2661965   ROSEMARY       PETERS                 CA          90012700026
5259B123291587   JOSE           OROZCO                 TX          90010091232
5259B29165B531   ROCHELLE       HENDREN                NM          90014702916
5259B43377B46B   GRISSELL       DELGADO                NC          90013184337
5259B953297B54   ALMA           DAVILA                 CO          90010139532
5259B978572B27   LEVIT          RODRIGUEZ              CO          90000709785
525B125585B387   SUSAN          DELVIN                 OR          90012032558
525B1832291587   CRYSTAL        DAVIS                  TX          90014068322
525B192125B531   GLYN           SANDOVAL               NM          90009229212
525B227735B283   DEWAYNE        HUGHES                 KY          90004242773
525B2554791587   LUIS EDUARDO   SANDOVAL               TX          90014155547
525B27A9933699   SONYA          WAGSTAFF               NC          90011447099
525B2A17661971   MARIA          CANALES                CA          90009020176
525B3553297B54   CYNDAL         PRIDDY                 CO          90011195532
525B3795672B36   JUDITH         HOLLEY                 CO          33092357956
525B3A44391587   LUCERO         TOVAR                  TX          90009680443
525B4814A61973   LIZETH         LUNA                   CA          90013078140
525B4924184373   CESAR URIEL    VAZQUEZ TORRES         SC          90011969241
525B4995A57157   THOMAS         CARROLL                VA          90005009950
525B4A65391895   D              LEE                    OK          90015220653
525B52A625715B   JORGE          ALEMAN BOLIVAR         VA          81071272062
525B5321657157   BLANCA         AYALA                  VA          81030233216
525B565A761965   SANDRA         RUZ                    CA          90011546507
525B5699284357   THOMAS         HINCHEY                SC          90013206992
525B5849591895   JESSIE         GARZA                  OK          90014788495
525B58A1272B49   SCOTT          LEMMEN                 CO          90015298012
525B5922261548   BRITNEY        WATERS                 TN          90015359222
525B647315B531   DAN            DAVIS                  NM          90008634731
525B64A248B169   JENNIFER       GARDNER                UT          90012054024
525B6749672B36   PATRICK        ANDRADE                CO          33092657496
525B681A361975   RICARDO        FERRA                  CA          90011498103
525B725554B579   DAISY          STILL                  OK          90009292555
525B7325A97B68   LINDSAY        SENESAC                CO          39060683250
525B771842B272   JOSE OSCAR     COLINDRES              VA          90005597184
525B7824884373   NICHOLAS       LEEPER                 SC          90013768248
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525B793785758B   LUIS        HERNANDEZ                 NM          90004889378
525B7A58972B49   MARIA       MARTINEZ                  CO          33014160589
525B7A6426194B   PAUL        QUINTERO                  CA          90011380642
525B8546491587   ANGELICA    GARAY                     TX          90008875464
525B8944871964   RODNEY      LOPEZ                     CO          90003249448
525B9392A61965   SANDRA      PADILLA                   CA          46009133920
525B98A568B169   JOSE        ANAYA                     UT          90014318056
525BB243557157   THOMAS      PATTON                    VA          90003172435
525BB29A793724   RIGOBERTO   OSNAYA                    OH          90002592907
525BB812872B36   NATALY      LOPEZ                     CO          90011538128
525BB966A91895   ERICA       DAVIS                     OK          21074129660
5261153265758B   HECTOR      MARRERO                   NM          90013445326
52611644A71964   FERNANDO    BERMUDEZ                  CO          32091886440
5261179A861973   TERESA      TAICH                     CA          46055687908
5261187A433696   FELICIA     MILLS                     NC          12010628704
52611978872B67   LUCIANO     MAYORGA                   CO          33015579788
52611AA545B543   KIMBERLY    DEHART                    NM          35088730054
5261229115B387   ALEXANDER   CHAN CASTILLO             OR          44590602911
52613115A93724   ANGEL       ROBERTH                   OH          90013581150
5261323685B387   MARIA       VASQUEZ MORALES           OR          90011492368
5261363784B588   LYNN        DAVIS                     OK          90014836378
52613721A51367   CAITLIN     BASIL                     OH          90011977210
5261381754B521   TYPE        WISEY                     OK          21565458175
52614541772B77   SILVIA      CONTRERAS                 CO          33071945417
52615145A4B28B   RANDALL     MILLER                    NE          90013261450
5261521675B399   GLORIA      LOPEZ                     OR          44560972167
5261537275B531   NICK        MONTANO                   NM          90013743727
526157A2651348   DELANO      MCCLAIR                   OH          90015227026
52615965497B54   GABRIELA    FLORES                    CO          39042699654
52616247372B49   GUSTAVO     HERNANDEZ                 CO          33052572473
52616272A2B27B   GLORIA      BLAZSIK                   DC          90002702720
52616583A51348   REBECCA     ADAMS                     OH          66054485830
526168A3884357   ORELL       PINCKNEY                  SC          90014578038
526176A7472B27   TROY        OLESON                    CO          33078736074
5261794655B531   DELMY       BORRERO                   NM          90010389465
5261797A28B169   JON         AHLSTROM                  UT          90011609702
5261817465B283   KIMBERLY    HEWITT                    KY          68012861746
5261866A87B46B   ROCIO       VAZQUEZ- HERNANDEZ        NC          11089136608
5261899454B28B   JONI        OLBERDING                 NE          90010019945
5261942835B283   ANN         CROMWELL                  KY          68056894283
5261997478B169   APRIL       HORROCKS                  UT          90013259747
5261B256861971   DEBBIE      RUE                       CA          46057012568
5261B384555926   PENNY       GRAYSON                   CA          49040253845
5261B5A1497B54   GALE        TRUITT                    CO          39014425014
5261B63364B521   LOGAN       MADERO                    OK          90014976336
5261B814284357   KIARA       SEABROOK                  SC          90014648142
526214A9172B36   STEVEN      GREGORY                   CO          90010184091
52621715A61975   JUAN        OROZCO                    CA          46041717150
5262177325758B   KAREN A     ALVIDREZ                  NM          90000167732
5262177498B169   NAOMI       JIMENEZ                   UT          90010367749
52622A4215715B   RAMIRO      MONTANO                   VA          81041550421
52623155A7B442   URSULA      DAVIS                     NC          90012951550
526241A8A72B43   JACQULYN    GARCIA                    CO          90009471080
52624357472B27   MARVIN      RICHARDSON                CO          33028763574
52624A72833699   KHARI       IMES                      NC          12076180728
5262533755B543   MICHAEL     TORRES                    NM          90003243375
5262627AA97B54   GRICELAD    ARELLANO                  CO          90013512700
52627277872B36   SEAN        SANDOVAL                  CO          33000652778
5262755915B283   DESMOND     MCGILL                    KY          68091105591
52627735772B77   MICHELLE    FLORES                    CO          33033407357
52628187A27B3B   SIERRA      CLARK                     KY          90012391870
52628236572B36   ALINE       BENCOMO                   CO          90011182365
52628479472B49   BRIAN       W ISENHART                CO          90013454794
526285AAA61973   GABRIEL     TIRADO                    CA          90012355000
5262864265B531   VANESSA     SILVA                     NM          90004006426
526286AA561971   DOMINIC     DIBERNARDO                CA          90010556005
52628832372B27   DREW        ANDERSON                  CO          33097488323
5262888464B521   CHRISTINA   ENGLISH                   OK          90005378846
52629377172B49   MARTHA      RIVERA                    CO          33057283771
5262942155B387   MANUEL      MATLA                     OR          90009224215
5262963275B399   PHYLLIS     TYLER                     OR          44519616327
5262B162487B27   DONALD      CURRIE                    AR          28003111624
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5262B513491587   SONIA       VALDEZ                    TX          90013875134
5262B58734B28B   ADRIANA     CUSATIS                   NE          90013025873
5262B75942B27B   TYEAS       JENKINS                   DC          90006127594
5262B92765B531   RACHEL      MOLINA                    NM          90009239276
5263214AA61971   CARLOS      VELAZCO                   CA          90010371400
526323A295758B   IRENE       ROMAN                     NM          90012013029
52632436A8B12B   NEAN        HAWE                      UT          90014524360
526324A8491267   CHRIS       JAMES                     GA          90010654084
5263326234B521   TAKIASHA    HORN                      OK          90014392623
526344A397B46B   KARMEON     WHITE                     NC          90011544039
526347A414B588   ALEJANDRO   LOPEZ                     OK          90013437041
52634AA715B387   CARVIN      GLOVER                    OR          44573150071
526352A145B387   LAURIE      WARREN                    OR          90015082014
5263661152B27B   MANUEL      PEREIRA                   DC          90015446115
5263665865715B   MARVIN      SEGOVIA                   VA          81078386586
5263721A85B399   AMANDA      ESPINO                    OR          44537812108
52637536872B27   MARIA       RIVERA                    CO          33078325368
526375A8542335   BRITTNEY    SMITH                     TN          90015365085
52637797A71964   JOANN       MARTINEZ                  CO          90008337970
52637A2A884373   HERBERT     MCCRAY                    SC          90013530208
52637A4213B387   ROBERT      MUNIZ                     CO          90009220421
52638423A5B387   LACEY       WILSON                    OR          90001114230
5263846875B531   BLANCE      DOMINGUEZ                 NM          35092254687
526386A865758B   MIRRIAM     TORRES                    NM          90014886086
5263885A65B543   MARCOS      MARTINEZ                  NM          90005428506
526389A884B28B   STEVEN      ROGERS                    NE          90010989088
526392A3557157   JESSICA     LONG                      VA          90013062035
52639462998B2B   ZELDA       BERKLEY                   NC          11045854629
52639569972B36   COREY       FOLEY                     CO          33050745699
5263B297561975   IVETT       GODOY                     CA          46057892975
5263B744972B77   SARAH       COIT-KEIJZER              CO          33048667449
5263BA47393724   RICK        HOWARD                    OH          64518720473
526425A5291895   LATOYA      HAMILTON                  OK          90011195052
52643388672B36   ROSA        LINARES                   CO          90013933886
5264359785B543   MELISSA     ALEMAN                    NM          35006165978
526437AA54B588   JAMES       LEWIS                     OK          90000267005
5264566AA72B27   MERI        PALMER                    CO          33094586600
52646212972B49   JEANINE     WRIGHT                    CO          90009122129
5264621584B28B   NATASHA     MUNDEN                    NE          90014572158
52646324372B43   ADAM        POPPENHAGEN               CO          90014603243
5264656AA93724   CHRISTINA   CISO-CONTRERAS            OH          90014815600
5264669875758B   FABIOLA     HERNANDEZ                 NM          90012726987
52646711A51348   SHAWN       WOODS                     OH          90015127110
52646765772B27   TINA        PARKS                     CO          33041247657
52646961A5B393   LEO         SCHWANKE II               OR          44532949610
526474A185B399   JOSH        STANSBURY                 OR          90012724018
52648135172B36   MARIA       VASQUEZ                   CO          33078241351
5264929242B27B   SHARVETTE   GRIMES                    DC          90014452924
5264B158572B49   TONY        VELAQUEZ                  CO          90012451585
5264B183151348   SIERRA      GILLISPIE                 OH          90012761831
5264B329431428   EYONNA      JOHNSON                   MO          27565933294
5264B393457157   NADIA       PEREZ                     VA          81011733934
5264B595393724   VENATTA     DUNSON                    OH          90015245953
5264B599591587   ANTHONY     DUARTE                    TX          90011075995
5264BA88691587   VERONICA    RODRIGUEZ                 TX          90004780886
52651523A5B387   ANA         JAIMES                    OR          44502315230
52651757A72B49   BARBARA     HUGGINS                   CO          33071367570
52651A1912B27B   DULCE       AMAYA                     DC          90015590191
52652174872B67   LAURA       ZAMARRON                  CO          33002181748
52652658472B27   DOMINIQUE   LOPEZ                     CO          90012826584
5265271675B387   MARIA       NEGRETE                   OR          90005347167
52652966897B54   ELIAS       MATEO                     CO          90014889668
52652A6645B531   BRIAN       CRONIC                    NM          90010810664
52655716272B36   JOSE        ZUNIGA                    OR          90013397162
52655A47491895   AMBER       CAMPBELL                  OK          90013140474
5265632685715B   MOHAMUD     ALI                       VA          81027633268
5265716444B521   ANDREW      RUDNICKI                  OK          90014211644
5265716552B27B   FRANCES     STYLES                    DC          90010351655
52657561776B68   EDDIE       TIRADO                    CA          90002385617
5265845A75B387   DANIEL      LEE                       OR          90012414507
526584A2555951   REGINA      BORJA                     CA          90003724025
526586A1572B43   FAITH       NICOLE APPELGREN          CO          33006106015
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5265B597761971   DALE         JACKSON                  CA          90011135977
5265B64765B579   DENISSE      CANALES                  NM          90013406476
5265B761633696   JEQUAN       BROWN                    NC          90013407616
5266111624B588   ELLA         MORROW                   OK          90008411162
5266125322B27B   KEVIN        KEMP                     DC          90014952532
5266192125B543   EDDIE        GOULD                    NM          35084049212
52661A71761971   MARICIO      HUERTAS                  CA          90014790717
52662397172B27   ANGEL        COVARRUBIAS              CO          33008493971
5266257464B221   CHRIS        SCHILLER                 NE          90001555746
5266313655B387   ANGELA       CLARK                    OR          44576321365
5266391174B28B   MIKE         TOPPE                    NE          90014829117
52663A1725B543   MARIA        SEDILLO                  NM          90001730172
52663A86293724   BROOKLYN     SHACKLEFORD              OH          90008940862
5266426225758B   MARIA        LOZOYA                   NM          90012332622
5266458378B169   BRANDY MAY   JONES                    UT          90014565837
52664588A5B387   GABRIEL      ORTIZ                    OR          44550515880
5266536665B283   CANDACE      JOHNSON                  KY          68056923666
5266564A757157   DRINA        CASTILLO                 VA          90014846407
5266595475B399   HERMINIA     GARCIA                   OR          90009649547
52666185397B68   HEATHER      HIMMLER                  CO          90012101853
526671A815B283   TERRI        LOCKWOOD                 KY          68096231081
5266727915758B   CINDY        CAZARES                  NM          35590672791
5266762667B46B   AUTUMN       FERBY                    NC          90010866266
5266774985B399   MATTHEW      BUTE                     OR          90008167498
52668649172B27   JOHN         ABALOS                   CO          90011986491
52668AA4924B7B   EDMUNDO      SALAZAR-DIAZ             MD          90013060049
52669996897B54   LUCAS        STUBERT                  CO          90012149968
52669A39861971   SEAN         CHAPMAN                  CA          90015310398
5266B2A7372B43   STEVEN       BELL                     CO          90001692073
5266B573A84373   TAMIKA       DINKINS                  SC          90010405730
5266B973597B54   ANA          LOPEZ                    CO          90008619735
5267213212B27B   ANA          GARCIA                   DC          90014621321
526721A2257157   BLANCA       GUZMAN                   VA          90014901022
52672272A8B169   ADRIANA      GUZMAN                   UT          90009262720
5267396614B53B   JAVIER       IGLESIAS                 OK          21515029661
52673A97491587   JORGE        RODRIGUEZ                TX          75004500974
52673AA1172B49   YOLANDA      BARTLEY                  CO          90013800011
5267453613B399   JEFFREY      SHAW                     CO          33011095361
5267519A872B88   MARIE        GALINDO                  CO          90003511908
526754A1351348   ANTHONY      MURPHY                   OH          90014004013
52675A88493724   MONICA       NICKELSON                OH          90014030884
52676775572B36   BRADLEY      COOKSON                  CO          90001607755
52676937972B27   ELISHA       SEYMORE                  CO          33065129379
52677768672B77   JEFF         BALLARD                  CO          90002397686
52677792272B49   BRITTNEY     EVANS                    CO          90007987922
526777A8272B36   MICHAELEIN   GARCIA                   CO          90012997082
52677A68972B27   ROSE         LOPEZ                    CO          33083870689
5267815435B531   RAMIRO       MONTANEZ                 NM          35052831543
5267829875B393   JESSICA      CONKLIN                  OR          44554392987
5267883464B521   CLAUDEINE    WILLIAMS                 OK          90009838346
52679285A33642   LABEAM       MOORE                    NC          90005602850
5267B677184373   LELAND       WARING                   SC          19072996771
5267B69245758B   MICHELE      DAVILA                   NM          90011506924
5267B912A5B387   JEOFF        PICKETT                  OR          90006709120
5267BA37257157   FRANKLIN     BONILLA                  VA          90010750372
5268185A561965   REGINA       RODRIGUEZ                CA          46016848505
52682157372B27   JOHNNIE      JONES                    CO          90014981573
5268223345B399   JENNIFER     JONES                    OR          90012532334
5268248A55B399   JAMES        MAXEY                    OR          90014904805
52682A8387B46B   SYLVESTER    BARRON                   NC          90010250838
5268357A624B76   DONNITA      SCOTT                    DC          90008305706
526836A2761975   CLAUDIA      GARCIA                   CA          90014166027
5268433845B399   VICTORIA     GOMEZ                    OR          44570473384
5268528A833696   TABITHA      LEE                      NC          12003432808
52685692472B27   HANNAH       GUY                      CO          33013626924
5268587395B387   ROBERT       JONES                    OR          44560968739
5268595465758B   ANGEL        FLORES                   NM          90009519546
52686684A98B2B   RODRIGO      RAMIREZ                  NC          11079736840
52686A13984357   TERIK        MARTIN                   SC          90014590139
5268873675B387   INEZ         VARGAS                   OR          44547727367
52688A5A94B588   ALEXANDER    WAND                     OK          90014600509
5268974A672B88   LORENA       MONTOYA                  CO          33062367406
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5268994755B283   EGLATH       LIERAL                   KY          68036109475
5268998795B387   ISABEL       MENA                     OR          90001449879
52689A3825B543   EVA          KOEHLER                  NM          90014000382
5268B115261971   BASHAR       QANBAR                   CA          90009601152
5268B71A74B28B   RICHARD      NOTARO                   NE          26018517107
5268B82A933699   MANUEL       PINEDA                   NC          90014008209
5268B985197B54   DELFINA      ZAMORA                   CO          39078979851
5269351624B588   ELIZABETH    HOWARD                   OK          21512215162
526935A2591895   CHRIS        MCCALL                   OK          21065815025
52694151A5B399   S            JONES                    OR          90013881510
52694288A72B49   FLOR         GAYTAN                   CO          33065142880
5269462A65715B   ERICK        PORTILLO                 VA          90003846206
52694A87155951   CRYSTAL      SANTOYO                  CA          90006530871
5269546497B46B   KATY         BOST                     NC          90014494649
52695684A93724   BETTY        HULL                     OH          90010286840
5269583A461975   MARIA        ANGEL                    CA          90010608304
5269588AA71964   ROBERTO      MORENO                   CO          90003188800
52695A3488B169   REBECA       RODRIGUEZ                UT          31088260348
5269617215715B   ZULMA        CASTRO                   VA          81091421721
52696548672B27   SCOTT        FIELDS                   CO          90002635486
52696882257B81   ALICE        WILLIAMS                 PA          90011338822
5269693584B521   SIERRA       ROSS                     OK          90007499358
52696AA3A97B54   ROBERTO      MARQUEZ                  CO          90009710030
52697626272B36   WAHID        JOHNSON                  CO          90013486262
526977A235B387   RANALD       KALISZWESK               OR          44530047023
5269853A433699   SHARKEITHA   LINDSAY                  NC          12095915304
5269861912B27B   RODRIGO      MARTINEZ                 DC          90009626191
52698778197B54   VERONICA     VAZQUEZ                  CO          39011587781
5269976877B631   VANESSA      MOSS                     GA          90012077687
5269B473491587   LILIANA      LOPEZ                    NM          75002924734
5269B775933696   MICKEY       NEECE                    NC          90010727759
5269B971472B36   JOHN         BAKER                    CO          90014849714
5269B9A3697B54   REJEANA      MARTIN                   CO          39044909036
526B1234791587   GASPAR       AMPARO                   TX          90013952347
526B1265971964   MANUEL       MENDOZA                  CO          32077672659
526B127565B399   RANCHER      CHEIPOT                  OR          44595252756
526B132A161971   TYRECE       MCNEIL                   CA          90013083201
526B1715872B77   ELVIA        GUTIERREZ                CO          33065737158
526B1A7885B387   GARY         SINDELAR                 OR          90014310788
526B253494B521   ARGENIO      JIMENEZ                  OK          90006895349
526B2729731428   MICHELLE     DAVIS                    MO          27574897297
526B3484A57157   FELICIA      ABEL                     VA          90010994840
526B356955412B   KAYLA        NELSON                   OR          90012145695
526B3619361965   BONNIE       MASSERINI                CA          90011976193
526B3A62A91587   ROMAN        SANDOVAL                 TX          75089680620
526B4177A33699   JOHN         PLATT                    NC          90014481770
526B432858B169   JANETH       AGUERO                   UT          90000373285
526B4395284357   ALEXIS       SINGLETON                SC          90014683952
526B4468772B27   BOB          UNNINGHAM                CO          33095714687
526B459AA5715B   DENISE       JACKSON                  VA          90006885900
526B5354661973   JERMIAH      STANLEY                  CA          90011223546
526B548688B169   TOSCANO      ISABEL                   UT          90006444868
526B5AA554B588   SHARLET      IVERY                    OK          21559620055
526B61A2A7B46B   NESHA        BLACKMAN                 NC          90014711020
526B6334191895   KATHY        SIBLEY                   OK          21006653341
526B642535B399   LEO          MEADE                    OR          90012024253
526B6442672B49   HENRY        MARTINEZ                 CO          90011054426
526B7323791895   SHAMICKA     JONES                    OK          90002563237
526B7689A5B531   RACHEAL      STORR                    NM          90014726890
526B7997161975   AMPARO       ENRIQUEZ                 CA          90014039971
526B8334857157   ERIKA        ALVARADO                 VA          90010763348
526B8A68A91265   ELIZABETH    DAVIS                    GA          90007750680
526B992844B521   MICHAEL      BAILEY                   OK          90011559284
526BB154951348   HEATHER      MURRAY                   OH          90008511549
526BB721771964   PAYGO        IVR ACTIVATION           CO          90006907217
526BB74A161965   BINCENT      CASTRO                   CA          90013987401
526BBA97861975   MARIA        BRAVO                    CA          46000990978
52711126A5B387   DAMIAN       CARILLO                  OR          90008331260
5271337265758B   TAHNEE       LEE                      NM          90013783726
5271397577B49B   LATOYA       JETER                    NC          90011589757
5271417142B27B   EDWARD       MCLEOD JR                DC          81087791714
5271458A431428   DARRELL      CRAWFORD                 MO          27518165804
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52714A86333696   MICHAEL     MILLER                    NC          90004760863
5271555325758B   GRACIELA    DE LA O                   NM          35534415532
5271555864B28B   THOMAS      LYNCH                     NE          26044815586
5271644A472B27   AARON       MORALES                   CO          90014234404
527166A2384373   CESARIO     RODRIGUES                 SC          19083736023
52716799572B27   AARON       MORALES                   CO          90002197995
52716A3915B393   SHIRLEY     ZIMBECK                   OR          44505230391
52716A97951348   REUBEN      DARDEN                    OH          90010900979
5271838925B399   RAYNA       MONTGOMERY                OR          90010713892
527183A2561965   HEATHER     ANGELETTA                 CA          90013543025
52718A28533696   ANGELENNA   COVINGTON                 NC          12053310285
52718A99691895   MICHAEL     MARSHALL                  OK          90014710996
5271924375758B   ANGEL       GONZALEZ                  NM          90011892437
5271BA72893724   STEVEN      MACEK                     OH          90011480728
52721329A33699   MARIA       MOTO                      NC          90015193290
52721711A72B27   JUAN        RETANA                    CO          90001587110
527219A165B531   ROBERT      FUCHS                     NM          35083089016
5272236AA57157   AMANDA      GARZA                     VA          90014003600
5272245795B283   MARCOS      SAPON                     KY          68087234579
52722687A5B387   SARAH       STOLP                     OR          44511056870
5272293865715B   MARIE       DEDINA                    VA          90006329386
5272457A62B27B   DONNITA     SCOTT                     DC          90008305706
5272468945B387   JULIAN      FRANCO                    OR          90010876894
52725613497B54   JOSEPH      ROGERS                    CO          90008406134
52725A94461965   TANIA       WILLIAMS                  CA          90004910944
52725A9A633699   CEDRIC      WILLIAMS                  NC          90002780906
5272627848B188   NOEL        COOK                      ID          31041442784
527264A4493724   ANDRE       HOGAN                     OH          90008664044
5272729A472B43   MICHAEL     LAFRANCE                  CO          90004092904
5272735A561965   ESTEBAN     CARRENO                   CA          46054913505
52727A89872B49   GLORIA      RIVERA                    CO          90013390898
5272818A55B393   ANNA        SHAPIRO                   OR          44582421805
52728583A72B36   JACK        VINCENT                   CO          90010995830
52728A1712B261   ANSELME     POUNGUEN                  DC          81041900171
5272926795B531   BENITA      GARCIA                    NM          90013462679
52729561472B43   AUDRA       WAGNER                    CO          90004985614
52729826572B49   ERIC        BEIMS                     CO          33097848265
52729A2744B521   DEVON       THACKER                   OK          90011560274
5272B41122B27B   NATALIA     DIAZ-MINAYA               DC          90012944112
5272B56A284357   PATRICIA    OROCCO                    SC          90013065602
5272B575661965   JUAN        CHAN                      CA          46030975756
5272B72784B28B   OBADIAN     RODRIGUEZ                 NE          26001947278
52731165472B23   LUCILLE     QUINTINO                  CO          90002401654
527319A2361965   JACLYN      KNOWLDEN                  CA          90005429023
52732614872B27   MARCIE      MILLS                     CO          33007706148
52733444972B77   BERENICE    ARCHULETA                 CO          90004504449
5273441A761971   TERRA       MEIER                     CA          90011794107
52734713897B54   JEFF        SANTORO                   CO          90014527138
52735583972B36   KENNETH     THOMPSON                  CO          90010995839
52735725472B27   JENNIFER    GOODMAN                   CO          90012067254
52736A1175715B   ANGELICA    GARCIA                    VA          81041690117
527376A6161973   CHRISTIAN   SEGURA                    CA          90011446061
5273811775B531   CASSANDRA   LOPEZ                     NM          90014741177
5273835314B588   SHERYL      STAGGS                    OK          90008413531
5273887915715B   HUGO        ZEBALLOS                  VA          90000768791
52738AA3861975   ROMAN       COE                       CA          46037320038
5273947175B531   VICTOR      CONTRERAS                 NM          35004084717
52739677872B43   SAMER       ELBAYOUMY                 CO          33047726778
5273967962B27B   DOMONIQUE   SMITH                     DC          90011916796
5273B197831428   CHERYL      EPPS                      MO          27574551978
5273B243972B27   AMBER       LOPEZ                     CO          33080842439
5273B334497B54   MIGUEL      ESCOBAR                   CO          90010713344
5273B385A4B588   MARIA       RUIZ                      OK          90014373850
5273B49325B241   DANNESHA    HARRIS                    KY          90007464932
5273B92232B27B   DANIEL      FLEMING                   DC          90014559223
52741277772B27   MARISELA    CORONA                    CO          90014892777
52741331672B88   JOHNNA      REECE                     CO          33083373316
5274134685758B   GEORGE      KINNEY                    NM          90014923468
52741854A61986   ROSA        POMALES                   CA          90005698540
5274219184B521   MARICELA    HENSLEY                   OK          90008861918
5274299385B399   KABALE      ALI                       OR          90014139938
52743678872B27   DONALD      GRIMS                     CO          33006316788
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5274399858B169   TERESA        YANEZ                   UT          90015019985
52744435372B49   LUZ           VARELA SAENZ            CO          33067794353
5274532345B387   BRENT         TAYLOR                  OR          90007253234
527455A712B27B   PAYGO         IVR ACTIVATION          DC          90013505071
52745831997B54   GUADALUPE     RODRIGUEZ               CO          90013828319
5274659675B37B   RACHEL        PANIAGUA                OR          90008915967
5274665A891587   ENRIQUE       HERNANDEZ               TX          90007496508
5274669825B399   CYNTHIA       CURRIE                  OR          90012886982
52747354472B77   ALEXANDER     CLARK                   CO          33085853544
5274763375B543   DIEGO         CASTILLO                NM          90011826337
5274779885758B   MARY          DURAN                   NM          35505907988
52747A35793724   TERESA        THOMAS                  OH          90012480357
52748263A61973   SELMA         DURAN                   CA          90007982630
527488A2272B49   GERRY         PETERSEN                CO          90008888022
52748A38872B27   TIFFANY       WASHINGTON              CO          90010420388
5274999545B399   AMPARO        GARCIA                  OR          90014889954
52749A3565B399   RAFAEL        LOPEZ GONZALEZ          OR          90014850356
5274B185847928   JUDY          WESTBROOK               AR          90007881858
5274B47985758B   NORMA         WILSOM                  NM          90012774798
5274B532261975   ANTONIO       VARGAS III              CA          90009685322
5274B997861965   JESUS         GOMEZ                   CA          90013199978
5274BA3812B27B   PAHEL         SCHULINUS BRUNIS        DC          90014290381
5275146A161965   VIRGINIA      MORENO                  CA          46006214601
5275248615B387   HEIDI         WIRZ                    OR          44597144861
5275259638B169   APRIL         SIMMONS                 UT          90013335963
52752A9617192B   LEONCIO       QUINTERO                CO          90014780961
52753949297B54   ISRAEL        SONTAY                  CO          90013639492
5275398625B399   KARI          SCHEETZ                 OR          44593559862
52754616272B43   JUAN          MOLINA                  CO          90009996162
5275572195758B   HIVANA        VSAQUEZ                 NM          90013857219
5275646697B46B   JOHN          JONES                   NC          90003524669
52756672A5B399   ROBBYN        BRADFORD                OR          90012906720
527568A584B588   CHRIS         GNADE                   OK          21557168058
52757267797B54   CORYE         DUKES                   CO          90010782677
52757385572B77   ANNA          BROOKS                  CO          33050463855
52757585A5B387   ELISHA        MITCHELL                OR          44576455850
52757A2A272B77   ANNA          BROOKS                  CO          90014980202
52757A74191587   ESPERANZA     BERNAL                  TX          75006130741
5275839128B169   RANDI         RUSHTON                 UT          90013773912
52758635872B27   RUTHIE        CHAVEZ                  CO          90008126358
5275888283B384   NICOLE        JOHNSON                 CO          90011328828
52758A52261971   ANDREW        CHRISTOPHER             CA          90012120522
52758A94542335   LORI          SEIBERT                 GA          90012550945
52759126197B54   STEVI         COX                     CO          39028641261
5275926A761973   ROBERT        HARRIS                  CA          90012742607
5275B2A3557157   JESSICA       LONG                    VA          90013062035
5275B3A2191587   DESKENDRAY    BLAKE                   TX          90013953021
5275B668261971   MICHELE       RICHARDSON              CA          90004736682
5275B6A338B341   WHITE         SHANTAYE                SC          11009826033
5275B747661965   DESTINY       BONGARD                 CA          90001357476
52761157872B36   SANDRA        CASAS                   CO          33086921578
52761299A5B531   KENNEDY       DERRICK                 NM          90010942990
5276136564B588   MARCOS        BELETZUY                OK          90010473656
5276159255B283   KISSES        LOVING                  KY          68057455925
5276176125B399   ALAN          SHIPLEY                 OR          90007147612
52762653572B36   JUAN          LOPEZ                   CO          90013286535
52762AA7A4B521   MARIA         VASQUEZ                 OK          90015040070
52763A69451348   WALTER        DALE                    OH          66039240694
527656A5533699   CASSANDRA     WILLIAMS                NC          12083046055
5276617597B46B   STARLETTE     MILLER                  NC          11053231759
5276623214B521   BRANDI        CAMPO                   OK          90011092321
52767247A91895   RENALDO       LOVE                    OK          90014242470
5276743194B588   CHRISTOPHER   LALLY                   OK          90012164319
5276755A533699   KESHA         MATTHEWS                NC          90014885505
5276759125B387   SUZETTE       TINKESS                 OR          90015155912
5276782275758B   ALFREDO       LEDEZMA                 NM          90012888227
5276838638B169   MELISA        HOOD                    UT          31088783863
52769211772B88   SILVIA        JENNANES                CO          33053702117
5276969884B23B   TANYA         THOMAS                  NE          90009456988
52769A5927B46B   BLANCA        SALMORAN                NC          90012860592
52769A62561965   JULLIAN       HARSHAW                 CA          90010260625
5276B178997B54   JOSE          RODRIGUEZ               CO          90013201789
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5276B238A6B922   DARLENE        BYRD                   NJ          90000142380
5276B44714B28B   CAMMIE         SILVA                  NE          90014614471
5276B767961975   GABRIELA       MERCADO                CA          90015257679
52771155897B54   MIKE           RUBI                   CO          90006571558
52771383672B27   CRAIG          WOLD                   CO          90001283836
5277216A191895   MARGARITO      MARTINEZ               OK          90001071601
5277258468B169   PAULA          HERRERO                UT          90014565846
52772764A97B54   KATIA          NUNEZ                  CO          90014657640
52773336472B43   JAIME          GARCIA                 CO          90014423364
527734A2391587   JESSICA        RODRIGUEZ              TX          90011514023
5277437A257157   PETER          BOISSON                VA          90012883702
5277491A35B399   GUADALUPE      PEREZ                  OR          90007029103
52774995372B88   LOREEN         WILSON                 CO          33016949953
52774A27133699   LOUISE         DICKERSON              NC          90013020271
5277523A184357   DAWN           ALSTON                 SC          14513552301
52776132A61965   KARYLIN        HEDGE                  CA          90012691320
52776218A5758B   MANUEL         RIVERA                 NM          90011372180
5277683685B531   LENTE          JUSTIN                 NM          90004768368
5277893215B531   JOSEPH         JARMILLO               NM          90013779321
52779367A5B283   PAMELA         ASBERRY                KY          90004263670
5277971955B387   YUNIESBI       UALMASEDA              OR          90014517195
5277B232724B76   MICHAEL        BYERS                  DC          90000932327
5277B374951348   ANGELA         MORRISSEY              OH          90014483749
5277B6A3797125   CYNTHIA        LEBLUE                 OR          44547786037
52781AA867B46B   TY             FALLER                 NC          11014390086
5278293A984357   SHAWN          HARRIS                 SC          90014599309
52782A88184373   JILL           BEATTIE                SC          90014810881
5278324755B543   NESTORA        BARELA                 NM          35042302475
52783398672B43   JARED          YOUNG                  CO          90012133986
52783A7A73B393   ELIZABETH      DEHERRERA              CO          33045760707
52784445A84373   MONIQUE        MIDDLETON              SC          90013554450
5278444892B27B   ABDULRAHIM     NAIB                   DC          90012234489
5278453855B399   EMILIA         MEJIA                  OR          90000485385
5278496A333699   GLINDA         JOHNSON                NC          90012889603
52784A5654B521   ALMA           GALINDO                OK          90007480565
5278523397B46B   ADRIAN         ALVAREZ                NC          90014872339
52785267A33699   APACHA         TETREAULT              NC          90013902670
5278542384B521   ROBIN          ROSAS                  OK          90009184238
5278556882B27B   MARBIN         JOSE CARRANZA          VA          90011625688
52786388A72B36   KEREN          GUEVARA                CO          90001763880
52786996472B27   CHRISTINE      HARWELL                CO          90013509964
52786A8AA72B43   JOSÉ           PÉREZ                  CO          90013170800
52787A1A78B167   JANNETT        COOK                   UT          90012840107
5278889294B588   ALISHA         JACKSON                OK          21587318929
52788A9A23B35B   BRYAN THOMAS   LOPEZ                  CO          90012530902
527892A3961971   JUAN           VARELA                 CA          90007602039
52789576772B2B   PAUL           NIELSEN                CO          90007675767
527895A212B27B   DONNELL        BROADWAY               DC          90010785021
527895A7791587   MARIA LUISA    PADILLA                TX          90012895077
52789776372B43   JACOB          LYMAN                  CO          90013177763
5278997294B28B   MICHAEL        BUDZINSKI              NE          26069559729
5278B2A6861973   AVISHAY        LAVY                   CA          90006032068
5278B412658577   GARY           PURNIPSEED             NY          90015614126
5278B4A5372B49   JAMES          HOLMES                 CO          90006964053
5278B819361975   JESSICA        SMAL                   CA          90004408193
5278BAAA461965   KIMBERLY       DUENEZ                 CA          90007250004
52791221A72B27   JENNIFER       JUAREZ                 CO          33030522210
527912A4241296   EDWARD         FREIBERGER             PA          51078182042
5279165714B521   FRAN           MANKEY                 OK          90008456571
52792949172B27   JORGE          SANDOVAL-SANCHEZ       CO          90013329491
52793351397B54   JUSTIN         BRADLEY                CO          90009813513
5279392745B543   ALANNA         BRONAUGH               NM          90012639274
527939A6198B47   JANIE          SUMPTER                NC          90010289061
5279524565B283   YOLONDA        FAKIR                  KY          68017292456
52795687572B36   DAN            POUSMA                 CO          90002516875
527956A5384357   SHARINE        NICHOLAS               SC          90006836053
52796373A85928   SHARON         CHAMBERS               KY          67012423730
5279643A57B46B   RICKINA        THOMPSON               SC          11039474305
5279674A697B54   CHAUNTELLE     SAXBURY                CO          39072297406
527969A6198B47   JANIE          SUMPTER                NC          90010289061
52797A4642B28B   OLUREMI        FAPONLE                VA          90008610464
5279853717B46B   NORMA          GARCIA                 NC          90013795371
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5279869224B28B   LAURA        TAYLOR                   NE          26031896922
5279B13A872B88   JOHN         HUNTSMAN                 CO          90004261308
5279B555931462   ROENITA      HAMILTON                 MO          90013785559
5279B976A84357   ASIA         JOHNSON                  SC          90011439760
5279BA46561973   RAQUEL       CHAVEZ                   CA          90010270465
527B1153151357   DANIELLE     ODLE                     OH          66012181531
527B119414B521   KATHRYN      BLOODWORTH               OK          90001111941
527B1276891587   LUIS ANGEL   CARLOS MENDIETA          TX          90013952768
527B1461872B27   MARIA        CABALLERO                CO          90013274618
527B1566433696   RACHEL       PALMER                   NC          12052495664
527B175542B27B   JOSE         GUTIERREZ                DC          90011507554
527B1AA6297B54   MARY         MARCHETTI                CO          90012850062
527B298A161971   TRAVIS       THOMAS                   CA          46085689801
527B354235B531   DORIS        RIVERA                   NM          90015115423
527B3813457157   YOANNA       MALDONADO                VA          90014788134
527B43A1233699   ANA          PERALTA                  NC          90013113012
527B4455731428   MICHELLE     KENT                     MO          27588294557
527B4473A5B387   ISAYAS       BAHTA                    OR          44597144730
527B4614261965   ROCHA        KATE                     CA          90006986142
527B4654661975   RODOLFO      CATEURA                  CA          90008136546
527B4768972B27   NICOLE       ALARCON                  CO          90013207689
527B486224B521   NELLISSIA    LAWRENCE                 OK          90009918622
527B4A4A484357   LINDA        FREEMAN                  SC          14509990404
527B5276891587   LUIS ANGEL   CARLOS MENDIETA          TX          90013952768
527B5351A61973   AUDELIA      DE AVILA                 CA          90011963510
527B54A984B588   DARRICK      DICKERSON                OK          90014364098
527B5862161971   BRENDA       GOODING                  CA          90007828621
527B613A261965   VICENTE      GONZALEZ                 CA          46045881302
527B658465B531   RAUL         NEVAREZ                  NM          90001665846
527B6977293724   ALEXIA       BOSCARINO                OH          90013219772
527B7548172B49   DEAN         SMITH                    CO          90008855481
527B7737651348   TONY         MCAFEE                   OH          90015127376
527B7821857157   MARCUS       GRANT                    VA          90012568218
527B8218361975   MAURA        TORRES                   CA          90014742183
527B8589172B49   JENNY        BARGER                   CO          33006175891
527B8657772B43   KATERINA     MARTINEZ                 CO          90011746577
527B9225984357   JASON        CAPPS                    SC          14510012259
527B923175B399   BILL         OLIVERIO                 OR          90015242317
527B9266372B43   THERESA      RAY                      CO          90003632663
527B9441972B88   JENNIFER     SCHLEY                   CO          33065864419
527B95A6872B27   BRAYAN       MUNOZ                    CO          90015275068
527B9728A4B543   KRISTINE     PAOLO                    OK          90011037280
527BB235372B77   YVETTE       ESPINOZA                 CO          33004682353
527BB315551351   CYNTHIA      BOYER                    OH          90002353155
527BB5A825B35B   AKUILA       RAMAQA                   OR          90006775082
527BB68725758B   SAGARNAGA    EVELYN                   NM          90008436872
528114A234B588   THOMAS       WAYNE                    OK          90012094023
5281154264B28B   CHRIS        JOHNS                    NE          90000635426
5281155535B283   RANDY        FISHER                   KY          68039035553
5281198624B588   ANDY         DO                       OK          90010199862
52812728772B49   TIMOTHY      FENNER                   CO          90013137287
52812A57133696   MICHELLE     BRACEY                   NC          90005200571
5281332485B393   JOSHUA       HANSON                   OR          90010433248
5281351155758B   MARIO        MADRID                   NM          90014825115
5281362A485928   VIRGINIA     MCMAINE                  KY          67081996204
5281392A35B399   EVERADO      MORENO                   OR          90006049203
52813A7314B28B   SAVANNAH     SMITH                    NE          26076660731
5281448515B531   CRICKET      TWENTE                   NM          90011984851
52815AA1961973   PRISCILA     SALCEDO                  CA          90011550019
5281647665758B   GILBERT      DIAZ                     NM          90013274766
528165A548B173   TILLMAN      BEGAY                    UT          90013785054
52817587A5B531   DEANNA       MARQUEZ                  NM          90010975870
5281762A984373   SAMANTHA     STONE                    SC          19016636209
52817867597B54   PAMELA       MARTIN                   CO          39026518675
52817AA418B169   TERESA       MARTINEZ                 UT          31050630041
528181AA691587   CARLOS       CISNEROS                 TX          90002191006
52818433A61973   NORWOOD      VOSHELL                  CA          46030434330
528188A275B399   LAWRENCE     DREW                     OR          90011308027
52818A47184373   RACHAEL      SINGLETON                SC          90015310471
5281915435B531   RAMIRO       MONTANEZ                 NM          35052831543
5281B318761975   RAYLENE      BOGUS                    CA          46035083187
5281B517872B43   NICHOLE      ARMANTROUT               CO          90012025178
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5281B94145B399   LARON          STEPHEN                OR          44584469414
5281B979384357   ANTHONY        BROWN                  SC          14511839793
5281B997751348   ADRIAN         WALKER                 OH          90012389977
5281BA44891895   TYRONE         WILLIAMS               OK          90011210448
5282269224B588   MYRNA          MEDINA                 OK          90014846922
52822A66371235   DOUG           ROCKWELL               IA          90003870663
5282315525B387   RICHARD        HELTON                 OR          90015181552
52823277397B54   CLUADIA        VAZQUEZ                CO          90000342773
52823458472B36   YESENIA        DIAZ                   CO          90010234584
52823478972B27   LEANDER        HILDEBRAN              CO          90014884789
528236A562B27B   VICTORIA       WALTON                 DC          90001956056
5282381717B46B   MENY           ALLEN                  NC          90015298171
52823A56572B27   ANNETTE        BACAY                  CO          90013150565
5282491974B521   DENISE         CLIMER                 OK          90011999197
52825483672B27   CASEY          DUDDEN                 CO          33095944836
528256A4933696   BRYANT         BRYANT                 NC          12024036049
528264A375B399   MICHAEL        ALLEN                  OR          90013704037
52827131A61965   REX            KOPP                   CA          90014881310
52827144A71964   MARY           MAGSANOL DEOKI         CO          90003191440
5282734747B372   DAISY          MAGANA                 VA          90011953474
5282747144B521   JOSH           HRDLICKA               OK          90009414714
52827712472B49   RAUKEEN        HORTON                 CO          90005767124
52827831A57157   WALTER         GOMEZ                  VA          90008418310
528278A2A76B45   LOUIS          MEDINA                 CA          90014858020
52827A18A61973   NATALI         TORRES                 CA          90009720180
528285A437B46B   KHALIL         FOFANA                 NC          11014245043
5282877844B588   LASHONDA       WILLIAMS               OK          90012267784
5282934895B387   STEPHEN        BRADSHAW               OR          90014803489
528295AAA61965   JERRY ROBERT   BALL                   CA          90012715000
5282B156772B27   AUSTIN         MONTOYA                CO          90005001567
5282B224A4B588   ENRIQUE        BARCENAS               OK          90011902240
5282B25715B393   PATRICK        LEWIS                  OR          44529962571
5282B384471964   MAURO          GARCIA                 CO          90011623844
5282B38A693724   JANICE         WRIGHT                 OH          90013353806
5282B64397B46B   TEONA          HAMILTON               NC          90010906439
5282B75A65B283   SYLVESTER      SYKES                  KY          68058127506
52831736672B36   PORTIA         DAVIS                  CO          33009897366
5283211888B169   OSCAR          BUGARIN                UT          31002681188
5283237385B387   MARIA          DECLUE                 OR          90009753738
52832A33A4B588   PEDRO          AMADOR                 OK          90013340330
5283331178B169   BRANDON        GONZALES               UT          90015113117
5283369A672B43   ANGEL          MONTOYA                CO          90012036906
528336A6391895   BRITTANY       NORMAN                 OK          90012516063
52833A13591895   BRITTANY       NORMAN                 OK          90014810135
52833A88491895   BRITTANY       NORMAN                 OK          90011210884
528342A5361973   ROMAN          ALARID                 CA          90000112053
5283432615758B   TRACIE         HUNTEMAN               NM          35507863261
52834657172B49   STEVEN         HODGES                 CO          90014636571
5283543A785928   RENE           MARTINEZ               KY          90007254307
5283564678B169   RON            PETERSEN               UT          90013226467
5283598365B387   STEFAN         CONSTANTIN             OR          44506709836
528359A8A8B169   VANEGAS        POMPILIO               UT          90006619080
5283615A693724   TEQUILA        DANSBY                 OH          90013891506
5283635858B169   JESSE          MENDEZ                 UT          90002463585
5283685A372B36   ROMEO          NICHOLSON              CO          90011538503
5283752555B399   CARLOS         MIRANDA                OR          90015235255
528376A3361975   GABRIEL        SOLIS                  CA          90003526033
5283771A15758B   ANDALE         CATER                  NM          90002627101
52837998A72B49   SURVIVAL       CORPORATION            CO          33086679980
5283816A891895   KIM            CRUMP                  OK          21010761608
52838261672B33   ARACELI        QUEZADA                CO          33069882616
5283859A972B27   HERNANDO       BANUELOS               CO          90010625909
5283871A761971   ROBERT         MATZENAUER             CA          90012427107
528399A2172B27   GUADALUPE      GALINDO                CO          33035079021
5283B267272B27   EDGAR          QUIROZ                 CO          90012082672
5283B393991587   SUSANA         LAMAS                  TX          90003713939
5283B411333696   LANARD         JAMES                  NC          12088664113
5283BAA965B283   JUANCARLOS     MOYAPENA               KY          68040320096
5284131675B283   ELLA           JONES                  KY          90010333167
52841AA5761965   AMMAR          JABOORI                CA          90001500057
5284222915B399   HEIDI          REEVES                 OR          44544832291
52842668324B3B   KENDRA         NOVA                   DC          90011616683
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5284268812B27B   JOSE           RODRIGUEZ              DC          90012976881
5284398445B543   ROSA           PADILLA                NM          35001409844
52844765872B49   KENDRA         CITRANO                CO          90014787658
5284493464B588   DAVID          FLEMING                OK          90012789346
5284542885758B   RACHEL         OLIVAS                 NM          35575484288
52845662872B49   BRENDA         GONZOLEZ               CO          90011316628
528456A5961975   AALIYA         ABDI                   CA          46000546059
52845957972B49   ABNER          KIM                    CO          33011209579
5284626242B27B   PERSEBERANDA   SEGUNDO                DC          90013792624
5284653375B387   DANIEL         CANCHE                 OR          44561475337
52846981524B7B   EDDI           SANCHEZ CRISOSTOMO     MD          90015509815
5284733115B399   DAWN           BLACKSHEAR             OR          44521903311
52848757A57157   PAULA          APPLE                  VA          90014337570
5284916215B393   JUAN           ABELARDO               OR          44582281621
5284945A572B77   ABIE           SULCIMAN               CO          90005484505
5284954435B387   ANGELLE        SMITH                  OR          90010375443
5284B474972B27   DAVID          PEPPERS                CO          33079674749
5284B774591587   DIANA          LOPEZ                  TX          90010977745
5285127337B46B   TERESA         COVINGTON              NC          11062572733
52851A49372B43   JOSELUIS       RINCON-PEREZ           CO          90002770493
52852123A8B169   JUDITH         RUBALCAVA              UT          90003081230
52852768372B2B   RAFAEL         CABRERA                CO          90007497683
5285279564B521   MARQUAY        KEMP                   OK          90014217956
528537A6972B77   LINDA          LESLIE                 CO          90000607069
52855132272B27   ANTONIO        FLORES                 CO          90010191322
5285564515B393   SKY            ACHITOFF               OR          90011406451
528558A474B521   KIRBY          LAWRENCE               OK          90014218047
5285612A972B43   TAMMY          MARTINEZ               CO          90010671209
52856252A4B579   LYNNETTE       ABRAHAM                OK          90010892520
5285627A25B393   CAROLYN        LAMAR                  OR          90012072702
52857365972B27   BILLY          MOSS                   CO          90004403659
5285748745B229   BEVERLY        BARTON                 KY          90011964874
528575A9572B67   ERIKA          SUAZO                  CO          33058215095
5285781A151348   SHERITA        ROBY                   OH          66034458101
52857852A24B7B   LAMISERE       YRIONIA                MD          90015418520
5285962144B588   JOSHUA         VERSHAW                OK          90014836214
5285965A857157   LISA           GEKALLA                VA          90011216508
5285996748B169   VICTORIA       BITTORIE               UT          90009859674
528599A2297B54   GRISEL         GUERRERO               CO          90011349022
5285B15884B521   VICENTE        IBARRA                 OK          21502061588
5285B414757157   DANIELE        DILLIS                 VA          90005054147
5285B47A88B169   MANDY          CLEMENT                UT          90011054708
5286124A661975   ADRIANA        GILBERT                CA          46065652406
5286132895715B   ZURAMA         ALVAREZ GOMEZ          VA          90008823289
52861434472B36   ADRIANNA       BOYD                   CO          90013344344
5286156A65758B   MIRIAM         OLIVAS-DELGADO         NM          90014665606
528616A5661973   ROBERT         HINOJOS                CA          90012216056
52861A44491587   CARLOS         LARA                   TX          75001100444
52862393672B36   DE LA CRUZ     FLORIBERTO             CO          33068973936
528625A212B27B   DONNELL        BROADWAY               DC          90010785021
52862724A61971   CRAIG          ADOLPHI                CA          90010267240
52862892A72B27   JOSE           RUEDAS                 CO          33011188920
52862AA9584373   JILLIAN        BROWN                  SC          90014830095
52863321A93724   DEBRA          KINS                   OH          90013783210
52863A21561973   MARINA         MARTINEZ               CA          90012130215
5286414952B354   LAURA          MENDOZO                CT          90015101495
52864967A93724   ANGEL          DRAKE                  OH          90011239670
5286567445B387   BERTHA         GARCIA MARTINEZ        OR          44520876744
52865781572B88   BRYON          GHORMLEY               CO          90007797815
5286615925B387   KEYONA         EVANS                  OR          90000441592
5286663965B399   BRYN           HILL                   OR          90014266396
52866A85133699   GEORGIA        STWART                 NC          90014830851
528676A1361975   ESTELA         SANCHEZ                CA          46035126013
528676A6672B27   CATHLEEN       FELTON                 CO          33095526066
5286823825B543   JESSICA        FAY                    NM          90006082382
52868297A72B49   IRENE          MONTOYA                CO          90012722970
5286852214B28B   BENJAMIN       ATKINSON               NE          26070415221
5286958745B393   IVETH          MONTIEL                OR          44564525874
5286B14238B169   MARIA          TUBBS                  UT          90009401423
5286B23615B393   MALSBURY       AMBER                  OR          90013282361
5286B2A482B27B   ALEXIS         BEANDER                DC          90014042048
5286B44262B27B   CHRISTIAN      ANDERSON               DC          90015484426
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5286B55424B28B   CARLOS        RODRIGUEZ               NE          90012255542
5286B97155758B   JESUS         SILVA                   NM          90012189715
5286BA45284373   MARYLIN       GREEN                   SC          90001800452
528713A345B543   EDUARDO       VARELA                  NM          90001773034
5287147565B35B   JASON         WALTERS                 OR          90014694756
5287276544B28B   JAKE          SABIN                   NE          90012167654
5287288A272B36   TRENT         DEGEN                   CO          90012418802
52872A3115B387   ANDREA        GROB                    OR          90002270311
52873179A97B54   MICHELLE      HARRIS                  CO          90011721790
5287421628B169   VERONIKA      GALLEGOS                UT          90004002162
5287452618B169   VERONICA      GALLEGOS                UT          90014025261
5287473114B521   CONSTANCE     COOK                    OK          21556487311
528754A5961973   AHLYNNA       BUENROSTRO              CA          90000294059
52875A6325B393   OSCAR         BARRIENTOS              OR          44533720632
5287627A472B88   MICHAEL       FIELD                   CO          33072042704
5287725895B538   RAEBETH       WISE                    NM          90011232589
52877322672B43   ROBERT        TRUJILLO                CO          90003103226
5287761935758B   MONICA        SALAZAR                 NM          90010336193
528776A6A57157   ERICKA        RIVERA                  VA          90015186060
528777A162B27B   MONICA A      ALLEN                   DC          90003487016
5287854365B399   CHERICE       JONES                   OR          44519725436
52878747872B27   ISRAEL        PADILLA                 CO          90007487478
52878981872B88   PAUL          SORENSEN                CO          90003239818
52878982772B36   BLANCA        MOJITA                  CO          90005389827
52878A75661975   NOAH          POSADA                  CA          90003180756
5287917754B28B   BRIAN         ADAMS                   NE          90014921775
528791A5933699   ULISES        ANALCO PERULERO         NC          90014831059
52879997272B36   DEBORAH       LUCERO                  CO          90012319972
5287B786697B54   JOSE          AVALOS                  CO          39058197866
5287B788391587   CHRISTOPHER   HALL                    TX          90010977883
5288243694128B   KAYLEEN       CUNNINHAM               PA          90012444369
5288285524B521   LORETHA       RUNNELS                 OK          90014738552
5288289A94B52B   REGINALD      DOSS                    OK          90012838909
52883296872B49   JULIE         RITTER                  CO          33047262968
528838A1933696   DEONTE        GOODMAN                 NC          90015228019
5288517A34B521   JOHANNA       PLAEHN                  OK          90013611703
5288526224B28B   MARCELINO     MUNOZ MARQUEZ           NE          90013332622
52885598A5B399   GINA          BUSCHKE                 OR          90002655980
52885668472B43   LUIS          RUIZ                    CO          90010766684
5288584765758B   JESSE         RODRIGUEZ               NM          35539328476
52886272A5715B   JOHAN         BURHANUDIN              VA          90004522720
52886571A72B33   EDNA          AGUIRRE                 CO          33076125710
5288661585758B   NANCY         LOPEZ                   NM          90009566158
5288794894B28B   NORMA         KISSACK                 NE          90008069489
5288853244B28B   JUSTIN        STOTTS                  NE          90013145324
52888589A61975   JESUS         HERRERA                 CA          90014645890
5288924175B531   REYNA         CHAVEZ                  NM          90014472417
52889767697B54   MIGUEL        LUNA                    CO          90014977676
5288B99242B27B   RASHENA       THOMAS                  DC          81091809924
5288BA6515B387   WILLIAM       SPENCER                 OR          44526690651
5289139224B28B   NICOLE        LAIRMORE                NE          90010473922
5289145A461971   EMEDARDO      PENUELAS                CA          90001034504
52891724A51348   HILARY        ROBINSON                OH          90001477240
5289197215B387   GAIL          FLEENOR                 OR          44506729721
52891A85185928   ANTHONY       PROFFITT                KY          90006330851
52892687924B51   SHEI          HAYNES                  DC          81006836879
52893677572B36   GLORIA        LOVATO                  CO          90013296775
52893796372B43   ALTHEA        LEWIS                   CO          33086737963
52894291A5B387   MARIANA       AVILA                   OR          44597022910
52894458A84346   PAULINA       RAMOS                   SC          90015274580
5289447342B27B   SHADA         HARDY                   DC          81047034734
5289449A151348   BRENDA        BOBBITT                 OH          90007014901
52896361472B43   GABRIELA      PEREZ                   CO          90003583614
52896646472B49   SARA          EVANS                   CO          90004886464
5289698392B27B   KIMBERLY      YOUNG                   DC          90013439839
5289721645B531   TOBY          YOUNIS                  NM          90002232164
528972A6561973   JEANE         BUCKLEY                 CA          46089302065
52897313272B27   BLANCA        ARANDA                  CO          90014553132
5289792A631428   STEPHANIE     WASHINGTON              MO          27540739206
5289869845B387   CARLOS        GARCIA                  OR          90007866984
528986A787B46B   LATASHA       CRAWFORD                NC          11010866078
5289986814B588   SHARMARREON   HILL                    OK          90013998681
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5289B248497B54   MARIA        AVALOS                   CO          90007562484
5289BA68A72B67   ADDISU       DEJENE                   CO          33070860680
528B119664B28B   TAMIKA       RODRIGUEZ                NE          90010211966
528B171212B27B   JANET        HERRING                  DC          90004827121
528B176694B588   CRYSTAL      CARSON                   OK          90012827669
528B249A561975   BRENDA       COVARRUBIAS              CA          90013964905
528B2882491895   SARAH        RUSSEL                   OK          90000798824
528B3355672B88   SEQUIA       HAYES                    CO          90003193556
528B3585A57563   CECILIA      ORTIZ                    NM          90001005850
528B3627A33699   AARON        PHILLIPS                 NC          90015076270
528B396535B393   KESETE       NAIZGI                   OR          44573979653
528B3AA6684357   MEL          DANIELS                  SC          90011370066
528B4337A5B399   JENNIFER     DIETL                    OR          90007863370
528B4975861971   LAURA        GASKINS                  CA          90011089758
528B4A4347B46B   JEREL        DRYE                     NC          11095930434
528B55A6A72B43   ARMANDO      HERRERA                  CO          90005165060
528B5943784373   LUSELVA      MORALES                  SC          90015339437
528B6365861965   TED          WILSON                   CA          90015293658
528B6731291587   NIDIA        RETANA                   TX          75053867312
528B6744693724   JOSLYN       BROWN                    OH          90014117446
528B6793672B43   ANTHONY      HODSON                   CO          90007507936
528B6798272B67   MARY         CASADOS                  CO          33058487982
528B68A325B531   WENDY        CHRISTIAN                NM          35005988032
528B737A257157   PETER        BOISSON                  VA          90012883702
528B7A43591895   MAI          VUE                      OK          90011210435
528B837254B28B   SCOTT        REPLOGLE                 NE          90007383725
528B859A15B393   SAM          BENEDY                   OR          44518205901
528B88A7984357   SHANTELL     DELANCY                  SC          90015148079
528B966338B169   TONY         MARCHESE                 UT          90014566633
528B9972197B54   CRISTINA     YANEZ                    CO          90014889721
528B997275B531   BEN          MONTOYA                  NM          35014799727
528B9992A4B588   CHRISTINA    NELSON                   OK          90010389920
528BB118431479   KIM          HEALEY                   MO          27582681184
528BB628733696   JULIE        BREWER                   NC          90011976287
528BB98264B588   MARY         GARRISON                 OK          90008439826
52911299372B49   JOHN         GURULE                   CO          33025232993
5291157765B387   JUAN         CAMPOS                   OR          90015205776
52911586797B54   MATHEW       COLE                     CO          90015345867
5291158714B588   LORENA       CASTRO                   OK          90006945871
52911883A72B67   MARIO        ALVAREZ                  CO          33005788830
529118AA184357   ANNE MARIE   WILSON                   SC          90013868001
5291219A45B543   JOHN         AGUILAR                  NM          90005471904
52912723697B54   FRANCISCO    RODRIGUEZ                CO          90005117236
52912724772B27   ELIAS        BAUTISA LOPEZ            CO          90012837247
52913986472B36   KISHA        DOYLE                    CO          33070629864
5291416AA72B49   LINDA        SUE KNAPP                CO          90009121600
5291485962B27B   MIKAL        ABDUSSALAAM              DC          90006398596
5291552A551348   ERIC         NAPIER                   OH          90008755205
529165A8172B43   LAVAUGHN     QUINTANA                 CO          33070155081
529167A937B421   CRYSTAL      BARKER                   NC          90012517093
5291684167B46B   LATRICE      NESBIT                   NC          90013598416
5291738185B531   PABLO        LUCERO                   NM          90004953818
5291738834B521   RUSSELL      POINDEXTER               OK          90013613883
5291766915758B   JORGE        GONZALEZ                 NM          35584036691
5291783262B27B   DOMINIQUE    IRVING                   DC          90008418326
5291865365B531   ELVA         RAMOS                    NM          35060696536
529195A3657157   ALFRED       SMITH                    VA          81014485036
529196A885758B   CYNTHIA      MARTINEZ                 NM          90002606088
5291B356384373   MARTHA       MACIAS-VILLAGRANA        SC          90013933563
5291B45315B387   JUDY         WILSON                   OR          44543024531
52921259372B43   NICHOLE      LYLE                     CO          90010452593
529216AA75B283   NICHOLE      FIELDS                   KY          90004076007
5292214875B399   LEHUA        YOSHIOKA                 OR          90007531487
5292224114B28B   WILLIAM      RUTT                     NE          26093682411
529228A115758B   DELFINO      CORDOVA                  NM          35527298011
52922A77A72B77   JONATHAN     MARTINEZ                 CO          33056300770
52923233272B27   FRANCISCO    LUJAN                    CO          90012122332
52923367772B43   JAKE         TAYLOR                   CO          90012583677
5292434527B46B   ANA          LOPEZ                    NC          90004783452
52924367772B67   JUAN         FREYRE                   CO          90002393677
5292523A393724   YOLANDA      KNOX                     OH          90014932303
52925429A72B36   DIEGO        BEDOLLA                  CO          90007904290
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5292567645B399   MAURILIO        TAPIA                 OR          90009526764
5292582445B283   JESSICA         PLDT                  KY          90004268244
5292652A47B46B   TONY            WILLIAMS              NC          90013215204
5292665A472B36   TYLOR           LUCERO                CO          90014346504
52926695172B43   GRISELDA        VILLALPANDO           CO          90010896951
52926A37572B36   RAUL            ROMERO                CO          90013480375
5292735AA5B387   JAMIE           SARTER                OR          90003753500
52927444272B67   MIGUEL          HERRERA               CO          33041184442
5292747665758B   GILBERT         DIAZ                  NM          90013274766
52927A6377B394   ROSA            ANDRADE               VA          90006190637
52928279A57157   ELMER           BONILLA               VA          90011402790
5292838838B169   EDWARD          BOWMAN                UT          90012703883
52928A15772B43   CLAUDIA         SANCHEZ               CO          90003740157
52928A2584B588   ASHLEY          MERRYMAN              OK          90009510258
5292941214B28B   ANBER           ROBIN                 NE          90005564121
529295A955B543   APRIL           LUCERO                NM          35056445095
529297A974B521   CODY            WELDON                OK          90010497097
5292B46952B27B   SAUL            GUEVARA               DC          90010304695
5292B56645758B   DALE            DUFFEY                NM          90009945664
5292BA94A81688   TIARA           WHITE                 MO          29011820940
5292BA9545B561   ANNA            CANDELARIA            NM          90012480954
5293137175B393   OCTAVIO         GARCIA                OR          90000413717
5293171125B387   CHERYL          NELSEN                OR          90009167112
52932529872B49   ELIZA           ESCAMILLA             CO          33086705298
52932877124B7B   JUAN            PINEDA                MD          90015418771
5293298547B46B   ROBERT          COHER                 NC          11013749854
52932A98993724   TERRI           PACKNETT              OH          64509170989
5293359634B579   VANESSA         VIERA                 OK          90011035963
52933669A97B54   GLENDA          VIEYRA                CO          90015576690
5293425575B543   JOSE DE JESUS   TREVIZO-NUNEZ         NM          90007532557
529356A4633696   LATASHIA        MOORE                 NC          90008376046
529364A4472B77   DEXTER          METCALF               CO          90010944044
52937133A7B46B   GREGORY         DAWKINS               NC          90014841330
5293737398B169   TAMMY           FERNANDEZ             UT          31063033739
52937593797B54   AMIE            ORNELAS               CO          39082625937
529382AAA71964   SARAH           ROSAS                 CO          90014362000
52938628A72B36   FERNANDO        SALMARON              CO          90013486280
529386A397B46B   SHAMIRA         PERKINS               NC          11013266039
529386A8261971   HERLINDA        QUIRINO               CA          90011406082
5293937A94B521   SHANTE          ALLEN                 OK          90014223709
5293B273A8B169   ALICIA          DOWNS                 UT          90003022730
5293B556461965   HANNAH          DAVALOS               CA          90013535564
5293B612961973   LATOYA          BLOUNT                CA          90009836129
5293B643872B77   JULIO           JIMENEZ               CO          33054786438
5293B835872B43   DEYSI           LARA                  CO          90007388358
5294117812B27B   TIARA           GRIFFIN               DC          90014661781
5294159844B588   PENNY           LOEFFELHOLZ           OK          21551985984
52941715772B49   JODY            LUCERO                CO          33001517157
529419A2297B54   SAMANTHA        WEST                  CO          90007809022
52941A33A5715B   ADRIAN          SANTILLAN             VA          81042100330
52941A58597B54   SAMANTHA        WEST                  CO          90014530585
5294227A95758B   JESUS           CHAVIRA               NM          90013952709
5294254814B588   MOHAMED         COULIBALY             OK          21577115481
529429A667B46B   BRIAN           LEEPER                NC          90006009066
52942A66161965   AYMEN           KIRKUKI               CA          90010270661
529431A2384357   OCTAVIA         BRYAN                 SC          90013871023
529438A3161973   ERNIE           BUCHANAN              CA          90001348031
5294439694B521   TIMOTHY         MANZANARES            OK          90014223969
529449AA884357   SAVONDA         SMALLS                SC          90010519008
5294542424B588   DUTCH           STUDER                OK          90012184242
52945777772B36   TRAVIS          SWAN                  CO          33076687777
529459A485B531   NICOLE          SOLIS                 NM          90010889048
5294648884B28B   SHANTEKIA       HITE                  NE          90004154888
5294649574B588   BOBBY           SPEARS                OK          90013844957
52946679A71964   DANE            MCWILLIAMS            CO          32084206790
52946986A72B36   CARA            CASIAS                CO          90013219860
52946A93A91895   TIONNA          RUSSELL               OK          90014700930
52947A48833696   ERIC            CURRIE                NC          90008650488
52947A52357157   ABRAHAM         JR                    VA          90012890523
5294831165B387   WARREN          SADRIN                OR          90011193116
5294897A28B169   JON             AHLSTROM              UT          90011609702
52949396972B36   LISA            BOND                  CO          90006373969
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2327 of 2500


52949498472B88   SMITH             DANIELLE            CO          33017384984
5294968557B46B   FURMAN            WILLIAMS            NC          11060796855
5294991424B521   MARY              WOODS               OK          90009879142
5294B36942B27B   KEISHA            MCKENZIE            DC          90008663694
5294B373361975   AMERICA           ALGANDAR            CA          90012593733
529511A6191934   TAMEKA            SCALES              NC          17074121061
52951A89891587   GILBERT           RAMOS               TX          75072230898
52951AA4351348   JESSICA           CLEMONS             OH          90015310043
5295229635B399   DAVID             STONE               OR          44549552963
529522A8197B54   MARIA             ALVAREZ             CO          90015082081
529525A9A81682   DENNIS            GAPPA               MO          90001145090
52952A74361965   ALEN              KHOSHABA            CA          90010270743
5295387964B521   DMITRI            PHILLIPS            OK          90010338796
52954218972B43   ARMANDO           LINARES             CO          90005492189
529544A6172B77   ANNETTE           SAUCEDO             CO          33048764061
529546A3791587   CARLOS            PRIETO              TX          90014726037
529549A572B27B   CAMELA            HENRY               DC          81047049057
52954A52A91856   AUBREY            STANFORD            OK          90011930520
52955A14384373   ALONZO            STONEY              SC          90014800143
52956797772B77   RUBEN             RODRIGUEZ           CO          90002897977
529576A4161975   WILL              WRIGHTEN            CA          90012846041
52957773772B43   MATTHEW           LENGER              CO          90013227737
5295824895B531   TANYA             KENNEY              NM          90001722489
5295839835758B   VERONICA          GALLEGOS            NM          35522493983
5295843A561965   RYAN              HANNA               CA          90002294305
5295898A15B543   ANNETTE           SISNEROS            NM          35001939801
52959279A57157   ELMER             BONILLA             VA          90011402790
5295937A231462   REBECCA           OKEEFE              MO          90010963702
5295B864571964   LEE               GREG                CO          90011628645
5295BA8A75B229   MUNIR             CHAUDHRY            KY          90005060807
529611A4497B54   IGNACIO           CASIAS              CO          90000841044
52961223A84373   ANTONIA           HAYWOOD             SC          90009832230
5296163415B399   SUSANA            PEREGRINA BARRERA   OR          44556466341
52961649872B49   GABBY             PEREZ               CO          90012426498
529617AA98B169   ESTELA            ESPINOZA            UT          90014687009
52964383272B49   STACEY MICHELLE   WEEDA               CO          90013013832
5296519682B27B   HENRY             JEFFRESS            DC          90001091968
5296553A55B387   ELAINE            CASON               OR          90011525305
52965555457B81   ANGLA             SARJONO             PA          90015185554
52965877372B67   OSCAR             MEJIA               CO          33000928773
5296589A98B169   ASHLEY            CRUZ                UT          90009868909
5296595894B521   PHAT              NGUYEN              OK          90006999589
52965A48951348   HOWARD            OLIVER              OH          66017350489
52965A68631428   PATRICIA          HAMILTON            MO          90010580686
5296664A593724   LEE               SERVICE             OH          90010846405
52966677672B36   MISTY             RIEDESEL            CO          33099776776
5296674814B588   BRANDON           ANTHONY             OK          21558007481
52966A29861965   ASHLIE            PITTMAN             CA          90010870298
52967A4794B588   HARMONY           HAWKINS             OK          90003490479
52968439572B36   BRYANT            BONET               CO          90007904395
529684A394B588   BLANCA            ORTEGA              OK          90005724039
5296881544B588   KELVIN            ROSE                OK          90013088154
52969277972B27   ANTHONY           PUALSON             CO          90014812779
5296947827B46B   BALTASAR          PIZANO              NC          90007124782
529694A1A97B54   JENNIFER          THOMPSON            CO          90012594010
5296B1A7984373   PRINCESS          CARTER              SC          90014771079
5296B85A472B43   CHRIS             HERNANDEZ           CO          90007508504
5296B92744B588   JUAN              MONJARAS            OK          90014209274
52971379A7B46B   YERWIN            CRUZ                NC          90010623790
52971A49933696   DAYTONA           LEAK                NC          90013280499
52972A7A45B399   DENISE            COBB                OR          90007820704
52973A76857131   EDITH             VIGIL               VA          90001760768
52974493A5B387   JONNETTA          BROWN               OR          44551544930
52974A67651348   MARIO             CRUZ                OH          90013030676
5297544435B531   PAULA             MARTINEZ            NM          90010614443
5297548685B399   JOSE              LUIS                OR          44564484868
5297659255758B   VIRGINIA          CHAVEZ              NM          90003955925
52977138872B49   CLAUDIA           MAINE               CO          90015271388
5297731A87B46B   SHAVON            ROBINSON            NC          90010633108
5297B37557B631   EJINKONYE         ANEKWE              GA          15000333755
5297B847A61971   DONALD            HASTINGS            CA          90004928470
5297BA24A33657   MIRANDA           BELK                NC          90003390240
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52982584A5B387   NANCY       QUADE                     OR          90008865840
5298276515758B   MIGUEL      CASTILLO                  NM          90013757651
5298313414B251   RICHARD     CLARK                     IA          90007741341
52983565672B36   ARACELI     LOPEZ                     CO          33002775656
5298417565593B   EVARISTO    MENDOZA                   CA          90007671756
52984629672B49   DEVIN       ARNOLD                    CO          90012456296
52984775272B27   ROBERT      CLIFFORD                  CO          90013257752
5298545724B251   BEVERLY     HARRISON                  NE          90007764572
5298548235B531   RYAN        COLEMAN                   NM          90011174823
52985512197B54   HEATHER     KIEHN                     CO          90013645121
5298563215B393   REBECCA     JARDING                   OR          90010316321
52985821872B36   ALAN        CROWDER                   CO          90009998218
52986243A5758B   VIRGINIA    DIAZ                      NM          90013882430
5298719647B46B   ELIZABETH   JIMENEZ                   NC          90015001964
52987454972B43   ROCK        LINDSAY                   CO          90013614549
5298793A193724   PAMELA      FRISON                    OH          64553989301
52987999A33699   TOMEKA      ANDERSON                  NC          90008439990
5298827A25B393   BETTY       ODELL                     OR          90009472702
52988746A97B54   JOSEPH      LUJAN                     CO          39088297460
52989372A84373   HEIDI       TEJADA                    SC          90014923720
529897A7861975   ANTHONY     ACUNA                     CA          90013827078
5298981A261965   JESUS       GONZALEZ                  CA          90013988102
5298B159361971   ANGELA      HUNT                      CA          90014651593
5298B63A161975   AIOTEST1    DONOTTOUCH                CA          90015116301
5298B89434B521   ROSA        HERNANDEZ                 OK          90015168943
5299112A133696   KIMBERLY    JOHNSON                   NC          12092271201
529913AA741242   HEATHAR     WHITE                     PA          90007413007
52992956172B36   NERI        BRAVO                     CO          90009579561
529935A615715B   MANUEL      CEDILLOS                  VA          81036115061
52993832172B49   KAREN       BURGOS                    CO          90013338321
52993921572B36   TRACEE      BRISENO                   CO          90012299215
5299443A531294   GEORGIA     SHANKEL                    IL         90000764305
5299444235B531   BRITTANIE   SANFORD                   NM          90008644423
5299456882B27B   AARON       WHITE                     DC          90012505688
5299478877B46B   SHENEAKA    JHONSON                   NC          90011437887
5299494A761975   KENNETH     GRAY                      CA          46064109407
52995442872B43   MARTHA      SAMBRANO                  CO          33023734428
5299563735B393   MARTIN      COON                      OR          44533656373
5299574475B387   LISA        MCKAREN                   OR          90013787447
52995A95333699   ASHELY      EDGAR                     NC          90012040953
52995AA915758B   RANDY       CALKINS                   NM          90014020091
5299647522B27B   CHADA       VAN                       DC          90014394752
52996553498B2B   SONGA       SOWELL                    NC          11099525534
52996659A5758B   SYLVIA      GONZALEZ                  NM          90004306590
5299742915B283   STARR       GATHARIGHT                KY          90002834291
5299743A598B2B   EMILIE      DIAKIESE                  NC          11041064305
5299782A591587   CARLOS      CARDOZA-VALENZUELA        TX          90010978205
529978A7897B54   ROSALINDA   RODRIGUEZ                 CO          39088138078
5299864A191895   JAQUELINE   ROBERTS                   OK          21013756401
5299883255B531   DENISE      BACA                      NM          90014778325
52998A8385758B   DAVID       MENDEZ                    NM          35594060838
52999611672B49   MARTHA      HERNANDEZ                 CO          90008666116
5299B31218B169   KIRSTEN     MAGINNIS                  UT          31091993121
5299B61915754B   ROSEMARY    PEREZ                     NM          90006426191
5299BA1955758B   CHARLES     MONTGOMERY                NM          90012610195
529B1855A93724   ANTHONY     CLEMONS                   OH          90010808550
529B2222281664   GLADYS      WILLIAMS                  MO          29031862222
529B26A655715B   NUMAN       SHAH                      VA          90009846065
529B272355B387   MYCHAL      GILLESPIE                 OR          90014517235
529B299A357157   ANA         YANES                     VA          90013289903
529B3255733696   SLOAN       JOHNSON                   NC          90014622557
529B327215B399   SONIA       NANDO-ZURITA              OR          44592492721
529B3545891587   GABBY       HINOJOSA                  TX          90014155458
529B3997172B43   JOSH        ROMERO                    CO          90011469971
529B4213672B49   HELEN       TORRES                    CO          90012902136
529B4581133696   BRITTANY    MAYNARD                   NC          12051085811
529B5585961973   PATRICIA    BELTRAN                   CA          90009035859
529B55A985B531   JAMIE       BAHE                      NM          90013385098
529B5852272B43   ISABEL      MENDEZ                    CO          90004688522
529B5872357157   CARLOS      ALONZO                    VA          90013108723
529B6266184357   MARLEN      FLORES                    SC          90012442661
529B6534472B36   JAY         DAVID                     CO          90014555344
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529B6965871964   GERMAN      VILLANUEVA                CO          32092289658
529B739512B27B   LAURA       HARRIS                    DC          81090463951
529B747984B588   BENJAMIN    ALANIZ                    OK          90008764798
529B764344B28B   DENITA      WILKINSON                 NE          90003936434
529B768925B399   ZACHARY     LOOP                      OR          90013266892
529B77A9A93724   DSHARA      FARRELL                   OH          90012937090
529B8115984852   CANSECO     FIGUEROA                  NJ          90013931159
529B8374172B49   LAY         LOET                      CO          90010723741
529B87AA697B54   CAROL       KORGAN                    CO          39088287006
529B9387533699   JACKSON     ANTONIO                   NC          90014953875
529B9524572B43   MARIE       FRANCES                   CO          33083245245
529B9588861965   JAYMIN      MOHAMMED                  CA          90007475888
529B986735B399   MARBELIS    REYES                     OR          90010758673
529BB15195758B   ELIEZER     PUERTO                    NM          35502821519
529BB54864B521   HEATHER     ANDERSON                  OK          90011565486
529BB833393724   BESSIE      DUKE                      OH          64598008333
52B1127A598B2B   HORETHA     SINGS                     NC          90005792705
52B11357877943   AUGUSTIN    BAUTISTA                  KS          90011803578
52B11457A97B54   DARCY       PAGET                     CO          39090954570
52B11A2A92B27B   CHELSEA     LALES                     MD          90015470209
52B11A59272B67   BERTHA      SANTISO- MORALES          CO          33014280592
52B12789A8B169   FAY         MALDONADO                 UT          90011627890
52B13482172B36   MIRIAM      RODRIGUEZ                 CO          90010994821
52B13594833696   CATINA      HEATH                     NC          12059775948
52B13A3175B543   RUBI        CASTILLO                  NM          90008360317
52B1412364B521   CORNELIO    REYNA                     OK          90011551236
52B1452AA72B49   JENN        SARACENO                  CO          33024465200
52B14628733699   JULIE       BREWER                    NC          90011976287
52B14924A33157   JOHN        DOTSON                     IL         20592659240
52B14A8135B38B   NOAH        GENELIN                   OR          90013190813
52B1515618B167   JEANNE      BARNES                    UT          31085201561
52B15185961973   ROBERTO     HERNANDEZ                 CA          90012231859
52B15226A5B399   ALICIA      ULREY                     OR          90015102260
52B15278738522   EMMIE       CASTENALLOS               UT          90011652787
52B1549275B387   KIM         NGO                       OR          90010164927
52B15587457157   IRMA        FUENTES                   VA          90007595874
52B15667491895   DELFINA     JIMENEZ-SANDOVAL          OK          90013786674
52B159A5372B49   ALDO        MENDOZA                   CO          90013559053
52B16147A5B283   ROBERT      PORTER                    KY          68073111470
52B1624785B387   ANA         ANDRES                    OR          90013362478
52B17126733699   JOSNAUNA    PATTERSON                 NC          90013571267
52B1738965B399   GEO         SCHUFFLER                 OR          90012023896
52B1749755B543   MILDRED     BROWN-ANDERSON            NM          35007604975
52B18284A91587   FLOR        REYES                     TX          90011652840
52B1871754B521   LETICIA     ORTEGA                    OK          90014167175
52B18974461973   CLAUDIA     MARQUEZ                   CA          90009679744
52B18A3A68B169   ADELMO      BACA                      UT          90014800306
52B19482172B36   MIRIAM      RODRIGUEZ                 CO          90010994821
52B19536591587   ALEJANDRO   OLAGUE LLACA              TX          90010975365
52B19979833696   KEVIN       ROBINSON                  NC          90008519798
52B19AA4191587   DIANA       PYLE                      TX          90013950041
52B1B788561975   JESUS       CORTEZ                    CA          90012377885
52B1B81455B399   MONIQUE     MORRELL                   OR          90007398145
52B2121535B531   JOHNATHAN   GONZALES                  NM          90013352153
52B2227374B536   ALEX        LUNA                      OK          90001692737
52B22294133699   VAN         JOHNSON                   NC          12009032941
52B2237A672B27   TAMMY       LANI                      CO          33070103706
52B2313684B521   MARIA       ORTIZ                     OK          90011551368
52B23181A33699   PERRYN      WILSON                    NC          90014741810
52B23483633699   TONYA       NAILS                     NC          90008744836
52B24317884373   LEIGH       BELL                      SC          90001693178
52B24323372B27   MILO        GALINDO                   CO          33056053233
52B24471584357   ASAKO       GARRETT                   SC          90015164715
52B24691893724   DORIS       LOPEZ                     OH          90000286918
52B24817691895   ROGER       WALKER                    OK          21026068176
52B24877171964   WILL        WILLITS                   CO          90011588771
52B24998372B36   ALAN        MORENO                    CO          33054109983
52B2544A657127   JACINTO     DE PAZ                    VA          90009584406
52B255A1757157   PAULA       FOWLER                    VA          90001755017
52B25728651348   SANTOS      TORES                     OH          90011127286
52B2581797B46B   MIRSSA      GODAIR                    NC          90013378179
52B2596715758B   LILIANA     MORIN                     NM          90012759671
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52B2646245B393   KAYLIE          WORCESTER             OR          90007154624
52B2654985B531   TRISHA          CHAVEZ                NM          90007465498
52B26717A4B588   OWOLE           LAWANI                OK          90001047170
52B27274557157   CHRISTOPHER     KELLEY                VA          90014462745
52B27867A7B46B   FREDA LAVERNE   TYSON WILLIAMS        NC          90007448670
52B2836815B393   ASHLEY          VOSS                  OR          44579643681
52B28497351348   NATASHA         PEOPLES               OH          90008504973
52B29227797B77   STACEY          FURNELL               CO          90001802277
52B29317A72B49   FRANCISCO       CASTRO                CO          90014853170
52B2942215B399   EVELIA          ALFONSO-HERNANDEZ     OR          90000434221
52B29988431428   SHARAY          SLAUGHTER             MO          90009009884
52B2B17A991587   DIANA           JAQUEZ                TX          90013121709
52B2B1A545B531   CHARLENE        BALDIZAN              NM          90013711054
52B2B298472B43   JOHN            REGAN                 CO          90010402984
52B2B3A4997B54   BRANDY          GARCIA                CO          90012723049
52B2B488991587   STEPHANIE       MORENO                TX          90014824889
52B3174A48B169   REYNA           MORALES               UT          90008107404
52B31A9834B521   FAITH           WELCH                 OK          90008070983
52B32591961975   TANYA           CINONEROES            CA          90010765919
52B3269965B531   SAM             LAING                 NM          90012686996
52B3291195B399   FAVORITA        ANDON                 OR          90013899119
52B33168A33696   KEISHA          DAVIS                 NC          90012251680
52B3321258B164   PAULA           TAGER                 UT          90014442125
52B33242157157   ANA             SANCHEZ               VA          90013012421
52B33314772B49   MERAZ           ROCIO                 CO          90010723147
52B3456A672B36   JEREMY          WRIGHT                CO          33014575606
52B3466A881669   ISABEL          HERNANDEZ             MO          90009606608
52B3512167B46B   AQUARIUS        GARLINS               NC          90013581216
52B3529862B272   SABRINA         JOSEPH                DC          90001442986
52B3533A18B169   AMY             EVANS                 UT          31094793301
52B35831761971   BRAULIA         CASTILLO              CA          90011988317
52B35836433696   TRACY           NEWKIRK               NC          12088888364
52B35A19891587   LINDA           ROCHA                 TX          90013950198
52B36382533699   EBONI           RICHARDSON            NC          90005403825
52B3643A198B2B   ANGELA          SCOTT                 NC          11017984301
52B36631361965   ARTISHA         NORNS                 CA          90006616313
52B36754372B49   GEORGE          DOCHERTY              CO          33013857543
52B36763584373   CLAUDIO         ANDRADE               SC          19080397635
52B36884161975   FRANK           DURON                 CA          90009698841
52B36996633696   TIFFANY         SLADE                 NC          90010429966
52B36A15693724   CARNELLA        PARKER                OH          64509280156
52B36A96861971   KELCI           WALKER                CA          90012260968
52B37178172B27   CARAYN          WAVEFIELD             CO          33051311781
52B37257772B49   AGAPITA         NAVARRO               CO          33095342577
52B37496557157   CARA            BONNER                VA          90011174965
52B3811497B46B   MICHAEL         JONES                 NC          11045831149
52B3813675B393   EDGAR           CHEL PUC              OR          90007031367
52B38429A72B36   SABRINA         SMITH                 CO          90003584290
52B3847A393724   HEATHER         ASHLEY                OH          90012304703
52B38513391895   VALERIE         JAMES                 OK          90014215133
52B38935291922   REYNALDO        BONILLA               NC          90011499352
52B39451391587   ANDREW          BROWN                 TX          90009084513
52B3949184B521   TRINH           DYE                   OK          90014654918
52B3B26414B588   CANDY           WOOTEN                OK          21589382641
52B3B33172B27B   BARBARA         WILLIAMS              DC          81024273317
52B3B9A165B531   MARIA           ESQUEDA               NM          35043879016
52B3BA9235B399   OLIVIA          ALEXANDER             OR          90011890923
52B41847197B54   NATHAN          LEBSOCK               CO          90013408471
52B42445457157   EDITH           HUEZO                 VA          90012414454
52B424A427B631   MADELINE        BOYKIN                GA          15019984042
52B4259544B521   JOSE            AGUILAR               OK          90014915954
52B4279274B28B   MIKE            HOAGLAND              NE          26081117927
52B42869772B27   CARLA           WOODS                 CO          33013728697
52B43229897B54   KATARA          BURROLA               CO          90007562298
52B432A744B521   SKYLER          BOWEN                 OK          90006802074
52B432A8672B36   KIRK            DOUGLAS               CO          90013752086
52B43587A5758B   MICHAEL         MARTINEZ              NM          90009625870
52B43AA9991521   JOSUE           PEREZ                 TX          90009990099
52B44218691587   VERONICA        CASTRO                TX          75042732186
52B44257397B77   MARSHA          MAESTAS               CO          90012462573
52B4426185758B   MERCY           HERNANDEZ             NM          90001822618
52B44285261975   MARIA           CARRI ZALEZ           CA          90004452852
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52B44819731428   ANEL          DIZILAREVIC             MO          90011988197
52B4547525B283   KAREN         YOUNG                   KY          90000804752
52B4586578B169   CODY          RODICIO                 UT          90014408657
52B46185A57157   RUDY W.       CRUZ                    VA          90012781850
52B46449761975   TERESITA      INZUNZA                 CA          90015154497
52B4662A461971   AMBER         KUNAVICH                CA          90012666204
52B4693A68B169   FLORA         GNJALVA ALVAREZ         UT          90013999306
52B46A99472B67   ADAM          WEYANT                  CO          33033850994
52B47383272B88   MARIA         BOWER                   CO          33058343832
52B47383751348   TERI          CASPER                  OH          90011893837
52B47559191587   RUDY          HERNANDEZ               TX          90010975591
52B476A3271964   MIREYA        MARTINEZ                CO          32071236032
52B476A3872B36   TAWANA        GREEN                   CO          33081606038
52B4786AA4B521   HEATHER       HARTSHORN               OK          90010298600
52B47882791587   BRANDON       PANGILINAN              TX          90012178827
52B4821135B399   SHELLY        HOGDON                  OR          44528182113
52B48356461965   JOVANI        AGUILAR                 CA          90010323564
52B4852975B393   DONOVAN       HINKLE                  OR          90015055297
52B4858717B46B   MARGARITA     TEXIDOR                 NC          11009225871
52B4873465715B   MEDARDO       RIVERA-LOPEZ            VA          90011817346
52B4881968B169   CYNN          REDEYD                  UT          90014558196
52B489A8A72B27   SHEILA        HECKENDORN              CO          90012769080
52B48A59157157   ROXANA        CANALEZ                 VA          90001890591
52B49117354153   EDWARD E      LIVINGSTON              OR          90009051173
52B49954961971   BRIGITTE      BARNES                  CA          46065619549
52B49986872B88   DAISY         RIVERA                  CO          90003229868
52B4B31592B27B   DIANE         LOGAN                   DC          90010193159
52B4B58A172B36   KERIN         MENDEZ                  CO          90010265801
52B51113A5B387   ROCKO         FRAZIER                 OR          90006061130
52B5124818B169   AARON         EDWARDS                 UT          90008102481
52B51662361975   ADRIAN        WATSON                  CA          46093216623
52B51A57172B49   LANSDOWN      LADAWN                  CO          33047620571
52B5264454B521   SHARI         DELEON                  OK          21593996445
52B52772761973   GEORGINA      HERNANDEZ               CA          46068877727
52B52953A57157   ELITE HOME    CARE SERVICES           VA          81011109530
52B53113591895   DEVIN         DENTON                  OK          21012251135
52B5311364B521   ROSA          REYES                   OK          90014181136
52B53126184373   CHRISTINA     WILLIAMS                SC          90014571261
52B5318324B588   TAMARA        RODRIGREZ               OK          21542451832
52B53257472B49   RICHARDO      YOUNG                   CO          90013602574
52B54176361971   DRUCILLA      RUOCCO                  CA          46095641763
52B54613931429   JACQUELINE    NIELSEN                 MO          27571576139
52B5487294B588   DERIK         HUBER                   OK          90013428729
52B5582955758B   BELINDA       BAYLON                  NM          35510668295
52B559A4951348   KRISTINA      KIRKLAND                OH          90009359049
52B56341A72B27   ROSALBA       MORALES                 CO          33067863410
52B565A515B399   MATTHEW       BECKETT                 OR          90011605051
52B56692471964   BYRON         WEATHERBY               CO          32029766924
52B566A3761973   PABLO         BARIOS                  CA          90012726037
52B56897133699   GUADALUPE     SANCHEZ                 NC          90001178971
52B57218972B27   CHRISTIAN     ALDER                   CO          33089912189
52B5784886194B   TONI          MARTINEZ                CA          90007778488
52B57977933699   JOHN          BROWN                   NC          90009389779
52B5799A257123   CARLOS        MARTINES                VA          90008049902
52B57A6A772B36   ANDREA        URIOSTE                 CO          90014630607
52B57A79457157   DRENA         JONES                   VA          90008350794
52B58175672B88   PATRICIA      TRUJANO                 CO          33038181756
52B58191372B43   V ALARIE      STEGALL                 CO          90015121913
52B58775951348   EUGENE        RIDENOUR                OH          90010617759
52B5911734B521   SHANNON       ALMEIDA                 OK          90014181173
52B59192572B43   MAYRA         MONREAL                 CO          90015121925
52B59565891587   SARA          ALVARADO                TX          75010435658
52B59A31484357   JOSEPH        DRIESSEN                SC          90014760314
52B5B14288B169   CRISTANA R    AMES                    UT          31004461428
52B5B49244B521   ERICA         ZELAYA                  OK          90011074924
52B5B75244B521   RAMIRO        IBARRA                  OK          90014167524
52B61252361973   DANNY         MUNOZ                   CA          90011952523
52B61411333699   JOANN         PARKER                  NC          12003004113
52B62356133699   DAMION        CAMPBELL                NC          90005623561
52B62583684373   DEANDRA       GANT LAMBERT            SC          90014035836
52B6295865B283   LISA          STONE                   KY          90004239586
52B63458161971   WINTER ROSE   HERRERA                 CA          90010084581
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52B634A7472B49   TANYA          HERNANDEZ              CO          90006444074
52B63539A61971   WINTER ROSE    HERRERA                CA          90014035390
52B6373935B531   LARRY          PAIZ                   NM          35062237393
52B6411AA61973   AQUILEO        HERRERA                CA          46083841100
52B64346A5B399   BRUCE          BRINES                 OR          90002873460
52B64686361965   CONSUELO       SAUCEDO                CA          90004926863
52B64896961975   BRIAN          PERIN                  CA          90014618969
52B649A8497B54   ROSARIO        JAQUEZ                 CO          90009719084
52B64A91493724   JEANNA         MADDOX                 OH          64586760914
52B65189A7B46B   MARTIN         KNIGHT JR              NC          90014081890
52B65327A61975   MOHAMMED       SAAID                  CA          46017783270
52B65669384357   NANN           SEARLES                SC          14581556693
52B6581885B393   JEREMY         POLAND                 OR          90011358188
52B65831A4B588   SHENNA         WEBSTER                OK          90012558310
52B65944572B43   ELISA          RAMIREZ                CO          33076839445
52B662A912B27B   ANNETTE        SPENCER                DC          90002342091
52B6652A861965   BAHAA          PUTRUS                 CA          90007625208
52B66555997B54   CELIA          MORADO                 CO          90013185559
52B6662A95B387   MICHELLE       WERNER                 OR          90013266209
52B66751891587   LUIS           DOMINGUEZ              TX          75047737518
52B66998A5B531   DIANE          LUCERO                 NM          90009259980
52B67592893724   MELISSA        THORNHILL              OH          90012265928
52B6768615B399   ROBERT         PARKER                 OR          90013286861
52B67698861949   ZAGROS         DAWOUDI                CA          46055706988
52B6794912B27B   GABUL          TAMESGEN               VA          90013079491
52B68241757157   VERONICA       RUIDIAS                VA          90013902417
52B68526272B43   CHUCHUS        GARCIA                 CO          33024325262
52B685A914B28B   BRENDA         THIENEL                NE          90011065091
52B68863771964   KARA           LOCKWOOD               CO          90008118637
52B69188284373   CARMEN         LAZCANO                SC          90011771882
52B69196372B36   RYAN           BORDER                 CO          90013471963
52B6B3A8161973   MICHAEL        MARQUEZ                CA          90009853081
52B6B452453B41   MANUEL         RAMRIQUES              CA          90014164524
52B6B969531429   PAMELA         WHITE                  MO          90006859695
52B6BA27591587   DIANA          MUNIZ                  TX          90013950275
52B6BA5194B588   SELAMAWIT      HADGU                  OK          90013810519
52B71417A5B393   CURTIS         WATERS                 OR          90014054170
52B7196645758B   JOHNNY         MEDINA                 NM          90011519664
52B71A1AA33699   ROXANA         ARELLANES              NC          90010310100
52B72131797B54   IVETTE         CHAPARRO               CO          90009241317
52B721A275715B   WUILIAN        GUTIERREZ              VA          90011821027
52B7239477B46B   DEREK          CARTER                 NC          90011303947
52B724A6185928   JAMIE          PARKER                 KY          67069684061
52B7267245B387   JESSE          GAMBREL                OR          90014696724
52B72A21771964   JULIAN         JIMENEZ                CO          90011270217
52B73133371964   SHAUNA         STOUT                  CO          90005141333
52B7359462B27B   BRENDA         LANCASTER              DC          90012395946
52B73751461975   JESUS          IBARRA                 CA          90014897514
52B73AA6572B88   ISAURO         CELAYA                 CO          90003230065
52B74198872B43   PEDRO          ARAMBULA               CO          90014171988
52B74594361971   MATT           WHITE                  CA          90002705943
52B74897833696   GRIR           JEFFERYS               NC          90013998978
52B7576157247B   JOHN           HAIRSTON               PA          90007947615
52B75926972B43   KAYLEY         WALKER                 CO          33011979269
52B7596A191895   ROY            HAWS                   OK          90011139601
52B75A82661965   NANCY          SPENCER                CA          90000710826
52B76434791895   BRITTNEY       GREEN                  OK          90014724347
52B7688985B531   JANICE         SIMS                   NM          90008728898
52B76956572B36   GREG           MAES                   CO          33036559565
52B76AA622B973   JAMAAL         STAMPER                CA          90004350062
52B7719475758B   JOSE           SOTO                   NM          35585861947
52B7768485B393   MELISSA        HEAD                   OR          90001786848
52B77741597B77   ANGIE          MONTOYA                CO          90008687415
52B7787855B387   KIM            LEE                    OR          90012428785
52B7827245B387   VALERIE        PIERCE                 OR          44588792724
52B7847924B28B   JONI           OLBERDING              NE          26076144792
52B789A112B27B   ERICK DANIEL   FUENTES                VA          90012709011
52B79199661975   PEDRO          RANGEL                 CA          46067081996
52B79354872B27   ALBERT         JENNINGS               CO          90009243548
52B79685172B27   LIZETH         ESPINOZA               CO          33069726851
52B79849591895   JOLANTA        ALONSO                 OK          21088118495
52B79974361965   FERNANDO       BAHENA MORENO          CA          90010249743
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52B79975A5B283   DMARCUS      MASON                    KY          90004239750
52B7B527793724   MEGAN        MOORE                    OH          90013065277
52B7B83355B393   JAMES        LANGRILL                 OR          90010978335
52B7B91316199B   JOSE         GOMEZ                    CA          90010369131
52B7B96A924B7B   FLOR         MENJIVAR-BRUNO           DC          90005149609
52B7B998561973   ANTHONY      BERMUDEZ                 CA          90015169985
52B7BA19861965   CATHLYN      GARIBAY                  CA          90007450198
52B8114329373B   JOELLE       MOBLEY-EPPS              OH          90013791432
52B825A1384357   AMANDA       CHAMBERS                 SC          90010345013
52B8266735758B   SONNY        SMITH                    NM          90013996673
52B82844861965   KASSANDRA    WITHERSPOON              CA          90013498448
52B8367655B387   BOLIS        RALPH                    OR          90009746765
52B838AA761973   ROCIO        BALLESTEROS              CA          90013078007
52B8457325758B   ALFREDO      BARRON                   NM          90014885732
52B84591891895   JULIE        TRAVINO                  OK          90014215918
52B84A53A8B169   BRENT        BLANCH                   UT          31011920530
52B84A7A95B531   JIANYING     LIU                      NM          90010800709
52B85252961965   MELODY       LEE                      CA          90012542529
52B8542294B28B   MARIA        CROOK                    NE          26025304229
52B85424351348   ANDREW       MCQUEEN                  OH          90013364243
52B85539633699   JALIK        AUSTIN                   NC          12045625396
52B85854461975   NORA         CHANCE                   CA          90004308544
52B8587294B588   DERIK        HUBER                    OK          90013428729
52B85958433696   ELGAN        FARRAR                   NC          90014089584
52B85973157157   BERNICE      ADJALOKO                 VA          90007599731
52B86539893724   MARESA       SCOTT                    OH          90008615398
52B8795A893724   REED         VELLAMY                  OH          90014229508
52B87A75457123   SONIA        AYALA                    VA          90013520754
52B88127861975   NEPH         HH                       CA          90008001278
52B884A2872B36   HESTINGS     MELINDA                  CO          90007464028
52B88619361973   KARIME       ZUBILLAGA                CA          90009486193
52B8863188B169   AMANDA       TOWSEND                  UT          90010716318
52B886A2491895   MENEA        ALFRED                   OK          90014006024
52B88A4A684373   LISA         HARRY                    SC          90015160406
52B89141791534   KIR          ANAYA                    TX          90010611417
52B89596233696   CLIFFORD     MOORE JR                 NC          90014115962
52B8B184261965   MICHELLE     BANEGAS                  CA          90009161842
52B8B1A924B53B   CHRISTY      LEWIS                    OK          90008151092
52B8B364591892   EDUWIGES     HERNANDEZ                OK          90013933645
52B8B835897B54   JOSE         FLORES                   CO          90015138358
52B8B856761971   BRUCE        BEACH                    CA          90015138567
52B91527572B36   ELIZABETH    SCHAEFFER                CO          90010315275
52B9194A27B46B   MELISSA      GUTIERREZ                NC          90012419402
52B91A42984357   TARA         COURTNEY                 SC          90008690429
52B91A98224B42   JUAN         COLATO                   VA          90010400982
52B92323772B77   DIANA        RIVERA                   CO          33047993237
52B92981572B49   BRIANA       MALDONADO                CO          90011889815
52B93437472B49   SELFA        VIVES                    CO          90008984374
52B93453161973   ROGELIO      GALLEGOS                 CA          90012244531
52B9357264B588   MANUEL       RAMIREZ                  OK          90008385726
52B93679191587   JOSE         CHACON                   TX          90012966791
52B94833333699   QWAMAINE     LAFORD                   NC          90010068333
52B94899461975   MARTHA       VALDEZ                   CA          90014618994
52B94A95184373   DIANA        FOSTER                   SC          90004420951
52B9512725758B   ALFONSO      LOYA JR                  NM          35589801272
52B95179157157   YESENIA      VILLALOBOS               VA          90011451791
52B9543A397B54   GENARO       SALVADOR SANCHEZ         CO          39094534303
52B9569265B531   STEPHAN      GOLDMAN                  NM          90011126926
52B96193784373   TARLYN       HUBBARD                  SC          90014571937
52B96417A61939   ALBERTO      REAL                     CA          90001364170
52B96788A91933   TIMOTHY      LINCOLN                  NC          90001047880
52B96794242335   CHRISTINE    MILLRANEY                GA          90009187942
52B9744125B531   MARY         GARCIA                   NM          90013934412
52B9774635B387   SHUNTESHIA   HART                     OR          44506037463
52B97A1357B632   ANGELA       WILSON                   GA          90012310135
52B98152284357   FELICIA      COSTA                    SC          90015291522
52B98828991587   LORENA       GONSALEZ                 TX          75082768289
52B989A9384357   WILLIAM      VELIZ                    SC          90010909093
52B99196457157   JOHN         WATTS                    VA          90014741964
52B99225493724   GEORGETTE    BATES                    OH          90012212254
52B99255861973   MARIO        DOVAL                    CA          46029652558
52B9948345715B   AMBER        PRUITT                   VA          90006564834
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52B998A575B531   CHAMELEON   PCS                       NM          35003668057
52B99934384373   MARIELI     HOLMES                    SC          90013239343
52B99975684357   BARBARA     SIMMONS                   SC          90011409756
52B9B238342335   CODY        LAMONT                    GA          90011322383
52B9B28945B399   MAKO        PETERSON                  OR          90015102894
52B9B48974B521   SANTIAGO    PUAC                      OK          90006804897
52B9B578484357   LAKISHIA    SMITH                     SC          90014895784
52B9B782A72B49   RICHARD     STITT                     CO          90013157820
52B9BA38791587   LAURA       ZAMARRIPA                 TX          90013950387
52BB1223A72B27   CHARLES     DOTHAGE                   CO          90011622230
52BB1573161975   REBECCA     LOMU                      CA          46098015731
52BB1672471964   MARCELINO   MARTINEZ                  CO          32091206724
52BB249A361973   ARLENE      HUEVO                     CA          90000754903
52BB292215B399   JASMINE     MCKAY-WHITNEY             OR          90009919221
52BB3148124B7B   MAMO        KUMILACHEW                VA          90012721481
52BB346575B283   JENNIFER    MICHEL                    KY          68057354657
52BB369184B521   AMBER       ESTRADA                   OK          90014166918
52BB3A65A72B88   ANGELICA    CANDIA                    CO          33013200650
52BB431435B393   MITCHELL    BROOKS                    OR          44591193143
52BB4349A61965   ANDREW      VEGA                      CA          90014743490
52BB456824B28B   MARK        KAWAMURA                  NE          26015125682
52BB46A6293724   ELIZABETH   CHRISTMAN                 OH          90006036062
52BB473245758B   JOHN        DOE                       NM          90011427324
52BB4A86393724   ZANA        WHEELER                   OH          90014030863
52BB5937661971   MARIA       HALL                      CA          46072739376
52BB6718471964   SARAH       YOUNG                     CO          90002387184
52BB6A5294B28B   APRIL       BARTON                    NE          90005200529
52BB7555A91895   CHANTEL     TERRY                     OK          90004345550
52BB76A8533699   CARLOS      BULL                      NC          90014806085
52BB7843A5B387   BRENDA      HEART                     OR          90015608430
52BB786217192B   ELIZA       REYES                     CO          90010498621
52BB7A99591587   ARGELIA     ARVIZO                    TX          90012260995
52BB84A8161971   PRINCESE    LACHERL                   CA          46066804081
52BB86A225B399   HEATHER     RANGEL                    OR          44566496022
52BB8838584373   ANTONIO     GREEN                     SC          90006978385
52BB8919561965   YOLANDA     MENJAREZ                  CA          46026879195
52BB91A2357157   DENISE      SOUTHERLAND               VA          90011281023
52BB953565758B   VALERIE     GARCIA                    NM          35509675356
52BB988558B169   CATRINA     AIYANA                    UT          90009368855
52BBB888661975   DANIEL      ENRIQUEZ                  CA          90009708886
52BBB961272B36   MONIQUE     GARCIA                    CO          33008489612
5311169A161975   ROBERT      KYLE                      CA          46061066901
53111A39572B98   JAMES       SANGER                    CO          33023900395
531126A862563B   PERECIOUS   VINSON                    AL          90014306086
5311333AA91587   VICTOR      TAPIA                     TX          90013483300
5311367295758B   MYRIAM      ENRIQUEZ CAMPO            NM          90014056729
5311382124B521   KRISTINA    SWINDLE                   OK          21557778212
53113A88A5B393   HOLLY       LINDSTROM                 OR          90000800880
53114966172B36   SHANE       GRASSER                   CO          90011369661
53114A1582B27B   JOSEPH      NWANCHA                   DC          90011870158
531156A1473268   GARY        MORTON                    NJ          90012306014
53116AA9672B49   ABDIEL      HERNNADEZ                 CO          33048880096
53118336A5B387   STICKS      JONES                     OR          44552913360
5311874492B27B   GERALDINE   CLAY                      DC          90007837449
53118A72972B67   JESUS       VILLADA                   CO          33081300729
53119133998B2B   PATRICIA    CRUZ                      NC          90005801339
5311937884B28B   SERENA      SCHLICKER                 NE          26086083788
5311937A35B393   MOISES      BRAVO                     OR          90013953703
5311937A45B399   SHAWN       WILSON                    OR          90004183704
5311B43655B271   CEDRICK     GRIFFIN                   KY          90004394365
5311B724A5B399   MAURIECO    CAMACHO                   OR          90007197240
5312179457242B   PERCY       MOORE                     PA          90015117945
531219AAA71964   ALEX        GROSS                     CO          90012859000
5312251594B28B   MISTY       HAYES                     NE          90012715159
53122797372B36   ALEX        MARTINEZ                  CO          90012697973
53122A5867242B   JENNIFER    HIGBEE                    PA          90015160586
53122A94191534   AMPARO      VARGAS                    TX          90014200941
5312314692B27B   DARIYAH     GREEN                     VA          90012591469
531234A955758B   VIVIANNA    SHAW                      NM          90012374095
5312363844B588   WILSON      MORALES                   OK          90014996384
5312373372B29B   MARTIN      ALEMAN                    DC          90006407337
53123796A8B169   MEGAN       WALLACE                   UT          90010917960
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5312451A68B169   JOSE         ANTONIO                  UT          90012885106
5312452A233696   KASEY        BAKER                    NC          90012385202
5312482955B271   JEFFERY      TAYLOR                   KY          90008428295
53124927772B36   ISRAEL       RAMOS                    CO          90015069277
53125174A5B393   BRAD         SNELL                    OR          90010811740
531257A424B588   LEHMAN       BOYCE                    OK          90001327042
53125AA2676B75   COBI         ESPINO                   CA          90012910026
5312675A672B43   CABALLERO    MARIA DEL CARMEN         CO          33054877506
53126A7764B521   BRANDON      RUTH                     OK          90007020776
5312711A133696   STEPHANIE    TUTT                     NC          90013471101
5312724725B399   SCOTT        BENSON                   OR          44519892472
53127A77733699   JOHN-MORRO   SMITH                    NC          90012310777
53129A81733699   LINA         LANGIRIK                 NC          90014690817
5312B129472B36   GREGORY      SANCHEZ                  CO          90011001294
5312B351433696   DESMEION     KENNEDY                  NC          90010733514
5312B7A4A5B399   ROSA         MCFADDEN                 OR          90009687040
53131614472B43   GARY         JOHN                     CO          90013376144
5313224A761975   ISELA        GONSALEZ                 CA          90010422407
5313235A77242B   JEWEL        NEWHOUSE                 PA          90007033507
5313238A54B28B   TRACI        YRLE                     NE          26061063805
5313295927B46B   MARIA        POSADA                   NC          11053669592
5313336667B46B   RONALD       PAZ                      NC          90013053666
5313416815B531   ALVINA       GONZALES                 NM          90014091681
53134282972B49   GEORGE       HOLM                     CO          90012822829
531346A437B46B   JENNIFER     QUESENBERRY              NC          90008626043
53134A6358B169   MISTY        WATSON                   UT          90014630635
531358A5833696   DUSTIN       MAYNARD                  NC          90013348058
5313623A65B387   ERICK        MONTGOMERY               OR          90014812306
5313638534B28B   SAMIA        GAMIE                    NE          90008433853
531367A6872B36   STEPHANIE    YANKTON                  CO          33010207068
5313742827242B   SCOTT        SCHULTZ                  PA          90012824282
5313755395B399   AMBER        CENTZ                    OR          90014145539
531375A587B46B   WILLIAM      BAKER                    NC          90010425058
531378A7A2B27B   SHANEKA      JONES                    DC          81013828070
53138451972B43   JAMES        BURGOS                   CO          90015274519
5313923717B385   TAMMY        COX                      VA          90001412371
5313B316191534   OSCAR        ORTEGA                   NM          75095533161
5313B343333699   REGINALD     PEARSON                  NC          90015483433
5313B65A698B2B   ELDA         GOMEZ                    NC          90013786506
53141467372B43   JOHN         BUSS                     CO          33055504673
5314197A672B67   KENDALL      PETERSON                 CO          90007309706
53142598272B67   LORRAINE     RUIZ                     CO          90003245982
5314281635B531   SHAWNDA      WADE                     NM          90011238163
5314299A385928   CHANDA       HARWELL                  KY          90012079903
5314394635758B   BALTAZAR     MENDOZA                  NM          35578149463
53143A54891534   SUSAN        PEREZ                    TX          75058920548
53144633A91895   LUIS         MARTINEZ                 OK          90003706330
53144A76351348   TYRONE       FERRELL                  OH          90015110763
53145266A5B387   QUINN        MICHAELS                 OR          90014382660
53145318A55959   PRUNEDA      MARTINEZ                 CA          90012533180
5314617657242B   BRANDON      GIBBONS                  PA          90004921765
53146A69161975   ELENA        MONTEMAYOR               CA          90005280691
5314827214B28B   SAMANTHA     BROWN                    NE          90009262721
5314853A143569   JAMIE        PEDEN                    UT          31060025301
5314921AA4B28B   NICHOLAS     CANNADY                  NE          90012192100
5314947635B531   PAUL         BALLOU                   NM          90010654763
5314B2A7A5758B   LIAN         PU                       NM          90011052070
5314B668661971   CHRISTINA    CRUZ                     CA          90011566686
5314B893357157   SANDRA H     THURSTON                 VA          90014518933
5315111175B387   SAMUEL       SESAY                    OR          90013381117
531517A1155928   PATTI        BIBB                     CA          90006737011
53151A45833696   ERIKA        ELDRIDGE                 NC          12008930458
53151AA4472B36   RENEE        MITCHEM                  CO          33052070044
53152855372B49   ABIGAIL      SEREMET                  CO          33049648553
531535A373B381   RICHARD      WAND                     CO          90003845037
53153834472B43   ALEXUS       GARCIA                   CO          90007918344
53153A5787242B   JAMYSHIA     WILLIAMS                 PA          90014580578
53154418A5715B   HECTOR       BUSTAMANTE               VA          90006344180
53154AAA161971   GLORIA       LEYVA                    CA          46091050001
53155362972B36   ANA LILIA    PILLADO                  CO          90009393629
531553A7961971   ADOLFO       MUNOZ                    CA          46051333079
5315573862563B   TAMMY        GUFFY                    AL          90015327386
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53155835A24B7B   SILVIA              MENDEZ               MD       90010138350
53155886876B75   ROSALVA             LACHA                CA       46092948868
531558AA18B169   DARREN              HORNYAK              UT       90011418001
53155A17372B77   ANGELICA            SARAGOSA             CO       90002880173
53155A9777B496   KAREN               MUNDY                NC       90007730977
5315719A743569   JACOB               WARREN               UT       90015471907
53157468A91895   EMMA                HART                 OK       90013294680
5315762127B46B   RODERICK            FISHER               NC       90009536212
5315773535758B   MANNY               TREVIZO              NM       90002287353
5315791775B543   ALEJANDRA           CARRASCO-HERNANDEZ   NM       35087199177
5315794567B46B   DIANNE              JACKSON              NC       90014789456
53157991372B36   ERICK               LOPEZ                CO       90012939913
53157A19255959   ALEJANDRO           FARICIO              CA       90012820192
5315866285B531   MICHAEL             SON                  NM       90002646628
5315869195B393   TERESA              RAMOS                OR       90000826919
5315889A47B46B   DAVONN              PIERRE ROSE          NC       90014068904
5315937353B399   ALINDA              SALMANS              CO       90000313735
531599A555715B   NINBAKUHIT          NAHED                VA       90006829055
5315B135661836   PAYGO               IVR ACTIVATION        IL      90010231356
5315B162351348   EVELYN              THARP                OH       90013201623
5315B433657157   MONICA              PETERSON             VA       90013144336
5315B61577B46B   TAQUIN              BROWN                NC       11093986157
53161121776B75   SERGIO              SANCHEZ              CA       90013931217
5316117635758B   ALVENITA            CANO                 NM       35559381763
5316176A75B399   HAROLD              GASKIN               OR       44519907607
53161969A5B393   EVELIA              CORTES               OR       44509119690
5316277918B169   CHRISTEPHER SHAWN   LINN                 UT       90014167791
53162A3335B393   SANTANA             BROCA-BURELO         OR       44549570333
53162AAA943569   JOEL                WRIGHT               UT       90015050009
5316374935758B   OLIVIA              CANAS                NM       90014337493
53163839672B49   EMALEE              TYRELL               CO       90013438396
5316471985715B   ELMER               SANDOVAL             VA       90004577198
531649A9231428   FRANCIS             MPIA                 MO       27565049092
53164A62471964   MICHAEL             AMIOTT               CO       90002180624
531651AA74B588   STEPHEN             LEE                  OK       90000571007
53165565672B98   ARACELI             LOPEZ                CO       33002775656
53165855372B49   ABIGAIL             SEREMET              CO       33049648553
5316611915B393   JULIETA             RAMIREZ              OR       90000801191
53166485A84357   LATITE              HIPP                 SC       90010684850
5316692787242B   CODY                PATTON               PA       90013879278
53166AA5A55959   LORENZO             HOLGUIN              CA       90015160050
53167619376B75   DIDLER              DUNATIE              CA       90013846193
531677A927242B   WENDY               GALLAGHER            PA       90015487092
5316811197B46B   TRINAE              PERRY                NC       11019791119
5316847844B588   SHATARA             BRADLEY              OK       90010114784
5316878425715B   KAREN               MCKEON               VA       90010727842
53168948A5B271   WENDY               ROBERSON             KY       90002169480
5316B16A371964   SEAN                HAWLEY               CO       90012101603
5316B474591895   LATEESCH            CORNER               OK       21095944745
5316B944A7242B   RUTH                WORKMAN              PA       51078929440
5316B9A3461971   LESTER              STANLEY              CA       46071769034
5317111888B169   JESSICA             STOKES               UT       90012661188
53171745972B49   LUIS                NAVARO               CO       90014847459
53171814572B49   BRENDA              IBARRA               CO       90013998145
53171A22855959   ADRIAN              LARA                 CA       90012540228
53171A3754B588   VALARIE             DAMAS                OK       21514530375
5317272A272B27   BRITTINI            TYSON                CO       90015207202
53172A58261975   ALAN                NEELEY               CA       90014890582
53173192A4B28B   ALEXANDRIA          THREATS              NE       90010031920
53173456472B49   MARIA               RODRIGUEZ            CO       33075414564
5317351957B46B   JOYCE               GIBBY                NC       11046425195
53173A51871964   LORRAINE            COBB                 CO       90008620518
531747A614B28B   SHELLY              BRUNING              NE       26021417061
53174844A84373   INEZ                HUDSON               SC       19039518440
5317631635758B   RICHARD             SANCHEZ              NM       90010103163
53176419672B43   VICTOR              SANDOVAL-GUTIERREZ   CO       90001374196
5317648A35715B   SERENA              REYNOLDS             VA       90011314803
53176751A31425   SHAUNIQUA           WILLIAMS             MO       27503107510
5317736A64B28B   LAVONE              MEAD                 NE       90010563606
53177946A8B169   MELANIE             MIZE                 UT       31009799460
53178469176B75   SERGIO              TORES                CA       46038454691
5317859A771964   ASHLEY              AUNCHMAN             CO       32077635907
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5317882945B531   SHERI         PARRA                   NM          90013678294
53178A23A84357   SHELBY        MAKUCH                  SC          90014720230
53179124972B67   RAYMOND       MCKEACHIE               CO          90008441249
5317926654B28B   JAN           GALITZ                  NE          26089332665
53179A97393724   JACQUELINE    EVANS                   OH          90015020973
53179A9A876B75   GABRIELA      GUTIERES                CA          46026990908
5317B367A8B169   DURAN         CHRISTINA               UT          31074453670
5317B667155959   STEPHANIE     GONZALEZ                CA          48067176671
5317B855972B49   CHRISTOPHER   NEHRING                 CO          90005678559
5318158A25B393   ROBERT        GONZALEZ                OR          44587945802
53181616724B7B   DENARD        NORRIS                  DC          90014756167
531817A995B399   KIM           KRANINGER               OR          44545317099
5318225AA72B43   LINDA         BOGNER                  CO          90011152500
53182A82A61971   TARIK         HUSSEIN                 CA          90013400820
53184842A4B28B   LAMONICA      YBARRA                  NE          90001518420
53184877672B27   MARISSA       VILLESCAS               CO          33097658776
53184965A72B36   MURRAY        TYLER                   CO          33065469650
53185972476B75   VICTOR        SOLIS                   CA          46029149724
53187652672B43   AMBER         MONDRAGON               CO          90008736526
53187A1895B561   MARISSA       GONZALES                NM          35007140189
53187A77661973   RANDY         KURZMAUL                CA          90012000776
5318824285B543   STACEY        CARRILLO                NM          35088652428
5318961A372B27   MARIO         NAVA                    CO          90005216103
53189633472B36   PARTIDA       RUBEN                   CO          33058876334
53189876172B67   JOSE          RIVAS ISRAEL            CO          33062198761
53189959A33696   CHRISTINA     SMITH                   NC          90004289590
53189A7155B393   CHRISTOPHE    HAMMERSMITH             OR          44534240715
5318B727371964   BRITTANY      WILLIAMS                CO          90014657273
5318B814633699   THOMAS        CHISHOLM                NC          12014258146
5318BA23A84357   SHELBY        MAKUCH                  SC          90014720230
53191532A61975   IVAN          VASQUEZ                 CA          46006505320
5319282A25B387   JOSE          CORTES                  OR          44538058202
531931A8357157   VICTOR        TORRES                  VA          90014651083
5319396997B46B   ROBERT        TORRES                  NC          90013189699
5319452832B27B   DEMETRIUS     HAMM                    DC          90001415283
53195312A57157   MACIA         MOORE                   DC          90008343120
531959A6985928   WEATHERS      MELODIE                 KY          90010609069
53195A5778B169   CESAR         MEJIA                   UT          90014170577
53195A8A151348   DAVENPORT     SHALONNA                OH          66014440801
53196162498B2B   VERONICA      MARTINEZ                NC          11040581624
531961A524B241   ROBERT        BLACK                   NE          27084281052
5319798542B948   SOCORRO       SANDOVAL                CA          90009839854
5319839654B28B   NYANUAK       KONE                    NE          90012093965
5319853645B393   BRANDON       DELKER                  OR          90013975364
53198553272B27   BERNADETTE    JOHNSON                 CO          90011955532
53198613A2B869   DAWN          VANHOCK                 ID          90002446130
5319874755B399   NATHAN        VILLALOBS               OR          90005427475
53199224198B27   TEMIKA        TERRELL                 NC          90014372241
5319967828B145   TERRELL       BODILY                  UT          31044266782
5319B499655959   JANET         CORTEZ                  CA          90013714996
5319BA42161973   RACHEL        ESCAMILLA               CA          90014830421
531B132918B169   RODOLFO       TREJO                   UT          31018463291
531B1653172B49   JUAN          REYES                   CO          33078266531
531B1687A71964   ALICIA        ABRAM                   CO          90014696870
531B1A77833696   TISHA         MARSHALL                NC          12043580778
531B282755715B   KHATERINE     HERRERA                 VA          90014118275
531B28A3A72B49   NORMA         VARELA                  CO          90011488030
531B325785B399   GREGORY       DUPRE                   OR          90014202578
531B3523572B36   DAWN          DUNN                    CO          90010325235
531B3688655959   YULIANA       CORTES                  CA          90007226886
531B3764271964   CHRISTINA     MOORE                   CO          90009597642
531B4262255959   MARIA         MORENO                  CA          48095442622
531B4469972B49   JUAN          ROBLES                  CO          33048304699
531B5186872B27   JORGE         NORIEGA                 CO          90011111868
531B529248B169   ANTONIO       LORENZO                 UT          90013592924
531B532217242B   SHANE         SWOPE                   PA          90013813221
531B53AAA5B531   SERGIO        GONZALEZ-OREA           NM          90014923000
531B5444557157   EDDIE         SORTO                   VA          81079344445
531B5488572B43   LEONA         ORTEGA                  CO          33031044885
531B624294B28B   JOEY          NOISE                   NE          90011292429
531B6477185928   JOHN          ROCKWELL                KY          90013284771
531B6A98172B36   REFUGIO       ARMENDARIZ              CO          33032720981
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531B756668B169   PENNY        LAWRENCE                 UT          31069485666
531B8168943569   ARYIANNA     MCKIDDEN                 UT          90013861689
531B8571357131   RENE         RIVAS                    DC          81016605713
531B873635715B   CAZAVA       EASTERLING               VA          90002667363
531B93A1471964   GEORGE       BENNETT                  CO          90001423014
531B942725593B   JERI         URREA                    CA          90000964272
531B9588A5758B   SANDRA       TRUJILLO                 NM          90002455880
531B9764372B67   PAREDES      ELVIA                    CO          33035857643
531BB291791587   MONICA       SOSA                     TX          90013482917
531BB357A72B49   BRAIN        LOVE                     CO          90009713570
531BB513172B27   BRENT        HALL                     CO          33080635131
531BB534A91534   ANDREA       CALSADILLAS              NM          90013965340
531BB71A67B46B   ORVILIO      ARCIA                    NC          90013177106
53211534772B43   GUADALUPE    RODRUIGUEZ               CO          90007485347
53212299272B49   JAMES        HERRING                  CO          90007582992
5321237A65758B   ELVA         REZA                     NM          90011383706
53212A56872B27   GUADALUPE    BARRON                   CO          33002280568
5321326693B388   VALERIYA     SHLYGINA                 CO          90007982669
5321343115758B   JOSEFINA     ESTRADA                  NM          90012054311
53213625A5B531   ANTHONY      ROST                     NM          90010766250
5321383968B169   JOHNATHON    HOKE                     UT          31059068396
53213A4494B28B   JEREMY       BIKAH BI NGUEMAE         NE          26078630449
53213A4838B12B   JOHN         LARSEN                   UT          31087020483
5321474785B387   JOORI        ALI HASSAN               OR          44597657478
5321518475B399   JANET        LARA                     OR          44571431847
53216785A7242B   WALTER       CABLE                    PA          90007507850
5321761782B27B   SHAUN        ROBINSON                 DC          90015276178
5321781897B46B   MICHEL       GANTT                    NC          90011088189
5321832455B393   MICHELLE     ROBINS                   OR          44515783245
5321896596198B   LOURDES      CELAYA                   CA          90010899659
53218967533B26   JOHN         VAZQUEZ                  OH          90014489675
532191A768B169   CASSIE KAY   MARK                     UT          90014181076
53219269872B43   JOSE         CRUZ                     CO          33039762698
5321B5A9463657   BRENDA       FEELER                   MO          90004225094
5321B627461975   JACKIE       GARCIA                   CA          90005306274
5321B66717B46B   JERMALE      WHITE                    NC          90009746671
53221759472B43   FELIX        ORTEGA                   CO          33062307594
5322212A58B169   RANDY        TINGEY                   UT          90014181205
53222533A61971   MARTIN       PONCE                    CA          46040235330
5322259A391895   GLENNA       PARKMAN                  OK          90010605903
53223476572B31   AMY          LANYON                   CO          90012014765
5322417915B393   STEPHANIN    SCOTT                    OR          90012911791
5322423777B46B   SY DELOY     DELOY                    NC          90011202377
532245A585B283   RAUDEL       VIGO                     KY          68012405058
53224864A5B531   BRIAN        LOWERY                   NM          35017008640
53225154A91587   HERIBERTO    BETANCES                 TX          90012451540
5322535575B531   DANIEL       BOLEY                    NM          90007383557
532257A557B46B   ERICA        SWINNEY                  NC          90011947055
53225A55651367   LAURA A      BINGLE                   OH          66066120556
53225A69261975   MARGARITA    SANTOS                   CA          90012240692
53225AA8972B43   DANNA        STALLINS                 CO          90004150089
53226579972B49   ANTUNEZ      CLAUDIA                  CO          90000685799
5322678585B387   ROGER        GIFFIN                   OR          44509317858
53226922372B67   SHARON       BYCE                     CO          33035479223
532272A1271964   LISA         GONZALES                 CO          90009822012
53227533A91534   SYLVIA       MULLER                   TX          75091645330
53227949772B27   MARLON       ALDAZ                    CO          33041119497
53228124472B43   BREZINSKI    BRITANY                  CO          90010401244
532281A2661973   CONSTANCE    DEMBY                    CA          46095671026
5322824922B27B   SHAKIA       TRACY                    DC          90011422492
53228286598B2B   CORNELIA     CAMPBELL                 NC          90013252865
5322843465B387   MISSY        TAE                      OR          90011614346
53228A68691534   JAIME        ARREDONDO                TX          90013360686
5322953A143569   FORSGREEN    TREESA                   UT          31018215301
5322B37635715B   AKBAR        SIDDIQUI                 VA          90004323763
5322B599285928   DAEL         MALLORY                  KY          90012035992
5322B75A291587   ALONZO       ORTIZ                    TX          90013487502
5322B824A5758B   ASHLEY       ALBILLAR                 NM          90006318240
53231551172B43   TORRES       JOSE                     CO          33090495511
5323157A65B543   STEPHEN      ESCALANTE                NM          35084065706
5323187A293724   ERICA        THOMPSON                 OH          64500188702
532319A8261966   JONI         BARKER                   CA          90005919082
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53232231376B75   ELSA          AQUINO                  CA          46022502313
5323236665B38B   SARAH         MARZOUK                 OR          90007023666
532323A175B387   HODA          BEIKVERDILOO            OR          90014903017
5323264A761971   AIOTEST1      DONOTTOUCH              CA          90015116407
532326A6272B77   SHANNON       SHINGLETON              CO          90003156062
5323296185B531   PETER         RAPSTINE                NM          90014429618
5323296A593724   CHASE         DIXON                   OH          90008569605
532329AA531425   JONES         DRUMMOND                MO          90001429005
53232AA618B169   ED            VOIGT                   UT          90012220061
53233518A43522   MICHAEL       GRIMES                  UT          31001025180
53234151A72B25   GABRIELA      ORTIZ                   CO          90002281510
5323485354B251   HEATHER       SCHOON                  NE          90004448535
53234963172B67   JOSE          SANCHEZ                 CO          33002809631
5323556275B531   JOSHUA        ABEITA                  NM          35056345627
5323612A58B169   RANDY         TINGEY                  UT          90014181205
53236186672B43   JOHN          KEYS                    CO          90003311866
5323638875B531   RICHARD       GALLEGOS                NM          90011873887
5323666A861975   SARAYA        MORELANDL               CA          90004296608
5323716385B393   CINDY         RUTHERFORD              OR          90015121638
5323733A261971   CLOVER        ERICSON                 CA          90003903302
53237475576B75   JAGGER        HANSON                  CA          90009424755
53237499A91895   JUAN          AGUIRRE                 OK          21017804990
53237571A91534   ROCIO         RODRIGUEZ               TX          75090005710
53237868472B43   RAUL          BALDERRAMA              CO          90000458684
5323886A15B543   JOSEPH        MONTOYA                 NM          90005138601
53239795976B59   JOSE          VILLANUEVA              CA          90015127959
5323B5AAA43569   JESS          HERBERT                 UT          31010875000
5323B862872B88   SHAUNNA       BISHOP                  CO          33017918628
53241124872B67   ANDREW        CLYDE                   CO          33094281248
53242525272B25   JAMIE         JIMENEZ                 CO          90010525252
5324286365715B   JACQUELENE    RICE                    VA          90011128636
5324287A15B543   MARIA         FREER                   NM          35034728701
5324292165B399   VIRGIL        LUCERO                  OR          44582109216
53242A1162B27B   CHRISTOPHER   DANIELS                 DC          90014740116
53243152776B75   GINA          SEASHORE                CA          90002621527
53243A85643569   STOSH         JONES                   UT          90012690856
53244A61743569   CHRISTINA     BISCHOFF                UT          90005510617
53245214572B27   TIFFINI       CHAMPMEN                CO          33074252145
5324541A191587   MARTHA        SUBIA                   TX          75063054101
53245618127B3B   VULYNCIA      POINDEXTER              KY          90006326181
53245925572B43   TINA          JARAMILLO               CO          90014739255
532459A3585928   AUDREY        MONDAY                  KY          90010989035
53245A35555959   DAISY         AREVALO                 CA          90013090355
53246121698B2B   JOSE          LOPEZ                   NC          90005821216
53246371A5B387   BLANCA        GONZALES-ALLEN          OR          44506823710
53246A99484357   RICHARD       SNOWTEN                 SC          90007260994
5324733775B393   MICHAEL       MASKELL                 OR          90014243377
5324828975B393   PATRICIA      DELGADO PULIDO          OR          90015202897
53248384A72B49   PAULA         BOWMAN                  CO          90001613840
53248445A33669   LATASHA       POTTER                  NC          90014924450
532485A674B521   SHEANTA       NETTLES                 OK          90007045067
532493A6672B36   MARIA         MENDOZA                 CO          90012873066
53249AA8961971   JENNIFER      KENNISTON               CA          90012340089
5324B139A91895   SUSANNA       ZAMORA                  OK          90012611390
5324B328993724   DENISE        HAYES                   OH          90011243289
5324B45495B393   DUSTIN        KIRK                    OR          90013954549
5324B777557143   PAUL          WEIDHAS                 VA          90013627775
5324B891161975   MARGARITA     GARCIA-MOREIRA          CA          90004918911
5324B95575715B   CARMEN        GOMEZ                   VA          90005359557
53251156A98B2B   NORA          ESCOBAR                 NC          90005821560
532516A2871964   RANDI         DUNHAM                  CO          32092666028
532519A518B169   ANDREA        KAHN                    UT          90006209051
532519A615B387   KRISTEN       BAKER                   OR          90009809061
532528A6561973   STEPHANIE     MURGUIA                 CA          90012638065
53252A3625B399   SISMAI        GUERRA                  OR          90013740362
53253425A61971   SHARON        WASHINGTON              CA          90012634250
53253468172B27   CAROL         SHARPE                  CO          90005614681
5325391365715B   ZEFERINO      REBOLLAR                VA          90004349136
53253AAAA5758B   PERCILA       REYES                   NM          90010010000
53254151672B67   JENNIFER      RUBY                    CO          33062201516
53254231672B77   MICHAEL       JOHNSON                 CO          33069152316
5325534737B46B   JAQUETTA      FUNDERBURK              NC          90014563473
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5325539A54B588   DANIEL       BROOKS                   OK          90015053905
53255A55272B27   KANE         FRENCH                   CO          33011030552
5325615245758B   THOMAS       HOLGUIN                  NM          35592441524
53256363A55959   EMANUEL      MORENO                   CA          90012543630
532564A6891534   VERONICA     MARQUEZ                  TX          75076624068
5325671A55B338   AMBER        SHAW                     OR          90007957105
53257569A61973   GERARDO      TORRES                   CA          90013475690
53257638A43569   NORMA        VILLANUEVA               UT          31014696380
5325769795B387   ALEJANDRA    HERNANDEZ                OR          90010526979
532581A3991534   RAUL         LOPEZ                    TX          75091231039
53258594972B88   JOHN         BEAVER LLL               CO          33015235949
5325862324B588   RONDA        MENDOZA                  OK          90006486232
53259379672B49   ALFONSO      CONTRERAS                CO          90013983796
5325B14845B387   ALEJANDRO    GUZMAN                   OR          44568231484
5325B183761975   SELENE       FASSO                    CA          46055681837
5325B52885758B   CRISTINA     LOYA                     NM          90014175288
5325B79344B588   JAKE         JOLLIFF                  OK          90015207934
5325B899493724   CHRISTOPHR   BROWN                    OH          64543008994
53261422972B43   MANUEL       ARAGON                   CO          33085114229
53261898927B3B   TIERRA       BURRUS                   KY          90001088989
5326236798B169   ROXANNE      STACK                    UT          90001543679
5326264783B332   ALMA         TORRES                   CO          90013646478
5326264A74B521   LORI         DAVIS                    OK          90007046407
5326334368B169   RANDY        TINGEY                   UT          90014183436
5326367515B387   COLLETE      STRAUB                   OR          44506826751
532636A737242B   LISA         CHELLMAN                 PA          90011056073
53263799A91534   ZAHRA        KEYVAN                   TX          90010067990
5326428574B588   ESTELA       DEZHA                    OK          90012612857
5326463257B46B   CHARLA       MOORE                    NC          90000716325
5326472824B28B   SASHA        DORWART                  NE          90005127282
53264757672B43   JENNA        BEAULIEU                 CO          33067087576
53264A78776B75   BLANCA       GONZALEZ                 CA          90008100787
5326521855B399   RICCI        MCCONNELL-HEGLAND        OR          90013832185
53265395A76B75   JEREMY       GREGSON                  CA          46029463950
5326544455758B   ERICA        RAMIREZ                  NM          90011954445
53266167A43569   TASHA        HOWARD                   UT          90013551670
5326677952B27B   SHAYONA      BRAWNER                  DC          90014727795
5326778595715B   MARITZA      BARRERAS                 VA          90010677859
53268514676B75   LORI         WALKINGTON               CA          46001235146
53268527A57157   TANIA        RODRIGUEZ                VA          90014935270
5326866A65B999   ELAINE       DESCHANE                 WA          90014746606
5326869484B588   MELISSA      BRISTOW                  OK          21542636948
5326885134B28B   CLARK        WEAVER                   NE          90004868513
5326887A161973   LUCIA        RINCON                   CA          90011198701
53268A62431429   CURTISTINE   FOSTER                   MO          27572610624
532696A325B399   CANDACE      SCHULDEN                 OR          90012336032
53269986976B75   JORGE        SILVA                    CA          46026929869
5326998834B251   LISA         ABRAHAM                  NE          90012849883
5326B656572B43   JENNIFER     BAGEANT                  CO          33080716565
5326B877A55959   CARLOS       HERRERA                  CA          90013988770
5326BA9937242B   DUSTIN       REDMAN                   PA          90013880993
5327152944B588   MUH          MU                       OK          21563495294
5327199224B28B   MICHELLE     PERKINS                  NE          26081289922
53272A7A133699   RONDA        JACKSON                  NC          12044190701
5327413498B164   DANNY        MCCOLLUM                 UT          90007381349
53274533A4B28B   LISA         ORTHENGREN               NE          90010355330
53274721572B43   JAYLYN       ARMIJO                   CO          90012547215
53274918972B49   TIERRA       RENEE                    CO          90013689189
5327566A14B588   SABRINA      BROWN                    OK          90006486601
53276348372B27   SOPHIA       FONSECA                  CO          90009083483
5327672517B87B   ALAJAH       VASQUEZ                  IN          90015127251
53276A24355959   CRYSTAL      MENDOZA                  CA          90010960243
53276AA655B399   FILIBERTO    RODRIGUEZ                OR          44535380065
5327727A55B399   STACEY       HETRICK                  OR          44590982705
53277582872B43   JESUS        ROMERO                   NM          90014535828
53277731372B88   PHILLIP      YOUNG                    CO          90005827313
5327818A18B169   SUEANN       SENTER                   UT          31097801801
5327828A984357   SHARMELA     ORR                      SC          90014802809
5327867A17242B   SANDRA       DUNN                     PA          51082926701
5327878475715B   HUMBERTO     GOMEZ                    VA          90011147847
53278929572B88   BEN          AUST                     CO          90006529295
53278A4727B46B   SEQUENA      MORGAN                   NC          90001570472
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53279813A5B393   ANGELINA      QUINONES                OR          90014868130
5327B269991534   NOEL          JIMENEZ                 TX          90010992699
5327B53A65B387   MICHELE       GOLAY                   OR          90006045306
5327B577A91895   VICKI         GURNO                   OK          21036645770
532821A2772B49   LUZ           GARCIA                  CO          33002761027
53282413672B77   JOSE          AGUILAR                 CO          90005984136
5328257574B588   LOTTIE        PILLOIS                 OK          90014215757
532825A9461973   VIVIANA       ESTRADA                 CA          46008545094
532832A415B399   JESSICA       BROOKSHER               OR          90001872041
532835A9461973   VIVIANA       ESTRADA                 CA          46008545094
5328434737B46B   JAQUETTA      FUNDERBURK              NC          90014563473
532843A5798B2B   MINDY         MULLIS                  NC          11079873057
5328444A472B27   ERNEST        LEDOUX                  CO          90006674404
5328467127242B   ALEXANDRA     TOKAR                   PA          90012746712
532847A7376B75   JENNIFER      HARRIS                  CA          90014457073
5328496A857157   JULIO         SERRANO                 VA          90011789608
53284A8658B169   DENNIS        HARRIS                  UT          90002120865
53285229272B35   JERRY         WAYNE                   CO          90009292292
5328568595B399   STEPHEN       WEBB                    OR          90005196859
53286443172B43   AMBER         VIGIL                   CO          90013104431
5328698352B27B   TIERRE        BROOKS                  DC          90013699835
5328727355B387   JOSE          ESPARZA                 OR          90015182735
53287A3475B399   GUADALUPE     CHAVEZ                  OR          44518070347
53288985A72B67   TODD          LAFOUNTAIN              CO          90007319850
5328961854B28B   LACEY         HAMIK                   NE          90004696185
532896A7261973   NATALY        HEREDIA                 CA          46077276072
5328983335B338   ROGELIO       HERNANDEZ               OR          90008238333
53289A61271923   ANGEL         SEGOVIA                 CO          90011910612
5328B2A4198B2B   ANDY          CLARK                   NC          11061432041
5328B38295B531   CHRISTINA     CANDELARIA              NM          90008613829
5328B66565B393   KEIVAN        REZAEISADOL             OR          44584766656
5328B682991534   SEMONE        BEN-BANI                TX          90014546829
5328B8AA857157   ANGELINA      OSEI                    VA          81009088008
53291356A31428   ORANGE        JANAY                   MO          27509823560
532913A1591534   JUSTIN        MIRELES                 TX          75000853015
5329148764B521   ANGELINE      MOLLEL                  OK          90014884876
5329153235B393   MARLACK       ECHCBARRIG              OR          44550055323
53291A9285B399   SALINA        PARKS                   OR          44540610928
53292119924B7B   GERARDO       ROMERO                  VA          90005071199
53293986A33699   CURTIS        THOMPSON                NC          90001679860
5329471444B28B   JESSICA       PESCHEL                 NE          90011957144
532947A745B543   JACLYN        ARMIJO                  NM          90012657074
532949A965B531   GERARDO       SAENZE                  NM          35008049096
5329515A991587   LORENZO       HERNANDEZ               TX          90013491509
5329523512B27B   MANUEL        NERI                    DC          81024542351
5329582474B28B   VICTOR        CASTILLO                NE          90013048247
5329583545715B   MANUEL        GARCIA                  VA          90003718354
53295A32433696   BO            OMHH                    NC          90015150324
5329622525B538   DENNIS        DAVIS                   NM          35008572252
5329635312B27B   CLARK         WATSON                  DC          90014873531
53296667876B75   ESTELLA       BECERRA                 CA          90014386678
5329734887B46B   HOWARD        JOHNSON                 NC          90014563488
532976A8257157   JOSE          ARIAS                   VA          81043806082
5329784A44B525   TROY          MCVAY                   OK          90009628404
532984A9551348   NATASHA       ROLAND                  OH          66072654095
5329941233B338   IDOLINA       CASTILLO                CO          33042194123
5329B22818B169   CHRISTOPHER   PENA                    UT          90011752281
5329B264A51348   DANIEL        HAMPSON                 OH          66034282640
5329B574372B27   TAMAIGO       WILLIAMS                CO          90011995743
5329B966393724   JOSH          DAUM                    OH          90015039663
532B1161371964   RANDY         HILL                    CO          90010481613
532B138164B28B   ADRIA         SHELDON                 NE          26065573816
532B15A3361975   KELLY         HOWREY                  CA          90008705033
532B1684861973   YULMA         GUTIERREZ               CA          46028866848
532B1748961971   MICHELLE      FERRER                  CA          90008037489
532B2565372B67   LUCERO        DAWN                    CO          33089445653
532B261A171964   SAMUEL        ROGERS                  CO          90015126101
532B281573B387   SANDY         STEVESON                CO          33026298157
532B2A24572B27   MAYRA         OLIVAS                  CO          90000650245
532B2A54257157   TRACY         LOMMEL                  VA          81043460542
532B2AAA157157   RASHEEDA      ABDUR-RASHEED           VA          81026740001
532B3493A93724   CRAIG         METCALF                 OH          64515024930
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532B3965A5758B   AGUSTIN      REYES                    NM          35574139650
532B3A92772B43   JOSE         TARIN                    CO          33091430927
532B46A9A8B169   KIM          WELCH                    UT          31077726090
532B474947242B   JUSTIN       PRISTAS                  PA          90013507494
532B4979561921   JESSICA      ALVAREZ                  CA          90009629795
532B5116991885   JOSE         CANO                     OK          90011721169
532B515595B543   KISHAN       RENNICK                  NM          90013681559
532B5359372B27   DERRALL      STROCK                   CO          90014563593
532B5576172B36   MAR          JONES                    CO          33036255761
532B5654361971   EDUARDO      DEVINO                   CA          90009836543
532B5695191587   SHARON       WYNTER                   TX          90013486951
532B5832176B75   SATURNINO    REYES                    CA          46046088321
532B5849361975   RIGOBERTO    TORRES                   CA          90000168493
532B5A61485928   DULCE        TORRES                   KY          90014690614
532B623255B393   DENEENE      GEBO                     OR          44547782325
532B6327243569   TERESA       MACIAS                   UT          31023323272
532B6429A91895   LINDZE       ARRINGTON                OK          90011674290
532B662A572B67   LEONARD      MARTINEZ                 CO          33082466205
532B663A676B75   AIOTEST1     DONOTTOUCH               CA          90015116306
532B698A88B169   EPPY         HERNANDEZ                UT          90014289808
532B719975B387   JOSHUA       TRUMBLE                  OR          90014741997
532B722538B169   JENNIFER     ROSSINI                  UT          90014632253
532B7416572B67   ADRIAN       WILKINS                  CO          33061904165
532B799935B399   ASHLEY       BREILAND                 OR          90001879993
532B831917242B   PAUL         WEBB                     PA          51035743191
532B834335758B   NICOLE       CABERERA                 NM          35546433433
532B844AA72B43   MICHAEL      TAYLOR                   CO          90013854400
532B8759671964   REX          DODDE                    CO          90014657596
532B8A24A9136B   STEPHAINE    BRUCE                    KS          90007650240
532B92A865758B   SINTIA       DELATORRE                NM          90013332086
532B932812B281   EDMOND       BYNUM                    VA          90008173281
532B9973691534   JESSICA      OROPEZA                  TX          90002779736
532BB131255959   LUISA        FLORES                   CA          90015121312
532BB427172B49   VANESSA      SALAZAR                  CO          33027114271
532BB452884373   TERRI        SMITH                    SC          90007364528
532BB771571964   SHANIQUA     EDMONSON                 CO          90014657715
532BB943676B75   ROBETTA      KRUGER                   CA          90014479436
5331132A37B46B   JAMES        CAMPBELL                 NC          90015233203
5331142AA85928   AUDA         LEWIS                    KY          90014154200
533114A8A91534   PRISCILA     BEMBO                    TX          90008194080
5331193557B632   RALPH        SHAVERS                  GA          15037829355
5331262855B283   JULIA        WOOD                     KY          68076426285
5331278642B27B   LEROYA       KEARSE                   DC          90012717864
53312A36361975   JORGE        MARQUEZ                  CA          90001390363
53313277A72B43   LILIA        BEJARANO                 CO          90014822770
5331345947242B   LISA         REDISH                   PA          51063574594
5331379A35715B   JE           ES                       VA          90001167903
53313A6914B521   SHELLY       BACON                    OK          90007060691
53315271172B36   KIRA P       OCONNOR                  CO          90000682711
53317298A72B43   OSCAR        SANTOS                   CO          90013922980
53317997A71964   JENNIFER     CARLSON                  CO          90012639970
53317A25227B3B   KEWANNA      HOLLOWELL                KY          90001670252
5331887A23B145   LANARD       GEDDINGS                 DC          90006428702
53318AA6672B49   CIC          COREY                    CO          33038050066
5331924835B399   ELVIS        SMITH                    OR          90013362483
5331936354B587   CIERA        TAYLOR                   OK          90012303635
5331971444B28B   JESSICA      PESCHEL                  NE          90011957144
5331975147242B   ZACHARY      BREEGLE                  PA          90011367514
53319A7535B393   ANJERIE      POWERS                   OR          90014160753
5331B181784373   ERICA        WASHINGTON               SC          19089921817
5331B526472B88   LISA         LUCERO                   CO          33011225264
5331B613976B75   JACQUELINE   MENDEZ                   CA          90011026139
5332164165B387   MELREN       PICHON                   OR          44563026416
53322615A57157   MONIQUE      RUCKER                   VA          90013196150
5332313765B393   STEPHANIE    HURLESS                  OR          44536951376
53323183A4B28B   BRENDA       ADAMS                    NE          90008511830
5332319667B46B   EBONY        GOODE                    NC          90013081966
5332327755B271   HANNAH       DAVIS                    KY          90004152775
5332335AA91534   JORGE        MUNOZ                    TX          90001413500
5332358525B531   DENISE       RUBIO                    NM          35093815852
533236A2861975   DAVID        REYES                    CA          90012956028
53324315872B49   JUAN         CARLOS                   CO          90007583158
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5332435A45B531   JOSE               SANDOVALGARCIA     NM          90013593504
53324A1464B588   AMANDA             HENDRIX            OK          21517070146
53326147572B43   JUAN               CARLOS             CO          33084851475
53326211176B75   MISTY              ESCOBAR            CA          46011152111
5332638335B543   SHIRLETTE          WATHERSBY          NM          90004573833
5332696439372B   CARL               UNGER              OH          90013449643
53326A5465B531   BRANDIE            SAAVEDRA           NM          35097720546
53326AA1A85944   MELVIN             SWEENEY            KY          66087640010
53327156576B75   ALFONCE            LOPEZ              CA          46001651565
533277A565715B   ELDER              PAZ                VA          81076427056
533278AA872B27   HILES              MASON              CO          90013858008
5332797495B283   SHERISE            GLENN              KY          90001879749
5332849955B399   ALEXANDER          TSYTSYN            OR          90014004995
53328A39172B77   MIRYAM             MENDOZA            CO          33047380391
53328AA1361975   GERARDO            RAMOS              CA          90011990013
53328AA4255959   JOSE               VASQUEZ            CA          90011710042
5332999875B399   GONZALO            FLORES             OR          90003199987
5332B13A172B36   JASSEN             SMIGAY             CO          33040641301
5332B259472B67   JOSE               AYALA- JUAREZ      CO          33081302594
5332B487961975   VALERIA            GOMEZ RUIZ         CA          90015114879
5332B613557157   WILLIAM            CHAPMAN            VA          90013196135
5333167AA51348   DARYL              ELLISON            OH          90012986700
53331715572B27   TONI               CORDES             CO          90008867155
53331924A7B46B   KARA               HUNTER             NC          90014569240
53331A31433699   MARIE              CAMARA             NC          90013340314
53332463376B75   MARIA ADELINA      MEZA DE JUAREZ     CA          90013954633
53332685A72B43   ANDY               MONTOYA JR         CO          90011186850
5333311765B387   DAIVD              ZIMMERS            OR          90008331176
53333451672B36   JOSE               ULISES             CO          33020514516
5333362A27B896   LEE                FORD                IL         90010146202
53334645A57157   CRYSTAL            MUIR               VA          90014386450
53335A54A4B922   SHUKIA             BROWN              TX          90014800540
5333611A372B49   TIANA              NEWMAN             CO          90012941103
5333613A17B46B   PATRICE            CASIMIR            NC          90013531301
5333629814B28B   MICHELLE           VIRGIL             NE          90011602981
53336758A43569   COURTNEY           KEMP               UT          90013737580
533367A7672B36   MARIA              CARDENAS           CO          33093477076
5333686564B588   EULA               DEFENDINI          OK          90012718656
53336915576B75   KRYSTAL            MCKEITHEN          CA          46055509155
5333712365B387   FARIBA             MOHAMMADI          OR          90014921236
5333718A991534   ALONSO             RAMOS              TX          90013971809
5333757547B46B   JACKIE             ALEXAUDER          NC          11007325754
533377A7171964   GUSTAUVO           TORRES             CO          32037087071
53337849376B75   IRENE              RODRIGUEZ          CA          90005048493
53337958872B49   MARIA              HERNANDEZ          CO          33002209588
533379A6985928   WEATHERS           MELODIE            KY          90010609069
53338164972B36   VANESSA            GONZALEZ           CO          33094871649
53338545276B75   DARREN             WILCOX             CA          46003325452
5333895645B387   NATASHA            HUNTER             OR          90010109564
53339559972B49   MARTHA             FLORES             CO          90009325599
5333963995758B   ISRAEL             CARDENAS           NM          90012746399
5333976227242B   SAM                VISNOSKY           PA          90011737622
5333B217391895   ERIC               TOLLETTE           OK          21095172173
5333B72745B399   EDGAR              BELTRAN            OR          90009687274
53341421972B49   ELSA               HERNANDEZ          CO          33076934219
53342895A4B588   CHRIS              SYKES              OK          90015208950
5334447185B393   ROQUE              DIAZ-LOPEZ         OR          90013954718
5334582135B387   GERALDINE          LUZAMA             OR          90014098213
5334689A391535   SERGIO             BACA               TX          75091658903
53346967A76B75   ADRIANA            RUIZ               CA          46057389670
53346A54733699   ANAELLY            ELIAS              NC          90013340547
5334768318166B   KAREN              ROGERS             MO          90012436831
53347A14291534   RAYMOND            VALLE              TX          90013020142
53347A6265B393   LAL                GHISING            OR          90011970626
5334859818B169   JASON              GOODRUM            UT          31024185981
5334898545B387   MELISSA            SILERSMITH         OR          90014229854
5334924488B169   STEVEN             OKEEFE             UT          31045082448
533493A2361973   MARIA DEL CARMEN   PEREZ              CA          90009303023
53349654772B49   DAVID              CALDERON           CO          33033736547
53349A12772B77   ESMERALDA          CARBAJAL           CO          33096320127
5334B363A72B49   SARA               SHIRLEY            CO          90013013630
5334B852A61973   SHANTAL            MONTANO            CA          90010658520
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5335191895B543   GONZALEZ    JUAN                      NM          90005139189
53351A2885758B   JAVIER      SAENZ                     NM          90001380288
53351A52A72B49   LUCYNA      GEBKA                     CO          90014370520
53352275A57157   SHANICE     DICKENS                   VA          90013202750
53353241272B43   FRANK       PENA                      CO          90012492412
533543A868B169   KERRY       ALLRED                    UT          90010013086
53354538A5B531   ROSA        NIETO                     NM          90003875380
53354653A61973   SALVADOR    FLORES                    CA          46006746530
53354922A71964   JOSE        MENDEZ                    CO          90011649220
53354A7A291587   ELISHA      SERCKPOR                  TX          90013290702
5335566584B28B   KHALAF      AHWAZ                     NE          26091596658
5335567257242B   MARTIN      WALKER                    PA          90013826725
533557A565715B   ELDER       PAZ                       VA          81076427056
53358962A71964   FRAYNOR     GOMEZ                     CO          90013559620
5335999765B271   CURTIS      STEWART                   KY          90002179976
53359A2257242B   JANICE      KOSHINSKY                 PA          90011110225
5335B867533699   SHERMAN     BROWN                     NC          90010388675
53362198372B49   JAITAYA     CHEATHAM                  CO          90015091983
53362A13571964   YVONE       DEIULIO                   CO          90012440135
5336317625715B   OMAR        MONTES                    VA          90011941762
533636A355B393   TIM         PARKYN                    OR          44587946035
5336392A361975   CANDE       CARRILLO                  CA          90003869203
5336517952B27B   ANTHONY     CUNNINGHAM                DC          90005001795
53365441772B36   ANA         MUNIZ                     CO          33081364417
5336666132B27B   TEJUAN      COLEMAN                   DC          90011636613
5336674824B588   MARIA       GONZALEZ                  OK          90015137482
5336692622B27B   CAROLYN     RAMSEY                    DC          90011409262
53366945A5B387   DAKOTA      SCHROLL                   OR          90002089450
53367679A72B77   MARIA       LEDESMA                   CO          90005966790
533678A3155959   JENNIFER    DOMENICI                  CA          48084288031
53368266472B49   DERRON      SMITH                     CO          90013062664
5336843585B283   JUAN        LUIS                      KY          90004334358
53368988A91895   ISABEL      GONZALEZ                  OK          90013929880
5336928464B588   SHIRLEY     SEXTON                    OK          21512502846
533695A7672B43   SAMUEL      VIGIL                     CO          90009645076
5336B568257157   THOMAS      MARSHALL                  VA          90013215682
5336B664561975   STEPHANIA   URQUIDEZ                  CA          90013476645
5336B786A5B531   BREANNA     ROJO                      NM          90014727860
5337124397B46B   SHARDAY     JONES                     NC          11050512439
5337189A161973   LORI        ANDERSON                  CA          90002288901
53371AA3891895   LINDSAY     SALISBURY                 OK          90013930038
53371AA9872B36   MAYRA       VELAZQUEZ                 CO          33095750098
5337219235B393   LEONARD     WINCHESTER                OR          90013221923
5337257975B387   LORRI       ERICKSON                  OR          90002485797
5337261835B393   ADONICA     BEAVER                    OR          90014816183
53372631772B67   WESLEY      MAINE                     CO          90007286317
53372779924B7B   TERRENCE    COOPER                    DC          90000897799
53372822A76B75   TARA        BURR                      CA          90014128220
53372A9318B169   LYNN        CHADWELL                  UT          90014920931
5337341698B161   MARIO       SAINTINE                  UT          90010024169
5337354A861973   NICHOLAS    DELANESE                  CA          90010265408
533747A615715B   DOUGLAS     PALACIOS                  VA          81087997061
53374874A72B43   JESSICA     NUNEZ                     CO          90012988740
5337488755B283   LASONDA     MCCREARY                  KY          68022428875
5337511AA61973   AQUILEO     HERRERA                   CA          46083841100
533751A6357157   ANGELICA    CHACH                     VA          90011181063
53375621A5758B   REBEKA      AMAYA                     NM          90013596210
5337598A485928   APRIL       MANSO                     KY          90012929804
53375AA3891895   LINDSAY     SALISBURY                 OK          90013930038
53376422472B43   GERMANIA    CABRERA-AVILA             CO          90000854224
5337667615B399   SIMONE      CLANTON                   OR          44572546761
5337671555758B   SHAWN       PACK                      NM          90012157155
53377659472B67   ANGEL       ARELLANO                  CO          33074556594
5337796535B531   ALMA        FLORES                    NM          90014829653
53377A1185B543   MARIA       MARTIN                    NM          35051900118
5337872495758B   ANNETTE     WOOD                      NM          90008127249
5337897595B531   PAUL        ARMIJO                    NM          35024129759
5337919235B393   LEONARD     WINCHESTER                OR          90013221923
5337934864B28B   RACHEL      NELSON                    NE          90011623486
5337954A384357   TYKERRIA    STERLING                  SC          90015015403
5337B27A461973   LOURDES     PRADO                     CA          46079962704
5337B643272B36   TERESA      FULLTON                   CO          33077966432
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2345 of 2500


5337B688261975   JAVIER      GILBERT                   CA          90014576882
5338147575B531   ALMA        BOUCHOT                   NM          35082694757
5338237195B531   ALICIA      QUINTANA                  NM          90009363719
5338241882B27B   PAUL        WASHINGTON                DC          81010474188
53382432872B36   GENA        AYALA                     CO          33040794328
53382775172B77   CASSANDRA   SKELLENGER                CO          33091417751
53383774172B43   KAYLA       BORQUEZ                   CO          90014657741
53383A13172B36   JESUS       CASTANEDA                 CO          90013830131
53384382A57B81   JAMES       SCHOONMAKER               PA          90015363820
53384642A5593B   MARK        ROMERO                    CA          90014766420
533847A5191534   YANET       RAMIREZ                   TX          90012927051
5338514828B169   NATALIE     TAYLOR                    UT          90004851482
533851A3A7B46B   MARQUES     GREEN                     NC          90001071030
53385347372B27   SUZANNE     POWERS                    CO          33064653473
53385A6A17242B   ANDREA      FALLECKER                 PA          51074300601
53386167172B27   DALLIS      PULLAM                    CO          33079221671
5338628214B588   CARLOS      DUARDE                    OK          90015222821
5338642397242B   DAVID       HINERMAN                  PA          51022904239
5338766244B588   ANGELIA     SCHIEL                    OK          90015216624
53387A75872B27   MICHAEL     WALDEN                    CO          90014550758
53388236583B95   RONALD D    BEESWY                    TX          90011732365
53388525772B49   ASHLEY      LEWIS                     CO          90014935257
53389249872B97   ISAAC       SANTIAGO VIGIL            CO          90001132498
5338946595B399   MARIA       SEVILLA                   OR          90007554659
5338B417351348   BRYAN       WHITAKER                  OH          66070424173
5338B613931429   MONIQUE     CLAIR                     MO          27507956139
5338B964157157   EDGAR       GODINEZ                   VA          90011369641
5339158384B521   KIRSTIE     WILLIAMS                  OK          90008815838
53391988576B75   OLGA        MARTINEZ HERRAERA         CA          90013199885
5339223A691895   JIM         TOLSON                    OK          90009922306
53392777172B43   MELISSA     MUNSHOWER                 CO          90010457771
53392A71571964   MARCIA      BURCHETT                  CO          90012810715
5339337935B531   TIFFANY     BOYER                     NM          90013193793
53393A36872B27   JASON       NASHOLP                   CO          90008010368
53393A7A82B27B   CARL        CREWS                     DC          90000270708
533941A7457157   MICHAEL     HALL                      VA          90013631074
53395137972B43   TERRY       HALSTROM                  CO          33095731379
5339658384B521   KIRSTIE     WILLIAMS                  OK          90008815838
5339665A661971   EDUARDO     AVILA                     CA          90008906506
5339771A284357   JOSEPH      DRIESSEN                  SC          90013707102
53397A19181669   LEYLA       HERNANDEZ                 MO          29068270191
53398258276B75   FERMIN      VELASQUEZ                 CA          90014892582
533985A9776B75   KIANA       STRICKLAND                CA          90013525097
5339882538B169   CHRIS       ALLEN                     UT          90010968253
5339946367B46B   HONORIA     RAMIREZ                   NC          90014954636
5339977815B531   SANDRA      VALLEZ                    NM          90014527781
5339B137972B49   TERRY       HALSTROM                  CO          33095731379
5339B453761971   APRILL      CADOTE                    CA          90006784537
5339B519672B88   AZUCENA     JOCOBSEN                  CO          90006635196
5339B615872B43   EDGAR       GARCIA                    CO          90014266158
5339B717543569   JASON       HOFMEISTER                UT          90001527175
533B112A15B399   PAUL        DOWNS                     OR          90002771201
533B123235B283   VERSHANDO   ANDERSON                  KY          68022392323
533B1444991587   JOSE        SANCHEZ                   TX          90010844449
533B1989A93724   ANTONIO     COBB                      OH          90015349890
533B1A61133696   RICKY       DAVIS                     NC          12077410611
533B1A94157157   ANDRES      REYES                     VA          90005720941
533B229515B393   MICHAEL     THIBODEAU                 OR          44531052951
533B2571861975   SALGEREO    ELDE                      CA          90001665718
533B264835B399   JAMES       PETERSON                  OR          90012256483
533B26A812B27B   SHARON      MOZO                      DC          90009266081
533B298385758B   BRENDA      TORRES                    NM          90011979838
533B2998185928   BETTY       PAYTON                    KY          67045409981
533B3214A57157   ANA         APARICIO                  VA          90010942140
533B419A95B393   TABITHA     SOLIS                     OR          90010271909
533B4551561971   MALAYKA     GIBSON                    CA          90002985515
533B4623433696   PAUL        KIZUMINA                  NC          90012756234
533B4653131431   HUBERT      MCCLOUD                   MO          27564586531
533B4896743569   LISA        BIRD                      UT          90014658967
533B523A75B393   MICHAEL     CUNNINGTON                OR          90012922307
533B525A35B399   JAMES       WATT                      OR          90014382503
533B529A35715B   GILMER      FERNANDEZ                 VA          90012692903
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533B5464598B2B   JUANYTA       PRALOUR                 NC          90005824645
533B5575785928   STEPHEN A     LEMP                    KY          67053285757
533B582284B588   ERIKA         JOHNSON                 OK          90015208228
533B5A2257242B   JANICE        KOSHINSKY               PA          90011110225
533B629875B543   JOANN         SENA                    NM          35098342987
533B6327171964   LIZ MARIA     SALAZAR                 CO          90014193271
533B6521761975   ROSARIO       CAMUNA                  CA          90014505217
533B6589A91534   BRODHELY      ESCOBEDO                TX          90013265890
533B668318166B   KAREN         ROGERS                  MO          90012436831
533B6A7342B27B   LEE           ALSTON                  DC          90007940734
533B7366961975   JUANITA       GODINA                  CA          90010293669
533B7484A72B27   SHARON        MOSTUE                  CO          90009644840
533B7584591885   MARISOL       AREAS                   OK          90011255845
533B7799A71964   STEPHEN       GILBERT                 CO          32043727990
533B7835943569   ALLISON       WILKOF                  UT          90014048359
533B7863661971   DON           LONG                    CA          90012068636
533B7971643569   ALLISON       WILKOF                  UT          90014059716
533B7A16476B75   MARIA         ANGON                   CA          90008530164
533B7A2A572B49   ISMAEL        GRANILLO                CO          90009370205
533B82AA74B28B   LEVON         DUNTON                  NE          26062232007
533B8777771964   JODY          LOPEZ                   CO          90012667777
533B8819A5B283   CHARLES       HALLMAN                 KY          68010628190
533B8827761973   CHARLES       ANTHONY                 CA          46054798277
533B8865872B43   HUMBERTO      DE LUNA                 CO          33051838658
533B92A845B271   MICHAEL       BYRD                    KY          90005692084
533B943563B35B   MARIA         ENRIQUEZ                CO          90012494356
533B9554691895   FELIX         LAGOS                   OK          90012535546
533B9576A61975   DIANA         AMAYA                   CA          90012955760
533B994A572B36   RAQUEL        CAMPOS                  CO          90007709405
533B9A27A5B393   LARRY         HAID                    OR          90014590270
533BB19727B46B   JESSIC        ROBINSON                NC          90013181972
533BB634561971   KIMANESKIE    VANCE                   CA          90005616345
533BB6A7576B75   JAVIER        SOJO                    CA          90014076075
533BB783557157   ISABEL        SOSA VENTURA            VA          90014227835
5341192725715B   SADIA         MUHIDDIN                VA          81042879272
53412357A84373   PATRICIA      WILLIAMS                SC          90004643570
5341251467242B   ROBERT        RUSH                    PA          90013455146
53412A2265715B   PATRICIA      CESPEDES                VA          90009030226
53412A8A291534   MARTHA        VILCHIS                 TX          90011050802
5341325367242B   AMY           TAYLOR                  PA          90014192536
5341326224233B   DALLAS        WILLIAMS                GA          90001372622
53413897A2B27B   JOSE RAFAEL   GRANCO                  DC          90002718970
53413A4588B169   ALEX          BUTTE                   UT          90005910458
534145A535758B   EDWARDS       JULIE                   NM          35587885053
53414776A2B27B   TUCKER        ANN                     VA          90005377760
534151A422B27B   DONNA         LEE                     DC          90015031042
53415323672B43   SHARENE       WAGNER                  CO          33063623236
53415A14857157   CURTIS        SYDNOR                  VA          90008510148
53415A37572B36   ABRAHAM       MALDONADO               CO          90013030375
5341655683B165   DINA          MAYBERRY                DC          81089565568
5341879135B531   MELANIE       BIRNER                  NM          90009657913
53419725372B27   CLIFFORD      PUPPE                   CO          90007847253
5341B239485928   GERMAN        OSORIO                  KY          90013852394
5341B491484373   DAVID         BRADWELL                SC          19005314914
5341B52788B169   SANDRA        ALARCON                 UT          90014205278
53421821272B33   FATIMA        ALDABA                  CO          90001858212
5342211224B588   MADISON       REYNOLDS                OK          90011771122
534225A948B169   BRENDA        REED                    UT          90014215094
53422818872B27   DANIELLE      KRUEGER                 CO          90005748188
534233A688123B   JESSICA       KETTERER                IN          90015473068
53423914A72B49   NORMA         ALMARAZ                 CO          33061009140
5342424784B53B   TRACY LEE     RAUH                    OK          90000662478
5342485A761975   MARTHA        BARAJAS                 CA          90014558507
53424A56391895   AMBROSIO      ZAVALETA-BELLO          OK          90013930563
53425243872B43   JACKIE        RIVERA                  CO          90012962438
53425434A33699   DAVID         MADRID                  NC          90013874340
5342547188B169   JOSHUA        TUVESON                 UT          90001774718
53425586472B49   CANDACE       HENDRIX                 CO          90013615864
5342581755B387   LISA          CRAWFORD                OR          90010598175
53425878A5B531   MICHAEL       CONNICK                 NM          35017998780
53425A56391895   AMBROSIO      ZAVALETA-BELLO          OK          90013930563
53426A56391895   AMBROSIO      ZAVALETA-BELLO          OK          90013930563
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53426A72A76B75   JENNEIRA       NARANJO                CA          90010200720
5342781725B387   MATTHEW        PAYNE                  OR          44537908172
53428265972B36   BELINDA        MUNOZ                  CO          90009592659
53428267172B67   BLANCA         LOPEZ                  CO          33012872671
5342835415758B   ALVA           GARCILAZO              NM          35563943541
5342886824B521   PATRICIA       BACERRA                OK          90007088682
5342918834B561   JARISHA        HOUZE                  OK          90010851883
53429567172B43   REYNA          QUEZADA                CO          33037065671
53429718872B43   LAURA          GONZALEZ               CO          90005227188
5342983A661971   TANNER         THOREN                 CA          90013838306
534298A2555959   JOSE           GUERRERO               CA          90013868025
5342B34177B46B   JAIH           OSZZEPINSKIA           NC          90013093417
5342B682161975   KAMAL          JAMES                  CA          90012956821
5342B95845B393   KEVIN          YORK                   OR          44563349584
53431494772B36   LANCE          WHITING                CO          90013084947
53431A3A35715B   SILVIA         URRUTIA                VA          90010480303
5343212114B588   ANDREW         RUSTON                 OK          90015241211
5343224A633696   JAZZMIN        WILLIAMS               NC          90009472406
534323A3361973   ASAL           MOBARREZ               CA          90015223033
5343287325B543   ADAM           YSLAS                  NM          35012928732
5343378425715B   KAREN          MCKEON                 VA          90010727842
5343396928B169   CHRIS          BROWN                  UT          90013049692
53433A32657157   TOM            FRAZIER                VA          81009100326
5343425A22B27B   CARLOS         BLANCO                 DC          90007352502
53434394898B2B   ALVARO         MARTINEZ               NC          11055513948
53434A55191587   ROSA           GALVAN                 TX          90011300551
5343522847B46B   TANYA          WALTON                 NC          90008912284
5343538A861973   KARIN          PASTENES               CA          90013043808
53435A57172B49   JON            REDDELL                CO          33090570571
53435AA225B561   BILL           SHAWN                  NM          90001080022
5343613714B588   PAYGO          IVR ACTIVATION         OK          90015241371
53436542998B29   ANNIE          WALTERS                NC          90000985429
53436546A76B75   TANYA          LOPEZ                  CA          90014155460
53436646972B36   CRISELDA       PEREZ                  CO          33085886469
534369A2A2B27B   MARIA DEL      QUINTEROS              DC          81059539020
5343715384B28B   JAMES          BRIGGS                 NE          90012031538
53437556372B49   BENJAMIN       LOPEZ                  CO          90007145563
5343789385B543   ROBERT         ORTIZ                  NM          35079798938
534378A2691534   BRENDA         MARTINEZ               NM          90009538026
53437A8315B399   ERICH          RASOR                  OR          90008040831
5343851275B531   MARISSA        CUMMINGS               NM          90013195127
53438514872B49   SCOTT          WELK                   CO          33045765148
5343854A585928   ELIAS          HEREDIA                KY          90013355405
5343879A54B588   VALENTINE      CONNOLLY               OK          21533147905
5343978255B399   REGINA         PERTON                 OR          44506927825
534398A572B27B   JUAN DE DIOS   RAMIREZ                DC          90012388057
5343B273951348   SHYLOE         SUNDERHAUS             OH          66033912739
5343B466A72B43   ENAYJA         BROWN                  CO          90013274660
5343B61982B237   REJENE         FIELDS                 DC          90007366198
5343B6A1A61971   MARCO          AYALA                  CA          90012396010
5343B874784373   KEVIN          WOODEN                 SC          19039088747
53441375A57157   VIVIANA        OVA                    VA          90011773750
5344157444B28B   JESSICA        MCHARGVE               NE          90009275744
534415A9191895   CHARIS         ALLEN                  OK          21091585091
534417AA77B46B   DAVID          HINOJOSA               NC          90014057007
5344183578B169   WILLIAM        THIELFODT              UT          31036068357
5344224112B27B   JOSE           MACHADO                DC          81093012411
53443643A91587   ALLEN          ARIAS                  TX          90013496430
5344399288B169   BILL           SHUPE                  UT          31095239928
53443A35672B36   HORTENCIA      MARTINEZ               CO          90015190356
5344422645B531   NATHANIEL      YAZZIE                 NM          90012592264
5344454777B46B   DINGGO         D                      NC          90011335477
53444A2227242B   PAULA          USHER                  PA          90009040222
53444A36972B27   THOMAS         FANNING                CO          90013310369
53444A54A76B75   PATTY          RAMOS                  CA          90014620540
5344516995B531   ALAN           VALENZUELA             NM          90008521699
53445226172B49   LUIS           REYES                  CO          33056052261
5344523692B27B   JOSEPH         BROWN                  DC          90013462369
5344597292B27B   CHRISTINA      HARRIS                 DC          90013809729
5344624735B393   ANGELA         WITTER                 OR          90014452473
5344637725B387   JANETT         TURNER                 OR          90010563772
534465A2A76B75   MATILDE        LINARES                CA          46043325020
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53447196572B43   TAN             BEE                   CO          90012101965
5344729175B399   GRANT           MOCK                  OR          44555472917
5344774415758B   TRICIA          ARMSTRONG             NM          90001237441
53447844572B49   ERIKA           SALCIDO               CO          90013128445
534486AA244352   FRANCES         SPEARS                MD          90015486002
5344892A672B49   VICENTE         TAPIA                 CO          90014729206
534489A697B499   LASHAWN         NICHOLS               NC          90008649069
5344929175B399   GRANT           MOCK                  OR          44555472917
5344948552B27B   DEMARIS         PALMER                DC          90010394855
5344B634791587   ISRAEL          MARTINEZ SILVA        NM          90013496347
5344B7A4233699   BERNARD         ROBINSON              NC          90015117042
5344BA56872B49   GUADALUPE       BARRON                CO          33002280568
5344BA59591895   JHAQUIEL        COLBERT               OK          90013930595
53451152A4B561   MICHELLE        JACKSON               OK          90011601520
534512A6272B27   KAYLA           BRADLEY               CO          90014192062
53451433A5B531   DEVON           HERRON                NM          90012684330
534514A6824B7B   RASHAUN         CATO                  DC          90005054068
5345282696199B   JASON           RHODEHAMEL            CA          90009588269
5345286325B393   MARGARITO       SANTIAGO              OR          44570268632
53453614572B27   MARIA           CERVANTES             CO          90013696145
534536AA14B28B   TRAVIS          SCHRADER              NE          90010746001
5345375717242B   PAYGO           IVR ACTIVATION        PA          90014297571
53454663876B41   AIDE            ESPINO                CA          90002076638
5345484347242B   WILLIAM         HOLLAND               PA          90008648434
5345527A561973   JORGE           MORENO                CA          46006872705
5345539A672B36   BRIDGET         MARTINEZ              CO          33075043906
5345541457B46B   BREANNON        DAVISON               NC          90005224145
5345549775B387   MAHTAB          ABDOLGHAYOUM          OR          90015114977
5345667A861973   KORINA          BARRAZA               CA          90008556708
53457141976B75   DANIELLE        KOWNACKI              CA          90005381419
534577A8A85928   PERFECTO        AGUILAR               KY          90015407080
534585A9591587   SILVIA          MORENO                TX          75079085095
5345891994B28B   CHEYENNE        STATON                NE          90015189199
5345B57444B28B   JESSICA         MCHARGVE              NE          90009275744
5345B933257157   CHAVEZ          JOSE                  VA          90008749332
5345BA58261975   ALAN            NEELEY                CA          90014890582
53461535A33696   AMANTHA         HARDISON              NC          90010475350
53461675644B3B   BETTE           ORIENT                OH          90014136756
53462479172B36   CIARA           TRUJILLO              CO          90002654791
5346257165B393   JUSTIN          ALVIS                 OR          90010315716
5346263645B531   LOURDES         AYALA                 NM          90010766364
5346292A25B399   VANESSA         GARCIA                OR          90008289202
53462A11257157   TAMICA          BENNET                VA          90000160112
5346326925B271   NICOLE          RODRIGUEZ             KY          68021252692
5346336255B393   ELIZABETH       MCCORMICK             OR          90014243625
53463A1168B169   DOUCET          ANTHONY JOHN          UT          90010240116
53464133472B36   TALISHA MARIE   KLEINSASSER           CO          90013421334
53464A2514B521   VICENTE         HERNANDEZ             OK          90007090251
53465138A61973   TRINIDAD        ESPINOZA              CA          90014241380
534654A7A5B543   ALMA            RONQUILLO             NM          35060804070
5346569882B27B   BETTY           BEST                  DC          90010916988
5346597674B28B   RYAN            LUNBERRY              NE          90013019767
5346711175B399   WENDELYN        STEPHENS              OR          90008041117
5346718A372B43   JOSEPH          GUZMAN                CO          90014021803
5346748A491534   AARON           BLANCO                TX          75021274804
53467663457B81   ROBERT          WOLENSKI              PA          90015346634
53468121A61975   SARAH           MISEL                 CA          46079191210
53468884A61971   VICTORINO       SOMERA                CA          90011668840
53468925672B36   TAMARRA         PRATT                 CO          90012589256
53468A6A391895   BELINDA         BALL                  OK          90013930603
5346944645B393   JESSICA         FOX                   OR          90013904464
53469589172B88   DANIEL          LINLEY                CO          90009795891
5346971975B543   CLAUDIA         HANRAHAN              NM          35056927197
5346B368757157   SANTIAGO        DIAZ                  VA          81044283687
5346B56525715B   ALEX            TORRES                VA          90005795652
5346B64767242B   JAMEY           HENRY                 PA          51006426476
5346B7A9955959   JUVENAL         ALCANTAR              CA          90013967099
5346BA1655B531   DEBBIE          CHAVIRA               NM          35018390165
5346BA6655B399   RYAN            TRACY                 OR          90014850665
5347127634B588   RAFAEL          VELAZQUEZ-BUENO       OK          90015242763
5347186965715B   WANTHIP         PANGILINAN            VA          90010678696
5347377457B46B   COLBY           ENGERT                NC          90012877745
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53473A9497242B   PHILIP       HRABIC                   PA          51073330949
5347428754B588   FLORENTINO   RAMOS-GRACIDA            OK          90015242875
53475229472B43   KENNETH      TRUJILLO                 CO          33094042294
5347581A75B531   JOSE         ACEVES                   NM          90012948107
5347588665B399   DEOLANDA     LASSEIGNE                OR          44563738866
5347676154B28B   CALEB        HUGGENBERGER             NE          26063037615
53476949372B43   JUAN         GARCIA                   CO          90009349493
53476A5515B393   JESSICA      MORGAN                   OR          90010130551
53477212172B77   JOSSY        EGWUIDAM                 CO          90002342121
534772A6691534   SYLVIA       RAMIREZ                  TX          75060192066
5347742A353B41   ANGELA       MONOS                    CA          90012124203
53477433A2B27B   AMMAR        ALSHI5                   DC          90010984330
53477493976B75   RILEY        COOK                     CA          46020504939
5347887995B399   COCOA        CHANELL                  OR          90014068799
534792A387195B   SHAUN        BECK                     CO          90008342038
5347948465B393   JUAN         HERNANDEZ                OR          90013954846
53479649172B88   AURELIO      HERNANDEZ                CO          90003186491
53479695776B75   PRISCILLA    LUCERO                   CA          90000216957
5347B11318B169   MARTIN       REUBELES                 UT          90011491131
5347B17385B387   HART         BOWES                    OR          44505341738
5347B299A81669   CHASI        SIPPLE                   KS          90012722990
5347B2AA357157   LILIANA      CHANG                    VA          90003832003
5347B3A7872B36   SERGIO       COTTO                    CO          90012873078
5347B556176B75   COLIN        GORDON                   CA          46063905561
5347B57A972B43   JOSE         ESCOVAR                  CO          90013635709
5347B6A7572B27   ARMANDO      BARRAZA                  CO          90009266075
5347B931591534   MONICA       MORENO                   TX          90009309315
5347B974797127   ERICA        CRUZ                     OR          90011489747
534811A6961975   ROYCE        ROBLES                   CA          90009221069
53481258A91534   GLORIA       FRENCH                   TX          90013042580
534812A617B46B   STEPHANIE    ALEX                     NC          90013202061
5348165A361973   JUAN         BRAVO                    CA          90008456503
53481923172B43   LEE          MADRID                   CO          90013999231
534834A7A72B36   INGRID       AJANEL                   CO          33095594070
5348354755B399   SHERI        ROSE                     OR          44520865475
53483A2615758B   ISRAEL       SAMBRANO                 NM          35517030261
534846A682B27B   KENYA        MCCOY                    DC          90005246068
53484931A72B49   TORRES       ARMANDO                  CO          33014509310
53484984172B27   JANE         FOY                      CO          33083739841
5348521165B399   JASON        WEISS                    OR          90014912116
53485332A7B46B   DIANA        ORTEGA                   NC          90014863320
5348533414B588   KAILEE       LOVELADY                 OK          90015243341
53485497472B77   DONALD       POUNDS                   CO          33054674974
53485A68A7242B   CORY         KUZEMCZAK                PA          90014620680
5348636A572B27   HOMERO       GARCIA                   CO          90011383605
5348697945B531   MATT         UNDERWOOD                NM          90014119794
53487A46661971   STEVEN       RUMMERFIELD              CA          90013850466
53487A75133696   KIRSHAWN     BOWE                     NC          12077630751
53488535576B75   HUMBERTO     ORTEGA                   CA          90014005355
534885AAA43569   JESS         HERBERT                  UT          31010875000
53488657472B49   ANGELINE     TOY                      CO          90013166574
5348874A571964   LEONA        JACKSON                  CO          90014697405
53488A65A33696   AVIUS        MOORE                    NC          90012880650
53489645A5758B   IRENE        MEDINA                   NM          90011316450
5348994A172B43   BEKEN        RAMIREZ                  CO          33012929401
53489973276B75   ELOINA       CHAVEZ                   CA          90012679732
5348997427B385   RUDY         VASQUEZ                  VA          81098829742
5348B238472B49   KYLE         ALDRIDGE                 CO          90011922384
5348B4A325B531   ANGELA       CORDOVA-SANCHEZ          NM          90000364032
5348B714172B43   SALINA       GONZALES                 CO          90012167141
5348B89665B387   JERRY        NELSON                   OR          44526578966
5348B968691895   KARI         LAUFFER                  OK          90010129686
5349112485B393   JENNY        MAY                      OR          44582501248
5349168877242B   MYRIAM E     GARCIA-VERA              PA          51043066887
5349176A35B561   SCOTT        FERGUSON                 NM          90009407603
5349176A85B387   DUANE        DODSON JR.               OR          44513527608
53491842972B36   URIEL        BARGAS                   CO          33036008429
5349224844125B   JENNIFER     LADUE                    PA          90009272484
53492395172B88   DEBRA        ROMERO                   CO          33030213951
534923AAA71964   VICTOR       GARCIA                   CO          90012853000
5349253817242B   KRISTIE      EDWARDS                  PA          51037055381
5349262455B393   FELICIA      THAO                     OR          90011616245
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5349278392B27B   ELIZABETH         YOUN                DC          90010917839
5349294277B365   ODIR LEON         PALMA               VA          90006839427
53492948672B27   MATIAZ            GILES               CO          90011189486
5349316757B378   MIGUEL            HENRIQUEZ           VA          90004311675
53493319772B49   GEORGE            HENDRICKS           CO          33085873197
53493652176B75   NICENTE           OCAMPO              CA          90013066521
5349384217242B   CURT              BURKHOLDER          PA          90010588421
534939A114B28B   PHYLLIS           MCCAUL              NE          26073009011
5349421A191895   TIFFANY           BREWER              OK          21059982101
5349428318B169   ANGELA            ARAVE               UT          31003192831
53494413976B75   ROGELIO           ZEPEDA              CA          90013734139
53494414476B5B   ALFONSO           ROCUA               CA          46006814144
5349477545B399   CRYSTALLYNN       HATTON              OR          90013377754
53494A1A34B521   EBONI             RANDOLPH            OK          21511550103
534951A6391895   JOHN              DEVERCELLY          OK          90008251063
5349523745758B   LEONARDO          OSTENDORF           NM          90014452374
5349563235B387   ANNETTE           MOORE               OR          44513466323
53495687A91534   JAZMIN            SANDOVAL            TX          90012526870
5349654792B27B   DNELL             NELL                DC          90011995479
5349699885B387   ROSE              MC CASLIN           OR          44516949988
53497232372B27   JOSELUIS          MARTINEZ            CO          90013922323
53497656498B2B   YEMERSON          REYES               NC          90005846564
53497AA2772B27   MARIA DEL ROCIO   GARCIA              CO          90012970027
5349828A55B531   MARIA             RODRIGUEZ           NM          35016672805
5349865AA71964   GREGORY           BONTON              CO          90011646500
5349919115B531   BEN               SANDOVAL            NM          35080561911
534991AA18B169   ALICIA            MARTIN              UT          31013661001
534995A2372B77   MARIA DUAD        LERMA PROANO        CO          33082415023
5349B71964B588   ROKETTA           BARKSDALE           OK          21510957196
534B13A3172B36   OSCAR             LARA                CO          33040633031
534B145192B27B   JESSICA           MCNEILL             DC          81024844519
534B1598461921   JUAN ANTONIO      ARAUJO              CA          90011115984
534B184945715B   ROSEWINTER        KODZWA              VA          90010678494
534B1954257157   CARLOS            CASTRO              VA          90013209542
534B1989857157   MICHAEL           COMPTON             VA          90006519898
534B1A6265B393   RAMON ERNESTO     RAMIREZ ROMAN       OR          90011460626
534B2189A71964   CHARLES           WHEELER             CO          90012871890
534B2343451348   LAURA             RAMIREZ             OH          90015203434
534B312825B399   GLADYS MARIBEL    GARRIDO             OR          90013211282
534B319287242B   PAYGO             IVR ACTIVATION      PA          90010901928
534B3199672B88   JUAN              BELTRAN             CO          33085621996
534B3358872B36   ANDREA            LACEY               CO          90013023588
534B394548584B   HUI               CHOU                CA          90011439454
534B4483957157   LINDA             ASSUMAN             VA          90002784839
534B487765B387   LAURA             THOME               OR          44514058776
534B4974691587   MARTHA            ALONZO              TX          75062939746
534B5136993724   DAWN              WOODRICK            OH          90009941369
534B5258572B49   MERLENE           KUJAWA              CO          33001542585
534B53AA651336   PEGGY             SARGENT             OH          90013323006
534B5453485928   MARK              AYERS               KY          67095754534
534B5717791587   ALBERTO           NUNEZ               TX          90009877177
534B5769855959   GUILLERMO         VARGAS              CA          90013067698
534B5A13733699   TAWANA            ROMNEY              NC          90013860137
534B5A2597242B   PAYGO             IVR ACTIVATION      PA          90012340259
534B5AA5743569   TEA               JESSE               UT          90005740057
534B6166255959   JOSE              REGALADO            CA          90000641662
534B6722491534   GRISSEL           RODRIGUEZ           TX          90009557224
534B678A45B543   MARIA             NUNEZ               NM          35069737804
534B6A61743569   CHRISTINA         BISCHOFF            UT          90005510617
534B739715B387   MIGUEL            RAMIREZ             OR          44596133971
534B7747955959   MARIANA           CHIMEO              CA          90012007479
534B8212993724   INDIA             DAVIS               OH          90015042129
534B825A491895   LILY              HERNANDEZ           OK          90007972504
534B843535599B   GLORIA            FUENTES             CA          90011834353
534B8955655959   GUSTAVO           OCEGUERA            CA          90014999556
534B89A2971964   XENG S            VANG                CO          90011869029
534B92A7172B49   DANIEL            CAMACHO             CO          33033972071
534B9396733696   TIMOTHY           DAVIS               NC          90005103967
534B968A55B531   MARIA             GUZMAN              NM          35029366805
534BB393433699   STEPHANIE         GOODSON             NC          90010693934
534BB411591534   PALACIOS          JESSICA             TX          75098914115
534BB7A3A72B43   ANNA              STRALEY             CO          33007507030
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534BBA1925B531   PATRICIA     PALACIOS-MORALES         NM          35046210192
534BBA56391895   AMBROSIO     ZAVALETA-BELLO           OK          90013930563
53511115A51353   KENNETH      RHODES                   OH          90001841150
53511898A72B49   HEATHER      ALBERTSON                CO          90012098980
53512887972B77   MARIA        SANDOVAL                 CO          90014938879
535139A9871964   DYLAN        PRITTS                   CO          90008239098
53513A4245758B   LITA         STEPTER                  NM          35550480424
535144A275B399   JACQUELYN    CARROLL                  OR          90009514027
535145A5961973   MARIANA      CHON                     CA          90013005059
5351471985B387   LINDSAY      PARSONS                  OR          90011207198
53514966A71964   DENNIS       WATSON                   CO          90002059660
53514A68661971   BADU         MUNYORORO                CA          46018110686
53515A45743569   LATROI       NEWBINS                  UT          90013660457
53516545472B36   ALVARO       GUTIERREZ                CO          33017815454
53516A22872B27   ROSE         FLORES                   CO          90010210228
53517215A84373   OCTAVIA      SMITH                    SC          19035322150
5351757975715B   REBECCA      NOLASCO                  VA          90007725797
53517A8264B28B   BASSMA       BARAKAT                  NE          90011950826
53518436A55959   CARLOS       ESPARSA                  CA          90010094360
535185A3261973   ANGELINA     MARTINEZ                 CA          90012845032
5351934798B169   DEBBIE       NEWELL                   UT          31017543479
5351944987B46B   JUAN         BETANCURT                NC          90014364498
53519736572B67   TANJALA      CHINETH                  CO          90013807365
5351978745B531   CARLOS       CHAVEZ                   NM          90015227874
535197A9A72B27   RYAN         BURNS                    CO          90012037090
5351B287371964   SUSIE        ALMIEDA                  CO          32009022873
5351B885591587   ADELA        PATTERSON                TX          90013498855
5351B921761975   LOUIS        THOMAS                   CA          90013429217
5352163865B399   PAULA        WILLIAMS                 OR          90012676386
5352176185B387   LORI         ALLEY                    OR          90013317618
53521A67261973   VERONICA     SALGADO                  CA          90012470672
535222A315B387   CURTIS       NEWELL                   OR          44506112031
53522715176B75   YESENIA      DOMINGUEZ                CA          46096167151
53522A21933699   SYEHILVER    DAVIS                    NC          90011960219
5352341A472B49   AGUSTIN      CAMPOS                   CO          33034584104
53523938A91587   JOSE         MENDIZABAL               TX          90012589380
5352442688B183   FRANCISCO    MAURICIO                 UT          90010544268
5352459147B46B   DAKENYA      ANDREWS                  NC          90005495914
535246A114B588   JACKSON      JANICE                   OK          21516336011
53524A67261973   VERONICA     SALGADO                  CA          90012470672
5352553385715B   JOSE         PAZ                      VA          81059395338
53525A42776B75   ROCIO        FLORES                   CA          90000280427
5352625855715B   SAYED        ALI                      VA          90009262585
5352638A933699   TAMMY        BLUE                     NC          90013533809
535276A945B393   JOSEPH       BUDD                     OR          90012956094
5352917A45B531   LONNIE       MOODY                    NM          90003661704
5352925757242B   KATINA       STEWART                  PA          51006142575
5352956992B27B   EBANGELINE   PABULAYAN                DC          81077545699
53529A6515713B   ROSA         VICENTE                  VA          90010760651
5352B155672B36   DARRICK      PUGH                     CO          33052751556
5352B172691895   DWAYNE       ELIFRITS                 OK          90014841726
5352B349661975   ANA          RAMIREZ                  CA          90014093496
5352B658433699   LUIS         MALAVE DIAZ              NC          90014766584
535311A6357157   ANGELICA     CHACH                    VA          90011181063
5353155875B387   GEANNA       GUERRERO                 OR          90013815587
5353191A961975   MIGUEL       GARCIA                   CA          90013089109
53531A43972B67   ISAAC        MALDONADO                CO          90006750439
53531A54733699   ANAELLY      ELIAS                    NC          90013340547
53531A71191895   AYANNA       TAYLOR                   OK          90013930711
5353236245B387   JOSE         RICARDO                  OR          90011313624
53532666372B27   DESTINY      FINN                     CO          90009346663
53532949672B36   BREANNA      DRUMRIGHT                CO          33067819496
5353313275758B   EDUARDO      SARABIA                  NM          90007771327
5353336A993724   PATRICK      WOODWORTH                OH          64505783609
535334A9A91895   ANTHONY      BADILLO                  OK          90012684090
5353481697B35B   DENISE       KLASEN                   VA          81015778169
53535176A33696   Y DAIH       NLN                      NC          90012811760
5353529927B46B   MARCUS       ALSORD                   NC          90011402992
5353572317B46B   SHAWN        AGER                     NC          90003857231
53535873A5715B   ANABELL      TORRES                   VA          90010678730
5353629995758B   ROSENDA      PEREZ                    NM          35517342999
53536722A76B75   FERNANDO     CABRERA                  CA          46027297220
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5353774A571964   DOMINIQUE      BUCHANAN               CO          90011457405
535379A315B387   DARREL         COX                    OR          44517409031
53537A24657554   PATRICIA       CORCORAN               NM          90007410246
53539244172B49   AIOTEST1       DONOTTOUCH             CO          90015122441
5353929582B242   MARY           AKINADEWO              DC          81012732958
53539685376B52   JOSE LUIS      MARQUEZ                CA          90009466853
53539747672B27   STEVEN         CROSBY                 CO          33065737476
5353975845B393   RUTH           STERLE                 OR          90006817584
5353B41195B531   ESCAMILLA      ALEJANDRA              NM          90007194119
5353B451161973   TRACY          BOEM                   CA          46005734511
5353B81285B399   CRYSTAL        GOAKEY                 OR          90015108128
5353B85634B28B   DAVANDIS       MILLER                 NE          90010588563
5353B8A3131428   JEROME         LANOS JR               MO          27589918031
5353B987672B67   CRT            TOWING                 CO          90007319876
5353B9A527B46B   SHAWN          AVANT                  NC          90013339052
535417A565758B   MARTIN         REYES                  NM          90010787056
53542545972B43   MARTINEZ       JOSE GUADALUPE         CO          90003695459
5354333774B588   DAVID          NALLEY                 OK          90007693377
53543673672B27   RICARDO        CRUZ                   CO          33064096736
53543AA2972B49   JEAN           PARSONS                CO          33046160029
53543AA8943569   NIKOLA         CUTLER                 UT          90003730089
53544586272B77   BIANCA         RUBY                   CO          90000585862
535445A2662322   SANTA          GOROSTIETA LOPEZ       NC          37063985026
53544A2335B399   WENDY          SANCHEZ                OR          90007990233
53544A38161975   ALMA           ABDULLA                CA          90012600381
535455A3991895   LUISA          SUAREZ                 OK          90009575039
5354571968B169   TODD           BECK                   UT          90012677196
535457A1872B27   AMY            ABEYTA                 CO          33062317018
53545A3735715B   VINCENT        GARDNER                VA          90007110373
5354628234B521   RICKY          RAUCH                  OK          90007102823
53546A4474B28B   AMY            GREEN                  NE          26048000447
53546A95661971   ROSA           CISNEROS               CA          46079500956
53546AA192B236   SABRINA        HAMM                   DC          90006210019
53547171272B27   DORSHIA        CARTER                 CO          90010871712
53548171372B27   PAMELA         LUCERO                 CO          33057691713
53548397476B75   JASMINE        STEPHENS               CA          90014743974
5354895575715B   CARMEN         GOMEZ                  VA          90005359557
535491A8661971   LEE            WARREN                 CA          90010191086
535499A8571964   BILL           BANKUS                 CO          90014699085
5354B77955B531   MARIA          WICKSTROM              NM          90014527795
5354B785533696   DINAH          GRAHAM                 NC          12049587855
5354B785671964   SYMONE         SMITH                  CO          90009857856
5354B823972B67   CONSTANTIN     CERDA                  CO          90001178239
5354B848157157   SALVADOR       GASCON MEJIA           VA          81097458481
5355119577B46B   SARINA         REYES                  NC          90011871957
5355237967B46B   NIA            COPLES                 NC          90010973796
53552495A4B28B   PATRICK        HOYT                   NE          90013544950
53552A73233699   JENNELL        PARHAM                 NC          90014000732
5355325A961975   LISA           HERNANDEZ              CA          46073762509
5355361415B531   JEANINE        CENA                   NM          90014366141
5355386A172B27   MICHAEL        CUIFFI                 CO          90014808601
5355448855B283   LAMAR          ALLEN                  KY          68022584885
5355493A191587   RICHARD        ARELLANO               TX          75003589301
53554A65272B36   KRYSTAL        WILLIAMS               CO          90008180652
53555841372B36   CHRISTIAN      CHAVEZ                 CO          33057528413
5355649215715B   TERESA         JUSTINIANO             VA          81077094921
53556824672B88   LETREENA       BLAND                  CO          33073458246
5355758918B169   RAUL           COBOS                  UT          31036695891
5355798AA55959   BARBARA LYNN   POOCHIGIAN             CA          90013129800
53557A29191534   ANGEL          MORENO                 TX          75025890291
5355813492B245   MARIA          VAUGHAN                DC          81012711349
53558194A61971   CAROL          SPINOSA                CA          90014941940
5355887A893724   KIRSTIN        CALHOUN                OH          90010758708
535588A2633699   SUELI DE       LOPES                  NC          90009998026
53558A47651348   DANETTE        HILL                   OH          90010210476
5355967775715B   OSCAR          NOVILLO                VA          81043186777
5355B63372162B   DAVON          JOHNSON                OH          90014186337
5356149265B393   CHASE          WADEL                  OR          90013954926
53562644672B43   STEPHANIE      SOSA                   CO          90015086446
5356284972B27B   ANNETT         MCCRAY                 DC          90014898497
5356287325B393   KATHERINE      BONNER                 OR          90014428732
5356357667242B   PATTY          KUBISTEK               PA          90015155766
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53563697972B27   HECTOR          ORTIZ                 CO          33067966979
535636A7576B75   ANDREA          ROBLES                CA          90011856075
53563A6A57242B   DANTE           WILEY                 PA          90008010605
535648A4961966   KRISTEN         GUTIERREZ             CA          90008828049
53564AA3472B77   VICKI           REEVES                CO          33026550034
5356513644B588   BREANNA         PARSONS               OK          90015251364
53565674172B27   ADRIAN          CARRASCO              CO          33085056741
535658A355B543   LINDSEY         SANCHEZ               NM          35085568035
5356635165B387   TERUSA          BILLY                 OR          90014653516
53566369272B67   RICHARD         BAYNARD               CO          90005623692
5356756814B28B   CHARLES         BOYD                  NE          26086925681
535678A4A72B77   TRAVIS          FINNEY                CO          90001278040
5356813822B27B   LATISHA         BARNES                DC          90012861382
53568239772B43   JOSE            ZAVALA                CO          33096002397
5356873525B393   HUSSEIN         SALMAN                OR          90000527352
53568AA537B46B   VERONICA        RAYFORD               NC          90013270053
5356966A272B77   SONIA           VEGA                  CO          33037766602
535698A355B543   LINDSEY         SANCHEZ               NM          35085568035
5356B294161971   MARIO           KNORR                 CA          46078032941
5356B348972B36   SANDRA          KALB                  CO          90001503489
5356B38A45758B   RAMON           FLORE                 NM          35504203804
5356B812291534   JESSICA         HERNANDEZ             TX          90011068122
5356B888333696   MARY            MYERS                 NC          12090508883
5357126314B28B   KYLE            SMITH                 NE          26067392631
5357169462B27B   LADONNA         HARRISON              DC          90008056946
5357192A95758B   GRACIELA        MONTELONGO            NM          90000139209
53571939772B36   VICTOR          CESPEDES              CO          33098739397
53571A24272B27   ERNEST          EVANGELISTA           CO          33083440242
53571A79872B49   KERRY           MORGAN                CO          33060650798
53571A92891895   JUAN            LOPEZ                 OK          90013930928
5357219325B387   RAMON           REYES VASQUEZ         OR          90009951932
5357238A58164B   SARAH           PARK                  MO          90007763805
5357266257B34B   ANDREW          FARMS                 VA          81053156625
5357332812B281   EDMOND          BYNUM                 VA          90008173281
53573862576B3B   SHAWN           ATKINS                CA          46090548625
535738A6733696   SANTITA         WILLIAMSON            NC          90014358067
535738A945B399   DAVID           KNOPF                 OR          90012888094
5357424A185928   SIXTO           NAVARRO               KY          90010812401
535745A177B46B   SANTOS          MARTINEZ              NC          90014445017
5357494824B28B   ROSETTA         SCHIEL                NE          26080089482
5357573417B46B   MARIA           DURAN                 NC          90011967341
5357593914B588   BREANNA         LADD                  OK          21543499391
5357654175715B   MOISES          RIVERAS               VA          90008825417
53576933676B75   LUTHER          GARNER                CA          90012849336
53576942672B36   MARIA           SAENZ                 CO          33018099426
535776A7872B36   VIRIDIANA       GARCIA                CO          90013106078
5357783565B387   MILISSA         WILLIN                OR          90011088356
5357837327B46B   AUSET           ARI                   NC          11076143732
5357861AA85928   ALFONSO         BROWN                 KY          90012256100
53578736A5B387   ISIDRO          REAL                  OR          44557287360
53578962A5B393   JOSHUA          SNYDER                OR          90000719620
5357987178B169   BRANDY          DAVES                 UT          90008498717
53579885972B27   ROBERT          AVERY                 CO          33058638859
5357B439185928   LUIS            MARTINEZ              KY          90015334391
5357B769557131   ROSA            FLORES                VA          90006647695
5357B81237B46B   TANIA ARACELY   ZAMBRANO              NC          90009668123
5357B87784B28B   METILAH         GATSI                 NE          90007428778
5358192444B28B   JOLENE          ROTHWELL              NE          90010259244
53581974A84373   MANUELA         FERNANDEZ             SC          90012329740
53581A6225B399   REEM            MAQDAS                OR          90014920622
53581A62291534   JAVIER          QUINONES              TX          90006300622
5358255998B169   SHUMAN          TIFFANY               UT          90009745599
5358321355B393   EDGAR           LEONEL                OR          90008292135
53583578772B36   BRIGIDO         LOPEZ                 CO          33087865787
5358396A67B46B   DON             NGO                   NC          90013559606
53583AA4172B77   SHERRY          MCMULLIN              CO          33035550041
535845A147242B   LARRY           SWINDELL              PA          90014505014
53584776972B43   JASON           JOHNSON               CO          33011787769
5358489594B28B   ALETHA          REYES                 NE          90009278959
5358529A95758B   CRUZ            SOTO                  NM          35508512909
5358548395B399   GREG            SURAN                 OR          90008364839
5358558A22B27B   AQUIA           BRATCHER              DC          90013025802
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53585729A5B399   ROGELIO        OLIVA                  OR          44550247290
53585942872B49   CECILIA        ALEXANDER              CO          90015139428
53586712A5B399   CHARLES        WRIGHT                 OR          90012127120
53587442A5715B   ANNIE          OVALLE                 VA          90005434420
53587961172B49   NOLBERTO       OJEDA                  CO          33076079611
53588631272B63   AURELIO        RUIZ                   CO          90005866312
5358869875B271   CIRILO         CARRILLO               KY          90002196987
5358886A771964   CHRIS          NOLL                   CO          90014128607
5358896439372B   CARL           UNGER                  OH          90013449643
53588A9AA84373   JOHN           MEYER                  SC          90008210900
5358925575758B   MAEGAN         FRANCO                 NM          90013202557
535893A7474B97   LAURI          STEVENS                OH          90013893074
5358982A261971   EDWARD         WALKER                 CA          46065058202
5358988428B169   CRYSTAL        CARDENAS               UT          31091378842
5358B385661973   DULCE          SOLIS                  CA          46055133856
5358B648672B27   MYDA           HERNANDEZ              CO          90012786486
5359128A451336   ELIOT          WILLIS                 OH          66072812804
5359146AA76B75   CARLOS         DELGADO                CA          90013504600
53591A57661971   JENNIFER       NELSON                 CA          90002260576
5359234685758B   BLANCA         RUEDA                  NM          90012103468
535925A8951348   JORGE          MARROGUIN              KY          90009455089
53592612272B43   DARLENE        ARREOLA                CO          90013006122
53592646372B49   EUGENE         SANDOVAL               CO          90008466463
53592AAA943569   JOEL           WRIGHT                 UT          90015050009
5359338475758B   CARMEN         JAIME                  NM          90003403847
5359442147242B   LISA           KIERNAN                PA          90010994214
53594A53471964   DAVID          CASIAS                 CO          90014370534
53595383776B75   GERARDO        LOPEZ                  CA          90013923837
53595445A33669   ANEL           CRUZ                   NC          90001294450
5359592875B531   VANESSA        CHACON                 NM          90008119287
535962A855B561   CERAS          LONGORIA               NM          90013422085
5359657888B169   JASMINE        WHARTON                UT          90014655788
5359697919374B   JAQUADA        HIGGINS                OH          90011589791
5359829AA5B531   RICK           DURAN                  NM          35094512900
5359846A791895   CECILIA        OLMOS                  OK          21043014607
53598581576B75   RICHARD TODD   WERNER                 CA          90015095815
5359887A472B77   MANUEL         PEREZ                  CO          90005978704
53598AA837B46B   MARVIN         ALDANA                 NC          90002310083
5359918234B28B   AMY            PAFFORD                NE          27063861823
5359932235713B   ALEX           SALGUERO               VA          90004683223
53599A1712B27B   DOMINIQUE      STOVER                 DC          90015520171
5359B222772B49   JORGE          DURAN                  CO          33085462227
5359B56A972B36   HILDA          RODRIGUEZ              CO          33019345609
5359B811857157   JORGE          QUIROZ                 VA          90013268118
5359B86168B183   DON            EVERETT                UT          90004328616
5359B891233696   ROBIN          MOORE                  NC          90013928912
5359BA63661975   MARGARITA      AGUIRRE                CA          90013320636
5359BAA497B35B   EMERITA        ARRIAGA                VA          90005360049
535B1351185928   TYISHA         KENNEDY                KY          67052683511
535B1499672B49   JUSTINE        GEIST                  CO          90007314996
535B151145758B   IVAN           CARO                   NM          90013255114
535B198A35B543   BRIAN          DODGE                  NM          90005139803
535B2255433696   ALISA          YOUNG                  NC          90011512554
535B2367384357   MICHAEL        HOLDEN                 SC          14514633673
535B2831661971   MARC           BOYKINS                CA          90003708316
535B283387B46B   KAREN          SMITH                  NC          90012878338
535B323522B27B   EDDIE          BISHOP                 DC          81007242352
535B3318785928   ADAM           SLONE                  KY          90013703187
535B332A472B43   KAYLA          MARTINEZ               CO          90014923204
535B3747471964   NELLY          ESTRID                 CO          90007857474
535B3816157157   SHEILAH        MITCHELL -REID         VA          81000638161
535B3A72151348   JASON          ROY                    OH          90003730721
535B412AA72B49   JOE            PALOMO                 CO          33000361200
535B414847242B   LINDA          HAUBRICH               PA          51043021484
535B4437951348   SHAKIRA        SHABAZZ                OH          90014924379
535B44A235B393   JAMIE          ANDREWS                OR          90002594023
535B463A172B43   VANESSA        PORTER                 CO          90012246301
535B4777271964   JULIE          GAGNON                 CO          32017777772
535B487975B531   CHRIS          ROSS                   NM          35079678797
535B515555B531   GABRIEL        ESPINOZA               NM          90007661555
535B529A571964   ALEXIS         SALAS                  CO          90015172905
535B55A4772B43   STHEPAHNIE     PASSMORE               CO          90006235047
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535B5759255959   VICTOR       ACUNA                    CA          90003677592
535B595917242B   JORDAN       BAILLEY                  PA          90012419591
535B6794233699   MATTHEW      COLON                    NC          90008227942
535B7561857157   JACQUELINE   CEREZO                   VA          90014625618
535B75A5A85928   DONALD       HARRIS                   KY          67013715050
535B787845B229   AMBER        BISSINGER                KY          90001158784
535B7A14551348   SONA         LETA                     OH          66095930145
535B8148872B49   SHERRI       MILLICAN                 CO          33025901488
535B839885758B   VICTOR       MARTINEZ                 NM          90009873988
535B937943B139   SANDRA       MADLOCK                  DC          90003473794
535B9393485928   WENDY        BEBE                     KY          90014173934
535B947682B27B   BENJAMIN     ALVAREZ                  DC          90012614768
535B969937B46B   ALEXIS       GALMON                   NC          90015136993
535B9915361971   MARY         TATE                     CA          90011479153
535BB12172B27B   AYALA        JURADO                   DC          90012551217
535BB721333696   BRITTANY     TAYLOR                   NC          90015267213
5361125195715B   JUAN         HERRERA                  VA          90008842519
5361155278B169   JOHN         ALLEN                    UT          90002285527
53612AA8361971   JUSTIN       LAKU                     CA          90015260083
5361341A372B43   ISAIAH       NELSON                   CO          90009974103
5361353A261975   ELIZABET     RESENDEZ                 CA          90013035302
53613651772B27   CONSTANCE    SHIELDS                  CO          90012786517
5361412A67B46B   RONALD       PATTERSON                NC          90010221206
5361423A15B393   GEDIONI      CANUL                    OR          90015042301
536146A2591895   CHAZ         WHEELER                  OK          21011196025
536146A4A61973   JUAN         VILLEGAS                 CA          90004296040
53614A38785928   CRAIG        JORDAN                   KY          67049660387
53614A7692B245   ANTOINE      WHITE                    DC          90008440769
53615361472B36   ALBERTICO    GALINDO                  CO          90013933614
536154A825715B   FRANCIS      GOMEZ                    VA          90002064082
5361618A672B43   DAVID        SWAN                     CO          33073971806
5361689A391895   ALEXIS       PEREZ                    OK          90011148903
5361731A272B67   ADRIAN       CARRANCO                 CO          33070213102
5361768A772B77   MARTINA      AVALOS                   CO          33006586807
5361774348B169   AUSTIN       POLL                     UT          31008147434
53617837372B36   ORALIA       ORNELAS                  CO          33035658373
53617A58261975   ALAN         NEELEY                   CA          90014890582
536185A5391534   AMANDA       BREWER                   TX          90012685053
53619643572B49   ADRIANA      RAMIREZ                  CO          90002086435
53619787A72B27   JOSE ANGEL   FRAUSTO                  CO          90007847870
53619A57347836   CALLISTA     JONES                    GA          90009180573
5361B231957157   KESHAWNA     JONES                    VA          90014472319
5361B327893724   DENNIS       FRY                      OH          90009303278
5361B455991881   JAMAL        MCDANIEL                 OK          90011194559
5361B529191521   JOSE LUIS    DE LA CRUZ               TX          90009405291
5361B96A95715B   JOSE         ANZOATEGUI               VA          81067019609
5361BA54791534   CALDERA      SANDRA                   TX          75070430547
53621754872B36   AILENE       LUDDY                    CO          90012107548
5362253A261975   ELIZABET     RESENDEZ                 CA          90013035302
53622727576B75   AMBER        BURD                     CA          46094547275
53622A18A85928   DIMAS        PEREZ                    KY          90010390180
53622A46A33699   SAUNDRA      LORRAINE                 NC          90015110460
53623459572B27   ALZA         TUBWELL                  CO          90009944595
5362479515B229   LUNET        GEORGES                  KY          90010727951
53624966376B75   JESUS        ROJAS                    CA          90013039663
5362527285B393   TERENCE      PRESTON                  OR          90010892728
536252A4772B27   DAVID        BURROUGHS                CO          90013962047
5362542147242B   LISA         KIERNAN                  PA          90010994214
5362552825758B   MARIA        CAMPOLLA                 NM          35510435282
53625A53572B49   STEVEN       MCQUEEN                  CO          33015130535
5362655392B27B   CATHY        REDMOND                  DC          90013685539
53627296872B67   IVAN         TINAJERO ROMERO          CO          90011242968
53627368A2B27B   TERRISA      BRYANT                   DC          90013343680
5362761323143B   ROBIN        MASON                    MO          90014736132
53627A82157157   RUSSELL      WIGGINS                  VA          90014290821
53628149A72B77   LOURDES      GUTIERREZ                CO          33096701490
53628287A4B588   HOLLY        PATTERSON                OK          90015262870
5362863A676B75   AIOTEST1     DONOTTOUCH               CA          90015116306
53628A6725758B   CLAUDIA      OROZCO                   NM          90011180672
53629115876B75   ANTONIA      LOPEZ                    CA          90013121158
5362939767B46B   ASHLEY       HERNDON                  NC          90010973976
5362943525B393   DARILYN      BUSCH                    OR          90008244352
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5362B489855959   CHRISTY               ARIAS            CA         90013124898
5362B57A45B393   JOSHUA                KINGSBURY        OR         90010865704
5362B7A9131429   GARBRIELLE            RHODES           MO         27561077091
5362B9A455B543   JEFTE                 GUTIERREZ        NM         90013849045
5362BA42A5B531   JORGE                 PEREZ            NM         90013120420
5363141185B393   ETHELINA              EPENROSA         OR         90015064118
5363142255B387   THOMAS                ROESER           OR         90014414225
5363175182B27B   JACOM                 MORRIS           DC         90014447518
536322A6172B43   ARAMINTA              JOHNSON          CO         33077612061
53632574A91895   CARA                  BROWN            OK         21086665740
5363322A84B28B   LINETTE               NEAL             NE         26080522208
5363342245B387   BELINTA               SION             OR         90014694224
53633453272B88   NICOLE                SENA             CO         90009994532
536334A3361971   MICHELLE              DICK             CA         46087794033
5363466A991895   LUIS ENRIQUE          PEREZ            OK         90002566609
5363494A15B393   CHERELL               TRIPLETT         OR         44583649401
53635318A63662   PATRICK               ENGLERT          MO         27504293180
536353A254B588   TERESA                KIFER            OK         90015263025
536359A2591534   CHARLES               CARSON           TX         75086969025
53636665176B44   ERICA                 MARTINEZ         CA         90002356651
536366A164B28B   GABRIEL               KWAMBAMBA        NE         26062356016
536368A4772B43   GRACIE                TILLMAN          CO         90014328047
53637562672B36   VICENTE               GARCIA           CO         90009165626
536378A3372B49   MATTHEW               LEVY JR          CO         33031748033
536379A417B46B   KENNETH               JONES            NC         90012889041
5363813A551348   DUSTIN                HELSLEY          OH         90001191305
53638384A5B531   DANIEL                CHAVEZ           NM         90013193840
5363841817B46B   JAVIER                JACINTO JUAREZ   NC         90002844181
53639328172B88   VERONICA              LOPEZ            CO         33016893281
5363949275B387   KIM                   NGO              OR         90010164927
53639AA6276B75   JULIO                 CRUZ             CA         46055250062
5363B479172B27   CHRISTOPHER MICHAEL   PADILLA          CO         90013744791
5363B533557157   WALTER                PALOMO           VA         90015025335
5363B81A25B531   JOSE                  ROMERO RUEDDA    NM         90001308102
5363B9A9A33696   GARY                  BAKER            NC         90010079090
5364111755758B   DYLAN                 DOCKERY          NM         90014291175
5364127157B46B   AYANA                 DANIEL           NC         11090402715
5364144992B27B   JOSE                  MELENDEZ         DC         90012174499
5364169125B387   RAYCE                 LAMAR            OR         90007846912
53641746172B43   JESUS                 COSS-VILLA       CO         33084207461
53641828872B27   KEIRA                 COMBS            CO         90015288288
53642696972B88   JAMES                 LONTEEN          CO         33012526969
5364278687242B   PAYGO                 IVR ACTIVATION   PA         90015127868
53642A1268B169   ADAM                  MATTHEW          UT         90010440126
53643A62136165   MARIA                 CHAVEZ           TX         90006710621
5364448557B397   SOHEIL                ZANDI            VA         90005824855
53644671672B27   LOUISE                SANCHEZ          CO         33035446716
5364491A371964   DESHAWN               FINNEY           CO         90014719103
5364513345B531   ESTHER                GOMEZ            NM         90011511334
5364525825758B   RUDY                  TELLES           NM         90013982582
5364545822B27B   JOSHUA                LAWSON           DC         81048324582
536455A3671964   JUAN                  CALDERON         CO         32044615036
53646933A5B531   JOSEFA                LOYA-CARRILLO    NM         35077719330
5364749815B393   LADDA                 SUDARAK          OR         90013954981
5364757917242B   MARY                  BROKER           PA         51070235791
5364795A872B77   CESAR                 GONZALEZ         CO         90002589508
5364798827B46B   BRANDON               PORTER           NC         90008789882
536482A2772B49   CANDI                 FITCH            CO         90015102027
5364866A172B88   DAWN                  FURR             CO         33031216601
5364941397B46B   ESTEFANIA             ZARATE           NC         90013724139
5364B133A61971   COURTNEY              WARD             CA         90011241330
5364B214772B43   RONALD                CHAVEZ           CO         90014812147
5364B287271964   MICAEL                CHAPMAN          CO         90009502872
5364B49815B393   LADDA                 SUDARAK          OR         90013954981
5364B572772B49   SARAH                 VIGIL            CO         90013345727
5364B58A885928   HANNAH                CLOUSE           KY         90010715808
5364B969172B49   NORBE                 GONZALES         CO         90004139691
53652669A42335   MICHAEL               JACKSON          GA         90014456690
53652675772B43   DEBORAH               BARDALES         CO         90013976757
53652AA8661975   EDUARDO               VASQUEZ          CA         90013090086
5365325745B393   ELIZABETH             GRIFFIN          OR         44597122574
5365339A961971   JOSE                  ARAMBURO         CA         90013283909
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536537A425593B   ERIKA        ESQUIVEL                 CA          90012867042
5365416175758B   CARMEN       CENICEROS                NM          35528241617
53654277A72B49   ERIC         GRUNEISEN                CO          33025172770
536549A6672B27   SANDRA       MONDRAGON                CO          90007769066
5365539918B191   CARRIE       YOUNG                    UT          31005853991
5365617315B283   ASHLEY       SHRODE                   KY          68022641731
5365644438B169   BRANDY       CARPENTER                UT          90014694443
53656661272B27   IRMA         MORENO                   CO          90014856612
5365687465B531   ROY          SANDOVAL                 NM          35021188746
53656A23961973   SUSAN        CHRISCO                  CA          46069230239
53657AA2791534   TERESA       JIMENEZ                  TX          90006350027
5365849815B393   LADDA        SUDARAK                  OR          90013954981
5365858145B387   NATASHA      STILES                   OR          90014435814
5365867A561973   SAMUEL       BRAVO                    CA          90012416705
5365937557B46B   DAEDRIANA    JACKSON                  NC          90014843755
536595A5455959   PIMP         IM THE                   CA          90010315054
5365995355B387   KAMERON      VANDERGRIEND             OR          90013989535
5365B336293724   ANTHONY      SMITH                    OH          64587943362
5365B8A9861971   JESSICA      GILLETTE                 CA          90005508098
53661217A72B88   JESUS        CASTILLO                 CO          90003822170
53661A5165715B   OBDULIO      MILTON                   DC          81043310516
5366231A861973   GABRIELA     NUNO                     CA          90012293108
536624A7955959   AIMEE        HERNAND                  CA          90002804079
5366295465B387   MATTHEW      CRANE                    OR          90014779546
536629A9372B49   RAMIREZ      OCTAVIO                  CO          33024119093
536632A495B399   TORY         THOMPSON                 OR          44520782049
5366336917B46B   NITA         INGRAM                   NC          11052193691
536636A257242B   ASHLEY       WOOD                     PA          51088316025
53664793A71964   BRIAN        THOMASSON                CO          90008747930
53664815A85928   BREANNA      BENSON                   KY          90015438150
53664A24155959   JESUS        TORRES                   CA          90015160241
5366513347B46B   JOAB         VIDALES                  NC          90008741334
5366539185B387   KATRINA      TIRY                     OR          90015263918
53665A69585928   SHANIBBIAH   JACKSON                  KY          90012850695
5366635A333699   KENNETH      K CROCKETT               NC          90003633503
536663AA872B36   ANTONIA      BUSTAMANTE               CO          33057493008
5366694865B531   CHRIS        HERNANDEZ                NM          90003989486
536675AA472B88   ADAM         WALLACE                  CO          33016895004
53668A83A72B27   JOSE SILVE   BANUELOS                 CO          33092280830
53668AA925B393   KRYSTAL      DUFF                     OR          90014920092
5366912A791534   GABRIELA     CABALLERO                TX          75092661207
5366916917242B   RANDY        STEVENS                  PA          51019351691
536695A2485928   GUSTAVO      TORRES                   KY          90013975024
536695A6372B88   JOSE         HERNANDEZ                CO          33016895063
53669A13672B49   MARCO        PADILA                   CO          90013150136
53669AAA655959   MARGARITA    LEON                     CA          90013990006
5366B86715B393   DAVID        PFEIFER                  OR          90013438671
5366BA61355959   ELMER        SANCHEZ                  CA          90011380613
53671463A4B588   ANNA         LITTLE                   OK          90014804630
536714A415B531   CHRISTINE    NOEL                     NM          35083254041
5367182A272B36   JENNIFER     BOONE                    CO          33014058202
5367193262B27B   REGINALD     SMITH                    DC          90014599326
53672148872B49   CHARLES      EZELL                    CO          90014691488
53672355A7242B   JASON        REGULA                   PA          90005203550
536725AA15B271   ASHLEY       COATIE                   KY          90005385001
53672837176B75   OSCAR        JUAREZ                   CA          46041048371
5367348A971964   THERESA      CHACON                   CO          32030234809
536743A2472B43   SAMUEL       HERNANDEZ                CO          90010753024
53674887372B49   TODD         FAULKNER                 CO          33067948873
5367496545B531   VICTORIA     GAVALDON                 NM          90015129654
53674A34191895   PAMELA       MCCARTY                  OK          21087090341
5367566735758B   SONNY        SMITH                    NM          90013996673
53675895A61971   DOUGLAS      BINGHAM                  CA          46011688950
53675A1168B169   TERESA       PETERSEN                 UT          31000220116
53676211176B75   MISTY        ESCOBAR                  CA          46011152111
5367688444B922   PAYGO        IVR ACTIVATION           TX          90015208844
5367694AA61971   LORENA       LOPEZ                    CA          90013649400
5367874A15B399   MARTHA       SANCHEZ                  OR          90001547401
53679269672B49   HILDA        GONZALEZ                 CO          33074112696
536792A7A91534   MARIALENA    DOMINGEZ                 TX          75010282070
53679928A5B393   ABEL         DE LA CRUZ               OR          44517049280
53679A4A65758B   SARA         ARCHULETA                NM          90014220406
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5367B13A691895   JOSLYN        HARRING                 OK          90013931306
5367B217472B49   EVERETT       JASON&NICOLE            CO          33073762174
5367B33128B169   JARED         BOOG                    UT          90006093312
5367B55235B531   WILLIAM       NATIONS                 NM          35058265523
5367B577876B75   M IVETTE      VALDOVINOS              CA          90009705778
53681477172B49   PATRICIA      GUITIERREZ              CO          33050134771
5368168995B387   JAVIER DANA   ALAN                    OR          90015106899
536816AA25B387   RICHARD       FERRI                   OR          90009406002
53682152872B36   ELISHA        DEAL                    CO          90012081528
53682168172B49   SHEILA        SMITH                   CO          33077751681
5368234742B27B   ANN           STOCKMEYER              DC          81073513474
5368238875B531   RICHARD       GALLEGOS                NM          90011873887
536827A933B338   JOSE          ANTONIO CARBAJAL        CO          90001877093
5368281624B28B   ANN           COREY                   NE          90003328162
5368333A398B2B   LAURETTA      FRAZIER                 NC          11046423303
53683423A55959   JUANITA       LOPES                   CA          90010674230
5368343A172B88   YOLANDA       ESTRADA                 CO          33072784301
5368359A15758B   ROBERTO       RUIZ                    NM          35572215901
5368371A972B49   IMELDA        DIAZ                    CO          33076307109
53683A6A14B588   DELANA        ROBERSON                OK          21583120601
5368436325B393   CECILIA       VALDIVIA                OR          90004213632
53685324372B36   ANNETTE       GONZALEZ                CO          33091033243
53685581A91534   CARLOS DIAZ   DE LEON                 TX          90012035810
5368558A65B399   JOHN          TAYLOR                  OR          90003845806
53685796724B7B   TIFFANY       MOSS                    DC          81065287967
5368635842B27B   JONICA        OLIVER                  DC          90013223584
5368657A671964   JOSE LUIS     VAZQUEZ                 CO          90013255706
5368716A95758B   MIREYA        HERNANDEZ               NM          90008921609
536872A9A72B43   DANNY         AGUIRRE                 CO          33015992090
5368B15925B531   LAURA         SANCHEZ                 NM          90007891592
5369292625758B   CHRIS         MORENO                  NM          35543919262
53692969572B43   FELICITO      CASTRO                  CO          90000299695
5369431177242B   JULIANO       LATHROP                 PA          90015303117
53694546A71964   JUDY          OLHAVA                  CO          90013075460
53694A81261975   IRMA          ZEPULBEDA               CA          90014630812
53695324A93724   BILL          HEDGES                  OH          64548023240
53695881A91534   JULIETA       ROMERO                  TX          90008548810
5369643AA91895   MYESHA        BROWN                   OK          90009824300
536966A717242B   JUDITH        LLOYD                   PA          51065136071
5369722845B399   HEATHER       JEALOUS                 OR          90010132284
53697588872B43   LUIS          FLORES                  CO          90013265888
5369771A972B77   AUDREY        TORREZ                  CO          33041667109
53697839A5B399   JULIANE       WEAVER                  OR          90014818390
53697869772B88   MARIA         DE LOS SANTOS           CO          90003188697
5369814657B46B   CRYSTAL       HAMILTON                NC          11030151465
53698582472B36   DUANE         BEYER                   CO          90014385824
53698A1185758B   MELLETANA     RAMSEY                  NM          35581960118
53698A2A571964   ROGELIO       ARREGUIN-MANCERA        CO          90009610205
53698A4A272B49   DANIEL        WILLIAMS                CO          33044010402
53698A94A61973   RYAN          FORD                    CA          90013240940
5369926A461836   NICOLE        HAUSMAN                 MO          90009012604
5369987742B27B   RENALDO       LUCUS                   DC          90015178774
5369B135384373   CHRIS         GUST                    SC          90003781353
5369B417191895   ONORATO       CARMONA                 OK          90005054171
5369B4A525B271   JOSE          RODAS                   KY          90002204052
5369B55135B531   CRYSTA        TRUJILLO                NM          35032385513
5369B918372B43   KEITH         HOOVER                  CO          33092759183
536B11A3761973   OSCAR         CELEDON                 CA          90013801037
536B1569672B49   NATHAN        BUSCHMAN                CO          90005885696
536B248A272B27   JORGE         GONZALEZ                CO          33083084802
536B24A8176B75   ELIAS         OROZCO                  CA          46036434081
536B317615B393   CAMERON       MACLEAN                 OR          90005571761
536B3523961975   BERNICE       GOFF                    CA          90013035239
536B399485B391   TINA          WHITE                   OR          90009149948
536B3A93271964   CLAUDI A      BARAJAS                 CO          90007120932
536B4284161973   JESUS         CASTILLO                CA          46036942841
536B498442B27B   JORGE         ARGUETA                 DC          90001269844
536B582497242B   PAMELA        BROOKS                  PA          51034388249
536B5A1122B237   DJ            SOLOMON                 VA          90006400112
536B5A52757157   ESPERANZA     RODRIGUEZ               VA          90002650527
536B6267733696   ANGEL         MURRAY                  NC          90011192677
536B635637B46B   MAYRA         AMAYA                   NC          90013563563
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536B635654B28B   MARSHAUNE     NIMOX                   NE          90006633565
536B6478472B88   RAUL          DIAZ                    CO          90005844784
536B66A592B27B   JAMES         ARTIS                   DC          90015266059
536B6793A71964   JASMINE       MOORE                   CO          90014707930
536B765A772B27   LUIS          HERNAN                  CO          90015146507
536B855595B543   MONSERRAT     MONTANEZ                NM          35027435559
536B87A548B169   BRANDI        PEMBELTON               UT          90014657054
536B882622B27B   DEBORA        NUNEZ                   VA          81086638262
536B883A95758B   ELIZABETH     ALVAREZ                 NM          90008818309
536B914A771964   CHRISTOPHER   DOUGLAS                 CO          90007121407
536B937892B27B   OSCAR         RIOS-ECHEVERRIA         DC          90015273789
536B9649655959   MATTHEW       MEJORADO                CA          48007616496
536B9787972B88   EVERETT       APPLEGARTH              CO          90003187879
536B9911755959   LAURA         RUIZ                    CA          90014999117
536BB12582B27B   SHEMIKA       YOUNG                   DC          90012551258
536BB322572B67   ELOISE        MORENO                  CO          33082303225
536BB4A9161971   JUHAR         SLEEA                   CA          90002914091
536BB812261975   DELIA         MUNOZ                   CA          90013798122
53711716972B36   CHRIS         PRISINZANO              CO          33012897169
5371251137242B   CICELY        MOORE                   PA          51031305113
53712A53A72B36   BRENEN        ACEVAS                  CO          33048030530
537131A935B271   LUCIO         RARMIREZ ROJO           KY          68088011093
5371327975758B   SANDRA        MONTOYA                 NM          90007512797
53713321872B88   AIDE          HERNANDEZ               CO          33039063218
5371431789196B   CASSIDY       SHERRON                 NC          90013723178
53714728544B3B   KEN           WOJTONEK                OH          90014177285
5371559AA72B27   JOSE          NUNEZ                   CO          33042375900
53715838772B88   EFREMTECLE    GEBREMARIAM             CO          33083418387
5371587295B393   TORO          KHAMSOUK                OR          90014458729
5371778437B46B   ADRIENNE      REDDICK                 NC          11039257843
53717A9A871964   JAMIE         HACKNEY                 CO          32040440908
5371835815B387   DANIEL        SORLIEN                 OR          90013683581
53718589172B88   RAMIRO        RAMIREZ                 CO          90009155891
53718A96572B43   ANTONIO       ZUNIGA                  CO          33043910965
53719568472B27   CATLIN        JOANN                   CO          90002135684
53719716876B75   MARK          RHODES                  CA          90014977168
5371981624B28B   ANN           COREY                   NE          90003328162
5371B41315B543   JOSE          RENTERIA                NM          90006944131
5371B531472B27   ANA           COLONNA                 CO          33059855314
5371B78224B28B   AMBER         OLBERDING               NE          90012337822
5372127685758B   HANNA         APODACA                 NM          90014382768
5372163575B271   SARAH         PEACH                   KY          90006426357
53721681472B49   KAREN         SAYLOR                  CO          90013226814
53721A4655B387   KAYLA         SAMPSON                 OR          90011960465
537221A8572B27   ESTHER        GUTIERREZ               CO          90013611085
537222A9631428   CRYSTLE       COLLINS                 MO          27547292096
53722322A72B36   YURIDIA       TINOCO                  CO          33020593220
5372264198B169   JENNIFER      MILLER-TRUJILLO         UT          90004536419
5372318558B169   JESSE         GOMEZ                   UT          31065651855
537236A5961975   GREG          LEONARD                 CA          90013976059
537236AA15B393   MANDY         OLSEN                   OR          44561006001
53723A88361975   CHARLIE       CHAVEZ                  CA          90014850883
5372415357B46B   MONIQUE       TAYLOR                  NC          90014831535
53724433A5758B   ERNEST        LUCERO                  NM          90014884330
5372444575715B   WILLIAM       WHITE                   VA          90013454457
53724723472B36   JOSE          SANCHEZ                 CO          33034567234
53725267472B49   APRIL         FOSTER                  CO          33088492674
5372567175B399   SHERRY        SHANER                  OR          90003546717
53725763672B27   JAMES         BROWN                   CO          33090587636
53726316772B36   WESLEY        SHILZ                   CO          33039183167
53726A81191534   ERIKA         ESTRADA                 TX          75024550811
537278A462B27B   RAYMOND       VALADEZ                 VA          81004828046
53727933A5B531   JOSEFA        LOYA-CARRILLO           NM          35077719330
5372841A172B27   MARCIN        WITUCKI                 CO          33013374101
5372845315B387   TAWNIE        JOHNSON                 OR          90010914531
5372872945758B   BOBBY         FRANKLIN                NM          90015117294
5372874935B399   STEVEN        MCCUTCHEN               OR          90011347493
537293A447B46B   TAWANDA       PRICE                   NC          90015023044
53729478A33696   MARIAM        MAHMOUD                 NC          90012074780
53729577A5758B   MARIA         GONZALEZ                NM          90014155770
53729673376B75   SARA          VELEZ                   CA          90013696733
53729676372B49   JOSEPH        RODRIQUEZ               CO          90011356763
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5372B21A951367   RYAN        GAITHER                   OH          90012512109
5372B25514B28B   APRIL       ALDERSON                  NE          26046062551
5372B315251348   SHARON      BLUNT                     OH          90013533152
5372B552891534   BRENDA      GOODE                     TX          90009925528
5372B686185928   ROANDA      SAFI                      KY          90000676861
5372B893561973   FRANCISCO   GUTIERREZ                 CA          90013358935
537317A6276B75   MARIA       HERRERA                   CA          90013007062
53732497A57157   ELIZABETH   ROBERTS                   VA          90011164970
5373287118B169   TIFFANY     BARFUSS                   UT          90014688711
53732A1495B393   REBECCA     WHITE                     OR          90006590149
53733236A5B393   MARCUS      SHAMBRY                   OR          90002172360
53733746672B88   MICHAEL     KHAN                      CO          90003817466
53733AA235B223   JOYCE       COPPEDGE                  KY          90008960023
537342A847B46B   TAY         SUMPTER                   NC          90013202084
537344A9593724   JESSICA     RICHMOND                  OH          90010214095
537347A8291534   ANN GRACE   MARTINEZ RAYITO           TX          90012267082
53734983772B36   KEVIN       DEVER                     CO          90013599837
5373541765758B   JESSICA     ARROYO                    NM          90014854176
53735565A72B97   FIRMIN      CERDA                     CO          33094155650
53736254872B49   ENJOLI      ANDERSON                  CO          90012672548
537362A7A93724   BRENDA      WARD                      OH          64575442070
53736412A76B75   BOB         RIGHTLEY                  CA          90001044120
537368A365B531   CYNTHIA     MALDONADO                 NM          90009948036
5373699927247B   CARL        MEIXNER                   PA          90003499992
5373714437B46B   JOHN        DEVDE                     NC          90010011443
5373732914B28B   ROBERT      MCCOWN                    NE          90001093291
5373773245758B   JOHN        DOE                       NM          90011427324
5373773975B399   MAHADHI     MAHADHI                   OR          90010247397
5373794334B588   MARCUS      SPICER                    OK          21562979433
5373836A65B393   JOSEPH      BRASSEUR                  OR          90009673606
53738375572B43   JOSH        HANEY                     CO          33059233755
5373841195758B   JUAN        NUNEZ                     NM          90009874119
5373881195B283   JACK        BABER                     KY          90001498119
5373885A751348   NICELY      SCOTT                     OH          90007668507
53738949A2B27B   NADIA       STEVENS                   DC          90010919490
53738A6215B531   JOEL        HARVEY                    NM          35053940621
5373926585B393   MICHEL      PEREZ                     OR          90013182658
53739283772B49   BENJAMIN    GRAY                      CO          90014772837
53739A3A92B27B   MARIA       ALFARO                    DC          90015010309
5373B62A361971   JOSE        MORELOS                   CA          90014476203
53741A3A35B244   STEPHANIE   STURGEON                  KY          90013640303
53741A67972B67   RUSSELL     FOTHERGILL                CO          33096530679
53742383676B75   SOFIA       OCAMPO                    CA          46066353836
5374241813B387   SARAH       SNEAD                     CO          33034404181
5374292347242B   JEROMY      PEGG                      PA          51006789234
5374363A55B531   CHERISE     SALAS                     NM          35007676305
537436A615B399   MONICA      HEUSEL                    OR          90013906061
53743A4117B46B   SHANNON     WORTHAM                   NC          11089420411
537444A7572B27   JORGE       OSUNA                     CO          33059524075
537446A185B531   MAURICIA    FLORES HERNANDEZ          NM          35073606018
53745331872B43   MIGUEL      FLAENCO                   CO          90013853318
5374552A15B393   CRYSTAL     MELLOW                    OR          90010815201
53745A4954B28B   TONY        SMITH                     NE          90007450495
5374658834B588   ANTONIO     LOPEZ                     OK          21562985883
5374736387242B   THOMASINA   PRYOR                     PA          90009543638
53747458A72B36   THERESA     VALENCIA                  CO          90008034580
5374826955758B   RAYMUNDO    VENEGAS                   NM          90013542695
537496A177B46B   JAMES       HAILSTOCK                 NC          90011026017
5374978425715B   KAREN       MCKEON                    VA          90010727842
53749874698B2B   OCTAVIO     MILLER                    NC          90013678746
53749A58461995   MARIA       RODRIGUEZ                 CA          90003690584
5374B1A1461975   JACKY       WILLSON                   CA          90010041014
5374B519591534   CONSUELO    PINTOR                    TX          90009985195
5374B56327B46B   MARIA       POMPA                     NC          11054305632
5374B9A4972B49   CHAD        SOLSRUD                   CO          90013629049
53751359372B27   DERRALL     STROCK                    CO          90014563593
5375176A172B27   SYLVIA      TRIJUILLO                 CO          90011267601
53751AA1184373   EDUARDO     BONILLA                   SC          19051490011
53752419372B77   MARIA       ORTEGA                    CO          33001134193
5375259928B169   TARYNA      JAMES                     UT          90014695992
53752614672B43   MARTIN      MARTINEZ                  CO          90014546146
5375354367B46B   MARIE       STEPHENS                  NC          90014515436
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5375359415B531   ENJOLI       SENA                     NM          90010245941
53753732772B49   SAMANTHA     SWENSON                  CO          90010407327
53753981872B36   EDUARDO      CHACON LOPEZ             CO          90014759818
537544A3633699   DANIEL       HAIRSTON                 NC          90010394036
537546A4291895   MIRIAM       VILLICANA                OK          90009836042
53754732898B2B   CHENELL      MASSICOT                 NC          11088857328
537553A1557124   JOSE MARIO   ORTIZ                    VA          81002333015
53756263476B75   LUCY         GOMEZ                    CA          90014572634
5375662125758B   NORMA        DURAN                    NM          90002906212
53756A59961971   NELLIE       REED                     CA          46028640599
5375782835758B   ARTURO       RUIZ                     NM          90014388283
537578A2661973   CHERYL       REED                     CA          46055378026
53757961A33696   DANNY        KINLEY                   NC          90015139610
537584A6872B27   ROBERT       BOCA                     CO          90014324068
5375856A991895   EAVAN        CRAVEN                   OK          90012685609
5375868295B531   NEIL         HENRY                    NM          90010406829
53759285972B49   VICTOR       HERNANDEZ                CO          90014772859
537594A4A4B28B   ALYAS        MUQDAD                   NE          90006704040
5375984AA61971   AMBER        SHAW                     CA          90000548400
53759987A4B53B   MARLON       CIFUENTES                OK          90002639870
53759A34898B2B   ANTHONY      WILSON                   NC          11045300348
5375B511176B44   LINDA        FLEAGER                  CA          46069555111
5375B521A31428   ARMENTA      WASHINGTON               MO          90014235210
5376119A191895   SARAH        GREEN                    OK          90013931901
53761339A72B49   JAMES        HUETER                   CO          33000833390
53761449176B75   ISAIH        GASTELUM                 CA          90014714491
5376162125B543   LYDIA        ROBLES                   NM          35017426212
53761856572B36   ARISBET      ROMERO                   CO          90010158565
5376226857242B   ASHLEY       WEAVER                   PA          51014342685
5376235345B531   DESIREE      SULLIVAN                 NM          90012253534
5376285775758B   LYNETTE      RUBIO                    NM          90009728577
5376291314B23B   KIMBERLY     TYREY                    NE          27005059131
53762974498B2B   VALERIA      REYES                    NC          11079799744
5376382342B27B   COLBY        PREVOST                  DC          90000788234
5376382A561975   SAUL         ONTIVEROS                CA          90010048205
537643A1284329   FILIBERTO    HERNANDEZ                SC          90012273012
53764A8977242B   EDWARD       CAMPBELL                 PA          90011340897
5376582518B169   WAYNE        FAWBUSH                  UT          90014698251
5376584717242B   JILLIEN      KOZIENIAK                PA          51052158471
5376626363B399   STEPHANIE    HERNANDEZ                CO          90014762636
5376695592B27B   JAIME        VASQUEZ                  VA          90014849559
5376728295B531   JAVIER       MARTELL                  NM          35012822829
5376768572B27B   SUBASH       GURUNG                   DC          90003196857
53767A4A95B271   SHANNON      LOGSDON                  KY          90004230409
53768151A91895   ANITA        NULLINER                 OK          21075571510
5376895735B531   ARTURO       HOLGUIN                  NM          35011819573
53768A63161971   ALICIA       VAZQUEZ                  CA          46069180631
5376955765B399   CARRIE       MURRAY                   OR          90009685576
5376B164172B49   YESENIA      MEDINA                   CO          33000361641
5376B388872B77   TY           GALES                    CO          90011253888
5376B429757157   VALERIE      MARTIN                   VA          90014574297
5376B687457157   SYLVIE       ATSAMA                   VA          90011026874
5376BA4185B393   JAQUNIA      LINCOLN                  OR          90011160418
5377151275B399   STACIE       WILLIAMSON               OR          44589325127
53771A3817B46B   MAURA        FLORES                   NC          11061500381
5377214524B28B   SHERRIAH     HENDERSON                NE          90007821452
5377236158B169   ERICK        BETTIS                   UT          90012383615
53772A62461975   ALAN         RODRIGUEZ                CA          90010650624
53773239276B75   JOSE DIEGO   DIAZ                     CA          90008312392
5377333A872B27   PATRICIA     CALVILLO                 CO          33050353308
5377376AA91895   MICHAEL      MOORE                    OK          21013387600
53773A1284B588   ARSENIO      PEREZ                    OK          90002330128
53773A82A7242B   JOHN         PERKEY                   PA          90013960820
5377436158B169   ERICK        BETTIS                   UT          90012383615
53774A29961973   LAURRY       REYES                    CA          46088210299
53774A57961973   MARIA        NUNEZ                    CA          46050140579
5377543185715B   ZOILA        NOLASCO                  VA          90008924318
53775554772B67   THERESA      CORDOVA                  CO          90002715547
5377599A472B27   KARLA        MANJARREZ                CO          90008149904
53776593772B43   DARCEY       HUTCHINSON               CO          33078985937
53777224176B75   PEYTON       COOPER                   CA          46027652241
5377735A543569   CHRISTINA    LOPEZ                    UT          31087153505
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53777388272B49   ADRIENNE     DANIELSON                CO          90004373882
5377757915715B   MIGUEL       OSORTO                   VA          81013025791
53777984272B43   MICHAEL      PEARCE                   CO          33001079842
53777A5518B169   CURTIS       RYLAND                   UT          90014290551
5377812445B387   TIFFANY      LEANNE                   OR          90007371244
53778149872B27   RUBY         URSTADT                  CO          90015061498
53778338572B97   TABITHA      JACKSON                  CO          90008243385
537783A9172B43   CHRISTIAN    VIRGEN                   CO          90010233091
537791A5A61973   ADAM         NUNO                     CA          90001201050
53779256272B36   VANESA       BANDY                    CO          33074732562
53779283A85928   ARLENE       PNEUMAN                  KY          67066112830
53779621A72B27   NICOLE       ARAGON                   CO          90013696210
5377962455B399   JENNIFER     DETERS                   OR          90014946245
5377977298B169   KATIE        STANGER                  UT          31040127729
5377B16815B531   ALVINA       GONZALES                 NM          90014091681
5377B3A285B387   AARON        SMITH                    OR          44590673028
5377B99535B531   DAVID        BRYANT                   NM          90012119953
53781135A5758B   MARIANITA    PEREZ                    NM          90007391350
5378162535715B   SENI         JIMENEZ                  VA          90010256253
53781952A76B75   MARIA        RUIZ SOLLS               CA          90012929520
53781A67572B77   NERY         MEDA-CORADO              KY          33048370675
537823A5857157   STEVE        LANHAM                   VA          90014403058
537826A9161973   RUBY         FLORES                   CA          90007816091
537829A1661971   CANDIDO      PONCE                    CA          46038299016
53783A79A5B151   STEVE        TAYLOR                   AR          90010050790
53783AA5677361   DIANE        GUZMAN                    IL         90001000056
5378454A172B88   MARC         CABRAL-DECEUS            CO          90005845401
53784599872B36   MARCELINO    GOMEZ                    CO          90008185998
5378461A271964   MARY         ADAMS                    CO          90006366102
53785278A31428   RICK         JAMES                    MO          27581222780
5378626175B283   CARIE        LIERAS                   KY          68006632617
53786543472B43   RAYMUNDO     VALENZUELA               CO          90001765434
53786A46872B49   CATHLEEN     FARLEY                   CO          33079230468
5378781655B399   CINDY        RODRIGUEZ                OR          44546838165
53787A6A984357   BYRON        CUENCA                   SC          90002830609
537882A8857157   ARNULFO      RAMOS                    VA          90014482088
5378848A27B46B   CHRISTINE    STEWORT                  NC          90010974802
5378882A751348   OTIS         HORSLEY                  OH          66094608207
53788A8748B169   JACOB        KOENEMAN                 UT          90008850874
5378975835B399   CHARLES      QUINN                    OR          90014307583
53789993172B77   SAMANTHA     THURBER                  CO          90011059931
5378B2AA485928   DUSTIN       HANNAH                   KY          90013422004
5378B449298B2B   FONDA        CLARK                    NC          90005864492
5378B516251348   TAMEKA       WILLIAMS                 OH          66001675162
53791573772B49   MICHAEL      DELOACH                  CO          90012675737
5379174935B387   DARRYL       STEWART                  OR          44542787493
53791771172B36   XOCHIL       OROZCO                   CO          90012107711
53791A58372B27   DAWN         RICHARDSON               CO          90011850583
53792584872B43   TRAVIS       WRIGHT                   CO          90014535848
537926AA357157   CARLOS       PACKWOOD                 VA          90011036003
53793751172B27   TERRY        MEEKS                    CO          33075947511
53793755A76B75   HERON        CARRILLO                 CA          46026017550
5379389117B372   JUAN         CASTRO HERNANDEZ         VA          81052658911
53793957A5B531   ANTWINETTE   CARRILLO                 NM          90014779570
5379397722B27B   MARK         BECKFORD                 DC          90010919772
53793A1A891534   SERGIO       VILLARREAL               TX          75004040108
53793A42757157   MARIA        ESPINOZA                 VA          90013380427
5379444613B16B   TSEGMAMLAK   MOHAMMAD                 DC          90012774461
53794A86933696   STACEY       KALILOU                  NC          90012880869
53794AA517B46B   MOREOS       VEGA                     NC          90012890051
53795A65461473   DYSTENI      QUINTANILLA              OH          90015050654
53795A8A972B77   STACIA J     HAYNES                   CO          90001590809
53796234172B27   STACY        MERELLI                  CO          33061572341
53796239472B36   MARINA       JIMENEZ                  CO          33035602394
5379628365B399   BLAKE        SMITH                    OR          44577852836
537962A8785928   JALAYA       LILLARD                  KY          67003372087
537971AAA51348   TOMARSHA     HARRISON                 OH          90009031000
53797972A2B27B   DANELY       RAMERIZ                  DC          81025029720
53797A6885B271   TAWANDA      MACHIRI                  KY          90007340688
5379813228B169   LJ           SMITH                    UT          90012941322
53798828672B43   BEAU         PEPLOW                   CO          33012068286
537988A6A91534   JASON        JORDAN                   TX          90013148060
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5379924945B271   RHONDA              COLLINS           KY          90002212494
53799335A5B399   LISA                DUDLEY            OR          44571283350
5379933974B28B   ASHLEY              KNIGHT            NE          90010603397
537996A2651348   PATRICK             GAU               OH          90015146026
5379B272684357   STEPHER             FRIPP             SC          90009512726
5379B565755959   FAUSTINO            JIMENEZ           CA          90010425657
5379B749191552   ALICE               BELLAH            TX          75065457491
537B1117171964   BRYAN               GRIFFIN           CO          90000601171
537B196985B393   RODARIO             HERNANDEZ         OR          90013529698
537B1A7457B46B   MIRIAN              SUAZO             NC          90008790745
537B264425B399   TINA M              HUDDLESTON        OR          90010986442
537B275A88B169   ROBERT              MOLLER            UT          31084887508
537B2881361973   LOURDES             HERRERA           CA          90013298813
537B2889757157   QUATEASE            TANN              VA          90011018897
537B2934272B77   CHERYL              KELLY             CO          33015059342
537B3198972B77   AARON               FRESQUEZ          CO          90012761989
537B423A657157   CLARENCE            LEWIS             VA          90007972306
537B4628161975   ERNESTO             GONZALES          CA          46078336281
537B48A2672B43   THERESA             GUARDIPEE         CO          90004108026
537B499A74B251   LAURA               OCHOA             NE          90012749907
537B516AA72B43   KIMBERLI            LEWIS             CO          33080891600
537B5322161975   DOMINIC             PACHECO           CA          90013883221
537B548325B393   SASHA               SCHWENK           OR          90014744832
537B56A812B27B   SHARON              MOZO              DC          90009266081
537B593587242B   MATTHEW             GALANTE           PA          90012489358
537B59A645B387   JOSE                ESTRADA           OR          90007219064
537B5A2775B393   DANIEL              SNOW              OR          90014790277
537B5A6A671922   DONALD              HENSON            CO          90009560606
537B651362B27B   DOMINIQUE           FOSTER            DC          90013595136
537B652AA55959   RACHEL              MORAN             CA          90011035200
537B662A472B27   JESSICA             HOWARD            CO          33098786204
537B6663A61975   ROSA                AGUILAR           CA          90004646630
537B6756261973   CRYSTAL             DIAZ              CA          90013717562
537B6893933699   ARTESSA             GARNER            NC          90014658939
537B6985691534   ABBRUZZI            MARIE CLAUDINE    TX          90010809856
537B728755B393   NOUR                MOBARAK           OR          44512652875
537B7369A61975   EDUARDO             MATA              CA          90014093690
537B775885B399   PAYGO               IVR ACTIVATION    OR          90013457588
537B7A25671671   EVELYN              HURRIS            NY          52029790256
537B7AA865758B   MARIA               GARCIA            NM          35553060086
537B8168576B41   ROSALBA             ECHEVERRIA        CA          46041111685
537B81A5A61973   ADAM                NUNO              CA          90001201050
537B8899A61975   CARLOS              ROJAS             CA          46098028990
537B8969771964   ROBERTO             CHILEL            CO          90014739697
537B915AA91895   JODY                MONTEILH          OK          90013931500
537B9231291534   GREGORIO            RAMOS             TX          90006402312
537B9249284373   COREY               RICE              SC          90009042492
537B9312757157   FRANKLIN            QUINTANILLA       VA          90013363127
537B94A7372B43   LILIANA             GARCIA            CO          90015154073
537B96A7572B97   ROBERT              ICASIANO          CO          90008206075
537B9A45661973   MICHELL             SOUICE            CA          90014540456
537B9A8865B387   LINDSEY             WARREN            OR          90014730886
537BB146455959   RAYMOND             HASSAN            CA          48075561464
537BB161991895   JAMES               WEISS             OK          90014171619
537BB199372B36   OKSANA              AICOLINO          CO          90010471993
537BB798151388   TERRY               ASHER             OH          90001067981
537BB82AA85928   EVAN                TERRANCE          KY          90014788200
537BB9AA772B27   JOSE                QUIROZ            CO          90000569007
5381138555B523   ERIC                ROSAS             NM          90010003855
5381171847B46B   NORMA               CONTRERAS         NC          90015137184
53811A7665B393   DEMETRIA            MARRION           OR          90009740766
538122A6671964   CARLOS AND MARTHA   AGUILAR           CO          90014722066
5381235A155959   JOSEPH              MENDEZ            CA          48038263501
53813252872B77   LISA                PEREZ             CA          33080072528
5381348888B169   ALYSSA              TRACY             UT          31096044888
53813853A72B43   JOSHUA              PARKS             CO          90010768530
53813A19A91988   BYANCA              ARAUJO            NC          90004270190
53813A58785941   ASHLEY              SMITH             KY          90011590587
538142A6671964   CARLOS AND MARTHA   AGUILAR           CO          90014722066
53814315972B49   HENRY               OZWALD            CO          33034143159
538149A9651348   LUIS                HERNANDEZ         OH          90000909096
538151A7531428   TERESA              CANNON            MO          90012311075
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538152A6671964   CARLOS AND MARTHA   AGUILAR           CO          90014722066
5381577495715B   DAMIAN LESTER       BRATHWAITE        VA          90011367749
5381588A151348   TIM SR              CHARLES           OH          66029188801
5381599765B531   ROSALVA             RAMIREZ           NM          90008049976
53816495372B36   DEBBIE              MUSIC             CO          33016434953
5381667312B27B   BRENDA              FUENTES           DC          81072996731
5381726A691534   ISMAEL              GONZALEZ          TX          90014092606
53817431824B42   EDWIN               LOPEZ             DC          90013054318
53817725224B42   EDWIN               LOPEZ             DC          90010577252
53817781A55959   ALEX                MALDONADO         CA          90013937810
5381779552B27B   DAMIEN              DEMUS             DC          90015087955
5381792595B393   MICHAEL             AMBURN            OR          90010459259
53819734A7B46B   ARMANDO             SOLIS             NC          90013997340
53819A7484B28B   SHELLY              MOSEL             NE          90011670748
5381B165161975   CRISTINA            ZARAGOZA          CA          90013091651
5381B3A5971922   EVANGELINE          GONZALES          CO          90010563059
5381B68972B27B   LYNN C              BARGANIER         DC          81037836897
5381BA47A57157   CARLOS              PEREZ             VA          90008960470
538212A2872B97   SAMUEL              NEWBERRY          CO          90008812028
5382134A82B27B   DOMINIQUE           MOTEN             DC          90002793408
5382164115B543   BEATRICE            MENAFRO           NM          35040136411
5382339A885928   SHIRLEY             GILLIAM           KY          90015113908
53823A57961973   MARIA               NUNEZ             CA          46050140579
53824464A72B67   JESUS               CASTILLO          CO          33035534640
5382452797B358   NURIA               ADBELLA           DC          90013565279
5382454586194B   PATRICIA            CONNERS           CA          90012085458
53824A37A91534   ANTONIO             FLORES            TX          90006050370
53824A93492B26   DAVID               OROZCO            WI          90015380934
53825315998B2B   ROVERINA            OSORIO MOLINA     NC          90012183159
5382543A757157   ILIANA              GRIJALVA          VA          81045664307
538254A257B46B   ADRIAN              CROWDER           NC          90014564025
538255A928B169   BILLIE              STANFIELD         UT          31079875092
538256A475B271   BETTY               COWTHON           KY          90005666047
53826548272B88   CLARA               PAYNE             CO          90005845482
53826629972B43   LISA                HUMBLE            CO          33036006299
538266AA74B588   BENJAMIN            MOORE             OK          90007356007
53827257672B27   NANCY               GUARDADO          CO          90004182576
53827431172B78   ANGELA              GARRIDO           CO          90008424311
53827577A91895   CHARLES             BOONO             OK          90003345770
53827653672B77   MARIA               BARAJAS           CO          33046376536
5382774155B387   BINYAM              GHEBRHIWOT        OR          90002147415
53828242772B43   LUIS                CASILLAS          CO          90014052427
5382831A651348   JOSE                JARAMILLO         OH          90008553106
53828497572B49   DANE                KAKEDA            CO          90011604975
53829684836B86   ALONZO              MIGUEL            WA          90011046848
538296A2761973   CARLO               ZAVALA            CA          90012946027
5382B143671964   KRISTINA            HANSFORD          CO          32094011436
5382B379A77574   SIFREDO ANTONIO     POLANCO           NV          90009763790
5382B58AA72B67   AMOS                TRUJILLO          CO          90003145800
538314A9A76B75   HUNTER              BIMSON            CA          90012204090
5383158A172B77   JOSHUA              BECKIUS           CO          90006005801
53831661A33699   VENITA              MCGILVERY         NC          90012146610
53831671772B43   BOBBY               BARDON            CO          90014496717
53832161698B27   CHARLEKA            HANNON            NC          90013591616
5383283828B169   RACHEL              BARNETT           UT          31089538382
5383351755B393   DOMINGO             CARMONA           OR          90013955175
53833647876B75   JOSE                CHAVEZ            CA          90007656478
538339A7A8B169   CHERISH             DURAN             UT          90014709070
5383426545715B   EDWAR               LOPEZ             VA          81043542654
5383435215B531   JACKLYN             VALLEJOS          NM          35078143521
53834577A91535   JAVIER              NUNEZ             TX          90002395770
5383528575715B   DAMARIS             REYNA             VA          90002832857
5383547327B46B   TISA                YOUNG             NC          11013604732
538356A475B399   JOSEPH              YBARRA            OR          44583356047
53835843272B49   ESMERALDA           ZUBIA             CO          90004258432
5383591162B235   COITE               MANUEL            DC          81060039116
53836317A72B27   IDRIS               ELDURSI           CO          90008803170
538367A735B531   MARTHA              ESPINOSA          NM          35064917073
5383725A191895   CARLA               THOMAS            OK          90008282501
5383743775B531   DELMAR              TENORIO           NM          90005264377
5383772575758B   SAMANTHA            GALVAN            NM          90013977257
5383787892B27B   LINDORA             LEWIS             DC          90009638789
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53838221572B43   CHRISTIANE   HUNTER                   CO          33033952215
53838A57791534   MARIA        NAVARRO                  TX          90000230577
53838AA5A61973   JESUS        NAVARRO                  CA          46001220050
5383956335B393   CASEY        PETERSON                 OR          90015095633
53839796372B49   NAOMI        WADLEY                   CO          90011497963
53839A2768163B   JOSEPHINE    CHI                      MO          90005500276
5383B24122B27B   JOSE         ALFREDO                  DC          81016492412
5383B243771964   MELISSA      HARRIS                   CO          90014722437
5383B282591534   JAVIER       RAMIREZ                  TX          90009512825
5383B631361973   ELENA        RAMOS                    CA          90012146313
5383B681672B27   SANDRA       OMID                     CO          33089436816
5383B7A8876221   LOLA         WILLIAM                  GA          90014177088
5384143A861971   JENNIFER     DYER                     CA          46066604308
5384157AA7242B   HEATHER      CRAIG                    PA          90007355700
53841978472B49   VERONICA     NAVARRO                  CO          90013449784
538422A785758B   ARACELI      RAMIREZ                  NM          90013182078
5384235A133696   TRACI        SIMMS                    NC          90013813501
53842A3A472B88   ALFREDO      JIMENEZ                  CO          33012550304
53843664A7242B   RACHEL       HART                     PA          90012036640
5384395758B169   JENNIFER     CUNNINGHAM               UT          90014709575
5384397937B46B   TWYNESHA     BROWN                    NC          90013489793
5384449547242B   JOSHUA       RIVERA                   PA          90012774954
538447A145758B   MARIA        NAJERA                   NM          90007307014
538452A1631428   LOUIS        MENARD                   MO          90001272016
5384564115B531   MICHIKO      MOLINA                   NM          90010766411
538456A2172B43   WILLIAM      BABIN                    CO          33069126021
5384728545715B   JOSSELIN     LEON                     VA          90011392854
538477A4557157   SAUTEKIA     SAAHIC                   VA          90011037045
5384795654B28B   TONI         GILTNER                  NE          90003789565
53848667172B27   GALEN        HOFER                    CO          33096086671
5384898425B387   LEIGH        WELCH                    OR          44549079842
5384955395B271   THEODORE     ALVIS                    KY          90002215539
53849594A4B588   RAUL         VASQUEZ                  OK          21563615940
53849AA3472B36   KORSHIE      HART                     CO          90012820034
5384B183386443   NELY         ELIZONDO                 SC          90012661833
5384B38245B393   DONALD       WALTERS                  OR          90003023824
5384BA85872B36   DENISE       PEREZ                    CO          90006870858
5385127235B543   ERIC         DEVORE                   NM          35073202723
53851863672B77   STELLA       ACOSTA                   CO          90000988636
53851A76133696   BRYANT       GORDON                   NC          12071800761
5385234897242B   BEN          COLFLESH                 PA          90003943489
53852936572B49   MONICA       RUIZ                     CO          33084409365
53852A2885715B   JOSE         ARISTADES                VA          90011990288
53853252A72B43   JORDAN       WHISE                    CO          90011402520
5385349815715B   JOSE         MELGAR                   VA          81075714981
53853959572B36   SONIA        PEREZ                    CO          90008599595
53854592576B75   ANTONIO      ROSAS                    CA          90011305925
53855481A5758B   ALVARADO     JUDITH-SARAH             NM          90000744810
5385617615B393   CAMERON      MACLEAN                  OR          90005571761
53856295A84357   YASHIKA      BROWN                    SC          90011202950
53856397172B36   FELIPE       MEZA-LOPEZ               CO          33092783971
53856696872B43   ED           HAMMEL                   CO          33030656968
53856747272B67   VIRGINIA     ZORAYA                   CO          33077767472
53856A66257157   JAMIE        AMBRIZ                   VA          90013420662
5385729225715B   R.P          ROBINSON                 VA          81043562922
53857425172B36   DENISE       HAVENS                   CO          33002114251
5385853297242B   DAVID        SETHMAN                  PA          51091445329
53858648A33696   LEVOND       DANIELS                  NC          90015296480
5385937145715B   CATALINA     GARCIA MARIN             VA          90013633714
5385B157855959   SILVIA       BARRERA                  CA          48095841578
5385B289291534   ESTEBAN      JUAREZ                   TX          75053422892
5385B539561973   JORGE        HERNANDEZ                CA          90002785395
5385B551172B36   DEBRA M      CHRISTENSEN              CO          90014325511
5385B675172B36   DANIEL       MORRIS                   CO          90012336751
5385BA69A33699   DONALD       LANE                     NC          90013960690
53862454776B75   SERGIO       LOPEZ                    CA          90001104547
53862584A61971   COLIN        GUNN                     CA          46082285840
5386262654B28B   SAMIRAH      OSMAN                    NE          26006366265
5386291815B393   KHADIJO      SUFI                     OR          90014459181
538631A6391895   ELIZABETH    SINGLEY                  OK          90011351063
5386396A95758B   NORA         AGUILAR                  NM          35520979609
53863A65385928   TIMOTHY      POWEIL                   KY          90014330653
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53864319272B49   MATILDA      MARQUEZ                  CO          90015313192
53864366A3B343   GRAIG        MALAN                    CO          33016793660
5386483785B531   ANDREA       MORENO                   NM          90010938378
53864921A5B393   ALEXANDER    GIANA                    OR          90014459210
53864A4A55B543   DENNY        MUZZEY                   NM          35018990405
53864A84A91534   NICOLASA     NUNEZ                    TX          75016880840
53865297A72B67   DANIEL       FUENTES                  CO          90000582970
53865422872B43   ALEXANDRO    CESENA                   CO          33077104228
5386546494B28B   RACHEL       SMITH                    NE          90011674649
53865A24761975   CESAR        PICAZO                   CA          90007930247
53867128A61975   ADRIAN       TAPIA AVILA              CA          46060041280
53867284A33699   VICENTE      HERNANDEZ                NC          90013092840
53867967572B43   DANIEL       A. SOSA                  CO          33006399675
5386797595B543   MARIA        DE JESUS PEDRAZA         NM          35052879759
5386846318B169   JUANA        GARCIA-ALONSO            UT          90002224631
5386864632B27B   SADE         COOPER                   DC          90001436463
53869263172B43   CESAR        GARCIA                   CO          33089172631
5386929A891895   LEE          ULREY                    OK          90013932908
53869592972B36   MARIANO      CARBAJAL                 CO          90010515929
5386959975B561   STEPHANIE    WIDENER                  NM          90009905997
5386B115633696   JENNIFER     DUNCAN                   NC          90013891156
5386B24197242B   JIM          WAGNER                   PA          51032392419
5386B2AA233696   JENNIFER     DUNCAN                   NC          90012042002
5386B918133699   DARREN       BROWN                    NC          90010999181
5386B9A225715B   CARLOS       CHAVARRIA                VA          90006399022
5387125855B387   WILIS        KEENEY                   OR          90014812585
53871732776B75   ARSENIA      LEGASPI                  CA          90013967327
5387258A776221   JOHNNY       GAY                      GA          90014595807
5387276A561973   MARIA        MIRANDA                  CA          90007417605
53872AA8561975   MICHELLE     AYALA                    CA          90012930085
53873271672B49   TERE NANCY   TORRES-CARDENAS          CO          33020472716
5387373758B169   JERRY        TUTTLE JR                UT          31046187375
53873AA7998B2B   WILSON       REYES                    NC          90005870079
5387411285B283   LEE          ERNSPIKER                KY          68006641128
538746AA25B393   AARON        GARCIA                   OR          90008696002
53875317A61971   LIDIA        CUNNINGHAM               CA          90012163170
53876795A91895   KAYLONI      COVINGTON                OK          90008427950
5387743887B46B   PAULA        FLORES                   NC          90012094388
53877796A2B27B   OSCAR        PINO                     DC          90013457960
53877966172B36   MARK         PRINCE II                CO          33093509661
53877A1A33B381   MICHELLE     COREY                    CO          33048960103
53877A3815B387   LUCINO       PEREZ                    OR          44515130381
53878772A5B271   RACHEL       PHIPPS                   KY          90002217720
53879358876B75   JASON        BUTLER                   CA          90007663588
53879456772B77   GERALD       TIMMONS                  CO          90010554567
53879816724B7B   TINA         DOUGLAS                  DC          90011508167
53879AA3161971   TRAVIS       BARRER                   CA          90015180031
5387B171833696   ANDREA       TOWNSEND                 NC          90014171718
5387B52A15B393   KOREY        LIGATICH                 OR          90013955201
5387B99755B387   CASSIDY      NORTH                    OR          44583559975
5387BA11561975   CRISTOBAL    MORALES                  CA          46073650115
5387BA85A93724   VINCENT      PEERY                    OH          90011600850
538812A673B387   PAUL         TULLY                    CO          33049202067
53881932A76B75   ENRIQUTA     SALGADO                  CA          90003829320
5388211352B27B   REMUS        HERBERT                  DC          90007991135
5388232A35B531   DIEGO        FIGUEROA                 NM          35086483203
53882647A5715B   JACQUELINE   SHELTON                  VA          81010926470
5388338632B27B   SAMSON       AKINYELE                 VA          90010753863
5388348634B28B   LAURI        HOBBIE                   NE          90001174863
538835A3661973   MELISSA      RUIZ                     CA          90013115036
5388484A972B49   AMANDA       ANDERSON                 CO          90013438409
53885769372B27   MICHAEL      BOND                     CO          33004657693
5388622635B393   JOHN         BARKER                   OR          90010312263
5388695A25713B   GABRIELA     HERNANDEZ                DC          90007599502
5388697178B169   BRIAN        ELLSWORTH                UT          90014709717
53886A56572B88   KAITLYN      LAST                     CO          90003190565
53886AA8155959   GABRIEL      SUBIA                    CA          48049540081
53887213172B43   MARIA        LOPEZ                    CO          90015272131
538873A3A72B88   ALBERTA      BARRANCO                 CO          33017013030
53887A46161975   CARL         KEYS                     CA          90001390461
538883A817B46B   RONNIE       HARRIS                   NC          90005013081
53888486476B75   OLGA         CANO                     CA          46068244864
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538884A227242B   ROSA              KUSSEROW            PA          90012164022
53888A13672B43   LASHELLE          LEAKS               CO          33069940136
5388935A17B372   JOSE              SALMERON BENITEZ    VA          90000903501
5388949A35758B   RAYMOND           TRUJILLO            NM          90012494903
5388964A672B43   JAMES             WILSOON             CO          90013916406
53889A43261971   FEDDY             NIETO               CA          46071900432
5388B15493B387   GLORIA            ROMERO              CO          33064551549
5388B178972B27   CHRISTOPHER       BLUMHAGEN           CO          90014361789
5388B2A8771964   JOHANNA           POMPA               CO          90007192087
5388B518171964   JOHANNA           POMPA               CO          90012895181
5388B869A76B75   MARIA             SALAZAR             CA          90014188690
5388BA53761975   APRIL             HETH                CA          90009080537
5388BA99891534   LUPE              SANCHEZ             TX          75089880998
538912A9933696   TOBIAS            DARDEN              NC          90015022099
53891545A2B27B   VICTOR            JONES               VA          90013145450
5389171245B393   JOSH              ANDERSON            OR          90012967124
538917A6931428   TALISA            SAFFOLD             MO          27547417069
538919A3372B43   JACKIE            VIGIL               CO          33003959033
5389268255758B   OBDULIO           PEREZ               NM          90007126825
5389294374B28B   BRENDON           SMITH               NE          90010609437
53892A66961975   PEARL             AYON                CA          90007930669
5389411A257157   DUSTIN            JACKSON             VA          90014471102
53894242972B49   BLANCA            CEPEDA              CO          90014752429
5389424A23B372   RUBEN             MARTINEZ            CO          90011832402
5389492A37B46B   RAKECIA           BLOUNT              NC          11006869203
538951A1633696   DANIEL            SMITH               NC          90005611016
5389562A624B51   BARNES            SADE                DC          90010886206
5389629344B28B   BILLY             HUFF                NE          26066842934
53896956A2B27B   ANGEL             HERRERA             DC          90013249560
538971AA82B228   CARLA             MEYERS              DC          90012961008
53897699472B27   JOAN              AGUILAR             CO          90015096994
5389832453B388   LISETTE           GONZALES            CO          90007673245
5389912337242B   GINA              STOKES              PA          90012141233
538995A2791895   RACHEL            SCOOPER             OK          90012855027
5389986A772B36   DRISZELLE         RICHARDSON          CO          90013868607
5389989135B531   VANESSA           BENALLY             NM          90014788913
5389B19655B387   CESAR             MARTIN FRANCISCO    OR          90014191965
5389B414672B49   RODNEY            CRUTCHER            CO          33025544146
5389B632972B43   DAVID             FIMBRES             CO          33008686329
5389B672661971   ESMERALDA         EL CANTERRA         CA          90000636726
5389B72A136165   EUSEDIA           GURRERO             TX          90002357201
5389B954471964   AARON             LUEUANO             CO          90012119544
5389B998261975   RAFAEL            ORTIZ               CA          90013119982
538B1249872B97   ISAAC             SANTIAGO VIGIL      CO          90001132498
538B1831661975   ANDRES            VASQUEZ             CA          90014748316
538B187118B169   TIFFANY           BARFUSS             UT          90014688711
538B2258461971   RAY               RICHMOND            CA          46006832584
538B22AA491895   MARIA GUADALUPE   FLORES              OK          90013932004
538B251695B399   CHRIS             MILLER              OR          44551135169
538B2699872B88   ANITA             MANSOURI            CO          33017006998
538B2791A76B75   MENDOZA           JUAN MANUEL         CA          90002767910
538B3169161975   JORGE             LOAIZA              CA          46062841691
538B361725715B   JOSE              ALEGRIA             VA          81043496172
538B365315B387   DESHADEN          SMITH               OR          90005196531
538B4483357157   HANNAH            AFRIYIE             VA          90013964833
538B4855172B88   IVONNE            AGUILAR             CO          90006888551
538B4A3AA33696   SHAINA            SIMMONS             NC          90014500300
538B532825B399   EMILY             KINSEY              OR          90005123282
538B556A272B27   DAVID             GRAY                CO          33009815602
538B5621991895   ANDREW            WALKER              OK          90015526219
538B5649772B36   REGINA            PROFFIT             CO          90012856497
538B573515B531   LORI              BANUELOS            NM          35090237351
538B574A276B75   SEBASTIAN         DOMINGO             CA          90015107402
538B588317B46B   CLAUDIA           MARTINEZ            SC          90013528831
538B5981861973   LYNN              SMITH VIRGINIA      CA          90010309818
538B5987991B79   CECIL             JOYE                NC          90009689879
538B5A18743569   CANDACE           ROGERS              UT          31008870187
538B5AAA793724   VIVIAN            BILLINGSLEY         OH          64536100007
538B6216533696   LASHAI            AUSTIN              NC          90014942165
538B673525B234   BIBIDSAN          SANCHEZ             KY          90010707352
538B6813161973   BLANCA            GOCHICOA            CA          46098098131
538B699A872B49   CATRINA           WINTERS             CO          90004029908
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538B69A265B531   RENTERIA      SUSANA                  NM          90001829026
538B718627242B   PAULA         STEVENS                 PA          90012441862
538B727545758B   TODD          SALAS                   NM          35590482754
538B761725715B   JOSE          ALEGRIA                 VA          81043496172
538B7865233696   PEGGY         SMITH                   NC          90012488652
538B7A88161973   ALAN          STRADA                  CA          90013860881
538B8148161971   CHRISTY       OLDHAM                  CA          90014831481
538B829895758B   DELILA        MELENDREZ               NM          90010882989
538B921117242B   KATHRYN       SHUPE                   PA          51067682111
538B928682B27B   RICKY         SHEPHERD                MD          81045732868
538BB37A272B43   MICHELLE      REYES                   CO          90012863702
538BB413561971   CATRISHA      WILKINSON               CA          90010624135
538BB439372B27   BERTHA        HERRERA                 CO          33013474393
538BB914447833   TAVIA         FORD                    GA          90010999144
538BB923172B36   ANA           PENA                    CO          90012679231
5391136A357157   VERONICA      LEMUS                   VA          90011113603
5391148314B28B   ANGELA        COLEMAN                 NE          90008334831
539121A1A72B36   JESSICA       TRUJILLO                CO          33052481010
53912A45181678   HERMAN        PENIX                   MO          29068840451
53912A5934B588   DEBBIE        CRESPO                  OK          21516420593
53913A92976B75   JUANA         ENRIQUEZ                CA          90003130929
53914231272B88   PHILLIP       KOCER                   CO          90010542312
539146A885758B   CYNTHIA       MARTINEZ                NM          90002606088
5391473117242B   LORI          VENTURELLA              PA          51082367311
53915141172B97   KENNETH       GILDOW                  CO          90010971411
53915272572B36   HAYDEE        MARTINEZ                CO          33052482725
53915749872B27   PRINCESS      KAMARA                  CO          90006397498
5391583655758B   DORA          NIETO                   NM          35587178365
5391681795B393   DAVID         SCOTT                   OR          44587968179
5391692A385928   BETTY         MEECE                   KY          90011279203
539176A785B271   MICHEAL       BRIGGS                  KY          90012196078
5391821425758B   TRAVIS        POWERS                  NM          90011392142
53918A3355B393   STEPHANIE     WILLCOX                 OR          90000720335
53919126772B43   BLANCA        ABALOS                  CO          90012691267
539191AA17242B   JOHN          WILTROUT                PA          51046241001
5391928955B399   FREDY         PALOMO                  OR          90007952895
53919753772B49   FREDDY        ALVAREZ                 CO          90012757537
53919A3384B28B   STACIA        FLURY                   NE          90011320338
53919A43457157   MARIA         FUENTES                 VA          90014330434
5391B126443569   WALTER        BROWN                   UT          31034571264
5391B15848B191   DAVID         LOVATO                  UT          31002401584
5391B328372B27   ROBERT        GARDNER                 CO          90012733283
5391B333172B43   JOI MARIE     COOPER                  CO          33056823331
5391B39675B399   DIANA         BLAINE                  OR          90014473967
5391B416771964   CHELSEA       MANNING                 CO          90007194167
5391B4A9791534   IDA           ARAUJO                  TX          90011574097
5391B618272B77   RUDY          CIFUENTES               CO          90005986182
5391B6A347242B   RENNE         JONES                   PA          51051416034
5392159488B169   TONY          GAGLIO                  UT          90000845948
53922386872B36   ANGEL         MADDEN                  CO          90003933868
539223A748B169   JUDITH        GONGORA                 UT          90014713074
5392294A684357   CHRISTOPHER   CHAPLIN                 SC          90011339406
5392324854B53B   PATRICIA      KERLEGON                OK          90012392485
53923768372B43   JESSICA       OLIVAS                  CO          90008647683
53923993572B36   MARIA         MUNOZ                   CO          33023209935
539241A4372B77   EMMANUEL      NSHIMIYIMANA            CO          33063211043
539243A748B169   JUDITH        GONGORA                 UT          90014713074
53924621676B75   ELMER         VENCES                  CA          90013056216
53924689A57157   SHEKU         KONNEH                  VA          90012686890
5392471787B46B   JONATHAN      ALVAREZ                 NC          90005477178
539251A495B271   JASON         CURRY                   KY          90002221049
5392563687242B   ALYSSA        THORNTON                PA          90015326368
5392587235758B   MARTHA        CASTANEDA               NM          35593588723
5392676A957157   CANDIDA       SUSANA                  VA          90014937609
53926A59A91534   JOSE          PASTRANA                TX          90003490590
53927A3154B28B   SHANNON       JANIKE                  NE          90011680315
5392849AA61571   ASHLEE        SWIFT                   TN          90012664900
539288A7A5715B   TEMEKA        VALENTINE               VA          81013938070
5392912845B393   ANTHONY       BEST                    OR          90013131284
53929767A91895   BRIAN         WILDER                  OK          90012777670
5392B14622B27B   HECTOR        CONTRERAS               DC          90013391462
5392B6AA87B46B   BALBINA       BASILIO                 NC          90014046008
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5392BA78491534   ERIKA             MORALES             TX          90011900784
5393118875B531   BRENDA            RAEL                NM          90012441887
5393145915B399   JULIAN            CHICH VENTURA       OR          44591324591
5393173A372B49   AHJAHNAE LEHSAE   MARTINEZ            CO          90012387303
53931776A91895   AUSTIN            BARRETT             OK          90012357760
53932A8315758B   ROSEMARY          MOREN               NM          90005350831
53932A8664B543   ARLINDA           WILKES              OK          90013420866
5393346615B531   JUDY              STEEL               NM          35056724661
53933481872B43   ROSALIA           AGUIRRE             CO          90012174818
53933561872B77   EMMANUEL          RODRIGUEZ           CO          33083315618
5393413318B188   ELIZABETH         BENNETT             UT          90008971331
5393449AA72B67   PRINCE            BUKASA              CO          33035554900
5393456A461973   VAU               SILIGA              CA          90004715604
53934742A84357   NICOLE            SMALLS              SC          90011567420
5393483368584B   FAY               SUELTZ              CA          90003498336
5393493855B393   ANDREW            SURYNT              OR          90012979385
5393532725B93B   JOSE              MESIAS              WA          90015483272
53935545672B43   ANDREA            CASTILLO            CO          33092665456
53935A1268B169   ADAM              MATTHEW             UT          90010440126
5393681745B399   DON               JOHNSON             OR          90014308174
5393712885B393   AMY               BRISTOW             OR          90008381288
53937A39455959   GILBERT           HERNANDEZ           CA          90012640394
53938773A61973   CHRIS             BERRY               CA          46051827730
5393893A284357   HAYWARD           THROWER             SC          90008369302
53938981A61971   LISA              BELROSE             CA          90013999810
53939727172B43   JAIME             ANCHONDO            CO          90006797271
539398A6561975   SHEAKIA           EDWARDS             CA          90014468065
53939A5235B399   TIMOTHY           ARCHIBALD           OR          44530660523
5393B543272B67   ANNETTE           TRUJILLO            CO          90003955432
5393B88562B27B   JOSE              ALVARDO MARTINEZ    DC          90007688856
5393BAA3833696   KIMBERLY          CUSHMAN             NC          90013600038
5394126325715B   ALBERTO           VILLANUEVA          VA          81082482632
5394291145B531   CHRISTINA         HERNANDEZ           NM          90000309114
53942A9A78B356   SHANAVIA          MCFADDEN            SC          90013940907
53943891772B36   MARLENE           RODRIGUES           CO          90000238917
539442A8A91534   ANNA              RAMIREZ             TX          75053062080
53945857972B49   GUADALUPE         MAR PARRA           CO          90009698579
5394588A172B25   DAVID             KELLEY              CO          33050898801
539458AA34B28B   KAKA              KUONY               NE          90011058003
53945A18133696   PICHARD           THACKER             NC          90000170181
53946334676B75   MARIBEL           PADILLA             CA          90014583346
5394746435B328   ROBERT            SCHNEIDER           OR          90013754643
5394766565B393   IAN               MORGAN              OR          90008296656
53948496A33696   MUSA              SAVAGE              NC          90011214960
53948523172B77   LAUREL            ROBERSON            CO          33048405231
5394861287242B   MICHELE           JONES               PA          90007996128
53948612A51348   DONNA             STIDHAM             OH          66074976120
5394879AA5B387   BARBARA           KING                OR          90009917900
53948879A5B393   MARIA             MATIAS MATIAS       OR          90013108790
53949A4A891895   JERAMY            MOREY               OK          90008120408
5394B34A15B531   AMY               GARAY               NM          90012623401
5394B366591534   ARIANNA           SALAZAR             TX          90014013665
5394B498972B43   ALMA              RASCON              CO          33027424989
5394B82717242B   TERRI             JORDANHAZY          PA          90011308271
5394B98A88B169   EPPY              HERNANDEZ           UT          90014289808
5394BA21693724   REGINA            BROOKS              OH          90001380216
53951331672B77   SONY              GOMEZ               CO          33072293316
53951618A5B399   LARISA            KURMAYEVA           OR          44547446180
53951AA925B393   KRYSTAL           DUFF                OR          90014920092
5395349914B588   KANISHA           ORANGE              OK          21503124991
53953A5177B46B   DESHIA            STARKES             NC          90007530517
539544A5261971   ABEL              ESCOBAR PEREZ       CA          90015124052
539553A5676B75   ALISHA            LIRA                CA          90004923056
539556A645B244   JOHN              REICHLE             KY          90012856064
53956962224B7B   EVER              CASTILLO            VA          90012119622
5395761748B169   NATALIE           SMITH               UT          90014716174
5395762A685928   DESIREE           WEARREN             KY          90008506206
539576A755B399   ZAIRE             HAMILTON            OR          90013906075
53958688A72B27   JOSEPH            HEIDENREICH         CO          33010066880
5395899A77B46B   JUDY              MOUA                NC          90012109907
53959A21172B27   CARLOS            VILLALOBOS          CO          90009640211
53959A63943569   AMBER             RODRIGUEZ           UT          90008510639
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5395B11AA5B399   KRISTIN      SALER                    OR          44540611100
5395B42345715B   MABEL        RAMOS                    VA          90002024234
5395B61748B169   NATALIE      SMITH                    UT          90014716174
5395B869661971   FRANK        NEESE                    CA          90012488696
5396182535B393   JAMEENA      WEST                     OR          90012018253
539618A4376B75   YADIRA       GUZMAN                   CA          46084958043
539621A6761973   RENE         NAVARRO                  CA          90014831067
53962352A8436B   SHEYENNE     BRINSON                  SC          90004493520
5396253715715B   JOSE         PEREZ                    VA          90006745371
53962929A93724   CHRISTINE    HOLMAN                   OH          64582289290
53962A39A62322   HUMBERTO     TORRES                   AZ          90014050390
5396332755B531   JENNIFER     POSTON                   NM          35091483275
5396372615B387   FERNANDO     MARTINEZ                 OR          90010127261
53963917772B43   MICHAEL      BRADFORDS                CO          90012599177
5396414625B387   DANIEL       WHEAT                    OR          90011191462
539655A8172B27   JENNIFER     JACOBS                   CO          33078505081
53965764A51348   PAMELA       MARTINEZ                 OH          90009637640
5396583477B46B   NANCY        MAYE                     NC          90005898347
53965AA9257157   TERRI        CHADE COLLINS            VA          81046230092
539676A2272B49   ANDREA       HERRERA                  CO          90010666022
5396831A472B49   HOPE         WATKINS                  CO          90002313104
539684AAA4B28B   BRITNEY      HOOD                     NE          90012814000
53968724172B27   AMANDA       WATERS                   CO          90007367241
539687A5361973   KARINA       CRUZ                     CA          90013167053
53968A2745B393   GOYO         MORENO                   OR          90011130274
53969796776B75   ANNIE        PEREZ                    CA          90013077967
5396994675758B   SOCORRO      CABALLERO                NM          90008189467
5396B71785758B   GEORGE       CARDENAS                 NM          90012597178
5396B72AA72B67   ELIZABETH    GONZALEZ                 CO          90007297200
53971385498B2B   NICOLE       TILLMAN                  NC          11077903854
53971432476B75   YOLANDO      ORTEGA                   CA          90013654324
53971A2A75B387   JOANNE       BEAUDOIN                 OR          44572080207
5397252325B393   GILBERTO     CANCHE CASTILLO          OR          90013955232
5397273133B387   STEAM KING   INC                      CO          33028267313
5397286117B46B   DAIZHA       DANCY                    NC          90014758611
53973155A91895   THOMAS       NEWBERRY                 OK          90011871550
5397364872B27B   TAYLOR       CARRORLL                 MD          90015526487
5397421915B393   JOSE         ALVARADO                 OR          44516022191
5397431865758B   MARIA        LOPEZ                    NM          90008053186
53974328A51348   LETICIA      KELLER                   OH          90013833280
5397466847B46B   MICHAEL      WILLIAMS                 NC          11057826684
5397483962B27B   CAMMEY       TAYLOR                   DC          90015188396
5397499535B399   JOSHUA       LEPOIDEVIN               OR          90010899953
5397558978B165   BROOKE       JENSEN                   UT          31073615897
539755A964B28B   BRITTNEY     PHILLIPS                 NE          90013595096
5397563332B27B   JOE          SIMTH                    VA          90012756333
53975763172B27   WOODY        SEBASTIAN                CO          33039567631
53975767672B49   PATSY        THEISEN                  CO          33008207676
5397588375715B   KELECHA      NABIL                    VA          90001848837
53976289972B67   DOLORES      MENNING                  CO          33035562899
5397636A176B75   EDWIN        BELL                     CA          46039063601
5397659925B531   RONNIE       REUST                    NM          90003735992
5397743775758B   JAIME        QUINTANA                 NM          35587484377
5397758815B283   DANIEL       VARGAS                   KY          68082865881
53978424972B27   MARIO        LAMAS                    CO          33034684249
5397877165B531   JOESPH       BRITT                    NM          90008957716
539795A2757157   TOMMY        HOLIDAY                  VA          81048625027
5397B683561973   SCOTT        MARTINEZ                 CA          90014026835
5397B77827242B   TAWNIE       BICKUS                   PA          51054397782
5397B98685B393   TOMAS        SAQUIC LARES             OR          90012119868
53981283A55959   LUISA        ANDRADE                  CA          90014632830
53981294A72B43   ALICIA       MCCARTY                  CO          90010532940
5398271337B46B   NATASHA      GIVENS MONROE            NC          90000717133
5398278145B531   JAMAL        EVERAGE                  NM          90010697814
53982888772B36   RICARDO      GONZALEZ                 CO          33087508887
53982A8262B234   RONNIE       MCLEOD                   DC          90005660826
53984312A72B67   JOSE         ORELLANA                 CO          90000583120
53984891772B36   MARLENE      RODRIGUES                CO          90000238917
53984898572B36   FORREST      GARRISON                 CO          90012988985
53985549972B43   JENNIFER     CASADOS                  CO          33062955499
53985598572B77   DONNA        LACEY                    CO          33058715985
539859A9961975   JONETTE      MINISEE                  CA          46035919099
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5398611625758B   VALERIE       ACOSTA                  NM          35590041162
5398658165B543   GARCIA        ELIZBETH                NM          35057105816
539868A5472B36   BRENDON       JOHNSON                 CO          90012348054
53986A12357157   KEELA         PRESTONSOTO             VA          90014920123
53986A47561973   RAY           DYER                    CA          90012160475
53986A54272B67   MICHAEL       PANNELL                 CO          90004570542
53986A9A67242B   TANYA         ARTMAN                  PA          90013370906
53987194972B43   NATIVIDAD     VELEZ                   CO          33087871949
53988732172B27   JOSE VICTOR   ALMANZA                 CO          90010787321
5398882A231428   CASSIE        WILLIAMS                MO          90002408202
53988A77572B67   LUIS          MEJIA                   CO          33089990775
5398911745B399   JOSE          SALAS                   OR          90013821174
5398977295B531   HEATHER       GLASSCOCK               NM          90014967729
53989A8945758B   ARREY         NOVAMARIE               NM          90003050894
53989A91172B43   SHON          SELLS                   CO          33008690911
5398B3A5771964   PEDRO         VALLE                   CO          90013023057
5398B43965B531   MARY          LUJAN                   NM          90014244396
5398B6AA191895   CHRISTINA     PUMA                    OK          21084676001
5398B861233696   ANTHONY       GOLDEN                  NC          90004888612
53991112A91895   DAVID         BRUCE                   OK          21023721120
53991115276B75   FABIOLA       ONESTO                  CA          90014341152
53991315A86B84   JOSHUA        PICARD                  CT          90014973150
5399154A25715B   GWYNETH       ANTONLINA               VA          81067535402
539916A385B393   CAROL         FULTZ                   OR          90012966038
5399178648B169   NICOLE        ALARID                  UT          90014717864
53991A41561975   BRITNEY       MARQUEZ                 CA          90011780415
5399233437242B   ALBERT        CARALLI                 PA          90009533343
5399241A75B271   STEWART       BROWN                   KY          90013754107
53992442A57157   ANNIE         OVALLE                  VA          90005434420
5399434165B531   RUBEN         PONCE RODRIGUEZ         NM          35091053416
53994446A72B27   SANDRA        ESQUIBEL                CO          90003584460
53994834A71964   ALEXIS        SANTIAGO                CO          90008808340
539951A8891534   YAZMINE       VILLEGAS                TX          90014901088
53996114872B88   VERONICA      RUIZ                    CO          33072831148
53997727872B67   GLADYS        LOPES                   CO          90007297278
539979A1184373   MARILYN       GOMEZ                   SC          19021629011
5399867A62B27B   ERIC          COFFEN                  DC          90001716706
5399927688B169   SIMON         D PEREZ                 UT          90013702768
5399947712B27B   MARIA         LOPEZ                   VA          81062194771
5399966135715B   PRIVATE       NOSEZY                  VA          90001076613
5399979165B531   ARMANDO       AGUILA                  NM          35013117916
5399B62275715B   MARGUERITE    THOMPSON                VA          90009296227
5399B735561975   LYDIA         VALDEZ                  CA          46035917355
5399B8A5691534   JAZMIN        SALCIDO                 TX          90007108056
539B1229861973   LIMON         RAFAEL                  CA          46007802298
539B1446533696   KALLISHA      GIBSON                  NC          90011214465
539B191A97B365   LOIS MAIDEN   MCCRAY                  VA          90007089109
539B1A69851354   ASHLEY        HIBBARD                 OH          90010360698
539B1A75776B75   DULCE         ARELLANOS               CA          90009880757
539B267485B399   TRACY         FLETCHER                OR          90010566748
539B2A33461973   ISMAEL        VALENZUELA              CA          90006210334
539B336295B387   MICHELE       DOREN                   OR          44589943629
539B3691A61975   MARIA         RAMOS                   CA          90013116910
539B369A25B531   CARLOS        GALVAN                  NM          90015336902
539B378A493724   NIELAH        IVERY                   OH          90005567804
539B44A855715B   WILFREDO      ESTRADA                 VA          90009264085
539B466917242B   ETTA          CRAWFORD                PA          51014186691
539B537897242B   TY            HAYDEN                  PA          90015533789
539B545915B393   JULIAN        CHICH VENTURA           OR          44591324591
539B5823584357   DON           MERCER                  SC          90010068235
539B5979361973   ELENA         PEREZ                   CA          90007989793
539B61A6A91534   DALIA         PEREZ                   TX          75000881060
539B641857B46B   TERRON        STEVENS                 NC          90014564185
539B7148372B49   FELIPE        SAENZ                   CO          90001541483
539B7847172B67   PERLA         RODRIGUEZ-SIMENTAL      CO          33081918471
539B7A83191534   OLIVIA        ULLOA                   TX          90007410831
539B7AA3261975   ELIAS         LOPEZ                   CA          90013120032
539B8539A55959   NORMA         SANDOVAL                CA          48011865390
539B8774161975   MICHAEL       WEBER                   CA          46008647741
539B893262B27B   REGINALD      SMITH                   DC          90014599326
539B9274A55959   RUTH          MCDOWELL                CA          90013172740
539B9334A5B387   SEAN          MUNROE                  OR          90010263340
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539B9446A71964   JAMES       HANKS                     CO          32062134460
539B9511561973   ANTHONY     LAMONT                    CA          90013745115
539B9586161966   JAMES       MAIER                     CA          46087115861
539BB23442B27B   FELICIA     WASHINGTON                DC          90014702344
539BB327491895   SHAMEKA     WALKER                    OK          90011523274
539BB47A576B75   JESSICA     MARTINEZ                  CA          90014944705
539BB544755959   VICTORIA    AVALOS                    CA          90014745447
539BB774733699   ANAHI       RUIZ                      NC          90011497747
539BB919861973   ARMANDO     RUIZ                      CA          46016119198
539BB97997B46B   KELLY       LENNON                    NC          90011069799
53B11136A91895   NORMA       SIGLLA                    OK          21002761360
53B1116815758B   GABRIELA    VALARDE                   NM          90013961681
53B11412372B77   MICHAEL     BEDWELL                   CO          90005974123
53B11433833696   OLLIE       WILLIAMS                  NC          12077004338
53B1196747242B   TRACY       BUNRIDGE                  PA          90001509674
53B12219572B36   DON         MURPHY                    CO          90003862195
53B12583976B75   MARIA       GAMINO                    CA          90014215839
53B126A735758B   JESSICA     RAMIREZ                   NM          90001156073
53B129A7461973   FABIOLA     JORDAN                    CA          90005049074
53B1321917B46B   MARCUS      STEELE                    NC          11076012191
53B133A4397125   SHELA       JACKSON                   OR          44595363043
53B133AA161971   JUAN        RUIZ                      CA          90012893001
53B1383144B588   PAYGO       IVR ACTIVATION            OK          90014948314
53B13911543569   DAVID       KELLEIGH                  UT          90012229115
53B13973736165   MELINDA     ALVAREZ                   TX          73596369737
53B14476161971   VERONICA    LOPEZ                     CA          46091284761
53B14825A43569   JENNIFER    GOROSTIETA                UT          31092908250
53B1483A347877   SHARITHA    RIDGEWAY                  GA          90008348303
53B15132271964   STACIE      TSHABALALA                CO          90014631322
53B15176972B49   DONALD      HOLTZ                     CO          90007481769
53B15554A55945   JANIE       ZACARIAS                  CA          90015135540
53B1624395B387   FRED        FANATIA                   OR          44506622439
53B16288472B27   BRENT       ROBERTS                   CO          90012252884
53B1632515B531   ELSA        RUBIA                     NM          90010373251
53B16A66A91534   RICARDO     TOLEDANO                  TX          75001200660
53B17159684357   JESSICA     NECESSARY                 SC          90014601596
53B1731465B531   MARINO      GAUNA                     NM          90014473146
53B1762167B461   JEROME      ALFORD                    NC          90005606216
53B17689A72B49   STEPHANIE   STEWART                   CO          90014376890
53B176A435715B   ZAYDA       FUENTES                   VA          81047346043
53B17926693724   MELANIC     BAKER                     OH          90009879266
53B1795A58B169   RHONDA      GUTIERREZ                 UT          90011069505
53B17A12843569   PAYGO       IVR ACTIVATION            UT          90014410128
53B18196133699   JUSTIN      VALENTINE                 NC          90012181961
53B1875887B431   ALEXIS      CUTHRELL                  NC          90014597588
53B18981A91895   WILLIAM     ROWLETT                   OK          90015059810
53B18A1927B46B   DARYL       SEARCY                    NC          11006200192
53B199A697B499   LASHAWN     NICHOLS                   NC          90008649069
53B1B139661971   LEE ANN     GRIDER                    CA          90011071396
53B1B253172B43   SARAHI      SALCIDO                   CO          90010752531
53B1B51565B543   FRANCISCO   CHAVEZ                    NM          35041275156
53B1B537161973   LAFS        ONE                       CA          46035185371
53B1B599461973   IVAN        MARTINEZ                  CA          90010115994
53B21111193782   MELINDA     DUNCAN                    OH          90008191111
53B21AA5743569   TEA         JESSE                     UT          90005740057
53B2216275B176   LISA        MORRIS                    AR          23013761627
53B2265A433696   RONNIE      FARROW                    NC          90011136504
53B22811955959   MICHAEL     NANEZ                     CA          90010028119
53B22988384357   SHRICE      GWATHNEY                  SC          90014629883
53B22A61A33696   WILLIAM     MCGEE                     NC          90009480610
53B2313754B28B   ADONAI      DONIS                     NE          26065991375
53B2339228B169   MANUEL      ALVAREZ                   UT          31034403922
53B2351A891895   BETHANN     HENDERSON                 OK          21054555108
53B23724876B75   ROQUER      OJEDA                     CA          90011077248
53B23939861971   ESTHER      POPOCA                    CA          90015319398
53B2399887B46B   AMY         RANKIN                    SC          11007529988
53B242A5676B75   REGINA      COPELAND                  CA          90011472056
53B2436258B169   STAR        HERNANDEZ                 UT          90015213625
53B243A345B393   AILEN       ABASEAL                   OR          90003553034
53B244A8772B67   CRYSTAL     MEDINA                    CO          90012084087
53B2468A18B188   MARIA       SANTILLAN                 UT          90007136801
53B24A99972B27   ARLINDA     CONTRERAS                 CO          33018120999
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53B25383A61497   ASANTE                   AIDOO          OH        90014673830
53B25497772B27   MARTHA                   LANDEROS       CO        90005664977
53B25931471964   TABITHA                  WRIGHT         CO        90010439314
53B2639355B399   EVANIS                   MUTOS TORNES   OR        44586883935
53B26531872B77   STEPHANIE                PAPE           CO        33072275318
53B26772157126   EMELIN                   CRUZ           VA        90001297721
53B26844561975   DOROTHY                  PINAULA        CA        90014128445
53B26947891534   ROBERT                   DAVIS          TX        90013799478
53B26985171964   INTERNATIONAL BOARDING   AND PET        CO        90008989851
53B26A7975B387   FULGENCIA                ZURITA         OR        90013240797
53B27332A2B242   SHARELLE                 THIGPEN        DC        90008613320
53B2734A272B88   LARRY                    HELLER         CO        33040463402
53B2751694B521   ANTONIO                  GARCIA         OK        90007005169
53B27539661971   TERRANCE                 RIVORD         CA        46040505396
53B27563972B49   LORENA                   AVILA          CO        33098615639
53B2776145758B   VICKI                    TORRES         NM        35545237614
53B27876461973   LYNETTE                  GALVAN         CA        90010308764
53B285A2372B36   RENEE                    RACICOT        CO        33055685023
53B28623A5B531   PATRICIA                 MADRID         NM        35065086230
53B28734672B67   JOHN                     BRADSHAW       CO        33035847346
53B28815A84357   BRANDI                   PRINCE         SC        90014608150
53B28936198B2B   KAREN                    VEGA           NC        11062649361
53B29836155959   ELEAZAR                  LEMUS          CA        48087328361
53B2B35565758B   FRANK                    ALVEY 3RD      NM        90013383556
53B2B57815B387   MARIA                    MARTINEZ       OR        44513825781
53B2B67354B521   DEBBIE                   TABBR          OK        90008946735
53B2B967676B75   ALYSSA                   SANCHEZ        CA        46019719676
53B31199285928   JACKY                    SILVA          KY        90014711992
53B3125787B385   THOMAS                   MOST           VA        90005632578
53B31444733696   CAROLYN                  ORTEGA         NC        90010054447
53B32442931429   DANIELLE                 FOWLER         MO        90004684429
53B3275875758B   SAMUEL                   VALDEZ         NM        90010437587
53B329A384B588   JACOB                    GARDINER       OK        90001979038
53B33369A5B531   TIANA                    RODRIGUEZ      NM        90013203690
53B33695444B91   PHILLIP                  LONG           OH        90014106954
53B33917A91534   CARLA                    ISAURA         TX        90008459170
53B3398195B387   HAZEL                    HAYES          OR        90001079819
53B343A2133699   FREDRICA                 BANKS          NC        90015273021
53B346A8571964   ANA                      SERRANO        CO        90013056085
53B34918972B36   ANN                      PORCELLY       CO        90015149189
53B35222A61971   OLEY                     JONES          CA        90015032220
53B35462572B77   ROSI                     ZACEVISH       CO        33048274625
53B3566285B531   MICHAEL                  SON            NM        90002646628
53B357A587B46B   ONUQUA                   CHISOLM        NC        90003747058
53B3583925715B   GUSTAVO                  GAMEZ          VA        81082698392
53B3598385758B   CAROLYN                  SMITH          NM        90013469838
53B36435A72B27   ALMA                     ROSALES        CO        33087154350
53B36441743569   NICK                     SHARP          UT        90001884417
53B36A3A75B393   ROMERO                   SANDERS        OR        90002930307
53B37589591895   KEVIN                    CAVE           OK        90013925895
53B37725255959   ALEXIS                   SANCHEZ        CA        90013937252
53B37869471964   LORENA                   LOA            CO        90014718694
53B37984824B7B   PATRICIA                 CANADY         MD        90004369848
53B38452198B2B   ADRIANNE                 SIMMONS        NC        90008614521
53B38591491895   LAURA                    LOWE           OK        90013925914
53B3873175758B   TANIA                    GOLDEN         NM        90009687317
53B38771291534   ROCIO                    DOMINGUEZ      TX        90014067712
53B3889887B46B   KEMANI                   WALKER         NC        90014308988
53B38929A72B49   GEORGE                   AMAYA          CO        90015199290
53B38A9245B393   TEISA                    FUKOFUKA       OR        44548550924
53B391A6991587   JORGE                    SAENZ          TX        90013481069
53B3922545715B   JUANA                    TORRES         VA        90015102254
53B3927485B387   ELISA                    MARTINEZ       OR        90013402748
53B39425333696   CYNTHIA                  HORTON         NC        90012074253
53B39525642335   TYRON                    SUTTLES        TN        90011415256
53B39A18472B43   SHANELLE                 OPPERMAN       CO        90005270184
53B3B298833669   BLANCA                   CHICAS         NC        90011512988
53B3B921461975   ELIZABETH                HERNANDEZ      CA        46089659214
53B4143655B271   CEDRICK                  GRIFFIN        KY        90004394365
53B41533551348   BENEDICTA                AFFUL          OH        66032915335
53B41695481664   TERESA                   WEAVER         MO        90008746954
53B41773A72B31   BENJAMIN                 ROSE           CO        90006167730
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53B422A4685928   ASHLEY       SHACKELFORD              KY          90014622046
53B4336934B28B   THOMAS       VONRENTZELL              NE          26007033693
53B4364A761971   AIOTEST1     DONOTTOUCH               CA          90015116407
53B44271655959   ANA          CORTEZ                   CA          90012522716
53B44395491895   WILLIE       KAUFFMAN                 OK          21096813954
53B4486A572B43   STEPHANIE    ARCHULETA                CO          90013328605
53B44934161975   MARIBEL      ESPINOZA                 CA          90001729341
53B4495717242B   TANA         DOVE                     PA          90014569571
53B45355191534   HECTOR       JURADO                   TX          90007893551
53B4537948B169   GUSTAVO      BALCAZAR                 UT          90010903794
53B45878A7B46B   SIBYL        DURANT                   NC          11017198780
53B45A2A672B49   HECTOR       SALINAS                  CO          90008200206
53B46323933696   KIMBERLY     CASTERLOW                NC          12010033239
53B46498651348   ERICA        WILLIAMS                 OH          90009494986
53B468A4584357   PHONESAVAN   KONGKIAT                 SC          90014868045
53B47254561973   MIGUEL       MUNOZ                    CA          90013892545
53B472A9A8B173   DAVID        CASALASPRO               UT          31016732090
53B4744147B46B   ANGELO       TILLMAN                  NC          11092534414
53B47565272B77   MARIA        HERNANDEZ                CO          33072275652
53B47595891895   NORMA        RAMIREZ                  OK          90013925958
53B4776115B399   LORRIE       PALMER                   OR          44533837611
53B47892A5758B   MEGAN        JOHNSON                  NM          35529128920
53B48753433699   MIGUEL       MARTINEZ                 NC          90015217534
53B4882688B169   JOHN         MARK                     UT          90015328268
53B48868555959   ERNESTO      TABOADO                  CA          90009328685
53B48A6AA93724   SHAKIYA      REID                     OH          90004600600
53B48A8125B399   DAVID        CAMPBELL                 OR          44545430812
53B49483333696   OSCAR        MENDES                   NC          90012684833
53B49619285928   VALERIE      SCOTT                    KY          67060906192
53B4992A984357   MARQUISE     SIMMONS                  SC          90014619209
53B4B17795758B   JOSE         MALDONADO                NM          90012361779
53B4B32897B46B   TAMMY        BURCH                    NC          11001123289
53B4B34214B28B   DZEMILA      SUBASIC                  NE          90007803421
53B4B48715B387   DWAYNE       JUDGE                    OR          44575464871
53B4B591491895   LAURA        LOWE                     OK          90013925914
53B4B596861973   PAULA        GANT                     CA          90010875968
53B4B71925715B   IRIS         VEIZAGA                  VA          90012047192
53B4B86A291534   BLANCA       REY                      TX          90010758602
53B51457271964   BETH         GELLERMAN                CO          90009714572
53B51787772B27   GARY         AKIN                     CO          33013687877
53B51A36684357   DEMETRESE    MULLIGAN                 SC          90014630366
53B5249AA2B27B   ABRAHAM      GONZALEZ                 DC          90014254900
53B5332975B393   SOFIA        SALINAS                  OR          90013953297
53B54172485928   SHANE        ADCOCK                   KY          90004041724
53B54292972B27   BRIAN        BURTT                    CO          33082612929
53B54572976B75   JAMES        GOSS                     CA          46001685729
53B5493242B27B   ALMA         HERNANDEZ                DC          90006369324
53B55563957157   YOVANY       A. MEDINA                VA          81029555639
53B55581972B88   BRYON        BELLA                    CO          33016745819
53B56223276B75   GERI         COLVIN                   CA          90012522232
53B5654A985947   LUIS         HERNANDEZ                KY          90013945409
53B5655172B27B   MARVIN       ALVARADO                 DC          81051835517
53B56637591895   BRITTANY     SUMMERS                  OK          90013926375
53B57292172B43   TERRY        READ                     CO          33046352921
53B57467271964   KAYE         QUEEN                    CO          32014824672
53B5758564B28B   TYLER        ABBOTT                   NE          26066375856
53B57654757157   WILIAN       LORENZANA                VA          81092166547
53B5769A161973   ADAN         ZAVALA                   CA          90013016901
53B5815855758B   GRADALUPE    DURAN                    NM          90009401585
53B5838215B531   IRMA         ACEVES                   NM          35014693821
53B58542151348   OMAR         BASTITA                  OH          90012835421
53B58799A33696   BRYAN        SLIVER                   NC          90010737990
53B58895772B36   DURAND       YOUNGS                   CO          33001748957
53B58A25461971   KIRBY        WALLER                   CA          90009820254
53B59116391534   JAIRO        LOPEZ                    TX          90005791163
53B5928685B393   JULIANE      SOLIS                    OR          90015202868
53B5947772B27B   RAYMOND      HILL                     DC          90010494777
53B59943957157   JOSE         QUINANTILLA              VA          90013319439
53B5B49467B46B   TONY         CAMPS                    NC          90012874946
53B5B721993724   LATICIA      HOWARD                   OH          90015007219
53B5BA39461973   ANGEL        GONZALEZ                 CA          90014830394
53B5BAA7985928   HYAM         ALABASSI                 KY          90008940079
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53B61376772B27   CARLOS      MANZANARES                CO          90001313767
53B61428557157   DANI        ALVAREZ                   VA          90010134285
53B6151165B393   LALATTA     HERREJON                  OR          44505955116
53B61736272B49   SHANA       THOMAS                    CO          90013557362
53B62422185928   ANNA        EDWARDS                   KY          90011964221
53B6311515758B   LETICIA     GONZALES                  NM          90005901151
53B63171491587   RACHEL      GUSMAN                    TX          90013481714
53B63292491535   MARIA       GUNTER                    TX          90005162924
53B63293491534   CAROL       DIAZ                      TX          90009422934
53B63396A2B861   AMANDU      RUIZS                     ID          90005383960
53B6345395B543   SOLANNO     MISSAEL                   NM          90006204539
53B6357652B27B   LARRY       DRAKEFORD                 DC          90012845765
53B63693641229   DARMONICA   FIELDS                    PA          90011596936
53B64114333699   KEYLEE      BARRAGAN                  NC          90014831143
53B64171491587   RACHEL      GUSMAN                    TX          90013481714
53B6429655B387   JOANNA      BROWN                     OR          90011142965
53B645A2961973   AMBER       RAMIREZ                   CA          90012375029
53B6477522B27B   LINDA       JACKSON                   DC          90010607752
53B65263255959   JOSEPH      SANCHEZ                   CA          90013822632
53B65379185928   SONIA       WITHERS                   KY          67012373791
53B65466861973   MARTHA      GONZALEZ                  CA          46077774668
53B6581225B399   KWELU       WILLIAMS                  OR          90009888122
53B66232A93724   MICHAEL     RANDALL                   OH          64500802320
53B662A9A72B49   MARIA       CABRERA                   CO          90011482090
53B66387155959   ERNESTO     HERNANDEZ                 CA          90013023871
53B66743933699   CATALINA    GONZALEZ                  NC          90008867439
53B6712645B393   DAVID       BROWNE                    OR          90000521264
53B67412661973   ESTEFANY    CARBAJAL                  CA          90007574126
53B674AA272B27   DAVID       WITZKE                    CO          33010814002
53B67647991895   DYLLAN      MANESS                    OK          90013926479
53B68226193724   JESSICA     BOBLITT                   OH          90008812261
53B6824A824B7B   ERICK       GARCIA                    DC          90012842408
53B682A7655959   ANGELITA    GUZMAN                    CA          90012842076
53B68719A51348   JESSICA     EUBANKS                   OH          90013527190
53B68774733699   ANAHI       RUIZ                      NC          90011497747
53B68A6A65B393   MANO        SMITH                     OR          90014100606
53B6935A27B46B   MARIA       DERAS                     NC          11007573502
53B69467172B43   TINA        ENRIQUEZ                  CO          90010584671
53B69477633699   KENDRA      BUTLER                    NC          12095404776
53B69588224B7B   ELMER       GONZALEZ                  VA          81044245882
53B69627861986   GERMAN      SILVAS                    CA          46081936278
53B6B165691587   FERNANDO    FERNANDEZ                 TX          90013481656
53B6B72565B531   JARED       PADILLA                   NM          90014467256
53B6B753433699   SEYMORE     BUTTS                     NC          90012257534
53B6B768961971   MATHEW      RISSE                     CA          46074807689
53B6B85744B588   TERRI       MYER                      OK          90014988574
53B6B92975758B   ANTHONY     BARRAZA                   NM          90010469297
53B71175793724   TENOLA      OLIVER                    OH          64585251757
53B71188791895   JOSEPH      WALSH                     OK          90013641887
53B71325971964   LAMAR       WASHINGTON                CO          90014633259
53B71752585928   TARAS       ISOM                      KY          90008387525
53B71A17157157   BILL        CABEZAS                   VA          90013930171
53B72186651348   DOUGLAS     BODEN                     OH          66076801866
53B7259A254151   MARK        AYERS                     OR          90012165902
53B72A1374B521   PHILIP      FARRIS                    OK          90012670137
53B734A725B393   CARIE       LEE                       OR          44589614072
53B73528191534   GENARO      BUSTILLOS                 TX          90014855281
53B73624472B43   JOSE        PEREZ                     CO          33094936244
53B7362577B46B   JOSE        MEDINA                    NC          11086866257
53B73929651348   KURT        MURDEN                    OH          66030719296
53B74188891534   MICAELA     VARGAS                    TX          90015031888
53B741A3A91895   DIANA       PANTOJA                   OK          90013831030
53B74A6162B245   ZONEIL      WILLIAMS                  DC          90007250616
53B75516633696   SHAWN       MCCRARY                   NC          12090705166
53B7633858B169   COREY       WALKER                    UT          90015193385
53B7663495B531   NATALIE     FAJARDO                   NM          35097486349
53B76929871922   LEOY        OLIVAS                    CO          90013289298
53B77166672B49   NADIA       PEREZ-ALVAREZ             CO          90014741666
53B7739135758B   LUZ         MORALEZ                   NM          90013003913
53B77988161975   KEVIN       COLLINS                   CA          90013619881
53B7821988B169   TIARA       MARTIN                    UT          90009242198
53B78653485928   TABATHA     DRY                       KY          90014916534
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2376 of 2500


53B78864172B49   TERESA        BERENS                  CO          90012208641
53B78A9914B28B   AMY           WALKENHORST             NE          90004880991
53B79111672B27   ANTONIO       MARTINEZ                CO          33064901116
53B7925597B46B   SHAWN         HART                    NC          90014872559
53B79423184373   EURA          MCCLAM                  SC          19077194231
53B7947148B169   PEARL         TOPANOTES               UT          90011294714
53B79538155959   ANABEL        VENEGAS                 CA          90011015381
53B79936457157   SHAWNDA       YEE                     VA          90009629364
53B79962351348   BRYAN         WATKINS                 OH          90014679623
53B79A9452B27B   SHANNON       JONES                   DC          90014580945
53B7B197491587   ISABEL        CHAVIRA                 TX          90013481974
53B7B264372B43   ARMANDO       BARBA                   CO          33084892643
53B7B36A55B531   GREGORY       ROMERO                  NM          90001573605
53B7B435233699   NICHOLAS      GREGORY                 NC          90007844352
53B7B446355959   NANCY         GARCIA                  CA          90004164463
53B7B61A12B228   SHARLAYNE     BARTON                  DC          90012826101
53B7B676161971   BRENDA        GUZMAN                  CA          90009026761
53B81142555959   JR            GARCIA                  CA          90012811425
53B81474661973   ANTONIO       VARGAS                  CA          46017194746
53B8174485B531   ABEL          CRUZ                    NM          90007887448
53B8177A451354   MIKE          FELTS                   OH          90011887704
53B8199545B393   CASSANDRA     LUCAS                   OR          44581949954
53B8221A384357   YOLANDA       SNELL                   SC          90010202103
53B82228791587   AMANDA        GARCIA                  TX          90013482287
53B8234A871964   MICHAEL       DANIELS                 CO          90014633408
53B82428172B43   ANTONIO       GUZMAN                  CO          33026144281
53B8255474B588   ANA           ALVAREZ                 OK          90014995547
53B83399A6198B   MARIBEL       SEGURA                  CA          90013463990
53B83655372B49   JOSE          VERONICA                CO          90011356553
53B83751351336   LINDA         GILL                    OH          90003577513
53B84153672B27   BRYAN         SHELEFONTIUK            CO          90015031536
53B84342993724   ROZ           SMITH                   OH          64561483429
53B84699491534   MARTHA        AYALA                   TX          75012176994
53B84886561975   JOANN         RICHARDSON              CA          90013088865
53B84A6195B399   KODDY         HART                    OR          90003020619
53B85297461971   CHRIS         PLUMLEE                 CA          90009302974
53B85524372B43   JOSE LUIS     CASTILLO OROSCO         CO          90013565243
53B85579872B49   JESUS         ROJO                    CO          33052735798
53B85718781696   CHRISTOPHER   STANDLEY                MO          90011947187
53B8637817242B   JEREMY        WATSON                  PA          90012833781
53B8669995B399   JASON         HENRY                   OR          44578466999
53B86A94133699   CHRISTINE     TIMBERLAKE              NC          90003350941
53B873A4572B43   EDGAR         CORONA                  CO          90003943045
53B8746285715B   MARIA         RUIZ                    VA          81085484628
53B886A9584357   TIFILEO       GREEN                   SC          90014656095
53B88723261973   ASAD          SHUKUR                  CA          90001187232
53B8944675B399   VICTOR        CHAN                    OR          90014364467
53B89572461971   JASON         MORGAN                  CA          90004835724
53B8B45375B393   ABIMAEL       MENDOZA                 OR          90012794537
53B8B59435B531   LUIS          ARMENNDARIZ             NM          90011045943
53B91166572B88   ANA           LILI                    CO          33097851665
53B9116A85B393   RAYMOND       HOPKINS                 OR          90014781608
53B91248A71964   KARLEE        BABCOCK                 CO          90011632480
53B91289191534   HECTOR        BUENO                   TX          90010792891
53B91327A5B531   MELISSA       ARSENEAU                NM          90012383270
53B917A6672B67   MARIA         ORTIZ CASTILLO          CO          33035857066
53B9182595758B   CAROL         SEDILLO                 NM          90008048259
53B9182965B531   LOUIE         GONZALES                NM          90012188296
53B9196892B29B   MARGRETE      WOODS                   DC          90006539689
53B919A3461971   LESTER        STANLEY                 CA          46071769034
53B92113172B49   DAVID         JONES                   CO          90000211131
53B921A1172B27   BENGY         GONZALES                CO          90007781011
53B92429661973   FERNANDEZ     ROXANA                  CA          90013244296
53B925A595B387   BRAD          WYATT                   OR          90014405059
53B93136891895   AMANDA        BECERRA                 OK          90002861368
53B9415125B393   LORI          SAHLI                   OR          44531821512
53B94175961971   THOMAS        SMITH                   CA          46010721759
53B9428953B352   RODNEY        BREWER                  CO          90010022895
53B9453387B46B   KEYA          ALLEN                   NC          90011505338
53B94677A8B169   KAYLA         ROLPH                   UT          90006826770
53B94873391895   ANITA         MOSLEY                  OK          90009188733
53B95332991895   COLT          THOMPSON                OK          90001803329
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53B95661131428   SCOTT         GISH                    MO          27509176611
53B9576474B23B   VICTOR        MARTINEZ                NE          27015427647
53B9648794B28B   YVONNE        DENNEY                  NE          26085504879
53B9665A491895   KEACHA        WILSON                  OK          90013926504
53B97329572B67   GUADALUPE     HERNANDEZ               CO          33015213295
53B97776A5B399   MATTHEW       CALVIN                  OR          90015337760
53B9784455B271   PAULA         BROUSSARD               KY          68019118445
53B98288391587   FLORENTINA    VALDEZ                  TX          90013482883
53B98381A72B49   MAYRA         ALBALADEJO              CO          33056583810
53B986A575B399   SABRINA       BRYANT                  OR          44584096057
53B9894825B387   GAYLORD       DREW                    OR          90006009482
53B99373372B27   PATRICK       ZABRANO                 CO          90007853733
53B99375672B49   DONALD        WOMACK                  CO          90013983756
53B993A135B387   MATTHEW       RUSSELL                 OR          90007363013
53B99456972B43   DIANA         ALARCON                 CO          90002554569
53B9971A872B27   PATRICK       ZABRANO                 CO          90014917108
53B99915A43569   LUIS          HERRERA                 UT          90015039150
53B9B234A61971   TABATHA       HASKETT                 CA          46023792340
53B9B62A293724   JADE          DAUGHERTY               OH          64549196202
53B9B759591534   GLORIA        WILLIAMS                TX          90006267595
53B9B7A8943569   JUSTIN        POPP                    UT          31093287089
53B9BA8788B169   JOHN ROBERT   TURGEON                 UT          90014180878
53BB1411A91895   LENNISON      BAEZ                    OK          90014914110
53BB1751661971   KEVIN         THORNBLOOM              CA          90010717516
53BB17A9198B2B   CASEEM        CORNELIUS               NC          90005737091
53BB1854872B27   JOHN          KLOCKER                 CO          33014078548
53BB1915A5758B   AMANDA        HERRERA                 NM          90015179150
53BB239965B393   MARTHA        PALMA                   OR          90012763996
53BB23A1491895   MARISELA      PUEBLA                  OK          90012533014
53BB253814B28B   STACIE        PENATE                  NE          26010215381
53BB2714798B2B   BRENDA        WASHINGTON              NC          90005737147
53BB2763472B27   SALVADOR      RODRIGUEZ               CO          33012867634
53BB321A25B393   NICHOLE       NIEMEYER                OR          44534162102
53BB349335715B   ERIKA         REYEZ                   VA          90009234933
53BB49AA97B46B   EVA           MARTINEZ                NC          90004729009
53BB526114B28B   MARIA         GUERERO                 NE          26002982611
53BB52A5376B75   CHRIS         DAY                     CA          46051602053
53BB5863593724   ANDRE         CARTER                  OH          90012098635
53BB599A15B387   KAMLA         DEVI                    OR          90013819901
53BB6126876B75   CRISTINA      VASQUEZ                 CA          90000711268
53BB623AA93754   MELISSA       POLLACK                 OH          90002212300
53BB673977242B   BRIAN         MCALISTER               PA          51047667397
53BB677554B588   KIM           BOSWELL                 OK          90014947755
53BB7348A5B531   MONIQUE       ANAYA                   NM          90004243480
53BB7596A72B49   CANDANCE      THOMAS                  CO          90012105960
53BB7796151348   REGINA        WATSON                  OH          90009417961
53BB7824351336   MARIPAULINE   JACKSON                 OH          90010078243
53BB7A45291895   DELBER        CARLL                   OK          90010700452
53BB81A6771964   ANNA          DOMINO                  CO          90015221067
53BB836914B588   VIVIANA       HERNANDEZ               OK          90003803691
53BB83A1872B43   RAUL          LOPEZ                   CO          33031033018
53BB9148A55959   JULIAN        GONZALEZ                CA          48015131480
53BB91A585B393   AARON         WELCH                   OR          90011211058
53BB9272672B27   MARGARITA     RODRIGUEZ               CO          90006502726
53BB9355431429   LESLIE        PETTIFORD               MO          27584033554
53BB94A115715B   MARIA         PEREZ                   VA          81021404011
53BBB277961975   KIMBERLY      CADWAY                  CA          46089842779
53BBB279493776   KIMBERLEY     LEWIS                   OH          90009952794
53BBB6A6833699   PETER         RAMOS                   NC          90010856068
53BBB87855758B   CARMEN        GOMEZ                   NM          35530368785
53BBB95A58B169   RHONDA        GUTIERREZ               UT          90011069505
53BBB96945B399   VANNIDA       PHAENEPHOM              OR          90014839694
54111142972B36   ROBERT        ROYBAL                  CO          33012541429
54111222372B88   DONNA         JACKSON                 CO          33008402223
54111237872B43   AARON         BARELA                  CO          90014932378
5411133215B399   WARNER        HOLFELD                 OR          44514413321
5411143335758B   MIGUEL        CASTRO                  NM          90010394333
54111833172B27   VERONICA      ALONZO                  CO          90009108331
54112197172B43   JOSE          RUIZ                    CO          90009421971
54112A7345758B   EDUARDO       LEAL                    NM          90015480734
54113288A72B43   JOSE PABLO    LORENZO                 CO          90007532880
5411334845B531   MELISSA       ELLIOTT                 NM          35022743484
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5411425275B399   RHOCHONDA    MELSON                   OR          44507632527
5411549895715B   ROMAN        FLORES                   VA          90013844989
54115634372B88   JUANCARLOS   PASCA                    CO          33072706343
541157A385715B   FRANKI       BAWUAH                   VA          90013827038
54115831A5B399   BASHIR       ABDI                     OR          90015018310
541164A6672B67   NORMA        CECILIA LEE              CO          33041214066
5411674385B387   RONNY        GOWAN                    OR          90014917438
5411689215758B   ROLANDO      RIVERA                   NM          90005048921
54116A52572B49   SANDI        EVANS                    CO          33052200525
5411786515758B   ANNABEL      FLORES                   NM          35558888651
54117A9212B27B   JANET        HARVEY                   DC          90014360921
54118449A91587   SAMUEL       MEDINA                   TX          90012864490
5411859924B588   CHARLISE     DIZER                    OK          90008105992
54119A14493724   ANGEL        WRIGHT                   OH          90014200144
54119A62161975   MARIO        AGUAYO                   CA          46067630621
5411B8A5331428   JENELLA      NORMAN                   MO          90005388053
5411B93675B399   WILMA        PRATT                    OR          90010089367
5411BA1A972B49   ANDY         OSUNA                    CO          90012130109
54121715476B75   LUZMARIA     LICONA                   CA          90004867154
54122619772B88   CHRISTY      HULSE                    CO          33016466197
54122A4A672B38   SHAWNTAY     CORDOVA                  CO          90014790406
541233A4561973   ALFREDO      SOTO                     CA          90013463045
54123614272B38   LYDIA        ADAMS                    CO          90010336142
54123667A98B2B   ADRIANA      MATEOS                   NC          90004026670
54123769672B27   RALPH        GURULE JR                CO          90006017696
54123AA1393724   WALTER       GLANDON                  OH          90012750013
5412489A772B49   MARY         GRIEGO                   CO          33075688907
5412537425B387   CRUZ         RAMIRAZ                  OR          90014833742
541264A865715B   NORA         SCHATZ                   VA          90013434086
54126834A5758B   DANNY D      VALDEZ                   NM          90008118340
5412686A493724   CHRISTINA    DAY                      OH          90013948604
5412772895715B   EMIDIO       VILLALOBOS               VA          90008537289
541278A6772B49   ANDREW       JERNIGAN                 CO          90002458067
54127A25261971   DAYTRA       SMITH                    CA          90013200252
54127A29333699   DERRICK      PARSONS                  NC          90011890293
54127A3A124B7B   INDIA        DEAN                     DC          90012740301
5412913715715B   JEROME       COONEY                   VA          90012881371
5412941295758B   TODD         BRATHOLT                 NM          90011514129
5412B156572B36   EDUARDO      LOPEZ                    CO          90015131565
5412B261A5B399   JACOB        COON                     OR          90012092610
5412B7A482B27B   JUSSTIN      HAZER                    DC          90014777048
5412B84A184357   SHEENA       CRUZ                     SC          90012378401
5413133195B283   ANGELA       HARTLAGE                 KY          90008803319
541317A987B46B   KRYSTA       KEY                      NC          90009477098
54131A35872B49   ESTEVAN      VALVERDE                 CO          90013560358
541328A7391895   KEVIN        SHANDY                   OK          90009468073
54133755972B38   TERRI        NELSON                   CO          33092947559
5413398344B588   EDUARDO      MAYA                     OK          90013539834
54134A3982B27B   SHARDEJIA    POWERS                   DC          90013980398
54135992772B43   NICHOLAS     CARSON                   CO          90004219927
54136464872B36   ZACHARY      MASS                     CO          33062114648
54136599472B38   LUZ          MARTINEZ                 CO          90014495994
541367A9842363   KARRIE       CARRINGER                GA          90014807098
5413712325B387   VICENTE      GARCIA                   OR          44561871232
54137127272B38   CYNTHIA      RAMOS                    CO          90005081272
54137238572B27   MARIA        SALDANO                  CO          90002482385
54137253972B49   CARDENAS     MICHELE                  CO          33048392539
541382AA691534   MIROSLAVA    MURO                     TX          90009142006
54138492676B75   NATIVIDAD    HERNANDEZ                CA          90008094926
54138794172B88   OLIVIA       DOMINGUEZ                CO          33046067941
5413885985715B   JAWWAD       KAASHIF                  VA          90005608598
54139182472B36   DEMETRIO     PARRA                    CO          33023871824
541393A1872B27   DENISE       GREEN                    CO          33034013018
54139A1715758B   GINGER       BELLARD                  NM          35509110171
5413B387633696   DARRELL      JACKSON                  NC          90010803876
5413B43712B273   LATRONNA     BYRD                     DC          90010884371
5413B493A43569   JUSTIN       ODENTHAL                 UT          90006994930
5413B72325B387   JAMES        SIMS                     OR          90004967232
54141A1194B562   NAISHA       MORRIS                   OK          90011320119
5414266374B588   ROLAND       PATRICK                  OK          21572876637
5414316822B851   COURTNEY     MEYER                    ID          90000961682
54143459698B2B   TRACIE       SAUTHERLAND              NC          90009174596
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54143911576B75   JOSE              DEARAGON            CA          46033959115
54143A66672B36   NICOLAS           EASTLAND            CO          90010360666
541442A545B543   JOSEPH            DYE                 NM          35079982054
5414481165B531   AMANDA            DIAZ                NM          90014888116
5414489785758B   NELSON            STANTON             NM          90014118978
54144A62872B38   CASSIDY           GREEN               CO          90012990628
5414512A793724   KELLY             STEINER             OH          90002801207
5414531387B46B   DEDRIC            SHELL               NC          90014883138
54145433A5715B   DAVID             JAMES               VA          90015094330
54145A7625715B   DAVID             JAMES               VA          90004560762
5414623925B399   JESSE             WARD                OR          90006782392
54146246A4B588   ROLAND            CARD                OK          90013792460
5414629497B826   SHIRELLE          GRIFFIN              IL         90014822949
5414666455715B   RIGO              MAXIMO              VA          90010466645
54146A68261966   IRMA              FAVELA              CA          90010800682
54147343272B67   WILLIAM           MILLER              CO          90007843432
5414752835B387   VANDY             MANGSANGHANH        OR          90012755283
5414762785715B   FANY              MARTINEZ            VA          90007226278
54149354276B81   MICHAEL           TEMPLIN             CA          90000603542
5414942735B531   MONICA            AVILA               NM          35070174273
5414947515758B   ALEXIS            BORUNDA             NM          90012344751
5414B48135B531   THOMAS            GOAD                NM          90012024813
5414B58A361973   KHALID            ZAALAN              CA          90011515803
5414B73A351348   CHRIS             DOTSON              OH          66091197303
5415136A85715B   DAVID             LLLOYD              VA          90011203608
54151769972B27   SAUL              MUNOZ               CO          90011697699
5415183535715B   GUZEL             SALIKHZYANOVA       VA          90012868353
54151A5A331429   JOSHUA            COLE                MO          27507030503
54152534A76B75   AURELIO           ALBA                CA          90015605340
5415312A961975   AURELIO           RIVERA              CA          46056711209
5415371235B399   GREGORY           KOCH                OR          90004977123
5415415295B387   DONNA             WESSON              OR          90013221529
54154781472B49   JAMIE             ARMSTRONG           CO          33025607814
54154792776B75   DERIC             WILD                CA          90013467927
54154A2A92B27B   GARY              TROXLER             DC          81028420209
54154A5A472B36   KIMBERLY          DOMINGUEZ           CO          33080080504
54156353976B75   BECCA             EDENS               CA          90002513539
54156477A61971   AMANDA            RAMOS               CA          90011984770
541574A8A5758B   ISAAC             ROSALES             NM          90009954080
5415777755715B   WILFREDO          LOZANO              VA          90005897775
54157A6985758B   MICHAEL           MARTIN              NM          90013930698
5415833715715B   MAHADER           TAMIRU              VA          90000473371
5415983365B531   JOHN              CARVER              NM          90005878336
54159955298B2B   ELAINE            WHEELER             NC          90014899552
54159A26472B49   CORLISS           CASE                CO          90014100264
54159A6A65715B   MARYULI STEFANY   SANCHEZ             VA          90013310606
5415B139461975   VIOLA             VIDAL               CA          46080891394
5415B855955959   ALEJANDRO         LARA                CA          90012388559
5415BA77261971   NOE               VILLANUEVA          CA          90012980772
5416112135B531   GEORGE            OTERO               NM          90012271213
54161272976B75   SONIA             PEDRO               CA          46005672729
54161279872B43   RAYNA             SANDERS             CO          33091442798
54161344872B27   ADELAIDO          PEREZ               CO          90014003448
5416144482B27B   WILLIAM           ASHBY               DC          90009144448
54161528598B2B   ALEJANDRO         HERNANDEZ           NC          90008795285
5416186385758B   OMNI              MONTOYA             NM          35589248638
5416212384B588   SHAYNA            PALMER              OK          90010851238
54162523572B36   CARMEN            MEDINA              CO          90011895235
5416255AA4B521   MANET             STALLWORTH          OK          90007085500
54162A3595B543   BERTHA            MONTEZ-CHAVEZ       NM          35003130359
54163141976B75   REBECCA           CALDERON            CA          46051391419
541631A7361971   EDWIN             MEJILLA             CA          90012231073
5416328845B387   ARACELI           ALMARAZ             OR          90000342884
54163479A72B49   BHARANI           JAYARAMAN           CO          90007844790
54164A48A61971   LISETTE           HAWKINS             CA          90012850480
541653A315B531   ORALIA            OLIVAS              NM          35087013031
541677A3872B88   KARINE            OLSON               CO          90004767038
54167A4A857157   LUIS              SALDANA             VA          90001850408
5416841415B399   ALFREDO           VALDEZ              OR          44573194141
54168533772B49   ANDREA            ARGUELLO            CO          33014975337
541698A6393724   BEREKET           TESFA               OH          90011638063
5416993115B531   JOSEPH            HELGESON            NM          90010579311
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5416B355A91587   ROSA             RUIZ                 TX          90005803550
5416B624472B49   ANTONIO          BENITEZ              CO          90012476244
5416BA3235B538   CAROLYN          HOLLOWAY             NM          90004620323
54171187A61973   LUIS             GOMEZ DEL RINCON     CA          90006601870
54171498A5715B   MARIA            URREA                VA          90012894980
541715A675B399   ALONZO           GARNER               OR          90012785067
54171866272B38   ROSALBA          ESCOVEDA             CO          90014578662
54171A3A484852   ESTEVAN          ZAPIEN               NJ          90015190304
5417313337B46B   IISRAEL          VASQUEZ              NC          90010651333
541737A1691884   ROBERTA          MCCONNELL            OK          90008567016
5417418A55B399   JACOB            HELZER               OR          90015201805
5417426852B851   MARY             SEITZ                ID          42055222685
54174574472B27   JORGE            AZURDIA BARRIOS      CO          33084775744
5417465A872B36   KENNY            MCDORMAN             CO          90013156508
5417475215715B   JANET            PACHECO              VA          81016317521
54174911472B49   VERONICA         SCHIWART             CO          90013819114
54175294A61973   SONIA            GASCA                CA          46086662940
54175634272B43   SHAWN            RIEDEL               CO          90014676342
5417831334B588   RICHARD          CARRANZA             OK          21557193133
5417872515758B   LILIANA          ALVARADO-ZAMORA      NM          35552037251
5417915A472B77   JESSICA          COLLINS              CO          90007431504
54179659172B43   TAMARA           PADILLA              CO          33014506591
5417982A177574   ROBERT           ORTEGA               NV          43088158201
54179912572B49   ELOY             GUTIERREZ-REYES      CO          90013899125
5417B34494B588   MICHAEL          DURAN                OK          90015003449
5417B43275715B   STACY            PRICE                VA          90014324327
5417B92145B399   DIANA            MILLER               OR          90011239214
541811AA82B228   CARLA            MEYERS               DC          90012961008
5418121184B588   LETITIA          HARRIS               OK          90013962118
54181218972B67   MOREL            DE JESUS             CO          90001852189
54181747172B27   DAVID            LILLEVOLD            CO          33012517471
5418199215B399   STACY            FREY                 OR          90006309921
5418234715B531   CINTHIA          ALVEAR               NM          35033483471
54182676A91587   MANNY            AGUIRRE              TX          90009216760
541827A4184373   LASHAY           DIALS                SC          90014477041
5418347535758B   JUANITA          LOPEZ                NM          90014594753
54183579498B2B   TORESO           CRUZ                 NC          11079895794
5418369A793724   TAYLOR           GAYHART              OH          90012446907
5418385364B521   PAMELA           VARGAS               OK          90008278536
54184A63951348   JANIE            WILLIAMS             OH          90014740639
5418543542B241   LEONIDES         GALLARDO             DC          90003354354
5418566A85B393   PATRICK          BUCK                 OR          90002936608
541856A795B543   RACHEL           LEYBA                NM          90005016079
5418571877B46B   JUSTIN           WALTERS              NC          90013757187
5418614325715B   NICHOLAS         CANTOW               VA          90010701432
54186723A33699   LAMAURICE        WILLIAMS             NC          90015167230
5418694845B531   JUCILIA          SANTOS               NM          90013819484
5418716A276B75   JOSE AMGEL       MEJIA MENDOZA        CA          90008541602
54187631972B77   JOSE             TORRES               CO          33062436319
54188148572B36   JOSE             BENJAMIN             CO          90014421485
54188218276B75   CRISTINA         CANSECO              CA          90009172182
5418847262B273   OCTAVIA          BLACKMAN             DC          90003624726
5418847AA2B27B   YIZREEL          FLOYD                DC          90014394700
5418853A25B531   DOMINIC          SANCHEZ              NM          90013285302
5418884174B588   MIGUEL           VELAZQUEZ            OK          90012828417
5418886567B46B   JOHNY            TAYLOR               NC          90013628656
54189456457B81   CARLOS           VALCAZAL             PA          90014114564
54189515A72B67   AHMED            ELHAG                CO          33006675150
5418B1A922B27B   CORY             BERNAT               DC          81025731092
5418B346172B36   JUAN HERNANDEZ   GONZALEZ             CO          90006213461
5418B42695B283   SHARON           PEAVLER              KY          68044934269
5418B657491895   ANNA             DARR                 OK          90012646574
5418B831184373   MELLIE           BROWN                SC          19058758311
5418B988531428   JA'NET           MORGAN               MO          27539849885
5418B99A576B75   ISAAC            MYERS                CA          46098639905
5419131845758B   ROBERT           LOFGREN              NM          90012753184
54191788972B77   STEPHANIE        RORDRIGUEZ           CO          33003717889
54191925A91587   STEPHANIE        ESPITIA              TX          90003879250
5419197A85B531   GILBERT          LEDEZMA              NM          35074819708
54191A88A55959   MARIA            SANCHEZ              CA          90007990880
54193739472B88   JUVENTINO        GOMEZ                CO          33072897394
5419483645715B   DENVER           BATES                VA          90012868364
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54194881172B49   AMY             TURNERHAGMAN          CO          33055778811
5419495A55B531   MICHAEL         MIRABAL               NM          90014729505
5419576632B27B   NILE            WEAVER                DC          90014007663
54195833A61971   VERONICA        GARCIA                CA          90007698330
54196844872B36   MARQUITTA       MOORE                 CO          90013728448
54198228572B36   TED             WRIGHT                CO          90010362285
5419883225B387   ABAD            FLORENTINO            OR          44585028322
54198983A5715B   OSCAR           SANTOS                VA          90014909830
54199513272B43   EDDER           URIEL                 CO          90009195132
5419B317A5715B   ABEL            SALAMANCA             VA          90013783170
5419B64A985928   LARRY           CARTER                KY          67016686409
541B1335761975   HUGO            BALTAZAR              CA          90006613357
541B1344354151   STACEY          EDSON                 OR          90008193443
541B1529A93724   SHENAE          CAMPBELL              OH          90011455290
541B199997B46B   TAMIKA          SMYTHE                NC          90014609999
541B19A817B35B   JAQUELINE       MALDONADO             VA          90002889081
541B2119784373   CHIANTI         PALMER                SC          90002441197
541B2255885928   MARY            HYATT                 KY          90015302558
541B281895B399   KALEBELA        KABAMBA               OR          44505328189
541B314375B393   ANDRE           PEREZ                 OR          44561541437
541B332A44B936   ALEXANDRE       ANDERSON              TX          90015093204
541B3383155959   MARIO           ALANZO                CA          48067793831
541B3387761973   CRIS            POMMIER               CA          90005393877
541B445422B27B   CARLETTA        ZYRD                  DC          90011794542
541B457185B531   MARISSA         RENTERIA              NM          90014925718
541B4577893724   DEBBIE          DAVIS                 OH          64520445778
541B561295B387   DYLAN           CROMPTON              OR          90013406129
541B6395544B41   PATRICIA        OLIVERAS              OH          90011883955
541B6447561971   GARY            HUTCHESON             CA          46006584475
541B6574533699   ASHLEY          CANTY                 NC          12086105745
541B6623891587   JOSE            DURAN                 TX          90006636238
541B6972272B36   SONIA           MONCADA               CO          90012879722
541B8A2A485928   DEESSEUA        BURGESS               KY          90015030204
541B8A67272B43   BLAKE           STARR                 CO          90014290672
541B927814B588   EDWARD          BRIGGS                OK          90012112781
541B9341A84373   NANCY           RICHARDSON            SC          90010813410
541BB7A9861971   DELMY           OGARA                 CA          46016887098
541BB8A537B46B   KIMYETTE        WHITFIELD             NC          90013748053
541BBA44A91587   SALMA           BUHAYA                TX          90008870440
54211195A55959   PEDRO           NUNEZ                 CA          90012111950
54211231272B49   CHAS            RICHARDSON            CO          90014722312
5421134845715B   JORGE           ANTICONA              VA          90015123484
5421143795B387   MATTHEW         HAMILTON              OR          90012254379
54211721472B67   CHRIS           OZOR                  CO          33028997214
54212136A72B78   MARK            CHELTON               CO          90003471360
54212635776B75   AIOTEST1        DONOTTOUCH            CA          90015116357
542128A725B399   BERNEICE        WOLPIN                OR          90014158072
54212AA464B565   ARTURO          CASTRO                OK          90010920046
5421365265B543   DIANE           JARA ARVIZO           NM          90005006526
54213AA168B186   KYLE            DAVIS                 UT          31023570016
5421436835B399   JR STEPHEN      KRISTICH              OR          90012583683
54216499224B7B   RICHARD         SMITH                 DC          90009044992
542165A4776B75   BERLYN CARINA   REYES                 CA          90015085047
54216A5792B27B   MALIK           BATTLE                DC          90011420579
54216A9232B241   DON             UNONU                 DC          81013380923
5421727732B27B   ELIJAH          BABIL                 DC          90001262773
5421742584B588   JUNIOR          LOPEZ                 OK          90010034258
542174A445B347   CHRISTOPHER J   FILLINGHAM            OR          90010724044
5421792424B588   TREVOR          WRIGHT                OK          90013419242
5421794224B588   JORDAN          THOMPSON              OK          90007119422
5421799A65758B   ANGEL           CONTRERAS             NM          35575839906
54218239872B43   RAYMOND         SMITH                 CO          90014932398
5421829515758B   TANYA           TAFOYA                NM          35508642951
5421B338755959   MONICA          AVILA                 CA          90014373387
5421B464591895   JUDY            WIEHE                 OK          21023804645
5421B87913B399   WILLIAM         MCINTYRE              CO          33012838791
5421BA5255B387   CANDI           RAMIREZ               OR          90012790525
542213AA74B588   JESUS           MOSQUEDA-RUIZ         OK          90007303007
54221887A2B851   TYSON           SPARROW               ID          90001728870
54221A9A143569   MARIA           PIEDRA                UT          31051270901
5422284A661931   MARIA           RAMIREZ               CA          90008918406
54223A6AA72B97   MELISSA         COMMINELLO            CO          33005450600
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54224469698B2B   CERELA        MEBIO                   NC          90011294696
54224526872B77   LAURA         SANDOVAL                CO          90012965268
54224784A61973   LUKE          COLE                    CA          90012927840
54225154A4B588   TIMOTHY       MILLER                  OK          90010851540
54225597572B27   JOSEPHINE     ECHEVARRIA              CO          33007945975
5422636834126B   REBEKAH       PICKENS                 PA          90000513683
5422679134B588   DEMETRIOUS    DAVIS                   OK          90011777913
5422697567B46B   KHADENDRA     DARJEE                  NC          90010339756
542271A335B283   SHARON        SMITH                   KY          90009671033
542273A295B543   DOMINIC       VALLES                  NM          90014293029
5422844957B49B   MICHELE       CLAY                    NC          90004874495
54228537276B75   JAVIER        MORALES                 CA          90014205372
54228662372B49   CARLOS        SANTISTEVEN             CO          90014446623
54228785A33696   TENISHA       MILLS                   NC          12015747850
54228825672B38   STEVEN        STRANGE                 CO          90014928256
54228A71691587   VICTORIA      MARTINEZ                TX          90013090716
54229215A61971   ANA           SANTOS                  CA          90008092150
54229919172B43   DAVID         COLE                    CO          33058279191
54229A51151348   RENEE         MANASE                  OH          90013070511
5422B17115B387   CASEY         BRYAN                   OR          90013221711
5422B77885B531   CARLOS        SOTO                    NM          35058557788
5422B972761973   OMAR          NATERAS                 CA          90012189727
54231152572B36   SAMUEL        HIDALGO                 CO          90013661525
5423218694B524   SOLOMON       WASHINGTON              OK          90011451869
54233127572B49   MONIQUIE      MATTHEWS                CO          90012611275
54233142772B49   MARY          CASTRO                  CO          90003511427
54233246276B75   JAY           CHERRY                  CA          90012322462
54233589972B36   JOSEFA        GASPAR                  CO          33080685899
54233A2647B46B   ALEX          MOBLEY                  NC          11012660264
54233A3715758B   MARIA         SMITH                   NM          90013480371
54233A5993B372   DEREK         OLSON                   CO          33082490599
54234856972B27   ENCARNACION   PORTILLO                CO          90008718569
54235358772B43   TRINO         MIRANDA                 CO          33075143587
542355A2261971   LAURA         ESPINOZA                CA          90013935022
5423572752B27B   NIKKIA        MILES                   DC          81004087275
542361A5761949   REYNA         FLORES                  CA          90007491057
5423668177B46B   KESHIA        COWAN                   NC          90001676817
5423684462B259   LORETTA       WILLIAMS                DC          90000858446
5423766795B399   JASON         ALEGRE                  OR          44556926679
5423872437B46B   TASHAUNA      WALLACE                 NC          90013297243
54238773598B2B   AAA           AAAA                    NC          90008307735
5423932765B234   KIMBERLY      HOLLOWAY                KY          90011043276
5423947A35B531   AMY           TURNER                  NM          90009734703
5423B27475B387   KENT          BRAND                   OR          44517332747
5423B93A62B851   LUIS          BARRETO                 ID          42028909306
54241325172B27   JEAN          HARLESS                 CO          90011563251
542416A473B399   WAKENDA       BREWSTER                CO          33098226047
54241A2192B27B   JAIMIE        HARRIS                  DC          90002400219
5424226385715B   LUIS          CAMPOS                  VA          90013512638
54242336272B67   LEAH          CLEVELAND               CO          90005143362
54242594472B43   MARIAELENA    GUTIERREZ               CO          90015305944
54242834A33696   CASSIUS       HALL                    NC          90012788340
54243539A72B36   ANGEL         PEREZ                   CO          90015115390
5424445615133B   SHAWN         MURRAY                  OH          90007384561
5424451A45B543   MARIA         BRADLEY                 NM          90006775104
5424517A155959   DAVEN         NAVARROP                CA          90015361701
54245396976B75   DIEGO         FRANCISCO               CA          90008963969
5424572917B46B   TRACEY        PHILLIPS                NC          11053417291
5424641695B387   AARON         HAYS                    OR          44516224169
542469A7133696   LUIS          BARRERA MUNOZ           NC          90011329071
54246A37761973   RENE          RODRIGUEZ               CA          90014630377
54247181272B77   DIANA         MARQUEZ                 CO          33084021812
542472A6343569   ASHLEY        KNOX                    UT          90008422063
5424737295B283   INGER         STARKS                  KY          90004233729
5424755525B531   DIANA         GONZALEZ                NM          90010385552
5424785395B29B   DEBORA        JONES                   KY          90011178539
5424788A84B588   TINA          THOMAS                  OK          21515518808
54247A14398B2B   JULIO CESAR   FIGUEROA RUIZ           NC          90006890143
54248659A5B393   HECTOR        VAZQUEZ                 OR          90009166590
5424866383B352   LYNETTE       HALL-JONES              CO          33087266638
5424867127B46B   RHODA         SWENGBE                 NC          90013356712
542492AA24B588   DEE           JOULE                   OK          90014712002
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5424934A176B75   CARRIE       CALAHAN                  CA          46052473401
5424957457B46B   IRMA         MEJIA                    NC          90011965745
5424969A961975   ELLYN        TAKAHASHI                CA          46098036909
5424974844B588   DAVID        HERNANDEZ                OK          90012747484
5424987515B387   SHANNON      HOLLAND                  OR          44548128751
5424B126372B43   SHARI        SEBOEK                   CO          33008701263
5424B312761973   RIVERA       CORTEZ                   CA          90010633127
5424B634A51348   WARE         ALEXANDREA               OH          90009676340
5424B7A1261975   JORGE        RIVERA                   CA          90007087012
5424B86945B531   JOLENE       RAY                      NM          90013748694
5425116465B399   STANLEY      RADER                    OR          90011881646
5425116814B521   CHARLES      SHUMAR                   OK          21595831681
542517A9172B43   SARA         MOON MURPHY              CO          90014127091
54251959672B67   HECTOR       TORRES                   CO          33014759596
5425218A55B399   JACOB        HELZER                   OR          90015201805
542527AA92B27B   JENNIFER     CARTER                   DC          81025777009
54252971272B38   JAVIER       ARVISO                   CO          90013019712
54252A27251348   STEPHANIE    CAMPBELL                 OH          90000340272
54252A71985928   ADAM         COWAN                    KY          90009070719
5425333A472B49   RAY          FERNANDEZ                CO          33021263304
54253A4485B543   KAREN        MACIAS                   NM          90001330448
54254A27184373   CINDY        BURTON                   SC          19072560271
542554A5431428   TERRY        DONALDSON                MO          90005394054
54256263572B43   JUAN         RUEDA                    CO          90009852635
5425637425758B   LAURA        MOORE                    NM          90013233742
54256988272B27   MARCO        VARGAS LOZA              CO          90013529882
54256A51872B49   AMY          GREGG                    CO          90013710518
5425753A372B36   TAMARA       MOSS                     CO          33017645303
54258156176B75   YOLANDA      ESTRADA                  CA          46009241561
5425819AA72B27   TERESA       PEREZ DE-FREYRE          CO          90002991900
5425844655B387   TED          RIGGS                    OR          90005574465
54258A3412B851   BRANDON      BUCKNER                  ID          42016680341
5425911945B393   ALEX         PINEDA DAVILA            OR          90009461194
54259A7A461975   CAMELIA      GALLEGOS                 CA          46081940704
5425B285372B38   FELICE       FRANCO                   CO          33059502853
5425B413372B49   CONSTANCE    MAESTAS                  CO          90005254133
54261147472B43   PAUL         BOES                     CO          90013431474
54261329A61971   ROBERTA A    TORRES                   CA          90007693290
5426154A74B588   CHANDLER     THOMAS                   OK          90010225407
54261661172B38   AURORA       GARCIA                   CO          33091776611
54261A23572B67   OSCAR        ROMAN                    CO          33090970235
54262689372B43   YARA EDITH   ZUBIA-RODRIGUEZ          CO          90013626893
5426297944B53B   KRISTI       GRIFFIN                  OK          21506249794
54262A2895715B   OSWALDO      CHAVARRIA                VA          90015010289
54262A37761973   RENE         RODRIGUEZ                CA          90014630377
54262A78933699   LAFRANCES    WINGATE                  NC          90009950789
5426325254B241   TIMESHA      PERKE                    NE          27015942525
54263279A55959   MARIA        JUAREZ                   CA          90014212790
5426369995B387   BRUCE        BIRCH                    OR          44550896999
5426399725B399   MANUEL       RAMIREZ ENRIQUEZ         OR          44572529972
5426456A372B38   BRANDI       NICHOLE                  CO          90012435603
54264626A4B588   TIMOTHY      CRITTENDEN               OK          90012746260
5426479515758B   SABRINA      LOZOYA                   NM          90010697951
54265165372B43   EDWIN        OLAM                     CO          90012661653
5426522167B46B   TONIA        GADDY                    NC          90015192216
5426527AA72B77   JACLYN       RICHARDSON               CO          33062442700
5426546225715B   MANUEL       GIRON                    VA          90000164622
5426556837B431   FELICIA      PRICE                    NC          90006485683
5426565862B851   EMILY        RAMIREZ                  ID          90001626586
54265A74933699   ROBERTA      JACKSON                  NC          12060050749
5426622317B46B   SHARDISA     BENJAMIN                 NC          90012872231
5426673853B399   KARLA        OLIVEROS                 CO          90001597385
54267A4367B46B   CESAR        BALDERAS                 NC          90012780436
5426825A65715B   EMILIANO     PEREZ                    VA          90001772506
54268AA785B543   HUMBERTO     DOMINGUEZ-ORTIZ          NM          35013500078
5426912275B393   MICHAEL      WAGNER                   OR          90007511227
5426914753B388   BRAD         WAITES                   CO          90000951475
54269662A72B27   ERIC         BADE                     CO          90011896620
54269683572B24   PETTER       TUPPS                    CO          90010586835
542696A995B387   MARIYA       HALL                     OR          44569126099
5426972A533699   ERIKA        LIVINGSTON               NC          90003907205
54269A3A493724   JOETTA       JACKSON                  OH          64515420304
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54269AA3376B75   JANICA      TABOR                     CA          90012580033
5426B288A61966   HEATHER     TAFT                      CA          90008472880
5426B39919186B   WILLIAM     RYAN                      OK          21041073991
5426BA64272B43   ROBERTO     QUINTANA                  CO          33081730642
54272131172B38   MELISSA     NEWBURY                   CO          90004101311
542724A817B46B   JARREAH     HERSON                    NC          90013554081
5427279765B387   TRINA       GARBARINO                 OR          44507027976
542732A565758B   GINGER      PAYAN                     NM          35525672056
542738A3785928   PATRICK     RAYMOND                   KY          67090468037
54274166A2B27B   CHRISTINE   COLLINS                   DC          90010931660
5427565A151348   HOPE        HEDGES                    OH          66045836501
542757A6276B75   SILENIA     MENDOZA                   CA          90006007062
54275981176B75   SONIA       PADILLA                   CA          90013969811
54275A41155959   FERNANDO    JARAMILLO                 CA          90014850411
5427642A885928   DEREK       CROWE                     KY          90013204208
54276783572B49   RACHEL      MAESTAS                   CO          33052327835
54276A2597B46B   DESTRY      MOSLEY                    NC          11001420259
5427753A693724   DENISE      BOSWORTH                  OH          90013085306
54277A92333645   CHARLES     GLOVOR                    NC          12013470923
5427854585B399   NANCY       AMBURGEY                  OR          90007275458
5427897A65B543   ANGELIC     ROMERO                    NM          35046909706
54278A77272B43   ATH         AUNG                      CO          90012160772
54279763A33645   RICHARD     KROL                      NC          12083617630
5427B582391587   ELSA        ANDRICK                   TX          75045965823
5427B785472B27   ADRIANNA    SMITH                     CO          90008817854
5427BA8A572B36   JOE         SLAPPY                    CO          33063490805
5428169934B536   KARINA      MOLINA                    OK          90012566993
5428177295715B   SANDRA      RODRIGUEZ                 VA          90015487729
5428263184B565   LA KIESHA   WHITFIELD                 OK          90008826318
54282862572B36   CHRISTINE   SMEDLEY                   CO          33051218625
54283264A81625   INA         EASLEY                    MO          90010982640
5428336175715B   KAREN       FLORES                    VA          90004733617
54283531998B2B   EBONY       HICKS-COSBY               NC          90011295319
542836A5472B43   JESUS       ROBLES                    CO          33034776054
54283A99972B49   MICHAEL     TAFOYA                    CO          33083760999
54284863172B43   KEITH       KOSTER                    CO          90011498631
54284A4865B387   JACOB       LANG                      OR          44538260486
54285716872B36   THOMAS      MELTZ                     CO          33056647168
542858A845758B   RITA        BOONE                     NM          90011868084
5428594A261971   ASHLEY      RECKLAU                   CA          90001739402
54285A56A42363   MONTEA      JOHNSON                   GA          90011170560
54286193A72B49   MALCOLM     MATTHEWS                  CO          33069151930
5428649A325424   LISA        CZKALLA                   TX          90012874903
54286A62685928   NORMAN      HADDIX                    KY          90010980626
54287242998B2B   ANDRE       MOORE                     NC          90006892429
5428727632B27B   APPOLLONA   MILLER                    DC          90013102763
5428784A372B33   KRISTINA    SHIVLEY                   CO          90011298403
54288426672B27   ALEXIS      MARTINEZ                  CO          90012724266
5428849215B531   KELLIE      SEDALL                    NM          35052954921
54288949276B75   MARSELA     AVILA                     CA          90013569492
54289241272B88   HEATHER     BRANNAN                   CO          33013582412
54289575972B36   FORTINO     GARCIA                    CO          90014175759
5428979AA76B75   SHAWN       MATTSON                   CA          90014567900
5428B14725758B   SHANIECE    MELENDREZ                 NM          90010181472
5428B196833699   ARIEL       DARDEN                    NC          90013231968
5428B53A693724   DENISE      BOSWORTH                  OH          90013085306
5428B682551367   JEFF        BRAMAM                    OH          90013906825
5428B683472B77   ADAM        JONES                     CO          33016586834
5429164937B46B   ALEX        VELASQUEZ                 NC          90014446493
54291A3A451348   RONALD      REEVES                    OH          66023460304
54291A9785715B   YAJAIRA     PORTILLO                  VA          81067830978
54292971A84373   KAM         PAU                       SC          90013469710
54292A35372B36   ALFREDO     GUTIERREZ                 CO          90011930353
54292A64A72B43   SARAH       BIGLEY                    CO          33090580640
54292AA9391895   MISTY       MARTIN                    OK          90007970093
5429329A772B36   SEBASTIAN   RAMOS                     CO          90004852907
54293423272B38   JOHN        MURPHY                    CO          33064324232
5429381345715B   RUBEN       VELASQUEZ                 VA          81005068134
5429395995B387   PATRICIA    MARTZ                     OR          90005429599
5429527525B399   ANA         GONZALEZ                  OR          90015182752
54295341672B43   JERMAINE    WHITTINGTON               CO          90013773416
5429535A351348   LAVONDA     MOORE                     OH          90002103503
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5429664323B387   CASSIE           CAMPBELL             CO          90009446432
5429666A15715B   EDILBERTO        ANDREA               VA          90010246601
542966A165B387   LEONARD JOSEPH   ARNOLD               OR          90013956016
542967A9461975   OGBA             WOLDEGIORGIS         CA          90000117094
5429685A276B75   JOLYN            SANDERS              CA          90012488502
54296973272B38   KIMBERLY         GREB                 CO          90013019732
5429751965758B   FLOR             RYAN                 NM          90014875196
542979A4772B27   CLARENCE         CRUTCHFIELD          CO          90001139047
54297A38A2B27B   ANTON            REID                 DC          90011050380
54297A89184373   CHEKETA          SINGLETON            SC          90015010891
5429812122B27B   ANDREA           INMAN                DC          81097171212
54298323A5B543   MICHAEL P.       JONES                NM          90002863230
54298955272B27   CHRISTINA        SERGO                CO          33021919552
54298A79A61973   MARIA            WADLER               CA          90012850790
5429988815B543   KEVIN            ADKINS               NM          35080888881
5429B185461975   NILO             VERGARDA             CA          90002931854
5429B47185B531   MAURICIO         ESPERANZA            NM          90010344718
5429B618784373   SHAWN            SWINTON              SC          19006366187
5429B66585715B   VICTOR           QUINTERO             VA          90012796658
5429B67332B851   MICHAEL          SONNENBERG           ID          90010106733
5429B838655959   MARCELO          AYALA                CA          48055758386
5429B897333696   NKENGE           CARTER               NC          90013138973
542B14A5233696   KELLEN           MCDONOUGH            NC          90013194052
542B1599172B27   SATORU           HIGASHI              CO          90012345991
542B1A94572B43   RONALDO          ALVAREZ              CO          33005910945
542B251A65B531   JEANNETTE        ELLANO               NM          90014825106
542B2894861971   DANIEL           CASTREJON            CA          46068628948
542B3342661973   OLEIDA           SALAZAR              CA          90002863426
542B342245715B   MARISSA          FULLER               VA          90002184224
542B3912372B38   JUAN             PACHECO              CO          33010609123
542B4243755935   ROSA             REYES                CA          90008972437
542B4722972B43   BRIANA           LISMAN               CO          90012167229
542B48AA536165   DONNA            JONES                TX          90008618005
542B524A25715B   CALVIN           BOXLEY               VA          90012402402
542B56A6491587   RODRIGUEZ        ANN MARIE            TX          90001216064
542B612A672B43   ABRAHAM          GONZALEZ             CO          33094521206
542B6165484373   MAKAYLA          STOKES               SC          90012711654
542B6228572B38   MARCELINO        A LEIJA              CO          90013922285
542B641A751348   TINA             ABNEY                OH          66085424107
542B6678561975   ERIKA            GARCIA               CA          90005846785
542B6A37957157   CRYSTAL          ARRINGTON            VA          81093190379
542B8A86A61973   JESSICA          ZAZUETA              CA          90012850860
542B956112B221   CHARLES          JOHNSON              DC          81057515611
542B9875761975   JARRETT          EARLY                CA          90010078757
542B9977293724   ANGELIA          BEATY                OH          90009349772
542BB24A95758B   JENNIFER         QUINTANA             NM          35504532409
542BB2A6961975   SANTIAGO         ZARATE               CA          90013472069
542BB59185B283   TAMMY            MINGUS               KY          68084975918
542BB89755B531   ANGELIQUE        GARCIA               NM          35079898975
542BB989772B36   STEVE            SONNER               CO          90013689897
542BBA9595715B   IRIS             LARA                 VA          90012700959
5431237465B387   MASIKA           KANYERE              OR          90011283746
5431238A172B77   ANN              DAVES                CO          33062953801
5431245544B563   CORY             HANCOCK              OK          90013804554
5431246575715B   ANTULIO          LOPEZ CRESPO         VA          90011084657
54312513A7B46B   ALBA             MONDRAGON MORALES    NC          90012675130
5431254A961975   MARCO            RAMIREZ              CA          46010335409
54312A71872B49   BETTY            MARTINEZ             CO          33099750718
5431351AA84852   PAUL             CASTREJON            NJ          90015505100
5431362332B235   DEBRA            HARRISON             DC          90011376233
54313A35733696   WLLIAM           PEACOCK              NC          90013670357
54314289876B75   GRACIELA         GONZALEZ             CA          46031912898
5431529185B393   LYNDIE           HOLTHAUS             OR          90003902918
54315488972B36   JOANDRA          ROMERO               CO          90009514889
54316173A72B27   MELISSA          LEIGHT TENNEY        CO          90009451730
5431635744B579   STAPHANIE        BRANCH               OK          90002873574
543165A4672B49   WALTER           GUTIERREZ            CO          90005885046
54316A87191587   JANET            LOPEZ                TX          75016470871
543171A9193724   JESSICA          KREITZER             OH          90013951091
5431758A372B43   JAVIER           RAMIEREZ-ALBINO      CO          33043315803
54318931572B49   ALICIA           RODRIGUEZ            CO          33052109315
54318A1A491895   ALEJANDRO        RUIZ                 OK          21061250104
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5431913A472B88   KAYLEE          BUCHANAN              CO          90008601304
54319577A72B38   JOSE            GUARDADO              CO          90013355770
543197AA785928   NAEL            LOPEZ                 KY          90013317007
5431B124661975   SANDRA          RAMIREZ               CA          90014331246
5431B251761973   ESAMARA         PENA                  CA          90008152517
5431B2A9A91895   RAYCHEL         LAIRD                 OK          90014392090
54321A76791895   CHRISTINA       BARBERO               OK          90008080767
54322112372B38   JESUS           PINEDA                CO          90012991123
54322341772B88   ROBERT          LATTMAN               CO          33073513417
5432234454B588   DANESHA         PONDER                OK          90014863445
5432239545B399   JOSHUA          DAMEWOOD              OR          90009183954
5432278235B399   KRISTINE        WAYER                 OR          90005837823
5432281A372B38   MELISSA         JONES                 CO          33067578103
5432283A961975   ABELARDO        DURON                 CA          90011868309
5432357735B399   PATRICK         SCHAAN                OR          90007175773
5432368A55715B   DIOVANNA        BAZAN                 VA          90011846805
54323772572B27   MANUEL          GARCIA                CO          33012907725
5432392A155959   ADRIAN          SILVA                 CA          90014459201
5432445255B399   KELLIE          MEYERS                OR          44577114525
54324538772B27   RENEE           WITHMORE              CO          33052105387
54325598A51348   RANDALL         GLARDON               OH          90012225980
5432583172B27B   NICHOLE         HICKSON               DC          90007548317
5432584464B588   SANDRA          VALDEZ                OK          90013178446
5432656122B27B   TYNESIA         MCCRAY                DC          90002145612
5432665574B588   KEEGON          EISENHART             OK          90014476557
54326A1A972B36   RICO            CAPONE                CO          90013590109
5432716545B531   JAIME           YBARRA                NM          35044081654
543272A4472B43   HANNA           NANNOLE               CO          90014012044
5432754785B393   SHELDON         SHINN                 OR          90010855478
5432767695758B   LYDIA M         ANTILLON              NM          90002096769
5432835415B283   JAMES           KESSINGER             KY          90012203541
5432865314B251   SARAH           METCALF               NE          90009296531
54329138A61975   TRINIDAD        ESPINOZA              CA          90014241380
5432954915B531   PATRICA         GUERECA               NM          35030435491
5432B138372B38   SHANNON         BAKER                 CO          90003221383
5432B43975715B   CARMEN          GARCIA                VA          90012394397
5432B73465B531   ROBYN           COSBY                 NM          35077517346
5432B742251353   CHRIS           SCHUELER              OH          66035467422
5433198172B27B   JOSE            SALAZAR               VA          81050759817
54331A2515B543   JOSE            CABRAL                NM          35016580251
54333822A93724   VAN             FOSTER                OH          90011648220
54333A58376B75   DIANA           GUEVARA               CA          90003650583
5433465795715B   AGUSTA          ACHULLE               VA          90010986579
54335669172B43   JOSE            AMADOR                CO          33055706691
54335914572B36   LAKESHA         MANLEY                CO          90010149145
5433598675715B   RICARDO         HERNANDEZ             VA          90014909867
54336512A55959   LANBERTO        MENDRANO              CA          90011465120
54336A48361975   MONICA          CAMARGO               CA          90009670483
543376A9361975   ISABELA         SUTHERLAND            CA          46036476093
5433855485758B   ROSA            DURAN                 NM          35571795548
54338973272B38   KIMBERLY        GREB                  CO          90013019732
54338A35872B27   SIERRA          DOXTATER              CO          90012750358
54338A41133699   KIMBERLY        JACKSON               NC          90012370411
54339692172B88   PEARL           BLUEBACK              CO          33072926921
5433B542A72B27   ARTURO          CHAPARRO              CO          90000145420
5433B74794B562   JEWEL           JOHNSON               OK          90004967479
5433B91A284373   MANUEL          ROSARIO               SC          19067299102
543413A9861975   CHRISTOMER      SCHERMAN              CA          90013873098
54341463372B43   LINDELL         ROBERSON              CO          90008884633
54341514A5B387   CRYSTAL         PURIFOY               OR          90003535140
5434152A355959   JAIME           TORRES                CA          48018075203
54342178872B27   LAMBORGHINI     BORREGO               CO          90012741788
54342235872B49   ROSA PATRICIA   ONTIVEROS             CO          90013932358
54342377276B75   ESMERALDA       PRETTY                CA          90013833772
54342A9935B531   DEANNA          HERRERA               NM          90006060993
54343278A5B531   DANIEL          SENA                  NM          90014392780
5434328597B46B   LEWIS           BALDWIN               NC          90013472859
54343A4295715B   YOVANY          PEREZ                 VA          90013020429
54343A75272B38   JAYDEEN         JACOBO                CO          90011570752
54343AA975B387   SARAH           SKEREI                OR          90011880097
54344171A5758B   LUIS            LOZANO                NM          90015301710
54344288157B23   TED             VANCOSKY              PA          90014792881
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5434462935B387   JOSE                SERRANO                OR     90013956293
54344869672B36   FLORES              MARIA                  CO     90010108696
5434599AA33699   SHARIKKA            FORD                   NC     90010819900
5434626922B27B   SONIA P             GUTIERREZ              DC     90012362692
5434672845B399   KRISTY              BANKS                  OR     44597387284
5434684667B356   ZOZIMO              PERDOMO                VA     90003838466
5434687982B27B   MIRENA              HEIGH                  DC     90012428798
54347833A61971   VERONICA            GARCIA                 CA     90007698330
54348148172B38   WILLIAM             BALL                   CO     90005281481
5434895615B393   JANET               SISCO                  OR     90006959561
54348A97A5B387   HEIDI               KRISTAN                OR     90013990970
54349173472B38   CHRISTIANA          LOCKE                  CO     90006391734
543492A915B399   KYLE                MASON                  OR     90015232091
5434933A961975   ROCHA               YVETTE                 CA     90010733309
543498A735B399   KYLE                MASON                  OR     90014858073
543511A3272B38   JOSHUA              DAVENPORT              CO     33077761032
54351282257B81   KALI                JONES                  PA     90009792822
5435161762B237   BERHAN              KIDANE                 DC     90003506176
54351964676B75   DEREK               BELLAMY                CA     46031129646
54352117372B38   HERLINDA            DETORALES              CO     90012991173
5435228495B531   MICHELLE            CORDOVA                NM     35041252849
54352716372B43   ROBERTO             ALVARES                CO     33077567163
5435279A684357   PAYGO               IVR ACTIVATION         SC     90006617906
5435325855B531   OLGA                AGUILAR                NM     35035442585
5435387175715B   MARISOL             MONTEROSO              VA     90013428717
543542A9291587   JAZMIN              MEDINA                 TX     75001292092
54354A16672B38   RICARDO             ARIAS                  CO     90010030166
54355413172B43   TERESA              CASILLAS-VASQUEZ       CO     33061374131
5435631165758B   QUADALUPE           ONTIVEROS              NM     90013083116
543567A7872B43   ALL                 FITNESS INSTALLATION   CO     33055707078
5435742A84B588   MAKYLA              ROBINSON               OK     90010494208
5435848955B283   JESSICA             LAROCCO                KY     90004884895
5435897825758B   NORAYMA             CHAVEZ                 NM     90013399782
543591AA172B38   JOSE                LOPEZ                  CO     33075561001
5435935143B35B   GERARDO             GAMBOA                 CO     90013383514
54359631272B49   CHRISTY             GRAYUM                 CO     90002766312
5435B618985928   ARNITA              CARTER                 KY     90007786189
5435B62935B387   JOSE                SERRANO                OR     90013956293
5435B792161973   JAZMIN              OROPEZA                CA     90012607921
5436144764B588   DANIEL              MILLSAP                OK     90001344476
5436172A15B283   JEANNE              HABEGGER               KY     68023187201
54362145272B36   JONATHAN            OSBORNE                CO     90013941452
54362263572B27   KIMBERLY            RAYMER                 CO     90009882635
5436263A15B387   JUVENTINO           SANTOS CAMPOS          OR     90013956301
5436265112B27B   WILLIAM             ARTZ                   DC     90011516511
54362694676B75   NINFA               MORALES                CA     90012276946
5436383377B46B   WENDY               MERALY                 NC     90013928337
54363A3A172B67   MARCELA             RAMIREZ-SANDOVAL       CO     33028280301
5436426535758B   YVONN               SANCHEZ                NM     90014832653
54364363772B77   IRAIS               GARCIA                 CO     33069073637
5436478684128B   MOHIT               JHAMB                  PA     51092967868
5436494755B387   JENNIFER            RODRIGUEZ-BENSON       OR     90014999475
54365384472B49   PEGGY               ARGUELLO               CO     33074513844
54365729A2B241   BERTHRAND           ANEKE                  DC     90005397290
543661AA455959   SILVIA              GUILLEN                CA     48033591004
5436646685715B   MARIA DEL ROSARIO   HERRERA                VA     90014434668
5436654165758B   KATALINA            HERNANDEZ              NM     90013695416
54367981472B36   MARTIN              FLORES                 CO     90013239814
54368325976B75   GREGORIO            ARMENTA                CA     90011313259
5436833755B393   ESMIRNA             RABANALES              OR     90011503375
5436835374B521   KEVIN               LITTLE                 OK     21518013537
5436924635B399   PATRICK             HUMPHRIES              OR     90014462463
543693AA75715B   ROXANA YESENIA      OCHOA                  VA     90015143007
5436B1A5631436   MARGARETTE          HOWARD                 MO     27500081056
5436B719191895   VIRGINIA            EVANS                  OK     21090887191
5436B735493724   JASEN               JONES                  OH     64509487354
5436B857172B67   SHANE               SUMSTAD                CO     90006398571
5437115312B27B   TENNRELLE           JONES                  DC     90011661531
543724A8272B38   ISABEL              RAMIREZ                CO     33043384082
54372643672B36   SHAWN               FLOREZ                 CO     90012396436
5437269615B283   SHANNON             KATS                   KY     68062846961
5437273797B46B   EBONY               STURDIVANT             NC     90012257379
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5437325357B46B   GERARDO      CARREON                  NC          90000652535
54373291472B67   MARIA        GARZA                    CO          33062372914
543736A2591895   JOSPEHINE    REYES                    OK          90004246025
54374572172B36   JEANNIE      MEAGHER                  CO          90010055721
5437484878B183   MARKUS       CARTON                   UT          90003328487
5437533AA5B531   JAMAL        MITCHELL                 NM          90013453300
5437556A24B588   SHONNA       EDWARDS                  OK          90015015602
5437566A255959   MARIA        DIAS                     CA          90014356602
54376156472B27   SERGIO       QUINONEZ                 CO          90011491564
54376225A51348   EDGAR        PELCASTRE                OH          90010562250
5437685344B588   HUE          NGUYEN                   OK          90011498534
54376993972B38   VINCE        HUEY                     CO          90013019939
5437718A972B27   GILBERTO     CALDERON                 CO          90007601809
5437756A733696   MICHEAL      HALL                     NC          90003605607
54377723276B75   JOSEFINA     GUTIERREZ                CA          46024527232
54377899972B36   CHACH AUTO   REPAIR AND BODY          CO          90010078999
54377A33577322   TOMMY        LABOY                     IL         90015590335
5437818924B588   ALEJANDRO    NUNEZ                    OK          90005621892
543781A6972B38   ANTONIO      DE-ANDA                  CO          90001161069
543785A6184373   ROSEMARY     THOMPSON                 SC          19056605061
54379132272B36   ROBERT       ARCHULETA                CO          90013151322
5437963185B397   STERLING     WRIGHT                   OR          90013106318
5437964865B387   KACIE        WILCOX                   OR          90013956486
54379848376B75   SERGIO       SANCHES                  CA          90014168483
5437997498B142   JUSTIN       ISAACSON                 UT          90005099749
5437B684233696   TRON         BLACKWELL                NC          90015056842
54381388A5B393   WILLIAM      SHOOK                    OR          90004223880
543813A2176B75   AGUSTIN      ARAGON                   CA          46002283021
5438143A32B27B   TRACY        RAINES                   DC          90012314303
543822AA24B588   DEE          JOULE                    OK          90014712002
54383126A2B851   PENNY        SANCHEZ                  ID          42016851260
5438315835B387   JARED        HOLMGREN                 OR          44551121583
54383572698B2B   ALAN         DOMINGUEZ                NC          90011295726
5438357A15B399   KRYSTAL      MANSKER                  OR          90002055701
5438441815B531   MARIA        CHAVEZ                   NM          90015274181
5438543275B561   BERENICE     TERRAZAS                 NM          90011754327
54385662772B36   RICHARD      NIELSEN                  CO          90012456627
5438566A87B46B   JODY         WATSON                   NC          90015576608
543859A482B851   KATY         BENSON                   ID          42044249048
54386A99672B58   MICHAEL      PEREZ                    CO          90013970996
54387274372B49   JESUS        PEREZ                    CO          90000492743
5438778515758B   JAQUELINEE   GUTIERREZ                NM          90010707851
5438819A161971   TINA         DAVIS                    CA          46009901901
5438853154B588   TEHRI        OLIVER                   OK          90013095315
5438865687B46B   MATTHEW      HEMDERSON                NC          90012506568
5438869845B531   VALERIE      CERRANTES                NM          35088996984
5438872867B46B   CARMEN       MUMFORD                  NC          90014757286
5438892968B163   TED          CYRUS                    UT          90008269296
54389548176B75   CELEDONIO    PACHECO                  CA          46021115481
54389792272B43   CHERYL       MORRISON                 CO          90014337922
5438B31124B521   TENNISE      ROBERTS                  OK          90005623112
5439112487B46B   AUDILIO      FUENTES                  NC          90004441248
54391198472B88   ERICA        BARELA                   CO          33080721984
5439192564B588   BARBARA      FULTZ                    OK          21516209256
543934A2733696   DAVID        DAVIS                    NC          90013214027
5439368872B27B   STAROLD      CELISTAN                 DC          90014896887
5439429A327B48   MIN          HLUN                     KY          90015352903
54394455A72B27   MARCELA      TREJO                    CO          33016664550
54394998672B43   SARA         DEVONN THOMPSON          CO          90013399986
5439519164B521   JOSHUA       WELCH                    OK          21509301916
5439534915758B   RUTH         GUTIERREZ                NM          90006793491
54395354176B75   SUSANA       PINA                     CA          46052493541
5439556477B358   NICOLE       POWELL                   VA          90006635647
5439566665B387   VANESSA      RICE                     OR          90006416666
54395A86A61973   JESSICA      ZAZUETA                  CA          90012850860
543961AA191587   VALERIA      TERAN                    TX          90014401001
543963A4A5B393   MAXIMINO     CRUZ                     OR          44530933040
54396539672B27   JASON        NOTHWANG                 CO          90014575396
543967A8561971   LIZETH       TORRES                   CA          90013067085
54397363672B67   AARON        HUMPHREY                 CO          90006683636
54397612372B36   HEE YOUNG    LEE                      CO          90013966123
543976A7A85928   LESLEE       REYNOLDS                 KY          67006916070
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54397A83472B38   TANYA           HINOJOSA              CO          90010300834
5439854AA76B75   DAVID           FERRENCE              CA          90012755400
5439888185B531   PERLA           FELIX                 NM          35016928818
54398A29161971   KIMIE           JOHNSON               CA          46083450291
54399128672B38   NYDIA           CARDENAS              CO          90012991286
54399152A5B399   EUGENIO         GARCIA                OR          44587461520
54399336972B43   ASHLEY          JARAMILLO             CO          33043873369
54399468572B36   JOHN RAY        GIVENS                CO          90008034685
5439956595758B   CHRISTINE       CARILLO               NM          90007725659
5439981AA61971   ORLANDO         FRIAS                 CA          90004158100
5439B7A6672B49   RACHEL          ORTEGON               CO          33023967066
543B1235891587   NOEMI           MUNIZ                 TX          90009332358
543B1579933696   ANTONIA         MEJIA                 NC          90013705799
543B1632672B77   JEREMIAH        WALL                  CO          33085496326
543B177765715B   MELVIN          FOSTER                VA          90014727776
543B1A6645B399   SUZANNE         CZECHOWSKI            OR          90015310664
543B2158991587   VANESSA         BATTLE                TX          90014771589
543B2161361971   TAYLOR          SMITH                 CA          90013671613
543B21AA15B393   LIEBE           ARMSTRONG             OR          44504931001
543B2259831428   TERINA          HILL                  MO          90014412598
543B23AA172B38   HARLINDA        FLORES                CO          90004463001
543B319645B387   SHAWNDAHLEIGH   BAXTER                OR          90012941964
543B3646761971   CARMEN          ISLAND                CA          90007276467
543B371135B543   ROSA            ACOSTA-TORRES         NM          35051597113
543B39A175B399   CLONDY          NAVARRO               OR          90013949017
543B481A35B393   CHRISTOPHE      COOK                  OR          44523258103
543B4852755959   SAULD M         REYNOSO               CA          90005648527
543B499A361973   MICHAEL         ACOSTA                CA          90009299903
543B49A315B531   JESSE           MOLINA                NM          35081559031
543B5362672B88   DIANA           BOKER                 CO          90010763626
543B5623972B38   RENE ALBERTO    CANAS VALDEZ          CO          90010316239
543B5796272B36   RACHELLE        TAPLIN                CO          90011387962
543B6153884373   ALBERT          RUSS                  SC          90013651538
543B6266455959   NONE            NNOE                  CA          90007712664
543B7464385928   WENONA          TRAPP                 KY          67021144643
543B7827376B75   DORA            ALVARENGA             CA          46034288273
543B7846A91587   NAPOLEON        MAYORGA               TX          90014848460
543B7894961975   DIANNE          TORRES                CA          90013238949
543B7A96584373   GUALBERTO       CRUZ                  SC          90009210965
543B92A8885928   ROBERT          GRAHAM                KY          90014172088
543B9A64333699   MARGARET        PETERS                NC          12000780643
543BB222433696   JERMAYN         WILLIAMS              NC          90013212224
543BB541191587   STEPHEN         WILLIAMS              TX          90013805411
543BB6A3972B77   ANCELMO         GARFIO                CO          33062446039
543BB723385B52   MICHELLE        HOUDIN                FL          90015527233
543BB894684373   ALBERTA         SIMMONS               SC          19081858946
5441149965715B   PETROS          BOKRETSION            VA          90012394996
54411587372B77   MIKE            MIN                   CO          90008675873
54412159A5715B   WILMER          HERNANDEZ             VA          90012591590
5441224995B176   TERRY           WATSON                AR          90003452499
5441276645758B   JORDAN          CUEVAS                NM          90013757664
5441298A255959   JOSE            REYNA                 CA          48068879802
54412A83251348   MARY            BURKART               OH          90002910832
5441325212B851   ANTHONY         ISOLATO               ID          90008312521
5441341645B393   ROBINA          SHAHEEN               OR          44533024164
5441352885B247   DAVID           STAHL                 KY          90013165288
5441531367B46B   DANIEL          MORRIS                NC          90010633136
5441573212B272   SALINA          BURNO                 DC          81006917321
54416521772B36   SANDRA          RIVAS                 CO          90007675217
54416598A98B2B   ANTHONY         WILLIAMS              NC          90011295980
54416895876B75   LUIS            CASTELLANOS           CA          46075298958
54417178872B43   BENITO          PARAS                 CO          90004871788
54417644472B49   NATASHA         AUSTIN                CO          90012246444
5441842855758B   ERIC            TALAMANTES            NM          90014324285
54418459372B49   MARIBEL         RAMOS-EVARISTO        CO          33023314593
5441852A791895   JORGE           MONDRAGON             OK          90012665207
54418544372B36   ROBERT          VALENCIA              CO          90014915443
54418927172B88   ALADIA          LEDKINS               CO          33072839271
544189A7955959   ALEX            AVALOS                CA          48091099079
544194A977B631   PENNY           FRAZIER               GA          15008654097
5441957325B393   MICHEAL         THOMAS                OR          90010975732
544196A9872B88   ERIK            FITZWATER             CO          90003246098
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5441989255B387   MARVEL             SMITH               OR         44525918925
544199A9947877   JASMINE            CHESTER             GA         90012209099
5441B287A72B27   JUAN               ORDUNA ZAGAL        CO         33070002870
5441B289993724   STEVEN             BOYEE               OH         90013952899
5441B3A372B29B   VALERIO            CABRERA             DC         90007013037
5441B432441273   KRISTIN            MARSELLA            PA         51042264324
5441B577976B75   FERNANDA           RIVAS               CA         90013815779
5441B646A7B46B   ADELINA            SANTOS              NC         90013356460
5442197545758B   KAYLA              SCHULZ              NM         90015149754
54421A77261971   NOE                VILLANUEVA          CA         90012980772
54422332A7B46B   VISTINE            BISHOP              NC         90014883320
5442246415758B   SCOTT              EDWARD              NM         90013964641
5442251A35B399   MIRANDA K          POWELL              OR         90002175103
5442269874B588   RAUDEL             CASTANEDA           OK         21557206987
5442273A951348   LINDA              ROBERTSON           OH         90010697309
54422795172B27   MATHILDE           BODIFORD            CO         90003027951
54422A96A7B389   DEBORA ANN         THOMAS              VA         81026050960
54423329472B27   CHAELA             QUEEN               CO         90015123294
54423339A72B27   CHAELA             QUEEN               CO         90003433390
5442428725B399   MAX                LOVATO              OR         44576682872
54424693A61973   EDWIN              QUIAMBAO            CA         90012886930
544246A9272B38   JUANITA            GONZALES            CO         90009506092
54424A2914B588   MELISSA            RESENDIZ            OK         90013810291
5442514735B543   JOYCE              SANTANA             NM         90007241473
54425156872B27   ALEJANDRO          TALAMANTES          CO         90012741568
54425393376B75   MARIA              CHADWICK            CA         90012673933
544269A1155959   JOVANY             PEREZ               CA         90009869011
5442787934B588   JACQUELINE         WALKER              OK         90012368793
54427893A72B38   ROSENY             RIOS                CO         90005368930
54428255572B49   EDILBERTO          SUSANO V            CO         33012172555
544284A9172B27   FREDERICK          VENETTE II          CO         90014824091
5442898A872B77   PARIS              ROSENQUIST          CO         90005999808
54429129572B27   HOLLY              VAN KLEEK           CO         33014461295
54429289776B41   FREDDY             BENITEZ             CA         90002102897
54429849372B36   ORLANDO            GUERRERO            CO         90013598493
5442B412172B67   GERALD             BARELA              CO         33035634121
5442B641861973   JORGE              CANO                CA         90013046418
5442B67135B387   JUDITH             JARJU               OR         90013956713
5442B79197B358   SAKHON             HAM                 VA         90000947919
5442B98985758B   DORIS              SULLIVAN            NM         90013859898
54431A9237B46B   ARNOLD             CROWELL JR          NC         11079860923
544322A6172B49   NORMA              LEYVA               CO         33018012061
5443233255715B   MARIO              LAINEZ              VA         90014343325
54432698A91895   CODY               GANT                OK         90014226980
5443299732B851   LAVAUN             JAUREGUI            ID         42091969973
5443332455758B   SYLVIA             ACUNA               NM         35566823245
5443462145B399   CLAYTON            KLEIN               OR         90007086214
54435499172B88   ROGELIO            FAUDOA              CO         33083704991
54435597A55959   CARLOS             CANO                CA         90014735970
5443578695B531   NORMAN             SANTIAGO            NM         90010357869
5443647765B531   BEATRIZ            CHAVEZ              NM         90010244776
544376A5157157   MIGUEL             MORALEZ             VA         81055666051
54437AA5993724   EDWARD             HARRIS              OH         64584090059
54438A17633699   ALVIN              ALLEN               NC         90011360176
54439111572B38   MARIA DEL CARMEN   ESTRADA-TOLENTINO   CO         90011571115
54439A77872B49   TRIPP              GOESSMAN            CO         90014830778
5443B238531428   CECILIA            LORENSO             MO         27569352385
5443B2A6872B38   RITA               CHITWOOD            CO         33088282068
5443BA1965B531   DORA               DOMINGUEZ CHAVEZ    NM         90007630196
5444115394B922   JASON              PETTIES             TX         90009391539
54441253772B27   KAYLLA             NEFF                CO         90000132537
5444129732B27B   ROBERT             SIMMS               DC         81025852973
544414A115715B   NATHANIEL          JONES               VA         81027364011
5444174284B588   LAUREL             SMALLWOOD           OK         90011987428
54443121A4B588   MYRNA              JOHNSON             OK         90014511210
5444343865B393   DAVID              JACOBO              OR         44542944386
54444358572B27   DCHELLE            KERFORD             CO         90013243585
54444375972B27   ALBERT             RAMOS               CO         90011093759
54445268772B49   ELIZABETH          JACQUEZ             CO         90009602687
5444539A55758B   JIMENEZ            RUFINO              NM         90005883905
544455A595B399   BRAD               WYATT               OR         90014405059
5444617825758B   VERONICA           PAYAN               NM         90008201782
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5444645164B588   TIME               THOMAS             OK          90011374516
5444779285B399   JENNIFER           GLOY               OR          90006677928
54449A36A61975   GINA               BAUMAN             CA          90013310360
5444B355161973   HUGO ENRIQUE       TAPIA AVILA        CA          90006793551
5444B769384373   TAYLOR             BAKER              SC          19081957693
5444BA87451348   ELISEO             GUTIERREZ          OH          90006130874
54451254A31429   RONALD             PAULE              MO          90013962540
54451618A5B393   LARISA             KURMAYEVA          OR          44547446180
5445171414B588   ZULEICA            VASQUEZ            OK          90013207141
54451988872B49   SOURACHATH         ROJANAPHONG        CO          90012679888
54451A5225758B   RICARDO            LAZONO             NM          90007690522
54453238776B75   STEVE              SANCHEZ            CA          90013912387
544537A4598B2B   JOSE               DE OLIVERA         NC          90011297045
5445478227B46B   ONORIO             BARAJAS LOPEZ      NC          90013297822
54454848972B36   TORY               BLACK              CO          90011948489
54455374172B43   GEORGE             FLEISCHMANN        CO          33008713741
5445543845758B   MARIA              RIVERA             NM          90002654384
5445645422B27B   DARMEISHA          WHEELER            DC          90015244542
544564A9291587   ELVIRA             SANCHEZ            TX          90012404092
54456895572B38   JACKIE             CARSON             CO          90014658955
544578A258B142   MINDY OR BRENDAN   WHEELER            UT          90010208025
544579A8657157   BERNARDETT         BURLEY             VA          81085179086
5445821532B27B   TERNIZA            EVANS              DC          90000412153
5445834824B588   PATRICIA           OLVERA             OK          90013203482
5445891585B399   RAYMOND            JIPSON             OR          44562589158
54458957A5715B   YOL                PETER              VA          90010459570
5445B24955758B   BRYAN              GUTIERREZ          NM          90013842495
5445B513A72B88   DEREK              WATT               CO          90003625130
5445B525661975   THELMA             PERALTA            CA          46068735256
5445B563A61971   MELLISA            DILLENBECK         CA          46034155630
5446131545B393   MARIA              PINTO              OR          44561653154
5446134A12B27B   INGA               BROWN              DC          90014513401
5446158875715B   NAYBA              PANA               VA          90013005887
54461A51361973   CRYSTAL            ISLE               CA          46075030513
5446246182B851   CAROL              RICKER             ID          42017024618
5446249125715B   BRYAN              HOLTON             VA          81044274912
54462675372B43   RICHARD            KIECKHAEFER        CO          33039886753
54462786172B27   YVETTE             SANDERS            CO          33013837861
5446327583B381   ESTHER             SOLES              CO          33044562758
54463378A85928   JERMOL             SIMMONS            KY          90012523780
5446339A161971   JOSEPH             PETERS             CA          90014313901
5446442A947959   NICOLE             BARRON             AR          90004384209
5446471375715B   MAURICIO           DIAZ               VA          81096307137
5446485544B588   ANTHONY            JACKSON            OK          90012418554
54465A7555758B   ROSE               CALLAHAN           NM          90011890755
54466142A5B543   ATTWOOD            NELMA              NM          90000541420
54466151A5B387   SARA               CURL               OR          90014371510
5446716932B27B   MYRON              ATKINS             DC          90014661693
5446768952B27B   ANDREW             B                  DC          90007576895
54467768576B75   PAMELA             RAMIREZ            CA          90012747685
54467A5237B46B   MAURISE            CLARK              NC          90010160523
5446816375758B   ADAM               SEDILLO            NM          90011741637
54468A6115B387   JOSH               BENZINGER          OR          90013970611
5446913212B851   KAYLA              RHOADES            ID          42087711321
54469295672B43   ERNEST             DAKOLIOS           CO          90006992956
5446936974B588   ATINA              PULLIAM            OK          90005563697
54469417672B49   RACHEL             GALLEGOS           CO          90012784176
54469732A5B387   MARIA              MARTINEZ           OR          44589887320
5446B255391895   JACKIE             GARDNER            OK          90009992553
5446B46182B851   CAROL              RICKER             ID          42017024618
5446B66A255959   MARIA              DIAS               CA          90014356602
544715AA155959   JOSE               ARCIGA             CA          90013405001
54471764A7B46B   CARLOS ANTINO      THOMAS             NC          90012097640
54473282576B75   SANDRA             BOWMAN             CA          90013642825
544732A5172B36   JULIA              ARAGON             CO          90003722051
544734A9291587   ELVIRA             SANCHEZ            TX          90012404092
54473569A5758B   SAMANTHA           BURNSIDE           NM          90014045690
5447476A551348   GINA               PARTIN             OH          66089717605
54474AA3998B2B   KATHERINE          MILLER             NC          90012210039
5447594985B387   DESTINY            WAJDIK             OR          90011619498
5447616A62B272   ROBIN              MCKINNEY           DC          90010891606
54476236876B84   ANTHONY            CAMPBELL           CA          90011032368
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5447669A172B49   FAJETTE       JENKINS                 CO          33031416901
54476A4795B531   JOHNNY        MIRABAL                 NM          90014550479
5447715134B588   ESTEBAN       SERNAN                  OK          90012271513
5447769324B521   KEVIN         HILL                    OK          90005626932
5447787945715B   JHONNY        ZUNIGA                  VA          90013418794
5447791AA84852   PABLO         MORFIN                  NJ          90015169100
5447847595715B   JULISA        FUENTES                 VA          90007854759
54479274A5715B   CRUZ          AREVALO                 VA          90011232740
5447949872B851   LINDA         ALANIZ                  ID          42093964987
54479629372B36   TRAVIS        ROTH                    CO          33008126293
54479A31933699   LYNETTE       BROWN                   NC          90004220319
5447B2AAA85928   CARLA         MITCHELL                KY          67019232000
5447B321393724   MIKE          ROWE                    OH          90013953213
5447B415972B88   MERCEDES      CHAVEZ                  CO          90006964159
5447B692793724   THERESA       SHANNON                 OH          90014906927
5447B93A67B46B   SILVIA        RAMIREZ                 NC          90012309306
5448122552B27B   ANDREA        BERECIARTU              VA          90000412255
5448129234B588   TOMMY         NAMMIXAY                OK          90002182923
5448143A75B399   VICTOR        MENDOZA RAMOS           OR          90013364307
5448147355B387   TATYANA       VASQUEZ                 OR          90013474735
5448324A25715B   CALVIN        BOXLEY                  VA          90012402402
544836A214B588   BRITTANY      HALBERT                 OK          90011956021
5448413335758B   JUAN          REYMUNDO                NM          90007931333
54484331572B27   DONI          MARSELIES               CO          33063143315
5448456542B851   CESAR         RODRIGUEZ               ID          42097145654
5448487A733699   OKEYMA        LEWIS                   NC          90012958707
544848AA684373   DONNA         MCKINNEY                SC          90013988006
54485436372B67   CLAIRE        CLARK                   CO          90002274363
54486148576B75   NANCY         VELZQUEZ                CA          90013681485
5448637215B387   TEKA          CLEVIDENCE              OR          44507053721
54486668472B38   CHRISTOPHE    WRIGHT                  CO          33075826684
54487A23472B27   OSCAR         MORENO                  CO          90012800234
5448915277B46B   JASMINE       JOHNSON                 NC          90013641527
5448998A591587   LUZ           ESCOBEDO                TX          75001709805
54489A95761975   GUADALUPE     SARABIA                 CA          90008430957
5448B32634B59B   MIRANDA       NATION                  OK          90005273263
5448B38965B393   MICHAEL       MANNING                 OR          44523253896
5448B97A52B27B   CURTIS        ANDERSON                DC          90014979705
544911A3461975   DIXANDERS     REYES                   CA          46004191034
544917A5872B88   ANDREW        HENSON                  CO          90003247058
544924A5772B36   SANDRA        RIVERA                  CO          90003584057
54492958972B67   JAIME         HERNANDEZ               CO          33086089589
54492A29285928   GILBERTO      GUERRA                  KY          67015710292
54492A8544B521   SARAH         PATTON                  OK          90006790854
54493217A72B43   JESUS         CASTILLO                CO          90003822170
544939A8391267   MARSHA        WALKER                  GA          90009419083
5449431965598B   YRIS          PUMARINO                CA          90011293196
5449431A181625   SARAH         DESCHEPPER              MO          90001203101
544947A235598B   YRIS          PUMARINO                CA          90013757023
5449614532B281   MARLON        POWE                    VA          90014541453
5449622134B588   SHERMAN       GRIFFIS                 OK          90014712213
5449748355B399   JAVIER        RODRIGUEZ               OR          90010584835
54497A75172B27   RICHARD       CALLOR                  CO          90003020751
5449825635B399   JOEL          PEREZ                   OR          90012662563
54498259A61973   KYMISHA       FRANKLIN                CA          90014642590
54498338972B38   GUADALUPE     SALINAS                 CO          33002503389
54498774572B88   BRUNO         NAVARRETE               CO          33072847745
5449878722B27B   DEONNA        ONEAL                   DC          90012267872
54498836176B75   ALAPOZOUGHA   ALAPOBODR               CA          90012748361
54498894198B2B   DWANA         TRUESDALE               NC          11058078941
54499532A76B75   RAUL          MARTINEZ                CA          46091365320
5449976A65758B   ED            TSYITEE                 NM          90009767606
54499A41198B2B   SHANNON       WORTHAM                 NC          11089420411
5449B147A31428   SCOTT         WALKER                  MO          27515241470
5449B387A72B38   TERESA        JONES                   CO          90000403870
5449B44A131468   SHARRONE      MILLER                  MO          90006004401
5449B618A5B387   LARISA        KURMAYEVA               OR          44547446180
544B1368A72B27   EVE           LEE                     CO          90015093680
544B15A1761973   ANGELICA      CASTRO                  CA          90003115017
544B1837A5B399   MARTA         AJQUI SOP               OR          90008778370
544B18A7972B27   MARIE         JESSICA                 CO          90007808079
544B2131398B2B   KAITLYN       CALDWELL                NC          90010441313
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544B347165758B   DORISE      FOLDY                     NM          90013854716
544B348A351348   HUGO        ANTONIO                   OH          90014044803
544B34A2272B67   DAWIT       GOYTOM                    CO          90012914022
544B399835715B   SANTOS      GRANADOS                  VA          90014069983
544B411925715B   DANIEL      WOLDEMICHAEL              VA          90008151192
544B42A3661975   ALBERTO     SANTOS                    CA          90013292036
544B465245B387   CHRISTIAN   GRIJALVA                  OR          90013956524
544B594A342363   SHERRY      CURTIS                    GA          90004369403
544B5AA8961971   JENNIFER    KENNISTON                 CA          90012340089
544B6156361971   BRYAN       SLATEN                    CA          90011061563
544B6821472B36   ENERELDA    JUAREZ                    CO          33098438214
544B7468672B49   AJA         YOUNG                     CO          33030794686
544B7728A76B75   BELEN       VALERIO                   CA          90005037280
544B8395772B77   JOHN        ROBERT NEWELL             CO          90011013957
544B8632472B36   CINDY       MCCORMICK                 CO          90013846324
544B9259533696   VICTORIA    CRUZ                      NC          90013532595
544B9398755959   LETICIA     CORONA                    CA          90007713987
544BB173591269   SHACONIA    BROWN                     GA          90000701735
544BB17A772B49   SCOTT       DUTTON                    CO          33063331707
544BB2A6A91895   SHANTA      PRESSEY                   OK          90009582060
544BB317376B75   DANIEL      GRANADOS                  CA          46016003173
544BB521433696   ANTHONY     FOUST                     NC          12055805214
544BB93674B588   KRISTI      GRISSOM                   OK          90013279367
544BBA21A9376B   TARA        CALLICOAT                 OH          90011740210
5451111A155959   ADALBERTO   QUIRINO                   CA          90014951101
5451146A35715B   ELSA        PORTILLO                  VA          90012964603
5451157A75B387   MYKOLA      VORONCHUK                 OR          44593035707
5451172725B531   TINA        MONTOYA                   NM          90014127272
5451242A12B27B   MARK        LOPES                     DC          90012784201
5451268855758B   ROMELIA     LOPEZ                     NM          35548226885
5451354165758B   KATALINA    HERNANDEZ                 NM          90013695416
54513767472B36   MICHAEL     ROYBAL                    CO          90010457674
5451411955B387   LESLIE      TORRES                    OR          90009101195
54514198576B75   ANA         ORNELAS LUNA              CA          90014451985
54514A71172B43   DANIEL      GUERRERO                  CO          33074580711
5451541295715B   JUAN        GRANADOS                  VA          90007124129
5451542A472B38   DAMIAN      ARAMBULA                  CO          33003024204
54516278876B75   MERCED      FLORES                    CA          90003302788
5451673245B387   JOY         BELL                      OR          44507307324
5451715395B393   KABRINA     PENSELIN                  OR          44506051539
5451729885715B   MERCEDES    HERNANDEZ                 VA          81054892988
54517682772B88   APRIL       PEREZ                     CO          33093366827
54517A6925B543   CHARLES     BERGEVIN                  NM          90007140692
5451823274B588   THOMAS      BILLINGS                  OK          90007502327
5451858535B399   ANA         IBARRA                    OR          90007875853
54518A3342B851   KIMBERLY    MOFFATT                   ID          42069270334
5451913275715B   RAMIRO      ARAUJO                    VA          90010321327
545191AA972B88   VICTORIA    THORNBURG                 CO          33072851009
5451968757B434   SOILA       MONCADA                   NC          11029726875
5451995A45B387   MELISA      ESQUIVEL                  OR          90011619504
54519A5A361971   JOSIANE     SYLAIN                    CA          90009640503
5451B79725B393   PEGGY       HESS                      OR          44522447972
54521136A5B399   JUSTIN      SMITH                     OR          90013991360
54521155472B38   DANIEL      CHAVEZ                    CO          90012991554
545229A2A5715B   ANGELICA    AVILES                    VA          81044339020
54523553A51348   TAMEL       PRUITT                    OH          90013485530
54524394A57122   KEITH       STEPHNEY                  VA          90011893940
5452449A55B531   ABBAS       AL-SAKINI                 NM          90012024905
5452591845B387   ABDIFATAH   MAILEH                    OR          90011579184
54526226772B49   WADE        HARRIS                    CO          33008092267
545269A6998B2B   DANA        ANDERSON                  NC          90008229069
54526A35557157   CLAUDIA     ASTUDILLO PENA            VA          90011720355
5452722A776B75   JUDY        LINDQUIST                 CA          90014962207
5452731485B531   CRYSTAL     KLEINHENZ                 NM          90014653148
545275A9672B67   PETER       RIZZO                     CO          33015935096
5452767695758B   LYDIA M     ANTILLON                  NM          90002096769
54527A1A85715B   CARLOS      GUZMAN                    VA          90000170108
54528343172B67   JESSE       PHILLIPS                  CO          33031193431
54528A7245B387   DAN         MCNATT                    OR          90013970724
5452959295758B   TANYA       MCKENZIE                  NM          90014855929
54529A1245B538   JESSE       SUMMERS                   NM          90004760124
5452B14245715B   ARIA        DRAYTON                   VA          90009981424
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5452B73825B387   MARIE        GREENE                   OR          90008977382
5452B86A85B399   ELSA         JUAREZ                   OR          90010658608
54531728A5B531   JOCELIN      GRIMM                    NM          90011937280
54531AA355B393   MERCEDEES    MORGAN                   OR          90010260035
54532419472B27   ADRIANA      CAMPOS                   CO          90012714194
54533115472B38   JOAN         GUERRA                   CO          90014521154
545333A8233699   RASHAUN      ROUSSAOU                 NC          90013923082
54533962976B75   JACQUELINE   SANCHEZ                  CA          90009579629
54533973772B36   JACK         SIMON                    CO          90011609737
54533A9A885928   ELLA         WALKER                   KY          67009850908
5453421A272B88   TIMOTHY      BAKER                    CO          33072852102
5453423177B431   TIFFANY      HART                     NC          90012642317
5453424919376B   CASEY        CRAIG                    OH          90008962491
5453475135715B   MIRIAN       ARNEZ                    VA          90013197513
5453553815B531   ALEXANDRIA   MARTINEZ                 NM          90012955381
54535655A61975   BENNY        BOURNE                   CA          90009776550
5453598345758B   JESUS        HERRERA                  NM          90010899834
54535AA9172B38   JEREMIAH     HAYES                    CO          33070470091
54536296572B49   ANTHONY      MONTANO                  CO          90007332965
5453687625715B   SILVIA       VEIZAGA                  VA          90011928762
545369A4957157   JON          PROCTOR                  VA          81085409049
54536A14491895   SUMMER       HANKS                    OK          21056290144
5453855927B46B   MAURICE      EDWARDS                  NC          90011335592
54538731A72B36   TIFFANY      REEDOM                   CO          90012177310
5453883695758B   VERONICA     TORRES                   NM          90002288369
5453927565715B   MARLENY      MEDRANO                  VA          81044342756
5453956912B27B   KEVIN        STEWART                  DC          90005225691
54539AA8A4B588   CASSELL      LAWSON                   OK          21596620080
5453B188576B75   JOSE         MATA                     CA          90010021885
5453B212184357   ANTHONY      COAXUM                   SC          90013362121
5453B481A55959   ADRIANA      REYES                    CA          90010714810
5453B676484373   LACY         STRICKLAND               SC          90015566764
5453B9A335B393   MAX          CHAMALBIDE               OR          90009899033
5453BA4355B543   EDGAR        ROBLES                   NM          35040140435
5454123387B46B   YENSI        RAMOS                    NC          11086762338
5454176A872B49   TERRY        RUST                     CO          33016507608
54541A8765B387   ROBERT       STOCKWELL                OR          90013970876
54542933698B2B   BOBBY        BROWN                    NC          90006949336
54543512172B38   JOSE         PEREYA                   CO          90013665121
545436A4172B27   JOSHUA       BROOKS                   CO          90013786041
54543729A5715B   JOBELIN      CONTRERAS                VA          90013607290
54543A41533696   CATHERINE    CRAIG                    NC          90004880415
545442A595B543   MARIAH       KEAN                     NM          90009232059
5454533853B387   TABITHA      JACKSON                  CO          90008243385
54545523A81683   GERALD       CRUTCHER                 KS          29088995230
54545892972B67   JOHN         MILLER                   CO          33018048929
54546215272B49   MANDYMARIE   SWANSON                  CO          90006352152
545464A8A61975   DINA         GARATE                   CA          90010734080
5454656195B283   TIERRA       MOORMAN                  KY          90004235619
5454727612B27B   CHARISHIA    LANGLEY-PETERS           DC          81075352761
5454787A293724   ERICA        THOMPSON                 OH          64500188702
54548284772B27   THERESA      OWENS                    CO          33074712847
545482A2385928   GINGER       MULLINS                  KY          90010612023
54549321172B43   MAGDALENA    ZAZUETA                  CO          90008703211
54549529372B36   MAURICIO     FABIAN                   CO          90011865293
5454B365133699   MARY         SHEFFIELD                NC          90012783651
5454BA99733645   LOUIS        WILSON                   NC          90006900997
54551135A85928   JENNIFER     RESCH                    KY          90014711350
54551346A84357   ANTHONY      BROWN JR                 SC          90007043460
5455261722B27B   JUAN         ZACARIAS                 DC          81011726172
54552655976B75   DON          MOLLETT                  CA          90013896559
5455269175715B   JORGE        RAMIREZ                  VA          90010966917
545527A3A91895   CHANCE       HORN                     OK          90012147030
54552929472B38   TERRIE       MACLEOD                  CO          33079329294
54553349572B49   JESUS        DE SANTIAGO              CO          90000133495
545535A2484373   ZARIAN       BRELAND                  SC          90014715024
54553996672B88   ARTURO       MURILLO                  CO          33016169966
54553A64251348   TONYA R      EDDELMON                 OH          90011170642
5455419915B387   RICHARD      GARDNER                  OR          90008351991
5455544217B46B   OMAR         QUIROZ                   NC          90014534421
5455552535B531   DANNY        MARTINEZ                 NM          35044585253
5455569445B399   ELDA         ESTRADA                  OR          44571726944
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545558A1198B2B   ABONY       BRIDGES                   NC          90011298011
54556416176B75   LARRY       SMITH                     CA          90002404161
54557A87A61971   JACOB       SCHOENLEBER               CA          90011440870
5455943A25715B   MARTHA      HURTADO                   VA          81062354302
5455946A84B588   ASHLEY      SLOAN                     OK          90011444608
54559632A4B936   ISAIAS      BROWN                     TX          90011916320
5455B291A72B36   MARIA       CORONA                    CO          33092532910
5455B326684373   ANA         MEJIA                     SC          90011043266
5455B573461971   ALAN        FIFE                      CA          46090825734
5455B632761973   ESMERALDA   COVARRUBIAS               CA          90014966327
5456125A691895   JESSICA     WINFREY                   OK          90004042506
545612A1372B63   MARTIN      MARTINEZ                  CO          90010122013
5456131412B869   TERESA      GREMEL                    ID          90011623141
54561628572B38   GARCIA      ALEJANDRO                 CO          90010316285
54561672272B43   MEGAN       HANSEN                    CO          33076416722
5456186345B283   CHRIS       CURTIS                    KY          68028088634
54563555972B36   MINERVA     RAMIREZ                   CO          90011375559
54563917A72B43   ASHLEY      MARTINEZ                  CO          90012959170
5456424494B588   SCOTT       WINNER                    OK          90013532449
54564291A81678   CORTEZ      MCDONALD                  MO          90014162910
5456471577B46B   NIKILA      CARTHRAN                  NC          90003047157
545647A1A9132B   ERIC        MEIN                      KS          29029797010
54564A87341273   SHANIKA     PEARSON                   PA          90014970873
5456519374B59B   JODY        MILLS                     OK          90013781937
5456623724B588   KENNETH     STEINER                   OK          21557262372
5456623885B543   TIFFFANY    RICKELL                   NM          90014092388
545662A2A76B75   HAEL        SOZA                      CA          90011952020
5456683735715B   ROSILAND    ROWE                      VA          90010248373
54566AAA785928   CHRIS       ELDRIDGE                  KY          90003790007
5456727A343569   SENN        ERICKA                    UT          90006342703
54567452372B27   MAURILIO    BROWN                     CO          33068054523
5456746388587B   JAMIE       GROVER                    CA          90005284638
5456778415715B   FAIZAN      NAHAR                     VA          90014327841
54567886876B75   ROSALVA     LACHA                     CA          46092948868
545681A3A61973   JUAN        PEREZ                     CA          90000281030
54568917798B2B   HENRY       SMITH JR                  NC          11050249177
5456899345715B   SHEILA      LAWSON                    VA          81044359934
545693A3751322   CHRIS       DELRIDGE                  OH          90008013037
54569578376B75   ANDREA      SCHMIDT                   CA          90014005783
54569818A72B38   ENRIQUE     VILLEZCAS                 CO          33064398180
54569931A24B7B   LISA        SMITH                     DC          90013799310
5456B235A72B38   DARALYN     DOSTIE                    CO          90013832350
5456B444433696   CAMERON     PEOPLES                   NC          90013504444
5456B469772B27   TEODORA     PINEDA                    CO          33064464697
5456B575A5B283   MARK        BRYANT                    KY          90001575750
5456B62275715B   GERARDO     MEZA                      VA          81007486227
5457113174B588   JULIA       BANDA                     OK          90009081317
54571648A91587   ANGELA      MORENO                    TX          90010736480
54571714798B2B   SHANTAVIA   SIMPSON                   NC          90012467147
54571846A5715B   CARLOS      VACA                      VA          90013948460
54572228A91895   LISHONDA    ELSTON                    OK          90015072280
5457312A691587   JUAN        PADILLA                   TX          90015151206
5457351857B46B   REGINALD    PARKER                    NC          11092955185
54573797572B38   BEATRIZ     LOPEZ                     CO          90005617975
5457485795715B   RODNEY      SMITH                     VA          81026918579
54575936A91587   LIZETH      ORO                       TX          90000299360
5457625665B399   STEVEN      MCDOWELL                  OR          90008142566
5457682887B46B   DALLAS      LOWERY                    NC          90012368288
5457729954B588   SANDRA      STEVENSON                 OK          90015122995
5457751972B27B   SYLA        PAUL                      DC          90010775197
5457755A261971   GRACIA      BRADLEY                   CA          90011875502
5457832935B399   CRISTA      STROTZ                    OR          90014523293
5457915385B399   CHRISTINA   WALKER                    OR          44565081538
5457919A65B543   SAMUEL      GRIEGO                    NM          35088641906
54579238A61975   MIGUEL      VALDEZ                    CA          90012872380
54579243A9373B   IRVING      RASCON-ANAYA              OH          90001102430
54579571A61975   MIGUEL      VALDEZ                    CA          90012915710
5457993975B531   JOSEPH      LUCERO                    NM          35054489397
54579A32A4B588   LESLIE      SPERRY                    OK          90014680320
5457B416A5B387   MARCELLA    ANDERSON                  OR          90012314160
5457B422991587   QUETZAL     DEVINE                    TX          90009944229
5457B454372B49   ROBBIE      RATAY                     CO          90013804543
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5457B47123B35B   AMANDO        REYES                   CO          90013134712
5457B916761971   ANA LILIA     GEAIRN                  CA          90013509167
54581148872B43   SHERRI        MILLICAN                CO          33025901488
54581182A91587   JUAN          RODRIGUEZ               NM          75092281820
54581475972B38   MARIA         RIVERA                  CO          90014774759
54581597476B75   ROSA          MONDRAGON               CA          90012895974
5458184225B399   JUAN          MCSPADDEN               OR          90008698422
54581A84972B36   BERTHA        MORALES                 CO          33023420849
5458258A82B27B   DARRYL        BUTLER                  DC          90010595808
545826A5972B38   ALVARO        ZAVALA                  CO          90014566059
54584977A4B588   JENNIFER      BIGBEE                  OK          90010149770
545849A7757157   JERARDO       VALLE                   VA          81066859077
5458626665B531   STEPHANIE     TODD                    NM          90013262666
5458641322B27B   RENEKA        SPEARS                  DC          90012934132
54586459772B49   CATHERINNE    HANNON                  CO          90004164597
545864A4733699   ELISEA        NOYOLA                  NC          90014674047
5458679815B283   ADRAINE       WHITE                   KY          90011407981
54586815A4B251   CANDICE       BROWN                   NE          90007768150
5458687984B588   MARK          PETER                   OK          90013538798
54586A6AA91535   RAMON         CARRERA                 TX          90008870600
5458769355B531   ANTHONY       LOPEZ                   NM          35077846935
54587A87984373   THORNE        THOMASON                SC          90015300879
5458812375715B   MARCOS        ABREGO                  VA          90001771237
545883AA461973   ANGELO        VECCHIONE               CA          90012453004
54588924176B75   JUAN          JIMENEZ                 CA          90013529241
545891A985B543   MICHELLE      PINO                    NM          35030891098
5458939312B27B   JOSE          BEUMON                  DC          81025933931
5458954A255959   TERESA        ESPINOZA                CA          90003695402
5458961125B393   RENNY         DEASSIS                 OR          90004456112
54589843A91945   RUBI          ACCO                    NC          90000398430
545898A5872B49   ERIK          MARTINEZ                CO          90009698058
5458B13174B588   JULIA         BANDA                   OK          90009081317
5458B161591587   MARIA         CARDENA                 TX          90011721615
5458B344555959   GONZALO       ALCARAZ                 CA          90013473445
5458B36A45B399   SHARON        KIRCHMANN               OR          90014193604
5458B3A1561971   HIVIDAR       KHENDARI                CA          46011473015
5458B74725B387   DAVID         JOHNSON                 OR          90014677472
5458B921872B77   HORTON        THOMAS                  CO          90006799218
54591A9185B399   JASEN         POPE                    OR          90014740918
54591A99761998   SERGIO        MAGANA                  CA          90002030997
54592259A61973   KYMISHA       FRANKLIN                CA          90014642590
5459295A45715B   MARILYN       BURKE                   VA          90001559504
545933A9131462   LANCE         JONES                   MO          90008583091
54593622A2B29B   DENISE        WHITLEY                 DC          90007236220
545937A7A72B43   NGOZI         HARPER                  CO          90012957070
54593849372B88   GALILEA       MENDEZ GARCIA           CO          33016508493
54593A75991895   TAMECIA       MILLER                  OK          90014740759
5459422622B27B   JEROME        MCCRAY                  DC          90014142262
5459453A291587   JENNIFER      SOSA                    TX          75060625302
5459485A961971   ROCIO         LOPEZ                   CA          90014318509
545949A3784373   MARA          ACEVEDO                 SC          90013859037
5459581A751348   CHRISTOPHER   DERKINS                 OH          90014138107
54595A43391895   NIKKI         HOGAN                   OK          90009900433
54596AA935B531   MARIA         YANEZ                   NM          90003060093
5459773464B579   NICOLE        PHILLIPS                OK          90011107346
54598168776B75   RYAN          JANSEN                  CA          46086171687
54598642372B36   JORGE LUIS    SOTO                    CO          90013016423
54598847A72B38   CRUZ          BURCIAGA                CO          90014668470
5459916295B399   SHELLEY       HORINE                  OR          90014381629
5459932465715B   JUAN          ORTIZ                   VA          90014463246
5459949415B387   JACOB         WITHAM                  OR          90015284941
54599588572B43   D             KING                    CO          90012515885
5459971A472B88   LIZBETH       CARDENAS                CO          33072857104
5459B471793724   LOGAN         WALKER                  OH          90013124717
5459B486191587   DANIEL        GUERRA                  TX          75064284861
5459B817893754   JANEY         STANTON                 OH          90012038178
5459B848672B67   ARTHUR        TREJO                   CO          33015938486
545B129A15132B   ANDRE         SMITH                   OH          90011452901
545B1399951348   CHRIS         THACKER                 OH          90013813999
545B21A775B399   JOSH          FLEENOR                 OR          90012131077
545B227494B588   JEISY         MARTINEZ                OK          90010852749
545B2281991587   LISA          FACIO                   TX          90011052819
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545B257A891895   RACHEAL        BLUE                   OK          90014855708
545B25A5724B7B   TAURUS         STRONG                 DC          81039945057
545B2717543569   JASON          HOFMEISTER             UT          90001527175
545B2853384373   KERRY          WASHINGTON             SC          90011908533
545B31A4771935   LUTHER         RMOORE                 CO          90001101047
545B3458155959   MARGARITA      CISNEROS               CA          90010714581
545B3518161971   JAMES          PABLO                  CA          90009035181
545B355577B46B   GILERIK        LOPEZ                  NC          90015495557
545B37A712B27B   ANTHONY        GREEN SR.              DC          81018037071
545B3A8A15B531   JUANITA        MARTINEZ               NM          35080160801
545B45A5533682   THERESA        MACKEY                 NC          90013345055
545B4752351348   HEATHER        SMITH                  OH          90014877523
545B4772691587   MAYRA          OLIVAS                 TX          90014097726
545B512344B251   ANTONIO        TORRES                 NE          90007381234
545B5323755959   MARIO          SANCHEZ                CA          90015293237
545B536412B27B   REGINA         WILLIAMS               DC          90014913641
545B569A533699   CARLYLE        JIMMERSON              NC          90014486905
545B59A8972B67   ELISEO         RODRIGUEZ              CO          33000859089
545B5A4172B27B   JOSE           PRUDENCIO              VA          90014940417
545B5A74991587   DIANA          VALENCIA               TX          90007160749
545B5AAA961973   ARITAIRY       RODRIGUEZ              CA          90013650009
545B6273A72B43   ANALEE         CAMPUZANO              CO          33065212730
545B6523793724   BILLY          LEHMKUHLE              OH          90014705237
545B725515758B   MANUEL         PEREZ                  NM          90009082551
545B7283A33699   KENNETH        CURLEY                 NC          90006162830
545B732A772B27   JUANA          CONEJO                 CO          90012673207
545B7415557157   CRUZ           GONZALEZ               VA          90001784155
545B764265715B   SONIA          OTANEZ                 VA          90011946426
545B7746A38522   RANDY          CARTER                 UT          90013087460
545B7898A84357   DARIAN         PINKNEY                SC          90008368980
545B7972691895   AMBER          HARPER                 OK          21088229726
545B79A3972B36   RAYMOND        ORTIZ                  CO          33021459039
545B8135672B49   HOLLY          SHAFER                 CO          90009591356
545B8343255959   RAMON          RUIZ                   CA          90008753432
545B855435758B   VASQUEZ        JESSICA                NM          90004655543
545B958297B649   DERRICK        COBB                   GA          90015045829
545B9629A61975   AIOTEST1       DONOTTOUCH             CA          90015116290
545B9669776B75   GABRIELA       MARQUEZ                CA          90014536697
545B9853691895   PHILLIP        WALLACE                OK          90004078536
545BBA27193724   EDDE           STIDHAM                OH          90012180271
54611195772B36   MIGUEL         MARTINEZ               CO          33096451957
54611913272B88   MARGARET       RODRIGUEZ              CO          33040559132
5461228677B46B   ANGEL          ROJAS                  NC          90014922867
5461278455B387   DURGAM         AL TOFIYLY             OR          90013067845
54613261A72B49   MINDY          SHUFORD                CO          33090512610
54614597172B43   JESSICAMARIE   AYRES                  CO          90014855971
54615224576B75   SEBASTIAN      STYPULKOWSKI           CA          46091372245
5461558274B588   ANGELA         PRINCE                 OK          21508485827
5461567267B46B   PILL           BROWN                  NC          90013306726
54615A8275715B   ORLANDO        RAMIREZ SORTO          VA          90000170827
5461621615B531   DANIEL         BOYER                  NM          35027712161
54617729476B75   JOSE           BALDERAS               CA          90010137294
5461776A82B244   TARIQ          KHAN                   VA          90009837608
54617916472B27   JEREMY         LAWHON                 CO          33076939164
546181A2793724   ALEX           BURNEY                 OH          64532251027
54619491424B7B   CONSTANCE      WILDER                 DC          90008594914
546199A3172B49   JASON          DEDIS                  CO          33024829031
546199A415758B   ENRIQUE        TELLES                 NM          90009409041
5461B2A6A72B78   ADRINA M       SCHWEBACH              CO          39084962060
5461B44185B543   BENA           PATEL                  NM          90005274418
5461B53645715B   EDWIN          GUERRERO               VA          90013075364
5461B566584373   CEBREZREH      WILLIAMS               SC          90013405665
5462118A576B44   SIGIFREDO      VARGAS                 CA          90002801805
54621552A76B75   MARIA          MUNO                   CA          90007945520
5462213775715B   SANTOS         MARTINEZ               VA          81072101377
5462237942B851   AMBER          SMITH                  ID          90014653794
5462258915715B   VIVIDA         MONTAHAN               VA          90015205891
546228AA491895   DESTINY        TRIPP                  OK          90011018004
5462291315134B   JENNIFER       SPICER                 OH          90007669131
54622A44493724   MARSHA         FRANCIS                OH          90011660444
54623334A97129   ROLANDE        MENGUE                 OR          90007873340
54623492272B43   HOPE           LUCERO                 CO          33089404922
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5462375272B851   AMANDA      THOMPSON                  ID          90005917527
546238A9972B38   ROBERT      ESTES                     CO          33019368099
54623A41872B43   CAMIL0      GUERRA                    CO          33011590418
54624194572B38   TANYA       REYNOLDS                  CO          90012991945
5462427AA72B36   ALVARO      MENA                      CO          90008452700
54624335472B27   GERARDO     GONZALEZ                  CO          90005693354
5462452A131428   PATRICE     DICKERSON                 MO          90005425201
546248A525758B   EVA         VALENZUELA                NM          90014638052
5462494783B389   EVELIA      SOLIS                     CO          90008729478
54624982272B49   ELVIN       GUTIERREZ                 CO          90005899822
54624A78A7B46B   BLONDINA    REID                      NC          11003150780
54626382872B43   DALE        HAYES                     CO          90014103828
54626466872B43   ALEXANDRA   CARRILLO                  CO          90010314668
54626557672B38   EBONY       LOGAN                     CO          90014825576
5462671825715B   JHONNIER    NARANJO                   VA          81008677182
54628413672B43   PERALTA     ALEJANDRA                 CO          33006324136
5462841A472B27   ALICIA      HASKELL                   CO          90009234104
5462866385715B   SAMUEL      JOHNSON                   VA          90013326638
54629387172B38   ARMIN       JAVID                     CO          33064853871
5462B175272B38   JON         KORNOCK                   CO          90013881752
54632368372B27   LUIS        ALVIZO                    CO          90013733683
546327A4772B38   PATRICIA    TERRAZAS                  CO          33022107047
546333A425758B   YESENIA     SOLIS                     NM          90015183042
5463411AA61975   LINDA       JACOBS LEVARDO            CA          90001931100
5463461535B283   CYNDY       CLEMONS                   KY          68024006153
5463494145B393   BYRON       WEISS                     OR          90011679414
5463515175B387   YAW         HAN                       OR          90004361517
54635634A93724   LAURA       GREGORY                   OH          90011066340
5463579455B393   AARON       AMOS                      OR          90005277945
5463629494B588   JUAN        GONZALEZ                  OK          90015142949
54636898772B43   CHAD        HANES                     CO          33079468987
5463764115B387   HIGINIO     LOPEZ                     OR          90010216411
54637A67584373   MEGAN       STENDER                   SC          90015200675
5463831A65B531   VANESSA     JACKSON                   NM          90003433106
5463847845B223   ROBERT      KLIEN                     KY          68088654784
5463873A833699   RONALD      MITCHELL                  NC          12094467308
5463874A485928   NEDA        JARRELL                   KY          67038057404
54639836972B36   KORLITHA    WHITESIDE                 CO          90011658369
5463B84284B588   JAMES       HYMON                     OK          90012828428
54641567872B38   ANA         NUNES                     CO          90011035678
5464235335B531   ARACELI     MALDONADO                 NM          35043163533
5464285A72B896   LUIS        SANDOVAL                  ID          90009588507
54642A69885928   ROBERT      CLINE                     KY          90007940698
54643A13125137   DEBBIE      MATHIS                    AL          90013680131
54643AA1361971   ANDREW      ALDANA                    CA          90013520013
54644488772B27   JESUS       VILLA SANCHEZ             CO          33092084887
546447A885B531   JAMES       MORALES                   NM          35040287088
546448A2131428   ORIEL A     WILLIAMS                  MO          27515518021
54645511A4B588   JEREMY      ORCUTT                    OK          90011405110
5464624A95B399   VICTORIA    MCCOLLISTER               OR          90004702409
54646839972B77   MARIA       PORTILLO                  CO          90003268399
5464767315B531   WILLIAM     ORTIZ                     NM          35091876731
5464851A75715B   FABIAN      LEDESMA                   VA          90005995107
5464879286B257   ASHTEN      PETERS                    AZ          90013927928
5464886A161973   DELBERT     ADAMS                     CA          90002488601
5464924582B27B   TERRIE      HICKERSON                 DC          90015092458
5464941332B27B   TAMETRIS    MORRIS                    DC          90015074133
54649542172B38   NADIENKA    FERMIN                    CO          90010545421
5464B151191895   STACY       COZART                    OK          21069571511
5464B162491559   RANDALL     GREENE                    TX          90013651624
5464B231733699   JOSE        ORTIZ                     NC          90014072317
5464B271776B75   JEANNETTE   GUTIERREZ                 CA          46061332717
5464B863972B27   RYAN        BACHNER                   CO          90013008639
5464B919872B77   NICOLE      GOMEZ                     CO          33062969198
5464B96745B387   RODOLFO     GALINDO SANTOS            OR          90002139674
54651435876B75   MIGUEL      MENDEZ                    CA          46023734358
5465221855B543   MANUEL      ZAVALA                    NM          35005492185
54653737372B38   CARMEN      RIVERA                    CO          90013277373
54654726472B88   ROSA        SALVADOR                  CO          33009907264
5465479132B27B   ANTIONE     ROUSE                     DC          90012957913
54654A2495B399   JUDITH      WALKER                    OR          90006690249
54654A54961973   BELEN       VASQUEZ                   CA          90013660549
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5465551A291925   MARIA        MARTINEZ                 NC          90014435102
5465634922B27B   WILLIE       JENKINS                  DC          90012443492
546564A4291895   GAYLE        DEVEREAUX                OK          90010634042
54656931572B38   VALENTINE    KIMBALIA                 CO          90011249315
54656961672B27   JOSEPH       SOLANO                   CO          90003669616
5465712925B387   JUAN         HERNANDEZ                OR          90013971292
5465741367B434   ANNE         MOTARD                   NC          11001324136
5465745A176B75   JUAN         RIZO                     CA          90005154501
54657A22361975   MELISSA      RUBIO                    CA          90010270223
54657A27861971   WHITE        LARRY                    CA          46062600278
5465811187B46B   CHRISTENE    ELAMS                    NC          11080741118
54658739972B67   SANTA        LEON                     CO          33035667399
54658A15472B38   JAQUELINE    LOPEZ                    CO          90013000154
54658A24A72B49   PATRICIA     RAMIREZ                  CO          33061660240
5465958265B387   JESUS        EK HAU                   OR          90015165826
54659623A5B531   LIZZIE       MARGUEZ                  NM          90014846230
54659844A72B77   DENNIS       TRASK                    CO          90003268440
5465B27925B531   CASSANDRA    LILLY                    NM          90015592792
5465B479461975   GREG         RUFFIN                   CA          46037014794
5465B639472B43   DAISY        ALVARADO                 CO          90014876394
5465BA45255959   DIANE        ALMANZAR                 CA          48066710452
5465BA8754B23B   JOSHUA       HORTON                   NE          90010930875
54661534776B71   CAROLINA     TURRUBIATES              CA          90003925347
54661648A61973   TYRONE       LEWIS                    CA          90011236480
54661A98972B43   JENNIFER     GONZALEZ                 CO          90010760989
54662386398B2B   OSCAR        SANTOS                   NC          90007073863
5466299A361971   ANTONIO      NOLBERTO                 CA          90014899903
54662A7195B387   DAMON        HUGHES                   OR          44538660719
5466321175B387   DANIEL       LUKE                     OR          90011972117
5466398944B588   CAROL        FLEZIER                  OK          90012719894
54663A31851348   MARY         SWEET                    OH          66047690318
5466445384B588   LILIA        INGRAM                   OK          90014274538
54664755324B7B   DENNIS       DELGADILLO               VA          81043647553
5466515275715B   SHIHAB       NOUH                     VA          90010721527
546652A5576B75   ROSELIA      MENDEZ                   CA          90009232055
546653A9391895   SAMAY        YVONGSA                  OK          90013103093
5466564975B531   SASHA        MEADOWS                  NM          90015086497
54666214972B49   MIGUEL       CARBAJAL                 CO          90012832149
54666A17772B38   JOSE LUIS    HIGUERA                  CO          90013000177
54667181872B67   MARY         VARGAS                   CO          33052701818
54667A21161971   SHANEL       BERTUSSI                 CA          90013510211
54667A2174B588   KIMBERLY     LYNCH                    OK          90013230217
5466811855B531   ARMANDO      MARIN                    NM          35012811185
5466868125758B   EUNICE       ACOSTA                   NM          90009426812
54668983A31428   PATRICIA     GRELLE                   MO          27515529830
54669739972B67   SANTA        LEON                     CO          33035667399
5466978955758B   LUIS         YANEZ                    NM          35598487895
5466984284B588   JAMES        HYMON                    OK          90012828428
5466999144B936   JUDY         WASHINGTON               TX          90012629914
5466B2AA761973   SARVIA       ESQUER                   CA          90014182007
5466B31745758B   OLIVIA       RAINBOLT                 NM          90014933174
5466B429285928   SCOTT        SMITH                    KY          90014524292
5466B632461921   ABRAHAM      LOZANO                   CA          90008206324
5466BA65591895   EVANGELINA   ESPARZA                  OK          90013950655
5467187192B27B   NELSON       CHICA                    DC          81029228719
546721A6772B43   TRAVIS       DUNCAN                   CO          90011291067
54672A86672B77   VIRIDANA     QUINTERO                 CO          33043540866
5467333587B46B   AIDE         MENDOZA                  NC          90014823358
54673A1975B387   ROSALINA     PAT CENTINA              OR          90009050197
54674398A5B387   RODNEY       SANDERS                  OR          90014813980
54674858A72B43   STEPHANIE    CHASE                    CO          90008738580
54674AA5633696   TAKERRIA     SPRINGFEILD              NC          90014650056
5467521464B521   MICHELLE     GATES                    OK          21558132146
5467533A791895   LATRENA      CONWAY                   OK          21036343307
54675443172B27   CRISTINA     RAMIRES                  CO          90015314431
546765A1A72B43   SIDRONIO     BARRERA                  CO          33079565010
54677233772B27   ADRIANA      MORENO                   CO          90001632337
5467764194B588   KRISHAWN     KEMP                     OK          90006126419
54678263872B36   MICHAEL      BARNICK                  CO          33019642638
5467831752B27B   FRANCISCO    GONZALES                 DC          90011873175
5467856295758B   MARION       CARRILLO                 NM          90014875629
5467861385B531   YESSICA      MOLINA                   NM          90014456138
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5467887543B399   GILBERT        PERNANDEZ              CO          90002768754
5467921A593724   MARTIN         PULLEY                 OH          90011662105
546795A2284373   SHAREEN        BENNETT                SC          90013085022
54679872572B49   ALVARO         MORALES                CO          33003968725
5467B428572B49   FRANCISCO      TORRES                 CO          90007764285
5467B5A8991587   LISA           LOPEZ                  TX          90006075089
5467B77985B399   YVETTE         JANKANS                OR          90011787798
5467B814A51348   RENEE          CHILES                 OH          90014908140
5467B9A825758B   LOUISA         ARAGON                 NM          90013259082
54681213472B49   EDWARD         BROWN                  CO          90012042134
5468198A572B43   SISNNEROS      EMILIO                 CO          90010239805
54683556672B36   OSCAR          LOPEZ                  CO          33071525566
546835A1555959   FRANCISCO      DIAZ                   CA          48054995015
54683A2A947928   ELIZABETH      MARTINEZ               AR          90005800209
54684A15361975   MARIA TERESA   ROSALES                CA          90013530153
5468518735B387   STARLA         STARN                  OR          90012781873
5468539A751348   BETTY          STALLWORTH             OH          90014013907
54685826472B27   ADALID         AGUILAR                CO          90013358264
546862A3172B49   JEFFERY        GREGORY 2ND            CO          33077472031
5468632375715B   MARTIN         COTO-MENDOZA           VA          81018033237
54686559A72B88   FRANCISCO      DOMINGUEZ              CO          33072865590
5468681A772B67   SANDRA         SANCHEZ- GUZMAN        CO          33035668107
54686AA3A33696   JAVIER         CUANAS                 NC          90015490030
5468725275B531   AARON          MERRIFIELD             NM          35076912527
5468736A94B59B   TYCHA          PULLEN                 OK          90009533609
5468811253B343   STEPHEN        CHASE                  CO          90000151125
5468992415B531   SUSIE          MAEZ                   NM          35015359241
5468994725B531   JOANNA         PHILLIPS               NM          35062909472
54689A4945715B   NATASHA        MUSKELLY               VA          90013430494
5468BA34872B43   PATRICK        CAMERON                CO          90011910348
54691791972B43   BRIGITTE       SALDANA                CO          33079257919
54691828872B36   WINTER         HARL                   CO          90002428288
5469191457B46B   COURNEY        HILL                   NC          90013009145
54691A74876B52   ALEXANDRA      MERRELL                CA          90013420748
54692716472B38   JESUS          VASQUEZ                CO          90015237164
5469275875B387   PAYGO          IVR ACTIVATION         OR          90011287587
54692A94872B27   NICHOLE        HERERRA                CO          90011110948
5469313A161971   EHSAN          AL SABAHI              CA          46045311301
54693A84251348   HELANA         CABLE                  OH          90006590842
54694482172B36   JOSE           ROLDAN                 NM          33057444821
5469533797B46B   JOHNNY         NORWOOD                NC          90014903379
546957A565B531   PABLO          LOPEZ                  NM          35018327056
5469584737B46B   KALLARITI      SIU                    NC          90012888473
54695A82272B38   SHERI          SMITH                  CO          33090900822
54696163672B77   DESTINY        STONE                  CO          90006001636
546966A665B393   PAMELA         WILSHIRE               OR          90011096066
54696A8A791357   IVAN           SOLIS                  KS          90008300807
5469712135B387   THALIA         SILVA                  OR          90012411213
54697232A72B36   JENNIFER       CRANDALL-LERMA         CO          90014412320
5469779535B531   JOHN           ZUNI                   NM          90013837953
5469782515B283   WILMA          MADERO                 KY          68023358251
546979A6433696   THOMAS         LEWIS                  NC          90013539064
54698172472B27   SAVANNA        GUERRA                 CO          33014681724
546985A8393754   VIRGINA        COX                    OH          90013165083
546988AA691587   ARANTXA        ZARATE                 TX          90013138006
54698A2145B387   CYNTHIA        ESPINOZA               OR          44505350214
546996A8372B36   JUANA          RODRIGUEZ              CO          90009776083
5469B225291895   URIEL          RAMIREZ                OK          90004812252
5469B236384373   LETICIA        NAVARRO-HERNANDEZ      SC          90014992363
5469B59454B588   LORI           SKATES                 OK          90013525945
5469B879672B43   DELFINO        ABARCA                 CO          90005768796
5469BA14376B81   TERASA         ARROYO                 CA          90004430143
5469BA39272B38   SANDRA         MEDRANO                CO          33009700392
546B13A985B531   GABRIELLIA     HERRERA                NM          90002683098
546B1968172B67   OSCAR          CASTILLO               CO          33068829681
546B1A27376B75   JAMES          BALDWIN                CA          90006040273
546B1A6A25B399   MEGAN          MONTERO                OR          44522190602
546B266954B588   SIERRA         CARRANZA               OK          90011026695
546B2A53A51348   EARL           REIFF                  OH          90012390530
546B351275B531   DONALD         SALAZAR                NM          90015165127
546B382842B27B   MELINDA        LYNCH                  DC          81057858284
546B3941372B49   MIGUEL         MORENO                 CO          90008179413
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546B415924B521   NICOLE         LACEY                  OK          90007351592
546B43A8651348   KRISTINA       KOEBBE                 OH          90014353086
546B4569772B43   TERESA         WHITE                  CO          90014155697
546B5447161973   YESENIA        MARTINEZ               CA          90011744471
546B572355715B   ISRAEL         GONZALES               VA          90002307235
546B584972B851   SRNA           EMIR                   ID          42027248497
546B5A55A5B399   RUBIA          LOPEZ                  OR          90013950550
546B6213472B49   EDWARD         BROWN                  CO          90012042134
546B6263877522   IVAN           FOX                    NV          90008852638
546B631635B531   NELSON         SOTELO                 NM          90014833163
546B6321A84852   DAVID          BROWN                  NJ          90014413210
546B6559493724   MOSES          SANFORD III            OH          64533355594
546B7161684357   MR             MATHIS                 SC          90009571616
546B7262772B36   DAVID          TORRES                 CO          90006332627
546B736292B27B   ABNER          EDWARDS                DC          90012303629
546B7487661971   JORGE          NIEVES                 CA          46043734876
546B765244B588   JUAN           NAVARRO                OK          21557216524
546B776927B43B   DENZEL         TERRILL                NC          90011327692
546B7A87472B67   MICHELLE       REYES                  CO          33035660874
546B8266972B38   LUIS           LEON                   CO          90000312669
546B829A62B27B   RENIKA         DORSEY                 DC          81014552906
546B832965B399   ALAWNZO        WATTS                  OR          90000623296
546B843665715B   KING           PARTHENIA              VA          90002724366
546B8893861971   STANLEY        MCCUE                  CA          90012988938
546B8A8684B588   RACHELLE       GRAY                   OK          90013880868
546B96A2191587   MARIA          ROJAS                  TX          90013476021
546BB497A93724   CHRISTY        SAMS                   OH          90013954970
54711A3A45715B   LUTHER         DJAMEN                 VA          90005800304
5471253985B543   TERESA         BROWN                  NM          90004015398
547125A6661971   MELISSA        BUREIAGA               CA          46089235066
5471436585715B   LORENA         CHAVEZ                 VA          81007843658
5471562A961975   JOSE           VALLES                 CA          90013586209
54716194572B43   SARA           MOLINA                 CO          90010551945
5471656A972B36   CHERLONDA      PORTEE                 CO          33043425609
5471666A661971   DONTE          BETTON                 CA          90010946606
5471683A861975   LUCIO          ROJAS                  CA          46070908308
54716A14472B38   KAREN          LEWIS                  CO          90013000144
54716A8A15B543   NEMECIO        VASQUEZ                NM          35061290801
54717568572B27   LIZBETH        PALACIOSORTIZ          CO          90013535685
54717A2495B399   VICTORIA       MOYER                  OR          90011930249
5471857135758B   DESIRAE        VALLADARES             NM          35571805713
547186A515B387   CECILY         MCROBBBIE              OR          44583716051
5471872A776B75   GLADYS         CORDERO                CA          46032717207
54718743A72B49   DAISHANAE      MACKEY                 CO          33062347430
54718931572B77   ALICIA         RODRIGUEZ              CO          33052109315
5471B64A872B49   KAREN          AHRENDT                CO          90002876408
5471B671772B38   OLIVIA         AVALOS                 CO          33067016717
5471B978543569   LAVE           WILLIS                 UT          90003199785
5472147892B851   ROBERTO        JUAREZ                 ID          42076104789
54721597172B43   JESSICAMARIE   AYRES                  CO          90014855971
54721A1582B27B   GERONE         BROWN                  DC          90008740158
54722127572B27   TONY           BIVENS                 CO          33041661275
54722671157B81   MONGAL         GAGMER                 PA          90014106711
547228A522B27B   JOE            FLOOD                  DC          81061778052
54722976172B49   DIAMOND        GREEN                  CO          90002499761
5472311567B46B   ANDREA         AREVELO                NC          11087411156
54723335A61921   JOSE           AVILA                  CA          90011813350
54723A49461548   DOMINIQUE      CASARES                KY          90013600494
5472436A161973   CRISTINA       PEREZ                  CA          90005393601
54724384172B38   KIMBERLIE      RUSSELL                CO          90013503841
5472489715758B   HAYES          ANGELA                 NM          90009368971
54724A28A85928   HOLLIE         BARGER                 KY          90010330280
54724A4635715B   RENE           LARIOS VENTURA         VA          81006720463
54725137672B67   CYNTHIA        GARCIA                 CO          33045971376
5472513A172B88   ANDRESS        ESCALNTE               CO          33099631301
54725159A93724   RACHEL         STRADER                OH          64514301590
5472519925B35B   RAMIRO         GARCIA-LOPEZ           OR          44554801992
5472523945B399   DONALD         ANDERSON               OR          90009862394
547269A185715B   JOSE           GALEANO                VA          81080999018
54727372A72B49   LUCIANO        CASTRO                 CO          90012913720
547291A6991587   MARIA ELENA    SOSA                   TX          90015191069
5472958473B399   MATTHEW        MCGRAW                 CO          90013995847
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5472976315134B   LATRINA         WRIGHT                GA          90001257631
5472B265A91587   KARLA           GUERRERO              TX          90014602650
5472B46665B399   JAMESON         PALMORE               OR          90010214666
5472B636361973   EDWIN           BOJORQUEZ             CA          90007646363
5472BA3964B588   MARUA           CONTRERAS             OK          90010850396
5472BA54276B75   KIANA           BRABANT               CA          90013080542
5473122945132B   JACINDA         ASHER                 OH          90010872294
54731A9635B399   DELFINO         HERNANDEZ-HERNANDEZ   OR          90013950963
54731AA852B27B   MICHAEL         MASON                 DC          90010830085
54733393A63648   KRISTEN         GARNER                MO          90001823930
5473389A584373   JEFFREY         BERNS                 SC          90013928905
54733A28261975   MARCOS          OROZCO                CA          90010270282
54733A39861971   MUNOZ           COSETTE               CA          90001020398
547347A9924B7B   HAMID           NYAMEKYE              VA          90011937099
547359A6985928   WEATHERS        MELODIE               KY          90010609069
54735A11655959   PHILLIP         FLORES                CA          90013830116
5473629885B387   CARRIE          BUSH                  OR          90007782988
54736317872B88   TERRY           RESARE                CO          33073703178
547364A3161939   ANNABELL        WARDEN                CA          90010094031
547364A5285928   BREAUNA         GLASS                 KY          90014224052
5473682962B27B   MONIQUE         TODD                  DC          81078958296
54737138772B36   DANNY           LUEVANO               CO          90011191387
54737A58761973   MARCELA         ACEVEDO               CA          90004730587
54738166172B43   ROBIN           SKELTON               CO          90015211661
5473825597B46B   TANYA           HOLMES                NC          90004302559
54738318772B36   DAVE            ROWLAND               CO          33048503187
5473864294B588   KAYLA           ANDERSON              OK          90014546429
5473926615758B   MIRANDA         LEONEL                NM          90011472661
547399A3293724   MARKIA          ANDERSON              OH          90011669032
5473B588684373   CYNTHIA         GREENE                SC          90010845886
547428A4A72B49   FRANKIE         GOMEZ                 CO          90013108040
5474359A461971   WATHEQ          SHAWKA                CA          46083645904
547435AA55758B   RITO            VEGA                  TX          90010825005
5474367A191895   DANIEL          ROBINSON              OK          90014146701
54743AA9261973   BRANDON         GUEST                 CA          90013100092
54744229372B27   YVETTE          WILLIAM               CO          33062472293
5474435A15B399   RICHARD         LARACUENTE            OR          90012823501
547444A9172B27   FREDERICK       VENETTE II            CO          90014824091
5474541445B387   TESFU           YOWHANES              OR          90009774144
5474567935B393   ALEXANDER       SORIA                 OR          90001526793
547457A344B588   SHYLA           WILKINS               OK          90008767034
547458AA893724   SUSAN           HEGGAN                OH          64566258008
5474592137B46B   JOHN F          KNIGHT                NC          90010149213
5474612382B851   OFELIA          RODRIGUEZ-TOVAR       ID          90012431238
5474614AA84373   BARBARA         GEHL                  SC          90006731400
547462AA455959   BLANCA          MANZO                 CA          90013322004
547464A5161973   NOHEMI          KATZENSTEIN           CA          90005254051
54746537476B75   ASHLEY          GOODWIN               CA          90008585374
5474798342B851   JAMES           BAILEY                ID          90003919834
54747993272B36   CELENA          GALLEGOS              CO          90010779932
5474876654B588   ELEZOR          VAZQUEZ               OK          90001487665
54748779A91587   TOMMY           HARRIS III            TX          90009707790
54748A33A72B43   JOHN            REEFE                 CO          90010150330
54748A4285B387   KELLY           WHITE                 OR          90015270428
5474B257A5B543   SHIRLEY         QUINTANA              NM          90003452570
5474B79A32B27B   JOSE            REYES                 DC          90013897903
5474B866672B27   MICHELE RENAE   KENNEDY               CO          90013848666
5475144154B588   DANIS ALONSO    FLORES                OK          90015184415
5475165367B46B   ANTHONY         SMALL                 NC          11001506536
54751A46184373   LON             BERGEN                SC          90014580461
54753597972B67   LAURA           ESPARAZA-NAJERA       CO          33035675979
5475382774B588   LYDIA           MARZOUK               OK          21516998277
547541A2361975   ANA             GOMEZ                 CA          90011411023
54754355172B38   JIM             HENDRYX               CO          33066103551
5475441765758B   TARA            OLIVER                NM          35553514176
54755157472B67   ASHELY          VALDEZ                CO          90009401574
5475569845B399   CARLOS          GARCIA                OR          90007866984
54755754872B27   AMIR            JAFARI                CO          33007037548
5475626225B399   AMY             MARTIN                OR          90006832622
547568A8833699   ROMERO          RAMOS                 NC          90013778088
54757644672B49   MARIO IVAN      SOTO                  CO          90013136446
5475793A491587   JOSE            GOMEZ                 TX          90010359304
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54758537672B49   KEVIN         SYKES                   CO          90008015376
5475928A655959   JERONIMA      YANEZ                   CA          48064052806
547593A367B46B   RONALD        BARNETT                 NC          90014853036
54759642572B43   MARIA         ESTRELLA                CO          90006166425
5475999AA72B67   ASHELEY       NANCE                   CO          33081979900
5475B754961975   CARLOS        CARLOS                  CA          90006427549
5475B76934B588   SHANNON       WARLEDO                 OK          21511017693
5475B861491895   APRIL         WYTCH                   OK          90012248614
5475B872443522   RICHARD       SZERSZEN                UT          90000878724
5475B878972B27   TANNER        DELAGE                  CO          90009928789
5475BA9322B241   GEORGEANNA    ORNDORFF                DC          90001470932
5476163A651348   THOMAS        PERRY                   OH          90013226306
54761A49761973   GRACIELA      VALLEJO                 CA          90005610497
54761A65572B88   VALENTIN      DELGADO                 CO          90003250655
54761A77176B44   JESUS         LOZANO                  CA          90001710771
5476237325758B   ALEJANDRO     YEVERINO                NM          90011153732
54763128A72B77   MAKAYLA       CAUSER                  CO          90006781280
5476396655B393   JUSTINE       THIBEAU                 OR          44510999665
5476513145B531   MARIA         TENORIO                 NM          90014301314
5476552A761973   CARMEN        TAPIA                   CA          90014815207
54765589272B27   ADRIANA       TERRAZAS                CO          33051755892
54765795A91895   KELLY         WILLIAMS                OK          21025437950
5476612344B251   ANTONIO       TORRES                  NE          90007381234
54766387A2B27B   ARGELIO       FERRUFINO               DC          90001523870
54766651872B27   QUENTIN       NEILL                   CO          90013826518
547667A175B387   JOSEPH        HARRISON                OR          44556587017
54767424472B67   ELIZABETH     HALL                    CO          90005144244
54767441572B36   SHANNON       MARTINEZ                CO          33058604415
5476752A44B588   JESSIE        ARELLANO                OK          90007505204
5476824915758B   FRANCES       PADILLA                 NM          90015282491
547684A3485928   HOLLY         WORST                   KY          90014724034
54769269472B49   RICKY         PENNINGTON              CO          90012332694
5476936445B393   JOSHUA        KREGER                  OR          90011503644
54769714172B49   LEROY         ROBINSON                CO          90013517141
54769A42472B36   CHRISTOPHER   BENNING                 CO          90014380424
5476B4A2585928   NOELLE        BARNETT                 KY          90013374025
5476B534193724   ANGELA        PEARGAN                 OH          64512705341
5476B948661975   ANTONIO       ORTA                    CA          90014949486
547712A842B27B   BRITTANY      SCOTT                   DC          90014922084
5477161874B588   PATRICIA      ARMSTRONG               OK          90000476187
54771782798B2B   MICHELLE      COLLINS                 SC          11021297827
547726A9751348   NIKKI         CARMAN                  OH          90012466097
54772A94761973   WESLEY        HARRIS                  CA          90001760947
54773176776B75   JOE           GAERLAN                 CA          90012741767
5477433375715B   MIRIAM        LOPEZ                   VA          90001883337
5477437987B46B   CHARIST       BAKER                   NC          90008453798
5477447385758B   AIMEE         ESCANDERO               NM          90011904738
5477475645B531   VIOLA         SEGURA                  NM          90015017564
5477495777B46B   SHELESA       HUBBARD                 NC          90014559577
5477538A15B399   JESSICA       OAKLEY                  OR          44573373801
54775551372B49   LEROY         GARCIA                  CO          33085655513
54775815176B75   JOE LUIS      MERCADO                 CA          90013868151
54775921672B27   KELLI         HARPER                  CO          33057769216
54775A28172B38   DONAVAN       HAVILAND                CO          90010990281
5477615A972B27   CHRIS         CORTEZ                  CO          33018591509
54776595272B43   LUIS          GIMENEZ                 CO          90006695952
547769A624B521   ALICIA        ADAMS                   OK          90005679062
547771A1572B49   MARGARET      RICE                    CO          90014691015
5477728155B543   ANTOINETTE    MORA                    NM          90012702815
54777417A7B46B   MARY          FEELY                   NC          11016764170
54777465127B3B   CHYNA         JOHNSON                 KY          90006974651
54777822376B75   MARLENE       GARCIA                  CA          90012798223
54778118476B75   SALVADOR      PIUDRA                  CA          90012281184
54778317672B49   ABRAHAM       PEÑA                    CO          33014393176
54778996A5B531   JOSE          LOZANO                  NM          90014249960
5477923967B46B   ARTURO        PORTILLO                NC          90009992396
5477932475B531   ROXANNE       RIOS                    NM          90002443247
5477941714B588   STEPHANIE     DE LEON                 OK          90010244171
5477954775758B   MARIA         TELLEZ                  NM          35588985477
5477971A398B2B   PATRICIA      FOX                     NC          90001687103
5477B59475B543   ROBERT        SANCHEZ                 NM          90004175947
5477B8A3272B27   PATRICIA      ASIMUS                  CO          90005568032
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54781244972B36   ISMAEL      GUTIERREZ                 CO          33088132449
5478128A385928   CHAD        KIRK                      KY          90015022803
5478195275758B   BAUTISTA    PATSY                     NM          90013109527
54781A89572B38   DELORES     LUCERO                    CO          90010300895
54782236572B38   LAURA       GOMEZ                     CO          90008932365
5478259A95B387   ANTHONY     VARRA                     OR          44555715909
547831A9372B77   JENNIFER    ZIMMER                    CO          33030831093
5478325615B543   DAVID       SUMMERVILLE               NM          35015602561
5478342332B27B   PATRICIA    KETTLES                   DC          81026794233
54783531272B67   ANGELA      CANDELARIA                CO          33038025312
54783553A93724   OMAR        GARCIA                    OH          64584075530
54783A6667242B   DAVID       BRUCE                     PA          90003630666
54783A8487B461   KEOKI       FULWILEY                  NC          11078180848
54783AA9A91587   MARIA       RAMIREZ                   TX          75027130090
5478455A991587   JOSE        PEREZ                     TX          90013805509
54785191372B43   XOCHITL     FRANCO                    CO          33030171913
5478522A572B27   WILLIAM     CARRUTH                   CO          90007682205
54785661772B27   WILLIAM     CARRUTH                   CO          90013616617
54785A61572B38   TERENCE     FIELDS                    CO          90006050615
5478629A255959   MICHAEL     COVARRUBIAS               CA          90010462902
54786454972B49   ROSIO       MARTINEZ                  CO          90010674549
5478687425B393   CORENNA     FRANCK                    OR          90003978742
547868A872B27B   NIKITA      RECTOR                    DC          90005148087
54786916A51348   VINCENT     BRANDY                    OH          66008599160
5478696715758B   LILIANA     MORIN                     NM          90012759671
5478913A25715B   DAVID       SCROFANI                  VA          90008991302
5478914465B387   MIGUEL      ASCENCIO                  OR          90013321446
5478B218172B38   DIAZ        MARIO                     CO          33019182181
5478B323761973   BRIANNA     JOHNSON                   CA          90010703237
5478B836791587   ERNIE       RAMIREZ                   TX          90002418367
5478B851861975   HECTOR      MARCELO                   CA          46071988518
5478BA6325715B   CELIA       GARCIA                    VA          90014750632
5479123484B588   PAUL        CONOVER                   OK          90000302348
5479169555B531   SUGAR       MARIE                     NM          90012256955
54791999172B43   ALMA        MORALES                   CO          33093149991
54792319472B36   SENIA       HERNANDEZ                 CO          90011863194
54793455A84373   JERENE      GILLIAN                   SC          90012884550
54793528272B38   MICKEY      MEDINA                    CO          90011045282
54793578672B27   JESSIKA     MUNOZ                     CO          33064105786
54793912776B68   FRANCISCO   PALMA                     CA          90005549127
54793A68533699   MELITON     CATEMAXCA                 NC          90009420685
5479435975B399   FRANKLIN    CARSNER                   OR          90014993597
5479482AA93724   PERRY       MARTIN                    OH          90011668200
5479523525B387   YAYA        RICKEY                    OR          90015442352
54795712572B43   ALEX IVAN   GUERRA                    CO          90010107125
5479632345715B   ANA         OSORIO                    VA          81087183234
5479637A35B399   WILLIAM     PARRINGTON IV             OR          44545263703
54796721576B75   MELISSA     CERRILLO                  CA          90005737215
5479689A584373   JEFFREY     BERNS                     SC          90013928905
54797141672B36   SHERNETTE   BLACK                     CO          90014371416
54797561972B27   MARIA       MARTINEZ                  CO          90011405619
547977AA672B49   JOSEFINA    SAUCEDO                   CO          33074457006
54797852572B38   CHRIS       STRATTON                  CO          90000448525
54797A99384373   MELISSA     BROOKS                    SC          90005930993
54798884324B35   SANTOS      AREVALO                   DC          90001738843
54799672A51348   JOSHUA      ROTHWEILER                OH          90015126720
5479B677361973   KENNETH     MCCLELLAN                 CA          90013006773
547B1A88476B75   ISAIAH      FISHER                    CA          90013780884
547B222754B588   THURMAN     DEWBERY                   OK          90014712275
547B224575135B   DOUGLAS     ALSIP                     OH          66077102457
547B22A3191862   LISA        LYNCH                     OK          90012392031
547B2435151348   JAMES       ARMSTRONG                 KY          66055144351
547B322A191895   THURMAN     JOHNSON                   OK          21050002201
547B3275A5B387   ROMOS       GONZALEZ                  OR          44517432750
547B335A172B43   APRIL       CHAVARRIA                 CO          90013773501
547B352265B399   MARY        JOHNSON                   OR          90014765226
547B364735B283   VICTOR      HODGE                     KY          90008356473
547B4292343569   JILLYN      SMITH                     UT          31032722923
547B4453361975   MELVIN      HARRIS                    CA          90013404533
547B4968884373   TOMAROE     WRIGHT                    SC          90013139688
547B5414972B49   JAMES       BARTHOLOMEW               CO          90013574149
547B541995B387   ALEAH       ENGEVOLD                  OR          90010314199
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547B5A8977B46B   ARTURO         VAZQUEZ                NC          90012410897
547B5AA465715B   MARCIANO       ROMERO                 VA          81001860046
547B612675B399   KORI           O'BRIEN                OR          44502491267
547B6426233699   DETICIA        RUCKER                 NC          90014674262
547B752625758B   ANNETTE        GARCIA                 NM          35503065262
547B7797A5715B   LILIAM         CRUZ TURCIOS           VA          90013657970
547B8114351348   SHANNON        TUMEY                  OH          90013081143
547B8127791895   CHRISTY        GARDNER                OK          90011001277
547B8178372B38   TROY           FLORES                 CO          33031251783
547B829875715B   ELICA          SOLORZANO              VA          90004112987
547B8468761975   EDGAR          OCHOA                  CA          90010844687
547BB453533696   KETURAH        DAVIS                  NC          90015564535
547BB53A157157   LUIS           CLAROS                 VA          90012715301
547BB754284373   NATALIE        BONDURANT              SC          19050057542
547BB827772B77   LORRAINE       VAROZ                  CO          33072898277
54811477A5715B   BABIKER        OBAID                  VA          90012624770
5481195A191895   WILLIAM        BERRY                  OK          90006709501
548119A7172B77   DAVID          NEWCOME                CO          33016649071
5481219634B588   JOHN           LIPPE                  OK          21573281963
54812377672B43   DEBRA          DAVIS                  CO          90005873776
5481238297B46B   MICHAEL        DEVEN                  NC          90013703829
54812587872B49   CANDACE LYNN   LOZANO                 CO          90010045878
54813357372B36   MELISSA        MARQUEZ                CO          90002633573
54813771A4B588   RICO           CASTILLO               OK          90000447710
54813A71484373   GLINDA         JOHNSON                SC          90013610714
54813AA115B531   CARLA          SANCHEZ                NM          35004430011
54814313376B75   CONNIE         WEHRER                 CA          90014623133
54814983A2B27B   SAMAYA         SMITH                  DC          90014529830
54814AA7672B38   WILLIAM        BURNETT                CO          90013020076
5481523335B387   LASHONYA       MORRIS                 OR          90014802333
54815247272B38   TERESA         VILLA-SENOR            CO          90011572472
5481534A761971   CIRA           SALAZAR                CA          90013243407
54815534172B43   JANE           HALL                   CO          90007685341
5481659155B399   SHIRLEY        DEWEESE                OR          90015025915
54816991376B75   MANUEL         VARGAS                 CA          90013969913
548169AAA5715B   JORGE          URBINA                 VA          90015309000
54817199372B49   YANETH         PERDOMO                CO          33015651993
54817A54A7B46B   RENEE          GERALDS                NC          90013340540
5481821A477322   KYLE           PRANKE                  IL         90015512104
5481856A393724   ELIZABETH      LUGO                   OH          90009195603
548188A9984373   DESIDERIO      SUT                    SC          90008638099
548191A595758B   SALVADOR       DE LOS SANTOS          NM          90007161059
5481926625B393   MAURICIO       ORTIZ                  OR          44575822662
548192A3472B36   JOHN           HEREDIA                CO          33053662034
54819444572B49   ELIZABETH      MCGINLEY               CO          33067964445
5481986A391587   MIGUEL         MALDONADO              TX          90014138603
54819A59261973   ULYSSES        RODRIGUEZ              CA          90013660592
54819A76484373   JOSE           GARCIA                 SC          90014000764
5481B17397B46B   FIDELA         MELCHOR                NC          11016921739
5481B272A61973   SANDRA         ALVAREZ                CA          90015192720
5481B46585B387   DANIEL         JOHNSTON               OR          90014984658
5481B476A72B27   ALEJANDRA      ALVAREZ                CO          33063104760
5481B79545715B   MARCOS         GUEVARA                VA          90012317954
5482142AA55959   JOHN           VIGO                   CA          90008984200
5482185945B283   LUSHES         BENSON                 KY          68068248594
5482228A733696   ARIEL          FIVECOAT               NC          90013082807
54822661472B38   VICTORIA       HERNANDEZ              CO          90005856614
54822A36691587   CECY           NAVARRETE              TX          90010780366
54822AA7461971   MARWAN         AZABO                  CA          90013130074
54823912A5B531   ELIZABETH      MONTEMARANO            NM          35071379120
5482447885B531   MICHELLE       JONES                  NM          90014804788
54825645972B88   CELIA          RUIZ                   CO          33016526459
5482574635B531   ESTRELLA       CHAVEZ                 NM          90010667463
5482584335715B   CHRISTINA      TUCKER                 VA          90014428433
54825977A72B27   MARIA          MORA                   CO          33063769770
54825A16693782   MARRA          CHRLESTON              OH          90005020166
54826426772B27   MIRIAN         DZIB                   CO          90011724267
54826829572B49   JULIAN         LUCERO                 CO          90011328295
54827621872B38   JOSE           SALINAS                CO          33091476218
5482763A455959   JOSE           RODRIGUEZ              CA          90014886304
5482764AA61973   JENNIFER       KISH                   CA          90015316400
5482769967B46B   DIANDRIA       SWEENEY                NC          90013306996
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548276A9751348   NIKKI       CARMAN                    OH          90012466097
54827894A4B588   YOLANDA     PUENTE                    OK          21592098940
5482813A75758B   AMANDA      ROBERTS                   NM          90012961307
54828679772B49   JAVIER      UC                        CO          90010956797
5482881442B851   ALICIA      LIZAMA                    ID          42006668144
5482894528B181   VERNEY      QUIROZ                    UT          90008469452
5482924142B851   ELIZABETH   STEELEI                   ID          90012452414
5482B2A715B399   DANIEL      NEWELL                    OR          44522692071
5482B35AA72B49   JOSE        JAHEN                     CO          33002983500
5482BA86391895   STEVEN      THOMPSON                  OK          90013200863
548313A627B461   JUSTO       MENCIA                    NC          90001703062
548313AA991587   JOSE        PINA                      TX          90009303009
5483142635758B   ANTONIO     LUNA                      NM          90007564263
5483146555715B   BRENDA      SOLORZANO                 VA          81012104655
548316A245715B   DAVID       ORTIZ                     VA          90015566024
548321A2484373   JOSE        ALONSO                    SC          90011861024
5483269AA72B27   FRANCISCO   EMBARCADERO               CO          33008546900
54832899A3B387   RICHARD     WHITE                     CO          90006038990
54832A78561975   DANNY       CHRISTENSEN               CA          90010930785
54832A87455959   ELVIRA      MUNDO                     CA          90010790874
5483356A333699   DANIEL M.   C0RTEZ                    NC          12028815603
5483427715B399   MARY        KING                      OR          44592912771
54834677772B27   MARLENE     SCUDDER                   CO          33091336777
5483474A361971   GENIVIVE    FOSTER                    CA          90000257403
54834A42256326   ANGELA      STICKEL                   IA          90014670422
5483551884B588   TRENIER     HARRISON                  OK          90013325188
54836245172B36   KATE        GASTON                    CO          90015182451
54836447A72B27   MARCUS      HOWERTER                  CO          90015344470
54837679672B36   BARRON      ARTURO                    CO          33035766796
5483778192B27B   MARTINA     BATES                     DC          90004427819
5483834312B851   TULSHI      DHAMALA                   ID          42078623431
54838A47822459   GUY         TURTURICI                  IL         90009320478
5483913335758B   JUAN        REYMUNDO                  NM          90007931333
5483923625B387   LEDUVIER    PEREZ GARCIA              OR          90013972362
54839596876B75   JUANA       FELIX DE LOPEZ            CA          90009585968
5483B427572B36   CRYSTAL     ESPINOZA                  CO          90013924275
5483B699691895   JEFFREY     WOODS                     OK          21068396996
5483B87787B46B   SHAKEIRA    COOOPER                   NC          90013878778
5484135155B393   SHARON      NICHOLS                   OR          44503513515
54841729572B67   ALLEN       KIEL                      CO          90006837295
548417A384B521   STEVEN      IRVIN                     OK          21577657038
54842171872B43   MAKAYLA     HONEYCUTT                 CO          90008421718
5484245725B387   EUNICE      GUZMAN                    OR          90013204572
5484277A585928   SCOTT       PRESTON                   KY          67014147705
54842A29633696   KENNY       HARRISON                  NC          90014810296
5484322165715B   LUIS        VILLATORO                 VA          90000552216
54843956172B67   CLIFF       SUNDSTROM                 CO          33058399561
5484432812B28B   EDMOND      BYNUM                     VA          90008173281
5484463875758B   GUADALUPE   DELHIERRO                 NM          90013166387
5484518814B588   CECIL       HUNT                      OK          90012901881
548451A954B588   ALICIA      GARZA                     OK          90009991095
5484545385B531   AMY         MAESTAS                   NM          90015274538
54845536676B52   MARY        CONWAY                    CA          90009195366
54845A63551346   LEAH        SIMPSON                   OH          90013550635
54846A96791587   ANGEL       RIVERA                    TX          90015140967
548472A1A33696   CHRIS       MCDOWELL                  NC          90014482010
548472A6155959   LAURA       GONZALEZ                  CA          48089292061
548472AA85758B   NICHOLAS    CABRERA                   NM          90010322008
54847A28176B75   IRMA        GARCIA                    CA          46059440281
54848123972B43   FELIPE      RAMOS                     CO          33083291239
5484881A231425   JASON       MEDINA                    MO          90001808102
5484885AA7B46B   KRISTY      KANYON                    NC          11015468500
54849125472B38   LIZBET      YANEZ VENEGAS             CO          90013321254
54849165572B36   GABE        VEGA                      CO          33043661655
5484B269755959   RITA        EHCUARIA                  CA          90009002697
5484B27797B497   MICHELLE    ANDERSON                  NC          90014742779
5484B34A657157   THERESA     CLARK                     VA          90006383406
5484B42795B393   BRIANNE     FUENTES                   OR          90010894279
5484BA92261973   JOHN        WAGNER                    CA          46029270922
5485119A884373   GENESIS     VELEZ                     SC          90015331908
5485178975758B   MELISSA     TSYTTEE                   NM          90009767897
54851921A51348   TAMIKA      HUTCHERSON                OH          90014559210
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5485224A85715B   ROBERT      DAVIS                     VA          90006992408
5485348155758B   AARON       PEDRAZA                   NM          90011974815
5485421345B399   JACQUE      WARNER                    OR          44536492134
5485461212B27B   SHENISE     HILL                      DC          90013226121
54854746772B43   JOHN        KERR                      CO          90011947467
54855362472B38   LUIS CRUZ   MORALES                   CO          90002803624
548553A1385928   GLORIA      GARCIA                    KY          67081873013
5485557755B531   ZACHARY     TONKINSON                 NM          90013615775
5485585612B851   RUSTEE      SCHADE                    ID          42087258561
54856A5A65B399   TERESA      MOODY                     OR          44522870506
54857282272B77   JUKER       KEIRESTEIN                CO          33045742822
54857351A7B46B   HALEY       PARADIS                   NC          90003333510
5485813A25B399   JUAN        CAB                       OR          44564131302
54858888176B75   ROBERT      AGULAR JR                 CA          90007468881
54858A38255959   OSCAR       MENDOZA                   CA          90015380382
54858A44176B75   JABIER      HURTADO                   CA          46006480441
54859676972B43   ALFREDO     GRIJALVA                  CO          33070206769
5485B194843569   MICHAEL     OWEN                      UT          90008051948
5485B516272B38   ROSA        GUTIERREZ                 CO          90013925162
5485B93A491895   JAMES       MAYFIELD                  OK          90013079304
5485BA17793724   LAUREEN     BRANNAN                   OH          90011670177
54861A2155B387   JAQUELINE   JOHNSON                   OR          90013470215
5486264155B399   ANDREA      BURNSWORTH                OR          44548936415
54862821798B2B   WAYNE       BROWN                     NC          11080138217
54863126A61548   BERTHA      DIXON                     TN          90013291260
548633A8655959   DIRCE       AGUIRRE                   CA          90013053086
54865839772B88   SELINA      CASTRO                    CO          33016528397
54865A8645B387   DAVID       FORQUER                   OR          90014430864
54865A93961971   MARLA       JAMES                     CA          90015080939
5486635AA5B531   CHRIS       OTERO                     NM          35095933500
54866862376B75   ANALI       RAMOS                     CA          90010358623
5486714525B387   SEBASTIAN   WILLIAMS                  OR          90011581452
54867428297B4B   SHAWNA      ESTREICH                  CO          90004854282
5486745427B46B   WEDNA       DE SOUZA                  NC          90011464542
5486752447B46B   SCOTT       WILLIAMS                  NC          90012965244
54867937672B27   JOSEFINA    LUEVANO                   CO          33028399376
5486887515B531   RODRIGUEZ   VINCENT                   NM          35079398751
5486B25515B393   DIANA       HUGHES                    OR          44556082551
5486B255691587   FRANCISCO   CHACON                    TX          90015192556
5486B264A5B387   ROBERT      EICHLER                   OR          90013422640
5486B265872B36   HOLLY       GOLASZCWSKI               CO          90006482658
5486B954372B27   JASON       ADAMSON                   CO          90009459543
54871A2617B46B   LEEANDRA    CARROLL                   NC          90011520261
54872254972B38   CYNTHIA     COMPEAN                   CO          90011612549
5487258744B588   MICHAEL     CLAYTON                   OK          90013315874
548726AA65B399   KELSEY      HAWS                      OR          90015106006
5487347334B588   SHERRIE     FRICK                     OK          21595004733
5487368AA85928   JOHN        REYON                     KY          90012266800
54873A64372B67   ELTON       ROSALES                   CO          33042910643
5487423415B531   REGINA      TAPLEY                    NM          90009492341
548746A2A5B393   RONDA       JOHNSON                   OR          44589296020
54875622572B36   KEITH       POTTRATZ                  CO          90013326225
54875999A5758B   HOPE        CABRALES                  NM          90009469990
54875A11472B43   JOSE        ALACORN                   CO          90014510114
54876111972B36   YOLANDA     FLORES                    CO          90009851119
548773A695B387   ANNA        BENZ                      OR          90009013069
5487751774B251   FANNY       PEREZ                     NE          27028225177
54877534572B88   DAL         BAHADUR                   CO          90004335345
5487799A761973   BLANCA      RUEDA                     CA          90012129907
54877A43372B49   MARK        HELFMAN                   CO          33088800433
548784A865B399   WILLIAM     DEWEESE                   OR          44558114086
54878573272B27   BRENDA      MACIAS                    CO          90013645732
54878597672B77   GUADALUPE   GRANADOS                  CO          33016655976
5487874172B241   BERNARD     ARGYLE                    DC          90002297417
5487998815B387   BREANNE     FISHER                    OR          44520949881
5487B152A72B36   CRYSTAL     LOPEZ                     CO          33095561520
5487B846557157   LAURA       GOFF                      VA          90005908465
5487B89965B399   ROY         JAHA                      OR          44520408996
5487BAA4855959   MONICA      ESPARZA                   CA          48046230048
54881157A72B88   TARRA       NEEDHAM                   CO          90003251570
5488121265715B   LORIS       GALVES                    VA          90011242126
54881282176B75   JESUS       SANTIAGO                  CA          90005902821
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5488149115B283   WILMA         WICKLIFFE               KY          90007354911
5488153287B46B   CLAUDIO       LOPEZ PEREZ             NC          90004525328
54881937772B49   SERGIO        LOPEZ                   CO          90008169377
5488346195758B   DAVID         SHAW                    NM          90003354619
5488359A95B399   JEFFREY       ADAMS                   OR          44512975909
5488458355B531   LOUELLA       LOPEZ                   NM          35003455835
54885148976B75   BLANCA        CARMONA                 CA          90004381489
5488522995B399   ELIAS         TESFASELASSIE           OR          90013952299
5488548845B543   PERLA         QUEZADA- VAZQUEZ        NM          90004914884
54886537A51348   LUZ MARIA     JUAREZ MANRIQUEZ        OH          90014725370
5488715947B46B   ANTRON        PEGUES                  NC          90000271594
54887A8735758B   DOUGLASS      UPSHAW                  NM          90007970873
54888239272B36   ISSAC         LINK                    CO          33046752392
54888614372B38   NICHOLAS      WOOD                    CO          90001626143
5488966677B46B   KEVIN         BLACK                   NC          90008166667
54889A2784B588   LORETTA       MCGASKEY                OK          21593900278
5488B458184373   WILLIAM       WARING                  SC          19012474581
5488B4A5491587   OMAR          GALLARDO                TX          90000774054
5489132A15758B   LUZ           REYES                   NM          90014033201
54891797A5B399   STEVE         GEORGE                  OR          44546387970
54891A4198168B   CARLOS        GIRAUDY                 MO          29094980419
5489246945B399   TERRANCE      HALL                    OR          90008564694
548926A2672B36   ESTEFANY      ALVAREZ                 CO          90010426026
54892713A72B43   ANGELINA      WEATHERSPOON            CO          90012997130
54892A39393724   LAMAR         MAYE                    OH          90007320393
54893652772B49   LORA          JORALIN                 CO          90013006527
548936A3855959   JONATHAN      GAYTAN                  CA          90005306038
548936A9272B36   SIDNEY        TAYLOR                  CO          90006156092
54893737A4B588   JENNIFER      WOOTEN                  OK          90006077370
54893A41372B27   DAVID         ESTRADA MURILLO         CO          90014340413
54895118A5B543   ANDREA        BACA                    NM          90014011180
54895265A72B38   CHAVEZ        CHAVEZ CARRASCO         CO          90002622650
5489579A561973   CHRIS         GILKES                  CA          90007937905
5489643875758B   MARIA         ACOSTA                  NM          90006554387
54896A17961973   JAMES         SIMMONS                 CA          90013810179
54897162672B36   MICHELE       RODRIGUEZ               CO          90012391626
5489846465B387   CHARMAINE     CROSSLEY                OR          90012794646
5489869AA72B77   JAMIE         BONNER                  CO          90011936900
54899947276B75   JENY          ASUNCION                CA          90011609472
5489B14135B393   TABITA        SIMEDRU                 OR          44562301413
5489B333272B88   FELICIA       GOODE                   CO          33073103332
5489B482A61975   JAMES         GROGAN                  CA          90013714820
5489BA2174B588   KIMBERLY      LYNCH                   OK          90013230217
548B11A6991587   MARIA ELENA   SOSA                    TX          90015191069
548B146545B387   ERICK         FRENCH                  OR          44569064654
548B214735B393   PAMELA        LEWIS                   OR          44594641473
548B2376672B27   RUDY          GERINGER                CO          90014053766
548B258185715B   KIMISHA       DABNEY                  VA          90014285818
548B2649A61971   GIOVANNY      CHAVEZ                  CA          90012616490
548B2955157554   IRMA          APODACA                 NM          90008749551
548B2A34472B38   LAGEORGE      HADNOTT                 CO          90013000344
548B3273791587   ELISA         RODRIGUEZ               TX          75061432737
548B362485B399   RITA          GIORGEES                OR          90015226248
548B3A16693724   BRANDY        BAYES                   OH          64584130166
548B414155B399   ANGEL         SMITH                   OR          44594771415
548B4534772B43   EVELIA        RODRIGUEZ               CO          33008645347
548B5271276B75   ALYSSA        STEIWERT                CA          90012822712
548B52A7972B27   MARIA         ABARCA                  CO          33077812079
548B577175715B   DAWSON        DAWSON                  VA          90013897717
548B5991791587   MELISSA       ROBLES                  TX          90014309917
548B631675593B   JOSUE         GOMEZ                   CA          49096823167
548B6411261971   LAURA         GONZALES                CA          46013064112
548B68A4972B77   ALLYSON       KULINSKI                CO          33032168049
548B6979872B49   KYLE          SUNDRIUP                CO          33025779798
548B7447A61973   LILY          GOMEZ                   CA          46033304470
548B7526155959   JANET         REYES                   CA          90004765261
548B767455B387   JOSHUA        GRIFFIN                 OR          90012346745
548B816162B851   JORGE         PEDROZA                 ID          90000591616
548B8531472B49   VANESSA       ATAYDE                  CO          33040425314
548B854A657554   ALICE         SHANNON                 NM          90010345406
548B868975758B   CHARLOTTE     STOEHNER                NM          90012146897
548B8755A61973   PRICILLA      GONZALEZ                CA          46028847550
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548B878A333645   ROBIN        DUEHRING                 NC          12005137803
548B952A761973   CARMEN       TAPIA                    CA          90014815207
548B9631372B27   RONALD       POINDEXTER               CO          33016516313
548B9826261975   JAMES        HYNUM                    CA          90007828262
548BB975772B27   JESSICA      MEDINA                   CO          90010139757
548BBA51151348   RENEE        MANASE                   OH          90013070511
5491114684B588   MICHEAL      ALLEN                    OK          90006631468
5491142695B264   TAMARA       CRUMP                    KY          90005324269
54911952A3B352   GLEN         FISHMAN                  CO          90000219520
54911A4A87B46B   QUAR         GUIAN                    NC          90012770408
5491331135758B   SERGIO       LOZANO                   NM          90012243113
5491377694B521   DAVID        DANNER                   OK          21502497769
54913A24376B75   ELIZABETH    TORRES                   CA          90014050243
5491414255B283   TERRY        IRVIN                    KY          68007131425
5491439A472B43   LAURA        HERNANDEZ                CO          90014823904
5491466185715B   RONI         BALLARDO                 VA          90010186618
54914812872B88   POLLY        PASCHALL                 CO          33074938128
54915345372B43   KAREN        CHASE                    CO          90011203453
54915AA9931429   JOSEPH       ROSENHOFFER              MO          90007570099
5491635515B543   JULIE        WINDSOR                  NM          35084083551
5491638695715B   IVELISSE     RUIZ                     VA          90014573869
5491641895B531   FLORA        SERRANO                  NM          90009104189
5491711A833699   JASMINE      REED                     NC          12085061108
5491798655B387   MELISSA      SEAMON                   OR          90009709865
549181A985B531   MICHELLE     PINO                     NM          35030891098
5491837585B393   KRISTOPHER   WOOD                     OR          44514933758
54918474A76B75   PETER        JUAREZ                   CA          90014514740
54918987872B49   NOELLE       SPANGLER                 CO          90012419878
54919588572B49   JORGE        SANCHEZ                  CO          33063115885
54919A48872B38   JAMIE        MATHEWS                  CO          90013000488
5491B22A45B531   SONIA        SENA                     NM          90013882204
5491BA62772B38   TROY         CHATTERLY                CO          90013000627
54921563124B7B   CHARITY      BUTLER                   DC          90006195631
5492169785758B   DAMIAN       ORTEGA                   NM          90012926978
549219A3391534   ROSA         RAMOS                    TX          90005499033
549222A982B27B   TIFFANI      TAYLOR                   DC          90013922098
54922317472B27   ADELAYDA     TORRES                   CO          33058453174
5492437345B399   EMMANUEL     RODRIGUEZ                OR          90012343734
54924492972B27   JEFF         HELTON                   CO          90012084929
549247A615B531   JULIE C      ZECCA                    NM          35037887061
54924984A72B43   ERICA        GALINDO                  CO          33094999840
54924A65A72B36   YANIKA       ALLEN                    CO          33003150650
5492524A933696   TAWNNISHA    CHRISP                   NC          90014822409
54925833372B49   PENNY        LARSON                   CO          90014168333
54925888A72B27   RUBEN        FLORES                   CO          90001178880
5492658492B851   CARLOS       JIMENEZ                  ID          90010375849
5492686425715B   KRISTIAN     DOUGLAS                  VA          90010358642
54927266272B38   ROSA         DIRCIO                   CO          90011572662
5492783617B46B   THERESA      HAMILTON                 NC          11097408361
549286A5891267   PATRICK      DONALDSON                GA          90012456058
5492915485715B   HORRA        HOSSAINI                 VA          90010321548
549296A825B531   DANNY        GUAJARDO                 NM          90013306082
5492B27424B588   LELIA        CASE                     OK          90010432742
5492B64585599B   JOSEPH       WOOD                     CA          90012456458
5492B88A385928   LISA         YOUNG                    KY          67008868803
5492BA36A51348   ZORAIDA      ESCALANTE                OH          66041530360
5493125624B587   TRACY        WILLIAMS                 OK          90014842562
549312A1876B75   DAWN         ZIPPER                   CA          90014522018
5493171195B399   SUSANA       TUAFALE                  OR          90011247119
54931721A7B46B   SAMBA        MATETA                   NC          90013307210
54932266772B27   KIMPHONE     PHANTHAVONGSA            CO          33096722667
54932336772B77   RAMON        RIVERA                   CO          90006533367
5493279115B543   MARIA        EMILIANO                 NM          35051487911
549327A955B393   FRED         MARTINEZ JR              OR          44573217095
54932874172B38   COLLEEN      CHRISTOFFERSON           CO          33045018741
54932A37272B49   MADELYN      BONNER                   CO          90013560372
549341A2A61975   JEFFREY      TODD                     CA          90014801020
54934455376B75   LUCILA       MONZANO                  CA          90007714553
54934836A5B531   GUSTAVO      FACIO-SANCHEZ            NM          35047608360
5493486585B387   JACOWSKI     BISSERETH                OR          90003738658
5493495A151348   ADRINNE      LEE                      OH          66002899501
54934A36291587   FATIMA       TINOCO                   TX          90010860362
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54934A5A372B38   DIANA          PROO                   CO          90013000503
54934AA7284373   KELLY          BROWN                  SC          90009980072
5493551362B27B   REGGIE         JAMES                  DC          90007145136
5493558AA5B393   ORIEL          HELZER                 OR          44556375800
54935A87551348   CARLOS         RODRIGUEZ              OH          66012760875
5493686935B387   SCOTT          WOLFE                  OR          90009398693
54937A35191895   VIRDIANA       ROJAS                  OK          90012240351
5493839475758B   JAVIER         FIELDER                NM          90014043947
54938756A21631   AIREZ          EBERHARDT              OH          90013377560
54938797772B49   ALLISON        MARTINEZ               CO          90012257977
54938A5835B387   POWELL         DONNA                  OR          44543270583
54938A6215758B   JAVIER         FIELDER                NM          90014060621
5493912277B46B   MAUREEN        HOECKER                NC          90013721227
5493912365715B   SANTOS         GARCIA                 VA          90004301236
5493946683B391   EMITERIO       CRUZ                   CO          33015364668
5493B68A333696   NICOLE         HAPTON                 NC          12082696803
5493BA52272B38   AMILZA         ALDANA                 CO          33010540522
5494133AA98B2B   DANIELLE       CHILDRESS              NC          90005993300
54941466A72B43   KATHLEEN       LOVATO                 CO          33059394660
5494154A133696   DONNA          PRESSLEY               NC          12057315401
54941633576B75   BEVERLY        BOCCHINO               CA          90012176335
54942AA334B588   DANIEL         WOOLERY                OK          90012660033
54943454A72B43   CESAR          CHAVEZ                 CO          90013764540
5494363A651348   ANDRE          DIBER                  OH          90013786306
549439A1155959   NEYSA          LUJAN                  CA          48095239011
549439A2184373   JOSELITO       JALANDONI              SC          90015329021
54945249A76B75   EDGAR          ROJAS                  CA          90011002490
54945425672B38   JONATHAN       CORNWELL               CO          90000404256
54945849572B49   YAZMIN         MORENO                 CO          33023838495
54945A26572B77   JOE            FERRILL                CO          90003270265
5494618545B399   MARY           LAZARUS                OR          44556571854
54946415A91895   CURLEY         WALKER                 OK          90014924150
54946733872B36   GERALD         YOUTSEY                CO          33071487338
54946A85272B49   CARLOS         GUILLEN                CO          33010620852
549478A515715B   ILSY           CRUZ                   VA          81098128051
54947A14A5758B   FELIPE         GARCIA                 NM          35508710140
54948954372B77   ALEJANDRO      RIVAS                  CO          90000649543
5494896945B393   MALEA          AMERMAN                OR          90001559694
54948A79A72B36   LILIANA        ORTEGA-SERNA           CO          90012360790
5494B29715B393   BRYAN          LOWES                  OR          44550202971
5494B84232B851   MARIA          LOPEZ                  ID          90002918423
54951A95872B27   KATHERINE      LEATHERBURY            CO          90010450958
5495253645715B   EDWIN          GUERRERO               VA          90013075364
54952584272B38   PAISLEY ROSE   GORMAN                 CO          90013355842
5495259175B393   DEVIN          LUCE                   OR          44597865917
5495354885B387   SHERY          ADAMS                  OR          44511505488
5495696A472B43   TERRY          SMITH                  CO          90011169604
549572A1A72B27   JOSEPH         LUCERO                 CO          33056022010
54957316A91895   VAL            COOPER                 OK          90014813160
54957AA9476B75   RUFINA         IXCOY                  CA          90011850094
5495825A62B27B   TAKEISHA       GLOVER                 DC          90012882506
54958445A93724   SHANNON        CHRISTIAN              OH          64585924450
5495973895B399   TONYA          RIVAS                  OR          90011247389
5495B2A892B959   PAULO          ALBERTO                CA          45062062089
5495B416255959   RACHEL         CERVANTES              CA          90013524162
5495B574A91587   ISAAC          GARCIA                 TX          90013905740
5495B75315715B   GIOVANNY       ROMERO                 VA          90010127531
5495B784576B84   GUADALUPE      CERVANTES              CA          90006417845
5496123194B521   JAMES          REED                   OK          90005712319
5496153615B387   MUNA           ABU                    OR          90010005361
54961912772B38   JAMES          GORDON                 CO          90013009127
54961A1185715B   FRANCISCA      JUAREZ                 VA          90012410118
5496225665B543   MARIE          ALDERETE               NM          90001892566
54962361572B43   FELICIA        CHAVEZ                 CO          90012653615
549626A6561971   AJ             REEVES                 CA          90014266065
5496281A35132B   KRYSTAL        HAUSSLER               OH          90011278103
5496296158B12B   KRISTINE       MONTOYA                UT          90003189615
5496317435B393   REBECCA        CRAWFORD               OR          44506201743
54963221A33699   CAROLINA       LOPEZ                  NC          90012762210
54963368872B27   RALPH          ALLMAN                 CO          33028283688
5496351A761971   KIMBERLY       PARRA                  CA          90011405107
54963592572B36   LINDA          FRAZIER                CO          90005475925
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54964275172B38   JOSE        PUENTE                    CO          90015242751
54964589772B49   JUAN        ROBLES                    CO          90002765897
549645A8A2B235   CLYDE       CASEY                     DC          81065165080
5496521445B531   VALERIANO   LOPEZ                     NM          90005662144
5496547683B387   ABEL        RODRIGUEZ                 CO          90013044768
54965665A5B387   GARY        PROCTOR                   OR          90014176650
54965912972B27   EMILIO      MUNIZ                     CO          90013379129
54967411672B49   CAMILIO     TELLEZ                    CO          90015184116
54967799372B38   CYNDY       ADAMS                     CO          33035907993
54968AA125B387   KINDA       SWEETLAND                 OR          44551540012
54969535872B38   BRUCE       GERARD                    CO          90015115358
5496B61134B588   ROBERT      WILLIAMS                  OK          90012566113
5496B793691587   ALEJANDRA   CORONEL                   TX          90011717936
5496B96355715B   KRISTY      GIBSON                    VA          90005889635
54971A19672B38   SANTIAGO    RAMIREZ                   CO          33052920196
5497336A733696   DAIMEN      FERGUSON                  NC          90013313607
54973586476B75   MENDEZ      JOVITA                    CA          46013255864
54973731A76B75   YESENIA     CRUZ                      CA          90011897310
5497397495B393   TODD        HARDY                     OR          90003029749
54973A2834B588   LANE        ROSS                      OK          90015100283
5497436695B531   ANTONIO     TARIN                     NM          35085833669
5497454674B52B   CEDRIC      KING                      OK          90007695467
54975343A72B27   JUAN        ABREGO                    CO          33073433430
54975476972B43   TINA        LAVATO                    CO          90010514769
5497553A191587   ROBERT      BAKER                     TX          75026785301
54975A3215B393   GAYLE       JENSEN                    OR          90000610321
5497616A45B561   GERALDINE   DURAN                     NM          35091481604
549761A3676B75   JOSE        OLIDIO                    CA          46072191036
549762A8472B43   LUIS        RODRIGUEZ                 CO          90013542084
5497666815B387   ERMAND      ZOCHERT                   OR          44585486681
54977179872B38   LAURA       ESTRADA                   CO          33017251798
54977322698B2B   RICARDO     MORALES                   NC          90011643226
54977443172B36   MELISSA     MEZA                      CO          33017904431
54977A78872B38   JESSICA     ABEYTA                    CO          33039620788
5497829685715B   BARBARA     SIDDIQUI                  VA          90010322968
5497847A172B77   GERARDO     CORTEZ-MONTANEZ           CO          33001184701
54978A41231428   MELONIE     HORTON                    MO          27515640412
54979155A5758B   ARISVEL     HERRERA                   NM          90014271550
549793A8276B75   JONATHAN    B NICKELS IV              CA          90012363082
54979919172B27   TIMOTEO     SOLORZANO                 CO          90013899191
5497B21675B387   GLORIA      LOPEZ                     OR          44560972167
5497B243761971   LANCE       DARINGER                  CA          90001482437
5497B339633696   VICKIE      HARRIS                    NC          90015093396
5497B49175B531   ROSE        WOPAT                     NM          90011604917
5497B82964B588   ZANDRA      SMITH                     OK          90009648296
5497BA92472B38   TAMARA      COLLIER                   CO          90014150924
54981348272B77   SHANA       LAVON                     CO          90006003482
5498174315B52B   EVELYN      NETZER                    NM          90011297431
5498183715B399   NIESHIA     BROWN                     OR          44560928371
5498195938B186   EMILO       TORRECILLA-VALLE          UT          31041359593
5498199A74B251   MARIA       GAMES                     NE          27013879907
549826A4491587   NANCY       NAVARRETE                 TX          75040076044
54982A42698B2B   SHELLY      BYERS                     NC          90013910426
5498336424B521   MIA         COOK                      OK          90005713642
54983747372B36   JESSICA     VILLEGAS-LOPEZ            CO          33067297473
5498396A12B27B   CLINTON     CARROLL                   DC          90010419601
54984619A5B543   LUZ         HERNANDEZ                 NM          90004916190
54984935A55959   FRANCISCO   PARRA                     CA          90012789350
54985489472B77   CHUCK       BLUE                      CO          90002554894
54985963472B36   MARIANA     SANCHEZ                   CO          33055879634
549861A1A5715B   CINDY       SANCHEZ                   VA          90000441010
54986317472B27   ADELAYDA    TORRES                    CO          33058453174
54986811972B43   JAMES       TRAVIS                    CO          90009788119
54986A6A433696   CYNTHIA     SPRINGS                   NC          90014960604
5498781355715B   MARIA       SALOME                    VA          90013568135
54987A8695758B   CHRISTIAN   LUCERO                    NM          35582640869
54988343A5B393   CHRISTINE   CREAMER                   OR          90004973430
5498855894B588   ANTHONY     PERRY                     OK          90015085589
54988593872B38   JAVIER      GUTIERREZ                 CO          33043375938
54988A23172B88   KIMBERLY    OLIVER                    CO          33033990231
5498B193A5B387   KAREN       WEBB                      OR          90011581930
5499163A561975   DANIELA     SANCHEZ                   CA          90011166305
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54991A57651348   HIRAM          MARION                 OH          66064140576
5499282A676B75   BERNAVE        MERIDA                 CA          90005188206
549928A1385928   ISAC           FIGUEROA               KY          90014908013
5499365385B387   BRUCE          VELARDE                OR          90008166538
54993735472B88   LARRY          JAMISON                CO          90003817354
54993998972B27   BRENDA         WHITMIRE               CO          90008079989
54994488172B67   JUANMANUEL     HERNANDEZ-IVARRA       CO          33068524881
5499479555B387   RAY            SEAMSTER               OR          44524927955
5499528295758B   NORMA          TORRES                 NM          90014832829
549952A9972B49   KIM            HATCHEL                CO          90014842099
549959A365B283   ROSA           GONZALEZ               KY          90004239036
54996831297B21   TAMARA         SEUFER                 CO          90004038312
5499754A75B531   CRISTOPHER     EDWARDS                NM          90013105407
5499796345B283   CHRIS          MILLER                 KY          90013839634
54998115476B75   DAVID          FRAZER                 CA          90013251154
54998529172B77   VERONICA       CASTILLO               CO          90000415291
54999A26961973   INDIA          SWANSON                CA          46061220269
5499B148131443   MARIAN         BUCK                   MO          90009581481
5499B1A175B531   CATALINA       VANVLEET               NM          35082971017
5499B433672B88   ANTONIO        MARTIN                 CO          90009504336
5499B557176B75   VICTOR         CANSECO                CA          46079975571
549B2167672B38   SAMUEL         LAYTON III             CO          33039781676
549B221685758B   ELSA           ARMENDARIZ             NM          90009092168
549B2316961971   DENISE         AUSTIN                 CA          90011503169
549B2712272B88   DANYELLE       SPENCER                CO          33073707122
549B3658272B38   TERESA         MENDOZA                CO          90014456582
549B392465B387   ADAM           HART                   OR          90015079246
549B4125172B77   ABEL           CARMONA-ZAVALA         CO          90006341251
549B414224B588   TRACI          BOYD                   OK          90012121422
549B4245772B67   ADELINA        HERMOSILLO             CO          33032252457
549B4825A72B43   CLISTY         MEDIOLA                CO          90001258250
549B582A876B75   AMANDA         CORTEZ                 CA          90007198208
549B5984872B49   GALE           BOULWARE               CO          33035689848
549B5A3655B387   STUART         CARR                   OR          90008010365
549B6115872B49   ISMAEL         GUZMAN                 CO          90003331158
549B6122484373   LACRETIA       BRYANT                 SC          90011221224
549B6377472B67   GINAMARIE      MICHIELLI              CO          90012383774
549B6417791587   ARACELI        RODRIGUEZ              TX          90013964177
549B64A3298B2B   MARIA          MAYA                   NC          11047234032
549B6824233696   GLADYS         ELLISON                NC          90013168242
549B755147B46B   PEDRO          VILLAHERRERA           NC          90012965514
549B7574272B36   TABITHA        GRAHAM                 CO          33071485742
549B854115B387   HEATHER        SONNE                  OR          90010345411
549B8877772B43   CHRIS          MCCUNE                 CO          33098708777
549B8A28572B49   ALEXA LOUISE   ELLIS                  CO          90013560285
549B916A951348   DEVIN          HALL                   OH          90013961609
549B9478933645   CHRISTA        WHITE                  NC          90004414789
549BB228484373   CHRIS          BLACK                  SC          90014152284
549BB313851348   DENNIS         BATTON                 OH          90004113138
549BB84A131429   MALIN          KATHLEEN               MO          90001448401
549BB882672B38   SHARAY         RUDOLPH                CO          90003128826
54B1113A55715B   LORDA          CHAVARRIA              VA          81043761305
54B1124755B283   DON            LOVE                   KY          90010622475
54B11591861973   JAMES          HYNUM                  CA          90014825918
54B11622572B43   JAMES          SALAS                  CO          90000326225
54B11697551348   WILLIAM        BENNETT                OH          90010326975
54B11862851348   JOSEPH         CAUDILL                OH          66074298628
54B1229765B393   RAGNAR VIJAY   CEREZO ESTENOZ         OR          90011502976
54B12329A57157   RAPLH          MOSS                   VA          90001693290
54B1251A385928   KIMBERLY       GRIFFITH               KY          67059155103
54B12552233699   KEVIN          HASKINS                NC          90009075522
54B12641A41221   ASIA           CAMP                   PA          90014956410
54B12933972B38   ANGELICA       CASTILLO               CO          33057639339
54B13773691869   NICHOLAS       MARTIN                 OK          21001267736
54B13775976B75   PRINCESS       GUZMAN                 CA          90011387759
54B1379515B283   MOTY           BRIGHT                 KY          68052377951
54B14178398B2B   YOLANDA        BYRD                   NC          90001101783
54B144A8672B49   LAWRENCE       BROOKS II              CO          33008964086
54B14511233699   DEON           BETHEA                 NC          90013365112
54B14979985928   ANGELA         ROBERTS                KY          67043759799
54B14A1A72B851   MELLISA        COSTILLA               ID          90003330107
54B14AA4872B77   LUCIANO        FRAIRE                 CO          33062420048
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54B15121493724   ANDREWS     WEISS                     OH          90008121214
54B15274272B38   MISTY       PERKINS                   CO          90008242742
54B153A3572B49   MICHAEL     BELL                      CO          90011223035
54B15673872B36   LAURA       STEARNS                   CO          33091306738
54B15968261973   CASSANDRA   BUENO                     CA          90007459682
54B1621187B46B   VINCENT     HAYDEN                    NC          11032962118
54B16383484373   CARL        COLEMAN                   SC          90014853834
54B16731161975   BRUCE       GRENFELL                  CA          46001167311
54B17639384373   BENJAMIN    ATON                      SC          90005306393
54B17A69672B38   MIKE        LUCERO                    CO          90010300696
54B18435A24B7B   MIREYA      VALASQUEZ                 MD          81087524350
54B1867185758B   FRANCISCO   BECERRA                   NM          90014156718
54B19145872B49   KELLY       GRIES                     CO          90006771458
54B1923775B393   TIFFANY     INGRAHAM                  OR          90006492377
54B19625291587   MAYRA       GONZALEZ                  TX          90000616252
54B19897A5715B   AKBER       SEWANI                    VA          90010458970
54B1B271784373   MANUEL      ZUNIGA                    SC          90015032717
54B1BA2495B387   JOSE        TORRES BARRAGAN           OR          90011880249
54B1BA45336165   JESSICA     LOZANO                    TX          90001590453
54B21164291587   MONICA      MORALES                   TX          90013151642
54B2185225B393   DAHN        ANDERSON                  OR          90003978522
54B219A7772B38   BRANDON     HAYES                     CO          90014109077
54B22A7257B46B   QUINTINA    HOBSON                    NC          90005580725
54B2329485758B   DAYAN       BELMONTES                 NM          90013302948
54B2342567B46B   NOEL        NAVARRO LOPEZ             NC          90012964256
54B23624872B27   CARMEN      PADILLA                   CO          90014016248
54B23744143569   DOCTOR      MARISCAL                  UT          31090867441
54B24391272B27   CHRISTINA   ASHBY                     CO          33064693912
54B24433184373   STEVEN      NELSON                    SC          90012934331
54B24897733699   MATTHEW     PARHAM                    NC          90013928977
54B25134761971   ANNA        JONES                     CA          46022071347
54B2554395B531   EMELDA      SOLIS                     NM          35002705439
54B25782157123   OMAR        PALACIOS                  VA          90001467821
54B25A3127B657   BRANDY      KELLMAN                   GA          90013450312
54B25A31385928   BRENDA      DAVENPORT                 KY          90011440313
54B25A7A75758B   ALICIA      FISHER                    NM          90013880707
54B262A3661975   ALBERTO     SANTOS                    CA          90013292036
54B2637885715B   FRAN        VARGAS                    VA          90002813788
54B26676385928   JOYCE       BOOKER                    KY          90007636763
54B28235198B2B   SONYA       SMITH                     NC          90010482351
54B283A7261973   JORGE       GONZALEZ                  CA          90014563072
54B284A145715B   AROZO       KHAIRZADA                 VA          90014104014
54B286A2372B38   ADRIAN      VILLANUEBA                CO          33079326023
54B2874692B851   SUSANA      ADAME                     ID          90012357469
54B2878825758B   FORREST     MCDANIEL                  NM          90012187882
54B288A6455959   EVA         FIGUEROA                  CA          90007708064
54B2937A861975   ADAN        GOMEZ                     CA          90013933708
54B2B183972B38   LILIANA     ARELLENO                  CO          90013451839
54B2B48715715B   SONYA       WATKINS                   VA          90013144871
54B2B7A584B23B   ROSALIND    SELLS                     NE          90001237058
54B2BA8A22B851   JORDAN      NEILSON                   ID          90003690802
54B3122362B27B   ALCANTARA   MARISELA                  DC          90001902236
54B3132517B46B   BENI        LUTALADIO                 NC          90001823251
54B31487A5B393   HANI        ABIDIRAHMAN               OR          90007974870
54B3165A151348   SHEILA      MESSER                    OH          66045396501
54B317A2361971   TINA        BUSSEY                    CA          90011527023
54B3226755758B   CTNDI       MEDRANO                   NM          90014832675
54B32516472B38   ABRAHAM     PASCUAL                   CO          90009865164
54B33252233645   BERTIN      ROMERO                    NC          12013262522
54B33621191587   HERNANDEZ   SANDRA                    TX          75016246211
54B33859855959   MANUEL      MEZA                      CA          90006688598
54B34258984373   SHANA       WADE                      SC          90003142589
54B3443515B283   KIM         ALLEN                     KY          90007994351
54B3471735B531   ELIZABETH   MOORE                     NM          90010587173
54B35251541296   MICHAEL     EBERT                     PA          90001102515
54B3546A376B68   LEONOR      POZOS                     CA          46004544603
54B3567A486427   MARCO       SORTO                     SC          90014486704
54B3658262B27B   JESSE       ANDERSON                  DC          81015075826
54B36649276B75   TIMOTHY     DAY                       CA          90014676492
54B366A6872B88   ERIKA       TORRES                    CO          90006726068
54B367A9A51348   CHRISTINA   CRAWFORD                  OH          66006107090
54B36912472B67   PRISCA      GARCIA                    CO          90002259124
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54B36995A4B588   NAYELY       SADLER                   OK          90014569950
54B369A4A55959   ISRAEL       GONZALEZ                 CA          90015439040
54B3719292B27B   MARIALINDA   HERNANDEZ                DC          90000451929
54B3727485758B   GEORGE       GONZALES                 NM          90007262748
54B37533951348   MANUEL       BARROA                   OH          90012655339
54B37537772B77   IVONEE       VELAZQUEZ                CO          33048415377
54B37655A5B543   MARY         HAUPT                    NM          35004676550
54B37873772B49   SELENA       CANDELRIA                CO          90002618737
54B38291261971   M            MIRADOR                  CA          90012502912
54B38567398B2B   MARBIN       DOMINGUEZ                NC          90002845673
54B3864368B597   ISRAEL       VAZQUEZ                  CA          90013826436
54B38773733696   DOMINIQUE    BREEDEN                  NC          90014647737
54B388A5872B36   EMILIO       JIMENEZ                  CO          90002518058
54B39111455959   LINDA        B                        CA          90008441114
54B39722A5B543   SONIA        PORTILLO                 NM          35013477220
54B39A28751348   ROBERT       ALTHAUS                  OH          66069170287
54B3B71725B399   DONALD       BREAZEALE                OR          90014547172
54B3B7A1A72B43   SOANI        LOPEZ                    CO          90014727010
54B42159572B27   JAKE         DINCOLA                  CO          90012491595
54B42169A61971   CAPRICE      SMITH                    CA          90013171690
54B422A6372B27   JAKE         DINCOLA                  CO          90013822063
54B42332672B38   ALBERTO      FRAISO                   CO          90013243326
54B42818A4B588   JEFFREY      COX                      OK          90003258180
54B42895461975   MARTIN       OSUNA                    CA          90010748954
54B42A4A555959   PAULINA      HILL                     CA          90011340405
54B4332314B588   TIQUILLA     FRIDAY                   OK          90003163231
54B43553891587   PALOMA       TORRES                   TX          90012405538
54B43687572B77   GERMAIN      RUIZ                     CO          33079056875
54B43A9242B27B   TYRICE       STANTON                  VA          90009510924
54B44211431429   BRIANNA      FOUNTAIN                 MO          27555862114
54B44727172B27   ORLANDO      CERCEDA                  CO          90014307271
54B44921A61975   AMELIA       ORTEZ                    CA          90013059210
54B44A34A72B49   MIRIAM       VALENZUELA               CO          90000900340
54B44A5745715B   ROBERTO      ALFARO                   VA          90013560574
54B44A8995715B   OK HYUN      YANG                     VA          90007020899
54B45244784373   WILLIAM      DRIGGINS                 SC          19097762447
54B4558314B588   MONSERRAT    PASOHONDO                OK          90010645831
54B46211784347   ANTHONY      CLUBB                    SC          90003612117
54B46249991587   OSCAR        JAQUEZ                   TX          75092052499
54B47219A5715B   ANTONIO      JOYAS                    VA          90015302190
54B47814261973   LYNDA        MILSAP                   CA          46008058142
54B47817151322   NATE         REID                     OH          66058388171
54B47849A55959   INGRID       REYES                    CA          90012798490
54B47A81891587   ERIKA        GUILLEN                  TX          90008210818
54B4821A551348   JEREMIAH     PACE                     OH          90015182105
54B48314572B49   MARCELA      MARTINEZ                 CO          33006373145
54B4831947B46B   ALFRED       DAVIS                    NC          11074663194
54B4865775B531   DAVID        ARMIJO                   NM          90010006577
54B4899142B27B   RICK         SHULTZ                   DC          90008599914
54B49136A5B387   JEFFREY      JACOBS                   OR          90008841360
54B49151872B27   JACQUELINE   GUZMAN                   CO          33093091518
54B4915875715B   DION         RIBINSON                 VA          90006631587
54B4994695B399   KAYLENE      SONGER                   CA          44559769469
54B4B647533696   TONIA        NORMAN                   NC          90014516475
54B4B9A3372B67   MUOISES      GARCIA                   CO          33057119033
54B51154955959   EDLENE       LOPEZ                    CA          90013881549
54B51534391552   CARLOS       RIVERA                   TX          90003995343
54B52189557157   HUGO         ANDRADE                  VA          90001771895
54B521A7676B75   EDGAR        LOPEZ                    CA          46064581076
54B5236182B27B   RYNIKA       JONES                    DC          90014913618
54B52411651348   DENISE       ALLEN                    OH          90007234116
54B528AAA55959   DANIEL       CABALLERO                CA          90012248000
54B535A5A72B27   TAMMY        GONZALES                 CO          33074795050
54B5416A27195B   JOHN         GARCIA                   CO          90012501602
54B548A9A5B399   RAYMOND      MOSLEY                   OR          44560478090
54B5555A15B531   SHIRLEY      LACROIX                  NM          35082645501
54B55A21A72B27   JENNIFER     CHEVARRIA                CO          33084510210
54B56128672B67   BRAULIO      BALDERAS                 CO          33015801286
54B5622A32B851   AMANDA       SMITH                    ID          42016442203
54B56264985928   ANDREW       BECRAFT                  KY          90008452649
54B56474261975   MARILYN      GONZALEZ                 CA          46036184742
54B56984693724   OLIVIA       RUSSELL                  OH          90011199846
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54B56993593782   ROCHELLE        DEVOISE               OH          90014629935
54B569A8672B49   ROSEMARY        RESEIGH               CO          90005939086
54B57354676B75   REYNA           AYALA                 CA          90009593546
54B5773282B27B   APRIL           JOHNSON               DC          90010107328
54B5788635B387   JAY             RICHEY                OR          90014288863
54B58466131429   LINDDSEY        OWNENS                MO          90008794661
54B5856A95B387   EDUARDO         MARTINEZ              OR          90013955609
54B5874615715B   MOHAMED         CONTEH                VA          81066427461
54B58973272B49   KIMBERLY        GREB                  CO          90013019732
54B595A6891895   JOSE BERNALDO   GONZALEZ              OK          90009435068
54B597AA872B38   REBECCA         MEDINA                CO          33033267008
54B598A2561973   FLORENTINO      MORENO                CA          46007498025
54B5B12114B588   SHEILA          OWENS                 OK          90014511211
54B5B639A7B46B   AISHIA          MILLER                NC          90013856390
54B5B72A291587   DON             LE                    TX          90006857202
54B5B951661975   ALICIA          MACHADO               CA          90014159516
54B5B973255959   CHRISTIAN       VALENCIA              CA          90012849732
54B5B9A4772B43   RICHARD         GABALDON              CO          33073879047
54B61163872B88   GLENDA          DERBY                 CO          90003241638
54B61374A55959   MONICA          SERRANO               CA          90009303740
54B61586584373   RHAWNIE         GONZALEZ              SC          90013015865
54B61885A61971   ROBERTO         GUZMAN                CA          90011478850
54B6223A172B49   DANNY           LONG                  CO          33005232301
54B6242255B399   REGINA          HUNT                  OR          90005284225
54B62591A8B164   JOHNNY          MONTOYA               UT          90008105910
54B62663293724   TAYLOR          MOORE                 OH          90014036632
54B62846857124   AMANDA          CRUZ                  VA          90008128468
54B62854433696   MIKE            EDWARDS               NC          90011398544
54B6324695B387   DEBRA           TROTTIER              OR          44506192469
54B63636791895   BRANDY          COX                   OK          21070296367
54B63644391251   ALLEN           TILLMAN               SC          90010306443
54B63931A5B399   KAZELL          LUMINATE              OR          44517159310
54B642A414B588   DAVID           HAMILTON              OK          21529182041
54B64719884373   NISA            VANDERHORST           SC          90003227198
54B64792161971   MARIA           GONZALEZ              CA          46072307921
54B64864351348   LISA            JOHNS                 OH          90014758643
54B65198472B36   HUNG            MAI                   CO          90010711984
54B6535165B387   MARCOS          MENDEZ                OR          90011573516
54B6547664B588   DANIEL          HOLLEY                OK          90001054766
54B6618A572B49   STACY           CLARK                 CO          90007371805
54B66279851348   LENORA          KING                  OH          66054272798
54B67567391587   MARIA           SARELLANO             TX          90012005673
54B6758A984373   GLORIA          MITCHELL              SC          19031535809
54B67A7675B399   GONZALO         RIVERA                OR          44527850767
54B68394561975   FRANCIS         NICHOLS               CA          90013043945
54B68558372B67   GEORGIA         SWANSON               CO          90014315583
54B68674172B27   GUILLERMO       RAMIREZ               CO          33073166741
54B6968A361971   DAN             BARLEY                CA          46000156803
54B69757133696   LUIS            CAMPOS                NC          90015307571
54B69969772B88   ADRIAN          TAKAHASHI             CO          90013599697
54B6B16325758B   ISABEL          CRUZ                  NM          90004041632
54B6B412372B67   ARACELY         VALDEZ                CO          33091854123
54B6B7A7176B75   ROSA            AGUILAR               CA          46034357071
54B71173884373   VERONNICA       WALLACE               SC          90004091738
54B7152963B182   TONYA           JONES                 DC          90000805296
54B71A8A461973   ANTONIO         ELIZARRARAZ           CA          90004850804
54B72142476B75   KENNETH         CARPENTER             CA          46088471424
54B72194472B27   DANIELA         BONILLA               CO          90011941944
54B723A1691895   MICHELLE        FRANCE                OK          90010203016
54B73214485928   QUINDALE        MCCLURE               KY          90015192144
54B73262972B43   TONYA           GIDEON                CO          90007532629
54B73458572B27   DONNA           BELCHER               CO          33092854585
54B73549391587   HUGO            LECHUGA               TX          90013255493
54B739A1661975   DAVID           PHILLIP               CA          90012829016
54B7449835758B   GERALD          BECK                  NM          90000754983
54B7455915B543   KIMBERLY        RUBIO                 NM          35017475591
54B74A3314B588   IDES            SUMO                  OK          21591470331
54B75247572B77   AUMBREE         BOWLBY                CO          33025112475
54B75636261973   DENISE          ARMAS                 CA          90014286362
54B75739955959   JUANA           CRUZ                  CA          48055447399
54B76263A5B387   ADOLFO          GONZALES              OR          90012892630
54B7658452B851   HEATHER         YIELDING              ID          90002715845
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54B76772772B38   WILLIAM     MANESS                    CO          90005087727
54B76911391587   ROXANA      SANTELLANES               TX          90011099113
54B7723944B521   ASHLEY      THOMAS                    OK          21504592394
54B7743A533699   NAKIRA      DAVIS                     NC          12062284305
54B77453484373   ROBERT      BUMGARNER                 SC          90010484534
54B77861972B67   CINDY       IBARA                     CO          33061968619
54B77896872B77   RUBEN       CASTILLO                  CO          33071828968
54B778A8591895   DAVID       SANDOVAL                  OK          90008058085
54B77948661975   ANTONIO     ORTA                      CA          90014949486
54B78428272B49   JOHN        VO                        CO          90014174282
54B78497633645   HENRY       TAYLOR                    NC          12059884976
54B7856455B393   JOHN        CLAYTON                   OR          90007415645
54B7864AA5715B   RAMON       LARA                      VA          90013696400
54B79373433699   JOEMANE     MCCOLLOUGH                NC          90013643734
54B79592357122   ROBERTO     SOSA CRUZ                 VA          90010235923
54B7963AA61971   ZINAH       DAWOD                     CA          90012066300
54B7B432455959   CHAD        SANDOVAL                  CA          90013734324
54B7B597972B27   KENDRA      WARREN                    CO          33054195979
54B7B6A515B393   MELENAITE   KALAMAFONI                OR          44588956051
54B7B72962B851   KIM         MACHADO                   ID          42071867296
54B81463872B43   JOSSE       NUNEZ                     CO          90012784638
54B8184145758B   MICHELLE    BUSTILLOS                 NM          90008588414
54B81878272B49   ALEJANDRO   LOZANO                    CO          33000398782
54B81A15893724   MARIA       JONES                     OH          64590720158
54B8239737B631   QUIANA      CHAMBERS                  AL          90010533973
54B828A7961973   KRISHNA     SAMPERIO                  CA          46043748079
54B8325695B531   AMANDA      RODRIQUEZ                 NM          90005812569
54B8352A561975   MINERVA     GARCIA                    CA          90010185205
54B83644272B43   CAROLINE    DEBACA                    CO          90011866442
54B8372A372B49   REBECCA     LOPEZ                     CO          33055777203
54B83891357157   ELIZABETH   GONZALEZ                  VA          90004998913
54B8444645B399   JESSICA     FOX                       OR          90013904464
54B8453A172B77   LIZZETTE    CARRILLO                  CO          33088635301
54B8463A55B387   YESENIA     ANQUIANO                  OR          90007876305
54B8487674B588   CARLOS      RENDON                    OK          90013268767
54B85112191587   ADRIAN      FLORES                    TX          90007161121
54B85688A91895   CARMELITA   PALMER                    OK          21038226880
54B8599A63B372   DANIEL      VISSER                    CO          90012869906
54B85A1A85B531   JONATHAN    NULL                      NM          90015050108
54B86178576B75   ALEJANDRO   GOMEZ                     CA          46051771785
54B86298333699   JIM         MANKINS                   NC          90011022983
54B8684555715B   ELVIS       MARTINEZ                  VA          90015398455
54B8734915B531   JAVIER      ARAUJO                    NM          35040193491
54B87693172B49   DARRIN      GONZALES                  CO          90012996931
54B87A9348B597   MARISOL     PALOMINOS                 CA          90015460934
54B88171A72B88   WILLIAM     MORTON                    CO          90003241710
54B884A9A8B169   KC          COLLIER                   UT          90007284090
54B88554672B43   SHELLEY     GILSON                    CO          90011975546
54B8865A361975   IMELDA      BOJORQUEZ                 CA          90010246503
54B88785851348   TRESA       VOGT                      OH          90014637858
54B887A4172B38   RENE        MARCO                     CO          90013047041
54B89222284373   CHRIS       BRANCH                    SC          90005612222
54B89327376B75   ISABEL      HERNANDEZ                 CA          90013793273
54B8976255B387   EDDIE       BLACC                     OR          90000197625
54B8B158691587   SAMUEL      CHAVEZ                    TX          90013621586
54B8B79AA42335   ALISHA      BARBER                    GA          90011797900
54B8B95515B399   JANELLE     GASTON                    OR          44522139551
54B9147A35B531   AMY         TURNER                    NM          90009734703
54B91589472B49   SARA        BANOUN                    CO          90012425894
54B9166184B588   JEZREEL     LOPEZ                     OK          90001586618
54B92233791587   NADIA       BARRAZA                   TX          90012722337
54B92323A93724   PAMELA      ANDREJCIO                 OH          90011633230
54B92422A2B851   ALEXA       MARTINEZ                  ID          90011534220
54B9242A47B46B   EDWIN       GONZALEZ                  NC          90013364204
54B92556176B75   COLIN       GORDON                    CA          46063905561
54B93198361975   JERALD      IZAGUIRRE                 CA          90012321983
54B93389455959   ROBERT      TREJO                     CA          90015583894
54B94112961971   BRIDGET     STANLEY                   CA          46012631129
54B94188298B2B   QUAMEKA     BENNETT                   NC          11009201882
54B94573555959   FRANCISCA   RUBIO                     CA          90011315735
54B95211961971   JERILYN     LEISER                    CA          90003332119
54B95371772B38   ADAM        GRATEDA                   CO          90009663717
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54B96179585928   ANGEL        HIGUERA                  KY          67068391795
54B9623295B399   KATY         CLIPSTON                 OR          90013172329
54B96234257157   EDRAS        PAZ                      VA          81011182342
54B962AA85B393   GASPAR       LOPEZ                    OR          44552592008
54B96547672B38   JOHN         ANTOINE                  CO          33073675476
54B969AA57B372   FRANCISCO    NARVAEZ                  VA          90001619005
54B97477172B88   TIANNA       MORISON                  CO          90003624771
54B9756275B387   JIMMY        RODRIGUEZ                OR          90013955627
54B97A92772B43   EVELYN       ESCOBAR                  CO          90013270927
54B9821A551348   BEULAH       VANCAMP                  OH          90011022105
54B9842545B393   ANTONIO      RODRIGUEZ                OR          90005034254
54B98761261975   GEORGE       MENDOZA                  VA          46067097612
54B98794685928   YOLANDA      MORTON                   KY          90013817946
54B98829A2B27B   CARL         HAWTHORNE                DC          81005378290
54B9898A872B38   EDUARDO      DURAN                    CO          90011569808
54B9922974B588   LUZ          ALEJOS                   OK          90013532297
54B99514472B38   KARYN        SUROVIK                  CO          33085445144
54B9956325B387   IAN          JACKSON                  OR          90013955632
54B99A62672B36   KYONG        REITER                   CO          90014130626
54B9B14A87B46B   TAHASHI      WILLIAMS                 NC          90013641408
54B9B32867B463   RAMON        RODRIGUEZ                NC          90015333286
54B9B341891895   JESSICA      JUAREZ                   OK          90009243418
54B9B397976B75   BETH         GALLION                  CA          90012123979
54B9B573A7242B   DAVID        WALKER                   PA          90002265730
54B9B733A2B851   KRISTOPHER   MARLATT                  ID          90009297330
54B9B977561975   TISHA        TUCKER                   CA          90013529775
54BB1318161975   ISMAEL       VIDRIO                   CA          46034243181
54BB1821884373   SANTONIA     SINGLETON                SC          19077598218
54BB1956293724   TONISHA      MOSLEY                   OH          64509109562
54BB1A18472B38   ERIK         ZAVALA                   CO          90012990184
54BB1A46561971   MARK         SCOTT                    CA          90013090465
54BB2116172B49   WONDA        GUTIERREZ                CO          33049171161
54BB253645B387   ADAM         WOHLTMAN                 OR          90013955364
54BB262985B531   JAMES        HERRON                   NM          90014306298
54BB287534B588   MARY         HERNANDEZ                OK          21598718753
54BB2934333696   CARLETHA     CROWELL                  NC          90008619343
54BB314325B531   CYNTHIA      AGUILAR                  NM          90012301432
54BB315285B399   JUSTIN       FISSEL                   OR          90012471528
54BB33A2A5B393   SUFIAN       ELNOIEMEY                OR          90002193020
54BB354595B387   LILA         BAUDEL                   OR          90012745459
54BB37A4A5B399   JASMINE      SILVA                    OR          90013947040
54BB3878951348   DAWN         EWING                    OH          66041048789
54BB3A9A876B75   GABRIELA     GUTIERES                 CA          46026990908
54BB4151233699   MARY         BROWN                    NC          12017701512
54BB426765B531   DAVID        ALDERETE                 NM          35017112676
54BB4916872B27   MICHEAL      MOORE                    CO          90013899168
54BB5429761971   GLADYS       ROBERTS                  CA          46070754297
54BB548435715B   JALIKATU     JALLON                   VA          90013774843
54BB5512543569   WESLEY       ALBISTON                 UT          31090325125
54BB5527591587   MONICA       PALACIOS                 TX          90014005275
54BB5858393724   EDDY         RIVERA                   OH          64587908583
54BB5875555959   ALEXANDRA    MURILLO                  CA          90007368755
54BB5925593724   JACOB        OCHEN                    OH          90014249255
54BB6113993724   JOSHUA       BUCKINGHAM               OH          90015121139
54BB632545B387   ELIZABETH    MARTINEZ                 OR          90014743254
54BB666515715B   JAVIER       ORTA                     VA          90011906651
54BB6711255959   EMMANUEL     CHERRES BRAVO            CA          90013977112
54BB7124172B36   OSCAR        LOPEZ                    CO          33053991241
54BB7695972B27   PETRA        GONZALEZ                 CO          90010596959
54BB8146372B27   CANDESSA     STAFF                    CO          90010971463
54BB838113B345   RICHARD      KOURI                    CO          90001123811
54BB8597A5B387   TAYLOR       ADAMS                    OR          44522335970
54BB8658A72B49   MIRNA        FLORES                   CO          90000136580
54BB941375B531   LATHASHAL    GREEN                    NM          37027394137
54BB947845715B   GENAR        PADILLA                  VA          90008364784
54BB9633472B36   TAMARA       GUZMAN                   CO          90014106334
54BB9686184373   ANTONIO      AGUILAR                  SC          90009736861
54BB9A59A5B543   RUBEN        BARNARD                  NM          90006520590
54BBB427672B36   JULIETA      BASTIDA                  CO          33086944276
54BBB627598B2B   LILLY        FRANK                    NC          90008746275
55111A4A72B92B   MONIKA       LORENZO                  CA          90010440407
5511217844B28B   RONTRAL      BLUFORD                  NE          26066401784
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55112652872B85   ARIANA          JAQUEZ                CO          90012826528
5511282425758B   RIVAS           JUANA                 NM          90009958242
5511358277B46B   TANIA           ESTRADA               NC          90012505827
5511358A491552   JULIO           QUEZADA               TX          90013555804
551136A135B387   JOSE            MURRILO               OR          90011426013
5511397929373B   STEPHANIE       GOINGS                OH          64578779792
5511471912B851   NATALY          RAMIREZ               ID          90012007191
55114778A72B43   CARMELA         AGUILAR               CO          90013177780
5511487AA5B129   MARTHA ANDREA   SAAREDRA              AR          90006518700
55114A59191587   ROBERTO         MUNOZ                 TX          90011060591
5511596422B27B   WILLIAM         JENKINS               DC          90012049642
55115A2A984357   DENISE          JOHNSON               SC          90009030209
5511616A191895   RON             HURLEY                OK          90009661601
55116811772B38   YASMEEN         GUTIERREZ             CO          90014928117
5511688385B543   GRIEGO          TONY                  NM          90004398838
5511737882B27B   ERIKA           BUCHANAN              DC          90014583788
5511756685758B   LORI            BACA                  NM          90005695668
55117726372B49   KIMBERLY        PARKS                 CO          33089517263
55117813A33699   TIMOTHY         HAIRSTON              NC          90003048130
55117991324B7B   NELY            HENRIQUEZ             DC          90014189913
55117A3175B338   SARAH           SMALLING              OR          90010390317
55117A37855951   FRANCIS         MONNIS                CA          90002280378
551184A8472B49   JOSE            DIAZ                  CO          33065804084
55119217172B85   MARIBEL         GOMEZ                 CO          90014442171
5511926264B521   MEGAN           BREWINGTON            OK          90006902626
55119584472B49   JANUSZ          SANECKI               CO          90013515844
55119747198B2B   GABRIEL         RIVERA                NC          90009347471
5511982A85B387   ROBBI           FORSTER               OR          44545688208
5511B28615B543   DIMAS           PADILLA               NM          35000932861
5511B37A272B38   FLORES          LETICIA               CO          90001193702
5511B395343569   HEATHER         HATHAWAY              UT          90008043953
5511B684A72B88   JENY            OCANA-GUTIERREZ       CO          90012226840
5511B765172B49   JOHN            DONOVAN               CO          90014157651
5512112432B851   CHRISTINA       SOTEROPOULOS          ID          42090191243
5512151565B399   CESAR           VALVERDE              OR          44571685156
5512217315B387   BO              LA DUE                OR          90015221731
55122A54633699   JAMI            SOUTHERN              NC          90014670546
5512345365B531   CLARIDA         SALASAR               NM          90014824536
5512459275715B   PATRICK         FENN                  VA          81075895927
5512533995715B   WENDY           REYES                 DC          90013033399
5512555997B46B   TASHIBA         MCCLELLAN             NC          90002705599
5512576122B27B   JOHN            SIMTH                 VA          90013147612
5512589995B399   MALCOM          RICHARDSON            OR          90014348999
55126271772B85   HALEY           LANDRETH              CO          90012272717
55126538972B85   LUPE            VALDEZ                CO          90015125389
55126554372B27   NORBOTO         RAMIREZ               CO          90001785543
5512679A172B36   BIANCA          ORQUIZ                CO          90009467901
5512783384B588   ASIA            ABRAMS                OK          90012838338
55127A1965B387   TELIA           ANDERSON-GRANT        OR          90014870196
55127A47185928   FERRANDO        PEREZ                 KY          90008860471
55128833872B36   JOHN            RISE                  CO          33010238338
5512966947B46B   ALEX            MART                  NC          90014166694
5512B131691587   LEYVA           MARYTE                TX          90012791316
5512B162672B27   BRENDA          BORREGO               CO          90008751626
5512B1A5551348   JODY            YOUNG                 OH          90014301055
5512B9A285B387   CHRISTOPHE      FIELDS                OR          44507809028
5513154955B387   BRIAHNA         BATISTE               OR          90001605495
5513176865758B   LEAH            GARZA                 NM          90010707686
5513177845B399   NOE             CAMARGO               OR          90007727784
55131A3112B27B   KRAIG           BROWN                 DC          90012670311
55132339172B49   SEMAJ           OLGUIN                CO          90010973391
55132927272B49   JOSE            AGUILAR MARMOLEJO     CO          90011359272
5513354A191534   RAUL            RAMIREZ               TX          75073035401
551335A395B283   LETICIA         GONZALEZ ESTRADA      KY          90011705039
55133687172B43   BRITTANY        ERICKSON              CO          90005906871
55133951672B85   ERIC            MACGILL               CO          33067229516
5513493A861973   ARMANDO         JUVERA                CA          90013639308
55135614372B49   ELSA            MARTONEZ              CO          90010226143
55135784672B38   SHARON          SAJRONZAMORA          CO          90007207846
55136651672B49   JESSI           TROCHEZ               CO          90011656516
5513674A55B283   MARK            ADAIR                 KY          90006497405
551374A7672B67   DONTE           BIRDSONG              CO          33041694076
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55137781872B49   LAURA       EDWARDS                   CO          90003047818
5513779895715B   MARIELA     ESPINA                    VA          90005377989
551379A667192B   RONDALYNN   JONGELING                 CO          90003869066
5513846814B588   MARIA       ZAVALA                    OK          90009964681
5513853635B399   STACEY      ROBERTSON                 OR          44588715363
55138A71351348   BRIANNA     THURMOND                  OH          90014570713
55139113A5715B   JAMES       WILLIAMS                  VA          90013331130
55139A4592B851   ZACHARY     FLORES                    ID          90005420459
55139A68261971   REYNALDA    GONZALEZ                  CA          90010130682
55139A98573268   CHRISTOPH   HANNAFEY                  NJ          90014940985
5513B15475B387   MARTIN      GARCILAZO                 OR          90013921547
5513B1A895B399   ABHIMANU    CHAUDHARY                 OR          90011381089
5513B292155997   MARIA       VARGAS                    CA          90014802921
5513B38385715B   ALFREDO     MENDEZ                    VA          90013033838
5513B668772B36   PEPE        ALAMILLO                  CO          33004726687
5513B919A72B85   VERONICA    RIVAS                     CO          33080719190
5514127187B46B   ARNALDO     PERDOMO                   SC          11014402718
55141372A5B129   GLENDA      PRIDE-IRBY                AR          23079863720
55142743172B43   SERINA      DURAN                     CO          90012557431
55143292A72B43   JAMES       SANCHEZ                   CO          90010292920
55143391A72B49   MARIA       TORRES                    CO          90011403910
5514354262B851   DEBRA       RAMERO                    ID          90006725426
55143577A81265   JEREMY      EVANS                     IN          90015465770
551435A124B588   MARIE       ERVIN                     OK          90009405012
55143729572B36   JESUS       GONZALES                  CO          90011627295
5514458265B283   VALLE       ENCARNACION               KY          68037645826
55144A73591895   LUIS        CHINCHILLA                OK          90014690735
5514541385B531   LUISE       AGUIRRE-CARLOS            NM          35073694138
5514545525B387   MARICELA    MONTES ALVAREZ            OR          90014754552
55145893A72B21   ROSEMARY    ORNELAS                   CO          90005768930
5514598484B525   MANUELA     GARCIA                    OK          90010589848
55145A52672B27   CHISPAS     ROOT                      CO          90014560526
55145A56484357   GLENDA      JOHNSON                   SC          90014740564
5514682535B531   ERIC        GABALDON                  NM          90011938253
5514694714B588   ISMAEL      HERNANDEZ                 OK          21573389471
5514786375B399   SEAN        LINDEN                    OR          90005218637
55148285272B38   KORI        DEWING                    CO          33019722852
551485A395B283   LETICIA     GONZALEZ ESTRADA          KY          90011705039
551487A762B27B   CHRIS       MCKINLEY                  VA          90012787076
55148A6A55758B   POLLY       WILSON                    NM          90012400605
55149164372B85   CESAR       PEREZ                     CO          90014251643
5514985135B387   ILON        INONA                     OR          90012398513
5514992A498B2B   LAKEISHA    BYRD                      NC          90006799204
55149935A91356   SYLVIA      TOWNLY                    KS          90014759350
5514B261361975   FERNANDO    BALDOVINOS                CA          46037552613
5514B85754B588   EMILY       HELTCEL                   OK          90010948575
5514B918A5B399   JESSICA     CRUZ                      OR          90008729180
55151875A5B531   ANNA        JIMENEZ                   NM          90009838750
55151A6A961971   JASON       LANG                      CA          46014610609
5515212515B543   ANTONIO     ARAGON                    NM          90005321251
5515219A391895   ROBERT      ROBERSON                  OK          21004471903
5515275A372B49   JAMES       PEARSON                   CO          33008137503
55152967A72B54   JAMES       NATIVIDAD                 CO          90005459670
5515321667B46B   GAMALIA     MOORE                     NC          90010882166
5515391585758B   ELVA        RENTERIA                  NM          35580279158
55154262872B36   RAYMOND     SCOLES                    CO          90011382628
5515445375715B   SALMAN      KHAN                      VA          90013034537
5515446855B387   DANIAL N.   BIORNSTAD                 OR          90015114685
55155141872B43   ERASMO      MEDINA                    CO          33056031418
5515551672B27B   CHERRI      WILSON                    DC          90013075167
5515553384B588   ROBERT      REDFORD                   OK          90009855338
5515638852B27B   DANIELLE    WORRELL                   DC          90014583885
5515654775B531   JORGE       CUEVAS-RIOS               NM          35058815477
5515656272B998   MARGARITA   HERNANDEZ                 CA          90006905627
5515657A855935   JOSE        RAMIREZ                   CA          90007935708
551565A5131428   VALERIE     RAHMBERG                  MO          90012185051
5515663525B543   NICOLE      PARRA                     NM          35021076352
55156791598B2B   SHAWANDA    ASHE                      NC          11035337915
55156A62181678   MYEASHA     HALIBURTON                MO          29000410621
5515711255758B   BRENDA      CORTINEZ                  NM          90015331125
55157A56657157   FELISHA     OLIVER                    VA          90007600566
55157A58585928   MICHELLE    JOHNSON                   KY          67016940585
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55157A6A55758B   POLLY         WILSON                  NM          90012400605
5515827A65758B   SYLVIA        ESCALANTE               NM          35599042706
55158325A5715B   WONDIRAD      ESSAYAS                 VA          81003413250
5515855735B531   RAYCHELL      LEWIS                   NM          35019955573
55158793A51348   PAUL          AUSTIN                  OH          66001917930
5515889627247B   BRIDGET       ACKLEY                  PA          90007528962
55158A85A7B46B   MICHAEL       NOBLITT                 NC          90013180850
551591AA85B531   AUTUMN        CHACON                  NM          90005841008
55159A19491939   DARIEN        YOUNG                   NC          90001110194
55159A9545B387   LILLIAN       LEE                     OR          90014860954
5515B17127B46B   RUTH          PETTUS                  NC          90007341712
5515B451372B88   BENJAMIN      SMITH                   CO          33007674513
5515B48315B387   LAZARO        LOPEZ                   OR          90012374831
5515B563961971   AMANDA        WALLER                  CA          90013565639
5515B829785628   EUGENIO       MARTINEZ                NJ          90010578297
5515B832751326   RENEE         FORRESTER               OH          90006268327
55161769972B49   BEATRIZ       BATRES                  CO          90010377699
55161997572B27   CINDY         MUNOS                   CO          33009119975
5516215475B531   LETICIA       MENDOZA-ORTEGA          NM          35092231547
5516227A685928   HEATHER       MANSELL                 KY          90005982706
5516229152B851   ANDREW        MONAHAN                 ID          90010412915
55162359A72B38   CARLOS        CHAIREZ                 CO          33019723590
5516277695758B   CINDY         CLARK                   NM          90015147769
55162776A91356   SARAH         NITZSCHKE               KS          90013157760
551637A324B588   EDUARDO       MADBULL                 OK          90006367032
551641A115635B   JASMINE       BANKHEAD                IA          90014281011
55164776A91356   SARAH         NITZSCHKE               KS          90013157760
55164792872B38   LEE DON       QUINTANA                CO          90002877928
551649A132B27B   JANICE        DEAN                    DC          90005969013
551657A467B46B   CLARK         MONIN                   NC          90010267046
55165992A61973   ARTURO        SAENZ                   CA          46067089920
55165A5635B531   DAVID         DAMON                   NM          35093180563
55165A78791356   REGINIA       MATHIS                  KS          90011060787
551665AA55B543   GERARDO       CAMPOS                  NM          90002735005
5516698A34B28B   MAURICE       BRASSELL                NE          26082749803
551673A164B588   DIANA         HARLAN                  OK          90014803016
55167A39555997   RICARDO       FELIX NIEBLAS           CA          90013090395
55168182A8649B   BARRY         VARTON                  SC          90013831820
551682A8491587   GUSTAVO       IBARRA                  TX          90011132084
551686A9A91895   JESSICA       RANSBOTTOM              OK          90013546090
5516973175758B   MARIA         VARELA                  NM          35543827317
5516B1A6991587   MARIA ELENA   SOSA                    TX          90015191069
5516B299A2B27B   EXTASIS       CACERES                 DC          90010872990
5516B2A165B387   GREGORIO      LOPEZ                   OR          90014052016
5516B355361975   ESTEBAN       RODRIGUEZ               CA          90014203553
5516B464191356   HEATHER       HARRIS                  KS          29093674641
5516B65955758B   MONICA        DOMINGUEZ               NM          90007526595
551711A4561971   MOLINA        KENNETH                 CA          46071731045
5517127185B399   MARIA         LOPEZ                   OR          44501002718
5517148A472B43   ANTHONY       DEJULIO                 CO          90008944804
551716A5472B38   ROSA          ZARAGOZA GONZALEZ       CO          90012876054
5517197515758B   ELIZABETH     DIAZ                    TX          35519089751
551721A5A5B271   LAURA         LIVESAY                 KY          68080301050
5517295824B588   DEVIN         MORRISON                OK          90014729582
551729A6A4B521   JORGE         UVALDE                  OK          90001429060
55173665372B36   ADRIAN        CASTANON                CO          90014946653
5517557487B365   TANIA         SAMPERIO                VA          81011015748
5517578285758B   ERNEST        BANEGAS                 NM          90014427828
551759A115B531   DELLIAH       GARCIA                  NM          90012159011
5517652955715B   CORY          TAYLOR                  VA          90013035295
5517725984B588   TABITHA       MCDOULETT               OK          90011752598
5517896845758B   VICKEY        ARREY                   NM          90012639684
55178A5215B399   CLEARANCE     KENNER                  OR          44503120521
55178AA9851586   JAFAR         KINI                    IA          90012320098
55179177772B85   HIGDON        ARMSTRONG               CO          33087391777
55179563A51348   WILLIE        COLEMAN                 OH          66014055630
5517B281661975   SEAN          WEBER                   CA          90013292816
5517B288272B27   SIENA         PEARCE                  CO          90015322882
5517B2A7331428   TIFFANY       LEWIS                   MO          90012082073
5517B623291356   HOLLY         ADKINS                  KS          90002866232
5518123A691587   EDUARDO       CAMARA                  TX          90014652306
5518171385B399   ANTONIO       RENEN                   OR          90014847138
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55181A3754B588   JENNIFER    EVANS                     OK          90005810375
55181A89372B27   JULIO       MADERA                    CO          90011930893
55182931272B38   JESUS       TALAMANTES                CO          90011179312
5518391455B399   CHARLES     PRYOR                     OR          90011439145
5518614635B531   OPHELIA     ANTONIO                   NM          90009361463
55186699A91523   EDUARDO     RAMIREZ                   TX          90009366990
55186A2717B46B   MARIA       JONZALEZ                  NC          11004430271
55187333A51348   JENNIFER    LENOS                     OH          90014033330
5518742845B399   FERNANDEZ   BECERRA                   OR          90012174284
5518762185B387   LISA        WALKER                    OR          44549686218
551881A994B28B   SUSAN       LUCHT                     NE          26052281099
55188639A33696   DAWNIELLE   MCGEE                     NC          90009346390
551887A392B27B   CHARLES     SUMMERVILLE               DC          90011307039
55189558A5758B   ERIC        CHAVEZ                    NM          90012025580
5518998A991968   JOSUE       RAMIREZ                   NC          90008809809
5518B3A995B531   ANA MARIA   RAMIREZ                   NM          35042633099
5518B5A6872B38   JON PAUL    COOPER                    CO          90011455068
5518B916A5B531   ANA MARIA   RAMIREZ                   NM          90012079160
55191113672B36   KRISTEL     HERNANDEZ                 CO          90008711136
551912A4872B85   CARLOS      RAMOS                     CO          90014252048
55191A5282B27B   EDWIN       ROMERO                    DC          90007980528
5519237165B531   ARACELY     GOMEZ                     NM          35004093716
5519421682B851   STACEY      RODRIGUEZ                 ID          42064472168
551951AA94B588   TONJA       DENNIS                    OK          90006851009
5519522A28B188   JUAN        OSEGUERA                  UT          90008292202
5519531A472B43   JAIME       RASCON                    CO          90012613104
5519539955715B   DUSTIN      PALMER                    VA          90014763995
55195AA7131468   SABRINA     BREWER                    MO          90001430071
5519622142B851   DAVID       JENNINGS                  ID          42063222214
55196A4A672B43   LOURDES     URIAS                     CO          90013810406
55197439372B36   JUAN        CANO                      CO          90009614393
5519761785758B   RAFAEL      REYES                     NM          90013536178
5519821175B387   STACY       CHA                       OR          90008242117
551984A7261971   CRYSTAL     MACKIN                    CA          90014364072
55199259A84341   MAURA       FLORES                    SC          90013332590
551992A7372B85   MARY        SERNA                     CO          90014252073
5519931A472B27   MARIA       SANDOVAL                  CO          90012723104
5519945A172B67   FLORENCIA   FLORES                    CO          33041704501
5519B212491587   JOSE        ARZOLA                    TX          75018152124
5519BA64851348   DAVID       DOMINGES                  OH          90002290648
5519BA86A5B271   MICHAEL     HINES                     KY          68047200860
551B1272644363   GEORGE      DANIELS SR                MD          82064852726
551B147924B28B   JONI        OLBERDING                 NE          26076144792
551B167575B283   CJ          BROWN                     KY          90006496757
551B1815372B67   TWAQWELLA   HENDRIX                   CO          33094288153
551B2124298B2B   LETA        ROUDOLPH                  NC          11060481242
551B241485758B   CLARISA     REZA                      NM          90011294148
551B2843172B88   NICHOLAS    SARTORI                   CO          33016448431
551B2928772B38   KRIS        DEANDA                    CO          90011099287
551B3843172B88   NICHOLAS    SARTORI                   CO          33016448431
551B3875A7B46B   SHANDRICE   PORTER                    NC          90007148750
551B441895B531   MICHAEL     FISHER                    NM          90013044189
551B4448591266   FREDRICK    WOLFOLK                   GA          90015004485
551B4492391587   CARLINA     VILLALOBOS                TX          90011014923
551B451755B531   IMELDA      OLIVARRIA GAMBOA          NM          90010345175
551B458385715B   RAMON       GONZALEZ                  VA          90003175838
551B475895B283   SOTANA      MAYES                     KY          90012557589
551B4855272B36   MUELLER     DAVID                     CO          33095648552
551B5166772B49   IRMA        GARCIA                    CO          33036781667
551B5218572B43   PORFIRIO    CARBAJAL                  CO          33008842185
551B5258991356   JASON       BLACK                     KS          90013122589
551B535A572B27   RYAN        PACHECO                   CO          33008843505
551B557315758B   TODD        GANTZLER                  NM          90008185731
551B5575798B2B   DEWANA      COLE                      NC          90005615757
551B5784A57157   MOHAMMAD    IQBAL                     VA          90006387840
551B5A12791587   NICOLE      LUSHER                    TX          90013960127
551B6262385928   GAVIN       ROGERS                    KY          90015422623
551B687527B46B   LIZ         ROHRBACH                  NC          11065878752
551B733924B588   JOSE        MARRUFO                   OK          90012343392
551B7838633699   JIMMY       CARPENTER                 NC          90000108386
551B78A7972B67   ROXANNE     GALLEGOS                  CO          90006598079
551B811A451348   PHILLIP     BROWN                     OH          90007161104
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551B8297891356   ROBERT       KNIGHT                   KS          29024872978
551B865A22B27B   FELICIA      BRANHAM                  DC          90013486502
551B874A75B531   RAFAELA      CHAPARRO-GUTIERREZ       NM          35015407407
551B876A861971   AARON        ARMSTRONG                CA          46088967608
551B9478161975   TERESA       FLORES                   CA          90014824781
551B9578161975   LOURDES      REYES                    CA          90012765781
551B9594872B36   SAID         BENJELLOUN               CO          90002785948
551B9A68A72B49   HELEN        HEIDBRIDER               CO          33036180680
551BB32864B28B   THOMAS       TAYLOR                   NE          90002713286
551BB38895758B   RUBY         SALAZAR                  NM          35594303889
55212393972B27   ALEKSANDER   TYLEC                    CO          33038553939
5521243535B561   TOBY         ROMERO                   NM          90011644353
5521253A685928   DIANA        MCDONALD                 KY          90002855306
55212719A9B121   ANTHONY      THOMAS                   AR          90010297190
55212781A72B43   TIKA         BISTA                    CO          90009547810
5521286514B28B   HOLLY        MCSHANNON                NE          26007878651
5521465772B851   CHRISTINA    ZACARIAS                 ID          90008606577
5521539955715B   DUSTIN       PALMER                   VA          90014763995
55215672872B49   JEREMY       MCADORY                  CO          90000856728
55217935A5B283   BEVERLY      JOHNSON                  KY          90006329350
5521836A772B36   SONNESSA     GONZALES                 CO          33066523607
55218435172B43   RAFAEL       MACIAS                   CO          33046624351
55218476A57157   TEQUILA      WILLIAMS                 VA          90001914760
55218632772B85   ROGER        MARTINEZ                 CO          90013896327
55219298272B43   YOLANDA      GUADARRAMA               CO          90012582982
55219321472B38   LILIANA      SANTANA                  CO          33059083214
55219577372B27   ANAIS        SALCIDO                  CO          33094925773
5521972675B387   ARESLY       LOUIS                    OR          90011857267
55219A3685B283   SHELLARA     GRIFFIN                  KY          90009590368
55219A6214B28B   PEDRO        ORTEGA                   NE          26085030621
5521B14937B46B   MOULTRE      SPENCER                  NC          11073631493
5521B1A5885928   STEPHEN      NICHOLS                  KY          90013041058
5521B358561971   BRENDA       WALKER                   CA          90004623585
5521B445872B38   MARCUS       HALL                     CO          90013384458
5521B742133696   SHAMEKA      COLEMAN                  NC          90010967421
5521B873A51348   ROBERT       PARKER                   OH          90014028730
5522242554B588   ELIZABETH    BYRNES                   OK          21588414255
55223578A91356   HOLLY        BURTON                   KS          90011995780
55224326A61973   PATRICIA     ANAYA                    CA          46015683260
55224536A72B49   NICK         TRIMBLE                  CO          90010055360
55224A44272B27   HECTOR       AGUILAR                  CO          90001800442
55224A76561971   CLAUDIA      FERNANDEZ                CA          90015160765
5522568932B851   KERINA       LEE                      ID          42051986893
5522581187B46B   DANA         MARTIN                   NC          11002638118
552258A684B588   RIO          MIMS                     OK          90008348068
55226594A5B399   RYAN         SMITH                    OR          90010765940
552281A554B521   KOFI         SANGI                    OK          90014691055
55228254972B38   SILVIA       PRIETO TOLEDO            CO          90012042549
55228256672B85   REYES        CLAUDIA                  CO          90007082566
5522881454B588   KAISHIA      LINZY                    OK          90011128145
55228943972B38   SILVIA       PRIETO TOLEDO            CO          90003609439
55228A88555951   SANDRA       RAMIREZ                  CA          90008410885
5522919525598B   JOSE         ROMERO                   CA          90007981952
552294A8427B3B   TAMMY        DAVIE                    KY          90007954084
55229591A84357   MARCY        SANCHEZ                  SC          90007985910
55229785A61971   ZAARBARA     MYERS                    CA          90015277850
5522983634B588   AERIAL       FAZEKAS                  OK          90014518363
5522B189261971   LUNNEAY      SEAN                     CA          46081081892
5522B21627B46B   TAMMY        CULLER                   NC          90014582162
5522B344857157   PAYGO        IVR ACTIVATION           VA          90013833448
5522B4A2393721   MELISSA      CLARK                    OH          64598674023
5522B94675B543   LOURDES      CORDOVA                  NM          35001309467
5523133A85B387   MICAELA      JUAN ANDRES              OR          90000163308
55231342A33696   STACEY       AMICK                    NC          90009203420
55231385A72B36   HANNAH       SMITH                    CO          90012663850
5523151A55B531   JUANITA      MCCOY                    NM          90013525105
5523154725598B   YOLANDA      VASQUEZ                  CA          90006275472
5523288A661973   APRIL        BERRY                    CA          90014538806
55233A65161975   DEBORAH      CAZARES                  CA          90013970651
55234A34A72B38   MARIA        LOMELI                   CO          33093380340
55235476A2B851   TAKNEN       CRYSTAL                  ID          90009134760
5523557A572B49   TERRANCE     WILLIAMS                 CO          90008035705
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55236233972B85   JAIDYN      CORDOVA                   CO          90014252339
5523634254B588   SERGIO      SALAZAR                   OK          90014713425
5523636A261973   ELMER       ARRIGUNI                  CA          90003073602
5523728985715B   BAYRON      MALDONADO                 VA          90015022898
5523796584B588   BRADLEY     WALDMAN                   OK          90008739658
55238837272B67   ENRIQUERA   QUINTERO                  CO          33015868372
55239129A4B588   FREDIE      FUSTON                    OK          90010341290
552394A985715B   VICTOR      ONORATO                   VA          90014764098
5523B629785928   CASEY       EHNEY                     KY          67090116297
5523BA22772B36   KATE        STENSTROM                 CO          33087140227
55241197A72B49   LINDA       VILLAR                    CO          33081831970
55241249972B36   MAXINE      WARE                      CO          33046402499
5524126435B399   MARIO       RAMOS                     OR          44586072643
5524257194B588   TATYWONE    ANGLIN                    OK          90014265719
55242847A7B46B   SALENA      DAVIS                     NC          90005188470
5524285A272B49   MARCIA      MARTINEZ                  CO          33059038502
55242A6665758B   ANGELA      SEGURA                    NM          90009500666
5524359964B28B   COURTNEY    DAVIS                     NE          26048005996
5524394A22B976   STEPHEN     WALSKI                    CA          90006189402
55244644972B36   BRIGID      KELLY                     CO          33059226449
5524473815715B   ANGELIQUE   EARLEY                    VA          90006707381
55244A52451348   TASHA       MARSHALL                  OH          66005950524
55245272572B38   NICOLE      RICE                      CO          90013292725
5524597753143B   MICHELLE    CLAYTON                   MO          90014889775
5524619AA5715B   MARIA       HART                      VA          90011431900
55246541172B67   JENNIFER    MCCORD                    CO          33067935411
552469A8361973   JOSELUIS    ARRIAGA                   CA          90011179083
55246A66693754   ANNA        SHULTZ                    OH          90010600666
5524735255B399   MINDY       KLOPP                     OR          44585573525
5524785622B27B   DADITU      MOSISSA                   DC          90001838562
55248444A3B399   EDDIE       AEYONI                    CO          33013584440
55248494372B43   PATRICK     CARNES                    CO          90010124943
55248664172B36   LANCE       WINTERS                   CO          33071706641
5524874327B46B   KAREN       GUTIERREZ                 NC          90003327432
5524889A772B43   PATRICK     CARNES                    CO          90011428907
55248A54372B38   AUNDRA      ALEXANDRA                 CO          33014210543
5524961972B27B   KENDRICK    ASH                       DC          90015316197
5524974724B588   STEVEN      MOYER                     OK          90011857472
5524B65772B851   CHRISTINA   ZACARIAS                  ID          90008606577
5524B894191895   PHYLLIS     WARD                      OK          21037518941
5525131A45B399   TARA        NEYER                     OR          44509503104
55252237472B85   FLORENCE    PRZYBYS                   CO          90014252374
55252541A8584B   KEVIN       CHO                       CA          90001895410
55252677272B85   JASON       FERGUSON                  CO          90014966772
5525336A585928   CAITLIN     HALE                      KY          90013223605
552533A7772B38   GALE        HORTON                    CO          90015063077
5525372485715B   MARTHA      RAMOS                     VA          81029387248
5525441674B28B   CYNTHIA     WEEKS                     NE          26039424167
552556A8147833   LAKITA      JONES                     GA          90014166081
5525578244B588   ALONSO      CONTRERAS                 OK          90011857824
55255872A72B27   JENNIFER    SERRANO                   CO          90014288720
55256247A61975   THOMAS      MEJIA                     CA          90013042470
5525724715B531   MAX         SANCHEZ                   NM          35064252471
5525726A591895   REGINA      MCMILLIAN                 OK          21062762605
55257846272B36   JAMIE       BERNAL                    CO          90006678462
5525793A172B85   ANTONIO     MORENO                    CO          90006689301
552585A1261971   MARISOL     GALEANA-ALONSO            CA          90009455012
5525864A872B38   VAILE       PRICE                     CO          90012876408
55258695A61975   DAREEN      FONG                      CA          90014186950
5525883864B588   JUAN        RODRIGUEZ                 OK          90001358386
55259214672B85   SONIA       ORTIZ                     CO          33080532146
5525923A233696   MICHELLE    PEARSON                   NC          90014452302
5525B2A434B241   MERCEDES    VALAZQUEZ                 NE          90013822043
5525B474872B67   SHIERE      GRAY                      CO          90005424748
5525B51583B381   JORDAN      ALLEN                     CO          90011205158
5525B5A1884357   RONALD      CAMPBELL                  SC          14544115018
5525B937372B85   NORMA       MUNOZ- GARFIO             CO          33089559373
5526125575B531   SIGIFREDO   JIMENEZ                   NM          90012142557
5526156A75B271   DEBORAH     STATON                    KY          68060295607
5526159745B399   REBECCA     KRESS                     OR          90002605974
5526186362B851   SANDIE      RUEB                      ID          90002628636
5526189224B28B   EFRAIN      CASTILLO                  NE          90008868922
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55262867591B79   BERNARD       SIMPSON                 NC          90013938675
55263293372B88   AMANDA        DURLAND                 CO          33025652933
552634A985715B   VICTOR        ONORATO                 VA          90014764098
552644A985715B   VICTOR        ONORATO                 VA          90014764098
55264643A72B52   MIA           RUBIN                   CO          90014866430
5526512A477581   MICHELLE      FIFER                   NV          90012171204
5526574A372B36   LUIS          VELASCO                 CO          33028727403
55266348872B49   DIANA         ARGUMEDO-ALTAMIRA       CO          33028163488
552664A985715B   VICTOR        ONORATO                 VA          90014764098
5526674835B531   JUAN          PRIETO                  NM          90013227483
5526676697B46B   BERNARDINA    BELLO                   NC          90012367669
5526734485758B   JAZMIN        CENICEROS               NM          35552613448
55267377872B38   ADANA         BAILEY                  CO          90009083778
552674AA185928   DAKOTA        WOOD                    KY          90011904001
55267578272B36   SARA          RIVERA                  CO          90013095782
5526811A15B543   RITA          MARTINEZ                NM          35060691101
5526865344B588   MESUIRE       HENDRIX                 OK          90009486534
55269128372B67   DIANA         CHAVEZ                  CO          33072071283
552695A2861975   SHAWN         WOOD                    CA          90013895028
55269755572B88   DANIELLE      MARTIN                  CO          90004337555
5526987815B543   ANNA          IGUADO                  NM          35054818781
5526B346172B27   ORNELAS       MENDOZA                 CO          33011673461
5526B53567B46B   PATRICIA      BENSON                  NC          90009365356
5526B777284341   LATRELL       KIDD                    SC          90010037772
5526B77784B536   SHANE         MINSON                  OK          90013647778
5526BA8153B387   ITZEO         ORTIZ                   CO          90012530815
5527132992B27B   JOY           HERBERT                 DC          90011363299
5527164265B543   THERESA       GOODYEAR                NM          35007176426
55272467972B27   RAMIRO        RODRIGUEZ               CO          90009534679
5527297924B588   LATERIA       DAY                     OK          90010899792
55273388472B38   ALAN          MENDEZ                  CO          90013733884
552735A742B27B   MICHELLE      ALEXANDER               DC          90014955074
55273663672B85   DRUCE         WILLIAMS                CO          90015236636
55275482272B43   JILL          SOLET                   CO          90015104822
5527686925715B   NELSON        CRUZ                    VA          90013958692
55276A96761973   VANESSA       SANCHEZ LUNA            CA          90013910967
552771A3A55951   TIMOTHY       TROTTER                 CA          90006751030
55277A85761973   JAMES         SHELLHAMMER             CA          90009500857
55279413324B7B   JORGE         VARGAS                  VA          90013544133
5527B478184329   VERNOICA      FENNELL                 SC          90011694781
5527B57A985928   ALPHONSE      RUTAYISIRE              KY          90010705709
5528143825715B   ONDINA        REYES                   VA          90014764382
5528147934B29B   ANDREW        CLEMENT                 NE          27021074793
55282615272B38   ALMA          GONZALEZ                CO          90013936152
5528297147B46B   KEVIN         SWAFFORD                NC          90009049714
5528326555758B   ADRIANA       MARTINEZ                NM          90013892655
552835A7985941   MEGAN         CEHRS                   KY          90007775079
5528394954B588   RIKIYIA       SPEARS                  OK          90003249495
55283971A72B67   JOSE          VARGAS                  CO          33039669710
55284814976B44   JAVANNY       ECHEVERIA               CA          90010258149
55284A2A672B49   CHRISTOPHE    VASQUEZ                 CO          33075040206
55284A3A35B531   ALEJANDRO     VALENZUEL-URANGA        NM          90014370303
5528533852B27B   SHARRON       LIVERPOOL               DC          90012843385
5528583495B387   YVONNE        MESTRE                  OR          44507238349
5528619765715B   GELIA         HOLLOWAY                DC          90013001976
5528684A791524   OAXACA        VICTOR                  TX          90005058407
5528694765B387   DANNY         VILLEDA                 OR          90013839476
5528696535B399   MATTHEW       TEKVERK                 OR          44537129653
55286A8152B949   RAMON         LUQUIN                  CA          90012890815
55287A9675715B   NICKIE        STERLING                VA          90013120967
5528814694B588   ANDREW        BASGALL                 OK          90013141469
5528871A972B38   RONNIE        SHEA                    CO          90014957109
55288835A61971   DANIELLE      DOMINGUEZ               CA          90014548350
5528885157B424   STATESVILLE   STATESVILLE             NC          90011278515
55288A8882B851   TOBI          BURNS                   ID          42025970888
5528991715B531   ERICA         BAEZA                   NM          90003169171
5528B56975B531   DIANA         GALLEGOS                NM          90003465697
5528BA4145715B   NELSON        AMAYA                   VA          90013120414
5529135192B851   MARISELA      MEDRANO                 ID          90014543519
55291A33191587   REBBECA       GARCIA                  TX          75063280331
55292326872B43   FRANCISCA     LOZOYA                  CO          33008303268
552925A822B27B   DAMAR         MILLER                  DC          90014955082
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552929A8276B7B   RAUL           SUAREZ                 CA          90001929082
55293271272B85   MICHAEL        PATTON                 CO          90014252712
5529338355B399   EMMANUEL       VAZQUEZ                OR          44518973835
55293474172B43   LUISA          SAENZ                  CO          33067274741
55293522872B38   MARLENE        BORGES                 CO          90013935228
5529355152B221   JERRAD         HANCOCK                DC          90012185515
5529362A55758B   PRISCILLA      ZAPATA                 NM          90011116205
55293988472B43   MICHELLE       CARTER                 CO          90003999884
5529449197B46B   SHANNON        BENJAMIN               NC          90009324919
55295238A5B271   ELOY           ALFARO                 KY          68070412380
552952A7655951   SYRIPHORN      SIDAOHEUANG            CA          49077632076
5529568935715B   R              PINNA                  VA          90008656893
55295A85433699   RICHARD        WOOD                   NC          12059160854
552967A4261973   CHERYTA        MOSS                   CA          46010167042
5529697994B588   KIMBERLY       MCFARLIN               OK          90010899799
55296A9A72B27B   LISSETH        RODRIGUEZ              DC          90009500907
552971A7361971   SYLVANIA       DUNN                   CA          46014711073
55297887372B36   SHANTEL        BERRY                  CO          90010548873
5529797285B129   MIGUEL         HERNANDEZ              AR          23078179728
5529835A157157   PAZ ANTONIO    PENA                   VA          90013033501
55298839A4B936   JONATHAN       GOMEZ-SARMIENTO        TX          90011688390
55298A19733699   ARIANNA        WILSON                 NC          90014650197
5529914978B164   AARON          REID                   UT          90014651497
55299272772B85   JOSHUA ALLEN   HOFFMAN                CO          90014252727
55299989A5758B   JUDAS          PEREA                  NM          90013279890
55299A19A72B27   MIRIAM         RODRIGUEZ              CO          33063750190
5529B123A91895   KIMBER         ALLEN                  OK          90013911230
5529B184572B38   MERSEDEZ       SMITH                  CO          90001101845
5529B743851348   ALISHA         DAVIS                  OH          90014097438
552B1123872B43   RAUL           HAU                    CO          33062801238
552B119855B531   HILDA          GOMEZ                  NM          90013671985
552B1549561973   HECTOR         MALDONADO              CA          90014855495
552B189445B543   DESERAE        ZAMORA                 NM          90007708944
552B18A6333693   NATHANIEL      ROBINSON               NC          90012988063
552B27A595715B   GUILLERMINA    BAUTISTA               VA          90006177059
552B388A557148   MARIA          PENA                   VA          81073898805
552B3A71891587   CARLOS         RENTERIA               TX          90010410718
552B4396884357   EARTHA         MOBLEY                 SC          90014623968
552B4743851348   ALISHA         DAVIS                  OH          90014097438
552B591344B588   REGINALD       DOTSON                 OK          90009649134
552B595445715B   CARLOS         BARIENTOS              VA          90013209544
552B5AA6657157   EDUARD         BEAUCHAMP              VA          90013800066
552B6314A5715B   VICTOR         BRANCH                 VA          90013113140
552B679295B399   JORGE          VILLEGAS               OR          44593107929
552B6967891356   MICHAEL        MCMAHAN                KS          90012209678
552B7AA632B851   CAMI           JOHNSTON               ID          90006400063
552B812235B387   JANELLE        FREEMAN                OR          90015271223
552B8656772B27   MIGUEL         DEDIOS                 CO          90002406567
552B867242B851   CYNTHIA        VASSAR                 ID          42091866724
552B8733572B85   ELOISA         PALACIOS               CO          33054747335
552B937354B29B   MARIE          DES GRAVES             NE          27077553735
552B9438951348   NICOLE         HALLORAN               OH          90014714389
552B9623272B38   MYAH           CONDON-LORICK          CO          90012876232
552B965465B399   TYLER          LEWIS                  OR          90014686546
552B9913572B43   VICTORY        LAGUNAS                CO          90006459135
552B9A9A172B85   NATASHA        DEVOIL                 CO          90008050901
552BB649372B85   GABRIELA       GONZALES               CO          33019436493
552BB963472B43   LEWIS          PLANTER                NM          90001479634
552BB9A265B283   HEATHER        THOMAS                 KY          90002559026
552BBA66861971   ANDREA L       FLOW                   CA          90000790668
5531192944B588   ADRIANN        DOWD                   OK          90009649294
55311A17A85928   CONCEPCION     TAPIA                  KY          67015290170
55311AA595B531   SANDRA         VICKERY                NM          35022460059
5531215875B387   CHASE          CASTLE                 OR          90014791587
5531234344B936   EUGENE         BLACKWELL              TX          90006403434
55312A89561971   RYAN BRENT     THOMAS                 CA          90013860895
553131A3631429   DEBBIE         PEEBLES                MO          90006201036
5531324265B543   RIGOBERTO      ESTRADA-FLORES         NM          35040502426
553132A3372B43   JOANNA         MARTINEZ               CO          90014412033
5531334525715B   MARLENI        ROSALES                VA          81031793452
55313428A91587   RITO           BUENO                  TX          90012434280
55315364272B43   CINDY          RODRIGUEZ              CO          33014493642
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55315648A5B531   MARICELA         ANDAZOLA             NM          35018136480
55316334A72B36   JUAREZ           DANIEL               CO          90010373340
55316622772B49   LEONOR           ALVARADO             CO          90009646227
5531765595758B   MARGARET         MALONE               NM          90002946559
55317A46A61971   CANDICE LOUISE   RICKER               CA          90011570460
5531867A85B129   KEVIN            JACKSON              AR          23059996708
5531B499591356   RYAN             FOLSOM               KS          90014784995
55321592A4B588   TOMMY            SHOOPMAN             OK          90012705920
5532199674B588   BREANNA          HOWE                 OK          90010899967
55321A2295758B   JONATHAN         ORTIZ                NM          90014870229
55321A6155B387   VIKTOR           BARNA                OR          90014970615
55322644972B38   BRANDY           MOOTY                CO          33003676449
5532312A172B21   STEPHANIE        VIGIL                CO          90013521201
5532314755B399   ERIKA            HOLHOS               OR          90011941475
5532355625B271   THELMA           BRYANT               KY          68078225562
553236A9585928   LATASHA          CLIFFORD             KY          67003036095
553238A784B588   DOMINIQUE        GOTCHER              OK          90012428078
55323A8967B347   MAXINE           ASAMOAH              VA          90002210896
55324478A91895   PATRICIA         FLORES               OK          90001224780
5532453525715B   CLAUDIA          FAJARIDO             VA          90010395352
55324651572B38   BRITTANY         ALDRIDGE             CO          90004126515
5532487527B46B   LIZ              ROHRBACH             NC          11065878752
5532498522B869   JULIE            JACKMAN              ID          42092289852
55324A26172B85   GINO             ORTEGA               CO          33056660261
55324A8315715B   MAJAWI           AJKERON              VA          90014180831
553257A5261971   VALISHIA         JOHNSON              CA          90014717052
55326112372B43   AMY              HESSE                CO          90015001123
55326929172B85   ALEJANDRO        OROZCO               CO          33005129291
5532756965B523   CESAR            VELAZQUEZ            NM          90009965696
553275A115B387   CHRISTINE        ALVARADO             OR          90013395011
5532826A82B27B   MICHAEL          DEVANCE              DC          90014892608
55328513872B49   RYAN             JONES                CO          90011195138
5532855875B283   DESTINY          JOHNSON              KY          90009915587
5532889114B29B   CHRIS            ROTUNDO              NE          27029728911
55328A1464B28B   OLIVIA           MANNING              NE          90009770146
55329181998B2B   MARVIN           GRINGO II            NC          90001621819
5532985135758B   JOHNATHAN        WELLS                NM          35533458513
5532993875598B   LUCIA            JAREGUI              CA          48011869387
5532BA2295758B   JONATHAN         ORTIZ                NM          90014870229
5532BA64651348   KEYONTAE         JOHNSON              OH          90010100646
5533163615B338   MEGAN            HORTON               OR          90005846361
5533197424B588   JULIUS J         STANFIELD            OK          90012369742
553321A5657157   LEONFINE         NGUNZA               VA          81086211056
5533266A172B38   IRMA             RODRIGUEZ            CO          33061366601
553326AA772B36   ANNA             CASSIO               CO          90014416007
5533277885133B   KYLIE            FICK                 OH          90000997788
5533385777B46B   CHARLES          JONES                NC          90005578577
55333AA6872B49   MARIE            DENISON              CO          33038970068
553341A7A5B579   MONICA           TAPIA                NM          90001261070
5533432993B369   DALE             SHUTTLEWORTH         CO          90000403299
5533535292B27B   JOSE             MARTINEZ             VA          81054623529
5533695845B531   VALERIE          APODACA              NM          35037279584
55336A8A57192B   AMY              BADER                CO          32005270805
55336AA715B387   MARTHA           VAZQUEZ              OR          44598730071
55337544A57157   EDWIN            NAVAS                VA          81097565440
55337747372B36   THOMAS           SUMNERS              CO          33083827473
55337A18672B43   MICHAEL          MAES                 CO          33041580186
55339284572B38   KEVIN            ANGELINI             CO          90014722845
5533B21235B399   JAMIE            MORTENSON            OR          90009422123
5533B556A61973   MICHAEL          MUNOZ                CA          90014575560
5533B768972B85   MICHAEL          FISHEL               CO          90007737689
5533B79A472B36   ALMA             ROCHA                CO          90011397904
5533BA13761966   JONATHAN         OATES                CA          90012890137
553411A3991525   SARAH            TORRES               TX          90008541039
55341333172B49   JOI MARIE        COOPER               CO          33056823331
5534155252B851   MANDI            REISENAUER           ID          42027075525
5534172525B531   KATERI           MONTOYA              NM          90011017252
55342273172B43   SARA             DURNELL              CO          33088332731
553426A3272B85   BREE             VASQUEZ              CO          90005596032
55343266872B38   ELAINE           POHLMAN              CO          90007032668
5534332314B28B   JAMIE            HOLDER               NE          90002513231
5534343A185928   JARUS            GLASPIE              KY          90010984301
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5534375152B27B   JULIO        LOPEZ                    DC          81026847515
55343A34698B2B   DEJA         TURNER                   NC          90008300346
55344356A91356   JENNIFER     THOMPSON                 KS          29022543560
55344794697B21   KARRIE       ELKIN                    CO          90010407946
55344A91657157   TEODRAS      MAWSHA                   VA          90013950916
5534528184B588   JOSEPH       BRANTLEY                 OK          90014112818
553452A2172B27   DOREEN       TAFOYA                   CO          33068652021
5534611A95B531   JESSE        GONZALEZ                 NM          90014831109
55346752372B67   ROSE         SEGOVIA                  CO          90001257523
553469A885758B   APRIL        HOLGUIN                  NM          90014459088
5534729835B387   CATHERINE    PEIGNEUX                 OR          90003832983
55347362A5B399   BEN          AGUILAR                  OR          90012693620
5534831A15B283   ERICA        JACKSON                  KY          90006503101
5534838A943569   LIZETTE      RIOS                     UT          90007453809
5534868775B387   JAMES        MUNOZ                    OR          90003406877
55349376572B67   C            GARCIA                   CO          33080373765
5534965A591356   CHERRITA     LAWSON                   KS          90003246505
55349872A33696   SHAYNELLE    EPPS                     NC          12026948720
5534B278A4B28B   ROBPARTRA    PATTERSON                NE          90007942780
5535111315B399   YOLANDA      MAGULE                   OR          44523651131
5535138344B588   ROCIO        NEGRETE                  OK          90014153834
55351798172B88   RAUL         AYALA                    CO          90006507981
55352384672B49   LESLIE       PURK                     CO          33064393846
5535252552B851   GABRIELA     ARREOLA                  ID          90013765255
55352819A72B36   MARTHA       FAJARDO                  CO          90014838190
55353335372B38   AMY          MAST                     CO          33029133353
55354169172B85   WAYNE        EMERICH                  CO          33054911691
55354426A57157   HUGH         SMITH                    VA          90013954260
5535543A557157   DANIEL       WILSON                   VA          90013954305
553555A185758B   LISETTE      SWAIM                    NM          35522595018
5535574A733699   LATOYA       DAVIS                    NC          90014697407
5535617655B399   MICHELLE     AVILA                    OR          90013171765
5535623A85B531   CORIE        COPELAND                 NM          90014562308
553562AA74B28B   TARA         TEETERS                  NE          26027182007
5535672255758B   PATRICIA     RAMIREZ                  NM          90013797225
5535674A733699   LATOYA       DAVIS                    NC          90014697407
55356A75772B36   CALVIN       POWELL                   CO          33007930757
55357627324B47   CHRIS        POSTON                   DC          90008516273
5535774537B46B   SHANAE       WITHERSPOON              NC          90013037453
55357761A33699   PEGGY        WENDLE                   NC          90014697610
55358133A72B38   SARAH        ELIZABETH                CO          90014261330
55358218424B7B   RESHEN       MCCOMB                   DC          90001422184
5535827335B543   BERTHA       RODRIGUEZ                NM          35085682733
553582A6A5B399   MICHELLE     LUIZ                     OR          44506302060
55358577A72B36   PRISCILLA    LANG                     CO          90015045770
55358A3245758B   JULIE        MOSHTER                  NM          90012800324
5535979A35758B   LUIS         DEL RIO                  NM          90012617903
5535B15714B28B   JOSE RUBEN   FELIZ ACOSTA             NE          90001411571
5535B279155951   MARIA        GONZALEZ                 CA          90009012791
5535B287957157   SABA         ABRAJ                    VA          90013952879
5535B632172B88   MINERVA      MEDELLINARENAS           CO          33076356321
5535BA2164B588   RODNEY       COSGROVE                 OK          90009160216
5535BA9464B28B   MARGARITA    GONZALEZ                 NE          90011350946
5535BAA925B531   CRISTINA     ESCARENO                 NM          35087270092
553611A377195B   DANNA        SMITH-SNEDDEN            CO          90003861037
55361217372B27   GRACIELA     GONZALEZ DOMINGUEZ       CO          90011912173
5536137954B28B   EMAL         GUL                      NE          90007103795
55361434A5715B   ZULMA        ASEENCIO                 VA          90013124340
55361A97191587   JACOB        BARRON                   TX          90003660971
5536215A88B188   JASON        JUDY                     UT          31014821508
55362761A33699   PEGGY        WENDLE                   NC          90014697610
55363915A61975   LIONEL       PRADO                    CA          90013869150
55363A9A691587   BRIANDA      MIRANDA                  TX          75044020906
5536415A88B188   JASON        JUDY                     UT          31014821508
5536468825B399   PABLO        LOPEZ TZUNUX             OR          44549656882
55364989472B36   JESUS        MARQUEZ                  CO          90010679894
5536512314B588   PAYGO        IVR ACTIVATION           OK          90013381231
55365144472B38   MARILU       PERALTA                  CO          90012111444
5536515385B399   CINDY        RIOS                     OR          90011511538
5536532717B46B   JOSUE        GARCIA                   NC          90015003271
55365761A33699   PEGGY        WENDLE                   NC          90014697610
553657A2772B27   PAULINA      HURTADO-OCAMPO           CO          33049557027
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5536619544B28B   JULIE         OVERTON                 NE          26081131954
553662A4791523   VERONICA      MENCHACA                TX          90011212047
5536729995715B   JOSE          HENRIQUEZ               VA          90002182999
553673AA47B46B   NELCY         CERRATO                 NC          90002983004
55368213972B85   DOMINIC       DOLTON                  CO          90008572139
5536846855B387   DANIAL N.     BIORNSTAD               OR          90015114685
55368A25372B27   JESUS         CASTRO                  CO          33089680253
55368A29561973   JIMMY         ABIGANDO                CA          90012380295
55368A98491895   AMANDA        HARTLINE                OK          90014360984
55369423172B49   JANET         CANIFORD                CO          33096054231
55369815872B88   TINA          VELKERS                 CO          33072998158
55369AA5961966   ADAN          OCHOA                   CA          90013000059
5536B217561973   JAVIER        LUNA                    CA          90012942175
5536B35114B588   ASHLEY        DECKER                  OK          90013863511
5536B39227B46B   EMILY         ALBRIGHT                NC          90014763922
5536B773A61975   KRISTY        PATTERSON               CA          90011287730
5536B776172B27   VANESSA       VIGIL                   CO          33051037761
5536B964333696   JOSE          GARCIA                  NC          90012069643
5536B969291587   JOSUE         RODRIGUEZ               TX          90015479692
55371317972B38   ERENICE       GONZALEZ                CO          90008003179
55371453272B49   NICOLE        SENA                    CO          90009994532
55372123172B43   RAMON         GARCIA                  CO          90014381231
55372385772B49   CRYSTAL       HASS                    CO          33030073857
553723A492B27B   JOSE          GONZALEZ                DC          90013493049
5537265AA4B28B   NICKIE        COLANGELO               NE          90011746500
55372814772B85   LOYDA         ORIHUELA                CO          33033548147
55373581472B36   MARVIN        CARDOZA                 CO          33053205814
55373659772B38   DJ            PALMPALMER              CO          90012876597
55373958A61973   ALMA          ALCARAZ                 CA          46068009580
5537411475B271   AUDREY        MCBRIDE                 KY          90000551147
55374254424B7B   KADIJAH       WILLIAMS                DC          90015002544
5537442154B588   LAWRENCE      TAYLOR                  OK          90013494215
55374431A91587   JARRED        JUAREZ                  TX          90013154310
553749A8291895   KEITH         MARSHALL                OK          21056859082
55375363172B27   LEROY         LEMOS                   CO          33087083631
55375522A2B27B   MIGUEL        CRUZ                    DC          90010195220
5537569695B399   ROBERT        OJANEN                  OR          44523936969
5537617544B55B   NATALYA       BRIGGS                  OK          90006721754
553763A7285928   YVETTE        FRANKLIN                KY          90012143072
5537663275B387   ANTHONY       SMITH                   OR          90004826327
55377468472B85   ALEJANDRINA   ROJAS                   CO          90013234684
55377A49172B27   TERRI         HIGHLAND                CO          33014200491
5537837A35B399   GONZALO       CRUZ ALVAREZ            OR          44505173703
5537871685B531   VICTORIA      GARCIA TRUJILLO         NM          35053957168
55378A41685928   ARTHUR        HAYDEN                  KY          67058660416
5537966A451323   CHAZMAN       CANNADY                 OH          90006576604
55379A74631429   SIDNEY        SPRADLEY                MO          90014390746
55379A76633699   TIFFANY       INGRAM                  NC          12005580766
5537B1A1772B38   TIFFANY       MEDINA                  CO          33098251017
5538116575758B   REBECCA       PAZ                     NM          35591211657
5538211354B28B   SHELLI        SHADA                   NE          26020031135
5538253A861975   ALEX          ZARIPOV                 CA          90008865308
55382563A61975   BURGANDY      COLLINSWORTH            CA          90014495630
55383441272B85   JOAKINA       DE LEON                 CO          90007074412
5538347785B531   LORENA        MENDOZA                 NM          90010724778
5538347797B46B   DEMETRIA      BROWN                   NC          90014984779
55383682A57127   INGRI         GONZALEZ                VA          90001016820
553842A1572B49   STEPHANIE     BAILEY                  CO          90012582015
55384A86A72B43   ORLANDO       VIVENS                  CO          33017590860
55384A9815B271   VIRGINIA      CHAPPEL                 KY          90002250981
5538513A251348   DANA          JONES                   OH          90010871302
5538531344B588   ERICELDA      MALDONADO               OK          90013403134
55385949472B85   MARCELINO     SANTILLAN               CO          33029749494
5538598A872B43   JOEL          PONCE                   CO          33061999808
5538616514B28B   JODI          EVANS                   NE          90003481651
5538643A955951   MARCIL        CAUWELS                 CA          90000604309
553865A5133699   LOUANNA       MOLINA                  NC          12085605051
55386944672B27   NAYELI        AGUILAR                 CO          90011499446
5538719915B531   RAY           GABALDON                NM          35028361991
5538766A65758B   OLIVAS        GUADALUPE               NM          90011186606
553877A1772B85   JOANN         MADRID                  CO          33085157017
55387A84685928   NASARIO       SANCHEZ                 KY          67029900846
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5538867616198B   MELISSA      GALICOT                  CA          90012526761
553886A6272B38   SHELLEY      MILLER                   CO          33091546062
55388A2493B394   NICOLE       HAYNES                   CO          33023170249
553891A5544B26   TRAVIS       MCNAY                    OH          90014951055
55389282872B67   RAHSHAAD     MATHIS                   CO          90004572828
55389518A43522   MICHAEL      GRIMES                   UT          31001025180
55389A4635B399   SYLVIA       EVANS                    OR          90014450463
5538B371861971   SIMER        JERJIS                   CA          90000813718
5539153152B27B   ROSIBEL      FLORES                   DC          90011975315
553916A5172B36   RONALD       BAYSINGER                CO          90010016051
5539181347B46B   TAMETRAS     THOMPSON                 NC          90011048134
553918A832B851   MAXINE       DAVIS                    ID          90006288083
55391966172B43   TYRONE       HAMMOND                  CO          33073079661
5539233325B271   ERIN         BORROWS                  KY          90012523332
5539233565B271   ERIN         BORROWS                  KY          90011043356
553928A8972B27   GUADALUPE    RAMIREZ                  CO          90002518089
553928AA64B588   LAQUITA      MCCRAY                   OK          90012138006
5539319A491356   CHASSIDY     CRADDOCK                 MO          90014571904
5539345944B588   TANIA        SANCHEZ                  OK          90001054594
553942AAA91356   JENDAYI      MAPLES                   KS          90002872000
55394A3A133642   JOSEPH       CORPENTER                NC          90005450301
55394A67133696   SHUNOAH      HOLLENBACK               NC          12053520671
5539516845B271   CHERYL       MEINHART                 KY          90002251684
5539523645B531   ROMERO       MICHELLE                 NM          35097582364
5539527245B387   VALERIE      PIERCE                   OR          44588792724
55395A6715758B   JASMIN       TARIN                    NM          90015120671
5539616845B271   CHERYL       MEINHART                 KY          90002251684
5539638A672B67   ANN          ARELLANO                 CO          33081683806
55396A57476B84   ABIGAIL      ALFARO                   CA          90014180574
55397414A5B283   TIAMIRA      SMITH                    KY          90006504140
5539796985B271   JOSH         HERALD                   KY          90003649698
55397A21191523   VASQUEZ C    CARLOS                   TX          90011070211
55398197372B85   RAFAEL       AGUILAR                  CO          33046421973
5539838618B644   SERGIO       ROJO                     TX          90015083861
5539923AA91587   CRISTIAN     MUNIZ                    TX          90010362300
553999A4233674   LEIGH ANNE   DODSON                   NC          90013749042
55399A34972B67   MARIO        PEREZ                    CO          33086950349
55399A77257B81   THOMAS       MILLER                   PA          90014570772
5539B246972B85   ADOFO        GERONIMO                 CO          90011132469
5539B35247B46B   EDWARD       MONTGOMERY               NC          90015203524
5539B639751348   DOMINIC      MILLER                   OH          90013936397
5539B784A5715B   MALENA       VILLARROEL               VA          90013127840
5539B87A972B43   EVELYN       SAILAS                   CO          33071598709
5539B88847B661   TIFFANI      EARLY                    GA          90008698884
553B1388972B38   ANGEL        SHABAZZ                  CO          90015143889
553B1486A5B387   MAMADOU      TOURE                    OR          44526164860
553B166815B399   STEPHENI     WALKER                   OR          44540996681
553B1754161971   HEATHER      ASHLEY                   CA          90012607541
553B2499272B49   ROSANNA      HERRERA                  CO          90014024992
553B2765A61975   JANINE       BRINKLEY                 CA          46093007650
553B284A791524   OAXACA       VICTOR                   TX          90005058407
553B2A3555B387   GABRIEL      TIBBETTS                 OR          44572520355
553B319217B46B   CEASAR       SYKES                    NC          90015191921
553B322A991587   CARISSA      RODRIGUEZ                TX          90014052209
553B33A6572B43   ALEXANDER    ESPINAL                  CO          33006173065
553B356494B588   DELMA        CORNELIUS                OK          90000975649
553B378A672B88   DEBBIE       OBERHAUSEN               CO          33073577806
553B4533772B43   SERGIO       HERRERA                  CO          33058415337
553B4768661971   AMY          TODD                     CA          90000947686
553B538947B46B   LILLIAN      MALOY                    NC          90013373894
553B5545761975   BLANCA       CORTEZ                   CA          90004775457
553B556835B399   CHERANDA     CURTIS                   OR          90014835683
553B5839672B38   SADIE        VICTORIA                 CO          90004498396
553B5AA1657157   ISABEL       HERNANDEZ                VA          90013940016
553B6181355941   SHAMEKA      REED                     CA          90013221813
553B6217551348   AMANDA       LEECE                    OH          90012602175
553B6A3A957157   KIM          WILSON                   VA          90013940309
553B6AA4833696   AMBER        TAYLOR                   NC          90013010048
553B737144B251   DOUGLAS      GENE                     IA          90010863714
553B7459385928   SHEENA A.    ALCORN                   KY          90008814593
553B767345B399   ANGELITA     GOMEZ                    OR          90008906734
553B783175B399   SAMPSON      JOHNSON                  OR          90015278317
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553B7A2854B245   EMERALD         MCLAUGHLIN            NE          90012780285
553B7A5255758B   LUSI            CARMONA JUAREZ        NM          90015120525
553B8481885928   BILLY           HYDEN                 KY          67050804818
553B8571861924   ESTHER          MANZO                 CA          90001325718
553B865735715B   MARY            CURRY                 VA          90014766573
553B8669861975   JODEY           HINKEL                CA          90007926698
553B887774B588   JOHNNIE         TRAYLOR               OK          90009098777
553B8995555951   ELEANOR         PATLAN                CA          49070549955
553B9194372B88   CLARK           GENTRY                CO          33060331943
553B9934372B85   RICHARD         HAINES                CO          33002379343
553B9982372B67   LORI            MCNABB                CO          33078139823
553B9A42131428   EMILY           TUCKER                MO          27505940421
553BB293A72B38   STEPHENIE E     BACA                  CO          90009662930
553BB43442B851   MARGARITO       RIOS                  ID          90010414344
553BB487A91895   BETTY           SEANARD               OK          90011854870
553BB98545B387   MELISSA         SILERSMITH            OR          90014229854
5541162A772B43   OSVALDO         MENDEZ                CO          90012976207
5541245964B588   CHASE           HINES                 OK          21574164596
5541256342B27B   JAMAAL          CHANDLER              DC          90014075634
55412672772B38   MATTHEW JAMES   RANGEL                CO          90012876727
554126A1833696   TRACI           ACKWELL               NC          90002036018
55412A56861971   WILLIAM         HOWE                  CA          46014990568
55412AA975715B   WAIDEMAR        MARROQUIN             VA          90002330097
5541315455758B   PETER           SMITH                 NM          90015171545
55413254172B36   JOSEPH          FISHER                CO          90003142541
554135A4691356   CHARLES         COZADD                KS          90006125046
554136A574B28B   JENNIFER        VERNAN                NE          90003836057
55413A3775B399   VERONICA        LOPEZ                 OR          90013400377
55414243A91895   DILLON          KING                  OK          90011982430
55414257972B43   TABATHA         MELANCON              CO          90012662579
554147A115B387   LOWELL          JACKSON               OR          90005837011
55414816372B49   AMBER           MERCADO               CO          90011068163
55414A59A61975   JESUS           VILLAGOMEZ            CA          90011290590
55415288372B38   DOMINIQUE       TAYLOR                CO          90014722883
55415A8AA61971   KIRSTEN         KRYGSMAN              CA          46037390800
5541655A427B3B   CHRIS           MCKEE                 KY          90011575504
554166AA291524   ULISES          BINION                TX          90015026002
5541681895758B   CELINA          SAMBRANO              NM          90014468189
55417558972B93   BYRON           LOPEZ                 AZ          90014205589
55417622672B36   LAURA           GONZALES              CO          33072406226
55417A7235758B   CARLOS          RAMIREZ               NM          35501420723
55418215272B38   PABLO           GOZALEZ               CO          33077652152
5541888A172B36   KORINA          ARCHULETA             CO          33005598801
55418967272B38   ERCILIA         GARCIA                CO          90009419672
55419325772B38   AMBER           STARNES               CO          90008923257
554195A5672B85   ANDREA          WAGNER                CO          90015125056
554195A935B399   JOY             MOORE                 OR          90007325093
5541B19125B399   AUDREY          RUSSELL               OR          90012591912
5541B243372B43   MARGARITA       ANDREWS               CO          33026602433
5541B29A27B46B   MARCUS          GRAVES                NC          11058902902
5541B563391895   RAYMOND         VALENTIN              OK          90013655633
5542117A591356   LUCAS           MOORE                 KS          90014791705
55421947872B36   TERESSA         TRIPPENSEE            CO          90014879478
55422319172B67   NICOLE          GRAY                  CO          90007243191
5542253925B283   TERRANCE        ANDREW                KY          90010795392
5542255A654152   BESSY           CHINCHILLA            OR          90005355506
554225A5133699   LOUANNA         MOLINA                NC          12085605051
55423453172B85   EARL            LOWE JR               CO          33014764531
554237A7972B27   JACOB           REEVES                CO          90009497079
55424A66261971   SHATHA          RAHIM                 CA          90001030662
55425249872B36   JANICE          EIDSON                CO          33060302498
5542528744B28B   KIMBERLY        CLARK                 NE          26012352874
55425768972B85   GERARDO         CRUZ ORTEGA           CO          90009907689
5542593A333699   JARRELL         HUDSON                NC          90014229303
55425A83172B43   MICHELLE        ARMSTRONG             CO          90010870831
554272A7833699   QUENITA         YOUNG                 NC          90014712078
554274A425758B   RICARDO         GALVAN                NM          35502964042
55427524772B93   EMILY           HOUSE                 CO          90004205247
55427A53772B27   FATIMA          WILLIAMS              CO          90012780537
55428136A5B531   JUDY            SECATERO              NM          90012101360
55428625172B36   TOM             BRADLEY               CO          33071266251
55429624172B49   BERENICE        MANI                  CO          33063036241
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554297A945B387   CLAUDE         GIBSON                 OR          44565097094
55429877A55941   SOPHIA         GLORIA                 CA          90012018770
5542995882B27B   JENNIFER       FRANCES                DC          90003919588
55429A8245715B   DEBRA          GAMBOA                 VA          90002270824
55429A93672B85   FRANCES        SERGIO                 CO          90010900936
5542B77224B29B   FURITA         DRIVER                 NE          90006997722
5542BA94A61975   GLORIA         MURILLO                CA          90011290940
5543118274B28B   CARTER         MICAH                  NE          90009721827
554312A7833699   QUENITA        YOUNG                  NC          90014712078
55431A27572B85   WILLIAM        BUTLER                 CO          90009720275
55432A1A457157   CESAR          KIMENEZ                VA          90003150104
55433145772B85   RHONDA         DIAZ                   CO          33028191457
5543325A485928   ALEXANDER      HUESTON                KY          67030682504
55433987772B38   ANNE MARIE     MARTINEZ               CO          90011099877
5543441A491895   RACHELL        DOWNS                  OK          90014344104
5543456312B27B   TOMASITA       AQUINO                 DC          90002085631
55434A5A361973   DANIEL         OLMOS                  CA          90012380503
55435337172B27   SARAH          MORAVETZ               CO          90014853371
554353A6A72B85   TIRHAS         DEBRETSION             CO          33018163060
55436169472B49   BELEN          TORRES                 CO          90014741694
5543619A95B531   MICHAEL        ROURKE                 NM          90011081909
55436333572B43   ALIA           KANAAN                 CO          90004713335
554364A7584357   KAIKA          LAWTON                 SC          90014424075
5543826885B531   JAIME          CERVANTES              NM          90013602688
5543839A961975   MERAH          MIRANDA                CA          90013273909
55438443A91356   DOUGLAS        STANFIELD              KS          90001094430
55438788472B36   LETICIA        MANGRERA               CO          90007387884
554391A2772B85   WILLIAM        COSTAK                 CO          90002631027
55439494272B43   YVETTE         DE LA CRUZ             CO          33031214942
55439839472B35   MICHELLE       BOOKER                 CO          90013448394
5543987915B387   DANNY          HOWARD                 OR          44594658791
5543B281472B88   AMY            HARDER                 CO          33031792814
5543B44445715B   ADAM G         PAREZO                 VA          90008734444
5543B46A985928   IVAN           VAZQUEZ                KY          90006314609
5543B626972B85   ANDREW         HALTERMAN              CO          90004826269
5543B62AA5758B   DIONNA         RIVAS                  NM          90013186200
5543BA94184357   EBONY          WASHINGTON             SC          90014800941
5544115285B399   ALAN           WHITE                  OR          44523991528
5544136AA4B588   JENNIFER       CUCCARO                OK          90012203600
55441445172B27   KACY           SLAUGHENHOUP           CO          90012644451
5544167A361973   ISABEL         RIOS                   CA          90008916703
55441A63791587   NANCY          ORTEGA                 TX          75000210637
554427A6A91587   BRITTANEY      DURON                  TX          90015177060
55443359972B38   DEBBIE SUSAN   BURNS                  CO          90014003599
55443711672B85   FELIPE         LUCATERO-GONZALEZ      CO          33025447116
5544381148B12B   SERGIO         CORRANZA               UT          90005048114
55443A1A991356   PAYGO          IVR ACTIVATION         KS          90014840109
55444621572B43   ANTHONY        WILCOX                 CO          90012976215
5544538884B588   MYEESHA        CHEADLE                OK          21573563888
55445389172B27   JOSECARLOS     COB CANCHE             CO          33096373891
5544594945B387   CHRISTY        UHRICH                 OR          90013839494
5544695882B27B   JENNIFER       FRANCES                DC          90003919588
55447391772B36   FERD           CHAVEZ                 CO          90008013917
5544755A491356   BECKY          MARTIN                 KS          90014915504
5544772AA72B38   ELIZABETH      GONZALEZ               CO          90007297200
554477A194B588   VERONICA       CORONADO               OK          90009487019
55447AA2372B27   PATRICK        HANLON PRINZ           CO          90011300023
554485A445715B   SAMANTHA       BREGMON                VA          81009035044
554485A6891895   KEYON          JOHNSON                OK          21049065068
554491A384B588   CHARITY        MERRIMAN               OK          90014841038
55449278772B27   VENNINA        QUEZADA                CO          90010702787
5544967445B387   BERTHA         GARCIA MARTINEZ        OR          44520876744
5544976A191356   PEGGY          WILLIAMS               KS          90011277601
55449778172B38   JOSEPHINE      MECILLAS               CO          33070077781
55449A78884357   LASHANDA       MILLER                 SC          90015230788
5544B369872B38   BRENT          OSENDORF               CO          90011193698
5544B991772B85   PRISCILLA      PRYOR                  CO          33054899917
5544BA76972B49   MATTHEW        COLUSSI                CO          33096110769
554518A1572B27   KELLY          DAWSON                 CO          90007728015
55453338A91587   BRIGITTE       RODRIGUEZ              TX          90014303380
55453744472B49   MANUEL         ROBLES                 CO          33058177444
5545423815B387   BROOKS         JERZELL                OR          90014502381
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554553A4961975   BARGAS        JOSE LUI                CA          90007013049
55455618372B38   CHRISTOPHER   RIVENS                  CO          90013936183
55456454198B2B   ERIC          CARABALLO               NC          90006234541
5545741A15758B   CYTHIA        VARGAS                  NM          90014374101
5545785154B28B   ALICE         DANIELS                 NE          90011588515
554581AA272B27   ANTONIO       ROCHA                   CO          90002691002
5545829425B387   ZACHARY       SCOTT                   OR          90005092942
554587A7372B38   MARIELA       GUTIERREZ               CO          33011067073
5545894255B543   HUGO          CHAVEZ                  NM          35061739425
55458A68161975   ABEL          CARMELO                 CA          90009250681
5545981A74B28B   DEJUAN        LUMPKIN                 NE          90012928107
55459A93285928   LEONARDO      CHAVEZ                  KY          67084330932
5545B183151348   CHRISTOPHE    COMBS                   OH          66009741831
5545B397261971   ANA           BRESSNUTTI              CA          90012883972
5545B665172B38   SARAH         MANCHEGO                CO          33015566651
5545B69A75B531   KIMBERLY      CANMARTER               NM          90013986907
5545B817972B36   IVAN          GARCIA                  CO          90006558179
5545BA5885715B   GERBER        BARRIOS ANGEL           VA          90006980588
5545BA8AA72B49   ANTONIO       MENDOZA                 CO          90007710800
5546122555B373   JEFFERY       MAIN                    OR          90007372255
5546227A557157   DANA          MARSHAL                 VA          81044342705
5546247395B387   RACHEL        JONES WARREN            OR          44507224739
5546286A761973   JUAN          SMITH                   CA          90014728607
5546373495715B   CARLOS        GONZALES                VA          81085317349
5546494545758B   ABRIEL        DRESSER                 NM          90010809454
5546561A461971   RODRIGUEZ     GUSTAVO                 CA          90012146104
5546593674B29B   REBECCA       MOORE                   NE          90006999367
5546645925B399   MARY          SHARP                   OR          44541334592
55466785A33696   TENISHA       MILLS                   NC          12015747850
55467853A2B851   DALE          COREYLL                 ID          90011968530
5546793955B399   BARBARA       NUGENT                  OR          90010969395
55468A63357157   JUSTO         ZEPEDA                  DC          81061430633
5546984997B46B   SHAKERA       GREEN                   NC          90007998499
5546B474172B38   DONALD        SNOW                    CO          33034384741
5546B52625758B   ANNETTE       GARCIA                  NM          35503065262
5546B78875B247   BETTY         SACHLEBEN               KY          68076137887
55471394A72B49   JEFFREY       MERVIN                  CO          90010973940
5547144AA91356   ORLANDO       CHACON                  MO          90015034400
5547157314B28B   MICHAEL       SAMEK                   NE          90009775731
55471843872B88   VICTORIA      PARRA PAVON             CO          90006928438
554722A1731429   JOHN          ELLIOTT                 MO          90004102017
5547255A972B58   DIONE         ARCHULETA               CO          90012365509
554725A5772B49   KARA          CULBERTSON              CO          90002155057
55472791372B67   MICHEAL       GUY                     CO          90011007913
55473818A61973   ANA           DE LA ROSA              CA          90013048180
55473A7539132B   JOSEFINA      VALERIO                 KS          90006450753
5547498338B174   PERRY         MICHAELS                UT          90011099833
55474A58661971   BRANDON       FISHER                  CA          90013680586
554752A1731429   JOHN          ELLIOTT                 MO          90004102017
5547623725715B   MATTHEW       RUMINER                 VA          90013132372
55476434672B27   VALERIE       PETRONE                 CO          33080594346
5547833315B52B   CHRISTINA     HARO                    NM          90002853331
554784A8272B85   JOHNSON       WAREN                   CO          90001594082
5547852745B531   GUADALUPE     REYES DELGADO           NM          90006335274
5547855574B588   JACQUELINE    TAYLOR                  OK          90012585557
5547916988B169   ANGELA        RAMOS                   UT          90006291698
55479326272B85   SCOTT         UHRICH                  CO          33016613262
5547962812B27B   AMULCAR       MORENO REYES            DC          81094636281
55479913A84357   SHARRA        PIERCE                  SC          90013939130
55479A1195B531   MATTHEW       SHUSTER                 NM          90012320119
5547B427672B43   JULIETA       BASTIDA                 CO          33086944276
5547B528A5B531   STEVEN        CHAVEZ                  NM          90008625280
5547B748931428   BARBARA       SHIELDS                 MO          90005337489
5547B7A365715B   LOURDES       TACURE                  VA          90013927036
5548111742B851   NAOMI         MOLINA                  ID          42086181174
55481322897B4B   BREANA        GARCIA                  CO          90000783228
55481922572B27   LEONARDO      SALAS                   CO          90009409225
55481A57984357   GERRANT       ASBORNE                 SC          90013940579
5548235AA5715B   MARCO         MENDOZA                 VA          90013883500
55482814272B43   JULIAN        HERRERA                 CO          33075268142
55483182272B38   ELIU          VILLAGRANA              CO          90009881822
554836A552B851   JACINDA       CUELLAR                 ID          42006946055
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55483729A61971   JESSICA LEANN    REYES                 CA         90011417290
5548373984B521   CAROL            NIEDFELD              OK         90004077398
55483AA8272B85   JOLENE ERMINIA   MAES                  CO         90008060082
5548561325B271   TONYA            CARNES                KY         90004276132
5548666987B46B   ERIKA            HILL                  NC         11096346698
5548682A94B521   TANYA            WISBY                 OK         90001438209
5548684485B543   LONNIE           LANE                  NM         90001128448
5548696465715B   NOEL             HERRERA QUINTANILLA   VA         81079449646
55486A6254B28B   ROXANNE          HAMILTON              NE         90009790625
55487253372B36   JAIME            ESQUIVEL              CO         33036382533
55487682572B49   MARCELO          FLORES                CO         33041236825
55487A99441271   CAJETAN          MURRAY                PA         90014520994
55488A4485715B   LAKNDAR          GABBABI               VA         90011240448
5548929355B399   LUIS             UBILES                OR         44589232935
55489855A24B7B   LATOYA           WILLIAMS              DC         90013318550
5548994842B27B   TRACYE           REDD                  DC         90013689484
5548B75A35758B   KARINA           VASQUEZ               NM         90009547503
5549116A684357   SAMANTHA         HODGES                SC         90011021606
5549162AA61973   CHRIST           SOTO                  CA         90015126200
5549164324B588   DANIEL           ENCARNACION           OK         90012696432
55491A4547B46B   TANK             THOMAS                NC         90015330454
55492269872B43   JOSE             JAUREGUI              CO         90007172698
5549246137B46B   JOSE             ESPINOSA              NC         90012304613
55492769A72B49   SILVIA           QUINTANA              CO         90010107690
55492A79867836   LARRY            TIAH                  IA         90015250798
55493423172B27   ROSA             GERMES                CO         90012174231
5549373545758B   IGNACIO          NUNEZ                 NM         90009217354
55493A85172B38   ALVIN            AYERS                 CO         33064750851
5549428A95B543   DANIEL           LUCERO                NM         90001832809
5549482342B27B   SHERRI           JORDAN                DC         81027068234
5549498244B588   JAMES            JAMES                 OK         90001369824
5549529615758B   ELIZABETH        GALVAN                NM         90010282961
55495593872B49   BEVERLY          ARCHULETTA            CO         33007295938
55496291A72B36   JOSE             BAUTISTA              CO         90010802910
5549726A191895   AMY              CARROLL               OK         21056532601
55498A19172B36   SERGIO           SANCHEZ               CO         90013950191
5549953385B387   MARK             BANKS                 OR         90014795338
55499A2985758B   JULIO            RODRIGUEZ             NM         90005990298
5549B172A61971   ANDREA           CASTANEDA             CA         90014001720
5549B73A261975   SANDRA           BONILLA               CA         90003107302
5549B84585B399   EVAN             HARVEY                OR         90012248458
554B115364B28B   JOSEPH           HOOPER                NE         26079151536
554B166354B588   NOEMI            VERA-ROMERO           OK         90010986635
554B244477B46B   NE               H                     NC         90014704447
554B3227772B27   NICHOLE          MARTINEZ              CO         33088862277
554B3682891923   WILLIAM          AGULAR                NC         90006466828
554B376845B387   SKYLAR           WYLIE                 OR         90013827684
554B4197991535   LUIS             MONTALVO              TX         90008501979
554B448364B588   LUIS             FIGUEROA              OK         90012484836
554B479785758B   ROBERT           HERNANDEZ             NM         35578867978
554B496345715B   RAQUEL           CHAVEZ                VA         90013929634
554B5273A72B88   BRIAN            WILLIS                CO         33015732730
554B5352372B85   GUSTAVO          MORALES MACIAS        CO         33028983523
554B535855758B   LUPE             GLOVER                NM         90006813585
554B589687B49B   CHASTITY         DAVIS                 NC         90008708968
554B664765B387   DAWN             HENDRY                OR         44512756476
554B6797A33699   LATASHA          ESHIET                NC         90014707970
554B7399A61973   MARIBEL          SEGURA                CA         90013463990
554B7872231428   LAUREN           SCHEFFING             MO         27582448722
554B7A8975758B   STEPHANIE        ELIZALDEZ             NM         90009480897
554B811752B851   KYRSTAL          SMITH                 ID         42066871175
554B8448A33696   BRYAN            NELSON                NC         12012404480
554B88A1572B38   TIERRA           PEARSON               CO         90014848015
554B8A95872B49   CLARENCE         BERRYMAN              CO         90010220958
554B9174772B38   GUILLERMIN       LOYA                  CO         33095811747
554B917A672B43   ALXANDER         JOSEPH                CO         90011421706
554B9255184357   EMMARYN          BARRETT               SC         90013432551
554B957742B27B   WANDA            TINDAL-SMOOT          DC         81051695774
554B98A4861973   MOISES           ORGUNA                CA         90006268048
554BB227661971   JUAN             MENDOZA               CA         46050942276
554BB243972B49   DOLORES          GALLAGHER             CO         33078592439
554BB659772B97   FAITH            BRADY                 CO         90012896597
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554BB74A733699   LATOYA            DAVIS                  NC       90014697407
5551126375B129   ROSA              SEGURA-FLORES          AR       23091342637
55513948972B27   RAFAEL            QUINTANILLA            CO       33084079489
55513A49A5758B   MARIA             AVALOS                 NM       35548190490
5551422A54B588   MICHELLE          WILIAMS                OK       90013472205
5551425A391356   MICHELL           PAYNE                  KS       90015162503
55514845772B36   KIMBERLY          OWENS                  CO       90013208457
55515376772B85   JUAN              MIGUEL ROJAS           CO       90014253767
5551575992B27B   CHANITA           BAKER                  DC       90010857599
5551592A333699   CHANISA           SMITH                  NC       90014719203
55515A19561971   DAVID             MARTINEAU              CA       90002760195
5551624A791982   BRITTANAY         DUNN                   NC       90009922407
55516A47272B27   BERENICE          ECHAVARRIA             CO       90009460472
55516A66172B27   CHRISTOPHER       VALENCIA               CO       90004100661
55517284472B49   CARLOS            MORENO                 CO       90013962844
5551756A872B36   MARK              MARTINEZ               CO       90007275608
55517931272B36   STEPHANIE         MANN                   CO       90010129312
55517A3872B948   AMANDA            CASTRO                 CA       90008610387
5551861A67B46B   TIMOTHY           HOUSTON                NC       90012396106
555194A1972B85   GERARDO           MONTANEZ               CO       33074644019
5551955655B543   VERONICA          GONZALES               NM       35007405565
5551B29685715B   MAURICIO          LOPEZ                  VA       90013132968
5551B785161971   PATRICIA          CESENA                 CA       90013247851
5551BA9A85715B   SANDRA            COREAS                 VA       90015030908
55522567472B43   ROEL              MATA                   CO       33033555674
55523423224B76   STEPHANIE         MACK                   VA       90004924232
55523686172B38   MANUEL            HERNANDEZ DE LA CRUZ   CO       90013936861
55523782672B27   JESUS             ESTRADA                CO       90000187826
5552387384B588   BETTY             HALL                   OK       21573598738
55524476272B38   STACY             SCHWEBACH              CO       33036434762
5552496342B27B   KRISTINA          WASHINGTON             DC       81048079634
55524A35433696   ANGELA            LAMB                   NC       12003640354
55525A5245B387   CHRIS             WILCOX                 OR       90013790524
55526454A91895   LASHION           REYNOLDS               OK       90012284540
55526476672B36   JOHN              SMITH                  CO       33012184766
55526A4745715B   FREDDY            CHICAS                 VA       90008420474
5552838A172B85   ROSA              GONZALEZ               CO       90014253801
55529351276B97   JAMES             MALVEY                 CA       90001463512
5552935537B46B   MILDRED           DAVIS                  NC       11065923553
55529715A76B58   TERESA            GARCIA                 CA       90012827150
5552997292B851   LUISA GUADALUPE   REYES                  ID       90008629729
5552B457872B27   RUTH              DIAZ                   CO       90012434578
5552B815255937   EDNA              DELEON                 CA       90011938152
55531351172B67   LORI              ALCON                  CO       33015523511
55531482372B85   MIGUEL            RAYMUNDO               CO       90010734823
5553289525715B   DAVID             CASTRO                 VA       90014818952
5553329A57B46B   ALEJANDRO         REYES                  NC       90014992905
5553372648B169   ESMON             TUCKER                 UT       31077907264
55534535A91587   LORENZA           HERRERA                TX       75036575350
55534774972B36   MARKUS            DEAN                   CO       33025437749
555358A777B46B   VIVIANA           HERNANDEZ              NC       90012958077
5553673314B588   APRILE            SMITH                  OK       21561227331
55537224772B85   NANCY             SALAS                  CO       90013292247
5553725815758B   NICHOLAS          ESQUIBEL               NM       90013252581
555379A9772B38   ISRAEL            CARDONA                CO       33046249097
55537A2244B588   LLUVIA            OLIVEDO                OK       90008960224
55538271772B43   KELLY             PATTERSON              CO       33053402717
55538517A85928   MARCUS            MARTINDALE             KY       90013015170
55538657A5B531   PAUL              NTUMBA                 NM       90014676570
555392A8961971   RAEDA             ABDULAHAD              CA       90006212089
5553964742B27B   ROSE              ASUQUO                 DC       90013136474
5553B225161975   ROSEMARY          RAMIREZ                CA       90011542251
5553B87384B588   BETTY             HALL                   OK       21573598738
5554143A185928   JARUS             GLASPIE                KY       90010984301
5554167122B869   ROBERT            LOWE                   ID       90008126712
55541824776B7B   JULIE             RALPH                  CA       90011358247
5554244735B399   JAMES             REYNOLDS               OR       90012744473
55543A38372B85   PATRICIA          CANNON                 CO       90009720383
5554436A761973   TANYA             ZEPEDA                 CA       90006353607
55544551472B36   CHARLENE          GARCIA                 CO       33086375514
55545611672B36   DENEKA            MAESTAS                CO       90015036116
5554629A272B53   SHARON            LOCKE                  CO       33095422902
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5554636A85715B   ROGER          ORTIZ                  VA          90013923608
5554645425B399   SHULENA        NELSON                 OR          44524454542
555466A767B46B   LEANESE        CHILDRESS              NC          11073116076
5554674145758B   ASTRID         LUNA                   NM          90012657414
55546789A33699   VENDREDI       SHORE                  NC          90012437890
5554769A691356   VIRGINIA       ESQUIVEL               MO          90007566906
55547757972B49   CANDASI        SANCHEZ                CO          90009447579
5554775812B27B   WILLIAM        QUEZADA                DC          90013447581
55547A17691895   CLAUDIA RUBI   GRANADOS               OK          90004520176
55547A5335B387   RAQUEL         RAMIREZ MULATO         OR          90013750533
55547A67651348   NANCY          TARANTINO              OH          90000570676
55547AA5372B36   CHRISTINA      ALLEN                  CO          90003150053
55548277872B49   CAROLYN        TURMAN                 CO          33088522778
5554912A272B67   MARIA          CARDENAS               CO          90003491202
5554934A491356   RICHARD        MATHIS                 KS          90002913404
55549AA9785928   MARY           JEFFERSON              KY          67030750097
5554B525855951   AMBER          MADRIGAL               CA          49098315258
5554B72225B399   PAUL           HERRY                  OR          90014847222
5554BA45572B43   BRANAYE        BARHAJAS               CO          90010230455
55551228372B85   LEAH           HELBAK                 CO          33054882283
5555143452B934   ROSALINA       GONZALEZ               CA          90011224345
5555158414B28B   CHRISTOPHE     WEGNER                 NE          90001265841
5555174AA5758B   ANGEL          ALVARADO               NM          90010637400
55552399472B85   ALTHEA         CASTRO                 CO          90014253994
5555245695B93B   DEONEL         MARTINEZ               WA          90015474569
55552A5563B333   ARTURO         QUIROGA-BADILLO        CO          33009300556
5555365A15715B   CARLOS         SOLIS                  VA          90014796501
5555373324B524   JOSEPH         ABBO                   OK          21528057332
555537A8772B43   LAURA          PADILLA                CO          33046377087
55553A22533696   STEPHANIE      MOSHER                 NC          90011980225
55554165872B88   UNKNOWN        JOANIE ARMENDAREZ      CO          33036981658
55554646A51367   TONYA          JOHNSON                KY          90001696460
55554A91255951   RALPH          WESLEY STYLES          CA          90001010912
5555521A55B531   MICHAEL        SALAZAR                NM          35003442105
55556416372B49   ROBERT         ROW                    CO          90001294163
55556676372B36   LOUIE          HERNANDEZ              CO          33094636763
555567A6261973   JANINE         CONWAY                 CA          90003707062
55556965A5758B   AGUSTIN        REYES                  NM          35574139650
5555735944B588   DAKOTAH        SPENCER                OK          90015113594
5555748A833699   KARVIN         MENDEZ                 NC          90013924808
5555755742B851   NANCY          JUAREZ                 ID          42088805574
5555778712B27B   SONIA          JOYNER                 VA          81000467871
55558388272B27   GABRIEL        BARRERAS               CO          33035903882
5555858414B28B   CHRISTOPHE     WEGNER                 NE          90001265841
5555868135715B   SELAM          HAILE                  VA          90014886813
55559889A51348   DEBORAH        WARD BOWMAN            OH          90010998890
55559A33461973   VANESA         VALDOVINO              CA          90001180334
5555B683A5B387   MARSHA         ROETHER                OR          90014276830
5555B692672B38   JOE            CARMARENA              CO          90012876926
5556135882B27B   DARNICE        JOHNSON                DC          90011423588
5556139A472B35   GAIL           ANTHONY                CO          90011883904
55561951A33699   WILLIAM        BRABOY                 NC          90014729510
55561A14472B27   BEVERLY        WALLIS                 CO          90006340144
55561A33672B36   JOSE           RODRIGUEZ              CO          90000830336
5556247615758B   LORENA         CHAVEZ                 NM          35561504761
55562951A33699   WILLIAM        BRABOY                 NC          90014729510
5556357145715B   JOSE           LEMUZ                  VA          81012395714
5556438895B543   ESPINOSA       JOE                    NM          90006673889
555659A5291895   YASMIN         TREVIZO                OK          90008019052
55566267672B88   DIANA          DUNCAN                 CO          33079732676
55566573172B49   JORGE          BERNAL                 CO          33037625731
5556675825B531   JESSICA        MORES                  NM          35056917582
555677A185B271   JILL           KESSINGER              KY          90013227018
555678A2484357   TOLONDA        GIBBS                  SC          90005208024
55567A78724B7B   JAMES          ROBINSON               MD          90011770787
55568359772B36   EDGAR          CRUZ                   CO          90009473597
5556869134B588   LUIS           DAVILA                 OK          90005756913
55568A2417B46B   LETICIA        RESENDIZ               NC          90008920241
5556B251961973   ROBERT         VAZQUEZ                CA          90011822519
5556B519585928   MICHAEL        TRUJILLO               KY          67084995195
5556B55555B387   BRITTANI       DAVIS                  OR          90012145555
555711AA933699   KENNETH        COLE                   NC          90014731009
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5557138265715B   NELLY        SILVA                    VA          90014113826
55571836A5758B   ADAN         LEWIS                    NM          35565228360
5557225634B588   RUSS         DAVIS                    OK          90015482563
5557276554B28B   HOWARD       COLE                     NE          90008967655
55573793A2B869   KRISTA       ECKIS                    ID          90010637930
5557382782B851   REYNA        GARCIA                   ID          90009378278
5557484295B387   BRIAN        BERTHA                   OR          90008328429
555755AA284357   LATEIA       SCANTLING                SC          90007585002
55575756124B7B   TIFFANY      KEYS                     DC          90000897561
55575A76672B36   JAIME        JIMENEZ                  CO          90014170766
5557694267B46B   SULVANA      HOLLIS                   NC          90012659426
5557734795B399   MICHELLE     SHOWALTER                OR          90008503479
55577919A61975   RICK         RIVERA                   CA          90007819190
5557834262B851   MONTGOMERY   GIBSON                   ID          42017153426
5557887515715B   MOHAMMAD     YOUSEF IMANI             VA          81045628751
555792A9851348   DANIEL       WALLACE                  OH          90013062098
5557946A884357   ANGELA       ROBINSON                 SC          90013954608
55579473372B38   SEAN         VIGIL                    CO          90013154733
5557964345B283   AMANDA       MOORE                    KY          90008496434
5557B9A3A72B43   ROBERT       NIEVES                   CO          90010669030
55581393172B27   ELICEO       PINON                    CO          33040533931
5558224274B588   TYRONDA      PIERSON                  OK          90013472427
55582247472B36   MARIO        RAMOS                    CO          90005692474
555823A8161975   ROBERT       RASTA                    CA          46020913081
5558273455B129   MANUEL       CEDILLO                  AR          90005537345
5558326465B271   RENE         HAMPTON                  KY          68009052646
5558369655B399   STEVEN       LEE                      OR          90001046965
55583826772B67   WILLIAM      SERRANO                  CO          90006638267
55583896272B88   JONATHAN     HERNANDEZ                CO          90006508962
555838A7191587   SALOMON      POLANCO                  TX          75012848071
5558412284B588   MATTHEW      HARVEY                   OK          90010901228
5558424835B283   STORM        HARLOW                   KY          90013402483
55584292372B27   MARIA        ESPARZA                  CO          33076672923
5558511244B28B   BOBBIE JO    PETERSEN                 NE          90011771124
5558521122B27B   LAKISHA      LORENA                   DC          90012862112
5558529A97B46B   DANIEL       DAVIS                    NC          90010562909
55586598872B27   KARINA       CORREA                   CO          33016955988
55586626872B85   SAUL         QUINONES                 CO          33009466268
5558677694B588   ROSALDA      GRANT                    OK          90007047769
5558696515B387   DANIELLE     WHITE                    OR          44589179651
55587282172B43   TAMIKA       OWENS                    CO          33071862821
55587289872B36   JOSE-LUIS    GALLEGOS                 CO          90010232898
55587474872B67   SHIERE       GRAY                     CO          90005424748
55587A65821631   DEONTE       CAVOR                    OH          90014360658
5558842247B46B   SHEQWENA     CRENSHAW                 NC          90013784224
55589167472B27   JOSE         HERNANDEZ LOPEZ          CO          33030361674
555891A3651348   EDIBERTO     REYNOSO                  OH          90015311036
5558969415B283   JUAN         LINDO TINO               KY          90014376941
5558993985B387   PHILLIP      MADDOX                   OR          44508089398
55589AA912B27B   CHARLES      WINGFIELD                DC          81027120091
5558B37375B531   KATHY        BARRERAS                 NM          90014893737
5558B98A35B399   CORTEZ       WILLIAMS                 OR          90003199803
5559138555B531   ALICE        VERIN                    NM          90015093855
55591541472B27   LAURA        MARTINEZ                 CO          90013115414
5559168A672B38   GRISELDA     ALCALA                   CO          33054646806
5559172385758B   ROCIO        GOMEZ                    NM          90012737238
5559248745758B   PRISCILLA    MEDINA                   NM          35517154874
5559352955758B   CIERRA       THOMAS                   NM          35549625295
55593844A91895   DESHAUNTAY   BRADFORD                 OK          90000728440
55594364972B38   MARCO        MUNETON                  CO          90014993649
555944A342B851   DAN          TACKITT                  ID          90004024034
5559552752B27B   CHANTE       WALKER                   DC          90014715275
55595621172B49   TERESA       JOHNSON                  CO          33096356211
55595A55972B36   EDWARD       STEVENSON                CO          90009230559
5559639A433657   DEVON        WILLIAMS                 NC          90005973904
55596418772B38   APOLINAR     PENA GALLEGOS            CO          33094054187
55596A46324B7B   EDILSAR      FUENTES                  VA          90007920463
5559711577B46B   FLORENCIA    MORALES                  NC          90005281157
55597464372B88   RAQUEL       DAVIS                    CO          33016434643
5559772A791587   ERNESTO      DE LA CRUZ               TX          90013777207
55597871A4B588   JOSEPH       CERNOCKY                 OK          90015178710
5559832135B129   TINA         ALLEN                    AR          23095803213
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55598533872B38   DEMAJE       RATCLIFF                 CO          90013275338
55598AA125B531   RODNEY       WALK                     NM          90013970012
5559963677B359   LEONARD      LEASSEAR                 VA          81001526367
55599866A72B36   JASMINE      SOLANO                   CO          90010388660
555999A892B851   CHRISTOPHE   WYLIE                    ID          42055509089
55599A12872B38   TAMIKA       WILLIAMS                 CO          90011100128
55599A43284357   AGAMSHARAN   PATEL                    SC          90013520432
5559B768A7247B   TIM          BOYD                     PA          90010747680
555B1183151348   CHRISTOPHE   COMBS                    OH          66009741831
555B1A3324B588   ALFONSO      SANTA CRUZ               OK          90011340332
555B1A87985928   BRIAN        CARR                     KY          90005380879
555B212A855951   JOHN         JUDKINS                  CA          90000611208
555B232A44B28B   DUSTY        LORD                     NE          90000593204
555B248825134B   KENNETH      ROBERTS                  KY          90011544882
555B255352B27B   REGINALD     COX                      DC          90014235535
555B314994B588   AMY          BLACKBURN                OK          90011071499
555B326695B399   MARY         WOOD                     OR          90008002669
555B34A3472B43   NIKITA       STEWART                  CO          90014814034
555B4124531462   BRANDEE      WYATT                    MO          90011191245
555B4149972B85   JONATHAN     NADEAU                   CO          90012541499
555B4342172B36   LILA         PURI                     CO          90012333421
555B4925691356   JUSTIN       CAMPBELL                 KS          90015149256
555B5288457157   SOLOMON      SEIUM                    VA          90006042884
555B5356A91587   DIXON        MEJIA HERNANDEZ          TX          90013053560
555B573984B521   CAROL        NIEDFELD                 OK          90004077398
555B576212B92B   GERARDO      VIVEROS                  CA          90008677621
555B5886261975   LYNDA        DUKES                    CA          90009738862
555B6224572B49   ELMER        MORAN                    CO          90011942245
555B6689672B27   VICTORINO    CAMPOS                   CO          90002306896
555B733745B387   JAMES        MOTTRAM                  OR          44557983374
555B766A85B399   PATRICK      BUCK                     OR          90002936608
555B7731272B49   PEDRO        ASCENCIO                 CO          90008537312
555B773945B283   CHARLIE      CLARK                    KY          90006507394
555B775294B588   SERGIO       MORALES                  OK          90012017529
555B777484B251   MICHELLE     HALPINE                  NE          27083687748
555B7A15472B85   JOANNE       GARCIA                   CO          90008060154
555B7A18261975   ALFREDO      TORRES                   CA          90013260182
555B8457761971   JOE          FLORENTINO               CA          90013224577
555B8A77572B63   GAY          STOUT                    CO          90002400775
555B9A9482B27B   JIM          SCOTT                    DC          90013670948
555BB136461973   JAIME        PORRAS                   CA          46017961364
555BBA67A91968   FELIX        HAYES                    NC          90007440670
555BBA76A5B387   RAUL         EQUIHUA                  OR          44574850760
556112A685B543   ABIGAIL      GARCIA                   NM          90003252068
5561141734B588   FLOYD        HILBERN                  OK          21551364173
5561144A572B36   ANGELICA     GONZALES                 CO          90008994405
5561195725B531   PATRICK      SANTISTEVAN              NM          90002499572
55611A33172B43   JANATHAN     BRATCHER                 CO          90010030331
55612648972B38   PAULA        HERNANDEZ                CO          33054236489
55613133272B88   JORGE        RUIZ                     CO          33062631332
55613255A72B49   BARIDEAUX    JESSICA                  CO          90009712550
55613321757B81   RYAN         PURDY                    PA          90014543217
5561375295B531   CARLOS       CAMPOS                   NM          90008667529
5561453942B851   DANA         CAPPS                    ID          90005455394
55614824272B43   CHRISTIAN    CALKINS                  CO          33030968242
5561484A75B129   CLYDE        SANDERS                  AR          90005658407
55614A52A72B85   JENIFER      REED                     CO          90013110520
55615A5AA72B58   TYLER        MOORE                    CO          90012570500
55615AA3772B27   JESSICA      PEREA                    CO          90013610037
5561652272B27B   NICOLAS      MOYER                    DC          81088725227
55616AA7172B38   OCTAVIO      ROSA                     CO          90014100071
5561724722B851   KARLA        CAMPOS                   ID          90011192472
55618A9532B27B   RENARTA      MACK                     DC          90015110953
5561912724B588   JOSEPH       SAYAS                    OK          90014691272
55619A95631429   DALE         PRATT                    MO          27557670956
5561B113591587   CARLOS       GALLEGOS                 TX          90013761135
5561B7A694B28B   MICHEAL      MULLENS                  NE          90001707069
5561B9A1672B88   PAMALA       LOPEZ                    CO          90006509016
55621167372B36   CHRISTIAN    RODRIGUEZ ROSAS          CO          33071241673
5562122452B851   PETER        HOFF                     ID          42031042245
5562215A772B49   ROSEANN      BRITTON                  CO          33018221507
5562259495B531   JOHNATHAN    TERRY                    NM          90013325949
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5562277A772B85   PAUL                   BITEL                 CO   90014257707
5562291524B28B   MARILYN                JONES                 NE   26042859152
55623A7854B28B   KARINA                 GONZALEZ              NE   26012850785
55624653A33699   REGINA                 STRICKLAND            NC   90001936530
556248A7A5B283   ASHLEY                 WEATHERS              KY   90008368070
5562556915B531   LUPE                   TRUJILLO              NM   90001705691
55625714672B43   ELIZABETH              MICHAELS              CO   90007387146
55625AA4572B85   MOHAMED                HAMED                 CO   90014710045
5562613225B531   ROGER                  KONGNE                NM   90010731322
5562618882B899   SUSAN                  GOEPFERT              ID   90012571888
556265A8461973   ELIZABETH              HERNANADEZ GONZALES   CA   90012405084
55627279172B43   KAYLAN                 MITCHELL              CO   90014932791
55627716372B38   LUIS                   COLOMERO              CO   90012877163
55627AA545B271   KYRI                   DEMBY                 KY   90004310054
55628537A91587   MARIA                  RIVERA                TX   75058265370
5562871A15B399   JACKIE                 MCKINNEY              OR   90009017101
5562885777B46B   CHARLES                JONES                 NC   90005578577
5562889925B387   CRISTINA               HERNANDEZ-CARMONA     OR   90015418992
5562894475B283   CRISTIN                DURHAM                KY   68073249447
55628A1345B531   CONNIE                 THOMAS-MONTANO        NM   35065850134
55629625A61973   MARINA                 GARCIA                CA   90011396250
5562977874B28B   JOE                    WENCIKER              NE   90003147787
5562993A533696   ZELDA                  KELLEY                NC   90014809305
5562B39165715B   JOSE                   AGUILAR               VA   90007623916
5562B451772B36   JACK                   STEEL                 CO   33095484517
5562B56165B387   PAIGE                  BYROM                 OR   44592185616
5562B694872B67   BROWN                  WANDA                 CO   90001326948
5562B714172B38   JESUS                  BARRAZA               CO   90012877141
55631819A72B36   MARTHA                 FAJARDO               CO   90014838190
556321A6791587   MARIA                  CONDE-PEREZ           TX   90010781067
5563233122B851   MUKESHIMANA            BELLANCINE            ID   90011683312
5563251285B531   LIZ                    APODACA               NM   90010725128
5563256965B399   RHONDA                 TAYLOR                OR   44552745696
5563378A95B531   GABRIELLE              KING                  NM   90009717809
556337A745B397   CONNIE                 LOPEZ                 OR   44518627074
5563439375B399   MAHABUB                MAHAMED               OR   44569143937
55635A14885928   PETER                  MCKENNA               KY   90012040148
556364A485715B   MAYRA                  SOTO                  VA   90013144048
5563687545B399   MARIA DE LOS ANGELES   OCANA ROJAS           OR   90014478754
55636A92A51348   JESSICA                ALBAVERA              OH   90013270920
556374A535715B   SAYRA                  HERNANDEZ             VA   90001604053
5563777465B387   HARDY                  SARA                  OR   90011007746
55638451372B49   ALEJANDRA              GUTIERREZ             CO   33079094513
5563877447B396   FRANKLIN               TORRES                VA   90003207744
55639227272B85   JACQUELINE             COSSIO                CO   90011012272
5563935A15715B   COBBY                  BONSU                 VA   81061433501
5563955355B387   ADRIANA                ANSUREZ               OR   44582575535
5563965A15B531   MAYRA                  OLIVAN                NM   35045286501
55639914572B43   MATTHEW                SILCOTT               CO   33090909145
5563B57144B55B   SHAKAYLA               GORDON                OK   90011195714
5563B84184B588   TYLER                  SCOTT                 OK   90004938418
5563B847255937   SALVADOR               LOPEZ                 CA   90001348472
5563BA4515715B   ERIC                   FLEMING               VA   90014880451
556416A5361973   LAWRENCE               THOMPSON              CA   90013896053
55641778172B38   JOSEPHINE              MECILLAS              CO   33070077781
556422A5A4B588   MARTIN                 MEDINA                OK   90015102050
55642339A72B85   VANESSA                TAYLOR                CO   90004003390
55642A3165B399   ANGELA                 MUTO                  OR   90002480316
55642AA4285928   MIRIAM                 CAMPOS                KY   90005310042
55643997A5B387   BRENT                  DEWHITT               OR   90015599970
55643A28591356   TERRIE                 MATHIS                KS   90010590285
55644399672B43   STEVEN                 BRYANT                CO   90012503996
55644731A91587   JASMIN                 LUNA                  TX   90011377310
5564522652B27B   DASHAWN                CARTER                DC   90013962265
5564541685B399   FREDERICK              WARTHEN               OR   90015124168
556456A9872B43   SARAI                  RESENDIZ              CO   90013736098
55645A83172B43   MARIA                  REYNOSO               CO   90004830831
556466A3272B85   LAWRENCE               PEREZ JR              CO   90011896032
55646A11351348   LAURA                  WHITE                 OH   90002800113
556475A5333699   DAVID                  SMITH                 NC   90014745053
55647897A5758B   ANITA                  MORALES               NM   90014158970
556478A6191587   YVETTE                 MARTINEZ              TX   90011438061
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55648541672B49   ANNASTASIA   MENNEMEYER               CO          90014095416
55648A44461975   CELIA        ROCK                     CA          90013990444
55648A75357157   TONY         MCILWAIN                 VA          90007190753
5564B41955B283   JUAN         ROJAS-ALVAREZ            KY          90009624195
5564B73915B531   DARREL       JONES                    NM          35008957391
5564BAA7451329   LESLIE       WILLIAMS                 OH          90001080074
5565126154B29B   LAMAR        CARTER                   NE          90009452615
5565173782B851   MONICA       HERNANDEZ                ID          42050537378
556522A935B283   JAMES        ELLIOTT                  KY          90006082093
55652AA7772B38   MAURICIO     CRUZ                     CO          90014100077
5565458A472B36   ADRIANA      ELIOTT                   CO          90004755804
55654596872B36   YOLANDA      JAMES                    CO          90011765968
5565545A55715B   TISA         HOGAN                    VA          90005024505
5565564445758B   JAVIER D     VALENZUELA               NM          90002996444
5565632794B588   DARLENE      SCOTT                    OK          90009593279
5565634615715B   DIGNA        PORTILLO                 VA          90013153461
55657225872B49   CHRISTIAN    GUZMAN-VENTURA           CO          90011942258
55657495A91587   CRISTINA     HERNANDEZ                TX          90013214950
5565756765B399   ESSENCE      RAMIREZ                  OR          90013775676
5565824A333699   RUTH         HOLIFIELD                NC          90012842403
5565864A172B85   JANE         PACHECO                  CO          33061906401
5565873A372B38   LORA         GONZALEZ                 CO          90012877303
5565876557B46B   MARIA        ZAVALA                   NC          11019557655
5565951576B246   ANGELA       BASS                     KS          90001425157
5565968665B531   RON          ARCHULETA                NM          35098396866
55659A8A372B85   JESUS        RENTERIA                 CO          33095660803
5565B297785928   JEFF         NOE                      KY          90002042977
5565B64475B399   J.A.         MAGNUSON                 OR          44552746447
5565B838157157   CARLOTA      BARRERA                  VA          81061728381
5565B93185758B   IRMA         MEDRANO                  NM          90013149318
5566147795B399   JARED        JOHNSON                  OR          90004984779
5566149952B851   RICHELLE     PEHRINGER                ID          90009674995
55661538924B7B   OCTAVIA      WALKER                   DC          90014715389
5566173947B46B   CURTIS       HESSIWS                  NC          90014927394
5566247A15758B   FRANCISCA    GAYTAN                   NM          35538104701
5566371475758B   RAQUEL       DE LA TORRE              NM          90011777147
5566445115758B   BIANCA       SOSA                     NM          90007674511
5566459132B851   SHALAH       STINNETT                 ID          90005455913
55664A85272B27   JORGE        GALVEZ                   CO          90012160852
556652A495B283   LISA         BURKE                    KY          90009592049
55665394472B43   JAMAICA      HINES                    CO          90014133944
5566544135B387   CATARINA     OTZOY MACHIC             OR          90000364413
55666273A4B562   LAURA        RODRIGUEZ                OK          90010582730
55666A36372B85   ROGELIO      MONDRAGON                CO          90009720363
5566742612B851   CODY         BELCHER                  ID          42008484261
55667686A61973   CONANTINO    REYES                    CA          90013356860
55669311472B38   SCOTT        WILLSON                  CO          90013623114
5566969242B851   RUSSELL      ROCHELL                  ID          90010416924
5566979567B46B   ROTISHA      GETER                    NC          90004257956
5566B244672B38   LA QUANA     BROWN                    CO          90013462446
5566B388172B36   JOSE         HERNANDEZ                CO          90012673881
5567163232B851   JESUS        VIZCARRA HUERTA          ID          90011286323
55671753772B88   LEXIS        AGUILAR                  CO          33016437537
55671791A5715B   OVIDIO       VILLATORO                VA          90014887910
55672937472B27   JESUS        MAGANA                   CO          90013429374
5567491335B271   AMY          WHITE                    KY          90004449133
55675112672B67   CORDOVA      ANTHONY                  CO          33048961126
55675366A2B851   KARL         DELRIO                   ID          42063643660
556753A9A5B271   TERRY        MURRELL                  KY          90011133090
5567552875B543   JOSE         TERRAZAS                 NM          90012075287
55676A8A77B46B   BOBBIE       KIRKPATRICK              NC          90013530807
556774A3861973   VANESSA      FRANCO                   CA          90006354038
55677A36361975   RODERICK     HARVEY                   CA          46072130363
5567825A54B29B   DICK         FITSWELL                 NE          90011752505
556788A6591587   ESMERALDA    NUNEZ                    TX          75033708065
5567927544B588   ISAIAS       ESPINOZA                 OK          21500222754
5567928874B521   TASHEENA     AGU                      OK          21501162887
55679589272B49   KEENAN       PUGH                     CO          90013515892
5567981877B46B   BRENDA       MILENDEZ                 NC          90010538187
5567B514A5715B   OSMAN        KARGBO                   VA          81045735140
5567B52144B588   KRISTINA     HUFF                     OK          90009405214
5567B65575B387   BROOKE       CARLIN                   OR          90014746557
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5568128945715B   ANITA        LIMA                     VA          90011012894
55681684872B36   MATTHEW      KEMP                     CO          33047556848
55681744572B27   DANIEL       COOK                     CO          33058087445
55682228872B88   CHASTIDY     DIAZ                     CO          33056712288
55682A3824B251   DENNIS       CLARK                    NE          90011840382
55682A4184B562   JESUS        CASTANEDA                OK          90006350418
5568315275B399   SHAWANA      GAINES                   OR          90011141527
55683871172B36   EDUARDO      GARCIA                   CO          90012938711
5568389825715B   IRIS         HERNANDES                VA          90004538982
5568429A972B38   ABRAHAM      SERRANO                  CO          90008422909
5568455435B531   MARIA        BOLIVAR                  NM          90002845543
55685161A72B38   T            TALLEY                   CO          90010481610
55685281A85928   CARLOS       ALONSO                   KY          90015112810
5568535915758B   SHALOME      LUCKY                    NM          35505573591
55686661A72B27   LISA         SERNA                    CO          33027256610
55686998872B36   CATHERINE    GOZALES                  CO          90010679988
5568786364B588   JESUS        MANCERA                  OK          90014828636
5568B128172B36   RITA         SALAS ROCHA              CO          33075231281
5568B181191356   JOY          HILL                     KS          29025491811
5568B26625715B   CARLOS       MANUEL TREJO             VA          90015232662
5568B354451348   CONSTANTIN   BLEMANO                  OH          66048243544
5568B51724B588   RAYMUNDO     SOLACHE                  OK          90012485172
5568B63A391895   VERONICA     FRAIRE                   OK          90001756303
5568B68834B28B   ANGELA       BEAR KILLER              NE          90004386883
5568B742172B27   MIKE         PHELPS                   CO          90012497421
5568B98555715B   MARLENE      POMEROY                  VA          90013929855
556911A675B283   SABRINA      DORSEY                   KY          90010281067
55691A6134B29B   IBRAHIM      MUSE                     NE          90007060613
5569237A62B27B   DESHA        QUARLES                  DC          90012633706
5569238364B588   JOSH         BROWN                    OK          90006923836
55693381172B36   JOHN         ESCAMILLA                CO          33048943811
5569362278B644   CANDICE      HALL                     TX          90015256227
55694276A5715B   ABDUSELAM    MOHAMMED                 VA          90002232760
5569448954B588   KIMBERLY     STOKES                   OK          90002224895
556944A3A4B28B   HAROLD       COPLAN                   NE          90000604030
55695858A4B521   KEVIN        GILBERT                  OK          90009858580
55695887372B27   JESSE        CALHOON                  CO          90011478873
55697166672B43   JESSICA      CAMARA                   CO          33051931666
55697862872B27   ADAN         MORALES                  CO          33098908628
556984A3A4B28B   HAROLD       COPLAN                   NE          90000604030
55698A53772B38   ALEXIS       SISNEROS                 CO          90006680537
55699814572B38   FELIPE       CORDOVA                  CO          90002098145
55699A54761975   ALEXYZ       CARILLO                  CA          90013990547
55699AA1555997   AGUSTIN      GONZALEZ                 CA          90009880015
5569B42A472B49   EARLENE      NEWTON                   CO          90010424204
5569B743961971   JOSH         OSBORN                   CA          46019777439
556B1682472B67   DARLENE      GONZALEZ                 CO          33000096824
556B1686861971   KILIS        MATAITUSI                CA          90008896868
556B1A7925715B   THERESA      RAMSAY-CLARK             VA          90013150792
556B248AA61971   CYNTHIA      TROTTIER                 CA          90013804800
556B2756431429   MICHELLE     MOORE                    MO          27557667564
556B2AA3172B38   SANDRA       GUERRA LEOS              CO          33098550031
556B3196161973   DIANA        KANE                     CA          90013481961
556B322345715B   EDWINA       REYES                    VA          90013142234
556B355655B543   VERONICA     GONZALES                 NM          35007405565
556B3746333699   PRINCESS     FLOYD                    NC          90010557463
556B524A791895   PAULA        MARQUEZ                  OK          90008032407
556B57A445B387   JAMES        HARRAH                   OR          90014697044
556B5A67985928   AURAMIL      QUINONEZ                 KY          90011990679
556B616A772B27   ALAN         ATHEY                    CO          90014351607
556B675A791356   CHRISTINA    COOPER                   KS          90011697507
556B6795391587   ANGELICA     GONZALEZ                 TX          90013027953
556B6894272B43   WILLIE       NCNEIL                   CO          33015888942
556B7128355951   VELIA        MONTOYA                  CA          90007431283
556B745262B27B   MELVERNA     WEELER                   DC          90013364526
556B74A8571935   MELISSA      BLOCK                    CO          90012064085
556B755125B387   KOURTNEY     KRUM                     OR          90014035512
556B784855B271   MAIA         SAZEKELY                 KY          90003828485
556B789525715B   DAVID        CASTRO                   VA          90014818952
556B823362B57B   ALECIA       PRESSWOOD                AL          90011972336
556B833235758B   ISABEL       MIRABAL                  NM          35586863323
556B874527B46B   ATOYA        WILSON                   NC          11073167452
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556B9887391895   ALAN                FRANKS             OK         21004928873
556B9A57A72B49   JERRY               SARABIA            CO         90001490570
556B9A84685928   NASARIO             SANCHEZ            KY         67029900846
556BB473757157   JOSEPH              BUCKLEY            VA         81044664737
556BB72455758B   SABRINA             LOPEZ              NM         90013797245
556BB836872B49   OTIS                EMMERT             CO         90014158368
556BBA8645B129   SHERRY              WILLIAMS           AR         90003390864
557111AA691587   EDUVIGES            VILLA MORENO       TX         90008261006
55711227172B43   ERIC                BRIGGS             CO         33057012271
55711629172B36   URIEL               ALVARADO           CO         33093606291
5571185912B851   CADRLLO             AARON              ID         42015628591
55711A33961975   DERON               HACKLER            CA         90012830339
55712A5A75B399   SOCORRO             CORDOVA            CA         44510120507
5571325855B283   STACEY              RUNYON             KY         68008542585
5571448A372B85   JULIO               ROMERO             CO         90001694803
5571466184B588   CYNTHIA             SWAIN              OK         90011056618
5571466455B283   DELTE               ROBINSON           KY         90015326645
5571474A372B36   MICHAEL             FOX                CO         90011307403
5571479485715B   ZACKCEMA            BERKLEY            VA         90013157948
5571621AA63657   JEREMIAH            STEVENS            MO         90011652100
5571646365B271   EBONEE              HACKETT            KY         90007164636
55716751472B43   ROBERT              LOVATO             CO         90013137514
5571685465B531   MARIA               JUAREZ-FERNANDEZ   NM         90013658546
55717195572B49   ANGELICA            BARRIENTES         CO         33027971955
55717414872B67   ERICA               VILLA              CO         33052534148
557174A3333696   MARLEANEA           CARMICHAEL         NC         90014514033
55717859272B49   TASHANA             WALKER             CO         33088188592
55717A47761975   MANUEL              ALVAREZ            CA         46014510477
55718776972B43   JASON               JOHNSON            CO         33011787769
55719123372B36   MARIA               ARELLANO           CO         33043411233
55719565A84347   BETHANY             CUMMINGS           SC         90008035650
557195A9A5B531   MICHEAL             BYRNES             NM         90013385090
557198A4A5B399   DELMY               RODRIGUEZ          OR         44592928040
55719A86951348   JUSTIN              BOOKER             OH         66080430869
5571B45555B579   CHRISTIAN           CASTRO             NM         90007164555
5571B929385928   KEITH               TICHENOR           KY         90005079293
55721395272B85   KARI                DELACRUZ           CO         33045123952
557214A3333696   MARLEANEA           CARMICHAEL         NC         90014514033
5572156645B531   CYNTHIA             JEFFRIES           NM         90012625664
5572168A631428   KAREN               KANKOLENSKI        MO         27516776806
557216A2A72B38   GANGA               DARJEA             CO         33041956020
557221A3161971   JOY                 OSUJI              CA         90007431031
55722A8974B588   DRAULIO             ESCAMILLA          OK         90012230897
5572344187B46B   CARLOS              OSORIO             NC         90012944418
5572346195758B   DAVID               SHAW               NM         90003354619
5572356495715B   SANTIAGO            RIVERA             VA         90010425649
557235A9A72B38   LORINDA             GONZALES           CO         33058535090
557241A164B588   RONALD              HULL               OK         90011201016
5572429A491587   JOSEFINA            GUTIERREZ          TX         75041492904
55724942A33696   OLIVIA              NEAL               NC         90014549420
55725372672B43   VANESSA             EVANS              CO         90014843726
55725523572B85   MARIA               RAMIREZ            CO         90000275235
5572583A35B531   NANCY               LOVATO             NM         35068798303
557266A445B543   EMILY               HERNANDEZ          NM         90003256044
5572678315758B   MGUADALUPE          SANCHEZ            NM         90013437831
5572697424B588   JULIUS J            STANFIELD          OK         90012369742
55726A19A98B2B   SYLVIA              CAMPBELL           NC         11077630190
557271A6272B77   BLANCA              JURADO             CO         90000761062
55727211472B27   JOSEFINA            RODRIGUEZ          CO         90007712114
5572735525758B   CECILIA             LOZANO             NM         90014773552
5572758955B129   SHUNTANA            NOID               AR         23026485895
55727653672B43   MARIA               BARAJAS            CO         33046376536
55727A26951348   KEYONA              TAYLOR             OH         90015220269
55728424872B36   YARELI              CASAS              CO         90013294248
55728543472B85   ELIZABETH           REITENBAUGH        CO         33066075434
55729792172B85   JOEL                QUINTANA           CO         33093497921
557299A225B358   ROCIO               GONZALEZ           OR         90011009022
5572B79127B496   EDGAR               LEMOS              NC         90001437912
5573114317B46B   FRANCISCO           RAMIREZ            NC         11062581431
5573195A485928   MATIN               SHERROW            KY         90014439504
55731A7A74B525   FFR 22107 CHARLES   CLEVELAND          OK         90011280707
55732389172B49   MARIO               MENDEZ             CO         33036183891
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5573241A872B27   PAUL             GONZALES             CO          90012304108
5573246192B27B   ROBYN            KENNEY               DC          90007394619
5573255455B129   NICOLE           EASTER               AR          90013595545
55732737A5758B   CARLOS           LUJAN                NM          90012677370
55732A9257B46B   JUSTIN           SEAFORD              NC          11067020925
55733439472B43   JAZMIN           BUCIO                CO          33008594394
55733453972B49   AMY              CARRILLO             CO          90010974539
5573355A14B588   KOKIA            ALLEN                OK          90015305501
55733A21172B27   CARLOS           VILLALOBOS           CO          90009640211
5573458A65B129   RUSVEL           AGUIRRE              AR          23063475806
55734A98872B36   HEATHER          MARTIN               CO          90009620988
55735535A91587   RITA GUADALUPE   GONZALEZ             TX          90010215350
55736519A4B28B   CUAUHTEMOC       ALVAREZ-MERAZ        NE          90011815190
55736A22651348   FELICIA          BROWN                OH          66007540226
55737178A5B399   ROBERT           HOLMAN               OR          44536981780
5573724945B129   VINCENT          HIGHTOWER            AR          23059662494
557377A9A5B283   ABDULLAH         JABAR                KY          90010387090
5573832625B271   MIKE             HUFF                 KY          90002273262
5573846A161956   SAMEL            GUARIN               CA          90011584601
55738857A4B251   DAVID            EISCHEID             NE          90002308570
5573938454B536   TARA             PLATT                OK          90008843845
55739781A51348   NARYAB           MAZWELL              OH          90014977810
55739969972B36   DARIAN           DURAN                CO          90010869699
55739974172B85   DONAVAN          HAYNES               CO          33095659741
5573B27544B588   BLANCA           SALAZAR              OK          21536662754
5573B31465715B   ENRIQUE          MENDOZA              VA          81045823146
5573B387A31675   LUCIANNA         KLAUSMEYER           KS          90012473870
5573B6A955758B   ALEJANDRA        SIFUENTES            NM          90014086095
5573B71525B283   LISA             BORDERS              KY          68082197152
5573B911133696   BACHIR           MEZIOUD              NC          90008719111
5574115654B588   GWEN             BUTLER               OK          90011521565
5574124892B875   BUNNY            BRINK                ID          41078942489
55742471A33699   JASLYNE          LEGETTE              NC          90012004710
55742727472B43   AARON            GARZA                CO          90015237274
55742A65161975   DEBORAH          CAZARES              CA          90013970651
557432A5272B36   LEAH             LEBE                 CO          90009162052
557433A1851574   SONIA            GARCIA SANDOVAL      IA          90015363018
5574372158B169   PEDRO            GONZALEZ             UT          90012827215
557437A2891895   MIKE             SHEWMAKER            OK          90014337028
55744A3AA33696   KEVIN            ANDERSON             NC          90013130300
55744AA2A33699   ALICIA           MITCHELL             NC          90014770020
5574524554B588   SHOLONDA         SMITH                OK          21554982455
5574636862B27B   MARCIA           MORRIS               DC          90012683686
5574774615715B   JOSE             RAMIREZ              VA          81068397461
55747846772B49   KIARA            CALVO                CO          90013648467
55747863172B43   MARIA            RIVERA               CO          33000208631
55747876472B36   ROYALTY          CHILDREN             CO          33004368764
55747A43851348   KAREN            OLDENDICK            OH          66023610438
5574824922B851   RUSSELL          BOHLING              ID          90007072492
557494A9A2B27B   LILIANA          CASTANEDA MORALES    DC          90007624090
55749894A72B49   JOSE             RAMIREZ              CO          33051028940
55749A53172B38   JOSE LUIS        MEDINA               CO          90004000531
5574B31425B129   AMELIA           TYUS                 AR          23027993142
5574B595285928   CINDY            JONES                KY          90013215952
5574B9A5891587   SERGIO           RUBIO                TX          75067419058
5574BA92872B27   MIECHELLE        STAPLETON            CO          33012960928
5575153AA61975   NIDIA            SOTO                 CA          90000225300
5575197A272B85   HEATHER          JOHNSON              CO          90014719702
5575232142B851   SAMI             STONE                ID          90004193214
5575239575B129   RICHARD          GRICE                AR          90013873957
5575312415B399   HEBERTO S        REYES                OR          90004741241
55753357A2B851   DIANA            RODRIGUEZ            ID          90014143570
5575348A65B397   TALASINGA        ETEAKI               OR          90006244806
5575357415B387   CHRISTOPHER      CAMPOS               OR          90013845741
55753618272B49   CALVIN           HARRIS               CO          90015186182
5575367A65B531   DAVID            GONZALES             NM          35056826706
5575446992B922   VANESSA          TILLMAN              CA          90012794699
55754652472B38   SHAWLENE B       SPEARK               CO          90013936524
5575475145758B   DAVID            RIOS                 NM          90007307514
5575494695B531   JAVIER           REYNA-GARCIA         NM          90012379469
55754A22472B49   CLAUDIA          HUERTA               CO          90009800224
55755131572B49   DUSTIE           WIESNER              CO          33014421315
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5575538355B531   ALICIA      RODRIGUEZ                 NM          90013963835
557567A482B27B   LAKISHA     WHEELER                   DC          81026947048
55756849272B27   EDITH       ROMERO                    CO          33049728492
5575727A95B543   BENJAMIN    GARCIA                    NM          35090142709
5575746615B271   ROSE        MITCHELL                  KY          68015104661
55758311772B67   TERRY       BAYNARD                   CO          90006273117
5575888575132B   SANDRA      HATTER                    OH          90004148857
5575981925715B   ROBERTY     CLAROS                    VA          81040868192
5575B23975715B   JASON       SMITH                     VA          90013812397
5575B2A3191356   LAQUALA     RUSSELL                   MO          29061802031
5575B836A5B387   BRITTANY    LOWELL                    OR          90011398360
5575BA63772B85   VICTOR      VILLALOBOS                CO          90012480637
5576168A751348   SAMANTHA    RUSSO                     OH          90013936807
55761A4A572B85   JOSE        JUAREZ                    CO          90008110405
55762167A33696   TAYDRA      NEWTON                    NC          90007831670
5576234AA4B28B   ARMANDO     NAVARRETE ALVAREZ         NE          90014773400
55763932572B43   TRACY       JARAMILLO                 CO          33018349325
5576448957B46B   SULAMITA    BATA                      NC          90012634895
5576497495715B   LEONARDO    LOZA                      VA          90013159749
5576534625B531   LEON        REAL                      NM          90010863462
55765825A5593B   JATINDER    KAUR                      CA          90012108250
557665A2172B43   INCISUNI    ALVAREZ                   CO          90012785021
5576661A272B43   FERNANDO    SALAZAR                   CO          90014676102
55766A38A72B38   ARETHA      BROWN                     CO          90011790380
5576711882B851   TATE        LANCE                     ID          90008651188
5576722612B27B   FILIBERCO   SANCHEZ                   DC          90013552261
557673A8133699   ERIC        JOHNSON                   NC          90012603081
5576746992B922   VANESSA     TILLMAN                   CA          90012794699
5576783385B399   MATT        KREGER                    OR          44579478338
5576821945B387   MARIA       SANCHES                   OR          44573182194
5576824575B531   IRMA        LOPEZ                     NM          90007712457
55768465A4B588   TIFFANY     JONES                     OK          90013584650
5576917397B46B   TIMOTHEE    JEAN NOEL                 NC          90013921739
557691A8A4B28B   FRANCISCO   PEREZ                     NE          26003151080
55769591272B27   MARIA       RUIZ-VELETA               CO          33036215912
5576B264372B67   JAKELINE    RUIZ                      CO          33017412643
5576B536591587   GRACE       MARTINEZ                  TX          90014155365
5576B659972B49   DIONISIO    ARELLANO                  CO          33056946599
5576B6AA833699   ALEXIS      COUNCIL                   NC          90010586008
5576B946984329   JAVIER      LARA                      SC          90013659469
5576B9A294B588   MANUEL      TIGUILA                   OK          90009099029
5577139863B352   PAUL        ROCKWELL                  CO          90013663986
5577158175B531   KAILENE     DANIELLS                  NM          90013535817
5577182625B387   PORFIRIO    GONZAGA                   OR          90013798262
55772167772B27   KELLIE      MARSHALL                  CO          90014931677
5577217A572B36   JUAN        RIVERA                    CO          90013561705
55773453872B38   JAVIER      BUITRAGO                  CO          33021664538
55773845A72B88   YESSICA     BANUELOS                  CO          33099428450
55773976172B67   NORMAN      MAESTAS                   CO          33015889761
55773A22572B85   CHAZ        SMITH                     CO          33093250225
5577433492B27B   LANETTA     EATMON                    DC          90011143349
55774374872B38   ADEANA      GARCIA                    CO          90014733748
5577519235B399   ANTONIO     OROZCO                    OR          90011051923
55775247472B36   MARIO       RAMOS                     CO          90005692474
55775339A61548   ROSEMARIE   PURTELL                   TN          90001803390
5577569A261973   GUILLERMO   LORENZO                   CA          90012326902
557756A4691B79   MAUEL       SOLES                     NC          90013976046
55775863A41242   QUALYNN     LINNEN                    PA          90011918630
557759A8472B38   SHANE       SEAY                      CO          90014989084
55775A3595B271   CYNTHIA     TYLER                     KY          90003580359
5577623535B543   MIRIAM      VALENZUELA                NM          90005352353
55776255A33699   RHONDA      DEMPSEY                   NC          12028742550
55776263172B85   REBEKAH     DUDLEY                    CO          90011012631
55776425A61975   KASANDRA    RAMIREZ                   CA          90011294250
55776446772B85   ERIC        ARELLANO                  CO          33086164467
5577759752B851   DAVID       NIBLETT                   ID          42010145975
557778A9A72B49   PAULINO     TREJO                     CO          33007498090
55778112A5758B   JOSE        CASTANEDA                 NM          90007181120
557785AA872B43   BRYAN       FLOWERS                   CO          33085085008
55778A34397128   ELEASE      RUMBAUGH                  OR          90012480343
5577917895B531   MARY        REIDER                    NM          90005071789
5577B645861973   GUSTAVO     CURIEL                    CA          90013896458
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5577B788184357   BRITTANY     MIDDLETON                SC          90014137881
5577B99844B562   SILVIA       RAMIREZ                  OK          21571419984
5577BA9947B46B   LAKEMA       YOUNG                    NC          90008000994
55781942372B38   SHEILA       CARVAJAL                 CO          33086659423
55781A38172B36   DIANA        OROZCO                   CO          90014550381
5578222977B46B   SHARANDA     MOORE                    NC          90013092297
5578247A931429   YVONNE       LANG                     MO          27516284709
55782A5325133B   RON          PHELPS                   OH          66016590532
5578363A551348   TEONNA       QUARLES                  OH          66051946305
55784287A7195B   CALVIN       CLUBB                    CO          90000822870
55784476572B49   JAMES        BROWN                    CO          33006344765
55785263872B85   JEANETTE     ALVAREZ                  CO          90011012638
55786263A72B85   JUAN         HERNANDEZ                CO          90012592630
5578647792B851   ABIGAIL      STACY                    ID          90009834779
5578664724B588   DEBRA        JONES                    OK          90013756472
55787111172B85   MARTINEZ     FRANK                    CO          90005581111
5578771495B543   THERESA      MOLINA                   NM          35036557149
5578773A872B27   COREY        BUSTOS                   CO          90004257308
55788145A5B129   VICKIE       MASSEY                   AR          23021151450
5578847855B229   DEBRA        CLARK                    KY          90001064785
5578848715B531   CHARLES      SANDOVAL                 NM          35071834871
557887A134B28B   JALISA       GRAHAM                   NE          90000597013
5578966192B27B   RITA         HENDERSON                DC          90005106619
5578972A731428   ROBIN        CHAFFIN                  MO          27589407207
5578B12A84B588   RASHAUD      WILLIAMS                 OK          90013811208
5578BA38872B38   PAYGO        IVR ACTIVATION           CO          90011100388
557921A8433696   CHINITA      HOWARD                   NC          12084101084
557922A5891895   TIFFANIE     MARKS                    OK          90009552058
5579257864B588   KAREN        NELSON                   OK          21570315786
5579286875B387   ALICIA       CLEARY                   OR          90015208687
5579382855B531   BELINDA      LOVATO                   NM          35064978285
55794355A72B27   VERONICA     GALINDO                  CO          33045703550
5579446935B531   DELISHA      GARCIA                   NM          90013774693
55796A4852B851   LANCE        LIMBOCKER                ID          90004170485
55797658572B43   LUIS         MORALES                  CO          33039596585
557978A5185928   MARK         KEEZER                   KY          67034778051
55797A79A84357   SHANNEL      HOLMES                   SC          90010240790
5579819582B27B   ERIBIEL      CRESPO                   DC          90012081958
557991A7785894   NELLY        MUNOZ                    CA          90008161077
55799A82891587   MEGGIN       CENTENO                  TX          75042020828
5579B163A61973   JOSE         OROSCO                   CA          90009121630
5579B5A352B27B   ELIZABETH    FLORES                   VA          81017225035
5579B664A72B43   SABRINA      SALAZAR                  CO          90014916640
5579B731372B38   PHILLIP      YOUNG                    CO          90005827313
5579B757872B38   MARIA        GONSALEZ                 CO          90012877578
5579B762261975   ROSA MARIA   OLMERO                   CA          90012177622
5579B997A72B85   DANIEL       TEATES                   CO          90014719970
557B1214A4B28B   SHANNAN      CARLMARK                 NE          90011802140
557B212854B588   PEGGY        YOUNG                    OK          90011441285
557B21A3A8B356   CAROLYN      GREEN                    SC          90014721030
557B235244B241   JORGE        RIVERO                   NE          90002653524
557B3246461971   NOMEI        ORTIZ                    CA          90013932464
557B3551784357   ARTHUR       WYNN                     SC          90013965517
557B37AA95715B   GIANNINA     PEREZ                    VA          90013157009
557B384385715B   JUAN         GARCIA                   VA          90014888438
557B4568791587   MELINDA      AHORTALEJO               TX          90010025687
557B4634761973   ERNESTO      OCHOA ROJO               CA          90010946347
557B474724B588   JOANNA       LEISTNER                 OK          90008667472
557B5221772B85   SANDRA       LOPEZ                    CO          33050562217
557B5363833696   JESSICCI     TARLEY                   NC          90014513638
557B5918A71935   STACEY       SWANSON                  CO          32060049180
557B6229533699   JOHNISE      BLACKWELL                NC          12016072295
557B628515B543   ASHLEY       BECKETT                  NM          90001832851
557B63A715715B   SANDRA       MALDONADO                VA          90004233071
557B665887B46B   LAURETTA     HUGGINS                  NC          11061606588
557B6732291895   CRAIG        BRINKLEY                 OK          21092497322
557B6759172B43   RAMON        ANDAZOLA                 CO          33042587591
557B695884B521   KIM          SMITH                    OK          90004099588
557B6AA855B399   RON          LATIN                    OR          90015050085
557B72A6872B98   MARICELA     GALBEZ                   CO          90001732068
557B7476433696   LISA         CAGLE                    NC          90004584764
557B7765A72B38   JOSE         GALDAMEZ                 CO          33037987650
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557B8157A72B27   JOSE               POBLANO            CO          90011501570
557B81AA572B85   VALERIE            TYNES              CO          90014781005
557B821A64B588   NICK               BRASEL             OK          90013242106
557B848442B27B   JOSE               BONILLA ALVAREZ    DC          81045184844
557B8583A51348   TIANA              BINGHAM            OH          90013875830
557B858475758B   ROSE               AVALOS             NM          90012365847
557B885355B399   RODRIGUEZ          AMILCAR            OR          90013248535
557B8974291587   DINORAH            SOTO-MORALES       TX          90011549742
557B8A61772B27   LENA               ARNEACH            CO          33039480617
557B8A9285B176   OSBOURNE           SMITH              AR          90000420928
557B911115B387   JESIKA             DIAZ               OR          44594401111
557B945A94B23B   SABRINA            BELL               NE          90011294509
557B9644484357   MONICA             BURRISON           SC          90013966444
557B9824A43569   SIONE              TONGA              UT          90005408240
557B99A7372B85   MATT               METZLER            CO          33064789073
557BB267798B2B   JENNIFAR           STEELE             NC          90005702677
557BB34825B283   TIM                CLARK              KY          68024153482
557BB57A391895   MICHAEL            BOWMAN             OK          90013655703
55811652472B38   SHAWLENE B         SPEARK             CO          90013936524
5581168A45758B   GEOVANI            RAMOS              NM          90013966804
5581169615B531   ADRIANA            TORRES             NM          90014556961
5581182A55B223   LORENZO            CAIRO              KY          90001038205
5581185A272B27   FRED               BRACE III          CO          33041518502
55811869972B85   VICTOR             CARSON             CO          33012188699
55812544A5B399   EDDIE              BERTELSON          OR          44545985440
5581266985B531   MICHAEL            AGUILAR            NM          90014456698
55812A2544B588   BOBBY              ROBISON            OK          90011160254
55813861672B38   ESTEFANY           PEREZ              CO          90011418616
558139AA391356   SHYLA              HAMILTON           KS          29020179003
55814264572B43   JONATHAN           TORRES             CO          90002972645
55814791A61971   CEJA               MARIA              CA          46087757910
5581519832B27B   DONNELL            CHATMAN            DC          90012901983
55815357872B67   KARINA             MADERA             CO          90010733578
55815884172B85   JUSTIN             DYER               CO          90012458841
5581644565758B   JILL               CAVAZOS            NM          90015124456
558166A985B387   BRETT              ESPELAND           OR          90004356098
55816839272B85   LOLA               LUNA               CO          33064178392
5581726435B247   JENNIFER           THOMPSON           KY          90001252643
55817577572B49   DEMECRIUS          PARHAM             CO          90010965775
5581869135758B   APRIL              HUMPHREYS          NM          90003566913
5581889465B129   BRITTANDY          PIRTLE             AR          90012578946
55818A12272B85   MATHEW             VIGIL              CO          90014720122
55819994772B27   FRANCISCO          TOLEDO             CO          33014489947
55819A4194B588   DAISY              IXCOT              OK          90014730419
5581B38A485928   NANCY              LOMAN              KY          90008003804
5581B392A4B521   SAMUEL             QUEZADA-FLORES     OK          21514043920
5581B77864B29B   JULIETA GRISELDA   BATRES YOOL        NE          90007087786
5581B849372B43   JOSH               WOOD               CO          33093818493
5581B8A5133634   BERENICE           SALINAS            NC          90010788051
5581B994A5715B   RICHARD            AYAIM              VA          90012439940
55821613272B85   VALARIE            CARLSON            CO          33068216132
558223A2772B88   JOANN              BROOKS             CO          90005953027
5582249742B27B   CRYSTAL            DAVIS              DC          81098814974
5582282885B531   JASMIN             GALLEGOS           NM          90013168288
5582299985715B   ROLANDO            VAZQUEZ            VA          90014889998
55822A16572B85   MARVELLA           MANRIQUEZ          CO          33011110165
5582317A284357   JOSEFA             BENAVIDES          SC          90007471702
5582327744B588   CARLA              WALDON             OK          90008182774
558233A3772B49   BEAU               GOCIO              CO          90008903037
558234AAA8166B   MEELANDRA          ADKINS             MO          90010664000
5582351A472B38   SAVANNA            MARIE LEDOUX       CO          90013615104
5582423255758B   ALEX               SANCHEZ            NM          90012852325
55824883A72B67   DEBRA              JEAN HECKETHORN    CO          33082108830
5582532384B588   LAMONT             LEE                OK          90012323238
55825413A85928   IRMA               FLORES             KY          90001584130
55825451A84357   AMBER              KNOX               SC          90011394510
55825623972B27   DANIELLE           JOCK               CO          33041876239
55825A2245758B   MATTHEW            MARTINWZ           NM          90000530224
55825A42233699   TIFFANY            CARLTON            NC          90014780422
5582625A441229   AISHA              SHAVERS            PA          90010772504
55826446A5B387   ELVIN              SVEEN              OR          90011374460
5582689717B46B   GAYLA              LUCKEY             NC          90007418971
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55826A78991587   ENID               MORENO             TX          90000650789
55827322472B38   MANUEL             DEARA-AL-ALVARO    CO          90008103224
5582745457B46B   KATRINA            TIMMONS            NC          11059194545
55827541772B36   ALEXANDRIA         DURAN              CO          90014815417
5582759A391587   ANGELA             DIAZ               TX          75029635903
55827695172B49   SAMUEL             HIMES              CO          90010746951
55827A1685715B   ANTONIO            RAMOS              VA          90013170168
55827A64272B98   SANDRA BOURGEOIS   BOURGEOIS          CO          90007120642
5582824795758B   JERIMIAH           WILSON             NM          90014932479
5582832252B27B   STACIE             DURANT             DC          90014943225
55828572A61973   MICHAEL            CARRILLO           CA          90012315720
55828887272B37   TAYLOR             BELL               CO          90007998872
5582956897B46B   CHRISTOPHER        BYRON              NC          90014525689
55829818A4B588   JONATHAN           HAYES              OK          90010138180
558298A8272B27   JESUS              DOMINGUEZ          CO          90000778082
55829A71191895   JERIANNE           SHOWALTER          OK          21016270711
5582B332384357   PATRICIA           MOORE              SC          90003683323
5582B421372B85   CARLOS             CHAVEZ-ALVARADO    CO          33060034213
5582B52A957157   JUAN               REYES              VA          81087215209
5582B731791895   ADOLFO             CANO               OK          21047017317
5582B96A972B27   EVIAN              SOSA               CO          90014429609
5583132365B387   MICHAEL            BROWN              OR          44585013236
5583134625B531   LEON               REAL               NM          90010863462
55831561172B36   ARNULFO            CALDERON           CO          90011425611
55831A39861971   MUNOZ              COSETTE            CA          90001020398
55831A6685758B   JOSE               ARROYO             NM          90012820668
55832353272B49   GENE               JONES              CO          33082683532
5583264815715B   AMMA               AMPONSAH           VA          90010486481
5583276672B27B   BRANDY             PRAILOW            DC          90015257667
55833178172B36   MISAEL             LUEVANOS A         CO          33048781781
5583322A191587   ROEL               MARTINEZ           TX          75000642201
5583346612B851   AUSTIN             STEPHENS           ID          42094264661
558337A2791895   TOSHIBA            BROWN              OK          90014897027
55833A7955715B   OSCAR              CENTENO            VA          90014890795
5583432442B27B   CHEYENNE           DOHAWK             DC          90010623244
55834368772B38   MARIA              ROBLES             CO          90014993687
5583565A37247B   CHRISTINA          SANCHEZ            PA          90011766503
55835A8535715B   GERMAN             MEJIA              VA          90014890853
55835AA3A93782   HEATHER            SCOTT              OH          90012130030
55836969A72B85   CHRIS              THOMAS             CO          90008869690
55836A14272B43   STACY              SMITH              CO          33075720142
55836A65161975   DEBORAH            CAZARES            CA          90013970651
5583734344B28B   IRENE              HIRSCHMAN          NE          26092983434
55837811572B88   SHERRY             HOLMES             CO          33055878115
5583811442B27B   SHARON             HUDGENS            DC          90007081144
5583836117B47B   SHIRLEY            JOHNSON            NC          90014613611
558383A7533699   TAMARA             BULLOCK            NC          90014783075
5583843A47B424   SAHRROM            MCKINSTRY          NC          90011084304
55838489A7B46B   LIZETH             SANTANA            NC          90012304890
55838888A41285   LAWRENCE           ARRIGO             PA          90004018880
55838A9868B142   JENNIFER           LONGO              UT          90001680986
55839389172B49   MARIO              MENDEZ             CO          33036183891
55839693872B38   KARLA              YARRISH            CO          90013936938
5583B21555B387   CHARLOTTE          DUNCAN             OR          44521502155
5583B367555951   LISA               CERVANTES          CA          49086193675
5583B49335715B   JONAS              PONCE              VA          90008554933
5583BA6685758B   JOSE               ARROYO             NM          90012820668
5584125195715B   JUAN               HERRERA            VA          90008842519
5584155857B383   TABITHA            THUGURI            VA          90006135585
5584177977B46B   MARLENE            CARETO             NC          90014127797
55841A18672B36   TIMOTHY            RUYBAL             CO          33010290186
5584211595715B   KATRINA            MARTIN             VA          90013171159
55843262572B36   SAMIA              OBEID              CO          90012962625
55843974A98B2B   PEDRO              AGUIRRE            NC          90005709740
55844128172B49   ASHLEY             HOULIHAN           CO          90011521281
5584434415B531   EGLYN              PEREZ-RASCON       NM          90013803441
55844548857B81   BOBBIE SUE         WHEARY             PA          90015435488
5584496AA4B588   VERONICA           BECERRA            OK          90011609600
5584535394B588   TINA               ANDUSEN            OK          90015283539
5584597A15B283   JOANNA             MURRELL            KY          90011719701
5584617327B339   STEVEN             HINES              VA          90001691732
5584722A533699   TAMOTHY            HACKETT            NC          12055982205
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55847641972B43   EUGENIA     GOMEZ-PEREZ               CO          33098276419
55847947372B38   AMANDA      NAJERA                    CO          90011179473
558485A582B998   DONA        SHEAR                     CA          45013935058
55848686572B36   TONY        GOVEA                     CO          90012016865
55848836472B27   CLARINDA    MELENDREZ                 CO          33076318364
5584895374B588   DANA        HALL                      OK          21560179537
55848A58233699   PRECIOUS    BAILEY                    NC          90003870582
55848AA5597164   FRANK       STONE                     OR          90012480055
558492A9961973   BETHANY     JONES                     CA          90015092099
5584B27A272B27   FAHAD       AZEEM                     CO          90013922702
5584B8A624B55B   CARLOS      LOVEST                    OK          90012568062
55851141272B38   SPENCER     NEWMAN                    CO          90015211412
55851715A7B46B   JANI        BLACKMON                  NC          90003877150
5585249335B387   JACKLIN     PAUL                      OR          90014764933
558525A162B851   TONIA       PACHECO                   ID          90011695016
5585336847B46B   ALEX        LOBOS                     NC          90014753684
55853378A33699   JAQUILA     WILEY                     NC          90014783780
5585376122B27B   JOHN        SIMTH                     VA          90013147612
55853966A91587   MATTHEW     FAULKS                    TX          90007679660
5585397595B283   JAVIER      AREVALO                   KY          90011719759
55853A35931428   LEON        WHITENER                  MO          27517280359
55854326472B49   JESUS       ESQUESA-PENA              CO          90009523264
5585461964B588   ANGELA      MARTINEZ                  OK          90013256196
5585469A385965   JAMES       RISTER                    KY          90013236903
5585471155B531   DAVID       GUTIERREZ-M               NM          90008407115
5585511595715B   KATRINA     MARTIN                    VA          90013171159
55855317172B49   RICARDO     SANTOS                    CO          90009063171
5585546AA85962   MICHAEL     MOORES                    KY          67004554600
55855A95A91587   ANA         GALLEGOS                  TX          90013670950
5585619755715B   ALVARO      URIONA                    VA          90013171975
55856618572B27   LEE         GANT                      CO          90007626185
55856661472B85   SHERRI      DOTTSON                   CO          90011156614
55856972472B49   MARIA       BLANCO                    CO          90011919724
55857239872B49   SHERRY      APODACA                   CO          90007552398
5585796A35B387   PERREE      GILREATH                  OR          90015009603
558582A8172B38   VICKIE      SANTISTEVAN               CO          33004582081
5585839AA61975   TERRY       RAHN                      CA          90013383900
55858757372B36   TONYA       ATHERTON                  CO          33042877573
55859131A61971   LUZ         GUIDO                     CA          46019501310
5585B21237B46B   ELVIN       ESQUIVEL                  NC          90014802123
5585B424191356   JONATHAN    PURVIS                    KS          90008424241
5585B58132B851   GUADALUPE   VALENZUELA                ID          90008605813
5585B99134B28B   PETE        JOHNSON                   NE          90000609913
55861777772B38   JONATHAN    RIVERA                    CO          90012877777
55861A2A772B49   EFRAIN      SILVEYRA                  CO          33001360207
55861A5149B131   HOPKINS     DONDRICK DEMALE           MS          90009690514
55861A9675593B   LUCIANA     DIAZ                      CA          90001040967
55862165A4B588   TREK        WHITE                     OK          90014521650
5586295A472B43   MAIRA       MAGALLANES                CO          90007839504
55864613A72B85   MAYRA       ALBALADEJO                CO          33050086130
5586549635B531   LUIS        OLIVAS                    NM          35035174963
55865A63791356   EDWARDO     HERNANDEZ                 KS          29039770637
5586611985134B   RYAN        TYLOR                     OH          90004151198
5586677855758B   ALMA        BERMUNDEZ                 NM          90013147785
5586727437B46B   ISRAEL      ALCOCER                   NC          11060882743
558675A1A5B531   EDWARD      BACA                      NM          35093115010
5586764665758B   ANGELICA    SANCHEZ                   NM          35591956466
5586843542B27B   AYANA       OSBORNE                   DC          90010104354
5586848AA5758B   JEFF        DUFRANE                   NM          90015064800
558684A2A4B28B   CHEYENNE    LUSSIER                   NE          26066214020
55868932272B27   LETICIA     GALLEGOS                  CO          33085769322
5586981777B46B   HATTIONA    TEYNOLDS                  NC          90007458177
5586997825758B   NORAYMA     CHAVEZ                    NM          90013399782
55869A62831468   LAKESHA     GRIFFIN                   MO          90004100628
55869AAA75B387   ANITA       SANTIAGO                  OR          90012800007
5586B12272B851   JENNIFER    SNOW                      ID          90005641227
5586B296172B43   ARLENE      GALLEGOS                  CO          90007942961
5586B735785928   PATRICK     SPICKARD                  KY          90006377357
5586B775591895   GILBERT     MOORE                     OK          21024737755
5586BA7AA31675   JERRY       LUCE                      KS          90010970700
55871466272B36   ANGEL       SAENZ SANCHEZ             CO          33059344662
5587167785B387   GREG        EDGEMON                   OR          90007726778
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5587228497B46B   ANA          MONTOYA                  NC          90006882849
55872471972B27   EVERARDO     GUZMAN                   CO          90003774719
5587334A791587   ZARA         MANSON                   TX          90014713407
558734A5A72B27   ALICIA       GAYLORD                  CO          33017614050
55873A6674B588   IVAN         RODRIGUEZ                OK          90007190667
558748A8755951   ESMERALDA    CHAVEZ                   CA          49017548087
5587515114B588   MELISSA      LONG                     OK          90014941511
55875A22233696   PATRICIA     PATE                     NC          90014560222
55876613A3163B   TANIA        LEAL                     KS          22007396130
55876684972B43   JESSICA      ZARYCHTA                 CO          90015306849
55876839A51348   MATHEW       STEGMAN                  OH          90012918390
55876A7195758B   JESUS        GOMEZ                    NM          90010760719
55877226798B2B   DAMION       HOWELL                   NC          90012792267
5587776325B531   MELISSA      GONZALES                 NM          35063957632
55877921A72B36   GUSTAVO      MARTINEZ                 CO          33022879210
55878199772B36   HUMBERTO     PALLARES                 CO          33017241997
55878812572B38   VALERIE      CARRILLO                 CO          90013388125
5587946195715B   ALEX         GUERRA                   VA          90014894619
55879A21791356   CYNTHIA      ANDERSON                 KS          29034300217
55879A68A5B387   JENNIFER     KLEFFNER                 OR          90015260680
5587B424A72B27   GABRIEL      HINIJOSA                 CO          90013094240
5587B43535B531   ANDRE        NUNEZ                    NM          90014494353
5587BA4945B543   ABEITA       MAERCEDES                NM          90007230494
55881A39A5B531   MIKE         VILLALOBOS               NM          35057460390
55882113172B38   SANTOS       CECENA                   CO          33014081131
558825A385758B   VICTORIA     DE LA CRUZ               NM          35521865038
55882682A5B399   KERI         BASLER                   OR          90014366820
55882A68272B43   RUFINA       BONILLA                  CO          90009390682
5588321A661973   MARIO        FRANCO                   CA          90010022106
55883246A3B388   JAMES        CUNNINGHAM               CO          33004922460
55883561872B49   AGUIRRE      JANET                    CO          90009825618
5588361532B259   CURTIS       PEARSON                  DC          81026646153
5588381894B588   GREGORY      ANDERSON                 OK          90010138189
5588482685758B   DARLENE      FRAUSTO                  NM          35519108268
5588496645715B   MANO         MANSARAY                 VA          81078239664
55884A59872B36   ANGELICA     ESPINOSA                 CO          33091380598
55885291572B85   MICHELLE     CAUDILLO                 CO          90014622915
5588535755758B   DENISE       PORTILLO                 NM          90015163575
55885359A7B46B   CALANI       TAFARI                   NC          90008003590
558853A9185928   SHANTORIA    JOHNSON                  KY          67006903091
55885A82272B27   KAIGE        BOWLING                  CO          90013930822
55886388A61971   ERICA        OLEA                     CA          90014383880
5588776195758B   HUGO         DOMINGUEZ CARDENAS       NM          35557667619
5588828775715B   DWAYNE       COLDS                    VA          90011042877
558887AAA72B36   JEREMY       GRIFFITH                 CO          90009987000
55889368272B49   GINO         GARCIA                   CO          33087873682
558894A4572B85   GABRIELLA    AVILA                    CO          33077444045
55889A85251348   CARLA        MATOS                    OH          66003160852
5588B151261941   ANDREW       VOLPER                   CA          90007661512
5588B373A72B36   JOSE         MARQUEZ                  CO          33040593730
5588B783472B85   TAMMY        GLANDON                  CO          90014117834
5588B99A872B27   SERGIO       HERNANDEZ                CO          33017989908
5589178868B531   CORAYAMA     VALSQUEZ                 CA          90013977886
55891A25872B36   NATASHA      ROMERO                   CO          90010680258
558924A7861971   EDUARDO      CORTEZ                   CA          46019214078
5589253527B46B   REGINA       RAVENELL                 NC          90015315352
558933A4491895   AMY          BONAOBRA                 OK          21042303044
5589347235715B   KATHY        LOZANO                   VA          90014894723
5589351A361971   JOHN         TARANTINO                CA          90014845103
558938A1753B41   CHRIS        BROWN                    CA          90015348017
55893A34272B43   BRAIN        NUNES                    CO          90012740342
5589499325135B   ERIC         SIMS                     OH          90001999932
55895151472B43   SHENNA       KEITH                    CO          33074271514
5589525A88B163   CLAUDIA      CASAGRANDE               UT          90010082508
5589535442B27B   BRANDON      POINTER                  DC          90014363544
55895A7A384357   PAYGO        IVR ACTIVATION           SC          90014220703
5589615575758B   ANA          BENAVIDEZ                NM          90003551557
55896299172B38   MELISSA      ROMERO                   CO          33097362991
55896553472B36   HOLLY        GARRETT                  CO          33007745534
5589657695715B   REKIKWOFKU   WOLDEGIORGIS             VA          90014905769
558966A4491356   SCOTT        DANIEL                   KS          29063406044
5589689495B531   MARIA        QUINTANA                 NM          90010168949
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558968A5491587   ANGEL            HERRERA              TX          90008288054
55896A6257B46B   ZAKIYYAH         RASHEED              NC          90002690625
55897392A4B521   SAMUEL           QUEZADA-FLORES       OK          21514043920
55897933872B85   JORDAN           PATTERSON            CO          90007029338
55897A6295758B   ABIGAIL          SALGADO              NM          90014550629
5589811425758B   ALBERTO          SANDOVAL             NM          90011491142
55898512A5715B   MARSHALL         HARRISON             VA          90014895120
5589865857B497   CHENELL          GOODE                NC          90010306585
55898951772B43   ELLEN            JUDISH               CO          90012209517
55898A13161973   STEVE            HENDERSON            CA          90011860131
558999A865B387   MICHAEL          HALE                 OR          90012069086
5589B25365B387   RUDY             MENDEZ-GALVEZ        OR          44559412536
5589B3A8433696   MARQUIKITA       HAYES                NC          90013033084
5589B437372B38   MERCEDES         SANDERS              CO          90004564373
5589B89435758B   AGUILERA         SORAYA               NM          90006858943
5589BAA4972B49   CHAVEZ           SHIRLEY              CO          33002250049
558B1626155951   RICHARD          GARCIA               CA          49017526261
558B171435B387   ANTHONY          WATTS                OR          90010067143
558B1964651348   TEKI             FOGGIE               OH          90010599646
558B19A1285628   JUAN             GARCIA               NJ          90004689012
558B1AA3A93782   HEATHER          SCOTT                OH          90012130030
558B2127585928   CRYSTAL          DEERING              KY          90014761275
558B2448A72B98   LUZ              CLAUDIO              CO          90014644480
558B2541731428   JONATHAN         JOHNSON              MO          90005805417
558B265355B283   KEISHA           SMITH                KY          90008846535
558B26AA451348   SONIA            GARCIA               OH          90010356004
558B341A45B283   LEO              ZURKUHLEN            KY          68024214104
558B341A772B43   MARISSA          BARELA               CO          90011104107
558B3716585928   MARY             RODDY                KY          67083127165
558B3A46A61971   CANDICE LOUISE   RICKER               CA          90011570460
558B5258833699   ANTHONY          WHITE SR             NC          12075322588
558B562945B399   ALMA             BELASCO              OR          90007496294
558B5A1A47B46B   NICOLE           MCCREADY             NC          11089920104
558B6579991895   TABITHA          HOLT                 OK          90009705799
558B668375715B   FRANCISCO        RIVERA               VA          90014696837
558B669A985941   ADREA            POWERS               KY          90011296909
558B6AA8472B85   MARIA            MARTINEZ             CO          90014720084
558B727625758B   ERNESTO          VALLES               NM          35585362762
558B778A872B38   MARIA            MATA                 CO          33020277808
558B796675715B   CLEMENT          YEBOAH               VA          90014889667
558B7996191587   NAVARRETE        HECTOR               TX          90011179961
558B834312B851   TULSHI           DHAMALA              ID          42078623431
558B8432341286   JOHN             PHIRI                PA          51024754323
558B9641A5715B   EDWIN            ARGUETA              VA          90011376410
558BB6A6891587   VERONICA         QUINTANILLA          TX          75051866068
558BB712572B27   DEANNA           WILLIAMS             CO          33063497125
558BB758372B38   ROBERT           RUCKER               CO          90012877583
5591122525B387   MARLYNN          HAMPTON              OR          90012122252
55911225A2B27B   TYREEK           LAMBRIGHT            DC          90013922250
5591212865712B   MICHEAL          HOUSTON              VA          90009821286
5591279685715B   JOANTHAN         RODRIGUEZ            VA          90015177968
5591341582B27B   KEAUNA           RAY                  DC          81017894158
55913A5285B531   ASHELY           ANDERSON             NM          90014570528
55914131572B85   CHRISTOPHER      MARTINEZ             CO          90014721315
5591428744B588   KERRIE           CUNNINGRAM           OK          90013152874
5591458652B851   JEANNIE          VALENZUELA           ID          42065885865
55915175A57157   SANDRA           DERONNA              VA          81062381750
5591548795B399   LEEANNE          CHAVEZ               OR          44552764879
55915535672B43   JOSE             MOSQUEDA             CO          90014885356
5591568524B221   JENNIFER         FAUCHIER             NE          90005006852
559159A9A91356   ELIZABETH        HAYWOOD              KS          29071849090
55916139672B43   CLAUDENE         ALLEN                CO          90000441396
55916592A72B27   LILIA            BARRIGA              CO          33063915920
5591675A15B531   GABRIEL          JURADO ESQUIVEL      NM          35097347501
55917612472B38   SHAUN MICHAEL    STOWERS              CO          90014936124
55918723772B38   VERONICA         GALLARDO             CO          90013007237
559189A7461971   TYRIECE          BAVAIN               CA          90010699074
559192A5933645   PRINCESS         STRIBLIN             NC          12006372059
5591956985B543   JUSTIN           ASHLOCK              NM          90008375698
55919712772B67   VICTOR           MACIASMORAN          CO          33046967127
5591994A931428   JESSE            HARRIS               MO          90005349409
55919A52884357   TIFFANY          GREEN                SC          90011310528
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5591B388161971   BRIAN       DAUTREMONT                CA          46015373881
5591B5A712B27B   SAMUEL      NDI                       DC          90001125071
5591B652A7B46B   ELIOTT      MICHEAEL                  NC          90005436520
5591BA15472B85   GIDGET      MAES                      CO          90008630154
55921142972B43   JUAN        DEVORA                    CO          90010691429
5592115325B531   MANUEL      SAIZ                      NM          90014061532
5592127574B588   CARL        HARRIS                    OK          90013072757
5592299535715B   TOBIAS      MELENDEZ                  VA          90013929953
55922A26984852   NOE         MARTINEZ CERVANTES        NJ          90015190269
55922A55A7B46B   KAYLN       HILL                      NC          90013870550
5592327482B27B   RENAH       WALKER                    DC          90014942748
55923A34833696   ERIC        LOCKLEAR                  NC          90014580348
559241A4891587   EDELMIRA    VALENZUELA DE SOTO        TX          90009731048
55924515972B88   LAUESSA     EAGLE HORSE               CO          90005935159
5592458A93163B   REBECCA     ACOSTA                    KS          90005535809
5592472195B399   MICHELLE    ANTHONY                   OR          90004307219
559248A667B348   RAMATU      KARGBO                    VA          81055968066
55924A45761975   MARISA      MCGREGOR                  CA          90014170457
55926573272B27   JESUS       MIGUEL GONZALEZ BELTRAN   CO          90010785732
559267A2457124   JORGE       CARRANZA                  VA          90008767024
5592691A54B588   DESEAN      HANKINS                   OK          90011129105
55927758972B49   KYRA        CONNER                    CO          90013147589
55927864572B38   NATHANIEL   HENSLEY                   CO          90010398645
55928116672B49   RANON       VENEGAS                   CO          90008501166
55928314772B67   SALLY       BRUCE                     CO          33047643147
55928399472B38   RANDALL     RIPPLINGER                CO          90011153994
5592844847B46B   ADELA       CRUZ                      NC          90012074484
5592956A172B36   MARIA       AREVALO                   CO          33032385601
55929821172B27   KRISTIE     RUDE                      CO          33008458211
5592B2A1333696   KISHA       CUMMINGS                  NC          12049052013
5592B987772B49   NAD         WEYER                     CO          33064029877
5592BA1AA85833   LESLIE      BABANTO                   CA          90009610100
5593111292B27B   DONALD      JEFFERSON                 DC          90004831129
5593136A472B88   JOSE        SIERRA                    CO          33073863604
55931AA9261975   ROSARIO     OLIVAS                    CA          90014710092
5593259587B64B   COURTNEY    JOHNSON                   GA          90012395958
5593325715758B   CHRISTY     LITA                      NM          35519692571
5593327A191895   PAYGO       IVR ACTIVATION            OK          90005132701
5593341235B531   VALERIE     MARTINEZ                  NM          90010154123
559334A8372B27   CECELIA     BEAUCHANE                 CO          33092514083
559338A1A33696   JULIE       ALSTON                    NC          90008668010
559351A8672B49   MARIA       FRIAS                     CO          90005781086
5593527184B588   CAREY       TOWELL                    OK          90014182718
55935AA4172B27   PEDRO       LOPEZ                     CO          33046080041
5593653A333699   MARTHA      TOMAS                     NC          90014435303
559368A665B399   RIGOBERTO   SANCHEZ                   OR          90006418066
559375A7A91525   ERIQ        MARTINEZ                  TX          90012135070
5593787342B851   YOLANDA     MARTINEZ                  ID          90005378734
55937A78272B38   JASON       MARX                      CO          90011100782
55938739A51348   JASON       WALTER                    OH          90010207390
5593883472B948   PHILLIP     PHARR                     CA          90010518347
5593884A333699   CRYSTAL     JESSUP                    NC          90012618403
5593894A472B85   ANNA        CAPEL                     CO          90011549404
5593898A62B27B   STAR        GANTT                     DC          90013819806
55938A26A5715B   MARTA       ORTIZ                     VA          90014900260
5593912215715B   ALEJANDRO   CRUZ                      VA          90007111221
55939827572B38   MICHEAL     SCHUMACHER                CO          90010068275
55939963772B27   MIKE        EDWARDS                   CO          90015059637
5593999A45B387   CANDACE     HICINBOTHOM               OR          90010889904
5593B1A9672B36   LUCAS       HERNANDEZ                 CO          33092811096
5593B274961973   REBECCA     FINK                      CA          90009122749
5593B27938B181   JAMIE       CARLSON                   UT          31015762793
5593B675961975   BEN         RIVERA                    CA          90014496759
55941116A72B85   DUSTIN      MILLER                    CO          90014721160
55941792772B38   SENIA       HERNANDEZ                 CO          90011117927
5594322A772B38   MELANIE     GOMPF                     CO          90004012207
5594332A361971   LEA DAWN    HEBERT                    CA          90014633203
55943588572B36   DAVID       LYBARGER                  CO          90013275885
5594371A161971   LEA DAWN    HEBERT                    CA          90008787101
5594395A52B27B   TYSEAN      REDMOND                   DC          90006599505
55944462172B36   EDWARD      DIMOCK                    CO          90015334621
55945334272B38   DIANA       CALDERON                  CO          90002463342
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55945A61672B85   LETICIA     REYES-ALARCON             CO          33045060616
55946438572B27   DOMINIC     MCGEE                     CO          90011344385
55946828872B38   CRIS        LOPEZ                     CO          33026168288
55947A55231449   JARVIS      GAMBLIN                   MO          90004430552
5594829965758B   RAUL        MARTINEZ                  NM          35505942996
55948361872B49   ORALIA      CASTRO                    CO          33093313618
55948521172B43   DENNIS      HARRISON                  CO          90013005211
55948618A85928   MATHEW      LUNSFORD                  KY          67084366180
5594868132B851   MANDINGO    SMITH                     ID          90014866813
5594874A472B27   PRISKA      RAFFAELI - MCMILLEN       CO          33037217404
55948A8A74B588   GERALD      STEWART                   OK          90001400807
5594953A272B27   CATHY       NELSON                    CO          90004695302
5594955374B588   PAYGO       IVR ACTIVATION            OK          90010865537
559499A515B531   SELENE      CASTANEDA                 NM          35011619051
5594B3A6184357   EDUARDO     RAMOS                     SC          14551853061
5594B4A7A4B588   AMANDA      LOVE                      OK          90010904070
5594B52367B46B   KRISTEN     BUTLER                    NC          90007215236
5594B531172B67   MARIA       GUTIERREZ                 CO          33080345311
5594B592672B88   GUADALUPE   ALMENDAREZ                CO          33075505926
55952554372B85   NORBOTO     RAMIREZ                   CO          90001785543
5595278255B283   TONIA       JONES                     KY          90009027825
559533A415715B   ERICK       CHAVEZ                    VA          81017133041
55954319A4B588   WAYNE       RENFROE                   OK          21503203190
55954479A57157   CEDRIC      MAKELA                    VA          90005374790
55955293872B85   WILLIAM     NELSON                    CO          90011012938
55955A7185715B   JOSE        LLAMAS CASTRO             VA          90014900718
5595636A55715B   ASRET       TEGEGNE                   VA          81013953605
5595646A691351   THOMAS      GIESLER                   KS          90011444606
55956587472B85   JAMIE       YEITER                    CO          33002385874
55957A88272B25   KELLIE      HERNANDEZ                 CO          90009930882
55957A92533699   KANIKA      WHITAKER                  NC          90013850925
55958279272B38   ALMA        CASTILLO                  CO          33019822792
5595834794B521   JUSTIN      JACK                      OK          21520953479
5595888215B271   AMBER       LADD                      KY          68024648821
55959886272B49   HAROLD      MCBRIDE                   CO          33086518862
5595B156961971   TOYGLENN    DEDMON                    CA          90013561569
5595B251A72B27   ALEX        FRANCO                    CO          90014112510
5595BA1444B221   ADJOKO      GABA                      NE          90007480144
5596149AA91523   SYLVIA      ALONZO                    TX          90014994900
5596313A85B387   CASSIUS     DASILVA                   OR          90012931308
5596314A85B531   MERRLINDA   BENAVIDEZ                 NM          35094641408
559639A345B399   JOSE        VENTURA                   OR          90011849034
5596426855715B   REINA       ROMERO                    VA          90013212685
55964A66A31428   DELMAR      WRIGHT                    MO          90005840660
5596541475B531   ARTHUR      BONILLA                   NM          35095434147
55965584A72B85   NATHAN      ENRIGHT                   CO          90002295840
55965A59172B49   CEASER      ACOSTA                    CO          33009010591
55965AA6272B38   CANDACE     HARRISON                  CO          90014880062
55966266A61971   ANTHONY     BROWN                     CA          90010132660
55966666472B38   LIZBETH     PURECO                    CO          90013936664
55966AA2872B49   ILEANA      GALLEGOS                  CO          90009130028
55967119A72B85   ANNA        NELSON                    CO          90014721190
55967279672B36   LINDSEY     SISNEROS                  CO          33019792796
5596752AA5B387   ANGELA      BRONKHORST                OR          44511325200
559694A952B27B   KAREEN      PALMER                    DC          90010054095
55969A35A5B52B   CHRIS       CIPOLLOOME                NM          90003150350
55969A4A972B85   DAN         XIONG                     CO          90007340409
55969A87572B67   OSCAR       RODRIGUEZ                 CO          33020260875
5596B42254B28B   ARACELI     ALCALA SERRANO            NE          90011764225
5596B67615B283   AMANDA      ORM                       KY          90008166761
5596B848133699   OYUKY       ARELLANES                 NC          90014798481
5597173915758B   MARGARITA   FLORES                    NM          35517337391
5597175845B283   ALEX        ANDERSON                  KY          90009287584
5597296415B399   CHRIS       NOLTEN                    OR          90012389641
55972A4A972B85   DAN         XIONG                     CO          90007340409
55972AA5391587   CAROLINA    FIGUEROA                  TX          90013660053
55973523772B67   CHELSEY     BROWN                     CO          33068075237
5597392385B399   POLLY       WINTERS                   OR          44534039238
55974123772B36   ANTHONY     LUCERO                    CO          33059941237
55974669A91895   MIA         HAGIN                     OK          90012696690
559746AA85715B   FRANCISCO   GONZALEZ                  VA          90002856008
559762A7791534   NORMA       RODRIGUEZ                 TX          90011132077
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55977992172B36   GIOVANNI      FLORES                  CO          90011299921
5597821655758B   EMMANUEL      GUEVARA                 NM          90001992165
5597825357B46B   AMBRIA        FONDREN                 NC          90004052535
55978429172B38   NICHOLAS      GREATHOUSE              CO          90014734291
5597853564B588   RAMON         RODRIGUEZ               OK          90013365356
5597925544B588   CHRISTOPHER   ECHOLS                  OK          90009272554
5597B366A61973   GILA          PORTILLO                CA          90010753660
5597B8A9861971   ALICIA        LUCAS                   CA          90012008098
5598142A75758B   CARLOS        ROBERTO                 NM          90013864207
5598152A67B46B   MARGARITA     MORENO PEREZ            NC          11080385206
55981785772B38   KEVIN         AGUILAR                 CO          90012877857
559822A9972B36   GRAG          FARLEY                  CO          90009162099
55982892A2B851   BRYAN         SLATER                  ID          90010458920
55982926672B49   ANGELA        BURRIS                  CO          90012859266
5598297795715B   JOSE          ARIAS                   VA          90010499779
5598379245B387   JASON         LATUALA                 OR          44513597924
5598385735B52B   CARISSA       BERRY                   NM          90011098573
5598431475B543   CATHERINE     DAVILA                  NM          35073523147
5598432A24B588   MICHAEL       YOUNGS                  OK          90012183202
5598445985B129   MARTIN        GAECIA                  AR          90003354598
5598478A772B43   MICHAEL       MARTINEZ                CO          90015357807
5598616A657157   MARIA         MENDOZA                 VA          90011641606
55986622772B85   EICKA         RODRIGUEZ               CO          90004216227
55986625A5B399   HEATHER       MOEHKE                  OR          44578016250
55987128672B85   TIFFANY       ALCANTAR                CO          90014721286
55987658572B49   JESSIE        JONES                   CO          90014876585
55987762172B38   LEWIS         GLEN                    CO          33041117621
55988522472B88   CRISTINA      VAZQUEZ                 CO          33073865224
55988812724B5B   WENDY         WILLIAMS                DC          90001018127
559888A513B352   MAHAN         ARENDS                  CO          33024038051
5598961514B29B   PAIGE         NELSON                  NE          90012046151
5598988235B387   KARLA         CHAMBERS                OR          90014958823
55989892A2B851   BRYAN         SLATER                  ID          90010458920
5598B11275B399   DAVID         LANGHOLZ                OR          90015101127
5598B15137B34B   AKLLILU       HAILEMARIAM             VA          81011011513
55992856672B27   MA DEL        VALLES                  CO          33028068566
5599296787B46B   ANGELICA      CAREON                  NC          90010669678
55992A8114B588   CRYSTAL       HILL                    OK          90014810811
55992A95A72B85   ADAM          STONE                   CO          33052110950
5599382A261975   STEVE         FIELDING                CA          46040468202
55993A2427B46B   JESSICA       LAMBERT                 NC          90010730242
5599495427B46B   IVEYMER       NTIGUA                  NC          90012969542
55997134572B85   JORGE         BALLINES                CO          90014721345
559977A9972B49   HUMBERTO      ORDAZ                   CO          33036407099
55997A81257157   MARIA         CARRANZA                VA          90006910812
55998315A61971   KIERA         WILLITS                 CA          90011993150
5599879992B27B   CHARLES       CARPENTER               DC          81046047999
55998956A5758B   LAURA         GONZALEZ                NM          35536089560
5599912752B27B   TERI          MOTEN                   DC          81027341275
5599913A34B588   JULIE         RICHARDSON              OK          90014681303
5599946545715B   SIMIE         ABEBE                   VA          90008154654
559996A7491895   KIM           SULLIVAN                OK          90013846074
5599B564172B38   CHARLIE       ESQUIBEL                CO          33039425641
5599B684172B43   RAMIREZ       AARON                   CO          33078266841
559B1373461973   PEDRO         CUEVAS                  CA          90011603734
559B1979985928   PAYNE         LYNN                    KY          90014789799
559B2329172B49   ADAN          FLOREZ                  CO          90000663291
559B276447B46B   CRAIG         SANDERS                 NC          90013997644
559B336863B35B   LAKAISHA      PIERRE                  CO          90013643686
559B353842B851   MACKENZIE     BURWELL                 ID          90002435384
559B3963361973   PAOLA         PEREZ                   CA          90013259633
559B3A88661975   ROSA          RODRIGUEZ               CA          90003340886
559B4299391895   ROBERT        CALVERT                 OK          90012812993
559B4668172B38   TIFFANY       KICKLIGHTER             CO          90014436681
559B4A7775B531   DIANA         LOPEZ                   NM          90001960777
559B521A872B67   CHRISTINA     RESNICK                 CO          33047642108
559B5353533696   VENNY         SUAVE                   NC          90014563535
559B5485984357   ANTONIO       GARRETT                 SC          90001534859
559B548815B399   ROBERT        YOUNG                   OR          44573534881
559B5697591587   LORENA        LARA                    TX          90011016975
559B5A1A84B588   KENISHA       WOODEN                  OK          90008470108
559B5A43A33699   DANA          LITTLE                  NC          90011120430
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559B613342B27B   LA ROYA           HUFF                DC          81015991334
559B6194784357   ANTOINETTE        JENKINS             SC          90014211947
559B7755772B36   BRIANNA           FLORES              CO          90013777557
559B7927685928   BRENDA            SALAS               KY          90015009276
559B8435731428   CASSIE            FOX                 MO          27517234357
559B8673A55949   MICHELLE          GARCIA              CA          90001236730
559B895812B27B   CABRERAS          HERNANDEZ           DC          81046099581
559B9197833699   JOEL              KING                NC          90010611978
559B949A65B271   ANDREAKA          BAILEY              KY          90007164906
559B9958572B33   MARIA             GOMEZ               CO          90003049585
559BB112485928   CANDICE           SMALL               KY          90014731124
559BB98613148B   EMERSON           SUTTON              MO          90014359861
55B11266972B49   PERTRICE          BUMPAS              CO          33073792669
55B11612A5715B   LUCACIA           ALDINO ECHEVERRIA   VA          90006446120
55B11726184357   WALTER            PINCKNEY            SC          90012187261
55B11893651348   BRIDGET           MORTON              OH          90006328936
55B1225557B46B   AMELIA            FLEISCHHAUER        NC          90011972555
55B12672333699   FREDIE            GETHERS             NC          12000476723
55B133A2784357   NEKEIA            MARFO               SC          90014693027
55B13474861975   ROSANGEL          ACOSTA              CA          90013094748
55B1353622B27B   DAVID             CAVANAUGH           DC          90010165362
55B13764851348   CHRIS             WALKER              OH          90015107648
55B1451925B387   ZACH              WILLIAMS            OR          90007715192
55B145A1172B38   MICHAEL           ARLEDGE             CO          33062985011
55B14721184357   GARY              MOELLENHOFF         SC          90015187211
55B1489995B531   LUCY              CANO                NM          35047078999
55B148A412B27B   MONTY             JACKSON             DC          90013898041
55B155A2251348   JENNIFER          STANDLEY            OH          90002815022
55B15785672B43   MANDI             DASSEL              CO          33000227856
55B1584A591587   KAREN             FABELA              TX          90012928405
55B1627A27B46B   ANAGELI           RAMIREZ             NC          90007992702
55B17294791587   TIANA             ACOSTA              TX          90012262947
55B176A6331428   ANGELA            ALEXANDER           MO          90013826063
55B176A922B27B   YOLANDA           FRONEBERGER         DC          81007656092
55B176A9291356   BOBBY             TRAMMEL             KS          29080466092
55B17915A91895   DONALD            BEISSEL             OK          90004699150
55B17A6155B387   VIKTOR            BARNA               OR          90014970615
55B17A8237B358   MANUEL            CABALLERO           VA          90014450823
55B17A8A261975   LISA              SHANGO              CA          90011540802
55B18259172B27   NICHOLAS          VIGIL               CO          90007252591
55B1831A257157   FELIX             CONDORI             VA          81031193102
55B18599172B38   ANDREA            UNGERMAN            CO          90013935991
55B18681651348   CODY              GENTRY              OH          90013066816
55B1879319373B   FREDERICK         NEWCOMB             OH          90001137931
55B18853272B67   LUCILA            BELMONTES           CO          33089418532
55B1885A444B26   MIKE              PYLE                OH          90014148504
55B1986565758B   LUIS              AMAYA               NM          90014108656
55B1B239985928   CRUZ              BAEZ                KY          90009262399
55B21274361973   PATRICIA          GAYTAN              CA          90007982743
55B21311333696   WHITNEY           LYNCH               NC          90013433113
55B2134945B129   BELINDA           MORRIS              AR          23001473494
55B21A87372B38   ALNGELICA         BURCIAGA            CO          90012820873
55B23646772457   MUSTAFA           BAHTISHI            PA          90015186467
55B24513591895   NEWTON            ANGIE               OK          21004585135
55B24625461973   SANDRA DE JESUS   FREGOSO             CA          90014526254
55B24625633696   CHRISTIAN         GUTIERREZ           NC          90014426256
55B2546254B936   MONICA            GONZALEZ            TX          90009454625
55B25656A72B36   GLADYS            SARINANA            CO          33043046560
55B25A3655B387   JAYME             MCFADDEN            OR          90013790365
55B262A1A85928   DYHENVY           MARTIN              KY          90011132010
55B26649172B49   JASON             FUHS                CO          33053746491
55B2678254B588   SUKHEYDEE         MEDINA              OK          90013507825
55B2691195B387   CHRISTOPHER       PONTE               OR          90014689119
55B26A53433696   ALICIA            ENOCH               NC          12087210534
55B26AA3861975   ROMAN             COE                 CA          46037320038
55B2711242B27B   ALMA              YANIRA              DC          90012111124
55B271A6961975   JAVIER            ESPINOZA            CA          90010111069
55B27548931428   KRISTIE           TAYLOR              MO          90004625489
55B27A7854B28B   JOE               JOHNSON             NE          90012880785
55B2814332B272   REGINALD          MCCORD              DC          90000841433
55B28294791587   TIANA             ACOSTA              TX          90012262947
55B28658733696   THOMAS            SCOTTON             NC          90012216587
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55B286A8233699   PLEASANT    HUNTER                    NC          90009666082
55B28749972B36   MARCOS      CANCHE                    CO          90010677499
55B287A2457124   JORGE       CARRANZA                  VA          90008767024
55B2881874B588   DANIELLE    WHITE                     OK          90012918187
55B29482161973   CHRISTINA   GONZALEZ                  CA          46009634821
55B2959135715B   MARIATU     KAMARA                    VA          90010335913
55B298A1772B85   OSCAR       PADILLA                   CO          90010158017
55B2B216151348   MOHAMMAD    RUSTAMI                   OH          90006432161
55B2B26685B283   TAMIKA      CUMMINGS                  KY          90004992668
55B2B27565B399   OSCAR       JUAN CARLOS               OR          90000242756
55B2B45924B28B   VANISHA     TUCKER                    NE          90002284592
55B2B796391534   MANUEL      PINA                      TX          75089567963
55B2BA9133B352   LUIS        NAVARRO                   CO          90009860913
55B3129535B387   KAREN       HARRIS                    OR          44507142953
55B31384961971   JOSE        LEDEZMA                   CA          90012903849
55B31749761975   PAULA       WHEELER                   CA          46075057497
55B31788457157   DARYL       SAUNDERS                  VA          81066937884
55B3243784B588   CLAUDIA     SOTO                      OK          90005614378
55B33169491587   JOSE        GARCIA                    TX          90001381694
55B33446472B43   MARISELA    MARTINEZ                  CO          90012984464
55B33727872B85   JOAQUIN     FRANCO                    CO          90012337278
55B33A6A32B27B   DEMETRIA    MURPHY                    DC          90011190603
55B34479761956   LOUIE       CASTILLO                  CA          90010684797
55B34543198B2B   PETER       AWUTE                     NC          11078145431
55B3476A85B129   GEROY       FINKS                     AR          23016397608
55B3513597B46B   REBECCA     TODD                      NC          11085091359
55B35426872B38   PAUL        CHA                       CO          90008444268
55B3589235B223   ERIC        OLSON                     KY          90012308923
55B35952191356   SONNY       BANKS                     KS          90013089521
55B3629616194B   LORENA      SARABIA                   CA          90001882961
55B36A46172B49   MICHAEL     CARRERAS                  CO          90011030461
55B3745725758B   ELISABETH   SALAZAR                   NM          90011514572
55B3813444B29B   ALAINA      MERRILL                   NE          90006891344
55B38237472B67   RUDI        LOPEZ                     CO          33015862374
55B38676233657   AMANDA      SALINAS                   NC          12020386762
55B3871747B46B   DESHONE     FORNEY                    NC          90005017174
55B39352272B27   RAUL        POZMENO                   CO          90004953522
55B3954655758B   JAVIER      AGUIRRE                   NM          90004255465
55B39566251348   MARCOS      DIAZMORALES               OH          90013935662
55B395A6261973   KARLA       GOMEZ                     CA          90009095062
55B39785A84357   TAIWAN      GIBBS                     SC          90010967850
55B39789872B38   DEMBA       SACKO                     CO          33015297898
55B3987A291391   HERNANDO    GUTIERRES                 KS          29035918702
55B39923985928   TASHA       MONTALVO                  KY          90011939239
55B3B1A6627B98   SHEKIA      WILSON                    KY          90000951066
55B3B62654B28B   SAMIRAH     OSMAN                     NE          26006366265
55B3B7A565B283   MASON       LOPEZ                     KY          90008307056
55B4122A585928   JOSEPH      HALSTEAD                  KY          90015492205
55B4139475B543   SILVIA      GONZALES                  NM          90005773947
55B416A4931428   JUSTIN      WALLER                    MO          90004626049
55B4238344B588   ROCIO       NEGRETE                   OK          90014153834
55B42521861971   HAWLEY      DAVID                     CA          90009135218
55B42839861973   JOCELYN     SEVIER                    CA          90002358398
55B43471785928   JESSE       HISEL                     KY          90010714717
55B4381395B387   ASCENCIO    FLIAS                     OR          90009888139
55B43A84661975   ESTHER      GALVEZ                    CA          90011540846
55B44186861971   GHASSAN     NOAMAN                    CA          46049341868
55B4429265758B   CONSTANCE   YOUNG                     NM          90012642926
55B44658361975   ONEIDA      ARIAS                     CA          90010476583
55B4489A272B38   FLOR        OCHOA                     CO          90013968902
55B44A84591356   VICKI       GRIFFIN                   KS          29005620845
55B455A2561973   BRENDA      CASTELLANOS               CA          90005105025
55B4614795715B   KAREN       BAQUEDANO                 VA          90006541479
55B4614A82B27B   BRADIE      LOTT                      DC          90012081408
55B46215333699   SEAN        HIGHET                    NC          90005032153
55B47851A43569   ALICA       PERO                      UT          31031598510
55B4792894B28B   BRIAN       ANDERSON                  NE          90002339289
55B48592972B38   RAYCHELLE   MARTINEZ                  CO          90012875929
55B4878A872B49   JUAN        ALCALA JR                 CO          90013117808
55B48988A77533   DONALD      HENSON                    NV          43072009880
55B48A57172B27   FREDY       AMBARIO                   CO          90008010571
55B49293591895   AMY         PERKINS                   OK          90008812935
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55B4941335758B   REMY        SIGALA                    NM          90015174133
55B49579291587   HUMBERTO    CASAS                     TX          75095315792
55B4B616961975   ADAM        NICHOLSON                 CA          90014486169
55B4B86585B399   KHRISTAYL   NELSON                    OR          90014458658
55B4BA15791356   KAVIN       TAYLOR                    KS          29045810157
55B4BA73651361   CHRIS       WHITLEY                   OH          66010720736
55B51361193782   LISA        PARKS                     OH          64591113611
55B5137364B29B   GARY        WILEY                     NE          90004033736
55B52A75191587   LESLIE      HERNANDEZ                 TX          90009310751
55B532A5A91895   FRANKO      RAVILA                    OK          90010282050
55B535AA151348   STARR       PINKELTON                 OH          90014565001
55B53978972B88   MARICRUZ    AGUILERA                  CO          90003219789
55B54124772B36   FRANKIE     CASTILLO                  CO          33015221247
55B54921391587   MARIA       VASQUEZ                   TX          75025459213
55B54A9235715B   DANIEL      THOMAS                    VA          90013030923
55B55262A72B43   MILLER      CURT                      CO          90001182620
55B55712161975   MARTHA      GOMEZ                     CA          46037327121
55B5571697B46B   AURELIO     FLORES SALMERON           NC          90015227169
55B56183691895   ARIEL       REYNOLDS                  OK          90010381836
55B56858A7B46B   HUGO        GONZALES                  NC          90012358580
55B5686585B399   JACOWSKI    BISSERETH                 OR          90003738658
55B56889172B38   SHANA       BOYD                      CO          90011478891
55B5691854B29B   ASHLEY      ADKINS                    IA          90007779185
55B56992961971   JOSHUA      TURNER                    CA          90001029929
55B56A9185B283   LAQUANDA    BRUTON                    KY          90009080918
55B56A99172B43   BERTHA      DELGADO                   CO          90010690991
55B58353284357   SCOTT       MARCELE                   SC          90013893532
55B58499961973   SONYA       GODINEZ                   CA          46058474999
55B5874212B851   RUBEN       GOMEZ                     ID          90008867421
55B589A8872B38   MATILDA     MARQUEZ                   CO          90015089088
55B5954915B387   MISAEL      PACHECO                   OR          44540635491
55B5966995758B   WENDY       CHAVEZ                    NM          90004356699
55B59737684357   VICTORY     MALLORY                   SC          90008817376
55B5B87855758B   CARMEN      GOMEZ                     NM          35530368785
55B61161261971   DYLAN       SULLIVAN                  CA          90014061612
55B61547672B36   EDWARD      CURTRIGHT                 CO          90008675476
55B6173935B531   LARRY       PAIZ                      NM          35062237393
55B6174834B588   PATRICIA    SANDRS                    OK          90007177483
55B61751861973   DANIEL      GARCIA                    CA          90012307518
55B6222645758B   DIANA       BUENO                     NM          90002012264
55B6238A34B28B   JENIFER     GONZALEZ                  NE          90001903803
55B6259212B851   MEEK        SHAWN                     ID          90009175921
55B62752572B67   BESSIE      FLETCHER                  CO          90000977525
55B62A18291356   SUZANNE     COOPER                    KS          29026650182
55B6352222B27B   ELISE       JOHNSON                   DC          90005615222
55B63836A91895   ERIKA       GRISEYDA                  OK          90009048360
55B63983433696   CATHRICE    WHITSETT                  NC          90014289834
55B64556491587   DELIA       MARIN                     TX          75044165564
55B649A8A57157   TIONNA      QUINN                     VA          81096119080
55B65195A51348   MARK        GRIFFIN                   OH          90014811950
55B65422191356   DARVIN      THOMAS                    KS          90002794221
55B66437477581   MARTHA      RICO                      NV          43001744374
55B671A514B588   AMANDA      THOMPSON                  OK          21509131051
55B6726415B399   BRANDON     EDDY                      OR          90011892641
55B67371151348   KRISTINA    DARDING                   OH          66096043711
55B6782AA43569   TERESA      NIELSEN                   UT          90000768200
55B68419472B49   ZACH        EVANS                     CO          33012894194
55B68424491895   BRITTINI    BOKOLAS                   OK          90000274244
55B68544543569   CAMERON     BRANTLEY                  UT          90006835445
55B6877735B531   CECILA      RIVERA                    NM          90001097773
55B68847572B85   URB         GLAPION                   CO          33012348475
55B6924395B399   MIXAEL      VELIZ                     OR          90012522439
55B6935185B531   RAUL        RODRIGUEZ                 NM          35064093518
55B6995485B387   WILLIAM     GONZALEZ-PEREZ            OR          90011399548
55B6B3A6572B27   JOSHUA      STOTLER                   CO          33040963065
55B6B4A135B29B   KATHY       BALL                      KY          90005404013
55B6B534372B85   CRISTINA    PARRA                     CO          33092615343
55B6B993461971   WYLIE       WILLIAMSON                CA          46048599934
55B71469972B49   JOHN        SWERCINSKY                CO          33069324699
55B71763891587   ENRIQUE     CASILLAS                  TX          90013537638
55B71796251348   LISBETH     ZELAYA                    OH          66078667962
55B71A85233696   SONDRA      TOWNSEND                  NC          12011010852
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55B72456472B49   HEM          DAHAL                    CO          90007904564
55B72819291895   PASCUAL      VILLA                    OK          90014598192
55B73491172B43   LUKE         VILLALOBOS               CO          90011144911
55B73638484341   EMILY        ROBERTS                  SC          90013916384
55B73842A91895   AMANDA       ROBINSON                 OK          90013528420
55B747A317B46B   DEQUARIUS    CHASTAIN                 NC          90013407031
55B74AA712B27B   ROBERT       GROSS                    DC          90015080071
55B7529195758B   LIZBETH      PONCE                    NM          90014002919
55B75464291895   DYLAN        LACRONE                  OK          90012824642
55B7584145B399   DANIEL       CAREY-WISE               OR          90015058414
55B7611A74B588   PARIS        RICHARDSON               OK          90013651107
55B76399A61973   MARIBEL      SEGURA                   CA          90013463990
55B76453361973   JANET        RIOS                     CA          90014304533
55B7664662B27B   ANTONIO      HENDLEY                  DC          90014846466
55B76799A5B531   CHARLES      COOKE                    NM          35077717990
55B76A9685715B   LEE          PETTIGREW                VA          90009800968
55B7722462B869   MANUEL       BERMUDEZ                 ID          90009952246
55B77429261975   ROSIO        PADILLA                  CA          90011204292
55B77642593782   ERICA        PETERSON                 OH          90010806425
55B782A122B27B   JOHN         ALLEN                    DC          81065692012
55B78453491895   ASHLEY       PEARSE                   OK          90012944534
55B7863678B191   AMY          SIMPSON                  UT          90010736367
55B7884293B343   MANUEL       CALDERON                 CO          33090128429
55B78A5985B399   JARROD       OSTROM                   OR          44572200598
55B7915952B851   DAN          JOHNSON                  ID          42010431595
55B79336233696   RHONDA       BYRD                     NC          90001943362
55B7944755B399   RAUL         PALACIOS                 OR          90006044475
55B7945417B46B   TERRY        MORRIS                   NC          90009894541
55B79519633645   ASHLEY       CLARK                    NC          90010355196
55B79645661973   TAMMI        HAMPTON                  CA          46009666456
55B7995725B531   PATRICK      SANTISTEVAN              NM          90002499572
55B79996521B42   BRIAN        SINGH                    TX          90012449965
55B7B84645B543   VICKIE       HERNANDEZ                NM          35057928464
55B8135A861971   NICOLE       ARNOLD                   CA          46091643508
55B81561885928   NATANYA      GILL                     KY          67081945618
55B8171875B387   JOYCE        LANGSTEFF                OR          90015157187
55B8181A231428   THOMAS       MCCORMACK                MO          90006748102
55B81923872B38   AMAPARO      GARCIA                   CO          90011099238
55B8277512B27B   GULGHUTAI    KAKAR                    VA          90003067751
55B82A69461975   CHRISTIAN    REYNOSO                  CA          90013460694
55B83A19672B85   RUSSELL      SHEPHERD                 CO          90003880196
55B83A37A4B28B   SAMUEL       DONAHOO                  NE          90009670370
55B8429A472B27   MICHAEL      LAFRANCE                 CO          90004092904
55B8453152B851   MONICA       MORENO                   ID          90011665315
55B84AA545B271   KYRI         DEMBY                    KY          90004310054
55B85162761975   MANUEL       GODINEZ                  CA          90010471627
55B8539A24B53B   TAMMY        EDWARDS                  OK          21564053902
55B8565985B387   ZACHARY      HALL                     OR          90014276598
55B8576122B27B   JOHN         SIMTH                    VA          90013147612
55B85A4A52B851   MARK         HENRY                    ID          42066910405
55B85AA6161973   PATRICIA     CARRINGTON               CA          90001500061
55B865AA872B85   RAMONA       MARTINEZ                 CO          33077315008
55B8666365B283   ERIC         HANNON                   KY          90007406636
55B87393151348   ANDREW       SCOTT                    OH          90014503931
55B87446684357   TIFFANY      MOULTRIE                 SC          90007844466
55B87598861973   CALDERON     BLANCA                   CA          90006315988
55B8763747B46B   NATHANIEL    NEWBERRY                 NC          90012916374
55B8773252B259   VEETA        CLAYTON                  DC          90001547325
55B87A47391356   ALLISON      MEREDITH                 KS          90012590473
55B8816464B588   JULIE        PARKER                   OK          21527831646
55B8821525B399   LUKE         STICKLER                 OR          90008652152
55B88471A91895   ROMAN        CONDE                    OK          90015084710
55B886A2372B38   MICHAEL      MAURICE HUGHES           CO          90013936023
55B89148472B49   VINCENT      RIVERA                   CO          33051081484
55B89314961971   ANDY         SWEET                    CA          90009083149
55B89487698B2B   MARTIEKA     DAYE                     NC          90005614876
55B8B13294B521   JASSON       KILBURN                  OK          90014311329
55B8B338985928   ROBIN        DAVIS                    KY          90011713389
55B8BA68891356   JERQUAN      BOTLEY                   MO          29094040688
55B91469791587   CARLOS       CASILLAS                 TX          75036004697
55B91632184357   ANITA        JONES                    SC          14571996321
55B9216885715B   JOSE ABELI   LOPEZ                    VA          90005561688
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55B9224395B399   MIXAEL       VELIZ                    OR          90012522439
55B9257564B28B   ERIKA        MERIDA                   NE          90002355756
55B93276151388   KRISTIAN     PERRY                    OH          66097832761
55B93424891587   TY           WALKER                   TX          90000304248
55B9352465598B   ALBERTO      SANDOVAL                 CA          90011335246
55B9388255715B   MILKI        DIAZ FUENTES             VA          90015158825
55B93884A72B36   NETESHA      HYSAW                    CO          90012918840
55B9396A15B283   JACKIE       CARRIER                  KY          68023589601
55B9418975B387   EGBEVADO     ANANOUKO                 OR          90014091897
55B94424991932   ALBERTO      SANCHEZ                  NC          90002974249
55B95155155951   ISABEL       HERNANDEZ                CA          49084171551
55B9534265715B   SANDRA       PERALTA                  VA          90010853426
55B9568715B399   KELLY        TALLENT                  OR          44560866871
55B96265372B88   BERLE        TAYLOR                   CO          33017452653
55B967A8291895   CHELSEA      JACKSON                  OK          90013767082
55B9689547B434   ADAM         CHRISTENBURY             NC          11063978954
55B96A62933699   MARCELLA     ADAMS                    NC          12052580629
55B975A2972B67   JOSEFINA     MARTINEZ                 CO          90006525029
55B9762614B28B   CODY         THOMAS                   NE          26026696261
55B985AA372B38   MAYRA        ALVAREZ                  CO          33054245003
55B98712357157   WILBER       AYALA                    VA          90013937123
55B98791661973   RAMIREZ      FRANK                    CA          46059257916
55B9883395B531   RAFAEL       LOPE                     NM          90003178339
55B9884112B27B   EDWIN        GRAY                     DC          81061288411
55B9888214B28B   JONATHAN     WALDROP                  NE          26044898821
55B98887233696   MARIAH       STINSON                  NC          12016338872
55B9889945715B   HILDA        ORE                      VA          90002398994
55B988A2933642   MARCELINO    RIVERA                   NC          90006138029
55B9937235B399   CHRISTINE    GERHARD                  OR          90010653723
55B997A397B46B   GLENNIS      HARRIAGE                 NC          90010797039
55B99869172B27   LEXY         CANADAY                  CO          90008318691
55B99872133696   SHAREE       MOSLEY                   NC          90004238721
55B9B6A7161971   JOHANNA      FUENTES                  CA          90008066071
55BB14A392B851   WAYNE        ROLLER                   ID          90001894039
55BB185AA85928   ABDRIETTA    GASSETT                  KY          67041488500
55BB1A1323B381   ABRAMAJTIS   GEORGE                   CO          33005990132
55BB214A67B46B   EFRAIN       GUZMAN                   NC          90003851406
55BB222762B27B   ALISHA       CARRINGTON               DC          90014092276
55BB24A3572B27   ANGELICA     BENTON                   CO          90013724035
55BB2566572B38   HENRY        GURULE                   CO          33074325665
55BB279455B387   MAXWELL      AKUMA                    OR          90014397945
55BB2979255951   YOLANDA      EASTLAND                 CA          90010409792
55BB2A33533696   TRAVIS       ALSTON                   NC          90014830335
55BB358A95B387   JU           WINE                     OR          90012905809
55BB399A172B49   MICHAEL      L SUSMAN                 CO          33091189901
55BB4288872B49   TAYLOR       RAY                      CO          90012912888
55BB4629A72B36   SYMMONE      LAPP                     CO          90013846290
55BB4631891895   BRIDGETT     WRIGHT                   OK          21018056318
55BB4795372B43   MARK         STONE                    CO          90010137953
55BB5471657157   RUBEN        ALVAREZ VILLAGRANA       VA          90010614716
55BB5539381265   AMANDA       PAOLELLO                 OH          90004705393
55BB593414B588   KIRK         STALEY                   OK          21503319341
55BB6743A5758B   MICHAEL      JORDAN                   NM          90011937430
55BB712674B588   MARION       COOPER                   OK          90015131267
55BB7273591587   GLORIA       MARQUEZ                  TX          75020822735
55BB733365B387   LYNN         CLARK                    OR          90013933336
55BB7563A51348   HEATHER      SIZEMORE                 OH          90013935630
55BB787184B29B   MARTIZA      MORA                     NE          90006888718
55BB8428131429   ANTONIO      DUNN                     MO          90014054281
55BB9162855949   LORENA       VILLA                    CA          90013411628
55BB9399A5715B   CLEMENTINO   BOLVITO                  DC          90010333990
55BB9652461975   RICARDO      GONZALEZ                 NM          90011626524
55BBBA65472B85   JULIAN       RAYMOND MAESTAS          CO          90003310654
56111648A5B236   DANNY        ADAMS                    KY          68077786480
561117A575715B   CESAR        REYES                    VA          90013267057
56112233472B32   MARIA        DEAN                     CO          90010452334
56112793A61965   MARGARET     SANCHEZ                  CA          46035087930
561127A6A4B52B   KARY         CROOKS                   OK          90013337060
5611293725B236   ZAIRE        WOODS                    KY          90007959372
561135AA533696   ANTONETTE    WOOD                     NC          12054195005
5611377325715B   DONNA        GOGISHVILI               VA          90013557732
5611383414B521   DELIESHA     DIRDEN                   OK          21500038341
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5611395415B283   NORMAN      BROWN                     KY          68000279541
56113A39572B43   MARCELINA   BUENO                     CO          90011080395
56113A56751323   JENNIFER    HECKLER                   KY          66021380567
5611435117B491   JUNAITA     SPENCER                   NC          11096113511
56114A53955939   ANDRE L     ROBERTS                   CA          90010350539
56115A6254B588   JOHN        CALDWELL                  OK          90007910625
56115A94542363   LORI        SEIBERT                   GA          90012550945
561162A1271968   JARESON     AYALA                     CO          90008312012
561166A2472B36   ANGELA      NELSON                    CO          33055346024
56116938172B27   JESUS       LOPEZ                     CO          33084519381
56116A38972442   ELI         GRAVES                    PA          90009340389
5611711A45715B   JORDAN      ESPINOSA                  VA          90010581104
5611732452B27B   MONICA      TAYLOR                    DC          90015063245
5611746815B236   SERINA      KIMBLE                    KY          68092624681
56117857A7B491   JOSE        REYES                     NC          11067178570
5611871314B588   NEYRA       ALVARADO                  OK          90011017131
56118993572B36   MARIA       MUNOZ                     CO          33023209935
56118A8522B228   CHIDI       NWOSU                     DC          81012060852
5611929A272442   MICHAEL     STONE                     PA          90006352902
5611976225B399   MATT        MARSHALL                  OR          90007197622
561199A8472B27   RICHARD     SPEAECT                   CO          90013109084
5611B668985928   JOHNNY      BULLARD                   KY          67082696689
5612123912B27B   KHAYLA      LINDER                    DC          90014502391
56121A58961965   PEDRO       CADENA                    CA          90014950589
5612271665B399   LUDIVINA    FRAIRE                    OR          90007937166
56122A68172B67   MAYRA       MARTINEZ-HERNANDEZ        CO          33010380681
5612313A155939   CLISSIE     CROWNOVER                 CA          90003651301
561231A835715B   SANTIAGO    GATLUMAN                  VA          90004381083
561234A3957157   KRISTAL     RODRIGUEZ                 VA          90014204039
56124AAA661971   KEITH       CRAIG                     CA          46057370006
5612516A891587   SHARON      PIMENTEL                  TX          75004311608
56125238272B36   ISSIAC      TAFOYA                    CO          90007962382
56125333772B43   JONATHAN    GARCIA                    CO          90014153337
56125643272B67   TERESA      FULLTON                   CO          33077966432
561258A6824B7B   JULIO       ALVAREZ                   VA          90009188068
561259A3672B27   GREGORIO    MARTINEZ                  CO          33073929036
5612613885B531   BRITTANY    KRAHN                     NM          90012431388
56126A65131429   LEJON       GRAY                      MO          27575410651
56127576972B88   VICTOR      SANCHEZ                   CO          90013295769
5612781867B491   JOSE        VASQUEZ                   NC          90011808186
561278A7672B36   LY          LAM                       CO          90012458076
56128648472B43   GRISELDA    AYALA                     CO          33066466484
5612878115B399   RAY         MASTERSON                 OR          44500187811
5612892675B387   JOSHUA      GANN                      OR          90002529267
5612897485B387   JOSHUA      GANN                      OR          90014359748
56128A63672B27   BLANCA      LUNA                      CO          90006960636
56128AA3572B36   CECILIA     ALVAREZ                   CO          33014790035
5612939625B531   SELENA      BAROS                     NM          90011413962
5612BA99A61971   KAREN       SHRINER                   CA          90007520990
5612BAA9391347   LATOSCHIA   TOWNSEND                  KS          29026760093
5613182845B531   ROSA        TORRES                    NM          90012758284
5613257424B588   SHELLY      SAMPLETON                 OK          21570295742
56133766172B43   LANDRE      EDWARDS                   CO          33097377661
5613389545B236   ANN         CORTS                     KY          90010288954
5613438A772B38   ANA         CARBAJAL-RAYGOZA          CO          33081043807
56134A9935B399   ANGELA      CRAWFORD                  OR          90004050993
56135277572B88   STEFANIE    CAIRNS                    CO          90005682775
5613567A961965   FARAH       ABDULMASEEH               CA          46095486709
561358AA785928   ANDREW      BECRAFT                   KY          90014568007
56136543472B49   JOHN        MAHU                      CO          33038425434
56136615A2B27B   TYDAYJHA    TALLHM                    DC          90012846150
561379A632B27B   ALBA        MENDOZA SANTOS            DC          90014449063
5613816114B588   MARIA       PALOMARES                 OK          90013851611
56138288A51354   ROBERT      MOORE                     OH          90008832880
5613828A885928   MARK        SMITH                     KY          67009842808
5613865772B27B   DANNY       JACKSON                   DC          90004306577
5613894525B387   JOEL        GUEMBES                   OR          90009329452
56138996672B49   SAY         HTOO                      CO          90013029966
5613923847B46B   LASHEENA    STITT                     NC          90011102384
561396A745B543   ANNETTE     GULLEY                    NM          90003266074
5613B646191587   YAHAIRA     CAMACHO                   TX          90014726461
5613B88754B29B   LINDA       VILLAGOMEZ                NE          27013868875
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5614163995758B   ADOLFO      FAVELA                    NM          35583866399
5614178415B393   JUAN        MAYORAL                   OR          44575457841
56141823A72442   ANTHONY     HUNTER                    PA          90014718230
56141AA2372B43   JULIET      CURRINGTON                CO          90012490023
561424A7A55939   ERIC        GARCIA                    CA          90010434070
5614265336194B   ILEANA      RUIZ                      CA          90005256533
56142895624B7B   ROBERT      CLARK                     DC          90008168956
56143412A61965   BEVERLY     ROBERTS                   CA          90005064120
5614365375758B   ADAM        LOVATO                    NM          90013986537
5614377325715B   DONNA       GOGISHVILI                VA          90013557732
56143938172B27   KATIE       KINNEY                    CO          33000309381
56143A79572B38   PATRICK     FOX                       CO          90012270795
5614454835B236   DAVID       HUGHES                    KY          90011895483
5614469367B46B   LAURA       GARCIA                    NC          90006516936
5614471865715B   JUAN        ZELEDON                   VA          90000637186
5614519AA33645   ASHLIE      SHEFF                     NC          90005481900
5614524195B283   LINDA       FERGUSON                  KY          68007252419
56145558772B49   CHRIS       CRUZ                      CO          33048245587
56145A26572B49   BETTIE      FURRU                     CO          90014460265
56145A68855939   CHRISTINA   HOWELLS                   CA          90014560688
5614612612B27B   LORENZO     JOHNSON                   DC          90010251261
5614616A35715B   LUCIA       CUEVAS                    VA          90009531603
5614652A291587   ZULEMA      OLIVAS                    TX          90012275202
5614711395715B   CLAUDIA     PORTER                    VA          81094351139
5614735A55758B   MARIANA     GUILLEN                   NM          90008693505
561481A557B46B   CAMILO      BENITEZ                   NC          90014991055
5614844945715B   SARA        MORALES                   VA          90012714494
561485A1385928   DARRELL     HOOD                      KY          90014005013
56149883572B36   CRYSTAL     CHAVEZ                    CO          90014478835
5614B129A57541   MICHAEL     MILLS                     NM          90012391290
5614B441733646   IRIS        KNERR                     NC          12012724417
5614B747672B67   DAVID       MARTINEZ                  CO          33047037476
5615154AA72B49   FISHER      CECILIA                   CO          90004695400
5615181855B531   SONIA       LOPEZ-PEREZ               NM          35093268185
56151835A72B38   KIMBERLY    MORRINSON                 CO          90014598350
56151A2257B46B   DIEGO       MENDEZ                    NC          90015190225
56152A12455939   MARI        MARTINEZ                  CA          90013740124
56153A6472B567   TERRY       BURGETT                   AL          90013880647
5615497455758B   HARLEY      JASSO                     NM          35535219745
5615521A73B332   NICHOLAS    SMITH                     CO          90012392107
56155383272B43   GUADALUPE   REYES MEZA                CO          33041743832
5615545314B588   CECILIA     MORALES                   OK          90012964531
5615568642B231   LESLEY      WILKERSON                 DC          90005506864
5615574A691895   MICHAEL     GRABEAL                   OK          90012267406
5615598665758B   ENRIQUE     MARQUEZ                   NM          90013169866
5615693775B543   SAL         CISNEROS                  NM          90001389377
56156A7595B387   HEATHER     PEARSON                   OR          44539300759
56157142A21664   LINDA       WILLIAMS                  OH          90011591420
5615754615715B   SERGIO      POLANCO                   VA          90011755461
56157664872B38   BRENT       MINGS                     CO          33061026648
561578A794B588   COREY       HOWARD                    OK          90013228079
56157A39591587   YENIA       CONTRERAS                 TX          90010330395
5615869175B236   CYNTHIA     JACKSON                   KY          90003886917
5615B291951348   KATHY       HARRIS                    OH          90008642919
5615B41A285928   GERALD      CLAY                      KY          90001054102
5615BA1455B271   BRIAN       MOBLEY                    KY          90004330145
5616139A231429   ASHANTI     BRYANT                    MO          27517323902
561615A815B387   SHAWNA      PAULSON                   OR          90014855081
561616A2255997   AARON       OREA                      CA          90012216022
56161A13A72442   EDNA        BUSH                      PA          90013930130
56161A86272B27   JACKIE      MEDINA                    CO          33057960862
56163471972B88   BETHANY     CONNER                    CO          33073154719
56164169772B88   BRYAN       WEAVER                    CO          90003201697
5616451A45B387   CRYSTAL     WILLIAMS                  OR          90011005104
561657A534B28B   TYLER       TRUDELL                   NE          90007197053
56165A8365B351   DANIEL      SALTMARSH                 OR          90009560836
5616651315B387   KARIN       WILLIAMS                  OR          90010645131
5616673845715B   MEGEL       PENELOPE                  VA          90013047384
5616678845B236   DZENET      KERELHA                   KY          90011237884
56167576472B49   KIMBERLY    VAZQUEZ                   CO          90012645764
5616872397B341   THELMA      VALLESPIN                 VA          81076747239
5616874495B387   SUZANNA     MURRAY                    OR          90013467449
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5616886464B588   LUIS          ARAIZA                  OK          90013448646
5616914A457157   ANA RUTH      DEGANDEZ                VA          90005011404
5616947635B236   MARCO         CHAVEZ                  KY          90009534763
5616B6A855B236   HEATHER       POYNTZ                  KY          90011216085
5616B93375B399   TRYSTEN       REIGARD                 OR          90007029337
561711A1761971   CHUYITA       BLACK                   CA          90010841017
5617124145715B   MONIS         HOMAYOON                VA          81046462414
5617182865758B   SOCORO        VILLEGAS                NM          90013188286
56171851198B39   ALEXANDER     KENDU                   NC          90008088511
56171A99772B43   WENDY         REYES                   CO          33040210997
56172391772B38   FERD          CHAVEZ                  CO          90008013917
5617278335B399   SABRINA       HAIGWOOD                OR          44585087833
5617283714B588   ERICKA        ARNOLD                  OK          90008628371
56172A98871968   ROCIO         DE RUELAS               CO          90012240988
5617326122162B   CHRISTINE     CHRISTOPHER             OH          90014372612
5617399115B531   LUZ           HERNANDEZ               NM          35058089911
5617417545715B   DAVID         VASQUEZ                 VA          90002321754
5617447765B399   CAMI          KNOWLES                 OR          90014874776
56174953776B31   JAMES         FISHER                  CA          90012699537
5617544665715B   MARIO         CANALES                 VA          90014154466
5617562A555997   JOSE          VAZQEZ                  CA          90013366205
56175768972B49   JUSTIN        WILLIAMS                CO          90012387689
56175893172B36   ALFREDO       MURILLO-RODRIGUEZ       CO          33062438931
561762A9291895   MICHEAL       CARPENTER               OK          90009842092
56177153172B36   CARRIE        JOE                     CO          33032471531
5617716A67B46B   FAY           SHOUP                   NC          90003911606
5617736245758B   PAUL          PADILLA                 NM          35551543624
5617898A972B43   CHRISTIAN     LUJAN                   CO          90008729809
5617B975555939   VANESSA       MORALES                 CA          90008189755
56181226772B67   JEFFERY       WOELFLE                 WY          33015712267
5618127335B387   KORAH         SMITH                   OR          90014082733
56182593A55997   MARIA         GALLARDO                CA          90011375930
56182719972B36   JON           ROYBAL                  CO          33078287199
5618339A472B27   CHRIS         SMITH                   CO          90012483904
5618412462B27B   PRECIOUS      FORD                    DC          90012841246
5618422A351586   JUAN          GARCIA                  IA          90014382203
56184284972B38   MANUEL        CORREA MACIAS           CO          33081052849
56184477A5B236   DAVID         LOCKETT                 KY          90014554770
5618453985B531   ASHLEY        WEBER                   NM          90012935398
56184633472B49   JULIO         PINEDE                  CO          33064256334
56185518872B36   CECILIA       GOLDSCHMIDT             CO          90011615188
56185A3785758B   JAMIE         LEE                     NM          90011140378
5618644115B399   COLIN         OHNEMUS                 OR          44529714411
56186759672B43   KENDRA        SEES                    CO          90010457596
5618683354B588   QUIQUIA       ELLIS                   OK          90011058335
5618699327B46B   KIMBERLY      EFIRD                   NC          90014689932
561873A7672B88   PAULA         CASIAS                  CO          90005683076
56187A38884357   MARIA         GALLOW                  SC          90003640388
5618818167B46B   ROGER         BROWN                   NC          90012881816
5618962245758B   JOSEPH        SANDOVAL                NM          90011896224
5618BA44172B49   RUTH          SONS                    CO          33083740441
5618BA6A172B67   HERLINDA      RODRIGUEZ               CO          90011140601
561911A9785928   ADRIANA       ALVAREZ                 KY          67013051097
56191AA445758B   SAHRAH        BLISS                   NM          90002250044
5619263AA91552   IRA           SMITH                   TX          90009956300
5619266A45758B   MICHAEL       BANEGAS                 NM          90014416604
56192A64172B67   SUSAN         KLINKE                  CO          90011140641
5619331295B236   DOMINIQUE     HOWARD                  KY          68006053129
56193623A2B27B   THELMA        SILVERS                 DC          90012846230
56193A89851348   MIGUEL        HERNANDEZ               OH          90014210898
5619414A25B531   ASHLEY        QUINTANA                NM          90011091402
5619471724B588   CHRISTOPHER   MANCHESTER              OK          90014817172
5619479A172B27   DOLLY         COVARRUBIAS SANCHEZ     CO          90012667901
56194A57A72442   DEJA          CARTLIDGE               PA          90011710570
5619572942B27B   MAHBOOB       BHATTI                  VA          90009457294
5619599657B491   NAKITA        LOVE                    NC          11009999965
56196418572B27   KARISSA       SUDDUTH                 CO          90007584185
5619656A572442   MARY          HENSEL                  PA          90014745605
5619671215B387   JORDAN        HIKMAT                  OR          44506627121
56196A25372B36   JESSE         WALLACE                 CO          90012440253
5619789215715B   MARIA         VILLANUEVA              VA          81053728921
5619793512B272   LEE           BRIDGES                 DC          81079519351
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56198739A4B588   MELVA            GULD                 OK          90011017390
5619956A572B36   BRANDON          MARTINEZ             CO          90012415605
561995A5855997   ESTELA           DERAS                CA          90005205058
5619B333261965   ZAIRA            HERNANDEZ            CA          90010463332
5619B61812B27B   EDWINA           SINCLAIR             DC          90012846181
5619B965A5B399   JANAY            LANE                 OR          90012939650
5619BA36755997   LINDA            ANDERSON             CA          49093390367
5619BAA995B387   ALESHIA          OSTERKAMP            OR          44582630099
561B111325B283   JENNY            HOLLY                KY          68059351132
561B122194B588   ASHLY            DANKER               OK          90015132219
561B1A26A72B49   DIANE            MCELVEEN             CO          33094650260
561B2163355997   MARY             PEREZ                CA          90013061633
561B239415715B   MIGUEL           VASQUEZ              VA          90012583941
561B257657B491   SANTOS           AZMAR                NC          11037205765
561B3169A5B399   TRACY            ANDERSON             OR          90014571690
561B3928491587   RICARDO          REYES                TX          90012879284
561B3AA142B27B   CHRISTIAN        BARRERA              DC          90014030014
561B412A35B531   YURI             VALLES               NM          90014401203
561B42A7676B68   DAVID            MARTINEZ             CA          90002842076
561B444777B46B   HENRY            SMYTH                NC          11095484477
561B449464B588   CARVELL          WRENN                OK          21549974946
561B4794272B43   BECKY            MARTINEZ             CO          90013377942
561B49A3857157   JUANA            GONZALEZ             VA          90008789038
561B5142161965   JOSHUA BRANDON   OSNAYA IPARREA       CA          90014971421
561B5227661965   JUAN             MENDOZA              CA          46050942276
561B5243551348   CARLOS           HERNANDEZ            OH          90013922435
561B5418472B43   GUADALUPE        AQUINO               CO          33025004184
561B553AA85928   DATAJAHDRA       JOHNSON              KY          67032215300
561B5611972B36   JANALEE          SANTOYO              CO          90014016119
561B5673A72442   NICOLE           STOKES               PA          51021476730
561B5A5885715B   JERSON           GONZALEZ             VA          90013610588
561B6589A55997   ARMANDO          VILLAGOMEZ           CA          90013655890
561B6673A72442   NICOLE           STOKES               PA          51021476730
561B6762261971   CHERRIE          HARRIS               CA          46066217622
561B6831172B38   ABEL             MONTOYA              CO          90006948311
561B691452B27B   JAMELLE          HARRIS               DC          90012839145
561B693124B588   LAWANDA          BUFFALOHEAD          OK          90010199312
561B7646672B37   NUBIA            RODRIGUEZ            CO          90009516466
561B781867B46B   ALEJANDRA        HERNANDEZ            NC          11072678186
561B7A5675715B   MARVIN           PEREZ                VA          90014910567
561B859727B46B   RODRIGO          MORAN                NC          11043785972
561B85AA15B271   ASHLEY           COATIE               KY          90005385001
561B8711172442   BRUCE            KELLY                PA          90014707111
561B8938872B27   VIOLA            MARTINEZ             CO          90014109388
561B9279A7B356   STEPHANIE        HERRING              VA          90005412790
561B969114B28B   SAMANTHA         BURTON               NE          90002196911
561B9772172B88   FELICIA          MARTINEZ             CO          33088367721
561B987765B531   ANA              PEREZ                NM          90010918776
561BB15427B46B   VICTORIA         ROTH                 NC          11011221542
561BB45A457157   LIDIA            RODRIGUEZ            VA          81013404504
561BB77575715B   SANDRA           RAMIREZ HERRERA      VA          90012277757
561BB788772B67   JAMES            COBBS                CO          90001887887
56211349A4B29B   TARA             KUSEK                NE          90002713490
562117AA872B43   REBECCA          MEDINA               CO          33033267008
5621184975B236   TERRY            HENDERSON            KY          68062618497
56211898472B67   KYLE             CHAMBERS             CO          33093878984
56212421472B27   MARK             SCHULTZ              CO          90007584214
562125A2731429   BRANDON          CHRISTIAN            MO          27517345027
5621282865758B   SOCORO           VILLEGAS             NM          90013188286
562128A8291587   CINTHIA          ROSALES              TX          75050628082
56213366A5758B   ROSA             RASCON               NM          90012203660
56213681772B36   GUADALUPE        LOPEZ                CO          90011196817
56214549372B27   MARGO            LICATA               CO          90009725493
5621493155758B   ALEXANDER        CHAIDEZ              NM          90014599315
5621664534128B   LINDA            CAUGHERTY            PA          90003056453
56216675A5B236   CAROLE           MILES                KY          68084146750
56216936A5B399   TERESA J.        MARSHALL             OR          90009469360
5621693765758B   ASHLEY           COFFEY               NM          90013919376
56216A9A672B67   RONALD           MOLLICK              CO          90010600906
56217595172B67   JESUS            MOLINA               CO          33058275951
56217836A5B387   ALAN             JONES                OR          44574048360
56217A85A5758B   NOHEMI           MAGALLANES           NM          90014030850
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562182A6A55939   LILIA           GARCIA                 CA         90013222060
56218A65284357   HELEN           SAMUEL                 SC         90011810652
56218A72372B38   THOMAS          MULCAHY                CO         90004910723
56219387572B27   MATT            ASBERY                 CO         33052933875
5621947514B936   ERIC            CHARON                 TX         90013974751
5621959A45B531   JENNIFER        LUCERO                 NM         90014705904
5621B324261971   ASHLEY          THOMSEN                CA         90013033242
5621B99944B29B   JESSICA         GOMORA                 NE         27044149994
5622112925B399   TANYA           DUBOSE                 OR         90015161292
56221399872B49   NORA            SALINAS                CO         33036603998
562221A7584357   ROWENA          HILL                   SC         90011811075
56222789672B38   MERILYNN        WALDMAN                CO         90012917896
56222A2A27B46B   REGINALD        CALDWELL               NC         90002170202
56223459172B43   MARIA           CARREON                CO         33000834591
562239A7A61971   DIANE           BANFIELD               CA         90006209070
5622466A45758B   MICHAEL         BANEGAS                NM         90014416604
56224695972B67   PETRA           GONZALEZ               CO         90010596959
562248A8185928   CATHERINE       ANDERSON               KY         90014568081
56224A9827B348   JUAN            COLATO                 VA         90010400982
56225134A5715B   TONY            SAMPLER                VA         90008711340
5622559382B27B   TYTRICE         DIGGS                  DC         90014685938
56225752172B38   ROSA            CARDOZA                CO         33084657521
5622578887B491   DAJOUR          BURRIS                 NC         11084177888
56225A11591587   IVETTE          MONTANA                TX         75082250115
56225A51572B36   MARIA           OLIVERA                CO         90000120515
5622616245758B   JAYRINA         PENA                   NM         90013321624
5622721184B28B   SHALLA          SPANGLER               NE         90000242118
56227A33272442   DANDRA          CASSONS                PA         90014770332
56228183A7B491   CHRISTOPHER     MILLHONE               NC         90011531830
56228694576B41   RAFAEL          LOPEZ                  CA         90012546945
5622874AA61965   LAVONNE         HENDERSON              CA         90010217400
5622977A17B46B   LEONEL          ESPINAL                NC         90011477701
562299A6961965   DARIO           CASTANON               CA         90003949069
5622B17115715B   MERILDA         GARCIA                 VA         90014901711
5622B317533645   JAZMON          CARTER                 NC         90005513175
5622B34515B387   JOSEPH CLAUDE   HART                   OR         90011123451
5622B551772B27   SYNDEE          HUFNAGEL               CO         33007395517
5622BA66172B67   CHRISTAL        MCLEOD                 CO         90011140661
5623121139372B   MICHAEL         MOHAMMAD               OH         90014782113
5623169283B145   MARIA           GOMEZ LOPEZ            DC         90007696928
562334A9A72B49   ARMANDO         CAROLA                 CO         90013834090
5623434644B521   BRIDGET         JUDGE                  OK         90008533464
56234621A61965   LABONNIE        TAYLOR                 CA         46041646210
5623463245B531   RUBI            PEREZ                  NM         90012916324
562357AA672B67   JUAN            M HERNANDEZ            CO         90010597006
56235885472B36   ISAAC           RIVERA                 CO         90012998854
56235A65385928   SHANNON         SMITH                  KY         90009090653
5623648A157157   MICHAEL         BURGER                 DC         90011684801
5623675254B588   CANDY           GRIDER                 OK         90011017525
5623766242B27B   MARK            JOHNSON                DC         90012846624
56237A74A61965   BRIANNA         JOHNSON                CA         90013160740
5623814A272B36   MARIA           ESTEVEZ MILLAN         CO         33035511402
5623834694B588   SUSANO          CIFUENTES MAZARIEGOS   OK         90012373469
56238651A72B43   CARLA           VAZQUEZ                CO         90012546510
56238952872B38   BRAD            ALSTON                 CO         33076879528
56238A5A97B46B   GERALD          CHARLES                NC         90008370509
56239247272B36   VERONICA        VAQUERA                CO         33025272472
5623981A972B88   JOLEE           ADAMS                  CO         33084928109
5623995925B531   FRANCISCO       OCON-RODARTE           NM         90014659592
5623B372A4B28B   JAMIE           HANDY                  NE         26097183720
5623B37A44B588   BERTHA          PELAYO                 OK         90001523704
5623B399172B27   JEFFERY         JOHNSON JR             CO         33017723991
5623B58975B283   CHRISTOPHER     HILL                   KY         90009615897
5623B641A57157   LORRAINE        COLLINS                VA         81015836410
5623B98957B46B   TEE JAY         GRIER                  NC         90009669895
5624131517B46B   QUILLIE         SMITH                  NC         90013563151
562424AA461971   NOELLE          PRICHETT               CA         46006704004
56242824472B36   BRAD            BAUMBACH               CO         90010348244
56242A1A572B38   GLADYS          MORALES                CO         33037810105
5624312877B491   RAFEAL          DIAZ                   NC         90011831287
562436A6172B49   VICTOR          IBARRA RAMIREZ         CO         33050166061
56244179772B21   LARRY           PALMER                 CO         90009821797
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5624451555B283   TANISHA        TRICE                  KY          90005485155
56245141A5B399   SHELBY         HAMILTON               OR          90010831410
562451A8672B43   SOCORRO        VARGAS                 CO          90012081086
5624527155B236   DARRELL        BRATTON                KY          68048472715
56245729172B67   UBALDO         CALDERON               CO          90005037291
5624576347B491   APRIL          HARRIS                 NC          90001177634
56245A76A84357   JUAN           ALVAREZ                SC          90005910760
5624654724B588   MARIA          PAREDES                OK          90014875472
56246697472B32   AUTUMN         NELSON                 CO          90012136974
5624676634B588   IVETTE         GUEVARA                OK          90011017663
5624697837B46B   JESSICA        BROOKBANK              NC          90010379783
56246A7235758B   CARLOS         RAMIREZ                NM          35501420723
56247291A72442   SHELBYLYNN     ROSENSTEEL             PA          90014792910
56247642872B36   DOUG           HUNT                   CO          90003756428
5624782A198B28   ISIDRO         DIAZ                   NC          90004418201
5624973754B29B   LOCANIE        STEWART                NE          27092857375
562497AA833696   BRANDON        COMBO                  NC          12071647008
56249AAA842363   LAURA          SMITH                  GA          90012030008
5624B2A325B531   DANIEL         QUINTANA               NM          35081232032
5624B463661965   BRITTANY       WHITTAKER              CA          90014894636
5624B626561965   JOHN MIKAEL    BOWERMAN               CA          90014936265
5624B632A5758B   ORTIZ          CONNIE C               NM          90007816320
5624B831991895   OLGA           AGUILAR                OK          90010958319
5624B83545B399   HEATHER        MCNAMEE                OR          44572708354
56251A57257157   ROSICELA       LOVO                   VA          90009560572
5625226A472B43   ERIKA          ALCANTAR PETTY         CO          33043742604
5625274414B588   DARRICK        NEWBY                  OK          90003377441
5625276945B399   FRANCISCO      CLAROS                 OR          44572637694
5625311685B531   DALIA          GRANADOS               NM          90014401168
56253182A57157   ABDOU          NJOYA                  VA          90011691820
5625332A161965   JOSE           CAMILNGA               CA          46096123201
5625352A372B36   ALEJANDRO      MUNOZ                  CO          90002215203
5625412A65758B   DAVID          ANAYA                  NM          90012471206
5625427137B46B   VICTOR         CORTEZ                 NC          11091392713
56254865272B38   YOELVIS        OROSCO-GONZALEZ        CO          90014408652
5625511A45B271   WANITA         GREVIOUS               KY          90004231104
5625587565B236   BIANCA         CRUMPTON               KY          90011238756
56256156A61965   MANUEL         GARCIA                 CA          90015011560
56256229857B81   DAWN           ACE                    PA          90015372298
5625746A433645   KENNETH        BURNETT                NC          12082654604
56258933576B4B   KEVIN          PATE                   CA          90011509335
5625B99132B27B   BOSTON         BEATTY                 DC          90002309913
5626129625B531   JONATHAN       FIGUEROA               NM          90012642962
56261419572B36   FRANKIE        VARGAS                 CO          33006544195
56262365A72B36   FERNANDO       SANCHEZ-PEREZ          CO          90014293650
5626238A591587   ABEL           AGUILAR                TX          90011803805
5626285295758B   HARBEY         LOPEZ                  NM          90013188529
562634A285B387   MANERVA        CAMPOS                 OR          90005264028
56263783A5715B   ALBA           ANDRADE REYES          VA          90006897830
562639A425758B   ESTELLA        GONZALES               NM          90010349042
56264A3A255997   LUZ            ZEPEDA                 CA          49096580302
5626582422B345   FRANCISCA      HERRERA                CT          90013838242
562658A1655939   VIRGINIA       CENTENO                CA          90015108016
5626614897B46B   BRANDON        BATTS                  NC          90013981489
56266411772B67   SALVADOR       REYNA                  CO          90008044117
56266665172B38   ALEJANDRO      VILLANUEBA             CO          33066386651
56266A34161971   RONALD         WALTER                 CA          46085350341
56266A6995758B   SHAWNA         GUERRA                 NM          90007570699
5626726A285928   NDAYISHIMIYE   JEANNE                 KY          90013912602
5626777184B588   JOYLICIA       HILL                   OK          90011017718
5626786995599B   JENNIFER       WEBER                  CA          90011098699
5626822464B588   CECILIO        VILLAFANA              OK          90013502246
56268A51472B36   FRANKIE        MARTINEZ               CO          90014330514
56269A84291895   RICKY          OBERLENDER             OK          90014540842
5626B492472B49   SARA           ESTES                  CO          33086574924
5626B657872B67   DOMINIC        STAPLES                CO          33047056578
5626B87395B531   RODNEY         FERRELL                NM          90006378739
5626B93944B28B   ANGELA         PRINDLE                NE          90007319394
5626B96355B543   YAZMIN         CHAVEZ                 NM          35030939635
5627122648597B   BRYAN          SANDERFER              KY          90013652264
5627154855758B   JORGE          GONZALEZ               NM          90013065485
56271559A72B43   EDUARDO        BARRIOS-PACHECO        CO          33061125590
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5627166345B399   WHITNEY     RODRIGUEZ                 OR          90014536634
5627239455758B   OSCAR       TARANGO                   NM          90009223945
56272416A55939   FABIOLA     CORTES                    CA          90011194160
56273111A7B46B   MIRANDA     SMITH                     NC          90004211110
5627315455758B   PETER       SMITH                     NM          90015171545
5627364AA72442   AUDREY      HOLLAND                   PA          90000976400
56273A56355939   SPIRIT      MEJIA                     CA          90014250563
5627437347B46B   ALANA       NEAL                      NC          90014723734
5627476197B46B   MARQUIS     CLARK                     NC          11065497619
562749A6391895   YZTEKA      HARJO                     OK          90011079063
5627515975B399   AHMIRO      WILLONGBY                 OR          90012111597
562752A355B399   AHMIRO      WILLONGBY                 OR          90014192035
562759A2472B36   CONSTANCE   BURKS                     CO          33073629024
562768A217B394   LIMBERT     ZEBALLOS                  VA          81058558021
56276974972B27   ADRAIN      IBARRA                    CO          90012619749
56277297A2B27B   SYLVESTER   NIBLET                    DC          90014412970
562774A785B387   BETSY       PEREZ                     OR          90014664078
562778A217B394   LIMBERT     ZEBALLOS                  VA          81058558021
5627873497B491   CATHY       ROSS                      NC          11043167349
5627876A42B851   CARMEN      MARTINEZ                  ID          90013577604
5627897127B46B   TYLER       KELLER                    NC          90013489712
56278A97976B84   MARISELA    TORRES                    CA          90008720979
562791A975B399   WILLIAM     ANDERSON                  OR          90013771097
5627926A991895   MELVIN      MONDAY                    OK          90010132609
56279296972B67   ARISBETH    NAVA                      CO          90007472969
5627977894B588   CHRISTINA   EMBERSON                  OK          90011017789
5627B35634B521   CARLOS      OBANDO                    OK          21541983563
5627B717172B49   JACOB       SERRANO                   CO          33016437171
5627B86A772B36   KYLE        JARRATT                   CO          33024888607
5628138645758B   DAN         HERRERA                   NM          35521013864
562813A277B46B   JOSE        ARAMIL                    NC          90000663027
56281416472B67   PEDRO       QUINTERO                  CO          90007284164
5628152355715B   JOSH        MORRIS                    VA          90013305235
562822A5691587   HECTOR      RUIZ                      TX          75051902056
5628263A555997   JOSUE       RODRIGUEZ                 CA          90003336305
56282A79672B49   AMADO       PASCUAL HERNANDEZ         CO          33080710796
56283158A51348   ALVIN       USHRY                     OH          90015031580
562831A3A5758B   EVELINA     GOMEZ                     NM          35506521030
5628383A472B38   CASANDRA    RODRIGUEZ                 CO          90012168304
5628416594B588   LETICIA     NELSON                    OK          90013851659
5628437665754B   GREGORIO    ESPARZA                   NM          35558573766
5628439975B538   OLIVIA      DOMINGUEZ                 NM          90009643997
562846A9861971   LUIS        ALVERADO                  CA          46016036098
56284729772B23   MARY        WEST                      CO          90007477297
56284812A72B25   OLIVIA      EVANS                     CO          90007408120
5628482125B399   SUSAN       SCOTT                     OR          90002298212
56284862A7B46B   CARLA       RAGIN                     NC          90010318620
56284A35255997   HENRY       RODRIGUEZ                 CA          49098620352
5628553375B357   FANTASIA    DERR                      OR          90010645337
5628599A372B36   LUIS        MONCADA                   CO          33061959903
56287919272B36   LOURDES     BALTAZAR                  CO          90011459192
56287A13185928   NARKITA     MITCHALL                  KY          90010360131
56288652A61971   MILKA       FRIAS                     CA          90011156520
56288A19A5B387   MARIO       RAMOS                     OR          90014780190
5628972367B461   TIBURCIO    VENTURA                   NC          90010677236
562899A7172B49   PAIGE       BUTKUS                    CO          90003299071
56291324672B38   CHARLES     ANTHONY LEWIS             CO          90011223246
56291794272B43   BECKY       MARTINEZ                  CO          90013377942
56292214372B43   OLGA        RIVERA                    CO          33033092143
5629225834B567   CRYSTAL     AUSTIN                    OK          90010602583
56292A31751348   ANTHONY     DENNEY                    OH          90015380317
5629327765B531   VERONICA    GRADO                     NM          35014852776
56293782A4B588   ROBERTO     TORRES                    OK          90011457820
56294174172B43   HUGO RENE   ARANA-SANDOVAL            CO          90013501741
5629468472B27B   NADEAN      TALLEY                    DC          90012846847
56294AA9A72442   CHET        MILLER                    PA          90012550090
56295129172B43   STEPHANIE   BRUNSON                   CO          90013481291
56295262572B49   ALEJANDRO   RAMIREZ                   CO          33074142625
5629554545B271   STARLA      GREEN                     KY          90002955454
5629576825758B   GLADYS      RODRIGUEZ-VILLA           NM          35597787682
56295A37557157   ABMED       ISMAEL                    VA          90006980375
56296426272B36   BIANCA      LUNETTA                   CO          90014324262
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562968A995758B   MELBA       HERRERA                   NM          90015318099
5629781515B236   JAMES       CONNOR                    KY          68025468151
5629962176194B   GWENDA      BLUM                      CA          90008166217
562B1393172B36   NORA        VEGA                      CO          90004873931
562B1534972B88   GUADALUPE   LAYNES                    CO          33016895349
562B2232451348   EMILY       SORRELL                   OH          90006872324
562B2349931428   LATRICE     HARRIS                    MO          27543223499
562B278A155997   JOSE L      ZAMORA                    CA          90011877801
562B2A38333699   CARLOS      RENTERIO                  NC          90003800383
562B336A357157   DONALD      DORSEY                    VA          81009933603
562B3784172B38   SHATASHA    HONEGGER                  CO          90010537841
562B3946A61965   JESUS       GROVES                    CA          90001059460
562B4154685928   LENCOLA     GROVES                    KY          90014171546
562B4182972B36   JOHNNY      MUNSON                    CO          90012521829
562B4248255997   CLEOFAS     RODRIGUEZ                 CA          90014912482
562B4395951348   CHAD        HENDERSON                 OH          90014933959
562B4413372B38   AGUSTIN     NDRADE                    CO          90012534133
562B5159A72B43   MELISSA     WACHOLTZ                  CO          33073351590
562B553382B27B   EDWARD      SMITH                     DC          81003955338
562B5687372442   JANICE      COTTON                    PA          90014786873
562B5791572B25   KYERSTIN    SHARPLESS                 CO          90012647915
562B5A57372442   SAMATHA     HARDEN                    PA          90014760573
562B6913172B49   ELMER       TRUJILLO                  CO          90013929131
562B724252B27B   LINDA       TOMPKINS                  DC          90007522425
562B7398733696   VICKYE      WOODS                     NC          12058063987
562B8861633699   LATRONE     WILLIAMS                  NC          90010238616
562B8A5455B399   BRIAN       JONES                     OR          90015050545
562B9113791895   MICHELLE    HECK                      OK          21094531137
562B9591A33665   SAMUEL      CURETON                   NC          90001045910
562B9794757148   DALILA      MONTERROSA                VA          90005967947
562B981A885928   SHAQUANNA   RATLIFF                   KY          90012398108
562B9A1AA5B93B   VICTOR      LARA                      WA          90015430100
562BB829872B38   JONATHAN    CLEMONS                   CO          33065158298
562BB883372B67   ROSALES     CHRIS                     CO          90008088833
56311145A91895   OSCAR       MARTINEZ                  OK          90013781450
56311262A61971   INGRID      GARCIA                    CA          90013942620
56311397A61971   INGRID      GARCIA                    CA          90013753970
56311478A5B399   EVA         AVINA                     OR          90014874780
5631162445B241   REBECCA     PIKE                      KY          90007746244
5631163497B46B   SANDRA      MARQUEZ                   NC          90000676349
5631223A833699   AMANDA      HENDRICK                  NC          90014012308
5631246765715B   PATRICIA    ANTON                     VA          81010584676
56312641472B38   FABIAN      SILVA                     CO          33095966414
5631278364B588   SHAMILLAH   RAHEEM                    OK          90011457836
56312936A72B36   MICAELA     MONCADA                   CO          90014929360
563129A125B387   PATTY       BRYANT                    OR          90011029012
56312A8377B46B   MARCUS      COLLINS                   NC          90005830837
5631331472B27B   JOSE        TORRES ORDONEZ            DC          90015093147
5631333255B531   NEREIDA     VENEGAS                   NM          35090423325
5631383865B399   TRAVIS      BUNCH                     OR          90009348386
56314334A91332   PABLO       PEREZ                     KS          90014763340
56315212172B25   PETRA       SAUCEDO                   CO          90001082121
5631582A85B399   JEANNE      RAMSEY                    OR          44512008208
56316A38985928   NIKKI       CAUDILL                   KY          90013920389
56317534172B49   JANE        HALL                      CO          90007685341
56317912644B85   JANICE      DYER                      OH          90011059126
56317A4195715B   WILLIE      FELIX                     VA          90014020419
56318996772B38   JANET       QUIGLEY                   CO          90011849967
56318AA3A55997   ROSA        MERINO                    CA          90013100030
5631937A972B27   BRAD        ARELLANO                  CO          33095413709
5631984444B588   PAUL        GARCIA                    OK          90013228444
563199A632B27B   ALBA        MENDOZA SANTOS            DC          90014449063
56319A22187222   SHELLY      HARTWICK                   IL         90015210221
5631B24624B521   JERRY       WALKER                    OK          90004672462
5631B31745B399   ASHLEY      LINDSTEN                  OR          90014363174
5631B43735598B   BERTHA      GONZALEZ                  CA          90008844373
5631B849861965   CRISTINA    RAMIREZ                   CA          90009678498
5631B936233699   PATRICIA    GONZALEZ                  NC          12046229362
5632249A15B531   LADONNA     SIAR                      NM          90014834901
5632297552B27B   TYKIA       BOLLER                    DC          81016029755
56323133272B31   DANIEL      YANEZ                     CO          90011141332
56323412A72B27   RAYMOND     REYES                     CO          90014704120
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56323668924B7B   KAYLA          MCDUFFIE               DC          90015126689
5632455215715B   ANTONIO        HARRIS                 VA          90014885521
56324A18972B36   JUDY           KONRAD                 CO          90012690189
563251A4A57157   TAMARA         GREEN                  VA          81094791040
5632558615758B   LETICIA        MORENO                 NM          90013935861
5632579775758B   CHEYENNE       GALE                   NM          90010017977
5632584AA5B387   CATHERINE      CLARY                  OR          44544268400
5632623AA33699   CHRISTAN       ROBINSON               NC          90010202300
56326471572B49   ALEXIS         POTTER                 CO          90011504715
5632669A52B27B   SHAUNTAE       MILLER                 DC          90012846905
56326729A86545   KRISTIN        MILES                  TN          90015457290
5632787224B588   EDGAR          MERAZ                  OK          90008338722
5632791A75B531   JANNETTE       GONZALES               NM          35043809107
56327A6615B399   SARAH          WILLIAMSON             OR          90012980661
5632814A254B45   MARIA ISABEL   CORDOBA HERNANDEZ      VA          90013541402
5632826692B92B   JESUS          FUENTES                CA          90011782669
5632929315758B   DIANE          GALLEGOS               NM          90000732931
56329378772B27   KARLA          GAYTAN                 CO          90011393787
5632B4A275758B   DAVID          CRUZ                   NM          90008244027
5632B649172B38   JOSE           NAVARRO                CO          33037746491
5632BA4296194B   SHERESIA       WEST                   CA          46028740429
56331814672B38   CHAVEZ         CHRIS                  CO          90007918146
56332535A31428   KENNETH        BLACKMON               MO          90010505350
563328A875B387   SHERREE        STREETER               OR          90009748087
56333218272B36   FRANSISCA      HARO                   CO          90000892182
5633341A133699   TAMMY          EDWARDS                NC          12075754101
56333469972B38   CRISTINA       ROMERO                 CO          90000854699
56334177476B85   OLIVERIO       ESCOBEDO-RUBIO         CA          46047071774
563348AA55B531   SHAQUILLE      MARTINE                NM          90011008005
5633529A25758B   JESUS          CERNA                  NM          90012512902
5633567917B46B   TARRAH         MASSEY                 NC          11064826791
5633576852B27B   ADRIENNE       LANE                   DC          90014757685
56335843A55997   GABRIEL        GONZALEZ               CA          90012548430
5633679A472B38   BRITTANY       HORTON                 CO          90012917904
5633695185B236   DANIELLE       GRYDEN                 KY          90011239518
56337A93961971   ALFREDO        SEPULVEDA              CA          90013650939
56338398572B36   ROSY           GABRIEL-LOCIA          CO          33052263985
563383A3572B49   BRAD           CURTIS                 CO          33069113035
5633891522B27B   TOSHA          WHITING                DC          90013769152
56338A69155939   LISA           MONTGOMERY             CA          49082690691
563392A5A4B521   JARED          WEIGANE                OK          21516042050
5633B12917B46B   DANIEL         THONGBOR               NC          90012341291
5633B18385B399   JESUS          MARTINEZ               OR          90010671838
5633B511331428   TEERA          JACOBS                 MO          90008355113
5633B838331429   KEISHA         KOLE                   MO          90007988383
5633BA4A55B387   DAVID          KNEDLER                OR          90014560405
563412A1361971   CLAYTON        TAYLOR                 CA          90000182013
563415A7491587   BIANCA         SANCHEZ                TX          90013125074
5634182525B387   JORGE          CONTRERAS              OR          90011388252
5634211A451348   JESSICA        MALOTT                 OH          90014011104
56342A29A4B588   TAMMY          STEVENSON              OK          21503020290
5634312A55B579   GABRIELA       PONCE                  NM          90012411205
56343381272B38   CHRISTINE      SENA                   CO          33078473812
563438A7A7B46B   PEGGY          SAMUELS                NC          11001388070
56343A84291895   RICKY          OBERLENDER             OK          90014540842
5634535775758B   SAVANNAH       GONZALES               NM          90013673577
5634591AA91587   JAMES          AHUMADA                TX          90013159100
5634622488B837   JOSEPH         VALENTE                HI          90015102248
56346632472B49   RICHARD        WEST                   CO          90010326324
563466A815B236   KELLEE         CURRY                  KY          68003116081
56346873A72B38   SUSANA         ROMERO-RIOS            CO          33096658730
56346A8775B387   CLAUDIA        ALVAREZ                OR          44569550877
56346A9265B399   PRISCILLA      CLARK                  OR          90013320926
5634735975758B   JORGE          QUEZADA                NM          90014193597
56347A58372442   BRIAN          GRADY                  PA          51065580583
5634872334B536   MICHAEL        CLINE                  OK          90009647233
56348A7AA72B36   ROSA           VALDERAS               CO          90006590700
563493AA297B21   KATHRYN        TACKETT                CO          90001493002
5634997364B588   KATHRYN        MILTON                 OK          21567709736
5634B21275715B   OMAR           NARANJO                VA          90015192127
5634B28A141224   MICHELE        BATCH                  PA          90001292801
5634B29677B47B   ADONIS         ESPINOZA               NC          90011312967
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5634B993455997   ANGEL       JONES                     CA          90011979934
563511A9331431   TIA         BLISSIT                   MO          27595451093
563515A4A55939   LEON        BREAZELL                  CA          90013235040
56351867472B36   LUEVANO     RUDY                      CO          90011158674
56352412527B3B   LATISHA     CLARK                     KY          90006704125
56352526472B49   KEITH       PERRY                     CO          90012345264
5635269634B521   SHARON      QUINN                     OK          90005886963
56352862572B49   MIGUEL      SALAZAR                   CO          90014728625
5635319A457157   NELSON      ROBLES                    VA          90010291904
5635323A65B399   ERICK       MONTGOMERY                OR          90014812306
56353651A7B491   KRYSTAL     GILFILLAN                 NC          90005856510
563539A615B129   L           CROSS                     AR          23024709061
56355455972B27   PATTI       SMITH                     CO          90013114559
563556A7972B43   LACI        BARCLAY                   CO          90014726079
563561AA857128   ERICK       MEIJA                     VA          90014951008
5635765925B283   THEODORE    HOBBS                     KY          68024936592
5635779715B561   GABRIELA    LUJAN                     NM          90011617971
5635798A155997   ELIAS       GRANADO                   CA          90001299801
56358542A72B38   WILLIAM     SANTOS                    CO          90013485420
56358616372B36   MONICA      GARCIA                    CO          90008896163
563586A1361971   OSCAR       CAVENDER                  CA          90006426013
563593A795758B   RENE        RIOS                      NM          90013603079
5635977315B543   JESSE       SANCHEZ                   NM          35028267731
5635983412B27B   AZIZ        WHEALTON                  DC          90012848341
563598A644B588   ANGEL       VIZUETH                   OK          90013098064
56359A58861965   ANTHONY     ROMERO                    CA          46049270588
5635B42A161971   DEREK       WILLIAMS                  CA          90010944201
5635B539572B27   JOSE        SANTOS                    CO          33080085395
5635BA65555997   KEVIN       HILLARD                   CA          90012790655
56361116272B43   JESSE       STEVENS                   CO          33013301162
56361893A57157   SANDRO      ROSOTO                    VA          90014788930
5636245985B271   RONALD      WOLFE                     KY          68094804598
5636273137B372   ALI         HAMDAN                    VA          90002007313
5636314824B546   WILLIAM     LANIGAN                   OK          90008391482
5636318282B27B   AJANAI      SHENITA                   DC          90013741828
563634A373B389   CLAUDIA     RIVAS                     CO          90001684037
56365239272B36   LUCAS       GLEDHILL                  CO          90009552392
563658A5972B38   ARELI       VELASCO                   CO          90013548059
56365A1374B588   TIMOTHY     BOHN                      OK          90013460137
56365A1A772B27   SELETA      HILL                      CO          90015240107
563663A6971935   TONYA       BROWN                     CO          90008643069
5636658865B543   JACOB       SEDILLO                   NM          35088565886
56367A38972B43   RICHELE     GARCIA                    CO          90007820389
56368A64491587   RICARDO     ESQUIVEL REYES            TX          90011940644
5636919367B46B   REBECCA     VASQUEZ                   NC          90010291936
5636935A62B27B   SEAN        WEST                      DC          81036883506
5636942A372B36   CRISTINA    HERNANDEZ                 CO          33091504203
5636989235715B   YON         BALDELOMAR                VA          90004228923
5636B117972B67   JASON       ISENHART                  CO          90011141179
5636B2A4872B43   ROGELIO     PICAZO LOZANO             CO          90013052048
5636B325272442   ANN         RUNKLES                   PA          51098963252
5636B65724B28B   CHRISTINE   JOHNSON                   NE          26092526572
5637161565758B   MARIA       RAMIREZ                   NM          35571526156
56372854472B67   CHANNING    WILLIAMS                  CO          90008608544
5637311747B491   EUNICE      BROOKS                    NC          11029431174
5637374865B271   JANELLE     GULLEY                    KY          90002317486
5637455614B588   SHAWN       ROBBINS                   OK          90012875561
5637494117B46B   SANDRA      HARRIS                    NC          11089929411
56375218272B36   FRANSISCA   HARO                      CO          90000892182
5637584865B236   KAYLA       TIMMERING                 KY          68047168486
56375974472B36   MARTHA      FERNANDEZ                 CO          90012589744
5637628644B588   SHANTAY     LITTLESUN                 OK          90014092864
56376469472B43   JESSICA     MARTINEZ                  CO          90004864694
5637665285B387   JORGE       FLORES                    OR          90013376528
56376755972B67   PABLO       FONT                      CO          90010597559
5637684A151348   JAMES       SMITH                     OH          90011108401
5637698968B189   ROBERT      SIMS                      UT          90014589896
563775A6672B27   JAIR        RUBIO                     CO          33053735066
563778A763B387   DALILA      QUINTINO                  CO          33005278076
56377A8A472B67   ISRAEL      MILLAN-OLIVAN             CO          33065860804
5637828225715B   MARCIO      MORALES                   VA          90015142822
563786A9A72B38   ESAU        GARCIA                    CO          90004456090
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56378883372B27   MIRIAM           BLANCO                   CO      90011278833
5637889895B399   LEEANN CANDICE   SMITH                    OR      90013448989
56379879172B36   OMAR             SANCHEZ                  CO      90011158791
5637B141555997   SUZANNE          MONTOYA                  CA      49014471415
5637B1A5285928   JAMES            MORRISON                 KY      67030131052
5637B718785941   MORGAN           BARNS                    KY      90008977187
5638119465758B   NORMA            HERNANDEZ                NM      90014571946
5638169465B399   ROBIN            LEISURE                  OR      90011696946
5638195734B29B   LISA             HUMPHRUY                 NE      90010199573
5638279127B46B   ANTHONY          MCCULLOUGH               NC      90014647912
56383244A5B399   KRYSTAL          HEARD                    OR      90009852440
5638326648B142   FAITH            SALAZ                    UT      90009472664
5638352634B936   CHELSEA          HENNING                  TX      90010785263
5638368895B387   CALLIE           KLINE                    OR      44569566889
5638376115B283   RIGOBERTO        LORENZO                  KY      90001147611
563862A193B352   CARLOS           ZASUETA                  CO      90003582019
56386595272B38   RALPH            LOPEZ                    CO      90011885952
56386843172B27   BRIDGES          TRAVIS                   CO      33078698431
56387A76472B49   TERESA           BENTZ                    CO      33097040764
56388129472B67   MIKHAIL          MAKSIMOV                 CO      33044811294
5638866965715B   MILAGRO          HERNANDEZ                VA      90000186696
5638917374B588   ROBERT           JOHNSON                  OK      21558061737
5638954AA61933   MARIALUCIA       CUNHA TOLENTINO          CA      46082765400
56389944772B67   MARIA            RAMIREZ                  CO      90011559447
56389A32857157   JORGE            FLORERO                  VA      90013020328
5638B34A94B28B   TERRANCE         WRIGHT                   NE      90011883409
5638B473885928   BRIAN            MCKINNEY                 KY      67000794738
5638B59A372B67   MICHAEL          OZAWALD                  CO      90008295903
5638B5A4161965   STEPHEN          LOPEZ                    CA      90014835041
5638B616831428   JAYALAKSHMI      ARIVANANDAN              MO      90010506168
5638B618857157   FORDAY           MABAILEY                 VA      90006176188
5638BA32872B49   DESIREE          BLEA                     CO      90010050328
5638BA53372B88   YAA              RICE                     CO      90003650533
5639147992B27B   EBONY            GODDARD                  DC      90011354799
56393278372B38   JULIAN           GARFIO                   CO      33081582783
563938A1A4B588   SHERRY           KOVACH                   OK      90011458010
563938A685715B   JOSE             SORTO                    VA      81046768068
56394445572B38   ROMAN            ORTIZ                    CO      90009404455
56394611972B36   JANALEE          SANTOYO                  CO      90014016119
5639474342B27B   CALVIN           KYLE                     DC      90012847434
56394A49485928   ESSANCE          COLLINS                  KY      90012280494
56395998A85928   STEPHANE         MOKOBAN                  KY      90013699980
56395A38372B67   JESSICA          ROSADO                   CO      90011580383
5639626685758B   MARY             ERSINGHAUS               NM      90014992668
5639679135B531   ERICK            HERRERA                  NM      90005927913
5639681557B491   GRACIELA         FLORES                   NC      90012128155
563968A1272B88   DAVID            RAZEY                    CO      90009998012
56397221772B38   DANIEL           ROGO                     CO      90015032217
56397335172B43   TERESA           GUADALUPE VILLA JACOBO   CO      90014153351
563973A355B399   DELONDA          CANTON                   OR      90013673035
5639817115715B   MERILDA          GARCIA                   VA      90014901711
5639859355593B   JOHNATHEN        PENA                     CA      90014705935
56398681672B36   RANDY            DEMOTTE                  CO      33095256816
5639879375B236   JAVIER           VILLAOLOBOS              KY      90003217937
5639893424B588   NORA             ESCALERA                 OK      90003379342
5639957A372B36   CARLOS           LOPEZ                    CO      90012415703
5639B355891895   ISABEL           MARTINEZ                 OK      90009423558
5639B6A1685928   CARLOS           VIZCAINO                 KY      90000796016
5639B7A285B531   JEREMY           SERNA                    NM      90013137028
563B1483572442   CARISSA          HOWARD                   PA      90009024835
563B168665758B   STACEY           REDDING                  NM      35509436866
563B1A92372B36   REGINA           GROPP                    CO      33081080923
563B223915B387   SONORA           WILSON                   OR      90014802391
563B287745B236   DAVID            HOWARD                   KY      90005378774
563B341634B29B   REBECCA          RIDGE                    NE      90006224163
563B3668438522   JESSICA          PEHRSON                  UT      90011866684
563B4283157157   STEFANI          MASON                    VA      90014152831
563B4996933699   NARISHA          PAUL                     NC      90011869969
563B5523372B42   JANE             HAWKINS                  CO      90009865233
563B6161731429   ENZA             ZITO                     MO      27507951617
563B6881855939   ARTURO           VASQUEZ                  CA      90009438818
563B6A51491895   JAMIE            KOENIG                   OK      90002720514
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563B7124651348   LEEANN       BROWN                    OH          90012091246
563B8212272B36   KATHERINE    WALKER                   CO          33078892122
563B9321991895   SOPHIA       DAVIS                    OK          21064563219
563BB872991587   TANIA        GUTIERREZ                TX          90011348729
56411812A7B477   ARTAVIA      DCIYE                    NC          90008838120
56411975172B88   MARK         BRIGHT                   CO          33016769751
5641281235B387   MILT         SCHILL                   OR          44546528123
56413958572B31   MARIA        GOMEZ                    CO          90003049585
56413A32561971   GABRIELA     AGUILAR                  CA          90014190325
5641471374B29B   DION         WILLIAMS                 NE          90007397137
5641516955715B   HELA         JIMENEZ                  VA          90014001695
56416117172B36   JONATHAN     ROTH                     CO          33047681171
5641612785B387   MARIA        OLMOS VILLEGAS           OR          90000281278
56416159A85928   ALMOND       WALKER                   KY          90004901590
564162A6A57157   RICHIE       LARSON                   VA          81063992060
564168A6572442   KATHY        DOWNS                    PA          51000438065
56417458472B38   NYSSAMARIE   MENDOZA                  CO          90004104584
56417A25361965   KIRK         ALEXANDER                CA          90003170253
56418263972B36   DESIREE      SAUNAR                   CO          33092522639
56418389172B38   EVELIO       ESCOBAR CANEZA           CO          33097383891
5641894244B588   JAMES        CHITMAN                  OK          90012239424
5641B38A772B36   NICOLE       VALDEZ                   CO          33069623807
5641B744A61971   RAY          HARDISTY                 CA          90012887440
5641BA25361965   KIRK         ALEXANDER                CA          90003170253
56421418472B32   JUAN         BARRIOS                  CO          90009014184
56421654472B27   JOSEPH       ELIUD                    CO          90013626544
564216A2961971   RICHARDSON   JANESSA                  CA          46044526029
5642192655B399   SETH         YELLOTT                  OR          90014819265
5642192914B588   JAMES        ERWIN                    OK          90011019291
56422382A72B36   MELISSA      MORGAN                   CO          90004873820
564224A6755997   CHARLES      MCDOWELL                 CA          90013414067
564227A9191895   MYESHA       POPE                     OK          90009057091
564234AA35B387   SHANNON      HENRY                    OR          90013084003
56423A1335715B   PEDRO        ENROQUES                 VA          90008670133
5642468A261971   CANDIDO      MARAGON                  CA          46065806802
5642486784B29B   LADY         WILSON                   NE          27000228678
5642491A25B531   ANAHI        FLORES-SOTO              NM          90010079102
5642571915B399   VILMA        VILLALOBOS               OR          44553537191
564258A765B387   GRISELDA     PEREZ-OLMOS              OR          90005098076
56425912772B27   MARICEL      PADILA                   CO          33036309127
56425A27A61965   JODI         VARGASON                 CA          90003170270
5642678612B27B   VICTOR       TOLER                    MD          90005467861
5642719335B399   FADUMO       NUR                      OR          90012651933
5642723752B27B   TAPHNE       HITCHCOCK                DC          90009402375
5642759A257157   DAILA        LAVANDEROS               VA          90011705902
56428165472B49   LUCILLE      QUINTINO                 CO          90002401654
56428A4525758B   JUAN         CONSTANTE                NM          90014650452
56429137A97123   DENISE       SPURGEON                 OR          90004541370
5642951295B399   GABRIEL      SIU                      OR          90006425129
5642961615B283   DEBIRA       FIRMAN                   KY          90000986161
56429A6665758B   HAYDEE       FRANCO                   NM          35532650666
56429AA735B531   JORGE        RIOS                     NM          90003090073
5642B415A72B49   DAVONNE      VIGIL                    CO          90014554150
5642B51A25758B   BELINDA      CORBIN                   NM          90008855102
5643151A761971   HUSAM        YAQOOB                   CA          90012735107
564325A517B46B   CONSUELO     PENA                     NC          90013175051
56432A54791534   RAQUEL       ALLARD                   TX          90013830547
56432AAA172B88   ELIJIO       JOHNSTON                 CO          33073180001
56433572472B36   GEANESIA     HINTON                   CO          90014105724
564336AA561965   DOMINIC      DIBERNARDO               CA          90010556005
56434347572B27   JENNIFER     VIGIL                    CO          90010143475
56434348627B3B   DARREN       WITTENBURG               KY          90011673486
5643446965B236   DAVID        BROWN                    KY          68003124696
564345A367192B   JESUSITA     PACHECO                  CO          90004015036
56435859A91895   LAROY        DICKSON                  OK          90014728590
56436A39555997   JESSICA      PIMENTEL                 CA          90001390395
5643742A872B38   LAURA        GONZALES                 CO          90007444208
5643765957B46B   LEITHA       WILLIAMS                 NC          90014056595
56437912772B49   ANDREW       ORNDORFF                 CO          90011169127
56438643A21696   TERRENCE     KING                     OH          90015376430
56438884A4B588   ISABEL       GIRON                    OK          90008288840
56438A39351348   KEITH        SIZEMORE                 OH          90010190393
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5643923455715B   SINDY           GRACIAS               VA          90002952345
56439A88451348   CARLO           MONTARVO              OH          90012610884
5644137865B236   MARY            BRYANT                KY          68003063786
56441A57785928   DONNA           BOND                  KY          67092670577
5644233935B399   MARQUISE        GREEN                 OR          90014893393
56443145772B43   JASON           SIMMONS               CO          90012491457
56443582A72B98   MARTIN          SMITH                 CO          33088555820
5644364315B283   KIMBERLY        BALDWIN               KY          68007276431
56443655872B38   JORGE           VAZQUEZRIOS           CO          33076756558
56443724A55939   ANA             COMPRERAS             CA          90010767240
5644376572B27B   KINA            KERRY                 DC          90012847657
564442A7233696   KENECIA         JOHNSON               NC          90002742072
5644537925B399   MANUEL DE       ROBLES-HERNANDEZ      OR          44520023792
5644549727B46B   DOMANEEK        MOBLEY                NC          11001444972
5644551392B27B   DEON            BROWN                 DC          90014275139
5644565A857157   WATSON          SMITH                 VA          90014786508
5644575A585928   ANGELA          HERNANDEZ             KY          67094097505
56445A15891587   DANIEL          SEGURA                TX          90004100158
564475A5791587   JADIRA          LUNA                  TX          90014865057
5644846A35B387   KERRY           WESTLING              OR          90011484603
5644875163B35B   TIDIANI         ANOGO                 CO          90014717516
5644917172B574   DEONTOE         THORINGTON            AL          90010391717
5644943295715B   GABRIEL         COCA                  VA          81009704329
5644945575B399   MARK            ZITNIK                OR          90003234557
5644976822B27B   DEBORAH         CAMPBELL              DC          90012847682
5644B437661971   CAMERON         ADAMS                 CA          90011094376
5644B556272B36   AIDIL           SERNA                 CO          90002435562
5644B9A444B588   ALMA            SIERRA                OK          90012169044
5645113925B399   KRISTOHER       MCCUEN                OR          90013771392
56451454372B38   IRENE           BEREST                CO          90013504543
5645161634B588   KEVIN           ALLEN                 OK          90012256163
56452192A2B27B   MARY JANE       MANILA                VA          81005171920
564531A767B46B   BRIDGETT        HERRING               NC          90005811076
56453348A72B27   SAMUEL          PARRA                 CO          33095463480
56453877772B38   STELLA          HERNANADEZ            CO          90012788777
56453A2822B27B   LAFAYETT        DAVIS                 DC          90011690282
56453A45751348   JEFF            HEDGES                OH          66081470457
56455566A91895   LUIS            ARMAS                 OK          90012065660
5645557584B588   ANGELICA        HERNANDEZ             OK          90014855758
56455A1615B236   NIKISHA         ROBINSON              KY          68008530161
56456139A5B387   BLANCA          ARROYO                OR          90002831390
56456452A61965   LORENA          PADILLA               CA          90010724520
5645665A857157   WATSON          SMITH                 VA          90014786508
56456A93185928   HEATHER         BEGLEY                KY          90013440931
5645721115B543   CHRISTINA       BOOS                  NM          35087482111
5645795517B46B   ELDA            HERNANDEZ             NC          90001819551
56457A5535B531   UBALDO          CARAVEO-ESCALANTE     NM          35089050553
56458224924B7B   HELEN           RANDOLPH              DC          81053852249
56458455272B38   DIANNE          GREGG                 CO          33014224552
56458867A7B46B   FREDA LAVERNE   TYSON WILLIAMS        NC          90007448670
56459147772B43   MONIQUE         ZAMORA                CO          90015451477
5645952A572B27   JUAN            ZAVALA                CO          90009725205
56459559972B38   LINDA           ANDERSON              CO          90002055599
5645986994B588   HERIBERTO       DAVILA                OK          90011438699
5645B44767B46B   LEJAMES         BLACKMON              NC          90010884476
5645B496457157   ANA REBECA      ROMERO                VA          90013644964
5645B9A3955997   RENEE           BROWN                 CA          90013199039
5646162625758B   PATRICK         MOLINA                NM          90009626262
56461983172B38   ERASMO          LOEZA                 CO          33024519831
56461A33572442   TIMOTHY         MONG                  PA          90001000335
56461A6565B142   EDWINOL         HENLEY                AR          23003070656
56462212972B49   GUMARO          GUERRERO              CO          90013582129
5646262245B531   ESTEVAN         GALLEGOS              NM          35058186224
56462697972B38   MARIAH          MARQUEZ               CO          90013366979
5646279865B387   BEN             FRANKLIN              OR          90006667986
56462A7117B46B   CRYSTAL         SPRUILL               NC          11001490711
56464783A2B27B   JAMES           JOHNSON               DC          90012847830
5646489435B543   NICOLAS         VASQUEZ               NM          90004388943
5646496195B387   LESLIE          PRESSEL               OR          90009479619
56464A86872B38   JESUS           LOPEZ-MORENO          CO          90012540868
5646526485B387   REYNA           RESENDIZ VEGA         OR          44563972648
5646574354B521   WANDA           PRICE                 OK          90005097435
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56466153172B49   ELISE         QUISPE MONTES           CO          33089801531
5646623625B236   COREY         JOHNSON                 KY          90008852362
56466647924B7B   WILBERT       MC ILWAIN               DC          90013946479
5646692745715B   SURINDER      KAUR                    VA          81083819274
564674AA857157   NICK          HARRITY                 VA          90013154008
56467928A72B49   WANDA         WORTHAM                 CO          33041569280
56468344272B49   NARAD         SANYASI                 CO          90011803442
564683A2785928   KATHLEEN      VERITY                  KY          67027103027
5646846235758B   LILLIAN       CABRERA                 NM          90014514623
56469546972B67   BEATRIZ       ANGELEZ                 CO          90004105469
56469748285B52   HOMERO        FLOWERS                 FL          90014117482
5646B45685715B   JOSE          QUINTEROS               VA          90011774568
5646B52435B531   WILLIAM       BEALL                   NM          35096195243
5646B583772B49   DOMINIQUE     HILL                    CO          90005515837
5646B91A45B543   KIMBERLY      SPERANDEO               NM          35015879104
56471434472B38   ORLANDO       MARTINEZ                CO          90012424344
5647163857B46B   JAIRO         LOPEZ                   NC          90014476385
56471756772B38   ALICIA        JIMENEZ                 CO          33040967567
56471857272B49   SERGIO        RAMIREZ                 ID          33084868572
5647217592B27B   RUT           FLORES                  VA          90007481759
56472565172B43   RENE          WHITMORE                CO          33037865651
5647279A54B521   LAURA         THURSTON                OK          21569477905
5647288A15B129   ANDREW        NEMETH                  AR          23012888801
56472A8A272B38   RAYMOND       DAY                     CO          90013470802
5647329772B27B   DENA          HEPBURNS                DC          90007542977
56473A4567B46B   JOHN          GRADY                   NC          90004870456
5647449615715B   JESSENIA      PEREIRA                 VA          90011774961
56475151527B48   DERRIC        SMITH                   KY          90010151515
56475227A2B27B   CARLA         DREW                    DC          90007732270
5647525275B531   FELICIA       ANAYA                   NM          90012192527
5647532485B387   TAMMI         BELL                    OR          44540513248
5647565A857157   WATSON        SMITH                   VA          90014786508
56475761272B43   ROSE          JOSEPHINE TRUJILLO      CO          33053537612
5647581A151348   MEHLEA        ABBOTT                  OH          66035268101
5647725532B27B   GENICE        LYNCH                   DC          90008382553
56477478672B36   DSASDASD      SINGH                   CO          90015014786
564776A6A5B271   MIDIALIS      VALLE                   KY          90005796060
564777A1791587   BRUCE         SHELDON                 TX          90004447017
56477829172B88   RAMIRO        FLORES                  CO          33079608291
5647838718B341   CARL          RUFF                    NC          90006843871
5647869A94B588   BENARDO       MARTINEZ                OK          90014816909
56479495172B43   RAUL          VENZOR                  CO          33046764951
5647949922B27B   RACHELLE      THOMPSON                DC          90005314992
5647B42285B387   JOANNA        DANMYER                 OR          44546364228
5647B45A372B49   TAIRA         HALL                    CO          90013294503
5647B82A231429   DANIELLE      REID                    MO          90005508202
5648139A355997   FILADELFO     VASQUEZ                 CA          49052113903
564814A7661971   YVONEE        PROANO                  CA          90014654076
564817A845715B   LINDA         POWELL                  VA          90013297084
5648186AA85928   YULIANA       SANTILLANES             KY          90013938600
56482237772B36   ANTHONY       ROBINSON                CO          90010362377
564824A665B543   JOLEANA       PARMENTIER_LUJAN        NM          35088584066
564839A2572B36   KASANDRA      LO                      CO          90011159025
56484452298B47   RUBY          ANTONER                 NC          90013874522
5648458A95758B   IRENE         MALDONADO               NM          90013935809
5648545A755997   MARIA         UCABELLERO              CA          90014814507
56485598A86545   DEBRA         PALMER                  TN          90015585980
56485652A91895   MACKENZIE     PARKER                  OK          90012906520
5648628AA51348   MICHAEL       SCHNOOR                 OH          90014972800
5648634825B531   ALAN          FRANKLIN                NM          35046043482
5648644765715B   ELIGIO        DUARTE                  VA          90012094476
564864A5372B49   GABRIEL       CRUZ                    CO          90011004053
5648652855B399   CHRISTOPHER   GOULD                   OR          90012185285
5648687A92B567   MIKA          BLIKE                   AL          90015208709
5648752635758B   NELLIE        GONZALES                NM          90014385263
5648754765B387   MARCUS        BOONE                   OR          90014825476
5648755825758B   AMY           SALAZAR                 NM          90011145582
56487612A72B49   ARLEEN        AMAES                   CO          33040876120
56487722A2B27B   TOYA          RIDOUT                  DC          90015027220
56487843372B38   CHRISTOPHER   APPROVED                CO          90013238433
56487A6AA72B88   SAMUEL        CHAPMAN                 CO          33073190600
56488382472B88   FRANK         LUCERO                  CO          33078113824
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5648881A151348   MEHLEA          ABBOTT                OH          66035268101
56489575772B38   AL              VIAPANDO              CO          33054395757
564899AA385928   JAMIE           STAMPER               KY          90013939003
5648B231576B58   KEITH LALANDE   JOHNSON               CA          90009952315
5648B349985928   JORGE           LARA                  KY          67094153499
5648B64243B145   CRYSTAL         ANDERSON              DC          90006926424
5648B665355997   MARIA           GUERRERO              CA          90012846653
564915A2955997   ERICA           GARDUNO               CA          90013925029
5649184A385928   NATALIE         WELLS                 KY          90011798403
56493649A7B46B   KARLA           CONTRERAS             NC          90013706490
5649387765B531   ANA             PEREZ                 NM          90010918776
564944A3672B27   OLIVA           TREVIZO               CO          33054124036
5649458AA72B36   TIFFANY         HARDER                CO          90013405800
56494788372B43   CONNIE LEE      MONTOYA               CO          33018797883
5649519435758B   JUAN            RUIZ                  NM          90012971943
564957A4651367   TOM             MANITSAS              OH          66011827046
56495845272B49   MARC            FREYETA               CO          90009158452
5649615552B27B   WILLIAM         JOHNSON               DC          81037711555
5649699A972B49   JUAN            PEREZ                 CO          90001029909
5649812515758B   KARINA          COBOS                 NM          90015161251
5649822858B142   TIERRA          CHESTINE              UT          90012222285
5649845972B27B   ELEISHA         BRIDGES               DC          90013574597
564986A9A61971   MICHAEL         BAILEY                CA          90013286090
564992A6372B43   TIL             KHADKA                CO          33008992063
5649B29A45B531   JENNIFER        GALLEGOS              NM          90011072904
5649B6A297B46B   MARTIN          GOMAR                 NC          11012526029
5649B75875758B   JANET           OCHOA                 NM          90014667587
5649B814855997   FELISA          BANKS                 CA          90011178148
5649BAA4755939   JENNIFER        VELAZQUEZ             CA          90014340047
564B193292B27B   TONI            DAVIS                 DC          81038129329
564B221515715B   REUBEN          HERNANDEZ             VA          90013902151
564B247484B588   ROGER           MATHEWS               OK          21575374748
564B252A572B27   MARIA           DOMINGUEZ             CO          90001035205
564B273352B27B   JOYCE           PEOPLES               DC          90012847335
564B4225A72B43   JESUS           ESCOBAR               CO          90012832250
564B4323251348   NILDA           GONZALEZ              OH          66078683232
564B4796A57157   ILDA            RIOS                  VA          81014287960
564B4894461971   PATRICIA        MEZA                  CA          90013798944
564B532685599B   ORLANDO         OCHOA                 CA          90005383268
564B53A6891587   EDUARDO         PEDRAZA               TX          90012803068
564B58AAA72B43   MARIO           YANEZ                 CO          33015128000
564B5A75261971   RONALD          SCHIEBERL             CA          90014180752
564B6132847928   SARAH           MORRISON              AR          90010721328
564B7447872B38   LICEA           MENDOSA               CO          90013934478
564B8373A72B43   JOSE            MARQUEZ               CO          33040593730
564B8516198B22   CHARLES         NORWOOD               NC          90010875161
564B869567B358   LEONEL          PERES                 VA          90011356956
564B8711955997   NOEMI           PERAZA                CA          90013367119
564B884545B236   RHONDA          MORTON                KY          68024368454
564B88A145B399   BRENEE          PRYER                 OR          90013298014
564B892595B531   LANCE           JIM                   NM          90000519259
564B9212972B49   GUMARO          GUERRERO              CO          90013582129
564B933325758B   ZELENIE         PAUL                  NM          90014033332
564B933695715B   JULIO           ARDON                 VA          90002463369
564B9534385928   STEPHANIE       DODSON                KY          90013935343
564B9616433696   KARLA           BRANDON               NC          90013266164
564BB825891895   ANGEL           AMBRIZE               OK          90008638258
564BB8A7441222   ROBYN           DIETERLE              PA          90005308074
564BB923485928   TERRI           MCGHEE                KY          67011019234
564BB932957157   TRILOCHAN       BHATT                 VA          90014059329
564BB967372B49   VIANKA          VARGAS                CO          90013039673
564BBA4357B391   TIGIST          WOLDEMARIAM           VA          90002180435
564BBAAA884357   SHAYNE          WHITE                 SC          90003350008
5651115725B399   RAVELL          STERLING              OR          90013771572
5651134815715B   TIANA           SHAIA                 VA          90012703481
56511414172B27   DAGOBERTO       MIJANGOS              CO          33049974141
56511A71157157   JOSHUA          SCHAEFFER             VA          90002080711
56512262A72B27   FAKHRI          ABDULLAH              CO          90014602620
5651273A77B491   DANNENE         WARD                  NC          11009277307
5651352675B236   DAVID           FRENCH                KY          68007975267
56513925172B43   PETRA           CISNEROS              CO          90014589251
56514372972B43   HUMBERTO        DE LA ROSA            CO          33094133729
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565158A882B27B   CHRISTOPHER   GRAYSON                 DC          90012848088
5651594635758B   BALTAZAR      MENDOZA                 NM          35578149463
56516738172B67   NANCY         ORTIZ                   CO          33024257381
5651754255B531   ESTEBAN       HERNANDEZ               NM          90013645425
56517A62272B49   SHANELE       RAE                     CO          90005940622
56518194372B27   TOM           HAJDE                   CO          33074391943
5651838615B399   VESTER        BROWN                   OR          44563563861
5651875234B536   ADRIANA       TORREZ                  OK          90011027523
5651962A472B38   ROBERT        KETTERMAN               CO          90010296204
565198A1655939   VIRGINIA      CENTENO                 CA          90015108016
5651B253372B49   MARIE         BROWN                   CO          33006892533
5651B28485B387   JEROME        THOMPSON                OR          44507692848
5651B355272B43   DENISE        CHAVEZ                  CO          90013503552
5652127445715B   HOWARD        BATISTE                 DC          90002072744
56521293772B36   IVETE         NAVA                    CO          90007912937
5652151A87B491   NUSRAT        AHMAD                   NC          90012335108
5652272A161965   MYESHA        JACKSON                 CA          90014697201
56522836172B27   SADIQ         ANNOR                   CO          33014558361
5652319A15B531   MICHELLE      GORDON                  NM          90012511901
5652371717B46B   JACINDA       KITCHENS                NC          11081807171
565242A574B521   BRYAN         JOCKEY                  OK          21515942057
56524472272B43   ADAN          PACHECO                 CO          33003144722
5652466545715B   JOEL          ROMERO                  VA          90012966654
56525123A72B43   CHRISTOPHE    FREEMAN                 CO          90000251230
5652542A63B372   GABRIELA      ALCARAZ                 CO          90013794206
5652553695B399   JUAN          XIRUIM                  OR          90001775369
5652568463B372   BERTHA        ALCARAZ                 CO          33029256846
565259A1685928   VERNON        BURNS                   KY          90014799016
565259A3955997   RENEE         BROWN                   CA          90013199039
56526297772B43   CLAUDIA       ACOSTA                  CO          90009172977
565264A2A5758B   GUILLERMINA   MORENO                  NM          90011024020
56526938872B38   OSCAR         FLOREAS                 CO          33088009388
5652698715758B   DAVID         GOMEZ                   NM          90015079871
5652756312B27B   RONALD        WEST                    DC          81004255631
5652766AA61965   KELSIE        QUINN                   CA          90014176600
56527A47172B49   JOHN          LUOMA                   CO          90014090471
56527A95A91587   SALVADOR      PERKENS                 TX          90004270950
56527AA9285928   VANESSA       BEATTY                  KY          90013940092
5652821265758B   SANTANA       OCHOA                   NM          35560222126
565283A8557157   MANUEL        GONZALEZ                VA          90013853085
56529863772B38   ALBERTA       GONZALES                CO          90001968637
5652B525172442   EDDIE         SINES                   PA          51054325251
5652B784655997   NATALIA       MARTINEZ                CA          90012777846
5652B83A991587   ASHLEY        SALAZAR                 TX          90002098309
56531193772B49   TINA          NOVOTNY                 CO          90013221937
5653146A291587   BERNICE       PORTILLO                TX          90007384602
5653157695415B   RHONDA        LOVE                    OR          90007845769
5653171455B531   NADINE        BACA                    NM          35082497145
565321A895715B   ANA           GONZALES                VA          90014771089
5653272875B236   CHAYLA        CARR                    KY          90008267287
56533271172B38   CONRAD        HOFFMAN                 CO          90014242711
5653346A35B387   KERRY         WESTLING                OR          90011484603
5653398A661971   IRIS          GARCIA                  CA          90013389806
5653421228B677   GENISIS       CAZARES                 TX          90015362122
5653424434B588   DANIELLE      JENEY                   OK          90009282443
56535113872B67   NINA          AVILA                   CO          90011141138
5653582134B588   CORTIESHA     STEVENSON               OK          90011028213
56536277172B43   YVETTE        TENA                    CO          33072792771
56536589A31429   KHADEEM       RATCLIFF                MO          90005875890
5653673875B387   MARTIN        PETRY                   OR          44522117387
5653717727B46B   LATOYA        CLAYTON                 NC          90014621772
5653783484B588   RENEE         CHAPLINE                OK          90011028348
5653822612B27B   AYANAA        COLEMAN                 DC          90014622261
56538434972B38   LATASHA       MORADO                  CO          90012994349
56539164372B27   HARLEY        STOLTZ                  CO          33051571643
565396A575B543   GLENNA        JONES                   NM          35045326057
56539A57557157   BLANCA        ARGUETA                 VA          90011650575
5653B7AA82B27B   VENNESA       BAKER                   DC          81027377008
5653B842972B43   JOE           GARCIA                  CO          33006738429
5653BA9265B399   PRISCILLA     CLARK                   OR          90013320926
565414A6757157   JORGE         ELERA                   VA          90003484067
5654221255758B   VIOLA         GARCIA                  NM          90008112125
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56542258A72B36   CAROL             STEVESON              CO        33075012580
565429A6A57157   EDDIE             YATES                 VA        81097509060
56542A54672B49   ROCHELLE          BRICKER               CO        33085980546
56543338A5715B   HENRY             OCHOA                 VA        81046993380
5654338855B387   GUSTAVO           VILLACORTA            OR        90009143885
56543457872B27   LE DAWN           LOCKS                 CO        90007584578
56543A19A33699   KENERD            FRASIER               NC        12054640190
56544888272B43   CATHERINE         JONES                 CO        90015218882
5654517317B46B   KERISHA           LATIMER               NC        90014661731
56545183A72B36   RANDALL           WELCH                 CO        33007391830
56545396A4B588   MARIE             DRISKELL              OK        21567103960
5654555274B521   ELIAS             AGUILAR               OK        21587785527
56546599924B35   LATIA             JOHNSON               DC        81071325999
5654738285B399   PATRICK           BROGDON               OR        90015133828
56547434972B43   BRANDEN MICHAEL   SUMMER HINSHAW        CO        90015054349
565474A1972B38   MELISSA           MCCONNELL             CO        33020714019
5654766995B399   MARSHA            HAYES                 OR        90013986699
565476A5257157   CHARLIE           COLATO                VA        90010606052
56547749A61965   WILLIAM           WILLS                 CA        90014177490
56547A57557157   BLANCA            ARGUETA               VA        90011650575
5654852A85B236   MS                ALLEN                 KY        90005665208
5654885395B531   MONICA            LOPEZ                 NM        35039158539
56548AA865B399   JACQUELINE        KENNEDY               OR        90012940086
5654B188A61965   ANTHONY           HARRIS                CA        90006291880
5654B556451348   DONNA             CAMPBELL              OH        90013215564
5654B722155997   KATHERINE         PENA                  CA        49080457221
5654B765972B38   JORGE             GARCIA                CO        90012607659
5654BAA525B236   CRAIG             HART                  KY        68054580052
5655145295B531   APRIL             ROMERO                NM        35090154529
5655191A25B543   NUBIA             BORREGO BERMEA        NM        90001399102
56551A3337B46B   JESSICA           CARTER                NC        90014680333
56552935A4B29B   ALICIA            VOGT-ROGERS           NE        27044189350
5655458585B387   SHAUNA            KING                  OR        90001835858
56554A57557157   BLANCA            ARGUETA               VA        90011650575
56555385272B38   RIBKA             RIBKA                 CO        90011223852
5655559365B387   DOUG              SCHUERMYER            OR        44507695936
5655585A491587   VICTORIA          SAENZ                 TX        90013198504
56556342A7B46B   DANIEL            WEEMS                 NC        90010653420
5655668355B531   DARRELL           JONES                 NM        90012316835
5655785894B588   CLARENCE          SCROGGINS             OK        90013228589
56558123972B67   DESTINY           MULLOWNEY             CO        90011141239
5655832545758B   ELIZABETH         BALBOA-TARACENA       NM        90015163254
5655858855B399   SHELLY            TRIPLET               OR        90004825885
56558826272B21   TAISHECA          BROWN                 CO        90013028262
56558898172B27   YOLANDA           RIVERA                CO        33081468981
565588A675B387   PAMELA            RANKIN                OR        44582238067
5655B73A272B38   MICHAEL           AEILLO                CO        90003057302
5655B853631428   KEISHA            HAMILTON              MO        90010458536
56561125472B38   ARIEL             CORDOVA               CO        90012541254
56561466A5715B   MARIA             SANTOS                VA        90014734660
565616A965B387   ROGELIO           MOCTEZUMA             OR        44507696096
56564192972B27   FRED              TOWERS                CO        90014801929
56564A97291895   JUAN              GUTIERREZ -MARTINEZ   OK        90014010972
5656517145B531   NANCY             GILPIN                NM        90009231714
565657A865758B   CRYSTAL           VACIO                 NM        90009627086
56566286A91587   BRENDA            BARRRIENTOS           TX        75032882860
5656693344B588   MONICA            LOPEZ                 OK        90015509334
56566A1875B387   DENYSE            SCHWENGELS            OR        90012440187
56567432972B36   BARBARA           PORTILLO              CO        90014024329
5656743672B27B   DARRINIQUE        REAVES                DC        90014414367
56567453172B36   MARIA             RAMIREZ               CO        90002574531
56568878372B93   LISA              BURNS                 CO        90001898783
5656936115754B   JASON             HOBBS                 NM        90008113611
5656988665B223   EARL              GARTH                 KY        90000198866
56569A29293754   CIRILO            MODI                  OH        90006440292
5656B188172B88   BRETT             KNIGHT                CO        33073201881
5656B884672B38   ANTHONY           LUCERO                CO        90015018846
5656B923291895   ASHLEY            DORRIS                OK        90008429232
5656BA52785928   LEONOR            MARTINEZ              KY        90011750527
5657148557B365   JUAN A            SANCHEZ               VA        90009654855
56571A51772B27   GONZALO           ESCARENA-DURAN        CO        33092070517
56571A84185928   MICHAEL           WHISMAN               KY        90008760841
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56571A9837B46B   TAMMY          GREGG                  NC          90013250983
56571AA3955997   LAURA          GUTIERREZ              CA          90014790039
56572119972B43   RICHARD        GOMEZ                  CO          90014831199
5657244535B387   AMBER          ECHAVARRIA             OR          90013064453
56572919172B27   CAROL          RUSHTON                CO          33030289191
56573388472B67   ANTONIO        OJEDA                  CO          33017243884
5657385592B27B   KATRINA        POGE                   DC          90012848559
56573A6A65B399   GRACE          ERICKSON               OR          44507980606
5657484A555997   NORBERTO       MARTINEZ               CA          90012948405
5657537292B27B   JEAN PAUL      KAIKOUMI               DC          90006453729
56575938872B36   JOSHUA         PAUTZ                  CO          90012469388
5657651915B399   MATTHEW        INGRAHAM               OR          44577595191
5657674425715B   ABDULHAKIM     ABDI                   VA          81059537442
56577172372B38   JESSICA        HAMILTON               CO          90010691723
56577A3855B236   IVAN           LEDEZMA ANDRADE        KY          90004460385
56578355272B27   JOSHUA         HEBERT                 CO          90012883552
56578A1574B525   LIZA           WOLF                   OK          90010570157
5657912415B387   TRACY          KAIN                   OR          44514601241
5657964345758B   GABRIEL        PACHECO                NM          90007236434
5657B38784B588   CRYSTAL        BROWN                  OK          90007093878
5657B598A72B67   SHAWN          BEARD                  CO          90014715980
5657B62365715B   ELSI           GARCIA                 VA          90013306236
5657B72445715B   MONIQUE        POSADA                 VA          90004247244
5657B879661965   ABDULLAH       JUMAH                  CA          90013368796
5658166965758B   CRUZ           RENE                   NM          90004186696
56582A77331428   VERONICA       ORTIZ                  MO          90010510773
5658327A585928   CESILIA        GARCIA                 KY          90007192705
5658339A455997   MATTHEW        GRAHAM                 CA          90013903904
565833A7757157   THOMASINA      FORD                   VA          90014793077
5658342784B588   PATRICIO       HERNANDEZ              OK          90004954278
5658345AA5715B   MAIRA          SANCHEZ                VA          81073494500
565834A8772B67   JEFF           CRISAFULLI             CO          90006684087
56583918772B49   ADRIAN         GARCIA                 CO          90006889187
5658394AA72B27   OMAR           ESTEVEZ                CO          90012569400
56584361372B43   DIMITRIUS      TRUJILLO               CO          90003323613
565854A6257157   EUGENE         MORTON                 VA          90014794062
565861AAA5B399   SCHILTA        BELL                   OR          44503441000
5658622A533699   TAMOTHY        HACKETT                NC          12055982205
565862AA172442   MICHELLE       LEWIS                  PA          51025982001
56586317472B49   JOHN           TUCKER                 CO          90014593174
56586328A85928   JEREMY         HUNTER                 KY          90014853280
565868A9261965   MORGAN         BEAN                   CA          90004518092
5658761A373268   ZANETA         PARKER                 NJ          90014916103
56587A8884B521   LOUREN         COPELAND               OK          90006710888
56588279872B67   BUTLER         LIONEL                 CO          90005712798
56588796424B7B   NAKIA          GANT                   DC          90014157964
56589328A31429   JEREMY         PATTERSON              MO          90005513280
56589388772B43   JUAN           SUAREZ                 CO          90011863887
565893A3185928   EMILY          SCHILDERS              KY          90013943031
5658991A631429   JEREMY         PATTERSON              MO          90012649106
5658B387755997   ADRIAN         LOPEZ                  CA          90012903877
5658B99677B46B   CAMONE         ALLISON                NC          90012549967
5659243295B271   JON            NUSS                   KY          90002334329
56592452672B88   HILARIO        SANDOVAL               CO          33001484526
5659257A251329   KATHLEEN       GORDON                 OH          90011345702
56592932A61971   THONG          VU                     CA          90010749320
56592A14257157   ELVIA          VALLADARES             VA          90011700142
56592A46651348   CHASTITY       REDMON                 OH          90008920466
56593117572B49   GEISY          ALVARENGA              CO          90007051175
56593472872B27   JUAN           MARTINEZ               CO          33049314728
5659355465B399   DAVID MARCUS   WILLIAMS               OR          90013195546
56594524A72442   CARL           LEWIS                  PA          90007165240
565949A945715B   BEDFORD        KING                   VA          90014339094
56595694372B36   IRMA           SALMERON               CO          90012546943
56596663A72B49   LOVETA         MOYA                   CO          33081566630
5659692A25715B   JOHN           WESLEY                 VA          90002929202
56596932772B88   LINDA          CALLAHAN               CO          33073209327
56597241A33699   GABRIELA       GONZALEZ               NC          12013322410
56597518372B27   VANESSA        SALINAS                CO          33043215183
56598175572B43   SAULO          FLORES                 CO          90013501755
5659839345B236   NECO           JONES                  KY          68003933934
56598951172B67   CARLOS         CARRILLO               CO          33019469511
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56598A56855939   SABINA          SOLIS                 CA          49014820568
5659943575715B   JOSE            FELIPE                VA          90002084357
565B119885B399   BRIAN           AHRENDT               OR          90013051988
565B127A672B36   CLAUDIA         GUTIERREZ             CO          90014002706
565B13A7A5758B   ABIGAIL         MENDEZ                NM          35579183070
565B1839391895   ALMA            LOPEZ                 OK          21065488393
565B221725B399   KATHLEEN        RICH                  OR          90011032172
565B28A1631428   RHONDA          JONES                 MO          90006498016
565B3258341247   TOSI            WORTHAM               PA          51029222583
565B433133B372   SHAWN           MATHER                CO          90001693313
565B43A8972B88   FRANSISCO       MATA                  CO          33005303089
565B49AA385928   JAMIE           STAMPER               KY          90013939003
565B5434A4B521   DANA            HAMPTON               OK          90000824340
565B559A572B88   RONALD          MOORE                 CO          90009735905
565B567535B531   JOHN            LASKY                 NM          35055386753
565B574485B271   DYANN           STEWART               KY          68081867448
565B581115B399   DARCIE          SHUPP                 OR          44538328111
565B5852491895   SARA            RAMIREZ               OK          21053348524
565B595875B387   BRENDA          SCHREI                OR          44574049587
565B6133672B49   AINISSA         PROCTOR               CO          90008771336
565B6444672B67   SERGIO          SALAZAR-FIGUEROA      CO          33000694446
565B646885715B   LUIS            FUNES                 VA          90014474688
565B6492772B43   DIANA           VALDEZ                CO          33037744927
565B6512155997   CONSTANTINO     VALDEZ                CA          90013925121
565B6855661965   MARC            ARMBRISTER            CA          46037758556
565B7152571923   RONALD          ROBB                  CO          90011831525
565B7375861965   BASSAM          HANNA                 CA          90004353758
565B7637772B38   JENNIFER        THOMAS                CO          90012666377
565B7816172442   TINA            JOHNSON               PA          51001668161
565B78A916B257   ANTONIO         SEGURA                CO          37017068091
565B7A78972B67   THERESA         MONTOYA               CO          33047080789
565B819394B588   LOURDES         MARTINEZ              OK          90008681939
565B823582B27B   NATHANIEL       NAILS                 DC          90015262358
565B8616985928   ERIC            HARRIS                KY          90013156169
565B8766491895   OSCAR           LOPEZ                 OK          90011147664
565B8A25A55939   ERIC            DOMINGUEZ             CA          90012310250
565B912387B46B   ISADORE         CLARK                 NC          90000341238
565B9265A72B49   CHAVEZ          CHAVEZ CARRASCO       CO          90002622650
565B933925B387   ROBERTO         ROSALES               OR          90014903392
565B955842B27B   DASEAN          DRUMMOND              VA          90014275584
565B966AA33645   LESLIE          EGEONU                NC          90013126600
565B9A5215758B   MARISELA        SHUMWAY               NM          90002110521
565BB16A65B371   JAYMI           JUNG                  OR          90013971606
565BB45634B588   TOMMY           SCOTT                 OK          21595554563
565BB724572B27   PATRICIA        GUTIERREZ             NC          33073357245
5661115165B399   HEATHER         AYERS                 OR          44501421516
56611323972B27   MASON           MCINTYRE              CO          33020943239
56611396A57128   MARIA           CRUZ                  VA          90012623960
566114A975B387   JOSHUA          DAVIS                 OR          90007764097
56611728572B36   CECELIA         MILLER                CO          90008157285
5661231A631462   CARLOS          NEWBY                 MO          90007263106
56613188172B88   BRETT           KNIGHT                CO          33073201881
56614724A55997   MATHEW          ELISALDE              CA          90013927240
5661478A172B38   KATINA          VALENTINE             CO          90011507801
5661483692B27B   NAMES           THOMPSON              DC          81066848369
5661497665715B   MARIBEL         SAYSON                VA          90014479766
56614A23A51348   VALARIE         POLLARD               OH          66093220230
5661519425B271   KEITH           THOMPSON              KY          90004381942
5661521145B531   MARCI BENALLY   CAROL WASHBURN        NM          90013372114
56615576972B27   ADAN            ROMERO                CO          33037025769
56615582A91895   JAMES           ARTHUR                OK          90009825820
566161A255B236   ALICIA          HARRIS                KY          68041351025
56616298A41292   JOHN            SEITZ                 PA          90012712980
5661724A54B588   RIKKI           SMITH                 OK          90014002405
56617297472B27   NICOLE          PERKINS               CO          33083742974
56617382272B67   VARNELL         JENKINS               CO          90001593822
566176A7491895   CLAUDIA         CALDERON              OK          90007866074
5661842682B27B   TRACEI          FLEMING               DC          90014874268
5661921345715B   SERGIO          VILLEGAS              VA          81070222134
5661931825B283   JAMIE           DENNISON              KY          90011973182
5661938A831428   GEROME          TOLLIVER              MO          90009583808
5661959125B387   SUZETTE         TINKESS               OR          90015155912
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5661B57125859B   ISIDORO     BAUTISTA-GOMEZ            NY          90015395712
5662151157B46B   MICHAEL     HAMILTON                  NC          90013215115
5662154615B387   GAIL        SAYRE                     OR          44597735461
5662174A942363   MARANDA     KELLY                     GA          90008577409
5662197314B588   REGINALD    BURRIS                    OK          90015179731
56621A5515758B   ACOSTA      JULIA                     NM          90010390551
5662238A842363   SUSAN       NATION                    GA          90006073808
5662341175B283   HEATHER     ASHLEY                    KY          68075264117
566235A8872B36   CHERYL      WATKINS                   CO          90004295088
56624367672B67   ROXANE      URIOSTE                   CO          33083463676
5662448685B387   KATHRYN     DISHMON                   OR          44507824868
5662526425B387   MIKE        CIAFFONI                  OR          44585022642
5662645285B283   GLENN       ROSA                      KY          90005514528
5662679295B387   JORGE       VILLEGAS                  OR          44593107929
56627163972B43   MARTA       COTEZ                     CO          90004251639
5662878465B236   CHRISTINA   SLOVAK                    KY          90014547846
5662916815B283   MELISA      CUNNINGHAM                KY          68007301681
56629589A55997   ALEJANDRA   MALDONADO                 CA          90005645890
5662966255758B   IRMA        SALINAS                   NM          90015456625
56629961A72B49   RIVERA      ANITA                     CO          90004039610
56629A17131428   TRANADA     FINLEY                    MO          27563760171
5662B2A8A5758B   KATHLEEN    MONTOYA                   NM          90009562080
5662B343957157   EMILIA      HERNANDEZ                 VA          90000403439
5662B6A8772B27   RITA        NIETO                     CO          90001596087
5662B881372B49   HILDA       ESPINOZA                  CO          90001518813
5662BA6A851348   RUBY        JOHNSON                   OH          66009470608
566313A895B531   BILLY       HARTZOG                   NM          35076533089
5663173865B387   ISIDORO     REYES                     OR          44563437386
566318A8972B49   JOSHUA      LUCKEY                    CO          90012868089
5663199715B399   JESSE       EICHSTAT                  OR          90012699971
56632185824B7B   TREVON      DEAN                      DC          90004231858
56632531572B38   PATRICIA    HERNANDEZ                 CO          90011035315
5663279355B387   ANGELAH     HILL                      OR          44587027935
56632A5515758B   ACOSTA      JULIA                     NM          90010390551
56633172672B38   HONEY       MONEY                     CO          90009691726
566331A4691895   SARAH       SNIDER                    OK          90015181046
566331A967B362   ADBUL       COLE                      VA          90010731096
5663344134B588   VICTOR      VALADEZ                   OK          90004644413
56633679572B27   WUBSHET     SILESHI                   CO          90012946795
56633773672B49   JOSE        JURADO                    CO          33069877736
56633A45A61971   DANIEL      PENNISON                  CA          90012840450
56634265772B36   JURIEL      FLORES                    CO          90011982657
5663463515B271   LAZARO      DE LA NUEZ                KY          90005796351
566349A295B93B   BERTHA      FARIAS                    WA          90015369029
5663551A95B236   KELLIE      ROGERS                    KY          68013095109
5663636575B531   MALLORY     DEVARGAS                  NM          90014003657
566365A345715B   EDGAR       HUOX                      VA          90002325034
5663678A872B43   MARIA       MATA                      CO          33020277808
56637326A72B38   MARIA       ROMOS-AGUAYO              CO          90012903260
56638581A91587   GILBERT     MARTINEZ                  TX          90010135810
5663928975B387   JENNIFER    MILLER                    OR          44555952897
566392A2A5B351   TAMIE       MILLS                     OR          90008352020
5663934535B399   ROSA        MENDOZA                   OR          90014893453
5663973545758B   IGNACIO     NUNEZ                     NM          90009217354
5663B479A86545   JEREMY      WADE                      TN          90015554790
5663B662885928   TINA        SUMPTER                   KY          90013156628
5663BA9874B588   ZACHARY     TUNISON                   OK          90013580987
5663BAA765B543   CINDY       MARTINEZ                  NM          90003350076
5664152394B588   ANGELA      GLENN                     OK          90002145239
5664231A15B531   SAMANTHA    PALACIOS                  NM          90013063101
5664282AA55997   BERTA       CAMACHO                   CA          90012398200
566431A285B236   CONTROL     FREAK                     KY          90010471028
5664342635758B   ANTONIO     LUNA                      NM          90007564263
566436A8757157   TASHANDA    JORDAN                    VA          90014806087
56643AA8A7B46B   JUAN        HERNANDEZ                 NC          90014970080
5664441817B491   SAHARA      JACKSON                   NC          11012814181
5664448795B387   LEEANNE     CHAVEZ                    OR          44552764879
5664449995B551   MARK        GEER                      NM          90010784999
5664513465758B   GOMEZ       YAQUELIN                  NM          90012001346
5664546875B387   FABIOLA     MARTINEZ                  OR          44504124687
5664663215B531   DAVID       SANDY                     NM          35086496321
5664715462B27B   KENYATTA    LYNCH                     DC          81035851546
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2478 of 2500


56647384A72B38   JOSEPH                BAVENDER          CO        33084573840
56647859172B36   ALBERTO               SALAZAR           CO        90013668591
56648234272B49   LUIS                  AGUILAR           CO        33048942342
5664859645715B   LUIS Y MARIA GARCIA   ORELLANA          VA        90014315964
5664881995B387   TIFFANY               TERBENCHE         OR        44557568199
5664882835B531   KARINA                MORA              NM        90012178283
566489A965758B   JOYCE                 HICKS             NM        90015039096
56649A1427B46B   PAMELA                STRAYER           NC        11084450142
56649A9395715B   HERSON                RUIZ              VA        81047150939
5664B62112B27B   WALTER                MARTINEZ          VA        90011486211
5664B944685928   GARY                  NEEDHAM           KY        67084109446
5664B987A72B27   MONICA                SAENZ             CO        33084299870
5665123A772B88   LORENA                CORTEZ            CO        90005922307
566513A1591587   BRAD                  WEAVER            TX        90000263015
56651A1794B588   MOZELLA               JACKSON           OK        90014870179
5665234144B588   SEKEINA               EBERSON           OK        90006793414
566523AA572B36   DEIDRA                VALDEZ            CO        90015213005
5665372145B399   GERVACIO              RIOS              OR        90012907214
5665485A877522   EDWIN                 LOPEZ             NV        90006378508
5665514225B129   TIONA                 WATSON            AR        90005991422
5665515AA61965   BUFFY                 BRIGGS            CA        90008621500
5665571625715B   IRMA                  SANDOVAL          VA        90013307162
56656765998B47   SAMARIA               TRUESDALE         NC        90014327659
5665741737B46B   SILVIA                PEREZ             NC        90014884173
5665767992B27B   FRANCESCO             KELLY             DC        90013966799
5665772295B543   MABEL                 CHAVEZ            NM        90003277229
5665786465715B   JULIO                 HILARIO           VA        81096048646
56657AA3155939   NADINE                APOLONYA          CA        90011100031
5665919912B27B   THERESA               KEMP              DC        81016111991
5665937755758B   VICTOR                MALDONADO         NM        35585213775
56659534A61965   TIMOTHY               ADONA             CA        90012495340
5665974295B543   DIANA                 LAGUNAS-MINGURA   NM        90003277429
56659743A72B43   JOSEPH                RAMIREZ           CO        90003727430
5665B1A4172B43   LEOPOLDO              CHAVARRIA         CO        33052621041
5665B237972B27   KATHRYN               BROWN             CO        33061432379
5665B62A831429   ROBERT                CARTWRIGHT        MO        90005516208
5665B72A372B36   REBECCA               LOPEZ             CO        33055777203
5665B797691895   SHERRY                MARTIN            OK        90013197976
5666115215715B   KHALED                DJAHRA            VA        90012561521
5666127A191587   HILBERTO              VASQUEZ           TX        90014832701
56661367572B38   KAYANA                LITTLE            CO        90003013675
56661A22A51348   JESSE                 BALL              OH        90015300220
56663A8825B543   LISA                  SUAZO             NM        35089550882
56664384872B36   MARTIN                CABRAL            CO        90013783848
5666512234B588   DEANA                 GABRIEL           OK        90009321223
5666534A661971   VICTOR                LOPEZ             CA        90013123406
56665A3337B46B   JESSICA               CARTER            NC        90014680333
5666665477B379   RIMBER                FERRUFINO         VA        81016986547
56667856172B43   CAROL ANN             LANG              CO        90009818561
56667A1AA4B29B   NICHOLAS              KANSAS            NE        27067430100
566686A7655997   YASMIN                ARZOLA            CA        90013936076
56668A5145B543   JASON                 JOHNS             NM        90001590514
566692A2755997   JOSE                  GARCIA            CA        90015042027
56669394872B43   WALTER                ABREGO            CO        90015143948
56669472372B38   RUBEN                 FLORES-RIVAS      CO        90014824723
5666949187B46B   BRENDETTA             SPENCER           NC        90004254918
56669916A61971   TRACIE                DEAL              CA        90010919160
5666B22448168B   WILLIAM DE JESUS      HERNANDEZ         KS        90007212244
5666B46745B399   KATHLEEN              KOHLER            OR        90003004674
5666B865272B43   TODD                  HASEN             CO        90012228652
5667172612B27B   MARCELLUS             PATE              DC        90011377261
566717A185B387   CLARENCE              WATTS             OR        44532607018
56671A61751348   DAMITA                HARRIS            OH        90013400617
5667225547B46B   TIA                   HOWARD            NC        90000412554
566722AA955939   ALONDRA               CALDERA           CA        90013822009
56672878272B27   MELISSA               MCKISSACK         CO        90009758782
56672A98957591   CHRIS                 TERRY             NM        90001730989
56673414A7B46B   SHADATIA              WARD              NC        90003954140
56673841A72B67   CHARLES               GROSSO            CO        33022808410
56673A42A72B2B   TIFFANY               HILL              CO        90009060420
5667431275758B   MARTHA                VILLA             NM        35519893127
566748AA14B221   JASON                 HECKMAN           NE        90001988001
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56674A1565B399   DAVID            SHAW                 OR          90006300156
56674A5A584357   DEREK            WASHINGTON SR        SC          90004600505
56675659A72442   VICKI            THOMPSON             PA          90004276590
5667586462B27B   MICHAEL          HAWKINS              VA          90008538646
566759A2772B43   SWAN             SAUNDRA              CO          33006319027
5667688495B531   ANTOINETTE       QUINTANA             NM          35047478849
5667726255758B   ERIKA            CORRAL               NM          90015132625
56677A24761971   LORENA           EDEZMA               CA          90010460247
56679AA1351348   CAITLYNN         BAKER                OH          90014780013
5667B77AA91587   VIANA            FRANCO               TX          90009877700
566813A2733699   EDGAR            JOHNSON              NC          12085443027
566823A8185928   DOUG             GOLDEN               KY          90000543081
56682425372B38   NICOLE           GETZ                 CO          90011224253
56683659A72442   VICKI            THOMPSON             PA          90004276590
5668416515B399   ANTIONE          FARVE                OR          44524731651
56684628272B88   MARTHA           CORTEZ               CO          90003206282
56684733A55997   MARIA            PINEDO               CA          90014737330
566849A4385928   LISA             SANDERS              KY          90013949043
5668547137B46B   SEFERINO         CASTILLO             NC          90013754713
5668653695B399   LAYNA            XOCHITL              OR          90009905369
56687213A72B49   BUCK             FISHER               CO          90013582130
5668756A672B27   JEREMY           WRIGHT               CO          33014575606
56687968572B67   VARGAS           ASALIA               CO          90006779685
5668915765715B   MERCEDEZ I       COTES                VA          90005751576
5668949573B372   JENNIFER         PHILIPSON            CO          90000824957
56689971672B67   ISABEL           GONZALEZ             CO          90002279716
5668B4A5491587   LISA             ARREOLA              TX          90004254054
5668B6A4885941   NICK             LISCOMB              KY          90014106048
5668B738172B67   NANCY            ORTIZ                CO          33024257381
5668B78AA91895   SHIRLEY          SEAL                 OK          90007867800
5668BA46891895   NATALIE          ACEVEDO              OK          90010480468
566911A342B27B   HATERIA TAMIKA   PEARSON              DC          90011981034
5669143695B551   MARTHA           HIDALGO              NM          90012474369
5669194165B393   HERNAN           CASTELAN             OR          90002659416
5669195A972B49   JORGE            ORNELAS              CO          33099789509
5669298A485928   CHARMAINE        WASHINGTON           KY          90013949804
56693361A55939   ELMER            ORTIZ                CA          90014353610
5669445647B339   CHRIS            JOHNSON              VA          90001754564
56694488A91535   SERGIO           GOMEZ                TX          75006544880
56696171772B49   JAMES            DEAGUERO             CO          90014961717
56696821972B67   FRANCISCO        BARRAGAN             CO          33067248219
5669691875B387   NECHERI          GRANT                OR          90015119187
566969A4385928   LISA             SANDERS              KY          90013949043
5669828AA5B399   STEVE            KOEHLER              OR          44575862800
5669876893B352   STACIA           SCHMIDT              CO          33085507689
5669882865758B   SOCORO           VILLEGAS             NM          90013188286
56698A57472442   SHERRY           CHILZER              PA          51062800574
56698A76A72B27   JAZZMINE         PETERSON-WOODRUM     CO          90006240760
56699551372B38   NICK             LAUS                 CO          90010185513
5669959484B588   JOSHUA           WELCH                OK          90013505948
56699694A72B43   UVALDO           VARGAS               CO          33018096940
56699695172B88   BLAKE            LEWIS                CO          33073216951
5669B476A72B43   OMAR             RAMOS PASILLAS       CO          90012894760
5669B69A685928   DIANE            SPENCER              KY          90013856906
5669B962891587   GENARA           ALQUISIRA            TX          90002289628
566B1263533699   TANJA            BROWN                NC          90003812635
566B14A635B387   RIANTE           BADON                OR          90014514063
566B287444B588   KAREN            FLETCHER             OK          90011028744
566B2A96261965   ANTONIO          TEJEDE               CA          90008620962
566B327487B46B   ZAVEUS           FLOWE                NC          90014872748
566B412325715B   ADALBERTO        RECINOS              VA          90000831232
566B4136561965   GEORGE           RAMIREZ              CA          90013171365
566B4516957157   KENDRA           CHAPMAN              VA          90014795169
566B4872457148   MANUEL           DELAFUENTE           VA          90007168724
566B48A5A72B36   JUANITA          LOPEZ                CO          90012928050
566B499965B399   LYLES            DICKERSON            OR          90013779996
566B5239451348   GREGORY          SCHLAKE              OH          66013272394
566B541885758B   SABRINA          DELATORRE            NM          90012194188
566B5538157157   DELTON           BRODIE               VA          81065035381
566B6427872B38   JAMES            THOMPSON             CO          90001074278
566B69A9797123   LARAINE          SANCHEZ              OR          90014079097
566B6A6A372B36   TY               CAMPBELL             CO          33039360603
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566B79A3872B49   ANGIE        MORTENSEN                CO          33037999038
566B8716872B27   THOMAS       MELTZ                    CO          33056647168
566B899715B399   JESSE        EICHSTAT                 OR          90012699971
566B89A385B543   DARRELL      COLE                     NM          35089719038
566B941A65758B   MARIA        ORTIZ                    NM          35500884106
566B9473155939   ANGEL        COLE                     CA          90014694731
566B9567672B27   CAMERON      BECHTLE                  CO          33038305676
566BB15885B399   ENRIQUE      HERNANDEZ GOMEZ          OR          90014201588
566BB447351348   NIKKI        GOINS                    OH          90014684473
566BB466A5715B   MARIA        SANTOS                   VA          90014734660
566BB98445B543   TOMAS        AHUATZI                  NM          35057289844
56711399672B43   NURA         ZIMAH                    CO          90010763996
567113A2272B36   ADERONKE     OGUNREMI                 CO          33090113022
56711631672B49   ARACELI      GONZALEZ                 CO          90011286316
567121A795599B   ROBERT       LOPEZ                    CA          90005311079
567124A1991587   BRYAN        ALVAREZ                  TX          90014504019
567144A3991587   DENNIS       YBARRA                   TX          90014844039
56714733A55997   MARIA        MORALES                  CA          90013667330
5671617835B531   CARLA        CABRERA                  NM          35087091783
567168A7557157   CHARLES      WD                       VA          90014818075
56716A94161971   ROSALBA      HELWA                    CA          90013780941
5671732487B49B   PHILLIP      HUTSELL                  NC          11098603248
56717573524B7B   GENARO       GARDUNO OSORNIO          VA          90014795735
567175A235758B   ISAAC        COLE                     NM          90002445023
5671776155715B   RACAEL       GARAY                    VA          90009997615
56717788972B27   SUSAN        ANDERSON                 CO          33052937889
56717A81757157   ELIAS        APARICIO                 VA          90011270817
5671964A872B27   ALMA         DIAZ-LUJAN               CO          90002536408
56719A81885928   OBDULIO      RAMIREZ LOPEZ            KY          90013950818
56719AA2A72B38   BRET         KERR                     CO          33039770020
5671B26124B588   DAVID        YAHOLA                   OK          21570422612
5671B746785928   TARLA        DERANGER                 KY          67028197467
5671BA33261971   MIGUEL       VALDEZ                   CA          46087080332
5672112265593B   ALFREDO      HERNANDEZ                CA          90005161226
5672132A655997   NORMAN       RIOS                     CA          49023733206
5672137A45B531   DEBBIE       PARSONS                  NM          35060193704
56721986972B67   MARIA        DELCARMEN                CO          90002279869
5672212265593B   ALFREDO      HERNANDEZ                CA          90005161226
5672232254B588   JAMIE        DAWN                     OK          90013043225
5672332734B588   KAYLEE       LEDFORD                  OK          90012793273
5672364164B29B   CONNIE       GRANT                    NE          27068316416
56723646172B27   MYRON        PLENTYWOLF               CO          33066436461
56723A9675B236   DENNIS       SALING                   KY          68035090967
56724449372B38   JUNITA       BISWA                    CO          90013934493
56724A34A55997   JORGE        SARAGOZA                 CA          90012350340
567251A8785928   JOSUEL       ECHEVERRIA               KY          90013951087
56725333472B43   ANTHONY      SAIZ                     CO          90012643334
5672557895B538   MARLEN       ARROYO                   NM          90001685789
5672582795715B   ALEXANDER    CASTILLO                 VA          90013698279
567258A8861965   SAMIR        TOUMA                    CA          46078848088
5672613A155939   CLISSIE      CROWNOVER                CA          90003651301
5672635A651348   ARIANA       AUSTIN                   OH          90013943506
5672676A191587   CONCEPCION   RAMIREZ                  TX          75056287601
56726A14A5758B   CLAUDIA      MINJARES                 NM          90011130140
5672767574B588   CHRISTINE    JOSEPH                   OK          90003186757
5672768A751348   MULUGETA     GIZAW                    OH          90005116807
56728121A85928   KAUSHA       MILLER                   KY          90013951210
5672895467B46B   ANSELMO      CASTILLO                 NC          90014179546
56728A51761965   DANIEL       SHOULTZ                  CA          46064910517
56729245872B43   ALICIA       ROMERO ESTRELLO          CO          90004812458
5672934A391587   JESUS        FLORES                   TX          90013393403
567297A3472B88   JULIE        ATENCIO                  CO          33004517034
56729961A61971   LILIANA      VALDEZ                   CA          90007369610
5672B78842B27B   DEMETRIUS    PEELER                   DC          90006787884
5672B919A4B588   ALEJANDRO    LANDEROS                 OK          90010679190
5672B986572B36   ANGELINA     RODRIGUEZ                CO          90014139865
5672BA4A172B49   KELLY        CASTILLO                 CO          33069000401
5673152125715B   AUSTIN       RILEY                    VA          81095545212
5673159637B46B   STEPHEN      BRYDEN                   NC          90008065963
5673161A65B531   MELISSA      BARRERAS                 NM          90010876106
567318A875B271   RITA         MEEKS                    KY          90012508087
5673346A32B221   RODERICK     MYERS                    DC          90000284603
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5673349745B399   JENNIFER             PICKNER              OR      90012994974
56733919172B67   CYNTHIA              BOWSER               CO      33041789191
56734375672B49   JAIME                KENNEDY              CO      90013363756
56734A6745B236   REBECCA              ALLEN                KY      68020020674
56735557A5B399   CASANDRA             REYNOLDS             OR      44576685570
56735AA2884329   JESUS                AVILA                SC      90008000028
56736593472B43   BEATRIZ              CABALLERO            CO      90007345934
5673B143785928   GABRIEL              MORALES              KY      90013951437
5673B227251348   TERESA               ROBBINS              OH      90014602272
5673B448172B36   RACHEL               RUBY                 CO      90008124481
5673B69A94B588   BENARDO              MARTINEZ             OK      90014816909
5673B95232B27B   DEVONTE              HOWARD               DC      90012849523
5674232734B588   KAYLEE               LEDFORD              OK      90012793273
5674267855758B   ANTENETTE            RAMIREZ              NM      90012466785
56742718872B36   AKILAH ESHE LILLIE   MITCHELL             CO      90012617188
567434A332B27B   PRANA                BELL                 DC      90001444033
56744218172B36   YULIANA              CORONADO             CO      90013782181
56745214672B38   GEORGE               LANG                 CO      90013042146
5674552A25B271   ALICIA               CUMMINS              KY      90010575202
56746423A5B399   AUDRA                REED                 OR      90015134230
5674712322B574   GRAY                 MC                   AL      90014541232
5674724525B387   LISA                 DOGGETT              OR      90001112452
5674818933B394   MYNOR                GARCIA               CO      33079901893
567482A6572B88   DAVID                DAMIAN               CO      33010402065
5674869A94B588   BENARDO              MARTINEZ             OK      90014816909
56748A19172B49   KARINA               AGUILAR              CO      33091660191
5674949595B399   SERGIO               VASQUES              OR      90013904959
5674971A62B27B   TAMEKA               ROBINSON             DC      90014247106
5674978672B27B   OSCAR                ALVAREZ              DC      90011127867
5674B1A342B27B   HATERIA TAMIKA       PEARSON              DC      90011981034
5674B84A95B387   TIFANI               KNIGHT               OR      44533498409
5674BAA3761965   DAWN                 SMITH                CA      46036490037
567522AA32B27B   ASHLEY               CRESTWELL            DC      90009322003
56752634A72B36   WENDY                GARCIA               CO      90013096340
567526A455B399   PUREZA               RESENDIZ HERNANDEZ   OR      90009646045
56752969672B67   NEIKO                AMBROSIO             CO      33025569696
56752AA8761965   MARTY                ISENMANN             CA      46001940087
5675329735B387   DRANDY               HARDISON             OR      44584092973
56753748172B36   CARLY                HOFF                 CO      90014127481
5675399173B332   SHAWN                ELLIS                CO      90010289917
5675399A491895   MISTY                BRACHNA              OK      90010969904
56753A68557157   HALEY                FRANK                VA      90009090685
56754464A72B27   GABRIELA             ZAMORA               CO      90009194640
56754716972B43   MARTHA               UROZA                CO      90007897169
5675491A555939   JOSE                 SANTOS               CA      90012729105
56755716972B38   CAROLINE             DURAN                CO      90012657169
56755AA4791895   EQUA                 ANTAI                OK      90010970047
5675661984B29B   HECTOR               BANDERAS             IA      90001656198
567578A692B261   DAVID                TERRY                DC      90002088069
5675854785758B   GABRIEL              JARAMILLO            NM      90015205478
5675874425B387   JEREMY               CLARK                OR      90005107442
56758799172B88   SANDRA               MOLINA               CO      33011407991
56758A39A55939   LEANNE               TREVINO              CA      49012910390
56758A43472B67   COLBY                ZECH                 CO      90011200434
5675941885715B   BRAIN                MASIN                VA      90011924188
56759899A72B36   DIANA                YRINEO               CO      33005538990
56759993A5758B   SHARON               BARTLEY              NM      90012559930
56759A2315B236   ANGELA               BROWN                KY      68000870231
56759A3195B543   TYRESHIA             CHESTNUT             NM      90003280319
5675B7A585B543   VERONICA             PIEDAD               NM      35011487058
56761A9A78B356   SHANAVIA             MCFADDEN             SC      90013940907
56762211372B88   RENE                 MANGE                CO      90007062113
5676227A692852   MARTHA               ANDARDE              AZ      90014292706
5676276725715B   JESSICA              MENDEZ               VA      90008707672
56763339372B38   ROBERT               WILLIAMS             CO      90013753393
56763941872B58   BRITTANY             LEIGHANN             CO      90010869418
56764172272B27   VIVIAN               ANDREU               CO      33024581722
5676438815B531   MIGUEL               CASTREJON            NM      35099383881
5676439A731429   ROBERT               JOHNSON              MO      90010483907
56764A2775B399   CORRENA              COLEY                OR      90013450277
567653A9191587   RITA                 ONTIVEROS            NM      90012803091
567658A9561965   ROSA                 GARCIA               CA      90013308095
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56765948A72B38   PEDRO           ROJAS                 CO          33000569480
56765A3584B588   NATASHA         KENNEDY               OK          90013170358
5676642774B29B   BEVERLY         WEBB                  NE          27005894277
5676678554B521   EDILSAR         GONZALES              OK          21516167855
56767387172B27   JAMES           WHITE                 CO          33091473871
56767551172B38   TORRES          JOSE                  CO          33090495511
56768711372B98   VIRGINIA        AMBRIZ                CO          90009617113
56769231A5598B   SARA            ALVAREZ               CA          90007742310
5676B266585928   MELISSA         TOLES                 KY          90014962665
5676B381872B43   BR2AN           WILLIAM               CO          90015173818
5676B53145715B   ERICKA LORENA   GARCIA ALVAADO        VA          90011785314
5676B67115758B   SARAH           CLOSSON               NM          90000806711
5677183485B399   RAYSHELL        COOPER                OR          44539208348
5677223A284357   LATOYA          LESESENE              SC          90009832302
56772726472B49   SL              MORALEZ               CO          33008437264
56772A9967B46B   SUGEY           MANZANARES            NC          90011910996
56773372872B36   TRACEY          ULRICH                CO          33091793728
5677365125B399   MARIA           ZEPAHUA               OR          90008926512
56773A5887B362   GERBER          BARRIOS ANGEL         VA          90006980588
5677439272B27B   LAKEYVETTE      SEARS                 DC          90014323927
5677559165758B   LILLIANA        HERNANDEZ             NM          35588035916
5677583342B27B   ANTONIA         WILLIAMS              VA          81047118334
5677616AA5B387   MARGARET        RANGEL-CRUZ           OR          90014221600
567765A1A2B27B   LESLIE E        JENNINGS              DC          81009255010
5677675A561971   MICHAEL         ROSE                  CA          90013057505
567769A3184357   CAROL           LEE                   SC          14570739031
56777829624B35   JUAN            PEREZ                 VA          81098178296
5677788295B236   AUTUMN          ROBINSON              KY          90003388829
56778297A4B588   ASHLEE          GARDNER               OK          21589442970
56778A55672B49   KRYSTAL         GOODMAN               CO          33034740556
56779439A57157   YOALMO          ARAUJO                VA          81088274390
5677984435B531   ASHLEY          RIVERA                NM          90009898443
56779A58472B93   VERONICA        PACHECO               CO          90001710584
5677B17A15B531   IVETH           ESPINOZA              NM          35090341701
5677B6A9461965   THAIR           BINYAMEN              CA          46032486094
5677B941A61971   IVON            ISSA                  CA          90004799410
5677BA7754B588   LAURA           CANALES               OK          90014150775
56781A58961965   PEDRO           CADENA                CA          90014950589
56782168872B67   ENDHER          PEREZ                 CO          90015311688
5678226287B46B   RAUL            OCHOA                 NC          90012622628
5678247235B271   JERMAINE        BERNARD               KY          90004404723
56783361472B49   GABRIELA        PEREZ                 CO          90003583614
5678344494B521   KANESHA         SHELTON               OK          90007014449
56783495572B38   JOSE RAMON      CHAVEZ MELENDEZ       CO          90014374955
56783641A51348   MELISSA         BURNS                 OH          90007926410
56783721372B67   VICTORIA        GONZALES              CO          33092817213
5678414A372B67   HELEN           MARTINEZ              CO          90011141403
56784834A33682   DAVID           ROBERTSON             NC          90013878340
5678518A45B387   LESLEE          WILCHER               OR          90014031804
5678523742B27B   ZELES           BUTLER                DC          90007002374
56785294672B36   FREDERICK       FONTENOT              CO          90005312946
567853A8191587   VASHTY          VIGIL                 TX          90003113081
56785421372B27   JOHN            CIMAFRANCA            CO          90009034213
5678559484B588   JOSHUA          WELCH                 OK          90013505948
5678564795B543   ERIKA           HURTANO               NM          90012556479
56785785272B36   SAVANNA         MAESTAS               CO          90015027852
56785995A72B38   MALCOLM         COULTMAN              CO          90014559950
5678631195B399   KIMBELY         KANTO                 OR          90011323119
567867A835B387   ELEONORA        SLOVODA               OR          44565587083
56786925872B49   JOY             SURRATT               CO          90007759258
5678753494B588   ROBERT          MAYFIELD              OK          90010145349
5678773333B394   MIKE            ANDREATTA             CO          90009637333
56787811572B67   MARIA           LOPEZ                 CO          90004528115
56788512872B38   JULIO           MEJIA                 CO          90014385128
56788711172B67   CHATAYA         LOLLIS                CO          90000817111
56789426A55939   JOHN            LUNA                  CA          49006134260
56789A3265715B   RUBIA           RODRIGUEZ             VA          90012990326
5678B139872B67   JAMIE           CRAWFORD              CO          90011141398
5678B427991895   JOSHUA          HOEHNER               OK          90014504279
5678B712633699   JAIRO           CAMPOS                NC          90011787126
5678B999651348   CARLA           WILLIAMS              OH          90014859996
5679119A63B35B   MARIA           CARDOZA               CO          90014211906
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56791248672B43   RUDY            SANDOVAL              CO          33049062486
567918A125B399   OSCAR           FERRUZCA-CASTANEDA    OR          90014898012
5679455A25758B   MONIQUE         ROCHA                 NM          90014385502
56794572472B36   GEANESIA        HINTON                CO          90014105724
56795741A91587   CHRISTINE       ANDERSON              TX          90013207410
5679582135B399   ATANACIO        AVELLANEDA            OR          90010938213
56796723A72B36   JEANINE         NELLIS                CO          33096717230
56796972772B67   KATIE           BOBBIN                CO          90003289727
56797329872B49   MICHELE         WAKE                  CO          90014823298
567973A5A55997   PABLO           LOPEZ                 CA          49097373050
567976A584B588   JOHN            MAYFIELD              OK          90009826058
56797829572B49   TERESA          LIGHTHALL             CO          33096938295
56797A7A761971   OSCAR           ALATORRE              CA          90002360707
567981A3961971   JAMES           SASHER                CA          90013651039
56798244672B27   LA QUANA        BROWN                 CO          90013462446
567984A445B399   CHRISTOPHER J   FILLINGHAM            OR          90010724044
5679853557B46B   KEIASHA         BUTLER                NC          90013835355
56798691A4B29B   TONI            WILBURN               NE          27022866910
567991A6857123   BERTA           BERRIOS               VA          90011401068
56799468972B49   DAVID           JIMENEZ               CO          33056694689
5679947467B46B   PATRIC          LEARY                 NC          90003504746
5679962A472B38   ROBERT          KETTERMAN             CO          90010296204
5679B234785928   JANIAH          CARTER                KY          90013972347
5679B31A15715B   ASEFU           AREGAWI               VA          90010233101
5679B51255B387   PEDRO           MARCELINO             OR          90006555125
5679B51275B399   STACIE          WILLIAMSON            OR          44589325127
5679B582172B27   MARGARITA       ARELLANO              CO          33028405821
5679B8A1731665   DENISE L        DAVIS                 KS          90007508017
567B1395272B49   ELSA            BARDALES              CO          90002963952
567B18A5772B38   HECTOR          REYES                 CO          33037318057
567B229185758B   JOHNSON         TAMY                  NM          90006992918
567B2551691587   OCTAVIO         SOLTERO               TX          90012315516
567B2586772B43   OLIVIA          TIEH                  CO          90013175867
567B269495B531   LUCERO          CHAVEZ                NM          90012986949
567B2759357148   ALMA            MACHUCA               VA          90007317593
567B2977A4B588   NATASHA         DEAN                  OK          90011029770
567B322114B521   NAKKITA         YOUNG                 OK          21532992211
567B3253891895   EBOUTOH         FOBIA                 OK          21084932538
567B3559A5715B   RODNEY          CHANDIA               VA          90015285590
567B3A9417B394   CRISTIAN        FERREL                VA          81094500941
567B487985B531   VELMA           BLACK                 NM          90011888798
567B4A41872B38   SENA            LINDA MARIE           CO          33076380418
567B523195B399   NORMAN          CORTES COKER          OR          90014812319
567B529515758B   ALICIA          MORALES               NM          35508442951
567B551515B543   JEANETTE        TURNER                NM          35072135151
567B5557172B67   CHARLIE         GARZA                 CO          90011155571
567B576A761936   KARLA           MARQUEZ               CA          90008047607
567B5799755997   VERONICA        MENA                  CA          90013937997
567B6298672425   SHARON          HOHN                  PA          90007692986
567B6599172B36   IVONNE          ALEMAN                CO          90012415991
567B6862851348   LISA            RATLIFF               OH          66035568628
567B69A1872B49   GIOVANNI        BANUELOS              CO          90005089018
567B7347A57157   ATIF            ZIA                   VA          90012943470
567B7358872B43   RAQUEL          PEREZCEDILLOS         CO          33002933588
567B7716391895   ASHLEY          ALEXANDER             OK          90010407163
567B8462661971   ARNOLD          AVALOS                CA          46049154626
567B8A92555997   ROJELIO         RICO                  CA          90009820925
567B915A572B43   RANDAL          SEIFERT               CO          33085111505
567B917135B531   KEVIN           DURAN                 NM          90013481713
567B9242661965   MICHAEL         CONWAY                CA          90013882426
567B961867B46B   MARK            BISHOP                NC          90011406186
567B9645361939   CHRIS           JENNEN                CA          46003206453
567B99A447B359   SUNIL           BISWAL                VA          81093849044
567B9A9A951348   DAGOBERTO       MEZA                  OH          90004600909
567BB39865B387   AKASH           SINGH                 OR          44549663986
567BB44745B271   LATONIA         KELLY                 KY          68056004474
567BB46935B399   DENNIS          DIXON                 OR          90010734693
567BB563155939   MISAEL          TIXTA                 CA          90015375631
567BB57A75758B   ALEXANDRA       CORPUS                NM          90014855707
567BB629161971   GAVINO          PINEL                 CA          90011236291
567BB65A151348   LEANECE         ARMSTRONG             OH          90014416501
567BB67A372B27   MARLIN          STEVENS               CO          90013256703
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567BB738A72B38   IRENE       ORTEGA                    CO          90009917380
567BB989A61971   EDWARD      WHITESIDE                 CA          90013049890
5681162A95B531   RODNEY      GOODLOE                   NM          90015276209
56811973372B36   PRISCILLA   AGUILA                    CO          90011159733
56812482A55939   JUAN        ORTIZ                     CA          90012164820
56812A2882B27B   DESTINY     MACK                      DC          90012850288
5681325625B397   EULALIA     FELIPE MATIAS             OR          90007152562
56813847472B38   MARTIN      QUINTANILLA               CO          90012808474
5681414787B491   LISA        HEAVNER                   NC          11013241478
56814456472B43   DAVID       GRIEGO                    CO          33038524564
5681683335715B   ALEXANDRO   AGUILAR                   VA          90013958333
5681683564B588   SELIMA      SEIPP                     OK          90002628356
56816A74961971   FELICIANO   HERNANDEZ                 CA          90015000749
56816AA2957157   CONNIE      WASHINGTON                VA          90013930029
56817367A72B43   DIONISIO    REYES                     CO          33086083670
56817993672B38   DELRENA     CHAVEZ                    CO          90012699936
56817A75891587   RONALD      RAMIREZ                   TX          90012080758
5681825625715B   HERLINDO    VALIENTE                  VA          81077202562
5681853525B387   JUAN        VELAZQUEZ                 OR          44590685352
56819117972B43   FRANISCO    GUTIERREZ                 CO          90004511179
5681942A25B399   CAZMINE     WARBONNOT                 OR          90014624202
5681B354472B67   BOYCE       JOSH                      CO          90007473544
5681B613472B27   SHEILA      BAKER                     CO          90011176134
5681BA6165758B   GUSTAVO     MEJIA                     NM          90013840616
5681BA6AA72B49   STEPHANIE   CONTRURAS                 CO          90008360600
56821146172B49   EDUARD      IUSUPOV                   CO          33025991461
5682116AA55997   LORENA      GARCIA                    CA          90013941600
5682123752B27B   JOSUE       CARIAS ALVAREZ            DC          81003812375
5682131115715B   MUHAMMAD    HUSSAIN                   VA          90004363111
5682166A891895   SHARIECIA   FULTZ                     OK          90008926608
5682211177B461   TIMOTHY     DOUGLAS                   NC          90001721117
5682315325758B   MARTIN      RODRIGUEZ                 NM          90013221532
56823455372B38   JOAN        SIMS                      CO          90011224553
56823529372B67   WILBERT     SANDOVAL                  CO          33036465293
568243AA15758B   BERTHA      LOPEZ                     NM          35514593001
5682463455715B   ERCIDES     BARAHONA                  VA          90014116345
5682512A191587   ESTEVAN     PINON                     TX          90013661201
5682586A272B38   LEONEL      PEREZ                     CO          90008278602
56826271772B49   KELLY       PATTERSON                 CO          33053402717
56826975A72B36   SUSAN       HUGES                     CO          90011159750
5682725A67B69B   ARNOLDO     ROSALES                   GA          90012532506
56827263672B27   ELIZABETH   BARRALES                  CO          90012352636
5682728877B491   SERENA      JOHNS                     NC          11024772887
56827455472B38   MANUEL      MEJIA                     CO          90011224554
5682748A285928   TALENA      MYERS                     KY          90015094802
5682766118B173   ANGEL       MONTALVO                  UT          90010376611
568282AA484347   MISTY       BUNCH                     SC          90005922004
5682875575B531   MARY        IBARRA                    NM          90015107557
56829157772B67   SANDY       MADRID                    CO          33094451577
5682953484B588   KIMBERLY    DANIELLE                  OK          90015115348
5682987144B536   SHANNON     MASSAD                    OK          21504008714
5682B265291893   CHRISTIE    WATSON                    OK          90009942652
5682B776A72B49   YONNICE     JOHNSON                   CO          90011997760
5683149AA72B27   ANTHONY     MEDINA                    CO          90012434900
568317A874B587   NIKKITA     GRANT                     OK          90014527087
5683181A472B38   NATALIE     GRIFFIN                   CO          90006308104
56832565572B67   KENDALL     HELFRICH                  CO          33082055655
5683295245B236   CYNTHIA     CRUTCHER                  KY          90011349524
568346A952B869   JAVIER      CERVANTES                 ID          42069396095
5683496585B399   MATHEW      BRAINARD                  OR          44525009658
568349A7172B88   JOSE        CHAVEZ                    CO          33081519071
56835412472B38   SELENE      CASTREJON                 CO          33028954124
5683582274B588   HEATHER     SPINKS                    OK          90013198227
56835921772B49   VANESSA     TORRES                    CO          90013929217
56835A4515758B   ALMA        VALDEZ                    NM          90013940451
5683635217B46B   MICKEY      CHAPMAN                   NC          11014133521
56838319472B49   SUSAN       FERNANDEZ                 CO          33040023194
5683849532B27B   SHARYN      PRYOR                     DC          90012554953
5683859897B491   ERLIN       PEREZ                     NC          90014175989
5683874597B46B   BLANCA      DOMINGUEZ                 NC          90013027459
5683943785715B   JACINTO     RIVERA RAMIREZ            VA          90012794378
56839A1794B588   SHELLA      WILLIAMS                  OK          90013340179
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5683B43922B27B   JAYVEL       WATERS                   DC          90014874392
5683B717372442   REGINA       METRO                    PA          90001127173
5683BA3A54B588   JOSH         BLEDSOE                  OK          90013370305
5684118915B387   SONIA        GOVEA                    OR          44558051891
5684137737B46B   LENORA       MAYS                     NC          90012843773
56841492A72B38   LUZ MARIA    RODRIGUEZ                CO          90013924920
56841629372B27   MARIE C      KOUAME                   CO          33069566293
5684255435715B   ANDRES       POCASANGRE               VA          90009195543
5684274884B588   FORREST      FREEMAN 111              OK          21559727488
56842752172B38   ERIC         ALVA                     CO          33084787521
568429A7691895   JAMIE        BASCO                    OK          90013789076
56842A21A8B181   PATTI        DIXON                    UT          90003660210
56842A7337B46B   ADRIENNE     WALLER                   NC          90008350733
56842A9A672B49   CRYSTAL      ALDERETE                 CO          90012310906
56843279472B36   RONALD       THORSTEN                 CO          33067392794
5684415124B588   TOMMY        TISON                    OK          90009481512
5684443465B271   BRANDON      WARREN                   KY          90002354346
5684488455B399   CYNAMIN      WARD                     OR          90012638845
56845511A57157   OSCR         LOLIVA                   VA          90007805110
5684659A155997   ISAIAH       LORENZO                  CA          90012355901
56846A97372B27   RITA         DURAN                    CO          33071670973
5684713584235B   JENNIFER     MOORE                    TN          90015161358
5684794A572B27   RAQUEL       CAMPOS                   CO          90007709405
56847985572B49   JOSE         CANTOR-GALICIA           CO          90014469855
5684847344B588   JOHN         HILL                     OK          90014574734
56849422372B38   DAMMION      PARKER                   CO          90014004223
5684B198A61936   MELISSA      PACHECO                  CA          90008671980
5684B637985928   ADAB         PEREZ                    KY          90011856379
5684B744161971   DANIEL       ORTIZ                    CA          90014407441
5685137654B29B   NOE          MEJIA                    NE          27002833765
568514A8372B27   JOHN         BUGARINS                 CO          90013604083
5685185135B399   DENNIS       ECCLES                   OR          44524788513
56851947172B36   SARA         STEWART                  CO          90010489471
5685258425B387   KOREY        SMITH                    OR          44585605842
56852931A91895   MYRON        MATHIEU                  OK          90013789310
5685311755B399   MATTHEW      GRAY                     OR          44507581175
56853879272B38   BARRETT      JEREMY                   CO          90007278792
56853999A57127   OLGA         GALDAMES                 VA          90004829990
56854192672B36   LISA         VARGAS                   CO          90011501926
5685435365B387   MR BRIAN     CEK                      OR          90011343536
5685486865B123   ANTHONY      KING                     AR          90014578686
5685528A531428   JAZMIN       SWAN                     MO          90006762805
56855762972B88   MARISOL      MARTINEZ                 CO          90003207629
56855A13661965   EUNICE       CASTROCORREA             CA          90014760136
5685678825715B   SANDRA       CUVARRUBIAS              VA          81018047882
56856A82672B43   EVERARELO    PEDROZA                  CO          33096830826
56857598272B36   ELIZABETH    LUEVANOS                 CO          90010075982
568582A6291895   TAYLOR       SIGLI                    OK          90014572062
568585A8A72B49   COURTNEY     MINTER                   CO          90014905080
56858A12831468   DEMETRIA     JOHNSON                  MO          90001890128
56859174172B38   JOSIAS       OLSIN                    CO          33000971741
5685939235715B   ALFRED G     THULLAH                  VA          90014073923
5685989695B387   NANCI        OCHOA                    OR          44595408969
568599A984B588   TELA         PINTO                    OK          90015309098
5685B426A5B387   STEPHANIE    SANCHEZ DEL RIO          OR          90015124260
5685B431A61971   ADAM         HILL                     CA          90015144310
5685B952291587   DAVID        FANNING                  TX          75065419522
5686255A25758B   MONIQUE      ROCHA                    NM          90014385502
5686269A485928   TINA         ADAMS                    KY          90010646904
568633A7A5715B   BERTA        AVILES                   VA          90004803070
56864345672B49   CHRISTA      GONZALEZ                 CO          33067503456
5686455655B399   TERESA       CARLSON                  OR          90005595565
56864743672B36   LORRIE       MARTINEZ                 CO          33013377436
5686528825758B   MARIA        HERNANDEZ                NM          90013682882
5686634945715B   HARRIS       JEROME                   VA          81014873494
568668A7972B36   JACQUELINE   PENA                     CO          33093068079
56866A18172B38   MARIA        MARRUFO                  CO          90004030181
56867811372B36   JOSE         SOSA                     CO          90000918113
568678A277192B   ROBERT       FURLONG                  CO          90002328027
5686851655B236   BILLY        BROWNS                   KY          90008445165
56868637772B36   JENNIFER     THOMAS                   CO          90012666377
56868946172B49   CHRISTINA    HUIZAR                   CO          90014779461
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56868A8574B588   JANETTE     RAMIREZ                   OK          21509560857
5686999945B399   JOSE        MURALLES PEREZ            OR          90010389994
5686B349785928   ANTHONY     FRAZIER                   KY          90014873497
5686B787755997   SYLVIA      TORRES                    CA          90009337877
5687117A75B531   JUDITH      ARVIZU-CARDONA            NM          35040101707
5687271724B588   JOVITA      REYES                     OK          90014847172
56872959472B27   GUSTAVO     ARIAS                     CO          90012119594
5687335585715B   SHANNA      SEAGER                    VA          90011793558
56873593672B49   JESUS       LUNA RODRIGUEZ            CO          90013335936
5687392915758B   BERENIS     MUNIZ                     NM          90013299291
56873A6382B869   MICHAEL     BAUMBACH                  ID          90011740638
5687431AA5B399   PAM         BROWN                     OR          44598163100
5687491515B52B   BERNARDO    ULLOA                     NM          35004609151
56875281572B36   RICARDO     RAMOS                     CO          33054012815
56875284372B38   RICO        MONTEZ                    CO          90009082843
5687531815758B   JANETTE     GONZALES                  NM          35589373181
5687624272B27B   TRANESHIA   STAFFORD                  DC          90012992427
56876428972B43   SHERLOCK    AMBER                     CO          33081124289
5687657615B531   ANGELIQUE   INGERSOLL                 NM          90009985761
5687658A691587   JOSE        GONZALEZ                  TX          90002815806
56876713A27B48   DELOIS      CALHOUN                   KY          90011367130
5687724365B283   JESSE       EVANS                     KY          90006702436
5687751985B399   JUAN        ZARATE                    OR          90006375198
56878349A55939   PRECIOUS    BARRIOS                   CA          90014833490
56878634A72B36   WENDY       GARCIA                    CO          90013096340
5687961245B387   ANNA        WRIGHT                    OR          90011426124
5687971587B46B   VENUS       WALLACE                   NC          90011827158
56879A75972B36   JULIANNE    FRESQUEZ                  CO          90010110759
5687B88A991587   ALFONSO     MARTINEZ                  TX          90010698809
5687BA1195715B   MAKOKO      COULIBALY                 VA          90015280119
5688138624B588   ELY         GRIFFITTS                 OK          90012793862
56881751972B36   RAYMOND     MCKIZZIC                  CO          33072687519
568835A5861965   DAVID       SEAVELLO III              CA          90013115058
56884157772B38   KATIE       FERNANDEZ                 CO          90013061577
5688512A52B27B   ANDREA      PONSON                    DC          90012851205
5688514894B588   CAROL       MONTGOMERY                OK          90011031489
5688546255B244   DESIREA     ROWE                      KY          68066764625
5688612A52B27B   ANDREA      PONSON                    DC          90012851205
5688784A34B588   VALERIE     FOY                       OK          90014268403
568878A577B468   BRANDY      STROUD                    NC          90004408057
56887A4A35B399   STEVE       LARA                      OR          90014530403
5688839A161971   JENNIFER    SCHLANDER                 CA          46065363901
56888779172B49   JESUS       GARCIA                    CO          33004657791
5688885355B399   CARLOS      FUENTES                   OR          44514528535
56888A4A885928   AUTUMN      HADDIX                    KY          90014060408
5688972287B46B   KENNIETH    BOONE                     NC          90008067228
5688B379176B31   MODESTA     JAXIOLA                   CA          90003893791
5688B5A874B588   WILLIAM     TAFT                      OK          21541455087
5688B77322B27B   LAWON       JENIFER                   DC          81004717732
5688BA23955997   MARCELINA   GONZALEZ                  CA          49019910239
568915A2155997   MARIO       DIAZ                      CA          49032425021
5689197825B283   BOBBY       MCGEORGE                  KY          90007979782
56892134A85928   CARLOS      ARANDA                    KY          90002051340
56892264624B3B   MARTA       LEON POLO                 DC          90003662646
5689227655B236   VERONICA    WHITE                     KY          90011522765
56892854572B36   CRISTINA    FINLEY                    CO          90014798545
5689314A62B949   EVELIN      SANCHEZ                   CA          90013141406
5689326354B524   RAUL        NUNEZ                     OK          90008102635
5689337515B387   AMBER       DOMINGUEZ                 OR          44551443751
5689371A471946   ANNA        KARIEGE                   CO          90011967104
56894785272B43   ELIZABETH   SKRETTA                   CO          90014487852
568947A2A2B92B   GEORGE      SCOGGINS                  CA          90009507020
5689484132B27B   MARTHA      RODRIGUEZ                 DC          81027968413
5689488337B46B   SHEILA      GODWIN                    NC          90009998833
56894A69772B38   CLAUDIA     LINARES                   CO          33078970697
5689514472B27B   SAMUEL      WARREN                    DC          90012851447
568958A3261965   RENEE       KNUTSON                   CA          90013758032
568962A255B271   CRISTY      MORRISA                   KY          90004232025
56896633972B27   MARTIN      RODRIGUEZ                 CO          33029196339
5689775654B251   ALEJANDRO   GARCIA                    NE          90014897565
56897A9955B399   TERRY       SOUTH                     OR          44574110995
56897AA425B531   ALFREDO     FLORES                    NM          35051620042
    Case 3:19-cv-07270-WHA Document 408-4 Filed 03/23/22 Page 2487 of 2500


5689826355758B   MARIA        ALVARADO                 NM          35588992635
5689841972B92B   EDITH        JIMENEZ                  CA          90014754197
568988A325715B   HINA         AHZAZ                    VA          90011798032
56898A8574B588   SHAQUETTA    MACK                     OK          90013250857
56899A9197B383   KENNON       BONDS                    VA          90012520919
5689BA94572B43   LATOYA       CHAVEZ                   CO          90015330945
568B1137472B43   MARIO        RUIZ                     CO          33008161374
568B196A172B49   VERDELLA     ARNEST-HUDSON            CO          33005979601
568B2219357157   YELSON       CRUZ                     VA          90003462193
568B252415B531   VICKY        BURNETT                  NM          35075575241
568B259915758B   JULIA        TELLEZ                   NM          90010125991
568B27A795758B   CUNG         NGUYEN                   NM          90010697079
568B3294251348   PAMELA       TYE                      OH          66089482942
568B3297655997   ROY          FERNANDEZ                CA          90012652976
568B345295758B   JULIER       BACA                     NM          90014624529
568B4458255997   ELISEO       GALLEGOS                 CA          90013074582
568B451115B387   BRYCE        WASHINGTON               OR          90014345111
568B458A561965   TRAVIS       HEPNER                   CA          90014315805
568B5296172B38   CLAUDIO      MIJARES                  CO          33077032961
568B5661551348   EMMA         HICKSON                  OH          66024446615
568B721A35B283   BENTARO      GUTIERREZ                KY          68016702103
568B7493251348   LASHAWNA     HARRIS                   OH          66013294932
568B782135B399   ATANACIO     AVELLANEDA               OR          90010938213
568B8189672B49   MARCUS       MATHEWS                  CO          90013311896
568B842925B387   STEWART      CAMPBELL                 OR          44521494292
568B9A14872B36   ESMERALDA    SHADY                    CO          33038290148
568B9A4A64B588   PAIGE        WILLIAMS                 OK          90011520406
568BB363A5B543   ASHLEY       SGALA                    NM          90002963630
568BB823991587   ELSA         FRANCO                   TX          75010378239
5691151A84B29B   SANTOS       NARVAEZ                  NE          90005975108
569121A8872B67   JOSH         ANDRESON                 CO          33008101088
5691318134B588   CHERYL       BUFFALO                  OK          90011031813
5691374A65758B   AMBER        HARRELL                  NM          90012007406
56914A9A485928   ANTONIO      WEBB                     KY          90001440904
569151A292B27B   EDWARD       TAYLOR                   DC          81095611029
5691526217B46B   MARIA        DIAZ DE BILLEREY         NC          11080142621
5691535A272B36   LYNN         TOOKER                   CO          33091033502
5691553A172B38   IAN          HESLEP                   CO          90014165301
56915A2314B588   PEGGY        WILLIAMS                 OK          90009980231
56915AA915B387   STEVE        FROOM                    OR          90000860091
5691659A861965   BRANDON      CODY ALLEN               CA          90015025908
56916A34333699   ALBERTO      MALDONADO                NC          90011810343
56916A6A45B531   JOSEPH       GRIFFIN                  NM          90009160604
56917475872B38   JOSE         VEGA R                   CO          90011224758
56917495A72B27   ANTONIO      GARCIA                   CO          90007584950
56918156A61965   MARILYN      HARRAH                   CA          46029211560
56919552A72B36   MARIA        ESTRADA                  CO          90002945520
569196A644B588   NANCY        AVILA                    OK          90014686064
5691B32142B27B   SABRINA      DEVINE                   DC          90014023214
5691B677933699   ROBERT       WRIGHT                   NC          90002276779
5691B749391587   JUAN         URENO                    TX          90015067493
5691B81554B29B   CAMERON      ZENDEJAS                 NE          90010518155
5691B88645598B   SAMUEL       FLORES                   CA          90003008864
5691BA5374B588   JOSE         MORA                     OK          90015160537
56921189A4B588   CYNTHIA      KIENKA                   OK          90012801890
569215A4572B38   MARIAH       PERRI                    CO          90006655045
5692256438B193   LETTICIA C   GUTIERREZ                UT          90012425643
56922644172B88   CHARLES      SHERMAN                  CO          90008126441
5692274745B283   DUANE        ROBINSON                 KY          90013477474
5692278A772B49   TARA         ESKAM                    CO          33042087807
569232A335B387   KYRA         LOPEZ                    OR          90006892033
5692497575B399   DEBORAH      BOBB                     OR          90002769757
56925225672B49   ROMEO        GUTIERREZ                CO          33089682256
56925A9A95758B   ENRIQUETA    CARRERAS                 NM          90012030909
5692625337B385   MILVIA       SANTILLAN                VA          90002882533
5692647274B521   ROSA         CERVANTES                OK          90002774727
56926984172B49   DILLINGER    CHARLES                  CO          90013139841
5692738755B283   MR JAMES     WEATHERS                 KY          90005543875
56927477A91895   MIESHIA      RUTH                     OK          90009654770
5692772AA91587   JOHN         PRIEGO                   TX          90013797200
5692B171886545   DANIEL       RUSSELL                  TN          90015531718
5692B2A8172B49   RUFINA       LAGUNAS                  CO          90011072081
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5692B377191535   JM          ADKINS                    TX          90003323771
5692B576472B38   SANTIAGO    RUIZ                      CO          33082685764
56931258A91895   DEDEE       BOATMAN                   OK          21057232580
5693136AA4B52B   CHIQUITA    BROWN                     OK          21588803600
5693151A955939   JESSICA     VENTURA                   CA          90011405109
56931812172B88   LEANDRO     LOPEZ                     CO          33050448121
56931A9815B283   TAWANA      CAUSEY                    KY          90004810981
5693216215B236   MARY        FLANAGAN                  KY          68025431621
5693232A55B37B   RIBERT      GREYBAR                   OR          90008383205
56932478372B38   JOSE        MUGUIA                    CO          90011224783
56932A66572B67   RAN HAE     KIM                       CO          90010600665
5693314335B283   DAWN        WILLMAN                   KY          90001661433
56933462472B27   JASMINE     AUSTIN                    CO          90014874624
5693462AA7B359   MELISSA     MONROE                    VA          90010016200
5693469A35B387   RICARDO     PAT CHALE                 OR          44534106903
5693577A47B46B   ANGELA      TRUESDALE                 NC          90014597704
569357A9633696   IMARI       WATKINS                   NC          90001807096
56935812672B38   ANDREW      CROSS                     CO          33055608126
56935843672B49   JOSE        CARRERA-CUEVAS            CO          90010928436
5693613A35B387   TRISHA      BROWN                     OR          90013581303
569363A2551348   DHAN        RAI                       OH          90007653025
56936596A72B27   CANDANCE    THOMAS                    CO          90012105960
56936696172B67   VICTORIA    ANTONIO                   CO          33047096961
56936A86A72B43   MICHAEL     VON SHARPSTEEN            CO          90012580860
5693714785B399   RENAE       SCOTT                     OR          44573941478
5693826965758B   MARIA       ARMENTA                   NM          90013942696
569389A655B289   LARRY       RAYMOND                   KY          68043889065
5693969A298B47   JESUS       HERRNANDEZ                NC          90013046902
5693B335A72B43   JEREMY      RONQUILLO                 CO          33035643350
5693B845172B27   JOSE        SANCHEZ                   CO          33038778451
5693B876431428   DELORES     BLUE                      MO          90001358764
5693B876A91895   JASON       BUNNELL                   OK          21051358760
5694115577B49B   GREG        LEWIS                     NC          90009171557
5694133785B399   TRISHA      TURNER                    OR          90014063378
56941735524B7B   ANDREW      JOHNSON                   VA          81084467355
5694221A85B236   DAVID       YATES                     KY          68092202108
5694233215715B   METEKU      WORKU                     VA          81060273321
5694234A272B43   RICARDO     MENDOZA                   CO          90014153402
56943236A5B399   ANDREW      BATTERSON                 OR          90014812360
56943552A72B88   JOSE        AYALA                     CO          33051015520
5694396A161965   AMY         CANNON                    CA          90002849601
5694415A32B958   MARQUITA    DAVENPORT                 CA          90004121503
569444A4924B7B   DANY        REYES                     VA          90013954049
5694527A27B46B   ANAGELI     RAMIREZ                   NC          90007992702
56945435372B36   MARLENE     RENTERIA                  CO          90014264353
5694611325598B   CHINEDU     AKABIKE                   CA          90009961132
56946473A51348   LUCINO      PATINO LUNO               OH          90013804730
56946596872B67   CHRIS       RYSZKOWSKI                CO          90005095968
56947378A55997   ARLEEN      ALVES                     CA          90012153780
5694749617B46B   SADE        MCCRORY                   NC          90011144961
5694799687B491   KATRINA     NICHOLS                   NC          90004199968
5694883715B387   CYNDI       BANZER                    OR          44507728371
56948A48A61926   MIREYA      VARGAS                    CA          90008240480
5694912665B236   TINA        BURNELL                   KY          90003391266
569496A2A72B36   WILLIAM     BURKE                     CO          90013986020
5694988873B391   KEVIN       ROBERTS                   CO          33074478887
5694B16554B521   NORMA       RIOS                      OK          21541551655
5694B478855939   CINTIA      CHAVEZ                    CA          90009274788
5694B84AA2B27B   DANZEL      BAKER                     DC          81094008400
5694BA38372B67   CHRIS       DAVIS                     CO          90005700383
5695153415B399   MR SHAWN    STIPE                     OR          90009495341
5695184995715B   MELVIN      ROMERO                    VA          90005578499
56952248A57157   ZOILA       REYES                     VA          90010022480
56952A17833645   MING        CHIEN                     NC          12021390178
56952A2655B283   TAMEEKA     JOHNSON                   KY          90012880265
5695375175B387   LAVINA      NEWTON                    OR          90013987517
56953896272B49   JOSE        GONZALES                  CO          90001148962
5695411835715B   EDWIN       LOPEZ                     VA          90015101183
56954316A42363   JOYCE       HENDERSON                 GA          90007923160
56954318672B49   ADRIAAN     EASTWOOD                  CO          90003633186
56955634472B36   SAMANTA     MARTINEZ                  CO          90012416344
56955A27555939   LUIS        AREYAN                    CA          90011920275
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5695691AA72B43   DESHAWNDA       HESTER                 CO         33051129100
56957A1AA5715B   CRISTINA        GALINDO                VA         90012040100
5695811125B387   BEVERLY         KLEIN                  OR         44564161112
56958846872B38   REGINA          RICHARDSON             CO         90002538468
569588A2172B36   MARIA           FERNANDEZ              NM         33055868021
56958952972B67   PANFILO         VASQUEZ                CO         33072119529
5695945884B588   VINCENZO        AUTERI                 OK         90012794588
56959A6599132B   SAYI            DIAZ                   KS         90007240659
5695B41795B387   PATRICK         ZAHN                   OR         90001884179
5695B787785928   HEATHER         LANE                   KY         90014917877
5695B86A533645   SHANICE         HARRINGTON             NC         12055608605
569616A874B251   TLC             SYSTEMS                NE         27035026087
5696188A35715B   ROSALINDA       CASTRO                 VA         90000988803
5696221244B588   MARVAMETTE      BROWN                  OK         90010172124
5696229A95758B   CRUZ            SOTO                   NM         35508512909
56962356172B49   TERRY           CORDOVA                CO         90007553561
569624A9A31428   KAYLA           LANGGUTH               MO         90009054090
5696271568B175   JARED CROWLEY   J O C MANAGEMENT INC   UT         90001767156
569629A1391587   SUSANA          TORRES                 TX         90013609013
5696357764B588   KENNETH         DUDLEY                 OK         90012875776
5696424685715B   TIJAHUN         TESFAYA                VA         90011802468
5696529835715B   EVIN            TORRES                 VA         90014112983
569652A8872B43   GARY            STONEWALLL             CO         90013052088
569661A2361965   COSMAS          MUSYOKA                CA         46072531023
5696652455715B   JHOSMAR         JIMENEZ                VA         90014425245
5696677245B283   MARK            RAGG                   KY         90001147724
5696685587B46B   JACQUIE         KALONDA                NC         90011528558
56966889372B63   NORVEL          BOLDEN                 CO         33015938893
5696742784B588   PATRICIO        HERNANDEZ              OK         90004954278
56968145172B38   SERHIY          SHMALEY                CO         33044491451
56968AA715B142   LELAH           MONK                   AR         90003410071
5696B389385928   LORETTA         HENSON                 KY         90013163893
5696B58A95B399   TONY            DAVIS                  OR         90010245809
5696B64745B399   JOHNATHAN       SHAW                   OR         90014186474
5696B85A52B27B   TALISHA         JUDD                   DC         90009738505
56971112A2B27B   EDRICK          THIMES                 DC         90012861120
56971829654B84   BRENDA          ARIAS                  VA         90011008296
56971A44173268   EDITH           GARCIA                 NJ         90014770441
56972842A4B23B   CLANCY          OBRIEN                 NE         90009468420
5697335142B27B   JUAN            RAMIREZ                DC         90010763514
56973391A5593B   ELISEO          GONZALEZ               CA         90004283910
56974186872B27   SCOTT           BROWN                  CO         33014651868
5697422574B588   BRITNEY         SHELBY                 OK         90014742257
56974258A91895   DEDEE           BOATMAN                OK         21057232580
5697499827B491   AMY             BLACK                  NC         11041209982
569751A7955939   FELEENA         BERRY                  CA         90005511079
56975526972B36   EUNICE          ROCHA                  CO         90002085269
5697554435B283   LORIE           BARR                   KY         90005545443
569757A8572B38   HERLINDA        LIPE                   CO         33041517085
56976899A72B36   MARY            COLECCHI               CO         90014248990
56978118A57157   ADRIAN          PEREZ                  VA         90013231180
5697843645B399   SHERRILL        HOLM                   OR         90001234364
5697852925B531   LEIGH           SEELEY                 NM         90013265292
5697874935758B   LEE             SMITH                  NM         90005017493
5697919A84B588   ROLANDO         CARDENAS               OK         90011031908
5697923645758B   VERONICA        GONZALEZ               NM         90015032364
5697939A172B88   JOSH            DUNKIN                 CO         33016663901
5697B257491587   KARINA          ORTIZ                  TX         90014572574
5697B424891856   MAGALI          GONZALEZ               OK         90008724248
5697B466391895   ROBERT          LLTMAN                 OK         90010374663
5697B66692B574   LASHANA         REESE                  AL         90014566669
5697B75395758B   LAURA           ESTRADA                NM         90013947539
5698119834B588   STORMI          FLOOD                  OK         90013291983
569812A9772B49   BRYON           ALBERTY                CO         33005442097
56981723A55997   CARLOS          SIERRA                 CA         49039717230
56981855A72B27   NORMA           PEREZ                  CO         90002098550
56982755172B23   ESTER           JUAREZ                 CO         90006447551
56982895A33699   RODNEY          GAMBLE                 NC         12083628950
56982A58372442   BRIAN           GRADY                  PA         51065580583
5698399564B588   KEVIN           COULTER                OK         90014339956
569848A754B536   MARTIN          GONZALEZ               OK         90010058075
5698513537B46B   STACY           BEATTY                 NC         90013331353
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56985322172B49   VITTORRANIO    MIERA                  CO          90014843221
56985921172B43   BRYCE          MICKELSON              CO          90010699211
56986154772B49   JARRAD         BRANCH                 CO          90012951547
5698621A64B588   JEFFREY        GAMBLE                 OK          90014802106
5698665675B387   YUDEL          LABARCA                OR          90007076567
5698678495758B   KELLY          PEACOCK                NM          90008597849
56987173972B38   NAKARRI        JONES                  CO          90013051739
56987462A33699   CARBELLA       CHEEK                  NC          90006594620
5698782385B531   JESUS          FLORES LOPEZ           NM          90007708238
5698791355B387   DARLENE        HOWARD                 OR          44571029135
5698854A185928   CHELSIE        CAMPBELL               KY          90014935401
56989464A55939   SUSMEY         CORTEZ                 CA          90004754640
5698958A25758B   DEREK          CHAVEZ                 NM          90014255802
56989757972B49   CLAIRICE       BAILEY                 CO          90014697579
569897A2961965   CHASTITY       ROSSI                  CA          90015127029
5698B21995B531   EDITH          CABRERA                NM          90006752199
5698B27594B588   LEIDI          MENJIUAR               OK          90007582759
5698B455333645   OLLIE          WILLIAMS               NC          90003154553
5698B627872B88   TAWATHA        BLEDSOE                CO          33032336278
5698B782891587   GABRIELA       GARDEA                 TX          75023407828
5699125435715B   FARMER         JEREMY                 VA          90006262543
5699143412B27B   FAYE           JOYNER                 DC          90014134341
5699184345B531   JANETH         MARTINEZ-ANDRADE       NM          35009178434
56991A2355758B   RICHARD        ENRIQUEZ               NM          90013070235
56992175A72B67   JOHN           MCCOVY                 CO          90008871750
56992343672B38   ROBERT         GOMEZ                  CO          33063303436
56992926A4B521   KELLY          HENDRICKSON            OK          21516109260
569929A5251348   SYDNEY         ALLEN                  OH          90013929052
5699323365B271   DARRELL        READUS                 KY          90004232336
569935A485B531   JAKOB          BUTTERFIELD            NM          90013475048
5699385185B399   JIM            PARKINS                OR          44515428518
569941A3372B36   MARITZABEL     MOLINAR                CO          90014981033
5699423215B387   ROBERT LEE     RUNNELS                OR          90011332321
5699443A172B27   BRENDA         ESCOBAR                CO          90015314301
5699447A651348   ALEXIS         BOHANNON               OH          90012164706
56994734A61965   CHRISTOPHER    HAMLIN                 CA          90003597340
56994842672B43   MELISSA        CHAVEZ                 CO          90009978426
5699488647B46B   BRITTANY       ALLISON                NC          90012158864
569949A4331429   RHONDOLYN      WEST                   MO          90005559043
56994A8A761971   GARCIA         UGOT                   CA          90014450807
56995A1127B46B   MARIA          ESTRADA                NC          90011250112
56995A22972B36   ARNULFO        CONTRERAS              CO          90011360229
56996A2355758B   RICHARD        ENRIQUEZ               NM          90013070235
5699734725B271   MICHAEL        RISEN                  KY          90007413472
569976A595715B   REBECCA        HAMILTON               VA          90014526059
56997AA9991856   RONALD         JAMES                  OK          90012630099
5699846777B46B   TASHA          MILLER                 NC          90015344677
56998557672B36   JOSEFINA       RUIZ                   CO          33014355576
569985A6172B43   CHRISTOPHE     C TORREZ               CO          90001335061
56998772324B7B   STEVEN         SIMMONS                MD          90001867723
569988A4455997   TROY           TODD                   CA          90011098044
56998981772B38   PEDRO          HERNANDEZ              CO          90014919817
56998A69272B27   ENRIQUE        BRAVO                  CO          39058980692
56999226572B36   STACIE MARIE   MCKINNEY               CO          90012852265
5699941225758B   AMANDA         GOMEZ                  NM          90012184122
569997A1872B36   JESSICA        JARAMILLO              CO          90015177018
56999961272B98   THOMAS         ROBINSON               CO          90008769612
5699B72A561971   GIUZEL         QUINTERO               CA          90010767205
569B186A855939   KATRINA        HENDRIX                CA          90013798608
569B1AA715B129   LELAH          MONK                   AR          90003410071
569B231635B399   MARANDA        CLOUGH                 OR          90014353163
569B2374572B38   DIANA          BRANHAM                CO          33054373745
569B253253B332   MITCHELL       BERG                   CO          90008065325
569B255732B27B   JUSTINA        PETTWAY                DC          90014885573
569B2697957157   FIDIA          MORALES                VA          90006056979
569B32A255B271   CRISTY         MORRISA                KY          90004232025
569B3871551348   CHARLES        COLLIER JR             OH          66052538715
569B3A2468B837   KETSY          SOS                    HI          90013750246
569B3A8425B399   MARGARITO      MORALES                OR          90012560842
569B41AAA61971   ANDREW         ENGFELT                CA          90010791000
569B453725715B   ELISAVETH      QUINTANILLA            VA          90014225372
569B4742791587   PAULA          TORRES                 TX          90013207427
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569B475217B491   RONALD       ALEXANDER                NC          11013337521
569B4A45772442   CALVIN       WINFREY                  PA          90007230457
569B5263698B34   MARCO        ROMERO                   NC          90013922636
569B52A315B271   JANIE        BARONI                   KY          90004232031
569B5855572B67   LUIS         MEDINA                   CO          90011558555
569B6145A91895   OSCAR        MARTINEZ                 OK          90013781450
569B61A9672B27   RYAN         ESPERAS                  CO          90012451096
569B691897B46B   TAKEISHA     DAE                      NC          11006039189
569B754775B531   JORGE        CUEVAS-RIOS              NM          35058815477
569B7598272B36   ELIZABETH    LUEVANOS                 CO          90010075982
569B8199697B4B   VANESSA      SAINZ                    CO          39011361996
569B866A62B261   SHAMANDA     MCCALOP                  DC          90008336606
569B881A75715B   JIMMY        MARTINEZ                 VA          90013048107
569B887965B531   REBECA       HERNANDEZ                NM          90001788796
569B9418A33696   DAWN         WYRICK                   NC          90002974180
569B9731672B27   RACHEL       MARTINEZ                 CO          90012807316
569BB85155B399   HENRY        JONES                    OR          44506018515
569BB87495B399   AUSTIN       SILIANG                  OR          90014758749
56B1139845715B   PATRICK      CONTEH                   VA          81046243984
56B11989972B88   SERGIO       SAENZ                    CO          33090509899
56B11A63991587   ARTINA       ALEXANDER                TX          90014600639
56B1344173B35B   OSCAR        RIOS                     CO          90011664417
56B13554772B49   ALEXANDER    GIBSON                   CO          90011345547
56B13928133696   MARGARET     GRIFFIN                  NC          12087349281
56B1474A457563   JON          HUGHES                   NM          90013807404
56B15154272442   TARYN        NICHOLSON                PA          90014631542
56B15673951348   JOHN         ENDRESS                  OH          90009276739
56B16628381666   AMY          GAPPA                    MO          90001256283
56B166A265715B   JAQUELIN     NUNEZ                    VA          90014196026
56B16961772442   SCOTT        DARNELL                  PA          90014639617
56B16A61955997   TYLER        ROE                      CA          49045990619
56B16A81272B88   DAWN         SOPER                    CO          90002680812
56B17152161965   THOMAS J     SALGADO                  CA          90012391521
56B17444191895   DARLENE      MORGAN                   OK          21012724441
56B1789AA5758B   JOSE         SALAS                    NM          35562368900
56B1792237B491   ALFREDO      TORRES                   NC          90011789223
56B17961772442   SCOTT        DARNELL                  PA          90014639617
56B18152272B49   MARIA        RODRIGUEZ                CO          90012871522
56B18466A72B38   BRENDA       FAULKNER                 CO          90014814660
56B19187684852   FRANCISCO    GONZALEZ                 NJ          90015261876
56B1941414B588   STEVEN       LAFFOON                  OK          90012364141
56B1955867B46B   TAMEKIA      WESSON                   NC          90010325586
56B1B541891587   TIMOTHY      BLACKBURN                TX          90010105418
56B1BA18157157   CINDY        POTTILLO                 VA          81018140181
56B1BA2535715B   BLANCO       OSCAR                    VA          90011900253
56B1BA87133699   DETICIA      RUCKER                   NC          90012600871
56B21778233696   ANTHONY      RORIE                    NC          90004027782
56B21792272B49   KELLY        RICHARDSON               CO          90008937922
56B21A35172B67   PAUL         PORTILLO                 CO          33019110351
56B22154657157   OBED         MELINA                   VA          90003721546
56B22199172442   ROBERT       TISSUE                   PA          90003951991
56B22647336123   ELIAS        PEQUENO                  TX          90013156473
56B22732761971   JULIUS       WOMACK                   CA          90009827327
56B22975484357   DEXTER       RATLIFF                  SC          90012319754
56B22A9515B338   JOHN         WRIGHT                   OR          44093250951
56B23325672B49   BARBARA      KERR                     CO          33039513256
56B2332855B399   WENDY        WILLIAMS                 OR          44580263285
56B237AA972B36   ANGELIQUE    MARTINEZ                 CO          33069067009
56B23923861965   JUAN         RODRIGUEZ-TORRES         CA          46067769238
56B24417291587   SYLVIA       OLIVAS                   TX          90001634172
56B24491A57157   BANESSA      PORTILLO                 VA          90004324910
56B2462265715B   JOSE         VILLALOBOS               VA          90008156226
56B26347172B36   JESUSROMAN   GONZALEZ                 CO          33063343471
56B26438455997   VICENTE      ROBLES                   CA          49045104384
56B26543A55939   MICHAEL      ZAPATA                   CA          90007445430
56B2662167B491   KAWAN        BILAL                    NC          11009376216
56B2674A372B49   IDELL        MCCOY                    CO          33055567403
56B268A5591895   GUADALUPE    CORTEZ                   OK          90003838055
56B27114531429   JACQUELYN    CALHOUN                  MO          27517451145
56B27129172B43   STEPHANIE    BRUNSON                  CO          90013481291
56B27586372B88   MARIA        DETINAJERO               CO          33016605863
56B28249672B36   CECILIA      O'JOHN-HERNANDEZ         CO          33058562496
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56B28581851383   JAMES       PILAIA                    OH          90008835818
56B2894652B27B   ROSAURA     MORENO                    DC          90013069465
56B29151672B36   KRISTY      RAAB                      CO          33015261516
56B2B2A2661965   DOMINIQUE   CRAWLEY                   CA          90014022026
56B2B717A72B37   KATRINA     BRINKMAN                  CO          90007917170
56B31318A7B491   CURTIS      WHITAKER                  NC          11020593180
56B3164193B343   COLT        CARLSON                   CO          33087856419
56B31847272B67   SYLVIA      PORTUGAL LOVATO           CO          90011178472
56B32479657157   LISHA       NORRIS                    VA          90014764796
56B325A6A61971   BENJAMIN    OCAMPO-GERRERA            CA          90009495060
56B3274275B597   GAERLAN     ARTHUR                    NM          35034557427
56B3316A572B38   ALONSO      FLORES                    CO          90010111605
56B3333A972442   KELLI       JOHNSON                   PA          90005333309
56B35379161965   JENNIFER    PRESLEY                   CA          90014323791
56B35415533699   LASHAUNTA   GREEN                     NC          90011684155
56B357A3772B27   JAMES       ARAGON                    CO          90004907037
56B35942861971   LUCERO      ESPINOZA                  CA          90009489428
56B359AA357148   DILWAR      HUSSAIN                   VA          90004609003
56B3613455B387   GEOVANNY    SANCHEZ-GONZALEZ          OR          90002251345
56B3624735B531   GIATAN      GLORIANA                  NM          90013362473
56B3783595758B   LAURA       CRUZ                      NM          90012118359
56B38369133645   TAYLOR      RIDGE                     NC          12028863691
56B38423998B33   GUADALUPE   GONZALEZ                  NC          90014854239
56B3857434B588   DEVA        SMITH                     OK          21557425743
56B38A65A91587   ROBERTO     SAENZ                     TX          90006520650
56B39151185928   ROIS        HISEL                     KY          90007131511
56B3B38975B387   MR BRIAN    ECK                       OR          90015323897
56B3B585851348   GABRIELLE   MCSWAIN                   OH          90008545858
56B3B586655997   FERNANDO    MARCIEL                   CA          90010925866
56B3B6A2261965   WILLIE      COLEMAN                   CA          90000476022
56B41398572B49   FELIPE      PINTO                     CO          90013843985
56B41485A4B521   IRENE       MARTINEZ                  OK          90003424850
56B41736355939   MICHELLE    BURCIAGA                  CA          90011987363
56B419A4172B27   EBRIMA      CAMARA                    CO          90009429041
56B42153933699   ALMETRIS    SHIELDS                   NC          90002061539
56B4315A933699   SAMIA       RASHWAN                   NC          12041441509
56B43452572442   CHRIS       NICHOLSON                 PA          90008434525
56B4388755715B   NAHUM       REYES                     VA          90007138875
56B43A3A772B27   DANIEL      HAMILTON                  CO          33002780307
56B4429347B46B   KRYSTAL     PAIGE                     NC          11067642934
56B44A9744B588   TORI        LONG                      OK          90013120974
56B45361172B27   DOUG        MCDONALD                  CO          33050413611
56B45367984357   PRINCETTA   BLAKE                     SC          90010573679
56B4542145758B   TODD        FULTON                    NM          35593604214
56B45427155997   JESUS       HIPOLITO                  CA          90013934271
56B45699491587   RAUL        VAZQUEZ                   TX          75044936994
56B4581154B588   JERRY       BOLSTER                   OK          90011468115
56B459A6772442   TIFFANY     WOOD                      PA          90005919067
56B45A15372B67   PAUL        JORDAN                    CO          90010140153
56B4628427B491   TATIANA     MONSALVE                  NC          11043912842
56B46389457157   BRENDA      GUTIERREZ                 VA          90011673894
56B46566A7B491   TATIANA     LINDSAY                   NC          90012775660
56B468A127B359   JAMES       GOODLOW                   VA          90001628012
56B46A45A72B49   DIANA       VELAZQUEZ                 CO          90012750450
56B4816267B491   RYAN        HANEY                     NC          90012031626
56B4822994B521   JOSHUA      SIMPSON                   OK          90005292299
56B4895175758B   ISEBEL      DELO                      NM          90008189517
56B48A4877B46B   ERNESTO     NUNEZ                     NC          90013730487
56B49211361965   JEFF        STEGALL                   CA          90009392113
56B49427272B88   JOYCE       GREGORY                   CO          90001074272
56B49475472B43   ZABRINA     RODRIGUEZ                 CO          33072734754
56B49478251348   ALEXANDRO   SANCHES                   OH          90009974782
56B4975265B543   IGNACIO     VASQUEZ                   NM          35088527526
56B49A74232545   MONTIVA     CASEY                     TX          90015070742
56B4B48815715B   JOSE        AMAYA                     VA          90000124881
56B4B84AA91895   BROOKS      CURRY                     OK          90012828400
56B4B97745B579   ANTHONY     LARRANAGA                 NM          90014729774
56B51385172B38   RAMON       FLORES-FIGUEROA           CO          90012533851
56B51527457157   HAWA        BROWN                     VA          90005055274
56B5188554B587   ISRAEL      ISRAEL                    OK          90011138855
56B52277185928   JORGE       VEGA                      KY          90011722771
56B5235775B129   TY          MOSBY                     AR          90008203577
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56B5247A15758B   FRANCISCA    GAYTAN                   NM          35538104701
56B52516697B4B   CINTHIA      GALVEZ                   CO          90008925166
56B53346772442   JOHN         CAMPBELL                 PA          90011093467
56B5336445B129   OPAL         CLARK                    AR          90005913644
56B53523A51388   SHONDA       FOWLER                   OH          66026475230
56B5369477B491   ANN          STOGNER                  NC          11008356947
56B53866157148   JOE          SAM                      VA          81083088661
56B54253A72442   CINDY        BORRIS                   PA          90014652530
56B54258872B43   AMPARO       RIVERA                   CO          33061352588
56B54276384357   COURTNEY     BLANKENSHIP              SC          90011732763
56B546A3172B67   MIKE         TRUJILLO                 CO          90012406031
56B54A3A52B27B   MISHA        JEFFERSON                DC          90003780305
56B54A41472B67   MIKE         TRUJILLO                 CO          90011140414
56B551A8872B67   JENNIFER     TAPIA                    CO          33090091088
56B5524182B27B   DAVID        WILLIAMS                 DC          90012992418
56B554A8A5B129   JESSICA      YORK                     AR          90005294080
56B5555765B531   ANTWINETTE   GARCIA                   NM          90008895576
56B557A7585928   TERRI        LEONARD                  KY          90013777075
56B55A55172B88   ERICH        MITTELSTAEDT             CO          33073130551
56B56524385928   JENNIFER     STONE                    KY          90002285243
56B5662265715B   JOSE         VILLALOBOS               VA          90008156226
56B568A5351348   SALVADOR     MARTINEX                 OH          66081248053
56B56912776B97   MARIBE       MAYA                     CA          90003209127
56B5727A972B43   OSCAR        MENDO                    CO          33053072709
56B5783745B236   DEIRDRE      MOSBY                    KY          68041288374
56B5798A65B399   VICTORIA     HASSEL                   OR          90012419806
56B58153772B43   MC           THOMPSON                 CO          33008181537
56B58464655997   MARIA        GONSALEZ                 CA          49060444646
56B58497972B88   LETICIA      RUBIO                    CO          33005884979
56B58623344352   DEKOTA       WILSON                   MD          90014176233
56B59784161971   CHRISTIAN    THOMAS                   CA          90015167841
56B59A2A77B491   SANTIAGO     CUEVAS                   NC          90004830207
56B59A39851348   LOLITA       JOHSON                   OH          90012370398
56B5B124972B67   TANYA        RODRIGUEZ                CO          90004511249
56B5B34585B387   RYAN         KUMM                     OR          90013333458
56B5B516157148   JOSE         ZELAYA                   VA          90004615161
56B5B5A6A72B38   ANTON        BAILEY                   CO          33053705060
56B5B895855997   BRIAN        GARCIA                   CA          90012768958
56B61389972B38   AHABRAM      MARTINEZ                 CO          90012533899
56B616A775B543   MICHAEL      HERNANDEZ                NM          35032486077
56B61717957157   STEPHANIE    WILSON                   VA          90014747179
56B61A36831428   BEAUTIFUL    LOVE                     MO          90006500368
56B6244245715B   WILLIAM      LLOYD                    VA          90011234424
56B6257625B399   FRANCISCO    JAVIER PINTO ESTRELL     OR          90014885762
56B6296A65B236   DUSTIN       MAHAFFEY                 KY          90014189606
56B635AA25B387   ARTEMISA     BEDOY                    OR          90010235002
56B6374132B27B   MICHEAL      THOMAS                   DC          90014917413
56B6379314B28B   MORGAN       LAUSTEN                  NE          90013097931
56B63832361965   KARISSA      BAILEY                   CA          90013578323
56B63936472B49   JIMMY        TRAVIS                   CO          90012999364
56B64277255939   ISABLE       CHILDS                   CA          49084382772
56B64623344352   DEKOTA       WILSON                   MD          90014176233
56B64649A2B27B   THIERRY      MANGA                    DC          90012966490
56B64672155997   HELEN        SKIPWORTH                CA          49002996721
56B65321957157   MARITZA      PEREZ                    VA          90015043219
56B6544485B531   DANIEL       JARAMILLO                NM          35055434448
56B65484855937   LUPE         RAMIREZ                  CA          90005844848
56B65A28591587   ALMA         DESANTIAGO               TX          75067750285
56B66A32361971   SAVANNAH     HEILIG                   CA          90014900323
56B67238185928   BRAD         GRANT                    KY          90013152381
56B6788595B236   LAURA        DAVIDSON                 KY          90009168859
56B67989957128   DAVID        MENDEGILA                VA          81072399899
56B6869A94B588   BENARDO      MARTINEZ                 OK          90014816909
56B6931855758B   ROBERT       FREZQUEZ                 NM          35518513185
56B6951765715B   GUEVARA      ALEXIS                   VA          90012035176
56B6964642B27B   CHRIS        JOHNSON                  DC          90014726464
56B69748A51348   RICHARD      CARPENTER                OH          90012797480
56B6983A372B43   RALF         MORONES                  CO          90013858303
56B6984A77B46B   DILLON       BLACKWELDER              NC          90014568407
56B6998935715B   GUEVARA      ALEXIS                   VA          90014159893
56B6B26925B236   NICOLE       RODRIGUEZ                KY          68021252692
56B6B642A72B28   DESIREE      PEREZ                    CO          90014196420
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56B6B673155939   MARIA             GALINDO                CA       49017576731
56B6B919472B67   GUSTAVO           BARRAZA                CO       33065429194
56B71265A61971   JADE              HOWARD                 CA       90012742650
56B71557372B27   EULIZER           RAMOS                  CO       33068225573
56B71567772442   JEANIE            BUTTS                  PA       90009315677
56B71912772B38   KELLY             TRUJILLO               CO       90012869127
56B72453761971   LISA              MATHIS                 CA       46015874537
56B7311885B387   CHRISTOPHER       ARNETT                 OR       90014301188
56B73226172B38   LUIS              REYES                  CO       33056052261
56B7342725B531   ARACELI           CABELLO                NM       90006414272
56B7395984B588   TYESHA            WEBSTER                OK       90003509598
56B73A5645B399   KIMBERLY          HERNANDEZ              OR       44546740564
56B74125861965   RICARDO           HERNANDEZ              CA       90002591258
56B74632272B38   CHILECE           BONANNAN               CO       90001216322
56B7483585B531   LORENA            LOPEZ                  NM       90012598358
56B75114972B49   CHELSEA           COTE                   CO       90015051149
56B75531772B36   AMALIA            ROCHA                  CO       33057855317
56B76382957157   GLORIA            GONZALEZ               VA       90014763829
56B76618772B38   NICOLE            BALCH                  CO       90010296187
56B76654157148   ANGUEL            GARCIA                 VA       81083136541
56B76A96972B49   ALEJANDRA         GUTIERREZ              CO       33066520969
56B77312872B36   JERRY             JIMENEZ                CO       90013333128
56B7734115715B   RAUL AND TERESA   ANTAYHUA AND REYNOSO   VA       90010933411
56B77519457157   WAULKER           MERINO                 VA       90011675194
56B77676672B88   JOSUE             OLIVAS                 CO       33061566766
56B77784272442   JOHN              WILSON                 PA       90014657842
56B77A2464B588   CRAIG             GUESS                  OK       90014070246
56B78533385928   KEVIN             LABONA                 KY       90011725333
56B787A1261971   IVAN              DURAN                  CA       90013717012
56B787A9772B49   SILVIA            RIVERO                 CO       33068357097
56B79333A33699   OGLACIA           PATTELSAN              NC       90009643330
56B7946685758B   DELFINO           ALVAREZ                NM       90001214668
56B79519457157   WAULKER           MERINO                 VA       90011675194
56B79893131429   TERRY             CARVER                 MO       90014158931
56B7B397272B36   JAMES             WEINBERG               CO       33008753972
56B7B944991895   ANGEL             SINCLAIR               OK       90013879449
56B81652A5715B   ZEGEYE            WELDE                  VA       90012606520
56B81A4985715B   SOLEYMA           MORALES                VA       90013610498
56B82398672B49   DAVE              MANCINILLI             CO       33090313986
56B82844185928   JUAN              JUAREZ                 KY       67011568441
56B83116933699   COREY             GRIFFIN                NC       90007171169
56B83595A5715B   BRENDA            ARCE                   VA       90013065950
56B8361652B27B   ROY               MARSHALL               DC       81000006165
56B838A9555997   ANTONIA           RUIZ                   CA       90014858095
56B846AAA5B531   EMMA              CARILDA-SUAREZ         NM       35088146000
56B84845472B36   ALLISON           HOLMES                 CO       90013668454
56B84928925154   LUTHER            BREWER                 AL       90011149289
56B84928955997   JAYME             JIMENEZ                CA       90010789289
56B84A99484329   RHONDA            WILLIAMS               SC       90008370994
56B8549552B834   NORHTWEST         SECURITY               ID       90012674955
56B8551932B27B   DEBORAH           WINSTED                DC       90005025193
56B85576491587   SERGIO            CANALES                TX       90009605764
56B85A43551332   CEIRRA            COWHOWN                OH       90012690435
56B8623355B531   JOANNA            HENDRICHSEN            NM       35091302335
56B86235A51348   DIAMOND           WILLIAMS               OH       90008452350
56B86277872442   BRITTANY          MILLER                 PA       90014692778
56B8628A25B399   JENNIFER          FERGUSON               OR       90004102802
56B8664695758B   HENRY             OGAZ                   NM       35534476469
56B86794572B88   CAROLINE          WITTSHIRE              CO       33070247945
56B86863A61971   JOCABEL           VILLANUEVA             CA       90006168630
56B8691675B531   BILLY             FELICIA                NM       90014349167
56B87652A5715B   ZEGEYE            WELDE                  VA       90012606520
56B88133A3B399   GERARDO           GUTIERREZ              CO       90011471330
56B88811185928   RUBICEL           GARCIA                 KY       90013778111
56B8927845B387   JENNIFER          GRIFFITH               OR       44510442784
56B8947575715B   JONIS             ROMERO                 VA       90013714757
56B8953AA57157   LOUISE            HILEMAN                VA       81063405300
56B8B151772B43   MARIA             LAZARIN                CO       90006181517
56B8B38A485928   ELEXUS            JOHNSON                KY       90003733804
56B8B63259373B   LATOYA            RENNEE STEWART         OH       90006846325
56B8B784272442   JOHN              WILSON                 PA       90014657842
56B9157472B27B   KENNETH           WRIGHT                 DC       90007395747
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56B91A85161965   OLGA          FREGOZO                 CA          46055210851
56B9225445B399   CURTIS        KING                    OR          44571712544
56B92327772B27   DOLORES       BROWN                   CO          90010103277
56B92341731428   DEBRA         FRAZIER                 MO          90011753417
56B9269175B129   SAMMY         MILLS                   AR          23069526917
56B9281614B521   LEONA         BURDETTE                OK          21515838161
56B93183791587   OLGA          GARCIA                  TX          90012971837
56B9331A55B387   LOURIE        GOOKINS                 OR          44521053105
56B93584972B43   MARTHA        CONTRERAS               CO          90013175849
56B93621672B38   TIFFANY       CASTENS                 CO          90012906216
56B93659755997   FRANCISCO     LUNA                    CA          90005756597
56B93A2A991587   JOSE          AMBRIZ-RUIZ             TX          90011030209
56B94186972B27   MARJORIE      MARTINEZ                CO          90013891869
56B9438A372442   RONALD        HOWAED                  PA          90014693803
56B9463595B236   SYDNEY        BRUNDIDGE               KY          90009066359
56B94795972B49   SHANE         HOGAN                   CO          33080307959
56B94A38761971   DONNA         BECK                    CA          90011970387
56B95211361971   MAYKALA       MENDOZA                 CA          90010742113
56B95427A72B67   LISA          CALVERT                 CO          33095384270
56B9555364B28B   SHANNON       MEGUIRE                 NE          90007105536
56B95878361965   GARY          JOHNSON                 CA          46013278783
56B9595677B46B   SACARU        GIVENS                  NC          90012949567
56B95A7415B531   ARMANDO       GONZALES BRINGAS        NM          90003620741
56B96268651348   DANIELLE      HARRIS                  OH          90008182686
56B964A8472B88   DEVIN         MULLINS                 CO          90005824084
56B968A857B46B   DECHELLE      MILLER                  NC          90015088085
56B9719725B531   ROWENA        SANTOS                  NM          90010431972
56B97555372B27   MERCEDES      BEDOYA                  CO          33070285553
56B976A295758B   HERMINIA      GUSMAN                  NM          35507896029
56B97A21551348   TANESIA       CARTER                  OH          90015300215
56B98537772442   ALICIA        LEE                     PA          90014705377
56B9865714B559   CATHERINE     PALACIO                 OK          90010976571
56B98A7A32B92B   JEANETTE      NUNEZ                   CA          90011560703
56B98A83861971   CHARLES       WELDON                  CA          90015270838
56B9989257B46B   MIYORI        BAKER                   NC          90013398925
56B9992255758B   ROSALIA       ACOSTA                  NM          90010909225
56B9994785B387   JACQUELINE    SPORES                  OR          44509979478
56B9B135A55939   JULIA         MENDOZA                 CA          90013221350
56B9B511672B49   KELVIN        NICHOLSON               CO          90013995116
56B9B98A15758B   PEDRO         HERRERA                 NM          35514109801
56B9BA93372B38   JOSUE         CARRERA                 CO          33097130933
56BB1228451348   ROSA MARIA    RIVERA                  OH          90006662284
56BB1656172B43   ERRNEST       COOK                    CO          33008786561
56BB1752A72B67   ROSA LILIAM   BARRERA                 CO          90002817520
56BB176154B588   ERICK         MONTES-LUCERO           OK          21584397615
56BB179A772442   JOSEPH        ETTING JR               PA          90014627907
56BB2341555939   LELA          POOL                    CA          49014743415
56BB23AA657157   ALEXANDRA     FLORES                  VA          90012243006
56BB2764772B36   JEAN          GALLEGOS                CO          90011387647
56BB3546472B43   STEVEN        WILLIAMS                CO          33008175464
56BB363A555939   JOSUE         RODRIGUEZ               CA          90003336305
56BB399517B46B   TINA          MCMILLIAN               NC          11037069951
56BB4398376B41   STEVEN        GARRETSON               CA          90009953983
56BB4418272B36   TIMOTHY       RODRIGUEZ               CO          33079554182
56BB4648651348   ANTONIO       DOZIER                  OH          90009276486
56BB4887791587   HECTOR        HERNANDEZ               TX          90013548877
56BB4A46A61971   ANGELICA      VALDEZ                  CA          90014180460
56BB5AA7172B27   RUBEN         ALAMILLO                CO          33097570071
56BB648A872B49   KENNAH        BARRETT                 CO          33075544808
56BB65A114B28B   THOMAS        MIRACLE                 NE          26096445011
56BB6794A55997   JOHNNY        SAUNDERS                CA          90014527940
56BB7154872B49   STEVEN        YECKLEY                 CO          90008031548
56BB744765B354   HIRAM         LIZARRAGA               OR          44537844476
56BB7497372442   TEJENDER      CALLOWAY                PA          51062574973
56BB761915758B   OLGA          HERRERA                 NM          35547486191
56BB775775B531   SANDRA        ARAGON                  NM          35009927577
56BB8294572B36   MOLLY         BLANCAFLOR              CO          33019472945
56BB872225715B   PEDRO         FELIX                   VA          90012877222
56BB873A272B88   KATIE         WARNE                   CO          90013027302
56BB8A63831428   LATRICE       BILL                    MO          90011750638
56BB9346A5715B   WALTER        RIVAS                   VA          90005203460
56BB958844B588   JEANMARIE     FORGA                   OK          90011015884
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56BB95AA655997   ALICIA       HARNER                   CA          90014175006
56BB972467B348   FEKADE       MERETO NIDA              VA          90001517246
56BB976A155997   JAVIER       LOPEZ                    CA          90015007601
56BBB192472B36   TANIKCA      REAVES                   CO          90013781924
56BBB33A87B395   JAMES        LOVICK                   VA          90005893308
56BBB46744B588   CRYSTAL      GARY                     OK          21504414674
5711184665B543   MONIQUE      CHAVEZ                   NM          90001288466
5711281515B399   JASON        BROWN                    OR          90001238151
5711382312B27B   KASSAYE      HAILEMICHAEL             DC          90013418231
57114A8545715B   MARFA        ESCOBAR                  VA          90014770854
5711536514B221   APRIL        WADLEIGH                 NE          90002433651
5711586A35B393   DENISE       LOPEZ                    OR          44555878603
5711628195758B   MARIA        NUNEZ                    NM          90013612819
5711634A354152   COLE         TUTTLE                   OR          90011253403
57117636772B36   AURAMARINA   ORTIZ                    CO          33009946367
571179A687B46B   JAMES        CINEQUEGRANO             NC          90010969068
571194A3A5B236   AUTUMN       DANIELS                  KY          90012314030
57119A67433699   ANAMAR       MEDINA                   NC          90009110674
5711B518691895   DONNA        BRASFIELD                OK          90000415186
5711B726361965   RUBY         ARELLANO                 CA          90000127263
5711B898761971   RAYMOND      BROWN                    CA          90010248987
57121656898B47   JUDITH       JIMENEZ                  NC          90007796568
5712186347B657   ERNESTINE    PAULK                    GA          90001638634
57121A8657B491   EDGAR        JIMENEZ                  NC          11058540865
5712294575B387   WADE         BARKER                   OR          90013869457
57123A48961965   MARSHA       FLETCHER                 CA          90014340489
571241A9576B31   LUISA        CARMONA                  CA          90011161095
5712463335B283   JAMES        COATES                   KY          90008126333
5712498737B35B   WILLIAM      MENDOZA                  VA          81044769873
57124A89576B21   CHALLIS      BRYANT                   CA          46055360895
571251A7A72B49   ANTHONY      GARCIA                   CO          90014031070
5712578355B393   SAMUEL       SCHMIDT                  OR          90014397835
5712599785715B   SIGRIDO      ORELLANA                 VA          90014859978
57126222472B49   FERNANDO     GUZMAN                   CO          90006522224
5712635155B551   MONICA       WYCHE                    NM          90002833515
5712735925715B   KENIA        CALLX                    VA          90012163592
571273A8A91587   ILIANA       MARTINEZ                 TX          90011403080
571274A1672B88   DOMINIC      LOPEZ                    CO          33050144016
5712773315B543   MARA         ZALETA                   NM          35063317331
57128362972B38   ANTONIO      MACIAS                   CO          90000313629
571294A735B236   SHERYL       BRITO                    KY          90014274073
571295A8272B43   CESAR        MENDOZA                  CO          33027815082
57129912172B49   INOSENCIO    NAVA VASQUEZ             CO          33095549121
5712B34525B236   CODY         TUCKER                   KY          90015343452
5712B412961965   ANTHONY      CABIGAO                  CA          90012144129
5712B835391587   ROBERT       ORTEGA                   TX          75017498353
57131A29991587   LUIS         ALCALA                   TX          90014740299
571324A285B283   TRACY        BALLARD                  KY          68025344028
5713283715B399   NIESHIA      BROWN                    OR          44560928371
57132862524B3B   EARL         WALKER                   DC          90012038625
57133143872B43   CLAUDIA      MOSQUEDA                 CO          33096971438
571339A5791895   JUAN         LOPEZ                    OK          21069539057
571345A4A54152   JEANETTE     RIDDLE                   OR          47041765040
57134A7245B393   SLADE        LEITCH                   OR          90014530724
57135374172B38   ZACH         SNYDER                   CO          90004143741
5713544335B236   APRIL        GRIGSBY                  KY          90014824433
57135825772B43   MELINA       CRUZ                     CO          90011388257
5713584215715B   KUDZAI       KURAPA                   VA          90013988421
5713661765B393   PATRICIA     SLAZAR                   OR          90014206176
57137281772B43   SHAUN        BROSE                    CO          90013512817
571383A155715B   GARDNER      VILLAGOMEZ               VA          90006493015
571391A2161965   MITZI        RUIZ-VIZCARRA            CA          90011021021
5713968164B588   AMBER        RICHARDS                 OK          21592776816
571396A115B399   SARA         HURSEY                   OR          90014996011
5713B677172B27   ALFONZO      RICE                     CO          90008216771
5714117115B393   MILES        LOMAX                    OR          44528291711
5714121255B387   NANG         KHUKMU                   OR          90013322125
57141663972B38   CHRISSY      DOLENSKI                 CO          33068766639
5714234324B251   MARIA        RIVAS                    NE          90014433432
57142AA6131428   DOROTHY      PICHON                   MO          27527230061
5714363722B27B   LENITA       WHEELER                  DC          81014166372
57143A7A472B36   DENISE       PRUIETT-WILLIAMS         CO          33012790704
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571444A555715B   CARLOS        CEDILLO                 VA          90014584055
5714452A672B27   CASANDRA      GALLEGOS                CO          90014815206
57144628A72B27   DESTINY       BARTLETT                CO          90013446280
5714478435B531   EDWARD        VILLANUEVA              NM          90011867843
57145398A5B236   BRIAN         FACESON                 KY          90010573980
5714544954B29B   REBECCA       HARLOW                  NE          90008644495
5714558A65B387   TIFFANY       ELLIOTT                 OR          90013245806
5714628AA3B352   JOSE MANUEL   ARELLANO                CO          90001212800
57147742472B49   ANA           MARQUEZ                 CO          90012037424
5714828A961965   BATOOL        HANNA                   CA          46015372809
571483A5776B97   HUGO          RAMIREZ                 CA          90004173057
5714857215B399   ALAIN         MARTINEZ                OR          44587815721
5714865122B27B   MANUEL        MEDRANO                 DC          81012756512
5714892A891895   NITA          DOTSON                  OK          90008809208
5714915A291552   GEORGINA      ORTEGA                  TX          90006961502
5714916945B393   CHRIS         GARCIA                  OR          90011341694
5714B145572B36   MARIA         BARRON                  CO          90011911455
5715118435B387   AGUSTIN       CASTANEDA               OR          90014381843
5715177927B391   JENNIFER      DOUGLASS                VA          90006397792
571525A2172B36   ANGELA        MORALES                 CO          33029925021
571531A594B29B   BRENDA        PARKER                  NE          27074261059
571533A325B387   JIMMY         HARMAN                  OR          90007553032
57154A35172B38   SANDRA        CASTILLO                CO          90012790351
5715561A65B531   ANISSA        ROSS                    NM          90001186106
5715562375715B   ALEJANDRO     RECINO SORTO            VA          90014996237
57156243572B88   CHRIS         ROLLERSON               CO          90000872435
5715626244B29B   SERGIO        FUERTES                 NE          90007122624
5715632335B387   ROBERT        HARMES                  OR          90011063233
57156448172B36   JOSE          GARFIAS                 CO          90012664481
5715684765758B   JESSE         RODRIGUEZ               NM          35539328476
57156A28861965   EDWARD        SLOAN                   CA          90012270288
5715764164B588   CELO          KEITH                   OK          90009826416
57157A95772B49   ADOLFO        HERNANDEZ               CO          90009740957
57158449772B43   FRANKI        REVELLO                 CO          90012014497
571585A7A2B959   HERLINDA      CARABANTES              CA          90000165070
57159172172B43   ROMAN         VIGIL                   CO          90013741721
5715B376291895   SUSAN         SUCHAN                  OK          21064153762
5715B71A25758B   REYNA         DELEON                  NM          90014527102
5715B914A72B49   DAVID         CASILLAS                CO          33085119140
5715B975761965   SUSAN         ALLNUTT                 CA          90012899757
5715BA8514B588   JONNIE        ELLYSON                 OK          90006810851
5716145A784346   NABRASHA      SHERMAN                 SC          90014734507
5716147315B387   CHANTEL       MOORE                   OR          90014514731
571622A934B588   LACY          ROBERTS                 OK          90015492093
5716245115758B   BIANCA        SOSA                    NM          90007674511
57163A85A5B387   SHELBY        CUSHING                 OR          90013000850
57164158A55997   ALEJANDRO     VILLA                   CA          90010731580
5716417475715B   UYANA         MARTHA                  VA          90014301747
57164367772B38   LYNN          SCHURR                  CO          90012053677
5716456924B521   BRANDY        KASSAGE                 OK          90005095692
5716468242B27B   JOHANNA       CHAMBERLAIN             DC          90014806824
5716547135B283   WENDY         HOLDER-HALE             KY          90014534713
5716625A15758B   JESUS         OCHOA-SOSA              NM          35565762501
571668A4191524   NATHAN        BRYANT                  TX          90007638041
5716696A43B399   ANDRE         CHEKAN                  CO          33008379604
5716697745B393   MATT          SAGDAL                  OR          44501179774
57167135972B38   SONJA         VILLALOBOS              CO          90007021359
5716775844B29B   WILLIAM       HANSEN                  NE          27006777584
5716785184B588   ELISE         GROTTS                  OK          90012338518
571679A7A84346   ALICE         OWENS                   SC          90011589070
5716821155B393   GLENDA        BINGHAMM                OR          90012672115
57168436A55997   EDGAR         FLORES                  CA          90014504360
57169A1A55B393   ARCHIE        MOORE                   OR          90013030105
5716B18945B283   HEATHER       SHEALY                  KY          90009071894
5716B276491534   JORGE         PRADO                   TX          75013742764
5716B855972B43   JAMES         MARTINEZ JR             CO          90013018559
5717126477B491   TERRY         MONTGOMERY              NC          90004062647
5717161A95B236   TILONDA       EDWARDS                 KY          90013706109
5717213775B236   AMANDA        SPAULDING               KY          90010221377
57172438472B38   CARMELO       VALDEZ                  CO          90013814384
5717345514B29B   DAWNTA        GRIGSBY                 NE          27035254551
5717364625B387   CECILIA       LOPEZ                   OR          44586446462
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57173656872B43   DEBRA         LENTSCH                 CO          90013046568
5717398AA91895   MAYANDRA      TOTTRESS                OK          21003399800
5717481A461965   SANTIAGO      HERNANDEZ               CA          90012988104
571758A9357541   CASSANDRA     FOREMAN                 NM          90011588093
5717594575B387   WADE          BARKER                  OR          90013869457
57176339672B88   DANIEL        PEREZ                   CO          90003273396
5717657455B399   SERGIO        VAZQUEZ                 OR          90011055745
571767A8261971   VANESSA       NAVAS                   CA          90013257082
5717737A972B27   JACK          ROLAND                  CO          90014503709
5717882945758B   DARREL        FRANKS                  NM          90014038294
5717927AA55997   MARIA         CORTES                  CA          90013792700
5717932864B588   SCARBOROUGH   KRYSTAL                 OK          90009263286
57179447A5B387   CASSIDY       CAMERON                 OR          90015124470
571794A185758B   SONIA         CASTILLO                NM          90007294018
571796A167B46B   ANA           HERNANDEZ               NC          90010396016
5717983895B236   BRIDGETT      JOHNSON                 KY          68026808389
5717B35857B46B   ADELAIDA      LANDA                   NC          90012083585
5717B873672B43   ADRIANA       CHAVEZ                  CO          90013778736
57181193A91587   RUDY          PENA                    TX          90010731930
57181257172B43   MELISSA       TUCKER                  CO          33082172571
5718212774B576   CAYLA         ACEBO                   OK          90014881277
57182216572B88   DORA          TRUJILLO                CO          90013462165
57182331672B43   MICHAEL       BOWLING                 CO          90005553316
5718254A85B393   AIMEE         WILLIAMS                OR          44501245408
5718255324B588   PAUL          MCMINDES                OK          90011535532
57182875872B36   SHANTEL       VIALPANDOGARCIA         CO          33005108758
571844A7A61971   JENNIFER      HEARTMAN                CA          90005284070
57184596A5B531   MISTY         STEVENS                 NM          90013095960
5718481A45715B   FATIMA        CRUZ                    VA          81049268104
57184A5AA72B43   ASA           GREENWOOD               CO          33017280500
5718531855B387   CIN           KIM                     OR          90012243185
5718531A651348   BRIAN         BORNTRAGER              OH          90010483106
5718533265758B   EDELMIRA      RODRIGUEZ               NM          90004903326
5718659325B393   BO            WATKINS                 OR          44541635932
571876A6372B38   LUCINDA       VELASQUEZ               CO          33063256063
57188143672B36   EMILIO        HERNANDEZ               CO          90014831436
5718842757B46B   VANETTA       ROBERTSON               NC          11042424275
5718882115B543   CARL          TERRY                   NM          35096938211
571892A135B543   JESSICA       MORENO-ORTIZ            NM          35062322013
5719156235B543   CLAUDIA       CEBALLOSCANO            NM          35014225623
5719158155715B   ALPHA         SESAY                   VA          90001655815
5719195955B236   MARK          HELTON                  KY          68082599595
5719195A391895   LECREASA      COLE                    OK          90015029503
57191A71157123   TANYA         SLADE                   DC          90003880711
5719223315715B   ISMAEL        ALAMO                   VA          81077492331
5719243424B521   MARIE         DAVIS                   OK          21560694342
5719372535715B   MANUEL        GARCIA                  VA          90012447253
57193A4965B393   EUSTOLIA      FLORES                  OR          44578390496
57194559A4B588   AMANDA DAWN   KITCHENS                OK          90009775590
57194A61572B27   DOROLES       LOPEZ                   CO          90011300615
57195139A7B46B   SHAWN         MARQUIS                 NC          11001521390
57195249572B36   LOURDES       EUGENIO                 CO          33007262495
57195A2495B399   IRMA          PACHECO                 OR          90004280249
57196421A55997   GENE          SHERIDAN                CA          90002564210
5719655A85B399   ERIKA         BOOKER                  OR          90014845508
5719695362B27B   VENORA        EVANS                   DC          90010369536
5719799785715B   SIGRIDO       ORELLANA                VA          90014859978
57197A7344B588   NOEL          RODRIGUEZ               OK          90006600734
57198126972B88   VIRDIANA      DIMAS                   CO          90004331269
57198979472B23   LINELL        NUNLEY                  CO          90013579794
57199624A7B631   JOVANNI       PEREZ                   GA          90010476240
5719989975B387   MERRIEL       MIS MOO                 OR          90007818997
57199A4885758B   SEAN          DAVIS                   NM          35574800488
5719B36A298B39   LAUREN        MCALPINE                NC          90012213602
5719B72A45B399   ROSA          EPENROSA                OR          90014947204
571B177A43B381   WILLIAM       CAMPOS                  CO          33045717704
571B181735599B   FANI          GOMEZ                   CA          90013808173
571B243675715B   MARK          CRUZ                    VA          90002354367
571B2452272B36   PERLINE       CDANIELS                CO          90006804522
571B3168172B49   JOHN          CARLOS DEL VAN          CO          90014771681
571B369257B46B   JESSICA       PLESSNER                NC          11069676925
571B3983355997   ANTONIO       GARCIA                  CA          90014779833
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571B441134B588   THOMAS          VOGLER                OK          90000734113
571B441235B236   BRYAN KELLY     BROWN                 KY          90014854123
571B4465191895   ROSHAWN         DALEY                 OK          21068894651
571B4857372B27   ANTONIO         FUENTES               CO          90012948573
571B5747181265   MONICA          QUILLEN               OH          66069787471
571B5944872B38   WILLIAM         DANIELS               CO          90013989448
571B6255872B49   ANALIZ          CASIANO               CO          33043632558
571B626327B365   EDWIN           REINOSA               VA          90000932632
571B67A6161965   JACKIE          NEUMAN                CA          46026787061
571B6834A72B38   MARIA           PALOMO                CO          33044148340
571B7A64491587   MELISSA         GIRON                 TX          90000340644
571B826A272B27   JENNIFER        MANN                  CO          90013152602
571B8811472B38   ROSA            CARDOZA               CO          90003898114
571B918685B387   DIANA           CULBERTSON            OR          90007601868
571B9663251383   GINGER          MCINTYRE              OH          90002106632
57211116372B36   JOSE            ENRIQUEZ              CO          33084701163
5721117A972B49   LAURA           CHILDRESS             CO          33038811709
5721193485B399   CARLOS          ICHICH CHOC           OR          90014939348
57212469A72B36   DAVID           HERNANDEZ             CO          90011594690
5721334A954152   RANDY           SETTLES               OR          90011823409
57213911872B27   VICTOR          ARCINIEGA             CO          90012799118
57213A31955997   PHILLIP         MARTINEZ              CA          90006080319
5721426184B588   RAENETTA        HAYWOOD               OK          90008202618
57214372472B43   ARNOLD          MARA                  CO          90006703724
5721469A15715B   MIRIAM          FLORES                VA          90015096901
57215937272B36   VIRGINA FAITH   CARTER                CO          90012039372
5721688395B399   NELSON          SHANER                OR          90001598839
572169A1833696   SHANLYN         STEVENSON             NC          12008159018
5721751A95B283   KELLIE          ROGERS                KY          68013095109
57217553472B43   ERIK            JIMENEZ               CO          90014045534
57217771A91524   TERESA          MUNOZ                 TX          75036487710
5721783A551348   VANESSA         CLARK                 OH          66094518305
5721821A85758B   MICHAEL         MUNOZ                 NM          90014132108
57218A7764B588   NELSON          WILLIAMS              OK          90014730776
57218A84491587   NORMA           GONZALEZ              TX          90014290844
57219578A5B236   AMANDA          FITZGERALD            KY          90013535780
572196A5681265   PAULINO         ORDERO                OH          90006816056
5721984A24B588   AUREALYIA       TROUTMAN              OK          90014238402
5721B43695B393   JOSHUA          HOYT                  OR          90000844369
5721B989772B27   OTONIEL         GUTIERREZ             CO          90001499897
5721BA2A97B46B   ALEX            STITT                 NC          90010840209
5721BA43A72B43   CHRISTINE       MEDINA                CO          90012550430
5722217247B491   DOUGLAS         HARRIS                NC          90008931724
5722323425715B   EDRAS           PAZ                   VA          81011182342
5722348852B27B   TYREE           BURNS                 DC          90012254885
5722356735B531   MJ              WEBER-WEHLER          NM          90014175673
5722394447B496   DANITA          HINES                 NC          90013459444
57224668872B98   ARIZONIA        MCCANICK              CO          90013386688
57224714A84346   LADOVIA         WOODARD               SC          90012637140
57225887A5B236   GIOVONEE        MEEKS                 KY          90012978870
57225A33891895   JASMINE         CRAWFORD              OK          90008810338
57226594872B88   ARCINIEGA       MARTIN                CO          33097455948
5722741655B283   SHERRY          AUTRY                 KY          68042734165
57227773A61971   CLEVELAND       FERRELL               CA          90012737730
5722873175758B   TANIA           GOLDEN                NM          90009687317
5722881935B236   AMANDA          REECE                 KY          68016558193
57229315A72B43   JOSE            CASTENADA             CO          90013243150
5722938AA5B387   MIA             MCCORMICK             OR          90001703800
5722957A831468   FATIMA          MCFARLAND             MO          90014795708
572295A7A2B959   HERLINDA        CARABANTES            CA          90000165070
5722986485B531   MARIA           CERVANTES-AGUILAR     NM          35000368648
5722B15AA61965   SABAH           SLEWA                 CA          90012371500
5722B26975715B   JOEL            HENRIQUEZ             VA          90013022697
5722B42215B399   EVELIA          ALFONSO-HERNANDEZ     OR          90000434221
5722B697A7B491   BRIAN           HILLMAN               NC          90003586970
5722B8AAA72B38   RACHEL          VIGIL                 CO          90012858000
5722B95635715B   ALEXANDER       CHAVEZ                VA          90002489563
5722B97684B29B   MARIA           ANTONIO-MATEO         NE          27007209768
5722BA5665B531   MICHAEL         HRUBIENSKI            NM          90003760566
5723116A355997   LUCIA           FREITAS               CA          49039101603
5723197A272B38   DONNA           FREDERICO             CO          90012909702
5723226945715B   MARIA           RAMIREZ               VA          81001002694
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5723244514B588   MARIO        HERNANDEZ                OK          90001544451
57232567A7192B   GRACIELA     GRACIA                   CO          32084975670
5723262415B393   PAUL         MARTIN                   OR          90012456241
5723399925715B   ABDULLAH     KHALIL                   VA          90014789992
5723438995715B   MABELITA     SALGADO                  VA          90012813899
5723491855B351   OLEG         TKACHUK                  OR          90002919185
57234A7194B588   CHRISTINA    BYRNE                    OK          90014650719
572351A6591895   LATRICE      ATKINSON                 OK          21003511065
572355A585715B   JUAN         ELEODORO CORTES          VA          90014805058
5723586A85B399   ELSA         JUAREZ                   OR          90010658608
5723765845B283   ISREAL       LAERSI                   KY          90005616584
5723784715B551   STEPHANIE    ROMERO                   NM          35026268471
5723824695B399   SCOTT        POKALLUS                 OR          90010692469
572383A9391587   JOSHUA       SALINAS                  TX          90011133093
5723858885B393   ERICA        COMBS                    OR          90013475888
5723887622B27B   MIKE         SMITH                    DC          90013918762
5723971A34B588   KAYLA        LEONARD                  OK          90010987103
57239A8577B491   ERIC         BENNIX                   NC          11095430857
5723B14465B387   ROMMEL       MANGUBAT                 OR          90000861446
5723B394872B43   FABIOLA      CABRERA                  CO          33088053948
5723B81385B399   RODOLFO      ALVAREZ                  OR          44535698138
5724114725715B   NDA CECILE   KOUAKOU                  VA          90001561472
5724116A291587   SAN JUANA    FELIX                    TX          90002961602
57241449772B38   VIVIAN       VELEZ                    CO          33017404497
57241A69455997   DAVID        ORTIZ                    CA          90013190694
5724237655B531   ALMA         ROCHA                    NM          90015013765
5724239535758B   CARLOS       HERNANDEZ                NM          90003823953
572427A565B387   STEVEN       TURCOTTE                 OR          44592037056
572429A984B588   JERMAIN      HOPSON                   OK          90009789098
5724375985715B   ISHA         KARGBO                   VA          90008307598
57243977A33699   DONTE        FRANCE                   NC          90010079770
57244A86591895   RICARDO      JONES                    OK          90013950865
5724562212B567   LATORA       WHITE                    AL          90015456221
5724759152B27B   RAYMOND      DIGGS SR                 DC          90010715915
5724764964B29B   DAVID        ACOSTA                   NE          90002496496
572481A4891587   LLUVIA       CENICEROS                TX          90014751048
5724884765715B   JOSE         RIVAS                    VA          81042008476
5724894575B387   WADE         BARKER                   OR          90013869457
57249164672B27   JULIO        OVANDO                   CO          33081451646
57249448A91587   EMMA         PEREZ                    TX          90013224480
5725162A75B283   SHANTIKA     MUDD                     KY          90008186207
57251836472B27   CLARINDA     MELENDREZ                CO          33076318364
57251A89791895   EZEQUIEL     DE DIOS                  OK          90013950897
57251AA7961965   GERARDO      RODRIGUEZ-ROJAS          CA          90013230079
5725274115758B   JASMINE      GONZALEZ                 NM          35533277411
5725395134B588   KELLY        CARTWRIGHT               OK          90013619513
5725459515B236   CATINA       PORTER                   KY          90007745951
5725515915758B   DAVID        GOMEZ                    NM          90011971591
5725568A572B36   ALICIA       HILLS                    CO          33096226805
5725573555B399   JAMES        BERTRAM                  OR          90014947355
572568A2391587   MARIA        MARQUEZ                  TX          90012348023
57256A2865758B   MARIA        HERRERA                  NM          90000180286
57257A3465B543   ROSCO        GARCIA                   NM          90002410346
5725831A161971   LIQA         IBRAHIM                  CA          46095473101
572584A6A21685   MICHAEL      CARTER                   OH          90015394060
57258A3135758B   MARIO        CASTILLO                 NM          35575280313
5725928884B241   BRENNA       ZIPAY                    NE          90003432888
5725992945B393   HELENE       WALKER                   OR          44564789294
5725B28645B393   MARY         PEARSALL                 OR          90013542864
5725B56A172B43   ELICEO       LEAL                     CO          33094875601
5725B5A1854152   TRAVIS       GAINER                   OR          47044915018
5725B745472B27   DALILA       QUEZADA-LENDO            CO          90009937454
5725B74785B561   JO           MAXEY                    NM          90012507478
5726129A431444   CHARISSE     BELL                     MO          90001312904
57261847272B93   RALPH        SPARKS                   CO          90004898472
5726228425B387   VENANCIA     ROMERO                   OR          90011182842
5726229A431444   CHARISSE     BELL                     MO          90001312904
5726296A857157   ROBERT       WELCH                    VA          81017519608
57262AA865B531   JESSIE       SALIZAR                  NM          35089590086
57263288772B49   ERIC         CURRY                    CO          90004252887
5726342214B521   ANTHONY      THOMAS                   OK          21569454221
572639A295B586   GILBERT      ARCHULETA                NM          90011469029
